                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor        Matrix
                                                                               Case No. 17 BK 3283‐LTS Page 1 of 3500
                                                                                                           Creditor Matrix

Creditor Name                            Address1                          Address2                                     Address3   Address4   City              State   PostalCode   Country
@ SYSTEMS                                59 EAST MCKINLEY                                                                                     MAYAGUEZ          PR      00680
02 MED / MEDWELL INC                     50 CALLE MUNOZ RIVERA LOCAL C                                                                        SAN LORENZO       PR      00754
0MAYRA HERNANDEZ NIEVES                  ADDRESS ON FILE
1 FIRST QUALITY SERVICES CORP            PMB 361 SUITE 101                 220 WESTERN AUTO PLAZA                                             TRUJILLO ALTO     PR      00976
10 ET ENTRETENIMIENTO TEATRAL INC        1607 AVE PONCE LEON               APT 1403                                                           SAN JUAN          PR      00909‐1838
100 VINOS CORP                           PO BOX 364706                                                                                        SAN JUAN          PR      00936
100 X 35 CONTRA LA TRATA CORP            URB SAN AGUSTIN                   425 ALCIDES REYES                                                  SAN JUAN          PR      00923
100 x 35 TRANSPORT INC                   RR 04 BOX 3895                                                                                       CIDRA             PR      00739
100% SUPERMARKET Y FRIGORIFICO           CARR 100 KM 4.6                                                                                      CABO ROJO         PR      00623
1064 PONCE DE LEON INC / FIRST BANK      CORP COMMERCIAL MORTGAGE          DEPARTMENT P O BOX 9146                                            SAN JUAN          PR      00908‐0146
11 Q RADIO INC                           PO BOX 193779                                                                                        SAN JUAN          PR      00919‐3779
11TH ST FAM HLTH SVCS DREXEL             850 N 11TH ST                                                                                        PHILADELPHIA      PA      19123
123 4 SERVICE, INC                       PO BOX 547                                                                                           LAS PIEDRAS       PR      00771
1312 PONCE DE LEON ELDERLY HOUSING LLC   PO BOX 195288                                                                                        SAN JUAN          PR      00919‐5288
1414406 ONTARIO LTD ‐ DBA SILLWORKS      5‐155 TERENCE MATTHEWS CR                                                                            OTTAWA            ONT     K2M 2A8      CANADA
1RST QUALITY SERVICES CORP               PMB 361                           220 WESTERN AUTO PLAZA STE 101                                     TRUJILLO ALTO     PR      00976
1RST. QUALITY SERVICES , CORP.           P. O. BOX 1288 PUEBLO STATION                                                                        CAROLINA          PR      00986‐0000
1ST ACCOUNTING CORP                      PO BOX 10423                                                                                         SAN JUAN          PR      00922
1ST AUTOMOTIVE CAR CARE INC              BO LOS FRAILES                    CARR PR 177 KM 5 4 2501                                            GUAYNABO          PR      00969
1ST CLASS AMBULANCE INC                  RR 1 BOX 37154                                                                                       SAN SEBASTIAN     PR      00685‐9101
1ST CONTRACTOR C.R. INC.                 CARRT 102 K.M. 17.0 JOYUDAS                                                                          CABO ROJO         PR      00623‐0636
1ST DATA GOVERNMENT SOLUTIONS INC        11311 CORNELL PARK DR STE 300                                                                        BLUE ASH          OH      45242‐1831
1ST HEALTH CALL CORP                     549 CALLE DEL MAR STE 303                                                                            HATILLO           PR      00659
1ST MEDICAL EQUIPMENTD SERVICE           PO BOX 79504                                                                                         CAROLINA          PR      00984
1ST MEDICAL EQUIPMENTD SERVICE COR       URB LOS ANGELES                   82 CALLE ACUARIO STE 3                                             CAROLINA          PR      00979
1ST. QUALITY SERVICES, CORP.             RODRIGUEZ ESCUDERO, EMIL          513 JUAN J. JÍMENEZ ST.                                            SAN JUAN          PR      00918
2 FAST ENTERTAIMENT                      PMB 368                           PO BOX 7891                                                        GUAYNABO          PR      00970
2 GATOS INC                              JARD METROPOLITANOS               977 VOLTA                                                          SAN JUAN          PR      00927
20 20 OPTICAL                            30 CALLE JOSE DE DIEGO                                                                               CIDRA             PR      00739
20/20 EYE VISION DBA GISELLE ROMAN       400 SANTANA PLAZA STE 4                                                                              ARECIBO           PR      00612
200 CARTAS FILMS LLC                     C/ SGTO MEDINA 390 ‐ 6                                                                               SAN JUAN          PR      00918
2000 CINEMA CORP                         PO BOX 19116                                                                                         SAN JUAN          PR      00910‐9116
2000 NATIONAL FRAUD CONFERENCE           GEOGIA DEPARTMENT OF TRANSPORT    NO 2 CAPITOL SQUARE                                                ATLANTA           GA      30334
2005 CINEMA CORP                         PO BOX 19116                                                                                         SAN JUAN          PR      00910‐9116
2011 T B VOLLEYBALL GIRLS TEAM INC       PO BOX 1966                                                                                          TOA BAJA          PR      00951
2020 OPTICAL INC                         55 CALLE JOSE DE DIEGO                                                                               CIDRA             PR      00739
24 DISTRIBUTORS INC                      211 CANAS IND PARK                                                                                   PONCE             PR      00728‐4677
24 HOURS CONTRACTOR CORP                 PO BOX 191902                                                                                        SAN JUAN          PR      00919‐1902
24 HR CONTRACTOR CORP                    P O BOX 191902                                                                                       SAN JUAN          PR      00919‐1902
24/7 BUILDERS LLC                        2053 AVE PEDRO ALBIZU CAMPOS      BOX 255                                                            AGUADILLA         PR      00603
2ISTED MIND CREATIVE SERVICES CORP       PARQ CENTRAL                      520 CALLA SERGIO CUEVAS APT 1                                      SAN JUAN          PR      00918‐2643
2T VACUUM SERVICE INC                    HILL VIEW CALLE SKY #816                                                                             YAUCO             PR      00698
3 A COMPANY                              URB SANTA ROSA                    BLK 31 58 MAIN AVENUE                                              BAYAMON           PR      00959
3 C CONSTRUCTION CORP                    HC 74 BOX 6060                                                                                       NARANJITO         PR      00719‐7416
3 F AIR CONDITIONING & CONTRACTOR, LLC   HC 75 BOX 1119                                                                                       NARANJITO         PR      00719‐0000
3 RIOS LTD                               27 AVE GONZALEZ GIUSTI            SUITE 300                                                          GUAYNABO          PR      00968
3 RIOS LTD. CORP.                        #27 GONZALEZ GIUSTI, SUITE 300                                                                       GUAYNABO          PR      00968
3 WAYS CORP                              PO BOX 120                                                                                           CANOVANAS         PR      00729
3 WAYS CORPORATION                       PO BOX 120                                                                                           CANOVANAS         PR      00729‐0000
3 WWW CONTRACTOR CORPORATION             HC 74 BOX 5422                                                                                       NARANJITO         PR      00719
32 GRADOS, INC.                          PO BOX 9985                                                                                          SAN JUAN          PR      00908‐0985
33RD ST FAMILY MEDICAL CENTER            4382 LB MCLEOD RD                                                                                    ORLANDO           FL      32811
360 GREEN DBA AUTO TRANSFORMERS          PO BOX 29656                                                                                         SAN JUAN          PR      00929
3A SPORTWEAR COPR                        URB SANTA ROSA                    58 BLOQUE 31 AVE MAIN                                              BAYAMON           PR      00959
3CI CONSULTING LLC                       1050 CHAPARRAL DRIVE                                                                                 CHOCTAW           OK      73020‐7005
3COMM GLOBAL INC                         1225 AVE PONCE DE LEON STE 1405                                                                      SAN JUAN          PR      00907
3D FUTBOL INC                            PO BOX 12385                                                                                         SAN JUAN          PR      00914
3‐F AIR CONDITIONING & CONTRACTOR LLC    HC 75 BOX 1119                                                                                       NARANJITO         PR      00719
3G HEALTHCARE GROUP INC                  COND MCKINLEY CT                  653 CALLE MCKINLEY APT 8                                           SAN JUAN          PR      00907‐3216
3G PAINTING CORP                         RR 4 BOX 26706                                                                                       TOA ALTA          PR      00953




                                                                                                           Page 1 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                            Exhibit A-1 - Creditor        Matrix
                                                                                Case No. 17 BK 3283‐LTS Page 2 of 3500
                                                                                                                        Creditor Matrix

Creditor Name                             Address1                                        Address2                                   Address3    Address4   City                 State   PostalCode   Country
3M COGENT INC                             639 NORTH ROSEMEAD BLVD                                                                                           PASADENA             CA      91107
3M DE PUERTO RICO                         P.O.BOX 100 INDUSTRIAL PARK                                                                                       CAROLINA             PR      00986‐0100
3‐O CONSTRUCTION S E                      HC 71 BOX 1040                                                                                                    NARANJITO            PR      00719
3RA GENERATION ENTERPRISES INC            PO BOX 192151                                                                                                     SAN JUAN             PR      00919‐2151
4 Ever Life Insurance Company             2 Mid America Plaza                             Suite 200                                                         Oakbrook Terrace     IL      60181
4 Ever Life Insurance Company             Attn: Daniel Ryan, President                    2 Mid America Plaza                        Suite 200              Oakbrook Terrace     IL      60181‐4712
4 Ever Life Insurance Company             Attn: Diane Sowell, Consumer Complaint Contact 2 Mid America Plaza                         Suite 200              Oakbrook Terrace     IL      60181‐4712
4 Ever Life Insurance Company             Attn: Linda Hickok, Circulation of Risk         2 Mid America Plaza                        Suite 200              Oakbrook Terrace     IL      60181‐4712
4 Ever Life Insurance Company             Attn: Linda Hickok, Regulatory Compliance Gover 2 Mid America Plaza                        Suite 200              Oakbrook Terrace     IL      60181‐4712
4 Ever Life Insurance Company             Attn: Lou Georgopoulos, Premiun Tax Contact 2 Mid America Plaza                            Suite 200              Oakbrook Terrace     IL      60181‐4712
4 Ever Life Insurance Company             Attn: Wendell H. Berg, Vice President           2 Mid America Plaza                        Suite 200              Oakbrook Terrace     IL      60181‐4712
4 EYES ONLY                               PMB 147 SUITE 67                                35 JUAN C BORBON                                                  GUAYNABO             PR      00969
4 HERMANOS SERVICE STATION & BIG JOHN     330 CALLE POST SUR                                                                                                MAYAGUEZ             PR      00680
4 Warranty Corporation                    10151 Deerwood Park Blvd.                       Bldg. 100, Ste. 500                                               Jacksonville         FL      32256
4 Warranty Corporation                    Attn: Barbara Palmer, Vice President            2301 Park Avenue                           Suite 402              Orange Park          FL      32073
4 Warranty Corporation                    Attn: Stephen Wilson, President                 2301 Park Avenue                           Suite 402              Orange Park          FL      32073
419 PONCE DE LEON, INC.                   PO BOX 71450                                                                                                      SAN JUAN             PR      00936‐8550
422 CORPORATION DE PUERTO RICO            URB SIERRA BAYAMON                                                                                                BAYAMON              PR      00961
495 PRODUCTIONS INC                       4222 BURBANK BLVD 2ND FL                                                                                          BURBANK              CA      91505
497JE MAINTENANCE SERVICES CORP           PO BOX 1309                                                                                                       RINCON               PR      00677
4D ENGINEERING PSC                        494 VILLAS DE HATO TEJAS                                                                                          BAYAMON              PR      00959
4ELEMENTS CORP                            425 CARRETERA 693 #234                                                                                            DORADO               PR      00646
4imprint, Inc.                            PO BOX 320                                                                                                        Oshkosh              WI      54904
4Net, Inc.                                56 Calle A Jardines de Arecibo                                                                                    ARECIBO              PR      00612
4Net, Inc.                                PO BOX 140614                                                                                                     ARECIBO              PR      00614‐0614
4SECURITY INC                             PO BOX 14061                                                                                                      ARECIBO              PR      00614
5 K PASCUA FLORIDA INC                    RR 5 BOX 8872                                                                                                     TOA ALTA             PR      00707
5 STAR LIFE INS COMPANY                   654 MUNOZ RIVERA                                AVE SUITE 1710                                                    SAN JUAN             PR      00918
5 Star Life Insurance Company             400 CALLE CALAF PMB130                                                                                            SAN JUAN             PR      00918
5 Star Life Insurance Company             Attn: Ernest Singleton, President               909 North Washington Street                                       Alexandria           VA      22314
5 Star Life Insurance Company             Attn: Kimberley Wooding, Vice President         909 North Washington Street                                       Alexandria           VA      22314
5 Star Life Insurance Company             Attn: Mildred Hunt, Circulation of Risk         909 North Washington Street                                       Alexandria           VA      22314
5 Star Life Insurance Company             Attn: Mildred Hunt, Consumer Complaint Contact909 North Washington Street                                         Alexandria           VA      22314
5 Star Life Insurance Company             c/o Miller & Newberg, Actuary                   909 North Washington Street                                       Alexandria           VA      22314
51 ST DIVISION PR UNITED STATES OF AMER   VOLUNTEER HOMELAND SEC CORP                     PO BOX 364691                                                     SAN JUAN             PR      00936‐4691
577 HEADQUARTERS CORP.                    LCDO. JOSÉ L. NOVAS DUEÑO,                      PO BOX 502                                                        LUQUILLO             PR      00773
5STAR LIFE INSURANCE COMPANY              AREA DEL TESORO                                 CONTADURIA GENERAL                                                SAN JUAN             PR      00902
65 RENTAL & SALES CORP                    PO BOX 29614                                                                                                      SAN JUAN             PR      00929
65 RENTAL & SALES CORP                    PO BOX 29614                                    65 TH INFANTERIA STATION                                          SAN JUAN             PR      00929
65 th INFANTERIA PLAZA LLC.               PO BOX 362983                                                                                                     SAN JUAN             PR      00936‐2983
65TH INF PLAZA LLC                        PO BOX 362983                                                                                                     SAN JUAN             PR      00939‐2983
65TH INFANTERIA SHOPPING CTR LLC          PO BOX 362983                                                                                                     SAN JUAN             PR      00936‐2983
673D MEDICAL GROUP                        5955 ZEAMER AVE                                                                                                   JBER                 AK      99506
6TH ELEMENT GROUP LLC                     400 CALLE CALAF SUITE 180                                                                                         SAN JUAN             PR      00918
6TH ELEMENT GROUP LLC                     PO BOX 29851                                                                                                      SAN JUAN             PR      00929‐0851
7 BROTHERS SUPPLY CORP                    PMB 245                                         405 AVE ESMERALDA                          SUITE 102              GUAYNABO             PR      00969
7 BROTHERS SUPPLY CORP                    PMB 245 AVE ESMERALDA 405 ST 102                                                                                  GUAYNABO             PR      00969
729 EVENTS CORP                           PO BOX 9224                                                                                                       SAN JUAN             PR      00908
760 GENERAL CONTRACTOR                    433 AVE BARBOZA                                                                                                   CATANO               PR      00962
7TH SENSE INC                             PO BOX 51776                                                                                                      TOA BAJA             PR      00950‐1776
800 PONCE DE LEON CORPORATION             PO BOX 13473                                                                                                      SAN JUAN             PR      00908
90 GRADOS LLC                             PO BOX 8019                                     MARINA STATION                                                    MAYAGUEZ             PR      00681‐8019
9‐12 CORP                                 PMB DPTO 388                                                                                                      CAGUAS               PR      00725‐8900
921 CORP/MEI DATA                         TERRAZAS                                        3B9 CALLE 27                                                      TOA ALTA             PR      00953
A A WIRELESS INC                          179 AVE JOSE DE DIEGO                                                                                             ARECIBO              PR      00612
A R WESTERN CLINICAL LABORATORY I         PO BOX 892                                                                                                        AGUADA               PR      00602‐0892
A & A CONSTRUCTION INC                    HC 1 BOX 40113                                                                                                    COMERIO              PR      00782
A & B PRINTING INC                        PO BOX 10631 CAPARRA HTS STA                                                                                      SAN JUAN             PR      00922
A & E CONSTRUCTION SPEC SUPPLIES          RR 4 P O BOX 17006                                                                                                TOA ALTA             PR      00953
A & G INTERIOR INC/AS CONTRACTOR          MSC 223 SUITE 112 , 100 GRAND BOULEVARD LOS PASEOS                                                                SAN JUAN             PR      00926‐0000




                                                                                                                        Page 2 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                             Exhibit A-1 - Creditor        Matrix
                                                                                 Case No. 17 BK 3283‐LTS Page 3 of 3500
                                                                                                                    Creditor Matrix

Creditor Name                              Address1                                  Address2                                    Address3    Address4   City                State   PostalCode   Country
A & G MANAGEMENT GROUP INC                 220 WESTERN AUTO PLAZA                    PMB 353 SUITE 101                                                  TRUJILLO ALTO       PR      00976
A & G MANAGEMENT GROUP, INC                220 WESTER AUTO PLAZA PMB 353 SUITE 101                                                                      TRUJILLO ALTO       PR      00976
A & GS CONTRACTORS                         PO BOX 56173                                                                                                 BAYAMON             PR      00960‐6473
A & J ENTREPRISES INC                      177 AVE JOSE DE DIEGO SUITE 101                                                                              ARECIBO             PR      00612
A & J GARAGE DOORS , INC.                  CALLE SALMON # 56                                                                                            PONCE               PR      00716‐0000
A & J ROSARIO DISTRIBUTOR INC              P O BOX 56132                                                                                                BAYAMON             PR      00960‐6432
A & J ROSARIO DISTRIBUTORS, INC            PO BOX 56132                                                                                                 BAYAMON             PR      00960‐6432
A & J ROSARIO DITRIBUTORS                  PO BOX 56132                                                                                                 BAYAMON             PR      00960
A & M EXTERMINATING SERVICES INC           CALLE DIANA C 13                          REPARTO RIVERA                                                     BAYAMON             PR      00959
A & M GROUP INC                            PMB 70 CALLE CALAF ESQ FEDERICO COSTA                                                                        SAN JUAN            PR      00918
A & M GROUP INC                            PMB CALLE CALAF ESQUINA FEDERICO          COSTAS                                                             SAN JUAN            PR      00918
A & O SOLUTIONS CORP                       PMB 291                                   35 JUAN C BORBON STE 67                                            GUAYNABO            PR      00969‐5375
A & R MICROSYSTEMS, INC.                   GPO BOX 4267                              BAYAMON GARDENS BRANCH                                             BAYAMON             PR      00958
A & R WESTERN CLINICAL LABORATORY INC      2328 AVE ALBIZU CAMPOS 4                                                                                     RINCON              PR      00677
A & V ENVIRONMENTAL                        NATIONAL PLAZA APT 901                                                                                       SAN JUAN            PR      00917
A 1 DIGITAL DICTATION, INC.                COND VENUS PLAZA B                        130 CALLE COSTA RICA APT 601                                       SAN JUAN            PR      00917‐2518
A 1 GROUP CORPORATION                      P O BOX 194178                                                                                               SAN JUAN            PR      00919
A 1 MOTION FORKLIFT REPAIRS INC            PMB 156 P O BOX 8700                      PLAZA CAROLINA STATION                                             CAROLINA            PR      00988‐8700
A 2 R TECHNOLOGIES                         SABANERA DEL RIO                          4 CAMINO DE LOS FRUTALES                                           GURABO              PR      00778
A A A CAR RENTAL/ ALLIED CAR RENTAL        PO BOX 38092                                                                                                 SAN JUAN            PR      00937‐1092
A A A CONCORDIA MORTGAGE CORP              RR 37 BOX 1838                                                                                               SAN JUAN            PR      00926‐9729
A A F C O INC                              P O BOX 478                                                                                                  OXFORD              IN      47971
AAPCO                                      OFIC THE TRESAURER                        2414 ELM DR                                                        WHITE BEAR LAKE     MN      55110
A A R P CAPITULO HORMIGUEROS               P O BOX 4215                                                                                                 MAYAGUEZ            PR      00681
A A R P CAPITULO HORMIGUEROS               VALLE HERMOSO NORTE                       Z 1 CALLE OLMO                                                     HORMIGUEROS         PR      00660
A A VIVIR FUND SIDA PEDIATR                614 AVE HIPODROMO                                                                                            SAN JUAN            PR      00909
A A VIVIR FUND SIDA PEDIATR                SIDA PEDIATRICO                           1402 CALLE AMERICA                                                 SAN JUAN            PR      00909
A ABRAMS SERVICES,INC                      40076 SECT DAMASO SOTO                                                                                       QUEBRADILLAS        PR      00678
A AIR QUALITY DUCT CLEANING INC            PO BOX 41196                                                                                                 SAN JUAN            PR      00940‐1196
A AMERICAN MACHINERY OF P R                PO BOX 21247                                                                                                 SAN JUAN            PR      00928‐1247
A AMERICAN MACHINERY OF PR                 URB EL PARAISO                            1631 CALLE PARANA                                                  SAN JUAN            PR      00926
A AND A TOURS INC/ GENESIS GREEN           ADDRESS ON FILE
A AND A WASTE MANAGEMENT INC               P O BOX 420026                                                                                               ROOSEVELT ROADS     PR      00742‐0026
A AND A WASTE MANAGEMENT INC               PO BOX 1253                                                                                                  CEIBA               PR      00735
A AND R BEHAVIORAL ASSOCIATE PSC           PO BOX 8202                                                                                                  PONCE               PR      00732
A AND W ELECTRICAL AND REFRIGERATION A/C   BARRIO PALO ALTO 66,                                                                                         MANATI              PR      00674‐0000
A C ANDERSEN CONSULTING LLP                250 MUªOZ RIVERA AVE.                     AMERICAN INT L PLAZA 12 TH FLOOR                                   SAN JUAN            PR      00915
A C G SOCIEDAD ESPECIAL                    PO BOX 1828                                                                                                  MOCA                PR      00676
A C INSURANCE P S C                        APT 702                                   1485 AVE ASHFORD                                                   SAN JUAN            PR      00907‐1544
A COSMETIC DENTAL CENTER INC               PO BOX 2017                                                                                                  CEIBA               PR      00735
A CUESTA & CO INC                          TIENDA CUESTA SENORIAL PLAZA                                                                                 SAN JUAN            PR      00926
A D POWER                                  PMB 629 P O BOX 7891                                                                                         GUAYNABO            PR      00970
A DENTAL, INC                              PO BOX 607                                                                                                   ISABELA             PR      00662
A DUIE PYLE INC                            650 WESTTOWN ROAD                                                                                            WEST CHESTER        PA      19382
A E DESIGN GROUP PSC                       THE UPS STORE                             200 AVE RAFAEL CORDERO STE 140 PMB 552                             CAGUAS              PR      00725‐4303
A E DISTRIBUTORS                           HC 02 BOX 8364                                                                                               OROCOVIS            PR      00720‐9467
A E DISTRIBUTORS / LUIS A COLLAZO TORRES   ADDRESS ON FILE
A E DISTRIBUTORS / LUIS A COLLAZO TORRES   ADDRESS ON FILE
A E NOVA CONTRACTORS INC                   VILLAS DEL MONTE                          CARR 844‐6050 BOX 73                                               SAN JUAN            PR      00926
A E STUDIO PSC                             URB BALDRICH                              218 LARRINGA                                                       SAN JUAN            PR      00918
A EDIFICA S & C INC                        PO BOX 330                                                                                                   ISABELA             PR      00662‐0330
A GABY MEDICAL SERVICES INC                PO BOX 356                                                                                                   COAMO               PR      00769‐0356
A GARCIA & CO INC                          654 AVE MIRAMAR                                                                                              ARECIBO             PR      00612
A GARCIA & CO INC                          PO BOX 141600                                                                                                ARECIBO             PR      00614
A H DELIVERY, INC                          95 SECT HOYO FRIO                                                                                            AGUADA              PR      00602‐2530
A I C INC                                  290 AVE SANTA ANA APT 52                                                                                     GUAYNABO            PR      00969‐3361
A I CREDIT CORP                            101 HUDSON ST 33RD FLOOR                                                                                     JERSEY CITY         NJ      07302
AIIE                                       URB MUNOZ RIVERA                          53 AVE ESMERALDA                            SIUTE 184              GUAYNABO            PR      00969
A J RECORDS INC                            ROYAL IND PARK                            BO PALMAS CARR 869 KM 1 5 EDIF 1                                   CATANO              PR      00963
A J SPORT WEAR INC                         P O BOX 10523                                                                                                SAN JUAN            PR      00922




                                                                                                                    Page 3 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                             Exhibit A-1 - Creditor        Matrix
                                                                                 Case No. 17 BK 3283‐LTS Page 4 of 3500
                                                                                                                    Creditor Matrix

Creditor Name                            Address1                                    Address2                                    Address3        Address4   City              State   PostalCode   Country
A JACOBS CHAPTER 7 TRUST OF EDISON BROTH PO BOX 9023905                                                                                                     SAN JUAN          PR      00902 3905
A L C INDUSTRIAL DEVELOPMENT             URB ALTAMIRA                                546 CALLE ALDEBARAN                                                    SAN JUAN          PR      00920
A L C SYSTEMS INC                        400 CALAF ST #3                             BARBOSA 250 LOCAL #1                                                   SAN JUAN          PR      00918
A L RIVERA TRUCKING INC                  PO BOX 3315                                                                                                        BAYAMON           PR      00958‐0315
A LA LIMON DAY CARE                      URB. LOMAS DEL MANATUABON 328 CALLE YUISA                                                                          MANATI            PR      00674
A LA ORDEN DISCOUNT                      CALLE FRANK BECERRA #75                                                                                            SAN JUAN          PR      00918‐1318
A LIMPIAR MUEBLES.COM                    BO ARENAS # 231 HATO TEJAS                                                                                         BAYAMON           PR      00961
A LITTLE PIECE OF HEAVEN                 AVE . CAMPO RICO #876 URB . CONTRY CLUB, P.R.                                                                      SAN JUAN          PR      00924
A LUCENA APPRAISAL CORP                  MARINA STATION                              PO BOX 3193                                                            MAYAGUEZ          PR      00681‐3193
A LUCENA APPRAISAL CORP                  PO BOX 3193                                                                                                        MAYAGUEZ          PR      00681
A M EXPORT CO INC                        URB LA RIVIERA                              1024 CALLE 3 S O                                                       SAN JUAN          PR      00921
A M I GENERAL CONSTRUCTION INC           HC 1 BOX 3672                                                                                                      BARRANQUITAS      PR      00794‐9667
A M S LAND SURVEYING SERVICES, CORP      SUITE 469                                   PO BOX 10007                                                           GUAYAMA           PR      00785‐4007
A MALDONADO & ASSOCIATES INC             PO BOX 70250                                                                                                       SAN JUAN          PR      00936‐8250
A MALDONADO ASSOC INC                    PO BOX 70250 PMB 359                                                                                               SAN JUAN          PR      00936
A MANAGEMENT GROUP INC                   URB PEDREGALES                              76 CALLE ONIX                                                          RIO GRANDE        PR      00745‐4334
A MATEO, MARIA                           ADDRESS ON FILE
A MEDICAL GROUP, INC                     PO BOX 253                                                                                                         PENUELAS          PR      00624
A N CLEANING SERVICE AND LANDSCAPING INC URB CERROMONTE                              B3 CALLE 1                                                             COROZAL           PR      00783
A N V CONTRACTORS                        PMB 275 2 MUNOZ RIVERA                                                                                             LARES             PR      00669
A NEW VISION IN EDU SERV & MATERIALS     BOX 608 EL SENORIAL STATION                                                                                        SAN JUAN          PR      00926
A NEW VISION IN EDUCATIONAL SERV & MATE BOX 608 SENORIAL STATION                                                                                            SAN JUAN          PR      00926
A NEW VISION IN EDUCATIONAL SERV & MATE MSC 608 #138                                 AVE WINSTON CHURCHILL                                                  SAN JUAN          PR      00926‐6023
A NEW VISION IN EDUCATIONAL SERV & MATE PR‐1 KM 24.2 BARRIO QUEBRADA ARENAS          CALLE EL BUEN PASTOR, LOTE 1                                           SAN JUAN          PR      00926
A NEW VISION IN EDUCATIONAL SERV & MATE Y SCOTIABANK                                 COMMERCIAL BANKING PISO 8                   PO BOX 362394              SAN JUAN          PR      00936‐2394
A OTRO NIVEL ENTERPRISES                 URB EL PLANTIO                              H 66 CALLE 1‐B                                                         TOA BAJA          PR      00949
A OTRO NIVEL ENTERPRISES                 URB EL PLANTIO CALLE 1B H 66                                                                                       TOA BAJA          PR      00949
A P COMMUNITY MENTAL SERV CORP           PO BOX 1231                                                                                                        LAS PIEDRAS       PR      00771
A P CONTRACTORS INC                      P O BOX 2227                                                                                                       GUAYNABO          PR      00970‐2227
A P FAMILY MEDICAL CARE CSP              PO BOX 6149                                                                                                        CAGUAS            PR      00726
APHL                                     8515 GEORGIA AVE STE 700                                                                                           SILVER SPRING     MD      20910
APHL                                     PO BOX 79117                                                                                                       BALTIMORE         MD      21279‐0117
A P INDUSTRIAL CORP                      HC 3 BOX 41267                                                                                                     CAGUAS            PR      00725
A P S I INC                              URB SANTA CRUZ                              C3 CALLE 3                                                             BAYAMON           PR      00961‐6907
A PARES CONSULTING COURP                 COND VENUS TOWER                            APT 1201                                                               SAN JUAN          PR      00917
A PC G UROLOGY C S P                     PO BOX 2908                                                                                                        GUAYAMA           PR      00785‐2908
A PERFECT GETAWAY LLC                    8899 BEVERLY BLVD SUITE 510                 WEST HOLLYWOOD                                                         CALIFORNIA        CA      90048
A PLUS BODY SHOP                         PO BOX 270204                                                                                                      SAN JUAN          PR      00927
A PLUS COPY SERVICES                     514 AVE HOSTOS                                                                                                     SAN JUAN          PR      00918
A PLUS HOME MEDICAL EQUIPM & HOSP SUPPLY2 AVE LOS ROBLES                                                                                                    AGUADILLA         PR      00605
A PLUS SCHOOL AND OFFICE SUPPLIES        PO BOX 366331                                                                                                      SAN JUAN          PR      00936
A PLUS SCHOOL AND OFFICE SUPPLIES INC    PO BOX 366331                                                                                                      SAN JUAN          PR      00936‐6331
A PROFESIONAL SERVICES & SECURITY, CORP  P.O. BOX 1150                                                                                                      HATILLO           PR      00659
A Q J C C D CORPORACION                  RES JUAN C C DAVILA BUZON 509                                                                                      SAN JUAN          PR      00917
A Q RECYCLING WOOD PALETS INC            PO BOX 4960 PMB 116                                                                                                CAGUAS            PR      00726‐4960
A R B INC /ANDRES REYES BURGOS           P O BOX 1055                                                                                                       CATANO            PR      00963
A R C SUN                                HC 6 BOX 2076                                                                                                      PONCE             PR      00731
A R CAR PAINTING                         PMB 136                                     RR 5 BOX 4999                                                          BAYAMON           PR      00956
A R G PRECISION CORP                     PO BOX 911                                                                                                         TOA BAJA          PR      00951‐0911
A R S F C INC                            RIO HONDO                                   A 14 CALLE RIO COROZAL                                                 BAYAMON           PR      00961
A R S F C INC                            SANTA JUANITA                               BH 1 CALLE QUINTANA                                                    BAYAMON           PR      00956
A R SPORTS INC                           COND BOULEVARD DEL RIO                      APT B 105                                                              GUAYNABO          PR      00970
A R TECHNOLOGY CORP                      EL CONQUISTADOR                             I 20 AVE HERNAN CORTES                                                 TRUJILLO ALTO     PR      00976
A R TRANSPORT                            215 PROLONGACION 25 DE JULIO                                                                                       YAUCO             PR      00698
A RIVERA & ASOCIADOS                     1244 AVE MUNOZ RIVERA SUITE 3                                                                                      PONCE             PR      00717‐0639
A RUNNERS LOVE INC                       URB LAS CASCADAS                            1427 CALLE AGUAS CLARAS                                                TOA ALTA          PR      00953
A S A CATERING INC                       1653 AVE FERNANDEZ JUNCOS                                                                                          SAN JUAN          PR      00909
A S P ELECTRICAL INC                     PO BOX 7233                                                                                                        PONCE             PR      00732‐7233
A S S G INC                              COND LAS TORRES SUR                         APT 1‐A                                                                BAYAMON           PR      00956
A SATLINK PR CORP                        EXT FOREST HLS                              456 CALLE SEVILLA                                                      BAYAMON           PR      00959‐5702




                                                                                                                    Page 4 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor        Matrix
                                                                                Case No. 17 BK 3283‐LTS Page 5 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                  Address2                                   Address3   Address4   City              State   PostalCode   Country
A SPACE LLC                              PO BOX 194221                                                                                              SAN JUAN          PR      00919‐4221
A T G CONTRACTOR                         PO BOX 750                                                                                                 CAMUY             PR      00627
A T HOME PAINTING                        COLINAS DE FAIRVIEW                       4W7 CALLE 223                                                    TRUJILLO ALTO     PR      00976
A T S CONSULTING GROUP INC               PO BOX 194449                                                                                              SAN JUAN          PR      00919‐4449
A T TRAIDING CORP                        8 CALLE LIVONA                            APTO 6 D                                                         SAN JUAN          PR      00924
A TECH FOR OFFICE / MARIO TEJERO GONZALE PMB BOX 211                               1575 AVE MUNOZ RIVERA                                            PONCE             PR      00717‐0211
A TECH FOR OFFICE /MARIO TEJERO GONZALEZ PMB BOX 211                               1575 AVE MUÐOZ RIVERA                                            PONCE             PR      00717‐0211
A TECH FOR OFFICE /MARIO TEJERO GONZALEZ PMB BOX 211                               1575 AVE MUNOZ RIVERA                                            PONCE             PR      00717‐0211
A TECH FOR OFFICE, INC.                  PMB 211                                   1575 AVE. MUNOZ RIVERA                                           PONCE             PR      00717‐0211
A TECHNOLOGY AND NETWORK CONSULTANT PALACIOS DEL RIO 1                             542 CALLE YUNES                                                  TOA ALTA          PR      00953
A TO Z CLASS ABOVE INC.                  PMB 127                                   P O BOX 851                                                      HUMACAO           PR      00791
A TREVINOS CARPET CARE                   URB SANTA JUANITA                         GA 1 AVE LAUREL                                                  BAYAMON           PR      00956
A V INDUSTRIES                           PO BOX 8450                               FERNANDEZ JUNCOS STATION                                         SAN JUAN          PR      00910‐0000
A V INDUSTRIES HINIC KEM TECH CHEMICALS  PO BOX 8450 FERNANDEZ JUNCOS STA                                                                           SAN JUAN          PR      00910
A V TRANSPORT                            QTAS DE BOULEVAR                          11 CALLE MEMORIAL DR                                             BAYAMON           PR      00961‐4400
A&A COMPUTER SIGNS                       DE DIEGO 608 PUERTO NUEVO                                                                                  SAN JUAN          PR      00920
A&A CONSTRUCTION INC                     HC‐1 BOX 40113                                                                                             COMERIO           PR      00782
A&A HEALTH AND LIFE CORP                 PO BOX 79673                                                                                               CAROLINA          PR      00773
A&E CONSTRUCTION                         RR‐4 P.O BOX 17006                                                                                         TOA ALTA          PR      00953
A&E SERVICE STATION INC / VERA LOPEZ ASS ADDRESS ON FILE
A&GS CONTRACTOR INC                      PO BOX 56173                                                                                               BAYAMON           PR      00960‐6473
A&M CONTRACTOR INC                       MANAGEMENT GROUP INC                      PO BOX 19448                                                     SAN JUAN          PR      00910
A&M CONTRACTOR INC                       PO BOX 19448                                                                                               SAN JUAN          PR      00910
A&M FLOOR AND BATHTUB SAFETY SOLUTIONS URB CAMINO DEL MAR                          9532 VIA PLAYERA                                                 TOA BAJA          PR      00949
A&M GROUP INC                            PO BOX 2133                                                                                                SAN JUAN          PR      00918
A. E. DISTRIBUTORS / LUIS A COLLAZO DBA  PO BOX 1559                                                                                                OROCOVIS          PR      00720
A. LIFT SUPPORT, INC.                    ALT DEL TURABO                            KK20 CALLE 700                                                   CAGUAS            PR      00725
A. QUILICHINI, MIGUEL A.                 ADDRESS ON FILE
A. SANCHEZ DE SOLA, SONIA                ADDRESS ON FILE
A.D.P. ALARMAS DE PONCE, INC.            P.O.BOX 7143                                                                                               PONCE             PR      00732‐0000
A.E. INSPECTION SERVICES, CORPORATION    PO BOX 3686                                                                                                MAYAGUEZ          PR      00681‐3686
A.H.G. CONSTRUCTION                      PO BOX 3073                                                                                                ARECIBO           PR      00612‐0000
A.I.T. TECHNOLOGIES, INC.                P.O. BOX 363867                                                                                            SAN JUAN          PR      00936‐3867
A.L.S. AUCTIONEERS LLC                   LIC. FRANCISCO GRILLO GONZALEZ ‐ ABOGADO DPO BOX 9446                                                      BAYAMON           PR      00960‐9446
A.M.M.V.R. GROUP , INC.                  P. O. BOX 195519                                                                                           SAN JUAN          PR      00919‐0000
A.O.V.T. AUDIOVISUAL                     168 W. CHURCHILL AVE. EL SENORIAL                                                                          RIO PIEDRAS       PR      00926
A.S.A CATERING INC                       1653 AVE FERNANDEZ JUNCOS                                                                                  SANTURCE          PR      00909
A.S.E.E.R. INC.                          P O BOX 19                                                                                                 SAINT             PR      00978‐0000
A.V. IND h/n/c KEM TECH CHEMICAL         PO BOX 8450                                                                                                SAN JUAN          PR      00910
A/C INDUSTRIA SERVICE CORP               P.O. BOX 29479                                                                                             SAN JUAN          PR      00929
A+ EDUCATION & CONSULTING SOLUTIONS INC. 35 CALLE JUAN C. BORBON                   STE 66‐188                                                       GUAYNABO          PR      00969‐5375
A+ EDUCATION & CONSULTING SOLUTIONS INC. P O BOX 9227512                                                                                            SAN JUAN          PR      00922
A+ MEDICAL BILLING AND MORE INC          URB MONTE BRISAS 2                        BB4A CALLE 2                                                     FAJARDO           PR      00738
A1 DIGITAL DICTATION INC                 COND. VENUS PLAZA B                       130 COSTA RICA ST APT.601                                        SAN JUAN          PR      00917‐2518
A‐1 GROUP                                PO BOX 194178                                                                                              SAN JUAN          PR      00919‐4178
A‐1 GROUP CORPORATION                    P.O. BOX 194178                                                                                            SAN JUAN          PR      00919
A1A ENGINEERING & CONSULTING PSC         PO BOX 233                                                                                                 VEGA BAJA         PR      00694
A2R TECHONOLOGIES                        SABANERA DEL RIO                          4 CAMINO DE LOS FRUTALES                                         GURABO            PR      00778
A2Z LEGAL SERVICES , LLC                 2212 VILLAS DEL SENORIAL                  WINSTON CHURCHILL AVE                                            SAN JUAN          PR      00926
A4 COLORES                               P O BOX 770                               ZONA INDUSTRIAL EDIF 3 LOCAL 3C                                  ANASCO            PR
AA BC TV INC                             VENTANAS DE GURABO                        850 CARR 189 APT 262                                             GURABO            PR      00778‐5306
AA BROADCAST INC                         1606 AVE PONCE DE LEON 1100                                                                                SAN JUAN          PR      00909
AA BROADCAST INC                         1606 AVENIDA PONCE DE LEON                SUITE 1100                                                       SAN JUAN          PR      00909
AA COMMUNICATIONS INC DBA MAGIC 97.3     1606 AVE PONCE DE LEON PH                                                                                  SAN JUAN          PR      00907
AA CONSTRUCTION & MAINTENANCE SERVICES I PO BOX 190330                                                                                              SAN JUAN          PR      00919
AA CONSTRUCTION AND MAINTENANCE SERVICEURB FAIR VIEW                               736 PADRE BERNARDO BOIL                                          SAN JUAN          PR      00926
AA ENVIROMENTAL SERVICES INC             PO BOX 20000 PMB 548                                                                                       CANOVANAS         PR      00729
AA M FINE SPIRITS DISTRIBUTORS INC       C 82 URB MONTEMAR                                                                                          AGUADA            PR      00602
AA ROOFING CONTRACTOR, CORP              PO BOX 1273                                                                                                CATANO            PR      00963‐1273
AA SERVICE                               RR 5 BOX 5394                                                                                              CIDRA             PR      00739‐9636




                                                                                                                 Page 5 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor        Matrix
                                                                                Case No. 17 BK 3283‐LTS Page 6 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                  Address2                                 Address3              Address4               City             State   PostalCode   Country
AA TOWER INC                             PO BOX 1553                                                                                                                     QUEBRADILLAS     PR      00678‐1553
AAA                                      CONCHITA TORO RIVERA                      PO BOX 788                                                                            MAYAGUEZ         PR      00681‐0788
AAA                                      LCDO. ANDRÉS RAMÍREZ MARCANO              MCS PLAZA                                PISO 10               PO BOX 364148          SAN JUAN         PR      00936‐4148
AAA                                      LCDO. CARLOS F. PADÍN PÉREZ               ADMINISTRACIÓN DE SERVICIOS DE SALUD MENTAL Y CONTRA LA ADICCIÓN (ASSMCA) PO BOX 60708Bayamón          PR      00960‐7087
AAA                                      LCDO. EDWIN AVILÉS PÉREZ Y LCDA. WANDA CRUPO BOX 6255                                                                           MAYAGÜEZ         PR      00681
AAA                                      LCDO. ELIEZER ALDARONDO ORTIZ Y LCDO. SIMOALB PLAZA                                # 16 CARRETERA 199    SUITE 400              GUAYNABO         PR      00969

AAA                                     LCDO. JOSÉ RAÚL CANCIO BIGAS Y LCDO. CHARLECANCIO COVAS & SANTIAGO LLP                MCS PLAZA SUITE A‐267 255 Ponce DE LEÓN AVE. HATO REY       PR      00917
AAA                                     LCDO. KERMIT ORTIZ MORALES                 URB. EXT. ROOSEVELT                        470 CÉSAR GONZÁLEZ    URB. ROOSEVELT         SAN JUAN       PR      00918‐2627
AAA
AAA AUTO CLUB SOUTH                     1515 N WESTSHORE BLVD                                                                                                             TAMPA           FL      33607
AAA CAR CARE SOLUTION, INC              PO BOX 3153                                                                                                                       BAYAMON         PR      00959
AAA CAR CARE SOLUTIONS INC              PO BOX 3153                                                                                                                       BAYAMON         PR      00960‐3153
AAA CAR CARE SOLUTIONS V DEPARTAMENTO DELCDA MARGARITA GOMEZ VAZQUEZ               URB FOREST VIEWS I2 CALLE ESPANA BAJOS                                                 BAYAMON         PR      00956
AAA COFFEE BREAK                        PO BOX 9505                                                                                                                       SAN JUAN        PR      00908
AAA COFFEE BREAK SERVICE                PO BOX 9505                                                                                                                       SAN JUAN        PR      00908
AAA COFFEE BREAK SERVICES               DEPT DE LA VIVIENDA                        PO BOX 21365                                                                           SAN JUAN        PR      00928‐1365
AAA COFFEE BREAK SERVICES               PO BOX 9505                                                                                                                       SAN JUAN        PR      00908
AAA CORONET                             AVE. HOSTOS 353                                                                                                                   HATO REY        PR      00918
AAA FAST PRINTING SERVICE               CONDOMINIO EL CENTRO 1,LOCAL 5 AVE. MUNOZ RIVERA 5                                                                                HATO REY        PR      00918
AAA FORK LIFT INC                       PBM 809‐138 AVE WINSTON CHURCHILL                                                                                                 SAN JUAN        PR      00926‐6023
AAA GRAPHICS INC                        VILLA CONTESA                              A 24 AVE MAGNOLIA                                                                      BAYAMON         PR      00956
AAA INVESTIGATION SECURITY SERVICE INC  PO BOX 30662                                                                                                                      SAN JUAN        PR      00929‐1662
AAA MINI CAGUAS                         PMB 276 P O BOX 4971                       HC 1 BOX 29030                                                                         CAGUAS          PR      00726
AAA of the Caribbean, Inc.              1515 N Westshore Blvd                                                                                                             Tampa           FL      33603
AAA of the Caribbean, Inc.              Attn: John Tomlin, President               654 Ave MuÃ±oz Rivera,                     Suite 1119                                  San Juan        PR      00918
AAA SATELLITE SERVICE INC               PO BOX 81                                                                                                                         MANATI          PR      00674
AAAA TRANSPORTE CJ INC                  PMB 2000                                   RR 8 BOX 1995                                                                          BAYAMON         PR      00956‐9676
AAAA TRANSPORTE CJ, INC                 PMB 2000 RR‐8 BOX 1995                                                                                                            BAYAMON         PR      00956‐9676
AAAA TRANSPORTE INC                     PMB 2000                                                                                                                          BAYAMON         PR      00956‐9676
AAAAA APPLIANCES SERVICES               PO BOX 193736                                                                                                                     SAN JUAN        PR      00919‐3736
AACC INC                                CALLE CA 28 JARDINES DE CAROLINA                                                                                                  CAROLINA        PR      00987
AACSB INTERNATIONAL THE ASSOC TO ADV    COLLEGIATE SCHOOLS OF BUSINESS             777 SOUTH HARBOUR ISLAND BOUL 750                                                      TAMPA           FL      33602
AAMCO TRANSMISSIONS                     P O BOX 9309                               PLAZA CAROLINA STATION                                                                 CAROLINA        PR      00988
AARON ACEVEDO CRUZ                      ADDRESS ON FILE
AARON ALEXANDER CARABALLO ZAMBRANA      ADDRESS ON FILE
AARON BERNARD TUCKLER                   ADDRESS ON FILE
AARON I GARMETT FOJO                    ADDRESS ON FILE
AARON I MORALES GONZALEZ                ADDRESS ON FILE
AARON I SALABARRIAS VALLE               ADDRESS ON FILE
AARON KOTOWSKI PHOTOGRAPHY LLC          15 SEA ST                                                                                                                         NEW HAVEN       CT      06519
AASI DOCUMENTATION SERVICES INC         PO BOX 13594                                                                                                                      SAN JUAN        PR      00908
AB SCIEX, LLC                           62510 COLLECTIONS CENTER DRIVE                                                                                                    CHICAGO         IL      60693‐0625
AB TOWING SERVICE DBA ANGEL L RIVERA    RIVERA                                     CUPEY GARDENS Q 3 CALLE 13                                                             SAN JUAN        PR      00926
ABAB CORP                               PO BOX 70320                                                                                                                      SAN JUAN        PR      00936
ABAB CORP                               PO BOX 810120                                                                                                                     CAROLINA        PR      00981
ABAC PAGAN, MANUEL                      ADDRESS ON FILE
ABAC PAGAN, RAYMOND                     ADDRESS ON FILE
ABACUS EDUCATIONAL SERVICES CORP        2011 AVE SGRADO CORAZON                    APTO 301                                                                               SAN JUAN        PR      00915
ABACUS EDUCATIONAL SERVICES, CORP.      2011 AVE. SAGRADO CORAZON                  APT 301                                                                                SAN JUAN        PR      00915
ABACUS EDUCATIONAL SERVICES, CORP.      PO BOX 14134                                                                                                                      SAN JUAN        PR      00916
ABACUS EDUCATIONAL SERVICES, CORP.      Y ORIENTAL BANK                            PO BOX 364745                                                                          SAN JUAN        PR      00936‐4745
ABAD BONILLA, CLARA I                   ADDRESS ON FILE
ABAD CARO, GILDA                        ADDRESS ON FILE
ABAD CARO, GILDA M.                     ADDRESS ON FILE
ABAD CARO, ILEANA                       ADDRESS ON FILE
ABAD CARO, ILEANA                       ADDRESS ON FILE
ABAD GARCIA, INGRID                     ADDRESS ON FILE
ABAD HERNANDEZ, IRVIN                   ADDRESS ON FILE
ABAD MARTINEZ, ANGEL                    ADDRESS ON FILE




                                                                                                                 Page 6 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                        Exhibit A-1 - Creditor        Matrix
                                                                            Case No. 17 BK 3283‐LTS Page 7 of 3500
                                                                                                            Creditor Matrix

Creditor Name                         Address1                                 Address2                                  Address3   Address4   City            State   PostalCode   Country
ABAD MD, REMEDIOS                     ADDRESS ON FILE
ABAD PUENTE, MABEL                    ADDRESS ON FILE
ABAD RIVERA, EVA L                    ADDRESS ON FILE
ABAD RIVERA, GILBERTO                 ADDRESS ON FILE
ABAD RIVERA, JUAN C                   ADDRESS ON FILE
ABAD RIVERA, MIRTA                    ADDRESS ON FILE
ABAD RIVERA, RADAMES                  ADDRESS ON FILE
Abad Rodriguez Ortiz                  ADDRESS ON FILE
ABAD RODRIGUEZ, IDAMAR                ADDRESS ON FILE
ABAD ROSA, MARIA                      ADDRESS ON FILE
ABAD ROSADO, LIZBETH                  ADDRESS ON FILE
ABAD TORRES, JENNIFER                 ADDRESS ON FILE
ABAD, DIANA J                         ADDRESS ON FILE
ABADIA COLON, NORA                    ADDRESS ON FILE
ABADIA MALDONADO, DELISMARI           ADDRESS ON FILE
ABADIA MUNOZ, NANNETTE MARIE          ADDRESS ON FILE
ABADIA ORTIZ, MAITE                   ADDRESS ON FILE
ABADIA RAMOS, MIGUEL A                ADDRESS ON FILE
ABADIA REXACH, FELIX                  ADDRESS ON FILE
ABADIA REYES, YADIRA                  ADDRESS ON FILE
ABADIA TORRES, ROSA                   ADDRESS ON FILE
ABADIA VAZQUEZ, ERVIN                 ADDRESS ON FILE
ABADIA VILLANUEVA, MILDRED            ADDRESS ON FILE
Abadias Flores, Lizzette              ADDRESS ON FILE
ABADIAS MORALES, SONIA                ADDRESS ON FILE
Abadias Villanueva, Pedro             ADDRESS ON FILE
ABALA MERCADO, IVAN                   ADDRESS ON FILE
ABAMBARI BLANCO, DESIREE              ADDRESS ON FILE
ABANICOS C DURAN                      ADDRESS ON FILE
ABANICOS C. DURAN                     CENTRO COMERCIAL LOS FLAMBOYANES AVE. 65 INFANTERI                                                       RIO PIEDRAS     PR      00923
ABARCA & ASSOCIATES PSC LAW OFFICES   P O BOX 13928                                                                                            SAN JUAN        PR      00908‐3928
ABARCA ALOMIA, IRALDA                 ADDRESS ON FILE
ABARZUA ALVARADO, ROBERTO             ADDRESS ON FILE
ABARZUA ESCOBAR, MAGALY               ADDRESS ON FILE
ABB INC                               221 AVE PONCE LEON                       STE 1203                                                        SAN JUAN        PR      00917
ABBENE DADDIO, JUANA T                ADDRESS ON FILE
ABBOT DIAGNOSTIES INC                 PO BOX 278                                                                                               BARCELONETA     PR      00617
ABBOTT DIAGNOSTIC INC                 PO BOX 278                                                                                               BARCELONETA     PR      00617
ABBOTT LABORATORIES                   DEPT D332 BLDG AP6D 1                    100 ABBOTT PARK ROAD                                            ABBOTT PARK     IL      60064‐6055
ABBOTT LABORATORIES INC               PO BOX 71469                                                                                             SAN JUAN        PR      00936‐1469
ABBOTT LABORATORIES PUERTO RICO INC   AbbVie Corp                              PO Box 70258                                                    San Juan        PR      00936
ABBOTT LABORATORIES PUERTO RICO INC   MONTEHIEDRA OFFICE CENTER                9615 AVE LOS ROMEROS                                            SAN JUAN        PR      00926‐7038
ABBOTT LABORATORIES PUERTO RICO INC   MONTEHIEDRA OFFICE CENTER                9615 AVE LOS ROMEROS SUITE 700                                  SAN JUAN        PR      00926‐7038
ABBOTT LABORATORIES PUERTO RICO INC   PO BOX 1978                                                                                              GUAYNABO        PR      00970‐1978
ABBOTT LABORATORIES PUERTO RICO INC   PO BOX 71469                                                                                             SAN JUAN        PR      00936‐1469
ABBOTT PHARMACEUTICALS PR LTD         PO BOX 278                                                                                               BARCELONETA     PR      00617
ABBOUD MD, SEMAAN                     ADDRESS ON FILE
ABBRUZZESE CHRISTMAN, NICOLE          ADDRESS ON FILE
ABBVIE CORP                           MONTEHIEDRA OFFICE CENTRE                9615 AVE LOS ROMEROS STE 700                                    SAN JUAN        PR      00926‐7038
ABBVIE CORP                           PO BOX 70258                                                                                             SAN JUAN        PR      00936‐1469
ABBY O FIGUEROA TORRES                ADDRESS ON FILE
ABBY PEREZ MONCHE                     ADDRESS ON FILE
ABBYLIZ DIAZ SANTINI                  ADDRESS ON FILE
ABBYMAEL LOPEZ HERNANDEZ              ADDRESS ON FILE
ABC ADVERTISING                       URB CAMBRIDGE PARK                       A5 CALLE CHESTNUT HL                                            SAN JUAN        PR      00926
ABC BABY PRODUCTS                     PMB 562                                  AVE RAFAEL CORDERO STE 140                                      CAGUAS          PR      00725‐3757
ABC ELECTRONIC SECURITY SYSTEM        260 DE DIEGO URB PUERTO NUEVO                                                                            SAN JUAN        PR      00920
ABC ELECTRONIC SECURITY SYSTEM        URB PUERTO NUEVO                         260 AVE DE DIEGO # 260                                          SAN JUAN        PR      00920
ABC HABLA PARA MI, INC                PO BOX 1339                                                                                              SALINAS         PR      00751
ABC HUELLITAS DAY CARE CENTER         CALLE MIGUEL DE CERVANTES 237 URB MANSIONES DE ESPANA                                                    MAYAGUEZ        PR      00680




                                                                                                            Page 7 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                    Exhibit A-1 - Creditor        Matrix
                                                                        Case No. 17 BK 3283‐LTS Page 8 of 3500
                                                                                                    Creditor Matrix

Creditor Name                     Address1                            Address2                                   Address3        Address4   City             State   PostalCode   Country
ABC HUELLITAS DAY CARE CENTER     G 1 CALLE DOMINGO SILVA                                                                                   MAYAGUEZ         PR      00680
ABC INFANTIL INC                  A/C MANUEL MORALES MORALES          ADM. FOMENTO COMERCIAL                     P.O. BOX 4275              SAN JUAN         PR      00902‐4275
ABC INFANTIL INC                  D 24 URB ALTURAS DE AGUADA                                                                                AGUADA           PR      00602
ABC INFANTIL INC                  P O BOX 9024275                                                                                           SAN JUAN         PR      00902
ABC INFANTIL INC                  URB ALTURAS AGUADA                  24 CALLE D                                                            AGUADA           PR      00602
ABC OFFICE SUPPLY                 CALLE DEGETAO 1119 CAAR. 181 EXP.   TRUJILLO ALTO                                                         SAN JUAN         PR      00924
ABC OFFICE SUPPLY                 PO BOX 362063                                                                                             SAN JUAN         PR      00936
ABC PADRES E HIJOS INC            PO BOX 71325                        SUITE 49                                                              SAN JUAN         PR      00936‐8425
ABC PEDIATRIC DENTAL CLINIC PSC   253 CALLE SAN JORGE STE O1A                                                                               SAN JUAN         PR      00912
ABC RENTAL & WHOLESALES           CAPARRA TERRACE                     1166 JESUS T PINEIRO                                                  SAN JUAN         PR      00921
ABC SPORT PROGRAN INC             BO EL SECO                          53 CALLE FIDEL CASTILLO                                               MAYAGUEZ         PR      00680
ABC TRANSPORT CORP.               COUNTRY CLUB                        876 CALLE QUETZAL                                                     SAN JUAN         PR      00924
ABC UNIFORMS                      PO BOX 51918                                                                                              LEVITOWN         PR      00950
ABCAN, INC                        PO BOX 3460, BOSTON                                                                                       BOSTON           MA      02241‐3460
ABCS FOR SUCCESS LLC              RECORDS DEPT                        1550 S DIXIE HWY STE 203                                              CORAL GABLES     FL      33146
ABDAL FIGUEROA, ALIA              ADDRESS ON FILE
ABDALA MIRANDA MD, JOSE M         ADDRESS ON FILE
Abdalah Guerrido, Wanda           ADDRESS ON FILE
ABDALAH GUERRIDO, WANDA           ADDRESS ON FILE
ABDALLA MUKHAIMER, HUSNI          ADDRESS ON FILE
ABDALLAH BLASCO, MANUEL           ADDRESS ON FILE
ABDALLAH CANCEL, JIHAN            ADDRESS ON FILE
ABDALLAH SAMARA, DANNY            ADDRESS ON FILE
ABDALLAH SHIHDEH, HASAN H         ADDRESS ON FILE
ABDALLAH TAHA, MHDY               ADDRESS ON FILE
ABDALLAH TAHA, MOHAMMED           ADDRESS ON FILE
ABDEEL E MOLINA LUGO              ADDRESS ON FILE
ABDEL ALVAREZ GONZALEZ            ADDRESS ON FILE
ABDEL BRACERO, NATIA              ADDRESS ON FILE
ABDEL HAMID AHMAD, WADHA S        ADDRESS ON FILE
ABDEL KADER A ABDELFATAH          ADDRESS ON FILE
ABDEL PEREZ FERNANDEZ             ADDRESS ON FILE
ABDEL RAHMAN, KAMAL               ADDRESS ON FILE
ABDELGADER FUENTES, OMAR M        ADDRESS ON FILE
ABDELL GAUTIER VIDAL              ADDRESS ON FILE
ABDELL J OTERO VAZQUEZ            ADDRESS ON FILE
ABDIA QUINONES QUINONES           ADDRESS ON FILE
ABDIAS F COLON VIGO               ADDRESS ON FILE
ABDIAS OCASIO BORRERO             ADDRESS ON FILE
ABDIAS OCASIO BORRERO             ADDRESS ON FILE
ABDIAS PEREZ DE LA CRUZ           ADDRESS ON FILE
ABDIAS RIVERA GONZALEZ            ADDRESS ON FILE
ABDIAS ROSADO SANTIAGO            ADDRESS ON FILE
ABDIEL ACEVEDO CARDONA            ADDRESS ON FILE
ABDIEL ACEVEDO PEREZ              ADDRESS ON FILE
ABDIEL BERRÍOS PÉREZ              ÁNGEL E. VEGA RAMOS                 COND. LAS TORRES NORTE OFIC. 3‐A                                      Bayamón          PR      00959
ABDIEL CONCEPCION RIVERA          ADDRESS ON FILE
ABDIEL CRESPO PADILLA             ADDRESS ON FILE
ABDIEL DUMENG GOMEZ               ADDRESS ON FILE
ABDIEL FERRER MORALES             ADDRESS ON FILE
ABDIEL FLORES RODRIGUEZ           ADDRESS ON FILE
ABDIEL GOMEZ OTERO                ADDRESS ON FILE
ABDIEL I MONTANEZ MORALES         ADDRESS ON FILE
ABDIEL J HEREDIA MARQUEZ          ADDRESS ON FILE
ABDIEL J MALDONADO VERA           ADDRESS ON FILE
ABDIEL J MULERO MELENDEZ          ADDRESS ON FILE
ABDIEL LATORRE MELENDEZ           ADDRESS ON FILE
ABDIEL LOPEZ REYES                ADDRESS ON FILE
ABDIEL M CARMONA PADRO            ADDRESS ON FILE
ABDIEL MEDINA ROSA                ADDRESS ON FILE




                                                                                                    Page 8 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor        Matrix
                                                                            Case No. 17 BK 3283‐LTS Page 9 of 3500
                                                                                                           Creditor Matrix

Creditor Name                         Address1                                 Address2                                 Address3   Address4   City         State   PostalCode   Country
ABDIEL MIRANDA PORTALATIN             ADDRESS ON FILE
ABDIEL MONTES GONZALEZ                ADDRESS ON FILE
ABDIEL ORTIZ ALGARIN                  ADDRESS ON FILE
ABDIEL ORTIZ LOPEZ                    ADDRESS ON FILE
ABDIEL PEREZ RIOS                     ADDRESS ON FILE
ABDIEL QUINONES TORRES                ADDRESS ON FILE
ABDIEL RAMOS ALEMAN                   ADDRESS ON FILE
ABDIEL RIOS COLON                     ADDRESS ON FILE
ABDIEL RIVERA CRESPO                  ADDRESS ON FILE
ABDIEL ROJAS BAEZ                     ADDRESS ON FILE
ABDIEL RUIZ PIÑEIRO                   LUIS RAMÓN RODRÍGUEZ CINTRÓN             PO 6407                                                        CAGUAS       PR      00726
ABDIEL S RIVERA ESCRIBANO             ADDRESS ON FILE
ABDIEL SANTIAGO CARABALLO             ADDRESS ON FILE
ABDIEL TORRES COLON                   ADDRESS ON FILE
ABDIEL VEGA GONZALEZ                  ADDRESS ON FILE
ABDIEL VEGA OTERO                     ADDRESS ON FILE
ABDIN E SOTO ROMAN                    ADDRESS ON FILE
ABDIN J JAVIER PEREZ                  ADDRESS ON FILE
ABDIN SOTO ROMAN                      ADDRESS ON FILE
ABDM JAIME                            ADDRESS ON FILE
ABDON LOPEZ TORRES                    ADDRESS ON FILE
ABDON LOPEZ VELAZQUEZ                 ADDRESS ON FILE
ABDON PEREZ ORONOZ                    ADDRESS ON FILE
ABDOUNY MASSRI, HAMED A               ADDRESS ON FILE
Abdouny Massri, Hamed A               ADDRESS ON FILE
ABDRIEL CARDONA MERCADO               ADDRESS ON FILE
ABDUL SANTIAGO, FREDDY                ADDRESS ON FILE
ABDUL X FELICIANO PLAZA               ADDRESS ON FILE
ABDUL XAVIER FELICIANO PLAZA          ADDRESS ON FILE
ABDULARAHMAN SOLER, JAMIL             ADDRESS ON FILE
ABDULLAH MD, MUHAMMAD                 ADDRESS ON FILE
ABDULRAHMAN SOLER, NAZIHRA            ADDRESS ON FILE
Abdulrahman Soler, Nazihra M          ADDRESS ON FILE
ABED CASIANO ORTIZ                    ADDRESS ON FILE
ABED KHALED                           ADDRESS ON FILE
ABED MONTANEZ, STEPHANIE S            ADDRESS ON FILE
ABED N CORDERO JAIME                  ADDRESS ON FILE
ABEDON D MARRERO/ MARIA B RIVERA      ADDRESS ON FILE
ABEJITAS CENTRO DE CUIDO INFANTIL     ADDRESS ON FILE
ABEL A CINTRON / GLADYS AVILES        ADDRESS ON FILE
ABEL A LEON FIGUEROA                  ADDRESS ON FILE
ABEL ACEVEDO CRUZ                     ADDRESS ON FILE
ABEL ANDINO CRUZ                      ADDRESS ON FILE
ABEL C AYALA PACHECO                  ADDRESS ON FILE
ABEL CARLO ESTRADA                    ADDRESS ON FILE
ABEL CASTELLANO MIRANDA               ADDRESS ON FILE
ABEL CASTELLANO MUNOZ                 ADDRESS ON FILE
ABEL CATALA ORTIZ                     ADDRESS ON FILE
ABEL COLLAZO LEBRON                   ADDRESS ON FILE
ABEL COREANO APONTE                   ADDRESS ON FILE
ABEL D ROSARIO A/C CARMEN J VAZQUEZ   ADDRESS ON FILE
ABEL E CRUZ UMPIERRE                  ADDRESS ON FILE
ABEL FELICIANO ALAGO                  ADDRESS ON FILE
ABEL FLORES TORRES                    ADDRESS ON FILE
ABEL FRANCESCHI IBARRONDO             ADDRESS ON FILE
ABEL FRANCESCHI IBARRONDO             ADDRESS ON FILE
ABEL GALARZA LOPEZ                    ADDRESS ON FILE
ABEL HERNANDEZ DE JESUS               LCDO. EDWIN R. BONILLA VÉLEZ (CODEMANDAD PO BOX 190433                                                  SAN JUAN     PR      00919‐0433
ABEL HERNANDEZ DE JESUS               LCDO. LUIS G. RIVERA LEÓN (DEMANDANTE)   PMB 161 LA CUMBRE 273 SIERRA MORENA                            SAN JUAN     PR      00926‐5575
ABEL IRIZARRY RESTO                   ADDRESS ON FILE




                                                                                                           Page 9 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 10 of 3500
                                                                                                            Creditor Matrix

Creditor Name                             Address1                                  Address2                              Address3   Address4   City         State   PostalCode   Country
ABEL J OTERO/NEW ENERGY CONSULTANS        ADDRESS ON FILE
ABEL J VEGA ENCARNACION                   ADDRESS ON FILE
ABEL LA TORRE QUILES                      ADDRESS ON FILE
ABEL LUIS FRED SANTIAGO                   ADDRESS ON FILE
ABEL MASUET GUERRA                        ADDRESS ON FILE
Abel Mateo Moris                          ADDRESS ON FILE
ABEL MATOS / RAQUEL MATOS                 ADDRESS ON FILE
ABEL MONTANEZ DELGADO                     ADDRESS ON FILE
ABEL MU¥IZ RIVERA                         ADDRESS ON FILE
ABEL MU¥IZ RIVERA                         ADDRESS ON FILE
ABEL MUNIZ CAMACHO                        ADDRESS ON FILE
ABEL NAZARIO QUINONEZ                     ADDRESS ON FILE
ABEL QUINTANA OCAMPO Y JULIA H FIGUEROA   ADDRESS ON FILE
ABEL RODRIGUEZ COLON                      ADDRESS ON FILE
ABEL RODRIGUEZ VELAZQUEZ                  ADDRESS ON FILE
ABEL RODRIGUEZ, OLGA                      ADDRESS ON FILE
ABEL RUIZ RODRIGUEZ                       ADDRESS ON FILE
ABEL S NAVARRO GONZALEZ                   ADDRESS ON FILE
ABEL SANCHEZ DISTRIBUTOR                  CALLE 495 S.T. # 893                      REPARTO METROPOLITANO                                       SAN JUAN     PR      00921
ABEL SANCHEZ DISTRIBUTORS                 REPARTO METROPOLITANO                     893 CALLE 49 SE                                             SAN JUAN     PR      00921
ABEL SANTIAGO FLORES                      ADDRESS ON FILE
ABEL SERRANO AYENDE                       ADDRESS ON FILE
ABEL SILVA HERNANDEZ                      ADDRESS ON FILE
ABEL URBAN ORTEGA                         ADDRESS ON FILE
ABEL VALE NIEVES                          ADDRESS ON FILE
ABEL VAZQUEZ ROMAN                        ADDRESS ON FILE
ABEL VELEZ ROQUE                          ADDRESS ON FILE
ABEL VILLARUBIA ECHEVARRIA                ADDRESS ON FILE
ABELARDO ACHECAR MARTINEZ                 ADDRESS ON FILE
ABELARDO CASANOVA HERNADEZ                COND PARK PALACE 1555 CALLE MARTIN TRAVIE APT 30                                                      SAN JUAN     PR      00911
ABELARDO DUVAL FELIZ                      ADDRESS ON FILE
ABELARDO GOTAY TIRADO                     ADDRESS ON FILE
ABELARDO MARTINEZ SEGARRA                 ADDRESS ON FILE
ABELARDO MERCED LOPEZ                     ADDRESS ON FILE
ABELARDO O COLLAZO CUEVAS                 ADDRESS ON FILE
ABELARDO OJEDA LUYANDO                    ADDRESS ON FILE
ABELARDO OJEDA PENA                       ADDRESS ON FILE
ABELARDO PEREZ GARCIA                     ADDRESS ON FILE
ABELARDO PEREZ RIVERA                     ADDRESS ON FILE
ABELARDO QUINONES MARTINEZ                ADDRESS ON FILE
ABELARDO RODRIGUEZ VIERA                  ADDRESS ON FILE
ABELENDA GONZALEZ, DORIS J                ADDRESS ON FILE
ABELLA DIAZ, CRISTINA M                   ADDRESS ON FILE
ABELLA DIAZ, RICARDO                      ADDRESS ON FILE
ABELLA FADONK, BETHZAIDA                  ADDRESS ON FILE
ABELLA FARDONK, ELIZABETH                 ADDRESS ON FILE
ABELLA GARCIA, MARIA DE L.                ADDRESS ON FILE
ABELLA GRACIANI, JAVIER                   ADDRESS ON FILE
ABELLA PADILLA, FRANCES                   ADDRESS ON FILE
ABELLA PADILLA, FRANK                     ADDRESS ON FILE
ABELLA ROIG, CONSUELO                     ADDRESS ON FILE
ABELLA VALDES, PILAR                      ADDRESS ON FILE
ABELLA, JAIME F                           ADDRESS ON FILE
ABELLA,JAIME F.                           ADDRESS ON FILE
ABELLAS CHIRIVELLA, LOURDES M             ADDRESS ON FILE
ABELLEMARIE GOTAY RIVERA                  ADDRESS ON FILE
ABEN SALGADO APONTE                       ADDRESS ON FILE
ABENDANO EZQUERRO, JAVIER                 ADDRESS ON FILE
ABET J ROMAN GONZALEZ                     ADDRESS ON FILE
ABF FREIGHT SYSTEM INC.                   PO BOX 248                                                                                            CATANO       PR      00963




                                                                                                            Page 10 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 11 of 3500
                                                                             Creditor Matrix

Creditor Name                 Address1                       Address2                      Address3   Address4   City       State   PostalCode   Country
ABIAM PRODUCCIONES INC        RR 2 BOX 6404                                                                      CIDRA      PR      00739
ABIAZER MALAVE VELAZQUEZ      ADDRESS ON FILE
ABID E QUINONES PORTALATIN    ADDRESS ON FILE
ABIDA COLON LABOY             ADDRESS ON FILE
ABIEL J HOYOS SERRANO         ADDRESS ON FILE
ABIEL ROCHE LIMA              ADDRESS ON FILE
ABIEL SOTO MENDEZ             ADDRESS ON FILE
ABIESEL HERNANDEZ NIEVES      ADDRESS ON FILE
ABIEZEL MENDEZ SOLER          ADDRESS ON FILE
ABIEZER ACEVEDO VAZQUEZ       ADDRESS ON FILE
ABIEZER COTTO ADORNO          ADDRESS ON FILE
ABIEZER HEREDIA VELEZ         ADDRESS ON FILE
ABIEZER HERNANDEZ LOPEZ       ADDRESS ON FILE
ABIEZER ORTIZ MARTINEZ        ADDRESS ON FILE
ABIGAIL AGOSTO ROMAN          ADDRESS ON FILE
ABIGAIL BELTRAN CABALLERO     ADDRESS ON FILE
ABIGAIL BERMUDEZ URBINA       ADDRESS ON FILE
ABIGAIL CARRASQUILLO AYALA    ADDRESS ON FILE
ABIGAIL CRUZ GARCIA           ADDRESS ON FILE
ABIGAIL CRUZ RODRIGUEZ        LCDO. RAMÓN FIGUEROA VÁZQUEZ   PO BOX 372545                                       Cayey      PR      00737‐2545
ABIGAIL DAVILA CARRASQUILLO   ADDRESS ON FILE
ABIGAIL DAVILA ROBLEDO        ADDRESS ON FILE
ABIGAIL DE LEON SERRANO       ADDRESS ON FILE
ABIGAIL DIAZ RODRIGUEZ        ADDRESS ON FILE
ABIGAIL DIAZ SANCHEZ          ADDRESS ON FILE
ABIGAIL ECHEVARRIA MILIAN     ADDRESS ON FILE
ABIGAIL ESCOBAR ORTIZ         ADDRESS ON FILE
ABIGAIL ESPANOL OCASIO        ADDRESS ON FILE
ABIGAIL ESTREMERA SIERRA      ADDRESS ON FILE
ABIGAIL FELICIANO OLMO        ADDRESS ON FILE
ABIGAIL FERNANDEZ MENA        ADDRESS ON FILE
ABIGAIL FIGUEROA CARABALLO    ADDRESS ON FILE
ABIGAIL GALAN VAZQUEZ         ADDRESS ON FILE
ABIGAIL GONZALEZ HERNANDEZ    ADDRESS ON FILE
ABIGAIL GONZALEZ NEGRON       ADDRESS ON FILE
ABIGAIL GUADALUE BETANCOURT   ADDRESS ON FILE
ABIGAIL GUZMAN                ADDRESS ON FILE
ABIGAIL GUZMAN SUSTACHE       ADDRESS ON FILE
ABIGAIL HERNANDEZ LOPEZ       ADDRESS ON FILE
ABIGAIL HERNANDEZ NIEVES      ADDRESS ON FILE
ABIGAIL LINARES               ADDRESS ON FILE
ABIGAIL MANGUAL MARCUCCI      ADDRESS ON FILE
ABIGAIL MARIS SOTO SANTIAGO   ADDRESS ON FILE
ABIGAIL MARTINEZ              ADDRESS ON FILE
ABIGAIL MATOS                 ADDRESS ON FILE
ABIGAIL MEDINA VALENTIN       ADDRESS ON FILE
ABIGAIL MORALES GUZMAN        ADDRESS ON FILE
ABIGAIL MORALES LUNA          ADDRESS ON FILE
ABIGAIL MORALES LUNA          ADDRESS ON FILE
ABIGAIL MUNIZ MUNIZ           ADDRESS ON FILE
ABIGAIL MUNIZ TORRES          ADDRESS ON FILE
ABIGAIL NIEVES ALARCON        ADDRESS ON FILE
ABIGAIL NUNEZ FEBRES          ADDRESS ON FILE
ABIGAIL OCASIO FIGUEROA       ADDRESS ON FILE
ABIGAIL OCASIO ORTIZ          ADDRESS ON FILE
ABIGAIL OCASIO ORTIZ          ADDRESS ON FILE
ABIGAIL OCASIO ORTIZ          ADDRESS ON FILE
ABIGAIL ORTIZ                 ADDRESS ON FILE
ABIGAIL ORTIZ MORALES         ADDRESS ON FILE
ABIGAIL OYOLA RAMIREZ         ADDRESS ON FILE




                                                                             Page 11 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 12 of 3500
                                                                                                 Creditor Matrix

Creditor Name                            Address1                 Address2                                     Address3   Address4   City            State   PostalCode   Country
ABIGAIL PACHECO SERRANO                  ADDRESS ON FILE
ABIGAIL PEREZ ORTIZ                      ADDRESS ON FILE
ABIGAIL PEREZ RODRIGUEZ                  ADDRESS ON FILE
ABIGAIL QUILES RIVERA                    ADDRESS ON FILE
ABIGAIL QUINONES LOPEZ                   ADDRESS ON FILE
ABIGAIL QUINTERO PADILLA                 ADDRESS ON FILE
ABIGAIL RAMOS FUENTES                    ADDRESS ON FILE
ABIGAIL RAMOS PASTRANA                   ADDRESS ON FILE
ABIGAIL RIVERA OCASIO                    ADDRESS ON FILE
ABIGAIL RIVERA ORTIZ                     ADDRESS ON FILE
ABIGAIL RIVERA PACHECO                   ADDRESS ON FILE
ABIGAIL RIVERA RAMOS                     ADDRESS ON FILE
ABIGAIL RIVERA VELAZQUEZ                 ADDRESS ON FILE
ABIGAIL RODRIGUEZ DAVILA                 ADDRESS ON FILE
ABIGAIL RODRIGUEZ ORTIZ                  ADDRESS ON FILE
ABIGAIL RODRIGUEZ RODRIGUEZ/PURA ENERGIA ADDRESS ON FILE
ABIGAIL RODRIGUEZ VAZQUEZ                ADDRESS ON FILE
ABIGAIL RODRIGUEZ VAZQUEZ                ADDRESS ON FILE
ABIGAIL ROSARIO CRUZ                     ADDRESS ON FILE
ABIGAIL ROSARIO GARCIA                   ADDRESS ON FILE
ABIGAIL SALAS LISBOA                     ADDRESS ON FILE
ABIGAIL SANTIAGO CANS                    ADDRESS ON FILE
ABIGAIL TORRES CORCHADO                  ADDRESS ON FILE
ABIGAIL TORRES CRUZ                      ADDRESS ON FILE
ABIGAIL TORRES NIEVES                    ADDRESS ON FILE
ABIGAIL TORRES OYOLA                     ADDRESS ON FILE
ABIGAIL TORRES QUILES                    ADDRESS ON FILE
ABIGAIL TORRES RIVERA                    ADDRESS ON FILE
ABIGAIL VAZQUEZ / ARELI ALICEA           ADDRESS ON FILE
ABIGAIL VAZQUEZ CINTRON                  ADDRESS ON FILE
ABIGAIL YUNQUI OSORIO                    ADDRESS ON FILE
ABIKARAN NIEVES, AIVELISSE               ADDRESS ON FILE
ABILA                                    DEPT 3303                PO BOX 123303                                                      DALLAS          TX      75312‐3303
ABILAH SANTOS FIGUEROA                   ADDRESS ON FILE
ABILIA E GARIB BAZAIN                    ADDRESS ON FILE
ABILIA E. GARIB BAZAIN                   ADDRESS ON FILE
ABILIO AUTO AIR                          BOX 31088                                                                                   RIO PIEDRAS     PR      00929
ABILSA MARTINEZ BALDIN DBA HONORIO       MARTINEZ CONTRERAS       QUINTAS DE CUPEY B5 CALLE 15                                       SAN JUAN        PR      00926
Abimael Boria Aponte                     ADDRESS ON FILE
ABIMAEL CASTRO BERROCALES                ADDRESS ON FILE
ABIMAEL CORREA RIVERA                    ADDRESS ON FILE
ABIMAEL CORTIJO PAGAN                    ADDRESS ON FILE
ABIMAEL CRUZ MALDONADO                   ADDRESS ON FILE
ABIMAEL CRUZ SERRANO                     ADDRESS ON FILE
ABIMAEL CRUZ SERRANO                     ADDRESS ON FILE
ABIMAEL DIAZ DELGADO                     ADDRESS ON FILE
ABIMAEL FELICIANO ROMERO                 ADDRESS ON FILE
ABIMAEL GARCIA MARTINEZ                  ADDRESS ON FILE
ABIMAEL GONZALEZ CRUZ                    ADDRESS ON FILE
ABIMAEL HERNANDEZ ROMAN                  ADDRESS ON FILE
ABIMAEL J LOPEZ QUINTERO                 ADDRESS ON FILE
ABIMAEL J VELEZ VELEZ                    ADDRESS ON FILE
ABIMAEL J. VELEZ VELEZ                   ADDRESS ON FILE
ABIMAEL MARIN                            ADDRESS ON FILE
ABIMAEL MARIN NEGRON                     ADDRESS ON FILE
ABIMAEL MARTINEZ PEREZ                   ADDRESS ON FILE
ABIMAEL MEDINA ALAMO                     ADDRESS ON FILE
ABIMAEL MERCADO PADILLA                  ADDRESS ON FILE
ABIMAEL MERCADO ROMAN                    ADDRESS ON FILE
ABIMAEL MORALES CANDELARIA               ADDRESS ON FILE




                                                                                                 Page 12 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No. Matrix
                                                                                        17 BK 3283‐LTS Page 13 of 3500
                                                                                                         Creditor Matrix

Creditor Name                            Address1                          Address2                                   Address3   Address4   City               State   PostalCode   Country
ABIMAEL MORAN MALAVE                     ADDRESS ON FILE
ABIMAEL OQUENDO DIAZ                     ADDRESS ON FILE
ABIMAEL ORTIZ PENALVERT                  ADDRESS ON FILE
ABIMAEL PEREZ BAEZ                       ADDRESS ON FILE
ABIMAEL REYES RAMOS DBA AUDIO VIDEO TECH URB ALAMAR                        CALLE L J15                                                      LUQUILLO           PR      00773
ABIMAEL REYES RAMOS DBA AUDIO VIDEO TECH URB. ALAMAR                       CALLE L #J‐15                                                    LUQUILLO           PR      00773
ABIMAEL REYES RAMOS/AUDIO VIDEO LECH     ADDRESS ON FILE
ABIMAEL RIVERA CRUZ                      ADDRESS ON FILE
ABIMAEL RIVERA MANGUAL                   ADDRESS ON FILE
ABIMAEL RIVERA RIVERA                    ADDRESS ON FILE
ABIMAEL RODRIGUEZ LOPEZ                  ADDRESS ON FILE
ABIMAEL RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
ABIMAEL ROSARIO RIVERA                   ADDRESS ON FILE
ABIMAEL ROSARIO ROMAN                    ADDRESS ON FILE
ABIMAEL SANCHEZ REYES                    ADDRESS ON FILE
ABIMAEL VELEZ MENDEZ                     ADDRESS ON FILE
ABIMALEC ORTEGA VARGAS                   ADDRESS ON FILE
ABIMALECK FELICIANO SANTOS               ADDRESS ON FILE
ABIMANUEL SEDA FIGUEROA                  ADDRESS ON FILE
ABIMAR INC                               CARR 647 KM 2.3                   CANDELARIA                                                       VEGA ALTA          PR      00692
ABIMAR INC.                              P.O. BOX 277                                                                                       VEGA ALTA          PR      00692
ABIMARIE OTANO CRUZ                      ADDRESS ON FILE
ABIMARIE SERRANO MEDINA                  ADDRESS ON FILE
ABIMARILIZ CASILLAS MACFIE               ADDRESS ON FILE
ABIMELEC ALEMAR COTTO                    ADDRESS ON FILE
ABIMELEC MARTINEZ MUNOZ                  ADDRESS ON FILE
ABIMELEC MARTINEZ OJEDA                  ADDRESS ON FILE
ABIMELEC SERRANO                         ADDRESS ON FILE
ABIMELEC VILELLA DIAZ                    ADDRESS ON FILE
ABINA SOTOMAYOR, JULIO E.                ADDRESS ON FILE
ABINGTON PULMONARY CRITICAL CARE         1235 OLD YORK RD                  SUITE 121                                                        ABINGTON           PA      19001
ABIR MD, FEREYDOON                       ADDRESS ON FILE
ABISAEL FLORES RODRIGUEZ                 ADDRESS ON FILE
ABISAI AROCHO CARDONA                    ADDRESS ON FILE
ABISAI NIEVES BERNARD                    ADDRESS ON FILE
ABISAI SUREN BONES                       ADDRESS ON FILE
ABISAY NEGRON LOPEZ                      ADDRESS ON FILE
ABIU A GARCIA COLON                      ADDRESS ON FILE
ABIU TORRES RODRIGUEZ                    ADDRESS ON FILE
ABIUD ESTRADA DIAZ                       ADDRESS ON FILE
ABIUD R GONZALEZ ESCOBAR                 ADDRESS ON FILE
ABIZAIN PAGAN VAZQUEZ                    ADDRESS ON FILE
ABIZAIN PAGAN VAZQUEZ                    ADDRESS ON FILE
ABL SOLUTIONS CORPORATION                COND PARQ DE LAS FUENTES          690 CALLE CESAR GONZALEZ APT 408                                 SAN JUAN           PR      00918
ABLANDO INC                              HC 02 BOX 3038                                                                                     SABANA HOYOS       PR      00688‐9622
ABLEREX POWER SOLUTION INC               PMB 675 1353 AVE LUIS VIGOREAUX                                                                    GUAYNABO           PR      00966
ABM INDUSTRIES INC                       PO BOX 38699                                                                                       COLORADO SPRINGS   CO      80937
ABMER JAIME CONCEPCION                   ADDRESS ON FILE
ABNEL J. HERNANDEZ SOTO                  ADDRESS ON FILE
ABNEL MADERA SANTANA                     ADDRESS ON FILE
ABNEL O AYALA SANCHEZ                    ADDRESS ON FILE
ABNEL RODRIGUEZ LIZARDI                  ADDRESS ON FILE
ABNEL ROQUE GUZMAN                       ADDRESS ON FILE
ABNEL SEPULVEDA SANTIAGO                 ADDRESS ON FILE
ABNER ACEVEDO PEON                       ADDRESS ON FILE
ABNER ALICEA FIGUEROA                    ADDRESS ON FILE
ABNER ANDRES ROLDAN NEGRON               ADDRESS ON FILE
ABNER ARCE ROMAN                         ADDRESS ON FILE
ABNER BARAJAS                            ADDRESS ON FILE
ABNER BIDO LOPEZ                         ADDRESS ON FILE




                                                                                                        Page 13 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 14 of 3500
                                                                                Creditor Matrix

Creditor Name                  Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
ABNER CRUZ CEDENO              ADDRESS ON FILE
ABNER DE JESUS MONTALVO        ADDRESS ON FILE
ABNER DE JESUS PEREZ           ADDRESS ON FILE
ABNER FELICIE MORAN            ADDRESS ON FILE
ABNER FLORES DIAZ              ADDRESS ON FILE
ABNER GARCIA MUNOZ             ADDRESS ON FILE
ABNER GOMEZ CORTES             ADDRESS ON FILE
ABNER GONZALEZ LUCENA          ADDRESS ON FILE
ABNER GUTIERREZ MANGUAL        ADDRESS ON FILE
ABNER HERNANDEZ                ADDRESS ON FILE
ABNER HERNANDEZ REYES          ADDRESS ON FILE
ABNER J SANTIAGO CARABALLO     ADDRESS ON FILE
ABNER J VARGAS RUBIO           ADDRESS ON FILE
ABNER J. ACEVEDO PEON          ADDRESS ON FILE
ABNER MARTINEZ QUINONES        ADDRESS ON FILE
ABNER MEDINA ALEJANDRO         ADDRESS ON FILE
ABNER MORALES MERCADO          COND. METROMONTE          APTO.106 B BUZON 130                                       CAROLINA     PR      00987
ABNER MORALES MORALES          ADDRESS ON FILE
ABNER NIEVES MARCANO           ADDRESS ON FILE
ABNER O RIOS RIVERA            ADDRESS ON FILE
ABNER O. QUINONES MUNIZ        ADDRESS ON FILE
ABNER OMAR ADORNO PEREZ        ADDRESS ON FILE
ABNER R ROQUE RIVERA           ADDRESS ON FILE
ABNER RIVAS HERNANDEZ          ADDRESS ON FILE
ABNER RIVERA GINES             ADDRESS ON FILE
ABNER RIVERA MALDONADO         ADDRESS ON FILE
ABNER RIVERA RIVERA            ADDRESS ON FILE
ABNER RODRIGUEZ FUENTES        ADDRESS ON FILE
ABNER RODRIGUEZ GUADALUPE      ADDRESS ON FILE
ABNER TORRES LOPEZ             ADDRESS ON FILE
ABNER TORRES MELÉNDEZ          ADDRESS ON FILE
ABNER V RIVERA RUIZ            ADDRESS ON FILE
ABNER X MORET VEGA             ADDRESS ON FILE
ABNER Y RAMOS MATTEI           ADDRESS ON FILE
ABNER ZACHEUS ROSARIO          ADDRESS ON FILE
ABNERIS BERRIOS RODRIGUEZ      ADDRESS ON FILE
ABNERIS BRUNO ORTIZ            ADDRESS ON FILE
ABNERIS RIVERA JIMENEZ         ADDRESS ON FILE
ABNES M ONEILL MARTINEZ        ADDRESS ON FILE
ABNIEL CORREA RIVERA           ADDRESS ON FILE
ABOGADOS DE PUERTO RICO        P O BOX 6255                                                                         MAYAGUEZ     PR      00680
Abolafia Bezares, Conchita     ADDRESS ON FILE
ABOLAFIA ESTEVA, PABLO         ADDRESS ON FILE
ABOLAFIA OYALA, GLENDA L.      ADDRESS ON FILE
ABOLAFIA OYOLA, GLENDA L.      ADDRESS ON FILE
ABOU EL HOSSEM, JAMIL          ADDRESS ON FILE
ABOU EL HOSSEN, JEANDARK       ADDRESS ON FILE
ABOU HAMIA, KHALED A           ADDRESS ON FILE
ABOUJOKH MOURAD, HUSSEIN       ADDRESS ON FILE
ABOUKHEIR ABOUKHEIR, MAHMOUD   ADDRESS ON FILE
ABP, INTERNATIONAL, INC.       PO BOX 367025                                                                        SAN JUAN     PR      00936‐7025
ABRACADABRARTE, INC.           PO BOX 193238                                                                        SAN JUAN     PR      00919‐3238
ABRADELO PEREZ, ROSA L         ADDRESS ON FILE
ABRAHAM A CORE                 ADDRESS ON FILE
ABRAHAM A FORNES ALVARADO      ADDRESS ON FILE
ABRAHAM A NIEVES ALICEA        ADDRESS ON FILE
ABRAHAM A ORTIZ VAZQUEZ        ADDRESS ON FILE
ABRAHAM A TOMEI PEREZ          ADDRESS ON FILE
ABRAHAM A VALENTIN VEGA        ADDRESS ON FILE
ABRAHAM A. BURGES              ADDRESS ON FILE




                                                                                Page 14 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 15 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                    Address2                       Address3   Address4   City         State   PostalCode   Country
ABRAHAM ACUMULADA, DARLING              ADDRESS ON FILE
ABRAHAM AGOSTO HERNANDEZ                ADDRESS ON FILE
ABRAHAM AGUILAR ACEVEDO                 ADDRESS ON FILE
ABRAHAM ALMODOVAR, ALMA I               ADDRESS ON FILE
ABRAHAM ARROYO, LILLIAM                 ADDRESS ON FILE
ABRAHAM ARROYO, LUIS                    ADDRESS ON FILE
ABRAHAM AVILES, JUAN A.                 ADDRESS ON FILE
ABRAHAM CALDERON, MIRNALY               ADDRESS ON FILE
ABRAHAM CALDERON, YADILIS               ADDRESS ON FILE
Abraham Cales, Felix O                  ADDRESS ON FILE
ABRAHAM CANCEL, DAVID                   ADDRESS ON FILE
ABRAHAM CANDELARIO SANCHEZ              ADDRESS ON FILE
ABRAHAM CAPIELO MELENDEZ                ADDRESS ON FILE
ABRAHAM CARRION GARCIA                  ADDRESS ON FILE
ABRAHAM CINTRON ORTIZ                   ADDRESS ON FILE
ABRAHAM COLLADO RECIO                   ADDRESS ON FILE
ABRAHAM COLLAZO AYALA                   ADDRESS ON FILE
ABRAHAM COLON BETANCOURT                ADDRESS ON FILE
ABRAHAM COLON MARTINEZ                  ADDRESS ON FILE
ABRAHAM COLON MARTINEZ                  ADDRESS ON FILE
ABRAHAM COLON RIVERA                    ADDRESS ON FILE
ABRAHAM CRUZ VALCARCEL                  ADDRESS ON FILE
ABRAHAM D FELIZ CESPEDES                ADDRESS ON FILE
ABRAHAM DAVID ESPADA                    ADDRESS ON FILE
ABRAHAM DE JESUS CRUZ                   ADDRESS ON FILE
ABRAHAM DE JESUS MUNIZ                  ADDRESS ON FILE
ABRAHAM DIAZ COLON Y JANIDE M. QUINONES ADDRESS ON FILE
Abraham Díaz Méndez                     ADDRESS ON FILE
ABRAHAM DIAZ, AIRAM                     ADDRESS ON FILE
ABRAHAM DIAZ, JULIA M                   ADDRESS ON FILE
ABRAHAM ESPADA                          ADDRESS ON FILE
ABRAHAM FIGUEROA ANDINO                 ADDRESS ON FILE
ABRAHAM GARCIA, JULIO                   ADDRESS ON FILE
ABRAHAM GIMÉNEZ, JORGE L.               YVONNE GONZALEZ MORALES     PO BOX 9021828                                       SAN JUAN     PR      00902‐1828
ABRAHAM GLASS                           CALLE DEL CARMEN NUM 1052                                                        SANTURCE     PR      00907
ABRAHAM GOMEZ SERRANO                   ADDRESS ON FILE
ABRAHAM GONZALEZ DE JESUS               ADDRESS ON FILE
ABRAHAM GONZALEZ RIVERA                 ADDRESS ON FILE
ABRAHAM GONZALEZ, YENIS                 ADDRESS ON FILE
ABRAHAM HENDERSON                       ADDRESS ON FILE
ABRAHAM HERNANDEZ VAZQUEZ               ADDRESS ON FILE
ABRAHAM J RIVAS MORALES                 ADDRESS ON FILE
ABRAHAM J RIVERA                        ADDRESS ON FILE
ABRAHAM JIMENEZ, BIENVENIDO             ADDRESS ON FILE
ABRAHAM JIMENEZ, EMMANUEL               ADDRESS ON FILE
ABRAHAM JIMENEZ, JORGE                  ADDRESS ON FILE
ABRAHAM JIMENEZ, MIGUEL                 ADDRESS ON FILE
ABRAHAM LAJARA MORALES                  ADDRESS ON FILE
ABRAHAM LAJARA MORALES                  ADDRESS ON FILE
ABRAHAM LEBRON HERNANDEZ                ADDRESS ON FILE
ABRAHAM LLAMAS, ELBA I.                 ADDRESS ON FILE
ABRAHAM LLAMAS, ELBA I.                 ADDRESS ON FILE
ABRAHAM LOPEZ MEDINA                    ADDRESS ON FILE
ABRAHAM M VELEZ VILLABOL                ADDRESS ON FILE
ABRAHAM MALDONADO ADORNO                ADDRESS ON FILE
ABRAHAM MD, LEMUEL                      ADDRESS ON FILE
ABRAHAM MD, RONALD                      ADDRESS ON FILE
ABRAHAM MEDINA, JOSE A                  ADDRESS ON FILE
ABRAHAM MELENDEZ, CARLOS R              ADDRESS ON FILE
ABRAHAM MELENDEZ, LUIS R                ADDRESS ON FILE




                                                                                     Page 15 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No. Matrix
                                                                                  17 BK 3283‐LTS Page 16 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3                Address4   City         State   PostalCode   Country
ABRAHAM MERCADO, ANITZA M          ADDRESS ON FILE
ABRAHAM MIRANDA AYALA              ADDRESS ON FILE
ABRAHAM MOJICA, NORMA I            ADDRESS ON FILE
ABRAHAM MORALES DELGADO            ADDRESS ON FILE
ABRAHAM MORALES PENA               ADDRESS ON FILE
ABRAHAM NELSON BRENES              ADDRESS ON FILE
ABRAHAM NOGUERAS, CARISSA          ADDRESS ON FILE
ABRAHAM NOGUERAS, CARISSA          ADDRESS ON FILE
ABRAHAM NUNEZ SALAS                ADDRESS ON FILE
ABRAHAM ORTIZ TORRES               ADDRESS ON FILE
ABRAHAM PAGAN, FELIX               ADDRESS ON FILE
Abraham Paris SaldaNa              ADDRESS ON FILE
ABRAHAM PEREZ VALENTIN             ADDRESS ON FILE
ABRAHAM PORTALATIN RODRIGUEZ       ADDRESS ON FILE
ABRAHAM QUINONES MORALES           ADDRESS ON FILE
ABRAHAM QUINONES QUINONES          ADDRESS ON FILE
ABRAHAM QUINONES RIVERA            ADDRESS ON FILE
ABRAHAM QUINONES, HECTOR           ADDRESS ON FILE
ABRAHAM RAMIREZ, HILDA DORIS       ADDRESS ON FILE
ABRAHAM RAMOS, JERICA              ADDRESS ON FILE
Abraham Ramos, Nelson              ADDRESS ON FILE
ABRAHAM RIVERA MORALES             ADDRESS ON FILE
ABRAHAM RIVERA QUINONES            ADDRESS ON FILE
ABRAHAM RIVERA RAMOS               ADDRESS ON FILE
Abraham Rivera Rivera              ADDRESS ON FILE
ABRAHAM RIVERA RODRIGUEZ           ADDRESS ON FILE
ABRAHAM RIVERA, HECTOR             ADDRESS ON FILE
ABRAHAM RIVERA, HECTOR D.          ADDRESS ON FILE
ABRAHAM RIVERA, NIVEA L            ADDRESS ON FILE
ABRAHAM RODRIGUEZ LOPEZ            ADDRESS ON FILE
ABRAHAM RODRIGUEZ, GYNFRANMAYERI   ADDRESS ON FILE
Abraham Rodriguez, Juan A          ADDRESS ON FILE
ABRAHAM RODRIGUEZ, NELSON          ADDRESS ON FILE
ABRAHAM ROMAN SOTO                 ADDRESS ON FILE
ABRAHAM ROSADO CARMENATTY          ADDRESS ON FILE
ABRAHAM ROSADO MALDONADO           ADDRESS ON FILE
ABRAHAM ROSADO SANTANA             ADDRESS ON FILE
ABRAHAM SANTIAGO CINTRON           ADDRESS ON FILE
ABRAHAM TOLEDO, CARMEN R.          ADDRESS ON FILE
ABRAHAM TORRES, LUIS               ADDRESS ON FILE
ABRAHAM VALLE VARGAS               ADDRESS ON FILE
ABRAHAM VAZQUEZ RODRIGUEZ          ADDRESS ON FILE
ABRAHAM VELEZ ACEVEDO              ADDRESS ON FILE
ABRAHAM VELEZ ARMAS                ADDRESS ON FILE
ABRAHAM VÉLEZ FIGUEROA             EDWIN CASTRO FONTANEZ     PMB 101                         390 CARR. 853 SUITE 1              CAROLINA     PR      00987‐8799
ABRAHAM VELEZ GOMEZ                ADDRESS ON FILE
ABRAHAM, FERRETERIA                ADDRESS ON FILE
ABRAHAM, RICARDO A                 ADDRESS ON FILE
ABRAHAM, SAMI                      ADDRESS ON FILE
Abrahams Rodriguez, Luz C          ADDRESS ON FILE
ABRAHAMS, REYNALDO                 ADDRESS ON FILE
ABRAHAMSON COLON, ANTHONY          ADDRESS ON FILE
ABRAHAMSON COLON,JOSEPH A.         ADDRESS ON FILE
ABRAHAN BURGOS                     ADDRESS ON FILE
ABRAHAN GARCIA ROMAN               ADDRESS ON FILE
ABRAHAN GUZMAN ORTIZ               ADDRESS ON FILE
ABRAHAN PEREZ ALVARADO             ADDRESS ON FILE
ABRAHAN RADIATOR & AUTO AIR        ADDRESS ON FILE
ABRAHAN SOLIVAN, NEIDA L           ADDRESS ON FILE
ABRAHAN VARGAS SEDA                ADDRESS ON FILE




                                                                               Page 16 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No. Matrix
                                                                                 17 BK 3283‐LTS Page 17 of 3500
                                                                                      Creditor Matrix

Creditor Name                     Address1                        Address2                          Address3   Address4   City              State   PostalCode   Country
ABRAHANTE CRUZ, KEVIN             ADDRESS ON FILE
ABRAHANTE GONZALEZ, ERNESTINA     ADDRESS ON FILE
ABRAHANTE GONZALEZ, NILSA         ADDRESS ON FILE
ABRAHANTE ORTIZ, MICHAEL          ADDRESS ON FILE
ABRAHANTE VAZQUEZ, LUIS H         ADDRESS ON FILE
Abrams Alvarez, Jose              ADDRESS ON FILE
ABRAMS ALVERIO, LEYNNETTE         ADDRESS ON FILE
ABRAMS CABRERA, JOSE              ADDRESS ON FILE
ABRAMS CASTRO, JULIO R            ADDRESS ON FILE
ABRAMS DÍAZ, JEANNETE Y/O 1,204   LCDA. CARLO ARRAIZA GONZALEZ    P. O. BOX 9023525                                       SAN JUAN          PR      00902
ABRAMS DÍAZ, JEANNETE Y/O 1,204   LCDA. IVONNE GONZALEZ MORALES   PO BOX 9021828                                          SAN JUAN          PR      00902‐1828
ABRAMS DIAZ, JEANNETTE            ADDRESS ON FILE
ABRAMS DUENO, AUREA               ADDRESS ON FILE
ABRAMS DUENO,AUREA                ADDRESS ON FILE
ABRAMS ESTEVA, CHARILYZ           ADDRESS ON FILE
Abrams Gandia, Felix A.           ADDRESS ON FILE
ABRAMS GUZMAN, JOSE LUIS          ADDRESS ON FILE
ABRAMS GUZMAN, MARIA              ADDRESS ON FILE
ABRAMS LOPEZ, MILDRED             ADDRESS ON FILE
ABRAMS MALDONADO, DESIREE         ADDRESS ON FILE
ABRAMS MEDINA, EDIBERTO           ADDRESS ON FILE
ABRAMS MERCADO, ZAHIRYS           ADDRESS ON FILE
ABRAMS PEREZ, MARITZA             ADDRESS ON FILE
ABRAMS PEREZ, MIGUEL A            ADDRESS ON FILE
ABRAMS PRIETO, ELSA               ADDRESS ON FILE
Abrams Quijano, Jose L            ADDRESS ON FILE
ABRAMS RIVERA, MARICARMEN         ADDRESS ON FILE
Abrams Rodriguez, Elias M         ADDRESS ON FILE
ABRAMS RODRIGUEZ, JOSE            ADDRESS ON FILE
ABRAMS ROMAN, IVAN W              ADDRESS ON FILE
ABRAMS RUIZ, MARITZA              ADDRESS ON FILE
ABRAMS SANCHEZ, JORGE E           ADDRESS ON FILE
ABRAMS SANCHEZ, LUZ M             ADDRESS ON FILE
ABRAMS VALENTIN, MARIA            ADDRESS ON FILE
ABRANTE GUZMAN, PEDRO F.          ADDRESS ON FILE
ABRANTE MONTES, MIGDALIA          ADDRESS ON FILE
ABRANTE PARIS, CARLOS             ADDRESS ON FILE
ABRANTE PEREZ, CARMEN             ADDRESS ON FILE
ABRASHLA GUTIERREZ PEREZ          ADDRESS ON FILE
ABRAZANDO CON AMOR INC            P.O BOX 29697                                                                           SAN JUAN          PR      00929‐0000
ABRAZO DE ANGEL THERAPY GROUP     CALLE BORI 1528 CARR. PR 1                                                              SAN JUAN          PR      00927
ABRAZO DE ANGEL THERAPY GROUP     ENCANTADA RIACHUELO RO 38                                                               TRUJILLO ALTO     PR      00976
ABREO MANTILLA, JANETH            ADDRESS ON FILE
ABREU ABREU, NANSY G              ADDRESS ON FILE
ABREU ABREU, PEDRO                ADDRESS ON FILE
ABREU ACOSTA, FABRICIANO          ADDRESS ON FILE
ABREU AIR CONDITIONING INC        P O BOX 1334                                                                            ISABELA           PR      00662
ABREU ALBARIAN, RAQUEL            ADDRESS ON FILE
ABREU ALBINO, JOSE                ADDRESS ON FILE
ABREU ALDARONDO, CARMEN A.        ADDRESS ON FILE
ABREU ALDARONDO, IVONNIE M        ADDRESS ON FILE
ABREU ALMODOVAR, XENIBETH         ADDRESS ON FILE
ABREU ALVAREZ, ANA O              ADDRESS ON FILE
ABREU AMEZQUITA, JUAN             ADDRESS ON FILE
ABREU ARBELO, NORMA               ADDRESS ON FILE
ABREU ARCE, MAGDALI               ADDRESS ON FILE
ABREU ARIAS, FERNANDO             ADDRESS ON FILE
ABREU ARROYO, BLANCA              ADDRESS ON FILE
ABREU ARROYO, JOSE E.             ADDRESS ON FILE
ABREU AVILA, MARGARITA            ADDRESS ON FILE




                                                                                      Page 17 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 18 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ABREU AVILES, FRANCISCO        ADDRESS ON FILE
ABREU AVILES, RAMON E.         ADDRESS ON FILE
ABREU AYALA, ALEXANDER         ADDRESS ON FILE
ABREU AYALA, IVETTE            ADDRESS ON FILE
ABREU AYALA, ROSA              ADDRESS ON FILE
ABREU AYALA, YARISBETH         ADDRESS ON FILE
ABREU BABILONIA, CYNTHIA       ADDRESS ON FILE
ABREU BAEZ, RAMON              ADDRESS ON FILE
ABREU BANUCHI, CARLOS          ADDRESS ON FILE
Abreu Berrios, Hector          ADDRESS ON FILE
ABREU BERRIOS, SONIA           ADDRESS ON FILE
ABREU BRETON, ANDRES           ADDRESS ON FILE
ABREU BURGOS, BLANCA           ADDRESS ON FILE
ABREU BURGOS, CESMARI          ADDRESS ON FILE
ABREU BURGOS, RASEC            ADDRESS ON FILE
ABREU BURGOS, RASEC AUGUSTO    ADDRESS ON FILE
ABREU CALDERON, CORAL          ADDRESS ON FILE
ABREU CAMACHO, ANTONIO         ADDRESS ON FILE
ABREU CAMIS, EDWIN             ADDRESS ON FILE
ABREU CARABALLO, RADAMES A     ADDRESS ON FILE
ABREU CARRASQUILLO, DENISE     ADDRESS ON FILE
ABREU CARRILLO, ROBERTO        ADDRESS ON FILE
ABREU CARRION, ARLEEN          ADDRESS ON FILE
ABREU CARTAGENA, JOSEPHINE     ADDRESS ON FILE
ABREU CASALS, RICARDO          ADDRESS ON FILE
ABREU CASTELLANOS, KEVIN A     ADDRESS ON FILE
ABREU CASTILLO, FE             ADDRESS ON FILE
ABREU CASTILLO, GUILLERMINA    ADDRESS ON FILE
ABREU CHICLANA, MILDRED        ADDRESS ON FILE
ABREU CHICLANA, ROBERTO        ADDRESS ON FILE
ABREU CISNERO, MARITZA         ADDRESS ON FILE
ABREU CLASS, ALFREDO           ADDRESS ON FILE
ABREU CLASS, ESTHER M          ADDRESS ON FILE
ABREU COMPRE, VICTOR R.        ADDRESS ON FILE
ABREU CORCHADO, JUAN C         ADDRESS ON FILE
ABREU CORCHADO, MELANIA        ADDRESS ON FILE
ABREU CORDERO, MOISES          ADDRESS ON FILE
ABREU COSME, NERYS             ADDRESS ON FILE
ABREU COTTO, GLORIA            ADDRESS ON FILE
ABREU CRESPO, GLENIS M.        ADDRESS ON FILE
Abreu Cruz, Angel L            ADDRESS ON FILE
ABREU CRUZ, CARMEN N           ADDRESS ON FILE
ABREU DE LA CRUZ, ADA M        ADDRESS ON FILE
ABREU DEL VALLE, CARLOS        ADDRESS ON FILE
ABREU DEL VALLE, CARLOS C.     ADDRESS ON FILE
ABREU DEL VALLE, JORGE         ADDRESS ON FILE
ABREU DEL VALLE, MYRNA DEL C   ADDRESS ON FILE
ABREU DELA CRUZ, RAMON         ADDRESS ON FILE
ABREU DELGADO, ALICIA          ADDRESS ON FILE
ABREU DELGADO, ANA M.          ADDRESS ON FILE
ABREU DELGADO, ANA M.          ADDRESS ON FILE
ABREU DELGADO, JOSE            ADDRESS ON FILE
ABREU DELIZ MD, JOSE           ADDRESS ON FILE
ABREU DELIZ, ADALGISA          ADDRESS ON FILE
ABREU DIAZ, ANNETTE            ADDRESS ON FILE
ABREU DIAZ, KAREN              ADDRESS ON FILE
ABREU DIAZ, MANUEL             ADDRESS ON FILE
ABREU DONES, MARIA I           ADDRESS ON FILE
ABREU DUARTE, GREGORIA         ADDRESS ON FILE
ABREU ELIAS MD, JOSE           ADDRESS ON FILE




                                                                           Page 18 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 19 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ABREU ESPINOSA, JOEL             ADDRESS ON FILE
ABREU ESPINOSA, JOSE             ADDRESS ON FILE
ABREU EXIA, AWILDA               ADDRESS ON FILE
ABREU FARGAS, LUZ C              ADDRESS ON FILE
ABREU FARGAS, NESTOR A           ADDRESS ON FILE
ABREU FELICIANO, ADA M           ADDRESS ON FILE
ABREU FLETE, FRANCISCO           ADDRESS ON FILE
Abreu Flores, Orlando            ADDRESS ON FILE
ABREU FLORES, ORLANDO            ADDRESS ON FILE
ABREU FRIAS, AURELIA             ADDRESS ON FILE
ABREU FUENTES, MADELINE          ADDRESS ON FILE
ABREU GALLISA, JOSE A            ADDRESS ON FILE
ABREU GARAY, MARIA DEL P         ADDRESS ON FILE
ABREU GARCIA, ANA C              ADDRESS ON FILE
ABREU GARCIA, BRENDA             ADDRESS ON FILE
ABREU GARCIA, ELSA M             ADDRESS ON FILE
ABREU GARCIA, JOSE MIGUEL        ADDRESS ON FILE
ABREU GARCIA, ROSANNA            ADDRESS ON FILE
ABREU GIRALD, CARLOS             ADDRESS ON FILE
ABREU GOMEZ, TOMASA              ADDRESS ON FILE
ABREU GONZALEZ MD, FERNANDO      ADDRESS ON FILE
ABREU GONZALEZ, ANA L            ADDRESS ON FILE
ABREU GONZALEZ, BRUNILDA         ADDRESS ON FILE
ABREU GONZALEZ, JULIO I          ADDRESS ON FILE
ABREU GONZALEZ, MAGDALI          ADDRESS ON FILE
ABREU GONZALEZ, MARGARITA        ADDRESS ON FILE
ABREU GONZALEZ, MARIA DE LOS A   ADDRESS ON FILE
ABREU GONZALEZ, ROSALINA         ADDRESS ON FILE
ABREU GONZALEZ, YADIRA           ADDRESS ON FILE
ABREU GOTAY, MANUEL              ADDRESS ON FILE
Abreu Guillama, Michelle         ADDRESS ON FILE
ABREU GUZMAN MD, JOSE M          ADDRESS ON FILE
ABREU GUZMAN, ASTRID             ADDRESS ON FILE
ABREU GUZMAN, RICARDO            ADDRESS ON FILE
ABREU HERNANDEZ, JOSEFINA        ADDRESS ON FILE
ABREU HERNANDEZ, ROBERTO         ADDRESS ON FILE
ABREU HERNANDEZ, VERONICA R      ADDRESS ON FILE
ABREU IRIZARRY, CARMEN A         ADDRESS ON FILE
ABREU JIMENEZ, CARMEN A          ADDRESS ON FILE
ABREU JIMENEZ, CRISTINA          ADDRESS ON FILE
ABREU JOKHAN, DIANA              ADDRESS ON FILE
ABREU JOKHAN, DIANA              ADDRESS ON FILE
ABREU JOSE, BETTY                ADDRESS ON FILE
Abreu Juarbe, William            ADDRESS ON FILE
ABREU LEBRON, GLENNY             ADDRESS ON FILE
ABREU LEON, ANGEL                ADDRESS ON FILE
ABREU LEON, GLENNY               ADDRESS ON FILE
ABREU LEON, JOSE                 ADDRESS ON FILE
ABREU LOPEZ, ANA B.              ADDRESS ON FILE
Abreu Lopez, Harold              ADDRESS ON FILE
ABREU LOPEZ, LUIS                ADDRESS ON FILE
ABREU LOPEZ, SAUL D.             ADDRESS ON FILE
ABREU LOPEZ, VICTOR A.           ADDRESS ON FILE
ABREU LOPEZ, YUDELIZA            ADDRESS ON FILE
Abreu Lora, Julio C              ADDRESS ON FILE
ABREU LOZADA, MARILYN            ADDRESS ON FILE
ABREU LOZADA, WANDA I.           ADDRESS ON FILE
ABREU LUCIANO, PORFIRIO          ADDRESS ON FILE
ABREU MALDONADO, EDITH           ADDRESS ON FILE
ABREU MARQUEZ, JUAN              ADDRESS ON FILE




                                                                             Page 19 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 20 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ABREU MARTINEZ, BIENVENIDO    ADDRESS ON FILE
Abreu Martinez, Carlos M      ADDRESS ON FILE
ABREU MARTINEZ, FRANCISCO     ADDRESS ON FILE
ABREU MARTINEZ, MARIA J       ADDRESS ON FILE
ABREU MEDINA, CELIA           ADDRESS ON FILE
ABREU MELENDEZ, RAQUEL M      ADDRESS ON FILE
Abreu Mendez, Cesar A.        ADDRESS ON FILE
ABREU MENDEZ, LUIS            ADDRESS ON FILE
Abreu Mendez, Luis D.         ADDRESS ON FILE
ABREU MENDEZ, PEDRO           ADDRESS ON FILE
Abreu Mendez, Pedro A         ADDRESS ON FILE
ABREU MENDOZA, PEDRO          ADDRESS ON FILE
ABREU MERCADO, AIDINES        ADDRESS ON FILE
Abreu Mercado, Raul           ADDRESS ON FILE
ABREU MERCED, JOSE            ADDRESS ON FILE
ABREU MERCED, MIGUEL          ADDRESS ON FILE
ABREU MERCED, WANDA L         ADDRESS ON FILE
ABREU MILLAN, JULIO C.        ADDRESS ON FILE
Abreu Miranda, Elizabeth      ADDRESS ON FILE
ABREU MONTILLA, FELIX         ADDRESS ON FILE
ABREU MORALES, ADALBERTO      ADDRESS ON FILE
ABREU MORALES, GLADYS M       ADDRESS ON FILE
ABREU MORALES, RAFAEL         ADDRESS ON FILE
ABREU MORALES, RAFAEL E.      ADDRESS ON FILE
ABREU MORALES, RAFAEL E.      ADDRESS ON FILE
Abreu Navedo, Raul            ADDRESS ON FILE
ABREU NICOLAS, LAURA          ADDRESS ON FILE
ABREU NIEVES, CESAR GABRIEL   ADDRESS ON FILE
ABREU NIEVES, SUSAN           ADDRESS ON FILE
ABREU NIEVES, ZAIRA L         ADDRESS ON FILE
ABREU OCASIO, LUIS F          ADDRESS ON FILE
ABREU OLIVO, SERGIO           ADDRESS ON FILE
ABREU ORTIZ, KARLA M          ADDRESS ON FILE
ABREU ORTIZ, LOURDES          ADDRESS ON FILE
ABREU ORTIZ, WANDA            ADDRESS ON FILE
ABREU OTERO, LUIS             ADDRESS ON FILE
ABREU PACHECO, JOANN          ADDRESS ON FILE
ABREU PADILLA, LYNNETTE       ADDRESS ON FILE
ABREU PANTALEON, JENNY        ADDRESS ON FILE
ABREU PARIS, LOYDA E.         ADDRESS ON FILE
ABREU PARIS, LYDIA            ADDRESS ON FILE
ABREU PELLOT, ROSA E          ADDRESS ON FILE
ABREU PEREZ, ALFRED           ADDRESS ON FILE
Abreu Perez, Eliezer          ADDRESS ON FILE
ABREU PEREZ, JENNIFER L       ADDRESS ON FILE
ABREU PEREZ, JOHNNY I         ADDRESS ON FILE
ABREU PEREZ, JOSE R.          ADDRESS ON FILE
ABREU PEREZ, NESTOR           ADDRESS ON FILE
ABREU PEREZ, OSVALDO          ADDRESS ON FILE
ABREU PEREZ, ROSA             ADDRESS ON FILE
ABREU PEREZ, WILFREDO         ADDRESS ON FILE
ABREU PICHARDO, LUCIA         ADDRESS ON FILE
ABREU PINERO, ORLANDO         ADDRESS ON FILE
ABREU PINTO, EDWIN            ADDRESS ON FILE
ABREU PINTO, EVELYN           ADDRESS ON FILE
ABREU QUINONES, JOSE          ADDRESS ON FILE
ABREU QUINONES, RAFAEL A      ADDRESS ON FILE
ABREU QUINTANA, ERIC          ADDRESS ON FILE
ABREU QUIROGA, LIDIA          ADDRESS ON FILE
ABREU QUIROGA, MARITZA        ADDRESS ON FILE




                                                                          Page 20 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 21 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ABREU RAMOS, ARACELIS          ADDRESS ON FILE
ABREU RAMOS, ARACELIS          ADDRESS ON FILE
ABREU RAMOS, BRENDA L          ADDRESS ON FILE
ABREU RAMOS, ELIZABETH         ADDRESS ON FILE
ABREU REYES, JOSE L            ADDRESS ON FILE
ABREU RIGUAL, MARITZA          ADDRESS ON FILE
Abreu Rios, Jaime J            ADDRESS ON FILE
ABREU RIVAS, MELANEA           ADDRESS ON FILE
ABREU RIVAS, MELANEA A         ADDRESS ON FILE
ABREU RIVAS, MELANIA           ADDRESS ON FILE
ABREU RIVERA MD, ALBERTO       ADDRESS ON FILE
ABREU RIVERA MD, ALBERTO       ADDRESS ON FILE
ABREU RIVERA, CARMEN           ADDRESS ON FILE
ABREU RIVERA, CARMEN I         ADDRESS ON FILE
ABREU RIVERA, DANNY J.         ADDRESS ON FILE
ABREU RIVERA, DIANA M          ADDRESS ON FILE
ABREU RIVERA, DIANA M          ADDRESS ON FILE
Abreu Rivera, Eddie N          ADDRESS ON FILE
ABREU RIVERA, FRANCISCO E.     ADDRESS ON FILE
Abreu Rivera, Giovanni         ADDRESS ON FILE
ABREU RIVERA, GLADYS           ADDRESS ON FILE
ABREU RIVERA, MARYORI          ADDRESS ON FILE
ABREU RIVERA, RAFAEL A.        ADDRESS ON FILE
ABREU RODRIGUEZ, ALEXIS        ADDRESS ON FILE
ABREU RODRIGUEZ, ANA ELBA      ADDRESS ON FILE
ABREU RODRIGUEZ, ELSA A        ADDRESS ON FILE
ABREU RODRIGUEZ, FLOR          ADDRESS ON FILE
ABREU RODRIGUEZ, HILDA         ADDRESS ON FILE
ABREU RODRIGUEZ, JOSSE D       ADDRESS ON FILE
ABREU RODRIGUEZ, MAYRA         ADDRESS ON FILE
ABREU RODRIGUEZ, MIGUEL A      ADDRESS ON FILE
ABREU RODRIGUEZ, SEBASTIAN L   ADDRESS ON FILE
ABREU RODRIGUEZ, SYLVIA        ADDRESS ON FILE
ABREU RODRIGUEZ, SYLVIA I      ADDRESS ON FILE
ABREU ROLDAN, ZYLMA            ADDRESS ON FILE
ABREU ROMERO, MARIA DEL C.     ADDRESS ON FILE
ABREU ROSADO, FERNANDO         ADDRESS ON FILE
ABREU ROSADO, LYMARIAM         ADDRESS ON FILE
ABREU ROSARIO, AIDA            ADDRESS ON FILE
ABREU ROSARIO, JUDITH A        ADDRESS ON FILE
ABREU RUIZ, EDWIN              ADDRESS ON FILE
ABREU RUIZ, EDWIN MANUEL       ADDRESS ON FILE
ABREU RUIZ, GABRIEL            ADDRESS ON FILE
ABREU RUIZ, NYDIA              ADDRESS ON FILE
ABREU RUIZ, NYDIA J.           ADDRESS ON FILE
ABREU RUIZ, SAMARY             ADDRESS ON FILE
ABREU RUIZ, VIDAL              ADDRESS ON FILE
ABREU RUIZ, YAZMIN J.          ADDRESS ON FILE
ABREU RUIZ,EDWIN               ADDRESS ON FILE
ABREU SANCHEZ, ADY             ADDRESS ON FILE
ABREU SANCHEZ, TED             ADDRESS ON FILE
ABREU SANTANA, JENNIFFER       ADDRESS ON FILE
ABREU SANTANA, MARIANO         ADDRESS ON FILE
ABREU SANTANA, ROSA M          ADDRESS ON FILE
ABREU SANTANA, TERESA          ADDRESS ON FILE
ABREU SANTANA, TERESA          ADDRESS ON FILE
Abreu Santiago, Bienvenido     ADDRESS ON FILE
ABREU SANTIAGO, EDUEL          ADDRESS ON FILE
ABREU SANTIAGO, JOSE           ADDRESS ON FILE
ABREU SANTIAGO, JOSE D         ADDRESS ON FILE




                                                                           Page 21 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No. Matrix
                                                                                  17 BK 3283‐LTS Page 22 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ABREU SANTOS, ELENY                ADDRESS ON FILE
ABREU SARIEGO, VERONICA            ADDRESS ON FILE
ABREU SEGARRA, RICARDO A.          ADDRESS ON FILE
ABREU SEPULVEDA, YANIRA            ADDRESS ON FILE
ABREU SERRA, JOSE                  ADDRESS ON FILE
ABREU SERRANO, MELVIN              ADDRESS ON FILE
ABREU SIBILIA, EMELY               ADDRESS ON FILE
ABREU SIBILIA, FREDDY              ADDRESS ON FILE
ABREU SOTO, TRINIDAD               ADDRESS ON FILE
ABREU SUSTACHE, NELSON             ADDRESS ON FILE
ABREU TANON, VERONIQUE             ADDRESS ON FILE
ABREU TORRES, JAIME                ADDRESS ON FILE
ABREU TORRES, JESUS                ADDRESS ON FILE
ABREU TORRES, ORLANDO              ADDRESS ON FILE
ABREU TORRES, YAMAIRA              ADDRESS ON FILE
ABREU TORRES, YAMAIRA              ADDRESS ON FILE
ABREU TORRUELLAS, NICOLAS          ADDRESS ON FILE
ABREU TRICOCHE, CARMEN             ADDRESS ON FILE
ABREU TRINIDAD, ALEXANDER          ADDRESS ON FILE
ABREU TROSSI, JACQUELINE           ADDRESS ON FILE
ABREU TROSSI, JACQUELINE           ADDRESS ON FILE
ABREU VALENTIN, CARMEN             ADDRESS ON FILE
ABREU VALENTIN, CARMEN             ADDRESS ON FILE
ABREU VALENTIN, WANDA              ADDRESS ON FILE
ABREU VARGAS, CATHERINE A.         ADDRESS ON FILE
ABREU VARGAS, FERNANDO             ADDRESS ON FILE
ABREU VARGAS, FERNANDO             ADDRESS ON FILE
ABREU VARGAS, VICTOR               ADDRESS ON FILE
ABREU VAZQUEZ, EDUARDO             ADDRESS ON FILE
ABREU VAZQUEZ, FERNANDO            ADDRESS ON FILE
ABREU VAZQUEZ, JOSE J.             ADDRESS ON FILE
ABREU VEGA, BIENVENIDO             ADDRESS ON FILE
ABREU VEGA, CARLA                  ADDRESS ON FILE
ABREU VEGA, OLGA C                 ADDRESS ON FILE
ABREU VEGA, ROBERTO                ADDRESS ON FILE
ABREU VELAZQUEZ, JUAN Y.           ADDRESS ON FILE
ABREU VELEZ, ISSAM                 ADDRESS ON FILE
ABREU VELEZ, LAUTREC               ADDRESS ON FILE
ABREU VERAS, JAIRA                 ADDRESS ON FILE
ABREU VERAS, LUIS                  ADDRESS ON FILE
ABREU VICTORIANO, ESPERANZA I      ADDRESS ON FILE
ABREU VIGO, ZAIDA                  ADDRESS ON FILE
ABREU VILLAVICENCIO, CARLOS        ADDRESS ON FILE
ABREU VOLMAR, CESAR S              ADDRESS ON FILE
ABREU, ANGEL                       ADDRESS ON FILE
ABREU, JUNIOR                      ADDRESS ON FILE
ABREU, KARINA                      ADDRESS ON FILE
ABREU, LUIS H.                     ADDRESS ON FILE
ABREU, MARYSELLY                   ADDRESS ON FILE
ABREU, RAMONA                      ADDRESS ON FILE
ABREU, RAQUEL                      ADDRESS ON FILE
ABREU, RAQUEL MILAGROS             ADDRESS ON FILE
ABREU, TERESA                      ADDRESS ON FILE
ABREU, VICTOR M.                   ADDRESS ON FILE
ABREU, WILFREDO                    ADDRESS ON FILE
ABREU'S AIR CONDITIONING INC       PO BOX 1334                                                                      ISABELA      PR      00662
ABREUSANTIAGO, EDUEL               ADDRESS ON FILE
ABREW GONZALEZ, ISABEL             ADDRESS ON FILE
ABRIENDO PUERTAS AL FUTURO, INC.   PO BOX 8622                                                                      BAYAMON      PR      00960‐8622
ABRIL ALVAREZ, LUIS R.             ADDRESS ON FILE




                                                                               Page 22 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 23 of 3500
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                 Address2                                  Address3   Address4   City             State   PostalCode   Country
ABRIL BAEZ, BIENVENIDA                  ADDRESS ON FILE
ABRIL BAEZ, LUZ E                       ADDRESS ON FILE
ABRIL BAEZ, LUZ E.                      ADDRESS ON FILE
ABRIL LEON, WANDA I                     ADDRESS ON FILE
ABRIL MARTINEZ, JOSE                    ADDRESS ON FILE
ABRIL MEDINA, LAIZA                     ADDRESS ON FILE
ABRIL MONTANO, EMILIO                   ADDRESS ON FILE
ABRIL MORALES, IRMA                     ADDRESS ON FILE
ABRIL ROJAS, AUREA E                    ADDRESS ON FILE
ABRIL ROJAS, JUANITA                    ADDRESS ON FILE
ABRIL SIERRA, RANDY                     ADDRESS ON FILE
ABRIL TORRES, ALEX                      ADDRESS ON FILE
ABRIL VELEZ, BENNY                      ADDRESS ON FILE
ABRUNA ARQUITECTURA GERENCIA PSC        URB JARD METROPOLITANOS                  309 CALLE EDISON                                                SAN JUAN         PR      00928
ABRUNA CERBONI,PATRICIA                 ADDRESS ON FILE
ABRUNA MUSGRAVE & ASOCIADOS             AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                       SAN JUAN         PR      00902‐4140
ABRUNA MUSGRAVE & ASOCIADOS             P O BOX 9022030                                                                                          SAN JUAN         PR      00902‐2030
ABRUNA ORTIZ, ELISA                     ADDRESS ON FILE
ABRUNA ORTIZ, ELISA V                   ADDRESS ON FILE
ABRUNA RODRIGUEZ, HECTOR F.             ADDRESS ON FILE
ABRUNAS REYES, CONRADO                  ADDRESS ON FILE
ABS                                     402‐1 65 INFANTERIA                                                                                      SAN JUAN         PR      00926
ABS MEDICAL INC                         874 AVE. ROBERTO SANCHEZ VILELLA         URB COUNTRY CLUB                                                SAN JUAN         PR      00924
ABSCISSA ELECTRIC                       HACIENDA SAN JOSE # 307 VIA CAFETAL                                                                      CAGUAS           PR      00727‐0000
ABSHER SANDOVAL, ANA G                  ADDRESS ON FILE
ABSHER SANDOVAL, ANA G                  ADDRESS ON FILE
ABSOLUTE CLEANING SERVICES INC          1409 COLINA REAL                         2000 AVE DONA FELISA RINCON                                     SAN JUAN         PR      00926
ABSOLUTE CLEANNING SERVICES INC         VILLAS DEL SENORIAL                      60 AVE WINSTON CHURCHILL APT 1401                               SAN JUAN         PR      00926
ABSOLUTE INFUSSION CENTER               HC 3 BOX 25711                                                                                           SAN GERMAN       PR      00693
ABSOLUTE MEDICAL CLINIC                 6947 MERRILL RD                                                                                          JACKSONVILLE     FL      32277
ABSOLUTE MOBILE, INC.                   4352 SE 95TH STREET                                                                                      OCALA            FL      34480
ABSOLUTE POWER SECURITY SYSTEMS & LOCK 406 CESAR GONZALEZ                                                                                        SAN JUAN         PR      00918
ABSOLUTE POWER SECURITY SYSTEMS & LOCKS 406 CESAR GONZALEZ                                                                                       SAN JUAN         PR      00918‐0000
ABSOLUTE POWER SECURITY SYSTEMS & LOCKS SERVICES INC                             406 CALLE CESAR GONZALEZ                                        SAN JUAN         PR      00918
ABSOLUTES STANDARS                      PO BOX 5585                                                                                              HAMDEN           CT      06518
ABU ANDINO, JOSSIE J.                   ADDRESS ON FILE
ABU JAMIL, FUAD                         ADDRESS ON FILE
ABUALROB HAMDAM, IBRAHIM                ADDRESS ON FILE
ABUALROB RASHED, RAFI                   ADDRESS ON FILE
ABUDO LUGO, HILDA E                     ADDRESS ON FILE
ABUDO MASSO ADVERTISING & PUBLIC        RELATIONS INC                            PO BOX 70250 STE 208                                            SAN JUAN         PR      00936
ABUEL ROB, MAHMOUD                      ADDRESS ON FILE
ABUELAS CAFE                            PLAZA VIVONI                             9 CALLE CANDELARIA                                              LAJAS            PR      00667
ABUELO AUTO SUPPLIES                    AVE DE DIEGO 327                                                                                         RIO PIEDRAS      PR      00928
ABUIN VAZQUEZ, MARIA L                  ADDRESS ON FILE
ABUNDINO GONZALEZ MARIN                 ADDRESS ON FILE
ABUNDINO GONZALEZ MARIN                 ADDRESS ON FILE
ABUNDINO GONZALEZ MARIN                 VILLAS DE PLAYA                          51 CALLE COPAMARINA                                             VEGA BAJA        PR      00693
ABUOMAR ABUOMAR, JATEM                  ADDRESS ON FILE
ABUOMAR ABUOMAR, JUMANA                 ADDRESS ON FILE
ABUOMAR ABUOMAR, JUMANA                 ADDRESS ON FILE
ABURTO MARTINEZ, MARIA G                ADDRESS ON FILE
ABY SPEED PERFORMANCE                   PO BOX 1588                                                                                              LARES            PR      00669
ABYMAEL FRONTANES/ ECOLOGICALL          SENDERO DE MONTEHIEDRA                   18 CALLE COBALTO                                                SAN JUAN         PR      00926
AC AUTO PARTS                           2550 MARGINAL CELESTIAL                  BO CANGREJOS ARRIBA                                             CAROLINA         PR      00987
A‐C INDUSTRIAL SERVICE CORP             PO BOX 669                                                                                               CAROLINA         PR      00986‐0669
AC INDUSTRIAL SERVICES CORP.            P.O.BOX 29479                                                                                            SAN JUAN         PR      00929‐0000
AC TECHNICAL SERVICES, CORP.            LOS PAISAJES #3 LAS AVES                                                                                 LUQUILLO         PR      00773‐3007
AC UNIFORMS AND SPORT WEAR INC          PO BOX 1164                                                                                              ARROYO           PR      00714
ACA Financial Guaranty Corporation      555 Theodore Fremd Avenue, Suite C‐205                                                                   Rye              NY      10580




                                                                                                             Page 23 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No. Matrix
                                                                                        17 BK 3283‐LTS Page 24 of 3500
                                                                                                        Creditor Matrix

Creditor Name                           Address1                        Address2                                     Address3   Address4   City                  State   PostalCode   Country
ACA Financial Guaranty Corporation      Attn: Alan Roseman, President   202B Hall's Mill Road                                              White House Station   NJ      08889
ACAA                                    PO BOX 364847                                                                                      San Juan              PR      00936‐4847
ACABA ACEVEDO, ANA                      ADDRESS ON FILE
ACABA ACEVEDO, KARLA                    ADDRESS ON FILE
Acaba Agosto, Rosa M                    ADDRESS ON FILE
ACABA COLLAZO, GLORIBELLE               ADDRESS ON FILE
ACABA CRUZ, JOSE                        ADDRESS ON FILE
ACABA DEL RIO, FRANCISCO                ADDRESS ON FILE
ACABA DEL RIO, ISRAEL                   ADDRESS ON FILE
ACABA DEL RIO, JOSUE                    ADDRESS ON FILE
ACABA DEL VALLE, ELSA E.                ADDRESS ON FILE
ACABA DEL VALLE, MARIBEL                ADDRESS ON FILE
ACABA DEL VALLE, VIVIAN ENID            ADDRESS ON FILE
ACABA DELVALLE, HECTOR                  ADDRESS ON FILE
ACABA FELICIANO, MANUEL A               ADDRESS ON FILE
ACABA LOPEZ, CYNTHIA                    ADDRESS ON FILE
ACABA MERCADO, RALPH                    ADDRESS ON FILE
ACABA QUILES, MARCELINO                 ADDRESS ON FILE
ACABA RAICES, MARIA M                   ADDRESS ON FILE
ACABA RAICES, NELSA                     ADDRESS ON FILE
ACABA ROMERO, HECTOR M                  ADDRESS ON FILE
ACABA ROMERO, RODOLFO                   ADDRESS ON FILE
ACABA SIFONTES MD, LUIS                 ADDRESS ON FILE
ACABA VAZQUEZ, ANGEL                    ADDRESS ON FILE
ACABA VAZQUEZ, ANGEL A.                 ADDRESS ON FILE
ACABEO GARCIA, LIZA                     ADDRESS ON FILE
ACABEO GONZALEZ, JESSENIA               ADDRESS ON FILE
ACABEO LABOY, ISMAEL                    ADDRESS ON FILE
ACABEO LABOY, SHANEYLEE                 ADDRESS ON FILE
ACABEO SEMIDEY, LUIS M                  ADDRESS ON FILE
ACABEO SEMIDEY, MARIA                   ADDRESS ON FILE
ACABEO SEMIDEY, MARIA DEL C             ADDRESS ON FILE
ACAD DE TRANSFORMACION EDUCATIVA DE PR 3163 CALLE TURPIAL               URB VILLA DEL CARMEN                                               PONCE                 PR      00716
ACAD NUTRICION Y DIETETICA, CAP DE PR   PO BOX 360915                                                                                      SAN JUAN              PR      00936
Acad. Puertorriquena de Jurisprudencia  Apartado Postal 23340                                                                              San Juan              PR      00931
Acad.Discipulos De Cristo Inc.          PO BOX 1204                                                                                        VEGA ALTA             PR      00692
ACADEM DESARROLLO INTEGRAL DEL NINO INC URB MONTA¨EZ A6                                                                                    BAYAMON               PR      00956
ACADEMIA ADVENTISTA DE CAYEY            PO BOX 2518                                                                                        CAYEY                 PR      00737
ACADEMIA ALEXANDRA INC                  4134 CALLE AURORA                                                                                  PONCE                 PR      00717‐1203
ACADEMIA ALEXANDRA INC                  MERCANTIL PLAZA BUILDING        2 PONCE DE LEON AVE 9TH FLOOR                                      SAN JUAN              PR      00918‐1693
ACADEMIA ANTONIO DE GUAYAMA INC         PO BOX 719                                                                                         GUAYAMA               PR      00785
ACADEMIA BARBARA ANN ROESSLER           P O BOX 368057                                                                                     SAN JUAN              PR      00936‐8057
ACADEMIA BAUTISTA DE PUERTO NUEVO       PO BOX 10307 CAPARRA HGTS                                                                          SAN JUAN              PR      00922
ACADEMIA CEIP                           421 CALLE SAN JOVINO            URB SAGRADO CORAZON                                                SAN JUAN              PR      00926
ACADEMIA CLARET                         URB FOREST VIEW                 F 169 CALLE DAKAR                                                  BAYAMON               PR      00956
ACADEMIA CRISTIANA CASA CORAZON, INC    PO BOX 10004                                                                                       CIDRA                 PR      00739
ACADEMIA CRISTIANA CASA CORAZON, INC    PO BOX 1600 PMB 703                                                                                CIDRA                 PR      00739
ACADEMIA CRISTIANA CASA DEL ALFARERO    GLENVIEW GARDENS                S 40 AVE GLEN                                                      PONCE                 PR      00730
ACADEMIA CRISTINA CASA CORAZON          PMB 703                         OI BIX 1600                                                        CIDRA                 PR      00739
ACADEMIA CRISTO LOS MILAGROS INC        PO BOX 7618                                                                                        CAGUAS                PR      00726‐7618
ACADEMIA DE ACTUARIO DE PR INC          220 DOMENECH AVE ALTOS                                                                             SAN JUAN              PR      00918
ACADEMIA DE ARTES Y LAS CIENCIAS        CINEMATORGRAFICAS DE ESPANA     3 ZURBANO                                                          MADRID                        28010        SPAIN
ACADEMIA DE AUDIOLOGIA DE PUERTO RICO   PO BOX 194920                                                                                      SAN JUAN              PR      00919‐4920
ACADEMIA DE DIRECTORES MEDICOS DE PR    RR 9 BOX 1764                                                                                      SAN JUAN              PR      00926‐9754
ACADEMIA DE MEDIACION ARB/NEGOC/EDUC COPO BOX 484                                                                                          CABO ROJO             PR      00623
ACADEMIA DE MEDIACION ARBITRAJE NEG Y   EDUCACION CONTINUA ESP INC      PO BOX 484                                                         CABO ROJO             PR      00623
ACADEMIA DE SERVICIOS DE TUTORIA, INC.  2550 CORPORATE PLACE, C108                                                                         MOTEREY PARK          CA      91754
ACADEMIA DE SERVICIOS DE TUTORIA, INC.  CALLE AGUADILLA #46             URB. PEREZ MORRIS                                                  SAN JUAN              PR      00917
ACADEMIA DE VOLEIBALL HUMAVOLLY CORP    URB VERDE MAR                   1074 CALLE 20                                                      HUMACAO               PR      00741
ACADEMIA DEL PERPETUO SOCORRO           704 CALLE JOSE MARTI                                                                               SAN JUAN              PR      00907




                                                                                                    Page 24 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                               Exhibit A-1 - Creditor
                                                                                   Case No. Matrix
                                                                                            17 BK 3283‐LTS Page 25 of 3500
                                                                                                                         Creditor Matrix

Creditor Name                            Address1                                          Address2                                    Address3   Address4   City              State   PostalCode   Country
ACADEMIA EL PRINCIPITO INC               3 JOSE A MULLET                                                                                                     HORMIGUEROS       PR      00660
ACADEMIA GENESIS                         ROYAL TOWN                                        N 1 CALLE 25                                                      BAYAMON           PR      00959
ACADEMIA GENESIS, INC.                   PMB 225 PO BOX 851                                                                                                  HUMACAO           PR      00791
ACADEMIA GUAYANESA DE FUTBOL INC         URB LA HACIENDA                                   AS 34 CALLE 46                                                    GUAYAMA           PR      00784
ACADEMIA JOELANNY                        PLAZA CAROLINA STA                                PO BOX 9719                                                       CAROLINA          PR      00988
ACADEMIA JOELEANNY, INC.                 PO BOX 9719                                       PLAZA CAROLINA STA                                                CAROLINA          PR      00988
ACADEMIA MAISON D' ESTHETHIQUE           904 PONCE DE LEON                                                                                                   SAN JUAN          PR      00907
ACADEMIA MENONITA                        SUMMIT HILLS                                      1751 ASOMANTE ST                                                  SAN JUAN          PR      00920
ACADEMIA MONTELLANOS INC Y/O             HECTOR CAMACHO Y JUDISAN ARCE                     P O BOX 371120                                                    CAYEY             PR      00737
ACADEMIA MUNDO CHICO INC                 1201 PORTALES DEL MONTE                                                                                             COTO LAUREL       PR      00780
ACADEMIA MUNDO CHICO INC                 URB SAN ANTONIO                                   1621 CALLE DONCELLA                                               PONCE             PR      00728‐1607
ACADEMIA NACIONAL DE FUTBOL              PO BOX 23311                                                                                                        SAN JUAN          PR      00931
ACADEMIA NUESTRA SENORA DE FATIMA, INC PO BOX 469                                                                                                            BAJADERO          PR      00616
ACADEMIA NUESTRA SENORA LA PROVIDENCIA URB SAN GERARDO                                     1733 CALLE SANTA AGUEDA                                           SAN JUAN          PR      00926
ACADEMIA NUTRICION DIETETICA CAP DE PR   PO BOX 360915                                                                                                       SAN JUAN          PR      00936‐0915
ACADEMIA PENTECOSTAL BETHEL              PO BOX 602                                                                                                          MAYAGUEZ          PR      00681
ACADEMIA PONCENA INC                     PO BOX 10391                                                                                                        PONCE             PR      00732
ACADEMIA PRE ESC DE CIENCIA Y TECNOLOGIA PO BOX 371120                                                                                                       CAYEY             PR      00737
ACADEMIA PRESBITERIANA                   URB VIA DEL PARQUE                                PB 146 ENCANTADA                                                  TRUJILLO ALTO     PR      00976
ACADEMIA PUERT DE LA LENGUA ESPANOLA     PO BOX 3640008G                                                                                                     SAN JUAN          PR      00936
ACADEMIA PUERTORRIQUENA BUCEO PROF INC PO BOX 2151                                                                                                           ISABELA           PR      00662
ACADEMIA PUERTORRIQUENA DE LA HISTORIA P O BOX 9021447                                                                                                       SAN JUAN          PR      00902‐1447
ACADEMIA PUERTORRIQUENA DE LA LENGUA ES PO BOX 364008                                                                                                        SAN JUAN          PR      00936‐4008
ACADEMIA QUINTANA / FUTBOL CLUB CORP     COMPLEJO DEPORTIVO RESIDENCIAL                    JUAN C CORDERO DAVILA                                             SAN JUAN          PR      00917
ACADEMIA SAN JORGE                       1701 CALLE COLON                                                                                                    SAN JUAN          PR      00911
ACADEMIA SAN JORGE                       1701 COLON STREET                                                                                                   SAN JUAN          PR      00911
ACADEMIA SANGERMENA                      PO BOX 1805                                                                                                         SAN GERMAN        PR      00683
ACADEMIA SANTA MONICA                    ATT:PADRE OSCAR JIMENEZ‐DIRECTOR                  PO BOX 13726                                                      SAN JUAN          PR      00908‐3226
ACADEMIA SANTA MONICA                    PO BOX 13726                                                                                                        SAN JUAN          PR      00908‐3726
ACADEMIA SANTA TERESITA DE NARANJITO INC 19 SECTOR SANTA TERESITA                                                                                            NARANJITO         PR      00719‐8759
ACADEMIA SANTA TERESITA DE NARANJITO INC P O BOX 244                                                                                                         NARANJITO         PR      00719
ACADEMIA SANTA TERESITA INC DE NARANJITO P O BOX 244                                                                                                         NARANJITO         PR      00719
ACADEMIA SANTO TOMAS DE AQUINO           PO BOX 1968                                                                                                         BAYAMON           PR      00960
Academia Serrant                         8180 Calle Concordia                                                                                                Ponce             PR      00717
ACADEMIA WESLEYANA                       PO BOX 1489                                                                                                         GUAYNABO          PR      00970‐1489
ACADEMIC DEVELOPMENT INSTITUTE           121 NORTH KICKAPOO STREET                                                                                           LINCOLN           IL      62656
ACADEMIC EMBLEMS SPECIALTIES             PO BOX 3650                                                                                                         GUAYNABO          PR      00970‐3650
ACADEMIC PREP REVIEW EDUC NEEDS DIAGNOSPO BOX 10125                                                                                                          SAN JUAN          PR      00922‐0125
ACADEMICA DE CONSEJERIA Y EDUCACION      VOLTA 960 JARDINES METROPOLITANO                                                                                    SAN JUAN          PR      00927
ACADEMYCOOP, INC.                        PO BOX 2925                                                                                                         BAYAMON           PR      00960‐2925
ACADEMYCOOP, INC.                        Y ORIENTAL BANK AND TRUST                         PO BOX 195606                                                     SAN JUAN          PR      00919‐5606
ACADEMYCOOP, INC.                        Y ORIENTAL BANK AND TRUST                         PO BOX 195115                                                     SAN JUAN          PR      00919‐5115
ACAMPA NATURES ADVENTURES                1221 AVE PI¥ERO                                                                                                     SAN JUAN          PR      00920
ACANTHUS                                 URB INDUSTRIAL                                    EL PARAISO CALLE GANGES 110                                       SAN JUAN          PR      00926
ACANTILADO BERNABE, CARMEN               ADDRESS ON FILE
ACARON ACOSTA, INES                      ADDRESS ON FILE
ACARON ASENCIO, CLARISSA                 ADDRESS ON FILE
ACARON CASTRO, ROBERT                    ADDRESS ON FILE
ACARON MONTALVO, OSCAR                   ADDRESS ON FILE
ACARON OSORIO, SIFREDO                   ADDRESS ON FILE
ACARON PORRATA DORIA, FABIOLA            ADDRESS ON FILE
Acaron Rodriguez, Melizet                ADDRESS ON FILE
ACAVEDO TORANO, ANTONIO                  ADDRESS ON FILE
ACC & COMPANY, CPA, PSC                  SAN JUAN                                          PO BOX 363072                                                     SAN JUAN          PR      00936‐3072
ACC ARCHITECS PSC                        RIO HONDO MALL                                    90 AVE RIO HONDO STE 20 PMB 412                                   BAYAMON           PR      00961
ACCENTURE PUERTO RICO LLC                252 PONCE DE LEON                                 AVENUE SUITE 602                                                  SAN JUAN          PR      00918
Acceptance Indemnity Insurance Company   1314 Douglas St                                                                                                     Omaha             NE      68102
Acceptance Indemnity Insurance Company   Attn: David Gerald Pirrung, President             702 Oberlin Road                                                  Raleigh           NE      27605
Acceptance Indemnity Insurance Company   Attn: Kevin James Hamm, Vice President            702 Oberlin Road                                                  Raleigh           NE      27605
Acceptance Indemnity Insurance Company   Attn: Michael Blinson, Principal Representative   702 Oberlin Road                                                  Raleigh           NE      27605




                                                                                                                         Page 25 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                            Desc:
                                                                Exhibit A-1 - Creditor
                                                                                    Case No. Matrix
                                                                                             17 BK 3283‐LTS Page 26 of 3500
                                                                                                                             Creditor Matrix

Creditor Name                               Address1                                          Address2                                     Address3             Address4     City             State   PostalCode   Country
ACCESS DATA CORP                            384 SOUTH 400 WEST                                SUITE 200                                                                      LINDON           UT      84042
ACCESS DATA CORPORATION                     384 SOUTH 400 WEST                                                                                                               LINDON           UT      84042
ACCESSDATA GROUP, INC                       LOCKBOX                                           DEPT CH 16599                                                                  PALATINE         IL      60055‐6599
ACCESSIBLE CONTRACTORS INC                  PO BOX 12                                                                                                                        VEGA BAJA        PR      00694‐0012
ACCETTA SANTIAGO, GUSTAVO                   ADDRESS ON FILE
ACCION LABORAL UNITARIA Y DEFENSORA         3100 CARR 190 STE 201                                                                                                            CAROLINA         PR      00983
ACCION POR LA EQUIDAD EN LA DIVERSIDAD      CONDOMINIO PARQUE CENTRO                          AVE ARTERIAL HOSTOS APT C 10                                                   SAN JUAN         PR      00918
ACCION SOCIAL DE PUERTO RICO                CENTRO DE ENVEJECIENTES                           110 CALLE MORSE                                                                ARROYO           PR      00714
ACCONT‐TAX ‐CONSULTING SERVICES,INC         URB BAYAMON GDNS                                  Y7 CALLE 20                                                                    BAYAMON          PR      00957‐2450
ACCOUNT CONTROL TECHNOLOGY INC              PO BOX 9025                                                                                                                      RENTON           WA      98057
ACCOUNTANTS SUPPLY STORE                    ANDALUCIA 644                                                                                                                    SAN JUAN         PR      00920
ACCOUNTANTS SUPPLY STORE INC                644 ANDALUCIA                                                                                                                    SAN JUAN         PR      00920
ACCOUNTANTS SUPPLY STORE INC                644 AVE ANDALUCIA                                                                                                                SAN JUAN         PR      00920
ACCOUNTING & CONSULTING SERVICES            4028 AVE MILITAR                                                                                                                 ISABELA          PR      00662
ACCOUNTING & CONSULTING SERVICES            P.O. BOX 2181                                                                                                                    ISABELA          PR      00662
ACCOUNTING OFFICE SERVICES                  URB. SYLVIA                                       D ‐ 20 CALLE 7                                                                 COROZAL          PR      00783
ACCOUNTING SERVICES INC                     PO BOX 1201                                                                                                                      FAJARDO          PR      00738
ACCOUNTING TECHNOLOGY SOLUTIONS GROUP PO BOX 190673                                                                                                                          SAN JUAN         PR      00919‐0673
ACCREDITATION CONSULTAS HME TRAVEL          URB PARKVILLE                                     B8 CALLE GARFIELD                                                              GUAYNABO         PR      00969
ACCREDITATION DEPARTMENT                    PRSA 33 MAIDEN LANE                                                                                                              NEW YORK         NY      10038‐5150
ACCREDO HEALTH GROUP, INC.                  PO BOX13408                                       COLLECTION CENTER DRIVE                                                        CHICAGO          IL      60693
ACCU‐CHART PLUS HEALTHCARE SYSTEMS, INC. 1305 REMINGTON RD                                    SUITE I & J                                                                                     IL      60173‐0000
ACCUMAIL DE P R INC                         694 CALLE B URB MARIO JULIA                                                                                                      SAN JUAN         PR      00920
ACCUMAIL DE P R INC                         PO BOX 191248                                                                                                                    SAN JUAN         PR      00919
ACCUPRINT INC                               PO BOX 10129                                                                                                                     SAN JUAN         PR      00920‐0129
ACCURATE SOLUTIONS & DESIGNS INC            PO BOX 3745                                                                                                                      MAYAGUEZ         PR      00681
ACCURATE WORD LLC                           4481 WHITE PLAINS LANE                                                                                                           WHITE PLAINS     MD      20695
ACCUTRANS                                   P.O. BOX 360884                                                                                                                  SAN JUAN         PR      00936‐0884
ACCUTRANS , INC.                            PO BOX 360884                                                                                                                    SAN JUAN         PR      00936‐0884
ACCUTRANS INC                               GPO BOX 360884                                                                                                                   SAN JUAN         PR      00936‐0884
ACCUTTY                                     PO BOX 71690                                                                                                                     CHICAGO          IL      60694
ACD TELECOM LLC                             103 COMMERCER ST                                  SUITE 180                                                                      LAKE MARY        NY      32746
ACE A/C & ELECTRICAL CONTRACTORS INC        PMB 252 EL SENORIAL MAIL STATION                  138 AVE W CHURCHILL                                                            SAN JUAN         PR      00926
ACE American Insurance Company              436 Walnut Street                                                                                                                Philadelphia     PA      19106
ACE American Insurance Company              Attn: Susan Rivera, President                     436 Walnut Street                            PO Box 1000, WB12A                Philadelphia     PA      19106
ACE American Insurance Company              P O Box 1000                                                                                                                     Philadelphia     PA      19105‐1000
ACE BERMUDA INSURANCE LTD                   PO BOX HM 1015                                                                                                                   HAMILTON                              Bermuda
ACE DBA POLAR TECHNOLOGY                    P O BOX 365062                                                                                                                   SAN JUAN         PR      00936
ACE ENVIRONMENTALS INC                      PO BOX 6851                                                                                                                      SAN JUAN         PR      00914
ACE OF P R                                  PO BOX 190030                                                                                                                    SAN JUAN         PR      00919
ACE Property and Casualty Insurance         436 Walnut Street                                                                                                                Philadelphia     PA      19106
ACE Property and Casualty Insurance Company Attn: Saverio Rocca, Agent for Service of Process 436 Walnut Street                            PO Box 1000, WB12A                Philadelphia     PA      19106
ACE Property and Casualty Insurance Company Attn: Susan Rivera, President                     436 Walnut Street                            PO Box 1000, WB12A                Philadelphia     PA      19106
ACE QUALITY HANDYMAN, INC                   HC 59 BOX 6463                                                                                                                   AGUADA           PR      00602‐9606
ACEBAL LOPEZ, VIVIAN                        ADDRESS ON FILE
ACEDIO VINAS CEPEDAS                        PO BO 50777 LEVITTOWN                                                                                                            TOA BAJA         PR      00950
ACELA A ALVAREZ GONZALEZ                    ADDRESS ON FILE
ACEM CORP                                   P O BOX 595                                                                                                                      AGUADILLA        PR      00690
ACERCO CTRO EDUC RESOLUCION DE CONFLICTOURB ROOSEVELT                                         480 CALLE JUAN A DAVILA                                                        SAN JUAN         PR      00918‐2737
ACERES MACHINE SHOP.                        631 AVE. JULIO ANDINO                                                                                                            SAN JUAN         PR      00924
ACERO Y TORNILLERIA LA PLATA                RR 1 BOX 37719                                                                                                                   SAN SEBATIAN     PR      00685
ACEROS OJEDA INC                            PMB 334                                           PO BOX 5103                                                                    CABO ROJO        PR      00623
ACETTY BOU, NILLIAM                         ADDRESS ON FILE
ACETTY CINTRON, JOSE A                      ADDRESS ON FILE
ACETTY CINTRON, MONSERRATE                  ADDRESS ON FILE
ACETTY CINTRON, WILLIAM                     ADDRESS ON FILE
ACETY PAGAN, CARMELO                        ADDRESS ON FILE
ACETY ROSADO, PALMIRA                       ADDRESS ON FILE
ACETY ROSARIO, PALMIRA Y/O 296              LCDO. ALBERTO ARESTI FRANSESCHINI                 250 AVE.                                     Ponce DE LEÓN        SUITE 1000   SAN JUAN         PR      00918
ACETY ROSARIO, PALMIRA Y/O 296              SRA. CARMEN D. GAUTIER TAPIA                      PO BOX 401                                                                     LOIZA            PR      00772




                                                                                                                             Page 26 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 27 of 3500
                                                                                   Creditor Matrix

Creditor Name                    Address1                             Address2                   Address3   Address4   City      State   PostalCode   Country
ACETY ROSARIO, PALMIRA Y/O 296   SRA. MARIA DE L. CARRASQUILLO CRUZ   PO BOX 479                                       LOIZA     PR      00772
ACEVADO VELEZ, CARMEN A.         ADDRESS ON FILE
ACEVDO MEDINA, MARILYN           ADDRESS ON FILE
ACEVED0 TORAL, VIVIANA N         ADDRESS ON FILE
Acevedo Rivera, Gladys L         ADDRESS ON FILE
ACEVEDO ., JULIO C               ADDRESS ON FILE
ACEVEDO ACABA, MAYRA M           ADDRESS ON FILE
ACEVEDO ACEVEDO MD, VIVIAN       ADDRESS ON FILE
ACEVEDO ACEVEDO, ABNER           ADDRESS ON FILE
ACEVEDO ACEVEDO, ANGELA          ADDRESS ON FILE
ACEVEDO ACEVEDO, ARACELIS        ADDRESS ON FILE
ACEVEDO ACEVEDO, ARGENIS         ADDRESS ON FILE
ACEVEDO ACEVEDO, AUREA           ADDRESS ON FILE
Acevedo Acevedo, Benjamin        ADDRESS ON FILE
ACEVEDO ACEVEDO, DAMARIS         ADDRESS ON FILE
ACEVEDO ACEVEDO, DEBORA          ADDRESS ON FILE
ACEVEDO ACEVEDO, DEBORAH         ADDRESS ON FILE
ACEVEDO ACEVEDO, DORA I          ADDRESS ON FILE
ACEVEDO ACEVEDO, EVELYN          ADDRESS ON FILE
Acevedo Acevedo, Fernando L.     ADDRESS ON FILE
ACEVEDO ACEVEDO, GILBERTO        ADDRESS ON FILE
ACEVEDO ACEVEDO, GLORIBEL        ADDRESS ON FILE
ACEVEDO ACEVEDO, GLORIMAR        ADDRESS ON FILE
ACEVEDO ACEVEDO, HECTOR M.       ADDRESS ON FILE
Acevedo Acevedo, Ivelisse M      ADDRESS ON FILE
ACEVEDO ACEVEDO, IVONNE          ADDRESS ON FILE
ACEVEDO ACEVEDO, JAIME           ADDRESS ON FILE
ACEVEDO ACEVEDO, JOAQUIN         ADDRESS ON FILE
ACEVEDO ACEVEDO, JOSE            ADDRESS ON FILE
ACEVEDO ACEVEDO, JOSE A.         ADDRESS ON FILE
Acevedo Acevedo, Jose M.         ADDRESS ON FILE
ACEVEDO ACEVEDO, JUAN R          ADDRESS ON FILE
ACEVEDO ACEVEDO, KELVIN          ADDRESS ON FILE
ACEVEDO ACEVEDO, LOURDES         ADDRESS ON FILE
ACEVEDO ACEVEDO, LUIS            ADDRESS ON FILE
ACEVEDO ACEVEDO, LUIS J.         ADDRESS ON FILE
ACEVEDO ACEVEDO, LUZ E           ADDRESS ON FILE
ACEVEDO ACEVEDO, MARGARITA       ADDRESS ON FILE
ACEVEDO ACEVEDO, MARIBEL         ADDRESS ON FILE
ACEVEDO ACEVEDO, MARIE A         ADDRESS ON FILE
ACEVEDO ACEVEDO, MARISOL         ADDRESS ON FILE
ACEVEDO ACEVEDO, MARITZA         ADDRESS ON FILE
ACEVEDO ACEVEDO, MARIVELI        ADDRESS ON FILE
ACEVEDO ACEVEDO, MEILIN          ADDRESS ON FILE
ACEVEDO ACEVEDO, MILDRED         ADDRESS ON FILE
ACEVEDO ACEVEDO, NOEMI           ADDRESS ON FILE
Acevedo Acevedo, Orlando         ADDRESS ON FILE
ACEVEDO ACEVEDO, PABLO           ADDRESS ON FILE
ACEVEDO ACEVEDO, PABLO           ADDRESS ON FILE
ACEVEDO ACEVEDO, RAFAEL          ADDRESS ON FILE
ACEVEDO ACEVEDO, RAFAEL A.       ADDRESS ON FILE
ACEVEDO ACEVEDO, REBECA          ADDRESS ON FILE
ACEVEDO ACEVEDO, REINALDO        ADDRESS ON FILE
ACEVEDO ACEVEDO, RIGOBERTO       ADDRESS ON FILE
ACEVEDO ACEVEDO, RIGOBERTO       ADDRESS ON FILE
ACEVEDO ACEVEDO, ROBERTO         ADDRESS ON FILE
ACEVEDO ACEVEDO, ROSA M          ADDRESS ON FILE
ACEVEDO ACEVEDO, ROSELYN         ADDRESS ON FILE
ACEVEDO ACEVEDO, ROSITA E        ADDRESS ON FILE
ACEVEDO ACEVEDO, SHEILA M        ADDRESS ON FILE




                                                                                   Page 27 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 28 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                    Address2                      Address3   Address4    City         State   PostalCode   Country
ACEVEDO ACEVEDO, VICENTE         ADDRESS ON FILE
ACEVEDO ACEVEDO, VIVIAN          ADDRESS ON FILE
Acevedo Acevedo, Yaritzy Luz     ADDRESS ON FILE
ACEVEDO ACEVEDO, YATSIRIE        ADDRESS ON FILE
Acevedo Acevedo, Yolanda         ADDRESS ON FILE
ACEVEDO ACEVEDO, YOLANDA         ADDRESS ON FILE
ACEVEDO ACOSTA, ARNOLD           ADDRESS ON FILE
ACEVEDO ACOSTA, WALKIRIA I       ADDRESS ON FILE
ACEVEDO ADAMES, ELMER            ADDRESS ON FILE
Acevedo Agostini, Axel           ADDRESS ON FILE
ACEVEDO AGOSTO, ASUNCION         ADDRESS ON FILE
ACEVEDO AGOSTO, CARMEN M         ADDRESS ON FILE
ACEVEDO AGOSTO, FRANCISCA        ADDRESS ON FILE
ACEVEDO AGOSTO, HORTENSIA        ADDRESS ON FILE
ACEVEDO AGOSTO, SOL I.           ADDRESS ON FILE
ACEVEDO AGUAYO, FRANKIE          ADDRESS ON FILE
ACEVEDO AGUILAR, JAYSON          ADDRESS ON FILE
ACEVEDO AGUILAS, YATZEL          ADDRESS ON FILE
ACEVEDO AGUILERA, GUILLERMO      ADDRESS ON FILE
ACEVEDO ALAMA, DEBORAH           ADDRESS ON FILE
ACEVEDO ALAMO, GIANNA H          ADDRESS ON FILE
Acevedo Alarcon, Edgardo A       ADDRESS ON FILE
ACEVEDO ALBALADEJO, PEDRO J.     ADDRESS ON FILE
ACEVEDO ALBINO ARLANE            ADDRESS ON FILE
ACEVEDO ALBINO, AMNERIS          ADDRESS ON FILE
Acevedo Alequin, Jennifer        ADDRESS ON FILE
ACEVEDO ALFARO, MARIA T.         ADDRESS ON FILE
ACEVEDO ALFAU CONSTRUCTION INC   130 WINSTON CHURCHILL AVE   PBM 171                                              SAN JUAN     PR      00926‐6018
ACEVEDO ALICEA, ALEXANDRA        ADDRESS ON FILE
ACEVEDO ALICEA, BELKYS           ADDRESS ON FILE
ACEVEDO ALICEA, CLARA LUZ        ADDRESS ON FILE
ACEVEDO ALICEA, ROSA M.          ADDRESS ON FILE
ACEVEDO ALICEA, VIDAL            ADDRESS ON FILE
ACEVEDO ALICEA, ZAIDA            ADDRESS ON FILE
ACEVEDO ALLENDE, IRIS            ADDRESS ON FILE
ACEVEDO ALLLENDE, IRIS D.        ADDRESS ON FILE
ACEVEDO ALMEYDAS, DOEL E         ADDRESS ON FILE
Acevedo Almodovar, Andy          ADDRESS ON FILE
Acevedo Almodovar, Angel         ADDRESS ON FILE
ACEVEDO ALMODOVAR, ANGEL         ADDRESS ON FILE
ACEVEDO ALMODOVAR, CARMELO       ADDRESS ON FILE
ACEVEDO ALMODOVAR, CARMELO       ADDRESS ON FILE
ACEVEDO ALTORO, JOSE G           ADDRESS ON FILE
ACEVEDO ALVARADO, CESAR          ADDRESS ON FILE
ACEVEDO ALVARADO, MARILYN        ADDRESS ON FILE
ACEVEDO ALVARADO, MELANIE        ADDRESS ON FILE
Acevedo Alvarado, Norberto       ADDRESS ON FILE
ACEVEDO ALVARES, ZORY I          ADDRESS ON FILE
ACEVEDO ALVAREZ, ALEXANDRA       ADDRESS ON FILE
ACEVEDO ALVAREZ, ALEXANDRA       ADDRESS ON FILE
ACEVEDO ALVAREZ, ALFREDO         ADDRESS ON FILE
ACEVEDO ALVAREZ, ANA DELIA       ADDRESS ON FILE
ACEVEDO ALVAREZ, ANTONIO         ADDRESS ON FILE
ACEVEDO ALVAREZ, CARMELO         ADDRESS ON FILE
ACEVEDO ALVAREZ, DENNIS          ADDRESS ON FILE
ACEVEDO ALVAREZ, GENOVEVA        ADDRESS ON FILE
ACEVEDO ALVAREZ, JOSE            ADDRESS ON FILE
ACEVEDO ALVAREZ, JOSE            ADDRESS ON FILE
ACEVEDO ALVAREZ, JOSE A          ADDRESS ON FILE
ACEVEDO ALVAREZ, MARIA DEL P.    ADDRESS ON FILE




                                                                             Page 28 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No. Matrix
                                                                                    17 BK 3283‐LTS Page 29 of 3500
                                                                                      Creditor Matrix

Creditor Name                        Address1                        Address2                       Address3   Address4   City         State   PostalCode   Country
ACEVEDO ALVAREZ, MAXIMO              ADDRESS ON FILE
ACEVEDO ALVELO, CARLOS               ADDRESS ON FILE
ACEVEDO ALVIRA, BRIAN                ADDRESS ON FILE
ACEVEDO AMONES, ABNEL                ADDRESS ON FILE
Acevedo Amoros, Samuel               ADDRESS ON FILE
ACEVEDO ANDINO, AILEEN               ADDRESS ON FILE
ACEVEDO ANDINO, JORGE                ADDRESS ON FILE
ACEVEDO ANDUJAR, RAMONITA            ADDRESS ON FILE
ACEVEDO ANNONI, ANTONIO              ADDRESS ON FILE
ACEVEDO APONTE, ALEXANDRA            ADDRESS ON FILE
ACEVEDO APONTE, JOSE M.              ADDRESS ON FILE
ACEVEDO APONTE, JOSE R               ADDRESS ON FILE
ACEVEDO APONTE, MARTA E.             ADDRESS ON FILE
ACEVEDO APONTE, PEDRO A.             ADDRESS ON FILE
ACEVEDO APONTE, WILVETTE             ADDRESS ON FILE
ACEVEDO AQUINO, KEILA                ADDRESS ON FILE
ACEVEDO AQUINO, REBECA               ADDRESS ON FILE
Acevedo Aquino, Yolanda              ADDRESS ON FILE
ACEVEDO ARCE, ANA                    ADDRESS ON FILE
ACEVEDO ARMAIZ MD, SARA G            ADDRESS ON FILE
ACEVEDO ARMAIZ, HILDA IRIS           ADDRESS ON FILE
ACEVEDO ARMAIZ, MARITZA              ADDRESS ON FILE
ACEVEDO ARMSTRONG, FRANCIS           ADDRESS ON FILE
ACEVEDO AROCHO, JUAN                 ADDRESS ON FILE
ACEVEDO AROCHO, LUIS                 ADDRESS ON FILE
ACEVEDO AROCHO, NILDA                ADDRESS ON FILE
ACEVEDO AROCHO, PRUDENCIO            ADDRESS ON FILE
ACEVEDO AROCHO, PRUDENCIO Y/O 1905   LCDA. IVONNE GONZALEZ MORALES   PO BOX 9021828                                       SAN JUAN     PR      00902‐1828
ACEVEDO AROCHO, SHIRLEY              ADDRESS ON FILE
ACEVEDO ARROYO, CHELSIE M            ADDRESS ON FILE
ACEVEDO ARROYO, EDGARDO              ADDRESS ON FILE
Acevedo Arroyo, Jackeline            ADDRESS ON FILE
ACEVEDO ARROYO, LUIS                 ADDRESS ON FILE
ACEVEDO ARROYO, LUIS A               ADDRESS ON FILE
ACEVEDO ARROYO, LUIS A.              ADDRESS ON FILE
ACEVEDO ARROYO, LUIS A.              ADDRESS ON FILE
ACEVEDO ARROYO, MIRIAM               ADDRESS ON FILE
ACEVEDO ARROYO, WILFREDO             ADDRESS ON FILE
ACEVEDO ARVELO, NORMA I              ADDRESS ON FILE
ACEVEDO AUTO SALES                   HC 3 BOX 10393                                                                       CAMUY        PR      00627
ACEVEDO AVILES, EUSEBIA              ADDRESS ON FILE
ACEVEDO AVILES, HILDA                ADDRESS ON FILE
ACEVEDO AVILES, MARCELINO            ADDRESS ON FILE
ACEVEDO AVILEZ, EUSEBIA              ADDRESS ON FILE
ACEVEDO AYALA, ANGEL                 ADDRESS ON FILE
ACEVEDO AYALA, BRENDA                ADDRESS ON FILE
ACEVEDO AYALA, BRENDA L.             ADDRESS ON FILE
ACEVEDO AYALA, CHARLIE               ADDRESS ON FILE
ACEVEDO AYALA, JOVANNY               ADDRESS ON FILE
ACEVEDO AYALA, JUAN                  ADDRESS ON FILE
ACEVEDO AYALA, MARIA C               ADDRESS ON FILE
Acevedo Ayala, Reinaldo              ADDRESS ON FILE
ACEVEDO AYALA, SANDRA                ADDRESS ON FILE
ACEVEDO AYALA, VERONICA              ADDRESS ON FILE
ACEVEDO AYALA, ZULEIKA               ADDRESS ON FILE
ACEVEDO BABILONIA, JORGE L           ADDRESS ON FILE
ACEVEDO BADILLO, EILEEN              ADDRESS ON FILE
ACEVEDO BADILLO, EILEEN              ADDRESS ON FILE
ACEVEDO BADILLO, NOELYS              ADDRESS ON FILE
Acevedo Badillo, Paul                ADDRESS ON FILE




                                                                                      Page 29 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 30 of 3500
                                                                                                 Creditor Matrix

Creditor Name                   Address1                          Address2                                     Address3      Address4        City          State   PostalCode   Country
ACEVEDO BADILLO, SUHEILY M      ADDRESS ON FILE
ACEVEDO BAEZ, ELSA              ADDRESS ON FILE
Acevedo Baez, Ernesto           ADDRESS ON FILE
ACEVEDO BAEZ, MARIA             ADDRESS ON FILE
Acevedo Baez, Rogelio           ADDRESS ON FILE
ACEVEDO BAEZ, ROGELIO           ADDRESS ON FILE
ACEVEDO BAGUE, ANA M            ADDRESS ON FILE
ACEVEDO BAGUE, RAFAEL           ADDRESS ON FILE
Acevedo Barbosa, Frank          ADDRESS ON FILE
ACEVEDO BARBOSA, HERIBERTO      ADDRESS ON FILE
ACEVEDO BARBOSA, LUIS           ADDRESS ON FILE
ACEVEDO BARBOSA, XAVIER         ADDRESS ON FILE
ACEVEDO BARRETO, NAYDA          ADDRESS ON FILE
ACEVEDO BARRETO, ZAIDA          ADDRESS ON FILE
ACEVEDO BARRETO, ZORAIDA        ADDRESS ON FILE
ACEVEDO BATISTA, BRAULIO        ADDRESS ON FILE
ACEVEDO BATISTA, NOEMI          ADDRESS ON FILE
ACEVEDO BAYON EDGARDO           CARLOS GONZALEZ                   PO BOX 364966                                                              SAN JUAN      PR      00936
                                                                                                               138 WINSTON
ACEVEDO BAYON EDGARDO           CARLOS GONZALEZ                   PMB 914                                      CHURCHILL                     SAN JUAN      PR      00926
ACEVEDO BAYON EDGARDO           CYNTHIA ESPENDEZ SANTIESTEBAN     PO BOX 70244                                                               SAN JUAN      PR      00936‐8244
ACEVEDO BAYON EDGARDO           RAFAEL BARRETO SOLA               403 Munoz Rivera Avenue                                                    San Juan      PR      00918‐3345
ACEVEDO BAYON, EDGARDO          JOSE R. ROQUE VELAZQUEZ           PO BOX 6525                                                                SAN JUAN      PR      00914‐6525
ACEVEDO BAYON, EDGARDO          REPRESENTADO POR DERECHO PROPIO   INST. 304 GUERRERO AGUADILLA                 PO BOX 3999   EDIFICIO 6‐A1   AGUADILLA     PR      00603
ACEVEDO BELTRAN, ISMAEL         ADDRESS ON FILE
ACEVEDO BELTRAN, MARIA          ADDRESS ON FILE
ACEVEDO BENIQUEZ, ENAIDA        ADDRESS ON FILE
Acevedo Benitez, Alex           ADDRESS ON FILE
ACEVEDO BENITEZ, SANDRA I.      ADDRESS ON FILE
ACEVEDO BENITEZ, SANDRA IRIS    ADDRESS ON FILE
Acevedo Bermudez, Juan J        ADDRESS ON FILE
ACEVEDO BERMUDEZ, VERALDINE     ADDRESS ON FILE
ACEVEDO BERMUDEZ, WILLIAM       ADDRESS ON FILE
ACEVEDO BERMUDEZ, YESENIA       ADDRESS ON FILE
ACEVEDO BERRIOS, CARLOS         ADDRESS ON FILE
ACEVEDO BERRIOS, JACQUELINE     ADDRESS ON FILE
ACEVEDO BERRIOS, RALPH E.       ADDRESS ON FILE
ACEVEDO BERRIOS, RICARDO        ADDRESS ON FILE
ACEVEDO BETANCOURT, CARMEN E    ADDRESS ON FILE
ACEVEDO BETANCOURT, REISMARIE   ADDRESS ON FILE
ACEVEDO BETANCOURT, YARIL       ADDRESS ON FILE
ACEVEDO BETANCOURT, YOLANDA     ADDRESS ON FILE
ACEVEDO BIAGGI, FRANCIS I       ADDRESS ON FILE
ACEVEDO BILBRAUT, SONIA M       ADDRESS ON FILE
ACEVEDO BOBE, VALERIE           ADDRESS ON FILE
ACEVEDO BONET, EMIDZERET        ADDRESS ON FILE
Acevedo Bonet, Samuel           ADDRESS ON FILE
ACEVEDO BONILLA, ILUMINADA      ADDRESS ON FILE
ACEVEDO BONILLA, NANCY          ADDRESS ON FILE
ACEVEDO BONILLA, NILDA I        ADDRESS ON FILE
ACEVEDO BORIA, DEBBIE           ADDRESS ON FILE
ACEVEDO BORRERO, SANTA Z        ADDRESS ON FILE
ACEVEDO BOSCH, NORMA            ADDRESS ON FILE
ACEVEDO BOSQUE, CONFESORA       ADDRESS ON FILE
ACEVEDO BOSQUE, ELENA           ADDRESS ON FILE
ACEVEDO BRUNO, CARMEN           ADDRESS ON FILE
ACEVEDO BUITRAGO, GIOVANI       ADDRESS ON FILE
ACEVEDO BURGOS, AWILDA N.       ADDRESS ON FILE
ACEVEDO BURGOS, RANDY           ADDRESS ON FILE
ACEVEDO BURGOS, RANDY           ADDRESS ON FILE




                                                                                                 Page 30 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No. Matrix
                                                                                   17 BK 3283‐LTS Page 31 of 3500
                                                                                  Creditor Matrix

Creditor Name                       Address1                     Address2                       Address3   Address4   City         State   PostalCode   Country
ACEVEDO BURGOS, ROSA M              ADDRESS ON FILE
ACEVEDO BURGOS, TOMMY               ADDRESS ON FILE
ACEVEDO BURGOS, TOMMY               ADDRESS ON FILE
ACEVEDO BURSET, MARIA M             ADDRESS ON FILE
ACEVEDO CABALLERO, CARLOS           ADDRESS ON FILE
ACEVEDO CABALLERO, CARLOS           ADDRESS ON FILE
ACEVEDO CABALLERO, CARLOS           ADDRESS ON FILE
ACEVEDO CABAN, ELIEZER              ADDRESS ON FILE
ACEVEDO CABAN, HECTOR               ADDRESS ON FILE
ACEVEDO CABAN, JOEL                 ADDRESS ON FILE
Acevedo Caban, Juan E               ADDRESS ON FILE
ACEVEDO CABAN, MARIA L              ADDRESS ON FILE
ACEVEDO CABAN, NEFTALI              ADDRESS ON FILE
ACEVEDO CABAN, ROBERTO E            ADDRESS ON FILE
ACEVEDO CABAN, VANESSA              ADDRESS ON FILE
ACEVEDO CABRERA, DAISY              ADDRESS ON FILE
ACEVEDO CALDERON, ANGEL L           ADDRESS ON FILE
ACEVEDO CALDERON, DAMARIS           ADDRESS ON FILE
ACEVEDO CALERO, CARMEN M            ADDRESS ON FILE
ACEVEDO CAMACHO, GLORIA E           ADDRESS ON FILE
ACEVEDO CAMACHO, HIRAM              ADDRESS ON FILE
ACEVEDO CAMACHO, MADELINE           ADDRESS ON FILE
ACEVEDO CAMACHO, MADELINE & OTROS   IVONNE GONZALEZ MORALES      PO BOX 9021828                                       SAN JUAN     PR      00902‐1820
ACEVEDO CAMACHO, PEDRO J.           ADDRESS ON FILE
ACEVEDO CAMACHO, PEDRO JUAN         ADDRESS ON FILE
ACEVEDO CAMACHO, RUTH               ADDRESS ON FILE
ACEVEDO CAMERON, FRANCISCO          ADDRESS ON FILE
ACEVEDO CANALES, JACKELINE          ADDRESS ON FILE
ACEVEDO CANCELA, CARLOS J           ADDRESS ON FILE
ACEVEDO CANCELA, EDGARDO            ADDRESS ON FILE
ACEVEDO CANCELA, LISANDRA           ADDRESS ON FILE
ACEVEDO CANCELA, VIVIAN             ADDRESS ON FILE
ACEVEDO CANDELARIA, EDUARDO         ADDRESS ON FILE
ACEVEDO CANDELARIA, GREGORIA        ADDRESS ON FILE
ACEVEDO CANDELARIA, JAVIER          ADDRESS ON FILE
ACEVEDO CANDELARIA, MARIA M         ADDRESS ON FILE
ACEVEDO CANDELARIA, NAYDA           ADDRESS ON FILE
ACEVEDO CANDELARIO, JEANNETTE       ADDRESS ON FILE
Acevedo Cano, Alodia                ADDRESS ON FILE
ACEVEDO CANO, ALODIA                ADDRESS ON FILE
ACEVEDO CARDE, CARLOS               ADDRESS ON FILE
ACEVEDO CARDONA, ABDIEL             ADDRESS ON FILE
ACEVEDO CARDONA, ALEXANDER          ADDRESS ON FILE
ACEVEDO CARDONA, HELEN              ADDRESS ON FILE
ACEVEDO CARDONA, IGNACIO            LCDO. MIGUEL RIVERA MEDINA   RR‐3 BOX 3724                                        SAN JUAN     PR      00926
ACEVEDO CARDONA, LUIS               ADDRESS ON FILE
ACEVEDO CARDONA, MARELIS            ADDRESS ON FILE
ACEVEDO CARDONA, MARIA DEL C        ADDRESS ON FILE
ACEVEDO CARDONA, SALVADOR           ADDRESS ON FILE
ACEVEDO CARDONA, YEZENIA            ADDRESS ON FILE
ACEVEDO CARDOSA, RAFAEL             ADDRESS ON FILE
Acevedo Cardosa, Ramiro             ADDRESS ON FILE
ACEVEDO CARDOSA, RAMON              ADDRESS ON FILE
ACEVEDO CARLO, CARLOS               ADDRESS ON FILE
ACEVEDO CARLSON, KEVIN M.           ADDRESS ON FILE
ACEVEDO CARLSON, KEVIN M.           ADDRESS ON FILE
Acevedo Carmona, David              ADDRESS ON FILE
ACEVEDO CARMONA, WANDA I            ADDRESS ON FILE
ACEVEDO CARO, ADALBERTO             ADDRESS ON FILE
ACEVEDO CARO, EVA N                 ADDRESS ON FILE




                                                                                  Page 31 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No. Matrix
                                                                                 17 BK 3283‐LTS Page 32 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO CARO, GUDELIA             ADDRESS ON FILE
Acevedo Caro, Joaquin             ADDRESS ON FILE
ACEVEDO CARR, SHILO               ADDRESS ON FILE
ACEVEDO CARRASCO, MIGUEL          ADDRESS ON FILE
ACEVEDO CARRASQUILLO, FRANCISCO   ADDRESS ON FILE
ACEVEDO CARRASQUILLO, KAREN       ADDRESS ON FILE
ACEVEDO CARRERAS, MARIBEL         ADDRESS ON FILE
Acevedo Carreras, Nitza           ADDRESS ON FILE
ACEVEDO CARRERAS, RAQUEL          ADDRESS ON FILE
ACEVEDO CARRERO, ALFONSA          ADDRESS ON FILE
ACEVEDO CARRERO, ASTRID Y.        ADDRESS ON FILE
ACEVEDO CARRERO, JOHANNA          ADDRESS ON FILE
ACEVEDO CARRERO, LAURA V.         ADDRESS ON FILE
ACEVEDO CARRERO, MIGDALIA         ADDRESS ON FILE
ACEVEDO CARRION, KATHERINE        ADDRESS ON FILE
ACEVEDO CARTAGENA, ERIC D.        ADDRESS ON FILE
ACEVEDO CARTAGENA, FLORITA        ADDRESS ON FILE
ACEVEDO CARTAGENA, LUZ ENEIDA     ADDRESS ON FILE
ACEVEDO CARTAGENA, MAYRA E        ADDRESS ON FILE
ACEVEDO CARTAGENA, OTTO           ADDRESS ON FILE
ACEVEDO CARTAGENA, REBECA         ADDRESS ON FILE
ACEVEDO CARTAGENA, REYNALDO       ADDRESS ON FILE
ACEVEDO CARTAGENA, ROSARITO       ADDRESS ON FILE
ACEVEDO CARTAGENA, ROSARITO       ADDRESS ON FILE
ACEVEDO CASARES, CARMEN M         ADDRESS ON FILE
ACEVEDO CASIANO, CONSUELO         ADDRESS ON FILE
ACEVEDO CASTANER, VIKMAR          ADDRESS ON FILE
ACEVEDO CASTANER, VIKTOR          ADDRESS ON FILE
ACEVEDO CASTILLO, AUREA E         ADDRESS ON FILE
ACEVEDO CASTILLO, ERNESTO         ADDRESS ON FILE
ACEVEDO CASTILLO, IRMA            ADDRESS ON FILE
ACEVEDO CASTILLO, JORGE L         ADDRESS ON FILE
ACEVEDO CASTILLO, MARITZA         ADDRESS ON FILE
ACEVEDO CASTILLO, ROSA N          ADDRESS ON FILE
ACEVEDO CASTRO, ANGELINA          ADDRESS ON FILE
ACEVEDO CASTRO, AWILDA            ADDRESS ON FILE
ACEVEDO CASTRO, IRMA M.           ADDRESS ON FILE
ACEVEDO CEDENO, ARIEL O           ADDRESS ON FILE
Acevedo Cedeno, Benito            ADDRESS ON FILE
ACEVEDO CEDENO, YAZMIR            ADDRESS ON FILE
ACEVEDO CEREZO, NESTOR            ADDRESS ON FILE
ACEVEDO CHAPARRO, IRIS N          ADDRESS ON FILE
ACEVEDO CHAPARRO, LILLIAM E       ADDRESS ON FILE
ACEVEDO CHAPARRO, WILFREDO        ADDRESS ON FILE
ACEVEDO CHARNECO, HECTOR          ADDRESS ON FILE
ACEVEDO CHARNECO, HECTOR          ADDRESS ON FILE
Acevedo Charneco, Hector J.       ADDRESS ON FILE
ACEVEDO CINTRON, JOSEFA           ADDRESS ON FILE
ACEVEDO CINTRON, LUIS             ADDRESS ON FILE
ACEVEDO CINTRON, NILDA R          ADDRESS ON FILE
ACEVEDO CLASS, ADELIA I.          ADDRESS ON FILE
Acevedo Claudio, Felipe           ADDRESS ON FILE
ACEVEDO CLAUDIO, FRANCISCO        ADDRESS ON FILE
ACEVEDO CLAUDIO, GERARDO          ADDRESS ON FILE
Acevedo Claudio, Martin           ADDRESS ON FILE
ACEVEDO CLAUDIO, SUZZETTE         ADDRESS ON FILE
ACEVEDO COLLAZO, BRUNILDA         ADDRESS ON FILE
ACEVEDO COLLAZO, CELIA M          ADDRESS ON FILE
Acevedo Collazo, Juana H          ADDRESS ON FILE
ACEVEDO COLLAZO, NOEL             ADDRESS ON FILE




                                                                              Page 32 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 33 of 3500
                                                                                              Creditor Matrix

Creditor Name                    Address1                            Address2                               Address3     Address4   City         State   PostalCode   Country
ACEVEDO COLLAZO, WAILLY          ADDRESS ON FILE
ACEVEDO COLON, ADRIANA           ADDRESS ON FILE
ACEVEDO COLON, ANTONIO R         ADDRESS ON FILE
ACEVEDO COLON, CARMEN J          ADDRESS ON FILE
ACEVEDO COLON, ISRAEL            ADDRESS ON FILE
Acevedo Colon, Jacqueline        ADDRESS ON FILE
ACEVEDO COLON, JESUS M           ADDRESS ON FILE
ACEVEDO COLON, JORGE             ADDRESS ON FILE
Acevedo Colon, Juan A            ADDRESS ON FILE
ACEVEDO COLON, LUCY              ADDRESS ON FILE
ACEVEDO COLON, LUIS R            ADDRESS ON FILE
ACEVEDO COLON, MANUEL            ADDRESS ON FILE
ACEVEDO COLON, MARIA E           ADDRESS ON FILE
ACEVEDO COLON, MARIA V.          ADDRESS ON FILE
ACEVEDO COLON, MARISOL           ADDRESS ON FILE
ACEVEDO COLÓN, MARISOL Y/O 228   LCDO. ALBERTO ARESTI FRANSESCHINI   250 AVE. Ponce DE LEÓN                 SUITE 1000              SAN JUAN     PR      00918
Acevedo Colon, Marta             ADDRESS ON FILE
ACEVEDO COLON, MILAGROS          ADDRESS ON FILE
ACEVEDO COLON, NAYTASHA          ADDRESS ON FILE
ACEVEDO COLON, RITA I            ADDRESS ON FILE
ACEVEDO COLON, SANDRA JANIS      ADDRESS ON FILE
ACEVEDO COLON, VIVIAN Y          ADDRESS ON FILE
ACEVEDO COLON, WILLIAM           ADDRESS ON FILE
ACEVEDO CONCEPCION, EUGENIA V    ADDRESS ON FILE
ACEVEDO CONCEPCION, GYLEDITH     ADDRESS ON FILE
ACEVEDO CONCEPCIÓN, LOURDES      GUILLERMO MOJICA MALDONADO          94 MUÑOZ RIVERA                        SUITE 210               SAN JUAN     PR      00927
ACEVEDO CONCEPCION, LOURDES      ADDRESS ON FILE
ACEVEDO CONCEPCION, LOURDES E.   ADDRESS ON FILE
ACEVEDO CONCEPCION, MILDRED      ADDRESS ON FILE
ACEVEDO CONCEPCION, PABLO        ADDRESS ON FILE
ACEVEDO CONCEPCION, WANDA        ADDRESS ON FILE
ACEVEDO CONCEPCION, ZULAIKA      ADDRESS ON FILE
ACEVEDO CONDE, MIGUEL            ADDRESS ON FILE
ACEVEDO CONTRERAS, GLORIA E      ADDRESS ON FILE
ACEVEDO CORDERO, ARTURO          ADDRESS ON FILE
ACEVEDO CORDERO, CARLOS          ADDRESS ON FILE
ACEVEDO CORDERO, EDWIN           ADDRESS ON FILE
ACEVEDO CORDERO, GENOVEVA        ADDRESS ON FILE
ACEVEDO CORDERO, JESMARIE        ADDRESS ON FILE
ACEVEDO CORDERO, JOSE R.         ADDRESS ON FILE
ACEVEDO CORDERO, MONICA          ADDRESS ON FILE
ACEVEDO CORDERO, NILDA I         ADDRESS ON FILE
Acevedo Cordero, Sigfredo        ADDRESS ON FILE
ACEVEDO CORDERO,MERCEDES         ADDRESS ON FILE
ACEVEDO CORDOVA, ARELIS          ADDRESS ON FILE
ACEVEDO CORDOVES, VICTOR         ADDRESS ON FILE
ACEVEDO CORDOVES, VICTOR M.      ADDRESS ON FILE
ACEVEDO CORDOVES, WILMA          ADDRESS ON FILE
ACEVEDO CORIANO, JUAN            ADDRESS ON FILE
ACEVEDO CORNIER, ANA I           ADDRESS ON FILE
ACEVEDO CORNIER, ANGEL A.        ADDRESS ON FILE
ACEVEDO CORNIER, ANGEL E.        ADDRESS ON FILE
ACEVEDO CORNIER, JULIO           ADDRESS ON FILE
Acevedo Cornier, Julio A         ADDRESS ON FILE
ACEVEDO CORREA, ALVIN            ADDRESS ON FILE
Acevedo Correa, Alvin I          ADDRESS ON FILE
ACEVEDO CORREA, JAVED            ADDRESS ON FILE
ACEVEDO CORREA, LUIS A           ADDRESS ON FILE
ACEVEDO CORREA, MIRIAM           ADDRESS ON FILE
ACEVEDO CORREA, RICARDO          ADDRESS ON FILE




                                                                                              Page 33 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 34 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Acevedo Correa, Tania B       ADDRESS ON FILE
ACEVEDO CORSINO, MIGDALIA     ADDRESS ON FILE
ACEVEDO CORTES, ANA ROSA      ADDRESS ON FILE
ACEVEDO CORTES, ARIEL         ADDRESS ON FILE
ACEVEDO CORTES, GERMAN        ADDRESS ON FILE
ACEVEDO CORTES, JOSE M        ADDRESS ON FILE
ACEVEDO CORTES, LUIS          ADDRESS ON FILE
ACEVEDO CORTES, MARIA G.      ADDRESS ON FILE
ACEVEDO CORTES, MOISES        ADDRESS ON FILE
Acevedo Cortes, Raul          ADDRESS ON FILE
ACEVEDO CORTES, VIRGINIA      ADDRESS ON FILE
ACEVEDO CORTES, YOLANDA       ADDRESS ON FILE
ACEVEDO CORTIJO, DEBORAH J    ADDRESS ON FILE
ACEVEDO CORTIJO, JOSE A       ADDRESS ON FILE
ACEVEDO CORTIJO, JOSE RAMON   ADDRESS ON FILE
ACEVEDO COSME, SALLY          ADDRESS ON FILE
ACEVEDO COSME, SERGE          ADDRESS ON FILE
ACEVEDO COTT, MARLETTE        ADDRESS ON FILE
ACEVEDO COTTO, EFRAIN         ADDRESS ON FILE
ACEVEDO COTTO, ELSIE          ADDRESS ON FILE
ACEVEDO COTTO, JOSE           ADDRESS ON FILE
ACEVEDO COTTO, MARILDA L      ADDRESS ON FILE
ACEVEDO COTTO, MERY IVENNE    ADDRESS ON FILE
ACEVEDO CRESPO, DENNIS        ADDRESS ON FILE
ACEVEDO CRUZ, ADRIAN          ADDRESS ON FILE
ACEVEDO CRUZ, ANA I           ADDRESS ON FILE
ACEVEDO CRUZ, ANGELA          ADDRESS ON FILE
ACEVEDO CRUZ, ARACELIA        ADDRESS ON FILE
ACEVEDO CRUZ, BELINDA         ADDRESS ON FILE
ACEVEDO CRUZ, BLANCA          ADDRESS ON FILE
ACEVEDO CRUZ, BLANCA I.       ADDRESS ON FILE
ACEVEDO CRUZ, CARMEN          ADDRESS ON FILE
ACEVEDO CRUZ, DANIEL          ADDRESS ON FILE
ACEVEDO CRUZ, DENNIS          ADDRESS ON FILE
ACEVEDO CRUZ, ELAINE          ADDRESS ON FILE
ACEVEDO CRUZ, ELIEZER         ADDRESS ON FILE
ACEVEDO CRUZ, EMILIA          ADDRESS ON FILE
ACEVEDO CRUZ, EMMANUEL        ADDRESS ON FILE
ACEVEDO CRUZ, HECTOR          ADDRESS ON FILE
ACEVEDO CRUZ, JOAQUIN         ADDRESS ON FILE
ACEVEDO CRUZ, JOEL            ADDRESS ON FILE
ACEVEDO CRUZ, JOSE            ADDRESS ON FILE
ACEVEDO CRUZ, JUAN            ADDRESS ON FILE
ACEVEDO CRUZ, LESLIE          ADDRESS ON FILE
ACEVEDO CRUZ, LOURDES M       ADDRESS ON FILE
ACEVEDO CRUZ, LOURDES N       ADDRESS ON FILE
ACEVEDO CRUZ, LOURDES N       ADDRESS ON FILE
Acevedo Cruz, Luis O          ADDRESS ON FILE
ACEVEDO CRUZ, MADELLINE       ADDRESS ON FILE
ACEVEDO CRUZ, MARIENID        ADDRESS ON FILE
ACEVEDO CRUZ, MARISOL         ADDRESS ON FILE
ACEVEDO CRUZ, MARTA           ADDRESS ON FILE
ACEVEDO CRUZ, MIGUEL          ADDRESS ON FILE
ACEVEDO CRUZ, MILDRED         ADDRESS ON FILE
ACEVEDO CRUZ, MYRIAM          ADDRESS ON FILE
ACEVEDO CRUZ, MYRIAM J        ADDRESS ON FILE
ACEVEDO CRUZ, NATASHA E       ADDRESS ON FILE
ACEVEDO CRUZ, NICOLE          ADDRESS ON FILE
ACEVEDO CRUZ, NITZA V.        ADDRESS ON FILE
ACEVEDO CRUZ, OSVALDO         ADDRESS ON FILE




                                                                          Page 34 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 35 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO CRUZ, SONIA             ADDRESS ON FILE
ACEVEDO CRUZ, VICTOR            ADDRESS ON FILE
ACEVEDO CRUZ, WANDA             ADDRESS ON FILE
ACEVEDO CRUZ, WANDA I.          ADDRESS ON FILE
ACEVEDO CRUZ, WANDA I.          ADDRESS ON FILE
ACEVEDO CRUZ, ZULEIKA           ADDRESS ON FILE
ACEVEDO CRUZADO, JOSE           ADDRESS ON FILE
ACEVEDO CUADRADO, JULIANNYS     ADDRESS ON FILE
ACEVEDO CUBERO, JOSE            ADDRESS ON FILE
ACEVEDO CUEVA, NILDA E          ADDRESS ON FILE
Acevedo Cuevas, Anthony         ADDRESS ON FILE
ACEVEDO CUEVAS, EDWIN           ADDRESS ON FILE
ACEVEDO CUEVAS, IGNACIO J.      ADDRESS ON FILE
ACEVEDO CUEVAS, JOSE            ADDRESS ON FILE
ACEVEDO CUEVAS, JOSE A          ADDRESS ON FILE
ACEVEDO CUEVAS, SUHEIDY         ADDRESS ON FILE
ACEVEDO CUEVAS, ZAIDA           ADDRESS ON FILE
ACEVEDO DANET, REINA I          ADDRESS ON FILE
ACEVEDO DANET, REINA I          ADDRESS ON FILE
ACEVEDO DAVILA, GISELA          ADDRESS ON FILE
ACEVEDO DAVILA, MARILIS         ADDRESS ON FILE
ACEVEDO DE BACEIREDO, MARITZA   ADDRESS ON FILE
ACEVEDO DE CHAPARRO, ANA M      ADDRESS ON FILE
ACEVEDO DE JESUS, CHRISTOPHER   ADDRESS ON FILE
ACEVEDO DE JESUS, ERIKA         ADDRESS ON FILE
ACEVEDO DE JESUS, HECTOR        ADDRESS ON FILE
Acevedo De Jesus, Pedro J       ADDRESS ON FILE
ACEVEDO DE JESUS, RAMONA        ADDRESS ON FILE
ACEVEDO DE MUNOZ, MARIA         ADDRESS ON FILE
ACEVEDO DE NUNEZ, MARITZA       ADDRESS ON FILE
ACEVEDO DE PABLO, NICOLAS       ADDRESS ON FILE
ACEVEDO DE PABLO, SONIA I       ADDRESS ON FILE
ACEVEDO DE RIOS, ALICIA         ADDRESS ON FILE
ACEVEDO DELGADO, CARMELO        ADDRESS ON FILE
ACEVEDO DELGADO, CARMITA        ADDRESS ON FILE
Acevedo Delgado, Edgard A       ADDRESS ON FILE
Acevedo Delgado, Jose L         ADDRESS ON FILE
ACEVEDO DELGADO, JUAN           ADDRESS ON FILE
ACEVEDO DENIS, ELY              ADDRESS ON FILE
ACEVEDO DENIS, LIZ              ADDRESS ON FILE
ACEVEDO DIAZ MD, NILMA          ADDRESS ON FILE
ACEVEDO DIAZ, ALEJA             ADDRESS ON FILE
ACEVEDO DIAZ, BEATRIZ           ADDRESS ON FILE
ACEVEDO DIAZ, CARMEN M          ADDRESS ON FILE
ACEVEDO DIAZ, DAMARIS           ADDRESS ON FILE
ACEVEDO DIAZ, DAMARIS           ADDRESS ON FILE
ACEVEDO DIAZ, ELISEO            ADDRESS ON FILE
ACEVEDO DIAZ, EMILIO            ADDRESS ON FILE
ACEVEDO DIAZ, FELICITA          ADDRESS ON FILE
ACEVEDO DIAZ, GLADYS            ADDRESS ON FILE
ACEVEDO DIAZ, JANNETTE D        ADDRESS ON FILE
ACEVEDO DIAZ, JOSE R.           ADDRESS ON FILE
ACEVEDO DIAZ, LUZ M             ADDRESS ON FILE
ACEVEDO DIAZ, MIGUEL            ADDRESS ON FILE
ACEVEDO DIAZ, NILSA E           ADDRESS ON FILE
ACEVEDO DIAZ, NYDIA C           ADDRESS ON FILE
ACEVEDO DIAZ, OSVALDO           ADDRESS ON FILE
ACEVEDO DIAZ, SARA IVELISSE     ADDRESS ON FILE
Acevedo Diaz, Tatiana           ADDRESS ON FILE
ACEVEDO DIAZ, TATIANA           ADDRESS ON FILE




                                                                            Page 35 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 36 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO DIAZ, TATIANA           ADDRESS ON FILE
ACEVEDO DIAZ, VALERIE           ADDRESS ON FILE
ACEVEDO DOMINGUEZ, IRIS Z       ADDRESS ON FILE
ACEVEDO DONATO, MARIA           ADDRESS ON FILE
ACEVEDO DONES, JESUS            ADDRESS ON FILE
ACEVEDO DONES, MERCEDES         ADDRESS ON FILE
ACEVEDO DURAN, YESENIA          ADDRESS ON FILE
ACEVEDO ECHEVARRIA, ALICE M     ADDRESS ON FILE
ACEVEDO ECHEVARRIA, AMPARO      ADDRESS ON FILE
ACEVEDO ECHEVARRIA, ELBA R      ADDRESS ON FILE
ACEVEDO ECHEVARRIA, JOEL O      ADDRESS ON FILE
ACEVEDO ECHEVARRIA, JULIO       ADDRESS ON FILE
ACEVEDO ECHEVARRIA, MARIA E     ADDRESS ON FILE
ACEVEDO ESCALANTE, MARTA        ADDRESS ON FILE
Acevedo Espada, David           ADDRESS ON FILE
ACEVEDO ESQUILIN, JOSEPHINE     ADDRESS ON FILE
ACEVEDO ESQUILIN, JOSEPHINE C   ADDRESS ON FILE
ACEVEDO ESTEVES, NADINA         ADDRESS ON FILE
ACEVEDO ESTRADA, EDDIE          ADDRESS ON FILE
ACEVEDO ESTRADA, ISRAEL         ADDRESS ON FILE
ACEVEDO ESTRADA, PEDRO A.       ADDRESS ON FILE
ACEVEDO FALCON, EMINA           ADDRESS ON FILE
ACEVEDO FALCON, IRIANA          ADDRESS ON FILE
ACEVEDO FALCON, LIDIA E         ADDRESS ON FILE
ACEVEDO FARIA, ALFREDO          ADDRESS ON FILE
ACEVEDO FEBRES, GIANCARLO       ADDRESS ON FILE
ACEVEDO FEBRES, MARIA           ADDRESS ON FILE
ACEVEDO FELICIANO, ABIMELEC     ADDRESS ON FILE
ACEVEDO FELICIANO, ANA D        ADDRESS ON FILE
ACEVEDO FELICIANO, DEBORAH R    ADDRESS ON FILE
ACEVEDO FELICIANO, ERIC         ADDRESS ON FILE
ACEVEDO FELICIANO, GIOVANNI     ADDRESS ON FILE
ACEVEDO FELICIANO, GIOVANNI     ADDRESS ON FILE
ACEVEDO FELICIANO, HENRY        ADDRESS ON FILE
Acevedo Feliciano, Isaac        ADDRESS ON FILE
ACEVEDO FELICIANO, JOEVANNY     ADDRESS ON FILE
ACEVEDO FELICIANO, JOSUE        ADDRESS ON FILE
ACEVEDO FELICIANO, KEYSHLA      ADDRESS ON FILE
ACEVEDO FELICIANO, MARIA T      ADDRESS ON FILE
ACEVEDO FELICIANO, MARLENE      ADDRESS ON FILE
ACEVEDO FELICIANO, MARLENE      ADDRESS ON FILE
ACEVEDO FELICIANO, NIVIA        ADDRESS ON FILE
ACEVEDO FELICIANO, NIVIA M.     ADDRESS ON FILE
ACEVEDO FELICIANO, PATRICIO     ADDRESS ON FILE
ACEVEDO FELICIANO, TAMAR        ADDRESS ON FILE
ACEVEDO FELICIANO, VALERIE      ADDRESS ON FILE
ACEVEDO FERMIN, ELIZABETH       ADDRESS ON FILE
ACEVEDO FERNANDEZ, ALEXIS       ADDRESS ON FILE
Acevedo Fernandez, Amos         ADDRESS ON FILE
ACEVEDO FERNANDEZ, ERIKA        ADDRESS ON FILE
ACEVEDO FERNANDEZ, GLENDA I     ADDRESS ON FILE
ACEVEDO FERNANDEZ, GRISEL       ADDRESS ON FILE
ACEVEDO FERNANDEZ, IVAN         ADDRESS ON FILE
ACEVEDO FERNANDEZ, KARMAILYN    ADDRESS ON FILE
Acevedo Fernandin, Aracelli     ADDRESS ON FILE
ACEVEDO FERNANDINI, NELIDA      ADDRESS ON FILE
ACEVEDO FERRER, EFRAIN          ADDRESS ON FILE
ACEVEDO FERRER, JOSE            ADDRESS ON FILE
Acevedo Ferrer, Jose A          ADDRESS ON FILE
ACEVEDO FIGUEROA, ANNETTE       ADDRESS ON FILE




                                                                            Page 36 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 37 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO FIGUEROA, DAISY        ADDRESS ON FILE
ACEVEDO FIGUEROA, DAVID        ADDRESS ON FILE
ACEVEDO FIGUEROA, DAVID        ADDRESS ON FILE
ACEVEDO FIGUEROA, FELIX        ADDRESS ON FILE
ACEVEDO FIGUEROA, GLENDA L     ADDRESS ON FILE
ACEVEDO FIGUEROA, LUIS E       ADDRESS ON FILE
ACEVEDO FIGUEROA, PEGGY L.     ADDRESS ON FILE
ACEVEDO FIGUEROA, ROSA L       ADDRESS ON FILE
Acevedo Figueroa, Vicente      ADDRESS ON FILE
Acevedo Flores, Carmen M       ADDRESS ON FILE
ACEVEDO FLORES, GEYSA A.       ADDRESS ON FILE
ACEVEDO FLORES, JOSE           ADDRESS ON FILE
ACEVEDO FLORES, LEYDA MARINA   ADDRESS ON FILE
ACEVEDO FLORES, MIDNELA        ADDRESS ON FILE
ACEVEDO FLORES, MIDNELA        ADDRESS ON FILE
ACEVEDO FLORES, MIGUEL         ADDRESS ON FILE
ACEVEDO FRANQUI, DIANA E.      ADDRESS ON FILE
ACEVEDO FRANQUI, LIZNEL        ADDRESS ON FILE
ACEVEDO FRES, ELLIS            ADDRESS ON FILE
ACEVEDO FRESS, MARIA LUCILA    ADDRESS ON FILE
ACEVEDO FUENTES, HECTOR        ADDRESS ON FILE
ACEVEDO FUENTES, JEAN          ADDRESS ON FILE
ACEVEDO FUENTES, ROY           ADDRESS ON FILE
Acevedo Gaetan, Porfirio       ADDRESS ON FILE
ACEVEDO GALARZA, EMMANUEL      ADDRESS ON FILE
ACEVEDO GALARZA, LUIS A        ADDRESS ON FILE
Acevedo Galarza, Miguel        ADDRESS ON FILE
ACEVEDO GALICIA, BETZAIDA      ADDRESS ON FILE
ACEVEDO GALLOZA, AUREA E       ADDRESS ON FILE
ACEVEDO GALLOZA, IRIS C        ADDRESS ON FILE
ACEVEDO GALLOZA, KELVIN        ADDRESS ON FILE
ACEVEDO GANDARA, JUAN C        ADDRESS ON FILE
ACEVEDO GARAYUA, NANCY         ADDRESS ON FILE
ACEVEDO GARCI, DI‐ANNE M.      ADDRESS ON FILE
ACEVEDO GARCIA, ABIMAEL        ADDRESS ON FILE
ACEVEDO GARCIA, CARMEN         ADDRESS ON FILE
ACEVEDO GARCIA, CARMEN L       ADDRESS ON FILE
ACEVEDO GARCIA, CARMEN L       ADDRESS ON FILE
ACEVEDO GARCIA, CLARIBEL       ADDRESS ON FILE
ACEVEDO GARCIA, DAVID          ADDRESS ON FILE
ACEVEDO GARCIA, EDWIN          ADDRESS ON FILE
ACEVEDO GARCIA, FRANCISCO      ADDRESS ON FILE
ACEVEDO GARCIA, JACQUELINE     ADDRESS ON FILE
ACEVEDO GARCIA, JUAN           ADDRESS ON FILE
ACEVEDO GARCIA, JULIETTE       ADDRESS ON FILE
ACEVEDO GARCIA, KARLA L        ADDRESS ON FILE
ACEVEDO GARCIA, MARIA I.       ADDRESS ON FILE
ACEVEDO GARCIA, MARINILDA      ADDRESS ON FILE
ACEVEDO GARCIA, MIGUEL         ADDRESS ON FILE
ACEVEDO GARCIA, MIGUEL         ADDRESS ON FILE
ACEVEDO GARCIA, MIRIAM         ADDRESS ON FILE
ACEVEDO GARCIA, OMAR           ADDRESS ON FILE
ACEVEDO GARCIA, OMAR D.        ADDRESS ON FILE
ACEVEDO GARCIA, PAOLA A.       ADDRESS ON FILE
ACEVEDO GARCIA, ROSEMARY       ADDRESS ON FILE
ACEVEDO GARCIA, SAUL           ADDRESS ON FILE
ACEVEDO GARIBAY, GLORIA        ADDRESS ON FILE
ACEVEDO GERENA, CARMEN         ADDRESS ON FILE
ACEVEDO GERENA, ELVIS          ADDRESS ON FILE
ACEVEDO GERENA, GLENDA I       ADDRESS ON FILE




                                                                           Page 37 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 38 of 3500
                                                                                Creditor Matrix

Creditor Name                   Address1                          Address2                    Address3   Address4   City        State   PostalCode   Country
ACEVEDO GERENA, NANCY           ADDRESS ON FILE
ACEVEDO GINORIO, JOEL           ADDRESS ON FILE
ACEVEDO GINORIO, RAYCHEL        ADDRESS ON FILE
ACEVEDO GINORIO, SAMUEL         ADDRESS ON FILE
ACEVEDO GIOVANETTI, MARIA J.    ADDRESS ON FILE
ACEVEDO GIOVANNETTI, JOSE       ADDRESS ON FILE
Acevedo Gomez, Hilda            ADDRESS ON FILE
ACEVEDO GOMEZ, JESUS M          ADDRESS ON FILE
ACEVEDO GOMEZ, LUIS             ADDRESS ON FILE
ACEVEDO GOMEZ, MARIA Y          ADDRESS ON FILE
ACEVEDO GOMEZ, MAYRA            ADDRESS ON FILE
ACEVEDO GONZALEZ MD, JAVIER     ADDRESS ON FILE
ACEVEDO GONZALEZ SAMUEL         CÁNDIDO CORDERO PUEYO             PO BOX 201                                        ARROYO      PR      00714
ACEVEDO GONZALEZ SAMUEL         CYNTHIA G. ESPÉNDEZ SANTISTEBAN   PO BOX 1113                                       GUAYAMA     PR      00785‐1113
ACEVEDO GONZALEZ, ALEXANDER     ADDRESS ON FILE
ACEVEDO GONZALEZ, ALEXIS        ADDRESS ON FILE
Acevedo Gonzalez, Angel         ADDRESS ON FILE
Acevedo Gonzalez, Angel         ADDRESS ON FILE
ACEVEDO GONZALEZ, ANGEL         ADDRESS ON FILE
ACEVEDO GONZALEZ, ANGEL         ADDRESS ON FILE
ACEVEDO GONZALEZ, ANGEL M       ADDRESS ON FILE
ACEVEDO GONZALEZ, ANGEL M       ADDRESS ON FILE
ACEVEDO GONZALEZ, ANTMIR        ADDRESS ON FILE
ACEVEDO GONZALEZ, BERNARDO      ADDRESS ON FILE
ACEVEDO GONZALEZ, CELESTINO     ADDRESS ON FILE
ACEVEDO GONZALEZ, DANIEL        ADDRESS ON FILE
ACEVEDO GONZALEZ, DANIEL        ADDRESS ON FILE
Acevedo Gonzalez, Eddie         ADDRESS ON FILE
ACEVEDO GONZALEZ, EDWIN         ADDRESS ON FILE
ACEVEDO GONZALEZ, ELI           ADDRESS ON FILE
Acevedo Gonzalez, Eli Gerardo   ADDRESS ON FILE
Acevedo Gonzalez, Elias         ADDRESS ON FILE
ACEVEDO GONZALEZ, ELIAS         ADDRESS ON FILE
ACEVEDO GONZALEZ, ELIZABETH     ADDRESS ON FILE
ACEVEDO GONZALEZ, ERUDINA       ADDRESS ON FILE
ACEVEDO GONZALEZ, GISELL        ADDRESS ON FILE
ACEVEDO GONZALEZ, GREGORIO      ADDRESS ON FILE
Acevedo Gonzalez, Grisel        ADDRESS ON FILE
ACEVEDO GONZALEZ, GRISEL        ADDRESS ON FILE
Acevedo Gonzalez, Ivan O        ADDRESS ON FILE
ACEVEDO GONZALEZ, JACQUELINE    ADDRESS ON FILE
ACEVEDO GONZALEZ, JAVIER        ADDRESS ON FILE
ACEVEDO GONZALEZ, JIMMY         ADDRESS ON FILE
ACEVEDO GONZALEZ, JOEL          ADDRESS ON FILE
ACEVEDO GONZALEZ, JONATHAN      ADDRESS ON FILE
Acevedo Gonzalez, Jonathan E.   ADDRESS ON FILE
ACEVEDO GONZALEZ, JOSE A        ADDRESS ON FILE
ACEVEDO GONZALEZ, JOSE L        ADDRESS ON FILE
ACEVEDO GONZALEZ, JOSE M.       ADDRESS ON FILE
Acevedo Gonzalez, Luis A        ADDRESS ON FILE
ACEVEDO GONZALEZ, LUMEN A.      ADDRESS ON FILE
ACEVEDO GONZALEZ, MARIA         ADDRESS ON FILE
ACEVEDO GONZALEZ, MARIA         ADDRESS ON FILE
ACEVEDO GONZALEZ, MARISOL       ADDRESS ON FILE
ACEVEDO GONZALEZ, MELISSA       ADDRESS ON FILE
ACEVEDO GONZALEZ, MIGUEL        ADDRESS ON FILE
ACEVEDO GONZALEZ, NANCY         ADDRESS ON FILE
ACEVEDO GONZALEZ, NEFTALI       ADDRESS ON FILE
ACEVEDO GONZALEZ, NELIDA        ADDRESS ON FILE
ACEVEDO GONZALEZ, NINOSHKA      ADDRESS ON FILE




                                                                                Page 38 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No. Matrix
                                                                                        17 BK 3283‐LTS Page 39 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO GONZALEZ, NOEL                  ADDRESS ON FILE
Acevedo Gonzalez, Orlando               ADDRESS ON FILE
ACEVEDO GONZALEZ, ORLANDO               ADDRESS ON FILE
ACEVEDO GONZALEZ, RAMON                 ADDRESS ON FILE
ACEVEDO GONZALEZ, RICARDO               ADDRESS ON FILE
ACEVEDO GONZALEZ, ROSA                  ADDRESS ON FILE
ACEVEDO GONZALEZ, ROSA                  ADDRESS ON FILE
ACEVEDO GONZALEZ, ROSA E.               ADDRESS ON FILE
ACEVEDO GONZALEZ, ROSALINA              ADDRESS ON FILE
ACEVEDO GONZALEZ, SALVADOR              ADDRESS ON FILE
ACEVEDO GONZALEZ, SHEILA                ADDRESS ON FILE
ACEVEDO GONZALEZ, WILFREDO              ADDRESS ON FILE
ACEVEDO GONZALEZ, WILFREDO              ADDRESS ON FILE
Acevedo Gonzalez, William               ADDRESS ON FILE
ACEVEDO GONZALEZ, WILLIAM               ADDRESS ON FILE
ACEVEDO GONZALEZ, YAJAIRA               ADDRESS ON FILE
Acevedo Gonzalez, Yancy                 ADDRESS ON FILE
ACEVEDO GONZALEZ, YASIRIE               ADDRESS ON FILE
ACEVEDO GONZALEZ, YASMIN                ADDRESS ON FILE
ACEVEDO GONZALEZ, YASMINE               ADDRESS ON FILE
ACEVEDO GONZALEZ, YVETTE                ADDRESS ON FILE
ACEVEDO GONZALEZ, ZACARIAS              ADDRESS ON FILE
ACEVEDO GRAFALS, DAMARIS                ADDRESS ON FILE
Acevedo Guerrero, Areliz                ADDRESS ON FILE
Acevedo Guerrero, Isaida I              ADDRESS ON FILE
ACEVEDO GUERRERO, MAYRA                 ADDRESS ON FILE
ACEVEDO GUILLAMA, GRETA                 ADDRESS ON FILE
ACEVEDO GUINDIN, JANNETTE               ADDRESS ON FILE
ACEVEDO GUINDIN, MIRTA                  ADDRESS ON FILE
ACEVEDO GUINDIN,ALICE D.                ADDRESS ON FILE
ACEVEDO GUIVAS, MIGUEL                  ADDRESS ON FILE
ACEVEDO GUTIERREZ, ABIGAIL              ADDRESS ON FILE
ACEVEDO GUTIERREZ, OSVALDO              ADDRESS ON FILE
ACEVEDO GUTIERREZ, VERONICA             ADDRESS ON FILE
ACEVEDO GUZMAN, AIDA                    ADDRESS ON FILE
Acevedo Guzman, Antonio A.              ADDRESS ON FILE
ACEVEDO GUZMAN, CARMELO                 ADDRESS ON FILE
ACEVEDO GUZMAN, JAILENE                 ADDRESS ON FILE
ACEVEDO GUZMAN, JOALIN                  ADDRESS ON FILE
ACEVEDO GUZMAN, LUCRECIA                ADDRESS ON FILE
ACEVEDO GUZMAN, LUIS R.                 ADDRESS ON FILE
ACEVEDO GUZMAN, RAMONITA                ADDRESS ON FILE
ACEVEDO HARRISON, JOSE                  ADDRESS ON FILE
ACEVEDO HEAVY EQUIPMENT AUTO SALES CORP 4110 AVE MILITAR                                                                  ISABELA      PR      00662
Acevedo Heredia, Jeffrey                ADDRESS ON FILE
ACEVEDO HERNANDEZ MD, ANNETTE           ADDRESS ON FILE
ACEVEDO HERNANDEZ MD, GILFREDY          ADDRESS ON FILE
ACEVEDO HERNANDEZ, ALEJANDRO            ADDRESS ON FILE
ACEVEDO HERNANDEZ, ANA                  ADDRESS ON FILE
ACEVEDO HERNANDEZ, ANA E                ADDRESS ON FILE
ACEVEDO HERNANDEZ, ANGEL L              ADDRESS ON FILE
ACEVEDO HERNANDEZ, ANNETTE              ADDRESS ON FILE
ACEVEDO HERNANDEZ, BERNAIDA             ADDRESS ON FILE
ACEVEDO HERNANDEZ, CARLOS               ADDRESS ON FILE
ACEVEDO HERNANDEZ, CARMEN               ADDRESS ON FILE
ACEVEDO HERNANDEZ, CECILIA              ADDRESS ON FILE
ACEVEDO HERNANDEZ, DELTHY               ADDRESS ON FILE
ACEVEDO HERNANDEZ, ELADIO               ADDRESS ON FILE
ACEVEDO HERNANDEZ, EMMANUEL             ADDRESS ON FILE
ACEVEDO HERNANDEZ, EVELYN               ADDRESS ON FILE




                                                                                     Page 39 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 40 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Acevedo Hernandez, Fernando      ADDRESS ON FILE
ACEVEDO HERNANDEZ, JOSE          ADDRESS ON FILE
ACEVEDO HERNANDEZ, JOSE A        ADDRESS ON FILE
ACEVEDO HERNANDEZ, JOSE C        ADDRESS ON FILE
ACEVEDO HERNANDEZ, JUAN A        ADDRESS ON FILE
Acevedo Hernandez, Juan A        ADDRESS ON FILE
ACEVEDO HERNANDEZ, JULIO E.      ADDRESS ON FILE
ACEVEDO HERNANDEZ, LOURES        ADDRESS ON FILE
ACEVEDO HERNANDEZ, LUZ E         ADDRESS ON FILE
ACEVEDO HERNANDEZ, LUZ M         ADDRESS ON FILE
ACEVEDO HERNANDEZ, MAGDALENA     ADDRESS ON FILE
ACEVEDO HERNANDEZ, MANUEL        ADDRESS ON FILE
ACEVEDO HERNANDEZ, MANUEL A.     ADDRESS ON FILE
ACEVEDO HERNANDEZ, MARIA DEL C   ADDRESS ON FILE
ACEVEDO HERNANDEZ, MARIANE       ADDRESS ON FILE
ACEVEDO HERNANDEZ, MARTA         ADDRESS ON FILE
Acevedo Hernandez, Melvin A      ADDRESS ON FILE
ACEVEDO HERNANDEZ, MIGUEL        ADDRESS ON FILE
ACEVEDO HERNANDEZ, MILAGROS      ADDRESS ON FILE
Acevedo Hernandez, Nelson        ADDRESS ON FILE
ACEVEDO HERNANDEZ, NELSON        ADDRESS ON FILE
ACEVEDO HERNANDEZ, NOELIA        ADDRESS ON FILE
ACEVEDO HERNANDEZ, PAULINE       ADDRESS ON FILE
ACEVEDO HERNANDEZ, RAFAEL        ADDRESS ON FILE
Acevedo Hernandez, Ramon         ADDRESS ON FILE
ACEVEDO HERNANDEZ, RUTH          ADDRESS ON FILE
ACEVEDO HERNANDEZ, SAMUEL        ADDRESS ON FILE
ACEVEDO HERNANDEZ, SAMUEL        ADDRESS ON FILE
ACEVEDO HERNANDEZ, SANDRA        ADDRESS ON FILE
Acevedo Hernandez, Segundo       ADDRESS ON FILE
ACEVEDO HERNANDEZ, SEGUNDO       ADDRESS ON FILE
ACEVEDO HERNANDEZ, SOAMMY D.     ADDRESS ON FILE
ACEVEDO HERNANDEZ, VICTOR        ADDRESS ON FILE
ACEVEDO HERNANDEZ, WALDEMAR      ADDRESS ON FILE
Acevedo Hernandez, Wilson        ADDRESS ON FILE
ACEVEDO HERNANDEZ, YAMIRA        ADDRESS ON FILE
ACEVEDO HERNANDEZ, YANITZA       ADDRESS ON FILE
ACEVEDO HILERIO, EDWIN           ADDRESS ON FILE
ACEVEDO HILERIO, IDRANY          ADDRESS ON FILE
ACEVEDO HILERIO, LUIS            ADDRESS ON FILE
ACEVEDO IBARRA, YASMIN           ADDRESS ON FILE
ACEVEDO ILARRAZA, CARLOS A.      ADDRESS ON FILE
ACEVEDO INFANZON, JOSE G         ADDRESS ON FILE
ACEVEDO IRIZARRY, DAVID          ADDRESS ON FILE
ACEVEDO IRIZARRY, EDWNEL         ADDRESS ON FILE
Acevedo Irizarry, Hector         ADDRESS ON FILE
ACEVEDO IRIZARRY, JOSE           ADDRESS ON FILE
ACEVEDO IRIZARRY, LUIS           ADDRESS ON FILE
Acevedo Irizarry, Mayra          ADDRESS ON FILE
Acevedo Irizarry, Rafael         ADDRESS ON FILE
ACEVEDO IRIZARRY, WILFREDO       ADDRESS ON FILE
ACEVEDO JAIME, YAZMINE           ADDRESS ON FILE
ACEVEDO JIMENEZ, ANA D           ADDRESS ON FILE
ACEVEDO JIMENEZ, ANDREW          ADDRESS ON FILE
ACEVEDO JIMENEZ, ANGELICA        ADDRESS ON FILE
ACEVEDO JIMENEZ, CARMEN E        ADDRESS ON FILE
ACEVEDO JIMENEZ, CARMEN M        ADDRESS ON FILE
ACEVEDO JIMENEZ, ELBA            ADDRESS ON FILE
ACEVEDO JIMENEZ, ELIZABETH       ADDRESS ON FILE
ACEVEDO JIMENEZ, HECTOR A.       ADDRESS ON FILE




                                                                             Page 40 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 41 of 3500
                                                                                   Creditor Matrix

Creditor Name                 Address1                         Address2                          Address3     Address4   City            State   PostalCode   Country
ACEVEDO JIMENEZ, ISMAEL       ADDRESS ON FILE
ACEVEDO JIMENEZ, MILAGROS     ADDRESS ON FILE
ACEVEDO JIMENEZ, MILAGROS     ADDRESS ON FILE
ACEVEDO JIMENEZ, NELIDA       ADDRESS ON FILE
ACEVEDO JIMENEZ, PABLO        ADDRESS ON FILE
ACEVEDO JIMENEZ, RAMON        ADDRESS ON FILE
ACEVEDO JIMENEZ, SIXTA        ADDRESS ON FILE
ACEVEDO JIMENEZ, TAMARA D     ADDRESS ON FILE
Acevedo Jimenez, Vivian I     ADDRESS ON FILE
Acevedo Jimenez, William      ADDRESS ON FILE
ACEVEDO JIMENEZ, WILLIAM      ADDRESS ON FILE
ACEVEDO JIMENEZ, YISEL M      ADDRESS ON FILE
ACEVEDO JUARBE, NYDIA M       ADDRESS ON FILE
ACEVEDO JULIA, ANNA           ADDRESS ON FILE
ACEVEDO LABIOSA, EVELYN       ADDRESS ON FILE
ACEVEDO LABOY, SANTOS         ADDRESS ON FILE
ACEVEDO LARA, OWEN            ADDRESS ON FILE
ACEVEDO LAUREANO, VICTOR      ADDRESS ON FILE
ACEVEDO LAZARINI MD, LUIS     ADDRESS ON FILE
ACEVEDO LAZARINI, MERCEDES    ADDRESS ON FILE
ACEVEDO LAZZARINI MD, LUIS    ADDRESS ON FILE
ACEVEDO LEANDRY, EDMARIE      ADDRESS ON FILE
ACEVEDO LEBRON, LUIS M        ADDRESS ON FILE
ACEVEDO LEBRON, SHIRLEY       ADDRESS ON FILE
ACEVEDO LEON, MARIO           ADDRESS ON FILE
ACEVEDO LEON, ROSA M          ADDRESS ON FILE
ACEVEDO LESPIER, ANA J        ADDRESS ON FILE
ACEVEDO LIMBERTY, HERIBERTO   ADDRESS ON FILE
ACEVEDO LINARES, LORAINE      ADDRESS ON FILE
ACEVEDO LISOJO, BETZAIDA      ADDRESS ON FILE
ACEVEDO LISOJO, EILEEN A.     ADDRESS ON FILE
ACEVEDO LLAMAS, ANGEL L.      ANGEL L. ACEVEDO SERRANO         URB. PASEO ALTO                   68 CALLE 2              SAN JUAN        PR      00926‐5918
ACEVEDO LOPEZ, ALEXIS         ADDRESS ON FILE
Acevedo Lopez, Angel          ADDRESS ON FILE
ACEVEDO LOPEZ, ANGEL A.       ADDRESS ON FILE
ACEVEDO LOPEZ, ARMANDO        ADDRESS ON FILE
ACEVEDO LOPEZ, BENNY          ADDRESS ON FILE
ACEVEDO LOPEZ, CARMEN L.      ADDRESS ON FILE
ACEVEDO LOPEZ, DAMARIS        ADDRESS ON FILE
ACEVEDO LOPEZ, DAVID          ADDRESS ON FILE
ACEVEDO LOPEZ, DEBORAH A      ADDRESS ON FILE
Acevedo Lopez, Eduardo        ADDRESS ON FILE
ACEVEDO LÓPEZ, EDUARDO        LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                                HORMIQUEROS     PR      00660‐0873
ACEVEDO LÓPEZ, EDUARDO        LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                         PONCE           PR      00731
Acevedo Lopez, Efrain         ADDRESS ON FILE
ACEVEDO LOPEZ, ELIEZER        ADDRESS ON FILE
ACEVEDO LOPEZ, EMELIA         ADDRESS ON FILE
ACEVEDO LOPEZ, EMMA I         ADDRESS ON FILE
Acevedo Lopez, Freddy J.      ADDRESS ON FILE
ACEVEDO LOPEZ, GABRIEL        ADDRESS ON FILE
ACEVEDO LOPEZ, HECTOR         ADDRESS ON FILE
ACEVEDO LOPEZ, HILARY         ADDRESS ON FILE
ACEVEDO LOPEZ, IGNACIA        ADDRESS ON FILE
ACEVEDO LOPEZ, ISRAEL         ADDRESS ON FILE
ACEVEDO LOPEZ, JANITCIA       ADDRESS ON FILE
ACEVEDO LOPEZ, JAVIER         ADDRESS ON FILE
ACEVEDO LOPEZ, JESUS          ADDRESS ON FILE
ACEVEDO LOPEZ, JOEL           ADDRESS ON FILE
ACEVEDO LOPEZ, JONATHAN       ADDRESS ON FILE
ACEVEDO LOPEZ, JOSE           ADDRESS ON FILE




                                                                                   Page 41 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No. Matrix
                                                                                 17 BK 3283‐LTS Page 42 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO LOPEZ, JOSE L.            ADDRESS ON FILE
ACEVEDO LOPEZ, JULIO              ADDRESS ON FILE
ACEVEDO LOPEZ, JULIO C            ADDRESS ON FILE
ACEVEDO LOPEZ, LUIS               ADDRESS ON FILE
ACEVEDO LOPEZ, LUIS               ADDRESS ON FILE
Acevedo Lopez, Lutgardo           ADDRESS ON FILE
Acevedo Lopez, Lutgardo           ADDRESS ON FILE
ACEVEDO LOPEZ, LUZ E              ADDRESS ON FILE
ACEVEDO LOPEZ, MAGALY N.          ADDRESS ON FILE
ACEVEDO LOPEZ, MAGALY N.          ADDRESS ON FILE
ACEVEDO LOPEZ, MARIA              ADDRESS ON FILE
ACEVEDO LOPEZ, MARIA L            ADDRESS ON FILE
ACEVEDO LOPEZ, MARIANO            ADDRESS ON FILE
ACEVEDO LOPEZ, MARITZA            ADDRESS ON FILE
ACEVEDO LOPEZ, MIGUEL             ADDRESS ON FILE
ACEVEDO LOPEZ, MINELIS            ADDRESS ON FILE
ACEVEDO LOPEZ, MIRTA E            ADDRESS ON FILE
ACEVEDO LOPEZ, NOEMI              ADDRESS ON FILE
ACEVEDO LOPEZ, OMAR               ADDRESS ON FILE
ACEVEDO LOPEZ, PATRICIA           ADDRESS ON FILE
ACEVEDO LOPEZ, PLACIDA            ADDRESS ON FILE
ACEVEDO LOPEZ, RAMON              ADDRESS ON FILE
ACEVEDO LOPEZ, ROBERTO            ADDRESS ON FILE
Acevedo Lopez, Roberto            ADDRESS ON FILE
ACEVEDO LOPEZ, ROBERTO            ADDRESS ON FILE
ACEVEDO LOPEZ, SAMUEL             ADDRESS ON FILE
ACEVEDO LOPEZ, TERESA             ADDRESS ON FILE
ACEVEDO LOPEZ, VERONICA           ADDRESS ON FILE
ACEVEDO LOPEZ, VICTOR             ADDRESS ON FILE
ACEVEDO LOPEZ, VILMARIE           ADDRESS ON FILE
ACEVEDO LOPEZ, YOELY              ADDRESS ON FILE
ACEVEDO LOPEZ,GLORIA              ADDRESS ON FILE
ACEVEDO LOPEZ,SAMUEL              ADDRESS ON FILE
ACEVEDO LORENZO, ANIBAL           ADDRESS ON FILE
ACEVEDO LORENZO, DENNIS           ADDRESS ON FILE
Acevedo Lorenzo, Dennis G         ADDRESS ON FILE
ACEVEDO LORENZO, ENID M           ADDRESS ON FILE
ACEVEDO LORENZO, FELICITA         ADDRESS ON FILE
ACEVEDO LORENZO, IRAIDA           ADDRESS ON FILE
ACEVEDO LORENZO, JENNIFER         ADDRESS ON FILE
ACEVEDO LORENZO, LUIS A           ADDRESS ON FILE
ACEVEDO LORENZO, MARIA            ADDRESS ON FILE
ACEVEDO LORENZO, MARIA C          ADDRESS ON FILE
Acevedo Lorenzo, Maria Del Carm   ADDRESS ON FILE
ACEVEDO LORENZO, MARIA N          ADDRESS ON FILE
ACEVEDO LORENZO, MYRTA            ADDRESS ON FILE
ACEVEDO LORENZO, ROLANDO          ADDRESS ON FILE
ACEVEDO LORENZO, SARA             ADDRESS ON FILE
ACEVEDO LORENZO, SONIA I          ADDRESS ON FILE
Acevedo Lozada, Aurea M           ADDRESS ON FILE
ACEVEDO LOZADA, MARIA DE LOS A.   ADDRESS ON FILE
ACEVEDO LUCIANO, LIDA             ADDRESS ON FILE
ACEVEDO LUCIANO, MIGDALIA         ADDRESS ON FILE
ACEVEDO LUCIANO, ZAIDA I          ADDRESS ON FILE
ACEVEDO LUGO, ALBERTO A           ADDRESS ON FILE
ACEVEDO LUGO, ANDRES ROBERTO      ADDRESS ON FILE
ACEVEDO LUGO, ANGEL A             ADDRESS ON FILE
ACEVEDO LUGO, MARICER             ADDRESS ON FILE
ACEVEDO LUGO, MELSSA              ADDRESS ON FILE
ACEVEDO LUGO, ROSA                ADDRESS ON FILE




                                                                              Page 42 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 43 of 3500
                                                                                    Creditor Matrix

Creditor Name                  Address1                         Address2                          Address3   Address4   City            State   PostalCode   Country
ACEVEDO LUIS, JUSTINO          ADDRESS ON FILE
ACEVEDO LUQUIS, LUIS           ADDRESS ON FILE
ACEVEDO MACHICOTE, CARMEN D.   ADDRESS ON FILE
ACEVEDO MACHUCA, WANDA         ADDRESS ON FILE
Acevedo Madera, Roberto        ADDRESS ON FILE
ACEVEDO MADERA, ROBERTO        LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                              HORMIQUEROS     PR      00660‐0873
ACEVEDO MADERA, ROBERTO        LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                       PONCE           PR      00731
ACEVEDO MALAVE, HECTOR M.      ADDRESS ON FILE
ACEVEDO MALAVE, IRMA           ADDRESS ON FILE
ACEVEDO MALAVET, LUIS          ADDRESS ON FILE
ACEVEDO MALDONADO, ANGEL L.    ADDRESS ON FILE
ACEVEDO MALDONADO, CARMEN      ADDRESS ON FILE
ACEVEDO MALDONADO, CRISTINA    ADDRESS ON FILE
ACEVEDO MALDONADO, DAGMAR E    ADDRESS ON FILE
Acevedo Maldonado, Edgardo     ADDRESS ON FILE
ACEVEDO MALDONADO, EDGARDO     ADDRESS ON FILE
ACEVEDO MALDONADO, EIMALIZ     ADDRESS ON FILE
ACEVEDO MALDONADO, GLORIA      ADDRESS ON FILE
ACEVEDO MALDONADO, JAIME       ADDRESS ON FILE
ACEVEDO MALDONADO, JEANETTE    ADDRESS ON FILE
ACEVEDO MALDONADO, JUAN        ADDRESS ON FILE
ACEVEDO MALDONADO, JUAN V.     ADDRESS ON FILE
ACEVEDO MALDONADO, LUIS        ADDRESS ON FILE
ACEVEDO MALDONADO, MANUEL      ADDRESS ON FILE
ACEVEDO MALDONADO, MAYRA       ADDRESS ON FILE
ACEVEDO MALDONADO, MINERVA     ADDRESS ON FILE
ACEVEDO MALDONADO, NIVALDO     ADDRESS ON FILE
ACEVEDO MALDONADO, ROSA M      ADDRESS ON FILE
ACEVEDO MALDONADO, ROSABEL     ADDRESS ON FILE
Acevedo Maldonado, Ruben       ADDRESS ON FILE
ACEVEDO MALDONADO, WANDA       ADDRESS ON FILE
ACEVEDO MALDONADO, WANDA L     ADDRESS ON FILE
ACEVEDO MANTILLA, TANIA        ADDRESS ON FILE
ACEVEDO MARGARITO, JOSE        ADDRESS ON FILE
ACEVEDO MARIN, GERMAN          ADDRESS ON FILE
ACEVEDO MARIN, GERMAN          ADDRESS ON FILE
ACEVEDO MARIN, VICTOR          ADDRESS ON FILE
ACEVEDO MARINEZ, JOSE A        ADDRESS ON FILE
ACEVEDO MARQUEZ, HAROLD        ADDRESS ON FILE
ACEVEDO MARQUEZ, NILSA         ADDRESS ON FILE
ACEVEDO MARRERO, EDWIN         ADDRESS ON FILE
ACEVEDO MARRERO, MIGDALIA      ADDRESS ON FILE
ACEVEDO MARRERO, NANCY         ADDRESS ON FILE
ACEVEDO MARTE, WILFREDO A.     ADDRESS ON FILE
ACEVEDO MARTINEZ, ANGEL        ADDRESS ON FILE
ACEVEDO MARTINEZ, ANGEL        ADDRESS ON FILE
ACEVEDO MARTINEZ, CHRISTIAN    ADDRESS ON FILE
ACEVEDO MARTINEZ, DENISSE      ADDRESS ON FILE
ACEVEDO MARTINEZ, DOUGLAS      ADDRESS ON FILE
ACEVEDO MARTINEZ, DOUGLAS      ADDRESS ON FILE
ACEVEDO MARTINEZ, EDWIN        ADDRESS ON FILE
ACEVEDO MARTINEZ, EDWIN        ADDRESS ON FILE
ACEVEDO MARTINEZ, ELIZABETH    ADDRESS ON FILE
ACEVEDO MARTINEZ, ELIZABETH    ADDRESS ON FILE
ACEVEDO MARTINEZ, ELIZABETH    ADDRESS ON FILE
ACEVEDO MARTINEZ, FELIX        ADDRESS ON FILE
Acevedo Martinez, Francisco    ADDRESS ON FILE
ACEVEDO MARTINEZ, HECTOR D     ADDRESS ON FILE
ACEVEDO MARTINEZ, IVAN         ADDRESS ON FILE
ACEVEDO MARTINEZ, IVAN         ADDRESS ON FILE




                                                                                    Page 43 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 44 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO MARTINEZ, JAIME        ADDRESS ON FILE
ACEVEDO MARTINEZ, JOSE         ADDRESS ON FILE
ACEVEDO MARTINEZ, JOSE A.      ADDRESS ON FILE
ACEVEDO MARTINEZ, JUAN         ADDRESS ON FILE
ACEVEDO MARTINEZ, LISA M       ADDRESS ON FILE
ACEVEDO MARTINEZ, LUIS         ADDRESS ON FILE
ACEVEDO MARTINEZ, MAGGIE       ADDRESS ON FILE
ACEVEDO MARTINEZ, MAGGIE       ADDRESS ON FILE
ACEVEDO MARTINEZ, MARITZA      ADDRESS ON FILE
ACEVEDO MARTINEZ, MICHAEL      ADDRESS ON FILE
ACEVEDO MARTINEZ, MIGDELIA     ADDRESS ON FILE
ACEVEDO MARTINEZ, NAHALIEL     ADDRESS ON FILE
ACEVEDO MARTINEZ, RODOLFO      ADDRESS ON FILE
ACEVEDO MARTINEZ, ROSHIRA I.   ADDRESS ON FILE
ACEVEDO MARTINEZ, SANTOS       ADDRESS ON FILE
ACEVEDO MARTINEZ, ULPIANO      ADDRESS ON FILE
ACEVEDO MARTINEZ, ZAIDA I      ADDRESS ON FILE
ACEVEDO MARTY MD, IRIS A       ADDRESS ON FILE
ACEVEDO MARTY MD, LUIS J       ADDRESS ON FILE
ACEVEDO MASS, OLGA             ADDRESS ON FILE
ACEVEDO MATIAS, IRIS M         ADDRESS ON FILE
ACEVEDO MATIAS, JORGE R.       ADDRESS ON FILE
ACEVEDO MATIAS, JOSE           ADDRESS ON FILE
ACEVEDO MATIAS, JOSE M.        ADDRESS ON FILE
ACEVEDO MATIAS, JULIO          ADDRESS ON FILE
ACEVEDO MATIAS, RICARDO J.     ADDRESS ON FILE
ACEVEDO MATOS, BRENDA          ADDRESS ON FILE
ACEVEDO MATOS, BRYAN           ADDRESS ON FILE
ACEVEDO MATOS, CARLOS          ADDRESS ON FILE
ACEVEDO MATOS, ERICK           ADDRESS ON FILE
Acevedo Matos, Grissel E.      ADDRESS ON FILE
ACEVEDO MATOS, JULIO O         ADDRESS ON FILE
ACEVEDO MATOS, MARCOS          ADDRESS ON FILE
ACEVEDO MATTOS, MARIA ESTHER   ADDRESS ON FILE
ACEVEDO MCCORMICK, JULIO       ADDRESS ON FILE
ACEVEDO MD, HECTOR             ADDRESS ON FILE
ACEVEDO MEDINA, ANGEL          ADDRESS ON FILE
ACEVEDO MEDINA, ANGEL L        ADDRESS ON FILE
ACEVEDO MEDINA, CHRISTIAN      ADDRESS ON FILE
ACEVEDO MEDINA, HECTOR         ADDRESS ON FILE
ACEVEDO MEDINA, HECTOR         ADDRESS ON FILE
ACEVEDO MEDINA, JOSE           ADDRESS ON FILE
ACEVEDO MEDINA, JOSE A         ADDRESS ON FILE
ACEVEDO MEDINA, LIMARY         ADDRESS ON FILE
ACEVEDO MEDINA, LUIS           ADDRESS ON FILE
ACEVEDO MEDINA, PEDRO          ADDRESS ON FILE
ACEVEDO MEDINA, PEDRO J        ADDRESS ON FILE
ACEVEDO MEDINA, RAYMOND        ADDRESS ON FILE
Acevedo Medina, Rosa I         ADDRESS ON FILE
Acevedo Medina, Samuel         ADDRESS ON FILE
ACEVEDO MELENDEZ, ANA M        ADDRESS ON FILE
ACEVEDO MELENDEZ, BENNY        ADDRESS ON FILE
ACEVEDO MELENDEZ, BRENDA LUZ   ADDRESS ON FILE
ACEVEDO MELENDEZ, HARRY        ADDRESS ON FILE
ACEVEDO MELENDEZ, JESUS JOSE   ADDRESS ON FILE
ACEVEDO MELENDEZ, JOSE A.      ADDRESS ON FILE
ACEVEDO MELENDEZ, KEVIN        ADDRESS ON FILE
ACEVEDO MELENDEZ, MIGDALIA     ADDRESS ON FILE
ACEVEDO MELENDEZ, NELSA L.     ADDRESS ON FILE
ACEVEDO MELENDEZ, NELSA LIZ    ADDRESS ON FILE




                                                                           Page 44 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 45 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO MELENDEZ, RAFAEL      ADDRESS ON FILE
ACEVEDO MELENDEZ, RAQUEL      ADDRESS ON FILE
ACEVEDO MENA, LIZ Y           ADDRESS ON FILE
ACEVEDO MENDEZ, CARLOS I      ADDRESS ON FILE
ACEVEDO MENDEZ, CARMEN        ADDRESS ON FILE
ACEVEDO MENDEZ, CESAR A       ADDRESS ON FILE
ACEVEDO MENDEZ, DAISY         ADDRESS ON FILE
ACEVEDO MENDEZ, DELISSA I     ADDRESS ON FILE
ACEVEDO MENDEZ, ELBA          ADDRESS ON FILE
ACEVEDO MENDEZ, HECTOR        ADDRESS ON FILE
ACEVEDO MENDEZ, HECTOR        ADDRESS ON FILE
ACEVEDO MENDEZ, HECTOR        ADDRESS ON FILE
ACEVEDO MENDEZ, JAIME         ADDRESS ON FILE
Acevedo Mendez, Javier        ADDRESS ON FILE
ACEVEDO MENDEZ, JAYSON        ADDRESS ON FILE
ACEVEDO MENDEZ, JEANNETTE     ADDRESS ON FILE
ACEVEDO MENDEZ, JEANNETTE     ADDRESS ON FILE
ACEVEDO MENDEZ, JORGE H       ADDRESS ON FILE
ACEVEDO MENDEZ, JOSE          ADDRESS ON FILE
Acevedo Mendez, Jose M        ADDRESS ON FILE
ACEVEDO MENDEZ, JUAN C        ADDRESS ON FILE
Acevedo Mendez, Miguel        ADDRESS ON FILE
ACEVEDO MENDEZ, MILAGROS      ADDRESS ON FILE
ACEVEDO MENDEZ, OMAYRA        ADDRESS ON FILE
ACEVEDO MENDEZ, OTILIO        ADDRESS ON FILE
ACEVEDO MENDEZ, PEDRO         ADDRESS ON FILE
ACEVEDO MENDEZ, RAQUEL        ADDRESS ON FILE
Acevedo Mendez, Raul          ADDRESS ON FILE
ACEVEDO MENDEZ, ROSENDO       ADDRESS ON FILE
ACEVEDO MENDEZ, URANIA        ADDRESS ON FILE
ACEVEDO MENDEZ, WILSON        ADDRESS ON FILE
ACEVEDO MENDEZ, ZAIDA         ADDRESS ON FILE
ACEVEDO MENDEZ, ZORAIDA       ADDRESS ON FILE
ACEVEDO MENDOZA, LUIS A.      ADDRESS ON FILE
ACEVEDO MENENDEZ, DULCE M     ADDRESS ON FILE
ACEVEDO MENENDEZ, JONATHAN    ADDRESS ON FILE
ACEVEDO MERCADO, AIDA         ADDRESS ON FILE
ACEVEDO MERCADO, CARMEN V.    ADDRESS ON FILE
ACEVEDO MERCADO, JOSE         ADDRESS ON FILE
ACEVEDO MERCADO, JOSE         ADDRESS ON FILE
ACEVEDO MERCADO, JUAN         ADDRESS ON FILE
ACEVEDO MERCADO, JUAN D       ADDRESS ON FILE
ACEVEDO MERCADO, LUIS         ADDRESS ON FILE
ACEVEDO MERCADO, LUZ M        ADDRESS ON FILE
ACEVEDO MERCADO, MANUEL       ADDRESS ON FILE
ACEVEDO MERCADO, MINDO        ADDRESS ON FILE
ACEVEDO MERCADO, MINDO        ADDRESS ON FILE
Acevedo Mercado, Mindo A      ADDRESS ON FILE
ACEVEDO MERCADO, ODEMARIS     ADDRESS ON FILE
Acevedo Mercado, Osvaldo      ADDRESS ON FILE
ACEVEDO MERCADO, OSVALDO      ADDRESS ON FILE
ACEVEDO MERCADO, SAMUEL       ADDRESS ON FILE
ACEVEDO MERCADO, SAMUEL       ADDRESS ON FILE
ACEVEDO MERCADO, SHEILA       ADDRESS ON FILE
ACEVEDO MERCADO, SHIRLEY      ADDRESS ON FILE
ACEVEDO MERCADO, YARITZA      ADDRESS ON FILE
Acevedo Mercado, Yaritza M    ADDRESS ON FILE
ACEVEDO MESONERO, MYRIAM I.   ADDRESS ON FILE
ACEVEDO MILLAN, EDWIN         ADDRESS ON FILE
ACEVEDO MILLAN, RAMON         ADDRESS ON FILE




                                                                          Page 45 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 46 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO MIRABAL, ANA M           ADDRESS ON FILE
ACEVEDO MIRANDA, AURORA          ADDRESS ON FILE
ACEVEDO MIRANDA, AWILDA          ADDRESS ON FILE
ACEVEDO MIRANDA, AWILDA          ADDRESS ON FILE
Acevedo Miranda, Luis G          ADDRESS ON FILE
ACEVEDO MIRANDA, LUZ A           ADDRESS ON FILE
ACEVEDO MIRANDA, MARISOL         ADDRESS ON FILE
ACEVEDO MOJICA, EDWIN            ADDRESS ON FILE
ACEVEDO MOJICA, ENID             ADDRESS ON FILE
ACEVEDO MOJICA, MANUEL A         ADDRESS ON FILE
ACEVEDO MOLINA, CARMEN           ADDRESS ON FILE
ACEVEDO MOLINA, CESAR            ADDRESS ON FILE
Acevedo Molina, Cesar R          ADDRESS ON FILE
ACEVEDO MOLINA, EFRAIN           ADDRESS ON FILE
ACEVEDO MOLINA, EFRAIN           ADDRESS ON FILE
ACEVEDO MOLINA, FREDDY           ADDRESS ON FILE
ACEVEDO MOLINA, MIGDALIA         ADDRESS ON FILE
Acevedo Molina, Ricardo          ADDRESS ON FILE
ACEVEDO MOLINARY, MATILDE        ADDRESS ON FILE
ACEVEDO MOLINARY, MATILDE        ADDRESS ON FILE
ACEVEDO MONAGAS, TERESA          ADDRESS ON FILE
ACEVEDO MONGE, VICTOR J.         ADDRESS ON FILE
ACEVEDO MONSEGUR, MILTON D       ADDRESS ON FILE
ACEVEDO MONTALVO, LUIS A         ADDRESS ON FILE
ACEVEDO MONTALVO, MARIA          ADDRESS ON FILE
ACEVEDO MONTALVO, NOELIA         ADDRESS ON FILE
ACEVEDO MONTALVO, RICARDO        ADDRESS ON FILE
ACEVEDO MONTALVO, VICTOR         ADDRESS ON FILE
ACEVEDO MONTANO, RAFAEL          ADDRESS ON FILE
ACEVEDO MONTERO, HECTOR          ADDRESS ON FILE
Acevedo Montero, Hector R        ADDRESS ON FILE
ACEVEDO MONTIJO, ERICA           ADDRESS ON FILE
ACEVEDO MONTIJO, MARIXA A        ADDRESS ON FILE
ACEVEDO MORA, EDGAR F.           ADDRESS ON FILE
ACEVEDO MORALES, AMARILIS        ADDRESS ON FILE
ACEVEDO MORALES, ANA             ADDRESS ON FILE
ACEVEDO MORALES, BEATRIZ MARIE   ADDRESS ON FILE
Acevedo Morales, Bernice         ADDRESS ON FILE
ACEVEDO MORALES, DARYBEL         ADDRESS ON FILE
ACEVEDO MORALES, EDUARDO         ADDRESS ON FILE
ACEVEDO MORALES, EDUARDO         ADDRESS ON FILE
ACEVEDO MORALES, EVA             ADDRESS ON FILE
ACEVEDO MORALES, EVA N.          ADDRESS ON FILE
ACEVEDO MORALES, FILOMENA        ADDRESS ON FILE
ACEVEDO MORALES, IDALIA          ADDRESS ON FILE
ACEVEDO MORALES, ISMAEL          ADDRESS ON FILE
ACEVEDO MORALES, IVAN            ADDRESS ON FILE
ACEVEDO MORALES, JACQUELINE      ADDRESS ON FILE
ACEVEDO MORALES, JAILEEN         ADDRESS ON FILE
ACEVEDO MORALES, JAMILLET        ADDRESS ON FILE
ACEVEDO MORALES, LIETY           ADDRESS ON FILE
ACEVEDO MORALES, MARELINE        ADDRESS ON FILE
ACEVEDO MORALES, MARELINE        ADDRESS ON FILE
ACEVEDO MORALES, MISLAEL         ADDRESS ON FILE
ACEVEDO MORALES, NANCY I.        ADDRESS ON FILE
ACEVEDO MORALES, OSVALDO         ADDRESS ON FILE
ACEVEDO MORALES, RAMON           ADDRESS ON FILE
ACEVEDO MORALES, ROBERTO E       ADDRESS ON FILE
ACEVEDO MORALES, RUBEN           ADDRESS ON FILE
ACEVEDO MORALES, TANIA           ADDRESS ON FILE




                                                                             Page 46 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 47 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO MORALES, TATIANA        ADDRESS ON FILE
ACEVEDO MORALES, TYARA          ADDRESS ON FILE
ACEVEDO MORALES, ZAIDA V        ADDRESS ON FILE
ACEVEDO MORENO, BETZAIDA        ADDRESS ON FILE
ACEVEDO MORENO, MIGUEL          ADDRESS ON FILE
ACEVEDO MUNIZ, ADA E            ADDRESS ON FILE
ACEVEDO MUNIZ, BRUNILDA         ADDRESS ON FILE
ACEVEDO MUNIZ, CIG MARIE        ADDRESS ON FILE
ACEVEDO MUNIZ, CRISTINO         ADDRESS ON FILE
ACEVEDO MUNIZ, GLADYS           ADDRESS ON FILE
ACEVEDO MUNIZ, MARIANELLA       ADDRESS ON FILE
ACEVEDO MUNOZ, CARLOS           ADDRESS ON FILE
ACEVEDO MUNOZ, IRMARIE          ADDRESS ON FILE
ACEVEDO NATAL, CARMEN G         ADDRESS ON FILE
ACEVEDO NATAL, LUIS             ADDRESS ON FILE
ACEVEDO NAVARRO, ALICE          ADDRESS ON FILE
ACEVEDO NAVAS, XAREL            ADDRESS ON FILE
ACEVEDO NAZARIO, ALBA           ADDRESS ON FILE
ACEVEDO NAZARIO, JOSUE          ADDRESS ON FILE
ACEVEDO NAZARIO, JOSUE          ADDRESS ON FILE
ACEVEDO NAZARIO, MARJORIE       ADDRESS ON FILE
ACEVEDO NAZARIO, NAOMI          ADDRESS ON FILE
ACEVEDO NAZARIO, ROLANDO        ADDRESS ON FILE
ACEVEDO NEGRON MD, LORIEBA      ADDRESS ON FILE
ACEVEDO NEGRON, EFRAIN          ADDRESS ON FILE
ACEVEDO NEGRON, IVONNE          ADDRESS ON FILE
ACEVEDO NEGRON, JENNIFER        ADDRESS ON FILE
ACEVEDO NEGRON, JOSE            ADDRESS ON FILE
ACEVEDO NEGRON, PEDRO           ADDRESS ON FILE
ACEVEDO NIEVES MD, HECTOR M     ADDRESS ON FILE
ACEVEDO NIEVES, ALEJANDRINA     ADDRESS ON FILE
ACEVEDO NIEVES, DEANNA          ADDRESS ON FILE
Acevedo Nieves, Edwin O         ADDRESS ON FILE
ACEVEDO NIEVES, FLOR            ADDRESS ON FILE
ACEVEDO NIEVES, HECTOR MANUEL   ADDRESS ON FILE
ACEVEDO NIEVES, HEROHILDA       ADDRESS ON FILE
ACEVEDO NIEVES, IDALIA          ADDRESS ON FILE
ACEVEDO NIEVES, JOHANNIE        ADDRESS ON FILE
ACEVEDO NIEVES, JOSE A          ADDRESS ON FILE
ACEVEDO NIEVES, JOSE L          ADDRESS ON FILE
ACEVEDO NIEVES, JULIO C.        ADDRESS ON FILE
ACEVEDO NIEVES, NELIDA          ADDRESS ON FILE
ACEVEDO NIEVES, RUBEN           ADDRESS ON FILE
ACEVEDO NIEVES, VIVIAN E        ADDRESS ON FILE
ACEVEDO NIEVES, WALDEMAR        ADDRESS ON FILE
ACEVEDO NIEVES, WILFREDO        ADDRESS ON FILE
ACEVEDO NIEVES, ZORAIDA         ADDRESS ON FILE
ACEVEDO NORIEGA MD, NORMA       ADDRESS ON FILE
ACEVEDO NORIEGA, NORMA          ADDRESS ON FILE
ACEVEDO NORIEGA, WILLIAM        ADDRESS ON FILE
ACEVEDO NUNEZ, MICHELLE         ADDRESS ON FILE
ACEVEDO NUNEZ, PATRICIA         ADDRESS ON FILE
ACEVEDO NUNEZ, RONALD L         ADDRESS ON FILE
ACEVEDO OCANA, JUAN M.          ADDRESS ON FILE
Acevedo Ocana, Juan Marcos      ADDRESS ON FILE
ACEVEDO OCANA, PATRICIA N.      ADDRESS ON FILE
ACEVEDO OCASIO, JUAN            ADDRESS ON FILE
ACEVEDO OJEDA, ALMA             ADDRESS ON FILE
ACEVEDO OJEDA, ALMA H.          ADDRESS ON FILE
ACEVEDO OJEDA, EUGENIO          ADDRESS ON FILE




                                                                            Page 47 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 48 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO OJEDA, MICHAEL         ADDRESS ON FILE
ACEVEDO OJEDA, RAMON LEANDRO   ADDRESS ON FILE
ACEVEDO OLAN, NELL I           ADDRESS ON FILE
ACEVEDO OLAVARRIA, ALEXIS      ADDRESS ON FILE
Acevedo Olavarria, Heriberto   ADDRESS ON FILE
ACEVEDO OLAVARRIA, MARVIN      ADDRESS ON FILE
ACEVEDO OLAVARRIA, MILDRED     ADDRESS ON FILE
Acevedo Olivencia, Edgardo     ADDRESS ON FILE
Acevedo Olivencia, Jose L      ADDRESS ON FILE
ACEVEDO OLIVENCIA, WANDICK     ADDRESS ON FILE
ACEVEDO OLIVER, MARIGLORIA     ADDRESS ON FILE
ACEVEDO OLIVERAS, ANTONIO      ADDRESS ON FILE
ACEVEDO OLIVERAS, MATILDE      ADDRESS ON FILE
ACEVEDO OLIVERAS, ZURIEL       ADDRESS ON FILE
ACEVEDO OLMEDA, DAISY M.       ADDRESS ON FILE
ACEVEDO OLMEDO, EVELYN         ADDRESS ON FILE
ACEVEDO OQUENDO, AGUSTINA      ADDRESS ON FILE
ACEVEDO OQUENDO, CARMEN L      ADDRESS ON FILE
ACEVEDO OQUENDO, GLORIBEL      ADDRESS ON FILE
ACEVEDO OQUENDO, HILDA         ADDRESS ON FILE
ACEVEDO OQUENDO, LUIS          ADDRESS ON FILE
ACEVEDO ORAMA, ANGEL M.        ADDRESS ON FILE
ACEVEDO ORAMA, CECILIA         ADDRESS ON FILE
ACEVEDO ORAMA, EDDIE N.        ADDRESS ON FILE
ACEVEDO ORAMA, ELZABETH        ADDRESS ON FILE
ACEVEDO ORAMA, MANUEL          ADDRESS ON FILE
ACEVEDO ORAMAS, JESSIE ANN     ADDRESS ON FILE
ACEVEDO ORTA, EDUARDO          ADDRESS ON FILE
ACEVEDO ORTA, LOURDES M        ADDRESS ON FILE
ACEVEDO ORTA, MARIA L          ADDRESS ON FILE
ACEVEDO ORTA, SANDRA           ADDRESS ON FILE
ACEVEDO ORTA, SONIA            ADDRESS ON FILE
ACEVEDO ORTEGA, ANGEL L.       ADDRESS ON FILE
ACEVEDO ORTEGA, CARMEN G       ADDRESS ON FILE
ACEVEDO ORTEGA, NICOLE S.      ADDRESS ON FILE
ACEVEDO ORTEGA, ONIX           ADDRESS ON FILE
ACEVEDO ORTIZ, ANDRES          ADDRESS ON FILE
ACEVEDO ORTIZ, ANGEL L         ADDRESS ON FILE
ACEVEDO ORTIZ, BRUNILDA H      ADDRESS ON FILE
ACEVEDO ORTIZ, CARLOS          ADDRESS ON FILE
ACEVEDO ORTIZ, CARMEN L        ADDRESS ON FILE
ACEVEDO ORTIZ, CARMEN L.       ADDRESS ON FILE
ACEVEDO ORTIZ, DEBORA          ADDRESS ON FILE
ACEVEDO ORTIZ, ESPERANZA       ADDRESS ON FILE
ACEVEDO ORTIZ, ESTEBAN         ADDRESS ON FILE
ACEVEDO ORTIZ, HAYDEE M        ADDRESS ON FILE
ACEVEDO ORTIZ, IVETTE M        ADDRESS ON FILE
ACEVEDO ORTIZ, JOSE            ADDRESS ON FILE
ACEVEDO ORTIZ, JOSE            ADDRESS ON FILE
ACEVEDO ORTIZ, JOSE A.         ADDRESS ON FILE
ACEVEDO ORTIZ, JOSE E          ADDRESS ON FILE
Acevedo Ortiz, Kischa          ADDRESS ON FILE
ACEVEDO ORTIZ, LESBY M         ADDRESS ON FILE
ACEVEDO ORTIZ, LIZZETTE        ADDRESS ON FILE
ACEVEDO ORTIZ, LUZ             ADDRESS ON FILE
ACEVEDO ORTIZ, MARGARITA       ADDRESS ON FILE
ACEVEDO ORTIZ, MARGARITA       ADDRESS ON FILE
ACEVEDO ORTIZ, MILAGROS        ADDRESS ON FILE
ACEVEDO ORTIZ, NOELIA          ADDRESS ON FILE
ACEVEDO ORTIZ, OMAR            ADDRESS ON FILE




                                                                           Page 48 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 49 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Acevedo Ortiz, Omar A         ADDRESS ON FILE
ACEVEDO ORTIZ, PABLO          ADDRESS ON FILE
ACEVEDO ORTIZ, RAMON H        ADDRESS ON FILE
Acevedo Ortiz, Ruben O        ADDRESS ON FILE
ACEVEDO ORTIZ, VILMARIE       ADDRESS ON FILE
ACEVEDO OSORIO, ANA N.        ADDRESS ON FILE
ACEVEDO OSORIO, SONIA         ADDRESS ON FILE
Acevedo Otero, Santiago       ADDRESS ON FILE
ACEVEDO PABON, CHAROTIE       ADDRESS ON FILE
ACEVEDO PABON, GLORIVEE       ADDRESS ON FILE
ACEVEDO PABON, GLORIVEE       ADDRESS ON FILE
ACEVEDO PABON, JOSE           ADDRESS ON FILE
ACEVEDO PABON, MARISEL        ADDRESS ON FILE
ACEVEDO PACHECO, ALEXIS E     ADDRESS ON FILE
ACEVEDO PACHECO, GILBERTO     ADDRESS ON FILE
ACEVEDO PACHECO, GLADYS E     ADDRESS ON FILE
ACEVEDO PACHECO, JONATHAN     ADDRESS ON FILE
ACEVEDO PACHECO, OMAR         ADDRESS ON FILE
ACEVEDO PADILLA, HECTOR       ADDRESS ON FILE
ACEVEDO PADILLA, MICHELLE M   ADDRESS ON FILE
ACEVEDO PAGAN, AMANDA         ADDRESS ON FILE
ACEVEDO PAGAN, CARLOS         ADDRESS ON FILE
ACEVEDO PAGAN, CARMEN         ADDRESS ON FILE
ACEVEDO PAGAN, CARMEN M       ADDRESS ON FILE
ACEVEDO PAGAN, CHRISTIAN      ADDRESS ON FILE
ACEVEDO PAGAN, EDUARDO        ADDRESS ON FILE
ACEVEDO PAGAN, GERARDO        ADDRESS ON FILE
ACEVEDO PAGAN, HECTOR         ADDRESS ON FILE
ACEVEDO PAGAN, JOSUE          ADDRESS ON FILE
ACEVEDO PAGAN, LEONEL         ADDRESS ON FILE
ACEVEDO PAGAN, LIDUVINA       ADDRESS ON FILE
ACEVEDO PAGAN, NATASHA M      ADDRESS ON FILE
ACEVEDO PAGAN, PHILLIP        ADDRESS ON FILE
ACEVEDO PAGAN, RAQUEL M       ADDRESS ON FILE
ACEVEDO PAGAN, REBECCA V      ADDRESS ON FILE
ACEVEDO PAGAN, SANDRA I       ADDRESS ON FILE
ACEVEDO PALAU, ADIANEZ C      ADDRESS ON FILE
ACEVEDO PALAU, ADIANEZ DEL    ADDRESS ON FILE
ACEVEDO PASTRANA, JOSE L      ADDRESS ON FILE
ACEVEDO PASTRANA, MIRIAM      ADDRESS ON FILE
Acevedo Patino, Osvaldo       ADDRESS ON FILE
ACEVEDO PATXOT, ENEIDA        ADDRESS ON FILE
ACEVEDO PELLICIA, ZAHYRA C.   ADDRESS ON FILE
ACEVEDO PELLOT, AWILDA        ADDRESS ON FILE
Acevedo Pellot, Carlos N      ADDRESS ON FILE
Acevedo Pellot, Jeniffer      ADDRESS ON FILE
ACEVEDO PELLOT, LUZ M.        ADDRESS ON FILE
ACEVEDO PELLOT, MARIANELA     ADDRESS ON FILE
ACEVEDO PENA, INDIRA M.       ADDRESS ON FILE
ACEVEDO PENA, WANDA           ADDRESS ON FILE
ACEVEDO PENALVERT, ADA I      ADDRESS ON FILE
ACEVEDO PENALVERT, GREGORIO   ADDRESS ON FILE
ACEVEDO PENUELA, MARTHA       ADDRESS ON FILE
ACEVEDO PENUELA, MARTHA L.    ADDRESS ON FILE
ACEVEDO PEON, ABNER           ADDRESS ON FILE
ACEVEDO PEPIN, FRANKLYN       ADDRESS ON FILE
ACEVEDO PEREZ MD, IDALI       ADDRESS ON FILE
ACEVEDO PEREZ, ABDIEL         ADDRESS ON FILE
ACEVEDO PEREZ, ADA            ADDRESS ON FILE
ACEVEDO PEREZ, ALEX           ADDRESS ON FILE




                                                                          Page 49 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No. Matrix
                                                                           17 BK 3283‐LTS Page 50 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO PEREZ, AMERICA      ADDRESS ON FILE
Acevedo Perez, Ana A        ADDRESS ON FILE
ACEVEDO PEREZ, ANA L        ADDRESS ON FILE
ACEVEDO PEREZ, ANGEL        ADDRESS ON FILE
Acevedo Perez, Angel A      ADDRESS ON FILE
ACEVEDO PEREZ, ANGEL M      ADDRESS ON FILE
ACEVEDO PEREZ, ARMANDO      ADDRESS ON FILE
ACEVEDO PEREZ, BLANCA E     ADDRESS ON FILE
ACEVEDO PEREZ, CARMEN N     ADDRESS ON FILE
ACEVEDO PEREZ, CHABELO      ADDRESS ON FILE
ACEVEDO PEREZ, DORIS B      ADDRESS ON FILE
ACEVEDO PEREZ, ELBA         ADDRESS ON FILE
ACEVEDO PEREZ, ELVIN        ADDRESS ON FILE
Acevedo Perez, Gabriel      ADDRESS ON FILE
Acevedo Perez, Gadiel       ADDRESS ON FILE
ACEVEDO PEREZ, GADIEL       ADDRESS ON FILE
ACEVEDO PEREZ, GIOVANNI     ADDRESS ON FILE
ACEVEDO PEREZ, GLORIA       ADDRESS ON FILE
ACEVEDO PEREZ, IDANIA       ADDRESS ON FILE
Acevedo Perez, Jesus        ADDRESS ON FILE
ACEVEDO PEREZ, JESUS        ADDRESS ON FILE
ACEVEDO PEREZ, JOSELITO     ADDRESS ON FILE
ACEVEDO PEREZ, JUAN         ADDRESS ON FILE
Acevedo Perez, Juan A       ADDRESS ON FILE
ACEVEDO PEREZ, JUAN C       ADDRESS ON FILE
ACEVEDO PEREZ, JULIO        ADDRESS ON FILE
ACEVEDO PEREZ, LISAIDA      ADDRESS ON FILE
ACEVEDO PEREZ, LIZBETH      ADDRESS ON FILE
Acevedo Perez, Losangel     ADDRESS ON FILE
Acevedo Perez, Luis         ADDRESS ON FILE
ACEVEDO PEREZ, LUZ N        ADDRESS ON FILE
ACEVEDO PEREZ, MANUEL       ADDRESS ON FILE
ACEVEDO PEREZ, MANUEL       ADDRESS ON FILE
ACEVEDO PEREZ, MARIA A      ADDRESS ON FILE
ACEVEDO PEREZ, MARIA M      ADDRESS ON FILE
ACEVEDO PEREZ, MARIBEL      ADDRESS ON FILE
ACEVEDO PEREZ, MARILUZ      ADDRESS ON FILE
ACEVEDO PEREZ, MARK A       ADDRESS ON FILE
ACEVEDO PEREZ, MARTA I.     ADDRESS ON FILE
Acevedo Perez, Migdalia     ADDRESS ON FILE
ACEVEDO PEREZ, MIGDALIA     ADDRESS ON FILE
ACEVEDO PEREZ, MILAGROS     ADDRESS ON FILE
ACEVEDO PEREZ, MILDRED      ADDRESS ON FILE
Acevedo Perez, Milton       ADDRESS ON FILE
ACEVEDO PEREZ, MINERVA      ADDRESS ON FILE
ACEVEDO PEREZ, MOISES       ADDRESS ON FILE
ACEVEDO PEREZ, MONSERRATE   ADDRESS ON FILE
ACEVEDO PEREZ, MYRNA Y.     ADDRESS ON FILE
ACEVEDO PEREZ, NELSON       ADDRESS ON FILE
ACEVEDO PEREZ, NERITZA      ADDRESS ON FILE
ACEVEDO PEREZ, NYDIA        ADDRESS ON FILE
Acevedo Perez, Osvaldo      ADDRESS ON FILE
ACEVEDO PEREZ, PABLO        ADDRESS ON FILE
ACEVEDO PEREZ, RAMON        ADDRESS ON FILE
ACEVEDO PEREZ, RAMON        ADDRESS ON FILE
ACEVEDO PEREZ, RENE         ADDRESS ON FILE
ACEVEDO PEREZ, ROBERTO      ADDRESS ON FILE
ACEVEDO PEREZ, ROSA E.      ADDRESS ON FILE
ACEVEDO PEREZ, VICTOR M     ADDRESS ON FILE
ACEVEDO PEREZ, WENDY I.     ADDRESS ON FILE




                                                                        Page 50 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No. Matrix
                                                                                    17 BK 3283‐LTS Page 51 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO PEREZ, YAMAIRA               ADDRESS ON FILE
ACEVEDO PEREZ, YARITZA               ADDRESS ON FILE
ACEVEDO PEREZ, YEIMI                 ADDRESS ON FILE
ACEVEDO PEREZ, YESIE                 ADDRESS ON FILE
ACEVEDO PICO, FRANCES                ADDRESS ON FILE
ACEVEDO PIETRI, YAMIL                ADDRESS ON FILE
ACEVEDO PINEIRO, JUAN R              ADDRESS ON FILE
Acevedo Pinero, Santiago             ADDRESS ON FILE
ACEVEDO PINO, GUADALUPE              ADDRESS ON FILE
ACEVEDO PINTOR, LUZ C                ADDRESS ON FILE
ACEVEDO PIZARRO, GLAYDA              ADDRESS ON FILE
ACEVEDO PLUMBING AND PROF SERVICES   URB PONCE DE LEON         1 CALLE GRANADA                                        MAYAGUEZ     PR      00680‐5124
ACEVEDO POLANCO, MARIA L             ADDRESS ON FILE
ACEVEDO POLANCO, VICENTE             ADDRESS ON FILE
ACEVEDO POLANCO, VIVIAN              ADDRESS ON FILE
ACEVEDO POMALES, SHEILA              ADDRESS ON FILE
ACEVEDO PONCE, EDITH                 ADDRESS ON FILE
ACEVEDO PONCE, MAYRA                 ADDRESS ON FILE
ACEVEDO PONCE, MORAIMA               ADDRESS ON FILE
ACEVEDO PORTALATIN, ELMER            ADDRESS ON FILE
ACEVEDO PRADO, OMAR                  ADDRESS ON FILE
ACEVEDO PRADO, VIVIAN M              ADDRESS ON FILE
ACEVEDO PRECIADO, MIGUEL             ADDRESS ON FILE
ACEVEDO PUJOLS, GRISELLE             ADDRESS ON FILE
ACEVEDO PUJOLS, JEANETTE             ADDRESS ON FILE
ACEVEDO PUMAREJO, MARIA I            ADDRESS ON FILE
ACEVEDO QUESTELL, MARC A             ADDRESS ON FILE
ACEVEDO QUILES, AMADOR               ADDRESS ON FILE
ACEVEDO QUILES, CARLOS               ADDRESS ON FILE
ACEVEDO QUILES, CARMEN               ADDRESS ON FILE
ACEVEDO QUILES, MARIA C              ADDRESS ON FILE
ACEVEDO QUILES, MARIBEL              ADDRESS ON FILE
ACEVEDO QUILES, MARILYN              ADDRESS ON FILE
ACEVEDO QUINONES, FELIPE             ADDRESS ON FILE
ACEVEDO QUINONES, ISMAEL             ADDRESS ON FILE
ACEVEDO QUINONES, JESSICA            ADDRESS ON FILE
ACEVEDO QUINONES, LUZ D              ADDRESS ON FILE
ACEVEDO QUINONES, MARIBEL            ADDRESS ON FILE
ACEVEDO QUINONES, RUTH               ADDRESS ON FILE
ACEVEDO QUINONEZ, AIDA               ADDRESS ON FILE
ACEVEDO QUINONEZ, DAVID              ADDRESS ON FILE
Acevedo Quinonez, Edwin              ADDRESS ON FILE
ACEVEDO QUINONEZ, MELISSA            ADDRESS ON FILE
ACEVEDO QUINTANA, ABIMAEL            ADDRESS ON FILE
ACEVEDO QUINTANA, FELIX              ADDRESS ON FILE
ACEVEDO RAMIREZ, CARLOS              ADDRESS ON FILE
ACEVEDO RAMIREZ, CARMEN              ADDRESS ON FILE
Acevedo Ramirez, Jose M              ADDRESS ON FILE
ACEVEDO RAMIREZ, JOYCE M             ADDRESS ON FILE
ACEVEDO RAMIREZ, JUAN                ADDRESS ON FILE
ACEVEDO RAMIREZ, JUAN M.             ADDRESS ON FILE
ACEVEDO RAMIREZ, JUANA               ADDRESS ON FILE
ACEVEDO RAMIREZ, LUIS                ADDRESS ON FILE
ACEVEDO RAMIREZ, LUZ E               ADDRESS ON FILE
ACEVEDO RAMIREZ, MARIANO             ADDRESS ON FILE
ACEVEDO RAMIREZ, NATTASHA            ADDRESS ON FILE
ACEVEDO RAMIREZ, NATTASSHA J         ADDRESS ON FILE
ACEVEDO RAMIREZ, SONIA N             ADDRESS ON FILE
ACEVEDO RAMIREZ, STEPHANIE           ADDRESS ON FILE
ACEVEDO RAMOS, ALBA I                ADDRESS ON FILE




                                                                                 Page 51 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 52 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO RAMOS, ANGEL L         ADDRESS ON FILE
Acevedo Ramos, Aurora          ADDRESS ON FILE
ACEVEDO RAMOS, CARLOS          ADDRESS ON FILE
Acevedo Ramos, Carmen E.       ADDRESS ON FILE
ACEVEDO RAMOS, DELIA I         ADDRESS ON FILE
ACEVEDO RAMOS, EDWIN           ADDRESS ON FILE
ACEVEDO RAMOS, EDWIN J.        ADDRESS ON FILE
ACEVEDO RAMOS, EDWIN N         ADDRESS ON FILE
ACEVEDO RAMOS, ELIENID         ADDRESS ON FILE
Acevedo Ramos, Emanuel         ADDRESS ON FILE
ACEVEDO RAMOS, EMANUEL         ADDRESS ON FILE
ACEVEDO RAMOS, ERIKA           ADDRESS ON FILE
Acevedo Ramos, Fernando L      ADDRESS ON FILE
ACEVEDO RAMOS, FRANCISCO       ADDRESS ON FILE
ACEVEDO RAMOS, GRACE N         ADDRESS ON FILE
Acevedo Ramos, Gregorio        ADDRESS ON FILE
ACEVEDO RAMOS, IRAIDA          ADDRESS ON FILE
Acevedo Ramos, Ivan O          ADDRESS ON FILE
ACEVEDO RAMOS, JESUS           ADDRESS ON FILE
ACEVEDO RAMOS, JULIO           ADDRESS ON FILE
ACEVEDO RAMOS, LOURDES J       ADDRESS ON FILE
ACEVEDO RAMOS, LUIS A          ADDRESS ON FILE
Acevedo Ramos, Milagros        ADDRESS ON FILE
ACEVEDO RAMOS, MILAGROS        ADDRESS ON FILE
ACEVEDO RAMOS, MONSERRATE      ADDRESS ON FILE
ACEVEDO RAMOS, NORMA           ADDRESS ON FILE
Acevedo Ramos, O'Briam         ADDRESS ON FILE
ACEVEDO RAMOS, RUBEN           ADDRESS ON FILE
ACEVEDO RAMOS, VICTOR A        ADDRESS ON FILE
ACEVEDO RANERO, OBED           ADDRESS ON FILE
Acevedo Ranero, Obed S         ADDRESS ON FILE
Acevedo Ranero, Suellen        ADDRESS ON FILE
ACEVEDO RDORIGUEZ, LISSETTE    ADDRESS ON FILE
ACEVEDO REGO MD, CARLOS        ADDRESS ON FILE
ACEVEDO RENTAL CAR INC         PO BOX 243                                                                       VIEQUES      PR      00765
ACEVEDO RESPETO, HIRAM A.      ADDRESS ON FILE
ACEVEDO RESTO, IVELISSE        ADDRESS ON FILE
ACEVEDO RESTO, IVELISSE        ADDRESS ON FILE
ACEVEDO REYES, ANGELIQUE M.    ADDRESS ON FILE
ACEVEDO REYES, CARMEN C        ADDRESS ON FILE
Acevedo Reyes, Carmen I        ADDRESS ON FILE
ACEVEDO REYES, FERDINAND       ADDRESS ON FILE
ACEVEDO REYES, ILEANA          ADDRESS ON FILE
ACEVEDO REYES, LAURA           ADDRESS ON FILE
ACEVEDO REYES, MARIA DE        ADDRESS ON FILE
ACEVEDO REYES, RAMON           ADDRESS ON FILE
ACEVEDO REYES, ROSA E          ADDRESS ON FILE
ACEVEDO REYES, WILLIAM         ADDRESS ON FILE
ACEVEDO RHODES, AMANDA         ADDRESS ON FILE
ACEVEDO RHODES, AMANDA         ADDRESS ON FILE
ACEVEDO RIBOT, ZULMA           ADDRESS ON FILE
ACEVEDO RIESTRA, ISABEL        ADDRESS ON FILE
Acevedo Riestra, Maria Del C   ADDRESS ON FILE
ACEVEDO RIGUAL, HECTOR         ADDRESS ON FILE
ACEVEDO RIOS, ANTONIO          ADDRESS ON FILE
ACEVEDO RIOS, ARMANDO          ADDRESS ON FILE
ACEVEDO RIOS, EDGAR            ADDRESS ON FILE
ACEVEDO RIOS, JUAN R           ADDRESS ON FILE
ACEVEDO RIOS, LOIDA            ADDRESS ON FILE
ACEVEDO RIOS, MANUEL           ADDRESS ON FILE




                                                                           Page 52 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No. Matrix
                                                                            17 BK 3283‐LTS Page 53 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO RIOS, MARIA C.       ADDRESS ON FILE
ACEVEDO RIOS, MAYRA          ADDRESS ON FILE
ACEVEDO RIOS, MELIZABETH     ADDRESS ON FILE
ACEVEDO RIOS, TOMAS          ADDRESS ON FILE
ACEVEDO RIOS, WILFREDO       ADDRESS ON FILE
ACEVEDO RIOS, YOLANDA        ADDRESS ON FILE
ACEVEDO RIOS, YVETTE         ADDRESS ON FILE
ACEVEDO RIVAS, IRIS J.       ADDRESS ON FILE
ACEVEDO RIVAS, IRIS J.       ADDRESS ON FILE
Acevedo Rivas, Julio A       ADDRESS ON FILE
ACEVEDO RIVAS, SHEILA        ADDRESS ON FILE
ACEVEDO RIVERA, ADRIAN       ADDRESS ON FILE
ACEVEDO RIVERA, AIDA         ADDRESS ON FILE
ACEVEDO RIVERA, ALBERTO      ADDRESS ON FILE
ACEVEDO RIVERA, ALICE R.     ADDRESS ON FILE
ACEVEDO RIVERA, ANA E        ADDRESS ON FILE
ACEVEDO RIVERA, ANA L        ADDRESS ON FILE
ACEVEDO RIVERA, ANABELLA     ADDRESS ON FILE
ACEVEDO RIVERA, ANABELLE     ADDRESS ON FILE
ACEVEDO RIVERA, ANEUDI       ADDRESS ON FILE
ACEVEDO RIVERA, ARIEL        ADDRESS ON FILE
ACEVEDO RIVERA, ARMANDO      ADDRESS ON FILE
ACEVEDO RIVERA, BEVERLY      ADDRESS ON FILE
Acevedo Rivera, Billo        ADDRESS ON FILE
ACEVEDO RIVERA, BRENDA L     ADDRESS ON FILE
ACEVEDO RIVERA, CARLOS J.    ADDRESS ON FILE
ACEVEDO RIVERA, CARMEN I     ADDRESS ON FILE
ACEVEDO RIVERA, CESAR I      ADDRESS ON FILE
ACEVEDO RIVERA, DAISY        ADDRESS ON FILE
ACEVEDO RIVERA, DANIEL       ADDRESS ON FILE
ACEVEDO RIVERA, DAVID        ADDRESS ON FILE
Acevedo Rivera, Derling E.   ADDRESS ON FILE
ACEVEDO RIVERA, DIANA        ADDRESS ON FILE
ACEVEDO RIVERA, DIANA        ADDRESS ON FILE
Acevedo Rivera, Edgardo      ADDRESS ON FILE
ACEVEDO RIVERA, EDSON        ADDRESS ON FILE
ACEVEDO RIVERA, EDWIN        ADDRESS ON FILE
ACEVEDO RIVERA, ELADIO       ADDRESS ON FILE
ACEVEDO RIVERA, ELBA         ADDRESS ON FILE
ACEVEDO RIVERA, ELENA        ADDRESS ON FILE
ACEVEDO RIVERA, ELIGIO       ADDRESS ON FILE
Acevedo Rivera, Elizabeth    ADDRESS ON FILE
ACEVEDO RIVERA, ELIZABETH    ADDRESS ON FILE
ACEVEDO RIVERA, ELSIE E.     ADDRESS ON FILE
ACEVEDO RIVERA, ELVIN        ADDRESS ON FILE
ACEVEDO RIVERA, EVELYN       ADDRESS ON FILE
ACEVEDO RIVERA, FELIX        ADDRESS ON FILE
ACEVEDO RIVERA, FELIX J      ADDRESS ON FILE
ACEVEDO RIVERA, FRANCISCO    ADDRESS ON FILE
ACEVEDO RIVERA, GILBERTO     ADDRESS ON FILE
ACEVEDO RIVERA, GRETCHEN     ADDRESS ON FILE
ACEVEDO RIVERA, ILEANETTE    ADDRESS ON FILE
ACEVEDO RIVERA, IRIS D       ADDRESS ON FILE
ACEVEDO RIVERA, IRMA L       ADDRESS ON FILE
ACEVEDO RIVERA, IVELISSE     ADDRESS ON FILE
ACEVEDO RIVERA, JAVIER       ADDRESS ON FILE
ACEVEDO RIVERA, JAVIER M.    ADDRESS ON FILE
ACEVEDO RIVERA, JESUS        ADDRESS ON FILE
ACEVEDO RIVERA, JESUSA       ADDRESS ON FILE
ACEVEDO RIVERA, JORGE        ADDRESS ON FILE




                                                                         Page 53 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No. Matrix
                                                                            17 BK 3283‐LTS Page 54 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO RIVERA, JOSE         ADDRESS ON FILE
ACEVEDO RIVERA, JOSE         ADDRESS ON FILE
ACEVEDO RIVERA, JOSE         ADDRESS ON FILE
ACEVEDO RIVERA, JOSE A.      ADDRESS ON FILE
ACEVEDO RIVERA, JOSE R.      ADDRESS ON FILE
ACEVEDO RIVERA, JOSUE        ADDRESS ON FILE
Acevedo Rivera, Josue O      ADDRESS ON FILE
ACEVEDO RIVERA, JUAN I       ADDRESS ON FILE
ACEVEDO RIVERA, JUANITA      ADDRESS ON FILE
ACEVEDO RIVERA, LEOPOLDO     ADDRESS ON FILE
ACEVEDO RIVERA, LESLIEBETH   ADDRESS ON FILE
ACEVEDO RIVERA, LUIS         ADDRESS ON FILE
ACEVEDO RIVERA, LUIS         ADDRESS ON FILE
ACEVEDO RIVERA, LUZ E        ADDRESS ON FILE
ACEVEDO RIVERA, LUZ M        ADDRESS ON FILE
ACEVEDO RIVERA, MADELINE     ADDRESS ON FILE
ACEVEDO RIVERA, MADELINE Y   ADDRESS ON FILE
ACEVEDO RIVERA, MANUEL E.    ADDRESS ON FILE
ACEVEDO RIVERA, MARIA I      ADDRESS ON FILE
ACEVEDO RIVERA, MARILYN      ADDRESS ON FILE
ACEVEDO RIVERA, MARISOL      ADDRESS ON FILE
ACEVEDO RIVERA, MARITZA      ADDRESS ON FILE
ACEVEDO RIVERA, MARITZA I.   ADDRESS ON FILE
Acevedo Rivera, Melquiades   ADDRESS ON FILE
ACEVEDO RIVERA, MERARI       ADDRESS ON FILE
ACEVEDO RIVERA, MIGUEL O     ADDRESS ON FILE
ACEVEDO RIVERA, NADIUSKA C   ADDRESS ON FILE
ACEVEDO RIVERA, NEFTALI      ADDRESS ON FILE
ACEVEDO RIVERA, NESTOR       ADDRESS ON FILE
ACEVEDO RIVERA, NESTOR E     ADDRESS ON FILE
ACEVEDO RIVERA, NILDA I      ADDRESS ON FILE
ACEVEDO RIVERA, NILO         ADDRESS ON FILE
ACEVEDO RIVERA, OLGA I       ADDRESS ON FILE
ACEVEDO RIVERA, OMAIRA       ADDRESS ON FILE
Acevedo Rivera, Pedro A      ADDRESS ON FILE
ACEVEDO RIVERA, RAFAEL       ADDRESS ON FILE
ACEVEDO RIVERA, RAMON        ADDRESS ON FILE
ACEVEDO RIVERA, RAMON E      ADDRESS ON FILE
ACEVEDO RIVERA, RAMONITA     ADDRESS ON FILE
ACEVEDO RIVERA, RICARDO      ADDRESS ON FILE
ACEVEDO RIVERA, RICARDO      ADDRESS ON FILE
ACEVEDO RIVERA, ROBERTO      ADDRESS ON FILE
ACEVEDO RIVERA, RODOLFO      ADDRESS ON FILE
ACEVEDO RIVERA, RODOLFO      ADDRESS ON FILE
ACEVEDO RIVERA, ROSA D       ADDRESS ON FILE
Acevedo Rivera, Samuel       ADDRESS ON FILE
Acevedo Rivera, Samuel       ADDRESS ON FILE
ACEVEDO RIVERA, SAMUEL       ADDRESS ON FILE
ACEVEDO RIVERA, SAMUEL G.    ADDRESS ON FILE
ACEVEDO RIVERA, SHAMMAI      ADDRESS ON FILE
ACEVEDO RIVERA, SHAMMAI E    ADDRESS ON FILE
ACEVEDO RIVERA, VERONICA     ADDRESS ON FILE
ACEVEDO RIVERA, VICTOR       ADDRESS ON FILE
ACEVEDO RIVERA, VICTORIA E   ADDRESS ON FILE
ACEVEDO RIVERA, WILLIAM      ADDRESS ON FILE
ACEVEDO RIVERA, WILSON       ADDRESS ON FILE
Acevedo Robles, Carlos J     ADDRESS ON FILE
ACEVEDO ROBLES, GLADYS       ADDRESS ON FILE
ACEVEDO ROBLES, GLADYS E     ADDRESS ON FILE
ACEVEDO ROBLES, LIESEL       ADDRESS ON FILE




                                                                         Page 54 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 55 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO ROBLES, LIESEL V        ADDRESS ON FILE
ACEVEDO ROBLES, LUIS            ADDRESS ON FILE
ACEVEDO ROBLES, MIGUEL A.       ADDRESS ON FILE
ACEVEDO ROCA, DAVID             ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ADA M        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ADAM         ADDRESS ON FILE
ACEVEDO RODRIGUEZ, AILEEN       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, AIMEE        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ANA A        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ANDRES       ADDRESS ON FILE
Acevedo Rodriguez, Angel L      ADDRESS ON FILE
Acevedo Rodriguez, Angel M.     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ANTONIA      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, BRENDA L     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, CESAR        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, CRISTIAN     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, DAISY        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, DAMIAN       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, DAVID        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, DENISSE      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, DONNA        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, EDWIN        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ELISA        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, EVA          ADDRESS ON FILE
ACEVEDO RODRIGUEZ, EVANGELINA   ADDRESS ON FILE
ACEVEDO RODRIGUEZ, EVANGELINA   ADDRESS ON FILE
ACEVEDO RODRIGUEZ, GABRIEL      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, GILDO        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, GLORIVEE     ADDRESS ON FILE
Acevedo Rodriguez, Glorivee     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, ISABEL       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, IVELISSE     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JACINTO      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JAVIER       ADDRESS ON FILE
Acevedo Rodriguez, Joan L       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JOHN         ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JOSE A       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JOSE E       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JUAN         ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JUAN L.      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JUAN R.      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JULIANNA     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JULIO        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, JULIO        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, KAREN J      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, KELVIN O     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, LINDA        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, LORAINE      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, LORAINE M.   ADDRESS ON FILE
Acevedo Rodriguez, Luis A       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, LUZ M        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARA         ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARA         ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARA T       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARIA C      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARIA DE L   ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARIA DEL    ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MARITERE     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, MOISES       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, PEDRO        ADDRESS ON FILE




                                                                            Page 55 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 56 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO RODRIGUEZ, RAQUEL       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, REYNALDO     ADDRESS ON FILE
ACEVEDO RODRIGUEZ, RUTH H.      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SAMUEL       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SAMUEL       ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SHIRLEY      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SOLIMAR      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SONIA        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SONIA        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SONIA        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SUZANNE      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, SUZANNE D    ADDRESS ON FILE
ACEVEDO RODRIGUEZ, TANIA        ADDRESS ON FILE
Acevedo Rodriguez, Tomas        ADDRESS ON FILE
ACEVEDO RODRIGUEZ, VIVIANA      ADDRESS ON FILE
ACEVEDO RODRIGUEZ, WILFREDO     ADDRESS ON FILE
Acevedo Rodriguez, Yamillette   ADDRESS ON FILE
ACEVEDO ROHENA, YESENIA         ADDRESS ON FILE
ACEVEDO ROJAS, MARICELIS        ADDRESS ON FILE
ACEVEDO ROJAS, MATILDE          ADDRESS ON FILE
ACEVEDO ROJAS, MAUREEN          ADDRESS ON FILE
Acevedo Roldan, Orlando         ADDRESS ON FILE
ACEVEDO ROLDAN, ORLANDO         ADDRESS ON FILE
ACEVEDO ROLDAN, ROSA I.         ADDRESS ON FILE
ACEVEDO ROLON, ROBERTO          ADDRESS ON FILE
Acevedo Roman, Ariel            ADDRESS ON FILE
ACEVEDO ROMAN, BENJAMIN         ADDRESS ON FILE
ACEVEDO ROMAN, DINELIA E        ADDRESS ON FILE
ACEVEDO ROMAN, ELBA I           ADDRESS ON FILE
Acevedo Roman, James            ADDRESS ON FILE
ACEVEDO ROMAN, JESSICA I        ADDRESS ON FILE
Acevedo Roman, Johnny           ADDRESS ON FILE
ACEVEDO ROMAN, JOSE             ADDRESS ON FILE
Acevedo Roman, Joseph           ADDRESS ON FILE
ACEVEDO ROMAN, JOSUE            ADDRESS ON FILE
ACEVEDO ROMAN, JUANA E          ADDRESS ON FILE
ACEVEDO ROMAN, LISDIAN          ADDRESS ON FILE
ACEVEDO ROMAN, LUIS A.          ADDRESS ON FILE
ACEVEDO ROMAN, LUIS E           ADDRESS ON FILE
ACEVEDO ROMAN, MARIE E          ADDRESS ON FILE
ACEVEDO ROMAN, MARILOURDES      ADDRESS ON FILE
ACEVEDO ROMAN, OMAR             ADDRESS ON FILE
ACEVEDO ROMAN, RAMONA           ADDRESS ON FILE
ACEVEDO ROMAN, YOLANDA          ADDRESS ON FILE
Acevedo Romero, Efrain          ADDRESS ON FILE
ACEVEDO ROMERO, GLORIA L        ADDRESS ON FILE
ACEVEDO ROMERO, LYDIA           ADDRESS ON FILE
ACEVEDO ROMERO, SAMUEL          ADDRESS ON FILE
ACEVEDO ROMERO, YAJAIRA         ADDRESS ON FILE
ACEVEDO RONDON, WANDA           ADDRESS ON FILE
ACEVEDO ROSA, ANGEL             ADDRESS ON FILE
ACEVEDO ROSA, ANGEL L.          ADDRESS ON FILE
ACEVEDO ROSA, ERIKA             ADDRESS ON FILE
Acevedo Rosa, Geanoel           ADDRESS ON FILE
Acevedo Rosa, Hector K.         ADDRESS ON FILE
ACEVEDO ROSA, JESSICA           ADDRESS ON FILE
ACEVEDO ROSA, JOSE              ADDRESS ON FILE
ACEVEDO ROSA, MARIA L .         ADDRESS ON FILE
ACEVEDO ROSA, MONICA            ADDRESS ON FILE
ACEVEDO ROSA, NOEL              ADDRESS ON FILE




                                                                            Page 56 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 57 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO ROSADO, CARMENCITA    ADDRESS ON FILE
ACEVEDO ROSADO, IBIS          ADDRESS ON FILE
ACEVEDO ROSADO, IVETTE        ADDRESS ON FILE
ACEVEDO ROSADO, JORGE         ADDRESS ON FILE
Acevedo Rosado, Juan A        ADDRESS ON FILE
Acevedo Rosado, Juan R.       ADDRESS ON FILE
ACEVEDO ROSADO, KONNAL        ADDRESS ON FILE
ACEVEDO ROSADO, LUCIA         ADDRESS ON FILE
ACEVEDO ROSADO, MAGGIE        ADDRESS ON FILE
ACEVEDO ROSADO, MARCOS        ADDRESS ON FILE
ACEVEDO ROSADO, MARTA I       ADDRESS ON FILE
ACEVEDO ROSADO, NOEL          ADDRESS ON FILE
Acevedo Rosado, Osvaldo       ADDRESS ON FILE
ACEVEDO ROSADO, PABLO         ADDRESS ON FILE
ACEVEDO ROSADO, ROBERT        ADDRESS ON FILE
ACEVEDO ROSADO, SANTOS        ADDRESS ON FILE
ACEVEDO ROSADO, SANTOS        ADDRESS ON FILE
Acevedo Rosado, Sixto J       ADDRESS ON FILE
ACEVEDO ROSARIO MD, WIDA M    ADDRESS ON FILE
ACEVEDO ROSARIO, ANNIE        ADDRESS ON FILE
Acevedo Rosario, Elsa         ADDRESS ON FILE
ACEVEDO ROSARIO, ERICK D      ADDRESS ON FILE
ACEVEDO ROSARIO, JOSE L       ADDRESS ON FILE
ACEVEDO ROSARIO, JOSE M       ADDRESS ON FILE
ACEVEDO ROSARIO, JUAN         ADDRESS ON FILE
ACEVEDO ROSARIO, JUAN O.      ADDRESS ON FILE
ACEVEDO ROSARIO, LEDY E.      ADDRESS ON FILE
ACEVEDO ROSARIO, LETICIA      ADDRESS ON FILE
ACEVEDO ROSARIO, LETICIA      ADDRESS ON FILE
ACEVEDO ROSARIO, LOURDES      ADDRESS ON FILE
Acevedo Rosario, Luis         ADDRESS ON FILE
ACEVEDO ROSARIO, LUIS F       ADDRESS ON FILE
ACEVEDO ROSARIO, MARIA DEL    ADDRESS ON FILE
ACEVEDO ROSARIO, NEIDA I.     ADDRESS ON FILE
ACEVEDO ROSARIO, SANTA        ADDRESS ON FILE
ACEVEDO ROSARIO, SONIA I      ADDRESS ON FILE
ACEVEDO ROSARIO, SONIA N      ADDRESS ON FILE
Acevedo Rosario, Yaritza M.   ADDRESS ON FILE
ACEVEDO ROTESTAN, SANDRA      ADDRESS ON FILE
ACEVEDO RUBIO, RAMON          ADDRESS ON FILE
ACEVEDO RUIZ, AGNES           ADDRESS ON FILE
ACEVEDO RUIZ, AIDA E          ADDRESS ON FILE
ACEVEDO RUIZ, AILEEN          ADDRESS ON FILE
Acevedo Ruiz, Alexander       ADDRESS ON FILE
ACEVEDO RUIZ, ANA G           ADDRESS ON FILE
ACEVEDO RUIZ, ANGEL           ADDRESS ON FILE
ACEVEDO RUIZ, BERNARDO        ADDRESS ON FILE
ACEVEDO RUIZ, BIBINO          ADDRESS ON FILE
ACEVEDO RUIZ, CARLOS          ADDRESS ON FILE
ACEVEDO RUIZ, CARLOS N.       ADDRESS ON FILE
ACEVEDO RUIZ, CARMEN N        ADDRESS ON FILE
ACEVEDO RUIZ, CLARA V         ADDRESS ON FILE
ACEVEDO RUIZ, DIANA G         ADDRESS ON FILE
ACEVEDO RUIZ, EDWIN           ADDRESS ON FILE
ACEVEDO RUIZ, EDWIN           ADDRESS ON FILE
ACEVEDO RUIZ, ELOIRDA         ADDRESS ON FILE
ACEVEDO RUIZ, EMANUEL         ADDRESS ON FILE
ACEVEDO RUIZ, FERMIN          ADDRESS ON FILE
ACEVEDO RUIZ, GISELA          ADDRESS ON FILE
ACEVEDO RUIZ, ILEANA          ADDRESS ON FILE




                                                                          Page 57 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 58 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO RUIZ, JOSE            ADDRESS ON FILE
Acevedo Ruiz, Juan A.         ADDRESS ON FILE
ACEVEDO RUIZ, MARIA E         ADDRESS ON FILE
ACEVEDO RUIZ, MARIA L         ADDRESS ON FILE
ACEVEDO RUIZ, MARILYN         ADDRESS ON FILE
ACEVEDO RUIZ, MICHELLE        ADDRESS ON FILE
ACEVEDO RUIZ, MIGDALIA        ADDRESS ON FILE
ACEVEDO RUIZ, NANCY           ADDRESS ON FILE
Acevedo Ruiz, Neftali         ADDRESS ON FILE
ACEVEDO RUIZ, NEFTALI         ADDRESS ON FILE
ACEVEDO RUIZ, NORBERTO        ADDRESS ON FILE
ACEVEDO RUIZ, RAFAEL          ADDRESS ON FILE
ACEVEDO RUIZ, ROSA N          ADDRESS ON FILE
ACEVEDO RUIZ, TEONILDA        ADDRESS ON FILE
ACEVEDO RUIZ, XIOMARA         ADDRESS ON FILE
ACEVEDO RULLAN, RAQUEL        ADDRESS ON FILE
ACEVEDO SALAS, ELIZABETH      ADDRESS ON FILE
ACEVEDO SALINAS, MARIBEL      ADDRESS ON FILE
ACEVEDO SALINAS, MIGUEL       ADDRESS ON FILE
ACEVEDO SAM, SOFIA            ADDRESS ON FILE
ACEVEDO SANABRIA, MIGUEL      ADDRESS ON FILE
ACEVEDO SANCHEZ MD, MARIA D   ADDRESS ON FILE
ACEVEDO SANCHEZ, ABEL R       ADDRESS ON FILE
ACEVEDO SANCHEZ, ANGEL        ADDRESS ON FILE
ACEVEDO SANCHEZ, ANTONIA      ADDRESS ON FILE
ACEVEDO SANCHEZ, CARMEN E     ADDRESS ON FILE
ACEVEDO SANCHEZ, ITZA M       ADDRESS ON FILE
ACEVEDO SANCHEZ, JENNIER      ADDRESS ON FILE
ACEVEDO SANCHEZ, JORGE        ADDRESS ON FILE
ACEVEDO SANCHEZ, JORGE L      ADDRESS ON FILE
ACEVEDO SANCHEZ, KARLAI       ADDRESS ON FILE
ACEVEDO SANCHEZ, KAROL E      ADDRESS ON FILE
ACEVEDO SANCHEZ, LUIS         ADDRESS ON FILE
ACEVEDO SANCHEZ, LUIS A       ADDRESS ON FILE
ACEVEDO SANCHEZ, LUZ E        ADDRESS ON FILE
ACEVEDO SANCHEZ, MANUEL E.    ADDRESS ON FILE
ACEVEDO SANCHEZ, MARGARITA    ADDRESS ON FILE
ACEVEDO SANCHEZ, MARIA DEL    ADDRESS ON FILE
ACEVEDO SANCHEZ, MARIA L      ADDRESS ON FILE
ACEVEDO SANCHEZ, MARILYN      ADDRESS ON FILE
ACEVEDO SANCHEZ, ROBERTO      ADDRESS ON FILE
ACEVEDO SANCHEZ, VANESSA      ADDRESS ON FILE
ACEVEDO SANCHEZ, VANESSA      ADDRESS ON FILE
ACEVEDO SANDOVAL, ABEL E      ADDRESS ON FILE
Acevedo Sandoval, Edwin       ADDRESS ON FILE
ACEVEDO SANDOVAL, EDWIN       ADDRESS ON FILE
ACEVEDO SANTA MARIA, JUAN C   ADDRESS ON FILE
ACEVEDO SANTAELLA, ANIBAL     ADDRESS ON FILE
ACEVEDO SANTAELLA, LUZ A      ADDRESS ON FILE
ACEVEDO SANTALIZ, LUIS        ADDRESS ON FILE
Acevedo Santana, Angel A.     ADDRESS ON FILE
ACEVEDO SANTANA, DAVID A      ADDRESS ON FILE
Acevedo Santana, Juan B       ADDRESS ON FILE
ACEVEDO SANTIAGO, BRENDA      ADDRESS ON FILE
ACEVEDO SANTIAGO, BRUNILDA    ADDRESS ON FILE
ACEVEDO SANTIAGO, CAIN J      ADDRESS ON FILE
ACEVEDO SANTIAGO, CARLOS      ADDRESS ON FILE
ACEVEDO SANTIAGO, EDWARD      ADDRESS ON FILE
ACEVEDO SANTIAGO, EDWARD      ADDRESS ON FILE
ACEVEDO SANTIAGO, EDWIN       ADDRESS ON FILE




                                                                          Page 58 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 59 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO SANTIAGO, ELSIE M       ADDRESS ON FILE
Acevedo Santiago, Ezequiel      ADDRESS ON FILE
ACEVEDO SANTIAGO, GABRIEL       ADDRESS ON FILE
ACEVEDO SANTIAGO, GABRIEL       ADDRESS ON FILE
ACEVEDO SANTIAGO, GUAILQUIDIA   ADDRESS ON FILE
ACEVEDO SANTIAGO, ISRAEL        ADDRESS ON FILE
ACEVEDO SANTIAGO, JANICE        ADDRESS ON FILE
ACEVEDO SANTIAGO, JOELYS Y      ADDRESS ON FILE
ACEVEDO SANTIAGO, JOSE          ADDRESS ON FILE
ACEVEDO SANTIAGO, JOSE M        ADDRESS ON FILE
ACEVEDO SANTIAGO, JUAN R.       ADDRESS ON FILE
ACEVEDO SANTIAGO, KEYLA         ADDRESS ON FILE
ACEVEDO SANTIAGO, LILLIAM       ADDRESS ON FILE
ACEVEDO SANTIAGO, LINDA         ADDRESS ON FILE
ACEVEDO SANTIAGO, LOURDES M     ADDRESS ON FILE
Acevedo Santiago, Luis A        ADDRESS ON FILE
ACEVEDO SANTIAGO, MIGUEL        ADDRESS ON FILE
ACEVEDO SANTIAGO, MIGUEL        ADDRESS ON FILE
ACEVEDO SANTIAGO, MIGUEL        ADDRESS ON FILE
ACEVEDO SANTIAGO, MIGUEL A      ADDRESS ON FILE
ACEVEDO SANTIAGO, MILDRED       ADDRESS ON FILE
ACEVEDO SANTIAGO, NELIDA        ADDRESS ON FILE
ACEVEDO SANTIAGO, NILDA         ADDRESS ON FILE
ACEVEDO SANTIAGO, NORMA I       ADDRESS ON FILE
ACEVEDO SANTIAGO, NYDIA I       ADDRESS ON FILE
ACEVEDO SANTIAGO, PEDRO A       ADDRESS ON FILE
Acevedo Santiago, Raul          ADDRESS ON FILE
ACEVEDO SANTIAGO, RAUL          ADDRESS ON FILE
ACEVEDO SANTIAGO, REINALDO      ADDRESS ON FILE
ACEVEDO SANTIAGO, RICHARD       ADDRESS ON FILE
ACEVEDO SANTIAGO, ROSA E        ADDRESS ON FILE
ACEVEDO SANTIAGO, VICTOR        ADDRESS ON FILE
ACEVEDO SANTIAGO, WALDEMAR      ADDRESS ON FILE
ACEVEDO SANTIAGO, YADIRA        ADDRESS ON FILE
Acevedo Santiago, Yolanda       ADDRESS ON FILE
ACEVEDO SANTOS, ADRIAN          ADDRESS ON FILE
ACEVEDO SANTOS, FERNANDO        ADDRESS ON FILE
ACEVEDO SANTOS, FRANCISCO       ADDRESS ON FILE
ACEVEDO SANTOS, JOSUE           ADDRESS ON FILE
ACEVEDO SANTOS, SHARON          ADDRESS ON FILE
ACEVEDO SARDEN, ANGELA          ADDRESS ON FILE
ACEVEDO SARIEGO, IDA            ADDRESS ON FILE
ACEVEDO SEGARRA, ZULMA E.       ADDRESS ON FILE
ACEVEDO SEGUI, ANGEL L.         ADDRESS ON FILE
ACEVEDO SEGUI, HECTOR L         ADDRESS ON FILE
Acevedo Segui, Ismael           ADDRESS ON FILE
ACEVEDO SEGUI, JULIO J          ADDRESS ON FILE
ACEVEDO SEIN, AIDA              ADDRESS ON FILE
ACEVEDO SEPULVEDA, ILIA R       ADDRESS ON FILE
ACEVEDO SEPULVEDA, MAGGIE D     ADDRESS ON FILE
ACEVEDO SEPULVEDA, NOELIA       ADDRESS ON FILE
Acevedo Sepulveda, Pablo        ADDRESS ON FILE
ACEVEDO SERRANO, ANGEL          ADDRESS ON FILE
ACEVEDO SERRANO, CLAUDIO        ADDRESS ON FILE
ACEVEDO SERRANO, JOSE           ADDRESS ON FILE
ACEVEDO SERRANO, MARIA Z        ADDRESS ON FILE
ACEVEDO SERRANO, MERALICE       ADDRESS ON FILE
ACEVEDO SERRANO, SAMUEL         ADDRESS ON FILE
ACEVEDO SERRANO, SUHEIL         ADDRESS ON FILE
ACEVEDO SERRANO, XIOMARA        ADDRESS ON FILE




                                                                            Page 59 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No. Matrix
                                                                            17 BK 3283‐LTS Page 60 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO SERRANO, YANIRA L    ADDRESS ON FILE
ACEVEDO SEVILLANO, MILTON    ADDRESS ON FILE
ACEVEDO SIERRA MD, IGNACIO   ADDRESS ON FILE
ACEVEDO SIERRA, ELSA I       ADDRESS ON FILE
ACEVEDO SIERRA, FRANCISCO    ADDRESS ON FILE
ACEVEDO SIERRA, IGNACIO      ADDRESS ON FILE
ACEVEDO SIERRA, JOANN        ADDRESS ON FILE
ACEVEDO SIERRA, YOVANI       ADDRESS ON FILE
ACEVEDO SILVA, ALICE Y       ADDRESS ON FILE
ACEVEDO SILVA, RUTH N        ADDRESS ON FILE
ACEVEDO SISCO, ELMA          ADDRESS ON FILE
ACEVEDO SISCO, JUAN D        ADDRESS ON FILE
ACEVEDO SOLA, JUVENAL        ADDRESS ON FILE
ACEVEDO SOLA, JUVENAL        ADDRESS ON FILE
ACEVEDO SOLA, MARGARITA I    ADDRESS ON FILE
ACEVEDO SOLAR PLUMBING INC   PO BOX 1344                                                                      MOCA         PR      00676
ACEVEDO SOLIS, ZORAIDA       ADDRESS ON FILE
ACEVEDO SOSA, ANGEL L        ADDRESS ON FILE
ACEVEDO SOSA, MANUEL A       ADDRESS ON FILE
ACEVEDO SOTO, ALEXIE         ADDRESS ON FILE
ACEVEDO SOTO, AMELIA         ADDRESS ON FILE
ACEVEDO SOTO, ANGEL L.       ADDRESS ON FILE
ACEVEDO SOTO, CARLOS M.      ADDRESS ON FILE
ACEVEDO SOTO, CARLOS S       ADDRESS ON FILE
ACEVEDO SOTO, CARMEN         ADDRESS ON FILE
Acevedo Soto, Edgardo        ADDRESS ON FILE
ACEVEDO SOTO, ELYNAI         ADDRESS ON FILE
ACEVEDO SOTO, GILBERTO       ADDRESS ON FILE
ACEVEDO SOTO, GIPSY          ADDRESS ON FILE
ACEVEDO SOTO, GLORIA E.      ADDRESS ON FILE
ACEVEDO SOTO, HECTOR         ADDRESS ON FILE
ACEVEDO SOTO, IRIS M         ADDRESS ON FILE
Acevedo Soto, Jannette       ADDRESS ON FILE
ACEVEDO SOTO, JANNETTE       ADDRESS ON FILE
ACEVEDO SOTO, JOSE A         ADDRESS ON FILE
Acevedo Soto, Joshua         ADDRESS ON FILE
ACEVEDO SOTO, JOSHUA         ADDRESS ON FILE
ACEVEDO SOTO, KEYSHLA        ADDRESS ON FILE
ACEVEDO SOTO, LISANDRA       ADDRESS ON FILE
Acevedo Soto, Luis A         ADDRESS ON FILE
ACEVEDO SOTO, LUIS A         ADDRESS ON FILE
ACEVEDO SOTO, MARIEL         ADDRESS ON FILE
Acevedo Soto, Miguel         ADDRESS ON FILE
Acevedo Soto, Osvaldo        ADDRESS ON FILE
Acevedo Soto, Osvaldo        ADDRESS ON FILE
Acevedo Soto, Ramonita       ADDRESS ON FILE
ACEVEDO SOTO, RAUL           ADDRESS ON FILE
ACEVEDO SOTO, RAUL           ADDRESS ON FILE
ACEVEDO SOTO, RUBEN O.       ADDRESS ON FILE
ACEVEDO SOTO, SOL M.         ADDRESS ON FILE
ACEVEDO SOTO, VERONICA       ADDRESS ON FILE
ACEVEDO SOTO, VERONICA       ADDRESS ON FILE
ACEVEDO SOTO, YAMILEC        ADDRESS ON FILE
ACEVEDO SOTO, YOLANDA        ADDRESS ON FILE
ACEVEDO SOTO, ZAYDEELIS      ADDRESS ON FILE
ACEVEDO STEIDEL, GLORIA      ADDRESS ON FILE
ACEVEDO STEIDEL, LARISSA M   ADDRESS ON FILE
ACEVEDO SUAREZ, ALAN         ADDRESS ON FILE
ACEVEDO SUAREZ, JOAN M       ADDRESS ON FILE
ACEVEDO SYLVA, OBDULIA       ADDRESS ON FILE




                                                                         Page 60 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 61 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO TACORONTE MD, JOSE B   ADDRESS ON FILE
ACEVEDO TANO, MILAGROS         ADDRESS ON FILE
ACEVEDO TAPIA, ANA M           ADDRESS ON FILE
ACEVEDO TAVAREZ, LIONEL        ADDRESS ON FILE
ACEVEDO TEJADA, HAYDELIS       ADDRESS ON FILE
Acevedo Tellado, Lydia E       ADDRESS ON FILE
ACEVEDO TELLADO, LYDIA E.      ADDRESS ON FILE
ACEVEDO TELLADO, SAMIRA        ADDRESS ON FILE
ACEVEDO TELLADO, SAMIRA        ADDRESS ON FILE
ACEVEDO TIRADO, GLORIMAR       ADDRESS ON FILE
ACEVEDO TIRADO, IDELISA        ADDRESS ON FILE
ACEVEDO TIRADO, LYMARI         ADDRESS ON FILE
ACEVEDO TIRADO, VICTOR M       ADDRESS ON FILE
ACEVEDO TIZOL, KETCY           ADDRESS ON FILE
ACEVEDO TOLEDO, DORIS          ADDRESS ON FILE
ACEVEDO TOLEDO, EVER M.        ADDRESS ON FILE
ACEVEDO TOLEDO, FREDDIE        ADDRESS ON FILE
ACEVEDO TOLEDO, ROBERTO        ADDRESS ON FILE
ACEVEDO TORAL, JESSICA         ADDRESS ON FILE
ACEVEDO TORANO, FRANCES        ADDRESS ON FILE
ACEVEDO TORANO, FRANCES        ADDRESS ON FILE
ACEVEDO TORO, CLARIBEL         ADDRESS ON FILE
ACEVEDO TORO, MARCOS A         ADDRESS ON FILE
ACEVEDO TORRENS, ANGEL L       ADDRESS ON FILE
ACEVEDO TORRES, ANGEL          ADDRESS ON FILE
ACEVEDO TORRES, ANTHONY        ADDRESS ON FILE
ACEVEDO TORRES, DALMA          ADDRESS ON FILE
ACEVEDO TORRES, DAYSY I        ADDRESS ON FILE
ACEVEDO TORRES, DORA E         ADDRESS ON FILE
ACEVEDO TORRES, EDGAR          ADDRESS ON FILE
ACEVEDO TORRES, EDWIN          ADDRESS ON FILE
Acevedo Torres, Emilio         ADDRESS ON FILE
ACEVEDO TORRES, FRANCES Y      ADDRESS ON FILE
ACEVEDO TORRES, GABRIEL        ADDRESS ON FILE
ACEVEDO TORRES, GREGORY        ADDRESS ON FILE
ACEVEDO TORRES, HAYDEE         ADDRESS ON FILE
ACEVEDO TORRES, HECTOR         ADDRESS ON FILE
ACEVEDO TORRES, JANETTE        ADDRESS ON FILE
ACEVEDO TORRES, JOHNNY         ADDRESS ON FILE
ACEVEDO TORRES, JOSE L         ADDRESS ON FILE
Acevedo Torres, Juan C         ADDRESS ON FILE
ACEVEDO TORRES, LEMUEL         ADDRESS ON FILE
ACEVEDO TORRES, LESLIE         ADDRESS ON FILE
Acevedo Torres, Luis A.        ADDRESS ON FILE
ACEVEDO TORRES, MARIBEL        ADDRESS ON FILE
ACEVEDO TORRES, MARILIA        ADDRESS ON FILE
ACEVEDO TORRES, MICHELLE M.    ADDRESS ON FILE
ACEVEDO TORRES, RENARDO        ADDRESS ON FILE
ACEVEDO TORRES, SANDRA         ADDRESS ON FILE
ACEVEDO TORRES, SHEILA         ADDRESS ON FILE
ACEVEDO TORRES, SONIA          ADDRESS ON FILE
ACEVEDO TORRES, TERESITA       ADDRESS ON FILE
ACEVEDO TORRES, VANESSA        ADDRESS ON FILE
ACEVEDO TORRES, WANDA          ADDRESS ON FILE
Acevedo Torres, William        ADDRESS ON FILE
ACEVEDO TORRES, YARILKA        ADDRESS ON FILE
ACEVEDO TOSADO, ABELARDO       ADDRESS ON FILE
ACEVEDO TRINIDAD, ESTRELLITA   ADDRESS ON FILE
ACEVEDO UBINAS, DANIEL         ADDRESS ON FILE
ACEVEDO VALE, CHRISTINA        ADDRESS ON FILE




                                                                           Page 61 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 62 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO VALE, DALILA           ADDRESS ON FILE
ACEVEDO VALE, LUIS A           ADDRESS ON FILE
ACEVEDO VALENTIN, DAMIAN E     ADDRESS ON FILE
ACEVEDO VALENTIN, DAVID        ADDRESS ON FILE
ACEVEDO VALENTIN, ESMERALDA    ADDRESS ON FILE
ACEVEDO VALENTIN, EZEQUIEL     ADDRESS ON FILE
ACEVEDO VALENTIN, HERNAN       ADDRESS ON FILE
ACEVEDO VALENTIN, HILDA        ADDRESS ON FILE
ACEVEDO VALENTIN, ISMAEL       ADDRESS ON FILE
ACEVEDO VALENTIN, JAISY        ADDRESS ON FILE
ACEVEDO VALENTIN, JENNIE       ADDRESS ON FILE
Acevedo Valentin, Luis A       ADDRESS ON FILE
ACEVEDO VALENTIN, MICHELLE     ADDRESS ON FILE
ACEVEDO VALENTIN, NOEL         ADDRESS ON FILE
ACEVEDO VALENTIN, ONEIDA       ADDRESS ON FILE
ACEVEDO VALENTIN, RAFAEL J     ADDRESS ON FILE
ACEVEDO VALENTIN, TERESA       ADDRESS ON FILE
ACEVEDO VALENTIN, ZOBEIDA      ADDRESS ON FILE
ACEVEDO VALENTIN, ZULMA        ADDRESS ON FILE
ACEVEDO VALLE, LINCOLN         ADDRESS ON FILE
ACEVEDO VALLE, LINCOLN         ADDRESS ON FILE
ACEVEDO VALLE, WILMER D        ADDRESS ON FILE
ACEVEDO VALLES MD, JOSE J      ADDRESS ON FILE
ACEVEDO VARELA MD, SANDRA      ADDRESS ON FILE
ACEVEDO VARELA, ANGEL          ADDRESS ON FILE
ACEVEDO VARELA, SANDRA         ADDRESS ON FILE
ACEVEDO VARGAS MD, LUZ M       ADDRESS ON FILE
ACEVEDO VARGAS, ANGEL E        ADDRESS ON FILE
ACEVEDO VARGAS, CELIA          ADDRESS ON FILE
ACEVEDO VARGAS, EFRAIN         ADDRESS ON FILE
ACEVEDO VARGAS, ELIZABETH      ADDRESS ON FILE
ACEVEDO VARGAS, GLORIA M       ADDRESS ON FILE
ACEVEDO VARGAS, JOSE R         ADDRESS ON FILE
ACEVEDO VARGAS, JUAN           ADDRESS ON FILE
ACEVEDO VARGAS, JUAN           ADDRESS ON FILE
ACEVEDO VARGAS, LUIS           ADDRESS ON FILE
ACEVEDO VARGAS, MARIBEL        ADDRESS ON FILE
ACEVEDO VARGAS, NYDIA I        ADDRESS ON FILE
ACEVEDO VARGAS, PEDRO          ADDRESS ON FILE
ACEVEDO VARGAS, SURIEL         ADDRESS ON FILE
ACEVEDO VARGAS, VIDAL          ADDRESS ON FILE
ACEVEDO VAZQUEZ, ABIEZER       ADDRESS ON FILE
ACEVEDO VAZQUEZ, ADARIS        ADDRESS ON FILE
ACEVEDO VAZQUEZ, ALBA          ADDRESS ON FILE
ACEVEDO VAZQUEZ, ANA H         ADDRESS ON FILE
ACEVEDO VAZQUEZ, FRIDDA J.     ADDRESS ON FILE
ACEVEDO VAZQUEZ, LESLEY A      ADDRESS ON FILE
ACEVEDO VAZQUEZ, LUIS          ADDRESS ON FILE
ACEVEDO VAZQUEZ, NAIRA         ADDRESS ON FILE
ACEVEDO VAZQUEZ, SIGFREDO A.   ADDRESS ON FILE
ACEVEDO VAZQUEZ, VICTOR        ADDRESS ON FILE
Acevedo Vazquez, Victor Omar   ADDRESS ON FILE
ACEVEDO VAZQUEZ, VICTOR S.     ADDRESS ON FILE
ACEVEDO VEGA, AIDA L           ADDRESS ON FILE
ACEVEDO VEGA, ANIBAL           ADDRESS ON FILE
ACEVEDO VEGA, BENJAMIN         ADDRESS ON FILE
ACEVEDO VEGA, BENJAMIN         ADDRESS ON FILE
Acevedo Vega, Carlos M         ADDRESS ON FILE
ACEVEDO VEGA, CARMEN J         ADDRESS ON FILE
Acevedo Vega, Conrado          ADDRESS ON FILE




                                                                           Page 62 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No. Matrix
                                                                                  17 BK 3283‐LTS Page 63 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACEVEDO VEGA, CRUZ                 ADDRESS ON FILE
ACEVEDO VEGA, CRUZ                 ADDRESS ON FILE
ACEVEDO VEGA, EDWIN                ADDRESS ON FILE
ACEVEDO VEGA, IRIS N               ADDRESS ON FILE
Acevedo Vega, Jayson O             ADDRESS ON FILE
ACEVEDO VEGA, JESUS                ADDRESS ON FILE
Acevedo Vega, Luis                 ADDRESS ON FILE
ACEVEDO VEGA, MARCOS               ADDRESS ON FILE
ACEVEDO VEGA, MILAGROS             ADDRESS ON FILE
Acevedo Vega, Narciso              ADDRESS ON FILE
ACEVEDO VEGA, NYDIA E              ADDRESS ON FILE
ACEVEDO VEGA, OSVALDO              ADDRESS ON FILE
ACEVEDO VEGA, RICHARD              ADDRESS ON FILE
ACEVEDO VEGA, RICHARD              ADDRESS ON FILE
ACEVEDO VEGA, XIOMARA              ADDRESS ON FILE
Acevedo Vega, Zulma                ADDRESS ON FILE
ACEVEDO VELAZQUEZ, CESAR ANTONIO   ADDRESS ON FILE
ACEVEDO VELAZQUEZ, NELSON          ADDRESS ON FILE
ACEVEDO VELEZ, AMBAR J             ADDRESS ON FILE
ACEVEDO VELEZ, AUREA               ADDRESS ON FILE
ACEVEDO VELEZ, CARMEN M            ADDRESS ON FILE
ACEVEDO VELEZ, CARMEN T            ADDRESS ON FILE
ACEVEDO VELEZ, CARMINA             ADDRESS ON FILE
ACEVEDO VELEZ, DAVID A.            ADDRESS ON FILE
Acevedo Velez, Eladio              ADDRESS ON FILE
ACEVEDO VELEZ, ELADIO              ADDRESS ON FILE
ACEVEDO VELEZ, EVA E               ADDRESS ON FILE
ACEVEDO VELEZ, GLENDALYS           ADDRESS ON FILE
ACEVEDO VELEZ, GUSTAVO             ADDRESS ON FILE
ACEVEDO VELEZ, GUSTAVO             ADDRESS ON FILE
ACEVEDO VELEZ, IRIS N              ADDRESS ON FILE
ACEVEDO VELEZ, IRMA V              ADDRESS ON FILE
ACEVEDO VELEZ, LUIS                ADDRESS ON FILE
ACEVEDO VELEZ, LUZ N               ADDRESS ON FILE
ACEVEDO VELEZ, MARIA               ADDRESS ON FILE
ACEVEDO VELEZ, MARIA               ADDRESS ON FILE
ACEVEDO VELEZ, RAMON               ADDRESS ON FILE
ACEVEDO VELEZ, WALDEMAR            ADDRESS ON FILE
ACEVEDO VELOZQUEZ, CRUZ            ADDRESS ON FILE
ACEVEDO VERA, ALEXIS               ADDRESS ON FILE
ACEVEDO VERA, AMARILIS             ADDRESS ON FILE
ACEVEDO VERA, AMARILIS             ADDRESS ON FILE
ACEVEDO VERDEJO, URSULA            ADDRESS ON FILE
ACEVEDO VICENTE, JORGE A           ADDRESS ON FILE
ACEVEDO VIERA, HUBERT              ADDRESS ON FILE
ACEVEDO VIERA, LAURA               ADDRESS ON FILE
ACEVEDO VILA, ANIBAL               ADDRESS ON FILE
ACEVEDO VILLAFANE, WILLIAM         ADDRESS ON FILE
ACEVEDO VILLALOBOS, NORMA I.       ADDRESS ON FILE
ACEVEDO VILLANUEVA, AIDA           ADDRESS ON FILE
ACEVEDO VILLANUEVA, ALEJANDRO      ADDRESS ON FILE
ACEVEDO VILLANUEVA, AMELIA         ADDRESS ON FILE
Acevedo Villanueva, Bienvenido     ADDRESS ON FILE
ACEVEDO VILLANUEVA, EDGARDO        ADDRESS ON FILE
ACEVEDO VILLANUEVA, JENNIFER       ADDRESS ON FILE
ACEVEDO VILLANUEVA, NELIDA         ADDRESS ON FILE
ACEVEDO VILLANUEVA, SUGEILY        ADDRESS ON FILE
ACEVEDO VIROLA, NIXALIZ            ADDRESS ON FILE
ACEVEDO VIVES, MAYDA I.            ADDRESS ON FILE
Acevedo Willis, Efrain             ADDRESS ON FILE




                                                                               Page 63 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No. Matrix
                                                                                  17 BK 3283‐LTS Page 64 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Acevedo Yambo, Ramon               ADDRESS ON FILE
ACEVEDO ZAMBRANA, IRIS D           ADDRESS ON FILE
ACEVEDO ZAMOT, DOBRYNA             ADDRESS ON FILE
ACEVEDO ZAVALA, DEBORAH            ADDRESS ON FILE
ACEVEDO ZAVALA, PABLO              ADDRESS ON FILE
ACEVEDO ZAYAS, CARMEN DORA         ADDRESS ON FILE
ACEVEDO ZAYAS, JUAN                ADDRESS ON FILE
ACEVEDO, ARMANDO                   ADDRESS ON FILE
ACEVEDO, ARQUIMIDEZ                ADDRESS ON FILE
ACEVEDO, BRAULIO J.                ADDRESS ON FILE
ACEVEDO, CARMEN                    ADDRESS ON FILE
ACEVEDO, EDILBERTO                 ADDRESS ON FILE
ACEVEDO, JONATHAN                  ADDRESS ON FILE
ACEVEDO, JOSE                      ADDRESS ON FILE
Acevedo, Margarita Pratts          ADDRESS ON FILE
ACEVEDO, MARIA                     ADDRESS ON FILE
ACEVEDO, MARIA A                   ADDRESS ON FILE
ACEVEDO, MIGUEL                    ADDRESS ON FILE
Acevedo, Myrna Valentin            ADDRESS ON FILE
ACEVEDO, PEDRO                     ADDRESS ON FILE
ACEVEDO, RAMON                     ADDRESS ON FILE
ACEVEDO, RAYMOND                   ADDRESS ON FILE
ACEVEDO, ROBERTO                   ADDRESS ON FILE
ACEVEDO, SANTOS                    ADDRESS ON FILE
ACEVEDO, TANIA MARGARITA           ADDRESS ON FILE
ACEVEDO, TOMASA                    ADDRESS ON FILE
ACEVEDO, WILFRED                   ADDRESS ON FILE
ACEVEDOCRESPO, JANNETTE            ADDRESS ON FILE
ACEVEDOGONZALEZ, BEATRIZ           ADDRESS ON FILE
ACEVEDOLUCIANO, ALBERTO            ADDRESS ON FILE
ACEVEDOOSORIO, RAFAEL              ADDRESS ON FILE
ACEVEDO‐PADRO, VIVIAN              ADDRESS ON FILE
ACEVEDOROLDAN, REINALDO            ADDRESS ON FILE
ACEVEDOTIZOL, YASMAR               ADDRESS ON FILE
ACEVEDOVAZQUEZ, LUIS A.            ADDRESS ON FILE
ACEVEDQ RENTAS, RQSA AMELIA        ADDRESS ON FILE
ACEVEO RIVERA, JOSUE               ADDRESS ON FILE
ACFE PR CHAPTER #61                PO BOX 363142                                                                    SAN JUAN     PR      00936‐3142
ACH COMMUNICATIONS SERVICES CORP   URB BERWIND ESTATES       A 10 CALLE 2                                           SAN JUAN     PR      00924
ACHA BUILDING SUPPLIES, INC.       P. O. BOX 9020150                                                                SAN JUAN     PR      00902‐0150
ACHA BUILDING SUPPLY, INC          PO BOX 9020150                                                                   SAN JUAN     PR      00902‐0150
ACHA CINTRON, LUIS R.              ADDRESS ON FILE
ACHA MARTINES, ALEXIS              ADDRESS ON FILE
ACHA MARTINEZ, FRANK K.            ADDRESS ON FILE
ACHA MARTINEZ, FRANK K.            ADDRESS ON FILE
ACHA SANTANA, RAFAEL               ADDRESS ON FILE
ACHA SANTANA, RAFAEL               ADDRESS ON FILE
ACHA TRADING                       PO BOX 4138                                                                      BAYAMON      PR      00957
ACHA TRADING CO INC                P O BOX 9020150                                                                  SAN JUAN     PR      00902
ACHA TRADING CO INC                PO BOX 150                                                                       SAN JUAN     PR      00902‐0150
ACHA VILLA, HILDA                  ADDRESS ON FILE
ACHECAR MARTINEZ, KATHERINE        ADDRESS ON FILE
ACHECAR MARTINEZ, SHEILA           ADDRESS ON FILE
ACHIEL PENA ESTRADA                ADDRESS ON FILE
ACHIEVE PEDIATRIC THERAPY          5126 DR PHILLIPS BLVD                                                            ORLANDO      FL      32819
ACI BROADBAND INC                  PO BOX 1119                                                                      CEIBA        PR      00735‐1119
ACIN DIAZ, LUIS M.                 ADDRESS ON FILE
ACISCLO CORREA SIERRA              ADDRESS ON FILE
ACISCLO FIGUEROA PEREZ             ADDRESS ON FILE
ACISCLO R FIGUEROA PEREZ           ADDRESS ON FILE




                                                                               Page 64 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No. Matrix
                                                                                     17 BK 3283‐LTS Page 65 of 3500
                                                                                                  Creditor Matrix

Creditor Name                         Address1                     Address2                                    Address3   Address4   City              State   PostalCode   Country
ACISUM GROUP INC                      URB PUERTO NUEVO             1003 CALLE 2 NE                                                   SAN JUAN          PR      00920
ACL SERVICES LTD                      1550 ALBERNI STREET                                                                            VANCOUVER         BC      V6G 2Z6      Canada
ACL SERVICES LTD                      1550 ALBERNI STREET                                                                            VANCOUVER                 V66 1A 5     CANADA
ACLA, PSC                             AVE. ROOSEVELT 400 STE 301                                                                     SAN JUAN          PR      00918‐2162
ACLOQUE JEAN, GERARD                  ADDRESS ON FILE
ACLOQUE MALLEBRANCHE, JUDE            ADDRESS ON FILE
ACM BAMBINI CORP                      FAIR VIEW                    724 CALLE GONZALO                                                 SAN JUAN          PR      00926
ACM ENGINEERING SERVICES              PO BOX 1341                                                                                    CIALES            PR      00638
ACME MANAYEMENT INC                   PMB 777                      PO BOX 7891                                                       GUAYNABO          PR      00970
ACME SANITARY SERVICES, LLC           22 GONZALEZ GIUSTI           CAPARRA OFFICE CENTER SUITE 200                                   GUAYNABO          PR      00968
ACN Communication Services, LLC       1000 PROGRESS PL                                                                               CONCORD           NC      28025‐2449
ACOBA REALTY DEVELOPMENT CORP         CENTRO COMERCIAL LAGO ALTO   CARR 876 EXP TRUJILLO ALTO STE 10                                 TRUJILLO ALTO     PR      00976
ACOBE FIGUEROA, LUZ M.                ADDRESS ON FILE
Acobe Gallego, Jose E                 ADDRESS ON FILE
ACOBE PEREZ, CLARA                    ADDRESS ON FILE
ACOBES LOZADA, XIOMARA                ADDRESS ON FILE
ACOBES MALDONADO, JOSE                ADDRESS ON FILE
ACOBES MALDONADO, MARIA I             ADDRESS ON FILE
ACOBIS RIVERA, JORGE                  ADDRESS ON FILE
ACOBIS ROSS, SHEILA E                 ADDRESS ON FILE
ACONCAGUA DENTAL MANUFACTURING LAB CO URB LOMAS VERDES             A4 CALLE LOMAS VERDES                                             BAYAMON           PR      00956
ACOPRO INC                            PO BOX 8040                                                                                    BAYAMON           PR      00960‐8040
ACOR S E                              P O BOX 191060                                                                                 SAN JUAN          PR      00919‐1060
ACOSTA ACEVEDO, MARIA                 ADDRESS ON FILE
ACOSTA ACEVEDO, MARITZA               ADDRESS ON FILE
ACOSTA ACEVEDO, RAMON                 ADDRESS ON FILE
Acosta Acevedo, Ramon A               ADDRESS ON FILE
ACOSTA ACOSTA, ADORACION              ADDRESS ON FILE
ACOSTA ACOSTA, ADRIAN                 ADDRESS ON FILE
ACOSTA ACOSTA, AWLDA                  ADDRESS ON FILE
ACOSTA ACOSTA, BIDALIA                ADDRESS ON FILE
Acosta Acosta, Daniel                 ADDRESS ON FILE
ACOSTA ACOSTA, HUMBERTO               ADDRESS ON FILE
ACOSTA ACOSTA, JULMARIE               ADDRESS ON FILE
ACOSTA ACOSTA, MAGDALENA              ADDRESS ON FILE
ACOSTA ACOSTA, NIDSA                  ADDRESS ON FILE
ACOSTA ACOSTA, OTILIA                 ADDRESS ON FILE
ACOSTA ACOSTA, ROBERTO                ADDRESS ON FILE
ACOSTA ACOSTA, SIFREDO J.             ADDRESS ON FILE
ACOSTA ACOSTA, YARITZA                ADDRESS ON FILE
ACOSTA ADJUSTMENT INC                 PO BOX 190789                                                                                  SAN JUAN          PR      00919‐0789
ACOSTA ADORNO, IRIS                   ADDRESS ON FILE
ACOSTA ADROVER, IDA A                 ADDRESS ON FILE
ACOSTA AGOSTO, RAFAEL                 ADDRESS ON FILE
ACOSTA ALAGO, FERNANDO                ADDRESS ON FILE
ACOSTA ALAGO, FERNANDO LUIS           ADDRESS ON FILE
ACOSTA ALAMO, TOMAS                   ADDRESS ON FILE
ACOSTA ALBINO MD, DOMINGO             ADDRESS ON FILE
ACOSTA ALBINO, DOMINGO                ADDRESS ON FILE
ACOSTA ALBINO, KAISY                  ADDRESS ON FILE
ACOSTA ALBINO, MARIA M.               ADDRESS ON FILE
ACOSTA ALEJANDRO, NOEMI               ADDRESS ON FILE
ACOSTA ALICEA, ELSIE                  ADDRESS ON FILE
ACOSTA ALICEA, FERDINAND              ADDRESS ON FILE
ACOSTA ALLENDE, DAVID G               ADDRESS ON FILE
ACOSTA ALMODOVAR, CARMEN              ADDRESS ON FILE
ACOSTA ALMODOVAR, ELIA I              ADDRESS ON FILE
ACOSTA ALMODOVAR, JOSE                ADDRESS ON FILE
ACOSTA ALMODOVAR, LISMARIE            ADDRESS ON FILE
ACOSTA ALVARADO, EMANUEL              ADDRESS ON FILE




                                                                                                 Page 65 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 66 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA ALVAREZ, DIANA         ADDRESS ON FILE
ACOSTA ALVERIO, ROBERTO       ADDRESS ON FILE
ACOSTA AMADOR, ELIZABETH      ADDRESS ON FILE
ACOSTA AMEZQUITA, DANIEL      ADDRESS ON FILE
ACOSTA ANAYA, CARMEN M        ADDRESS ON FILE
Acosta Andujar, Brenda I      ADDRESS ON FILE
ACOSTA ANDUJAR, MARIA M       ADDRESS ON FILE
ACOSTA ANGLADA, FELIX M       ADDRESS ON FILE
ACOSTA ANGLADA, JOSE A        ADDRESS ON FILE
ACOSTA ANGLERO, CARMEN        ADDRESS ON FILE
ACOSTA ANTOMPIETRI, CARLOS    ADDRESS ON FILE
ACOSTA ARCE, ELOISA           ADDRESS ON FILE
ACOSTA ARCE, LORNA            ADDRESS ON FILE
ACOSTA AROCHO, WANDA I        ADDRESS ON FILE
ACOSTA ARROYO, ALEXIS         ADDRESS ON FILE
ACOSTA ARROYO, CRYSTAL D      ADDRESS ON FILE
ACOSTA ARROYO, MILAGROS       ADDRESS ON FILE
ACOSTA ARROYO, ROBINSON       ADDRESS ON FILE
ACOSTA ARROYO, VIRGEN         ADDRESS ON FILE
ACOSTA ASHBY, YAIRA           ADDRESS ON FILE
ACOSTA AVILES, ARNALDO        ADDRESS ON FILE
ACOSTA AVILES, CARMEN         ADDRESS ON FILE
ACOSTA AVILES, IVELISSE       ADDRESS ON FILE
ACOSTA AYALA, ARTURO          ADDRESS ON FILE
ACOSTA AYALA, EDUARDO A       ADDRESS ON FILE
ACOSTA AYALA, YAZMIN          ADDRESS ON FILE
ACOSTA BA, SHERILEE           ADDRESS ON FILE
ACOSTA BAEZ, JESUS            ADDRESS ON FILE
Acosta Baez, Keyven           ADDRESS ON FILE
ACOSTA BAEZ, KEYVEN           ADDRESS ON FILE
ACOSTA BAEZ, LOIRA M.         ADDRESS ON FILE
ACOSTA BALAEZ, WILLIAM        ADDRESS ON FILE
ACOSTA BALAGUER, LIZMARI      ADDRESS ON FILE
ACOSTA BALAGUER, MARILIZ      ADDRESS ON FILE
ACOSTA BARBOSA, JAVIER        ADDRESS ON FILE
ACOSTA BARBOSA, JOHANNA       ADDRESS ON FILE
ACOSTA BATISTA, JOSE A        ADDRESS ON FILE
Acosta Beauchamp, Luis A      ADDRESS ON FILE
Acosta Berrios, Jesus         ADDRESS ON FILE
ACOSTA BETANCOURT, JUAN       ADDRESS ON FILE
ACOSTA BETANCOURT, JULIA T.   ADDRESS ON FILE
ACOSTA BISBAL, CATALINA       ADDRESS ON FILE
ACOSTA BISBAL, JAIME          ADDRESS ON FILE
ACOSTA BLANCO, CARLOS X       ADDRESS ON FILE
ACOSTA BLANCO, MARANGELY      ADDRESS ON FILE
ACOSTA BLANCO, MARANGELY      ADDRESS ON FILE
ACOSTA BOON, PEDRO            ADDRESS ON FILE
ACOSTA CABALLERO, HECTOR      ADDRESS ON FILE
ACOSTA CABAN, ALEXANDRA       ADDRESS ON FILE
ACOSTA CADENA MD, SURILO I    ADDRESS ON FILE
ACOSTA CADIZ, ANDRY I         ADDRESS ON FILE
ACOSTA CADIZ, GUSTAVO         ADDRESS ON FILE
ACOSTA CAGUIAS, RUTH E.       ADDRESS ON FILE
ACOSTA CALDERON, JENNIFER     ADDRESS ON FILE
ACOSTA CALDERON, LILIBETH     ADDRESS ON FILE
ACOSTA CALDERON, LIZETT       ADDRESS ON FILE
ACOSTA CALDERON, NORBERT L    ADDRESS ON FILE
Acosta Calero, Luis           ADDRESS ON FILE
ACOSTA CAMACHO, JAIME         ADDRESS ON FILE
ACOSTA CAMACHO, JENNY         ADDRESS ON FILE




                                                                          Page 66 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 67 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA CAMACHO, LESTER         ADDRESS ON FILE
ACOSTA CAMACHO, LOURDES        ADDRESS ON FILE
ACOSTA CAMACHO, SAMUEL         ADDRESS ON FILE
ACOSTA CAMACHO, WALDEMAR       ADDRESS ON FILE
ACOSTA CAMACHO, WANDA I.       ADDRESS ON FILE
ACOSTA CAMACHO,MARTHA          ADDRESS ON FILE
ACOSTA CANALES, YOLANDA        ADDRESS ON FILE
ACOSTA CANDELARIO, SAMUEL      ADDRESS ON FILE
ACOSTA CANDELARIO, VIRNA       ADDRESS ON FILE
ACOSTA CAQUIAS, JACQUELINE     ADDRESS ON FILE
ACOSTA CAQUIAS, JOSE           ADDRESS ON FILE
ACOSTA CAQUIAS, JUANITA        ADDRESS ON FILE
ACOSTA CARRASCO, YAMIL         ADDRESS ON FILE
ACOSTA CARRASQUILLO, OLGA I    ADDRESS ON FILE
ACOSTA CARRERAS, JOSE          ADDRESS ON FILE
ACOSTA CARRERO, YEIDY          ADDRESS ON FILE
ACOSTA CARRILLO, ZIRAH MARIE   ADDRESS ON FILE
ACOSTA CARTAGENA, ALMA         ADDRESS ON FILE
ACOSTA CASTILLO, DORIS         ADDRESS ON FILE
ACOSTA CASTILLO, EVELYN        ADDRESS ON FILE
Acosta Castillo, Jose A        ADDRESS ON FILE
ACOSTA CASTILLO, NEREIDA       ADDRESS ON FILE
ACOSTA CASTRO, CARLOS          ADDRESS ON FILE
ACOSTA CASTRO, CARLOS          ADDRESS ON FILE
ACOSTA CASTRO, JUAN            ADDRESS ON FILE
ACOSTA CAYOTT, RAMONITA        ADDRESS ON FILE
ACOSTA CHARLES, ESTHER I       ADDRESS ON FILE
ACOSTA CHARNECO, JAIME         ADDRESS ON FILE
ACOSTA CHAVES, ZULMA           ADDRESS ON FILE
ACOSTA CHERMOND, VICTOR        ADDRESS ON FILE
ACOSTA CHICO, VANESSA          ADDRESS ON FILE
ACOSTA CINTRON, CELINES        ADDRESS ON FILE
ACOSTA CINTRON, CELINES        ADDRESS ON FILE
ACOSTA CINTRON, JOSE A         ADDRESS ON FILE
ACOSTA CINTRON, NESTOR         ADDRESS ON FILE
ACOSTA COLLADO, JUAN DE        ADDRESS ON FILE
ACOSTA COLLADO, NANCY          ADDRESS ON FILE
ACOSTA COLLADO, ROSALINA       ADDRESS ON FILE
ACOSTA COLLAZO, AWILDA M.      ADDRESS ON FILE
ACOSTA COLON, ANGEL            ADDRESS ON FILE
ACOSTA COLON, ANGEL            ADDRESS ON FILE
ACOSTA COLON, DENISE           ADDRESS ON FILE
ACOSTA COLON, ISRAEL           ADDRESS ON FILE
ACOSTA COLON, LUIS             ADDRESS ON FILE
ACOSTA COLON, WILSON           ADDRESS ON FILE
ACOSTA COLON, YARELIS          ADDRESS ON FILE
ACOSTA COLON, YARITZA          ADDRESS ON FILE
ACOSTA COMPUTER SOLUTION       P.O. BOX 9022033                                                                 SAN JUAN     PR      00902‐2033
ACOSTA COOPER, JULIAN          ADDRESS ON FILE
Acosta Cora, Nestor            ADDRESS ON FILE
ACOSTA CORALES, ANTHONY        ADDRESS ON FILE
ACOSTA CORDERO, ARACELIS       ADDRESS ON FILE
ACOSTA CORDERO, DANIEL         ADDRESS ON FILE
ACOSTA CORREA, JOSE            ADDRESS ON FILE
ACOSTA CORTIJO, MARIA C        ADDRESS ON FILE
ACOSTA CORTINA, ORLANDO        ADDRESS ON FILE
ACOSTA COSTAS, ANA I           ADDRESS ON FILE
ACOSTA CRUZ, ALEX J.           ADDRESS ON FILE
ACOSTA CRUZ, CARLOS            ADDRESS ON FILE
Acosta Cruz, Felix A.          ADDRESS ON FILE




                                                                           Page 67 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 68 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA CRUZ, GERMAN            ADDRESS ON FILE
ACOSTA CRUZ, GUSTAVO F         ADDRESS ON FILE
ACOSTA CRUZ, HERMAN            ADDRESS ON FILE
ACOSTA CRUZ, IRMA              ADDRESS ON FILE
ACOSTA CRUZ, JOSE C            ADDRESS ON FILE
ACOSTA CRUZ, JUANITA           ADDRESS ON FILE
ACOSTA CRUZ, JULIO             ADDRESS ON FILE
ACOSTA CRUZ, LESTER            ADDRESS ON FILE
ACOSTA CRUZ, LESTER            ADDRESS ON FILE
ACOSTA CRUZ, LYDIA             ADDRESS ON FILE
ACOSTA CRUZ, MARILYN           ADDRESS ON FILE
ACOSTA CRUZ, MARITZA           ADDRESS ON FILE
ACOSTA CRUZ, MYRNA             ADDRESS ON FILE
ACOSTA CRUZ, NANCY             ADDRESS ON FILE
ACOSTA CRUZ, NANCY             ADDRESS ON FILE
ACOSTA CRUZ, NEREIDA           ADDRESS ON FILE
ACOSTA CRUZ, NOEMI             ADDRESS ON FILE
ACOSTA CRUZ, RUBILY M.         ADDRESS ON FILE
ACOSTA CRUZ, VICTOR            ADDRESS ON FILE
ACOSTA CRUZ, YESEMINE          ADDRESS ON FILE
ACOSTA CRUZ, YESENIA           ADDRESS ON FILE
ACOSTA CUEBAS, FERNANDO        ADDRESS ON FILE
ACOSTA CUEVAS, RUBEN           ADDRESS ON FILE
ACOSTA CUEVAS, WILSON          ADDRESS ON FILE
ACOSTA CUEVAS, WILSON          ADDRESS ON FILE
ACOSTA D OLEO, ALEXANDRA       ADDRESS ON FILE
ACOSTA D OLEO, BEATRIZ         ADDRESS ON FILE
ACOSTA DALECCIO, JOSE R        ADDRESS ON FILE
ACOSTA DALMAU, ELSIE           ADDRESS ON FILE
ACOSTA DAVID, DEANNA           ADDRESS ON FILE
Acosta Davila, Mayda Merisa    ADDRESS ON FILE
ACOSTA DAVILA, NAYDA           ADDRESS ON FILE
ACOSTA DAVILA, SAMUEL          ADDRESS ON FILE
ACOSTA DE COLON, NYLSA B.      ADDRESS ON FILE
ACOSTA DE JESUS MD, CLARA      ADDRESS ON FILE
ACOSTA DE JESUS, ARLENE        ADDRESS ON FILE
ACOSTA DE JESUS, JOSE          ADDRESS ON FILE
ACOSTA DE JESUS, JOSE          ADDRESS ON FILE
ACOSTA DE JESUS, ROGER D       ADDRESS ON FILE
ACOSTA DE LA CRUZ, GREGORIO    ADDRESS ON FILE
ACOSTA DE LA ROSA, DEYANIRA    ADDRESS ON FILE
ACOSTA DE ROMERO, CARMEN A     ADDRESS ON FILE
ACOSTA DE VELEZ, MILCA         ADDRESS ON FILE
ACOSTA DEL TORO MD, HUMBERTO   ADDRESS ON FILE
ACOSTA DEL TORO, LOURDES       ADDRESS ON FILE
ACOSTA DEL VALLE, JULIA        ADDRESS ON FILE
ACOSTA DELGADO, MAYLEEN        ADDRESS ON FILE
ACOSTA DELGADO, REINALDO       ADDRESS ON FILE
ACOSTA DELGADO, ROSSANA        ADDRESS ON FILE
ACOSTA DELIZ, JUAN             ADDRESS ON FILE
ACOSTA DESSUS, MARIA DEL R     ADDRESS ON FILE
ACOSTA DIAZ, DAVID             ADDRESS ON FILE
ACOSTA DIAZ, FRANCES M         ADDRESS ON FILE
ACOSTA DIAZ, JOSE              ADDRESS ON FILE
ACOSTA DIAZ, JOSE O.           ADDRESS ON FILE
ACOSTA DIAZ, JULIO             ADDRESS ON FILE
ACOSTA DIAZ, LUIS              ADDRESS ON FILE
ACOSTA DIAZ, PEDRO             ADDRESS ON FILE
ACOSTA DIAZ, PEDRO             ADDRESS ON FILE
ACOSTA DIAZ, RAFAEL A.         ADDRESS ON FILE




                                                                           Page 68 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 69 of 3500
                                                                                       Creditor Matrix

Creditor Name                            Address1                   Address2                        Address3   Address4    City          State   PostalCode   Country
ACOSTA DIAZ, XILMA                       ADDRESS ON FILE
ACOSTA DUMANTT, PALOMA MIA               ADDRESS ON FILE
ACOSTA DUPREY, EILEEN                    ADDRESS ON FILE
ACOSTA ECHEVARRIA, HILDA M               ADDRESS ON FILE
ACOSTA ELECTRICAL CONTRACTOR             PMB 127                    PO BOX 20000                                           CANOVANAS     PR      00729
Acosta Encarnacion, Felix E              ADDRESS ON FILE
ACOSTA ENCARNACION, JESMARIE             ADDRESS ON FILE
ACOSTA ENGINEERING PROFESSIONAL SERVICES VALLE ARRIBA HEIGHTS       CALLE 207 DA‐27                                        CAROLINA      PR      00983
ACOSTA ENGINEERING PSC                   PO BOX 8700                PMB105                                                 CAROLINA      PR      00988
ACOSTA ENGINEERING PSC                   VALLE ARRIBA HEIGHTS       DA 27 CALLE 207                                        CAROLINA      PR      00983
ACOSTA ESCALERA, AXNEL                   ADDRESS ON FILE
ACOSTA ESCALERA, AXNEL E.                ADDRESS ON FILE
ACOSTA ESCALERA, JOSE                    ADDRESS ON FILE
ACOSTA ESPADA, ELIZABETH                 ADDRESS ON FILE
ACOSTA ESPADA, ZULAY                     ADDRESS ON FILE
ACOSTA ESPASAS, ZULMA                    ADDRESS ON FILE
ACOSTA ESTRELLA, CARMEN S                ADDRESS ON FILE
ACOSTA FARGAS, GISENIA                   ADDRESS ON FILE
ACOSTA FEBO MD, MELVIN                   ADDRESS ON FILE
ACOSTA FEBO, MELBA                       ADDRESS ON FILE
ACOSTA FEBO, MELBA I                     ADDRESS ON FILE
ACOSTA FEBRES, EDWIN                     ADDRESS ON FILE
Acosta Feliciano, Edgardo                ADDRESS ON FILE
ACOSTA FELICIANO, EDGARDO                ADDRESS ON FILE
Acosta Feliciano, Eduardo                ADDRESS ON FILE
ACOSTA FELICIANO, GLORIBEL               ADDRESS ON FILE
ACOSTA FELICIANO, MARIBEL                ADDRESS ON FILE
ACOSTA FELICIANO, RAUL                   ADDRESS ON FILE
Acosta Feliciano, Reinaldo               ADDRESS ON FILE
ACOSTA FELICIANO, REY B.                 ADDRESS ON FILE
ACOSTA FELIX, MIGUEL A                   ADDRESS ON FILE
ACOSTA FERNANDEZ, KATIA                  ADDRESS ON FILE
ACOSTA FERRER, RICARDO                   ADDRESS ON FILE
ACOSTA FIGUERAS, DELMA                   ADDRESS ON FILE
ACOSTA FIGUERAS, JOSILDA                 ADDRESS ON FILE
ACOSTA FIGUEROA MD, RAUL                 ADDRESS ON FILE
ACOSTA FIGUEROA, DELMA                   ADDRESS ON FILE
ACOSTA FIGUEROA, GABRIEL                 ADDRESS ON FILE
ACOSTA FIGUEROA, GABRIEL                 ADDRESS ON FILE
ACOSTA FIGUEROA, LUIS F                  ADDRESS ON FILE
ACOSTA FIGUEROA, LYMARIE                 ADDRESS ON FILE
ACOSTA FIGUEROA, MAGALY Z                ADDRESS ON FILE
ACOSTA FIGUEROA, MARICEL                 ADDRESS ON FILE
ACOSTA FIGUEROA, MARITZA E               ADDRESS ON FILE
ACOSTA FIGUEROA, MIGDALIA                ADDRESS ON FILE
ACOSTA FIGUEROA, NELLIE V                ADDRESS ON FILE
ACOSTA FIGUEROA, NELSON                  ADDRESS ON FILE
ACOSTA FIGUEROA, NORMA                   ADDRESS ON FILE
ACOSTA FIGUEROA, PABLO                   ADDRESS ON FILE
Acosta Figueroa, Rafael                  ADDRESS ON FILE
ACOSTA FIGUEROA, WALDO                   ADDRESS ON FILE
ACOSTA FIGUEROA,GABRIEL                  ADDRESS ON FILE
ACOSTA FLORES, ALEX                      ADDRESS ON FILE
ACOSTA FLORES, JOSE A.                   ADDRESS ON FILE
ACOSTA FLORES, JUAN                      ADDRESS ON FILE
ACOSTA FLORES, LUIS                      ADDRESS ON FILE
ACOSTA FONTANEZ, ISMAEL                  ADDRESS ON FILE
ACOSTA FRANCO, CARLOS                    ADDRESS ON FILE
ACOSTA FRANCO, DENISE                    ADDRESS ON FILE
Acosta Frias, Diomedes A                 ADDRESS ON FILE




                                                                                      Page 69 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 70 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                   Address2                       Address3   Address4    City         State   PostalCode   Country
ACOSTA FRIAS, MAYRA              ADDRESS ON FILE
ACOSTA FRIAS, ROBERTO            ADDRESS ON FILE
ACOSTA FRONTERA, EDUARDO         ADDRESS ON FILE
ACOSTA FUENTES, PAMELA           ADDRESS ON FILE
ACOSTA GARAY, CARMEN D           ADDRESS ON FILE
ACOSTA GARAYUA, JOSE M           ADDRESS ON FILE
ACOSTA GARCIA, ANGELES           ADDRESS ON FILE
ACOSTA GARCIA, ANGELINA          ADDRESS ON FILE
ACOSTA GARCIA, ELSIE             ADDRESS ON FILE
ACOSTA GARCIA, JAVIER            ADDRESS ON FILE
ACOSTA GARCIA, JAVIER            ADDRESS ON FILE
Acosta Garcia, Juan C            ADDRESS ON FILE
ACOSTA GARCIA, LESTER            ADDRESS ON FILE
ACOSTA GARCIA, LUIS A.           ADDRESS ON FILE
ACOSTA GARCIA, MARIA M.          ADDRESS ON FILE
ACOSTA GARCIA, MARILYN           ADDRESS ON FILE
ACOSTA GARCIA, MARISEL           ADDRESS ON FILE
ACOSTA GARCIA, OLGA              ADDRESS ON FILE
ACOSTA GAUTIER & ASOCIADOS INC   34 CALLE FRESA MILAVILLE                                                         SAN JUAN     PR      00926‐5106
ACOSTA GAUTIER Y ASOC INC        URB MILAVILLE              34 CALLE FRESA                                        SAN JUAN     PR      00926‐5106
ACOSTA GERENA, ZADIER            ADDRESS ON FILE
ACOSTA GIL, YUDY                 ADDRESS ON FILE
ACOSTA GIRONA, SHEIZA            ADDRESS ON FILE
Acosta Gissel, Jose N            ADDRESS ON FILE
ACOSTA GISSEL, ROBERTO G         ADDRESS ON FILE
ACOSTA GONZALEZ, ALBERTO         ADDRESS ON FILE
ACOSTA GONZALEZ, ANGEL F.        ADDRESS ON FILE
ACOSTA GONZALEZ, ANGEL L         ADDRESS ON FILE
ACOSTA GONZALEZ, ANGELA          ADDRESS ON FILE
ACOSTA GONZALEZ, CECILIO         ADDRESS ON FILE
ACOSTA GONZALEZ, HUMBERTO        ADDRESS ON FILE
ACOSTA GONZALEZ, JOANA           ADDRESS ON FILE
ACOSTA GONZALEZ, MIGUEL          ADDRESS ON FILE
Acosta Gonzalez, Oscar E.        ADDRESS ON FILE
ACOSTA GONZALEZ, RAMON L         ADDRESS ON FILE
ACOSTA GONZALEZ, RAMON LUIS      ADDRESS ON FILE
ACOSTA GONZALEZ, ZACHA           ADDRESS ON FILE
ACOSTA GRAFALS, JEFFREY          ADDRESS ON FILE
ACOSTA GRAFALS, JOSYMAR          ADDRESS ON FILE
ACOSTA GRANIELA, YAFELIN         ADDRESS ON FILE
ACOSTA GREGORY, NYDIA M          ADDRESS ON FILE
ACOSTA GUERRERO, GILDA M.        ADDRESS ON FILE
ACOSTA GUILLOT, MARJORIE         ADDRESS ON FILE
ACOSTA GUTIERREZ BRYAN           ADDRESS ON FILE
ACOSTA GUZMAN, RAFAEL            ADDRESS ON FILE
ACOSTA HERNANDEZ MD, HECTOR D    ADDRESS ON FILE
ACOSTA HERNANDEZ, AMBAR          ADDRESS ON FILE
ACOSTA HERNANDEZ, ANGEL          ADDRESS ON FILE
ACOSTA HERNANDEZ, CAESAR         ADDRESS ON FILE
ACOSTA HERNANDEZ, CARMEN L       ADDRESS ON FILE
ACOSTA HERNANDEZ, DANIEL         ADDRESS ON FILE
ACOSTA HERNANDEZ, DEBORAH        ADDRESS ON FILE
ACOSTA HERNANDEZ, GERALDO        ADDRESS ON FILE
ACOSTA HERNANDEZ, GLADYS         ADDRESS ON FILE
ACOSTA HERNANDEZ, HERBERT        ADDRESS ON FILE
ACOSTA HERNANDEZ, ISRAEL         ADDRESS ON FILE
ACOSTA HERNANDEZ, IVETTE         ADDRESS ON FILE
ACOSTA HERNANDEZ, JAVIER         ADDRESS ON FILE
ACOSTA HERNANDEZ, JAVIER         ADDRESS ON FILE
ACOSTA HERNANDEZ, JUAN           ADDRESS ON FILE




                                                                             Page 70 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 71 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA HERNANDEZ, JUAN E      ADDRESS ON FILE
ACOSTA HERNANDEZ, RAUL        ADDRESS ON FILE
ACOSTA HERNANDEZ, SANDRA      ADDRESS ON FILE
ACOSTA HERNANDEZ, SARIANNE    ADDRESS ON FILE
ACOSTA IRAOLA, CARMEN         ADDRESS ON FILE
ACOSTA IRIZARRY, ANGIE        ADDRESS ON FILE
ACOSTA IRIZARRY, ANGIE        ADDRESS ON FILE
ACOSTA IRIZARRY, CHARLIE      ADDRESS ON FILE
ACOSTA IRIZARRY, ELVIN        ADDRESS ON FILE
ACOSTA IRIZARRY, JENNY        ADDRESS ON FILE
ACOSTA IRIZARRY, JORGE L      ADDRESS ON FILE
Acosta Irizarry, Jose R       ADDRESS ON FILE
ACOSTA IRIZARRY, MARGIE       ADDRESS ON FILE
ACOSTA IRRIZARY, MARIA I      ADDRESS ON FILE
ACOSTA JIMENEZ MD, CARLOS R   ADDRESS ON FILE
ACOSTA JIMENEZ, CLARIBEL      ADDRESS ON FILE
ACOSTA JIMENEZ, ENRIQUE       ADDRESS ON FILE
ACOSTA JORDAN, JOSE           ADDRESS ON FILE
ACOSTA LAGUER, JAFET V.       ADDRESS ON FILE
ACOSTA LAMBERTY, TOMAS        ADDRESS ON FILE
ACOSTA LAPOZ, YOKASTA         ADDRESS ON FILE
ACOSTA LAUREANO, OMAR         ADDRESS ON FILE
ACOSTA LEBRON, JORGE L        ADDRESS ON FILE
Acosta Lebron, Juan R         ADDRESS ON FILE
ACOSTA LEBRON, LUIS           ADDRESS ON FILE
ACOSTA LEON, LINA             ADDRESS ON FILE
ACOSTA LEON, RAFAEL           ADDRESS ON FILE
ACOSTA LLANOS, BIENVENIDA     ADDRESS ON FILE
ACOSTA LOPEZ, CARMEN RITA     ADDRESS ON FILE
ACOSTA LOPEZ, CRECENCIA       ADDRESS ON FILE
ACOSTA LOPEZ, DAVID           ADDRESS ON FILE
ACOSTA LOPEZ, FRANCISCO R     ADDRESS ON FILE
ACOSTA LOPEZ, JOHARMIN        ADDRESS ON FILE
ACOSTA LOPEZ, JOSE            ADDRESS ON FILE
ACOSTA LOPEZ, JOSE H          ADDRESS ON FILE
ACOSTA LOPEZ, JOSE R          ADDRESS ON FILE
ACOSTA LOPEZ, JULIO C.        ADDRESS ON FILE
ACOSTA LOPEZ, LISINIA R       ADDRESS ON FILE
ACOSTA LOPEZ, LUIS A          ADDRESS ON FILE
ACOSTA LOPEZ, YASMIN          ADDRESS ON FILE
ACOSTA LOPEZ, YESENIA         ADDRESS ON FILE
ACOSTA LUCIANO, EVELYN        ADDRESS ON FILE
ACOSTA LUCIANO, GLORIA M      ADDRESS ON FILE
ACOSTA LUCIANO, ILEANA        ADDRESS ON FILE
ACOSTA LUCIANO, MILTON        ADDRESS ON FILE
ACOSTA LUCIANO, NAIDA         ADDRESS ON FILE
ACOSTA LUCIANO, RAUL          ADDRESS ON FILE
ACOSTA LUCIANO, WANDA I.      ADDRESS ON FILE
ACOSTA LUGO, CARLOS           ADDRESS ON FILE
ACOSTA LUGO, CARMENM          ADDRESS ON FILE
ACOSTA LUGO, GABRIELA         ADDRESS ON FILE
Acosta Lugo, Jacqueline       ADDRESS ON FILE
ACOSTA LUGO, MIGUEL           ADDRESS ON FILE
ACOSTA LUGO, PEDRO            ADDRESS ON FILE
ACOSTA LUGO, ROBERTO L        ADDRESS ON FILE
ACOSTA LUNA, ANTHONIE         ADDRESS ON FILE
ACOSTA MALAVE, GIL            ADDRESS ON FILE
ACOSTA MALAVE, JOHNNY         ADDRESS ON FILE
ACOSTA MALDONADO, JOSE        ADDRESS ON FILE
ACOSTA MALDONADO, NEXZAIDA    ADDRESS ON FILE




                                                                          Page 71 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No. Matrix
                                                                                 17 BK 3283‐LTS Page 72 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA MALDONADO, PEDRO           ADDRESS ON FILE
ACOSTA MARCANO, RAMON             ADDRESS ON FILE
ACOSTA MARTIN, CARIDAD M          ADDRESS ON FILE
ACOSTA MARTINEZ MD, ALEXIS        ADDRESS ON FILE
ACOSTA MARTINEZ, ALEXIS           ADDRESS ON FILE
ACOSTA MARTINEZ, ARACELIS         ADDRESS ON FILE
ACOSTA MARTINEZ, BRIAN            ADDRESS ON FILE
ACOSTA MARTINEZ, CARLOS           ADDRESS ON FILE
ACOSTA MARTINEZ, CAROLYN          ADDRESS ON FILE
ACOSTA MARTINEZ, ELENA            ADDRESS ON FILE
ACOSTA MARTINEZ, FERDINAND        ADDRESS ON FILE
ACOSTA MARTINEZ, FRANCISCO        ADDRESS ON FILE
ACOSTA MARTINEZ, HECTOR           ADDRESS ON FILE
Acosta Martinez, Jaymanix         ADDRESS ON FILE
ACOSTA MARTINEZ, JAYMANIX         ADDRESS ON FILE
ACOSTA MARTINEZ, JOSE             ADDRESS ON FILE
ACOSTA MARTINEZ, JOSE DEL C       ADDRESS ON FILE
ACOSTA MARTINEZ, LUIS M           ADDRESS ON FILE
ACOSTA MARTINEZ, MARGARITA        ADDRESS ON FILE
ACOSTA MARTINEZ, MIGDALIA         ADDRESS ON FILE
ACOSTA MARTINEZ, NALLELY G.       ADDRESS ON FILE
ACOSTA MARTINEZ, PEDRO            ADDRESS ON FILE
ACOSTA MARTINEZ, ROSA A           ADDRESS ON FILE
ACOSTA MARTINEZ, SHARON M         ADDRESS ON FILE
ACOSTA MARTINEZ, SHEILA           ADDRESS ON FILE
ACOSTA MARTINEZ, THEODORA         ADDRESS ON FILE
ACOSTA MARTINEZ, VILMARYS         ADDRESS ON FILE
ACOSTA MARXUACH, ANGELITA         ADDRESS ON FILE
ACOSTA MATEO, KELVIN              ADDRESS ON FILE
ACOSTA MATEO, NORMALIZ            ADDRESS ON FILE
Acosta Matos, Aramis              ADDRESS ON FILE
Acosta Matos, Benjamin            ADDRESS ON FILE
Acosta Matos, Bienvenido          ADDRESS ON FILE
ACOSTA MATOS, GLADYS              ADDRESS ON FILE
ACOSTA MATOS, HECTOR A            ADDRESS ON FILE
ACOSTA MATOS, ISMAEL              ADDRESS ON FILE
ACOSTA MATOS, JEANNETTE           ADDRESS ON FILE
ACOSTA MATOS, JORGE               ADDRESS ON FILE
ACOSTA MATOS, ZENAIDA             ADDRESS ON FILE
ACOSTA MATTEY, JEREMY             ADDRESS ON FILE
ACOSTA MEDINA, ANTONIA            ADDRESS ON FILE
ACOSTA MEDINA, HARRIEL            ADDRESS ON FILE
ACOSTA MEDINA, JULIO              ADDRESS ON FILE
ACOSTA MEDINA, MARIA DEL C        ADDRESS ON FILE
ACOSTA MEDINA, MARJORIE           ADDRESS ON FILE
ACOSTA MEDINA, RAFAEL             ADDRESS ON FILE
ACOSTA MEDRANO, MELKYS            ADDRESS ON FILE
ACOSTA MEJIAS, LYMARIS            ADDRESS ON FILE
ACOSTA MELENDEZ, CARLOS           ADDRESS ON FILE
Acosta Melendez, Carlos A         ADDRESS ON FILE
ACOSTA MELENDEZ, CARLOS ALBERIC   ADDRESS ON FILE
ACOSTA MELENDEZ, DAISY            ADDRESS ON FILE
ACOSTA MELENDEZ, EDNA E.          ADDRESS ON FILE
ACOSTA MELENDEZ, JOSE             ADDRESS ON FILE
ACOSTA MELENDEZ, MARIA M          ADDRESS ON FILE
ACOSTA MELENDEZ, MARIA M.         ADDRESS ON FILE
ACOSTA MELENDEZ, OSVALDO          ADDRESS ON FILE
ACOSTA MELENDEZ, PABLO            ADDRESS ON FILE
ACOSTA MELENDEZ, RICHARD          ADDRESS ON FILE
ACOSTA MELENDEZ, SAMUEL           ADDRESS ON FILE




                                                                              Page 72 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 73 of 3500
                                                                                 Creditor Matrix

Creditor Name                    Address1                        Address2                      Address3   Address4   City      State   PostalCode   Country
ACOSTA MELENDEZ, VILMARIE        ADDRESS ON FILE
ACOSTA MENDEZ, EDELMIRA          ADDRESS ON FILE
ACOSTA MENDEZ, GILBERT           ADDRESS ON FILE
ACOSTA MENDEZ, MAGDA I           ADDRESS ON FILE
ACOSTA MENDOZA, LILLIAM          ADDRESS ON FILE
ACOSTA MENDOZA, MIRIAM           ADDRESS ON FILE
ACOSTA MERCADO, ANA M            ADDRESS ON FILE
ACOSTA MERCADO, FERNANDO         ADDRESS ON FILE
ACOSTA MERCADO, NORIS            ADDRESS ON FILE
ACOSTA MERCED, GLADY NELL        ADDRESS ON FILE
ACOSTA MERCED, JOSE              ADDRESS ON FILE
ACOSTA MERCED, JOSE              ADDRESS ON FILE
ACOSTA MIRANDA, CARMEN S         ADDRESS ON FILE
ACOSTA MIRANDA, JOSE L           ADDRESS ON FILE
ACOSTA MIRANDA, OMAR             ADDRESS ON FILE
ACOSTA MIRO, FRANCISCO R.        ADDRESS ON FILE
ACOSTA MIRO, FRANCISCO R.        ADDRESS ON FILE
ACOSTA MOLINA, ABIGAIL           ADDRESS ON FILE
ACOSTA MOLINA, CARMEN            ADDRESS ON FILE
ACOSTA MOLINA, JAVIER A          ADDRESS ON FILE
ACOSTA MOLINA, MAYRA             ADDRESS ON FILE
ACOSTA MOLINA, NILSA I           ADDRESS ON FILE
ACOSTA MONTALVO, DENNIS          ADDRESS ON FILE
ACOSTA MONTALVO, GLORYVEE        ADDRESS ON FILE
ACOSTA MONTALVO, MIGUEL A        ADDRESS ON FILE
ACOSTA MONTANEZ, JOSE            ADDRESS ON FILE
ACOSTA MONTANEZ, SANDRA          ADDRESS ON FILE
ACOSTA MONTERO, MARITZA          ADDRESS ON FILE
ACOSTA MONTES, LYDIA I           ADDRESS ON FILE
ACOSTA MONTES, MARITZA           ADDRESS ON FILE
ACOSTA MORA, LORENZA             ADDRESS ON FILE
Acosta Morales, Bartolo          ADDRESS ON FILE
ACOSTA MORALES, CARMEN I.        ADDRESS ON FILE
ACOSTA MORALES, ELY MANUEL       ADDRESS ON FILE
ACOSTA MORALES, KARLA J.         ADDRESS ON FILE
ACOSTA MORALES, MIGDALIA         ADDRESS ON FILE
ACOSTA MORALES, VICTOR           ADDRESS ON FILE
ACOSTA MULLER, GABRIEL           ADDRESS ON FILE
ACOSTA MUNIZ, GRISMILDA          ADDRESS ON FILE
ACOSTA MUNIZ, KEYLA J            ADDRESS ON FILE
ACOSTA MUNIZ, MARIA E            ADDRESS ON FILE
ACOSTA MUNIZ, MAYRA I            ADDRESS ON FILE
ACOSTA MUÑIZ, MAYRA L. Y OTROS   LCDO. RAFAEL SANCHEZ VALENTIN   PO BOX 331109                                       Ponce     PR      00733‐1109
ACOSTA MUNOZ, EFMAMJJASOND       ADDRESS ON FILE
ACOSTA NARVAEZ, XIOMARYS         ADDRESS ON FILE
ACOSTA NATAL, MARIBEL            ADDRESS ON FILE
ACOSTA NATAL, ROBERTO            ADDRESS ON FILE
ACOSTA NATER, WILFREDO           ADDRESS ON FILE
ACOSTA NAZARIO, ALLEN M          ADDRESS ON FILE
ACOSTA NAZARIO, ARIEL            ADDRESS ON FILE
ACOSTA NAZARIO, IRVIS            ADDRESS ON FILE
ACOSTA NAZARIO, IVAN             ADDRESS ON FILE
ACOSTA NAZARIO, LOURDES E        ADDRESS ON FILE
ACOSTA NAZARIO, MIGUEL           ADDRESS ON FILE
ACOSTA NAZARIO, NATALIA          ADDRESS ON FILE
ACOSTA NEGRON, JOAN              ADDRESS ON FILE
ACOSTA NEGRONI, ENEIDA           ADDRESS ON FILE
ACOSTA NIEVES, JOSUE             ADDRESS ON FILE
ACOSTA NUNEZ, ARIANA S           ADDRESS ON FILE
ACOSTA NUNEZ, CARMEN             ADDRESS ON FILE




                                                                                 Page 73 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No. Matrix
                                                                            17 BK 3283‐LTS Page 74 of 3500
                                                                                  Creditor Matrix

Creditor Name                Address1                         Address2                          Address3   Address4   City            State   PostalCode   Country
ACOSTA NUNEZ, MARISOL        ADDRESS ON FILE
ACOSTA OCASIO, MARITZA       ADDRESS ON FILE
ACOSTA OCASIO, MARITZA       ADDRESS ON FILE
ACOSTA OCASIO, PEDRO         ADDRESS ON FILE
ACOSTA OGANDO, OFELIA        ADDRESS ON FILE
ACOSTA OJEDA, ELIA E.        ADDRESS ON FILE
ACOSTA OLIVERAS, MARIA C     ADDRESS ON FILE
ACOSTA OLMEDA, HECTOR        ADDRESS ON FILE
ACOSTA OQUENDO, ONERIS       ADDRESS ON FILE
ACOSTA ORENGO, AMNERIS       ADDRESS ON FILE
ACOSTA ORENGO, JUAN J        ADDRESS ON FILE
ACOSTA ORRACA MD, IVAN       ADDRESS ON FILE
ACOSTA ORRACA, RENE          ADDRESS ON FILE
ACOSTA ORTIZ, ALEX MILTON    ADDRESS ON FILE
ACOSTA ORTIZ, CATIRIA D      ADDRESS ON FILE
ACOSTA ORTIZ, IDALIS         ADDRESS ON FILE
ACOSTA ORTIZ, JESSICA        ADDRESS ON FILE
ACOSTA ORTIZ, JIMMY          ADDRESS ON FILE
ACOSTA ORTIZ, JOSE A         ADDRESS ON FILE
ACOSTA ORTIZ, MERCEDITA      ADDRESS ON FILE
ACOSTA ORTIZ, MILTON         ADDRESS ON FILE
Acosta Ortiz, Milton I       ADDRESS ON FILE
ACOSTA ORTIZ, SYLVIA         ADDRESS ON FILE
ACOSTA ORTIZ, TATIANA        ADDRESS ON FILE
ACOSTA ORTIZ, WALTER         ADDRESS ON FILE
ACOSTA ORTIZ, YARELIS        ADDRESS ON FILE
ACOSTA OTERO MD, ANDRES      ADDRESS ON FILE
ACOSTA OTERO, ANGEL LUIS     ADDRESS ON FILE
ACOSTA PABON, DAVID          ADDRESS ON FILE
Acosta Pabon, Raul           ADDRESS ON FILE
ACOSTA PACHECO, ANGEL        ADDRESS ON FILE
ACOSTA PACHECO, CARLOS       ADDRESS ON FILE
ACOSTA PACHECO, DOMINGO L.   ADDRESS ON FILE
ACOSTA PACHECO, GEMARI       ADDRESS ON FILE
Acosta Pacheco, Wilfredo     ADDRESS ON FILE
ACOSTA PACHECO, WILFREDO     LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                              HORMIQUEROS     PR      00660‐0873
ACOSTA PACHECO, WILFREDO     LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                       PONCE           PR      00731
ACOSTA PACHECO, WILFREDO     ADDRESS ON FILE
ACOSTA PADILLA, JANICE       ADDRESS ON FILE
ACOSTA PADILLA, JORGE        ADDRESS ON FILE
ACOSTA PADILLA, LUCIA        ADDRESS ON FILE
ACOSTA PADILLA, SOL D        ADDRESS ON FILE
ACOSTA PADILLA, VIRGEN       ADDRESS ON FILE
ACOSTA PADIN, MYRTA          ADDRESS ON FILE
ACOSTA PADRO, ILEANA         ADDRESS ON FILE
ACOSTA PADRO, ILEANA         ADDRESS ON FILE
ACOSTA PADRO, IRAIDA         ADDRESS ON FILE
ACOSTA PAGAN, ALEXANDRA      ADDRESS ON FILE
ACOSTA PAGAN, IRIS           ADDRESS ON FILE
ACOSTA PAGAN, LUZ A          ADDRESS ON FILE
ACOSTA PAGAN, MIGDONIA       ADDRESS ON FILE
ACOSTA PAGAN, NELSON S.      ADDRESS ON FILE
Acosta Pardo, Carlos A       ADDRESS ON FILE
Acosta Pardo, Fernando J     ADDRESS ON FILE
ACOSTA PASTRANA, ADA I       ADDRESS ON FILE
Acosta Pellecier, Janice     ADDRESS ON FILE
ACOSTA PENA, ADA             ADDRESS ON FILE
ACOSTA PEREZ, AIDA           ADDRESS ON FILE
ACOSTA PEREZ, ALEX           ADDRESS ON FILE
Acosta Perez, Antonio E      ADDRESS ON FILE




                                                                                  Page 74 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 75 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA PEREZ, EDNA             ADDRESS ON FILE
ACOSTA PEREZ, FRANCISCA        ADDRESS ON FILE
Acosta Perez, Jayson           ADDRESS ON FILE
ACOSTA PEREZ, JUAN R           ADDRESS ON FILE
ACOSTA PEREZ, LUIS             ADDRESS ON FILE
ACOSTA PEREZ, MAYRA            ADDRESS ON FILE
ACOSTA PEREZ, MIGDALIA         ADDRESS ON FILE
ACOSTA PEREZ, MILAGROS B       ADDRESS ON FILE
ACOSTA PEREZ, OMAR             ADDRESS ON FILE
ACOSTA PEREZ, PAUL             ADDRESS ON FILE
ACOSTA PEREZ, REBECA           ADDRESS ON FILE
ACOSTA PEREZ, WILLIAM          ADDRESS ON FILE
ACOSTA PIZARRO, FRANCES        ADDRESS ON FILE
ACOSTA PIZARRO, JOSE           ADDRESS ON FILE
ACOSTA PLAZA, YOLANDA          ADDRESS ON FILE
ACOSTA PLAZA, YOLANDA          ADDRESS ON FILE
ACOSTA PORTALATIN, ABIMAEL     ADDRESS ON FILE
ACOSTA PORTALATIN, CARMEN L    ADDRESS ON FILE
ACOSTA PORTALATIN, JULIO       ADDRESS ON FILE
Acosta Portalatin, Julio A     ADDRESS ON FILE
ACOSTA PRESTAMO, JOSE          ADDRESS ON FILE
ACOSTA PROSPER, ELIZABETH      ADDRESS ON FILE
Acosta Prosper, Ferdinand J    ADDRESS ON FILE
ACOSTA PUMAREJO, ENRIQUE       ADDRESS ON FILE
ACOSTA PUMAREJO, WILLIAM       ADDRESS ON FILE
ACOSTA QUINONES, ALBA L        ADDRESS ON FILE
Acosta Quinones, Hector L      ADDRESS ON FILE
ACOSTA RAMIREZ, AGNES          ADDRESS ON FILE
ACOSTA RAMIREZ, AILEEN         ADDRESS ON FILE
ACOSTA RAMIREZ, ALFREDO        ADDRESS ON FILE
ACOSTA RAMIREZ, ARMANDO L      ADDRESS ON FILE
ACOSTA RAMIREZ, DEBORAH        ADDRESS ON FILE
ACOSTA RAMIREZ, EDGARDO        ADDRESS ON FILE
ACOSTA RAMIREZ, GUSTAVO        ADDRESS ON FILE
ACOSTA RAMIREZ, JUAN           ADDRESS ON FILE
ACOSTA RAMIREZ, MARIA T        ADDRESS ON FILE
ACOSTA RAMIREZ, MARIA T.       ADDRESS ON FILE
ACOSTA RAMIREZ, MARIA TERESA   ADDRESS ON FILE
ACOSTA RAMIREZ, TAMARA         ADDRESS ON FILE
ACOSTA RAMIREZ, ZARAK          ADDRESS ON FILE
ACOSTA RAMOS, ANGELES          ADDRESS ON FILE
ACOSTA RAMOS, BEATRICE         ADDRESS ON FILE
ACOSTA RAMOS, GRISELLE M       ADDRESS ON FILE
Acosta Ramos, James G.         ADDRESS ON FILE
ACOSTA RAMOS, JEANNINE         ADDRESS ON FILE
ACOSTA RAMOS, JEANNINE         ADDRESS ON FILE
Acosta Ramos, Jose A           ADDRESS ON FILE
ACOSTA RAMOS, LUIS A           ADDRESS ON FILE
ACOSTA RAMOS, NELSON           ADDRESS ON FILE
ACOSTA RAMOS, NYDIA S          ADDRESS ON FILE
ACOSTA RAMOS, SARAI            ADDRESS ON FILE
ACOSTA RAMOS, SONIA H          ADDRESS ON FILE
ACOSTA RAMOS, YANILIS          ADDRESS ON FILE
Acosta Ramos, Zacarias         ADDRESS ON FILE
ACOSTA REMIGIO, ELIZABETH      ADDRESS ON FILE
Acosta Rey, Carlos R           ADDRESS ON FILE
Acosta Reyes, Ernesto          ADDRESS ON FILE
ACOSTA REYES, FERDINAND        ADDRESS ON FILE
ACOSTA REYES, JAIME            ADDRESS ON FILE
ACOSTA REYES, MARIA            ADDRESS ON FILE




                                                                           Page 75 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 76 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA RINCON, MARIA DEL      ADDRESS ON FILE
ACOSTA RIOS, CARMEN L         ADDRESS ON FILE
ACOSTA RIOS, LEIDA N          ADDRESS ON FILE
ACOSTA RIOS, PEDRO XAVIER     ADDRESS ON FILE
ACOSTA RIVERA MD, ALEJANDRO   ADDRESS ON FILE
ACOSTA RIVERA, ALDEN          ADDRESS ON FILE
ACOSTA RIVERA, ALEJANDRO      ADDRESS ON FILE
ACOSTA RIVERA, AURELIS        ADDRESS ON FILE
ACOSTA RIVERA, AXEL E         ADDRESS ON FILE
ACOSTA RIVERA, CARMEN         ADDRESS ON FILE
ACOSTA RIVERA, DALGHYS        ADDRESS ON FILE
ACOSTA RIVERA, DANIEL         ADDRESS ON FILE
ACOSTA RIVERA, EDUARDO        ADDRESS ON FILE
ACOSTA RIVERA, EDWIN          ADDRESS ON FILE
ACOSTA RIVERA, ELIZABETH      ADDRESS ON FILE
ACOSTA RIVERA, EVELYN         ADDRESS ON FILE
ACOSTA RIVERA, FELIX          ADDRESS ON FILE
ACOSTA RIVERA, GABRIEL        ADDRESS ON FILE
ACOSTA RIVERA, GENOVEVA       ADDRESS ON FILE
ACOSTA RIVERA, GIANCARLO      ADDRESS ON FILE
ACOSTA RIVERA, GLORIA E       ADDRESS ON FILE
ACOSTA RIVERA, HILDA G.       ADDRESS ON FILE
ACOSTA RIVERA, JAVIER B       ADDRESS ON FILE
ACOSTA RIVERA, JESMER         ADDRESS ON FILE
ACOSTA RIVERA, JOSE           ADDRESS ON FILE
ACOSTA RIVERA, JOSE E         ADDRESS ON FILE
ACOSTA RIVERA, JOSE L.        ADDRESS ON FILE
ACOSTA RIVERA, LILY B         ADDRESS ON FILE
ACOSTA RIVERA, LUIS           ADDRESS ON FILE
ACOSTA RIVERA, MARCUS         ADDRESS ON FILE
ACOSTA RIVERA, MARIA DEL      ADDRESS ON FILE
ACOSTA RIVERA, MARTA DE L.    ADDRESS ON FILE
ACOSTA RIVERA, MIGUEL         ADDRESS ON FILE
ACOSTA RIVERA, MIGUEL A.      ADDRESS ON FILE
ACOSTA RIVERA, MIRIAM N       ADDRESS ON FILE
ACOSTA RIVERA, NELSON I       ADDRESS ON FILE
Acosta Rivera, Neysa          ADDRESS ON FILE
ACOSTA RIVERA, PEDRO          ADDRESS ON FILE
ACOSTA RIVERA, ROBERTO        ADDRESS ON FILE
ACOSTA RIVERA, ROSA           ADDRESS ON FILE
ACOSTA RIVERA, SHAYNA         ADDRESS ON FILE
Acosta Rivera, Shayna A.      ADDRESS ON FILE
ACOSTA RIVERA, SONIA N        ADDRESS ON FILE
ACOSTA RIVERA, VIVIAN         ADDRESS ON FILE
ACOSTA RIVIERO MD, AGNES      ADDRESS ON FILE
ACOSTA ROBLES, IRIS V         ADDRESS ON FILE
ACOSTA RODRIGUEZ, ALEX        ADDRESS ON FILE
ACOSTA RODRIGUEZ, ALMA R      ADDRESS ON FILE
ACOSTA RODRIGUEZ, ALVARO      ADDRESS ON FILE
ACOSTA RODRIGUEZ, ANDRES      ADDRESS ON FILE
ACOSTA RODRIGUEZ, BENITA      ADDRESS ON FILE
ACOSTA RODRIGUEZ, BETSY A     ADDRESS ON FILE
ACOSTA RODRIGUEZ, CARELYN     ADDRESS ON FILE
ACOSTA RODRIGUEZ, CARLOS      ADDRESS ON FILE
ACOSTA RODRIGUEZ, CARLOS J    ADDRESS ON FILE
ACOSTA RODRIGUEZ, CAROLINE    ADDRESS ON FILE
ACOSTA RODRIGUEZ, DAGMAR      ADDRESS ON FILE
ACOSTA RODRIGUEZ, DELIS M.    ADDRESS ON FILE
ACOSTA RODRIGUEZ, DIANA N.    ADDRESS ON FILE
ACOSTA RODRIGUEZ, DILIA       ADDRESS ON FILE




                                                                          Page 76 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 77 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA RODRIGUEZ, EDUARDO      ADDRESS ON FILE
ACOSTA RODRIGUEZ, EDWIN        ADDRESS ON FILE
ACOSTA RODRIGUEZ, ELI          ADDRESS ON FILE
ACOSTA RODRIGUEZ, ELOY         ADDRESS ON FILE
ACOSTA RODRIGUEZ, EMILIO E.    ADDRESS ON FILE
ACOSTA RODRIGUEZ, GERALDINE    ADDRESS ON FILE
ACOSTA RODRIGUEZ, HEYDE        ADDRESS ON FILE
ACOSTA RODRIGUEZ, HILMARY      ADDRESS ON FILE
ACOSTA RODRIGUEZ, IVETTE       ADDRESS ON FILE
ACOSTA RODRIGUEZ, JESSICA      ADDRESS ON FILE
ACOSTA RODRIGUEZ, JOCELYN      ADDRESS ON FILE
ACOSTA RODRIGUEZ, JOHN A       ADDRESS ON FILE
ACOSTA RODRIGUEZ, JOHNNY       ADDRESS ON FILE
ACOSTA RODRIGUEZ, JOSE         ADDRESS ON FILE
ACOSTA RODRIGUEZ, JOSE A       ADDRESS ON FILE
Acosta Rodriguez, Jose A       ADDRESS ON FILE
ACOSTA RODRIGUEZ, JOSE M       ADDRESS ON FILE
ACOSTA RODRIGUEZ, JULIO        ADDRESS ON FILE
ACOSTA RODRIGUEZ, KEYLA        ADDRESS ON FILE
Acosta Rodriguez, Leslie       ADDRESS ON FILE
ACOSTA RODRIGUEZ, LUIS         ADDRESS ON FILE
ACOSTA RODRIGUEZ, LUIS A       ADDRESS ON FILE
ACOSTA RODRIGUEZ, LUIS A       ADDRESS ON FILE
ACOSTA RODRIGUEZ, LUZ          ADDRESS ON FILE
ACOSTA RODRIGUEZ, MARIBEL      ADDRESS ON FILE
ACOSTA RODRIGUEZ, MARISELY     ADDRESS ON FILE
ACOSTA RODRIGUEZ, MIGDALIZ     ADDRESS ON FILE
ACOSTA RODRIGUEZ, OMAR         ADDRESS ON FILE
ACOSTA RODRIGUEZ, PEDRO        ADDRESS ON FILE
ACOSTA RODRIGUEZ, RAFAEL       ADDRESS ON FILE
ACOSTA RODRIGUEZ, RAQUEL       ADDRESS ON FILE
ACOSTA RODRIGUEZ, ROBERTO      ADDRESS ON FILE
ACOSTA RODRIGUEZ, SIGRID       ADDRESS ON FILE
ACOSTA RODRIGUEZ, VICTOR       ADDRESS ON FILE
ACOSTA RODRIGUEZ, VICTOR       ADDRESS ON FILE
ACOSTA RODRIGUEZ, WILFRIDO     ADDRESS ON FILE
Acosta Rodriguez, William      ADDRESS ON FILE
ACOSTA RODRIGUEZ,MICHELLE M.   ADDRESS ON FILE
ACOSTA ROLLET, HAROLD          ADDRESS ON FILE
ACOSTA ROLON, WILLIAM          ADDRESS ON FILE
ACOSTA ROMAN, JANNELLIE        ADDRESS ON FILE
ACOSTA ROMAN, JANNELLIE        ADDRESS ON FILE
ACOSTA ROMAN, JANNELLIE M.     ADDRESS ON FILE
ACOSTA ROMAN, JOEL             ADDRESS ON FILE
Acosta Roman, Luis M           ADDRESS ON FILE
ACOSTA ROMAN, MIGDALIA         ADDRESS ON FILE
ACOSTA ROMAN, PAULINE          ADDRESS ON FILE
ACOSTA ROMAN, PAULINE          ADDRESS ON FILE
ACOSTA ROMERO, CLAUDIA         ADDRESS ON FILE
ACOSTA ROMERO, WANDA           ADDRESS ON FILE
ACOSTA RONDA, ZENAIDA          ADDRESS ON FILE
ACOSTA ROSADO, JOSE R          ADDRESS ON FILE
ACOSTA ROSARIO, ALFREDO        ADDRESS ON FILE
ACOSTA ROSARIO, SANDRA I       ADDRESS ON FILE
ACOSTA ROSARIO, WILLIAM        ADDRESS ON FILE
ACOSTA RUBILDO, JOSE           ADDRESS ON FILE
ACOSTA RUBILDO, JULIO          ADDRESS ON FILE
ACOSTA RUBILDO, RODOLFO        ADDRESS ON FILE
ACOSTA RUIZ, ALAM              ADDRESS ON FILE
ACOSTA RUIZ, DIXON             ADDRESS ON FILE




                                                                           Page 77 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No. Matrix
                                                                              17 BK 3283‐LTS Page 78 of 3500
                                                                                    Creditor Matrix

Creditor Name                  Address1                         Address2                          Address3   Address4   City            State   PostalCode   Country
ACOSTA RUIZ, EDGAR             ADDRESS ON FILE
ACOSTA RUIZ, EDGAR I           ADDRESS ON FILE
ACOSTA RUIZ, GLADYS            ADDRESS ON FILE
Acosta Ruiz, Hiram             ADDRESS ON FILE
ACOSTA RUIZ, HIRAM             ADDRESS ON FILE
ACOSTA RUIZ, JOSE D.           ADDRESS ON FILE
Acosta Ruiz, Nitza             ADDRESS ON FILE
ACOSTA RUIZ, NITZA             ADDRESS ON FILE
Acosta Ruiz, Pedro             ADDRESS ON FILE
ACOSTA RUIZ, VIVIAN            ADDRESS ON FILE
ACOSTA SAEZ, ANGEL L           ADDRESS ON FILE
ACOSTA SAMBOLIN, ECZER         ADDRESS ON FILE
ACOSTA SAMBOLIN, HECTOR        ADDRESS ON FILE
ACOSTA SAMPSON, GERARDO        ADDRESS ON FILE
Acosta Sanchez, Carmen         ADDRESS ON FILE
ACOSTA SANCHEZ, CARMEN         LEILA S. CASTRO MOYA             2816 EDEN ST.                     APT. 708              PASCAGOULA      MS      39581
ACOSTA SANCHEZ, DIEGO          ADDRESS ON FILE
ACOSTA SANCHEZ, JESUS MANUEL   ADDRESS ON FILE
Acosta Sanchez, Luis           ADDRESS ON FILE
ACOSTA SANCHEZ, MILAGROS       ADDRESS ON FILE
ACOSTA SANCHEZ, ROBERTO        ADDRESS ON FILE
ACOSTA SANCHEZ, TINA Y.        ADDRESS ON FILE
ACOSTA SANCHEZ, VIRGINIA       ADDRESS ON FILE
ACOSTA SANTANA, JORGE          ADDRESS ON FILE
ACOSTA SANTANA, LUIS F         ADDRESS ON FILE
ACOSTA SANTANA, MARIA J        ADDRESS ON FILE
ACOSTA SANTANA, RHINA          ADDRESS ON FILE
ACOSTA SANTAPAU, ANTONIA       ADDRESS ON FILE
ACOSTA SANTIAGO, AIDA          ADDRESS ON FILE
ACOSTA SANTIAGO, ANNETTE       ADDRESS ON FILE
ACOSTA SANTIAGO, ATILANO JR    ADDRESS ON FILE
ACOSTA SANTIAGO, BETSY B.      ADDRESS ON FILE
ACOSTA SANTIAGO, CALEB         ADDRESS ON FILE
Acosta Santiago, Dionisio      ADDRESS ON FILE
ACOSTA SANTIAGO, ELBA L        ADDRESS ON FILE
Acosta Santiago, George E      ADDRESS ON FILE
ACOSTA SANTIAGO, GEORGE E.     LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                              HORMIQUEROS     PR      00660‐0873
ACOSTA SANTIAGO, GEORGE E.     LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                       PONCE           PR      00731
ACOSTA SANTIAGO, GLENDA        ADDRESS ON FILE
ACOSTA SANTIAGO, JOSE          ADDRESS ON FILE
Acosta Santiago, Julio C.      ADDRESS ON FILE
ACOSTA SANTIAGO, MIRIAM        ADDRESS ON FILE
ACOSTA SANTIAGO, SOL           ADDRESS ON FILE
ACOSTA SANTIAGO, YOLANDA       ADDRESS ON FILE
ACOSTA SANTIAGO, ZULEIKA E     ADDRESS ON FILE
ACOSTA SANTIAGO, ZUZETH E      ADDRESS ON FILE
ACOSTA SANTONI, JENNIFER       ADDRESS ON FILE
ACOSTA SANTOS, JOSE A          ADDRESS ON FILE
ACOSTA SANTOS, MARIA M         ADDRESS ON FILE
Acosta Santtapau, Ferdinand    ADDRESS ON FILE
ACOSTA SEPULVEDA, RAFAEL F     ADDRESS ON FILE
ACOSTA SERRANO, HIRAM Y        ADDRESS ON FILE
ACOSTA SERRANO, LIZ            ADDRESS ON FILE
ACOSTA SERRANO, MIRIAM         ADDRESS ON FILE
ACOSTA SILVA, ANNA M           ADDRESS ON FILE
ACOSTA SILVA, MADELINE         ADDRESS ON FILE
ACOSTA SILVA, NORELIE          ADDRESS ON FILE
ACOSTA SILVESTRY, CHARLENE M   ADDRESS ON FILE
ACOSTA SOJO, ADRIAN A          ADDRESS ON FILE
ACOSTA SOTO MD, MAGDA          ADDRESS ON FILE




                                                                                    Page 78 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No. Matrix
                                                                               17 BK 3283‐LTS Page 79 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA SOTO, JUAN A.            ADDRESS ON FILE
ACOSTA SOTO, MIRTA V            ADDRESS ON FILE
ACOSTA SUAREZ, ALBERTO          ADDRESS ON FILE
ACOSTA SUAREZ, BELINDA          ADDRESS ON FILE
ACOSTA SUAREZ, EMILIO           ADDRESS ON FILE
ACOSTA TAPIA, HECTOR            ADDRESS ON FILE
ACOSTA TOLEDO, CELSA            ADDRESS ON FILE
ACOSTA TOLEDO, ISMENIA Y        ADDRESS ON FILE
ACOSTA TORO, ALEXA M            ADDRESS ON FILE
ACOSTA TORO, DAPHNE             ADDRESS ON FILE
ACOSTA TORO, JOSE LUIS          ADDRESS ON FILE
ACOSTA TORO, RONNY              ADDRESS ON FILE
ACOSTA TORRES MD, RAFAEL        ADDRESS ON FILE
ACOSTA TORRES, ADELAIDA         ADDRESS ON FILE
ACOSTA TORRES, ALDO             ADDRESS ON FILE
ACOSTA TORRES, BENJAMIN         ADDRESS ON FILE
ACOSTA TORRES, DELMA I          ADDRESS ON FILE
ACOSTA TORRES, ECZER            ADDRESS ON FILE
ACOSTA TORRES, ECZER A          ADDRESS ON FILE
ACOSTA TORRES, EMNANUEL         ADDRESS ON FILE
ACOSTA TORRES, ETHEL            ADDRESS ON FILE
ACOSTA TORRES, GERTRUDIS        ADDRESS ON FILE
ACOSTA TORRES, GLADYS           ADDRESS ON FILE
ACOSTA TORRES, IVAN             ADDRESS ON FILE
ACOSTA TORRES, JAIME            ADDRESS ON FILE
ACOSTA TORRES, JESSENIA M       ADDRESS ON FILE
ACOSTA TORRES, MARIA H.         ADDRESS ON FILE
ACOSTA TORRES, NATALIA          ADDRESS ON FILE
ACOSTA TORRES, NILDABEL         ADDRESS ON FILE
ACOSTA TORRES, NIRMA            ADDRESS ON FILE
ACOSTA TORRES, ROSA M           ADDRESS ON FILE
ACOSTA TORRES, STEPHANIE        ADDRESS ON FILE
ACOSTA TORRES, WANDA I          ADDRESS ON FILE
ACOSTA TRINIDAD, ROLANDO        ADDRESS ON FILE
ACOSTA TROCHE, LUZ              ADDRESS ON FILE
ACOSTA TROCHE, MICHAEL          ADDRESS ON FILE
Acosta Troche, Rafael           ADDRESS ON FILE
ACOSTA TROCHE, SOL D            ADDRESS ON FILE
ACOSTA UBIERA, ANGEL            ADDRESS ON FILE
Acosta Ufret, Jose A.           ADDRESS ON FILE
ACOSTA VALDERRAMA, MAYRA E      ADDRESS ON FILE
ACOSTA VALENTIN, GERALDO        ADDRESS ON FILE
ACOSTA VALENTIN, GERALDO        ADDRESS ON FILE
ACOSTA VALENTIN, MICHELLE       ADDRESS ON FILE
ACOSTA VALENTIN, MIRIAM         ADDRESS ON FILE
ACOSTA VALENTIN, YOSUE          ADDRESS ON FILE
ACOSTA VARELA, NELSON           ADDRESS ON FILE
ACOSTA VARGAS, AILEEN           ADDRESS ON FILE
ACOSTA VARGAS, EVELYN           ADDRESS ON FILE
ACOSTA VARGAS, ISRAEL           ADDRESS ON FILE
ACOSTA VARGAS, NORMA            ADDRESS ON FILE
ACOSTA VARGAS, NORMA DEL C.     ADDRESS ON FILE
ACOSTA VAZQUEZ, DAMIN           ADDRESS ON FILE
ACOSTA VAZQUEZ, GLADYS          ADDRESS ON FILE
ACOSTA VAZQUEZ, JOSE M          ADDRESS ON FILE
ACOSTA VAZQUEZ, LUIS            ADDRESS ON FILE
ACOSTA VAZQUEZ, MYTSI           ADDRESS ON FILE
ACOSTA VAZQUEZ, MYTSI JUNELLY   ADDRESS ON FILE
ACOSTA VAZQUEZ, MYTSI JUNELLY   ADDRESS ON FILE
ACOSTA VAZQUEZ, NILSA I         ADDRESS ON FILE




                                                                            Page 79 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 80 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ACOSTA VAZQUEZ, WANDALIZ         ADDRESS ON FILE
ACOSTA VEGA, ANA L               ADDRESS ON FILE
ACOSTA VEGA, ELIZABETH           ADDRESS ON FILE
ACOSTA VEGA, HECTOR J            ADDRESS ON FILE
Acosta Vega, Javier              ADDRESS ON FILE
ACOSTA VEGA, LUIS E              ADDRESS ON FILE
ACOSTA VEGA, MIGDALIA            ADDRESS ON FILE
ACOSTA VEGA, MILAGROS            ADDRESS ON FILE
ACOSTA VEGA, ROUCHELY            ADDRESS ON FILE
ACOSTA VELAZQUEZ, ARNALDO        ADDRESS ON FILE
ACOSTA VELAZQUEZ, CRISTINA       ADDRESS ON FILE
ACOSTA VELAZQUEZ, EDGARDO        ADDRESS ON FILE
ACOSTA VELAZQUEZ, LUZ I.         ADDRESS ON FILE
ACOSTA VELAZQUEZ, LYMARIS        ADDRESS ON FILE
ACOSTA VELAZQUEZ, SIGRID         ADDRESS ON FILE
ACOSTA VELAZQUEZ, VINCENT        ADDRESS ON FILE
Acosta Velazquez, Wilfredo       ADDRESS ON FILE
ACOSTA VELEZ MD, HERIBERTO       ADDRESS ON FILE
ACOSTA VELEZ MD, PABLO A         ADDRESS ON FILE
ACOSTA VELEZ, ADELA              ADDRESS ON FILE
ACOSTA VELEZ, CARMEN L           ADDRESS ON FILE
ACOSTA VELEZ, DEBORAH            ADDRESS ON FILE
ACOSTA VELEZ, DIANA              ADDRESS ON FILE
ACOSTA VELEZ, ELIZABETH          ADDRESS ON FILE
ACOSTA VELEZ, FRANCISCO          ADDRESS ON FILE
ACOSTA VELEZ, GRESSEL            ADDRESS ON FILE
ACOSTA VELEZ, JAIME              ADDRESS ON FILE
ACOSTA VELEZ, JAIME L.           ADDRESS ON FILE
ACOSTA VELEZ, JAIME L.           ADDRESS ON FILE
ACOSTA VELEZ, JAIME L.           ADDRESS ON FILE
Acosta Velez, Jose               ADDRESS ON FILE
ACOSTA VELEZ, MARIANITA          ADDRESS ON FILE
ACOSTA VELEZ, MARIBEL            ADDRESS ON FILE
ACOSTA VELEZ, MARILU             ADDRESS ON FILE
ACOSTA VELEZ, MARILU             ADDRESS ON FILE
ACOSTA VELEZ, MARINA             ADDRESS ON FILE
ACOSTA VELEZ, MARTA B            ADDRESS ON FILE
ACOSTA VELEZ, MARTA T.           ADDRESS ON FILE
ACOSTA VELEZ, MILCA I            ADDRESS ON FILE
ACOSTA VELEZ, MONSERRATE         ADDRESS ON FILE
ACOSTA VELEZ, ROSALINDA          ADDRESS ON FILE
ACOSTA VELEZ, VICTOR M           ADDRESS ON FILE
ACOSTA VICENTI, ALDEN            ADDRESS ON FILE
ACOSTA VICENTI, NASHALY D        ADDRESS ON FILE
ACOSTA VICENTI, ORLANDO          ADDRESS ON FILE
ACOSTA VICENTY, MILTON           ADDRESS ON FILE
ACOSTA VIDAL MD, VICTOR          ADDRESS ON FILE
ACOSTA VILA, PAOLA E             ADDRESS ON FILE
Acosta Villalobos, Elda          ADDRESS ON FILE
ACOSTA VILLALOBOS, MIGUEL A      ADDRESS ON FILE
ACOSTA VINCENTYN, EVELYN         ADDRESS ON FILE
ACOSTA VITALI, JOHANNA LIZ       ADDRESS ON FILE
ACOSTA WILLIAMS, SHEILA          ADDRESS ON FILE
ACOSTA ZAMBRANA, ALEXIS          ADDRESS ON FILE
ACOSTA ZAMBRANA, HECTOR JAVIER   ADDRESS ON FILE
ACOSTA ZAMBRANA, JANCY           ADDRESS ON FILE
ACOSTA ZAPATA, CARLOS G.         ADDRESS ON FILE
Acosta Zapata, Fernando L        ADDRESS ON FILE
ACOSTA, ANA                      ADDRESS ON FILE
ACOSTA, DANIEL                   ADDRESS ON FILE




                                                                             Page 80 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No. Matrix
                                                                                          17 BK 3283‐LTS Page 81 of 3500
                                                                                                            Creditor Matrix

Creditor Name                          Address1                                        Address2                           Address3   Address4   City           State   PostalCode   Country
ACOSTA, EDWIN                          ADDRESS ON FILE
ACOSTA, FERNANDO                       ADDRESS ON FILE
ACOSTA, FRANCISCO                      ADDRESS ON FILE
ACOSTA, JOSE N.                        ADDRESS ON FILE
ACOSTA, JUAN                           ADDRESS ON FILE
ACOSTA, MILAGROS E                     ADDRESS ON FILE
ACOSTA, NILDA                          ADDRESS ON FILE
ACOSTA, RICHARD                        ADDRESS ON FILE
ACOSTA, SOL                            ADDRESS ON FILE
ACOSTA,CARLOS                          ADDRESS ON FILE
ACOSTA,RAFAEL E.                       ADDRESS ON FILE
ACOSTABATISTA, JOSE A                  ADDRESS ON FILE
ACOSTAPADILLA, WILFREDO                ADDRESS ON FILE
ACOSTASUAREZ, EMILIO                   ADDRESS ON FILE
ACOSTAVILLALOBOS, GERARDO              ADDRESS ON FILE
ACOSTO RODRIGUEZ, ILDEFONSO            ADDRESS ON FILE
ACQLAND MANAGEMENT & CONSULTING GROU PO BOX 22066                                                                                               SAN JUAN       PR      00931‐2066
ACR BUS SERVICE INC                    HC 12 BOX 7063                                                                                           HUMACAO        PR      00791‐9210
ACR SOLUTIONS                          PO BOX 6606                                                                                              SAN JUAN       PR      00914‐6606
ACR System Inc                         PO BOX 1819                                                                                              BAYAMON        PR      00960‐1819
ACR SYSTEMS INC                        P O BOX 1819                                                                                             BAYAMON        PR      00960
ACR SYSTEMS, INC.                      P.O. BOX 1819                                                                                                           PR      00961
ACREDITATION COUNCIL FOR EDUCATION     25824 NETWORK PLACE                                                                                      CHICAGO        IL      60673‐1258
ACRES INVESTMENT CORP                  PO BOX 8118                                                                                              BAYAMON        PR      00960‐8118
ACRO SERVICE CORP                      39209 WEST 6 MILE ROAD STE 250                                                                           LIVONIA        MI      48152
ACROSS STATE CONTRACTORS & CONSULTANTS URB BAYAMON GARDENS                             S 12 CALLE 15                                            BAYAMON        PR      00957
ACRYLIC CREATION INC                   CALLE AZALEA 37 URB CIUDAD JARDIN                                                                        TOA ALTA       PR      00953
ACS EDUCATION SERVICES                 PO BOX 371821                                                                                            PITTSBURG      PA      15250‐7821
ACS GROUP CORP                         PO BOX 192655                                                                                            SAN JUAN       PR      00919‐2655
ACS INC                                260 FRANKLIN ST 11 TH FLOOR                                                                              BOSTON         MA      02110
ACS SOLUTIONS OF PUERTO RICO INC       100 HANCOCK STREET 10 TH FLOOR                                                                           QUINCY         MA      02171
ACS SUPPORT                            DEPARTAMENTO DE HACIENDA                                                                                 SAN JUAN       PR      00901
ACS SUPPORT                            INTERNAL REVENUE SERVICE                        PO BOX 57                                                BENSALEM       PA      19020‐8514
ACS/ WAGERS & ASSOCIATES INC           100 HANCOCK STREET 10TH FLOOR                                                                            QUINCY         MA      02171
ACS/ WAGERS & ASSOCIATES INC           260 FRANKLIN ST 11TH FLOOR                                                                               BOSTON         MA      02110
ACSTA MEDINA, ANTONIA                  ADDRESS ON FILE
ACSTAR Insurance Company               30 South Road                                                                                            Farmington     CT      06032
ACSTAR Insurance Company               Attn: Brian Marshal, Vice President             30 South Road                                            Farmington     CT      06032
ACSTAR Insurance Company               Attn: Brian Marshall, Circulation of Risk       30 South Road                                            Farmington     CT      06032
ACSTAR Insurance Company               Attn: Brian Marshall, Consumer Complaint Conta 30 South Road                                             Farmington     CT      06032
ACSTAR Insurance Company               Attn: Brian Marshall, Premiun Tax Contact       30 South Road                                            Farmington     CT      06032
ACSTAR Insurance Company               Attn: Brian Marshall, Regulatory Compliance Gov 30 South Road                                            Farmington     CT      06032
ACSTAR Insurance Company               Attn: Henry Nozko, Jr., President               30 South Road                                            Farmington     CT      06032
ACSTAR Insurance Company               Attn: Michael Cifone, Vice President            30 South Road                                            Farmington     CT      06032
ACT
ACTAS INTERNATIONAL PR INC             URB LOMAS VERDES                                2 M 8 AVE LAUREL                                         BAYAMON        PR      00956
ACTION ENVIRONMENTAL CONTRACTORS INC PO BOX 9225                                                                                                BAYAMON        PR      00960
ACTION EXTERMINATING                   P. O. BOX 9225                                                                                           BAYAMON        PR      00960‐0000
ACTION FORCE SECURITY                  PO BOX 4138                                                                                              BAYAMON        PR      00957
ACTION SERVICE CORPORATION             PO BOX 364866                                                                                            SAN JUAN       PR      00936‐4866
ACTION SERVICE INC                     P O BOX 364866                                                                                           SAN JUAN       PR      00936‐4866
ACTION SERVICES CORP                   PO BOX 364866                                                                                            SAN JUAN       PR      00936‐4866
ACTION STAGE AND MORE, INC             PASEO DE LA ALHAMBRA                            14 CALLE CORDOVA                                         CAROLINA       PR      00987‐6873
ACTION TO BUILD CHANGES                4001 CARR 2                                                                                              VEGA BAJA      PR      00693‐4133
ACTION TO BUILD CHANGES                405 AVE ESMERALDA SUITE 3                                                                                GUAYNABO       PR      00969‐4427
ACTION TO BUILD CHANGES, CORP          4001 CARRETERA #2                                                                                        VEGA BAJA      PR      00693‐4133
ACTION TO BUILD CHANGES, CORP          405 AVE. ESMERALDA                              BOX 2431                                                 GUAYNABO       PR      00969‐4427
ACTION TO BUILD CHANGES, CORP          4208 CARR #2 SUITE #3                                                                                    VEGA BAJA      PR      00693‐4128
ACTION TO BUILD CHANGES, CORP          BO ALGARROBO                                    CARRETERA 2 KM 4.3                                       VEGA BAJA      PR      00693




                                                                                                            Page 81 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 82 of 3500
                                                                                                             Creditor Matrix

Creditor Name                           Address1                                Address2                                Address3              Address4   City              State   PostalCode   Country
                                                                                                                        AVE. PONCE DE LEON
ACTION TO BUILD CHANGES, CORP           COND MIDTOWN                             SUITE 606                              #420                             SAN JUAN          PR      00918
ACTION TO BUILD CHANGES, CORP           Y BANCO POPULAR DE PUERTO                CBC NORTE CLAVE 411                    PO BOX 362708                    SAN JUAN          PR      00936‐2708
ACTION TO BUILD CHANGES, CORP           Y BANCO POPULAR DE PUERTO RICO           CBC NORTE CLAVE 411                    PO BOX 362708                    SAN JUAN          PR      00936‐2708
ACTION TO BUILD CHANGES, CORP           Y BANCO POPULAR DE PUERTO RICO           CENTRO DE BANCA COMERCIAL REGION NORTE PO BOX 362708                    SAN JUAN          PR      00936‐2708
ACTION TO BUILD CHANGES, CORP           Y BANCO POPULAR DE PUERTO RICO           PO BOX 362708                          UNIDAD C.B.C. NORTE              SAN JUAN          PR      00936‐2708
ACTION TO BUILD CHANGES, CORP           Y BANCO POPULAR DE PUERTO RICO           UNIDAD C.B.C. NORTE                    PO BOX 362708                    SAN JUAN          PR      00936‐2708
ACTION TO BUILD CHANGES, CORP           Y BANCO POPULAR DE PUERTO RICO CBC NORTE PO BOX 362708                                                           SAN JUAN          PR      00693‐4128
ACTION TO BUILD CHANGES, CORP           Y COOPACA                                APARTADO 1056                                                           ARECIBO           PR      00613
ACTIVAO MEDIA CORPORATION               713 LA PAZ                                                                                                       SAN JUAN          PR      00907
ACTIVATE INC                            PO BOX 79727                                                                                                     CAROLINA          PR      00984‐9727
ACTIVE GASTROINTESTINAL GROUP INC       PO BOX 7886 PMB 367                                                                                              GUAYNABO          PR      00970‐7886
ACTIVE SALESMEN CORP INC                SABANA LLANA INDUSTRIAL PARK             5 CALLE LA BRISA                                                        SAN JUAN          PR      00924
ACTIVE SOLUTION DISTRIBUTORS INC        PMB 257                                  BOX 2500                                                                TRUJILLO ALTO     PR      00976
ACTIVE SOLUTION DISTRIBUTORS INC        PO BOX 1690                                                                                                      TRUJILLO ATLO     PR      00977
ACTIVO Y EN MOVIMIENTO                  CALLE GERANIO 491                        HACIENDA FLORIDA                                                        YAUCO             PR      00698
ACTIVO Y EN MOVIMIENTO                  PLAZA MONSERRATE                         OFIC #9                                                                 HORMIGUEROS       PR      00624
ACTUALIZADO 24‐7                        PO BOX 192725                                                                                                    SAN JUAN          PR      00919
ACTUALIZADO 24‐7 LLC                    PO BOX 192725                                                                                                    SAN JUAN          PR      00919
ACUAYOGI CORP.                          URB. COLLEGE PARK                        AVE. GLASSGOW 1768                                                      SAN JUAN          PR      00921
ACUDEN / RAUL ARROYO CHINEA             ADDRESS ON FILE
ACUDEN Y/O RAUL ARROYO CHINEA           ADDRESS ON FILE
ACUEDUCTO COM SECTOR EL LLANO INC       HC 5 BOX 6583                                                                                                    AGUAS BUENAS      PR      00703
ACUEDUCTO COMUNAL BQTS, INC.            HC 01 BOX 5191                                                                                                   BARRANQUITAS      PR      00794
ACUEDUCTO COMUNAL TORTUGUERO INC        HC 03 BOX 9925                                                                                                   BARRANQUITAS      PR      00784
ACUEDUCTO COMUNIDAD QUEBRADA ARRIBA     P O BOX 455                                                                                                      PATILLAS          PR      00723
ACUEDUCTO EL MANANTIAL INC              HC 7 BOX 32868                                                                                                   CAGUAS            PR      00727
ACUEDUCTO RURAL DE TEJAS YABUCOA        P O BOX 1189                                                                                                     YABUCOA           PR      00767 189
ACUEDUCTO RURAL DE TEJAS YABUCOA, INC   P O BOX 1189                                                                                                     YABUCOA           PR      00767
ACUEDUCTOS Y ALCANTARILLADOS            604 AVE BARBOSA                                                                                                  SAN JUAN          PR      00917‐4388
ACUEDUCTOS Y ALCANTARILLADOS            ALCANTARILLADOS                          APARTADO 7066 BO.OBRERO STA.                                            SANTURCE          PR      00916
ACUEDUCTOS Y ALCANTARILLADOS            ALCANTARILLADOS CUENTAS DE               GOBIERNO,604 AVE.BARBOSA                                                SAN JUAN          PR      00917
ACUEDUCTOS Y ALCANTARILLADOS            AREA DE TESORO                           DIVISION DE RECLAMACIONES                                               SAN JUAN          PR      00902‐4140
ACUEDUCTOS Y ALCANTARILLADOS            AREA DEL TESORO                          CONTADURIA GENERAL                                                      SAN JUAN          PR      00902
ACUEDUCTOS Y ALCANTARILLADOS            AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                               SAN JUAN          PR      00902‐4140
ACUEDUCTOS Y ALCANTARILLADOS            BANCO GUBERNAMENTAL DE FOMENTO           A/C AREA DE TESORO                                                      SAN JUAN          PR      00902
ACUEDUCTOS Y ALCANTARILLADOS            BARRIO OBRERO                            APARTADO 7066                                                           SANTURCE          PR      00908
ACUEDUCTOS Y ALCANTARILLADOS            C/O AREA DEL TESORO                      DIV. CONT. GENERAL                                                      SAN JUAN          PR      00936
ACUEDUCTOS Y ALCANTARILLADOS            P.O.BOX 1008                                                                                                     AGUADILLA         PR      00605
ACUEDUCTOS Y ALCANTARILLADOS            PO BOX 14580                                                                                                     SAN JUAN          PR      00916
ACUEDUCTOS Y ALCANTARILLADOS            PO BOX 7066                                                                                                      SAN JUAN          PR      00916‐7066
ACUM ESCOBEDO, MIGUEL                   ADDRESS ON FILE
ACUM QUINONES, ASMEL                    ADDRESS ON FILE
ACUM QUINONES, NADIA                    ADDRESS ON FILE
ACUMIC MEDICINA INTEGRAL                PO BOX 1786                                                                                                      BAYAMON           PR      00960‐1786
ACUMULADA QUINONEZ, IRMA I.             ADDRESS ON FILE
ACUMULADO VEGA, SUHAIL K                ADDRESS ON FILE
ACUNA CRUZ, EVA                         ADDRESS ON FILE
ACUNA FERNANDEZ, EDGAR                  ADDRESS ON FILE
ACUNA JIMENEZ, JUAN                     ADDRESS ON FILE
ACUNA JIMENEZ, NILDA                    ADDRESS ON FILE
ACUNA MENDEZ, CHRISTIAN                 ADDRESS ON FILE
Acuna Mendez, Ernesto                   ADDRESS ON FILE
Acuna Ramos, Bienvenido                 ADDRESS ON FILE
ACUNA ROMAN, IVELISSE                   ADDRESS ON FILE
ACUNA ROMAN, VANESSA                    ADDRESS ON FILE
ACURAM REALTY AND INV CO INC            1302 AVE PONCE DE LEON                                                                                           SAN JUAN          PR      00907
ACUTE ALTERNATIVE MEDICAL GROUP         184 C ESTATE DIAMOND RUBY                                                                                        CHRISTIANSTED     VI      00820
ACV CONSTRUCTION CORP.                  URB. LOS FAROLES 500 CARR. 861 SUITE 89                                                                          BAYAMON           PR      00956
AD AUTO COLLISSION                      PARK GARDEN                              K 8 CALLE MARACAIBO                                                     SAN JUAN          PR      00926




                                                                                                            Page 82 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No. Matrix
                                                                                  17 BK 3283‐LTS Page 83 of 3500
                                                                                               Creditor Matrix

Creditor Name                      Address1                           Address2                               Address3   Address4   City         State   PostalCode   Country
AD DICTION                         PO BOX 194000 PMB 205                                                                           SAN JUAN     PR      00919
AD GROUP                           PMB770 #1353 LUIS VIGOREAUX AVE.                                                                GUAYNABO     PR      00966
AD MARKETING SOLUTIONS GROUP INC   VILLA FONTANA                      4US4 VIA 37                                                  CAROLINA     PR      00983
AD MULTIMEDIA AGENCY               AGENCIA DE IMAGEN Y DISENO         AVE PONCE DE LEON #151                                       SAN JUAN     PR      00909
AD VERBATIM INC                    PO BOX 194373                                                                                   SAN JUAN     PR      00919‐4373
ADA A BECERRA AGUIRRE              ADDRESS ON FILE
ADA A BERRIOS RIVERA               ADDRESS ON FILE
ADA A COLON SEGARRA                ADDRESS ON FILE
ADA A CURBELO HERNANDEZ            ADDRESS ON FILE
ADA A FIGUEROA CABAN               ADDRESS ON FILE
ADA A GARCIA IRIZARRY              ADDRESS ON FILE
ADA A GONZALEZ MARIN               ADDRESS ON FILE
ADA A SANCHEZ DIAZ Y               ADDRESS ON FILE
ADA ACEVEDO PENALVERT              ADDRESS ON FILE
ADA ACEVEDO VICENTE                ADDRESS ON FILE
ADA B CABALLERO MIRANDA            ADDRESS ON FILE
ADA BOBONIS ROIG                   ADDRESS ON FILE
ADA C VARGAS MONTILLA              ADDRESS ON FILE
ADA CALDERON REYES                 ADDRESS ON FILE
ADA CANIZARES CINTRON              ADDRESS ON FILE
ADA CASIANO FIGUEROA               ADDRESS ON FILE
ADA CASILLAS ELIAS                 ADDRESS ON FILE
ADA CASTILLO ORTIZ                 ADDRESS ON FILE
ADA CEDENO RIVERA                  ADDRESS ON FILE
ADA CELMA SOTO PADILLA             ADDRESS ON FILE
ADA COLON AGOSTO                   ADDRESS ON FILE
ADA CORREA QUINONES                ADDRESS ON FILE
ADA D FELICIANO TORRES             ADDRESS ON FILE
ADA D RIVERA RIVERA                ADDRESS ON FILE
ADA DAVILA VAZQUEZ                 ADDRESS ON FILE
ADA DE HOYOS LOPEZ                 ADDRESS ON FILE
ADA DE JESUS RODRIGUEZ             ADDRESS ON FILE
ADA DE PERSIA                      ADDRESS ON FILE
ADA DEL C MARTINEZ RIVERA          ADDRESS ON FILE
ADA DEL C THILLET CORREA           ADDRESS ON FILE
ADA DEL P FURCAL DE LEON           ADDRESS ON FILE
ADA DIEZ FULLADOSA                 ADDRESS ON FILE
ADA E ALICEA CRUZ                  ADDRESS ON FILE
ADA E ALICEA OTERO                 ADDRESS ON FILE
ADA E BERRIOS ORTIZ                ADDRESS ON FILE
ADA E CRUZ CARRASQUILLO            ADDRESS ON FILE
ADA E GARCIA RENTAS                ADDRESS ON FILE
ADA E HERNANDEZ JIMENEZ            ADDRESS ON FILE
ADA E LOPEZ ANDINO                 ADDRESS ON FILE
ADA E MARTINEZ                     ADDRESS ON FILE
ADA E MELENDEZ                     ADDRESS ON FILE
ADA E MERCADO MERCADO              ADDRESS ON FILE
ADA E MOJICA RODRIGUEZ             ADDRESS ON FILE
ADA E ORTIZ NEGRON                 ADDRESS ON FILE
ADA E PIMENTEL                     ADDRESS ON FILE
ADA E QUINONES APONTE              ADDRESS ON FILE
ADA E QUINONES MERCADO             ADDRESS ON FILE
ADA E QUINTERO NAVEDO              ADDRESS ON FILE
ADA E RIOS CRESPO                  ADDRESS ON FILE
ADA E RIVERA ARROYO                ADDRESS ON FILE
ADA E RIVERA FELICIANO             ADDRESS ON FILE
ADA E RIVERA PACHECO               ADDRESS ON FILE
ADA E RUIZ RODRIGUEZ               ADDRESS ON FILE
ADA E SOTO GARCIA                  ADDRESS ON FILE
ADA E VEGA MELENDEZ                ADDRESS ON FILE




                                                                                               Page 83 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 84 of 3500
                                                                                     Creditor Matrix

Creditor Name                    Address1                   Address2                               Address3   Address4   City         State   PostalCode   Country
ADA E. DIAZ TRINIDAD             ADDRESS ON FILE
ADA E. MELENDEZ VAZQUEZ          ADDRESS ON FILE
ADA E. MELETICHE ORTIZ           ADDRESS ON FILE
Ada E. Perez Colon               ADDRESS ON FILE
ADA ELSIE COLON ZAYAS            ADDRESS ON FILE
ADA ELSIE DIAZ FIGUEROA          ADDRESS ON FILE
ADA F HERNANDEZ FERNANDEZ        ADDRESS ON FILE
ADA G PAISAN GALBAN              ADDRESS ON FILE
ADA G SANCHEZ VALENTIN           ADDRESS ON FILE
ADA GISELLE HUERTAS CORTES       ADDRESS ON FILE
ADA GONZALEZ                     ADDRESS ON FILE
ADA GONZALEZ ACEVEDO             ADDRESS ON FILE
ADA GONZALEZ DELGADO             ADDRESS ON FILE
ADA GONZALEZ DIAZ                ADDRESS ON FILE
ADA GONZALEZ RIVERA              ADDRESS ON FILE
ADA H MORALES OYOLA              ADDRESS ON FILE
ADA H MORALES OYOLA              ADDRESS ON FILE
ADA HERNANDEZ AROCHO             ADDRESS ON FILE
ADA HERNANDEZ Y KATIA GONZALEZ   ADDRESS ON FILE
ADA I AVILA MONTANEZ             ADDRESS ON FILE
ADA I BAEZ CAMACHO               ADDRESS ON FILE
ADA I BURGOS GARCIA              ADDRESS ON FILE
ADA I CARMONA RIVERA             ADDRESS ON FILE
ADA I CONTRERAS                  ADDRESS ON FILE
ADA I CORSINO MAURAS             ADDRESS ON FILE
ADA I CRUZ GONZALEZ              ADDRESS ON FILE
ADA I CRUZ MUNOZ                 ADDRESS ON FILE
ADA I CRUZ OLMEDA                ADDRESS ON FILE
ADA I LEBRON GONZALEZ            ADDRESS ON FILE
ADA I LUGO MIRO                  ADDRESS ON FILE
ADA I PEREZ APONTE               ADDRESS ON FILE
ADA I RIVERA DE JESUS            ADDRESS ON FILE
ADA I RIVERA DE JESUS            ADDRESS ON FILE
ADA I RIVERA GONZALEZ            ADDRESS ON FILE
ADA I SANTIAGO RIVERA            ADDRESS ON FILE
ADA I TORRES MENDEZ              ADDRESS ON FILE
ADA I VAZQUEZ MOYA               ADDRESS ON FILE
ADA I VILLANUEVA HORTA           ADDRESS ON FILE
ADA I. CARRASQUILLO RODRIGUEZ    ADDRESS ON FILE
ADA I. FLORES DE JESUS           ADDRESS ON FILE
ADA I. LEBRON GONZALEZ           ADDRESS ON FILE
ADA I. LOPEZ OCASIO              ADDRESS ON FILE
ADA I. MONSERRATE SOTO           ADDRESS ON FILE
ADA I. RODRIGUEZ COLON           ADDRESS ON FILE
ADA I. SANTIAGO PACHECO          ADDRESS ON FILE
Ada I. Vega Santana              ADDRESS ON FILE
ADA IRIS CRUZ OLMEDA             ADDRESS ON FILE
ADA IRIS PEREZ GOMEZ             ADDRESS ON FILE
ADA IRIS SOLARES RAMIREZ         LCDO. EITON ARROYO MUÑIZ   153 CALLE VAZQUEZ BAEZ                                       MAYAGUEZ     PR      00680
ADA IVELISSE GARCIA MONTES       ADDRESS ON FILE
ADA J MALDONADO PEREZ            ADDRESS ON FILE
ADA J MATOS CHEVERE              ADDRESS ON FILE
ADA J PAGAN SANTIAGO             ADDRESS ON FILE
ADA J SANTER MUNOZ               ADDRESS ON FILE
ADA L BERNIER MUNOZ              ADDRESS ON FILE
ADA L BURGOS LOYO                ADDRESS ON FILE
ADA L CEDENO NIEVES              ADDRESS ON FILE
ADA L CORTES TORRES              ADDRESS ON FILE
ADA L FELICIANO RODRIGUEZ        ADDRESS ON FILE
ADA L HERNANDEZ TIRADO           ADDRESS ON FILE




                                                                                     Page 84 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 85 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADA L MARTINEZ PENA                     ADDRESS ON FILE
ADA L MARTOS OLIVERAS                   ADDRESS ON FILE
ADA L MONELL MARIN                      ADDRESS ON FILE
ADA L RIVERA CRUZ                       ADDRESS ON FILE
ADA L RIVERA RAMOS                      ADDRESS ON FILE
ADA L RODRIGUEZ ALERS                   ADDRESS ON FILE
ADA L RUIZ FIGUEROA                     ADDRESS ON FILE
ADA L SANTIAGO MONTES                   ADDRESS ON FILE
ADA L VAZQUEZ SERRANO                   ADDRESS ON FILE
ADA L. DELGADO MATEO                    COND PORTICOS DE CUPEY    APT B202                                               SAN JUAN     PR      00926
ADA L. RIVERA CRUZ                      ADDRESS ON FILE
ADA L. SANTIAGO ROSAS                   ADDRESS ON FILE
ADA LEON SANTIAGO                       ADDRESS ON FILE
ADA LILY RAMIREZ OSORIO                 ADDRESS ON FILE
ADA LISSIE MUNOZ RUIZ                   ADDRESS ON FILE
ADA LIZ MAYSONET PEREZ                  ADDRESS ON FILE
ADA LOPEZ MARTINEZ                      ADDRESS ON FILE
ADA LUISA CORPORATION                   ADDRESS ON FILE
ADA LUZ BERRIOS RAYMUNDI                ADDRESS ON FILE
ADA LUZ COLON MELENDEZ                  ADDRESS ON FILE
ADA LUZ ROJAS CRUZ                      ADDRESS ON FILE
ADA M ALVAREZ PEREZ                     ADDRESS ON FILE
ADA M ARROYO QUILES                     ADDRESS ON FILE
ADA M BADILLO MUNIZ                     ADDRESS ON FILE
ADA M COLON BORRERO                     ADDRESS ON FILE
ADA M CRUZ TORRES                       ADDRESS ON FILE
ADA M FELICIO SOTO                      ADDRESS ON FILE
ADA M GONZALEZ RIVERA                   ADDRESS ON FILE
ADA M IRIZARRY MENDEZ                   ADDRESS ON FILE
ADA M LAUREANO/ JORGE L CASTRO GARCIA   ADDRESS ON FILE
ADA M MARTINEZ ANDUAJAR                 ADDRESS ON FILE
ADA M MENENDEZ SIERRA                   ADDRESS ON FILE
ADA M MORENO MOJICA                     ADDRESS ON FILE
ADA M NAZARIO SANTIAGO                  ADDRESS ON FILE
ADA M ORTIZ BERLINGERI                  ADDRESS ON FILE
ADA M PADRO GONZALEZ                    ADDRESS ON FILE
ADA M QUILES FIGUEROA                   ADDRESS ON FILE
ADA M QUINONES RODRIGUEZ                ADDRESS ON FILE
ADA M RAMOS DE GONZALEZ                 ADDRESS ON FILE
ADA M RAMOS VELAZQUEZ                   ADDRESS ON FILE
ADA M RIVERA BERRIOS                    ADDRESS ON FILE
ADA M RODRIGUEZ MUNOZ                   ADDRESS ON FILE
ADA M SANTIAGO NATAL                    ADDRESS ON FILE
ADA M SANTIAGO PONCE                    ADDRESS ON FILE
ADA M SANTOS SAEZ                       ADDRESS ON FILE
ADA M TORRES VENTURA                    ADDRESS ON FILE
ADA M VELAZQUEZ HERNANDEZ               ADDRESS ON FILE
ADA M YACE ALMODOVAR                    ADDRESS ON FILE
ADA M. ACEVEDO ACEVEDO                  ADDRESS ON FILE
ADA M. FELICIE SOTO                     ADDRESS ON FILE
ADA M. FELICIE SOTO                     ADDRESS ON FILE
ADA M. MERCADO BERIQUEZ                 ADDRESS ON FILE
ADA M. QUILES FIGUEROA                  ADDRESS ON FILE
ADA MAE COX RODRIGUEZ                   ADDRESS ON FILE
ADA MALAVE REYES                        ADDRESS ON FILE
ADA MARIES ORTEGA OLIVERAS              ADDRESS ON FILE
ADA MARTINEZ DELGADO                    ADDRESS ON FILE
ADA MARTINEZ RABASSA                    ADDRESS ON FILE
ADA MEDINA GARCIA                       ADDRESS ON FILE
ADA MERCADO RUIZ                        ADDRESS ON FILE




                                                                                    Page 85 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 86 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADA MICHEO MALDONADO          ADDRESS ON FILE
ADA MINDA TENORIO RODRIGUEZ   ADDRESS ON FILE
ADA MORALES DE LEON           ADDRESS ON FILE
ADA MULLER ACEVEDO            ADDRESS ON FILE
ADA N AGOSTO LOPEZ            ADDRESS ON FILE
ADA N ALGARIN FEBO            ADDRESS ON FILE
ADA N BALASQUIDE MORENO       ADDRESS ON FILE
ADA N CARTEGENA CINTRON       ADDRESS ON FILE
ADA N CORTEZ PEREZ            ADDRESS ON FILE
ADA N DE GONGORA BARYOLO      ADDRESS ON FILE
ADA N GARCIA BARBOSA          ADDRESS ON FILE
ADA N GUERRA VALDES           ADDRESS ON FILE
ADA N OQUENDO RIVERA          ADDRESS ON FILE
ADA N ORTIZ RIVERA            ADDRESS ON FILE
ADA N OTERO FRAGOSO           ADDRESS ON FILE
ADA N PAGAN ROSA              ADDRESS ON FILE
ADA N QUINONES GUADALUPE      ADDRESS ON FILE
ADA N RAMIREZ ECHEVARRIA      ADDRESS ON FILE
ADA N ROSARIO VEGA            ADDRESS ON FILE
ADA N SEPULVEDA ALANCASTRO    ADDRESS ON FILE
ADA N. BURGOS MALDONADO       ADDRESS ON FILE
ADA N.BELTRAN SAEZ            ADDRESS ON FILE
ADA NELLY LOPEZ RODRIGUEZ     ADDRESS ON FILE
ADA NIEVES CASTRO             ADDRESS ON FILE
ADA O. RODRIGUEZ COLON        ADDRESS ON FILE
ADA OCHOA ENCHAUTEGUI         ADDRESS ON FILE
ADA OCHOA ENCHAUTEGUI         ADDRESS ON FILE
ADA OQUENDO CARDONA           ADDRESS ON FILE
ADA ORTIZ TORRES              ADDRESS ON FILE
ADA P ORTIZ BERRIOS           ADDRESS ON FILE
ADA P ORTIZ BERRIOS           ADDRESS ON FILE
ADA PEREZ ORTIZ               ADDRESS ON FILE
ADA PINERO VEGA               ADDRESS ON FILE
ADA QUINONES ESCALERA         ADDRESS ON FILE
ADA QUINONES ESCALERA         ADDRESS ON FILE
ADA QUINONES ROMAN            ADDRESS ON FILE
ADA QUINONEZ ROMERO           ADDRESS ON FILE
ADA R BERRIOS CASTRODAD       ADDRESS ON FILE
ADA R CRUZ VELEZ              ADDRESS ON FILE
ADA R JUARBE GUZMAN           ADDRESS ON FILE
ADA R MOLINA CABRERA          ADDRESS ON FILE
ADA R RIVERA BAEZ             ADDRESS ON FILE
ADA R RIVERA FIGUEROA         ADDRESS ON FILE
ADA R RIVERA GARCIA           ADDRESS ON FILE
ADA R VILA CAPARROS           ADDRESS ON FILE
ADA REYES LARREGUI            ADDRESS ON FILE
ADA RIOS MARRERO              ADDRESS ON FILE
ADA RIOS RIVERA               ADDRESS ON FILE
ADA RIVERA GONZALEZ           ADDRESS ON FILE
ADA RIVERA GONZALEZ           ADDRESS ON FILE
ADA RIVERA GONZALEZ           ADDRESS ON FILE
ADA RODRIGUEZ LOPEZ           ADDRESS ON FILE
ADA RODRIGUEZ RUIZ            ADDRESS ON FILE
ADA RODRIGUEZ VILA            ADDRESS ON FILE
ADA ROMAN ANDINO              ADDRESS ON FILE
ADA ROSADO SANTIAGO           ADDRESS ON FILE
ADA S MARIN PAGAN             ADDRESS ON FILE
ADA S. ESTEVES VERGNE         ADDRESS ON FILE
ADA SANCHEZ COLLAZO           ADDRESS ON FILE
ADA SANTIAGO AGOSTO           ADDRESS ON FILE




                                                                          Page 86 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No. Matrix
                                                                                        17 BK 3283‐LTS Page 87 of 3500
                                                                                                          Creditor Matrix

Creditor Name                         Address1                                  Address2                                Address3           Address4             City          State   PostalCode   Country
ADA SANTIAGO MORALES                  ADDRESS ON FILE
ADA SILVA ALBINO                      ADDRESS ON FILE
ADA SOTO CAPELLA                      ADDRESS ON FILE
ADA SOTO CHABRIER                     ADDRESS ON FILE
ADA T CAPO DE COLLEY                  ADDRESS ON FILE
ADA T QUINONES MORELL                 ADDRESS ON FILE
ADA TORRES MUNOZ                      ADDRESS ON FILE
ADA TOSADO CASTRO                     ADDRESS ON FILE
ADA UGARTE/ JOSE DELGADO              ADDRESS ON FILE
ADA V GUEVARA SANTIAGO                ADDRESS ON FILE
ADA V HERNANDEZ NIEVES                ADDRESS ON FILE
ADA V ROCHE CARTAGENA                 ADDRESS ON FILE
ADA VEGA CAMACHO                      ADDRESS ON FILE
ADA VELISSE GONZALEZ ALEJANDRO        ADDRESS ON FILE
ADA VIDAL QUINONES                    ADDRESS ON FILE
ADA VILLALOBOS ABRIL                  ADDRESS ON FILE
ADA W PEREZ RAMIREZ                   ADDRESS ON FILE
ADA Y HERNANDEZ HERNANDEZ             ADDRESS ON FILE
ADA ZULMA ROMAN RIVERA                ADDRESS ON FILE
ADABERTA LACEN SANTOS                 ADDRESS ON FILE
ADACELIS PADILLA VARGAS               ADDRESS ON FILE
ADAIME MARTINEZ, SOFIA                ADDRESS ON FILE
ADAIMEE MEJIAS SANTOS                 ADDRESS ON FILE
ADAIR NERIS VEGA                      ADDRESS ON FILE
ADAIR O. PEREZ CASAS                  ADDRESS ON FILE
ADAL GROUP AND GENERAL CONTRACTORS    425 CARR 693 STE 1 PMB 370                                                                                                DORADO        PR      00646‐4817
ADALBERTA DIAZ PEREZ                  ADDRESS ON FILE
ADALBERTO A GARCIA Y CARMEN M MEDRANO ADDRESS ON FILE
ADALBERTO ALEJANDRO CASTILLO          ADDRESS ON FILE
ADALBERTO ALOMAR ROSARIO              ADDRESS ON FILE
ADALBERTO ARROYO CAMACHO              ADDRESS ON FILE
ADALBERTO BULTRON ESCALERA            ADDRESS ON FILE
ADALBERTO BULTRON ESCALERA            ADDRESS ON FILE
ADALBERTO CLAUDIO RAMOS               ADDRESS ON FILE
ADALBERTO CORREA GONZALEZ             ADDRESS ON FILE
ADALBERTO CRESPO TOSADO               ADDRESS ON FILE
ADALBERTO CRUZ HERNANDEZ              ADDRESS ON FILE
ADALBERTO DELGADO BURGOS              ADDRESS ON FILE
ADALBERTO DIAZ MELENDEZ               ADDRESS ON FILE
                                                                                                                                           1606 Ave. Ponce De
ADALBERTO DIAZ RODRIGUEZ               EILEEN LANDRÓN GUARDIOLA; EDUARDO VERA REDIFICIO JULIO BOGORICÍN                 SUITE 501          LEÓN                 SAN JUAN      PR      00909
ADALBERTO E. RODRIGUEZ POLANCO         ADDRESS ON FILE
ADALBERTO ESPADA ARROYO                ADDRESS ON FILE
ADALBERTO FIGUEROA ALICEA              ADDRESS ON FILE
ADALBERTO GONZALEZ CORREA              ADDRESS ON FILE
ADALBERTO GONZALEZ SANTANA             ADDRESS ON FILE
ADALBERTO GUZMAN ESTEVES               ADDRESS ON FILE
ADALBERTO IRIZARRY RAMOS V DTOP        LCDO. MIGUEL RODRÍGUEZ CARTAGENA           PMB 105                               CALL BOX 5004                           YAUCO         PR      00698
ADALBERTO LEON COLLAZO                 ADDRESS ON FILE
ADALBERTO LOPEZ CAPPAS                 ADDRESS ON FILE
ADALBERTO LOPEZ RODRIGUEZ              ADDRESS ON FILE
ADALBERTO LOPEZ SIERRA                 ADDRESS ON FILE
ADALBERTO LUCIANO MADERA               ADDRESS ON FILE
ADALBERTO LUYANDO BAEZ                 ADDRESS ON FILE
ADALBERTO MALDONADO MARTINEZ           ADDRESS ON FILE
ADALBERTO MATOS AVILES                 ADDRESS ON FILE
ADALBERTO MATTEI                       CRISTINA DÍAZ ATIENZA E ISABEL BERRÍOS‐DDO PO BOX 95                             VICTORIA STATION                        AGUADILLA     PR      00605
ADALBERTO MATTEI                       VÍCTOR M. SOLER OCHOA‐DTE                  PO BOX 222                                                                    YAUCO         PR      00698
ADALBERTO MATTEI                       VÍCTOR M. SOLER OCHOA‐DTE/ JORGE MARTÍNEZ513 JUAN JIMÉNEZ ST                                                             SAN JUAN      PR      00918
ADALBERTO MENDOZA VALLEJO/ DYNAMIC SOLAADDRESS ON FILE




                                                                                                          Page 87 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No. Matrix
                                                                                        17 BK 3283‐LTS Page 88 of 3500
                                                                                                               Creditor Matrix

Creditor Name                           Address1                                 Address2                                   Address3        Address4   City              State   PostalCode   Country
ADALBERTO MERCADO RIVERA                HÉCTOR CORTÉS BABILONIOA                 PO BOX 896                                                            ARECIBO           PR      00613
ADALBERTO MERCADO RIVERA                LCDO. JOSE E. SOLER OCHOA                PO BOX 896                                                            ARECIBO           PR      00613
ADALBERTO MERCADO RODRIGUEZ             ADDRESS ON FILE
ADALBERTO MOCTEZUMA APONTE              ADDRESS ON FILE
ADALBERTO MONROIG                       URB ALTAMESA 1411 CALLE SAN LUCAS                                                                              RIO PIEDRAS       PR      00921
ADALBERTO MONTANEZ RIVERA               ADDRESS ON FILE
ADALBERTO MUNET / MARISOL RIOS          ADDRESS ON FILE
ADALBERTO MUNIZ MEDINA                  ADDRESS ON FILE
ADALBERTO MUNOZ RODRIGUEZ               ADDRESS ON FILE
ADALBERTO NAVARRO GALLARDO              ADDRESS ON FILE
ADALBERTO NUNEZ LOPEZ                   ADDRESS ON FILE
ADALBERTO OPPENHEIMER RIVERA            ADDRESS ON FILE
ADALBERTO OQUENDO OQUENDO               ADDRESS ON FILE
ADALBERTO ORTEGA                        ADDRESS ON FILE
ADALBERTO ORTIZ COLLAZO                 LCDA FRANCES CARABALLO PIETRI            POBox 354                                                             TRUJILLO ALTO     PR      00977‐0354
ADALBERTO ORTIZ COLLAZO                 LCDA. FRANCES CARABALLO PIETRI‐ABOGADA DEPO BOX 354                                                            TRUJILLO ALTO     PR      00977‐0354
ADALBERTO ORTIZ MELÉNDEZ                ÁNGEL E. VEGA RAMOS                      COND. LAS TORRES NORTE OFIC. 3‐A                                      Bayamón           PR      00959
ADALBERTO OTERO COLON                   ADDRESS ON FILE
ADALBERTO PABON DEL RIO                 ADDRESS ON FILE
ADALBERTO PAGAN SANTIAGO                ADDRESS ON FILE
ADALBERTO QUILES GONZALEZ               ADDRESS ON FILE
ADALBERTO QUILES SANTIAGO               ADDRESS ON FILE
ADALBERTO QUINONES FUENTES              ADDRESS ON FILE
ADALBERTO R HERNANDEZ ABREU             ADDRESS ON FILE
ADALBERTO RAMIREZ MARRERO               ADDRESS ON FILE
ADALBERTO RAMOS CONSTRUCTION & INDU     PO BOX 3246                                                                                                    MANATI            PR      00674‐3246
ADALBERTO REYES LOPEZ                   ADDRESS ON FILE
ADALBERTO RIVERA CASTRO                 ADDRESS ON FILE
ADALBERTO RIVERA FEBUS                  ADDRESS ON FILE
ADALBERTO RIVERA FLORES                 ADDRESS ON FILE
ADALBERTO RIVERA GUADARRAMA             G.P.O. BOX 363424                                                                                              SAN JUAN          PR      00936
ADALBERTO RIVERA MANSO                  ADDRESS ON FILE
ADALBERTO RIVERA MARTINEZ               ADDRESS ON FILE
ADALBERTO RIVERA ORTIZ                  ADDRESS ON FILE
ADALBERTO RIVERA RAMOS                  ADDRESS ON FILE
ADALBERTO RIVERA SANTIAGO               ADDRESS ON FILE
ADALBERTO RODRIGUEZ                     ADDRESS ON FILE
ADALBERTO RODRIGUEZ MUNOZ               ADDRESS ON FILE
ADALBERTO RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
ADALBERTO RODRIGUEZ VEGA                ADDRESS ON FILE
ADALBERTO SANABRIA CASTRO               ADDRESS ON FILE
ADALBERTO SANDOVAL Y AMNERIS OMS RIVERA ADDRESS ON FILE
ADALBERTO SANTIAGO GARCIA               ADDRESS ON FILE
ADALBERTO SOTO DE JESUS                 ADDRESS ON FILE
ADALBERTO SOTO PACHECO                  ADDRESS ON FILE
ADALBERTO TORRES DOSAL                  ADDRESS ON FILE
ADALBERTO TORRES LOPEZ                  ADDRESS ON FILE
ADALBERTO TORRES MATOS Y ANDERSON LÓPEZALFREDO UMPIERRE SOLER                    10 CARR. 174                               AGUSTÍN STAHL              Bayamón           PR      00956
ADALBERTO VALENTIN ROSARIO              ADDRESS ON FILE
ADALBERTO VAZQUEZ TORRES                ADDRESS ON FILE
ADALBERTO VEGA MUNOZ                    ADDRESS ON FILE
ADALBERTO VEGA ZARAGOZA                 ADDRESS ON FILE
ADALBERTO VEGA ZARAGOZA                 ADDRESS ON FILE
ADALBERTO VIRUET RUBERT                 ADDRESS ON FILE
ADALEEN DEL RIO DIAZ                    ADDRESS ON FILE
ADALEEN PENA ROSADO                     ADDRESS ON FILE
ADALGISA GARCIA MARCUSSI                ADDRESS ON FILE
ADALGISA HUAHES HERNANDEZ               ADDRESS ON FILE
ADALGISA J FERREIRA                     ADDRESS ON FILE
ADALGISA MILLAN RAMOS                   ADDRESS ON FILE




                                                                                                              Page 88 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 89 of 3500
                                                                                                           Creditor Matrix

Creditor Name                             Address1                            Address2                                   Address3   Address4   City         State   PostalCode   Country
ADALI BERRIOS RIVERA                      ADDRESS ON FILE
ADALI DELGADO BATISTA                     ADDRESS ON FILE
ADALI VELEZ QUINONES                      ADDRESS ON FILE
ADALICE GONZALEZ MELENDEZ                 ADDRESS ON FILE
ADALICE GONZALEZ MELENDEZ                 ADDRESS ON FILE
ADALID A. CASTRO CARRERAS                 ADDRESS ON FILE
ADALID CASTRO CARRERAS                    ADDRESS ON FILE
ADALIDEZ LOPEZ CARABALLO                  ADDRESS ON FILE
ADALINA SANTIAGO BERRIOS                  ADDRESS ON FILE
ADALINE SANTIAGO PEREZ                    ADDRESS ON FILE
ADALINE SANTINI SANTA                     ADDRESS ON FILE
ADALINO CRESPO VAZQUEZ                    ADDRESS ON FILE
ADALIS FABRE MARTES                       ADDRESS ON FILE
ADALIS GALARZA MERCADO                    ADDRESS ON FILE
ADALIS LOPEZ SANTIAGO                     ADDRESS ON FILE
ADALIS LUGO COLON                         ADDRESS ON FILE
ADALIS M PADILLA ALICEA                   ADDRESS ON FILE
ADALIS MARQUEZ RAMIREZ                    ADDRESS ON FILE
ADALIS QUINONES CALDERO                   ADDRESS ON FILE
ADALIS SANTIAGO OTERO                     ADDRESS ON FILE
ADALISSE ACEVEDO ORTIZ,MIGUEL A ACEVEDO   ADDRESS ON FILE
ADALISSE BORGES                           ADDRESS ON FILE
ADALISSE BORGES HERNÁNDEZ                 AVE PALACIOS DE VERSALLES           PALACIOS DE VERSALLES 1710                                       TOA ALTA     PR      00953‐6000
ADALITZA ROSADO ROBLES                    ADDRESS ON FILE
ADALIZ ECHEVARRIA LABOY                   ADDRESS ON FILE
ADALIZ MARQUEZ VILLANUEVA                 ADDRESS ON FILE
ADALIZ MENDEZ MACEDA                      ADDRESS ON FILE
ADALIZ RAMIREZ RIVERA                     ADDRESS ON FILE
ADALIZ ROSARIO                            ADDRESS ON FILE
ADALIZ ROSARIO PANTOJA                    ADDRESS ON FILE
ADALIZ SAYAN RESTO                        ADDRESS ON FILE
ADALIZ SONERA CRUZ                        ADDRESS ON FILE
ADALIZ SOUFFRONT FEBUS                    ADDRESS ON FILE
ADALIZ VAZQUEZ RESTO                      ADDRESS ON FILE
ADALIZ ZAYAS CLASS                        ADDRESS ON FILE
ADALJISA MARTINEZ MARQUEZ                 ADDRESS ON FILE
ADALLITZ LOPEZ ALMODOVAR                  ADDRESS ON FILE
ADALLITZ LOPEZ ALMODOVAR                  ADDRESS ON FILE
ADALMIZZA DE LEON CANAAN                  ADDRESS ON FILE
ADALVERTO VEGA SANTANA                    ADDRESS ON FILE
ADALYN M. GAETAN CLAUDIO                  ADDRESS ON FILE
ADALYS DIAZ ORTIZ                         ADDRESS ON FILE
ADALYS GONZALEZ RAMOS                     ADDRESS ON FILE
ADAM A VEGA VEGA                          ADDRESS ON FILE
ADAM A. INGRAFFEA GODORSKY                ADDRESS ON FILE
ADAM ALICEA PABLOS                        ADDRESS ON FILE
ADAM CASIANO BELTRAN                      ADDRESS ON FILE
ADAM CORDERO PEREZ                        ADDRESS ON FILE
ADAM DUCHASNE MARRERO                     ADDRESS ON FILE
ADAM E. RODRIGUEZ TORRES                  ADDRESS ON FILE
ADAM F MARTINEZ/ LIMARIS FIGUEROA         ADDRESS ON FILE
ADAM I RAMOS SANTANA                      ADDRESS ON FILE
ADAM N LUGO ROSARIO                       ADDRESS ON FILE
ADAM SERAZO, MIGUEL A                     ADDRESS ON FILE
ADAM SUAREZ, CLAUDIO                      ADDRESS ON FILE
ADAM, CLAUDIO                             ADDRESS ON FILE
ADAMAH CARP                               DIEGO PENALOZA 1926 URB FAIR VIEW                                                                    SAN JUAN     PR      00926
ADAMAH CORP                               URB FAIR VIEW                       1926 CALLE DIEGO PENALOZA                                        SAN JUAN     PR      00926
ADAMARIS CARDONA GOMEZ                    ADDRESS ON FILE
ADAMARIS GONZALEZ ALVARADO                ADDRESS ON FILE




                                                                                                           Page 89 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No. Matrix
                                                                                17 BK 3283‐LTS Page 90 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADAMARIS MILLAN CRUZ             ADDRESS ON FILE
ADAMARIS PEREZ ROSARIO           ADDRESS ON FILE
ADAMARIS X MERCADO OLIVERAS      ADDRESS ON FILE
ADAMES AQUINO, AIDA I            ADDRESS ON FILE
ADAMES AQUINO, CARMEN O          ADDRESS ON FILE
ADAMES AQUINO, JUAN              ADDRESS ON FILE
ADAMES AVILES, BLANCA I.         ADDRESS ON FILE
ADAMES BAEZ, BLANCA              ADDRESS ON FILE
ADAMES BERRIOS, ANTHONY          ADDRESS ON FILE
ADAMES BERRIOS, ROBERT           ADDRESS ON FILE
ADAMES BONILLA, RICARDO          ADDRESS ON FILE
ADAMES BONILLA, YAREYBO          ADDRESS ON FILE
ADAMES BORGES, LUIS              ADDRESS ON FILE
ADAMES BORRERO, LINETTE I        ADDRESS ON FILE
ADAMES BORRERO, MARIA            ADDRESS ON FILE
ADAMES BORRERO, VIDALIA          ADDRESS ON FILE
ADAMES CANCEL, ANA T             ADDRESS ON FILE
ADAMES CANCEL, GARRY             ADDRESS ON FILE
Adames Cancel, Garry A.          ADDRESS ON FILE
Adames Cardona, Edgar            ADDRESS ON FILE
ADAMES CARDONA, JAQUELINE        ADDRESS ON FILE
Adames Cardona, Orlando          ADDRESS ON FILE
ADAMES CASTILLO, ANTINOE         ADDRESS ON FILE
ADAMES COLLAZO, EVELYN           ADDRESS ON FILE
ADAMES COLON, DAVID              ADDRESS ON FILE
ADAMES COLON, MANUEL             ADDRESS ON FILE
ADAMES CORRALIZA, ANGEL S        ADDRESS ON FILE
ADAMES CRESPO, AMARILIS          ADDRESS ON FILE
ADAMES CRUZ, AMALIA              ADDRESS ON FILE
ADAMES CRUZ, EDNA I              ADDRESS ON FILE
ADAMES CRUZ, FRANCISCO           ADDRESS ON FILE
ADAMES CRUZ, HAYDEE              ADDRESS ON FILE
ADAMES CRUZ, IRIS                ADDRESS ON FILE
ADAMES CRUZ, MYRIAM              ADDRESS ON FILE
ADAMES DE JESUS, JOSE            ADDRESS ON FILE
ADAMES DIAZ, IVELISSE            ADDRESS ON FILE
ADAMES DIAZ, LUZ N               ADDRESS ON FILE
ADAMES DIAZ, MANUEL              ADDRESS ON FILE
ADAMES DURAN, EDUVAR             ADDRESS ON FILE
ADAMES DURAN, EDUVAR             ADDRESS ON FILE
ADAMES DURAN, JOSE               ADDRESS ON FILE
ADAMES DURAN, MELISSA            ADDRESS ON FILE
ADAMES DURAN, WALESKA            ADDRESS ON FILE
ADAMES FALCON, ARCADIO           ADDRESS ON FILE
Adames Figueroa, Alberto         ADDRESS ON FILE
ADAMES FIGUEROA, ALBERTO         ADDRESS ON FILE
ADAMES FIGUEROA, JOSE            ADDRESS ON FILE
Adames Figueroa, Jose Juan       ADDRESS ON FILE
Adames Figueroa, Nestor          ADDRESS ON FILE
Adames Ha, Israel A              ADDRESS ON FILE
ADAMES HERNANDEZ, MARIA DEL R.   ADDRESS ON FILE
ADAMES INFANTE, RAMON            ADDRESS ON FILE
ADAMES LISOJO, LEONARDO          ADDRESS ON FILE
ADAMES LOPEZ, LESLIE J           ADDRESS ON FILE
ADAMES LUGO, ROSA                ADDRESS ON FILE
ADAMES MALDONADO, CHRISTIAN      ADDRESS ON FILE
ADAMES MARIANI, ROSE M.          ADDRESS ON FILE
ADAMES MARTELL, HECTOR           ADDRESS ON FILE
ADAMES MARTINEZ, CARMEN J        ADDRESS ON FILE
ADAMES MARTINEZ, ELBA            ADDRESS ON FILE




                                                                             Page 90 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No. Matrix
                                                                             17 BK 3283‐LTS Page 91 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADAMES MARTINEZ, JULIO        ADDRESS ON FILE
ADAMES MENDEZ, EMERITO        ADDRESS ON FILE
ADAMES MENDEZ, KELVIN J       ADDRESS ON FILE
ADAMES MENDEZ, OBED           ADDRESS ON FILE
ADAMES MENDEZ, RAQUEL Y.      ADDRESS ON FILE
Adames Mendez, Raul           ADDRESS ON FILE
ADAMES MERCADO, ALICIA        ADDRESS ON FILE
ADAMES MERCADO, ANIBAL        ADDRESS ON FILE
ADAMES MERCADO, ELSA          ADDRESS ON FILE
ADAMES MERCADO, ESTHER        ADDRESS ON FILE
ADAMES MERCADO, JENNIFER      ADDRESS ON FILE
ADAMES MERCADO, JOSE L        ADDRESS ON FILE
ADAMES MERCADO, JUAN          ADDRESS ON FILE
ADAMES MERCADO, WALESKA       ADDRESS ON FILE
ADAMES MILLAN, JUAN           ADDRESS ON FILE
ADAMES MUNIZ, CARMEN          ADDRESS ON FILE
Adames Muniz, Felix A         ADDRESS ON FILE
ADAMES MUNIZ, HECTOR N.       ADDRESS ON FILE
ADAMES MUNIZ, NILDA I.        ADDRESS ON FILE
ADAMES NIEVES, JESSICA        ADDRESS ON FILE
ADAMES OLIVERO, IVETTE        ADDRESS ON FILE
ADAMES ORENSE, VANESSA        ADDRESS ON FILE
ADAMES ORTIZ, HECTOR F.       ADDRESS ON FILE
ADAMES ORTIZ, HECTOR F.       ADDRESS ON FILE
ADAMES ORTIZ, HÉCTOR F.       ADDRESS ON FILE
ADAMES PEREZ SANCHEZ          ADDRESS ON FILE
ADAMES PEREZ, ORLANDO         ADDRESS ON FILE
ADAMES PEREZ, ORLANDO M       ADDRESS ON FILE
ADAMES PEREZ, SAMARA I        ADDRESS ON FILE
ADAMES PEREZ, WANDA           ADDRESS ON FILE
ADAMES QUINONES, JUAN R       ADDRESS ON FILE
ADAMES QUINTANA, NANETTE      ADDRESS ON FILE
ADAMES QUINTANA, OMAIRA       ADDRESS ON FILE
ADAMES RAMOS, FRANCISCO       ADDRESS ON FILE
ADAMES RAMOS, JENIDZA         ADDRESS ON FILE
ADAMES RAMOS, JUAN            ADDRESS ON FILE
ADAMES RAMOS, JUAN E          ADDRESS ON FILE
ADAMES RAMOS, MARILYN         ADDRESS ON FILE
ADAMES ROA MD, DIOGENES       ADDRESS ON FILE
ADAMES ROA, DIOGENES          ADDRESS ON FILE
ADAMES RODRIGUEZ, DUHAMEL     ADDRESS ON FILE
ADAMES RODRIGUEZ, EVELYN      ADDRESS ON FILE
ADAMES RODRIGUEZ, KATHERINE   ADDRESS ON FILE
ADAMES RODRIGUEZ, RAMON       ADDRESS ON FILE
ADAMES ROMAN, ANTONIO         ADDRESS ON FILE
ADAMES ROMAN, HUGO A          ADDRESS ON FILE
ADAMES ROMERO, DAVID          ADDRESS ON FILE
ADAMES ROSA, BRUNILDA         ADDRESS ON FILE
Adames Santana, Dafne         ADDRESS ON FILE
ADAMES SANTANA, GLADYS        ADDRESS ON FILE
ADAMES SANTIAGO, ALBERTO      ADDRESS ON FILE
ADAMES SANTIAGO, ALFRED       ADDRESS ON FILE
ADAMES SANTIAGO, CHRISTIAN    ADDRESS ON FILE
ADAMES SANTIAGO, CHRISTIAN    ADDRESS ON FILE
ADAMES SANTIAGO, IVELISSE     ADDRESS ON FILE
ADAMES SANTIAGO, MIGDALIA     ADDRESS ON FILE
ADAMES SERRANO, ANGEL         ADDRESS ON FILE
ADAMES SERRANO, DORIAN J.     ADDRESS ON FILE
Adames Soto, Brenda Liz       ADDRESS ON FILE
ADAMES SOTO, NERY E.          ADDRESS ON FILE




                                                                          Page 91 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No. Matrix
                                                                                     17 BK 3283‐LTS Page 92 of 3500
                                                                                         Creditor Matrix

Creditor Name                         Address1                  Address2                               Address3   Address4   City         State   PostalCode   Country
ADAMES TIRADO, LORAINE N.             ADDRESS ON FILE
ADAMES TIRADO, MICHELLE M             ADDRESS ON FILE
ADAMES TIRADO, SASHA N                ADDRESS ON FILE
ADAMES TORRES, FRANCISCA              ADDRESS ON FILE
ADAMES VALENTIN, CARLOS               ADDRESS ON FILE
ADAMES VARGAS, ELIGIO                 ADDRESS ON FILE
ADAMES VARGAS, JASON R.               ADDRESS ON FILE
ADAMES VELEZ, ARCELIA                 ADDRESS ON FILE
ADAMES VELEZ, HECTOR                  ADDRESS ON FILE
ADAMES VELEZ, LAURA E                 ADDRESS ON FILE
ADAMES VELEZ, TOMASA                  ADDRESS ON FILE
ADAMES VERA, ADAMARIS                 ADDRESS ON FILE
ADAMES VERA, ADAMARIS                 ADDRESS ON FILE
ADAMES, CARLOS                        ADDRESS ON FILE
ADAMIL INC DBA COCINAS MIGUEL ANGEL   URB PARK GARDENS          P 10 CALLE CHAPULTEPEC                                       SAN JUAN     PR      00924
ADAMINA SANTIAGO LOPEZ                ADDRESS ON FILE
ADAMINTA FELICIANO ESTRADA            ADDRESS ON FILE
ADAMIS RAMOS SANTIAGO                 ADDRESS ON FILE
ADAMITZA C MATUTE BONIVE              ADDRESS ON FILE
ADAMS A ENCARNACION MENDEZ            ADDRESS ON FILE
ADAMS AMADOR, ANGELA                  ADDRESS ON FILE
ADAMS AMADOR, DOTMA C.                ADDRESS ON FILE
ADAMS AMILL, HECTOR                   ADDRESS ON FILE
ADAMS ARBONA, CHRISTINA M             ADDRESS ON FILE
ADAMS AYALA, JOHN                     ADDRESS ON FILE
ADAMS BARRETO, ADMA I                 ADDRESS ON FILE
Adams Benjamin, Jimmy                 ADDRESS ON FILE
ADAMS COLON, JORGE                    ADDRESS ON FILE
ADAMS COLON, NILO                     ADDRESS ON FILE
ADAMS CORCINO, YARIDIA                ADDRESS ON FILE
ADAMS DIAZ SEVERINO                   ADDRESS ON FILE
ADAMS ERAZO, FIORDALIZA Z             ADDRESS ON FILE
ADAMS GONZALEZ, JAIME                 ADDRESS ON FILE
ADAMS GOYCO, JANET                    ADDRESS ON FILE
ADAMS HERRERA, ADRIENNE               ADDRESS ON FILE
ADAMS LOPEZ, SARA                     ADDRESS ON FILE
Adams Matias, Elvin E                 ADDRESS ON FILE
ADAMS MD, GLENN                       ADDRESS ON FILE
ADAMS MONELL, GLORYNETTE              ADDRESS ON FILE
ADAMS PALOS, AUREA                    ADDRESS ON FILE
ADAMS PEREZ, ANA E.                   ADDRESS ON FILE
ADAMS PEREZ, SANDRA I                 ADDRESS ON FILE
ADAMS QUESADA, FRANCISCO J.           ADDRESS ON FILE
ADAMS QUESADA, YAMIRA M               ADDRESS ON FILE
ADAMS REYES, JUAN                     ADDRESS ON FILE
ADAMS RODRIGUEZ, ELSA                 ADDRESS ON FILE
ADAMS RODRIGUEZ, JOSE                 ADDRESS ON FILE
ADAMS ROMERO, JOSE                    ADDRESS ON FILE
ADAMS STONE, JESSICA                  ADDRESS ON FILE
ADAMS VAZQUEZ, JOSE                   ADDRESS ON FILE
ADAMS VEGA, ALEXANDER S.              ADDRESS ON FILE
ADAMS VEGA, CHRIS M.                  ADDRESS ON FILE
ADAMS ZAMBRANA, DAIANNA               ADDRESS ON FILE
ADAMS, JARED                          ADDRESS ON FILE
ADAN A RIVERA RODRIGUEZ               ADDRESS ON FILE
ADAN A SANTIAGO VAZQUEZ               ADDRESS ON FILE
ADAN ARRAY OCASIO                     ADDRESS ON FILE
ADAN CORREA LOPEZ                     ADDRESS ON FILE
ADAN M TEJADA                         ADDRESS ON FILE
ADAN MORENO, BARBARA                  ADDRESS ON FILE




                                                                                         Page 92 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No. Matrix
                                                                                      17 BK 3283‐LTS Page 93 of 3500
                                                                                                                Creditor Matrix

Creditor Name                          Address1                                   Address2                                   Address3   Address4   City              State   PostalCode   Country
ADAN MORENO, JOHAN                     ADDRESS ON FILE
ADAN NIEVES NEVAREZ                    ADDRESS ON FILE
ADAN NIEVES NEVAREZ                    ADDRESS ON FILE
ADAN O JUSINO RODRIGUEZ                ADDRESS ON FILE
ADAN OLIVERAS SUAREZ                   ADDRESS ON FILE
ADAN RIVERA IRIZARRY                   ADDRESS ON FILE
Adan Rivera Morales                    ADDRESS ON FILE
ADAN ROSA TORRES                       ADDRESS ON FILE
ADAN ROVIRA RONDA                      ADDRESS ON FILE
ADAN SENQUIZ LEBRON                    ADDRESS ON FILE
ADAN TORRES MARTINEZ                   ADDRESS ON FILE
ADAN VALENTIN, CARLA E                 ADDRESS ON FILE
ADANIT RODRIGUEZ GONZALEZ              ADDRESS ON FILE
ADANITTE RIVERA                        ADDRESS ON FILE
ADANIVIA SILVA VELAZQUEZ               ADDRESS ON FILE
ADANYL LINARES                         ADDRESS ON FILE
ADAP PSYCHOLOGY & CONSULTING           CALLE ISLETA #3 APT 3D COND LAS TORRES SUR                                                                  BAYAMON           PR      00959
ADAPTABLE PATHS INC                    MUSEUM TOWER                               312 AVE DE DIEGO STE 401                                         SAN JUAN          PR      00909
ADAPTIVE DIGITAL SYSTEMS INC           20322 SW ACACIA STREET                                                                                      NEWPORT BEACH     CA      92260
ADAPTIVE REAL STATE INCOME TRUST INC   1560 DALLAS PARKWAY STE 600                                                                                 TEXAS             TX      75001
ADARICH DEL VALLE, GRACE               ADDRESS ON FILE
ADARIS GARCIA OTERO                    ADDRESS ON FILE
AÐASCO REFRIGERATION                   RR 4 BOX 16004                                                                                              AÐASCO            PR      00610
ADAYERISES MALDONADO ORTIZ             ADDRESS ON FILE
ADCA PROPERTY NETWORK INC              PO BOX 367832                                                                                               SAN JUAN          PR      00936
ADCOMPLETE.COM, LLC                    4536 GROVE PARK                                                                                             TALLAHASSEE       FL      32311
ADDARICH AYALA, HECTOR                 ADDRESS ON FILE
ADDARICH DAVILA, HELEN                 ADDRESS ON FILE
ADDARICH DEL VALLE, FE E               ADDRESS ON FILE
ADDARICH DEL VALLE, SOCORRO            ADDRESS ON FILE
ADDARICH RAMOS, CATHERINE              ADDRESS ON FILE
ADDARICH RIVERA, MYRNA R               ADDRESS ON FILE
ADDIANA NEGRON MORA                    ADDRESS ON FILE
ADDIE GONZALEZ MARTINEZ                ADDRESS ON FILE
ADDIE M ARROYO RIVERA                  ADDRESS ON FILE
ADDIEL J AYALA COTTO                   ADDRESS ON FILE
ADDISON RODRIGUEZ ALMODOVAR            ADDRESS ON FILE
ADDISON WESLEY IBEROAMERICANA          ADDRESS ON FILE
ADDISON WESLEY IBEROAMERICANA          ADDRESS ON FILE
ADDISON WESLEY PUBLISHING              1 JACOB WAY                                                                                                 READING           MA      01867
ADDLYS JEANETTE DIAZ RODRIGUEZ         ADDRESS ON FILE
ADDO PEREZ VALENTIN                    ADDRESS ON FILE
ADDO PEREZ VALENTIN                    ADDRESS ON FILE
ADDY E RAMOS ROBLES                    ADDRESS ON FILE
ADDY POLANCO VAZQUEZ                   ADDRESS ON FILE
ADDYRIS W FERNANDEZ MEDERO             ADDRESS ON FILE
ADDYS PE¥A AVILES                      ADDRESS ON FILE
ADEA                                   PO BOX 9200                                                                                                 SAN JUAN          PR      00908
ADEISHA M ARZUAGA QUINONEZ             ADDRESS ON FILE
ADEL ABOUKHEIR                         ADDRESS ON FILE
ADEL J TORRES RODRIGUEZ                ADDRESS ON FILE
ADEL M PICA MALAVE                     ADDRESS ON FILE
ADEL MIRANDA RAMOS                     ADDRESS ON FILE
ADELA ALICEA SANCHEZ                   ADDRESS ON FILE
ADELA BURGOS COLON                     ADELA BURGOS COLON (DERECHO PROPIO)        CALLE JASMÍN S‐4 URB JARDINES DE BORINQUEN                       CAROLINA          PR      00785
ADELA CEDENO Y/O BENJAMIN CEDENO       ADDRESS ON FILE
ADELA CORDERO ORTIZ                    ADDRESS ON FILE
ADELA E DAVILA MEDINA                  ADDRESS ON FILE
ADELA ELISA INFANTE INFANTE            ADDRESS ON FILE
ADELA ENCARNACION RIVERA               ADDRESS ON FILE




                                                                                                               Page 93 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 94 of 3500
                                                                                               Creditor Matrix

Creditor Name                            Address1                               Address2                     Address3   Address4   City         State   PostalCode   Country
ADELA ESTRELLA ESTRELLA                  ADDRESS ON FILE
ADELA LABOY MONTANEZ                     ADDRESS ON FILE
ADELA M LA FONTANE FIGUEROA              ADDRESS ON FILE
ADELA M. RIVERA ALONSO                   ADDRESS ON FILE
ADELA MORENO MEDRANO                     ADDRESS ON FILE
ADELA N CASTRO PRIETO                    ADDRESS ON FILE
ADELA PASTOR MARQUEZ                     ADDRESS ON FILE
ADELA PEREZ                              ADDRESS ON FILE
ADELA PEREZ RESTO                        ADDRESS ON FILE
ADELA PEREZ SUAREZ                       ADDRESS ON FILE
ADELA REYES CRUZ                         ADDRESS ON FILE
ADELA RIVERA COTTO                       ADDRESS ON FILE
ADELA RODRIGUEZ COLON                    ADDRESS ON FILE
ADELA ROMERO PIZARRO                     ADDRESS ON FILE
ADELA SANTIAGO Y/O BIENVENIDO SANTIAGO ADDRESS ON FILE
ADELA SEDA ORTIZ                         ADDRESS ON FILE
ADELA SEGARRA PALMER                     ADDRESS ON FILE
ADELA TORRES SANTOS                      ADDRESS ON FILE
ADELA TORRES VELAZQUEZ                   ADDRESS ON FILE
ADELAIDA ALVARADO CRUZ                   ADDRESS ON FILE
ADELAIDA ALVAREZ REYES                   ADDRESS ON FILE
ADELAIDA BAEZ // HOGAR SAN MIGUEL        ADDRESS ON FILE
ADELAIDA CABAN CABAN                     ADDRESS ON FILE
ADELAIDA CEDENO LOPEZ                    ADDRESS ON FILE
ADELAIDA COLON RODRIGUEZ                 ADDRESS ON FILE
ADELAIDA CONNER ESCOBAR                  ADDRESS ON FILE
ADELAIDA CRESPO RIVERA                   ADDRESS ON FILE
ADELAIDA CRUZ PEREZ                      ADDRESS ON FILE
ADELAIDA DIAZ ALICEA                     ADDRESS ON FILE
ADELAIDA DIAZ DELGADO                    ADDRESS ON FILE
ADELAIDA DIAZ VELAZQUEZ                  ADDRESS ON FILE
ADELAIDA LEON SANTIAGO                   ADDRESS ON FILE
ADELAIDA M RODRIGUEZ CANCEL              ADDRESS ON FILE
ADELAIDA MALAVE RODRIGUEZ                ADDRESS ON FILE
ADELAIDA MEDINA ROBLEDO                  LCDO. JOSÉ M. CASANOVA EDELMANN‐ABOGADODOMENECH 224                 SUITE 2               SAN JUAN     PR      00918
ADELAIDA MELENDEZ SASTRE                 ADDRESS ON FILE
ADELAIDA MUNIZ RIVERA                    ADDRESS ON FILE
ADELAIDA P SVEI                          ADDRESS ON FILE
ADELAIDA RAMOS BAEZ                      ADDRESS ON FILE
ADELAIDA RAMOS HIRALDO                   ADDRESS ON FILE
ADELAIDA RIOS Y/O JACKELINE QUINONES     ADDRESS ON FILE
ADELAIDA RIVERA ESCRIBANO                ADDRESS ON FILE
ADELAIDA RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
ADELAIDA ROMAN GONZALEZ                  ADDRESS ON FILE
ADELAIDA ROSARIO SOTO                    ADDRESS ON FILE
ADELAIDA RUIZ CRUZ                       ADDRESS ON FILE
ADELAIDA S. BAEZ TEJADA/HOGAR SAN MIGUEL ADDRESS ON FILE
ADELAIDA SANTOS ROSARIO                  ADDRESS ON FILE
ADELAIDA SOTO BOSQUES                    ADDRESS ON FILE
ADELAIDA TORRES SAEZ                     ADDRESS ON FILE
ADELAIDA VAZQUEZ GONZALEZ                ADDRESS ON FILE
ADELANTE INC.                            P.O. BOX 571                                                                              LUQUILLO     PR      00773
ADELARDI DE DIEGO, ROBERTO               ADDRESS ON FILE
ADELE F MANUELIAN                        ADDRESS ON FILE
ADELE GONZALEZ ELIZALDE                  ADDRESS ON FILE
ADELEIN IRIZARRY ARROYO                  ADDRESS ON FILE
ADELFA LUGO LLITERAS                     ADDRESS ON FILE
ADELIA I ACEVEDO CLASS                   ADDRESS ON FILE
ADELICIA RIVERA ORTIZ                    ADDRESS ON FILE
ADELINA AYALA RAMIREZ                    ADDRESS ON FILE




                                                                                               Page 94 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 95 of 3500
                                                                                                          Creditor Matrix

Creditor Name                           Address1                           Address2                                    Address3   Address4   City             State   PostalCode   Country
ADELINA CAMACHO PEREZ                   ADDRESS ON FILE
ADELINA CARMONA DE ROSARIO              ADDRESS ON FILE
ADELINA LOPEZ SANTIAGO                  ADDRESS ON FILE
ADELINA NEGRON CORTES                   ADDRESS ON FILE
ADELINA PADILLA PERDOMO                 ADDRESS ON FILE
ADELINA PARES                           ADDRESS ON FILE
ADELINA RAMIREZ MENDEZ                  ADDRESS ON FILE
ADELINA RODRIGUEZ Y HERIBERTO ORTIZ     ADDRESS ON FILE
ADELINA SOTO                            ADDRESS ON FILE
ADELINCEL CASTRO VILLANUEVA             ADDRESS ON FILE
ADELINCEL CASTRO VILLANUEVA             ADDRESS ON FILE
ADELINE RODRIGUEZ SEBASTIAN             ADDRESS ON FILE
ADELINO SANCHEZ CLAUDIO                 ADDRESS ON FILE
ADELINZY GRACE VAZQUEZ                  ADDRESS ON FILE
ADELIRIE TORRES TORRES                  ADDRESS ON FILE
ADELIRIS MALDONADO CARATINI             ADDRESS ON FILE
ADELIS GARCIA DELGADO                   ADDRESS ON FILE
ADELITA I TORRES MORALES                ADDRESS ON FILE
ADELIZA SANTIAGO/ HERIBERTO MELENDEZ    ADDRESS ON FILE
ADELMA CINTRON DIAZ                     LCDA. ALEXANDRA SANCHEZ MITCHELL   101 AVE. SAN PATRICIO SUITE 1120                                  GUAYNABO         PR      00968
ADELMARIE MERCADO ROMERO                ADDRESS ON FILE
ADELNYS O. DE LEON ALVAREZ              ADDRESS ON FILE
ADELPHIA COMMUNICATIONS CORP            ADDRESS ON FILE
ADELSON IRIZARRY TORRES                 ADDRESS ON FILE
ADEMARIS HERNANDEZ ORTIZ                ADDRESS ON FILE
ADEMARIS RODRIGUEZ MATEO                ADDRESS ON FILE
ADEN WHITE, WANEEN L                    ADDRESS ON FILE
ADENDI‐ARCHIVO DIGITAL DE EL NUEVO DIA  ADDRESS ON FILE
ADERMAN COTTO RODRIGUEZ                 ADDRESS ON FILE
ADERMAN MALDONADO CUBI                  ADDRESS ON FILE
ADETONA MD , ADETUTU B                  ADDRESS ON FILE
ADG JANITORIAL SUPPLY                   CALLE RAFAEL LASA                  PO BOX 417                                                        AGUAS BUENAS     PR      00703
ADG JANITORIAL SUPPLY                   PO BOX 417                                                                                           AGUAS BUENAS     PR      00703
ADIA G ARROYO PAGAN                     ADDRESS ON FILE
ADIA LEE RAMIREZ SANTOS                 ADDRESS ON FILE
ADIANA COLON MUNIZ                      ADDRESS ON FILE
ADIANEZ ALVIRA GONZALEZ                 ADDRESS ON FILE
ADIANEZ MATOS NEGRON                    ADDRESS ON FILE
ADIANEZ ORTEGA ZABALETA                 ADDRESS ON FILE
ADIANEZ ORTEGA ZABALETA                 ADDRESS ON FILE
ADIANEZ VARGAS DELGADO                  ADDRESS ON FILE
ADIANEZ VILLAFANE MENDOZA               ADDRESS ON FILE
ADIARIS M CARDONA RIOS                  ADDRESS ON FILE
ADIARIS SUSETTE DE JESUS FIGUEROA       ADDRESS ON FILE
ADIBAL ARROYO RIVERA                    ADDRESS ON FILE
ADIBEL RIJO SANCHEZ                     ADDRESS ON FILE
ADID M ROMAN TEXIDOR                    ADDRESS ON FILE
ADIEL ALAMO                             ADDRESS ON FILE
ADIEL M NIEVES SANTIAGO                 ADDRESS ON FILE
ADIEL MATOS RODRIGUEZ                   ADDRESS ON FILE
ADIEL MOLINA VARGAS                     ADDRESS ON FILE
ADIEL RAMOS BAEZ                        ADDRESS ON FILE
ADIEL TOLLINCHI BEAUCHAMP               ADDRESS ON FILE
ADIELCO CONTRUCTION COPR                EDIF VICK CENTER                   301 A AVE MUNOZ RIVERA                                            SAN JUAN         PR      00925
ADIENA J RODRIGUEZ MATER                ADDRESS ON FILE
ADIER J COLON JIMENEZ                   ADDRESS ON FILE
ADIESTRAMIENTO Y DESAROLLO ORGANIZACION 506‐A CALLE JUAN JIMENEZ                                                                             SAN JUAN         PR      00918
ADIEX INC [IMPORTADORA ESPANOLA         ADDRESS ON FILE
ADIL ROSA RIVERA                        ADDRESS ON FILE
ADILEN ALVERIO DE JESUS                 ADDRESS ON FILE




                                                                                                         Page 95 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 96 of 3500
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                 Address2                                      Address3   Address4   City            State   PostalCode   Country
ADILEN MOLINA VAZQUEZ                    ADDRESS ON FILE
ADILIA ALAMO VELAZQUEZ                   ADDRESS ON FILE
ADILIA PERALTA GARCIA                    ADDRESS ON FILE
ADIN CABA VIROLA                         ADDRESS ON FILE
ADINA PASNICU                            ADDRESS ON FILE
ADINO CORTORREAL, JOSE                   ADDRESS ON FILE
ADINO MELO, JOHANNA                      ADDRESS ON FILE
ADIRONDACK INTERNAL MEDICINE             1 OXFORD RD                                                                                                  NEW HARFORD     NY      13413
ADIS M JIMENEZ                           ADDRESS ON FILE
ADISBETH MORALES BURGOS                  ADDRESS ON FILE
ADISPORT CORPORATION                     LA TORRE DE PLAZA                        525 AVE FD ROOSEVELT STE 1212                                       SAN JUAN        PR      00910
ADISTEC CORP                             7620 NW 25TH STREET                      UNIT 7                                                              MIAMI           FL      33122
ADJUNTAS BUS LINE INC                    5 CALLE GARZAS                                                                                               ADJUNTAS        PR      00601
ADJUNTAS BUS SERVICE INC                 HC 01 BOX 5414                                                                                               ADJUNTAS        PR      00601
ADJUNTAS BUS SERVICE INC                 HC 03 BOX 5414                                                                                               ADJUNTAS        PR      00601
ADJUNTAS BUS SERVICE INC                 HC 3 BOX 5414                                                                                                ADJUNTAS        PR      00601
ADJUNTAS BUS SERVICES INC                HC 01 BOX 5414                                                                                               ADJUNTAS        PR      00601
ADJUNTAS LANDSCAPING INC                 PO BOX 241                                                                                                   ADJUNTAS        PR      00601
ADJUNTAS LTD PARTNERSHIP                 VILLA NEVAREZ PROF CENTER                120 CALLE 2                                   STE 302               SAN JUAN        PR      00927
ADJUNTAS VERTICAL BLINDS                 2 B CALLE MUNOZ RIVERA                                                                                       ADJUNTAS        PR      00601
ADJUNTAS VISION CARE                     2053 CENTRO CARIBE SUITE 104                                                                                 PONCE           PR      00717
ADJUNTAS VISION CARE                     2053 PONCE BY PASS STE 104                                                                                   PONCE           PR      00717‐1305
ADJUNTAS VISION CARE                     54 CALLE RODULFO GONZALEZ                                                                                    ADJUNTAS        PR      00601
ADJUNTAS VISION CARE                     EDIF CENTRO CARIBE STE 104 205                                                                               PONCE           PR      00717
ADJUNTAS VOLLEYBALL CLUB INC             PO BOX 366213                                                                                                SAN JUAN        PR      00936‐6213
ADJUSTERS INC                            PO BOX 360335                                                                                                SAN JUAN        PR      00936‐0335
ADLEEN QUINONES MARCANO                  ADDRESS ON FILE
ADLEEN RUIZ MESTRE                       ADDRESS ON FILE
ADLEN MD , MARK E                        ADDRESS ON FILE
ADLER COROZAL                            ADDRESS ON FILE
ADLER GROUP INC                          PO BOX 144                                                                                                   CAGUAS          PR      00726
ADLERS CORP                              E 10 URB MONTERREY                                                                                           COROZAL         PR      00783
ADLERS CORP                              HC 05 BOX 9838                                                                                               COROZAL         PR      00783
ADLIN DE JESUS DE JESUS                  ADDRESS ON FILE
ADLIN DE JESUS PEREZ                     ADDRESS ON FILE
ADLIN J LOZANO BORRERO                   ADDRESS ON FILE
ADLIN J MENDOZA LUNA                     ADDRESS ON FILE
ADLIN M. GOMEZ HEREDIA                   ADDRESS ON FILE
ADLIN PABON                              ADDRESS ON FILE
ADLIN RODRIGUEZ VELEZ                    ADDRESS ON FILE
ADLINK INC                               PO BOX 362733                                                                                                SAN JUAN        PR      00936
ADLY M CRUZ BRAVO                        ADDRESS ON FILE
ADM                                      PO BOX 9200                                                                                                  SAN JUAN        PR      00908‐0000
ADM ADIEST FUTUROS EMPRESA Y TRABAJADOR 520 CALLE CONSTITUCION STE 1                                                                                  SAN JUAN        PR      00901‐2304
ADM ADIEST FUTUROS EMPRESA Y TRABAJADOR PUERTA DE TIERRA, 520 AVE PONCE DE LEON PDA 8 5                                                               SAN JUAN        PR      00901
ADM ASUNT ENERGETICOS /ARNALDO MALDONAADDRESS ON FILE
ADM ASUNTOS FED PR / ALICE J PEREZ/JORGE ADDRESS ON FILE
ADM CORRECCION Y BRUNILDA TORRES         PO BOX 71308                                                                                                 SAN JUAN        PR      00936‐1308
ADM CORRECCION Y CARMEN BONILLA CARMONPO BOX 71308                                                                                                    SAN JUAN        PR      00936‐1308
ADM DE ACTIVOS DE LA EXTINTA CRUV        P O BOX 363468                                                                                               SAN JUAN        PR      00936‐3468
ADM DE ASUNTOS ENERGETICOS               P O BOX 41314                                                                                                SAN JUAN        PR      00940
ADM DE COMP POR ACCIDENTE (ACAA)         P.O. BOX 364847                                                                                              SAN JUAN        PR      00936‐4847
ADM DE COMP POR ACCIDENTE (ACAA)         PO BOX 4847                                                                                                  SAN JUAN        PR      00936
ADM DE CORRECCION                        AREA DEL TESORO                          DIV DE RECLAMACIONES                                                SAN JUAN        PR      00902‐4140
ADM DE CORRECCION                        PO BOX 71308                                                                                                 SAN JUAN        PR      00936
ADM DE CORRECCION                        URB LAS LOMAS                            U 14 CALLE 3                                                        SAN JUAN        PR      00936‐8408
ADM DE INST JUVENILES / CARLO VEGA REYES ADDRESS ON FILE
ADM DE INSTITUCIONES JUV/HOGAR GRUPO GUAFERNANDEZ JUNCOS STATION                  PO BOX 19175                                                        SAN JUAN        PR      00910‐9175
ADM DE INSTITUCIONES JUV/HOGAR GRUPO GUAHATO REY                                  60 CALLE BOLIVIA                                                    SAN JUAN        PR      00924
ADM DE INSTITUCIONES JUV/HOGAR GRUPO GUAPO BOX 19175 FERNANDEZ JUNCOS STATION                                                                         SAN JUAN        PR      00910‐9175




                                                                                                                  Page 96 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 97 of 3500
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                   Address2                                   Address3          Address4   City            State   PostalCode   Country
ADM DE SERVICIOS DE MEDICOS DE P R       PO BOX 2129                                                                                                        SAN JUAN        PR      00922‐2129
ADM DE SERVICIOS MEDICOS DE PR           AREA DEL TESORO                            CONTADURIA GENERAL                                                      SAN JUAN        PR      00902
ADM DE TERRENOS DE PR                    A/C DEPTO DE HACIENDA                      AREA DEL TESORO CONTADURIA GENERAL                                      SAN JUAN        PR      00902
ADM DE TERRENOS DE PR                    PO BOX 363767                                                                                                      SAN JUAN        PR      00936
ADM DEPORTE HIPICO / ROSA E MATEO FLORES ADDRESS ON FILE
                                                                                                                               UNIDAD GOBIERNO
ADM DESARROLLO DE EMPRESAS AGROPECUARI 1519 PONCE DE LEON AVE                       P O BOX 9146                               INSTITUCIONAL                SAN JUAN        PR      00908‐0146
ADM DESARROLLO DE EMPRESAS AGROPECUARI APARTADO 10163                                                                                                       SAN JUAN        PR      00908‐1163
ADM DESARROLLO DE EMPRESAS AGROPECUARI APARTADO 2597                                                                                                        ISABELA         PR      00662
ADM DESARROLLO DE EMPRESAS AGROPECUARI GOB INSTITUCIONAL                            P O BOX 9146                                                            SAN JUAN        PR      00908‐0146
ADM DESARROLLO DE EMPRESAS AGROPECUARI P O BOX 447                                                                                                          CASTAÐER        PR      00631
ADM DESARROLLO DE EMPRESAS AGROPECUARI P O BOX 449                                                                                                          GUANICA         PR      00653
ADM DESARROLLO DE EMPRESAS AGROPECUARI PO BOX 365                                                                                                           LAS PIEDRAS     PR      00771
ADM DESARROLLO DE EMPRESAS AGROPECUARI PO BOX 816                                                                                                           PATILLAS        PR      00723
ADM DESARROLLO DE EMPRESAS AGROPECUARI PO BOX 9200                                                                                                          SAN JUAN        PR      00908‐0200
ADM DESARROLLO LABORAL                   AREA DEL TESORO                            CONTADURIA GENERAL                                                      SAN JUAN        PR      00902
ADM DESARROLLO LABORAL                   PO BOX 192159                                                                                                      SAN JUAN        PR      00919‐2159
ADM ENV AND SPORTS CONSULTANTS CORP/ INCP O BOX 9023886                                                                                                     SAN JUAN        PR      00902‐3886
ADM FACS SERV DE SALUD                   1058 AVE MUNOZ RIVERA                                                                                              SAN JUAN        PR      00927‐0000
ADM FACS SERV DE SALUD                   AVE. LUREL STA. JUANITA #100                                                                                       BAYAMON         PR      00956‐0000
ADM FACS SERV DE SALUD                   DEPTO. FACTURACION Y COBRO                 PO BOX 2116                                                             SAN JUAN        PR      00922‐2116
ADM FAM NINOS / NELSON CASILLAS GONZALEZ ADDRESS ON FILE
ADM FAM NINOS Y/O BARBARA J RIVERA CRUZ ADDRESS ON FILE
ADM INST JUVENILES Y/O ANGEL E AQUINO    ADDRESS ON FILE
ADM JUDICIAL ARROYO CALDERON & CINTRON 423 CALLE SAN JORGE                                                                                                  SAN JUAN        PR      00912
ADM REH VOCACIONAL                       PO BOX 191118                                                                                                      SAN JUAN        PR      00919‐1118
ADM REHABILITACION VOC /MELVIN OCACIO    ADDRESS ON FILE
ADM SER GENERALES/SEC HACIENDA           RECAUDADOR OFICIAL                         ASG DIV. FINANZAS Y PRESUPUESTO            PO BOX 195568                SAN JUAN        PR      00919‐5568
ADM SERV GENERALES Y IRMA J MERCED RUIZ PO BOX 7428                                                                                                         SAN JUAN        PR      00916‐7428
ADM SERV SALUD MENTAL CONTRA LA ADICCIONPO BOX 21414                                                                                                        SAN JUAN        PR      00928‐1414
ADM SERV SALUD MENTAL CONTRA LA ADICCIONPO BOX 4258 BAY GARDENS STA                                                                                         BAYAMON         PR      00958
ADM SERV SALUD MENTAL CONTRA LA ADICCIONPO BOX 607087                                                                                                       BAYAMON         PR      00960‐7087
ADM SERV Y DESARROLLO AGROPECUARIO       AREA DEL TESORO                            CONTADURIA GENERAL                                                      SAN JUAN        PR      00902
ADM SERV Y DESARROLLO AGROPECUARIO       PO BOX 9200                                                                                                        SAN JUAN        PR      00908‐0200
ADM SERVICIO GENERALES                   P O BOX 195568                                                                                                     SAN JUAN        PR      00919‐5568
ADM SERVICIO GENERALES                   P O BOX 7428                                                                                                       SAN JUAN        PR      00916
ADM SERVICIOS GENERALES                  P O BOX 195568                                                                                                     SAN JUAN        PR      00919‐5568
ADM SISTEMA RETIRO Y ELIZABETH OLIVERI   MINILLAS STATION                           PO BOX 42003                                                            SAN JUAN        PR      00940
ADM SISTEMA RETIRO/MIGUEL SANTIAGOTORREADDRESS ON FILE
ADM SISTEMAS DE RETIRO                   MINILLAS STA                                                                                                       SAN JUAN        PR      00940‐2003
ADM SISTEMAS DE RETIRO                   PO BOX 42003                                                                                                       SAN JUAN        PR      00940‐2003
ADM. COMPENSACION POR ACCIDENT           SECRETARIO DE HACIENDA                                                                                             SAN JUAN        PR      00919
ADM. DE ASUNTOS ENERGETICOS DEL DDEC     LCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                                            SAN JUAN        PR      00908‐3695
                                                                                                                               1353 AVE. LUIS
ADM. DE ASUNTOS ENERGETICOS DEL DDEC   LCDA. YARLENE JIMENEZ ROSARIO               PMB 133                                     VIGOREAUX                    GUAYNABO        PR      00966‐2700
ADM. DE SERCIOS MEDICOS                A. LCDO. RAFAEL DAVILA SEVILLANO ‐ DEMANDAPO BOX 2129                                                                SAN JUAN        PR      00922‐2129
ADM. DE SERCIOS MEDICOS                LCDO. EBENEZER RODRIGUEZ PIERLUISSI Y LCDA. ACAA PO BOX 364847                                                       SAN JUAN        PR      00936‐4847
ADM. PARA EL DESARROLLO DE EMP. AGROP. P O BOX 447                                                                                                          CASTAÐER        PR      00631‐0000
ADM. PARA EL DESARROLLO DE EMP. AGROP. P O BOX 9200                                                                                                         SAN JUAN        PR      00908‐0200
ADM. PARA EL DESARROLLO DE EMP. AGROP. PO BOX 365                                                                                                           LAS PIEDRAS     PR      00771‐0000
ADM. PARA EL DESARROLLO DE EMP. AGROP. PO BOX 816                                                                                                           PATILLAS        PR      00723‐0000
ADM. PARA EL DESARROLLO DE EMP. AGROP. PROGRAMA DE MERCADEO HC‐46 BOX 5512                                                                                  DORADO          PR      00646‐0000
ADM. REC HUMANOS Y REL LABORALES       PO BOX 9024261                                                                                                       SAN JUAN        PR      00902‐4261
ADM. SALUD MENTAL Y CONTRA LA ADICCION PO BOX 4258 BAY GARDENS STA                                                                                          BAYAMON         PR      00958‐0000
ADM. TERRENOS DE P.R.                  P O BOX 363767                                                                                                       SAN JUAN        PR      00936‐3767
ADMAEL CABALLERO MELENDEZ              ADDRESS ON FILE
ADMDE CORRECION / RUBEN NAVARRO SANTIAGADDRESS ON FILE
ADMINISTRACION DE CORRECCION           APARTADO 3999                                                                                                        AGUADILLA       PR      00605
ADMINISTRACION DE CORRECCION           AREA DEL TESORO                             DIV DE RECLAMACIONES                                                     SAN JUAN        PR      00902‐4140
ADMINISTRACION DE CORRECCION           AREA DEL TESORO                             DIV DE CONTADURIA GENERAL                                                SAN JUAN        PR      00902




                                                                                                                 Page 97 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No. Matrix
                                                                                         17 BK 3283‐LTS Page 98 of 3500
                                                                                                                Creditor Matrix

Creditor Name                            Address1                                  Address2                                    Address3                  Address4   City            State   PostalCode   Country
ADMINISTRACION DE CORRECCION             COMPLEJO CORRECCIONAL DE PONCE            APARTADO 7126                                                                    PONCE           PR      00732‐7126
ADMINISTRACION DE CORRECCION             P O BOX 71308                                                                                                              SAN JUAN        PR      00936‐8408
ADMINISTRACION DE CORRECCION             URB LAS LOMAS                             U 14 CALLE 3                                                                     SAN JUAN        PR      00936‐8408
ADMINISTRACION DE DERECHO AL TRABAJO     EDIF PRODENCIO RIVERA MARTINEZ                                                  505                                        SAN JUAN        PR      00918
ADMINISTRACION DE DERECHO AL TRABAJO     P O BOX 195540                                                                                                             SAN JUAN        PR      00919‐5540
ADMINISTRACION DE DERECHO AL TRABAJO     PO BOX 364452                                                                                                              SAN JUAN        PR      00936
ADMINISTRACION DE ESC DE LA COMUNIDAD    33 CALLE JOSE DE DIEGO                                                                                                     TOA ALTA        PR      00953
ADMINISTRACION DE ESC DE LA COMUNIDAD    644 BO ARTURO LLUVERAS                                                                                                     YAUCO           PR      00698
ADMINISTRACION DE ESC DE LA COMUNIDAD    70 AVE CONDADO                                                                                                             SAN JUAN        PR      00907
ADMINISTRACION DE ESC DE LA COMUNIDAD    AVE 65 INF                                K 4.2 RIO PIEDRAS                                                                SAN JUAN        PR      00924
ADMINISTRACION DE ESC DE LA COMUNIDAD    AVE 65 INFANTERIA                         KM 4 2                                                                           SAN JUAN        PR      00924
ADMINISTRACION DE ESC DE LA COMUNIDAD    BO CAMARONES                              CARR 169 KM 6 4                                                                  GUAYNABO        PR      00969
ADMINISTRACION DE ESC DE LA COMUNIDAD    BO MAGAS ARRIBA                           PO 560519                                                                        GUAYANILLA      PR      00656
ADMINISTRACION DE ESC DE LA COMUNIDAD    BOX 1029                                                                                                                   ADJUNTAS        PR      00601
ADMINISTRACION DE ESC DE LA COMUNIDAD    BOX 560519                                                                                                                 GUAYANILLA      PR      00656
ADMINISTRACION DE ESC DE LA COMUNIDAD    C/O AWILDA SANCHEZ                        P O BOX 21365                                                                    SAN JUAN        PR      00918
ADMINISTRACION DE ESC DE LA COMUNIDAD    CALLE LOIZA FINAL                                                                                                          SAN JUAN        PR      00913

ADMINISTRACION DE ESC DE LA COMUNIDAD CONSEJO ESCOLAR                              DE LA ESCUELA FRANKLIN D ROOSEVELT          C/O JULIO ORTIZ ELICIER              SAN JUAN        PR      00919‐0759
ADMINISTRACION DE ESC DE LA COMUNIDAD DEPTO DE EDUCACION                           P O BOX 7428                                                                     SAN JUAN        PR      00908
ADMINISTRACION DE ESC DE LA COMUNIDAD ESC BOMBA Y PLENA DE PR                      C/O JULIO ORTIZ ELICIER                     PO BOX 190759                        SAN JUAN        PR      00919‐0759
ADMINISTRACION DE ESC DE LA COMUNIDAD ESC SU MANUEL MARTINEZ DAVILA                C/O JULIO ORTIZ ELICIER                     PO BOX 190759                        SAN JUAN        PR      00919‐0759
ADMINISTRACION DE ESC DE LA COMUNIDAD JARDINES DE BERWIND                          CALLE H                                                                          SAN JUAN        PR      00924
ADMINISTRACION DE ESC DE LA COMUNIDAD MSC 223                                      RR 8 BOX 1995                                                                    BAYAMON         PR      00960
ADMINISTRACION DE ESC DE LA COMUNIDAD MSC 223                                      RR 8 BOX 1995                                                                    BARYAMON        PR      00956
ADMINISTRACION DE ESC DE LA COMUNIDAD P O BOX 1014                                                                                                                  MANATI          PR      00674
ADMINISTRACION DE ESC DE LA COMUNIDAD P O BOX 1175                                                                                                                  FLORIDA         PR      00650
ADMINISTRACION DE ESC DE LA COMUNIDAD P O BOX 1311                                                                                                                  TOA ALTA        PR      00954
ADMINISTRACION DE ESC DE LA COMUNIDAD P O BOX 7428                                                                                                                  SAN JUAN        PR      00916
ADMINISTRACION DE ESC DE LA COMUNIDAD PO BOX 1404                                                                                                                   CEIBA           PR      00735
ADMINISTRACION DE ESC DE LA COMUNIDAD PO BOX 1504                                                                                                                   VILLALBA        PR      00766
ADMINISTRACION DE ESC DE LA COMUNIDAD PO BOX 194220                                                                                                                 SAN JUAN        PR      00919‐4220
ADMINISTRACION DE ESC DE LA COMUNIDAD PO BOX 51522                                                                                                                  TOA BAJA        PR      00949
ADMINISTRACION DE ESC DE LA COMUNIDAD PO BOX 728                                                                                                                    DORADO          PR      00946
ADMINISTRACION DE ESC DE LA COMUNIDAD S U FEDERICO DEGETAU BO SANTANA                                                                                               ARECIBO         PR      00612
ADMINISTRACION DE ESC DE LA COMUNIDAD URB BUENA VENTURA                            MAGNOLIA N O 16                                                                  MAYAGUEZ        PR      00682
ADMINISTRACION DE ESC DE LA COMUNIDAD URB CASITAS DE LA FUENTES                    512 CALLE MARGARITA                                                              TOA ALTA        PR      00953
ADMINISTRACION DE ESC DE LA COMUNIDAD URB UNIVERSITY GARDENS                       AVE PALMA REAL ESQ FORDHAM                                                       SAN JUAN        PR      00927
ADMINISTRACION DE ESC DE LA COMUNIDAD URB VILLA PRADES                             ESQ A CALLE ARISTIDES CHAVIER                                                    SAN JUAN        PR      00924
ADMINISTRACION DE ESC DE LA COMUNIDAD URB. SAN AGUSTIN                             CABO MAXIMO ALOMAR                                                               SAN JUAN        PR      00923
ADMINISTRACION DE ESC DE LA COMUNIDAD URB. VILLA CAPRI                             CALLE VARONA, ESQUINA NIZA                                                       RIO PIEDRAS     PR      00924
ADMINISTRACION DE ESC DE LA COMUNIDAD VILLA CAROLINA                               C/90 BLOQUE 92 3ERA SECCION                                                      CAROLINA        PR      7523131
ADMINISTRACION DE ESC DE LA COMUNIDAD VILLA PRADES                                 CALLE ARISTIDES CHAVIER ESQUINA                                                  SAN JUAN        PR      00924
ADMINISTRACION DE FAMILIA Y NIðOS        P O BOX 11398                                                                                                              SAN JUAN        PR      00910
ADMINISTRACION DE FAMILIA Y NIðOS        PO BOX 15091                                                                                                               SAN JUAN        PR      00902
ADMINISTRACION DE LOS SISTEMAS DE RETIRO ESTACION MINILLAS                         P O BOX 42003                                                                    SAN JUAN        PR      00940
ADMINISTRACION DE SEGURIDAD Y SALUD OCUPP.O. BOX 195540                                                                                                                             PR      00919‐5540
ADMINISTRACION DE SEGURPS DE SALUD DE PR PO BOX 195661                                                                                                              SAN JUAN        PR      00919‐5661
ADMINISTRACION DE SERVICIOS GENERALES    P O BOX 7428                                                                                                               SAN JUAN        PR      00916
ADMINISTRACION DE SERVICIOS GENERALES    PO BOX 195568                                                                                                              SAN JUAN        PR      00919‐5568
ADMINISTRACION DE VIVIENDA PUBLICA       EDF. JOSE CORDERO NUM. 606 AVE. BARBOSA                                                                                    HATO REY        PR      00936‐3188
ADMINISTRACION DE VIVIENDA PUBLICA       EDF. JOSE CORDERO NUM. 606 AVE. BARBOSA HATO REY                                                                           SAN JUAN        PR      00936‐3188
ADMINISTRACION DE VIVIENDA PUBLICA       NILDA DEL MAR SÁNCHEZ SANTIAGO            APARTADO 11488                                                                   SAN JUAN        PR      00910
ADMINISTRACION DE VIVIENDA PUBLICA       P.O. BOX 85                                                                                                                SAN GERMAN      PR      00683‐0000
ADMINISTRACION DE VIVIENDA PUBLICA       RES. JOSE GUATIER BENITEZ P.O. BOX 907                                                                                     CAGUAS          PR      00726‐0000
ADMINISTRACION DE VIVIENDA PUBLICA       RES.LUIS MUNOZ MORALES P.O. BOX 371330                                                                                     CAYEY           PR      00737‐0000
ADMINISTRACION DEL SUSTENTO DE MENORES P O BOX 71442                                                                                                                SAN JUAN        PR      00936‐8542
ADMINISTRACION PARA EL SUSTENTO DE MENORPO BOX 70376                                                                                                                SAN JUAN        PR      00936‐8376
                                                                                                                               UNIDAD GOBIERNO
ADMINISTRACION SERVICIOS Y DESARROLLO AG 1519 PONCE DE LEON AVE                    P O BOX 9146                                INSTITUCIONAL                        SAN JUAN        PR      00908‐0146




                                                                                                               Page 98 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No. Matrix
                                                                                       17 BK 3283‐LTS Page 99 of 3500
                                                                                                      Creditor Matrix

Creditor Name                            Address1                             Address2                              Address3    Address4   City             State   PostalCode   Country
ADMINISTRACION SERVICIOS Y DESARROLLO AG APARTADO 2597                                                                                     ISABELA          PR      00662
ADMINISTRACION SERVICIOS Y DESARROLLO AG P O BOX 447                                                                                       CASTANER         PR      00631
ADMINISTRACION SERVICIOS Y DESARROLLO AG P O BOX 449                                                                                       GUANICA          PR      00653
ADMINISTRACION SERVICIOS Y DESARROLLO AG PO BOX 365                                                                                        LAS PIEDRAS      PR      00771
ADMINISTRACION SERVICIOS Y DESARROLLO AG PO BOX 816                                                                                        PATILLAS         PR      00723
ADMINISTRACION SERVICIOS Y DESARROLLO AG PO BOX 9200                                                                                       SAN JUAN         PR      00908‐0200
ADMINISTRACION SISTEMAS DE RETIRO        EMPLEADOS DE GOBIERNO Y JUDICATURA                                                                SAN JUAN         PR      00940
ADMINISTRACION SUSTENTO DE MENORES       AREA DE TESORO                       DIVISION DE PAGADURIA                                        SAN JUAN         PR      00936
ADMINISTRACION SUSTENTO DE MENORES       P.O. BOX 71442                                                                                    SAN JUAN         PR      00936‐8542
ADMINISTRACION SUSTENTO DE MENORES       PO BOX 70376                                                                                      SAN JUAN         PR      00936‐8376
Admiral Insurance Company                1000 Howard Boulevard                P.O. Box 5430                         Suite 300              Mount Laurel     NJ      08054
Admiral Insurance Company                Attn: Steven S Zeitman, President    1255 Caldwell Road                                           Cherry Hill      NJ      08034
ADNELYS LOPEZ MEDINA                     ADDRESS ON FILE
ADNER GARCIA FIGUEROA                    ADDRESS ON FILE
ADNER MARTINEZ LOPEZ                     ADDRESS ON FILE
ADNER TORRES MARTINEZ                    ADDRESS ON FILE
ADNERIS D. RODRIGUEZ ROMAN               ADDRESS ON FILE
ADNERIS I. LACEN RIVERA                  ADDRESS ON FILE
ADNERIS RIOS VAZQUEZ                     ADDRESS ON FILE
ADNERYS FLORES                           ADDRESS ON FILE
ADNORIS N CANCEL RIOS                    ADDRESS ON FILE
ADNORIS RIVERA RAMIREZ                   ADDRESS ON FILE
Adol.deNaranjito/BancoDesarrollo Economi ADDRESS ON FILE
ADOLFINA PADIN HERNANDEZ                 ADDRESS ON FILE
ADOLFO A ECHEVARRIA FLORES               ADDRESS ON FILE
ADOLFO A RODRIGUEZ BURGOS                ADDRESS ON FILE
ADOLFO ALFREDO CUELI                     ADDRESS ON FILE
ADOLFO ARRUFAT DOMINGUEZ                 ADDRESS ON FILE
ADOLFO CARRERO SOTO                      ADDRESS ON FILE
ADOLFO CRUZ CRUZ                         ADDRESS ON FILE
ADOLFO CUEVAS MARRERO                    ADDRESS ON FILE
ADOLFO DELGADO RAMOS                     ADDRESS ON FILE
ADOLFO DURAN PIZARRO                     ADDRESS ON FILE
ADOLFO E BURGOS MERCADO                  ADDRESS ON FILE
ADOLFO ESPINOSA RIVERA                   ADDRESS ON FILE
ADOLFO F MARTY PEREZ                     ADDRESS ON FILE
ADOLFO FAULKNER                          ADDRESS ON FILE
ADOLFO J CORDERO ESCOBAR                 ADDRESS ON FILE
ADOLFO J VILLANUEVA MORALES              ADDRESS ON FILE
ADOLFO J. VILLANUEVA MORALES             ADDRESS ON FILE
ADOLFO JOSE RAMIREZ APONTE               ADDRESS ON FILE
ADOLFO L GIERBOLINI                      ADDRESS ON FILE
ADOLFO LOPEZ HERENCIA                    ADDRESS ON FILE
ADOLFO LUGO AVILES                       ADDRESS ON FILE
ADOLFO MENDEZ RIOS                       ADDRESS ON FILE
ADOLFO MOJICA SANTIAGO                   ADDRESS ON FILE
ADOLFO MORALES RODRIGUEZ                 ADDRESS ON FILE
ADOLFO MORIS RODRIGUEZ                   ADDRESS ON FILE
ADOLFO NAVEDO GARCIA                     ADDRESS ON FILE
ADOLFO OLGUIN VICENCIO                   ADDRESS ON FILE
ADOLFO PEREZ OTERO                       ADDRESS ON FILE
ADOLFO PEREZ RIVERA                      ADDRESS ON FILE
ADOLFO PEREZ RUIZ                        ADDRESS ON FILE
ADOLFO RAMIREZ CINTRON                   ADDRESS ON FILE
ADOLFO RAMIREZ HERNANDEZ                 ADDRESS ON FILE
ADOLFO REIGOSA PEREZ / EMMA CUELLO       ADDRESS ON FILE
ADOLFO RODRIGUEZ CALZADA                 ADDRESS ON FILE
ADOLFO RODRIGUEZ REYES                   ADDRESS ON FILE
ADOLFO ROSARIO QUINONES                  ADDRESS ON FILE
ADOLFO RUIZ GRAFALS                      ADDRESS ON FILE




                                                                                                      Page 99 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 100 of 3500
                                                                                                         Creditor Matrix

Creditor Name                     Address1                               Address2                                     Address3   Address4   City         State   PostalCode   Country
ADOLFO SANTANA PEREZ              ADDRESS ON FILE
ADOLFO SANTIAGO BORGES            ADDRESS ON FILE
ADOLFO TORRECH ORTIZ              ADDRESS ON FILE
ADOLFO TREVINO CUEVAS             ADDRESS ON FILE
ADOLFO VALDES AGRAIT              LCDO. JARRYSON JOSHUA CARABALLO OQUENDOCondominio Ponciana Calle Marina #9140 Box 501                     Ponce        PR      00717
ADOLFO VARGAS ACEVEDO             ADDRESS ON FILE
ADOLFO VAZQUEZ                    ADDRESS ON FILE
ADOLFO VAZQUEZ RAMOS              ADDRESS ON FILE
ADOLFO VELAZQUEZ SOTO             ADDRESS ON FILE
ADOLFO VERGES OSUNA               ADDRESS ON FILE
ADOLFO X CRUZ CRUZ                ADDRESS ON FILE
ADOLIA BONILLA                    ADDRESS ON FILE
ADOLPH III FRANCIS CANDELARIO     ADDRESS ON FILE
ADON MELENDEZ, PAMELA             ADDRESS ON FILE
ADONAI MAINTENANCE CORP           URB SAN JOSE                           411 CALLE BEATO FRANCISCO PALAU                                    PONCE        PR      00728‐1906
ADONIS MARTINEZ DUMONT            ADDRESS ON FILE
ADOPCION MASCOTAS COM             ADDRESS ON FILE
ADORNO ASSOCIATES INSURANCE INC   76 CALLE KINGS CT APT 203                                                                                 SAN JUAN     PR      00911‐1637
ADORNO ACEVEDO, KARLA             ADDRESS ON FILE
ADORNO ADORNO, ANA D              ADDRESS ON FILE
ADORNO ADORNO, BRUNILDA           ADDRESS ON FILE
ADORNO ADORNO, CARMEN M           ADDRESS ON FILE
ADORNO ADORNO, DANISSE            ADDRESS ON FILE
ADORNO ADORNO, JESUS O            ADDRESS ON FILE
ADORNO ADORNO, MARIA              ADDRESS ON FILE
ADORNO ADORNO, MARISOL            ADDRESS ON FILE
ADORNO ADORNO, MARLON             ADDRESS ON FILE
ADORNO ADORNO, MIGDALIA           ADDRESS ON FILE
ADORNO ADORNO, ORLANDO            ADDRESS ON FILE
ADORNO ADORNO, VENEDALIA          ADDRESS ON FILE
ADORNO ADORNO, WILLIAM            ADDRESS ON FILE
ADORNO AGOSTO, ANDRES             ADDRESS ON FILE
ADORNO AGOSTO, IVAN               ADDRESS ON FILE
ADORNO AGOSTO, PABLO              ADDRESS ON FILE
ADORNO AGRONT, EZEQUIEL           ADDRESS ON FILE
ADORNO ALBALADEJO, ABRAHAM        ADDRESS ON FILE
ADORNO ALBALADEJO, FRANCISCO      ADDRESS ON FILE
ADORNO ALBALADEJO, ROLANDO        ADDRESS ON FILE
ADORNO ALEJANDRO, JORGE L         ADDRESS ON FILE
ADORNO APONTE, FLORA              ADDRESS ON FILE
ADORNO APONTE, JOSE               ADDRESS ON FILE
ADORNO ARRIAGA, LUZ E             ADDRESS ON FILE
ADORNO ARROYO MD, WILFREDO        ADDRESS ON FILE
ADORNO ARROYO, ALBERTO            ADDRESS ON FILE
ADORNO ARROYO, WILFREDO           ADDRESS ON FILE
ADORNO AVILA, ADLIN               ADDRESS ON FILE
ADORNO AVILA, CARLOS              ADDRESS ON FILE
Adorno Aviles, Carlos             ADDRESS ON FILE
ADORNO BAEZ, CARLOS J.            ADDRESS ON FILE
ADORNO BATISTA, CAMILLE           ADDRESS ON FILE
ADORNO BENITEZ, JUAN C            ADDRESS ON FILE
ADORNO BENITEZ, PEDRO             ADDRESS ON FILE
ADORNO BONILLA, CARLOS            ADDRESS ON FILE
ADORNO BONILLA, GLADYS            ADDRESS ON FILE
Adorno Boria, Moises              ADDRESS ON FILE
ADORNO BRUNO, NATHANIEL           ADDRESS ON FILE
ADORNO BURGOS CHRISTOPHER         ADDRESS ON FILE
ADORNO BURGOS, LUIS               ADDRESS ON FILE
ADORNO CABRERA, ELSA M.           ADDRESS ON FILE
Adorno Cabrera, Elsa M.           ADDRESS ON FILE




                                                                                                        Page 100 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 101 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADORNO CABRERA, GLORIA E.      ADDRESS ON FILE
ADORNO CABRERA, MAYDA A        ADDRESS ON FILE
ADORNO CABRERA, NOEMI          ADDRESS ON FILE
ADORNO CADIZ, ASHLEY           ADDRESS ON FILE
ADORNO CALDERON, HECTOR        ADDRESS ON FILE
ADORNO CALDERON, HECTOR M.     ADDRESS ON FILE
Adorno Calderon, Itza J        ADDRESS ON FILE
ADORNO CAMACHO, MAIRA          ADDRESS ON FILE
ADORNO CAMACHO, SHEILA L.      ADDRESS ON FILE
ADORNO CAMPOS, ESTEBAN         ADDRESS ON FILE
ADORNO CANALES, JAIME D.       ADDRESS ON FILE
ADORNO CANDELARIO, JOSE A      ADDRESS ON FILE
ADORNO CANDELARIO, JUANITA     ADDRESS ON FILE
ADORNO CANDELARIO, JUANITA     ADDRESS ON FILE
ADORNO CANTRES, DANIELA        ADDRESS ON FILE
ADORNO CARRASQUILLO, RUFINO    ADDRESS ON FILE
ADORNO CARRION, AGNERI         ADDRESS ON FILE
ADORNO CARRION, CARMEN         ADDRESS ON FILE
ADORNO CARRION, VIRGINIA       ADDRESS ON FILE
ADORNO CASTRO, ANA E           ADDRESS ON FILE
ADORNO CHEVEREZ, IRIS          ADDRESS ON FILE
ADORNO CLASS, JENNIFER         ADDRESS ON FILE
ADORNO CLAUDIO, ALFREDO        ADDRESS ON FILE
ADORNO CLAUDIO, NOELIA         ADDRESS ON FILE
ADORNO CLEMENTE, MARIA M       ADDRESS ON FILE
ADORNO COLON, DAISY M          ADDRESS ON FILE
ADORNO COLON, EDNA M           ADDRESS ON FILE
ADORNO COLON, EDWIN F          ADDRESS ON FILE
ADORNO COLON, ITZAMAR          ADDRESS ON FILE
Adorno Colon, Juan R           ADDRESS ON FILE
ADORNO COLON, JULIO            ADDRESS ON FILE
ADORNO COLON, JULIO C          ADDRESS ON FILE
ADORNO COLON, MICHELLE         ADDRESS ON FILE
ADORNO COLON, NILDA D          ADDRESS ON FILE
ADORNO COLON, NORMA            ADDRESS ON FILE
ADORNO CONCEPCION, HECTOR      ADDRESS ON FILE
ADORNO CONCEPCION, JUAN        ADDRESS ON FILE
ADORNO CONCEPCION, LUIS F.     ADDRESS ON FILE
ADORNO COTTO, EDGARDO          ADDRESS ON FILE
ADORNO COTTO, GUALBERTO        ADDRESS ON FILE
ADORNO COTTO, IRAIDA           ADDRESS ON FILE
ADORNO COTTO, JECENIA          ADDRESS ON FILE
ADORNO COTTO, JOSE R           ADDRESS ON FILE
ADORNO CRUZ, ALEXANDER         ADDRESS ON FILE
ADORNO CRUZ, HARRY L           ADDRESS ON FILE
ADORNO CRUZ, HECTOR L          ADDRESS ON FILE
ADORNO CRUZ, ORLANDO           ADDRESS ON FILE
ADORNO CRUZADO, CARMEN R       ADDRESS ON FILE
Adorno Davila, Carlos J        ADDRESS ON FILE
ADORNO DAVILA, MARCOS          ADDRESS ON FILE
ADORNO DAVILA, MARGARITA       ADDRESS ON FILE
ADORNO DAVILA, OLGA            ADDRESS ON FILE
ADORNO DE GRACIA, ELIU         ADDRESS ON FILE
ADORNO DE JESUS, ALEXANDA      ADDRESS ON FILE
ADORNO DE JESUS, ROLANDO       ADDRESS ON FILE
ADORNO DE TELEMACO, SONIA N.   ADDRESS ON FILE
ADORNO DEIDA, SARA             ADDRESS ON FILE
ADORNO DEIDA, ZULEMA           ADDRESS ON FILE
ADORNO DEL RIO, ANGEL R        ADDRESS ON FILE
ADORNO DELGADO, SAMALY         ADDRESS ON FILE




                                                                           Page 101 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 102 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADORNO DELGADO, YADIRA          ADDRESS ON FILE
ADORNO DENNIS, ELLIOT           ADDRESS ON FILE
ADORNO DENNIS, ELLIOT           ADDRESS ON FILE
ADORNO DIAZ, ADA I              ADDRESS ON FILE
ADORNO DIAZ, ADNARIS            ADDRESS ON FILE
ADORNO DIAZ, AMARIS             ADDRESS ON FILE
ADORNO DIAZ, CANDIDO            ADDRESS ON FILE
ADORNO DIAZ, CANDIDO            ADDRESS ON FILE
ADORNO DIAZ, IRIS D             ADDRESS ON FILE
ADORNO DIAZ, JORGE              ADDRESS ON FILE
Adorno Diaz, Jose L             ADDRESS ON FILE
ADORNO DIAZ, LUIS               ADDRESS ON FILE
ADORNO DIAZ, MARGARITA          ADDRESS ON FILE
ADORNO DIAZ, MARIA              ADDRESS ON FILE
ADORNO DIAZ, MARIEL             ADDRESS ON FILE
ADORNO DIAZ, SONIA              ADDRESS ON FILE
ADORNO ESPINEL, EDWIN           ADDRESS ON FILE
ADORNO ESPINEL, MICHELLE        ADDRESS ON FILE
ADORNO ESTREMERA, LESTER        ADDRESS ON FILE
ADORNO FELICIANO, ARYSABEL      ADDRESS ON FILE
ADORNO FELICIANO, JANET         ADDRESS ON FILE
ADORNO FELICIANO, JOSE A.       ADDRESS ON FILE
ADORNO FELICIANO, MARIELY       ADDRESS ON FILE
ADORNO FIGUEROA, ALBA L         ADDRESS ON FILE
Adorno Figueroa, Gricelia       ADDRESS ON FILE
ADORNO FIGUEROA, HIRAM          ADDRESS ON FILE
ADORNO FIGUEROA, MARIELA        ADDRESS ON FILE
ADORNO FIGUEROA, MARIELA        ADDRESS ON FILE
ADORNO FIGUEROA, ORLANDO        ADDRESS ON FILE
ADORNO FIGUEROA, RUTH           ADDRESS ON FILE
ADORNO FIGUEROA, XIOMARA        ADDRESS ON FILE
ADORNO FONSECA, LUIS A          ADDRESS ON FILE
ADORNO FONSECA, MYRIAM          ADDRESS ON FILE
ADORNO FONSECA, NYDIA           ADDRESS ON FILE
ADORNO GALAN, JUAN P            ADDRESS ON FILE
ADORNO GALAN, LUIS              ADDRESS ON FILE
ADORNO GALAY, MELINDA V.        ADDRESS ON FILE
Adorno Garcia, Ana R            ADDRESS ON FILE
ADORNO GARCIA, CARMEN           ADDRESS ON FILE
ADORNO GONZALEZ, BRENDA         ADDRESS ON FILE
ADORNO GONZALEZ, BRENDA I.      ADDRESS ON FILE
ADORNO GONZALEZ, CARLOS         ADDRESS ON FILE
ADORNO GONZALEZ, ELBA           ADDRESS ON FILE
ADORNO GONZALEZ, IVONNE DEL     ADDRESS ON FILE
Adorno Gonzalez, Jose D         ADDRESS ON FILE
Adorno Gonzalez, Jose D         ADDRESS ON FILE
ADORNO GONZALEZ, LOURDES M      ADDRESS ON FILE
ADORNO GONZALEZ, MIRIAM         ADDRESS ON FILE
ADORNO GUZMAN, BARBARA          ADDRESS ON FILE
ADORNO GUZMAN, YANIRIS          ADDRESS ON FILE
ADORNO HERNANDEZ, FLORENCIO     ADDRESS ON FILE
ADORNO HERNANDEZ, JOEL          ADDRESS ON FILE
ADORNO HERNANDEZ, KRYSTAL       ADDRESS ON FILE
ADORNO HERNANDEZ, LUIS DANIEL   ADDRESS ON FILE
ADORNO HERNANDEZ, MIGUEL A.     ADDRESS ON FILE
ADORNO HERNANDEZ, NICK Z        ADDRESS ON FILE
ADORNO HERNANDEZ, TANIA         ADDRESS ON FILE
ADORNO HERRERA, CYNTHIA         ADDRESS ON FILE
ADORNO IRIZARRY, CARLOS         ADDRESS ON FILE
ADORNO IRIZARRY, CARLOS J.      ADDRESS ON FILE




                                                                            Page 102 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 103 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADORNO KUILAN, MARIANO         ADDRESS ON FILE
ADORNO LAUREANO, JOSE          ADDRESS ON FILE
ADORNO LOPEZ, DIADESLEE        ADDRESS ON FILE
ADORNO LOPEZ, EDUARDO          ADDRESS ON FILE
ADORNO LOPEZ, FELIX            ADDRESS ON FILE
ADORNO LOPEZ, GLENDA I.        ADDRESS ON FILE
ADORNO LOPEZ, JOSE             ADDRESS ON FILE
ADORNO LOPEZ, JOSE A.          ADDRESS ON FILE
ADORNO LOPEZ, OLOVIN R.        ADDRESS ON FILE
ADORNO MAISONET, SONIA         ADDRESS ON FILE
ADORNO MALAVE, GLADYS M        ADDRESS ON FILE
ADORNO MALDONADO, CARLOS       ADDRESS ON FILE
Adorno Maldonado, Milton       ADDRESS ON FILE
ADORNO MALDONADO, MILTON       ADDRESS ON FILE
ADORNO MALDONADO, NELIDA       ADDRESS ON FILE
ADORNO MALDONADO, SHANARIE     ADDRESS ON FILE
ADORNO MALDONADO, ZULMARIE     ADDRESS ON FILE
ADORNO MARIN, KELVIN           ADDRESS ON FILE
ADORNO MARQUEZ, CHRISTOPHER    ADDRESS ON FILE
ADORNO MARQUEZ, LUIS           ADDRESS ON FILE
Adorno Marquez, Luis Antonio   ADDRESS ON FILE
ADORNO MARQUEZ, MIRIAM I.      ADDRESS ON FILE
ADORNO MARRERO, HECTOR         ADDRESS ON FILE
ADORNO MARRERO, JOSE R         ADDRESS ON FILE
ADORNO MARRERO, LUZ M          ADDRESS ON FILE
ADORNO MARRERO, VILMA          ADDRESS ON FILE
ADORNO MARTINEZ, ANGEL         ADDRESS ON FILE
ADORNO MARTINEZ, CORAIMA       ADDRESS ON FILE
ADORNO MARTINEZ, DAMARIS       ADDRESS ON FILE
ADORNO MARTINEZ, ENRIQUE       ADDRESS ON FILE
ADORNO MARTINEZ, JOSE          ADDRESS ON FILE
ADORNO MARTINEZ, LUISA I       ADDRESS ON FILE
ADORNO MARTINEZ, MARIA         ADDRESS ON FILE
ADORNO MARTINEZ, STEPHANIE     ADDRESS ON FILE
ADORNO MARTINEZ, ULISES        ADDRESS ON FILE
ADORNO MARTINEZ, WILMARIE      ADDRESS ON FILE
ADORNO MEDINA, BIANCA          ADDRESS ON FILE
ADORNO MEDINA, LUZ B           ADDRESS ON FILE
ADORNO MEDINA, NILSALIES       ADDRESS ON FILE
ADORNO MELENDEZ, ANGEL L       ADDRESS ON FILE
ADORNO MELENDEZ, DAVID         ADDRESS ON FILE
ADORNO MELENDEZ, LUISA         ADDRESS ON FILE
ADORNO MELENDEZ, RAYDA         ADDRESS ON FILE
ADORNO MENDEZ, BELISA          ADDRESS ON FILE
ADORNO MENDOZA, DIOMAYRA       ADDRESS ON FILE
ADORNO MERCADO, HAROLD         ADDRESS ON FILE
ADORNO MERCADO, JOAN           ADDRESS ON FILE
ADORNO MERCADO, ZUJEILY        ADDRESS ON FILE
ADORNO MERCED, MILAGROS        ADDRESS ON FILE
ADORNO MERCED, MILAGROS        ADDRESS ON FILE
ADORNO MERCED, WILFREDO        ADDRESS ON FILE
ADORNO MIGENES, AMANDA         ADDRESS ON FILE
ADORNO MOJICA, ORLANDO         ADDRESS ON FILE
ADORNO MOLINA, JOSE            ADDRESS ON FILE
ADORNO MOLINA, LYDIA ESTHER    ADDRESS ON FILE
ADORNO MONET, MONIQUE          ADDRESS ON FILE
ADORNO MONTANEZ, BRUNILDA      ADDRESS ON FILE
ADORNO MONTANEZ, JOSE          ADDRESS ON FILE
Adorno Montanez, Jose R        ADDRESS ON FILE
ADORNO MONTANEZ, MARIA DE L    ADDRESS ON FILE




                                                                           Page 103 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 104 of 3500
                                                                              Creditor Matrix

Creditor Name                  Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
ADORNO MONTES, DANIEL          ADDRESS ON FILE
ADORNO MORALES, BRENDA LEE     ADDRESS ON FILE
ADORNO MORALES, EDUARDO        ADDRESS ON FILE
ADORNO MORALES, JORGE L        ADDRESS ON FILE
ADORNO MORALES, LUZ D          ADDRESS ON FILE
ADORNO MORAN, ZEILA            ADDRESS ON FILE
ADORNO MORENO, ELBA            ADDRESS ON FILE
ADORNO MUNOZ, JOSE             ADDRESS ON FILE
ADORNO MUNOZ, LUZ              ADDRESS ON FILE
ADORNO MUNOZ, ROSAIDY          ADDRESS ON FILE
ADORNO NARVAEZ, MARIA DEL CA   ADDRESS ON FILE
ADORNO NATAL, JUANA            ADDRESS ON FILE
ADORNO NAVARRO, GUMERSINDA     ADDRESS ON FILE
ADORNO NAVEDO, CARMEN I        ADDRESS ON FILE
ADORNO NAVEDO, ZAIDA P         ADDRESS ON FILE
ADORNO NAZARIO, CANDIDA F      ADDRESS ON FILE
ADORNO NEGRON, MYRIAM          ADDRESS ON FILE
ADORNO NEGRON, RUTH E          ADDRESS ON FILE
ADORNO NERIS, DAISY            ADDRESS ON FILE
ADORNO NICHOL, MARISOL         ADDRESS ON FILE
ADORNO NICHOLS, BERNABE        ADDRESS ON FILE
ADORNO NICHOLS, GLENDA         ADDRESS ON FILE
ADORNO NIEVES, LIBRADA         ADDRESS ON FILE
ADORNO NIEVES, WILMAR          ADDRESS ON FILE
ADORNO NIEVES, YAZMIN          ADDRESS ON FILE
ADORNO NUNEZ, NEFTALI          ADDRESS ON FILE
ADORNO OCASIO, JUAN A          ADDRESS ON FILE
Adorno Ocasio, Maritza         ADDRESS ON FILE
ADORNO OCASIO, OTONIEL         ADDRESS ON FILE
ADORNO OCASIO, WANDA           ADDRESS ON FILE
ADORNO OCHOA, JAVIER           ADDRESS ON FILE
ADORNO OFFICE SUPPLY           PO BOX 3304                                                                       CAROLINA     PR      00984‐3308
ADORNO OFFICE SUPPLY INC       JARDINES DE COUNTRY CLUB   BF 1 AVE GALICIA                                       CAROLINA     PR      00984‐3304
ADORNO OFFICE SUPPLY INC       PO BOX 3304                                                                       CAROLINA     PR      00984‐3304
ADORNO OQUENDO, IRIS           ADDRESS ON FILE
ADORNO OQUENDO, JORGE L.       ADDRESS ON FILE
ADORNO OQUENDO, MARIA DEL P    ADDRESS ON FILE
ADORNO ORILLANO, KIOMARA       ADDRESS ON FILE
ADORNO ORTEGA, CARLOS E        ADDRESS ON FILE
ADORNO ORTIZ, CLEMENTE         ADDRESS ON FILE
ADORNO ORTIZ, LENNY            ADDRESS ON FILE
ADORNO ORTIZ, LUIS R           ADDRESS ON FILE
ADORNO ORTIZ, MYRELA           ADDRESS ON FILE
ADORNO OTERO, JUANITA          ADDRESS ON FILE
ADORNO PABON, WANDA            ADDRESS ON FILE
ADORNO PADILLA, JOSHUE         ADDRESS ON FILE
ADORNO PADIN, JOEL             ADDRESS ON FILE
ADORNO PADIN,VIVIAN            ADDRESS ON FILE
ADORNO PANTOJA, EDWIN          ADDRESS ON FILE
ADORNO PANTOJA, MARGARITA      ADDRESS ON FILE
ADORNO PEREZ, JASLIER          ADDRESS ON FILE
Adorno Perez, Jena I           ADDRESS ON FILE
Adorno Perez, Orlando          ADDRESS ON FILE
ADORNO PEREZ, ORLANDO          ADDRESS ON FILE
ADORNO PEREZ, ORLANDO          ADDRESS ON FILE
ADORNO PEREZ, ROSANYELIS       ADDRESS ON FILE
ADORNO PINEIRO, DAVID          ADDRESS ON FILE
ADORNO PINEIRO, MARIA          ADDRESS ON FILE
ADORNO PINEIRO, MARIA          ADDRESS ON FILE
ADORNO PINERO, RAFAEL I        ADDRESS ON FILE




                                                                             Page 104 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 105 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADORNO PINTO, EMELIE           ADDRESS ON FILE
ADORNO PINTO, EMELIE           ADDRESS ON FILE
ADORNO QUILES, MARIBEL         ADDRESS ON FILE
ADORNO QUILES, MARITZA         ADDRESS ON FILE
ADORNO QUINONES, IRMA          ADDRESS ON FILE
ADORNO QUINONES, JOSE A.       ADDRESS ON FILE
ADORNO QUINONEZ, LYDIA         ADDRESS ON FILE
ADORNO QUINONEZ, MILAGROS      ADDRESS ON FILE
ADORNO RAMOS, BRENDA I         ADDRESS ON FILE
ADORNO RAMOS, CARMEN           ADDRESS ON FILE
ADORNO RAMOS, CYNTHIA          ADDRESS ON FILE
ADORNO RAMOS, JORGE E          ADDRESS ON FILE
ADORNO RAMOS, VICTOR           ADDRESS ON FILE
ADORNO RESTO, ALFREDO          ADDRESS ON FILE
ADORNO RESTO, HILTON           ADDRESS ON FILE
ADORNO RESTO, IBIS             ADDRESS ON FILE
ADORNO RIOS, LUZ M.            ADDRESS ON FILE
ADORNO RIVERA, ANA J           ADDRESS ON FILE
ADORNO RIVERA, ANGEL L         ADDRESS ON FILE
ADORNO RIVERA, BRENDA          ADDRESS ON FILE
ADORNO RIVERA, CARMEN M        ADDRESS ON FILE
ADORNO RIVERA, CAROLINE        ADDRESS ON FILE
ADORNO RIVERA, DELIA           ADDRESS ON FILE
Adorno Rivera, Edward          ADDRESS ON FILE
ADORNO RIVERA, EVELYN          ADDRESS ON FILE
ADORNO RIVERA, IVY             ADDRESS ON FILE
ADORNO RIVERA, JANET           ADDRESS ON FILE
ADORNO RIVERA, JONALINE        ADDRESS ON FILE
Adorno Rivera, Jose R          ADDRESS ON FILE
ADORNO RIVERA, JOSHUA          ADDRESS ON FILE
ADORNO RIVERA, JULIO           ADDRESS ON FILE
ADORNO RIVERA, JULIO           ADDRESS ON FILE
ADORNO RIVERA, LINDA           ADDRESS ON FILE
Adorno Rivera, Maiquie         ADDRESS ON FILE
ADORNO RIVERA, MARIA L         ADDRESS ON FILE
ADORNO RIVERA, MARICELYS       ADDRESS ON FILE
ADORNO RIVERA, MARISOL         ADDRESS ON FILE
ADORNO RIVERA, MARISOL         ADDRESS ON FILE
ADORNO RIVERA, MIGDALIA        ADDRESS ON FILE
ADORNO RIVERA, ORLANDO         ADDRESS ON FILE
Adorno Rivera, Veronica        ADDRESS ON FILE
ADORNO RIVERA, WANDA I         ADDRESS ON FILE
ADORNO RIVERA, WILLIAM         ADDRESS ON FILE
ADORNO RIVERA, YOLANDA         ADDRESS ON FILE
ADORNO RIVERA, ZAHIRA          ADDRESS ON FILE
ADORNO RIVERA, ZAIYARA         ADDRESS ON FILE
ADORNO ROBINSON, MIGUEL        ADDRESS ON FILE
ADORNO ROBLES, DAMARIS         ADDRESS ON FILE
ADORNO ROBLES, JOSE            ADDRESS ON FILE
Adorno Rodriguez, Ana D        ADDRESS ON FILE
ADORNO RODRIGUEZ, ANA I.       ADDRESS ON FILE
Adorno Rodriguez, Antonio      ADDRESS ON FILE
ADORNO RODRIGUEZ, CARLOS       ADDRESS ON FILE
Adorno Rodriguez, Carlos M     ADDRESS ON FILE
ADORNO RODRIGUEZ, EGGIE O.     ADDRESS ON FILE
ADORNO RODRIGUEZ, HECTOR L     ADDRESS ON FILE
Adorno Rodriguez, Javier       ADDRESS ON FILE
ADORNO RODRIGUEZ, JUAN         ADDRESS ON FILE
ADORNO RODRIGUEZ, MARGUERITA   ADDRESS ON FILE
ADORNO RODRIGUEZ, MICHAEL      ADDRESS ON FILE




                                                                           Page 105 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 106 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ADORNO RODRIGUEZ, MICHAEL     ADDRESS ON FILE
ADORNO RODRIGUEZ, YAMIL       ADDRESS ON FILE
Adorno Rodriguez, Yamil R.    ADDRESS ON FILE
ADORNO ROJAS, ROSELY          ADDRESS ON FILE
ADORNO ROLON, BLANCA I        ADDRESS ON FILE
ADORNO ROMAN, LUZ M           ADDRESS ON FILE
ADORNO ROMAN, MARIA DEL C.    ADDRESS ON FILE
ADORNO ROMAN, MARIA DEL C.    ADDRESS ON FILE
ADORNO ROMAN, TOMAS           ADDRESS ON FILE
ADORNO RONDON, DOLLMARIE      ADDRESS ON FILE
ADORNO RONDON, IDALYZ C       ADDRESS ON FILE
ADORNO ROSA, GLADYS           ADDRESS ON FILE
ADORNO ROSA, JOSE IVAN        ADDRESS ON FILE
ADORNO ROSADO, CARMEN M       ADDRESS ON FILE
ADORNO ROSADO, NELLY          ADDRESS ON FILE
ADORNO ROSADO, NORMA          ADDRESS ON FILE
ADORNO ROSARIO, MARY L        ADDRESS ON FILE
ADORNO RUIZ, RICHARD          ADDRESS ON FILE
ADORNO RUSSE, ANGEL           ADDRESS ON FILE
ADORNO SALGADO, LUIS          ADDRESS ON FILE
ADORNO SANCHEZ, HECTOR R      ADDRESS ON FILE
ADORNO SANCHEZ, IRMA          ADDRESS ON FILE
ADORNO SANCHEZ, MORAYMA       ADDRESS ON FILE
ADORNO SANCHEZ, SANDRA        ADDRESS ON FILE
ADORNO SANTANA, ANGEL         ADDRESS ON FILE
ADORNO SANTANA, YIRA          ADDRESS ON FILE
ADORNO SANTIAGO, JUAN         ADDRESS ON FILE
ADORNO SANTIAGO, JUAN L       ADDRESS ON FILE
ADORNO SANTIAGO, RAUL         ADDRESS ON FILE
ADORNO SANTOS, ANGELICA       ADDRESS ON FILE
ADORNO SANTOS, GLORIA         ADDRESS ON FILE
ADORNO SANTOS, MARIA DE       ADDRESS ON FILE
ADORNO SANTOS, MARIA DE LOS   ADDRESS ON FILE
ADORNO SANTOS, OMAR A         ADDRESS ON FILE
ADORNO SANTOS, OSVALDO        ADDRESS ON FILE
ADORNO SANTOS, PETRA R        ADDRESS ON FILE
ADORNO SEPULVEDA, NOEL        ADDRESS ON FILE
ADORNO SERRANO, HECTOR        ADDRESS ON FILE
ADORNO SERRANO, ISRAEL        ADDRESS ON FILE
ADORNO SERRANO, LIGIA         ADDRESS ON FILE
ADORNO SERRANO, LYDIA J       ADDRESS ON FILE
ADORNO SERRANO, MAYRA         ADDRESS ON FILE
ADORNO SERRANO, NOYRA L       ADDRESS ON FILE
ADORNO SIMMONS, JONATHAN      ADDRESS ON FILE
ADORNO SOLIVAN, FERNANDO L.   ADDRESS ON FILE
Adorno Soto, Angel            ADDRESS ON FILE
ADORNO SOTO, DAVID            ADDRESS ON FILE
ADORNO SOTO, EZEQUIEL         ADDRESS ON FILE
ADORNO SOTO, ILKA             ADDRESS ON FILE
ADORNO SOTO, RAMON            ADDRESS ON FILE
ADORNO SOTO, SANDRA WALESKA   ADDRESS ON FILE
ADORNO TAPIA, MIGUEL A        ADDRESS ON FILE
ADORNO TAPIA, PEDRO J         ADDRESS ON FILE
ADORNO TIRADO, CARMEN         ADDRESS ON FILE
ADORNO TORO, ROSNILDA         ADDRESS ON FILE
ADORNO TORRES, ABIGAIL        ADDRESS ON FILE
ADORNO TORRES, ARIEL          ADDRESS ON FILE
ADORNO TORRES, BENJAMIN       ADDRESS ON FILE
ADORNO TORRES, CLARIBEL       ADDRESS ON FILE
ADORNO TORRES, GERARDO        ADDRESS ON FILE




                                                                          Page 106 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 107 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                      Address2                    Address3   Address4    City          State   PostalCode   Country
Adorno Torres, Gregory         ADDRESS ON FILE
ADORNO TORRES, JERRY           ADDRESS ON FILE
ADORNO TORRES, MANUEL          ADDRESS ON FILE
ADORNO TORRES, MARIA DEL P     ADDRESS ON FILE
ADORNO TORRES, MARIA E         ADDRESS ON FILE
ADORNO TORRES, SHEILA          ADDRESS ON FILE
ADORNO TRINIDAD, LUIS C        ADDRESS ON FILE
ADORNO VALENTIN, RUBEN         ADDRESS ON FILE
ADORNO VAZQUEZ, MARIA V        ADDRESS ON FILE
ADORNO VAZQUEZ, ZORIMAR        ADDRESS ON FILE
ADORNO VEGA, BRENDA I.         ADDRESS ON FILE
ADORNO VEGA, MIGDALIA          ADDRESS ON FILE
ADORNO VEGA, MYRNA             ADDRESS ON FILE
ADORNO VELAZQUEZ, ERNESTO      ADDRESS ON FILE
ADORNO VELAZQUEZ, GLENDA LEE   ADDRESS ON FILE
ADORNO VELAZQUEZ, MARIA M      ADDRESS ON FILE
Adorno Velazquez, Richard      ADDRESS ON FILE
ADORNO VELEZ, EVA              ADDRESS ON FILE
ADORNO VELEZ, MELISSA          ADDRESS ON FILE
ADORNO VELEZ, ROSA             ADDRESS ON FILE
ADORNO WILSON, CARLOS          ADDRESS ON FILE
ADORNO, ANTONIA                ADDRESS ON FILE
ADORNO, FERNAND                ADDRESS ON FILE
ADORNO, JUAN C.                ADDRESS ON FILE
ADORNO,ANTONIO E.              ADDRESS ON FILE
ADORNO,YERETH                  ADDRESS ON FILE
ADORNOADORNA, JUSTO            ADDRESS ON FILE
ADORNOADORNO, WILSON           ADDRESS ON FILE
ADORNOGOMEZ, YARELIS           ADDRESS ON FILE
ADORNONATAL, ADRIAN            ADDRESS ON FILE
ADP INC                        400 WEST COVINA BLVD MS 103                                                      SAN DIMAS     CA      91773
ADP, INC                       PO BOX 842875                                                                    BOSTON        MA      02284‐2875
ADRALIZ ORTIZ RIVERA           ADDRESS ON FILE
ADRENALINE ADVERTISING CORP    PO BOX 16262                                                                     SAN JUAN      PR      00908
ADRIA L NAVARRO SANCHEZ        ADDRESS ON FILE
ADRIA M CRUZ CRUZ              ADDRESS ON FILE
ADRIA MOLINELLY ACEVEDO        ADDRESS ON FILE
ADRIACH A BERMUDEZ ORTIZ       ADDRESS ON FILE
ADRIALI INC LOVELY SHOP        ADDRESS ON FILE
ADRIAM MUNIZ GOMEZ             ADDRESS ON FILE
ADRIAN A BENNETT RODRIGUEZ     ADDRESS ON FILE
ADRIAN A FELICIANO SILVA       ADDRESS ON FILE
ADRIAN A RUIZ VARGAS           ADDRESS ON FILE
ADRIAN ACEVEDO RUIZ            ADDRESS ON FILE
ADRIAN APONTE ORTIZ            ADDRESS ON FILE
ADRIAN ARROYO CANDELARIO       ADDRESS ON FILE
ADRIAN ARROYO CANDELARIO       ADDRESS ON FILE
ADRIAN BATISTA RODRIGUEZ       ADDRESS ON FILE
ADRIAN BELTRAN SOTO            ADDRESS ON FILE
ADRIAN BERNARD LOPEZ           ADDRESS ON FILE
ADRIAN C GARCIA AMADOR         ADDRESS ON FILE
ADRIAN CAQUIAS ROBLES          ADDRESS ON FILE
ADRIAN CAQUIAS ROBLES          ADDRESS ON FILE
ADRIAN COLLAZO TEXEIRA         ADDRESS ON FILE
ADRIAN COLON SANTIAGO          ADDRESS ON FILE
ADRIAN CUADRO CARRION          ADDRESS ON FILE
ADRIAN DE JESUS GONZALEZ       ADDRESS ON FILE
ADRIAN E FUENTES LOPEZ         ADDRESS ON FILE
ADRIAN E GONZALEZ              ADDRESS ON FILE
ADRIAN E ORTIZ CHEVRES         ADDRESS ON FILE




                                                                           Page 107 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 108 of 3500
                                                                                           Creditor Matrix

Creditor Name                      Address1                  Address2                                   Address3             Address4        City         State   PostalCode   Country
ADRIAN FELICIANO ACEVEDO           ADDRESS ON FILE
ADRIAN FUENTES CABRERA             ADDRESS ON FILE
ADRIAN G TORMES IRIZARRY           ADDRESS ON FILE
ADRIAN G ZAMBRANA OQUENDO          ADDRESS ON FILE
ADRIAN GADIA GINES                 ADDRESS ON FILE
ADRIAN GOMEZ FALGAS                ADDRESS ON FILE
ADRIAN GONZALEZ COSTA              ADDRESS ON FILE
ADRIAN GUTIERREZ CAMACHO           ADDRESS ON FILE
ADRIAN GUTIERREZ CAMACHO           ADDRESS ON FILE
ADRIAN J CONDIE                    ADDRESS ON FILE
ADRIAN J FLORES QUILES             ADDRESS ON FILE
ADRIAN J FLORES QUILES             ADDRESS ON FILE
ADRIAN J HILERA PSC                ADDRESS ON FILE
ADRIAN J MENDEZ RODRIGUEZ          ADDRESS ON FILE
ADRIAN J RIOS GIRALD               ADDRESS ON FILE
ADRIAN JESUS TAVERAS               ADDRESS ON FILE
ADRIAN JIMENEZ MELENDEZ            ADDRESS ON FILE
ADRIAN L LEBRON FIGUEROA           ADDRESS ON FILE
ADRIAN LEBRON LOPEZ                ADDRESS ON FILE
ADRIAN LOPEZ NUNCI                 ADDRESS ON FILE
ADRIAN LOPEZ VELAZQUEZ             ADDRESS ON FILE
ADRIAN MALDONADO RODRIGUEZ         ADDRESS ON FILE
ADRIAN MARTINEZ MUNDOQ             ADDRESS ON FILE
ADRIAN MELENDEZ ZENO               ADDRESS ON FILE
ADRIAN MERCADO JIMENEZ             ADDRESS ON FILE
ADRIAN MOJÍCA PABÓN                JUAN C. RIOS              PO 9020443                                                                      SAN JUAN     PR      00902
ADRIÁN MOJICA PABÓN                SR. ADRIÁN MOJICA PABÓN   INSTITUCIÓN MÁXIMA SEGURIDAD FASE III      N‐VERDE C‐323 3793   Ponce BY PASS   PONCE        PR      00728‐1504
ADRIAN MONTERO MUNIZ               ADDRESS ON FILE
ADRIAN MUNIZ MARIANI               ADDRESS ON FILE
ADRIAN MUNIZ NUNEZ                 ADDRESS ON FILE
ADRIAN N RODRIGUEZ AGOSTO          ADDRESS ON FILE
ADRIAN NARVAEZ RAMOS               ADDRESS ON FILE
ADRIAN O RAMOS SAAVEDRA            ADDRESS ON FILE
ADRIAN O VAZQUEZ ORTIZ             ADDRESS ON FILE
ADRIAN OMAR DIAZ DIAZ              ADDRESS ON FILE
ADRIAN ORTIZ DIAZ                  ADDRESS ON FILE
ADRIAN PEREZ SOTO                  ADDRESS ON FILE
ADRIAN PIZARRO RODRIGUEZ           ADDRESS ON FILE
ADRIAN PUELLO MELENDEZ             ADDRESS ON FILE
ADRIAN R MUTT MELENDEZ             ADDRESS ON FILE
ADRIAN RIVERA ROBLES               ADDRESS ON FILE
ADRIAN RODRIGUEZ ACOSTA            ADDRESS ON FILE
ADRIAN S CABREJA DIPRES            ADDRESS ON FILE
ADRIAN SAMANO RUIZ                 ADDRESS ON FILE
ADRIAN SANCHEZ VELEZ               ADDRESS ON FILE
ADRIAN SANTIAGO QUINONES           ADDRESS ON FILE
ADRIAN SEPULVEDA VELAZQUEZ         ADDRESS ON FILE
Adrian Serrano Hernández           ADDRESS ON FILE
ADRIAN SUAREZ, FRANCISCO A         ADDRESS ON FILE
ADRIAN TAPIA VALLE                 ADDRESS ON FILE
ADRIAN TORRES COLLAZO              ADDRESS ON FILE
ADRIAN TORRES CRUZ                 ADDRESS ON FILE
ADRIAN TORRES GUERRERO             ADDRESS ON FILE
ADRIAN TROCHE GUTIERREZ            ADDRESS ON FILE
ADRIAN VARGAS DE LEON              ADDRESS ON FILE
ADRIANA BERRIOS LOPEZ              ADDRESS ON FILE
ADRIANA C CABAN URENA              ADDRESS ON FILE
ADRIANA C RIVERA HERNANDEZ         ADDRESS ON FILE
ADRIANA COLON MEDINA               ADDRESS ON FILE
ADRIANA CRISTELLE MOLEDO MIRANDA   ADDRESS ON FILE




                                                                                         Page 108 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 109 of 3500
                                                                                           Creditor Matrix

Creditor Name                  Address1                         Address2                                Address3            Address4      City        State   PostalCode   Country
ADRIANA D VAZQUEZ TORRES       ADDRESS ON FILE
ADRIANA E PEREZ SOLER          ADDRESS ON FILE
ADRIANA FUENTES CRUZADO        ADDRESS ON FILE
ADRIANA GARCIA MARTINEZ        ADDRESS ON FILE
ADRIANA GONZALEZ MALDONADO     LCDO. EDGARDO SANTIAGO LLORENS   1925 BLV. LUIS A. FERRÉ                 AVE. LAS AMÉRICAS   SAN ANTONIO   PONCE       PR      00728‐1815
ADRIANA GONZALEZ MATOS         ADDRESS ON FILE
ADRIANA HUERTAS IRIZARRY       ADDRESS ON FILE
ADRIANA I NEGRON ROSARIO       ADDRESS ON FILE
ADRIANA LONDONO FIGARO         ADDRESS ON FILE
ADRIANA LUCIANO DEL VALLE      ADDRESS ON FILE
ADRIANA M AYMAT CASANOVA       ADDRESS ON FILE
ADRIANA M GONZALEZ JIMENEZ     ADDRESS ON FILE
ADRIANA M LUNA LASANTA         ADDRESS ON FILE
ADRIANA M MALDONADO RIVERA     ADDRESS ON FILE
ADRIANA M REYES RIVERA         ADDRESS ON FILE
ADRIANA M ROLDAN VELEZ         ADDRESS ON FILE
ADRIANA M. SANCHEZ FARGAS      ADDRESS ON FILE
ADRIANA MARTINEZ FELIX         ADDRESS ON FILE
ADRIANA MIESES ROSARIO         ADDRESS ON FILE
ADRIANA MIESES ROSARIO         ADDRESS ON FILE
ADRIANA MONTANEZ               ADDRESS ON FILE
ADRIANA N VELEZ NIEVES         ADDRESS ON FILE
ADRIANA ORTIZ DE RAET          ADDRESS ON FILE
ADRIANA ORTIZ DE ROET          ADDRESS ON FILE
ADRIANA PACHECO MOJICA         ADDRESS ON FILE
ADRIANA PADILLA ARROYO         ADDRESS ON FILE
ADRIANA PEREZ RODRIGUEZ        ADDRESS ON FILE
ADRIANA POLANCO REYES          ADDRESS ON FILE
ADRIANA SANTIAGO HERNANDEZ     ADDRESS ON FILE
ADRIANA SAPUTELLI BARRIOS      ADDRESS ON FILE
ADRIANA SEDA MATTEI            ADDRESS ON FILE
ADRIANA TORO RUIZ              ADDRESS ON FILE
ADRIANA VELEZ NEGRON           ADDRESS ON FILE
ADRIANA Y DIAZ GONZALEZ        ADDRESS ON FILE
ADRIANEZ CORA MORGES           ADDRESS ON FILE
ADRIANNA POU PORRATA DORIA     ADDRESS ON FILE
ADRIANNY GONZALEZ RAMOS        ADDRESS ON FILE
ADRIANO MARTINEZ               ADDRESS ON FILE
ADRIANO ROMAN HERNANDEZ        ADDRESS ON FILE
ADRIANO VALLE POZA             ADDRESS ON FILE
ADRICK CRUZ A/C RICHARD CRUZ   ADDRESS ON FILE
ADRIEL AUTO CORP               PO BOX 3108                                                                                                BAYAMON     PR      00960
ADRIEL AUTO NDA SERVICE CORP   P O BOX 3108                                                                                               BAYAMON     PR      00960
ADRIEL E RUIZ VALENTIN         ADDRESS ON FILE
ADRIEL J LUGO ROSAS            ADDRESS ON FILE
ADRIEL LIND DOMENNECH          ADDRESS ON FILE
ADRIEL LIND DOMENNECH          ADDRESS ON FILE
ADRIEL LONGO RAVELO            ADDRESS ON FILE
ADRIEL LOPEZ RIVERA            ADDRESS ON FILE
ADRIEL ORTIZ VELEZ             ADDRESS ON FILE
ADRIEL OTERO SEGUI             ADDRESS ON FILE
ADRIENNE JULES FOUNDATION      ADDRESS ON FILE
ADRIN I PEREZ GARCIA           ADDRESS ON FILE
ADRIZ S. COLON MARTINEZ        ADDRESS ON FILE
ADROVER BARRIOS, ITZAIRA E     ADDRESS ON FILE
ADROVER BARRIOS, JORGE A       ADDRESS ON FILE
ADROVER BARRIOS, NELLIE E      ADDRESS ON FILE
ADROVER FUEYO, FRANCISCO       ADDRESS ON FILE
ADROVER JUARBE, MANUEL A       ADDRESS ON FILE
ADROVER LOPEZ, PEDRO A         ADDRESS ON FILE




                                                                                          Page 109 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 110 of 3500
                                                                                                Creditor Matrix

Creditor Name                           Address1                   Address2                                  Address3   Address4   City            State   PostalCode   Country
ADROVER MORALES, ANA D                  ADDRESS ON FILE
ADROVER MUNTANER, ANTONIA               ADDRESS ON FILE
ADROVER MUNTANER, IDARMA                ADDRESS ON FILE
ADROVER PAGAN, JESSICA                  ADDRESS ON FILE
ADROVER PONS, MARIA Y                   ADDRESS ON FILE
Adrover Rivera, Lemuel                  ADDRESS ON FILE
ADROVER ROBLES, ANGEL M                 ADDRESS ON FILE
ADROVER ROBLES, ARMINDA                 ADDRESS ON FILE
ADROVER ROBLES, PEDRO                   ADDRESS ON FILE
ADROVER ROBLES,JAIME                    ADDRESS ON FILE
ADROVER RODRIGUEZ, JORGE A              ADDRESS ON FILE
ADROVER RODRIGUEZ, MARGARITA            ADDRESS ON FILE
ADROVER RODRIGUEZ, MIGDALIA             ADDRESS ON FILE
ADROVER SANTIAGO, ROSA E                ADDRESS ON FILE
ADROVER Y AVILES ABOGADOS CSP           REPTO METROPOLITANO        1103 CALLE 54 SE                                                SAN JUAN        PR      00921‐2732
Adrovet Burgos, Angel O                 ADDRESS ON FILE
ADROVET CANCEL, RAIZA                   ADDRESS ON FILE
ADROVET GONZALEZ, ZENAIDA               ADDRESS ON FILE
ADROVET MOLINA, HUMBERTO                ADDRESS ON FILE
ADROVET PAGAN, ANGEL                    ADDRESS ON FILE
ADROVET RIVERA, DORIS                   ADDRESS ON FILE
ADROVET RIVERA, MAGALY                  ADDRESS ON FILE
ADROVET RIVERA, SHAIRA                  ADDRESS ON FILE
ADROVET RIVERA,SANDRA                   ADDRESS ON FILE
ADROVET RODRIGUEZ, CARLOS               ADDRESS ON FILE
ADRY C FERNANDEZ LOPEZ                  ADDRESS ON FILE
ADRY C SOTOLONGO FERNANDEZ              ADDRESS ON FILE
ADRYANNA MULLER OFARRIL                 ADDRESS ON FILE
ADS ALLIANCE DATA SYSTEMS CORPORATION   PO BOX 38699                                                                               COLORADO        CO      80937
ADSEF / LUIS A COSME RIVERA             ADDRESS ON FILE
ADSEF Y DORIS E RODRIGUEZ RODRIGUEZ     PO BOX 8000                                                                                SAN JUAN        PR      00910
ADSEF Y/O JOEL A RAMOS FEBRES           ADDRESS ON FILE
ADSEF Y/O VIRGEN JIMENEZ REYES          ADDRESS ON FILE
ADSEF Y/O VIRGEN JIMENEZ REYES          ADDRESS ON FILE
ADSUAR LLOMPART, CAROLINA               ADDRESS ON FILE
ADT SECURITY SERVICES PR INC            URB INDUSTRIAL LUCHETTI    290 CALLE B                                                     BAYAMON         PR      00961‐7410
ADT SECURITY SERVICES PR, INC.          PO BOX 371967                                                                              PITTSBURGH      PA      15250‐7967
ADT SECURITY SYSTEMS PR INC             AREA DE TESORO             DIVISION DE RECLAMACIONES                                       SAN JUAN        PR      00902‐4140
ADT SECURITY SYSTEMS PR INC             PO BOX 366758                                                                              SAN JUAN        PR      00936
ADT SECURITY SYSTEMS PR INC             PO BOX 71485                                                                               SAN JUAN        PR      00936
ADTIME SPORTS PROMOTION INC             HC 67 BOX 17738                                                                            FAJARDO         PR      00738‐9408
ADUME                                   DEPARTAMENTO DE HACIENDA   OFICINA DE FINANZAS                                             SAN JUAN        PR      00901
ADV CONTRACTORS (ANTONIO ORTEGA)        RR 01 BOX 16595                                                                            TOA ALTA        PR      00953
ADVANCE ADVISOR GROUP INC               AREA DEL TESORO            DIVISION DE RECLAMACIONES                                       SAN JUAN        PR      00902‐4140
ADVANCE ADVISOR GROUP INC               PMB STE 329                90 AVE RIO HONDO                                                BAYAMON         PR      00961
ADVANCE AIR CONDITIONING INC            PO BOX 11                                                                                  DORADO          PR      00646
ADVANCE ANESTHESIA SERVICES CORP        PO BOX 6409                                                                                MAYAGUEZ        PR      00681
ADVANCE AUTO CENTER CORPORATION         HACIENDA SAN JOSE          VIA CAMPANA 456                                                 CAGUAS          PR      00727
ADVANCE AUTO PARTS                      HUMACAO PLAZA CARR 3                                                                       HUMACAO         PR      00791
ADVANCE AUTO PARTS                      PO BOX 3978                                                                                CAROLINA        PR      00984‐3978
ADVANCE BREAST CENTER                   PO BOX 1390                                                                                AIBONITO        PR      00705
ADVANCE CAPITAL EXPERT                  PMB 350                    PO BOX 4985                                                     CAGUAS          PR      00726
ADVANCE CARDIAC SERVICE INC             P O BOX 718                                                                                GURABO          PR      00778
ADVANCE CHEMICAL CLEANING SOLUTIONS COR PO BOX 123                                                                                 VEGA BAJA       PR      00694
ADVANCE COMMUNICATION CONTRACTORS , IN HC ‐ 30 BOX 32707                                                                           SAN LORENZO     PR      00754‐0000
ADVANCE DENTAL CARE INC                 PO BOX 3307                                                                                MAYAGUEZ        PR      00681‐3307
ADVANCE EDUCATION INC                   PO BOX 989                                                                                 SAINT JUST      PR      00978
ADVANCE EDUCATIONAL SYSTEMS             CAPE SEA VILLAGE           #3 GARDENIA BOX 115                                             CAROLINA        PR      00979
ADVANCE ENGINEERING SER/MANA/PSC        URB VILA CAPARRA           21 CALLE K                                                      GUAYNABO        PR      00966‐2304
ADVANCE FLEET SERVICE                   AVE. LOMAS VERDES AG‐8                                                                     BAYAMON         PR      00956




                                                                                               Page 110 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 111 of 3500
                                                                                                               Creditor Matrix

Creditor Name                            Address1                              Address2                                     Address3   Address4   City              State   PostalCode    Country
ADVANCE FLEET SERVICE CORP.              CENTRO NOVIOS PLAZA BLDG              475 HOSTOS AVE SUITE 207                                           MAYAGUEZ          PR      006801‐5540
ADVANCE FLEET SERVICE CORP.              PO BOX 1766                                                                                              BAYAMON           PR      00960‐1766
ADVANCE FLEET SERVICES CORP              A G 8 AVE LOMAS VERDES                                                                                   BAYAMON           PR      00956
ADVANCE FLEET SERVICES CORP              BOX 1766                                                                                                 BAYAMON           PR      00960‐1766
ADVANCE FLEET SERVICES CORP              RR 4 BOX 3480                         EL PEDREGAL                                                        BAYAMÓN           PR      00956
ADVANCE FLEET SERVICES CORPORATION       CALLE 37 AG‐8 URB SANTA JUANITA                                                                          BAYAMON           PR      00956
ADVANCE FLEET SERVICES CORPORATION       PO BOX 1766                                                                                              BAYAMON           PR      00960‐0000
ADVANCE HEARING CENTER                   1627 AVE JESUS T PIÑEIRO                                                                                 SAN JUAN          PR      00920
ADVANCE IMAGING INTERVENTIONAL CENTER PO BOX 1186                                                                                                 BAYAMON           PR      00961
ADVANCE INFUSION SERVICE INC             VILLA CAPARRA                         ZONE M 139 RD 2 KM 7.2                                             GUAYNABO          PR      00966
ADVANCE INTERNATIONAL CONTRACTOR INC     URB SABANA GARDENS                    BLQ 1 3                                                            CAROLINA          PR      00987
ADVANCE LIGHTING DESIGNERS INC           PO BOX 7891 PMB 101                                                                                      GUAYNABO          PR      00970‐7891
Advance Logistic Psychological Education PASEO DEL SOL CALLE THEBE # 219                                                                          DORADO            PR      00646‐0000
ADVANCE MEDICAL SUPPLIES, CORP           759 AVE CAMPO RICO                    URB COUNTRU CLUB                                                   SAN JUAN          PR      00924
ADVANCE MEDICAL TECHNOLOGIES INC         1504 AVE FERNANDEZ JUNCOS                                                                                SAN JUAN          PR      00909
ADVANCE MEDICAL TECHNOLOGIES INC         AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
ADVANCE MEDICAL TECHNOLOGY CORP          PO BOX 11023                                                                                             SAN JUAN          PR      00910‐2123
ADVANCE NETWORK                          P.O. BOX 7203                                                                                            PONCE             PR      00732‐7203
ADVANCE OFFICE ELECTRONIC                P O BOX 4410                                                                                             CAROLINA          PR      00984
ADVANCE OFFICE ELECTRONICA CENTER INC    P.O. BOX 4410                                                                                            CAROLINA          PR      00984
ADVANCE OFFICE ELECTRONICS               PO BOX 4410                                                                                              CAROLINA          PR      00984
ADVANCE OFFICE ELECTRONICS CENTER INC    PO BOX 4410                                                                                              CAROLINA          PR      00984
ADVANCE OPHTALMOLOGY GROUP PSC           PO BOX 140819                                                                                            ARECIBO           PR      00614
ADVANCE PAIN MANAGEMENT REHABILITATIONURB SANTA CRUZ                           E22 CALLE SANTA CRUZ                                               BAYAMON           PR      00961
ADVANCE PHYSICIAN LLC                    PO BOX 31009                                                                                             SAN JUAN          PR      00929
ADVANCE PRINTING BUENAVENTURA, INC       AVE 65 INF #13900                     LOS COLOBOS                                                        CAROLINA          PR      00987
ADVANCE PROFESSIONAL OB/GYN PSC          PO BOX 70344 PMB 493                                                                                     SAN JUAN          PR      00936
ADVANCE PSICHOEDUCATIONAL SERVICES       AVE. JESUS T. PINERO #1578                                                                               SAN JUAN          PR      00921
ADVANCE SALES INC                        PO BOX 860                                                                                               GUAYNABO          PR      00970
ADVANCE SONOGRAFHY AND BRAY CSP          12 CALLE BARCELO                                                                                         CIDRA             PR      00739
ADVANCE TECH COLLEGE                     STATION ONE                           PO BOX 55407                                                       BAYAMON           PR      00960
ADVANCE TECHNICAL SERVICES, INC          PO BOX 4960 PMB 371                                                                                      CAGUAS            PR      00726‐4960
ADVANCE TURBINE TECHNOLOGY SERVICES      QTAS DE CUPEY                         A3 CALLE 14                                                        SAN JUAN          PR      00926‐6221
ADVANCE WIRELESS COMMUNICATIONS, INC D/B403 CALLE DEL PARQUE                   SUITE 6                                                            SAN JUAN          PR      00912‐3709
ADVANCE WORK FORCE TRAINING GROUP CORP P O BOX 1458                                                                                               AGUADA            PR      00602
ADVANCED & CREATIVE CONSULTING GROUP INC62 CALLE RUIZ BELVIS ALTOS                                                                                CAGUAS            PR      00725
ADVANCED ACADEMIC SERVICES INC           PO BOX 195568                                                                                            SAN JUAN          PR      00919
ADVANCED ACCOUNTING AND TAX SERV         PO BOX 1048                                                                                              FAJARDO           PR      00738
ADVANCED BIO SYSTEMS                     AREA DE TESORO                        DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      09024140
ADVANCED BIO SYSTEMS                     PASEO LAS FLORES ST                   SA 26 PRIMAVERA                                                    TRUJILLO ALTO     PR      00976
ADVANCED BIO SYSTEMS                     PASEO LAS FLORES ST                   26 SA PRIMAVERA                                                    TRUJILLO ALTO     PR      00976
ADVANCED BIO SYSTEMS                     Paseo Las Flores ST Primavera sa‐26   SA 26 PRIMAVERA                                                    TRUJILLO ALTO     PR      00976‐0000
ADVANCED BREAST IMAGINGS SERVICES PC     PO BOX 586                                                                                               DORADO            PR      00646‐0586
ADVANCED CARE PHARMACY                   233759 MOMENTUM PLACE                                                                                    CHICAGO           IL      60689
ADVANCED CHIROPRACTIC OF PELHAM BAY      3233 WESTCHESTER AVE                                                                                     BRONX             NY      10461
ADVANCED COMMUNICATION SCIENCES          AVE MUNOZ RIVERA                      654 IBM PLAZA BLDG SUITE 840                                       SAN JUAN          PR      00918
ADVANCED COMPUTER TECHNOLOGY             CITY VIEW PLAZA II                    48 CARR 165 SUITE 2000‐1620                                        GUAYNABO          PR      00968‐8000
ADVANCED COMPUTER TECHNOLOGY             P O BOX 361697                                                                                           SAN JUAN          PR      00936‐1697
ADVANCED COMPUTER TECHNOLOGY , INC.      P. O. BOX 361697                                                                                         SAN JUAN          PR      00927‐0000
ADVANCED COMUNICATION SCIENCES INC       IBM BUILDING SUITE 840                654 MUðOZ RIVERA AVE                                               SAN JUAN          PR      00918
ADVANCED COMUNICATION SCIENCES INC       IBM BUILDING SUITE 840                654 MUNOZ RIVERA AVE                                               SAN JUAN          PR      00918
ADVANCED CONTROL SERVICES INC            PMB 205                               425 RD 693                                                         DORADO            PR      00646
ADVANCED DRAINAGE SYSTEMS OF PR          PO BOX 666                                                                                               ARECIBO           PR      00613‐0666
ADVANCED EDUCATION, LLC                  PO BOX 0396                                                                                              BAYAMON           PR      00960‐0396
ADVANCED EDUCATIONAL PRODUCTS , INC.     2495 MAIN STREET , SUITE 230                                                                             BUFFALO           NY      14214‐0000
ADVANCED EMERGENCY GROUP                 URB MARY OLGA                         S 1 AVE MUÐOZ MARIN SUITE 103                                      CAGUAS            PR      00725
ADVANCED EMERGENCY GROUP                 URB MARY OLGA                         S 1 AVE MUNOZ MARIN SUITE 103                                      CAGUAS            PR      00725
ADVANCED EYECARE AND LASER CENTER        619 W CLEMENTS BRIDGE RD                                                                                 RUNNEMEDE         NJ      08078
ADVANCED FLEET SERVICES                  AVE LOMAS VERDES BAY AG8                                                                                 BAYAMON           PR      00956
ADVANCED GRAPHIC PRINTING INC            PO BOX 9066602                                                                                           SAN JUAN          PR      00906‐6602




                                                                                                              Page 111 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                     Desc:
                                                               Exhibit A-1 - Creditor
                                                                                   Case No.Matrix
                                                                                           17 BK 3283‐LTSPage 112 of 3500
                                                                                                                          Creditor Matrix

Creditor Name                             Address1                                   Address2                                          Address3            Address4    City              State   PostalCode   Country
ADVANCED GRAPHICS PRINTING                P.O. BOX 9066602                                                                                                             SAN JUAN          PR      00906‐6602
ADVANCED HEALTH CARE                      1777 WEST GRAND AVE                                                                                                          PORT WASHINGTON   WI      53074
ADVANCED INSTRUMENTS INC                  TWO TECHNOLOGY WAY                                                                                                           NORWOOD           MA      02062
ADVANCED IRRIGATION AND LADSCAPE INC      URB SYLVIA                                 D20 CALLE 7                                                                       COROZAL           PR      00783‐2384
ADVANCED IT SOLUTIONS LLC                 PO BOX 190124                                                                                                                SAN JUAN          PR      00919‐0124
ADVANCED LEGAL SERVICES, PSC              PO BOX 191061                                                                                                                SAN JUAN          PR      00919
ADVANCED MED OPTICS P R MFG INC           PO BOX 1408                                                                                                                  ANASCO            PR      00610
ADVANCED MEDICAL AMBULANCE CORP           PO BOX 2545                                                                                                                  SAN GERMAN        PR      00683
ADVANCED MEDICAL EDUCATION CONSULTANTS161 SAN JORGE , SUITE 402                                                                                                        SAN JUAN          PR      00911
ADVANCED MEDICAL EDUCATION CONSULTANTS161 SAN JORGE STREET STE 402                                                                                                     SAN JUAN          PR      00911
ADVANCED MICROCOMPUTERS TECH.             COND. EL CENTRO I LOCAL 1 AVE. MUNOZ RIVERA                                                                                  HATO REY          PR      00918
ADVANCED MRI GROUP OF PR PSC              P O BOX 34187                              FORT BUCHANAN                                                                     SAN JUAN          PR      00934
ADVANCED MULTI SERVICE SOLUTIONS INC      VALLE DE SAN LUIS                          300 VIA DEL CIELO                                                                 CAGUAS            PR      00725‐3373
ADVANCED NETWORK & CORP                   MICHELLE PLAZA SUITE 209                                                                                                     PONCE             PR      00715
ADVANCED NETWORK & CORP                   PO BOX 650                                                                                                                   MERCEDITA         PR      00715‐0650
ADVANCED ORTHOPEDICS                      2041 FIRST BLVD STE 7                                                                                                        FORT PIERCE       FL      34950
ADVANCED PAVING CORP & UNITED SURETY      AND INDEMNITY CO                           HAC SAN JOSE 492 VIA CAMPINA                                                      CAGUAS            PR      00727
ADVANCED PEDIATRIC CARE PSC               VILLA CAROLINA                             222‐13 CALLE 601                                                                  CAROLINA          PR      00985‐2203
ADVANCED PHYSICAL THERAPISTS              PO BOX 2803                                                                                                                  GUAYAMA           PR      00785
ADVANCED PHYSICAL THERAPY INC             PO BOX 2803                                                                                                                  GUAYAMA           PR      00785
ADVANCED PHYSIOTHERAPY CENTER CORP        P.O. BOX 2839                                                                                                                MOCA              PR      00676
ADVANCED PLANNING GROUP INC               PO BOX 363436                                                                                                                SAN JUAN          PR      00936‐3436
ADVANCED PRINTING BUENAVENTURA            65 INF 13900 LOS COLOBOS                                                                                                     CAROLINA          PR      00987
ADVANCED PRINTING BUENAVENTURA , INC.     AVE. 65 INF. # 13900 LOS COLOBOS                                                                                             CAROLINA          PR      00987‐0000
ADVANCED PRINTING BUENAVENTURA INC        LOS COLOBOS                                AVE 65 INF 13900                                                                  CAROLINA          PR      00987
ADVANCED PROMOTIONAL ADVERTISING OF PR PO BOX 364871                                                                                                                   SAN JUAN          PR      00936‐4871
ADVANCED PROMOTIONAL OF PR INC            AVE. PONCE DE LEON 408 PUERTA DE TIERRA                                                                                      SAN JUAN          PR      00901
ADVANCED PROMOTIONAL OF PR INC            PO BOX 364871                                                                                                                SAN JUAN          PR      00936‐4871
ADVANCED RADIOTHERAPY CENTER              MARINA STATION                             PO BOX 8043                                                                       MAYAGUEZ          PR      00681
ADVANCED RENAL CARE INSTITUTE PSC         OFFICE PARK II STE 203                     357 HOSTOS AVE                                                                    MAYAGUEZ          PR      00680
ADVANCED RENAL VASCULAR CENTER P S C      27 CALLE DR NELSON PEREA STE 104                                                                                             MAYAGUEZ          PR      00680‐4950
ADVANCED RESEACH CENTER INC               AVE. WINSTON CHURCHILL URB. EL SENORIAL #301                                                                                 SAN JUAN          PR      00926
ADVANCED RESEARCH CENTER INC              301 AVE WINSTON CHURCHILL                                                                                                    SAN JUAN          PR      00926
ADVANCED SOIL ENGINEERING                 PO BOX 1286                                                                                                                  ISABELA           PR      00662
ADVANCED SOIL ENGINEERING CORP            PO BOX 1313                                                                                                                  ISABELA           PR      00662
ADVANCED SPINE AND PAIN                   MEDICAL RECORDS                            2‐8TH STREET                                                                      HAMMONTON         NJ      08037
ADVANCED STRATEGIES GROUP PSC             PO BOX 190768                                                                                                                SAN JUAN          PR      00919‐0768
ADVANCED SURGICAL SERVICES PSC            PO BOX 11943                                                                                                                 SAN JUAN          PR      00922‐1943
ADVANCED TECHNICAL IND SERVICES CORP      PO BOX 6032                                                                                                                  SAN JUAN          PR      00914‐6032
ADVANCED TECHNOLOGY GROUP INC             1795 CLARKSON RD STE 301                                                                                                     CHESTERFIELD      MO      63017‐4975
ADVANCED TECHNOLOGY SERVICES, INC.        URB EL MADRIGAL                            CALLE 12 I‐34                                                                     PONCE             PR      00730
ADVANCED TECHNOLOGY SYSTEMS               URB SAN LORENZO                            18 CALLE P MORA ACOSTA                                                            ARECIBO           PR      00612‐3615
ADVANCED THERAPY GROUP                    HC 01 BOX 26910                                                                                                              CAGUAS            PR      00725
ADVANCED TRANSPORTATION INC               PO BOX 132                                                                                                                   COROZAL           PR      00783
Advanced Transportation, Inc.             PO Box 1063                                                                                                                  Corozal           PR      00783
ADVANCED WHOLESALE DIST                   HC 01 BOX 9593                                                                                                               TOA BAJA          PR      00949
ADVANCED WHOLESALE DISTRIBUTORS           HC 01 BOX 9593                                                                                                               TOA BAJA          PR      00949
ADVANCED WIRELESS COMUNICATION            PO BOX 771                                                                                                                   GURABO            PR      00778
ADVANCER LOCAL DEVELOPMENT CORP           URB SANTA ROSA                             AVE MAIN 31‐47 SUITE 137                                                          BAYAMON           PR      00659
ADVANTAGE BUSINESS CONSULTING             268 AVE PONCE DE LEON                      SUITE 1023 THE HATO REY CENTER                                                    SAN JUAN          PR      00918‐2002
ADVANTAGE BUSINESS CONSULTING             268 AVE. PONCE DE LEON                     THE HATOREY CENTER STE. 1023                                                      SAN JUAN          PR      00918‐2002
ADVANTAGE BUSINESS CONSULTING INC         1519 AVE PONCE DE LEON                     SUITE 1001 FIRSTBANK BLDG                                                         SAN JUAN          PR      00909
Advantage Business Insurance Company I.I. 1949 E. Sunshine                                                                                                             Springfield       MO      65899‐0001
                                                                                                                                       250 MuÃ±oz Rivera
Advantage Business Insurance Company I.I.   Attn: Eric Miller, Principal Representative   American International Plaza                 Avenue              Suite 710   San Juan          PR      00918
                                                                                                                                       250 MuÃ±oz Rivera
Advantage Business Insurance Company I.I.   c/o Milliman, Inc, Actuary                    American International Plaza                 Avenue              Suite 710   San Juan          PR      00918
                                                                                                                                       250 MuÃ±oz Rivera
Advantage Business Insurance Company I.I.   c/o RSM ROC &Company, External Auditor        American International Plaza                 Avenue              Suite 710   San Juan          PR      00918
Advantage Life Assurance I.I.               American International Plaza, Suite 710       250 MuNoz Rivera Avenue                                                      San Juan          PR      00918




                                                                                                                         Page 112 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                               Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 113 of 3500
                                                                                                                             Creditor Matrix

Creditor Name                            Address1                                        Address2                                           Address3                Address4   City              State   PostalCode   Country
                                                                                                                                            250 MuÃ±oz Rivera
Advantage Life Assurance I.I.            Attn: Eric Miller, Principal Representative     American International Plaza                       Ave., Suite 710                    San Juan          PR      00918
                                                                                                                                            250 MuÃ±oz Rivera
Advantage Life Assurance I.I.            Attn: Walter Keenan, President                    American International Plaza                     Ave., Suite 710                    San Juan          PR      00918
Advantage Life Puerto Rico, A.I.         American International Plaza, Suite 710           250 MuNoz Rivera Avenue                                                             San Juan          PR      00918
Advantage Life Puerto Rico, A.I.         Attn: Daniel Theodore, Actuary                    B7 Tabonuco Street, Suite 1108                                                      Guaynabo          PR      00968
Advantage Life Puerto Rico, A.I.         Attn: Karl Jordan, External Auditor               B7 Tabonuco Street, Suite 1108                                                      Guaynabo          PR      00968
Advantage Life Puerto Rico, A.I.         Attn: Pedro Vidal Cordero, Principal Representati B7 Tabonuco Street, Suite 1108                                                      Guaynabo          PR      00968
ADVANTAGE SELF STORAGE INC               P O BOX 192153                                                                                                                        SAN JUAN          PR      00919
ADVANTAGE SYSTEMS                        100 GRAN BULEVARD PASEOS SUITE 112 MSC 141                                                                                            SAN JUAN          PR      00926
ADVANTEGE MANAGMENT INTERNATIO           MSC 388 100 GRAND BOULEVARD LOS PASEOS SUITE 112                                                                                      SAN JUAN          PR      00926‐5955
ADVENTNET, INC                           4900 HOPYARD ROAD                                 SUITE 310                                                                           PLEASANTON        CA      ‐7100
ADVENTURE CC, INC.                       1181 AVE AMERICO MIRANDA                                                                                                              SAN JUAN          PR      00921
ADVENTURE CLUB                           CAPARRA TERRACE                                   1412 AVE JESUS T PINERO                                                             SAN JUAN          PR      00921
ADVENTURE THERAPY                        CONDOMINIO LA CORUNA                              2023 CARR. 177 APT. 1802                                                            GUAYNABO          PR      00969
ADVERTISING DEVELOPERS INC               URB JB HUYKE                                      373 AVENUE DE HOSTOS                                                                SAN JUAN          PR      00918
ADVERTISING GROUP P R INC                1353 AVE LUIS VIGOREAUX                           SUITE 770                                                                           GUAYNABO          PR      00966
ADVERTISING GROUP P R INC                URB TIERRA ALTA II                                N‐8 TORTOLA ST                                                                      GUAYNABO          PR      00969

ADVIER ORTEGA OYOLA DBA OFFICE TECH      SOLUTIONS OFFICE TECH SOLUTIONS                 URB PABELLONES                                     257 CALLE PUERTO RICO              TOA BAJA          PR      00949
ADVISEMENT GROUP INC                     120 CARR 876                                                                                                                          TRUJILLO ALTO     PR      00976
ADVOCATE ILLINOIS MASONIC                836 W WELLINGTON AVE                                                                                                                  CHICAGO           IL      60657
ADWOKS                                   VILLA CAPARRA                                   60 CALLE 8                                                                            GUAYNABO          PR      00966‐1773
ADWORKS                                  URB VILLA CAPARRA                               60 CALLE 8                                                                            GUAYNABO          PR      00966‐1773
ADY AGOSTO VELAZQUEZ                     ADDRESS ON FILE
ADY LUZ PEREZ RIVERA                     ADDRESS ON FILE
ADY RODRIGUEZ DIAZ                       ADDRESS ON FILE
ADYMAR FEGO FIGUEROA                     ADDRESS ON FILE
ADYMARA RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
AE DESIGN ARCHITECTS & ENGINNERS CORP    URB PALACIOS DEL RIO I                          K8 CALLE YANES                                                                        TOA ALTA          PR      00953
AE‐AHORRO ADEUDADO AEELA                 ADDRESS ON FILE
AECOM ENVIRONMENTAL CONSULTING INC       2 TECHNOLOGY PARK DR                                                                                                                  WESTFORD          MA      01886‐0000
AEDA CORP.                               APARTADO 249                                                                                                                          BARRANQUITAS      PR      00794
AEDA CORP.                               CARR. 162 KM 6.6                                BO. HELECHAL                                                                          BARRANQUITAS      PR      00794
AEDNA MARTINEZ LAZU                      ADDRESS ON FILE
AEG MANAGEMENT PR LLC D/B/A              PUERTO RICO CONVENTION CENTER                   100 CONVENTION BOULEVARD                                                              SAN JUAN          PR      00907
AEG MANAGEMENT PR LLC, PR CONV CENTER    100 CONVENTION BLVD                                                                                                                   SAN JUAN          PR      00907
AELIT INC                                JARD DE CAPARRA                                 E 11 CALLE 1                                                                          BAYAMON           PR      00959
AEREAL WORK SERVICE                      MB 11 BOX 1283                                                                                                                        SAN LORENZO       PR      00775
AERIAL ARCHITECTURAL PHOTOGRAPHY IN      PO BOX 10197                                                                                                                          SAN JUAN          PR      00922
AERIAL GYMNASTIC CLUB                    PO BOX 50848                                                                                                                          TOA BAJA          PR      00950
AERINA FIDELINA AVILES VARGAS            PO BOX 986                                                                                                                            LAJAS             PR      00667
AERO GLOBAL LLC                          MONTE ATENAS                                                                                 502                                      SAN JUAN          PR      00926
AERO INVESTMENT GROUP INC                PO BOX 9776                                                                                                                           SAN JUAN          PR      00908
AEROFLEX INT INC C/O DELOITTE & TOUCHE   HATO REY TOWER SUITE 1200                       268 AVE MUNOZ RIVERA                                                                  SAN JUAN          PR      00918‐2511
AEROFOTO INTERNACIONAL                   PO BOX 361245                                                                                                                         SAN JUAN          PR      00936‐1245
AEROFOTO INTERNACIONAL INC               PO BOX 361245                                                                                                                         SAN JUAN          PR      00936
AEROMAR TRAVEL AND TOURS INC             URB EL COMANDANTE                               1212 CALLE ANTONIO LUCIANO                                                            SAN JUAN          PR      00924‐3546
AEROMED SERVICES CORP                    PO BOX 70344                                                                                                                          SAN JUAN          PR      00936‐8344
AEROMETALICA CORP                        EL TUQUE INDUSTRIAL PARK                        119 SUITE 2                                                                           PONCE             PR      00728‐2803
AEROMETALICA CORPORATION                 119 EL TUQUE INDUSTRIAL PARK                                                                                                          PONCE             PR      00728‐2803
AEROMETALICA CORPORATION                 119 EL TUQUE INDUSTRIAL PARK                    SUITE NO. 2                                                                           PONCE             PR      00728‐2803
AERONET WIRELESS BROADBAND CORP          18 METRO OFFICE PARK STE 305                                                                                                          GUAYNABO          PR      00968
AERONET WIRELESS BROADBAND CORP          AREA DEL TESORO                                 DIVISION DE RECLAMACIONES                                                             SAN JUAN          PR      00902‐4140
AERONET WIRELESS BROADBAND CORP.         PO BOX 270013                                   METRO OFFICE PARK #18                              SUITE 305                          GUAYNABO          PR      00968
AERONET WIRELESS BROADBAND, CORP.        Metro Office Park 18                            Suite 305                                                                             Guaynabo          PR      00968
AERONET WIRELESS BROADBAND, CORP.        PO BOX 270013                                                                                                                         SAN JUAN          PR      00927
AEROS BASEBALL CLUB                      HACIENDAS EL ZORZAL                             C 24 CALLE 3                                                                          BAYAMON           PR      00956
AEROSTAR AIRPORT HOLDINGS LLC            PO BOX 38085                                                                                                                          SAN JUAN          PR      00937‐1085
AEROTEK INC                              410 CALLE MENDEZ VIGO STE 102                                                                                                         DORADO            PR      00646




                                                                                                                            Page 113 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 114 of 3500
                                                                                                      Creditor Matrix

Creditor Name                    Address1                              Address2                                    Address3   Address4   City            State   PostalCode   Country
AES INTERNATIONAL                611 MONSERATE ST.                     2ND FLOOR                                                         SANTURCE        PR      00907
AES INTERNATIONAL INC            611 CALLE MONSERRATE 2NDOPISO                                                                           SAN JUAN        PR      00907
AES INTERNATIONAL INC            AVE R H TOOD                                                                                            SAN JUAN        PR      00907
AES OF PUERTO RICO               PO BOX 1148                                                                                             SABANA SECA     PR      00952‐1148
AESTHETIC CENTER OF PR CSP       GALERIA PASEOS                        100 GRAND PASEO BLVD STE 112 PMB 486                              SAN JUAN        PR      00926
Aetna Life Insurance Company     151 Farmington Avenue                                                                                   Hartford        CT      06156
Aetna Life Insurance Company     Attn: Janet Mann, Vice President      151 Farmington Avenue, RW61                                       Hartford        CT      06156
Aetna Life Insurance Company     Attn: Ronald A. Williams, President   151 Farmington Avenue, RW61                                       Hartford        CT      06156
AF CONSULTING GROUP INC          CIUDAD JARDIN                         117 CALLE JENGIBRE                                                GURABO          PR      00778
AFACRED MED PR CRL               PO BOX 2602                                                                                             GUAYNABO        PR      00970
AFANADOR AFANADOR, ELIZABETH     ADDRESS ON FILE
AFANADOR AFANADOR, LUZ M         ADDRESS ON FILE
AFANADOR AFANADOR, WANDA         ADDRESS ON FILE
AFANADOR AGUILAR, LORNA          ADDRESS ON FILE
AFANADOR ANDUJAR, DIANA          ADDRESS ON FILE
AFANADOR ANDUJAR, IRMA           ADDRESS ON FILE
Afanador Andujar, Orlando        ADDRESS ON FILE
AFANADOR AVILES, ERICK           ADDRESS ON FILE
AFANADOR AYALA, NOEMI            ADDRESS ON FILE
AFANADOR BERMUDEZ, MARILUZ       ADDRESS ON FILE
AFANADOR BERMUDEZ, YADIRA        ADDRESS ON FILE
AFANADOR BERMUDEZ, YADIRA        ADDRESS ON FILE
AFANADOR CABAN, VILMARIS         ADDRESS ON FILE
AFANADOR CABRERA, RICARDO        ADDRESS ON FILE
AFANADOR COLLAZO, GLORIA         ADDRESS ON FILE
AFANADOR COLLAZO, GLORIA         ADDRESS ON FILE
AFANADOR COLLAZO, JOSE           ADDRESS ON FILE
AFANADOR COLLAZO, SANDRA I       ADDRESS ON FILE
AFANADOR CRUZ, ALFREDO           ADDRESS ON FILE
AFANADOR CRUZ, ANTONIO           ADDRESS ON FILE
AFANADOR CRUZ, DAMIAN            ADDRESS ON FILE
AFANADOR CRUZ, GABRIEL           ADDRESS ON FILE
AFANADOR CRUZ, MARINES           ADDRESS ON FILE
AFANADOR CRUZ, ROBERTO           ADDRESS ON FILE
AFANADOR DE JESUS, AIDA          ADDRESS ON FILE
AFANADOR DE JESUS, CLARIBEL      ADDRESS ON FILE
Afanador Domenech, Damian J.     ADDRESS ON FILE
AFANADOR DOMENECH, GENEROSA      ADDRESS ON FILE
AFANADOR GARCIA, EDGARDO         ADDRESS ON FILE
AFANADOR GIL, NANETTE            ADDRESS ON FILE
AFANADOR GONZALEZ, ERICK         ADDRESS ON FILE
AFANADOR GUTIERREZ, JULISSA      ADDRESS ON FILE
AFANADOR GUTIERREZ, JULISSA      ADDRESS ON FILE
AFANADOR HORNEDO, YAMIL          ADDRESS ON FILE
AFANADOR MATOS, JORGE H.         ADDRESS ON FILE
AFANADOR MEJIAS, EVELYN          ADDRESS ON FILE
AFANADOR MENDEZ, GLORYNES        ADDRESS ON FILE
AFANADOR MENDEZ, JOSE            ADDRESS ON FILE
AFANADOR MONTALVO MD, WILFREDO   ADDRESS ON FILE
AFANADOR MORALES, JOSE           ADDRESS ON FILE
AFANADOR NIEVES, EDGARDO         ADDRESS ON FILE
AFANADOR NIEVES, JOSUE           ADDRESS ON FILE
AFANADOR REVERON, GINNETTE       ADDRESS ON FILE
AFANADOR RODRIGUEZ, ANA T        ADDRESS ON FILE
AFANADOR RODRIGUEZ, KELVIN       ADDRESS ON FILE
Afanador Rodriguez, Maria J      ADDRESS ON FILE
AFANADOR ROMERO, NANCY           ADDRESS ON FILE
AFANADOR ROMERO, NANCY           ADDRESS ON FILE
AFANADOR ROSADO, JANET           ADDRESS ON FILE
AFANADOR ROSARIO, PEDRO          ADDRESS ON FILE




                                                                                                     Page 114 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 115 of 3500
                                                                                                                      Creditor Matrix

Creditor Name                            Address1                                      Address2                                    Address3   Address4   City                State   PostalCode   Country
AFANADOR ROSARIO, ROSA                   ADDRESS ON FILE
AFANADOR RUIZ, ELADIO                    ADDRESS ON FILE
AFANADOR SALGADO, EDGARDO                ADDRESS ON FILE
AFANADOR SALGADO, FERNANDO               ADDRESS ON FILE
AFANADOR SOTO, ANGEL                     ADDRESS ON FILE
AFANADOR SOTO, DIGNA                     ADDRESS ON FILE
AFANADOR SOTO, MARTHA                    ADDRESS ON FILE
AFANADOR VAZQUEZ, EFRAIN                 ADDRESS ON FILE
AFANADOR VAZQUEZ, MARTIN                 ADDRESS ON FILE
AFANADOR VELEZ, ELIZABETH                ADDRESS ON FILE
AFANADOR VILLANUEVA, OMAR                ADDRESS ON FILE
AFANADOR, SHEILA                         ADDRESS ON FILE
AFANEH ARAJA, FATHI                      ADDRESS ON FILE
AFANEH ARAJA, JAMAL                      ADDRESS ON FILE
AFBA 5 STAR LIFE INSURANCE COMPANY       400 CALLE CALAF PMB 130                                                                                         SAN JUAN            PR      00918
AFBA 5 STAR LIFE INSURANCE COMPANY       CALLE FEDERICO COSTA #52                      URB. TRES MONJITAS                                                HATO REY            PR      00918
AFCOR INC                                URB GARDEN HLS                                Z20 CALLE HASTINGS                                                GUAYNABO            PR      00966‐2802
AFD CONTRACT FURNITURE                   TORRE CHARDON SUITE 250350, CHARDON AVE.                                                                        SAN JUAN            PR      00918‐0000
AFD CONTRACT FURNITURE INC               250 TORRE CHARDON                             AVE CHARDON SUITE 350                                             SAN JUAN            PR      00918
AFD CONTRACT FURNITURE OF P.R.           TORRE CHARDON STE. #250                       350 AVE. CHARDON                                                  SAN JUAN            PR      00918
AFD CONTRACT FURNITURE OF PUERTO RICO    TORRE CHARDON SUITE 250                       350 CHARDON AVENUE,                                               SAN JUAN            PR      00917‐3104
AFD CONTRACT FURNITURE OF PUERTO RICO IN TORRE CHARDON SUITE 250                       350 AVE CHARDON                                                   SAN JUAN            PR      00918
Affiliated FM Insurance Company          270 Central Avenue                            P.O. Box 7500                                                     Johnston            RI      02919‐4949
Affiliated FM Insurance Company          Attn: Jay Swiatek, Consumer Complaint Contact 270 Central Ave.                                                  Johnston            RI      02919
Affiliated FM Insurance Company          Attn: John Pomeroy, Vice President            270 Central Ave.                                                  Johnston            RI      02919
Affiliated FM Insurance Company          Attn: Nelson Wester, Vice President           270 Central Ave.                                                  Johnston            RI      02919
Affiliated FM Insurance Company          Attn: Shivan Subramaniam, President           270 Central Ave.                                                  Johnston            RI      02919
AFFORDABLE HOUSING CONSULTANTS INC       PO BOX 191691                                                                                                   SAN JUAN            PR      00919‐1691
AFK LEARNING CENTER INC                  HC 5 BOX 7512                                                                                                   GUAYNABO            PR      00970
AFORTUNADO SANTIAGO COLON                ADDRESS ON FILE
AFR ENERGY INC                           HC 4 BOX 53404                                                                                                  GUAYNABO            PR      00971
AFRICA SANTANA FELIZ                     ADDRESS ON FILE
AFRICA, RONALD                           ADDRESS ON FILE
AFS MANAGEMENT GROUP INC                 P O BOX 194673                                                                                                  SAN JUAN            PR      00919
AFZAL MD, AJAZ                           ADDRESS ON FILE
AFZAL MD, FIAT                           ADDRESS ON FILE
AG AGRO INC / INTEC SOLAR DE PUERTO RICO PO BOX 57                                                                                                       SALINAS             PR      00751
AG CONTRACTOR INC                        EST DE TORTUGUERO                             16 CALLE TAINO                                                    VEGA BAJA           PR      00693
AG CONTRACTORS                           MSC 223                                       100 BLVD LOS PASEOS STE 112                                       SAN JUAN            PR      00926
AG ENVIRONMENTAL PSC                     P O BOX 13753                                                                                                   SAN JUAN            PR      00908‐3753
AG SERVICE INC                           PO BOX 10000 PMB 241                                                                                            CAYEY               PR      00737
AGA CERTIFIED PUBLIC ACCOUNTANTS & ADVISO478 E ALTAMONTE DR STE 108                                                                                      ALTAMONTE SPRINGS   FL      32701‐4622
AGA GENERAL GASES                        PO BOX 363868                                                                                                   SAN JUAN            PR      00936‐3868
AGA LINDE HEALTHCARE                     PO BOX 364727                                                                                                   SAN JUAN            PR      00936‐4727
AGA LINDE HEALTHCARE PR INC              G P O BOX 364727                                                                                                SAN JUAN            PR      00936‐4727
AGA LINDE HEALTHCARE PR INC              PO BOX 364727                                                                                                   SAN JUAN            PR      00936‐4727
AGA LINDE HEALTHCARE PR INC              PO BOX 71491                                                                                                    SAN JUAN            PR      00936‐1491
AGA LINDE HEALTHCARE PUERTO RICO         CALLE CALAF #420                                                                                                HATO REY            PR      00918
AGA LINDE HEALTHCARE PUERTO RICO         GPO BOX 364727                                                                                                  SAN JUAN            PR      00918
AGA LINDE HEALTHCARE PUERTO RICO, INC.   PO BOX 364727                                                                                                   SAN JUAN            PR      00936‐4727
AGA SERVICE COMPANY                      9950 MYLAND DRIVE                                                                                               RICHMONT            VA      23233
AGAMEMNON GUS PANTEL                     ADDRESS ON FILE
AGAPE CATERERS                           ADDRESS ON FILE
AGAPITA ARROYO ROLDAN                    ADDRESS ON FILE
AGAPITA COLLAZO MERCADO                  ADDRESS ON FILE
AGAPITA MEDINA PICHARDO                  ADDRESS ON FILE
AGAPITO CUCUTA CARDONA                   LCDO. ANTONIO FAS PACHECO                     PO BOX 1098                                                       CABO ROJO           PR      00623
AGAPITO CUCUTA CARDONA                   LCDO. JUAN M. APONTE CASTRO                   5 CALLE LA CRUZ                                                   JUANA DÍAZ          PR      00795
AGAPITO CUCUTA CARDONA                   LCDO. SALVADOR RAMIREZ SEDA                   Apartado 2935                                                     MAYAGUEZ            PR      00681
AGAPITO RAMOS VELAZQUEZ                  ADDRESS ON FILE




                                                                                                                     Page 115 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 116 of 3500
                                                                                                                     Creditor Matrix

Creditor Name                            Address1                                   Address2                                      Address3           Address4   City         State   PostalCode   Country
AGAPITO RODRIGUEZ COSTA                  ADDRESS ON FILE
AGAPITO RODRIGUEZ PEREZ                  ADDRESS ON FILE
AGAPITO RUIZ VARGAS                      ADDRESS ON FILE
AGAPITO SALDANA RIVERA                   ADDRESS ON FILE
AGAPITO VILLEGAS CORTIJO                 ADDRESS ON FILE
AGAR MARQUEZ CRUZ/ FRESCA FLOWER         ADDRESS ON FILE
AGARDINO SANCHEZ ALLENDE                 ADDRESS ON FILE
AGATHIE LONGTIC KEYANTUO                 ADDRESS ON FILE
AGC STARTEGIC COMMUNICATIONS             74 AVE LOPATEGUI SUITE 300                                                                                             GUAYNABO     PR      00969‐3845
AGCS MARINE INS CO                       225 W WASHINGTON                           SUITE 1800                                                                  CHICAGO      IL      60606
AGCS MARINE INSURANCE COMPANY            225 W WASHINGTON ST STE 1800                                                                                           CHICAGO      IL      60606
AGCS Marine Insurance Company            225 West Washington Street Suite 1800                                                                                  Chicago      IL      60606‐3484
AGCS Marine Insurance Company            Attn: Arthur Moossmann, Jr., President     225 W. Washington St.                         Suite 1800                    Chicago      IL      60606
AGCS Marine Insurance Company            Attn: Julie Garrison, Vice President       225 W. Washington St.                         Suite 1800                    Chicago      IL      60606
AGDAM MALEKI, ARZHANG                    ADDRESS ON FILE
AGDEL Y MALDONADO TORRES                 ADDRESS ON FILE
AGDELL V. ALVAREZ                        ADDRESS ON FILE
AGDIA INC                                30380 COUNT ROADS 6                                                                                                    ELKART       IN      46514
AGELESS MEDICAL SUPPLY INC               CALLE SOL 36 SUITE 103                                                                                                 PONCE        PR      00730
AGELUIZ RODRIGUEZ, AURELIO               ADDRESS ON FILE
AGELVIS IBARRA, EDUARDO G                ADDRESS ON FILE
AGEN. ESTATAL MAN.D EMERG. Y ADM. D DESA ADDRESS ON FILE
AGENCIA COMPAS COMUNICACION Y PUBLICIDA PO BOX 9416                                                                                                             BAYAMON      PR      00960
AGENCIA E F E                            COBIAN PLAZA                               1607 AVE PONCE DE LEON STE 214                                              SAN JUAN     PR      00909
AGENCIA EFE                              PO BOX 11138                                                                                                           SAN JUAN     PR      00910
AGENCIA ESTATAL PARA MANEJO D EMERGENCIAAPARTADO 194140                                                                                                         SAN JUAN     PR      00919‐4140
AGENCIA ESTATAL PARA MANEJO D EMERGENCIAEDF TRES RIOS 117 AVE. ELEONOR ROOSELVELT                                                                               SAN JUAN     PR      00909
AGENCIA GUBERNAMENTAL                    ACUDEN‐ P.O. BOX 15091                     AVE. PONCE DE LEON, PDA.2                                                   SAN JUAN     PR      00902
AGENCIA GUBERNAMENTAL                    Adm. de Familias y Ninos                   P O Box 194090                                                              San Juan     PR      00919‐4090
AGENCIA GUBERNAMENTAL                    ADSEF‐500 ROBERTO H TOOD                   PARADA 18                                                                   SAN JUAN     PR      00910‐0800
AGENCIA GUBERNAMENTAL                    ADSEF‐P.O. BOX 8000                        DIST. DE ALIMENTOS PISO 5                                                   SAN JUAN     PR      00910‐0800
AGENCIA GUBERNAMENTAL                    ASG ‐ P.O. BOX 7428                                                                                                    SAN JUAN     PR      00916
AGENCIA GUBERNAMENTAL                    COMISION DESARROLLO COOPERATIVO            PO BOX 21408                                                                SAN JUAN     PR      00928‐1408
AGENCIA GUBERNAMENTAL                    DEPT SALUD‐COMISION PREV SUICIDIO          PO BOX 70184                                                                SAN JUAN     PR      00936
AGENCIA GUBERNAMENTAL                    Dept. Educacion‐ Educacion Especial        P O Box 190759                                                              Hato Rey     PR      00919‐0759
AGENCIA GUBERNAMENTAL                    Dept. Educ‐Adm. Escuelas Comunidad         P O Box 190759                                                              Hato Rey     PR      00919‐0759
AGENCIA GUBERNAMENTAL                    DEPTO RECREACION Y DEPORTES                PO BOX 9023207                                                              SAN JUAN     PR      00902‐3207
AGENCIA GUBERNAMENTAL                    P.O. BOX 7428                                                                                                          San Juan     PR      00903
AGENCIA GUBERNAMENTAL                    PO Box 2501                                                                                                            San Juan     PR      00903
AGENCIA GUBERNAMENTAL                    POP BOX 9023228                                                                                                        SAN JUAN     PR      00902‐3228
AGENCIA GUBERNAMENTAL                    SECRETARIO DE HACIENDA                     PO BOX 9024140                                                              SAN JUAN     PR      00902‐4140
AGENCIA GUBERNAMENTAL                    SECRETARIO DE HACIENDA                     DEUDA DE CONTRIBUCIONES OFIC424A          PO BOX 9024140                    SAN JUAN     PR      00902‐4140
                                                                                                                              TORRE NORTE AVE.
                                                                                                                              ARTERIAL HOSTOS 235,
AGENCIA GUBERNAMENTAL                      SECRETARIO DE HACIENDA                   SECC DESCUENTO DE SUELDO/EDIF. CAPITAL CENSUITE 1504                        SAN JUAN     PR      00918‐1454
AGENCIA GUBERNAMENTAL                      SENADO‐CTRO CUIDO CAPITOLIO              PO BOX 50071                                                                SAN JUAN     PR      00902
AGENCIA GUBERNAMENTAL                      SERV. IMPRENTA ‐ APARTADO 9072                                                                                       SAN JUAN     PR      00908
AGENCIA GUBERNAMENTAL                      TRIBUNAL PRIMERA INSTANCIA AIBONITO      P.O. BOX 1449                                                               AIBONITO     PR      00705‐1449
AGENCIA HIPICA 059 EL NUEVO MILLENIUM      VILLA UNIVERSITARIA                      B13 CALLE 6                                                                 HUMACAO      PR      00791‐4318
AGENCIA SERVICIOS SOCIALES PENTECOSTALES   P.O. BOX 9830 COTTO STATION                                                                                          ARECIBO      PR      00613‐0000
AGENCIAS GUBERNAMENTALES                   116 CALLE CAROLINA                       BO SABALOS                                                                  MAYAG_EZ     PR      00680
AGENCIAS GUBERNAMENTALES                   116 CALLE CAROLINA                       BO SABALOS                                                                  MAYAGÜEZ     PR      00680
AGENCIAS GUBERNAMENTALES                   122 AVE LAS NEREIDAS                                                                                                 CATAðO       PR      00962
AGENCIAS GUBERNAMENTALES                   122 AVE LAS NEREIDAS                                                                                                 CATANO       PR      00962
AGENCIAS GUBERNAMENTALES                   139 AVE CARLOS CHARDON                                                                                               SAN JUAN     PR      00918
AGENCIAS GUBERNAMENTALES                   150 AVE DELA CONSTITUCION STE 2                                                                                      SAN JUAN     PR      00901‐2101
AGENCIAS GUBERNAMENTALES                   155 AVE BARBOSA                                                                                                      SAN JUAN     PR      00917
AGENCIAS GUBERNAMENTALES                   2 CALLE CEMENTERIO                                                                                                   JAYUYA       PR      00664
AGENCIAS GUBERNAMENTALES                   254 CAPETILLO                            C/ PADRE COLON Y PADRES CAPUCHINO                                           SAN JUAN     PR      00923
AGENCIAS GUBERNAMENTALES                   383 AVE F D ROOSEVELT                    SUITE 107                                                                   SAN JUAN     PR      00918‐2143




                                                                                                                Page 116 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 117 of 3500
                                                                                              Creditor Matrix

Creditor Name              Address1                              Address2                                  Address3               Address4   City            State   PostalCode   Country
AGENCIAS GUBERNAMENTALES   3ER PISO CENTRO DE GOBIERNO           P O BOX 686                                                                 CABO ROJO       PR      00623
AGENCIAS GUBERNAMENTALES   400 AVE AMERICO MIRANDA                                                                                           SAN JUAN        PR      00926
AGENCIAS GUBERNAMENTALES   500 ROBERTO H TODD                    PARADA 18                                                                   SAN JUAN        PR      00910‐0800
AGENCIAS GUBERNAMENTALES   505 EDIF PRUDENCIO RIVERA MARTINEZ                                                                                SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   551 ESTANCIA DEL RIO PORTUGUES                                                                                    HORMIGUEROS     PR      00660
AGENCIAS GUBERNAMENTALES   602 AVE BARBOSA                                                                                                   SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   635 AVE FERNANDEZ JUNCOS                                                                                          SAN JUAN        PR      00907
AGENCIAS GUBERNAMENTALES   ACUDEN P O BOX 15091                  AVE PONCE DE LEON PDA 2                                                     SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   ADM DE CORRECCION                     DIV DE PAGADURIA                                                            SAN JUAN        PR      00902‐4140
AGENCIAS GUBERNAMENTALES   APARTADO 11398                                                                                                    SAN JUAN        PR      00910‐1398
AGENCIAS GUBERNAMENTALES   APARTADO 920                                                                                                      QUEBRADILLA     PR      00678
AGENCIAS GUBERNAMENTALES   AREA DE TESORO                        CONTABILIDAD DE INGRESO                                                     SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   AREA DEL TESORO                       CONTADURIA GENERAL                                                          SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                                   SAN JUAN        PR      00902‐4140
AGENCIAS GUBERNAMENTALES   AVE DE LA CONSTITUCION 150 STE 2                                                                                  SAN JUAN        PR      00901‐2101
AGENCIAS GUBERNAMENTALES   AVE TITO CASTRO                       609 SUITE 102 PMB 477                                                       PONCE           PR      00716‐2232
AGENCIAS GUBERNAMENTALES   BO LA CEIBA                           CARR 331 KM 1‐7                                                             FLORIDA         PR      00650
AGENCIAS GUBERNAMENTALES   C/O ISABEL RODRIGUEZ BONET            PO BOX 190917                                                               SAN JUAN        PR      00919
AGENCIAS GUBERNAMENTALES   C/O MARTA BETANCOURT                  DEPTO. CORRECCION                         PO BOX 71308                      SAN JUAN        PR      00928‐0086
AGENCIAS GUBERNAMENTALES   CALLE LIMA ESQ HAYDEE REXACH                                                                                      SAN JUAN        PR      00915

AGENCIAS GUBERNAMENTALES   CAMARA DE REPRESENTANTES              AREA DEL TESORO                           CONTADURIA GENERAL                SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   CARR 14 AVE TITO CASTRO                                                                                           PONCE           PR      00731
AGENCIAS GUBERNAMENTALES   CARR 456 BOX CIBAO                                                                                                CAMUY           PR      00627

AGENCIAS GUBERNAMENTALES   CENTRO DE APRENDIZAJE VILLALBA        AREA DEL TESORO                           CONTADURIA GENERAL                SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   CENTRO DE CUIDO CAPITOLIO             PO BOX 50071                                                                SAN JUAN        PR      00902

AGENCIAS GUBERNAMENTALES   CENTRO DE EDUCACION Y TERAPIA         AREA DEL TESORO                           CONTADURIA GENERAL                SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   CENTRO GUBERNAMENTAL DE MAYAGUEZ                                                                                  MAYAGUEZ        PR      00680
AGENCIAS GUBERNAMENTALES   COMISION APELATIVA DEL SERV PUBLICO   PO BOX 41149                                                                SAN JUAN        PR      00940‐1149

AGENCIAS GUBERNAMENTALES   COMUNIDADES ESPECIALES                AREA DEL TESORO                           CONTADURIA GENERAL                SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   COND EL CENTRO 1                      500 MUNOZ RIVERA OFIC 211                                                   SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   CONGRESO NUESTROS NI¥OS PRIMEROS      P O BOX 82                                                                  SAN JUAN        PR      00901
AGENCIAS GUBERNAMENTALES   CONGRESO NUESTROS NIÐOS PRIMEROS      P O BOX 82                                                                  SAN JUAN        PR      00901
AGENCIAS GUBERNAMENTALES   CUERPO DE BOMBEROS                    PO BOX 13325                                                                SAN JUAN        PR      00908‐3325
AGENCIAS GUBERNAMENTALES   DEPARTAMENTO DE HACIENDA              FINANZAS DEPARTAMENTALES                                                    SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   DEPARTAMENTO DE SALUD                 PO BOX 70184                                                                SAN JUAN        PR      00936‐8184
AGENCIAS GUBERNAMENTALES   DEPT DE CORRECCION                    PO BOX 71308                                                                SAN JUAN        PR      00936
AGENCIAS GUBERNAMENTALES   DEPT DE JUSTICIA                      PO BOX 9020192                                                              SAN JUAN        PR      00902‐0192
AGENCIAS GUBERNAMENTALES   DEPT DE LA FAMILIA                    PO BOX 8000                                                                 SAN JUAN        PR      00910‐0800
AGENCIAS GUBERNAMENTALES   DEPT DE SALUD OFC FINANZAS            PO BOX 70184                                                                SAN JUAN        PR      00936‐8184

AGENCIAS GUBERNAMENTALES   DEPT DEL TRABAJO Y REC. HUMANOS       EDIF PRUDENCIO RIVERA MARTINEZ            505 AVE MUNOZ RIVERA              SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   DEPT EDUCACION                        PO BOX 190759                                                               SAN JUAN        PR      00919‐0759
AGENCIAS GUBERNAMENTALES   DEPT TRABAJO(SEGURO CHOFERIL)         PO BOX 195540                                                               SAN JUAN        PR      00001

AGENCIAS GUBERNAMENTALES   DEPTO DE AGRICULTURA                  AREA DEL TESORO                           CONTADURIA GENERAL                SAN JUAN        PR      00902
AGENCIAS GUBERNAMENTALES   DEPTO DE SALUD C P T E T              PO BOX 70184                                                                SAN JUAN        PR      00936‐8184
AGENCIAS GUBERNAMENTALES   DEPTO DES ECONOMICO Y COMERCIO        PO BOX 362350                                                               SAN JUAN        PR      00936‐2350
AGENCIAS GUBERNAMENTALES   DEPTO. CORRECCION Y REHABILITACION    PO BOX 71308                                                                SAN JUAN        PR      00936‐8408
AGENCIAS GUBERNAMENTALES   DIVISION LEGAL PTO RICO OSHA          P O BOX 71592                                                               SAN JUAN        PR      00936‐8692
AGENCIAS GUBERNAMENTALES   DPTO DEL TRABAJO Y RHUM               505 MUðOZ RIVERA                                                            SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   DPTO DEL TRABAJO Y RHUM               505 MUNOZ RIVERA                                                            SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   DPTO. RECURSOS NATURALES              P.O. BOX 366147                                                             SAN JUAN        PR      00936
AGENCIAS GUBERNAMENTALES   EDIF PRUDENCIO RIVERA MARTINEZ        505 AVE MUNOZ RIVERA                                                        SAN JUAN        PR      00918
AGENCIAS GUBERNAMENTALES   EDIF PRUDENCIO RIVERA MARTINEZ        505 AVE MU¥OZ RIVERA                                                        SAN JUAN        PR      00917

AGENCIAS GUBERNAMENTALES   ESC GERARDO SELLES SOLA/RAYSA         AREA DEL TESORO                           CONTADURIA GENERAL                SAN JUAN        PR      00902




                                                                                             Page 117 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 118 of 3500
                                                                                               Creditor Matrix

Creditor Name              Address1                            Address2                                     Address3             Address4   City              State   PostalCode   Country

AGENCIAS GUBERNAMENTALES   ESC. BERWIND SUPERIOR               AREA DEL TESORO                              CONTADURIA GENERAL              SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   ESCUELA INTEMERDIA VILLA GRANADA    DEPARTAMENTO DE HACIENDA                     AREA DEL TESORO                 SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   EST MINILLAS APTO 41179                                                                                          SAN JUAN          PR      00940‐1179
AGENCIAS GUBERNAMENTALES   FDZ JUNCOS STATION                  P O BOX 8476                                                                 SAN JUAN          PR      00910
AGENCIAS GUBERNAMENTALES   GREENFIELD CORPORATE CENTER         1858 CHARTER LANE SUITE 103                                                  LARCASTER         PA      17604‐8080
AGENCIAS GUBERNAMENTALES   HOSTOS CAPITAL CENTER TORRE NORTE   235 ARTERIAL SUITE 1001                                                      SAN JUAN          PR      00918‐1453
AGENCIAS GUBERNAMENTALES   Intendente Ramirez                                                                                               San Juan          PR      00924
AGENCIAS GUBERNAMENTALES   JTA APELACIONES Y LOTIFICACION      PO BOX 41118 MINILLAS STATION                                                SAN JUAN          PR      00940‐1118
AGENCIAS GUBERNAMENTALES   MAYAGUEZ                                                                                                         MAYAGUEZ          PR      00681‐8019
AGENCIAS GUBERNAMENTALES   MINILLA STATION                     PO BOX 41269                                                                 SAN JUAN          PR      00940‐1269
AGENCIAS GUBERNAMENTALES   MINILLA STATION                     PO BOX 42003                                                                 SAN JUAN          PR      00940
AGENCIAS GUBERNAMENTALES   NATIONAL PAYMENT CENTER             PO BOX 4142                                                                  GREENVILLE        TX      75403‐4142
AGENCIAS GUBERNAMENTALES   OBRAS PUBLICAS                      PO BOX 41269                                                                 SAN JUAN          PR      00940‐1269
AGENCIAS GUBERNAMENTALES   OFIC DE LA GOBERNADORA              PO BOX 9020082                                                               SAN JUAN          PR      00902 0082
AGENCIAS GUBERNAMENTALES   OFICINA DE SERVICIO AL CIUDADANO    PO BOX 50071                                                                 SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   OFICINA DEL GAR                     PO BOX 194140                                                                SAN JUAN          PR      00919‐4140
AGENCIAS GUBERNAMENTALES   OLD SAN JUAN                        PO BOX 50063                                                                 SAN JUAN          PR      00902

AGENCIAS GUBERNAMENTALES   OPG                                 AREA DEL TESORO                              CONTADURIA GENERAL              SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   P O BOX 29086                                                                                                    SAN JUAN          PR      00929‐0087
AGENCIAS GUBERNAMENTALES   P O BOX 330871                                                                                                   PONCE             PR      00733‐0871
AGENCIAS GUBERNAMENTALES   P O BOX 11398                                                                                                    SAN JUAN          PR      00910‐1398
AGENCIAS GUBERNAMENTALES   P O BOX 11488                                                                                                    SAN JUAN          PR      00910 1188
AGENCIAS GUBERNAMENTALES   P O BOX 11737                                                                                                    SAN JUAN          PR      00910‐1737
AGENCIAS GUBERNAMENTALES   P O BOX 11855                       ESTACION FERNANDEZ JUNCOZ                                                    SAN JUAN          PR      00910
AGENCIAS GUBERNAMENTALES   P O BOX 13325                                                                                                    SAN JUAN          PR      00908‐3325
AGENCIAS GUBERNAMENTALES   P O BOX 15091                                                                                                    SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   P O BOX 190759                                                                                                   SAN JUAN          PR      00919 0759
AGENCIAS GUBERNAMENTALES   P O BOX 191067                                                                                                   SAN JUAN          PR      00919 1067
AGENCIAS GUBERNAMENTALES   P O BOX 191599                                                                                                   SAN JUAN          PR      00919‐1599
AGENCIAS GUBERNAMENTALES   P O BOX 191749                                                                                                   SAN JUAN          PR      00919‐1749
AGENCIAS GUBERNAMENTALES   P O BOX 195552                                                                                                   SAN JUAN          PR      00919‐5552
AGENCIAS GUBERNAMENTALES   P O BOX 2089                                                                                                     SAN JUAN          PR      00902 2089
AGENCIAS GUBERNAMENTALES   P O BOX 2197                                                                                                     VEGA ALTA         PR      00692
AGENCIAS GUBERNAMENTALES   P O BOX 362350                                                                                                   SAN JUAN          PR      00936‐2350
AGENCIAS GUBERNAMENTALES   P O BOX 40945                                                                                                    SAN JUAN          PR      00940
AGENCIAS GUBERNAMENTALES   P O BOX 41179                                                                                                    SAN JUAN          PR      00940‐1179
AGENCIAS GUBERNAMENTALES   P O BOX 4261                                                                                                     SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   P O BOX 5887                                                                                                     SAN JUAN          PR      00906
AGENCIAS GUBERNAMENTALES   P O BOX 7428                                                                                                     SAN JUAN          PR      00916
AGENCIAS GUBERNAMENTALES   P O BOX 9020082                     LA FORTALEZA                                                                 SAN JUAN          PR      00902‐8357
AGENCIAS GUBERNAMENTALES   P O BOX 9023207                                                                                                  SAN JUAN          PR      00902‐3207
AGENCIAS GUBERNAMENTALES   P O BOX 9024140                                                                                                  SAN JUAN          PR      00902‐4140
AGENCIAS GUBERNAMENTALES   P O BOX 9024184                                                                                                  SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   PARQUES NACIONALES DE PUERTO RICO   PO BOX 1085                                                                  MAYAGUEZ          PR      00681
AGENCIAS GUBERNAMENTALES   PDA 20 AVE PONCE DE LEON            1409 EDIF CEM PISO 6                                                         SAN JUAN          PR      00908
                                                                                                            OFICINA DE LA
AGENCIAS GUBERNAMENTALES   PLANTAS TROPICALES DE PR            C/O PEDRO A RAMOS ROSADO                     GOBERNADORA                     SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   PMB 152                             100 GRAND PASEO BLVD STE 112                                                 SAN JUAN          PR      00926
AGENCIAS GUBERNAMENTALES   PMB 356                             B5 CALLE TABONUCO STE 216                                                    GUAYNABO          PR      00968‐3029
AGENCIAS GUBERNAMENTALES   PMB 368                             PO BOX 2500                                                                  TRUJILLO ALTO     PR      00977‐2500
AGENCIAS GUBERNAMENTALES   PO BOX 10000 SUITE 272                                                                                           CANOVANAS         PR      00724‐0000
AGENCIAS GUBERNAMENTALES   PO BOX 10163                                                                                                     SAN JUAN          PR      00902
AGENCIAS GUBERNAMENTALES   PO BOX 1085                                                                                                      MAYAGUEZ          PR      00681
AGENCIAS GUBERNAMENTALES   PO BOX 1091                                                                                                      MANATI            PR      00674
AGENCIAS GUBERNAMENTALES   PO BOX 11382                                                                                                     SAN JUAN          PR      00910
AGENCIAS GUBERNAMENTALES   PO BOX 1407                                                                                                      AðASCO            PR      00610
AGENCIAS GUBERNAMENTALES   PO BOX 1407                                                                                                      ANASCO            PR      00610
AGENCIAS GUBERNAMENTALES   PO BOX 1757                                                                                                      YABUCOA           PR      00767




                                                                                              Page 118 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 119 of 3500
                                                                                             Creditor Matrix

Creditor Name              Address1                          Address2                                     Address3   Address4   City             State   PostalCode   Country
AGENCIAS GUBERNAMENTALES   PO BOX 180908                                                                                        SAN JUAN         PR      00919‐0909
AGENCIAS GUBERNAMENTALES   PO BOX 194090                                                                                        SAN JUAN         PR      00919‐4090
AGENCIAS GUBERNAMENTALES   PO BOX 2115                                                                                          OROCOVIS         PR      00720
AGENCIAS GUBERNAMENTALES   PO BOX 21365                                                                                         SAN JUAN         PR      00928
AGENCIAS GUBERNAMENTALES   PO BOX 21414                                                                                         SAN JUAN         PR      00928‐1414
AGENCIAS GUBERNAMENTALES   PO BOX 2161                                                                                          SAN JUAN         PR      00922‐2161
AGENCIAS GUBERNAMENTALES   PO BOX 21837                                                                                         SAN JUAN         PR      00931
AGENCIAS GUBERNAMENTALES   PO BOX 2396                                                                                          SAN JUAN         PR      00908‐9326
AGENCIAS GUBERNAMENTALES   PO BOX 250296                                                                                        AGUADILLA        PR      00604
AGENCIAS GUBERNAMENTALES   PO BOX 287                                                                                           SAINT JUST       PR      00978
AGENCIAS GUBERNAMENTALES   PO BOX 29272                                                                                         SAN JUAN         PR      00929‐0272
AGENCIAS GUBERNAMENTALES   PO BOX 3502                       BOX 155 B                                                          JUANA DIAZ       PR      00795
AGENCIAS GUBERNAMENTALES   PO BOX 3502 SUITE 155                                                                                JUANA DIAZ       PR      00795
AGENCIAS GUBERNAMENTALES   PO BOX 363088                                                                                        SAN JUAN         PR      00936‐3088
AGENCIAS GUBERNAMENTALES   PO BOX 364527                                                                                        SAN JUAN         PR      00936‐4527
AGENCIAS GUBERNAMENTALES   PO BOX 3786                                                                                          SAN JUAN         PR      00902‐3786
AGENCIAS GUBERNAMENTALES   PO BOX 40285                                                                                         SAN JUAN         PR      00940
AGENCIAS GUBERNAMENTALES   PO BOX 41118                                                                                         SAN JUAN         PR      00940‐1118
AGENCIAS GUBERNAMENTALES   PO BOX 41119                                                                                         SAN JUAN         PR      00940‐1119
AGENCIAS GUBERNAMENTALES   PO BOX 4119                                                                                          SAN JUAN         PR      00940‐1149
AGENCIAS GUBERNAMENTALES   PO BOX 41269                                                                                         SAN JUAN         PR      00940‐1269
AGENCIAS GUBERNAMENTALES   PO BOX 425                                                                                           BAYAMON          PR      00961
AGENCIAS GUBERNAMENTALES   PO BOX 491                                                                                           CAGUAS           PR      00726‐0491
AGENCIAS GUBERNAMENTALES   PO BOX 50071                                                                                         SAN JUAN         PR      00902‐6271
AGENCIAS GUBERNAMENTALES   PO BOX 5127                                                                                          SAN JUAN         PR      00906
AGENCIAS GUBERNAMENTALES   PO BOX 552                                                                                           COROZAL          PR      00783
AGENCIAS GUBERNAMENTALES   PO BOX 668                                                                                           BARCELONETA      PR      00617
AGENCIAS GUBERNAMENTALES   PO BOX 70166                                                                                         SAN JUAN         PR      00936‐8166
AGENCIAS GUBERNAMENTALES   PO BOX 70184                                                                                         SAN JUAN         PR      00936‐8184
AGENCIAS GUBERNAMENTALES   PO BOX 71308                                                                                         SAN JUAN         PR      00936
AGENCIAS GUBERNAMENTALES   PO BOX 71592                                                                                         SAN JUAN         PR      00936‐8692
AGENCIAS GUBERNAMENTALES   PO BOX 8000                       DIST DE ALIMENTOS PISO 5                                           SAN JUAN         PR      00910‐0800
AGENCIAS GUBERNAMENTALES   PO BOX 8476                                                                                          SAN JUAN         PR      00910‐8476
AGENCIAS GUBERNAMENTALES   PO BOX 9020082                                                                                       SAN JUAN         PR      00902‐0082
AGENCIAS GUBERNAMENTALES   PO BOX 9023228                                                                                       SAN JUAN         PR      00902‐3228
AGENCIAS GUBERNAMENTALES   PO BOX 9023271                                                                                       SAN JUAN         PR      00902‐3271
AGENCIAS GUBERNAMENTALES   PO BOX 9023434                                                                                       SAN JUAN         PR      00902‐3434
AGENCIAS GUBERNAMENTALES   PO BOX 9023990                                                                                       SAN JUAN         PR      00902‐3990
AGENCIAS GUBERNAMENTALES   PO BOX 9024275                                                                                       SAN JUAN         PR      00902‐4275
AGENCIAS GUBERNAMENTALES   PO BOX 9066581                                                                                       SAN JUAN         PR      00906‐6581
AGENCIAS GUBERNAMENTALES   PO BOX 9066597                                                                                       SAN JUAN         PR      00906‐6597
AGENCIAS GUBERNAMENTALES   PO BOX 9072                                                                                          SAN JUAN         PR      00908‐9072
AGENCIAS GUBERNAMENTALES   PO BOX 9200                                                                                          SAN JUAN         PR      00908‐0200
AGENCIAS GUBERNAMENTALES   PUERTA DE TIERRA                  PO BOX 9066600                                                     SAN JUAN         PR      00906 6600
AGENCIAS GUBERNAMENTALES   PUNTA LAS MARIAS                  2432 CALLE LOIZA                                                   SAN JUAN         PR      00914
AGENCIAS GUBERNAMENTALES   RES GUARIONEX                     EDIF E APT 33                                                      QUEBRADILLAS     PR      00678
AGENCIAS GUBERNAMENTALES   SALA DE HUMACAO                   PO BOX 885                                                         HUMACAO          PR      0007920885
AGENCIAS GUBERNAMENTALES   SANTA JUANITA                     100 AVE LAUREL                                                     BAYAMON          PR      00956
AGENCIAS GUBERNAMENTALES   SECRETARIO DE HACIENDA            DIVISION DE PAGUDURIA                                              SAN JUAN         PR      00902
AGENCIAS GUBERNAMENTALES   SECRETARIO DEL TRABAJO            PO BOX 195540                                                      SAN JUAN         PR      00919
AGENCIAS GUBERNAMENTALES   SEGURO CHOFERIL NEG SEG EMPLEO    505 AVE MUNOZ RIVERA                                               SAN JUAN         PR      00918
AGENCIAS GUBERNAMENTALES   SEGURO SOCIAL CHOFERIL            AREA TESORO‐DIV DE RECLAMACIONES                                   SAN JUAN         PR      00902‐4140
AGENCIAS GUBERNAMENTALES   SEGURO SOCIAL CHOFERIL            OFICINA OMBUSMAN                                                   SAN JUAN         PR      00910‐1382
AGENCIAS GUBERNAMENTALES   ULTIMO TROLEY                     2100 CALLE LOIZA FINAL                                             SAN JUAN         PR      00914
AGENCIAS GUBERNAMENTALES   UPR EXT POSTAL CUA 100 CARR 908                                                                      HUMACAO          PR      00791
AGENCIAS GUBERNAMENTALES   URB EL VEDADO                     115 CALLE ELEONOR ROOSVELT C                                       SAN JUAN         PR      00918
AGENCIAS GUBERNAMENTALES   URB MORELL CAMPOS                 9 CALLE VIVA LA PEPA                                               PONCE            PR      00732
AGENCIAS GUBERNAMENTALES   URB SANTA JUANITA                 100 AVE LAUREL                                                     BAYAMON          PR      00956
AGENCIAS GUBERNAMENTALES   URB VILLA HUMACAO                 250 CALLE 6                                                        HUMACAO          PR      00791
AGENCIAS GUBERNAMENTALES   URB VILLA NEVAREZ                 20 CALLE 19                                                        SAN JUAN         PR      00927




                                                                                            Page 119 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 120 of 3500
                                                                                                               Creditor Matrix

Creditor Name                            Address1                             Address2                                      Address3   Address4   City           State   PostalCode   Country
AGENCY OR SPECIAL GROUP                  URB MUNOZ RIVERA                     53 AVE ESMERALDA PMB 169                                            GUAYNABO       PR      00969
AGENJO LAUREANO, LUZ M.                  ADDRESS ON FILE
AGENJO LAUREANO, MARIA                   ADDRESS ON FILE
AGENJO LAUREANO, MARIA D                 ADDRESS ON FILE
AGENTES Y CONSULTORES, INC               CALLE COSTA AZUL , CH # 2                                                                                DORADO         PR      00646
AGESILAS, MARIE                          ADDRESS ON FILE
AGESTA HERNANDEZ, DAMARIS                ADDRESS ON FILE
AGF LUZ CORREA BERMUDEZ / MYRTA IRIZARRY ADDRESS ON FILE
AGG INVESTMENT CORPORATION               BANCO POPULAR DE PR PO BOX 362708    ATT CBC RIO PIEDRAS CLAVE 735                                       SAN JUAN       PR      00936‐2708
AGGA ENGINEERING PSC                     PO BOX 13753                                                                                             SAN JUAN       PR      00908‐3753
AGGREKO                                  P O BOX 364861                                                                                           SAN JUAN       PR      00936‐4861
AGILE RATIO LLC                          C‐14 CARR 869                                                                                            CATANO         PR      00962
AGILENT TECHNOLOGIES INTER‐AMERICAS, INC 644 AVE FERNANDEZ JUNCOS SUITE 301                                                                       SAN JUAN       PR      00907
AGILITY LOGISTICS CORP                   310 COMMERCE SUITE 250                                                                                   IRVINE         CA      92602
AGIS                                     EDIFICIO REFORMA 10                  9‐55 AVE REFORMA ZONA 10 STE 905                                    GUATEMALA      PR      01007
AGIS ALVAREZ, INGRID                     ADDRESS ON FILE
AGIS LOPEZ, IVAN                         ADDRESS ON FILE
AGLAE MANTANES RIVERA                    ADDRESS ON FILE
AGLAITZA TORRES REYES                    ADDRESS ON FILE
AGLAITZA TORRES REYES                    ADDRESS ON FILE
AGLAMER MOLINA MUNIZ                     ADDRESS ON FILE
AGLAMER MOLINA MUNIZ                     ADDRESS ON FILE
AGLEROT VILA, JOSE M                     ADDRESS ON FILE
AGLIMAR NEGRON SANTIAGO                  ADDRESS ON FILE
AGM LAND AND HOME DEVELOPMENT INC        PASEO LOS CORALES I                  550 MAR CARIBE                                                      DORADO         PR      00646
AGNE MARIE VELEZ HERNANDEZ               ADDRESS ON FILE
AGNEL ROJAS ALBINO                       ADDRESS ON FILE
AGNEL RUIZ CORREA                        ADDRESS ON FILE
AGNERIS C VALENTIN ALVAREZ               ADDRESS ON FILE
AGNERIS DIAZ DIAZ                        ADDRESS ON FILE
AGNERIS N. CARDONA NEGRON                ADDRESS ON FILE
AGNERYS RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
AGNES A MUNOZ REYES                      ADDRESS ON FILE
AGNES A SEGUINOT MARTINEZ                ADDRESS ON FILE
AGNES A. RODRIGUEZ PAGAN                 ADDRESS ON FILE
AGNES APONTE                             ADDRESS ON FILE
AGNES BERMUDEZ ACEVEDO                   ADDRESS ON FILE
AGNES D TORO RUIZ                        ADDRESS ON FILE
AGNES DIAZ RIVERA                        ADDRESS ON FILE
AGNES E APONTE MUNOZ                     ADDRESS ON FILE
AGNES E NIELSEN Y/O MIGUEL A ROSARIO     ADDRESS ON FILE
AGNES E RIVERA MANGUAL                   ADDRESS ON FILE
AGNES F MEDINA FUENTES                   ADDRESS ON FILE
AGNES I CRUZ GUIBE                       ADDRESS ON FILE
AGNES I ORTIZ OXIO                       ADDRESS ON FILE
AGNES I POVENTUD MC DOUGALL              ADDRESS ON FILE
AGNES I. GONZALEZ FIGUEROA               ADDRESS ON FILE
AGNES M PIETRI FIGUEROA                  ADDRESS ON FILE
AGNES M RIVERA RUBIO                     ADDRESS ON FILE
AGNES MATOS ORTIZ                        ADDRESS ON FILE
AGNES MUNOZ GUARDIOLA                    ADDRESS ON FILE
AGNES ONEILL MARTINEZ                    ADDRESS ON FILE
AGNES PADILLA TORRES                     ADDRESS ON FILE
AGNES QUINONEZ FIGUEROA                  P O BOX 1480                                                                                             RIO GRANDE     PR      00745
AGNES R VELEZ MEDINA                     ADDRESS ON FILE
AGNES RIVERA CASIANO                     ADDRESS ON FILE
AGNES RIVERA RUÍZ                        ADDRESS ON FILE
AGNES S. DIAZ RIVERA                     ADDRESS ON FILE
AGNES SAMALOT GONZALEZ                   ADDRESS ON FILE
AGNES SANCHEZ SUAREZ                     ADDRESS ON FILE




                                                                                                              Page 120 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 121 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGNES VAZQUEZ BETANCOURT         ADDRESS ON FILE
AGNES Y OROZCO CHESTARY          ADDRESS ON FILE
AGNES Y QUINONES FIGUEROA        ADDRESS ON FILE
AGNES Y ROSEDO RUIZ              ADDRESS ON FILE
AGNEW MEDERO, KENNETH            ADDRESS ON FILE
AGORA INDOOR AIR QUALITY CO      PO BOX 234                                                                       PONCE        PR      00732‐2234
AGOSTA FELIX, MIGUEL A           ADDRESS ON FILE
AGOSTINI ALICEA, MANUEL          ADDRESS ON FILE
AGOSTINI AVILES, EDITH           ADDRESS ON FILE
AGOSTINI BERRIOS, JOSE F         ADDRESS ON FILE
AGOSTINI BRIGANTI, ANDRE         ADDRESS ON FILE
AGOSTINI CAMPOS, MICHELLE        ADDRESS ON FILE
AGOSTINI CHAMORRO, RAUL J.       ADDRESS ON FILE
AGOSTINI CISCO, MARTINA          ADDRESS ON FILE
AGOSTINI CISCO, MARTINA          ADDRESS ON FILE
AGOSTINI FELICIANO, SONIA        ADDRESS ON FILE
AGOSTINI GARCIA, RAMONA          ADDRESS ON FILE
AGOSTINI GONZALEZ, DOMINICK      ADDRESS ON FILE
AGOSTINI HERNANDEZ, ADAN         ADDRESS ON FILE
AGOSTINI HERNANDEZ, CARMEN       ADDRESS ON FILE
AGOSTINI HERNANDEZ, JACQUELINE   ADDRESS ON FILE
AGOSTINI HERNANDEZ, JUAN A       ADDRESS ON FILE
AGOSTINI HERNANDEZ, MARIBEL      ADDRESS ON FILE
AGOSTINI MARTINEZ MD, LUIS D     ADDRESS ON FILE
Agostini Melendez, Harvey A      ADDRESS ON FILE
AGOSTINI MERCED, LUIS            ADDRESS ON FILE
AGOSTINI MIRANDA, FRANCISCO      ADDRESS ON FILE
AGOSTINI MIRANDA, GLENDA I       ADDRESS ON FILE
Agostini Miranda, Lizvette M.    ADDRESS ON FILE
AGOSTINI ORTIZ, ARIEL            ADDRESS ON FILE
AGOSTINI ORTIZ, VIVIAN M         ADDRESS ON FILE
AGOSTINI OTERO, LUCY             ADDRESS ON FILE
AGOSTINI PEREIRA, MILAGROS       ADDRESS ON FILE
Agostini Perez, Miguel           ADDRESS ON FILE
AGOSTINI PIETRI, JULIA T.        ADDRESS ON FILE
AGOSTINI PROSPER, JORGE          ADDRESS ON FILE
AGOSTINI RAMOS, ROBERTO          ADDRESS ON FILE
AGOSTINI RAMOS, ROBERTO R.       ADDRESS ON FILE
Agostini Reyes, Carlo A.         ADDRESS ON FILE
Agostini Reyes, Mariel           ADDRESS ON FILE
AGOSTINI REYES, NILDA            ADDRESS ON FILE
AGOSTINI RIOS, JESUS             ADDRESS ON FILE
AGOSTINI RIVERA, CARMEN          ADDRESS ON FILE
AGOSTINI RIVERA, INAYS           ADDRESS ON FILE
AGOSTINI RIVERA, JOSEPH          ADDRESS ON FILE
Agostini Rodriguez, Ariel        ADDRESS ON FILE
AGOSTINI RODRIGUEZ, EVELYN       ADDRESS ON FILE
AGOSTINI RODRIGUEZ, JOSE F       ADDRESS ON FILE
AGOSTINI RUIZ, ALEXANDRA         ADDRESS ON FILE
AGOSTINI SANCHEZ, CORNELIA       ADDRESS ON FILE
AGOSTINI SANTIAGO, MILDRED       ADDRESS ON FILE
AGOSTINI SEPULVEDA, EMILIO       ADDRESS ON FILE
AGOSTINI VEGA, ADAMARIS          ADDRESS ON FILE
AGOSTINI VELAZQUEZ, LINA         ADDRESS ON FILE
AGOSTINI, PEDRO L                ADDRESS ON FILE
AGOSTINI, PEDRO L                ADDRESS ON FILE
Agosto Burgos, Adalberto         ADDRESS ON FILE
Agosto Acosta, Daisy I           ADDRESS ON FILE
AGOSTO ACOSTA, DAVIANY           ADDRESS ON FILE
AGOSTO ADORNO, CARMEN M          ADDRESS ON FILE




                                                                             Page 121 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 122 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO ADORNO, DAVID          ADDRESS ON FILE
AGOSTO ADORNO, JEYSON         ADDRESS ON FILE
AGOSTO ADORNO, RUBEN          ADDRESS ON FILE
Agosto Agosto, Carmelo        ADDRESS ON FILE
AGOSTO AGOSTO, HECTOR         ADDRESS ON FILE
AGOSTO AGOSTO, JULIO          ADDRESS ON FILE
AGOSTO AGOSTO, MANUEL DE      ADDRESS ON FILE
AGOSTO AGOSTO, OLGA L         ADDRESS ON FILE
AGOSTO AGOSTO, YOSANIE        ADDRESS ON FILE
AGOSTO ALAMO, JESUS           ADDRESS ON FILE
AGOSTO ALBERIO, MICHEL        ADDRESS ON FILE
Agosto Albisuri, Sonia I.     ADDRESS ON FILE
AGOSTO ALEJANDRO, DANIEL      ADDRESS ON FILE
AGOSTO ALEJANDRO, DANIEL      ADDRESS ON FILE
AGOSTO ALFONSO, XILEF L.      ADDRESS ON FILE
AGOSTO ALGARIN, FELIX         ADDRESS ON FILE
AGOSTO ALICEA, MODESTO L      ADDRESS ON FILE
AGOSTO ALVAREZ MD, JUAN R     ADDRESS ON FILE
AGOSTO ALVAREZ, NICOLAS       ADDRESS ON FILE
Agosto Alvarez, Raul          ADDRESS ON FILE
AGOSTO ALVELO, MARIANGELIS    ADDRESS ON FILE
AGOSTO AMEZQUITA, NEREIDA     ADDRESS ON FILE
AGOSTO ANDINO, ANGELINA       ADDRESS ON FILE
AGOSTO ANDINO, ANGELY M.      ADDRESS ON FILE
AGOSTO ANDINO, JOSE           ADDRESS ON FILE
AGOSTO ANDREU, IVAN           ADDRESS ON FILE
AGOSTO ANDUJAR, HECTOR        ADDRESS ON FILE
AGOSTO ANDUJAR, MARTA         ADDRESS ON FILE
AGOSTO ARROYO, ALEXANDER      ADDRESS ON FILE
AGOSTO ARROYO, EDWIN DAVID    ADDRESS ON FILE
AGOSTO ARROYO, JESUS          ADDRESS ON FILE
AGOSTO ARROYO, JOEL           ADDRESS ON FILE
AGOSTO ARROYO, OLGA I.        ADDRESS ON FILE
AGOSTO ARVELO, MARITZA        ADDRESS ON FILE
AGOSTO AYALA, ELINES          ADDRESS ON FILE
AGOSTO AYALA, GLOMALICE       ADDRESS ON FILE
Agosto Ayala, Ismael          ADDRESS ON FILE
AGOSTO AYALA, NILDA           ADDRESS ON FILE
AGOSTO AYALA, SAM             ADDRESS ON FILE
AGOSTO BAEZ, BETTY            ADDRESS ON FILE
AGOSTO BAEZ, CHRISTIAN        ADDRESS ON FILE
AGOSTO BAEZ, ELIZABETH        ADDRESS ON FILE
AGOSTO BAEZ, MIRIAM           ADDRESS ON FILE
AGOSTO BATISTA, LAURA         ADDRESS ON FILE
Agosto Becerril, Felix        ADDRESS ON FILE
AGOSTO BELTRAN, PEDRO O       ADDRESS ON FILE
AGOSTO BENCEBI, JULIA         ADDRESS ON FILE
AGOSTO BENCEBI, ZORAIDA       ADDRESS ON FILE
AGOSTO BENITEZ, JOSE M.       ADDRESS ON FILE
AGOSTO BERBERENA, ISRAEL      ADDRESS ON FILE
AGOSTO BERRIOS, LUIS          ADDRESS ON FILE
AGOSTO BERRIOS, MARIA I       ADDRESS ON FILE
AGOSTO BETANCOURT, NYDIA A.   ADDRESS ON FILE
AGOSTO BONILLA, JAHAIRA       ADDRESS ON FILE
AGOSTO BOSQUE, DIOMARYS       ADDRESS ON FILE
AGOSTO BULTRON, NAIZA Y       ADDRESS ON FILE
AGOSTO BURGOS, AMARILYS       ADDRESS ON FILE
Agosto Burgos, Miguel A       ADDRESS ON FILE
AGOSTO BURGOS, MIGUEL A.      ADDRESS ON FILE
AGOSTO CABALLERO, DAVID       ADDRESS ON FILE




                                                                          Page 122 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 123 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO CABRERA, JULIO          ADDRESS ON FILE
AGOSTO CACERES, ELIVETTE M     ADDRESS ON FILE
AGOSTO CALDERON, CARMEN M      ADDRESS ON FILE
AGOSTO CALDERON, EDGARDO       ADDRESS ON FILE
AGOSTO CAMACHO, JOSE           ADDRESS ON FILE
AGOSTO CAMACHO, MICHAEL        ADDRESS ON FILE
AGOSTO CAMPS, GLORIA I         ADDRESS ON FILE
AGOSTO CAMPS, PEDRO            ADDRESS ON FILE
AGOSTO CARDONA, NAHIDEL        ADDRESS ON FILE
AGOSTO CARRASQUILLO, ANNIE     ADDRESS ON FILE
AGOSTO CARRASQUILLO, ANNIE     ADDRESS ON FILE
AGOSTO CARRASQUILLO, JOSE      ADDRESS ON FILE
AGOSTO CARRASQUILLO, LILLIAM   ADDRESS ON FILE
AGOSTO CARRASQUILLO, LISA M.   ADDRESS ON FILE
AGOSTO CARRASQUILLO, SELENIA   HÉCTOR FIGUEROA
AGOSTO CARRION, LIMARYS        ADDRESS ON FILE
AGOSTO CARRION, MARIA DEL C    ADDRESS ON FILE
AGOSTO CASAS, MANUEL A.        ADDRESS ON FILE
AGOSTO CASAS, MANUEL A.        ADDRESS ON FILE
AGOSTO CASTILLO, GILIA I       ADDRESS ON FILE
AGOSTO CASTRO, ALICIA          ADDRESS ON FILE
AGOSTO CASTRO, GLORIA M        ADDRESS ON FILE
AGOSTO CASTRO, JOSE            ADDRESS ON FILE
AGOSTO CASTRO, RICARDO J.      ADDRESS ON FILE
AGOSTO CAY,BETTY               ADDRESS ON FILE
AGOSTO CEDENO, VALERIA         ADDRESS ON FILE
AGOSTO CENTENO, JORGE          ADDRESS ON FILE
AGOSTO CENTENO, LEONARDO       ADDRESS ON FILE
AGOSTO CEPEDA, ARIEL           ADDRESS ON FILE
Agosto Cepeda, Carmen A        ADDRESS ON FILE
AGOSTO CEPEDA, TAYNA I         ADDRESS ON FILE
Agosto Cirino, Arlene W        ADDRESS ON FILE
AGOSTO CLAUDIO, GLORIA M       ADDRESS ON FILE
Agosto Claudio, Maria I.       ADDRESS ON FILE
AGOSTO CLEMENTE, GISELLE       ADDRESS ON FILE
AGOSTO CLEMENTE, GISELLE M.    ADDRESS ON FILE
AGOSTO CLEMENTE, JENNIFER      ADDRESS ON FILE
AGOSTO COLON, DANIEL           ADDRESS ON FILE
AGOSTO COLON, EDUARDO          ADDRESS ON FILE
AGOSTO COLON, ELVIS M          ADDRESS ON FILE
AGOSTO COLON, JASMINE          ADDRESS ON FILE
AGOSTO COLON, JESSICA          ADDRESS ON FILE
AGOSTO COLON, LAURA L.         ADDRESS ON FILE
AGOSTO COLON, LUZ Z            ADDRESS ON FILE
AGOSTO COLON, RAMON            ADDRESS ON FILE
AGOSTO COLON, RAMONITA         ADDRESS ON FILE
AGOSTO CORDERO, CHRISTIAN O.   ADDRESS ON FILE
Agosto Cordero, Dionisio       ADDRESS ON FILE
Agosto Cordero, Miguel A       ADDRESS ON FILE
AGOSTO CORDERO, NELSON         ADDRESS ON FILE
AGOSTO CORDERO, ROBERTO        ADDRESS ON FILE
AGOSTO CORREA, MIGUEL A.       ADDRESS ON FILE
AGOSTO CORTES, CARMEN M        ADDRESS ON FILE
AGOSTO CORTES, CAROL           ADDRESS ON FILE
AGOSTO CORTES, LUIS O          ADDRESS ON FILE
AGOSTO COTTO, CARMEN D         ADDRESS ON FILE
AGOSTO CRUZ, CAMILO            ADDRESS ON FILE
AGOSTO CRUZ, FRANCISCO         ADDRESS ON FILE
AGOSTO CRUZ, IVAN D.           ADDRESS ON FILE
AGOSTO CRUZ, JOHN M.           ADDRESS ON FILE




                                                                           Page 123 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 124 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO CRUZ, KEISHLA         ADDRESS ON FILE
AGOSTO CRUZ, MIGDALIA        ADDRESS ON FILE
AGOSTO CRUZ, NANCY           ADDRESS ON FILE
AGOSTO CRUZ, NORBERTO        ADDRESS ON FILE
AGOSTO CRUZ, ROBERTO         ADDRESS ON FILE
AGOSTO CRUZ, VEDZAIDA        ADDRESS ON FILE
AGOSTO DAVILA, JONATHAN      ADDRESS ON FILE
AGOSTO DE JESUS, ANA M       ADDRESS ON FILE
AGOSTO DE JESUS, HARRY W     ADDRESS ON FILE
AGOSTO DE JESUS, PRISCILA    ADDRESS ON FILE
Agosto De Jesus, Sujeily     ADDRESS ON FILE
Agosto De Leon, Hector M     ADDRESS ON FILE
AGOSTO DE LEON, LUIS         ADDRESS ON FILE
AGOSTO DE LEON, NILDA LUZ    ADDRESS ON FILE
AGOSTO DE LEON, SARA M       ADDRESS ON FILE
AGOSTO DEL HOYO, MYRIAM      ADDRESS ON FILE
AGOSTO DEL VALLE, AIDA I     ADDRESS ON FILE
Agosto Del Valle, Roberto    ADDRESS ON FILE
AGOSTO DELGADO, CARIDAD      ADDRESS ON FILE
Agosto Delgado, Carmen       ADDRESS ON FILE
AGOSTO DELGADO, WANDA        ADDRESS ON FILE
AGOSTO DIAZ, AWILDA          ADDRESS ON FILE
AGOSTO DIAZ, BRADIEL         ADDRESS ON FILE
AGOSTO DIAZ, CARMEN I        ADDRESS ON FILE
AGOSTO DIAZ, CARMEN L        ADDRESS ON FILE
AGOSTO DIAZ, ESTHER          ADDRESS ON FILE
AGOSTO DIAZ, GABRIEL E       ADDRESS ON FILE
AGOSTO DIAZ, HAYDEE          ADDRESS ON FILE
AGOSTO DIAZ, ISABEL          ADDRESS ON FILE
AGOSTO DIAZ, JOSE A          ADDRESS ON FILE
AGOSTO DIAZ, MARGARITA       ADDRESS ON FILE
AGOSTO DIAZ, MIREYDA Y       ADDRESS ON FILE
AGOSTO DUMAS, ANA J          ADDRESS ON FILE
AGOSTO DUMAS, ANA J.         ADDRESS ON FILE
AGOSTO ENGLAND, MIRALYS S    ADDRESS ON FILE
AGOSTO ERAZO, GILBERTO       ADDRESS ON FILE
AGOSTO ESTRADA, WILLIAM R    ADDRESS ON FILE
AGOSTO FALCON, JOSE          ADDRESS ON FILE
AGOSTO FEBO, ANTONIO         ADDRESS ON FILE
AGOSTO FELICIANO, BEATRIZ    ADDRESS ON FILE
AGOSTO FELICIANO, YARELSON   ADDRESS ON FILE
AGOSTO FERNANDEZ, MARCUS     ADDRESS ON FILE
AGOSTO FERNANDEZ, MARCUS J   ADDRESS ON FILE
AGOSTO FERNANDEZ, SANDRA     ADDRESS ON FILE
AGOSTO FERNANDEZ, SONIA J    ADDRESS ON FILE
AGOSTO FERRER, FELIX F       ADDRESS ON FILE
AGOSTO FIGUEROA, ALICIA      ADDRESS ON FILE
AGOSTO FIGUEROA, FELIX       ADDRESS ON FILE
AGOSTO FIGUEROA, ROSA M.     ADDRESS ON FILE
AGOSTO FIGUEROA, SANTOS      ADDRESS ON FILE
AGOSTO FIGUEROA,OMAR         ADDRESS ON FILE
AGOSTO FIGUERQA, LINALIS     ADDRESS ON FILE
AGOSTO FLORES, EUGENE        ADDRESS ON FILE
AGOSTO FLORES, FRANCISCO     ADDRESS ON FILE
AGOSTO FLORES, JOSE A        ADDRESS ON FILE
AGOSTO GARCIA, CARMEN I.     ADDRESS ON FILE
AGOSTO GARCIA, HENRY         ADDRESS ON FILE
AGOSTO GARCIA, NILMA Y       ADDRESS ON FILE
AGOSTO GARCIA, SONIA         ADDRESS ON FILE
AGOSTO GARCIA, WANDA         ADDRESS ON FILE




                                                                         Page 124 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 125 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO GIMENEZ, DELVIS          ADDRESS ON FILE
AGOSTO GONZALEZ, EVELYN         ADDRESS ON FILE
AGOSTO GONZALEZ, JOSE A         ADDRESS ON FILE
AGOSTO GONZALEZ, MARIELLE       ADDRESS ON FILE
AGOSTO GUTIERREZ, ALEXIS        ADDRESS ON FILE
AGOSTO HADDOCK, NILSA           ADDRESS ON FILE
AGOSTO HERNANDEZ, ABNER         ADDRESS ON FILE
AGOSTO HERNANDEZ, ABNER J.      ADDRESS ON FILE
AGOSTO HERNANDEZ, BENJAMIN J.   ADDRESS ON FILE
AGOSTO HERNANDEZ, ELBA          ADDRESS ON FILE
AGOSTO HERNANDEZ, GIXALY        ADDRESS ON FILE
AGOSTO HERNANDEZ, GLADYS        ADDRESS ON FILE
AGOSTO HERNANDEZ, JEFFREY       ADDRESS ON FILE
AGOSTO HERNANDEZ, KELVIN        ADDRESS ON FILE
AGOSTO HERNANDEZ, NELLY         ADDRESS ON FILE
AGOSTO HERNANDEZ, ORLANDO       ADDRESS ON FILE
AGOSTO HERNANDEZ, VALENTIN      ADDRESS ON FILE
AGOSTO HUERTAS, FRANCISCA       ADDRESS ON FILE
AGOSTO IRIZARRY, ZULEYKA        ADDRESS ON FILE
AGOSTO IZAGAS, AIDA L           ADDRESS ON FILE
AGOSTO IZAGAS, HAYDEE           ADDRESS ON FILE
AGOSTO IZAGAS, HAYDEE           ADDRESS ON FILE
AGOSTO IZAGAS, ILEANA           ADDRESS ON FILE
AGOSTO JIMENEZ, DELVIS          ADDRESS ON FILE
AGOSTO JIMENEZ, LOURDES         ADDRESS ON FILE
AGOSTO JIMENEZ, MARCOS          ADDRESS ON FILE
AGOSTO JORGE, LUZ M             ADDRESS ON FILE
AGOSTO JORGE, SOR A             ADDRESS ON FILE
AGOSTO LEAL, MABEL              ADDRESS ON FILE
AGOSTO LEBRON, CARLA M          ADDRESS ON FILE
AGOSTO LEBRON, LUIS A           ADDRESS ON FILE
AGOSTO LEBRON, LYMAR            ADDRESS ON FILE
AGOSTO LEDUC, GRAZIELLA         ADDRESS ON FILE
AGOSTO LEDUC, LUIS A            ADDRESS ON FILE
AGOSTO LOPEZ, AWILDA            ADDRESS ON FILE
AGOSTO LOPEZ, CHRISTIAN         ADDRESS ON FILE
AGOSTO LOPEZ, GLADYS            ADDRESS ON FILE
AGOSTO LOPEZ, HECTOR            ADDRESS ON FILE
AGOSTO LOPEZ, JOSE A            ADDRESS ON FILE
AGOSTO LOPEZ, KARLA             ADDRESS ON FILE
AGOSTO LOPEZ, MANUEL            ADDRESS ON FILE
AGOSTO LOPEZ, PABLO             ADDRESS ON FILE
AGOSTO LOPEZ, REYNALDO          ADDRESS ON FILE
AGOSTO LOPEZ, SAMUEL            ADDRESS ON FILE
AGOSTO LOPEZ, SANDRA E.         ADDRESS ON FILE
AGOSTO LOPEZ, YARITZA           ADDRESS ON FILE
AGOSTO LOPEZ, YAZMIN            ADDRESS ON FILE
AGOSTO LOPEZ, YEIDY             ADDRESS ON FILE
AGOSTO LORENZI, FRANCHESKA M.   ADDRESS ON FILE
AGOSTO LOUBRIEL, PABLO          ADDRESS ON FILE
AGOSTO LOUBRIEL, REYNALDO       ADDRESS ON FILE
AGOSTO LUGARDO, ALBA R          ADDRESS ON FILE
AGOSTO LUGO, FELIX              ADDRESS ON FILE
Agosto Luna, Ana M              ADDRESS ON FILE
AGOSTO LUNA, LILIANA            ADDRESS ON FILE
AGOSTO LUNA, LILIANA I          ADDRESS ON FILE
AGOSTO LUNA, VICTOR             ADDRESS ON FILE
AGOSTO MALDONADO, EDWIN         ADDRESS ON FILE
AGOSTO MALDONADO, GIOVANNI      ADDRESS ON FILE
AGOSTO MALDONADO, HOLVIN        ADDRESS ON FILE




                                                                            Page 125 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 126 of 3500
                                                                                                     Creditor Matrix

Creditor Name                        Address1                         Address2                                    Address3           Address4   City            State   PostalCode   Country
AGOSTO MALDONADO, LILLIAN            ADDRESS ON FILE
AGOSTO MALDONADO, LILLIAN            ADDRESS ON FILE
AGOSTO MALDONADO, LUZ C              ADDRESS ON FILE
AGOSTO MALDONADO, MARITZA            ADDRESS ON FILE
AGOSTO MALDONADO, MARY               ADDRESS ON FILE
AGOSTO MALDONADO, NANCY              ADDRESS ON FILE
AGOSTO MALDONADO, NILDA              ADDRESS ON FILE
AGOSTO MALDONADO, NILDA A. Y/O 504   LCDA. IVONNE GONZALEZ MORALES    PO BOX 9021828                                                            SAN JUAN        PR      00902‐1828
                                                                                                                  2000 AVE. FELISA
AGOSTO MALDONADO, NILDA A. Y/O 504   LCDA. MILAGROS ACEVEDO COLON     CONDOMINIO COLINA REAL                      RINCÓN             BOX 1405   SAN JUAN        PR      00926
AGOSTO MALDONADO, RAMON              ADDRESS ON FILE
AGOSTO MANSO, ELIZABETH              ADDRESS ON FILE
AGOSTO MANSO, PEDRO R                ADDRESS ON FILE
Agosto Manzo, Jacqueline             ADDRESS ON FILE
AGOSTO MARQUEZ, MIGDALIS             ADDRESS ON FILE
AGOSTO MARQUEZ, YALINETTE            ADDRESS ON FILE
AGOSTO MARQUEZ, YALINETTE            ADDRESS ON FILE
AGOSTO MARRERO, ROSITA               ADDRESS ON FILE
AGOSTO MARRERO, WILLIAM J.           ADDRESS ON FILE
AGOSTO MARTINEZ, IRMA IRIS           ADDRESS ON FILE
AGOSTO MARTINEZ, IVETTE              ADDRESS ON FILE
AGOSTO MARTINEZ, JUAN CARLOS         ADDRESS ON FILE
AGOSTO MARTINEZ, KATE A              ADDRESS ON FILE
AGOSTO MARTINEZ, LUIS                ADDRESS ON FILE
AGOSTO MARTINEZ, MELISSA             ADDRESS ON FILE
AGOSTO MARTINEZ, MYRNA B.            ADDRESS ON FILE
Agosto Martinez, Pedro L.            ADDRESS ON FILE
AGOSTO MARTINEZ, RAMON               ADDRESS ON FILE
AGOSTO MARTINEZ, RAMON               ADDRESS ON FILE
AGOSTO MATOS, LYDIA                  ADDRESS ON FILE
AGOSTO MAURY MD, NORMA               ADDRESS ON FILE
AGOSTO MAYSONET, BETHZAIDA           ADDRESS ON FILE
AGOSTO MAYSONET, FELIX D             ADDRESS ON FILE
AGOSTO MEDINA, ALDRIC                ADDRESS ON FILE
AGOSTO MEDINA, OSCAR                 ADDRESS ON FILE
AGOSTO MEDINA, WILLIAM               ADDRESS ON FILE
AGOSTO MEDINA, YAIRA                 ADDRESS ON FILE
AGOSTO MELENDEZ, JOAN D              ADDRESS ON FILE
AGOSTO MELENDEZ, JOAN D.             ADDRESS ON FILE
AGOSTO MELENDEZ, KELVIN              ADDRESS ON FILE
AGOSTO MELENDEZ, LOURDES             ADDRESS ON FILE
AGOSTO MELENDEZ, MIGDALIA            ADDRESS ON FILE
AGOSTO MELENDEZ, VILMARIE            ADDRESS ON FILE
AGOSTO MENDEZ, ROLANDO               ADDRESS ON FILE
AGOSTO MENDEZ, ROSA M                ADDRESS ON FILE
AGOSTO MÉNDEZ, WANDA                 LCDO. PEDRO J. RIVAS TOLENTINO   CALLE CELIZ AGUILERA #50 PO BOX 444                                       PUERTO REAL     PR      00740
AGOSTO MENDEZ, WANDA E               ADDRESS ON FILE
Agosto Mercado, Jean Paul            ADDRESS ON FILE
Agosto Mercado, Joel                 ADDRESS ON FILE
Agosto Miranda, Edwin D              ADDRESS ON FILE
AGOSTO MIRANDA, NITZA ENID           ADDRESS ON FILE
AGOSTO MOJICA MD, ARNARDI            ADDRESS ON FILE
AGOSTO MOJICA MD, MARIELBA           ADDRESS ON FILE
AGOSTO MOLINA, LUIS                  ADDRESS ON FILE
AGOSTO MOLINA, NOEL                  ADDRESS ON FILE
AGOSTO MOLINA, RAFAEL                ADDRESS ON FILE
AGOSTO MONTALVO, ANA F               ADDRESS ON FILE
AGOSTO MONTALVO, MARIA E.            ADDRESS ON FILE
AGOSTO MONTANEZ, DALIA               ADDRESS ON FILE
AGOSTO MONTANEZ, PEDRO A.            ADDRESS ON FILE




                                                                                                   Page 126 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 127 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO MONTANEZ, SOL M.     ADDRESS ON FILE
AGOSTO MONTES, IVETTE       ADDRESS ON FILE
AGOSTO MORALES, ANGELICA    ADDRESS ON FILE
AGOSTO MORALES, CARLA       ADDRESS ON FILE
AGOSTO MORALES, MILDRED     ADDRESS ON FILE
AGOSTO MORALES, MILDRED     ADDRESS ON FILE
AGOSTO MORALES, NERYLEE     ADDRESS ON FILE
AGOSTO MORALES, ROLANDO     ADDRESS ON FILE
AGOSTO MOREIRA, KEYLA       ADDRESS ON FILE
AGOSTO MORENO, JUAN L.      ADDRESS ON FILE
AGOSTO MORENO, LUIS         ADDRESS ON FILE
AGOSTO MUJICA, ANARDI       ADDRESS ON FILE
AGOSTO MUJICA, MARIELBA     ADDRESS ON FILE
AGOSTO MUNOZ, ANA L         ADDRESS ON FILE
Agosto Muriel, Leticia      ADDRESS ON FILE
AGOSTO NATAL, JUDITH        ADDRESS ON FILE
AGOSTO NAVARRO, MANUEL      ADDRESS ON FILE
AGOSTO NAVARRO, MANUEL      ADDRESS ON FILE
AGOSTO NAVARRO, MANUEL      ADDRESS ON FILE
AGOSTO NEGRON, CATALINA     ADDRESS ON FILE
Agosto Negron, Rene         ADDRESS ON FILE
AGOSTO NEGRON, WILLIAM      ADDRESS ON FILE
AGOSTO NIEVES, ANA          ADDRESS ON FILE
AGOSTO NIEVES, ANA M.       ADDRESS ON FILE
AGOSTO NIEVES, ESMERALDA    ADDRESS ON FILE
AGOSTO NIEVES, JOHANNA      ADDRESS ON FILE
AGOSTO NIEVES, JOHANNA      ADDRESS ON FILE
AGOSTO NIEVES, PEDRO U      ADDRESS ON FILE
AGOSTO NIEVES, SANDRA       ADDRESS ON FILE
AGOSTO NIEVEZ, GERMAN       ADDRESS ON FILE
AGOSTO NUNEZ, AWILDA        ADDRESS ON FILE
AGOSTO NUNEZ, ELIZABETH     ADDRESS ON FILE
AGOSTO NUNEZ, LUCY          ADDRESS ON FILE
AGOSTO NUNEZ, MARIA E.      ADDRESS ON FILE
AGOSTO NUNEZ, VERONICA      ADDRESS ON FILE
AGOSTO OLIVO, MARIAL DEL    ADDRESS ON FILE
AGOSTO OLIVO, PEDRO J.      ADDRESS ON FILE
AGOSTO OLMEDA, EVELYN       ADDRESS ON FILE
AGOSTO OLMEDA, MARLA E      ADDRESS ON FILE
AGOSTO ORTEGA, AIDA A       ADDRESS ON FILE
AGOSTO ORTEGA, MAYRA        ADDRESS ON FILE
AGOSTO ORTEGA, MILAGROS     ADDRESS ON FILE
AGOSTO ORTIZ, ALEJANDRA C   ADDRESS ON FILE
AGOSTO ORTIZ, CARLA         ADDRESS ON FILE
Agosto Ortiz, Daniel        ADDRESS ON FILE
AGOSTO ORTIZ, INES          ADDRESS ON FILE
AGOSTO ORTIZ, IVETTE        ADDRESS ON FILE
AGOSTO ORTIZ, MARLENA       ADDRESS ON FILE
AGOSTO ORTIZ, MIRNALY       ADDRESS ON FILE
AGOSTO ORTIZ, NELSON        ADDRESS ON FILE
AGOSTO ORTIZ, NORMA I.      ADDRESS ON FILE
AGOSTO ORTIZ, PRICILLA      ADDRESS ON FILE
AGOSTO ORTIZ, ROSA ALINA    ADDRESS ON FILE
AGOSTO ORTIZ, ROSA H.       ADDRESS ON FILE
AGOSTO ORTIZ, SONIA N       ADDRESS ON FILE
AGOSTO ORTIZ,SONIA          ADDRESS ON FILE
AGOSTO OTERO, ARACELIS      ADDRESS ON FILE
AGOSTO OTERO, CRISTALYS     ADDRESS ON FILE
AGOSTO OTERO, EDWIN         ADDRESS ON FILE
AGOSTO OTERO, HECTOR        ADDRESS ON FILE




                                                                        Page 127 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 128 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO OTERO, IRMA              ADDRESS ON FILE
AGOSTO PABON, JOSE A            ADDRESS ON FILE
AGOSTO PABON, VERONICA          ADDRESS ON FILE
AGOSTO PACHECO, MARYLIN         ADDRESS ON FILE
AGOSTO PAGAN, ANGEL             ADDRESS ON FILE
AGOSTO PEREZ, ANGEL             ADDRESS ON FILE
AGOSTO PEREZ, ANGEL             ADDRESS ON FILE
AGOSTO PEREZ, CARLOS            ADDRESS ON FILE
AGOSTO PEREZ, GLADYS            ADDRESS ON FILE
AGOSTO PEREZ, GLADYS            ADDRESS ON FILE
Agosto Perez, Johanna           ADDRESS ON FILE
AGOSTO PEREZ, JOSE L.           ADDRESS ON FILE
AGOSTO PEREZ, JOSE W            ADDRESS ON FILE
AGOSTO PEREZ, JUAN              ADDRESS ON FILE
AGOSTO PEREZ, JUAN              ADDRESS ON FILE
AGOSTO PEREZ, KATHERINE         ADDRESS ON FILE
AGOSTO PEREZ, MARIELY           ADDRESS ON FILE
AGOSTO PEREZ, MARIO A.          ADDRESS ON FILE
AGOSTO PEREZ, MARIO A.          ADDRESS ON FILE
AGOSTO PEREZ, MARISSA           ADDRESS ON FILE
AGOSTO PEREZ, MILADY            ADDRESS ON FILE
Agosto Perez, Milagros          ADDRESS ON FILE
AGOSTO PEREZ, NORMA I           ADDRESS ON FILE
AGOSTO PEREZ, RUTH M            ADDRESS ON FILE
AGOSTO PEREZ, WANDA Z           ADDRESS ON FILE
AGOSTO PEREZ,FERDINAND A.       ADDRESS ON FILE
AGOSTO PIMENTEL MD, HARVEY      ADDRESS ON FILE
AGOSTO PIMENTEL, HARVEY         ADDRESS ON FILE
AGOSTO PIMENTEL, KENNETH        ADDRESS ON FILE
AGOSTO PINEIRO, MONICA          ADDRESS ON FILE
AGOSTO PONCE, STEFANIE          ADDRESS ON FILE
AGOSTO QUILES, CARMEN H         ADDRESS ON FILE
AGOSTO QUINONES, DAISY          ADDRESS ON FILE
AGOSTO QUINONES, GLENDANNETTE   ADDRESS ON FILE
AGOSTO QUINONES, JOHANNA        ADDRESS ON FILE
AGOSTO QUINONES, JOSE A.        ADDRESS ON FILE
AGOSTO QUINONEZ, RAFAEL         ADDRESS ON FILE
AGOSTO RAMOS, LOURDES A.        ADDRESS ON FILE
AGOSTO RAMOS, SARA              ADDRESS ON FILE
AGOSTO REYES, AXEL ORLANDO      ADDRESS ON FILE
AGOSTO REYES, LUZ               ADDRESS ON FILE
AGOSTO REYES, MARIA DEL R       ADDRESS ON FILE
AGOSTO REYES, MILCA             ADDRESS ON FILE
AGOSTO REYES, RAFAEL            ADDRESS ON FILE
Agosto Reyes, Wilson            ADDRESS ON FILE
AGOSTO REYES, ZORAIDA           ADDRESS ON FILE
AGOSTO RIOS, GABRIEL            ADDRESS ON FILE
AGOSTO RIOS, HECTOR             ADDRESS ON FILE
Agosto Rios, Luis A             ADDRESS ON FILE
AGOSTO RIOS, LUIS A             ADDRESS ON FILE
AGOSTO RIOS, NATIVIDAD          ADDRESS ON FILE
AGOSTO RIVERA, ALEXIS           ADDRESS ON FILE
AGOSTO RIVERA, ALEXIS           ADDRESS ON FILE
AGOSTO RIVERA, ALEXIS           ADDRESS ON FILE
AGOSTO RIVERA, AMARYLIS         ADDRESS ON FILE
AGOSTO RIVERA, BIANCA           ADDRESS ON FILE
AGOSTO RIVERA, CARLOS           ADDRESS ON FILE
AGOSTO RIVERA, CARMEN I         ADDRESS ON FILE
AGOSTO RIVERA, CARMEN L.        ADDRESS ON FILE
AGOSTO RIVERA, CARMEN M         ADDRESS ON FILE




                                                                            Page 128 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 129 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO RIVERA, CARMEN O       ADDRESS ON FILE
AGOSTO RIVERA, DIANA C        ADDRESS ON FILE
AGOSTO RIVERA, ELBA I         ADDRESS ON FILE
AGOSTO RIVERA, ENID M.        ADDRESS ON FILE
AGOSTO RIVERA, EVELYN         ADDRESS ON FILE
AGOSTO RIVERA, HECTOR         ADDRESS ON FILE
AGOSTO RIVERA, IDALIS         ADDRESS ON FILE
AGOSTO RIVERA, ISABEL M       ADDRESS ON FILE
AGOSTO RIVERA, JOSE MANUEL    ADDRESS ON FILE
Agosto Rivera, Jose R.        ADDRESS ON FILE
AGOSTO RIVERA, LILLIAM        ADDRESS ON FILE
AGOSTO RIVERA, LUIS           ADDRESS ON FILE
AGOSTO RIVERA, LUZ E          ADDRESS ON FILE
AGOSTO RIVERA, LUZ M          ADDRESS ON FILE
AGOSTO RIVERA, MARIA          ADDRESS ON FILE
AGOSTO RIVERA, MARIA A        ADDRESS ON FILE
AGOSTO RIVERA, MARICELI       ADDRESS ON FILE
AGOSTO RIVERA, MARILYN        ADDRESS ON FILE
AGOSTO RIVERA, MARK           ADDRESS ON FILE
AGOSTO RIVERA, MILCA          ADDRESS ON FILE
AGOSTO RIVERA, OSVALDO        ADDRESS ON FILE
AGOSTO RIVERA, RAFAEL         ADDRESS ON FILE
AGOSTO RIVERA, RAMON          ADDRESS ON FILE
AGOSTO RIVERA, SENIA R.       ADDRESS ON FILE
AGOSTO RIVERA, WANDA E        ADDRESS ON FILE
AGOSTO RIVIERE, ANDREA M.     ADDRESS ON FILE
AGOSTO RIVIERE, GABRIEL E.    ADDRESS ON FILE
AGOSTO ROBLES, CARLOS J.      ADDRESS ON FILE
AGOSTO RODRIGUES, NATALIE     ADDRESS ON FILE
AGOSTO RODRIGUEZ, ADALBERTO   ADDRESS ON FILE
AGOSTO RODRIGUEZ, AMAURY      ADDRESS ON FILE
AGOSTO RODRIGUEZ, ANGEL       ADDRESS ON FILE
Agosto Rodriguez, Angel E.    ADDRESS ON FILE
AGOSTO RODRIGUEZ, ANGELINA    ADDRESS ON FILE
AGOSTO RODRIGUEZ, ANTONIA     ADDRESS ON FILE
AGOSTO RODRIGUEZ, CARLOS      ADDRESS ON FILE
AGOSTO RODRIGUEZ, CARMEN P.   ADDRESS ON FILE
AGOSTO RODRIGUEZ, EDGAR       ADDRESS ON FILE
AGOSTO RODRIGUEZ, ELBA S      ADDRESS ON FILE
AGOSTO RODRIGUEZ, HECTOR      ADDRESS ON FILE
Agosto Rodriguez, Hector E    ADDRESS ON FILE
AGOSTO RODRIGUEZ, HILDA       ADDRESS ON FILE
AGOSTO RODRIGUEZ, IBEDIZA     ADDRESS ON FILE
AGOSTO RODRIGUEZ, ISABEL      ADDRESS ON FILE
AGOSTO RODRIGUEZ, JORGE       ADDRESS ON FILE
AGOSTO RODRIGUEZ, JORGE I     ADDRESS ON FILE
AGOSTO RODRIGUEZ, JUAN        ADDRESS ON FILE
AGOSTO RODRIGUEZ, JUAN C.     ADDRESS ON FILE
AGOSTO RODRIGUEZ, LISANDRA    ADDRESS ON FILE
AGOSTO RODRIGUEZ, LUZ F       ADDRESS ON FILE
AGOSTO RODRIGUEZ, MARIA M.    ADDRESS ON FILE
AGOSTO RODRIGUEZ, NITZA       ADDRESS ON FILE
AGOSTO RODRIGUEZ, PABLO       ADDRESS ON FILE
AGOSTO RODRIGUEZ, RENE        ADDRESS ON FILE
AGOSTO RODRIGUEZ, XAVIER      ADDRESS ON FILE
AGOSTO ROJAS, MARITZA         ADDRESS ON FILE
AGOSTO ROJAS, SANDRA          ADDRESS ON FILE
AGOSTO ROMAN, ANGEL L         ADDRESS ON FILE
AGOSTO ROMAN, ARIANACELIS     ADDRESS ON FILE
AGOSTO ROMAN, JUANA           ADDRESS ON FILE




                                                                          Page 129 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 130 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGOSTO ROMAN, LUZ M          ADDRESS ON FILE
AGOSTO ROMAN, MAYRA          ADDRESS ON FILE
AGOSTO ROMAN, NYDIA          ADDRESS ON FILE
AGOSTO ROMERO, AUREA M       ADDRESS ON FILE
AGOSTO ROMERO, LUZ B         ADDRESS ON FILE
Agosto Rondon, Daniel L.     ADDRESS ON FILE
AGOSTO ROSA, EFREN           ADDRESS ON FILE
AGOSTO ROSA, ENEIDA          ADDRESS ON FILE
AGOSTO ROSADO, ALFONSO       ADDRESS ON FILE
AGOSTO ROSADO, BIENVENIDO    ADDRESS ON FILE
AGOSTO ROSADO, FRANCISCO     ADDRESS ON FILE
AGOSTO ROSADO, HERIBERTO     ADDRESS ON FILE
AGOSTO ROSADO, YOLANDA       ADDRESS ON FILE
AGOSTO ROSARIO, ANA M.       ADDRESS ON FILE
AGOSTO ROSARIO, GRACIELA     ADDRESS ON FILE
AGOSTO ROSARIO, LUIS C.      ADDRESS ON FILE
AGOSTO ROSARIO, MARILYN      ADDRESS ON FILE
AGOSTO ROSARIO, RAMON        ADDRESS ON FILE
AGOSTO ROSARIO, RICHARD      ADDRESS ON FILE
AGOSTO ROSARIO, RUTH         ADDRESS ON FILE
AGOSTO ROSARIO, TOMASITA     ADDRESS ON FILE
AGOSTO RUIZ, LYDIA E         ADDRESS ON FILE
Agosto Ruiz, Moises          ADDRESS ON FILE
Agosto Salgado, Angel R      ADDRESS ON FILE
AGOSTO SALGADO, SARIMAR      ADDRESS ON FILE
AGOSTO SANABRIA, ALICIA      ADDRESS ON FILE
AGOSTO SANCHEZ V, ARACELIS   ADDRESS ON FILE
AGOSTO SANCHEZ, ANA L        ADDRESS ON FILE
AGOSTO SANCHEZ, EFRAIN       ADDRESS ON FILE
AGOSTO SANCHEZ, JOSE         ADDRESS ON FILE
AGOSTO SANCHEZ, LUIS O       ADDRESS ON FILE
AGOSTO SANCHEZ, MAGDALENA    ADDRESS ON FILE
AGOSTO SANCHEZ, MYRIAM       ADDRESS ON FILE
AGOSTO SANCHEZ, RONY O.      ADDRESS ON FILE
AGOSTO SANCHEZ, RUTH N       ADDRESS ON FILE
AGOSTO SANJURJO, JOSE L      ADDRESS ON FILE
AGOSTO SANJURJO, JOSE M      ADDRESS ON FILE
AGOSTO SANTANA, ANDREA       ADDRESS ON FILE
AGOSTO SANTANA, CHARITO      ADDRESS ON FILE
AGOSTO SANTANA, EDWIN        ADDRESS ON FILE
AGOSTO SANTANA, ELIZABETH    ADDRESS ON FILE
AGOSTO SANTANA, JUAN JOSE    ADDRESS ON FILE
Agosto Santiago, Edgar       ADDRESS ON FILE
AGOSTO SANTIAGO, EDNA M      ADDRESS ON FILE
AGOSTO SANTIAGO, EDWIN       ADDRESS ON FILE
AGOSTO SANTIAGO, EMILIO      ADDRESS ON FILE
AGOSTO SANTIAGO, FELIX       ADDRESS ON FILE
AGOSTO SANTIAGO, MICHELLE    ADDRESS ON FILE
AGOSTO SANTIAGO, NORMARIE    ADDRESS ON FILE
AGOSTO SANTIAGO, OMAYRA      ADDRESS ON FILE
AGOSTO SANTIAGO, VICTOR      ADDRESS ON FILE
AGOSTO SANTIAGO, YANIRA      ADDRESS ON FILE
AGOSTO SANTOS, GEORGIE       ADDRESS ON FILE
AGOSTO SANTOS, GRISELIS      ADDRESS ON FILE
AGOSTO SANTOS, LUZ C         ADDRESS ON FILE
AGOSTO SANTOS, MARIANA       ADDRESS ON FILE
AGOSTO SEPULVEDA, LUZ E      ADDRESS ON FILE
AGOSTO SERRANO, CARMEN       ADDRESS ON FILE
AGOSTO SERRANO, CARMEN       ADDRESS ON FILE
AGOSTO SERRANO, CARMEN M.    ADDRESS ON FILE




                                                                         Page 130 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 131 of 3500
                                                                                                Creditor Matrix

Creditor Name                   Address1                            Address2                                 Address3   Address4      City         State   PostalCode   Country
AGOSTO SERRANO, CHABELI         ADDRESS ON FILE
AGOSTO SERRANO, DANIEL          ADDRESS ON FILE
AGOSTO SERRANO, IDA             ADDRESS ON FILE
AGOSTO SERRANO, MARIA M.        ADDRESS ON FILE
AGOSTO SERRANO, NICOLAS A       ADDRESS ON FILE
AGOSTO SIERRA, FRANCES M        ADDRESS ON FILE
AGOSTO SIERRA, RICARDO          ADDRESS ON FILE
AGOSTO SIERRA,ADALBERTO         ADDRESS ON FILE
AGOSTO SOTO, ENRIQUE            ADDRESS ON FILE
AGOSTO SOTO,FELIPE              ADDRESS ON FILE
AGOSTO TOLENTINO, MIGUEL        ADDRESS ON FILE
AGOSTO TORRES, BRYAN            ADDRESS ON FILE
AGOSTO TORRES, CARLOS JAVIER    ADDRESS ON FILE
AGOSTO TORRES, DAMARIS          ADDRESS ON FILE
AGOSTO TORRES, JOELIMAR         ADDRESS ON FILE
AGOSTO TORRES, JULIA            ADDRESS ON FILE
AGOSTO TORRES, MARIA            ADDRESS ON FILE
AGOSTO TORRES, MARILYN          ADDRESS ON FILE
AGOSTO TORRES, MELVIN           ADDRESS ON FILE
AGOSTO TORRES, MYRNA            ADDRESS ON FILE
AGOSTO TORRES, PEDRO            ADDRESS ON FILE
AGOSTO TORRES, RAYMOND          ADDRESS ON FILE
AGOSTO TORRES, RUBEN            ADDRESS ON FILE
AGOSTO TORRES, WILSON           ADDRESS ON FILE
AGOSTO VALENTIN, ROBERTO        ADDRESS ON FILE
AGOSTO VARGAS, ANA M            ADDRESS ON FILE
AGOSTO VARGAS, CARMEN L         ADDRESS ON FILE
AGOSTO VARGAS, CARMEN L         ADDRESS ON FILE
AGOSTO VARGAS, IRAIDA           ADDRESS ON FILE
AGOSTO VARGAS, MILAGROS M.      ADDRESS ON FILE
AGOSTO VARGAS, WANGEL           ADDRESS ON FILE
AGOSTO VARGAS, YANERYS          ADDRESS ON FILE
AGOSTO VAZQUEZ, CARMEN E        ADDRESS ON FILE
AGOSTO VAZQUEZ, CARMEN R        ADDRESS ON FILE
AGOSTO VAZQUEZ, FLOR            ADDRESS ON FILE
AGOSTO VAZQUEZ, GLORIA E.       ADDRESS ON FILE
AGOSTO VAZQUEZ, HECTOR          ADDRESS ON FILE
Agosto Vazquez, Hector R        ADDRESS ON FILE
AGOSTO VAZQUEZ, IRENE           ADDRESS ON FILE
AGOSTO VAZQUEZ, JEANNETTE       ADDRESS ON FILE
AGOSTO VAZQUEZ, JESUS           ADDRESS ON FILE
Agosto Vazquez, Jose            ADDRESS ON FILE
AGOSTO VAZQUEZ, JOSE            ADDRESS ON FILE
AGOSTO VÁZQUEZ, JOSÉ, ET ALS.   LCDA. GLORIA M. IAGROSSI BRENES     78 D CALLE Ponce DE LEÓN                                          SAN JUAN     PR      00917
AGOSTO VÁZQUEZ, JOSÉ, ET ALS.   LCDO. ANTONIO VRCARCEL CERVERA      78 D CALLE Ponce DE LEÓN                                          SAN JUAN     PR      00917
AGOSTO VÁZQUEZ, JOSÉ, ET ALS.   LCDO. CARMELO RODRIGUEZ FELICIANO   1552 CALLE PARANÁ                        TH‐18                    SAN JUAN     PR      00926
AGOSTO VÁZQUEZ, JOSÉ, ET ALS.   LCDO. MARCOS ROSADO CONDE           URB. SANTA CLARA                         I‐22       CALLE ARECA   GUAYNABO     PR      00969
AGOSTO VAZQUEZ, JUAN            ADDRESS ON FILE
AGOSTO VAZQUEZ, JUAN RAMON      ADDRESS ON FILE
AGOSTO VAZQUEZ, LUIS            ADDRESS ON FILE
AGOSTO VAZQUEZ, OMAYRA          ADDRESS ON FILE
AGOSTO VEGA, ANA                ADDRESS ON FILE
AGOSTO VEGA, APOLINAR           ADDRESS ON FILE
AGOSTO VEGA, DAFNE              ADDRESS ON FILE
AGOSTO VEGA, EDWIN F.           ADDRESS ON FILE
AGOSTO VEGA, IRIS N             ADDRESS ON FILE
AGOSTO VEGA, LUIS               ADDRESS ON FILE
AGOSTO VEGA, ROSA               ADDRESS ON FILE
AGOSTO VELAZQUEZ, ADY           ADDRESS ON FILE
AGOSTO VELAZQUEZ, ANNETTE       ADDRESS ON FILE




                                                                                               Page 131 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 132 of 3500
                                                                                                    Creditor Matrix

Creditor Name                   Address1                                  Address2                               Address3            Address4   City          State   PostalCode   Country
AGOSTO VELAZQUEZ, ESTEBAN       ADDRESS ON FILE
AGOSTO VELAZQUEZ, JACINTO E     ADDRESS ON FILE
AGOSTO VELAZQUEZ, MARILYN       ADDRESS ON FILE
AGOSTO VELAZQUEZ, WANDA ENID    ADDRESS ON FILE
AGOSTO VELEZ, ANGEL D.          ADDRESS ON FILE
AGOSTO VELEZ, JORGE             ADDRESS ON FILE
AGOSTO VELEZ, JOSE              ADDRESS ON FILE
AGOSTO VELEZ, KARLA             ADDRESS ON FILE
AGOSTO VELEZ, RAFAELA           ADDRESS ON FILE
AGOSTO VENTURA, ABBY            ADDRESS ON FILE
AGOSTO VIERA, JESSICA           ADDRESS ON FILE
AGOSTO VIERA, RAMON L           ADDRESS ON FILE
AGOSTO VILLAFANE, REGALADA      ADDRESS ON FILE
AGOSTO WALKER, TAMARA L         ADDRESS ON FILE
AGOSTO ZABALETA, GEYTZA         ADDRESS ON FILE
AGOSTO ZAMBRANA                 ADDRESS ON FILE
AGOSTO ZAPATA, CARMEN D         ADDRESS ON FILE
AGOSTO ZAYAS, ANA I.            ADDRESS ON FILE
AGOSTO ZAYAS, ANA I.            ADDRESS ON FILE
AGOSTO, CARMEN                  ADDRESS ON FILE
AGOSTO, DANIEL                  ADDRESS ON FILE
AGOSTO, MANUEL A                ADDRESS ON FILE
AGOSTO, MARIA                   ADDRESS ON FILE
AGOSTO, OLGA I                  ADDRESS ON FILE
AGOSTO,MANUEL A                 ADDRESS ON FILE
AGOSTOAGOSTO, PEDRO             ADDRESS ON FILE
AGOSTOORTIZ, RAFAEL             ADDRESS ON FILE
AGOSTORIVERA, EPIFANIO          ADDRESS ON FILE
AGP SIGNS                       CALLE JUAN MARTINEZ KM. 12.2 CARR 833 SANTA ROSA                                                                GUAYNABO      PR      00969
AGR LIFE TEAM LLC               HACIENDA SAN JOSE                         1040 CALLE ARCADA                                                     CAGUAS        PR      00725
AGR LIFE TEAM LLC               PO BOX 1446                                                                                                     GUAYAMA       PR      00785‐1446
AGRAIT BELTRAN, EDGARDO         ADDRESS ON FILE
AGRAIT COMAS, EDGARDO           ADDRESS ON FILE
AGRAIT CRUZ, GLORIA             ADDRESS ON FILE
AGRAIT DEL VALLE, MARIA C       ADDRESS ON FILE
AGRAIT FELICIANO MD, MARIO      ADDRESS ON FILE
AGRAIT GARCIA, FRANCISCO G      ADDRESS ON FILE
AGRAIT LABIOSA, RAFAEL A        ADDRESS ON FILE
AGRAIT LLADO, BLANCA            ADDRESS ON FILE
AGRAIT MORELL, JAVIER           ADDRESS ON FILE
AGRAIT ORTIZ, DELIA             ADDRESS ON FILE
AGRAIT RODRIGUEZ, JUAN A        ADDRESS ON FILE
AGRAIT RODRIGUEZ, MARIO         ADDRESS ON FILE
AGRAIT RUIZ, JOSE O             ADDRESS ON FILE
AGRAIT ZAPATA, WILMA            ADDRESS ON FILE
AGRAITDELVALLE, MARIA           ADDRESS ON FILE
AGRAMAR CORP                    PO BOX 9023927                                                                                                  SAN JUAN      PR      00902
AGRAMONTE MORAL, DILCIA         ADDRESS ON FILE
                                                                                                                 PLAZA ESCORIAL
AGRAMONTE QUEZADA DEMETRIO      MARCOS RIVERA ORTIZ                      AVENIDA 65TH LOCAL 5289                 CINEMAS SUITE 207              CAROLINA      PR      00987
AGRAMONTE QUEZADA DEMETRIO      SHEILA ACEVEDO                           PO BOX 8152                                                            SAN JUAN      PR      00910‐0152
AGRAMONTE, KATY                 ADDRESS ON FILE
AGRAWAL MD, MANOJ               ADDRESS ON FILE
AGRAWAL, ABHISHEK               ADDRESS ON FILE
AGREDA REYES, JESUS E           ADDRESS ON FILE
AGREDIN GONZALEZ                ADDRESS ON FILE
AGREGADOS DEL SURESTE           HC 64 BOX 7835                           CARR 758 KM 0.9                                                        CABO ROJO     PR      00623
AGREGADOS MEDERO INC            INDUSTRIAL METROPOLITANO                 11 CALLE LESTER                                                        CAROLINA      PR      00985
AGREGADOS VARELA INC            URB PUNTO ORO                            3015 CALLE COFRESI                                                     PONCE         PR      00728‐2061
AGREGADOS VISTA DE LA MONTANA   P O BOX 8989                                                                                                    BAYAMON       PR      00960




                                                                                                   Page 132 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 133 of 3500
                                                                                                               Creditor Matrix

Creditor Name                           Address1                                   Address2                                 Address3            Address4        City                  State   PostalCode   Country
AGREIN ALICEA LUCIANO                   ADDRESS ON FILE
AGRELO PEREZ, ALVARO                    ADDRESS ON FILE
AGRELOT APONTE, CARLO                   ADDRESS ON FILE
AGRESTI MD, MARK                        ADDRESS ON FILE
AGRICOLA DEL MONTE SORO                 ADDRESS ON FILE
AGRICULTORES UNIDOS DE LAS PIEDRAS      HC 3 BOX 7638                                                                                                           LAS PIEDRAS           PR      00771
AGRINSONI CABAN, EMANUEL                ADDRESS ON FILE
AGRINSONI CARRILLO, MAGALY              ADDRESS ON FILE
AGRINSONI CARRILLO, MARIA M             ADDRESS ON FILE
AGRINSONI DELGAGO, NORMA                ADDRESS ON FILE
AGRINSONI FEBRE, LYDIA E                ADDRESS ON FILE
AGRINSONI HERNANDEZ, JUAN               ADDRESS ON FILE
AGRINSONI LEBRON, NANCY                 ADDRESS ON FILE
AGRINSONI MALAVE, ROSA                  ADDRESS ON FILE
AGRINSONI MERCADO, JOHN                 ADDRESS ON FILE
AGRINSONI OLIVER, MARY E                ADDRESS ON FILE
AGRINSONI PACHECO, JOSE                 ADDRESS ON FILE
Agrinsoni Pacheco, Jose M.              ADDRESS ON FILE
Agrinsoni Reyes, Luis R.                ADDRESS ON FILE
AGRINSONI ROJAS, CARMEN M               ADDRESS ON FILE
AGRINSONI SANTANA, FELIX                ADDRESS ON FILE
AGRINSONI SANTIAGO, ALVIN               ADDRESS ON FILE
AGRINZONI CARRILLO, IRAIDA              ADDRESS ON FILE
AGRIPINA ROSARIO ROSA                   ADDRESS ON FILE
AGRIPINO LARROY RODRIGUEZ               ADDRESS ON FILE
AGRISONI MEJIAS, CARMEN N               ADDRESS ON FILE
AGRO AMBIENTE INC                       URB ESTANCIAS DE LA SABANA                 7217 CALLE RUISENOR                                                          SABANA HOYOS          PR      00688‐9744
AGRO CARIBE FARMS CORP                  P O BOX 83                                                                                                              LARES                 PR      00669
AGRO EXPRESO INC                        URB LOMAS DEL MANATUABON                   25 C/ GUARIONEX                                                              MANATI                PR      00674
AGRO EXPRESO, INC.                      URB. LOMAS DEL MANATUABON 25 CALLE GUARIONEX                                                                            MANATI                PR      00674‐0000
AGRO EXTRA CIALES                       74 URB DOS RIOS                                                                                                         CIALES                PR      00638
AGRO HIDROPONICO RODRIGUEZ INC Y/O      ADDRESS ON FILE
AGRO INDUSTRIAS DEL ESTE                LCDO. BENJAMÍN MORALES DEL VALLE Y LCDO. JAURB. TOWN PARK 181 MARGINAL A‐1                                              SAN JUAN              PR      00924
AGRO INDUSTRIAS DEL ESTE                LCDO. IVÁN A. COLÓN MORALES                URB. ROOSEVELT 478 CALLE CANALS          SUITE 1‐A (ALTOS)                   SAN JUAN              PR      00918‐2723
                                                                                                                                                                ISLA VERDE AVE. L‐2
AGRO INDUSTRIAS DEL ESTE                 LCDO. JUAN CARLOS GARAY MASSEY          PMB 347                                    #5900                               CAROLINA              PR      00979
AGRO INDUSTRIAS DEL ESTE                 LCDO. NELSON MELÉNDEZ                   VIG TOWER SUITE 701                        1225 AVE.           Ponce DE LEÓN   SAN JUAN              PR      00907
AGRO OUTLET                              URB. LA MARGARITA                       CALLE B‐A5                                                                     SALINAS               PR      00751
AGRO PET CENTER & HARDWARE INC           HC 55 BOX 23351                                                                                                        CEIBA                 PR      00735
AGRO PRODUCE/PR SUPPLIES                 ADDRESS ON FILE
AGRO SERVICIOS INC                       PO BOX 360393                                                                                                          SAN JUAN              PR      00936‐0393
AGRO STRATEGIC INTELIGENCE CONSOLTING GROPO BOX 1233                                                                                                            HATILLO               PR      00659‐1233
AGRO_ZONE                                HC‐02 BOX 3260                                                                                                         SABANA HOYOS          PR      00688‐9683
AGROCENTRO PARCELAS VAZQUEZ              BO. PARCELAS VAZQUEZ                    CARR. #1 K 77.7                                                                SALINAS               PR      00751
AGROEMPRESAS KEVERDE INC                 PO BOX 142343                                                                                                          ARECIBO               PR      00614
AGROJET FARM INC                         PO BOX 561216                                                                                                          GUAYANILLA            PR      00656
AGRON ACOSTA, DAMIAN                     ADDRESS ON FILE
AGRON AGRON, AILEEN                      ADDRESS ON FILE
AGRON AVILES, WANDA                      ADDRESS ON FILE
AGRON AYALA, ANGEL                       ADDRESS ON FILE
AGRON CARRERO, LUIS                      ADDRESS ON FILE
AGRON CHAPARRO, REINA C                  ADDRESS ON FILE
AGRON CORDERO, SULMARY                   ADDRESS ON FILE
AGRON CRESPO, ADA I                      ADDRESS ON FILE
AGRON CRESPO, ELSIE M                    ADDRESS ON FILE
AGRON FIGUEROA, WILFREDO                 ADDRESS ON FILE
AGRON GONZALEZ, ALFREDO                  ADDRESS ON FILE
AGRON LUGO, NORMA I                      ADDRESS ON FILE
AGRON MENDEZ, ALFONSO                    ADDRESS ON FILE
AGRON MORALES,YASHIRA                    ADDRESS ON FILE




                                                                                                              Page 133 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 134 of 3500
                                                                                                  Creditor Matrix

Creditor Name                            Address1                  Address2                                    Address3   Address4   City              State   PostalCode   Country
Agron Munoz, Ricardo E.                  ADDRESS ON FILE
AGRON NIEVES, JANICE                     ADDRESS ON FILE
AGRON ORSINI, JOSE                       ADDRESS ON FILE
Agron Orsini, Jose A                     ADDRESS ON FILE
AGRON ORSINI, VERONICA                   ADDRESS ON FILE
AGRON PATINO, GRISELLE                   ADDRESS ON FILE
AGRON PEREZ, JOEL                        ADDRESS ON FILE
AGRON PITRE, GRACIELA                    ADDRESS ON FILE
AGRON RAMIREZ, BENJAMIN                  ADDRESS ON FILE
Agron Ramos, Robinson                    ADDRESS ON FILE
Agron Rivera, Francheska                 ADDRESS ON FILE
AGRON RODRIGUEZ, ARMANDO                 ADDRESS ON FILE
AGRON RODRIGUEZ, DARMAND                 ADDRESS ON FILE
AGRON RODRIGUEZ, NORMA I.                ADDRESS ON FILE
AGRON RODRIGUEZ, SYLVIA                  ADDRESS ON FILE
AGRON ROSARIO, SIDMARIE                  ADDRESS ON FILE
AGRON ROSARIO, SIDMARIE                  ADDRESS ON FILE
AGRON RUIZ, AUREA E                      ADDRESS ON FILE
AGRON SANTIAGO, FRANCISCO                ADDRESS ON FILE
AGRON TORRES, MYRNA E                    ADDRESS ON FILE
AGRON VALENTIN, ARMANDO                  ADDRESS ON FILE
Agron Valentin, Arturo                   ADDRESS ON FILE
AGRONT ACEVEDO, HECTOR L.                ADDRESS ON FILE
Agront Castro, Janice                    ADDRESS ON FILE
AGRONT CHAPARRO, IDALIS                  ADDRESS ON FILE
Agront Class, Victor                     ADDRESS ON FILE
AGRONT CLASS, VICTOR                     ADDRESS ON FILE
AGRONT CORTES, FRANCES D                 ADDRESS ON FILE
AGRONT CORTEZ, JUDITH                    ADDRESS ON FILE
Agront Davo, Edwin                       ADDRESS ON FILE
AGRONT FELICIANO, JOEL                   ADDRESS ON FILE
AGRONT FERRERAS, MIGDALIA                ADDRESS ON FILE
AGRONT FERRERAS, SANDRA                  ADDRESS ON FILE
AGRONT LEON, EREINA                      ADDRESS ON FILE
Agront Matos, Edwin                      ADDRESS ON FILE
AGRONT MENDEZ, LILIA M.                  ADDRESS ON FILE
Agront Mendoza, Lisandro                 ADDRESS ON FILE
AGRONT NIEVES, CYNTHIA                   ADDRESS ON FILE
AGRONT PENA, OLGA                        ADDRESS ON FILE
AGRONT PENA, OLGA N                      ADDRESS ON FILE
AGRONT PEREZ, TAIRA V                    ADDRESS ON FILE
AGRONT PEREZ, YANITZA I                  ADDRESS ON FILE
Agront Rivera, Sergio                    ADDRESS ON FILE
Agront Roman, Angel                      ADDRESS ON FILE
AGRONT ROMAN, ARACELIS                   ADDRESS ON FILE
AGRONT RUIZ, ELENA                       ADDRESS ON FILE
AGRONT SANCHEZ, AIDA L                   ADDRESS ON FILE
AGRONT SANCHEZ, LUIS E                   ADDRESS ON FILE
AGRONT SANCHEZ, MERCEDES                 ADDRESS ON FILE
AGRONT SANCHEZ, VERANIA                  ADDRESS ON FILE
AGROPANICOS COSECHA DE PUERTO RICO INC   PORTAL DE SOFIA           111 CALLE CECILIO URBINA APT 4110                                 GUAYNABO          PR      00969
AGROPECUARIA JUANA DIAZ                  ADDRESS ON FILE
AGROSCAPE,INC                            ALT RIO GRANDE            E189 CALLE 4                                                      RIO GRANDE        PR      00745
AGROTEX DE P R INC                       HC 08 BOX 84615                                                                             SAN SEBASTIAN     PR      00685
AGROTEX FARM CORP                        CENTRO NOVIOS PLAZA BLD   475 HOSTOS AVE SUITE 207                                          MAYAGUEZ          PR      00680‐1554
AGROTEX FARM CORP                        HC 8 BOX 84615                                                                              SAN SEBASTIAN     PR      00685
AGROVEG CORP                             PO BOX 1408                                                                                 JUNCOS            PR      00777
AGRUP PUERTORRIQUENA DE TEATRO LIRICO    PO BOX 11642                                                                                SAN JUAN          PR      00910
AGRUPACION ARTISTICA PENSARES            SUITE 216                 PO BOX 71325                                                      SAN JUAN          PR      00936
AGRUPACION CANTORES DE BAYAMON           P O BOX 13925                                                                               SAN JUAN          PR      00908




                                                                                                Page 134 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 135 of 3500
                                                                                              Creditor Matrix

Creditor Name                            Address1                    Address2                              Address3   Address4   City              State   PostalCode   Country
AGRUPACION FAMILIAR SOLTERO PERALTA      URB SANTA MARIA             1893 CALLE PETUNIA                                          SAN JUAN          PR      00927
AGRUPACION PUERTORRIQUENA TEATRO LIRICO P O BOX 11642                                                                            SAN JUAN          PR      00910
AGRUPACION PUERTORRIQUENA TEATRO LIRICO URB COLINAS METROPOLITANAS   N 7 CALLE GUILARTE                                          GUAYNABO          PR      00919 4694
AGRUPACION RECR DEPT RURAL URB ANA M INC P O BOX 1149                                                                            CABO ROJO         PR      00623‐1149
AGT DISTRIBUTORS                         URB PUERTO NUEVO            502 AVE ANDALUCIA                                           SAN JUAN          PR      00920
AGTE MONICA UBINAS TORRES                ADDRESS ON FILE
AGTE RAFAEL SALAS COLON                  HC 2 BOX 11590                                                                          MOCA              PR      00676
AGTE. CARLOS RODRÍGUEZ QUIÑONES
AGTE. FÉLIX GUZMÁN SERRANO
AGUA ADVENTURE INC                       PMB 2135                    PO BOX 4956                                                 CAGUAS            PR      00726
AGUA LA MONTANA                          PO BOX 909                                                                              SAINT JUST        PR      00978
AGUA LA MONTANA INC                      BOX 909                                                                                 SAINT JUST        PR      00978
AGUA PARK SYSTEM INC                     P O BOX 9024238                                                                         SAN JUAN          PR      00902‐4238
AGUA RECOVERY GROUP INC.                 425 RD. 693 PMB 4444                                                                    DORADO            PR      00646
AGUA SOL Y SERENO INC                    URB EL CEREZAL              1655 CALLE INDO                                             SAN JUAN          PR      00926‐3028
AGUA SPRING, INC                         BOX 909 SAINT JUST                                                                      TRUJILLO ALTO     PR      00978
AGUA SPRING, INC.                        PO BOX 909                                                                              SAINT JUST        PR      00978
AGUA SPRINGS INC DBA AGUA LA MONTANA     BOX 909                                                                                 SAINT JUST        PR      00978
AGUA SPRINGS INC DBA AGUA LA MONTANA     COND VIZCAYA                200 CALLE 535 APT 416                                       CAROLINA          PR      00985
AGUA SPRINGS, INC. D/B/A LA MONTANA      PO BOX 909                                                                              SAINT JUST        PR      00978
AGUADA COMMUNITY CLINIC INC              PO BOX 592                                                                              AGUADA            PR      00602‐0592
AGUADA ELDERLY LIMITED PARTNERSHIP SE    PO BOX 3609277                                                                          SAN JUAN          PR      00936‐0927
AGUADA MEDICAL CENTER                    PO BOX 90                                                                               AGUADA            PR      00602
AGUADA ORTIZ, MAYRA                      ADDRESS ON FILE
AGUADA SECURITY SERVICES INC             PO BOX 1424                                                                             AGUADA            PR      00602
AGUADENOS DE DEFENSA DE ANIMALES INC     P O BOX 5000 SUITE 684                                                                  AGUADA            PR      00602
AGUADILLA ESSO SERVICENTRO               PO BOX 3127                                                                             AGUADILLA         PR      00605‐3127
AGUADILLA EYE MED PSC                    P O BOX 968                                                                             AGUADILLA         PR      00605
AGUADILLA FITNESS CENTER                 PMB 373 BOX 5968                                                                        AGUADILLA         PR      00603
AGUADILLA HEART CENTER INC               P O BOX 5261                                                                            AGUADILLA         PR      00605
AGUADILLA LUXURY APARTMENTS LL           PO BOX 1221                                                                             CABO ROJO         PR      00623
AGUADILLA MEDICAL SERVICES INC           PO BOX 5265                                                                             AGUADILLA         PR      00605
AGUADILLA MEDICAL SEVICES INC.           P.O. BOX 250479                                                                         AGUADILLA         PR      00604‐0479
AGUADILLA SHOPPING CENTER INC/ PURA      ENERGIA INC                 PO BOX 4035                                                 AGUADILLA         PR      00605
AGUADILLA SUMMER CAMP INC                HC 1 BOX 17218                                                                          AGUADILLA         PR      00603
AGUADILLA TACO MAKERS INC                PMB 235                     PO BOX 5075                                                 SAN GERMAN        PR      00683
AGUADILLA THERAPY                        PO BOX 3390                                                                             MAYAGUEZ          PR      00680‐3390
AGUADILLA X RAY OFFICE AND BODY IMAGING CENTER PSC                   P O BOX 418                                                 AGUADILLA         PR      00605
AGUADO RAMIREZ, ESTERVINA A.             ADDRESS ON FILE
AGUAJO RODRIGUEZ, EDNA                   ADDRESS ON FILE
AGUAKEM CARIBE, INC.                     P. O. BOX 177                                                                           PONCE             PR      00715‐0000
AGUAYO ACEVEDO, FRANCISCO                ADDRESS ON FILE
AGUAYO ADORNO, MARGARITA                 ADDRESS ON FILE
AGUAYO AGUAYO, NEFTALI                   ADDRESS ON FILE
AGUAYO ALAMO, ZAIDA                      ADDRESS ON FILE
AGUAYO ALICEA, YANITZA                   ADDRESS ON FILE
AGUAYO ALICEA, YARITZA                   ADDRESS ON FILE
AGUAYO ARIAS, JOSE D                     ADDRESS ON FILE
AGUAYO ARIAS, JOSE D                     ADDRESS ON FILE
AGUAYO ARIAS, JOSUE D.                   ADDRESS ON FILE
AGUAYO ARROYO, LOURDES N                 ADDRESS ON FILE
AGUAYO BADILLO, JUAN                     ADDRESS ON FILE
AGUAYO BERRIOS, EDGARDO                  ADDRESS ON FILE
AGUAYO BONILLA, JOSE A                   ADDRESS ON FILE
AGUAYO CABALLERO, MIGUEL A               ADDRESS ON FILE
AGUAYO CARRASQUILLO, OLGA I              ADDRESS ON FILE
AGUAYO CEDEÑO MD, SANDRA I               ADDRESS ON FILE
AGUAYO CEDEÑO MD, SANDRA I               ADDRESS ON FILE
AGUAYO CEDEÑO MD, SANDRA I               ADDRESS ON FILE
AGUAYO CINTRON, MADELINE                 ADDRESS ON FILE




                                                                                             Page 135 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 136 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGUAYO CINTRON, VICTOR MANUEL      ADDRESS ON FILE
AGUAYO CIURO, NOELIA               ADDRESS ON FILE
AGUAYO COLON, IDALIA               ADDRESS ON FILE
AGUAYO COLON, LINA                 ADDRESS ON FILE
AGUAYO CORDARA, DAVID A            ADDRESS ON FILE
AGUAYO CRUZ, DAVID                 ADDRESS ON FILE
AGUAYO CRUZ, EDGARDO               ADDRESS ON FILE
AGUAYO CRUZ, IDA L                 ADDRESS ON FILE
AGUAYO CRUZ, KARILYS               ADDRESS ON FILE
AGUAYO DAVILA, HECTOR              ADDRESS ON FILE
AGUAYO DE JESUS, NITZA             ADDRESS ON FILE
AGUAYO DIAZ, CARMEN M              ADDRESS ON FILE
AGUAYO DIAZ, JUAN                  ADDRESS ON FILE
AGUAYO DIAZ, MYRNA I               ADDRESS ON FILE
AGUAYO DIAZ, OMAIRA                ADDRESS ON FILE
AGUAYO DIAZ, XAVIER                ADDRESS ON FILE
AGUAYO FIGUEROA, ROBERTO           ADDRESS ON FILE
AGUAYO FLORES, EDWIN               ADDRESS ON FILE
AGUAYO FORTUNO, RAFAEL             ADDRESS ON FILE
AGUAYO FORTUNO, RAFAEL E.          ADDRESS ON FILE
Aguayo Garcia, Jose L              ADDRESS ON FILE
AGUAYO GARCIA, MIGUEL              ADDRESS ON FILE
AGUAYO GOMEZ, JANET                ADDRESS ON FILE
AGUAYO GOMEZ, JOSE                 ADDRESS ON FILE
AGUAYO GONZALES, MATHEW S          ADDRESS ON FILE
AGUAYO GONZALEZ, LUIS A.           ADDRESS ON FILE
AGUAYO GUZMAN, DANNY               ADDRESS ON FILE
AGUAYO GUZMAN, DANNY               ADDRESS ON FILE
Aguayo Hiraldo, Amaury             ADDRESS ON FILE
AGUAYO HIRALDO, AMAURY             ADDRESS ON FILE
AGUAYO JIMENEZ, LORNA Y            ADDRESS ON FILE
AGUAYO JIMENEZ, LORNA Y            ADDRESS ON FILE
AGUAYO LASANTA, CARMEN I.          ADDRESS ON FILE
AGUAYO LASANTA, EXILDA             ADDRESS ON FILE
AGUAYO LEBRON, JAVIER              ADDRESS ON FILE
AGUAYO LEBRON, RAQUEL              ADDRESS ON FILE
AGUAYO LOPEZ, ERIC S.              ADDRESS ON FILE
AGUAYO LOPEZ, MARIA                ADDRESS ON FILE
AGUAYO LOPEZ, MARILYN              ADDRESS ON FILE
AGUAYO MARCANO, WANDA S.           ADDRESS ON FILE
AGUAYO MARRERO, VANESSA N          ADDRESS ON FILE
AGUAYO MEDINA, JOSE                ADDRESS ON FILE
AGUAYO MEDINA, MARIA               ADDRESS ON FILE
AGUAYO MEDINA, ROSARIO             ADDRESS ON FILE
AGUAYO MELENDEZ, LISSA             ADDRESS ON FILE
AGUAYO MENDOZA, BRENDALISSE        ADDRESS ON FILE
AGUAYO MIRANDA, GABRIEL            ADDRESS ON FILE
AGUAYO MONTANEZ, JOSE              ADDRESS ON FILE
AGUAYO MURIEL, LUIS                ADDRESS ON FILE
AGUAYO NEGRON, SANTOS              ADDRESS ON FILE
AGUAYO NIEVES, JUAN                ADDRESS ON FILE
AGUAYO OLIVERAS, ALONSO R          ADDRESS ON FILE
AGUAYO ORTIZ, ARTURO               ADDRESS ON FILE
Aguayo Paez, Luis R.               ADDRESS ON FILE
AGUAYO PEREZ, ALBA MAYLEEN         ADDRESS ON FILE
AGUAYO PEREZ, ELIZABETH NANNETTE   ADDRESS ON FILE
AGUAYO PEREZ, LAURA A.             ADDRESS ON FILE
AGUAYO PILLOT, EUGENIA             ADDRESS ON FILE
AGUAYO PIZARRO, LUZ D              ADDRESS ON FILE
AGUAYO PIZARRO, MARIBEL            ADDRESS ON FILE




                                                                               Page 136 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 137 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGUAYO PIZARRO, MARIBEL         ADDRESS ON FILE
AGUAYO PIZARRO, MELVA G.        ADDRESS ON FILE
AGUAYO REYES, ALONSO            ADDRESS ON FILE
AGUAYO REYES, SANDRA P          ADDRESS ON FILE
AGUAYO RIVERA, ALANA            ADDRESS ON FILE
AGUAYO RIVERA, JOSE             ADDRESS ON FILE
AGUAYO RIVERA, JOSE             ADDRESS ON FILE
AGUAYO RIVERA, KETTY            ADDRESS ON FILE
AGUAYO RIVERA, LUIS             ADDRESS ON FILE
Aguayo Rivera, Luis Felipe      ADDRESS ON FILE
AGUAYO RIVERA, WANDA I          ADDRESS ON FILE
AGUAYO RODRIGUEZ, LUIS          ADDRESS ON FILE
AGUAYO RODRIGUEZ, WALLYS        ADDRESS ON FILE
AGUAYO ROLDAN, MAGALY           ADDRESS ON FILE
AGUAYO ROMERO, ELENIA           ADDRESS ON FILE
AGUAYO ROSA, LORIS              ADDRESS ON FILE
AGUAYO ROSADO, IRMA E           ADDRESS ON FILE
AGUAYO ROSARIO, ESTHER          ADDRESS ON FILE
AGUAYO ROSARIO, MARGARITA       ADDRESS ON FILE
AGUAYO ROSARIO, MISAEL          ADDRESS ON FILE
AGUAYO ROSARIO, ROBERTO         ADDRESS ON FILE
AGUAYO RUIZ, BEATRIZ            ADDRESS ON FILE
AGUAYO SALGADO, JOSE            ADDRESS ON FILE
AGUAYO SANTANA, MYRIAM          ADDRESS ON FILE
AGUAYO SANTIAGO, JOSE           ADDRESS ON FILE
Aguayo Santiago, Lisandra       ADDRESS ON FILE
AGUAYO SANTIAGO, LISANDRA       ADDRESS ON FILE
AGUAYO SANTOS, ANDREA           ADDRESS ON FILE
AGUAYO SEGARRA, LYDIA E         ADDRESS ON FILE
AGUAYO SELLES, LETICIA          ADDRESS ON FILE
AGUAYO SEPULVEDA, MARISEL       ADDRESS ON FILE
AGUAYO VAZQUEZ, RICARDO J       ADDRESS ON FILE
AGUAYO VELLON, JESUS O.         ADDRESS ON FILE
AGUAYO VELLON, MARIBEL          ADDRESS ON FILE
AGUAYO VICENTE, KAREN           ADDRESS ON FILE
AGUAYO ZAYAS, ISRAEL J          ADDRESS ON FILE
AGUAYO, MONICA                  ADDRESS ON FILE
AGUAYO`S SHEET METAL MFG INC    PO BOX 4124                                                                      BAYAMON      PR      00958
AGUDELO CANO, ADRIANA M         ADDRESS ON FILE
AGUDELO SALAS, IVONY            ADDRESS ON FILE
AGUDO CALDERON, ILEANA          ADDRESS ON FILE
AGUDO COLON, LYNNETTE           ADDRESS ON FILE
AGUDO CUMBA, ANA H              ADDRESS ON FILE
AGUDO ECHAVARRIA CESHARISMARY   P O BOX 482                                                                      AGUADA       PR      00602
AGUDO GONZALEZ, CESAR           ADDRESS ON FILE
AGUDO GONZALEZ, NEREIDA         ADDRESS ON FILE
AGUDO GONZALEZ, RUBEN           ADDRESS ON FILE
Agudo Hilerio, Xavier           ADDRESS ON FILE
AGUDO MUNIZ, EVELIO             ADDRESS ON FILE
AGUDO MUNIZ, VIVALDO            ADDRESS ON FILE
AGUDO NIDO, MARIA DEL CARME     ADDRESS ON FILE
AGUDO RUIZ, JORGE A.            ADDRESS ON FILE
AGUDO SANTONI, JORGE L          ADDRESS ON FILE
AGUEDA A ALVAREZ TORRES         ADDRESS ON FILE
AGUEDA ACEVEDO, LEMUEL          ADDRESS ON FILE
AGUEDA BETANCOURT, MARISOL      ADDRESS ON FILE
AGUEDA CENTENO, OMAR            ADDRESS ON FILE
AGUEDA CENTENO, OMAR            ADDRESS ON FILE
AGUEDA COLON, ANTHONY           ADDRESS ON FILE
AGUEDA CRESPO, SULEIMARY        ADDRESS ON FILE




                                                                            Page 137 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 138 of 3500
                                                                                  Creditor Matrix

Creditor Name                       Address1                        Address2                   Address3   Address4   City          State   PostalCode   Country
AGUEDA LLANES, MARILYN              ADDRESS ON FILE
AGUEDA OBJIO OBJIO                  ADDRESS ON FILE
Agueda Rios, Elias                  ADDRESS ON FILE
AGUEDA RIOS, FERNANDO               ADDRESS ON FILE
AGUEDA ROSARIO SANTIAGO             ADDRESS ON FILE
AGUEDA SANABRIA                     ADDRESS ON FILE
AGUEDA SANTOS FALCON                ADDRESS ON FILE
AGUEDA SOSA, MANUEL                 ADDRESS ON FILE
AGUEDA SOTO, JENNIFER               ADDRESS ON FILE
AGUEDA SOTO, JESSICA                ADDRESS ON FILE
AGUEDA VINAS, JAVIER                ADDRESS ON FILE
AGUEDA YOUNG RAMOS                  ADDRESS ON FILE
Agueda‐Velez, Silverio              ADDRESS ON FILE
AGUEDO RODRIGUEZ, AIDA              ADDRESS ON FILE
AGUERO JOUBERT, CARMEN              ADDRESS ON FILE
AGUERO JOUBERT, EYRA                ADDRESS ON FILE
AGUERO RIOS, ICELA I                ADDRESS ON FILE
AGUERO, ALEJANDRINA                 ADDRESS ON FILE
AGUEROS JIMENEZ, DIEGO              ADDRESS ON FILE
AGUEYBANA AWARDS & GIFTS            2225 PASEO AMAPOLA                                                               LEVITTOWN     PR      00949‐4310
AGUIAR AVILES, LUIS R               ADDRESS ON FILE
Aguiar Calderon, Efrain             ADDRESS ON FILE
AGUIAR CRUZ, JULIO JOSUE            ADDRESS ON FILE
Aguiar Cruz, Julio L                ADDRESS ON FILE
AGUIAR CRUZ, LUIS MIGUEL            ADDRESS ON FILE
AGUIAR CRUZ, LUZ E.                 ADDRESS ON FILE
AGUIAR CRUZ, MARGARITA              ADDRESS ON FILE
AGUIAR CRUZ, ROSENIN                ADDRESS ON FILE
AGUIAR ELECTRICAL & SIMPLE REPAIR   URB JUAN MENDOZA                41 CALLE 5                                       NAGUABO       PR      00718
AGUIAR ELECTRICAL & SIMPLE REPAIR   URB. JUAN MENDOZA CALLE 5 #41                                                    NAGUABO       PR      00718
AGUIAR FIGUEROA, NELIDA             ADDRESS ON FILE
AGUIAR GARCIA, JESUS                ADDRESS ON FILE
AGUIAR GOTAY, DAMARIS               ADDRESS ON FILE
AGUIAR GUEVAREZ, IRMARIE            ADDRESS ON FILE
AGUIAR GUTIERREZ, CARLOS O.         ADDRESS ON FILE
Aguiar Hidalgo, Jose M              ADDRESS ON FILE
Aguiar Hidalgo, Maritza             ADDRESS ON FILE
AGUIAR LEGUILLOU, ANGEL             ADDRESS ON FILE
AGUIAR LEGUILLOU, ANGEL TOMAS       ADDRESS ON FILE
AGUIAR LUNA, JULIO                  ADDRESS ON FILE
AGUIAR MARQUEZ, OLGA                ADDRESS ON FILE
AGUIAR MARTINEZ, NOEL E.            ADDRESS ON FILE
AGUIAR MERCADO, ELVIS               ADDRESS ON FILE
AGUIAR MULERO, CARMEN M.            ADDRESS ON FILE
AGUIAR MULERO, CARMEN M.            ADDRESS ON FILE
AGUIAR PAGAN, ANGEL                 ADDRESS ON FILE
AGUIAR REYES, AIDA                  ADDRESS ON FILE
AGUIAR RIVAS, HEIDY                 ADDRESS ON FILE
AGUIAR ROZADA, SOLSIRET             ADDRESS ON FILE
Aguiar Santana, Rosa M              ADDRESS ON FILE
AGUIAR SAVELLI, BETTY               ADDRESS ON FILE
AGUIAR SOTO, ARMANDA                ADDRESS ON FILE
AGUIAR TOSADO, LUZ M                ADDRESS ON FILE
AGUIAR VEGA, LUIS D                 ADDRESS ON FILE
AGUIAR, RAQUEL                      ADDRESS ON FILE
AGUIARDIAZ, MANUEL                  ADDRESS ON FILE
AGUILA ARROYO, HECTOR               ADDRESS ON FILE
Aguila Arroyo, Hector R             ADDRESS ON FILE
AGUILA CARTAYA, LILLIAM             ADDRESS ON FILE
AGUILA CASTRO, MILAGROS I           ADDRESS ON FILE




                                                                                 Page 138 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 139 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGUILA DE JESUS, JULIO         ADDRESS ON FILE
AGUILA DIAZ, ELIZABETH         ADDRESS ON FILE
AGUILA DUARTE, CARLOS          ADDRESS ON FILE
AGUILA ESCUDERO, EDWIN         ADDRESS ON FILE
Aguila Gaona, Pedro I          ADDRESS ON FILE
AGUILA GONZALEZ MD, LYMARIE    ADDRESS ON FILE
AGUILA HERNANDEZ, EVELYN D     ADDRESS ON FILE
Aguila Maldonado, Luis M.      ADDRESS ON FILE
AGUILA MELENDEZ, MIGUEL A      ADDRESS ON FILE
AGUILA NAVEDO, YAMAIRA         ADDRESS ON FILE
AGUILA NAVEDO, YOMAIRA         ADDRESS ON FILE
Aguila Nunez, Pedro            ADDRESS ON FILE
AGUILA OLMO, MANUEL            ADDRESS ON FILE
AGUILA RIVERA, CARMELO         ADDRESS ON FILE
AGUILA RIVERA, JOSE E.         ADDRESS ON FILE
AGUILA RIVERA, MADELINE        ADDRESS ON FILE
AGUILA RIVERA, NILDA I         ADDRESS ON FILE
AGUILA RIVERA, SONIA           ADDRESS ON FILE
AGUILA RODRIGUEZ, DAVID        ADDRESS ON FILE
AGUILA RODRIGUEZ, LORNA I      ADDRESS ON FILE
Aguila Rodriguez, Santiago     ADDRESS ON FILE
AGUILA ROSARIO, AVILIO         ADDRESS ON FILE
AGUILA ROSARIO, BRUNILDA       ADDRESS ON FILE
AGUILA ROSARIO, JIMMY          ADDRESS ON FILE
AGUILA SANTANA, JANET M        ADDRESS ON FILE
AGUILA TORRES, ELIUD           ADDRESS ON FILE
AGUILA TORRES, ELIUD           ADDRESS ON FILE
AGUILA VALE, STEPHANIE         ADDRESS ON FILE
AGUILA VELAZAQUEZ, MARIELSIE   ADDRESS ON FILE
AGUILAR ACEVEDO, ABRAHAM       ADDRESS ON FILE
AGUILAR ACEVEDO, ALTAGRACIA    ADDRESS ON FILE
AGUILAR ACEVEDO, CARLOS D.     ADDRESS ON FILE
AGUILAR AGOSTO, YAHIRA         ADDRESS ON FILE
Aguilar Alcaide, Elvin         ADDRESS ON FILE
AGUILAR ALVAREZ, SIGFREDO      ADDRESS ON FILE
AGUILAR ALVAREZ, SIGFREDO      ADDRESS ON FILE
AGUILAR ANDINO, JOSE           ADDRESS ON FILE
AGUILAR BAEZ, JUAN             ADDRESS ON FILE
AGUILAR BAEZ, LUCY             ADDRESS ON FILE
AGUILAR BAEZ, ROSA HAYDEE      ADDRESS ON FILE
AGUILAR CABALLER, RICARDO      ADDRESS ON FILE
AGUILAR CAMERON, ANA R.        ADDRESS ON FILE
AGUILAR CAMERON, GUILLERMINA   ADDRESS ON FILE
AGUILAR CAMERON, NOEMI         ADDRESS ON FILE
AGUILAR CANDELARIA, AMLIS      ADDRESS ON FILE
AGUILAR CARABALLO, WALDEMAR    ADDRESS ON FILE
Aguilar Carmona, Ismael        ADDRESS ON FILE
AGUILAR CARMONA, ISMAEL        ADDRESS ON FILE
AGUILAR CARMONA, PAUL          ADDRESS ON FILE
Aguilar Castellano, Angel L.   ADDRESS ON FILE
AGUILAR CASTILLO, LEONILA      ADDRESS ON FILE
AGUILAR CASTILLO, LEONILA      ADDRESS ON FILE
AGUILAR CENTENO, IVELLISE      ADDRESS ON FILE
AGUILAR CENTENO, MARIBEL       ADDRESS ON FILE
AGUILAR CENTENO, SANDRA L      ADDRESS ON FILE
AGUILAR CHARON, VIRGILIO       ADDRESS ON FILE
AGUILAR COLL, ASTRID Y.        ADDRESS ON FILE
AGUILAR COLL, EDGARD           ADDRESS ON FILE
AGUILAR CRESPO, AGUSTIN        ADDRESS ON FILE
AGUILAR CRUZ, ZULMA E          ADDRESS ON FILE




                                                                           Page 139 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 140 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGUILAR DE LOS SANTOS, MONICA    ADDRESS ON FILE
AGUILAR DESIDERIO, ILEANA        ADDRESS ON FILE
AGUILAR DIAZ, LISETTE            ADDRESS ON FILE
AGUILAR ESTREMERA, LEOBARDO J.   ADDRESS ON FILE
AGUILAR ESTREMERA, SAUL          ADDRESS ON FILE
AGUILAR FELICIANO, AWILDA        ADDRESS ON FILE
AGUILAR FELICIANO, LUIS A.       ADDRESS ON FILE
AGUILAR GARCIA, CARMEN           ADDRESS ON FILE
AGUILAR GARCIA, CARMEN M         ADDRESS ON FILE
AGUILAR GARCIA, LISSETTE         ADDRESS ON FILE
AGUILAR GARCIA, LISSETTE         ADDRESS ON FILE
AGUILAR GARCIA, LUZ              ADDRESS ON FILE
AGUILAR GERARDINO, GINA          ADDRESS ON FILE
AGUILAR GIBOYEAUX, BRUNILDA      ADDRESS ON FILE
AGUILAR GIBOYEAUX, NILSA         ADDRESS ON FILE
AGUILAR GONZALEZ, MILKA          ADDRESS ON FILE
Aguilar Gonzalez, Rita A         ADDRESS ON FILE
Aguilar Jimenez, Erick E         ADDRESS ON FILE
AGUILAR JIMENEZ, HECTOR          ADDRESS ON FILE
AGUILAR JUSINO, MARITZA          ADDRESS ON FILE
AGUILAR JUSINO, MARITZA          ADDRESS ON FILE
AGUILAR LLANES MD, SIGFREDO      ADDRESS ON FILE
AGUILAR LLANES, HIGINIA          ADDRESS ON FILE
AGUILAR LLANES, MARIA S          ADDRESS ON FILE
AGUILAR LOPEZ, NASHIRA           ADDRESS ON FILE
AGUILAR LUGO, FELIX              ADDRESS ON FILE
AGUILAR MARQUEZ, MOISES          ADDRESS ON FILE
AGUILAR MARTINEZ, AGNES          ADDRESS ON FILE
AGUILAR MARTINEZ, GRACE M        ADDRESS ON FILE
AGUILAR MARTINEZ, MARLYN         ADDRESS ON FILE
AGUILAR MARTINEZ, MILDRED        ADDRESS ON FILE
AGUILAR MARTINEZ, MIRIAM         ADDRESS ON FILE
AGUILAR MARTINEZ, NORMAN         ADDRESS ON FILE
AGUILAR MARTINEZ, RUTH E         ADDRESS ON FILE
AGUILAR MARTINEZ, TIRSA I        ADDRESS ON FILE
AGUILAR MAS, ANTONIO             ADDRESS ON FILE
AGUILAR MERCADO, IVETTE          ADDRESS ON FILE
Aguilar Mercado, Patricia        ADDRESS ON FILE
Aguilar Mercado, William         ADDRESS ON FILE
AGUILAR MERCADO, WILLIAM         ADDRESS ON FILE
AGUILAR MIELES, CARLOS           ADDRESS ON FILE
Aguilar Mieles, Carlos R         ADDRESS ON FILE
AGUILAR MIELES, GLORIMAR         ADDRESS ON FILE
AGUILAR MONTALVO, VILMA          ADDRESS ON FILE
AGUILAR MORALES, CLARA V         ADDRESS ON FILE
AGUILAR MORALES, RAMONITA        ADDRESS ON FILE
Aguilar Moya, Myrna              ADDRESS ON FILE
AGUILAR NARVAEZ, GLORIA A        ADDRESS ON FILE
AGUILAR NATAL, GILEM             ADDRESS ON FILE
AGUILAR NAZARIO, GLORYBERT       ADDRESS ON FILE
AGUILAR NIEVES, ANGEL            ADDRESS ON FILE
Aguilar Nieves, Antonio          ADDRESS ON FILE
AGUILAR OCASIO, FREDDY R         ADDRESS ON FILE
AGUILAR ORTA, JESSE              ADDRESS ON FILE
AGUILAR OSORIO, JACKELINE        ADDRESS ON FILE
AGUILAR PADILLA, FEDERICO        ADDRESS ON FILE
AGUILAR PADILLA, RAFAEL          ADDRESS ON FILE
AGUILAR PADIN, GILBERTO          ADDRESS ON FILE
AGUILAR PEREZ, CRUZ M            ADDRESS ON FILE
AGUILAR PEREZ, ITZEL M.          ADDRESS ON FILE




                                                                             Page 140 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 141 of 3500
                                                                                     Creditor Matrix

Creditor Name                    Address1                      Address2                           Address3   Address4   City         State   PostalCode   Country
AGUILAR PEREZ, MARIA DEL C       ADDRESS ON FILE
AGUILAR PEREZ, MARIA J.          ADDRESS ON FILE
AGUILAR PEREZ, MARIA T           ADDRESS ON FILE
AGUILAR PEREZ, MAYRA M           ADDRESS ON FILE
AGUILAR PEREZ, ROSA L            ADDRESS ON FILE
AGUILAR PILLOT, ANGELIKA         ADDRESS ON FILE
AGUILAR PORRAS, PABLO            ADDRESS ON FILE
Aguilar Quiles, Gilberto         ADDRESS ON FILE
AGUILAR RIVERA, RAMON            ADDRESS ON FILE
AGUILAR RODRIGUEZ, ERNY L        ADDRESS ON FILE
AGUILAR ROMAN, ANNETTE           ADDRESS ON FILE
AGUILAR ROMAN, ELIZABETH         ADDRESS ON FILE
AGUILAR ROSARIO, MARIA D         ADDRESS ON FILE
AGUILAR RUBINO, ALBIS M          ADDRESS ON FILE
AGUILAR SANCHEZ, ALEXANDER       ADDRESS ON FILE
AGUILAR SANCHEZ, ELIZABETH       ADDRESS ON FILE
AGUILAR SANCHEZ, WALESKA         ADDRESS ON FILE
AGUILAR SANTIAGO, JANET          ADDRESS ON FILE
AGUILAR SARTORI, ALFONSO         ADDRESS ON FILE
AGUILAR SERRANO, GIESKA I        ADDRESS ON FILE
AGUILAR SOTO, CARMEN R           ADDRESS ON FILE
Aguilar Soto, Luis G             ADDRESS ON FILE
AGUILAR TOLEDO, JUAN             ADDRESS ON FILE
AGUILAR TORRES, STEPHANIE        ADDRESS ON FILE
AGUILAR TRABAL, CONSUELO         ADDRESS ON FILE
AGUILAR TRABAL, CONSUELO         ADDRESS ON FILE
AGUILAR VALENTIN, FRANCES        ADDRESS ON FILE
AGUILAR VAZQUEZ, ZORAIDA         ADDRESS ON FILE
AGUILAR VELEZ, EDGARD            ADDRESS ON FILE
AGUILAR VELEZ, ISABEL            ADDRESS ON FILE
AGUILAR VELEZ, JOSE F            ADDRESS ON FILE
AGUILAR VELEZ, MARITZA           ADDRESS ON FILE
AGUILAR VELEZ, MARITZA           ADDRESS ON FILE
AGUILAR VELEZ, MILLED P.         ADDRESS ON FILE
AGUILAR VELEZ, XAVIER            ADDRESS ON FILE
AGUILAR VIRUET, YASILKA          ADDRESS ON FILE
AGUILAR VIRUET, YASILKA          LCDO. WENDELL BONILLA VÉLEZ   204 E. MÉNDEZ VIGO                                       MAYAGÜEZ     PR      00680
AGUILAR ZAPATA, ROSANA           ADDRESS ON FILE
AGUILAR, JUAN                    ADDRESS ON FILE
AGUILAR, WALDEMAR                ADDRESS ON FILE
AGUILARIVERA, ESTHER             ADDRESS ON FILE
AGUILAZOCHO GUTIERREZ, JESUS A   ADDRESS ON FILE
AGUILAZOCHO SANCHEZ, BELIANT     ADDRESS ON FILE
AGUILAZOCHO SANCHEZ, JESUS       ADDRESS ON FILE
AGUILERA CASIANO, JOSE           ADDRESS ON FILE
AGUILERA ESTRADA, EDGAR          ADDRESS ON FILE
AGUILERA FLETES, CONCEPCION      ADDRESS ON FILE
Aguilera Franco, Carlos A        ADDRESS ON FILE
AGUILERA MD, MARIBEL             ADDRESS ON FILE
AGUILERA MERCADO, HANEL          ADDRESS ON FILE
AGUILERA MONTALVO, LISSETTE      ADDRESS ON FILE
AGUILERA NAZARIO, THELMA R       ADDRESS ON FILE
AGUILERA NAZARIO, WANDA I        ADDRESS ON FILE
Aguilera Nazario, Wanda I        ADDRESS ON FILE
AGUILERA OJEDA, RAQUEL           ADDRESS ON FILE
AGUILERA OJEDA, REBECA           ADDRESS ON FILE
AGUILERA RIVERA, JORGE           ADDRESS ON FILE
AGUILERA RODRIGUEZ, LUZ E        ADDRESS ON FILE
Aguilera Tirado, Jose E          ADDRESS ON FILE
AGUILERA TROYANO, INGRID M       ADDRESS ON FILE




                                                                                    Page 141 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 142 of 3500
                                                                                     Creditor Matrix

Creditor Name                      Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
AGUILERA TROYANO, INGRID M         ADDRESS ON FILE
AGUILERAS SIERRA PLUMBING INC      PALACIOS DEL RIO I        CALLE TANAMA BOX 426                                       TOA ALTA     PR      00953
AGUILLO LOURIDO, WILMA I.          ADDRESS ON FILE
AGUILLO PAGAN, GABRIELA            ADDRESS ON FILE
AGUILO BIRRIEL, ZOE M.             ADDRESS ON FILE
AGUILO BRAU, JOSE                  ADDRESS ON FILE
AGUILO FERMAINT, NICOLE            ADDRESS ON FILE
AGUILO LANG, JAVIER                ADDRESS ON FILE
AGUILO LOURIDO, SHEILA             ADDRESS ON FILE
AGUILO LOURIDO, WANDA              ADDRESS ON FILE
AGUILO MARTE, MIGUEL A             ADDRESS ON FILE
AGUILO PICO, MARIA                 ADDRESS ON FILE
AGUILO RIVERA, MARIA               ADDRESS ON FILE
AGUILO RODRIGUEZ, LOURDES X.       ADDRESS ON FILE
AGUILO VELEZ, LUIS                 ADDRESS ON FILE
AGUILOMARTE, MIGUEL                ADDRESS ON FILE
AGUILU APONTE, GABRIEL             ADDRESS ON FILE
AGUILU ATILES, VANESSA             ADDRESS ON FILE
AGUILU BAEZ, MILAGROS              ADDRESS ON FILE
AGUILU BAEZ, SHIRLEY               ADDRESS ON FILE
Aguilu De Rodriguez, Gloria        ADDRESS ON FILE
AGUILU ESTRADA, GLORIA             ADDRESS ON FILE
AGUILU ESTRADA, JOSE               ADDRESS ON FILE
AGUILU GONZALEZ, JOSE              ADDRESS ON FILE
AGUILU HERNANDEZ, MARIA T          ADDRESS ON FILE
AGUILU LAVALETT, DALILA E.         ADDRESS ON FILE
AGUILU LOPEZ, CARLOS LUIS          ADDRESS ON FILE
AGUILU LOPEZ, CARLOS M.            ADDRESS ON FILE
AGUILU LOPEZ, CATHIA L.            ADDRESS ON FILE
AGUILU LOPEZ, CHRISTIAN            ADDRESS ON FILE
AGUILU LOPEZ, CHRISTIAN            ADDRESS ON FILE
AGUILU LOPEZ, IVAN X.              ADDRESS ON FILE
AGUILU LOPEZ, IVAN X.              ADDRESS ON FILE
AGUILU LOPEZ, YAMILLE              ADDRESS ON FILE
AGUILU MORALES, CARLOS ALFONSO     ADDRESS ON FILE
AGUILU MORALES, CARLOS FRANCISCO   ADDRESS ON FILE
AGUILU REYES, ANA                  ADDRESS ON FILE
AGUILU REYES, MARIBEL              ADDRESS ON FILE
AGUILU RODRIGUEZ, RENE             ADDRESS ON FILE
AGUILU RODRIGUEZ, YVONNE           ADDRESS ON FILE
AGUILU RUIZ, MARILUZ               ADDRESS ON FILE
AGUILU RUIZ, MARISOL               ADDRESS ON FILE
AGUILU VEGA, JORGE A               ADDRESS ON FILE
AGUILU VEGA, JOSE                  ADDRESS ON FILE
AGUILU VEVE, CARLOS J              ADDRESS ON FILE
Aguino Cotto, Alejandro            ADDRESS ON FILE
AGUINO RAMOS, CARMEN E             ADDRESS ON FILE
AGUIRE MD, FRANK                   ADDRESS ON FILE
AGUIRRE BASCO, MARIE O             ADDRESS ON FILE
AGUIRRE CHICO, YADIRA              ADDRESS ON FILE
AGUIRRE COLON, LAURA               ADDRESS ON FILE
AGUIRRE COLON, LUIS                ADDRESS ON FILE
AGUIRRE COLON, MISAEL              ADDRESS ON FILE
AGUIRRE COLON, OLGA                ADDRESS ON FILE
AGUIRRE COQUI BEISBOL INC          BO COQUI                  416 CALLE BETANCES                                         SALINAS      PR      00704
AGUIRRE CORA, DORA                 ADDRESS ON FILE
AGUIRRE CORA, YOLANDA              ADDRESS ON FILE
AGUIRRE CORA, ZULMA                ADDRESS ON FILE
AGUIRRE CORRADINI, FLORENCIA       ADDRESS ON FILE
AGUIRRE COTTO, WANDA               ADDRESS ON FILE




                                                                                    Page 142 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 143 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Aguirre Del Valle, Luis A        ADDRESS ON FILE
AGUIRRE DUEN, FRANCISCO          ADDRESS ON FILE
AGUIRRE DUEN, MIRIAM J.          ADDRESS ON FILE
AGUIRRE ECHEVARRIA, DORIS        ADDRESS ON FILE
AGUIRRE ENCHAUTEGUI, MARYBELLE   ADDRESS ON FILE
AGUIRRE ESQUILIN, AIXA           ADDRESS ON FILE
AGUIRRE FIGUEROA, EDWIN          ADDRESS ON FILE
AGUIRRE FLORES, CARLOS           ADDRESS ON FILE
AGUIRRE FONT, MARIEL             ADDRESS ON FILE
AGUIRRE FRANCO, DOAMEL           ADDRESS ON FILE
AGUIRRE FRANCO, ERICA            ADDRESS ON FILE
AGUIRRE FRANCO, HILDAMARIS       ADDRESS ON FILE
AGUIRRE GARCIA, HECTOR           ADDRESS ON FILE
AGUIRRE GONZALEZ, GREGORIO       ADDRESS ON FILE
AGUIRRE GONZALEZ, HECTOR         ADDRESS ON FILE
AGUIRRE GONZALEZ, NAIXA          ADDRESS ON FILE
AGUIRRE GUZMAN, IVAN J.          ADDRESS ON FILE
AGUIRRE GUZMAN, MARIA            ADDRESS ON FILE
AGUIRRE HERNANDEZ, BIANCA        ADDRESS ON FILE
AGUIRRE LAGUER, GLORIA           ADDRESS ON FILE
AGUIRRE LAGUER, JOSE             ADDRESS ON FILE
AGUIRRE LOPEZ, EVELYN            ADDRESS ON FILE
AGUIRRE LOPEZ, YOLANDA           ADDRESS ON FILE
AGUIRRE MARTINEZ, JORGE          ADDRESS ON FILE
AGUIRRE MD , RICARDO E           ADDRESS ON FILE
AGUIRRE MEDINA, VERONICA         ADDRESS ON FILE
AGUIRRE MELENDEZ, EDDA M         ADDRESS ON FILE
AGUIRRE MONTALVO, IRIS M         ADDRESS ON FILE
AGUIRRE MORALES, ELIZABETH       ADDRESS ON FILE
AGUIRRE MORALES, IRIS            ADDRESS ON FILE
AGUIRRE NUNEZ, JUAN              ADDRESS ON FILE
AGUIRRE OLIVIERI, DAMARIS        ADDRESS ON FILE
AGUIRRE OLIVIERI, DAMARIS        ADDRESS ON FILE
AGUIRRE ORTIZ, LUIS E            ADDRESS ON FILE
AGUIRRE ORTIZ, MARIA             ADDRESS ON FILE
AGUIRRE ORTIZ, MILAGROS          ADDRESS ON FILE
AGUIRRE PENA, EDWIN              ADDRESS ON FILE
Aguirre Pena, Edwin A.           ADDRESS ON FILE
AGUIRRE PEREZ, GABRIELLA         ADDRESS ON FILE
AGUIRRE PILLOT, KARLA            ADDRESS ON FILE
AGUIRRE QUINONES, LUIS A         ADDRESS ON FILE
AGUIRRE RESTO, YOLANDA           ADDRESS ON FILE
AGUIRRE REYES, LESLIE M          ADDRESS ON FILE
AGUIRRE RIOS, DEAN               ADDRESS ON FILE
AGUIRRE RIVERA, ANDRES           ADDRESS ON FILE
AGUIRRE RIVERA, FEDERICO         ADDRESS ON FILE
AGUIRRE RIVERA, MYRTA R          ADDRESS ON FILE
AGUIRRE RODRIGUEZ, FRANCIS       ADDRESS ON FILE
AGUIRRE RODRIGUEZ, GRACIELA      ADDRESS ON FILE
AGUIRRE RODRIGUEZ, NILSA I       ADDRESS ON FILE
AGUIRRE RODRIGUEZ, TAYCHA        ADDRESS ON FILE
AGUIRRE RODRIGUEZ, WANDAI        ADDRESS ON FILE
AGUIRRE ROLDAN, ALEX             ADDRESS ON FILE
AGUIRRE ROSADO, ALFREDO          ADDRESS ON FILE
AGUIRRE ROSADO, DORIS            ADDRESS ON FILE
AGUIRRE SALINAS, CLAUDIO         ADDRESS ON FILE
AGUIRRE SANTIAGO, DIGNA I        ADDRESS ON FILE
AGUIRRE SILVA, JELIMAR           ADDRESS ON FILE
AGUIRRE TIRADO, MIGDALIA         ADDRESS ON FILE
Aguirre Torres, Juan D.          ADDRESS ON FILE




                                                                             Page 143 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 144 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AGUIRRE VARGAS, EDDY                   ADDRESS ON FILE
Aguirre Vargas, Edwin                  ADDRESS ON FILE
AGUIRRE VARGAS, JORGE                  ADDRESS ON FILE
AGUIRRE VARGAS, MAYRA                  ADDRESS ON FILE
AGUIRRE VARGAS, NEREIDA M              ADDRESS ON FILE
Aguirre Vargas, Teodoro                ADDRESS ON FILE
AGUIRRE VAZQUEZ, MARIA DEL P           ADDRESS ON FILE
AGUIRRE VAZQUEZ, ROBERTO               ADDRESS ON FILE
AGUIRRE VEGA, NEREIDA                  ADDRESS ON FILE
AGUIRRE VELAZQUEZ, ITZA                ADDRESS ON FILE
AGUIRRE VELAZQUEZ, JOSE                ADDRESS ON FILE
AGUIRRE VELAZQUEZ, PIO                 ADDRESS ON FILE
AGUIRRE VELAZQUEZ, RICARDO             ADDRESS ON FILE
AGUIRRE, ANA L                         ADDRESS ON FILE
AGULA GUZMAN, HENRY                    ADDRESS ON FILE
AGULLO RODRIGUEZ, ANTONIO              ADDRESS ON FILE
AGUNDEZ, MARIA D                       ADDRESS ON FILE
AGUSTIN A AGUILAR CRESPO               ADDRESS ON FILE
AGUSTIN ADORNO COLON                   ADDRESS ON FILE
AGUSTIN ADORNO OJEDA                   ADDRESS ON FILE
AGUSTIN AGUILAR PANTOJAS               ADDRESS ON FILE
AGUSTIN ALVARADO VEGA                  ADDRESS ON FILE
AGUSTIN ALVAREZ MIRANDA                ADDRESS ON FILE
AGUSTIN B GRATEROLE HERNANDEZ          ADDRESS ON FILE
AGUSTIN BAYON ALEDO                    ADDRESS ON FILE
AGUSTIN BERRIOS ZAYAS                  ADDRESS ON FILE
AGUSTIN BERRIOS ZAYAS                  ADDRESS ON FILE
AGUSTIN BOBONIS CALO                   ADDRESS ON FILE
AGUSTIN CANDELARIO TORRES              ADDRESS ON FILE
AGUSTIN CARDONA NIEVES                 ADDRESS ON FILE
AGUSTIN CARDONA PEREZ DBA YONSUE GAS   STATION POWER COMM INC    HC 2 BOX 12351                                         MOCA         PR      00676
AGUSTIN CARRERA CANTILLO               ADDRESS ON FILE
AGUSTIN CEPEDA SERRANO                 ADDRESS ON FILE
AGUSTIN COLLAZO MOJICA                 ADDRESS ON FILE
AGUSTIN COLLAZO MOJICA                 ADDRESS ON FILE
AGUSTIN COLON COSME                    ADDRESS ON FILE
Agustín Colón Rivera                   ADDRESS ON FILE
AGUSTIN COTTO SANCHEZ                  ADDRESS ON FILE
AGUSTIN CRESPO COLON                   ADDRESS ON FILE
AGUSTIN CRUZ HERNANDEZ                 ADDRESS ON FILE
AGUSTIN D. NIEVES VERGARA              ADDRESS ON FILE
AGUSTIN DEL VALLE DAVILA               ADDRESS ON FILE
AGUSTIN DIAZ TELLEDO                   ADDRESS ON FILE
AGUSTIN E ARELLANO RODRIGUEZ           ADDRESS ON FILE
AGUSTIN ENCARNACION COLON              ADDRESS ON FILE
AGUSTIN F FORTUNO                      ADDRESS ON FILE
AGUSTIN F. SOTO HERNANDEZ              ADDRESS ON FILE
AGUSTIN FLORES ROLDAN                  ADDRESS ON FILE
AGUSTIN GARCIA ACEVEDO                 ADDRESS ON FILE
AGUSTIN GARCIA ACEVEDO                 ADDRESS ON FILE
AGUSTIN GONZALEZ MARTINEZ              ADDRESS ON FILE
AGUSTIN JAIME ADORNO                   ADDRESS ON FILE
AGUSTIN JUSTEL CABRERA                 ADDRESS ON FILE
AGUSTIN LEBRON SEGUI                   ADDRESS ON FILE
AGUSTIN LOPEZ FRANCISCO                ADDRESS ON FILE
AGUSTIN LOPEZ ORTIZ                    ADDRESS ON FILE
AGUSTIN LOZANO                         ADDRESS ON FILE
AGUSTIN LUGO                           ADDRESS ON FILE
AGUSTIN M PEREZ GALAN                  ADDRESS ON FILE
AGUSTIN MAISONET VALENCIA              ADDRESS ON FILE




                                                                                   Page 144 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 145 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                    Address2                      Address3   Address4    City         State   PostalCode   Country
Agustin Marquez Cruz               ADDRESS ON FILE
AGUSTIN MARRERO MARRERO            ADDRESS ON FILE
AGUSTIN MARTI Y ANA E SOLER        ADDRESS ON FILE
AGUSTIN MELENDEZ                   ADDRESS ON FILE
AGUSTIN MONTANEZ ALLMAN            ADDRESS ON FILE
AGUSTIN MONTANEZ ALLMAN            FREDESWIN PEREZ CABALLERO   POBOX 723                                            CAGUAS       PR      00726‐0723
AGUSTIN MORALES RUIZ/CARMEN MORA   ADDRESS ON FILE
AGUSTIN MUJICA NAZARIO             ADDRESS ON FILE
AGUSTIN MULERO CRUZ                ADDRESS ON FILE
AGUSTIN MUNIZ BORRERO              ADDRESS ON FILE
AGUSTIN MUNOZ SANTIAGO             ADDRESS ON FILE
Agustin Oquendo Vendrell           ADDRESS ON FILE
AGUSTIN OTERO MONTALVO             ADDRESS ON FILE
AGUSTIN PARRILLA SANTIAGO          ADDRESS ON FILE
AGUSTIN PEREZ MARTIR               ADDRESS ON FILE
AGUSTIN PONCE DE LEON GONZALEZ     ADDRESS ON FILE
AGUSTIN PUJOLS DE JESUS            ADDRESS ON FILE
AGUSTIN QUINONES LOPEZ             ADDRESS ON FILE
AGUSTIN QUINONEZ ARROYO            ADDRESS ON FILE
AGUSTIN QUINONEZ ARROYO            ADDRESS ON FILE
AGUSTIN RIVERA JIMENEZ             ADDRESS ON FILE
AGUSTIN RIVERA JIMENEZ             ADDRESS ON FILE
AGUSTIN RIVERA JIMENEZ             ADDRESS ON FILE
AGUSTIN RIVERA QUINTANA            ADDRESS ON FILE
AGUSTIN RIVERA SERRANO             ADDRESS ON FILE
AGUSTIN RODRIGUEZ CLADELLAS        ADDRESS ON FILE
AGUSTIN RODRIGUEZ COSME            ADDRESS ON FILE
AGUSTIN RODRIGUEZ NIEVES           ADDRESS ON FILE
AGUSTIN RODRIGUEZ NIEVES           ADDRESS ON FILE
AGUSTIN RODRIGUEZ ROSADO           ADDRESS ON FILE
AGUSTIN RODRIGUEZ VELAZQUEZ        ADDRESS ON FILE
AGUSTIN ROSADO CORREA              ADDRESS ON FILE
AGUSTIN ROSARIO RIVERA             ADDRESS ON FILE
AGUSTIN SANCHEZ FIGUEROA           ADDRESS ON FILE
AGUSTIN TIRADO CRUZ                ADDRESS ON FILE
AGUSTIN VALENTIN VALENTIN          ADDRESS ON FILE
AGUSTIN VELAZQUEZ ALGARIN          ADDRESS ON FILE
AGUSTIN VELIZ CEDENO               ADDRESS ON FILE
AGUSTIN VENTURA TEXEIRA            ADDRESS ON FILE
AGUSTIN VIDAL RIOS                 ADDRESS ON FILE
AGUSTIN VIDAL RIOS                 ADDRESS ON FILE
AGUSTINA LUVIS NUNEZ               ADDRESS ON FILE
AGUSTINA MARIN Y HORACIO MARCANO   ADDRESS ON FILE
AGUSTINA MARTINEZ SANCHEZ          ADDRESS ON FILE
AGUSTINA QUINONES FIGUEROA         ADDRESS ON FILE
AGUSTINA RODRIGUEZ                 ADDRESS ON FILE
AGUSTINA ROSADO SANTOS             ADDRESS ON FILE
AGUSTO GARCIA, RAFAEL              ADDRESS ON FILE
AGUSTY REYES, OLGA E               ADDRESS ON FILE
AGUSTY REYES, OLGA E.              ADDRESS ON FILE
AH GROUP                           PO BOX 220                                                                       JAYUYA       PR      00664
AHA ENGINEERING PSC                533 MIRAMAR AVE                                                                  ARECIBO      PR      00612
AHAMED MUSA, ZAHIA H               ADDRESS ON FILE
AHC CONSULTING CORP                PARC VAN SCOY               F10 CALLE 4                                          BAYAMON      PR      00957‐5879
AHERAN APONTE, MARIBEL             ADDRESS ON FILE
AHIEZER FELICIANO PLAZA            HC 2 BOX 6732                                                                    ADJUNTAS     PR      00601
AHILIS A. REYES MEDINA             ADDRESS ON FILE
AHISHA ROSARIO ROSARIO MAISONET    ADDRESS ON FILE
AHMAD A ALI                        ADDRESS ON FILE
Ahmad Abdalla, Anwar Zuhair        ADDRESS ON FILE




                                                                               Page 145 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 146 of 3500
                                                                                                             Creditor Matrix

Creditor Name                             Address1                                   Address2                             Address3   Address4   City              State   PostalCode   Country
Ahmad Abdalla, Samer Zuhair               ADDRESS ON FILE
AHMAD ABDULAH, ABDULLAH                   ADDRESS ON FILE
AHMAD PEREIRA, YOUSSEF                    ADDRESS ON FILE
AHMED A ALICEA SELLES                     ADDRESS ON FILE
AHMED GALINDEZ, OMAR                      ADDRESS ON FILE
AHMED J ANDUJAR FELIX                     ADDRESS ON FILE
AHMED MOLINA SANCHEZ                      ADDRESS ON FILE
AHMED NANASI Y YAMILA ROSARIO             ADDRESS ON FILE
AHMED RODRIGUEZ RIVERA                    ADDRESS ON FILE
AHMED TECHNOLOGY CORP                     ADDRESS ON FILE
AHMED TECHNOLOGY CORP                     EST DE LA FUENTE                           14 CALLE PRADERA                                           TOA ALTA          PR      00953
AHMED TECHNOLOGY CORP.                    ESTANCIAS DE LA FUENTE L14 CALLE PRADERA                                                              TOA ALTA          PR      00953
AHMED TECHOLOGY CORP                      ADDRESS ON FILE
AHMED TECHOLOGY CORP                      ADDRESS ON FILE
AHMED TECNOLOGY, CORP                     ADDRESS ON FILE
AHMEL GONZALEZ PEREZ                      ADDRESS ON FILE
AHORRIO AVILES, AIXA                      ADDRESS ON FILE
AHORRIO AVILES, AMARILIS                  ADDRESS ON FILE
AHORRIO AVILES, JESUS M                   ADDRESS ON FILE
AHORRIO HUERTAS, IRIS                     ADDRESS ON FILE
AHORRIO MARTINEZ, DELIA E                 ADDRESS ON FILE
AHORRIO TORRES, IRMARELLYS                ADDRESS ON FILE
AHORRIOS MERCED, YARY I.                  ADDRESS ON FILE
Ahorro Muebles                            155 POST SUR                                                                                          MAYAGUEZ          PR      00680
Ahorro Muebles                            Ave. Los Veteranos, #32                                                                               Guayama           PR      00785
Ahorro Muebles                            BO HATO ABAJO CARR 2 KM 80.0                                                                          ARECIBO           PR      00612
AHORRO MUEBLES                            CALLE MAYOL #60                                                                                       PONCE             PR      00730
Ahorro Muebles                            Calle Mayor 60                                                                                        Ponce             PR      00731
Ahorro Muebles                            Calle MJ Cabrero #64                                                                                  San Sebastian     PR      00685
Ahorro Muebles                            Calle Vivaldi Pacheco #19                                                                             Yauco             PR      00658
Ahorro Muebles                            CARR 172                                                                                              CAGUAS            PR      00725
Ahorro Muebles                            Carr. 2, Calle Militar                                                                                Hatillo           PR      00659
AHRENS MD, JOHN                           ADDRESS ON FILE
AHUJA, KISHIN                             ADDRESS ON FILE
AHYMET RIVERA RODRIGUEZ                   ADDRESS ON FILE
AI RIS COMMUNICATIONS INC                 894 AVE MUNOZ RIVERA SUITE 202                                                                        SAN JUAN          PR      00927
AIAS HERNANDEZ, SUSANA                    ADDRESS ON FILE
AIBONITO CENTER OFFICE                    P O BOX 1273                                                                                          AIBONITO          PR      00705
AIBONITO CENTRO OFFICE, INC               PO BOX 1273                                                                                           AIBONITO          PR      00705
AIBONITO OPTICAL                          3 CALLE DEGETAU                                                                                       AIBONITO          PR      00705
AIBONITO RADIOLOGIC CENTER                PO BOX 1497                                                                                           AIBONITO          PR      00705
AIBONITO RED SOX INC                      EXT SAN LUIS                               9 CALLE PERGAMO                                            AIBONITO          PR      00908
AIBONITO SCHOOL SUPPLY INC                PO BOX 546                                                                                            AIBONITO          PR      00905
AIC CONSTRUCTION CORP                     290 SANTA ANA AVE APT 52                                                                              GUAYNABO          PR      00969‐3361
AIC CONSTRUCTION CORP                     290 SANTA ANA AVE APTO 52                                                                             GUAYNABO          PR      00969‐3361
AICA SCHOOL TRANSPORT                     BOX 68                                                                                                AIBONITO          PR      00705
AICA SCHOOL TRANSPORT                     PO BOX 68                                                                                             AIBONITO          PR      00705
AICA SCHOOL TRANSPORT SERV.O LUIS ORTIZ   BOX 68                                                                                                AIBONITO          PR      00705
AICA SCHOOL TRANSPORT SERV.O LUIS ORTIZ   PO BOX 68                                                                                             AIBONITO          PR      00705
AICA SCHOOL TRANSPORT SERVICE INC         PO BOX 68                                                                                             AIBONITO          PR      00705
AICON MECHANICS                           PARQUE INDUSTRIAL GUANAJIBO                4040 CALLE B                                               MAYAGUEZ          PR      00682‐1378
AICON MECHANICS                           PARQUE INDUSTRIAL GUANAJIBO                4040 CALLE B LOTE 26                                       MAYAGUEZ          PR      00682
AICZA PINEIRO MORALES                     ADDRESS ON FILE
AIDA A ALBARRAN QUINONES                  ADDRESS ON FILE
AIDA A GRANA CASANOVA                     ADDRESS ON FILE
AIDA A MATOS GONZALEZ                     ADDRESS ON FILE
AIDA A RAMOS SANTOS                       ADDRESS ON FILE
AIDA A SANTIAGO                           ADDRESS ON FILE
AIDA A. TORRES MORALES                    ADDRESS ON FILE
AIDA ACEVEDO QUINONES                     ADDRESS ON FILE




                                                                                                            Page 146 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 147 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AIDA AGOSTO AGOSTO                       ADDRESS ON FILE
AIDA ALGARIN ARROYO                      ADDRESS ON FILE
AIDA ALMODOVAR LOPEZ                     ADDRESS ON FILE
AIDA ALMODOVAR LOPEZ                     ADDRESS ON FILE
AIDA ALVAREZ RODRIGUEZ                   ADDRESS ON FILE
AIDA ARGUETA/JEANETTE RODRIGUEZ/JANDIR R ADDRESS ON FILE
AIDA ARIAS COLON                         ADDRESS ON FILE
AIDA AYABARRERO RIVERA                   ADDRESS ON FILE
AIDA B HERNANDEZ MUNIZ                   ADDRESS ON FILE
AIDA B TORRES DAVID                      ADDRESS ON FILE
AIDA BARRIOS CASTELLANO                  ADDRESS ON FILE
AIDA BARRIOS CASTELLANO                  ADDRESS ON FILE
AIDA BATISTA COLON                       ADDRESS ON FILE
AIDA BEATO FLORES                        ADDRESS ON FILE
AIDA BENITEZ CARDONA                     ADDRESS ON FILE
AIDA BERDAZCO PAZ                        ADDRESS ON FILE
AIDA BERNARD PAGAN                       ADDRESS ON FILE
AIDA BIRD CANALS                         ADDRESS ON FILE
AIDA BOLOGNE                             ADDRESS ON FILE
AIDA BURGOS / GLORIA ECHEVARRIA Y        ADDRESS ON FILE
AIDA BURGOS FIGUEROA                     ADDRESS ON FILE
AIDA BURGOS ROSARIO                      ADDRESS ON FILE
AIDA BURGOS SANTOS                       ADDRESS ON FILE
AIDA C ALEJANDRO ROBLES                  ADDRESS ON FILE
AIDA C AQUINO QUILES                     ADDRESS ON FILE
AIDA CAMACHO DEL PINO                    ADDRESS ON FILE
AIDA CARAMBOT RUIZ                       ADDRESS ON FILE
AIDA CARRERO VEGA                        ADDRESS ON FILE
AIDA CARRIÓN ANDINO                      ADDRESS ON FILE
AIDA CASTILLO APONTE                     ADDRESS ON FILE
AIDA CEBALLOS MARCANO                    ADDRESS ON FILE
AIDA COLON PINERO                        ADDRESS ON FILE
AIDA COLON SALGADO                       ADDRESS ON FILE
AIDA CRUZ BENITEZ                        ADDRESS ON FILE
AIDA CRUZ MARTINEZ                       ADDRESS ON FILE
AIDA D FONT QUINONES                     ADDRESS ON FILE
AIDA D TORRES MELENDEZ                   ADDRESS ON FILE
AIDA D. CORDERO ROSARIO                  ADDRESS ON FILE
AIDA DE JESUS VILLEGAS                   ADDRESS ON FILE
AIDA DE LOURDES PEREIRA                  ADDRESS ON FILE
AIDA DELGADO SANTOS                      ADDRESS ON FILE
AIDA DIAZ GONZALEZ                       ADDRESS ON FILE
AIDA DIAZ RAMOS                          ADDRESS ON FILE
AIDA DONES NUNEZ                         ADDRESS ON FILE
AIDA DUMEY HERNANDEZ                     ADDRESS ON FILE
AIDA DURAN GONZALEZ                      ADDRESS ON FILE
AIDA E ALEJANDRO BELTRAN                 ADDRESS ON FILE
AIDA E BONILLA ROSADO                    ADDRESS ON FILE
AIDA E BORDON MOYA                       ADDRESS ON FILE
AIDA E CARABALLO                         ADDRESS ON FILE
AIDA E CARABALLO ROSA                    ADDRESS ON FILE
AIDA E CASTRILLON CAMPOS                 ADDRESS ON FILE
AIDA E CASTRILLON CAMPOS                 ADDRESS ON FILE
AIDA E COLON CRUZ                        ADDRESS ON FILE
AIDA E CONCEPCION RIVERA                 ADDRESS ON FILE
AIDA E GONZALEZ MARTINEZ                 ADDRESS ON FILE
AIDA E KARMAN FERNANDEZ                  ADDRESS ON FILE
AIDA E LANDRAU GARCIA                    ADDRESS ON FILE
AIDA E MALAVE RIVERA                     ADDRESS ON FILE
AIDA E MATEO ESPADA                      ADDRESS ON FILE




                                                                                     Page 147 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 148 of 3500
                                                                                           Creditor Matrix

Creditor Name                              Address1                     Address2                        Address3   Address4   City         State   PostalCode   Country
AIDA E MELENDEZ JUARBE                     ADDRESS ON FILE
AIDA E MELENDEZ LOPEZ                      ADDRESS ON FILE
AIDA E MONTANEZ CASTILLO                   ADDRESS ON FILE
AIDA E OLIVO CUSTODIAN/WILFREDO GONZALEZADDRESS ON FILE
AIDA E PEREZ PEREZ                         ADDRESS ON FILE
AIDA E PEREZ PEREZ                         ADDRESS ON FILE
AIDA E RAMOS CRUZ                          ADDRESS ON FILE
AIDA E RIVERA CRUZ                         ADDRESS ON FILE
AIDA E ROMERO GONZALEZ                     ADDRESS ON FILE
AIDA E RUIZ GONZALEZ                       ADDRESS ON FILE
AIDA E. DELGADO HIRALDO                    ADDRESS ON FILE
AIDA E. DELGADO MELENDEZ                   ADDRESS ON FILE
AIDA E. DIAZ RODRIGUEZ                     ADDRESS ON FILE
AIDA E. FELICIANO                          ADDRESS ON FILE
AIDA E. TOSSAS GOMEZ                       ADDRESS ON FILE
AIDA E. TOSSAS GOMEZ                       ADDRESS ON FILE
AIDA ELISA APONTE ORTIZ                    ADDRESS ON FILE
AIDA ENCHAUTEGUI RODRIGUEZ                 ADDRESS ON FILE
AIDA ESTHER NIEVES BALADEJO                FULLANA HERNÁNDEZ, JOSÉ M.   PO BOX 366961                                         SAN JUAN     PR      00936
AIDA ESTHER NIEVES BALADEJO                MELÉNDEZ ARTAU, JORGE        PO BOX 2518                     TOA BAJA   PR         TOA BAJA     PR      00951
AIDA ESTREMERA MERCADO                     ADDRESS ON FILE
AIDA F RIVERA QUINONES                     ADDRESS ON FILE
AIDA FERNANDEZ AYALA                       ADDRESS ON FILE
AIDA FERRER MARTINEZ                       ADDRESS ON FILE
AIDA FIGUEROA RIVERA                       ADDRESS ON FILE
AIDA FONTAN COLON                          ADDRESS ON FILE
AIDA G RODRIGUEZ ROLON                     ADDRESS ON FILE
AIDA G. OSORIO PIZARRO                     ADDRESS ON FILE
AIDA GARCIA                                ADDRESS ON FILE
AIDA GARCIA COLON                          ADDRESS ON FILE
AIDA GARCIA COLON                          ADDRESS ON FILE
AIDA GARCIA ORTIZ MAPFRE/PRAICO RELIABLE F LUIS RIVERA MARTINEZ         RR 17 BOX 11358                                       SAN JUAN     PR      00926‐9499
AIDA GARCIA ORTIZ MAPFRE/PRAICO RELIABLE F MIGUEL PEREZ BURGOS          Apartado 1062                                         Guayama      PR      00785
AIDA GARCIA OTERO                          ADDRESS ON FILE
AIDA GARCIA RENTAS                         ADDRESS ON FILE
AIDA GIROD SOLIVAN                         ADDRESS ON FILE
AIDA GONZALEZ                              ADDRESS ON FILE
AIDA GONZALEZ                              ADDRESS ON FILE
AIDA GONZALEZ ROIG                         ADDRESS ON FILE
AIDA GUTIERREZ ORTIZ                       ADDRESS ON FILE
AIDA H EDWARDS VELAZQUEZ                   ADDRESS ON FILE
AIDA HATCH MARTINEZ                        ADDRESS ON FILE
AIDA HERNANDEZ                             ADDRESS ON FILE
AIDA HERNANDEZ                             ADDRESS ON FILE
AIDA HERNANDEZ GALAN                       ADDRESS ON FILE
AIDA HERNANDEZ RIOS                        ADDRESS ON FILE
AIDA HILDA ROSARIO                         ADDRESS ON FILE
AIDA I BRUNO CASTRO                        ADDRESS ON FILE
AIDA I CASTRO MELENDEZ                     ADDRESS ON FILE
AIDA I COSS GARCIA                         ADDRESS ON FILE
AIDA I DIAZ BAEZ                           ADDRESS ON FILE
AIDA I GARCIA MEDINA                       ADDRESS ON FILE
AIDA I GONZALEZ MOLINA                     ADDRESS ON FILE
AIDA I LUGO RODRIGUEZ                      ADDRESS ON FILE
AIDA I MIRANDA MONTES                      ADDRESS ON FILE
AIDA I NEGRON/ GAZEBO BATEY DEL RECUERDO ADDRESS ON FILE
AIDA I NOLLA OLMO                          ADDRESS ON FILE
AIDA I OCACIO CRUZ                         ADDRESS ON FILE
AIDA I ORTIZ SANCHEZ                       ADDRESS ON FILE
AIDA I PEREZ NEGRON                        ADDRESS ON FILE




                                                                                          Page 148 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 149 of 3500
                                                                                          Creditor Matrix

Creditor Name                     Address1                  Address2                                   Address3             Address4             City             State   PostalCode   Country
AIDA I RAMIREZ ORENSE             ADDRESS ON FILE
AIDA I RIVERA BERRIOS             ADDRESS ON FILE
AIDA I RIVERA MORALES             ADDRESS ON FILE
AIDA I RODRIGUEZ                  ADDRESS ON FILE
AIDA I RODRIGUEZ FIGUEROA         ADDRESS ON FILE
AIDA I RODRIGUEZ RODRIGUEZ        ADDRESS ON FILE
AIDA I RUIZ ANCIANI               ADDRESS ON FILE
AIDA I RUIZ VEGA                  ADDRESS ON FILE
AIDA I SANCHEZ ORTEGA             ADDRESS ON FILE
AIDA I SANCHEZ SANCHEZ            ADDRESS ON FILE
AIDA I SANTORI Y JEANNY SANTORI   ADDRESS ON FILE
AIDA I TIRADO LOPEZ               ADDRESS ON FILE
AIDA I TORRES MARRERO             ADDRESS ON FILE
AIDA I VAZQUEZ CORDOVA            ADDRESS ON FILE
AIDA I VEGA SANTOS                ADDRESS ON FILE
AIDA I VELEZ RODRIGUEZ            ADDRESS ON FILE
AIDA I. APONTE RIVERA             AIDA I. APONTE RIVERA     HC 04 BOX 829927                                                                     AGUAS BUENAS     PR      00703
AIDA I. CORTES RODRIGUEZ          ADDRESS ON FILE
AIDA I. CRUZ RODRIGUEZ            ADDRESS ON FILE
AIDA I. CRUZ ROSARIO              ADDRESS ON FILE
AIDA I. DIAZ PEREZ                ADDRESS ON FILE
AIDA I. PEREZ ERBA                ADDRESS ON FILE
AIDA I. RAMOS ROSARIO             ADDRESS ON FILE
AIDA I. RODRIGUEZ MARRERO         ADDRESS ON FILE
AIDA I. RODRIGUEZ REYES           ADDRESS ON FILE
AIDA I. RODRIGUEZ VELEZ           ADDRESS ON FILE
AIDA I. TRENCHE VEGA              ADDRESS ON FILE
AIDA I. VEGA SANTOS               ADDRESS ON FILE
AIDA IRIS ANDINO VELEZ            ADDRESS ON FILE
AIDA IRIS MARCANO SANCHEZ         ADDRESS ON FILE
AIDA IRIS MUNOZ RODRIGUEZ         ADDRESS ON FILE
AIDA IRIZARRY                     ADDRESS ON FILE
AIDA IRIZARRY GONZALEZ            ADDRESS ON FILE
AIDA IVETTE CRUZ ORTIZ            ADDRESS ON FILE
AIDA J BURGOS COLON               ADDRESS ON FILE
AIDA J JIMENEZ HERNANDEZ          ADDRESS ON FILE
AIDA J. RODRIGUEZ MERCED          ADDRESS ON FILE
AIDA J. RODRIGUEZ MERCED          ADDRESS ON FILE
                                                                                                       1519 Ponce DE LEON   FIRSTBANK BLDNG SUITE
AIDA J. ROSSY CLEMENTE            CARLOS C ALSINA BATISTA   CARLOS ALSINA BATISTA LAW OFFICES PSC      AVE.                 512‐513               SAN JUAN        PR      00909
AIDA JUARBE ALICEA                ADDRESS ON FILE
AIDA JUARBE ALICEA                ADDRESS ON FILE
AIDA L AYENDE DE JESUS            ADDRESS ON FILE
AIDA L BONILLA GUERRA             ADDRESS ON FILE
AIDA L CALIZ CORDERO              ADDRESS ON FILE
AIDA L CANALS PORTALATIN          ADDRESS ON FILE
AIDA L CARO PADILLA               ADDRESS ON FILE
AIDA L CARRERO VEGA               ADDRESS ON FILE
AIDA L CEBALLOS DIAZ              ADDRESS ON FILE
AIDA L COLON TORRES               ADDRESS ON FILE
AIDA L CORCHADO VAZQUEZ           ADDRESS ON FILE
AIDA L CRUZ DECLET                ADDRESS ON FILE
AIDA L DIAZ CRUZ                  ADDRESS ON FILE
AIDA L ESCOBAR ALVAREZ            ADDRESS ON FILE
AIDA L FERNANDEZ PIMENTEL         ADDRESS ON FILE
AIDA L FIGUEROA MARRERO           ADDRESS ON FILE
AIDA L FLECHA SANTANA             ADDRESS ON FILE
AIDA L FUENTES RODRIGUEZ          ADDRESS ON FILE
AIDA L GARCIA                     ADDRESS ON FILE
AIDA L GARCIA CORREA              ADDRESS ON FILE




                                                                                         Page 149 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 150 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AIDA L GARCIA MARTINEZ              ADDRESS ON FILE
AIDA L GONZALEZ BORIA               ADDRESS ON FILE
AIDA L GONZALEZ CARTAGENA           ADDRESS ON FILE
AIDA L GONZALEZ MEDINA              ADDRESS ON FILE
AIDA L GONZALEZ RIOS                ADDRESS ON FILE
AIDA L GONZALEZ ROSADO              ADDRESS ON FILE
AIDA L GUZMAN & FERNANDO H PADRON   ADDRESS ON FILE
AIDA L HERNANDEZ COLON              ADDRESS ON FILE
AIDA L HERNANDEZ RAMIREZ            ADDRESS ON FILE
AIDA L HERNÁNDEZ RODRÍGUEZ          ADDRESS ON FILE
AIDA L ILDEFONSO RODRIGUEZ          ADDRESS ON FILE
AIDA L IRIZARRY VALENTIN            ADDRESS ON FILE
AIDA L LEDEE COLON                  ADDRESS ON FILE
AIDA L MALDONADO COLON              ADDRESS ON FILE
AIDA L MANTILLA SANCHEZ             ADDRESS ON FILE
AIDA L MARCANO RODRIGUEZ            ADDRESS ON FILE
AIDA L MARTINEZ MOLINA              ADDRESS ON FILE
AIDA L MARTINEZ PEREZ               ADDRESS ON FILE
AIDA L MATOS MATOS                  ADDRESS ON FILE
AIDA L MEDINA HIRALDO               ADDRESS ON FILE
AIDA L MENDEZ GONZALEZ              ADDRESS ON FILE
AIDA L MENDEZ MARTINEZ              ADDRESS ON FILE
AIDA L MENDEZ RIVERA                ADDRESS ON FILE
AIDA L MOLINA LUNA                  ADDRESS ON FILE
AIDA L MORALES HERNANDEZ            ADDRESS ON FILE
AIDA L MUNOZ RIVERA                 ADDRESS ON FILE
AIDA L NUNEZ LOPEZ                  ADDRESS ON FILE
AIDA L OLIVO AVILES                 ADDRESS ON FILE
AIDA L ORTIZ DE JESUS               ADDRESS ON FILE
AIDA L PACHECO CASTILLOVEITIA       ADDRESS ON FILE
AIDA L PEREZ FELICIANO              ADDRESS ON FILE
AIDA L PEREZ GOMEZ                  ADDRESS ON FILE
AIDA L PETERSON                     ADDRESS ON FILE
AIDA L PINTO HERRERA                ADDRESS ON FILE
AIDA L QUINONEZ MAYSONET            ADDRESS ON FILE
AIDA L RAMOS DE ARVELO              ADDRESS ON FILE
AIDA L RAMOS MATIAS                 ADDRESS ON FILE
AIDA L RAMOS NIEVES                 ADDRESS ON FILE
AIDA L RAMOS SANCHEZ                ADDRESS ON FILE
AIDA L RESTO RAMOS                  ADDRESS ON FILE
AIDA L REYES DIAZ                   ADDRESS ON FILE
AIDA L REYES VARGAS                 ADDRESS ON FILE
AIDA L RIVERA ORTIZ                 ADDRESS ON FILE
AIDA L RIVERA RIVERA                ADDRESS ON FILE
AIDA L RIVERA SANTIAGO              ADDRESS ON FILE
AIDA L ROBLES ACOSTA                ADDRESS ON FILE
AIDA L RODRIGUEZ GARCIA             ADDRESS ON FILE
AIDA L RODRIGUEZ MANDRY             ADDRESS ON FILE
AIDA L ROMERO ALLEN                 ADDRESS ON FILE
AIDA L ROSADO ECHEVARRIA            ADDRESS ON FILE
AIDA L ROSADO VALENTIN              ADDRESS ON FILE
AIDA L RUIZ SANTOS                  ADDRESS ON FILE
AIDA L SANTANA ORTIZ                ADDRESS ON FILE
AIDA L SANTIAGO DONCELL             ADDRESS ON FILE
AIDA L SOLIVAN LUPIANEZ             ADDRESS ON FILE
AIDA L SOSA GUERRERO                ADDRESS ON FILE
AIDA L TORRES TORRES                ADDRESS ON FILE
AIDA L VALENTIN AROCHO              ADDRESS ON FILE
AIDA L VELEZ SOTO                   ADDRESS ON FILE
AIDA L VILLEGAS ALVAREZ             ADDRESS ON FILE




                                                                                Page 150 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 151 of 3500
                                                                                              Creditor Matrix

Creditor Name                 Address1                          Address2                                   Address3   Address4   City         State   PostalCode   Country
AIDA L. ARBONA DIAZ           LCDO. MARIO J. PORTELA MARTÍNEZ   APARTADO 310                                                     CAGUAS       PR      00726‐0310
AIDA L. AYALA ALVARADO        ADDRESS ON FILE
AIDA L. CALO APONTE           ADDRESS ON FILE
AIDA L. CAPETILLO GONZALEZ    ADDRESS ON FILE
AIDA L. CINTRON RIVERA        ADDRESS ON FILE
AIDA L. DELGADO VILLAFANE     ADDRESS ON FILE
AIDA L. GONZALEZ BORIA        ADDRESS ON FILE
AIDA L. HERNANDEZ CRUZ        ADDRESS ON FILE
AIDA L. MARTINEZ MAYSONET     VILLA NEVAREZ 1027 CALLE 10                                                                        SAN JUAN     PR      00927‐5223
AIDA L. RIVERA TIRADO         ADDRESS ON FILE
AIDA L. RODRIGUEZ RODRIGUEZ   ADDRESS ON FILE
AIDA L. ROMAN MORALES         ADDRESS ON FILE
AIDA L. RUIZ HERNANDEZ        ADDRESS ON FILE
AIDA L. SANABRIA BAERGA       LCDA. YARLENE JIMENEZ ROSARIO     PMB 133 1353 AVE. LUIS VIGOREAUX                                 GUAYNABO     PR      00966‐2700
AIDA L. TAPIA PENALOSA        ADDRESS ON FILE
AIDA L. TORRES CRUZ           ADDRESS ON FILE
AIDA L. UBILES FIGUEROA       ADDRESS ON FILE
AIDA LAPORTE                  ADDRESS ON FILE
AIDA LAPORTE                  ADDRESS ON FILE
AIDA LOPEZ GANDULLA           ADDRESS ON FILE
AIDA LOPEZ QUILES             ADDRESS ON FILE
AIDA LOPEZ VEGA               ADDRESS ON FILE
AIDA LUGO ORTIZ               ADDRESS ON FILE
AIDA LUZ AVILES TORRES        ADDRESS ON FILE
AIDA LUZ BERRIOS GOMEZ        ADDRESS ON FILE
AIDA LUZ ESPADA RIVERA        ADDRESS ON FILE
AIDA LUZ FUSTER MARRERO       ADDRESS ON FILE
AIDA LUZ GONZALEZ HEREIDA     ADDRESS ON FILE
AIDA LUZ LOPEZ RAMIREZ        ADDRESS ON FILE
AIDA LUZ MATOS ROSADO         ADDRESS ON FILE
AIDA LUZ MONTANO ADAMES       ADDRESS ON FILE
AIDA LUZ MUNIZ MALDONADO      ADDRESS ON FILE
AIDA LUZ MUNIZ MALDONADO      ADDRESS ON FILE
AIDA LUZ NIEVES VAZQUEZ       ADDRESS ON FILE
AIDA LUZ ORTIZ VALDES         ADDRESS ON FILE
AIDA LUZ PEREZ RODRIGUEZ      ADDRESS ON FILE
AIDA LUZ RODRIGUEZ ROSARIO    ADDRESS ON FILE
AIDA LUZ TEXIDOR              ADDRESS ON FILE
AIDA M CHEVERE PABON          ADDRESS ON FILE
AIDA M LOPEZ MERCEDES         ADDRESS ON FILE
AIDA M MALDONADO PEREZ        ADDRESS ON FILE
AIDA M MOJICA CEDENO          ADDRESS ON FILE
AIDA M MORALES CRESPO         ADDRESS ON FILE
AIDA M ORTIZ BARRETO          ADDRESS ON FILE
AIDA M ORTIZ CASTRO           ADDRESS ON FILE
AIDA M PEDROGO NUNEZ          ADDRESS ON FILE
AIDA M PEDROGO NUNEZ          ADDRESS ON FILE
AIDA M PI RIVERA              ADDRESS ON FILE
AIDA M PINERO RIVERA          ADDRESS ON FILE
AIDA M RAMIREZ OTERO          ADDRESS ON FILE
AIDA M RIOS SAN MIGUEL        ADDRESS ON FILE
AIDA M RIOS SAN MIGUEL        ADDRESS ON FILE
AIDA M RIVERA MIRANDA         ADDRESS ON FILE
AIDA M RODRIGUEZ RODRIGUEZ    ADDRESS ON FILE
AIDA M SANCHEZ BERRIOS        ADDRESS ON FILE
AIDA M TOLEDO                 ADDRESS ON FILE
AIDA M TORRES RIVERA          ADDRESS ON FILE
AIDA M VELAZQUEZ FERNANDEZ    ADDRESS ON FILE
AIDA M VELEZ VEGA             ADDRESS ON FILE
AIDA M. GONZALEZ COLON        ADDRESS ON FILE




                                                                                            Page 151 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 152 of 3500
                                                                                                    Creditor Matrix

Creditor Name                             Address1                      Address2                                 Address3          Address4   City         State   PostalCode   Country
AIDA M. QUINONES RENTAS                   ADDRESS ON FILE
AIDA M. QUINONES RIVERA                   ADDRESS ON FILE
AIDA M. RODRIGUEZ NUNEZ                   ADDRESS ON FILE
AIDA M. ROMAN COLON                       ADDRESS ON FILE
AIDA M. VELEZ CARDONA                     ADDRESS ON FILE
AIDA M. VELEZ CARDONA                     ADDRESS ON FILE
AIDA MALDONADO BAEZ                       ADDRESS ON FILE
AIDA MARCIAL LOPEZ                        ADDRESS ON FILE
AIDA MARTINEZ LOPEZ                       ADDRESS ON FILE
AIDA MARTINEZ RIVERA                      ADDRESS ON FILE
AIDA MASTACHE RODRIGUEZ                   ADDRESS ON FILE
AIDA MEDINA PEREZ                         ADDRESS ON FILE
AIDA MELENDEZ FALCON                      ADDRESS ON FILE
AIDA MELENDEZ MELENDEZ                    ADDRESS ON FILE
AIDA MICHELLE PI RIVERA                   ADDRESS ON FILE
AIDA MORALES                              ADDRESS ON FILE
AIDA MORALES HERNANDEZ                    ADDRESS ON FILE
Aida Morales Laboy                        ADDRESS ON FILE
AIDA MORALES RIVERA                       ADDRESS ON FILE
AIDA MUNIZ QUINONES                       ADDRESS ON FILE
AIDA MUNIZ RIVERA                         ADDRESS ON FILE
AIDA N DICKSON DIAZ                       ADDRESS ON FILE
AIDA N LUGO VELAZQUEZ                     ADDRESS ON FILE
AIDA N MOLINARY DE LA CRUZ                ADDRESS ON FILE
AIDA N PEREZ CASTRO                       ADDRESS ON FILE
AIDA N RIVERA RIVERA                      ADDRESS ON FILE
AIDA N SANTIAGO ROSAS                     ADDRESS ON FILE
AIDA NANCY SISCO OQUENDO                  ADDRESS ON FILE
AIDA NELLY CRUZ REYES                     ADDRESS ON FILE
AIDA OCASIO CANIZARES                     ADDRESS ON FILE
AIDA OLAN RAMIREZ                         ADDRESS ON FILE
AIDA ORENGO MUNIZ                         ADDRESS ON FILE
AIDA OSORIO MILLAN                        ADDRESS ON FILE
AIDA P ALVARADO CARBONELL                 ADDRESS ON FILE
AIDA PADILLA MUNIZ                        ADDRESS ON FILE
AIDA PADILLA MUNIZ                        ADDRESS ON FILE
AIDA PADILLA MUNIZ                        ADDRESS ON FILE
AIDA PARES OTERO                          ADDRESS ON FILE
AIDA PEREIRA MARTINEZ                     ADDRESS ON FILE
AIDA PEREZ GONZALEZ                       ADDRESS ON FILE
AIDA PEREZ PIZARRO                        ADDRESS ON FILE
AIDA QUI¥ONES ALEJANDRO                   ADDRESS ON FILE
AIDA QUI¥ONES ALEJANDRO                   ADDRESS ON FILE
AIDA R FUENTES JAIMAN                     ADDRESS ON FILE
AIDA R ORTIZ RODRIGUEZ                    ADDRESS ON FILE
AIDA R PABON LOPEZ                        ADDRESS ON FILE
AIDA R RIVERA BAUTISTA                    ADDRESS ON FILE
AIDA R ROSALY BENITEZ/ENVISION ENERGY I   ADDRESS ON FILE
AIDA R SIERRA RAMOS                       ADDRESS ON FILE
AIDA R. CONTRERAS BENITEZ                 ADDRESS ON FILE
AIDA RAMOS LOZADA                         LCDO. LUIS A. BURGOS RIVERA   APARTADO 2464                                                         GUAYAMA      PR      00785
AIDA RAQUEL LOPEZ NUNEZ                   ADDRESS ON FILE
AIDA RAQUEL MORALES PEREZ                 ADDRESS ON FILE
AIDA RENTAS MARTINEZ                      ADDRESS ON FILE
AIDA REYES ROURE                          ADDRESS ON FILE
AIDA RINALDI VDA DE GARCIA                ADDRESS ON FILE
AIDA RIVERA BATISTA                       SRA. AIDA RIVERA BAUTISTA     1498 CAMINO LOS GONZÁLEZ                 APT. 52                      SAN JUAN     PR      00926‐8805
AIDA RIVERA BATISTA Y OTROS (2)           SR. ASSAD EL BURAI FÉLIX      JOSÉ G. PEDREIRA JG‐11                   SÉPTIMA SECCIÓN              TOA BAJA     PR      00949
AIDA RIVERA BATISTA Y OTROS (2)           SRA. AIDA RIVERA BAUTISTA     1498 CAMINO LOS GONZÁLEZ                 APT. 52                      SAN JUAN     PR      00926‐8805




                                                                                                   Page 152 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 153 of 3500
                                                                                              Creditor Matrix

Creditor Name                     Address1                                 Address2                        Address3              Address4   City         State   PostalCode   Country
                                                                                                           CALLE PORTO MAYOR #
AIDA RIVERA BATISTA Y OTROS (2)   SRA. GLADYS IRIZARRY ALICEA              URB. PORTOBELLO                 B‐5                   BOX 920    TOAALTA      PR      00953‐5402
AIDA RIVERA COLON                 ADDRESS ON FILE
AIDA RIVERA LUNA                  ADDRESS ON FILE
AIDA RIVERA OTERO                 ADDRESS ON FILE
AIDA RIVERA SAEZ                  ADDRESS ON FILE
AIDA RIVERA TORRES                ADDRESS ON FILE
AIDA ROBLEDO VAZQUEZ              ADDRESS ON FILE
AIDA ROBLES RAMOS                 ADDRESS ON FILE
AIDA RODRIGUEZ ALONSO             ADDRESS ON FILE
AIDA RODRIGUEZ FIGUEROA           ADDRESS ON FILE
AIDA RODRIGUEZ GONZALEZ           ADDRESS ON FILE
AIDA RODRIGUEZ MERCED             ADDRESS ON FILE
AIDA RODRIGUEZ MUNOZ              ADDRESS ON FILE
AIDA RODRIGUEZ OLIVIERIS          ADDRESS ON FILE
AIDA RODRIGUEZ RODRIGUEZ          ADDRESS ON FILE
AIDA RODRIGUEZ Y ELIAS BAEZ       ADDRESS ON FILE
AIDA ROMAN DURAN                  ADDRESS ON FILE
AIDA ROMAN IGLESIAS               ADDRESS ON FILE
AIDA ROSA SANTOS                  ADDRESS ON FILE
AIDA ROSADO MALDONADO             ADDRESS ON FILE
AIDA ROSARIO JIMENEZ              ADDRESS ON FILE
AIDA RUIZ SERRANO                 ADDRESS ON FILE
AIDA RUIZ SERRANO                 ADDRESS ON FILE
AIDA RUIZ SERRANO                 ADDRESS ON FILE
AIDA S SANTIAGO NIEVES            ADDRESS ON FILE
AIDA S. CARDONA                   ADDRESS ON FILE
AIDA SANCHEZ SANTIAGO             ADDRESS ON FILE
                                                                                                           AVENIDA WINSTON
AIDA SANCHEZ ZABALA Y OTROS       RICARDO IZURIETA ORTEGA; MIGUEL OLMEDO   MSC 914                         CHURCHILL #138                   SAN JUAN     PR      00926
AIDA SANJURJO BURGOS              ADDRESS ON FILE
AIDA SANJURJO BURGOS              ADDRESS ON FILE
AIDA SANTIAGO GONZALEZ            ADDRESS ON FILE
AIDA SANTOS RIVERA                ADDRESS ON FILE
AIDA SOTO HERNANDEZ               ADDRESS ON FILE
AIDA SOTO VELEZ                   ADDRESS ON FILE
AIDA SUAREZ PABON                 ADDRESS ON FILE
AIDA SUAREZ PABON                 ADDRESS ON FILE
AIDA T FUENTES RIVERA             ADDRESS ON FILE
AIDA T MARTINEZ BUTLER            ADDRESS ON FILE
AIDA TORRES APONTE                ADDRESS ON FILE
AIDA TORRES MORALES               ADDRESS ON FILE
AIDA TORRES RODRIGUEZ             ADDRESS ON FILE
AIDA TRABAL MALAVE                ADDRESS ON FILE
AIDA V ORTIZ LUNA                 ADDRESS ON FILE
AIDA V PEREZ MARTINEZ             ADDRESS ON FILE
AIDA VALENTIN MORENO              ADDRESS ON FILE
AIDA VALENTIN MORENO              ADDRESS ON FILE
AIDA VALENTIN MORENO              ADDRESS ON FILE
AIDA VALLES RIVERA                ADDRESS ON FILE
AIDA VARGAS ROSAS                 ADDRESS ON FILE
AIDA VEGA ROSADO                  ADDRESS ON FILE
AIDA VELEZ NIEVES                 ADDRESS ON FILE
AIDA VELEZ ROCHE                  ADDRESS ON FILE
AIDA VICENTY CRUZ                 ADDRESS ON FILE
AIDA VIDRO TRUJILLO               ADDRESS ON FILE
AIDA Y SEMIDEY ANTONETTI          ADDRESS ON FILE
AIDA ZAYAS TORRES                 ADDRESS ON FILE
AIDAL CRUZ ROSADO                 ADDRESS ON FILE
AIDALIS TORRES OLIVERAS           ADDRESS ON FILE




                                                                                             Page 153 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                                Exhibit A-1 - Creditor
                                                                                    Case No.Matrix
                                                                                            17 BK 3283‐LTSPage 154 of 3500
                                                                                                                            Creditor Matrix

Creditor Name                            Address1                                        Address2                                        Address3   Address4   City               State   PostalCode    Country
AIDALIS TORRES OLIVERAS                  ADDRESS ON FILE
AIDALIZ RAMOS VEGA                       ADDRESS ON FILE
AIDAMARI CUEVAS RAMIREZ                  ADDRESS ON FILE
AIDAMARI CUEVAS RAMIREZ                  ADDRESS ON FILE
AIDANY COMUNITY HOME INC.                LMGOTTSCHALK HG‐95 SEPTIMA SECCION LEVITTOWN                                                                          TOA BAJA           PR      00949
AIDELIS CAMPOS MORENO                    ADDRESS ON FILE
AIDELIS MUNOZ VELEZ                      ADDRESS ON FILE
AIDELIS RIVERA RIVERA                    ADDRESS ON FILE
AIDELISA VARGAS NUNEZ                    ADDRESS ON FILE
AIDELIZ RIVERA TORRES                    ADDRESS ON FILE
AIDII MALDONADO ORTIZ                    ADDRESS ON FILE
AIDIMAR SERRANO LOPEZ                    ADDRESS ON FILE
AIDIN D MILLAN SANTIAGO                  ADDRESS ON FILE
AIDINES ABREU MERCADO                    ADDRESS ON FILE
AIDITA CAMACHO MARTINEZ                  ADDRESS ON FILE
AIDSA VALLES ALVAREZ V DEPARTAMENTO DE LANORMAN PIETRI CASTELLON                         2803 BRISAS DE PARQUE ESCORIAL                                        CAROLINA           PR      00987
AIDXA MORENO RAMOS                       ADDRESS ON FILE
AIDYL M RODRIGUEZ TORRES                 ADDRESS ON FILE
AIESEC PUERTO RICO INC                   UPR STATION                                     PO BOX 22989                                                          SAN JUAN           PR      00931
AIF CPA GROUP PSC                        PMB 193                                         B5 TABONUCO ST STE 216                                                GUAYNABO           PR      00968
AIG CONSTRUCCION CORPORATION             PO BOX 9061                                                                                                           PONCE              PR      00732
AIG INSURANCE COMPANY PUERTO RICO        250 MUNOZ RIVERA AVE                            SUITE 500 HATO REY                                                    SAN JUAN           PR      00918
AIG INSURANCE COMPANY PUERTO RICO        250 MUNOZ RIVERA AVE STE 500                                                                                          SAN JUAN           PR      00908
AIG INSURANCE COMPANY PUERTO RICO        P O BOX 10181                                                                                                         SAN JUAN           PR      00908‐1181
AIG Insurance Company‐Puerto Rico        250 MuNoz Rivera Ave.                           American International Plaza, Suite 500                               Hato Rey           PR      00918
AIG Insurance Company‐Puerto Rico        Attn: Agustin Montalvo, Vice President          PO Box 10181                                                          San Juan           PR      90811‐908
AIG Insurance Company‐Puerto Rico        Attn: Carlos Gonzalez, Consumer Complaint Cont PO Box 10181                                                           San Juan           PR      90811‐908
AIG Insurance Company‐Puerto Rico        Attn: Francisco Diaz, Circulation of Risk       PO Box 10181                                                          San Juan           PR      90811‐908
AIG Insurance Company‐Puerto Rico        Attn: Francisco Diaz, President                 PO Box 10181                                                          San Juan           PR      90811‐908
AIG Insurance Company‐Puerto Rico        Attn: Jose Ramos, Premiun Tax Contact           PO Box 10181                                                          San Juan           PR      90811‐908
AIG Insurance Company‐Puerto Rico        Attn: Michelle Lugo, Regulatory Compliance GovePO Box 10181                                                           San Juan           PR      90811‐908
AIG Latin America I.I.                   175 Water Street                                17th Floor                                                            New York           NY      10038
AIG Latin America I.I.                   Attn: Agustin Montalvo, Vice President          PO Box 13355                                                          San Juan           PR      00908
AIG Latin America I.I.                   Attn: Carlos Gonzalez Rodriguez, Annual Stateme PO Box 13355                                                          San Juan           PR      00908
AIG Latin America I.I.                   Attn: Francisco Diaz, President                 PO Box 13355                                                          San Juan           PR      90833‐908
AIG Latin America I.I.                   Attn: Jay Morrow, Actuary                       PO Box 13355                                                          San Juan           PR      00908
AIG Latin America I.I.                   Attn: Ramon Ponte Tapanes, External Auditor     PO Box 13355                                                          San Juan           PR      00908
AIG Latin America I.I.                   Attn: Rene Pinto‐Lugo, Principal Representative PO Box 13355                                                          San Juan           PR      00908
AIG LIFE INS CO                          DEPARTAMENTO DE HACIENDA                                                                                              SAN JUAN           PR      00901
AIG LIFE INSURANCE COMPANY               PO BOX 4373                                                                                                           HOUSTON            TX      77210‐4373
AIG LIFE INSURANCE COMPANY               PO BOX 715898689                                                                                                      SAN JUAN           PR      00936‐8689
AIG LIFE INSURANCE COMPANY               PO BOX 9172                                                                                                           SAN JUAN           PR      00908
AIG MOTORCYCLE CORP                      PO BOX 7121                                                                                                           SAN JUAN           PR      00916‐7121
AIG MOTORCYCLE EXPRESS                   PO BOX 7121                                                                                                           SAN JUAN           PR      00916
AIG PREMIER INSURANCE COMPANY            ONE AIG CENTER                                                                                                        WILMINGTON         DE      19803
AIG Warranty Guard, Inc.                 300 South Riverside Plaza                                                                                             Chicago            IL      60606‐6613
AIG Warranty Guard, Inc.                 Attn: James Mostufi, President                  650 Missouri Ave                                                      Jeffersonville     IN      47130
AIG Warranty Guard, Inc.                 Attn: Mathew Frankel, President                 650 Missouri Ave                                                      Jeffersonville     IN      47130
AIKEN UNIFORM INC                        45 CALLE JOSE DE DIEGO                                                                                                CIDRA              PR      00739
AIKEN UNIFORMS INC                       LCDA. LIZ TRINIDAD RODRÍGUEZ                    43 CALLE BALDORIOTY DE CASTRO                                         CIDRA              PR      00739
AIKEN UNIFORMS INC                       LCDO. LUIS A. PABÓN SANTIAGO                    PO BOX 9944                                                           CIDRA              PR      00739‐09944
AIKEN UNIFORMS, INC                      CALLE JOSE DE DIEGO 345                                                                                               CIDRA              PR      00739
AIKMAN, JOHN                             ADDRESS ON FILE
AILED GONZALEZ RECIO                     ADDRESS ON FILE
AILED RIVERA GARCIA                      ADDRESS ON FILE
AILED RIVERA GARCIA                      ADDRESS ON FILE
AILED RIVERA GARCIA                      ADDRESS ON FILE
AILED V CALDERON CANDELARIO              ADDRESS ON FILE
AILEEB J QUINONES MENDEZ                 ADDRESS ON FILE
AILEEM FEIJOO MARRERO                    ADDRESS ON FILE




                                                                                                                          Page 154 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 155 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AILEEN ACEVEDO                       ADDRESS ON FILE
AILEEN ANDRADES CRUZ                 ADDRESS ON FILE
AILEEN APONTE LOPEZ                  ADDRESS ON FILE
AILEEN AYALA SOTO                    ADDRESS ON FILE
AILEEN CASTELLANO SOSTRE             ADDRESS ON FILE
AILEEN CEBALLOS TRABAL               ADDRESS ON FILE
AILEEN DE LA CRUZ PEREZ              ADDRESS ON FILE
AILEEN DE LA TORRE RIVERA            ADDRESS ON FILE
AILEEN FEBRES GONZALEZ               ADDRESS ON FILE
AILEEN FUENTES APONTE                ADDRESS ON FILE
AILEEN GINORIO HERNANDEZ             ADDRESS ON FILE
AILEEN GONZALEZ GALEANO              ADDRESS ON FILE
AILEEN GONZALEZ GUASP                ADDRESS ON FILE
AILEEN LIZARDI ELIAS                 ADDRESS ON FILE
AILEEN LONERGAN CARRILLO             ADDRESS ON FILE
AILEEN M ALICEA GONZALEZ             ADDRESS ON FILE
AILEEN M GONZALEZ CARRILLO           ADDRESS ON FILE
AILEEN M RIOS HALL                   ADDRESS ON FILE
AILEEN M VEGA BERRIOS                ADDRESS ON FILE
AILEEN MEDINA PINERO                 ADDRESS ON FILE
AILEEN MELENDEZ SUARES               ADDRESS ON FILE
AILEEN MERCADO FIGUEROA              ADDRESS ON FILE
AILEEN MERCADO FIGUEROA              ADDRESS ON FILE
AILEEN MILAGROS MUDAFORT             ADDRESS ON FILE
AILEEN MUNIZ AMARANTE                ADDRESS ON FILE
AILEEN N LABOY GONZALEZ              ADDRESS ON FILE
AILEEN NEGRON CANDELARIO             ADDRESS ON FILE
AILEEN ORTIZ                         ADDRESS ON FILE
AILEEN PENA FERNANDEZ                ADDRESS ON FILE
AILEEN PEREZ POLANCO                 ADDRESS ON FILE
AILEEN PEREZ RAMIREZ                 ADDRESS ON FILE
AILEEN QUINONEZ ORTIZ                ADDRESS ON FILE
AILEEN RAMIREZ CAMACHO               ADDRESS ON FILE
AILEEN REYMUNDI SIERRA               ADDRESS ON FILE
AILEEN RIVERA ORTIZ                  ADDRESS ON FILE
AILEEN RODRIGUEZ GERENA              ADDRESS ON FILE
AILEEN ROSSO Y GABRIEL L CRUZ        ADDRESS ON FILE
AILEEN SANTINI SANTIAGO              ADDRESS ON FILE
AILEEN SOTO DELGADO                  ADDRESS ON FILE
AILEEN SOTO DELGADO                  ADDRESS ON FILE
AILEEN SOTO DELGADO                  ADDRESS ON FILE
AILEEN T BERBERENA MORRIS            ADDRESS ON FILE
AILEEN VELAZQUEZ RIVERA              ADDRESS ON FILE
AILEEN VELEZ DUENO                   ADDRESS ON FILE
AILEEN VELEZ DUENO                   ADDRESS ON FILE
AILEEN VELEZ DUENO                   ADDRESS ON FILE
AILEEN VELEZ DUENO                   ADDRESS ON FILE
AILEEN WILLIAMS PIMENTEL             ADDRESS ON FILE
AILENE J ROSARIO SANTIAGO            ADDRESS ON FILE
AILET MARTINEZ A/C MILLIE SANTIAGO   ADDRESS ON FILE
AILIEN VENTURA ACEVEDO               ADDRESS ON FILE
AILIN LOPEZ ORTIZ                    ADDRESS ON FILE
AILIS MARRERO RODRIGUEZ              ADDRESS ON FILE
AILIS MARRERO RODRIGUEZ              ADDRESS ON FILE
AILKA TORRES ROMAN                   ADDRESS ON FILE
AILSABEL MARRERO COLON               ADDRESS ON FILE
AILY D RIVERA HERNANDEZ              ADDRESS ON FILE
AILYN CURRY                          ADDRESS ON FILE
AILYN GONZALEZ HERNANDEZ             ADDRESS ON FILE
AILYN IRIZARRY ORTIZ                 ADDRESS ON FILE




                                                                                 Page 155 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 156 of 3500
                                                                                                     Creditor Matrix

Creditor Name                            Address1                        Address2                                 Address3   Address4   City                 State   PostalCode   Country
AILYN TROCHE TORRES                      ADDRESS ON FILE
AIM CORP                                 SUITE 326 SENORIAL STATION                                                                     SAN JUAN             PR      00926
AIMAR GALARZA RIVERA                     ADDRESS ON FILE
AIMAR JIMENEZ HERNANDEZ                  ADDRESS ON FILE
AIMAR S ABREU MACEIRA                    ADDRESS ON FILE
AIME CASTELLANO MUNOZ                    ADDRESS ON FILE
AIME CELION, BEATRICE                    ADDRESS ON FILE
AIME GONZALEZ RODRIGUEZ                  ADDRESS ON FILE
AIME JEROME, GERARD R.                   ADDRESS ON FILE
AIME LOPEZ, JACQUES                      ADDRESS ON FILE
AIME WOODBURY FARIÑA MD, MICHAEL         ADDRESS ON FILE
AIMEE ACEVEDO RODRIGUEZ                  ADDRESS ON FILE
AIMEE CRESPO MENDEZ                      ADDRESS ON FILE
AIMEE F RIVERA PARES                     ADDRESS ON FILE
AIMEE I SERRANO                          ADDRESS ON FILE
AIMEE IRLANDA COLON                      ADDRESS ON FILE
AIMEE M ORTIZ RIVERA                     ADDRESS ON FILE
AIMEE MARIT ALVARADO MARTINEZ            ADDRESS ON FILE
AIMEE MARTINEZ SANTIAGO                  ADDRESS ON FILE
AIMEE RUIZ ESTRADA                       ADDRESS ON FILE
AIMEE VEGA COLON                         ADDRESS ON FILE
AIMEE VELEZ RIVERA                       ADDRESS ON FILE
AIMEE VILLAFANE CLAUDIO                  ADDRESS ON FILE
AIMEE Y. SUAREZ MARTINEZ                 ADDRESS ON FILE
AIMEE Z. LUGO ROMAN                      ADDRESS ON FILE
AIMEES JANILLE ECHEVARRIA MEDINA         ADDRESS ON FILE
AIMME YINAT RODRIGUEZ                    ADDRESS ON FILE
AIMS MULTIMEDIA                          DIV. DE RECLAMACIONES           AREA DEL TESORO                                                SAN JUAN             PR      00902‐4140
AIMS MULTIMEDIA                          P O BOX 137                                                                                    MERCEDITA            PR      00715
AINAIRA OLIVIERY JIMENEZ                 ADDRESS ON FILE
AINARA L GARCIA SERRANO                  ADDRESS ON FILE
AINEE J. RODRIGUEZ MUNOZ                 ADDRESS ON FILE
AINEE J. RODRIGUEZ MUNOZ                 ADDRESS ON FILE
AINEE J. RODRIGUEZ MUNOZ                 ADDRESS ON FILE
AINSLIE SOLIS, JOHN K                    ADDRESS ON FILE
AIR CAROLINA INC                         P O BOX 810312                                                                                 CAROLINA             PR      00981‐0312
AIR CHARTER INC DBA AIR FLAMENCO         P.O. BOX 810352                                                                                CAROLINA             PR      00981‐0352
AIR CHILLER MECHANICAL CONSTRUCTOR INC   BOX 4956 PMB 1122                                                                              CAGUAS               PR      00726
AIR CHILLER MECHANICAL CONSTRUCTOR INC   PO BOX 4956                     PBM 1122                                                       CAGUAS               PR      00726‐4956
AIR CHILLER MECHANICAL CONTRUCTORS       PMB 435 HC 01 BOX 29030                                                                        CAGUAS               PR      00725
AIR CON INC                              PMB 181 2135                    CARR. 2 SUITE 15                                               BAYAMON              PR      00959‐5259
AIR CONDITIONING CENTER CORP             574 CALLE DE DIEGO                                                                             SAN JUAN             PR      00924‐3814
AIR CONDITIONING CENTER CORP             URB GONZALEZ SEIJO              574 CALLE DE DIEGO                                             SAN JUAN             PR      00924
AIR CONDITIONING CENTER CORP.            574 AVE DE DIEGO SABANA LLANA                                                                  RIO PIEDRAS          PR      00924‐0000
AIR CONDITIONING CENTER CORP.            CALLE DE DIEGO 574                                                                             SAN JUAN             PR      00924‐0000
AIR CONDITIONING CENTER CORPORATION      574 CALLE DE DIEGO                                                                             SAN JUAN             PR      00924‐3814
AIR CONDITIONING CENTER CORPRATION       CALLE DE DIEGO #574                                                                                                 PR      00924‐3814
AIR CONTROL SYSTEMS CORP                 PO BOX 10000                                                                                   CAYEY                PR      00737‐9601
AIR EXPLOSION                            HC 74 BOX 6832                                                                                 NARANJITO            PR      00719‐7490
AIR EXPRESS INTERNATIONAL                PO BOX 4756                                                                                    CAROLINA             PR      00984
AIR IMPROVEMENT INC                      793 ESTANCIA DEL GOLF                                                                          PONCE                PR      00730
AIR IMPROVEMENT INC                      793 ESTANCIAS DEL GOLF                                                                         PONCE                PR      00730
AIR MASTER AWNING INC                    PO BOX 2097                                                                                    BARCELONETA          PR      00617
AIR MASTER DISTRIBUTOR                   URB CAPARRA TERRACE             1566 AVE AMERICO MIRANDA                                       SAN JUAN             PR      00921
AIR PRODUCTS AND CHEMICALS INC           7201 HAMILTON BLVD                                                                             ALLENTOWN            PA      18195
AIR RESOURCES BOARD                      100 I STREET                    P O BOX 1436                                                   SACRAMENTO           CA      95812‐1436
AIR SYSTEM DELIVERY                      PO BOX 192755                                                                                  SAN JUAN             PR      00919‐2753
AIR TROPICAL COOL INC                    PMB 109 CALLE CALAF 400                                                                        SAN JUAN             PR      00918
AIR TROPICAL COOL INC                    PMB 109 CALLE CULUF 400                                                                        SAN JUAN             PR      00918
AIR VOICE WIRELESS, INC.                 2425 Franklin Road                                                                             Bloomfield Hills     MI      48302




                                                                                                    Page 156 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 157 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                           Address1                                  Address2                                    Address3      Address4   City              State   PostalCode   Country
AIR ZONE CONTRACTORS INC                HERMANAS DAVILAS                          J 18 AVE BETANCES                                                    BAYAMON           PR      00956
AIRA QUINTANA LAUREANO                  ADDRESS ON FILE
AIRAM MOJICA ANDINO                     ADDRESS ON FILE
AIRAM O SANTIAGO TORRES                 ADDRESS ON FILE
AIRANDO TORRES, MARCEL                  ADDRESS ON FILE
AIRANDO TORRES, MICHELLE                ADDRESS ON FILE
AIRANGEL ALTRECHE                       ADDRESS ON FILE
AIRANGEL CRUZ BELTRÁN                   ADDRESS ON FILE
AIRBONE EXPRESS                         30 CENTRAL SECTOR ROAD                                                                                         CAROLINA          PR      00979
AIRBONE SECURITY SERVICES INC           P O BOX 191794                                                                                                 SAN JUAN          PR      00919‐1794
AIRBORNE SECURITY SERVICE INC           PO BOX 191794                                                                                                  SAN JUAN          PR      00919‐1794
AIRBORNE SECURITY SERVICES, INC.        URB. ROOSEVELT CALLE RAFAEL LAMAR 376                                                                          SAN JUAN          PR      00918‐0000
AIR‐CON , INC.                          PMB 181 , 2135 CARRETERA # 2 , SUITE 15                                                                        BAYAMON           PR      00959‐5259
AIRCRAFT TECHNICAL PUBLISHERS           101 SOUTH HILL DRIVE                                                                                           BRISMANE          CA      94005
AIREKO CONSTRUCTION CORP.               P. O. BOX 2128                                                                                                 PONCE             PR      00968‐0000
AIREKO SERVICES & INSTALLATION          P. O. BOX 2128                                                                                                 SAN JUAN          PR      00922‐2128
Aireko Services & Installation Inc      PO Box 2128                                                                                                    San Juan          PR      00922‐2128
AIREKO SERVICES AND INSTALLATIONS INC   P O BOX 2128                                                                                                   SAN JUAN          PR      00922‐2128
AIRELIS COLON VELLON                    ADDRESS ON FILE
AIRES BUENOS LLC                        1503 CALLE LOIZA LOCAL D                                                                                       SAN JUAN          PR      00911
AIRES DEL MANANTIAL LLC                 P O BOX 1685                                                                                                   TRUJILLO ALTO     PR      00977
AIRISYELINE ORTIZ RIVERA                ADDRESS ON FILE
AIRLYN VAZQUEZ CALDAS                   ADDRESS ON FILE
AIRMOON CONTRACTORS                     HC‐73 BOX 5030                                                                                                 NARANJITO         PR      00719‐9610
AIROPTICS INC.                          PO BOX 10066                                                                                                   LANCASTER         PA      17601‐0056
AIRPORT AVIATION SERVICES INC           PO BOX 1797                                                                                                    SAN JUAN          PR      00628
AIRPORT SHOP                            BASE AEREA MUNIZ                          EDIF CARIBBEAN AIRPORT FACILITIES           OFICINA 200              CAROLINA          PR      00985
AIRPORT SHOPPES AND HOTELS CORP.        PO BOX 6007                                                                                                    SAN JUAN          PR      00914
AIRTECH SOLUTIONS LLC                   500 AVE LOS FILTROS APT 135                                                                                    GUAYNABO          PR      00971‐0000
AIRTEQ SYSTEM                           3224 MOBILE HWY                                                                                                MONTGOMERY        AL      36108‐0000
AISA VICTORERO, MARIA A.                ADDRESS ON FILE
AISA VICTORERO, MARIA A.                ADDRESS ON FILE
AISH RIVERA, NYDIA                      ADDRESS ON FILE
AISHA AMIR MELENDEZ                     ADDRESS ON FILE
AISHA C PAGAN ROMERO                    ADDRESS ON FILE
AISHA I. MIRANDA RIVERA                 ADDRESS ON FILE
AISHA M COLON ZAYAS                     ADDRESS ON FILE
AISHA M. CARRILLO                       ADDRESS ON FILE
AISHA MUNIZ BENITEZ                     ADDRESS ON FILE
AISHA MUNIZ BENITEZ                     ADDRESS ON FILE
AISHA MUNIZ BENITEZ                     ADDRESS ON FILE
AISHA RODRIGUEZ TORRUELLA               ADDRESS ON FILE
AISHA S RIVERA ROMAN                    ADDRESS ON FILE
AISHA TORO DE JESUS                     ADDRESS ON FILE
AISIER A MORALES VALENTIN               ADDRESS ON FILE
AISSA M COLON CRUZ                      ADDRESS ON FILE
AIT TECHNOLOGIES INC                    ADDRESS ON FILE
AITKEN, KIRI                            ADDRESS ON FILE
AITZA E PABON VALENTIN                  ADDRESS ON FILE
AITZA M CAMACHO CHARDON                 ADDRESS ON FILE
AITZA M PEREZ COLLAZO                   ADDRESS ON FILE
AITZA M PEREZ LOPEZ                     ADDRESS ON FILE
AITZA MARQUEZ CADIZ                     ADDRESS ON FILE
AITZA MARRERO DAVILA                    ADDRESS ON FILE
AITZA MUJICA HERNANDEZ                  ADDRESS ON FILE
AITZA NUNEZ ALBINO                      ADDRESS ON FILE
AITZA SANTANA DE LEON                   GENOVEVA VALENTÍN SOTO                    PO BOX 13695                                                         SAN JUAN          PR      00908‐3695
AITZIBER PAGAN CORREA                   ADDRESS ON FILE
AIXA A ROSADO ROSADO                    ADDRESS ON FILE
AIXA A TORT SAADE                       ADDRESS ON FILE




                                                                                                                Page 157 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 158 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AIXA AHORRIO AVILEZ                       ADDRESS ON FILE
AIXA AIMEE MARIANI BERRIOS                ADDRESS ON FILE
AIXA ALERS MARTINEZ                       ADDRESS ON FILE
AIXA ALICEA ACEVEDO                       ADDRESS ON FILE
AIXA ALICEA NAVARRO                       ADDRESS ON FILE
AIXA ALVAREZ RODRIGUEZ                    ADDRESS ON FILE
AIXA APONTE LOPEZ                         ADDRESS ON FILE
AIXA BAEZ VELAZQUEZ                       ADDRESS ON FILE
AIXA BERRIOS RIVERA                       ADDRESS ON FILE
AIXA BONILLA CANDELARIA                   ADDRESS ON FILE
AIXA CARTAGENA OCASIO                     ADDRESS ON FILE
AIXA CLEMENTE                             ADDRESS ON FILE
AIXA COLON RAMOS                          ADDRESS ON FILE
AIXA D MIESES MEJIAS                      ADDRESS ON FILE
AIXA DE LOS ANGELES PEREZ RIVERA          ADDRESS ON FILE
AIXA DIAZ CRESPO                          ADDRESS ON FILE
AIXA DIAZ MERCADO                         ADDRESS ON FILE
AIXA DIAZ MERCADO                         ADDRESS ON FILE
AIXA E OLIVIERI BEAUCHAMP                 ADDRESS ON FILE
AIXA E RAMIREZ LLUCH                      ADDRESS ON FILE
AIXA E SANTIAGO TORRES                    ADDRESS ON FILE
AIXA E. FRETTS MULERO                     ADDRESS ON FILE
AIXA ECHEVARRIA PEREZ                     ADDRESS ON FILE
AIXA ESCOBAR ALEJANDRO                    ADDRESS ON FILE
AIXA FLORES SANTANA                       ADDRESS ON FILE
AIXA FREYTES ANDINO                       ADDRESS ON FILE
AIXA G NUNEZ COTTO                        ADDRESS ON FILE
AIXA HERNANDEZ LOPEZ                      ADDRESS ON FILE
AIXA I MALAVE RODRIGUEZ                   ADDRESS ON FILE
AIXA I PEREZ SOTOMAYOR                    ADDRESS ON FILE
AIXA I RODRIGUEZ HANCE                    ADDRESS ON FILE
AIXA I. LOPEZ MAYA                        ADDRESS ON FILE
AIXA I. MONCLOVA VEGA                     ADDRESS ON FILE
AIXA I. REYES IRIZARRY                    ADDRESS ON FILE
AIXA I. RODRIGUEZ QUI¥ONES                ADDRESS ON FILE
AIXA IBANEZ DEIDA Y JOSE J RUIZ VAZQUEZ   ADDRESS ON FILE
AIXA IRIZARRY                             ADDRESS ON FILE
AIXA IRIZARRY                             ADDRESS ON FILE
AIXA JIMENEZ BETANCOURT                   ADDRESS ON FILE
AIXA L COLON VAZQUEZ                      ADDRESS ON FILE
AIXA L FIGUEROA VAZQUEZ                   ADDRESS ON FILE
AIXA L MELENDEZ BARRIOS                   ADDRESS ON FILE
AIXA LEE COLON VAZQUEZ                    ADDRESS ON FILE
AIXA M CARDONA MARTINEZ                   ADDRESS ON FILE
AIXA M GONZALEZ VARGAS                    ADDRESS ON FILE
AIXA M MANZANO FEBUS                      ADDRESS ON FILE
AIXA M MARIN LABOY                        ADDRESS ON FILE
AIXA M MATOS SANCHEZ                      ADDRESS ON FILE
AIXA M MORALES VALENTIN                   ADDRESS ON FILE
AIXA M MORALES Y RAMON A MORALES          ADDRESS ON FILE
AIXA M ROSARIO RAMOS                      ADDRESS ON FILE
AIXA M SOTO VELEZ                         ADDRESS ON FILE
AIXA M TOLEDO COLON                       ADDRESS ON FILE
AIXA M. RODRIGUEZ GONZALEZ                ADDRESS ON FILE
AIXA M. ROMAN LOZADA                      ADDRESS ON FILE
AIXA M. ROMAN LOZADA                      ADDRESS ON FILE
AIXA MOJICA LOPEZ                         ADDRESS ON FILE
AIXA MORELL PERELLO                       ADDRESS ON FILE
AIXA N MEJIAS MARRERO                     ADDRESS ON FILE
AIXA NAZARIO PANETO                       ADDRESS ON FILE




                                                                                      Page 158 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 159 of 3500
                                                                                                              Creditor Matrix

Creditor Name                            Address1                               Address2                                   Address3   Address4   City                State   PostalCode   Country
AIXA NIEVES AYALA                        ADDRESS ON FILE
AIXA P BURGOS NIEVES                     ADDRESS ON FILE
AIXA QUINONES LORENZO                    ADDRESS ON FILE
AIXA R DIAZ HERNANDEZ                    ADDRESS ON FILE
AIXA R HERNANDEZ VELAZQUEZ               ADDRESS ON FILE
AIXA R MUNIZ CARDONA                     ADDRESS ON FILE
AIXA RIVERA GUASP                        ADDRESS ON FILE
AIXA RIVERA NEGRON                       ADDRESS ON FILE
AIXA RIVERA VELAZQUEZ                    ADDRESS ON FILE
AIXA RODRIGUEZ ORTIZ                     ADDRESS ON FILE
AIXA ROSA FELICIANO                      ADDRESS ON FILE
AIXA ROSA FELICIANO                      ADDRESS ON FILE
AIXA ROSA MEDINA                         ADDRESS ON FILE
AIXA ROSA MEDINA                         ADDRESS ON FILE
AIXA ROSADO CARRILLO                     ADDRESS ON FILE
AIXA ROSARIO RUIZ                        ADDRESS ON FILE
AIXA SOFIA PEREZ MINK                    ADDRESS ON FILE
AIXA SOFIA PEREZ PABON                   ADDRESS ON FILE
AIXA SOFIA PEREZ PABON                   ADDRESS ON FILE
AIXA T RIVERA VARGAS                     ADDRESS ON FILE
AIXA TOLENTINO MIRANDA                   ADDRESS ON FILE
AIXA TORRES RIVERA                       ADDRESS ON FILE
AIXA V ALONSO RUIZ                       ADDRESS ON FILE
AIXA V RIVERA DE JESUS                   ADDRESS ON FILE
AIXA VARGAS MATIAS                       ADDRESS ON FILE
AIXA Y ALEMAN DIAZ                       ADDRESS ON FILE
AIXA Y. DELGADO PINEIRO                  ADDRESS ON FILE
AIXAMAR DIAZ GONZALEZ                    ADDRESS ON FILE
AIXAMAR GONZALEZ MARTINEZ                ADDRESS ON FILE
AIXETTE RAMOS IRIZARRY                   ADDRESS ON FILE
AIZA RIVERA ROSADO                       ADDRESS ON FILE
AJ & ASSOCIATES P S C                    PO BOX 216                                                                                              SAN LORENZO         PR      00754
AJ AIR CONDITIONING                      HC 46 BOX 6050                                                                                          DORADO              PR      00646
AJ AUTO EVARISTO MENDOZ                  HC 58 BOX 13674                                                                                         AGUADA              PR      00602
AJ BUILDERS GROUP INC                    JARDINES REALES SHOPPING               35 CALLE JUAN C BORBON STE 67 PMB 321                            GUAYNABO            PR      00969‐5375
AJ PEST CONTROL & EXTERMINATING INC      URB STA ELVIRA                         L 19 CALLE STA INES                                              CAGUAS              PR      00725
AJ PEST CONTROL AND EXTERMINATING INC    URB SANTA ELVIRA                       L19 CALLE SANTA INES                                             CAGUAS              PR      00725‐3434
AJ STAR DELIVERY                         PO BOX 802                                                                                              CATANO              PR      00963‐0802
AJ STAR DELIVERY INC                     PO BOX 802                                                                                              CATANO              PR      00963
AJ WOODS / JOEL RODRIGUEZ                ADDRESS ON FILE
AJA DELGADO, LORENA                      ADDRESS ON FILE
AJA RIVERA, CARLOS                       ADDRESS ON FILE
AJA RIVERA, CARLOS J.                    ADDRESS ON FILE
AJAJ MATOS, MIRIAM ABDEL                 ADDRESS ON FILE
AJC SOFTWARE INC / J RELIABLE PROSTHETIC P O BOX 336892                                                                                          PONCE               PR      00733‐6892
AJC SOFTWARE INC DBA J RELAIBLE PROSTHET EL TUQUE INDUSTRIAL PARK               LOTE 143                                                         PONCE               PR      00728
AJD SERVICE GROUP , CORP.                MSC 860 WINSTON CHURCHILL AVE. # 138                                                                    SAN JUAN            PR      00926‐6023
AJEJO CRUZ ORTIZ                         ADDRESS ON FILE
AJG INSTALLATION SERVICES CORP           HC 04BOX 5605                                                                                           GUAYNABO            PR      00971
AJL CONTRACTOR                           HC 07 BOX 75773                                                                                         SAN SEBASTIANAN     PR      00685
AJP , LLC                                5900 AVE ISLA VERDE SUITE 2 PMB 448                                                                     CAROLINA            PR      00979
AJS VISUAL SOUND STUDIOS INC             PO BOX 1328                                                                                             BARCELONETA         PR      00617
AKA ELECTRICAL ENGINEERING & CONSTRACTOR BO MARINA                              RAMAL 973 KM 1 06 CALLE 3                                        NAGUABO             PR      00718
AKA ELECTRICAL ENGINEERING & CONSTRACTOR PO BOX 289                                                                                              NAGUABO             PR      00718
AKA ELECTRICAL ENGINEERING& CONTRACTORS P. O. BOX 289                                                                                            NAGUABO             PR      00718‐0000
AKAL SECURITY INC                        PO BOX 1197                                                                                             SANTA CRUZ          CA      87567‐1197
AKBY ROLDOS MATOS                        ADDRESS ON FILE
AKER KVAERNER CARIBE LLP                 RIO CAÐAS INDUSTRIAL PARK              HWY NO. 175                                                      CAGUAS              PR      00725
AKER KVAERNER CARIBE LLP                 RIO CANAS INDUSTRIAL PARK              HWY NO. 175                                                      CAGUAS              PR      00725
AKERMAN SENTERFITT LLP                   666 FIFTH AVE 20TH FLOOR                                                                                NEW YORK            NY      10103




                                                                                                            Page 159 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 160 of 3500
                                                                                                          Creditor Matrix

Creditor Name                              Address1                              Address2                              Address3   Address4   City          State   PostalCode   Country
AKHMETZIGANOV, MARAT                       ADDRESS ON FILE
AKIRE OYOLA ALBINO / EDNA ALBINO BENITEZ   ADDRESS ON FILE
AKM MFG INC                                URB INDUSTRIAL MARIO JULIA            418 CALLE STE 1                                             SAN JUAN      PR      00920‐2005
AKM MFG, INC.                              URB. IND. MARIO JULIA # 418 CALLE A                                                               SAN JUAN      PR      00920‐0000
AKUA                                       1135 AVE JESUS T PINEIRO              PUERTO NUEVO                                                SAN JUAN      PR      00920
AKZO NOBEL PAINTS , LLC                    PO BOX 1858                                                                                       MANATI        PR      00674‐0000
AKZO NOBEL PAINTS , LLC                    PO BOX 366273                                                                                     SAN JUAN      PR      00936‐6273
AKZO NOBEL PAINTS, LLC.                    PO BOX 9179 PLAZA STATION                                                                         CAROLINA      PR      00988
AL ALLEN SANTIAGO TOLLINCHI                ADDRESS ON FILE
AL AMANA CORP                              PO BOX 3313                                                                                       VEGA ALTA     PR      00692‐3313
AL ATTAR MD, LUMA                          ADDRESS ON FILE
AL BALDO INC                               PO BOX 374                                                                                        AIBONITO      PR      00705
AL L MELVIN                                ADDRESS ON FILE
AL MAXIMO DBA JOSE A MEDINA                URB SAN PEDRO                         C 38 CALLE SAN MIGUEL                                       TOA BAJA      PR      00949
AL OFFICE EQUIPMENT INC                    PO BOX 810138                                                                                     CAROLINA      PR      00981
ALAAELDIN ABOUKHEIR ATRACH                 ADDRESS ON FILE
ALABARCES FEBUS, CARMEN                    ADDRESS ON FILE
ALABARCES LOPEZ, MARIA DEL C               ADDRESS ON FILE
ALABARCES LOPEZ, NANCY                     ADDRESS ON FILE
ALADINO AMEZQUITA SEMPRIT                  8283 CALLE RINCONCITO                 SABANA SECA                                                 TOA BAJA      PR      00952
ALADINO DIAZ ROSA                          ADDRESS ON FILE
ALADINO PEREZ MALDONADO                    ADDRESS ON FILE
ALADINO TORRES RIVERA                      ADDRESS ON FILE
ALAGO AYALA, AIDA                          ADDRESS ON FILE
Alago Ayala, Aida L.                       ADDRESS ON FILE
ALAGO AYALA, LUIS A                        ADDRESS ON FILE
ALAGO AYALA, MARIBEL                       ADDRESS ON FILE
ALAGO BONILLA, JOSE                        ADDRESS ON FILE
ALAGO BUTLER, MIGUEL                       ADDRESS ON FILE
ALAGO COLON, GRISELLE                      ADDRESS ON FILE
ALAGO CORDERO, MARGARITA                   ADDRESS ON FILE
ALAGO CRESPO, ISAIAS                       ADDRESS ON FILE
ALAGO CRESPO, LIZ J.                       ADDRESS ON FILE
ALAGO DE JESUS, KIMBERLY                   ADDRESS ON FILE
Alago De La Rosa, Reynaldo                 ADDRESS ON FILE
ALAGO DEL VALLE, JOSE R.                   ADDRESS ON FILE
ALAGO DEL VALLE, JOSE R.                   ADDRESS ON FILE
Alago Feliciano, Jose M.                   ADDRESS ON FILE
ALAGO FLORES, MARILYN                      ADDRESS ON FILE
ALAGO GALARZA, JUAN M                      ADDRESS ON FILE
ALAGO GONZALEZ, BETHZAIDA                  ADDRESS ON FILE
Alago Gonzalez, Juan A                     ADDRESS ON FILE
ALAGO LUCIANO, LUZ N                       ADDRESS ON FILE
ALAGO MARENGO, ALEXANDER                   ADDRESS ON FILE
ALAGO MEDINA, ANID P                       ADDRESS ON FILE
ALAGO MENDEZ, JACKELINE                    ADDRESS ON FILE
ALAGO MERCADO, EVELYN                      ADDRESS ON FILE
ALAGO MERCADO, WILFREDO                    ADDRESS ON FILE
ALAGO MONTALVO, STEVEN                     ADDRESS ON FILE
ALAGO PEREZ, JANET                         ADDRESS ON FILE
ALAGO RAMOS, RAMON L                       ADDRESS ON FILE
ALAGO ROMAN, NANCY                         ADDRESS ON FILE
ALAGO SANTIAGO, IVAN                       ADDRESS ON FILE
ALAGO SERRANO, SHEILY M                    ADDRESS ON FILE
ALAGO SOSA, ANA M                          ADDRESS ON FILE
ALAGO SOTO, EILEEN                         ADDRESS ON FILE
ALAGO VALLE, ANGEL L.                      ADDRESS ON FILE
ALAGO VALLE, ANGEL L.                      ADDRESS ON FILE
ALAGO VARGAS, JAIME                        ADDRESS ON FILE
ALAGO VIRUET, JOSE                         ADDRESS ON FILE




                                                                                                         Page 160 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 161 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                    Address2                      Address3   Address4    City          State   PostalCode   Country
ALAGO, ELSA                    ADDRESS ON FILE
ALAGO, JOSE                    ADDRESS ON FILE
ALAILA SAEZ HORNEDO            ADDRESS ON FILE
ALAIN U RIVERA APONTE          ADDRESS ON FILE
ALAM G SALDANA LOPEZ           ADDRESS ON FILE
ALAMA RODRIGUEZ, EDENMARIE     ADDRESS ON FILE
ALAMEDA ALBINO, PABLO          ADDRESS ON FILE
Alameda Albino, Pablo          ADDRESS ON FILE
ALAMEDA ASENCIO, DIGNA         ADDRESS ON FILE
ALAMEDA BETANCOURT, ALBA       ADDRESS ON FILE
ALAMEDA BLANCO, HECMARIE       ADDRESS ON FILE
ALAMEDA CAMACHO, PEDRO         ADDRESS ON FILE
ALAMEDA CARABALLO, INEABELLE   ADDRESS ON FILE
ALAMEDA CARABALLO, INEABELLE   ADDRESS ON FILE
ALAMEDA CINTRON, NANCY         ADDRESS ON FILE
ALAMEDA CORDERO, JOSE          ADDRESS ON FILE
Alameda Cordero, Modesto       ADDRESS ON FILE
ALAMEDA CRUZ, JOSE             ADDRESS ON FILE
ALAMEDA DROS, AURA             ADDRESS ON FILE
ALAMEDA FIGUEROA, INELDA       ADDRESS ON FILE
ALAMEDA GONZALEZ, JORGE D.     ADDRESS ON FILE
ALAMEDA GONZALEZ, LAURA        ADDRESS ON FILE
ALAMEDA HOSPITAL               8344 CLAIREMONT MESA BLVD   SUITE 201                                            SAN DIEGO     CA      92111
ALAMEDA JUSINO, EDWIN          ADDRESS ON FILE
ALAMEDA JUSINO, RICHARD        ADDRESS ON FILE
ALAMEDA LOPEZ, JENNIFER        ADDRESS ON FILE
ALAMEDA LOZADA, MYRNA          ADDRESS ON FILE
ALAMEDA MADERA, LUZ E          ADDRESS ON FILE
ALAMEDA MALDONADO, MELISSA     ADDRESS ON FILE
ALAMEDA MALDONADO, MELISSA     ADDRESS ON FILE
ALAMEDA MARTINEZ, IRIS L.      ADDRESS ON FILE
ALAMEDA MARTINEZ, ROSE         ADDRESS ON FILE
ALAMEDA MARTINEZ, VICTOR       ADDRESS ON FILE
ALAMEDA MERCADO, DELIA         ADDRESS ON FILE
ALAMEDA MERCADO, ELBA          ADDRESS ON FILE
ALAMEDA MERCADO, WILMA         ADDRESS ON FILE
ALAMEDA NAZARIO, ILIA M        ADDRESS ON FILE
Alameda Negron, Jose L         ADDRESS ON FILE
Alameda Ortiz, Marvin          ADDRESS ON FILE
ALAMEDA ORTIZ, ROBINSON        ADDRESS ON FILE
ALAMEDA OTERO, MARIA V         ADDRESS ON FILE
ALAMEDA PEREZ, LUZ D           ADDRESS ON FILE
ALAMEDA PEREZ, RAYMOND         ADDRESS ON FILE
ALAMEDA RAMIREZ, MIGUEL        ADDRESS ON FILE
ALAMEDA RAMIREZ, MIGUEL R      ADDRESS ON FILE
ALAMEDA RIVERA, JOSEPHINE      ADDRESS ON FILE
ALAMEDA ROBLES, IRIS           ADDRESS ON FILE
ALAMEDA ROBLES, MARIA L.       ADDRESS ON FILE
ALAMEDA RODRIGUEZ, ANGELA R.   ADDRESS ON FILE
Alameda Rodriguez, Jose L      ADDRESS ON FILE
ALAMEDA RODRIGUEZ, JUAN        ADDRESS ON FILE
ALAMEDA ROJAS, JOSE A          ADDRESS ON FILE
ALAMEDA ROLDAN, CARMEN         ADDRESS ON FILE
ALAMEDA ROLDAN, RAMON          ADDRESS ON FILE
ALAMEDA ROMAN, MIGUEL A        ADDRESS ON FILE
ALAMEDA ROMAN, SYLVIA          ADDRESS ON FILE
ALAMEDA ROMERO, RICARDO        ADDRESS ON FILE
ALAMEDA ROSAS, NORMA I         ADDRESS ON FILE
ALAMEDA SANABRIA, HECTOR L.    ADDRESS ON FILE
ALAMEDA VARGAS, BETSY          ADDRESS ON FILE




                                                                           Page 161 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 162 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALAMEDA VARGAS, JOSE          ADDRESS ON FILE
ALAMEDA VAZQUEZ, VANESSA      ADDRESS ON FILE
ALAMEDA VEGA, YARILIZ         ADDRESS ON FILE
ALAMENDA BASORA, VALERIA      ADDRESS ON FILE
ALAMO ACOSTA, SHEILA          ADDRESS ON FILE
ALAMO ADORNO, JIMMIE          ADDRESS ON FILE
ALAMO ADORNO, JOSE            ADDRESS ON FILE
ALAMO ADORNO, NOEMI           ADDRESS ON FILE
ALAMO AGOSTO, CARMEN M        ADDRESS ON FILE
ALAMO AGUAYO, FELICITA        ADDRESS ON FILE
ALAMO ALAMO, ARCADIO M        ADDRESS ON FILE
ALAMO ALAMO, LUCIANO          ADDRESS ON FILE
ALAMO ALICEA, CHRISTIAN       ADDRESS ON FILE
Alamo Alicea, Victor M        ADDRESS ON FILE
ALAMO ALVARADO, BENJAMIN      ADDRESS ON FILE
ALAMO ALVAREZ, MARITZA I      ADDRESS ON FILE
ALAMO ANDINO, LEONARDO        ADDRESS ON FILE
ALAMO ARCE, MELISSA           ADDRESS ON FILE
ALAMO ARRIAGA, AMELINETTE     ADDRESS ON FILE
ALAMO ARRIAGA, NORMARY ANN    ADDRESS ON FILE
Alamo Arroyo, Jadiel A.       ADDRESS ON FILE
ALAMO AVILA,YEIDY             ADDRESS ON FILE
ALAMO BAEZ, JOSE              ADDRESS ON FILE
Alamo Berdecia, Mabel         ADDRESS ON FILE
ALAMO BERRIOS, AIDA           ADDRESS ON FILE
ALAMO BERRIOS, CELIA M        ADDRESS ON FILE
ALAMO BONILLA, RIGOBERTO      ADDRESS ON FILE
ALAMO BRUNO, ADONIS           ADDRESS ON FILE
ALAMO BRUNO, ERNESTO          ADDRESS ON FILE
ALAMO CACERES, JANNETTE       ADDRESS ON FILE
ALAMO CALO, ERICK             ADDRESS ON FILE
ALAMO CALO, MARJORIE          ADDRESS ON FILE
ALAMO CAMPOS, KATHERINE J.    ADDRESS ON FILE
ALAMO CANALES, DOMINGA        ADDRESS ON FILE
ALAMO CARRION, CARMEN O       ADDRESS ON FILE
ALAMO CASIANO, PEDRO L        ADDRESS ON FILE
ALAMO CASTRO, RICHARD         ADDRESS ON FILE
ALAMO CHARBONIER, RUTH        ADDRESS ON FILE
ALAMO COLON, ARACELIS         ADDRESS ON FILE
ALAMO COLON, LUIS             ADDRESS ON FILE
ALAMO COLON, RAFAEL           ADDRESS ON FILE
Alamo Correa, Carlos          ADDRESS ON FILE
Alamo Correa, David           ADDRESS ON FILE
ALAMO CRESPO, JOSE            ADDRESS ON FILE
ALAMO CRUZ, ISABEL            ADDRESS ON FILE
ALAMO CRUZ, OSCAR A           ADDRESS ON FILE
Alamo Cruz, Rosa M            ADDRESS ON FILE
ALAMO CUBA, ALEXANDER         ADDRESS ON FILE
ALAMO CUEVAS, JOSE M          ADDRESS ON FILE
ALAMO CURBELO, MARIA          ADDRESS ON FILE
ALAMO DAVILA, HECTOR L        ADDRESS ON FILE
ALAMO DE ALVAREZ, MARGARITA   ADDRESS ON FILE
ALAMO DE JESUS, BRUNILDA      ADDRESS ON FILE
ALAMO DE JESUS, RAMON         ADDRESS ON FILE
ALAMO DE RIVERA, LUZ A.       ADDRESS ON FILE
ALAMO DEL VALLE, CARMEN L     ADDRESS ON FILE
ALAMO DELGADO, ARACELIS       ADDRESS ON FILE
ALAMO DELVALLE, MARILYN       ADDRESS ON FILE
ALAMO DIAZ, ANTONIO           ADDRESS ON FILE
ALAMO DIAZ, CARMEN M          ADDRESS ON FILE




                                                                          Page 162 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 163 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALAMO DIAZ, GINESCA R           ADDRESS ON FILE
ALAMO DIAZ, JESSICA             ADDRESS ON FILE
ALAMO DIAZ, JOSE                ADDRESS ON FILE
ALAMO DIAZ, MARTA I             ADDRESS ON FILE
ALAMO DIAZ, MIGUEL              ADDRESS ON FILE
ALAMO FELICIANO, RAQUEL         ADDRESS ON FILE
ALAMO FERNANDEZ, ELEUTERIO      ADDRESS ON FILE
Alamo Fernandez, Samuel         ADDRESS ON FILE
ALAMO FIGUEROA, CARMEN          ADDRESS ON FILE
ALAMO FIGUEROA, JOSE            ADDRESS ON FILE
ALAMO FIGUEROA, MAXIMINA        ADDRESS ON FILE
ALAMO FIGUEROA, ZULMA L         ADDRESS ON FILE
ALAMO FLORES, MARIA             ADDRESS ON FILE
ALAMO FLORES, VILMARI           ADDRESS ON FILE
ALAMO FONSECA, DAMARIS          ADDRESS ON FILE
ALAMO FONSECA, RAFAEL           ADDRESS ON FILE
ALAMO FONTANEZ, CARMEN T        ADDRESS ON FILE
ALAMO FONTANEZ, EMILIO          ADDRESS ON FILE
ALAMO GARCIA, SARA E            ADDRESS ON FILE
ALAMO GARCIA, WANDA I           ADDRESS ON FILE
ALAMO GARCIA, WILLIAM           ADDRESS ON FILE
ALAMO GONZALEZ, ANGELICA MARY   ADDRESS ON FILE
ALAMO GONZALEZ, EDDIE           ADDRESS ON FILE
ALAMO GONZALEZ, JULIA           ADDRESS ON FILE
ALAMO GONZALEZ, MARIA           ADDRESS ON FILE
ALAMO GONZALEZ, MARIA E.        ADDRESS ON FILE
ALAMO GONZALEZ, MARIA ESTHER    ADDRESS ON FILE
ALAMO GONZALEZ, TERESA          ADDRESS ON FILE
ALAMO GUADALUPE, MYRNA L        ADDRESS ON FILE
ALAMO GUZMAN, EDWIN             ADDRESS ON FILE
Alamo Guzman, Juan C.           ADDRESS ON FILE
ALAMO GUZMAN, SONIA             ADDRESS ON FILE
ALAMO HERNANDEZ, ELADIO         ADDRESS ON FILE
ALAMO HERNANDEZ, JOSE R         ADDRESS ON FILE
ALAMO HERRANS, MARIA            ADDRESS ON FILE
ALAMO HORNEDO, MARILUZ          ADDRESS ON FILE
ALAMO HORNEDO, MARITZA          ADDRESS ON FILE
ALAMO JACA, ATHENAS             ADDRESS ON FILE
ALAMO LANDRAU, JEANETTE         ADDRESS ON FILE
ALAMO LEON, YAIZA               ADDRESS ON FILE
ALAMO LOPEZ, ANTONIA            ADDRESS ON FILE
ALAMO LOPEZ, ORLANDO            ADDRESS ON FILE
ALAMO LOPEZ, RAMONITA           ADDRESS ON FILE
ALAMO LOPEZ, SYLVIA I           ADDRESS ON FILE
ALAMO LOZADA, DIANA             ADDRESS ON FILE
ALAMO LOZADA, MILAGROS          ADDRESS ON FILE
ALAMO LOZADO, HECTOR            ADDRESS ON FILE
ALAMO MALDONADO MD, ZACARIAS    ADDRESS ON FILE
ALAMO MARRERO, ISIDORA          ADDRESS ON FILE
ALAMO MARRERO, MYRNA L.         ADDRESS ON FILE
ALAMO MARTINEZ, JOSE V          ADDRESS ON FILE
ALAMO MARTINEZ, JULIA A         ADDRESS ON FILE
ALAMO MARTINEZ, KYRIA           ADDRESS ON FILE
ALAMO MARTINEZ, LILIANA         ADDRESS ON FILE
ALAMO MARTINEZ, MIRNA           ADDRESS ON FILE
ALAMO MARTINEZ, SONIA           ADDRESS ON FILE
ALAMO MEDINA, SARA              ADDRESS ON FILE
ALAMO MELECIO, CARMEN N.        ADDRESS ON FILE
ALAMO MELENDEZ, JOSE            ADDRESS ON FILE
ALAMO MILLAN, MONICA            ADDRESS ON FILE




                                                                            Page 163 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 164 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALAMO MONTALVO, ROSA J     ADDRESS ON FILE
ALAMO MONTANEZ, IGSA I.    ADDRESS ON FILE
ALAMO MONTAQEZ, MIRIAM     ADDRESS ON FILE
ALAMO MONTE, MARGARITA     ADDRESS ON FILE
ALAMO MORALES, ANGEL S     ADDRESS ON FILE
ALAMO MORALES, EMMA E      ADDRESS ON FILE
ALAMO MORALES, SOCORRO     ADDRESS ON FILE
ALAMO MORALES,LUIS E.      ADDRESS ON FILE
ALAMO MORENO, CARMEN       ADDRESS ON FILE
ALAMO NARVAEZ, JANIEL      ADDRESS ON FILE
ALAMO NEGRON, BENJAMIN     ADDRESS ON FILE
ALAMO NIEVES, ANA HILDA    ADDRESS ON FILE
ALAMO NIEVES, OLGA         ADDRESS ON FILE
ALAMO NIEVES, OLGA I       ADDRESS ON FILE
Alamo Nieves, Victor M     ADDRESS ON FILE
ALAMO ORLANDO, ARELIS      ADDRESS ON FILE
Alamo Ortiz, Carmen        ADDRESS ON FILE
ALAMO ORTIZ, MARITZA       ADDRESS ON FILE
Alamo Otero, Norberto      ADDRESS ON FILE
ALAMO PAGAN, LISSANDRA     ADDRESS ON FILE
ALAMO PARRILLA, VICTOR     ADDRESS ON FILE
ALAMO PENA, ARNALDO        ADDRESS ON FILE
ALAMO PENA, ELIZABETH      ADDRESS ON FILE
ALAMO PEREZ, JESUS         ADDRESS ON FILE
Alamo Perez, Jose A        ADDRESS ON FILE
ALAMO PEREZ, JUSTINO       ADDRESS ON FILE
ALAMO PEREZ, LUZ M         ADDRESS ON FILE
ALAMO PEREZ, RAMONA        ADDRESS ON FILE
ALAMO PEREZ, SIRI          ADDRESS ON FILE
ALAMO QUINONES, IMEEC      ADDRESS ON FILE
ALAMO QUINONES, IMEEC      ADDRESS ON FILE
ALAMO QUINONES, MELANIE    ADDRESS ON FILE
ALAMO RAMIREZ, JESUS A.    ADDRESS ON FILE
Alamo Ramos, Carmen E.     ADDRESS ON FILE
ALAMO RAMOS, MARIA         ADDRESS ON FILE
ALAMO RAMOS, WANDA I       ADDRESS ON FILE
ALAMO REYES, CARMEN        ADDRESS ON FILE
ALAMO REYES, CESAR         ADDRESS ON FILE
ALAMO REYES, CLARIS V.     ADDRESS ON FILE
ALAMO REYES, JOSE M.       ADDRESS ON FILE
ALAMO REYES, KELVIN        ADDRESS ON FILE
ALAMO REYES, MAGDALENA     ADDRESS ON FILE
ALAMO REYES, RAFAEL        ADDRESS ON FILE
ALAMO RIVERA, ADA E        ADDRESS ON FILE
ALAMO RIVERA, EDGARDO      ADDRESS ON FILE
ALAMO RIVERA, EDGARDO      ADDRESS ON FILE
ALAMO RIVERA, EVA          ADDRESS ON FILE
ALAMO RIVERA, HECTOR M     ADDRESS ON FILE
ALAMO RIVERA, JOSE         ADDRESS ON FILE
ALAMO RIVERA, LUIS V       ADDRESS ON FILE
ALAMO RIVERA, MARIA        ADDRESS ON FILE
Alamo Rivera, Miguel       ADDRESS ON FILE
ALAMO RIVERA, MIGUEL       ADDRESS ON FILE
ALAMO RIVERA, NAIHOMY      ADDRESS ON FILE
ALAMO RIVERA, SARA         ADDRESS ON FILE
ALAMO RODRIGUEZ, ANA M     ADDRESS ON FILE
ALAMO RODRIGUEZ, CARMEN    ADDRESS ON FILE
Alamo Rodriguez, Edgardo   ADDRESS ON FILE
ALAMO RODRIGUEZ, EDGARDO   ADDRESS ON FILE
ALAMO RODRIGUEZ, IGRAIN    ADDRESS ON FILE




                                                                       Page 164 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 165 of 3500
                                                                                          Creditor Matrix

Creditor Name                            Address1                         Address2                     Address3   Address4   City          State   PostalCode   Country
ALAMO RODRIGUEZ, JOSE                    ADDRESS ON FILE
ALAMO RODRIGUEZ, KATHERINE               ADDRESS ON FILE
ALAMO RODRIGUEZ, LUIS                    ADDRESS ON FILE
ALAMO RODRIGUEZ, MARIA                   ADDRESS ON FILE
ALAMO RODRIGUEZ, MILTON                  ADDRESS ON FILE
ALAMO RODRIGUEZ, RAFAEL                  ADDRESS ON FILE
ALAMO RODRIGUEZ, RICARDO J               ADDRESS ON FILE
ALAMO ROHENA, BENJAMIN                   ADDRESS ON FILE
ALAMO ROMAN, LUIS                        ADDRESS ON FILE
ALAMO ROMAN, SOL M                       ADDRESS ON FILE
ALAMO ROMERO, HADASHA                    ADDRESS ON FILE
ALAMO ROSARIO, RAFAEL                    ADDRESS ON FILE
ALAMO ROSARIO, RUTH E                    ADDRESS ON FILE
ALAMO RUIZ, WANDA                        ADDRESS ON FILE
ALAMO SALGADO, MARITZA                   ADDRESS ON FILE
ALAMO SAMOT, JOSE A                      ADDRESS ON FILE
ALAMO SANCHEZ, FRANCISCA                 ADDRESS ON FILE
Alamo Sanchez, Vanessa                   ADDRESS ON FILE
Alamo Santana, Edgardo                   ADDRESS ON FILE
Alamo Santiago, Caroline                 ADDRESS ON FILE
ALAMO SANTIAGO, GIOVANNA                 ADDRESS ON FILE
ALAMO SANTIAGO, MIGUEL                   ADDRESS ON FILE
ALAMO SANTIAGO,KELLY                     ADDRESS ON FILE
ALAMO SANTOS, JOHANNA I                  ADDRESS ON FILE
ALAMO SANTOS, NOELIA                     ADDRESS ON FILE
Alamo Santos, Yoanitza                   ADDRESS ON FILE
ALAMO SEPULVEDA MD, ISABEL               ADDRESS ON FILE
ALAMO SERRANO, LAURA E                   ADDRESS ON FILE
ALAMO SERRANO, LYDIA E                   ADDRESS ON FILE
ALAMO SIERRA, LILLIAM                    ADDRESS ON FILE
ALAMO SIERRA, MILCA                      ADDRESS ON FILE
ALAMO TAVAREZ, ANIBAL                    ADDRESS ON FILE
ALAMO TELLES, LUIS                       ADDRESS ON FILE
ALAMO TIRADO, JOSE                       ADDRESS ON FILE
ALAMO TIRADO, JOSE A.                    ADDRESS ON FILE
ALAMO TORRES, CARMEN M                   ADDRESS ON FILE
ALAMO TORRES, JESUS                      ADDRESS ON FILE
ALAMO TORRES, MILTON                     ADDRESS ON FILE
ALAMO TORRES, NEYSHA                     ADDRESS ON FILE
ALAMO UMPIERRE, EDUARDO                  ADDRESS ON FILE
ALAMO VAZQUEZ, CARMEN I                  ADDRESS ON FILE
ALAMO VELAZQUEZ, ADILIA                  ADDRESS ON FILE
ALAMO VELAZQUEZ, CARMEN                  ADDRESS ON FILE
ALAMO VELAZQUEZ, CARMEN                  ADDRESS ON FILE
ALAMO VELAZQUEZ, PRISCILA                ADDRESS ON FILE
ALAMO VELAZQUEZ, ROSANNA                 ADDRESS ON FILE
ALAMO VELEZ, ABIGAIL                     ADDRESS ON FILE
ALAMO VELEZ, AITZA                       ADDRESS ON FILE
ALAMO VELEZ, IDALIA                      ADDRESS ON FILE
ALAMO VIERA, ESTELA                      ADDRESS ON FILE
ALAMO VIERA, LUZ N                       ADDRESS ON FILE
ALAMO VILLANUEVA, SARA E                 ADDRESS ON FILE
ALAMO VINALES, JOSE J.                   ADDRESS ON FILE
ALAMO WILSON, NORBERTO                   ADDRESS ON FILE
ALAMO, ANA ESTHER                        ADDRESS ON FILE
ALAMO, CARELISSE                         ADDRESS ON FILE
ALAMO, LUIS A.                           ADDRESS ON FILE
ALAN ALEXIS GUTIERREZ VALLE              LCDO. IVANDELUIS MIRANDA VELEZ   APARTADO 565                                       AGUADILLA     PR      00605
ALAN CARLOS MEDINA COLON                 ADDRESS ON FILE
ALAN F MARRERO RIVERA, ALANA RIVERA CRUZ ADDRESS ON FILE




                                                                                         Page 165 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 166 of 3500
                                                                                           Creditor Matrix

Creditor Name                          Address1                  Address2                               Address3   Address4   City         State   PostalCode   Country
ALAN F RUIZ MAURAS                     ADDRESS ON FILE
ALAN F. RODRIGUEZ ROSA                 ADDRESS ON FILE
ALAN FERNANDO RODRIGUEZ                ADDRESS ON FILE
ALAN G BATLLE PICHARDO                 ADDRESS ON FILE
ALAN J ACEVEDO SANCHEZ                 ADDRESS ON FILE
ALAN J AYALA ROSADO                    ADDRESS ON FILE
ALAN LINARES RODRIGUEZ                 ADDRESS ON FILE
ALAN MIRANDA VELAZQUEZ                 ADDRESS ON FILE
ALAN SALGADO MERCADO                   ADDRESS ON FILE
ALANA BRAND FIGUEROA                   ADDRESS ON FILE
ALANA CANTO GUZMAN/ ANALI GUZMAN       ADDRESS ON FILE
ALANA CARRASQUILLO GARCIA              ADDRESS ON FILE
ALANA M MUNOZ ACEVEDO                  ADDRESS ON FILE
ALANA MEDINA ESCOBAR                   ADDRESS ON FILE
ALANCASTRO BURGOS, RAMON L             ADDRESS ON FILE
ALANCASTRO BURGOS, RAMON L.            ADDRESS ON FILE
Alancastro Miranda, Daniel             ADDRESS ON FILE
ALANCASTRO MIRANDA, MELVIN             ADDRESS ON FILE
ALANCASTRO RIVERA, JORGE               ADDRESS ON FILE
ALANNA CANTO GUZMAN A/C HNALI GUZMAN   ADDRESS ON FILE
ALARCON ARROYO, CHRISTOPHER            ADDRESS ON FILE
ALARCON BARON, YOLANDA                 ADDRESS ON FILE
ALARCON BARONN, YOLANDA                ADDRESS ON FILE
ALARCON BENITEZ, ALEX                  ADDRESS ON FILE
ALARCON CASILLAS, ALEXIS               ADDRESS ON FILE
ALARCON MD, RENE                       ADDRESS ON FILE
ALARCON MELENDEZ, EFRAIN               ADDRESS ON FILE
ALARCON MILLET, JOLISSE                ADDRESS ON FILE
ALARCON ORTIZ, JOSE                    ADDRESS ON FILE
Alarcon Ortiz, Jose L                  ADDRESS ON FILE
ALARCON TARAZONA, NOVIZ                ADDRESS ON FILE
ALARCON TARAZONA, NOVIZ Y.             ADDRESS ON FILE
ALARIK E ESTEVES DE JESUS              ADDRESS ON FILE
ALARIK E. ESTEVES DE JESUS             ADDRESS ON FILE
ALARMAS COMPUTARIZADAS INC             URB CONSTANCIA            2656 BLVD LUIS A FERRE                                       PONCE        PR      00717
ALAS THERAPY GROUP, LLC                1360 AVE MONTE CARLO      APT 286                                                      SAN JUAN     PR      00924
ALASES CORPORATION                     URB. REGIONAL             11‐L‐2                                                       ARECIBO      PR      00612
ALAVA DEL VALLE, KATHERINE             ADDRESS ON FILE
ALAVA DEL VALLE, KATHERINE             ADDRESS ON FILE
ALAYAN CUEVAS, DELMAN                  ADDRESS ON FILE
ALAYON ALVAREZ, DORIS M.               ADDRESS ON FILE
ALAYON ANTA MD, GERARDO                ADDRESS ON FILE
ALAYON BETANCOURT, ANA I               ADDRESS ON FILE
ALAYON BETANCOURT, CARLOS              ADDRESS ON FILE
ALAYON BETANCOURT, MARIANA             ADDRESS ON FILE
Alayon Castillo, Amado                 ADDRESS ON FILE
Alayon Castillo, Josue                 ADDRESS ON FILE
ALAYON CASTILLO, JOSUE                 ADDRESS ON FILE
ALAYON DEL VALLE, JAVIER               ADDRESS ON FILE
ALAYON ENGINEERING SERVICES            PO BOX 4414                                                                            CAROLINA     PR      00984
ALAYON ENGINEERING SERVICES PSC        PO BOX 4414                                                                            CAROLINA     PR      00984‐4414
ALAYON FERNANDEZ, LUIS                 ADDRESS ON FILE
ALAYON GONZALEZ, SHEYLA M              ADDRESS ON FILE
Alayon Hernandez, Israel               ADDRESS ON FILE
ALAYON MARTINEZ, CARLOS A              ADDRESS ON FILE
ALAYON MD, GERARDO                     ADDRESS ON FILE
ALAYON MORALES, JOSE                   ADDRESS ON FILE
ALAYON MORELL, ROCIO                   ADDRESS ON FILE
ALAYON OCASIO, JUAN                    ADDRESS ON FILE
ALAYON PENA, ANGEL                     ADDRESS ON FILE




                                                                                          Page 166 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 167 of 3500
                                                                                       Creditor Matrix

Creditor Name                            Address1                         Address2                  Address3    Address4      City           State   PostalCode   Country
ALAYON RIVERA, CARLOS                    ADDRESS ON FILE
ALAYON RIVERA, CLAUDIA                   ADDRESS ON FILE
ALAYON RIVERA, HILDA M                   ADDRESS ON FILE
ALAYON RIVERA, JAVIER                    ADDRESS ON FILE
ALAYON RIVERA, SERGIO M.                 ADDRESS ON FILE
ALAYON ROSARIO, MARCIA                   ADDRESS ON FILE
ALAYON SERRANO, MARIANA                  ADDRESS ON FILE
ALAYON TOLEDO, NELSON                    ADDRESS ON FILE
ALAYON TOLEDO, NELSON                    ADDRESS ON FILE
ALAYON TORRES, RAFAEL                    ADDRESS ON FILE
ALAYON TORRES, RAFAEL                    ADDRESS ON FILE
ALAYON TRAVERZO, ISRAEL                  ADDRESS ON FILE
ALB INC REPRESENTANTE TAU ELECTRIC INC   16 AVENIDA LAS CUMBRES STE 400                                                       GUAYNABO       PR      00969
ALBA A ARCE CRUZ                         ADDRESS ON FILE
ALBA ACEVEDO VAZQUEZ                     ADDRESS ON FILE
ALBA BAEZ AYALA                          ADDRESS ON FILE
ALBA BERRIOS SANTIAGO                    ADDRESS ON FILE
ALBA C GUZMAN MIESES                     ADDRESS ON FILE
ALBA C GUZMAN MIESES                     ADDRESS ON FILE
ALBA C GUZMAN MIESES                     ADDRESS ON FILE
ALBA C TURPEAU MARTINEZ                  ADDRESS ON FILE
ALBA CARABALLO PACHECO                   ADDRESS ON FILE
ALBA CARBALLO, MARIO                     ADDRESS ON FILE
ALBA CARDONA ROSADO                      ADDRESS ON FILE
ALBA CESINO BENITEZ                      ADDRESS ON FILE
ALBA CORDERO LOPEZ                       ADDRESS ON FILE
ALBA D GONZALEZ VILLANUEVA               ADDRESS ON FILE
ALBA D NEVAREZ FONTAN                    ADDRESS ON FILE
ALBA DAVILA ROMAN                        ADDRESS ON FILE
ALBA DAVILA, FIDEL                       ADDRESS ON FILE
ALBA DAVILA, FIDEL A                     ADDRESS ON FILE
ALBA DE LEON QUINONES                    ADDRESS ON FILE
ALBA DEL C ANAYA RIVERA                  ADDRESS ON FILE
ALBA DIAZ CRUZ                           ADDRESS ON FILE
ALBA DIAZ GARCIA                         BUFETE ALDARONDO & LOPEZ BRAS    ALB PLAZA                 SUITE 400   16 ROAD 199   GUAYNABO       PR      00969
ALBA E NIEVES MARRERO                    ADDRESS ON FILE
ALBA E RAMOS                             ADDRESS ON FILE
ALBA FEBUS FONTANEZ                      ADDRESS ON FILE
ALBA G MUNOZ VEGA                        ADDRESS ON FILE
ALBA G SANTOS ORTIZ                      ADDRESS ON FILE
ALBA G. MUNOZ VEGA                       ADDRESS ON FILE
ALBA GARCIA, TANIA                       ADDRESS ON FILE
ALBA GUZMAN SOTO                         ADDRESS ON FILE
ALBA HERNANDEZ BERRIOS                   ADDRESS ON FILE
ALBA HERNANDEZ CANDELAS                  ADDRESS ON FILE
ALBA HERNANDEZ QUINONES                  ADDRESS ON FILE
ALBA I ACEVEDO RAMOS                     ADDRESS ON FILE
ALBA I ALAMEDA BETANCOURT                ADDRESS ON FILE
ALBA I FREYTES ANDINO                    ADDRESS ON FILE
ALBA I HUERTAS MONTANEZ                  ADDRESS ON FILE
ALBA I MALDONADO COLON                   ADDRESS ON FILE
ALBA I PEREZ ROSADO                      ADDRESS ON FILE
ALBA I QUINONES CORREA                   ADDRESS ON FILE
ALBA I RIVERA FIGUEROA                   ADDRESS ON FILE
ALBA I RIVERA REYES                      ADDRESS ON FILE
ALBA I RIVERA RODRIGUEZ                  ADDRESS ON FILE
ALBA I ROSA MONTANEZ                     ADDRESS ON FILE
ALBA I RUIZ MANGUAL                      ADDRESS ON FILE
ALBA I SANTIAGO MORALES                  ADDRESS ON FILE
ALBA INC                                 PO BOX 50                                                                            LAS MARIAS     PR      00670




                                                                                      Page 167 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 168 of 3500
                                                                                                      Creditor Matrix

Creditor Name                           Address1                        Address2                                   Address3   Address4   City         State   PostalCode   Country
ALBA IRIS FIGUEROA RESTO                ADDRESS ON FILE
ALBA IRIS RIVERA                        ADDRESS ON FILE
ALBA IRIZARRY FIGUEROA                  ADDRESS ON FILE
ALBA IRIZARRY MALDONADO                 ADDRESS ON FILE
ALBA JIRAU DE MANON                     ADDRESS ON FILE
ALBA JIRAU DE MANON                     ADDRESS ON FILE
ALBA JIRAU DE MANON                     ADDRESS ON FILE
ALBA JIRAU DE MANON                     ADDRESS ON FILE
ALBA L ALVAREZ DEL VALLE                ADDRESS ON FILE
ALBA L FIGUEROA SAEZ                    ADDRESS ON FILE
ALBA L GOMEZ GONZALEZ                   ADDRESS ON FILE
ALBA L HERRERO ORTIZ                    ADDRESS ON FILE
ALBA L MORALES ALMODOVAR                ADDRESS ON FILE
ALBA L RODRIGUEZ MALDONADO              ADDRESS ON FILE
ALBA L. GOMEZ GONZALEZ                  LCDA. YARLENE JIMENEZ ROSARIO   PMB 133 1353 AVE. LUIS VIGOREAUX                                 GUAYNABO     PR      00966‐2700
ALBA L. GÓMEZ GONZÁLEZ                  LCDA. YARLENE JIMENEZ ROSARIO   PMB 133 1353 AVE. LUIS VIGOREAUX                                 GUAYNABO     PR      00966‐2700
ALBA LORENZO PEREZ                      ADDRESS ON FILE
ALBA M AYALA MONTES                     ADDRESS ON FILE
ALBA M FIGUEROA DEL VALLE               ADDRESS ON FILE
ALBA M OLIVERAS VARGAS                  ADDRESS ON FILE
ALBA M RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
ALBA MALDONADO, YVELIZZE                ADDRESS ON FILE
ALBA MELENDEZ ROMEU                     ADDRESS ON FILE
ALBA MONTALVO Y ALBA PORTELA            ADDRESS ON FILE
ALBA MUNIZ GRACIA                       ADDRESS ON FILE
ALBA N AYALA VARGAS                     ADDRESS ON FILE
ALBA N CABALLERO                        ADDRESS ON FILE
ALBA N CABALLERO FUENTES                ADDRESS ON FILE
ALBA N CARABALLO PADILLA                ADDRESS ON FILE
ALBA N CRUZ LOPEZ                       ADDRESS ON FILE
ALBA N MORALES PIZARRO                  ADDRESS ON FILE
ALBA N ORTIZ                            ADDRESS ON FILE
ALBA N TORRES COLON                     ADDRESS ON FILE
ALBA N TORRES RIVERA                    ADDRESS ON FILE
ALBA N. PADILLA RODRIGUEZ               ADDRESS ON FILE
ALBA NYDIA AYALA ORTIZ                  ADDRESS ON FILE
ALBA NYDIA MU?OZ RIVERA                 ADDRESS ON FILE
ALBA PACHECO SANTIAGO                   ADDRESS ON FILE
ALBA R CABRERA BERRIOS                  ADDRESS ON FILE
ALBA R FIGUEROA OTERO                   ADDRESS ON FILE
ALBA R LOPEZ NEGRON                     ADDRESS ON FILE
ALBA R MARTINEZ MARTINEZ                ADDRESS ON FILE
ALBA R SANTIAGO COLON                   ADDRESS ON FILE
ALBA R. HERRERA PEREZ                   ADDRESS ON FILE
ALBA RAMIREZ FALTO                      ADDRESS ON FILE
ALBA T ROJAS BERMUDEZ                   ADDRESS ON FILE
ALBA T TREVINO REYES                    ADDRESS ON FILE
ALBA TAINA ORTIZ OLIVERA                ADDRESS ON FILE
ALBA TORRES / NELSON Y LILLIAN TORRES   ADDRESS ON FILE
ALBA V PAGAN ORTIZ                      ADDRESS ON FILE
ALBA VALDEZ, JULIO                      ADDRESS ON FILE
ALBA Y MARTINEZ RODRIGUEZ               ADDRESS ON FILE
ALBA Y NIEVES ALVAREZ                   ADDRESS ON FILE
ALBA Y NIEVES ALVAREZ                   ADDRESS ON FILE
ALBADALEJO RIVERA, RAMON                ADDRESS ON FILE
ALBAELA DIAZ CARBALLO                   ADDRESS ON FILE
ALBALADEJO ALBALADEJO, JOSE A.          ADDRESS ON FILE
ALBALADEJO ARROYO, NOEMI                ADDRESS ON FILE
ALBALADEJO CORDOVA, RAFAEL              ADDRESS ON FILE
ALBALADEJO DANTON, ANCEL                ADDRESS ON FILE




                                                                                                    Page 168 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 169 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                      Address2                    Address3   Address4    City         State   PostalCode   Country
ALBALADEJO DIAZ, CARLOS            ADDRESS ON FILE
ALBALADEJO DIAZ, JOSE E            ADDRESS ON FILE
ALBALADEJO DIAZ, MARY              ADDRESS ON FILE
ALBALADEJO DIAZ, RAIZA             ADDRESS ON FILE
ALBALADEJO DIAZ, RALFY             ADDRESS ON FILE
ALBALADEJO DIAZ, SHOVAN            ADDRESS ON FILE
Albaladejo Diaz, Timiscy           ADDRESS ON FILE
Albaladejo Diaz, Wesley            ADDRESS ON FILE
ALBALADEJO GONZALEZ, NORMA I       ADDRESS ON FILE
ALBALADEJO MAISONET, ALEJANDRO     ADDRESS ON FILE
ALBALADEJO MALDONADO, MILTON       ADDRESS ON FILE
ALBALADEJO MARRERO, WANDA I        ADDRESS ON FILE
ALBALADEJO MARTINEZ, ALFREDO       ADDRESS ON FILE
ALBALADEJO MARTINEZ, JEANNETTE     ADDRESS ON FILE
ALBALADEJO MEDINA, GABRIELA        ADDRESS ON FILE
ALBALADEJO MEDINA, LUIS O          ADDRESS ON FILE
ALBALADEJO MEJIAS, ANGEL           ADDRESS ON FILE
ALBALADEJO MELENDEZ, LILLIAM       ADDRESS ON FILE
ALBALADEJO NARVAEZ, MONICA         ADDRESS ON FILE
ALBALADEJO NIEVES, ANTHONY         ADDRESS ON FILE
Albaladejo Nieves, Hector Abrah    ADDRESS ON FILE
ALBALADEJO NIEVES, KATHERINE       ADDRESS ON FILE
ALBALADEJO OCASIO, LUZ M           ADDRESS ON FILE
ALBALADEJO ORTIZ, LUIS R           ADDRESS ON FILE
ALBALADEJO ORTIZ, LUZ E            ADDRESS ON FILE
ALBALADEJO OTERO, ANA M            ADDRESS ON FILE
ALBALADEJO PACHECO, VANESSA        ADDRESS ON FILE
ALBALADEJO RIVERA, FRANCISCA       ADDRESS ON FILE
ALBALADEJO RIVERA, JEANNETTE       ADDRESS ON FILE
ALBALADEJO RIVERA, MIKE            ADDRESS ON FILE
Albaladejo Rivera, Mike G.         ADDRESS ON FILE
ALBALADEJO RIVERA, MINERVA         ADDRESS ON FILE
ALBALADEJO RODRIGUEZ, EDWIN        ADDRESS ON FILE
ALBALADEJO RODRIGUEZ, SONIA        ADDRESS ON FILE
ALBALADEJO SALGADO, LUIS           ADDRESS ON FILE
ALBALADEJO SANTIAGO, ALEX          ADDRESS ON FILE
ALBALADEJO SANTIAGO, JOSE          ADDRESS ON FILE
ALBALADEJO SANTIAGO, JOSE E        ADDRESS ON FILE
ALBALADEJO SANTIAGO, MARIBEL       ADDRESS ON FILE
ALBALADEJO SANTIAGO, MATILDE       ADDRESS ON FILE
ALBALADEJO SANTIAGO, OLGA L        ADDRESS ON FILE
ALBALADEJO SANTOS, CARMEN          ADDRESS ON FILE
ALBALADEJO SUAREZ, LILLIAM M       ADDRESS ON FILE
ALBALADEJO SUAREZ, LUIS            ADDRESS ON FILE
ALBALADEJO SUAREZ, LUZ ELSIE       ADDRESS ON FILE
ALBALADEJO SUAREZ, LUZ ELSIE       ADDRESS ON FILE
ALBALADEJO TORRES, ABNEL           ADDRESS ON FILE
ALBALADEJO TORRES, ENID            ADDRESS ON FILE
ALBALADEJO TORRES, LYNETTE         ADDRESS ON FILE
ALBALADEJO TORRES, VIVIAN          ADDRESS ON FILE
ALBALADEJO TORRES, VIVIAN          ADDRESS ON FILE
ALBALADEJO VARGAS, IVETTE          ADDRESS ON FILE
Albaladejo‐Ríos, Margarita         ADDRESS ON FILE
ALBALICIA MATIAS MARRERO           ADDRESS ON FILE
ALBALIZ MERCADO PORRATA            ADDRESS ON FILE
ALBAN DURAN, GLADYS                ADDRESS ON FILE
ALBAN SANTANA JIMENEZ              ADDRESS ON FILE
ALBANDOZ BETANCOURT, FEDERICO E.   ADDRESS ON FILE
ALBANDOZ BETANCOURT, FEDERICO E.   LCDO. LUIS E. PADRÓN ROSADO   PO BOX 957                                         AGUADA       PR      00602
ALBANDOZ CALZADA, ROBERTO          ADDRESS ON FILE




                                                                               Page 169 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 170 of 3500
                                                                                       Creditor Matrix

Creditor Name                     Address1                      Address2                            Address3   Address4   City        State   PostalCode   Country
ALBANDOZ DIAZ, LUZ M              ADDRESS ON FILE
ALBANDOZ LIARD, SHEYLA            ADDRESS ON FILE
ALBANDOZ OCASIO, IDAMIS           ADDRESS ON FILE
ALBANDOZ OCASIO, ILXIA M          ADDRESS ON FILE
ALBANDOZ ORTIZ MD, DULCE M        ADDRESS ON FILE
ALBANDOZ RODRIGUEZ, MELISSA       ADDRESS ON FILE
ALBANDOZ RODRIGUEZ, ROGELIO       ADDRESS ON FILE
ALBANDOZ RODRIGUEZ, ROGELIO       ADDRESS ON FILE
ALBANDOZ SANCHEZ, MYRIAM A        ADDRESS ON FILE
ALBANESE BRAS, DINA M.            ADDRESS ON FILE
ALBANESE BRAS, MARTA              ADDRESS ON FILE
ALBANESI, NELLIE M.               ADDRESS ON FILE
ALBANIA ESPINEL LAUREANO          ADDRESS ON FILE
ALBANIA FABIAN                    ADDRESS ON FILE
ALBANILERIA MO INC                HC 1 BOX 4878                                                                           NAGUABO     PR      00718
ALBANITZY ROSADO WESTERN          URB HACIENDA BORINQUEN        1022 CALLE UCAR                                           CAGUAS      PR      00725
ALBANSE BRAS SANTIAGO R           ADDRESS ON FILE
ALBANY MEDICAL CENTER HOSPITAL    HEALTH INFORMATION SERVICES   43 NEW SCOTLAND AVE                                       ALBANY      NY      12208
ALBANY PRIETO GARCIA              ADDRESS ON FILE
Albarati Casanas, Osvaldo O       ADDRESS ON FILE
ALBARRACIN GUISAO, MARIA          ADDRESS ON FILE
ALBARRAN BUONO, IVELISSE          ADDRESS ON FILE
ALBARRAN CARABALLO, MARIA         ADDRESS ON FILE
ALBARRAN CARABALLO, ZULMA I       ADDRESS ON FILE
ALBARRAN CONCEPCION, JOSE         ADDRESS ON FILE
ALBARRAN CRESPO, MARIELA          ADDRESS ON FILE
ALBARRAN CRESPO, OMAYRA           ADDRESS ON FILE
ALBARRAN CRUZ, CARMEN M           ADDRESS ON FILE
ALBARRAN DE JESUS, MARIANN        ADDRESS ON FILE
ALBARRAN DIAZ, AIDA M             ADDRESS ON FILE
ALBARRAN DIAZ, IVAN               ADDRESS ON FILE
ALBARRAN FELICIANO, CARMEN        ADDRESS ON FILE
ALBARRAN FELICIANO, JOSE A        ADDRESS ON FILE
ALBARRAN FELICIANO, LUIS          ADDRESS ON FILE
ALBARRAN FERNANDEZ, NILDA         ADDRESS ON FILE
Albarran Fuentes, Jose L          ADDRESS ON FILE
ALBARRAN GARCIA, MARIA DE LOS A   ADDRESS ON FILE
ALBARRAN GONZALEZ, JOSE           ADDRESS ON FILE
ALBARRAN GONZALEZ, OMAR           ADDRESS ON FILE
ALBARRAN GONZALEZ, OMAR           ADDRESS ON FILE
ALBARRAN GONZALEZ, REYNALDO       ADDRESS ON FILE
ALBARRAN GORBEA, FELICIANA        ADDRESS ON FILE
ALBARRAN HEREDIA, ALIANGIE        ADDRESS ON FILE
ALBARRAN HEREDIA, ALIANGIE        ADDRESS ON FILE
ALBARRAN IRIZARRY, DANILO         ADDRESS ON FILE
ALBARRAN IRIZARRY, JULIO C        ADDRESS ON FILE
ALBARRAN IRIZARRY, TALI           ADDRESS ON FILE
ALBARRAN IRIZARRY, TALI           ADDRESS ON FILE
ALBARRAN IRIZARRY, WILSON         ADDRESS ON FILE
ALBARRAN LOPEZ, FREDDY            ADDRESS ON FILE
ALBARRAN LOPEZ, HECTOR G          ADDRESS ON FILE
ALBARRAN LOPEZ, JASKIN            ADDRESS ON FILE
ALBARRAN LOPEZ, LUIS              ADDRESS ON FILE
ALBARRAN LOPEZ, MARTIN            ADDRESS ON FILE
ALBARRAN LOPEZ, OMAR              ADDRESS ON FILE
ALBARRAN MALDONADO, HECTOR        ADDRESS ON FILE
ALBARRAN MARTINES, VANESSA L      ADDRESS ON FILE
ALBARRAN MENDEZ, ROSA A           ADDRESS ON FILE
ALBARRAN MERCADO, LESLIE A        ADDRESS ON FILE
ALBARRAN MOLINA, MICHELLE M.      ADDRESS ON FILE




                                                                                      Page 170 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 171 of 3500
                                                                             Creditor Matrix

Creditor Name                 Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
ALBARRAN MORALES, JUAN        ADDRESS ON FILE
ALBARRAN MORALES, MARISOL     ADDRESS ON FILE
ALBARRAN NATAL, MARIANO       ADDRESS ON FILE
ALBARRAN OQUENDO, MARIELA E   ADDRESS ON FILE
ALBARRAN ORTIZ, JOSE          ADDRESS ON FILE
ALBARRAN PEREZ, DAVID         ADDRESS ON FILE
ALBARRAN PEREZ, JOSE          ADDRESS ON FILE
ALBARRAN REYES, CARLOS E.     ADDRESS ON FILE
ALBARRAN REYES, NEYDA         ADDRESS ON FILE
ALBARRAN REYES, ZAHIRA        ADDRESS ON FILE
ALBARRAN RIVERA, ANGEL        ADDRESS ON FILE
ALBARRAN RODRIGUEZ, ELVIN     ADDRESS ON FILE
ALBARRAN RODRIGUEZ, JAVIER    ADDRESS ON FILE
ALBARRAN RODRIGUEZ, JOSE      ADDRESS ON FILE
ALBARRAN RODRIGUEZ, JUAN      ADDRESS ON FILE
ALBARRAN RODRIGUEZ, MAYDA     ADDRESS ON FILE
Albarran Ruiz, Roberto        ADDRESS ON FILE
ALBARRAN SALCEDO, ELBERT      ADDRESS ON FILE
ALBARRAN SALCEDO, ERNESTO     ADDRESS ON FILE
Albarran Sanchez, Miguel A    ADDRESS ON FILE
ALBARRAN SANCHEZ, SHEILA      ADDRESS ON FILE
ALBARRAN SANTIAGO, NILDA      ADDRESS ON FILE
ALBARRAN SUAREZ, JANICE       ADDRESS ON FILE
ALBARRAN SUAREZ, JANICE       ADDRESS ON FILE
ALBARRAN VALENTIN, ERIC       ADDRESS ON FILE
ALBARRAN VALENTIN, SAMUEL     ADDRESS ON FILE
ALBARRAN VAZQUEZ, ANABELLE    ADDRESS ON FILE
ALBARRAN VELEZ, IVYS          ADDRESS ON FILE
Albarran Villafane, Carmelo   ADDRESS ON FILE
ALBARRAN VILLAFANE, OSVALDO   ADDRESS ON FILE
ALBARRAN VILLANUEVA, AMAIRA   ADDRESS ON FILE
ALBARRAN, MICHELE             ADDRESS ON FILE
ALBE RIVERA, JOSE             ADDRESS ON FILE
ALBECORP INC                  PARKVILLE SUR             A 2 AVE LOPATEGUI                                       GUAYNABO     PR      00969
ALBEIRO MOLINA CASTANEDA      ADDRESS ON FILE
ALBELIZ M LEDEE SOTO          ADDRESS ON FILE
ALBELO CARTAGENA, ARLEEN      ADDRESS ON FILE
ALBELO CARTAGENA, CLOVIS W.   ADDRESS ON FILE
ALBELO CARTAGENA, MYRIAM J    ADDRESS ON FILE
ALBELO CHICO, NAYROBI         ADDRESS ON FILE
ALBELO COLON, GILBERTO        ADDRESS ON FILE
ALBELO CORDERO, NILDA         ADDRESS ON FILE
ALBELO COSME, VIVIAN          ADDRESS ON FILE
ALBELO CRUZ, ELLIOT           ADDRESS ON FILE
ALBELO ESQUILIN, JUAN         ADDRESS ON FILE
ALBELO FIGUEROA, GRACE M      ADDRESS ON FILE
ALBELO GONZALEZ, NIDYA        ADDRESS ON FILE
ALBELO HERNANDEZ, ALEX A.     ADDRESS ON FILE
ALBELO LOPEZ, FELIPE          ADDRESS ON FILE
ALBELO LOPEZ, PEDRO JUAN      ADDRESS ON FILE
ALBELO MARRERO, RAMON E       ADDRESS ON FILE
ALBELO MARTIN, LISMARIE       ADDRESS ON FILE
ALBELO MATOS, EDGAR A         ADDRESS ON FILE
ALBELO MATOS, EDGAR A         ADDRESS ON FILE
ALBELO MATOS, JAVIER A.       ADDRESS ON FILE
ALBELO NIEVES, MARITZA        ADDRESS ON FILE
ALBELO OLIVERAS, IRIS J       ADDRESS ON FILE
ALBELO OLIVERAS, JENYFER      ADDRESS ON FILE
ALBELO OLIVERAS, YANIRA       ADDRESS ON FILE
ALBELO ORTIZ, JERRY           ADDRESS ON FILE




                                                                            Page 171 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 172 of 3500
                                                                                                            Creditor Matrix

Creditor Name                       Address1                                  Address2                                   Address3             Address4   City         State   PostalCode   Country
Albelo Padilla, Mariel              ADDRESS ON FILE
ALBELO PAGAN, EDNA A.               ADDRESS ON FILE
ALBELO PAGAN, YARITZA L             ADDRESS ON FILE
ALBELO PEREZ, CARLOS                ADDRESS ON FILE
ALBELO QUINONES, JESUS              ADDRESS ON FILE
ALBELO RAMIREZ, JOSELYN             ADDRESS ON FILE
ALBELO RAMIREZ, JOSELYN             ADDRESS ON FILE
Albelo Ramirez, Maximino            ADDRESS ON FILE
ALBELO RIVERA, JUAN                 ADDRESS ON FILE
ALBELO RIVERA, JULIA                ADDRESS ON FILE
ALBELO RIVERA, MILET E              ADDRESS ON FILE
ALBELO ROBLES, ELLIOT               ADDRESS ON FILE
ALBELO RODRIGUEZ, CATHY             ADDRESS ON FILE
ALBELO RODRIGUEZ, EDGAR             ADDRESS ON FILE
ALBELO RODRIGUEZ, EDGAR             ADDRESS ON FILE
ALBELO ROSADO, JOSE L               ADDRESS ON FILE
ALBELO ROSARIO, CARLOS X            ADDRESS ON FILE
ALBELO ROSARIO, JOSE                ADDRESS ON FILE
ALBELO ROSAS, NITO                  ADDRESS ON FILE
ALBELO ROURE, EVELYN                ADDRESS ON FILE
ALBELO ROURI, HILDA A.              ADDRESS ON FILE
ALBELO SANCHEZ, JUAN                ADDRESS ON FILE
ALBELO SERRANO, ABRAHAM             ADDRESS ON FILE
ALBELO SERRANO, ADA N               ADDRESS ON FILE
ALBELO SERRANO, ORLANDO             ADDRESS ON FILE
ALBELO SOLER, MAGDA                 ADDRESS ON FILE
ALBELO SOTO, BETTY M                ADDRESS ON FILE
ALBELO SOTO, DALILAH                ADDRESS ON FILE
ALBELO SOTO, JOSE                   ADDRESS ON FILE
ALBELO VAZQUEZ, EFRAIN              ADDRESS ON FILE
ALBELO, RAFAEL                      ADDRESS ON FILE
ALBENZ MALDONADO CALES              ADDRESS ON FILE
ALBERDA TREJOS, ADAGILSA            ADDRESS ON FILE
ALBERDESTON GARCIA, VIVIAN          ADDRESS ON FILE
ALBERDI TORRES, MAITE               ADDRESS ON FILE
ALBERDI TORRES, MAITE               ADDRESS ON FILE
ALBERGUE EL PARAISO CORP            PO BOX 11740                                                                                                         SAN JUAN     PR      00910
                                                                                                                         TERRENOS HOSP. SAN
ALBERGUE LA PROVIDENCIA INC.        BO. MACHUELO                              CARR 14                                    LUCAS                           PONCE        PR      00732
ALBERGUE OLIMPICO CENTRO SADCE      MEDICINA DEPROTIVA                        PO BOX 2004                                                                SALINAS      PR      00751
ALBERGUE OLIMPICO DE PUERTO RICO    AREA DE TESORO                            DIVISION DE CONCILIACION                                                   SAN JUAN     PR      00902‐4140
ALBERGUE OLIMPICO DE PUERTO RICO    P O BOX 8                                                                                                            SAN JUAN     PR      00902
ALBERGUE OLIMPICO DE PUERTO RICO    PO BOX 2004                                                                                                          SALINAS      PR      00751
ALBERGUE PARAISO LA MONTANA CORP.   PO BOX 920                                                                                                           TOA BAJA     PR      00951
ALBERIC CHRYSLER INC                PO BOX 20320                                                                                                         SAN JUAN     PR      00936
ALBERIC CHRYSLER INC                PO BOX 70320                                                                                                         SAN JUAN     PR      00936
ALBERIC COLON AUTO SALES INC        P O BOX 70320                                                                                                        SAN JUAN     PR      00936‐8320
ALBERIC COLON AUTO SALES INC        PO BOX 364009                                                                                                        SAN JUAN     PR      00936
ALBERIC COLON AUTO SALES INC
ALBERIC COLON AUTO SALES INC.       AVE. KENNEDY CARR 2 KM 2.5 MARGINAL BECHANA                                                                          SAN JUAN     PR      00936
ALBERIC COLON AUTO SALES, INC       CALL BOX 70320                                                                                                       SAN JUAN     PR      00936‐7920
ALBERIC COLON ZAMBRANA              ADDRESS ON FILE
ALBERIC CORTES FIGUEROA             ADDRESS ON FILE
ALBERIC FORD INC                    BO SAN ANTON                             AVE 65 INF Y AVE DE DIEGO KM 3 8                                            CAROLINA     PR      00979
ALBERIC FORD INC                    P O BOX 70320                                                                                                        SAN JUAN     PR      00936‐8320
ALBERINO RENAUD, JOHMARA            ADDRESS ON FILE
ALBERIO MALAVE, MILAGROS            ADDRESS ON FILE
ALBERIO OTERO, TYRONE LEE           ADDRESS ON FILE
ALBERIO OTERO, TYRONE LEE           ADDRESS ON FILE
ALBERIO QUINONES, EDGARDO           ADDRESS ON FILE




                                                                                                           Page 172 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 173 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBERRO FERNANDEZ, JOSE A.            ADDRESS ON FILE
ALBERRO MORONTA, JOSE                 ADDRESS ON FILE
ALBERRO ZENO, RAUL M                  ADDRESS ON FILE
ALBERT A ROSARIO COLLAZO              ADDRESS ON FILE
ALBERT ACEVEDO, DIMAS                 ADDRESS ON FILE
Albert Albert, Anibal                 ADDRESS ON FILE
ALBERT CAMACHO, EVIAN                 ADDRESS ON FILE
ALBERT CAMACHO, EVIAN L               ADDRESS ON FILE
ALBERT CAMACHO, MARLA J               ADDRESS ON FILE
ALBERT CONCEPCION, HECTOR E           ADDRESS ON FILE
ALBERT CONCEPCION, HECTOR E           ADDRESS ON FILE
ALBERT CORDERO DE JESUS               ADDRESS ON FILE
ALBERT CORDERO, BEATRIZ               ADDRESS ON FILE
ALBERT CORDERO, JESUS                 ADDRESS ON FILE
ALBERT CORREA, EDUARDO                ADDRESS ON FILE
ALBERT CRUZ MARRERO                   ADDRESS ON FILE
ALBERT CRUZ MARRERO                   ADDRESS ON FILE
ALBERT D RODRIGUEZ ORTIZ              ADDRESS ON FILE
ALBERT DANIEL SANTIAGO ROSA           ADDRESS ON FILE
ALBERT DELGADO FELICIANO              ADDRESS ON FILE
ALBERT ESCANIO QUINONES               ADDRESS ON FILE
ALBERT ESTELA, MIRIAM                 ADDRESS ON FILE
ALBERT FELICIANO VALENTIN             ADDRESS ON FILE
ALBERT G VELAZQUEZ CARRASQUILLO       ADDRESS ON FILE
ALBERT GONZALEZ Y MARISOL PEREZ       ADDRESS ON FILE
ALBERT GONZALEZ, MARITZA              ADDRESS ON FILE
ALBERT HANSON, DARLENE E              ADDRESS ON FILE
ALBERT HERNAIZ ACOSTA                 ADDRESS ON FILE
ALBERT HERNANDEZ RIOS                 ADDRESS ON FILE
ALBERT IRIZARRY RIVERA                ADDRESS ON FILE
ALBERT J BANKS                        ADDRESS ON FILE
ALBERT J ESCALERA ARROYO              ADDRESS ON FILE
ALBERT LOUIS CARRASQUILLO FERNANDEZ   ADDRESS ON FILE
ALBERT M CRUZ ROBLES                  ADDRESS ON FILE
ALBERT M NEWEEL LIVING TRUST          ADDRESS ON FILE
ALBERT MEDINA, REYES                  ADDRESS ON FILE
ALBERT MENDOZA DIAZ                   ADDRESS ON FILE
ALBERT MONTANEZ, JESUS M.             ADDRESS ON FILE
ALBERT MONTANEZ, LUZ M                ADDRESS ON FILE
ALBERT MORALES, LOURELIZ I            ADDRESS ON FILE
ALBERT MURIEL, JOSE                   ADDRESS ON FILE
ALBERT N CROUCH SANTOS                ADDRESS ON FILE
ALBERT N RENTAS BONET                 ADDRESS ON FILE
ALBERT NARVAEZ RODRIGUEZ              ADDRESS ON FILE
ALBERT NAVARRO, JOSE                  ADDRESS ON FILE
ALBERT NAVARRO, SANDRA I              ADDRESS ON FILE
ALBERT NEGRON CRUZ                    ADDRESS ON FILE
ALBERT O ALVAREZ MUNIZ                ADDRESS ON FILE
ALBERT OLMEDO, JOSE                   ADDRESS ON FILE
ALBERT OROZCO, MARIBELLE              ADDRESS ON FILE
ALBERT PEREZ CRUZ                     ADDRESS ON FILE
ALBERT QUINONES PEREZ                 ADDRESS ON FILE
ALBERT RAMIREZ, JOANNE C              ADDRESS ON FILE
ALBERT RIVERA RIVERA                  ADDRESS ON FILE
ALBERT RIVERA, LIOMAR                 ADDRESS ON FILE
ALBERT RIVERA, NEFTALY                ADDRESS ON FILE
ALBERT RIVERA, YAMARIS                ADDRESS ON FILE
ALBERT SANCHEZ SOTO                   ADDRESS ON FILE
ALBERT SAURI, MARIA DE LOS            ADDRESS ON FILE
ALBERT TAMAREZ VAZQUEZ                ADDRESS ON FILE




                                                                                  Page 173 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 174 of 3500
                                                                                                             Creditor Matrix

Creditor Name                            Address1                                 Address2                                Address3   Address4   City         State   PostalCode   Country
ALBERT TORRES PRODUCTIONS INC            ADDRESS ON FILE
ALBERT TORRES, JANNETTE                  ADDRESS ON FILE
ALBERT TORRES, JANNETTE                  ADDRESS ON FILE
ALBERT TORRES, JASON                     ADDRESS ON FILE
ALBERT TORRES, JEANNY                    ADDRESS ON FILE
ALBERT TORRES, WANDA                     ADDRESS ON FILE
ALBERT TORRES, YAHAIRA                   ADDRESS ON FILE
ALBERT TOWING                            QTAS DE BOULEVAR                         MEMORIAL DRIVE A‐2                                            BAYAMON      PR      00961
ALBERT TOWING SERVICE                    ADDRESS ON FILE
ALBERT TRINIDAD, RAMARIS                 ADDRESS ON FILE
ALBERT VAZQUEZ                           ADDRESS ON FILE
ALBERT VAZQUEZ, LOURDES                  ADDRESS ON FILE
ALBERT VELEZ VEGA                        ADDRESS ON FILE
ALBERT, CARLOS                           ADDRESS ON FILE
ALBERTA CUADRADO SANTIAGO                ADDRESS ON FILE
ALBERTI FELICIANO, BERENICE              ADDRESS ON FILE
ALBERTI RODRIGUEZ, VIDA                  ADDRESS ON FILE
ALBERTI TORRES, GLADYS                   ADDRESS ON FILE
ALBERTI VAZQUEZ, EVELYN                  ADDRESS ON FILE
ALBERTICO PEREZ MIRANDA                  ADDRESS ON FILE
ALBERTINA MORALES/CELINO MORALES         ADDRESS ON FILE
ALBERTO CO INC                           WESTERN PLAZA SHOPP CTR                  2765 AVE HOSTOS STE 235                                       MAYAGUEZ     PR      00682‐6390
ALBERTO A CALLE KWOK                     ADDRESS ON FILE
ALBERTO A COLON VIERA                    ADDRESS ON FILE
ALBERTO A RIVERA LEBRON &MARTA RODRIGUE ADDRESS ON FILE
ALBERTO A TORRES MOORE                   ADDRESS ON FILE
ALBERTO A VILLAFANE GONZALEZ             ADDRESS ON FILE
ALBERTO A. RIVERA TORRES                 ADDRESS ON FILE
ALBERTO ABREU RIVERA                     ADDRESS ON FILE
ALBERTO ABREU RIVERA                     ADDRESS ON FILE
ALBERTO ACABEO ROSADO                    ADDRESS ON FILE
ALBERTO ACEVEDO COLOM                    ADDRESS ON FILE
ALBERTO ACEVEDO CORREA                   ADDRESS ON FILE
ALBERTO AGUILAR SIARIS                   ADDRESS ON FILE
ALBERTO ALEMAN REYES                     ADDRESS ON FILE
ALBERTO ALVARADO AVILES                  ADDRESS ON FILE
ALBERTO ALVARADO DE JESUS                ADDRESS ON FILE
ALBERTO ÁLVAREZ RODRÍGUEZ                ADDRESS ON FILE
ALBERTO ANGULO JOHNSON                   ADDRESS ON FILE
ALBERTO APONTE MORALES                   ADDRESS ON FILE
ALBERTO APONTE MORALES                   URB. PARQUE FLAMINGO CALLE DELPHI #210                                                                 BAYAMON      PR      00959
ALBERTO ARESTI CORDERO                   ADDRESS ON FILE
ALBERTO ARROYO ARROYO                    ADDRESS ON FILE
ALBERTO ARROYO DBA MARINA COSTA AZUL     P.O. BOX 207                                                                                           LAJAS        PR      00667
ALBERTO AVILES DBA TRANS AVILES BUS LINE PO BOX 1047                              PO BOX 830                                                    ENSENADA     PR      00647‐1047
ALBERTO AVILES DBA TRANS AVILES BUS LINE PO BOX 1047                                                                                            ENSENADA     PR      00647‐1047
ALBERTO AVILES RODRIGUEZ                 ADDRESS ON FILE
ALBERTO AVILES VIROA                     ADDRESS ON FILE
ALBERTO AVILES VIROLA DBA TRANS.         PO BOX 1047                                                                                            ENSENADA     PR      00647‐1047
ALBERTO BACO BAGUE                       ADDRESS ON FILE
ALBERTO BADILLO MUNIZ                    ADDRESS ON FILE
ALBERTO BAEZ PAZ                         ADDRESS ON FILE
ALBERTO BANDERAS CERVANTES               ADDRESS ON FILE
ALBERTO BARRETO MARTINEZ                 ADDRESS ON FILE
ALBERTO BAUZA MITCHEL                    ADDRESS ON FILE
ALBERTO BERMUDEZ RIVERA                  ADDRESS ON FILE
ALBERTO BERMUDEZ SUAREZ                  ADDRESS ON FILE
ALBERTO BONILLA QUINONES                 ADDRESS ON FILE
ALBERTO BORGES CONTRERAS                 ADDRESS ON FILE
ALBERTO BRUNO MEDINA                     ADDRESS ON FILE




                                                                                                            Page 174 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 175 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBERTO BRUNO VALE                       ADDRESS ON FILE
ALBERTO BURGOS IRRIZARY                  ADDRESS ON FILE
ALBERTO BURGOS VELEZ                     ADDRESS ON FILE
ALBERTO C REYES MILLAN                   ADDRESS ON FILE
ALBERTO C RIVERA RAMOS                   ADDRESS ON FILE
ALBERTO C SANCHEZ TORRES                 ADDRESS ON FILE
ALBERTO C ZABALA SOLER                   ADDRESS ON FILE
ALBERTO C ZABALA SOLIS                   ADDRESS ON FILE
ALBERTO C ZAVALETA CALDERON              ADDRESS ON FILE
ALBERTO CABANAS MALDONADO                ADDRESS ON FILE
ALBERTO CABIYA ROBLES                    ADDRESS ON FILE
ALBERTO CABRER CANDELARIA                ADDRESS ON FILE
ALBERTO CABRERA CAPELLA                  ADDRESS ON FILE
ALBERTO CALCANO QUINONES                 ADDRESS ON FILE
ALBERTO CAMPOS, JOEL                     ADDRESS ON FILE
ALBERTO CAMPUDONI ALICANO                ADDRESS ON FILE
ALBERTO CAPO CORDERO                     ADDRESS ON FILE
ALBERTO CAPPA ROBLES                     ADDRESS ON FILE
ALBERTO CARDONA CRESPO                   ADDRESS ON FILE
ALBERTO CARDONA CRESPO                   ADDRESS ON FILE
ALBERTO CARDONA CRESPO                   ADDRESS ON FILE
ALBERTO CARDONA CRESPO                   ADDRESS ON FILE
ALBERTO CARRASQUILLO JIMENEZ             ADDRESS ON FILE
ALBERTO CASTRO VELEZ                     ADDRESS ON FILE
ALBERTO CEDENO RIVERA                    ADDRESS ON FILE
ALBERTO CINTRON MALDONADO                ADDRESS ON FILE
ALBERTO CLEMENTE RIVERA                  ADDRESS ON FILE
ALBERTO COLLAZO RODRIGUEZ                ADDRESS ON FILE
ALBERTO COLON ACEVEDO                    ADDRESS ON FILE
ALBERTO COLON GALLEGO                    ADDRESS ON FILE
ALBERTO COLON SANTIAGO                   ADDRESS ON FILE
ALBERTO CONCEPCION BONILLA               ADDRESS ON FILE
ALBERTO CORDERO CEREZO                   ADDRESS ON FILE
ALBERTO CORETJER REYES/VICTOR GONZALEZ   ADDRESS ON FILE
ALBERTO CORIANO GOMEZ                    ADDRESS ON FILE
ALBERTO CORPES SANTIAGO                  ADDRESS ON FILE
ALBERTO CORREA, LAURIMARIS               ADDRESS ON FILE
ALBERTO COSME MALDONADO                  ADDRESS ON FILE
ALBERTO COTARELO DIAZ                    ADDRESS ON FILE
ALBERTO COUVERTIE BARRERA                ADDRESS ON FILE
ALBERTO CRUZ GALARZA                     ADDRESS ON FILE
ALBERTO CRUZ LOPEZ                       ADDRESS ON FILE
ALBERTO CRUZ RUIZ                        ADDRESS ON FILE
ALBERTO CUBERO ROSA                      ADDRESS ON FILE
ALBERTO CUBERO ROSA                      ADDRESS ON FILE
ALBERTO CUBERO ROSA                      ADDRESS ON FILE
ALBERTO CUBERO ROSA                      ADDRESS ON FILE
ALBERTO DE JESUS VEGUILLA                ADDRESS ON FILE
ALBERTO DEHOWITT PEREZ                   ADDRESS ON FILE
ALBERTO DEL VALLE IRIZARRY               ADDRESS ON FILE
ALBERTO DELGADO CHALCO                   ADDRESS ON FILE
ALBERTO DELGADO NUNEZ                    ADDRESS ON FILE
ALBERTO DELUCCA TIRADO                   ADDRESS ON FILE
ALBERTO DEVIVIE DE LA CRUZ               ADDRESS ON FILE
ALBERTO DIAZ                             ADDRESS ON FILE
ALBERTO DIAZ ALLENDE                     ADDRESS ON FILE
ALBERTO DIAZ ALLENDE                     ADDRESS ON FILE
ALBERTO DIAZ LEBRON                      ADDRESS ON FILE
ALBERTO DIAZ LEBRON                      ADDRESS ON FILE
ALBERTO DIAZ LEBRON                      ADDRESS ON FILE




                                                                                     Page 175 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 176 of 3500
                                                                                                   Creditor Matrix

Creditor Name                            Address1                        Address2                               Address3   Address4   City          State   PostalCode   Country
ALBERTO DIAZ LEBRON                      ADDRESS ON FILE
ALBERTO E ANDINO DIAZ                    ADDRESS ON FILE
ALBERTO E CASTRO MEJIAS                  ADDRESS ON FILE
ALBERTO E DAVILA FUSSA                   ADDRESS ON FILE
ALBERTO E FIGUEROA HERNANDEZ             ADDRESS ON FILE
ALBERTO E FOLCH DIEZ                     ADDRESS ON FILE
ALBERTO E FOLCH DIEZ                     ADDRESS ON FILE
ALBERTO E FOLCH DIEZ                     ADDRESS ON FILE
ALBERTO E FOLCH DIEZ                     ADDRESS ON FILE
ALBERTO E MARTY BARROS                   ADDRESS ON FILE
ALBERTO E MONAGAS TORRES                 ADDRESS ON FILE
ALBERTO E MOORE MATOS                    ADDRESS ON FILE
ALBERTO E REYES REY                      ADDRESS ON FILE
ALBERTO E RIVERA RODRIGUEZ               ADDRESS ON FILE
ALBERTO E RULIO COLON                    ADDRESS ON FILE
ALBERTO ECHEVARRIA LUGO                  ADDRESS ON FILE
ALBERTO ENRIQUEZ PEREZ                   ADDRESS ON FILE
ALBERTO ESCOTO                           ADDRESS ON FILE
ALBERTO F JOVE IGUINA                    ADDRESS ON FILE
ALBERTO FELICIANO GARCIA                 ADDRESS ON FILE
ALBERTO FELICIANO TORRES                 ADDRESS ON FILE
ALBERTO FELICIANO TORRES                 ADDRESS ON FILE
ALBERTO FELICIANO TORRES                 ADDRESS ON FILE
ALBERTO FERNANDEZ ROSARIO                ADDRESS ON FILE
ALBERTO FIGUEROA CABAN                   ADDRESS ON FILE
ALBERTO FIGUEROA CRUZ                    ADDRESS ON FILE
ALBERTO FIGUEROA RIVERA                  ADDRESS ON FILE
ALBERTO FLECHA SANTIAGO                  ADDRESS ON FILE
ALBERTO FUENTES RIVERA                   ADDRESS ON FILE
ALBERTO G MATTEI Y/O MARIA T SOTO        ADDRESS ON FILE
ALBERTO G RODRIGUEZ BERRIOS              ADDRESS ON FILE
ALBERTO GARCIA DBA DOCTOR CLOCK          HACIENDAS CARRAIZO II           C 8 CALLE 3                                                  SAN JUAN      PR      00926
ALBERTO GARCIA DBA DOCTOR CLOCK          SAN ANTONIO                     3910 CALLE LOS HENOS                                         AGUADILLA     PR      00690
ALBERTO GARCIA QUINONES                  ADDRESS ON FILE
ALBERTO GARCIA VARELA                    ADDRESS ON FILE
ALBERTO GARCIA/ YOLANDA ORTIZ            ADDRESS ON FILE
ALBERTO GONZALEZ RIVERA                  ADDRESS ON FILE
ALBERTO GONZALEZ/INTEC SOLAR DE PR INC   ADDRESS ON FILE
ALBERTO GRANELL RIVERA/ DYNAMIC SOLAR    ADDRESS ON FILE
ALBERTO GUZMAN CALERO                    ADDRESS ON FILE
ALBERTO HABER DBA ACERES MACHINE SHOP    JULIO ANDINO 631 VILLA PRADES                                                                SAN JUAN      PR      00925‐0000
ALBERTO HABER DBA ACERES MACHINE SHOP    PO BOX 29267                    631 CALLE JULIO ANDINO                                       SAN JUAN      PR      00929‐0267
ALBERTO HERNANDEZ                        ADDRESS ON FILE
ALBERTO HERNANDEZ DOMINGUEZ TRUST        1603 CALLE LOIZA                                                                             SAN JUAN      PR      00911
ALBERTO HERNANDEZ SANTOS                 ADDRESS ON FILE
ALBERTO HERNANDEZ/ZORAIDA MORRISON       ADDRESS ON FILE
ALBERTO I GONZALEZ LOPEZ                 ADDRESS ON FILE
ALBERTO I NEGRON CRUZ                    ADDRESS ON FILE
ALBERTO I ROSARIO DIAZ                   ADDRESS ON FILE
ALBERTO IRIZARRY ARROYO                  ADDRESS ON FILE
ALBERTO IRIZARRY ORTIZ                   ADDRESS ON FILE
ALBERTO IRIZARRY SEGARRA                 ADDRESS ON FILE
ALBERTO J BLASINI SEGARRA                ADDRESS ON FILE
ALBERTO J CAMACHO RAMOS                  ADDRESS ON FILE
ALBERTO J CARRANZA AMADOR                ADDRESS ON FILE
ALBERTO J DE LA CRUZ ACEVEDO             ADDRESS ON FILE
ALBERTO J FELICIANO RAMOS                ADDRESS ON FILE
ALBERTO J GERMOSEN ROBLES                ADDRESS ON FILE
ALBERTO J GIMENEZ CRUZ                   ADDRESS ON FILE
ALBERTO J MACHADO BECORRIL               ADDRESS ON FILE




                                                                                                  Page 176 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 177 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBERTO J MARTINEZ SANTIAGO        ADDRESS ON FILE
ALBERTO J MARTINEZ VIERA           ADDRESS ON FILE
ALBERTO J MELENDEZ VAZQUEZ         ADDRESS ON FILE
ALBERTO J MENDOZA GUZMAN           ADDRESS ON FILE
ALBERTO J MUNIZ DEL VALLE          ADDRESS ON FILE
ALBERTO J NUNEZ GONZALEZ           ADDRESS ON FILE
ALBERTO J ORTEGA SANTIAGO          ADDRESS ON FILE
ALBERTO J ORTIZ REYES              ADDRESS ON FILE
ALBERTO J PADILLA PEREZ            ADDRESS ON FILE
ALBERTO J PAGAN DEL TORO           ADDRESS ON FILE
ALBERTO J PICO GONZALEZ            ADDRESS ON FILE
ALBERTO J PRATTS RIVERA            ADDRESS ON FILE
ALBERTO J RAFOLS VAN DERDYS        ADDRESS ON FILE
ALBERTO J RIVERA GONZALEZ          ADDRESS ON FILE
ALBERTO J RODRIGUEZ CANCEL         ADDRESS ON FILE
ALBERTO J RODRIGUEZ MEDINA         ADDRESS ON FILE
ALBERTO J ROLON VELEZ              ADDRESS ON FILE
ALBERTO J TORO CASELLAS            ADDRESS ON FILE
ALBERTO J TORRENS D BRASIS         ADDRESS ON FILE
ALBERTO J. TORRADO DELGADO         ADDRESS ON FILE
ALBERTO JOSE CRUZ COLON            ADDRESS ON FILE
ALBERTO JOSE PACHECO CANCEL        ADDRESS ON FILE
ALBERTO JOSE RIVERA ORTIZ          ADDRESS ON FILE
ALBERTO JOSE RODRIGUEZ RAMOS       ADDRESS ON FILE
ALBERTO JOSE SANTOS GARRIGA        ADDRESS ON FILE
ALBERTO JOVANY DUEÑO HUERTAS       ED DE JESÚS RIVERA        HC‐33 BOX 2070                                         DORADO       PR      00646
ALBERTO JUARRERO ECHEVARIA         ADDRESS ON FILE
ALBERTO JUSTO LOPEZ                ADDRESS ON FILE
ALBERTO K CARMONA AGOSTO           ADDRESS ON FILE
ALBERTO L ARCE ROSALES             ADDRESS ON FILE
ALBERTO L BURGOS REYES             ADDRESS ON FILE
ALBERTO L CANDELARIO PIEVE         ADDRESS ON FILE
ALBERTO L COSSIO SOTO              ADDRESS ON FILE
ALBERTO L CUBERO / LUIS A CUBERO   ADDRESS ON FILE
ALBERTO L GARCIA CAMPOS            ADDRESS ON FILE
ALBERTO L GONZALEZ PEREZ           ADDRESS ON FILE
ALBERTO L GUEVARA JIMENEZ          ADDRESS ON FILE
ALBERTO L MATOS ORTIZ              ADDRESS ON FILE
ALBERTO L MIRANDA COLON            ADDRESS ON FILE
ALBERTO L NAZARIO SANTOS           ADDRESS ON FILE
ALBERTO L ORTIZ MERCADO            ADDRESS ON FILE
ALBERTO L PEREZ TORRES             ADDRESS ON FILE
ALBERTO L RIOS MARTINEZ            ADDRESS ON FILE
ALBERTO L RODRIGUEZ                ADDRESS ON FILE
ALBERTO L RODRIGUEZ RIVERA         ADDRESS ON FILE
ALBERTO L ROMAN MORALES            ADDRESS ON FILE
ALBERTO L ROSA VELAZQUEZ           ADDRESS ON FILE
ALBERTO L ROSARIO RIVERA           ADDRESS ON FILE
ALBERTO L SANCHEZ                  ADDRESS ON FILE
ALBERTO L TORRES CRESPO            ADDRESS ON FILE
ALBERTO L VAZQUEZ RIVERA           ADDRESS ON FILE
ALBERTO L VELAZQUEZ ESTRADA        ADDRESS ON FILE
ALBERTO L. ARBELO ALEMAN           ADDRESS ON FILE
ALBERTO L. SANTIAGO NUNEZ          ADDRESS ON FILE
ALBERTO L.CARABALLO JUSINO         ADDRESS ON FILE
ALBERTO LABORDA                    ADDRESS ON FILE
ALBERTO LAMOSO COLON               ADDRESS ON FILE
ALBERTO LEON VILLEGAS              ADDRESS ON FILE
ALBERTO LOPEZ RIVERA               ADDRESS ON FILE
ALBERTO LOPEZ RIVERA               ADDRESS ON FILE




                                                                               Page 177 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 178 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBERTO LOPEZ RIVERA                  ADDRESS ON FILE
ALBERTO LOZADA MONTANEZ               ADDRESS ON FILE
ALBERTO LUGO GOMEZ                    ADDRESS ON FILE
ALBERTO LUGO IRIZARRY                 ADDRESS ON FILE
ALBERTO LUIS COSSIO SOTO              ADDRESS ON FILE
ALBERTO LUIS ROMAN JIMENEZ            ADDRESS ON FILE
ALBERTO LUIS VELEZ CASTANON           ADDRESS ON FILE
ALBERTO M CERRO LOPEZ                 ADDRESS ON FILE
ALBERTO M COLON ALVARADO              ADDRESS ON FILE
ALBERTO M DEL RIO GONZALEZ            ADDRESS ON FILE
ALBERTO M JOSEPH RODAS                ADDRESS ON FILE
ALBERTO M RAMOS LUGO                  ADDRESS ON FILE
ALBERTO M TORRES QUINONES             ADDRESS ON FILE
ALBERTO MALAVES                       ADDRESS ON FILE
ALBERTO MALDONADO RIVERA              ADDRESS ON FILE
ALBERTO MALDONADO ROMAN               ADDRESS ON FILE
ALBERTO MANTILLA CAMACHO              ADDRESS ON FILE
ALBERTO MANUEL MADERA CASTILLO        ADDRESS ON FILE
ALBERTO MARQUEZ OLMEDA                ADDRESS ON FILE
ALBERTO MARTINEZ ARZOLA               ADDRESS ON FILE
ALBERTO MARTINEZ RODRIGUEZ            ADDRESS ON FILE
ALBERTO MARTINEZ RODRIGUEZ            ADDRESS ON FILE
ALBERTO MARTINEZ Y YESENIA GARCIA     ADDRESS ON FILE
ALBERTO MASQUIDA RIVERA               ADDRESS ON FILE
ALBERTO MATOS SANCHEZ                 ADDRESS ON FILE
ALBERTO MEJIAS ALVAREZ                ADDRESS ON FILE
ALBERTO MIRANDA RIVERA                ADDRESS ON FILE
ALBERTO MIRANDA SCHMIDT               ADDRESS ON FILE
ALBERTO MOLINARY RIOS                 ADDRESS ON FILE
ALBERTO MONTANEZ RIVERA               ADDRESS ON FILE
ALBERTO MORALES APONTE                ADDRESS ON FILE
ALBERTO MORALES PRADO                 ADDRESS ON FILE
ALBERTO MORALES SANCHEZ               ADDRESS ON FILE
ALBERTO MUNIZ FLORES                  ADDRESS ON FILE
ALBERTO MUNIZ MOLINERO                ADDRESS ON FILE
ALBERTO MUNOZ RIOS                    ADDRESS ON FILE
ALBERTO N RIVERA FIGUEROA             ADDRESS ON FILE
ALBERTO NAVEDO MARTINEZ               ADDRESS ON FILE
ALBERTO NIDO COLON                    ADDRESS ON FILE
ALBERTO NIEVES LOPEZ                  ADDRESS ON FILE
ALBERTO NOE REYES SOTO                ADDRESS ON FILE
ALBERTO NOLASCO BAEZ                  ADDRESS ON FILE
ALBERTO NOLASCO MONTALVO              ADDRESS ON FILE
ALBERTO NUNEZ VALENTIN/BORINTEK INC   ADDRESS ON FILE
ALBERTO O. COURET TORRES              ADDRESS ON FILE
ALBERTO OLVARRIA TRUJILLO             ADDRESS ON FILE
ALBERTO ORTIZ ORTIZ                   ADDRESS ON FILE
ALBERTO ORTIZ RIVERA                  ADDRESS ON FILE
ALBERTO ORTIZ RIVERA                  ADDRESS ON FILE
ALBERTO ORTIZ TORRES                  ADDRESS ON FILE
ALBERTO ORTIZ VARGAS                  ADDRESS ON FILE
ALBERTO PADRO                         ADDRESS ON FILE
ALBERTO PELUZZO CANETE                ADDRESS ON FILE
ALBERTO PELUZZO CANETE                ADDRESS ON FILE
ALBERTO PENA JUARBE                   ADDRESS ON FILE
ALBERTO PENA RIVERA                   ADDRESS ON FILE
ALBERTO PENA SIACA                    ADDRESS ON FILE
ALBERTO PENCHI MEDINA                 ADDRESS ON FILE
ALBERTO PEREZ BOLIVAR                 ADDRESS ON FILE
ALBERTO PEREZ CENTENO                 ADDRESS ON FILE




                                                                                  Page 178 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 179 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBERTO PEREZ RODRIGUEZ                  ADDRESS ON FILE
ALBERTO PEREZ ROQUE                      ADDRESS ON FILE
ALBERTO PEREZ TORRES                     ADDRESS ON FILE
ALBERTO PIETRI                           ADDRESS ON FILE
ALBERTO QUINONES CARABALLO               ADDRESS ON FILE
ALBERTO QUINONES RIOS                    ADDRESS ON FILE
ALBERTO QUINONES ROMERO                  ADDRESS ON FILE
ALBERTO QUINONES SANTA                   ADDRESS ON FILE
ALBERTO QUINONES SANTIAGO                ADDRESS ON FILE
ALBERTO QUINTERO CRUZ                    ADDRESS ON FILE
ALBERTO R AVILES BERRIOS                 ADDRESS ON FILE
ALBERTO R FUERTES MASAROVIC              ADDRESS ON FILE
ALBERTO R FUERTES Y MARIA YUMET          ADDRESS ON FILE
ALBERTO R GALARZA BOYRIE                 ADDRESS ON FILE
ALBERTO R ORTIZ LEBRON                   ADDRESS ON FILE
ALBERTO R PEREZ MUNOZ                    ADDRESS ON FILE
ALBERTO R ROMAN PARRILLA                 ADDRESS ON FILE
ALBERTO R WILLIAMS ANDUCE                ADDRESS ON FILE
ALBERTO RAFOLS DAVILA                    ADDRESS ON FILE
ALBERTO RAMIREZ APONTE                   ADDRESS ON FILE
ALBERTO RAMIREZ COTT                     ADDRESS ON FILE
ALBERTO RAMIREZ VARGAS                   ADDRESS ON FILE
ALBERTO RAMOS MENDEZ                     ADDRESS ON FILE
ALBERTO RAMOS MENDEZ                     ADDRESS ON FILE
ALBERTO RAMOS NEVAREZ                    ADDRESS ON FILE
ALBERTO RAMOS OTERO                      ADDRESS ON FILE
ALBERTO RAMOS QUINONEZ                   ADDRESS ON FILE
ALBERTO RAMOS ROSARIO                    ADDRESS ON FILE
ALBERTO RAMOS TORRES                     ADDRESS ON FILE
ALBERTO RAMOS VELAZQUEZ                  ADDRESS ON FILE
ALBERTO REINAT                           ADDRESS ON FILE
ALBERTO RENTA RAMOS                      ADDRESS ON FILE
ALBERTO REYES HERNANDEZ                  ADDRESS ON FILE
ALBERTO RIVAS LUGO                       ADDRESS ON FILE
ALBERTO RIVERA CARTAGENA                 ADDRESS ON FILE
ALBERTO RIVERA COLON                     ADDRESS ON FILE
ALBERTO RIVERA COLON                     ADDRESS ON FILE
ALBERTO RIVERA COLON                     ADDRESS ON FILE
ALBERTO RIVERA MOLINA                    ADDRESS ON FILE
ALBERTO RIVERA NIEVES / ALBERTO RIVERA   ADDRESS ON FILE
ALBERTO RIVERA OFARRILL                  ADDRESS ON FILE
ALBERTO RIVERA ORTIZ                     ADDRESS ON FILE
ALBERTO RIVERA RIVERA                    ADDRESS ON FILE
ALBERTO RIVERA RODRIGUEZ                 ADDRESS ON FILE
ALBERTO RIVERA RODRIGUEZ                 ADDRESS ON FILE
ALBERTO RIVERA VAZQUEZ                   ADDRESS ON FILE
ALBERTO RIVERA ZAYAS                     ADDRESS ON FILE
ALBERTO RODRIGUEZ ALVAREZ                ADDRESS ON FILE
ALBERTO RODRIGUEZ BRANCHS                ADDRESS ON FILE
ALBERTO RODRIGUEZ CALDERON               ADDRESS ON FILE
ALBERTO RODRIGUEZ CRUZ                   ADDRESS ON FILE
ALBERTO RODRIGUEZ ESTERAS                ADDRESS ON FILE
ALBERTO RODRIGUEZ LAGOMARSINI            ADDRESS ON FILE
ALBERTO RODRIGUEZ LOPEZ
ALBERTO RODRIGUEZ MENDEZ                 ADDRESS ON FILE
ALBERTO RODRIGUEZ MORALES                ADDRESS ON FILE
ALBERTO RODRIGUEZ ORTIZ                  ADDRESS ON FILE
ALBERTO RODRIGUEZ RIVERA                 ADDRESS ON FILE
ALBERTO RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
ALBERTO RODRIGUEZ TALAVERA               ADDRESS ON FILE




                                                                                     Page 179 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 180 of 3500
                                                                                                         Creditor Matrix

Creditor Name                            Address1                             Address2                                Address3             Address4    City         State   PostalCode   Country
ALBERTO ROIG BIGAS                       ADDRESS ON FILE
ALBERTO ROLON VELEZ                      ADDRESS ON FILE
ALBERTO ROQUE BENITEZ                    ADDRESS ON FILE
ALBERTO ROQUE RECINO                     ADDRESS ON FILE
ALBERTO ROSA ECHEVARRIA                  ADDRESS ON FILE
ALBERTO ROSA RIVERA                      ADDRESS ON FILE
ALBERTO ROSARIO CATALA                   ADDRESS ON FILE
ALBERTO ROSARIO MEDINA                   ADDRESS ON FILE
ALBERTO ROSARIO, ANA C.                  ADDRESS ON FILE

                                                                                                                      ATTORNEYS AT LAW #16
ALBERTO RUBEN IRIZARRY ROBLES            CODEMANDADO: ALDARONDO & LOPEZ BRAS PSCODEMANDADO: ALB PLAZA                 LAS CUMBRES AVE.     SUITE 400   GUAYNABO     PR      00969
ALBERTO RUIZ PEREA                       ADDRESS ON FILE
ALBERTO S RODRIGUEZ POVENTUD             ADDRESS ON FILE
ALBERTO SALAS ROMAN                      ADDRESS ON FILE
ALBERTO SALDA¥A RINCON                   ADDRESS ON FILE
ALBERTO SALGADO MELENDEZ                 ADDRESS ON FILE
ALBERTO SAN MIGUEL HERNANDEZ             ADDRESS ON FILE
ALBERTO SANABRIA GOMEZ                   ADDRESS ON FILE
ALBERTO SANCHEZ JAUME                    ADDRESS ON FILE
ALBERTO SANCHEZ LASSALLE                 ADDRESS ON FILE
ALBERTO SANCHEZ MARZAN                   ADDRESS ON FILE
ALBERTO SANCHEZ MELENDEZ                 ADDRESS ON FILE
ALBERTO SANTANA GARCIA                   ADDRESS ON FILE
ALBERTO SANTIAGO CUEVAS DBA LAROPTIKAL   HC‐05 BOX 58950                                                                                               HATILLO      PR      00659
ALBERTO SANTIAGO CUEVAS DBA LAROPTIKAL   P O BOX 126                                                                                                   LARES        PR      00669
ALBERTO SANTIAGO CUEVAS DBA LAROTIKAL    HC 5 BOX 58950                                                                                                HATILLO      PR      00659
ALBERTO SANTIAGO JOAQUIN                 ADDRESS ON FILE
ALBERTO SANTIAGO MARRERO                 ADDRESS ON FILE
ALBERTO SANTIAGO RESTO                   ADDRESS ON FILE
ALBERTO SANTIAGO RODRIGUEZ               ADDRESS ON FILE
ALBERTO SANTIAGO VEGA                    ADDRESS ON FILE
ALBERTO SANTOS CRUZ                      ADDRESS ON FILE
ALBERTO SANTOS GARCIA                    ADDRESS ON FILE
ALBERTO SANTOS GONZALEZ                  ADDRESS ON FILE
ALBERTO SANTOS, MARIA A                  ADDRESS ON FILE
ALBERTO SECCARELLI                       ADDRESS ON FILE
ALBERTO SEGUINOT                         ADDRESS ON FILE
ALBERTO SERRANO CEBALLO                  ADDRESS ON FILE
ALBERTO SERRANO ROSARIO                  ADDRESS ON FILE
ALBERTO SOTO ALBERTI                     ADDRESS ON FILE
ALBERTO SOTOMAYOR ACEVEDO                ADDRESS ON FILE
ALBERTO SOTOMAYOR ACEVEDO                ADDRESS ON FILE
ALBERTO TATIS HERNANDEZ CORP             VILLA VENECIA                         R101 CALLE 7                                                            CAROLINA     PR      00983‐1553
ALBERTO TIZOL MUNIZ                      ADDRESS ON FILE
ALBERTO TORRES CRUZ                      ADDRESS ON FILE
ALBERTO TORRES HERNANDEZ                 ADDRESS ON FILE
ALBERTO TORRES RIVERA                    ADDRESS ON FILE
ALBERTO TOSSAS VEGA                      ADDRESS ON FILE
ALBERTO TRIGO PARADES                    ADDRESS ON FILE
ALBERTO TRUJILLO TORRES                  ADDRESS ON FILE
ALBERTO UBINAS AYALA                     ADDRESS ON FILE
ALBERTO UMPIERRE BRASS                   ADDRESS ON FILE
ALBERTO UMPIERRE ZAMORA                  ADDRESS ON FILE
ALBERTO VARGAS CALDERON                  ADDRESS ON FILE
ALBERTO VARGAS SANTIAGO                  ADDRESS ON FILE
ALBERTO VAZQUEZ                          ADDRESS ON FILE
ALBERTO VAZQUEZ AVILES                   ADDRESS ON FILE
ALBERTO VAZQUEZ COLON                    ADDRESS ON FILE
ALBERTO VAZQUEZ COLON                    ADDRESS ON FILE




                                                                                                        Page 180 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 181 of 3500
                                                                                                   Creditor Matrix

Creditor Name                      Address1                          Address2                                   Address3   Address4   City        State   PostalCode   Country
ALBERTO VAZQUEZ GUZMAN             ADDRESS ON FILE
ALBERTO VAZQUEZ SANTIAGO           ADDRESS ON FILE
ALBERTO VEGA SANTOS                ADDRESS ON FILE
ALBERTO VELAZQUEZ ACEVEDO          ADDRESS ON FILE
ALBERTO VELAZQUEZ ACEVEDO          ADDRESS ON FILE
ALBERTO VELAZQUEZ ESTRADA          ADDRESS ON FILE
ALBERTO VELEZ CARDONA              ADDRESS ON FILE
ALBERTO VELEZ ORTIZ                ADDRESS ON FILE
ALBERTO VELEZ ROLDAN               ADDRESS ON FILE
ALBERTO VERA MARRERO               ADDRESS ON FILE
ALBERTO VIERA PEREZ                ADDRESS ON FILE
ALBERTO VIERA, FRANCES             ADDRESS ON FILE
ALBERTO VILLAFANE SANTANA          ADDRESS ON FILE
ALBERTO ZAYAS ESTERRICH            ADDRESS ON FILE
ALBERTORIO AYALA, ZULMA I          ADDRESS ON FILE
ALBERTORIO BARNES, NERMA           ADDRESS ON FILE
ALBERTORIO BERMUDEZ, MANUEL        ADDRESS ON FILE
ALBERTORIO BLONDET, HECTOR         ADDRESS ON FILE
ALBERTORIO CINTRON, EINA           ADDRESS ON FILE
ALBERTORIO CINTRON, MARIBEL        ADDRESS ON FILE
ALBERTORIO DIAZ, MARIA E           ADDRESS ON FILE
ALBERTORIO IRIZARRY, JESSICA       ADDRESS ON FILE
ALBERTORIO MALDONADO, DIANA        ADDRESS ON FILE
ALBERTORIO MALDONADO, JOSE         ADDRESS ON FILE
ALBERTORIO MALDONADO, LOURDES M.   ADDRESS ON FILE
ALBERTORIO MALDONADO, MILAGROS     ADDRESS ON FILE
ALBERTORIO MATOS, JULIA            ADDRESS ON FILE
ALBERTORIO MATOS, OLIMPIO          ADDRESS ON FILE
ALBERTORIO NEGRON, RAMON           ADDRESS ON FILE
ALBERTORIO ORTIZ, CARLOS           ADDRESS ON FILE
ALBERTORIO ORTIZ, MARITZA          ADDRESS ON FILE
ALBERTORIO ORTIZ, SONIA            ADDRESS ON FILE
ALBERTORIO RENTAS, EMMA            ADDRESS ON FILE
ALBERTORIO RIVERA, AMANDA          ADDRESS ON FILE
ALBERTORIO RIVERA, FRANCES         ADDRESS ON FILE
ALBERTORIO RIVERA, VILMARIE        ADDRESS ON FILE
ALBERTORIO RODRIGUEZ, IRMA         ADDRESS ON FILE
ALBERTORIO RODRIGUEZ, RAFAEL       ADDRESS ON FILE
ALBERTORIO SAEZ, FRANCISCO J       ADDRESS ON FILE
ALBERTORIO SAEZ, VERONICA M        ADDRESS ON FILE
ALBERTORIO SANTORI, LOURDES        ADDRESS ON FILE
ALBERTORIO VELEZ, VILMARY          ADDRESS ON FILE
ALBERTORIO VÍCTOR L.               LCDO. JAVIER F. RAMOS RODRÍGUEZ   URB. RIVERA DONATO E‐9 CALLE JESÚS M. RIVERA                     HUMACAO     PR      00791
ALBERTORIOCINTRO, GLODOBERTO       ADDRESS ON FILE
ALBERTY CASTRO, MARIBEL            ADDRESS ON FILE
ALBERTY FIGUEROA, EDGARDO          ADDRESS ON FILE
ALBERTY FRAGOSO, CARLOS            ADDRESS ON FILE
ALBERTY MARRERO, SOCORRO N.        ADDRESS ON FILE
ALBERTY MARTINEZ, MARIA M          ADDRESS ON FILE
ALBERTY MERCADO, JUAN              ADDRESS ON FILE
ALBERTY OLLER, DENISE              ADDRESS ON FILE
ALBERTY OMS, LEILANI               ADDRESS ON FILE
ALBERTY OMS, MARIAN                ADDRESS ON FILE
ALBERTY ORONA, TOMAS               ADDRESS ON FILE
ALBERTY PENA, WILMA                ADDRESS ON FILE
ALBERTY ROMAN, ILEAN               ADDRESS ON FILE
ALBERTY ROMAN, ILEAN A             ADDRESS ON FILE
ALBERTY ROMAN, MARITZA             ADDRESS ON FILE
ALBERTY RUIZ, XIOMARA E.           ADDRESS ON FILE
ALBERTY TORRES, LUIS               ADDRESS ON FILE




                                                                                                  Page 181 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 182 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                     Address2                     Address3   Address4    City              State   PostalCode   Country
ALBERTY VELEZ, MODESTA DEL C.   ADDRESS ON FILE
ALBERTY VELEZ, VICTORIA LIS     ADDRESS ON FILE
ALBERY SANCHEZ FIGUEROA         ADDRESS ON FILE
ALBETORIO RIVERA, XIOMARA       ADDRESS ON FILE
ALBETSY TORRES MARTINEZ         ADDRESS ON FILE
ALBI RENE TORRES PINTO          ADDRESS ON FILE
ALBIA ROSADO FALCON             ADDRESS ON FILE
ALBIN A RIVERA NIEVES           ADDRESS ON FILE
ALBIN MANUEL VEGA               ADDRESS ON FILE
ALBINO & MARTINEZ LLC           43 CALLE LUIS MUNOZ RIVERA                                                       SABANA GRANDE     PR      00637
ALBINO AGOSTO, LIZZETTE         ADDRESS ON FILE
ALBINO ALBELO, GLADYS           ADDRESS ON FILE
ALBINO ALBINO, FERNANDO         ADDRESS ON FILE
ALBINO ALBINO, IDALIA           ADDRESS ON FILE
ALBINO ALVAREZ, LUZ M.          ADDRESS ON FILE
ALBINO APONTE, MARIA C          ADDRESS ON FILE
ALBINO BAEZ, BENJAMIN           ADDRESS ON FILE
ALBINO BAEZ, BENJAMIN           ADDRESS ON FILE
ALBINO BAEZ, GERDMARY           ADDRESS ON FILE
ALBINO BAEZ, ROSA A             ADDRESS ON FILE
ALBINO BASCO, YESSICA           ADDRESS ON FILE
ALBINO BERRIOS, JISSABER        ADDRESS ON FILE
ALBINO CARABALLO, ANGEL L       ADDRESS ON FILE
ALBINO CEDENO, EXEL             ADDRESS ON FILE
ALBINO CEDENO, LUIS A           ADDRESS ON FILE
ALBINO CEDENO, ROSENDO          ADDRESS ON FILE
ALBINO CEDENO, ROSENDO          ADDRESS ON FILE
ALBINO CHARLES, ELIZABETH       ADDRESS ON FILE
ALBINO COLLAZO, NORKA I         ADDRESS ON FILE
ALBINO COLLAZO, SOL M           ADDRESS ON FILE
ALBINO COSME, JUAN              ADDRESS ON FILE
ALBINO CRESPO, CAMALICH         ADDRESS ON FILE
ALBINO CRUZ MD, ILEANA          ADDRESS ON FILE
ALBINO CRUZ, ANIBAL             ADDRESS ON FILE
Albino De Jesus, Sandra I       ADDRESS ON FILE
ALBINO DE SEISE, IVETTE         ADDRESS ON FILE
ALBINO DELGADO, GLORYMAR        ADDRESS ON FILE
ALBINO ESCOBAR, YANIRA          ADDRESS ON FILE
ALBINO FELICIANO, ELIZABETH     ADDRESS ON FILE
ALBINO FELICIANO, GERARDA       ADDRESS ON FILE
ALBINO FERNANDEZ, LINDA         ADDRESS ON FILE
Albino Figueroa, Jorge C        ADDRESS ON FILE
Albino Figueroa, Melvin         ADDRESS ON FILE
ALBINO FIGUEROA, PEDRO E        ADDRESS ON FILE
ALBINO FLORES, XAVIER           ADDRESS ON FILE
ALBINO FLORES, XAVIER I         ADDRESS ON FILE
ALBINO FUENTES, ANTONIO         ADDRESS ON FILE
ALBINO FUENTES, GLADYS          ADDRESS ON FILE
ALBINO GARCIA, BERNARDO         ADDRESS ON FILE
Albino Garcia, Eilynette        ADDRESS ON FILE
ALBINO GIUNDINELLI, NAYDA       ADDRESS ON FILE
Albino Gonzalez, Carlos         ADDRESS ON FILE
ALBINO GONZALEZ, IRIS N         ADDRESS ON FILE
ALBINO GONZALEZ, JAN            ADDRESS ON FILE
ALBINO GONZALEZ, JOSE L.        ADDRESS ON FILE
ALBINO GONZALEZ, NORMA          ADDRESS ON FILE
ALBINO GONZALEZ, RAFAEL         ADDRESS ON FILE
Albino Gonzalez, Rafael         ADDRESS ON FILE
ALBINO GONZALEZ, ROSALINA       ADDRESS ON FILE
ALBINO GUZMAN, ROBERTO          ADDRESS ON FILE




                                                                            Page 182 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 183 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBINO HERNANDEZ, GLADYS           ADDRESS ON FILE
ALBINO HERNANDEZ, XIANA            ADDRESS ON FILE
ALBINO HERNANDEZ, YANOSHKA Y.      ADDRESS ON FILE
ALBINO HORRACH, ROSA J             ADDRESS ON FILE
ALBINO IBARRA, KEVIN               ADDRESS ON FILE
ALBINO IRIZARRY, BENJAMIN          ADDRESS ON FILE
ALBINO IRIZARRY, LUZ I             ADDRESS ON FILE
ALBINO ITHIER, VALERIA C.          ADDRESS ON FILE
ALBINO JUSTINIANO, IVELISSE        ADDRESS ON FILE
ALBINO LEBRON, EFRAIN              ADDRESS ON FILE
ALBINO LOPEZ, CARMEN E             ADDRESS ON FILE
ALBINO LOPEZ, DORIS M              ADDRESS ON FILE
ALBINO LOPEZ, LILLIAM              ADDRESS ON FILE
ALBINO LUGO, CATIN                 ADDRESS ON FILE
ALBINO LUGO, LIZZIE                ADDRESS ON FILE
ALBINO MARRERO, GLADYS M           ADDRESS ON FILE
ALBINO MARTINEZ, ADAMINA           ADDRESS ON FILE
ALBINO MARTINEZ, ANA H             ADDRESS ON FILE
ALBINO MARTINEZ, MARIA DE LOS A.   ADDRESS ON FILE
ALBINO MARTINEZ, MARTA R           ADDRESS ON FILE
ALBINO MEDINA, JOSE                ADDRESS ON FILE
ALBINO MELENDEZ, LORRAINE          ADDRESS ON FILE
Albino Montalvo, Janell            ADDRESS ON FILE
ALBINO MORALES, BETSY              ADDRESS ON FILE
ALBINO MORALES, BETSY M            ADDRESS ON FILE
ALBINO MORALES, GILDA              ADDRESS ON FILE
ALBINO MORALES, LIZ                ADDRESS ON FILE
ALBINO MORALES, MILDRED E          ADDRESS ON FILE
ALBINO MOSCATO, OMAYRA L           ADDRESS ON FILE
ALBINO NAVARRO, JOHNNY             ADDRESS ON FILE
ALBINO NAZARIO, LIZETTE            ADDRESS ON FILE
ALBINO NAZARIO, LIZETTE            ADDRESS ON FILE
Albino Nazario, Sandra I           ADDRESS ON FILE
ALBINO NEGRON, AIDA                ADDRESS ON FILE
ALBINO NUNEZ, VIRGENMINA           ADDRESS ON FILE
ALBINO OCASIO, AIDA L              ADDRESS ON FILE
ALBINO ORRACA, PEDRO               ADDRESS ON FILE
ALBINO ORTIZ PHD, SYLVIA           ADDRESS ON FILE
ALBINO ORTIZ, JOSE                 ADDRESS ON FILE
ALBINO ORTIZ, SYLVIA               ADDRESS ON FILE
ALBINO OYOLA, CARMEN D             ADDRESS ON FILE
Albino Pabon, Donny                ADDRESS ON FILE
ALBINO PABON, DONNY                ADDRESS ON FILE
ALBINO PABON, NYDIA                ADDRESS ON FILE
ALBINO PADILLA, AIDA               ADDRESS ON FILE
ALBINO PADILLA, AIDA I             ADDRESS ON FILE
ALBINO PADILLA, ELBA I             ADDRESS ON FILE
ALBINO PAGAN, CARMEN M             ADDRESS ON FILE
ALBINO PEREZ, CARMEN               ADDRESS ON FILE
ALBINO PEREZ, KRYSTAL              ADDRESS ON FILE
ALBINO PEREZ, LILLIAN              ADDRESS ON FILE
ALBINO PEREZ, MANUEL               ADDRESS ON FILE
ALBINO PEREZ, REY J                ADDRESS ON FILE
ALBINO PICHARDO, IRAIDA E          ADDRESS ON FILE
ALBINO RAMOS, CARLOS               ADDRESS ON FILE
ALBINO RAMOS, CARMEN               ADDRESS ON FILE
ALBINO RAMOS, CARMEN I.            ADDRESS ON FILE
Albino Rentas, Edwin G.            ADDRESS ON FILE
ALBINO RIOS, CARMEN                ADDRESS ON FILE
ALBINO RIOS, CARMEN T              ADDRESS ON FILE




                                                                               Page 183 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 184 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALBINO RIOS, IRMA           ADDRESS ON FILE
Albino Rios, Leonel         ADDRESS ON FILE
ALBINO RIOS, LORNA          ADDRESS ON FILE
ALBINO RIOS, MARKUS         ADDRESS ON FILE
ALBINO RIVERA, CICMA B      ADDRESS ON FILE
ALBINO RIVERA, CORALY       ADDRESS ON FILE
ALBINO RIVERA, DAMARIS      ADDRESS ON FILE
ALBINO RIVERA, EDUARDO H    ADDRESS ON FILE
ALBINO RIVERA, ELDA         ADDRESS ON FILE
ALBINO RIVERA, LUIS A.      ADDRESS ON FILE
ALBINO RIVERA, MAGALY       ADDRESS ON FILE
ALBINO RIVERA, MAGALY       ADDRESS ON FILE
ALBINO RIVERA, MARGARITA    ADDRESS ON FILE
ALBINO RIVERA, MARTA        ADDRESS ON FILE
ALBINO RIVERA, NELSON       ADDRESS ON FILE
ALBINO RIVERA, RAUL         ADDRESS ON FILE
ALBINO RIVERA, ROSA J       ADDRESS ON FILE
ALBINO RIVERA, RUTH N       ADDRESS ON FILE
ALBINO RIVERA, WILGEN       ADDRESS ON FILE
ALBINO ROBLES, CARLOS J.    ADDRESS ON FILE
ALBINO ROBLES, LESLLIE      ADDRESS ON FILE
ALBINO RODRIGUEZ, ALLAN     ADDRESS ON FILE
ALBINO RODRIGUEZ, EDWIN     ADDRESS ON FILE
ALBINO RODRIGUEZ, MARIA     ADDRESS ON FILE
ALBINO RODRIGUEZ, RENE      ADDRESS ON FILE
ALBINO RODRIGUEZ, ZAIDA     ADDRESS ON FILE
ALBINO ROLON, DAVID         ADDRESS ON FILE
ALBINO ROMAN, LUIS M.       ADDRESS ON FILE
ALBINO ROSARIO, DAISY       ADDRESS ON FILE
ALBINO ROSDO, LUIS          ADDRESS ON FILE
ALBINO RUIZ, ACENET         ADDRESS ON FILE
ALBINO RUIZ, ALEX           ADDRESS ON FILE
ALBINO RUIZ, ALEX           ADDRESS ON FILE
ALBINO RUIZ, ANIBAL         ADDRESS ON FILE
ALBINO SAEZ, CAROLYN        ADDRESS ON FILE
ALBINO SAEZ, FRANCISCO      ADDRESS ON FILE
ALBINO SAEZ, KATHERINE      ADDRESS ON FILE
ALBINO SAEZ, RICARDO        ADDRESS ON FILE
ALBINO SANCHEZ, IRIS A      ADDRESS ON FILE
Albino Sanchez, Pedro       ADDRESS ON FILE
Albino Sanchez, Rafael      ADDRESS ON FILE
ALBINO SANTIAGO, CARLA      ADDRESS ON FILE
ALBINO SANTIAGO, CARLA M.   ADDRESS ON FILE
ALBINO SANTOS, JULY         ADDRESS ON FILE
ALBINO SANTOS, RICARDO      ADDRESS ON FILE
ALBINO SEPULVEDA, ESTEBAN   ADDRESS ON FILE
ALBINO SERRANO, CARMEN I    ADDRESS ON FILE
ALBINO SERRANO, GLADYS      ADDRESS ON FILE
ALBINO SERRANO, ISIDRA M    ADDRESS ON FILE
ALBINO SERRANO, LUCILA      ADDRESS ON FILE
ALBINO SERRANO, VIOLETA     ADDRESS ON FILE
ALBINO TIRADO, JOSE         ADDRESS ON FILE
ALBINO TORRES, ACTRIZ       ADDRESS ON FILE
ALBINO TORRES, ANIBAL E     ADDRESS ON FILE
ALBINO TORRES, JOSE         ADDRESS ON FILE
ALBINO TORRES, JOSE D       ADDRESS ON FILE
ALBINO TORRES, JUAN A       ADDRESS ON FILE
ALBINO TORRES, LUISA        ADDRESS ON FILE
ALBINO TORRES, WILMARIE     ADDRESS ON FILE
ALBINO TORRES, WILMARIE     ADDRESS ON FILE




                                                                        Page 184 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 185 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                         Address2                  Address3   Address4    City         State   PostalCode   Country
ALBINO TORRES, ZULMA                    ADDRESS ON FILE
ALBINO VALENTIN, NELLY                  ADDRESS ON FILE
ALBINO VAZQUEZ MD, VIVIAN               ADDRESS ON FILE
ALBINO VAZQUEZ, LYDIA M                 ADDRESS ON FILE
ALBINO VAZQUEZ, WANDA                   ADDRESS ON FILE
ALBINO VEGA, LISED M                    ADDRESS ON FILE
ALBINO VELAZQUEZ, MARILYN J             ADDRESS ON FILE
ALBINO VELAZQUEZ, MARILYN J             ADDRESS ON FILE
ALBINO VELEZ, DANIEL                    ADDRESS ON FILE
ALBINO VELEZ, MAYRA                     ADDRESS ON FILE
ALBINO VELEZ, NILDA J.                  ADDRESS ON FILE
ALBINO VELEZ, ROSA M                    ADDRESS ON FILE
ALBINO, ERNIE                           ADDRESS ON FILE
ALBINO, MARIA V                         ADDRESS ON FILE
ALBINO, RICHARD                         ADDRESS ON FILE
ALBINOMARTINEZ, RESTITUTO               ADDRESS ON FILE
ALBINQ RIVERA, CINDY                    ADDRESS ON FILE
ALBIT J RIVERA TORRES                   ADDRESS ON FILE
ALBIT R PAOLI GARCIA                    ADDRESS ON FILE
ALBITAS LAB. INC.                       159 CALLE ANDRES ARUS RIVERA W                                                    GURABO       PR      00778
ALBITE VELEZ, LILLIAN                   ADDRESS ON FILE
ALBITE VELEZ, LILLIAN                   ADDRESS ON FILE
ALBITE VELEZ, LILLIAN                   ADDRESS ON FILE
ALBIZAEL RODRIGUEZ MONTANEZ             ADDRESS ON FILE
ALBIZAEL RODRIGUEZ/TRANSPORTE PAPO ALVY ADDRESS ON FILE
ALBIZU ALICEA, CARMEN L.                ADDRESS ON FILE
ALBIZU ALICEA, CARMEN L.                ADDRESS ON FILE
ALBIZU APONTE, LOURDES R.               ADDRESS ON FILE
ALBIZU BARBOSA, GLORIA M                ADDRESS ON FILE
ALBIZU BARBOSA, MARIA V                 ADDRESS ON FILE
ALBIZU BARBOSA, MARTHA E                ADDRESS ON FILE
ALBIZU BERRIOS, ROSEMARIE               ADDRESS ON FILE
ALBIZU CEPEDA, PERLA                    ADDRESS ON FILE
ALBIZU CORDERO, GISELA                  ADDRESS ON FILE
ALBIZU DE JESUS, JUAN P                 ADDRESS ON FILE
ALBIZU ESTIEN, PEDRO JUAN               ADDRESS ON FILE
Albizu Garcia, Felix R                  ADDRESS ON FILE
Albizu Garcia, Mirta                    ADDRESS ON FILE
ALBIZU GARCIA, RAMON                    ADDRESS ON FILE
ALBIZU MERCADO, JAVIER                  ADDRESS ON FILE
ALBIZU MERCED, ANA L                    ADDRESS ON FILE
ALBIZU MERCED, ANTONIA MINERVA          ADDRESS ON FILE
ALBIZU MERCED, CARLOS E                 ADDRESS ON FILE
ALBIZU MERCED, NOEMI                    ADDRESS ON FILE
ALBIZU MERCED, VALENTIN                 ADDRESS ON FILE
ALBIZU MORALES, PABLO                   ADDRESS ON FILE
ALBIZU RAMOS, JUAN                      ADDRESS ON FILE
ALBIZU RIVERA, AMNERIS                  ADDRESS ON FILE
ALBIZU RIVERA, ANGEL                    ADDRESS ON FILE
ALBIZU RIVERA, IRIS A.                  ADDRESS ON FILE
ALBIZU RIVERA, JESUS M                  ADDRESS ON FILE
ALBIZU ROSARIO, LUCIANNE                ADDRESS ON FILE
ALBIZU SANCHEZ, ILEANA                  ADDRESS ON FILE
ALBIZU SANTOS, ENID L.                  ADDRESS ON FILE
ALBIZU SEPULVEDA, ANGELA                ADDRESS ON FILE
ALBIZU TORRES, GLENDA                   ADDRESS ON FILE
ALBIZU, ANA                             ADDRESS ON FILE
ALBO MARTINEZ, ORLANDO                  ADDRESS ON FILE
ALBÓ VELÁZQUEZ, AIDA C.                 ADDRESS ON FILE
ALBO VELAZQUEZ, AIDA CAMILE             ADDRESS ON FILE




                                                                                     Page 185 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 186 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                    Address2                      Address3   Address4    City             State   PostalCode   Country
Albore Furniture Boutique         101 Calle San Carlos                                                             Quebradillas     PR      00678
ALBORS MELIA, CARMEN A            ADDRESS ON FILE
ALBORS MORA MD, MELANIE           ADDRESS ON FILE
ALBORS ORTIZ, ADRIANA             ADDRESS ON FILE
ALBORS ORTIZ, ADRIANA C.          ADDRESS ON FILE
ALBORS ORTIZ, FRANCES             ADDRESS ON FILE
ALBORS PERALTA, MARIA             ADDRESS ON FILE
ALBORS RUIZ, RAUL                 ADDRESS ON FILE
ALBORS VELEZ, ESTHER              ADDRESS ON FILE
ALBRIGHT LINERA, ERNEST           ADDRESS ON FILE
ALBRIGHT LINERA, JAMES            ADDRESS ON FILE
ALBRIGHT LINERA, JOHN H           ADDRESS ON FILE
ALBRIGHT, SAMUEL                  ADDRESS ON FILE
ALBURQUERQUE DIAZ, ABEL           ADDRESS ON FILE
ALBURQUERQUE MD, LUCRECIA         ADDRESS ON FILE
ALBURQUERQUE MELENDEZ, AMANDA L   ADDRESS ON FILE
ALBURQUERQUE RAMIREZ, CESAR       ADDRESS ON FILE
ALBURQUERQUE SOLANO, JOHANNA A    ADDRESS ON FILE
ALCABES LOPEZ, NAOMI              ADDRESS ON FILE
ALCAIDE ALCAIDE, NYDIA            ADDRESS ON FILE
ALCAIDE ALCAIDE, VIRGINIA A       ADDRESS ON FILE
ALCAIDE ARROYO, ANGEL             ADDRESS ON FILE
ALCAIDE ARROYO, ANTONIA           ADDRESS ON FILE
ALCAIDE CANDELARIA, ANA           ADDRESS ON FILE
ALCAIDE CRUZ, ENID                ADDRESS ON FILE
Alcaide Gonzalez, Richard         ADDRESS ON FILE
Alcaide Martinez, Jorge E.        ADDRESS ON FILE
ALCAIDE MOLINA, ZULMARI           ADDRESS ON FILE
ALCAIDE MUNOZ, JAVIER A.          ADDRESS ON FILE
ALCAIDE QUILES, SYLMA             ADDRESS ON FILE
ALCAIDE RIOS, EILEEN              ADDRESS ON FILE
ALCAIDE ROSARIO, IDANIA           ADDRESS ON FILE
ALCALA BUS LINE                   63 ESTE CALLE SOTO ESPANA                                                        SAN LORENZO      PR      00754
ALCALA CABRERA, FRANCISCO         ADDRESS ON FILE
ALCALA CABRERA, LICELLE M         ADDRESS ON FILE
ALCALA CABRERA, WANDA             ADDRESS ON FILE
ALCALA CABRERA, WANDA J           ADDRESS ON FILE
ALCALA MUÑOZ MD, CARLOS R         ADDRESS ON FILE
ALCALA MUNOZ, MARTA A             ADDRESS ON FILE
ALCALA MUQOZ, JOSE H              ADDRESS ON FILE
ALCALA OCASIO MD, DIEGO J         ADDRESS ON FILE
ALCALA OCASIO, DIEGO              ADDRESS ON FILE
ALCALA OCINALDI, MAGDALIZ         ADDRESS ON FILE
ALCALA PEREZ, GUSTAVO             ADDRESS ON FILE
ALCALA RIVERA, YUSEPH             ADDRESS ON FILE
ALCALA ROSADO, LIZETTE G          ADDRESS ON FILE
ALCALA ROSADO, MAYRA I.           ADDRESS ON FILE
ALCALA ROSADO, MAYRA I.           ADDRESS ON FILE
ALCALA SANTIAGO, LUZ I            ADDRESS ON FILE
ALCALA VEGA, MARCHELLI            ADDRESS ON FILE
ALCALDE AUTO PART INC             P.O. BOX 191104                                                                  SAN JUAN         PR      00919‐1104
ALCALDE AUTO PART INC.            P.O. BOX 191104                                                                                   PR      00919
ALCALDE AUTO PARTS                219 AVE QUISQUEYA                                                                SAN JUAN         PR      00917
ALCALDE AUTO PARTS                219 AVE. QUISQUEYA                                                               HATO REY         PR      00917
ALCALDE AUTO PARTS                PO BOX 191104                                                                    SAN JUAN         PR      00919
ALCALDE AUTO PARTS                PO BOX 1911404                                                                   SAN JUAN         PR      00919‐1104
Alcalde Auto Parts, Inc.          PO BOX 191104                                                                    SAN JUAN         PR      00919‐1104
ALCAN PACKAGING PUERTO RICO IN    PO BOX 6500                                                                      CAYEY            PR      00737
ALCANTARA CARDI MD, GEORGE D      ADDRESS ON FILE
ALCANTARA FELIX, EUFEMIA          ADDRESS ON FILE




                                                                              Page 186 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 187 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALCANTARA FELIZ, WILLIAM            ADDRESS ON FILE
ALCANTARA GARCIA, ELSA              ADDRESS ON FILE
ALCANTARA GONZALEZ MD, AURORA       ADDRESS ON FILE
ALCANTARA INFANTE, HIRANI           ADDRESS ON FILE
ALCANTARA LLUSIA, BLANCA            ADDRESS ON FILE
ALCANTARA LOPEZ, ROXANNE            ADDRESS ON FILE
ALCANTARA MANANA, MAITE             ADDRESS ON FILE
ALCANTARA MARTE, JOSUE              ADDRESS ON FILE
ALCANTARA NUNEZ, VERONICA           ADDRESS ON FILE
ALCANTARA ORTIZ, REGINO             ADDRESS ON FILE
ALCANTARA PANIAGUA, ELIDA           ADDRESS ON FILE
ALCANTARA REYES, BRAULIO            ADDRESS ON FILE
ALCANTARA RIVERA, ANGEL             ADDRESS ON FILE
ALCANTARA RODRIGUEZ,MARIA L.        ADDRESS ON FILE
ALCANTARA TAVAREZ, JONATHAN         ADDRESS ON FILE
ALCANTARA TEJADA, LUIS G            ADDRESS ON FILE
ALCANTARA TEJEDA, ROGER             ADDRESS ON FILE
ALCANTARA VARGAS, JULIAN            ADDRESS ON FILE
ALCANTARA VICENTE, QUENIA           ADDRESS ON FILE
ALCANTARAFAMILIA, JUANA             ADDRESS ON FILE
ALCANTARO GOMEZ, CLAUDINA           ADDRESS ON FILE
ALCANTARO GOMEZ, LUIS H.            ADDRESS ON FILE
ALCANZANDO EL EXITO                 ADDRESS ON FILE
ALCANZANDO EL EXITO                 ADDRESS ON FILE
Alcaraz & Emmanuelli, Abogs., CSP   Apartado Postal 1408                                                             Mayaguez     PR      00681‐1408
Alcaraz & Emmanuelli, Abogs., CSP   PO BOX 1408                                                                      MAYAGUEZ     PR      00681‐1408
ALCARAZ AGOSTO, JULIO C             ADDRESS ON FILE
ALCARAZ ALFARO, ALEXIS              ADDRESS ON FILE
ALCARAZ EMMANUEL, GABRIEL           ADDRESS ON FILE
ALCARAZ EMMANUELLI, ELISA           ADDRESS ON FILE
ALCARAZ ESCOBAR, LORENA             ADDRESS ON FILE
ALCARAZ HERNANDEZ, EPIFANIA         ADDRESS ON FILE
ALCARAZ MELENDEZ, SOL E             ADDRESS ON FILE
ALCARAZ MICHELI, JULIE              ADDRESS ON FILE
ALCARAZ RIOS, LUISG                 ADDRESS ON FILE
ALCARAZ SUYAS, ANA                  ADDRESS ON FILE
ALCARAZ SUYAS, JESUS M              ADDRESS ON FILE
ALCARAZ SUYAS, MARIA A              ADDRESS ON FILE
ALCARAZ VELAZQUEZ, HORACIO          ADDRESS ON FILE
ALCARAZ VELAZQUEZ, LOURDES M        ADDRESS ON FILE
ALCAZAR CRESPO, ARLENE J            ADDRESS ON FILE
ALCAZAR FLORES, ANA M               ADDRESS ON FILE
ALCAZAR GUZMAN, JOSE A              ADDRESS ON FILE
ALCAZAR HERNANDEZ, ADOLFO A         ADDRESS ON FILE
ALCAZAR HERNANDEZ, VICTOR           ADDRESS ON FILE
ALCAZAR HERNANDEZ, YOLANDA          ADDRESS ON FILE
ALCAZAR MORALES, CARMEN E           ADDRESS ON FILE
ALCAZAR MORALES, CLARIBEL           ADDRESS ON FILE
ALCAZAR RAMOS, ADA                  ADDRESS ON FILE
ALCAZAR RAMOS, GLORIA               ADDRESS ON FILE
ALCAZAR RAMOS, GLORIA A             ADDRESS ON FILE
ALCAZAR RAMOS, MELINDA A            ADDRESS ON FILE
ALCAZAR RIVERO, LINA D.             ADDRESS ON FILE
Alcazar Rodriguez, Jose             ADDRESS ON FILE
ALCAZAR ROMAN, DIGNA E              ADDRESS ON FILE
ALCAZAR ROMAN, ISABEL               ADDRESS ON FILE
ALCAZAR ROMAN, MARIA M              ADDRESS ON FILE
ALCAZAR ROSARIO, LUIS               ADDRESS ON FILE
ALCAZAR RUIZ, INGRED                ADDRESS ON FILE
ALCAZAR SABATHIE MD, JOSE A         ADDRESS ON FILE




                                                                                Page 187 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 188 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City          State   PostalCode   Country
ALCEDES VARGAS ORTIZ               ADDRESS ON FILE
ALCIBIADES SANTANA RAMIREZ         ADDRESS ON FILE
ALCIDES ACEVEDO RIVERA             ADDRESS ON FILE
ALCIDES ALICEA/ LUCILA RODRIGUEZ   ADDRESS ON FILE
ALCIDES AROCHO, FIBIO              ADDRESS ON FILE
Alcides Hernandez Nieves           ADDRESS ON FILE
ALCIDES J GARCIA DIAZ              ADDRESS ON FILE
ALCIDES L MORALES PEREZ            ADDRESS ON FILE
ALCIDES LOPEZ MIRANDA              ADDRESS ON FILE
ALCIDES MENDEZ SANTIAGO            ADDRESS ON FILE
ALCIDES RIVERA MALDONADO           ADDRESS ON FILE
ALCIDES RODRIGUEZ HERNANDEZ        ADDRESS ON FILE
ALCIDES SEJUELA / LUZ M AMADOR     ADDRESS ON FILE
ALCIDES SIERRA ROLDAN              ADDRESS ON FILE
ALCIDES SIERRA ROLDAN              ADDRESS ON FILE
ALCIDES VELEZ                      ADDRESS ON FILE
ALCIDES VILLALOBOS BRACERO         ADDRESS ON FILE
ALCO HIGH TECH PLASTIC INC         PO BOX 679                                                                       COROZAL       PR      00783
ALCO HIGH TECH PLASTICS INC        PO BOX 9000 PMB 3028                                                             COROZAL       PR      00783
ALCO HIGH TECH PLASTICS INC        URB RIVERSIDE PARK        13 CALLE 1 A                                           BAYAMON       PR      00961
ALCOBA FREYTES, CARLOS R           ADDRESS ON FILE
ALCOBA RAMOS, VERONICA I           ADDRESS ON FILE
ALCOBA ROSADO, JORGE I             ADDRESS ON FILE
ALCOCER RODRIGUEZ, RONESI          ADDRESS ON FILE
ALCOCER VICENTE, MARIBEL           ADDRESS ON FILE
ALCON HORTA, MELISSA               ADDRESS ON FILE
ALCON VEGA, FELICITA               ADDRESS ON FILE
ALCOPRO                            P O BOX 10954                                                                    KNOXVILLE     TN      37939
ALCOVER AYGUABIBAS, JOSE           ADDRESS ON FILE
ALCOVER COLON, LYMARI              ADDRESS ON FILE
Alcover Colon, Miguel              ADDRESS ON FILE
ALCOVER ELIAS, HAROLD              ADDRESS ON FILE
ALCOVER FERNANDEZ, LORRAINE        ADDRESS ON FILE
ALCOVER IRIZARRY, MAYRA            ADDRESS ON FILE
ALCOVER MIRANDA, CHRISTIAN         ADDRESS ON FILE
ALCOVER OL, ALFONSO E              ADDRESS ON FILE
ALCOVER ORTIZ, DAVID               ADDRESS ON FILE
ALCOVER QUILES, IVELISSE           ADDRESS ON FILE
Alcover Ramos, Nancy               ADDRESS ON FILE
Alcover Rivera, Edwin              ADDRESS ON FILE
ALCOVER RIVERA, JOYCE              ADDRESS ON FILE
ALCOVER RIVERA, WANDA              ADDRESS ON FILE
ALCOVER RODRIGUEZ, VILMARYS        ADDRESS ON FILE
ALCOVER RODRIGUEZ, VIVIAN          ADDRESS ON FILE
ALCOVER SAUL, ARTURO               ADDRESS ON FILE
ALCOVER VINAS, YARALIS             ADDRESS ON FILE
ALCOVER VINAS, YARIMAR             ADDRESS ON FILE
ALCOVER,JORGE                      ADDRESS ON FILE
ALCRUDO SANTINI, LOURDES           ADDRESS ON FILE
ALCUMBRAC, ERIK                    ADDRESS ON FILE
ALCYONE FABREGAS SOTELO            ADDRESS ON FILE
ALD NEPHROLOGY, P S C              300 AVE LA SIERRA         BOX 23                                                 SAN JUAN      PR      00926
ALDAHONDA MENDEZ, ANA              ADDRESS ON FILE
Aldahondo Cuperes, Jonathan        ADDRESS ON FILE
Aldahondo Cuperez, Joseph          ADDRESS ON FILE
ALDAHONDO HERNANDEZ, BRUNILDA      ADDRESS ON FILE
ALDAHONDO MEDINA, SILMARIE         ADDRESS ON FILE
ALDAHONDO MORALES, RUTH            ADDRESS ON FILE
ALDAHONDO RIVERA, ANNETTE          ADDRESS ON FILE
Aldahondo Rosa, Gerardo            ADDRESS ON FILE




                                                                               Page 188 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 189 of 3500
                                                                                                 Creditor Matrix

Creditor Name                        Address1                  Address2                                       Address3   Address4   City         State   PostalCode   Country
ALDAHONDO SANTOS, JONATHAN           ADDRESS ON FILE
ALDAHONDO SANTOS, JONATHAN           ADDRESS ON FILE
ALDAHONDO SEDA, CHRISTOPHER          ADDRESS ON FILE
ALDAHONDO SOTO, ZAIDA I              ADDRESS ON FILE
ALDAHONDO VERA, ROSANNIE             ADDRESS ON FILE
ALDAMUY ALBERTY, JAVIER FRANCISCO    ADDRESS ON FILE
ALDANONDO MARCANO, IVAN              ADDRESS ON FILE
ALDANONDO MARCANO, YARITZA           ADDRESS ON FILE
ALDANONDO RIVERA, JOSE L             ADDRESS ON FILE
ALDARONDO & LOPEZ BRAS LAW OFFICES   VILLA CLEMENTINA          16 CALLE SAN JOSE                                                    GUAYNABO     PR      00969
ALDARONDO & LOPEZ BRAS P.S.C.        ALB PLAZA                 16 CARR 199 SUITE 400                                                GUAYNABO     PR      00969
ALDARONDO ACEVEDO, MARIA L           ADDRESS ON FILE
ALDARONDO ALFARO, ALIDA              ADDRESS ON FILE
ALDARONDO ANDUJAR, WILDER A          ADDRESS ON FILE
ALDARONDO BADILLO MD, ROBERTO        ADDRESS ON FILE
ALDARONDO BARADA, GABRIEL            ADDRESS ON FILE
ALDARONDO CANALES, JOANELLYS         ADDRESS ON FILE
ALDARONDO CONCEPCION, RAUL           ADDRESS ON FILE
ALDARONDO CORDERO, DARLENE           ADDRESS ON FILE
ALDARONDO CRUZ, ROMEL D              ADDRESS ON FILE
ALDARONDO DELGADO, GRISELLE          ADDRESS ON FILE
ALDARONDO GARCIA MD, FRANCISCO       ADDRESS ON FILE
ALDARONDO GARCIA, LUZ G              ADDRESS ON FILE
ALDARONDO GIRALD LAW PSC             PONCE DE LEON AVE         ESQUIRE BLDG 2 VELA ST.STE 701                                       SAN JUAN     PR      00918
ALDARONDO HERNANDEZ, JOSE            ADDRESS ON FILE
ALDARONDO HERNANDEZ, JOSEPH          ADDRESS ON FILE
ALDARONDO LOPEZ, NEYSA A             ADDRESS ON FILE
ALDARONDO LUGO, ZAIDA                ADDRESS ON FILE
ALDARONDO MACEIRA, EDGARDO           ADDRESS ON FILE
ALDARONDO MALDONADO, LORELEI         ADDRESS ON FILE
Aldarondo Matias, Angel              ADDRESS ON FILE
ALDARONDO MORALES, VILMA D           ADDRESS ON FILE
ALDARONDO OCASIO, MARIA DEL C        ADDRESS ON FILE
ALDARONDO ORTEGA, YAMIL              ADDRESS ON FILE
ALDARONDO PADRO, CARLOS A            ADDRESS ON FILE
ALDARONDO PAGAN, ELIDIO              ADDRESS ON FILE
ALDARONDO PEREZ, RAFAEL              ADDRESS ON FILE
ALDARONDO PEREZ, RAFAEL R.           ADDRESS ON FILE
ALDARONDO QUINONES, SYLVIA           ADDRESS ON FILE
ALDARONDO RODRIGUEZ, GERARDO         ADDRESS ON FILE
ALDARONDO RODRIGUEZ, HECTOR          ADDRESS ON FILE
ALDARONDO RODRIGUEZ, HECTOR          ADDRESS ON FILE
ALDARONDO RODRIGUEZ, IDAMARIS        ADDRESS ON FILE
ALDARONDO RUIZ, VERONICA             ADDRESS ON FILE
ALDARONDO RUIZ, VICTOR               ADDRESS ON FILE
ALDARONDO SANTIAGO, ARMANDO          ADDRESS ON FILE
ALDARONDO SOTO, MIGDALIA             ADDRESS ON FILE
ALDARONDO SOTO, NORMA E              ADDRESS ON FILE
ALDARONDO TORRES, MARTIN             ADDRESS ON FILE
Aldarondo Torres, Martin Bryan       ADDRESS ON FILE
Aldarondo Torres, Samuel             ADDRESS ON FILE
ALDARONDO VARGAS, ROBERTO            ADDRESS ON FILE
ALDARONDO VEGA, GLORIMAR             ADDRESS ON FILE
ALDARONDO VELAZQUEZ, GISELA          ADDRESS ON FILE
ALDARONDO VELAZQUEZ, GONZALO         ADDRESS ON FILE
ALDARONDO VELAZQUEZ, JAIME           ADDRESS ON FILE
ALDARONDO VELAZQUEZ, ROSENDA         ADDRESS ON FILE
ALDARONDO, MARITZA E.                ADDRESS ON FILE
ALDARONDO, MYRA                      ADDRESS ON FILE
ALDARONDOALFONSO, SUJEIL             ADDRESS ON FILE




                                                                                                Page 189 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 190 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                        Address2                  Address3   Address4    City         State   PostalCode   Country
ALDARRONDO LOPEZ, ELIEZER      ADDRESS ON FILE
ALDEA ALDEA, ELIZABETH         ADDRESS ON FILE
ALDEA BENITEZ, JEENHER         ADDRESS ON FILE
ALDEA CARRION, HECTOR          ADDRESS ON FILE
ALDEA CLAUDIO, CARMELO         ADDRESS ON FILE
ALDEA CLAUDIO, CYNTHIA         ADDRESS ON FILE
ALDEA DELGADO, GLADYS          ADDRESS ON FILE
ALDEA DELGADO, JANELIS         ADDRESS ON FILE
ALDEA DELGADO, JANELISE        ADDRESS ON FILE
Aldea Delgado, Jose O          ADDRESS ON FILE
ALDEA DELGADO, MARIA DEL C     ADDRESS ON FILE
ALDEA FERNANDEZ, ERICK         ADDRESS ON FILE
ALDEA FIGUEROA, EDDIE R.       ADDRESS ON FILE
ALDEA FLORES, LETICIA          ADDRESS ON FILE
ALDEA GARCIA, WANDA            ADDRESS ON FILE
ALDEA LOZADA, HECTOR L         ADDRESS ON FILE
ALDEA MALDONADO, ISMAEL        ADDRESS ON FILE
ALDEA MALDONADO, WILLIAM       ADDRESS ON FILE
ALDEA MONTANEZ, GUILLERMO      ADDRESS ON FILE
ALDEA MORENO, JOSE             ADDRESS ON FILE
Aldea Neriz, Ricardo           ADDRESS ON FILE
ALDEA PIETRI, JORGE            ADDRESS ON FILE
ALDEA PIETRI, LUIS             ADDRESS ON FILE
ALDEA RAMOS, PEDRO             ADDRESS ON FILE
ALDEA RIVERA, MIGUEL           ADDRESS ON FILE
ALDEA RIVERA, MIGUEL           ADDRESS ON FILE
ALDEA RODRIGUEZ, LUIS          ADDRESS ON FILE
ALDEA VELAZQUEZ, PEDRO         ADDRESS ON FILE
ALDEACLAUDIO, JOSE A           ADDRESS ON FILE
ALDEBOL COLON, JOSE A          ADDRESS ON FILE
ALDEBOL COLON, LUIS            ADDRESS ON FILE
ALDEBOL GUASH, LUZ M           ADDRESS ON FILE
ALDEBOL MATOS, JOSE            ADDRESS ON FILE
ALDEBOL MIRANDA, EDGARDO       ADDRESS ON FILE
ALDEBOL MORA, WALESKA          ADDRESS ON FILE
ALDEBOL MORA, WALESKA I        ADDRESS ON FILE
ALDEBOL RIOS, JOSEPH           ADDRESS ON FILE
ALDEBOL ROMAN, JAIDYS          ADDRESS ON FILE
ALDECOA CASTRO, MANUEL         ADDRESS ON FILE
Aldecoa Figueroa, Omar J       ADDRESS ON FILE
ALDECOA JIMENEZ, WANDA         ADDRESS ON FILE
ALDEMAR RUBIO PACHECO          ADDRESS ON FILE
ALDEMAR SANTAMARIA TORRES      ADDRESS ON FILE
ALDERA ORTIZ, JAVIER AGUSTIN   ADDRESS ON FILE
ALDERMAN MD, JAMES             ADDRESS ON FILE
ALDERWOODS PUERTO RICO INC     BOX 449 SENORIAL MAIL STATION                                                    SAN JUAN     PR      00926
ALDERWOODS PUERTO RICO INC     P O BOX 29402                                                                    SAN JUAN     PR      00929
ALDEVOL SANTIAGO, NORMA        ADDRESS ON FILE
ALDIMAISA A MATA BERIA         ADDRESS ON FILE
ALDIMAISA A MATA BERIA         ADDRESS ON FILE
ALDIS CRUZ PAGAN               ADDRESS ON FILE
Aldiva Delgado, Edwin          ADDRESS ON FILE
ALDIVA DELGADO, EDWIN          ADDRESS ON FILE
ALDIVA HERNANDEZ MD, NELSON    ADDRESS ON FILE
Aldiva Hernandez, Josue Y.     ADDRESS ON FILE
ALDIVA LOPEZ, DAMARYS B        ADDRESS ON FILE
ALDIVA LOPEZ, LUIS R           ADDRESS ON FILE
ALDIVA RUIZ, JOSE D            ADDRESS ON FILE
ALDIVA SOTO, GLORIA DEL C      ADDRESS ON FILE
ALDO L PEREZ GOMEZ             ADDRESS ON FILE




                                                                           Page 190 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 191 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                         Address2                 Address3   Address4    City         State   PostalCode   Country
ALDO MINOZZI AND ASSOCIATES,PSC   VILLAS DE CARRAIZO RR7 BOX 337                                                   SAN JUAN     PR      00926‐0000
ALDO MORALES QUIRINDONGO          ADDRESS ON FILE
ALDO PINERO CORREA                ADDRESS ON FILE
ALDO QUIRINDONGO ALBINO           ADDRESS ON FILE
ALDO R SANDOVAL CRUZ              ADDRESS ON FILE
ALDOIN LOPEZ REYES                ADDRESS ON FILE
ALDOY LOPEZ, AURORA               ADDRESS ON FILE
ALDOY LOPEZ, ESTHER               ADDRESS ON FILE
ALDOY MEXIA, BIANCA A.            ADDRESS ON FILE
ALDREY CUADRO, JOSE M.            ADDRESS ON FILE
ALDREY CUADRO, JOSE M.            ADDRESS ON FILE
ALDREY CUADRO, LUIS JAVIER        ADDRESS ON FILE
ALDREY LOPEZ, JOSE                ADDRESS ON FILE
ALDREY LOPEZ, NINETTE             ADDRESS ON FILE
ALDREY MORALES, DIAMAR            ADDRESS ON FILE
ALDREY MORALES, DIAMAR            ADDRESS ON FILE
ALDRICH CENTENO, GLORIA J         ADDRESS ON FILE
ALDRICH GONZALEZ, JOSE            ADDRESS ON FILE
ALDRICH MENDEZ, JOSE A            ADDRESS ON FILE
ALDRICH MENDEZ, OLGA              ADDRESS ON FILE
ALDRICH, JENNIFER                 ADDRESS ON FILE
ALDRID F CONNIEL LUNA             ADDRESS ON FILE
ALDRID F CONNIEL LUNA             ADDRESS ON FILE
ALDRIDGE KONTOS, LEONARD M        ADDRESS ON FILE
ALDRIDGE MD, EDWARD               ADDRESS ON FILE
Alduen Ross, Frank D              ADDRESS ON FILE
ALDUEN RUBIO, LEOCADIA            ADDRESS ON FILE
ALDUENDE APONTE, MELVIN           ADDRESS ON FILE
ALE, ANIBAL                       ADDRESS ON FILE
ALE, ANIBAL                       ADDRESS ON FILE
ALECXA RIVERA SANTIAGO            ADDRESS ON FILE
ALECXY CINTRON DE JESUS           ADDRESS ON FILE
ALECXY CINTRON DE JESUS           ADDRESS ON FILE
ALEDES INC                        RR 4 BOX 3452                                                                    BAYAMON      PR      00956
ALEDO DIAZ, CARMEN                ADDRESS ON FILE
ALEDO DIAZ, HILDA                 ADDRESS ON FILE
ALEDO DIAZ, VICTOR                ADDRESS ON FILE
ALEDO GARCIA, VICTOR M.           ADDRESS ON FILE
ALEDO RENTAS, GABRIEL             ADDRESS ON FILE
ALEDO RIVERA, HECTOR              ADDRESS ON FILE
ALEDO RIVERA, VANESSA             ADDRESS ON FILE
ALEGNA VAZQUEZ GONZALEZ           ADDRESS ON FILE
ALEGRE HERNANDEZ MD, MANUEL       ADDRESS ON FILE
Alegre Santiago, Jose A           ADDRESS ON FILE
ALEGRIA CORDERO, MELVIN           ADDRESS ON FILE
ALEGRIA HERNANDEZ, CARMEN L.      ADDRESS ON FILE
ALEGRIA RIVERA, EDUARDO           ADDRESS ON FILE
ALEGRIA RIVERA, EVA E             ADDRESS ON FILE
ALEGRIA RODRIGUEZ, RAFAEL         ADDRESS ON FILE
ALEGRIA ROMAN, ZAIDA              ADDRESS ON FILE
ALEGRIA SERRANO, ELIZABETH        ADDRESS ON FILE
Alegria Serrano, Juan M.          ADDRESS ON FILE
ALEGRIA SERRANO, SORAYA E         ADDRESS ON FILE
ALEIDA A BOSQUES HERNANDEZ        ADDRESS ON FILE
ALEIDA ALBELO SANTIAGO            ADDRESS ON FILE
ALEIDA ALSINA/ CARLOS D CACERES   ADDRESS ON FILE
ALEIDA CARDONA MUNIZ              ADDRESS ON FILE
ALEIDA CHEVERE LANDRAU            ADDRESS ON FILE
ALEIDA FERRER MUNOZ               ADDRESS ON FILE
ALEIDA FERRER MUNOZ               ADDRESS ON FILE




                                                                              Page 191 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 192 of 3500
                                                                                         Creditor Matrix

Creditor Name                            Address1                  Address2                           Address3   Address4   City          State   PostalCode   Country
ALEIDA FERRER MUNOZ                      ADDRESS ON FILE
ALEIDA L ARBONA TORRES                   ADDRESS ON FILE
ALEIDA L RODRIGUEZ INC                   URB BRASILIA              E32 CALLE 11                                             VEGA BAJA     PR      00693
ALEIDA LIZARDI COLON                     ADDRESS ON FILE
ALEIDA LUGO OQUENDO                      ADDRESS ON FILE
ALEIDA M. RIVERA COTTO                   ADDRESS ON FILE
ALEIDA M. ZAYAS ESCOBAR                  ADDRESS ON FILE
ALEIDA MARIE ZAYAS ESCOBAR               ADDRESS ON FILE
ALEIDA MENDEZ Y/O PABLO MENDEZ           ADDRESS ON FILE
ALEIDA ORTIZ                             ADDRESS ON FILE
ALEIDA QUILES BEAUCHAMP DBA CARNICERIA   JOHNNY MELENDEZ           PO BOX 1441                                              CAYEY         PR      00736
ALEIDA RIVERA GONZÁLEZ                   ALICE AGOSTO HERNÁNDEZ    PMB 333 BOX 607071                                       Bayamón       PR      00960‐7071
ALEIDA RODRIGUEZ LOPEZ                   ADDRESS ON FILE
ALEIDA SANTANA SEPULVEDA                 ADDRESS ON FILE
ALEIDA SANTIAGO MARRERO                  ADDRESS ON FILE
ALEIDA SOLER ORTIZ                       ADDRESS ON FILE
ALEIDA SUAREZ / JUAN M ESTEBAN           ADDRESS ON FILE
ALEIDA VELEZ QUINONES                    ADDRESS ON FILE
ALEIDA VILLAFANE                         ADDRESS ON FILE
ALEIDY L HERNANDEZ                       ADDRESS ON FILE
ALEIDY L SANTOS ROSARIO                  ADDRESS ON FILE
ALEIN A LOPEZ MARTINEZ                   ADDRESS ON FILE
ALEINES VALENTIN NUNEZ                   ADDRESS ON FILE
ALEISA GINEZ GONZALEZ                    ADDRESS ON FILE
ALEISHA E SERRANO ALVIRA                 ADDRESS ON FILE
ALEISHA JOAN RAMOS ORTIZ                 ADDRESS ON FILE
ALEISHKA SERRANO MORELL                  ADDRESS ON FILE
ALEIXA VALENTIN CENTENO                  ADDRESS ON FILE
ALEJA DAVILA TORRES                      ADDRESS ON FILE
ALEJANDRA ACEVEDO RIVERA                 ADDRESS ON FILE
ALEJANDRA ALVAREZ IBANEZ                 ADDRESS ON FILE
ALEJANDRA BERRIOS GONZALEZ               ADDRESS ON FILE
ALEJANDRA C SERNA MORALES/ JOMA DESIGN   ADDRESS ON FILE
ALEJANDRA CAMACHO FINTANEZ               ADDRESS ON FILE
ALEJANDRA CHAVARRY RIVERA                ADDRESS ON FILE
ALEJANDRA CINTRON RIVERA                 ADDRESS ON FILE
ALEJANDRA COLON RIVERA                   ADDRESS ON FILE
ALEJANDRA DE JESUS ROSALY                ADDRESS ON FILE
ALEJANDRA DE TORO                        ADDRESS ON FILE
ALEJANDRA DEL TORO LABRADA               ADDRESS ON FILE
ALEJANDRA G. SILVA SANTANA               ADDRESS ON FILE
ALEJANDRA GONZALEZ VAZQUEZ               ADDRESS ON FILE
ALEJANDRA IGLESIAS                       ADDRESS ON FILE
ALEJANDRA M CASTRODAD RODRIGUEZ          ADDRESS ON FILE
ALEJANDRA M RODRIGUEZ NAVARRO            ADDRESS ON FILE
ALEJANDRA MALDONADO MORALES              ADDRESS ON FILE
ALEJANDRA MALDONADO VALENTIN             ADDRESS ON FILE
ALEJANDRA MARTINEZ MARTINEZ              ADDRESS ON FILE
ALEJANDRA MARTORELL BIRRIEL              ADDRESS ON FILE
ALEJANDRA MONGIL VELAZQUEZ               ADDRESS ON FILE
ALEJANDRA NEGRON ROSADO                  ADDRESS ON FILE
ALEJANDRA ORTIZ RIOS                     ADDRESS ON FILE
ALEJANDRA ORTIZ SALCEDO                  ADDRESS ON FILE
ALEJANDRA RIVERA CANABAL                 ADDRESS ON FILE
ALEJANDRA RIVERA RIVERA                  ADDRESS ON FILE
ALEJANDRA SERRANO SOLER                  ADDRESS ON FILE
ALEJANDRA TRINIDAD RIVERA                ADDRESS ON FILE
ALEJANDRINA BATISTA RAMOS                ADDRESS ON FILE
ALEJANDRINA BURGOS VEGA                  ADDRESS ON FILE
ALEJANDRINA CARRASCO DIAZ                ADDRESS ON FILE




                                                                                        Page 192 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 193 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ALEJANDRINA CEDENO FERRER              ADDRESS ON FILE
ALEJANDRINA COLLAZO RODRIGUEZ          ADDRESS ON FILE
ALEJANDRINA FELICIANO CRUZ             ADDRESS ON FILE
ALEJANDRINA HERNANDEZ VARGAS           ADDRESS ON FILE
ALEJANDRINA IRIZARRY MUNIZ             ADDRESS ON FILE
ALEJANDRINA LLANOS CASTRO              ADDRESS ON FILE
ALEJANDRINA MAGRIZ MARRERO             ADDRESS ON FILE
ALEJANDRINA PADILLA                    ADDRESS ON FILE
ALEJANDRINA PINET CARRASQUILLO         ADDRESS ON FILE
ALEJANDRINA RAMOS PEREZ                ADDRESS ON FILE
ALEJANDRINA RIVAS MALDONADO            ADDRESS ON FILE
ALEJANDRINA RIVERA VICENTE             ADDRESS ON FILE
ALEJANDRINA RIVERA VICENTE             ADDRESS ON FILE
ALEJANDRINA SIERRA MORALES             ADDRESS ON FILE
ALEJANDRINO BURGOS, RUTH               ADDRESS ON FILE
ALEJANDRINO CRUZ, DOLORES              ADDRESS ON FILE
ALEJANDRINO CRUZ, LYDIA                ADDRESS ON FILE
ALEJANDRINO DE JESUS, ANA              ADDRESS ON FILE
ALEJANDRINO FRANQUI, CARMEN            ADDRESS ON FILE
ALEJANDRINO FRANQUI, CARMEN L.         ADDRESS ON FILE
ALEJANDRINO FRANQUI, LUIS A.           ADDRESS ON FILE
ALEJANDRINO GUZMAN, ROSA I             ADDRESS ON FILE
ALEJANDRINO LUGO, MARIO                ADDRESS ON FILE
ALEJANDRINO MARTINEZ, ROSA             ADDRESS ON FILE
ALEJANDRINO NUNEZ                      ADDRESS ON FILE
ALEJANDRINO OSORIO, CARMEN A           ADDRESS ON FILE
ALEJANDRINO OSORIO, IRIS N             ADDRESS ON FILE
ALEJANDRINO OSORIO, IVAN               ADDRESS ON FILE
ALEJANDRINO OSORIO, JAVIER             ADDRESS ON FILE
ALEJANDRINO OSORIO, LUIS               ADDRESS ON FILE
ALEJANDRINO RODRIGUEZ PAGAN            ADDRESS ON FILE
ALEJANDRINO TORRES, OMAR I             ADDRESS ON FILE
ALEJANDRINO VELEZ REYES                ADDRESS ON FILE
ALEJANDRO A FIGUEROA ORTIZ             ADDRESS ON FILE
ALEJANDRO A MIRO CO                    ADDRESS ON FILE
ALEJANDRO A QUILES GARCIA              ADDRESS ON FILE
ALEJANDRO ABREU, JEAN                  ADDRESS ON FILE
ALEJANDRO ACEVEDO HERNANDEZ            ADDRESS ON FILE
ALEJANDRO ACEVEDO HERNANDEZ            ADDRESS ON FILE
ALEJANDRO ACOSTA RIVERA                ADDRESS ON FILE
Alejandro Aleja, Candelario            ADDRESS ON FILE
ALEJANDRO ALEJANDRO, ADA IRIS          ADDRESS ON FILE
ALEJANDRO ALEJANDRO, IRMA N            ADDRESS ON FILE
ALEJANDRO ALEJANDRO, ROBERTO I         ADDRESS ON FILE
ALEJANDRO ALEJANDRO, YAMILY            ADDRESS ON FILE
ALEJANDRO ALICEA CONTRERAS             ADDRESS ON FILE
ALEJANDRO ALICEA PADRON                ADDRESS ON FILE
ALEJANDRO ALICEA VAZQUEZ               ADDRESS ON FILE
ALEJANDRO ALVAREZ RIVERA               ADDRESS ON FILE
ALEJANDRO ALVAREZ RIVERA               ADDRESS ON FILE
ALEJANDRO AMADOR Y LOURDES DEL ROSARIO ADDRESS ON FILE
ALEJANDRO AMADOR Y LOURDES DEL ROSARIO ADDRESS ON FILE
ALEJANDRO ANDALUZ, RAMON               ADDRESS ON FILE
ALEJANDRO ANDALUZ, RAMON ELIEZER       ADDRESS ON FILE
ALEJANDRO ANDINO, JULIO R.             ADDRESS ON FILE
ALEJANDRO ANDINO, MAYRA                ADDRESS ON FILE
Alejandro Andino, Oscar                ADDRESS ON FILE
ALEJANDRO ANDUJAR GARCIA               ADDRESS ON FILE
ALEJANDRO AQUINO COTTO                 ADDRESS ON FILE
ALEJANDRO ARCE SUAREZ                  ADDRESS ON FILE




                                                                                    Page 193 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 194 of 3500
                                                                                                Creditor Matrix

Creditor Name                     Address1                                Address2                           Address3   Address4   City      State   PostalCode   Country
ALEJANDRO ARCONADA OLMOS          ADDRESS ON FILE
ALEJANDRO ARIAS VEGA              ADDRESS ON FILE
ALEJANDRO ARMAS CAMPO             ADDRESS ON FILE
ALEJANDRO ARREGOITIA RIVERA       ADDRESS ON FILE
Alejandro Ayala, Ana M            ADDRESS ON FILE
ALEJANDRO BAS, MADELYN            ADDRESS ON FILE
ALEJANDRO BATISTA FORESTIER       ADDRESS ON FILE
ALEJANDRO BAYRON, HAROLD          ADDRESS ON FILE
ALEJANDRO BENITEZ CRUZ            ADDRESS ON FILE
ALEJANDRO BENITEZ MD, AUSBERTO    ADDRESS ON FILE
ALEJANDRO BENITEZ, CARMEN A       ADDRESS ON FILE
ALEJANDRO BERDECIA, MICHAEL       ADDRESS ON FILE
ALEJANDRO BERENSTEIN              ADDRESS ON FILE
ALEJANDRO BERENSTEIN, MD          ADDRESS ON FILE
ALEJANDRO BERMUDEZ, JACQUELINE    ADDRESS ON FILE
ALEJANDRO BERRIOS                 ADDRESS ON FILE
ALEJANDRO BERRIOS RIVERA          ADDRESS ON FILE
ALEJANDRO BERRIOS, CARLOS E.      ADDRESS ON FILE
ALEJANDRO BERRIOS, EFRAIN         ADDRESS ON FILE
ALEJANDRO BLANCO FRANCO           ADDRESS ON FILE
ALEJANDRO BLANCO FRANCO           ADDRESS ON FILE
ALEJANDRO BLONDET, ANDRES         ADDRESS ON FILE
ALEJANDRO BULTRON, ROBERTO        ADDRESS ON FILE
ALEJANDRO BURGOS, VICTOR          ADDRESS ON FILE
ALEJANDRO CABRERA, EVELYN         ADDRESS ON FILE
Alejandro Calcano, Luis           ADDRESS ON FILE
ALEJANDRO CAMACHO, JOVANNIE       ADDRESS ON FILE
ALEJANDRO CAMIS, JANNETTE         ADDRESS ON FILE
ALEJANDRO CANCEL, ANGEL M         ADDRESS ON FILE
Alejandro Cancel, Angel M.        ADDRESS ON FILE
ALEJANDRO CARABALLO, WANDA        ADDRESS ON FILE
ALEJANDRO CARMONA GONZALEZ        ADDRESS ON FILE
ALEJANDRO CARRASQUILLO, ERNESTO   ADDRESS ON FILE
ALEJANDRO CARRASQUILLO, JOHANNA   ADDRESS ON FILE
Alejandro Castro, Confesor        ADDRESS ON FILE
Alejandro Castro, Eloy            ADDRESS ON FILE
ALEJANDRO CASTRO, LEISA           ADDRESS ON FILE
ALEJANDRO CASTRO, MARILYN         ADDRESS ON FILE
ALEJANDRO CASTRO, MARILYN         ADDRESS ON FILE
ALEJANDRO CENTENO, CHRISTIAN D    ADDRESS ON FILE
ALEJANDRO CHARON, MARIO A         ADDRESS ON FILE
ALEJANDRO CINTRON RIVERA          ADDRESS ON FILE
ALEJANDRO CINTRON, JUAN R         ADDRESS ON FILE
ALEJANDRO CISNEROS, ROGELIO E.    ADDRESS ON FILE
ALEJANDRO CLAUSELL, EMILIO        ADDRESS ON FILE
ALEJANDRO CLAUSELL, EMMA          ADDRESS ON FILE
ALEJANDRO COFRESI BOBE            ADDRESS ON FILE
ALEJANDRO COLON FELIX             ADDRESS ON FILE
ALEJANDRO COLON GARCIA            ADDRESS ON FILE
ALEJANDRO COLON MERCED            ADDRESS ON FILE
ALEJANDRO COLON MERCED            ADDRESS ON FILE
ALEJANDRO COLON ORTIZ             ADDRESS ON FILE
ALEJANDRO COLON, JOSE             ADDRESS ON FILE
ALEJANDRO COLON, NEREIDA          ADDRESS ON FILE
ALEJANDRO CONCEPCION, LUCILA      ADDRESS ON FILE
ALEJANDRO CORDERO, DEBBIE A       ADDRESS ON FILE
ALEJANDRO CORDERO, ZINNIA         ADDRESS ON FILE
ALEJANDRO CORP INC                MANSIONES DE LOS CEDROS                 CALLE GUAYACAN 168                                       CAYEY     PR      00736
ALEJANDRO CORPORATION, INC.       CALLE GUAYACAN 168 MANSIONES DE LOS CEDROS                                                       CAYEY     PR      00736
ALEJANDRO CORREA TORRES           ADDRESS ON FILE




                                                                                               Page 194 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 195 of 3500
                                                                                                     Creditor Matrix

Creditor Name                              Address1                      Address2                                 Address3                 Address4      City         State   PostalCode   Country
ALEJANDRO COTTE MORALES                    ADDRESS ON FILE
ALEJANDRO COTTO JIMENEZ                    ADDRESS ON FILE
ALEJANDRO COTTO, ABNER                     ADDRESS ON FILE
ALEJANDRO COTTO, LINO D                    ADDRESS ON FILE
ALEJANDRO COTTO, REGINO                    ADDRESS ON FILE
ALEJANDRO COTTO, YADEL                     ADDRESS ON FILE
ALEJANDRO COTTO, YADEL                     ADDRESS ON FILE
ALEJANDRO COWAN, EDUARDO                   ADDRESS ON FILE
ALEJANDRO COWAN, EDUARDO                   ADDRESS ON FILE
ALEJANDRO CRUZ AGOSTINI                    ADDRESS ON FILE
ALEJANDRO CRUZ, FELICITA                   ADDRESS ON FILE
ALEJANDRO CRUZ, MARIA                      ADDRESS ON FILE
ALEJANDRO CRUZ, RAQUEL                     ADDRESS ON FILE
ALEJANDRO CRUZ, REBECCA                    ADDRESS ON FILE
ALEJANDRO CRUZ, VICTOR                     ADDRESS ON FILE
ALEJANDRO D CROATTO MONTIEL                ADDRESS ON FILE
ALEJANDRO D HERRYMAN RAMIREZ               ADDRESS ON FILE
ALEJANDRO DE LA ROSA MAYSONET              ADDRESS ON FILE
ALEJANDRO DE LEON, JOSUE                   ADDRESS ON FILE
ALEJANDRO DE LOS SANTOS GARCIA             ADDRESS ON FILE
ALEJANDRO DIAZ DUENO                       ADDRESS ON FILE
ALEJANDRO DIAZ FOR ALEJANDRO/ JERRY DIAZ   ADDRESS ON FILE
ALEJANDRO DIAZ, EDGAR                      ADDRESS ON FILE
ALEJANDRO DIAZ, JOSE                       ADDRESS ON FILE
ALEJANDRO DIAZ, JOSE R                     ADDRESS ON FILE
ALEJANDRO DONES, MARIA I                   ADDRESS ON FILE
ALEJANDRO DURAN AYALA                      ADDRESS ON FILE
ALEJANDRO DURAN GONZALEZ                   ADDRESS ON FILE
ALEJANDRO E PEREZ RAMIREZ                  ADDRESS ON FILE
ALEJANDRO ESCRIBANO, ALENIS                ADDRESS ON FILE
ALEJANDRO ESCRIBANO, LUIS A.               ADDRESS ON FILE
ALEJANDRO ESQUILIN, SAMUEL                 ADDRESS ON FILE
ALEJANDRO ESTRADA MAISONET                 ADDRESS ON FILE
ALEJANDRO ESTRADA MAISONET                 ADDRESS ON FILE

ALEJANDRO ESTRADA MAYSONET                 LCDA. IRIS Y. APONTE ANDINO   BANCO COOPERATIVO SUITE 404‐B            623 AVE. Ponce DE LEÓN                 HATO REY     PR      00917
ALEJANDRO ESTRADA QUILES                   ADDRESS ON FILE
ALEJANDRO ESTRADA QUILES                   ADDRESS ON FILE
ALEJANDRO ESTRADA QUILES                   ADDRESS ON FILE
ALEJANDRO ESTRADA QUILES                   ADDRESS ON FILE
ALEJANDRO ESTRADA, REYNALDO                LCDA. EVELYN LÓPEZ DÍAZ       LCDA. EVELYN LÓPEZ DÍAZ                  PMB 1263                 PO BOX 6400   CAYEY        PR      00737
ALEJANDRO ESTRELLA, JOSE                   ADDRESS ON FILE
ALEJANDRO F HERRERO LOPEZ                  ADDRESS ON FILE
ALEJANDRO FEBRES, CARLOS J                 ADDRESS ON FILE
ALEJANDRO FEBUS, HECTOR                    ADDRESS ON FILE
ALEJANDRO FELICIANO, FORTUNATO             ADDRESS ON FILE
ALEJANDRO FELIX, ISMAEL                    ADDRESS ON FILE
ALEJANDRO FERMIN OLMO HERNANDEZ            ADDRESS ON FILE
ALEJANDRO FERNANDEZ OCASIO                 ADDRESS ON FILE
ALEJANDRO FERRER BONILLA                   ADDRESS ON FILE
ALEJANDRO FIGUEROA                         ADDRESS ON FILE
ALEJANDRO FIGUEROA VALENTIN                ADDRESS ON FILE
ALEJANDRO FIGUEROA VALENTIN                ADDRESS ON FILE
ALEJANDRO FIGUEROA Y EVELYN SOTO           ADDRESS ON FILE
ALEJANDRO FIGUEROA Y EVELYN SOTO           ADDRESS ON FILE
ALEJANDRO FIGUEROA, CANDIDA                ADDRESS ON FILE
ALEJANDRO FIGUEROA, CARMELO H.             ADDRESS ON FILE
ALEJANDRO FIGUEROA, GLADYS                 ADDRESS ON FILE
ALEJANDRO FIGUEROA, LOURDES                ADDRESS ON FILE
ALEJANDRO FLORES FLORES                    ADDRESS ON FILE




                                                                                                    Page 195 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 196 of 3500
                                                                                       Creditor Matrix

Creditor Name                         Address1                       Address2                       Address3                Address4    City       State   PostalCode   Country
ALEJANDRO FLORES, RAMON               ADDRESS ON FILE
ALEJANDRO FUNDORA SABALIER            ADDRESS ON FILE
ALEJANDRO G VELAZQUEZ PEREZ           ADDRESS ON FILE
ALEJANDRO GARCIA DEL VALLE            ADDRESS ON FILE
ALEJANDRO GARCIA, CARMEN              ADDRESS ON FILE
ALEJANDRO GARCIA, IVELISSE            ADDRESS ON FILE
ALEJANDRO GARCIA, IVONNE I.           ADDRESS ON FILE
ALEJANDRO GARCIA, MIGUEL              ADDRESS ON FILE
ALEJANDRO GARCIA, RAQUEL              ADDRESS ON FILE
ALEJANDRO GARCIA, RAQUEL              ADDRESS ON FILE
ALEJANDRO GARCIA, YAIRA               ADDRESS ON FILE
ALEJANDRO GOMEZ, MERCEDES             ADDRESS ON FILE
ALEJANDRO GONZALEZ ALOM               ADDRESS ON FILE
ALEJANDRO GONZALEZ GONZALEZ           ADDRESS ON FILE
ALEJANDRO GONZÁLEZ PÉREZ              SR. ALEJANDRO GONZÁLEZ PÉREZ   HC 2 BOX 12263                                                     MOCA       PR      00676‐8397
ALEJANDRO GONZALEZ, ABIGAIL           ADDRESS ON FILE
Alejandro Gonzalez, Agnes             ADDRESS ON FILE
Alejandro Gonzalez, Eluber            ADDRESS ON FILE
ALEJANDRO GONZALEZ, HECTOR            ADDRESS ON FILE
ALEJANDRO GONZALEZ, PEDRO             ADDRESS ON FILE
ALEJANDRO GONZALEZ, RAFAELA           ADDRESS ON FILE
ALEJANDRO GONZALEZ, SONIA             ADDRESS ON FILE
ALEJANDRO GONZALEZ, YARITZIA          ADDRESS ON FILE
ALEJANDRO H OLIVENCIA MELENDEZ        ADDRESS ON FILE
ALEJANDRO HERNANDEZ BORGES            ADDRESS ON FILE
ALEJANDRO HERNANDEZ FUENTES           ADDRESS ON FILE

ALEJANDRO HERNANDEZ SANCHEZ           LCDO. HARRY MUÑIZ VALLADARES   PMB 522                        200 Ave. Rafael Cordero Suite 140   CAGUAS     PR      00725‐3757
ALEJANDRO HERNANDEZ, ANDREA           ADDRESS ON FILE
ALEJANDRO HERNANDEZ, JUAN M           ADDRESS ON FILE
ALEJANDRO HERNANDEZ, ROSA             ADDRESS ON FILE
ALEJANDRO HILL, ANILCA                ADDRESS ON FILE
ALEJANDRO I RIOS OJEDA                ADDRESS ON FILE
ALEJANDRO I RIOS OJEDA                ADDRESS ON FILE
ALEJANDRO IRIZARRY ALVARADO           ADDRESS ON FILE
ALEJANDRO IRIZARRY, NILDA T           ADDRESS ON FILE
ALEJANDRO J ALVARADO ORTIZ            ADDRESS ON FILE
ALEJANDRO J CACHO RODRIGUEZ           ADDRESS ON FILE
ALEJANDRO J FIGUEROA RAMIREZ          ADDRESS ON FILE
ALEJANDRO J FLORES RIVERA             ADDRESS ON FILE
ALEJANDRO J GALARZA TORRES            ADDRESS ON FILE
ALEJANDRO J GARCIA RIVERA             ADDRESS ON FILE
ALEJANDRO J LOPEZ MAS                 ADDRESS ON FILE
ALEJANDRO J MENDEZ DROZ               ADDRESS ON FILE
ALEJANDRO J PEREZ MARTINEZ            ADDRESS ON FILE
ALEJANDRO J RODRIGUEZ/ ANA L ROSADO   ADDRESS ON FILE
ALEJANDRO J. LOPEZ MAS                ADDRESS ON FILE
ALEJANDRO J. RIVERA FERRER            ADDRESS ON FILE
ALEJANDRO JIMENEZ GARCIA              ADDRESS ON FILE
ALEJANDRO JORGE, EVELYN               ADDRESS ON FILE
ALEJANDRO JORGE, EVELYN               ADDRESS ON FILE
ALEJANDRO JORGE, IVAN                 ADDRESS ON FILE
ALEJANDRO JOSE BIRRIEL SUAREZ         ADDRESS ON FILE
ALEJANDRO L COLON DE LA CRUZ          ADDRESS ON FILE
ALEJANDRO L COSME RIVERA              ADDRESS ON FILE
ALEJANDRO L MONLLOR PACHECO           ADDRESS ON FILE
ALEJANDRO L NIEVES FIGUEROA           ADDRESS ON FILE
ALEJANDRO L SANCHEZ RIVERA            ADDRESS ON FILE
ALEJANDRO LANDRON, LIZBETH            ADDRESS ON FILE
ALEJANDRO LASTRA VELAZQUEZ            ADDRESS ON FILE




                                                                                      Page 196 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 197 of 3500
                                                                                        Creditor Matrix

Creditor Name                        Address1                               Address2                 Address3   Address4   City         State   PostalCode   Country
ALEJANDRO LEON, HILDA                ADDRESS ON FILE
ALEJANDRO LOPE Z, ZAMARA             ADDRESS ON FILE
ALEJANDRO LOPEZ                      ADDRESS ON FILE
ALEJANDRO LOPEZ ALFONSO              ADDRESS ON FILE
ALEJANDRO LOPEZ ARAUJO               ADDRESS ON FILE
ALEJANDRO LOPEZ LOPEZ                ADDRESS ON FILE
ALEJANDRO LOPEZ, JOSE                ADDRESS ON FILE
ALEJANDRO LORA, RAMON                ADDRESS ON FILE
ALEJANDRO LOZADA MERCADO             ADDRESS ON FILE
ALEJANDRO LUNA, FERNANDO             ADDRESS ON FILE
ALEJANDRO M BORRERO RODRIGUEZ        ADDRESS ON FILE
ALEJANDRO M CANDELARIO LOPEZ         ADDRESS ON FILE
Alejandro Maldonado, Jose A          ADDRESS ON FILE
ALEJANDRO MALDONADO, JULIO A         ADDRESS ON FILE
ALEJANDRO MARQUEZ NIEVES             ADDRESS ON FILE
ALEJANDRO MARRERO SANTIAGO           ADDRESS ON FILE
ALEJANDRO MARRERO, LAURA D           ADDRESS ON FILE
ALEJANDRO MARTIN, ANA                ADDRESS ON FILE
ALEJANDRO MARTINEZ CHAIDEZ           ADDRESS ON FILE
ALEJANDRO MARTINEZ COSS              ADDRESS ON FILE
ALEJANDRO MARTINEZ REYES             ADDRESS ON FILE
ALEJANDRO MARTINEZ, ANA L            ADDRESS ON FILE
ALEJANDRO MARTINEZ, IVELISSE         ADDRESS ON FILE
ALEJANDRO MATOS, YARITZA E           ADDRESS ON FILE
ALEJANDRO MD, JEAN                   ADDRESS ON FILE
ALEJANDRO MELENDEZ, ARIEL            ADDRESS ON FILE
ALEJANDRO MENDEZ, ELIEZER A          ADDRESS ON FILE
ALEJANDRO MENDEZ, JANICE I.          ADDRESS ON FILE
ALEJANDRO MENDOZA, SAMILY            ADDRESS ON FILE
ALEJANDRO MERCED, EDGAR              ADDRESS ON FILE
ALEJANDRO MILLAN, JUANA              ADDRESS ON FILE
ALEJANDRO MIRANDA OTERO              ADDRESS ON FILE
ALEJANDRO MOLINA SOTO                ADDRESS ON FILE
ALEJANDRO MONTALVO PENA              ADDRESS ON FILE
ALEJANDRO MONTANEZ DIAZ              ADDRESS ON FILE
ALEJANDRO MONTANEZ, AIDA             ADDRESS ON FILE
ALEJANDRO MONTANEZ, JULIA            ADDRESS ON FILE
ALEJANDRO MORALES NAZARIO            ADDRESS ON FILE
ALEJANDRO MORALES, GREGORIO          ADDRESS ON FILE
ALEJANDRO MORALES, JAVIER            ADDRESS ON FILE
ALEJANDRO MORALES, JESSICA           ADDRESS ON FILE
ALEJANDRO MORALES, NYDIA I           ADDRESS ON FILE
ALEJANDRO MORALES, RUTH              ADDRESS ON FILE
ALEJANDRO MORGADO, LUARIZ M          ADDRESS ON FILE
ALEJANDRO MUNIZ MORALES              ADDRESS ON FILE
ALEJANDRO MUNOZ MELENDEZ             ADDRESS ON FILE
ALEJANDRO N SANTIAGO RODRIGUEZ       ADDRESS ON FILE
ALEJANDRO NARVAEZ MD, EDWIN          ADDRESS ON FILE
ALEJANDRO NARVAEZ MD, RICHARD        ADDRESS ON FILE
ALEJANDRO NARVAEZ, HELVIA            ADDRESS ON FILE
ALEJANDRO NARVAEZ, YASHILA           ADDRESS ON FILE
ALEJANDRO NAVARRO, JOSE              ADDRESS ON FILE
ALEJANDRO NEGRON, CARLOS             ADDRESS ON FILE
ALEJANDRO NEGRON, CARMEN L           ADDRESS ON FILE
ALEJANDRO NEGRON, DORIS              ADDRESS ON FILE
ALEJANDRO NEGRON, ELIA               ADDRESS ON FILE
ALEJANDRO NEGRON, JOSE O.            ADDRESS ON FILE
ALEJANDRO NIEVES CARRERO             ADDRESS ON FILE
ALEJANDRO NIEVES GALLENA             ADDRESS ON FILE
ALEJANDRO NUNEZ DBA ALEJANDRO AUTO   VILLAS DE PARQUE ESCORIAR EDIF.A 106                                                  CAROLINA     PR      00987‐0000




                                                                                       Page 197 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 198 of 3500
                                                                                                        Creditor Matrix

Creditor Name                              Address1                             Address2                             Address3   Address4   City         State   PostalCode   Country
ALEJANDRO NUNEZ, EDGARDO                   ADDRESS ON FILE
ALEJANDRO NUNEZ, JOER                      ADDRESS ON FILE
ALEJANDRO NUNEZ, JOSE                      ADDRESS ON FILE
ALEJANDRO NUNEZ, JOSE                      ADDRESS ON FILE
ALEJANDRO NUNEZ, MARIA                     ADDRESS ON FILE
ALEJANDRO O ESTRADA DEIDA                  ADDRESS ON FILE
ALEJANDRO O TORRES ORTEGA                  ADDRESS ON FILE
ALEJANDRO OCASIO                           ADDRESS ON FILE
ALEJANDRO OCASIO ARCE                      ADDRESS ON FILE
ALEJANDRO OCASIO, LIZETTE                  ADDRESS ON FILE
ALEJANDRO OGANDO OTERO                     ADDRESS ON FILE
ALEJANDRO OLIVERAS / SINDICO CAP 13        ADDRESS ON FILE
ALEJANDRO OLIVERAS RIVERA                  ADDRESS ON FILE
ALEJANDRO OLIVERAS RIVERA                  ADDRESS ON FILE
ALEJANDRO OLIVERAS RIVERA SINDICO CAP 13   AREA DEL TESORO                      DIV DE RECLAMACIONES                                       SAN JUAN     PR      00902‐4140
ALEJANDRO OLIVERAS RIVERA SINDICO CAP 13   P O BOX 71486                                                                                   SAN JUAN     PR      00936‐8586
ALEJANDRO OLIVERAS RIVERA SINDICO CAP 13   PO BOX 9024062                                                                                  SAN JUAN     PR      00902‐4062
ALEJANDRO OLIVERAS RIVERA SINDICO CAP.13   500 TANCA STREET OCHO BUILDING OLD                                                              SAN JUAN     PR      00901
ALEJANDRO OLIVERAS RIVERA,SÍNDICO CÁP 13   DEPARTAMENTO DE HACIENDA                                                                        SAN JUAN     PR      00901
ALEJANDRO OLIVERAS RIVERA,SÍNDICO CÁP 13   PO BOX 71486                                                                                    SAN JUAN     PR      00936‐8586
ALEJANDRO OLIVERAS RIVERA,SÍNDICO CÁP 13   PO BOX 9024061                                                                                  SAN JUAN     PR      00902‐4061
ALEJANDRO OLIVERAS, STANDING TRUSTEE       CHAPTER 13 OFFICE                    PO BOX 71486                                               SAN JUAN     PR      00936‐8586
ALEJANDRO OLIVERAS, STANDING TRUSTEE       PO BOX 9024062                                                                                  SAN JUAN     PR      00902‐4062
ALEJANDRO OLIVERO, ILEANA                  ADDRESS ON FILE
ALEJANDRO OLIVERO, IRMA                    ADDRESS ON FILE
ALEJANDRO ONEILL, LISANDRA                 ADDRESS ON FILE
ALEJANDRO ONEILL, PABLO                    ADDRESS ON FILE
ALEJANDRO ORTEGA, IVELISSE                 ADDRESS ON FILE
ALEJANDRO ORTEGA, ORLANDO                  ADDRESS ON FILE
ALEJANDRO ORTEGA, ORLANDO                  ADDRESS ON FILE
ALEJANDRO ORTIZ                            ADDRESS ON FILE
ALEJANDRO ORTIZ BETANCOURT                 ADDRESS ON FILE
ALEJANDRO ORTIZ CRUZ                       ADDRESS ON FILE
ALEJANDRO ORTIZ NUNEZ                      ADDRESS ON FILE
ALEJANDRO ORTIZ SALDANA                    ADDRESS ON FILE
ALEJANDRO ORTIZ, EMELINDA                  ADDRESS ON FILE
ALEJANDRO ORTIZ, GERMAN L.                 ADDRESS ON FILE
ALEJANDRO ORTIZ, IVELISSE                  ADDRESS ON FILE
ALEJANDRO ORTIZ, JOSE                      ADDRESS ON FILE
ALEJANDRO ORTIZ, JOSE E                    ADDRESS ON FILE
ALEJANDRO ORTIZ, LINDA                     ADDRESS ON FILE
ALEJANDRO ORTIZ, MARIA E                   ADDRESS ON FILE
ALEJANDRO OTERO, ALEXANIA                  ADDRESS ON FILE
ALEJANDRO OTERO, CARMEN J                  ADDRESS ON FILE
ALEJANDRO OYOLA PEREZ/ NEW ENERGY          ADDRESS ON FILE
ALEJANDRO OYOLA, CARLOS                    ADDRESS ON FILE
Alejandro Oyola, Elsie                     ADDRESS ON FILE
Alejandro Oyola, Soris M                   ADDRESS ON FILE
ALEJANDRO PABON, RICARDO                   ADDRESS ON FILE
ALEJANDRO PADILLA, JEAN                    ADDRESS ON FILE
ALEJANDRO PADILLA, MERVIN                  ADDRESS ON FILE
ALEJANDRO PAGAN LORENZANA                  ADDRESS ON FILE
ALEJANDRO PAGAN, WILFREDO                  ADDRESS ON FILE
ALEJANDRO PENA, KELVIN                     ADDRESS ON FILE
ALEJANDRO PENA, KENIA                      ADDRESS ON FILE
ALEJANDRO PERAZA, ALEXANDRA                ADDRESS ON FILE
ALEJANDRO PEREZ DBA FERRETERIA EL GIGANT   C 41 LA OLIMPIA                                                                                 ADJUNTAS     PR      00601
ALEJANDRO PEREZ DE JESUS                   ADDRESS ON FILE
ALEJANDRO PEREZ MELENDEZ                   ADDRESS ON FILE
ALEJANDRO PEREZ, ADELAIDA                  ADDRESS ON FILE




                                                                                                       Page 198 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 199 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALEJANDRO PEREZ, FELIX            ADDRESS ON FILE
ALEJANDRO PEREZ, JUAN M.          ADDRESS ON FILE
ALEJANDRO PEREZ, MAGDA            ADDRESS ON FILE
ALEJANDRO PEREZ, SAMUEL           ADDRESS ON FILE
ALEJANDRO PIERALDI, LUIS A        ADDRESS ON FILE
ALEJANDRO PINERO CRUZ             ADDRESS ON FILE
ALEJANDRO PINTO FLORES            ADDRESS ON FILE
ALEJANDRO PONCE, ILIA E           ADDRESS ON FILE
ALEJANDRO QUILES PADRO            ADDRESS ON FILE
ALEJANDRO QUINONES ALTRECHE       ADDRESS ON FILE
ALEJANDRO QUINONES, LUIS          ADDRESS ON FILE
ALEJANDRO QUINONES, LUIS A        ADDRESS ON FILE
ALEJANDRO QUINONES, SHEILA M      ADDRESS ON FILE
ALEJANDRO QUINONEZ ROSARIO        ADDRESS ON FILE
ALEJANDRO QUINTANA, JOHANNA E     ADDRESS ON FILE
ALEJANDRO R LOPEZ BERMUDEZ        ADDRESS ON FILE
ALEJANDRO R PABON ARCE            ADDRESS ON FILE
ALEJANDRO R PABON ARCE            ADDRESS ON FILE
Alejandro Ramirez, Crescensio     ADDRESS ON FILE
ALEJANDRO RAMIREZ, WILMA          ADDRESS ON FILE
ALEJANDRO RAMIREZ, WILMA Z        ADDRESS ON FILE
ALEJANDRO RAMOS, ANA C            ADDRESS ON FILE
ALEJANDRO RAMOS, RAFAEL           ADDRESS ON FILE
ALEJANDRO RAPPA ROJAS             ADDRESS ON FILE
ALEJANDRO RESTO, MARIA I          ADDRESS ON FILE
ALEJANDRO RESTO, MARIA I.         ADDRESS ON FILE
ALEJANDRO REYES, MARIA A          ADDRESS ON FILE
ALEJANDRO RIOS, CARLOS            ADDRESS ON FILE
ALEJANDRO RIVERA COLON            ADDRESS ON FILE
ALEJANDRO RIVERA COLON            ADDRESS ON FILE
ALEJANDRO RIVERA IRIZARRY         ADDRESS ON FILE
ALEJANDRO RIVERA MELENDEZ         ADDRESS ON FILE
ALEJANDRO RIVERA RAMOS            ADDRESS ON FILE
ALEJANDRO RIVERA, AIDA I.         ADDRESS ON FILE
ALEJANDRO RIVERA, CANDIDA         ADDRESS ON FILE
ALEJANDRO RIVERA, CARMEN          ADDRESS ON FILE
ALEJANDRO RIVERA, DANIEL          ADDRESS ON FILE
ALEJANDRO RIVERA, ELIU            ADDRESS ON FILE
ALEJANDRO RIVERA, GILDRED         ADDRESS ON FILE
ALEJANDRO RIVERA, JOSE A          ADDRESS ON FILE
Alejandro Rivera, Jose D.         ADDRESS ON FILE
Alejandro Rivera, Michael         ADDRESS ON FILE
ALEJANDRO RIVERA, MICHAEL         ADDRESS ON FILE
ALEJANDRO RIVERA, SAMUEL          ADDRESS ON FILE
ALEJANDRO RIVERA, SONIA I         ADDRESS ON FILE
ALEJANDRO RIVERA, YARITZA         ADDRESS ON FILE
ALEJANDRO ROBLES, AIDA C.         ADDRESS ON FILE
ALEJANDRO RODIC CANDAMO           ADDRESS ON FILE
ALEJANDRO RODRIGUEZ ALVARADO      ADDRESS ON FILE
ALEJANDRO RODRIGUEZ PERALES       ADDRESS ON FILE
ALEJANDRO RODRIGUEZ RIOS          ADDRESS ON FILE
ALEJANDRO RODRIGUEZ SANTIAGO      ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, ALAN         ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, BIENVENIDO   ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, JESUS        ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, JORGE L.     ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, JUAN         ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, JUAN         ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, VANESSA      ADDRESS ON FILE
ALEJANDRO RODRIGUEZ, VANESSA      ADDRESS ON FILE




                                                                              Page 199 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 200 of 3500
                                                                                        Creditor Matrix

Creditor Name                    Address1                  Address2                                  Address3     Address4   City         State   PostalCode   Country
ALEJANDRO ROJAS, LUZ N           ADDRESS ON FILE
ALEJANDRO ROJAS, LUZ N           ADDRESS ON FILE
ALEJANDRO ROMAN ACEVEDO          ADDRESS ON FILE
ALEJANDRO ROMAN BARRIOS          ADDRESS ON FILE
ALEJANDRO ROMAN BARRIOS          ADDRESS ON FILE
ALEJANDRO ROMAN HERNANDEZ        ADDRESS ON FILE
ALEJANDRO ROMAN TORRES           ADDRESS ON FILE
ALEJANDRO ROMAN, EVY             ADDRESS ON FILE
ALEJANDRO ROSA COLON             ADDRESS ON FILE
ALEJANDRO ROSADO, EDWIN          ADDRESS ON FILE
Alejandro Rosado, Ivan           ADDRESS ON FILE
ALEJANDRO ROSADO,YANIRA          ADDRESS ON FILE
ALEJANDRO ROSARIO, HIRAM         ADDRESS ON FILE
ALEJANDRO RUIZ ACEVEDO           ADDRESS ON FILE
ALEJANDRO S SANTIAGO COLON       ADDRESS ON FILE
ALEJANDRO S SANTIAGO COLON       ADDRESS ON FILE
ALEJANDRO SAEZ ORTIZ             ADDRESS ON FILE
ALEJANDRO SANCHEZ JIMENEZ        ADDRESS ON FILE
ALEJANDRO SANCHEZ MUNOZ          ADDRESS ON FILE
ALEJANDRO SANCHEZ RIVERA         ADDRESS ON FILE
ALEJANDRO SANCHEZ RIVERA         ADDRESS ON FILE
Alejandro Sanchez, Alberto       ADDRESS ON FILE
ALEJANDRO SANCHEZ, ERIC          ADDRESS ON FILE
ALEJANDRO SANCHEZ, JOSE L.       ADDRESS ON FILE
ALEJANDRO SANCHEZ, VICTOR I      ADDRESS ON FILE
ALEJANDRO SANTANA, CARLOS        ADDRESS ON FILE
ALEJANDRO SANTANA, YAMIL         ADDRESS ON FILE
ALEJANDRO SANTIAGO LUGO          ADDRESS ON FILE
ALEJANDRO SANTIAGO NEGRON        ADDRESS ON FILE
ALEJANDRO SANTIAGO SERRANO       ADDRESS ON FILE
ALEJANDRO SANTIAGO, AXEL         ADDRESS ON FILE
ALEJANDRO SANTIAGO, JENNIFER     ADDRESS ON FILE
ALEJANDRO SANTOS, CARLA M        ADDRESS ON FILE
ALEJANDRO SERRANO, ANGEL M.      ADDRESS ON FILE
ALEJANDRO SERRANO, DAMARIS       ADDRESS ON FILE
ALEJANDRO SERRANO, KARLA C       ADDRESS ON FILE
ALEJANDRO SIERRA, HECTOR L       ADDRESS ON FILE
ALEJANDRO SIERRA, JAQUELINE      ADDRESS ON FILE
ALEJANDRO SILVA, ALPHA N         ADDRESS ON FILE
ALEJANDRO SILVA, IRISBELLE       ADDRESS ON FILE
ALEJANDRO SILVA, PAOLA           ADDRESS ON FILE
ALEJANDRO SOLIS LOPEZ            ADDRESS ON FILE
ALEJANDRO SOLIS LOPEZ            LAVINIA APARICIO LÓPEZ    COND. LOS CEDROS 1687 AMARILLO ST         SUITE 6202              SAN JUAN     PR      00926
ALEJANDRO SOLIS SANCHEZ          ADDRESS ON FILE
ALEJANDRO SOTO PEREZ             ADDRESS ON FILE
ALEJANDRO TORRES                 ADDRESS ON FILE
ALEJANDRO TORRES BURGOS          ADDRESS ON FILE
ALEJANDRO TORRES MELENDEZ        ADDRESS ON FILE
ALEJANDRO TORRES TORRES          ADDRESS ON FILE
ALEJANDRO TRILLA RAMOS           ADDRESS ON FILE
ALEJANDRO VALLE RODRIGUEZ        ADDRESS ON FILE
ALEJANDRO VALSEGA PIAZZA         ADDRESS ON FILE
ALEJANDRO VARGAS CRUZ            ADDRESS ON FILE
ALEJANDRO VAZQUEZ SANTIAGO       ADDRESS ON FILE
Alejandro Vazquez, Albert        ADDRESS ON FILE
ALEJANDRO VAZQUEZ, CHRISTOPHER   ADDRESS ON FILE
Alejandro Vazquez, James O.      ADDRESS ON FILE
ALEJANDRO VAZQUEZ, JORGE         ADDRESS ON FILE
ALEJANDRO VAZQUEZ, MIGUEL        ADDRESS ON FILE
ALEJANDRO VEGA COSME             ADDRESS ON FILE




                                                                                       Page 200 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 201 of 3500
                                                                                            Creditor Matrix

Creditor Name                          Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
ALEJANDRO VEGA FELIX                   ADDRESS ON FILE
ALEJANDRO VEGA, CARMEN L               ADDRESS ON FILE
ALEJANDRO VEGA, LUIS ALEXIS            ADDRESS ON FILE
ALEJANDRO VELAZQUEZ, JENELYS           ADDRESS ON FILE
ALEJANDRO VELAZQUEZ, LUIS              ADDRESS ON FILE
Alejandro Velazquez, Luis E.           ADDRESS ON FILE
ALEJANDRO VELAZQUEZ, YEIDA L           ADDRESS ON FILE
ALEJANDRO VÉLEZ DE JESÚS               ADDRESS ON FILE
ALEJANDRO VELEZ VELAZQUEZ              ADDRESS ON FILE
ALEJANDRO VELEZ, YITZA                 ADDRESS ON FILE
ALEJANDRO VELEZ, YITZA                 ADDRESS ON FILE
ALEJANDRO VENTURA HAMBURGO             ADDRESS ON FILE
ALEJANDRO VERA NATAL                   ADDRESS ON FILE
ALEJANDRO VERDEJO, WILLIAM             ADDRESS ON FILE
ALEJANDRO VILLAR RABELL                ADDRESS ON FILE
ALEJANDRO VILLARONGA MEDINA            ADDRESS ON FILE
ALEJANDRO VILORIO DE LA ROSA           ADDRESS ON FILE
ALEJANDRO VIZCARRONDO ALVAREZ          ADDRESS ON FILE
Alejandro Zavala, Hector               ADDRESS ON FILE
ALEJANDRO ZUNIGA, MARISOL              ADDRESS ON FILE
ALEJANDRO, EDNA M                      ADDRESS ON FILE
ALEJANDRO, LAURA E                     ADDRESS ON FILE
ALEJANDRO, MARIA T                     ADDRESS ON FILE
ALEJANDRO‐LIZARDI LEGAL SERVICES PSC   PMB 442 NO 405            AVE ESMERALDA SUITE 102                                       GUAYNABO     PR      00969
ALEJANRO ESCRIBANO, JESSICA            ADDRESS ON FILE
ALEJANRO MORALES, NYDIA                ADDRESS ON FILE
ALEJITA SANTOS TURULL                  ADDRESS ON FILE
ALEJITA SANTOS TURULL                  ADDRESS ON FILE
ALEJO CENTENO Y ROSALIA COSME          ADDRESS ON FILE
ALEJO CRUZ ORTIZ                       ADDRESS ON FILE
ALEJO CRUZ RODRIGUEZ                   ADDRESS ON FILE
ALEJO LUINA PORTILLA                   ADDRESS ON FILE
ALEJO LUINA PORTILLA                   ADDRESS ON FILE
ALEKSANDAR BERIC                       ADDRESS ON FILE
ALEKSANDAR BERIC,MD                    ADDRESS ON FILE
ALEKSANDER DEMBOWSKI, JAN              ADDRESS ON FILE
ALEKSON DOMENECH COLON                 ADDRESS ON FILE
ALEMAN ALEMAN, FRANZUAS                ADDRESS ON FILE
Aleman Aleman, Ivelisse                ADDRESS ON FILE
ALEMAN ALEMAN, LUIS                    ADDRESS ON FILE
ALEMAN ALEMAN, MILAGROS                ADDRESS ON FILE
ALEMAN ALEMAN, ROSA M                  ADDRESS ON FILE
ALEMAN ALEMAN, WANDA N                 ADDRESS ON FILE
ALEMAN ALVIRA, HARRY                   ADDRESS ON FILE
ALEMAN ANDINO, MARIA S                 ADDRESS ON FILE
ALEMAN ARCE, FERDINAND                 ADDRESS ON FILE
ALEMAN ARCE, JOHNATHAN                 ADDRESS ON FILE
ALEMAN ARCE, JOHNATHAN                 ADDRESS ON FILE
ALEMAN ARZUAGA, EDGARDO                ADDRESS ON FILE
ALEMAN BATISTA, FAUSTINA               ADDRESS ON FILE
ALEMAN BETANCOURT, ALEXIS              ADDRESS ON FILE
ALEMAN BETANCOURT, ELVIN               ADDRESS ON FILE
ALEMAN BETANCOURT, WILLIAM             ADDRESS ON FILE
ALEMAN BIGIO, JORGE                    ADDRESS ON FILE
ALEMAN CANDIOTI, JULIO                 ADDRESS ON FILE
Aleman Cantres, Felix                  ADDRESS ON FILE
ALEMAN CARDONA, ANGEL                  ADDRESS ON FILE
ALEMAN CARDONA, MARTA M                ADDRESS ON FILE
ALEMAN CARDONA, TOMAS                  ADDRESS ON FILE
ALEMAN CASTRO, JENIFER                 ADDRESS ON FILE




                                                                                           Page 201 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 202 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALEMAN CINTRON, WANDA         ADDRESS ON FILE
ALEMAN CLEMENTE, ISAMAR       ADDRESS ON FILE
ALEMAN COLON, JOSE            ADDRESS ON FILE
Aleman Colon, Jose M          ADDRESS ON FILE
Aleman Colon, Milagros        ADDRESS ON FILE
ALEMAN COLON, MILAGROS        ADDRESS ON FILE
ALEMAN CORIANO, SUHEIDY       ADDRESS ON FILE
ALEMAN COTTO, CARLOS          ADDRESS ON FILE
ALEMAN COUTO, RAFAEL          ADDRESS ON FILE
ALEMAN CRUZ, ANGELIMAR        ADDRESS ON FILE
ALEMAN CRUZ, ANGELIMAR        ADDRESS ON FILE
ALEMAN CRUZ, ANGELIMAR        ADDRESS ON FILE
ALEMAN CRUZ, JOSE H           ADDRESS ON FILE
ALEMAN DE VILLANOVA, IRIS D   ADDRESS ON FILE
ALEMAN DELGADO, RAUL          ADDRESS ON FILE
ALEMAN DIAZ, AIXA             ADDRESS ON FILE
ALEMAN DIAZ, SALVADOR L       ADDRESS ON FILE
ALEMAN FERNANDEZ, FRANCES     ADDRESS ON FILE
ALEMAN FIGUEROA, ANA D        ADDRESS ON FILE
ALEMAN FIGUEROA, ARTURO       ADDRESS ON FILE
Aleman Figueroa, Arturo I.    ADDRESS ON FILE
ALEMAN FIGUEROA, JOSE         ADDRESS ON FILE
ALEMAN FIGUEROA, JOSUE        ADDRESS ON FILE
ALEMAN FIGUEROA, LUZ M        ADDRESS ON FILE
ALEMAN GAETAN, ANGEL          ADDRESS ON FILE
ALEMAN GAETAN, MARIANGELY     ADDRESS ON FILE
ALEMAN GERENA, IVONNE         ADDRESS ON FILE
ALEMAN GERENA, OMAYRA J       ADDRESS ON FILE
ALEMAN GONZALEZ, AUDELIZ      ADDRESS ON FILE
ALEMAN GONZALEZ, CARLOS O.    ADDRESS ON FILE
ALEMAN GONZALEZ, CARMEN M.    ADDRESS ON FILE
ALEMAN GONZALEZ, CAROLYN      ADDRESS ON FILE
ALEMAN GONZALEZ, CAROLYN      ADDRESS ON FILE
ALEMAN GONZALEZ, DAVID        ADDRESS ON FILE
ALEMAN GONZALEZ, GLORIMAR     ADDRESS ON FILE
ALEMAN GONZALEZ, KAREN        ADDRESS ON FILE
ALEMAN GONZALEZ, MANUEL       ADDRESS ON FILE
ALEMAN GONZALEZ, MIRIAM       ADDRESS ON FILE
ALEMAN GONZALEZ, VICTORIA     ADDRESS ON FILE
ALEMAN GONZALEZ, WALDEMAR     ADDRESS ON FILE
ALEMAN GONZALEZ, YARITZA      ADDRESS ON FILE
ALEMAN GONZALEZ, ZULEYKA      ADDRESS ON FILE
ALEMAN GRACIA, ROBERTO        ADDRESS ON FILE
ALEMAN HERNANDEZ, ESTEFANY    ADDRESS ON FILE
ALEMAN HERNANDEZ, ESTEFANY    ADDRESS ON FILE
ALEMAN HERNANDEZ, MIGDALIA    ADDRESS ON FILE
ALEMAN IRIZARRY, ROBERTO      ADDRESS ON FILE
ALEMAN IRIZARRY, ROBERTO      ADDRESS ON FILE
ALEMAN JIMENEZ, KEILA         ADDRESS ON FILE
ALEMAN LANDOR, JULY JANE      ADDRESS ON FILE
ALEMAN LANDOR, ROBERTO        ADDRESS ON FILE
ALEMAN LUCIANO, ISRAEL        ADDRESS ON FILE
ALEMAN MALDONADO, PATRICIA    ADDRESS ON FILE
ALEMAN MALDONADO, RAQUEL E    ADDRESS ON FILE
ALEMAN MALDONADO, ROSA A      ADDRESS ON FILE
ALEMAN MARQUEZ, RAMON         ADDRESS ON FILE
ALEMAN MARRERO, VICTOR        ADDRESS ON FILE
ALEMAN MARRERO, VICTOR        ADDRESS ON FILE
ALEMAN MARTINEZ, EDGARDO      ADDRESS ON FILE
ALEMAN MARTINEZ, JENELISSE    ADDRESS ON FILE




                                                                          Page 202 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 203 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALEMAN MARTINEZ, JESUS        ADDRESS ON FILE
ALEMAN MARTINEZ, MARCIAL      ADDRESS ON FILE
ALEMAN MARTINEZ, YAJAIRA      ADDRESS ON FILE
Aleman Massane, Ivonne De L   ADDRESS ON FILE
ALEMAN MAYMI, YADIRA          ADDRESS ON FILE
ALEMAN MAYMI, YADIRA          ADDRESS ON FILE
ALEMAN MEANA, LILLIAM E       ADDRESS ON FILE
ALEMAN MOJICA, CARLOS         ADDRESS ON FILE
ALEMAN MONTALVO, DANIEL       ADDRESS ON FILE
ALEMAN MONTALVO, JOSE E.      ADDRESS ON FILE
ALEMAN MONTANEZ, DENISE M     ADDRESS ON FILE
ALEMAN MORALES, ABDEL         ADDRESS ON FILE
ALEMAN MORALES, GILBERTO      ADDRESS ON FILE
ALEMAN MORALES, JESUS         ADDRESS ON FILE
ALEMAN MORALES, MARCIAL       ADDRESS ON FILE
ALEMAN MORALES, XAVIER        ADDRESS ON FILE
ALEMAN MOYETT, CARLOS         ADDRESS ON FILE
ALEMAN NEGRON, DAGIVETTE      ADDRESS ON FILE
ALEMAN NIEVES, DARIO          ADDRESS ON FILE
ALEMAN NIEVES, KARINA         ADDRESS ON FILE
ALEMAN NIEVES, SONIA          ADDRESS ON FILE
ALEMAN NORIEGA, JOSE          ADDRESS ON FILE
ALEMAN ONEILL, YESSIREE       ADDRESS ON FILE
ALEMAN ORTEGA, ELI ABNER      ADDRESS ON FILE
ALEMAN ORTIZ, ELIANA          ADDRESS ON FILE
ALEMAN ORTIZ, JESSE R.        ADDRESS ON FILE
ALEMAN ORTIZ, MARIA C.        ADDRESS ON FILE
ALEMAN ORTIZ, NANCY E         ADDRESS ON FILE
ALEMAN OSORIO, RICARDO        ADDRESS ON FILE
ALEMAN PABON, ANACELIS        ADDRESS ON FILE
ALEMAN PABON, JOSE            ADDRESS ON FILE
ALEMAN PABON, SHARON          ADDRESS ON FILE
ALEMAN PACHECO MD, JANICE     ADDRESS ON FILE
ALEMAN PACHECO, JUAN M        ADDRESS ON FILE
Aleman Perez, Irmaliz         ADDRESS ON FILE
ALEMAN PITRE, RAQUEL          ADDRESS ON FILE
ALEMAN PIZARRO, NORMA         ADDRESS ON FILE
ALEMAN QUILES, BETZAIDA       ADDRESS ON FILE
ALEMAN QUILES, JULIO L.       ADDRESS ON FILE
ALEMAN RAMIREZ, IVONNE        ADDRESS ON FILE
ALEMAN RAMOS, ANA R.          ADDRESS ON FILE
ALEMAN RAVENA, JUAN           ADDRESS ON FILE
ALEMAN RENTAS, XALLYA         ADDRESS ON FILE
ALEMAN REYES, JUAN            ADDRESS ON FILE
ALEMAN RIOS ARTURO            ADDRESS ON FILE
ALEMAN RIOS, MARITZA          ADDRESS ON FILE
ALEMAN RIVERA, ALEXANDRA E    ADDRESS ON FILE
ALEMAN RIVERA, ANGEL G        ADDRESS ON FILE
Aleman Rivera, Cesar R        ADDRESS ON FILE
ALEMAN RIVERA, ELBA           ADDRESS ON FILE
ALEMAN RIVERA, JOHN L.        ADDRESS ON FILE
ALEMAN RIVERA, JOSE           ADDRESS ON FILE
ALEMAN RIVERA, JUAN           ADDRESS ON FILE
ALEMAN RIVERA, LUIS           ADDRESS ON FILE
ALEMAN RIVERA, MAYTEE         ADDRESS ON FILE
ALEMAN RIVERA, OMAR           ADDRESS ON FILE
ALEMAN RIVERA,MINOSKA         ADDRESS ON FILE
ALEMAN RIVERO, VANESA         ADDRESS ON FILE
ALEMAN RODRIGUEZ, DORALYS     ADDRESS ON FILE
ALEMAN RODRIGUEZ, GABRIEL     ADDRESS ON FILE




                                                                          Page 203 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 204 of 3500
                                                                                                  Creditor Matrix

Creditor Name                          Address1                       Address2                                 Address3               Address4           City              State   PostalCode   Country
ALEMAN RODRIGUEZ, MARISELY             ADDRESS ON FILE
Aleman Rodriguez, Pedro J              ADDRESS ON FILE
ALEMAN RODRIGUEZ, RAMONA               ADDRESS ON FILE
ALEMAN ROJO, MARIANO                   ADDRESS ON FILE
ALEMAN ROJO, SEBASTIAN                 ADDRESS ON FILE
ALEMAN ROMAN, TALIANA                  ADDRESS ON FILE
ALEMAN ROQUE, JERRY                    ADDRESS ON FILE
ALEMAN ROQUE, MIGDALIA                 ADDRESS ON FILE
ALEMAN ROSARIO, JUAN E                 ADDRESS ON FILE
ALEMAN SALGADO, MARIELY                ADDRESS ON FILE
ALEMAN SANCHEZ, MARILU                 ADDRESS ON FILE
Aleman Santana, Eli A                  ADDRESS ON FILE
ALEMAN SANTIAGO, ANGEL L               ADDRESS ON FILE
ALEMAN SANTIAGO, LIZ E                 ADDRESS ON FILE
ALEMAN SANTIAGO, MYRTA DEL C           ADDRESS ON FILE
ALEMAN SANTIAGO, PEDRO                 ADDRESS ON FILE
ALEMAN SANTOS, BETSY                   ADDRESS ON FILE
ALEMAN SANTOS, EURIPIDES               ADDRESS ON FILE
ALEMAN SOISA, YOLANDA                  ADDRESS ON FILE
ALEMAN TEXACO SERVICE                  PO BOX 1351                                                                                                       TRUJILLO ALTO     PR      00977
ALEMAN TOLEDO, ARLENE                  ADDRESS ON FILE
ALEMAN VALENTIN, RUTH D                ADDRESS ON FILE
ALEMAN VALENTIN, VICTOR J              ADDRESS ON FILE
ALEMAN VELAZQUEZ, ANASTACIA            ADDRESS ON FILE
ALEMAN VELAZQUEZ, JESUS                ADDRESS ON FILE
ALEMAN VELAZQUEZ, JUAN A.              ADDRESS ON FILE
ALEMAN VELEZ, REINALDO                 ADDRESS ON FILE
ALEMAN VERA, CARLOS J                  ADDRESS ON FILE
ALEMAN VERA, MARIA M                   ADDRESS ON FILE
ALEMAN WEINMANN MD, ANN M              ADDRESS ON FILE
ALEMAN, LUIS O.                        ADDRESS ON FILE
ALEMANY ALEMANY, DAVID                 ADDRESS ON FILE
ALEMANY ALVAREZ, AUREA R.              ADDRESS ON FILE
ALEMANY APONTE, CRISTINA I             ADDRESS ON FILE
ALEMANY CALDERON, ANA CARMEN           ADDRESS ON FILE
ALEMANY CARRION, NOEL                  ADDRESS ON FILE
ALEMANY COTTO, ROBERTO                 ADDRESS ON FILE
ALEMANY CRUZ, ABIMAELY                 ADDRESS ON FILE
ALEMANY CRUZ, ISMAEL                   ADDRESS ON FILE
ALEMANY CRUZ, JUAN                     ADDRESS ON FILE
ALEMANY DE JESUS, MARIBEL              ADDRESS ON FILE
ALEMANY DELGADO, IVELISSE              ADDRESS ON FILE
ALEMANY DIAZ, ROSITA                   ADDRESS ON FILE
ALEMANY ENRIQUEZ MD, WILLIAM E         ADDRESS ON FILE
ALEMANY GARCIA, JOSE M.                ADDRESS ON FILE
ALEMANY GONZALEZ, DAISY                ADDRESS ON FILE
ALEMANY MARTINEZ, ANA T.               ADDRESS ON FILE
                                                                                                                                      147 CASAS LINDAS
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   ALEMAÑY NARTÍNEZ, FRANCHESKA   ALEMAÑY NARTÍNEZ                         FRANCHESKA             VILLAGE            Bayamón           PR      00959
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   BERMÚDEZ TORRES JORGE L.       URB. PARQUE DEL MONTE 2                  CALLE DAGUAO DD‐4                         CAGUAS            PR      00727
                                                                                                               CARR.176 #3950
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   BIGIO TORRES FRANCISCO         CONDOMINIO GARDEN VALLEY CLUB            ATPO.17‐B CUPEY                           RÍO PIEDRAS       PR      00923
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   CAMACHO FIGUEROA JOSÉ O.       PO BOX 360596                                                                      SAN JUAN          PR      00936
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   CARRASCO MUÑOZ LUCY            CONDOMINIO CAMINITO                      CARR. 189 APTO. 2805                      GURABO            PR      00778
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   CARRILLO MONTES MYRIAM         VENUS GARDENS 685 CALLE CHIHUAHUA                                                  SAN JUAN          PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   CHARLES ANTONGIORGI YAMIR      ALTURAS DE RIO GRANDE                    CALLE 6G 288                              RIO GRANDE        PR      00745
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   CLEMENTE GONZÁLEZ LOURDES      PO BOX 1181                                                                        SAINT JUST        PR      00978‐1181
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   DÁVILA HERNÁNDEZ BRENDA L.     URB. UNIVERSITY GARDENS                  CALLE DUQUE 254                           SAN JUAN          PR      00927
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   DE JESÚS FERNÁNDEZ GLORICET    URB. CROWN HILLS                         CALLE CARITE 131                          SAN JUAN          PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   DEL PILAR SOTO MARÍA           URB. TERRAZAS DE                         GUAYNABO               CALLE ROSA C‐2     GUAYNABO          PR      00969




                                                                                                Page 204 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 205 of 3500
                                                                                                              Creditor Matrix

Creditor Name                          Address1                              Address2                                      Address3                 Address4      City            State   PostalCode   Country
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   GONZÁLEZ MADRIZ JOSÉ                  MARINA BAHÍA                                  RH 5 AQUAMARINA                        CATAÑO          PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   GOTAY FONTANET PATRICIA               EL                                            DORADO                   B‐9 CALLE C   SAN JUAN        PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   HERNÁNDEZ FELICIANO ANA L.            PMB 128                                       405 AVE. ESMERALDA                     GUAYNABO        PR      00969
                                                                                                                           C/ DEL PARQUE #229
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   HERNÁNDEZ SÁNCHEZ ROBERTO             EDIFICIO PARQUE CENTRAL                       APTO. 1104                             SAN JUAN        PR      00912
                                                                                                                           742 CALLE VÍA DEL
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   HERRERA DOS REIS GENARO               URB. SAN JOSÉ                                 LLANO                                  CAGUAS          PR      00727‐3114
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. ANGLADA GIL, ROLANDO             PO BOX 1072                                                                          GUAYNABO        PR      00970
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. BERRIOS CABAN, GRACIA M          PO BOX 21370                                                                         SAN JUAN        PR      00928‐1370
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. BURGOS PEREZ, OSVALDO            PO BOX 194211                                                                        SAN JUAN        PR      00919‐4211
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. MERCADO COLLAZO, VANESSA         CARIBBEAN OFFICE PLAZA STE 204                670 Ponce DE LEON                      SAN JUAN        PR      00907
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. PANTOJA OQUENDO, JOSEFINA        PO BOX 21370                                                                         SAN JUAN        PR      00928
                                                                                                                           392 CAMINO DE LOS
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. QUIÑONES ECHEVARRIA, HERIBERTO   URB SABANERA                                  JARDINES                               CIDRA           PR      00739

ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LIC. RIVERA GIMENEZ, MANUEL U         URB DELGADO                                   O‐10 AVE JOSE VILLARES                 CAGUAS          PR      00725
                                                                                                                           CALLE 4 F‐26 APTO. 2
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LLANOS PARÍS JESÚS MANUEL             VILLA COOPERATIVA                             (ALTOS)                                SAN JUAN        PR      00985
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   LUGO IGLESIAS CARMEN E.               100 GRAN BULEVAR PASEOS                       SUITE 112 MSC 456                      SAN JUAN        PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MARCANO RAMÍREZ MELISSA               URB. MAGNOLIA GARDENS                         CALLE 10 H37                           Bayamón         PR      00956
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MARITNEZ MELENDEZ DANIEL              URB. SUMMIT HILLS                             CALLE TORRECILLA 594                   SAN JUAN        PR      00920
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MARTÍNEZ LÓPEZ ISMAEL                 VILLAS LOS OLMOS                              CALLE 4 #31                            SAN JUAN        PR      00927
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MARTÍNEZ MELÉNDEZ DANIEL              URB. SUMMIT HILLS,CALLE TORRECILLA 594                                               SAN JUAN        PR      00920
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MEDINA RIVERA MYRNA I.                PO BOX 7416                                                                          CAGUAS          PR      00726
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MELÉNDEZ VÁZQUEZ MILDRED              RESIDENCIAL QUINTANA                          EDIFICIO 30 APTO. 442                  SAN JUAN        PR      00917
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MIRANDA MELECIO                       PO BOX 810066                                 AMF STATION                            CAROLINA        PR      00981‐1066
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MIRANDA MELECIO ORLANDO               PO BOX 810066                                 AMF STATION                            CAROLINA        PR      00981‐1066
                                                                                                                           392 CALLE JARDÍN
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MONTALVO COLÓN ROSA I.                JARDINES DEL MEDITERRÁNEO                     LIBERTAD                               TOA ALTA        PR      00953
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MORALES MUÑOZ, LUZMAR                 BOX 8181                                                                             HUMACAO         PR      00792
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MORILLO VARGAS SHANDRA                URB. CHALETS DE SANTA CLARA            CALLE BRILLANTE #20                           GUAYNABO        PR      00969
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   MOTA RODRÍGUEZ REINA V.               PO BOX 270171                                                                        SAN JUAN        PR      00927
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   NARANJO ALICEA JOSÉ                   1321 CALLE 2 SO                        CAPARRA TERRACE                               SAN JUAN        PR      00921
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   ORRACA LÓPEZ SYLMARIE                 URB. EL                                DORADO                          CALLE B C‐9   SAN JUAN        PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   ORTIZ PALACIOS, LUIS F                PO BOX 696                                                                           CAGUAS          PR      00726
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   ORTIZ RESTO WILMAR                    ALTURAS DE BORINQUEN GARDENS MM‐13 SUNFLOWER ST.                                     SAN JUAN        PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   POLA CARRILLO, NANCY                  300 AVENIDA LA SIERRA                  BOX 130                                       SAN JUAN        PR      00919
                                                                                                                    COOP EL ALZACAR
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   QUIÑONES RIVERA MARGARITA             URB. SAN LUIS #500                     APTO. 19E                                     RÍO PIEDRAS     PR      00923
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   RAMOS NÚÑEZ BELINDA                   RR‐2 BOX 5952                                                                        TOA ALTA        PR      00953
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   REYES VÁZQUEZ IRIS N.                 URB. GARCÍA MILAVILLE                  CALLE A #21                                   SAN JUAN        PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   RIVERA ALLENDE AIXA                   PASADENA 316                           SAN GERARDO                                   SAN JUAN        PR      00926

ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   RODRÍGUEZ CABRERA CARMEN JAMELISE     PMB SUITE 208                                 90 AVENIDA RÍO HONDO                   Bayamón         PR      00961
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   RODRÍGUEZ HERNÁNDEZ SUSSETTE          CONDOMINIO LOS ROBLES,                        APTO. 914 A                            RÍO PIEDRAS     PR      00927
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   RUIZ LÓPEZ ROBERTO                    CONDOMINIO MAR DE ISLA VERDE                  APARTAMENTO 9‐Q                        CAROLINA        PR      00979
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   RUÍZ RAMÍREZ MARÍA L.                 CALLE FERIA                                                                          SAN JUAN        PR      00909
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   SANCHEZ AYENDEZ, MELBA                URB. MONTE ALVERNIA                           1 VÍA BERNARDO                         GUAYNABO        PR      00969
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   SÁNCHEZ DELGADO NAYLIN                PO BOX 368019                                                                        SAN JUAN        PR      00936
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   SÁNCHEZ ROMÁN MAYRA                   PO BOX 64                                     CALLE ALORA #346                       VEGA BAJA       PR      00693
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   SANTIAGO SÁNCHEZ IRIS                 REPARTO METROPOLITANO                         CALLE 17 SE 1023                       SAN JUAN        PR      00921
                                                                                                                           CALLE LÓPEZ SICARDÓ
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   SANTIAGO SANCHEZ, IRIS                URB. DOS PINOS                                812                                    SAN JUAN        PR      00923
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   TROCHE PEREZ, IDA                     URB. QUINTAS DE CANÓVANAS                     CALLE DIAMANTE #861                    CANÓVANAS       PR      00729
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   TRUJILLO FIGUEROA CLARIBEL            URB. COUNTRY CLUB                             CALLE 536 QO‐26                        CAROLINA        PR      00982

ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   VALENTÍN DE JESÚS LIZETTE             URB. SAN GERARDO                              CALLE OKLAHOMA #301                    RÍO PIEDRAS     PR      00926
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS   VIRELLA BÁEZ MARÍA DE LOS A.          URB. VILLAS DE PARANÁ                         CALLE 4 S2‐12                          RÍO PIEDRAS     PR      00923
ALEMAÑY MARTÍNEZ, FRANCHESKA Y OTROS
ALEMANY MARTINEZ,ANA T.                ADDRESS ON FILE




                                                                                                          Page 205 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 206 of 3500
                                                                               Creditor Matrix

Creditor Name                 Address1                  Address2                            Address3   Address4   City           State   PostalCode   Country
ALEMANY MENDEZ, EDWIN T       ADDRESS ON FILE
ALEMANY MICHEO, RICARDO       ADDRESS ON FILE
ALEMANY MICHEO, RICARDO M.    ADDRESS ON FILE
ALEMANY MINGUELA, MIGUEL A.   ADDRESS ON FILE
ALEMANY NIEVES, PABLO         ADDRESS ON FILE
ALEMANY NORIEGA, WILFREDO     ADDRESS ON FILE
ALEMANY OLIVENCIA, CARLO      ADDRESS ON FILE
ALEMANY OLIVENCIA, JUAN O     ADDRESS ON FILE
ALEMANY PEREZ, JUAN           ADDRESS ON FILE
ALEMANY PEREZ, MIGUEL         ADDRESS ON FILE
Alemany Perez, Miguel A       ADDRESS ON FILE
ALEMANY ROBLES, KERILIZ       ADDRESS ON FILE
ALEMANY RODRIGUEZ, ANA T.     ADDRESS ON FILE
ALEMANY RODRIGUEZ, ANTONIO    ADDRESS ON FILE
ALEMANY RODRIGUEZ, MILAGROS   ADDRESS ON FILE
ALEMANY RUIZ, JOSE            ADDRESS ON FILE
ALEMANY RUIZ, TERESITA        ADDRESS ON FILE
ALEMANY SAISI, DIANA          ADDRESS ON FILE
ALEMANY SANTIAGO, WANDA I.    ADDRESS ON FILE
ALEMANY SERRANO, DAVID        ADDRESS ON FILE
ALEMANY TORRES, ALMA T        ADDRESS ON FILE
Alemany Valdez, Jose E        ADDRESS ON FILE
ALEMANY VALDEZ, MARIA C       ADDRESS ON FILE
ALEMANY VALENTIN, LUISVETTE   ADDRESS ON FILE
ALEMANY VELEZ, BETZAIDA A     ADDRESS ON FILE
ALEMANY VIDAL, JUAN           ADDRESS ON FILE
ALEMANY, MARIA                ADDRESS ON FILE
ALEMAR DIAZ, CARLA K          ADDRESS ON FILE
ALEMAR ESCABI, JEANELLE       ADDRESS ON FILE
ALEMAR HERNANDEZ, HILTON A.   ADDRESS ON FILE
ALEMAR JIMENEZ, ELIZABETH     ADDRESS ON FILE
ALEMAR JIMENEZ, GILBERTO      ADDRESS ON FILE
Alemar Mercado, Edwin         ADDRESS ON FILE
ALEMAR MERCADO, EDWIN         ADDRESS ON FILE
ALEMAR ORSINI, MARIA DEL C    ADDRESS ON FILE
ALEMAR PEREZ, MAGDA I.        ADDRESS ON FILE
ALEMAR PEREZ, MAGDA I.        ADDRESS ON FILE
ALEMAR RIVERA, LUIS ALBERTO   ADDRESS ON FILE
ALEMAR RODRIGUEZ, ENID        ADDRESS ON FILE
ALEMAR RODRIGUEZ, ROSE E      ADDRESS ON FILE
ALEMAR SUAREZ, ISAURA N       ADDRESS ON FILE
ALEMAR,PEDRO                  ADDRESS ON FILE
ALEN, DAVID                   ADDRESS ON FILE
ALENIS ALEJANDRO ESCRIBANO    ADDRESS ON FILE
ALENIS ALEJANDRO ESCRIBANO    ADDRESS ON FILE
ALENO BOSCH, CARLOS           ADDRESS ON FILE
ALENO MERCADO, ASHIE          ADDRESS ON FILE
ALENO MERCADO, ASHIE          ADDRESS ON FILE
ALENO MERCADO, ASHIE N.       ADDRESS ON FILE
ALENO TORRES, THAIMI          ADDRESS ON FILE
ALEO METAL INC                PO BOX 4935                                                                         CAROLINA       PR      00984‐4935
ALEQUIN AVILES, LIXIE Y       ADDRESS ON FILE
ALEQUIN BAEZ, EDWIN           ADDRESS ON FILE
ALEQUIN BAEZ, EDWIN           ADDRESS ON FILE
ALEQUIN BARRET, DAISY         ADDRESS ON FILE
ALEQUIN BARRETO, MARIA I.     ADDRESS ON FILE
ALEQUIN CABAN, ROBERTO        ADDRESS ON FILE
Alequin Cruz, Jose L          ADDRESS ON FILE
ALEQUIN DIAZ, LUIS            ADDRESS ON FILE
ALEQUIN GAS                   SECT PIN QUINONES         CARR 2 KM 173 4 INT                                       SAN GERMAN     PR      00683




                                                                              Page 206 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 207 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALEQUIN GONZALEZ, ABNEL         ADDRESS ON FILE
ALEQUIN LUGO, MARIO             ADDRESS ON FILE
ALEQUIN MALAVE, ROSALIA         ADDRESS ON FILE
ALEQUIN MENDOZA, WILFREDO       ADDRESS ON FILE
ALEQUIN MERCADO, GILBERTO       ADDRESS ON FILE
ALEQUIN PEREZ, AUREA E          ADDRESS ON FILE
ALEQUIN PEREZ, CARMEN E         ADDRESS ON FILE
Alequin Perez, Carmen E.        ADDRESS ON FILE
ALEQUIN RAMOS, IDA I            ADDRESS ON FILE
ALEQUIN RAMOS, PABLO            ADDRESS ON FILE
ALEQUIN RIVERA, ALEX            ADDRESS ON FILE
ALEQUIN RIVERA, ALEX            ADDRESS ON FILE
ALEQUIN RIVERA, CARLOS          ADDRESS ON FILE
ALEQUIN RIVERA, CESAR           ADDRESS ON FILE
ALEQUIN RODRIGUEZ, CARMEN R     ADDRESS ON FILE
ALEQUIN RODRIGUEZ, DAISY        ADDRESS ON FILE
ALEQUIN RODRIGUEZ, DENNIS       ADDRESS ON FILE
ALEQUIN ROSADO, JESUS           ADDRESS ON FILE
ALEQUIN ROSADO, JESUS           ADDRESS ON FILE
ALEQUIN RUIZ, YADIRA            ADDRESS ON FILE
ALEQUIN SANCHEZ, RICARDO        ADDRESS ON FILE
ALEQUIN SANTIAGO, CINDY         ADDRESS ON FILE
ALEQUIN SANTIAGO, IVONNE        ADDRESS ON FILE
ALEQUIN SEDA, RAMON             ADDRESS ON FILE
ALEQUIN TORO, EDWIN             ADDRESS ON FILE
ALEQUIN VALLES, DIGNA           ADDRESS ON FILE
Alequin Valles, Octavio         ADDRESS ON FILE
ALEQUIN VEGA, JORGE L           ADDRESS ON FILE
ALEQUIN VELEZ, CARMEN           ADDRESS ON FILE
ALEQUIN VENTURA, DEBORAH        ADDRESS ON FILE
ALEQUIN VERA, MAGDA             ADDRESS ON FILE
ALER, LUIS A.                   ADDRESS ON FILE
ALERIS ORTIZ ORTIZ              ADDRESS ON FILE
ALERS ALERS, ANA E.             ADDRESS ON FILE
Alers Alers, Miguel             ADDRESS ON FILE
ALERS ARCE, DARY N              ADDRESS ON FILE
ALERS ARCE, RAMON               ADDRESS ON FILE
ALERS AYALA, NANCY              ADDRESS ON FILE
ALERS BAGU, CARLOS              ADDRESS ON FILE
ALERS BERRIOS, WENDY            ADDRESS ON FILE
ALERS CABRERA MD, RAMON         ADDRESS ON FILE
ALERS CARDONA, VICTOR M.        ADDRESS ON FILE
ALERS CARRERO, ADELAIDA         ADDRESS ON FILE
ALERS CARRERO, DAISY            ADDRESS ON FILE
ALERS CASTILLO, CARMEN S        ADDRESS ON FILE
ALERS CINTRON, GABRIEL          ADDRESS ON FILE
ALERS COLON, CARLOS FRANCISCO   ADDRESS ON FILE
ALERS COLON, FRANCISCO          ADDRESS ON FILE
ALERS CRUZ, CHARISSE            ADDRESS ON FILE
ALERS CRUZ, NEREIDA             ADDRESS ON FILE
ALERS DUMENG, LUCIA             ADDRESS ON FILE
ALERS FANTAUZZI, MARIA          ADDRESS ON FILE
ALERS FERNANDEZ MD, ROBERTO     ADDRESS ON FILE
ALERS FERNANDEZ, ROBERTO        ADDRESS ON FILE
ALERS FLORES, BRYAN             ADDRESS ON FILE
ALERS FLORES, STEPHAN J         ADDRESS ON FILE
ALERS GALARZA, NESTOR I         ADDRESS ON FILE
ALERS GONZALEZ, ARIEL           ADDRESS ON FILE
ALERS HOWARD, LUIS A.           ADDRESS ON FILE
ALERS LARRIEUX, ANA M           ADDRESS ON FILE




                                                                            Page 207 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 208 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALERS LARRIEUX, EUSTAQUIO   ADDRESS ON FILE
ALERS LEBRON, ROSA E        ADDRESS ON FILE
ALERS LEBRON, VIVIAN        ADDRESS ON FILE
ALERS LEBRON, VIVIAN J.     ADDRESS ON FILE
ALERS LEDOUX, INGRID        ADDRESS ON FILE
ALERS LOPEZ, EVANGELINE     ADDRESS ON FILE
ALERS LOPEZ, JONATHAN       ADDRESS ON FILE
ALERS LOPEZ, MARGARITA      ADDRESS ON FILE
ALERS LOPEZ, NEREIDA        ADDRESS ON FILE
ALERS LOPEZ, VANESSA        ADDRESS ON FILE
ALERS LORA, ISRAEL          ADDRESS ON FILE
ALERS MARQUEZ, NANCY        ADDRESS ON FILE
ALERS MARTINEZ, AIXA        ADDRESS ON FILE
ALERS MARTINEZ, ELBA        ADDRESS ON FILE
ALERS MARTY, IRMA           ADDRESS ON FILE
ALERS MENDET, ISMAEL        ADDRESS ON FILE
ALERS MENDEZ, JOSE          ADDRESS ON FILE
ALERS MENDEZ, MARISEL       ADDRESS ON FILE
ALERS MENDEZ, MICHELLE A.   ADDRESS ON FILE
ALERS MERCADO, CECILIA      ADDRESS ON FILE
ALERS MERCADO, MYRIAM N     ADDRESS ON FILE
ALERS MILLAN, ROSA L        ADDRESS ON FILE
ALERS MILLET, MILDRED       ADDRESS ON FILE
ALERS NEGRON, IVETTE        ADDRESS ON FILE
ALERS NIEVES, LUIS A.       ADDRESS ON FILE
ALERS ORIONDO, MAGALY       ADDRESS ON FILE
ALERS ORTIZ, AURELYS        ADDRESS ON FILE
ALERS PEREZ, ANGEL B.       ADDRESS ON FILE
ALERS PEREZ, CARMELO        ADDRESS ON FILE
ALERS PONCE, CARMEN H       ADDRESS ON FILE
ALERS PONCE, LEONOR         ADDRESS ON FILE
ALERS PONCE, MILAGROS       ADDRESS ON FILE
ALERS PONCE, RAMON          ADDRESS ON FILE
ALERS PRESTAMO, EILEEN      ADDRESS ON FILE
ALERS PRESTAMO, JANICE      ADDRESS ON FILE
Alers Quinones, Gamalier    ADDRESS ON FILE
ALERS QUINONES, MARTA       ADDRESS ON FILE
Alers Quintana, Jose L      ADDRESS ON FILE
ALERS RAMIREZ, ANTHONY      ADDRESS ON FILE
ALERS RIVERA, JUAN R        ADDRESS ON FILE
ALERS RIVERA,JUAN R.        ADDRESS ON FILE
ALERS RODRIGUEZ, ANGEL      ADDRESS ON FILE
ALERS RODRIGUEZ, ANGEL L    ADDRESS ON FILE
ALERS RODRIGUEZ, HEIZA      ADDRESS ON FILE
Alers Rodriguez, Jesus M    ADDRESS ON FILE
ALERS RODRIGUEZ, SONIA I    ADDRESS ON FILE
ALERS ROLDAN, CARLOS        ADDRESS ON FILE
ALERS ROMAN, XAVIER         ADDRESS ON FILE
ALERS ROSADO, ARIEL         ADDRESS ON FILE
ALERS RUIZ, BIENVENIDO      ADDRESS ON FILE
ALERS RUIZ, JOSE            ADDRESS ON FILE
Alers Salas, Montgomery     ADDRESS ON FILE
ALERS SALAS, MONTGOMERY     ADDRESS ON FILE
ALERS SEGARRA, JAZMIN       ADDRESS ON FILE
ALERS SEGARRA, JUDITH       ADDRESS ON FILE
ALERS SERRA, LUIS           ADDRESS ON FILE
ALERS SERRA, LUIS O         ADDRESS ON FILE
ALERS SOLER, RAFAEL         ADDRESS ON FILE
ALERS SOTO, DAVID           ADDRESS ON FILE
ALERS SOTO, JUAN            ADDRESS ON FILE




                                                                        Page 208 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                                Exhibit A-1 - Creditor
                                                                                    Case No.Matrix
                                                                                            17 BK 3283‐LTSPage 209 of 3500
                                                                                                            Creditor Matrix

Creditor Name                                  Address1                      Address2                                    Address3         Address4   City         State   PostalCode   Country
ALERS SOTO, YADIRA                             ADDRESS ON FILE
ALERS STAGE & SERVICE INC                      URB PROYECTO 141              30 CALLE 16                                                             CATANO       PR      00962‐6045
ALERS TALAVERA, AIDYN D                        ADDRESS ON FILE
ALERS TORRES, JOSE R.                          ADDRESS ON FILE
ALERS VALENTIN, HILTON                         ADDRESS ON FILE
ALERS VALLE, HERIBERTO                         ADDRESS ON FILE
ALERS VARGAS, LUIS A                           ADDRESS ON FILE
ALERS VELEZ, ANGEL                             ADDRESS ON FILE
ALERS VENDRELL, JAIME                          ADDRESS ON FILE
ALERS, WILLIAM                                 ADDRESS ON FILE
ALERT GLOBAL MEDIA                             BRICKELL BAY VIEW CENTER      80 SW 8TH STREET SUITE 2300                                             MIAMI        FL      33130
ALERTA (Asociación Laboral de Empleados de Rel Roman Espada, Carlos M.       Cooperativa San Ignacio                     Apt. 1814B                  San Juan     PR      00927
ALERTA INC.                                    P O BOX 1106                                                                                          PONCE        PR      00733
ALESEI I LOPEZ VAZQUEZ                         ADDRESS ON FILE
ALESHA CHARDON GESUALDO                        ADDRESS ON FILE
ALESKA M. PENALOZA DE JESUS                    ADDRESS ON FILE
ALESKSEI MORALES DIAZ                          ADDRESS ON FILE
ALESSANDRA C. NEGRON SIMONETTI                 ADDRESS ON FILE
ALESSANDRA C. NEGRON SIMONETTI                 ADDRESS ON FILE
ALESSANDRA CORREA RIVERA                       ADDRESS ON FILE
ALESSANDRA M ROSA TIRADO                       ADDRESS ON FILE
ALESSANDRO CACERES ECHEVARRIA                  ADDRESS ON FILE
ALESSANDRO CACERES ECHEVARRIA                  ADDRESS ON FILE
ALESSANDRO F BRAGETTI ALMODOVAR                ADDRESS ON FILE
ALESSANDRO F. BRAGETTI ALMODOVAR               ADDRESS ON FILE
ALEVALERIE CARRILLO MALDONADO                  ADDRESS ON FILE
ALEX A CONCEPCION GONZALEZ                     ADDRESS ON FILE
ALEX A CRUZ ESPARRA                            ADDRESS ON FILE
ALEX A GONZALEZ AVILES                         ADDRESS ON FILE
ALEX A LORA GALVEZ                             ADDRESS ON FILE
ALEX A MARTINEZ DEL VALLE                      ADDRESS ON FILE
ALEX A NOVOA GONZALEZ                          ADDRESS ON FILE
ALEX A RIVERA OCASIO                           ADDRESS ON FILE
ALEX A ROMAN CUADRADO                          ADDRESS ON FILE
ALEX A SANTIAGO MONTES                         ADDRESS ON FILE
ALEX A TORRES GARCIA                           ADDRESS ON FILE
ALEX A. PEREZ ROMAN                            ADDRESS ON FILE
ALEX ACEVEDO ORTIZ                             ADDRESS ON FILE
ALEX ACOSTA CRUZ                               ADDRESS ON FILE
ALEX ALARCON BENITEZ                           ADDRESS ON FILE
ALEX ALBINO ACOSTA                             ADDRESS ON FILE
ALEX ANIBAL TORRES GARCIA                      ADDRESS ON FILE
ALEX ARCE PEREZ                                ADDRESS ON FILE
ALEX BAEZ HERNANDEZ                            ADDRESS ON FILE
ALEX BERTANCOURT                               ADDRESS ON FILE
ALEX C SANCHEZ                                 ADDRESS ON FILE
ALEX CABALLERO ALMODOVAR                       ADDRESS ON FILE
ALEX CABRERA SERRANO                           ADDRESS ON FILE
ALEX CANALS CANALS                             ADDRESS ON FILE
ALEX CANALS CANALS                             ADDRESS ON FILE
                                                                                                                         1353 AVE. LUIS
ALEX CARABALLO HERNANDEZ                     LCDA. YARLENE JIMENEZ ROSARIO   PMB 133                                     VIGOREAUX                   GUAYNABO     PR      00966‐2700
ALEX CARRASQUILLO FERNANDEZ                  ADDRESS ON FILE
ALEX CARRION RODRIGUEZ                       ADDRESS ON FILE
ALEX CATALA AGUAYO                           ADDRESS ON FILE
ALEX CEDENO                                  ADDRESS ON FILE
ALEX COLLAZO CASANOVA                        ADDRESS ON FILE
ALEX CORDERO QUINONES                        ADDRESS ON FILE
Alex Crespo Aponte                           ADDRESS ON FILE
ALEX CRUZ MARTINEZ                           ADDRESS ON FILE




                                                                                                           Page 209 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 210 of 3500
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ALEX CRUZ NEGRON                ADDRESS ON FILE
ALEX CRUZ PACHECO               ADDRESS ON FILE
ALEX CRUZ PENALOZA              ADDRESS ON FILE
ALEX CUADRADO SILVA             ADDRESS ON FILE
ALEX CURRAS CLASS               ADDRESS ON FILE
ALEX D CASTRO MORALES           ADDRESS ON FILE
ALEX D MONTALVO SOTO            ADDRESS ON FILE
ALEX D RIVERA MUNIZ             ADDRESS ON FILE
ALEX D ROBLES COSME             ADDRESS ON FILE
ALEX D. ANDUJAR ALEJANDRO       ADDRESS ON FILE
ALEX DELGADO PADOVANI           ADDRESS ON FILE
ALEX DIAZ LLC                   RR 5 BOX 9216                                                                    TOA ALTA     PR      00953
ALEX DURIEUX CRUZ               ADDRESS ON FILE
ALEX E DE JESUS PAGAN           ADDRESS ON FILE
ALEX E MARTINEZ MORALES         ADDRESS ON FILE
ALEX E PASCUAL NUNEZ            ADDRESS ON FILE
ALEX ELECTRONICS                BOX 3169                                                                         BAYAMON      PR      00960.
ALEX EVENTS CORP                HC 15 BOX 16020                                                                  HUMACAO      PR      00791
ALEX FLORES PLAZA               ADDRESS ON FILE
ALEX G MORALES PEREZ            ADDRESS ON FILE
ALEX G PAGAN DAVILA             ADDRESS ON FILE
ALEX G RAMOS PIMENTEL           ADDRESS ON FILE
ALEX G RIVERA ROLON             ADDRESS ON FILE
ALEX G. MORALES PEREZ           ADDRESS ON FILE
ALEX GARAY SOTO                 ADDRESS ON FILE
ALEX GARCIA RIVAS               ADDRESS ON FILE
ALEX GONZALEZ                   ADDRESS ON FILE
ALEX GONZALEZ OYOLA             ADDRESS ON FILE
ALEX GONZALEZ RAMIREZ           ADDRESS ON FILE
ALEX GONZALEZ RIVERA            ADDRESS ON FILE
ALEX H OLMEDA PAGAN             ADDRESS ON FILE
ALEX HORNEDO ROBLES AND ASSOC   URB PUERTO NUEVO          1006 CALLE ALPES                                       SAN JUAN     PR      00920
ALEX I FELIX ORTIZ              ADDRESS ON FILE
ALEX I MATEO                    ADDRESS ON FILE
ALEX J COLON BURGOS             ADDRESS ON FILE
ALEX J CUADRADO PINERO          ADDRESS ON FILE
ALEX J DEL VALLE RIVERA         ADDRESS ON FILE
ALEX J DIAZ TORRES              ADDRESS ON FILE
ALEX J GARCIA RAMIREZ           ADDRESS ON FILE
ALEX J GUINDIN ROBLES           ADDRESS ON FILE
ALEX J HERNANDEZ VELEZ          ADDRESS ON FILE
ALEX J MALDONADO ROSA           ADDRESS ON FILE
ALEX J MELENDEZ GUILBE          ADDRESS ON FILE
ALEX J MERCED REYES             ADDRESS ON FILE
ALEX J MORALES ROQUE            ADDRESS ON FILE
ALEX J ORTIZ CARTAGENA          ADDRESS ON FILE
ALEX J ORTIZ DELGADO            ADDRESS ON FILE
ALEX J PEREZ BORGES             ADDRESS ON FILE
ALEX J PEREZ PABON              ADDRESS ON FILE
ALEX J SEPULVEDA MARTINEZ       ADDRESS ON FILE
ALEX J SOTO CINTRON             ADDRESS ON FILE
ALEX J TORRES                   ADDRESS ON FILE
ALEX J TORRES GUZMAN            ADDRESS ON FILE
ALEX J TORRES TRINIDAD          ADDRESS ON FILE
ALEX J VAZQUEZ COLON            ADDRESS ON FILE
ALEX J VAZQUEZ SALDANA          ADDRESS ON FILE
ALEX J. MERCADO RODRIGUEZ       ADDRESS ON FILE
ALEX J. RIOS MEJIAS             ADDRESS ON FILE
ALEX JEROME ROMERO LUNA         ADDRESS ON FILE
ALEX JOEL AUTO SALES INC        ADDRESS ON FILE




                                                                             Page 210 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 211 of 3500
                                                                                        Creditor Matrix

Creditor Name                            Address1                      Address2                      Address3         Address4   City            State   PostalCode   Country
ALEX JOMAR AVILES FERNANDEZ              ADDRESS ON FILE
ALEX JORGE MORALES                       ADDRESS ON FILE
ALEX K VERA REYES                        ADDRESS ON FILE
ALEX L. RIVERA VARGAS                    ADDRESS ON FILE
ALEX LOPEZ                               ADDRESS ON FILE
ALEX LOPEZ ECHEGARAY                     ADDRESS ON FILE
ALEX LOPEZ ECHEGARAY                     ADDRESS ON FILE
ALEX LOPEZ RODRIGUEZ                     ADDRESS ON FILE
ALEX LOZADA DIAZ                         ADDRESS ON FILE
ALEX LUGO REYES                          ADDRESS ON FILE
ALEX M AYALA NIEVES                      ADDRESS ON FILE
ALEX M AYALA NIEVES                      ADDRESS ON FILE
ALEX M CAMINERO RIOS                     ADDRESS ON FILE
ALEX M COLON ORTIZ                       ADDRESS ON FILE
ALEX M CRUZ SANTIAGO                     ADDRESS ON FILE
ALEX M CRUZ VARGAS                       ADDRESS ON FILE
ALEX M FERRA GARCIA                      ADDRESS ON FILE
ALEX M OJEDA CINTRON                     ADDRESS ON FILE
ALEX M PINERO MENDOZA                    ADDRESS ON FILE
ALEX M RAMOS LAMBOY                      ADDRESS ON FILE
ALEX MALDONADO COLON                     ADDRESS ON FILE
ALEX MALDONADO SANTIAGO                  ADDRESS ON FILE
ALEX MANUEL CUADRADO AYALA               ADDRESS ON FILE
ALEX MARTI RAMIREZ A/C ORMALIS RAMIREZ   ADDRESS ON FILE
ALEX MELENDEZ CRUZ                       ADDRESS ON FILE
ALEX MICHEL FABRICIO NIEVES              ADDRESS ON FILE
ALEX MOJICA MEDINA                       ADDRESS ON FILE
ALEX MORALES QUINONES                    ADDRESS ON FILE
ALEX MULERO CORTES                       ADDRESS ON FILE
ALEX MUNIZ MERCADO                       ADDRESS ON FILE
ALEX MUNIZ RODRIGUEZ                     ADDRESS ON FILE
ALEX MUNOZ GARCIA                        ADDRESS ON FILE
ALEX N S LL COMPANY                      6000 LOMBARDO CTR STE 600                                                               SEVEN HILLS     OH      44131‐6911
ALEX O CARRASQUILLO LOPEZ                ADDRESS ON FILE
ALEX OMAR COLON GONZALEZ                 ADDRESS ON FILE
ALEX OMAR SANTANA LOPEZ                  ADDRESS ON FILE
ALEX ORLANDO MIRANDA JR                  ADDRESS ON FILE
ALEX PADIN PADIN                         ADDRESS ON FILE
ALEX PEREIRA SANTIAGO                    ADDRESS ON FILE
ALEX PEREZ FIGUEROA                      ADDRESS ON FILE
ALEX PEREZ PEREZ                         ADDRESS ON FILE
ALEX PIÑEIRO                             LCDO. MIGUEL NAZARIO, JR.     701 AVE                       Ponce DE LEON,              SANTURCE        PR      00907
ALEX PIÑEIRO                             LCDO. RICARDO ORTIZ MORALES   APARTADO 1816                                             CAYEY           PR      00737‐1816
ALEX PLAZA MALDONADO                     ADDRESS ON FILE
ALEX R CARRASQUILLO AGOSTO               ADDRESS ON FILE
ALEX R CEPEDA PI ZARRO                   ADDRESS ON FILE
ALEX R COLON MARRERO                     ADDRESS ON FILE
ALEX R CRUZ SANTIAGO                     ADDRESS ON FILE
ALEX R DIAZ COLON                        ADDRESS ON FILE
ALEX R DIAZ SANCHEZ                      ADDRESS ON FILE
ALEX RAFAEL ROMAN MERCADO                ADDRESS ON FILE
ALEX RAMOS HERNANDEZ                     ADDRESS ON FILE
ALEX RAMOS TORRES                        ADDRESS ON FILE
ALEX REYES VARGAS                        ADDRESS ON FILE
ALEX RIVERA CATALA                       ADDRESS ON FILE
ALEX RIVERA RIVERA                       ADDRESS ON FILE
ALEX RIVERA TORRES                       ADDRESS ON FILE
ALEX RODRIGUEZ                           ADDRESS ON FILE
ALEX RODRIGUEZ RAMOS                     ADDRESS ON FILE
ALEX ROMAN MAYSONET                      ADDRESS ON FILE




                                                                                       Page 211 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 212 of 3500
                                                                                             Creditor Matrix

Creditor Name                           Address1                     Address2                             Address3          Address4   City        State   PostalCode   Country
ALEX ROSADO Y/O DAISY TORRES            ADDRESS ON FILE
ALEX S MUNIZ ROBLES                     ADDRESS ON FILE
ALEX S REYES MORALES                    ADDRESS ON FILE
ALEX S RODRIGUEZ MELENDEZ               ADDRESS ON FILE
                                                                                                          AVE BETANCES D‐
ALEX S. RODRÍGUEZ COLON                 LIC ERICK QUINTANA ACEVEDO   URB. HERMANAS DÁVILA                 3,BAYAMON                    BAYAMON     PR      00959
ALEX SANCHEZ GONZALEZ                   ADDRESS ON FILE
ALEX SANCHEZ VELEZ Y EUNICES ESCALERA   ADDRESS ON FILE
ALEX SANDRA PORRATA ORTIZ               ADDRESS ON FILE
ALEX SANDRA PORRATA ORTIZ               ADDRESS ON FILE
ALEX SANTIAGO CASIANO                   ADDRESS ON FILE
ALEX SANTIAGO ECHEVARRIA                ADDRESS ON FILE
ALEX SANTIAGO OTERO                     ADDRESS ON FILE
ALEX SANTIAGO VARGAS                    ADDRESS ON FILE
ALEX SERRANO LEBRON                     ADDRESS ON FILE
ALEX SOTO ALBARRAN                      ADDRESS ON FILE
ALEX SOTO SOLANO                        ADDRESS ON FILE
ALEX T SERRANO FERNANDEZ                ADDRESS ON FILE
ALEX TORRES DIAZ                        ADDRESS ON FILE
ALEX TRUCKING CO INC                    PO BOX 1757                                                                                    BAYAMON     PR      00960‐1757
ALEX VALENTIN PEREZ                     ADDRESS ON FILE
ALEX VAZQUEZ GONZALEZ                   ADDRESS ON FILE
ALEX VAZQUEZ RODRIGUEZ                  ADDRESS ON FILE
ALEX VEGA RAMIREZ                       ADDRESS ON FILE
ALEX VELAZQUEZ FERNANDEZ                ADDRESS ON FILE
ALEX VELEZ CORTES                       ADDRESS ON FILE
ALEX VELEZ RODRIGUEZ                    ADDRESS ON FILE
ALEX VOLCY SANCHEZ                      ADDRESS ON FILE
ALEX W FERNANDEZ LEBRON                 ADDRESS ON FILE
ALEX WOOLCOCK RODRIGUEZ                 ADDRESS ON FILE
ALEX X FALERO RIVERA                    ADDRESS ON FILE
ALEX X HERNANDEZ AVILES                 ADDRESS ON FILE
ALEX X PLAZA SERRANO                    ADDRESS ON FILE
ALEX Y DIAZ HERNANDEZ                   ADDRESS ON FILE
ALEX YINET FLORES ENCARNACION           ADDRESS ON FILE
ALEX ZAVIER COLON RIVERA                ADDRESS ON FILE
ALEXA GUADALUPE RIVERA                  ADDRESS ON FILE
ALEXA LOPEZ Y LUIS A ANZUETA            ADDRESS ON FILE
ALEXA M GARCAI MALDONADO                ADDRESS ON FILE
ALEXA M GARCIA SANTIAGO                 ADDRESS ON FILE
ALEXA M ROBLES TORRES                   ADDRESS ON FILE
ALEXA N MARTINEZ ROMAN                  ADDRESS ON FILE
ALEXA PAOLA FIGUEROA                    ADDRESS ON FILE
ALEXA TORRES                            ADDRESS ON FILE
ALEXAEL TORRES PORTALATIN               ADDRESS ON FILE
ALEXAIDA COLLET ECHEVARRIA              ADDRESS ON FILE
ALEXANDER A AVENDANO RODRIGUEZ          ADDRESS ON FILE
ALEXANDER A SANTIAGO                    ADDRESS ON FILE
ALEXANDER ALDARONDO FERRER              ADDRESS ON FILE
ALEXANDER ALFONSO MENDEZ                ADDRESS ON FILE
ALEXANDER ALICEA BURGOS                 ADDRESS ON FILE
ALEXANDER ALSINA BURGOS                 ADDRESS ON FILE
ALEXANDER ALVARADO NATAL                ADDRESS ON FILE
ALEXANDER APONTE FONTAN                 ADDRESS ON FILE
ALEXANDER ARCE GOZALEZ                  NELSON D. SOTO GUERRERO      APDO. 1522                                                        MOCA        PR      00676
ALEXANDER ARCE NIEVES                   ADDRESS ON FILE
ALEXANDER ARRIAGA SANCHEZ               ADDRESS ON FILE
ALEXANDER ARROYO FUENTES                ADDRESS ON FILE
ALEXANDER ASTACIO ROSARIO               ADDRESS ON FILE
ALEXANDER AUGUSTU MARTINEZ              ADDRESS ON FILE




                                                                                            Page 212 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 213 of 3500
                                                                                            Creditor Matrix

Creditor Name                       Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
ALEXANDER AVILES RIVERA             ADDRESS ON FILE
ALEXANDER AYALA SANTIAGO            ADDRESS ON FILE
ALEXANDER BAEZ                      ADDRESS ON FILE
ALEXANDER BALLESTER PEREZ           ADDRESS ON FILE
ALEXANDER BARRETTI CASIANO          ADDRESS ON FILE
ALEXANDER BARRETTI CASIANO          ADDRESS ON FILE
ALEXANDER BELTRAN SANTIAGO          ADDRESS ON FILE
ALEXANDER BERDEJO RAMIREZ           ADDRESS ON FILE
ALEXANDER BERGOLLO CARABALLO        ADDRESS ON FILE
ALEXANDER BERMUDES MARTIN           ADDRESS ON FILE
ALEXANDER BONES BLAS                ADDRESS ON FILE
ALEXANDER BONILLA DELGADO           ADDRESS ON FILE
ALEXANDER BRIGANTTY VAZQUEZ         ADDRESS ON FILE
ALEXANDER C MUNIZ GUZMAN            ADDRESS ON FILE
ALEXANDER CABAN SANTIAGO            ADDRESS ON FILE
ALEXANDER CALDERAS DEL RIO          ADDRESS ON FILE
ALEXANDER CARABALLO QUINONES        ADDRESS ON FILE
ALEXANDER CHARRIEZ VELEZ            ADDRESS ON FILE
ALEXANDER CINTRON FIGUEROA          ADDRESS ON FILE
ALEXANDER CINTRON FIGUEROA          ADDRESS ON FILE
ALEXANDER CINTRON MARRERO           ADDRESS ON FILE
ALEXANDER COLON COLON               ADDRESS ON FILE
ALEXANDER COLON NARVAEZ             ADDRESS ON FILE
ALEXANDER COLON ROLON               ADDRESS ON FILE
ALEXANDER CRUZ BENITEZ              ADDRESS ON FILE
ALEXANDER CRUZ LLANOS               ADDRESS ON FILE
ALEXANDER DAMIAN DE LEON FIGUEROA   ADDRESS ON FILE
ALEXANDER DE JESUS FLORES           ADDRESS ON FILE
ALEXANDER DE JESUS TORRES           ADDRESS ON FILE
ALEXANDER DELGADO DEL VALLE         ADDRESS ON FILE
ALEXANDER DELIVERY SERVICE          ADDRESS ON FILE
ALEXANDER DELIVERY SERVICE, INC     PO BOX 190378                                                                              SAN JUAN     PR      00919
ALEXANDER DIAZ COLON                ADDRESS ON FILE
ALEXANDER DIAZ COLON                ADDRESS ON FILE
ALEXANDER E BENITEZ RODRIGUEZ       ADDRESS ON FILE
ALEXANDER E RIVERA                  ADDRESS ON FILE
ALEXANDER ELI WOODS TRUST           URB GARDEN HLS            HA5 CALLE PASEO DEL PARQUE                                       GLADWYNE     PA      19035
ALEXANDER FELIX RODRIGUEZ           ADDRESS ON FILE
ALEXANDER FIGUEROA CRUZ             ADDRESS ON FILE
ALEXANDER FIGUEROA MATOS            ADDRESS ON FILE
ALEXANDER FIGUEROA MATOS            ADDRESS ON FILE
ALEXANDER FIGUEROA PAGAN            ADDRESS ON FILE
ALEXANDER FIGUEROA ROBLES           ADDRESS ON FILE
ALEXANDER FLECHA SANCHEZ            ADDRESS ON FILE
ALEXANDER FLORES OCASIO             ADDRESS ON FILE
ALEXANDER FORTUNO SERRANO           ADDRESS ON FILE
ALEXANDER FUENTES                   ADDRESS ON FILE
ALEXANDER GARCIA CORE               ADDRESS ON FILE
ALEXANDER GARCIA ENRIQUEZ           ADDRESS ON FILE
ALEXANDER GARCIA GONZALEZ           ADDRESS ON FILE
ALEXANDER GARCIA IRIZARRY           ADDRESS ON FILE
ALEXANDER GARCIA QUINONEZ           ADDRESS ON FILE
ALEXANDER GAYA VELAZQUE             ADDRESS ON FILE
ALEXANDER GAYA VELAZQUE             ADDRESS ON FILE
ALEXANDER GOMEZ MELO                ADDRESS ON FILE
ALEXANDER GONZALEZ CRUZ             ADDRESS ON FILE
ALEXANDER GONZALEZ FEBO             ADDRESS ON FILE
ALEXANDER GONZALEZ NIEVES           ADDRESS ON FILE
ALEXANDER GONZALEZ TORRES           ADDRESS ON FILE
ALEXANDER GUTIERREZ OJEDA           ADDRESS ON FILE




                                                                                           Page 213 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 214 of 3500
                                                                                     Creditor Matrix

Creditor Name                       Address1                        Address2                      Address3   Address4   City          State   PostalCode   Country
ALEXANDER GUTIERREZ OJEDA           ADDRESS ON FILE
ALEXANDER GUZMAN VAZQUEZ            ADDRESS ON FILE
ALEXANDER HERNANDEZ VEGA            ADDRESS ON FILE
ALEXANDER J CENTENO BENGOCHEA       ADDRESS ON FILE
ALEXANDER J FIGUEROA GARCIA         ADDRESS ON FILE
ALEXANDER J FLORES                  ADDRESS ON FILE
ALEXANDER JAMES, YULAN              ADDRESS ON FILE
ALEXANDER KUHLMANN GODREAU          ADDRESS ON FILE
ALEXANDER LEYVA ORTIZ               ADDRESS ON FILE
ALEXANDER LLOMPART FILARDI          ADDRESS ON FILE
ALEXANDER LOPEZ ALMA                ADDRESS ON FILE
ALEXANDER LOPEZ COLLADO             ADDRESS ON FILE
ALEXANDER LOPEZ GARCIA              ADDRESS ON FILE
ALEXANDER LOPEZ GARCIA              ADDRESS ON FILE
ALEXANDER LOPEZ NIEVES              ADDRESS ON FILE
ALEXANDER LUCIANO VARGAS            ADDRESS ON FILE
ALEXANDER LUGO SOTO                 ADDRESS ON FILE
ALEXANDER LUGO VALDIVIESO           ADDRESS ON FILE
ALEXANDER LUGO VIERA                ADDRESS ON FILE
ALEXANDER M ALVAREZ DE JESUS        ADDRESS ON FILE
ALEXANDER M FIGUEROA COLON          ADDRESS ON FILE
ALEXANDER M HERNANDEZ GUZMAN        ADDRESS ON FILE
ALEXANDER M SOTO BETANCOURT         ADDRESS ON FILE
ALEXANDER MALDONADO ACOSTA          ADDRESS ON FILE
ALEXANDER MALDONADO CORTES          ADDRESS ON FILE
ALEXANDER MALDONADO GONZALEZ        ADDRESS ON FILE
ALEXANDER MALDONADO MARTÍNEZ        JAVIER JIMÉNEZ VÁZQUEZ          PO BOX 520                                          MERCEDITA     PR      00715‐520
ALEXANDER MANUEL BERRIOS DE JESUS   ADDRESS ON FILE
ALEXANDER MARRERO GUERRIOS          ADDRESS ON FILE
ALEXANDER MARRERO OCASIO            ADDRESS ON FILE
ALEXANDER MARTINEZ FIGUEROA         ADDRESS ON FILE
ALEXANDER MARTINEZ GARCIA           ADDRESS ON FILE
ALEXANDER MARTINEZ LOPEZ            ADDRESS ON FILE
ALEXANDER MARTINEZ MARTINEZ         ADDRESS ON FILE
ALEXANDER MARTINEZ ORTIZ            ADDRESS ON FILE
ALEXANDER MARTINEZ SANTOS           ADDRESS ON FILE
ALEXANDER MARTINEZ Y ANA MORALES    ADDRESS ON FILE
ALEXANDER MARTY VARGAS              ADDRESS ON FILE
ALEXANDER MATA BERDECIA             ADDRESS ON FILE
ALEXANDER MD , MATTHEW W            ADDRESS ON FILE
ALEXANDER MEDINA CHAVEZ             ADDRESS ON FILE
ALEXANDER MEDINA MELENDEZ           ADDRESS ON FILE
ALEXANDER MEDINA MORALES            ADDRESS ON FILE
ALEXANDER MEDINA QUEZADA            ADDRESS ON FILE
ALEXANDER MEDINA RIVERA             ADDRESS ON FILE
ALEXANDER MENDEZ PEREZ              ADDRESS ON FILE
ALEXANDER MENDEZ RODRIGUEZ          ADDRESS ON FILE
ALEXANDER MIRANDA MARTINEZ          ADDRESS ON FILE
ALEXANDER MOJICA DÍAZ               LCDA. MARILYN COLON RODRÍGUEZ   APARTADO 1464                                       GUAYAMA       PR      00785
ALEXANDER MONTANEZ FIGUEROA         ADDRESS ON FILE
ALEXANDER MONTERO CABALLERO         LCDO. JOSÉ OSVALDO COTTO LUNA   APARTADO 2234                                       Cayey,        PR      00737
ALEXANDER MORALES CORREA            ADDRESS ON FILE
ALEXANDER MORALES ROMAN             ADDRESS ON FILE
ALEXANDER MUNIZ RUIZ                ADDRESS ON FILE
ALEXANDER MUNOZ BERDIEL             ADDRESS ON FILE
ALEXANDER MUNOZ RIVERA              ADDRESS ON FILE
ALEXANDER NEGRON CRUZ               ADDRESS ON FILE
ALEXANDER NIEVES LASSUS             ADDRESS ON FILE
ALEXANDER O GONZALEZ                ADDRESS ON FILE
ALEXANDER O MEJIA SUERO             ADDRESS ON FILE




                                                                                    Page 214 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 215 of 3500
                                                                                         Creditor Matrix

Creditor Name                     Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
ALEXANDER O MORALES GONZALEZ      ADDRESS ON FILE
ALEXANDER OCASIO TORRES           ADDRESS ON FILE
ALEXANDER ORTIZ RIOS              ADDRESS ON FILE
ALEXANDER ORTIZ ROBLES            ADDRESS ON FILE
ALEXANDER ORTIZ RODRIGUEZ         ADDRESS ON FILE
ALEXANDER PAGAN TORRES            ADDRESS ON FILE
ALEXANDER PERALTA RIVERA          ADDRESS ON FILE
ALEXANDER PEREIRA VINAS           ADDRESS ON FILE
ALEXANDER PEREZ CACERES           ADDRESS ON FILE
ALEXANDER PEREZ LOZADA            ADDRESS ON FILE
ALEXANDER PEREZ MARTI             ADDRESS ON FILE
ALEXANDER PIZARO RIVERA           ADDRESS ON FILE
ALEXANDER QUEVEDO PAGAN           ADDRESS ON FILE
ALEXANDER QUINONES MORALES        ADDRESS ON FILE
ALEXANDER QUINONES RUIZ           ADDRESS ON FILE
ALEXANDER RAMIREZ                 ADDRESS ON FILE
ALEXANDER RAMIREZ BENITEZ         ADDRESS ON FILE
ALEXANDER RAMOS MARTINEZ          ADDRESS ON FILE
ALEXANDER RAMOS RIVERA            ADDRESS ON FILE
ALEXANDER REYES DIAZ              ADDRESS ON FILE
ALEXANDER REYNOSO VAZQUEZ         ADDRESS ON FILE
ALEXANDER RIOS PEREZ              ADDRESS ON FILE
ALEXANDER RIVERA CUEVAS           ADDRESS ON FILE
ALEXANDER RIVERA FIGUEROA         ADDRESS ON FILE
ALEXANDER RIVERA GUADALUPE        ADDRESS ON FILE
ALEXANDER RIVERA MALDONADO        ADDRESS ON FILE
ALEXANDER RIVERA MATIAS           ADDRESS ON FILE
ALEXANDER RIVERA RIVERA           ADDRESS ON FILE
ALEXANDER RIVERA RIVERA           ADDRESS ON FILE
ALEXANDER RODRIGUEZ COLON         ADDRESS ON FILE
ALEXANDER RODRIGUEZ LOPEZ         ADDRESS ON FILE
ALEXANDER RODRIGUEZ MADERA        LAVINIA APARICIO LÓPEZ    CONDOMINIO LOS CEDROS 1687 AMARILLO ST. SUITE 6202              SAN JUAN     PR      00926
ALEXANDER RODRIGUEZ QUINONES      ADDRESS ON FILE
ALEXANDER RODRIGUEZ SANCHEZ       ADDRESS ON FILE
ALEXANDER RODRIGUEZ SOTO          ADDRESS ON FILE
ALEXANDER RODRIGUEZ TORRES        ADDRESS ON FILE
ALEXANDER RODRIGUEZ/LEIZA RODZ/   ADDRESS ON FILE
ALEXANDER ROMAN RIVERA            ADDRESS ON FILE
ALEXANDER ROSA                    ADDRESS ON FILE
ALEXANDER ROSADO LOPEZ            ADDRESS ON FILE
ALEXANDER ROSADO ORENGO           ADDRESS ON FILE
ALEXANDER RUBERT VAZQUEZ          ADDRESS ON FILE
ALEXANDER RUIZ SUAREZ             ADDRESS ON FILE
ALEXANDER S ADAMS VEGA            ADDRESS ON FILE
ALEXANDER S ADAMS VEGA            ADDRESS ON FILE
ALEXANDER SABATER VIROLA          ADDRESS ON FILE
ALEXANDER SALCEDO QUINONES        ADDRESS ON FILE
ALEXANDER SANCHEZ CARRION         ADDRESS ON FILE
ALEXANDER SANCHEZ DIAZ            ADDRESS ON FILE
ALEXANDER SANCHEZ SEPULVEDA       ADDRESS ON FILE
ALEXANDER SANTANA MARTINEZ        ADDRESS ON FILE
ALEXANDER SANTIAGO ANDUJAR        ADDRESS ON FILE
ALEXANDER SANTIAGO CORA           ADDRESS ON FILE
Alexander Santiago Martinez       ADDRESS ON FILE
ALEXANDER SANTIAGO MATOS          LCDO. ATHOS VEGA, JR.     1369 CALLE SALUD STE. 104                                       Ponce        PR      00717‐2014
ALEXANDER SERRANO FRANQUI         ADDRESS ON FILE
ALEXANDER SUAREZ LEBRON           ADDRESS ON FILE
ALEXANDER TORRES NUNEZ            ADDRESS ON FILE
ALEXANDER TORRES SANTIAGO         ADDRESS ON FILE
ALEXANDER TORRES VIERA            ADDRESS ON FILE




                                                                                        Page 215 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 216 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALEXANDER VAZQUEZ ALVERIO        ADDRESS ON FILE
ALEXANDER VAZQUEZ DE JESUS       ADDRESS ON FILE
ALEXANDER VEGA GARCIA            ADDRESS ON FILE
ALEXANDER VEGA RIVERA            ADDRESS ON FILE
ALEXANDER VEGA SEPULVEDA         ADDRESS ON FILE
ALEXANDER VELAZQUEZ DEL VALLE    ADDRESS ON FILE
ALEXANDER VELEZ BURGOS           ADDRESS ON FILE
ALEXANDER VELEZ RAMOS            ADDRESS ON FILE
ALEXANDER VILLODAS PABELON       ADDRESS ON FILE
ALEXANDRA A RASHWAN CRUZ         ADDRESS ON FILE
ALEXANDRA ACOSTA DE JESUS        ADDRESS ON FILE
ALEXANDRA ACOSTA TORO            ADDRESS ON FILE
ALEXANDRA ARZUAGA CASTILLO       ADDRESS ON FILE
ALEXANDRA AYALA CRUZ             ADDRESS ON FILE
ALEXANDRA B LOPEZ RIVERA         ADDRESS ON FILE
ALEXANDRA BAEZ CRUZ              ADDRESS ON FILE
ALEXANDRA BELEN AYALA            ADDRESS ON FILE
ALEXANDRA BERRIOS GONZALEZ       ADDRESS ON FILE
ALEXANDRA BURGOS TORRES A/C      ADDRESS ON FILE
ALEXANDRA C BREBAN LOPEZ         ADDRESS ON FILE
ALEXANDRA C FLORES HERNANDEZ     ADDRESS ON FILE
ALEXANDRA CABAN                  ADDRESS ON FILE
ALEXANDRA CAMPOS MARTIN          ADDRESS ON FILE
ALEXANDRA CAMPOS MARTIN          ADDRESS ON FILE
ALEXANDRA CARDONA PINEIRO        ADDRESS ON FILE
ALEXANDRA CARMONA GARCIA         ADDRESS ON FILE
ALEXANDRA CASTILLO SANTONI       ADDRESS ON FILE
ALEXANDRA CASTRO ROLDAN          ADDRESS ON FILE
ALEXANDRA CEDENO VIERA           ADDRESS ON FILE
ALEXANDRA CEDENO VIERA           ADDRESS ON FILE
ALEXANDRA COLON RIVERA           ADDRESS ON FILE
ALEXANDRA CORREA ROSADO          ADDRESS ON FILE
ALEXANDRA COTTO FERNANDEZ        ADDRESS ON FILE
ALEXANDRA CRUZ SANTIAGO          ADDRESS ON FILE
ALEXANDRA D ROMAN VELEZ          ADDRESS ON FILE
ALEXANDRA DE JESUS               ADDRESS ON FILE
ALEXANDRA DE MAR FIGUEROA CRUZ   ADDRESS ON FILE
ALEXANDRA DIAZ O NEILL           ADDRESS ON FILE
ALEXANDRA DOMINICCI CASTILLO     ADDRESS ON FILE
ALEXANDRA DONES CUEVAS           ADDRESS ON FILE
ALEXANDRA E FIGARO GREEN         ADDRESS ON FILE
ALEXANDRA E TORRES OCASIO        ADDRESS ON FILE
ALEXANDRA E. MOLINA MARTINEZ     ADDRESS ON FILE
ALEXANDRA E. MOLINA MARTINEZ     ADDRESS ON FILE
ALEXANDRA ENID RIVERA GAUTIER    ADDRESS ON FILE
ALEXANDRA ESQUILIN RODRIGUEZ     ADDRESS ON FILE
ALEXANDRA F SOTO SEIJO           ADDRESS ON FILE
ALEXANDRA FAJARDO TORO           ADDRESS ON FILE
ALEXANDRA FAJARDO TORO           ADDRESS ON FILE
ALEXANDRA FERNANDEZ NAVARRO      ADDRESS ON FILE
ALEXANDRA FONSECA HERNANDEZ      ADDRESS ON FILE
ALEXANDRA FUENTES ESTRADA        ADDRESS ON FILE
ALEXANDRA FUENTES ESTRADA        ADDRESS ON FILE
ALEXANDRA G RIVERA PAGAN         ADDRESS ON FILE
ALEXANDRA G RIVERA SAEZ          ADDRESS ON FILE
ALEXANDRA GIL CASADO             ADDRESS ON FILE
ALEXANDRA GONZALEZ CARABALLO     ADDRESS ON FILE
ALEXANDRA GONZALEZ FLORES        ADDRESS ON FILE
ALEXANDRA GONZALEZ VELEZ         ADDRESS ON FILE
ALEXANDRA GREGORY CRESPO         ADDRESS ON FILE




                                                                             Page 216 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 217 of 3500
                                                                                                    Creditor Matrix

Creditor Name                          Address1                         Address2                                 Address3     Address4   City         State   PostalCode   Country
ALEXANDRA I ROMAN CRESPO               ADDRESS ON FILE
ALEXANDRA I ZAYAS FERMAINT             ADDRESS ON FILE
ALEXANDRA JIMENEZ AVILES               ADDRESS ON FILE
ALEXANDRA K GOTAY RODRIGUEZ            ADDRESS ON FILE
ALEXANDRA LUGO DE GRACIA               ADDRESS ON FILE
ALEXANDRA M CRUZ TORRES                ADDRESS ON FILE
ALEXANDRA M DIAZ FALCON                ADDRESS ON FILE
ALEXANDRA M IGLESIAS BARBOSA           ADDRESS ON FILE
ALEXANDRA M MARTINEZ ACEVEDO           ADDRESS ON FILE
ALEXANDRA M MOJICA AGUILAR             ADDRESS ON FILE
ALEXANDRA M MONTALVO VEGA              ADDRESS ON FILE
ALEXANDRA M OLIVO GERENA               ADDRESS ON FILE
ALEXANDRA M ORTIZ ORAMAS               ADDRESS ON FILE
ALEXANDRA M PAGAN BURGOS DBA SING      PO BOX 765                                                                                        COMERIO      PR      00782‐0765
ALEXANDRA M RAMOS FIGUEROA             ADDRESS ON FILE
ALEXANDRA M RIVERA TORRES              ADDRESS ON FILE
ALEXANDRA M RODRIGUEZ ALVAREZ          ADDRESS ON FILE
ALEXANDRA M RODRIGUEZ ESPINOZA         ADDRESS ON FILE
ALEXANDRA M SERRANO BONILLA            ADDRESS ON FILE
ALEXANDRA M VALENTIN RIVERA            ADDRESS ON FILE
ALEXANDRA M VAZQUEZ GONZALEZ           ADDRESS ON FILE
ALEXANDRA M. CALDERON VELEZ            ADDRESS ON FILE
ALEXANDRA M. ROQUE SALDANA             ADDRESS ON FILE
ALEXANDRA M. SANTIAGO MENDEZ           ADDRESS ON FILE
ALEXANDRA MALDONADO AYBAR              ADDRESS ON FILE
ALEXANDRA MARIN RIVERA                 LCDO. JUAN E. SERRANO SANTIAGO   PO BOX 70199                                                     SAN JUAN     PR      00936‐8190
ALEXANDRA MARRERO LARA                 ADDRESS ON FILE
ALEXANDRA MARTINEZ ORTIZ               ADDRESS ON FILE
ALEXANDRA MERCADO CORREA               ADDRESS ON FILE
ALEXANDRA MOYA VALENTIN                ADDRESS ON FILE
ALEXANDRA MUNET GINORIO                ADDRESS ON FILE
ALEXANDRA N COLON MULLER               ADDRESS ON FILE
ALEXANDRA N MERCADO BAEZ               ADDRESS ON FILE
ALEXANDRA N TORRES / MYRNA A MIRANDA   ADDRESS ON FILE
ALEXANDRA N VELAZQUEZ LUGO             ADDRESS ON FILE
ALEXANDRA N VELAZQUEZ LUGO             ADDRESS ON FILE
ALEXANDRA OLIVERAS SANTOS              ADDRESS ON FILE
ALEXANDRA ORTIZ                        ADDRESS ON FILE
ALEXANDRA P RAMIREZ CORREA             ADDRESS ON FILE
ALEXANDRA PAGAN SANTOS                 ADDRESS ON FILE
ALEXANDRA PENA SANCHEZ                 ADDRESS ON FILE
ALEXANDRA PEREZ DUMENG                 ADDRESS ON FILE
ALEXANDRA PEREZ LEON                   ADDRESS ON FILE
ALEXANDRA PEREZ ROSARIO                ADDRESS ON FILE
ALEXANDRA PEREZ ROSARIO                ADDRESS ON FILE
ALEXANDRA PINILLOS LEGUIZAMON          ADDRESS ON FILE
ALEXANDRA R PEREZ LOPEZ                ADDRESS ON FILE
ALEXANDRA RAMIREZ MENDEZ               ADDRESS ON FILE
ALEXANDRA REYES RAMOS                  ADDRESS ON FILE
ALEXANDRA REYES RIVERA                 ADDRESS ON FILE
ALEXANDRA RIVERA BERMUDEZ              LCDA JESSICA MENDEZ COLBERG      LCDA MENDEZ‐URB CONSTANCIA 2803 CALLE SAN FRANCISCO              Ponce        PR      00717
ALEXANDRA RIVERA BERMUDEZ              LCDA MARINES COLLADO QUINONES    LCDA COLLADO‐PO BOX 330951                                       Ponce        PR      00733‐0951
ALEXANDRA RIVERA PANTOJAS              ADDRESS ON FILE
ALEXANDRA RIVERA RIOS                  ADDRESS ON FILE
ALEXANDRA RIVERA RIVERA                ADDRESS ON FILE
ALEXANDRA RIVERA SANTIAGO              ADDRESS ON FILE
ALEXANDRA RODRIGUEZ SANTANA            ADDRESS ON FILE
ALEXANDRA ROJAS DE MORALES             ADDRESS ON FILE
ALEXANDRA ROSARIO MORELL               ADDRESS ON FILE
ALEXANDRA ROSARIO MORELL               ADDRESS ON FILE




                                                                                                   Page 217 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 218 of 3500
                                                                                                             Creditor Matrix

Creditor Name                            Address1                              Address2                                    Address3   Address4   City          State   PostalCode   Country
ALEXANDRA RUIZ FIGUEROA                  ADDRESS ON FILE
ALEXANDRA RUIZ RIVERA                    ADDRESS ON FILE
ALEXANDRA RUIZ RODRIGUEZ                 LCDO. CARLOS J. RODRÍGUEZ FERNÁNDEZ   PO BOX 2744                                                       GUAYAMA       PR      00785
ALEXANDRA SALABERRIOS CASTRO             ADDRESS ON FILE
ALEXANDRA SANCHEZ MERCADO                ADDRESS ON FILE
ALEXANDRA SANCHEZ SOTO                   ADDRESS ON FILE
ALEXANDRA SANTANA MARIN                  ADDRESS ON FILE
ALEXANDRA SANTIAGO OQUENDO               ADDRESS ON FILE
ALEXANDRA SANTIAGO OQUENDO               ADDRESS ON FILE
ALEXANDRA SERRACANTE CADILLA             ADDRESS ON FILE
ALEXANDRA SERRACANTE CADILLA             ADDRESS ON FILE
ALEXANDRA SERRACANTE CADILLA             ADDRESS ON FILE
ALEXANDRA SOTO GONZALEZ                  ADDRESS ON FILE
ALEXANDRA SUAZO                          ADDRESS ON FILE
ALEXANDRA TORRES CINTRON                 ADDRESS ON FILE
ALEXANDRA VARGAS MARTINEZ                ADDRESS ON FILE
ALEXANDRA VEGA                           ADDRESS ON FILE
ALEXANDRA VELAZQUEZ DELGADO              ADDRESS ON FILE
ALEXANDRA Y BIRD LOPEZ                   ADDRESS ON FILE
ALEXANDRA Y LOPEZ CRUZ                   ADDRESS ON FILE
ALEXANDRA ZAYAS SANTIAGO                 ADDRESS ON FILE
ALEXANDRE SANTOS, BERNARD                ADDRESS ON FILE
ALEXANDRE SANTOS, BERWOOD                ADDRESS ON FILE
ALEXANDRIA COSME DE FIGUEROA             ADDRESS ON FILE
ALEXANDRINO COLON, JACQUELINE            ADDRESS ON FILE
ALEXANDRINO DE JESUS, JOSE J.            ADDRESS ON FILE
ALEXANDRINO MENDEZ, AMERICA              ADDRESS ON FILE
ALEXANDRINO NOGUEIRA COSME               ADDRESS ON FILE
ALEXANDRINO ROSARIO, NERYSA              ADDRESS ON FILE
ALEXANDRINO VIDOT, GUILLERMO             ADDRESS ON FILE
ALEXANDRO ACEVEDO TORRES                 ADDRESS ON FILE
ALEXANDRO L RODRIGUEZ                    ADDRESS ON FILE
ALEXANDRO LOPEZ LOPEZ                    ADDRESS ON FILE
ALEXANDRO MELENDEZ GEIGEL                ADDRESS ON FILE
ALEXANDRO MILETE MENDEZ                  ADDRESS ON FILE
ALEXANDRO RAMOS PRATTS                   ADDRESS ON FILE
ALEXANDRO RIVERA RIVERA                  ADDRESS ON FILE
ALEXANDRO ROMAN MILLET                   ADDRESS ON FILE
ALEXANDROS SOLTADIS SELINIDIS            ADDRESS ON FILE
ALEXAR POL RODRIGUEZ                     ADDRESS ON FILE
ALEXAVIER BARETTY ROSARIO                ADDRESS ON FILE
ALEXEI VAZQUEZ COTTE                     ADDRESS ON FILE
ALEXGSOLUTIONS INC                       PMB 044 HC 72 BOX3766                                                                                   NARANJITO     PR      00719
ALEXI GARCIA DBA PILOT SWIMMING POOL SER CONDOMINIO PASEO ESMERALDA            C 21 APTO 12‐201                                                  FAJARDO       PR      00738
ALEXI SANTIAGO RODRIGUEZ                 ADDRESS ON FILE
ALEXI SANTOS SANTIAGO                    ADDRESS ON FILE
ALEXI SANTOS SANTIAGO                    ADDRESS ON FILE
ALEXI X RUIZ CRESPO                      ADDRESS ON FILE
ALEXIAN J ROZAS ROMAN                    ADDRESS ON FILE
ALEXIE APONTE COLON                      ADDRESS ON FILE
ALEXIE DE JESUS NEGRON                   ADDRESS ON FILE
ALEXIE FELIX CALCANO                     ADDRESS ON FILE
ALEXIE J GARCIA ROMAN                    ADDRESS ON FILE
ALEXIE J GARCIA ROMAN                    ADDRESS ON FILE
ALEXIE M LUGO CANALES                    ADDRESS ON FILE
ALEXIE RIVERA ESQUILIN                   ADDRESS ON FILE
ALEXIS A BERMUDEZ CARRASQUILLO           ADDRESS ON FILE
ALEXIS A PADILLA CINTRON                 ADDRESS ON FILE
ALEXIS A RODRIGUEZ SERRANO               ADDRESS ON FILE
ALEXIS ACEVEDO LÓPEZ/UNIVERSAL INSURANCE LCDO. IVAN APONTE FIGUEROA            650 PLAZA SUITE 204 650 AVE. MUNOZ RIVERA                         SAN JUAN      PR      00918




                                                                                                            Page 218 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 219 of 3500
                                                                                                       Creditor Matrix

Creditor Name                            Address1                     Address2                                      Address3              Address4   City              State   PostalCode   Country
ALEXIS ACEVEDO LÓPEZ/UNIVERSAL INSURANCE LCDO. MICHAEL CORONA MUNOZ   110 CALLE BORINQUEN SUITE 4‐1                                                  TRUJILLO ALTO     PR      00976
ALEXIS ACEVEDO VERA                      ADDRESS ON FILE
ALEXIS AGUIRRE CINTRON                   ADDRESS ON FILE
ALEXIS ALICEA VELAZQUEZ                  ADDRESS ON FILE
ALEXIS ALOMAR MARTINEZ                   ADDRESS ON FILE
ALEXIS ALVARES RODRIGUEZ                 ADDRESS ON FILE
ALEXIS ALVAREZ LEBRON                    ADDRESS ON FILE
ALEXIS APONTE TIRADO                     ADDRESS ON FILE
ALEXIS ARES TORRES                       ADDRESS ON FILE
ALEXIS AROCHO COLON                      ADDRESS ON FILE
ALEXIS ARROYO MARTINEZ                   ADDRESS ON FILE
ALEXIS ARROYO NEGRON                     ADDRESS ON FILE
ALEXIS ARROYO RIOS                       ADDRESS ON FILE
ALEXIS AYALA TANON                       ADDRESS ON FILE
ALEXIS BAEZ MORENO                       ADDRESS ON FILE
ALEXIS BARRETO PABON                     ADDRESS ON FILE
ALEXIS BULA CORREA                       ADDRESS ON FILE
ALEXIS CABELLO RAMOS                     ADDRESS ON FILE
ALEXIS CALDERA REYES                     ADDRESS ON FILE
ALEXIS CALDERON ESQUILIN                 ADDRESS ON FILE
ALEXIS CANDELARIO FIGUEROA               ADDRESS ON FILE
ALEXIS CANDELARIO FIGUEROA               ADDRESS ON FILE
                                                                                                                    FIRST FEDERAL BLDG.
ALEXIS CARABALLO RIVERA                FRANCISCO J. GONZÁLEZ MAGAZ    1519 Ponce DE LEÓN AVE.                       SUITE 805                        SAN JUAN          PR      00909
ALEXIS CARABALLO SEGARRA               ADDRESS ON FILE
ALEXIS CARDONA GONZALEZ                ADDRESS ON FILE
ALEXIS CARDONA LOPEZ                   ADDRESS ON FILE
ALEXIS CARDONA VALENTIN                ADDRESS ON FILE
ALEXIS CARMENATTY IRIZARRY             ADDRESS ON FILE
ALEXIS CARRASQUILLO FLORES             ADDRESS ON FILE
ALEXIS CEDENO ROMERO                   ADDRESS ON FILE
ALEXIS CHAMORRO ROCHE                  ADDRESS ON FILE
ALEXIS CINTRON MALDONADO               ADDRESS ON FILE
ALEXIS COLLAZO VIRUET                  ADDRESS ON FILE
ALEXIS COLON ANGUEIRA                  ADDRESS ON FILE
ALEXIS COLON BEY                       ADDRESS ON FILE
ALEXIS COLON CRUZ                      ADDRESS ON FILE
ALEXIS COLON FIGUEROA                  ADDRESS ON FILE
ALEXIS COLON GARCIA                    ADDRESS ON FILE
ALEXIS CORALIR GOMEZ                   ADDRESS ON FILE
ALEXIS CORREA RODRIGUEZ                ADDRESS ON FILE
ALEXIS COTTO ALCAZAR                   ADDRESS ON FILE
ALEXIS CRESPO NAZARIO                  ADDRESS ON FILE
ALEXIS CRUZ GALARZA                    ADDRESS ON FILE
ALEXIS CRUZ RIVERA                     ADDRESS ON FILE
ALEXIS CRUZ SANTIAGO                   ADDRESS ON FILE
ALEXIS CRUZ SEPULVEDA                  ADDRESS ON FILE
ALEXIS DE JESUS CARMONA                ADDRESS ON FILE
ALEXIS DECAMPS SOTO                    ADDRESS ON FILE
ALEXIS DELGADO RODRIGUEZ               ADDRESS ON FILE
ALEXIS DIAZ MARTINEZ                   ADDRESS ON FILE
ALEXIS DIAZ PANTOJA                    ADDRESS ON FILE
ALEXIS E AGOSTINI HERNANDEZ            ADDRESS ON FILE
ALEXIS E ALFALLA ALVAREZ               ADDRESS ON FILE
ALEXIS E ALFALLA ALVAREZ               ADDRESS ON FILE
ALEXIS E CATALA MALDONADO              ADDRESS ON FILE
ALEXIS E HERNANDEZ ARCE                ADDRESS ON FILE
ALEXIS E REYES VAZQUEZ                 ADDRESS ON FILE
ALEXIS E. JUARBE LOPEZ                 ADDRESS ON FILE
ALEXIS EMMANUELLI FIGUEROA             ADDRESS ON FILE




                                                                                                      Page 219 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 220 of 3500
                                                                                                      Creditor Matrix

Creditor Name                    Address1                                 Address2                                 Address3          Address4                City        State   PostalCode   Country
ALEXIS F DE LEON GONZALEZ        ADDRESS ON FILE
ALEXIS FELICIANO                 ADDRESS ON FILE
ALEXIS FELICIANO GONZALEZ        ADDRESS ON FILE
ALEXIS FELICIANO RODRIGUEZ       ADDRESS ON FILE
ALEXIS FERNANDEZ RODRIGUEZ       ADDRESS ON FILE
ALEXIS FLORES QUINONES           ADDRESS ON FILE
ALEXIS FRANCISCO BURGOS DAVILA   ADDRESS ON FILE
ALEXIS FUENTES RANERO            ADDRESS ON FILE
ALEXIS G. FIGUEROA ORTIZ         LCDO. PABLO LUGO LEBRON                  REPARTO MENDOZA A‐1 PO BOX 8051                                                    HUMACAO     PR      00792
ALEXIS GABRIEL ACEVEDO NIEVES    ADDRESS ON FILE
ALEXIS GALARZA HERNANDEZ         ADDRESS ON FILE
ALEXIS GARCIA                    ADDRESS ON FILE
ALEXIS GARCÍA SOTO               ADDRESS ON FILE
ALEXIS GARCÍA SOTO               ADDRESS ON FILE
ALEXIS GONZALEZ ALVAREZ          ADDRESS ON FILE
ALEXIS GONZALEZ MEDINA           ADDRESS ON FILE
ALEXIS GONZALEZ ORTIZ            ADDRESS ON FILE
ALEXIS GUZMAN TORRES             ADDRESS ON FILE
ALEXIS HERNANDEZ CASTRO          ADDRESS ON FILE
ALEXIS HERNANDEZ CRUZ            ADDRESS ON FILE
ALEXIS HERNANDEZ ORTIZ           ADDRESS ON FILE
ALEXIS HERNANDEZ VAZQUEZ         ADDRESS ON FILE
ALEXIS HERRERA RUIZ              ADDRESS ON FILE
ALEXIS IGDALIAS CAJIGAS DAVILA   ADDRESS ON FILE
ALEXIS J ACEVEDO ROMAN           ADDRESS ON FILE
ALEXIS J ALFARO GONZALEZ         ADDRESS ON FILE
ALEXIS J ANGUEIRA ABREU          ADDRESS ON FILE
ALEXIS J BERNARDI ORTIZ          ADDRESS ON FILE
ALEXIS J CASTILLO RIVERA         ADDRESS ON FILE
ALEXIS J COLON DE JESUS          ADDRESS ON FILE
ALEXIS J COLON FLORES            ADDRESS ON FILE
ALEXIS J COLON GARCIAS           ADDRESS ON FILE
ALEXIS J DIAZ LOPEZ              ADDRESS ON FILE
ALEXIS J DIAZ PACHECO            ADDRESS ON FILE
ALEXIS J MALDONADO FERNANDO      ADDRESS ON FILE
ALEXIS J MEDINA DIAZ             ADDRESS ON FILE
ALEXIS J MIRANDA RAMIREZ         ADDRESS ON FILE
ALEXIS J OTERO DIAZ              ADDRESS ON FILE
ALEXIS J RIVERA ALICEA           ADDRESS ON FILE
ALEXIS J SANTIAGO DIAZ           ADDRESS ON FILE
ALEXIS J SERRANO COTTO           ADDRESS ON FILE
ALEXIS J VALDES PEREZ            ADDRESS ON FILE
                                                                                                                                     PRINCIPAL FASE III PO
ALEXIS J. MARQUEZ SANTIAGO       ALEXIS J. MARQUEZ SANTIAGO (CONFINADO)   INST.                                    Ponce             BOX 7285                Ponce       PR      00732
ALEXIS J. SERRANO COTTO          ADDRESS ON FILE
ALEXIS J. VELAZQUEZ GUADALUPE    ADDRESS ON FILE
ALEXIS JAEN AYALA                ADDRESS ON FILE
ALEXIS JAVIER MATOS              ADDRESS ON FILE
                                                                                                                   Ponce 500 MOD‐E
ALEXIS JIMÉNEZ                   ALEXIS JIMENEZ (CONFINADO)               FACILIDAD MÉDICA DE                      CELDA 204         PO BOX 9008             Ponce       PR      00732
ALEXIS JIMENEZ PEREZ             ADDRESS ON FILE
ALEXIS JOEL GARCIA MOLINA        ADDRESS ON FILE
ALEXIS JOEL OLMEDO AGOSTO        ADDRESS ON FILE
ALEXIS JUSINO RODRIGUEZ          ADDRESS ON FILE
ALEXIS L MARQUEZ GRACIANI        ADDRESS ON FILE
ALEXIS L. PAREDES GUTIERREZ      ADDRESS ON FILE
ALEXIS LARRACUENTE SEDA          ADDRESS ON FILE
ALEXIS LOPEZ CUEVAS              ADDRESS ON FILE
ALEXIS LOPEZ PEREZ               ADDRESS ON FILE
ALEXIS LOPEZ SANTIAGO            ADDRESS ON FILE




                                                                                                     Page 220 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 221 of 3500
                                                                                   Creditor Matrix

Creditor Name                     Address1                       Address2                       Address3   Address4   City         State   PostalCode   Country
ALEXIS LOPEZ TORRES               ADDRESS ON FILE
ALEXIS LOPEZ TORRES               ADDRESS ON FILE
ALEXIS LUCENA ZABALA              ADDRESS ON FILE
ALEXIS LUGO NIEVES                ADDRESS ON FILE
ALEXIS LUGO RAMOS                 ADDRESS ON FILE
ALEXIS M APONTE GARCIA            ADDRESS ON FILE
ALEXIS M CACERES PANTOJAS         ADDRESS ON FILE
ALEXIS M ECHEVARRIA VARGAS        ADDRESS ON FILE
ALEXIS M ECHEVARRIA VARGAS        ADDRESS ON FILE
ALEXIS M ECHEVARRIA VARGAS        ADDRESS ON FILE
ALEXIS M NEGRON TORRES            ADDRESS ON FILE
ALEXIS M RIOS DAVILA              ADDRESS ON FILE
ALEXIS M. RIVERA RODRIGUEZ        ADDRESS ON FILE
ALEXIS MARTINEZ CAMACHO           ADDRESS ON FILE
ALEXIS MEDINA MORALES             ADDRESS ON FILE
ALEXIS MENDEZ RODRIGUEZ           ADDRESS ON FILE
ALEXIS MERCADO LOPEZ              ADDRESS ON FILE
Alexis Mercado López              ADDRESS ON FILE
ALEXIS MORALES CRUZ               ADDRESS ON FILE
ALEXIS MORALES FRESSE             ADDRESS ON FILE
ALEXIS NEGRON AGOSTO              ADDRESS ON FILE
ALEXIS NEGRON FLORES              ADDRESS ON FILE
ALEXIS NEGRON SANCHEZ             ADDRESS ON FILE
ALEXIS O LOPEZ PABON              ADDRESS ON FILE
ALEXIS O QUINONES ORTIZ           ADDRESS ON FILE
ALEXIS O RAMOS MONTANEZ           ADDRESS ON FILE
ALEXIS O SANTIAGO RIVERA          ADDRESS ON FILE
ALEXIS OLMO RODRIGUEZ             ADDRESS ON FILE
ALEXIS OMAR QUINTANA RODRIGUEZ    ADDRESS ON FILE
ALEXIS ONEIL RODRIGUEZ SANTIAGO   ADDRESS ON FILE
ALEXIS OPPENHEIMER ARROYO         ADDRESS ON FILE
ALEXIS ORTEGA MORALES             ADDRESS ON FILE
ALEXIS ORTIZ AYALA                ADDRESS ON FILE
ALEXIS ORTIZ GONZALEZ             ADDRESS ON FILE
ALEXIS ORTIZ LOPEZ                ADDRESS ON FILE
ALEXIS ORTIZ NIEVES               ADDRESS ON FILE
ALEXIS P GONZALEZ ESPINOSA        ADDRESS ON FILE
ALEXIS PACHECO FELICIANO          ADDRESS ON FILE
ALEXIS PAGÁN CARTAGENA            LUIS F. AVILES YAMARA TORRES   PO BOX 1392                                          OROCOVIS     PR      00720
ALEXIS PELLOT BLAS                ADDRESS ON FILE
ALEXIS PERAZA ANDUJAR             ADDRESS ON FILE
ALEXIS PEREZ OROMA                ADDRESS ON FILE
ALEXIS PIETRI ANDUJAR             ADDRESS ON FILE
ALEXIS PIZARRO ESPADA             ADDRESS ON FILE
ALEXIS PIZARRO PARRILLA           ADDRESS ON FILE
ALEXIS POMALES                    LCDA. IVONNE OLMO RÍO          PO BOX 6,400                                         CAYEY        PR      00737
ALEXIS POMALES                    LCDA. MELBA DÍAZ RAMÍREZ       PO BOX 9023951                                       SAN JUAN     PR      00902‐3951
ALEXIS QUINONES AYALA             ADDRESS ON FILE
ALEXIS QUINONES MARTINEZ          ADDRESS ON FILE
ALEXIS QUINONES MARTINEZ          ADDRESS ON FILE
ALEXIS QUIRINDONGO DELGADO        ADDRESS ON FILE
ALEXIS R BETANCOURT RIVERA        ADDRESS ON FILE
ALEXIS R CHICLANA MELENDEZ        ADDRESS ON FILE
ALEXIS R MONTALVO ORTIZ           ADDRESS ON FILE
ALEXIS R QUINONES MARRERO         ADDRESS ON FILE
ALEXIS R RODRIGUEZ ESPINO         ADDRESS ON FILE
ALEXIS RAMOS RODRIGUEZ            ADDRESS ON FILE
ALEXIS RAMOS TORRES               ADDRESS ON FILE
ALEXIS REYES NOBLE                ADDRESS ON FILE
ALEXIS REYES OSORIO               ADDRESS ON FILE




                                                                                  Page 221 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 222 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALEXIS REYES OSORIO                   ADDRESS ON FILE
ALEXIS REYES PONCE                    ADDRESS ON FILE
ALEXIS RIOS GARCIA                    ADDRESS ON FILE
ALEXIS RIOS PEREZ                     ADDRESS ON FILE
ALEXIS RIVAS ACEVEDO                  ADDRESS ON FILE
ALEXIS RIVERA CARRASQUILLO            ADDRESS ON FILE
ALEXIS RIVERA COLON                   ADDRESS ON FILE
ALEXIS RIVERA GANDUNILLA              ADDRESS ON FILE
ALEXIS RIVERA PABON                   ADDRESS ON FILE
ALEXIS RIVERA PADUA                   ADDRESS ON FILE
ALEXIS RODRIGUEZ FIGUEROA             ADDRESS ON FILE
ALEXIS RODRIGUEZ IRIZARRY             ADDRESS ON FILE
ALEXIS RODRIGUEZ MERCADO              ADDRESS ON FILE
ALEXIS RODRIGUEZ RODRIGUEZ            ADDRESS ON FILE
ALEXIS RODRIGUEZ VAZQUEZ              ADDRESS ON FILE
ALEXIS ROMAN ORTIZ                    ADDRESS ON FILE
ALEXIS ROMAN PEREIRA                  ADDRESS ON FILE
ALEXIS ROSADO CRUZ                    ADDRESS ON FILE
ALEXIS ROSADO RIVERA                  ADDRESS ON FILE
ALEXIS ROSARIO DIAZ                   ADDRESS ON FILE
ALEXIS ROSARIO RAMOS                  ADDRESS ON FILE
ALEXIS ROSARIO SIERRA                 ADDRESS ON FILE
ALEXIS RUIZ ADAMES                    ADDRESS ON FILE
ALEXIS RUIZ VAZQUEZ                   ADDRESS ON FILE
ALEXIS RVERA RAMOS                    ADDRESS ON FILE
ALEXIS S FRANCO CRUZ                  ADDRESS ON FILE
ALEXIS S MENDEZ FERNANDEZ             ADDRESS ON FILE
ALEXIS S PENA BRACERO                 ADDRESS ON FILE
ALEXIS SANCHEZ VEGA                   ADDRESS ON FILE
ALEXIS SANTIAGO ABRAMS                ADDRESS ON FILE
ALEXIS SANTIAGO CANDELARIO            ADDRESS ON FILE
ALEXIS SANTIAGO COLON                 ADDRESS ON FILE
ALEXIS SANTIAGO GARCIA                ADDRESS ON FILE
ALEXIS SANTIAGO MARTINEZ              ADDRESS ON FILE
ALEXIS SANTIAGO MARTINEZ              ADDRESS ON FILE
ALEXIS SANTIAGO NIEVES                ADDRESS ON FILE
Alexis Santiago, Yanelis M.           ADDRESS ON FILE
ALEXIS SANTOS COSME                   ADDRESS ON FILE
ALEXIS SENQUIZ SANCHEZ                ADDRESS ON FILE
ALEXIS SERRANO HERNANDEZ              ADDRESS ON FILE
ALEXIS SERRANO RODRIGUEZ              ADDRESS ON FILE
ALEXIS SERRANO SOLIS                  ADDRESS ON FILE
ALEXIS SOLIS COLON                    ADDRESS ON FILE
ALEXIS SOTO SIERRA                    ADDRESS ON FILE
ALEXIS SOTO ZAYAS                     ADDRESS ON FILE
ALEXIS SOTO ZENO                      ADDRESS ON FILE
ALEXIS SOTOMAYOR SOTOMAYOR            ADDRESS ON FILE
ALEXIS SUAREZ VEGA                    ADDRESS ON FILE
ALEXIS TACORANTE BONILLA              ADDRESS ON FILE
ALEXIS TIRADO GARCIA                  ADDRESS ON FILE
ALEXIS TORO SANTIAGO                  ADDRESS ON FILE
ALEXIS TORRES NEGRON                  ADDRESS ON FILE
ALEXIS TORRES RODRIGUEZ               ADDRESS ON FILE
ALEXIS TORRES RODRIGUEZ               ADDRESS ON FILE
ALEXIS TORRES SOSA                    ADDRESS ON FILE
ALEXIS VAZQUEZ SANTOS                 ADDRESS ON FILE
ALEXIS VAZQUEZ VELEZ                  ADDRESS ON FILE
ALEXIS VEGA HERNANDEZ                 ADDRESS ON FILE
ALEXIS VELAZQUEZ VIERA                ADDRESS ON FILE
ALEXIS VELAZQUEZ Y GRETCHEN O NEILL   ADDRESS ON FILE




                                                                                  Page 222 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 223 of 3500
                                                                                                Creditor Matrix

Creditor Name                             Address1                                  Address2                 Address3   Address4   City            State   PostalCode   Country
ALEXIS VIDAL COLLAZO                      ADDRESS ON FILE
ALEXIS VILLAFANE                          ADDRESS ON FILE
ALEXIS X BATISTA PEREZ                    ADDRESS ON FILE
ALEXIS X RIVERA CINTRON                   ADDRESS ON FILE
ALEXIS XAVIER GUZMAN VELAZQUEZ            ADDRESS ON FILE
ALEXIS Y ARROYO LOPEZ                     ADDRESS ON FILE
ALEXIS Y MELENDEZ COTTO / SORIMAR COTTO   ADDRESS ON FILE
ALEXIX MONTANEZ OSORIO                    ADDRESS ON FILE
ALEXNEL SUAREZ PEREZ                      ADDRESS ON FILE
ALEXSHA M RIVERA RIVERA                   ADDRESS ON FILE
ALEXSON ROSARIO ORTIZ                     ADDRESS ON FILE
ALEXTALI COLON VELAZQUEZ                  ADDRESS ON FILE
ALEXXA S. DEL VALLE CORTES                ADDRESS ON FILE
ALEYDA MALDONADO NIEVES                   ADDRESS ON FILE
ALEYDA RIVERA RODRIGUEZ                   ADDRESS ON FILE
ALEYDA RIVERA RODRIGUEZ                   ADDRESS ON FILE
ALEYDA SIACA CEBALLOS                     ADDRESS ON FILE
ALEYDA SIACA CEBALLOS                     ADDRESS ON FILE
ALEYDA SIACA CEBALLOS                     ADDRESS ON FILE
ALEYSHKA CARABALLO ACEVEDO                ADDRESS ON FILE
ALF GENERAL CONTRACTORS , INC.            609 AVENIDA TITO CASTRO SUITE 102 PMB 148                                                PONCE           PR      00716‐0000
ALF GENERAL CONTRACTORS INC               P O BOX 800 729                                                                          COTO LAUREL     PR      00780‐0729
ALFA PROPERTIES INC                       PO BOX 51937                                                                             TOA BAJA        PR      00950‐1937
ALFA RECORDINGS                           PO BOX 2110                                                                              SAN JUAN        PR      00922‐2110
ALFAL INC                                 PO BOX 19600 FERNANDEZ JUNCOS STA                                                        SAN JUAN        PR      00910‐1600
Alfalla Alvarez, Alexis Efrain            ADDRESS ON FILE
ALFALLA MUNIZ, EVELYN                     ADDRESS ON FILE
ALFALLA RIVERA, PEDRO                     ADDRESS ON FILE
ALFARIO MARTINEZ, IRIS                    ADDRESS ON FILE
ALFARO ALAS, MARTHA C.                    ADDRESS ON FILE
ALFARO ALFARO, AURA                       ADDRESS ON FILE
ALFARO ALFARO, MARI L                     ADDRESS ON FILE
ALFARO ALFARO, RENEIDA                    ADDRESS ON FILE
ALFARO ALONZO, JAIME                      ADDRESS ON FILE
ALFARO BLANCO, JOANN                      ADDRESS ON FILE
ALFARO BONILLA, IRIS J.                   ADDRESS ON FILE
ALFARO CALDERON, RITALYN                  ADDRESS ON FILE
ALFARO CALERO, ANA M                      ADDRESS ON FILE
ALFARO CALERO, AURA N                     ADDRESS ON FILE
ALFARO CALERO, CARMEN M                   ADDRESS ON FILE
ALFARO CALERO, ERIC                       ADDRESS ON FILE
ALFARO CALERO, ERIC A.                    ADDRESS ON FILE
ALFARO COLON, MARIA L.                    ADDRESS ON FILE
ALFARO CRUZ, MYRNA                        ADDRESS ON FILE
ALFARO DIAZ, CALIXTO                      ADDRESS ON FILE
ALFARO DROZ, MARIELY                      ADDRESS ON FILE
ALFARO FAURA, NICOLE E                    ADDRESS ON FILE
ALFARO FLORES, GABRIELA                   ADDRESS ON FILE
ALFARO HERMINA, WILLIE                    ADDRESS ON FILE
ALFARO HERNANDEZ, AXEL                    ADDRESS ON FILE
ALFARO IBERICO, CARLOS E                  ADDRESS ON FILE
ALFARO JUARBE, ANA                        ADDRESS ON FILE
ALFARO LOZANO, MONICA                     ADDRESS ON FILE
ALFARO MALPICA, JERRY                     ADDRESS ON FILE
ALFARO MARTINEZ, MYRNA                    ADDRESS ON FILE
ALFARO MELENDEZ, MARICELY                 ADDRESS ON FILE
ALFARO MENDEZ, JACQUELINE                 ADDRESS ON FILE
ALFARO MENDOZA MD, INES M                 ADDRESS ON FILE
ALFARO MERCADO, BRENDALIZ                 ADDRESS ON FILE
ALFARO MERCADO, LIZA                      ADDRESS ON FILE




                                                                                               Page 223 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 224 of 3500
                                                                                             Creditor Matrix

Creditor Name                   Address1                                  Address2                        Address3   Address4   City         State   PostalCode   Country
ALFARO MERCADO, YARELIZ         ADDRESS ON FILE
ALFARO MONGE, ZAHIRA            ADDRESS ON FILE
ALFARO MORON, MARCELO           ADDRESS ON FILE
ALFARO MULERO, SIBELE           ADDRESS ON FILE
ALFARO NEGRON, FELIX            ADDRESS ON FILE
Alfaro Nieves, Carlos A         ADDRESS ON FILE
ALFARO ORTIZ, GILBERTO          ADDRESS ON FILE
ALFARO ORTIZ, LYDIA E           ADDRESS ON FILE
ALFARO ORTIZ, MARITZA           ADDRESS ON FILE
ALFARO PAGAN, CARLOS            ADDRESS ON FILE
ALFARO PIAR, TERELIZ            ADDRESS ON FILE
ALFARO QUINTERO, CARLOS I       ADDRESS ON FILE
ALFARO QUINTERO, VICTOR         ADDRESS ON FILE
ALFARO RAMOS, RICARDO F.        ADDRESS ON FILE
ALFARO REYES, JUAN              ADDRESS ON FILE
ALFARO RIVERA, BELINDA          ADDRESS ON FILE
ALFARO RIVERA, NANCY L          ADDRESS ON FILE
ALFARO RIVERO, JAIME            ADDRESS ON FILE
ALFARO ROBLES, ALEXIS           ADDRESS ON FILE
ALFARO RODRIGUEZ, NESTOR        ADDRESS ON FILE
Alfaro Sanchez, Betzaida        ADDRESS ON FILE
ALFARO SANTIAGO, ADELAIDA       ADDRESS ON FILE
ALFARO SEDA, ISIS               ADDRESS ON FILE
ALFARO, PEDRO L.                ADDRESS ON FILE
ALFAU ALEMAN, MARIALMA          ADDRESS ON FILE
Alfau Aleman, Marialma          ADDRESS ON FILE
ALFAU CASTRO, LUIS              ADDRESS ON FILE
ALFE CORP
ALFERO CORPORATION              35 JUAN C BORBON STE 67‐185                                                                     GUAYNABO     PR      00969
ALFIN SUPPLIES CORP             COND LA ARBOLEDA                          87 CARR 20 2202                                       GUAYNABO     PR      00966
ALFIN SUPPLIES CORP.            87 CARR. 20 APT. 2202 COND. LA ARBOLEDA                                                         GUAYNABO     PR      00968‐0000
ALFINEZ RIOS, ANTONIO           ADDRESS ON FILE
ALFONSA VILLAMONTE VERA         ADDRESS ON FILE
ALFONSECA BAEZ, MARGARITA       ADDRESS ON FILE
ALFONSECA CARABALLO, CYNTHIA    ADDRESS ON FILE
ALFONSINA INC                   COND VILLA DEL PARQUE APT 15E                                                                   SAN JUAN     PR      00909
ALFONSINA, INC                  CONDOMINIO VILLA DEL PARQUE               APTO. 15‐E                                            SAN JUAN     PR      00909
ALFONSINA, INC                  P O BOX 9065474                                                                                 SAN JUAN     PR      00906
ALFONSO A FERRER BRAVO          ADDRESS ON FILE
ALFONSO A FRONTERA              ADDRESS ON FILE
ALFONSO A MALDONADO ARROYO      ADDRESS ON FILE
ALFONSO A RUIZ VEGA             ADDRESS ON FILE
ALFONSO A SANCHEZ WITHFORD      ADDRESS ON FILE
ALFONSO A. ROMAN ORTIZ          ADDRESS ON FILE
Alfonso Almodovar, Jose R       ADDRESS ON FILE
ALFONSO ANDINO, ISABEL          ADDRESS ON FILE
ALFONSO APONTE MATTA            ADDRESS ON FILE
ALFONSO ARROYO, ANABEL          ADDRESS ON FILE
ALFONSO ARROYO, MIRTA D         ADDRESS ON FILE
ALFONSO AVILES Y MARIA AVILES   ADDRESS ON FILE
ALFONSO BORGES, ADRIAN          ADDRESS ON FILE
ALFONSO BORGES, ADRIAN          ADDRESS ON FILE
ALFONSO BUSTILLO, CARLOS        ADDRESS ON FILE
ALFONSO CAMACHO, ALBERTO        ADDRESS ON FILE
ALFONSO CAMACHO, RAFAEL         ADDRESS ON FILE
ALFONSO CANDELARIO PEREZ        ADDRESS ON FILE
ALFONSO CAPPA MELENDEZ          ADDRESS ON FILE
ALFONSO CARABALLO CARABALLO     ADDRESS ON FILE
ALFONSO CASALS MD, ROBERTO E    ADDRESS ON FILE
ALFONSO CINTRON, EVELYN         ADDRESS ON FILE




                                                                                            Page 224 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 225 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ALFONSO CIRIACO, ALBERTO               ADDRESS ON FILE
ALFONSO CIRIACO, ALBERTO               ADDRESS ON FILE
ALFONSO CIRIACO, OMAYRA                ADDRESS ON FILE
ALFONSO CLAUDIO REYES                  ADDRESS ON FILE
ALFONSO COLON, RAMON I.                ADDRESS ON FILE
ALFONSO CRESPO TORRES                  ADDRESS ON FILE
ALFONSO D CIVILE MASSA                 ADDRESS ON FILE
ALFONSO DAVILA SANTIAGO                ADDRESS ON FILE
ALFONSO DE CUMPIANO, LADY              ADDRESS ON FILE
ALFONSO DELGADO, VERONICA              ADDRESS ON FILE
ALFONSO DIAZ HERNANDEZ                 ADDRESS ON FILE
ALFONSO E SAONA HO                     ADDRESS ON FILE
ALFONSO FELIZ, TANIA                   ADDRESS ON FILE
ALFONSO FERNANDEZ CRUZ                 ADDRESS ON FILE
ALFONSO FERNANDEZ LOPEZ/KARLAN GROUP COADDRESS ON FILE
ALFONSO FERNANDEZ, GISELA              ADDRESS ON FILE
ALFONSO FIGUEROA, ROSENDO              ADDRESS ON FILE
ALFONSO FLORES Y GENOVEVA SORRENTINI   ADDRESS ON FILE
ALFONSO GARAY, DENISSE                 ADDRESS ON FILE
ALFONSO GARCIA, CARMEN M               ADDRESS ON FILE
ALFONSO GARCIA, REYNALDO               ADDRESS ON FILE
ALFONSO GARCIA, RICARDO                ADDRESS ON FILE
Alfonso Gonzalez, Angel R              ADDRESS ON FILE
ALFONSO GONZALEZ, LUZ                  ADDRESS ON FILE
ALFONSO GONZALEZ, ORLANDO              ADDRESS ON FILE
ALFONSO GONZALEZ, ORLANDO              ADDRESS ON FILE
ALFONSO GONZALEZ, SHEILA               ADDRESS ON FILE
ALFONSO HERNANDEZ, RAFAEL              ADDRESS ON FILE
ALFONSO INFANTE                        ADDRESS ON FILE
ALFONSO IRIZARRY, JAIME                ADDRESS ON FILE
ALFONSO J QUIROS CORDERO               ADDRESS ON FILE
ALFONSO JIMENEZ GONZALEZ               ADDRESS ON FILE
ALFONSO L ALONSO                       ADDRESS ON FILE
ALFONSO L ORTEGA ORTIZ                 ADDRESS ON FILE
ALFONSO L QUI¥ONES LUCIANO             ADDRESS ON FILE
ALFONSO LABEAGA RODRIGUEZ              ADDRESS ON FILE
ALFONSO LABOY RIVERA                   ADDRESS ON FILE
ALFONSO LANGE GUARDIOLA                ADDRESS ON FILE
ALFONSO LLOREDA DIAZ                   ADDRESS ON FILE
ALFONSO LLOREDA DIAZ                   ADDRESS ON FILE
ALFONSO LOPEZ RIVERA                   ADDRESS ON FILE
ALFONSO LOPEZ, ALINA                   ADDRESS ON FILE
ALFONSO LOPEZ, DAVID                   ADDRESS ON FILE
ALFONSO LOPEZ, JULIO                   ADDRESS ON FILE
ALFONSO LOPEZ, JULIO                   ADDRESS ON FILE
ALFONSO LOPEZ, LUIS                    ADDRESS ON FILE
ALFONSO LUGO TOBAL                     ADDRESS ON FILE
ALFONSO MANGUAL, FRANCISCO             ADDRESS ON FILE
ALFONSO MANGUAL, FRANCISCO J.          ADDRESS ON FILE
Alfonso Mangual, Juanita               ADDRESS ON FILE
ALFONSO MANGUAL, MILDRED M             ADDRESS ON FILE
ALFONSO MANZANO, EVELYN                ADDRESS ON FILE
ALFONSO MANZANO, LOURDES M             ADDRESS ON FILE
ALFONSO MARTI, JUAN F                  ADDRESS ON FILE
ALFONSO MARTINEZ IRIZARRY              ADDRESS ON FILE
ALFONSO MARTINEZ IRIZARRY              ADDRESS ON FILE
ALFONSO MARTINEZ MD, NANCY             ADDRESS ON FILE
ALFONSO MARTINEZ TABOAS                ADDRESS ON FILE
ALFONSO MATOS, CARLOS                  ADDRESS ON FILE
ALFONSO MEDINA MD, JORGE E             ADDRESS ON FILE




                                                                                    Page 225 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 226 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City          State   PostalCode   Country
ALFONSO MENDEZ MD, GISHLAINE              ADDRESS ON FILE
ALFONSO MIRANDA DALECCIO                  ADDRESS ON FILE
ALFONSO MOLINA                            ADDRESS ON FILE
ALFONSO MORA, HUGO                        ADDRESS ON FILE
ALFONSO MORALES, EFREN                    ADDRESS ON FILE
ALFONSO MORENO SANTIAGO                   ADDRESS ON FILE
ALFONSO MURPHY, ELIZABETH                 ADDRESS ON FILE
ALFONSO NIEVES CATALA                     ADDRESS ON FILE
ALFONSO ONTIVERO, VALENTIN A              ADDRESS ON FILE
ALFONSO ORBAY, HILDA                      ADDRESS ON FILE
ALFONSO ORONA AMILIVIA                    ADDRESS ON FILE
ALFONSO ORTIZ VAZQUEZ                     ADDRESS ON FILE
ALFONSO OTERO, RICHELIZ                   ADDRESS ON FILE
ALFONSO PADOVANI CARRERO                  ADDRESS ON FILE
ALFONSO PAGAN, ANTONIA                    ADDRESS ON FILE
ALFONSO PASTRANA, MARGARITA               ADDRESS ON FILE
ALFONSO PATROCINO, VICTOR                 ADDRESS ON FILE
ALFONSO PELLOT LOPEZ                      ADDRESS ON FILE
ALFONSO PEREZ                             ADDRESS ON FILE
ALFONSO PEREZ, NAYAL                      ADDRESS ON FILE
ALFONSO PINERO, TERESA                    ADDRESS ON FILE
ALFONSO PUENTES, RAMIRO                   ADDRESS ON FILE
ALFONSO QUINONES VILA                     ADDRESS ON FILE
ALFONSO RAMIREZ, MARISOL                  ADDRESS ON FILE
ALFONSO RAMIREZ, WANDA                    ADDRESS ON FILE
ALFONSO RAMOS TORRES                      ADDRESS ON FILE
ALFONSO RAMOS, EVELYN                     ADDRESS ON FILE
ALFONSO RENTAS, RAMON                     ADDRESS ON FILE
ALFONSO REYES RODRIGUEZ                   ADDRESS ON FILE
ALFONSO RIVERA MORALES                    ADDRESS ON FILE
ALFONSO RIVERA, GERMAN                    ADDRESS ON FILE
ALFONSO RIVERA, KRISIA                    ADDRESS ON FILE
ALFONSO RIVERA, LUIS                      ADDRESS ON FILE
ALFONSO RIVERA, RICHARD                   ADDRESS ON FILE
ALFONSO RIVERA, RICHARD                   ADDRESS ON FILE
ALFONSO ROCHE, JAVIER I.                  ADDRESS ON FILE
ALFONSO RODRIGUEZ CACERES                 ADDRESS ON FILE
ALFONSO RODRIGUEZ NIEVES                  ADDRESS ON FILE
ALFONSO RODRIGUEZ, JOSE R                 ADDRESS ON FILE
Alfonso Rodriguez, Justo L                ADDRESS ON FILE
ALFONSO ROMAN, JOSE                       ADDRESS ON FILE
ALFONSO RONDON BENITEZ                    ADDRESS ON FILE
ALFONSO ROSADO MONTAZ                     ADDRESS ON FILE
ALFONSO ROSARIO RIVERA                    ADDRESS ON FILE
ALFONSO RUIZ, DIOSA                       ADDRESS ON FILE
ALFONSO SANCHEZ, ADOLFO                   ADDRESS ON FILE
ALFONSO SANCHEZ, NOEL G.                  ADDRESS ON FILE
ALFONSO SEGARRA SPECIALIZED STEEL WORKS   CARR. 307 KM.0.6                                                                 CABO ROJO     PR      00623
ALFONSO SEGARRA VELEZ                     ADDRESS ON FILE
ALFONSO SERRANO ISERN                     ADDRESS ON FILE
ALFONSO SIMONPIETRI FERNANDEZ             ADDRESS ON FILE
Alfonso Taveras, Edilio                   ADDRESS ON FILE
ALFONSO TORRES, SUE ELLEN                 ADDRESS ON FILE
ALFONSO TORRES/ DALILA ECHEVARRIA         ADDRESS ON FILE
ALFONSO URBINA, KATHERINE                 ADDRESS ON FILE
ALFONSO VALLE, ELIZABETH                  ADDRESS ON FILE
ALFONSO VALLE, NOEMI                      ADDRESS ON FILE
ALFONSO VAZQUEZ, ELIZABETH                ADDRESS ON FILE
ALFONSO VAZQUEZ, GUILLERMO                ADDRESS ON FILE
ALFONSO VAZQUEZ, SYLGRIN                  ADDRESS ON FILE




                                                                                      Page 226 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 227 of 3500
                                                                                                         Creditor Matrix

Creditor Name                          Address1                          Address2                                     Address3   Address4   City           State   PostalCode   Country
Alfonso Vazquez, Sylgrin Marie         ADDRESS ON FILE
ALFONSO VEGA, ALEXIS                   ADDRESS ON FILE
ALFONSO VICENTE CLASS                  ADDRESS ON FILE
ALFONSO VIDRO, RICARDO                 ADDRESS ON FILE
ALFONSO VIERA, WANDA                   ADDRESS ON FILE
ALFONSO, JOSE R.                       ADDRESS ON FILE
ALFONSO, JOSE R.                       ADDRESS ON FILE
ALFONSO, JULIO O                       ADDRESS ON FILE
ALFONSO, RITA                          ADDRESS ON FILE
ALFONSOROLDAN, WILDA M                 ADDRESS ON FILE
ALFONZO BABILONIA, EDUARDO             ADDRESS ON FILE
ALFONZO CHARDON, CARLOS                ADDRESS ON FILE
ALFONZO DELGADO, VERONICA              ADDRESS ON FILE
ALFONZO FELICIANO, PEDRO               ADDRESS ON FILE
ALFONZO GONZALEZ, MARTA M              ADDRESS ON FILE
ALFONZO GONZALEZ, MARTA M              ADDRESS ON FILE
ALFONZO HERNANDEZ, JOSE                ADDRESS ON FILE
ALFONZO LOPEZ, ABDIER O.               ADDRESS ON FILE
ALFONZO LOPEZ, PRISCILA                ADDRESS ON FILE
Alfonzo Marrero, Pelegrin              ADDRESS ON FILE
ALFONZO MARRERO, PELEGRIN              ADDRESS ON FILE
ALFONZO NAVARRO CALCANO                ADDRESS ON FILE
ALFONZO REYES, DAGMARELIS              ADDRESS ON FILE
ALFONZO SARNELLI, PEDRO                ADDRESS ON FILE
ALFONZO VALLE, RUTH                    ADDRESS ON FILE
ALFONZO VAZQUEZ, DIANA I               ADDRESS ON FILE
ALFONZO VELEZ, EZEQUIEL                ADDRESS ON FILE
ALFONZO ZAMOT, NILDA E                 ADDRESS ON FILE
ALFORD RODRIGUEZ RIVERA                ADDRESS ON FILE
ALFRAN TRANSPORT INC                   PO BOX 9435                                                                                          CAGUAS         PR      00726‐9435
ALFRED BAYOUTH BABILONIA               ADDRESS ON FILE
ALFRED COTTO DIAZ                      ADDRESS ON FILE
ALFRED D HERGER INC                    PO BOX 8607 FDEZ JUNCOS STATION                                                                      SAN JUAN       PR      00910
ALFRED D HERGER PH D                   ADDRESS ON FILE
ALFRED D HERGER PH D                   ADDRESS ON FILE
ALFRED GROSSEN FRAUCHIGER              ADDRESS ON FILE
ALFRED GROSSEN GONZALEZ                ADDRESS ON FILE
ALFRED J OJEDA VEGA                    ADDRESS ON FILE
ALFRED LIND PINTO                      ADDRESS ON FILE
ALFRED RAMIREZ DE ARELLANO DEL VALLE   COND CARIBBEAN TOWERS             670 AVE PONCE DE LEON STE 17                                       SAN JUAN       PR      00907‐3207
ALFRED VELAZGUEZ LUCIANO               ADDRESS ON FILE
ALFRED VELAZQUEZ QUINONES              ADDRESS ON FILE
ALFRED, CHARLES                        ADDRESS ON FILE
ALFREDO A ROLDAN LOPEZ                 ADDRESS ON FILE
ALFREDO ACEVEDO CRUZ                   ACEVEDO CRUZ, ALFREDO             PO BOX 93                                                          JUANA DÍAZ     PR      00795
ALFREDO ACOSTA RAMOS                   ADDRESS ON FILE
ALFREDO ALBALADEJO CARABALLO           ADDRESS ON FILE
ALFREDO ALEJANDRO ORTEGA               ADDRESS ON FILE
ALFREDO ALVIRA MOLERO                  ADDRESS ON FILE
ALFREDO AMY TORRES                     ADDRESS ON FILE
ALFREDO APONTE CORDOVA                 ADDRESS ON FILE
ALFREDO AUTO PARTS INC                 AVE LOS DOMINICOS #11             URB MIRAFLORES                                                     BAYAMON        PR      00957
ALFREDO AVILES RIVERA                  ADDRESS ON FILE
Alfredo Baez Sanchez                   ADDRESS ON FILE
ALFREDO BARRIENTOS GAYOSO              ADDRESS ON FILE
ALFREDO BEAUCHAMP/ FONROCHE ENERGY     ADDRESS ON FILE
ALFREDO BERMUDEZ                       ADDRESS ON FILE
ALFREDO BERRIOS ORTIZ                  ADDRESS ON FILE
ALFREDO BRAVO BERIO                    ADDRESS ON FILE
ALFREDO BURGOS BENITEZ                 ADDRESS ON FILE




                                                                                                        Page 227 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 228 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALFREDO CALDER0N SANCHEZ                 ADDRESS ON FILE
ALFREDO CAMACHO PEREZ                    ADDRESS ON FILE
ALFREDO CANDELARIO ALVAREZ               ADDRESS ON FILE
ALFREDO CARDONA ALVAREZ                  ADDRESS ON FILE
ALFREDO CARDONA ALVAREZ                  ADDRESS ON FILE
ALFREDO CARRERAS DENIS                   ADDRESS ON FILE
ALFREDO CARRERO VARGAS                   ADDRESS ON FILE
ALFREDO CARRION ORLANDI                  ADDRESS ON FILE
ALFREDO CARRION PRINCIPE                 ADDRESS ON FILE
ALFREDO CASTELLANOS                      ADDRESS ON FILE
ALFREDO CINTRON SANTANA                  ADDRESS ON FILE
ALFREDO COLON GONZALEZ                   ADDRESS ON FILE
ALFREDO COLON MALDONADO                  ADDRESS ON FILE
ALFREDO CORREA SANCHEZ                   ADDRESS ON FILE
ALFREDO CORTES MONTALVO                  ADDRESS ON FILE
ALFREDO COTTON                           ADDRESS ON FILE
ALFREDO CRUZ SANTIAGO                    ADDRESS ON FILE
ALFREDO CUADRADO PEREZ                   ADDRESS ON FILE
ALFREDO D PEREZ RODRIGUEZ                ADDRESS ON FILE
ALFREDO DE LEON CRUZ                     ADDRESS ON FILE
ALFREDO DE QUESADA BANGO                 ADDRESS ON FILE
ALFREDO DELGADO MOLINA                   ADDRESS ON FILE
ALFREDO DELGADO QUINONES                 ADDRESS ON FILE
ALFREDO DIAZ GARCIA                      ADDRESS ON FILE
ALFREDO DIAZ MARZAN                      ADDRESS ON FILE
ALFREDO DIAZ SANCHEZ                     ADDRESS ON FILE
ALFREDO DIAZ VILLANUEVA                  ADDRESS ON FILE
ALFREDO DOMINGUEZ VAZQUEZ                ADDRESS ON FILE
ALFREDO E GONZALEZ MERCADO               ADDRESS ON FILE
ALFREDO E MERCADO QUINONES               ADDRESS ON FILE
ALFREDO E MERCADO QUINONES               ADDRESS ON FILE
ALFREDO E SANTONI LOPEZ                  ADDRESS ON FILE
ALFREDO E TOLEDO ROSA                    ADDRESS ON FILE
ALFREDO E VELEZ ALVARADO                 ADDRESS ON FILE
ALFREDO ECHEVARRIA RODRIGUEZ             ADDRESS ON FILE
ALFREDO ESCALERA A/C SRA CARMEN D AVILES ADDRESS ON FILE
ALFREDO ESQUILIN ROBLES                  ADDRESS ON FILE
ALFREDO F RAMIREZ Y ADELA C RAMIREZ      ADDRESS ON FILE
ALFREDO FABERY TORRES                    ADDRESS ON FILE
ALFREDO FERRER PEREZ                     ADDRESS ON FILE
ALFREDO FIGUEROA RESTO                   ADDRESS ON FILE
ALFREDO FIGUEROA RODRIGUEZ               ADDRESS ON FILE
ALFREDO FIGUEROA ROSADO                  ADDRESS ON FILE
ALFREDO FINALE CARDENAS                  ADDRESS ON FILE
ALFREDO FLORES TORRES                    ADDRESS ON FILE
ALFREDO FONT CRUZ                        ADDRESS ON FILE
ALFREDO FORTIER GONZALEZ                 ADDRESS ON FILE
ALFREDO FRESSE ROJAS                     ADDRESS ON FILE
ALFREDO FUENTES SOSA                     ADDRESS ON FILE
ALFREDO G GARRIGA CASIANO                ADDRESS ON FILE
ALFREDO GARCIA GARAMENDI                 ADDRESS ON FILE
ALFREDO GARCIA Y WILMA BORDOY            ADDRESS ON FILE
ALFREDO GARRIGA CASIANO                  ADDRESS ON FILE
ALFREDO GONZALEZ                         ADDRESS ON FILE
ALFREDO GONZALEZ CINTRON                 ADDRESS ON FILE
ALFREDO GONZALEZ LANDRON                 ADDRESS ON FILE
ALFREDO GONZALEZ MARTINEZ                ADDRESS ON FILE
ALFREDO GONZALEZ SANCHEZ                 ADDRESS ON FILE
ALFREDO GOTAY CORDERO                    ADDRESS ON FILE
ALFREDO GOTAY Y MARGARITA CORDERO        ADDRESS ON FILE




                                                                                     Page 228 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 229 of 3500
                                                                                        Creditor Matrix

Creditor Name                              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALFREDO GUTIERREZ VELEZ                    ADDRESS ON FILE
ALFREDO HERNANDEZ                          ADDRESS ON FILE
ALFREDO HERNANDEZ MASSANET                 ADDRESS ON FILE
ALFREDO HERNANDEZ MIRANDA                  ADDRESS ON FILE
ALFREDO HERNANDEZ VERA                     ADDRESS ON FILE
ALFREDO IRIZARRI NUNEZ                     ADDRESS ON FILE
ALFREDO IRIZARRY CASTILLO                  ADDRESS ON FILE
ALFREDO IRIZARRY GONZALEZ                  ADDRESS ON FILE
ALFREDO J CRUZ MARIANI                     ADDRESS ON FILE
ALFREDO J DIAZ NIEVES                      ADDRESS ON FILE
ALFREDO J LOPEZ MARRERO                    ADDRESS ON FILE
ALFREDO J ORTIZ ORTIZ                      ADDRESS ON FILE
ALFREDO J OSORIO APONTE / YESENIA APONTE   ADDRESS ON FILE
ALFREDO J TOLEDO TOLEDO                    ADDRESS ON FILE
ALFREDO JIMENEZ                            ADDRESS ON FILE
ALFREDO L IRIZARRY SANTIAGO                ADDRESS ON FILE
ALFREDO LAMBOY NUNEZ                       ADDRESS ON FILE
ALFREDO LAMELA CHAVES                      ADDRESS ON FILE
ALFREDO LEGUILLU LOPEZ                     ADDRESS ON FILE
ALFREDO LEON SANTOS                        ADDRESS ON FILE
ALFREDO LOPEZ BADILLO                      ADDRESS ON FILE
ALFREDO LOPEZ BADILLO                      ADDRESS ON FILE
ALFREDO LOPEZ GARAY                        ADDRESS ON FILE
ALFREDO LOPEZ GARAY / EQUILATERO           ADDRESS ON FILE
ALFREDO LOPEZ PARRILLA                     ADDRESS ON FILE
ALFREDO LOPEZ PEREZ                        ADDRESS ON FILE
ALFREDO LOPEZ TORRES                       ADDRESS ON FILE
ALFREDO LOPEZ VAZQUEZ                      ADDRESS ON FILE
ALFREDO LUGO CARLO                         ADDRESS ON FILE
ALFREDO LUGO IRIZARRY                      ADDRESS ON FILE
ALFREDO LUGO MELENDEZ                      ADDRESS ON FILE
ALFREDO LUIS PEREZ TORRES                  ADDRESS ON FILE
ALFREDO MADERA CARABALLO &                 ADDRESS ON FILE
ALFREDO MALAVE                             ADDRESS ON FILE
ALFREDO MALDONADO ARROYO                   ADDRESS ON FILE
ALFREDO MARTINEZ                           ADDRESS ON FILE
ALFREDO MARTINEZ BURGOS                    ADDRESS ON FILE
ALFREDO MARTINEZ ORTIZ                     ADDRESS ON FILE
ALFREDO MARTINEZ‐ALVAREZ GONZALEZ          ADDRESS ON FILE
ALFREDO MATOS ZAPATA                       ADDRESS ON FILE
ALFREDO MEJIAS DIAZ                        ADDRESS ON FILE
ALFREDO MENDEZ FIGUEROA                    ADDRESS ON FILE
ALFREDO MENDEZ NAZARIO                     ADDRESS ON FILE
ALFREDO MERCADO CRUZ                       ADDRESS ON FILE
ALFREDO MILLAN FIGUEROA                    ADDRESS ON FILE
ALFREDO MIRANDA APONTE                     ADDRESS ON FILE
ALFREDO MIRANDA VELEZ                      ADDRESS ON FILE
ALFREDO MOLINA MILLER                      ADDRESS ON FILE
ALFREDO MONTALVO LOPEZ                     ADDRESS ON FILE
ALFREDO MORALES COLBERG                    ADDRESS ON FILE
ALFREDO MORALES MARTINEZ                   ADDRESS ON FILE
ALFREDO MUNIZ RIVERA                       ADDRESS ON FILE
ALFREDO NAVAS ONOFRE                       ADDRESS ON FILE
ALFREDO NEGRON                             ADDRESS ON FILE
ALFREDO NIEVES MORENO                      ADDRESS ON FILE
ALFREDO NIEVES MORENO                      ADDRESS ON FILE
ALFREDO NIEVES TORRES                      GENOVEVA VALENTÍN SOTO    PO BOX 13695                                           SAN JUAN     PR      00908‐3695
ALFREDO NOBLE OSTOLAZA                     ADDRESS ON FILE
ALFREDO NUNEZ GONZALEZ                     ADDRESS ON FILE
ALFREDO OMAR CRUZ AYALA                    ADDRESS ON FILE




                                                                                       Page 229 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 230 of 3500
                                                                                                 Creditor Matrix

Creditor Name                            Address1                     Address2                                Address3            Address4              City         State   PostalCode   Country
ALFREDO ORTIZ                            ADDRESS ON FILE
ALFREDO ORTIZ RIVERA                     ADDRESS ON FILE
ALFREDO ORTIZ RIVERA                     ADDRESS ON FILE
ALFREDO PAGAN ASTACIO                    ADDRESS ON FILE
ALFREDO PARRILLA COLON                   ADDRESS ON FILE
ALFREDO PARRILLA CORCHADO                ADDRESS ON FILE
ALFREDO PENA OTERO                       ADDRESS ON FILE
ALFREDO PENA PAGAN                       ADDRESS ON FILE
ALFREDO PEREZ ALICEA                     ADDRESS ON FILE
ALFREDO PEREZ CANABAL                    ADDRESS ON FILE
ALFREDO PEREZ MEDINA                     ADDRESS ON FILE
ALFREDO PEREZ RIVERA                     ADDRESS ON FILE
ALFREDO PINERO PEREIRA                   ADDRESS ON FILE
ALFREDO POMALES BETANCOURT               ADDRESS ON FILE
ALFREDO QUINONES ALFREDO                 ADDRESS ON FILE
ALFREDO QUINONES RODRIGUEZ               ADDRESS ON FILE
ALFREDO RAMIREZ DE ARELLANO ESTATE       PO BOX 190476                                                                                                  SAN JUAN     PR      00919
ALFREDO RAMIREZ Y YADIRA GARCIA          ADDRESS ON FILE
ALFREDO RAMON VELEZ LOPEZ                ADDRESS ON FILE
ALFREDO RAMON VELEZ LOPEZ                ADDRESS ON FILE
ALFREDO RANGEL RODRIGUEZ                 ADDRESS ON FILE
ALFREDO REYES/DBA BEST PROMOTION & PRINT MINI CENTRO LA NUEVA JAGUA   BO CAMARONES CARR 169                                                             GUAYNABO     PR      00969
ALFREDO RIOS GONZALEZ                    ADDRESS ON FILE
ALFREDO RIVERA ROSADO                    ADDRESS ON FILE
ALFREDO ROCHE ACOSTA                     ADDRESS ON FILE
ALFREDO RODRIGUEZ CORA                   ADDRESS ON FILE
ALFREDO RODRIGUEZ GARCIA                 ADDRESS ON FILE
ALFREDO RODRIGUEZ MARTINEZ               ADDRESS ON FILE
ALFREDO RODRIGUEZ ORTIZ                  ADDRESS ON FILE
ALFREDO RODRIGUEZ PAGAN                  ADDRESS ON FILE
ALFREDO RODRIGUEZ SUAREZ                 ADDRESS ON FILE
ALFREDO RODRIGUEZ VEGA                   ADDRESS ON FILE
                                                                                                              SOUTH TOWER SUITE   329 ARTERIAL HOSTOS
ALFREDO ROLON LOPEZ Y OTROS               GERMAN R. UFRET PEREZ       CAPITOL CENTER BUILDING                 305                 AVE                   SAN JUAN     PR      00918‐1476
ALFREDO ROLON LOPEZ Y OTROS               JULIO E. TORRES             PO BOX 1387                                                                       AIBONITO     PR      00705
ALFREDO ROMERO AGUIRRE                    ADDRESS ON FILE
ALFREDO ROMERO AGUIRRE                    ADDRESS ON FILE
ALFREDO ROMERO BRAVO                      ADDRESS ON FILE
ALFREDO ROSA ESCRIBANO                    ADDRESS ON FILE
ALFREDO ROSA VERA Y CARMENCITA SANCHEZ    ADDRESS ON FILE
ALFREDO ROSADO GARCIA                     ADDRESS ON FILE
ALFREDO ROSARIO CANDELARIA                ADDRESS ON FILE
ALFREDO RUIZ PEREZ Y ILEANA LOPEZ PEREZ   ADDRESS ON FILE
ALFREDO SANTIAGO CHAPARRO                 ADDRESS ON FILE
ALFREDO SANTIAGO CINTRON                  ADDRESS ON FILE
ALFREDO SANTIAGO CORTES                   ADDRESS ON FILE
ALFREDO SANTIAGO GALARZA                  ADDRESS ON FILE
ALFREDO SANTIAGO LOPEZ                    ADDRESS ON FILE
ALFREDO SANTIAGO SOLER                    ADDRESS ON FILE
ALFREDO SIERRA ALAMO                      ADDRESS ON FILE
ALFREDO SIERRA GARCIA                     ADDRESS ON FILE
ALFREDO SIERRA GARCIA                     ADDRESS ON FILE
ALFREDO SOLIS SANTIAGO                    ADDRESS ON FILE
ALFREDO SOTO PEREZ                        ADDRESS ON FILE
ALFREDO SOTO TOMASINI                     ADDRESS ON FILE
ALFREDO TERRERO FERNANDEZ                 ADDRESS ON FILE
ALFREDO TIRADO GONZALEZ                   ADDRESS ON FILE
ALFREDO TIRADO LUGO                       ADDRESS ON FILE
ALFREDO TOMAS BISOT                       ADDRESS ON FILE
ALFREDO TORRES ALICEA                     ADDRESS ON FILE




                                                                                                Page 230 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 231 of 3500
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ALFREDO TORRES MARTINEZ               ADDRESS ON FILE
ALFREDO TORRES REYES                  ADDRESS ON FILE
ALFREDO TORRES RIVERA                 ADDRESS ON FILE
ALFREDO TORRES RODRIGUEZ              ADDRESS ON FILE
ALFREDO TUA CARMONA                   ADDRESS ON FILE
ALFREDO VADELL SEGARRA                ADDRESS ON FILE
ALFREDO VALLE LOPEZ                   ADDRESS ON FILE
ALFREDO VARGAS PEREZ                  ADDRESS ON FILE
ALFREDO VARGAS PEREZ                  ADDRESS ON FILE
ALFREDO VAZQUEZ GONZALEZ              ADDRESS ON FILE
ALFREDO VAZQUEZ ROSARIO               ADDRESS ON FILE
ALFREDO VAZQUEZ/ RAMONA GARCIA        ADDRESS ON FILE
ALFREDO VEGA ZAYAS                    ADDRESS ON FILE
ALFREDO VELAZQUEZ AYALA               ADDRESS ON FILE
ALFREDO VELEZ ACEVEDO                 ADDRESS ON FILE
ALFREDO VELEZ DELGADO                 ADDRESS ON FILE
ALFREDO VELEZ QUINONES                ADDRESS ON FILE
ALFREDO VELEZ QUINONES                ADDRESS ON FILE
ALFREDO VIDAL MORALES                 ADDRESS ON FILE
ALFREDO VILLANUEVA ACEVEDO            ADDRESS ON FILE
ALFREDO VILLANUEVA MARTINEZ           ADDRESS ON FILE
ALFREJO SUE LIND PINTO                ADDRESS ON FILE
ALFRIDA M TOMEY IMBERT                ADDRESS ON FILE
ALFRIO INC                            HOSTO 16                  ESQ CAMPO ALONSO                                       CAGUAS       PR      00725
ALGARI ARROYO, LUIS S                 ADDRESS ON FILE
ALGARIN AGOSTO, MERCEDES              ADDRESS ON FILE
Algarin Algarin, Luis R               ADDRESS ON FILE
ALGARIN ALGARIN, SHEILA               ADDRESS ON FILE
ALGARIN ALGARIN, SHEILA               ADDRESS ON FILE
ALGARIN ALGARIN, VALERIE              ADDRESS ON FILE
ALGARIN ALGARIN, VLADIMIR             ADDRESS ON FILE
ALGARIN ALLEN, CYNTHIA A              ADDRESS ON FILE
ALGARIN ALMODOVAR, HECTOR J           ADDRESS ON FILE
ALGARIN ALMODOVAR, NATALIE            ADDRESS ON FILE
ALGARIN ALMODOVAR, SHAROL             ADDRESS ON FILE
ALGARIN ALVAREZ, JAHZEEL              ADDRESS ON FILE
ALGARIN APONTE, JOHNNY                ADDRESS ON FILE
ALGARIN ARROYO, AIDA L                ADDRESS ON FILE
ALGARIN ARROYO, JAIME                 ADDRESS ON FILE
ALGARIN ARROYO, MARGARITA             ADDRESS ON FILE
ALGARIN ARROYO, SONIA M.              ADDRESS ON FILE
ALGARIN AYALA MD, ELBA H              ADDRESS ON FILE
ALGARIN BAEZ, JAFET                   ADDRESS ON FILE
ALGARIN BURGOS, MARTA                 ADDRESS ON FILE
ALGARIN CAMACHO, EDGARDO              ADDRESS ON FILE
ALGARIN CARRASQUILLO, CARMEN ISABEL   ADDRESS ON FILE
ALGARIN CARRASQUILLO, CLORIMAR        ADDRESS ON FILE
ALGARIN CARRASQUILLO, GLORIMAR        ADDRESS ON FILE
ALGARIN CASANOVA, JUAN                ADDRESS ON FILE
ALGARIN CASANOVA, KETTY               ADDRESS ON FILE
ALGARIN COLON, MILLYNES               ADDRESS ON FILE
ALGARIN COSS, MIGUEL                  ADDRESS ON FILE
ALGARIN DAVILA, LYDIA E               ADDRESS ON FILE
ALGARIN DE HOYOS, NILDA               ADDRESS ON FILE
Algarin De Jesus, Luis A              ADDRESS ON FILE
ALGARIN DE JESUS, MARTA               ADDRESS ON FILE
ALGARIN DE JESUS, NATANAHEN           ADDRESS ON FILE
ALGARIN DE JESUS, ROBERTO             ADDRESS ON FILE
ALGARIN DE LEON, PETRA                ADDRESS ON FILE
ALGARIN DE LEON, SANDRA               ADDRESS ON FILE




                                                                                   Page 231 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 232 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALGARIN DELGADO, GLADYS D      ADDRESS ON FILE
ALGARIN DIAZ, IVETTE ABIGAIL   ADDRESS ON FILE
ALGARIN DIAZ, SYLMA            ADDRESS ON FILE
ALGARIN DONES, MARILIN         ADDRESS ON FILE
ALGARIN ECHANDI, FELIPE        ADDRESS ON FILE
ALGARIN ECHANDI, MARCOS R.     ADDRESS ON FILE
ALGARIN ECHANDI, MARCOS R.     ADDRESS ON FILE
ALGARIN FEBO, ADA NELLY        ADDRESS ON FILE
ALGARIN FEBRES, EVELYN         ADDRESS ON FILE
ALGARIN FIGUEROA, CARMEN       ADDRESS ON FILE
ALGARIN FIGUEROA, LUZ M        ADDRESS ON FILE
ALGARIN FIGUEROA, MIGDALIA     ADDRESS ON FILE
ALGARIN FLORES, TISHA          ADDRESS ON FILE
ALGARIN FRANCO, WANDA          ADDRESS ON FILE
ALGARIN FRED, MANUEL           ADDRESS ON FILE
ALGARIN GARCIA, CONCEPCION     ADDRESS ON FILE
Algarin Garcia, Fernando       ADDRESS ON FILE
ALGARIN GARCIA, GEOVANNY       ADDRESS ON FILE
ALGARIN GARCIA, IVAN           ADDRESS ON FILE
ALGARIN GIPPSON, VILMARY       ADDRESS ON FILE
ALGARIN GONZALEZ, ITZA I       ADDRESS ON FILE
ALGARIN GONZALEZ, MINERVA      ADDRESS ON FILE
ALGARIN GONZALEZ, ZAIDA L      ADDRESS ON FILE
ALGARIN GUADALUPE, JACKELINE   ADDRESS ON FILE
ALGARIN GUADALUPE, JACKELINE   ADDRESS ON FILE
ALGARIN GUZMAN, GERMAN         ADDRESS ON FILE
ALGARIN HERNANDEZ, JULIO C     ADDRESS ON FILE
ALGARIN HERNANDEZ, YOLANDA     ADDRESS ON FILE
ALGARIN LOPEZ, ABRAHAM         ADDRESS ON FILE
ALGARIN LOPEZ, IVELISSE        ADDRESS ON FILE
ALGARIN LOPEZ, LOURDES         ADDRESS ON FILE
ALGARIN LUNA, PABLO M          ADDRESS ON FILE
Algarin Maldonado, Harold I.   ADDRESS ON FILE
ALGARIN MARTINEZ, EDWIN        ADDRESS ON FILE
ALGARIN MARTINEZ, NOEL         ADDRESS ON FILE
ALGARIN MATOS, JUSTINO         ADDRESS ON FILE
ALGARIN MENDOZA, RAMON         ADDRESS ON FILE
ALGARIN MOLINA, IVELISSE       ADDRESS ON FILE
ALGARIN MONTANEZ, ALI          ADDRESS ON FILE
ALGARIN MORALES, DINELIA       ADDRESS ON FILE
ALGARIN MORALES, JULIO         ADDRESS ON FILE
ALGARIN MORALES, LAURA         ADDRESS ON FILE
ALGARIN MORALES, OSVALDO       ADDRESS ON FILE
ALGARIN MORALES, WANDA E.      ADDRESS ON FILE
ALGARIN MORALES, WILFREDO      ADDRESS ON FILE
ALGARIN MORENO, JOSE M         ADDRESS ON FILE
ALGARIN NARVAEZ, LINDA         ADDRESS ON FILE
ALGARIN NARVAEZ, LISA          ADDRESS ON FILE
ALGARIN NAVARRO, EDDIE         ADDRESS ON FILE
ALGARIN NEGRON, GEORGINA       ADDRESS ON FILE
ALGARIN NEGRON, JORGE E        ADDRESS ON FILE
ALGARIN OJEDA, JORGE J         ADDRESS ON FILE
ALGARIN ORONA, KELLY           ADDRESS ON FILE
ALGARIN ORTEGA, WILLIAM        ADDRESS ON FILE
ALGARIN ORTEGA, WIMILDA        ADDRESS ON FILE
ALGARIN ORTIZ, GLORIA          ADDRESS ON FILE
ALGARIN ORTIZ, JAVIER          ADDRESS ON FILE
ALGARIN ORTIZ, JOSE JR         ADDRESS ON FILE
ALGARIN ORTIZ, LILLIAN         ADDRESS ON FILE
ALGARIN ORTIZ, LUIS            ADDRESS ON FILE




                                                                           Page 232 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 233 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALGARIN ORTIZ, MELISSA           ADDRESS ON FILE
ALGARIN ORTIZ, OLGA I.           ADDRESS ON FILE
ALGARIN ORTIZ, SAUL              ADDRESS ON FILE
ALGARIN OTERO, LYNETTE           ADDRESS ON FILE
Algarin Oyola, Luis A            ADDRESS ON FILE
ALGARIN PABON, YARAN K           ADDRESS ON FILE
ALGARIN PACHECO, SHEILA DEL C.   ADDRESS ON FILE
ALGARIN PEREZ, ARISCELA          ADDRESS ON FILE
ALGARIN PEREZ, DAISY             ADDRESS ON FILE
ALGARIN PEREZ, ZOILA             ADDRESS ON FILE
ALGARIN PRINCIPE, ABIMELEC       ADDRESS ON FILE
Algarin Ramirez, Gladys          ADDRESS ON FILE
ALGARIN RAMOS, AGRIPINO          ADDRESS ON FILE
ALGARIN RAMOS, DAYSY             ADDRESS ON FILE
ALGARIN RAMOS, EDA L             ADDRESS ON FILE
ALGARIN RAMOS, MIREIDY           ADDRESS ON FILE
Algarin Rivera, Alexis E         ADDRESS ON FILE
ALGARIN RIVERA, ALMA E           ADDRESS ON FILE
ALGARIN RIVERA, BENITA           ADDRESS ON FILE
ALGARIN RIVERA, CANTALICIA       ADDRESS ON FILE
ALGARIN RIVERA, ELISEO           ADDRESS ON FILE
ALGARIN RIVERA, GENOVEVA         ADDRESS ON FILE
ALGARIN RIVERA, IDANIA           ADDRESS ON FILE
ALGARIN RIVERA, JANNETTE         ADDRESS ON FILE
ALGARIN RIVERA, LUZ              ADDRESS ON FILE
ALGARIN RIVERA, MARITZA          ADDRESS ON FILE
ALGARIN RIVERA, MARITZA          ADDRESS ON FILE
ALGARIN RIVERA, MARTINA          ADDRESS ON FILE
ALGARIN RIVERA, PRISCILA         ADDRESS ON FILE
ALGARIN RIVERA, SARAI            ADDRESS ON FILE
ALGARIN RIVERA,OSVALDO           ADDRESS ON FILE
ALGARIN RODRIGUEZ, IVAN          ADDRESS ON FILE
Algarin Rodriguez, Ivan          ADDRESS ON FILE
ALGARIN RODRIGUEZ, JACQUELINE    ADDRESS ON FILE
ALGARIN RODRIGUEZ, JULIO A       ADDRESS ON FILE
ALGARIN RODRIGUEZ, LUIS          ADDRESS ON FILE
ALGARIN RODRIGUEZ, MARYLIN       ADDRESS ON FILE
ALGARIN RODRIGUEZ, MERARY        ADDRESS ON FILE
ALGARIN RODRIGUEZ, NATHALIA      ADDRESS ON FILE
Algarin Rodriguez, Omayra E      ADDRESS ON FILE
ALGARIN RODRIGUEZ, ROSA          ADDRESS ON FILE
ALGARIN RODRIGUEZ, VICENTE       ADDRESS ON FILE
ALGARIN ROMAN, ANA L             ADDRESS ON FILE
ALGARIN ROMAN, MAYRA             ADDRESS ON FILE
ALGARIN ROSADO, ARACELIS         ADDRESS ON FILE
ALGARIN ROSADO, MADELINE         ADDRESS ON FILE
ALGARIN ROSADO, NOLLYRIS         ADDRESS ON FILE
ALGARIN ROSADO, RAMON A          ADDRESS ON FILE
ALGARIN ROSARIO, CARMEN E        ADDRESS ON FILE
ALGARIN RUIZ, JAIME              ADDRESS ON FILE
ALGARIN SAEZ, AMELIA             ADDRESS ON FILE
ALGARIN SAEZ, AMELIA             ADDRESS ON FILE
ALGARIN SANCHEZ, ERICK           ADDRESS ON FILE
Algarin Sanchez, Erick G.        ADDRESS ON FILE
ALGARIN SANCHEZ, SATURNINO       ADDRESS ON FILE
ALGARIN SANCHEZ, YOLANDA         ADDRESS ON FILE
ALGARIN SANTIAGO, JACQUELINE     ADDRESS ON FILE
ALGARIN SANTOS, JORGE L          ADDRESS ON FILE
ALGARIN SANTOS, LUZ M            ADDRESS ON FILE
ALGARIN SANTOS, ORLANDO          ADDRESS ON FILE




                                                                             Page 233 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 234 of 3500
                                                                                                    Creditor Matrix

Creditor Name                              Address1                       Address2                               Address3              Address4   City         State   PostalCode   Country
ALGARIN SANTOS, ROSA E                     ADDRESS ON FILE
ALGARIN SANTOS, ROSA M                     ADDRESS ON FILE
ALGARIN SEGARRA, MINERVA                   ADDRESS ON FILE
ALGARIN SERRANO, SHEILA                    ADDRESS ON FILE
ALGARIN SORRENTINI, MONICA                 ADDRESS ON FILE
ALGARIN SORRENTINI, MONICA                 ADDRESS ON FILE
ALGARIN SOTO, NEFTALI O                    ADDRESS ON FILE
ALGARIN TORRES, DORIS M                    ADDRESS ON FILE
ALGARIN TORRES, GLORIA                     ADDRESS ON FILE
ALGARIN TORRES, GLORIA                     ADDRESS ON FILE
ALGARIN TORRES, RAFAEL                     ADDRESS ON FILE
ALGARIN TRUJILLO, RUBEN                    ADDRESS ON FILE
Algarin Vargas, Angel L                    ADDRESS ON FILE
ALGARIN VARGAS, JUANA                      ADDRESS ON FILE
ALGARIN VARGAS, NILDA                      ADDRESS ON FILE
ALGARIN VAZQUEZ, ANGELICA                  ADDRESS ON FILE
ALGARIN VAZQUEZ, IRIS D                    ADDRESS ON FILE
Algarin Vazquez, Luis R                    ADDRESS ON FILE
ALGARIN VAZQUEZ, NELSON                    ADDRESS ON FILE
ALGARIN VAZQUEZ, ORLANDO                   ADDRESS ON FILE
ALGARIN VILLANUEVA, IRIS                   ADDRESS ON FILE
ALGARIN ZAES, AMELIA                       ADDRESS ON FILE
ALGARIN ZAYAS, GABRIELA                    ADDRESS ON FILE
ALGARIN ZAYAS, JESUS                       ADDRESS ON FILE
ALGARIN ZAYAS, JOSE                        ADDRESS ON FILE
ALGARIN, NORA C                            ADDRESS ON FILE
ALGARIND HERNANDEZ, NAIVETT                ADDRESS ON FILE
ALGARIU CRUZ, VIVIAN J.                    ADDRESS ON FILE
ALGARROBO FELIZ, JORGE                     ADDRESS ON FILE
ALGAZE BEATO, CRISTINA                     ADDRESS ON FILE
ALGAZE SECO, ALEJANDRO                     ADDRESS ON FILE
Algea Resto, Joel                          ADDRESS ON FILE
ALGEA RESTO, JOEL                          ADDRESS ON FILE
ALGEA RESTO,MARIELIS                       ADDRESS ON FILE
ALGECIRAS MATIAS, ALEX                     ADDRESS ON FILE
ALGIA M OJEDA BIGORRA                      ADDRESS ON FILE
ALGORRI FLORES, ARLIN                      ADDRESS ON FILE
ALGORRI FLORES, CARMEN L                   ADDRESS ON FILE
ALGORRI MATOS, DENISSE M                   ADDRESS ON FILE
ALGORRI NAVARRO, ADALBERTO                 ADDRESS ON FILE
ALGORRI NAVARRO, JOSE                      ADDRESS ON FILE
ALGORRI NAVARRO, JOSE A                    ADDRESS ON FILE
Algorri Navarro, William                   ADDRESS ON FILE
ALGORRI, ADALBERTO                         ADDRESS ON FILE
ALGUALCIL REGIONAL DEL TRIBUNAL SAN JUAN   PO BOX 363507                  CIVIL KAC 2010‐0313                                                     SAN JUAN     PR      00936‐6507
ALGUALCIL REGIONAL DEL TRIBUNAL SAN JUAN   TRIBUNAL DE PRIMERA INTANCIA   SALA SUPERIOR SAN JUAN                 CIVIL KAC 2010‐0313              SAN JUAN     PR      00902
ALI CRUZ CARLO VILLALOBO                   ADDRESS ON FILE
ALI FARES, EYAD                            ADDRESS ON FILE
ALI HERNANDEZ, NAJEMA                      ADDRESS ON FILE
ALI MAHMUD CONTRERAS, LEYLA                ADDRESS ON FILE
ALI MASTALI                                ADDRESS ON FILE
ALI MASTALI                                ADDRESS ON FILE
ALI MD , SYED T                            ADDRESS ON FILE
ALI RASHID, YOUSEF                         ADDRESS ON FILE
ALI ROSADO, SHERINE                        ADDRESS ON FILE
ALI SHEHADEH, HOSAM                        ADDRESS ON FILE
ALI SULEIMAN, OMAR                         ADDRESS ON FILE
ALI SULEIMAN, OMAR                         ADDRESS ON FILE
ALI TORRES ALBERTY/PURA ENERGIA INC        ADDRESS ON FILE
ALI, FADI                                  ADDRESS ON FILE




                                                                                                   Page 234 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                        Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 235 of 3500
                                                                                                             Creditor Matrix

Creditor Name                            Address1                               Address2                                  Address3                Address4                City            State   PostalCode   Country
ALI, MUNEER                              ADDRESS ON FILE
ALI, MURAD                               ADDRESS ON FILE
ALIA C PUIG VELAZQUEZ                    ADDRESS ON FILE
ALIANA MIRO SANTIAGO                     ADDRESS ON FILE
ALIANIS M ALICEA BATISTA                 ADDRESS ON FILE
ALIANZA AUTISMODE PR                     VILLAS DE CUPEY                        X‐10 CALLE ETERNIDADES                                                                    SAN JUAN        PR      00921
ALIANZA AUTISMODE PR                     VILLAS DE CUPEY                        X 10 CALLE ETERNIDADES                                                                    SAN JUAN        PR      00926
ALIANZA COMUNITARIA DE LA MONTANA INC HC 02 BOX 11120                                                                                                                     YAUCO           PR      00698
ALIANZA CORRECCIONAL UNIDA SERVIDORES PÚ LCDA. GENOVEVA VALENTIN SOTO           PO BOX 13695                                                                              SAN JUAN        PR      00908‐3695

ALIANZA CORRECCIONAL UNIDA SERVIDORES PÚ LCDA. MARISEL BAEZ SANTIAGO            BANCO COOP PLZ. 623 AVE.                  Ponce DE LEON STE 802                           SAN JUAN        PR      00917‐4827
ALIANZA CORRECCIONAL UNIDA Y OTROS       LCDA. GENOVEVA VALENTÍN SOTO           PO BOX 13695                                                                              SAN JUAN        PR      00908‐3695

ALIANZA CORRECCIONAL UNIDA Y OTROS        LCDA. MARISEL BÁEZ SANTIAGO;          BANCO COOP PLZ B                          623 AVE.                Ponce DE LEÓN STE 802   SAN JUAN        PR      00917‐4827
ALIANZA CULT RECR 4TH EXT CLUB SAN JUAN   4TH EXT CALLE NEBLIN                                                                                                            SAN JUAN        PR      00924
ALIANZA DE PR CONTRA LA TRATA HUMANA      PO BOX 195613                                                                                                                   SAN JUAN        PR      00919‐5613
ALIANZA DE SALUD PARA TODO PUERTO RICO, COPO BOX 4317                                                                                                                     VEGA BAJA       PR      00694‐4317
ALIANZA EDUCATIVA EDIC, INC.              PO BOX 9120                                                                                                                     CAGUAS          PR      00726
ALIANZA FRANCESA DE PUERTO RICO           206 CALLE ROSARIO                                                                                                               SAN JUAN        PR      00911
ALIANZA LAURA APONTE POR LA PAZ SOCIAL    ( ALAPAS ) INC                        54 CALLE ROBLE STE 14                                                                     SAN JUAN        PR      00925
ALIANZA LAURA APONTE POR LA PAZ SOCIAL    CALLE JULIAN BLANCO # 11 SANTA RITA                                                                                             SAN JUAN        PR      00928‐0000
ALIANZA LIDERES COM ESPECIALES DEL OESTE HC 2 BOX 13340                                                                                                                   LAJAS           PR      00667
ALIANZA MULTISECTORAL POR EL DESARROLLO ADDRESS ON FILE
                                                                                                                                                CITIBANK TOWER PISO
ALIANZA MUNICIPAL DE SERVICIOS INTEGRADOS LCDO. EYCK LUGO RIVERA                EDGE LEGAL STRATEGIES PSC                 252 AVE Ponce DE LEÓN 12                        SAN JUAN        PR      00918
ALIANZA NUEVA TRASPORT INC                URB MARISOL                           B35 CALLE 4                                                                               ARECIBO         PR      00612‐2932
ALIANZA PARA PUERTO RICO SIN DROGAS INC. PO BOX 195112                                                                                                                    SAN JUAN        PR      00919‐5112
ALIANZA PARA UN NUEVO COMIENZO            N9 JESUS M LAGO                                                                                                                 UTUADO          PR      00641
ALIANZA PARA UN PR SIN DROGAS INC         PO BOX 195112                                                                                                                   SAN JUAN        PR      00919‐5112
ALIANZA PARA UNA EDUC. ALTERNATIVA, INC PO BOX 29132                                                                                                                      SAN JUAN        PR      00929‐0132
ALIANZA PEDAGOGICA CORP                   PO BOX 190842                                                                                                                   SAN JUAN        PR      00919‐0842
ALIANZA PEDAGOJICA INC                    P O BOX 190842                                                                                                                  SAN JUAN        PR      00190842
ALIANZA PREVENCION OBESIDAD PEDIATRICA BO AMELIA                                PO BOX 3141                                                                               CATANO          PR      00963
ALIANZA PREVENCION OBESIDAD PEDIATRICA PO BOX 3141 BO. AMELIA                                                                                                             CATANO          PR      00963
ALIANZA PRO RESCATE DE ANIMALES INC       PMB 281                               405 AVE ESMERALDA                                                                         GUAYNABO        PR      00969
ALIANZA SICOSOCIAL DE PUERTO RICO         EL BILBAO SUITE 1402                  COSTA RICA 121                                                                            SAN JUAN        PR      00917
ALIANZA TERAPEUTICA INC                   ALTURAS DE FLAMBOYAN                  C/18 BLQ FF‐1                                                                             BAYAMON         PR      00956
ALIANZA TERAPEUTICA INC                   AVE. TNT. NELSON MARTINEZ             CALLE 18 BLQ FF1                                                                          BAYAMON         PR      00959
ALIANZA TERAPEUTICA INC                   HC‐50 BOX 40161                                                                                                                 SAN LORENZO     PR      00754
ALICANO BALBUENA, AIDA                    ADDRESS ON FILE
ALICANO CALDERON, LOURDES                 ADDRESS ON FILE
ALICANO CANTRES, AIDA L.                  ADDRESS ON FILE
ALICANO DONES, JOHANNA                    ADDRESS ON FILE
ALICANO ESCALERA, FELICITA                ADDRESS ON FILE
ALICANO ESCALERA, FELICITA                ADDRESS ON FILE
ALICANO GONZALEZ, JAIME                   ADDRESS ON FILE
ALICANO HERNANDEZ, RAYMOND                ADDRESS ON FILE
ALICANO MARTINEZ, REYNALDO                ADDRESS ON FILE
Alicano Miranda, Juan A.                  ADDRESS ON FILE
ALICANO ROBLES, JUAN                      ADDRESS ON FILE
ALICANO ROBLES, ZULMA                     ADDRESS ON FILE
ALICANO ROSADO, JESUS                     ADDRESS ON FILE
ALICATE SOLUTIONS CORP                    PO BOX 470                                                                                                                      GUAYNABO        PR      00970
ALICE B QUILICHINI                        ADDRESS ON FILE
ALICE C MARTINEZ PAGAN                    ADDRESS ON FILE
ALICE COLON SANTIAGO                      ADDRESS ON FILE
ALICE COMAS PEREZ                         ADDRESS ON FILE
ALICE CRUZ AVILES                         ADDRESS ON FILE
ALICE D COLON ITHIER                      ADDRESS ON FILE
ALICE D HERNANDEZ PEREZ                   ADDRESS ON FILE




                                                                                                            Page 235 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 236 of 3500
                                                                                                   Creditor Matrix

Creditor Name                           Address1                       Address2                                 Address3   Address4   City         State   PostalCode   Country
ALICE DEL RIO PLANTENYS                 LCDA. JOANNE DE JESÚS NÚÑEZ    PO BOX 70244                                                   SAN JUAN     PR      00936‐8244
ALICE DEL RIO PLANTENYS                 LCDA. VANESSA SAXTON ARROYO    PO BOX 191590                                                  SAN JUAN     PR      00919‐1590
ALICE DEL RIO PLANTENYS                 LCDO. LUIS DOMÍNGUEZ FUERTES   400 CALLE CALAF                          PMB 165               SAN JUAN     PR      00918‐1314
ALICE DELGADO, RAMON                    ADDRESS ON FILE
ALICE E COLON WARREN                    ADDRESS ON FILE
ALICE E PAGAN MARTINEZ                  ADDRESS ON FILE
ALICE G FLECHA CRUZ                     ADDRESS ON FILE
ALICE GARCIA CURI                       ADDRESS ON FILE
ALICE GOMEZ RODRIGUEZ                   ADDRESS ON FILE
ALICE GONZALEZ GONZALEZ                 ADDRESS ON FILE
ALICE IN STORYLAND INC                  VILLA CAROLINA                 27 30 CALLE 7                                                  CAROLINA     PR      00985
ALICE IN WONDERLAND FOOD & SERVICE CORP COND MONTE MAYOR               44 JUAN C BORBON BOX 680                                       GUAYNABO     PR      00969
ALICE M BERMUDEZ MATOS A/C MARIA M MATOADDRESS ON FILE
ALICE M LEBRON ROSA                     ADDRESS ON FILE
ALICE M LOPEZ RODRIGUEZ                 ADDRESS ON FILE
ALICE M MALDONADO RODRIGUEZ             ADDRESS ON FILE
ALICE M QUINONES ALMODOVAR              ADDRESS ON FILE
ALICE M VELAZQUEZ                       ADDRESS ON FILE
ALICE M. VELEZ VELEZ                    ADDRESS ON FILE
ALICE MIRIAM LUGO MILLAN                ADDRESS ON FILE
ALICE MOLINA MORALES                    ADDRESS ON FILE
ALICE MYRIAM RODRIGUEZ VELEZ            ADDRESS ON FILE
ALICE P SANTIAGO MONTALVO               ADDRESS ON FILE
ALICE RICHARD TORRES                    ADDRESS ON FILE
ALICE RICHEL ORTIZ MARRERO              ADDRESS ON FILE
ALICE RIVERA TORO                       ADDRESS ON FILE
ALICE ROCHE ALVARADO                    ADDRESS ON FILE
ALICE S WALLACE                         ADDRESS ON FILE
ALICE SANTIAGO MARIN                    ADDRESS ON FILE
ALICE SOTO GONZALEZ                     ADDRESS ON FILE
ALICE V VAZQUEZ CASTRO                  ADDRESS ON FILE
ALICE VALENTIN MERCADO                  ADDRESS ON FILE
ALICEA , LAUROSIE                       ADDRESS ON FILE
ALICEA ABREU, JOSE                      ADDRESS ON FILE
ALICEA ACEVEDO, IVAN                    ADDRESS ON FILE
ALICEA ACEVEDO, IVAN R                  ADDRESS ON FILE
ALICEA ACEVEDO, LUCRECIA                ADDRESS ON FILE
ALICEA ACEVEDO, MONSERRATE              ADDRESS ON FILE
ALICEA ACOSTA, ELIZABETH                ADDRESS ON FILE
ALICEA ACOSTA, HERIB                    ADDRESS ON FILE
ALICEA AGOSTO, ALMA                     ADDRESS ON FILE
ALICEA AGOSTO, ALMA                     ADDRESS ON FILE
ALICEA AGOSTO, ALMA                     ADDRESS ON FILE
ALICEA AGOSTO, ELENA                    ADDRESS ON FILE
ALICEA AGOSTO, RAMON                    ADDRESS ON FILE
Alicea Aguayo, Jenny                    ADDRESS ON FILE
Alicea Aguayo, Manuelita                ADDRESS ON FILE
ALICEA ALBALADEJO, ELOY                 ADDRESS ON FILE
ALICEA ALERS, THELMA E                  ADDRESS ON FILE
ALICEA ALICEA, ADRIAN                   ADDRESS ON FILE
ALICEA ALICEA, ANGEL LUIS               ADDRESS ON FILE
ALICEA ALICEA, CARMEN E.                ADDRESS ON FILE
ALICEA ALICEA, EVELYN                   ADDRESS ON FILE
ALICEA ALICEA, GILBERTO                 ADDRESS ON FILE
Alicea Alicea, Glicelia                 ADDRESS ON FILE
ALICEA ALICEA, JOVANY                   ADDRESS ON FILE
ALICEA ALICEA, MARIA M                  ADDRESS ON FILE
ALICEA ALICEA, RAFAEL                   ADDRESS ON FILE
ALICEA ALICEA, REYNALDO                 ADDRESS ON FILE
ALICEA ALICEA, ROSA B                   ADDRESS ON FILE




                                                                                                  Page 236 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 237 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA ALICEA, ROSA IRIS      ADDRESS ON FILE
ALICEA ALMODOVAR, JUAN R.     ADDRESS ON FILE
ALICEA ALONSO, ISANNETTE      ADDRESS ON FILE
ALICEA ALVARADO, ANA C        ADDRESS ON FILE
ALICEA ALVARADO, CESAR A      ADDRESS ON FILE
ALICEA ALVARADO, DAGMAR       ADDRESS ON FILE
ALICEA ALVARADO, GERARDO      ADDRESS ON FILE
ALICEA ALVARADO, GIOVANNA     ADDRESS ON FILE
ALICEA ALVARADO, JANNETTE     ADDRESS ON FILE
ALICEA ALVARADO, RICARDO I.   ADDRESS ON FILE
ALICEA ALVARADO, SHEKIRA S    ADDRESS ON FILE
ALICEA ALVARADO, YARED        ADDRESS ON FILE
ALICEA ALVAREZ, ALBERTO       ADDRESS ON FILE
ALICEA ALVAREZ, CARMEN M      ADDRESS ON FILE
ALICEA ALVAREZ, LUIS          ADDRESS ON FILE
ALICEA ALVAREZ, LUIS ANGEL    ADDRESS ON FILE
ALICEA ALVAREZ, MARIANNI      ADDRESS ON FILE
ALICEA ALVAREZ, TAMMY E.      ADDRESS ON FILE
ALICEA ALVAREZ, WALESKA       ADDRESS ON FILE
ALICEA ALVAREZ, WALESKA       ADDRESS ON FILE
ALICEA AMADOR, AIDA L         ADDRESS ON FILE
Alicea Amador, Maria E.       ADDRESS ON FILE
ALICEA AMADOR, MINERVA        ADDRESS ON FILE
ALICEA AMADOR, MINERVA        ADDRESS ON FILE
ALICEA AMARO, LINETTE         ADDRESS ON FILE
ALICEA ANAYA, ANA E           ADDRESS ON FILE
ALICEA ANAYA, HILDA L         ADDRESS ON FILE
ALICEA ANAYA, MAYRA L.        ADDRESS ON FILE
Alicea Andino, Maribel        ADDRESS ON FILE
ALICEA ANDUJAR, ZORAIDA       ADDRESS ON FILE
ALICEA ANTONGIORGI, GLADYS    ADDRESS ON FILE
ALICEA APONTE, ANGEL          ADDRESS ON FILE
Alicea Aponte, Angel G        ADDRESS ON FILE
ALICEA APONTE, AWILDA         ADDRESS ON FILE
ALICEA APONTE, CARLOS         ADDRESS ON FILE
ALICEA APONTE, CARMEN E       ADDRESS ON FILE
ALICEA APONTE, EVELYN         ADDRESS ON FILE
ALICEA APONTE, ISMAEL E       ADDRESS ON FILE
ALICEA APONTE, KATIRIA        ADDRESS ON FILE
ALICEA APONTE, LISSETTE       ADDRESS ON FILE
ALICEA APONTE, LIZ M          ADDRESS ON FILE
ALICEA APONTE, MARIBEL        ADDRESS ON FILE
ALICEA APONTE, MARIBEL        ADDRESS ON FILE
ALICEA APONTE, NAYDA          ADDRESS ON FILE
ALICEA APONTE, NOEMI          ADDRESS ON FILE
ALICEA APONTE, PEDRO          ADDRESS ON FILE
ALICEA ARCE, NILDA L.         ADDRESS ON FILE
ALICEA ARCE, NILDA LUZ        ADDRESS ON FILE
ALICEA ARROYO, MARIA          ADDRESS ON FILE
ALICEA ARROYO, MARIA I        ADDRESS ON FILE
ALICEA ARROYO, RAMON          ADDRESS ON FILE
ALICEA AVILA, MELANY          ADDRESS ON FILE
ALICEA AVILA, MELANY          ADDRESS ON FILE
Alicea Aviles, David          ADDRESS ON FILE
ALICEA AVILES, JUAN A.        ADDRESS ON FILE
ALICEA AVILES, JUAN A.        ADDRESS ON FILE
ALICEA AVILES, MIRTELINA      ADDRESS ON FILE
ALICEA AYALA, ANDY            ADDRESS ON FILE
ALICEA AYALA, CAROLYN         ADDRESS ON FILE
Alicea Ayala, Edgardo J       ADDRESS ON FILE




                                                                          Page 237 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 238 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA AYALA, GRACE M          ADDRESS ON FILE
ALICEA AYALA, JIMMY            ADDRESS ON FILE
ALICEA AYALA, JUDITH           ADDRESS ON FILE
ALICEA AYALA, LORENZO          ADDRESS ON FILE
ALICEA AYALA, MILAGROS         ADDRESS ON FILE
ALICEA AYALA, MILAGROS         ADDRESS ON FILE
ALICEA AYALA, ROSALYN          ADDRESS ON FILE
ALICEA AYALA, YELITSA M        ADDRESS ON FILE
ALICEA BABILONIA, BIENVENIDO   ADDRESS ON FILE
ALICEA BAEZ, ANGEL L           ADDRESS ON FILE
ALICEA BAEZ, ANGELIMAR         ADDRESS ON FILE
Alicea Baez, Apolos            ADDRESS ON FILE
ALICEA BAEZ, LUIS A            ADDRESS ON FILE
ALICEA BAEZ, MARANAT           ADDRESS ON FILE
ALICEA BAEZ, NILDA             ADDRESS ON FILE
ALICEA BARRETO, EDNA P         ADDRESS ON FILE
ALICEA BARRETO, EDNA P.        ADDRESS ON FILE
ALICEA BARRETO, GIOVANNI       ADDRESS ON FILE
ALICEA BARRETO, JACQUELINE     ADDRESS ON FILE
ALICEA BARRETO, JOSE           ADDRESS ON FILE
ALICEA BARRETO, JOSE           ADDRESS ON FILE
ALICEA BARRETO, JUAN O.        ADDRESS ON FILE
ALICEA BARRETO, LUIS           ADDRESS ON FILE
ALICEA BARRETO, RAFAEL O       ADDRESS ON FILE
ALICEA BATISTA, FERNANDO G.    ADDRESS ON FILE
ALICEA BAUZA, SUSAN Y          ADDRESS ON FILE
ALICEA BELBRUTH, MIGUEL        ADDRESS ON FILE
ALICEA BELEN, AURELIO          ADDRESS ON FILE
ALICEA BELLO, MARGARITA I      ADDRESS ON FILE
ALICEA BELTRAN, ELMA M         ADDRESS ON FILE
ALICEA BELTRAN, MARIA I        ADDRESS ON FILE
ALICEA BENITEZ, JUAN B         ADDRESS ON FILE
ALICEA BENITEZ, VIVIANA        ADDRESS ON FILE
ALICEA BERDECIA, ISMAEL        ADDRESS ON FILE
ALICEA BERNIER, JULIO E        ADDRESS ON FILE
ALICEA BERRIOS MD, INGRID      ADDRESS ON FILE
ALICEA BERRIOS, ANGELICA       ADDRESS ON FILE
ALICEA BERRIOS, CLARITZA       ADDRESS ON FILE
ALICEA BERRIOS, HECTOR         ADDRESS ON FILE
ALICEA BERRIOS, HECTOR J.      ADDRESS ON FILE
ALICEA BERRIOS, ISMAEL         ADDRESS ON FILE
ALICEA BERRIOS, LUIS A         ADDRESS ON FILE
ALICEA BERRIOS, MAIDA          ADDRESS ON FILE
ALICEA BERRIOS, MARCOS         ADDRESS ON FILE
ALICEA BERRIOS, MARIA DEL C.   ADDRESS ON FILE
ALICEA BERRIOS, MARIA ELISA    ADDRESS ON FILE
ALICEA BERRIOS, MARLENE        ADDRESS ON FILE
ALICEA BERRIOS, WILMA          ADDRESS ON FILE
ALICEA BOCANEGRA, VICTOR       ADDRESS ON FILE
ALICEA BONHOME, AURELIA        ADDRESS ON FILE
Alicea Bonilla, Carlos         ADDRESS ON FILE
ALICEA BONILLA, ELBA           ADDRESS ON FILE
ALICEA BONILLA, HUMBERTO F.    ADDRESS ON FILE
ALICEA BORRERO, JOSE E         ADDRESS ON FILE
ALICEA BORRERO, JUAN           ADDRESS ON FILE
Alicea Borrero, Milton         ADDRESS ON FILE
Alicea Bruno, Juan A.          ADDRESS ON FILE
Alicea Bruno, Miguel A         ADDRESS ON FILE
ALICEA BUFFILL, MIGUEL A       ADDRESS ON FILE
ALICEA BURBON, WILFREDO        ADDRESS ON FILE




                                                                           Page 238 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 239 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA BURGOS, ALEXANDER        ADDRESS ON FILE
ALICEA BURGOS, CARMEN T         ADDRESS ON FILE
ALICEA BURGOS, GLORIA M         ADDRESS ON FILE
ALICEA BURGOS, JORGE            ADDRESS ON FILE
ALICEA CABASSA, LEROY           ADDRESS ON FILE
ALICEA CABRERA, NANCY A         ADDRESS ON FILE
ALICEA CALDERIN, ALODIA         ADDRESS ON FILE
ALICEA CALDERO, LUIS            ADDRESS ON FILE
ALICEA CALDERON, AIDA L.        ADDRESS ON FILE
ALICEA CALDERON, ANGEL M        ADDRESS ON FILE
ALICEA CALDERON, LUIS           ADDRESS ON FILE
ALICEA CALDERON, RAFAEL         ADDRESS ON FILE
ALICEA CALDERON, VILMA          ADDRESS ON FILE
ALICEA CALIXTO, EDUARDO         ADDRESS ON FILE
ALICEA CALIXTO, EDUARDO         ADDRESS ON FILE
ALICEA CALIXTO,EDUARDO          ADDRESS ON FILE
ALICEA CAMACHO, GREGORIO        ADDRESS ON FILE
ALICEA CAMPOS, JULIA            ADDRESS ON FILE
ALICEA CAMPOS, MARIA M          ADDRESS ON FILE
ALICEA CAMPOS, RAFAEL JOSE      ADDRESS ON FILE
ALICEA CANDELARIO, JOSHUA       ADDRESS ON FILE
ALICEA CANDELARIO, LUZ C        ADDRESS ON FILE
ALICEA CARABALLO, ALEXIS        ADDRESS ON FILE
ALICEA CARABALLO, ANA L         ADDRESS ON FILE
ALICEA CARABALLO, CASILDA       ADDRESS ON FILE
ALICEA CARABALLO, GLORIA E      ADDRESS ON FILE
Alicea Caraballo, Irving        ADDRESS ON FILE
ALICEA CARABALLO, JESUS         ADDRESS ON FILE
ALICEA CARABALLO, JOSE          ADDRESS ON FILE
ALICEA CARABALLO, MARILYN       ADDRESS ON FILE
ALICEA CARABALLO, NOEL          ADDRESS ON FILE
ALICEA CARABALLO, SARA          ADDRESS ON FILE
ALICEA CARABALLO, WILFREDO      ADDRESS ON FILE
ALICEA CARDONA, ALEX J          ADDRESS ON FILE
ALICEA CARDONA, OLGA E          ADDRESS ON FILE
ALICEA CARRASCO, GILBERTO       ADDRESS ON FILE
ALICEA CARRASQUILLO, LAURIMAR   ADDRESS ON FILE
ALICEA CARRILLO, JOSE           ADDRESS ON FILE
ALICEA CARRILLO, RAMONITA       ADDRESS ON FILE
ALICEA CARRILLO, WANDA          ADDRESS ON FILE
Alicea Carrion, Asuncion        ADDRESS ON FILE
ALICEA CARRION, FRANCISCO       ADDRESS ON FILE
Alicea Carrion, Jose E          ADDRESS ON FILE
Alicea Cartagena, Alberto       ADDRESS ON FILE
ALICEA CARTAGENA, MARIA DE L.   ADDRESS ON FILE
ALICEA CASANOVA, CARMELO        ADDRESS ON FILE
ALICEA CASILLAS, NAKITSHA       ADDRESS ON FILE
ALICEA CASTILLO, JENNIFER       ADDRESS ON FILE
ALICEA CASTILLO, RADZIEL        ADDRESS ON FILE
ALICEA CASTRO, CARMEN M         ADDRESS ON FILE
ALICEA CASTRO, MIGUEL A         ADDRESS ON FILE
ALICEA CEBOLLERO, TAINA M.      ADDRESS ON FILE
ALICEA CENTENO, YANIRA          ADDRESS ON FILE
ALICEA CHAPARRO, DARLEEN        ADDRESS ON FILE
ALICEA CHETRANGOLO, GLIZETT     ADDRESS ON FILE
ALICEA CHETRANGOLO, JORGE O     ADDRESS ON FILE
ALICEA CHETRANGOLO, YADIRA E    ADDRESS ON FILE
ALICEA CINTRON, ANGEL           ADDRESS ON FILE
ALICEA CINTRON, ARACELIS        ADDRESS ON FILE
Alicea Cintron, Carmen L        ADDRESS ON FILE




                                                                            Page 239 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 240 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA CINTRON, ELISNEIDA      ADDRESS ON FILE
Alicea Cintron, Enjolras E.    ADDRESS ON FILE
ALICEA CINTRON, MARCOS A.      ADDRESS ON FILE
ALICEA COLLADO, ALIDA          ADDRESS ON FILE
ALICEA COLLAZO, ADRIANA        ADDRESS ON FILE
ALICEA COLLAZO, MANUEL         ADDRESS ON FILE
ALICEA COLON, ARNALDO          ADDRESS ON FILE
ALICEA COLON, CARLOS           ADDRESS ON FILE
Alicea Colon, Carlos Ramon     ADDRESS ON FILE
Alicea Colon, Cruz Maria       ADDRESS ON FILE
ALICEA COLON, ELVIS            ADDRESS ON FILE
ALICEA COLON, GLENDA L         ADDRESS ON FILE
ALICEA COLON, GLORIA D         ADDRESS ON FILE
ALICEA COLON, GLORINEL         ADDRESS ON FILE
ALICEA COLON, GLORY            ADDRESS ON FILE
ALICEA COLON, GLORY            ADDRESS ON FILE
ALICEA COLON, GRACIELA         ADDRESS ON FILE
ALICEA COLON, HECTOR           ADDRESS ON FILE
ALICEA COLON, MARANGELY        ADDRESS ON FILE
Alicea Colon, Maria L.         ADDRESS ON FILE
ALICEA COLON, MARIA L.         ADDRESS ON FILE
ALICEA COLON, MIGUEL           ADDRESS ON FILE
Alicea Colon, Miguel A         ADDRESS ON FILE
ALICEA COLON, MOISES           ADDRESS ON FILE
ALICEA COLON, NAYDA I          ADDRESS ON FILE
ALICEA COLON, NYDIA M          ADDRESS ON FILE
ALICEA COLON, RAFAEL           ADDRESS ON FILE
Alicea Colon, Rafael A         ADDRESS ON FILE
ALICEA COLON, RAUL             ADDRESS ON FILE
ALICEA COLON, RENE A           ADDRESS ON FILE
ALICEA COLON, ROSA I.          ADDRESS ON FILE
ALICEA COLON, VICTOR           ADDRESS ON FILE
ALICEA COLON, WANDA            ADDRESS ON FILE
ALICEA COLON, ZOLINDA          ADDRESS ON FILE
ALICEA COLON, ZORAIDA          ADDRESS ON FILE
ALICEA CONCEPCION, NELSON      ADDRESS ON FILE
ALICEA CONCEPCION, YVETTE      ADDRESS ON FILE
ALICEA CONTES, ROSA E          ADDRESS ON FILE
ALICEA CONTRERAS, ALEJANDRO    ADDRESS ON FILE
ALICEA CONTRERAS, CARLOS       ADDRESS ON FILE
Alicea Contreras, Carlos R     ADDRESS ON FILE
ALICEA CORA, BETSY             ADDRESS ON FILE
ALICEA CORDERO, NELIDA         ADDRESS ON FILE
ALICEA CORREA, CARMEN GLORIA   ADDRESS ON FILE
ALICEA CORTES, WILSON          ADDRESS ON FILE
ALICEA COSME, ELSIE            ADDRESS ON FILE
ALICEA COSME, FELIX            ADDRESS ON FILE
Alicea Cosme, Jorge            ADDRESS ON FILE
ALICEA COTTO, ALEXIS           ADDRESS ON FILE
ALICEA COTTO, ANA E.           ADDRESS ON FILE
ALICEA COTTO, CARMEN           ADDRESS ON FILE
ALICEA COTTO, CARMEN L         ADDRESS ON FILE
ALICEA COTTO, FRANCISCO J      ADDRESS ON FILE
ALICEA COTTO, JORGE LUIS       ADDRESS ON FILE
ALICEA COTTO, JUAN             ADDRESS ON FILE
ALICEA COTTO, MARIA J          ADDRESS ON FILE
ALICEA COTTO, MARIA N          ADDRESS ON FILE
ALICEA COTTO, RUTH             ADDRESS ON FILE
ALICEA COTTO, WANDA M          ADDRESS ON FILE
ALICEA CRESPO, FRANCISCO J.    ADDRESS ON FILE




                                                                           Page 240 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 241 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA CRESPO, LINDA E        ADDRESS ON FILE
ALICEA CRISPIN, LUIS M        ADDRESS ON FILE
ALICEA CRUZ, ADA E.           ADDRESS ON FILE
ALICEA CRUZ, DELANISE         ADDRESS ON FILE
ALICEA CRUZ, ELBA E           ADDRESS ON FILE
Alicea Cruz, Felipe           ADDRESS ON FILE
ALICEA CRUZ, FERNANDO         ADDRESS ON FILE
ALICEA CRUZ, IRIS M.          ADDRESS ON FILE
ALICEA CRUZ, JOSE             ADDRESS ON FILE
ALICEA CRUZ, JOSE             ADDRESS ON FILE
ALICEA CRUZ, JOSE A           ADDRESS ON FILE
ALICEA CRUZ, KATHLEEN         ADDRESS ON FILE
ALICEA CRUZ, LUZ D            ADDRESS ON FILE
ALICEA CRUZ, MARIA M          ADDRESS ON FILE
ALICEA CRUZ, MARIA S          ADDRESS ON FILE
ALICEA CRUZ, MERCEDES         ADDRESS ON FILE
ALICEA CRUZ, NORMA            ADDRESS ON FILE
Alicea Cruz, Sonia E.         ADDRESS ON FILE
Alicea Cruz, Sugerly          ADDRESS ON FILE
ALICEA CRUZ, TOMASA           ADDRESS ON FILE
ALICEA CRUZ, VALERIANO        ADDRESS ON FILE
ALICEA CRUZ,BERNARDO          ADDRESS ON FILE
ALICEA CUEVAS ORTEGA          ADDRESS ON FILE
ALICEA CUEVAS, AIDA E         ADDRESS ON FILE
ALICEA CUEVAS, CARMEN M       ADDRESS ON FILE
ALICEA CUEVAS, LOIDA I        ADDRESS ON FILE
ALICEA CUEVAS, NANCY          ADDRESS ON FILE
ALICEA CUEVAS, NICOLAS        ADDRESS ON FILE
ALICEA CURBELO, LYDIA M       ADDRESS ON FILE
ALICEA CURBELO, RICARDO       ADDRESS ON FILE
ALICEA DAVILA, ALMA I         ADDRESS ON FILE
ALICEA DAVILA, FELIPE         ADDRESS ON FILE
ALICEA DE CRUZ, MARIA DEL C   ADDRESS ON FILE
ALICEA DE DIAZ, ANA HILDA     ADDRESS ON FILE
ALICEA DE JESUS, AUREA E      ADDRESS ON FILE
ALICEA DE JESUS, MARIA        ADDRESS ON FILE
ALICEA DE JESUS, MARISELY     ADDRESS ON FILE
ALICEA DE JESUS, MARISELY     ADDRESS ON FILE
ALICEA DE JESUS, NESTOR       ADDRESS ON FILE
ALICEA DE JESUS, ROEMELLY     ADDRESS ON FILE
ALICEA DE JESUS, YEZMETT      ADDRESS ON FILE
ALICEA DE LEON, CARMEN A.     ADDRESS ON FILE
ALICEA DE LEON, INGRID N      ADDRESS ON FILE
ALICEA DE LEON, LUZ H         ADDRESS ON FILE
ALICEA DE LEON, PATRIA Y      ADDRESS ON FILE
ALICEA DE VAZQUEZ, ANA        ADDRESS ON FILE
ALICEA DECLET, CARMEN M       ADDRESS ON FILE
ALICEA DEL RIO, ALICE         ADDRESS ON FILE
ALICEA DEL RIO, ARSENIO       ADDRESS ON FILE
Alicea Delgado, Johnny        ADDRESS ON FILE
Alicea Delgado, Jose A        ADDRESS ON FILE
ALICEA DELGADO, MARIA L       ADDRESS ON FILE
ALICEA DEVARIE, ALICE B       ADDRESS ON FILE
ALICEA DEVARIE, ELIS I        ADDRESS ON FILE
ALICEA DEVARIE, JUAN          ADDRESS ON FILE
Alicea Devarie, Magaly        ADDRESS ON FILE
ALICEA DIAS, ALEXIS           ADDRESS ON FILE
ALICEA DIAZ, ADOLFO           ADDRESS ON FILE
ALICEA DIAZ, ALEXANDER        ADDRESS ON FILE
ALICEA DIAZ, ANDY             ADDRESS ON FILE




                                                                          Page 241 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 242 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA DIAZ, CARLOS           ADDRESS ON FILE
ALICEA DIAZ, CHRISTIAN        ADDRESS ON FILE
ALICEA DIAZ, EDWIN GABRIEL    ADDRESS ON FILE
ALICEA DIAZ, FRANCIS M.       ADDRESS ON FILE
ALICEA DIAZ, ISRAEL           ADDRESS ON FILE
ALICEA DIAZ, JAHAIRA          ADDRESS ON FILE
ALICEA DIAZ, JAVIER           ADDRESS ON FILE
ALICEA DIAZ, JORGE            ADDRESS ON FILE
ALICEA DIAZ, KEYLA M.         ADDRESS ON FILE
ALICEA DIAZ, MANUEL DE J.     ADDRESS ON FILE
ALICEA DIAZ, MIGDALIA         ADDRESS ON FILE
ALICEA DIAZ, MIRIAM           ADDRESS ON FILE
ALICEA DIAZ, MIRIAM           ADDRESS ON FILE
ALICEA DIAZ, REYNALDO         ADDRESS ON FILE
ALICEA DIAZ, SEVERO           ADDRESS ON FILE
ALICEA DIAZ, WALTER           ADDRESS ON FILE
ALICEA DIEZ, JOSE             ADDRESS ON FILE
ALICEA DOMINGUEZ, PEDRO       ADDRESS ON FILE
ALICEA DONES, CARMEN I        ADDRESS ON FILE
ALICEA DONES, JUAN J          ADDRESS ON FILE
Alicea Dones, Luis            ADDRESS ON FILE
ALICEA ELIAS, MICHAEL A       ADDRESS ON FILE
ALICEA ESCRIBANO, MARIO       ADDRESS ON FILE
ALICEA ESCRIBANO, MARITZA     ADDRESS ON FILE
ALICEA ESPADA, EDGARDO        ADDRESS ON FILE
ALICEA ESPARRA, HANS          ADDRESS ON FILE
ALICEA ESPARRA, VALERY J.     ADDRESS ON FILE
ALICEA ESPINOSA, ANA          ADDRESS ON FILE
ALICEA ESTRADA, LUIS E        ADDRESS ON FILE
ALICEA ESTRELLA, OMAYRA       ADDRESS ON FILE
ALICEA FALCON, ARLINE         ADDRESS ON FILE
ALICEA FALCON, JEANNETTE      ADDRESS ON FILE
ALICEA FALCON, MAYRA I.       ADDRESS ON FILE
ALICEA FALCON, OSCAR          ADDRESS ON FILE
ALICEA FARDONK, DEXTER        ADDRESS ON FILE
ALICEA FEBUS, HECTOR R        ADDRESS ON FILE
ALICEA FEBUS, JENNIFER        ADDRESS ON FILE
Alicea Feliberty, Alexandra   ADDRESS ON FILE
ALICEA FELIBERTY, RAYMOND     ADDRESS ON FILE
ALICEA FELICIANO, ANGEL L     ADDRESS ON FILE
ALICEA FELICIANO, HELDA L.    ADDRESS ON FILE
ALICEA FELIX, ADALIN          ADDRESS ON FILE
ALICEA FELIX, MARIELA         ADDRESS ON FILE
Alicea Fernandez, Alejandra   ADDRESS ON FILE
ALICEA FERNANDEZ, CARLOS      ADDRESS ON FILE
Alicea Fernandez, Luis A      ADDRESS ON FILE
ALICEA FERNANDEZ, MARICELIS   ADDRESS ON FILE
ALICEA FERNANDEZ, MARICELIS   ADDRESS ON FILE
ALICEA FERNANDEZ, RAFAEL      ADDRESS ON FILE
ALICEA FERNANDEZ, VIVIAN      ADDRESS ON FILE
ALICEA FERRERIS, CARLOS       ADDRESS ON FILE
ALICEA FERRERIS, CARLOS M.    ADDRESS ON FILE
ALICEA FIGUEROA, ABNER        ADDRESS ON FILE
Alicea Figueroa, Abner A      ADDRESS ON FILE
ALICEA FIGUEROA, AMILCAR      ADDRESS ON FILE
ALICEA FIGUEROA, ANGELIE      ADDRESS ON FILE
ALICEA FIGUEROA, BRENDA L     ADDRESS ON FILE
ALICEA FIGUEROA, CARLOS       ADDRESS ON FILE
ALICEA FIGUEROA, CARLOS       ADDRESS ON FILE
ALICEA FIGUEROA, CARLOS E     ADDRESS ON FILE




                                                                          Page 242 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 243 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA FIGUEROA, DARLENE          ADDRESS ON FILE
ALICEA FIGUEROA, FELIX            ADDRESS ON FILE
ALICEA FIGUEROA, FELIX B          ADDRESS ON FILE
ALICEA FIGUEROA, GIL              ADDRESS ON FILE
ALICEA FIGUEROA, JANET            ADDRESS ON FILE
ALICEA FIGUEROA, JANET            ADDRESS ON FILE
ALICEA FIGUEROA, LAURA L          ADDRESS ON FILE
ALICEA FIGUEROA, LEONCIO          ADDRESS ON FILE
ALICEA FIGUEROA, LUZ M            ADDRESS ON FILE
ALICEA FIGUEROA, MARIA            ADDRESS ON FILE
ALICEA FIGUEROA, MARIA DE LOS A   ADDRESS ON FILE
ALICEA FIGUEROA, MARIANITA        ADDRESS ON FILE
ALICEA FIGUEROA, MARTIN           ADDRESS ON FILE
ALICEA FIGUEROA, ROSALIA          ADDRESS ON FILE
ALICEA FIGUEROA, SANDRA           ADDRESS ON FILE
ALICEA FIGUEROA, WILFREDO         ADDRESS ON FILE
ALICEA FIGUEROA, YOMAIRA          ADDRESS ON FILE
Alicea Flores, Annette            ADDRESS ON FILE
ALICEA FLORES, CARLOS             ADDRESS ON FILE
ALICEA FLORES, JOSE R             ADDRESS ON FILE
ALICEA FLORES, MADELYN            ADDRESS ON FILE
ALICEA FLORES, TOMAS              ADDRESS ON FILE
ALICEA FLORES, TOMAS H.           ADDRESS ON FILE
ALICEA FLORES, VIVIAN             ADDRESS ON FILE
ALICEA FLORES, YADIRA             ADDRESS ON FILE
ALICEA FLYNN, LINDA               ADDRESS ON FILE
ALICEA FONCECA, CARLOS A          ADDRESS ON FILE
ALICEA FONSECA, MARIA N           ADDRESS ON FILE
ALICEA FONSECA, MARIA V           ADDRESS ON FILE
ALICEA FONSECA, SAULO             ADDRESS ON FILE
ALICEA FONTANEZ, IVONNE           ADDRESS ON FILE
ALICEA FONTANEZ, LISMARIE         ADDRESS ON FILE
ALICEA FOURNIER, JOAQUIN          ADDRESS ON FILE
ALICEA FOURNIER, JOAQUIN          ADDRESS ON FILE
ALICEA FRANCO, NICOLE             ADDRESS ON FILE
ALICEA FRANCO, PEDRO              ADDRESS ON FILE
ALICEA FUENTES, EDGARDO           ADDRESS ON FILE
ALICEA FUENTES, GIOVANNI          ADDRESS ON FILE
ALICEA FUENTES, JOSE              ADDRESS ON FILE
ALICEA GALARZA, EDDIE J.          ADDRESS ON FILE
ALICEA GALARZA, JANET             ADDRESS ON FILE
ALICEA GALLOZA, LUZ E             ADDRESS ON FILE
ALICEA GARCES, ALMA               ADDRESS ON FILE
ALICEA GARCIA MD, LUZ V           ADDRESS ON FILE
Alicea Garcia, Alberto            ADDRESS ON FILE
ALICEA GARCIA, AMPARO             ADDRESS ON FILE
ALICEA GARCIA, CARLOS             ADDRESS ON FILE
ALICEA GARCIA, CARMEN D           ADDRESS ON FILE
ALICEA GARCIA, CARMEN L           ADDRESS ON FILE
ALICEA GARCIA, EVELYN             ADDRESS ON FILE
Alicea Garcia, Henry              ADDRESS ON FILE
ALICEA GARCIA, HENRY              ADDRESS ON FILE
ALICEA GARCIA, JOHANNA            ADDRESS ON FILE
ALICEA GARCIA, JOSE               ADDRESS ON FILE
ALICEA GARCIA, JOSE               ADDRESS ON FILE
ALICEA GARCIA, JUAN               ADDRESS ON FILE
ALICEA GARCIA, KAREN E.           ADDRESS ON FILE
ALICEA GARCIA, MIGDALIA           ADDRESS ON FILE
ALICEA GARCIA, MIGDALIA           ADDRESS ON FILE
ALICEA GARCIA, MYRTELINA          ADDRESS ON FILE




                                                                              Page 243 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 244 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA GARCIA, NICOLLE        ADDRESS ON FILE
ALICEA GARCIA, NORIS          ADDRESS ON FILE
ALICEA GARCIA, SANDRA         ADDRESS ON FILE
ALICEA GERENA, GLORIA E       ADDRESS ON FILE
ALICEA GERENA, SONIA          ADDRESS ON FILE
ALICEA GOMEZ, ALEX D          ADDRESS ON FILE
ALICEA GOMEZ, ANGEL           ADDRESS ON FILE
ALICEA GOMEZ, ARACELIS        ADDRESS ON FILE
ALICEA GOMEZ, BETSY           ADDRESS ON FILE
ALICEA GOMEZ, CARMEN          ADDRESS ON FILE
ALICEA GOMEZ, CESAR E         ADDRESS ON FILE
ALICEA GOMEZ, EDWIN           ADDRESS ON FILE
ALICEA GOMEZ, EDWIN J         ADDRESS ON FILE
ALICEA GOMEZ, FELIX           ADDRESS ON FILE
ALICEA GOMEZ, FREDDY          ADDRESS ON FILE
ALICEA GOMEZ, JOSE            ADDRESS ON FILE
ALICEA GOMEZ, RUBEN           ADDRESS ON FILE
ALICEA GOMEZ, SHEILY          ADDRESS ON FILE
ALICEA GONZALEZ, ADELINA      ADDRESS ON FILE
ALICEA GONZALEZ, AILEEN       ADDRESS ON FILE
ALICEA GONZALEZ, ALEXI M.     ADDRESS ON FILE
ALICEA GONZALEZ, ANGEL        ADDRESS ON FILE
ALICEA GONZALEZ, ANGEL G      ADDRESS ON FILE
ALICEA GONZALEZ, CARMEN A.    ADDRESS ON FILE
ALICEA GONZALEZ, DENNY        ADDRESS ON FILE
ALICEA GONZALEZ, DIANA        ADDRESS ON FILE
ALICEA GONZALEZ, EDELMIRO     ADDRESS ON FILE
ALICEA GONZALEZ, EDWARD       ADDRESS ON FILE
ALICEA GONZALEZ, EVELYN       ADDRESS ON FILE
ALICEA GONZALEZ, FREDDY       ADDRESS ON FILE
ALICEA GONZALEZ, HILDALIZ     ADDRESS ON FILE
ALICEA GONZALEZ, JOSUE        ADDRESS ON FILE
ALICEA GONZALEZ, JUANITA      ADDRESS ON FILE
ALICEA GONZALEZ, JULIA        ADDRESS ON FILE
ALICEA GONZALEZ, LORRAINE     ADDRESS ON FILE
ALICEA GONZALEZ, LUREIMY      ADDRESS ON FILE
ALICEA GONZALEZ, ORLANDO      ADDRESS ON FILE
ALICEA GONZALEZ, PETER        ADDRESS ON FILE
ALICEA GONZALEZ, RAFAEL       ADDRESS ON FILE
ALICEA GONZALEZ, RENDY        ADDRESS ON FILE
ALICEA GONZALEZ, ROSECANDY    ADDRESS ON FILE
ALICEA GONZALEZ, WILMA        ADDRESS ON FILE
ALICEA GRACIA, LUIS G         ADDRESS ON FILE
ALICEA GRACIA, OLGA           ADDRESS ON FILE
ALICEA GRANIELA, JORGE        ADDRESS ON FILE
ALICEA GRANIELA, JORGE        ADDRESS ON FILE
Alicea Guzman, Angel R        ADDRESS ON FILE
ALICEA GUZMAN, ANGEL R        ADDRESS ON FILE
ALICEA GUZMAN, CARLOS R.      ADDRESS ON FILE
ALICEA GUZMAN, ENILDA         ADDRESS ON FILE
ALICEA GUZMAN, GLORIA         ADDRESS ON FILE
ALICEA GUZMAN, JOSE A.        ADDRESS ON FILE
ALICEA GUZMAN, NYDIA M.       ADDRESS ON FILE
ALICEA GUZMAN, NYDIA M.       ADDRESS ON FILE
ALICEA HANSLEY, YOLANDA       ADDRESS ON FILE
ALICEA HENSLEY, ADRIAN        ADDRESS ON FILE
Alicea Hensley, Daniel F.     ADDRESS ON FILE
ALICEA HERNANDE, GRISELDA M   ADDRESS ON FILE
ALICEA HERNANDEZ, DAVID       ADDRESS ON FILE
ALICEA HERNANDEZ, EFRAIN      ADDRESS ON FILE




                                                                          Page 244 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 245 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA HERNANDEZ, GLENDA LIZ   ADDRESS ON FILE
ALICEA HERNANDEZ, ILEANA       ADDRESS ON FILE
Alicea Hernandez, Israel       ADDRESS ON FILE
ALICEA HERNANDEZ, JAVIER       ADDRESS ON FILE
ALICEA HERNANDEZ, JENNYFER     ADDRESS ON FILE
ALICEA HERNANDEZ, JOANN        ADDRESS ON FILE
ALICEA HERNANDEZ, JOE          ADDRESS ON FILE
ALICEA HERNANDEZ, JOSE A.      ADDRESS ON FILE
ALICEA HERNANDEZ, JUAN M       ADDRESS ON FILE
ALICEA HERNANDEZ, MARIA I      ADDRESS ON FILE
ALICEA HERNANDEZ, OMAR         ADDRESS ON FILE
Alicea Hernandez, Roberto      ADDRESS ON FILE
ALICEA HERNANDEZ, ROBERTO      ADDRESS ON FILE
ALICEA HERNANDEZ, RODOLFO      ADDRESS ON FILE
ALICEA HERNANDEZ, WALESKA      ADDRESS ON FILE
ALICEA HERNANDEZ, WALESKA E    ADDRESS ON FILE
ALICEA HERNANDEZ, YOMAIRA      ADDRESS ON FILE
ALICEA HORRACH, FELIPE         ADDRESS ON FILE
ALICEA HUERTAS, JOHN E.        ADDRESS ON FILE
ALICEA IBERN, JULIO            ADDRESS ON FILE
ALICEA IRIZARRY, EDNA          ADDRESS ON FILE
ALICEA IRIZARRY, ELLIOT        ADDRESS ON FILE
ALICEA IRIZARRY, ELVIN         ADDRESS ON FILE
ALICEA IRIZARRY, GABRIELA E    ADDRESS ON FILE
ALICEA IZQUIERDO, MARISOL      ADDRESS ON FILE
ALICEA IZQUIERDO, NELSON       ADDRESS ON FILE
ALICEA JIMENEZ, CARLOS         ADDRESS ON FILE
ALICEA JIMENEZ, CARLOS G       ADDRESS ON FILE
ALICEA JIMENEZ, CARLOS J       ADDRESS ON FILE
ALICEA JIMENEZ, ELVIN R        ADDRESS ON FILE
ALICEA JIMENEZ, HECTOR         ADDRESS ON FILE
ALICEA JIMENEZ, LUIS           ADDRESS ON FILE
ALICEA JIMENEZ, LUIS R         ADDRESS ON FILE
ALICEA JIMENEZ, MARIA DEL C    ADDRESS ON FILE
ALICEA JIMENEZ, NIURKA         ADDRESS ON FILE
ALICEA JIMENEZ, ROBERTO        ADDRESS ON FILE
ALICEA JIMENEZ, SAINETT        ADDRESS ON FILE
ALICEA JURADO, JUAN            ADDRESS ON FILE
ALICEA LA FONTAINE, LUIS A     ADDRESS ON FILE
ALICEA LA LLAVE, JUAN          ADDRESS ON FILE
ALICEA LAFOSE, CARMEN          ADDRESS ON FILE
ALICEA LAPORTE, GEORGE         ADDRESS ON FILE
ALICEA LAPORTE, LUIS J.        ADDRESS ON FILE
ALICEA LARACUENTE, ANGEL       ADDRESS ON FILE
ALICEA LARACUENTE, JOSE        ADDRESS ON FILE
ALICEA LARACUENTE, JOSE        ADDRESS ON FILE
ALICEA LASANTA, CARLOS         ADDRESS ON FILE
ALICEA LAUREANO, RAFAEL        ADDRESS ON FILE
ALICEA LEON, JUAN              ADDRESS ON FILE
Alicea Leon, Juan C.           ADDRESS ON FILE
ALICEA LICIAGA, EDWIN          ADDRESS ON FILE
ALICEA LOPEZ, ABDIEL           ADDRESS ON FILE
Alicea Lopez, Adam             ADDRESS ON FILE
Alicea Lopez, Carlos           ADDRESS ON FILE
ALICEA LOPEZ, CARLOS A         ADDRESS ON FILE
ALICEA LOPEZ, CARMELO          ADDRESS ON FILE
ALICEA LOPEZ, GIAMMANUEL       ADDRESS ON FILE
ALICEA LOPEZ, ISRAEL           ADDRESS ON FILE
ALICEA LOPEZ, ISRAEL           ADDRESS ON FILE
ALICEA LOPEZ, JONATHAN         ADDRESS ON FILE




                                                                           Page 245 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 246 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA LOPEZ, JORGE             ADDRESS ON FILE
ALICEA LOPEZ, JORGE             ADDRESS ON FILE
Alicea Lopez, Jorge S           ADDRESS ON FILE
ALICEA LOPEZ, JOSE JUAN         ADDRESS ON FILE
ALICEA LOPEZ, JOSE JUAN         ADDRESS ON FILE
ALICEA LOPEZ, JOSE MIGUEL       ADDRESS ON FILE
ALICEA LOPEZ, JUAN              ADDRESS ON FILE
Alicea Lopez, Juan L            ADDRESS ON FILE
ALICEA LOPEZ, JUAN R.           ADDRESS ON FILE
ALICEA LOPEZ, LINETTE           ADDRESS ON FILE
ALICEA LOPEZ, MAGALI            ADDRESS ON FILE
ALICEA LOPEZ, MARIA A.          ADDRESS ON FILE
ALICEA LOPEZ, MARIELLY          ADDRESS ON FILE
ALICEA LOPEZ, MARILYN D         ADDRESS ON FILE
ALICEA LOPEZ, WILFREDO          ADDRESS ON FILE
ALICEA LOPEZ, YARIMEL           ADDRESS ON FILE
ALICEA LORENZO, ARGELIS         ADDRESS ON FILE
Alicea Lozada, Brandon L.       ADDRESS ON FILE
ALICEA LOZADA, DIMARIE          ADDRESS ON FILE
ALICEA LOZADA, DIMARIE          ADDRESS ON FILE
Alicea Lozada, Edwin            ADDRESS ON FILE
ALICEA LOZADA, JUAN             ADDRESS ON FILE
ALICEA LOZADA, NAYDALIA         ADDRESS ON FILE
ALICEA LOZADA, ODALYS           ADDRESS ON FILE
ALICEA LOZADA, WILFREDO         ADDRESS ON FILE
ALICEA LUCIANO, AGREIN          ADDRESS ON FILE
ALICEA LUCIANO, FELIX           ADDRESS ON FILE
ALICEA LUCIANO, JULIAN          ADDRESS ON FILE
ALICEA LUGO, CARLOS DENNYS      ADDRESS ON FILE
ALICEA LUGO, JOSE L             ADDRESS ON FILE
ALICEA LUGO, SALVADOR           ADDRESS ON FILE
ALICEA LUGO, WANDA L            ADDRESS ON FILE
ALICEA LUNA, SARA               ADDRESS ON FILE
ALICEA MALAVE, ANA B            ADDRESS ON FILE
ALICEA MALDONADO, CHRISTOPHER   ADDRESS ON FILE
ALICEA MALDONADO, DAVID         ADDRESS ON FILE
ALICEA MALDONADO, EVELYN        ADDRESS ON FILE
ALICEA MALDONADO, FRANCES       ADDRESS ON FILE
ALICEA MALDONADO, IDAMARIS      ADDRESS ON FILE
ALICEA MALDONADO, JUANA         ADDRESS ON FILE
ALICEA MALDONADO, LILLIAM       ADDRESS ON FILE
ALICEA MALDONADO, LILLIAM       ADDRESS ON FILE
ALICEA MALDONADO, LUIS A.       ADDRESS ON FILE
Alicea Maldonado, Mabel         ADDRESS ON FILE
ALICEA MALDONADO, MABEL         ADDRESS ON FILE
ALICEA MARQUEZ, ILIANA          ADDRESS ON FILE
ALICEA MARRERO, HECTOR          ADDRESS ON FILE
ALICEA MARRERO, SALVADOR        ADDRESS ON FILE
ALICEA MARRERO, SHAIRA L        ADDRESS ON FILE
ALICEA MARTINEZ, BELINDA        ADDRESS ON FILE
ALICEA MARTINEZ, DENISE         ADDRESS ON FILE
ALICEA MARTINEZ, FELIX          ADDRESS ON FILE
Alicea Martinez, Hector L       ADDRESS ON FILE
ALICEA MARTINEZ, JOSE M.        ADDRESS ON FILE
ALICEA MARTINEZ, LIZ F.         ADDRESS ON FILE
Alicea Martinez, Manuel         ADDRESS ON FILE
ALICEA MARTINEZ, MARILYN        ADDRESS ON FILE
ALICEA MARTINEZ, NEISHALIZ      ADDRESS ON FILE
ALICEA MARTINEZ, NOEMI          ADDRESS ON FILE
ALICEA MARTINEZ, WILFREDO       ADDRESS ON FILE




                                                                            Page 246 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 247 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA MARTINEZ, YALID      ADDRESS ON FILE
ALICEA MARTINEZ, YELAIKA    ADDRESS ON FILE
ALICEA MARTY, GILBERTO      ADDRESS ON FILE
ALICEA MARTY, YOLANDA       ADDRESS ON FILE
ALICEA MASSAS, NILSA I.     ADDRESS ON FILE
ALICEA MATIAS, DENISSE      ADDRESS ON FILE
ALICEA MATOS, ALIDA         ADDRESS ON FILE
ALICEA MATOS, ANA I         ADDRESS ON FILE
ALICEA MATOS, LUIS ANGEL    ADDRESS ON FILE
ALICEA MATOS, MIGDALIA      ADDRESS ON FILE
ALICEA MATOS, WANDA         ADDRESS ON FILE
ALICEA MEDINA, CARLOS       ADDRESS ON FILE
ALICEA MEDINA, JUSTINIANO   ADDRESS ON FILE
ALICEA MEDINA, MIGUELA      ADDRESS ON FILE
ALICEA MEDINA, NILDA        ADDRESS ON FILE
ALICEA MEDINA, XIOMARA      ADDRESS ON FILE
Alicea Mejias, Gilberto     ADDRESS ON FILE
ALICEA MEJIAS, IRMA E       ADDRESS ON FILE
ALICEA MELENDEZ, AGNACIA    ADDRESS ON FILE
ALICEA MELENDEZ, AIDA I     ADDRESS ON FILE
ALICEA MELENDEZ, CARLOS     ADDRESS ON FILE
ALICEA MELENDEZ, DORA       ADDRESS ON FILE
ALICEA MELENDEZ, GRACE      ADDRESS ON FILE
ALICEA MELENDEZ, HECTOR     ADDRESS ON FILE
ALICEA MELERO, JOSE         ADDRESS ON FILE
Alicea Mendez, Cesar        ADDRESS ON FILE
ALICEA MENDEZ, CESAR        ADDRESS ON FILE
ALICEA MENDEZ, ISABEL       ADDRESS ON FILE
ALICEA MENDEZ, JAIME        ADDRESS ON FILE
ALICEA MENDEZ, JOSE         ADDRESS ON FILE
ALICEA MENDEZ, JUAN         ADDRESS ON FILE
ALICEA MENDEZ, LUZ          ADDRESS ON FILE
ALICEA MENDEZ, MARTA        ADDRESS ON FILE
ALICEA MENDEZ, MIGUEL A.    ANNETTE RIVERO MARÍN      129‐29 CALLE 69                                        CAROLINA     PR      00985
ALICEA MENDEZ, NILDA E      ADDRESS ON FILE
Alicea Mendez, Orlando      ADDRESS ON FILE
ALICEA MERCADO, RICARDO     ADDRESS ON FILE
ALICEA MERCADO, SANDRA      ADDRESS ON FILE
ALICEA MERCADO, WANDA I     ADDRESS ON FILE
ALICEA MERCED, CARMEN A.    ADDRESS ON FILE
ALICEA MERCED, SOLYMAR      ADDRESS ON FILE
ALICEA MILLAN, JAVIER       ADDRESS ON FILE
ALICEA MILLAN, JUAN         ADDRESS ON FILE
ALICEA MILLET, GLORIA M     ADDRESS ON FILE
ALICEA MIRANDA, ALEX        ADDRESS ON FILE
ALICEA MIRANDA, ELISA       ADDRESS ON FILE
ALICEA MIRANDA, JORDANA     ADDRESS ON FILE
ALICEA MIRANDA, MARIE A     ADDRESS ON FILE
ALICEA MOLINA, JUDITH       ADDRESS ON FILE
ALICEA MONTA¥EZ NELSON      ADDRESS ON FILE
ALICEA MONTA¥EZ NELSON      ADDRESS ON FILE
ALICEA MONTALVO, RAFAEL     ADDRESS ON FILE
ALICEA MONTALVO, RAFAEL A   ADDRESS ON FILE
ALICEA MONTANEZ, SUHEY      ADDRESS ON FILE
ALICEA MONTANEZ, WALESKA    ADDRESS ON FILE
ALICEA MORALES, ANA R       ADDRESS ON FILE
ALICEA MORALES, CECILIO     ADDRESS ON FILE
ALICEA MORALES, CHRISTIAN   ADDRESS ON FILE
ALICEA MORALES, DAMARIS     ADDRESS ON FILE
ALICEA MORALES, DAVID       ADDRESS ON FILE




                                                                        Page 247 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 248 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA MORALES, EDDIE           ADDRESS ON FILE
ALICEA MORALES, HECTOR          ADDRESS ON FILE
ALICEA MORALES, JUDITH          ADDRESS ON FILE
Alicea Morales, Julio A         ADDRESS ON FILE
ALICEA MORALES, LORIVIE ANN     ADDRESS ON FILE
ALICEA MORALES, LUIS M.         ADDRESS ON FILE
ALICEA MORALES, MYRNA L         ADDRESS ON FILE
ALICEA MORALES, NAYADARA        ADDRESS ON FILE
ALICEA MORALES, NILDA           ADDRESS ON FILE
ALICEA MORALES, RAQUEL          ADDRESS ON FILE
ALICEA MORALES, RAUL            ADDRESS ON FILE
ALICEA MORALES, REBECCA         ADDRESS ON FILE
ALICEA MORALES, YAREMI          ADDRESS ON FILE
ALICEA MORENO, RAFAEL           ADDRESS ON FILE
ALICEA MORENO, RAUL             ADDRESS ON FILE
ALICEA MORET, JOSE              ADDRESS ON FILE
Alicea Muniz, Efrain            ADDRESS ON FILE
ALICEA MUNIZ, EFRAIN            ADDRESS ON FILE
ALICEA MUNIZ, OBEIDA            ADDRESS ON FILE
ALICEA NATAL, BEATRIZ           ADDRESS ON FILE
ALICEA NAVARRO, AIXA            ADDRESS ON FILE
ALICEA NAVARRO, AIXA            ADDRESS ON FILE
ALICEA NAZARIO, LOIDA           ADDRESS ON FILE
Alicea Nazario, Loida E         ADDRESS ON FILE
ALICEA NAZARIO, MARILYN         ADDRESS ON FILE
Alicea Nazario, Ricardo         ADDRESS ON FILE
ALICEA NAZARIO, SHIRLEY         ADDRESS ON FILE
ALICEA NEGRON, DIGNA E          ADDRESS ON FILE
ALICEA NEGRON, SARELI A         ADDRESS ON FILE
ALICEA NEGRON, ZIRANEY          ADDRESS ON FILE
ALICEA NIEVES MD, ALBAROSA      ADDRESS ON FILE
ALICEA NIEVES, CARMEN A         ADDRESS ON FILE
ALICEA NIEVES, EMMANUEL         ADDRESS ON FILE
Alicea Nieves, Jose F           ADDRESS ON FILE
ALICEA NIEVES, JOSE F           ADDRESS ON FILE
ALICEA NIEVES, MARISOL          ADDRESS ON FILE
ALICEA NIEVES, MIRIAM           ADDRESS ON FILE
ALICEA NIEVES, SONLARRY         ADDRESS ON FILE
ALICEA OCASIO, BEATRIZ          ADDRESS ON FILE
ALICEA OCASIO, CARMEN D         ADDRESS ON FILE
ALICEA OCASIO, HECTOR           ADDRESS ON FILE
ALICEA OCASIO, HECTOR           ADDRESS ON FILE
ALICEA OCASIO, JOSE             ADDRESS ON FILE
ALICEA OCASIO, MARIA            ADDRESS ON FILE
ALICEA OJEDA, GABRIEL           ADDRESS ON FILE
ALICEA OJEDA, MIGUEL A          ADDRESS ON FILE
ALICEA OLIVENCIA, CINDIA ENID   ADDRESS ON FILE
ALICEA OLIVENCIA, DOEL A        ADDRESS ON FILE
ALICEA OLIVERAS, CARMEN J       ADDRESS ON FILE
ALICEA OQUENDO, CARLOS          ADDRESS ON FILE
ALICEA OQUENDO, CARMELO         ADDRESS ON FILE
ALICEA ORTEGA, HECTOR           ADDRESS ON FILE
ALICEA ORTEGA, WANDA I          ADDRESS ON FILE
ALICEA ORTIR, ELBA N            ADDRESS ON FILE
ALICEA ORTIZ CONCEPCION         ADDRESS ON FILE
ALICEA ORTIZ, ADA I             ADDRESS ON FILE
ALICEA ORTIZ, ANA E             ADDRESS ON FILE
ALICEA ORTIZ, ANA MARIA         ADDRESS ON FILE
ALICEA ORTIZ, ANGEL             ADDRESS ON FILE
ALICEA ORTIZ, ANTONIO           ADDRESS ON FILE




                                                                            Page 248 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 249 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA ORTIZ, DAVID             ADDRESS ON FILE
Alicea Ortiz, David             ADDRESS ON FILE
ALICEA ORTIZ, DIANA             ADDRESS ON FILE
ALICEA ORTIZ, ELENA             ADDRESS ON FILE
ALICEA ORTIZ, ELEONORA          ADDRESS ON FILE
ALICEA ORTIZ, ERIC G            ADDRESS ON FILE
ALICEA ORTIZ, EVARISTO          ADDRESS ON FILE
ALICEA ORTIZ, GLORIA MARIA      ADDRESS ON FILE
ALICEA ORTIZ, ILIANA            ADDRESS ON FILE
Alicea Ortiz, Jesus M           ADDRESS ON FILE
ALICEA ORTIZ, JOSE              ADDRESS ON FILE
Alicea Ortiz, Juan J            ADDRESS ON FILE
ALICEA ORTIZ, KADDIR            ADDRESS ON FILE
ALICEA ORTIZ, KARLA J           ADDRESS ON FILE
ALICEA ORTIZ, LILLIAN           ADDRESS ON FILE
ALICEA ORTIZ, LUIS              ADDRESS ON FILE
ALICEA ORTIZ, MAGALY            ADDRESS ON FILE
ALICEA ORTIZ, MAGDALY           ADDRESS ON FILE
ALICEA ORTIZ, MANUEL            ADDRESS ON FILE
ALICEA ORTIZ, MARGARITA         ADDRESS ON FILE
ALICEA ORTIZ, MARIA A           ADDRESS ON FILE
ALICEA ORTIZ, MARIA DEL         ADDRESS ON FILE
ALICEA ORTIZ, NEFTALI           ADDRESS ON FILE
ALICEA ORTIZ, RENE              ADDRESS ON FILE
ALICEA ORTIZ, RENE              ADDRESS ON FILE
Alicea Ortiz, Rosa              ADDRESS ON FILE
ALICEA ORTIZ, ROSA              ADDRESS ON FILE
ALICEA ORTIZ, SONIA             ADDRESS ON FILE
ALICEA ORTIZ, VICTOR            ADDRESS ON FILE
ALICEA ORTIZ, WALESKA           ADDRESS ON FILE
ALICEA OTERO, HIRAM             ADDRESS ON FILE
ALICEA OYOLA, EDDIE A           ADDRESS ON FILE
ALICEA OYOLA, EMERIED           ADDRESS ON FILE
ALICEA PACHECO, ANGEL LUIS      ADDRESS ON FILE
ALICEA PACHECO, SANDRA E        ADDRESS ON FILE
ALICEA PADILLA, ANA L           ADDRESS ON FILE
ALICEA PADILLA, ANGEL           ADDRESS ON FILE
Alicea Padin, Rafael A          ADDRESS ON FILE
ALICEA PADRON, ALEJANDRO        ADDRESS ON FILE
ALICEA PADRON, ELGA             ADDRESS ON FILE
Alicea Padron, Gloria M         ADDRESS ON FILE
ALICEA PAGAN, ANGELINA          ADDRESS ON FILE
ALICEA PAGAN, LAURIE            ADDRESS ON FILE
ALICEA PAGAN, MAGALI            ADDRESS ON FILE
ALICEA PAGAN, MARIANELA         ADDRESS ON FILE
ALICEA PAGAN, MAYDA             ADDRESS ON FILE
ALICEA PAGAN, OLGA              ADDRESS ON FILE
ALICEA PAGAN, ZULEILA           ADDRESS ON FILE
ALICEA PARRILLA, LUIS ALBERTO   ADDRESS ON FILE
ALICEA PEDRAZA, CARMEN          ADDRESS ON FILE
ALICEA PEDROZA, JOSE            ADDRESS ON FILE
ALICEA PERELEZ, LUIS            ADDRESS ON FILE
ALICEA PEREZ, ADOLFO            ADDRESS ON FILE
ALICEA PEREZ, ANGELINA          ADDRESS ON FILE
ALICEA PEREZ, BARBARA           ADDRESS ON FILE
Alicea Perez, Carmelo           ADDRESS ON FILE
ALICEA PEREZ, DAVID             ADDRESS ON FILE
ALICEA PEREZ, EDITH N           ADDRESS ON FILE
ALICEA PEREZ, ERIC JOEL         ADDRESS ON FILE
Alicea Perez, Francisco         ADDRESS ON FILE




                                                                            Page 249 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 250 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA PEREZ, GRISELLE      ADDRESS ON FILE
ALICEA PEREZ, JASON         ADDRESS ON FILE
ALICEA PEREZ, JOSE          ADDRESS ON FILE
ALICEA PEREZ, KENIA L       ADDRESS ON FILE
ALICEA PEREZ, LORRELEYN     ADDRESS ON FILE
ALICEA PEREZ, LUIS A        ADDRESS ON FILE
Alicea Perez, Luis A        ADDRESS ON FILE
ALICEA PEREZ, MARIA DEL     ADDRESS ON FILE
ALICEA PEREZ, MARIA DEL C   ADDRESS ON FILE
ALICEA PEREZ, MARILU        ADDRESS ON FILE
ALICEA PEREZ, MILKA         ADDRESS ON FILE
ALICEA PEREZ, MYRIAM I      ADDRESS ON FILE
ALICEA PEREZ, RAFAEL A      ADDRESS ON FILE
ALICEA PEREZ, ROLANDO       ADDRESS ON FILE
ALICEA PEREZ, SANDRA        ADDRESS ON FILE
ALICEA PIERANTONI, JOSE     ADDRESS ON FILE
ALICEA PINERO, ARLENE       ADDRESS ON FILE
ALICEA PINERO, NYDIA        ADDRESS ON FILE
ALICEA PIZARRO, ADELIS      ADDRESS ON FILE
ALICEA PLAZA, SANTIA        ADDRESS ON FILE
ALICEA PONCE, CARLOS A.     ADDRESS ON FILE
ALICEA POU, ILSIA           ADDRESS ON FILE
ALICEA POU, JOSE            ADDRESS ON FILE
ALICEA POU, JOSE ANTONIO    ADDRESS ON FILE
ALICEA PUIG, MARIBEL        ADDRESS ON FILE
Alicea Quiles, Aida E       ADDRESS ON FILE
ALICEA QUILES, CARMEN T     ADDRESS ON FILE
ALICEA QUINONES, DAMARIS    ADDRESS ON FILE
ALICEA QUINONES, DAMARIS    ADDRESS ON FILE
ALICEA QUINONES, MEYLIN     ADDRESS ON FILE
ALICEA QUINONES, MIRELSIE   ADDRESS ON FILE
ALICEA QUINTERO, CARMEN L   ADDRESS ON FILE
ALICEA RAINEY, MARY L       ADDRESS ON FILE
ALICEA RAMIREZ, AXEL        ADDRESS ON FILE
ALICEA RAMIREZ, MARIA A     ADDRESS ON FILE
ALICEA RAMOS, ANGEL L.      ADDRESS ON FILE
ALICEA RAMOS, CARLOS        ADDRESS ON FILE
ALICEA RAMOS, FREDDIE       ADDRESS ON FILE
ALICEA RAMOS, HECTOR        ADDRESS ON FILE
Alicea Ramos, Hector L.     ADDRESS ON FILE
ALICEA RAMOS, IRIS M.       ADDRESS ON FILE
ALICEA RAMOS, IRIS M.       ADDRESS ON FILE
ALICEA RAMOS, IVETTE        ADDRESS ON FILE
ALICEA RAMOS, JOSHUA        ADDRESS ON FILE
ALICEA RAMOS, LEYDA         ADDRESS ON FILE
ALICEA RAMOS, LOURDES I     ADDRESS ON FILE
ALICEA RAMOS, LUZ           ADDRESS ON FILE
ALICEA RAMOS, LUZ B         ADDRESS ON FILE
ALICEA RAMOS, MARIBEL       ADDRESS ON FILE
ALICEA RAMOS, MELISA        ADDRESS ON FILE
ALICEA RAMOS, MILDRED       ADDRESS ON FILE
ALICEA RAMOS, MONICA        ADDRESS ON FILE
ALICEA RAMOS, MYRNA S       ADDRESS ON FILE
ALICEA RAMOS, WILFREDO      ADDRESS ON FILE
ALICEA RAMOS, WILFREDO      ADDRESS ON FILE
Alicea Rentas, Juan         ADDRESS ON FILE
ALICEA RENTAS, MARILETTE    ADDRESS ON FILE
ALICEA REPOLLET, JESUS      ADDRESS ON FILE
ALICEA RESTO, ANTONIO       ADDRESS ON FILE
ALICEA RESTO, CARMEN        ADDRESS ON FILE




                                                                        Page 250 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 251 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA RESTO, GILBERTO     ADDRESS ON FILE
Alicea Resto, Julio A      ADDRESS ON FILE
ALICEA RESTO, MARILYN      ADDRESS ON FILE
ALICEA REYES, ALBA         ADDRESS ON FILE
ALICEA REYES, AMARILIS     ADDRESS ON FILE
ALICEA REYES, BARBARA      ADDRESS ON FILE
ALICEA REYES, CATHERINE    ADDRESS ON FILE
ALICEA REYES, GERARDO      ADDRESS ON FILE
ALICEA REYES, KARINA       ADDRESS ON FILE
ALICEA REYES, LIZA M       ADDRESS ON FILE
ALICEA REYES, SHARLENE     ADDRESS ON FILE
ALICEA REYES, VILMA        ADDRESS ON FILE
ALICEA REYES, YILMARA      ADDRESS ON FILE
Alicea Rios, Edgar         ADDRESS ON FILE
ALICEA RIOS, IVETTE J      ADDRESS ON FILE
ALICEA RIOS, JESUS J       ADDRESS ON FILE
ALICEA RIOS, JOSE          ADDRESS ON FILE
ALICEA RIOS, LIVIA         ADDRESS ON FILE
ALICEA RIOS, LIZA M        ADDRESS ON FILE
ALICEA RIOS, LIZBETH M     ADDRESS ON FILE
ALICEA RIOS, MAGDA J       ADDRESS ON FILE
ALICEA RIOS, VERONICA      ADDRESS ON FILE
ALICEA RIOS, WILLIAM       ADDRESS ON FILE
ALICEA RIVERA MD, AMALIA   ADDRESS ON FILE
ALICEA RIVERA, ADELA I     ADDRESS ON FILE
ALICEA RIVERA, AGNES       ADDRESS ON FILE
ALICEA RIVERA, ALBERTO     ADDRESS ON FILE
ALICEA RIVERA, ALEXIS      ADDRESS ON FILE
ALICEA RIVERA, AMALIA      ADDRESS ON FILE
ALICEA RIVERA, ANA         ADDRESS ON FILE
ALICEA RIVERA, ANA A       ADDRESS ON FILE
ALICEA RIVERA, ANA E       ADDRESS ON FILE
ALICEA RIVERA, ANGEL       ADDRESS ON FILE
ALICEA RIVERA, CARLOS L    ADDRESS ON FILE
ALICEA RIVERA, CARMEN      ADDRESS ON FILE
ALICEA RIVERA, CARMEN      ADDRESS ON FILE
ALICEA RIVERA, CARMEN J    ADDRESS ON FILE
ALICEA RIVERA, ELIA        ADDRESS ON FILE
ALICEA RIVERA, ELVIS       ADDRESS ON FILE
ALICEA RIVERA, ENID M      ADDRESS ON FILE
ALICEA RIVERA, EROHILDA    ADDRESS ON FILE
ALICEA RIVERA, EVELYN      ADDRESS ON FILE
ALICEA RIVERA, FRANK       ADDRESS ON FILE
ALICEA RIVERA, GABRIELA    ADDRESS ON FILE
ALICEA RIVERA, HECTOR      ADDRESS ON FILE
ALICEA RIVERA, HERIBERTO   ADDRESS ON FILE
ALICEA RIVERA, JENIEDITH   ADDRESS ON FILE
ALICEA RIVERA, JESUS       ADDRESS ON FILE
ALICEA RIVERA, JOEL        ADDRESS ON FILE
ALICEA RIVERA, JORGE       ADDRESS ON FILE
ALICEA RIVERA, JORGE       ADDRESS ON FILE
ALICEA RIVERA, JOSE        ADDRESS ON FILE
ALICEA RIVERA, JOSE        ADDRESS ON FILE
ALICEA RIVERA, JOSE        ADDRESS ON FILE
ALICEA RIVERA, JOSE A      ADDRESS ON FILE
ALICEA RIVERA, JOSE A      ADDRESS ON FILE
ALICEA RIVERA, JOSE L      ADDRESS ON FILE
ALICEA RIVERA, JOSE M.     ADDRESS ON FILE
Alicea Rivera, Jose R      ADDRESS ON FILE
ALICEA RIVERA, JUAN A.     ADDRESS ON FILE




                                                                       Page 251 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 252 of 3500
                                                                                            Creditor Matrix

Creditor Name                     Address1                       Address2                                Address3   Address4   City         State   PostalCode   Country
ALICEA RIVERA, JUAN C.            ADDRESS ON FILE
ALICEA RIVERA, JUAN G             ADDRESS ON FILE
ALICEA RIVERA, KADMARA            ADDRESS ON FILE
ALICEA RIVERA, KASSANDRA M.       ADDRESS ON FILE
ALICEA RIVERA, LOURDES            ADDRESS ON FILE
ALICEA RIVERA, LUIS               ADDRESS ON FILE
ALICEA RIVERA, LUIS A             ADDRESS ON FILE
ALICEA RIVERA, LUZ I              ADDRESS ON FILE
ALICEA RIVERA, MARGARITA          ADDRESS ON FILE
ALICEA RIVERA, MARIA M            ADDRESS ON FILE
ALICEA RIVERA, MARIBEL            ADDRESS ON FILE
ALICEA RIVERA, MARIBEL            ADDRESS ON FILE
ALICEA RIVERA, MARISOL            ADDRESS ON FILE
ALICEA RIVERA, MIGUEL A.          ADDRESS ON FILE
ALICEA RIVERA, MIRELLY            ADDRESS ON FILE
ALICEA RIVERA, NAINNETTE          ADDRESS ON FILE
ALICEA RIVERA, NELIDA             ADDRESS ON FILE
ALICEA RIVERA, NELSON             ADDRESS ON FILE
ALICEA RIVERA, OLGA M             ADDRESS ON FILE
ALICEA RIVERA, PEDRO              ADDRESS ON FILE
ALICEA RIVERA, PEDRO F            ADDRESS ON FILE
ALICEA RIVERA, RAFILEXIE          ADDRESS ON FILE
ALICEA RIVERA, RAMON              ADDRESS ON FILE
ALICEA RIVERA, REYNALDO           ADDRESS ON FILE
Alicea Rivera, Rosa H             ADDRESS ON FILE
ALICEA RIVERA, RUBEN              ADDRESS ON FILE
ALICEA RIVERA, RUBEN              ADDRESS ON FILE
ALICEA RIVERA, SARA               ADDRESS ON FILE
ALICEA RIVERA, VICTOR             ADDRESS ON FILE
ALICEA RIVERA, XIOMARA            ADDRESS ON FILE
ALICEA RIVERA, YARITZA            ADDRESS ON FILE
ALICEA ROBLES, GLORILY            ADDRESS ON FILE
ALICEA ROBLES, JONATHAN           ADDRESS ON FILE
ALICEA ROBLES, ZULEIKA            ADDRESS ON FILE
ALICEA RODRÍGUEZ ALEXIS Y OTROS   LCDO. JOSÉ M. CARRERAS PÉREZ   #254 CALLE SAN JOSÉ                     SUITE 3               SAN JUAN     PR      00901‐1523
ALICEA RODRÍGUEZ ALEXIS Y OTROS   LCDO. JOSÉ R. OLMO RODRÍGUEZ   EL CENTRO I OFICINA 215                                       SAN JUAN     PR      00918
ALICEA RODRIGUEZ, ALEJANDRO       ADDRESS ON FILE
ALICEA RODRIGUEZ, ANGEL           ADDRESS ON FILE
ALICEA RODRIGUEZ, ANGEL L         ADDRESS ON FILE
ALICEA RODRIGUEZ, ANTONIO         ADDRESS ON FILE
ALICEA RODRIGUEZ, ARACELIS        ADDRESS ON FILE
ALICEA RODRIGUEZ, AURORA          ADDRESS ON FILE
ALICEA RODRIGUEZ, BENJAMIN        ADDRESS ON FILE
ALICEA RODRIGUEZ, CARMEN          ADDRESS ON FILE
ALICEA RODRIGUEZ, CRUZ            ADDRESS ON FILE
ALICEA RODRIGUEZ, DEBORAH         ADDRESS ON FILE
ALICEA RODRIGUEZ, ELISA           ADDRESS ON FILE
ALICEA RODRIGUEZ, EMILY           ADDRESS ON FILE
ALICEA RODRIGUEZ, FRANCIS M.      ADDRESS ON FILE
ALICEA RODRIGUEZ, FRANCISCO       ADDRESS ON FILE
ALICEA RODRIGUEZ, GLENDA          ADDRESS ON FILE
ALICEA RODRIGUEZ, GRISEL          ADDRESS ON FILE
ALICEA RODRIGUEZ, HELIODORA       ADDRESS ON FILE
ALICEA RODRIGUEZ, HERACLIO        ADDRESS ON FILE
ALICEA RODRIGUEZ, HILDA L         ADDRESS ON FILE
ALICEA RODRIGUEZ, IDELISA         ADDRESS ON FILE
ALICEA RODRIGUEZ, IRENE           ADDRESS ON FILE
ALICEA RODRIGUEZ, IRMA            ADDRESS ON FILE
ALICEA RODRIGUEZ, ISMAEL          ADDRESS ON FILE
ALICEA RODRIGUEZ, IVONNE          ADDRESS ON FILE




                                                                                           Page 252 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 253 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA RODRIGUEZ, JAVIER       ADDRESS ON FILE
ALICEA RODRIGUEZ, JESUS        ADDRESS ON FILE
ALICEA RODRIGUEZ, JOANNA       ADDRESS ON FILE
ALICEA RODRIGUEZ, JORGE L      ADDRESS ON FILE
ALICEA RODRIGUEZ, JOSE         ADDRESS ON FILE
ALICEA RODRIGUEZ, JOSE         ADDRESS ON FILE
ALICEA RODRIGUEZ, JOSE A       ADDRESS ON FILE
ALICEA RODRIGUEZ, JOSE A       ADDRESS ON FILE
Alicea Rodriguez, Jose L       ADDRESS ON FILE
ALICEA RODRIGUEZ, JOSEFINA     ADDRESS ON FILE
ALICEA RODRIGUEZ, JOSUE        ADDRESS ON FILE
ALICEA RODRIGUEZ, JUANA        ADDRESS ON FILE
ALICEA RODRIGUEZ, LARRY        ADDRESS ON FILE
ALICEA RODRIGUEZ, LARRY EMIL   ADDRESS ON FILE
ALICEA RODRIGUEZ, LEONARDO     ADDRESS ON FILE
ALICEA RODRIGUEZ, LUIS         ADDRESS ON FILE
ALICEA RODRIGUEZ, LUZ M        ADDRESS ON FILE
ALICEA RODRIGUEZ, LUZ MARY     ADDRESS ON FILE
ALICEA RODRIGUEZ, MARCOS T.    ADDRESS ON FILE
ALICEA RODRIGUEZ, MARELISA     ADDRESS ON FILE
ALICEA RODRIGUEZ, MARIA        ADDRESS ON FILE
ALICEA RODRIGUEZ, MARIA        ADDRESS ON FILE
ALICEA RODRIGUEZ, MARIA        ADDRESS ON FILE
ALICEA RODRIGUEZ, MARIA J      ADDRESS ON FILE
ALICEA RODRIGUEZ, MARICELYZ    ADDRESS ON FILE
ALICEA RODRIGUEZ, MARTA        ADDRESS ON FILE
ALICEA RODRIGUEZ, MATILDE      ADDRESS ON FILE
ALICEA RODRIGUEZ, MAYLISA      ADDRESS ON FILE
ALICEA RODRIGUEZ, MIGUEL       ADDRESS ON FILE
ALICEA RODRIGUEZ, NESTOR R     ADDRESS ON FILE
ALICEA RODRIGUEZ, NEYDA M      ADDRESS ON FILE
ALICEA RODRIGUEZ, NILDA        ADDRESS ON FILE
ALICEA RODRIGUEZ, NILKA M      ADDRESS ON FILE
ALICEA RODRIGUEZ, OLGA I       ADDRESS ON FILE
Alicea Rodriguez, Pablo H      ADDRESS ON FILE
ALICEA RODRIGUEZ, RAFAEL A     ADDRESS ON FILE
ALICEA RODRIGUEZ, REBECCA J    ADDRESS ON FILE
ALICEA RODRIGUEZ, VIVIANA      ADDRESS ON FILE
ALICEA RODRIGUEZ, WALDEMAR     ADDRESS ON FILE
ALICEA RODRIGUEZ, WANDALIZ     ADDRESS ON FILE
ALICEA RODRIGUEZ, WENDY        ADDRESS ON FILE
ALICEA RODRIGUEZ, WILFREDO     ADDRESS ON FILE
ALICEA RODRIGUEZ, WILMA        ADDRESS ON FILE
Alicea Rodriguez, Wilmil       ADDRESS ON FILE
ALICEA RODRIGUEZ, ZOE          ADDRESS ON FILE
ALICEA RODRIGUEZ, ZORAIDA      ADDRESS ON FILE
ALICEA ROJAS, ROSA I           ADDRESS ON FILE
ALICEA ROLDAN, AXEL            ADDRESS ON FILE
ALICEA ROLDAN, DEBBIE L        ADDRESS ON FILE
ALICEA ROLDAN, DIANA           ADDRESS ON FILE
ALICEA ROLDAN, JOAN M.         ADDRESS ON FILE
ALICEA ROLDAN, REYNALDO        ADDRESS ON FILE
ALICEA ROLON MD, JUAN A        ADDRESS ON FILE
ALICEA ROLON, GIOVANNI         ADDRESS ON FILE
ALICEA ROLON, PABLO            ADDRESS ON FILE
ALICEA ROMAN, GLORIA           ADDRESS ON FILE
ALICEA ROMAN, JANET            ADDRESS ON FILE
ALICEA ROMAN, LUIS             ADDRESS ON FILE
ALICEA ROMAN, PAULA            ADDRESS ON FILE
ALICEA ROMERO, EDWIN           ADDRESS ON FILE




                                                                           Page 253 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 254 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA ROMERO, JOSE E       ADDRESS ON FILE
ALICEA ROMERO, MIGUEL A.    ADDRESS ON FILE
ALICEA ROMERO, ROBERTO      ADDRESS ON FILE
ALICEA ROSA, ANGEL          ADDRESS ON FILE
ALICEA ROSA, AUREA E        ADDRESS ON FILE
ALICEA ROSA, GILBERTO       ADDRESS ON FILE
ALICEA ROSA, JOSE           ADDRESS ON FILE
Alicea Rosa, Manuel A       ADDRESS ON FILE
ALICEA ROSA, NOEMI          ADDRESS ON FILE
ALICEA ROSA, PETRA          ADDRESS ON FILE
ALICEA ROSADO, ABDIEL       ADDRESS ON FILE
ALICEA ROSADO, BRUNILDA     ADDRESS ON FILE
ALICEA ROSADO, CARMEN I     ADDRESS ON FILE
ALICEA ROSADO, HECTOR       ADDRESS ON FILE
ALICEA ROSADO, HECTOR L     ADDRESS ON FILE
ALICEA ROSADO, IRMA         ADDRESS ON FILE
ALICEA ROSADO, KAVIRMA E    ADDRESS ON FILE
ALICEA ROSADO, LUIS A       ADDRESS ON FILE
ALICEA ROSADO, MAGALI       ADDRESS ON FILE
ALICEA ROSADO, MARILUZ      ADDRESS ON FILE
ALICEA ROSADO, NESTOR       ADDRESS ON FILE
ALICEA ROSADO, NYDIA        ADDRESS ON FILE
Alicea Rosado, Otoniel      ADDRESS ON FILE
ALICEA ROSADO, REBECA       ADDRESS ON FILE
ALICEA ROSARIO, ANGEL L     ADDRESS ON FILE
ALICEA ROSARIO, ARACELIS    ADDRESS ON FILE
Alicea Rosario, Carlos M    ADDRESS ON FILE
ALICEA ROSARIO, EDWIN       ADDRESS ON FILE
Alicea Rosario, Jose A      ADDRESS ON FILE
ALICEA ROSARIO, STEPHANIE   ADDRESS ON FILE
ALICEA ROSAS, HECTOR J.     ADDRESS ON FILE
ALICEA ROSAS, RAFAEL        ADDRESS ON FILE
ALICEA RUIZ, HAYDEE M       ADDRESS ON FILE
ALICEA RUIZ, JOSE           ADDRESS ON FILE
Alicea Ruiz, Jose F.        ADDRESS ON FILE
ALICEA RUIZ, LUCAN          ADDRESS ON FILE
ALICEA RUIZ, MARIA T.       ADDRESS ON FILE
ALICEA RUIZ, PEDRO          ADDRESS ON FILE
ALICEA RUIZ, RAQUEL         ADDRESS ON FILE
ALICEA RUIZ, RAY            ADDRESS ON FILE
ALICEA RUIZ, RAY HIRAM      ADDRESS ON FILE
ALICEA RUIZ, REINA          ADDRESS ON FILE
ALICEA RUIZ, ROBERT         ADDRESS ON FILE
ALICEA RUIZ, YVETTE         ADDRESS ON FILE
ALICEA RUIZ, ZAIDA          ADDRESS ON FILE
ALICEA SALAS, IRMA          ADDRESS ON FILE
ALICEA SANABRIA, ESTHER     ADDRESS ON FILE
ALICEA SANABRIA, RALPHIE    ADDRESS ON FILE
ALICEA SANCHEZ, ELIER       ADDRESS ON FILE
ALICEA SANCHEZ, ELISA       ADDRESS ON FILE
ALICEA SANCHEZ, JANICE      ADDRESS ON FILE
ALICEA SANCHEZ, PETRA       ADDRESS ON FILE
ALICEA SANCHEZ, REINALDO    ADDRESS ON FILE
ALICEA SANCHEZ, TERESA      ADDRESS ON FILE
ALICEA SANITAGO, ELVIRA     ADDRESS ON FILE
ALICEA SANTA, JOEL          ADDRESS ON FILE
ALICEA SANTANA, DIGMARIE    ADDRESS ON FILE
ALICEA SANTANA, DIGMARIE    ADDRESS ON FILE
ALICEA SANTANA, JOSE A      ADDRESS ON FILE
ALICEA SANTANA, RAFAEL      ADDRESS ON FILE




                                                                        Page 254 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 255 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA SANTIAGO, ANGEL R        ADDRESS ON FILE
Alicea Santiago, Calixto        ADDRESS ON FILE
ALICEA SANTIAGO, CARMEN M       ADDRESS ON FILE
Alicea Santiago, Eddie          ADDRESS ON FILE
ALICEA SANTIAGO, HECTOR         ADDRESS ON FILE
ALICEA SANTIAGO, HECTOR         ADDRESS ON FILE
ALICEA SANTIAGO, JOSE L         ADDRESS ON FILE
ALICEA SANTIAGO, JUAN           ADDRESS ON FILE
ALICEA SANTIAGO, LUISA I        ADDRESS ON FILE
ALICEA SANTIAGO, LYDIA E        ADDRESS ON FILE
ALICEA SANTIAGO, MARIBEL        ADDRESS ON FILE
ALICEA SANTIAGO, MYRSONIA       ADDRESS ON FILE
ALICEA SANTIAGO, NAZARIO        ADDRESS ON FILE
ALICEA SANTIAGO, NILDA          ADDRESS ON FILE
ALICEA SANTIAGO, NYDIA I.       ADDRESS ON FILE
ALICEA SANTIAGO, PEDRO          ADDRESS ON FILE
ALICEA SANTIAGO, ROSA E.        ADDRESS ON FILE
ALICEA SANTIAGO, WILFREDO       ADDRESS ON FILE
ALICEA SANTINI, YORAIMA M       ADDRESS ON FILE
ALICEA SANTOS, ADA              ADDRESS ON FILE
ALICEA SANTOS, AIDA             ADDRESS ON FILE
ALICEA SANTOS, ARNALDO O        ADDRESS ON FILE
Alicea Santos, Carlos           ADDRESS ON FILE
ALICEA SANTOS, CARMEN D.        ADDRESS ON FILE
ALICEA SANTOS, EDWIN            ADDRESS ON FILE
ALICEA SANTOS, JORGE L          ADDRESS ON FILE
ALICEA SANTOS, MIRTA E          ADDRESS ON FILE
ALICEA SASTRE, MARA G           ADDRESS ON FILE
ALICEA SEGARRA, DELMIS          ADDRESS ON FILE
ALICEA SEPULVEDA, DELIRIS A.    ADDRESS ON FILE
ALICEA SEPULVEDA, EDGARDO       ADDRESS ON FILE
Alicea Sepulveda, Edgardo Z     ADDRESS ON FILE
ALICEA SEPULVEDA, JESUS E.      ADDRESS ON FILE
ALICEA SEPULVEDA, MYRAIDA       ADDRESS ON FILE
ALICEA SERRA, YAHAIRA           ADDRESS ON FILE
ALICEA SERRANO, BETTY I         ADDRESS ON FILE
ALICEA SERRANO, CARMEN M.       ADDRESS ON FILE
Alicea Serrano, Gabriel         ADDRESS ON FILE
ALICEA SERRANO, JORGE M         ADDRESS ON FILE
ALICEA SERRANO, JOSE            ADDRESS ON FILE
ALICEA SERRANO, WANDA IVONNE    ADDRESS ON FILE
ALICEA SEVILLA, GABRIEL         ADDRESS ON FILE
ALICEA SIERRA, IMAEL            ADDRESS ON FILE
ALICEA SILVA, GALVIN            ADDRESS ON FILE
ALICEA SILVA, LEONOR            ADDRESS ON FILE
ALICEA SOLIBERAS, JUBETSY       ADDRESS ON FILE
ALICEA SOLIVERAS, JUBETSY       ADDRESS ON FILE
Alicea Soto, David              ADDRESS ON FILE
ALICEA SOTO, EDDA M             ADDRESS ON FILE
ALICEA SOTO, FELIX D.           ADDRESS ON FILE
ALICEA SOTO, ISRAEL             ADDRESS ON FILE
ALICEA SOTO, JOEL               ADDRESS ON FILE
ALICEA SOTO, JOSE               ADDRESS ON FILE
ALICEA SOTO, JUAN               ADDRESS ON FILE
ALICEA SOTO, JUAN P             ADDRESS ON FILE
ALICEA SOTO, KELVIN             ADDRESS ON FILE
ALICEA SOTO, KEVIN              ADDRESS ON FILE
Alicea Soto, Luis O.            ADDRESS ON FILE
ALICEA SOTO, YOLANDA            ADDRESS ON FILE
ALICEA SOTOMAYOR, JEANNETTE E   ADDRESS ON FILE




                                                                            Page 255 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 256 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA SUAREZ, MARILYN          ADDRESS ON FILE
ALICEA TACORONTE, JANICE        ADDRESS ON FILE
ALICEA TACORONTE, ONIX          ADDRESS ON FILE
ALICEA THILLET, ALFRED          ADDRESS ON FILE
ALICEA TOLEDO, ANGEL            ADDRESS ON FILE
ALICEA TOLEDO, LIZ MARIELYS     ADDRESS ON FILE
ALICEA TOMASSINI, ELIZABETH     ADDRESS ON FILE
ALICEA TORO, JOANY              ADDRESS ON FILE
ALICEA TORO, ROSA J             ADDRESS ON FILE
ALICEA TORRADO, YANIRA          ADDRESS ON FILE
Alicea Torres, Angel R          ADDRESS ON FILE
ALICEA TORRES, ANGEL R.         ADDRESS ON FILE
ALICEA TORRES, BLANCA           ADDRESS ON FILE
ALICEA TORRES, DAMARIS DEL C.   ADDRESS ON FILE
ALICEA TORRES, EDWIN            ADDRESS ON FILE
ALICEA TORRES, EDWIN            ADDRESS ON FILE
ALICEA TORRES, EDWIN R          ADDRESS ON FILE
ALICEA TORRES, ELIZABETH        ADDRESS ON FILE
ALICEA TORRES, GILBERTO         ADDRESS ON FILE
ALICEA TORRES, IVELISSE         ADDRESS ON FILE
ALICEA TORRES, JOAQUIN          ADDRESS ON FILE
ALICEA TORRES, JONNET           ADDRESS ON FILE
Alicea Torres, Jose Luis        ADDRESS ON FILE
ALICEA TORRES, JUANA            ADDRESS ON FILE
ALICEA TORRES, LIZ JANNETTE     ADDRESS ON FILE
ALICEA TORRES, LIZBETH M        ADDRESS ON FILE
ALICEA TORRES, LUIS ALBERTO     ADDRESS ON FILE
ALICEA TORRES, MARIA I          ADDRESS ON FILE
ALICEA TORRES, MARIEMER         ADDRESS ON FILE
ALICEA TORRES, MARIMAR          ADDRESS ON FILE
ALICEA TORRES, MARIMAR          ADDRESS ON FILE
ALICEA TORRES, MAYRA            ADDRESS ON FILE
ALICEA TORRES, MIGUEL           ADDRESS ON FILE
ALICEA TORRES, MYRNA I          ADDRESS ON FILE
ALICEA TORRES, NORBERTO         ADDRESS ON FILE
ALICEA TORRES, PEDRO M.         ADDRESS ON FILE
ALICEA TORRES, RAMON O          ADDRESS ON FILE
ALICEA TORRES, RICARDA          ADDRESS ON FILE
ALICEA TORRES, SALVADOR         ADDRESS ON FILE
ALICEA TORRES, SONIA            ADDRESS ON FILE
ALICEA TORRES, SONIA            ADDRESS ON FILE
ALICEA TRINIDAD, BRENDA         ADDRESS ON FILE
ALICEA TRINIDAD, JUNIRYS        ADDRESS ON FILE
ALICEA TROCHE, GLENDA           ADDRESS ON FILE
ALICEA TROCHE, IDALICE          ADDRESS ON FILE
ALICEA VALENTI N, WILLIAM       ADDRESS ON FILE
ALICEA VALENTIN, CAROLINE       ADDRESS ON FILE
ALICEA VALENTIN, ELIANETH       ADDRESS ON FILE
ALICEA VALENTIN, ELIER          ADDRESS ON FILE
ALICEA VALENTIN, JESUS          ADDRESS ON FILE
ALICEA VALENTIN, LILIANA        ADDRESS ON FILE
ALICEA VALENTIN, LILLIANA       ADDRESS ON FILE
ALICEA VALENTIN, MARCIAL        ADDRESS ON FILE
ALICEA VALENTIN, MARILUZ        ADDRESS ON FILE
ALICEA VALENTIN, ROSELYN        ADDRESS ON FILE
ALICEA VALENTIN, WILLIAM        ADDRESS ON FILE
ALICEA VARGAS, MARIO            ADDRESS ON FILE
ALICEA VARGAS, MILAGROS         ADDRESS ON FILE
Alicea Vargas, Santos           ADDRESS ON FILE
ALICEA VASALLO, JULIO           ADDRESS ON FILE




                                                                            Page 256 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 257 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA VAZQUEZ, ARELIS       ADDRESS ON FILE
ALICEA VAZQUEZ, CARLOS       ADDRESS ON FILE
ALICEA VAZQUEZ, CARMEN       ADDRESS ON FILE
ALICEA VAZQUEZ, CARMEN D     ADDRESS ON FILE
ALICEA VAZQUEZ, EDDIE W      ADDRESS ON FILE
ALICEA VAZQUEZ, ELBA         ADDRESS ON FILE
ALICEA VAZQUEZ, ELGA A       ADDRESS ON FILE
ALICEA VAZQUEZ, ELSA         ADDRESS ON FILE
ALICEA VAZQUEZ, EUFRASIA     ADDRESS ON FILE
ALICEA VAZQUEZ, GERMAN       ADDRESS ON FILE
ALICEA VAZQUEZ, HELEN N      ADDRESS ON FILE
Alicea Vazquez, Leonel       ADDRESS ON FILE
ALICEA VAZQUEZ, MARCIA       ADDRESS ON FILE
ALICEA VAZQUEZ, MARIBEL      ADDRESS ON FILE
ALICEA VAZQUEZ, ORLANDO      ADDRESS ON FILE
ALICEA VAZQUEZ, PABLO        ADDRESS ON FILE
ALICEA VAZQUEZ, VIVIAN       ADDRESS ON FILE
ALICEA VAZQUEZ, WANDA        ADDRESS ON FILE
ALICEA VAZQUEZ, YOLIMAR      ADDRESS ON FILE
ALICEA VAZQUEZ, ZORAIDA      ADDRESS ON FILE
ALICEA VEGA, AMARILIS        ADDRESS ON FILE
ALICEA VEGA, ARNALDO         ADDRESS ON FILE
ALICEA VEGA, EDUARDO         ADDRESS ON FILE
Alicea Vega, Faustino        ADDRESS ON FILE
Alicea Vega, Luis E          ADDRESS ON FILE
ALICEA VEGA, MARIA M         ADDRESS ON FILE
ALICEA VEGA, MARITZA         ADDRESS ON FILE
ALICEA VEGA, RAMONA          ADDRESS ON FILE
ALICEA VEGA, REYNALDO        ADDRESS ON FILE
Alicea Vega, Robert L.       ADDRESS ON FILE
Alicea Vega, Ronnie A        ADDRESS ON FILE
ALICEA VELAZQUEZ, AIDA       ADDRESS ON FILE
ALICEA VELAZQUEZ, AILEEN     ADDRESS ON FILE
ALICEA VELAZQUEZ, ALEXIS     ADDRESS ON FILE
ALICEA VELAZQUEZ, IRIS M.    ADDRESS ON FILE
ALICEA VELAZQUEZ, JAIME      ADDRESS ON FILE
ALICEA VELAZQUEZ, JOSE E     ADDRESS ON FILE
Alicea Velazquez, Jose M     ADDRESS ON FILE
ALICEA VELAZQUEZ, MILAGROS   ADDRESS ON FILE
ALICEA VELAZQUEZ, NANETTE    ADDRESS ON FILE
ALICEA VELAZQUEZ, NEIL       ADDRESS ON FILE
ALICEA VELEZ, HECTOR         ADDRESS ON FILE
ALICEA VELEZ, LUZ M          ADDRESS ON FILE
ALICEA VELEZ, MAYRA A        ADDRESS ON FILE
ALICEA VELEZ, NATASHA        ADDRESS ON FILE
ALICEA VELEZ, PORFIDIO       ADDRESS ON FILE
ALICEA VELEZ, YOARICK Y.     ADDRESS ON FILE
ALICEA VICENTE, LORNA        ADDRESS ON FILE
ALICEA VICENTE, YOLANDA      ADDRESS ON FILE
Alicea Vidal, Angel A        ADDRESS ON FILE
ALICEA VILLALOBOS, VIVIAN    ADDRESS ON FILE
ALICEA VILLEGAS, ELIS        ADDRESS ON FILE
ALICEA VILLEGAS, ELIS V      ADDRESS ON FILE
ALICEA VILLEGAS, LUIS E.     ADDRESS ON FILE
Alicea Villegas, Noraida     ADDRESS ON FILE
ALICEA VILLEGAS, SANTOS      ADDRESS ON FILE
ALICEA VIRELLA, IVIS X       ADDRESS ON FILE
ALICEA VIROLA, VANESSA       ADDRESS ON FILE
ALICEA VIRUET, JONATHAN      ADDRESS ON FILE
ALICEA VIZCARRONDO, EDWIN    ADDRESS ON FILE




                                                                         Page 257 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 258 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICEA VIZCARRONDO, EDWIN V.         ADDRESS ON FILE
Alicea Zambrana, Manuel              ADDRESS ON FILE
ALICEA ZAYAS, EVELYN                 ADDRESS ON FILE
ALICEA ZAYAS, LILLIAM J              ADDRESS ON FILE
ALICEA ZAYAS, MARIO A                ADDRESS ON FILE
ALICEA ZAYAS, PEDRO F                ADDRESS ON FILE
ALICEA ZAYAS, ZOE M                  ADDRESS ON FILE
ALICEA, ABDIEL J                     ADDRESS ON FILE
Alicea, Angel M. Gonzalez            ADDRESS ON FILE
ALICEA, BLANCA                       ADDRESS ON FILE
ALICEA, BRAULIO                      ADDRESS ON FILE
ALICEA, CARMEN D                     ADDRESS ON FILE
ALICEA, EFRAIN                       ADDRESS ON FILE
ALICEA, GABRIEL                      ADDRESS ON FILE
ALICEA, HARRY                        ADDRESS ON FILE
ALICEA, IVAN E.                      ADDRESS ON FILE
ALICEA, JENOVEVA                     ADDRESS ON FILE
ALICEA, JONNET                       ADDRESS ON FILE
ALICEA, JUAN A                       ADDRESS ON FILE
ALICEA, JUAN CARLOS                  ADDRESS ON FILE
ALICEA, KAREN                        ADDRESS ON FILE
ALICEA, LILLIAM I                    ADDRESS ON FILE
ALICEA, OSVALDO                      ADDRESS ON FILE
ALICEA, RENE                         ADDRESS ON FILE
ALICEA, ROSA                         ADDRESS ON FILE
ALICEA, YEAN                         ADDRESS ON FILE
ALICEAHERNANDEZ, CHRISTIAN           ADDRESS ON FILE
ALICEAPEREZ, EDUARDO L.              ADDRESS ON FILE
ALICEAPUIG, MARIBEL                  ADDRESS ON FILE
Alicea‐Rivera, María                 ADDRESS ON FILE
ALICEAS MEMORIAL INC                 BOX 6322                                                                         BAYAMON      PR      00960
ALICEATORO, DALMIL                   ADDRESS ON FILE
ALICEAVAZQUEZ, KARIEL                ADDRESS ON FILE
ALICEBEL ROMAN ECHEVARRIA            ADDRESS ON FILE
ALICEMAR BRUNO MORALES               ADDRESS ON FILE
ALICEMARIE AVILEZ DONES              ADDRESS ON FILE
ALICETTE MENDOZA RODRIGUEZ           ADDRESS ON FILE
ALICIA A SANCHEZ RIVERA              ADDRESS ON FILE
ALICIA ADORNO MARRERO                ADDRESS ON FILE
ALICIA AGOSTO DELANDO                ADDRESS ON FILE
ALICIA ALICEA MUNIZ                  ADDRESS ON FILE
ALICIA ALONSO RODRIGUEZ              ADDRESS ON FILE
ALICIA ALVAREZ E IVETTE MARTINEZ     ADDRESS ON FILE
ALICIA BELLO RODRIGUEZ               ADDRESS ON FILE
ALICIA BONILLA TORRES                ADDRESS ON FILE
ALICIA CANALES REYES                 ADDRESS ON FILE
ALICIA CARABALLO ANGULO              ADDRESS ON FILE
ALICIA CASTRO Y MILAGROS RODRIGUEZ   ADDRESS ON FILE
ALICIA CENTENO GONZALEZ              ADDRESS ON FILE
ALICIA COLON MARTORELL               ADDRESS ON FILE
ALICIA COLON SANTOS                  ADDRESS ON FILE
ALICIA CRESPO LOPEZ                  ADDRESS ON FILE
ALICIA CRUZ RIVERA                   ADDRESS ON FILE
ALICIA CRUZ VELEZ                    ADDRESS ON FILE
ALICIA D MARCANO MORALES             ADDRESS ON FILE
ALICIA DE JESUS                      ADDRESS ON FILE
ALICIA DE JESUS                      ADDRESS ON FILE
ALICIA DE JESUS BURGOS               ADDRESS ON FILE
ALICIA DE JESUS ESTATE               ADDRESS ON FILE
ALICIA DE LEON, LUZ H                ADDRESS ON FILE




                                                                                 Page 258 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 259 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALICIA E RAMOS CRUZ                      ADDRESS ON FILE
ALICIA E TORRES GONZALEZ                 ADDRESS ON FILE
ALICIA E. LAMBOY SANCHEZ                 ADDRESS ON FILE
ALICIA ESQUILIN RODRIGUEZ                ADDRESS ON FILE
ALICIA FERRER MARTINEZ                   ADDRESS ON FILE
ALICIA FERRER MARTINEZ                   ADDRESS ON FILE
ALICIA FIGUEROA SOTO                     ADDRESS ON FILE
ALICIA G ALICEA VEGA                     ADDRESS ON FILE
ALICIA GOMEZ ORTIZ                       ADDRESS ON FILE
ALICIA GOMEZ ORTIZ                       ADDRESS ON FILE
ALICIA GONZALEZ MOORE                    ADDRESS ON FILE
ALICIA GONZALEZ PAGAN                    ADDRESS ON FILE
ALICIA GUEDE GARCIA                      ADDRESS ON FILE
ALICIA GUZMAN RODRIGUEZ                  ADDRESS ON FILE
ALICIA J JIMENEZ VEGA                    ADDRESS ON FILE
ALICIA J JIMENEZ VEGA                    ADDRESS ON FILE
ALICIA JIMENEZ VEGA                      ADDRESS ON FILE
ALICIA LAPORTE SOTO                      ADDRESS ON FILE
ALICIA LATONI APONTE                     ADDRESS ON FILE
ALICIA LITCHFIELD SANTANA                ADDRESS ON FILE
ALICIA LOREA, MONICA                     ADDRESS ON FILE
ALICIA LUNA LOPEZ                        ADDRESS ON FILE
ALICIA M ANDRACA BUSTO                   ADDRESS ON FILE
ALICIA M DENISAC SANABRIA                ADDRESS ON FILE
ALICIA M LARRAURI / WILLIAM R LARRAURI   ADDRESS ON FILE
ALICIA M MALDONADO REYES                 ADDRESS ON FILE
ALICIA M MALDONADO REYES                 ADDRESS ON FILE
ALICIA M OLMO TERRASA                    ADDRESS ON FILE
ALICIA M RAMIREZ RUIZ                    ADDRESS ON FILE
ALICIA M RODRIGUEZ RIVERA                ADDRESS ON FILE
ALICIA M. SANTOS IRIZARRY LAW OFFICE     ADDRESS ON FILE
ALICIA MALDONADO CANDELARIA              ADDRESS ON FILE
ALICIA MALDONADO DIAZ & MICHELLE LABOY   ADDRESS ON FILE
ALICIA MALDONADO INDIO                   ADDRESS ON FILE
ALICIA MARTINEZ ALVAREZ                  ADDRESS ON FILE
ALICIA MARTINEZ MUNIZ                    ADDRESS ON FILE
ALICIA MARTINEZ MUNIZ                    ADDRESS ON FILE
ALICIA MARTINEZ MUNIZ                    ADDRESS ON FILE
ALICIA MATOS, CARMEN                     ADDRESS ON FILE
ALICIA MELENDEZ ARROYO                   ADDRESS ON FILE
ALICIA MELENDEZ MALDONADO                ADDRESS ON FILE
ALICIA MORALES ROSADO                    ADDRESS ON FILE
ALICIA NEGRON RODRIGUEZ                  ADDRESS ON FILE
ALICIA NIEVES NEGRON                     ADDRESS ON FILE
ALICIA NUNEZ LOPEZ                       ADDRESS ON FILE
ALICIA NUNEZ RODRIGUEZ                   ADDRESS ON FILE
ALICIA ORTIZ RAMOS                       ADDRESS ON FILE
ALICIA OTERO RAMOS                       ADDRESS ON FILE
ALICIA PEREZ COLLADO                     ADDRESS ON FILE
ALICIA PEREZ PEREZ                       ADDRESS ON FILE
ALICIA PIZARRO ROBLES                    ADDRESS ON FILE
ALICIA QUINONES ACEVEDO                  ADDRESS ON FILE
ALICIA RAMIREZ GARCIA                    ADDRESS ON FILE
ALICIA RAMIREZ RIOS                      ADDRESS ON FILE
ALICIA RAMIREZ RIOS                      ADDRESS ON FILE
ALICIA REYES COTTO                       ADDRESS ON FILE
ALICIA REYES TORRES                      ADDRESS ON FILE
ALICIA RIVERA RIVERA                     ADDRESS ON FILE
ALICIA RIVERA RUIZ                       ADDRESS ON FILE
ALICIA ROBLES CRUZ                       ADDRESS ON FILE




                                                                                     Page 259 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 260 of 3500
                                                                                      Creditor Matrix

Creditor Name                      Address1                  Address2                              Address3   Address4   City          State   PostalCode   Country
ALICIA RODRIGUEZ BERRIOS           ADDRESS ON FILE
ALICIA RODRIGUEZ MARTINEZ          ADDRESS ON FILE
ALICIA ROSADO MEJIA                ADDRESS ON FILE
ALICIA ROSADO ROSADO               ADDRESS ON FILE
ALICIA RUIZ GARCIA                 ADDRESS ON FILE
ALICIA S. MONTANEZ GARCIA          ADDRESS ON FILE
ALICIA SANCHEZ RAMOS               ADDRESS ON FILE
ALICIA SANCHEZ SANTANA             ADDRESS ON FILE
ALICIA SANTANA LUGO                ADDRESS ON FILE
ALICIA SANTIAGO CRUZ               ADDRESS ON FILE
ALICIA SANTIAGO DIAZ               ADDRESS ON FILE
ALICIA SANTIAGO GREEN              ADDRESS ON FILE
ALICIA SERRANO LIBRAN              ADDRESS ON FILE
ALICIA SMITH AND ASSOCIATES        ADDRESS ON FILE
ALICIA SMITH AND ASSOCIATES        ADDRESS ON FILE
ALICIA SOTO GARCIA                 ADDRESS ON FILE
ALICIA SOTOMAYOR SANTOS            ADDRESS ON FILE
ALICIA TORRES FERNANDEZ            ADDRESS ON FILE
ALICIA TORRES ROSARIO              ADDRESS ON FILE
ALICIA VEGA AVILES                 ADDRESS ON FILE
ALICIA VEGA AVILES                 ADDRESS ON FILE
ALICIA VELAZQUEZ VELEZ             LUIS N. BLANCO MATOS      MATOS ROBLES & BLANCO
ALICIA VELEZ ARES                  ADDRESS ON FILE
ALICIA VELEZ RIVERA                ADDRESS ON FILE
ALICIA VENTURA MENDEZ              ADDRESS ON FILE
ALICIA VIERA VAZQUEZ               ADDRESS ON FILE
ALICIANO GONZALEZ, CHRISTIAN       ADDRESS ON FILE
ALICK CANALES, MIGUEL              ADDRESS ON FILE
ALICK ORTIZ,SACHA                  ADDRESS ON FILE
ALIDA GINES CRUZ                   ADDRESS ON FILE
ALIDA GUZMAN RIVERA                ADDRESS ON FILE
ALIDA HERNANDEZ AYALA              ADDRESS ON FILE
ALIDA I RIVERA ROSARIO             ADDRESS ON FILE
ALIDA L RODRIGUEZ INC              35 CALLE BETANCES                                                                     VEGA BAJA     PR      00693
ALIDA M PADUA TRABAL               ADDRESS ON FILE
ALIDA M PADUA TRABAL               ADDRESS ON FILE
ALIDA M PADUA TRABAL               ADDRESS ON FILE
ALIDA PADUA TRABAL                 ADDRESS ON FILE
ALIDA PAGAN COLON                  ADDRESS ON FILE
ALIDA PANTOJA ORTIZ                ADDRESS ON FILE
ALIDA QUINONEZ RODRIGUEZ           ADDRESS ON FILE
ALIDA R ORTIZ MADERA               ADDRESS ON FILE
ALIDA RAMIA                        ADDRESS ON FILE
ALIDA RAMIREZ RIVERA               ADDRESS ON FILE
ALIDA RIVERA GARCIA                ADDRESS ON FILE
ALIDA RODRIGUEZ LEBRON             ADDRESS ON FILE
ALIDA ROMERO VEVE                  ADDRESS ON FILE
ALIDA ROSARIO TORRES               ADDRESS ON FILE
ALIDA SANCHEZ VELEZ                ADDRESS ON FILE
ALIDA SANTANA Y HECTOR VELAZQUEZ   ADDRESS ON FILE
ALIDA SANTIAGO QUINONES            ADDRESS ON FILE
ALIDA SOUCHET OTERO                ADDRESS ON FILE
ALIDA VARGAS VAZQUEZ               ADDRESS ON FILE
ALIDA VARGAS VAZQUEZ               ADDRESS ON FILE
ALIDA VEGA VEGA                    ADDRESS ON FILE
ALIDA VICENTY MARTELL              ADDRESS ON FILE
ALIER LOPEZ, CARLOS                ADDRESS ON FILE
ALIER LOPEZ, FRANKLIN              ADDRESS ON FILE
ALIER LOPEZ, JORGE L               ADDRESS ON FILE
ALIER MATOS, JUDITH                ADDRESS ON FILE




                                                                                     Page 260 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 261 of 3500
                                                                                                       Creditor Matrix

Creditor Name                             Address1                       Address2                                   Address3   Address4   City         State   PostalCode   Country
ALIER RODRIGUEZ, ERNIE T                  ADDRESS ON FILE
ALIER SIERRA, LUIS F                      ADDRESS ON FILE
ALIERS COLON, JUAN A.                     ADDRESS ON FILE
ALIERS RODRIGUEZ, ARLENE                  ADDRESS ON FILE
ALIFF ZAITER, CLAUDIO                     ADDRESS ON FILE
ALIFONSO AMADOR, YAMINES                  ADDRESS ON FILE
Alifonso Aponte, Carmen S.                ADDRESS ON FILE
ALIFONSO APONTE, VICTOR                   ADDRESS ON FILE
ALIK NAZARIO MARQUEZ                      ADDRESS ON FILE
ALILA ORTIZ FIGUEROA                      ADDRESS ON FILE
ALIMENTA MIS OVEJAS / FEED MY LAMBS INC   ADDRESS ON FILE
ALIMENTOS LIQUIDOS INDUSTRIALES INC       PO BOX 11946 CAPARRA HEIGHTS                                                                    SAN JUAN     PR      00922
ALIMENTOS NUTRITIVOS INC                  PMB 562                        AVE RAFAEL CORDERO STE 140                                       CAGUAS       PR      00725
ALINA ALMONTE HERNANDEZ                   ADDRESS ON FILE
ALINA CARNIAGO HERNANDEZ                  ADDRESS ON FILE
ALINA GOMEZ Y/O BEATRIZ CASERO            ADDRESS ON FILE
ALINA H ARNIELLA DE COBIAN                ADDRESS ON FILE
ALINA HERNANDEZ TORRES                    ADDRESS ON FILE
ALINA M DEL JUNCO AGUADO                  ADDRESS ON FILE
ALINA M MORAN LAMELAS                     ADDRESS ON FILE
ALINA PENA DE LA ROSA                     ADDRESS ON FILE
ALINA PRADERE ALONSO                      ADDRESS ON FILE
ALINA SANTOS PIERETTI                     ADDRESS ON FILE
ALINA SANTOS PIERETTI                     ADDRESS ON FILE
ALINA TORRES NAVARRO                      ADDRESS ON FILE
ALINA VEGA MELENDEZ                       ADDRESS ON FILE
ALINA VEGA PEREA Y RAMON VEGA DIAZ        ADDRESS ON FILE
ALINDATO BONET, CARLOS M                  ADDRESS ON FILE
ALINDATO JIMENEZ, CUMAN R.                ADDRESS ON FILE
ALINDATO NEGRON, WENDY                    ADDRESS ON FILE
ALINDATO PETER, RODRIGUEZ                 ADDRESS ON FILE
ALINDATO RIVERA, AXEL                     ADDRESS ON FILE
ALINES TORRES SALAZAR                     ADDRESS ON FILE
ALINNETTE CASIANO SANTIAGO                ADDRESS ON FILE
ALIO CORTADA, JOSE R                      ADDRESS ON FILE
ALIS M PEREZ SULIVERAS                    ADDRESS ON FILE
ALISA D. SANCHEZ                          ADDRESS ON FILE
ALISANDER PENA PICHARDO                   ADDRESS ON FILE
ALISHA L MEDINA VARGAS                    ADDRESS ON FILE
ALISHA L TORRES VEGA                      ADDRESS ON FILE
ALISHA M DIAZ FRANCO                      ADDRESS ON FILE
ALISHA T CRUZ RIVERA                      ADDRESS ON FILE
ALISHEANN SANTIAGO COLL                   ADDRESS ON FILE
ALISON AMARO MORALES                      ADDRESS ON FILE
ALISON G LEFF                             ADDRESS ON FILE
ALISON M HUERTAS MORAN                    ADDRESS ON FILE
ALISON M THIBODEAU                        ADDRESS ON FILE
ALISON NIEVES SANTIAGO                    ADDRESS ON FILE
ALISON NIEVES SANTIAGO                    ADDRESS ON FILE
ALISSETTE BAEZ SANCHEZ                    ADDRESS ON FILE
ALITZA CARDONA COLLAZO                    ADDRESS ON FILE
ALITZA J SANTIAGO TORO                    ADDRESS ON FILE
ALIVIO MEDICAL CENTER                     837 S WESTERN AVE              SUITE B                                                          CHICAGO      IL      60612
ALIXIOMARA GARCIA PEREZ                   ADDRESS ON FILE
ALIXSA FIGUEROA MORALES                   ADDRESS ON FILE
ALIZA M ALVARADO MUNOZ                    ADDRESS ON FILE
ALIZET RAMOS TORRES                       ADDRESS ON FILE
ALIZETTE ABRAHAM AVILEZ                   ADDRESS ON FILE
ALJOMA LUMBER INC                         PO BOX 34238                                                                                    PONCE        PR      00734
ALKCUS M QUINONEZ ORTIZ                   ADDRESS ON FILE




                                                                                                      Page 261 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 262 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                              Address1                                 Address2                                  Address3      Address4   City               State   PostalCode   Country
ALKHATIB, ROSANA                           ADDRESS ON FILE
ALKHATIB, SAMIR                            ADDRESS ON FILE
ALL MATTRESS                               269 AVE DE DIEGO                                                                                            RIO PIEDRAS        PR      00920
ALL ‐ WAYS 99                              PARADA 18 SANTURCE                                                                                          SAN JUAN           PR      00907
ALL AIR CONDITIONED TECH SERVICE INC       PO BOX 5413                                                                                                 CAGUAS             PR      00726
ALL AIR CONDITIONING SERVICES              PO BOX 5413                                                                                                 CAGUAS             PR      00626
ALL AIR CONDITIONING SERVICES              PUERTO NUEVO                             1256 CALLE DELHI                                                   SAN JUAN           PR      00920
ALL CARE MEDICAL CENTER                    8939 CLEARWOOD DR                                                                                           HOUSTON            TX      77075
ALL COATING MANAGEMENT CORP                PO BOX 363874                                                                                               SAN JUAN           PR      00936‐3874
ALL DENTAL SERVICES INC                    600 AVE M FERNANDEZ JUNCOS                                                                                  SAN JUAN           PR      00907
ALL DEVELOPMENT AND SUPPLY CORP            PO BOX 6                                                                                                    COROZAL            PR      00783
ALL DISTRIBUTION INC                       PMB 377                                  1353 CARR 19                                                       GUAYNABO           PR      00966‐2700
ALL DISTRIBUTORS INC                       PO BOX 1413                                                                                                 CATANO             PR      00963
                                                                                                                              COND GOLDEN
ALL DOCUMENTES DISPOSSAL LLC               600 FERNANDEZ JUNCOS AVE                 OFIC GC‐11A                               TRIANGLE                 SAN JUAN           PR      00907
ALL ELECTRICAL SOLUTIONS, LLC              PO BOX 9132                                                                                                 CAGUAS             PR      00726‐9132
ALL ENVIRONMENTAL SERVICES INC             12 CALLE BETANCES                                                                                           LARES              PR      00669‐9768
ALL GREEN CLEANING & MAINTENANCE LLC       P O BOX 3200                                                                                                SAN SEBASTIAN      PR      00685
ALL GREEN CLEANING & MAINTENANCE, LLC      PO BOX 3200 HATO ARRIBA STATION                                                                             SA SEBASTIAN       PR      00685‐0000
ALL IN ONE ACCOUNTING & TAX SEVICES INC.   HC‐4 BOX 12671                                                                                              RIO GRANDE         PR      00745
ALL IN ONE CORPORATION                     P O BOX 363413                                                                                              SAN JUAN           PR      00936
ALL IN ONE DISTRIBUTOR INC                 HC 04 BOX 5744                                                                                              GUAYNABO           PR      00971
ALL IN ONE OFFICE INC                      PO BOX 195451                                                                                               SAN JUAN           PR      00919‐5451
ALL IN ONE OFFICE, LLC                     CALLE 30 SO #1430 URB. CAPARRA TERRACE                                                                      SAN JUAN           PR      00920
ALL IN ONE OFFICE, LLC                     PO BOX 195451                                                                                               SAN JUAN           PR      00919‐5451
ALL INCLUSIVE GENERAL CONT                 PO BOX 362317                                                                                               SAN JUAN           PR      00936‐2317
ALL INCLUSIVE GENERAL CONTRACTOR INC       PO BOX 362317                                                                                               SAN JUAN           PR      00936‐2317
ALL INSURANCE GROUP CORP                   PO BOX 195505                                                                                               SAN JUAN           PR      00919‐5505
ALL INTERIORS, INC                         PO BOX 10518                                                                                                SAN JUAN           PR      00922‐0518
ALL LOCK DBA BRENDA L CORTIJO TORRES       VALLE VERDE II                           BE 14 CALLE AMAZONAS ESTE                                          BAYAMON            PR      00961
ALL LOCKS D/B/A BRENDA CORTIJO             VALLE VERDE 2 BE 14 CALLE AMAZONAS                                                                          BAYAMON            PR      00961
ALL MED REHABILITATION CENTER              4377 BRONX BLVD                                                                                             BRONX              NY      10466
ALL MEDICAL EQUIPMENT SERVICES INC         PO BOX 3967                                                                                                 AGUADILLA          PR      00605
ALL MEDICAL REHABILITATION CENTER          2604 THIRD AVE                                                                                              BRONX              NY      10454
ALL OCCASIONS PARTY RENTAL                 CIUDAD JARDIN I                          87 CALLE ALELI                                                     TOA ALTA           PR      00953
ALL OCCASIONS PARTY RENTAL CORP.           87 CALLE ALHELI CIUDAD JARDIN I                                                                             TOA ALTA           PR      00953
ALL ON VENDING SDM INC                     BO ESPINOSA                              HC 80 BUZON 7913                                                   DORADO             PR      00646
ALL ORTHODONTICS SERVICES PSC              600 AVE M FERNANDEZ JUNCOS                                                                                  SAN JUAN           PR      00907
ALL POINT LOGISTICS CORP                   URB ANTILLANA                            AN69 PLAZA SAN THOMAS                                              TRUJILLO ALTO      PR      00976 6126
ALL PROF CONSUL & SERV GROUP P S C         BAYAMON GARDEN STATION                   PO BOX 3858                                                        BAYAMON            PR      00958
ALL PUROISE SERVUCES & MAINTENANCE INC     P O BOX 20810                                                                                               SAN JUAN           PR      00925‐0810
ALL PURPOSE SERVICES & MAINTENANCE INC     PO BOX 20810                                                                                                SAN JUAN           PR      00928
ALL SCANNER REPAIR CORP                    URB PLAZA DE LA FUENTE                   1195 CALLE EGIPTO                                                  TOA ALTA           PR      00953‐3805
ALL SERVICES & MATERIALS INS               P O BOX 3216                                                                                                SAN JUAN           PR      00984‐3216
ALL SOLUTION JM CORP                       PO BOX 713                                                                                                  GUAYNABO           PR      00970
ALL SOLUTION JM CORP                       URB. TOA ALTA HEIGHTS R‐45 CALLE 22                                                                         TOA ALTA           PR      00953
ALL SOLUTION JM CORP                       URB. TOA ALTA HEIGHTSR R‐45 CALLE 22                                                                        TOA ALTA           PR      00953
ALL STAGE                                  PO BOX 8593                                                                                                 BAYAMON            PR      00960
ALL STAR CLEANERS                          URB SANTA JUANITA                                                                                           BAYAMON            PR      00959
ALL STARS PUERTO RICO INC                  COND EL ATLANTICO                        APT 1107                                                           TOA BAJA           PR      00949
ALL SUPPLIES INC                           15211 SPRINGDALE STREET                                                                                     HUNTINGTON BEACH   CA      92649
ALL TOOLS INC                              AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                          SAN JUAN           PR      09024140
ALL TOOLS INC                              C/O MARCELO E ESQUILIN                   PO BOX 41269                                                       SAN JUAN           PR      00940‐1269
ALL TOOLS INC                              PO BOX 191784                                                                                               SAN JUAN           PR      00919‐1784
ALL TOOLS INC                              URB SAN JOSE IND                         1399 AVE PONCE DE LEON                                             RIO PIEDRAS        PR      00926
ALL TRADE SUPPLY GROUP INC.                501 PERSEO STREET, SUITE 206             SUITE 206                                                          SAN JUAN           PR      00920
ALL TRAILER DESIGN                         CARRETERA 865 KM 0 2                                                                                        TOA BAJA           PR      00949
ALL TRAILER DESIGN                         P O BOX 2376                                                                                                TOA BAJA           PR      00951
ALL TRAILER OFFICE INC                     BO CAMPANILLAS                           103 CARR 865                                                       TOA BAJA           PR      00949‐5704
ALL TRAILER OFFICE INC.                    STE. 111 CALLE MENDEZ VIGO 373                                                                              DORADO             PR      00646‐4911




                                                                                                                Page 262 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 263 of 3500
                                                                                                          Creditor Matrix

Creditor Name                         Address1                                       Address2                          Address3     Address4   City            State   PostalCode   Country
ALL TV & APPLIANCE SERVICES           CALLE SALVIA 4K‐6 LOMAS VERDES                                                                           BAYAMON         PR      00956
ALL YOU NEED IS JUICE                 318 AVE DE DIEGO SUITE L‐2                                                                               SANTURCE        PR      00909
ALLAN A PENA RIOS                     ADDRESS ON FILE
ALLAN BASTIDAS PADILLA                ADDRESS ON FILE
ALLAN D. MARRERO MARTINEZ             ADDRESS ON FILE
ALLAN DURAN MALAVE                    ADDRESS ON FILE
ALLAN J LUGO REYES / MINELYS REYES    ADDRESS ON FILE
ALLAN LOPEZ LAUREANO                  ADDRESS ON FILE
ALLAN ROSADO RODRIGUEZ                ADDRESS ON FILE
ALLAN TORRES QUEITS                   ADDRESS ON FILE
ALLANS COLON CRUZ                     ADDRESS ON FILE
ALLARD HERNANDEZ, DIALA               ADDRESS ON FILE
ALLEEN A RAMOS ACEVEDO                ADDRESS ON FILE
ALLEEN R ROMAN COTTO                  ADDRESS ON FILE
ALLEGHENY CASUALTY COMPANY            ADDRESS ON FILE
Allegheny Casualty Company            Attn: Frank Tanzola, Circulation of Risk       One Newark Center                 20th Floor              Newark          NJ      07102
Allegheny Casualty Company            Attn: Frank Tanzola, Consumer Complaint Contac One Newark Center                 20th Floor              Newark          NJ      07102
Allegheny Casualty Company            Attn: Thomas Ritchey, President                One Newark Center                 20th Floor              Newark          NJ      07102
Allegheny Casualty Company            One Newark Center                              20th Floor                                                Newark          NJ      00710
ALLEGIANCE PRO INC                    PO BOX 1386                                                                                              ANASCO          PR      00610
ALLEGRO ARTS EDUC.& MANAGEMENT        1500 BORI ANTONSANTI                                                                                     SAN JUAN        PR      00923
ALLEN A RAMOS ACEVEDO                 ADDRESS ON FILE
ALLEN ANDUJAR APONTE                  ADDRESS ON FILE
ALLEN CALDERON, CARMEN G              ADDRESS ON FILE
ALLEN CATALA, IVETTE                  ADDRESS ON FILE
ALLEN DE ZAIDI, ELSIE                 ADDRESS ON FILE
ALLEN MANAGEMENT/PANADERIA LA CANDELARURB MONTE REY                                  1009 CALLE                                                MAYAGUEZ        PR      00680
ALLEN MAS, ADRIA                      ADDRESS ON FILE
ALLEN MD , VANESSA M                  ADDRESS ON FILE
ALLEN NICHOLAS, JAY R.                ADDRESS ON FILE
ALLEN PINERO FONTANEZ                 ADDRESS ON FILE
ALLEN PINERO FONTANEZ                 ADDRESS ON FILE
ALLEN RAMOS MALDONADO                 ADDRESS ON FILE
ALLEN RAMOS MONTANEZ                  ADDRESS ON FILE
ALLEN RIVAS, LORAINE N                ADDRESS ON FILE
ALLEN RIVERA, JULIE A                 ADDRESS ON FILE
Allen Rodriguez, Heriberto            ADDRESS ON FILE
ALLEN SYSTEMS GROUP INC.              135 SOUTH LASALLE STREET                       DEPARTMENT 4304                                           CHICAGO         IL      60674‐4304
ALLEN TELECOM LLC                     3 WESTBROOK CORPORATE CTR STE 900                                                                        WESTCHESTER     IL      60154‐5765
ALLEN TORRENT COLON                   ADDRESS ON FILE
ALLEN TORRENT COLON                   ADDRESS ON FILE
ALLEN TORRES, MAYBELLE                ADDRESS ON FILE
Allende Alago, Jose E.                ADDRESS ON FILE
ALLENDE ANDINO, ELIEZER               ADDRESS ON FILE
ALLENDE ANDRADES, GRACIELA            ADDRESS ON FILE
ALLENDE BARREIRO ÁNGEL                LCDA. LIVIA E. ROVIRA BLOISE                   PO BOX 1378                                               GUAYAMA         PR      00785
ALLENDE BARREIRO, MARIA E             ADDRESS ON FILE
Allende Borges, Daniel S              ADDRESS ON FILE
ALLENDE BURGOS, DOLORES               ADDRESS ON FILE
ALLENDE BURGOS, LOURDES               ADDRESS ON FILE
ALLENDE CANDELARIO, ALBERTO           ADDRESS ON FILE
ALLENDE CANDELARIO, ALBERTO           ADDRESS ON FILE
ALLENDE CARRASQUILLO, LYDIA I         ADDRESS ON FILE
ALLENDE CARRASQUILLO, MATILDE         ADDRESS ON FILE
ALLENDE CASANOVA, JULIA E             ADDRESS ON FILE
ALLENDE CASTRO, CARMEN C              ADDRESS ON FILE
ALLENDE CEBALLO, JORGE L.             ADDRESS ON FILE
ALLENDE CECILIO, WALDEMAR             ADDRESS ON FILE
ALLENDE CEPEDA, MISAEL                ADDRESS ON FILE
ALLENDE CEPEDA, MOISES                ADDRESS ON FILE




                                                                                                         Page 263 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 264 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALLENDE CIRINO, LUIS              ADDRESS ON FILE
Allende Colmenero, Antonio        ADDRESS ON FILE
ALLENDE CORTIJO, ANDRES           ADDRESS ON FILE
ALLENDE COSME, XIOMARA            ADDRESS ON FILE
ALLENDE CRUZ, AMALYN              ADDRESS ON FILE
ALLENDE CRUZ, AMALYN              ADDRESS ON FILE
ALLENDE CRUZ, ENID M              ADDRESS ON FILE
ALLENDE CRUZ, IVAN R              ADDRESS ON FILE
ALLENDE CUEVAS, ANTONIA           ADDRESS ON FILE
ALLENDE CUEVAS, ROSA              ADDRESS ON FILE
ALLENDE DE JESUS, ANGEL           ADDRESS ON FILE
ALLENDE DE JESUS, JUSTINO         ADDRESS ON FILE
ALLENDE DE LEON, JOYLEEN          ADDRESS ON FILE
ALLENDE ESCALERA, JOSE            ADDRESS ON FILE
ALLENDE ESCALERA, LAURA E         ADDRESS ON FILE
ALLENDE ESCALERA, LUZ M           ADDRESS ON FILE
ALLENDE FIGUEROA, HILDA M         ADDRESS ON FILE
ALLENDE FUENTES, EBEL             ADDRESS ON FILE
Allende Fuentes, Vilmari          ADDRESS ON FILE
ALLENDE GUADALUPE, AIMEE          ADDRESS ON FILE
ALLENDE GUADALUPE, MARILIS        ADDRESS ON FILE
ALLENDE HERES, ANA                ADDRESS ON FILE
ALLENDE HERNANDEZ, MARCIAL        ADDRESS ON FILE
ALLENDE HERNANDEZ, PEDRO          ADDRESS ON FILE
ALLENDE ISAAC, EDWIN              ADDRESS ON FILE
ALLENDE JIMENEZ, CARMELO          ADDRESS ON FILE
ALLENDE LOPEZ, MIGUEL             ADDRESS ON FILE
ALLENDE LOPEZ, MIGUEL             ADDRESS ON FILE
ALLENDE LOPEZ, NORELIZ            ADDRESS ON FILE
ALLENDE MARTINEZ, ALBERTO         ADDRESS ON FILE
ALLENDE MARTINEZ, CARMELO II      ADDRESS ON FILE
ALLENDE MARTINEZ, CARMEN          ADDRESS ON FILE
ALLENDE MATOS, JESUS I.           ADDRESS ON FILE
ALLENDE MATTA, JOSE A.            ADDRESS ON FILE
Allende Mojica, Regino            ADDRESS ON FILE
ALLENDE MORALES, MILAGROS         ADDRESS ON FILE
ALLENDE NIEVES, JUAN DAVID        ADDRESS ON FILE
ALLENDE NIEVES, MARIA E           ADDRESS ON FILE
ALLENDE ORENGO, JOSEPHINE         ADDRESS ON FILE
ALLENDE ORTIZ, CARMEN G           ADDRESS ON FILE
ALLENDE ORTIZ, NESTOR             ADDRESS ON FILE
ALLENDE OTERO, CARMEN I           ADDRESS ON FILE
ALLENDE PASTRANA, MAGALY          ADDRESS ON FILE
ALLENDE PENALOZA, ANGELITA        ADDRESS ON FILE
ALLENDE PEREZ, HECTOR R.          ADDRESS ON FILE
ALLENDE PEREZ, JOSE M             ADDRESS ON FILE
Allende Perez, Ramon              ADDRESS ON FILE
ALLENDE PEREZ, RAMON L.           ADDRESS ON FILE
Allende Perez, Roberto            ADDRESS ON FILE
ALLENDE PIZARRO, EDWIN            ADDRESS ON FILE
Allende Quinones, Angel Cecilio   ADDRESS ON FILE
ALLENDE QUINONES, IRMA            ADDRESS ON FILE
ALLENDE QUINONES, IRMA            ADDRESS ON FILE
ALLENDE QUINONEZ, ANGEL C.        ADDRESS ON FILE
ALLENDE QUINONEZ, CECILET         ADDRESS ON FILE
ALLENDE RAMOS, FRANCISCO          ADDRESS ON FILE
ALLENDE RIOS, CARMEN J            ADDRESS ON FILE
ALLENDE RIOS, RAMON               ADDRESS ON FILE
ALLENDE RIVERA, BRENDA I          ADDRESS ON FILE
ALLENDE RIVERA, JOSE              ADDRESS ON FILE




                                                                              Page 264 of 10031
                                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                                   Exhibit A-1 - Creditor
                                                                                       Case No.Matrix
                                                                                               17 BK 3283‐LTSPage 265 of 3500
                                                                                                                   Creditor Matrix

Creditor Name                                   Address1                               Address2                                 Address3     Address4   City            State   PostalCode   Country
ALLENDE RIVERA, MARICEL                         ADDRESS ON FILE
ALLENDE RIVERA, YEISA M                         ADDRESS ON FILE
ALLENDE RODRIGUEZ, DAVID                        ADDRESS ON FILE
ALLENDE RODRIGUEZ, JOSE                         ADDRESS ON FILE
ALLENDE ROLON, ANSELMO                          ADDRESS ON FILE
ALLENDE ROLON, CARMEN                           ADDRESS ON FILE
ALLENDE RONDON, DIANA                           ADDRESS ON FILE
ALLENDE RONDON, VICTOR                          ADDRESS ON FILE
ALLENDE ROSADO, SUHAIL                          ADDRESS ON FILE
ALLENDE SAN MIGUEL, EDGARD                      ADDRESS ON FILE
ALLENDE SANTANA, JOSE                           ADDRESS ON FILE
ALLENDE SANTANA, LUIS E.                        ADDRESS ON FILE
ALLENDE SANTIAGO, BRENDA V                      ADDRESS ON FILE
ALLENDE SANTOS MD, GERARDO J                    ADDRESS ON FILE
ALLENDE SANTOS, MONSERRATE                      ADDRESS ON FILE
ALLENDE SANTOS, RAMON L.                        ADDRESS ON FILE
ALLENDE SANTOS, RAMON L.                        ADDRESS ON FILE
ALLENDE SIERRA, OSVALDO                         ADDRESS ON FILE
ALLENDE SOTO, CARLOS M.                         ADDRESS ON FILE
ALLENDE SUAREZ, CARMEN M                        ADDRESS ON FILE
ALLENDE TAPIA, ANA M                            ADDRESS ON FILE
ALLENDE TAPIA, ANA M.                           ADDRESS ON FILE
ALLENDE TORRES, IVELISS                         ADDRESS ON FILE
ALLENDE TORRES, JOSE A                          ADDRESS ON FILE
ALLENDE TORRES, JOSE ARIEL                      ADDRESS ON FILE
ALLENDE TORRES, JURISAN                         ADDRESS ON FILE
ALLENDE TORRES, NELMARIE                        ADDRESS ON FILE
ALLENDE TORRES, OSCAR                           ADDRESS ON FILE
ALLENDE TRANSPORT CORP                          1054 SANTANA                                                                                            ARECIBO         PR      00612
ALLENDE VAZQUEZ MD, JOSE A                      ADDRESS ON FILE
ALLENDE VELAZQUEZ, ANA E                        ADDRESS ON FILE
ALLENDE VERDEJO,ALBA LEE                        ADDRESS ON FILE
ALLENDE VIERA, JOHANNA                          ADDRESS ON FILE
ALLENDE, MARIA DEL C                            ADDRESS ON FILE
ALLENDE, MARINELLY                              ADDRESS ON FILE
ALLENDEOCASIO, DANIEL                           ADDRESS ON FILE
ALLENM FIELD CO INC                             P O BOX 3069                                                                                            FARMINGDALE     NY      11735
ALLERGAN SURGICAL                               PO BOX 1408                                                                                             ANASCO          PR      00610
ALLERGY ASSOCIATES OF HARTFORD                  19 WOODLAND ST                         STE 11                                                           HARTFORD        CT      06105
ALLERS FELICIANO, MICHAEL                       ADDRESS ON FILE
ALLEVA CUEVAS, ADRIANA                          ADDRESS ON FILE
ALLEY CRUZ, CHARLES B                           ADDRESS ON FILE
ALLIANCE COMMUNITY HEALTH SERVICES              6 CALLE LUIS MUNOZ MARIN                                                                                HORMIGUEROS     PR      00660
ALLIANCE CONTRACTOR GROUP INC                   109 CALLE MUNOZ RIVERA STE 4                                                                            GUAYANILLA      PR      00656
ALLIANCE DUTY FREE INC                          PO BOX 2059                                                                                             CAROLINA        PR      00983
ALLIANCE FINANCIAL INSURANCES SERVICES L L CPO BOX 1734                                                                                                 CABO ROJO       PR      00623
ALLIANCE HEALTH INC                             1225 AVE PONCE DE LEON 702                                                                              SAN JUAN        PR      00907
ALLIANCE MARKETING GROUP INC                    URB BUCARE                             1 CALLE ZAFIRO                                                   GUAYNABO        PR      00969
ALLIANCE SOLAR POWER SYSTEM INC                 109 CALLE MUNOZ RIVERA STE 7                                                                            GUAYANILLA      PR      00656
ALLIANZ GLOBAL RISKS US INSURANCE               2350 EMPIRE AVENUE                                                                                      BURBANK         CA      91504‐3350
ALLIANZ GLOBAL RISKS US INSURANCE COMPANY225 W WASHINGTON ST 1800                                                                                       CHICAGO         IL      60606
Allianz Global Risks US Insurance Company       2350 Empire Avenue                                                                                      Burbank         CA      91504
Allianz Global Risks US Insurance Company       Attn: Julie Garrison, Vice President   225 W. Washington Street                 Suite 1800              Chicago         IL      60606
Allianz Global Risks US Insurance Company       Attn: Kevin Callahan, President        225 W. Washington Street                 Suite 1800              Chicago         IL      60606
Allianz Life Insurance Company of North         5701 Golden Hills Drive                                                                                 Minneapolis     MN      55416‐1297
Allianz Life Insurance Company of North America Attn: Mark Zesbaugh, President         PO Box 1344                                                      Minneapolis     MN      55440‐1344
Allianz Life Insurance Company of North America Attn: Nicole Scanlon, Vice President   PO Box 1344                                                      Minneapolis     MN      55440‐1344
ALLIED AVIATIONINC                              2 PENN PLZ                                                                                              NEW YORK        NY      10121‐0101
ALLIED ELECTRICAL SERVICES CORP                 URB JAIME L DREW                       82 CALLE E                                                       PONCE           PR      00731
ALLIED EVOLUTION CORP                           PO BOX 363507                                                                                           SAN JUAN        PR      00936




                                                                                                                  Page 265 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                               Exhibit A-1 - Creditor
                                                                                   Case No.Matrix
                                                                                           17 BK 3283‐LTSPage 266 of 3500
                                                                                                                                Creditor Matrix

Creditor Name                                Address1                                        Address2                                        Address3     Address4   City           State   PostalCode   Country
ALLIED INTERSTATE INC                        DEPARTAMENTO DE HACIENDA                                                                                                SAN JUAN       PR      00901
ALLIED INTERSTATE INC                        PO BOX 361563                                                                                                           COLUMBUS       OH      43236
ALLIED MANAGEMENT GROUP INC                  128 AVE F D ROOSEVELT                                                                                                   SAN JUAN       PR      00919
ALLIED MUSIC SOLUTIONS, INC                  894 AVE. MUNOZ RIVERA                           SUITE 208                                                               SAN JUAN       PR      00927‐4399
ALLIED POWER TECHNOLOGIES INC                URB.CIUDAD JARDIN III CALLE UCAR #21                                                                                    TOA ALTA       PR      00953
Allied Professionals Insurance Company       A Risk Retention Group, Inc.                    1100 W. Town & Country Road, Suite 1400                                 Orange         CA      92868
Allied Professionals Insurance Company       Attn: Andrew Fedak, Premiun Tax Contact         1100 W. Town & Country Rd., Ste. 1400                                   Orange         CA      92868
Allied Professionals Insurance Company       Attn: Caroline Tseng, Consumer Complaint Conta 1100 W. Town & Country Rd., Ste. 1400                                    Orange         CA      92868
Allied Professionals Insurance Company       Attn: Jessica Andrus, Regulatory Compliance Gov 1100 W. Town & Country Rd., Ste. 1400                                   Orange         CA      92868
Allied Professionals Insurance Company       Attn: Philip Stump, Circulation of Risk         1100 W. Town & Country Rd., Ste. 1400                                   Orange         CA      92868
Allied Professionals Insurance Company       Attn: Stump Philip Christopher, President       1100 W. Town & Country Rd., Ste. 1400                                   Orange         CA      92868
ALLIED WASTE INDUSTRIES INC                  18500 NORTH ALLIED WAY                                                                                                  PHOENIX        AZ      85054
ALLIED WASTE OF PONCE, INC.                  PO BOX 51986                                                                                                            TOA BAJA       PR      00950‐0000
ALLIED WASTE OF PONCE, INC.                  PO BOX 7104                                                                                                             PONCE          PR      00732‐0000
Allied Waste of Puerto Rico, Inc.            Calle A, Lote 5 Bo. Palmas                                                                                              CataNo         PR      00962
ALLIED WASTE OF PUERTO RICO, INC.            P O BOX 51986                                                                                                           TOA BAJA       PR      00950‐1986
ALLIED WASTE SERVICES                        PO BOX 51986                                                                                                            TOA BAJA       PR      00950
ALLIED WASTED OF PUERTO RICO INC             P O BOX 51986                                                                                                           TOA BAJA       PR      00950
ALLIED WASTER OF PUERTO RICO                 PO BOX 51986                                                                                                            TOA BAJA       PR      00950
Allied World Assurance Company (U.S.) Inc.   3424 Peachtree Road NE                          Suite 550                                                               Atlanta        GA      30326
Allied World Assurance Company (U.S.) Inc.   Attn: karen Colona, Vice President              199 Water Street                                29th Floor              New York       NY      10038
Allied World Assurance Company (U.S.) Inc.   Attn: Richard Jodoin, President                 199 Water Street                                29th Floor              New York       NY      10038
Allied World Insurance Company               Attn: Karen Colonna, Vice President             199 Water Street                                25th Floor              New York       NY      10038
Allied World Insurance Company               Park Tower 15th Floor                           Gubelstrasse 24                                                         6300 Zug                            Switzerland
ALLIERS GONZALEZ, ROSA E                     ADDRESS ON FILE
ALLISON ATHERLEY                             ADDRESS ON FILE
ALLISON J JIMENEZ GOMEZ                      ADDRESS ON FILE
ALLISON J. THOMPSON RODRIGUEZ                ADDRESS ON FILE
ALLISON RODRIGUEZ ARROYO                     ADDRESS ON FILE
ALLISSETTE S. CAMACHO TORRES                 ADDRESS ON FILE
ALLISSETTE S. CAMACHO TORRES                 ADDRESS ON FILE
ALLIX E DEL VALLE BARRETO                    ADDRESS ON FILE
ALLIX S RAMIREZ CHARKAS                      ADDRESS ON FILE
ALLMERICA FINANCIAL CORP                     440 LINCOLN STREET N 479                                                                                                WORCESTER      MA      01653
ALLMICRO, INC.
ALLSET INC                                   PO BOX 192541                                                                                                           SAN JUAN       PR      00919‐2541
ALLSTATE INSURANCE CO                        ACCOUNTING SERV 3 RESOURCE SQ                     10815 DAVID TAYLOR DR STE 300                                         CHARLOTTE      NC      28262‐3312
Allstate Insurance Company                   2775 Sanders Road                                                                                                       Northbrook     IL      60062
Allstate Insurance Company                   Attn: Edward M. Lidely, President                 3075 Sanders Road                             Suite H1A               Northbrook     IL      60062‐7127
Allstate Insurance Company                   c/o Allstate Insurance Company, Circulation of Ris3075 Sanders Road                             Suite H1A               Northbrook     IL      60062‐7127
Allstate Insurance Company                   c/o Allstate Insurance Company, Consumer Comp3075 Sanders Road                                  Suite H1A               Northbrook     IL      60062‐7127
Allstate Insurance Company                   c/o GSA Caribbean Corporation, Agent for Service3075 Sanders Road                               Suite H1A               Northbrook     IL      60062‐7127
Allstate Life Insurance Company              3075 Sanders Road                                                                                                       Northbrook     IL      60062
ALLSTATE LIFE INSURANCE COMPANY              3100 SANDERS ROAD                                                                                                       MORTHBROOK     IL      60062‐7154
Allstate Life Insurance Company              Attn: Raymond Thomas, Vice President              3075 Sanders Rd.                              Suite H1A               Northbrook     IL      60062‐7127
Allstate Life Insurance Company              c/o Allstate Life Insurance Company, Circulation o3075 Sanders Rd.                              Suite H1A               Northbrook     IL      60062‐7127
Allstate Life Insurance Company              c/o Allstate Life Insurance Company, Consumer C 3075 Sanders Rd.                                Suite H1A               Northbrook     IL      60062‐7127
Allstate Life Insurance Company              c/o GSA Caribbean Corp., Agent for Service of Pro3075 Sanders Rd.                               Suite H1A               Northbrook     IL      60062‐7127
ALLTERRA AMERICA INSURANCE COMPANY           535 SPRINGFIELD                                   AVE SUITE 200                                                         SUMMIT         NJ      07901
ALLUM, NICOLE                                ADDRESS ON FILE
ALLY FINANCIAL INC                           PO BOX 724016                                                                                                           ATLANTA        PR      31139
ALLYNA RODRIGUEZ BAEZ                        ADDRESS ON FILE
ALLYSON J MARQUEZ                            ADDRESS ON FILE
ALLYSON MARCUCCI RAMOS                       ADDRESS ON FILE
ALLYSON TORRES ALICEA                        ADDRESS ON FILE
ALMA A ROSALY RUIZ                           ADDRESS ON FILE
ALMA A ZAPATA ACEVEDO                        ADDRESS ON FILE
ALMA ALMA, EFRAIN                            ADDRESS ON FILE
ALMA ALMA, KATHERINE                         ADDRESS ON FILE
ALMA ARVELO PLUMEY                           ADDRESS ON FILE




                                                                                                                               Page 266 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 267 of 3500
                                                                                           Creditor Matrix

Creditor Name                       Address1                    Address2                                Address3              Address4   City         State   PostalCode   Country
ALMA B GONZALEZ DE JESUS            ADDRESS ON FILE
ALMA BEHAVIORAL GROUP               MEDICAL RECORDS             7550 FUTURES DR STE 101                                                  ORLANDO      FL      32819
ALMA BONILLA, YARA                  ADDRESS ON FILE
ALMA C. DELIZ ROMAN                 ADDRESS ON FILE
ALMA C. PONTÓN NIGAGLIONI           ADDRESS ON FILE
ALMA COLON NATAL                    ADDRESS ON FILE
ALMA COLON, WILLIAM                 ADDRESS ON FILE
ALMA CRUZ SANTANA                   ADDRESS ON FILE
ALMA CRUZ, ANA RUTH                 ADDRESS ON FILE
Alma Cruz, Esaud D.                 ADDRESS ON FILE
ALMA CRUZ, ISIDORE                  ADDRESS ON FILE
ALMA D RODRIGUEZ MORENO             ADDRESS ON FILE
ALMA D. VÁZQUEZ ROSA                SRA. ALMA D. VÁZQUEZ ROSA   CALLE FERRER #307                       URB. VILLA PALMERAS              SAN JUAN     PR      00915
ALMA DAMARIS RAMOS NOA              ADDRESS ON FILE
ALMA DE LA CRUZ CASTELLANOS         ADDRESS ON FILE
ALMA DEL C BABILONIA NAVEDO         ADDRESS ON FILE
ALMA E CINTRON VARGA                ADDRESS ON FILE
ALMA E NIEVES VAZQUEZ               ADDRESS ON FILE
ALMA E QUINONES VELEZ               ADDRESS ON FILE
ALMA E QUINONES VELEZ               ADDRESS ON FILE
ALMA E QUINONES VELEZ               ADDRESS ON FILE
ALMA E QUINONES VELEZ               ADDRESS ON FILE
ALMA E QUINONES VELEZ               ADDRESS ON FILE
ALMA E VILLARRUBIA SANCHEZ          ADDRESS ON FILE
ALMA E. OTERO RODRIGUEZ             ADDRESS ON FILE
ALMA ENID OTERO RODRIGUEZ           ADDRESS ON FILE
ALMA FELICIANO SANTANA              ADDRESS ON FILE
ALMA FELICIANO SANTANA              ADDRESS ON FILE
ALMA FELICIANO, TAMARA M            ADDRESS ON FILE
ALMA G QUINONES ORTIZ               ADDRESS ON FILE
ALMA GARCIA SANTIAGO                ADDRESS ON FILE
ALMA GUEVARA, ONEIDA                ADDRESS ON FILE
ALMA I AQUINO MALDONADO             ADDRESS ON FILE
ALMA I BARRERA QUINONES             ADDRESS ON FILE
ALMA I COSTAS                       ADDRESS ON FILE
ALMA I FIGUEROA PEREZ               ADDRESS ON FILE
ALMA I RIVERA LOPEZ                 ADDRESS ON FILE
ALMA I VAZQUEZ IRIZARRY             ADDRESS ON FILE
ALMA I VEGA BERRIOS                 ADDRESS ON FILE
ALMA I. ORTIZ PEREZ                 ADDRESS ON FILE
ALMA IRIS SUAREZ                    ADDRESS ON FILE
ALMA IRIS TORRES FEBLES             ADDRESS ON FILE
ALMA J ALVARADO GONZALEZ            ADDRESS ON FILE
ALMA J PEREZ MATOS                  ADDRESS ON FILE
ALMA J VELEZ ERBA                   ADDRESS ON FILE
ALMA J. GONZALEZ MURIEL             ADDRESS ON FILE
ALMA J. MALDONADO BELEN             ADDRESS ON FILE
ALMA JIMENEZ ESTRONZA               ADDRESS ON FILE
ALMA JIMENEZ, HAMLET                ADDRESS ON FILE
ALMA JIMENEZ, KEISHLA               ADDRESS ON FILE
ALMA L COLON ROSA                   ADDRESS ON FILE
ALMA L LABOY DIAZ                   ADDRESS ON FILE
ALMA L VENDRELL / MARCELINO ZAYAS   ADDRESS ON FILE
ALMA L. PAGAN SANTIAGO              ADDRESS ON FILE
ALMA LABEAGA RODRIGUEZ              ADDRESS ON FILE
ALMA LETICIA PAGAN SANTIAGO         ADDRESS ON FILE
ALMA LOPEZ, CARLOS                  ADDRESS ON FILE
ALMA LOPEZ, JOSE                    ADDRESS ON FILE
ALMA M ARVELO PLUMEY                ADDRESS ON FILE
ALMA M CASTRO VILARO                ADDRESS ON FILE




                                                                                          Page 267 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 268 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City              State   PostalCode   Country
ALMA MARQUEZ ESPINOSA                   ADDRESS ON FILE
ALMA MARRERO                            ADDRESS ON FILE
ALMA MARTINEZ QUINONEZ                  ADDRESS ON FILE
ALMA MATOS, DIANA Y                     ADDRESS ON FILE
Alma Matos, Johanna                     ADDRESS ON FILE
ALMA MORALES RODRIGUEZ                  ADDRESS ON FILE
ALMA MOREIRA ENCARNACION                ADDRESS ON FILE
ALMA MUSIC / JUAN A LOPEZ DELGADO       P O BOX 79240                                                                     CAROLINA          PR      00984
ALMA MUSIC DBA JUAN LOPEZ DELGADO       P O BOX 79240                                                                     CAROLINA          PR      00984
ALMA N ALMODOVAR ALMODOVAR              ADDRESS ON FILE
ALMA N GUTIERREZ PEREZ                  ADDRESS ON FILE
ALMA N MERCADO BENIQUEZ                 ADDRESS ON FILE
ALMA N RIVERA ALICEA                    ADDRESS ON FILE
ALMA N RODRIGUEZ GARCIA                 ADDRESS ON FILE
ALMA N. MONTES MADERA                   ADDRESS ON FILE
ALMA N. SANTIAGO TORRES                 ADDRESS ON FILE
ALMA NEAL TROCHEZ / GUILLERMO JIMENEZ   ADDRESS ON FILE
ALMA NIEVES CABALLERO                   ADDRESS ON FILE
ALMA NYDIA ROSADO NUNEZ / RUBEN C GREEN ADDRESS ON FILE
ALMA PEREZ, EDWIN                       ADDRESS ON FILE
ALMA PEREZ, JOVAN                       ADDRESS ON FILE
ALMA R CASELLINI MEYER                  ADDRESS ON FILE
ALMA R CORDERO RIVERA                   ADDRESS ON FILE
ALMA R DE PEDRO MONTES                  ADDRESS ON FILE
ALMA R MATOS TORRES                     ADDRESS ON FILE
ALMA R MENDEZ ALBERTY                   ADDRESS ON FILE
ALMA R ROSADO RAMOS                     ADDRESS ON FILE
ALMA R SANCHEZ VAZQUEZ                  ADDRESS ON FILE
ALMA RIOS SANCHEZ                       ADDRESS ON FILE
ALMA RIVERA, JONATHAN                   ADDRESS ON FILE
Alma Roman, Madeline                    ADDRESS ON FILE
ALMA ROSA RODRIGUEZ                     ADDRESS ON FILE
ALMA ROSA, ALFREDO                      ADDRESS ON FILE
ALMA ROSADA, MARITZA                    ADDRESS ON FILE
ALMA ROSADO MUNOZ                       ADDRESS ON FILE
ALMA ROZADA, SIRIS                      ADDRESS ON FILE
ALMA S QUINONEZ LACOURT                 ADDRESS ON FILE
ALMA SEDA TORO                          ADDRESS ON FILE
ALMA SILVA NIEVES                       ADDRESS ON FILE
ALMA SUAREZ, DORANELIA                  ADDRESS ON FILE
ALMA T MORENO RUIZ                      ADDRESS ON FILE
ALMA Y TORRES SEGARRA                   ADDRESS ON FILE
ALMA Z CABEZA                           ADDRESS ON FILE
ALMA, LEYKAMARIE                        ADDRESS ON FILE
ALMA, LEYKAMARIE                        ADDRESS ON FILE
ALMA, RODRIGUEZ                         ADDRESS ON FILE
ALMACEN DE LA BELLEZA                   50 CALLE JOSE DE DIEGO                                                            CAYEY             PR      00737
ALMACEN DE MATERIALES                   OFICINA DE MATERIALES                                                             SAN JUAN          PR      00936
ALMACEN DE PUERTAS , INC.               P.O. BOX 459 COTO LAUREL                                                          PONCE             PR      00717‐0000
ALMACEN EL AHORRO                       816 CALLE MUNOZ RIVERA                                                            PENUELAS          PR      00624
ALMACEN KIKO VERA INC                   66 AVE RIVERA MORALES                                                             SAN SEBASTIAN     PR      00685
ALMACEN MI CASITA INC                   1360 CALLE ROBERTS                                                                SAN JUAN          PR      00907
ALMACEN PEÐA                            HC 01 BOX 5267                                                                    OROCOVIS          PR      00720
ALMACEN PENA                            HC 01 BOX 2567                                                                    OROCOVIS          PR      00720
ALMACEN PENA                            HC 01 BOX 5267                                                                    OROCOVIS          PR      00720
ALMACEN PENA INC                        HC 01 BOX 5267                                                                    OROCOVIS          PR      00720
Almacen Perez Ramirez                   Box 3964                                                                          Aguadilla         PR      00605
ALMACEN PUERTAS, INC.                   PO BOX 459 COTO LAUREL                                                            PONCE             PR      00717
ALMACEN Y FERRETERIA PEREZ              BOX 1 CARR 132 KM 12 7                                                            PENUELAS          PR      00624
ALMACENES ARILOPE/ PURA ENERGIA INC     PO BOX 4003                                                                       AGUADILLA         PR      00605




                                                                                     Page 268 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 269 of 3500
                                                                                                         Creditor Matrix

Creditor Name                             Address1                          Address2                                  Address3   Address4   City              State   PostalCode   Country
Almacenes Morales, Inc.                   Box 457                                                                                           Vieques           PR      00765
ALMACENES NATHAN                          CALLE DOMENECH 111 SUITE 1                                                                        ISABELA           PR      00662
ALMACENES NATHAN                          CALLE M. J. CABRERO #62                                                                           SAN SEBASTIAN     PR      00885
ALMACENES PITUSA                          15 SECTOR PLAYITA                                                                                 Adjuntas          PR      00601
Almacenes Pitusa                          Fajardo Master Square, KM. 45.0                                                                   Fajardo           PR      00738
Almacenes Pitusa                          Hato Rey Stations                                                                                 San Juan          PR      00919
ALMACENES PITUSA INC                      HATO REY STATION                  PO BOX 839                                                      SAN JUAN          PR      00919‐0839
ALMACENES PITUSA INC                      P O BOX 190839                                                                                    SAN JUAN          PR      00919‐0839
ALMACENES PITUSA INC                      PO BOX 19839                                                                                      SAN JUAN          PR      00919‐8390
ALMACENES PITUSA INC                      PO BOX 839                                                                                        SAN JUAN          PR      00919
ALMACENES PITUSA INC.                     4 CALLE CATALINA MORALES                                                                          YABUCOA           PR      00767
ALMACENES PITUSA, INC.                    PO BOX 1640                                                                                       CIDRA             PR      00739
ALMACENES QUERUBE INC                     URB HNAS DAVILA                   700 AVE BETANCES                                                BAYAMON           PR      00959
ALMACENES TOPEKA                          URB CALDAS                        1974 JOSÉ F DÍAZ                                                SAN JUAN          PR      00926
ALMACENES YAKIMA DE CAGUAS                URB CALDAS                        1974 JOSÉ F DIAZ                                                SAN JUAN          PR      00926
ALMACO MANAGEMENT CORP                    CENTRO INTER MERCADO              100 CARR 165 STE 709                                            GUAYNABO          PR      00968
ALMACO MANAGEMENT CORP                    CTRO INTERNACIONAL DE MERCADEO    100 CARR 165 SUITE 709                                          GUAYNABO          PR      00968
ALMACO MANAGEMENT CORP                    METRO OFFICE PARK #10             SUITE 301                                                       GUAYNABO          PR      00968
ALMANTINA HUERTAS COLON                   ADDRESS ON FILE
ALMANTINA HUERTAS COLON                   ADDRESS ON FILE
ALMANY S SECURITY GUARD INC               PLAZA WESTERN AUTO                220 PLAZA WESTERN AUTO STE 101                                  TRUJILLO ALTO     PR      00976
ALMANZAR ACOSTA, HECTOR                   ADDRESS ON FILE
ALMANZAR CAMACHO, YNGRID V                ADDRESS ON FILE
ALMANZAR DE BAEZ, ANA                     ADDRESS ON FILE
ALMANZAR FLORES, WENDY                    ADDRESS ON FILE
ALMANZAR FRANQUI, FRANCISCO               ADDRESS ON FILE
ALMANZAR FRANQUI, MARIA                   ADDRESS ON FILE
ALMANZAR MERCEDES, ONEIDA A               ADDRESS ON FILE
ALMANZAR MERCEDES, ONEIDA A               ADDRESS ON FILE
ALMANZAR PERALTA, JOSEFINA                ADDRESS ON FILE
ALMANZAR PRANDI, LOURDES                  ADDRESS ON FILE
ALMANZAR PRANDI, LOURDES M                ADDRESS ON FILE
ALMANZAR ROSARIO, ARCENIO                 ADDRESS ON FILE
ALMANZAR SIMONETTI, DORIS                 ADDRESS ON FILE
ALMANZAR VAZQUEZ, MANUEL DE JESUS         ADDRESS ON FILE
ALMARIE ORTIZ TORO                        ADDRESS ON FILE
ALMARYS NIEVES PERES                      ADDRESS ON FILE
ALMAS QUE DIGITAL & PRESS PRINTING LABS   AVENIDA 969 AMERICO MIRANDA                                                                       SAN JUAN          PR      00969
ALMAZAN PUEYO, JANETT                     ADDRESS ON FILE
ALMEDA ACEVEDO, ALEX                      ADDRESS ON FILE
ALMEDA ACEVEDO, ANIBAL                    ADDRESS ON FILE
ALMEDA BUXO, CARMEN                       ADDRESS ON FILE
ALMEDA CRUZ, MARIELI                      ADDRESS ON FILE
ALMEDA CRUZ, MARIELI                      ADDRESS ON FILE
ALMEDA FLORES, EILEEN                     ADDRESS ON FILE
ALMEDA FLORES, MARISOL                    ADDRESS ON FILE
ALMEDA LOZADA, JOSE                       ADDRESS ON FILE
ALMEDA RODRIGUEZ, IVETTE                  ADDRESS ON FILE
ALMEDA RODRIGUEZ, NILDA I.                ADDRESS ON FILE
ALMEDA SANCHEZ, CARLOS A                  ADDRESS ON FILE
ALMEDA SANTA, JUAN                        ADDRESS ON FILE
ALMEDA SANTIAGO, ROBERTO                  ADDRESS ON FILE
ALMEDA SANTIAGO, SONIA M                  ADDRESS ON FILE
ALMEDADE HERNANDEZ, MARITZA               ADDRESS ON FILE
ALMEDINA ACEVEDO, YAHAIRA                 ADDRESS ON FILE
ALMEDINA BAEZ, PEDRO                      ADDRESS ON FILE
ALMEDINA CARATTINI, MAGDIEL               ADDRESS ON FILE
ALMEDINA CARTAGENA, MIGUEL                ADDRESS ON FILE
Almedina Crespo, Jorge                    ADDRESS ON FILE
ALMEDINA LOPEZ, JOHANNA                   ADDRESS ON FILE




                                                                                                        Page 269 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 270 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALMEDINA MALLERY, AISHA N.        ADDRESS ON FILE
Almedina Martine, Guillermo       ADDRESS ON FILE
ALMEDINA MARTINEZ, ANA            ADDRESS ON FILE
ALMEDINA MARTINEZ, ANA I          ADDRESS ON FILE
ALMEDINA MELENDEZ, JOSE           ADDRESS ON FILE
ALMEDINA ORTIZ, NESTOR I          ADDRESS ON FILE
ALMEDINA ORTIZ, ZAYRA M           ADDRESS ON FILE
ALMEDINA QUIRINDONGO, JOAN        ADDRESS ON FILE
ALMEDINA QUIRINDONGO, JORGE       ADDRESS ON FILE
ALMEDINA RIVAS, HECTOR L          ADDRESS ON FILE
ALMEDINA RODRIGUEZ, EUGENIO       ADDRESS ON FILE
ALMEDINA RODRIGUEZ, JULIO A       ADDRESS ON FILE
ALMEDINA RODRIGUEZ, VANESSA       ADDRESS ON FILE
ALMEDINA, GLENDA                  ADDRESS ON FILE
ALMEIDA ANDALIA, SUNILDA          ADDRESS ON FILE
ALMEIDA AVILA, ROBERTO SANTIAGO   ADDRESS ON FILE
ALMEIDA CRUZ, MARITZA M.          ADDRESS ON FILE
ALMEIDA DAVILA PSC                PO BOX 191757                                                                    SAN JUAN     PR      00919‐1757
ALMEIDA DIAZ, ROSABEL             ADDRESS ON FILE
ALMEIDA MARIN, LUIS               ADDRESS ON FILE
ALMEIDA PEREZ, MANUEL             ADDRESS ON FILE
ALMEIDA RODRIGUEZ, MANUEL         ADDRESS ON FILE
ALMEIDA SANCHEZ HERNANDEZ         ADDRESS ON FILE
ALMEIDA SANTIAGO, ANA             ADDRESS ON FILE
ALMEIDA, ISABEL CRISTINA          ADDRESS ON FILE
ALMEIDO SANTIAGO MALDONADO        ADDRESS ON FILE
ALMENA SANTOS, KEILA              ADDRESS ON FILE
ALMENA SANTOS, KEILA              ADDRESS ON FILE
ALMENA SANTOS, MIRKUEYA           ADDRESS ON FILE
ALMENA SOSA, RAMON                ADDRESS ON FILE
ALMENARA LANG, EDWARD             ADDRESS ON FILE
ALMENAS CUEVAS, GISELA            ADDRESS ON FILE
ALMENAS CUEVAS, KEILA             ADDRESS ON FILE
ALMENAS DIAZ, DANIEL              ADDRESS ON FILE
ALMENAS GOMEZ, ILSIA              ADDRESS ON FILE
ALMENAS GUZMAN, JOSUE             ADDRESS ON FILE
ALMENAS MARQUEZ, ORLANDO          ADDRESS ON FILE
ALMENAS MERCADO, JORGE            ADDRESS ON FILE
ALMENAS OCASIO, JOHANNA           ADDRESS ON FILE
ALMENAS RAMIREZ, EDITH I          ADDRESS ON FILE
ALMENAS RIVERA, GIOVANNA          ADDRESS ON FILE
ALMENAS RODRIGUEZ, JOEL           ADDRESS ON FILE
ALMENAS SANTIAGO, MARIANGELY      ADDRESS ON FILE
ALMENAS SERRANO, ENID             ADDRESS ON FILE
ALMENAS SERRANO, ENID             ADDRESS ON FILE
ALMENAS SOSA, FRANCISCO J.        ADDRESS ON FILE
ALMENAS SOSA, MARIA               ADDRESS ON FILE
ALMENAS TORRES, ADALIZ            ADDRESS ON FILE
ALMENAS TORRES, JUANITA           ADDRESS ON FILE
ALMENAS TRISTANI, BRYAN           ADDRESS ON FILE
ALMENAS VICENTE, VICENTE          ADDRESS ON FILE
ALMER A RODRIGUEZ RODRIGUEZ       ADDRESS ON FILE
ALMERIDO ROSARIO NIEVES           ADDRESS ON FILE
ALMESTICA ALFONSO, FRANCISCO      ADDRESS ON FILE
ALMESTICA ALLENDE, ROSA M         ADDRESS ON FILE
ALMESTICA ALONSO, FRANCISCO       ADDRESS ON FILE
ALMESTICA AYALA, JOSE             ADDRESS ON FILE
Almestica Ayala, Jose L.          ADDRESS ON FILE
ALMESTICA AYUSO, PEDRO            ADDRESS ON FILE
ALMESTICA BARBOSA, LYDIA E.       ADDRESS ON FILE




                                                                              Page 270 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 271 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALMESTICA BATISTA, RUTH         ADDRESS ON FILE
ALMESTICA BRACERO, HECTOR J.    ADDRESS ON FILE
ALMESTICA CASTRO, MARIA V       ADDRESS ON FILE
ALMESTICA CASTRO, RENE          ADDRESS ON FILE
Almestica Catala, Yanira        ADDRESS ON FILE
ALMESTICA CATALA, YANIRA        ADDRESS ON FILE
ALMESTICA COLON, ODALIS         ADDRESS ON FILE
ALMESTICA CRUZ, JENNIFER M      ADDRESS ON FILE
ALMESTICA DE JESUS, NEYDA L     ADDRESS ON FILE
ALMESTICA DUMENG, MAYRA E       ADDRESS ON FILE
Almestica Enchauteg, Samuel     ADDRESS ON FILE
ALMESTICA FIGUEROA, JOSE J      ADDRESS ON FILE
ALMESTICA FITZPATRICK, GLADYS   ADDRESS ON FILE
ALMESTICA GARCIA, MINERVA       ADDRESS ON FILE
ALMESTICA GARCIA, VANESSA       ADDRESS ON FILE
Almestica Hernande, Salomon     ADDRESS ON FILE
ALMESTICA HERNANDEZ, ISABEL     ADDRESS ON FILE
ALMESTICA LOPEZ, MADELYN        ADDRESS ON FILE
ALMESTICA LOPEZ, MARTIN JESUS   ADDRESS ON FILE
ALMESTICA LUYANDA, GLORIA E     ADDRESS ON FILE
ALMESTICA MARRERO, LUISA        ADDRESS ON FILE
ALMESTICA MARRERO, PETRA L      ADDRESS ON FILE
ALMESTICA MARRERO, ZORAIDA      ADDRESS ON FILE
ALMESTICA ORTIZ, ROSA           ADDRESS ON FILE
ALMESTICA PACHECO, ANA          ADDRESS ON FILE
ALMESTICA PACHECO, ANA          ADDRESS ON FILE
ALMESTICA PEREZ, CRUZ           ADDRESS ON FILE
ALMESTICA RIVERA, AMARILYS      ADDRESS ON FILE
ALMESTICA RIVERA, CARLOS        ADDRESS ON FILE
ALMESTICA RIVERA, ELIZABETH     ADDRESS ON FILE
ALMESTICA RIVERA, EVA           ADDRESS ON FILE
ALMESTICA RIVERA, JOSUE         ADDRESS ON FILE
ALMESTICA ROSA, YOLANDA         ADDRESS ON FILE
ALMESTICA SANCHEZ, MIRIAM T.    ADDRESS ON FILE
ALMESTICA SASTRE, EILEEN        ADDRESS ON FILE
ALMESTICA SASTRE, EILEEN        ADDRESS ON FILE
ALMESTICA SASTRE, JANNETTE      ADDRESS ON FILE
ALMESTICA SASTRE, MIGUEL        ADDRESS ON FILE
ALMESTICA SERRANO, AMAURY       ADDRESS ON FILE
ALMESTICA TORRES, JEZEL MARIE   ADDRESS ON FILE
ALMESTICA VEGA, CARMEN I        ADDRESS ON FILE
ALMESTICA VEGA, DAMARIS         ADDRESS ON FILE
ALMEYDA ACEVEDO, MYRNA I.       ADDRESS ON FILE
ALMEYDA ACEVEDO, VIVIAN         ADDRESS ON FILE
ALMEYDA ACEVEDO, WILLIAM        ADDRESS ON FILE
ALMEYDA ALVAREZ, ANA C          ADDRESS ON FILE
ALMEYDA AVILES, ABEL            ADDRESS ON FILE
ALMEYDA AVILES, YEIDEE V        ADDRESS ON FILE
ALMEYDA BRUNET, ANNETTE         ADDRESS ON FILE
ALMEYDA CABAN, LOURDES I        ADDRESS ON FILE
ALMEYDA CABAN, WANDA L          ADDRESS ON FILE
ALMEYDA CORDERO, CARLOS E       ADDRESS ON FILE
ALMEYDA CRUZ, MARK              ADDRESS ON FILE
ALMEYDA GONZALEZ, JOSE          ADDRESS ON FILE
ALMEYDA GONZALEZ, MARGARITA     ADDRESS ON FILE
ALMEYDA GONZALEZ, SIXTA M       ADDRESS ON FILE
ALMEYDA LOUCIL, JAVIER          ADDRESS ON FILE
ALMEYDA LOUCIL, JOSE            ADDRESS ON FILE
ALMEYDA LOUCIL, LYMARIE         ADDRESS ON FILE
ALMEYDA MANGOMES, GUSTAVO       ADDRESS ON FILE




                                                                            Page 271 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 272 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ALMEYDA MEDINA, JOSE                   ADDRESS ON FILE
ALMEYDA ORTIZ RAMOS                    ADDRESS ON FILE
ALMEYDA PEREZ, JOSE                    ADDRESS ON FILE
ALMEYDA PEREZ, MIGUEL A                ADDRESS ON FILE
ALMEYDA RAMOS, JUAN O.                 ADDRESS ON FILE
ALMEYDA RIVERA, WANDA                  ADDRESS ON FILE
ALMEYDA RIVERA,WANDA                   ADDRESS ON FILE
ALMEYDA ROMAN, EMELINA                 ADDRESS ON FILE
ALMEYDA ROMAN, FERNANDO                ADDRESS ON FILE
ALMEYDA RUIZ, HECTOR                   ADDRESS ON FILE
ALMEYDA RUIZ, NAIDA                    ADDRESS ON FILE
ALMEYDA RUIZ, SONIA                    ADDRESS ON FILE
Almeyda Sotomayor, Juan A              ADDRESS ON FILE
ALMI MAINTENANCE & GENERALCONTRACTOR INCORREA VILLA PMB 156       AA‐2 AVE TEJAS                                         HUMACAO      PR      00791
ALMIDA ALBINO ACOSTA                   ADDRESS ON FILE
ALMIDA MELENDEZ RIVERA                 ADDRESS ON FILE
ALMIDALIA RODRIGUEZ                    ADDRESS ON FILE
ALMIRANTE JAGUAS CORP                  RR 01 BZN 2294                                                                    CIDRA        PR      00739
ALMODOVA,MOIS                          ADDRESS ON FILE
ALMODOVAR ACOSTA, AGUSTINA             ADDRESS ON FILE
ALMODOVAR ACOSTA, CARMEN S.            ADDRESS ON FILE
Almodovar Acosta, Mariselly            ADDRESS ON FILE
ALMODOVAR ACOSTA, MATILDE              ADDRESS ON FILE
ALMODOVAR ACOSTA, MATILDE              ADDRESS ON FILE
Almodovar Albino, Elding E             ADDRESS ON FILE
ALMODOVAR ALCANTARA, JOSE              ADDRESS ON FILE
ALMODOVAR ALICEA, LEXSAM               ADDRESS ON FILE
ALMODOVAR ALMODOVAR MD, PABLO I        ADDRESS ON FILE
Almodovar Almodovar, Carlos R          ADDRESS ON FILE
ALMODOVAR ALMODOVAR, DIANA             ADDRESS ON FILE
Almodovar Almodovar, Jose M            ADDRESS ON FILE
ALMODOVAR ALMODOVAR, ULPIANO           ADDRESS ON FILE
ALMODOVAR ALVAREZ, AURORA              ADDRESS ON FILE
ALMODOVAR ALVAREZ, ESTHER              ADDRESS ON FILE
ALMODOVAR ANDINO, ANA E                ADDRESS ON FILE
ALMODOVAR ANDINO, INES                 ADDRESS ON FILE
Almodovar Antongiorgi, Caroline        ADDRESS ON FILE
ALMODOVAR ANTONGIORGI, RAMON           ADDRESS ON FILE
ALMODOVAR ANTONSANTI, LOURDES R        ADDRESS ON FILE
ALMODOVAR ARBELO, NATALIA              ADDRESS ON FILE
ALMODOVAR ARBELO, NELSON               ADDRESS ON FILE
ALMODOVAR BATIZ, ROSE                  ADDRESS ON FILE
ALMODOVAR BERDECIA, JEAN CARLOS        ADDRESS ON FILE
ALMODOVAR BERMUDEZ, RUTH L             ADDRESS ON FILE
ALMODOVAR BERRIOS, EVELYN              ADDRESS ON FILE
ALMODOVAR BORRERO, MARIA E             ADDRESS ON FILE
ALMODOVAR BORRERO, NORMA L             ADDRESS ON FILE
Almodovar Burgos, Roberto L            ADDRESS ON FILE
ALMODOVAR CABALLERO, ALEJANDRO         ADDRESS ON FILE
ALMODOVAR CABRERA, MARTHA              ADDRESS ON FILE
ALMODOVAR CAMACHO, HECTOR M            ADDRESS ON FILE
ALMODOVAR CAMACHO, HECTOR M            ADDRESS ON FILE
ALMODOVAR CANCEL, CARMEN N             ADDRESS ON FILE
ALMODOVAR CANDELARIO, SILMARYS         ADDRESS ON FILE
ALMODOVAR CANDELARIO, SILMARYS         ADDRESS ON FILE
ALMODOVAR CAPIELO, LUZ                 ADDRESS ON FILE
ALMODOVAR CARDONA, WILBERT J.          ADDRESS ON FILE
ALMODOVAR CASTRO, URSULA E             ADDRESS ON FILE
ALMODOVAR CHERENA, ALEX                ADDRESS ON FILE
ALMODOVAR CINTRON, ANTHONY             ADDRESS ON FILE




                                                                                    Page 272 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 273 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALMODOVAR COLLAZO, CARLOS        ADDRESS ON FILE
ALMODOVAR COLON, BRENDA L        ADDRESS ON FILE
ALMODOVAR COLON, TEODORO         ADDRESS ON FILE
ALMODOVAR CORDERO, MARISOL       ADDRESS ON FILE
ALMODOVAR CORNIER, FRANCISCO     ADDRESS ON FILE
ALMODOVAR CORNIER, JULIO         ADDRESS ON FILE
ALMODOVAR CORREA, ANGEL MANUEL   ADDRESS ON FILE
Almodovar Correa, Tomas I        ADDRESS ON FILE
ALMODOVAR CORTES, LUZ            ADDRESS ON FILE
ALMODOVAR COURET, ELDA A         ADDRESS ON FILE
ALMODOVAR COURET, ELIZABETH      ADDRESS ON FILE
ALMODOVAR CRUZ, JANICE           ADDRESS ON FILE
ALMODOVAR CRUZ, JUAN             ADDRESS ON FILE
ALMODOVAR CRUZ, MIGUEL           ADDRESS ON FILE
ALMODOVAR CRUZ, NICOLE Y         ADDRESS ON FILE
Almodovar Delgado, Nitza M       ADDRESS ON FILE
ALMODOVAR DIAZ, ALEXIS           ADDRESS ON FILE
ALMODOVAR DIAZ, ROSA             ADDRESS ON FILE
ALMODOVAR ESPINOSA, CARMEN N     ADDRESS ON FILE
ALMODOVAR FABREGAS, JUAN G.      ADDRESS ON FILE
ALMODOVAR FABREGAS, LUIS         ADDRESS ON FILE
ALMODOVAR FARIA, CARMEN M        ADDRESS ON FILE
ALMODOVAR FEBLES, VALERIE        ADDRESS ON FILE
ALMODOVAR FEBLES, VALERIE A.     ADDRESS ON FILE
ALMODOVAR FEBUS, CHRISTIE        ADDRESS ON FILE
ALMODOVAR FELICIANO, NELSON      ADDRESS ON FILE
ALMODOVAR FELICIANO, NELSON      ADDRESS ON FILE
ALMODOVAR FELICIANO, WANDA I.    ADDRESS ON FILE
ALMODOVAR FERNANDEZ, EMILY       ADDRESS ON FILE
ALMODOVAR FERRER, RAFAEL         ADDRESS ON FILE
ALMODOVAR FIGUEROA, ELIZABETH    ADDRESS ON FILE
ALMODOVAR FIGUEROA, JORGE        ADDRESS ON FILE
ALMODOVAR FIGUEROA, JORGE L.     ADDRESS ON FILE
ALMODOVAR FLOR, EMITSABEL        ADDRESS ON FILE
ALMODOVAR FLORES, ANIBAL         ADDRESS ON FILE
ALMODOVAR FLORES, CHRISTIAN      ADDRESS ON FILE
ALMODOVAR FLORES, GISELA         ADDRESS ON FILE
ALMODOVAR FRANCISCO, REBECCA     ADDRESS ON FILE
ALMODOVAR GALARZA, CARLOS J      ADDRESS ON FILE
Almodovar Galarza, Michael       ADDRESS ON FILE
ALMODOVAR GALARZA, NORMA         ADDRESS ON FILE
Almodovar Galarza, Walky O       ADDRESS ON FILE
ALMODOVAR GALINDEZ, LUZ N        ADDRESS ON FILE
Almodovar Galindo, Ivette        ADDRESS ON FILE
ALMODOVAR GARCIA, ANGEL L.       ADDRESS ON FILE
ALMODOVAR GARCIA, CAMILIA        ADDRESS ON FILE
ALMODOVAR GARCIA, EDUARDO        ADDRESS ON FILE
ALMODOVAR GARCIA, ELVIN          ADDRESS ON FILE
ALMODOVAR GARCIA, JULIO E        ADDRESS ON FILE
ALMODOVAR GARCIA, MARIA DEL C    ADDRESS ON FILE
ALMODOVAR GARCIA, OSVALDO        ADDRESS ON FILE
ALMODOVAR GARCIA, RAMON          ADDRESS ON FILE
ALMODOVAR GARCIA, YESMARIE       ADDRESS ON FILE
ALMODOVAR GIBOYEAUX, AGNES       ADDRESS ON FILE
ALMODOVAR GONZALEZ, DIANA        ADDRESS ON FILE
ALMODOVAR GONZALEZ, ELLIOT       ADDRESS ON FILE
ALMODOVAR GONZALEZ, ELVIN O      ADDRESS ON FILE
ALMODOVAR GONZALEZ, GLORIA E.    ADDRESS ON FILE
ALMODOVAR GONZALEZ, JAMES        ADDRESS ON FILE
ALMODOVAR GONZALEZ, MARCOS G.    ADDRESS ON FILE




                                                                             Page 273 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 274 of 3500
                                                                                       Creditor Matrix

Creditor Name                      Address1                  Address2                               Address3   Address4   City         State   PostalCode   Country
ALMODOVAR GUERRA, JENNIFER         ADDRESS ON FILE
Almodovar Hernand, Carlos I        ADDRESS ON FILE
ALMODOVAR HOYOS, CORALIE DEL MAR   ADDRESS ON FILE
ALMODOVAR JIMENEZ, JORGE           ADDRESS ON FILE
ALMODOVAR JUSINO, JULIO            ADDRESS ON FILE
ALMODOVAR JUSINO, LUIS A.          ADDRESS ON FILE
ALMODOVAR LABORDE MD, JOSE J       ADDRESS ON FILE
ALMODOVAR LABORDE, MARIA           ADDRESS ON FILE
ALMODOVAR LABORDE, MARIA I         ADDRESS ON FILE
ALMODOVAR LEBRON, IVONNE           ADDRESS ON FILE
ALMODOVAR LINARES, EVELYN          ADDRESS ON FILE
ALMODOVAR LOPEZ, AIDA              ADDRESS ON FILE
ALMODOVAR LOPEZ, JOSE A.           ADDRESS ON FILE
ALMODOVAR LOPEZ, SAHYLI            ADDRESS ON FILE
ALMODOVAR LOPEZ, SANDRA            ADDRESS ON FILE
ALMODOVAR LOPEZ, YOMAIRA           ADDRESS ON FILE
ALMODOVAR LUCENA, JORGE L          ADDRESS ON FILE
ALMODOVAR LUCENA, LYDIA E          ADDRESS ON FILE
ALMODOVAR LUGO, DENIK              ADDRESS ON FILE
ALMODOVAR LUGO, DENIK              ADDRESS ON FILE
ALMODOVAR LUGO, JESUS E.           ADDRESS ON FILE
Almodovar Lugo, Jose A             ADDRESS ON FILE
ALMODOVAR LUGO, LARRY              ADDRESS ON FILE
Almodovar Lugo, Miguel A           ADDRESS ON FILE
ALMODOVAR LUGO, SAHILY E           ADDRESS ON FILE
ALMODOVAR LUGO, TANYA              ADDRESS ON FILE
ALMODOVAR MALDONADO, JAIME         ADDRESS ON FILE
ALMODOVAR MALDONADO, LUIS R        ADDRESS ON FILE
ALMODOVAR MALDONADO, MILYNETTE     ADDRESS ON FILE
ALMODOVAR MALDONADO, SASHA         ADDRESS ON FILE
ALMODOVAR MALDONADO, YARISA        ADDRESS ON FILE
ALMODOVAR MALDONADO, YIOVANNA      ADDRESS ON FILE
ALMODOVAR MALDONADO, YIOVANNA      ADDRESS ON FILE
ALMODOVAR MARCHANY MD, DANIEL      ADDRESS ON FILE
ALMODOVAR MARCHANY, CESAR J.       ADDRESS ON FILE
Almodovar Martin, Ruperto          ADDRESS ON FILE
ALMODOVAR MARTINEZ, ANGEL          ADDRESS ON FILE
ALMODOVAR MARTINEZ, ARGELIO        ADDRESS ON FILE
ALMODOVAR MARTINEZ, CARLOS         ADDRESS ON FILE
ALMODOVAR MARTINEZ, CARLOS M.      ADDRESS ON FILE
ALMODOVAR MARTINEZ, EDGARDO        ADDRESS ON FILE
ALMODOVAR MARTINEZ, EDGARDO        ADDRESS ON FILE
ALMODOVAR MARTINEZ, EVELYN         ADDRESS ON FILE
ALMODOVAR MARTINEZ, HENDRICK       ADDRESS ON FILE
ALMODOVAR MARTINEZ, ILDEFONSO      ADDRESS ON FILE
ALMODOVAR MARTINEZ, MARISOL        ADDRESS ON FILE
Almodovar Matos, Juan D            ADDRESS ON FILE
ALMODOVAR MAYMI, EDUARDO           ADDRESS ON FILE
ALMODOVAR MEDINA, EVELYN           ADDRESS ON FILE
ALMODOVAR MEDINA, GILBERTO         ADDRESS ON FILE
ALMODOVAR MEDINA, MIGUEL A         ADDRESS ON FILE
ALMODOVAR MELENDEZ, HIPOLITO       ADDRESS ON FILE
ALMODOVAR MENDRED, LESBIA          ADDRESS ON FILE
ALMODOVAR MILAN, ELVIN E.          ADDRESS ON FILE
Almodovar Millan, Juan C           ADDRESS ON FILE
ALMODOVAR MILLAN, LUZ E            ADDRESS ON FILE
ALMODOVAR MONTALVO, WILLIAM        ADDRESS ON FILE
ALMODOVAR MONTANEZ, JUAN           ADDRESS ON FILE
ALMODOVAR MONTILLA FUNERAL HOME    SANTIAGO CARRERAS         1408 SANTIAGO IGLESIAS                                       SAN JUAN     PR      00924
ALMODOVAR MORALES, GLENDA L        ADDRESS ON FILE




                                                                                      Page 274 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 275 of 3500
                                                                                                           Creditor Matrix

Creditor Name                     Address1                                  Address2                                    Address3   Address4   City         State   PostalCode   Country
ALMODOVAR MORALES, JEANNETE       ADDRESS ON FILE
ALMODOVAR MORALES, ZULMA          ADDRESS ON FILE
ALMODOVAR MUNIZ, WALTER           ADDRESS ON FILE
ALMODOVAR MUSSE, PROVIDENCIA      ADDRESS ON FILE
ALMODOVAR MUSSEDEN, EMILIO        ADDRESS ON FILE
ALMODOVAR MUSSENDEN, ZULMA        ADDRESS ON FILE
ALMODOVAR MUSSENDEZ, RUBEN        ADDRESS ON FILE
ALMODOVAR NAVARRO, MARIA          ADDRESS ON FILE
ALMODOVAR NAZARIO, ADAMINA        ADDRESS ON FILE
Almodovar Nazario, Juan           ADDRESS ON FILE
ALMODOVAR NAZARIO, LUIS E         ADDRESS ON FILE
ALMODOVAR NAZARIO, WILDA          ADDRESS ON FILE
ALMODOVAR NIEVES, JUANA           ADDRESS ON FILE
ALMODOVAR OLIVERA, JUAN           ADDRESS ON FILE
ALMODOVAR OLMEDA, ROBERTO         ADDRESS ON FILE
Almodovar Ortiz, Eduardo          ADDRESS ON FILE
ALMODOVAR ORTIZ, EDUARDO          ADDRESS ON FILE
ALMODOVAR ORTIZ, JOSE L           ADDRESS ON FILE
ALMODOVAR ORTIZ, JULIO C          ADDRESS ON FILE
ALMODOVAR ORTIZ, LETICIA          ADDRESS ON FILE
ALMODOVAR ORTIZ, LUIS             ADDRESS ON FILE
ALMODOVAR ORTIZ, LUISA E          ADDRESS ON FILE
ALMODOVAR ORTIZ, MIRNALY          ADDRESS ON FILE
ALMODOVAR ORTIZ, RAMON A.         ADDRESS ON FILE
ALMODOVAR ORTIZ, WANDA            ADDRESS ON FILE
Almodovar Ortiz, Wanda I          ADDRESS ON FILE
ALMODOVAR ORTIZ, WANDA I.         ADDRESS ON FILE
ALMODOVAR PABON, IRMA E           ADDRESS ON FILE
ALMODOVAR PACHECO, FERDINAND      LIC. HAYDEE CALDERON MUÑOZ ‐ ABOGADA DE FLIC. HAYDEE CALDERON MUÑOZ ‐ PO BOX 963                            LUQUILLO     PR      00773
ALMODOVAR PACHECO, FERDINAND      LIC. OSVALDO SANDOVAL BAEZ ‐ ABOGADO DE IBLIC. OSVALDO SANDOVAL BAEZ ‐ 424 AVE. SAN CLAUDIO                 SAN JUAN     PR      00926
ALMODOVAR PACHECO, ROBERTO        ADDRESS ON FILE
ALMODOVAR PADIN, ROLANDO E        ADDRESS ON FILE
ALMODOVAR PAGAN, FRANKIE          ADDRESS ON FILE
ALMODOVAR PAGAN, WILFREDO         ADDRESS ON FILE
ALMODOVAR PEREZ, GABRIEL          ADDRESS ON FILE
ALMODOVAR PEREZ, MARIA A          ADDRESS ON FILE
Almodovar Perez, Willy            ADDRESS ON FILE
ALMODOVAR PIERLUSSI, CARLOS       ADDRESS ON FILE
ALMODOVAR PONCE, LUIS             ADDRESS ON FILE
ALMODOVAR PONCE, MARILYN          ADDRESS ON FILE
ALMODOVAR PUANTONG, EVELYN        ADDRESS ON FILE
Almodovar Qui&ones, Julio L       ADDRESS ON FILE
Almodovar Quiles, Alejandro       ADDRESS ON FILE
Almodovar Quiles, Angel           ADDRESS ON FILE
ALMODOVAR QUILES, ILIANA          ADDRESS ON FILE
ALMODOVAR QUIRIND., AMY           ADDRESS ON FILE
ALMODOVAR QUIRINDONGO, MIGNELIA   ADDRESS ON FILE
ALMODOVAR RAMIREZ, ABIGAIL        ADDRESS ON FILE
ALMODOVAR RAMIREZ, BRUNILDA       ADDRESS ON FILE
ALMODOVAR RAMIREZ, CAROL S.       ADDRESS ON FILE
ALMODOVAR RAMIREZ, EDEL W         ADDRESS ON FILE
Almodovar Ramirez, Jose A         ADDRESS ON FILE
Almodovar Ramirez, William        ADDRESS ON FILE
ALMODOVAR RAMOS, CARLOS R.        ADDRESS ON FILE
ALMODOVAR RAMOS, GLORIA M         ADDRESS ON FILE
ALMODOVAR RAMOS, MARIA D          ADDRESS ON FILE
ALMODOVAR RETEGUIS, NAYDA L.      ADDRESS ON FILE
ALMODOVAR RETEGUIS, SAMUEL        ADDRESS ON FILE
ALMODOVAR RIOS, JORGE L.          ADDRESS ON FILE
ALMODOVAR RIOS, WENDELL           ADDRESS ON FILE




                                                                                                          Page 275 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 276 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALMODOVAR RIVERA, CARMEN M         ADDRESS ON FILE
Almodovar Rivera, Denise           ADDRESS ON FILE
ALMODOVAR RIVERA, ELSA             ADDRESS ON FILE
ALMODOVAR RIVERA, IRIS D           ADDRESS ON FILE
ALMODOVAR RIVERA, ISRAEL           ADDRESS ON FILE
ALMODOVAR RIVERA, JOSE             ADDRESS ON FILE
ALMODOVAR RIVERA, LETICIA          ADDRESS ON FILE
ALMODOVAR RIVERA, LOURDES          ADDRESS ON FILE
ALMODOVAR RIVERA, LUIS             ADDRESS ON FILE
ALMODOVAR RIVERA, LUIS             ADDRESS ON FILE
ALMODOVAR RIVERA, LUIS             ADDRESS ON FILE
ALMODOVAR RIVERA, LYZNERIS J       ADDRESS ON FILE
ALMODOVAR RIVERA, NELSON           ADDRESS ON FILE
ALMODOVAR RIVERA, OLGA I.          ADDRESS ON FILE
ALMODOVAR RIVERA, ROSA             ADDRESS ON FILE
ALMODOVAR ROBLES, JOHANNA          ADDRESS ON FILE
ALMODOVAR ROBLES, NORMA            ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, ALEXANDER     ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, ANNETTE       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, ANTHONY       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, CARLOS        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, CARMEN        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, CARMEN M.     ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, CINDY         ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, EDNA I        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, ELSA A        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, FREDESWINDA   ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, GLORIA        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, GLORIA I.     ADDRESS ON FILE
Almodovar Rodriguez, Jaime         ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, JAIME         ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, JENNIFER      ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, JENNIFER A.   ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, JOSE          ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, JUANITA       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, LILLIAM I.    ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, LYDIA E       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, MORAIMA       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, NANCY         ADDRESS ON FILE
Almodovar Rodriguez, Ramon         ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, RICARDO       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, SYLVIA        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, VALERIE       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, WANDA I       ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, WILBERTO      ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, WILFREDO      ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, XAVIER        ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, XAVIER R      ADDRESS ON FILE
ALMODOVAR RODRIGUEZ, ZULEIKA       ADDRESS ON FILE
ALMODOVAR ROMAN, GUILLERMO E       ADDRESS ON FILE
ALMODOVAR RONDA, PARISATIDE        ADDRESS ON FILE
ALMODOVAR ROSA, MARIA L            ADDRESS ON FILE
ALMODOVAR ROSADO, HIRAM            ADDRESS ON FILE
ALMODOVAR RUIZ, LIDIA L            ADDRESS ON FILE
ALMODOVAR SANCHEZ, DAPHNE          ADDRESS ON FILE
ALMODOVAR SANCHEZ, EDWIN           ADDRESS ON FILE
Almodovar Sanchez, Vergil          ADDRESS ON FILE
ALMODOVAR SANTANA, MIRIAM          ADDRESS ON FILE
ALMODOVAR SANTIAGO, ANDRES         ADDRESS ON FILE
Almodovar Santiago, Eliezer        ADDRESS ON FILE




                                                                               Page 276 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 277 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALMODOVAR SANTIAGO, GUSTAVO    ADDRESS ON FILE
ALMODOVAR SANTIAGO, IVELISSE   ADDRESS ON FILE
ALMODOVAR SANTIAGO, ROLDAN     ADDRESS ON FILE
ALMODOVAR SANTIAGO, RUTH E     ADDRESS ON FILE
ALMODOVAR SANTOS, JORGE        ADDRESS ON FILE
ALMODOVAR SCOTT, FERNANDO      ADDRESS ON FILE
ALMODOVAR SEGARRA, YAMIRKA     ADDRESS ON FILE
ALMODOVAR SEPULVEDA, RAUL      ADDRESS ON FILE
ALMODOVAR SERRANO, MARIA E     ADDRESS ON FILE
ALMODOVAR SERVICE STATION      PO BOX 333                                                                       ENSENADA     PR      00647
ALMODOVAR SOSNOSKI, EVELYN     ADDRESS ON FILE
ALMODOVAR SOTO, ANIBAL         ADDRESS ON FILE
ALMODOVAR SOTO, CARMEN L       ADDRESS ON FILE
ALMODOVAR SOTO, GUMERSINDO     ADDRESS ON FILE
ALMODOVAR TIRADO, CARLOS R     ADDRESS ON FILE
ALMODOVAR TIRADO, NEYDA        ADDRESS ON FILE
ALMODOVAR TIRADO, ZULMA        ADDRESS ON FILE
ALMODOVAR TOLENTINO, ZORAIDA   ADDRESS ON FILE
ALMODOVAR TORO, AMERICO        ADDRESS ON FILE
ALMODOVAR TORO, AMERICO        ADDRESS ON FILE
ALMODOVAR TORO, IRAIDA         ADDRESS ON FILE
ALMODOVAR TORO, RAMON          ADDRESS ON FILE
ALMODOVAR TORO, VICTOR         ADDRESS ON FILE
ALMODOVAR TORO, YOLANDA        ADDRESS ON FILE
Almodovar Toro, Yolanda Y.     ADDRESS ON FILE
ALMODOVAR TORRES, DORCAS E     ADDRESS ON FILE
ALMODOVAR TORRES, EDNA I       ADDRESS ON FILE
ALMODOVAR TORRES, ELIZABETH    ADDRESS ON FILE
ALMODOVAR TORRES, EMINETTE     ADDRESS ON FILE
ALMODOVAR TORRES, GLORIMAR     ADDRESS ON FILE
ALMODOVAR TORRES, HECTOR L     ADDRESS ON FILE
ALMODOVAR TORRES, MARYCELIS    ADDRESS ON FILE
ALMODOVAR TORRES, WANDA I      ADDRESS ON FILE
ALMODOVAR TORRES, WILFREDO     ADDRESS ON FILE
ALMODOVAR TORRUELLA, MARTA E   ADDRESS ON FILE
ALMODOVAR TRAVERSO, CARLOS     ADDRESS ON FILE
ALMODOVAR TRINTA, ADA E        ADDRESS ON FILE
ALMODOVAR TROCHE, JOSE         ADDRESS ON FILE
ALMODOVAR TUA,MARKUS           ADDRESS ON FILE
ALMODOVAR VARGAS, CARLOS       ADDRESS ON FILE
ALMODOVAR VARGAS, CARLOS I     ADDRESS ON FILE
ALMODOVAR VARGAS, CARLOS J.    ADDRESS ON FILE
ALMODOVAR VARGAS, JORGE A      ADDRESS ON FILE
ALMODOVAR VARGAS, JORGE A.     ADDRESS ON FILE
ALMODOVAR VAZQUEZ, MIRIAM      ADDRESS ON FILE
ALMODOVAR VAZQUEZ, YOLANDA     ADDRESS ON FILE
ALMODOVAR VEGA, ALFRED         ADDRESS ON FILE
ALMODOVAR VEGA, HILDA R        ADDRESS ON FILE
ALMODOVAR VEGA, JEANNETTE      ADDRESS ON FILE
Almodovar Vega, Wendy I.       ADDRESS ON FILE
ALMODOVAR VELAZQUEZ, DARMY L   ADDRESS ON FILE
ALMODOVAR VELAZQUEZ, HARRY     ADDRESS ON FILE
ALMODOVAR VELAZQUEZ, NATALIE   ADDRESS ON FILE
ALMODOVAR VELEZ, ILDE          ADDRESS ON FILE
ALMODOVAR VELEZ, TAYSHARA      ADDRESS ON FILE
ALMODOVAR, BENJAMIN            ADDRESS ON FILE
ALMODOVAR, CARMEN M            ADDRESS ON FILE
ALMODOVAR, FELIPE A            ADDRESS ON FILE
ALMODOVAR, FELIPE L.           ADDRESS ON FILE
ALMODOVAR, HECTOR L.           ADDRESS ON FILE




                                                                           Page 277 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 278 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALMODOVAR, JESUS                ADDRESS ON FILE
ALMODOVAR, JOSE                 ADDRESS ON FILE
Almodovar, Juan                 ADDRESS ON FILE
ALMODOVAR, LUIS                 ADDRESS ON FILE
ALMODOVAR, LUZ M                ADDRESS ON FILE
ALMODOVAR, MARILYN              ADDRESS ON FILE
ALMODOVAR, OLGA                 ADDRESS ON FILE
ALMODOVAR, RICARDO              ADDRESS ON FILE
ALMODOVARTORRES, GLENDA M.      ADDRESS ON FILE
ALMON GARCIA, DELIA M           ADDRESS ON FILE
ALMON GARCIA, VICENTE           ADDRESS ON FILE
ALMONDOVAR PEREZ, LOURIANN      ADDRESS ON FILE
ALMONDS CARIBBEAN               PO BOX 51456                                                                     TOA BAJA     PR      00950‐1456
ALMONTE ALMONTE, LYDIA I        ADDRESS ON FILE
ALMONTE ALMONTE, OCTAVIA        ADDRESS ON FILE
ALMONTE ALVAREZ, FRANCIS        ADDRESS ON FILE
ALMONTE ALVAREZ, JOSE D.        ADDRESS ON FILE
ALMONTE CAMIONERO, FRANCIEL     ADDRESS ON FILE
ALMONTE CAPELLAN, CECILIO A.    ADDRESS ON FILE
ALMONTE CASTELLANOS, BRENDA     ADDRESS ON FILE
ALMONTE CASTRO, MANUEL          ADDRESS ON FILE
ALMONTE CID, JOSE               ADDRESS ON FILE
ALMONTE CRUZ, MIGUEL            ADDRESS ON FILE
ALMONTE CRUZ, RAFAEL            ADDRESS ON FILE
ALMONTE CRUZ, RAFAEL R.         ADDRESS ON FILE
ALMONTE DIAZ, ANGEL             ADDRESS ON FILE
ALMONTE DULUC, GITTEL           ADDRESS ON FILE
ALMONTE DULUC, GITTEL M.        ADDRESS ON FILE
ALMONTE DURAN, VINICIO          ADDRESS ON FILE
ALMONTE ECHEVARRIA, OMAR        ADDRESS ON FILE
ALMONTE ESTEVES, MARGARITA J    ADDRESS ON FILE
ALMONTE FELIX, MOISES           ADDRESS ON FILE
ALMONTE FIGUEROA, YESENIA M     ADDRESS ON FILE
ALMONTE FLETE, PEDRO            ADDRESS ON FILE
ALMONTE FLETE, SORANYELIS       ADDRESS ON FILE
ALMONTE GARCIA, RAFAEL          ADDRESS ON FILE
ALMONTE GOMEZ, JUAN             ADDRESS ON FILE
ALMONTE GONZALEZ, ALEXIS        ADDRESS ON FILE
ALMONTE GONZALEZ, SILVERIO J.   ADDRESS ON FILE
ALMONTE GONZALEZ, SILVERIO J.   ADDRESS ON FILE
ALMONTE GUZMAN, JOCELYN         ADDRESS ON FILE
ALMONTE GUZMAN, MARIA A         ADDRESS ON FILE
ALMONTE HENRY, ONEIDA           ADDRESS ON FILE
ALMONTE HERNANDEZ, CESAR        ADDRESS ON FILE
Almonte Hernandez, Rosa D       ADDRESS ON FILE
ALMONTE HIDALGO, DARLING        ADDRESS ON FILE
ALMONTE MARTINEZ, CRISTINA M.   ADDRESS ON FILE
ALMONTE ORTIZ, FRANCHELLI.      ADDRESS ON FILE
ALMONTE PEREZ, EDELL            ADDRESS ON FILE
ALMONTE PEREZ, VERONICA         ADDRESS ON FILE
ALMONTE RIOS, KARINA            ADDRESS ON FILE
ALMONTE ROBLES, MIGUEL D        ADDRESS ON FILE
ALMONTE RODRIGUEZ, ANA          ADDRESS ON FILE
ALMONTE RODRIGUEZ, CECILIA      ADDRESS ON FILE
ALMONTE RODRIGUEZ, KENIA        ADDRESS ON FILE
ALMONTE RODRIGUEZ, STEPHANIE    ADDRESS ON FILE
ALMONTE SANCHEZ, EDWIN          ADDRESS ON FILE
ALMONTE SILVERIO, JESUS         ADDRESS ON FILE
ALMONTE SUERO, FRANCISCO        ADDRESS ON FILE
ALMONTE TRUCKING INC            PO BOX 8714                                                                      CAROLINA     PR      00988




                                                                            Page 278 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 279 of 3500
                                                                                                   Creditor Matrix

Creditor Name                    Address1                                   Address2                            Address3   Address4   City         State   PostalCode   Country
ALMONTE VAZQUEZ, RAFAEL          ADDRESS ON FILE
ALMONTE VELOZ, ALVARO            ADDRESS ON FILE
ALMONTE, ALEXANDER               ADDRESS ON FILE
ALMONTE, ROSA M                  ADDRESS ON FILE
ALMONTE, TOMAS                   ADDRESS ON FILE
ALMONTES FIGUEROA, CARMEN M      ADDRESS ON FILE
ALMONTES HERNANDEZ CARLOS        YARISA RULLÁN ALCOVER                      PO BOX 371265                                             Cayey        PR      00737‐1265
ALMOR OFFICE SUPPLIES INC        COUNTRY CLUB                               GO 2 AVE CAMPO RICO                                       CAROLINA     PR      00982
ALMOTEC CRL                      SUITE 101 1828 CALLE REINA DE LAS FLORES   BO. MONACILLOS                                            SAN JUAN     PR      00927
ALMOVISUAL INC                   RIO PIEDRAS HEIGHTS                        1665 CALLE PARANA                                         SAN JUAN     PR      00926
ALMOVISUAL INC HECTOR ALMODOVA   URB EL CEREZAL                             1665 CALLE PARANA                                         SAN JUAN     PR      00926
ALNARDO SANTIAGO MATEO           ADDRESS ON FILE
ALNARDY CARRILLO, OMAR           ADDRESS ON FILE
ALNARDY MOJICA, DAVID            ADDRESS ON FILE
ALNELLYS IRIZARRY DIAZ           ADDRESS ON FILE
ALNOR JOHAM IRIZARRY VARGAS      ADDRESS ON FILE
ALO CELULAR ,COMP                VILLA DEL CARMEN                           4322 AVE CONSTANCIA                                       PONCE        PR      00716‐2143
ALOCEASOTOMAYOR, JOSE            ADDRESS ON FILE
ALODIA ACEVEDO CANO              ADDRESS ON FILE
ALODIA BAUZA AGRINSONI           ADDRESS ON FILE
ALODIA FACUNDO VELAZQUEZ         ADDRESS ON FILE
ALOGISTIC, CORPORATION           P.O. BOX 3502                                                                                        BAYAMON      PR      00958
ALOHA E. RIVERA LLANOS           ADDRESS ON FILE
ALOISE MD, JOSEPH                ADDRESS ON FILE
ALOISE, MARIE E                  ADDRESS ON FILE
ALOMAR AGUIRRE, CARLOS           ADDRESS ON FILE
ALOMAR ALMODOVAR, CARMEN B       ADDRESS ON FILE
ALOMAR ALMODOVAR, LUZ M          ADDRESS ON FILE
ALOMAR AMADOR, YESENIA           ADDRESS ON FILE
ALOMAR BERMUDEZ, CAROLA          ADDRESS ON FILE
ALOMAR BERMUDEZ, OMAYRA          ADDRESS ON FILE
ALOMAR BURGOS, RAMON             ADDRESS ON FILE
ALOMAR BURGOS, ROSA M.           ADDRESS ON FILE
ALOMAR CAMACHO, NANETTE          ADDRESS ON FILE
ALOMAR CARMONA, PILAR            ADDRESS ON FILE
ALOMAR CARMONA, VICENTE          ADDRESS ON FILE
ALOMAR COLON, CARMEN             ADDRESS ON FILE
ALOMAR COLON, ELI S              ADDRESS ON FILE
ALOMAR COLON, MANUEL A.          ADDRESS ON FILE
ALOMAR CONCEPCION, ANGEL         ADDRESS ON FILE
ALOMAR ESPINAL, ANNA M           ADDRESS ON FILE
ALOMAR IRIZARRY, THAIS M         ADDRESS ON FILE
ALOMAR JIMENEZ, WALTER           ADDRESS ON FILE
ALOMAR LOPEZ, CARLA              ADDRESS ON FILE
ALOMAR MARTINEZ, ALEJANDRA I     ADDRESS ON FILE
ALOMAR MARTINEZ, ALEXIS          ADDRESS ON FILE
ALOMAR MARTINEZ, CHARLYN Y.      ADDRESS ON FILE
ALOMAR MELERO, ETIBALIZ          ADDRESS ON FILE
ALOMAR MELERO, HUASCAR           ADDRESS ON FILE
ALOMAR ORTIZ, ADALIZ             ADDRESS ON FILE
ALOMAR ORTIZ, ALMA R             ADDRESS ON FILE
ALOMAR ORTIZ, JEREMY             ADDRESS ON FILE
ALOMAR ORTIZ, MARIBEL            ADDRESS ON FILE
ALOMAR ORTIZ, NORMA              ADDRESS ON FILE
ALOMAR OTERO, ARACELIS           ADDRESS ON FILE
ALOMAR OTERO, OSVALDO            ADDRESS ON FILE
ALOMAR PABON, FELIX              ADDRESS ON FILE
ALOMAR PAGAN, ANA                ADDRESS ON FILE
ALOMAR POMALES, NANCY            ADDRESS ON FILE
ALOMAR RIGUAL, GLORIA E.         ADDRESS ON FILE




                                                                                                  Page 279 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 280 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALOMAR RIGUAL, MAYRA                   ADDRESS ON FILE
ALOMAR RIVERA, ODALYS                  ADDRESS ON FILE
ALOMAR RIVERA, RAFAEL A                ADDRESS ON FILE
ALOMAR RIVERA, REINALDO                ADDRESS ON FILE
ALOMAR ROBLES, GLORIVE                 ADDRESS ON FILE
ALOMAR RODRIGUEZ, MARGARITA            ADDRESS ON FILE
ALOMAR RODRIGUEZ, WILLIAM              ADDRESS ON FILE
ALOMAR ROSARIO, MILDRED                ADDRESS ON FILE
ALOMAR SANCHEZ, JOSEFINA               ADDRESS ON FILE
ALOMAR SANTIAGO, BERNICE               ADDRESS ON FILE
ALOMAR SANTIAGO, RAMON L               ADDRESS ON FILE
ALOMAR SASTRE, GIOVANNI                ADDRESS ON FILE
ALOMAR SASTRE, JOSEAN                  ADDRESS ON FILE
Alomar Sierra, Edwin R                 ADDRESS ON FILE
ALOMAR SUAREZ, CELIA A                 ADDRESS ON FILE
ALOMAR TORRES, FRANCISCO               ADDRESS ON FILE
ALOMAR TORRES, VICTOR L                ADDRESS ON FILE
ALOMAR USERA, ANGELA                   ADDRESS ON FILE
ALOMIA DIAZ, RUBEN D                   ADDRESS ON FILE
ALONDRA FRAGA MELENDEZ                 ADDRESS ON FILE
ALONDRA L MALDONADO MATEO              ADDRESS ON FILE
ALONDRA M MARTINEZ / LUIS F MARTINEZ   ADDRESS ON FILE
ALONDRA M SANABRIA AVILES              ADDRESS ON FILE
ALONDRA M SANTIAGO DIAZ                ADDRESS ON FILE
ALONDRA M SOLER MUNIZ                  ADDRESS ON FILE
ALONDRA MALDONADO GUARDIOLA            ADDRESS ON FILE
ALONDRA MAYSONET FLORES                ADDRESS ON FILE
ALONDRA N MENDEZ CONCEPCION/ MIGUEL    ADDRESS ON FILE
ALONDRA NEGRON MATOS                   ADDRESS ON FILE
ALONDRA PEREZ BORGES                   ADDRESS ON FILE
ALONDRA RODRIGUEZ SANTIAGO             ADDRESS ON FILE
ALONDRA ROMERO PACHECO                 ADDRESS ON FILE
ALONDRA Y NEGRON TEXIDOR               ADDRESS ON FILE
ALONSO ACEVEDO MD, WILFREDO            ADDRESS ON FILE
ALONSO ACEVEDO, WILFREDO               ADDRESS ON FILE
ALONSO AGUAYO REYES                    ADDRESS ON FILE
ALONSO AGUAYO REYES                    ADDRESS ON FILE
ALONSO ALONSO MD, JOSE A               ADDRESS ON FILE
ALONSO ALONSO MD, RICARDO              ADDRESS ON FILE
ALONSO ALONSO, RICARDO                 ADDRESS ON FILE
ALONSO ALVAREZ, DAVID                  ADDRESS ON FILE
ALONSO ALVAREZ, GABRIELA               ADDRESS ON FILE
ALONSO ALVAREZ, JAIME                  ADDRESS ON FILE
ALONSO ALVAREZ, LILIA                  ADDRESS ON FILE
ALONSO AMARO, MARIA                    ADDRESS ON FILE
ALONSO BELLO, RAUL                     ADDRESS ON FILE
Alonso Bernier, Juan                   ADDRESS ON FILE
ALONSO BERRIOS, OLGA                   ADDRESS ON FILE
Alonso Berrios, Omayra                 ADDRESS ON FILE
Alonso Burgos, Lionel                  ADDRESS ON FILE
ALONSO BURGOS, MARCO A                 ADDRESS ON FILE
ALONSO CABAN, ROBERTO                  ADDRESS ON FILE
ALONSO CALDERON, ADRIANA               ADDRESS ON FILE
ALONSO CALDERON, ADRIANA R             ADDRESS ON FILE
ALONSO CALDERON, MARIELIZ V.           ADDRESS ON FILE
ALONSO CARRERO, IVELISSE               ADDRESS ON FILE
ALONSO CARRERO, XAVIER                 ADDRESS ON FILE
ALONSO CINTRON, AGNES                  ADDRESS ON FILE
ALONSO COLON, BARBARA                  ADDRESS ON FILE
ALONSO COLON, WANDA E                  ADDRESS ON FILE




                                                                                   Page 280 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 281 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Alonso Cortes, Carlos J         ADDRESS ON FILE
Alonso Cortes, Jorge I          ADDRESS ON FILE
ALONSO CORTEZ, RUTH N           ADDRESS ON FILE
ALONSO COSTA, TERESA            ADDRESS ON FILE
ALONSO COSTA, TERESITA          ADDRESS ON FILE
ALONSO CRUZ, FRANCISCO          ADDRESS ON FILE
ALONSO CUEVAS, NESTOR           ADDRESS ON FILE
ALONSO CUEVAS, NESTOR           ADDRESS ON FILE
ALONSO DE GRAUX, JEAN           ADDRESS ON FILE
ALONSO DE JESUS, ISABEL         ADDRESS ON FILE
ALONSO DE JESUS, MILAGROS       ADDRESS ON FILE
ALONSO DE LA CRUZ, ANGELITA     ADDRESS ON FILE
ALONSO DEFENDINI, CHARLES       ADDRESS ON FILE
ALONSO DIAZ, CECILE             ADDRESS ON FILE
ALONSO DIAZ, JOANNE             ADDRESS ON FILE
ALONSO DIAZ, MARI CARMEN        ADDRESS ON FILE
ALONSO ECHANOVE, JUAN           ADDRESS ON FILE
ALONSO ECHANOVE, JUAN ANTONIO   ADDRESS ON FILE
ALONSO FERNANDEZ, MODESTO       ADDRESS ON FILE
ALONSO FUENTES, MARIA E.        ADDRESS ON FILE
ALONSO GARCIA, FRANCISCO        ADDRESS ON FILE
ALONSO GARCIA, FRANCISCO F.     ADDRESS ON FILE
ALONSO GARRIDO, ARLEY           ADDRESS ON FILE
ALONSO GAY, MANUEL A.           ADDRESS ON FILE
ALONSO GAY, MARIA CELIA         ADDRESS ON FILE
ALONSO GONZALEZ, ARMANDO        ADDRESS ON FILE
ALONSO GONZALEZ, ARMANDO        ADDRESS ON FILE
ALONSO GUERRERO, CARLOS         ADDRESS ON FILE
ALONSO GUERRERO, ROSA M         ADDRESS ON FILE
ALONSO HARRIS, RAMON            ADDRESS ON FILE
ALONSO HERNANDEZ, GLADYS        ADDRESS ON FILE
ALONSO IGLESIAS, MONICA         ADDRESS ON FILE
Alonso Jimenez, Angel A         ADDRESS ON FILE
ALONSO LABATUT, MILAGROS        ADDRESS ON FILE
ALONSO LABORI, ERNESTO A.       ADDRESS ON FILE
ALONSO LOPEZ, ALMA              ADDRESS ON FILE
ALONSO LUNA, HEYDEE M           ADDRESS ON FILE
ALONSO MACHADO, JUAN            ADDRESS ON FILE
ALONSO MALDONADO, CARMEN        ADDRESS ON FILE
ALONSO MALDONADO, CARMEN M      ADDRESS ON FILE
ALONSO MARTI, IRMA              ADDRESS ON FILE
ALONSO MARTINEZ, ERIC           ADDRESS ON FILE
ALONSO MARTINEZ, MARIA          ADDRESS ON FILE
ALONSO MATEO, ANGEL M           ADDRESS ON FILE
ALONSO MATEO, YOLANDA           ADDRESS ON FILE
ALONSO MATOS, HILDA I           ADDRESS ON FILE
ALONSO MEDINA, EDNA             ADDRESS ON FILE
ALONSO MELETICHE, JESSICA       ADDRESS ON FILE
ALONSO MENDEZ, ALFREDO          ADDRESS ON FILE
ALONSO MENDEZ, BRENDALIE        ADDRESS ON FILE
ALONSO MENDEZ, IVELISSE         ADDRESS ON FILE
ALONSO MONROUZEAU, LAURA        ADDRESS ON FILE
ALONSO MONTERO, ELISA           ADDRESS ON FILE
ALONSO MORALES, CARMEN          ADDRESS ON FILE
ALONSO MORALES, CARMEN          ADDRESS ON FILE
ALONSO MPO LLC                  P O BOX 190063                                                                   SAN JUAN     PR      00919‐0063
ALONSO NAVAS, RAFAEL            ADDRESS ON FILE
ALONSO NEVAREZ, ZORAIDA         ADDRESS ON FILE
ALONSO OLIVERO MD, RINA         ADDRESS ON FILE
ALONSO ORTEGA, ZULMA            ADDRESS ON FILE




                                                                            Page 281 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 282 of 3500
                                                                                           Creditor Matrix

Creditor Name                        Address1                     Address2                              Address3                Address4   City         State   PostalCode   Country
ALONSO PAGAN, LILIA                  ADDRESS ON FILE
ALONSO PEREZ, ROSAURA                ADDRESS ON FILE
ALONSO PINEIRO, YOLANDA              ADDRESS ON FILE
ALONSO QUINTERO, CLARA               ADDRESS ON FILE
ALONSO RAMOS, JUAN                   ADDRESS ON FILE
Alonso Ramos, Ricardo                ADDRESS ON FILE
ALONSO REYES, MIGUEL                 ADDRESS ON FILE
ALONSO RIVERA, BRENDA                ADDRESS ON FILE
ALONSO RIVERA, ERIC                  ADDRESS ON FILE
ALONSO RIVERA, ERNESTO               ADDRESS ON FILE
ALONSO RODRIGUEZ, ALBERTO            ADDRESS ON FILE
ALONSO RODRIGUEZ, ANABELLE           ADDRESS ON FILE
ALONSO RODRIGUEZ, DEBBIE             ADDRESS ON FILE
ALONSO RODRIGUEZ, RICHARD            ADDRESS ON FILE
ALONSO ROMAN, EDNA                   ADDRESS ON FILE
ALONSO ROMAN, EDNA S                 ADDRESS ON FILE
Alonso Roman, Wilfredo               ADDRESS ON FILE
ALONSO ROSADO, FELIX A               ADDRESS ON FILE
ALONSO ROSARIO, JOSEFINA             ADDRESS ON FILE
ALONSO RUIZ, JOSE                    ADDRESS ON FILE
ALONSO RUIZ, MILDRED E               ADDRESS ON FILE
ALONSO SANCHEZ, CARLOS A             ADDRESS ON FILE
ALONSO SANTOS MD, ANGEL              ADDRESS ON FILE
Alonso Sastre, Jose M.               ADDRESS ON FILE
ALONSO SELVA, EVELYN                 ADDRESS ON FILE
ALONSO SELVA, MICHELLE               ADDRESS ON FILE
ALONSO SERRA, GABRIEL                ADDRESS ON FILE
ALONSO SILVA, LUIS                   ADDRESS ON FILE
ALONSO SOTO, SONIA E.                ADDRESS ON FILE
ALONSO TORRES, AWILDA                ADDRESS ON FILE
ALONSO TORRES, CARMEN DELIA          ADDRESS ON FILE
ALONSO TORRES, NILSA                 ADDRESS ON FILE
ALONSO TORRES, NILSA I               ADDRESS ON FILE
ALONSO TRIACK, DAVID                 ADDRESS ON FILE
ALONSO URBINA, KETZIA                ADDRESS ON FILE
ALONSO VAZQUEZ, EDWIN                ADDRESS ON FILE
ALONSO VEGA, VICTOR                  ADDRESS ON FILE
ALONSO VELEZ, JEANNETTE              ADDRESS ON FILE
ALONSO VELEZ, JUAN M.                ADDRESS ON FILE
ALONSO VELEZ, MARIE                  ADDRESS ON FILE
ALONSO VILA, PAULETTE                ADDRESS ON FILE
ALONSO Y CARUS IRON WORKS INC        PO BOX 566                                                                                            CATANO       PR      00963‐0566
ALONSO ZAPATA RAMIREZ                ADDRESS ON FILE
ALONSO ZAYAS, HANNIA M               ADDRESS ON FILE
ALONSO ZAYAS, LUIS E                 ADDRESS ON FILE
ALONSO, ANDRES                       ADDRESS ON FILE
Alonzo Chacon, Osvaldo               ADDRESS ON FILE
ALONZO DIAZ, ZORAIDA                 ADDRESS ON FILE
ALONZO FUENTES, MARIA ELENA          ALEJANDRO FRANCO FERNANDEZ   PO BOX 70313                                                             SAN JUAN     PR      00936‐0313
                                                                                                        301 CALLE RECINTO SUR
ALONZO FUENTES, MARIA ELENA          JORGE GUERRERO CALDERON      COND GALLARDO                         STE 502                            SAN JUAN     PR      00901
ALONZO FUENTES, MARIA ELENA          JUAN ACARON SUFFRONT         URB. ROMAY 16 CALLE B                                                    SAN JUAN     PR      00929
ALONZO FUENTES, MARIA ELENA          RAYMOND PEREZ BRAYFIELD      PO BOX 70313                                                             SAN JUAN     PR      00936‐0313
ALONZO OYOLA, RENIEL                 ADDRESS ON FILE
ALONZO RAMON, JENNY                  ADDRESS ON FILE
ALONZO SIERRA, FRANCISCA V           ADDRESS ON FILE
ALORDIS REHABILITATION CENTER        AVE. DEL VALLE 3178          3RA SECC. LEVITTOWN                                                      TOA BAJA     PR      00949
ALORDIS REHABILITATION CENTER        LEVITTOWN                    3178 CALLE CRESTA                                                        TOA BAJA     PR      00949‐3130
ALORDIS REHABILITATION CENTER CORP   AVE DEL VALLE 3178           LEVITTOWN                                                                TOA BAJA     PR      00949
ALORDIS REHABILITATION CENTER CORP   PO BOX 50441                                                                                          TOA BAJA     PR      00950‐0044




                                                                                          Page 282 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 283 of 3500
                                                                                                              Creditor Matrix

Creditor Name                            Address1                                Address2                                  Address3     Address4   City              State   PostalCode   Country
ALORDIS REHABILITATION CENTER CORP       VISTA DEL MORRO                         B12 PITIRRE                                                       CATANO            PR      00962
ALORDIS SUPLEMENTOS ORTOPEDICOS          AVE DEL VALLE 3178 3RA SEC LEVITTOWN                                                                      TOA BAJA          PR      00949
ALOS RODRIGUEZ, NITZA I                  ADDRESS ON FILE
ALOS RULLAN, ELBA                        ADDRESS ON FILE
ALOS RULLAN, LOURDES M                   ADDRESS ON FILE
ALOY RODRIGUEZ, LUIS                     ADDRESS ON FILE
ALOYO CORCINO, JOSUAN                    ADDRESS ON FILE
ALOYO NIEVES, JULIANA                    ADDRESS ON FILE
ALOYO OQUENDO, LUIS E                    ADDRESS ON FILE
ALOYO ORTIZ, MARISOL                     ADDRESS ON FILE
ALOYO ORTIZ, SONIA N                     ADDRESS ON FILE
ALOYO SUAREZ, DARYSABEL                  ADDRESS ON FILE
ALP PRO INC                              CALLE ISLETA 3                          COND LAS TORRES SUR IF                                            BAYAMON           PR      00959
ALPEN SANTIAGO, HECTOR                   ADDRESS ON FILE
ALPHA AMBULANCE INC                      1720 AVE EDUARDO CONDE                                                                                    SAN JUAN          PR      00912
ALPHA AMBULANCES INC                     PO BOX 19313                                                                                              SAN JUAN          PR      00910
ALPHA BIOMEDICAL & DIAGNOSTIC CORP       BO NAVARRO                              CARR 931 KM 5 1                                                   GURABO            PR      00778
ALPHA BIOMEDICAL & DIAGNOSTIC CORP       PO BOX 670                                                                                                CAGUAS            PR      00726
ALPHA BUSINESS FORMS                     P.O. BOX 2152                                                                                             SAN JUAN          PR      00922‐2152
ALPHA BUSINESS FORMS                     PO BOX 11932                                                                                              SAN JUAN          PR      00922‐1932
ALPHA CREW 140 ADS PUNTA SALINAS         140 ADS 200 CARR 165                                                                                      TOA BAJA          PR      00949
ALPHA DEMOLITIONS INC                    PMB 405                                 309 AVE ESMERALDA STE 102                                         GUAYNABO          PR      00969‐4457
ALPHA ENGINEERING GROUP PSC              URB INDUSTRIAL EL PARAISO               5 CALLE GANGES                                                    SAN JUAN          PR      00929‐2907
ALPHA FACILITY SERVICES CORP             PO BOX 11825                                                                                              SAN JUAN          PR      00901
ALPHA GUARD                              PMB 108 PO BOX 8700                                                                                       CAROLINA          PR      00984‐8700
ALPHA K‐9 CORP                           PO BOX 1276                                                                                               JUNCOS            PR      00777‐1276
ALPHA M GUZMAN ORTEGA                    ADDRESS ON FILE
ALPHA MAINTENANCE SERVICE INC            PO BOX 1271                                                                                               CATANO            PR      00963‐1271
ALPHA MEDICAL TEST CORP.                 PO BOX 55218 STATION ONE                                                                                  BAYAMON           PR      00960‐4218
ALPHA MEDICAL TESTS                      PO BOX 55218                            STATION ONE                                                       BAYAMON           PR      00960‐4218
ALPHA MEDICAL TESTS CORP                 PO BOX 55218                            STATION ONE                                                       BAYAMON           PR      00960‐4218
ALPHA ONE SECURITY SOLUTIONS             LAGUNA SHOPPING STE 256                                                                                   CAROLINA          PR      00979
ALPHA REFRIGERATION SERVICES             P.O. BOX 6835                                                                                             BAYAMON           PR      00960‐5835
ALPHA SABIDURIA PACIENCIA Y EXITOS INC   PO BOX 364582                                                                                             SAN JUAN          PR      00936‐4582
ALPHA SABIDURIA PACIENCIA Y EXITOS INC   URB VILLA ANDALUCIA                     A 21 CALLE RONDA                                                  SAN JUAN          PR      00923
ALPHA SOLUTIONS INC                      SANTA ROSA                              BLOQ 36‐11 CALLE 23                                               BAYAMON           PR      00957
ALPHA SYSTEMS INC                        1353 RD 19 SUITE 203                                                                                      GUAYNABO          PR      00966
ALPHA TEAM INC.                          CARR 156 KM 12.9 INTERIOR               BO PALO HINCADO                                                   BARRANQUITAS      PR      00794
ALPHA TEAM INC.                          P O BOX 794                                                                                               BARRANQUITAS      PR      00719
ALPHA TEAM INC.                          PMB 100 BOX 7585                                                                                          BARRANQUITAS      PR      00794
ALPHA WINDOW TINT                        1225 AVE. JESUS T PINERO                                                                                  SAN JUAN          PR      00920
ALPHA WINDOW TINT                        AVE JESUS T. PINERO                     1225 CAPARRA TERRACE                                              SAN JUAN          PR      00920
ALPHA WINDOW TINT                        AVE. DE JESUS T. PINEIRO                1225 CAPARRA TERRACE                                              SAN JUAN          PR      00920
ALPHA WINDOW TINT                        AVE. J.T. PINERO 1225, CAPARA TERRACE                                                                     SAN JUAN          PR      00920
ALPHA WINDOW TINT                        AVE.JESUS T PINERO 1225                                                                                                     PR      00920
ALPHA WINDOW TINT                        CAPARRA TERRACE                         1225 AVE JESUS T PIÐEIRO                                          SAN JUAN          PR      00920
ALPHA WINDOW TINT                        CAPARRA TERRACE                         1225 AVE JESUS T PINEIRO                                          SAN JUAN          PR      00920
ALPHAMEP CORP                            PO BOX 1720                                                                                               LUQUILLO          PR      00773
ALPHIE STEEL DESIGN                      CIUDAD UNIVERSITARIA                    P 11 CALLE D OESTE                                                TRUJILLO ALTO     PR      00976
ALPI FIGUEROA, MONICA                    ADDRESS ON FILE
ALPI FIGUEROA, MONICA                    ADDRESS ON FILE
ALPINE SOFTWARE CORPORATION              P O BOX 281                                                                                               PITSFORD          NY      14534
ALPINO GRILLO, TANIA                     ADDRESS ON FILE
ALQUILER NIN/ JOSE RODRIGUEZ             ADDRESS ON FILE
ALQUILER SILLAS MESAS Y DRONES           ADDRESS ON FILE
ALQUILERES IRIZARRY                      ADDRESS ON FILE
ALQUILERES M BARRIOS INC                 PO BOX 7306                                                                                               PONCE             PR      00732‐7306
ALQUIMIA FILMS INC                       268 AVE MUNOZ RIVERA                    WESTER BANK WORLD PLAZA                   SUITE 1905              SAN JUAN          PR      00918
ALQUIZA ARCHILLA, LAURELIZ               ADDRESS ON FILE
ALQUIZA ARCHILLA, SUSSETTE               ADDRESS ON FILE




                                                                                                             Page 283 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 284 of 3500
                                                                                         Creditor Matrix

Creditor Name                       Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
ALS AUCTIONEERS LIMITED LIABILITY   P O BOX 11852                                                                           SAN JUAN     PR      00922
AL'S UNLIMITED                      15 PLAZA DEL MERCADO                                                                    CAGUAS       PR      00725‐2905
ALS UNLIMITED CORP                  10 PLAZA DEL MERCADO      1000 AVE RAFAEL CORDERO                                       CAGUAS       PR      00725
ALSABBAGH MD, EYAD                  ADDRESS ON FILE
ALSAN INC                           PO BOX 363782                                                                           SAN JUAN     PR      00936‐3782
ALSEMO RODRIGUEZ PENA               ADDRESS ON FILE
ALSEMO RODRIGUEZ PENA               ADDRESS ON FILE
ALSHALABI, MAJDI                    ADDRESS ON FILE
ALSINA ALVAREZ, CARLOS              ADDRESS ON FILE
ALSINA BAEZ, GRISEL                 ADDRESS ON FILE
ALSINA BATISTA, CARLOS              ADDRESS ON FILE
ALSINA BEVERAGGI, LUIS              ADDRESS ON FILE
ALSINA BURGOS, AMY                  ADDRESS ON FILE
ALSINA COLON, RUBEN                 ADDRESS ON FILE
ALSINA DIAZ, JOSE                   ADDRESS ON FILE
ALSINA DIAZ, RUBY                   ADDRESS ON FILE
ALSINA DURAN, JOSE                  ADDRESS ON FILE
ALSINA FIGUEROA, ANAIS              ADDRESS ON FILE
ALSINA FIGUEROA, HECTOR             ADDRESS ON FILE
ALSINA GARCIA, JENNILISSE M         ADDRESS ON FILE
ALSINA GONZALEZ, GUSTAVO            ADDRESS ON FILE
ALSINA GONZALEZ, ISMAEL             ADDRESS ON FILE
ALSINA HERNANDEZ, EVELYN            ADDRESS ON FILE
ALSINA LETAURNEAUT, JORGE L.        ADDRESS ON FILE
ALSINA LOPEZ, CARMEN E              ADDRESS ON FILE
ALSINA LOPEZ, HIRAM                 ADDRESS ON FILE
Alsina Lopez, Iladel                ADDRESS ON FILE
Alsina Lopez, Iladel                ADDRESS ON FILE
Alsina Lopez, Ismael                ADDRESS ON FILE
ALSINA LOPEZ, LESLIE                ADDRESS ON FILE
ALSINA LOPEZ, LILY                  ADDRESS ON FILE
Alsina Lopez, Luis R                ADDRESS ON FILE
ALSINA LOPEZ, RAMON                 ADDRESS ON FILE
ALSINA MARTINEZ, AIDA I             ADDRESS ON FILE
ALSINA MARTINEZ, NORMA I            ADDRESS ON FILE
ALSINA MEDRANO, KHILSY              ADDRESS ON FILE
ALSINA MELENDEZ, CARLOS             ADDRESS ON FILE
ALSINA MELENDEZ, OLGA               ADDRESS ON FILE
ALSINA MELENDEZ, RUBEN              ADDRESS ON FILE
ALSINA MENDOZA, AIDA                ADDRESS ON FILE
ALSINA MIRANDA, GLADYS M            ADDRESS ON FILE
ALSINA ORTIZ, JOSE ISRAEL           ADDRESS ON FILE
ALSINA PEREZ, LISANDRA              ADDRESS ON FILE
ALSINA PEREZ, LISANDRA              ADDRESS ON FILE
ALSINA POMALES MD, ZAMARIE          ADDRESS ON FILE
ALSINA POMALES, LUIS A              ADDRESS ON FILE
ALSINA RIOS, MARTA R.               ADDRESS ON FILE
ALSINA RIOS, OLGA                   ADDRESS ON FILE
ALSINA RIOS, SANDRA                 ADDRESS ON FILE
ALSINA RIVERA, CARLOS F             ADDRESS ON FILE
ALSINA RIVERA, EVA M                ADDRESS ON FILE
ALSINA RIVERA, JANITZA              ADDRESS ON FILE
ALSINA RIVERA, JANITZA              ADDRESS ON FILE
ALSINA RIVERA, JANITZA              ADDRESS ON FILE
ALSINA RIVERA, JANITZA              ADDRESS ON FILE
ALSINA RIVERA, JENNY                ADDRESS ON FILE
ALSINA ROSARIO, VICTOR ANTONIO      ADDRESS ON FILE
ALSINA SANCHEZ, CHERYL D            ADDRESS ON FILE
ALSINA SANTIAGO, ARLENE LYNNETTE    ADDRESS ON FILE
ALSINA VELEZ, NOELIA                ADDRESS ON FILE




                                                                                        Page 284 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 285 of 3500
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3   Address4   City           State   PostalCode   Country
ALSINA, JOSE                             ADDRESS ON FILE
ALSTON & BIRD LLP                        ONE ATLANTIC CENTER                     1201 WEST PEACHTREE STREET                                       ATLANTA        GA      30309‐3424
ALT PRINTING SOLUTION & PROMOTIONAL PRODSANTA JUANITA                            PMB 228 CALLE 39 UU‐1                                            BAYAMON        PR      00956
ALTA VISTA COURT INC                     PMB 243 1353 ROAD 19                                                                                     GUAYNABO       PR      00966‐2700
ALTACARE OUTPATIENT PSYCHIATRY & COUNSEL MEDICAL RECORDS                         1450 ROSS CLARK CIRCLE STE 400                                   DOTHAN         AL      36301‐4770
ALTACHE, LUIS A.                         ADDRESS ON FILE
ALTAGERGEL TORRES TORRES                 ADDRESS ON FILE
ALTAGERGEL TORRES TORRES                 ADDRESS ON FILE
ALTAGERGEL TORRES TORRES                 ADDRESS ON FILE
ALTAGRACIA ABREU GONZALEZ                ADDRESS ON FILE
ALTAGRACIA AGUILAR ACEVEDO               ADDRESS ON FILE
ALTAGRACIA CANCEL GONZALEZ               ADDRESS ON FILE
ALTAGRACIA CASTILLO, HORACIO             ADDRESS ON FILE
ALTAGRACIA CEDENO                        ADDRESS ON FILE
ALTAGRACIA CONCEPCION COSTE              ADDRESS ON FILE
ALTAGRACIA DEVERS PINA                   ADDRESS ON FILE
ALTAGRACIA DIAZ / ISABEL DIAZ            ADDRESS ON FILE
ALTAGRACIA DIAZ SOSA                     ADDRESS ON FILE
ALTAGRACIA E. MATEO VIZCAINO             ADDRESS ON FILE
ALTAGRACIA ESPADA, CARLOS D.             ADDRESS ON FILE
ALTAGRACIA ESPADA, KARINA V              ADDRESS ON FILE
ALTAGRACIA ESPADA, KARLA N               ADDRESS ON FILE
ALTAGRACIA FRANCESCHINI MOUMBALTH        ADDRESS ON FILE
ALTAGRACIA GONELL ESCAIFULLERD           ADDRESS ON FILE
ALTAGRACIA GRIMAIDI SILIE                ADDRESS ON FILE
ALTAGRACIA HERNANDEZ CABRERA             ADDRESS ON FILE
ALTAGRACIA HERNANDEZ MATIAS              ADDRESS ON FILE
ALTAGRACIA LEONARDO DE LA CRUZ           ADDRESS ON FILE
ALTAGRACIA MALAVE LEBRON                 ADDRESS ON FILE
ALTAGRACIA MALDONADO, CARMEN I           ADDRESS ON FILE
ALTAGRACIA MARTINEZ ROMAN                ADDRESS ON FILE
ALTAGRACIA MORAN, AGNERIS                ADDRESS ON FILE
ALTAGRACIA PENA SUAREZ                   ADDRESS ON FILE
ALTAGRACIA QUINONES QUESADA              ADDRESS ON FILE
ALTAGRACIA RAMIREZ NUNEZ                 ADDRESS ON FILE
ALTAGRACIA RONDA LABOY                   ADDRESS ON FILE
ALTAGRACIA SANTIAGO OLIVARES             ADDRESS ON FILE
ALTAGRACIA SANTIAGO OLIVERAS             LCDO. VÍCTOR M. BERMÚDEZ PEREZ          URB. VILLA ANDALUCIA A‐22 CALLE RONDA                            SAN JUAN       PR      00926
ALTAGRACIA SILVESTRINI RAMOS             ADDRESS ON FILE
ALTAGRACIA SURIEL VAZQUEZ                ADDRESS ON FILE
ALTAGRACIA TARDY, ANTONIO                ADDRESS ON FILE
ALTAGRACIA TEJEDA JIMENEZ                ADDRESS ON FILE
ALTAGRACIA VAZQUEZ MARTINEZ              ADDRESS ON FILE
ALTAGRACIA VAZQUEZ RIJO                  ADDRESS ON FILE
ALTAGRACIA VELEZ RAMOS                   ADDRESS ON FILE
ALTAGRACIA VILLAR Y ALTAGRACIA SANCHEZ   ADDRESS ON FILE
ALTAGRACIO RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
ALTAMA DELTA P R CORP                    5968 COMMERCE BLVD                                                                                       MORRISTOWN     KY      37814
ALTAMAR MANGA, GUSTAVO A                 ADDRESS ON FILE
Altamente GS,LLC                         7 AVE. SIMON MADERA                                                                                      SAN JUAN       PR      00924
Altamente GS,LLC                         Urb. Santa Clara W‐1 Anamu                                                                               San Juan       PR      00969
ALTAMIRA CORPORATION                     PO BOX 8                                                                                                 MAYAUEZ        PR      00681
ALTAMIRANO GOMEZ, FLAVIA                 ADDRESS ON FILE
ALTAMIRANO TORRES, ALVARO                ADDRESS ON FILE
ALTANETWORKS, LLC                        ALTS. DE COVADONGA 4B5 CALLE CAMPO AMOR                                                                  TOA BAJA       PR      00949‐5430
ALTE EGO ORTHOPEDICS PSC                 URB CROWN HLS                           138 AVE WINSTON CHURCHILL STE 675                                SAN JUAN       PR      00926‐6013
ALTECH CONTRACTORS INC                   P O BOX 6030 PMB 300                                                                                     CAROLINA       PR      00984
ALTECH INSTRUMENTATION SERVICE           PO BOX 4952                                                                                              CAGUAS         PR      00726‐4952
ALTEGRI CORP                             PO BOX 8145                                                                                              BAYAMON        PR      00960‐8145
ALTEMIO RIOS SANTIAGO                    ADDRESS ON FILE




                                                                                                             Page 285 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 286 of 3500
                                                                                                              Creditor Matrix

Creditor Name                            Address1                             Address2                                     Address3   Address4   City            State   PostalCode   Country
ALTENERGY INC DBA PR ENVIRO SOLUTIONS    PMB 43                               400 CALLE CALAF                                                    SAN JUAN        PR      00918
ALTERNADORES Y STARTERS EWCO INC         CAPARRA HEIGHTS                      1639 AVE JESUS T PIÐERO                                            SAN JUAN        PR      00920‐0000
ALTERNADORES Y STARTERS EWCO INC         CAPARRA HEIGHTS                      1639 AVE JESUS T PINERO                                            SAN JUAN        PR      00920
ALTERNANTE CONCEPTS, INC                 CARR. 21, EDIF. 24                                                                                      GUAYNABO        PR      00966
ALTERNATE CONCEPTS INC                   24 ROAD 21                                                                                              GUAYNABO        PR      00966
ALTERNATIVA PSICOEDUCATIVAS DE P R       URB BOSQUE DE LAS PALMAS             178 CALLE COCO PLUMOSO                                             BAYAMON         PR      00956
ALTERNATIVA SICOEDUCATIVAS DE PR INC     VILLA CAPRI                          571 CALLE LODI                                                     SAN JUAN        PR      00924‐3819
ALTERNATIVAS TU NEGOCIO, L L C           URB. LA ALAMEDA                      835 AZABACHE                                                       SAN JUAN        PR      00926
ALTERNATIVE CARE EMS INC                 URB BAYAMON GARDENS                  F48 CALLE 17                                                       BAYAMON         PR      00957
ALTERNATIVE DISTRIBUTORS INC             CALLE EUGENIO DIARTE 1‐B             TOWN HILL                                                          TOA ALTA        PR      00953
ALTERNATIVE DISTRIBUTORS INC             CALLE EUGENIO DUARTE 1‐B TOWN HILL                                                                      TOA ALTA        PR      00953
ALTERNATIVE DISTRIBUTORS INC             COND ATLANTIS                        404 AVE CONSTITUCION APT 605                                       SAN JUAN        PR      00901
ALTERNATIVE EDUCATIONAL SERVICES         10 C/CISNE                           URB BOSQUE VERDE                                                   CAGUAS          PR      00727‐6907
ALTERNATIVE EDUCATIONAL SERVICES         EL ENCANTO                           10 C/CISNE                                                         CAGUAS          PR      00726
ALTERNATIVE EXT COMEJEN CORP             PO BOX 3368                                                                                             BAYAMON         PR      00958‐0368
ALTERNATIVE EXTERMINATING                BAYAMON GARDENS STATION              PO BOX 3368                                                        BAYAMON         PR      00958
ALTERNATIVE EXTERMINATING                EDIFICIO RICO MAR                    P O BOX 201                                                        ISLA VERDE      PR      00979‐0000
ALTERNATIVE EXTERMINATING COMEJEN CORP PO BOX 3368                                                                                               SAN JUAN        PR      00958
ALTERNATIVE EXTERMINATING COMEJEN CORP. P O BOX 3368 BAYAMÓN GARDEN STATION                                                                      BAYAMÓN         PR      00958‐0000
ALTERNATIVE EXTERMINATING COMEJEN INC    PO BOX 3368                                                                                             BAYAMON         PR      00958
ALTERNATIVE EXTERMINATING COMEJEN, CORP PO BOX 3368                                                                                              BAYAMON         PR      00958
ALTERNATIVE FOR KIDS                     HC 5 BOX 7512                                                                                           GUAYNABO        PR      00971
ALTERNATIVE FOR KIDS, INC.               PO BOX 4175                                                                                             BAYAMON         PR      00958‐1175
ALTERNATIVE INSURANCE INC                PO BOX 367856                                                                                           SAN JUAN        PR      00936
ALTERNATIVE JOB SERVICES INC             PMB 448 1312                         AVE FELIX ALDARONDO                                                ISABELA         PR      00662
ALTERNATIVE PROJECTS 4 EDUCATION         URB DOS PINOS                        CALLE VISTA 821                                                    SAN JUAN        PR      00923
ALTERNATIVE PSYCHOEDUCATIONAL SERVICES I P O BOX 70250                        PMB 236                                                            SAN JUAN        PR      00936‐8250
ALTERNATIVE PSYCHOEDUCATIONAL SERVICES I PMB 236 P O BOX 70250                                                                                   SAN JUAN        PR      00936‐8250
ALTEX ELECTRONICS                        11342 1H35 NORTH                                                                                        SAN ANTONIO     TX      78233
ALTEX UNIFORM RENTALS                    BOX 8541 FERNANDEZ JUNCOS STATION                                                                       SANTURCE        PR      00910
ALTIERI ACEVEDO, JEANNETTE               ADDRESS ON FILE
ALTIERI ARCE, ILEANA M                   ADDRESS ON FILE
ALTIERI AVILES, ANAYANTZIE               ADDRESS ON FILE
ALTIERI AVILES, GILBERTO                 ADDRESS ON FILE
ALTIERI AVILEZ, ANAYANTZIE               ADDRESS ON FILE
ALTIERI GUADALUPE, BRIAN                 ADDRESS ON FILE
ALTIERI MARTINEZ, REBECA                 ADDRESS ON FILE
ALTIERI MARTINO, MARIA L                 ADDRESS ON FILE
ALTIERI NIETO MD, PABLO I                ADDRESS ON FILE
ALTIERI PAGAN, EDITH                     ADDRESS ON FILE
ALTIERI PAGAN, YANEIZA                   ADDRESS ON FILE
ALTIERI RAMIREZ, ANIBELLE                ADDRESS ON FILE
ALTIERI RAMIREZ, GLADYS                  ADDRESS ON FILE
ALTIERI RODRIGUEZ, MARIA DEL C           ADDRESS ON FILE
ALTIERI ROSADO, JOSE A                   ADDRESS ON FILE
ALTIERY CARRERO, ANDRES                  ADDRESS ON FILE
ALTIERY CARRERO, DIANAENID               ADDRESS ON FILE
ALTIERY CORREA, CONFESOR                 ADDRESS ON FILE
ALTIERY FIGUEROA, JULIO C.               ADDRESS ON FILE
ALTIERY GONZALEZ, BRYAN                  ADDRESS ON FILE
ALTIERY ORTIZ, EMMA                      ADDRESS ON FILE
ALTIERY REYES, CRYSTAL M                 ADDRESS ON FILE
ALTIERY RIOS, LUZ A                      ADDRESS ON FILE
ALTIERY RIOS, MARISOL                    ADDRESS ON FILE
ALTIERY RODRIGUEZ, PEDRO                 ADDRESS ON FILE
ALTIERY RUIZ, CARLOS                     ADDRESS ON FILE
ALTIERY VARGAS, JOAQUIN                  ADDRESS ON FILE
ALTIERY VARGAS, WILFREDO                 ADDRESS ON FILE
ALTIMIRA VALDERRAMA, JAIME               ADDRESS ON FILE
ALTO EQUIPMENT CORP                      PO BOX 21392                                                                                            SAN JUAN        PR      00928‐1392




                                                                                                             Page 286 of 10031
                                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                                  Exhibit A-1 - Creditor
                                                                                      Case No.Matrix
                                                                                              17 BK 3283‐LTSPage 287 of 3500
                                                                                                          Creditor Matrix

Creditor Name                                  Address1                      Address2                                  Address3                    Address4   City              State   PostalCode   Country
ALTOL CHEMICAL ENVIROMENTAL LAB INC            PO BOX 359                                                                                                     MERCEDITA         PR      00715
ALTOL ENVIROMENTAL SERVICE INC                 PO BOX 359                                                                                                     PONCE             PR      00715‐0359
ALTOL PETROLEUM PRODUCTS SERVICES INC          P O OBOX 359                                                                                                   PONCE             PR      00715
Altoran Mundo, Daniel H                        ADDRESS ON FILE
ALTORI VARGAS, LUIS J.                         ADDRESS ON FILE
ALTORO SANTIAGO, NIVIA                         ADDRESS ON FILE
ALTORO VAZQUEZ, LYDIA N                        ADDRESS ON FILE
ALTORY FLORES, PEDRO J.                        ADDRESS ON FILE
ALTORY REYES, YAMARIS                          ADDRESS ON FILE
ALTORY VARGAS, MARGGIE                         ADDRESS ON FILE
ALTOS DE LA VILLA INC                          PO BOX 2025                                                                                                    LAS PIEDRAS       PR      00771
ALTOY FLORES, PEDRO J                          ADDRESS ON FILE
Altreche Barreto, Pedro J.                     ADDRESS ON FILE
ALTRECHE BERNAL, LOURDES E                     ADDRESS ON FILE
ALTRECHE BURGOS, EMELINA                       ADDRESS ON FILE
ALTRECHE ESPONDA, MERY N                       ADDRESS ON FILE
ALTRECHE GONZALEZ, NELIDA                      ADDRESS ON FILE
ALTRECHE LUGO, YAHAIRA M.                      ADDRESS ON FILE
ALTRECHE MORO, AIRANGEL                        ADDRESS ON FILE
ALTRECHE PONCE, LETICIA                        ADDRESS ON FILE
ALTRECHE TIRADO, EIDA E                        ADDRESS ON FILE
ALTRECHE VELEZ, JESSICA                        ADDRESS ON FILE
ALTRUSA INTERNACIONAL INC                      PO BOX 1936                                                                                                    CABO ROJO         PR      00623
ALTRUSA INTERNACIONAL INC DE CABO ROJO         URB BORINQUEN                 T 12 PEDRO FLORES ST                                                             CABO ROJO         PR      00623‐3374
ALTSCHULER STERN, DANIEL                       ADDRESS ON FILE
ALTURAS DE FAIRVIEW DEVELOPMENT CORP           220 PLAZA WESTERN AUTO        STE 101 TRUJILLO ALTO                                                            TRUJILLO ALTO     PR      00976‐3606
ALTURAS DE FAIRVIEW DEVELOPMENT CORP           AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                        SAN JUAN          PR      00902‐4140
ALTURET DAVILA, NILDA                          ADDRESS ON FILE
Alturet Marte, Aniceto                         ADDRESS ON FILE
ALTUS LOPEZ, CHERRIE M.                        ADDRESS ON FILE
ALTUZ MALDONADO, NANCY                         ADDRESS ON FILE
ALTUZ MORALES, EDNA                            ADDRESS ON FILE
                                                                                                                       Suite 201 Zona Industrial
ALUD ‐ Capítulo del Depto. De Recursos Naturale Merced Flores, Juan A.       Torres‐CPA Group Business                 Lace                                   Carolina          PR      00984
                                                                                                                       Suite 201 Zona Industrial
ALUD ‐ Capítulo del Municipio de Ceiba         Buitrago Ruíz, Carlos         Torres‐CPA Group Business                 Lace                                   Carolina          PR      00984
                                                                                                                       Suite 201 Zona Industrial
ALUD ‐ Capítulo del Municipio de Yabucoa       Velázquez Díaz, Orlando       Torres‐CPA Group Business                 Lace                                   Carolina          PR      00984
ALUMA CONSTRUCTION CORP                        PO BOX 246                                                                                                     VIEQUES           PR      00765
ALUMA CONSTRUCTION CORPORATION                 P.O. BOX 13186                                                                                                 SAN JUAN          PR      00913‐0000
ALUMASTER CORP                                 MINILLAS IND PARK             206 AVE LAUREL                                                                   BAYAMON           PR      00959
ALUMINUM & METAL SERVICES CORP                 PO BOX 29442                                                                                                   SAN JUAN          PR      00929‐0442
ALUSTIZA CABALLER, JOSE                        ADDRESS ON FILE
ALUSTIZA COLLAZO, JULIO                        ADDRESS ON FILE
ALUVE RESTAURANTS INC                          PO BOX 214                                                                                                     SABANA GRANDE     PR      00637
ALV INC. DBA POSTAL SUPLY WAREHOUSE            17939 CHATSWORTH STREET 427                                                                                    GRANADA HILLS     CA      91344‐0000
ALVACORD GENERAL CONTRACTOR INC.               PO BOX 646                                                                                                     JUANA DIAZ        PR      00795
ALVALADEJO PLAZA, BRENDA L.                    ADDRESS ON FILE
ALVALLE ALVARADO, BETTY                        ADDRESS ON FILE
ALVALLE BERMUDEZ, MARIA L                      ADDRESS ON FILE
Alvalle Bermúdez, María L                      ADDRESS ON FILE
ALVALLE BLANCO, BRANDON                        ADDRESS ON FILE
ALVALLE BURGOS, AGNES                          ADDRESS ON FILE
ALVALLE COLON, ALEXIS                          ADDRESS ON FILE
ALVALLE COLON, CESAR                           ADDRESS ON FILE
ALVALLE COLON, JASMINE                         ADDRESS ON FILE
ALVALLE COLON, YANIRA                          ADDRESS ON FILE
ALVALLE MIRANDA, ORLANDO                       ADDRESS ON FILE
ALVALLE PELLOT, EDGARDO                        ADDRESS ON FILE
ALVALLE RIVERA, LUDMAN                         ADDRESS ON FILE




                                                                                                         Page 287 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 288 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVALLE RODRIGUEZ, MARIA         ADDRESS ON FILE
ALVALLE RODRIGUEZ,EGBERTO        ADDRESS ON FILE
ALVALLE VELEZ, SHARON            ADDRESS ON FILE
ALVARA, PEDRO                    ADDRESS ON FILE
ALVARADO ACEVEDO, EDWIN A        ADDRESS ON FILE
ALVARADO ACOSTA, MARLEEN         ADDRESS ON FILE
ALVARADO ACOSTA, MICHAEL         ADDRESS ON FILE
ALVARADO ADAMES, GIOMARA Y       ADDRESS ON FILE
ALVARADO AGOSTO, DOMINGO E       ADDRESS ON FILE
ALVARADO AGUILERA, ANGEL O.      ADDRESS ON FILE
ALVARADO AGUILERA, JULIO W       ADDRESS ON FILE
ALVARADO AGUIRRE, MARIA DEL      ADDRESS ON FILE
ALVARADO ALBINO, OSCAR           ADDRESS ON FILE
ALVARADO ALEJANDRO, HECTOR       ADDRESS ON FILE
ALVARADO ALFONSO, MIGUEL D       ADDRESS ON FILE
ALVARADO ALICEA, ALEXIS          ADDRESS ON FILE
ALVARADO ALICEA, CARLOS          ADDRESS ON FILE
ALVARADO ALICEA, CARLOS          ADDRESS ON FILE
Alvarado Alicea, Daniel          ADDRESS ON FILE
ALVARADO ALICEA, HEIDY           ADDRESS ON FILE
ALVARADO ALICEA, HEIDY           ADDRESS ON FILE
ALVARADO ALICEA, MYRTA C         ADDRESS ON FILE
Alvarado Almodovar, Jose R       ADDRESS ON FILE
ALVARADO ALVAARADO, JOSE A       ADDRESS ON FILE
Alvarado Alvarado, Adalberto     ADDRESS ON FILE
ALVARADO ALVARADO, ALEX          ADDRESS ON FILE
ALVARADO ALVARADO, ANA L         ADDRESS ON FILE
ALVARADO ALVARADO, BEATRIZ       ADDRESS ON FILE
ALVARADO ALVARADO, BELMAR E      ADDRESS ON FILE
ALVARADO ALVARADO, BLAS R        ADDRESS ON FILE
ALVARADO ALVARADO, EFRAIN        ADDRESS ON FILE
ALVARADO ALVARADO, ELBA M        ADDRESS ON FILE
Alvarado Alvarado, Elma I.       ADDRESS ON FILE
ALVARADO ALVARADO, ERICK         ADDRESS ON FILE
ALVARADO ALVARADO, FRANCISCO N   ADDRESS ON FILE
ALVARADO ALVARADO, GERARDO       ADDRESS ON FILE
ALVARADO ALVARADO, JEDDICA       ADDRESS ON FILE
ALVARADO ALVARADO, JERRICA       ADDRESS ON FILE
ALVARADO ALVARADO, JESSICA       ADDRESS ON FILE
Alvarado Alvarado, Jose          ADDRESS ON FILE
ALVARADO ALVARADO, JOSE          ADDRESS ON FILE
Alvarado Alvarado, Juan          ADDRESS ON FILE
ALVARADO ALVARADO, JUAN          ADDRESS ON FILE
ALVARADO ALVARADO, KENNETH       ADDRESS ON FILE
ALVARADO ALVARADO, LAURA         ADDRESS ON FILE
ALVARADO ALVARADO, MARIA A       ADDRESS ON FILE
ALVARADO ALVARADO, MARIA DE L    ADDRESS ON FILE
ALVARADO ALVARADO, MARIA Y       ADDRESS ON FILE
ALVARADO ALVARADO, MARIXSA       ADDRESS ON FILE
ALVARADO ALVARADO, MAYRA         ADDRESS ON FILE
Alvarado Alvarado, Melvin        ADDRESS ON FILE
ALVARADO ALVARADO, OLGA I        ADDRESS ON FILE
ALVARADO ALVARADO, REYITA        ADDRESS ON FILE
ALVARADO ALVARADO, RITA I        ADDRESS ON FILE
ALVARADO ALVARADO, SANDRA J.     ADDRESS ON FILE
ALVARADO ALVARADO, WANDA         ADDRESS ON FILE
Alvarado Alvarado, Wanda L.      ADDRESS ON FILE
ALVARADO ALVARADO, WILLIAM       ADDRESS ON FILE
ALVARADO ALVIRA, MARICARMEN      ADDRESS ON FILE
ALVARADO ANAYA, LUIS             ADDRESS ON FILE




                                                                             Page 288 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 289 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO APONTE, ADA V            ADDRESS ON FILE
ALVARADO APONTE, AMBAR            ADDRESS ON FILE
ALVARADO APONTE, CARMEN D.        ADDRESS ON FILE
ALVARADO APONTE, HECTOR           ADDRESS ON FILE
ALVARADO APONTE, LESLIE           ADDRESS ON FILE
ALVARADO APONTE, LUIS             ADDRESS ON FILE
ALVARADO APONTE, MARCOS           ADDRESS ON FILE
ALVARADO APONTE, MARIA            ADDRESS ON FILE
ALVARADO APONTE, MARIA DE LOS A   ADDRESS ON FILE
ALVARADO APONTE, YISEL E.         ADDRESS ON FILE
ALVARADO ARRIAGA, RICARDO         ADDRESS ON FILE
ALVARADO ARRIETA, MARIA T         ADDRESS ON FILE
ALVARADO ARROYO, CARLOS           ADDRESS ON FILE
ALVARADO ARROYO, IVETTE Y         ADDRESS ON FILE
ALVARADO ARROYO, IVONNE           ADDRESS ON FILE
ALVARADO ARROYO, JESUS B          ADDRESS ON FILE
ALVARADO ARZOLA, CARLOS A         ADDRESS ON FILE
ALVARADO ARZOLA, NELIDA           ADDRESS ON FILE
ALVARADO ASTACIO, ANA H.          ADDRESS ON FILE
ALVARADO AVILES, ALBERTO          ADDRESS ON FILE
ALVARADO AVILES, CARMEN D         ADDRESS ON FILE
Alvarado Aviles, Carmen I         ADDRESS ON FILE
ALVARADO AVILES, GLORIA           ADDRESS ON FILE
ALVARADO AVILES, LUIS             ADDRESS ON FILE
ALVARADO AVILES, NOEMI            ADDRESS ON FILE
ALVARADO AYALA, CARMEN            ADDRESS ON FILE
ALVARADO AYALA, JOSE              ADDRESS ON FILE
ALVARADO AYALA, VIVIANET          ADDRESS ON FILE
ALVARADO AYMAT, ERNESTO           ADDRESS ON FILE
ALVARADO BAERGA, JOSE M           ADDRESS ON FILE
Alvarado Baez, Alberto            ADDRESS ON FILE
ALVARADO BAEZ, CELIS G            ADDRESS ON FILE
ALVARADO BALASQUIDE, GUSTAVO      ADDRESS ON FILE
Alvarado Barbosa, Elizabeth       ADDRESS ON FILE
Alvarado Barbosa, Josue           ADDRESS ON FILE
ALVARADO BARRERO, JEISHA          ADDRESS ON FILE
Alvarado Barrios, Angel M         ADDRESS ON FILE
Alvarado Barrios, Angel M.        ADDRESS ON FILE
ALVARADO BARRIOS, JOSE M          ADDRESS ON FILE
ALVARADO BARRIOS, LILLIAM         ADDRESS ON FILE
ALVARADO BATISTA, MARIE           ADDRESS ON FILE
ALVARADO BAUZA, FRANCES DEL       ADDRESS ON FILE
ALVARADO BENITEZ, AUREA           ADDRESS ON FILE
ALVARADO BENITEZ, JENNIFER        ADDRESS ON FILE
ALVARADO BERMUDEZ, FELICITA E.    ADDRESS ON FILE
ALVARADO BERMUDEZ, JOSE           ADDRESS ON FILE
ALVARADO BERMUDEZ, MARIA          ADDRESS ON FILE
Alvarado Bermudez, Osvaldo R      ADDRESS ON FILE
ALVARADO BERMUDEZ, WANDA E.       ADDRESS ON FILE
ALVARADO BERNAL, MARIANO          ADDRESS ON FILE
ALVARADO BERRIOS, ANGELICA        ADDRESS ON FILE
ALVARADO BERRIOS, DARILIS         ADDRESS ON FILE
ALVARADO BERRIOS, EVELYN          ADDRESS ON FILE
ALVARADO BERRIOS, MINERVA         ADDRESS ON FILE
ALVARADO BERRIOS, NYDIA           ADDRESS ON FILE
ALVARADO BERRIOS, PEDRO           ADDRESS ON FILE
ALVARADO BETANCOURT, JANICE       ADDRESS ON FILE
ALVARADO BETANCOURT, LOURDES I    ADDRESS ON FILE
ALVARADO BONES, ALEXIS            ADDRESS ON FILE
ALVARADO BONILLA, JUANA           ADDRESS ON FILE




                                                                              Page 289 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 290 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO BONILLA, RADAMES         ADDRESS ON FILE
ALVARADO BORRERO, JAVIER O        ADDRESS ON FILE
ALVARADO BORRERO, JORGE L         ADDRESS ON FILE
ALVARADO BOSCHETTI, GREGORY       ADDRESS ON FILE
ALVARADO BRIGANTTI, DORIS M       ADDRESS ON FILE
ALVARADO BROWN, BETSY             ADDRESS ON FILE
ALVARADO BUONOMO, DANIEL          ADDRESS ON FILE
ALVARADO BURGOS, CARLOS M         ADDRESS ON FILE
ALVARADO BURGOS, DALIANA M.       ADDRESS ON FILE
ALVARADO BURGOS, EDGARDO          ADDRESS ON FILE
ALVARADO BURGOS, ELIZABETH        ADDRESS ON FILE
ALVARADO BURGOS, GUSTAVO          ADDRESS ON FILE
ALVARADO BURGOS, HECTOR LUIS      ADDRESS ON FILE
ALVARADO BURGOS, JUAN             ADDRESS ON FILE
ALVARADO BURGOS, JUAN H.          ADDRESS ON FILE
ALVARADO BURGOS, JUAN H.          ADDRESS ON FILE
ALVARADO BURGOS, LYNNETTE         ADDRESS ON FILE
ALVARADO BURGOS, MADELIN          ADDRESS ON FILE
ALVARADO BURGOS, MADELIN M        ADDRESS ON FILE
ALVARADO BURGOS, ORLANDO          ADDRESS ON FILE
Alvarado Burgos, Roland           ADDRESS ON FILE
ALVARADO BURGOS, SERGIO G         ADDRESS ON FILE
ALVARADO CALDERON, JOSE           ADDRESS ON FILE
ALVARADO CALDERON, JOSE A         ADDRESS ON FILE
ALVARADO CALDERON, JOSE A         ADDRESS ON FILE
ALVARADO CALDERON, JUAN           ADDRESS ON FILE
ALVARADO CALIZ, DAPHNE            ADDRESS ON FILE
ALVARADO CANCEL, MARTA            ADDRESS ON FILE
ALVARADO CANDELARIO, LUIS         ADDRESS ON FILE
ALVARADO CANDELARIO, MIGUEL A.    ADDRESS ON FILE
ALVARADO CANDELARIO, RAUL         ADDRESS ON FILE
ALVARADO CANDELAS, JOSE J         ADDRESS ON FILE
ALVARADO CANDELAS, NOEMI          ADDRESS ON FILE
ALVARADO CAQUIAS, LUCAS           ADDRESS ON FILE
ALVARADO CARABALLO, YASMINE       ADDRESS ON FILE
ALVARADO CARBONELL, AIDA P        ADDRESS ON FILE
Alvarado Carbonell, Jose          ADDRESS ON FILE
Alvarado Carbonell, Jose R        ADDRESS ON FILE
ALVARADO CARBONELL, JUDITH        ADDRESS ON FILE
ALVARADO CARBONELL, LOURDES M     ADDRESS ON FILE
ALVARADO CARBONELL, SONIA         ADDRESS ON FILE
ALVARADO CARDONA, ANA T           ADDRESS ON FILE
Alvarado Cardona, Aymee           ADDRESS ON FILE
ALVARADO CARDONA, AYMEE           ADDRESS ON FILE
ALVARADO CARDONA, NELIDA          ADDRESS ON FILE
ALVARADO CARRASQUILLO MD, ELVIN   ADDRESS ON FILE
ALVARADO CARRASQUILLO, SYLMA      ADDRESS ON FILE
Alvarado Cartagena, Angel         ADDRESS ON FILE
ALVARADO CARTAGENA, CARLOS        ADDRESS ON FILE
Alvarado Cartagena, Felix L       ADDRESS ON FILE
Alvarado Cartagena, Rafael        ADDRESS ON FILE
Alvarado Casanova, Miguel         ADDRESS ON FILE
ALVARADO CASIANO, ELBA L          ADDRESS ON FILE
ALVARADO CASTRO, JORGE            ADDRESS ON FILE
ALVARADO CASTRO, MARIA M          ADDRESS ON FILE
ALVARADO CASTRO, NORBERTO         ADDRESS ON FILE
ALVARADO CASTRO, YESENIA          ADDRESS ON FILE
ALVARADO CEDENO, GELMARIE         ADDRESS ON FILE
ALVARADO CENTENO, AUREALIZ        ADDRESS ON FILE
ALVARADO CENTENO, CAROL           ADDRESS ON FILE




                                                                              Page 290 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 291 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO CENTENO, MIGUEL R.    ADDRESS ON FILE
Alvarado Centeno, Ronaldo M.   ADDRESS ON FILE
ALVARADO CINTRON, ALEXIS       ADDRESS ON FILE
ALVARADO CINTRON, JOSE         ADDRESS ON FILE
ALVARADO CINTRON, JOSE A       ADDRESS ON FILE
ALVARADO CINTRON, JOSE A       ADDRESS ON FILE
ALVARADO CINTRON, JOSE H.      ADDRESS ON FILE
Alvarado Cintron, Jose R.      ADDRESS ON FILE
ALVARADO CINTRON, MIGUEL       ADDRESS ON FILE
ALVARADO CLAUDIO, MARK A       ADDRESS ON FILE
ALVARADO COLLAZO, ANNETTE      ADDRESS ON FILE
Alvarado Collazo, Carlos F     ADDRESS ON FILE
ALVARADO COLLAZO, IDA          ADDRESS ON FILE
ALVARADO COLLAZO, IDA Y        ADDRESS ON FILE
ALVARADO COLLAZO, IRIA L       ADDRESS ON FILE
Alvarado Collazo, Jose A.      ADDRESS ON FILE
ALVARADO COLLAZO, MARIA D      ADDRESS ON FILE
ALVARADO COLLAZO, SONIA        ADDRESS ON FILE
ALVARADO COLLAZO, ZAIDA I      ADDRESS ON FILE
ALVARADO COLON, ALIENID        ADDRESS ON FILE
ALVARADO COLON, ANGEL A.       ADDRESS ON FILE
ALVARADO COLON, ANGELA L       ADDRESS ON FILE
ALVARADO COLON, AWILDA         ADDRESS ON FILE
Alvarado Colon, Candido W      ADDRESS ON FILE
ALVARADO COLON, CARLOS         ADDRESS ON FILE
Alvarado Colon, Carlos         ADDRESS ON FILE
ALVARADO COLON, CARLOS         ADDRESS ON FILE
ALVARADO COLON, CARLOS         ADDRESS ON FILE
Alvarado Colon, Carlos A       ADDRESS ON FILE
Alvarado Colon, Carlos M       ADDRESS ON FILE
ALVARADO COLON, CARMEN N       ADDRESS ON FILE
Alvarado Colon, Delbert S      ADDRESS ON FILE
ALVARADO COLON, ELDIN          ADDRESS ON FILE
ALVARADO COLON, EVELYN         ADDRESS ON FILE
ALVARADO COLON, FELIX          ADDRESS ON FILE
ALVARADO COLON, GLORIA         ADDRESS ON FILE
ALVARADO COLON, GLORIA I       ADDRESS ON FILE
ALVARADO COLON, GRISELL        ADDRESS ON FILE
ALVARADO COLON, HECTOR         ADDRESS ON FILE
Alvarado Colon, Hector R       ADDRESS ON FILE
ALVARADO COLON, IRAIDA         ADDRESS ON FILE
ALVARADO COLON, JESUS          ADDRESS ON FILE
ALVARADO COLON, JESUS          ADDRESS ON FILE
ALVARADO COLON, JESUS M        ADDRESS ON FILE
ALVARADO COLON, JOSE O.        ADDRESS ON FILE
ALVARADO COLON, JOSEPHINE      ADDRESS ON FILE
ALVARADO COLON, KATHERINE      ADDRESS ON FILE
ALVARADO COLON, LIZETTE        ADDRESS ON FILE
ALVARADO COLON, LYDIA          ADDRESS ON FILE
ALVARADO COLON, LYDIA A        ADDRESS ON FILE
ALVARADO COLON, MANUELA        ADDRESS ON FILE
ALVARADO COLON, MARIA L        ADDRESS ON FILE
ALVARADO COLON, MARIA V.       ADDRESS ON FILE
ALVARADO COLON, MARIBEL        ADDRESS ON FILE
ALVARADO COLON, MARIE          ADDRESS ON FILE
ALVARADO COLON, MELVIN         ADDRESS ON FILE
ALVARADO COLON, MELVIN         ADDRESS ON FILE
Alvarado Colon, Melvin J       ADDRESS ON FILE
ALVARADO COLON, MICHELLE M     ADDRESS ON FILE
ALVARADO COLON, MYRNA E        ADDRESS ON FILE




                                                                           Page 291 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 292 of 3500
                                                                                    Creditor Matrix

Creditor Name                  Address1                  Address2                                Address3   Address4   City       State   PostalCode   Country
ALVARADO COLON, NELSON         ADDRESS ON FILE
ALVARADO COLON, NORMA          ADDRESS ON FILE
ALVARADO COLON, NORMA          ADDRESS ON FILE
ALVARADO COLON, REY F          ADDRESS ON FILE
ALVARADO COLON, ROSA N.        ADDRESS ON FILE
ALVARADO COLON, ROSA N.        POR DERECHO PROPIO        EXT. JARDINES DE ARROYO                 EE‐19                 ARROYO     PR      00714
ALVARADO COLON, TOMAS          ADDRESS ON FILE
ALVARADO COLON, VICTOR         ADDRESS ON FILE
ALVARADO CONCEPCION, JOSE A    ADDRESS ON FILE
ALVARADO CONSTRUCTION INC      PO BOX 334600                                                                           PONCE      PR      00733
ALVARADO CORALES, YOLANDA      ADDRESS ON FILE
ALVARADO CORALES, YOLANDA      ADDRESS ON FILE
ALVARADO CORDERO, LILIANA      ADDRESS ON FILE
ALVARADO CORDERO, LIZETTE      ADDRESS ON FILE
ALVARADO CORDERO, MARIELA      ADDRESS ON FILE
ALVARADO CORDERO, RAMON L      ADDRESS ON FILE
ALVARADO CORDERO, XENIA L      ADDRESS ON FILE
ALVARADO CORREA, ANGELINA      ADDRESS ON FILE
ALVARADO CORREA, MIRIAM        ADDRESS ON FILE
ALVARADO CORTES, KEDWIN        ADDRESS ON FILE
ALVARADO CORTES, ZENAIDA       ADDRESS ON FILE
ALVARADO COSME, CARMEN M       ADDRESS ON FILE
ALVARADO COSME, EDUARDO        ADDRESS ON FILE
ALVARADO COSME, FRANKIE        ADDRESS ON FILE
ALVARADO COSME, LUIS           ADDRESS ON FILE
ALVARADO COSME, LUIS           ADDRESS ON FILE
ALVARADO COTTO, BERNICE        ADDRESS ON FILE
ALVARADO COTTO, ISABEL         ADDRESS ON FILE
ALVARADO CRUZ, ALEXANDER       ADDRESS ON FILE
ALVARADO CRUZ, ALEXANDER       ADDRESS ON FILE
ALVARADO CRUZ, ALGENIS         ADDRESS ON FILE
ALVARADO CRUZ, AXEL J.         ADDRESS ON FILE
ALVARADO CRUZ, CAROLIN         ADDRESS ON FILE
ALVARADO CRUZ, GERALDINE       ADDRESS ON FILE
ALVARADO CRUZ, GERALDINE M.    ADDRESS ON FILE
ALVARADO CRUZ, JACKELINE       ADDRESS ON FILE
ALVARADO CRUZ, JESUS           ADDRESS ON FILE
ALVARADO CRUZ, JORGE           ADDRESS ON FILE
ALVARADO CRUZ, JUAN            ADDRESS ON FILE
ALVARADO CRUZ, JUAN M          ADDRESS ON FILE
ALVARADO CRUZ, LUIS A.         ADDRESS ON FILE
ALVARADO CRUZ, MILDRED         ADDRESS ON FILE
ALVARADO CRUZ, REINALDO J      ADDRESS ON FILE
ALVARADO CRUZ, ROBERTO         ADDRESS ON FILE
ALVARADO CRUZ, ROLANDO         ADDRESS ON FILE
ALVARADO CRUZ, WALDEMAR        ADDRESS ON FILE
ALVARADO CRUZ, ZULMA           ADDRESS ON FILE
ALVARADO DALECCIO, JUDITH      ADDRESS ON FILE
ALVARADO DALECCIO, MARTA I     ADDRESS ON FILE
ALVARADO DAVID, EDWIN          ADDRESS ON FILE
Alvarado Davila, Charles       ADDRESS ON FILE
ALVARADO DAVILA, LIZETTE M     ADDRESS ON FILE
ALVARADO DE GRACIA, LENABEL    ADDRESS ON FILE
ALVARADO DE GRACIA, VINNIE     ADDRESS ON FILE
ALVARADO DE JESUS, CARMEN L    ADDRESS ON FILE
ALVARADO DE JESUS, CARMEN L.   ADDRESS ON FILE
ALVARADO DE JESUS, DAISY       ADDRESS ON FILE
ALVARADO DE JESUS, IRMA R      ADDRESS ON FILE
ALVARADO DE JESUS, JORGE L.    ADDRESS ON FILE
ALVARADO DE JESUS, JOSE        ADDRESS ON FILE




                                                                                   Page 292 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 293 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO DE JESUS, MAGALY       ADDRESS ON FILE
ALVARADO DE JESUS, MIRTA        ADDRESS ON FILE
ALVARADO DE JESUS, ORLANDO      ADDRESS ON FILE
ALVARADO DE JESUS, RAUL         ADDRESS ON FILE
ALVARADO DE JESUS, SAMUEL       ADDRESS ON FILE
ALVARADO DE JESUS, SANTOS I     ADDRESS ON FILE
ALVARADO DE JESUS, WILLIAM      ADDRESS ON FILE
ALVARADO DE LA CRUZ, GENARA     ADDRESS ON FILE
Alvarado Declet, Carmen J.      ADDRESS ON FILE
ALVARADO DECLET, MARGARITA      ADDRESS ON FILE
ALVARADO DECLET, MARIA M        ADDRESS ON FILE
ALVARADO DECLET, MARTA M        ADDRESS ON FILE
ALVARADO DEJESUS, MAGALY        ADDRESS ON FILE
ALVARADO DEL VALLE, CARMEN E    ADDRESS ON FILE
ALVARADO DELGADO, DONNA         ADDRESS ON FILE
ALVARADO DELGADO, JUSTINA       ADDRESS ON FILE
ALVARADO DELGADO, OBDULIO       ADDRESS ON FILE
ALVARADO DIAZ, ABRAHAM          ADDRESS ON FILE
ALVARADO DIAZ, ANA              ADDRESS ON FILE
Alvarado Diaz, Ana M            ADDRESS ON FILE
ALVARADO DIAZ, ANGEL            ADDRESS ON FILE
ALVARADO DIAZ, CARLOS A.        ADDRESS ON FILE
ALVARADO DIAZ, CARLOS M         ADDRESS ON FILE
ALVARADO DIAZ, DANIEL           ADDRESS ON FILE
Alvarado Diaz, Daniel           ADDRESS ON FILE
ALVARADO DIAZ, DAVID            ADDRESS ON FILE
ALVARADO DIAZ, EDUARD           ADDRESS ON FILE
ALVARADO DIAZ, ENEIDA           ADDRESS ON FILE
ALVARADO DIAZ, GINIE L          ADDRESS ON FILE
ALVARADO DIAZ, HERIBERTO        ADDRESS ON FILE
Alvarado Diaz, Hilcias          ADDRESS ON FILE
ALVARADO DIAZ, JAVIER           ADDRESS ON FILE
ALVARADO DIAZ, LUIS G           ADDRESS ON FILE
ALVARADO DIAZ, MARIA M          ADDRESS ON FILE
ALVARADO DIAZ, MIGDALIA         ADDRESS ON FILE
ALVARADO DIAZ, MILVA L          ADDRESS ON FILE
ALVARADO DIAZ, RAFAEL           ADDRESS ON FILE
ALVARADO DIAZ, SABICH E         ADDRESS ON FILE
ALVARADO DIAZ, STEPHANIE        ADDRESS ON FILE
Alvarado Diaz, Stephanie M      ADDRESS ON FILE
ALVARADO DOMENECH, SONIA        ADDRESS ON FILE
ALVARADO DOMINICCI, LIZBETH     ADDRESS ON FILE
ALVARADO ECHEVARRIA, JESUS      ADDRESS ON FILE
ALVARADO EDUARDO, L             ADDRESS ON FILE
ALVARADO ESCALANTE, CARLOS      ADDRESS ON FILE
ALVARADO ESCOBALES, HECTOR      ADDRESS ON FILE
ALVARADO ESPADA, ELI A.         ADDRESS ON FILE
ALVARADO ESPADA, VICTOR         ADDRESS ON FILE
ALVARADO ESTRADA, ARLENE        ADDRESS ON FILE
Alvarado Febres, Joel           ADDRESS ON FILE
ALVARADO FEBRES, JOEL           ADDRESS ON FILE
Alvarado Febres, Manuel         ADDRESS ON FILE
ALVARADO FEBUS, ANTONIO         ADDRESS ON FILE
ALVARADO FELIBERTY, CARLOS J.   ADDRESS ON FILE
ALVARADO FELIBERTY, LYZZETTE    ADDRESS ON FILE
ALVARADO FELICIANO, ALVIN J     ADDRESS ON FILE
ALVARADO FELICIANO, JULIO       ADDRESS ON FILE
ALVARADO FELICIANO, NORMA       ADDRESS ON FILE
ALVARADO FELICIANO, RAQUEL      ADDRESS ON FILE
ALVARADO FELICIANO, WALTER A    ADDRESS ON FILE




                                                                            Page 293 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 294 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Alvarado Fernandez, Alex M.      ADDRESS ON FILE
ALVARADO FERNANDEZ, CARMEN M     ADDRESS ON FILE
ALVARADO FERNANDEZ, JOSE A       ADDRESS ON FILE
ALVARADO FERNANDEZ, JOSELY       ADDRESS ON FILE
ALVARADO FERNANDEZ, MARTA M.     ADDRESS ON FILE
ALVARADO FERREIRA, FRANCISCO     ADDRESS ON FILE
ALVARADO FERRER, ISBEL M.        ADDRESS ON FILE
ALVARADO FERRER, JOSSIE          ADDRESS ON FILE
ALVARADO FERRER, JOSSIE          ADDRESS ON FILE
ALVARADO FERRER, PEDRO E         ADDRESS ON FILE
ALVARADO FIGUERO, FRANCISCO      ADDRESS ON FILE
ALVARADO FIGUEROA, AIDA L        ADDRESS ON FILE
ALVARADO FIGUEROA, AWILDA        ADDRESS ON FILE
ALVARADO FIGUEROA, CARMEN D      ADDRESS ON FILE
ALVARADO FIGUEROA, DAWIN         ADDRESS ON FILE
ALVARADO FIGUEROA, ELENIA        ADDRESS ON FILE
ALVARADO FIGUEROA, HILDA         ADDRESS ON FILE
ALVARADO FIGUEROA, IRIS N        ADDRESS ON FILE
ALVARADO FIGUEROA, JAN           ADDRESS ON FILE
ALVARADO FIGUEROA, JAVIER        ADDRESS ON FILE
ALVARADO FIGUEROA, JAVIER        ADDRESS ON FILE
ALVARADO FIGUEROA, JOSE          ADDRESS ON FILE
Alvarado Figueroa, Jose O        ADDRESS ON FILE
ALVARADO FIGUEROA, LUIS          ADDRESS ON FILE
ALVARADO FIGUEROA, LUIS A.       ADDRESS ON FILE
ALVARADO FIGUEROA, LUZ N         ADDRESS ON FILE
ALVARADO FIGUEROA, MARIA I.      ADDRESS ON FILE
ALVARADO FIGUEROA, MELQUISEDEC   ADDRESS ON FILE
Alvarado Figueroa, Miguel A      ADDRESS ON FILE
ALVARADO FIGUEROA, MILAGROS      ADDRESS ON FILE
ALVARADO FIGUEROA, MINERVA       ADDRESS ON FILE
ALVARADO FIGUEROA, MORAIMA L     ADDRESS ON FILE
ALVARADO FIGUEROA, OLGA          ADDRESS ON FILE
ALVARADO FIGUEROA, ROSA M.       ADDRESS ON FILE
ALVARADO FIGUEROA, ROSALINA      ADDRESS ON FILE
ALVARADO FIGUEROA, SERVANDO      ADDRESS ON FILE
ALVARADO FIGUEROA, VIRGEN M      ADDRESS ON FILE
ALVARADO FIGUEROA, XENIA         ADDRESS ON FILE
ALVARADO FLORES, CARLOS          ADDRESS ON FILE
ALVARADO FLORES, FELIX E         ADDRESS ON FILE
ALVARADO FONTAN, ELBA            ADDRESS ON FILE
ALVARADO FONTANEZ, MARISOL       ADDRESS ON FILE
ALVARADO FONTANEZ, MARTHA I.     ADDRESS ON FILE
ALVARADO FUENTES, RICARDO A.     ADDRESS ON FILE
ALVARADO GALARZA, ANDRES         ADDRESS ON FILE
ALVARADO GARCIA, BEATRIZ         ADDRESS ON FILE
ALVARADO GARCIA, FERNANDO        ADDRESS ON FILE
ALVARADO GARCIA, IRIS D          ADDRESS ON FILE
ALVARADO GARCIA, JORGE A         ADDRESS ON FILE
ALVARADO GARCIA, JUAN M          ADDRESS ON FILE
ALVARADO GARCIA, KEILA R         ADDRESS ON FILE
Alvarado Garcia, Luis G          ADDRESS ON FILE
ALVARADO GARCIA, LUIS G.         ADDRESS ON FILE
ALVARADO GARCIA, MICHELLE        ADDRESS ON FILE
ALVARADO GAS INC                 PO BOX 868                                                                       FAJARDO      PR      00738
ALVARADO GOMEZ, LELIS            ADDRESS ON FILE
ALVARADO GONZALEZ, ANA M         ADDRESS ON FILE
ALVARADO GONZALEZ, ANGEL         ADDRESS ON FILE
ALVARADO GONZALEZ, BRENDA        ADDRESS ON FILE
ALVARADO GONZALEZ, CARLOS        ADDRESS ON FILE




                                                                             Page 294 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 295 of 3500
                                                                                             Creditor Matrix

Creditor Name                          Address1                         Address2                          Address3   Address4   City            State   PostalCode   Country
ALVARADO GONZALEZ, CHRISTIAN           ADDRESS ON FILE
ALVARADO GONZALEZ, DIANA DEL C.        ADDRESS ON FILE
Alvarado Gonzalez, Edwin E             ADDRESS ON FILE
ALVARADO GONZALEZ, EUNICE              ADDRESS ON FILE
ALVARADO GONZALEZ, GEORGE              ADDRESS ON FILE
ALVARADO GONZALEZ, GRETCHEN            ADDRESS ON FILE
ALVARADO GONZALEZ, JOSE                ADDRESS ON FILE
ALVARADO GONZALEZ, JOSE A              ADDRESS ON FILE
Alvarado Gonzalez, Jose H              ADDRESS ON FILE
ALVARADO GONZALEZ, JULIA               ADDRESS ON FILE
ALVARADO GONZALEZ, LEILA D             ADDRESS ON FILE
ALVARADO GONZALEZ, MARIANGELIE         ADDRESS ON FILE
ALVARADO GONZALEZ, MARILYN             ADDRESS ON FILE
ALVARADO GONZALEZ, NIVIA               ADDRESS ON FILE
ALVARADO GONZALEZ, OLGA I              ADDRESS ON FILE
ALVARADO GONZALEZ, RAMSES              ADDRESS ON FILE
ALVARADO GONZALEZ, REINALDO            ADDRESS ON FILE
ALVARADO GONZALEZ, SHEILA E            ADDRESS ON FILE
Alvarado Gonzalez, Wilfredo            ADDRESS ON FILE
ALVARADO GONZÁLEZ, WILFREDO            LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                              HORMIQUEROS     PR      00660‐0873
ALVARADO GONZÁLEZ, WILFREDO            LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                       PONCE           PR      00731
ALVARADO GORDILLO, JOSE                ADDRESS ON FILE
ALVARADO GRAU, EDGARDO                 ADDRESS ON FILE
ALVARADO GUADALUPE, VILMARIE           ADDRESS ON FILE
ALVARADO GUEVARA, CARMEN               ADDRESS ON FILE
ALVARADO GUEVARA, MARIA                ADDRESS ON FILE
ALVARADO GUILLOTY, RAFAEL              ADDRESS ON FILE
ALVARADO GUZMAN, ABIGAIL               ADDRESS ON FILE
ALVARADO GUZMAN, AMARILLYS             ADDRESS ON FILE
ALVARADO GUZMAN, ANDY                  ADDRESS ON FILE
ALVARADO GUZMAN, ENID E                ADDRESS ON FILE
ALVARADO GUZMAN, GLADYS M              ADDRESS ON FILE
ALVARADO GUZMAN, JERENIEL              ADDRESS ON FILE
ALVARADO GUZMAN, JOSE A.               ADDRESS ON FILE
ALVARADO GUZMAN, MIGUEL                ADDRESS ON FILE
ALVARADO GUZMAN, NOEMI                 ADDRESS ON FILE
ALVARADO GUZMAN, VICTOR A.             ADDRESS ON FILE
ALVARADO HENRIQUEZ, ANA                ADDRESS ON FILE
ALVARADO HENRIQUEZ, ANA                ADDRESS ON FILE
ALVARADO HENRIQUEZ, EVA                ADDRESS ON FILE
ALVARADO HENRIQUEZ, RAUL               ADDRESS ON FILE
ALVARADO HERNANDEZ AT LAW , PSC        PO BOX 36‐1299                                                                           SAN JUAN        PR      00936‐1299
ALVARADO HERNANDEZ ATTORNEY AT LAW PSC P O BOX 361299                                                                           SAN JUAN        PR      00936‐1299
ALVARADO HERNANDEZ, ANA                ADDRESS ON FILE
ALVARADO HERNANDEZ, ANA L.             ADDRESS ON FILE
ALVARADO HERNANDEZ, ANAYISEL           ADDRESS ON FILE
ALVARADO HERNANDEZ, ANNETTE            ADDRESS ON FILE
ALVARADO HERNANDEZ, ANNETTE            ADDRESS ON FILE
ALVARADO HERNANDEZ, BARBARA            ADDRESS ON FILE
ALVARADO HERNANDEZ, CARLOS             ADDRESS ON FILE
ALVARADO HERNANDEZ, EDUARDO            ADDRESS ON FILE
ALVARADO HERNANDEZ, EVELITTE           ADDRESS ON FILE
ALVARADO HERNANDEZ, JOSUE              ADDRESS ON FILE
ALVARADO HERNANDEZ, KEILA M            ADDRESS ON FILE
ALVARADO HERNANDEZ, LIMARIE            ADDRESS ON FILE
ALVARADO HERNANDEZ, MARILYN            ADDRESS ON FILE
ALVARADO HERNANDEZ, MAYRA              ADDRESS ON FILE
ALVARADO HERNANDEZ, RITA E             ADDRESS ON FILE
ALVARADO HERNANDEZ, SHEILA             ADDRESS ON FILE
ALVARADO HERNANDEZ, WILMARY            ADDRESS ON FILE




                                                                                            Page 295 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 296 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO HERNANDEZ, YADIRA       ADDRESS ON FILE
ALVARADO HOYOS, MARIA C.         ADDRESS ON FILE
ALVARADO HUERTAS, MARIANGELY     ADDRESS ON FILE
ALVARADO HUERTAS, MARIANGELY     ADDRESS ON FILE
ALVARADO IGLESIAS, JORGE L       ADDRESS ON FILE
ALVARADO IGLESIAS, MARGARITA R   ADDRESS ON FILE
ALVARADO IRIZARRY, BETHZAIDA     ADDRESS ON FILE
ALVARADO IRIZARRY, CARMEN        ADDRESS ON FILE
ALVARADO IRIZARRY, ELBA IRIS     ADDRESS ON FILE
ALVARADO JIMENEZ, FRANCISCO      ADDRESS ON FILE
ALVARADO JIMENEZ, JOHANNA        ADDRESS ON FILE
ALVARADO JIMENEZ, MAYRA          ADDRESS ON FILE
Alvarado Jimenez, Melvin         ADDRESS ON FILE
ALVARADO JIMENEZ, MIGUEL A       ADDRESS ON FILE
ALVARADO JURADO, CARMEN D        ADDRESS ON FILE
ALVARADO L LOPEZ VELEZ           ADDRESS ON FILE
ALVARADO LA TORRE, AIDA L        ADDRESS ON FILE
ALVARADO LABRADOR, ALEIDA        ADDRESS ON FILE
ALVARADO LABRADOR, ENID          ADDRESS ON FILE
ALVARADO LAGUNA, FRANCISCO       ADDRESS ON FILE
ALVARADO LAINES, MARIO A.        ADDRESS ON FILE
ALVARADO LEBRON, MICHELLE        ADDRESS ON FILE
ALVARADO LEON, JUDITH            ADDRESS ON FILE
ALVARADO LEON, RAMON A           ADDRESS ON FILE
ALVARADO LEON, ROBERTO           ADDRESS ON FILE
ALVARADO LISTAK, RICARDO F       ADDRESS ON FILE
ALVARADO LOPEZ MD, LUIS R        ADDRESS ON FILE
ALVARADO LOPEZ, ARIANA           ADDRESS ON FILE
Alvarado Lopez, Bienvenido       ADDRESS ON FILE
ALVARADO LOPEZ, DIANA            ADDRESS ON FILE
ALVARADO LOPEZ, EDGARDO          ADDRESS ON FILE
Alvarado Lopez, Edwin R          ADDRESS ON FILE
ALVARADO LOPEZ, ELENA            ADDRESS ON FILE
ALVARADO LOPEZ, ELVIN            ADDRESS ON FILE
ALVARADO LOPEZ, GERALD           ADDRESS ON FILE
ALVARADO LOPEZ, GERALD           ADDRESS ON FILE
ALVARADO LOPEZ, GLORIA D         ADDRESS ON FILE
ALVARADO LOPEZ, ILEANA           ADDRESS ON FILE
ALVARADO LOPEZ, JOEL             ADDRESS ON FILE
ALVARADO LOPEZ, JOSE C           ADDRESS ON FILE
ALVARADO LOPEZ, LESLIEBETH       ADDRESS ON FILE
ALVARADO LOPEZ, LISANDRA         ADDRESS ON FILE
ALVARADO LOPEZ, LYDIA            ADDRESS ON FILE
ALVARADO LOPEZ, LYDIA            ADDRESS ON FILE
ALVARADO LOPEZ, MARIAN           ADDRESS ON FILE
ALVARADO LOPEZ, MARTA            ADDRESS ON FILE
ALVARADO LOPEZ, MIGUEL           ADDRESS ON FILE
ALVARADO LOPEZ, NORMA E          ADDRESS ON FILE
ALVARADO LOPEZ, NORMA I          ADDRESS ON FILE
ALVARADO LOPEZ, OLGA M           ADDRESS ON FILE
ALVARADO LOPEZ, ROBERTO          ADDRESS ON FILE
ALVARADO LOPEZ, YAHAIRA          ADDRESS ON FILE
ALVARADO LOPEZ, YARITZA          ADDRESS ON FILE
ALVARADO LORENZO, ANTONIO        ADDRESS ON FILE
ALVARADO LORENZO, ROSAURA        ADDRESS ON FILE
ALVARADO LORENZO, ROSAURA        ADDRESS ON FILE
ALVARADO LUCIANO, ANA A          ADDRESS ON FILE
ALVARADO LUCIANO, RADAMES        ADDRESS ON FILE
ALVARADO LUGO, EGOTT R.          ADDRESS ON FILE
ALVARADO LUGO, EMMANUEL          ADDRESS ON FILE




                                                                             Page 296 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 297 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO LUGO, JOSE D            ADDRESS ON FILE
ALVARADO LUNA, CARMEN D          ADDRESS ON FILE
ALVARADO LUNA, DORYS ANN         ADDRESS ON FILE
ALVARADO LUNA, KARELEE           ADDRESS ON FILE
ALVARADO LUNA, SOLANGE           ADDRESS ON FILE
ALVARADO LUNA, SONIA R.          ADDRESS ON FILE
ALVARADO LUNA, XIOMARA           ADDRESS ON FILE
ALVARADO LUQUIS, KEYLA           ADDRESS ON FILE
ALVARADO MALAVE, ANGEL           ADDRESS ON FILE
ALVARADO MALAVE, JAVIER          ADDRESS ON FILE
ALVARADO MALDONADO, ADRIANA P    ADDRESS ON FILE
ALVARADO MALDONADO, ELSA N       ADDRESS ON FILE
ALVARADO MALDONADO, ENRIQUE      ADDRESS ON FILE
ALVARADO MALDONADO, ISELMARIE    ADDRESS ON FILE
ALVARADO MALDONADO, ISELMARIE    ADDRESS ON FILE
Alvarado Maldonado, Juan R       ADDRESS ON FILE
ALVARADO MALDONADO, JUANITA      ADDRESS ON FILE
ALVARADO MALDONADO, JUANITA      ADDRESS ON FILE
ALVARADO MALDONADO, MARIA        ADDRESS ON FILE
ALVARADO MALDONADO, MAYRA        ADDRESS ON FILE
ALVARADO MALDONADO, MIRIAM C     ADDRESS ON FILE
ALVARADO MALDONADO, SAUL         ADDRESS ON FILE
Alvarado Maldonado, Victor       ADDRESS ON FILE
ALVARADO MALDONADO, YAZAMIAK     ADDRESS ON FILE
ALVARADO MARIN, IVIS             ADDRESS ON FILE
ALVARADO MARIN, MARIA LUZ        ADDRESS ON FILE
ALVARADO MARQUEZ, ISELA          ADDRESS ON FILE
ALVARADO MARQUEZ, JORGE          ADDRESS ON FILE
ALVARADO MARRERO, ANA            ADDRESS ON FILE
ALVARADO MARRERO, ANA I          ADDRESS ON FILE
ALVARADO MARRERO, CLARIBEL       ADDRESS ON FILE
ALVARADO MARRERO, ESTEFANIA      ADDRESS ON FILE
ALVARADO MARRERO, FELICITA       ADDRESS ON FILE
ALVARADO MARRERO, IRIS E         ADDRESS ON FILE
Alvarado Marrero, Julio E        ADDRESS ON FILE
Alvarado Marrero, Maria M        ADDRESS ON FILE
ALVARADO MARRERO, WILBERTO       ADDRESS ON FILE
ALVARADO MARTIN, IVELISSE        ADDRESS ON FILE
Alvarado Martin, Ralph           ADDRESS ON FILE
ALVARADO MARTINEZ, ADA R         ADDRESS ON FILE
ALVARADO MARTINEZ, AIMEE         ADDRESS ON FILE
Alvarado Martinez, Alex R        ADDRESS ON FILE
ALVARADO MARTINEZ, CARLOS        ADDRESS ON FILE
ALVARADO MARTINEZ, CARLOS        ADDRESS ON FILE
ALVARADO MARTINEZ, CARMEN L      ADDRESS ON FILE
Alvarado Martinez, Edgardo       ADDRESS ON FILE
ALVARADO MARTINEZ, ELSIE         ADDRESS ON FILE
ALVARADO MARTINEZ, EUNICE        ADDRESS ON FILE
ALVARADO MARTINEZ, JAVIER        ADDRESS ON FILE
ALVARADO MARTINEZ, JOSE          ADDRESS ON FILE
ALVARADO MARTINEZ, LUIS          ADDRESS ON FILE
ALVARADO MARTINEZ, MARIA         ADDRESS ON FILE
ALVARADO MARTINEZ, MARIA D       ADDRESS ON FILE
Alvarado Martinez, Miguel A      ADDRESS ON FILE
ALVARADO MARTINEZ, MODESTO L     ADDRESS ON FILE
ALVARADO MARTINEZ, NORMA         ADDRESS ON FILE
ALVARADO MARTINEZ, ROBERTO       ADDRESS ON FILE
ALVARADO MARTINEZ, VIRGEN        ADDRESS ON FILE
ALVARADO MATEO, CAMILLE HAYDEE   ADDRESS ON FILE
ALVARADO MATEO, CARMEN M         ADDRESS ON FILE




                                                                             Page 297 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 298 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO MATEO, EDNA I          ADDRESS ON FILE
ALVARADO MATEO, FRANCISCO       ADDRESS ON FILE
ALVARADO MATEO, JUAN C          ADDRESS ON FILE
ALVARADO MATIAS, GINA           ADDRESS ON FILE
ALVARADO MATOS, BETHSAIDA       ADDRESS ON FILE
ALVARADO MATOS, HORACIO         ADDRESS ON FILE
ALVARADO MATOS, JOSE L.         ADDRESS ON FILE
ALVARADO MATOS, LELIS           ADDRESS ON FILE
ALVARADO MATOS, YAJAIRA         ADDRESS ON FILE
ALVARADO MAYSONET, ANGEL        ADDRESS ON FILE
ALVARADO MEDINA, AURELIS A      ADDRESS ON FILE
ALVARADO MEDINA, FREDESWINDA    ADDRESS ON FILE
ALVARADO MEDINA, SYBARIS A      ADDRESS ON FILE
ALVARADO MELENDEZ, ALEJANDRO    ADDRESS ON FILE
ALVARADO MELENDEZ, AXEL         ADDRESS ON FILE
ALVARADO MELENDEZ, AXEL         ADDRESS ON FILE
ALVARADO MELENDEZ, CARMEN M     ADDRESS ON FILE
ALVARADO MELENDEZ, CRISTIAN     ADDRESS ON FILE
ALVARADO MELENDEZ, IZAIDA       ADDRESS ON FILE
ALVARADO MELENDEZ, JEILIMARI    ADDRESS ON FILE
ALVARADO MELENDEZ, JIMMY        ADDRESS ON FILE
ALVARADO MELENDEZ, JUAN C.      ADDRESS ON FILE
ALVARADO MELENDEZ, LIZ          ADDRESS ON FILE
ALVARADO MENDEZ, ELIZABETH      ADDRESS ON FILE
ALVARADO MENDEZ, INGRID         ADDRESS ON FILE
ALVARADO MENDEZ, MIRIAM         ADDRESS ON FILE
ALVARADO MENENDEZ, JOSE         ADDRESS ON FILE
ALVARADO MERCADO, CAROL         ADDRESS ON FILE
ALVARADO MERCADO, DEILYN        ADDRESS ON FILE
ALVARADO MERCADO, JASON         ADDRESS ON FILE
ALVARADO MERCADO, JOSE C        ADDRESS ON FILE
ALVARADO MERCADO, LIZAMARY      ADDRESS ON FILE
ALVARADO MERCADO, LIZANIA       ADDRESS ON FILE
ALVARADO MERCADO, MONSERRATE    ADDRESS ON FILE
ALVARADO MERCADO, MYRIAM        ADDRESS ON FILE
ALVARADO MERCED, BETTY          ADDRESS ON FILE
ALVARADO MERCED, RAFAEL         ADDRESS ON FILE
ALVARADO MERCED, VIRGEN M       ADDRESS ON FILE
ALVARADO MERLO, JULIO           ADDRESS ON FILE
ALVARADO MERLO, JULIO           ADDRESS ON FILE
ALVARADO MERLO, LUIS A          ADDRESS ON FILE
ALVARADO MIRANDA, CARMEN        ADDRESS ON FILE
ALVARADO MIRANDA, HECTOR        ADDRESS ON FILE
ALVARADO MIRANDA, LINDA L       ADDRESS ON FILE
ALVARADO MIRANDA, OSVALDO       ADDRESS ON FILE
ALVARADO MISKOWSKI, PAULA ANN   ADDRESS ON FILE
ALVARADO MISKOWSKY, ANNA M      ADDRESS ON FILE
ALVARADO MISKOWSKY, TILSA       ADDRESS ON FILE
ALVARADO MOLINA, GERARDO A.     ADDRESS ON FILE
ALVARADO MOLINA, MARIE T.       ADDRESS ON FILE
ALVARADO MOLINA, MICHAEL        ADDRESS ON FILE
Alvarado Molina, Omayra         ADDRESS ON FILE
ALVARADO MOLINA, OMAYRA         ADDRESS ON FILE
ALVARADO MOLINA, RAMON          ADDRESS ON FILE
ALVARADO MONTALVO, DELMA E      ADDRESS ON FILE
ALVARADO MONTALVO, ERIX A       ADDRESS ON FILE
ALVARADO MONTALVO, MIGDALIA     ADDRESS ON FILE
ALVARADO MONTALVO, NINNETTE     ADDRESS ON FILE
Alvarado Montes, Carlos R       ADDRESS ON FILE
ALVARADO MONTES, LUIS           ADDRESS ON FILE




                                                                            Page 298 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 299 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO MONTES, MYRNA           ADDRESS ON FILE
ALVARADO MORALES, ANA M          ADDRESS ON FILE
ALVARADO MORALES, CARMEN S.      ADDRESS ON FILE
ALVARADO MORALES, DELIA          ADDRESS ON FILE
Alvarado Morales, Elizabeth      ADDRESS ON FILE
ALVARADO MORALES, ENRIQUE        ADDRESS ON FILE
ALVARADO MORALES, FRANCISCO E.   ADDRESS ON FILE
ALVARADO MORALES, JORLYS         ADDRESS ON FILE
ALVARADO MORALES, JOSEFIN        ADDRESS ON FILE
Alvarado Morales, Juan           ADDRESS ON FILE
ALVARADO MORALES, LIZMARY        ADDRESS ON FILE
ALVARADO MORALES, MYRNA E.       ADDRESS ON FILE
ALVARADO MORALES, NIDZA          ADDRESS ON FILE
ALVARADO MORALES, TANIA I        ADDRESS ON FILE
ALVARADO MUNOZ, HILCIAS          ADDRESS ON FILE
ALVARADO MUNOZ, MISAEL A         ADDRESS ON FILE
ALVARADO NARVAEZ, MARYCRUZ       ADDRESS ON FILE
ALVARADO NATAL, ALEXANDER        ADDRESS ON FILE
ALVARADO NATAL, ASTRID           ADDRESS ON FILE
ALVARADO NATAL, JESUS A          ADDRESS ON FILE
ALVARADO NATAL, LUIS M           ADDRESS ON FILE
ALVARADO NAVARRO, RINA DEL       ADDRESS ON FILE
ALVARADO NAVARRO, RINA DEL MAR   ADDRESS ON FILE
ALVARADO NAZARIO, EDWIN          ADDRESS ON FILE
ALVARADO NAZARIO, MILAGROS       ADDRESS ON FILE
ALVARADO NEGRON, ALGEO           ADDRESS ON FILE
ALVARADO NEGRON, CARLOS          ADDRESS ON FILE
Alvarado Negron, Carmen M        ADDRESS ON FILE
ALVARADO NEGRON, EVELYN          ADDRESS ON FILE
ALVARADO NEGRON, ISMARY          ADDRESS ON FILE
ALVARADO NEGRON, JAVIER          ADDRESS ON FILE
ALVARADO NEGRON, JULIO           ADDRESS ON FILE
ALVARADO NEGRON, LUIS            ADDRESS ON FILE
Alvarado Negron, Luis E          ADDRESS ON FILE
ALVARADO NEGRON, MANUEL          ADDRESS ON FILE
ALVARADO NEGRON, MANUEL A.       ADDRESS ON FILE
ALVARADO NEGRON, MARIA D         ADDRESS ON FILE
ALVARADO NEGRON, MARIA M         ADDRESS ON FILE
ALVARADO NIEVES, ANA MARIA       ADDRESS ON FILE
Alvarado Nieves, Luis A          ADDRESS ON FILE
ALVARADO NIEVES, LUZ C           ADDRESS ON FILE
ALVARADO NIEVES, NORBERTO        ADDRESS ON FILE
ALVARADO NOA, ALBERTO            ADDRESS ON FILE
ALVARADO NOA, CARMEN             ADDRESS ON FILE
ALVARADO OCASIO, CARMEN M        ADDRESS ON FILE
ALVARADO OCASIO, ESTHER          ADDRESS ON FILE
ALVARADO OCASIO, ISRAEL          ADDRESS ON FILE
ALVARADO OCASIO, IVETTE          ADDRESS ON FILE
ALVARADO OCASIO, MARGARITA       ADDRESS ON FILE
ALVARADO OCASIO, STEVEN          ADDRESS ON FILE
ALVARADO OCASIO, VICTOR M        ADDRESS ON FILE
ALVARADO OLIVERAS, VIVIANA M     ADDRESS ON FILE
ALVARADO OLIVIERI, PEDRO         ADDRESS ON FILE
ALVARADO OQUENDO, JOSE M         ADDRESS ON FILE
ALVARADO ORTEGA, ORLANDO         ADDRESS ON FILE
ALVARADO ORTIZ, ANA D.           ADDRESS ON FILE
ALVARADO ORTIZ, ANDREA           ADDRESS ON FILE
ALVARADO ORTIZ, ANGEL G          ADDRESS ON FILE
Alvarado Ortiz, Angel G.         ADDRESS ON FILE
ALVARADO ORTIZ, ANGEL R          ADDRESS ON FILE




                                                                             Page 299 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 300 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO ORTIZ, ARMANDO          ADDRESS ON FILE
ALVARADO ORTIZ, ARMANDO          ADDRESS ON FILE
ALVARADO ORTIZ, CANDIDO          ADDRESS ON FILE
ALVARADO ORTIZ, CARMEN           ADDRESS ON FILE
ALVARADO ORTIZ, CARMEN D         ADDRESS ON FILE
ALVARADO ORTIZ, CARMEN E         ADDRESS ON FILE
ALVARADO ORTIZ, CLAUDIA          ADDRESS ON FILE
ALVARADO ORTIZ, DALMARIE         ADDRESS ON FILE
ALVARADO ORTIZ, ELSA D           ADDRESS ON FILE
ALVARADO ORTIZ, ERIC J           ADDRESS ON FILE
ALVARADO ORTIZ, FRANCISCO        ADDRESS ON FILE
ALVARADO ORTIZ, GIANA            ADDRESS ON FILE
ALVARADO ORTIZ, IRIS             ADDRESS ON FILE
ALVARADO ORTIZ, IVYS Z           ADDRESS ON FILE
ALVARADO ORTIZ, JAIME            ADDRESS ON FILE
ALVARADO ORTIZ, JOEL             ADDRESS ON FILE
ALVARADO ORTIZ, JOHNNY           ADDRESS ON FILE
ALVARADO ORTIZ, JOSE             ADDRESS ON FILE
Alvarado Ortiz, Jose F           ADDRESS ON FILE
ALVARADO ORTIZ, JOSMARA B        ADDRESS ON FILE
ALVARADO ORTIZ, JULIA H          ADDRESS ON FILE
ALVARADO ORTIZ, JULIO            ADDRESS ON FILE
ALVARADO ORTIZ, KERWIN           ADDRESS ON FILE
ALVARADO ORTIZ, LAURA M.         ADDRESS ON FILE
ALVARADO ORTIZ, LUIS             ADDRESS ON FILE
ALVARADO ORTIZ, LUIS A           ADDRESS ON FILE
ALVARADO ORTIZ, LUIS M           ADDRESS ON FILE
ALVARADO ORTIZ, LYDIA ESTHER     ADDRESS ON FILE
ALVARADO ORTIZ, MADELINE         ADDRESS ON FILE
ALVARADO ORTIZ, MARCUS           ADDRESS ON FILE
ALVARADO ORTIZ, MARGARITA        ADDRESS ON FILE
ALVARADO ORTIZ, MARIELA          ADDRESS ON FILE
Alvarado Ortiz, Marili           ADDRESS ON FILE
ALVARADO ORTIZ, MARILI           ADDRESS ON FILE
ALVARADO ORTIZ, MARITZA          ADDRESS ON FILE
Alvarado Ortiz, Maritza I        ADDRESS ON FILE
ALVARADO ORTIZ, MARLEEN I        ADDRESS ON FILE
ALVARADO ORTIZ, MARVIN           ADDRESS ON FILE
Alvarado Ortiz, Melvin A         ADDRESS ON FILE
ALVARADO ORTIZ, MIGUEL           ADDRESS ON FILE
ALVARADO ORTIZ, NELSOND          ADDRESS ON FILE
ALVARADO ORTIZ, NIRMA            ADDRESS ON FILE
ALVARADO ORTIZ, NORMA I          ADDRESS ON FILE
ALVARADO ORTIZ, OLGA I           ADDRESS ON FILE
ALVARADO ORTIZ, SHAIRA           ADDRESS ON FILE
ALVARADO ORTIZ, SHEILA           ADDRESS ON FILE
ALVARADO ORTIZ, SHEILA E.        ADDRESS ON FILE
ALVARADO ORTIZ, SYLVIA           ADDRESS ON FILE
ALVARADO ORTIZ, XAVIER           ADDRESS ON FILE
ALVARADO ORTIZ, XAVIER           ADDRESS ON FILE
ALVARADO OTERO, MICHAEL          ADDRESS ON FILE
ALVARADO OYOLA, RAYMOND          ADDRESS ON FILE
Alvarado Pabon, Richard          ADDRESS ON FILE
ALVARADO PACHECO, AMNERIS        ADDRESS ON FILE
ALVARADO PACHECO, MARIA DEL C.   ADDRESS ON FILE
ALVARADO PACHECO, MARIA DEL C.   ADDRESS ON FILE
ALVARADO PACHECO, VIVIAN         ADDRESS ON FILE
ALVARADO PACHECO, WILLIAM        ADDRESS ON FILE
ALVARADO PACHECO, ZENAIDA        ADDRESS ON FILE
ALVARADO PADILLA, BETTY L.       ADDRESS ON FILE




                                                                             Page 300 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 301 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO PADILLA, JACQUELINE   ADDRESS ON FILE
ALVARADO PADILLA, KELVIN       ADDRESS ON FILE
ALVARADO PADILLA, LUIS         ADDRESS ON FILE
Alvarado Padilla, Luis R.      ADDRESS ON FILE
ALVARADO PAGAN, ANGELA         ADDRESS ON FILE
ALVARADO PAGAN, BRENDA         ADDRESS ON FILE
ALVARADO PAGAN, EDWARD         ADDRESS ON FILE
ALVARADO PAGAN, GLENDA         ADDRESS ON FILE
ALVARADO PAGAN, GLORIA A       ADDRESS ON FILE
ALVARADO PAGAN, IRIS D         ADDRESS ON FILE
ALVARADO PAGAN, ISRAEL         ADDRESS ON FILE
ALVARADO PAGAN, JESSICAA.      ADDRESS ON FILE
ALVARADO PAGAN, JOSE           ADDRESS ON FILE
Alvarado Pagan, Maria Del C    ADDRESS ON FILE
ALVARADO PAGAN, MELVIN         ADDRESS ON FILE
Alvarado Pagan, Melvin A       ADDRESS ON FILE
ALVARADO PAGAN, NORVIN         ADDRESS ON FILE
ALVARADO PAGAN, PEDRO J        ADDRESS ON FILE
ALVARADO PAGAN, PEDRO J        ADDRESS ON FILE
ALVARADO PAGAN, RENE           ADDRESS ON FILE
ALVARADO PAGAN, SONYA M        ADDRESS ON FILE
ALVARADO PAZO, IRIS            ADDRESS ON FILE
ALVARADO PAZO, MARIVID         ADDRESS ON FILE
ALVARADO PAZO, VIDMARI         ADDRESS ON FILE
ALVARADO PEDRAZA, MARTIN       ADDRESS ON FILE
ALVARADO PENA, CAREN           ADDRESS ON FILE
ALVARADO PENA, CYNTHIA         ADDRESS ON FILE
ALVARADO PENA, LEILANY         ADDRESS ON FILE
ALVARADO PERDOMO, GLORIA       ADDRESS ON FILE
ALVARADO PERDOMO, LIZ S.       ADDRESS ON FILE
ALVARADO PERDOMO, MARIBEE      ADDRESS ON FILE
ALVARADO PEREZ, CARLOS         ADDRESS ON FILE
ALVARADO PEREZ, DIANA V        ADDRESS ON FILE
ALVARADO PEREZ, ERIKA          ADDRESS ON FILE
ALVARADO PEREZ, ESTEBAN        ADDRESS ON FILE
ALVARADO PEREZ, ESTEBAN        ADDRESS ON FILE
ALVARADO PEREZ, GRISEL         ADDRESS ON FILE
ALVARADO PEREZ, ISRAEL         ADDRESS ON FILE
ALVARADO PEREZ, JOSE           ADDRESS ON FILE
ALVARADO PEREZ, MARIA          ADDRESS ON FILE
ALVARADO PEREZ, MARTA M        ADDRESS ON FILE
Alvarado Perez, Ruben R.       ADDRESS ON FILE
ALVARADO PEREZ, WANDA I        ADDRESS ON FILE
ALVARADO PEREZ, YARITZA        ADDRESS ON FILE
ALVARADO PÉREZ, YARITZA        ADDRESS ON FILE
ALVARADO PIETRI, LAURA         ADDRESS ON FILE
ALVARADO PIZARRO, DALILA       ADDRESS ON FILE
Alvarado Pomales, Reinaldo     ADDRESS ON FILE
ALVARADO PRATTS, FLOR A        ADDRESS ON FILE
ALVARADO QUINONES, ALEX R.     ADDRESS ON FILE
ALVARADO QUINONES, ANA M       ADDRESS ON FILE
ALVARADO QUINONES, EDWIN       ADDRESS ON FILE
ALVARADO QUINONES, ENRIQUE     ADDRESS ON FILE
ALVARADO QUINONES, IVELISSE    ADDRESS ON FILE
Alvarado Quinones, Jose A.     ADDRESS ON FILE
ALVARADO QUIÑONES, NAIHOMY     HECTOR OLIVERAS DELGADO   PO BOX 9024098                                         SAN JUAN     PR      00902‐4098
ALVARADO QUIÑONES, NAIHOMY     JOSE C. PIZARRO           PO BOX 1466                                            TOA ALTO     PR      0977‐1466
ALVARADO QUINONEZ, GIAN C.     ADDRESS ON FILE
Alvarado Ramirez, Angel A      ADDRESS ON FILE
ALVARADO RAMIREZ, ANTONIO      ADDRESS ON FILE




                                                                           Page 301 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 302 of 3500
                                                                                    Creditor Matrix

Creditor Name                  Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
ALVARADO RAMIREZ, ANTONIO      ADDRESS ON FILE
ALVARADO RAMIREZ, EDUARDO      ADDRESS ON FILE
ALVARADO RAMIREZ, JUANITA      ADDRESS ON FILE
ALVARADO RAMIREZ, LEONIDES     ADDRESS ON FILE
ALVARADO RAMIREZ, MARIA E      ADDRESS ON FILE
ALVARADO RAMIREZ, WILLIAM      ADDRESS ON FILE
ALVARADO RAMOS, CARLOS         ADDRESS ON FILE
ALVARADO RAMOS, DIANA          ADDRESS ON FILE
ALVARADO RAMOS, EMMA           ADDRESS ON FILE
ALVARADO RAMOS, ENID           ADDRESS ON FILE
ALVARADO RAMOS, FRANCHESKA     ADDRESS ON FILE
ALVARADO RAMOS, JANICE J       ADDRESS ON FILE
ALVARADO RAMOS, JOSE           ADDRESS ON FILE
ALVARADO RAMOS, JOSELYN        ADDRESS ON FILE
ALVARADO RAMOS, KIHARA         ADDRESS ON FILE
ALVARADO RAMOS, MABEL          ADDRESS ON FILE
ALVARADO RAMOS, MAIRYM         ADDRESS ON FILE
ALVARADO RAMOS, MARIBELISSE    ADDRESS ON FILE
ALVARADO RAMOS, MILITZA        ADDRESS ON FILE
ALVARADO RAMOS, VIRGENMINA     ADDRESS ON FILE
ALVARADO RAMOS, VIVIAN         ADDRESS ON FILE
ALVARADO RAMOS, YOLANDA        ADDRESS ON FILE
ALVARADO RAMOS, YVETTE         ADDRESS ON FILE
ALVARADO RAMY, LILIANA         ADDRESS ON FILE
ALVARADO RENTAS, PEDRO         ADDRESS ON FILE
ALVARADO RESTO, JULIA          ADDRESS ON FILE
ALVARADO RESTO, JULIA          ADDRESS ON FILE
ALVARADO REYES, ELIZABETH      ADDRESS ON FILE
ALVARADO REYES, IVETTE         ADDRESS ON FILE
ALVARADO REYES, LUIS           ADDRESS ON FILE
Alvarado Reyes, Luis A         ADDRESS ON FILE
Alvarado Reyes, Varwin         ADDRESS ON FILE
ALVARADO REYES, ZULMA I.       ADDRESS ON FILE
ALVARADO RIOS, ANGEL           ADDRESS ON FILE
ALVARADO RIOS, MARTA IRIS      ADDRESS ON FILE
ALVARADO RIVERA, ABIGAIL       ADDRESS ON FILE
ALVARADO RIVERA, ADA C         ADDRESS ON FILE
Alvarado Rivera, Alberto       ADDRESS ON FILE
ALVARADO RIVERA, ALEJANDRO     ADDRESS ON FILE
ALVARADO RIVERA, ALEXIS        ADDRESS ON FILE
ALVARADO RIVERA, ANA L         ADDRESS ON FILE
ALVARADO RIVERA, ANDREA        ADDRESS ON FILE
ALVARADO RIVERA, ANGEL M       ADDRESS ON FILE
ALVARADO RIVERA, ANGELICA      ADDRESS ON FILE
ALVARADO RIVERA, ANGELM.       ADDRESS ON FILE
ALVARADO RIVERA, ANTONIO       ADDRESS ON FILE
ALVARADO RIVERA, AUREA         ADDRESS ON FILE
ALVARADO RIVERA, AXEL          FERNANDO SANTIAGO ORTIZ   MANSIONES DE SAN MARTIN                 SUITE 17              SAN JUAN     PR      00924‐4586
Alvarado Rivera, Axel A        ADDRESS ON FILE
ALVARADO RIVERA, CARLOS        ADDRESS ON FILE
ALVARADO RIVERA, CARLOS        ADDRESS ON FILE
ALVARADO RIVERA, CARLOS        ADDRESS ON FILE
ALVARADO RIVERA, CARMEN A      ADDRESS ON FILE
ALVARADO RIVERA, CARMEN A      ADDRESS ON FILE
ALVARADO RIVERA, CARMEN M      ADDRESS ON FILE
ALVARADO RIVERA, CARMEN M      ADDRESS ON FILE
ALVARADO RIVERA, CARMEN R      ADDRESS ON FILE
ALVARADO RIVERA, CHRISTINE I   ADDRESS ON FILE
Alvarado Rivera, Easterling    ADDRESS ON FILE
ALVARADO RIVERA, EDMARIE       ADDRESS ON FILE




                                                                                   Page 302 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 303 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO RIVERA, EDNA I        ADDRESS ON FILE
ALVARADO RIVERA, EDWARD        ADDRESS ON FILE
ALVARADO RIVERA, ELBA IRIS     ADDRESS ON FILE
ALVARADO RIVERA, ELBA M        ADDRESS ON FILE
ALVARADO RIVERA, ELBA N        ADDRESS ON FILE
ALVARADO RIVERA, ELIZABETH     ADDRESS ON FILE
ALVARADO RIVERA, ELIZABETH     ADDRESS ON FILE
ALVARADO RIVERA, EMILIO R      ADDRESS ON FILE
ALVARADO RIVERA, EMMA          ADDRESS ON FILE
ALVARADO RIVERA, EMMA          ADDRESS ON FILE
ALVARADO RIVERA, EMMANUEL A.   ADDRESS ON FILE
ALVARADO RIVERA, ENEIDA        ADDRESS ON FILE
ALVARADO RIVERA, EVELYN        ADDRESS ON FILE
ALVARADO RIVERA, FELIX         ADDRESS ON FILE
ALVARADO RIVERA, FELIX         ADDRESS ON FILE
ALVARADO RIVERA, FRANCISCO     ADDRESS ON FILE
ALVARADO RIVERA, HECTOR L      ADDRESS ON FILE
ALVARADO RIVERA, IRIS          ADDRESS ON FILE
ALVARADO RIVERA, JANNETTE      ADDRESS ON FILE
ALVARADO RIVERA, JESUS M       ADDRESS ON FILE
ALVARADO RIVERA, JOEL          ADDRESS ON FILE
ALVARADO RIVERA, JOEL          ADDRESS ON FILE
ALVARADO RIVERA, JORGE         ADDRESS ON FILE
ALVARADO RIVERA, JOSE          ADDRESS ON FILE
ALVARADO RIVERA, JOSE          ADDRESS ON FILE
ALVARADO RIVERA, JOSE          ADDRESS ON FILE
Alvarado Rivera, Jose A        ADDRESS ON FILE
ALVARADO RIVERA, JOSE A.       ADDRESS ON FILE
ALVARADO RIVERA, JOSE G        ADDRESS ON FILE
ALVARADO RIVERA, JOSE L        ADDRESS ON FILE
Alvarado Rivera, Jose O        ADDRESS ON FILE
ALVARADO RIVERA, JOSE RAFAEL   ADDRESS ON FILE
Alvarado Rivera, Josue         ADDRESS ON FILE
ALVARADO RIVERA, KENDRICK      ADDRESS ON FILE
ALVARADO RIVERA, LESBIA        ADDRESS ON FILE
ALVARADO RIVERA, LILLIAN       ADDRESS ON FILE
ALVARADO RIVERA, LUIS          ADDRESS ON FILE
ALVARADO RIVERA, LUIS M.       ADDRESS ON FILE
ALVARADO RIVERA, LYANN         ADDRESS ON FILE
ALVARADO RIVERA, LYANNE M      ADDRESS ON FILE
ALVARADO RIVERA, MARIA         ADDRESS ON FILE
ALVARADO RIVERA, MARIA E       ADDRESS ON FILE
ALVARADO RIVERA, MARIBEL       ADDRESS ON FILE
ALVARADO RIVERA, MARIBEL       ADDRESS ON FILE
ALVARADO RIVERA, MARILIA       ADDRESS ON FILE
Alvarado Rivera, Maritza       ADDRESS ON FILE
ALVARADO RIVERA, MARITZA       ADDRESS ON FILE
Alvarado Rivera, Migna         ADDRESS ON FILE
ALVARADO RIVERA, MIGUEL A.     ADDRESS ON FILE
ALVARADO RIVERA, MILAGROS      ADDRESS ON FILE
ALVARADO RIVERA, MIRTHA M      ADDRESS ON FILE
ALVARADO RIVERA, NELSON        ADDRESS ON FILE
ALVARADO RIVERA, NELSON        ADDRESS ON FILE
ALVARADO RIVERA, NELSON F      ADDRESS ON FILE
ALVARADO RIVERA, NIVIA         ADDRESS ON FILE
ALVARADO RIVERA, PATRIA        ADDRESS ON FILE
ALVARADO RIVERA, RAMON         ADDRESS ON FILE
ALVARADO RIVERA, RAMON         ADDRESS ON FILE
ALVARADO RIVERA, RAMON         ADDRESS ON FILE
ALVARADO RIVERA, RAMON         ADDRESS ON FILE




                                                                           Page 303 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 304 of 3500
                                                                                                          Creditor Matrix

Creditor Name                          Address1                           Address2                                     Address3              Address4            City         State   PostalCode   Country
ALVARADO RIVERA, REINALDO              ADDRESS ON FILE
ALVARADO RIVERA, SATURNINO             ADDRESS ON FILE
ALVARADO RIVERA, SHEILA M.             ADDRESS ON FILE
ALVARADO RIVERA, SHEYLLA M             ADDRESS ON FILE
ALVARADO RIVERA, SMYRNA R              ADDRESS ON FILE
ALVARADO RIVERA, SONIA                 ADDRESS ON FILE
ALVARADO RIVERA, SONIA                 ADDRESS ON FILE
ALVARADO RIVERA, SONIA M               ADDRESS ON FILE
ALVARADO RIVERA, VICTOR                ADDRESS ON FILE
ALVARADO RIVERA, VICTOR                ADDRESS ON FILE
ALVARADO RIVERA, WENDY L               ADDRESS ON FILE
ALVARADO RIVERA, XIOMARA               ADDRESS ON FILE
ALVARADO RIVERA, YARITZA E             ADDRESS ON FILE
ALVARADO RIVERA, YEIDA L.              ADDRESS ON FILE
ALVARADO RIVERA, ZORAIDA               ADDRESS ON FILE
ALVARADO ROBLES, CANDIDO               ADDRESS ON FILE
ALVARADO ROBLES, JUAN                  ADDRESS ON FILE
ALVARADO ROBLES, LUZ J                 ADDRESS ON FILE
ALVARADO ROCHE, ADA                    ADDRESS ON FILE
ALVARADO RODRI, ESPERANZA M            ADDRESS ON FILE
ALVARADO RODRIGUE, GLADYS M            ADDRESS ON FILE
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   HÉCTOR J. PÉREZ RIVERA             HÉCTOR J. PÉREZ RIVERA                       PO BOX 9024098                            SAN JUAN     PR      00902‐4098
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDA. CHARICELYS SANTIAGO          LCDA. CHARICELYS SANTIAGO                    PO BOX 331524                             PONCE        PR      00733‐1709
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDA. MARÍA RIVERA
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDO. A.J. BENNNAZAR ZEQUEIRA      LCDO. A.J. BENNNAZAR ZEQUEIRA                PO BOX 194000         STE. 212            SAN JUAN     PR      00919‐4000
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDO. EDDIE CUEVAS SILVAGNOLI      LCDO. EDDIE CUEVAS SILVAGNOLI                PO BOX 364267                             SAN JUAN     PR      00936‐4267
                                                                                                                                             2000 AVE. KENNEDY
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDO. JOSÉ L. CABIYA MORALES       LCDO. JOSÉ L. CABIYA MORALES                 EDIFICIO MAI CENTER   SUITE 212           SAN JUAN     PR      00920
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDO. JUAN OSCAR RODRÍGUEZ         LCDO. JUAN OSCAR RODRÍGUEZ LÓPEZ             4024 CALLE AURORA                         PONCE        PR      00717
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDO. JUAN OSCAR RODRÍGUEZ LÓPEZ   LCDO. JUAN OSCAR RODRÍGUEZ LÓPEZ             4024 CALLE AURORA                         PONCE        PR      00717
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   LCDO. RICARDO HATTON               278 Ave. César L. González                                                             San Juan     PR      00918
ALVARADO RODRÍGUEZ HERIBERTO Y OTROS   MUNICIPIO DE Ponce                 PO BOX 331709                                                                          PONCE        PR      00733‐1709
ALVARADO RODRIGUEZ, ADABEL             ADDRESS ON FILE
ALVARADO RODRIGUEZ, AIDA               ADDRESS ON FILE
Alvarado Rodriguez, Amparo             ADDRESS ON FILE
ALVARADO RODRIGUEZ, ANA                ADDRESS ON FILE
ALVARADO RODRIGUEZ, ANNE               ADDRESS ON FILE
Alvarado Rodriguez, Aracelys           ADDRESS ON FILE
ALVARADO RODRIGUEZ, ARCILIO            ADDRESS ON FILE
ALVARADO RODRIGUEZ, BETHZALIE          ADDRESS ON FILE
ALVARADO RODRIGUEZ, BRIAN              ADDRESS ON FILE
ALVARADO RODRIGUEZ, BRUNILDA           ADDRESS ON FILE
ALVARADO RODRIGUEZ, CARLOS             ADDRESS ON FILE
ALVARADO RODRIGUEZ, DAISY              ADDRESS ON FILE
ALVARADO RODRIGUEZ, DIANA              ADDRESS ON FILE
ALVARADO RODRIGUEZ, EDMA               ADDRESS ON FILE
ALVARADO RODRIGUEZ, EDNA J             ADDRESS ON FILE
ALVARADO RODRIGUEZ, EILEEN             ADDRESS ON FILE
ALVARADO RODRIGUEZ, ELBA               ADDRESS ON FILE
ALVARADO RODRIGUEZ, ELBA M             ADDRESS ON FILE
ALVARADO RODRIGUEZ, ELIZABETH          ADDRESS ON FILE
ALVARADO RODRIGUEZ, ELIZAIMA           ADDRESS ON FILE
ALVARADO RODRIGUEZ, ELIZAIMA           ADDRESS ON FILE
ALVARADO RODRIGUEZ, EVA N              ADDRESS ON FILE
ALVARADO RODRIGUEZ, FELIX              ADDRESS ON FILE
ALVARADO RODRIGUEZ, FERNANDO           ADDRESS ON FILE
Alvarado Rodriguez, Fernando L         ADDRESS ON FILE
ALVARADO RODRIGUEZ, INGRID             ADDRESS ON FILE
ALVARADO RODRIGUEZ, IRIS Y             ADDRESS ON FILE
ALVARADO RODRIGUEZ, ISMAEL             ADDRESS ON FILE




                                                                                                      Page 304 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 305 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO RODRIGUEZ, IVETTE           ADDRESS ON FILE
ALVARADO RODRIGUEZ, IVETTE           ADDRESS ON FILE
ALVARADO RODRIGUEZ, JESSIEL          ADDRESS ON FILE
ALVARADO RODRIGUEZ, JESUS            ADDRESS ON FILE
ALVARADO RODRIGUEZ, JORGE            ADDRESS ON FILE
ALVARADO RODRIGUEZ, JOSE A           ADDRESS ON FILE
ALVARADO RODRIGUEZ, JOSE A           ADDRESS ON FILE
Alvarado Rodriguez, Jose A.          ADDRESS ON FILE
ALVARADO RODRIGUEZ, JOSE F           ADDRESS ON FILE
ALVARADO RODRIGUEZ, JOSE F           ADDRESS ON FILE
ALVARADO RODRIGUEZ, JOSE L           ADDRESS ON FILE
ALVARADO RODRIGUEZ, JUAN             ADDRESS ON FILE
ALVARADO RODRIGUEZ, LESTER           ADDRESS ON FILE
ALVARADO RODRIGUEZ, LINA M           ADDRESS ON FILE
ALVARADO RODRIGUEZ, LINDA            ADDRESS ON FILE
ALVARADO RODRIGUEZ, LIVIA            ADDRESS ON FILE
Alvarado Rodriguez, Luis M           ADDRESS ON FILE
ALVARADO RODRIGUEZ, LYNETTE          ADDRESS ON FILE
ALVARADO RODRIGUEZ, MARIA            ADDRESS ON FILE
ALVARADO RODRIGUEZ, MARIA DEL C.     ADDRESS ON FILE
ALVARADO RODRIGUEZ, MARYNET          ADDRESS ON FILE
ALVARADO RODRIGUEZ, MELVIN           ADDRESS ON FILE
ALVARADO RODRIGUEZ, MINERVA          ADDRESS ON FILE
ALVARADO RODRIGUEZ, MIRIAM           ADDRESS ON FILE
ALVARADO RODRIGUEZ, NAYDA            ADDRESS ON FILE
ALVARADO RODRIGUEZ, NODIA            ADDRESS ON FILE
ALVARADO RODRIGUEZ, NOEL             ADDRESS ON FILE
ALVARADO RODRIGUEZ, NORMA            ADDRESS ON FILE
Alvarado Rodriguez, Orlando          ADDRESS ON FILE
ALVARADO RODRIGUEZ, PEDRO            ADDRESS ON FILE
ALVARADO RODRIGUEZ, RAUL             ADDRESS ON FILE
ALVARADO RODRIGUEZ, ROSALINA         ADDRESS ON FILE
ALVARADO RODRIGUEZ, RUBEN            ADDRESS ON FILE
ALVARADO RODRIGUEZ, SHELLY Z         ADDRESS ON FILE
ALVARADO RODRIGUEZ, WANDA            ADDRESS ON FILE
ALVARADO RODRIGUEZ, WANDA            ADDRESS ON FILE
ALVARADO RODRIGUEZ, WANDA A.         ADDRESS ON FILE
ALVARADO RODRIGUEZ, WILFREDO         ADDRESS ON FILE
ALVARADO RODRIGUEZ, WILLIAM          ADDRESS ON FILE
ALVARADO RODRIGUEZ, WILLIAM ALEXIS   ADDRESS ON FILE
ALVARADO RODRIGUEZ, YADIRA           ADDRESS ON FILE
ALVARADO RODRIGUEZ, YOLANDA          ADDRESS ON FILE
ALVARADO ROIG, MARIE                 ADDRESS ON FILE
Alvarado Roig, Marie F               ADDRESS ON FILE
ALVARADO ROJAS, NORBERTO             ADDRESS ON FILE
ALVARADO ROJAS, PABLO                ADDRESS ON FILE
ALVARADO ROJAS, YAZMIN               ADDRESS ON FILE
ALVARADO ROLON, ALYSSA               ADDRESS ON FILE
ALVARADO ROMAN, DIEGO                ADDRESS ON FILE
ALVARADO ROMAN, JOANN                ADDRESS ON FILE
ALVARADO ROMAN, JULIO M              ADDRESS ON FILE
ALVARADO ROMAN, LUIS A               ADDRESS ON FILE
ALVARADO ROMAN, NITZA M              ADDRESS ON FILE
ALVARADO ROMERO, JOSE L.             ADDRESS ON FILE
ALVARADO ROMERO, OLIVIA L            ADDRESS ON FILE
ALVARADO ROMERO, PEDRO               ADDRESS ON FILE
ALVARADO ROMERO, VILMA H             ADDRESS ON FILE
ALVARADO ROQUE, ANTONIO              ADDRESS ON FILE
Alvarado Rosa, Felix                 ADDRESS ON FILE
ALVARADO ROSADO, GABRIEL             ADDRESS ON FILE




                                                                                 Page 305 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 306 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO ROSADO, MELISSA       ADDRESS ON FILE
ALVARADO ROSARIO, JUSTINA      ADDRESS ON FILE
ALVARADO ROSARIO, MIGUELINA    ADDRESS ON FILE
Alvarado Rosario, Ramnie       ADDRESS ON FILE
ALVARADO ROSARIO, RIGOBERTO    ADDRESS ON FILE
ALVARADO ROSARIO, YAMIR        ADDRESS ON FILE
ALVARADO ROTGER, GUSTAVO       ADDRESS ON FILE
ALVARADO ROURA, MARIA E        ADDRESS ON FILE
ALVARADO ROURA, MARIA E        ADDRESS ON FILE
ALVARADO RQDRIGUEZ, LYNNETTE   ADDRESS ON FILE
Alvarado Ruiz, Carmelo         ADDRESS ON FILE
ALVARADO RUIZ, OMMY            ADDRESS ON FILE
ALVARADO RUIZ, SONIA           ADDRESS ON FILE
ALVARADO RUIZ, SONIA           ADDRESS ON FILE
ALVARADO SAEZ, AMALIA          ADDRESS ON FILE
ALVARADO SAEZ, AWILDA          ADDRESS ON FILE
ALVARADO SAEZ, MARIA DE L      ADDRESS ON FILE
ALVARADO SALDANA, FRANCISCO    ADDRESS ON FILE
ALVARADO SANCHEZ, ALEX         ADDRESS ON FILE
Alvarado Sanchez, Alex W       ADDRESS ON FILE
ALVARADO SANCHEZ, ALEX W.      ADDRESS ON FILE
ALVARADO SANCHEZ, EIDEL        ADDRESS ON FILE
ALVARADO SANCHEZ, ERIC         ADDRESS ON FILE
ALVARADO SANCHEZ, GLADYS E     ADDRESS ON FILE
ALVARADO SANCHEZ, JANNETTE     ADDRESS ON FILE
ALVARADO SANCHEZ, JORGE        ADDRESS ON FILE
ALVARADO SANCHEZ, JORGE L.     ADDRESS ON FILE
ALVARADO SANCHEZ, JOSE         ADDRESS ON FILE
ALVARADO SANCHEZ, JULIO        ADDRESS ON FILE
ALVARADO SANCHEZ, MARAH T.     ADDRESS ON FILE
ALVARADO SANCHEZ, MARIAN       ADDRESS ON FILE
ALVARADO SANCHEZ, MIGUEL A     ADDRESS ON FILE
ALVARADO SANCHEZ, ODALIS       ADDRESS ON FILE
ALVARADO SANCHEZ, ODALIS       ADDRESS ON FILE
ALVARADO SANTAELLA, YELKA N    ADDRESS ON FILE
ALVARADO SANTIAGO, AMARRELLI   ADDRESS ON FILE
ALVARADO SANTIAGO, ANA A       ADDRESS ON FILE
ALVARADO SANTIAGO, ARLEEN F.   ADDRESS ON FILE
ALVARADO SANTIAGO, AURELIA     ADDRESS ON FILE
ALVARADO SANTIAGO, AURELIA     ADDRESS ON FILE
ALVARADO SANTIAGO, AURICELY    ADDRESS ON FILE
ALVARADO SANTIAGO, CARLOS A    ADDRESS ON FILE
ALVARADO SANTIAGO, DIANA G     ADDRESS ON FILE
ALVARADO SANTIAGO, EDMOND      ADDRESS ON FILE
ALVARADO SANTIAGO, EILEEN      ADDRESS ON FILE
ALVARADO SANTIAGO, ERICK       ADDRESS ON FILE
ALVARADO SANTIAGO, FREDDIE     ADDRESS ON FILE
ALVARADO SANTIAGO, GEORGE      ADDRESS ON FILE
ALVARADO SANTIAGO, GILBERTO    ADDRESS ON FILE
ALVARADO SANTIAGO, HAROLD A.   ADDRESS ON FILE
ALVARADO SANTIAGO, JESUS       ADDRESS ON FILE
ALVARADO SANTIAGO, JOANY       ADDRESS ON FILE
ALVARADO SANTIAGO, JORGE       ADDRESS ON FILE
ALVARADO SANTIAGO, JOSE        ADDRESS ON FILE
ALVARADO SANTIAGO, JUAN        ADDRESS ON FILE
ALVARADO SANTIAGO, LETICIA     ADDRESS ON FILE
ALVARADO SANTIAGO, LILIBETH    ADDRESS ON FILE
ALVARADO SANTIAGO, LUISIANNE   ADDRESS ON FILE
ALVARADO SANTIAGO, LUZ         ADDRESS ON FILE
ALVARADO SANTIAGO, LUZ M.      ADDRESS ON FILE




                                                                           Page 306 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 307 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Alvarado Santiago, Margarita     ADDRESS ON FILE
ALVARADO SANTIAGO, MARIA DEL C   ADDRESS ON FILE
ALVARADO SANTIAGO, MARIA E       ADDRESS ON FILE
ALVARADO SANTIAGO, MARISOL       ADDRESS ON FILE
Alvarado Santiago, Maritza       ADDRESS ON FILE
ALVARADO SANTIAGO, MICHELLE      ADDRESS ON FILE
ALVARADO SANTIAGO, MIGUEL        ADDRESS ON FILE
ALVARADO SANTIAGO, MIRELSIE      ADDRESS ON FILE
ALVARADO SANTIAGO, WILDALIZ      ADDRESS ON FILE
ALVARADO SANTIAGO, WILFREDO      ADDRESS ON FILE
ALVARADO SANTIAGO, ZULMA         ADDRESS ON FILE
ALVARADO SANTOS, ARELIS          ADDRESS ON FILE
ALVARADO SANTOS, CARLOS J        ADDRESS ON FILE
ALVARADO SANTOS, CARMELO         ADDRESS ON FILE
ALVARADO SANTOS, CARMEN E        ADDRESS ON FILE
ALVARADO SANTOS, CARMEN E.       ADDRESS ON FILE
ALVARADO SANTOS, CARMEN M        ADDRESS ON FILE
ALVARADO SANTOS, GLADYS M        ADDRESS ON FILE
ALVARADO SANTOS, GREGORIA        ADDRESS ON FILE
ALVARADO SANTOS, HERIBERTO       ADDRESS ON FILE
ALVARADO SANTOS, MARIA           ADDRESS ON FILE
ALVARADO SANTOS, MARIA V         ADDRESS ON FILE
ALVARADO SANTOS, MIGUEL          ADDRESS ON FILE
ALVARADO SANTOS, MIGUEL A        ADDRESS ON FILE
ALVARADO SANTOS, MINERVA         ADDRESS ON FILE
ALVARADO SANZ, ALBERTO           ADDRESS ON FILE
Alvarado Seda, Daris M           ADDRESS ON FILE
ALVARADO SEPULVEDA, JOSE         ADDRESS ON FILE
ALVARADO SEPULVEDA, JOSE         ADDRESS ON FILE
Alvarado Sierra, Elba I          ADDRESS ON FILE
ALVARADO SIERRA, ELDER           ADDRESS ON FILE
ALVARADO SIERRA, LOURDES         ADDRESS ON FILE
ALVARADO SINISTERRA, CARMEN      ADDRESS ON FILE
ALVARADO SOLIS, MARILYN          ADDRESS ON FILE
ALVARADO SOLIVAN, JOSE E         ADDRESS ON FILE
ALVARADO SOSTRE, YARITZA         ADDRESS ON FILE
ALVARADO SOTO, BERTA I           ADDRESS ON FILE
ALVARADO SOTO, LUZ E             ADDRESS ON FILE
ALVARADO SOTO, MARCUS            ADDRESS ON FILE
ALVARADO SOTO, MARIA M           ADDRESS ON FILE
ALVARADO SOTO, SONIA             ADDRESS ON FILE
ALVARADO SOTO, YARITZA           ADDRESS ON FILE
ALVARADO SOTO, YARITZA           ADDRESS ON FILE
ALVARADO SOTOMAYOR, EDGARDO      ADDRESS ON FILE
ALVARADO SOTOMAYOR, HECTOR       ADDRESS ON FILE
ALVARADO SOTOMAYOR, ROSALIE      ADDRESS ON FILE
ALVARADO SUAREZ, ARLENE          ADDRESS ON FILE
ALVARADO SULIVERAS, JOSE         ADDRESS ON FILE
Alvarado Suliveras, Jose A.      ADDRESS ON FILE
ALVARADO SULIVERAS, RODOLFO      ADDRESS ON FILE
ALVARADO TAPIA, MIGUEL A.        ADDRESS ON FILE
ALVARADO TARDY, ANGELA           ADDRESS ON FILE
Alvarado Toledo, Eddie           ADDRESS ON FILE
ALVARADO TOLEDO, JOSE L.         ADDRESS ON FILE
ALVARADO TORRES, ALDIO E.        ADDRESS ON FILE
ALVARADO TORRES, AMNERIS         ADDRESS ON FILE
ALVARADO TORRES, ANA M           ADDRESS ON FILE
ALVARADO TORRES, ANGEL           ADDRESS ON FILE
ALVARADO TORRES, ANNETTE         ADDRESS ON FILE
Alvarado Torres, Carlos L        ADDRESS ON FILE




                                                                             Page 307 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 308 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO TORRES, CARMEN D         ADDRESS ON FILE
ALVARADO TORRES, CARMEN E         ADDRESS ON FILE
ALVARADO TORRES, CARMEN I         ADDRESS ON FILE
ALVARADO TORRES, CESAR A          ADDRESS ON FILE
ALVARADO TORRES, CINDY            ADDRESS ON FILE
ALVARADO TORRES, CLARISA          ADDRESS ON FILE
Alvarado Torres, Diana I          ADDRESS ON FILE
Alvarado Torres, Doris E          ADDRESS ON FILE
ALVARADO TORRES, EDNA L           ADDRESS ON FILE
ALVARADO TORRES, EDNA Y           ADDRESS ON FILE
ALVARADO TORRES, EDWIN D          ADDRESS ON FILE
ALVARADO TORRES, ELIZABETH        ADDRESS ON FILE
ALVARADO TORRES, ELVIN            ADDRESS ON FILE
Alvarado Torres, Fernando         ADDRESS ON FILE
ALVARADO TORRES, FERNANDO         ADDRESS ON FILE
ALVARADO TORRES, GLORIA E.        ADDRESS ON FILE
ALVARADO TORRES, GUILLERMO        ADDRESS ON FILE
ALVARADO TORRES, ISIDRA           ADDRESS ON FILE
ALVARADO TORRES, ISRAEL           ADDRESS ON FILE
ALVARADO TORRES, JACQUELINE       ADDRESS ON FILE
ALVARADO TORRES, JAIME E          ADDRESS ON FILE
ALVARADO TORRES, JANNETTE         ADDRESS ON FILE
ALVARADO TORRES, JAVIER           ADDRESS ON FILE
Alvarado Torres, Javier Antonio   ADDRESS ON FILE
ALVARADO TORRES, JOHN             ADDRESS ON FILE
Alvarado Torres, Jose A           ADDRESS ON FILE
Alvarado Torres, Jose A.          ADDRESS ON FILE
ALVARADO TORRES, LIZBETH          ADDRESS ON FILE
ALVARADO TORRES, LUIS             ADDRESS ON FILE
ALVARADO TORRES, LUIS A           ADDRESS ON FILE
ALVARADO TORRES, MAGALY           ADDRESS ON FILE
ALVARADO TORRES, MARIA DE L.      ADDRESS ON FILE
ALVARADO TORRES, MARIA M          ADDRESS ON FILE
ALVARADO TORRES, MARIELY          ADDRESS ON FILE
ALVARADO TORRES, MELINA           ADDRESS ON FILE
ALVARADO TORRES, MIGDALIA         ADDRESS ON FILE
Alvarado Torres, Miguel           ADDRESS ON FILE
ALVARADO TORRES, NAYDA C.         ADDRESS ON FILE
ALVARADO TORRES, NILSA M          ADDRESS ON FILE
ALVARADO TORRES, NOELIA           ADDRESS ON FILE
ALVARADO TORRES, NORMA J          ADDRESS ON FILE
ALVARADO TORRES, OSCAR            ADDRESS ON FILE
ALVARADO TORRES, PEDRO I          ADDRESS ON FILE
Alvarado Torres, Ramon L          ADDRESS ON FILE
ALVARADO TORRES, ROBERTO          ADDRESS ON FILE
ALVARADO TORRES, ROSA J           ADDRESS ON FILE
ALVARADO TORRES, SILVIA           ADDRESS ON FILE
ALVARADO TORRES, SYLVIA           ADDRESS ON FILE
ALVARADO TORRES, TERESA           ADDRESS ON FILE
ALVARADO TORRIENTE, EDGARDO       ADDRESS ON FILE
ALVARADO TRINIDAD, JOSE           ADDRESS ON FILE
ALVARADO VALENTIN, YANIRA         ADDRESS ON FILE
ALVARADO VARELA, RAFAEL A         ADDRESS ON FILE
ALVARADO VARGAS, CARMEN M         ADDRESS ON FILE
ALVARADO VAZQUEZ, CARMEN M        ADDRESS ON FILE
ALVARADO VAZQUEZ, ELIZABETH       ADDRESS ON FILE
ALVARADO VAZQUEZ, GLENNY          ADDRESS ON FILE
ALVARADO VAZQUEZ, GLORYMAR        ADDRESS ON FILE
ALVARADO VAZQUEZ, GRISSEL M       ADDRESS ON FILE
ALVARADO VAZQUEZ, JESUS M         ADDRESS ON FILE




                                                                              Page 308 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 309 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO VAZQUEZ, JOSE              ADDRESS ON FILE
ALVARADO VAZQUEZ, JOSE              ADDRESS ON FILE
ALVARADO VAZQUEZ, JOSE              ADDRESS ON FILE
ALVARADO VAZQUEZ, JOSE V.           ADDRESS ON FILE
ALVARADO VAZQUEZ, JULIO             ADDRESS ON FILE
ALVARADO VAZQUEZ, LESLIE            ADDRESS ON FILE
ALVARADO VAZQUEZ, LUZ S             ADDRESS ON FILE
ALVARADO VAZQUEZ, PAULA             ADDRESS ON FILE
Alvarado Vega, Andres               ADDRESS ON FILE
Alvarado Vega, Edward               ADDRESS ON FILE
ALVARADO VEGA, ENRIQUE              ADDRESS ON FILE
ALVARADO VEGA, FRANCHESCA           ADDRESS ON FILE
ALVARADO VEGA, GABRIEL              ADDRESS ON FILE
ALVARADO VEGA, JOSE                 ADDRESS ON FILE
ALVARADO VEGA, MARIA I              ADDRESS ON FILE
ALVARADO VEGA, RICARDO              ADDRESS ON FILE
ALVARADO VELAZQUEZ, FREDDY          ADDRESS ON FILE
ALVARADO VELAZQUEZ, JOSE A.         ADDRESS ON FILE
ALVARADO VELEZ, MARTIN              ADDRESS ON FILE
ALVARADO VELEZ, MIGUEL              ADDRESS ON FILE
ALVARADO VELEZ, WANDA I.            ADDRESS ON FILE
ALVARADO VELEZ, YOLANDA             ADDRESS ON FILE
ALVARADO VERA, JUAN B               ADDRESS ON FILE
ALVARADO VERA, JUAN B               ADDRESS ON FILE
ALVARADO VICENTE, MERCEDES          ADDRESS ON FILE
ALVARADO VIDAL, ALFRED              ADDRESS ON FILE
ALVARADO VIERA, MARILINA            ADDRESS ON FILE
ALVARADO VIERA, MARILINA            ADDRESS ON FILE
Alvarado Viera, Pedro               ADDRESS ON FILE
ALVARADO VINAS & FERNANDEZ PSC      654 MUNOZ RIVERA          STE 1130                                               SAN JUAN     PR      00918‐4133
ALVARADO YANARICO, AGUSTIN          ADDRESS ON FILE
ALVARADO YURET, ADALBERTO           ADDRESS ON FILE
ALVARADO ZAMBRANA, MARIA DE LOS A   ADDRESS ON FILE
ALVARADO ZAYAS, BENJAMIN            ADDRESS ON FILE
ALVARADO ZAYAS, ELISA               ADDRESS ON FILE
ALVARADO ZAYAS, JOSE                ADDRESS ON FILE
ALVARADO ZAYAS, JOSE                ADDRESS ON FILE
ALVARADO ZAYAS, JOSE L              ADDRESS ON FILE
ALVARADO ZAYAS, JUAN A.             ADDRESS ON FILE
ALVARADO ZAYAS, JUAN O              ADDRESS ON FILE
ALVARADO ZAYAS, LUISA I             ADDRESS ON FILE
ALVARADO ZAYAS, MANUEL A            ADDRESS ON FILE
ALVARADO ZAYAS, PEDRO A.            ADDRESS ON FILE
ALVARADO ZAYAS, ROSAEL              ADDRESS ON FILE
ALVARADO, ADA I                     ADDRESS ON FILE
ALVARADO, ARACELIS                  ADDRESS ON FILE
ALVARADO, CARLOS H                  ADDRESS ON FILE
ALVARADO, CARMEN IRIS               ADDRESS ON FILE
ALVARADO, CONSUELO                  ADDRESS ON FILE
ALVARADO, EDWIN                     ADDRESS ON FILE
ALVARADO, ELSIE E                   ADDRESS ON FILE
ALVARADO, EMILIO                    ADDRESS ON FILE
ALVARADO, FERNANDO                  ADDRESS ON FILE
ALVARADO, GERTRUDIS                 ADDRESS ON FILE
ALVARADO, GILBERTO                  ADDRESS ON FILE
ALVARADO, ISRAEL                    ADDRESS ON FILE
ALVARADO, JOSE R.                   ADDRESS ON FILE
ALVARADO, JUAN                      ADDRESS ON FILE
ALVARADO, MANUEL                    ADDRESS ON FILE
ALVARADO, MARY A                    ADDRESS ON FILE




                                                                                Page 309 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 310 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARADO, MIGUEL A.                       ADDRESS ON FILE
ALVARADO, RAUL                            ADDRESS ON FILE
ALVARADO, SONIA                           ADDRESS ON FILE
ALVARADO, VIRGINIA                        ADDRESS ON FILE
ALVARADO,BRIAN J.                         ADDRESS ON FILE
ALVARADO,ORLANDO                          ADDRESS ON FILE
ALVARADO,ZULEIMY                          ADDRESS ON FILE
ALVARADOLUGO, EILEEN                      ADDRESS ON FILE
ALVARADOMORALES, RUBEN                    ADDRESS ON FILE
ALVARADONEGRON, SANDRA                    ADDRESS ON FILE
ALVARANZA GONZALEZ, JUAN                  ADDRESS ON FILE
ALVARDO MIRANDA, MYRNA                    ADDRESS ON FILE
ALVARDO OTERO, MICHAEL                    ADDRESS ON FILE
ALVARDO SOTO, ALDIO                       ADDRESS ON FILE
ALVARENGA RAMIREZ, MERCEDES A             ADDRESS ON FILE
ALVARENGA RIVAS, CARMEN A                 ADDRESS ON FILE
ALVARENGA, CODY                           ADDRESS ON FILE
ALVARENGA, RIGOBERTO                      ADDRESS ON FILE
ALVARES COLON, PEDRO                      ADDRESS ON FILE
ALVARES CRUZ, JANET                       ADDRESS ON FILE
ALVARES MENDEZ, ROSA                      ADDRESS ON FILE
ALVARES MOLINA, WILSON                    ADDRESS ON FILE
ALVARES OLMEDO, MONICA                    ADDRESS ON FILE
ALVARES ONEILL, JUAN                      ADDRESS ON FILE
ALVARES RIOS, MARTHA                      ADDRESS ON FILE
ALVAREZ & MARSAL INC                      600 MADISON AVE FL 8                                                             NEW YORK     NY      10022‐1758
ALVAREZ & MARSAL PUBLIC SECTOR SERVICES   600 MADISON AVE 8 TH FL                                                          NEW YORK     NY      10022
ALVAREZ & RODRIGUEZ LLC                   365 ELEONOR ROOSEVELT                                                            SAN JUAN     PR      00918
ALVAREZ ABRANTE, FELIX                    ADDRESS ON FILE
Alvarez Abreu, Benito                     ADDRESS ON FILE
ALVAREZ ACEVEDO, DENNISSE                 ADDRESS ON FILE
Alvarez Acevedo, Jesus                    ADDRESS ON FILE
ALVAREZ ACEVEDO, JESUS                    ADDRESS ON FILE
ALVAREZ ACEVEDO, MARILYN M                ADDRESS ON FILE
ALVAREZ ACEVEDO, MYLENA                   ADDRESS ON FILE
ALVAREZ ACEVEDO, MYRIAM                   ADDRESS ON FILE
ALVAREZ ACEVEDO, NEFTALI                  ADDRESS ON FILE
ALVAREZ ACEVEDO, VIVIANA                  ADDRESS ON FILE
ALVAREZ ACEVEDO, WILFREDO                 ADDRESS ON FILE
ALVAREZ ACEVEDO, WILLIAM                  ADDRESS ON FILE
ALVAREZ ACEVEDO, YAEL                     ADDRESS ON FILE
ALVAREZ ACEVEDO, ZAHIRA                   ADDRESS ON FILE
ALVAREZ ACOSTA, AMADO                     ADDRESS ON FILE
ALVAREZ ACOSTA, IVAN                      ADDRESS ON FILE
ALVAREZ ACOSTA, IVAN E.                   ADDRESS ON FILE
ALVAREZ ADDARICH, JOSE LUIS               ADDRESS ON FILE
ALVAREZ ADORNO, AIDA L                    ADDRESS ON FILE
Alvarez Adorno, Jackeline                 ADDRESS ON FILE
ALVAREZ ADORNO, WILLIAM                   ADDRESS ON FILE
ALVAREZ AGOSTO, JORGE L.                  ADDRESS ON FILE
ALVAREZ AGOSTO, PRISCILLA                 ADDRESS ON FILE
ALVAREZ AGOSTO, SANTOS                    ADDRESS ON FILE
ALVAREZ AGUAYO, ALEXANDER                 ADDRESS ON FILE
ALVAREZ ALAMO, IRELIZ                     ADDRESS ON FILE
ALVAREZ ALAMO, JOSE                       ADDRESS ON FILE
ALVAREZ ALAMO, LUIS                       ADDRESS ON FILE
ALVAREZ ALAYON, CARMEN                    ADDRESS ON FILE
ALVAREZ ALBALADEJO, CARELYN               ADDRESS ON FILE
ALVAREZ ALBARRAN, JOSE L.                 ADDRESS ON FILE
ALVAREZ ALDAHONDO, VIRGINIA               ADDRESS ON FILE




                                                                                      Page 310 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 311 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ ALDOY, LUZ N          ADDRESS ON FILE
ALVAREZ ALEJANDRO, CARLOS     ADDRESS ON FILE
ALVAREZ ALGARIN, MONICA M.    ADDRESS ON FILE
ALVAREZ ALICEA, JOSE A        ADDRESS ON FILE
Alvarez Alicea, Melquiades    ADDRESS ON FILE
ALVAREZ ALICEA, NORMA         ADDRESS ON FILE
ALVAREZ ALICEA, NORMA I       ADDRESS ON FILE
ALVAREZ ALICEA, ORLANDO       ADDRESS ON FILE
ALVAREZ ALLENDE, CARLOS       ADDRESS ON FILE
ALVAREZ ALLENDE, JOSE         ADDRESS ON FILE
ALVAREZ ALMARALES, YASMANI    ADDRESS ON FILE
ALVAREZ ALMESTICA, VALERIE    ADDRESS ON FILE
ALVAREZ ALMONTE, BELKIS A.    ADDRESS ON FILE
ALVAREZ ALTRECHE, MIGUELINA   ADDRESS ON FILE
ALVAREZ ALVARADO, JAVIER      ADDRESS ON FILE
ALVAREZ ALVARADO, MYRNA       ADDRESS ON FILE
ALVAREZ ALVARADO, RAMON       ADDRESS ON FILE
ALVAREZ ALVAREZ, ANA M.       ADDRESS ON FILE
ALVAREZ ALVAREZ, ANABEL       ADDRESS ON FILE
ALVAREZ ALVAREZ, ANGELIE      ADDRESS ON FILE
ALVAREZ ALVAREZ, BELKIS       ADDRESS ON FILE
Alvarez Alvarez, Carlos M     ADDRESS ON FILE
ALVAREZ ALVAREZ, EVELYN       ADDRESS ON FILE
ALVAREZ ALVAREZ, HERNAN       ADDRESS ON FILE
ALVAREZ ALVAREZ, JESUS        ADDRESS ON FILE
Alvarez Alvarez, Jorge I.     ADDRESS ON FILE
ALVAREZ ALVAREZ, JOSE         ADDRESS ON FILE
ALVAREZ ALVAREZ, JOSE E.      ADDRESS ON FILE
ALVAREZ ALVAREZ, JUAN         ADDRESS ON FILE
ALVAREZ ALVAREZ, NILSA        ADDRESS ON FILE
ALVAREZ ALVAREZ, WALESKA      ADDRESS ON FILE
ALVAREZ ALVAREZ, YAMIL E.     ADDRESS ON FILE
ALVAREZ AMARO, ENID D         ADDRESS ON FILE
ALVAREZ ANDINO LUISA          ADDRESS ON FILE
ALVAREZ ANDINO, MANUEL        ADDRESS ON FILE
ALVAREZ ANDINO, MIGUEL A.     ADDRESS ON FILE
ALVAREZ ANDINO, NELSON        ADDRESS ON FILE
ALVAREZ ANDUJAR, LUIS         ADDRESS ON FILE
ALVAREZ ANGEL, L              ADDRESS ON FILE
ALVAREZ ANQUEIRA, ANA         ADDRESS ON FILE
ALVAREZ ANTONINI, HUGO        ADDRESS ON FILE
ALVAREZ APONTE, ARELIS        ADDRESS ON FILE
ALVAREZ APONTE, CARMEN        ADDRESS ON FILE
ALVAREZ APONTE, CARMEN W.     ADDRESS ON FILE
ALVAREZ APONTE, GABRIEL       ADDRESS ON FILE
ALVAREZ APONTE, GABRIEL A     ADDRESS ON FILE
ALVAREZ APONTE, MARIA DE L    ADDRESS ON FILE
ALVAREZ APONTE, MARIA V       ADDRESS ON FILE
ALVAREZ APONTE, MIGUEL        ADDRESS ON FILE
Alvarez Aponte, Miguel A      ADDRESS ON FILE
ALVAREZ APONTE, WILLIAM       ADDRESS ON FILE
ALVAREZ APONTE, YETZABEL      ADDRESS ON FILE
ALVAREZ AQUINO, CRISTINA L.   ADDRESS ON FILE
ALVAREZ AQUINO, CRISTINA L.   ADDRESS ON FILE
ALVAREZ ARCE, SYLVIA          ADDRESS ON FILE
ALVAREZ ARCHILLA, MIRIAM      ADDRESS ON FILE
ALVAREZ ARCHILLA, OLGA L      ADDRESS ON FILE
ALVAREZ ARIAS, NORA E         ADDRESS ON FILE
ALVAREZ ARIAS, RAMON E        ADDRESS ON FILE
ALVAREZ ARRIETA, LIZ          ADDRESS ON FILE




                                                                          Page 311 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 312 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ ARROYAVE, JULIAN F.     ADDRESS ON FILE
ALVAREZ ARROYO MD, LUIS         ADDRESS ON FILE
ALVAREZ ARROYO, ANDRES          ADDRESS ON FILE
Alvarez Arroyo, Nayda C         ADDRESS ON FILE
ALVAREZ ARTEAGA, PAULA          ADDRESS ON FILE
ALVAREZ ASENCIO, ANGELA I       ADDRESS ON FILE
ALVAREZ ASENCIO, JUAN P.        ADDRESS ON FILE
ALVAREZ ASENCIO, RAQUEL         ADDRESS ON FILE
ALVAREZ ASTACIO, PATRICIA       ADDRESS ON FILE
ALVAREZ AVILA, MARTA            ADDRESS ON FILE
ALVAREZ AVILES, BLANCA M.       ADDRESS ON FILE
ALVAREZ AVILES, CARMEN          ADDRESS ON FILE
ALVAREZ AYALA, CARMEN           ADDRESS ON FILE
ALVAREZ AYALA, EDITH J          ADDRESS ON FILE
ALVAREZ AYALA, MARGARITA        ADDRESS ON FILE
ALVAREZ AYALA, NILDA            ADDRESS ON FILE
ALVAREZ AYALA, ROBERTO          ADDRESS ON FILE
ALVAREZ AYALA, ROSA             ADDRESS ON FILE
ALVAREZ AYALA, SANDRA           ADDRESS ON FILE
ALVAREZ AZPURUA, HILDA M        ADDRESS ON FILE
ALVAREZ BABA, ESSILEVI          ADDRESS ON FILE
ALVAREZ BADILLO, ANTONIA        ADDRESS ON FILE
ALVAREZ BADILLO, CARLOS G.      ADDRESS ON FILE
ALVAREZ BADILLO, MARIA          ADDRESS ON FILE
ALVAREZ BAEZ, JAN ANTHONY       ADDRESS ON FILE
ALVAREZ BARRETO, OLGA L.        ADDRESS ON FILE
ALVAREZ BEAMUD, MARIE           ADDRESS ON FILE
ALVAREZ BEAUCHAMP, COLOMA       ADDRESS ON FILE
ALVAREZ BELTRAN, SILIA M        ADDRESS ON FILE
ALVAREZ BENEDICTO, CLARA        ADDRESS ON FILE
ALVAREZ BENEDICTO, TERESA       ADDRESS ON FILE
ALVAREZ BENEJAM, MIGUEL         ADDRESS ON FILE
ALVAREZ BENEJAN, SONIA M        ADDRESS ON FILE
ALVAREZ BENITEZ, LILLIAN        ADDRESS ON FILE
ALVAREZ BERMUDEZ MD, AQUILES    ADDRESS ON FILE
ALVAREZ BERMUDEZ, CARMEN S      ADDRESS ON FILE
ALVAREZ BERMUDEZ, DAVID         ADDRESS ON FILE
ALVAREZ BERMUDEZ, JUAN A        ADDRESS ON FILE
ALVAREZ BERMUDEZ, REINALDO      ADDRESS ON FILE
ALVAREZ BERRIOS, FRANCO         ADDRESS ON FILE
ALVAREZ BERRIOS, JOSEPH         ADDRESS ON FILE
ALVAREZ BERRIOS, NORA           ADDRESS ON FILE
ALVAREZ BERRIOS, NORA           ADDRESS ON FILE
ALVAREZ BERROCALES, RICARDO     ADDRESS ON FILE
ALVAREZ BETANCOURT, LINA        ADDRESS ON FILE
ALVAREZ BLASCO, ROSANA          ADDRESS ON FILE
ALVAREZ BONET, VICTOR           ADDRESS ON FILE
Alvarez Boneta, Angel           ADDRESS ON FILE
ALVAREZ BONETA, CARLOS          ADDRESS ON FILE
ALVAREZ BONETA, WILMER W        ADDRESS ON FILE
ALVAREZ BONILLA, GENOVEVA       ADDRESS ON FILE
ALVAREZ BONILLA, GENOVEVA       ADDRESS ON FILE
ALVAREZ BORDOY, VERONICA        ADDRESS ON FILE
ALVAREZ BORGES, DAVID           ADDRESS ON FILE
Alvarez Borges, David J.        ADDRESS ON FILE
ALVAREZ BORGES, JORGE           ADDRESS ON FILE
ALVAREZ BORGES, LEDYS           ADDRESS ON FILE
Alvarez Borges, Ledy's Merced   ADDRESS ON FILE
ALVAREZ BORGES, OSVALDO J       ADDRESS ON FILE
ALVAREZ BORGES, PEDRO           ADDRESS ON FILE




                                                                            Page 312 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 313 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ BORONAT, ANAELIS         ADDRESS ON FILE
ALVAREZ BORRERO, ALEXIS          ADDRESS ON FILE
ALVAREZ BOYER, IVIA I            ADDRESS ON FILE
ALVAREZ BRACERO, MARIA L         ADDRESS ON FILE
ALVAREZ BRAU, GARY               ADDRESS ON FILE
ALVAREZ BRULL, ANGELINA          ADDRESS ON FILE
Alvarez Burgo, Rical Joseph      ADDRESS ON FILE
ALVAREZ BURGOS, ALFREDO          ADDRESS ON FILE
Alvarez Burgos, Ana              ADDRESS ON FILE
Alvarez Burgos, Dimarie          ADDRESS ON FILE
ALVAREZ BURGOS, DIMARIE          ADDRESS ON FILE
ALVAREZ BURGOS, EDGARDO          ADDRESS ON FILE
ALVAREZ BURGOS, ISMAEL           ADDRESS ON FILE
Alvarez Burgos, Jose G.          ADDRESS ON FILE
Alvarez Burgos, Juan             ADDRESS ON FILE
Alvarez Burgos, Maribel          ADDRESS ON FILE
ALVAREZ BURGOS, MIRIAM           ADDRESS ON FILE
ALVAREZ BURGOS, MIRIAM           ADDRESS ON FILE
ALVAREZ BURGOS, RICAL            ADDRESS ON FILE
ALVAREZ BURGOS, WANDICK          ADDRESS ON FILE
ALVAREZ BURGOS, YAMIL            ADDRESS ON FILE
ALVAREZ BUZO, CRUZ CELIA         ADDRESS ON FILE
ALVAREZ CABAN, ARNALDO           ADDRESS ON FILE
ALVAREZ CABAN, JENNIE            ADDRESS ON FILE
Alvarez Caban, Juan C.           ADDRESS ON FILE
ALVAREZ CABRERA, MARIA M         ADDRESS ON FILE
ALVAREZ CABRERA, MARIBEL         ADDRESS ON FILE
ALVAREZ CADILLA, LEO             ADDRESS ON FILE
ALVAREZ CAICEDO, MAYERLY         ADDRESS ON FILE
ALVAREZ CAICOYA, JAIME           ADDRESS ON FILE
ALVAREZ CALCANO, ALBERTA         ADDRESS ON FILE
ALVAREZ CALDERON, ANGEL L        ADDRESS ON FILE
ALVAREZ CALDERON, JOSE           ADDRESS ON FILE
Alvarez Calderon, Jose M.        ADDRESS ON FILE
ALVAREZ CALDERON, LUIS           ADDRESS ON FILE
ALVAREZ CALDERON, MIGUEL A.      ADDRESS ON FILE
Alvarez Calo, Lilliam            ADDRESS ON FILE
ALVAREZ CAMACHO, ANTONIO         ADDRESS ON FILE
ALVAREZ CAMACHO, CARLOS          ADDRESS ON FILE
ALVAREZ CAMACHO, CARMEN          ADDRESS ON FILE
ALVAREZ CAMACHO, IRMARILIS       ADDRESS ON FILE
ALVAREZ CAMACHO, REINALDO        ADDRESS ON FILE
ALVAREZ CANCEL, EDWIN            ADDRESS ON FILE
ALVAREZ CANDELARIA, PERSIDA      ADDRESS ON FILE
ALVAREZ CANDELARIO, FRANCES      ADDRESS ON FILE
ALVAREZ CANTRE, AMPARO           ADDRESS ON FILE
ALVAREZ CANTRE, ESPERANZA        ADDRESS ON FILE
ALVAREZ CARDENAS, RAQUEL         ADDRESS ON FILE
ALVAREZ CARDONA, CHRISTIAN       ADDRESS ON FILE
ALVAREZ CARDONA, JOAN            ADDRESS ON FILE
ALVAREZ CARMONA, AIDA L          ADDRESS ON FILE
ALVAREZ CARRASQUEL, JAVIER R     ADDRESS ON FILE
ALVAREZ CARRASQUILLO, FELIX L    ADDRESS ON FILE
Alvarez Carrasquillo, Miguel A   ADDRESS ON FILE
ALVAREZ CARRASQUILLO, MISAEL     ADDRESS ON FILE
ALVAREZ CARRILLO, JOSE           ADDRESS ON FILE
Alvarez Carrion, Pablo           ADDRESS ON FILE
ALVAREZ CASTILLO, ALFREDO        ADDRESS ON FILE
ALVAREZ CASTILLO, ANGEL L.       ADDRESS ON FILE
ALVAREZ CASTILLO, AUGUSTO        ADDRESS ON FILE




                                                                             Page 313 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 314 of 3500
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ALVAREZ CASTRO, ANNA           ADDRESS ON FILE
Alvarez Castro, Carmen D       ADDRESS ON FILE
ALVAREZ CASTRO, JORGE L        ADDRESS ON FILE
ALVAREZ CASTRO, JORGE L        ADDRESS ON FILE
ALVAREZ CASTRO, LUZ I          ADDRESS ON FILE
ALVAREZ CASTRO, NELLIE         ADDRESS ON FILE
ALVAREZ CASTRO, RAFAEL         ADDRESS ON FILE
ALVAREZ CHAPARRO, IVELISSE     ADDRESS ON FILE
ALVAREZ CHARDON, JULIUS        ADDRESS ON FILE
ALVAREZ CHECO, MIGUEL          ADDRESS ON FILE
ALVAREZ CHEVERE, MARCOS        ADDRESS ON FILE
ALVAREZ CHEVERE, MYRNA         ADDRESS ON FILE
ALVAREZ CHINEA, AGUSTIN        ADDRESS ON FILE
ALVAREZ CIFUENTES, MONICA L    ADDRESS ON FILE
ALVAREZ CINTRON, BRENDA L.     ADDRESS ON FILE
ALVAREZ CINTRON, HIGINIO       ADDRESS ON FILE
ALVAREZ CINTRON, LAURA         ADDRESS ON FILE
ALVAREZ CLAS, MYRNA M          ADDRESS ON FILE
ALVAREZ CLASS, ANA             ADDRESS ON FILE
ALVAREZ CLASS, RICARDO         ADDRESS ON FILE
ALVAREZ COBIAN MD, RUBEN       ADDRESS ON FILE
ALVAREZ COLBERG, JOSE PABLO    ADDRESS ON FILE
ALVAREZ COLLADO, INOCENCIO     ADDRESS ON FILE
ALVAREZ COLLAZO, CLARIBEL      ADDRESS ON FILE
ALVAREZ COLLAZO, YAMIL         ADDRESS ON FILE
ALVAREZ COLLAZO, YAMILL        ADDRESS ON FILE
ALVAREZ COLLINS, MARIAN M      ADDRESS ON FILE
ALVAREZ COLON, BRENDA I        ADDRESS ON FILE
ALVAREZ COLON, HENRRY          ADDRESS ON FILE
ALVAREZ COLON, HENRY           ADDRESS ON FILE
ALVAREZ COLON, JAVIER          ADDRESS ON FILE
ALVAREZ COLON, JAVIER          ADDRESS ON FILE
ALVAREZ COLON, JESYKA M        ADDRESS ON FILE
ALVAREZ COLON, JOSE            ADDRESS ON FILE
Alvarez Colon, Juan Carlos     ADDRESS ON FILE
ALVAREZ COLON, LAURA           ADDRESS ON FILE
ALVAREZ COLON, LUIS            ADDRESS ON FILE
ALVAREZ COLON, LUIS E          ADDRESS ON FILE
ALVAREZ COLON, RICHARD         ADDRESS ON FILE
ALVAREZ COLON, SHAYRA Z        ADDRESS ON FILE
ALVAREZ COLON, STEPHANIE       ADDRESS ON FILE
Alvarez Colon, Tommy           ADDRESS ON FILE
ALVAREZ COLON, YAMIL           ADDRESS ON FILE
ALVAREZ COLON, YAMIL           ADDRESS ON FILE
ALVAREZ CONCEPCION, ALEX       ADDRESS ON FILE
ALVAREZ CONCEPCION, JUANA E    ADDRESS ON FILE
ALVAREZ CONCEPCION, JUANA E    ADDRESS ON FILE
ALVAREZ CONCEPCION, RAMONITA   ADDRESS ON FILE
ALVAREZ CONCEPCION, VIVIANA    ADDRESS ON FILE
ALVAREZ CONSTRUCTION, INC      PARQ DE CANDELERO         197 CALLE LUBINA                                       HUMACAO      PR      00791‐7623
ALVAREZ CORDERO MD, LISETTE    ADDRESS ON FILE
ALVAREZ CORDERO, ALAN          ADDRESS ON FILE
ALVAREZ CORDERO, ANTONIO       ADDRESS ON FILE
ALVAREZ CORDERO, LUZ E.        ADDRESS ON FILE
ALVAREZ CORDERO, WANDA         ADDRESS ON FILE
ALVAREZ CORNIER, LOURDES       ADDRESS ON FILE
ALVAREZ CORREA, CARMEN C       ADDRESS ON FILE
Alvarez Correa, Felix          ADDRESS ON FILE
ALVAREZ CORREA, HERIBERTO      ADDRESS ON FILE
ALVAREZ CORREA, JOSE           ADDRESS ON FILE




                                                                            Page 314 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 315 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ CORREA, JOSE       ADDRESS ON FILE
ALVAREZ CORREA, JOSE H     ADDRESS ON FILE
ALVAREZ CORREA, LESLIE     ADDRESS ON FILE
ALVAREZ CORREA, LISANDRA   ADDRESS ON FILE
Alvarez Correa, Luis A     ADDRESS ON FILE
ALVAREZ CORREA, NICOLE     ADDRESS ON FILE
ALVAREZ CORREA, SKARTTY    ADDRESS ON FILE
ALVAREZ CORTES, GERARDO    ADDRESS ON FILE
ALVAREZ CORTES, JOSE       ADDRESS ON FILE
ALVAREZ CORTEZ, EDUARDO    ADDRESS ON FILE
ALVAREZ CORTEZ, PEDRO      ADDRESS ON FILE
ALVAREZ COSME, MARIO       ADDRESS ON FILE
ALVAREZ COSS, RAMON        ADDRESS ON FILE
ALVAREZ COSS, RAMON        ADDRESS ON FILE
ALVAREZ COTTO, DIANA R     ADDRESS ON FILE
ALVAREZ COTTO, LYDIA       ADDRESS ON FILE
ALVAREZ COTTO, MILDRED M   ADDRESS ON FILE
ALVAREZ COTTO, OMAR E      ADDRESS ON FILE
ALVAREZ COTTO, SYLVIA      ADDRESS ON FILE
ALVAREZ COTTO, VILMARIS    ADDRESS ON FILE
Alvarez Cotto, Wilhelm     ADDRESS ON FILE
ALVAREZ CRESPO, ALCIDES    ADDRESS ON FILE
ALVAREZ CRESPO, GILBERTO   ADDRESS ON FILE
ALVAREZ CRESPO, ROSA       ADDRESS ON FILE
ALVAREZ CRESPO, WILMER     ADDRESS ON FILE
ALVAREZ CRUZ, AIDA         ADDRESS ON FILE
ALVAREZ CRUZ, ALEJANDRA    ADDRESS ON FILE
ALVAREZ CRUZ, ANGEL F      ADDRESS ON FILE
ALVAREZ CRUZ, ANGELA       ADDRESS ON FILE
Alvarez Cruz, Brenda O     ADDRESS ON FILE
ALVAREZ CRUZ, CARMEN I     ADDRESS ON FILE
ALVAREZ CRUZ, CLAUDIO JR   ADDRESS ON FILE
ALVAREZ CRUZ, EDUARDO      ADDRESS ON FILE
ALVAREZ CRUZ, HAYDEE       ADDRESS ON FILE
ALVAREZ CRUZ, IRIS         ADDRESS ON FILE
Alvarez Cruz, Ivette       ADDRESS ON FILE
Alvarez Cruz, Javier       ADDRESS ON FILE
ALVAREZ CRUZ, JOSE M       ADDRESS ON FILE
ALVAREZ CRUZ, JUAN B.      ADDRESS ON FILE
ALVAREZ CRUZ, KRIMILDA     ADDRESS ON FILE
ALVAREZ CRUZ, LESLIE       ADDRESS ON FILE
ALVAREZ CRUZ, LUIS         ADDRESS ON FILE
ALVAREZ CRUZ, LYDIA E      ADDRESS ON FILE
ALVAREZ CRUZ, MARIA        ADDRESS ON FILE
ALVAREZ CRUZ, MARIA        ADDRESS ON FILE
ALVAREZ CRUZ, MARIA E      ADDRESS ON FILE
ALVAREZ CRUZ, NATALIA      ADDRESS ON FILE
ALVAREZ CRUZ, NATHALIE     ADDRESS ON FILE
ALVAREZ CRUZ, NATHANAEL    ADDRESS ON FILE
ALVAREZ CRUZ, OLGA I       ADDRESS ON FILE
ALVAREZ CRUZ, OLGA M.      ADDRESS ON FILE
ALVAREZ CRUZ, RAISHA I.    ADDRESS ON FILE
ALVAREZ CRUZ, RAQUEL       ADDRESS ON FILE
ALVAREZ CRUZ, REBECA       ADDRESS ON FILE
ALVAREZ CRUZ, SOFIA        ADDRESS ON FILE
ALVAREZ CRUZ, TANIA        ADDRESS ON FILE
ALVAREZ CRUZ, VIRGINIA     ADDRESS ON FILE
ALVAREZ CRUZ, YUNNAIRA     ADDRESS ON FILE
ALVAREZ CUADRA, NORMA      ADDRESS ON FILE
ALVAREZ CUENCAS, DANIEL    ADDRESS ON FILE




                                                                       Page 315 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 316 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ CUEVAS, AMNERIS                  ADDRESS ON FILE
ALVAREZ CURZ, JOHANYS                    ADDRESS ON FILE
ALVAREZ CUSTODIO, MARIA                  ADDRESS ON FILE
ALVAREZ DAVID, WANDA I                   ADDRESS ON FILE
ALVAREZ DAVILA, DOLORES M                ADDRESS ON FILE
ALVAREZ DE BORRI, ADA                    ADDRESS ON FILE
ALVAREZ DE CARAMBOT, ORIALIZ             ADDRESS ON FILE
ALVAREZ DE CORO, ANA T                   ADDRESS ON FILE
ALVAREZ DE EXCLUSA, SANDRA J             ADDRESS ON FILE
ALVAREZ DE JESUS, CARLOS A               ADDRESS ON FILE
ALVAREZ DE JESUS, ERIKA                  ADDRESS ON FILE
ALVAREZ DE JESUS, HECTOR                 ADDRESS ON FILE
ALVAREZ DE JESUS, JAVIER                 ADDRESS ON FILE
ALVAREZ DE JESUS, LISANIA                ADDRESS ON FILE
ALVAREZ DE JESUS, MAYDA                  ADDRESS ON FILE
ALVAREZ DE JESUS, MIRTA                  ADDRESS ON FILE
ALVAREZ DE JESUS, WANDA                  ADDRESS ON FILE
ALVAREZ DE LA MATA, ANNETTE              ADDRESS ON FILE
ALVAREZ DE LA ROSA, DELILAH              ADDRESS ON FILE
ALVAREZ DE LA ROSA, ROSELYN              ADDRESS ON FILE
ALVAREZ DE LA ROSA, ROSELYN              ADDRESS ON FILE
ALVAREZ DE MENDEZ, MARTHA I              ADDRESS ON FILE
ALVAREZ DEAL, JOSE J.                    ADDRESS ON FILE
ALVAREZ DEL MANZANO FELICIANO, EDGAR Y   ADDRESS ON FILE
Alvarez Del Pilar, Henry                 ADDRESS ON FILE
ALVAREZ DEL VALLE, ALBA LUZ              ADDRESS ON FILE
ALVAREZ DEL VALLE, ALEXIS                ADDRESS ON FILE
ALVAREZ DEL VALLE, CARMEN                ADDRESS ON FILE
ALVAREZ DEL VALLE, JESUS                 ADDRESS ON FILE
ALVAREZ DEL VALLE, PEDRO                 ADDRESS ON FILE
ALVAREZ DEL VALLE, YAMIL                 ADDRESS ON FILE
ALVAREZ DEL VALLE, YOALIZ                ADDRESS ON FILE
ALVAREZ DELGADO, ANGEL                   ADDRESS ON FILE
ALVAREZ DELGADO, JOSE                    ADDRESS ON FILE
ALVAREZ DELGADO, JUAN                    ADDRESS ON FILE
ALVAREZ DELGADO, JUAN M.                 ADDRESS ON FILE
ALVAREZ DELGADO, JUAN M.                 ADDRESS ON FILE
ALVAREZ DELGADO, LESBIA L                ADDRESS ON FILE
ALVAREZ DELGADO, MARIEL                  ADDRESS ON FILE
Alvarez Diaz, Angel L                    ADDRESS ON FILE
Alvarez Diaz, Angel O.                   ADDRESS ON FILE
ALVAREZ DIAZ, CANDIDA                    ADDRESS ON FILE
ALVAREZ DIAZ, CARLOS A                   ADDRESS ON FILE
ALVAREZ DIAZ, CESAR                      ADDRESS ON FILE
ALVAREZ DIAZ, ERNESTO                    ADDRESS ON FILE
ALVAREZ DIAZ, JOSUE                      ADDRESS ON FILE
ALVAREZ DIAZ, JUAN                       ADDRESS ON FILE
ALVAREZ DIAZ, JUAN                       ADDRESS ON FILE
ALVAREZ DIAZ, JUAN C                     ADDRESS ON FILE
ALVAREZ DIAZ, KATE                       ADDRESS ON FILE
ALVAREZ DIAZ, KATHERINE                  ADDRESS ON FILE
ALVAREZ DIAZ, KATHIE                     ADDRESS ON FILE
ALVAREZ DIAZ, MADELINE                   ADDRESS ON FILE
ALVAREZ DIAZ, MARIA A                    ADDRESS ON FILE
ALVAREZ DIAZ, MARISOL                    ADDRESS ON FILE
ALVAREZ DIAZ, MARITZA                    ADDRESS ON FILE
ALVAREZ DIAZ, MYRELIS E.                 ADDRESS ON FILE
ALVAREZ DIAZ, PATRICIA                   ADDRESS ON FILE
ALVAREZ DIAZ, RENE                       ADDRESS ON FILE
ALVAREZ DIAZ, SORAYA                     ADDRESS ON FILE




                                                                                     Page 316 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 317 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ DIAZ, VANESSA            ADDRESS ON FILE
ALVAREZ DIAZ, VERONICA           ADDRESS ON FILE
ALVAREZ DOMENECH, JOSEPH R.      ADDRESS ON FILE
ALVAREZ DOMENECH, LOURDES        ADDRESS ON FILE
ALVAREZ DOMINGUEZ, DELMER        ADDRESS ON FILE
ALVAREZ ECHEANDIA, KAREM         ADDRESS ON FILE
ALVAREZ ECHEVARRIA, JOSE         ADDRESS ON FILE
ALVAREZ EFRECE, HECTOR I         ADDRESS ON FILE
ALVAREZ ELVIRA, YOMAR            ADDRESS ON FILE
ALVAREZ ENCARNACION, JOSE        ADDRESS ON FILE
ALVAREZ ENCARNACION, JOSE A      ADDRESS ON FILE
ALVAREZ ENCARNACION, NOEMI       ADDRESS ON FILE
Alvarez Encarnacion, Shariff J   ADDRESS ON FILE
ALVAREZ ESCALERA, JELICA         ADDRESS ON FILE
ALVAREZ ESCALERA, JELICA         ADDRESS ON FILE
ALVAREZ ESCALERA, MAYRA          ADDRESS ON FILE
ALVAREZ ESCALERA, MYRIAM         ADDRESS ON FILE
ALVAREZ ESCOBAR, MARANGELY       ADDRESS ON FILE
ALVAREZ ESCRIBANO, HECTOR        ADDRESS ON FILE
ALVAREZ ESCRIBANO, MARTA         ADDRESS ON FILE
ALVAREZ ESPONDA, LAURA M.        ADDRESS ON FILE
ALVAREZ ESQUILIN, GLAMARYS       ADDRESS ON FILE
ALVAREZ ESQUILIN, JOSE           ADDRESS ON FILE
ALVAREZ ESQUILIN, JOSE M         ADDRESS ON FILE
ALVAREZ ESSO SERVICE             98 CALLE COMERCIO                                                                YAUCO        PR      00698
ALVAREZ ESTEBAN, CLORIED         ADDRESS ON FILE
ALVAREZ ESTEPA, OLGA I           ADDRESS ON FILE
ALVAREZ ESTEVES, VANESSA         ADDRESS ON FILE
ALVAREZ ESTRADA, ALEX A          ADDRESS ON FILE
ALVAREZ ESTRADA, CARLOS          ADDRESS ON FILE
ALVAREZ ESTRADA, EDWIN           ADDRESS ON FILE
ALVAREZ EXPOSITO, FRANCISCO      ADDRESS ON FILE
Alvarez Falero, Marlon           ADDRESS ON FILE
ALVAREZ FARGAS, MAYRA            ADDRESS ON FILE
ALVAREZ FARO, BRENDA M.          ADDRESS ON FILE
ALVAREZ FEBLES, ROSALIGIA        ADDRESS ON FILE
ALVAREZ FEBRES, KENNETH          ADDRESS ON FILE
ALVAREZ FEBRES, KENNETH          ADDRESS ON FILE
Alvarez Febus, Carlos C.         ADDRESS ON FILE
Alvarez Febus, Nelida            ADDRESS ON FILE
ALVAREZ FELIBERTY, ANDREITA      ADDRESS ON FILE
ALVAREZ FELICIA, EDUARDO         ADDRESS ON FILE
Alvarez Feliciano, Angel D.      ADDRESS ON FILE
ALVAREZ FELICIANO, AXEL          ADDRESS ON FILE
ALVAREZ FELICIANO, AXEL R.       ADDRESS ON FILE
ALVAREZ FELICIANO, AXEL R.       ADDRESS ON FILE
ALVAREZ FELICIANO, ERWIN         ADDRESS ON FILE
ALVAREZ FELICIANO, LOURDES S.    ADDRESS ON FILE
ALVAREZ FELICIANO, MANUEL        ADDRESS ON FILE
ALVAREZ FELICIANO, RAMON L       ADDRESS ON FILE
ALVAREZ FELIX, ZELMA I           ADDRESS ON FILE
Alvarez Fernandez, Aladino       ADDRESS ON FILE
Alvarez Fernandez, Arcilio       ADDRESS ON FILE
ALVAREZ FERNANDEZ, FRANCISCO     ADDRESS ON FILE
ALVAREZ FERNANDEZ, JULIO         ADDRESS ON FILE
ALVAREZ FERNANDEZ, KATIUSKA      ADDRESS ON FILE
ALVAREZ FERRER, LESLIBETH        ADDRESS ON FILE
ALVAREZ FERRER, ROBERTO L        ADDRESS ON FILE
ALVAREZ FERRER, VICTOR E         ADDRESS ON FILE
Alvarez Figueoa, Rosa I          ADDRESS ON FILE




                                                                             Page 317 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 318 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ FIGUEROA, ADOLFO         ADDRESS ON FILE
ALVAREZ FIGUEROA, ALEXANDRA      ADDRESS ON FILE
ALVAREZ FIGUEROA, ANLIZ          ADDRESS ON FILE
ALVAREZ FIGUEROA, EMILY          ADDRESS ON FILE
Alvarez Figueroa, Hector         ADDRESS ON FILE
Alvarez Figueroa, Joann          ADDRESS ON FILE
ALVAREZ FIGUEROA, JOEL F.        ADDRESS ON FILE
ALVAREZ FIGUEROA, MARIA          ADDRESS ON FILE
Alvarez Figueroa, Maria De Los   ADDRESS ON FILE
ALVAREZ FIGUEROA, MARTA          ADDRESS ON FILE
ALVAREZ FIGUEROA, MILAGROS       ADDRESS ON FILE
ALVAREZ FIGUEROA, ONEIDA         ADDRESS ON FILE
ALVAREZ FIGUEROA, RAFAEL         ADDRESS ON FILE
ALVAREZ FIGUEROA, SAMUEL         ADDRESS ON FILE
ALVAREZ FIGUEROA, VICENTE        ADDRESS ON FILE
ALVAREZ FLORES, ELVIN            ADDRESS ON FILE
ALVAREZ FLORES, ELVIN J.         ADDRESS ON FILE
ALVAREZ FLORES, NANCY Y          ADDRESS ON FILE
ALVAREZ FLORES, ZAIDA            ADDRESS ON FILE
ALVAREZ FOLCH, JORGE             ADDRESS ON FILE
ALVAREZ FONSECA, CARMEN R        ADDRESS ON FILE
ALVAREZ FONSECA, GENARO          ADDRESS ON FILE
ALVAREZ FONSECA, JESUSA          ADDRESS ON FILE
ALVAREZ FONSECA, MATILDE         ADDRESS ON FILE
ALVAREZ FONSECA, NORBERTO        ADDRESS ON FILE
ALVAREZ FONTANEZ, ARACELIS       ADDRESS ON FILE
ALVAREZ FONTANEZ, CAROL B        ADDRESS ON FILE
ALVAREZ FONTANEZ, JACQUELINE     ADDRESS ON FILE
ALVAREZ FONTANEZ, LUIS R.        ADDRESS ON FILE
ALVAREZ FRAGUADA, WENSLEY        ADDRESS ON FILE
ALVAREZ FRANCESCHI, DARIANNE M   ADDRESS ON FILE
ALVAREZ FUENTES, CARMEN I        ADDRESS ON FILE
ALVAREZ FUENTES, MARIA           ADDRESS ON FILE
ALVAREZ GABRIEL, FRANCISCO       ADDRESS ON FILE
ALVAREZ GABRIEL, MICHAEL         ADDRESS ON FILE
ALVAREZ GALARZA, CARMEN M        ADDRESS ON FILE
ALVAREZ GALARZA, CARMEN M        ADDRESS ON FILE
ALVAREZ GALARZA, JOSE A.         ADDRESS ON FILE
ALVAREZ GALARZA, RADAMES         ADDRESS ON FILE
ALVAREZ GALVAN, LUIS A           ADDRESS ON FILE
ALVAREZ GANDEL, HECTOR           ADDRESS ON FILE
ALVAREZ GARCELL, SANDRA          ADDRESS ON FILE
ALVAREZ GARCIA, ABIGAIL          ADDRESS ON FILE
ALVAREZ GARCIA, ANGEL            ADDRESS ON FILE
ALVAREZ GARCIA, CLARA L          ADDRESS ON FILE
ALVAREZ GARCIA, ELAINE           ADDRESS ON FILE
Alvarez Garcia, Felipe           ADDRESS ON FILE
ALVAREZ GARCIA, FERNANDO         ADDRESS ON FILE
ALVAREZ GARCIA, JOAN             ADDRESS ON FILE
ALVAREZ GARCIA, JUANA            ADDRESS ON FILE
ALVAREZ GARCIA, LOURDES          ADDRESS ON FILE
ALVAREZ GARCIA, MADELINE         ADDRESS ON FILE
ALVAREZ GARCIA, MARITZA          ADDRESS ON FILE
ALVAREZ GARCIA, MARITZA          ADDRESS ON FILE
ALVAREZ GARCIA, MISAEL           ADDRESS ON FILE
ALVAREZ GARCIA, NANCY            ADDRESS ON FILE
ALVAREZ GARCIA, SAMUEL A         ADDRESS ON FILE
ALVAREZ GARCIA, VIVIANA          ADDRESS ON FILE
ALVAREZ GASTON, DIALMA           ADDRESS ON FILE
ALVAREZ GASTON, DIALMA C         ADDRESS ON FILE




                                                                             Page 318 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 319 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ GERENA, JOSE R.         ADDRESS ON FILE
ALVAREZ GERENA, ROSITA          ADDRESS ON FILE
ALVAREZ GIBOYEAUX, MERCEDES     ADDRESS ON FILE
ALVAREZ GOMEZ, IRIS             ADDRESS ON FILE
ALVAREZ GOMEZ, ISABEL           ADDRESS ON FILE
ALVAREZ GOMEZ, MELODIE M        ADDRESS ON FILE
ALVAREZ GONZALEZ, ABDEL         ADDRESS ON FILE
ALVAREZ GONZALEZ, ABDEL         ADDRESS ON FILE
ALVAREZ GONZALEZ, ANGEL         ADDRESS ON FILE
ALVAREZ GONZALEZ, ANGEL         ADDRESS ON FILE
Alvarez Gonzalez, Anicasia      ADDRESS ON FILE
ALVAREZ GONZALEZ, CARLOS        ADDRESS ON FILE
ALVAREZ GONZALEZ, CARMEN H      ADDRESS ON FILE
Alvarez Gonzalez, Cecilio       ADDRESS ON FILE
ALVAREZ GONZALEZ, DAMARIS       ADDRESS ON FILE
ALVAREZ GONZALEZ, DAVID         ADDRESS ON FILE
ALVAREZ GONZALEZ, EDGARDO R     ADDRESS ON FILE
ALVAREZ GONZALEZ, EFRAIN        ADDRESS ON FILE
ALVAREZ GONZALEZ, ENID          ADDRESS ON FILE
ALVAREZ GONZALEZ, EVELYN        ADDRESS ON FILE
ALVAREZ GONZALEZ, IDA I         ADDRESS ON FILE
ALVAREZ GONZALEZ, JANET         ADDRESS ON FILE
ALVAREZ GONZALEZ, JASON         ADDRESS ON FILE
ALVAREZ GONZALEZ, JESSIKA       ADDRESS ON FILE
ALVAREZ GONZALEZ, JESUS         ADDRESS ON FILE
ALVAREZ GONZALEZ, JESUS A       ADDRESS ON FILE
ALVAREZ GONZALEZ, JORGE         ADDRESS ON FILE
ALVAREZ GONZALEZ, JORGE LUIS    ADDRESS ON FILE
ALVAREZ GONZALEZ, JOSE          ADDRESS ON FILE
ALVAREZ GONZALEZ, JOSE          ADDRESS ON FILE
ALVAREZ GONZALEZ, JOSE JULIAN   ADDRESS ON FILE
ALVAREZ GONZALEZ, JUAN          ADDRESS ON FILE
ALVAREZ GONZALEZ, JUAN C        ADDRESS ON FILE
Alvarez Gonzalez, Juanita       ADDRESS ON FILE
ALVAREZ GONZALEZ, JUSTINA       ADDRESS ON FILE
ALVAREZ GONZALEZ, LYDIA E.      ADDRESS ON FILE
ALVAREZ GONZALEZ, MELVIN        ADDRESS ON FILE
ALVAREZ GONZALEZ, MIGUEL        ADDRESS ON FILE
ALVAREZ GONZALEZ, NANCY Z       ADDRESS ON FILE
ALVAREZ GONZALEZ, NANCY Z       ADDRESS ON FILE
ALVAREZ GONZALEZ, NORMA         ADDRESS ON FILE
ALVAREZ GONZALEZ, OLGA          ADDRESS ON FILE
ALVAREZ GONZALEZ, OLGA D.       ADDRESS ON FILE
ALVAREZ GONZALEZ, PABLO         ADDRESS ON FILE
ALVAREZ GONZALEZ, RAUL          ADDRESS ON FILE
ALVAREZ GONZALEZ, RICARDO       ADDRESS ON FILE
Alvarez Gonzalez, Ruben         ADDRESS ON FILE
ALVAREZ GONZALEZ, RUBEN         ADDRESS ON FILE
ALVAREZ GONZALEZ, SAMUEL        ADDRESS ON FILE
ALVAREZ GONZALEZ, SANDRA        ADDRESS ON FILE
ALVAREZ GONZALEZ, VERONICA      ADDRESS ON FILE
ALVAREZ GONZALEZ, VIMARIS       ADDRESS ON FILE
ALVAREZ GONZALEZ, WILSON        ADDRESS ON FILE
ALVAREZ GONZALEZ, YARITZA       ADDRESS ON FILE
ALVAREZ GONZALEZ, ZULIMAR       ADDRESS ON FILE
ALVAREZ GUTIERREZ MD, JOSE O    ADDRESS ON FILE
ALVAREZ GUTIERREZ, ALBERTO      ADDRESS ON FILE
ALVAREZ GUTIERREZ,TAMARY        ADDRESS ON FILE
ALVAREZ GUZMAN, CARMEN I        ADDRESS ON FILE
ALVAREZ GUZMAN, GUSTAVO         ADDRESS ON FILE




                                                                            Page 319 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 320 of 3500
                                                                                            Creditor Matrix

Creditor Name                            Address1                      Address2                          Address3      Address4             City          State   PostalCode   Country
ALVAREZ GUZMAN, KENNETH                  ADDRESS ON FILE
ALVAREZ GUZMAN, NAASON                   ADDRESS ON FILE
ALVAREZ GUZMAN, NESTOR L.                ADDRESS ON FILE
Alvarez Hance, Leonyl                    ADDRESS ON FILE
ALVAREZ HERNANDEZ, ADA I                 ADDRESS ON FILE
ALVAREZ HERNANDEZ, ANSELMO               ADDRESS ON FILE
ALVAREZ HERNANDEZ, ANTONIA               ADDRESS ON FILE
ALVAREZ HERNANDEZ, CHRISTIAN             ADDRESS ON FILE
ALVAREZ HERNANDEZ, DANILO JAVIER         ADDRESS ON FILE
ALVAREZ HERNANDEZ, GUSTAVO               ADDRESS ON FILE
ALVAREZ HERNANDEZ, HECTOR                ADDRESS ON FILE
ALVAREZ HERNANDEZ, HECTOR                ADDRESS ON FILE
Alvarez Hernandez, Jose M                ADDRESS ON FILE
ALVAREZ HERNANDEZ, LILLIAM               ADDRESS ON FILE
ALVAREZ HERNANDEZ, MARISE                ADDRESS ON FILE
ALVAREZ HERNANDEZ, NORBERTO              ADDRESS ON FILE
ALVAREZ HERNANDEZ, OSCAR                 ADDRESS ON FILE
ALVAREZ HERNANDEZ, SONIA M               ADDRESS ON FILE
ALVAREZ HERNANDEZ, ZORAYA                ADDRESS ON FILE
ALVAREZ HIDALGO, EMMA                    ADDRESS ON FILE
ALVAREZ IBANEZ, ALEJANDRA                ADDRESS ON FILE
ALVAREZ INOA, ANTONIO D.                 ADDRESS ON FILE

ÁLVAREZ INOA, ANTONIO Y/O 7: ORLANDO BERMLCDA. MARISEL BAEZ SANTIAGO   BANCO COOPERATIVO                 SUITE 802‐B   623 AVE PONCE DE LEÓN SAN JUAN     PR      00917
ALVAREZ IRIARTE, ANTONIO R               ADDRESS ON FILE
ALVAREZ IRIZARRY, CAROLYN                ADDRESS ON FILE
Alvarez Irizarry, Carolyn S.             ADDRESS ON FILE
ALVAREZ IRIZARRY, JOSE                   ADDRESS ON FILE
ALVAREZ IRIZARRY, JOZAIRY                ADDRESS ON FILE
ALVAREZ ISALES, BETSY                    ADDRESS ON FILE
ALVAREZ ISALES, LUZ                      ADDRESS ON FILE
ALVAREZ JACKSON, JUAN                    ADDRESS ON FILE
ALVAREZ JAIMES, YENNIFER                 ADDRESS ON FILE
ALVAREZ JIMENEZ, ANDREA                  ADDRESS ON FILE
ALVAREZ JIMENEZ, BLANCA M                ADDRESS ON FILE
ALVAREZ JIMENEZ, BLANCA M                ADDRESS ON FILE
ALVAREZ JIMENEZ, JOAQUIN                 ADDRESS ON FILE
ALVAREZ JORDAN, MARCOS                   ADDRESS ON FILE
ALVAREZ LABIOSA, LILLIAM                 ADDRESS ON FILE
ALVAREZ LABOY, CARMEN E.                 ADDRESS ON FILE
Alvarez Laboy, Katherine I               ADDRESS ON FILE
ALVAREZ LAGUER, WILFREDO                 ADDRESS ON FILE
ALVAREZ LAINES, BELINDA                  ADDRESS ON FILE
ALVAREZ LAINES, VANESA                   ADDRESS ON FILE
ALVAREZ LAMELA, JOSE                     ADDRESS ON FILE
ALVAREZ LEBRON, ALEXIS                   ADDRESS ON FILE
ALVAREZ LEBRON, ANGEL                    ADDRESS ON FILE
ALVAREZ LEBRON, JOSE L                   ADDRESS ON FILE
ALVAREZ LEBRON, MARIBEL                  ADDRESS ON FILE
ALVAREZ LEBRON, ROMUALDO                 ADDRESS ON FILE
ALVAREZ LEON, LUIS                       ADDRESS ON FILE
ALVAREZ LEON, MARISOL                    ADDRESS ON FILE
ALVAREZ LEON, PABLO                      ADDRESS ON FILE
ALVAREZ LEZAMA, MANUEL                   ADDRESS ON FILE
ALVAREZ LIMARDO, VERONICA                ADDRESS ON FILE
Alvarez Linares, Edgardo                 ADDRESS ON FILE
ALVAREZ LISBOA, ANA A                    ADDRESS ON FILE
ALVAREZ LISBOA, RAMSES J.                ADDRESS ON FILE
ALVAREZ LLANOS, CARMEN D.                ADDRESS ON FILE
ALVAREZ LLANOT, ANA M                    ADDRESS ON FILE




                                                                                           Page 320 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 321 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ LLORENS, WANDA        ADDRESS ON FILE
ALVAREZ LLORENS, YALEMARIE    ADDRESS ON FILE
ALVAREZ LOAYZA, CARLOS J      ADDRESS ON FILE
ALVAREZ LOPEZ, CARMEN I       ADDRESS ON FILE
ALVAREZ LOPEZ, CARMEN M.      ADDRESS ON FILE
Alvarez Lopez, Eliud          ADDRESS ON FILE
ALVAREZ LOPEZ, ISRAEL         ADDRESS ON FILE
ALVAREZ LOPEZ, JEANNETTE      ADDRESS ON FILE
ALVAREZ LOPEZ, JUAN           ADDRESS ON FILE
ALVAREZ LOPEZ, LUISA E        ADDRESS ON FILE
ALVAREZ LOPEZ, MARIA DEL C    ADDRESS ON FILE
ALVAREZ LOPEZ, MARIA DEL M.   ADDRESS ON FILE
ALVAREZ LOPEZ, MARIA I        ADDRESS ON FILE
ALVAREZ LOPEZ, MARIANELA      ADDRESS ON FILE
ALVAREZ LOPEZ, MARILYN        ADDRESS ON FILE
ALVAREZ LOPEZ, MARILYN        ADDRESS ON FILE
ALVAREZ LOPEZ, NOEMI          ADDRESS ON FILE
ALVAREZ LOPEZ, ROSA           ADDRESS ON FILE
ALVAREZ LOPEZ, ROXANN         ADDRESS ON FILE
ALVAREZ LOPEZ, SANDRA         ADDRESS ON FILE
ALVAREZ LOPEZ, TERESA         ADDRESS ON FILE
ALVAREZ LOPEZ, VICTOR         ADDRESS ON FILE
ALVAREZ LOPEZ, VICTOR         ADDRESS ON FILE
ALVAREZ LOPEZ, WANDA          ADDRESS ON FILE
ALVAREZ LOPEZ, WANDA I        ADDRESS ON FILE
ALVAREZ LOPEZ, ZORAIDA        ADDRESS ON FILE
ALVAREZ LOPEZ, ZORAIDA        ADDRESS ON FILE
ALVAREZ LORA, DAYNELLE        ADDRESS ON FILE
ALVAREZ LORA, DAYNELLE        ADDRESS ON FILE
ALVAREZ LOYOLA, EDGAR         ADDRESS ON FILE
ALVAREZ LOZADA, ALEJANDRO     ADDRESS ON FILE
ALVAREZ LOZADA, FLORENTINO    ADDRESS ON FILE
Alvarez Lozada, Ivelisse M    ADDRESS ON FILE
ALVAREZ LOZADA, MARTA         ADDRESS ON FILE
ALVAREZ LUCIANO, JOSE         ADDRESS ON FILE
ALVAREZ LUCIANO, MILAGROS     ADDRESS ON FILE
ALVAREZ LUGO, CARMEN E        ADDRESS ON FILE
ALVAREZ LUGO, FERNANDO        ADDRESS ON FILE
ALVAREZ LUGO, GEOVANNI        ADDRESS ON FILE
ALVAREZ LUGO, IRENE           ADDRESS ON FILE
ALVAREZ LUGO, JEANNETTE       ADDRESS ON FILE
ALVAREZ LUGO, SANTOS          ADDRESS ON FILE
ALVAREZ LUGO, ZULEYKA         ADDRESS ON FILE
ALVAREZ LUGO, ZULEYKA         ADDRESS ON FILE
ALVAREZ LUNA, HILDA H         ADDRESS ON FILE
ALVAREZ MALAVE, ANA E         ADDRESS ON FILE
ALVAREZ MALAVE, KATHERINE J   ADDRESS ON FILE
ALVAREZ MALDONADO, ARLENE     ADDRESS ON FILE
ALVAREZ MALDONADO, EDNA L     ADDRESS ON FILE
ALVAREZ MALDONADO, ELVIN      ADDRESS ON FILE
ALVAREZ MALDONADO, IVAN A     ADDRESS ON FILE
ALVAREZ MALDONADO, JAN L      ADDRESS ON FILE
ALVAREZ MALDONADO, JOEL       ADDRESS ON FILE
Alvarez Maldonado, Johnny     ADDRESS ON FILE
ALVAREZ MALDONADO, JORGE      ADDRESS ON FILE
ALVAREZ MALDONADO, KARINA M   ADDRESS ON FILE
ALVAREZ MALDONADO, LEIDA M.   ADDRESS ON FILE
Alvarez Maldonado, Rosalina   ADDRESS ON FILE
ALVAREZ MALDONADO, ROSALINA   ADDRESS ON FILE
ALVAREZ MALDONADO, SOFIA      ADDRESS ON FILE




                                                                          Page 321 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 322 of 3500
                                                                                 Creditor Matrix

Creditor Name                  Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
ALVAREZ MALPICA, JOSE          ADDRESS ON FILE
ALVAREZ MARCANO, LUIS          BRUNILDA FIGUEROA NATER   PO BOX 70244                                               SAN JUAN     PR      00936‐8244
ALVAREZ MARCANO, LUIS          ENILIO CANCIO BELLO       1702 CALLE SAN MATEO                                       SAN JUAN     PR      00912
ALVAREZ MARCANO, LUIS          RUBEN GONZALEZ CARO       PO BOX 193281                                              SAN JUAN     PR      00919‐3281
ALVAREZ MARIANI, JOHANNA       ADDRESS ON FILE
ALVAREZ MARIN, ROBERTO         ADDRESS ON FILE
ALVAREZ MARQUEZ, MARIA N       ADDRESS ON FILE
ALVAREZ MARRERO, CARLOS X      ADDRESS ON FILE
ALVAREZ MARRERO, EVA M         ADDRESS ON FILE
ALVAREZ MARRERO, IVONNE        ADDRESS ON FILE
Alvarez Marrero, Luis G        ADDRESS ON FILE
ALVAREZ MARRERO, OMAR          ADDRESS ON FILE
ALVAREZ MARSHALL, MONICA       ADDRESS ON FILE
ALVAREZ MARTE, ELSA            ADDRESS ON FILE
ALVAREZ MARTES, SONIA N        ADDRESS ON FILE
ALVAREZ MARTINEZ MD, NILDA     ADDRESS ON FILE
ALVAREZ MARTINEZ, AMARALIS N   ADDRESS ON FILE
ALVAREZ MARTINEZ, ANA V        ADDRESS ON FILE
ALVAREZ MARTINEZ, EDITH B      ADDRESS ON FILE
ALVAREZ MARTINEZ, EDWIN        ADDRESS ON FILE
ALVAREZ MARTINEZ, ELIEZER      ADDRESS ON FILE
ALVAREZ MARTINEZ, ELIMAR       ADDRESS ON FILE
Alvarez Martinez, Elis P       ADDRESS ON FILE
ALVAREZ MARTINEZ, FRANCISCO    ADDRESS ON FILE
ALVAREZ MARTINEZ, GERARDO      ADDRESS ON FILE
ALVAREZ MARTINEZ, GLENDA I.    ADDRESS ON FILE
ALVAREZ MARTINEZ, GLORY E.     ADDRESS ON FILE
ALVAREZ MARTINEZ, HECTOR       ADDRESS ON FILE
ALVAREZ MARTINEZ, HECTOR       ADDRESS ON FILE
ALVAREZ MARTINEZ, HECTOR L     ADDRESS ON FILE
ALVAREZ MARTINEZ, ISRAEL       ADDRESS ON FILE
ALVAREZ MARTINEZ, JOSE         ADDRESS ON FILE
ALVAREZ MARTINEZ, JOSE         ADDRESS ON FILE
ALVAREZ MARTINEZ, JOSE         ADDRESS ON FILE
ALVAREZ MARTINEZ, JOSE         ADDRESS ON FILE
ALVAREZ MARTINEZ, JOSE         ADDRESS ON FILE
ALVAREZ MARTINEZ, JOSE M       ADDRESS ON FILE
Alvarez Martinez, Jose M       ADDRESS ON FILE
ALVAREZ MARTINEZ, KEIRRY       ADDRESS ON FILE
ALVAREZ MARTINEZ, LUIS A.      ADDRESS ON FILE
ALVAREZ MARTINEZ, MIRIAM       ADDRESS ON FILE
ALVAREZ MARTINEZ, MYRNA        ADDRESS ON FILE
ALVAREZ MARTINEZ, NAYDA N.     ADDRESS ON FILE
ALVAREZ MARTINEZ, NORBERTO     ADDRESS ON FILE
ALVAREZ MARTINEZ, RADAMES      ADDRESS ON FILE
Alvarez Martinez, Raul         ADDRESS ON FILE
ALVAREZ MARTINEZ, SANDRA J     ADDRESS ON FILE
ALVAREZ MARTINEZ, VICTOR       ADDRESS ON FILE
ALVAREZ MARTINEZ, VIONNETTE    ADDRESS ON FILE
ALVAREZ MARTINEZ, WILLENIE     ADDRESS ON FILE
ALVAREZ MARTINEZ, WILLENIE     ADDRESS ON FILE
ALVAREZ MARTINEZ, ZULEIKA      ADDRESS ON FILE
ALVAREZ MARTINEZ,IDSI D.       ADDRESS ON FILE
ALVAREZ MATOS, GLORIA C        ADDRESS ON FILE
ALVAREZ MATOS, MIGUEL          ADDRESS ON FILE
ALVAREZ MATOS, VIRGEN M.       ADDRESS ON FILE
ALVAREZ MATTA, CARL            ADDRESS ON FILE
ALVAREZ MAYOL, MELISSA         ADDRESS ON FILE
ALVAREZ MAYSONET, MARISELA     ADDRESS ON FILE
ALVAREZ MD, BETHZAIDA          ADDRESS ON FILE




                                                                                Page 322 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 323 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ MEDINA RAUL ENRIQUE   ADDRESS ON FILE
ALVAREZ MEDINA, ANA C         ADDRESS ON FILE
Alvarez Medina, Angel         ADDRESS ON FILE
ALVAREZ MEDINA, ANIBAL        ADDRESS ON FILE
ALVAREZ MEDINA, HILDA M       ADDRESS ON FILE
ALVAREZ MEDINA, JANETTE       ADDRESS ON FILE
ALVAREZ MEDINA, JAVIER        ADDRESS ON FILE
ALVAREZ MEDINA, JAZEEL        ADDRESS ON FILE
Alvarez Medina, Johnny        ADDRESS ON FILE
ALVAREZ MEDINA, MARIA         ADDRESS ON FILE
ALVAREZ MEDINA, MARIA E       ADDRESS ON FILE
ALVAREZ MEDINA, MARILYN       ADDRESS ON FILE
ALVAREZ MEDINA, MELVIN        ADDRESS ON FILE
ALVAREZ MEDINA, MIGUEL        ADDRESS ON FILE
ALVAREZ MEDINA, PETRA         ADDRESS ON FILE
Alvarez Medina, Rafael        ADDRESS ON FILE
ALVAREZ MEDINA, ROSA          ADDRESS ON FILE
Alvarez Medina, Ruth          ADDRESS ON FILE
ALVAREZ MEDINA, YADIRA Y      ADDRESS ON FILE
ALVAREZ MELENDEZ, JOSE        ADDRESS ON FILE
ALVAREZ MELENDEZ, MAGDALI     ADDRESS ON FILE
ALVAREZ MELENDEZ, YVONNE A    ADDRESS ON FILE
ALVAREZ MENDEZ, CARMEN J.     ADDRESS ON FILE
Alvarez Mendez, Glorivee      ADDRESS ON FILE
ALVAREZ MENDEZ, IRIS          ADDRESS ON FILE
ALVAREZ MENDEZ, JESSICA       ADDRESS ON FILE
ALVAREZ MENDEZ, JOSE          ADDRESS ON FILE
ALVAREZ MENDEZ, LUIS          ADDRESS ON FILE
Alvarez Mendez, Margarita     ADDRESS ON FILE
Alvarez Mendez, Miguel A      ADDRESS ON FILE
ALVAREZ MENDOZA, MELQIADES    ADDRESS ON FILE
Alvarez Mendoza, Nelson       ADDRESS ON FILE
ALVAREZ MENENDEZ, RAFAEL      ADDRESS ON FILE
ALVAREZ MENENDEZ, ROSA I      ADDRESS ON FILE
Alvarez Mercado, Alfredo      ADDRESS ON FILE
ALVAREZ MERCADO, ANGEL I      ADDRESS ON FILE
ALVAREZ MERCADO, ANTONIA      ADDRESS ON FILE
Alvarez Mercado, Carlos       ADDRESS ON FILE
Alvarez Mercado, Edwin        ADDRESS ON FILE
ALVAREZ MERCADO, HELEN        ADDRESS ON FILE
ALVAREZ MERCADO, IVAN A       ADDRESS ON FILE
ALVAREZ MERCADO, IVONNE       ADDRESS ON FILE
ALVAREZ MERCADO, JOSE         ADDRESS ON FILE
Alvarez Mercado, Jose A       ADDRESS ON FILE
ALVAREZ MERCADO, LUZ A        ADDRESS ON FILE
ALVAREZ MERCADO, MARIA A      ADDRESS ON FILE
ALVAREZ MERCADO, NITZA        ADDRESS ON FILE
ALVAREZ MERCADO, TAMAR        ADDRESS ON FILE
ALVAREZ MERCER, JOHNNY        ADDRESS ON FILE
ALVAREZ MERCHAN, ALINA        ADDRESS ON FILE
ALVAREZ MILIAN, ABIGAIL       ADDRESS ON FILE
ALVAREZ MIRANDA, ELIUD        ADDRESS ON FILE
ALVAREZ MIRANDA, JONATHAN     ADDRESS ON FILE
ALVAREZ MIRANDA, LUIS         ADDRESS ON FILE
ALVAREZ MIRANDA, MIGUEL       ADDRESS ON FILE
ALVAREZ MIRANDA, YASIRI       ADDRESS ON FILE
ALVAREZ MIRANDA,CELSO         ADDRESS ON FILE
ALVAREZ MOJICA, JOSE          ADDRESS ON FILE
ALVAREZ MOJICA, VICTOR        ADDRESS ON FILE
ALVAREZ MOLINA MD, CARLOS J   ADDRESS ON FILE




                                                                          Page 323 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 324 of 3500
                                                                                                            Creditor Matrix

Creditor Name                        Address1                                    Address2                                Address3               Address4   City         State   PostalCode   Country
ALVAREZ MOLINA, ANA                  ADDRESS ON FILE
Alvarez Molina, Brenda Liz           ADDRESS ON FILE
ALVAREZ MOLINA, JOSE                 ADDRESS ON FILE
ALVAREZ MOLINA, MAYRA                ADDRESS ON FILE
ALVAREZ MOLINA, MAYRA A.             ADDRESS ON FILE
ALVAREZ MONGE, ISMAEL                ADDRESS ON FILE
Alvarez Monge, Ismael                ADDRESS ON FILE
ALVAREZ MONSEGUR, LOURDES            ADDRESS ON FILE
ALVAREZ MONTALVO, CARMEN J           ADDRESS ON FILE
Alvarez Montalvo, Edgar              ADDRESS ON FILE
ALVAREZ MONTALVO, JORGE              ADDRESS ON FILE
ALVAREZ MONTALVO, JORGE              ADDRESS ON FILE
ALVAREZ MONTALVO, JOSE B             ADDRESS ON FILE
ALVAREZ MONTALVO, VANESSA            ADDRESS ON FILE
ALVAREZ MONTAÑEZ, MARIE A. Y OTROS   DINORAH COLLAZO ORTIZ                       PO BOX 70128                                                              SAN JUAN     PR      00936‐8128
ALVAREZ MONTAÑEZ, MARIE A. Y OTROS   MARCOS RIVERA ORTIZ                         PLAZA ESCORIAL CINEMA                   LOCAL 5829 SUITE 207              CAROLINA     PR      00987
ALVAREZ MONTAÑEZ, MARIE A. Y OTROS   ORLAND CASTRO GARCÍA Y JULIO E. GIL DE LA MAREPARTO ALHAMBRA A‐11 CALLE GRANADA                                       BAYAMON      PR      00957
ALVAREZ MONTENEGRO, BERNADETTE       ADDRESS ON FILE
ALVAREZ MONTERO, JOAQUIN             ADDRESS ON FILE
ALVAREZ MONTERO, WANDA               ADDRESS ON FILE
ALVAREZ MONTERROSO, ROSA             ADDRESS ON FILE
ALVAREZ MONTES MD, JOSE R            ADDRESS ON FILE
ALVAREZ MORADO, MARIA DEL            ADDRESS ON FILE
ALVAREZ MORALES, ALICIA              ADDRESS ON FILE
ALVAREZ MORALES, AMAURY              ADDRESS ON FILE
ALVAREZ MORALES, AMAURY J.           ADDRESS ON FILE
ALVAREZ MORALES, EILEEN              ADDRESS ON FILE
ALVAREZ MORALES, ELIZABETH           ADDRESS ON FILE
Alvarez Morales, Emma N              ADDRESS ON FILE
ALVAREZ MORALES, ERIC                ADDRESS ON FILE
ALVAREZ MORALES, ERIKA               ADDRESS ON FILE
ALVAREZ MORALES, FERDINAND           ADDRESS ON FILE
ALVAREZ MORALES, FERNANDO            ADDRESS ON FILE
ALVAREZ MORALES, FRANCISCO           ADDRESS ON FILE
ALVAREZ MORALES, IONEL DAVID         ADDRESS ON FILE
ALVAREZ MORALES, IVETTE              ADDRESS ON FILE
ALVAREZ MORALES, LIZA                ADDRESS ON FILE
ALVAREZ MORALES, NAYDA R             ADDRESS ON FILE
ALVAREZ MORALES, NELSON X            ADDRESS ON FILE
ALVAREZ MORALES, OMAR                ADDRESS ON FILE
ALVAREZ MORALES, OMAR                ADDRESS ON FILE
ALVAREZ MORALES, OSVALDO             ADDRESS ON FILE
ALVAREZ MORALES, OSVALDO             ADDRESS ON FILE
ALVAREZ MORALES, ROBERT C            ADDRESS ON FILE
ALVAREZ MORALES, VICTOR M            ADDRESS ON FILE
ALVAREZ MOREL, MARGARITA E           ADDRESS ON FILE
ALVAREZ MORETA, MIGUEL               ADDRESS ON FILE
ALVAREZ MOSCOSO, MARIA               ADDRESS ON FILE
ALVAREZ MULLERT, TAIRIS              ADDRESS ON FILE
ALVAREZ MUNET, JAIME                 ADDRESS ON FILE
ALVAREZ MUNIZ, ARACELIS              ADDRESS ON FILE
ALVAREZ MUNIZ, GLORIA                ADDRESS ON FILE
ALVAREZ MUNOZ, ALVIN                 ADDRESS ON FILE
ALVAREZ MUNOZ, MARIA DE LOS A        ADDRESS ON FILE
Alvarez Munoz, Yanira                ADDRESS ON FILE
ALVAREZ MUNOZ, YANIRA                ADDRESS ON FILE
ALVAREZ MURPHY, ANA M                ADDRESS ON FILE
ALVAREZ NARVAEZ, JESUS               ADDRESS ON FILE
Alvarez Natal, Alexandra             ADDRESS ON FILE
ALVAREZ NATAL, ALEXANDRA             ADDRESS ON FILE




                                                                                                          Page 324 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 325 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ NATAL, JUAN               ADDRESS ON FILE
Alvarez Navarro, Roberto R        ADDRESS ON FILE
ALVAREZ NAVEDO, ELVIN             ADDRESS ON FILE
ALVAREZ NAZARIO, ANA N            ADDRESS ON FILE
ALVAREZ NAZARIO, CARMEN           ADDRESS ON FILE
ALVAREZ NAZARIO, EDGAR            ADDRESS ON FILE
ALVAREZ NAZARIO, NEYDA            ADDRESS ON FILE
ALVAREZ NAZARIO, SANDRA           ADDRESS ON FILE
ALVAREZ NAZARIO, SANDRA L         ADDRESS ON FILE
ALVAREZ NAZARIO, WANDA I          ADDRESS ON FILE
ALVAREZ NEGRON, ALEJANDRO         ADDRESS ON FILE
ALVAREZ NEGRON, DOMINGA O         ADDRESS ON FILE
ALVAREZ NEGRON, FERNANDO L        ADDRESS ON FILE
ALVAREZ NEGRON, JAILENE           ADDRESS ON FILE
ALVAREZ NEGRON, JOSEFA            ADDRESS ON FILE
ALVAREZ NEGRON, JUAN A            ADDRESS ON FILE
ALVAREZ NEGRON, JULIA             ADDRESS ON FILE
Alvarez Negron, Miguel A          ADDRESS ON FILE
ALVAREZ NEGRON, OCTAVIO           ADDRESS ON FILE
ALVAREZ NEGRON, YOLANDA M         ADDRESS ON FILE
ALVAREZ NIEVES, ALEJANDRO         ADDRESS ON FILE
Alvarez Nieves, Anel I            ADDRESS ON FILE
ALVAREZ NIEVES, DIANA             ADDRESS ON FILE
ALVAREZ NIEVES, IVETTE N.         ADDRESS ON FILE
ALVAREZ NIEVES, LIMARI            ADDRESS ON FILE
ALVAREZ NIEVES, NAYDA             ADDRESS ON FILE
ALVAREZ NIEVES, NAYDA I           ADDRESS ON FILE
ALVAREZ NIEVES, NELSON            ADDRESS ON FILE
Alvarez Nieves, Orlando           ADDRESS ON FILE
ALVAREZ NIEVES, ORLANDO           ADDRESS ON FILE
ALVAREZ NIEVES, WALESKA           ADDRESS ON FILE
ALVAREZ NIEVES, YASHIRA           ADDRESS ON FILE
ALVAREZ NOVALES, EDUARDO          ADDRESS ON FILE
ALVAREZ NUQEZ, SARA M             ADDRESS ON FILE
ALVAREZ OCASIO, ANGELICA          ADDRESS ON FILE
ALVAREZ OCASIO, MARIA             ADDRESS ON FILE
ALVAREZ OCASIO, TERESA            ADDRESS ON FILE
ALVAREZ OFRAY, AUDIE              ADDRESS ON FILE
ALVAREZ OHARRIZ, JOSE M           ADDRESS ON FILE
ALVAREZ OJEDA, GADIEL             ADDRESS ON FILE
ALVAREZ OJEDA, MYRNA I            ADDRESS ON FILE
ALVAREZ OJEDA, ORLANDO            ADDRESS ON FILE
ALVAREZ OLAZABAL, RICARDO         ADDRESS ON FILE
ALVAREZ OLIVO, OMAR               ADDRESS ON FILE
Alvarez Olmeda, Karine            ADDRESS ON FILE
ALVAREZ OLMEDA, MARIA DE LOS A.   ADDRESS ON FILE
ALVAREZ OLMO, YESAIRA             ADDRESS ON FILE
ALVAREZ ONEILL, JOSE              ADDRESS ON FILE
ALVAREZ ORENGO, DENISSA           ADDRESS ON FILE
ALVAREZ ORENGO, MELISSA           ADDRESS ON FILE
Alvarez Orozco, Alejandro         ADDRESS ON FILE
Alvarez Orriols, Reynaldo         ADDRESS ON FILE
ALVAREZ ORTIZ, CARLOS             ADDRESS ON FILE
ALVAREZ ORTIZ, CARMEN A           ADDRESS ON FILE
ALVAREZ ORTIZ, DINORAH DE J       ADDRESS ON FILE
ALVAREZ ORTIZ, ELIZABETH          ADDRESS ON FILE
Alvarez Ortiz, Erwin              ADDRESS ON FILE
ALVAREZ ORTIZ, HERMINIA           ADDRESS ON FILE
ALVAREZ ORTIZ, HUMBERTO           ADDRESS ON FILE
ALVAREZ ORTIZ, IXAMARIS           ADDRESS ON FILE




                                                                              Page 325 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 326 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ ORTIZ, JONATHAN      ADDRESS ON FILE
ALVAREZ ORTIZ, JOSE          ADDRESS ON FILE
ALVAREZ ORTIZ, JOSE F.       ADDRESS ON FILE
ALVAREZ ORTIZ, KILMA I       ADDRESS ON FILE
ALVAREZ ORTIZ, LEONEL        ADDRESS ON FILE
ALVAREZ ORTIZ, LILLIAM       ADDRESS ON FILE
ALVAREZ ORTIZ, LUIS          ADDRESS ON FILE
ALVAREZ ORTIZ, LUIS          ADDRESS ON FILE
ALVAREZ ORTIZ, MADELINE      ADDRESS ON FILE
ALVAREZ ORTIZ, MADELINE      ADDRESS ON FILE
ALVAREZ ORTIZ, MANUEL O      ADDRESS ON FILE
ALVAREZ ORTIZ, MARIE TERE    ADDRESS ON FILE
ALVAREZ ORTIZ, MARIMER       ADDRESS ON FILE
ALVAREZ ORTIZ, MARIO         ADDRESS ON FILE
ALVAREZ ORTIZ, MARITZA       ADDRESS ON FILE
ALVAREZ ORTIZ, NESTOR        ADDRESS ON FILE
ALVAREZ ORTIZ, OLGA          ADDRESS ON FILE
ALVAREZ ORTIZ, SARA          ADDRESS ON FILE
Alvarez Ortiz, Stephen       ADDRESS ON FILE
ALVAREZ ORTIZ, VIVIAN        ADDRESS ON FILE
ALVAREZ ORTIZ, YELITZA       ADDRESS ON FILE
ALVAREZ ORTIZ, ZILKIA I      ADDRESS ON FILE
ALVAREZ OTERO, ANGEL         ADDRESS ON FILE
ALVAREZ OTERO, JESUS         ADDRESS ON FILE
ALVAREZ OTERO, MARIA DEL C   ADDRESS ON FILE
ALVAREZ PABON, LUIS          ADDRESS ON FILE
ALVAREZ PACHECO, JAIME       ADDRESS ON FILE
ALVAREZ PACHECO, JOSE        ADDRESS ON FILE
ALVAREZ PADILLA, DALISA      ADDRESS ON FILE
ALVAREZ PADILLA, FREDDIE     ADDRESS ON FILE
ALVAREZ PADILLA, FREDDIE     ADDRESS ON FILE
ALVAREZ PADILLA, HUGO L.     ADDRESS ON FILE
ALVAREZ PADILLA, IVETTE      ADDRESS ON FILE
ALVAREZ PADILLA, JULIO       ADDRESS ON FILE
ALVAREZ PADILLA, LUZ S       ADDRESS ON FILE
ALVAREZ PADIN, RAMIN         ADDRESS ON FILE
ALVAREZ PADRO, FRANCHESCA    ADDRESS ON FILE
ALVAREZ PAGAN, ALBERTO       ADDRESS ON FILE
ALVAREZ PAGAN, ERICK O       ADDRESS ON FILE
ALVAREZ PAGAN, HECTOR        ADDRESS ON FILE
ALVAREZ PAGAN, HECTOR        ADDRESS ON FILE
ALVAREZ PAGAN, ISAIDA M      ADDRESS ON FILE
ALVAREZ PAGAN, LILLIAM       ADDRESS ON FILE
ALVAREZ PAGAN, LUIS A        ADDRESS ON FILE
ALVAREZ PANELLI, YOVALICE    ADDRESS ON FILE
Alvarez Paredes, Mario P.    ADDRESS ON FILE
ALVAREZ PEDRAZA, MARIA S     ADDRESS ON FILE
ALVAREZ PENA, JACQUELINE     ADDRESS ON FILE
ALVAREZ PENA, LUIS           ADDRESS ON FILE
ALVAREZ PEREIRA, ANGELIE     ADDRESS ON FILE
ALVAREZ PEREZ, AIXA          ADDRESS ON FILE
ALVAREZ PEREZ, ALFREDO       ADDRESS ON FILE
ALVAREZ PEREZ, ARIEL         ADDRESS ON FILE
ALVAREZ PEREZ, EDGAR         ADDRESS ON FILE
Alvarez Perez, Gilberto      ADDRESS ON FILE
ALVAREZ PEREZ, HECTOR        ADDRESS ON FILE
ALVAREZ PEREZ, ISAAC         ADDRESS ON FILE
ALVAREZ PEREZ, JAQUELINE     ADDRESS ON FILE
ALVAREZ PEREZ, JASMINE       ADDRESS ON FILE
Alvarez Perez, Javier        ADDRESS ON FILE




                                                                         Page 326 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 327 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ PEREZ, JOSE A.          ADDRESS ON FILE
ALVAREZ PEREZ, JOSE DEL C.      ADDRESS ON FILE
ALVAREZ PEREZ, JOSUE            ADDRESS ON FILE
ALVAREZ PEREZ, JUAN             ADDRESS ON FILE
ALVAREZ PEREZ, LUIS             ADDRESS ON FILE
ALVAREZ PEREZ, LUIS             ADDRESS ON FILE
ALVAREZ PEREZ, MAGDA            ADDRESS ON FILE
ALVAREZ PEREZ, MAGDA M          ADDRESS ON FILE
Alvarez Perez, Manuel J         ADDRESS ON FILE
ALVAREZ PEREZ, MARIA M          ADDRESS ON FILE
Alvarez Perez, Maritza          ADDRESS ON FILE
ALVAREZ PEREZ, NATALIO          ADDRESS ON FILE
ALVAREZ PEREZ, RAUL             ADDRESS ON FILE
ALVAREZ PEREZ, REINALDO         ADDRESS ON FILE
ALVAREZ PEREZ, ROBERTO          ADDRESS ON FILE
ALVAREZ PEREZ, ROBERTO          ADDRESS ON FILE
Alvarez Perez, Sigfredo         ADDRESS ON FILE
ALVAREZ PEREZ, SIGFREDO         ADDRESS ON FILE
ALVAREZ PEREZ, TATIANA          ADDRESS ON FILE
Alvarez Perez, Tito             ADDRESS ON FILE
Alvarez Perez, Victor L.        ADDRESS ON FILE
Alvarez Perez, William Ivan     ADDRESS ON FILE
Alvarez Perez, Xavier           ADDRESS ON FILE
ALVAREZ PESANTE, LUZ I.         ADDRESS ON FILE
Alvarez Pesante, Nathanael      ADDRESS ON FILE
ALVAREZ PETITON, CATALINA       ADDRESS ON FILE
ALVAREZ PIMENTEL, MARIBEL       ADDRESS ON FILE
ALVAREZ PINET, ANGEL            ADDRESS ON FILE
ALVAREZ PINET, MIGUEL           ADDRESS ON FILE
ALVAREZ PINET, RAFAEL           ADDRESS ON FILE
ALVAREZ PINO, ANGEL             ADDRESS ON FILE
ALVAREZ PINO, CRISTINA          ADDRESS ON FILE
ALVAREZ PITRE, CARMEN           ADDRESS ON FILE
ALVAREZ PIZARRO, CARMELO        ADDRESS ON FILE
ALVAREZ PIZARRO, VIRGEN         ADDRESS ON FILE
ALVAREZ PLAZA, CARMEN           ADDRESS ON FILE
ALVAREZ PLAZA, MARIA A          ADDRESS ON FILE
ALVAREZ PLUMEY, YADIRA Z.       ADDRESS ON FILE
Alvarez Ponce, Silmirey         ADDRESS ON FILE
ALVAREZ PONS, GILBERTO          ADDRESS ON FILE
ALVAREZ PONT MD, ANTOLIN J      ADDRESS ON FILE
ALVAREZ PORRATA, DELMA          ADDRESS ON FILE
ALVAREZ PORTAL, ALBERTO         ADDRESS ON FILE
ALVAREZ PRINCIPE, JOSE E        ADDRESS ON FILE
ALVAREZ QUINONES, ALBERTO       ADDRESS ON FILE
ALVAREZ QUINONES, ALEXIS        ADDRESS ON FILE
ALVAREZ QUINONES, CARLOS        ADDRESS ON FILE
Alvarez Quinones, Carlos J      ADDRESS ON FILE
ALVAREZ QUINONES, HECTOR        ADDRESS ON FILE
ALVAREZ QUINONES, NELSON        ADDRESS ON FILE
ALVAREZ QUINONES, NOEMI         ADDRESS ON FILE
ALVAREZ QUINONES, YEIKA         ADDRESS ON FILE
ALVAREZ QUINONEZ, ALTAGRACIA    ADDRESS ON FILE
ALVAREZ QUINONEZ, IVONNE        ADDRESS ON FILE
ALVAREZ QUINONEZ, MARIELKA      ADDRESS ON FILE
ALVAREZ QUINONEZ, ROLANDO       ADDRESS ON FILE
ALVAREZ QUINTANA, DAMARIS       ADDRESS ON FILE
ALVAREZ QUINTANA, FRANCISCO M   ADDRESS ON FILE
ALVAREZ QUINTANA, IVETTE M      ADDRESS ON FILE
ALVAREZ QUINTANA, SAMUEL        ADDRESS ON FILE




                                                                            Page 327 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 328 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City          State   PostalCode   Country
ALVAREZ QUINTANA, SAMUEL      ADDRESS ON FILE
ALVAREZ RALAT, MARITZA        ADDRESS ON FILE
ALVAREZ RAMAT, CHELATRIZ      ADDRESS ON FILE
ALVAREZ RAMIREZ, ALBERTO      ADDRESS ON FILE
ALVAREZ RAMIREZ, ANTOINETTE   ADDRESS ON FILE
ALVAREZ RAMIREZ, BLANCA A     ADDRESS ON FILE
Alvarez Ramirez, Eileen M     ADDRESS ON FILE
ALVAREZ RAMIREZ, ILIANA       ADDRESS ON FILE
ALVAREZ RAMIREZ, JOSE         ADDRESS ON FILE
ALVAREZ RAMIREZ, JULIO        ADDRESS ON FILE
ALVAREZ RAMIREZ, JULIO        ADDRESS ON FILE
ALVAREZ RAMIREZ, MADELINE     ADDRESS ON FILE
ALVAREZ RAMIREZ, MARALIZ      ADDRESS ON FILE
ALVAREZ RAMIREZ, MARICELY     ADDRESS ON FILE
ALVAREZ RAMIREZ, NESTOR       ADDRESS ON FILE
ALVAREZ RAMIREZ, RUTH N.      ADDRESS ON FILE
Alvarez Ramos, Carl M.        ADDRESS ON FILE
Alvarez Ramos, Carlos         ADDRESS ON FILE
ALVAREZ RAMOS, DILMARILYS     ADDRESS ON FILE
ALVAREZ RAMOS, HECTOR         ADDRESS ON FILE
Alvarez Ramos, Iris V         ADDRESS ON FILE
ALVAREZ RAMOS, JEANNETTE      ADDRESS ON FILE
ALVAREZ RAMOS, JONATHAN       ADDRESS ON FILE
ALVAREZ RAMOS, MERCEDES       ADDRESS ON FILE
ALVAREZ RAMOS, MICHELLE       ADDRESS ON FILE
ALVAREZ RAMOS, MIGUEL         ADDRESS ON FILE
Alvarez Ramos, Nilda I        ADDRESS ON FILE
ALVAREZ RAMOS, RAQUEL         ADDRESS ON FILE
ALVAREZ RAMOS, VILMARIE       ADDRESS ON FILE
ALVAREZ RAMOS, WANDY MAR      ADDRESS ON FILE
ALVAREZ RANGEL, MIGUEL        ADDRESS ON FILE
ALVAREZ REAL ESTATE PSC       PO BOX 147                                                                       AGUADILLA     PR      00690‐0147
ALVAREZ REMESAL, TANYA I      ADDRESS ON FILE
ALVAREZ REQUERO, SYLVIA L     ADDRESS ON FILE
ALVAREZ RESTO, VICTOR         ADDRESS ON FILE
ALVAREZ REYES, ADELAIDA       ADDRESS ON FILE
Alvarez Reyes, Adelaida       ADDRESS ON FILE
ALVAREZ REYES, ARMANDO        ADDRESS ON FILE
ALVAREZ REYES, CAROL I.       ADDRESS ON FILE
ALVAREZ REYES, JHENSEN        ADDRESS ON FILE
ALVAREZ REYES, JUAN           ADDRESS ON FILE
ALVAREZ REYES, JUDITH M       ADDRESS ON FILE
ALVAREZ REYES, MARJORIE       ADDRESS ON FILE
Alvarez Reyes, Miguel A       ADDRESS ON FILE
ALVAREZ REYES, ROCHELY        ADDRESS ON FILE
ALVAREZ REYES, SONIA          ADDRESS ON FILE
ALVAREZ REYES, SONIA          ADDRESS ON FILE
ALVAREZ REYES, YADIRA         ADDRESS ON FILE
ALVAREZ RIOS, ANA             ADDRESS ON FILE
ALVAREZ RIOS, ANGELICA        ADDRESS ON FILE
ALVAREZ RIOS, BRISEIDA        ADDRESS ON FILE
ALVAREZ RIOS, EDITH           ADDRESS ON FILE
ALVAREZ RIOS, FREDDIE         ADDRESS ON FILE
ALVAREZ RIOS, GLENITA         ADDRESS ON FILE
ALVAREZ RIOS, JAVIER          ADDRESS ON FILE
ALVAREZ RIOS, JOEL            ADDRESS ON FILE
ALVAREZ RIOS, JOSE J          ADDRESS ON FILE
ALVAREZ RIOS, JOSE M          ADDRESS ON FILE
ALVAREZ RIOS, JUDITH          ADDRESS ON FILE
ALVAREZ RIOS, LOURDES         ADDRESS ON FILE




                                                                          Page 328 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 329 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ RIOS, LUIS            ADDRESS ON FILE
ALVAREZ RIOS, MARIA DE L      ADDRESS ON FILE
ALVAREZ RIOS, ROSALIA         ADDRESS ON FILE
ALVAREZ RIOS, VICTOR          ADDRESS ON FILE
ALVAREZ RIOS, WALTER          ADDRESS ON FILE
ALVAREZ RIVAS, VICTOR         ADDRESS ON FILE
ALVAREZ RIVERA MD, CARLOS     ADDRESS ON FILE
ALVAREZ RIVERA, ADA           ADDRESS ON FILE
ALVAREZ RIVERA, ALEXANDER     ADDRESS ON FILE
ALVAREZ RIVERA, ALFREDO       ADDRESS ON FILE
ALVAREZ RIVERA, ALFREDO       ADDRESS ON FILE
ALVAREZ RIVERA, ANGEL         ADDRESS ON FILE
Alvarez Rivera, Angel L.      ADDRESS ON FILE
ALVAREZ RIVERA, ANNETTE       ADDRESS ON FILE
ALVAREZ RIVERA, ANTONIO       ADDRESS ON FILE
ALVAREZ RIVERA, ARELIS A      ADDRESS ON FILE
ALVAREZ RIVERA, BARBARA       ADDRESS ON FILE
ALVAREZ RIVERA, BERNARDO      ADDRESS ON FILE
ALVAREZ RIVERA, CARLOS        ADDRESS ON FILE
ALVAREZ RIVERA, CARLOS        ADDRESS ON FILE
ALVAREZ RIVERA, CARLOS J      ADDRESS ON FILE
ALVAREZ RIVERA, CARMEN        ADDRESS ON FILE
ALVAREZ RIVERA, CECILIO       ADDRESS ON FILE
ALVAREZ RIVERA, CECILIO D     ADDRESS ON FILE
ALVAREZ RIVERA, CLARIBEL      ADDRESS ON FILE
ALVAREZ RIVERA, DADMARY       ADDRESS ON FILE
ALVAREZ RIVERA, DAMARIS       ADDRESS ON FILE
ALVAREZ RIVERA, DAVID         ADDRESS ON FILE
ALVAREZ RIVERA, ENID          ADDRESS ON FILE
ALVAREZ RIVERA, EUGENIA       ADDRESS ON FILE
ALVAREZ RIVERA, FELIX         ADDRESS ON FILE
ALVAREZ RIVERA, FERDINAND     ADDRESS ON FILE
ALVAREZ RIVERA, FERDY I.      ADDRESS ON FILE
ALVAREZ RIVERA, GABRIEL       ADDRESS ON FILE
ALVAREZ RIVERA, HECTOR        ADDRESS ON FILE
ALVAREZ RIVERA, HECTOR        ADDRESS ON FILE
ALVAREZ RIVERA, IRMARI        ADDRESS ON FILE
ALVAREZ RIVERA, ISOLINA       ADDRESS ON FILE
ALVAREZ RIVERA, IVELISSE      ADDRESS ON FILE
ALVAREZ RIVERA, IVELISSE      ADDRESS ON FILE
ALVAREZ RIVERA, JESUS         ADDRESS ON FILE
ALVAREZ RIVERA, JESUS M.      ADDRESS ON FILE
ALVAREZ RIVERA, JONATHAN      ADDRESS ON FILE
ALVAREZ RIVERA, JOSE          ADDRESS ON FILE
ALVAREZ RIVERA, JOSE          ADDRESS ON FILE
ALVAREZ RIVERA, JOSE          ADDRESS ON FILE
ALVAREZ RIVERA, JOSE M        ADDRESS ON FILE
ALVAREZ RIVERA, JOSE R        ADDRESS ON FILE
ALVAREZ RIVERA, JOSHUA        ADDRESS ON FILE
ALVAREZ RIVERA, JOYCE         ADDRESS ON FILE
ALVAREZ RIVERA, JUAN          ADDRESS ON FILE
ALVAREZ RIVERA, JUAN          ADDRESS ON FILE
ALVAREZ RIVERA, JUAN C.       ADDRESS ON FILE
ALVAREZ RIVERA, LUIS          ADDRESS ON FILE
ALVAREZ RIVERA, MANUEL        ADDRESS ON FILE
ALVAREZ RIVERA, MANUEL        ADDRESS ON FILE
Alvarez Rivera, Margarita     ADDRESS ON FILE
ALVAREZ RIVERA, MARIA         ADDRESS ON FILE
ALVAREZ RIVERA, MARIA DEL C   ADDRESS ON FILE
ALVAREZ RIVERA, MARIA V       ADDRESS ON FILE




                                                                          Page 329 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 330 of 3500
                                                                                                     Creditor Matrix

Creditor Name                        Address1                          Address2                                   Address3      Address4   City         State   PostalCode   Country
ALVAREZ RIVERA, MARILYN              ADDRESS ON FILE
ALVAREZ RIVERA, NATALIA              ADDRESS ON FILE
ALVAREZ RIVERA, NAURY G              ADDRESS ON FILE
ALVAREZ RIVERA, NEIZKA Y             ADDRESS ON FILE
ALVAREZ RIVERA, NIDIA N              ADDRESS ON FILE
ALVAREZ RIVERA, NIEVES               ADDRESS ON FILE
ALVAREZ RIVERA, OCTAVIO              ADDRESS ON FILE
Alvarez Rivera, Ramon E.             ADDRESS ON FILE
ALVAREZ RIVERA, RAMONITA             ADDRESS ON FILE
ALVAREZ RIVERA, RAMONITA             ADDRESS ON FILE
ALVAREZ RIVERA, ROBERTO              ADDRESS ON FILE
ALVAREZ RIVERA, SANDRA               ADDRESS ON FILE
ALVAREZ RIVERA, STEPHANIE            ADDRESS ON FILE
ALVAREZ RIVERA, WILEYDA              ADDRESS ON FILE
ALVAREZ RIVERA, WILMA J.             ADDRESS ON FILE
ALVAREZ RIVERA, WILNERYS             ADDRESS ON FILE
ALVAREZ RIVERA, YAMARIS I            ADDRESS ON FILE
ALVAREZ RIVERO, BETHSAIDA            ADDRESS ON FILE
ALVAREZ ROA, EDWIN                   ADDRESS ON FILE
ALVAREZ ROBLES, EMILIO               ADDRESS ON FILE
ALVAREZ ROCHE, CRUZ                  ADDRESS ON FILE
ALVAREZ RODRIGUEZ, AIDA              ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ALBERTO           ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ALEX              ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ANA               ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ANGEL             ADDRESS ON FILE
ALVAREZ RODRÍGUEZ, ANTONIO           LDO IVAN L TORRES RODRIGUEZ       APARTADO 358                                                        PATILLAS     PR      00723
ALVAREZ RODRIGUEZ, ARIEL             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, BRENDA            ADDRESS ON FILE
ALVAREZ RODRIGUEZ, BRYAN             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, CARMEN A          ADDRESS ON FILE
ALVAREZ RODRIGUEZ, DOMINGO           ADDRESS ON FILE
ALVAREZ RODRIGUEZ, EDDIE             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, EDWIN             ADDRESS ON FILE
Alvarez Rodriguez, Enos              ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ENRIQUE           ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ERWIN             ADDRESS ON FILE
Alvarez Rodriguez, Erwin             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, EVA I             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, EVELYN            ADDRESS ON FILE
ALVAREZ RODRIGUEZ, FELICITA          ADDRESS ON FILE
ALVAREZ RODRIGUEZ, FELIX             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, FERNANDO          ADDRESS ON FILE
ALVAREZ RODRIGUEZ, FERNANDO J        ADDRESS ON FILE
ALVAREZ RODRIGUEZ, GIPSY             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, IRIS A            ADDRESS ON FILE
ALVAREZ RODRIGUEZ, JESSICA           ADDRESS ON FILE
ALVAREZ RODRIGUEZ, JESSICA           ADDRESS ON FILE
ALVAREZ RODRIGUEZ, JESUS A.          ADDRESS ON FILE
ÁLVAREZ RODRÍGUEZ, JOAQUÍN Y OTROS   LCDO. JESÚS M. JIMÉNEZ GONZÁLEZ   LCDO. JESÚS M. JIMÉNEZ GONZÁLEZ            PO BOX 3025              GUAYAMA      PR      00785
ALVAREZ RODRIGUEZ, JORGE             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, JOSE              ADDRESS ON FILE
ALVAREZ RODRIGUEZ, JOSE A            ADDRESS ON FILE
ALVAREZ RODRIGUEZ, JOSE H            ADDRESS ON FILE
ALVAREZ RODRIGUEZ, KAIRA             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, KAIRA             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, KAREN             ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LEIDA L           ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LISSETTE          ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LUCILA            ADDRESS ON FILE




                                                                                                   Page 330 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 331 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ RODRIGUEZ, LUIS         ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LUIS A       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LUIS A       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LUIS E       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LUZ B        ADDRESS ON FILE
ALVAREZ RODRIGUEZ, LUZ M.       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, MADELINE     ADDRESS ON FILE
ALVAREZ RODRIGUEZ, MARGARITA    ADDRESS ON FILE
ALVAREZ RODRIGUEZ, MARIA A      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, MARIA I.     ADDRESS ON FILE
Alvarez Rodriguez, Maria L      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, MARIETTA     ADDRESS ON FILE
Alvarez Rodriguez, Marlyn E     ADDRESS ON FILE
ALVAREZ RODRIGUEZ, MILDRED      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, NILDA L.     ADDRESS ON FILE
ALVAREZ RODRIGUEZ, NORMA I      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, OMAR         ADDRESS ON FILE
ALVAREZ RODRIGUEZ, PABLO        ADDRESS ON FILE
Alvarez Rodriguez, Ramon        ADDRESS ON FILE
ALVAREZ RODRIGUEZ, REBECA       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, REBECA       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, RICARDO      ADDRESS ON FILE
Alvarez Rodriguez, Roberto      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, ROLANDO      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, SANTIAGO     ADDRESS ON FILE
ALVAREZ RODRIGUEZ, SYLVIA       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, TRICIA       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, VICMARIE     ADDRESS ON FILE
ALVAREZ RODRIGUEZ, WALESKA      ADDRESS ON FILE
ALVAREZ RODRIGUEZ, WALLACE R.   ADDRESS ON FILE
ALVAREZ RODRIGUEZ, YADIEL       ADDRESS ON FILE
ALVAREZ RODRIGUEZ, YASHIRA      ADDRESS ON FILE
ALVAREZ ROHENA, ANA DELIA       ADDRESS ON FILE
ALVAREZ ROHENA, JOSE A.         ADDRESS ON FILE
Alvarez Rohena, Jose L          ADDRESS ON FILE
Alvarez Rohena, Marcial O       ADDRESS ON FILE
ALVAREZ ROJAS, FAVIANA          ADDRESS ON FILE
ALVAREZ ROJAS, FAVIANA          ADDRESS ON FILE
ALVAREZ ROJAS, JAIME            ADDRESS ON FILE
ALVAREZ ROLDAN, DIANA           ADDRESS ON FILE
ALVAREZ ROLDAN, MIGDALIA        ADDRESS ON FILE
ALVAREZ ROLDAN, NORMA E         ADDRESS ON FILE
ALVAREZ ROLDAN, OSVALDO         ADDRESS ON FILE
ALVAREZ ROLON, JOSELYNE         ADDRESS ON FILE
ALVAREZ ROLON, NELSON           ADDRESS ON FILE
Alvarez Roman, Erik A           ADDRESS ON FILE
ALVAREZ ROMAN, JOSE             ADDRESS ON FILE
ALVAREZ ROMAN, RACHEL I         ADDRESS ON FILE
ALVAREZ ROMAN, VICTOR M.        ADDRESS ON FILE
ALVAREZ ROMERO, FRANCISCO J.    ADDRESS ON FILE
ALVAREZ ROMERO, FRANCISCO J.    ADDRESS ON FILE
ALVAREZ ROMERO, MANUEL E.       ADDRESS ON FILE
ALVAREZ ROMERO, SONIA           ADDRESS ON FILE
ALVAREZ ROMERO, VICTOR A        ADDRESS ON FILE
ALVAREZ RONDA, IVENET           ADDRESS ON FILE
ALVAREZ RONDON MD, CARMEN       ADDRESS ON FILE
ALVAREZ RONDON MD, CARMEN M     ADDRESS ON FILE
ALVAREZ RONDON, AWILDA          ADDRESS ON FILE
ALVAREZ RONDON, CARMEN          ADDRESS ON FILE
ALVAREZ ROSA, DOMINGO L         ADDRESS ON FILE




                                                                            Page 331 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 332 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ ROSA, NEREIDA               ADDRESS ON FILE
ALVAREZ ROSA, NILDA M               ADDRESS ON FILE
ALVAREZ ROSADO, DELIA               ADDRESS ON FILE
ALVAREZ ROSADO, JOSE A.             ADDRESS ON FILE
ALVAREZ ROSADO, MARIBEL             ADDRESS ON FILE
ALVAREZ ROSADO, NARDA M             ADDRESS ON FILE
ALVAREZ ROSADO, VIVIANA             ADDRESS ON FILE
ALVAREZ ROSARIO, ANGEL              ADDRESS ON FILE
Alvarez Rosario, Angel L            ADDRESS ON FILE
Alvarez Rosario, Bernardo           ADDRESS ON FILE
Alvarez Rosario, Francis A          ADDRESS ON FILE
ALVAREZ ROSARIO, OMAYRA             ADDRESS ON FILE
Alvarez Rosario, Reinaldo L         ADDRESS ON FILE
ALVAREZ ROSSY, WLFREDO              ADDRESS ON FILE
ALVAREZ ROURE, LOURDES              ADDRESS ON FILE
ALVAREZ ROURE, LOURDES M.           ADDRESS ON FILE
ALVAREZ ROURE, LOURDESM             ADDRESS ON FILE
ALVAREZ RUBERT, EVANGELINE          ADDRESS ON FILE
ALVAREZ RUIZ MD, JESUS              ADDRESS ON FILE
ALVAREZ RUIZ, ALEJANDRA             ADDRESS ON FILE
ALVAREZ RUIZ, CARLOS                ADDRESS ON FILE
ALVAREZ RUIZ, CHRISTIAN             ADDRESS ON FILE
ALVAREZ RUIZ, GLORIA L              ADDRESS ON FILE
ALVAREZ RUIZ, JOSE                  ADDRESS ON FILE
ALVAREZ RUIZ, LILLIANA              ADDRESS ON FILE
ALVAREZ RUIZ, LUIS A.               ADDRESS ON FILE
ALVAREZ RUIZ, MARGARITA             ADDRESS ON FILE
ALVAREZ RUIZ, MIGDALIA              ADDRESS ON FILE
ALVAREZ RUIZ, MILDRED               ADDRESS ON FILE
ALVAREZ RUIZ, RANFIS                ADDRESS ON FILE
ALVAREZ RUIZ, YARITZA               ADDRESS ON FILE
ALVAREZ SALAMAN, RAMON              ADDRESS ON FILE
ALVAREZ SALAZAR, CLAUDIA            ADDRESS ON FILE
ALVAREZ SALDANA, ANGEL              ADDRESS ON FILE
ALVAREZ SANABRIA, ALBERTO           ADDRESS ON FILE
ALVAREZ SANABRIA, ALBERTO           ADDRESS ON FILE
ALVAREZ SANABRIA, RAYMOND           ADDRESS ON FILE
ALVAREZ SANCHEZ, AMARILYS           ADDRESS ON FILE
ALVAREZ SANCHEZ, BELISA L           ADDRESS ON FILE
ALVAREZ SANCHEZ, CARMEN M           ADDRESS ON FILE
ALVAREZ SANCHEZ, JOHANNA            ADDRESS ON FILE
ALVAREZ SANCHEZ, JOHANNA            ADDRESS ON FILE
ALVAREZ SANCHEZ, LOIDA              ADDRESS ON FILE
ALVAREZ SANCHEZ, LOURDES            ADDRESS ON FILE
ALVAREZ SANCHEZ, LYDIA M            ADDRESS ON FILE
ALVAREZ SANCHEZ, MAYRA S            ADDRESS ON FILE
ALVAREZ SANCHEZ, MILVIA             ADDRESS ON FILE
ALVAREZ SANCHEZ, OLGA               ADDRESS ON FILE
ALVAREZ SANCHEZ, ROSAURA            ADDRESS ON FILE
ALVAREZ SANCHEZ, RUPERTO            ADDRESS ON FILE
ALVAREZ SANTANA MD, HECTOR          ADDRESS ON FILE
Alvarez Santana, Daniel             ADDRESS ON FILE
ALVAREZ SANTANA, DANIEL             ADDRESS ON FILE
ALVAREZ SANTANA, JUANITA            ADDRESS ON FILE
ALVAREZ SANTANA, LUIS               ADDRESS ON FILE
ALVAREZ SANTANA, SANDRA XIOMARA     ADDRESS ON FILE
ALVAREZ SANTIAGO                    ADDRESS ON FILE
ALVAREZ SANTIAGO MD, PRAXEDES       ADDRESS ON FILE
ALVAREZ SANTIAGO, ANDERSON MANUEL   ADDRESS ON FILE
ALVAREZ SANTIAGO, BETTY             ADDRESS ON FILE




                                                                                Page 332 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 333 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                     Address2                     Address3   Address4    City         State   PostalCode   Country
ALVAREZ SANTIAGO, CARMEN M.        ADDRESS ON FILE
ALVAREZ SANTIAGO, EDWIN            ADDRESS ON FILE
ALVAREZ SANTIAGO, EFRAIN           ADDRESS ON FILE
ALVAREZ SANTIAGO, ELSA V.          ADDRESS ON FILE
ALVAREZ SANTIAGO, ELSIE S          ADDRESS ON FILE
ALVAREZ SANTIAGO, FRANCISCO        ADDRESS ON FILE
Alvarez Santiago, Francisco J      ADDRESS ON FILE
ALVAREZ SANTIAGO, JOSE             ADDRESS ON FILE
ALVAREZ SANTIAGO, JOSE             ADDRESS ON FILE
ALVAREZ SANTIAGO, JOSE A.          ADDRESS ON FILE
ALVAREZ SANTIAGO, JUAN             ADDRESS ON FILE
ALVAREZ SANTIAGO, JUAN R           ADDRESS ON FILE
ALVAREZ SANTIAGO, LADIZ M          ADDRESS ON FILE
Alvarez Santiago, Luis A           ADDRESS ON FILE
ALVAREZ SANTIAGO, MAGDALENA        ADDRESS ON FILE
ALVAREZ SANTIAGO, NARCISO          ADDRESS ON FILE
ALVAREZ SANTIAGO, PEDRO J          ADDRESS ON FILE
ALVAREZ SANTIAGO, PRAXEDES         ADDRESS ON FILE
ALVAREZ SANTIAGO, RAQUEL           ADDRESS ON FILE
Alvarez Santiago, Raquel           ADDRESS ON FILE
Alvarez Santiago, Raul A           ADDRESS ON FILE
Alvarez Santiago, Roberto          ADDRESS ON FILE
ALVAREZ SANTIAGO, RUTH             ADDRESS ON FILE
ALVAREZ SANTIAGO, RUTH             ADDRESS ON FILE
ALVAREZ SANTIAGO, YARA             ADDRESS ON FILE
ALVAREZ SANTIESTEBAN, YOSVANI      ADDRESS ON FILE
ALVAREZ SASTRE, MONICA             ADDRESS ON FILE
ALVAREZ SEGUI, MARIA B             ADDRESS ON FILE
ALVAREZ SEGUI, MARIA B             ADDRESS ON FILE
ALVAREZ SEMIDEI, LUIS D            ADDRESS ON FILE
ALVAREZ SEMIDEY, ROSALLYS J.       ADDRESS ON FILE
ALVAREZ SERRANO, ELSIE             ADDRESS ON FILE
ALVAREZ SERRANO, WANDA             ADDRESS ON FILE
ALVAREZ SIERRA, MARIA I            ADDRESS ON FILE
ALVAREZ SIERRA, RICARDO            ADDRESS ON FILE
ALVAREZ SILVA, JUSMARIE            ADDRESS ON FILE
ALVAREZ SILVA, RAFAEL C            ADDRESS ON FILE
ALVAREZ SILVA, YANIRA              ADDRESS ON FILE
ALVAREZ SOLIS, MIGUEL              ADDRESS ON FILE
ALVAREZ SOSA, EDUARDO              ADDRESS ON FILE
ALVAREZ SOSA, YTSHAYRA             ADDRESS ON FILE
ALVAREZ SOTO, ANA                  ADDRESS ON FILE
ALVAREZ SOTO, ELIZABETH            ADDRESS ON FILE
ALVAREZ SOTO, GRISZELIDETH         ADDRESS ON FILE
ALVAREZ SOTO, NEREIDA              ADDRESS ON FILE
ALVAREZ SOTO, RIGOBERTO            ADDRESS ON FILE
ALVAREZ SOTO, YANILTE              ADDRESS ON FILE
ALVAREZ SUAREZ, ARMANDO            ADDRESS ON FILE
ALVAREZ SUAREZ, JOSE               ADDRESS ON FILE
ALVAREZ SUAREZ, MILAGROS           ADDRESS ON FILE
ALVAREZ SUAREZ, MINNIELI           ADDRESS ON FILE
ALVAREZ SURIA, LUIS                ADDRESS ON FILE
ALVAREZ SWIHART, RICARDO DAVID     ADDRESS ON FILE
ALVAREZ TAVAREZ, JOMARYS M         ADDRESS ON FILE
ALVAREZ TAVAREZ, JORGE             ADDRESS ON FILE
ALVAREZ TECHNICAL SERVICES         RR‐04 BOX 717 CERRO GORDO                                                        BAYAMON      PR      00956
ALVAREZ TECHNICAL SERVICES, INC.   RR BOX 717 BO. CERRO GORDO                                                       BAYAMON      PR      00956‐0000
ALVAREZ TERRON, CARLOS L           ADDRESS ON FILE
ALVAREZ TEXIDOR, MARTA M           ADDRESS ON FILE
Alvarez Toledo, Jose               ADDRESS ON FILE




                                                                               Page 333 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 334 of 3500
                                                                                        Creditor Matrix

Creditor Name                    Address1                      Address2                              Address3              Address4   City         State   PostalCode   Country
ALVAREZ TOLEDO, JOSE             ADDRESS ON FILE
ALVAREZ TOLEDO, MILADY           ADDRESS ON FILE
ALVAREZ TORRALES, FRANK          ADDRESS ON FILE
ALVAREZ TORRES MD, MARIAM        ADDRESS ON FILE
ALVAREZ TORRES, ABIMAEL          ADDRESS ON FILE
ALVAREZ TORRES, ADALBERTO        ADDRESS ON FILE
ALVAREZ TORRES, ANDRES           ADDRESS ON FILE
ALVAREZ TORRES, ANGEL            ADDRESS ON FILE
Alvarez Torres, Angel L          ADDRESS ON FILE
ALVAREZ TORRES, CARLOS           ADDRESS ON FILE
ALVAREZ TORRES, CARMEN           ADDRESS ON FILE
ALVAREZ TORRES, CARMEN I         ADDRESS ON FILE
ALVAREZ TORRES, CATHERINE        ADDRESS ON FILE
ALVAREZ TORRES, CATHERINE        ADDRESS ON FILE
ALVAREZ TORRES, CRUZ D           ADDRESS ON FILE
ALVAREZ TORRES, DAMARIS          ADDRESS ON FILE
ALVAREZ TORRES, DARA N.          ADDRESS ON FILE
ALVAREZ TORRES, EFRAIN M.        ADDRESS ON FILE
ALVAREZ TORRES, ELVING           ADDRESS ON FILE
ALVAREZ TORRES, JOSE             ADDRESS ON FILE
Alvarez Torres, Jose E           ADDRESS ON FILE
ALVAREZ TORRES, LESTER ANTONIO   ADDRESS ON FILE
Alvarez Torres, Luis R.          ADDRESS ON FILE
ALVAREZ TORRES, LUZ              ADDRESS ON FILE
ALVAREZ TORRES, LUZ Z.           ADDRESS ON FILE
ALVAREZ TORRES, MARIA T          ADDRESS ON FILE
ALVAREZ TORRES, MARINA           ADDRESS ON FILE
ALVAREZ TORRES, MARINA           ADDRESS ON FILE
ALVAREZ TORRES, MARITZA          ADDRESS ON FILE
ALVAREZ TORRES, MARTA            ADDRESS ON FILE
ALVAREZ TORRES, MILAGROS         ADDRESS ON FILE
ALVAREZ TORRES, MILDRED          ADDRESS ON FILE
ALVAREZ TORRES, NILDA            ADDRESS ON FILE
ALVAREZ TORRES, NITZA I.         ADDRESS ON FILE
Alvarez Torres, Pedro            ADDRESS ON FILE
ALVAREZ TORRES, RENEE            ADDRESS ON FILE
ALVAREZ TORRES, SAMUEL           ADDRESS ON FILE
ALVAREZ TORRES, SERGIO           ADDRESS ON FILE
ALVAREZ TORRES, VIRGIE           ADDRESS ON FILE
ALVAREZ TORRES, VIVIAN           ADDRESS ON FILE
ALVAREZ TORRES, WALDEMAR         ADDRESS ON FILE
ALVAREZ TORRES, WILSON           ADDRESS ON FILE
ALVAREZ TRADING INC              FERNANDEZ JUNCOS STATION      PO BOX 11124                                                           SAN JUAN     PR      00910
ALVAREZ TRAN, CRISTINA           AMANCIO ARIAS GUARDIOLA       PO BOX 13727                                                           SAN JUAN     PR      00908‐3727
ALVAREZ TRAN, CRISTINA           FRANCISCO J. COLON PAGAN      PO BOX 9023355                                                         SAN JUAN     PR      00902‐3355
                                                                                                     1126 ASHFORD AVENUE
ALVAREZ TRAN, CRISTINA           HOMERO GONZALEZ LÓPEZ         EDIFICIO DIPLOMAT                     SUITE C 10                       SAN JUAN     PR      00907
ALVAREZ TRAN, CRISTINA           IRENE REYES DIEZ              PO BOX 365067                                                          SAN JUAN     PR      00936‐5067
ALVAREZ TRAN, CRISTINA           MANUEL A PIETRANTONI CABREA   250 AVE. MUNOZ RIVERA                 SUITE 800                        SAN JUAN     PR      00918‐1813
ALVAREZ TRAN, CRISTINA           MARTA E. VILA BAEZ            PO BOX 195055                                                          SAN JUAN     PR      00919‐5055
ALVAREZ TRAN, CRISTINA           PEDRO SOLERMUÑIZ              1357 ASHFORD AVENUE 2                 PMB 106                          SAN JUAN     PR      00907
ALVAREZ TRAN, CRISTINA           SIGRID LOPEZ GONZALEZ         PO BOX 195233                                                          SAN JUAN     PR      00919‐5233
ALVAREZ TRAVERZO, LISSETTE       ADDRESS ON FILE
ALVAREZ TROSSI, DORIS A          ADDRESS ON FILE
ALVAREZ ULLOA, MARIELI           ADDRESS ON FILE
ALVAREZ VALDERRAMA, RENE         ADDRESS ON FILE
ALVAREZ VALDES, MARIA A          ADDRESS ON FILE
ALVAREZ VALDEZ, HAYDEE M         ADDRESS ON FILE
ALVAREZ VALENTIN, ADRIAN         ADDRESS ON FILE
ALVAREZ VALENTIN, ANGEL          ADDRESS ON FILE




                                                                                       Page 334 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 335 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVAREZ VALENTIN, CARMEN S       ADDRESS ON FILE
ALVAREZ VALENTIN, DALITZA        ADDRESS ON FILE
ALVAREZ VALENTIN, DANIEL         ADDRESS ON FILE
ALVAREZ VALENTIN, DANIEL         ADDRESS ON FILE
ALVAREZ VALENTIN, DANNY          ADDRESS ON FILE
ALVAREZ VALENTIN, FRANCISCO      ADDRESS ON FILE
ALVAREZ VALENTIN, FRANCISCO J    ADDRESS ON FILE
ALVAREZ VALENTIN, JULIA          ADDRESS ON FILE
ALVAREZ VALENTIN, LOURDES        ADDRESS ON FILE
ALVAREZ VALENTIN, LUIS R         ADDRESS ON FILE
ALVAREZ VALENTIN, MARIO          ADDRESS ON FILE
ALVAREZ VALENTIN, MARISOL        ADDRESS ON FILE
ALVAREZ VALENTIN, MARK           ADDRESS ON FILE
ALVAREZ VALENTIN, MYRIAM         ADDRESS ON FILE
ALVAREZ VALENTIN, SALYMARIE      ADDRESS ON FILE
ALVAREZ VALENTIN, TERESA         ADDRESS ON FILE
ALVAREZ VALENTIN, WANDA          ADDRESS ON FILE
ALVAREZ VALLE, DAVID             ADDRESS ON FILE
ALVAREZ VALLE, MARIA L           ADDRESS ON FILE
ALVAREZ VALLE, TERESA            ADDRESS ON FILE
ALVAREZ VALLEDOR, FRANCISCO J.   ADDRESS ON FILE
ALVAREZ VARGAS, GIOMAR           ADDRESS ON FILE
ALVAREZ VARGAS, JOSE             ADDRESS ON FILE
Alvarez Vargas, Jose R           ADDRESS ON FILE
ALVAREZ VARGAS, MARIA            ADDRESS ON FILE
ALVAREZ VARGAS, VALERIE          ADDRESS ON FILE
ALVAREZ VASQUEZ, LUIS            ADDRESS ON FILE
ALVAREZ VAZQUEZ, CHRISTIAN       ADDRESS ON FILE
ALVAREZ VAZQUEZ, ELLIOT          ADDRESS ON FILE
ALVAREZ VAZQUEZ, JAIME L         ADDRESS ON FILE
Alvarez Vazquez, Jaime L         ADDRESS ON FILE
ALVAREZ VAZQUEZ, JOSE R          ADDRESS ON FILE
ALVAREZ VAZQUEZ, LEONILDA        ADDRESS ON FILE
ALVAREZ VAZQUEZ, LUIS            ADDRESS ON FILE
ALVAREZ VAZQUEZ, NATALIE         ADDRESS ON FILE
ALVAREZ VAZQUEZ, PEDRO J         ADDRESS ON FILE
Alvarez Vazquez, Richard         ADDRESS ON FILE
ALVAREZ VAZQUEZ, ROBERT          ADDRESS ON FILE
ALVAREZ VAZQUEZ, ROBERTO         ADDRESS ON FILE
ALVAREZ VAZQUEZ, SERGIO          ADDRESS ON FILE
ALVAREZ VEGA, ALEXIS             ADDRESS ON FILE
ALVAREZ VEGA, CARMEN I           ADDRESS ON FILE
ALVAREZ VEGA, KAREN G.           ADDRESS ON FILE
ALVAREZ VEGA, LETICIA            ADDRESS ON FILE
ALVAREZ VEGA, MARITZA            ADDRESS ON FILE
ALVAREZ VEGA, MAURICIO           ADDRESS ON FILE
Alvarez Veguilla, Luis R         ADDRESS ON FILE
ALVAREZ VELAZQUEZ, EDGARDO       ADDRESS ON FILE
Alvarez Velazquez, Eduardo       ADDRESS ON FILE
ALVAREZ VELAZQUEZ, JOSE          ADDRESS ON FILE
ALVAREZ VELAZQUEZ, JUANA E.      ADDRESS ON FILE
ALVAREZ VELAZQUEZ, MIGUEL A.     ADDRESS ON FILE
ALVAREZ VELEZ, BRUNILDA          ADDRESS ON FILE
ALVAREZ VELEZ, CARLOS J          ADDRESS ON FILE
ALVAREZ VELEZ, CARMEN M          ADDRESS ON FILE
ALVAREZ VELEZ, FLORENTINA        ADDRESS ON FILE
ALVAREZ VELEZ, ISTRA A           ADDRESS ON FILE
Alvarez Velez, Joaquin           ADDRESS ON FILE
ALVAREZ VELEZ, JOSE              ADDRESS ON FILE
ALVAREZ VELEZ, LILLIAM O         ADDRESS ON FILE




                                                                             Page 335 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 336 of 3500
                                                                                              Creditor Matrix

Creditor Name                      Address1                  Address2                                      Address3   Address4   City         State   PostalCode   Country
ALVAREZ VELEZ, MIGUEL              ADDRESS ON FILE
ALVAREZ VELEZ, MILDRED I           ADDRESS ON FILE
ALVAREZ VELEZ, NIDIA               ADDRESS ON FILE
ALVAREZ VELEZ, OMAR                ADDRESS ON FILE
ALVAREZ VELEZ, TAMARA              ADDRESS ON FILE
ALVAREZ VENTURA, HECTOR            ADDRESS ON FILE
ALVAREZ VERSACE, MARIA             ADDRESS ON FILE
ALVAREZ VIDAL, EVELYN              ADDRESS ON FILE
ALVAREZ VIERA, WILFREDO            ADDRESS ON FILE
ALVAREZ VILLAFANE, CARMEN J.       ADDRESS ON FILE
ALVAREZ VILLANUEVA, DIANE          ADDRESS ON FILE
ALVAREZ VILLANUEVA, DIANE          ADDRESS ON FILE
ALVAREZ VILLANUEVA, ELVIN          ADDRESS ON FILE
ALVAREZ VILLANUEVA, FELIX          ADDRESS ON FILE
Alvarez Villaran, Jose M           ADDRESS ON FILE
ALVAREZ VILLARAN, VALERIE M        ADDRESS ON FILE
ALVAREZ VILLAREAL, EDUARDO         ADDRESS ON FILE
ALVAREZ VILLAREAL, HELEN           ADDRESS ON FILE
ALVAREZ VILLARINI, CHRISTIAN       ADDRESS ON FILE
ALVAREZ VIRUET, ESPERANZA          ADDRESS ON FILE
ALVAREZ VIRUET, IRENE              ADDRESS ON FILE
ALVAREZ VIVES, NANCY               ADDRESS ON FILE
ALVAREZ XILOJ, MARIELA             ADDRESS ON FILE
ALVAREZ YULFO, ARMANDO             ADDRESS ON FILE
ALVAREZ YULFO, DENNIS              ADDRESS ON FILE
ALVAREZ ZAMBRANA, CARMEN S         ADDRESS ON FILE
ALVAREZ ZAPATA, NILSON             ADDRESS ON FILE
ALVAREZ ZAYAS, YAJAIRA             ADDRESS ON FILE
ALVAREZ, ALICIA                    ADDRESS ON FILE
ALVAREZ, CAROL                     ADDRESS ON FILE
ALVAREZ, DAMARIS                   ADDRESS ON FILE
ALVAREZ, DAMARIS                   ADDRESS ON FILE
ALVAREZ, ELI S                     ADDRESS ON FILE
ALVAREZ, ELIEZER JR                ADDRESS ON FILE
ALVAREZ, ESTEBAN                   ADDRESS ON FILE
ALVAREZ, JESSIKA                   ADDRESS ON FILE
ALVAREZ, JUAN B.                   ADDRESS ON FILE
ALVAREZ, LERIDA                    ADDRESS ON FILE
ALVAREZ, LUIS                      ADDRESS ON FILE
ALVAREZ, MARIA                     ADDRESS ON FILE
ALVAREZ, MARIA T                   ADDRESS ON FILE
ALVAREZ, MICHAEL                   ADDRESS ON FILE
ALVAREZ, MICHAEL                   ADDRESS ON FILE
ALVAREZ, NELSON                    ADDRESS ON FILE
ALVAREZ, NELSON                    ADDRESS ON FILE
ALVAREZ, ROBERTO                   ADDRESS ON FILE
ALVAREZ, YIDDISH M.                ADDRESS ON FILE
ALVAREZ‐DIAZ & GROUP PSC           POPULAR CENTER BUILDING   208 AVE PONCE DE LEON STE 1111                                      SAN JUAN     PR      00918
ALVAREZMONSEGUR, AGNES I.          ADDRESS ON FILE
ALVAREZMUNET, ENELIDA              ADDRESS ON FILE
ALVAREZNOVALES, EDUARDO            ADDRESS ON FILE
ALVAREZQUINTANA, MANUEL E          ADDRESS ON FILE
ALVAREZROMAN, LAURA E              ADDRESS ON FILE
ALVARO APONTE CENTENO              ADDRESS ON FILE
ALVARO BASABE DEL MORAL            ADDRESS ON FILE
ALVARO BRUSI AMADOR                ADDRESS ON FILE
ALVARO C CORRADA CHAPEL            ADDRESS ON FILE
ALVARO CARRERO GARCIA              ADDRESS ON FILE
ALVARO ESPINOSA E IRENE ESPINOSA   ADDRESS ON FILE
ALVARO F TORRES AMAYA              ADDRESS ON FILE




                                                                                         Page 336 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 337 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVARO FELICIANO NIEVES         ADDRESS ON FILE
ALVARO G MASS JIMENEZ           ADDRESS ON FILE
ALVARO HERNANDEZ MARTINEZ       ADDRESS ON FILE
ALVARO JIRAU VELEZ              ADDRESS ON FILE
ALVARO JOSE ALTAMIRANO TORRES   ADDRESS ON FILE
ALVARO MEDINA NUNEZ             ADDRESS ON FILE
ALVARO MEDINA NUNEZ             ADDRESS ON FILE
ALVARO MORALES VARGAS           ADDRESS ON FILE
ALVARO POLANCO QUINONES         ADDRESS ON FILE
ALVARO SAAVEDRA CORRADA         ADDRESS ON FILE
ALVARO SANTIAGO CARABALLO       ADDRESS ON FILE
ALVARO SANTIAGO CARABALLO       ADDRESS ON FILE
ALVARO TORRES,FRANCES           ADDRESS ON FILE
ALVARO VAZQUEZ RAMOS            ADDRESS ON FILE
ALVASS REALTY INC               PO BOX 11669                                                                     SAN JUAN     PR      00922
ALVEAR OTALORA, FELIPE          ADDRESS ON FILE
ALVEAR RODIGUEZ, BIANCA B.      ADDRESS ON FILE
ALVEAR SUAREZ, ALCIDES          ADDRESS ON FILE
ALVEIRO MOYET, JASON D          ADDRESS ON FILE
ALVELIO SANTANA, IVELISSE       ADDRESS ON FILE
ALVELO ABRAHANTE, JAVIER        ADDRESS ON FILE
ALVELO AMONES, CHRISTIAN        ADDRESS ON FILE
ALVELO ARRIAGA, JOSE            ADDRESS ON FILE
ALVELO AVEVALO, ANTHONY         ADDRESS ON FILE
ALVELO BERRIOS, JOSE            ADDRESS ON FILE
ALVELO BURGOS, EDGARDO          ADDRESS ON FILE
ALVELO BURGOS, JOSE             ADDRESS ON FILE
ALVELO BURGOS, LUIS T.          ADDRESS ON FILE
ALVELO BURGOS, LUIS T.          ADDRESS ON FILE
ALVELO CANTRES, ISAIAS          ADDRESS ON FILE
ALVELO CARDIN, RONALD           ADDRESS ON FILE
ALVELO COLON, JOSE A.           ADDRESS ON FILE
ALVELO DIAZ, OLGA               ADDRESS ON FILE
ALVELO DIAZ, SECUNDINA          ADDRESS ON FILE
ALVELO FIGUEROA, HILDA          ADDRESS ON FILE
ALVELO FLORES, CELIA            ADDRESS ON FILE
ALVELO FUENTES, YOLANDA         ADDRESS ON FILE
ALVELO GONZALEZ, LUIS           ADDRESS ON FILE
ALVELO GONZALEZ, SYNDIA L.      ADDRESS ON FILE
Alvelo Gutierrez, Hector        ADDRESS ON FILE
ALVELO HERNANDEZ, ALEXIS        ADDRESS ON FILE
ALVELO HUERTAS, VILMA           ADDRESS ON FILE
ALVELO KUILAN, XAVIER           ADDRESS ON FILE
ALVELO LAMBOY, ANGEL L.         ADDRESS ON FILE
ALVELO LAMBOY, TERESA A         ADDRESS ON FILE
ALVELO MALDONADO, LAUREANE      ADDRESS ON FILE
ALVELO MALDONADO, WANDA         ADDRESS ON FILE
ALVELO MALDONADO, WANDA I       ADDRESS ON FILE
ALVELO MARCANO, BEATRIZ         ADDRESS ON FILE
ALVELO MARTINEZ, JESUS          ADDRESS ON FILE
ALVELO MARTINEZ, JUAN M         ADDRESS ON FILE
ALVELO MARTINEZ, MAGDALENA      ADDRESS ON FILE
ALVELO MELENDEZ, IVETTE         ADDRESS ON FILE
ALVELO MELENDEZ, IVETTE M.      ADDRESS ON FILE
ALVELO MILLAN, SARITA           ADDRESS ON FILE
ALVELO MOLINA, JOSE             ADDRESS ON FILE
ALVELO MOLINA, MIGUEL           ADDRESS ON FILE
ALVELO MORALES, OLGA I          ADDRESS ON FILE
ALVELO NIEVES, EDUARDO          ADDRESS ON FILE
ALVELO ORTIZ, GRISEL            ADDRESS ON FILE




                                                                            Page 337 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 338 of 3500
                                                                                      Creditor Matrix

Creditor Name                  Address1                   Address2                                 Address3            Address4       City         State   PostalCode   Country
ALVELO ORTIZ, GRISEL           ADDRESS ON FILE
Alvelo Pagan, Victor R.        ADDRESS ON FILE
ALVELO PANTOJAS, MARIA DE L.   ADDRESS ON FILE
ALVELO PLUMEY, ALMA            ADDRESS ON FILE
                                                                                                   DIC. DE SERVICIOS
ALVELO PLUMEY, ALMA MILAGROS   JUAN E. SERRANO SANTIAGO   ASOCIADION DE EMPLEADOS DEL ELA          LEGALES             PO BOX 70199   SAN JUAN     PR      00936‐8190
ALVELO QUINTANA, AMILCAR       ADDRESS ON FILE
ALVELO QUINTANA, GLORIA        ADDRESS ON FILE
Alvelo Ramos, Christian A      ADDRESS ON FILE
ALVELO RAMOS, JORGE            ADDRESS ON FILE
ALVELO RAMOS, MARIA SOCORRO    ADDRESS ON FILE
ALVELO RIJOS, CARLOS R         ADDRESS ON FILE
ALVELO RIVERA, ANA             ADDRESS ON FILE
ALVELO RIVERA, ANGEL L.        ADDRESS ON FILE
ALVELO RIVERA, JAIME           ADDRESS ON FILE
ALVELO RIVERA, JENITZA         ADDRESS ON FILE
ALVELO RIVERA, KELVIN          ADDRESS ON FILE
ALVELO RIVERA, OMAR            ADDRESS ON FILE
ALVELO RIVERA, RAQUEL          ADDRESS ON FILE
ALVELO RODRIGUEZ, ALVIN        ADDRESS ON FILE
ALVELO RODRIGUEZ, ELBA I       ADDRESS ON FILE
ALVELO RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
ALVELO RODRIGUEZ, JOSE         ADDRESS ON FILE
ALVELO RODRIGUEZ, KENNETH      ADDRESS ON FILE
ALVELO RODRIGUEZ, LUAN         ADDRESS ON FILE
ALVELO RODRIGUEZ, MIGUEL A     ADDRESS ON FILE
ALVELO RODRIGUEZ, SHYARA LIZ   ADDRESS ON FILE
ALVELO ROMAN, ELSIE D          ADDRESS ON FILE
ALVELO ROSADO, HAYDEE          ADDRESS ON FILE
ALVELO SANTIAGO MD, JESUS M    ADDRESS ON FILE
ALVELO SANTIAGO, ANA M         ADDRESS ON FILE
Alvelo Santiago, Felix A       ADDRESS ON FILE
ALVELO SANTIAGO, FLOR M        ADDRESS ON FILE
ALVELO SANTIAGO, JESUS         ADDRESS ON FILE
ALVELO SANTIAGO, MINERVA       ADDRESS ON FILE
ALVELO SILVA, ALEJANDRO        ADDRESS ON FILE
ALVELO TRINIDAD, JOEL          ADDRESS ON FILE
ALVELO VAZQUEZ, MILCA N        ADDRESS ON FILE
ALVERIO ALVERIO, CARMEN L      ADDRESS ON FILE
ALVERIO ARROYO, JORGE          ADDRESS ON FILE
ALVERIO CARABALLO, GISELE      ADDRESS ON FILE
ALVERIO CARO, WILFREDO         ADDRESS ON FILE
ALVERIO CARRASCO, ILEANIS      ADDRESS ON FILE
ALVERIO CHINEA, CARMEN M       ADDRESS ON FILE
Alverio Cintron, Enrique       ADDRESS ON FILE
ALVERIO CINTRON, JUAN          ADDRESS ON FILE
ALVERIO CINTRON, JUANITA       ADDRESS ON FILE
ALVERIO CINTRON, NILDA         ADDRESS ON FILE
ALVERIO COLLAZO, ARACELIS      ADDRESS ON FILE
ALVERIO COLLAZO, JOSE M        ADDRESS ON FILE
ALVERIO COLON, IVELISSE        ADDRESS ON FILE
ALVERIO COLON, JUMARIE         ADDRESS ON FILE
ALVERIO COLON, YVELISSE        ADDRESS ON FILE
ALVERIO CORREA, EVELYN         ADDRESS ON FILE
Alverio Cotto, Javier A        ADDRESS ON FILE
ALVERIO CUEVAS, FELICITA       ADDRESS ON FILE
ALVERIO CUEVAS, HECTOR         ADDRESS ON FILE
ALVERIO DEJESUS, OMAR          ADDRESS ON FILE
ALVERIO DELGADO, CARMEN M.     ADDRESS ON FILE
ALVERIO DELGADO, RAIZA         ADDRESS ON FILE




                                                                                     Page 338 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 339 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVERIO DIAZ, FRANCES M        ADDRESS ON FILE
ALVERIO DOMINGUEZ, JOSE O      ADDRESS ON FILE
ALVERIO ESPINOSA, IRIS         ADDRESS ON FILE
ALVERIO FIGUEROA, IRIS         ADDRESS ON FILE
ALVERIO FLORES, LISA M.        ADDRESS ON FILE
ALVERIO GARAY, SONIA           ADDRESS ON FILE
ALVERIO GOMEZ, JUAN            ADDRESS ON FILE
ALVERIO GONZALEZ, NELSON       ADDRESS ON FILE
ALVERIO HERNANDEZ, ANGEL       ADDRESS ON FILE
Alverio Hernandez, Jimmy       ADDRESS ON FILE
ALVERIO HERNANDEZ, MARTIN      ADDRESS ON FILE
ALVERIO HERNANDEZ, NOELIA      ADDRESS ON FILE
ALVERIO HERNANDEZ, RAFAEL      ADDRESS ON FILE
ALVERIO JIMENEZ, ALBERTO       ADDRESS ON FILE
ALVERIO LAUREANO, EVELYN       ADDRESS ON FILE
ALVERIO LAZU, JULISSA C        ADDRESS ON FILE
ALVERIO LEBRON, ARMANDO        ADDRESS ON FILE
ALVERIO LOPEZ, JOSE            ADDRESS ON FILE
ALVERIO MARZANT, EMILY         ADDRESS ON FILE
ALVERIO MELENDEZ, DELIA N      ADDRESS ON FILE
ALVERIO MELENDEZ, LAURA        ADDRESS ON FILE
ALVERIO MELENDEZ, REYNALDO     ADDRESS ON FILE
ALVERIO MELENDEZ, YOLANDA      ADDRESS ON FILE
Alverio Mercado, Juan          ADDRESS ON FILE
ALVERIO MODESTI, JOSE LUIS     ADDRESS ON FILE
ALVERIO MODESTI, LIZNNETTE     ADDRESS ON FILE
ALVERIO MORALES, ANA           ADDRESS ON FILE
ALVERIO MOYET, WANDIREY        ADDRESS ON FILE
ALVERIO ORDONEZ, ARLENE M      ADDRESS ON FILE
ALVERIO ORTIZ, DIANA           ADDRESS ON FILE
ALVERIO ORTIZ, GLADYMAR        ADDRESS ON FILE
ALVERIO ORTIZ, GUILLERMINA     ADDRESS ON FILE
ALVERIO ORTIZ, HECTOR M.       ADDRESS ON FILE
ALVERIO ORTIZ, JACQUELINE      ADDRESS ON FILE
ALVERIO PARES, CARLOS MANUEL   ADDRESS ON FILE
ALVERIO PARES, MARIA           ADDRESS ON FILE
ALVERIO PENA, LUIS             ADDRESS ON FILE
ALVERIO PENALBERT, JOSE A      ADDRESS ON FILE
ALVERIO QUINONES, LUIS M.      ADDRESS ON FILE
ALVERIO RAMOS, EIARRA          ADDRESS ON FILE
ALVERIO RAMOS, JAIME           ADDRESS ON FILE
ALVERIO RAMOS, SANTIAGO        ADDRESS ON FILE
ALVERIO RAMOS, ZULMARIE        ADDRESS ON FILE
ALVERIO RIVERA, DERNITZA       ADDRESS ON FILE
Alverio Rivera, Enrique        ADDRESS ON FILE
ALVERIO RIVERA, JESSICA        ADDRESS ON FILE
ALVERIO RIVERA, JESUS          ADDRESS ON FILE
ALVERIO RIVERA, JUAN C         ADDRESS ON FILE
ALVERIO RIVERA, LYGIA E        ADDRESS ON FILE
ALVERIO RIVERA, MERCEDES       ADDRESS ON FILE
ALVERIO RIVERA, MILAGROS       ADDRESS ON FILE
ALVERIO RIVERA, MYRIAM         ADDRESS ON FILE
ALVERIO RIVERA, PABLO          ADDRESS ON FILE
ALVERIO RIVERA, ROBERTO        ADDRESS ON FILE
ALVERIO RODRIGUEZ, EVELYN      ADDRESS ON FILE
ALVERIO RODRIGUEZ, LEONIDES    ADDRESS ON FILE
ALVERIO RODRIGUEZ, NILSA       ADDRESS ON FILE
ALVERIO ROLDAN, LUZ N          ADDRESS ON FILE
ALVERIO ROSA, AIDA             ADDRESS ON FILE
ALVERIO ROSA, CARMEN M         ADDRESS ON FILE




                                                                           Page 339 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 340 of 3500
                                                                                             Creditor Matrix

Creditor Name                       Address1                                  Address2                    Address3     Address4            City         State   PostalCode   Country
ALVERIO ROSA, SONIA                 ADDRESS ON FILE
ALVERIO ROSA, WILLIAM               ADDRESS ON FILE
ALVERIO RUIZ, PEDRO                 ADDRESS ON FILE
ALVERIO SAN MIGUEL, MICHAEL C       ADDRESS ON FILE
ALVERIO SANCHEZ, ADA A              ADDRESS ON FILE
ALVERIO SANCHEZ, LEIZA L            ADDRESS ON FILE
ALVERIO SANCHEZ, MILAGROS           ADDRESS ON FILE
ALVERIO SANTANA, FERNANDO           ADDRESS ON FILE
ALVERIO SANTANA, MARANGELIZ         ADDRESS ON FILE
ALVERIO SANTANA, YVETTE             ADDRESS ON FILE
ALVERIO TORRES, JULIA               ADDRESS ON FILE
ALVERIO VALIENTE, ENRIQUE R         ADDRESS ON FILE
ALVERIO VALIENTE, HECTOR            ADDRESS ON FILE
ALVERIO VEGA, WAYLANIE              ADDRESS ON FILE
ALVERIO WILLIAMS, THOMAS            ADDRESS ON FILE
Alves Cruz, Melvin                  ADDRESS ON FILE
Alves Ferrer, Carlos A              ADDRESS ON FILE
ALVES MAZAROTO, JANAINA             ADDRESS ON FILE
ALVES ROGER, JUAN                   ADDRESS ON FILE
ALVES RUIZ, MARIA DE LOS A          ADDRESS ON FILE
ALVES RUIZ, MARIA DE LOS A          ADDRESS ON FILE
ALVES TORO, JOSE                    ADDRESS ON FILE
ALVES TROCHE, DORA I                ADDRESS ON FILE
ALVEY MEDINA, GREGORY               ADDRESS ON FILE
ALVEZ MILLAYES, MIRIAM              ADDRESS ON FILE
ALVEZ SCHULT, ANGEL                 ADDRESS ON FILE
ALVEZ SCHULT, OLGA I                ADDRESS ON FILE
ALVIAREZ, YOLY                      ADDRESS ON FILE
ALVIN A CARDONA                     ADDRESS ON FILE
ALVIN A CRUZ RODRIGUEZ              ADDRESS ON FILE
ALVIN A LEON RAMOS                  ADDRESS ON FILE
ALVIN A. MORALES FIGUEROA           ADDRESS ON FILE
ALVIN ALMONTE Y EVANGIE ALEJANDRO   ADDRESS ON FILE
ALVIN APONTE GONZALEZ               ADDRESS ON FILE
ALVIN APONTE TORRES                 ADDRESS ON FILE
ALVIN APONTE TORRES                 ADDRESS ON FILE
ALVIN ARCE NAVARRO                  ADDRESS ON FILE
ALVIN ARROYO VARGAS                 ADDRESS ON FILE
ALVIN BARETTY CARABALLO             ADDRESS ON FILE
ALVIN CAMACHO MORALES               ADDRESS ON FILE
ALVIN CANDELARIA MELENDEZ           ADDRESS ON FILE
ALVIN CENTENO GONZALEZ              ADDRESS ON FILE
ALVIN COLON RODRIGUEZ               ADDRESS ON FILE
ALVIN D LUGO SOTO                   ADDRESS ON FILE
ALVIN E ALVARADO MORALES            ADDRESS ON FILE
ALVIN E ROLON SANTIAGO              ADDRESS ON FILE
ALVIN F CARBO RODRIGUEZ             ADDRESS ON FILE
ALVIN F SANCHEZ GREEEN              ADDRESS ON FILE
ALVIN GARCIA                        ADDRESS ON FILE
ALVIN H ARTILES MARTINEZ            ADDRESS ON FILE
ALVIN IRIZARRY RAMOS                ADDRESS ON FILE
ALVIN J. RODRIGUEZ CRUZ             ADDRESS ON FILE
ALVIN L. MAYSONET RODRIGUEZ         ADDRESS ON FILE
ALVIN LARACUENTE AVILES             ADDRESS ON FILE
ALVIN LOPEZ DE JESUS                ADDRESS ON FILE
ALVIN LOPEZ MATIAS                  ADDRESS ON FILE
ALVIN M CACERES SANTIAGO            ADDRESS ON FILE
ALVIN M CEDENO PACHECO              ADDRESS ON FILE
ALVIN M MORALES CRUZ                ADDRESS ON FILE
ALVIN MARRERO MENDEZ                ACLU OF PUERTO RICO, LCDO. JOSUÉ GONZÁLEZ UNION PLAZA                 SUITE 1105   416 Ponce DE LEÓN   SAN JUAN     PR      00918




                                                                                            Page 340 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 341 of 3500
                                                                                           Creditor Matrix

Creditor Name                      Address1                  Address2                                   Address3         Address4   City           State   PostalCode   Country
ALVIN MOLINA MORALES               ADDRESS ON FILE
ALVIN MONTES CINTRON               ADDRESS ON FILE
ALVIN MORALES EMANUELLI            ADDRESS ON FILE
ALVIN MORALES MONTANEZ             ADDRESS ON FILE
ALVIN MORALES MONTANEZ             ADDRESS ON FILE
ALVIN NEGRON SANTIAGO              ADDRESS ON FILE
ALVIN NIEVES TORRES                ADDRESS ON FILE
ALVIN O CINTRON FIGUEROA           ADDRESS ON FILE
ALVIN PEREZ CRUZ                   ADDRESS ON FILE
ALVIN R COUTO DE JESUS             ADDRESS ON FILE
ALVIN R CRUZ TORRES                ADDRESS ON FILE
ALVIN R ORTA ARROYO                ADDRESS ON FILE
ALVIN R. ORTIZ ARROYO              ADDRESS ON FILE
ALVIN RAMOS MATOS                  ALVIN RAMOS MATOS         URB. ALTURAS DE RIO GRANDE                 CALLE 13 M‐574              RIO GRANDE     PR      00745
ALVIN RIVERA LEBRON                ADDRESS ON FILE
ALVIN ROSA NIEVES                  ADDRESS ON FILE
ALVIN S ORTIZ DELGADO              ADDRESS ON FILE
ALVIN SANTIAGO SANTOS              ADDRESS ON FILE
ALVIN SUGRANES LEBRON              ADDRESS ON FILE
ALVIN T ANDUJAR FIGUEROA           ADDRESS ON FILE
ALVIN T ANDUJAR FIGUEROA           ADDRESS ON FILE
ALVIN T MEDINA TORRES              ADDRESS ON FILE
ALVIN T RODRIGUEZ QUINONEZ         ADDRESS ON FILE
ALVIN TOLEDO ORTIZ                 ADDRESS ON FILE
ALVIN TORRES HERNANDEZ             ADDRESS ON FILE
ALVIN V CORDERO CORDERO            ADDRESS ON FILE
ALVIN VARGAS ROSAS                 ADDRESS ON FILE
ALVIN VILLANUEVA ECHEVARRIA        ADDRESS ON FILE
ALVIN Y ALVARADO SANTOS            ADDRESS ON FILE
ALVIN Y RODRIGUEZ RODRIGUEZ        ADDRESS ON FILE
ALVIN Y TORRES / CARLOS R TORRES   ADDRESS ON FILE
Alvino Acosta, Flerin              ADDRESS ON FILE
ALVINO FIGUEROA, JANICE            ADDRESS ON FILE
Alvino Flores, Frank               ADDRESS ON FILE
ALVIR A. ALICEA QUINONES Y/O       ADDRESS ON FILE
ALVIRA ACOSTA, JOSE A              ADDRESS ON FILE
ALVIRA AGUAYO, AGUSTIN             ADDRESS ON FILE
ALVIRA ALVAREZ, VANESSA            ADDRESS ON FILE
ALVIRA ARZON, CYNTHIA              ADDRESS ON FILE
ALVIRA BENITEZ, MIRIAM             ADDRESS ON FILE
ALVIRA BENITEZ, SIGFREDO           ADDRESS ON FILE
ALVIRA BERMUDEZ, ADA N             ADDRESS ON FILE
ALVIRA CABAN, HERNAN               ADDRESS ON FILE
ALVIRA CALDERON, JULIA F           ADDRESS ON FILE
ALVIRA CARMONA, ADALBERTO          ADDRESS ON FILE
ALVIRA CARMONA, LILLIAN I          ADDRESS ON FILE
ALVIRA CARMONA, MANUEL O           ADDRESS ON FILE
ALVIRA CARMONA, MARIA L            ADDRESS ON FILE
ALVIRA CARRASQUILLO, JOSE          ADDRESS ON FILE
ALVIRA CONCEPCION, WILMAYRIS       ADDRESS ON FILE
ALVIRA CORREA, BRENNY              ADDRESS ON FILE
ALVIRA DIAZ, NATANAEL              ADDRESS ON FILE
ALVIRA ENCARNACION, LUZ E          ADDRESS ON FILE
ALVIRA FERNANDEZ, JOSE             ADDRESS ON FILE
ALVIRA FIGUEROA, HIPOLITO          ADDRESS ON FILE
Alvira Infante, Ariel I.           ADDRESS ON FILE
Alvira Jurado, Rafael              ADDRESS ON FILE
Alvira Lebron, Jonathan            ADDRESS ON FILE
ALVIRA LOPEZ, ALEXANDRA            ADDRESS ON FILE
ALVIRA LOPEZ, ALEXANDRA            ADDRESS ON FILE




                                                                                          Page 341 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 342 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ALVIRA LOPEZ, CARLOS          ADDRESS ON FILE
ALVIRA LOPEZ, KARLA           ADDRESS ON FILE
ALVIRA LUGO, SHAYRA L         ADDRESS ON FILE
ALVIRA MARQUEZ, CARMEN L      ADDRESS ON FILE
ALVIRA MARQUEZ, NILDA M       ADDRESS ON FILE
ALVIRA MARTINEZ, JOSE         ADDRESS ON FILE
ALVIRA MARTINEZ, VANESSA      ADDRESS ON FILE
ALVIRA MELENDEZ, JOEL         ADDRESS ON FILE
ALVIRA MULERO, ZORAIDA        ADDRESS ON FILE
ALVIRA NAZARIO, PEDRO         ADDRESS ON FILE
ALVIRA NEGRON, EVE J.         ADDRESS ON FILE
ALVIRA NEGRON, MICHAEL A      ADDRESS ON FILE
ALVIRA NIEVES, EFRAIN         ADDRESS ON FILE
ALVIRA PAGAN, MARITZA         ADDRESS ON FILE
ALVIRA PARILLA, ISAMAEL       ADDRESS ON FILE
ALVIRA PEREZ, MICHELLE        ADDRESS ON FILE
ALVIRA PIZARRO, AMARYLIS      ADDRESS ON FILE
ALVIRA RAMIREZ, GENARO        ADDRESS ON FILE
ALVIRA RAMOS, CARMEN M        ADDRESS ON FILE
ALVIRA RIOS, ELIZABETH        ADDRESS ON FILE
ALVIRA RIOS, SONIA            ADDRESS ON FILE
ALVIRA RIVERA, ALVIN          ADDRESS ON FILE
ALVIRA RIVERA, KATHERINE      ADDRESS ON FILE
ALVIRA RIVERA, MISAEL         ADDRESS ON FILE
ALVIRA ROBLES, EDWIN          ADDRESS ON FILE
ALVIRA ROBLES, JOSE A         ADDRESS ON FILE
ALVIRA ROBLES, LUZ            ADDRESS ON FILE
ALVIRA ROBLES, LYDIA M        ADDRESS ON FILE
ALVIRA ROBLES, NILKA L.       ADDRESS ON FILE
ALVIRA ROBLES, NILSA          ADDRESS ON FILE
ALVIRA RODRIGUEZ, JENNIFER    ADDRESS ON FILE
ALVIRA RODRIGUEZ, JOSE        ADDRESS ON FILE
ALVIRA ROSA, GINNA M          ADDRESS ON FILE
ALVIRA RUIZ, ROBERTO          ADDRESS ON FILE
ALVIRA SANCHEZ, MADELINE      ADDRESS ON FILE
ALVIRA SANTIAGO, JORGE I      ADDRESS ON FILE
ALVIRA TORRES, MANUEL         ADDRESS ON FILE
ALVIRA TORRES, ROBERTO        ADDRESS ON FILE
ALVIRA VAZQUEZ, JEAN          ADDRESS ON FILE
ALVIRA VEGA, RUBEN            ADDRESS ON FILE
ALVIRA VELAZQUEZ, ANGELICA    ADDRESS ON FILE
ALVIRA VELAZQUEZ, JOEL        ADDRESS ON FILE
ALVIS RODRIGUEZ SEPULVEDA     ADDRESS ON FILE
ALWAYS READY 24/7 INC         P O BOX 1720                                                                     LUQUILLO     PR      00773
ALWAYS SOLUTIONS INC          1010 CARR 19 APT 37                                                              GUAYNABO     PR      00966
ALWIN E ALVARADO GARCIA       ADDRESS ON FILE
ALWIN L TORRES ORTIZ          ADDRESS ON FILE
ALYDIA M GINES SANTIAGO       ADDRESS ON FILE
ALYMARIE SANTIAGO SEPULVEDA   ADDRESS ON FILE
ALYN M BERMUDEZ               ADDRESS ON FILE
ALYSBETH FELIX BOYER          ADDRESS ON FILE
ALYSON M. BYRNE               ADDRESS ON FILE
ALYSSA A MENDEZ BATISTA       ADDRESS ON FILE
ALYSSA S SANTIAGO FIGUEROA    ADDRESS ON FILE
ALZAGA SANCHEZ BRETON, RAUL   ADDRESS ON FILE
ALZAGA TORRES, CARLOS         ADDRESS ON FILE
ALZAS RODRIGUEZ, ESTHER       ADDRESS ON FILE
ALZAS RODRIGUEZ, VICTORIA     ADDRESS ON FILE
ALZERRECA FRAMBES, JAVIER     ADDRESS ON FILE
AM & H CONSULTING CORP        PO BOX 617                                                                       BAYAMON      PR      00960




                                                                          Page 342 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 343 of 3500
                                                                                                    Creditor Matrix

Creditor Name                        Address1                            Address2                                Address3   Address4   City             State   PostalCode   Country
AM CONSULTANT INC                    PO BOX 368                                                                                        JUNCOS           PR      00777‐0368
AM DISTRIBUTOR/ ANTONIO MARTINEZ     2425 SW 27TH AVE                                                                                  MIAMI            PR      33145
AM ELECTRICAL INC                    HC 2 BOX 43429                                                                                    VEGA BAJA        PR      00693
AM GROUP                             COND ALTURAS DE CALDAS 1948         CALLE JOSE FIDALGO DIAZ                 APT 452               SAN JUAN         PR      00926
AM GUZMAN LAW OFFICES                PO BOX 6327                                                                                       MAYAGUEZ         PR      00681
AM HERITAGE INSS CO                  1776 AMERICAN HERITAGE DRIVE                                                                      JAKSOVILLE       FL      32224‐9983
AM HERITAGE INSS CO                  1776 AMERICAN HERITAGE LIFE DRIVE                                                                 JACKSONVILLE     FL      32224‐9983
AM INSURANCE SERVICES P S C          25 CALLE LUIS MUNOZ RIVERA                                                                        YAUCO            PR      00698
AM PRODUCTIONS INC                   159 COSTA RICA ST                   APT 10 E                                                      SAN JUAN         PR      00917‐2512
AM TRANSPORT DELIVERY CORP           URB PUERTO NUEVO                    368 CALLE BALEARES                                            SAN JUAN         PR      00920
AMA DE LLAVES DEL TURABO INC         PO BOX 901                                                                                        CAGUAS           PR      00901
AMA FOOD SERVICES                    PO BOX 70250                        SUITE 267                                                     SAN JUAN         PR      00936
AMABLE BOTELLO APONTE                ADDRESS ON FILE
AMABLE FAJARDO BAEZ                  ADDRESS ON FILE
AMABLE GONTRAN, ALEX                 ADDRESS ON FILE
AMABLE MORILLO ABREU                 ADDRESS ON FILE
AMADA E MENDOZA PATTERSON            ADDRESS ON FILE
AMADA GIL/TERESA GIL / MARIA E GIL   ADDRESS ON FILE
AMADA MONTALBAN MENDOZA              ADDRESS ON FILE
AMADA RODRIGUEZ CORDERO              ADDRESS ON FILE
AMADA Z GARCIA GUTIERREZ             ADDRESS ON FILE
AMADA Z GARCIA GUTIERREZ             ADDRESS ON FILE
AMADEO ACEVEDO, ELISA                ADDRESS ON FILE
AMADEO ALVARADO, CARLOS A.           ADDRESS ON FILE
AMADEO ALVARADO, YOLANDA             ADDRESS ON FILE
AMADEO B PINO LOPEZ CASTRO ESTATE    PO BOX 871                                                                                        MAYAGUEZ         PR      00681‐0871
AMADEO BAEZ FIGUEROA                 ADDRESS ON FILE
AMADEO BURGOS, ALEXIS                ADDRESS ON FILE
AMADEO BURGOS, ANGEL M.              ADDRESS ON FILE
AMADEO CEDO, DARIO                   ADDRESS ON FILE
AMADEO DAVID, LUIS                   ADDRESS ON FILE
AMADEO DE JESUS, SAMUEL              ADDRESS ON FILE
AMADEO DE JESUS, SAMUEL              ADDRESS ON FILE
AMADEO GONZALEZ, LYDIA               ADDRESS ON FILE
AMADEO GONZALEZ, VICTOR              ADDRESS ON FILE
AMADEO GUTIERREZ, WANDA              ADDRESS ON FILE
AMADEO MALDONADO, JESUS              ADDRESS ON FILE
AMADEO PADILLA CASTILLO              ADDRESS ON FILE
AMADEO PUMAREJO, WILMARY             ADDRESS ON FILE
AMADEO RAMIREZ, WALDO                ADDRESS ON FILE
AMADEO RAMOS, CATHERINE              ADDRESS ON FILE
AMADEO RAMOS, JOSE                   ADDRESS ON FILE
AMADEO RAMOS, MYRNA Y                ADDRESS ON FILE
AMADEO RESTO, KARIM                  ADDRESS ON FILE
AMADEO SANTIAGO, ISMAEL              ADDRESS ON FILE
AMADEO SANTOS, VANESSA               ADDRESS ON FILE
AMADEO VELAZQUEZ, ALBA D             ADDRESS ON FILE
AMADEO VERA, MARIA V                 ADDRESS ON FILE
AMADEO VISSEPO, ADRIANA              ADDRESS ON FILE
AMADEO, LILLIE                       ADDRESS ON FILE
AMADI DANIEL                         ADDRESS ON FILE
AMADIS DIAZ ROLON                    ADDRESS ON FILE
AMADIS DIAZ ROLON                    ADDRESS ON FILE
AMADIS J SALGADO OCASIO              ADDRESS ON FILE
AMADIS ROLDAN GONZALEZ               ADDRESS ON FILE
AMADO BAEZ, MARIA                    ADDRESS ON FILE
AMADO DACOSTA, ROSEANNE              ADDRESS ON FILE
AMADO ECHEVARRIA CRESPO              ADDRESS ON FILE
AMADO FERNANDEZ, MAGALY              ADDRESS ON FILE
AMADO GIBOYEAX, ARMANDO              ADDRESS ON FILE




                                                                                                   Page 343 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 344 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AMADO GONZALEZ VALLE              ADDRESS ON FILE
AMADO NOA RIVERA                  ADDRESS ON FILE
AMADO PEREZ, WILLIAM              ADDRESS ON FILE
AMADO RIVERA MORALES              ADDRESS ON FILE
AMADO ROJAS LOPEZ                 ADDRESS ON FILE
AMADO ROMAN CRESPO                ADDRESS ON FILE
AMADO ROMAN CRESPO                ADDRESS ON FILE
AMADO ROMAN CRESPO                ADDRESS ON FILE
AMADO UNIFORMES INC               106 CALLE COMERIO                                                                BAYAMON      PR      00959
AMADO VAZQUEZ DE ARCE             ADDRESS ON FILE
Amador Acevedo, Caridad           ADDRESS ON FILE
AMADOR ACEVEDO, CARIDAD           ADDRESS ON FILE
AMADOR ACEVEDO, EDGARDO           ADDRESS ON FILE
AMADOR ACEVEDO, IVETTE M          ADDRESS ON FILE
Amador Acevedo, Janet             ADDRESS ON FILE
AMADOR ACEVEDO, JANET             ADDRESS ON FILE
AMADOR ACEVEDO, JUAN              ADDRESS ON FILE
AMADOR ACEVEDO, SHARON M          ADDRESS ON FILE
AMADOR ALICEA, INGRID A           ADDRESS ON FILE
AMADOR AMADOR, ANDREA             ADDRESS ON FILE
AMADOR AMADOR, JAVIER             ADDRESS ON FILE
AMADOR AQUINO, JEAN               ADDRESS ON FILE
AMADOR AVILES, DAVID              ADDRESS ON FILE
AMADOR AVILEZ, DAVID              ADDRESS ON FILE
AMADOR BARRETO, ARLYN             ADDRESS ON FILE
AMADOR BEAUCHAMP, AURILUZ         ADDRESS ON FILE
AMADOR BEAUCHAMP, MARILISA        ADDRESS ON FILE
AMADOR BIDOT, YADIRA              ADDRESS ON FILE
AMADOR BUZO, GLORIA               ADDRESS ON FILE
AMADOR CAJIGAS, JORGE             ADDRESS ON FILE
AMADOR CASTILLO, DAISYMARIE       ADDRESS ON FILE
AMADOR CASTILLO, LIZ M.           ADDRESS ON FILE
AMADOR CASTILLO, SOFYMARIE        ADDRESS ON FILE
AMADOR CEPERO, DORIS              ADDRESS ON FILE
AMADOR CHACON, NESTOR             ADDRESS ON FILE
AMADOR CHACON, NESTOR             ADDRESS ON FILE
AMADOR CHACON, NESTOR A.          ADDRESS ON FILE
AMADOR CHACON, NESTOR E           ADDRESS ON FILE
AMADOR CINTRON, ROSA I.           ADDRESS ON FILE
AMADOR COLON, ABIGAIL             ADDRESS ON FILE
AMADOR COLON, DANIEL              ADDRESS ON FILE
AMADOR COLON, MANUEL              ADDRESS ON FILE
AMADOR COLON, MIGUEL              ADDRESS ON FILE
AMADOR COLON, VERONICA            ADDRESS ON FILE
AMADOR COLON, YARIMEL             ADDRESS ON FILE
AMADOR CRUZ, FELIPE               ADDRESS ON FILE
AMADOR CRUZ, LUIS                 ADDRESS ON FILE
AMADOR CRUZ, YAMILET              ADDRESS ON FILE
AMADOR CRUZ‐ALVAREZ, MARIA E.     ADDRESS ON FILE
AMADOR DE LA PAZ, RAFAELA         ADDRESS ON FILE
AMADOR DE LA PAZ, ROSAURA         ADDRESS ON FILE
AMADOR DE PEREZ JOVET, CARMEN E   ADDRESS ON FILE
AMADOR DELGADO, ALICIA            ADDRESS ON FILE
AMADOR DELGADO, IVONNE            ADDRESS ON FILE
AMADOR DELGADO, IVONNE            ADDRESS ON FILE
AMADOR DELGADO, IVONNE            ADDRESS ON FILE
AMADOR DUMOIS, ALEJANDRO          ADDRESS ON FILE
AMADOR DUMOIS, JULIO              ADDRESS ON FILE
AMADOR ESCALERA, ADALBERTO        ADDRESS ON FILE
AMADOR FERNANDEZ, MARIA S         ADDRESS ON FILE




                                                                              Page 344 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 345 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AMADOR FERNANDEZ, MONICA T      ADDRESS ON FILE
AMADOR FERNANDEZ, SUSANA M      ADDRESS ON FILE
AMADOR FERNANDEZ, VILMARIE      ADDRESS ON FILE
AMADOR FORTIER, IRIS            ADDRESS ON FILE
AMADOR FUENTES, WANDA           ADDRESS ON FILE
AMADOR GARCIA, IVETTE           ADDRESS ON FILE
AMADOR GARCIA, JOEL             ADDRESS ON FILE
AMADOR GARCIA, JUAN             ADDRESS ON FILE
AMADOR GARCIA, ROSARIO          ADDRESS ON FILE
Amador Garcia, Wilnelia         ADDRESS ON FILE
AMADOR GOMEZ, CARLOS            ADDRESS ON FILE
AMADOR GOMEZ, YARITZA           ADDRESS ON FILE
AMADOR GONZALEZ ROMAN           ADDRESS ON FILE
AMADOR GONZALEZ, CARLOS         ADDRESS ON FILE
AMADOR GONZALEZ, JOSE L         ADDRESS ON FILE
AMADOR GONZALEZ, NYDIA          ADDRESS ON FILE
AMADOR GONZALEZ, ROBERTO        ADDRESS ON FILE
AMADOR GONZALEZ, ROSA M         ADDRESS ON FILE
AMADOR GONZALEZ, VELMARY C      ADDRESS ON FILE
AMADOR GRAU, YAMIL              ADDRESS ON FILE
AMADOR GUZMAN, ALEXANDRA        ADDRESS ON FILE
AMADOR HERMINA, EUNICE          ADDRESS ON FILE
AMADOR HERMINA, MARITZEL        ADDRESS ON FILE
AMADOR HERNANDEZ, FRANCISCO     ADDRESS ON FILE
AMADOR HERNANDEZ, GLORIA E.     ADDRESS ON FILE
Amador Hernandez, Joel          ADDRESS ON FILE
AMADOR LLORENS, EMILIA F        ADDRESS ON FILE
AMADOR LLORENS, LOURDES M       ADDRESS ON FILE
AMADOR LOPEZ, MARCOS            ADDRESS ON FILE
AMADOR LOPEZ, WILFREDO          ADDRESS ON FILE
AMADOR LOZADA, LIDIANA          ADDRESS ON FILE
AMADOR LOZADA, MARIO            ADDRESS ON FILE
AMADOR MALDONADO SANCHEZ        ADDRESS ON FILE
AMADOR MALDONADO, OLGA I        ADDRESS ON FILE
AMADOR MARTINEZ MD, JORGE       ADDRESS ON FILE
AMADOR MARTINEZ, MELVIN         ADDRESS ON FILE
AMADOR MATOS, LOURDES           ADDRESS ON FILE
AMADOR MEDINA, RUBEN            ADDRESS ON FILE
AMADOR MELECIO, ENID            ADDRESS ON FILE
AMADOR MELENDEZ, CIRCE          ADDRESS ON FILE
AMADOR MELENDEZ, ONELIA         ADDRESS ON FILE
AMADOR MELENDEZ, VIVIANA ROSA   ADDRESS ON FILE
AMADOR MENENDEZ, IBIS           ADDRESS ON FILE
AMADOR MERCADO, RAFAEL          ADDRESS ON FILE
AMADOR MERCADO, SIMON           ADDRESS ON FILE
AMADOR MIELES, JOSUE M          ADDRESS ON FILE
AMADOR MIRANDA, ANAMARIA        ADDRESS ON FILE
AMADOR MONETT, NEREIDA          ADDRESS ON FILE
AMADOR MONROIG, MARIELA         ADDRESS ON FILE
AMADOR NEGRON, LUIS             ADDRESS ON FILE
AMADOR NEGRON, MARIA            ADDRESS ON FILE
AMADOR NEGRON, WANDA I          ADDRESS ON FILE
AMADOR ORTIZ RIVERA             ADDRESS ON FILE
AMADOR ORTIZ VAZQUEZ            ADDRESS ON FILE
AMADOR ORTIZ, JENNIFER          ADDRESS ON FILE
AMADOR ORTIZ, MABEL             ADDRESS ON FILE
AMADOR OYOLA MD, NESTOR A       ADDRESS ON FILE
AMADOR OYOLA, MARTHA N          ADDRESS ON FILE
Amador Parrilla, Miguel         ADDRESS ON FILE
AMADOR PARRILLA, VICTOR L.      ADDRESS ON FILE




                                                                            Page 345 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 346 of 3500
                                                                                          Creditor Matrix

Creditor Name                   Address1                  Address2                                     Address3   Address4   City         State   PostalCode   Country
AMADOR PEREYRA, FLORA P.        ADDRESS ON FILE
AMADOR PEREZ, LOURDES M         ADDRESS ON FILE
AMADOR PIZARRO, JOSEPHINE       ADDRESS ON FILE
AMADOR PLUMEY, ILVIA            ADDRESS ON FILE
AMADOR PONS, KAREN              ADDRESS ON FILE
AMADOR RAMIREZ, FRANCISCO       ADDRESS ON FILE
AMADOR RAMIREZ, PEDRO           ADDRESS ON FILE
AMADOR RAMOS, DOLORES           ADDRESS ON FILE
AMADOR RIBOT, CARLOS            ADDRESS ON FILE
AMADOR RIOS, LAURA              ADDRESS ON FILE
AMADOR RIVERA, ERICK            ADDRESS ON FILE
Amador Rivera, Pilar            ADDRESS ON FILE
AMADOR RIVERA,ZAIMARA           ADDRESS ON FILE
AMADOR ROBERTS DEMETRIO
AMADOR ROBLE, ZORAIDA           ADDRESS ON FILE
AMADOR RODRIGUEZ, AILEEN        ADDRESS ON FILE
AMADOR RODRIGUEZ, AILEEN        ADDRESS ON FILE
AMADOR RODRIGUEZ, CARMEN N      ADDRESS ON FILE
AMADOR RODRIGUEZ, EDWARD        ADDRESS ON FILE
AMADOR RODRIGUEZ, EDWARD        ADDRESS ON FILE
AMADOR RODRIGUEZ, FRANKIE       ADDRESS ON FILE
Amador Rodriguez, Frankie       ADDRESS ON FILE
AMADOR RODRIGUEZ, MONICA T      ADDRESS ON FILE
AMADOR ROMAN, ALMA L            ADDRESS ON FILE
AMADOR ROMAN, YAZNERI I         ADDRESS ON FILE
Amador Romero, Samauria         ADDRESS ON FILE
AMADOR RONDON, BASILIA          ADDRESS ON FILE
AMADOR ROSARIO MENDEZ           ADDRESS ON FILE
AMADOR RUIZ, IRIS N             ADDRESS ON FILE
AMADOR RUIZ, JESUS M.           ADDRESS ON FILE
AMADOR RUIZ, LUZ E.             ADDRESS ON FILE
AMADOR SEPULVEDA, EMMANUEL      ADDRESS ON FILE
AMADOR SOLIS, JOSE G            ADDRESS ON FILE
AMADOR SOTO, BETHZAIDA          ADDRESS ON FILE
AMADOR TEXIDOR, JORGE           ADDRESS ON FILE
AMADOR TEXIDOR, LUIS A          ADDRESS ON FILE
AMADOR TOLEDO, GLORIA           ADDRESS ON FILE
AMADOR TOLEDO, JORGE            ADDRESS ON FILE
AMADOR TORRES, GLADYS           ADDRESS ON FILE
AMADOR TORRES, MARTA            ADDRESS ON FILE
AMADOR TRUCKING COMPANY         CALLE FERROCARRIL #160                                                                       CAMUY        PR      00627
AMADOR VALENTIN, FRANKLIN       ADDRESS ON FILE
AMADOR VALENTIN, FRANKLIN       ADDRESS ON FILE
AMADOR VEGA, JOSE               ADDRESS ON FILE
AMADOR VELEZ, MONICA            ADDRESS ON FILE
AMADOR VELEZ, NOEMI             ADDRESS ON FILE
AMADOR VELEZ, RAMON J           ADDRESS ON FILE
AMADOR VILLAFANE, ZURIEL        ADDRESS ON FILE
AMADOR VIRUET, NAHARA G         ADDRESS ON FILE
AMADOR VIVAS, RAMONITA          ADDRESS ON FILE
AMADOR ZARAGOZA, BRENDALIZ      ADDRESS ON FILE
AMADOR, ALEX                    ADDRESS ON FILE
AMADOR, JOSE M.                 ADDRESS ON FILE
AMADOR, RICHARD A.              ADDRESS ON FILE
AMAE LLC                        COND SURFSIDE MANSIONS    3307 AVE ISLA VERDE APT 705A                                       CAROLINA     PR      00979‐4967
AMAEL RODRIGUEZ IRIZARRY        ADDRESS ON FILE
AMAEZ ORTIZ, ALBERTO            ADDRESS ON FILE
AMAL ABDALLAH ALI               ADDRESS ON FILE
AMALBERT FLORES, ROBERTO        ADDRESS ON FILE
AMALBERT GUADALUPE, MARCOS J.   ADDRESS ON FILE




                                                                                         Page 346 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 347 of 3500
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
AMALBERT MILLAN, ROSA M       ADDRESS ON FILE
Amalbert Perez, Omar          ADDRESS ON FILE
AMALBERT PEREZ, OMAR          ADDRESS ON FILE
AMALBERT RAMOS, IRMARELIS     ADDRESS ON FILE
AMALBERT RAMOS, LUIS          ADDRESS ON FILE
AMALBERT SEOANE, MARCOS       ADDRESS ON FILE
Amalbert Sepulveda, Manuel    ADDRESS ON FILE
AMALBERT SEPULVEDA, MANUEL    ADDRESS ON FILE
AMALBERT VILLEGAS, WANDA I    ADDRESS ON FILE
AMALBERT,LUIS M.              ADDRESS ON FILE
AMALIA ARCE RODRIGUEZ         ADDRESS ON FILE
AMALIA BURGOS BARI            ADDRESS ON FILE
AMALIA COLON TRINIDAD         ADDRESS ON FILE
AMALIA DURIEUX KERCADO        ADDRESS ON FILE
AMALIA E RAMIREZ OYOLA        ADDRESS ON FILE
AMALIA FELICIANO RAMOS        ADDRESS ON FILE
AMALIA GARCIA PADILLA         ADDRESS ON FILE
AMALIA I. MONROIG RODRIGUEZ   ADDRESS ON FILE
AMALIA JIMENEZ FLORES         ADDRESS ON FILE
AMALIA LLUCH VELEZ            ADDRESS ON FILE
AMALIA MATIAS                 ADDRESS ON FILE
AMALIA MERCADO BAEZ           ADDRESS ON FILE
AMALIA MORALES                ADDRESS ON FILE
AMALIA NIEVES RODRIGUEZ       ADDRESS ON FILE
AMALIA NUNEZ LOPEZ            ADDRESS ON FILE
AMALIA QUINONES VELEZ         ADDRESS ON FILE
AMALIA RAMOS ESTRADA          ADDRESS ON FILE
AMALIA RODRIGUEZ GUARDIOLA    ADDRESS ON FILE
AMALIA ROSARIO FIGUEROA       ADDRESS ON FILE
AMALIA S CARABALLO ROSARIO    ADDRESS ON FILE
AMALIA SANTIAGO ECHEVARRIA    ADDRESS ON FILE
AMALIA SANTOS ENRIQUEZ        ADDRESS ON FILE
AMALIA VARGAS VARGAS          ADDRESS ON FILE
AMALIA VAZQUEZ RODRIGUEZ      ADDRESS ON FILE
AMALIA VELAZQUEZ AGOSTO       ADDRESS ON FILE
AMALIA VIZCARRONDO VAZQUEZ    ADDRESS ON FILE
AMALID ROMAN MARQUEZ          ADDRESS ON FILE
AMALID ROMAN MARQUEZ          ADDRESS ON FILE
AMALIE J. TORRES DOMINGUEZ    ADDRESS ON FILE
AMALIE TORRES DOMINGUEZ       ADDRESS ON FILE
AMALIO ARROYO RODRIGUEZ       ADDRESS ON FILE
AMALIO I GUEITS DE JESUS      ADDRESS ON FILE
AMALIO MENDEZ NEGRON          ADDRESS ON FILE
AMALIO MOLINA RIVERA          ADDRESS ON FILE
AMALIO ROSARIO RIVERA         ADDRESS ON FILE
AMALIO ROSARIO RIVERA         ADDRESS ON FILE
AMALIO ROSARIO RIVERA         ADDRESS ON FILE
AMALIO ROSARIO RIVERA         ADDRESS ON FILE
AMALIS TORRES GONZALEZ        ADDRESS ON FILE
AMALITA VELEZ GARRIDO         ADDRESS ON FILE
AMALKY FLORES CRUZ            ADDRESS ON FILE
AMALLA CORP                   BO BEATRIZ                CARR 184 KM 33.2                                       CIDRA        PR      00739
AMALUK VEGA FERNANDEZ         ADDRESS ON FILE
AMALVERT CORDOVA, GISSELA     ADDRESS ON FILE
AMALVERT GONZALEZ, JESUSA     ADDRESS ON FILE
AMALY CARDOZA NEGRON          ADDRESS ON FILE
AMALYN ALLENDE CRUZ           ADDRESS ON FILE
AMALYN PEREZ RIVERA           ADDRESS ON FILE
AMALYN RAMOS DAVILA           ADDRESS ON FILE
AMANCIA BONILLA PENA          ADDRESS ON FILE




                                                                           Page 347 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 348 of 3500
                                                                                                 Creditor Matrix

Creditor Name                           Address1                               Address2                       Address3   Address4   City             State   PostalCode   Country
AMANCIA BONILLA PENA                    ADDRESS ON FILE
AMANDA ALBURQUERQUE MELENDEZ            ADDRESS ON FILE
AMANDA ALONSO CALDERON                  ADDRESS ON FILE
AMANDA C FERNANDEZ JORGE                ADDRESS ON FILE
AMANDA CASTRO FIGUEROA                  ADDRESS ON FILE
AMANDA CEDRE NAZARIO                    ADDRESS ON FILE
AMANDA E ROMERO SANCHEZ                 ADDRESS ON FILE
AMANDA G. SOTO TORRES                   ADDRESS ON FILE
AMANDA I TORRES LUGO                    ADDRESS ON FILE
AMANDA J BARRIOS SEGARRA                ADDRESS ON FILE
AMANDA J GEBHARDT                       ADDRESS ON FILE
AMANDA L SENERIZ SOLANO                 ADDRESS ON FILE
AMANDA LUZ FUENTES RODRIGUEZ            ADDRESS ON FILE
AMANDA M AYALA SANTIAGO                 ADDRESS ON FILE
AMANDA M COLON DAVILA                   ADDRESS ON FILE
AMANDA M CRUZ LEON / LUMARY LEON        ADDRESS ON FILE
AMANDA M HERNANDEZ CASTRO               ADDRESS ON FILE
AMANDA MARIE MURPHY                     ADDRESS ON FILE
AMANDA MOLINA MARTINEZ                  ADDRESS ON FILE
AMANDA N FIGUEROA RODRIGUEZ             ADDRESS ON FILE
AMANDA N GOMEZ RAMOS                    ADDRESS ON FILE
AMANDA NICOLE CARRERA ALVAREZ           ADDRESS ON FILE
AMANDA ORTIZ RIVAS                      ADDRESS ON FILE
AMANDA R DE JESUS REYES                 ADDRESS ON FILE
AMANDA RIVERA PACHECO                   ADDRESS ON FILE
AMANDA RODRIGUEZ ACEVEDO                ADDRESS ON FILE
AMANDA S FERRER GARCIA                  ADDRESS ON FILE
AMANDA SANTANA SOLANO                   ADDRESS ON FILE
AMANDA SOTO GARCIA                      ADDRESS ON FILE
AMANDA VERA VERA                        ADDRESS ON FILE
AMANDA Y MALDONADO CASIANO              ADDRESS ON FILE
AMANTE GUILLERMO ARREOLA                ADDRESS ON FILE
AMANTE MARTINEZ, MELVIN                 ADDRESS ON FILE
AMANTINA ALCANTARA                      ADDRESS ON FILE
AMAPOLA INC. HOGAR                      #2227 PASEO AMAPOLA 2DA SECC.LEVITTOWN                                                      TOA BAJA         PR      00949
AMAR EDUCATIONAL SERV Y BANCO POPULAR PRP O BOX 362708                                                                              SAN JUAN         PR      00936‐2708
AMAR EDUCATIONAL SERVICE, INC.          P O BOX 476                                                                                 BARRANQUITAS     PR      00794
AMAR EDUCATIONAL SERVICE, INC.          SR. ESTEBAN ROSADO‐CBC BAYAMON         P O BOX 362708                                       SAN JUAN         PR      00936‐2708
AMAR S BHALLA                           ADDRESS ON FILE
AMARAL ARCE, ANTONIA                    ADDRESS ON FILE
AMARAL COLON, EMMANUEL                  ADDRESS ON FILE
AMARAL DE PAGANI, MARILIA               ADDRESS ON FILE
AMARAL DELGADO, TANIA                   ADDRESS ON FILE
AMARAL GONZALEZ, ISABEL                 ADDRESS ON FILE
AMARAL MALDONADO, FELICITA              ADDRESS ON FILE
AMARAL MARCANO, LUIS                    ADDRESS ON FILE
AMARAL MOJICA, YARITZA                  ADDRESS ON FILE
AMARAL MUNOZ, ESTHER                    ADDRESS ON FILE
AMARAL PEREZ, JUAN                      ADDRESS ON FILE
AMARAL RAMOS MD, CARMEN                 ADDRESS ON FILE
AMARAL RAMOS, RAYMOND                   ADDRESS ON FILE
AMARAL RIVAS, JENNY                     ADDRESS ON FILE
AMARAL ROQUE, RAQUEL                    ADDRESS ON FILE
AMARAL SEIN, EDDIE                      ADDRESS ON FILE
AMARAL SERRANO MD, HECTOR L             ADDRESS ON FILE
AMARAL TORRES, MARIA E.                 ADDRESS ON FILE
AMARAL, MIGUEL                          ADDRESS ON FILE
AMARALES SAAVEDRA, ALEJANDRO            ADDRESS ON FILE
AMARANTE ANDUJAR, FRANCISCO             ADDRESS ON FILE
AMARANTE ANDUJAR, LUIS A.               ADDRESS ON FILE




                                                                                                Page 348 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 349 of 3500
                                                                                            Creditor Matrix

Creditor Name                        Address1                  Address2                                  Address3            Address4   City      State   PostalCode   Country
AMARANTE ANDUJAR, SANDRA             ADDRESS ON FILE
AMARANTE ENCARNACION, GLORIA         ADDRESS ON FILE
AMARANTE REYNOSO, NYDIA              ADDRESS ON FILE
Amarante Rivera, Milton J            ADDRESS ON FILE
AMARAT RODRIGUEZ, ANA M              ADDRESS ON FILE
AMARELIS DALIS RIVERA SANTIAGO       ADDRESS ON FILE
AMARELY LOPEZ RIVERA                 ADDRESS ON FILE
AMARGOS POTTS, BERNARDO              ADDRESS ON FILE
AMARIE FERRER CAMACHO                ADDRESS ON FILE
AMARILIN VILLANUEVA CORTES           ADDRESS ON FILE
AMARILIS A SANCHEZ MARRERO           ADDRESS ON FILE
AMARILIS ALVERIO GARCIA              ADDRESS ON FILE
AMARILIS APONTE APONTE               ADDRESS ON FILE
AMARILIS AVILES GARCIA               ADDRESS ON FILE
AMARILIS AVILES ROSADO               ADDRESS ON FILE
AMARILIS AYMAR RODRIGUEZ             ADDRESS ON FILE
AMARILIS C POMALES SANABRIA          ADDRESS ON FILE
AMARILIS CARDONA DOBLE               ADDRESS ON FILE
AMARILIS CARRASQUILLO CALO           ADDRESS ON FILE
AMARILIS CASTRO VEGA                 ADDRESS ON FILE
AMARILIS CORCHADO PEREZ              ADDRESS ON FILE
AMARILIS CORIANO FELICIANO           ADDRESS ON FILE
AMARILIS CRESPO RESTO                ADDRESS ON FILE
AMARILIS CRUZ CARTAGENA              ADDRESS ON FILE
AMARILIS CRUZ ORTIZ                  ADDRESS ON FILE
AMARILIS CRUZ ROSARIO                ADDRESS ON FILE
AMARILIS DE LEON AYALA               ADDRESS ON FILE
AMARILIS DELGADO GONZALEZ            ADDRESS ON FILE
AMARILIS DIAZ MONGE                  ADDRESS ON FILE
AMARILIS DOMINGUEZ AYALA             ADDRESS ON FILE
AMARILIS FEAL CRUZ                   ADDRESS ON FILE
AMARILIS FELICIANO CORTES            ADDRESS ON FILE
AMARILIS GARCIA NUNEZ                ADDRESS ON FILE
AMARILIS HERNANDEZ ENCARNACION       ADDRESS ON FILE
AMARILIS J SANCHEZ SEVILLANO         ADDRESS ON FILE
Amarilis Larriu Colón                ADDRESS ON FILE
AMARILIS LEBRON RIVERA               ADDRESS ON FILE
AMARILIS LISOJO BAEZ                 ADDRESS ON FILE
AMARILIS LLANOS LEBRON               ADDRESS ON FILE
AMARILIS LOPEZ DE JESUS              ADDRESS ON FILE
AMARILIS LOPEZ GONZALEZ              ADDRESS ON FILE
AMARILIS LOPEZ GONZALEZ              ADDRESS ON FILE
AMARILIS LOPEZ RODRIGUEZ             ADDRESS ON FILE
AMARILIS MOJICA / AGUEDA HERNANDEZ   ADDRESS ON FILE
AMARILIS MORALES DE JESUS            ADDRESS ON FILE
AMARILIS OJEDA FIGUEROA              ADDRESS ON FILE
AMARILIS OTERO DIAZ                  ADDRESS ON FILE
AMARILIS OTERO MARRERO               ADDRESS ON FILE
AMARILIS PADILLA LUGO                ADDRESS ON FILE
AMARILIS PAGAN JIMENEZ               ADDRESS ON FILE
AMARILIS PEREZ DIAZ                  LCDO. LUIS TORO GOYCO     COND. TWIN TOWERS STE. 54                 CALLE ANÍBAL 3110              PONCE     PR      00717
AMARILIS PEREZ PEREZ                 ADDRESS ON FILE
AMARILIS RAMOS GOMEZ                 ADDRESS ON FILE
AMARILIS RAMOS LUNA                  ADDRESS ON FILE
AMARILIS RAMOS RIVERA                ADDRESS ON FILE
AMARILIS RIVERA GONZALEZ             ADDRESS ON FILE
AMARILIS RIVERA MARQUEZ              ADDRESS ON FILE
AMARILIS RIVERA ORTIZ                ADDRESS ON FILE
AMARILIS RODRIGUEZ PEREZ             ADDRESS ON FILE
AMARILIS ROSARIO GONZALEZ            ADDRESS ON FILE




                                                                                           Page 349 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 350 of 3500
                                                                                                        Creditor Matrix

Creditor Name                           Address1                      Address2                                       Address3   Address4   City         State   PostalCode   Country
AMARILIS ROSAS LUCIANO                  ADDRESS ON FILE
AMARILIS RUIZ HERNANDEZ                 ADDRESS ON FILE
AMARILIS SANTIAGO BAEZ                  ADDRESS ON FILE
AMARILIS SANTIAGO GUTIERREZ             ADDRESS ON FILE
AMARILIS TAVAREZ VALES                  ADDRESS ON FILE
AMARILIS TAVAREZ VALES                  ADDRESS ON FILE
AMARILIS TROCHE LOPEZ                   ADDRESS ON FILE
AMARILIS VARGAS AVILES                  ADDRESS ON FILE
AMARILIS VELEZ RODRIGIUEZ               ADDRESS ON FILE
AMARILIS VELLON BENITEZ                 ADDRESS ON FILE
AMARILIZ BONILLA ACEVEDO                ADDRESS ON FILE
AMARILIZ CRUZ CASIANO                   ADDRESS ON FILE
AMARILIZ RIVERA ORTIZ                   ADDRESS ON FILE
AMARILIZ X. DIAZ BAEZ                   ADDRESS ON FILE
AMARILLIS RODRIGUEZ MENDEZ              ADDRESS ON FILE
AMARILLYS ALVARADO GUZMAN               ADDRESS ON FILE
AMARILLYS MARTINEZ TRINIDAD             ADDRESS ON FILE
AMARILYN SOLARIS RIVERA                 ADDRESS ON FILE
AMARILYS ADORNO MARRERO                 ADDRESS ON FILE
AMARILYS ALMODOVAR SANTIAGO             ADDRESS ON FILE
AMARILYS ALVAREZ DIAZ                   ADDRESS ON FILE
AMARILYS ALVAREZ SANCHEZ                ADDRESS ON FILE
AMARILYS AROCHO MALDONADO               ADDRESS ON FILE
AMARILYS AROCHO MALDONADO               ADDRESS ON FILE
AMARILYS ARROYO CRUZ                    ADDRESS ON FILE
AMARILYS BAEZ PAGAN                     ADDRESS ON FILE
AMARILYS BARRIENTOS CAMPOS              ADDRESS ON FILE
AMARILYS BARRIENTOS CAMPOS              ADDRESS ON FILE
AMARILYS BURGOS SANTINI                 ADDRESS ON FILE
AMARILYS CANCEL GONZALEZ                ADDRESS ON FILE
AMARILYS COLON VELEZ                    ADDRESS ON FILE
AMARILYS CRUZ BETANCOURT                ADDRESS ON FILE
AMARILYS DE JESUS COLON                 ADDRESS ON FILE
AMARILYS DE JESUS ORTIZ                 ADDRESS ON FILE
AMARILYS DIAZ OCASIO                    ADDRESS ON FILE
AMARILYS DIJOLS MONTANEZ                ADDRESS ON FILE
AMARILYS ECHEVARRIA BURGOS              ADDRESS ON FILE
AMARILYS FLORES FLORES                  SRA. AMARILYS FLORES FLORES   PO BOX 177                                                           COMERÍO      PR      00782
AMARILYS GALVAN MACHADO                 ADDRESS ON FILE
AMARILYS IRIZARRY PENA                  ADDRESS ON FILE
AMARILYS JIMENEZ GONZALEZ               ADDRESS ON FILE
AMARILYS LAGUNA HERNANDEZ               ADDRESS ON FILE
AMARILYS LASSALLE LOPEZ                 ADDRESS ON FILE
AMARILYS LEBRON ROSARIO                 ADDRESS ON FILE
AMARILYS LOPEZ PINEIRO                  ADDRESS ON FILE
AMARILYS MALDONADO ZAMBRANA             ADDRESS ON FILE
AMARILYS MARRERO GARCIA                 ADDRESS ON FILE
AMARILYS MARRERO RODRIGUEZ              ADDRESS ON FILE
AMARILYS MARTINEZ GARCIA                ADDRESS ON FILE
AMARILYS MARTINEZ NEGRON                ADDRESS ON FILE
AMARILYS MERCADO HORTA                  ADDRESS ON FILE
AMARILYS MORALES DBA TRANSPORTE ESCOLAR BOX 1107                      COND ALTOS DE ESCORIAL                                               CAROLINA     PR      00987
AMARILYS MORALES DBA TRANSPORTE ESCOLAR COND. ALTOS DE ESCORIAL       511 BLVD. MEDIA LUNA, APT. 1107                                      CAROLINA     PR      00987
AMARILYS MORALES DBA TRANSPORTE ESCOLAR URB VILLA CAROLINA            5 1 CALLE 32                                                         CAROLINA     PR      00985
AMARILYS MORALES LOPEZ                  ADDRESS ON FILE
AMARILYS OLMEDA ROSA                    ADDRESS ON FILE
AMARILYS PAGAN REYES                    ADDRESS ON FILE
AMARILYS PENA ORELLANA                  ADDRESS ON FILE
AMARILYS PEREZ BONILLA                  ADDRESS ON FILE
AMARILYS PEREZ DIAZ                     ADDRESS ON FILE




                                                                                                   Page 350 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 351 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AMARILYS QUINONES MARQUEZ     ADDRESS ON FILE
AMARILYS QUINTANA VELEZ       ADDRESS ON FILE
AMARILYS RAMOS DELANNOY       ADDRESS ON FILE
AMARILYS RIVERA CABRERA       ADDRESS ON FILE
AMARILYS RIVERA CABRERA       ADDRESS ON FILE
AMARILYS RIVERA CACERES       ADDRESS ON FILE
AMARILYS RODRIGUEZ COLON      ADDRESS ON FILE
AMARILYS ROSADO TORRES        ADDRESS ON FILE
AMARILYS ROSARIO ORTIZ        ADDRESS ON FILE
AMARILYS ROSARIO ORTIZ        ADDRESS ON FILE
AMARILYS RUIZ REYES           ADDRESS ON FILE
AMARILYS SALDANA GARCIA       ADDRESS ON FILE
AMARILYS SANTOS ECHEVARRIA    ADDRESS ON FILE
AMARILYS SANTOS ORTIZ         ADDRESS ON FILE
AMARILYS SOTO PEREZ           ADDRESS ON FILE
AMARILYS TORRES MUNIZ         ADDRESS ON FILE
AMARILYS VALENTIN ESTRELLA    ADDRESS ON FILE
AMARILYS VARGAS CORDERO       ADDRESS ON FILE
AMARILYS VELEZ RODRIGUEZ      ADDRESS ON FILE
AMARILYS VILLAFANE ROBLES     ADDRESS ON FILE
AMARIS ADORNO DIAZ            ADDRESS ON FILE
AMARIS FLORES ROMAN           ADDRESS ON FILE
AMARIS GALINDO MALAVE         ADDRESS ON FILE
AMARIS MILLAN FLORES          ADDRESS ON FILE
AMARIS MONROIG MARQUEZ        ADDRESS ON FILE
AMARIS QUINONES               ADDRESS ON FILE
AMARIS SANCHEZ DENNIS         ADDRESS ON FILE
AMARIS V MALDONADO PEREZ      ADDRESS ON FILE
AMARLYN CINTRON BUCCIERI      ADDRESS ON FILE
AMARO ACEVEDO, HECTOR C       ADDRESS ON FILE
AMARO AGOSTO, SHARON          ADDRESS ON FILE
AMARO ALICEA, JOSE            ADDRESS ON FILE
AMARO ALVAREZ, DARLENE I      ADDRESS ON FILE
AMARO ALVAREZ, NELSON         ADDRESS ON FILE
AMARO AMARO, ANA E            ADDRESS ON FILE
Amaro Amaro, Arcadio          ADDRESS ON FILE
AMARO AMARO, CESAR            ADDRESS ON FILE
AMARO AMARO, GINELDA          ADDRESS ON FILE
AMARO AMARO, HECTOR L         ADDRESS ON FILE
AMARO AMARO, JUAN L           ADDRESS ON FILE
AMARO AMARO, JUSTINO          ADDRESS ON FILE
AMARO AMARO, SANTIAGO         ADDRESS ON FILE
AMARO AMARO, VIVIAN S         ADDRESS ON FILE
Amaro Arroyo, Damaris         ADDRESS ON FILE
AMARO ATANACIO, LISA          ADDRESS ON FILE
AMARO AYALA, NATANAEL         ADDRESS ON FILE
AMARO BERLINGERI, QUIANA D.   ADDRESS ON FILE
AMARO BERMUDEZ, MAYRA W.      ADDRESS ON FILE
AMARO BLONDET, MARTIN         ADDRESS ON FILE
AMARO BONILLA, JOSE           ADDRESS ON FILE
AMARO BORRERO, SUAMMARIE      ADDRESS ON FILE
AMARO BURGOS, HECTOR M        ADDRESS ON FILE
AMARO BUTTER, CHRISTOPHER     ADDRESS ON FILE
AMARO CAMACHO, PEDRO          ADDRESS ON FILE
AMARO CANCEL, MARIA           ADDRESS ON FILE
Amaro Cancel, Virgen M        ADDRESS ON FILE
AMARO CARABALLO, AMARELIS     ADDRESS ON FILE
AMARO CARABALLO, BENGI        ADDRESS ON FILE
AMARO CARABALLO, KATHERINE    ADDRESS ON FILE
Amaro Castro, Jose M          ADDRESS ON FILE




                                                                          Page 351 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 352 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AMARO CINTRON, YOLANDA        ADDRESS ON FILE
AMARO COLLAZO, AURELIS        ADDRESS ON FILE
AMARO COLLAZO, SANTY          ADDRESS ON FILE
AMARO COLLAZO, SANTYOMAR      ADDRESS ON FILE
AMARO COLON, ALEJANDRO        ADDRESS ON FILE
AMARO COLON, ANGEL            ADDRESS ON FILE
AMARO COLON, MILAGROS         ADDRESS ON FILE
AMARO COMPRES, PEDRO          ADDRESS ON FILE
AMARO COMPRES, RICARDO        ADDRESS ON FILE
AMARO CORA, BRISEIDA          ADDRESS ON FILE
AMARO CORA, JOSE              ADDRESS ON FILE
AMARO CORA, REINALDO          ADDRESS ON FILE
AMARO COTTO, LUIS             ADDRESS ON FILE
Amaro Cruz, Adalberto         ADDRESS ON FILE
AMARO CRUZ, ELIZABETH         ADDRESS ON FILE
Amaro Cruz, Enrique           ADDRESS ON FILE
AMARO CRUZ, ESPERANZA         ADDRESS ON FILE
AMARO CRUZ, IVELISSE          ADDRESS ON FILE
AMARO CRUZ, JAVIER            ADDRESS ON FILE
AMARO CRUZ, JUAN C            ADDRESS ON FILE
Amaro Cruz, Mariano           ADDRESS ON FILE
AMARO CRUZ, NORA I            ADDRESS ON FILE
AMARO DE JESUS, JAY           ADDRESS ON FILE
AMARO DE LEON, LUISA          ADDRESS ON FILE
AMARO DE RIVERA, ANGELITA     ADDRESS ON FILE
AMARO DIAZ, JORGE F.          ADDRESS ON FILE
AMARO DIAZ, LUIS              ADDRESS ON FILE
AMARO DIAZ, RAUL              ADDRESS ON FILE
AMARO FALCON, ERIKA J         ADDRESS ON FILE
Amaro Fantauzzi, Geniel       ADDRESS ON FILE
AMARO FANTAUZZI, GUITZALIS    ADDRESS ON FILE
AMARO FISCHBANCH, RANTHY I.   ADDRESS ON FILE
AMARO FLORES, ALEXANDRA B.    ADDRESS ON FILE
AMARO FRANCO, ANA M.          ADDRESS ON FILE
AMARO GAGO, JOSHUA            ADDRESS ON FILE
AMARO GARCIA, DIMARY          ADDRESS ON FILE
AMARO GARCIA, ERICK           ADDRESS ON FILE
AMARO GARCIA, FRANCES L       ADDRESS ON FILE
AMARO GARCIA, JORGE           ADDRESS ON FILE
AMARO GARCIA, JUAN            ADDRESS ON FILE
AMARO GARCIA, JUAN C.         ADDRESS ON FILE
AMARO GARCIA, LILLIAM         ADDRESS ON FILE
AMARO GARCIA, MADELINE        ADDRESS ON FILE
AMARO GARCIA, MADELINE        ADDRESS ON FILE
AMARO GARCIA, MARISOL         ADDRESS ON FILE
AMARO GARCIA, NINOSTKA        ADDRESS ON FILE
AMARO GARCIA, VALERIE         ADDRESS ON FILE
Amaro Gonzalez, Andres        ADDRESS ON FILE
AMARO GONZALEZ, CARLOS        ADDRESS ON FILE
AMARO GONZALEZ, ERNESTO       ADDRESS ON FILE
AMARO GONZALEZ, GRISELLE      ADDRESS ON FILE
AMARO GONZALEZ, JUAN          ADDRESS ON FILE
AMARO GUADALUPE, KETHSY J     ADDRESS ON FILE
AMARO GUADALUPE, YESSICA Y    ADDRESS ON FILE
AMARO HERNANDEZ, ESTEBAN      ADDRESS ON FILE
AMARO HERNANDEZ, JEREMIAS     ADDRESS ON FILE
Amaro Hernandez, Jesus M.     ADDRESS ON FILE
AMARO HERNANDEZ, MARTHA E     ADDRESS ON FILE
AMARO HERNANDEZ, RUBEN        ADDRESS ON FILE
AMARO HERNANDEZ, SAMUEL       ADDRESS ON FILE




                                                                          Page 352 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 353 of 3500
                                                                                                Creditor Matrix

Creditor Name                     Address1                            Address2                               Address3     Address4   City         State   PostalCode   Country
AMARO HERNANDEZ, WILFREDO         ADDRESS ON FILE
AMARO LABOY, YOLANDA              ADDRESS ON FILE
AMARO LABOY, YOLANDA              ADDRESS ON FILE
AMARO LASANTA, ERNESTO L          ADDRESS ON FILE
AMARO LEBRON, ALEXANDRA           ADDRESS ON FILE
AMARO LEBRON, FRANCISCO           ADDRESS ON FILE
AMARO LEBRON, GENEVA              ADDRESS ON FILE
AMARO LEBRON, NILKA               ADDRESS ON FILE
AMARO LEBRON, SANDRA V            ADDRESS ON FILE
AMARO LEBRON, YOMARY              ADDRESS ON FILE
AMARO LEON, LIZBETH               ADDRESS ON FILE
AMARO LLAMPIE, JULIO              ADDRESS ON FILE
AMARO LLAMPIER, PEDRO             ADDRESS ON FILE
AMARO LÓPEZ, MARÍA L., ET ALS.    LCDO. ALBERTO ARESTI FRANSESCHINI   250 AVE. Ponce DE LEÓN                 SUITE 1000              SAN JUAN     PR      00918
AMARO LUGO, EVELYN                ADDRESS ON FILE
AMARO LUNA, TERESA                ADDRESS ON FILE
AMARO MACHUCA, DENISE M.          ADDRESS ON FILE
AMARO MALAVE, ILEANA              ADDRESS ON FILE
AMARO MARIANI, MARIA              ADDRESS ON FILE
Amaro Martinez, Eusebio           ADDRESS ON FILE
AMARO MARTINEZ, JULIO C.          ADDRESS ON FILE
AMARO MARTINEZ, MARIA DE LOS A.   ADDRESS ON FILE
AMARO MASSO, JULIO A              ADDRESS ON FILE
AMARO MAURAS, AIXA                ADDRESS ON FILE
AMARO MEDINA, CARMEN              ADDRESS ON FILE
AMARO MEDINA, MARIA E             ADDRESS ON FILE
AMARO MEDINA, MARISOL             ADDRESS ON FILE
AMARO MEDINA, VICTOR              ADDRESS ON FILE
AMARO MEDINA, YAZMIRA             ADDRESS ON FILE
AMARO MOLINA, MICHELLE            ADDRESS ON FILE
AMARO MONSENAT, RAUL              ADDRESS ON FILE
AMARO MORALES, CESAR              ADDRESS ON FILE
AMARO MORALES, JOSEPH             ADDRESS ON FILE
AMARO OQUENDO, MARIANGELIE        ADDRESS ON FILE
Amaro Oropeza, Alexis             ADDRESS ON FILE
AMARO ORTEGA, AMELIA              ADDRESS ON FILE
AMARO ORTIZ, ANGELA R             ADDRESS ON FILE
AMARO ORTIZ, DANIEL               ADDRESS ON FILE
AMARO ORTIZ, INES M               ADDRESS ON FILE
AMARO ORTIZ, ISRAEL               ADDRESS ON FILE
AMARO ORTIZ, JULIO                ADDRESS ON FILE
AMARO ORTIZ, NILDA                ADDRESS ON FILE
AMARO ORTIZ, NOELIA               ADDRESS ON FILE
AMARO ORTIZ, ROSA M               ADDRESS ON FILE
AMARO ORTIZ, YAHAIRA              ADDRESS ON FILE
AMARO ORTIZ, YELITZA              ADDRESS ON FILE
AMARO ORTIZ, YESENIA              ADDRESS ON FILE
AMARO OZUNA, JUAN                 ADDRESS ON FILE
AMARO PADILLA, FERNANDO           ADDRESS ON FILE
AMARO PADILLA, RAUL               ADDRESS ON FILE
AMARO PEREZ,KATIA Y.              ADDRESS ON FILE
AMARO PICART, CECILIA             ADDRESS ON FILE
AMARO PICART, MARTA T             ADDRESS ON FILE
AMARO PINTOR, BASILISA            ADDRESS ON FILE
AMARO PINTOR, ESTEBAN             ADDRESS ON FILE
AMARO RABRY, AUREA E              ADDRESS ON FILE
AMARO RAMOS, ISRAEL               ADDRESS ON FILE
AMARO RAMOS, LUIS W               ADDRESS ON FILE
AMARO REYES, MARIELISSE           ADDRESS ON FILE
Amaro Reyes, Ruben                ADDRESS ON FILE




                                                                                               Page 353 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 354 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AMARO REYES, RUBEN                ADDRESS ON FILE
Amaro Rios, Victor                ADDRESS ON FILE
AMARO RIVAS, ENRIQUE              ADDRESS ON FILE
AMARO RIVERA ABNER                ADDRESS ON FILE
AMARO RIVERA, CATALINA            ADDRESS ON FILE
AMARO RIVERA, CELINES             ADDRESS ON FILE
AMARO RIVERA, ELIZABETH           ADDRESS ON FILE
AMARO RIVERA, GERMAN JR           ADDRESS ON FILE
AMARO RIVERA, RAFAEL              ADDRESS ON FILE
AMARO RIVERA, ROSA                ADDRESS ON FILE
Amaro Rivera, Samuel              ADDRESS ON FILE
AMARO RIVERA, THAMARIS            ADDRESS ON FILE
AMARO RIVERA, YAMILA              ADDRESS ON FILE
AMARO RODRIGUEZ, ANNETTE          ADDRESS ON FILE
AMARO RODRIGUEZ, BENNY            ADDRESS ON FILE
Amaro Rodriguez, Benny O.         ADDRESS ON FILE
AMARO RODRIGUEZ, CARMEN           ADDRESS ON FILE
Amaro Rodriguez, Daisy Jannette   ADDRESS ON FILE
Amaro Rodriguez, Diana L.         ADDRESS ON FILE
AMARO RODRIGUEZ, FAUSTINA         ADDRESS ON FILE
AMARO RODRIGUEZ, JUAN             ADDRESS ON FILE
AMARO RODRIGUEZ, LUIS             ADDRESS ON FILE
AMARO RODRIGUEZ, MARIA I.         ADDRESS ON FILE
AMARO RODRIGUEZ, PATRICIA         ADDRESS ON FILE
AMARO RODRIGUEZ, SERAFIN          ADDRESS ON FILE
AMARO RODRIGUEZ, SERAFIN          ADDRESS ON FILE
AMARO RODRIGUEZ, WILMARIE         ADDRESS ON FILE
AMARO ROSA, MARIA DEL C           ADDRESS ON FILE
AMARO ROSADO, JESUS               ADDRESS ON FILE
AMARO ROSARIO, LUISA              ADDRESS ON FILE
AMARO ROSARIO, LYDIA              ADDRESS ON FILE
AMARO ROSARIO, MARY               ADDRESS ON FILE
AMARO ROSARIO, PEDRO              ADDRESS ON FILE
AMARO SANCHEZ, ANGEL              ADDRESS ON FILE
AMARO SANCHEZ, ANGEL              ADDRESS ON FILE
AMARO SANCHEZ, CLARISA            ADDRESS ON FILE
Amaro Sanchez, Eduardo            ADDRESS ON FILE
AMARO SANCHEZ, GRISELLE           ADDRESS ON FILE
AMARO SANCHEZ, JOSE               ADDRESS ON FILE
AMARO SANCHEZ, JUDITH             ADDRESS ON FILE
Amaro Santiago, Artemio           ADDRESS ON FILE
AMARO SANTIAGO, CARMELO           ADDRESS ON FILE
AMARO SANTIAGO, HEYDEE            ADDRESS ON FILE
AMARO SANTIAGO, JOVAN             ADDRESS ON FILE
Amaro Sierra, Juan F.             ADDRESS ON FILE
AMARO SOLIS, NICOLASA             ADDRESS ON FILE
AMARO SOTO, ANGEL                 ADDRESS ON FILE
AMARO SOTO, LUIS A.               ADDRESS ON FILE
AMARO SOTO, MARIA DE LOS          ADDRESS ON FILE
AMARO SOTO, MARTIN G.             ADDRESS ON FILE
AMARO SOTO, SASKIA                ADDRESS ON FILE
AMARO SUAREZ, RANDY               ADDRESS ON FILE
AMARO TORRES, EMERITO             ADDRESS ON FILE
AMARO TORRES, ISRAEL              ADDRESS ON FILE
AMARO TORRES, MARILYN             ADDRESS ON FILE
AMARO TORRES,EMERITO              ADDRESS ON FILE
AMARO VAZQUEZ, BRENDA             ADDRESS ON FILE
AMARO VAZQUEZ, BRENDA L.          ADDRESS ON FILE
AMARO VAZQUEZ, DAMARIS            ADDRESS ON FILE
AMARO VAZQUEZ, JASMANY            ADDRESS ON FILE




                                                                              Page 354 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 355 of 3500
                                                                                                                Creditor Matrix

Creditor Name                          Address1                                  Address2                                    Address3   Address4   City            State   PostalCode   Country
Amaro Vazquez, Luis A                  ADDRESS ON FILE
AMARO VAZQUEZ, MIGUEL                  ADDRESS ON FILE
Amaro Vazquez, Nelson O                ADDRESS ON FILE
AMARO VAZQUEZ, SARAH                   ADDRESS ON FILE
AMARO VAZQUEZ, VICTOR                  ADDRESS ON FILE
AMARO VELAZQUEZ, FRANCISCO             ADDRESS ON FILE
Amaro Velazquez, Jesus                 ADDRESS ON FILE
Amaro Velazquez, Luis O                ADDRESS ON FILE
AMARO, FERNANDO                        ADDRESS ON FILE
AMARYLIS CINTRON VARGAS                ADDRESS ON FILE
AMARYLIS MONTANEZ VAZQUEZ              ADDRESS ON FILE
AMARYLIS QUINONES RAMOS                ADDRESS ON FILE
AMARYLLIS COLON VAZQUEZ                ADDRESS ON FILE
AMARYLLIS R MUNOZ COLON                ADDRESS ON FILE
AMARYS VELLISE BOLORIN SOLIVAN         ADDRESS ON FILE
AMATISTA FILMS                         P O BOX 10013                                                                                               SAN JUAN        PR      00908
AMATISTA FILMS INC                     PO BOX 10013                                                                                                SAN JUAN        PR      00908
AMATO GARCIA, LUIS                     ADDRESS ON FILE
AMATO GONZALEZ, JACLYN                 ADDRESS ON FILE
AMAURI M RODRIGUEZ MOJICA              ADDRESS ON FILE
AMAURIS TRUST                          201 S PHILLIPS AVE 201                                                                                      SIOUX FALLS     SD      57104
AMAURY A DIAZ AQUINO                   ADDRESS ON FILE
AMAURY A RIVERA RIOS D/B/A COOL WEST   BO DULCES LABIOS                          265 CALLE BENIGNO CONTRERAS                                       MAYAGUEZ        PR      00680
AMAURY AGUAYO HIRALDO                  ADDRESS ON FILE
AMAURY ANDUJAR FIGUEROA                ADDRESS ON FILE
AMAURY ARVELO RAMOS                    ADDRESS ON FILE
AMAURY AUTO BODY                       CALLE 131 B‐Y18 GADINES DE COUNTRY CLUB                                                                     CAROLINA        PR      00983
AMAURY BADILLO MARQUEZ                 ADDRESS ON FILE
AMAURY DE JESUS GONZALEZ               ADDRESS ON FILE
AMAURY DE JESUS SANTANA                ADDRESS ON FILE
AMAURY E MORALES GONZALEZ              ADDRESS ON FILE
AMAURY HERNANDEZ MEDINA                ADDRESS ON FILE
AMAURY J MALAVE SANABRIA               ADDRESS ON FILE
AMAURY J WALKER                        ADDRESS ON FILE
AMAURY L PACHECO PEREZ                 ADDRESS ON FILE
AMAURY LLORENS BALZAC                  ADDRESS ON FILE
AMAURY LLUVERAS GOMEZ                  ADDRESS ON FILE
AMAURY LOPEZ                           ADDRESS ON FILE
AMAURY LOPEZ AYALA                     ADDRESS ON FILE
AMAURY PACHECO DIAZ                    ADDRESS ON FILE
AMAURY PADILLA GARCIA                  ADDRESS ON FILE
AMAURY PARIS VAZQUEZ                   ADDRESS ON FILE
AMAURY PEREZ CLAUDIO MD, NESTOR        ADDRESS ON FILE
AMAURY PEREZ NADAL                     ADDRESS ON FILE
AMAURY PEREZ RAMOS                     ADDRESS ON FILE
AMAURY PEREZ SALAS                     ADDRESS ON FILE
AMAURY PUMAREJO CASTELLON              ADDRESS ON FILE
AMAURY R. COLON HERNANDEZ              ADDRESS ON FILE
AMAURY RODRIGUEZ PACHECO               ADDRESS ON FILE
AMAURY SAMALOT RIVERA                  ADDRESS ON FILE
AMAURY SANTOS RIOS                     ADDRESS ON FILE
AMAURY TORRES CABRERA                  ADDRESS ON FILE
AMAURY TORRES TORRES                   ADDRESS ON FILE
AMAURY VELASCO VELEZ                   ADDRESS ON FILE
AMAURY VELEZ TORRES                    ADDRESS ON FILE
AMAURY VIERA OYOLA                     ADDRESS ON FILE
AMAURY Y CENTENO LUGO                  ADDRESS ON FILE
AMAVELYN CRUZ FIGUEROA                 ADDRESS ON FILE
AMAYA IRENE, RENE                      ADDRESS ON FILE
AMAYA JIMENEZ, JORGE                   ADDRESS ON FILE




                                                                                                               Page 355 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 356 of 3500
                                                                                                                         Creditor Matrix

Creditor Name                              Address1                                      Address2                                     Address3   Address4   City               State   PostalCode   Country
AMAYA MOLINA, GABRIELA                     ADDRESS ON FILE
AMAYA RAMIREZ, HECTOR                      ADDRESS ON FILE
AMAYA SANTIAGO, RENE                       ADDRESS ON FILE
AMAYAJOSUNE TORRES ROSA                    ADDRESS ON FILE
AMAYRA CASTRO DIEPPA                       ADDRESS ON FILE
AMAYRANIS TORRES VAZQUEZ                   ADDRESS ON FILE
AMAZ CAR, INC                              PO BOX 1795                                                                                                      GUAYAMA            PR      00785‐1795
AMAZE STRONG ENTERPRISES INC               URB BORINQUEN GDNS                            1941 CALLE JULIO RUEDAS                                            SAN JUAN           PR      00926‐6301
AMAZE & STRONG                             PLAZA UNIVERSIDAD                             2000 CALLE ANASCO 839 LOCAL 3                                      SAN JUAN           PR      00925
AMAZI SYSTEM                               PO BOX 19645                                  FERNANDEZ JUNCOS, STATION                                          SAN JUAN           PR      00910‐9645
AMAZING GRAPHICS INC                       3‐3 BO CANTERA STE 1                                                                                             MANATI             PR      00674
AMAZING KIDS DAY CARE CORP.                URB. MONTE CASINO 359 CALLE CEDRO                                                                                TOA ALTA           PR      00953
AMAZON.COM                                 1050 SOUTH COLUMBIA AVE                                                                                          CAMPDELLSVILLE     KY      42178
AMB INVESTMENT INC                         PO BOX 86                                                                                                        BARRANQUITAS       PR      00794
Ambac Assurance Corp.                      Dwight Kwa, Assistant General Counsel         One State Street Plaza                                             New York           NY      10004
AMBAC Assurance Corporation                Attn: Bongi Zungu , Vice President            One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                Attn: David Wallis, President                 One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                Attn: Diana Adams, President                  One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                Attn: Lisa Danella, Vice President            One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                Attn: Reinhard Kress, Premiun Tax Contact     One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                Attn: Stephen Ksenak, Circulation of Risk     One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                Attn: Stephen Ksenak, Consumer Complaint Cont One State Street                                                   New York           NY      10004
AMBAC Assurance Corporation                One State Street Plaza                                                                                           New York           NY      10004
AMBAR B CABAN URENA                        ADDRESS ON FILE
AMBAR DAVEISY ECHEVARRIA                   ADDRESS ON FILE
AMBAR ENCARNACION GARCIA                   ADDRESS ON FILE
AMBAR J ACEVEDO VELEZ                      ADDRESS ON FILE
AMBAR J BERAS MALDONADO                    ADDRESS ON FILE
AMBAR M GONZALEZ GONZALEZ                  ADDRESS ON FILE
AMBAR M GONZALEZ VALENCIA                  ADDRESS ON FILE
AMBAR M GONZALEZ VALENCIA                  ADDRESS ON FILE
AMBAR ORTIZ RUIZ                           ADDRESS ON FILE
AMBAR RAMOS ORTIZ                          ADDRESS ON FILE
AMBAR REYES ROSADO                         ADDRESS ON FILE
AMBAR RIVERA CAMACHO                       ADDRESS ON FILE
AMBAR Z CARTAGENA MALDONADO                ADDRESS ON FILE
AMBASHT MD, SAKET                          ADDRESS ON FILE
AMBASSADOR V ETERANS SERV ICES OF PR L C   BO.AMUELAS #115 CARR 592 KM 5.6                                                                                  JUANA DIAZ         PR      00795
AMBASSADOR VETERANS SERVICES OF PR LLC     BO AMUELAS CARR 592 115                                                                                          JUANA DIAZ         PR      00795
AMBER E RIVERA MORALES                     ADDRESS ON FILE
AMBERT AYUSO, DADGANAMAY                   ADDRESS ON FILE
AMBERT BRACERO, DIANA                      ADDRESS ON FILE
AMBERT CASTRO, MARIA D                     ADDRESS ON FILE
AMBERT COLON, ELENA                        ADDRESS ON FILE
AMBERT COTTO, DIMARIE                      ADDRESS ON FILE
AMBERT CRUZ, LOURDES                       ADDRESS ON FILE
Ambert Cruz, Luis A                        ADDRESS ON FILE
AMBERT DIAZ, JESUS                         ADDRESS ON FILE
AMBERT DIAZ, JONATHAN                      ADDRESS ON FILE
AMBERT GONZALEZ, JENNIFER                  ADDRESS ON FILE
AMBERT GONZALEZ, LOURDES                   ADDRESS ON FILE
AMBERT LEFEBRES, MARIA E.                  ADDRESS ON FILE
AMBERT LLANES, YASHIRA LINETTE             ADDRESS ON FILE
AMBERT MAGALLON, EUGENIO                   ADDRESS ON FILE
AMBERT MARTINEZ, ELIZABETH J               ADDRESS ON FILE
AMBERT MORALES, IVETTE V                   ADDRESS ON FILE
Ambert Otero, Luz M                        ADDRESS ON FILE
AMBERT PABON, DORIS M                      ADDRESS ON FILE
AMBERT PADILLA, DOLORES                    ADDRESS ON FILE
AMBERT PRIETO, KIERSSIS                    ADDRESS ON FILE




                                                                                                                     Page 356 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 357 of 3500
                                                                                              Creditor Matrix

Creditor Name                          Address1                    Address2                                Address3   Address4   City              State   PostalCode   Country
AMBERT RIVERA, INES                    ADDRESS ON FILE
AMBERT RODRIGUEZ, CARHYL               ADDRESS ON FILE
AMBERT RODRIGUEZ, NILDA E              ADDRESS ON FILE
AMBERT SANCHEZ, AXEL J.                ADDRESS ON FILE
Ambert Sanchez, Hector A               ADDRESS ON FILE
AMBERT SANCHEZ, LILLIAM                ADDRESS ON FILE
AMBERT SANCHEZ, LILLIAM                ADDRESS ON FILE
AMBERT SANCHEZ, YOLANDA                ADDRESS ON FILE
AMBERT TORRES, LUIS                    ADDRESS ON FILE
AMBERT VALDERRAMA, ROLANDO             ADDRESS ON FILE
AMBERT VAZQUEZ, LOURDES M              ADDRESS ON FILE
AMBIENTE ESCOLAR, INC.                 P O BOX 7480                                                                              PONCE             PR      00732‐7480
AMBIENTE ESCOLAR, INC.                 PO BOX 367672                                                                             SAN JUAN          PR      00936‐7672
AMBIENTE MODERNO                       AVE ROOSEVELT 245                                                                         SAN JUAN          PR      00918
AMBILINGUAL ASSOC INC                  900 W 49 ST                                                                               HIALEAH           FL      33012
AMBIORIX J ORTEGA VALENTIN             ADDRESS ON FILE
AMBIORIX J ORTEGA VALENTIN             ADDRESS ON FILE
AMBIORY E. CUBILLETTE CASTILLO         ADDRESS ON FILE
AMBITEK INDUSTRIAL CONTRACTORS INC     PO BOX 30158                                                                              SAN JUAN          PR      00929‐1158
AMBLER MEDICAL ASSOCIATES DR GEORGE ROM605 N BETHLEHEM PIKE                                                                      AMBLER            PA      19002
AMBROISE BEAUVOIR, ROGER               ADDRESS ON FILE
AMBROISE, HERBY                        ADDRESS ON FILE
AMBROSE MD , JOHN F                    ADDRESS ON FILE
Ambrosiani Padilla, Ana I              ADDRESS ON FILE
Ambrosiani Padilla, Carlos R.          ADDRESS ON FILE
AMBROSIANI PADILLA, LETICI             ADDRESS ON FILE
AMBROSIO M GONZALEZ VARGAS             ADDRESS ON FILE
AMBROSIO MALDONADO MALDONADO           ADDRESS ON FILE
AMBULANCIAS PRIVADAS INC               PO BOX 4960 PMB 118                                                                       CAGUAS            PR      00726
AMBULO SOUSA, IRINA E                  ADDRESS ON FILE
AMC CONSULTING GROUP LLC               SABANERA DORADO             308 CAMINO LOS CEDROS                                         DORADO            PR      00646
AMC ENGINEERING INC                    PMB 443                     PO BOX 4958                                                   CAGUAS            PR      00726‐4906
AMC PEDIATRIC SERVICES PSC             URB APRIL GDNS              A13 CALLE 4                                                   LAS PIEDRAS       PR      00771‐3401
AMCARE MEDICAL EMERGENCIES INC         PO BOX 9975                                                                               ARECIBO           PR      00613‐9975
AMCHAR LAW ENFORCEMENT SALES           100 AIPARK DR                                                                             ROCHESTER         NY      14624
AMCHAR LAW ENFORCEMENT SALES           100 AIRPARK DR                                                                            ROCHESTER         NY      14624
AMCOR PACKAGING OF PR INC              3900 AVE JESUS T PIÑERO                                                                   CAYEY             PR      00736
AMD DEVELOPMENT CORP                   P O BOX 8                                                                                 TRUJILLO ALTO     PR      00977‐0008
AMD PAVING CORP                        COND PICO CENTER            120 AVE CONDADO STE 203                                       SAN JUAN          PR      00907‐2757
AMDRES BARRETO HERNANDEZ               ADDRESS ON FILE
AMEC PUERTO RICO CORP                  PO BOX 141087                                                                             ARECIBO           PR      00614
AMED M. RODRIGUEZ RAMOS                ADDRESS ON FILE
AMED RODRIGUEZ RAMOS                   ADDRESS ON FILE
AMEGUI G TORRES SOTO                   ADDRESS ON FILE
AMEIJEIRAS SANCHEZ, VICTOR             ADDRESS ON FILE
AMELBA SANCHEZ VELEZ                   ADDRESS ON FILE
AMELIA CANCEL ROSADO                   ADDRESS ON FILE
AMELIA CARDOZA GARCIA                  ADDRESS ON FILE
AMELIA DEL CARMEN PEREZ BOSQUES        ADDRESS ON FILE
AMELIA DELGADO LUYANDO                 ADDRESS ON FILE
AMELIA DONES FRAGUADA                  ADDRESS ON FILE
AMELIA E VAZQUEZ                       ADDRESS ON FILE
AMELIA FLORES SANTIAGO & LCDO HUMBERTO ADDRESS ON FILE
AMELIA FORTUNO RUIZ                    ADDRESS ON FILE
AMELIA HERNANDEZ CABALLERO             ADDRESS ON FILE
AMELIA HERNANDEZ MENDEZ                ADDRESS ON FILE
AMELIA ISOLDA MORILLO VELEZ            ADDRESS ON FILE
AMELIA LOPEZ NIEVES                    ADDRESS ON FILE
AMELIA LOPEZ OJEDA                     ADDRESS ON FILE
AMELIA M GARCIA FERRER                 ADDRESS ON FILE




                                                                                             Page 357 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 358 of 3500
                                                                                                 Creditor Matrix

Creditor Name                        Address1                      Address2                                   Address3   Address4   City              State   PostalCode   Country
AMELIA M RIVERA SANTIAGO             ADDRESS ON FILE
AMELIA M. CINTRON VELAZQUEZ          ADDRESS ON FILE
AMELIA MONTULL BALASQUIDE            ADDRESS ON FILE
AMELIA MORELLI / JOHN MORELLI        ADDRESS ON FILE
AMELIA NIEVES MATOS                  ADDRESS ON FILE
AMELIA OLIVERA TIRADO                ADDRESS ON FILE
AMELIA OLIVERA TIRADO                ADDRESS ON FILE
AMELIA PARRILLA RIVERA               ADDRESS ON FILE
AMELIA PEREZ DE MARTINEZ             ADDRESS ON FILE
AMELIA PEREZ PEREZ / POWERCOMM INC   PO BOX 140607                                                                                  HATILLO           PR      00614
AMELIA PEREZ VEGA                    ADDRESS ON FILE
AMELIA PIRIS AVILA                   ADDRESS ON FILE
AMELIA RIVERA RODRIGUEZ              ADDRESS ON FILE
AMELIA RIVERA SUAREZ                 ADDRESS ON FILE
AMELIA ROLDAN RIVERA                 ADDRESS ON FILE
AMELIA ROSADO ABREU                  ADDRESS ON FILE
AMELIA SANCHEZ MARTINEZ              ADDRESS ON FILE
AMELIA SANTIAGO MAIZONET             ADDRESS ON FILE
AMELIA T PEREZ / MARCY DAVIS         ADDRESS ON FILE
AMELIA TEDESCHI SANT AGATA           ADDRESS ON FILE
AMELIA TORRES CORDERO                ADDRESS ON FILE
AMELIA TORRES ORTEGA                 ADDRESS ON FILE
AMELIA VERA MENDEZ                   ADDRESS ON FILE
AMELIA VERA MENDEZ                   ADDRESS ON FILE
AMELIA VILLALOBOS COLON              ADDRESS ON FILE
AMELIDIA ORTIZ VEGA                  ADDRESS ON FILE
AMELINETTE ALAMO ARRIAGA             ADDRESS ON FILE
AMELIO MANDES PAGAN                  ADDRESS ON FILE
AMELY GAVILAN, KAMILLE               ADDRESS ON FILE
AMELY GAVILAN, KAMILLE               ADDRESS ON FILE
AMELY GAVILAN, KAMILLE               ADDRESS ON FILE
AMELY GAVILAN, KRISTINA MICHELLE     ADDRESS ON FILE
AMEMITA, PAUL                        ADDRESS ON FILE
AMENGUAL COLON, ALEXIS               ADDRESS ON FILE
AMENGUAL GONZALEZ, CESAR             ADDRESS ON FILE
AMENGUAL LOPEZ, LUIS                 ADDRESS ON FILE
AMER E MARRERO DIAZ                  ADDRESS ON FILE
AMER FAM LIFE ASS CO                 AVE. 65 INFANTERIA KM. 5.2    ITURREGUI PLAZA SUITE 200B                                       SAN JUAN          PR      00924
AMER FAM LIFE ASS CO                 DEPARTAMENTO DE HACIENDA                                                                       SAN JUAN          PR      00901
AMER NAT INS CO                      AMERICAN NATIONAL INSURANCE   ONE MOODY PLAZA                                                  GALVESTON         TX      77550‐7999
AMER NAT INS CO                      DEPARTAMENTO DE HACIENDA                                                                       SAN JUAN          PR      00901
AMER NAT INS CO                      PO BOX 1860                                                                                    GALVESTON         TX      77553‐1760
AMERCIAN CARIBBEAN TRUCKING          P.O. BOX 2391                                                                                  SAN JUAN          PR      00902
AMERCIAN CARIBBEAN TRUCKING          PO BOX 9022391                                                                                 SAN JUAN          PR      00902
AMERCIAN CARIBBEAN TRUCKING CO INC   PO BOX 9022391                                                                                 SAN JUAN          PR      00902‐2391
AMERGIE ENID GARCIA SANTIAGO         ADDRESS ON FILE
AMERICA A DUCHESNE                   ADDRESS ON FILE
AMERICA ACEVEDO ARZUAGA              ADDRESS ON FILE
AMERICA APONTE & ASSOC CORP          220 WESTERN AUTO PLAZA        SUITE 101 PMB 396                                                TRUJILLO ALTO     PR      00976
AMERICA APONTE & ASSOC CORP          PMB 111                       220 PLAZA WESTERN AUTO SUITE 101                                 TRUJILLO ALTO     PR      00976
AMERICA APONTE MOPRENO               ADDRESS ON FILE
AMERICA ARROYO RODRIGUEZ             ADDRESS ON FILE
AMERICA ARZUAGA PERALES              ADDRESS ON FILE
AMERICA ASSOCIATION OF SCHOOL ADM    1615 DUKE STREET                                                                               ALEXANDRIA        VA      22314
AMERICA BUSO MUNIZ                   ADDRESS ON FILE
America Castro Moransa               ADDRESS ON FILE
AMERICA COLON FLORES                 ADDRESS ON FILE
AMERICA COUVERTIER TORRES            ADDRESS ON FILE
AMERICA CRUSE FERRIES                ADDRESS ON FILE
AMERICA ORTIZ RIVERA                 ADDRESS ON FILE




                                                                                                Page 358 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                                            Desc:
                                                                 Exhibit A-1 - Creditor
                                                                                     Case No.Matrix
                                                                                             17 BK 3283‐LTSPage 359 of 3500
                                                                                                                                  Creditor Matrix

Creditor Name                                 Address1                                          Address2                                       Address3         Address4    City              State   PostalCode   Country
AMERICA PADILLA Y EFRAIN PADILLA              ADDRESS ON FILE
AMERICA RIVERA GARCIA                         ADDRESS ON FILE
AMERICA RODRIGUEZ ALVAREZ                     ADDRESS ON FILE
AMERICA SALVAT GUTIERREZ                      ADDRESS ON FILE
AMERICA VALENTIN CURIEL                       ADDRESS ON FILE
AMERICA VEGA                                  LCDO. ARMANDO PIETRI                              1225 AVE. MUÑOZ RIVERA                                                      PONCE             PR      00717
AMERICAN AGENCIES, CO. INC.                   PO BOX 1216                                                                                                                   SAN JUAN          PR      00902
American Agricultural Insurance Company       1501 East Woodfield Road                          Suite 300 West                                                              Schaumburg        IL      60173‐5422
American Agricultural Insurance Company       Attn: Janet Katz, Vice President                  1501 E. Woodfield Road                         Suite 300 West               Schaumburg        IL      60173‐5422
AMERICAN AIRLINES INC                         PO BOX 195435                                                                                                                 SAN JUAN          PR      00919
AMERICAN ALLIANCE FOR HEALTH PHYSICAL         1900 ASSOCIATION DR                                                                                                           RESTON            VA      20191‐1502
AMERICAN ALTERNATIVE INSURANCE CORP           555 COLLEGE ROAD EAST PLAZA I                                                                                                 PRINCETON         NJ      08543‐5241
American Alternative Insurance Corporation    555 College Rd East                                                                                                           Princeton         NJ      08540
American Alternative Insurance Corporation    Attn: Craig Howie, Vice President                 555 College Road East                                                       Princeton         NJ      08543
American Alternative Insurance Corporation    Attn: Craig Smiddy, President                     555 College Road East                                                       Princeton         NJ      08543
American Alternative Insurance Corporation    Attn: Dennis Hughes, Regulatory Compliance Gov555 College Road East                                                           Princeton         NJ      08543
American Alternative Insurance Corporation    Attn: M. Patricia Casey, President                555 College Road East                                                       Princeton         NJ      08543
AMERICAN ASSETS ADM & ASSOCIATES              PO BOX 1510                                                                                                                   TRUJILLO ALTO     PR      00977‐1510
American Assist Home Services, Inc.           Attn: Jorge Luis Torres, President                Metro Office Park                              8 Calle 1        Suite 306   Guaynabo          PR      00968
American Assist Home Services, Inc.           Metro Office Park 8, Calle 1                      Colgate Palmolive Building                     Suite 306                    Guaynabo          PR      00968
AMERICAN ASSIST INC                           1 EDIF NEW PAT IV                                 342 CALLE SAN LUIS SUITE 304                                                SAN JUAN          PR      00920
American Assist, Inc.                         Attn: Jorge Torres Cortes, President              Metro Office Park                              8 Calle 1        Suite 306   Guaynabo          PR      00968
American Assist, Inc.                         Attn: Marilyn Carrasquillo, President             Metro Office Park                              8 Calle 1        Suite 306   Guaynabo          PR      00968
American Assist, Inc.                         Metro Office Park 8, Calle 1                      Colgate Palmolive Building                     Suite 306                    Guaynabo          PR      00968
AMERICAN ASSOC OF MOTOR VEHICLE ADM           4401 WILSON BOULEVARD                             SUITE 700 ARLINGTON                                                         ARLINGTON         VA      22203
AMERICAN ASSOC OF STATE SERV COMMISSIONSPOINTS OF LIGHT INSTITUTE                               1875 K STREET                                                               WASHINGTON        DC      20006
AMERICAN ASSOCIATE OF RETIRED PERSONS         654 MUNOZ RIVERA AVE STE 901                                                                                                  SAN JUAN          PR      00918
AMERICAN ASSOCIATE OF RETIRED PERSONS         EDIF BANKERS FINANCE                              654 AVE MUNOZ RIVERA                           STE 901                      SAN JUAN          PR      00918
American Association of Insurance Services    701 Warrenville Road                                                                                                          Lisle             IL      60532
American Association of Insurance Services    Attn: Edmund Kelly, President                     701 Warrenville Road                           Suite 100                    Lisle             IL      60532
AMERICAN ASSOCIATION OF VETERINARY            STATE BOARDS                                      P O BOX 413183                                                              KANSAS CITY       MO      64141‐3183
AMERICAN ASSOCIATION ON INTELECTUAL AND PO BOX 79134                                                                                                                        BALTIMORE         MD      21279‐0134
AMERICAN ASSOCIATION ON INTELLECTUAL & DEVELOPMENTAL DISABILITIES                               PO BOX 79134                                                                BALTIMORE         MD      21279‐0134
AMERICAN BANKERS INS CO OF FLORIDA            260 INTERSTATE NORTH CIRCLE SE                                                                                                ATLANTA           GA      30339
American Bankers Insurance Company of         P.O. Box 4337                                                                                                                 Scottsdale        AZ      85261
American Bankers Insurance Company of Florida Attn: Adam Lamnin, President                      260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Insurance Company of Florida Attn: Chad Bullard, Vice President                260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Insurance Company of Florida Attn: Gene Mergelmeyer, President                 260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Insurance Company of Florida Attn: Idalis Rodriguez Ortiz, Regulatory Complianc260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Insurance Company of Florida Attn: Teonna White, Vice President                260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Insurance Company of Florida Attn: Wendall Stocker, Vice President             260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Insurance Company of Florida c/o The Prentice Hall Corporation System, Puerto 260 Interstate North Circle, SE                                              Atlanta           GA      30339
American Bankers Life Assurance Company       11222 Quail Roost Drive                                                                                                       Miami             FL      33157
American Bankers Life Assurance Company of FloAttn: Chad Bullard, Vice President                260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Life Assurance Company of FloAttn: Idalis Rodriguez, Regulatory Compliance Go 260 Interstate North Circle, SE                                              Atlanta           GA      30339
American Bankers Life Assurance Company of FloAttn: Keith Demmings, President                   260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Life Assurance Company of FloAttn: Teonna White, Vice President                260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Life Assurance Company of FloAttn: Wendall Stocker, Vice President             260 Interstate North Circle, SE                                             Atlanta           GA      30339
American Bankers Life Assurance Company of Floc/o The Prentice‐Hall Corporation System, Puerto260 Interstate North Circle, SE                                               Atlanta           GA      30339
AMERICAN BANKRUPTCY INSTITUTE                 44 CORAL CENTER PLAZA                             SUITE 404                                                                   ALEXANDRIA        VA      22314
AMERICAN BAR ASSOCIATION                      740 15TH STREET NW                                                                                                            WASHINGTON        DC      20005
AMERICAN BEHAVIORAL CLINICS                   10424 W BLUEMOUND RD                                                                                                          MILWAUKEE         WI      53226‐4331
American Broadband and Telecommunications Co1502 MARTIN TRAVIESO ST.                                                                                                        SAN JUAN          PR      00911‐1938
AMERICAN BUILDER                              MERCANTIL PLAZA                                   2 PONCE DE LEON AVE 9 TH FLOOR                                              SAN JUAN          PR      00918
AMERICAN BUILDING MAINTENANCE                 PO BOX 9563                                                                                                                   SAN JUAN          PR      00908
AMERICAN CARIBBEAN TRUCKING                   PO BOX 99022391                                                                                                               SAN JUAN          PR      00902‐2341
American Casualty Company of Reading,         Administrative Office                             333 South Wabash Avenue                                                     Chicago           IL      60604
American Casualty Company of Reading, PennsylvAttn: Amy Smith, Vice President                   333 S. Wabash Ave.                                                          Chicago           IL      60604
American Casualty Company of Reading, PennsylvAttn: Lawrence Bysen, Vice President              333 S. Wabash Ave.                                                          Chicago           IL      60604
American Casualty Company of Reading, PennsylvAttn: OJ Managa, Vice President                   333 S. Wabash Ave.                                                          Chicago           IL      60604




                                                                                                                             Page 359 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                       Desc:
                                                                Exhibit A-1 - Creditor
                                                                                    Case No.Matrix
                                                                                            17 BK 3283‐LTSPage 360 of 3500
                                                                                                                             Creditor Matrix

Creditor Name                                 Address1                                       Address2                                     Address3            Address4   City               State   PostalCode   Country
American Casualty Company of Reading, PennsylvAttn: Stephen Lilienthal, President            333 S. Wabash Ave.                                                          Chicago            IL      60604
American Casualty Company of Reading, PennsylvAttn: Thomas Corcoran, Circulation of Risk     333 S. Wabash Ave.                                                          Chicago            IL      60604
American Casualty Company of Reading, PennsylvAttn: Thomas Corcoran, Consumer Complaint Con333 S. Wabash Ave.                                                            Chicago            IL      60604
AMERICAN CENTRAL AGENCY INC                   PO BOX 191896                                                                                                              SAN JUAN           PR      00919
AMERICAN CHECKWRITER OFFIC MACHINE            PO BOX 51492                                                                                                               TOA BAJA           PR      00950
AMERICAN CHECKWRITERS                         P.O. BOX 51492                                                                                                             TOA BAJA           PR      00950‐1492
AMERICAN CHECKWRITERS & OFFFICE MACHINESPO BOX 51492                                                                                                                     TOA BAJA           PR      00950‐1492
AMERICAN CHECKWRITERS & OFFICE MACHINES PO BOX 51492                                                                                                                     TOA BAJA           PR      00950‐1492
AMERICAN CIVIL LIBERTIES UNION PTO RICO       UNION PLAZA                                    416 PONCE DE LEON SUITE 1105                                                SAN JUAN           PR      00918
AMERICAN COLLEGE OF SURGEONS PR CHAPTER PMB 100                                              PO BOX 70344                                                                SAN JUAN           PR      00936
AMERICAN COMMODLTY DIST ASSOCIATION           11358 BARLEY FIELD WAY                                                                                                     MARRIOTTSVILLE     MD      21104
AMERICAN COMMODLTY DIST ASSOCIATION           11358 BARLEY FIELD WAY                                                                                                     MARRITTSCILLE      MD      21104
AMERICAN COMMODLTY DIST ASSOCIATION           3085 STEVENSON DRIVE, SUITE 200                                                                                            SPRINGFIELD        IL      62703
AMERICAN COMMODLTY DIST ASSOCIATION           PO BOX 299                                                                                                                 DELAWARE CITY      DE      19706
AMERICAN CONTROL TECHNOLOGIES                 P.O. BOX 366775                                                                                                            SAN JUAN           PR      00936‐6775
AMERICAN CYBERNETICS                          1830 WEST UNIVERSITY DRIVE                                                                                                 TEMPE              AR      85281
AMERICAN DISPLAY FIXTURES                     1328 AVE JESUS T PINERO                                                                                                    SAN JUAN           PR      00921
AMERICAN DISPLAY FIXTURES                     URB PUERTO NUEVO                               1255 AVE F D ROOSEVELT                                                      SAN JUAN           PR      00920
AMERICAN ECOTECH                              PO BOX 311                                                                                                                 WARREN,            RI      02885
AMERICAN EDUCATION SERVICES                   1200 NORTH SEVENTH STREET                                                                                                  HARRISBURG         PA      17102‐1444
AMERICAN EDUCATION SERVICES                   PAYMENT CENTER HARRISBURG                                                                                                  PENNSYLVANIA       PA      171130
AMERICAN EDUCATION SERVICES                   PO BOX 1463                                                                                                                HARRISBURG         PA      17105
American Empire Surplus Lines Insurance       301 E. Fourth Street, 25th Floor               P.O. Box 5370                                                               Cincinnati         OH      45202
American Empire Surplus Lines Insurance Compa P.O. Box 5370                                                                                                              Cincinnati         OH      45201
AMERICAN EVALUATION ASSOCIATION               AEA, #16 SCONTICUT NECK RD #290                                                                                            FAIRHAVEN          MA      02719
AMERICAN EXPRESS                              P O BOX 1270                                                                                                               NEWARK             NJ      07101‐1270
AMERICAN EXPRESS                              PO BOX 360001                                                                                                              FT LADERDALE       FL      33336‐0001
AMERICAN EXPRESS COMPANY                      P O BOX 53860                                  AZ 24 02 19                                                                 PHOENIX            AZ      85072
AMERICAN FAMILY LIFE ASS CO OF COLUMBUS ITURREGUI PLAZA SUITE 205A                           AVE 65 INFANTERIA                                                           SAN JUAN           PR      00924
AMERICAN FAMILY LIFE ASS CO.                  ITURREGUI PLAZA                                SUITE 205‐A                                                                 SAN JUAN           PR      00924
AMERICAN FAMILY LIFE ASS. CO.                 AREA DEL TESORO                                DIV. PAGADURIA                                                              SAN JUAN           PR      00902
AMERICAN FAMILY LIFE ASSURANCE CO             REMITTANCE PROCESSING SERVICES                 1932 WYNNTON ROAD                                                           COLUMBUS GEORGIA   GA      31999‐0797
AMERICAN FAMILY LIFE ASSURANCE CO.            AVE. 65 INFANTERIA KM 5.2                      ITURREGUI PLAZA SUITE 205 A                                                 SAN JUAN           PR      00924
AMERICAN FAMILY LIFE ASSURANCE COMPANY 1932 WYNNTON ROAD                                                                                                                 COLUMBUS           GA      31999
American Family Life Assurance Company        AVENIDA 65 INFANTERIA KM 5.2                   ITURREGUI PLAZA SUITE 200B                                                  SAN JUAN           PR      00924
AMERICAN FAMILY LIFE ASSURANCE COMPANY ITURREGUI PLAZA AVE.65 INF. KM 5.2 SUITE 205‐A                                                                                    SAN JUAN           PR      00924
AMERICAN FAMILY LIFE ASSURANCE COMPANY WORLDWIDE HEADQUARTERS                                1932 WYNNTON                                                                COLUMBUS           GA      31999‐001
American Family Life Assurance Company of ColuAttn: Daniel P. Amos, President                1932 Wynnton Road                                                           Columbus           GA      31999‐9035
American Family Life Assurance Company of ColuAttn: Joseph Garcia, Actuary                   1932 Wynnton Road                                                           Columbus           GA      31999‐9035
American Family Life Assurance Company of ColuAttn: Kevin Michael, Vice President            1932 Wynnton Road                                                           Columbus           GA      31999‐9035
American Family Life Assurance Company of ColuAttn: Robert Landi, Vice President             1932 Wynnton Road                                                           Columbus           GA      31999‐9035
American Family Life Assurance Company of ColuAttn: Steve Beaver, Vice President             1932 Wynnton Road                                                           Columbus           GA      31999‐9035
AMERICAN FAMILY MUTUAL INS CO                 6000 AMERICAN PARWAY                                                                                                       MADISON            WI      53783‐0001
American Federation of Musicians              Martín Negrón, José                            Urb. Puerto Nuevo                            1175 Calle Cañada              San Juan           PR      00920
AMERICAN FENCE CO INC                         PO BOX 363784                                                                                                              SAN JUAN           PR      00936‐3784
American Fidelity Assurance Company           9000 Cameron Parkway                                                                                                       Oklahoma City      OK      73114
American Fidelity Assurance Company           Attn: Christopher Kenney, Consumer Complaint CPO BOX 25523                                                                 Oklahoma City      OK      73125‐0523
American Fidelity Assurance Company           Attn: Christopher Kenney, Regulatory CompliancePO BOX 25523                                                                Oklahoma City      OK      73125‐0523
American Fidelity Assurance Company           Attn: David Ray, President                     PO BOX 25523                                                                Oklahoma City      OK      73125‐0523
American Fidelity Assurance Company           Attn: Lucy Fritts, Premiun Tax Contact         PO BOX 25523                                                                Oklahoma City      OK      73125‐0523
AMERICAN FIDELITY ASSURANCE COMPANY           PO BOX 25523                                                                                                               OKLAHOMA CITY      OK      73125‐0523
AMERICAN FILING SYSTEM CABINET                497 EMILIANO POL SUITE 527                                                                                                 SAN JUAN           PR      00926
AMERICAN FINANACIAL GROUP INC                 COMPLIANCE ACCOUNTING                          PO BOX 38699                                                                COLORADO SPRINGS   CO      80937
AMERICAN FOREIGN UNDERWRITERS                 PO BOX S‐3992                                                                                                              SAN JUAN           PR      00904
AMERICAN GASOLINE CORP                        PO BOX 2529                                                                                                                TOA BAJA           PR      00951
AMERICAN GENERAL INDEMINITY COMPANY           3600 ROUTE 665                                                                                                             NEPTUNE            NJ      07754‐1580
AMERICAN GENERAL LIFE INSURANCE CO            451N AMERICAN GENERAL CENTER                                                                                               NASHVILLE          TN      37250
American General Life Insurance Company       2727 Allen Pkwy Ste A                                                                                                      Houston            TX      77019
American General Life Insurance Company       Attn: David Jorgense, Vice President           PO Box 1591                                                                 Houston            TX      77251‐1591
American General Life Insurance Company       Attn: David Jorgensen, Annual Statement        PO Box 1591                                                                 Houston            TX      77251‐1591




                                                                                                                            Page 360 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 361 of 3500
                                                                                                                      Creditor Matrix

Creditor Name                            Address1                                        Address2                                  Address3     Address4   City              State   PostalCode   Country
American General Life Insurance Company  Attn: Edward Bacon, Vice President              PO Box 1591                                                       Houston           TX      77251‐1591
American General Life Insurance Company  Attn: Jeff Barlett, Consumer Complaint Contact PO Box 1591                                                        Houston           TX      77251‐1591
American General Life Insurance Company  Attn: Jeff Bartlett, Vice President             PO Box 1591                                                       Houston           TX      77251‐1591
American General Life Insurance Company  Attn: Rodney Martin, Jr., President             PO Box 1591                                                       Houston           TX      77251‐1591
AMERICAN HEALTH CARE                     100 S SEMORAN BLVD STE A                                                                                          ORLANDO           FL      32807
AMERICAN HEALTH PLAN                     AREA DEL TESORO                                 DIVISION DE PAGADURIA                                             SAN JUAN          PR      00902
AMERICAN HEALTH PLAN                     DEPARTAMENTO DE HACIENDA                                                                                          SAN JUAN          PR      00901
AMERICAN HEALTH PLAN                     DEPARTAMENTO DE HACIENDA                        EDIF. INTENDENTE RAMIREZ                                          SAN JUAN          PR      00901
AMERICAN HEALTH PLAN                     ENSENADA                                        352 B AVE F D ROOSEVELT CAPARRA                                   SAN JUAN          PR      00920
AMERICAN HEALTH PLAN                     PO BOX 195654                                                                                                     SAN JUAN          PR      00919‐5654
AMERICAN HEALTH, INC                     METRO OFFICE PARK EDIF MICROSOFT                PISO 2                                                            GUAYNABO          PR      00966
AMERICAN HEALTH, INC                     P.O BOX. 195654                                                                                                   SAN JUAN          PR      00919‐5654
AMERICAN HERITAGE INSURANCE              P.O. BOX 650514                                                                                                   DALLAS            TX      75265‐0514
AMERICAN HERITAGE INSURANCE CO.          PO BOX 270322                                                                                                     SAN JUAN          PR      00927‐0322
American Heritage Life Insurance Company 1776 American Heritage Life Drive                                                                                 Jacksonville      FL      32224
American Heritage Life Insurance Company Attn: David A. Bird, President                  1776 American Heritage                    Life Drive              Jacksonville      FL      32224‐6688
American Heritage Life Insurance Company Attn: Gary Stere, Circulation of Risk           1776 American Heritage                    Life Drive              Jacksonville      FL      32224‐6688
American Heritage Life Insurance Company Attn: Gary Stere, Consumer Complaint Contact 1776 American Heritage                       Life Drive              Jacksonville      FL      32224‐6688
American Heritage Life Insurance Company Attn: Gary Stere, Premiun Tax Contact           1776 American Heritage                    Life Drive              Jacksonville      FL      32224‐6688
American Heritage Life Insurance Company Attn: Gary Stere, Regulatory Compliance Governm1776 American Heritage                     Life Drive              Jacksonville      FL      32224‐6688
American Heritage Life Insurance Company c/o GSA Caribbean Corporation, Agent for Service1776 American Heritage                    Life Drive              Jacksonville      FL      32224‐6688
American Home Assurance Company          175 Water Street                                                                                                  New York          NY      10038
American Home Assurance Company          Attn: Dennis Warwick, Vice President            175 Water Street, 18th Floor                                      New York          NY      10038
American Home Assurance Company          Attn: John Doyle, President                     175 Water Street, 18th Floor                                      New York          NY      10038
AMERICAN HOSPITAL ASSOCIATION            PO BOX 933283                                                                                                     ATLANTA           GA      31193‐3283
AMERICAN HOTEL SUPPLIES INC              AREA DE TESORO                                  DIVISION DE CONCILIACION                                          SAN JUAN          PR      00902‐4140
AMERICAN HOTEL SUPPLIES INC              SAINT JUST STATION                              PO BOX 129                                                        SAN JUAN          PR      00978‐0129
AMERICAN HOTEL SUPPLIES INC              URB PUERTO NUEVO                                403 CALLE CONSTITUCION                                            SAN JUAN          PR      00920
AMERICAN IMMUNIZATION REGISTRY ASSOC. 1155 F STREET NW                                   SUITE 1050                                                        WASHINGTON        DC      20004
AMERICAN INC LIFE                        PO BOX 2608                                                                                                       WACO              TX      76797
AMERICAN INSTITUDE OF CERTIFIED          PUBLICS ACCOUNTANT HARDORSIDE FINANCIAL CENTER 204                                                                JERSEY            NJ      07311
AMERICAN INSTITUTE OF CPA                1211 AVENUE OF THE AMERICAS                                                                                       NEW YORK          NY      10036‐8775
AMERICAN INSTITUTES FOR RESEARCH         1000 THOMAS JEFFERSON STREET, NW                                                                                  WASHINGTON        DC      20007‐3835
AMERICAN INTERNATIONAL                   P O BOX 10181                                                                                                     SAN JUAN          PR      00908‐1181
AMERICAN INTERNATIONAL GROUP INC         LEGAL COLLECTIONS                               PO BOX 4852                                                       ALPHARETTA        GA      30023
AMERICAN INTERNATIONAL GROUP INC         LOCKBOX OPERATION 35656                         4 METROTECH CENTER 7TH FLOOR                                      BROOKLYN          NY      11245
AMERICAN INTERNATIONAL INS. CO.          P. O. BOX 1081                                                                                                    SAN JUAN          PR      00918‐0000
AMERICAN LAB OF PR INC                   P O BOX 129                                                                                                       SAINT JUST        PR      00978‐0129
AMERICAN LASER PHYSICIAN PARTNERS LLC    15958 AUGUSTA COURT                                                                                               NORTHVILLE        MI      48168
AMERICAN LAWN MAINTE                     CALLE O NEILL G4                                                                                                  SAN JUAN          PR      00918‐0000
AMERICAN LEGACY PUBLISHING INC           1922 WEST 200 NORTH                                                                                               SALT LAKE CITY    UT      84042
AMERICAN LIBRARY ASSOCIATION             50 E HURON                                                                                                        CHICAGO           IL      60611
AMERICAN LIFEGUARD ASSOC OF PR INC       PO BOX 2500 PMB 131                                                                                               TRUJILLO ALTO     PR      00977‐2500
AMERICAN LODGING INVESTMENT SUMMIT       234 EAST 17TH ST                                                                                                  COSTA MESA        CA      92627
AMERICAN MANAG& ADMCORP / LIQUID CAPITAPO BOX 17000                                                                                                        GREENVILLE        SC      29606
AMERICAN MANAGEMENT ASSOCIATION INTERN1601 BROADWAY NEW YORK                                                                                               NEW YORK          NY      10019
AMERICAN MANAGEMENT CORP.                CALLE DOMINGO MARRERO URB.SANTA RITA # 16                                                                         SAN JUAN          PR      00925‐0000
AMERICAN MED CARE AND REHABILITATION CENMEDICAL RECORDS DEPT                             3200 FOREST HILL BLVD STE 1                                       WEST PALM BEACH   FL      33406
AMERICAN MEDICALS                        9050 CYPRESS GREEN DRIVE                                                                                          JACKSONVILLE      FL      32256
AMERICAN METAL AND ELEC EQUIP CORP       PO BOX 141087                                                                                                     ARECIBO           PR      00614‐1087
AMERICAN MILITARY ACADEMY                PO BOX 7884                                                                                                       GUAYNABO          PR      00970‐7884
American Modern Home Insurance           7000 Midland Boulevard                                                                                            Amelia            OH      45102‐2646
American Modern Home Insurance Company   Attn: John Weber, President                     PO Box 5323                                                       Cincinnati        OH      45201‐5323
American Modern Home Insurance Company   Attn: kenneth kuhn, Vice President              PO Box 5323                                                       Cincinnati        OH      45201‐5323
American Modern Home Insurance Company   Attn: Steven Mackie, Circulation of Risk        PO Box 5323                                                       Cincinnati        OH      45201‐5323
American Modern Home Insurance Company   Attn: Steven Mackie, Consumer Complaint Conta PO Box 5323                                                         Cincinnati        OH      45201‐5323
American Modern Home Insurance Company   Attn: Steven Mackie, Regulatory Compliance Gov PO Box 5323                                                        Cincinnati        OH      45201‐5323
American Modern Home Insurance Company   c/o American Modern Ho Insurance Company, AgPO Box 5323                                                           Cincinnati        OH      45201‐5323
AMERICAN MODERN HOME INSURANCE COMPA P O BOX 5323                                                                                                          CINCINNATI        OH      45201‐5323
American National Insurance Company      Attn: Bruce Pavelka, Circulation of Risk        One Moody Plaza                                                   Galveston         TX      77550




                                                                                                                     Page 361 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                                 Exhibit A-1 - Creditor
                                                                                     Case No.Matrix
                                                                                             17 BK 3283‐LTSPage 362 of 3500
                                                                                                                          Creditor Matrix

Creditor Name                                 Address1                                         Address2                                Address3   Address4   City            State   PostalCode   Country
American National Insurance Company           Attn: Dwain Akins, Regulatory Compliance Gover One Moody Plaza                                                 Galveston       TX      77550
American National Insurance Company           Attn: G. Richard Ferdinandtsen, President        One Moody Plaza                                               Galveston       TX      77550
American National Insurance Company           Attn: Judy Regini, Consumer Complaint Contact One Moody Plaza                                                  Galveston       TX      77550
American National Insurance Company           Attn: Larry Linares, Premiun Tax Contact         One Moody Plaza                                               Galveston       TX      77550
American National Insurance Company           Attn: Larry Linares, Principal Representative    One Moody Plaza                                               Galveston       TX      77550
American National Insurance Company           Attn: William Carlton, Vice President            One Moody Plaza                                               Galveston       TX      77550
American National Insurance Company           One Moody Plaza                                                                                                Galveston       TX      77550‐7947
AMERICAN NATIONAL INSURANCE LIFE SERVICE ONE MOODY PLAZA                                                                                                     GALVESTON       TX      77550‐7999
AMERICAN NATIONAL INSURANCE LIFE SERVICE P.O. BOX 1740                                                                                                       GALVESTON       TX      77553‐1740
AMERICAN NATIONAL PROPERTY                    LIC. MARIA RODRIGUEZ MIRANDA                     PO BOX 365072                                                 SAN JUAN        PR      00936‐5072
AMERICAN NATIONAL PROPERTY & CASUALTY COMARIA CELESTE RODRIGUEZ MIRANDA                        PO BOX 365072                                                 SAN JUAN        PR      00936‐5072
American National Property and Casualty       American National Center                         1949 E. Sunshine                                              Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: James Cybuiski, Vice President             1949 East Sunshine                                            Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: Melanie Hunter, Premiun Tax Contact        1949 East Sunshine                                            Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: Ronald Koch, Vice President                1949 East Sunshine                                            Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: Sheila Weitze , Circulation of Risk        1949 East Sunshine                                            Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: Sheila Weitzel, Consumer Complaint Contac1949 East Sunshine                                              Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: Sheila Weitzel, Regulatory Compliance Gove1949 East Sunshine                                             Springfield     MO      65899‐0001
American National Property and Casualty Compa Attn: Stuart Paulson, Principal Representative   1949 East Sunshine                                            Springfield     MO      65899‐0001
American National Property and Casualty Compa c/o CT Corporation System, Agent for Service of P1949 East Sunshine                                            Springfield     MO      65899‐0001
AMERICAN OFFICE FURNITURE CORP                PO BOX 101                                                                                                     GUAYNABO        PR      00970‐0101
AMERICAN OPTOMETRIC                           11‐2 AVE COLON                                                                                                 MANATI          PR      00674‐4928
AMERICAN OPTOMETRIC                           CARIBBEAN CINEMAS                                1564 AVE MIRAMAR                                              ARECIBO         PR      00614
AMERICAN OPTOMETRIC                           PO BOX 141168                                                                                                  ARECIBO         PR      00614
AMERICAN OPTOMETRIC CENTER                    PO BOX 141168                                                                                                  ARECIBO         PR      00614
AMERICAN OPTOMETRIC CENTER INC                PO BOX 141168                                                                                                  ARECIBO         PR      00614‐1168
AMERICAN OSORIO QUINONEZ                      P O BOX 9454                                                                                                   CAGUAS          PR      00726
American Paper                                Amelia Ind. Park, 26 B C/Emma. Ste. 1                                                                          Guaynabo        PR      00968
AMERICAN PAPER                                AMELIA INDUSTRIAL PARK                           26B EMMA STREET ‐ STE 1                                       GUAYNABO        PR      00968‐8007
AMERICAN PAPER CORP                           26 EMMA STREET AMELIA INDUSTRIAL PARK                                                                          GUAYNABO        PR      00968‐8007
AMERICAN PAPER CORP                           ADM DE LA FAMILIA                                PO BOX 8000                                                   SAN JUAN        PR      00910‐0800
AMERICAN PAPER CORP                           AMELIA DISTRIBUTION CENTER                       26 EMMA STREET                                                GUAYNABO        PR      00968‐8007
AMERICAN PAPER CORP                           AMELIA DISTRIBUTION CENTER                       26‐ B EMMA STREET                                             GUAYNABO        PR      00968‐8007
AMERICAN PAPER CORP                           PO BOX 363304                                                                                                  SAN JUAN        PR      00936‐3304
AMERICAN PARKING                              PO BOX 192239                                                                                                  SAN JUAN        PR      00919‐2239
AMERICAN PAVILION                             1107 1/2 GLENDON AVENUE                                                                                        LOS ANGELES     CA      90024
American Pet Insurance Company                6100 4th Ave S                                   Suite 200                                                     Seattle         WA      98108
AMERICAN PET INSURANCE COMPANY                907 NW BALLARD WAY                                                                                             SEATTLE         WA      98107
American Pet Insurance Company                Attn: Andrew Bren, Vice President                907 NW Ballard Way                                            Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Louis Chames, Annual Statement             907 NW Ballard Way                                            Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Louis Chames, Circulation of Risk          907 NW Ballard Way                                            Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Louis Chames, Consumer Complaint Contac 907 NW Ballard Way                                               Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Louis Chames, Regulatory Compliance Gove907 NW Ballard Way                                               Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Louis Chames, Vice President               907 NW Ballard Way                                            Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Luis Chames, Premiun Tax Contact           907 NW Ballard Way                                            Seattle         WA      98107‐4607
American Pet Insurance Company                Attn: Tim Graff, President                       907 NW Ballard Way                                            Seattle         WA      98107‐4607
American Pet Insurance Company                c/o Corporation Servic Company, Agent for Servic907 NW Ballard Way                                             Seattle         WA      98107‐4607
AMERICAN PETROLEUM                            CARR. 865 K.M. 2                                 BO. CANDELARIA                                                TOA BAJA        PR      00951‐0000
AMERICAN PETROLEUM                            PO BOX 2529                                                                                                    TOA BAJA        PR      00951‐2529
AMERICAN PETROLEUM CO INC                     PO BOX 2529                                                                                                    TOA BAJA        PR      00951
AMERICAN PLANNING ASSOCIATION                 205 NORTH MICHIGAN AVE STE 1200                                                                                CHICAGO         IL      60601
AMERICAN PLASTIC                              714 AVE DE DIEGO                                                                                               SAN JUAN        PR      00920
AMERICAN PLASTIC & FABRICS                    CARR 189 KM 2.8                                                                                                CAGUAS          PR      00725
AMERICAN PLASTICS & FABRIC                    CAPARRA TERRACE                                  714 AVE DE DIEGO                                              SAN JUAN        PR      00920
AMERICAN PSYCHIATRIC SYSTEMS                  6705 ROCKLEDGE DR STE 900                                                                                      BETHESDA        MD      20817‐7828
AMERICAN PSYCHOLOGICAL ASSOCIATION            APA SERVICE CENTER                               750 FIRST STREET, NE                                          WASHINGTON      DC      20002‐4242
AMERICAN PUBLIC HUMAN ASSOCIATION             WASHINGTON DC 20002‐426 810 FIRST STREET SUITE 500                                                             WASHINGTON      DC      2000024267
AMERICAN RED CROSS                            PO BOX 366046                                                                                                  SAN JUAN        PR      00936‐6046
AMERICAN RED CROSS                            PO BOX 902‐1067                                                                                                SAN JUAN        PR      00902‐1067
AMERICAN REGISTRY OF INTERNET NUMBERS PO BOX 759477                                                                                                          BALTIMORE       MD      21275‐9477




                                                                                                                         Page 362 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                                   Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 363 of 3500
                                                                                                                         Creditor Matrix

Creditor Name                            Address1                                 Address2                                            Address3              Address4                City             State   PostalCode   Country
AMERICAN RESOURCE MANAGEMENT             JUNTA CALIDAD AMBIENTAL                                                                                                                    SAN JUAN         PR      00910
AMERICAN RESOURCE MANAGEMENT, INC        PO BOX 617                                                                                                                                 CHELSEA          AL      35043
AMERICAN ROOFING OF P. R, INC.           P. O. BOX 6040 MARINA STATION                                                                                                              MAYAGUEZ         PR      00681‐6040
AMERICAN ROOFING OF PUERTO RICO INC      PO BOX 6040 MARINA STATION                                                                                                                 MAYAGUEZ         PR      00681‐6040
AMERICAN ROOFING OF PUERTO RICO INC      URB GUANAJIBO HOMES                      CF 93 CALLE MIGUEL MUNOZ                                                                          MAYAGUEZ         PR      00680
AMERICAN SCHOOL                          URB HERMANAS DAVILA                      C 1 CALLE 9                                                                                       BAYAMON          PR      00959
AMERICAN SCHOOL FOOD SERV ASSOCIATION PUERTO RICO SFSA PROCESSOR                  PO BOX 791004                                                                                     BALTIMORE        MD      21279‐1004
AMERICAN SECURITY GUARDS                 65TH INFANTRY STATION                    PO BOX 29633                                                                                      SAN JUAN         PR      00929‐9633
AMERICAN SECURITY GUARDS SERVS, INC.     65TH INF. STATION                        PO BOX 29633                                                                                      RIO PIEDRAS      PR      00929
AMERICAN SECURITY INSURANCE CO           260 INTERSTATE NORTH CIRCLE                                                                                                                ATLANTA          GA      30339
American Security Insurance Company      260 Interstate North                     Circle South East                                                                                 Atlanta          GA      30339‐2210
American Security Insurance Company      Attn: Kenneth Lacy, Vice President       260 Interstate North Circle, SE                                                                   Atlanta          GA      30339‐2111
American Security Insurance Company      Attn: Philip Camacho, President          260 Interstate North Circle, SE                                                                   Atlanta          GA      30339‐2111
American Security Insurance Company      Attn: Teonna White, Vice President       260 Interstate North Circle, SE                                                                   Atlanta          GA      30339‐2111
AMERICAN SECURITY PRODUCTS,INC           7 HYDE STREET                                                                                                                              STAMFORD         CT      06907
AMERICAN SIGN LANGUAGE SERVICE LATINO    PO BOX 11465                                                                                                                               SAN JUAN         PR      00922‐1465
AMERICAN SIGN LANGUAGE SERVICES LATINO PO BOX 11465                                                                                                                                 SAN JUAN         PR      00922
AMERICAN SIGN LANGUAGE SERVICES LATINO , CAPARRA GALLERY BLDG 107 AVE. ORTEGON SUITE 310                                                                                            GUAYNABO         PR      00966‐0000
AMERICAN SIGNS CO                        P O BOX 3259                             AMELIA CONTRACT STATION                                                                           CATANO           PR      00936‐3529
AMERICAN SLEEP CENTER INC                405 AVE ESMERALDA STE 2 PMB 353                                                                                                            GUAYNABO         PR      00969
AMERICAN SLEEP CENTERS , INC.            PMB 353 SUITE 102 , 405 ESMERALDA                                                                                                          GUAYNABO         PR      00969‐0000
AMERICAN SOC OF RADIOLOGIG TECHNOLOGIST 15000 CENTRAL AVE SE                                                                                                                        ALBUQUERQUE      NM      87123
AMERICAN SOC. FOR TRAINING DEVELOPMENT ‐ 623 AVE PONCE DE LEON BANCO COOPERATIVO PLAZA                                                                                              SAN JUAN         PR      00917
AMERICAN SOCIETY FOR INDUSTRIAL SECURITY PMB 97 400 KALAF                                                                                                                           SAN JUAN         PR      00918
AMERICAN SOCIETY FOR QUALITY             PO BOX 3033                                                                                                                                MILWAUKEE        WI      53201‐3033
AMERICAN SOCIETY FOR TRAINING & DEVELOPM1640 KING STREET                          BOX 1443                                                                                          ALEXANDRIA       VA      22313‐1443
AMERICAN SOCIETY OF CIVIL ENGINEERS      1801 ALEXANDER BELL DRIVE                                                                                                                  RESTON           VA      20191‐4400
AMERICAN SOCIETY OF CIVIL ENGINEERS      P O BOX 79162                                                                                                                              BALTIMORE        MD      21279‐0162
AMERICAN SOCIETY RADIOLOGIC TECHNOLOGIST15000 CENTRAL AVE. SE                                                                                                                       ALBUQUERQUE      NM      87123
AMERICAN SOCIETY,OFHEATING,REFRIGERATING AND CONDITIONING ENGINEERS INC           172 MANS DEL MAR PELICANO ST                                                                      TOA BAJA         PR      00949
AMERICAN TALENT CORP                     PO BOX 195422                                                                                                                              SAN JUAN         PR      00919
AMERICAN TECHNICAL INSTITUTE             P O BOX 6901                                                                                                                               BAYAMON          PR      00960
AMERICAN TECHNOLOGY SYSTEM INC           PO BOX 4956 PMB 516                                                                                                                        CAGUAS           PR      00726‐4956
AMERICAN TELEMEDICINE CENTER CORP        URB FLORAL PARK 62                       CALLE JOSE MARTI                                                                                  SAN JUAN         PR      00917‐3104
AMERICAN TEST AND BALANCE INC            PO BOX 366584                                                                                                                              SAN JUAN         PR      00936
AMERICAN TRANSMISSION INC                URB FLORAL PARK                          153 CALLE GUAYAMA                                                                                 SAN JUAN         PR      00917
AMERICAN UNITED LIFE INSURANCE COMPANY ONE AMERICAN SQUARE PO BOX 368                                                                                                               INDIANAPOLIS     IN      46206‐0368
AMERICAN UNIV/COLLEGE OF PR Y/O          PO BOX 1082                                                                                                                                MANATI           PR      00674
AMERICAN UNIV/COLLEGE OF PR Y/O          PO BOX 602037                                                                                                                              BAYAMON          PR      00960
AMERICAN UNIVERSITY OF PUERTO RICO       PO BOX 1082                                                                                                                                MANATÍ           PR      00674‐1082
AMERICAN UNIVERSITY OF PUERTO RICO       PO BOX 2037                                                                                                                                BAYAMÓN          PR      00960‐2037
AMERICAN VOCATIONAL ASSO                 505 MUNOZ RIVERA                                                                                                                           SAN JUAN         PR      00918
AMERICARE HOMEHEALTH SERVICES, INC       PO BOX 3747                                                                                                                                GUAYNABO         PR      00970‐3747
AMERICAS CONGRESS DE PUERTO RICO INC     PO BOX 50890                                                                                                                               LEVITTOWN        PR      00950
AMERICAS FRESH FOODS INC                 PO BOX 372080                                                                                                                              CAYEY            PR      00737
                                                                                                                                      The Atrium Business   530 Ave. De la
Americas Indemnity Services I.I.          Attn: David Liptz, External Auditor           Ryan, LLC                                     Center                Constitucion, No. 200   San Juan         PR      00901
                                                                                                                                      The Atrium Business   530 Ave. De la
Americas Indemnity Services I.I.          Attn: Gary Fagg, Actuary                      Ryan, LLC                                     Center                Constitucion, No. 200   San Juan         PR      00901
                                                                                                                                      The Atrium Business   530 Ave. De la
Americas Indemnity Services I.I.          Attn: George Brinton Ryan, President          Ryan, LLC                                     Center                Constitucion, No. 200   San Juan         PR      00901
                                                                                                                                      The Atrium Business   530 Ave. De la
Americas Indemnity Services I.I.          Attn: Mayra Perez‐Davila, Principal RepresentativRyan, LLC                                  Center                Constitucion, No. 200   San Juan         PR      00901
Americas Indemnity Services I.I.          Belvedere Building                               66 Pitt's Bay Road                                                                       Pembroke         HM      08‐          Bermuda
AMERICAS LOCK & KEYS CORP                 URB. BUENA VISTA                                 2842 EXT AVE LAS AMERICAS                                                                PONCE            PR      00717
AMERICA'S LOCK & KEYS, CORP.              2842 BLVD LUIS A FERRER STE 2 URB BUENA VISTA PONCE 007172103                                                                             PONCE            PR      00717‐2100
AMERICAS LOCKS & KEY CORP.                URB. BUENA VISTA 2842 BLVD LUIS A FERRE STE 2                                                                                             PONCE            PR      00717‐2103
AMERICA'S LOCK'S & KEYS                   URB. BUENA VISTA                                 2842 EXT. AVE LAS AMERICAS                                                               PONCE            PR      00717‐2100
AMERICO CASTRO LORENZO                    ADDRESS ON FILE
AMERICO COLON PEREZ                       ADDRESS ON FILE




                                                                                                                        Page 363 of 10031
                                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                                      Desc:
                                                                  Exhibit A-1 - Creditor
                                                                                      Case No.Matrix
                                                                                              17 BK 3283‐LTSPage 364 of 3500
                                                                                                                                Creditor Matrix

Creditor Name                                   Address1                                           Address2                                  Address3   Address4   City                 State   PostalCode   Country
Americo Financial Life and Annuity              PO Box 410288                                                                                                      Kansas City          MO      64141‐0288
Americo Financial Life and Annuity Insurance ComAttn: Don Oster, Premiun Tax Contact               300 W. 11th Street                                              Kansas City          MO      64105
Americo Financial Life and Annuity Insurance ComAttn: Pedro Vidal Cordero, Agent for Service of Pr300 W. 11th Street                                               Kansas City          MO      64105
Americo Financial Life and Annuity Insurance ComAttn: Philip Polkinghorn, President                300 W. 11th Street                                              Kansas City          MO      64105
Americo Financial Life and Annuity Insurance ComAttn: Rebecca Cavanaugh, Regulatory Compliance300 W. 11th Street                                                   Kansas City          MO      64105
Americo Financial Life and Annuity Insurance ComAttn: William Marden, President                    300 W. 11th Street                                              Kansas City          MO      64105
Americo Financial Life and Annuity Insurance Comc/o Legal Departmen, Consumer Complaint Conta300 W. 11th Street                                                    Kansas City          MO      64105
AMERICO GARCIA SANTALIZ                         ADDRESS ON FILE
AMERICO HERNANDEZ RODRIGUEZ                     ADDRESS ON FILE
AMERICO J DELGADO GARCIA                        ADDRESS ON FILE
AMERICO J DELGADO GARCIA                        ADDRESS ON FILE
AMERICO J MARTINEZ VAZQUEZ                      ADDRESS ON FILE
AMERICO MARTINEZ MOJICA                         ADDRESS ON FILE
AMERICO MARTINEZ PEREZ                          ADDRESS ON FILE
AMERICO MORALES PEREZ                           ADDRESS ON FILE
AMERICO RIVERA SANTIAGO                         ADDRESS ON FILE
AMERICO RODRIGUEZ FIGUEROA                      ADDRESS ON FILE
AMERICO RODRIGUEZ RIVERA                        ADDRESS ON FILE
AMERICO SANCHEZ/MULTI BATTERIES &               URB SAN RAMON                                      1972 CALLE SANDALO                                              GUAYNABO             PR      00969
AMERICO VELAZQUEZ VELAZQUEZ                     ADDRESS ON FILE
AmeriCorps                                      Attn: Kim Mansaray                                 1201 New York Ave., NW                                          Washington           DC      20525
AmeriCorps                                      Kim Mansaray                                       1201 New York Ave., NW                                          Washington           DC      20525
AMERIDO BERRIOS MORALES                         ADDRESS ON FILE
AMERIMEX COMMUNICATIONS CORP.                   1502 MARTIN TRAVIESO ST.                                                                                           SAN JUAN             PR      00911‐1938
AMERIPARK LLC                                   1064 PONCE DE LEON AVE                                                                                             SAN JUAN             PR      00907
AMERIPLAST INC                                  P O BOX 1529                                                                                                       VEGA BAJA            PR      00693‐1529
AMERISOURCE BERGEN DRUG CORP                    1300 MORRIS DRIVE                                                                                                  CHESTERBROOK         PA      19087‐5594
Amerisure Insurance Company                     26777 Halsted Road                                                                                                 Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     Attn: Matthew Simon, Vice President                26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     Attn: Richard Russell, President                   26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     Attn: Susan Gailey Vincent, Circulation of Risk    26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     Attn: Susan Gailey Vincent, Consumer Complaint 26777 Halsted Road                                                  Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     Attn: Susan Gailey Vincent, Premiun Tax Contact 26777 Halsted Road                                                 Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     Attn: Susan Gailey Vincent, Regulatory Complianc26777 Halsted Road                                                 Farmington Hills     MI      48331‐3586
Amerisure Insurance Company                     c/o FGR Corporate Services, Inc. , Agent for Servic26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              26777 Halsted Road                                                                                                 Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Gregory, President                           26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Matthew Simon, Vice President                26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Richard Russell, President                   26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Susan Gailey Vincent, Circulation of Risk    26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Susan Gailey Vincent, Consumer Complaint 26777 Halsted Road                                                  Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Susan Gailey Vincent, Premiun Tax Contact 26777 Halsted Road                                                 Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              Attn: Susan Gailey Vincent, Regulatory Complianc26777 Halsted Road                                                 Farmington Hills     MI      48331‐3586
Amerisure Mutual Insurance Company              c/o FGR Corporate Services, Inc. , Agent for Servic26777 Halsted Road                                              Farmington Hills     MI      48331‐3586
AMERISURE PARTNERS INSURANCE COMPANY P O BOX 2060                                                                                                                  FARMINGTON HILL      MI      48333‐2060
AMERIVAP SYSTEM                                 URB CAPARRA TERRACE                                720 AVE ESCORIAL                                                SAN JUAN             PR      00920
AMERIVAP SYSTEM INC                             CAPARRA TERRACE                                    720 AVE ESCORIAL                                                SAN JUAN             PR      00920
AMERIVAP SYSTEMS                                AVE ESCORIAL # 720 CAPARRA TERRA                                                                                   SAN JUAN             PR      00920‐0000
AMERIVAP SYSTEMS INC                            AVE. ESCORIAL NUM. 720                             CAPARRA TERRACE                                                 SAN JUAN             PR      00920
AMERIVAP SYSTEMS INC                            TORRIMAR                                           B‐4 17 AVE RAMIREZ DE ARRELLANO                                 GUAYNABO             PR      00966
AMERIVAP SYSTEMS INC                            URB TORRIMAR                                       B 417 AVE RAMIREZ DE ARELLANO                                   GUAYNABO             PR      00966
AMERIVAP SYSTEMS, INC                           TORRIMAR B‐4 # 17 RAMIREZ DE ARELLANO AVE                                                                          GUAYNABO             PR      00966
AMERVIN BONANO SANTIAGO                         ADDRESS ON FILE
AMES RODRIGUEZ, RANDY G                         ADDRESS ON FILE
AMESQUITA MATTA, ANGEL R.                       ADDRESS ON FILE
AMESTRY DOMINGUEZ MORALES                       ADDRESS ON FILE
AMET ANIBAL SIERRA OLIVERAS                     LIC. JOAN MALDONADO GONZALEZ
AMET PENALBERT BENITEZ                          ADDRESS ON FILE
AMETEK PROCESS INSTRUMENTS                      PARKWAY, STE. 5060                                                                                                 AUSTIN               TX      78728
AMETZAID BRITO LOPEZ                            ADDRESS ON FILE




                                                                                                                               Page 364 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 365 of 3500
                                                                                                           Creditor Matrix

Creditor Name                   Address1                                      Address2                                  Address3    Address4   City             State   PostalCode   Country
AMEX Assurance Company          227 West Monroe Street                        Suite 3600                                                       Chicago          IL      60606
AMEX Assurance Company          Attn: Allison Fine, Premiun Tax Contact       20022 N. 31 st Ave,                       MC 080120              Chicago          IL      60606
AMEX Assurance Company          Attn: Brent Mcilqhuam, Circulation of Risk    20022 N. 31 st Ave,                       MC 080120              Chicago          IL      60606
AMEX Assurance Company          Attn: Brent Mcilquham, Regulatory Compliance G20022 N. 31 st Ave,                       MC 080120              Chicago          IL      60606
AMEX Assurance Company          Attn: Kimberly Pena, Consumer Complaint Contac20022 N. 31 st Ave,                       MC 080120              Chicago          IL      60606
AMEX Assurance Company          Attn: Steve Lindstrom, President              20022 N. 31 st Ave,                       MC 080120              Chicago          IL      60606
AMEXIS BONILLA NIEVES           ADDRESS ON FILE
AMEZAGA GOMEZ MD, ANGEL R       ADDRESS ON FILE
AMEZAGA PAGAN, JOMARIES         ADDRESS ON FILE
AMEZAGA PANTOJA, MARIEN         ADDRESS ON FILE
AMEZAGA PANTOJA, PATRICIA E     ADDRESS ON FILE
AMEZAGA RIVERA, LESBIA N        ADDRESS ON FILE
AMEZAGA RODRIGUEZ, CARLOS       ADDRESS ON FILE
AMEZQUITA CANDELIER, MARIA A.   ADDRESS ON FILE
AMEZQUITA AGOSTO, CARLOS        ADDRESS ON FILE
AMEZQUITA AGOSTO, RODNEY        ADDRESS ON FILE
AMEZQUITA ANDINO, ALEXANDRA     ADDRESS ON FILE
AMEZQUITA CABRERA, EDWIN        ADDRESS ON FILE
Amezquita Candelario, Harry     ADDRESS ON FILE
AMEZQUITA CANDELARIO, SONIA     ADDRESS ON FILE
AMEZQUITA CARRION, NATACHA      ADDRESS ON FILE
AMEZQUITA CEPEDA, YAHAIRA       ADDRESS ON FILE
AMEZQUITA COTTO, ARACELYS       ADDRESS ON FILE
AMEZQUITA COTTO, MARIA E        ADDRESS ON FILE
Amezquita Davila, Antonio A.    ADDRESS ON FILE
AMEZQUITA GASCOT, TATIANA       ADDRESS ON FILE
AMEZQUITA MATTA, DORIS E        ADDRESS ON FILE
AMEZQUITA NEWTON, JESSICA       ADDRESS ON FILE
AMEZQUITA OCASIO, RAFAEL        ADDRESS ON FILE
AMEZQUITA ORTIZ, ALEXANDRA      ADDRESS ON FILE
AMEZQUITA ORTIZ, ANGEL          ADDRESS ON FILE
AMEZQUITA ORTIZ, CESAR          ADDRESS ON FILE
AMEZQUITA ORTIZ, GLORIA E       ADDRESS ON FILE
AMEZQUITA ORTIZ, LUZ C.         ADDRESS ON FILE
AMEZQUITA PADILLA, JUANA M      ADDRESS ON FILE
AMEZQUITA PAGAN, ZULIANI        ADDRESS ON FILE
AMEZQUITA RIVERA, EDGARDO       ADDRESS ON FILE
AMEZQUITA RIVERA, IRIS          ADDRESS ON FILE
AMEZQUITA RIVERA, IRIS          ADDRESS ON FILE
AMEZQUITA ROBLE, TAHIL          ADDRESS ON FILE
AMEZQUITA RODRIGUEZ, ABRAHAM    ADDRESS ON FILE
AMEZQUITA RODRIGUEZ, JOHANA     ADDRESS ON FILE
AMEZQUITA RODRIGUEZ, NILDA I    ADDRESS ON FILE
AMEZQUITA RODRIGUEZ, WILMA E    ADDRESS ON FILE
AMEZQUITA SEMPRIT, BRENDA I     ADDRESS ON FILE
AMEZQUITA SIERRA, CARMEN E      ADDRESS ON FILE
AMEZQUITA SIERRA, CARMEN J      ADDRESS ON FILE
AMEZQUITA TRAVESIER, FELIX R    ADDRESS ON FILE
AMEZQUITA VELAZQUEZ, JOSE W.    ADDRESS ON FILE
AMEZQUITA VELAZQUEZ, LAURA C.   ADDRESS ON FILE
AMEZTICA REYES, LUIS F.         ADDRESS ON FILE
AMGEL M. SANCHEZ                ADDRESS ON FILE
AMH CONSULTANTS ENGINEERS PSC   EDIF DARLINGTON                               1007 AVE MUNOZ RIVERA STE 1010                                   SAN JUAN         PR      00925‐2724
AMH REALTY PSC                  1007 AVE MUNOZ RIVERA                         COND DARLINGTON SUITE 1010                                       SAN JUAN         PR      00925
AMID A RIVERA ROQUE             ADDRESS ON FILE
AMID MOLINA MORALES             ADDRESS ON FILE
AMIEIRO CUEBAS, ASTRID I        ADDRESS ON FILE
AMIEIRO IGUINA, NELSON          ADDRESS ON FILE
AMIGO FINANCIAL CORP            COND STELLA MARIS                             1 AVE CONDADO APT 9 A                                            SAN JUAN         PR      00907
AMIGO SUPERMERCADO              CENTRO COMERCIAL CAPARRA AVE. ROOSEVELT                                                                        PUERTO NUEVO     PR      00100




                                                                                                          Page 365 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 366 of 3500
                                                                                                       Creditor Matrix

Creditor Name                        Address1                              Address2                                 Address3   Address4   City          State   PostalCode   Country
AMIGOLAW                             2 PONCE DE LEON AVE MERCANTIL PLAZA   SUITE 816                                                      SAN JUAN      PR      00918
AMIGOS DE AMONA INC                  PO BOX 1759 BOQUERON                                                                                 CABO ROJO     PR      00622‐1759
AMIGOS DE LAS TORTUGAS MARINAS,INC   HC 01 BOX 2027                                                                                       MAUNABO       PR      00707
AMIGOS DE LOS ANIMALES INC           PO BOX 79169                                                                                         CAROLINA      PR      00984
AMIGOS DE TRES PALMAS INC            PO BOX 71                                                                                            RINCON        PR      00677‐0071
AMIGOS ESCUELA DE DERECHO UPR INC    PO BOX 23349                                                                                         SAN JUAN      PR      00931
AMIGOS PRO DEPORTE ANTILLANAS INC    URB VILLA DEL CARMEN                  B15 CALLE JOSE R LACOMBA                                       HATILLA       PR      00659
AMIGOS PRO DEPORTE HATILLANO INC     PO BOX 271                                                                                           HATILLO       PR      00659
AMIGOS PRO RESTAURACION MONUMENTO    PO BOX 9024108                                                                                       SAN JUAN      PR      00902‐4108
AMIGOS PUERTORRIQUENOS DE VOLEIBOL   RR 02 BOX 829                                                                                        SAN JUAN      PR      00928
AMIGOS TOURS & TRAVEL INC            P O BOX 2143                                                                                         ANASCO        PR      00610‐2143
AMIGUET LOPEZ, CHRISTINE             ADDRESS ON FILE
AMIL ACOSTA, CLARIMAR                ADDRESS ON FILE
AMIL CRUZ, JUAN                      ADDRESS ON FILE
AMIL MD, ROXANNE                     ADDRESS ON FILE
AMIL ROSARIO, ALEJANDRO              ADDRESS ON FILE
AMIL W TORO TORO                     ADDRESS ON FILE
AMIL Y ORTIZ AQUINO                  ADDRESS ON FILE
AMIL YAXIEL LEBRON ALICEA            ADDRESS ON FILE
AMILCAR BATALLA HERNANDEZ            ADDRESS ON FILE
AMILCAR CINTRON LUGO                 ADDRESS ON FILE
AMILCAR DE JESUS ROSADO              ADDRESS ON FILE
AMILCAR DIAZ CRUZ                    ADDRESS ON FILE
AMILCAR GUTIERREZ TROCHE             ADDRESS ON FILE
AMILCAR L CINTRON                    ADDRESS ON FILE
AMILCAR M ZAPATA ZAPATA              ADDRESS ON FILE
AMILCAR RIVERA COLLAZO               ADDRESS ON FILE
AMILCAR RODRIGUEZ ARBELO             ADDRESS ON FILE
AMILCAR S VELEZ OCASIO               ADDRESS ON FILE
AMILCAR TIRADO LUNA                  ADDRESS ON FILE
AMILCAR TORRES DELGADO               ADDRESS ON FILE
AMILDALBERTO E RAMIREZ FELICIANO     ADDRESS ON FILE
AMILDALBERTO E RAMIREZ FELICIANO     ADDRESS ON FILE
AMILIVIA DEL MORAL, MARITZA          ADDRESS ON FILE
AMILIVIA REYES, VICTORIA             ADDRESS ON FILE
AMILKA GONZALEZ MUNOZ                ADDRESS ON FILE
AMILKAR SANTIAGO ROSADO              ADDRESS ON FILE
AMILL ACOSTA, HECTOR L               ADDRESS ON FILE
AMILL ACOSTA, OVIDIO                 ADDRESS ON FILE
AMILL ACOSTA, RAFAEL                 ADDRESS ON FILE
AMILL ALGARIN, EDGAR                 ADDRESS ON FILE
AMILL ALGARIN,FRANCISCO J.           ADDRESS ON FILE
AMILL BONILLA, LUIS                  ADDRESS ON FILE
AMILL CAMARENO, CARLOS               ADDRESS ON FILE
AMILL CINTRON, SAMUEL                ADDRESS ON FILE
AMILL CINTRON, SUSAN M.              ADDRESS ON FILE
AMILL CRUZ, ANGEL L                  ADDRESS ON FILE
AMILL CRUZ, RAQUEL                   ADDRESS ON FILE
AMILL CRUZ, ROSA                     ADDRESS ON FILE
AMILL FELICIANO, ALIDA               ADDRESS ON FILE
AMILL FELICIANO, CARMEN M            ADDRESS ON FILE
AMILL FELIX, ADA E                   ADDRESS ON FILE
AMILL HERNANDEZ, KRYSTAL             ADDRESS ON FILE
AMILL MILLAN, GABRIEL                ADDRESS ON FILE
AMILL ORTIZ, MARIA M                 ADDRESS ON FILE
AMILL QUILES, IVONNE                 ADDRESS ON FILE
AMILL QUILES, PEDRO                  ADDRESS ON FILE
AMILL RIVAS, ANDREA                  ADDRESS ON FILE
AMILL RIVAS, MIGUEL A                ADDRESS ON FILE
AMILL RIVERA, NILDA L                ADDRESS ON FILE




                                                                                                      Page 366 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 367 of 3500
                                                                                 Creditor Matrix

Creditor Name                      Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
AMILL ROSARIO, ALEJANDRO           ADDRESS ON FILE
AMILL ROSARIO, ALEJANDRO           ADDRESS ON FILE
AMILL SAEZ, JOSE                   ADDRESS ON FILE
AMILL SOTO, RAFAEL                 ADDRESS ON FILE
AMILL ZAYAS, MARIA S               ADDRESS ON FILE
AMILL, ANA LEIDA                   ADDRESS ON FILE
AMILMAR RIVERA RIVERA              ADDRESS ON FILE
AMILTON AMILL ROSARIO              ADDRESS ON FILE
AMIN ARZOLA, JOYLIEN               ADDRESS ON FILE
AMIN RIVERA MARTINEZ               ADDRESS ON FILE
AMINDA COLON SOTO                  ADDRESS ON FILE
AMINTA M RIVERA RODRIGUEZ          ADDRESS ON FILE
AMINTA OCHOA VERA                  ADDRESS ON FILE
AMINTA OCHOA VERA                  ADDRESS ON FILE
AMINTA RIVERA RODRIGUEZ            ADDRESS ON FILE
AMINTA VAZQUEZ RODRIGUEZ           ATABEY LAMELA GANDIA         PO BOX 229612                                       SAN JUAN     PR      00919‐4829
AMIR CRISTINA NIEVES               LCDA. AMIR CRISTINA NIEVES   PO BOX 13863                                        SAN JUAN     PR      00936
AMIR E SANTIAGO SOTO               ADDRESS ON FILE
AMIR RENDON SANCHEZ                ADDRESS ON FILE
AMIRCAL CARDOZA LABOY              ADDRESS ON FILE
AMIRCAL SANTIAGO MARTINEZ          ADDRESS ON FILE
AMIRCAL SANTIAGO MARTINEZ          ADDRESS ON FILE
AMIRKAL NIEVES VARGAS              ADDRESS ON FILE
AMISAEL PEREZ LOPEZ                ADDRESS ON FILE
AMJAD, MOJAMMAD                    ADDRESS ON FILE
AML TRAINING GROUP                 PO BOX 29946                                                                     SAN JUAN     PR      00929‐0946
AMLED PEREZ AYALA                  ADDRESS ON FILE
AMLED Y.STEVENS BOCACHICA          ADDRESS ON FILE
AMLEZ A DIAZ MAISONET              ADDRESS ON FILE
AMLEZ A. DIAZ MAISONET             ADDRESS ON FILE
AMMAR HEREDIA, ALI                 ADDRESS ON FILE
AMN BUSINESS FORMS                 POS BOX 334411                                                                   PONCE        PR      00733‐4411
AMNELIS MARRERO QUINONES           ADDRESS ON FILE
AMNELIS MARRERO QUINONES           ADDRESS ON FILE
AMNELIS VEGA MORALES               ADDRESS ON FILE
AMNENS ACEVEDO ALBINO              ADDRESS ON FILE
AMNER ORTIZ LOPEZ                  ADDRESS ON FILE
AMNER ORTIZ LOPEZ                  ADDRESS ON FILE
AMNERIS A ELIAS NEGRON             ADDRESS ON FILE
AMNERIS AYALA RIVERA               ADDRESS ON FILE
AMNERIS BERRIOS ANDINO             ADDRESS ON FILE
AMNERIS BRAVO DAVILA               ADDRESS ON FILE
AMNERIS CORDOVA MARTINEZ           ADDRESS ON FILE
AMNERIS GONZALEZ CORCHADO          ADDRESS ON FILE
AMNERIS GONZALEZ NU¥EZ             ADDRESS ON FILE
AMNERIS J COLON ROSARIO            ADDRESS ON FILE
AMNERIS MATOS CASTRO               ADDRESS ON FILE
AMNERIS MATOS RIVERA               ADDRESS ON FILE
AMNERIS OMS / ADALBERTO SANDOVAL   ADDRESS ON FILE
AMNERIS PAGAN BUTLER               ADDRESS ON FILE
AMNERIS RIVERA SANTANA             ADDRESS ON FILE
AMNERIS ROLDAN VALENTIN            ADDRESS ON FILE
AMNERIS ROMAN NUNEZ                ADDRESS ON FILE
AMNERIS V ORTEGA MORALES           ADDRESS ON FILE
AMNERIS V ORTEGA MORALES           ADDRESS ON FILE
AMNERYS A ALVARADO PACHECO         ADDRESS ON FILE
AMNERYS ACUNA ROMAN                ADDRESS ON FILE
AMNERYS GONZALEZ QUINTANA          ADDRESS ON FILE
AMON ZENON, RICHARD                ADDRESS ON FILE
AMONES GAUD, IRIS Y                ADDRESS ON FILE




                                                                                Page 367 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 368 of 3500
                                                                                                    Creditor Matrix

Creditor Name                  Address1                              Address2                                    Address3   Address4   City         State   PostalCode   Country
AMONES TORRES, JORGE ENRIQUE   ADDRESS ON FILE
AMOR A LA FAMILIA INC          PO BOX 6932                                                                                             BAYAMON      PR      00960
AMOR MAISONET, DANIEL          ADDRESS ON FILE
AMOR MAISONET, DANIEL          ADDRESS ON FILE
AMOROS ALVAREZ, LUIS A.        ADDRESS ON FILE
AMOROS CARBO, MARNIC           ADDRESS ON FILE
AMOROS GONZALEZ, ANDREA V      ADDRESS ON FILE
AMOROS MOJICA, MARIA T.        ADDRESS ON FILE
AMOROS MUJICA, HILDA           ADDRESS ON FILE
AMOROS QUINONES, GERARDO       ADDRESS ON FILE
AMOROS QUINONES, GILCY         ADDRESS ON FILE
AMOROS QUINONEZ, SONIA         ADDRESS ON FILE
AMOROS RAMOS, EVELYN           ADDRESS ON FILE
AMOROS RAMOS, REBECCA          ADDRESS ON FILE
AMORRORTU LLONA, JESUS         ADDRESS ON FILE
AMORRORTU LLONA, JESUS         ADDRESS ON FILE
AMORRORTU PAGAN, YOSU          ADDRESS ON FILE
AMOS FONTANEZ, LORENA          ADDRESS ON FILE
AMOS JOEL RAMOS                ADDRESS ON FILE
AMOS LOPEZ ORTIZ               ADDRESS ON FILE
AMOS PACHECO MORALES           ADDRESS ON FILE
AMP SERVICES INCORPORATED      CIUDAD JARDIN SUR 91 C/VILLA FRANCA                                                                     CAGUAS       PR      00727
AMP SERVICES INCORPORATED      URB CIUDAD JARDIN SUR                 91 CALLE VILLA TRANCA                                             CAGUAS       PR      00727‐1339
AMPARITO TORRES BUTLER         ADDRESS ON FILE
AMPARO ACEVEDO ECHEVARRIA      ADDRESS ON FILE
AMPARO ALVARADO, AMALIA        ADDRESS ON FILE
AMPARO BAEZ ROJAS              LCDO. JOSE A. FELICIANO               URB. SANTIAGO IGLESIAS AVE. PAZ GRANELA 1416 SUITE 1              SAN JUAN     PR      00921
AMPARO CANDELARIO VILLANUEVA   ADDRESS ON FILE
AMPARO CASTILLO, DAMARIS E.    ADDRESS ON FILE
AMPARO CEDENO, ALMA            ADDRESS ON FILE
AMPARO DE JESUS, LAUTERIA      ADDRESS ON FILE
AMPARO DIAZ RODRIGUEZ          ADDRESS ON FILE
AMPARO ECHAVARRIA LASSUS       ADDRESS ON FILE
AMPARO ECHEANDIA CORDOVA       ADDRESS ON FILE
AMPARO FLORES MD, JESUS R      ADDRESS ON FILE
AMPARO GONZALEZ RODRIGUEZ      ADDRESS ON FILE
AMPARO IRIZARRY DE MONTANEZ    ADDRESS ON FILE
AMPARO LABOY RUIZ              ADDRESS ON FILE
AMPARO LEON OLIVIERI           ADDRESS ON FILE
AMPARO M GAVIDIA PAZ           ADDRESS ON FILE
AMPARO NU¥EZ RIVERA            ADDRESS ON FILE
AMPARO OQUENDO, JOSUE D        ADDRESS ON FILE
AMPARO ORTEGA                  ADDRESS ON FILE
AMPARO ORTIZ ACOSTA            ADDRESS ON FILE
AMPARO PASTOR RIVERA           ADDRESS ON FILE
AMPARO PASTOR RIVERA           ADDRESS ON FILE
AMPARO PASTOR RIVERA           ADDRESS ON FILE
AMPARO RICHIEZ, GERINERDO      ADDRESS ON FILE
AMPARO RIOS HUERTAS            ADDRESS ON FILE
AMPARO RIVERA REYES            ADDRESS ON FILE
AMPARO RODRIGUEZ FIGUEROA      ADDRESS ON FILE
AMPARO RODRIGUEZ PEREZ         ADDRESS ON FILE
AMPARO RODRIGUEZ PEREZ         ADDRESS ON FILE
AMPARO RODRIGUEZ RAMOS         ADDRESS ON FILE
AMPARO RODRIGUEZ RAMOS         ADDRESS ON FILE
AMPARO SERRANO MARTINEZ        ADDRESS ON FILE
AMPARO SILVIA MARTIN           ADDRESS ON FILE
AMPARO T PEREZ MESA            ADDRESS ON FILE
AMPARO TORRES RUIZ             ADDRESS ON FILE
AMPARO, CONFESORA              ADDRESS ON FILE




                                                                                                  Page 368 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 369 of 3500
                                                                                                           Creditor Matrix

Creditor Name                            Address1                                 Address2                              Address3   Address4   City           State   PostalCode   Country
AMPERES CO CORP                          P O BOX 6341                                                                                         BAYAMON        PR      00960
AMPIER SANTIAGO, HECTOR L.               ADDRESS ON FILE
AMPIER TORRES, HECTOR LUIS               ADDRESS ON FILE
AMPUDIA ALEJANDRO, MARILYN               ADDRESS ON FILE
AMPUDIA ALEJANDRO, MARILYN               ADDRESS ON FILE
AMQ MEDICAL EQUIPMENT                    EXT FOREST HILLS                         E 46 CALLE MARGINAL                                         BAYAMON        PR      00959
AMRC LLC                                 1225 PONCE DE LEON AVE                   SUITE 1001                                                  SAN JUAN       PR      00908
AMSE, INC                                URB CARIBE                               1551 CALLE ALDA                                             SAN JUAN       PR      00926‐2709
AMSTRONG CLAVELL, MARIA                  ADDRESS ON FILE
AMT Warranty Corp.                       2200 Highway 121                                                                                     Cleveland      OH      76021
AMT Warranty Corp.                       Attn: Guy Koenig, Vice President         8995 Westside Parkway                                       Alpharetta     GA      30009
AMT Warranty Corp.                       Attn: Guy Koening, Vice President        8995 Westside Parkway                                       Alpharetta     GA      30009
AMT Warranty Corp.                       Attn: Sean Stapleton, President          8995 Westside Parkway                                       Alpharetta     GA      30009
AMT Warranty Corp.                       Attn: Stuart Hollander, Vice President   8995 Westside Parkway                                       Alpharetta     GA      30009
AMTER INC. DBA FERRETERIA GOMEZ RENTAS   PO BOX 911                                                                                           GUAYNABO       PR      00970
AMTRUST NORTH AMERICA INC                800 SUPERIOR AVE                         E 21 ST FLOOR                                               CLEVELAND      OH      44114
AMU SIERRA, JAVIER                       ADDRESS ON FILE
AMUNDARAY RODRIGUEZ, LUIS                ADDRESS ON FILE
AMVOLT COMTRACTORS INC                   P O BOX 32                                                                                           CULEBRA        PR      00775
AMVOLT CONTRACTORS                       P O BOX 32                                                                                           CULEBRA        PR      00775
AMW‐R‐ US, INC                           PO BOX 30640                                                                                         SAN JUAN       PR      00924
AMY & SONS, INC.                         PO BOX 1909991                                                                                       SAN JUAN       PR      00919‐0991
AMY A. ROSARIO MALDONADO                 ADDRESS ON FILE
AMY ALMODOVAR COLON                      ADDRESS ON FILE
AMY BELTRAN, JUAN                        ADDRESS ON FILE
AMY BRUNET, CARLOS F.                    ADDRESS ON FILE
AMY CARRILLO, PAOLO                      ADDRESS ON FILE
AMY CRESPO MERCADO                       ADDRESS ON FILE
AMY CRUZ, CHRISTIAN                      ADDRESS ON FILE
AMY E BLOOM                              ADDRESS ON FILE
AMY E MORALES RAMOS                      ADDRESS ON FILE
AMY E RIVERA PAGAN                       ADDRESS ON FILE
AMY E SOTO ORTIZ                         ADDRESS ON FILE
AMY E. SAMALOT GIOVANNETTI               ADDRESS ON FILE
AMY LOU TORRES RODRIGUEZ                 ADDRESS ON FILE
AMY LOU TORRES RODRIGUEZ                 ADDRESS ON FILE
AMY M ACEVEDO MORALES                    ADDRESS ON FILE
AMY M RIVERA BATISTA                     ADDRESS ON FILE
AMY MORALES, JOSE A                      ADDRESS ON FILE
AMY ORTIZ, CARMEN                        ADDRESS ON FILE
AMY ORTIZ,CARLOS                         ADDRESS ON FILE
AMY RODRIGUEZ, MARIE C.                  ADDRESS ON FILE
AMY ROMAN, CARMEN                        ADDRESS ON FILE
AMY ROMAN, ROSANNA                       ADDRESS ON FILE
AMY SANCHEZ MD, JOSE G                   ADDRESS ON FILE
AMY SANCHEZ MD, JOSE G                   ADDRESS ON FILE
AMY SANCHEZ, JOSE GUILLERMO              ADDRESS ON FILE
AMY TORRES MD, EDUARDO L                 ADDRESS ON FILE
AMY TORRES, AIDA                         ADDRESS ON FILE
AMY VALENTINE, MANUEL A                  ADDRESS ON FILE
AMY VAZQUEZ MD, CARLOS                   ADDRESS ON FILE
AMY VAZQUEZ, CARLOS DANIEL               ADDRESS ON FILE
Amy Vazquez, Carlos E.                   ADDRESS ON FILE
AMY WALKER                               ADDRESS ON FILE
AMYBELLYS VEGA MURPHY                    ADDRESS ON FILE
AMYL M HERNANDEZ ORTIZ                   ADDRESS ON FILE
AMYR VAZQUEZ NEGRON                      ADDRESS ON FILE
AN DUJAR TORRES, EVELYN                  ADDRESS ON FILE
AN OFFICE DESIGN LLC                     URB LAS VERDES                           121 LAS PALMAS                                              GURABO         PR      00778
AN OFFICE DESIGN LLC                     URB. VEREDAS 121 LAS PALMAS                                                                          GURABO         PR      00778‐0000




                                                                                                          Page 369 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 370 of 3500
                                                                                     Creditor Matrix

Creditor Name                            Address1                 Address2                        Address3   Address4    City         State   PostalCode   Country
AN OUTSOURCING PROFESSIONAL SERVICES INC URB MONTE CLARO          MM4 PLAZA 26                                           BAYAMON      PR      00961‐4763
ANA A ACEVEDO PEREZ                      ADDRESS ON FILE
ANA A BAEZ CARABALLO                     ADDRESS ON FILE
ANA A BERMUDEZ TORRES                    ADDRESS ON FILE
ANA A CAMACHO LARA                       ADDRESS ON FILE
ANA A CORDERO CIRCUNS                    ADDRESS ON FILE
ANA A CORDERO CIRCUNS                    ADDRESS ON FILE
ANA A CRUZ RODRIGUEZ                     ADDRESS ON FILE
ANA A DIAZ SANCHEZ                       ADDRESS ON FILE
ANA A DIEPPA RICARD                      ADDRESS ON FILE
ANA A DIFFO POLANCO                      ADDRESS ON FILE
ANA A FERRER TORRES                      ADDRESS ON FILE
ANA A GONZALEZ RODRIGUEZ                 ADDRESS ON FILE
ANA A JIMENEZ QUINONES                   ADDRESS ON FILE
ANA A LOPEZ TORRES                       ADDRESS ON FILE
ANA A MUNOZ CEDENO                       ADDRESS ON FILE
ANA A NUNEZ VELAZQUEZ                    ADDRESS ON FILE
ANA A ORTIZ NOLASCO                      ADDRESS ON FILE
ANA A QUINONES TEXIDOR                   ADDRESS ON FILE
ANA A QUINONES TEXIDOR                   ADDRESS ON FILE
ANA A RODRIGUEZ MUNOZ                    ADDRESS ON FILE
ANA A RODRIGUEZ MUNOZ                    ADDRESS ON FILE
ANA A RODRIGUEZ PAGAN                    ADDRESS ON FILE
ANA A ROSARIO NUNEZ                      ADDRESS ON FILE
ANA A. DE JESUS QUINONES                 ADDRESS ON FILE
ANA A. DIAZ SANCHEZ                      ADDRESS ON FILE
ANA A. GONZALEZ PEREA                    ADDRESS ON FILE
ANA A. ORTIZ NOLASCO                     ADDRESS ON FILE
ANA A. QUINTERO SANTIAGO                 ADDRESS ON FILE
ANA A. SAITER VELEZ                      ADDRESS ON FILE
ANA A. TAVAREZ VELEZ                     ADDRESS ON FILE
ANA A. TAVAREZ VELEZ                     ADDRESS ON FILE
ANA A. TIBURCIO SANCHEZ                  ADDRESS ON FILE
ANA A.CANALES CURBELO                    ADDRESS ON FILE
ANA ACEVEDO CORTES                       ADDRESS ON FILE
ANA AILEEN TIRADO COLON                  ADDRESS ON FILE
ANA ALVARADO HENRIQUEZ                   ADDRESS ON FILE
ANA ALVARADO TORRES                      ADDRESS ON FILE
ANA APONTE ALVARADO                      ADDRESS ON FILE
ANA ARROYO DE MARIN                      ADDRESS ON FILE
ANA ARROYO TORO                          ADDRESS ON FILE
ANA ATANACIO ORTIZ                       ADDRESS ON FILE
ANA AVILES ESCABI                        ADDRESS ON FILE
ANA AVILES LOPEZ                         ADDRESS ON FILE
ANA B ALICEA MALAVE                      ADDRESS ON FILE
ANA B BORGES MARTINEZ                    ADDRESS ON FILE
ANA B DI CIACCIO                         ADDRESS ON FILE
ANA B LOPEZ CARTAGENA                    ADDRESS ON FILE
ANA B MORALES GONZALEZ                   ADDRESS ON FILE
ANA B NUNEZ DIAZ                         ADDRESS ON FILE
ANA B ORTIZ MELENDEZ                     ADDRESS ON FILE
ANA B PINO CORCHADO                      ADDRESS ON FILE
ANA B QUINONES RODRIGUEZ                 ADDRESS ON FILE
ANA B ROMAN REYES                        ADDRESS ON FILE
ANA B RUBERO RIVERA                      ADDRESS ON FILE
ANA B. QUINONES RODRIGUEZ                ADDRESS ON FILE
ANA BARRERAS ACOSTA                      ADDRESS ON FILE
ANA BEATRIZ GARCIA LOPEZ                 ADDRESS ON FILE
ANA BERRIOS DOBLE                        ADDRESS ON FILE
ANA BETANCOURT RIVERA                    ADDRESS ON FILE




                                                                                    Page 370 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 371 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ANA BORGES RODRIGUEZ                    ADDRESS ON FILE
ANA BRANDES BLANCO & ROBERTO FEBRY MARTADDRESS ON FILE
ANA BRILLON CARRION                     ADDRESS ON FILE
ANA BRUNILDA VAZQUEZ BATISTA            ADDRESS ON FILE
ANA BUITRAGO HUERTAS                    ADDRESS ON FILE
ANA BURGOS MARTINEZ                     ADDRESS ON FILE
ANA BURGOS MARTINEZ                     ADDRESS ON FILE
ANA BURGOS TORRES                       ADDRESS ON FILE
ANA C ALMEYDA ALVAREZ                   ADDRESS ON FILE
ANA C ANDINO SABATER                    ADDRESS ON FILE
ANA C CAMACHO NAVARRO                   ADDRESS ON FILE
ANA C CARO MUNIZ                        ADDRESS ON FILE
ANA C CEDENO / DOMINGO SANTIAGO         ADDRESS ON FILE
ANA C CRUZ RODRIGUEZ                    ADDRESS ON FILE
ANA C DIAZ MERCADO                      ADDRESS ON FILE
ANA C FELICIANO GOMEZ                   ADDRESS ON FILE
ANA C FERNANDEZ SANTOS                  ADDRESS ON FILE
ANA C FIGUEROA RIOS                     ADDRESS ON FILE
ANA C GARCIA CAEZ                       ADDRESS ON FILE
ANA C GARCIA GUZMAN                     ADDRESS ON FILE
ANA C GARCIA VAZQUEZ                    ADDRESS ON FILE
ANA C GOMEZ PEREZ                       ADDRESS ON FILE
ANA C GONZALEZ CRUZ                     ADDRESS ON FILE
ANA C GONZALEZ GONZALEZ                 ADDRESS ON FILE
ANA C HERNANDEZ MONTALVO                ADDRESS ON FILE
ANA C HERNANDEZ MONTANEZ                ADDRESS ON FILE
ANA C HERNANDEZ SANTOS                  ADDRESS ON FILE
ANA C HERNANDEZ SANTOS                  ADDRESS ON FILE
ANA C HERNANDEZ SANTOS                  ADDRESS ON FILE
ANA C JUARIDEZ JIMENEZ                  ADDRESS ON FILE
ANA C LAGUNA ROSADO                     ADDRESS ON FILE
ANA C LOPEZ BONAPARTE                   ADDRESS ON FILE
ANA C MORALES ARROYO                    ADDRESS ON FILE
ANA C MORALES CEBALLO                   ADDRESS ON FILE
ANA C MUNOZ RODRIGUEZ                   ADDRESS ON FILE
ANA C OCASIO ARCE                       ADDRESS ON FILE
ANA C PAGAN SANCHEZ                     ADDRESS ON FILE
ANA C PEREZ CASTRO                      ADDRESS ON FILE
ANA C RAMOS ORTIZ                       ADDRESS ON FILE
ANA C REYES MUNOZ                       ADDRESS ON FILE
ANA C RIOS MENDEZ                       ADDRESS ON FILE
ANA C RIVERA CLAUDIO                    ADDRESS ON FILE
ANA C RIVERA TORRES / WALESKA BALLESTER ADDRESS ON FILE
ANA C RODRIGUEZ ENCARNACION             ADDRESS ON FILE
ANA C RODRIGUEZ HANCE                   ADDRESS ON FILE
ANA C RODRIGUEZ MEDINA                  ADDRESS ON FILE
ANA C RODRIGUEZ MELENDEZ                ADDRESS ON FILE
ANA C RODRIGUEZ TORRES                  ADDRESS ON FILE
ANA C ROMAN QUINONES                    ADDRESS ON FILE
ANA C SOLDEVILA LOPEZ                   ADDRESS ON FILE
ANA C TELLADO GONZALEZ                  ADDRESS ON FILE
ANA C TRINIDAD OLIVERAS                 ADDRESS ON FILE
ANA C VILLAFANE RODRIGUEZ               ADDRESS ON FILE
ANA C. CANDELARIO CORTINA               ADDRESS ON FILE
ANA C. GONZALEZ OLIVERAS                ADDRESS ON FILE
ANA C. RIUS ARMENDARIZ                  ADDRESS ON FILE
ANA C. ROMERO RAMOS                     ADDRESS ON FILE
ANA CABAN CABAN                         ADDRESS ON FILE
ANA CABASSA CAMACHO                     ADDRESS ON FILE
ANA CALDERON GUZMAN                     ADDRESS ON FILE




                                                                                     Page 371 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 372 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA CAMACHO RODRIGUEZ                    ADDRESS ON FILE
ANA CANDELARIO LOPEZ                     ADDRESS ON FILE
ANA CARABALLO PENA                       ADDRESS ON FILE
ANA CARMONA LOPEZ                        ADDRESS ON FILE
ANA CAROLINA MICHELLE DE LA ROSA MACAS   ADDRESS ON FILE
ANA CASTRO COLON                         ADDRESS ON FILE
ANA CASTRO RIVERA                        ADDRESS ON FILE
ANA CELIA CASTRO GONZALEZ                ADDRESS ON FILE
ANA CELIA FLORES RIVERA                  ADDRESS ON FILE
ANA CELIA ORSINI CABASQUINI              ADDRESS ON FILE
ANA CELIA RODRIGUEZ DIAZ                 ADDRESS ON FILE
ANA CELIS MARRERO FERNANDEZ              ADDRESS ON FILE
ANA CELIS MARRERO FERNANDEZ              ADDRESS ON FILE
ANA CELIS NIEVES CAMACHO                 ADDRESS ON FILE
ANA CENTENO CLAUDIO                      ADDRESS ON FILE
ANA CENTENO DAVILA                       ADDRESS ON FILE
ANA CHAPEL                               ADDRESS ON FILE
ANA COLLADO                              ADDRESS ON FILE
ANA COLON TORRES                         ADDRESS ON FILE
ANA CORREA SANTIAGO                      ADDRESS ON FILE
ANA CRUZ MALDONADO                       ADDRESS ON FILE
ANA CRUZ MORALES                         ADDRESS ON FILE
ANA CRUZ RODRIGUEZ                       ADDRESS ON FILE
ANA CRUZ TORRES                          ADDRESS ON FILE
ANA CUEBAS VARGAS                        ADDRESS ON FILE
ANA D . ROSA SANCHEZ                     ADDRESS ON FILE
ANA D COLON CINTRON                      ADDRESS ON FILE
ANA D CORTES TORRES                      ADDRESS ON FILE
ANA D CRUZ ORTIZ                         ADDRESS ON FILE
ANA D FERNANDEZ CEDENO                   ADDRESS ON FILE
ANA D FERNANDEZ CEDENO                   ADDRESS ON FILE
ANA D FLORENCIANI VALENTIN               ADDRESS ON FILE
ANA D FORTY MORELL                       ADDRESS ON FILE
ANA D FRES                               ADDRESS ON FILE
ANA D GONZALEZ PEREZ                     ADDRESS ON FILE
ANA D GONZALEZ VEGA                      ADDRESS ON FILE
ANA D HERNANDEZ DE DAVILA                ADDRESS ON FILE
ANA D HERNANDEZ HERNANDEZ                ADDRESS ON FILE
ANA D HIRALDO FALERO                     ADDRESS ON FILE
ANA D IRIZARRY MORALES                   ADDRESS ON FILE
ANA D LAINO CEDENO                       ADDRESS ON FILE
ANA D LUCIANO RODRIGUEZ                  ADDRESS ON FILE
ANA D MONTANEZ MORALES                   ADDRESS ON FILE
ANA D MORA CRESPO                        ADDRESS ON FILE
ANA D NAZARIO CASIANO                    ADDRESS ON FILE
ANA D NIEVES VELEZ                       ADDRESS ON FILE
ANA D NUNEZ LOPEZ                        ADDRESS ON FILE
ANA D OTERO VEGA                         ADDRESS ON FILE
ANA D PERAZA GARCIA                      ADDRESS ON FILE
ANA D PIZARRO AN                         ADDRESS ON FILE
ANA D QUINTANA RIVERA                    ADDRESS ON FILE
ANA D RIVERA CALDERON                    ADDRESS ON FILE
ANA D RIVERA MUNIZ                       ADDRESS ON FILE
ANA D RIVERA ROSARIO                     ADDRESS ON FILE
ANA D RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
ANA D RODRIGUEZ MORALES                  ADDRESS ON FILE
ANA D RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
ANA D RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
ANA D RODRIGUEZ SORIA                    ADDRESS ON FILE
ANA D ROMAN VEGA                         ADDRESS ON FILE




                                                                                     Page 372 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 373 of 3500
                                                                                              Creditor Matrix

Creditor Name                  Address1                        Address2                                    Address3   Address4   City         State   PostalCode   Country
ANA D ROMERO SANTIAGO          ADDRESS ON FILE
ANA D ROQUE RODRIGUEZ          ADDRESS ON FILE
ANA D ROSA SANCHEZ             ADDRESS ON FILE
ANA D ROZADA SEIN              ADDRESS ON FILE
ANA D SANTIAGO MARTINEZ        ADDRESS ON FILE
ANA D SANTIAGO SANTIAGO        ADDRESS ON FILE
ANA D SANTOS GARCIA            ADDRESS ON FILE
ANA D SOSA VILLANUEVA          ADDRESS ON FILE
ANA D SOTO TROCHE              ADDRESS ON FILE
ANA D TAVERAS BURGOS           ADDRESS ON FILE
ANA D VELAZQUEZ HERNANDEZ      ADDRESS ON FILE
ANA D VIDAL LOPEZ              ADDRESS ON FILE
Ana D. Díaz Ayala              ADDRESS ON FILE
ANA D. MALDONADO MEDINA        LCDO.MARCELINO RUIZ CORUJO      101 Esteban Padilla ofic. 7                                       Bayamón      PR      00959
ANA D. MARTINEZ CINTRON        ADDRESS ON FILE
ANA D. ORTIZ SUAREZ            ADDRESS ON FILE
ANA D. PADILLA RIOS            ADDRESS ON FILE
ANA D. RIVERA CORTÉS           LCDO. RAFAEL E. SANTOS TOLEDO   PO BOX 13941                                                      SAN JUAN     PR      00908‐3941
ANA D. RIVERA SANTOS           ADDRESS ON FILE
ANA DAISY TORRES QUILES        ADDRESS ON FILE
ANA DAVID PEDROGO              ADDRESS ON FILE
ANA DE ARCE FLORES             ADDRESS ON FILE
ANA DE HOYOS PENA              ADDRESS ON FILE
ANA DE LEON SANCHEZ            ADDRESS ON FILE
ANA DEL CASTILLO SOTO          ADDRESS ON FILE
ANA DEL HOYO                   ADDRESS ON FILE
ANA DEL L NIEVES HERNANDEZ     ADDRESS ON FILE
ANA DEL TORO PADILLA           ADDRESS ON FILE
ANA DEL TORO RIVERA            ADDRESS ON FILE
ANA DEL VALLE HERNANDEZ        ADDRESS ON FILE
ANA DEL VALLE RODRIGUEZ        ADDRESS ON FILE
ANA DELIA DAVILA MORALES       ADDRESS ON FILE
ANA DELIA OLIVERO              ADDRESS ON FILE
ANA DELIA PEREZ MERCADO        ADDRESS ON FILE
ANA DELIA RAMOS RAMOS          ADDRESS ON FILE
ANA DELIA RIVERA SANTOS        ADDRESS ON FILE
ANA DELIA RODRIGUEZ OCANA      ADDRESS ON FILE
ANA DELIA ROSA GONZALEZ        ADDRESS ON FILE
ANA DELIA TUFINO DE JESUS      ADDRESS ON FILE
ANA DELIAS GARCIA NEGRON       ADDRESS ON FILE
ANA DIAZ GONZALEZ              ADDRESS ON FILE
ANA DIAZ PEREZ                 ADDRESS ON FILE
ANA DOMINGUEZ BALESTINA        ADDRESS ON FILE
ANA DONES TORRES               ADDRESS ON FILE
ANA DUVER DIAZ GONZALEZ        ADDRESS ON FILE
ANA E BETANCOURT SANTIAGO      ADDRESS ON FILE
ANA E BURGOS ROMULO GARCIA &   ADDRESS ON FILE
ANA E CANCEL TORRES            ADDRESS ON FILE
ANA E CARABALLO CARABALLO      ADDRESS ON FILE
ANA E CARO SEFGARRA            ADDRESS ON FILE
ANA E CASTILLO AVILES          ADDRESS ON FILE
ANA E CEDENO TORRES            ADDRESS ON FILE
ANA E DAVILA SEPULVEDA         ADDRESS ON FILE
ANA E DEL VALLE                ADDRESS ON FILE
ANA E FELIX CEBRERA            ADDRESS ON FILE
ANA E FERNANDEZ LASSALLE       ADDRESS ON FILE
ANA E FERNANDEZ PEREZ          ADDRESS ON FILE
ANA E FERNANDINI               ADDRESS ON FILE
ANA E GERENA ACEVEDO           ADDRESS ON FILE
ANA E GONZALEZ GONZALEZ        ADDRESS ON FILE




                                                                                             Page 373 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 374 of 3500
                                                                               Creditor Matrix

Creditor Name                Address1                           Address2                    Address3         Address4   City      State   PostalCode   Country
ANA E IRIZARRY ARROYO        ADDRESS ON FILE
ANA E LEBRON CARRION         ADDRESS ON FILE
ANA E MADERA MERCADO         ADDRESS ON FILE
ANA E MARQUEZ MORALES        ADDRESS ON FILE
ANA E MARRERO FUENTES        ADDRESS ON FILE
ANA E MUNOZ TAVAREZ          ADDRESS ON FILE
ANA E NADAL                  ADDRESS ON FILE
ANA E NIEVES SERRANO         ADDRESS ON FILE
ANA E NOLASCO PADILLA        ADDRESS ON FILE
ANA E NOLASCO PADILLA        ADDRESS ON FILE
ANA E PEREZ NIEVES           ADDRESS ON FILE
ANA E PEREZ RIVERA           ADDRESS ON FILE
ANA E QUIÐONES               ADDRESS ON FILE
ANA E QUINONES               ADDRESS ON FILE
ANA E REYES CAPPOBIANEO      ADDRESS ON FILE
ANA E REYES CAPPOBIANEO      ADDRESS ON FILE
ANA E RIVERA ABREU           ADDRESS ON FILE
ANA E ROBLES MALDONADO       ADDRESS ON FILE
ANA E RODRIGUEZ GONZALEZ     ADDRESS ON FILE
ANA E RODRIGUEZ QUINONEZ     ADDRESS ON FILE
ANA E ROLON OTERO            ADDRESS ON FILE
ANA E ROSADO SANTOS          ADDRESS ON FILE
ANA E TIRADO ORTIZ           ADDRESS ON FILE
ANA E TORRES ALGARIN         ADDRESS ON FILE
ANA E TORRES RAMIREZ         ADDRESS ON FILE
ANA E TORRES VELEZ           ADDRESS ON FILE
ANA E VILLANUEVA AYALA       ADDRESS ON FILE
ANA E YEJO QUINONES          ADDRESS ON FILE
ANA E YEJO QUINONES          ADDRESS ON FILE
ANA E. BELTRAN VELAZQUEZ     ADDRESS ON FILE
ANA E. CORTES PELLOT         ADDRESS ON FILE
ANA E. CRUZ LORENZO          ADDRESS ON FILE
ANA E. MEDINA SANCHEZ        ADDRESS ON FILE
ANA E. PEREZ HERNANDEZ       ADDRESS ON FILE
ANA E. RODRIGUEZ ALEJANDRO   ADDRESS ON FILE
ANA E. RODRIGUEZ DIAZ        ADDRESS ON FILE
ANA E. RODRIGUEZ MELENDEZ    ADDRESS ON FILE
ANA E. SANTOS MADERA         ADDRESS ON FILE
ANA E. SEPULVEDA BERRIOS     ADDRESS ON FILE
ANA E. SERRANO ROSARIO       ADDRESS ON FILE
ANA E. VELAZQUEZ FUENTES     ADDRESS ON FILE
ANA E.CASILLAS VELAZQUEZ     ADDRESS ON FILE
ANA ELIA CRUZ CRUZ           ADDRESS ON FILE
ANA ELSIE ACEVEDO DIAZ       ADDRESS ON FILE
ANA ENID SOSTRE MORALES      ADDRESS ON FILE
                                                                                            NUM. 2811 ESQ.
ANA ESTHER ALICEA COTTO      LCDO. MARCOS E. MARCUCCI SOBRADO   CALLE JOBOS                 MENDEZ VIGO                 PONCE     PR      00716
ANA ESTRADA MOLL             ADDRESS ON FILE
ANA F APONTE LOYO            ADDRESS ON FILE
ANA F MARRERO RODRIGUEZ      ADDRESS ON FILE
ANA F MOLINA MEDINA          ADDRESS ON FILE
ANA F QUIRINDONGO            ADDRESS ON FILE
ANA FATIMA PAGAN PAGAN       ADDRESS ON FILE
ANA FIGUEROA FILGUEIRA       ADDRESS ON FILE
ANA FISCHBACH NAZARIO        ADDRESS ON FILE
ANA FRANCES MOLINA MEDINA    ADDRESS ON FILE
ANA FRED QUILES              ADDRESS ON FILE
ANA G ABREU PENA             ADDRESS ON FILE
ANA G APONTE GARCIA          ADDRESS ON FILE
ANA G BEAUCHAMP IRIZARRY     ADDRESS ON FILE




                                                                              Page 374 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 375 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City           State   PostalCode   Country
ANA G BERRIOS DAVID                       ADDRESS ON FILE
ANA G CASTRO SANTIAGO                     ADDRESS ON FILE
ANA G CONCEPCION RUBIO                    ADDRESS ON FILE
ANA G DIAZ SOTO                           ADDRESS ON FILE
ANA G DUARTE URENA                        ADDRESS ON FILE
ANA G LLERA FABREGAS A/C RAFAEL A LLERA   ADDRESS ON FILE
ANA G MENDEZ ORTIZ                        ADDRESS ON FILE
ANA G MONTALVO E HIJOS INC                PO BOX 192                                                                       LAS MARIAS     PR      00670
ANA G OSORIO GUERRERO                     ADDRESS ON FILE
ANA G PINEIRO ALFARO                      ADDRESS ON FILE
ANA G RAMOS VALENTIN                      ADDRESS ON FILE
ANA G RIVERA                              ADDRESS ON FILE
ANA G RIVERA GAVINO                       ADDRESS ON FILE
ANA G RIVERA ROMAN                        ADDRESS ON FILE
ANA G SANCHEZ PABON                       ADDRESS ON FILE
ANA G SANCHEZ PABON                       ADDRESS ON FILE
ANA G TAVAREZ FERMIN                      ADDRESS ON FILE
ANA G TAVAREZ FERMIN                      ADDRESS ON FILE
ANA G VAZQUEZ DELGADO                     ADDRESS ON FILE
ANA G. BEAUSHAMP IRIZARRY                 ADDRESS ON FILE
ANA G. DEL VALLE RODRIGUEZ                ADDRESS ON FILE
ANA G. MENDEZ UNIVERSITY SYS              COLLECTIONS DEPARTMENT    PO BOX 21345                                           SAN JUAN       PR      00928
ANA G. RAMOS ORTIZ                        ADDRESS ON FILE
ANA G. RIVERA GAVINO                      ADDRESS ON FILE
ANA G. SANCHEZ PABON                      ADDRESS ON FILE
ANA G. SANCHEZ PABON                      ADDRESS ON FILE
ANA GARAYALDE PEREZ                       ADDRESS ON FILE
ANA GARCIA CRUZ                           ADDRESS ON FILE
ANA GARCIA DIAZ                           ADDRESS ON FILE
ANA GARCIA MONTALVO                       ADDRESS ON FILE
ANA GARCIA VELEZ                          ADDRESS ON FILE
ANA GERENA RIVERA                         ADDRESS ON FILE
ANA GLORIA RODRIGUEZ RIVERA               ADDRESS ON FILE
ANA GONZALEZ                              ADDRESS ON FILE
ANA GONZALEZ CANDELARIO                   ADDRESS ON FILE
ANA GONZALEZ DE LEON                      ADDRESS ON FILE
ANA GONZALEZ JUSINO                       ADDRESS ON FILE
ANA GONZALEZ NIEVES                       ADDRESS ON FILE
ANA GONZALEZ RIVERA                       ADDRESS ON FILE
ANA GUISAO GARCIA                         ADDRESS ON FILE
ANA GUTIERREZ MARTINEZ                    ADDRESS ON FILE
ANA H AGUILU ALVARADO                     ADDRESS ON FILE
ANA H ALVARADO RAMIREZ                    ADDRESS ON FILE
ANA H CORNIER ORENGO                      ADDRESS ON FILE
ANA H DIAZ MARRERO                        ADDRESS ON FILE
ANA H ECHEVARRIA VALENTIN                 ADDRESS ON FILE
ANA H FERREIRA CENTENO                    ADDRESS ON FILE
ANA H FERREIRA CENTENO                    ADDRESS ON FILE
ANA H FERRER CANALES                      ADDRESS ON FILE
ANA H HERNANDEZ TORRES                    ADDRESS ON FILE
ANA H JOURDAN MIRANDA                     ADDRESS ON FILE
ANA H LATORRE ROMAN                       ADDRESS ON FILE
ANA H MARIN JURADO                        ADDRESS ON FILE
ANA H MERCADO                             ADDRESS ON FILE
ANA H MUNIZ BORRERO                       ADDRESS ON FILE
ANA H OLMEDA MIRANDA                      ADDRESS ON FILE
ANA H OLMEDA MIRANDA                      ADDRESS ON FILE
ANA H ORTIZ COLLADO                       ADDRESS ON FILE
ANA H PEREZ NIEVES                        ADDRESS ON FILE
ANA H PINELA GUERRA                       ADDRESS ON FILE




                                                                                      Page 375 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 376 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA H PINERO MENDEZ                 ADDRESS ON FILE
ANA H RODRIGUEZ RIVERA              ADDRESS ON FILE
ANA H ROLDAN                        ADDRESS ON FILE
ANA H. ROSARIO OTERO                ADDRESS ON FILE
ANA HERNANDEZ DE LA CRUZ            ADDRESS ON FILE
ANA HERNANDEZ FIGUEROA              ADDRESS ON FILE
ANA HERNANDEZ JAVIER                ADDRESS ON FILE
ANA HERNANDEZ LAUREANO              ADDRESS ON FILE
ANA HERNANDEZ MAISONAVE             ADDRESS ON FILE
ANA HERNANDEZ TORRES                ADDRESS ON FILE
ANA HERNANDEZ Y MARIA REYES         ADDRESS ON FILE
ANA HILDA DE JESUS ROSARIO          ADDRESS ON FILE
ANA HILDA MOJICA TORRES             ADDRESS ON FILE
ANA HILDA OCASIO ORTIZ              ADDRESS ON FILE
ANA HILDA RAMIREZ ATANACIO          ADDRESS ON FILE
ANA HILDA RIVERA LOPEZ              ADDRESS ON FILE
ANA HILDA SERRANO ARROYO            ADDRESS ON FILE
ANA HILDA TOLEDO VELAZQUEZ          ADDRESS ON FILE
ANA HURTADO DE LOS SANTOS           ADDRESS ON FILE
ANA I ALVAREZ & ANTONIO RODRIGUEZ   ADDRESS ON FILE
ANA I ANZALOTA                      ADDRESS ON FILE
ANA I ASTACIO MENDEZ                ADDRESS ON FILE
ANA I BENITEZ ORTIZ                 ADDRESS ON FILE
ANA I BIRRIEL CARRASQUILLO          ADDRESS ON FILE
ANA I CAMACHO OLIVERO               ADDRESS ON FILE
ANA I CAMACHO OLIVERO               ADDRESS ON FILE
ANA I CASTANON CASTILLO             ADDRESS ON FILE
ANA I CASTRO COLON                  ADDRESS ON FILE
ANA I CASTRO HERNANDEZ              ADDRESS ON FILE
ANA I COLON RIVERA                  ADDRESS ON FILE
ANA I CONDE                         ADDRESS ON FILE
ANA I CURET OLIVERAS                ADDRESS ON FILE
ANA I GARCIA ALICEA                 ADDRESS ON FILE
ANA I GARCIA ROSARIO                ADDRESS ON FILE
ANA I GARCIA ROSARIO                ADDRESS ON FILE
ANA I GARCIA SUAREZ                 ADDRESS ON FILE
ANA I GOMEZ NIEVES                  ADDRESS ON FILE
ANA I GONZALEZ NUNCI                ADDRESS ON FILE
ANA I HERNANDEZ GRAULAU             ADDRESS ON FILE
ANA I LASALLE CONCEPCION            ADDRESS ON FILE
ANA I LEBRON COTTO                  ADDRESS ON FILE
ANA I LOPEZ ENCARNACION             ADDRESS ON FILE
ANA I LOPEZ TORRES                  ADDRESS ON FILE
ANA I LUGO TORRES                   ADDRESS ON FILE
ANA I MALDONADO MARTINEZ            ADDRESS ON FILE
ANA I MALDONADO PINERO              ADDRESS ON FILE
ANA I MANON PENA                    ADDRESS ON FILE
ANA I MARIN ESQUILIN                ADDRESS ON FILE
ANA I MATEO BURGOS                  ADDRESS ON FILE
ANA I MATIAS CARRION                ADDRESS ON FILE
ANA I MATIAS QUINONES               ADDRESS ON FILE
ANA I MELENDEZ COLLAZO              ADDRESS ON FILE
ANA I MUNOZ RODRIGUEZ               ADDRESS ON FILE
ANA I MUNOZ RODRIGUEZ               ADDRESS ON FILE
ANA I NEGRON VELEZ                  ADDRESS ON FILE
ANA I NUNEZ CANALES                 ADDRESS ON FILE
ANA I ORENGO ORTIZ                  ADDRESS ON FILE
ANA I ORTEGA COLLAZO                ADDRESS ON FILE
ANA I ORTEGA NEGRON                 ADDRESS ON FILE
ANA I ORTIZ ARCE                    ADDRESS ON FILE




                                                                                Page 376 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 377 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA I ORTIZ PAGAN                        ADDRESS ON FILE
ANA I OTERO CONCEPCION                   ADDRESS ON FILE
ANA I PADUA MEDINA                       ADDRESS ON FILE
ANA I PEREZ ACEVEDO                      ADDRESS ON FILE
ANA I PEREZ RIVERA                       ADDRESS ON FILE
ANA I PINA GONZALEZ                      ADDRESS ON FILE
ANA I REYES BERRIOS                      ADDRESS ON FILE
ANA I RIVERA APONTE                      ADDRESS ON FILE
ANA I RIVERA NIEVES                      ADDRESS ON FILE
ANA I RIVERA QUINONES                    ADDRESS ON FILE
ANA I RIVERA RIVERA                      ADDRESS ON FILE
ANA I RIVERA RODRIGUEZ                   ADDRESS ON FILE
ANA I RIVERA SERRANO                     ADDRESS ON FILE
ANA I RODRIGUEZ BENITEZ                  ADDRESS ON FILE
ANA I RODRIGUEZ CANUELAS                 ADDRESS ON FILE
ANA I RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
ANA I RODRIGUEZ MONTANEZ                 ADDRESS ON FILE
ANA I ROJAS ROMAN                        ADDRESS ON FILE
ANA I ROSARIO CASTANER                   ADDRESS ON FILE
ANA I SANCHEZ Y/O JULIO QUINTANA         ADDRESS ON FILE
ANA I SANTIAGO FONSECA                   ADDRESS ON FILE
ANA I SANTIAGO TOSADO DBA LERELE MUSIC   & DANCE ACADEMY           PO BOX 664                                             DORADO       PR      00646
ANA I SUERO OGANDO                       ADDRESS ON FILE
ANA I TORRES CORREA                      ADDRESS ON FILE
ANA I TORRES MENDEZ                      ADDRESS ON FILE
ANA I TREVINO MERCADO                    ADDRESS ON FILE
ANA I VAZQUEZ FIGUEROA                   ADDRESS ON FILE
ANA I VAZQUEZ MUNIZ                      ADDRESS ON FILE
ANA I. ALVARADO SANTOS                   ADDRESS ON FILE
ANA I. BERMUDEZ TRINIDAD                 ADDRESS ON FILE
ANA I. CAMACHO OLIVERO                   ADDRESS ON FILE
ANA I. FIGUEROA COLON                    ADDRESS ON FILE
ANA I. FLORES ADORNO                     ADDRESS ON FILE
ANA I. HERRERO AVILLAN                   ADDRESS ON FILE
ANA I. LINARES FUENTES                   ADDRESS ON FILE
ANA I. LOZADA ROMAN                      ADDRESS ON FILE
ANA I. MALDONADO PINERO                  ADDRESS ON FILE
ANA I. NEGRON PEREZ                      ADDRESS ON FILE
ANA I. PELLOT REYES                      ADDRESS ON FILE
ANA I. RODRIGUEZ BENITEZ                 ADDRESS ON FILE
ANA I. TIRADO FIGUEROA                   ADDRESS ON FILE
ANA I. VELAZQUEZ PINERO                  ADDRESS ON FILE
ANA I. VELAZQUEZ PINERO                  ADDRESS ON FILE
ANA I. VELAZQUEZ PINERO                  ADDRESS ON FILE
ANA I. VELEZ CASTRO                      ADDRESS ON FILE
ANA IDA PEREZ RAMIREZ                    ADDRESS ON FILE
ANA INES CRUZ ORTIZ                      ADDRESS ON FILE
ANA INES SANTIAGO APONTE                 ADDRESS ON FILE
ANA INES SANTIAGO APONTE                 ADDRESS ON FILE
ANA INES SANTIAGO APONTE                 ADDRESS ON FILE
ANA IRIS BETANCOURT OCASIO               ADDRESS ON FILE
ANA IRIS DENIS DIAZ                      ADDRESS ON FILE
ANA IRIS FLORES NIEVES                   ADDRESS ON FILE
ANA IRIS RIVAS ROSADO                    ADDRESS ON FILE
ANA IRIS SANCHEZ AMARO                   ADDRESS ON FILE
ANA IRIS SOTO QUINONES                   ADDRESS ON FILE
ANA IRIS VECCHINI ORZONA                 ADDRESS ON FILE
ANA IRIZARRY / FELIX IRIZARRY /          ADDRESS ON FILE
ANA IRMA VILA DAVILA                     ADDRESS ON FILE
ANA ISABEL BOURASSEAU ALVAREZ            ADDRESS ON FILE




                                                                                     Page 377 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 378 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA ISACHA MARIN CASTRO                  ADDRESS ON FILE
ANA ISACHA MARIN CASTRO                  ADDRESS ON FILE
ANA IVELISSE FELICIANO                   ADDRESS ON FILE
ANA IVETTE FIGUEROA COLON                ADDRESS ON FILE
ANA IVETTE MELENDEZ COLLAZO              ADDRESS ON FILE
ANA IVETTE MUNIZ BATISTA                 ADDRESS ON FILE
ANA IXA MALDONADO MARTINEZ               ADDRESS ON FILE
ANA J ANDRADES                           ADDRESS ON FILE
ANA J COLON FALCON                       ADDRESS ON FILE
ANA J COLON GONZALEZ                     ADDRESS ON FILE
ANA J FIGUEROA MELENDEZ                  ADDRESS ON FILE
ANA J LEON OTERO                         ADDRESS ON FILE
ANA J MUNOZ DIAZ                         ADDRESS ON FILE
ANA J OTERO FORTI                        ADDRESS ON FILE
ANA J PADILLA PADILLA                    ADDRESS ON FILE
ANA J SANCHEZ BRUNO                      ADDRESS ON FILE
ANA J SANTIAGO GORRITZ                   ADDRESS ON FILE
ANA J. AGOSTO DUMAS                      ADDRESS ON FILE
ANA J. GONZALEZ TORRES                   ADDRESS ON FILE
ANA J. HERNANDEZ BERRIOS                 ADDRESS ON FILE
ANA J. TORRES ALVARADO                   ADDRESS ON FILE
ANA JIMENEZ GONZALEZ                     ADDRESS ON FILE
ANA JOSEFINA BERNIER MUNOZ               ADDRESS ON FILE
ANA JOSEFINA SMITH                       ADDRESS ON FILE
ANA JUARBE POL                           ADDRESS ON FILE
ANA KATTY LOPEZ QUINTERO                 ADDRESS ON FILE
ANA KUILLAN VINALES                      ADDRESS ON FILE
ANA L ACEVEDO ONEILL                     ADDRESS ON FILE
ANA L AGRON RODRIGUEZ                    ADDRESS ON FILE
ANA L ALEJANDRO HERNANDEZ                ADDRESS ON FILE
ANA L ALEJANDRO HERNANDEZ                ADDRESS ON FILE
ANA L ALICEA ESPINOSA                    ADDRESS ON FILE
ANA L ALVAREZ GARCIA                     ADDRESS ON FILE
ANA L AMARO MORALES                      ADDRESS ON FILE
ANA L AMARO MORALES                      ADDRESS ON FILE
ANA L AMARO VAZQUEZ                      ADDRESS ON FILE
ANA L ARROYO DIAZ                        ADDRESS ON FILE
ANA L ARROYO VERA                        ADDRESS ON FILE
ANA L BAEZ ALVARADO                      ADDRESS ON FILE
ANA L BATIZ VARGAS                       ADDRESS ON FILE
ANA L BELLIDO RIVERA                     ADDRESS ON FILE
ANA L CAMACHO IRIZARRY                   ADDRESS ON FILE
ANA L CANCEL LAGUNA                      ADDRESS ON FILE
ANA L CARABALLO CINTRON                  ADDRESS ON FILE
ANA L COLON ROCHE                        ADDRESS ON FILE
ANA L COLON SANCHEZ                      ADDRESS ON FILE
ANA L CORCHADO / CCD LOS PINOS‐CONSORCIO ADDRESS ON FILE
ANA L CORDERO ALICEA                     ADDRESS ON FILE
ANA L CORDERO ALICEA                     ADDRESS ON FILE
ANA L CORREA RODRÍGUEZ                   ADDRESS ON FILE
ANA L CRESPO MORALES                     ADDRESS ON FILE
ANA L DAVILA MORALES                     ADDRESS ON FILE
ANA L DE JESUS                           ADDRESS ON FILE
ANA L DE JESUS ORTIZ                     ADDRESS ON FILE
ANA L DE JESUS ROMERO                    ADDRESS ON FILE
ANA L DE LEON ALVARADO                   ADDRESS ON FILE
ANA L DEL RIO LOPEZ                      ADDRESS ON FILE
ANA L DIAZ MARTINEZ                      ADDRESS ON FILE
ANA L DUQUE GARCIA                       ADDRESS ON FILE
ANA L EMMANUEL RIVERA                    ADDRESS ON FILE




                                                                                     Page 378 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 379 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA L FEBRES ENCARNACION                ADDRESS ON FILE
ANA L FEBUS TORRES                      ADDRESS ON FILE
ANA L FIGUEROA RODRIGUEZ                ADDRESS ON FILE
ANA L FIGUEROA ROSARIO                  ADDRESS ON FILE
ANA L FIGUEROA ROSARIO                  ADDRESS ON FILE
ANA L FREIRE FIGUEROA                   ADDRESS ON FILE
ANA L GONZALEZ ECHEVARRIA               ADDRESS ON FILE
ANA L GONZALEZ NUNEZ                    ADDRESS ON FILE
ANA L GONZALEZ PEREZ                    ADDRESS ON FILE
ANA L GONZALEZ PEREZ                    ADDRESS ON FILE
ANA L GUADALUPE SANTIAGO                ADDRESS ON FILE
ANA L HERNANDEZ HERNANDEZ               ADDRESS ON FILE
ANA L IRIZARRY MARTORELL                ADDRESS ON FILE
ANA L JIMENEZ GONZALEZ                  ADDRESS ON FILE
ANA L LLANN SANJURJO                    ADDRESS ON FILE
ANA L LORNAD IRIZARRY                   ADDRESS ON FILE
ANA L LUNA RIOS                         ADDRESS ON FILE
ANA L LUNA RIOS                         ADDRESS ON FILE
ANA L MATOS RIVERA                      ADDRESS ON FILE
ANA L MENDEZ CONCEPCION                 ADDRESS ON FILE
ANA L MERCADO BORRERO                   ADDRESS ON FILE
ANA L MIRANDA ORTIZ                     ADDRESS ON FILE
ANA L MONTIJO                           ADDRESS ON FILE
ANA L MUÐOZ BERMUDEZ                    ADDRESS ON FILE
ANA L MUNOZ BERMUDEZ                    ADDRESS ON FILE
ANA L NAVARRO ROSARIO                   ADDRESS ON FILE
ANA L NIEVES BAEZ                       ADDRESS ON FILE
ANA L NOVOA CENTENO                     ADDRESS ON FILE
ANA L OLAVARRIA AYALA                   ADDRESS ON FILE
ANA L ORTIZ MARTINEZ                    ADDRESS ON FILE
ANA L ORTIZ MONTANEZ                    ADDRESS ON FILE
ANA L ORTIZ VELEZ                       ADDRESS ON FILE
ANA L PENA JIMENEZ                      ADDRESS ON FILE
ANA L PENA PORTILLO                     ADDRESS ON FILE
ANA L PEREZ ALTIERI                     ADDRESS ON FILE
ANA L PEREZ QUINTANA                    ADDRESS ON FILE
ANA L POVENTUD SUAREZ                   ADDRESS ON FILE
ANA L QUINONEZ MONTANEZ                 ADDRESS ON FILE
ANA L QUINONEZ SUD                      ADDRESS ON FILE
ANA L RAMOS COTTO                       ADDRESS ON FILE
ANA L RAMOS COTTO                       ADDRESS ON FILE
ANA L RAMOS GONZALEZ                    ADDRESS ON FILE
ANA L RIOS /OMARYS ZAYAS/ BRYAN ZAYAS   ADDRESS ON FILE
ANA L RIVERA                            ADDRESS ON FILE
ANA L RIVERA LOPEZ                      ADDRESS ON FILE
ANA L RIVERA LUPIANEZ                   ADDRESS ON FILE
ANA L RIVERA MENENDEZ                   ADDRESS ON FILE
ANA L RIVERA RAMOS                      ADDRESS ON FILE
ANA L RIVERA SANTIAGO                   ADDRESS ON FILE
ANA L RIVERO ITURREGUI                  ADDRESS ON FILE
ANA L ROBLES ALAGO                      ADDRESS ON FILE
ANA L RODRIGUEZ DELGADO                 ADDRESS ON FILE
ANA L RODRIGUEZ MARTINEZ                ADDRESS ON FILE
ANA L RODRIGUEZ PENA                    ADDRESS ON FILE
ANA L RODRIGUEZ QUILES                  ADDRESS ON FILE
ANA L RODRIGUEZ RIVERA                  ADDRESS ON FILE
ANA L RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
ANA L ROMAN ROSARIO                     ADDRESS ON FILE
ANA L RUIZ FLORES                       ADDRESS ON FILE
ANA L RUIZ RODRIGUEZ                    ADDRESS ON FILE




                                                                                    Page 379 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 380 of 3500
                                                                                  Creditor Matrix

Creditor Name                       Address1                      Address2                     Address3   Address4   City         State   PostalCode   Country
ANA L SALAS ORTIZ                   ADDRESS ON FILE
ANA L SANCHEZ SANTIAGO              ADDRESS ON FILE
ANA L SANTANA CABRERA               ADDRESS ON FILE
ANA L SANTIAGI RIVERA               ADDRESS ON FILE
ANA L SANTIAGO ACOSTA               ADDRESS ON FILE
ANA L SANTIAGO PERALES              ADDRESS ON FILE
ANA L SANTIAGO RODRIGUEZ            ADDRESS ON FILE
ANA L SANTIAGO SEMIDEY              ADDRESS ON FILE
ANA L SEGARRA ALMESTICA             ADDRESS ON FILE
ANA L TOLEDO DAVILA                 ADDRESS ON FILE
ANA L TORRES                        ADDRESS ON FILE
ANA L TORRES PEREZ                  ADDRESS ON FILE
ANA L TORRES RIVERA                 ADDRESS ON FILE
ANA L TORRES VEGA                   ADDRESS ON FILE
ANA L UBILES FIGUEROA               ADDRESS ON FILE
ANA L VEGA NIEVES                   ADDRESS ON FILE
ANA L VEGA RUIZ                     ADDRESS ON FILE
ANA L VELAZQUEZ GONZALEZ            ADDRESS ON FILE
ANA L VERA PEREZ                    ADDRESS ON FILE
ANA L VERA VELEZ                    ADDRESS ON FILE
ANA L WILSON QUINONES               ADDRESS ON FILE
Ana L. Amador Vivas                 ADDRESS ON FILE
ANA L. AYALA LA TORRE               ADDRESS ON FILE
ANA L. BELTRAN CRISOSTOMO           ADDRESS ON FILE
ANA L. CLAUDIO GARCIA               ADDRESS ON FILE
Ana L. Cruz Rios                    ADDRESS ON FILE
Ana L. Cruz Rios                    ADDRESS ON FILE
ANA L. DONES PABELLON               ADDRESS ON FILE
ANA L. GARCIA CARRASQUILLO          ADDRESS ON FILE
ANA L. GONZALEZ FIGUEROA            ADDRESS ON FILE
ANA L. LUGO RIVERA                  ADDRESS ON FILE
ANA L. MARTINEZ TRINIDAD            ADDRESS ON FILE
ANA L. MORALES MALDONADO            ADDRESS ON FILE
ANA L. NEGRON RIVERA                ADDRESS ON FILE
ANA L. PRIETO REVERON               ADDRESS ON FILE
ANA L. QUIÑONES FLORES              LCDO. GUILLERMO RAMOS LUIÑA   PO BOX 22763                 UPR        STATION    SAN JUAN     PR      00931‐2763
ANA L. QUINONEZ MONTANEZ            ADDRESS ON FILE
ANA L. RODRIGUEZ PENA               ADDRESS ON FILE
ANA L. SANTIAGO MATEO               ADDRESS ON FILE
ANA L. TORRES PARRILLA              ADDRESS ON FILE
ANA LABORDE BAQUERO                 ADDRESS ON FILE
ANA LANZOT NAVARRO                  ADDRESS ON FILE
ANA LARREGUI                        ADDRESS ON FILE
ANA LAURA SANTIAGO PEREZ            ADDRESS ON FILE
ANA LETICIA MULERO PORTELA          ADDRESS ON FILE
ANA LIDIA GONZALEZ                  ADDRESS ON FILE
ANA LIZ DE ALBA TORRES              ADDRESS ON FILE
ANA LOGRONO PICHARDO                ADDRESS ON FILE
ANA LOGRONO Y ACADEMIA DEL PARQUE   ADDRESS ON FILE
ANA LOGRONO Y ACADEMIA DEL PARQUE   ADDRESS ON FILE
ANA LOPEZ BURGOS                    ADDRESS ON FILE
ANA LOPEZ COLLAZO                   ADDRESS ON FILE
ANA LOPEZ FELICIANO                 ADDRESS ON FILE
ANA LOPEZ FIGUEROA                  ADDRESS ON FILE
ANA LOPEZ PEREZ                     ADDRESS ON FILE
ANA LOPEZ REYES                     ADDRESS ON FILE
ANA LOPEZ SANCHEZ                   ADDRESS ON FILE
ANA LOSADA SANTANA                  ADDRESS ON FILE
ANA LUGO CARABALLO                  ADDRESS ON FILE
ANA LUISA ALVARADO ALVARADO         ADDRESS ON FILE




                                                                                 Page 380 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 381 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA LUISA CASTRODAD DIAZ     ADDRESS ON FILE
ANA LUISA CASTRODAD DIAZ     ADDRESS ON FILE
ANA LUISA GARCIA BELTRAN     ADDRESS ON FILE
ANA LUISA NUNEZ MARTINEZ     ADDRESS ON FILE
ANA LUISA PENA PAYAMPS       ADDRESS ON FILE
ANA LYDIA CARMONA BONILLA    ADDRESS ON FILE
ANA LYDIA RIVERA ANDRADES    ADDRESS ON FILE
ANA LYDIA SANTIAGO BONILLA   ADDRESS ON FILE
ANA LYDIA SANTIAGO RIVERA    ADDRESS ON FILE
ANA M ABREU DELGADO          ADDRESS ON FILE
ANA M ACEVEDO JIMENEZ        ADDRESS ON FILE
ANA M AGOSTO DE JESUS        ADDRESS ON FILE
ANA M AGOSTO GONZALEZ        ADDRESS ON FILE
ANA M AGOSTO NIEVES          ADDRESS ON FILE
ANA M ALICEA FIGUEROA        ADDRESS ON FILE
ANA M ALICEA ORTIZ           ADDRESS ON FILE
ANA M ALVARADO DIAZ          ADDRESS ON FILE
ANA M AMARO LABOY            ADDRESS ON FILE
ANA M ANDINO ARELLANO        ADDRESS ON FILE
ANA M APONTE COLLAZO         ADDRESS ON FILE
ANA M AVILES TREVINO         ADDRESS ON FILE
ANA M BADILLO MENDEZ         ADDRESS ON FILE
ANA M BARCELO SURIA          ADDRESS ON FILE
ANA M BASORA CRUZ            ADDRESS ON FILE
ANA M BAUZA TELLADO          ADDRESS ON FILE
ANA M BELLO CAMACHO          ADDRESS ON FILE
ANA M BELLO CAMACHO          ADDRESS ON FILE
ANA M BENITEZ COLLAZO        ADDRESS ON FILE
ANA M BENITEZ RODRIGUEZ      ADDRESS ON FILE
ANA M BIRD PICO              ADDRESS ON FILE
ANA M BORGES RIVERA          ADDRESS ON FILE
ANA M BORRERO MELENDEZ       ADDRESS ON FILE
ANA M CABAN CORREA           ADDRESS ON FILE
ANA M CALVO SANTIAGO         ADDRESS ON FILE
ANA M CAMPOS GAVITO          ADDRESS ON FILE
ANA M CAMPOS GAVITO          ADDRESS ON FILE
ANA M CANCEL FUENTES         ADDRESS ON FILE
ANA M CANDELARIO FIGUEROA    ADDRESS ON FILE
ANA M CARRERAS CASTRO        ADDRESS ON FILE
ANA M CASTRO ABREU           ADDRESS ON FILE
ANA M CASTRO SOLIS           ADDRESS ON FILE
ANA M CEDENO CARABALLO       ADDRESS ON FILE
ANA M CINTRON POU            ADDRESS ON FILE
ANA M COLLAZO FLORES         ADDRESS ON FILE
ANA M COLON DE JESUS         ADDRESS ON FILE
ANA M COLON ROSA             ADDRESS ON FILE
ANA M CORTES CABA            ADDRESS ON FILE
ANA M CRISTOBAL CASTILLO     ADDRESS ON FILE
ANA M CROSBY FERRER          ADDRESS ON FILE
ANA M CRUZ MORALEZ           ADDRESS ON FILE
ANA M CRUZ NEGRON            ADDRESS ON FILE
ANA M CRUZ QUINONES          ADDRESS ON FILE
ANA M DAIVLA DE LUCIANO      ADDRESS ON FILE
ANA M DE JUSUS BURGOS        ADDRESS ON FILE
ANA M DE LA ROSA COSTE       ADDRESS ON FILE
ANA M DE LA TORRE            ADDRESS ON FILE
ANA M DE PEDRO MIRELES       ADDRESS ON FILE
ANA M DIAZ AMADOR            ADDRESS ON FILE
ANA M DONES                  ADDRESS ON FILE
ANA M DUENO JONDAN           ADDRESS ON FILE




                                                                         Page 381 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 382 of 3500
                                                                                             Creditor Matrix

Creditor Name                      Address1                        Address2                               Address3               Address4   City         State   PostalCode   Country
ANA M DUENO RODRIGUEZ              ADDRESS ON FILE
ANA M ENRIQUEZ BONET               ADDRESS ON FILE
ANA M ESPADA BERNARDI              ADDRESS ON FILE
ANA M ESQUILIN VELEZ               ADDRESS ON FILE
ANA M FARIA JOVE                   ADDRESS ON FILE
ANA M FELICIANO ROSADO             ADDRESS ON FILE
ANA M FERNANDEZ CUENCO             ADDRESS ON FILE
ANA M FERNANDEZ MARIN              ADDRESS ON FILE
ANA M FIGUEROA ALERS               ADDRESS ON FILE
ANA M FIGUEROA DAVILA              ADDRESS ON FILE
ANA M FIGUEROA ORTIZ               ADDRESS ON FILE
ANA M FIGUEROA ORTIZ               ADDRESS ON FILE
ANA M FLORES                       ADDRESS ON FILE
ANA M FLORES REYES                 ADDRESS ON FILE
ANA M FONTANEZ MENDEZ              ADDRESS ON FILE
ANA M FRAGUADA VIALIZ              ADDRESS ON FILE
ANA M FRANCO RODRIGUEZ             ADDRESS ON FILE
ANA M GERENA RIVERA                ADDRESS ON FILE
ANA M GONZALEZ GONZALEZ            ADDRESS ON FILE
ANA M GONZALEZ LEDESMA             ADDRESS ON FILE
ANA M GONZALEZ LEDESMA             ADDRESS ON FILE
ANA M GONZALEZ NAVEDO              ADDRESS ON FILE
ANA M GONZALEZ NEGRON              ADDRESS ON FILE
ANA M GONZALEZ RODRIGUEZ           ADDRESS ON FILE
ANA M GONZALEZ VEGA                ADDRESS ON FILE
ANA M GONZALEZ/ GLENN O GONZALEZ   ADDRESS ON FILE
ANA M GREEN SANCHEZ                ADDRESS ON FILE
ANA M GUZMAN CASTANER              ADDRESS ON FILE
ANA M HERNANDEZ                    ADDRESS ON FILE
ANA M HERNANDEZ CARIðO             ADDRESS ON FILE
ANA M HERNANDEZ CARINO             ADDRESS ON FILE
ANA M HERNANDEZ CARINO             ADDRESS ON FILE
ANA M HERNANDEZ COLON              ADDRESS ON FILE
ANA M HERNANDEZ CUADRADO           ADDRESS ON FILE
ANA M HERNANDEZ SANTOS             ADDRESS ON FILE
ANA M HILERIO CRUZ                 ADDRESS ON FILE
ANA M HUBBARD                      ADDRESS ON FILE
                                                                                                          PSC 16 CARRETERA 199
ANA M ILARRAZA CRUZ                BUFETE ALDARONDO & LÓPEZ BRAS   ALDARONDO & LÓPEZ BRAS                 SUITE 400                         GUAYNABO     PR      00969
ANA M INDIO RIVERA                 ADDRESS ON FILE
ANA M IRIZARRY NUNEZ               ADDRESS ON FILE
ANA M JIMENEZ VARGAS               ADDRESS ON FILE
ANA M LAFONTAINE AVILES            ADDRESS ON FILE
ANA M LAGO REYES                   ADDRESS ON FILE
ANA M LATORRE ECHEANDIA            ADDRESS ON FILE
ANA M LEAL GAMBA                   ADDRESS ON FILE
ANA M LEAL GAMBA                   ADDRESS ON FILE
ANA M LEBRON CRUZ                  ADDRESS ON FILE
ANA M LLORENS QUINONES             ADDRESS ON FILE
ANA M LUGO COTTO                   ADDRESS ON FILE
ANA M LUQUIS CARMONA               ADDRESS ON FILE
ANA M MACHADO MIELES               ADDRESS ON FILE
ANA M MADRIGAL GARCIA              ADDRESS ON FILE
ANA M MAIER DE MERCADO             ADDRESS ON FILE
ANA M MAISONET ROSARIO             ADDRESS ON FILE
ANA M MALDONADO PENA               ADDRESS ON FILE
ANA M MARGARIDA JULIA              ADDRESS ON FILE
ANA M MARRERO                      ADDRESS ON FILE
ANA M MARTE MARTINEZ               ADDRESS ON FILE
ANA M MARTINEZ GONZAGA             ADDRESS ON FILE




                                                                                            Page 382 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 383 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA M MARTINEZ HERNANDEZ        ADDRESS ON FILE
ANA M MARTINEZ MUNOZ            ADDRESS ON FILE
ANA M MARTINEZ RIVERA           ADDRESS ON FILE
ANA M MARTINEZ SANTANA          ADDRESS ON FILE
ANA M MARTIR VADELL             ADDRESS ON FILE
ANA M MEDINA PIZARRO            ADDRESS ON FILE
ANA M MELENDEZ VELEZ            ADDRESS ON FILE
ANA M MENDEZ                    ADDRESS ON FILE
ANA M MENDEZ /LUIS G GONZALEZ   ADDRESS ON FILE
ANA M MERCADO HERNANDEZ         ADDRESS ON FILE
ANA M MOJENA ZAPICO             ADDRESS ON FILE
ANA M MOJICA PEDRASA            ADDRESS ON FILE
ANA M MOLINA JORDAN             ADDRESS ON FILE
ANA M MOLINARI FONTANEZ         ADDRESS ON FILE
ANA M MOLINARI FONTANEZ         ADDRESS ON FILE
ANA M MONZON MARIN              ADDRESS ON FILE
ANA M MORALES GONZALEZ          ADDRESS ON FILE
ANA M MORALES GONZALEZ          ADDRESS ON FILE
ANA M MORALES SANTANA           ADDRESS ON FILE
ANA M MOUX ROBLES               ADDRESS ON FILE
ANA M MOUX ROBLES               ADDRESS ON FILE
ANA M MUNET LOPEZ               ADDRESS ON FILE
ANA M MUNIZ / RAMON RAMOS       ADDRESS ON FILE
ANA M NAREDO Y FABIO M PINEDA   ADDRESS ON FILE
ANA M NAVARRO PIZARRO           ADDRESS ON FILE
ANA M NEGRON CABAN              ADDRESS ON FILE
ANA M NEGRON SANTIAGO           ADDRESS ON FILE
ANA M NUNEZ RODRIGUEZ           ADDRESS ON FILE
ANA M OLMEDA SENA               ADDRESS ON FILE
ANA M ONETH RODRÍGUEZ           ADDRESS ON FILE
ANA M ORTEGA BERRIOS            ADDRESS ON FILE
ANA M ORTIZ BURGOS              ADDRESS ON FILE
ANA M ORTIZ FELICIANO           ADDRESS ON FILE
ANA M ORTIZ FERNANDEZ           ADDRESS ON FILE
ANA M OTERO PEREZ               ADDRESS ON FILE
ANA M OYOLA CONCEPCION          ADDRESS ON FILE
ANA M PADILLA RODRIGUEZ         ADDRESS ON FILE
ANA M PENIZA DAVILA             ADDRESS ON FILE
ANA M PEREZ HARTMANN            ADDRESS ON FILE
ANA M PEREZ NIEVES              ADDRESS ON FILE
ANA M PINTO ORTIZ               ADDRESS ON FILE
ANA M PLA RODRIGUEZ             ADDRESS ON FILE
ANA M PUIG SEGARRA              ADDRESS ON FILE
ANA M QUINONES TRINIDAD         ADDRESS ON FILE
ANA M QUINONEZ CARDONA          ADDRESS ON FILE
ANA M QUINONEZ SANCHEZ          ADDRESS ON FILE
ANA M QUINTANA VARGAS           ADDRESS ON FILE
ANA M RAMOS VAZQUEZ             ADDRESS ON FILE
ANA M RESTO GARCIA              ADDRESS ON FILE
ANA M REYES CARRION             ADDRESS ON FILE
ANA M REYES VALLE               ADDRESS ON FILE
ANA M RIVERA OLIVERA            ADDRESS ON FILE
ANA M RIVERA ROSA               ADDRESS ON FILE
ANA M RIVERA SOLIVAN            ADDRESS ON FILE
ANA M RIVERA VINCENTI           ADDRESS ON FILE
ANA M RIVERA WOOD               ADDRESS ON FILE
ANA M ROBLES JAVIER             ADDRESS ON FILE
ANA M ROBLES JAVIER             ADDRESS ON FILE
ANA M ROBLES ROSA               ADDRESS ON FILE
ANA M ROCA MATTEI               ADDRESS ON FILE




                                                                            Page 383 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 384 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA M ROCA RODRIGUEZ          ADDRESS ON FILE
ANA M ROCA RODRIGUEZ          ADDRESS ON FILE
ANA M RODRIGUEZ CABAN         ADDRESS ON FILE
ANA M RODRIGUEZ LUGO          ADDRESS ON FILE
ANA M RODRIGUEZ MARTIS        ADDRESS ON FILE
ANA M RODRIGUEZ OCASIO        ADDRESS ON FILE
ANA M RODRIGUEZ RODRIGUEZ     ADDRESS ON FILE
ANA M RODRIGUEZ SERRANO       ADDRESS ON FILE
ANA M RODRIGUEZ SOLDEVILA     ADDRESS ON FILE
ANA M RODRIGUEZ VIRELLA       ADDRESS ON FILE
ANA M ROJAS SOLA              ADDRESS ON FILE
ANA M ROLDAN ORTIZ            ADDRESS ON FILE
ANA M ROMAN ALAMO             ADDRESS ON FILE
ANA M ROMAN ALAMO             ADDRESS ON FILE
ANA M ROMERO COLON            ADDRESS ON FILE
ANA M ROMERO DONES            ADDRESS ON FILE
ANA M ROSARIO PADILLA         ADDRESS ON FILE
ANA M RUIZ QUINONEZ           ADDRESS ON FILE
ANA M SANCHEZ GONZALEZ        ADDRESS ON FILE
ANA M SANCHEZ GONZALEZ        ADDRESS ON FILE
ANA M SANCHEZ PIZARRO         ADDRESS ON FILE
ANA M SANTANA RIVERA          ADDRESS ON FILE
ANA M SANTANA RIVERA          ADDRESS ON FILE
ANA M SANTIAGO DE JESUS       ADDRESS ON FILE
ANA M SANTIAGO MUNOZ          ADDRESS ON FILE
ANA M SANTOS SANTI            ADDRESS ON FILE
ANA M SASSO COLON             ADDRESS ON FILE
ANA M SILVA TORRES            ADDRESS ON FILE
ANA M SOTO MUNIZ              ADDRESS ON FILE
ANA M TEJADA PAULINO          ADDRESS ON FILE
ANA M TORRA SARMIENTO         ADDRESS ON FILE
ANA M TORRES BURGOS           ADDRESS ON FILE
ANA M TORRES REYES            ADDRESS ON FILE
ANA M TORRES RIVERA           ADDRESS ON FILE
ANA M TORRES RODRIGUEZ        ADDRESS ON FILE
ANA M TORRES VAZQUEZ          ADDRESS ON FILE
ANA M VARGAS COLON            ADDRESS ON FILE
ANA M VARGAS FERNANDEZ        ADDRESS ON FILE
ANA M VAZQUEZ GUILFU          ADDRESS ON FILE
ANA M VAZQUEZ MALDONADO       ADDRESS ON FILE
ANA M VAZQUEZ TORRES          ADDRESS ON FILE
ANA M VELEZ CRUZ              ADDRESS ON FILE
ANA M VELEZ PAGAN             ADDRESS ON FILE
ANA M VIDAL CERRA             ADDRESS ON FILE
ANA M VIEJO MERINO            ADDRESS ON FILE
ANA M VILLALI BAEZ            ADDRESS ON FILE
ANA M VILLANUEVA VELEZ        ADDRESS ON FILE
ANA M WILTZ GENOVA            ADDRESS ON FILE
ANA M YANES BOSCH             ADDRESS ON FILE
ANA M. ABREU DELGADO          ADDRESS ON FILE
ANA M. ADORNO PANTOJAS        ADDRESS ON FILE
ANA M. ALLENDE TAPIA          ADDRESS ON FILE
ANA M. ANDRADES MACHUCA       ADDRESS ON FILE
ANA M. BRACERO CARABALLO      ADDRESS ON FILE
ANA M. CARMONA TORRES         ADDRESS ON FILE
ANA M. CARRASQUILLO MORALES   ADDRESS ON FILE
ANA M. CHEVERE RIVERA         ADDRESS ON FILE
ANA M. COLLAZO DIAZ           ADDRESS ON FILE
Ana M. David                  ADDRESS ON FILE
ANA M. DELGADO DIAZ           ADDRESS ON FILE




                                                                          Page 384 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 385 of 3500
                                                                                    Creditor Matrix

Creditor Name                  Address1                      Address2                            Address3      Address4   City              State   PostalCode   Country
ANA M. DIAZ DE JESUS           ADDRESS ON FILE
ANA M. FACHADO CARVAJALES      ADDRESS ON FILE
ANA M. FERNANDEZ PABON         ADDRESS ON FILE
ANA M. FERNANDEZ PABON         ADDRESS ON FILE
ANA M. FLORES CUADRADO         SRA. ANA M. FLORES CUADRADO   URB. RINCÓN ESPAÑOL                 CALLE 7 G‐3              TRUJILLO ALTO     PR      00976
ANA M. GARCIA NIEVES           ADDRESS ON FILE
ANA M. GONZALEZ NAVEDO         ADDRESS ON FILE
ANA M. LOZADA AYALA            ADDRESS ON FILE
ANA M. LOZADA DOMINGUEZ        ADDRESS ON FILE
ANA M. MADRIGAL GARCIA         ADDRESS ON FILE
ANA M. MARTINEZ ELIAS          ADDRESS ON FILE
ANA M. MATOS RODRUGUEZ         ADDRESS ON FILE
ANA M. MORALES CORREA          ADDRESS ON FILE
ANA M. MORALES MAYOL           ADDRESS ON FILE
ANA M. NAZARIO LOPEZ           ADDRESS ON FILE
ANA M. NIEVES FRANCO           ADDRESS ON FILE
ANA M. NIEVES FRANCO           ADDRESS ON FILE
ANA M. NIEVES GONZALEZ         ADDRESS ON FILE
ANA M. OCASIO GARCIA           ADDRESS ON FILE
ANA M. ORTA GUERRIDO           ADDRESS ON FILE
ANA M. OTERO BRUNO             ADDRESS ON FILE
ANA M. OTERO CINTRÓN           PO BOX 9023933                                                                             SAN JUAN          PR      00902‐3933
ANA M. PABON MORALES           ADDRESS ON FILE
ANA M. QUINONES MEDINA         ADDRESS ON FILE
ANA M. QUIÑONES SANCHEZ        GENOVEVA VALENTÍN SOTO        PO BOX 13695                                                 SAN JUAN          PR      00908‐3695
ANA M. RAMOS                   ADDRESS ON FILE
ANA M. RIOS ARROYO             ADDRESS ON FILE
ANA M. RIVERA MATOS            ADDRESS ON FILE
ANA M. ROCA MATTEI             ADDRESS ON FILE
ANA M. RODRIGUEZ RIOS          ADDRESS ON FILE
ANA M. RODRIGUEZ RIOS          ADDRESS ON FILE
ANA M. SANTOS RIVERA           ADDRESS ON FILE
ANA M. SOTO BERRIOS            ADDRESS ON FILE
ANA M. TORRES RODRIGUEZ        ADDRESS ON FILE
ANA MADRUGER ORTIZ             ADDRESS ON FILE
ANA MAGALY ARCE VELEZ          ADDRESS ON FILE
ANA MALDONADO                  ADDRESS ON FILE
ANA MALDONADO SANTIAGO         ADDRESS ON FILE
ANA MARIA BIGAS KENNERLY       ADDRESS ON FILE
ANA MARIA BUSTILLO FERNANDEZ   ADDRESS ON FILE
ANA MARIA CINTRON TORRES       ADDRESS ON FILE
ANA MARIA DE JESUS CAMACHO     ADDRESS ON FILE
ANA MARIA FIGUEROA             ADDRESS ON FILE
ANA MARIA FUSTER LAVIN         ADDRESS ON FILE
ANA MARIA GOMEZ                ADDRESS ON FILE
ANA MARIA MARRERO SANTIAGO     ADDRESS ON FILE
ANA MARIA MARRERO SANTIAGO     ADDRESS ON FILE
ANA MARIA MERCADO ‐ CASILLAS   ADDRESS ON FILE
ANA MARIA MORALES DELGADO      ADDRESS ON FILE
ANA MARIA MORALES LOPEZ        ADDRESS ON FILE
ANA MARIA ORLANDO IRIZARRY     ADDRESS ON FILE
ANA MARIA ORTIZ LAUREANO       ADDRESS ON FILE
ANA MARIA PAGAN CABRERA        ADDRESS ON FILE
ANA MARIA PAGAN CABRERA        ADDRESS ON FILE
ANA MARIA PAGAN ORTIZ          ADDRESS ON FILE
ANA MARIA PORTUGAL SPEEDIE     ADDRESS ON FILE
ANA MARIA QUILES RODRIGUEZ     ADDRESS ON FILE
ANA MARIA RABELL FUENTES       ADDRESS ON FILE
ANA MARIA RAMOS BAQUERO        ADDRESS ON FILE
ANA MARIA REYES TORRES         ADDRESS ON FILE




                                                                                   Page 385 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 386 of 3500
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ANA MARIA ROBLES REYES                   ADDRESS ON FILE
ANA MARIA RODRIGUEZ                      ADDRESS ON FILE
ANA MARIA SANTALIZ ROSA                  ADDRESS ON FILE
ANA MARIA SANTIAGO HERNANDEZ             ADDRESS ON FILE
ANA MARIA SEMIDEY / VALERIA M TORRES     ADDRESS ON FILE
ANA MARIA TORRES                         ADDRESS ON FILE
ANA MARIA TORRES PEREZ                   ADDRESS ON FILE
ANA MARIA VALDEZ                         ADDRESS ON FILE
ANA MARIBEL LOPEZ                        ADDRESS ON FILE
ANA MARIBEL LOPEZ                        ADDRESS ON FILE
ANA MARIE RIOS LOPEZ                     ADDRESS ON FILE
ANA MARIELA VELEZ DENIZARD               ADDRESS ON FILE
ANA MARRERO ALEMAN                       ADDRESS ON FILE
ANA MARTI RODRIGUEZ                      ADDRESS ON FILE
ANA MARTINEZ                             ADDRESS ON FILE
ANA MARTINEZ Y JUSTINA MARTINEZ          ADDRESS ON FILE
ANA MATILDE NIN TORREGROSA               ADDRESS ON FILE
ANA MATILDE NIN TORREGROSA               ADDRESS ON FILE
ANA MAYSONET BARRETO                     ADDRESS ON FILE
ANA MELENDEZ & CARLOS RIVERA ORTIZ       ADDRESS ON FILE
ANA MELENDEZ COLON                       ADDRESS ON FILE
ANA MELENDEZ IBANEZ                      ADDRESS ON FILE
ANA MENA                                 ADDRESS ON FILE
ANA MENDOZA HERNANDEZ                    ADDRESS ON FILE
ANA MENDOZA HERNANDEZ                    ADDRESS ON FILE
ANA MERCADO ESPADA                       ADDRESS ON FILE
ANA MERCADO MALDONADO                    ADDRESS ON FILE
ANA MERCEDES RIVERA COLLAZO              ADDRESS ON FILE
ANA MILAGROS BORRERO GUZMAN              ADDRESS ON FILE
ANA MIRANDA ARROYO                       ADDRESS ON FILE
ANA MIRANDA MORALES                      ADDRESS ON FILE
ANA MIRANDA TORRES                       ADDRESS ON FILE
ANA MIRTA CUEVAS CARDOZA                 ADDRESS ON FILE
ANA MORALES COLON                        ADDRESS ON FILE
ANA MORALES RODRIGUEZ                    ADDRESS ON FILE
ANA MORAZA FERRERAS                      ADDRESS ON FILE
ANA N BRAVO PINEDA                       ADDRESS ON FILE
ANA N MARTINEZ RIVERA                    ADDRESS ON FILE
ANA N RODRIGUEZ RIVERA                   ADDRESS ON FILE
ANA N. ORTIZ BERNARD                     ADDRESS ON FILE
Ana N. Padilla Martínez                  ADDRESS ON FILE
ANA NAPOLI ROMERO                        ADDRESS ON FILE
ANA NEGRON DIAZ                          ADDRESS ON FILE
ANA NUNEZ BERDECIA                       ADDRESS ON FILE
ANA OFARRIL QUINONES                     ADDRESS ON FILE
ANA OLIVERAS DBA PAPIRO LEGAL ADVISORS   VISTA BAHIA 268           PASEO DEL PUERTO                                       PENUELAS     PR      00624
ANA OQUENDO LAJARA                       ADDRESS ON FILE
ANA ORTIZ COLON                          ADDRESS ON FILE
ANA ORTIZ COLON                          ADDRESS ON FILE
ANA ORTIZ COTTO                          ADDRESS ON FILE
ANA ORTIZ MORALES                        ADDRESS ON FILE
ANA P CRUZ VELEZ                         ADDRESS ON FILE
ANA P CRUZ VELEZ                         ADDRESS ON FILE
ANA P LUCIANO TROCHE                     ADDRESS ON FILE
ANA P NUNEZ PEREZ                        ADDRESS ON FILE
ANA P. LUCIANO TROCHE                    ADDRESS ON FILE
ANA PACHECO JIMENEZ                      ADDRESS ON FILE
ANA PAGAN DONES                          ADDRESS ON FILE
ANA PAGAN SOTO                           ADDRESS ON FILE
ANA PAGAN VARGAS                         ADDRESS ON FILE




                                                                                      Page 386 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 387 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA PATRICIA HERNANDEZ              ADDRESS ON FILE
ANA PENALO ROSADO                   ADDRESS ON FILE
ANA PENALO/ DOMINGO PENALO/ RODNY   ADDRESS ON FILE
ANA PERALTA APONTE                  ADDRESS ON FILE
ANA PERALTA DE JESUS                ADDRESS ON FILE
ANA PEREIRA MELENDEZ                ADDRESS ON FILE
ANA PEREZ MARTINEZ                  ADDRESS ON FILE
ANA PEREZ ROMAN                     ADDRESS ON FILE
ANA PEREZA SANTIAGO                 ADDRESS ON FILE
ANA PIZARRO AN                      ADDRESS ON FILE
ANA PORRATA MALDONADO               ADDRESS ON FILE
ANA QUIJANO ENCARNACION             ADDRESS ON FILE
ANA QUILES VDA DE CUMBA             ADDRESS ON FILE
ANA QUINONES CORDERO                ADDRESS ON FILE
ANA QUINONES FLORES                 ADDRESS ON FILE
ANA QUINONES HIGALGO                ADDRESS ON FILE
ANA QUINONES JIMENEZ                ADDRESS ON FILE
ANA QUISQUEYA RODRIGUEZ             ADDRESS ON FILE
ANA R ALVELO SUAREZ                 ADDRESS ON FILE
ANA R APONTE GARCIA                 ADDRESS ON FILE
ANA R BENCOSME CANO                 ADDRESS ON FILE
ANA R BETANCOURT RIVERA             ADDRESS ON FILE
ANA R BIASCOECHEA RODRIGUEZ         ADDRESS ON FILE
ANA R BONILLA VEGA                  ADDRESS ON FILE
ANA R CANCEL TORRES                 ADDRESS ON FILE
ANA R CASTRO MALAVE                 ADDRESS ON FILE
ANA R CENTENO ROSADO                ADDRESS ON FILE
ANA R CORDERO OTERO                 ADDRESS ON FILE
ANA R DOMINICCI DAMIANI             ADDRESS ON FILE
ANA R FIGUEROA DALMAU               ADDRESS ON FILE
ANA R GUADALUPE QUINONES            ADDRESS ON FILE
ANA R GUTIERREZ VAZQUEZ             ADDRESS ON FILE
ANA R HERNANDEZ RODRIGUEZ           ADDRESS ON FILE
ANA R JULIA SAVARIT                 ADDRESS ON FILE
ANA R LAVANDIER POLANCO             ADDRESS ON FILE
ANA R MALDONADO HERRERA             ADDRESS ON FILE
ANA R MARTINEZ DAVILA               ADDRESS ON FILE
ANA R MARTINEZ MONTANEZ             ADDRESS ON FILE
ANA R MELLADO GONZALEZ              ADDRESS ON FILE
ANA R MONTANO CASTRO                ADDRESS ON FILE
ANA R MULERO PORTELA                ADDRESS ON FILE
ANA R ORTIZ GARCIA                  ADDRESS ON FILE
ANA R PEREZ MARTINEZ                ADDRESS ON FILE
ANA R PINILLA DIAZ                  ADDRESS ON FILE
ANA R QUILES BOSQUE                 ADDRESS ON FILE
ANA R QUINONES RUTINEL              ADDRESS ON FILE
ANA R RIVERA ALVAREZ                ADDRESS ON FILE
ANA R RIVERA APONTE                 ADDRESS ON FILE
ANA R RIVERA DE MOLINA              ADDRESS ON FILE
ANA R RIVERA PENA                   ADDRESS ON FILE
ANA R ROMAN PEREZ                   ADDRESS ON FILE
ANA R SANTIAGO GUZMAN               ADDRESS ON FILE
ANA R TAVAREZ GIL                   ADDRESS ON FILE
ANA R TOLEDO TOLEDO                 ADDRESS ON FILE
ANA R TORRES DIAZ                   ADDRESS ON FILE
ANA R VIVES FIGUEROA                ADDRESS ON FILE
ANA R. DIAZ SANTAELLA               ADDRESS ON FILE
ANA R. PEDROZA                      ADDRESS ON FILE
ANA R. RUBERT CRUZ                  ADDRESS ON FILE
ANA R. SOSA BERRIOS                 ADDRESS ON FILE




                                                                                Page 387 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 388 of 3500
                                                                                                             Creditor Matrix

Creditor Name                            Address1                                Address2                                 Address3               Address4              City         State   PostalCode   Country
ANA RAMOS ACEVEDO                        LCDO. GIANCARLO FONT GARCÍA (ABOGADO ASEI CENTRO INTERNACIONAL DE MERCADEO       100 CARR 165 STE 404                         GUAYNABO     PR      00968
ANA RAMOS ACEVEDO                        LCDO. RAMÓN SEGARRA BERRÍOS             APARTADO 9024226                                                                      SAN JUAN     PR      00902‐4226
ANA RAMOS MORALES                        ADDRESS ON FILE
ANA RAMOS RODRIGUEZ                      ADDRESS ON FILE
ANA RESTO RIVERA                         ADDRESS ON FILE
ANA RIVERA / KARINA RIOS / CARLOS RIOS   ADDRESS ON FILE
ANA RIVERA BONILLA                       ADDRESS ON FILE
ANA RIVERA GARCIA                        ADDRESS ON FILE
ANA RIVERA LEON                          ADDRESS ON FILE
ANA RIVERA NIEVES                        ADDRESS ON FILE
ANA RIVERA OLMO                          LUIS R. RIVERA RODRIGUEZ                CAPITAL CENTER BLDG.                     SUITE 401              239 ARTERIAL HOSTOS   SAN JUAN     PR      00918
ANA RIVERA TAVAREZ                       ADDRESS ON FILE
ANA RIVERA TURNER                        ADDRESS ON FILE
ANA RIVERA Y ELMER RIVERA                ADDRESS ON FILE
ANA RODRIGUEZ                            ADDRESS ON FILE
ANA RODRIGUEZ LEON/EP ENERGY LLC         PO BOX 191702                                                                                                                 SAN JUAN     PR      00919‐1702
ANA RODRIGUEZ MERCADO                    ADDRESS ON FILE
ANA RODRIGUEZ NEGRON                     ADDRESS ON FILE
ANA RODRIGUEZ QUI¥ONES                   ADDRESS ON FILE
ANA RODRIGUEZ TORRES                     ADDRESS ON FILE
ANA RODRIGUEZ Y BLANCA AGOSTO            ADDRESS ON FILE
ANA ROMAN CRESPO                         ADDRESS ON FILE
ANA ROMAN LUGO                           ADDRESS ON FILE
ANA ROMERO NIEVES                        ADDRESS ON FILE
ANA ROSA ARCE PEREZ                      ADDRESS ON FILE
ANA ROSA HERNANDEZ                       ADDRESS ON FILE
ANA ROSA MALERET MENDEZ                  ADDRESS ON FILE
ANA ROSA OCASIO RODRIGUEZ                ADDRESS ON FILE
ANA ROSA QUINONES PIZARRO                ADDRESS ON FILE
ANA ROSA RIOS COSME                      ADDRESS ON FILE
ANA ROSADO OTERO/ ONIX QUINTERO PEREZ    ADDRESS ON FILE
ANA ROSARIO RIVERA                       ADDRESS ON FILE
ANA ROSARIO ROMAN                        ADDRESS ON FILE
ANA ROSARIO SANTIAGO                     ADDRESS ON FILE
ANA RUANO FAYOS                          ADDRESS ON FILE
ANA RUPERTO RODRIGUEZ                    ADDRESS ON FILE
ANA RUTH ALMA CRUZ                       ADDRESS ON FILE
ANA RUTH ANDINO DIAZ                     ADDRESS ON FILE
ANA S CATERING SERVICE                   HC 03 BOX 33608                                                                                                               HATILLO      PR      00659
ANA S DIAZ CRUZ                          ADDRESS ON FILE
ANA S GUMA TORRES                        ADDRESS ON FILE
ANA S RODRIGUEZ ANDINO                   ADDRESS ON FILE
ANA S ROSA PEREZ                         ADDRESS ON FILE
ANA S SEGARRA TURULL                     ADDRESS ON FILE
ANA S SOBA ORTA                          ADDRESS ON FILE
ANA S. RODRIGUEZ CRUZ                    ADDRESS ON FILE
ANA S. ROGRIGUZ ANDINO                   ADDRESS ON FILE
ANA SALERNA ORTIZ                        ADDRESS ON FILE
ANA SALGADO RODRIGUEZ                    ADDRESS ON FILE
ANA SANTANA LOPEZ                        ADDRESS ON FILE
ANA SANTIAGO COLON                       ADDRESS ON FILE
ANA SANTIAGO OLIVIERI                    ADDRESS ON FILE
ANA SANTIAGO PERALES                     ADDRESS ON FILE
ANA SANTIAGO ROBLES                      ADDRESS ON FILE
ANA SANTIAGO SANTIAGO                    ADDRESS ON FILE
ANA SANTOS DBA OFFICE SCHOOL SOLUTIONS   PO BOX 128                                                                                                                    JUNCOS       PR      00777
ANA SANTOS PICO                          ADDRESS ON FILE
ANA SANTOS QUINONES                      ADDRESS ON FILE
ANA SERRANO CORDERO                      ADDRESS ON FILE
ANA SUAREZ                               ADDRESS ON FILE




                                                                                                            Page 388 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 389 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANA SUAREZ                           ADDRESS ON FILE
ANA SUAREZ LOZADA                    ADDRESS ON FILE
ANA T CORDERO CABRERA                ADDRESS ON FILE
ANA T GARCIA                         ADDRESS ON FILE
ANA T LOPEZ RODRIGUEZ                ADDRESS ON FILE
ANA T MUNIZ                          ADDRESS ON FILE
ANA T RIVERA MORALES                 ADDRESS ON FILE
ANA T RIVERA SANTIAGO                ADDRESS ON FILE
ANA T RODRIGUEZ GONZALEZ             ADDRESS ON FILE
ANA T RODRIGUEZ RIOS                 ADDRESS ON FILE
ANA T ROLENSON BALLAN                ADDRESS ON FILE
ANA T. MUNOZ MATTA                   ADDRESS ON FILE
ANA TAVAREZ VELEZ                    ADDRESS ON FILE
ANA TEJADA PAULINO                   ADDRESS ON FILE
ANA TERESA ALEMANY MARTINEZ          ADDRESS ON FILE
ANA TERESA ALEMANY MARTINEZ          ADDRESS ON FILE
ANA TERESA BARRETO SALAS             ADDRESS ON FILE
ANA TOLOSA AGUILAR                   ADDRESS ON FILE
ANA TORO COLLAZO                     ADDRESS ON FILE
ANA TORRES DE BAERGA                 ADDRESS ON FILE
ANA TORRES GARCIA                    ADDRESS ON FILE
ANA TORRES NARVAEZ                   ADDRESS ON FILE
ANA TORRES RODRIGUEZ                 ADDRESS ON FILE
ANA V ALVAREZ Y BARBARA V GONZALEZ   ADDRESS ON FILE
ANA V CABAN DEYNES                   ADDRESS ON FILE
ANA V CANCEL OLAN                    ADDRESS ON FILE
ANA V CORRADA BONILLA                ADDRESS ON FILE
ANA V FIGUEROA ASTACIO               ADDRESS ON FILE
ANA V FRIDMAN RUTZEN                 ADDRESS ON FILE
ANA V GONZALEZ                       ADDRESS ON FILE
ANA V JIMENEZ PUELLO                 ADDRESS ON FILE
ANA V LEON GONZALEZ                  ADDRESS ON FILE
ANA V MONTANEZ                       ADDRESS ON FILE
ANA V MORALES ACOSTA                 ADDRESS ON FILE
ANA V MORALES MARRERO                ADDRESS ON FILE
ANA V OSUBA SOTO                     ADDRESS ON FILE
ANA V PEREZ DAVID                    ADDRESS ON FILE
ANA V PINEIRO PARES                  ADDRESS ON FILE
ANA V RAMOS LOZANO                   ADDRESS ON FILE
ANA V ROLDAN RODRIGUEZ               ADDRESS ON FILE
ANA V. QUINONES ESPADA               ADDRESS ON FILE
ANA V. ROSA CALDERON                 ADDRESS ON FILE
ANA V. VAZQUEZ MALDONADO             ADDRESS ON FILE
ANA VALENTIN MENDEZ                  ADDRESS ON FILE
ANA VALLE                            ADDRESS ON FILE
ANA VARGAS PEREZ                     ADDRESS ON FILE
ANA VARONA PACHECO                   ADDRESS ON FILE
ANA VEGA RODRIGUEZ                   ADDRESS ON FILE
ANA VEGA TORRES                      ADDRESS ON FILE
ANA VEGA VALDERRAMA                  ADDRESS ON FILE
ANA VICTORIA DE JESUS MARTELL        ADDRESS ON FILE
ANA VIVIAN PEREZ ONEILL              ADDRESS ON FILE
ANA W ROSADO CALDERON                ADDRESS ON FILE
ANA Y HERNANDEZ MENDEZ               ADDRESS ON FILE
ANA Y LOPEZ GINES                    ADDRESS ON FILE
ANA Y PENA                           ADDRESS ON FILE
ANA Y SANTALIZ NEGRON                ADDRESS ON FILE
ANA Y TIRADO ALVAREZ                 ADDRESS ON FILE
ANA Y TIRADO ALVAREZ                 ADDRESS ON FILE
ANA Y TIRADO ALVAREZ                 ADDRESS ON FILE




                                                                                 Page 389 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 390 of 3500
                                                                                    Creditor Matrix

Creditor Name                   Address1                               Address2                  Address3         Address4   City         State   PostalCode   Country
ANA Y TIRADO ALVAREZ            ADDRESS ON FILE
ANA Y. ANGUITA OLIVERAS         ADDRESS ON FILE
ANA YAILYN MARTINEZ RAMOS       ADDRESS ON FILE
ANA Z OSORIO PACHECO            ADDRESS ON FILE
ANA Z PEREZ MEDINA              ADDRESS ON FILE
                                                                                                 650 AVE. MUNOZ
ANA ZAYAS IZQUIERDO             JOSE E. RAMIREZ DE ARELLANO CALDERON   650 PLAZA                 RIVERA STE 205              SAN JUAN     PR      00918
ANA, DONES                      ADDRESS ON FILE
ANA’S CATERING SERVICE          HC‐03 BOX 33608                                                                              HATILLO      PR      00659
ANABEL ALVAREZ PACHECO          ADDRESS ON FILE
ANABEL BARRETO SANTIAGO         ADDRESS ON FILE
ANABEL CARRASQUILLO CASTRO      ADDRESS ON FILE
ANABEL CARRASQUILLO CASTRO      ADDRESS ON FILE
ANABEL CASTRO MARTINEZ          ADDRESS ON FILE
ANABEL COLON MORENO             ADDRESS ON FILE
ANABEL CORCHADO                 ADDRESS ON FILE
ANABEL CORTES GARCIA            ADDRESS ON FILE
ANABEL FLORES CARMONA           ADDRESS ON FILE
ANABEL GONZÁLEZ CRESPO          LCDO. SAMUEL FIGUEROA GONZALEZ         POBOX 771                                             BOQUERON     PR      00622
ANABEL NAVAS SENERIZ            ADDRESS ON FILE
ANABEL PEREZ PEREZ              ADDRESS ON FILE
ANABEL PEREZ PEREZ              ADDRESS ON FILE
ANABEL RAMOS RODRIGUEZ          ADDRESS ON FILE
ANABEL RIVERA FERNANDEZ         ADDRESS ON FILE
ANABEL RIVERA MALDONADO         ADDRESS ON FILE
ANABEL ROLON LOZADA             ADDRESS ON FILE
ANABEL ROMAN ROMAN              ADDRESS ON FILE
ANABEL ROMERO CEDENO            ADDRESS ON FILE
ANABEL ROSARIO CAPELES          ADDRESS ON FILE
ANABEL ROSARIO COLON            ADDRESS ON FILE
ANABEL SANCHEZ NIEVES           ADDRESS ON FILE
ANABEL SANTIAGO COTTO           ADDRESS ON FILE
ANABEL SEVILLA AYALA            ADDRESS ON FILE
ANABEL TORRES ACEVEDO           ADDRESS ON FILE
ANABEL VARGAS AQUIRRES          ADDRESS ON FILE
ANABEL VARGAS BOSQUES           ADDRESS ON FILE
ANABEL VARGAS BOSQUES           ADDRESS ON FILE
ANABELIS DE JESUS CALDERON      ADDRESS ON FILE
ANABELIZ RIVERA RIVERA          ADDRESS ON FILE
ANABELIZ RIVERA RIVERA          ADDRESS ON FILE
ANABELL GOMEZ CRUZ              ADDRESS ON FILE
ANABELL MORENO VELEZ            ADDRESS ON FILE
ANABELL ORTIZ VELAZQUEZ         ADDRESS ON FILE
ANABELLE BARRANCO MERCADO       ADDRESS ON FILE
ANABELLE BATISTA WALKER         ADDRESS ON FILE
ANABELLE CARRASQUILLO FUENTES   ADDRESS ON FILE
ANABELLE CENTENO BERRIOS        ADDRESS ON FILE
ANABELLE COLL BORGO             ADDRESS ON FILE
ANABELLE FELICIANO TORRES       ADDRESS ON FILE
ANABELLE FLECHA VIERA           ADDRESS ON FILE
ANABELLE LEON LICIER            ADDRESS ON FILE
ANABELLE LEON UCIER             ADDRESS ON FILE
ANABELLE NIEVES OLMO            ADDRESS ON FILE
ANABELLE PARES ALICEA           ADDRESS ON FILE
ANABELLE QUINONES RODRIGUEZ     ADDRESS ON FILE
ANABELLE QUINONES RODRIGUEZ     ADDRESS ON FILE
ANABELLE QUINONES RODRIGUEZ     ADDRESS ON FILE
ANABELLE RIVAS RUIZ             ADDRESS ON FILE
ANABELLE RODRIGUEZ PEREZ        ADDRESS ON FILE
ANABELLE RODRIGUEZ PEREZ        ADDRESS ON FILE




                                                                                   Page 390 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 391 of 3500
                                                                                   Creditor Matrix

Creditor Name                      Address1                            Address2                 Address3   Address4   City         State   PostalCode   Country
ANABELLE SILVA CHERENA             ADDRESS ON FILE
ANABELLE VAZQUEZ RODRIGUEZ         ADDRESS ON FILE
ANABELLE VEGA RIVERA               ADDRESS ON FILE
ANABELLE VELEZ AYALA               ADDRESS ON FILE
ANABELLIE RIVERA SANTIAGO          ADDRESS ON FILE
ANABYS BAUTA ORTIZ                 ADDRESS ON FILE
ANACELI GONZALEZ DAVILA            ADDRESS ON FILE
ANACELIS CRUZ GARCIA               ADDRESS ON FILE
ANACELIS DIAZ RAMOS                ADDRESS ON FILE
ANACELYS RUIZ CAMACHO              ADDRESS ON FILE
ANACLETO GUZMAN FIGUEROA           ADDRESS ON FILE
ANACO EDUCATIONAL SERV INC H/N/C   ADDRESS ON FILE
ANADAM MANAGEMENT INC              5900 AVE ISLA VERDE STE 2 PMB 258                                                  CAROLINA     PR      00979‐5747
ANADELIA AGOSTO RENTAS             ADDRESS ON FILE
ANADON GARAYUA, ANTONIO            ADDRESS ON FILE
ANADON IRIZARRY, ANA               ADDRESS ON FILE
ANADON ORTIZ, MYRNA                ADDRESS ON FILE
ANADON RAMIREZ, JOSE M.            ADDRESS ON FILE
ANADON RIVERA, MIGUEL              ADDRESS ON FILE
ANADON RIVERA, MIGUEL A            ADDRESS ON FILE
ANADON VAZQUEZ, LINETTE D          ADDRESS ON FILE
ANADORIS ESTRADA TORRES            ADDRESS ON FILE
ANAELIS ALVAREZ BORONAT            ADDRESS ON FILE
ANAELY RAMOS VEGA                  ADDRESS ON FILE
ANAHI RIVERA VEGA                  ADDRESS ON FILE
ANAHILDA SOTO ROBLES               ADDRESS ON FILE
ANAHIRE SOTO FUENTES               ADDRESS ON FILE
ANAIDA FELICIANO                   ADDRESS ON FILE
ANAIDA M SANTIAGO RENTA            ADDRESS ON FILE
ANAIDA MARTIN OQUENDO              ADDRESS ON FILE
ANAIDA RODRIGUEZ                   ADDRESS ON FILE
ANAIKA M RODRIGUEZ RIVERA          ADDRESS ON FILE
ANAILY M OCASIO IRIZARRY           ADDRESS ON FILE
ANAIS A RIVERA RODRIGUEZ           ADDRESS ON FILE
ANAIS ALVELO AREVALO               ADDRESS ON FILE
ANAIS CRUZ GARCIA                  ADDRESS ON FILE
ANAIS FLORES ARROYO                ADDRESS ON FILE
ANAIS GALAN ROSA / ISRAEL GALAN    ADDRESS ON FILE
ANAIS J NIEVES HERNANDEZ           ADDRESS ON FILE
ANAIS LOPEZ MASIH                  ADDRESS ON FILE
ANAIS NADAL TORRES                 ADDRESS ON FILE
ANAIS NIEVES VAZQUEZ               ADDRESS ON FILE
ANAIS RODRIGUEZ VEGA               ADDRESS ON FILE
ANAISA RAMOS ROSARIO               ADDRESS ON FILE
ANAITSI HERNANDEZ MENDOZA          ADDRESS ON FILE
ANAITSI HERNANDEZ MENDOZA          ADDRESS ON FILE
ANALDI VAZQUEZ FLORES              ADDRESS ON FILE
ANALEXIS SANTOS VELEZ              ADDRESS ON FILE
ANALIE CRUZ FELIX                  ADDRESS ON FILE
ANALINA M PENA MATOS               ADDRESS ON FILE
ANALIZ ALFARO PIAR                 ADDRESS ON FILE
ANALIZ HERNANDEZ DIAZ              ADDRESS ON FILE
ANALIZ MERCADO HERNANDEZ           ADDRESS ON FILE
ANALIZ MORALES SANTIAGO            ADDRESS ON FILE
ANALIZ VERGARA NIEVES              ADDRESS ON FILE
ANALOG DIGITAL COMUNICATIONS INC   HC 1 BOX 29030                                                                     CAGUAS       PR      00725‐8900
ANALYIS DIAZ FIGUEROA              ADDRESS ON FILE
ANALYTICAL ENVIROMENTAL SERVICE    CALLLE MONSERRATE 611 2DO PISO                                                     SAN JUAN     PR      00907
ANAMAR GUZMAN VELEZ                ADDRESS ON FILE
ANAMAR MENENDEZ GONZALEZ           ADDRESS ON FILE




                                                                                  Page 391 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 392 of 3500
                                                                                               Creditor Matrix

Creditor Name                            Address1                     Address2                              Address3   Address4   City         State   PostalCode   Country
ANAMARI CARATINI GREGORIO                ADDRESS ON FILE
ANAMARI HUERTAS COTTO                    ADDRESS ON FILE
ANAMARI MELECIO RIVERA                   ADDRESS ON FILE
ANAMARI SANCHEZ COLLAZO                  ADDRESS ON FILE
ANAMARIE LEBRON RIVERA                   ADDRESS ON FILE
ANAMARIE PAGAN RODRIGUEZ                 ADDRESS ON FILE
ANAMARIS CANALES BAEZ                    ADDRESS ON FILE
ANAMARIS CORTES LOPEZ                    ADDRESS ON FILE
ANAMARIS GUTIERREZ RODRIGUEZ             ADDRESS ON FILE
ANAMARIS GUTIERREZ RODRIGUEZ             ADDRESS ON FILE
ANAMARIS MEDINA GARCIA                   ADDRESS ON FILE
ANAMARIS ROSARIO ROSADO                  ADDRESS ON FILE
ANAMARIS VEGA LOPEZ                      ADDRESS ON FILE
ANAMARY BURGOS GONZALEZ                  ADDRESS ON FILE
ANAMARYS ROBLES ROSARIO                  ADDRESS ON FILE
ANAMARYS ROSRIGUEZ CAMACHO               ADDRESS ON FILE
ANAMIN SANTIAGO FLORES                   ADDRESS ON FILE
ANAMU CORP                               URB. CLEMENTINA              CAMINO ALEJANDRINO C5                                       GUAYNABO     PR      00969
ANARDI A AGOSTO MUJICA                   ADDRESS ON FILE
ANARDI AUGUSTO AGOSTO MUJICA             ADDRESS ON FILE
ANARDIS Y RODRIGUEZ RAMOS                ADDRESS ON FILE
ANARIS GARCIA SANTIAGO / PURA ENERGIA    ADDRESS ON FILE
ANASCO AUTO IMPORTS INC                  PO BOX 5000                                                                              AGUADA       PR      00602
ANASCO AUTO PAINTS                       PO BOX 436                                                                               A¥ASCO       PR      00610
ANASCO BASKET INC                        RR 2 BOX 6525                                                                            ANASCO       PR      00610
ANASCO PLAZA LLC                         PO BOX 2399                                                                              TOA BAJA     PR      00951
ANASCO REFRIGERATION                     LCDA. EFRAIN COLON SANZ      PO BOX 19564                                                SAN JUAN     PR      00910‐1564
ANASCO REFRIGERATION                     RR 4 BOX 16004                                                                           ANASCO       PR      00610
ANASCO REFRIGERATION & ELECT. CONT. INC. CALLE 65 DE INFANTERIA #40                                                               ANASCO       PR      00610‐0000
ANASCO REFRIGERATION & ELECTRICAL CONTRA LCDO EFRAIN COLON SANZ       PO BOX 19564                                                SAN JUAN     PR      00910‐1564
ANASCO REFRIGERATION SERVICE             40 65 INFANTERIA                                                                         AðASCO       PR      00610
ANASCO REFRIGERATION,ELECTRICAL CONT INC 40 65 INFANTERIA                                                                         ANASCO       PR      00610
ANASCO SERVICE STATION TEXACO            PO BOX 694                                                                               ANASCO       PR      00610
ANASQUENOS EN DEFENSA DE ANIMALES INC RR 04 BOX 13632                                                                             ANASCO       PR      00610
ANASTACIA CRUZ / HECTOR RAMIREZ          ADDRESS ON FILE
ANASTACIA VAZQUEZ RODRIGUEZ              ADDRESS ON FILE
ANASTACIO AGOSTO MARTINEZ                ADDRESS ON FILE
ANASTACIO ALICEA ALMODOVAR               ADDRESS ON FILE
ANASTACIO COLON VAZQUEZ                  ADDRESS ON FILE
ANASTACIO ESTRELLA SANCHEZ               ADDRESS ON FILE
ANASTACIO FALCON HERNANDEZ               ADDRESS ON FILE
ANASTACIO GARCIA ESCALERA                ADDRESS ON FILE
ANASTACIO MANSO VALDES                   ADDRESS ON FILE
ANASTACIO OSORIO / CARMEN A ORTIZ        ADDRESS ON FILE
ANASTACIO ROMERO MORALES                 ADDRESS ON FILE
ANASTACIO SANTOS ORTIZ                   ADDRESS ON FILE
ANASTASIA TRIHAS                         ADDRESS ON FILE
ANASTASIA TRIHAS                         ADDRESS ON FILE
ANASTASIO AYALA SANTIAGO                 ADDRESS ON FILE
ANASTASIO RODRIGUEZ CARRASQUILLO         ADDRESS ON FILE
ANASTASIO RODRIGUEZ IRIZARRY             ADDRESS ON FILE
ANASTASIO SANES PEREZ                    ADDRESS ON FILE
ANASTYLOSIS INC                          3703 PASEO DE LA REINA                                                                   PONCE        PR      00716‐2446
ANATALIA TOLEDO / ANA D VEGA             ADDRESS ON FILE
Anatilde Camacho Rodriguez               ADDRESS ON FILE
ANATILDE SANCHEZ VEGA                    ADDRESS ON FILE
ANAVITARTE ROMAN, ARACELIS               ADDRESS ON FILE
ANAVITARTE ROMAN, ARACELIS               ADDRESS ON FILE
ANAVITATE CORDERO, FERNANDO L            ADDRESS ON FILE
ANAVITATE CUADRADO, ANTHONEY             ADDRESS ON FILE




                                                                                              Page 392 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 393 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANAVITATE FIGUEROA, BERNADETTE   ADDRESS ON FILE
ANAVITATE QUINTA, ANA LUISA      ADDRESS ON FILE
ANAVITATE QUINTA, WANDA          ADDRESS ON FILE
ANAVITATE SANTIAGO, WILFREDO     ADDRESS ON FILE
ANAVITATE, KEITH                 ADDRESS ON FILE
ANAY PUNTONET VALLE              ADDRESS ON FILE
ANAY PUNTONET VALLE              ADDRESS ON FILE
ANAYA ALEMAN, ARTURO             ADDRESS ON FILE
ANAYA ALVAREZ, JUANA B           ADDRESS ON FILE
ANAYA AMALBERT MD, BLAS          ADDRESS ON FILE
ANAYA ARROYO, CARLOS TEOFILO     ADDRESS ON FILE
Anaya Arroyo, Rafael             ADDRESS ON FILE
ANAYA ARROYO, RAFAEL             ADDRESS ON FILE
ANAYA AVILES, WILFREDO           ADDRESS ON FILE
ANAYA BAEZ, ENID L.              ADDRESS ON FILE
ANAYA BARBOSA, GLORIA            ADDRESS ON FILE
ANAYA BREA, FRANCISCO            ADDRESS ON FILE
ANAYA CARTAGENA, LYNELIZ         ADDRESS ON FILE
ANAYA CINTRON, VIONETTE          ADDRESS ON FILE
ANAYA CORA, EVERGISTO            ADDRESS ON FILE
ANAYA CORDERO, IRMA              ADDRESS ON FILE
ANAYA CORTIJO, OSVALDO           ADDRESS ON FILE
ANAYA DE LEON, BENJAMIN          ADDRESS ON FILE
ANAYA DE LEON, MIRIAM            ADDRESS ON FILE
ANAYA DIAZ, JOSE                 ADDRESS ON FILE
ANAYA DIAZ, JOSE R               ADDRESS ON FILE
Anaya Diaz, Jose R               ADDRESS ON FILE
ANAYA DIAZ, VICTOR               ADDRESS ON FILE
ANAYA FOURNIER, FRANCHESKA       ADDRESS ON FILE
Anaya Gonzalez, Angel L.         ADDRESS ON FILE
ANAYA GONZALEZ, BENJAMIN         ADDRESS ON FILE
ANAYA GONZALEZ, WILDA            ADDRESS ON FILE
ANAYA GONZALEZ, WILDA E          ADDRESS ON FILE
ANAYA GRACIA, VIVIAN V           ADDRESS ON FILE
ANAYA JIMENEZ, ANGEL G           ADDRESS ON FILE
ANAYA LARA, AIDA L               ADDRESS ON FILE
ANAYA LARA, NORMA I              ADDRESS ON FILE
ANAYA LAUREANO, BRENDA           ADDRESS ON FILE
Anaya Laureano, Kermit           ADDRESS ON FILE
ANAYA LUNA, ANA                  ADDRESS ON FILE
ANAYA MARTINEZ, MILDRED N.       ADDRESS ON FILE
ANAYA MENDOZA, CHRISTIAN         ADDRESS ON FILE
Anaya Nieves, Jose G             ADDRESS ON FILE
ANAYA NIEVES, MARIA DE LOS A     ADDRESS ON FILE
ANAYA NIEVES, TAMY               ADDRESS ON FILE
ANAYA ORTEGA, ANGEL              ADDRESS ON FILE
ANAYA ORTIZ, MAYDA               ADDRESS ON FILE
ANAYA ORTIZ, ROXANA              ADDRESS ON FILE
ANAYA PADRO, ALBERTO             ADDRESS ON FILE
ANAYA PADRO, DIANA I             ADDRESS ON FILE
ANAYA PADRO, LIVIA               ADDRESS ON FILE
ANAYA PADRO, LOURDES L           ADDRESS ON FILE
ANAYA PINERO, ANDY T             ADDRESS ON FILE
Anaya Pinero, Gabriel            ADDRESS ON FILE
ANAYA PINERO, GABRIEL            ADDRESS ON FILE
ANAYA PUJOLS, EVA                ADDRESS ON FILE
ANAYA RAMOS, CARMEN              ADDRESS ON FILE
ANAYA RAMOS, IRAIDA              ADDRESS ON FILE
ANAYA RAMOS, MARIA E             ADDRESS ON FILE
ANAYA RIVERA, DEIRDRE            ADDRESS ON FILE




                                                                             Page 393 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 394 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                          Address1                                  Address2                                     Address3   Address4   City         State   PostalCode   Country
ANAYA RIVERA, JUAN C.                  ADDRESS ON FILE
ANAYA RIVERA, JULIAN                   ADDRESS ON FILE
ANAYA RODRIGUEZ, JOSE                  ADDRESS ON FILE
ANAYA RODRIGUEZ, JOSE                  ADDRESS ON FILE
ANAYA RODRIGUEZ, JOSE O                ADDRESS ON FILE
ANAYA RODRIGUEZ, ROSA E                ADDRESS ON FILE
ANAYA ROJAS, JACQUELINE                ADDRESS ON FILE
ANAYA ROJAS, JACQUELINE I              ADDRESS ON FILE
ANAYA ROMAN, RUFINO F.                 ADDRESS ON FILE
ANAYA SANTIAGO, JOSE                   ADDRESS ON FILE
ANAYA SANTIAGO, MARIANGELY             ADDRESS ON FILE
Anaya Sifuentes, Guillermo             ADDRESS ON FILE
ANAYA SIFUENTES, MELVIN                ADDRESS ON FILE
ANAYA SOTO, MYRNA J                    ADDRESS ON FILE
Anaya Suarez, Julia I                  ADDRESS ON FILE
ANAYA VALENTIN, MIRIAM                 ADDRESS ON FILE
ANAYA VAZQUEZ, ADELYN                  ADDRESS ON FILE
ANAYADEJESUS, RAUL                     ADDRESS ON FILE
ANAYARI FERNANDEZ MARTIN               ADDRESS ON FILE
ANAYENSI RODRIGUEZ NELSON ROSADO SANTOSLCDO. LUIS PABON ROCA, LCDA. RAQUEL TORRESURB. HYDE PARK 249 LAS MARIAS                                      SAN JUAN     PR      00927
ANAYENSI RODRIGUEZ RIVERA              ADDRESS ON FILE
ANAYMA OFARRIL TORRES                  ADDRESS ON FILE
ANAYRA TUA LOPEZ                       ADDRESS ON FILE
ANAYS A SANTALI JIMENEZ                ADDRESS ON FILE
ANAYS A SANTALIZ JIMENEZ               ADDRESS ON FILE
ANAZAGASTY CEREZO, JOSE                ADDRESS ON FILE
ANAZAGASTY JUARBE, DIABETH             ADDRESS ON FILE
ANAZAGASTY PAGAN, VANESSA              ADDRESS ON FILE
ANAZAGASTY RODRIGUEZ, BENIGNA          ADDRESS ON FILE
ANAZAGASTY RODRIGUEZ, YZIZ M           ADDRESS ON FILE
ANAZAGASTY, RAFAEL                     ADDRESS ON FILE
ANCA SANCHEZ, CARLOS                   ADDRESS ON FILE
ANCA SANTIAGO, MARIELA                 ADDRESS ON FILE
ANCA SANTIAGO, YOLANDA                 ADDRESS ON FILE
ANCA VELEZ, PEDRO J.                   ADDRESS ON FILE
ANCALLE FERNANDEZ, DIANA E.            ADDRESS ON FILE
ANCHONDIA, MARIA                       ADDRESS ON FILE
ANCIANI BATISTA, JOSE                  ADDRESS ON FILE
Anciani Batista, Ramon                 ADDRESS ON FILE
ANCIANI CRESPO, SANTA I.               ADDRESS ON FILE
ANCIMEL OTERO REYES                    ADDRESS ON FILE
Ancrusa Contractors, Inc.              RR 9 BOX 1390 MCS 173                                                                                        SAN JUAN     PR      00926
ANCRUSA CONTRACTORS, INC.              RR 9 BOX 1390 MSC 173                                                                                        SAN JUAN     PR      00926‐0000
ANDA HOJALATERIA Y PINTURA CORP        URB CAPARRA TERRACE 912                   AVE DE DIEGO                                                       SAN JUAN     PR      00921
ANDALUZ BAEZ, ADALBERTO                ADDRESS ON FILE
ANDALUZ BAEZ, CARMEN M                 ADDRESS ON FILE
ANDALUZ BAEZ, EDELMIRO                 ADDRESS ON FILE
ANDALUZ BAEZ, MARIA L                  ADDRESS ON FILE
ANDALUZ BAEZ, MARILU                   ADDRESS ON FILE
Andaluz Baez, Marilu                   ADDRESS ON FILE
Andaluz Baez, Miguel A                 ADDRESS ON FILE
ANDALUZ BAEZ, MIGUEL A.                ADDRESS ON FILE
ANDALUZ LOZANO, HERIBERTO              ADDRESS ON FILE
ANDALUZ MARQUEZ, IVELISSE              ADDRESS ON FILE
Andaluz Mendez, Ramon R                ADDRESS ON FILE
ANDALUZ PAGAN, HAYDEE                  ADDRESS ON FILE
ANDALUZ PAGAN, SARA                    ADDRESS ON FILE
ANDANZA INC                            657 CALLE CONDADO STE 200                                                                                    SAN JUAN     PR      00908
ANDANZA INC                            ESQUINA DEL CARMEN 2DO PISO               657 CALLE CONDADO                                                  SAN JUAN     PR      00907
ANDANZA INC                            URB SANTA RITA                            1091 RAMIREZ PABON                                                 SAN JUAN     PR      00925




                                                                                                             Page 394 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 395 of 3500
                                                                                                  Creditor Matrix

Creditor Name                          Address1                       Address2                                 Address3   Address4   City           State   PostalCode    Country
ANDARINES DAY CARE INC                 PO BOX 367479                                                                                 SAN JUAN       PR      00936‐7479
ANDERSEN HANSEN, ELI M                 ADDRESS ON FILE
ANDERSEN, SVEN OLE                     ADDRESS ON FILE
ANDERSON A MUNOZ                       ADDRESS ON FILE
ANDERSON ABRAMS, WILLIAM R             ADDRESS ON FILE
ANDERSON CABRERA PIZARRO               ADDRESS ON FILE
ANDERSON CANCER CENTER                 120 BLUEGRASS VALLEY PARKWAY                                                                  ALPHARETTA     GA      30005
ANDERSON CAQUIAS                       ADDRESS ON FILE
ANDERSON DE JESUS ESTREMERA            ADDRESS ON FILE
ANDERSON DE JESUS ESTREMERA            ADDRESS ON FILE
ANDERSON FERNANDEZ, DENISSE M          ADDRESS ON FILE
ANDERSON IRIZARRY VELEZ                ADDRESS ON FILE
ANDERSON LAUREANO JIMENEZ              ADDRESS ON FILE
ANDERSON MD, RICHARD                   ADDRESS ON FILE
ANDERSON MILLAN, NELIDA                ADDRESS ON FILE
ANDERSON PICA, DEBORAH                 ADDRESS ON FILE
ANDERSON QUINONES LUGO                 ADDRESS ON FILE
ANDERSON R FELIZ MATEO                 ADDRESS ON FILE
ANDERSON RATCLIFFE, FREDERICK ARTHUR   ADDRESS ON FILE
ANDERSON RIVERA CRUZ                   ADDRESS ON FILE
Anderson Rivera, Deborah R             ADDRESS ON FILE
ANDERSON SANTIAGO, WILLIAM R           ADDRESS ON FILE
ANDERSON TORRES VAZQUEZ                ADDRESS ON FILE
Anderson Villafane, Dalvin             ADDRESS ON FILE
ANDERSON YEPEZ, FRANK                  ADDRESS ON FILE
ANDERSON, EVELYN                       ADDRESS ON FILE
ANDERSON, MAGGIE                       ADDRESS ON FILE
ANDFRAN INC                            ASHFORD MEDICAL CENTER         29 WASHINGTON ST STE 409                                       SAN JUAN       PR      000907‐1503
ANDICULA CALDERON, GUILLERMO           ADDRESS ON FILE
ANDIEJAR MEDINA, ANGEL                 ADDRESS ON FILE
ANDINO ABRIL, JOSE                     ADDRESS ON FILE
ANDINO ALDARONDO, CARLOS               ADDRESS ON FILE
ANDINO ALEJANDRO, VICTOR               ADDRESS ON FILE
ANDINO ALGARIN, ADA N                  ADDRESS ON FILE
ANDINO ALICEA, ANIBAL                  ADDRESS ON FILE
ANDINO ALICEA, LOURDES                 ADDRESS ON FILE
ANDINO ALICEA, LUCIANA                 ADDRESS ON FILE
ANDINO ALICEA, NORMA                   ADDRESS ON FILE
ANDINO ALVAREZ, DORIBELLE              ADDRESS ON FILE
Andino Alvarez, Efrain                 ADDRESS ON FILE
ANDINO ALVAREZ, GLORIBELLE             ADDRESS ON FILE
ANDINO ALVAREZ, IRIS M                 ADDRESS ON FILE
ANDINO AMADOR, GLADYS M.               ADDRESS ON FILE
ANDINO AMADOR, IRIS M.                 ADDRESS ON FILE
ANDINO AMADOR, IRIS M.                 ADDRESS ON FILE
ANDINO AMARO, YARILYS                  ADDRESS ON FILE
ANDINO ANDINO, EMILIO                  ADDRESS ON FILE
ANDINO ANDINO, JORGE                   ADDRESS ON FILE
ANDINO ANDINO, SAUL                    ADDRESS ON FILE
ANDINO ANDINO, VICTOR                  ADDRESS ON FILE
ANDINO ANGLADA, JONATHAN               ADDRESS ON FILE
ANDINO APONTE, HECTOR                  ADDRESS ON FILE
ANDINO ARROYO, CARMEN E                ADDRESS ON FILE
ANDINO AYALA, CARLOS                   ADDRESS ON FILE
ANDINO AYALA, CARLOS A                 ADDRESS ON FILE
ANDINO AYALA, FRANCISCA                ADDRESS ON FILE
ANDINO AYALA, GLORIA E                 ADDRESS ON FILE
ANDINO AYALA, GRISELL                  ADDRESS ON FILE
ANDINO AYALA, JOSE A                   ADDRESS ON FILE
ANDINO AYALA, JOSE A                   ADDRESS ON FILE




                                                                                                 Page 395 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 396 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDINO AYALA, JUAN J          ADDRESS ON FILE
ANDINO AYALA, LUISA I.        ADDRESS ON FILE
ANDINO BADILLA, YAMIL         ADDRESS ON FILE
ANDINO BAEZ, ROSA N           ADDRESS ON FILE
ANDINO BARRETO, VICTOR M      ADDRESS ON FILE
ANDINO BERMEJO, ELISAMUEL     ADDRESS ON FILE
ANDINO BERMUDEZ, YASHIRA M.   ADDRESS ON FILE
ANDINO BERMUDEZ, ZULAI Y.     ADDRESS ON FILE
ANDINO BERTIEAUX, VICTOR      ADDRESS ON FILE
ANDINO BURGOS, JOSE           ADDRESS ON FILE
ANDINO CABRERA, ARACELIS      ADDRESS ON FILE
ANDINO CABRERA, JESSICA       ADDRESS ON FILE
ANDINO CALDERON, CLARA        ADDRESS ON FILE
ANDINO CALDERON, FELIX        ADDRESS ON FILE
Andino Calderon, Freddie      ADDRESS ON FILE
ANDINO CALDERON, JEAN K.      ADDRESS ON FILE
ANDINO CAMACHO, MIGUEL        ADDRESS ON FILE
ANDINO CAMILO, ANGEL          ADDRESS ON FILE
Andino Cancel, Edgar          ADDRESS ON FILE
ANDINO CARDE, LERIANNE        ADDRESS ON FILE
Andino Castro, Gil            ADDRESS ON FILE
ANDINO CATALAN, FLORA         ADDRESS ON FILE
ANDINO CEDENO, CARMEN J       ADDRESS ON FILE
ANDINO CEDENO, JESUS M        ADDRESS ON FILE
ANDINO CINTRON, AIDA M        ADDRESS ON FILE
Andino Cintron, Javier A.     ADDRESS ON FILE
ANDINO CINTRON, LUIS          ADDRESS ON FILE
ANDINO CLAUDIO, NEREIDA       ADDRESS ON FILE
ANDINO CLEMENTE, VANESSA      ADDRESS ON FILE
ANDINO COLLAZO, ANGEL         ADDRESS ON FILE
ANDINO COLON, AUREA E         ADDRESS ON FILE
ANDINO COLON, GETHZAIDA       ADDRESS ON FILE
ANDINO COLON, MILAGROS        ADDRESS ON FILE
ANDINO COLON, NADIA           ADDRESS ON FILE
ANDINO CONCEPCION, DAISY M.   ADDRESS ON FILE
ANDINO COTTO, INES            ADDRESS ON FILE
Andino Cruz, Abel A           ADDRESS ON FILE
ANDINO CRUZ, CARLOS M         ADDRESS ON FILE
ANDINO CRUZ, LUIS             ADDRESS ON FILE
Andino Cruz, Luis O           ADDRESS ON FILE
ANDINO CRUZ, RIGOBERTO        ADDRESS ON FILE
ANDINO CRUZ, VANESSA          ADDRESS ON FILE
ANDINO CRUZADO, RAQUEL        ADDRESS ON FILE
ANDINO CURET, JOSE A          ADDRESS ON FILE
ANDINO DAVILA, AINE           ADDRESS ON FILE
ANDINO DAVILA, ANDREA         ADDRESS ON FILE
Andino Davila, Ivette M       ADDRESS ON FILE
ANDINO DE JESUS, CARMEN S     ADDRESS ON FILE
ANDINO DE JESUS, CLARA        ADDRESS ON FILE
ANDINO DE JESUS, NYDIA M.     ADDRESS ON FILE
ANDINO DEL VALLE, DANIEL      ADDRESS ON FILE
ANDINO DEL VALLE, DANIEL      ADDRESS ON FILE
ANDINO DEL VALLE, ERIC        ADDRESS ON FILE
ANDINO DELBREY, FRANCES       ADDRESS ON FILE
ANDINO DELGADO, ALEJA         ADDRESS ON FILE
ANDINO DELGADO, CARMEN I.     ADDRESS ON FILE
ANDINO DELGADO, GLORIA        ADDRESS ON FILE
ANDINO DELGADO, SAMARIA       ADDRESS ON FILE
ANDINO DELGADO, SARIAN        ADDRESS ON FILE
ANDINO DIAZ, ALBERTO          ADDRESS ON FILE




                                                                          Page 396 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 397 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDINO DIAZ, GLENDA M.        ADDRESS ON FILE
ANDINO DIAZ, IRIS N           ADDRESS ON FILE
ANDINO DIAZ, YASHIRA          ADDRESS ON FILE
ANDINO ESCALERA, WANDA I.     ADDRESS ON FILE
ANDINO ESCUTE, GERMAN         ADDRESS ON FILE
ANDINO ESPINOZA, JOHN J.      ADDRESS ON FILE
ANDINO FEBRES, YARITZA        ADDRESS ON FILE
ANDINO FEBRES, YARITZA        ADDRESS ON FILE
ANDINO FELIX, JAQUELINE       ADDRESS ON FILE
ANDINO FERNANDEZ, BLANCA I    ADDRESS ON FILE
ANDINO FERNANDEZ, NIXZA       ADDRESS ON FILE
ANDINO FIGUEORA, JULIANA      ADDRESS ON FILE
ANDINO FIGUEROA, EDNA L       ADDRESS ON FILE
ANDINO FIGUEROA, JAIME        ADDRESS ON FILE
ANDINO FIGUEROA, JULIANA      ADDRESS ON FILE
ANDINO FIGUEROA, JYLCANID     ADDRESS ON FILE
ANDINO FLORAN, ABDIEL         ADDRESS ON FILE
ANDINO FLORES, JENNIFFER      ADDRESS ON FILE
ANDINO FUENTES, ILEANA        ADDRESS ON FILE
ANDINO FUENTES, SHEILA        ADDRESS ON FILE
ANDINO GARAY, JOEL            ADDRESS ON FILE
ANDINO GARCIA, CARLOS         ADDRESS ON FILE
ANDINO GARCIA, DAVID          ADDRESS ON FILE
ANDINO GARCIA, HIRAM          ADDRESS ON FILE
ANDINO GARCIA, JESUS          ADDRESS ON FILE
Andino Garcia, Luis A         ADDRESS ON FILE
ANDINO GARCIA, MARIA          ADDRESS ON FILE
ANDINO GARCIA, MARIANITA      ADDRESS ON FILE
ANDINO GARCIA, PEDRO          ADDRESS ON FILE
ANDINO GARCIA, RAFAEL C       ADDRESS ON FILE
ANDINO GAUTIER, DIAMAR        ADDRESS ON FILE
ANDINO GONZALEZ, ALBERTO R.   ADDRESS ON FILE
ANDINO GONZALEZ, CARLOS       ADDRESS ON FILE
ANDINO GONZALEZ, DELIA        ADDRESS ON FILE
ANDINO GONZALEZ, HERBEL       ADDRESS ON FILE
ANDINO GONZALEZ, IRMA A       ADDRESS ON FILE
ANDINO GONZALEZ, JEREMIAS     ADDRESS ON FILE
ANDINO GONZALEZ, MARITZA      ADDRESS ON FILE
Andino Gonzalez, Wanda Liz    ADDRESS ON FILE
ANDINO GONZALEZ, YAHAIRA      ADDRESS ON FILE
ANDINO GONZALEZ, YORNELIZ     ADDRESS ON FILE
ANDINO GORDILLO, JONATHAN     ADDRESS ON FILE
ANDINO GOTAY, IRVIN A.        ADDRESS ON FILE
ANDINO GOTAY, IRVING A        ADDRESS ON FILE
ANDINO GUZMAN, SANDRA         ADDRESS ON FILE
ANDINO HERNANDEZ, GENESIS L   ADDRESS ON FILE
ANDINO HERNANDEZ, MARIBEL     ADDRESS ON FILE
ANDINO HERNANDEZ, MARY L      ADDRESS ON FILE
ANDINO HERNANDEZ, NELSON      ADDRESS ON FILE
ANDINO HERRERA, YOLANDA       ADDRESS ON FILE
ANDINO HUERTAS, EDWIN         ADDRESS ON FILE
ANDINO HUERTAS, ORLANDO       ADDRESS ON FILE
ANDINO ISAAC, MIRIAM          ADDRESS ON FILE
ANDINO ISAAC, NILKA           ADDRESS ON FILE
ANDINO LABOY, JULIA M         ADDRESS ON FILE
ANDINO LABOY, ROVER           ADDRESS ON FILE
ANDINO LAGO, ANA V.           ADDRESS ON FILE
ANDINO LAGO, ANGELES DE L     ADDRESS ON FILE
ANDINO LAGO, CARMEN I         ADDRESS ON FILE
ANDINO LANDRAU, KAREM         ADDRESS ON FILE




                                                                          Page 397 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 398 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDINO LANDRAU, MARITZA      ADDRESS ON FILE
ANDINO LIND, CARMEN          ADDRESS ON FILE
ANDINO LLANO, CARLOTA        ADDRESS ON FILE
ANDINO LLANO, NILDA          ADDRESS ON FILE
ANDINO LLANOS, CARMEN M      ADDRESS ON FILE
ANDINO LLANOS, IRENE         ADDRESS ON FILE
ANDINO LLANOS, ZAIDA         ADDRESS ON FILE
ANDINO LOPEZ, ADRIAN         ADDRESS ON FILE
ANDINO LOPEZ, AIDYN          ADDRESS ON FILE
ANDINO LOPEZ, AIXA           ADDRESS ON FILE
ANDINO LOPEZ, ALIZ C         ADDRESS ON FILE
ANDINO LOPEZ, ANGEL          ADDRESS ON FILE
ANDINO LOPEZ, CARLOS         ADDRESS ON FILE
ANDINO LOPEZ, DAISY          ADDRESS ON FILE
ANDINO LOPEZ, EFREN E        ADDRESS ON FILE
ANDINO LOPEZ, FELIX          ADDRESS ON FILE
Andino Lopez, Francisca      ADDRESS ON FILE
ANDINO LOPEZ, IRMA           ADDRESS ON FILE
ANDINO LOPEZ, IVETTE         ADDRESS ON FILE
ANDINO LOPEZ, JONATHAN       ADDRESS ON FILE
Andino Lopez, Ramona         ADDRESS ON FILE
ANDINO LOPEZ, STACY          ADDRESS ON FILE
ANDINO LUGO, OSCAR           ADDRESS ON FILE
ANDINO LUVIS, IVELISSE       ADDRESS ON FILE
ANDINO MALDONADO, CHARLIE    ADDRESS ON FILE
ANDINO MALDONADO, MILAGROS   ADDRESS ON FILE
ANDINO MARCANO, ELVIRA       ADDRESS ON FILE
ANDINO MARQUEZ, CARLOS       ADDRESS ON FILE
ANDINO MARQUEZ, JESUS        ADDRESS ON FILE
ANDINO MARTINEZ, PEDRO       ADDRESS ON FILE
ANDINO MARTINEZ, SONLYS      ADDRESS ON FILE
ANDINO MATOS, ALEXIS         ADDRESS ON FILE
ANDINO MATOS, JONATHAN       ADDRESS ON FILE
ANDINO MATOS, MARIELY        ADDRESS ON FILE
ANDINO MATOS, MARIELY        ADDRESS ON FILE
ANDINO MATOS, MARLYN Y.      ADDRESS ON FILE
ANDINO MEDINA, CARLOS        ADDRESS ON FILE
ANDINO MEDINA, DIANA         ADDRESS ON FILE
ANDINO MEDINA, ELMER         ADDRESS ON FILE
ANDINO MEDINA, HECTOR L      ADDRESS ON FILE
Andino Medina, Luis          ADDRESS ON FILE
ANDINO MELENDEZ, RAMON       ADDRESS ON FILE
ANDINO MELENDEZ, ROBERTO     ADDRESS ON FILE
ANDINO MENDEZ, MELVIN        ADDRESS ON FILE
ANDINO MENDEZ, VIMARY        ADDRESS ON FILE
ANDINO MENDEZ, VIRGILIO      ADDRESS ON FILE
ANDINO MERCADO,VERONICA      ADDRESS ON FILE
ANDINO MONTANEZ, AIXA        ADDRESS ON FILE
ANDINO MONTANEZ, ALIXA       ADDRESS ON FILE
ANDINO MONTANEZ, ANTONIO     ADDRESS ON FILE
ANDINO MONTANEZ, MARIA E     ADDRESS ON FILE
ANDINO MONTANEZ, MIGUEL      ADDRESS ON FILE
ANDINO MONTILLA, JENNIFER    ADDRESS ON FILE
ANDINO MORALES, JUAN         ADDRESS ON FILE
ANDINO MORALES, MARIBEL      ADDRESS ON FILE
ANDINO MORALES, MARIELIE     ADDRESS ON FILE
ANDINO MORALES, SALOME       ADDRESS ON FILE
ANDINO MORENO, LUISA         ADDRESS ON FILE
ANDINO MORENO, MARIA E       ADDRESS ON FILE
ANDINO MORENO,MIRIAM         ADDRESS ON FILE




                                                                         Page 398 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 399 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDINO NEVAREZ, MARGARITA    ADDRESS ON FILE
ANDINO NIEVES, CANDIDO       ADDRESS ON FILE
Andino Nieves, Carmen        ADDRESS ON FILE
ANDINO NIEVES, JOSE          ADDRESS ON FILE
ANDINO NIEVES, VICTOR        ADDRESS ON FILE
ANDINO NOGUERAS, ISSET V     ADDRESS ON FILE
ANDINO NOGUERAS, JOSE J      ADDRESS ON FILE
ANDINO NOGUERAS, JUAN J      ADDRESS ON FILE
ANDINO NORAT, ESTEBAN        ADDRESS ON FILE
ANDINO NUNEZ, MARIBEL        ADDRESS ON FILE
Andino Ocasio, Josue         ADDRESS ON FILE
ANDINO OCASIO, JOSUE         ADDRESS ON FILE
ANDINO OLIVO, SAMUEL         ADDRESS ON FILE
ANDINO ORTA, CARMEN          ADDRESS ON FILE
ANDINO ORTA, CARMEN A.       ADDRESS ON FILE
ANDINO ORTIZ, AIDYLIA        ADDRESS ON FILE
ANDINO ORTIZ, ANAXCEL        ADDRESS ON FILE
Andino Ortiz, Edwin          ADDRESS ON FILE
ANDINO ORTIZ, GABRIEL        ADDRESS ON FILE
Andino Ortiz, Juan A         ADDRESS ON FILE
ANDINO ORTIZ, JUAN J         ADDRESS ON FILE
ANDINO ORTIZ, JULIO L        ADDRESS ON FILE
ANDINO ORTIZ, MARIA          ADDRESS ON FILE
ANDINO ORTIZ, NESTOR         ADDRESS ON FILE
ANDINO ORTIZ, PEDRO L        ADDRESS ON FILE
ANDINO PABON, PATRICIA       ADDRESS ON FILE
ANDINO PADILLA, MAGDA        ADDRESS ON FILE
ANDINO PAGAN, ILEANA         ADDRESS ON FILE
ANDINO PAGAN, IRIS A.        ADDRESS ON FILE
ANDINO PAGAN, YOMARA         ADDRESS ON FILE
ANDINO PEREIRA, LUZ          ADDRESS ON FILE
ANDINO PEREZ, BARBARA        ADDRESS ON FILE
ANDINO PEREZ, JULIO R        ADDRESS ON FILE
ANDINO PEREZ, KRIZIA         ADDRESS ON FILE
ANDINO PEREZ, LUIS           ADDRESS ON FILE
ANDINO PEREZ, MIRTA J        ADDRESS ON FILE
ANDINO PEREZ, VICTOR         ADDRESS ON FILE
ANDINO PIZARRO, FERNANDO     ADDRESS ON FILE
ANDINO PIZARRO, GLADYS I     ADDRESS ON FILE
ANDINO PLAZA, CARLOS         ADDRESS ON FILE
ANDINO PLAZA, CARLOS H.      ADDRESS ON FILE
ANDINO PONCE, ROLANDO        ADDRESS ON FILE
ANDINO PRATTS, AIDA          ADDRESS ON FILE
ANDINO QUILES, BRENDA        ADDRESS ON FILE
ANDINO QUINONES, AMALIA      ADDRESS ON FILE
Andino Quinones, Francisco   ADDRESS ON FILE
ANDINO QUINONES, NESTOR      ADDRESS ON FILE
ANDINO QUINTANA, WANDA I     ADDRESS ON FILE
ANDINO RAMOS, ANGEL G        ADDRESS ON FILE
ANDINO RAMOS, JORGE          ADDRESS ON FILE
ANDINO RAMOS, MARGARITA      ADDRESS ON FILE
ANDINO RAMOS, OLGA           ADDRESS ON FILE
ANDINO REYES, ANA D          ADDRESS ON FILE
ANDINO REYES, ELIZABETH      ADDRESS ON FILE
ANDINO REYES, ELIZABETH      ADDRESS ON FILE
ANDINO REYES, NIVIA I.       ADDRESS ON FILE
ANDINO REYES, RAFAEL         ADDRESS ON FILE
ANDINO RIVAS, JOSE           ADDRESS ON FILE
ANDINO RIVAS, MARIA M        ADDRESS ON FILE
ANDINO RIVERA, ADA L.        ADDRESS ON FILE




                                                                         Page 399 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 400 of 3500
                                                                                   Creditor Matrix

Creditor Name                 Address1                       Address2                           Address3   Address4   City         State   PostalCode   Country
ANDINO RIVERA, ANTONIO        ADDRESS ON FILE
ANDINO RIVERA, ANTONIO        ADDRESS ON FILE
ANDINO RIVERA, CARMEN J       ADDRESS ON FILE
ANDINO RIVERA, DEBORAH        ADDRESS ON FILE
ANDINO RIVERA, DELIA          ADDRESS ON FILE
ANDINO RIVERA, DIEGA          ADDRESS ON FILE
ANDINO RIVERA, DINEIDA        ADDRESS ON FILE
ANDINO RIVERA, ELBA           ADDRESS ON FILE
ANDINO RIVERA, ELBA D.        ADDRESS ON FILE
ANDINO RIVERA, HIPOLITA       ADDRESS ON FILE
ANDINO RIVERA, JESSICA I      ADDRESS ON FILE
ANDINO RIVERA, JUAN           ADDRESS ON FILE
Andino Rivera, Julio          ADDRESS ON FILE
ANDINO RIVERA, LUIS           ADDRESS ON FILE
ANDINO RIVERA, LUIS           ADDRESS ON FILE
Andino Rivera, Magdalena      ADDRESS ON FILE
ANDINO RIVERA, MARGARITA      ADDRESS ON FILE
ANDINO RIVERA, MARIA          ADDRESS ON FILE
ANDINO RIVERA, MARIA L        ADDRESS ON FILE
ANDINO RIVERA, MARLENE        ADDRESS ON FILE
Andino Rivera, Marlene E.     ADDRESS ON FILE
ANDINO RIVERA, MITCHEL        ADDRESS ON FILE
ANDINO RIVERA, RAMON          ADDRESS ON FILE
ANDINO RIVERA, RAMON L        ADDRESS ON FILE
ANDINO RIVERA, RAMON LUIS     ADDRESS ON FILE
ANDINO RIVERA, SAURIA M       ADDRESS ON FILE
ANDINO RIVERA, YAZMIN         ADDRESS ON FILE
ANDINO RIVERA, ZORAIDA        ADDRESS ON FILE
Andino Robles, Alexis         ADDRESS ON FILE
Andino Robles, Jessica        ADDRESS ON FILE
ANDINO ROBLES, JESSICA        ADDRESS ON FILE
ANDINO RODRIGUEZ, ADA I.      ADDRESS ON FILE
ANDINO RODRIGUEZ, BRENDA      ADDRESS ON FILE
ANDINO RODRIGUEZ, JUANITA     ADDRESS ON FILE
ANDINO RODRIGUEZ, JULIO       ADDRESS ON FILE
ANDINO RODRIGUEZ, LUIS R.     ADDRESS ON FILE
ANDINO RODRIGUEZ, MINERVA     ADDRESS ON FILE
ANDINO RODRIGUEZ, MOISES      ADDRESS ON FILE
ANDINO RODRIGUEZ, RAMON       ADDRESS ON FILE
ANDINO RODRIGUEZ, RAMON       ADDRESS ON FILE
ANDINO RODRIGUEZ, TOMMY       ADDRESS ON FILE
ANDINO RODRIGUEZ, VICTOR A.   ADDRESS ON FILE
ANDINO RODRIGUEZ, WALDEMAR    ADDRESS ON FILE
Andino Rodriguez, Willmary    ADDRESS ON FILE
ANDINO ROHENA, ANA MILAGROS   ADDRESS ON FILE
Andino Rohena, Julio          ADDRESS ON FILE
ANDINO ROMAN, IRVING          ADDRESS ON FILE
ANDINO ROMAN, JUANITA         ADDRESS ON FILE
ANDINO ROMAN, KENNETH         ADDRESS ON FILE
ANDINO ROMAN, VICTOR          LIC. TORRES VALENTÍN, JOSÉ E   CALLE GEORGETTI 78                                       SAN JUAN     PR      00925
ANDINO ROMAN, VICTOR R        ADDRESS ON FILE
ANDINO ROSA, EDNA             ADDRESS ON FILE
ANDINO ROSA, IRNARIE          ADDRESS ON FILE
ANDINO ROSADO, CLOTILDE       ADDRESS ON FILE
ANDINO ROSADO, DAMIAN         ADDRESS ON FILE
ANDINO ROSADO, LIZBELLE       ADDRESS ON FILE
ANDINO ROSADO, MARIA I        ADDRESS ON FILE
ANDINO ROSADO, MARIA M        ADDRESS ON FILE
ANDINO ROSARIO, MILDRED       ADDRESS ON FILE
ANDINO RUIZ, LIZMARIE         ADDRESS ON FILE




                                                                                  Page 400 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 401 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDINO SABATER, ANGELA          ADDRESS ON FILE
ANDINO SABATER, CARMEN M        ADDRESS ON FILE
ANDINO SALAMAN, JESS M.         ADDRESS ON FILE
ANDINO SALAMAN, RAFAEL A        ADDRESS ON FILE
Andino Salgado, Victor R        ADDRESS ON FILE
ANDINO SANCHEZ, CARMELO         ADDRESS ON FILE
ANDINO SANCHEZ, GRACE MARIE     ADDRESS ON FILE
ANDINO SANCHEZ, JOSUE           ADDRESS ON FILE
ANDINO SANCHEZ, MARIA           ADDRESS ON FILE
ANDINO SANCHEZ, PABLO           ADDRESS ON FILE
Andino Sanchez, Richard         ADDRESS ON FILE
ANDINO SANCHEZ, WILLIAM         ADDRESS ON FILE
ANDINO SANTANA, ANA             ADDRESS ON FILE
ANDINO SANTANA, DENISE M        ADDRESS ON FILE
ANDINO SANTANA, JOSE            ADDRESS ON FILE
Andino Santana, Jose C          ADDRESS ON FILE
Andino Santana, Jose C.         ADDRESS ON FILE
ANDINO SANTANA, JOSE L          ADDRESS ON FILE
ANDINO SANTIAGO, BLANCA I       ADDRESS ON FILE
ANDINO SANTIAGO, CARMEN M.      ADDRESS ON FILE
ANDINO SANTIAGO, CELESTE        ADDRESS ON FILE
ANDINO SANTIAGO, ISABEL         ADDRESS ON FILE
ANDINO SANTIAGO, JUAN           ADDRESS ON FILE
ANDINO SANTIAGO, LISA           ADDRESS ON FILE
ANDINO SANTIAGO, NESTOR         ADDRESS ON FILE
ANDINO SANTIAGO, SINDY Y.       ADDRESS ON FILE
ANDINO SANTIAGO, WANDA          ADDRESS ON FILE
ANDINO SANTIAGO, YOLANDA        ADDRESS ON FILE
ANDINO SEDA, VANESSA            ADDRESS ON FILE
ANDINO SOLER, LILLIAM           ADDRESS ON FILE
ANDINO SOLIS, AUREA E.          ADDRESS ON FILE
ANDINO SORIANO, OLGA            ADDRESS ON FILE
ANDINO SOTO, OBDIEL             ADDRESS ON FILE
ANDINO TAPIA, D'LENNYS J        ADDRESS ON FILE
ANDINO TAPIA, MOISES            ADDRESS ON FILE
ANDINO TAPIA, RUTH E            ADDRESS ON FILE
ANDINO TAPIA, VICTOR            ADDRESS ON FILE
ANDINO TAPIA, ZELMA L           ADDRESS ON FILE
ANDINO TIRADO, STACEY I         ADDRESS ON FILE
ANDINO TIRADO, STACEY I         ADDRESS ON FILE
ANDINO TORRECH, MILAGROS        ADDRESS ON FILE
ANDINO TORRES, ANTONIO          ADDRESS ON FILE
ANDINO TORRES, CARLOS           ADDRESS ON FILE
ANDINO TORRES, DANIEL           ADDRESS ON FILE
ANDINO TORRES, ELIEZER          ADDRESS ON FILE
ANDINO TORRES, MARCO A          ADDRESS ON FILE
ANDINO TORRES, MARCO A          ADDRESS ON FILE
ANDINO TORRES, MATILDE          ADDRESS ON FILE
ANDINO TORRES, SHAKYRA          ADDRESS ON FILE
ANDINO TORRES, YOLANDA          ADDRESS ON FILE
ANDINO TOWING SERVICES          VILLA GUADALUPE           GG19 CALLE 19                                          CAGUAS       PR      00725‐4060
ANDINO TREMOLS, ROBERTO JARED   ADDRESS ON FILE
ANDINO TRINIDAD, NELSON         ADDRESS ON FILE
ANDINO VARGAS, JOSE             ADDRESS ON FILE
ANDINO VARGAS, KAROL I          ADDRESS ON FILE
ANDINO VAZQUE Z, MARIANA        ADDRESS ON FILE
ANDINO VAZQUEZ, ALEJA           ADDRESS ON FILE
ANDINO VAZQUEZ, ELIZABETH       ADDRESS ON FILE
ANDINO VAZQUEZ, ENRIQUE         ADDRESS ON FILE
ANDINO VAZQUEZ, FELIX           ADDRESS ON FILE




                                                                            Page 401 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 402 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDINO VAZQUEZ, FELIX C             ADDRESS ON FILE
ANDINO VAZQUEZ, FRANCISCO           ADDRESS ON FILE
ANDINO VAZQUEZ, JULIA               ADDRESS ON FILE
ANDINO VAZQUEZ, LUISA               ADDRESS ON FILE
ANDINO VAZQUEZ, MODESTO             ADDRESS ON FILE
ANDINO VAZQUEZ, YOLANDA             ADDRESS ON FILE
ANDINO VEGA, LUIS A.                ADDRESS ON FILE
ANDINO VEGA, PEDRO                  ADDRESS ON FILE
Andino Velazquez, Felix C           ADDRESS ON FILE
ANDINO VELAZQUEZ, MIGUEL A          ADDRESS ON FILE
ANDINO VELEZ, JULIO JOSE            ADDRESS ON FILE
ANDINO VELEZ, MARIANELA             ADDRESS ON FILE
ANDINO VELEZ, MIGUEL                ADDRESS ON FILE
ANDINO VELEZ, OSCAR L               ADDRESS ON FILE
ANDINO VERGARA, CARMEN              ADDRESS ON FILE
ANDINO VERGARA, CELIA               ADDRESS ON FILE
ANDINO VERGARA, DIGNA E             ADDRESS ON FILE
ANDINO VERGARA, JUANITA             ADDRESS ON FILE
ANDINO VERGARA, SANTA               ADDRESS ON FILE
ANDINO VIERA, LESLIEN K             ADDRESS ON FILE
ANDINO VIGO, CARMEN                 ADDRESS ON FILE
Andino Vigo, Luisa M                ADDRESS ON FILE
ANDINO VILLANUEVA, ELIU             ADDRESS ON FILE
ANDINO VILLEGA, FREDDIE             ADDRESS ON FILE
ANDINO, BLENDA                      ADDRESS ON FILE
ANDINO, IVIA                        ADDRESS ON FILE
ANDINO, JOSE ABRAHAM                ADDRESS ON FILE
ANDINO, NICOLAS B.                  ADDRESS ON FILE
Andino‐Garcia, Lucia                ADDRESS ON FILE
ANDISHALLY CRUZ LEBRON              ADDRESS ON FILE
ANDOLZ CUEBAS, MYRNA                ADDRESS ON FILE
ANDON SANCHEZ, NELIDA               ADDRESS ON FILE
ANDON SANCHEZ, NELIDA               ADDRESS ON FILE
ANDOVER SURGICAL ASSOCIATES INC     140 HAVERHILL STREET                                                             ANDOVER      MA      01810
ANDRACA QUIROGA, ELENA M            ADDRESS ON FILE
ANDRADE GARCIA, WILLIE A            ADDRESS ON FILE
ANDRADE GONZALEZ, LINETTE V         ADDRESS ON FILE
ANDRADE GONZALEZ, MARIAM            ADDRESS ON FILE
ANDRADE GRESS, EDUARDO              ADDRESS ON FILE
ANDRADE MALDONADO, FELIPE           ADDRESS ON FILE
ANDRADE MARTINEZ, LAURA M.          ADDRESS ON FILE
ANDRADE MD, JOSE                    ADDRESS ON FILE
ANDRADE MENA, JOSE                  ADDRESS ON FILE
ANDRADE MORALES, GEORGINA           ADDRESS ON FILE
ANDRADE PIZARRO, ALEXANDRA          ADDRESS ON FILE
ANDRADE RAVELO, JAVIER              ADDRESS ON FILE
ANDRADE RAVELO, MARCOS J.           ADDRESS ON FILE
ANDRADE RIVERA, CARLOS A.           ADDRESS ON FILE
ANDRADE SANTIAGO, MILAGROS E.       ADDRESS ON FILE
ANDRADE TOVAR, CARLOS               ADDRESS ON FILE
ANDRADES ACEVEDO, EDWIN F           ADDRESS ON FILE
ANDRADES ANDINO, WANDA              ADDRESS ON FILE
ANDRADES ANDRADES, AIDA RAQUEL      ADDRESS ON FILE
ANDRADES ANDRADES, AIDA_CARIDAD     ADDRESS ON FILE
ANDRADES BUTTER, MIREYA             ADDRESS ON FILE
ANDRADES CANDELARIA, KEMUEL         ADDRESS ON FILE
ANDRADES CARRASQUILLO, MARITZA I.   ADDRESS ON FILE
ANDRADES CORREA, VEIMA I            ADDRESS ON FILE
ANDRADES COTTO, MARIA M             ADDRESS ON FILE
ANDRADES CRUZ, AILEEN               ADDRESS ON FILE




                                                                                Page 402 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 403 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDRADES DE COSME, JOSEFINA       ADDRESS ON FILE
ANDRADES DE JESUS, CARMEN R       ADDRESS ON FILE
ANDRADES DELGADO, ARIEL           ADDRESS ON FILE
ANDRADES DELGADO, DANIEL          ADDRESS ON FILE
Andrades Diaz, Elvin              ADDRESS ON FILE
ANDRADES GARCIA, ELICELIA         ADDRESS ON FILE
ANDRADES GONZALEZ, KIOMARIE       ADDRESS ON FILE
ANDRADES GONZALEZ, LEGNA          ADDRESS ON FILE
ANDRADES GONZALEZ, LUIS           ADDRESS ON FILE
ANDRADES GUZMAN, GUSTAVO          ADDRESS ON FILE
ANDRADES GUZMAN, GUSTAVO ADOLFO   ADDRESS ON FILE
ANDRADES LABOY, JUANA             ADDRESS ON FILE
ANDRADES LABOY, RUFO              ADDRESS ON FILE
ANDRADES MACHUCA, ANA M.          ADDRESS ON FILE
ANDRADES MACHUCA, HECTOR          ADDRESS ON FILE
ANDRADES MALDONADO, ANA A         ADDRESS ON FILE
ANDRADES MALDONADO, JOSE          ADDRESS ON FILE
Andrades Mantilla, Jose R         ADDRESS ON FILE
ANDRADES MANTILLA, NORBERTO       ADDRESS ON FILE
ANDRADES MELENDEZ, CARMEN         ADDRESS ON FILE
ANDRADES MURIET, ZULEIKA          ADDRESS ON FILE
ANDRADES NAVARRO, GLORIA          ADDRESS ON FILE
ANDRADES ORTIZ, MARILIDZA         ADDRESS ON FILE
ANDRADES ORTIZ, MARTA E           ADDRESS ON FILE
ANDRADES PAGAN, MARITZA           ADDRESS ON FILE
ANDRADES PANIAGUA, EDNA L         ADDRESS ON FILE
ANDRADES PEARSON, EVELYN          ADDRESS ON FILE
ANDRADES PEARSON, EVELYN          ADDRESS ON FILE
ANDRADES PIMENTEL, JOVINO         ADDRESS ON FILE
ANDRADES PORTALATIN, ELISA        ADDRESS ON FILE
ANDRADES PORTALATIN, FAUSTINO     ADDRESS ON FILE
ANDRADES RIOS, PEDRO L            ADDRESS ON FILE
ANDRADES RIVERA, HERMINIO         ADDRESS ON FILE
ANDRADES RIVERA, HERMINIO         ADDRESS ON FILE
ANDRADES RIVERA, JOEL             ADDRESS ON FILE
ANDRADES RIVERA, JOEL             ADDRESS ON FILE
ANDRADES RIVERA, TANIA            ADDRESS ON FILE
ANDRADES ROCHE, DAMARIS           ADDRESS ON FILE
ANDRADES RODRIGUEZ, JOSE M.       ADDRESS ON FILE
ANDRADES RODRIGUEZ, MARIA M       ADDRESS ON FILE
ANDRADES RODRIGUEZ, RAQUEL        ADDRESS ON FILE
ANDRADES ROSARIO, HECTOR A        ADDRESS ON FILE
ANDRADES RUIZ, MIRTA              ADDRESS ON FILE
ANDRADES SANTIAGO, LEVI           ADDRESS ON FILE
ANDRADES TELLERIAS, MARIELIS      ADDRESS ON FILE
ANDRADES VARGAS, JORGE            ADDRESS ON FILE
ANDRADES VARGAS, JORGE            ADDRESS ON FILE
ANDRADESCASTILLO, JUANA           ADDRESS ON FILE
ANDRAUNICK A SIMOUNET ARDIN       ADDRESS ON FILE
ANDRE COLON RODRIGUEZ             ADDRESS ON FILE
ANDRE H PADOVANI MORALES          ADDRESS ON FILE
ANDRE MESA PABON                  ADDRESS ON FILE
ANDRE WHITTENBURG GUZMAN          ADDRESS ON FILE
ANDREA A. RIVERA                  ADDRESS ON FILE
ANDREA ALVARADO CASIANO           ADDRESS ON FILE
ANDREA AYALA CEDENO               ADDRESS ON FILE
ANDREA BURGOS RODRIGUEZ           ADDRESS ON FILE
ANDREA C RUIZ COSTAS              ADDRESS ON FILE
ANDREA CABRERA AGOSTO             ADDRESS ON FILE
ANDREA CAMARENA SAINZ             ADDRESS ON FILE




                                                                              Page 403 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 404 of 3500
                                                                                   Creditor Matrix

Creditor Name                        Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ANDREA CAMARENA SAINZ                ADDRESS ON FILE
ANDREA CARDOZA PADILLA               ADDRESS ON FILE
ANDREA CAROLINA RODRIGUEZ CAEZ       ADDRESS ON FILE
ANDREA CORDERO GARCIA                ADDRESS ON FILE
ANDREA DAFFRA SONCINI                ADDRESS ON FILE
ANDREA DAVILA GARCIA                 ADDRESS ON FILE
ANDREA DE JESUS MELENDEZ             ADDRESS ON FILE
ANDREA DE JESUS QUINONES             ADDRESS ON FILE
ANDREA E MAYSONET/ LIZA E ROMANY     ADDRESS ON FILE
ANDREA E MONTES ENGEL                ADDRESS ON FILE
ANDREA ECHEVARRIA                    ADDRESS ON FILE
ANDREA ESCALERA ESCALERA             ADDRESS ON FILE
ANDREA ESCRIBANO DELGADO             ADDRESS ON FILE
ANDREA ESPADA BERRIOS                ADDRESS ON FILE
ANDREA G DELGADO ZAPATA              ADDRESS ON FILE
ANDREA GARCIA SOLIVERAS              ADDRESS ON FILE
ANDREA GONZALEZ ROMERO               ADDRESS ON FILE
ANDREA HERNANDEZ BERCEDONY           ADDRESS ON FILE
ANDREA HERNANDEZ CHEVERE             ADDRESS ON FILE
ANDREA HOOKS                         ADDRESS ON FILE
ANDREA I NOA ARROYO                  ADDRESS ON FILE
ANDREA I OTERO RIOS                  ADDRESS ON FILE
ANDREA K LUGO FIGUEROA               ADDRESS ON FILE
ANDREA LITTLEFIELD                   ADDRESS ON FILE
ANDREA M AYALA NEGRON                ADDRESS ON FILE
ANDREA M MENDEZ FLORES               ADDRESS ON FILE
ANDREA MALDONADO RODRIGUEZ           ADDRESS ON FILE
ANDREA MALDONADO Y/O BARTOLO MALDONA ADDRESS ON FILE
ANDREA MARTI                         ADDRESS ON FILE
ANDREA MELENDEZ VAZQUEZ              ADDRESS ON FILE
ANDREA MELLADO                       ADDRESS ON FILE
ANDREA MENDEZ                        ADDRESS ON FILE
ANDREA MERCEDES MARTE                ADDRESS ON FILE
ANDREA MONTALVO SANDOVAL             ADDRESS ON FILE
ANDREA NICOLE RIVERA MONTES          ADDRESS ON FILE
ANDREA ORTIZ BAQUERO                 ADDRESS ON FILE
ANDREA ORTIZ DE JESUS                ADDRESS ON FILE
ANDREA ORTIZ RIVERA                  ADDRESS ON FILE
ANDREA P SERRA ROSA / NANETTE M ROSA ADDRESS ON FILE
ANDREA P SERRA ROSA/ NANETTE ROSA    ADDRESS ON FILE
ANDREA PAOLA LOPEZ COLON             ADDRESS ON FILE
ANDREA QUIJADA AGUDO                 ADDRESS ON FILE
ANDREA QUINONES MORALES              ADDRESS ON FILE
ANDREA RAMOS SERRANO                 ADDRESS ON FILE
ANDREA REINA                         ADDRESS ON FILE
ANDREA RIVERA HERNANDEZ              ADDRESS ON FILE
ANDREA RIVERA RIVERA                 ADDRESS ON FILE
ANDREA RIVERA RODRIGUEZ              ADDRESS ON FILE
ANDREA RODRIGUEZ CAMACHO             ADDRESS ON FILE
ANDREA RODRIGUEZ IRIZARRY            ADDRESS ON FILE
ANDREA RODRIGUEZ SANCHEZ             ADDRESS ON FILE
ANDREA ROSA TRINIDAD                 ADDRESS ON FILE
ANDREA S GIOVANNI MARQUEZ            ADDRESS ON FILE
ANDREA SANCHEZ VELAZQUEZ             ADDRESS ON FILE
ANDREA SOSA QUILES                   ADDRESS ON FILE
ANDREA SUREN TIRADO                  ADDRESS ON FILE
ANDREA TEMPESTA                      ADDRESS ON FILE
ANDREA TESTANI VAZQUEZ               ADDRESS ON FILE
ANDREA TORRES PELLOT                 ADDRESS ON FILE
ANDREA V CABRERA BOITEL              ADDRESS ON FILE




                                                                                  Page 404 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 405 of 3500
                                                                                                Creditor Matrix

Creditor Name                          Address1                       Address2                               Address3   Address4   City         State   PostalCode   Country
ANDREA VAZQUEZ SANCHEZ                 ADDRESS ON FILE
ANDREA WALKER RIVERA                   ADDRESS ON FILE
ANDREALIS M CORREA HERNANDEZ           ADDRESS ON FILE
ANDREAS MONTALVO, ALFREDO T            ADDRESS ON FILE
ANDREEU, SERGEI                        ADDRESS ON FILE
ANDREI ALEJANDRO RODRIGUEZ VAZQUEZ     ADDRESS ON FILE
ANDREINA SALGADO MESTRE                ADDRESS ON FILE
ANDREITA RAMOS MARTINEZ                ADDRESS ON FILE
ANDREL NEMCIK TOLEDO                   ADDRESS ON FILE
ANDRES A BAREA TORRES                  ADDRESS ON FILE
ANDRES A BUENO ORENGO                  ADDRESS ON FILE
ANDRES A ESCOBAR MARTINEZ              ADDRESS ON FILE
ANDRES A FUENTES CARRION               ADDRESS ON FILE
ANDRES A GONZALEZ / HIRAM A GONZALEZ   ADDRESS ON FILE
ANDRES A JIMENEZ DE JESUS              ADDRESS ON FILE
ANDRES A MUNOZ BERRIOS                 ADDRESS ON FILE
ANDRES A NUNES CARDONA                 ADDRESS ON FILE
ANDRES A PEREZ CORREA                  ADDRESS ON FILE
ANDRES A QUINONES RAMOS                ADDRESS ON FILE
ANDRES A RIVERA CRUZ                   ADDRESS ON FILE
ANDRES ACEVEDO CAMACHO                 ADDRESS ON FILE
ANDRES ACEVEDO RIVERA                  ADDRESS ON FILE
ANDRES ACOSTA RODRIGUEZ                ADDRESS ON FILE
ANDRES ADORNO AGOSTO                   ADDRESS ON FILE
ANDRES ALGARIN DE LEON                 ADDRESS ON FILE
ANDRES ALVARADO TULL                   ADDRESS ON FILE
ANDRES ALVARADO VEGA                   ADDRESS ON FILE
ANDRES ALVAREZ QUIROGA                 ADDRESS ON FILE
ANDRES AQUINO REYES                    ADDRESS ON FILE
ANDRES AUTO IMPORTS INC                327 CALLE SAN IGNACIO                                                                       MAYAGUEZ     PR      00680
ANDRES BATISTA RUIZ                    ADDRESS ON FILE
ANDRES BAYREX JIMENEZ TORRES           ADDRESS ON FILE
ANDRES BAYREX JIMENEZ TORRES           ADDRESS ON FILE
ANDRES BENITEZ FARGAS                  ADDRESS ON FILE
ANDRES BERRIOS RIVERA                  ADDRESS ON FILE
ANDRES BONILLA CANDELARIA              ADDRESS ON FILE
ANDRES BORGES ADAMES                   ADDRESS ON FILE
ANDRES CARTAGENA DIAZ                  ADDRESS ON FILE
ANDRES CASIANO COLLAZO                 ADDRESS ON FILE
ANDRES CASTRO LANDRAU                  ADDRESS ON FILE
ANDRES CASTRO TORRES                   ADDRESS ON FILE
ANDRES CEDENO RIVERA                   ADDRESS ON FILE
ANDRES CERMENO CLAS                    ADDRESS ON FILE
ANDRES CINTRON CORTES                  ADDRESS ON FILE
ANDRES CLARKE VIVES                    ADDRESS ON FILE
ANDRES COLON BERNIER                   ADDRESS ON FILE
ANDRES COLON OCASIO                    ADDRESS ON FILE
ANDRES COLON PEREZ                     ADDRESS ON FILE
ANDRES COLON RIVERA                    ADDRESS ON FILE
ANDRES COLON ROMAN                     ADDRESS ON FILE
ANDRES COLON ROSADO                    ADDRESS ON FILE
ANDRES CONCEPCION LIZARDI              ADDRESS ON FILE
ANDRES CONCEPCION ORTIZ                ADDRESS ON FILE
ANDRES CONCEPCION ORTIZ                ADDRESS ON FILE
ANDRES CORA CORA                       ADDRESS ON FILE
ANDRES COTTO HERNANDEZ                 ADDRESS ON FILE
ANDRES CRUZ RODRIGUEZ                  ADDRESS ON FILE
ANDRES CRUZ RODRIGUEZ                  ADDRESS ON FILE
ANDRES CRUZ VELEZ                      ADDRESS ON FILE
ANDRÉS DELANOY SUÁREZ                  LCDO. LUIS QUIÑONES GONZALEZ   1295 AVE. MUÑOZ RIVERA                 STE 3                 PONCE        PR      00717‐0723




                                                                                               Page 405 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 406 of 3500
                                                                                     Creditor Matrix

Creditor Name                     Address1                            Address2                    Address3   Address4   City         State   PostalCode   Country
ANDRES DELGADO LEBRON             ADDRESS ON FILE
ANDRES DELUCCHI OLIVARES          LCDA. NYDIA E. RODRIGUEZ MARTINEZ   PO BOX 4155                                       CAROLINA     PR      00984‐4155
ANDRES DIAZ LOPEZ                 ADDRESS ON FILE
ANDRES DIAZ MARELL                ADDRESS ON FILE
ANDRES DIAZ RAMOS                 ADDRESS ON FILE
ANDRES DIAZ TORRES                ADDRESS ON FILE
ANDRES DOMINICC RODRIGUEZ         ADDRESS ON FILE
ANDRES E BORRERO MENDOZA          ADDRESS ON FILE
ANDRES E GONZALEZ GARCIA          ADDRESS ON FILE
ANDRES E ORSINI ROLDOS            ADDRESS ON FILE
ANDRES E RUIZ GODEN               ADDRESS ON FILE
ANDRES E SUSTACHE CAMACHO         ADDRESS ON FILE
ANDRES E. BORRERO MENDOZA         ADDRESS ON FILE
ANDRES ESPINOSA QUINONES          ADDRESS ON FILE
ANDRES F MARQUEZ SOLIVAN          ADDRESS ON FILE
ANDRES F QUINONES VIZCARRONDO     ADDRESS ON FILE
ANDRES F SANFELIU VERA            ADDRESS ON FILE
ANDRES FELICIANO FIGUEROA         ADDRESS ON FILE
ANDRES FIGUEROA DIAZ              ADDRESS ON FILE
ANDRES FLORES ORTIZ               ADDRESS ON FILE
ANDRES FORERO GONZALEZ            ADDRESS ON FILE
ANDRES FORTUNA GARCIA             ADDRESS ON FILE
ANDRES G AVILES RAMOS             ADDRESS ON FILE
ANDRES G OCASIO NEGRON            ADDRESS ON FILE
ANDRES G RODRIGUEZ FERNANDEZ      ADDRESS ON FILE
ANDRES G. EISELE FLORES           ADDRESS ON FILE
ANDRES GARCIA ESCALERA            ADDRESS ON FILE
ANDRES GASTON GARCIA              ADDRESS ON FILE
ANDRES GOMEZ TORRES               ADDRESS ON FILE
ANDRES GONGON COLON               ADDRESS ON FILE
ANDRES GONZALEZ BERDECIA          ADDRESS ON FILE
ANDRES GONZALEZ GARCIA            ADDRESS ON FILE
ANDRES GONZALEZ NEGRON            ADDRESS ON FILE
ANDRES GONZALEZ RAMIREZ           ADDRESS ON FILE
ANDRES GONZALEZ SOLIS             ADDRESS ON FILE
ANDRES GONZALEZ TORRES            ADDRESS ON FILE
ANDRES GONZALEZ VAZQUEZ           ADDRESS ON FILE
ANDRES GORGAS RODRIGUEZ           ADDRESS ON FILE
ANDRES GOTAY FIGUEROA             ADDRESS ON FILE
ANDRES GUERRA GUERRA              ADDRESS ON FILE
ANDRES GUERRA MONDRAGON           ADDRESS ON FILE
ANDRES GUILLEN MILAN              ADDRESS ON FILE
ANDRES HERANANDEZ MALDONADO       ADDRESS ON FILE
ANDRES HERNANDEZ VELEZ            ADDRESS ON FILE
ANDRES I RAMOS BETANCOURT         ADDRESS ON FILE
ANDRES I RAMOS/ GWENDOLYN RAMOS   ADDRESS ON FILE
ANDRES ISAAC TORRES               ADDRESS ON FILE
ANDRES J BEAUCHAMP SANTANA        ADDRESS ON FILE
ANDRES J CURRAS PANIAGUA          ADDRESS ON FILE
ANDRES J DELGADO FONTANEZ         ADDRESS ON FILE
ANDRES J ORTIZ NIEVES             ADDRESS ON FILE
ANDRES J SOLIVAN RIVERA           ADDRESS ON FILE
ANDRES J. ORTIZ NIEVES            ADDRESS ON FILE
ANDRES JEFFS GONZALEZ             ADDRESS ON FILE
ANDRES JEFFS GONZALEZ             ADDRESS ON FILE
ANDRES JIMENEZ HERNANDEZ          ADDRESS ON FILE
ANDRES JOEL MONTANEZ HERNANDEZ    ADDRESS ON FILE
ANDRES L RIVERA SANCHEZ           ADDRESS ON FILE
ANDRES LAUREANO RIVERA            ADDRESS ON FILE
ANDRES LEDESMA PHILLIPS           ADDRESS ON FILE




                                                                                    Page 406 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 407 of 3500
                                                                                                     Creditor Matrix

Creditor Name                 Address1                                 Address2                                   Address3               Address4   City            State   PostalCode   Country
ANDRES LEONARDO CORDERO       ADDRESS ON FILE
ANDRES LOPEZ FONSECA          ADDRESS ON FILE
ANDRES LOPEZ LEBRON           ADDRESS ON FILE
ANDRES LOPEZ RODRIGUEZ        ADDRESS ON FILE
ANDRES LOPEZ SANABRIA         ADDRESS ON FILE
ANDRES LUCIANO FERRER         ADDRESS ON FILE
ANDRES M ANDINO ROMAN         ADDRESS ON FILE
ANDRES M HERNANDEZ BRIGNONI   ADDRESS ON FILE
ANDRES M MARTINEZ CINTRON     ADDRESS ON FILE
ANDRES MALAVE VALENTIN        ADDRESS ON FILE
ANDRES MALDONADO RIVERA       ADDRESS ON FILE
ANDRES MALDONADO RUIZ         ADDRESS ON FILE
ANDRES MALDONADO VELEZ        ADDRESS ON FILE
ANDRES MARGARITO RODRIGUEZ    ADDRESS ON FILE
ANDRES MARQUEZ SANTOS         ADDRESS ON FILE
ANDRES MARRERO PABON          ADDRESS ON FILE
ANDRES MARTE DE LA ROSA       ADDRESS ON FILE
ANDRES MARTE DE LA ROSA       ADDRESS ON FILE
ANDRES MARTINEZ               ADDRESS ON FILE
ANDRES MARTINEZ ARENCIBIA     ADDRESS ON FILE
ANDRES MARTINEZ COLON         ADDRESS ON FILE
ANDRES MARTINEZ LOPEZ         ADDRESS ON FILE
ANDRES MARTINEZ PEDROZA       ADDRESS ON FILE
ANDRES MARTINEZ RAMOS         ADDRESS ON FILE
ANDRES MATOS CID              ADDRESS ON FILE
ANDRES MEDINA MORALES         ADDRESS ON FILE
ANDRES MENDOZA RIVERA         ADDRESS ON FILE
ANDRES MERCADO BONETA         ADDRESS ON FILE
ANDRES MERCADO OCASIO         ADDRESS ON FILE
ANDRES MIGNUCCI GIANNONI      ADDRESS ON FILE
ANDRES MOJICA                 ADDRESS ON FILE
ANDRES MOLINA VARGAS          ADDRESS ON FILE
ANDRES MONTANEZ FLORES        ADDRESS ON FILE
ANDRES MORALES COLON          ADDRESS ON FILE
ANDRES MORALES COLON          LA LCDO. ARCELIO ACISCLO MALDONADO AVILÉS6 CALLE GARZAS                                                               ADJUNTAS        PR      00601‐2108
                                                                                                                  53 CALLE PALMERA STE
ANDRES MORALES COLON          LCDA. ANACELY SOTOMAYOR RIVERA           EDIF EL CARIBE                             902                               SAN JUAN        PR      00901
ANDRES MORALES COLON          LCDA. JALITZA M. VERA MUÑOZ              PO BOX 653                                                                   ADJUNTAS        PR      00601
ANDRES MORALES COLON          LCDA. MARITZA MARIE RODRÍGUEZ GONZÁLEZ   PO BOX 653                                                                   ADJUNTAS        PR      00601
ANDRES MORALES COLON          LCDO. JOSUÉ NOEL TORRES CRESPO           COSVI OFFICE COMPLEX 400 AVE AMERICO MIRANDA SUITE 201                       RIO PIEDRAS     PR      00927
ANDRES MORALES COLON          LCDO. YAMIL G. VEGA PACEHCO              CALLE ROSA ARTAU CON ESQUINA AVENIDA SAN LUIS # 523 LOCAL 3                  ARECIBO         PR      00612
ANDRES MORALES MARTINEZ       ADDRESS ON FILE
ANDRES MORALES MORALES        ADDRESS ON FILE
ANDRES MORALES ROMAN          ADDRESS ON FILE
ANDRES NATAL RIVERA           ADDRESS ON FILE
ANDRES NAVARRO PEREZ          ADDRESS ON FILE
ANDRES NIEVES GOMEZ           ADDRESS ON FILE
ANDRES NIEVES JIMENEZ         ADDRESS ON FILE
ANDRES NOEL OTERO APONTE      ADDRESS ON FILE
ANDRES NUNEZ ALICEA           ADDRESS ON FILE
ANDRES NUNEZ AVILES           ADDRESS ON FILE
ANDRES NUNEZ LUNA             ADDRESS ON FILE
ANDRES O VAZQUEZ REYES        ADDRESS ON FILE
ANDRES ORTIZ GABRIEL          ADDRESS ON FILE
ANDRES ORTIZ ROSADO           ADDRESS ON FILE
ANDRES PADILLA COLON          ADDRESS ON FILE
ANDRES PAGAN PACHECO          ADDRESS ON FILE
ANDRES PAGAN PACHECO          ADDRESS ON FILE
ANDRES PENA RIVERA            ADDRESS ON FILE
ANDRES PEREZ BAEZ             ADDRESS ON FILE




                                                                                                   Page 407 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 408 of 3500
                                                                                                  Creditor Matrix

Creditor Name                           Address1                  Address2                                     Address3   Address4   City         State   PostalCode   Country
ANDRES PEREZ ORTIZ                      ADDRESS ON FILE
ANDRES PEREZ PADIN Y LISSEIDA FIGUEROA  ADDRESS ON FILE
ANDRES PINO CRISTY                      ADDRESS ON FILE
ANDRES PORTALATIN MAISONET              ADDRESS ON FILE
ANDRES QUINONES MENDEZ                  ADDRESS ON FILE
ANDRES QUINONES MENDEZ                  ADDRESS ON FILE
ANDRES QUINONES ROMAN                   ADDRESS ON FILE
ANDRES QUINONES SANTIAGO                ADDRESS ON FILE
ANDRES R CESPEDES MORETA                ADDRESS ON FILE
ANDRES R LOPEZ PEREZ                    ADDRESS ON FILE
ANDRES R LORAN BUTRON                   ADDRESS ON FILE
ANDRES R ZAMBRANA HERNANDEZ             ADDRESS ON FILE
ANDRES R. ARGUINZONI ALEJANDRO          ADDRESS ON FILE
ANDRES RAMOS CONDE                      ADDRESS ON FILE
ANDRES RAMOS RODRIGUEZ                  ADDRESS ON FILE
ANDRES REYES BURGOS INC                 PO BOX 1055                                                                                  CATAÐO ,     PR      00963‐1055
ANDRES REYES BURGOS INC                 PO BOX 1055                                                                                  CATANO       PR      00963‐1055
Andres Reyes Burgos, Inc. (ARB)         Ave. Barbosa 371                                                                             CataNo       PR      00962
Andres Reyes Burgos, Inc. (ARB)         PO Box 1055                                                                                  CataNo       PR      00963
ANDRES RICARDO GOMEZ                    URB BALDRICH              203 CALLE PRESIDENTE RAMIREZ                                       SAN JUAN     PR      00918‐4319
ANDRES RIVERA                           ADDRESS ON FILE
ANDRES RIVERA CASTRO                    ADDRESS ON FILE
ANDRES RIVERA PACHECO                   ADDRESS ON FILE
ANDRES ROBLES PIZARRO                   ADDRESS ON FILE
ANDRES ROBLES RODRIGUEZ/TRANSPORTE ROBL URB GARCIA PONCE          C5 CALLE SAN ANTONIO                                               FAJARDO      PR      00738
ANDRES RODRIGUEZ CEDENO                 ADDRESS ON FILE
ANDRES RODRIGUEZ MARIN                  ADDRESS ON FILE
ANDRES RODRIGUEZ MELENDEZ               ADDRESS ON FILE
ANDRES RODRIGUEZ MOREJON                ADDRESS ON FILE
ANDRES RODRIGUEZ OROPEZA                ADDRESS ON FILE
ANDRES RODRIGUEZ PHD, EDUARDO           ADDRESS ON FILE
ANDRES RODRIGUEZ RIVERA                 ADDRESS ON FILE
ANDRES RODRIGUEZ RIVERA                 ADDRESS ON FILE
ANDRES RODRIGUEZ RUIZ                   ADDRESS ON FILE
ANDRES ROMAN HERNANDEZ                  ADDRESS ON FILE
ANDRES ROMAN HERNANDEZ                  ADDRESS ON FILE
ANDRES ROSAS RODRIGUEZ                  ADDRESS ON FILE
ANDRES RUIZ                             ADDRESS ON FILE
ANDRES RUIZ RODRIGUEZ                   ADDRESS ON FILE
ANDRES RUIZ ROMAN                       ADDRESS ON FILE
ANDRES S PAGAN BEAUCHAMP                ADDRESS ON FILE
ANDRES SAEZ RODRIGUEZ                   ADDRESS ON FILE
ANDRES SALAS SOLER                      ADDRESS ON FILE
ANDRES SALAS SOLER                      ADDRESS ON FILE
ANDRES SALCEDO ROSAS                    ADDRESS ON FILE
ANDRES SANCHEZ CARRION                  ADDRESS ON FILE
ANDRÉS SÁNCHEZ Y ANA E SÁNCHEZ          ADDRESS ON FILE
ANDRES SANTIAGO ECHEVARRIA              ADDRESS ON FILE
ANDRES SANTIAGO LOPEZ                   ADDRESS ON FILE
ANDRES SANTIAGO VAZQUEZ                 ADDRESS ON FILE
ANDRES SANTOS LABOY                     ADDRESS ON FILE
ANDRES SANTOS ORTIZ                     ADDRESS ON FILE
ANDRES SEPULVEDA RIVERA                 ADDRESS ON FILE
ANDRES SOTOMAYOR TORO                   ADDRESS ON FILE
ANDRES TORRES CARABALLO                 ADDRESS ON FILE
ANDRES TORRES RIVERA                    ADDRESS ON FILE
ANDRES VALCARCEL GARRIDO                ADDRESS ON FILE
ANDRES VALENTIN MENDEZ                  ADDRESS ON FILE
ANDRES VARGAS GARCIA                    ADDRESS ON FILE
ANDRES VAZQUEZ HIDALGO                  ADDRESS ON FILE




                                                                                                 Page 408 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 409 of 3500
                                                                                               Creditor Matrix

Creditor Name                           Address1                          Address2                          Address3             Address4   City                State   PostalCode   Country
ANDRES VAZQUEZ ROSADO                   ADDRESS ON FILE
ANDRES VAZQUEZ ROSARIO                  ADDRESS ON FILE
ANDRES VEGA ORENGO                      ADDRESS ON FILE
ANDRES VEGA ROMAN                       ADDRESS ON FILE
ANDRES VELAZQUEZ GUTIERREZ              ADDRESS ON FILE
ANDRES VELAZQUEZ Y/O MATEO VELAZQUEZ    ADDRESS ON FILE
ANDRES VELEZ ACOSTA                     ADDRESS ON FILE
ANDRES VELEZ TORRES                     ADDRESS ON FILE
ANDRES VIERA FIGUERA                    ADDRESS ON FILE
ANDRES W VOLMAR MENDEZ                  ADDRESS ON FILE
ANDREU ALICEA, FLOR DEL                 ADDRESS ON FILE
Andreu Amador, Hiram                    ADDRESS ON FILE
ANDREU BARRIOS, JOYCE A                 ADDRESS ON FILE
ANDREU BENABE, ANDY                     ADDRESS ON FILE
ANDREU BENABE, MARIH                    ADDRESS ON FILE
Andreu Colon, Elvyn                     ADDRESS ON FILE
ANDREU CUEVAS, LEILA A.                 ADDRESS ON FILE
ANDREU MARTINEZ, MONICA                 ADDRESS ON FILE
ANDREU ORTIZ, KERVING                   ADDRESS ON FILE
ANDREU PEREZ, SARIMAR                   ADDRESS ON FILE
ANDREU PIETRI, DENISE MILAGROS          ADDRESS ON FILE
ANDREU REYES, EFRAIN                    ADDRESS ON FILE
ANDREU RIVERA, REINA M                  ADDRESS ON FILE
ANDREU RODRIGUEZ, BLANCA                ADDRESS ON FILE
ANDREU ROSARIO, GINNY                   ADDRESS ON FILE
ANDREU ROSARIO, OMIR                    ADDRESS ON FILE
ANDREU SAGARDIA LEGAL PROFESSIONAL      ADDRESS ON FILE
ANDREU SAGARDIA, HENRY                  ADDRESS ON FILE
ANDREU SAGARDIA, HOWARD                 ADDRESS ON FILE
ANDREU SAGARDIA, HOWARD                 ADDRESS ON FILE
ANDREU SANTIAGO, CARLOS                 ADDRESS ON FILE
ANDREU SANTIAGO, ILEANA J               ADDRESS ON FILE
Andreu Segui, Efrain                    ADDRESS ON FILE
ANDREU SPEED, NICOLAS                   ADDRESS ON FILE
ANDREW DIAZ, ROSA M.                    ADDRESS ON FILE
ANDREW G GALLOZA SANCHEZ                ADDRESS ON FILE
ANDREW GONZALEZ RODRIGUEZ               ADDRESS ON FILE
Andrew Gonzalez, Erick M.               ADDRESS ON FILE
ANDREW GONZALEZ, JUAN                   ADDRESS ON FILE
ANDREW GREGORY DC                       SOUTH WINDSOR NECK AND BACK LLC   1330 SILLIVAN AVE                                                 SOUTH WINDSOR       CT      06074
ANDREW HALKO                            ADDRESS ON FILE
ANDREW HURLEY                           ADDRESS ON FILE
ANDREW HURLEY                           ADDRESS ON FILE
ANDREW J CRUZ RIOS                      ADDRESS ON FILE
ANDREW JOEL SANCHEZ HERNANDEZ Y FRANK SAARMANDO FRANCESCHI FIGUEROA       PMB 360 SUITE 216                 CALLE TABONUCO B‐5              GUAYNABO            PR      00968‐3029
ANDREW MCKIRAHAN / SUPERIOR ACCESS INC 6500 RIVER PLACE BLVA              BLQ 5 STE 100                                                     AUSTIN              NY      78730
ANDREW RAMIREZ BERMUDEZ                 ADDRESS ON FILE
ANDREW RAMOS MALDONADO                  ADDRESS ON FILE
ANDREW RAMOS MASSAS                     ADDRESS ON FILE
ANDREW RODRIGUEZ FELICIANO              ADDRESS ON FILE
ANDREW ROJAS CURVELO                    ADDRESS ON FILE
ANDREW ROJAS MARQUEZ                    ADDRESS ON FILE
ANDREW ROMAN TORRES                     ADDRESS ON FILE
ANDREW RUIZ, DAISY                      ADDRESS ON FILE
ANDREWS DE LEON VERA                    ADDRESS ON FILE
ANDREWS MD , FAITH A                    ADDRESS ON FILE
ANDREWS ROUTTE, LORD                    ADDRESS ON FILE
ANDREWS UNIVERSITY                      4150 ADMINISTRATION DR                                                                              BERRIEN SPRINGS     MI      49103
ANDREWS, SARAH                          ADDRESS ON FILE
ANDREY DEE CRUZ MUNOZ                   ADDRESS ON FILE




                                                                                              Page 409 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 410 of 3500
                                                                                 Creditor Matrix

Creditor Name                    Address1                        Address2                     Address3   Address4   City           State   PostalCode   Country
ANDREZ COLLAZO ORTIZ             ADDRESS ON FILE
ANDRIA C. SILVESTRY LLORENS      ADDRESS ON FILE
ANDRIBETH RIVERA BELLIARD        ADDRESS ON FILE
ANDRILIZ HERNANDEZ CRUZ          ADDRESS ON FILE
ANDRILIZ VAZQUEZ NIEVES          ADDRESS ON FILE
ANDRILLON TOSTE, CARLOS M        ADDRESS ON FILE
ANDRINI MELENDEZ, BETTY F        ADDRESS ON FILE
ANDROMEDA TRANSCULTURAL HEALTH   1400 DECATUR STREET NW                                                             WASHINGTON     DC      20011
ANDROS A FELICIANO HERNANDEZ     ADDRESS ON FILE
ANDRY I ACOSTA CADIZ             ADDRESS ON FILE
ANDUCE RIVERA, DENISE            LIC. SAMUEL GONZÁLEZ GONZÁLEZ   PO BOX 21368                                       SAN JUAN       PR      00931‐1368
ANDUCE RIVERA, ENRIQUE           ADDRESS ON FILE
ANDUCE RIVERA, LILLIAN           ADDRESS ON FILE
ANDUCE RIVERA, LILLIAN           ADDRESS ON FILE
ANDUJAR ACEVEDO, AIDA            ADDRESS ON FILE
ANDUJAR ACOSTA, GEOVANNI         ADDRESS ON FILE
ANDUJAR AGOSTO, RAFAEL           ADDRESS ON FILE
ANDUJAR AGUIAR, OREALYS          ADDRESS ON FILE
ANDUJAR ALEJANDRO, ALEX          ADDRESS ON FILE
ANDUJAR ALEJANDRO, JUAN DAVID    ADDRESS ON FILE
ANDUJAR ALICEA, ARMANDO          ADDRESS ON FILE
ANDUJAR ALICEA, DOMINGO          ADDRESS ON FILE
ANDUJAR AMPARO, JUAN A           ADDRESS ON FILE
ANDUJAR ANDUJAR, MARIAE          ADDRESS ON FILE
ANDUJAR ANDUJAR, MARIBEL         ADDRESS ON FILE
ANDUJAR ANDUJAR, MILAGROS        ADDRESS ON FILE
ANDUJAR ANDUJAR, PABLO           ADDRESS ON FILE
ANDUJAR ANDUJAR, ROBERTO         ADDRESS ON FILE
Andujar Andujar, Wilfred         ADDRESS ON FILE
ANDUJAR ANDUJAR, WILFRED         ADDRESS ON FILE
ANDUJAR APONTE, AIDA I           ADDRESS ON FILE
Andujar Aponte, Allen            ADDRESS ON FILE
ANDUJAR APONTE, ALLEN            ADDRESS ON FILE
Andujar Aponte, Walter           ADDRESS ON FILE
ANDUJAR AROCA, FEDERICO          ADDRESS ON FILE
ANDUJAR ARRIAGA, ERIKA           ADDRESS ON FILE
ANDUJAR ARRIAGA, ERIKA           ADDRESS ON FILE
ANDUJAR ARROYO, ALMA             ADDRESS ON FILE
Andujar Arroyo, Marie L          ADDRESS ON FILE
ANDUJAR ARROYO, VICTOR           ADDRESS ON FILE
Andujar Arroyo, Victor A         ADDRESS ON FILE
ANDUJAR ATIENZA, MARIELA         ADDRESS ON FILE
ANDUJAR AUSUA, JANINE I          ADDRESS ON FILE
ANDUJAR AVILES, GIANINA          ADDRESS ON FILE
ANDUJAR BATISTA, RAQUEL          ADDRESS ON FILE
ANDUJAR BELLO,IVAN               ADDRESS ON FILE
ANDUJAR BELTRE, EVELYN           ADDRESS ON FILE
ANDUJAR BETANCOURT, ARIEL        ADDRESS ON FILE
ANDUJAR BETANCOURT, ARIEL J.     ADDRESS ON FILE
ANDUJAR BONILLA, NOEL            ADDRESS ON FILE
ANDUJAR CAMACHO, JESUS           ADDRESS ON FILE
ANDUJAR CANCEL, WILSON           ADDRESS ON FILE
ANDUJAR CANDELARIA, AUREA E.     ADDRESS ON FILE
ANDUJAR CASTANER, NICOLE M       ADDRESS ON FILE
Andujar Castrodad, Angel H       ADDRESS ON FILE
ANDUJAR CENTENO, EDUARDO         ADDRESS ON FILE
ANDUJAR CEREZO, EVELYN           ADDRESS ON FILE
ANDUJAR CINTRON, BRUNO           ADDRESS ON FILE
ANDUJAR CINTRON, LOURDES         ADDRESS ON FILE
ANDUJAR COLLAZO, IRMA Y          ADDRESS ON FILE




                                                                                Page 410 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 411 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City            State   PostalCode   Country
Andujar Colon, Humberto        ADDRESS ON FILE
ANDUJAR COLON, RUT YAHAIRA     ADDRESS ON FILE
Andujar Colon, Victor J        ADDRESS ON FILE
ANDUJAR CONSTRUCTION, INC.     HC 20 BOX 28739                                                                  SAN LORENZO     PR      00754‐0000
ANDUJAR CORDERO, ALADINO       ADDRESS ON FILE
ANDUJAR CORDERO, CARMEN A      ADDRESS ON FILE
ANDUJAR CORDERO, GENEROSA      ADDRESS ON FILE
ANDUJAR CORDERO, GENEROSA      ADDRESS ON FILE
ANDUJAR CORDERO, LUZ O         ADDRESS ON FILE
ANDUJAR CORTES, AIDA I         ADDRESS ON FILE
ANDUJAR CORTES, DANNY          ADDRESS ON FILE
ANDUJAR CORTES, JUAN A         ADDRESS ON FILE
ANDUJAR CRUZ, JAY              ADDRESS ON FILE
ANDUJAR CRUZ, WILMARIE         ADDRESS ON FILE
ANDUJAR DE JESUS, ALEXANDER    ADDRESS ON FILE
ANDUJAR DE JESUS, ANA          ADDRESS ON FILE
ANDUJAR DE JESUS, ZOBEIDA      ADDRESS ON FILE
ANDUJAR DE MATOS, CARMEN M     ADDRESS ON FILE
ANDUJAR DEJESUS, MARGARITA R   ADDRESS ON FILE
ANDUJAR DELGADO, ONEIDA        ADDRESS ON FILE
ANDUJAR DIAZ, ARIEL            ADDRESS ON FILE
ANDUJAR DIAZ, HECTOR F         ADDRESS ON FILE
ANDUJAR DIAZ, MIGDALIA         ADDRESS ON FILE
ANDUJAR DOMINGUEZ, JOEL        ADDRESS ON FILE
Andujar Erazo, Lilliam         ADDRESS ON FILE
Andujar Feliciano, Carlos      ADDRESS ON FILE
ANDUJAR FERNANDEZ, NAIDA L     ADDRESS ON FILE
ANDUJAR FIGUEROA, ALVIN        ADDRESS ON FILE
ANDUJAR FIGUEROA, JORGE L      ADDRESS ON FILE
ANDUJAR FIGUEROA, RICARDO      ADDRESS ON FILE
ANDUJAR FIGUEROA, ZULMA Z      ADDRESS ON FILE
ANDUJAR GONZALEZ, CARMEN J     ADDRESS ON FILE
ANDUJAR GONZALEZ, FRANCES      ADDRESS ON FILE
ANDUJAR GONZALEZ, GLORIMAR     ADDRESS ON FILE
ANDUJAR GONZALEZ, GLORIMAR     ADDRESS ON FILE
ANDUJAR GONZALEZ, IRAIDA       ADDRESS ON FILE
ANDUJAR GONZALEZ, JOSE J       ADDRESS ON FILE
Andujar Gonzalez, Joselyn      ADDRESS ON FILE
ANDUJAR GONZALEZ, ODLANIER     ADDRESS ON FILE
ANDUJAR GONZALEZ, REY          ADDRESS ON FILE
Andujar Guzman, Miguel         ADDRESS ON FILE
ANDUJAR HERNANDEZ, ANNETTE     ADDRESS ON FILE
ANDUJAR HERNANDEZ, JOSEPH      ADDRESS ON FILE
ANDUJAR IGLESIAS, ALBERTO      ADDRESS ON FILE
ANDUJAR IGLESIAS, NORBERTO     ADDRESS ON FILE
ANDUJAR LA LUZ, FRANCIS        ADDRESS ON FILE
ANDUJAR LABOY, ALEISHA         ADDRESS ON FILE
ANDUJAR LACLAUSTRA, JAVIER     ADDRESS ON FILE
ANDUJAR LACLAUSTRA, SHEILA     ADDRESS ON FILE
ANDUJAR LATORRE, HELEN         ADDRESS ON FILE
ANDUJAR LOPEZ, LUISA           ADDRESS ON FILE
ANDUJAR LOPEZ, MARILYN         ADDRESS ON FILE
ANDUJAR LOPEZ, YAMILA          ADDRESS ON FILE
ANDUJAR LUGO, ANA M            ADDRESS ON FILE
Andujar Lugo, Radames          ADDRESS ON FILE
ANDUJAR MALDONADO, HERMAN      ADDRESS ON FILE
Andujar Maldonado, Jose A      ADDRESS ON FILE
ANDUJAR MALDONADO, MARIA       ADDRESS ON FILE
ANDUJAR MALDONADO, MARIA E     ADDRESS ON FILE
Andujar Maldonado, Omar R      ADDRESS ON FILE




                                                                           Page 411 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 412 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDUJAR MARIN, HECTOR           ADDRESS ON FILE
ANDUJAR MARRERO, BRUNILDA       ADDRESS ON FILE
ANDUJAR MARRERO, GIDDEL E.      ADDRESS ON FILE
ANDUJAR MARTINEZ, BLANCA I      ADDRESS ON FILE
ANDUJAR MARTINEZ, CARMEN E      ADDRESS ON FILE
ANDUJAR MATIAS, EDWIN           ADDRESS ON FILE
ANDUJAR MATOS, GLORIMAR DE L    ADDRESS ON FILE
ANDUJAR MATOS, VICTOR M         ADDRESS ON FILE
ANDUJAR MEDINA, ANIBAL          ADDRESS ON FILE
ANDUJAR MEDINA, ESTERVINA       ADDRESS ON FILE
ANDUJAR MELENDEZ, LUZ N.        ADDRESS ON FILE
ANDUJAR MELENDEZ, OMAYRA        ADDRESS ON FILE
Andujar Mena, Gregorio          ADDRESS ON FILE
Andujar Mena, Idalia            ADDRESS ON FILE
Andujar Mendez, Jonathan        ADDRESS ON FILE
ANDUJAR MENDEZ, LYDIA           ADDRESS ON FILE
Andujar Mercado, Cesar A        ADDRESS ON FILE
ANDUJAR MIRANDA, TIBISAY        ADDRESS ON FILE
ANDUJAR MOJICA, IRMA            ADDRESS ON FILE
ANDUJAR MOJICA, RAFAEL          ADDRESS ON FILE
ANDUJAR MONTALVO, EDWIN         ADDRESS ON FILE
ANDUJAR MONTALVO, JULISSA M     ADDRESS ON FILE
ANDUJAR MONTALVO, RADAMES       ADDRESS ON FILE
ANDUJAR MONTANEZ, BIANCA        ADDRESS ON FILE
ANDUJAR MORALES, ANA            ADDRESS ON FILE
ANDUJAR MORALES, ANGEL          ADDRESS ON FILE
ANDUJAR MORALES, ANGEL M.       ADDRESS ON FILE
ANDUJAR MORALES, CARMELO        ADDRESS ON FILE
ANDUJAR MORALES, DAVID          ADDRESS ON FILE
Andujar Morales, Luis D.        ADDRESS ON FILE
ANDUJAR MORALES, PASTOR         ADDRESS ON FILE
ANDUJAR MUNIZ, BRENDA I.        ADDRESS ON FILE
ANDUJAR MUSIC PRODUCTION, LLC   PO BOX 2225                                                                      GUAYNABO     PR      00970‐2225
ANDUJAR NEGRON, JAVIER          ADDRESS ON FILE
ANDUJAR NEGRON, VICTOR A        ADDRESS ON FILE
ANDUJAR NIEVES, EDWIN           ADDRESS ON FILE
Andujar Nieves, Gabriel         ADDRESS ON FILE
ANDUJAR NIEVES, GEISA           ADDRESS ON FILE
ANDUJAR NIEVES, VIVIAN          ADDRESS ON FILE
ANDUJAR OCASIO, JULIO           ADDRESS ON FILE
ANDUJAR OLIVERA, FRANCISCO      ADDRESS ON FILE
ANDUJAR ORTIZ, CARLOS R         ADDRESS ON FILE
ANDUJAR ORTIZ, LUIS             ADDRESS ON FILE
Andujar Osorio, Luis F          ADDRESS ON FILE
ANDUJAR OYOLA, JACKELINE        ADDRESS ON FILE
ANDUJAR OYOLA, LUIS             ADDRESS ON FILE
ANDUJAR PACHECO, LUZ E          ADDRESS ON FILE
ANDUJAR PACHECO, MADELINE       ADDRESS ON FILE
ANDUJAR PAGAN, HECTOR           ADDRESS ON FILE
ANDUJAR PAGAN, JOSEMY           ADDRESS ON FILE
ANDUJAR PEREZ, JANETT           ADDRESS ON FILE
ANDUJAR QUINONEZ, JUDITH        ADDRESS ON FILE
ANDUJAR RAMIREZ, EDWIN          ADDRESS ON FILE
ANDUJAR RAMIREZ, ELIZABETH      ADDRESS ON FILE
ANDUJAR RAMIREZ, JUAN A         ADDRESS ON FILE
ANDUJAR RAMIREZ, NIDIA          ADDRESS ON FILE
ANDUJAR RAMOS, ARMANDO          ADDRESS ON FILE
ANDUJAR RAMOS, HECTOR           ADDRESS ON FILE
ANDUJAR RAMOS, JESUS            ADDRESS ON FILE
ANDUJAR RAMOS, LIZETTE          ADDRESS ON FILE




                                                                            Page 412 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 413 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANDUJAR RAMOS, NELSON          ADDRESS ON FILE
ANDUJAR RANGEL, CONSUELO       ADDRESS ON FILE
ANDUJAR REYES, ANGEL           ADDRESS ON FILE
ANDUJAR REYES, GAMADIEL        ADDRESS ON FILE
ANDUJAR REYES, IRIS            ADDRESS ON FILE
ANDUJAR REYES, LAURA E         ADDRESS ON FILE
ANDUJAR REYES, RAFAEL          ADDRESS ON FILE
ANDUJAR REYES, WANDA L         ADDRESS ON FILE
ANDUJAR REYNOSO, RAFAEL        ADDRESS ON FILE
ANDUJAR RIOS, ROBERTO          ADDRESS ON FILE
ANDUJAR RIVERA, CARMEN S       ADDRESS ON FILE
ANDUJAR RIVERA, DAVID          ADDRESS ON FILE
ANDUJAR RIVERA, EDWIN          ADDRESS ON FILE
ANDUJAR RIVERA, FREMAIN        ADDRESS ON FILE
ANDUJAR RIVERA, HERIBERTO      ADDRESS ON FILE
ANDUJAR RIVERA, IRIS Y         ADDRESS ON FILE
ANDUJAR RIVERA, JORGE G        ADDRESS ON FILE
ANDUJAR RIVERA, JOSE L         ADDRESS ON FILE
ANDUJAR RIVERA, KRYSTAHL       ADDRESS ON FILE
ANDUJAR RIVERA, LIONEL         ADDRESS ON FILE
ANDUJAR RIVERA, MELANIE        ADDRESS ON FILE
ANDUJAR RIVERA, MIGUEL ANGEL   ADDRESS ON FILE
ANDUJAR RIVERA, NOELIA         ADDRESS ON FILE
ANDUJAR RIVERA, ORLANDO        ADDRESS ON FILE
ANDUJAR RIVERA, REINALDO       ADDRESS ON FILE
ANDUJAR RIVERA, SYLVIA         ADDRESS ON FILE
ANDUJAR RODRIGUEZ, ASHLEY      ADDRESS ON FILE
ANDUJAR RODRIGUEZ, GERARDA     ADDRESS ON FILE
ANDUJAR RODRIGUEZ, LUZ E.      ADDRESS ON FILE
ANDUJAR RODRIGUEZ, MAGALY      ADDRESS ON FILE
ANDUJAR RODRIGUEZ, MAGALY      ADDRESS ON FILE
ANDUJAR RODRIGUEZ, NANCY       ADDRESS ON FILE
ANDUJAR RODRIGUEZ, ROBERTO     ADDRESS ON FILE
ANDUJAR RODRIGUEZ, ROLANDO     ADDRESS ON FILE
Andujar Roman, David           ADDRESS ON FILE
Andujar Roman, Edwin D         ADDRESS ON FILE
ANDUJAR ROMAN, LUIS            ADDRESS ON FILE
ANDUJAR ROMAN, WILFREDO        ADDRESS ON FILE
ANDUJAR ROMERO, BRITTANY       ADDRESS ON FILE
ANDUJAR ROMERO, CHRISTIAN      ADDRESS ON FILE
ANDUJAR ROSADO, AGNES Y        ADDRESS ON FILE
Andujar Rosado, Sharon         ADDRESS ON FILE
ANDUJAR ROSADO, SHARON         ADDRESS ON FILE
ANDUJAR ROSARIO, CYNTHIA       ADDRESS ON FILE
ANDUJAR RUIZ, MARCOS           ADDRESS ON FILE
Andujar Ruiz, Marcos G.        ADDRESS ON FILE
ANDUJAR SANCHEZ, STEPHANIE     ADDRESS ON FILE
ANDUJAR SANCHEZ, STEPHANIE     ADDRESS ON FILE
ANDUJAR SANTIAGO, ANGEL L      ADDRESS ON FILE
ANDUJAR SANTIAGO, BRENDA LEE   ADDRESS ON FILE
ANDUJAR SANTIAGO, ENID         ADDRESS ON FILE
ANDUJAR SANTIAGO, JOSE         ADDRESS ON FILE
ANDUJAR SANTIAGO, LUIS A.      ADDRESS ON FILE
ANDUJAR SANTIAGO, MARIO        ADDRESS ON FILE
ANDUJAR SANTIAGO, MILCA S      ADDRESS ON FILE
ANDUJAR SANTOS, GERARDO        ADDRESS ON FILE
ANDUJAR SANTOS, GERARDO        ADDRESS ON FILE
Andujar Sepulveda, Pedro       ADDRESS ON FILE
ANDUJAR SERRANO, CARMEN M      ADDRESS ON FILE
Andujar Serrano, Herminia      ADDRESS ON FILE




                                                                           Page 413 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 414 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                    Address2                       Address3   Address4    City         State   PostalCode   Country
ANDUJAR SILVESTRY, LOIDA L              ADDRESS ON FILE
ANDUJAR SILVESTRY, WILMA M              ADDRESS ON FILE
ANDUJAR SOTO, JESUS                     ADDRESS ON FILE
ANDUJAR SOTO, PAULA                     ADDRESS ON FILE
ANDUJAR TERRERO, THAMMY                 ADDRESS ON FILE
ANDUJAR TORRES, DAMARIS                 ADDRESS ON FILE
ANDUJAR TORRES, EVELYN                  ADDRESS ON FILE
Andujar Torres, Gerardo                 ADDRESS ON FILE
ANDUJAR TORRES, HERMINIA                ADDRESS ON FILE
Andujar Torres, Ismael                  ADDRESS ON FILE
ANDUJAR TORRES, JONATHAN                ADDRESS ON FILE
ANDUJAR TORRES, KATHERINE               ADDRESS ON FILE
ANDUJAR TORRES, LUIS M                  ADDRESS ON FILE
ANDUJAR TORRES, LUZ                     ADDRESS ON FILE
ANDUJAR TORRES, NOEMI                   ADDRESS ON FILE
Andujar Torres, Rafael                  ADDRESS ON FILE
ANDUJAR UBIDES, SHEILA J                ADDRESS ON FILE
Andujar Valentin, Carlos A              ADDRESS ON FILE
ANDUJAR VALENTIN, JOSUE                 ADDRESS ON FILE
ANDUJAR VALENTIN, MIGUEL A              ADDRESS ON FILE
ANDUJAR VALENTIN, NORMA                 ADDRESS ON FILE
ANDUJAR VALENTIN, NORMA I               ADDRESS ON FILE
ANDUJAR VARGAS, ERNESTO M.              ADDRESS ON FILE
Andujar Vazquez, Gerardo                ADDRESS ON FILE
Andujar Vazquez, Javier                 ADDRESS ON FILE
ANDUJAR VEGA, JOHNNY                    ADDRESS ON FILE
ANDUJAR VEGA, PEDRO J.                  ADDRESS ON FILE
ANDUJAR VELAZQUEZ, JOSE                 ADDRESS ON FILE
ANDUJAR VELAZQUEZ, JOSE                 ADDRESS ON FILE
ANDUJAR VELAZQUEZ, NORMA I              ADDRESS ON FILE
Andujar Velez, Axel                     ADDRESS ON FILE
ANDUJAR VELEZ, AXEL                     ADDRESS ON FILE
Andujar Velez, Eliezer                  ADDRESS ON FILE
ANDUJAR VELEZ, MARY                     ADDRESS ON FILE
ANDUJAR VELEZ, WILFRED                  ADDRESS ON FILE
ANDUJAR VENTURA, GLADYS                 ADDRESS ON FILE
ANDUJAR VERGANZO, ANGEL D               ADDRESS ON FILE
ANDUJAR VIRUET, LUIS M                  ADDRESS ON FILE
ANDUJAR ZACCHEUS, JULIA T.              ADDRESS ON FILE
ANDUJAR ZAMORA, ANGELA L                ADDRESS ON FILE
ANDUJAR, ALICE M                        ADDRESS ON FILE
ANDUJAR, GILBERTO H.                    ADDRESS ON FILE
ANDUJAR, JOSE                           ADDRESS ON FILE
ANDUJAR, JOSUE O.                       ADDRESS ON FILE
ANDUJAR, LESLIE A                       ADDRESS ON FILE
ANDUZE MD, ALFRED                       ADDRESS ON FILE
ANDUZE ROSA CHILDRENS LIVING AND GRANATOC/O ORIENTAL BANK & TRUST   PO BOX 191429                                         SAN JUAN     PR      11919
ANDY A RODRIGUEZ MARTINEZ               ADDRESS ON FILE
ANDY ACEVEDO ALMODOVAR                  ADDRESS ON FILE
ANDY AGOSTO RODRIGUEZ                   ADDRESS ON FILE
ANDY CARRASQUILLO TORRES                ADDRESS ON FILE
ANDY CUEVAS COLON                       ADDRESS ON FILE
ANDY D POLANCO PIZARRO                  ADDRESS ON FILE
ANDY DIAZ QUINONES                      ADDRESS ON FILE
ANDY DOMENECH ROSARIO                   ADDRESS ON FILE
ANDY FERNANDEZ TORRES                   ADDRESS ON FILE
ANDY J CRESPO ACEVEDO                   ADDRESS ON FILE
ANDY J HERNANDERZ QUINTANA              ADDRESS ON FILE
ANDY J LASALLE LOPERENA                 ADDRESS ON FILE
ANDY J POLANCO PIZARRO                  ADDRESS ON FILE




                                                                                     Page 414 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 415 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                        Address2                  Address3   Address4    City         State   PostalCode   Country
ANDY MEDINA RODRIGUEZ                   ADDRESS ON FILE
ANDY MONET RIVERA                       ADDRESS ON FILE
ANDY MONTANEZ VARGAS                    ADDRESS ON FILE
ANDY MONTANEZ Y SU ORQUESTA             P O BOX 188                                                                      LUQUILLO     PR      00773
ANDY MONTANEZ Y SU ORQUESTA             PO BOX 424                                                                       LUQUILLO     PR      00773
ANDY MONTERO RENTAS                     ADDRESS ON FILE
ANDY PEREZ PEREZ                        ADDRESS ON FILE
ANDY RAMOS AYALA                        ADDRESS ON FILE
ANDY RIVERA LOPEZ                       ADDRESS ON FILE
ANDY RODRIGUEZ SANCHEZ                  ADDRESS ON FILE
ANDY SANTIAGO TORRES                    ADDRESS ON FILE
ANDY SEGARRA SAMOL                      ADDRESS ON FILE
ANDY VARGAS SANCHEZ                     ADDRESS ON FILE
ANDY VEGA MEDINA                        ADDRESS ON FILE
ANDY W GARRASTEGUI RIVERA               ADDRESS ON FILE
ANED L MORI SEPULVEDA                   ADDRESS ON FILE
ANEDDA G FIGUEROA CORREA                ADDRESS ON FILE
ANEIDA LABOY ARCE                       ADDRESS ON FILE
ANEIDA RIVERA VAZQUEZ                   ADDRESS ON FILE
ANEIRO PEREZ, SARA                      ADDRESS ON FILE
ANEIRO TROCHE, STELLA                   ADDRESS ON FILE
ANEL DELGADO RIVERA                     ADDRESS ON FILE
ANEL J ESPADA ECHEVARRIA                ADDRESS ON FILE
ANEL M ORTIZ RIVERA                     ADDRESS ON FILE
ANEL N RAMOS LORENZO                    ADDRESS ON FILE
ANEL W VARGAS CASIANO                   ADDRESS ON FILE
ANELA LLC DBA ORIGAMI SHUSHI TORRIMAR   QUINTA BALDWIN AVE A APTO 101                                                    BAYAMON      PR      00959
ANELBA GONZALEZ ONGAY                   ADDRESS ON FILE
ANELBA GONZALEZ ONGAY                   ADDRESS ON FILE
ANELBA PEREZ VEGA                       ADDRESS ON FILE
ANELEY DIAZ GONZALEZ                    ADDRESS ON FILE
ANELIDA ORTIZ SANTIAGO                  ADDRESS ON FILE
ANELIS VALLE                            ADDRESS ON FILE
ANELIS VELAZQUEZ ARROYO/MAXIMO SOLAR    ADDRESS ON FILE
ANELISA SOTO MARQUEZ                    ADDRESS ON FILE
ANELISE PEREZ COLLAZO                   ADDRESS ON FILE
ANELYN E MARTINEZ RODRIGUEZ             ADDRESS ON FILE
ANELYS RODRIGUEZ ORTIZ                  ADDRESS ON FILE
ANER COSME MALDONADO                    ADDRESS ON FILE
ANES ALMODOVAR, MAXIMINO                ADDRESS ON FILE
ANES CLAUDIO, ROBERTO                   ADDRESS ON FILE
ANES CRUZ, LITHIA                       ADDRESS ON FILE
ANES GONZALEZ, JEANETTE                 ADDRESS ON FILE
ANES GONZALEZ, JUANITA                  ADDRESS ON FILE
ANES JIMENEZ, ROSA I.                   ADDRESS ON FILE
ANES MIRANDA, JON E.                    ADDRESS ON FILE
ANES RODRIGUEZ, JOSE                    ADDRESS ON FILE
Anes Rodriguez, Jose Angel              ADDRESS ON FILE
ANES RODRIGUEZ, ROSA A                  ADDRESS ON FILE
ANES RODRIGUEZ, ZAIDA E                 ADDRESS ON FILE
ANES VAZQUEZ, LUIS E                    ADDRESS ON FILE
ANES VAZQUEZ, YERIANN                   ADDRESS ON FILE
ANES, GABRIEL                           ADDRESS ON FILE
ANESES BOCANEGRA, OMAR                  ADDRESS ON FILE
ANESES LOPERENA, IVETTE                 ADDRESS ON FILE
ANESES LOPERENA, LUIS                   ADDRESS ON FILE
ANESES MORALES, MARIA M                 ADDRESS ON FILE
ANESES PENA, JOSE                       ADDRESS ON FILE
ANESES TORRES, ARTURO                   ADDRESS ON FILE
ANESES VELEZ, MARIA MERCEDES            ADDRESS ON FILE




                                                                                    Page 415 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 416 of 3500
                                                                                                        Creditor Matrix

Creditor Name                        Address1                               Address2                                 Address3   Address4   City              State   PostalCode   Country
ANESTESIA DEL CARIBE CSP             PO BOX 360544                                                                                         SAN JUAN          PR      00936‐0544
ANESTESIA EN CALMA CSP               1875 CARR 2                            MEDICAL OPHTHALMIC PLAZ                                        BAYAMON           PR      00959
ANESTESIOLOGIA RCM 01                P O BOX 29134                                                                                         SAN JUAN          PR      00929‐0134
ANESTHESIA SERVICES MANAGEMENT INC   PO BOX 10541                           CAPARRA HEIGHTS STATION                                        SAN JUAN          PR      00922
ANET J RIVERA OTERO                  ADDRESS ON FILE
ANETTE BARLUCEA FIGUEROA             ADDRESS ON FILE
ANETTE BARLUCEA FIGUEROA             ADDRESS ON FILE
ANETTE CONDE HERNANDEZ               ADDRESS ON FILE
ANETTE DIEZ DE ANDINO                ADDRESS ON FILE
ANETTE GARCIA PENA                   ADDRESS ON FILE
ANETTE QUINONES MIRANDA              ADDRESS ON FILE
ANETTE SANTIAGO BORRERO              ADDRESS ON FILE
ANETTE SANTIAGO REYES                ADDRESS ON FILE
ANETTE T GONZALEZ CASTRO             ADDRESS ON FILE
ANEUDI ACEVEDO RIVERA                ADDRESS ON FILE
ANEUDY COLON DOMINGUEZ               ADDRESS ON FILE
ANEUDY GUADALUPE MORALES             ADDRESS ON FILE
ANEUDY J CORREA ROBLES               ADDRESS ON FILE
ANEUDY LOPEZ, JUAN                   ADDRESS ON FILE
ANEUDY MONTERO FRED                  ADDRESS ON FILE
ANEUDY NAVARRO PIZZARRO              ADDRESS ON FILE
ANEUDY NUNEZ CASTILLO                ADDRESS ON FILE
ANEUDY SOTO CHAPARRO                 ADDRESS ON FILE
ANEURY DAVILA RIVERA                 ADDRESS ON FILE
ANEURY J VAZQUEZ FIGUERAS            ADDRESS ON FILE
ANEX COLON DE LEON                   ADDRESS ON FILE
ANEXO GROUP                          PLAZA CUPEY GARDENS                    200 AVE. CUPEY GARDENS                                         SAN JUAN          PR      00926‐7343
ANEXO GROUP INC                      PMB 171                                PO BOX 2500                                                    TRUJILLO ALTO     PR      00977‐2500
ANEXO PEDRO C TIMOTHEE               ADDRESS ON FILE
ANG CONSTRUCTION, INC.               PMB 275‐200 RAFAEL CORDERO SUITE 140                                                                  CAGUAS            PR      00725
ANG SOLUTIONS CORP                   COND SAN ALBERTO                       605 CONDADO ST SUITE 703                                       SAN JUAN          PR      00907
ANG SOLUTIONS CORP.                  605 CONDADO ST                         703 COND. SAN ALBERTO                                          SAN JUAN          PR      00907
ANG SOLUTIONS, CORP                  605 CALLE CONDADO, SUITE 703           COND SAN ALBERTO,                                              SAN JUAN          PR      00907
ANGARITA ASCANIO, CESAR              ADDRESS ON FILE
ANGEANETT MARTINEZ ACEVEDO           ADDRESS ON FILE
ANGEIRA T QUILES GONZALEZ            ADDRESS ON FILE
ANGEL A ALBINO ALVAREZ               ADDRESS ON FILE
ANGEL A ALONSO JIMENEZ               ADDRESS ON FILE
ANGEL A ALVARADO COLON               ADDRESS ON FILE
ANGEL A ALVAREZ VALENTIN             ADDRESS ON FILE
ANGEL A APONTE BERRIOS               ADDRESS ON FILE
ANGEL A ARCE ALICEA                  ADDRESS ON FILE
ANGEL A ARCE LOPEZ                   ADDRESS ON FILE
ANGEL A AREIZAGA SOTO                ADDRESS ON FILE
ANGEL A BAEZ REYES                   ADDRESS ON FILE
ANGEL A CENTENO GONZALEZ             ADDRESS ON FILE
ANGEL A CENTENO RIOS                 ADDRESS ON FILE
ANGEL A CINTRON                      ADDRESS ON FILE
ANGEL A CINTRON MORALES              ADDRESS ON FILE
ANGEL A CINTRON RIVERA               ADDRESS ON FILE
ANGEL A COLON SAEZ                   ADDRESS ON FILE
ANGEL A COLON VAZQUEZ                ADDRESS ON FILE
ANGEL A CRUZ AFANADOR                ADDRESS ON FILE
ANGEL A DE JESUS TORRES              ADDRESS ON FILE
ANGEL A DIAZ LOPEZ                   ADDRESS ON FILE
ANGEL A DIAZ RONDON                  ADDRESS ON FILE
ANGEL A FOURQUET BARNES              ADDRESS ON FILE
ANGEL A GARCIA VAZQUEZ               ADDRESS ON FILE
ANGEL A GODEN SANCHEZ                ADDRESS ON FILE
ANGEL A GONZALEZ ALICEA              ADDRESS ON FILE




                                                                                                       Page 416 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 417 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL A GONZALEZ APONTE                 ADDRESS ON FILE
ANGEL A GONZALEZ ROMAN                  ADDRESS ON FILE
ANGEL A GUZMAN CLEMENTE                 ADDRESS ON FILE
ANGEL A JOVANIS AMARO TIRADO            ADDRESS ON FILE
ANGEL A LAFONTAINE TORRES               ADDRESS ON FILE
ANGEL A LOPEZ SANCHEZ                   ADDRESS ON FILE
ANGEL A LUGO GONZALEZ                   ADDRESS ON FILE
ANGEL A MALAVE TROCHE                   ADDRESS ON FILE
ANGEL A MARCANO FANTAUZZI               ADDRESS ON FILE
ANGEL A MARTINEZ CINTRON                ADDRESS ON FILE
ANGEL A MARTINEZ COLON                  ADDRESS ON FILE
ANGEL A MATEO APONTE                    ADDRESS ON FILE
ANGEL A MEDINA HENRICY                  ADDRESS ON FILE
ANGEL A MEDINA VILLALBA                 ADDRESS ON FILE
ANGEL A MONTALVO NEGRONI                ADDRESS ON FILE
ANGEL A MORALES ACEVEDO                 ADDRESS ON FILE
ANGEL A MOREIRA                         ADDRESS ON FILE
ANGEL A NEGRON DE LEON                  ADDRESS ON FILE
ANGEL A NEGRON/ CASA DON FAUSTO         ADDRESS ON FILE
ANGEL A NICOLAS UBRI C/O JOAQUIN PENA   ADDRESS ON FILE
ANGEL A NIEVES COLON                    ADDRESS ON FILE
ANGEL A NIEVES RAMOS                    ADDRESS ON FILE
ANGEL A NIGAGLIONI ROIG                 ADDRESS ON FILE
ANGEL A OLIVERI OLMEDA                  ADDRESS ON FILE
ANGEL A ORTIZ SOLIS                     ADDRESS ON FILE
ANGEL A ORTIZ SUSTACHE                  ADDRESS ON FILE
ANGEL A PAGAN IZQUIERDO                 ADDRESS ON FILE
ANGEL A PEREZ RIVERA                    ADDRESS ON FILE
ANGEL A PEREZ SORI                      ADDRESS ON FILE
ANGEL A PEREZ VELEZ                     ADDRESS ON FILE
ANGEL A PORTILLA GONZALEZ               ADDRESS ON FILE
ANGEL A QUILES MEDINA                   ADDRESS ON FILE
ANGEL A QUINONES MEDINA                 ADDRESS ON FILE
ANGEL A RAMOS MONTALVO                  ADDRESS ON FILE
ANGEL A RAMOS VEGA                      ADDRESS ON FILE
ANGEL A RIOS VELEZ                      ADDRESS ON FILE
ANGEL A RIVERA LOPEZ                    ADDRESS ON FILE
ANGEL A RIVERA NUNEZ                    ADDRESS ON FILE
ANGEL A RIVERA ORTIZ                    ADDRESS ON FILE
ANGEL A RIVERA RODRIGUEZ                ADDRESS ON FILE
ANGEL A RIVERA TORRALES                 ADDRESS ON FILE
ANGEL A RIVERA TORRES                   ADDRESS ON FILE
ANGEL A RIVERA VARGAS                   ADDRESS ON FILE
ANGEL A RIVERA/ MAYRA E NATER           ADDRESS ON FILE
ANGEL A ROBLES RODRIGUEZ                ADDRESS ON FILE
ANGEL A RODRIGUEZ ALVARADO              ADDRESS ON FILE
ANGEL A RODRIGUEZ DEFENDINI             ADDRESS ON FILE
ANGEL A RODRIGUEZ ORTIZ                 ADDRESS ON FILE
ANGEL A RODRIGUEZ ORTIZ                 ADDRESS ON FILE
ANGEL A RODRIGUEZ TORRES                ADDRESS ON FILE
ANGEL A ROMAN DBA G & A ADVERTISING     SPECIALTIES               P O BOX 51676                                          TOA BAJA     PR      00949
ANGEL A ROMAN OLMO                      ADDRESS ON FILE
ANGEL A ROMAN OLMO                      ADDRESS ON FILE
ANGEL A SANTANA BERRIOS                 ADDRESS ON FILE
ANGEL A SANTANA BERRIOS                 ADDRESS ON FILE
ANGEL A SANTIAGO BADE                   ADDRESS ON FILE
ANGEL A SANTIAGO MIRANDA                ADDRESS ON FILE
ANGEL A SOTO CHEVERE                    ADDRESS ON FILE
ANGEL A TANCO GALINDEZ/ INTEC SOLAR     ADDRESS ON FILE
ANGEL A TIRADO SANTANA                  ADDRESS ON FILE




                                                                                    Page 417 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 418 of 3500
                                                                                                    Creditor Matrix

Creditor Name                          Address1                                   Address2                       Address3   Address4   City     State   PostalCode   Country
ANGEL A TOLEDO LOPEZ                   ADDRESS ON FILE
ANGEL A TOLEDO TOLEDO                  ADDRESS ON FILE
ANGEL A TORRES BURGOS                  ADDRESS ON FILE
ANGEL A TORRES VIALIZ                  ADDRESS ON FILE
ANGEL A TRINIDAD SERRANO               ADDRESS ON FILE
ANGEL A VALENTIN COLON                 ADDRESS ON FILE
ANGEL A VALLE BADILLO                  ADDRESS ON FILE
ANGEL A VALLE VEGA                     ADDRESS ON FILE
ANGEL A VARGAS VALLE                   ADDRESS ON FILE
ANGEL A VAZQUEZ RIVERA                 ADDRESS ON FILE
ANGEL A VEGA MIRANDA                   ADDRESS ON FILE
ANGEL A VELEZ RIVERA                   ADDRESS ON FILE
ANGEL A VILLAFANE SANTIAGO             ADDRESS ON FILE
ANGEL A VILLAFANE SANTIAGO             ADDRESS ON FILE
ANGEL A VIVES SOSA                     ADDRESS ON FILE
ANGEL A. CARILLO ARZUAGA               ADDRESS ON FILE
ANGEL A. CATALA FERNANDEZ              ADDRESS ON FILE
ANGEL A. CIVIDANES ALVAREZ             ADDRESS ON FILE
ANGEL A. CRUZ COTTO                    ADDRESS ON FILE
ANGEL A. GONZALEZ CARRASQUILLO         ADDRESS ON FILE
ANGEL A. LUGO                          ADDRESS ON FILE
ANGEL A. MORALES LEBRON                ADDRESS ON FILE
ANGEL A. OJEDA OTERO                   ADDRESS ON FILE
ANGEL A. ORTIZ RUIZ                    ADDRESS ON FILE
Angel A. Perez Gonzalez                ADDRESS ON FILE
ANGEL A. PEREZ SORI                    ADDRESS ON FILE
ANGEL A. PIAZZA VELEZ                  ADDRESS ON FILE
ANGEL A. REYES AGOSTO *REIMUNDO QUIÑONES CASTRO *JUAN R. RIVERA OCASIO *MIGUEL BRENES CONCEPCIÓN
ANGEL A. RODRIGUEZ MIRANDA             ADDRESS ON FILE
ANGEL A. RODRIGUEZ NUNEZ               ADDRESS ON FILE
ANGEL A. RODRIGUEZ NUNEZ               ADDRESS ON FILE
ANGEL ACEVEDO COLON                    ADDRESS ON FILE
ANGEL ACEVEDO CORNIER                  ADDRESS ON FILE
ANGEL ACEVEDO GONZALEZ                 ADDRESS ON FILE
ANGEL ACEVEDO MORALES                  ADDRESS ON FILE
ANGEL ACOSTA PACHECO                   ADDRESS ON FILE
ANGEL ADORNO CASTRO                    ADDRESS ON FILE
ANGEL ADORNO TORRES                    ADDRESS ON FILE
ANGEL ALDARONDO MATIAS                 ADDRESS ON FILE
ANGEL ALEMAN FIGUEROA                  ADDRESS ON FILE
ANGEL ALERS PEREZ                      ADDRESS ON FILE
ANGEL ALICEA PACHECO                   ADDRESS ON FILE
ANGEL ALLENDE DE JESUS                 ADDRESS ON FILE
ANGEL ALMODOVAR ANTONSANTI             ADDRESS ON FILE
ANGEL ALONSO DEL PILAR                 ADDRESS ON FILE
ANGEL ALVARADO RIVERA                  ADDRESS ON FILE
ANGEL ALVAREZ BONETA                   ADDRESS ON FILE
ANGEL ALVAREZ CASTILLO                 ADDRESS ON FILE
ANGEL ALVAREZ GONZALEZ                 ADDRESS ON FILE
ANGEL ALVAREZ PADIN                    ADDRESS ON FILE
ANGEL ALVAREZ SALDANA                  ADDRESS ON FILE
ANGEL AMARO SANCHEZ                    ADDRESS ON FILE
ANGEL ANDERSON POOL                    ADDRESS ON FILE
ANGEL ANDRES MELENDEZ ZAYAS            ADDRESS ON FILE
ANGEL ANDUJAR REYES                    ADDRESS ON FILE
ANGEL ANTONIO PAGAN IZQUIERDO          ADDRESS ON FILE
ANGEL ANTONIO PAGAN IZQUIERDO          ADDRESS ON FILE
ANGEL APONTE QUINONEZ                  ADDRESS ON FILE
ANGEL ARANA MERCADO                    ADDRESS ON FILE
ANGEL ARROYO ISALES                    ADDRESS ON FILE




                                                                                                   Page 418 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 419 of 3500
                                                                                                      Creditor Matrix

Creditor Name                             Address1                                  Address2                       Address3   Address4   City         State   PostalCode   Country
ANGEL ARROYO MARQUEZ                      ADDRESS ON FILE
ANGEL ARROYO QUINONES                     ADDRESS ON FILE
ANGEL ARROYO TORRES                       ADDRESS ON FILE
ANGEL ARROYO TORRES                       LCDA. YARITZA DEL C. HERNÁNDEZ BONET‐ ABOGPO BOX 9020192                                       SAN JUAN     PR      00902‐0192
ANGEL ARROYO TORRES                       LCDO. LUIS MORELL MORELL‐ABOGADO DEMANDPO BOX 494                                              CAMUY        PR      00627
ANGEL ARROYO TORRES                       LCDO. RAFAEL PÉREZ ABREU‐ABOGADO MUN. HAREPARTO MARQUES                  CALLE 4    C‐2        ARECIBO      PR      00612
ANGEL ARZOLA GOMEZ                        ADDRESS ON FILE
ANGEL AYALA ACEVEDO                       ADDRESS ON FILE
ANGEL B CLEMENTE PIZARRO                  ADDRESS ON FILE
ANGEL B LOPEZ HERNANDEZ                   ADDRESS ON FILE
ANGEL BADILLO CRESPO                      ADDRESS ON FILE
ANGEL BAEZ FRANCO                         ADDRESS ON FILE
ANGEL BAEZ RODRIGUEZ                      ADDRESS ON FILE
ANGEL BALLESTER NICOLE                    ADDRESS ON FILE
ANGEL BARBOSA ARROYO                      ADDRESS ON FILE
ANGEL BELEN RIVERA                        ADDRESS ON FILE
ANGEL BELLO RIVERA                        ADDRESS ON FILE
ANGEL BENABE ROLDAN                       ADDRESS ON FILE
ANGEL BERMUDEZ                            LCDO. RICARDO ORTIZ MORALES               APARTADO 1816                                        CAYEY        PR      00737‐1816
ÁNGEL BERMÚDEZ CARTAGENA                  LCDO. RICARDO ORTIZ MORALES               APARTADO 1816                                        CAYEY        PR      00737‐1816
ANGEL BERMUDEZ SOTO                       ADDRESS ON FILE
ANGEL BERNARD APONTE                      ADDRESS ON FILE
ANGEL BERRIOS BERMUDEZ                    ADDRESS ON FILE
ANGEL BERRIOS SANTOS                      ADDRESS ON FILE
ANGEL BIRRIEL DIAZ                        ADDRESS ON FILE
ANGEL BOCCOTO DIAZ                        ADDRESS ON FILE
ANGEL BONILLA DE LA TORRE                 ADDRESS ON FILE
ANGEL BONILLA DE LA TORRE                 ADDRESS ON FILE
ANGEL BORIA REYES                         ADDRESS ON FILE
ANGEL BORRERO COFINO                      ADDRESS ON FILE
ANGEL BORROTO DIAZ                        ADDRESS ON FILE
ANGEL BRUNO PASTRANA                      ADDRESS ON FILE
ANGEL BRUNO TRINIDAD                      ADDRESS ON FILE
ANGEL BURGOS ESTEBAN                      ADDRESS ON FILE
ANGEL BURGOS ORTIZ                        ADDRESS ON FILE
ANGEL BURGOS ORTIZ                        ADDRESS ON FILE
ANGEL C BENITEZ / CARIB RENEWABLE TECHN   ADDRESS ON FILE
ANGEL C CONETTY ACEVEDO                   ADDRESS ON FILE
ANGEL C DAVILA LOPEZ                      ADDRESS ON FILE
ANGEL C DIAZ DIAZ                         ADDRESS ON FILE
ANGEL C FORTIS RIVERA                     ADDRESS ON FILE
ANGEL C HERNANDEZ REVERON                 ADDRESS ON FILE
ANGEL C MENDEZ MERCADO                    ADDRESS ON FILE
ANGEL C OTERO MERCADO                     ADDRESS ON FILE
ANGEL C PARIS SALDANA                     ADDRESS ON FILE
ANGEL C QUIROGA ORTIZ                     ADDRESS ON FILE
ANGEL C SIERRA GARCIA                     ADDRESS ON FILE
ANGEL C TORRES FERNANDEZ                  ADDRESS ON FILE
ANGEL CABRERA DE LA TORRE                 ADDRESS ON FILE
ANGEL CACHO Y MIRIAM REVERON              ADDRESS ON FILE
ANGEL CALDERON NARVAEZ                    ADDRESS ON FILE
ANGEL CALDERON NARVAEZ                    ADDRESS ON FILE
ANGEL CALDERON VIZCARRONDO                ADDRESS ON FILE
ANGEL CALIZ RODRIGUEZ                     ADDRESS ON FILE
ANGEL CAMACHO SANTIAGO                    ADDRESS ON FILE
ANGEL CANALS MARTINEZ                     ADDRESS ON FILE
ANGEL CANCEL QUINONEZ                     ADDRESS ON FILE
ANGEL CANDELARIO CUEVAS                   ADDRESS ON FILE
ANGEL CARRERO SANTIAGO                    ADDRESS ON FILE
ANGEL CARRION MORALES                     ADDRESS ON FILE




                                                                                                     Page 419 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 420 of 3500
                                                                                                Creditor Matrix

Creditor Name                           Address1                  Address2                                   Address3   Address4   City             State   PostalCode   Country
ANGEL CARRION MORALES                   ADDRESS ON FILE
ANGEL CARRION ORLANDI                   ADDRESS ON FILE
ANGEL CARRION ORLANDI                   ADDRESS ON FILE
ANGEL CARRION RODRIGUEZ                 ADDRESS ON FILE
ANGEL CARRION SERRANO                   ADDRESS ON FILE
ANGEL CARTAGENA COLON                   ADDRESS ON FILE
ANGEL CASABLANCA AYALA                  ADDRESS ON FILE
ANGEL CASAS CRUZ                        ADDRESS ON FILE
ANGEL CASASUS Y LUZ M AROCHO            ADDRESS ON FILE
ANGEL CASTILLO RODRIGUEZ                ADDRESS ON FILE
ANGEL CEDENO CESTERO                    ADDRESS ON FILE
ANGEL CINTRON LAMELA                    ADDRESS ON FILE
ANGEL CLAUDIO CRUZ                      ADDRESS ON FILE
ANGEL COLLAZO BONILLA                   ADDRESS ON FILE
ANGEL COLON ACEVEDO                     ADDRESS ON FILE
ANGEL COLON MARTINEZ                    ADDRESS ON FILE
ANGEL COLON RODRIGUEZ                   ADDRESS ON FILE
ANGEL COLON RUIZ                        ADDRESS ON FILE
ANGEL COMAS                             ADDRESS ON FILE
ANGEL CONNER MARTINEZ                   ADDRESS ON FILE
ANGEL CONTY CABAN                       ADDRESS ON FILE
ANGEL CORREA BAEZ                       ADDRESS ON FILE
ANGEL CORTES RIVERA                     ADDRESS ON FILE
ANGEL COSME OLIVERAS                    ADDRESS ON FILE
ANGEL COSME VALENTIN                    ADDRESS ON FILE
ANGEL COSS NUNEZ                        ADDRESS ON FILE
ANGEL COTTE NIEVES                      ADDRESS ON FILE
ANGEL COTTO                             ADDRESS ON FILE
ANGEL CRUZ                              ADDRESS ON FILE
ANGEL CRUZ CORTES                       ADDRESS ON FILE
ANGEL CRUZ DELGADO                      ADDRESS ON FILE
ANGEL CRUZ DIAZ                         ADDRESS ON FILE
ANGEL CRUZ MEDINA                       ADDRESS ON FILE
ANGEL CRUZ MONTES                       ADDRESS ON FILE
ANGEL CRUZ RIVERA                       ADDRESS ON FILE
ANGEL CRUZ SANTALIZ                     ADDRESS ON FILE
ANGEL CRUZ SANTIAGO                     ADDRESS ON FILE
ANGEL CRUZ SERRANO                      ADDRESS ON FILE
ANGEL CRUZ SOTO                         ADDRESS ON FILE
ANGEL CUADRADO RAMIREZ                  LCDA. VANESSA IRIZARRY    URB. SAN ANTONIO 2236 CALLE DELTA STE 1                          PONCE            PR      00728
ANGEL CUEVAS CRUZ                       ADDRESS ON FILE
Angel Cuevas Rivera                     ADDRESS ON FILE
ANGEL CUEVAS VALENTIN
ANGEL D AGOSTO ALVAREZ                  ADDRESS ON FILE
ANGEL D AGOSTO VELEZ                    ADDRESS ON FILE
ANGEL D BARREIRO VELEZ                  ADDRESS ON FILE
ANGEL D BAYRON VELEZ                    ADDRESS ON FILE
ANGEL D CARRASQUILLO REYES              ADDRESS ON FILE
ANGEL D CENTENO / ANA ORTIZ RIVERA      ADDRESS ON FILE
ANGEL D COLLADO RIVERA                  ADDRESS ON FILE
ANGEL D COSME RUIZ                      ADDRESS ON FILE
ANGEL D COTTO NIEVES                    ADDRESS ON FILE
ANGEL D CRUZ MARTINEZ/ ITRIA MARTINEZ   ADDRESS ON FILE
ANGEL D CRUZ RIVERA                     ADDRESS ON FILE
ANGEL D DETRS BAEZ                      ADDRESS ON FILE
ANGEL D FIGUEROA CRUZ                   ADDRESS ON FILE
ANGEL D GABRIEL DBA ADG PROFESSIONAL    JANITORIAL SUPPLY         PO BOX 417                                                       AGUAS BUENAS     PR      00703
ANGEL D GARCIA PIZARRO                  ADDRESS ON FILE
ANGEL D GONZALEZ SOTO                   ADDRESS ON FILE
ANGEL D MALDONADO RODRIGUEZ             ADDRESS ON FILE




                                                                                               Page 420 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 421 of 3500
                                                                                                          Creditor Matrix

Creditor Name                            Address1                           Address2                                   Address3               Address4   City         State   PostalCode   Country
ANGEL D MARTINEZ RAMOS                   ADDRESS ON FILE
ANGEL D MATEO CAMPOS                     ADDRESS ON FILE
ANGEL D MELENDEZ VELAZUQEZ               ADDRESS ON FILE
ANGEL D MENDEZ ACOSTA                    ADDRESS ON FILE
ANGEL D MENDEZ NIEVES                    ADDRESS ON FILE
ANGEL D MENDEZ NIEVES                    ADDRESS ON FILE
ANGEL D MENDEZ PAGAN                     ADDRESS ON FILE
ANGEL D MOLINA RAMOS                     ADDRESS ON FILE
ANGEL D MORALES VALLELLANES              ADDRESS ON FILE
ANGEL D MORANDEIRA ALONSO                ADDRESS ON FILE
ANGEL D NEGRONI PEDROZA                  ADDRESS ON FILE
ANGEL D NORIEGA HAIFFE                   ADDRESS ON FILE
ANGEL D NUNEZ QUINTANA                   ADDRESS ON FILE
ANGEL D OCANA LEBRON                     ADDRESS ON FILE
ANGEL D ORTEGA CORREA                    ADDRESS ON FILE
ANGEL D ORTIZ ZAVALA                     ADDRESS ON FILE
ANGEL D OYOLA ROLON                      ADDRESS ON FILE
ANGEL D PEDROZA MONTANEZ                 ADDRESS ON FILE
ANGEL D REYES ECHEVARRIA                 ADDRESS ON FILE
ANGEL D REYES VARGAS                     ADDRESS ON FILE
ANGEL D RIOS AVILES                      ADDRESS ON FILE
ANGEL D RIVERA DE JESUS                  ADDRESS ON FILE
ANGEL D RIVERA MIRANDA                   ADDRESS ON FILE
ANGEL D RIVERA PAGAN                     ADDRESS ON FILE
ANGEL D RIVERA TORRES                    ADDRESS ON FILE
ANGEL D RODRIGUEZ CAMACHO                ADDRESS ON FILE
ANGEL D RODRIGUEZ QUINONES               ADDRESS ON FILE
ANGEL D RODRIGUEZ QUINONES               ADDRESS ON FILE
ANGEL D RODRIGUEZ SEGARRA                ADDRESS ON FILE
ANGEL D RODRIGUEZ VELEZ                  ADDRESS ON FILE
ANGEL D RUBERT GARCIA                    ADDRESS ON FILE
ANGEL D SALAZAR DELGADO                  ADDRESS ON FILE
ANGEL D SANTIAGO VEGA                    ADDRESS ON FILE
ANGEL D SANTOS CORTES                    ADDRESS ON FILE
ANGEL D SOLANO DIAZ,VILMARY DIAZ SANCHEZ ADDRESS ON FILE
ANGEL D SOTO IRRIZARY                    ADDRESS ON FILE
ANGEL D SUAREZ RIVERA                    ADDRESS ON FILE
ANGEL D TORRES MENDOZA                   ADDRESS ON FILE
ANGEL D URBINA                           ADDRESS ON FILE
ANGEL D VALENTIN SANCHEZ                 ADDRESS ON FILE
ANGEL D VALLE CONCEPCION                 ADDRESS ON FILE
ANGEL D VAZQUEZ GUZMAN                   ADDRESS ON FILE
ANGEL D VAZQUEZ TORRES                   ADDRESS ON FILE
ANGEL D VEGA BOUSONO                     ADDRESS ON FILE
ANGEL D VEGA CORTES                      ADDRESS ON FILE
ANGEL D VEGA RUIZ                        ADDRESS ON FILE
ANGEL D. BERRIOS DAVIS                   LCDO. JUAN CARLOS RÍOS PÉREZ       PO Box 9020443                                                               SAN JUAN     PR      00902‐0443
ANGEL D. CLAS VELEZ                      ADDRESS ON FILE
ANGEL D. COLON MIRANDA                   ADDRESS ON FILE
ANGEL D. FUENTES VILLEGAS                ADDRESS ON FILE
ÁNGEL D. MEDINA, PERLA RDZ WALKER Y SLG  LCDA. VERONICA ORTIZ GALICHET      CENTRO INTERNACIONAL DE MERCADEO TORRE I 100 CARR. 165 STE. 509              GUAYNABO     PR      00968‐8052
ÁNGEL D. MEDINA, PERLA RDZ WALKER Y SLG  LCDO. JORGE CARRASQUILLO JIMENEZ   1056 MUÑOZ RIVERA 301                                                        SAN JUAN     PR      00927
ÁNGEL D. MEDINA, PERLA RDZ WALKER Y SLG  LCDO. JOSE DÁVILA CABALLERO        PO BOX 63128                                                                 SAN JUAN     PR      00936‐3128
ÁNGEL D. MEDINA, PERLA RDZ WALKER Y SLG  LCDO. LUIS JAVIER JORDAN SAIZ      PO BOX 366226                                                                SAN JUAN     PR      00936‐6226
ANGEL D. RIVERA AQUINO                   ADDRESS ON FILE
ANGEL D. SANTIAGO                        ADDRESS ON FILE
ANGEL D. SANTIAGO ROMAN                  ADDRESS ON FILE
ANGEL D. VAZQUEZ RIVERA                  ADDRESS ON FILE
ANGEL DAVID ACOSTA CUMBA                 ADDRESS ON FILE
ANGEL DAVID CENTENO SANTIAGO             ADDRESS ON FILE




                                                                                                        Page 421 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 422 of 3500
                                                                                       Creditor Matrix

Creditor Name                       Address1                       Address2                         Address3              Address4   City              State   PostalCode   Country
ANGEL DAVID DONES RODRIGUEZ         ADDRESS ON FILE
ANGEL DAVID GONZALEZ PAGAN          ADDRESS ON FILE
ANGEL DAVID MARTINEZ ROBLES         ADDRESS ON FILE
ANGEL DAVID MUNOZ MERCADO           ADDRESS ON FILE
ANGEL DAVID RIOS AVILES             ADDRESS ON FILE
ANGEL DAVILA                        ADDRESS ON FILE
ANGEL DAVILA MONTALVO               ADDRESS ON FILE
ANGEL DAVILA PEREZ                  ADDRESS ON FILE
ANGEL DAVILA TAPIA                  ADDRESS ON FILE
ANGEL DE JESUS DE JESUS             ADDRESS ON FILE
ANGEL DE JESUS IRIZARRY VELAZQUEZ   ADDRESS ON FILE
ANGEL DE JESUS LOPEZ PEREZ          ADDRESS ON FILE
ANGEL DE JESUS MARRERO              ADDRESS ON FILE
ANGEL DE JESUS ORTIZ                ADDRESS ON FILE
ANGEL DE JESUS PIZARRO              ADDRESS ON FILE
ANGEL DE LA CRUZ GONZALEZ           ADDRESS ON FILE
ANGEL DE LA GUARDA                  ADDRESS ON FILE
ANGEL DE LA GUARDA                  ADDRESS ON FILE
ANGEL DE LA GUARDA, INC             ADM FAMILIAS Y NINOS           PO BOX 11398                                                      SAN JUAN          PR      00902‐5091
ANGEL DE LA GUARDA, INC             P O BOX 3007                                                                                     SAN SEBASTIAN     PR      00685
ANGEL DE LA GUARDA, INC             PO BOX 7006 PMB 111                                                                              SAN SEBASTIAN     PR      00685
ANGEL DE LA GUARDA, INC             PO BOX 907                                                                                       SAN SEBASTIAN     PR      00685
ANGEL DE LOS SANTOS GARCIA          ADDRESS ON FILE
                                                                                                    LUCHETTI INDUSTRIAL
ANGEL DEL VALLE VILLAFAÑE           LCDA. YESENIA VÁZQUEZ TORRES   #25 CARRETERA 28                 PARK                             Bayamón           PR      00961‐7413
ANGEL DELGADO MARRERO               ADDRESS ON FILE
ANGEL DELGADO PINEIRO               ADDRESS ON FILE
ANGEL DELGADO TIRADO                ADDRESS ON FILE
ANGEL DIAZ AHEDO                    ADDRESS ON FILE
ANGEL DIAZ DELBREY                  ADDRESS ON FILE
ANGEL DIAZ HERNANDEZ                ADDRESS ON FILE
ANGEL DIAZ MILA                     ADDRESS ON FILE
ANGEL DIAZ MORALES                  ADDRESS ON FILE
ANGEL DIAZ MUJICA                   ADDRESS ON FILE
ANGEL DIAZ PEREZ                    ADDRESS ON FILE
ANGEL DIAZ REYES                    ADDRESS ON FILE
ANGEL DIAZ RODRIGUEZ                ADDRESS ON FILE
ANGEL DIAZ SAEZ                     ADDRESS ON FILE
ANGEL DROZ                          ADDRESS ON FILE
ANGEL DROZ                          ADDRESS ON FILE
ANGEL E APONTE RODRIGUEZ            ADDRESS ON FILE
ANGEL E ASTOR NATER                 ADDRESS ON FILE
ANGEL E ATIENZA FERNANDEZ           ADDRESS ON FILE
ANGEL E COLLAZO SOLIVAN             ADDRESS ON FILE
ANGEL E COLON VEGA                  ADDRESS ON FILE
ANGEL E CRUZ ACEVEDO                ADDRESS ON FILE
ANGEL E ESPINET MERCADO             ADDRESS ON FILE
ANGEL E MARTINEZ GODINEAUX          ADDRESS ON FILE
ANGEL E MARTINEZ IRIZARRY           ADDRESS ON FILE
ANGEL E MATIAS LOZADA               ADDRESS ON FILE
ANGEL E MERCADO RUIZ                ADDRESS ON FILE
ANGEL E MERCADO SOTO                ADDRESS ON FILE
ANGEL E MERCADO Y MASSIEL MERCADO   ADDRESS ON FILE
ANGEL E MOLINA COLON                ADDRESS ON FILE
ANGEL E MONTANEZ GARCIA             ADDRESS ON FILE
ANGEL E MORALES SOLIS               ADDRESS ON FILE
ANGEL E NUNEZ APONTE                ADDRESS ON FILE
ANGEL E ORTIZ SOTO                  ADDRESS ON FILE
ANGEL E PICHARDO NUNEZ              ADDRESS ON FILE
ANGEL E PONS TORRES                 ADDRESS ON FILE




                                                                                      Page 422 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 423 of 3500
                                                                                            Creditor Matrix

Creditor Name                        Address1                  Address2                                  Address3           Address4   City         State   PostalCode   Country
ANGEL E QUINONES SOTO                ADDRESS ON FILE
ANGEL E RAMOS MONTANEZ               ADDRESS ON FILE
ANGEL E RAMOS PEREZ                  ADDRESS ON FILE
ANGEL E RIVERA SANTIAGO              ADDRESS ON FILE
ANGEL E ROSA                         ADDRESS ON FILE
ANGEL E ROSADO TORO                  ADDRESS ON FILE
ANGEL E SIMONETTI SANTIAGO           ADDRESS ON FILE
ANGEL E SOSTRE CINTRON               ADDRESS ON FILE
ANGEL E SOTO VALDES                  ADDRESS ON FILE
ANGEL E TORRES MARTINEZ              ADDRESS ON FILE
ANGEL E TORRES ROSA                  ADDRESS ON FILE
ANGEL E. DE LEON SANTIAGO            ADDRESS ON FILE
ANGEL E. DOMENECH ESTRELLA           ADDRESS ON FILE
ANGEL E. LAMBOY CRUZ                 ADDRESS ON FILE
ANGEL E. MARTINEZ HERIQUEZ           ADDRESS ON FILE
ANGEL E. MARTINEZ IRIZARRY           ADDRESS ON FILE
ANGEL EFRAIN ROSADO TORO             ADDRESS ON FILE
ANGEL EMILIO FELICIANO MALAVE        ADDRESS ON FILE
ANGEL ENCARNACION RIVERA             ADDRESS ON FILE
ANGEL ENRIQUE ROMERO GALINDEZ        PRO SE                    INSTITUCION DE MAXIMA SEGURIDAD BYPASS 3793 D‐5 CELDA 5026              PONCE        PR      00728‐1504
ANGEL ERIC RIOS INC                  URB RIO HONDO 1           K5 CALLE RIO BLANCO                                                     BAYAMON      PR      00961‐3443
ANGEL ESCOBAR ANDINO                 ADDRESS ON FILE
ANGEL ESCUDERO CARABALLO             ADDRESS ON FILE
ANGEL ESCUDERO GINES                 ADDRESS ON FILE
ANGEL ESPADA SIERRA                  ADDRESS ON FILE
ANGEL ESTRADA ORTEGA                 ADDRESS ON FILE
ANGEL F ACEVEDO SOSA                 ADDRESS ON FILE
ANGEL F BARZANA SANTIAGO             ADDRESS ON FILE
ANGEL F CLAVELO PEREZ                ADDRESS ON FILE
ANGEL F DE JESUS SANTIAGO            ADDRESS ON FILE
ANGEL F DELUCCA MARRERO              ADDRESS ON FILE
ANGEL F DIAZ BERBERENA               ADDRESS ON FILE
ANGEL F GONZALEZ CRUZ                ADDRESS ON FILE
ANGEL F HERNANDEZ PENA               ADDRESS ON FILE
ANGEL F LAUREANO Y ELBA I ROSADO     ADDRESS ON FILE
ANGEL F MALDONADO MORALES            ADDRESS ON FILE
ANGEL F MALDONADO MORALES            ADDRESS ON FILE
ANGEL F MARTINEZ SEGARRA             ADDRESS ON FILE
ANGEL F MONTANO MALDONADO            ADDRESS ON FILE
ANGEL F ORTIZ NOBLE                  ADDRESS ON FILE
ANGEL F QUILES/ EDGAR G QUILES       ADDRESS ON FILE
ANGEL F RAMOS SANCHEZ                ADDRESS ON FILE
ANGEL F ROSSY GARCIA                 ADDRESS ON FILE
ANGEL F SERRANO TORRES               ADDRESS ON FILE
ANGEL F TALAVERA FORTY               ADDRESS ON FILE
ANGEL F VELAZQUEZ FRANCESCHINI       ADDRESS ON FILE
ANGEL F VIERA ENCARNACION            ADDRESS ON FILE
ANGEL F. CAMACHO RIVERA              ADDRESS ON FILE
ANGEL F. RIVERA RODRIGUEZ            ADDRESS ON FILE
ANGEL F. SOTO GARCIA                 ADDRESS ON FILE
ANGEL FEBLES BERDECIA                ADDRESS ON FILE
ANGEL FEBLES BERDECIA                ADDRESS ON FILE
ANGEL FELICIANO LUGO                 ADDRESS ON FILE
ANGEL FELICIANO PADILLA              ADDRESS ON FILE
ANGEL FELICIANO RODRIGUEZ            ADDRESS ON FILE
ANGEL FELIX ANDINO RODRIGUEZ         ADDRESS ON FILE
ANGEL FERES BAEZ Y SABRINA DELGADO   ADDRESS ON FILE
ANGEL FERNANDEZ SOTO                 ADDRESS ON FILE
ANGEL FERNANDEZ Y AIDALI FERNANDEZ   ADDRESS ON FILE
ANGEL FIDALGO                        EDIF TRELLES              653 CALLE ESTADO APT 4A                                                 SAN JUAN     PR      00907 3502




                                                                                           Page 423 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 424 of 3500
                                                                                                     Creditor Matrix

Creditor Name                            Address1                  Address2                                       Address3   Address4   City        State   PostalCode   Country
ANGEL FIGUERAS TORRES                    ADDRESS ON FILE
ANGEL FIGUEROA                           ADDRESS ON FILE
ANGEL FIGUEROA CRUZ                      ADDRESS ON FILE
ANGEL FIGUEROA MARTINEZ                  ADDRESS ON FILE
ANGEL FIGUEROA RODRIGUEZ                 ADDRESS ON FILE
ANGEL FIGUEROA VIVAS                     ADDRESS ON FILE
ANGEL FLORES BAEZ                        ADDRESS ON FILE
ANGEL FLORES CRUZ                        ADDRESS ON FILE
ANGEL FLORES HERNANDEZ                   ADDRESS ON FILE
Angel Flores López                       ADDRESS ON FILE
ANGEL FLORES Y MARISE AVILES             ADDRESS ON FILE
ANGEL FLORES ZAYAS                       ADDRESS ON FILE
ANGEL FONTANEZ QUINONEZ                  ADDRESS ON FILE
Angel Fourquet Cordero                   ADDRESS ON FILE
ANGEL FUSTER ORTIZ INC                   URB ESTANCIA              D 36 CALLE VIA SAN JUAN PLAZA 5                                      BAYAMON     PR      00961
ANGEL G ALICEA APONTE                    ADDRESS ON FILE
ANGEL G ANDINO RAMOS                     ADDRESS ON FILE
ANGEL G ATILES RODRIGUEZ                 ADDRESS ON FILE
ANGEL G AVILES SANTINI                   ADDRESS ON FILE
ANGEL G BURGOS LUGO                      ADDRESS ON FILE
ANGEL G CAMACHO TORRES                   ADDRESS ON FILE
ANGEL G CARABALLO MORENO                 ADDRESS ON FILE
ANGEL G CASTRO RESSY                     ADDRESS ON FILE
ANGEL G COIRA BURGOS                     ADDRESS ON FILE
ANGEL G CORNIER MORALES                  ADDRESS ON FILE
ANGEL G CORTES COLON                     ADDRESS ON FILE
ANGEL G COSME COSME                      ADDRESS ON FILE
ANGEL G DE RUBIO FONALLEDAS              ADDRESS ON FILE
ANGEL G DIAZ CAMARENO                    ADDRESS ON FILE
ANGEL G DIAZ MARQUEZ                     ADDRESS ON FILE
ANGEL G GARCIA BERRIOS                   ADDRESS ON FILE
ANGEL G GARCIA VAZQUEZ                   ADDRESS ON FILE
ANGEL G GARCIA VAZQUEZ                   ADDRESS ON FILE
ANGEL G GARCIA VAZQUEZ                   ADDRESS ON FILE
ANGEL G GONZALEZ CABRERA                 ADDRESS ON FILE
ANGEL G GONZALEZ GONZALEZ                ADDRESS ON FILE
ANGEL G JUAN GUZMAN                      ADDRESS ON FILE
ANGEL G LEON DIAZ                        ADDRESS ON FILE
ANGEL G MALDONADO PEREZ                  ADDRESS ON FILE
ANGEL G MARRERO PADILLA                  ADDRESS ON FILE
ANGEL G MELENDEZ POLO                    ADDRESS ON FILE
ANGEL G MONTALVO BERRIOS                 ADDRESS ON FILE
ANGEL G MORALES GARCIA                   ADDRESS ON FILE
ANGEL G MUNIZ TORO                       ADDRESS ON FILE
ANGEL G NARVAEZ HERNANDEZ                ADDRESS ON FILE
ANGEL G NAVARRO OTERO                    ADDRESS ON FILE
ANGEL G OCASIO MERCED                    ADDRESS ON FILE
ANGEL G OYOLA GARCIA                     ADDRESS ON FILE
ANGEL G PEREZ COLON                      ADDRESS ON FILE
ANGEL G PEREZ GONZALEZ                   ADDRESS ON FILE
ANGEL G PEREZ PENA                       ADDRESS ON FILE
ANGEL G PEREZ ROSARIO                    ADDRESS ON FILE
ANGEL G QUINONES CORDOVA                 ADDRESS ON FILE
ANGEL G RAMIREZ MORAGON                  ADDRESS ON FILE
ANGEL G RIVAS GONZALEZ                   ADDRESS ON FILE
ANGEL G RIVERA CORTES                    ADDRESS ON FILE
ANGEL G RIVERA RUANO                     ADDRESS ON FILE
ANGEL G ROMAN CARDONA                    ADDRESS ON FILE
ANGEL G RUIZ NEGRON                      ADDRESS ON FILE
ANGEL G SANCHEZ RIVERA/ANGEL R SANCHEZ G ADDRESS ON FILE




                                                                                                 Page 424 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 425 of 3500
                                                                                                         Creditor Matrix

Creditor Name                            Address1                          Address2                                   Address3   Address4   City            State   PostalCode   Country
ANGEL G SANTIAGO CRUZ                    ADDRESS ON FILE
ANGEL G SEDA GARCIA                      ADDRESS ON FILE
ANGEL G TORRES INC                       PO BOX 977                                                                                         HATILLO         PR      00659‐0977
ANGEL G TORRES PAGAN                     ADDRESS ON FILE
ANGEL G VALENTIN GRAJALES                ADDRESS ON FILE
ANGEL G VAZQUEZ TORRES                   ADDRESS ON FILE
ANGEL G VEGA SANTOS                      ADDRESS ON FILE
ANGEL G VELEZ COLLAZO                    ADDRESS ON FILE
ANGEL G. ARROYO GONZALEZ                 ADDRESS ON FILE
ANGEL G. GONZALEZ                        MARTIN CORTES IRIZARRY            URB. ASOMANTE 114 VIA DEL GUAYABAL                               CAGUAS          PR      00727‐3070
ANGEL G. RIVERA GUZMAN                   ADDRESS ON FILE
ANGEL GABRIEL DE JESUS RIVERA            ADDRESS ON FILE
ANGEL GADDIEL RESTO ADORNO               ADDRESS ON FILE
ANGEL GALERA Y HAYDEE AREIZAGA           ADDRESS ON FILE
ANGEL GARCIA MOJICA                      ADDRESS ON FILE
ANGEL GARCIA ORTIZ                       ADDRESS ON FILE
ANGEL GARCIA RIVERA                      ADDRESS ON FILE
ANGEL GARCIA RIVERA                      ADDRESS ON FILE
ANGEL GARCIA SEVILLA                     ADDRESS ON FILE
Angel Gas                                Carr. 481 Int. / Calle Shelimar                                                                    Quebradilla     PR      00678
ANGEL GINES MONTES                       ADDRESS ON FILE
ANGEL GOMEZ CORDERO                      ADDRESS ON FILE
ANGEL GONZALEZ CORREA                    ADDRESS ON FILE
ANGEL GONZALEZ DEL TORO                  ADDRESS ON FILE
ANGEL GONZALEZ ECHEVARRIA                ADDRESS ON FILE
ANGEL GONZALEZ FIGUEROA                  ADDRESS ON FILE
ANGEL GONZALEZ IRIZARRY                  ADDRESS ON FILE
ANGEL GONZALEZ LOPEZ                     ADDRESS ON FILE
ANGEL GONZALEZ PAGAN                     ADDRESS ON FILE
ANGEL GONZALEZ QUINONES                  ADDRESS ON FILE
ANGEL GONZALEZ REYES                     ADDRESS ON FILE
ANGEL GONZALEZ SOTO                      ADDRESS ON FILE
ÁNGEL GONZÁLEZ TORRES                    SR. ÁNGEL GONZÁLEZ TORRES         RR 1 BOX 2107                                                    CIDRA           PR      00739
ANGEL GRAU QUILES                        ADDRESS ON FILE
ANGEL GUAL CARINO                        ADDRESS ON FILE
ANGEL GUTIERREZ                          ADDRESS ON FILE
ANGEL GUTIERREZ TORRES                   ADDRESS ON FILE
ANGEL GUTIERREZ, LUIS                    ADDRESS ON FILE
ANGEL GUZMAN ECHEVARRIA                  ADDRESS ON FILE
ANGEL GUZMAN MARTINEZ                    ADDRESS ON FILE
ANGEL GUZMAN SANCHEZ                     ADDRESS ON FILE
ANGEL H GONZALEZ GONZALEZ                ADDRESS ON FILE
ANGEL HAMBURGO LAGARES                   ADDRESS ON FILE
ANGEL HEREDIA                            ADDRESS ON FILE
ANGEL HERNANDEZ ACEVEDO                  ADDRESS ON FILE
ÁNGEL HERNÁNDEZ CASTRO                   LCDA. GENOVEVA VALENTIN SOTO      PO BOX 13695                                                     SAN JUAN        PR      00908‐3695
ANGEL HERNANDEZ DATA VOICE & FIBER OPTIC WIRING SPECIALTIES                SANTA JUANITA C/ 39 UU 1 PND 249                                 BAYAMON         PR      00956
ANGEL HERNANDEZ DE LEON                  ADDRESS ON FILE
ANGEL HERNANDEZ GARCIA                   ADDRESS ON FILE
ANGEL HERNANDEZ GARCIA                   ADDRESS ON FILE
ANGEL HERNANDEZ HERNANDEZ                ADDRESS ON FILE
ANGEL HERNANDEZ ROSARIO                  ADDRESS ON FILE
ANGEL HERPIN SANTIAGO                    ADDRESS ON FILE
ANGEL HERRERA BLANCO                     ADDRESS ON FILE
ANGEL HOYOS MD, CARLOS H                 ADDRESS ON FILE
ANGEL HOYOS, CARLOS H.                   ADDRESS ON FILE
ANGEL I CABALLERO BAEZ                   ADDRESS ON FILE
ANGEL I CORTES NEGRON                    ADDRESS ON FILE
ANGEL I DELGADO RIVERA                   ADDRESS ON FILE
ANGEL I MALDONADO CALES                  ADDRESS ON FILE




                                                                                                        Page 425 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 426 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL I MALDONADO GOMEZ              ADDRESS ON FILE
ANGEL I MENDEZ RODRIGUEZ             ADDRESS ON FILE
ANGEL I MIRANDA CRUZ                 ADDRESS ON FILE
ANGEL I TORRES BARRETO               ADDRESS ON FILE
ANGEL I URDANETA FELICIANO           ADDRESS ON FILE
ANGEL I. ESCALERA CRUZ               ADDRESS ON FILE
ANGEL I. MOLINA                      ADDRESS ON FILE
ANGEL I. RIVERA NEVAREZ              ADDRESS ON FILE
ANGEL IGARAVIDEZ GONZALEZ Y LA SLG   PEDRO ROSARIO PEREZ       Apartado 370038                                        Cayey        PR      00737‐0038
ANGEL IRIZARRY MUNIZ                 ADDRESS ON FILE
ANGEL IVAN DIAZ RIOS                 ADDRESS ON FILE
ANGEL J ALMODOVAR                    ADDRESS ON FILE
ANGEL J ALONSO DE JESUS              ADDRESS ON FILE
ANGEL J ALVARADO MALDONADO           ADDRESS ON FILE
ANGEL J APONTE ORTIZ                 ADDRESS ON FILE
ANGEL J BAERGA MONTES                ADDRESS ON FILE
ANGEL J BORGES MATEO                 ADDRESS ON FILE
ANGEL J CALVO GONZALEZ               ADDRESS ON FILE
ANGEL J CUEVAS MATTEI                ADDRESS ON FILE
ANGEL J DE LA CUESTA REDONDO         ADDRESS ON FILE
ANGEL J DE LEON / YOLANDA ROSALY     ADDRESS ON FILE
ANGEL J DEFENDINI CORRETJER          ADDRESS ON FILE
ANGEL J DELGADO GARCIA               ADDRESS ON FILE
ANGEL J DIAZ MARTINEZ                ADDRESS ON FILE
ANGEL J FELICIANO REYES              ADDRESS ON FILE
ANGEL J FLORES COLLADO               ADDRESS ON FILE
ANGEL J GARCIA VILLANUEVA            ADDRESS ON FILE
ANGEL J GONZALEZ CUEVAS              ADDRESS ON FILE
ANGEL J GONZALEZ OLIVO               ADDRESS ON FILE
ANGEL J GUERRA ROSA                  ADDRESS ON FILE
ANGEL J MALDONADO RIVERA             ADDRESS ON FILE
ANGEL J MARTINEZ ALICEA              ADDRESS ON FILE
ANGEL J MARTINEZ MALDONADO           ADDRESS ON FILE
ANGEL J MARTINEZ ROMAN               ADDRESS ON FILE
ANGEL J MEDINA MORA                  ADDRESS ON FILE
ANGEL J MORALES ACEVEDO              ADDRESS ON FILE
ANGEL J MORALES CARTAGENA            ADDRESS ON FILE
ANGEL J MORALES MARTINEZ             ADDRESS ON FILE
ANGEL J NAVARRO CASTRO               ADDRESS ON FILE
ANGEL J OQUENDO FONTAN               ADDRESS ON FILE
ANGEL J ORTIZ GUZMAN                 ADDRESS ON FILE
ANGEL J PACHECO SANTIAGO             ADDRESS ON FILE
ANGEL J PRATTS VEGA                  ADDRESS ON FILE
ANGEL J RAMOS RIVERA                 ADDRESS ON FILE
ANGEL J REYES VILLANUEVA             ADDRESS ON FILE
ANGEL J RIVERA                       ADDRESS ON FILE
ANGEL J RIVERA SANTINI               ADDRESS ON FILE
ANGEL J RODRIGUEZ VAZQUEZ            ADDRESS ON FILE
ANGEL J ROSA GONZALEZ                ADDRESS ON FILE
ANGEL J ROSSY CORRADA                ADDRESS ON FILE
ANGEL J SANCHEZ VELAZQUEZ            ADDRESS ON FILE
ANGEL J SANTIAGO LOPEZ               ADDRESS ON FILE
ANGEL J SANTIAGO MEDINA              ADDRESS ON FILE
ANGEL J SIERRA CARABALLO             ADDRESS ON FILE
ANGEL J SUAREZ RIVERA                ADDRESS ON FILE
ANGEL J SUAREZ RIVERA                ADDRESS ON FILE
ANGEL J TORRES AROCHO                ADDRESS ON FILE
ANGEL J TORRES CLASS                 ADDRESS ON FILE
ANGEL J VALENCIA GATELL              ADDRESS ON FILE
ANGEL J VARGAS CARCANA               ADDRESS ON FILE




                                                                                 Page 426 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 427 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL J. DEFENDINI CORRETJER            ADDRESS ON FILE
ANGEL J. ONDINA CORDOVES                ADDRESS ON FILE
ANGEL J. ONDINA CORDOVES                ADDRESS ON FILE
ANGEL JAVIER QUINONES AVILES            ADDRESS ON FILE
ANGEL JAVIER RAMOS BLANCO               ADDRESS ON FILE
ANGEL JESUS HERRERA RIOS                ADDRESS ON FILE
ANGEL JESUS HERRERA RIOS                ADDRESS ON FILE
ANGEL JESUS RAMOS SILVA                 ADDRESS ON FILE
ANGEL JESUS SANTIAGO FIGUEROA           ADDRESS ON FILE
ANGEL JIMENEZ                           ADDRESS ON FILE
ANGEL JOSE CUSTODIO FLORES              ADDRESS ON FILE
ANGEL JOSUE ROMAN APONTE                ADDRESS ON FILE
ANGEL JOVANNY GUZMAN DONES              ADDRESS ON FILE
ANGEL JR TEJERAS MORALES                ADDRESS ON FILE
ANGEL JR TEJERAS MORALES                ADDRESS ON FILE
ANGEL JUARBE DE JESUS                   ADDRESS ON FILE
ANGEL JUARBE ESCOBALES                  ADDRESS ON FILE
ANGEL KRINGDOM MARTIR                   ADDRESS ON FILE
ANGEL L ACEVEDO HERNANDEZ               ADDRESS ON FILE
ANGEL L ACEVEDO MARTINEZ                ADDRESS ON FILE
ANGEL L ACEVEDO RUIZ                    ADDRESS ON FILE
ANGEL L ACOSTA GOMEZ/ MARIA DEL C GOMEZ ADDRESS ON FILE
ANGEL L ADORNO                          ADDRESS ON FILE
ANGEL L AGOSTO MERCADO                  ADDRESS ON FILE
ANGEL L AGUIAR PAGAN                    ADDRESS ON FILE
ANGEL L ALEMAN MONTANEZ                 ADDRESS ON FILE
ANGEL L ALICEA MONTANEZ                 ADDRESS ON FILE
ANGEL L ALICEA PARES                    ADDRESS ON FILE
ANGEL L ALICEA RODRIGUEZ                ADDRESS ON FILE
ANGEL L ALLENDE                         ADDRESS ON FILE
ANGEL L ALMODOVAR DONATE                ADDRESS ON FILE
ANGEL L ALVAREZ ROSARIO                 ADDRESS ON FILE
ANGEL L ALVELO RIVERA                   ADDRESS ON FILE
ANGEL L ALVERIO DE JESUS                ADDRESS ON FILE
ANGEL L ANDRADES                        ADDRESS ON FILE
ANGEL L ANDUJAR RODRIGUEZ               ADDRESS ON FILE
ANGEL L APONTE                          ADDRESS ON FILE
ANGEL L APONTE MALDONADO                ADDRESS ON FILE
ANGEL L ARBOLAY LIND                    ADDRESS ON FILE
ANGEL L ARIZMENDI FRANCO                ADDRESS ON FILE
ANGEL L ARROYO GAJATE                   ADDRESS ON FILE
ANGEL L ARROYO SANCHEZ                  ADDRESS ON FILE
ANGEL L ARZOLA MORALES                  ADDRESS ON FILE
ANGEL L ARZOLA RODRIGUEZ                ADDRESS ON FILE
ANGEL L ARZOLA RODRIGUEZ                ADDRESS ON FILE
ANGEL L ARZON MALDONADO                 ADDRESS ON FILE
ANGEL L ARZUAGA CABRERA                 ADDRESS ON FILE
ANGEL L AYALA RIVERA                    ADDRESS ON FILE
ANGEL L AYALA TORRES                    ADDRESS ON FILE
ANGEL L BADILLO LOPEZ                   ADDRESS ON FILE
ANGEL L BAERGA MONTES                   ADDRESS ON FILE
ANGEL L BAEZ ARRIAGA                    ADDRESS ON FILE
ANGEL L BAEZ QUIRINDONGO                ADDRESS ON FILE
ANGEL L BAEZ/ NELSON BAEZ/ DANNY E BAEZ ADDRESS ON FILE
ANGEL L BARRE VAZQUEZ                   ADDRESS ON FILE
ANGEL L BAUZO MORALES                   ADDRESS ON FILE
ANGEL L BAUZO PIMENTEL                  ADDRESS ON FILE
ANGEL L BENITEZ RIVERA                  ADDRESS ON FILE
ANGEL L BENITEZ VASALLO                 ADDRESS ON FILE
ANGEL L BERNARD PAGAN                   ADDRESS ON FILE




                                                                                     Page 427 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 428 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL L BERNARDI RIVERA                  ADDRESS ON FILE
ANGEL L BERRIOS SOLIS                    ADDRESS ON FILE
ANGEL L BERRIOS TORRES                   ADDRESS ON FILE
ANGEL L BONILLA ADORNO                   ADDRESS ON FILE
ANGEL L BONILLA RODRIGUEZ                ADDRESS ON FILE
ANGEL L BONILLA VERA                     ADDRESS ON FILE
ANGEL L BURGOS CRUZ                      ADDRESS ON FILE
ANGEL L BURGOS LOPEZ                     ADDRESS ON FILE
ANGEL L BURGOS ROSADO                    ADDRESS ON FILE
ANGEL L CADIZ MORALES                    ADDRESS ON FILE
ANGEL L CAEZ MATEO Y JULIA BERRIOS       ADDRESS ON FILE
ANGEL L CALDERO FIGUEROA                 ADDRESS ON FILE
ANGEL L CAMACHO RODRIGUEZ                ADDRESS ON FILE
ANGEL L CAMUY SANTIAGO                   ADDRESS ON FILE
ANGEL L CANCEL ORTIZ                     ADDRESS ON FILE
ANGEL L CANDELARIA ECHEVARRIA            ADDRESS ON FILE
ANGEL L CANETTY ACEVEDO                  ADDRESS ON FILE
ANGEL L CANETTY ACEVEDO                  ADDRESS ON FILE
ANGEL L CARABALLO CARABALLO              ADDRESS ON FILE
ANGEL L CARABALLO IRIZARRY               ADDRESS ON FILE
ANGEL L CARDENALES MATOS                 ADDRESS ON FILE
ANGEL L CARDONA GONZALEZ                 ADDRESS ON FILE
ANGEL L CARDONA NEGRON                   ADDRESS ON FILE
ANGEL L CARDONA RIVERA Y NELSON D SOTO   ADDRESS ON FILE
ANGEL L CARDONA ROMAN                    ADDRESS ON FILE
ANGEL L CARLO VELEZ                      ADDRESS ON FILE
ANGEL L CARRASCO FUENTES                 ADDRESS ON FILE
ANGEL L CARRASQUILLO ALVARADO            ADDRESS ON FILE
ANGEL L CARRION AGOSTO                   ADDRESS ON FILE
ANGEL L CARTAGENA MARTINEZ               ADDRESS ON FILE
ANGEL L CARTAGENA MATEO                  ADDRESS ON FILE
ANGEL L CASTILLO GOMEZ                   ADDRESS ON FILE
ANGEL L CASTILLO GOMEZ                   ADDRESS ON FILE
ANGEL L CASTRO LOPEZ                     ADDRESS ON FILE
ANGEL L CASTRO ORTIZ                     ADDRESS ON FILE
ANGEL L CASTRO SANTIAGO                  ADDRESS ON FILE
ANGEL L CINTRON VELEZ                    ADDRESS ON FILE
ANGEL L CLAUDIO FERNANDEZ                ADDRESS ON FILE
ANGEL L CLAUDIO GARCIA                   ADDRESS ON FILE
ANGEL L CLAUDIO Y MODESTA FLORES         ADDRESS ON FILE
ANGEL L COLON AGRON                      ADDRESS ON FILE
ANGEL L COLON COLON                      ADDRESS ON FILE
ANGEL L COLON DE JESUS                   ADDRESS ON FILE
ANGEL L COLON LOPEZ                      ADDRESS ON FILE
ANGEL L COLON MENDEZ                     ADDRESS ON FILE
ANGEL L COLON ORTIZ                      ADDRESS ON FILE
ANGEL L COLON RIVERA                     ADDRESS ON FILE
ANGEL L COLON SANTANA                    ADDRESS ON FILE
ANGEL L COLON TORRES                     ADDRESS ON FILE
ANGEL L COLON VAZQUEZ                    ADDRESS ON FILE
ANGEL L COLON VAZQUEZ                    ADDRESS ON FILE
ANGEL L COLON VAZQUEZ                    ADDRESS ON FILE
ANGEL L CONCEPCION TORRES                ADDRESS ON FILE
ANGEL L CORREA SANTIAGO                  ADDRESS ON FILE
ANGEL L CORRETJER RIVERA                 ADDRESS ON FILE
ANGEL L CORTEGUERA FONTANEZ              ADDRESS ON FILE
ANGEL L CORTEZ BABILONIA                 ADDRESS ON FILE
ANGEL L COSS REYES                       ADDRESS ON FILE
ANGEL L COTTO FIGUEROA                   ADDRESS ON FILE
ANGEL L CRESPO RUIZ                      ADDRESS ON FILE




                                                                                     Page 428 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 429 of 3500
                                                                                                Creditor Matrix

Creditor Name                            Address1                  Address2                                  Address3   Address4   City              State   PostalCode   Country
ANGEL L CRESPO RUIZ                      ADDRESS ON FILE
ANGEL L CRESPO VAZQUEZ                   ADDRESS ON FILE
ANGEL L CRUZ ACEVEDO                     ADDRESS ON FILE
ANGEL L CRUZ JIMENEZ                     ADDRESS ON FILE
ANGEL L CRUZ MARTINEZ                    ADDRESS ON FILE
ANGEL L CRUZ MARTINEZ                    ADDRESS ON FILE
ANGEL L CRUZ MOJICA                      ADDRESS ON FILE
ANGEL L CRUZ REYES                       ADDRESS ON FILE
ANGEL L CRUZ RODRIGUEZ                   ADDRESS ON FILE
ANGEL L CRUZ ROSA                        ADDRESS ON FILE
ANGEL L CUADRA ALEJANDRO                 ADDRESS ON FILE
ANGEL L CUADRA ALEJANDRO                 ADDRESS ON FILE
ANGEL L CUBERO ALICEA                    ADDRESS ON FILE
ANGEL L CUEVAS AYALA                     ADDRESS ON FILE
ANGEL L DAVILA ECHEVARRIA                ADDRESS ON FILE
ANGEL L DE JESUS COLON                   ADDRESS ON FILE
ANGEL L DE JESUS FERNANDEZ               ADDRESS ON FILE
ANGEL L DE JESUS GARCIA                  ADDRESS ON FILE
ANGEL L DE LEON CAMACHO                  ADDRESS ON FILE
ANGEL L DE LEON RODRIGUEZ                ADDRESS ON FILE
ANGEL L DEDOS GUZMAN                     ADDRESS ON FILE
ANGEL L DEL VALLE PEDROZA                ADDRESS ON FILE
ANGEL L DELGADO                          ADDRESS ON FILE
ANGEL L DELGADO                          ADDRESS ON FILE
ANGEL L DELGADO / MAMBICHE CATERING SERV MSC 540                                                                                   HUMACAO           PR      00792
ANGEL L DELGADO DELGADO                  ADDRESS ON FILE
ANGEL L DELGADO RIVERA                   ADDRESS ON FILE
ANGEL L DIAZ DIAZ                        ADDRESS ON FILE
ANGEL L DIAZ DIAZ                        ADDRESS ON FILE
ANGEL L DIAZ DIAZ                        ADDRESS ON FILE
ANGEL L DIAZ FELIX                       ADDRESS ON FILE
ANGEL L DIAZ HERNANDEZ                   ADDRESS ON FILE
ANGEL L DIAZ MARRERO                     ADDRESS ON FILE
ANGEL L DIAZ ORTIZ                       ADDRESS ON FILE
ANGEL L DIAZ PACHECO                     ADDRESS ON FILE
ANGEL L DIAZ PAGAN                       ADDRESS ON FILE
ANGEL L DIAZ PALENQUE                    ADDRESS ON FILE
ANGEL L ECHEVARRIA MUNOZ                 ADDRESS ON FILE
ANGEL L ENCARNACION                      ADDRESS ON FILE
ANGEL L ESPADA MOLINA                    ADDRESS ON FILE
ANGEL L ESPARRA MALDONADO                ADDRESS ON FILE
ANGEL L ESQUILIN JIMENEZ                 ADDRESS ON FILE
ANGEL L FELICIANO AVILES                 ADDRESS ON FILE
ANGEL L FELICIANO MORENO                 ADDRESS ON FILE
ANGEL L FELICIANO PEREZ                  ADDRESS ON FILE
ANGEL L FERNANDEZ                        ADDRESS ON FILE
ANGEL L FERNANDEZ FERNANDEZ              ADDRESS ON FILE
ANGEL L FERNANDEZ ZAYAS                  ADDRESS ON FILE
ANGEL L FERNANDEZ/DBA/ALFA SYSTEM INTEGR PMB 197                   220 WESTERN AUTO PLAZA SUITE 101                                TRUJILLO ALTO     PR      00976‐3607
ANGEL L FERREIRA DELGADO                 ADDRESS ON FILE
ANGEL L FERRER                           ADDRESS ON FILE
ANGEL L FERRER RODRIGUEZ                 ADDRESS ON FILE
ANGEL L FIGUEROA                         ADDRESS ON FILE
ANGEL L FIGUEROA ANGLERO                 ADDRESS ON FILE
ANGEL L FIGUEROA ANGLERO                 ADDRESS ON FILE
ANGEL L FIGUEROA ANGLERO                 ADDRESS ON FILE
ANGEL L FIGUEROA PIZARRO                 ADDRESS ON FILE
ANGEL L FIGUEROA/AURA FIGUEROA           ADDRESS ON FILE
ANGEL L FONTANEZ RODRIGUEZ               ADDRESS ON FILE
ANGEL L FRANCO ORTEGA                    ADDRESS ON FILE




                                                                                               Page 429 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 430 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3     Address4   City            State   PostalCode   Country
ANGEL L FUENTES ROBLES                 ADDRESS ON FILE
ANGEL L GALARZA VAZQUEZ                ADDRESS ON FILE
ANGEL L GARCIA                         ADDRESS ON FILE
ANGEL L GARCIA ORTIZ                   ADDRESS ON FILE
ANGEL L GARCIA RODRIGUEZ               ADDRESS ON FILE
ANGEL L GARCIA RODRIGUEZ               ADDRESS ON FILE
ANGEL L GARCIA SOTO                    ADDRESS ON FILE
ANGEL L GARCIA VELEZ                   ADDRESS ON FILE
ANGEL L GOMEZ COLON                    ADDRESS ON FILE
ANGEL L GONZALEZ ALVAREZ               ADDRESS ON FILE
ANGEL L GONZALEZ APONTE                ADDRESS ON FILE
ANGEL L GONZALEZ BONET                 ADDRESS ON FILE
ANGEL L GONZALEZ CORTES                ADDRESS ON FILE
ANGEL L GONZALEZ IRIZARRY              ADDRESS ON FILE
ANGEL L GONZALEZ MARQUEZ               ADDRESS ON FILE
ANGEL L GONZALEZ MEDINA                ADDRESS ON FILE
ANGEL L GONZALEZ MOLINA                ADDRESS ON FILE
ANGEL L GONZALEZ RIVERA                ADDRESS ON FILE
ANGEL L GONZALEZ RIVERA                ADDRESS ON FILE
ANGEL L GONZALEZ RIVERA                ADDRESS ON FILE
ANGEL L GONZALEZ RIVERA                ADDRESS ON FILE
ANGEL L GUERRIERI FIGUEROA             ADDRESS ON FILE
ANGEL L GUIBAS VELAZQUEZ               ADDRESS ON FILE
ANGEL L GUZMAN LOPEZ                   ADDRESS ON FILE
ANGEL L GUZMAN SANTIAGO                ADDRESS ON FILE
ANGEL L GUZMAN Y ONEIDA RIVERA         ADDRESS ON FILE
ANGEL L HERNANDEZ HERNANDEZ            ADDRESS ON FILE
ANGEL L HERNANDEZ LLANOS               ADDRESS ON FILE
ANGEL L HERNANDEZ LUGO                 ADDRESS ON FILE
ANGEL L HERNANDEZ RAMOS/ NEW ENERGY    HC 60 BOX 41703                                                                   SAN LORENZO     PR      00754
ANGEL L HERNANDEZ REVERON              ADDRESS ON FILE
ANGEL L HERNANDEZ REYES                ADDRESS ON FILE
ANGEL L IRIZARRY GONZALEZ              ADDRESS ON FILE
ANGEL L IRIZARRY MARTINEZ              ADDRESS ON FILE
ANGEL L JIMENEZ COSME                  ADDRESS ON FILE
ANGEL L JUARBE RODRIGUEZ               ADDRESS ON FILE
ANGEL L JUSTINIANO RODRIGUEZ           ADDRESS ON FILE
ANGEL L LABOY MELENDEZ                 ADDRESS ON FILE
ANGEL L LABOY RODRIGUEZ                ADDRESS ON FILE
ANGEL L LASSALA MARTINEZ               ADDRESS ON FILE
ANGEL L LEBRON                         ADDRESS ON FILE
ANGEL L LEBRON NUNEZ                   ADDRESS ON FILE
ANGEL L LINERA ESCALERA                ADDRESS ON FILE
ANGEL L LLANOS PINTO                   ADDRESS ON FILE
ANGEL L LOPEZ COLLAZO                  ADDRESS ON FILE
ANGEL L LOPEZ RIVERA                   ADDRESS ON FILE
ANGEL L LOPEZ RODRIGUEZ                ADDRESS ON FILE
ANGEL L LOPEZ RODRIGUEZ                ADDRESS ON FILE
ANGEL L LOPEZ ROSADO                   ADDRESS ON FILE
ANGEL L LORENZO CORTES                 ADDRESS ON FILE
ANGEL L LORENZO CORTES                 ADDRESS ON FILE
ANGEL L LORENZO GONZALEZ               ADDRESS ON FILE
ANGEL L LORENZO RAMIREZ                ADDRESS ON FILE
ANGEL L LUCIANO NAZARIO                ADDRESS ON FILE
ANGEL L LUGARO MADERA                  ADDRESS ON FILE
ANGEL L LUGO FELICIANO/ GREEN ENERGY   SYSTEMS CORP              URB LA CAMPINA                  44 CALLE 1              SAN JUAN        PR      00926‐9636
ANGEL L LUGO VARGAS                    ADDRESS ON FILE
ANGEL L LUNA PEREZ                     ADDRESS ON FILE
ANGEL L MACHADO RIVERA                 ADDRESS ON FILE
ANGEL L MALAVE PENA                    ADDRESS ON FILE




                                                                                   Page 430 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 431 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL L MALDONADO LLANOS      ADDRESS ON FILE
ANGEL L MALDONADO LOPEZ       ADDRESS ON FILE
ANGEL L MALDONADO QUINONES    ADDRESS ON FILE
ANGEL L MALDONADO QUINONES    ADDRESS ON FILE
ANGEL L MALDONADO SANTIAGO    ADDRESS ON FILE
ANGEL L MALDONADO SANTOS      ADDRESS ON FILE
ANGEL L MALDONADO TORRES      ADDRESS ON FILE
ANGEL L MANGUAL VELEZ         ADDRESS ON FILE
ANGEL L MANZANO SERRANO       ADDRESS ON FILE
ANGEL L MARRERO VAZQUEZ       ADDRESS ON FILE
ANGEL L MARTINEZ              ADDRESS ON FILE
ANGEL L MARTINEZ              ADDRESS ON FILE
ANGEL L MARTINEZ              ADDRESS ON FILE
ANGEL L MARTINEZ ALVARADO     ADDRESS ON FILE
ANGEL L MARTINEZ ANDUJAR      ADDRESS ON FILE
ANGEL L MARTINEZ CANDELARIA   ADDRESS ON FILE
ANGEL L MARTINEZ CLAUDIO      ADDRESS ON FILE
ANGEL L MARTINEZ CRUZ         ADDRESS ON FILE
ANGEL L MARTINEZ GARCIA       ADDRESS ON FILE
ANGEL L MARTINEZ IGLESIAS     ADDRESS ON FILE
ANGEL L MARTINEZ MALDONADO    ADDRESS ON FILE
ANGEL L MARTINEZ MARTINEZ     ADDRESS ON FILE
ANGEL L MARTINEZ MELENDEZ     ADDRESS ON FILE
ANGEL L MARTINEZ RIVERA       ADDRESS ON FILE
ANGEL L MATOS CARRION         ADDRESS ON FILE
ANGEL L MATOS GONZALEZ        ADDRESS ON FILE
ANGEL L MATOS JIMENEZ         ADDRESS ON FILE
ANGEL L MEDERO ROSARIO        ADDRESS ON FILE
ANGEL L MEDINA GUTIERREZ      ADDRESS ON FILE
ANGEL L MELENDEZ MENDEZ       ADDRESS ON FILE
ANGEL L MELENDEZ OSORIO       ADDRESS ON FILE
ANGEL L MENDEZ CARTAGENA      ADDRESS ON FILE
ANGEL L MENDEZ HEREDIA        ADDRESS ON FILE
ANGEL L MENDEZ MENDEZ         ADDRESS ON FILE
ANGEL L MENDEZ MUNIZ          ADDRESS ON FILE
ANGEL L MENDEZ SOTO           ADDRESS ON FILE
ANGEL L MERCADO DIAZ          ADDRESS ON FILE
ANGEL L MIRANDA MOLINA        ADDRESS ON FILE
ANGEL L MIRANDA ORTIZ         ADDRESS ON FILE
ANGEL L MOJICA SOTO           ADDRESS ON FILE
ANGEL L MOLINA FIGUEROA       ADDRESS ON FILE
ANGEL L MONET BONILLA         ADDRESS ON FILE
ANGEL L MONGE RIVERA          ADDRESS ON FILE
ANGEL L MONTALVAN RODRIGUEZ   ADDRESS ON FILE
ANGEL L MONTANEZ GUTIERRES    ADDRESS ON FILE
ANGEL L MORALES COLON         ADDRESS ON FILE
ANGEL L MORALES FLORES        ADDRESS ON FILE
ANGEL L MORALES MERCADO       ADDRESS ON FILE
ANGEL L MORALES RAMOS         ADDRESS ON FILE
ANGEL L MORALES RIOS          ADDRESS ON FILE
ANGEL L MORALES RIOS          ADDRESS ON FILE
ANGEL L MORALES RODRIGUEZ     ADDRESS ON FILE
ANGEL L MORALES RODRIGUEZ     ADDRESS ON FILE
ANGEL L MORALES RODRIGUEZ     ADDRESS ON FILE
ANGEL L MORALES SANTIAGO      ADDRESS ON FILE
ANGEL L MORALES SILVA         ADDRESS ON FILE
ANGEL L MORENO CUADRADO       ADDRESS ON FILE
ANGEL L MOROT ORTIZ           ADDRESS ON FILE
ANGEL L MOYENO RIOS           ADDRESS ON FILE
ANGEL L MULERO BEAZ           ADDRESS ON FILE




                                                                          Page 431 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 432 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL L MUNDO MARTINEZ              ADDRESS ON FILE
ANGEL L MUSSENDEN CRUZ              ADDRESS ON FILE
ANGEL L MUSSENDEN CRUZ              ADDRESS ON FILE
ANGEL L NEGRON MALDONADO            ADDRESS ON FILE
ANGEL L NIEVES CUEVAS               ADDRESS ON FILE
ANGEL L NIEVES GONZALEZ             ADDRESS ON FILE
ANGEL L NIEVES HERNANDEZ            ADDRESS ON FILE
ANGEL L NIEVES RAMOS                ADDRESS ON FILE
ANGEL L NIEVES ROSARIO              ADDRESS ON FILE
ANGEL L NIEVES ROSARIO              ADDRESS ON FILE
ANGEL L NUNEZ LOPEZ                 ADDRESS ON FILE
ANGEL L NUNEZ PEREZ                 ADDRESS ON FILE
ANGEL L OCASIO ALMODOVAR            ADDRESS ON FILE
ANGEL L OCASIO RIVERA               ADDRESS ON FILE
ANGEL L OCASIO VELEZ                ADDRESS ON FILE
ANGEL L OQUENDO CONCEPCION          ADDRESS ON FILE
ANGEL L OQUENDO GONZALEZ            ADDRESS ON FILE
ANGEL L ORTEGA PEREZ                ADDRESS ON FILE
ANGEL L ORTIZ ANDUJAR               ADDRESS ON FILE
ANGEL L ORTIZ LAFUENTE              ADDRESS ON FILE
ANGEL L ORTIZ LOPEZ                 ADDRESS ON FILE
ANGEL L ORTIZ SANFELIZ              ADDRESS ON FILE
ANGEL L OSORIO ALGARIN              ADDRESS ON FILE
ANGEL L OTERO CEDENO                ADDRESS ON FILE
ANGEL L OTERO MORAN                 ADDRESS ON FILE
ANGEL L OTERO ORTIZ                 ADDRESS ON FILE
ANGEL L PABON NIEVES                ADDRESS ON FILE
ANGEL L PABON RAMOS                 ADDRESS ON FILE
ANGEL L PADRO MARINA                ADDRESS ON FILE
ANGEL L PAGAN ANDUJAR               ADDRESS ON FILE
ANGEL L PAGAN SANTOS                ADDRESS ON FILE
ANGEL L PAGAN SANTOS                ADDRESS ON FILE
ANGEL L PALACIOS ORTIZ              ADDRESS ON FILE
ANGEL L PANTOJA TORRES              ADDRESS ON FILE
ANGEL L PARRILLA LOPEZ              ADDRESS ON FILE
ANGEL L PARRILLA MUNOZ              ADDRESS ON FILE
ANGEL L PENA ACEVEDO                ADDRESS ON FILE
ANGEL L PENA FORTY                  ADDRESS ON FILE
ANGEL L PENA FORTY                  ADDRESS ON FILE
ANGEL L PENA RIVERA                 ADDRESS ON FILE
ANGEL L PEREZ AMARO                 ADDRESS ON FILE
ANGEL L PEREZ CONCEPCION            ADDRESS ON FILE
ANGEL L PEREZ GARCIA                ADDRESS ON FILE
ANGEL L PEREZ PAGAN                 ADDRESS ON FILE
ANGEL L PEREZ ROMAN                 ADDRESS ON FILE
ANGEL L PEREZ RUIZ                  ADDRESS ON FILE
ANGEL L PEREZ VARGAS/ JOMA DESIGN   URB JARDINES DEL CARIBE   U 10 CALLE 25                                          PONCE        PR      00728
ANGEL L PINEIRO COLON               ADDRESS ON FILE
ANGEL L PIZARRO OSORIO              ADDRESS ON FILE
ANGEL L PLACERES MILIAN             ADDRESS ON FILE
ANGEL L POLANCO                     ADDRESS ON FILE
ANGEL L POLANCO ROSA                ADDRESS ON FILE
ANGEL L PRATTS SOTO                 ADDRESS ON FILE
ANGEL L PRIETO GUZMAN               ADDRESS ON FILE
ANGEL L QUINONES                    ADDRESS ON FILE
ANGEL L QUINONES GONZALEZ           ADDRESS ON FILE
ANGEL L QUINONES MORALES            ADDRESS ON FILE
ANGEL L QUINONES ROMERO             ADDRESS ON FILE
ANGEL L QUINONES TORRES             ADDRESS ON FILE
ANGEL L QUINONEZ                    ADDRESS ON FILE




                                                                                Page 432 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 433 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL L QUINONEZ ANDINO                   ADDRESS ON FILE
ANGEL L QUINONEZ MARTINEZ                 ADDRESS ON FILE
ANGEL L QUINONEZ REICES                   ADDRESS ON FILE
ANGEL L QUINONEZ SENGUI                   ADDRESS ON FILE
ANGEL L QUINTANA MARTIR                   ADDRESS ON FILE
ANGEL L QUINTANA PABON                    ADDRESS ON FILE
ANGEL L RAMIREZ COLON                     ADDRESS ON FILE
ANGEL L RAMIREZ LUGO                      ADDRESS ON FILE
ANGEL L RAMOS DE JESUS                    ADDRESS ON FILE
ANGEL L RAMOS GARCIA                      ADDRESS ON FILE
ANGEL L RAMOS PELLOT                      ADDRESS ON FILE
ANGEL L REXACH MARTINEZ                   ADDRESS ON FILE
ANGEL L REYES                             ADDRESS ON FILE
ANGEL L REYES GONZALEZ                    ADDRESS ON FILE
ANGEL L REYES HERNANDEZ                   ADDRESS ON FILE
ANGEL L REYES RIVERA                      ADDRESS ON FILE
ANGEL L REYES RUIZ                        ADDRESS ON FILE
ANGEL L REYES SANTIAGO                    ADDRESS ON FILE
ANGEL L REYES SANTOS                      ADDRESS ON FILE
ANGEL L RIOS CERVANTES Y MYRNA J PELATI   ADDRESS ON FILE
ANGEL L RIOS NAZARIO                      ADDRESS ON FILE
ANGEL L RIOS VAZQUEZ                      ADDRESS ON FILE
ANGEL L RIVAS MUNOZ                       ADDRESS ON FILE
ANGEL L RIVERA                            ADDRESS ON FILE
ANGEL L RIVERA                            ADDRESS ON FILE
ANGEL L RIVERA AGOSTO Y JOAN A FIGUEROA   ADDRESS ON FILE
ANGEL L RIVERA APONTE                     ADDRESS ON FILE
ANGEL L RIVERA APONTE                     ADDRESS ON FILE
ANGEL L RIVERA APONTE                     ADDRESS ON FILE
ANGEL L RIVERA BERRIOS                    ADDRESS ON FILE
ANGEL L RIVERA BERRIOS                    ADDRESS ON FILE
ANGEL L RIVERA CABAN                      ADDRESS ON FILE
ANGEL L RIVERA CASILLAS                   ADDRESS ON FILE
ANGEL L RIVERA COLON                      ADDRESS ON FILE
ANGEL L RIVERA COLON                      ADDRESS ON FILE
ANGEL L RIVERA CONCEPCION                 ADDRESS ON FILE
ANGEL L RIVERA CUBA                       ADDRESS ON FILE
ANGEL L RIVERA CUBA                       ADDRESS ON FILE
ANGEL L RIVERA DIAZ                       ADDRESS ON FILE
ANGEL L RIVERA FIGUEROA                   ADDRESS ON FILE
ANGEL L RIVERA GALARZA                    ADDRESS ON FILE
ANGEL L RIVERA GARCIA                     ADDRESS ON FILE
ANGEL L RIVERA GONZALEZ                   ADDRESS ON FILE
ANGEL L RIVERA LOPEZ                      ADDRESS ON FILE
ANGEL L RIVERA LUCIANO                    ADDRESS ON FILE
ANGEL L RIVERA MARTINEZ                   ADDRESS ON FILE
ANGEL L RIVERA MELENDEZ                   ADDRESS ON FILE
ANGEL L RIVERA ORTEGA                     ADDRESS ON FILE
ANGEL L RIVERA ORTIZ                      ADDRESS ON FILE
ANGEL L RIVERA RIVERA                     ADDRESS ON FILE
ANGEL L RIVERA ROSADO                     ADDRESS ON FILE
ANGEL L RIVERA VARGAS                     ADDRESS ON FILE
ANGEL L RIVERA Y LILLIAN RODRIGUEZ        ADDRESS ON FILE
ANGEL L RIVERA YON                        ADDRESS ON FILE
ANGEL L ROBLES CANDELARIA                 ADDRESS ON FILE
ANGEL L ROBLES SCHMIDT                    ADDRESS ON FILE
ANGEL L RODRIGUEZ ALAVAREZ                1103 AVE LOS ALMENDROS                                                           HATILLO      PR      00659
ANGEL L RODRIGUEZ APONTE                  ADDRESS ON FILE
ANGEL L RODRIGUEZ ARCE                    ADDRESS ON FILE
ANGEL L RODRIGUEZ BONET                   ADDRESS ON FILE




                                                                                      Page 433 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 434 of 3500
                                                                                                     Creditor Matrix

Creditor Name                              Address1                    Address2                                   Address3   Address4   City        State   PostalCode   Country
ANGEL L RODRIGUEZ CHACON                   ADDRESS ON FILE
ANGEL L RODRIGUEZ COLLAZO                  ADDRESS ON FILE
ANGEL L RODRIGUEZ COLON                    ADDRESS ON FILE
ANGEL L RODRÍGUEZ COTTO                    ADDRESS ON FILE
ANGEL L RODRIGUEZ ELIAS                    ADDRESS ON FILE
ANGEL L RODRIGUEZ FIGUEROA                 ADDRESS ON FILE
ANGEL L RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
ANGEL L RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
ANGEL L RODRIGUEZ LUGO                     ADDRESS ON FILE
ANGEL L RODRIGUEZ MEDINA                   ADDRESS ON FILE
ANGEL L RODRIGUEZ MELENDEZ                 ADDRESS ON FILE
ANGEL L RODRIGUEZ MELENDEZ                 ADDRESS ON FILE
ANGEL L RODRIGUEZ NUNEZ                    ADDRESS ON FILE
ANGEL L RODRIGUEZ QUINONEZ                 ADDRESS ON FILE
ANGEL L RODRIGUEZ QUINTANA                 ADDRESS ON FILE
ANGEL L RODRIGUEZ RIOS                     ADDRESS ON FILE
ANGEL L RODRIGUEZ RIVERA                   ADDRESS ON FILE
ANGEL L RODRIGUEZ RIVERA                   ADDRESS ON FILE
ANGEL L RODRIGUEZ RIVERA                   ADDRESS ON FILE
ANGEL L RODRIGUEZ RIVERA                   ADDRESS ON FILE
ANGEL L RODRIGUEZ RIVERA                   ADDRESS ON FILE
ANGEL L RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
ANGEL L RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
ANGEL L RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
ANGEL L RODRIGUEZ ROLDAN                   ADDRESS ON FILE
ANGEL L RODRIGUEZ SANTANA                  LCDO. RICARDO DE LA VILLA   Esteban Padilla 60 E altos                                       Bayamon     PR      00959
ANGEL L RODRIGUEZ TORRES                   ADDRESS ON FILE
ANGEL L RODRIGUEZ VELAZQUEZ                ADDRESS ON FILE
ANGEL L RODRIGUEZ ZAYAS                    ADDRESS ON FILE
ANGEL L ROLDAN COLON                       ADDRESS ON FILE
ANGEL L ROMAN RIVERA                       ADDRESS ON FILE
ANGEL L ROMAN VEGA                         ADDRESS ON FILE
ANGEL L ROMERO RAMOS                       ADDRESS ON FILE
ANGEL L ROSA FERNANDEZ Y                   ADDRESS ON FILE
ANGEL L ROSADO                             ADDRESS ON FILE
ANGEL L ROSADO COLON                       ADDRESS ON FILE
ANGEL L ROSADO DELGADO                     ADDRESS ON FILE
ANGEL L ROSADO GONZALEZ                    ADDRESS ON FILE
ANGEL L ROSADO GONZALEZ                    ADDRESS ON FILE
ANGEL L ROSADO GONZALEZ                    ADDRESS ON FILE
ANGEL L ROSARIO BERRIOS                    ADDRESS ON FILE
ANGEL L ROSARIO BRUNO                      ADDRESS ON FILE
ANGEL L ROSARIO FRANQUI                    ADDRESS ON FILE
ANGEL L ROSARIO ROLDAN                     ADDRESS ON FILE
ANGEL L ROSARIO VELEZ                      ADDRESS ON FILE
ANGEL L RUIZ DIAZ                          ADDRESS ON FILE
ANGEL L RUIZ GUERRA                        ADDRESS ON FILE
ANGEL L RUIZ SANCHEZ                       ADDRESS ON FILE
ANGEL L RUIZ SANTIAGO                      ADDRESS ON FILE
ANGEL L SAAVEDRA CHAVES                    ADDRESS ON FILE
ANGEL L SAEZ RODRIGUEZ                     ADDRESS ON FILE
ANGEL L SALDANA RODRIGUEZ                  ADDRESS ON FILE
ANGEL L SALDANA RODRIGUEZ                  ADDRESS ON FILE
ANGEL L SALGADO MENDOZA                    ADDRESS ON FILE
ANGEL L SANCHEZ DBA CENTRO PIEZAS Y SERV   P O BOX 1716                                                                                 AGUADA      PR      00602
ANGEL L SANCHEZ DEKONY                     ADDRESS ON FILE
ANGEL L SANCHEZ FIGUEROA                   ADDRESS ON FILE
ANGEL L SANCHEZ MARQUEZ                    ADDRESS ON FILE
ANGEL L SANCHEZ MORALES                    ADDRESS ON FILE
ANGEL L SANCHEZ SANTIAGO                   ADDRESS ON FILE




                                                                                                    Page 434 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 435 of 3500
                                                                                                      Creditor Matrix

Creditor Name                            Address1                       Address2                                   Address3   Address4   City            State   PostalCode   Country
ANGEL L SANCHEZ SANTOS / ANGEL L SANCHEZ ADDRESS ON FILE
ANGEL L SANCHEZ SANTOS / ANGEL SANCHEZ ADDRESS ON FILE
ANGEL L SANCHEZ VELEZ                    ADDRESS ON FILE
ANGEL L SANDOVAL AVILES                  ADDRESS ON FILE
ANGEL L SANTANA ARROYO                   ADDRESS ON FILE
ANGEL L SANTANA DE LEON                  ADDRESS ON FILE
ANGEL L SANTANA GARCIA                   ADDRESS ON FILE
ANGEL L SANTANA MELENDEZ                 PARCELAS EL TUQUE NUEVA VIDA   2867 CALLE LIDIA RODRIGUEZ                                       PONCE           PR      00728
ANGEL L SANTIAGO ALEQUIN                 ADDRESS ON FILE
ANGEL L SANTIAGO COLON                   ADDRESS ON FILE
ANGEL L SANTIAGO DIAZ                    ADDRESS ON FILE
ANGEL L SANTIAGO GARCIA                  ADDRESS ON FILE
ANGEL L SANTIAGO MORALES                 ADDRESS ON FILE
ANGEL L SANTIAGO ORTIZ                   ADDRESS ON FILE
ANGEL L SANTIAGO RAMOS                   ADDRESS ON FILE
ANGEL L SANTIAGO TIRADO                  ADDRESS ON FILE
ANGEL L SANTIAGO TORRES                  ADDRESS ON FILE
ANGEL L SANTIAGO TORRES                  ADDRESS ON FILE
ANGEL L SANTIAGO TORRES                  ADDRESS ON FILE
ANGEL L SANTIAGO Y JOHANNA ALICANO       ADDRESS ON FILE
ANGEL L SANTOS BERRIOS                   ADDRESS ON FILE
ANGEL L SENQUIZ ORTIZ                    ADDRESS ON FILE
ANGEL L SERRANO LORENZI                  ADDRESS ON FILE
ANGEL L SERRANO NEGRON                   ADDRESS ON FILE
ANGEL L SERRANO RIVAS                    ADDRESS ON FILE
ANGEL L SERRANO SANTIAGO                 ADDRESS ON FILE
ANGEL L SERRANO VAZQUEZ                  ADDRESS ON FILE
ANGEL L SOSA REYES                       ADDRESS ON FILE
ANGEL L SOSTRE ORTIZ                     ADDRESS ON FILE
ANGEL L SOTO CASTRO                      ADDRESS ON FILE
ANGEL L SOTO MELENDEZ                    ADDRESS ON FILE
ANGEL L SOTO PEREIRA                     ADDRESS ON FILE
ANGEL L SOTO RAMOS                       ADDRESS ON FILE
ANGEL L SOTO RODRIGUEZ                   ADDRESS ON FILE
ANGEL L SOTO VALDES                      ADDRESS ON FILE
ANGEL L SOTO VARGAS                      ADDRESS ON FILE
ANGEL L SOTO Y NELSON SOTO CARDONA Y     ADDRESS ON FILE
ANGEL L SUAREZ MONTALVO                  ADDRESS ON FILE
ANGEL L TORO CANCEL                      ADDRESS ON FILE
ANGEL L TORRES                           ADDRESS ON FILE
ANGEL L TORRES / DBA/ EVANGELISTA ELECTR 870 AVE MIRAMAR                                                                                 ARECIBO         PR      00612
ANGEL L TORRES BABILONIA                 ADDRESS ON FILE
ANGEL L TORRES CRESPO                    ADDRESS ON FILE
ANGEL L TORRES DELGADO                   ADDRESS ON FILE
ANGEL L TORRES GOMEZ                     ADDRESS ON FILE
ANGEL L TORRES LOPEZ                     ADDRESS ON FILE
ANGEL L TORRES MALDONADO                 ADDRESS ON FILE
ANGEL L TORRES MELENDEZ                  ADDRESS ON FILE
ANGEL L TORRES PEREZ                     ADDRESS ON FILE
ANGEL L TORRES RODRIGUEZ                 ADDRESS ON FILE
ANGEL L TORRES ROMAN                     ADDRESS ON FILE
ANGEL L TORRES RUIZ                      ADDRESS ON FILE
ANGEL L TRINIDAD FIGUEROA                ADDRESS ON FILE
ANGEL L URBINA ORTEGA                    ADDRESS ON FILE
ANGEL L VALENTIN MATOS                   ADDRESS ON FILE
ANGEL L VALENTIN ORTIZ                   ADDRESS ON FILE
ANGEL L VALENTIN ROSADO                  ADDRESS ON FILE
ANGEL L VALLE VALLE                      ADDRESS ON FILE
ANGEL L VARGAS / EMP CAMILA CONSTRUCCIONP O BOX 1112                                                                                     SABANA SECA     PR      00952
ANGEL L VARGAS BATIZ                     ADDRESS ON FILE




                                                                                                     Page 435 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 436 of 3500
                                                                                                                   Creditor Matrix

Creditor Name                              Address1                                  Address2                                   Address3       Address4   City          State   PostalCode   Country
ANGEL L VARGAS TORRES                      ADDRESS ON FILE
ANGEL L VARGAS VARGAS                      ADDRESS ON FILE
ANGEL L VAZQUEZ                            ADDRESS ON FILE
ANGEL L VAZQUEZ ALICEA                     ADDRESS ON FILE
ANGEL L VAZQUEZ LOZADA                     ADDRESS ON FILE
ANGEL L VAZQUEZ ROSADO                     ADDRESS ON FILE
ANGEL L VAZQUEZ SANCHEZ                    ADDRESS ON FILE
ANGEL L VEGA BONILLA                       ADDRESS ON FILE
ANGEL L VEGA DIAZ                          ADDRESS ON FILE
ANGEL L VEGA MACHUCA                       ADDRESS ON FILE
ANGEL L VEGA OTERO                         ADDRESS ON FILE
ANGEL L VEGA PABON                         ADDRESS ON FILE
ANGEL L VEGA PAGAN                         ADDRESS ON FILE
ANGEL L VEGA RODRIGUEZ                     ADDRESS ON FILE
ANGEL L VEGA ROSARIO                       ADDRESS ON FILE
ANGEL L VEGA VAZQUEZ                       ADDRESS ON FILE
ANGEL L VELAZQUEZ VILLAFANE                ADDRESS ON FILE
ANGEL L VELEZ ARROYO                       ADDRESS ON FILE
ANGEL L VELEZ CAMACHO                      ADDRESS ON FILE
ANGEL L VELEZ FERRER                       ADDRESS ON FILE
ANGEL L VELEZ FIGUEROA                     ADDRESS ON FILE
ANGEL L VELEZ JACA                         ADDRESS ON FILE
ANGEL L VELEZ MORALES                      ADDRESS ON FILE
ANGEL L VELEZ TORRES                       ADDRESS ON FILE
ANGEL L VIDAL FEBUS                        ADDRESS ON FILE
ANGEL L VILA RODRIGUEZ                     ADDRESS ON FILE
ANGEL L VILLANUEVA PEREZ                   ADDRESS ON FILE
ANGEL L VILLEGA MORALES                    ADDRESS ON FILE
ANGEL L. ANES RIVERA                       ADDRESS ON FILE
ANGEL L. ARENAS NIEVES                     ADDRESS ON FILE
ANGEL L. AVILES MERCADO                    ADDRESS ON FILE
ANGEL L. BELLAFLORES GARCIA                ADDRESS ON FILE
ANGEL L. CALCANO DBA CHAIRS DESIGN OF PR   P. O. BOX 157                                                                                                  LAJAS         PR      00667‐0000
ANGEL L. CANALES ROSS                      ADDRESS ON FILE
ANGEL L. COLON VAZQUEZ                     LCDO. ALLAN RIVERA FERNÁNDEZ              CAPITAL CENTER BUILDING SUITE 401                                    HATO REY      PR      00918
ANGEL L. CORTES CRUZ                       ADDRESS ON FILE
ANGEL L. CRESPO VAZQUEZ                    ADDRESS ON FILE
ANGEL L. DIAZ DEL VALLE                    LCDA. MARIA DIAZ DEL VALLE                PO BOX 3134                                                          CAROLINA      PR      00984
ANGEL L. DIAZ PUJOLS                       ADDRESS ON FILE
ANGEL L. DUARTE ROSARIO                    ADDRESS ON FILE
ANGEL L. FELICIANO PEREZ                   ADDRESS ON FILE
ANGEL L. FRED GARCIA                       GENOVEVA VALENTÍN SOTO                    PO BOX 13695                                                         SAN JUAN      PR      00908‐3695
ANGEL L. GINES VEGA                        ADDRESS ON FILE
ANGEL L. IRIZARRY HERNANDEZ                ADDRESS ON FILE
ANGEL L. LOPEZ BERRIOS                     ADDRESS ON FILE
ANGEL L. LUCIANO NAZARIO                   ADDRESS ON FILE
ANGEL L. MARTINEZ                          ADDRESS ON FILE
ANGEL L. MARTINEZ GUTIERREZ                ADDRESS ON FILE
ANGEL L. MILLAN                            ADDRESS ON FILE
ANGEL L. MORALES LOPEZ                     ADDRESS ON FILE
ANGEL L. MORALES VAZQUEZ                   ANGEL L. MORALES VAZQUEZ; LUZ GONZALEZ TOBO COQUI                                    259 CARR 3                AGUIRRE       PR      00704
ANGEL L. MORALES VAZQUEZ                   TRIBUNAL SUPREMO DE PUERTO RICO           PO BOX 9022392                                                       SAN JUAN      PR      00902‐2392
ANGEL L. NAZARIO GARCIA                    ADDRESS ON FILE
Angel L. Nevarez Ramos                     ADDRESS ON FILE
ANGEL L. ORTIZ DIAZ                        ADDRESS ON FILE
ANGEL L. ORTIZ ENCARNACION                 ADDRESS ON FILE
ANGEL L. ORTIZ MONCLOVA                    ADDRESS ON FILE
ÁNGEL L. PAGÁN CRISTOBAL                   SR. ÁNGEL PAGÁN CRISTOBAL (POR DERECHO PR PMB 105 CALL BOX 5004                      A‐19 CALLE 8              VEGA ALTA     PR      00692
ANGEL L. PEREZ                             ADDRESS ON FILE
ANGEL L. PEREZ AYALA                       ADDRESS ON FILE




                                                                                                                  Page 436 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 437 of 3500
                                                                                                        Creditor Matrix

Creditor Name                            Address1                          Address2                                  Address3   Address4   City         State   PostalCode   Country
ANGEL L. PEREZ RODRIGUEZ                 ADDRESS ON FILE
ANGEL L. RAMOS COLLAZO DBA EBANISTERIA   CALLE DUARTE # 18 URB. SAN JOSE                                                                   MAYAGUEZ     PR      00680‐0000
ANGEL L. RIOS AMADOR                     ADDRESS ON FILE
ANGEL L. RIOS MIRANDA                    ADDRESS ON FILE
ANGEL L. ROLDAN RIVERA                   ADDRESS ON FILE
ANGEL L. ROSARIO GONZALEZ                ADDRESS ON FILE
ANGEL L. RUIZ RUIZ                       ADDRESS ON FILE
ANGEL L. RUIZ SANTIAGO                   ADDRESS ON FILE
ANGEL L. RUIZ SANTIAGO                   ADDRESS ON FILE
ANGEL L. RUPERTO TORRES                  ADDRESS ON FILE
ANGEL L. SANTIAGO COLON                  ADDRESS ON FILE
ANGEL L. SANTIAGO RODRIGUEZ              ADDRESS ON FILE
ANGEL L. SANTOS ROLON                    ADDRESS ON FILE
ANGEL L. TORRES MUNOZ                    ADDRESS ON FILE
ANGEL L. VARGAS PADILLA                  ADDRESS ON FILE
ANGEL L. VEGA PAGAN                      LCDO. FERNANDO SANTIAGO ORTIZ     MANSIONES DE SAN MARTIN SUITE 17                                SAN JUAN     PR      00924‐4586
ANGEL L. VELAZQUEZ SANTIAGO              ADDRESS ON FILE
ANGEL L. VELEZ MARTINEZ                  ADDRESS ON FILE
ANGEL L. VICENTE COLON                   ADDRESS ON FILE
ANGEL L.LOPEZ LOPEZ                      ADDRESS ON FILE
ANGEL L.MORALES GONEZ                    ADDRESS ON FILE
ANGEL LABRADA CENTURION                  ADDRESS ON FILE
ANGEL LARACUENTE SANCHEZ                 ADDRESS ON FILE
ANGEL LAUREANO MARTINEZ                  ADDRESS ON FILE
Angel Lebron                             ADDRESS ON FILE
ANGEL LEBRON MONTANEZ                    ADDRESS ON FILE
ANGEL LEON Y RITA M RENTAS               ADDRESS ON FILE
ANGEL LIFE AMBULANCE                     P. O. BOX 951                                                                                     HATILLO      PR      00659‐0000
ANGEL LIGHT PRODUCTIONS CORP             URB COUNTRY CLUB                  894 CALLE HALCON                                                SAN JUAN     PR      00924‐2303
ANGEL LIRIANO VAZQUEZ                    ADDRESS ON FILE
ANGEL LOPEZ ALDAMES                      ADDRESS ON FILE
ANGEL LOPEZ BUJOSA                       ADDRESS ON FILE
ANGEL LOPEZ HIDALGO                      ADDRESS ON FILE
ANGEL LOPEZ MARRERO                      ADDRESS ON FILE
ANGEL LOPEZ MARTINEZ                     ADDRESS ON FILE
ANGEL LOPEZ RIVERA                       ADDRESS ON FILE
ANGEL LOPEZ SANCHEZ                      ADDRESS ON FILE
ANGEL LOPEZ TORRES                       ADDRESS ON FILE
ANGEL LOPEZ ZAYAS                        ADDRESS ON FILE
ANGEL LORENZO LORENZO                    ADDRESS ON FILE
ANGEL LOYOLA TORRES                      ADDRESS ON FILE
ANGEL LOZADA SOLIS                       ADDRESS ON FILE
ANGEL LPEREZ RODRIGUEZ                   ADDRESS ON FILE
ANGEL LUGO RAMOS                         ADDRESS ON FILE
ANGEL LUGO VEGA                          ADDRESS ON FILE
ANGEL LUGO VELAZQUEZ / RANCHO LURI       ADDRESS ON FILE
ANGEL LUIS ALBARRAN                      ADDRESS ON FILE
ANGEL LUIS ALICEA LARACUENTE             ADDRESS ON FILE
ANGEL LUIS ALICEA ROSARIO                ADDRESS ON FILE
ANGEL LUIS ALVAREZ DIAZ                  ADDRESS ON FILE
ANGEL LUIS AQUINO CAY                    ADDRESS ON FILE
ANGEL LUIS ARROYO SEDA                   ADDRESS ON FILE
ANGEL LUIS AVILA QUINONES                ADDRESS ON FILE
ANGEL LUIS AYALA MANFREDI                ADDRESS ON FILE
ANGEL LUIS BENITEZ VARGAS                ADDRESS ON FILE
ANGEL LUIS CABASSA RIVERA                ADDRESS ON FILE
ANGEL LUIS CAPIELO SANTOS                ADDRESS ON FILE
ANGEL LUIS CARABALLO RIOS                ADDRESS ON FILE
ANGEL LUIS CARRILLO CORREA               ADDRESS ON FILE
ANGEL LUIS CASTRO                        ADDRESS ON FILE




                                                                                                      Page 437 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 438 of 3500
                                                                                                Creditor Matrix

Creditor Name                       Address1                     Address2                                    Address3             Address4   City         State   PostalCode   Country
ANGEL LUIS CLEMENTE JORGE           ADDRESS ON FILE
ANGEL LUIS CRUZ RIVERA              ADDRESS ON FILE
ANGEL LUIS FIGUEROA MONROIG         ADDRESS ON FILE
ANGEL LUIS FOSTER INC               URB ESTANCIAS                D36 PLAZA 5                                                                 BAYAMON      PR      00961‐3078
ANGEL LUIS GONZALEZ RODRIGUEZ       ADDRESS ON FILE
ANGEL LUIS GONZALEZ VIRUET          ADDRESS ON FILE
ANGEL LUIS HANCE MARRERO            ADDRESS ON FILE
ANGEL LUIS HUERTAS SANCHEZ          ADDRESS ON FILE
ANGEL LUIS JIMENEZ BATISTA          ADDRESS ON FILE
ANGEL LUIS MALDONADO ALVAREZ        ADDRESS ON FILE
ANGEL LUIS MARCANO VELAZQUEZ        ADDRESS ON FILE
ANGEL LUIS MARTÍNE BAEZ             ADDRESS ON FILE
ANGEL LUIS MARTINEZ CLAUDIO         ADDRESS ON FILE
ANGEL LUIS MARTINEZ PEREZ           ADDRESS ON FILE
ANGEL LUIS MASS FIGUEROA            ADDRESS ON FILE
ANGEL LUIS MEDINA DE LEON           ADDRESS ON FILE
ANGEL LUIS MELENDEZ MARMOL          ADDRESS ON FILE
ANGEL LUIS MENDEZ                   ADDRESS ON FILE
ANGEL LUIS MONTANEZ MORALES         ADDRESS ON FILE
ANGEL LUIS ORTIZ                    ADDRESS ON FILE
ANGEL LUIS ORTIZ RODRIGUEZ          ADDRESS ON FILE
ANGEL LUIS ORTIZ VELEZ              ADDRESS ON FILE
ANGEL LUIS PEREZ ALERS              ADDRESS ON FILE
ANGEL LUIS PEREZ FERNANDEZ          ADDRESS ON FILE
ANGEL LUIS REYNOSO HERNANDEZ        ADDRESS ON FILE
ANGEL LUIS RIVERA                   ADDRESS ON FILE
ÁNGEL LUIS RODRÍGUEZ MORALES        LCDO. ROMULO SUERO PONCE     PO BOX 11352                                                                SAN JUAN     PR      00922
ANGEL LUIS RODRIGUEZ RODRIGUEZ      ADDRESS ON FILE
ANGEL LUIS ROMAN QUINONES           ADDRESS ON FILE
ANGEL LUIS ROMAN QUINONES           ADDRESS ON FILE
ANGEL LUIS ROSARIO TORRES           ADDRESS ON FILE
ANGEL LUIS RUBERO MELENDEZ          ADDRESS ON FILE
ANGEL LUIS SANCHEZ                  ADDRESS ON FILE
ANGEL LUIS TORRES                   ADDRESS ON FILE

ANGEL LUIS TORRES CRUZ              GRISELLE T. GARCÍA PADILLA   ÚLTIMA DIRECCIÓN CONOCIDA EN                (100 CARMEN HILLS DR. BOX 114   SAN JUAN     PR      00926‐9642
ANGEL LUIS TORRES HERNANDEZ         ADDRESS ON FILE
ANGEL LUIS TORRES MENDEZ            ADDRESS ON FILE
ANGEL LUIS TORRES VELEZ             ADDRESS ON FILE
ANGEL LUIS VALLE SANCHEZ            ADDRESS ON FILE
ANGEL LUIS VELAZQUEZ                ADDRESS ON FILE
ANGEL LUIS VELAZQUEZ ANDRADES       ADDRESS ON FILE
ANGEL LUYANDO TORRES                ADDRESS ON FILE
ANGEL M ADORNO BONILLA              ADDRESS ON FILE
ANGEL M ADORNO MALDONADO            ADDRESS ON FILE
ANGEL M ADORNO RIVERA               ADDRESS ON FILE
ANGEL M AGUILAR NIEVES              ADDRESS ON FILE
ANGEL M ALBINO TELLADO              ADDRESS ON FILE
ANGEL M ALEJANDRO CANCEL            ADDRESS ON FILE
ANGEL M ALICEA GOMEZ                ADDRESS ON FILE
ANGEL M ALICEA RIVERA               ADDRESS ON FILE
ANGEL M ALVARADO RIVERA             ADDRESS ON FILE
ANGEL M APONTE MORALES              ADDRESS ON FILE
ANGEL M ARROYO GONZALEZ             ADDRESS ON FILE
ANGEL M ARTIGAS LUCENA              ADDRESS ON FILE
ANGEL M AVILA CABAN                 ADDRESS ON FILE
ANGEL M AVILES RIVERA, CPA, C S P   PO BOX 2076                                                                                              AIBONITO     PR      00705
ANGEL M AYALA HORNEDO               ADDRESS ON FILE
ANGEL M BAEZ MARTINEZ               ADDRESS ON FILE
ANGEL M BAHAMUNDI ALICEA            ADDRESS ON FILE




                                                                                            Page 438 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 439 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL M BARRETO                         ADDRESS ON FILE
ANGEL M BARRETO BARRETO                 ADDRESS ON FILE
ANGEL M BARRIENTOS ILDEFONSO            ADDRESS ON FILE
ANGEL M BATIZ RODRIGUEZ                 ADDRESS ON FILE
ANGEL M BELTRAN TRINIDAD                ADDRESS ON FILE
ANGEL M BENITEZ CRUZ                    ADDRESS ON FILE
ANGEL M BERRIOS ORTIZ                   ADDRESS ON FILE
ANGEL M BONET AGUEDA                    ADDRESS ON FILE
ANGEL M BONILLA CRUZ                    ADDRESS ON FILE
ANGEL M BONILLA CRUZ                    ADDRESS ON FILE
ANGEL M BURGOS RODRIGUEZ                ADDRESS ON FILE
ANGEL M CAQUIAS GARCIA                  ADDRESS ON FILE
ANGEL M CAQUIAS TORRES                  ADDRESS ON FILE
ANGEL M CARDONA RIVERA                  ADDRESS ON FILE
ANGEL M CARRASQUILLO MEDINA             ADDRESS ON FILE
ANGEL M CASILLAS RODRIGUEZ              ADDRESS ON FILE
ANGEL M CASTILLO RODRIGUEZ              ADDRESS ON FILE
ANGEL M CASTRO                          ADDRESS ON FILE
ANGEL M CASTRO RODRIGUEZ                ADDRESS ON FILE
ANGEL M CASTRO RODRIGUEZ                ADDRESS ON FILE
ANGEL M CINTRON GARCIA                  ADDRESS ON FILE
ANGEL M CIORDA                          ADDRESS ON FILE
ANGEL M COLON BARRIOS                   ADDRESS ON FILE
ANGEL M COLON CORREA                    ADDRESS ON FILE
ANGEL M COLON MARTINEZ                  ADDRESS ON FILE
ANGEL M COLON MORA                      ADDRESS ON FILE
ANGEL M COLON PASTRANA                  ADDRESS ON FILE
ANGEL M COLON SOTO                      ADDRESS ON FILE
ANGEL M COLON SOTO                      ADDRESS ON FILE
ANGEL M COLON TORRES                    ADDRESS ON FILE
ANGEL M CONCEPCION BONILLA              ADDRESS ON FILE
ANGEL M CORTES FEBLES                   ADDRESS ON FILE
ANGEL M COSME                           ADDRESS ON FILE
ANGEL M CRUZ DOMINGUEZ                  ADDRESS ON FILE
ANGEL M CRUZ OCASIO Y LOURDES RAMIREZ   ADDRESS ON FILE
ANGEL M CRUZ PAGAN                      ADDRESS ON FILE
ANGEL M CRUZ RIOS                       ADDRESS ON FILE
ANGEL M CRUZ RODRIGUEZ                  ADDRESS ON FILE
ANGEL M CRUZ VAZQUEZ                    ADDRESS ON FILE
ANGEL M DAVILA ESTREMERA                ADDRESS ON FILE
ANGEL M DAVILA MARRERO                  ADDRESS ON FILE
ANGEL M DAVILA TORRES                   ADDRESS ON FILE
ANGEL M DAVILA TORRES                   ADDRESS ON FILE
ANGEL M DEL RIO GONZALEZ                ADDRESS ON FILE
ANGEL M DEL VALLE ALAMO                 ADDRESS ON FILE
ANGEL M DELGADO TAPIA                   ADDRESS ON FILE
ANGEL M DIAZ CARRASQUILLO               ADDRESS ON FILE
ANGEL M DIAZ CARRASQUILLO               ADDRESS ON FILE
ANGEL M DIAZ TORRES                     ADDRESS ON FILE
ANGEL M DIAZ VAZQUEZ                    ADDRESS ON FILE
ANGEL M DOMENECH SOTO                   ADDRESS ON FILE
ANGEL M FEBLES NEGRON                   ADDRESS ON FILE
ANGEL M FELICIANO GARCIA                ADDRESS ON FILE
ANGEL M FELICIANO SANTIAGO              ADDRESS ON FILE
ANGEL M FERNANDEZ FIGUEROA              ADDRESS ON FILE
ANGEL M FIGUEROA                        ADDRESS ON FILE
ANGEL M FIGUEROA MATOS                  ADDRESS ON FILE
ANGEL M FIGUEROA MEDINA                 ADDRESS ON FILE
ANGEL M FIGUEROA PARRILLA               ADDRESS ON FILE
ANGEL M FLORES RIVERA                   ADDRESS ON FILE




                                                                                    Page 439 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 440 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL M FUENTES ROMAN                   ADDRESS ON FILE
ANGEL M GALARZA                         ADDRESS ON FILE
ANGEL M GALINANES LLORENS               ADDRESS ON FILE
ANGEL M GARCIA MEDINA                   ADDRESS ON FILE
ANGEL M GARCIA PIZARRO                  ADDRESS ON FILE
ANGEL M GARCIA PRADO                    ADDRESS ON FILE
ANGEL M GONZALEZ APONTE                 ADDRESS ON FILE
ANGEL M GONZALEZ CARDONA                ADDRESS ON FILE
ANGEL M GONZALEZ ORTIZ                  ADDRESS ON FILE
ANGEL M GONZALEZ ORTIZ                  ADDRESS ON FILE
ANGEL M GUTIERREZ ACOSTA                ADDRESS ON FILE
ANGEL M GUTIERREZ TORRENT               ADDRESS ON FILE
ANGEL M HERNANDEZ COLLAZO               ADDRESS ON FILE
ANGEL M HERNANDEZ IRIZARRY              ADDRESS ON FILE
ANGEL M HERNANDEZ RUIZ                  ADDRESS ON FILE
ANGEL M HERNANDEZ VELEZ                 ADDRESS ON FILE
ANGEL M JIMENEZ ALVAREZ                 ADDRESS ON FILE
ANGEL M JIMENEZ RODRIGUEZ               ADDRESS ON FILE
ANGEL M LABOY ORTIZ                     ADDRESS ON FILE
ANGEL M LABOY PABON                     ADDRESS ON FILE
ANGEL M LACEN BONILLA                   ADDRESS ON FILE
ANGEL M LOPEZ COLON                     ADDRESS ON FILE
ANGEL M LOPEZ GONZALEZ                  ADDRESS ON FILE
ANGEL M LOPEZ HERNANDEZ                 ADDRESS ON FILE
ANGEL M LOPEZ MELENDEZ                  ADDRESS ON FILE
ANGEL M LOPEZ ORTIZ                     ADDRESS ON FILE
ANGEL M LOPEZ QUINTANA                  ADDRESS ON FILE
ANGEL M LOPEZ RIVERA                    ADDRESS ON FILE
ANGEL M LOPEZ VAZQUEZ                   ADDRESS ON FILE
ANGEL M LORENZO PEREZ                   ADDRESS ON FILE
ANGEL M LUGO MENENDEZ                   ADDRESS ON FILE
ANGEL M MACHUCA CRUZ                    ADDRESS ON FILE
ANGEL M MARCANO LEBRON                  ADDRESS ON FILE
ANGEL M MARRERO CALDERON                ADDRESS ON FILE
ANGEL M MARRERO HERNANDEZ               ADDRESS ON FILE
ANGEL M MARTIN LANDRON                  ADDRESS ON FILE
ANGEL M MARTINEZ AMADOR                 ADDRESS ON FILE
ANGEL M MARTINEZ FERNANDEZ              ADDRESS ON FILE
ANGEL M MARTINEZ GARCIA                 ADDRESS ON FILE
ANGEL M MARTINEZ MERCADO                ADDRESS ON FILE
ANGEL M MARTINEZ MORALES                ADDRESS ON FILE
ANGEL M MARTINEZ RODRIGUEZ              ADDRESS ON FILE
ANGEL M MARZAN RIVERA Y HILDA HERNANDEZ ADDRESS ON FILE
ANGEL M MAYSONET RODRIGUEZ              ADDRESS ON FILE
ANGEL M MELENDEZ                        ADDRESS ON FILE
ANGEL M MENDEZ MALDONADO                ADDRESS ON FILE
ANGEL M MERCADO RIOS                    ADDRESS ON FILE
ANGEL M MIRANDA CRUZ                    ADDRESS ON FILE
ANGEL M MOLINA                          ADDRESS ON FILE
ANGEL M MONTALVO LOPEZ                  ADDRESS ON FILE
ANGEL M MONTANEZ ROSA                   ADDRESS ON FILE
ANGEL M MONTANEZ SALGADO                ADDRESS ON FILE
ANGEL M MORALES LEHMAN                  ADDRESS ON FILE
ANGEL M NAVEDO VELAZQUEZ                ADDRESS ON FILE
ANGEL M NIEVES CARRILLO                 ADDRESS ON FILE
ANGEL M NUNEZ REYES                     ADDRESS ON FILE
ANGEL M NUNEZ VARGAS                    ADDRESS ON FILE
ANGEL M NUNEZ VARGAS                    ADDRESS ON FILE
ANGEL M OJEDA MIRANDA                   ADDRESS ON FILE
ANGEL M ORLANDI GOMEZ                   ADDRESS ON FILE




                                                                                     Page 440 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 441 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City           State   PostalCode   Country
ANGEL M ORSINI CARRERO                    ADDRESS ON FILE
ANGEL M ORTIZ CARRERAS                    ADDRESS ON FILE
ANGEL M ORTIZ FRAGUADA                    ADDRESS ON FILE
ANGEL M ORTIZ LOPEZ                       ADDRESS ON FILE
ANGEL M ORTIZ MERCADO                     ADDRESS ON FILE
ANGEL M ORTIZ MONCHE                      ADDRESS ON FILE
ANGEL M ORTIZ NEGRON                      ADDRESS ON FILE
ANGEL M ORTIZ RIVERA                      ADDRESS ON FILE
ANGEL M ORTIZ SANTANA                     ADDRESS ON FILE
ANGEL M ORTIZ SANTANA                     ADDRESS ON FILE
ANGEL M ORTIZ TORO                        ADDRESS ON FILE
ANGEL M OSORIO SIMMONS                    ADDRESS ON FILE
ANGEL M OTERO AVILES                      ADDRESS ON FILE
ANGEL M OTERO AYALA                       ADDRESS ON FILE
ANGEL M OTERO DIAZ                        ADDRESS ON FILE
ANGEL M OTERO OJEDA                       ADDRESS ON FILE
ANGEL M PAGAN CRUZ                        ADDRESS ON FILE
ANGEL M PARRILLA PENA                     ADDRESS ON FILE
ANGEL M PENA ROSARIO                      ADDRESS ON FILE
ANGEL M PEREZ                             ADDRESS ON FILE
ANGEL M PEREZ COLON                       ADDRESS ON FILE
ANGEL M PEREZ FIGUEROA                    ADDRESS ON FILE
ANGEL M PEREZ GARCIA                      ADDRESS ON FILE
ANGEL M PEREZ IRENE                       ADDRESS ON FILE
ANGEL M PEREZ MONTANEZ                    ADDRESS ON FILE
ANGEL M PEREZ ORTIZ                       ADDRESS ON FILE
ANGEL M PINEIRO SANTOS                    ADDRESS ON FILE
ANGEL M PLANAS CORTES                     ADDRESS ON FILE
ANGEL M RAMOS HIDALGO                     ADDRESS ON FILE
ANGEL M RAMOS ORTIZ                       ADDRESS ON FILE
ANGEL M REYES CORDOVA                     ADDRESS ON FILE
ANGEL M REYES CORDOVA                     ADDRESS ON FILE
ANGEL M REYES CORDOVA                     ADDRESS ON FILE
ANGEL M REYES CRUZ                        ADDRESS ON FILE
ANGEL M REYES MOLINA                      ADDRESS ON FILE
ANGEL M REYES PEREZ                       ADDRESS ON FILE
ANGEL M REYES PEREZ                       ADDRESS ON FILE
ANGEL M RICHART RODRIGUEZ                 ADDRESS ON FILE
ANGEL M RIOS TORRES                       ADDRESS ON FILE
ANGEL M RIVAS VAZQUEZ                     ADDRESS ON FILE
ANGEL M RIVERA & WANDA VALDEZ             ADDRESS ON FILE
ANGEL M RIVERA AGOSTINI                   ADDRESS ON FILE
ANGEL M RIVERA ANDINO                     ADDRESS ON FILE
ANGEL M RIVERA GONZALEZ                   ADDRESS ON FILE
ANGEL M RIVERA MARTINEZ                   ADDRESS ON FILE
ANGEL M RIVERA MARTINEZ                   ADDRESS ON FILE
ANGEL M RIVERA ORTIZ                      ADDRESS ON FILE
ANGEL M RIVERA OTERO                      ADDRESS ON FILE
ANGEL M RIVERA RUIZ                       ADDRESS ON FILE
ANGEL M ROBLES                            ADDRESS ON FILE
ANGEL M ROBLES CHEVERE                    ADDRESS ON FILE
ANGEL M ROBLES GUZMAN                     ADDRESS ON FILE
ANGEL M RODRIGUEZ                         ADDRESS ON FILE
ANGEL M RODRIGUEZ AMADOR                  ADDRESS ON FILE
ANGEL M RODRIGUEZ AMADOR                  ADDRESS ON FILE
ANGEL M RODRIGUEZ MARTINEZ                ADDRESS ON FILE
ANGEL M RODRIGUEZ MONTERO                 ADDRESS ON FILE
ANGEL M RODRIGUEZ OTERO                   ADDRESS ON FILE
ANGEL M RODRIGUEZ RIOS                    ADDRESS ON FILE
ANGEL M RODRIGUEZ RIVERA DBA LAS MARIAS   AUTO PIEZAS               HC 1 BOX 3948                                          LAS MARIAS     PR      00670




                                                                                      Page 441 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 442 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City            State   PostalCode   Country
ANGEL M RODRIGUEZ RIVIEL                 ADDRESS ON FILE
ANGEL M RODRIGUEZ VAZQUEZ                ADDRESS ON FILE
ANGEL M ROJAS Y LILLIAM ECHEVARRIA       ADDRESS ON FILE
ANGEL M ROLON RIVERA Y TERESA CRUZADO    ADDRESS ON FILE
ANGEL M ROMAN LEBRON                     ADDRESS ON FILE
ANGEL M ROSARIO DBA ROSARIO DISTRIBUTORS PO BOX 56132                                                                     BAYAMON         PR      00960
ANGEL M ROSARIO GARCIA                   ADDRESS ON FILE
ANGEL M ROSARIO MATOS                    ADDRESS ON FILE
ANGEL M ROSARIO MATOS                    ADDRESS ON FILE
ANGEL M ROSARIO MATOS                    ADDRESS ON FILE
ANGEL M RUIZ RODRIGUEZ                   ADDRESS ON FILE
ANGEL M SALDAðA RIVERA                   ADDRESS ON FILE
ANGEL M SALDAðA RIVERA                   ADDRESS ON FILE
ANGEL M SALDANA RIVERA                   ADDRESS ON FILE
ANGEL M SALDANA RIVERA                   ADDRESS ON FILE
ANGEL M SANABRIA / CARMEN SANTIAGO       ADDRESS ON FILE
ANGEL M SANCHEZ CRESPO                   ADDRESS ON FILE
ANGEL M SANCHEZ PERAZA                   ADDRESS ON FILE
ANGEL M SANTIAGO CARABALLO               ADDRESS ON FILE
ANGEL M SANTIAGO SILVA                   ADDRESS ON FILE
ANGEL M SANTOS ROSARIO                   ADDRESS ON FILE
ANGEL M SIERRA CRUZ                      ADDRESS ON FILE
ANGEL M SOSA CANDELARIO                  ADDRESS ON FILE
ANGEL M SOTO GUTIERREZ                   ADDRESS ON FILE
ANGEL M SOTO MARIN BORINQUEN AUTO PARTS1843 CARR 2                                                                        BARCELONETA     PR      00617
ANGEL M SOTO RODRIGUEZ                   ADDRESS ON FILE
ANGEL M SOTO VAZQUEZ                     ADDRESS ON FILE
ANGEL M SOTOMAYOR SANTOS                 ADDRESS ON FILE
ANGEL M TABARO O'FERRALL                 ADDRESS ON FILE
ANGEL M TORRES GONZALEZ                  ADDRESS ON FILE
ANGEL M TORRES GONZALEZ                  ADDRESS ON FILE
ANGEL M TORRES GONZALEZ                  ADDRESS ON FILE
ANGEL M TORRES LOPEZ                     ADDRESS ON FILE
ANGEL M TORRES ORSINI                    ADDRESS ON FILE
ANGEL M TORRES PAGAN                     ADDRESS ON FILE
ANGEL M TORRES PENALOSA                  ADDRESS ON FILE
ANGEL M TORRES PENALOSA                  ADDRESS ON FILE
ANGEL M TORRES RIOS                      ADDRESS ON FILE
ANGEL M UBARRI APONTE                    ADDRESS ON FILE
ANGEL M VAZQUEZ                          ADDRESS ON FILE
ANGEL M VAZQUEZ VAZQUEZ                  ADDRESS ON FILE
ANGEL M VEGA OQUENDO                     ADDRESS ON FILE
ANGEL M VELAQUEZ FELICIANO               ADDRESS ON FILE
ANGEL M VELAZQUEZ FERNANDEZ              ADDRESS ON FILE
ANGEL M VELAZQUEZ VARGAS                 ADDRESS ON FILE
ANGEL M VELEZ OTERO                      ADDRESS ON FILE
ANGEL M VELEZ PEREZ                      ADDRESS ON FILE
ANGEL M VELEZ QUILES                     ADDRESS ON FILE
ANGEL M VELEZ VARGAS                     ADDRESS ON FILE
ANGEL M VERA MALDONADO                   ADDRESS ON FILE
ANGEL M. ALEJANDRO CANCEL                ADDRESS ON FILE
ÁNGEL M. BORRERO                         ADDRESS ON FILE
ANGEL M. CINTRON CINTRON                 ADDRESS ON FILE
ANGEL M. CRESPO MORALES                  ADDRESS ON FILE
ANGEL M. ECHEVARRIA ORTIZ                ADDRESS ON FILE
ANGEL M. HERNANDEZ HERNANDEZ             ADDRESS ON FILE
ANGEL M. MARTIN GARCIA                   ADDRESS ON FILE
ANGEL M. NEGRON PEREZ                    ADDRESS ON FILE
ANGEL M. PEDRAZA SANTOS                  ADDRESS ON FILE
ANGEL M. RODRIGUEZ                       ADDRESS ON FILE




                                                                                     Page 442 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 443 of 3500
                                                                                                          Creditor Matrix

Creditor Name                            Address1                               Address2                               Address3       Address4   City         State   PostalCode   Country
ANGEL M. RODRIGUEZ RAMON                 ADDRESS ON FILE
ANGEL M. SANCHEZ GARCIA                  ADDRESS ON FILE
ANGEL M. SANTANA DE JESUS                ADDRESS ON FILE
ANGEL M.MATOS LUGO                       ADDRESS ON FILE
ANGEL M.SALDANA                          ADDRESS ON FILE
ANGEL M.SALDANA                          ADDRESS ON FILE
ANGEL MAISONET ACEVEDO                   ADDRESS ON FILE
ANGEL MALAVE VELEZ                       ADDRESS ON FILE
ANGEL MALAVE VELEZ                       ADDRESS ON FILE
ANGEL MALDONADO ESPINOSA                 ANGEL MALDONADO ESPINOSA (POR DERECHO PINST. MÁXIMA SEGURIDAD                 PO BOX 10786   A‐5 5026   PONCE        PR      00732
ANGEL MANUEL CRUZ BENITEZ                ADDRESS ON FILE
ANGEL MANUEL MARIN RIVERA                ADDRESS ON FILE
ANGEL MANUEL REYES RAMOS                 ADDRESS ON FILE
ANGEL MANUEL SANTIAGO ROBLEDO            ADDRESS ON FILE
ANGEL MANUEL VARGAS SANTIAGO             ADDRESS ON FILE
ANGEL MANZANO SERRANO                    ADDRESS ON FILE
ANGEL MARCANO MARCANO                    ADDRESS ON FILE
ANGEL MARIN RODRIGUEZ                    ADDRESS ON FILE
ANGEL MARQUEZ VELEZ                      ADDRESS ON FILE
ANGEL MARRERO TORRES                     ADDRESS ON FILE
ANGEL MARTI LOPEZ                        ADDRESS ON FILE
ANGEL MARTINEZ                           ADDRESS ON FILE
ANGEL MARTINEZ / DBA ALM MARTINEZ COLON PO BOX 3019                                                                                              BAYAMON      PR      00960‐3019
ANGEL MARTINEZ GONZALEZ                  ADDRESS ON FILE
ANGEL MARTINEZ MIRANDA                   ADDRESS ON FILE
ANGEL MARTINEZ MOLINA                    ADDRESS ON FILE
ANGEL MARTINEZ PEREZ                     ADDRESS ON FILE
ANGEL MARTINEZ SALAS                     ADDRESS ON FILE
ANGEL MASS FIGUEROA                      ADDRESS ON FILE
ANGEL MATEO REYES                        ADDRESS ON FILE
ANGEL MATIAS VEGA                        ADDRESS ON FILE
ANGEL MAYSONET RAMOS                     ADDRESS ON FILE
ANGEL MEDICAL CENTER                     120 RIVERVIEW STREET                                                                                    FRANKLYN     NC      28734
ANGEL MEDINA COTTO                       ADDRESS ON FILE
ANGEL MEDINA LOPEZ                       ADDRESS ON FILE
ANGEL MEDINA NATAL                       ADDRESS ON FILE
ANGEL MEDINA NATAL DBA SANTITOS BUS LINE HC 01 BOX 3628                                                                                          UTUADO       PR      00641
ANGEL MELENDEZ GARCIA                    ADDRESS ON FILE
ANGEL MELENDEZ MELENDEZ                  ADDRESS ON FILE
ANGEL MELENDEZ MERCADO                   ADDRESS ON FILE
ANGEL MELENDEZ RIVERA                    ADDRESS ON FILE
ANGEL MELENDEZ SANCHEZ                   ADDRESS ON FILE
ANGEL MELENDEZ VAZQUEZ                   ADDRESS ON FILE
ANGEL MENDEZ ESTRADA                     ADDRESS ON FILE
ANGEL MENDEZ PEREZ                       ADDRESS ON FILE
Angel Mendoza Chaparro/LA BELLA UNION    PO BOX 607087                                                                                           BAYAMON      PR      00960‐7087
ANGEL MERCADO FIGUEROA                   ADDRESS ON FILE
ANGEL MERCADO LUCIANO                    ADDRESS ON FILE
ANGEL MERLY PEREZ                        ADDRESS ON FILE
ANGEL MIGUEL PELLOT VALENTIN             ADDRESS ON FILE
ANGEL MM BONILLA CEPEDA                  ADDRESS ON FILE
ANGEL MONTALVAN GONZALEZ                 ADDRESS ON FILE
ANGEL MONTALVO ALICEA                    ADDRESS ON FILE
ANGEL MONTANEZ CEPEDA                    ADDRESS ON FILE
ANGEL MONTERO HIDALGO                    ADDRESS ON FILE
ANGEL MONTERO PELLOT                     ADDRESS ON FILE
Angel Montes Alvelo                      ADDRESS ON FILE
ANGEL MORALES AYALA                      ADDRESS ON FILE
ANGEL MORALES GONZALEZ                   ADDRESS ON FILE
ANGEL MORALES RAMIREZ                    ADDRESS ON FILE




                                                                                                         Page 443 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 444 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL MORALES RIVERA        ADDRESS ON FILE
ANGEL MORALES RODRIGUEZ     ADDRESS ON FILE
ANGEL MORALES VADI          ADDRESS ON FILE
ANGEL MORALES VAZQUEZ       ADDRESS ON FILE
ANGEL MORALES VELEZ         ADDRESS ON FILE
ANGEL MORERA CRUZ           ADDRESS ON FILE
ANGEL MULERO DAVILA         ADDRESS ON FILE
ANGEL MUNIZ ACEVEDO         ADDRESS ON FILE
ANGEL MUNIZ ACEVEDO         ADDRESS ON FILE
ANGEL MUNIZ PACHECO         ADDRESS ON FILE
ANGEL MUNIZ RUIZ            ADDRESS ON FILE
ANGEL MUNIZ VAZQUEZ         ADDRESS ON FILE
ANGEL MUNOZ MARTINEZ        ADDRESS ON FILE
ANGEL MUNOZ PUCHALES        ADDRESS ON FILE
ANGEL MVALENTIN ORTIZ       ADDRESS ON FILE
ANGEL N GONZALEZ ORTIZ      ADDRESS ON FILE
ANGEL N MONTAVO PEREZ       ADDRESS ON FILE
ANGEL N PEREZ ROSADO        ADDRESS ON FILE
ANGEL N RODRIGUEZ GUZMAN    ADDRESS ON FILE
ANGEL N RODRIGUEZ SOTO      ADDRESS ON FILE
ANGEL N ROSARIO VAZQUEZ     ADDRESS ON FILE
ANGEL N SANTIAGO CRUZ       ADDRESS ON FILE
ANGEL N VEGA RIVAS          ADDRESS ON FILE
ANGEL NAVARRO MARTINEZ      ADDRESS ON FILE
ANGEL NAZARIO MEDINA        ADDRESS ON FILE
ANGEL NEGRON CANDELARIA     ADDRESS ON FILE
ANGEL NEGRON MARTINEZ       ADDRESS ON FILE
ANGEL NEGRON ORTIZ          ADDRESS ON FILE
ANGEL NEGRON ORTIZ          ADDRESS ON FILE
ANGEL NEGRON QUINONEZ       ADDRESS ON FILE
ANGEL NEGRON RAMOS          ADDRESS ON FILE
ANGEL NIEVES CRUZ           ADDRESS ON FILE
ANGEL NIEVES GONZALEZ       ADDRESS ON FILE
ANGEL NIEVES RAMOS          ADDRESS ON FILE
ANGEL NIEVES SERRANO        ADDRESS ON FILE
ANGEL NOEL OQUENDO COLON    ADDRESS ON FILE
ANGEL NUNEZ                 ADDRESS ON FILE
ANGEL NUNEZ CINTRON         ADDRESS ON FILE
ANGEL NUNEZ GARCIA          ADDRESS ON FILE
ANGEL O ALVAREZ DIAZ        ADDRESS ON FILE
ANGEL O ALVAREZ DIAZ        ADDRESS ON FILE
ANGEL O BERRIOS SILVESTRE   ADDRESS ON FILE
ANGEL O CARRERO GOMEZ       ADDRESS ON FILE
ANGEL O FIGUEROA            ADDRESS ON FILE
ANGEL O GARCIA GONZALEZ     ADDRESS ON FILE
ANGEL O LOPEZ MUNIZ         ADDRESS ON FILE
ANGEL O LUGO PEREZ          ADDRESS ON FILE
ANGEL O MONTANEZ RIVERA     ADDRESS ON FILE
ANGEL O NEGRON COLON        ADDRESS ON FILE
ANGEL O OLIVO GARCIA        ADDRESS ON FILE
ANGEL O ORTA VEGA           ADDRESS ON FILE
ANGEL O RIVERA COLON        ADDRESS ON FILE
ANGEL O ROBLES VELAZQUEZ    ADDRESS ON FILE
ANGEL O TORRES MERCADO      ADDRESS ON FILE
ANGEL O VALENTIN QUINONEZ   ADDRESS ON FILE
ANGEL O VAZQUEZ PABON       ADDRESS ON FILE
ANGEL O VAZQUEZ PADOVANI    ADDRESS ON FILE
ANGEL O VAZQUEZ TORRES      ADDRESS ON FILE
ANGEL O. CIRILO CRUZ        ADDRESS ON FILE
ANGEL O. CIRILO CRUZ        ADDRESS ON FILE




                                                                        Page 444 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 445 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City          State   PostalCode   Country
ANGEL OCASIO PINTO                      ADDRESS ON FILE
ANGEL OLIVENCIA                         ADDRESS ON FILE
ANGEL OLIVO VINALES                     ADDRESS ON FILE
ANGEL OMAR REBOLLAR MALDONADO           ADDRESS ON FILE
ANGEL ONEIL VILLEGAS                    ADDRESS ON FILE
ANGEL O'NEILL PEREZ                     ADDRESS ON FILE
ANGEL ONEILL VILLEGAS                   ADDRESS ON FILE
ANGEL ORENGO DIAZ                       ADDRESS ON FILE
ANGEL ORTA AYALA                        ADDRESS ON FILE
ANGEL ORTEGA DELGADO                    ADDRESS ON FILE
ANGEL ORTIZ ARROYO                      ADDRESS ON FILE
Angel Ortíz Díaz                        ADDRESS ON FILE
ANGEL ORTIZ MARTINEZ                    ADDRESS ON FILE
ANGEL ORTIZ RIVAS                       ADDRESS ON FILE
ANGEL ORTIZ RIVERA                      ADDRESS ON FILE
ANGEL ORTIZ RIVERA                      ADDRESS ON FILE
ANGEL ORTIZ RIVERA                      ADDRESS ON FILE
ANGEL ORTIZ RIVERA                      ADDRESS ON FILE
ANGEL ORTIZ SANTIAGO                    ADDRESS ON FILE
ANGEL ORTIZ SANTOS                      ADDRESS ON FILE
ANGEL ORTIZ VAZQUEZ                     ADDRESS ON FILE
ANGEL OSORIO CIRINO                     ADDRESS ON FILE
ANGEL OTANO HERNANDEZ                   ADDRESS ON FILE
ANGEL OTANO HERNANDEZ                   ADDRESS ON FILE
ANGEL OTERO FIGUEROA                    ADDRESS ON FILE
ANGEL OTERO GONZALEZ                    ADDRESS ON FILE
ANGEL OTERO OCASIO                      ADDRESS ON FILE
ANGEL OTERO ROSADO                      ADDRESS ON FILE
ANGEL P GARCIA NUNEZ                    ADDRESS ON FILE
ANGEL P VELEZ LUGO                      ADDRESS ON FILE
ANGEL PABON MEDIAVILLA                  ADDRESS ON FILE
ANGEL PACHECO QUINONEZ                  ADDRESS ON FILE
ANGEL PADILLA                           ADDRESS ON FILE
ANGEL PADILLA CINTRON                   ADDRESS ON FILE
ANGEL PAGAN CABRERA                     ADDRESS ON FILE
ANGEL PAGAN/DBA/PAGAN AIR CONDITIONING SHC 74 BOX 5280                                                                    NARANJITO     PR      00719
ANGEL PENA BERDIEL                      ADDRESS ON FILE
ANGEL PENA MONTANEZ                     ADDRESS ON FILE
ANGEL PENA PLAZA                        ADDRESS ON FILE
ANGEL PENA QUESADA                      ADDRESS ON FILE
ANGEL PENA RAMOS                        ADDRESS ON FILE
ANGEL PERALES MUNOZ                     ADDRESS ON FILE
ANGEL PEREZ BARRET                      ADDRESS ON FILE
ANGEL PEREZ BARRET                      ADDRESS ON FILE
ANGEL PEREZ BETANCOURT                  ADDRESS ON FILE
ANGEL PEREZ DIAZ                        ADDRESS ON FILE
ANGEL PEREZ FELICIANO                   ADDRESS ON FILE
ANGEL PEREZ FELICIANO                   ADDRESS ON FILE
ANGEL PEREZ GIRAUD                      ADDRESS ON FILE
ANGEL PEREZ GIRAUD                      ADDRESS ON FILE
ANGEL PEREZ GIRAUD                      ADDRESS ON FILE
Angel Perez Lopez                       ADDRESS ON FILE
ANGEL PEREZ MIRANDA                     ADDRESS ON FILE
ANGEL PEREZ MU¥OZ                       ADDRESS ON FILE
ANGEL PEREZ MUNOZ                       ADDRESS ON FILE
ANGEL PEREZ MUNOZ                       ADDRESS ON FILE
ANGEL PEREZ NIEVES                      ADDRESS ON FILE
ANGEL PEREZ OTERO                       ADDRESS ON FILE
ANGEL PEREZ PADILLA                     ADDRESS ON FILE
ANGEL PEREZ RIVERA                      ADDRESS ON FILE




                                                                                     Page 445 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 446 of 3500
                                                                                                      Creditor Matrix

Creditor Name                            Address1                             Address2                             Address3           Address4   City              State   PostalCode   Country
ANGEL PEREZ ROMERO                       ADDRESS ON FILE
ANGEL PEREZ SANCHEZ                      ADDRESS ON FILE
ANGEL PEREZ TORO                         ADDRESS ON FILE
ANGEL PIETRANGELO ZAMPICININI TAPIA      ADDRESS ON FILE
Angel Pizarro Rivera                     ADDRESS ON FILE
ANGEL PIZARRO RODRIGUEZ                  ADDRESS ON FILE
ANGEL PONCE MALAVE                       ADDRESS ON FILE
ANGEL PONT COLON                         ADDRESS ON FILE
ANGEL PUIG DIAZ                          ADDRESS ON FILE
ANGEL QUILES GONZALEZ                    LCDO. PEDRO G. CRUZ SÁNCHEZ          PO BOX 372290                                                      CAYEY             PR      00737‐2290
ANGEL QUINONES RUIZ                      ADDRESS ON FILE
ANGEL QUIÑONES SANTOS,MMP ENTERTAINMENLCDO. MICHAEL CORONA MUNOZ              110 BORINQUEN                        SUITE 4‐1                     TRUJILLO ALTO     PR      00976
ANGEL QUINONEZ RODRIGUEZ                 ADDRESS ON FILE
ANGEL QUINTANA MUNIZ                     ADDRESS ON FILE
ANGEL R /RAFAEL BETANCOURT Y DORA GARCIA ADDRESS ON FILE
ANGEL R ACEVEDO VAZQUEZ                  ADDRESS ON FILE
ANGEL R ALFONZO GONZALEZ                 ADDRESS ON FILE
ANGEL R ALVARADO ROSA                    ADDRESS ON FILE
ANGEL R AMEZAGA MD                       ADDRESS ON FILE
ANGEL R APONTE / CANDIDA R GUZMAN        ADDRESS ON FILE
ANGEL R APONTE RIVERA                    ADDRESS ON FILE
ANGEL R AQUINO TORRES                    ADDRESS ON FILE
ANGEL R AYALA SANCHEZ                    ADDRESS ON FILE
ANGEL R BERRIOS COLON                    ADDRESS ON FILE
ANGEL R BETANCOURT GARCIA                ADDRESS ON FILE
ANGEL R CARDENALES MATOS                 ADDRESS ON FILE
ANGEL R CARDENALES MATOS                 ADDRESS ON FILE
ANGEL R COLON FERNANDEZ                  ADDRESS ON FILE
ANGEL R COLON GONZALEZ                   ADDRESS ON FILE
ANGEL R COLON NUNEZ                      ADDRESS ON FILE
ANGEL R CRESPO MIRANDA                   ADDRESS ON FILE
ANGEL R DAVILA ALLENDE                   ADDRESS ON FILE
ANGEL R DAVILA RIVERA                    ADDRESS ON FILE
ANGEL R DE JESUS ORTEGA                  ADDRESS ON FILE
ANGEL R DELGADO                          ADDRESS ON FILE
ANGEL R DELGADO POL                      ADDRESS ON FILE
ANGEL R DELGADO POL                      ADDRESS ON FILE
ANGEL R DIAZ DAVID                       ADDRESS ON FILE
ANGEL R DIAZ PAGAN                       ADDRESS ON FILE
ANGEL R DIAZ RODRIGUEZ                   ADDRESS ON FILE
ANGEL R DIEPPA AYALA                     ADDRESS ON FILE
ANGEL R EGOZCUE ROSARIO                  ADDRESS ON FILE
ANGEL R FELICIAMNO ORTIZ                 ADDRESS ON FILE
ANGEL R FERNANDEZ BERDEGUEZ              ADDRESS ON FILE
ANGEL R FRANCESCHI SIERRA                ADDRESS ON FILE
ANGEL R GARCIA MURIEL                    ADDRESS ON FILE
ANGEL R GINAS SANCHEZ                    ADDRESS ON FILE
ANGEL R GONZALEZ HUERTAS                 ADDRESS ON FILE
ANGEL R GUZMAN RODRIGUEZ                 ADDRESS ON FILE
ANGEL R HAMBURGO LAGARES                 ADDRESS ON FILE
ANGEL R JUSINO BAEZ/RAFYS SOUND TEAM     URB LA QUINTA                        J 3 BUZON 134                                                      SABANA GRANDE     PR      00637
ANGEL R LEBRON RODRIGUEZ                 ADDRESS ON FILE
ANGEL R LOPEZ CARRION                    ADDRESS ON FILE
ANGEL R LOPEZ DIAZ Y OTROS               LCDA. DIANA T DÍAZ TORRES            COND TORRE ALTA PH01                 274 URUGUAY PH01              SAN JUAN          PR      00917‐2027
ANGEL R LOPEZ DIAZ Y OTROS               LCDO. ALBERTO R. FUERTES MASAROVIC   PMB 191                              PO BOX 194000                 SAN JUAN          PR      00919‐4000
ANGEL R LOPEZ RIVERA                     ADDRESS ON FILE
ANGEL R LUGO PEREZ                       ADDRESS ON FILE
ANGEL R MALDONADO MONTALVO               ADDRESS ON FILE
ANGEL R MALDONADO NUNEZ                  ADDRESS ON FILE
ANGEL R MARRERO ALVARADO                 ADDRESS ON FILE




                                                                                                     Page 446 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 447 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGEL R MARRERO ARCE          ADDRESS ON FILE
ANGEL R MARRERO HERNANDEZ     ADDRESS ON FILE
ANGEL R MARRERO HERNANDEZ     ADDRESS ON FILE
ANGEL R MARTINEZ DOMINGUEZ    ADDRESS ON FILE
ANGEL R MARTINEZ RODRIGUEZ    ADDRESS ON FILE
ANGEL R MARTINEZ SANTIAGO     ADDRESS ON FILE
ANGEL R MELENDEZ AGUILAR      ADDRESS ON FILE
ANGEL R MENDEZ RIVERA         ADDRESS ON FILE
ANGEL R MONTES CARLO          ADDRESS ON FILE
ANGEL R MORALES ORTIZ         ADDRESS ON FILE
ANGEL R MOREIRA FONTANEZ      ADDRESS ON FILE
ANGEL R MUNOZ MIRABAL         ADDRESS ON FILE
ANGEL R NIEVES VEINTIDOS      ADDRESS ON FILE
ANGEL R NORMANDIA NIEVES      ADDRESS ON FILE
ANGEL R NUNEZ COLLAZO         ADDRESS ON FILE
ANGEL R OLIVERO PEREZ         ADDRESS ON FILE
ANGEL R ORTEGA RIVERA         ADDRESS ON FILE
ANGEL R ORTIZ FEBUS           ADDRESS ON FILE
ANGEL R ORTIZ RODRIGUEZ       ADDRESS ON FILE
ANGEL R PAGAN OCASIO          ADDRESS ON FILE
ANGEL R PENA ROSA             ADDRESS ON FILE
ANGEL R PERAZA VEGA           ADDRESS ON FILE
ANGEL R PEREZ MARTINEZ        ADDRESS ON FILE
ANGEL R RAMOS PADILLA         ADDRESS ON FILE
ANGEL R RAPOSO PEREZ          ADDRESS ON FILE
ANGEL R RIVERA CEDENO         ADDRESS ON FILE
ANGEL R RIVERA MARTINEZ       ADDRESS ON FILE
ANGEL R RIVERA NIEVES         ADDRESS ON FILE
ANGEL R RIVERA SIERRA         ADDRESS ON FILE
ANGEL R ROBLES PENA           ADDRESS ON FILE
ANGEL R RODRIGUEZ BEABRAUTT   ADDRESS ON FILE
ANGEL R RODRIGUEZ CANUELAS    ADDRESS ON FILE
ANGEL R RODRIGUEZ VALENTIN    ADDRESS ON FILE
ANGEL R RODRIGUEZ VALLE       ADDRESS ON FILE
ANGEL R ROLON RIVERA          ADDRESS ON FILE
ANGEL R ROLON ROLON           ADDRESS ON FILE
ANGEL R ROSA RODRIGUEZ        ADDRESS ON FILE
ANGEL R ROSA RUIZ             ADDRESS ON FILE
ANGEL R ROSARIO COLON         ADDRESS ON FILE
ANGEL R RUIZ ELLIS            ADDRESS ON FILE
ANGEL R SANTOS CRUZ           ADDRESS ON FILE
ANGEL R SANTOS GARCIA         ADDRESS ON FILE
ANGEL R SIERRA CABRERA        ADDRESS ON FILE
ANGEL R TIRADO TORRES         ADDRESS ON FILE
ANGEL R TORO HERNANDEZ        ADDRESS ON FILE
ANGEL R TRUJILLO BETANCOURT   ADDRESS ON FILE
ANGEL R VAZQUEZ COLON         ADDRESS ON FILE
ANGEL R VEGA AVILA            ADDRESS ON FILE
ANGEL R VELEZ                 ADDRESS ON FILE
ANGEL R VELEZ ORTIZ           ADDRESS ON FILE
ANGEL R VILLAFANE MARTINEZ    ADDRESS ON FILE
ANGEL R. ALBIZU MERCED        ADDRESS ON FILE
ANGEL R. ALVAREZ CUEVAS       ADDRESS ON FILE
ANGEL R. AMEZQUITA MATTA      ADDRESS ON FILE
ANGEL R. COLLAZO MATOS        ADDRESS ON FILE
ANGEL R. DIAZ BETANCOURT      ADDRESS ON FILE
ANGEL R. GONZALEZ CRUZ        ADDRESS ON FILE
ANGEL R. MARTINEZ DAUBON      ADDRESS ON FILE
ANGEL R. MUNOZ MIRABAL        ADDRESS ON FILE
ANGEL R. ORTIZ FEBUS          ADDRESS ON FILE




                                                                          Page 447 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 448 of 3500
                                                                                                           Creditor Matrix

Creditor Name                       Address1                                  Address2                                  Address3       Address4   City             State   PostalCode   Country
ANGEL R. ORTIZ MARRERO              ADDRESS ON FILE
ANGEL R. PUENTE VEGA                ADDRESS ON FILE
ANGEL R. RIVERA DBA OFFICE CHOICE   PMB 268 AVE HOSTOS 819                                                                                        PONCE            PR      00716
ANGEL R. RIVERA DBA OFFICE CHOICE   PO BOX 801134                                                                                                 COTTO LAUREL     PR      00780‐1134
ANGEL R. RODRIGUEZ PERAZZA          ADDRESS ON FILE
ANGEL R. RODRIGUEZ PEREZ            ADDRESS ON FILE
ANGEL R. ROMERO VARGAS              ADDRESS ON FILE
ANGEL R. VELEZ DBA ARV CONSULTING   URB. SIERRA BAYAMON CALLE 61 BLOQUE 67 # 10                                                                   BAYAMON          PR      00961‐0000
ANGEL R. VELEZ LEBRON               ADDRESS ON FILE
ANGEL RAFAEL ELECTRIC SERVICE INC   PO BOX 3681                                                                                                   BAYAMON          PR      00960‐5381
ANGEL RAFAEL FIGUEROA RIVERA        ADDRESS ON FILE
ANGEL RAFAEL GONZALEZ ORTIZ         ADDRESS ON FILE
ANGEL RAFAEL III ROQUE MELENDEZ     ADDRESS ON FILE
ANGEL RAFAEL PENA RAMON             ADDRESS ON FILE
ANGEL RAFAEL RODRIGUEZ              ADDRESS ON FILE
ANGEL RAMIREZ MARQUEZ               ADDRESS ON FILE
ANGEL RAMIREZ Y OTROS               ADRIANA MARIA RIVERO GARCIA               G14 ONEILLST. SUITE 3                                               SAN JUAN         PR      00918‐4776
ANGEL RAMIREZ Y OTROS               DANIEL A. CACHO SERRANO                   610 AVE. DE DIEGO                         PUERTO NUEVO              SAN JUAN         PR      00920
ANGEL RAMIREZ Y OTROS               ERIC RIVERA CRUZ                          1413 AVE FERNANDEZ JUNCOS SUITE 3                                   SAN JUAN         PR      00909
ANGEL RAMIREZ Y OTROS               GILDA D. CRUZ MARTINO                     1055 AVE JF KENNEDY SUITE 303                                       SAN JUAN         PR      00920‐1713
ANGEL RAMIREZ Y OTROS               JORGE MIGUEL CARAZO GONZALEZ              PO BOX 192231                                                       SAN JUAN         PR      00919‐2231
ANGEL RAMIREZ Y OTROS               JOSE L. COLOM FAGUNDO                     PO BOX 8969                                                         SAN JUAN         PR      00910
ANGEL RAMIREZ Y OTROS               NIDIA I. TEISSONNIERE RUEDA
ANGEL RAMIREZ Y OTROS               NOEL GABRIEL SANCHEZ DIAZ                 PO BOX 8969                                                         SAN JUAN         PR      00910
ANGEL RAMIREZ Y OTROS               OSCAR GONZALEZ BADILLO                    PO BOX 192999                                                       SAN JUAN         PR      00919‐2999
ANGEL RAMIREZ/ BEATRIZ RAMIREZ      ADDRESS ON FILE
ANGEL RAMOS                         ADDRESS ON FILE
ANGEL RAMOS DELGADO                 ADDRESS ON FILE
ANGEL RAMOS GARRIGA                 ADDRESS ON FILE
ANGEL RAMOS GUARDIOLA               ADDRESS ON FILE
ANGEL RAMOS IRIZARRY                ADDRESS ON FILE
ANGEL RAMOS MOLINA                  ADDRESS ON FILE
ANGEL RAMOS ORTIZ                   ADDRESS ON FILE
ANGEL RAMOS TORRES                  ADDRESS ON FILE
ANGEL RAMOS TORRES                  ADDRESS ON FILE
ANGEL RAMOS VAZQUEZ                 ADDRESS ON FILE
ANGEL RAMOS VELEZ ESTATE            PO BOX 50132                                                                                                  TOA BAJA         PR      00950‐0132
ANGEL RAMOS/ JUANITA RIVERA         ADDRESS ON FILE
ANGEL RAOL VARGAS                   ADDRESS ON FILE
ANGEL RAUL COIRA SANTIAGO           ADDRESS ON FILE
ANGEL REYES BERMUDEZ                ADDRESS ON FILE
ANGEL REYES ECHEVARRIA              ADDRESS ON FILE
ANGEL REYES ECHEVARRIA              ADDRESS ON FILE
ANGEL REYES RODRIGUEZ               ADDRESS ON FILE
ANGEL REYES ROLON                   ADDRESS ON FILE
ANGEL REYES ROQUE                   ADDRESS ON FILE
ANGEL RICARDO GARCIA ORTIZ          ADDRESS ON FILE
ANGEL RIOS CASTILLOS                ADDRESS ON FILE
ANGEL RIOS RAMOS                    ADDRESS ON FILE
ANGEL RIVAS RIVERA                  ADDRESS ON FILE
ANGEL RIVERA AVILES                 ADDRESS ON FILE
ANGEL RIVERA AVILES                 ADDRESS ON FILE
ANGEL RIVERA AYUSO                  ADDRESS ON FILE
ANGEL RIVERA CASTRO                 ADDRESS ON FILE
ANGEL RIVERA COLON                  ADDRESS ON FILE
ANGEL RIVERA COLON                  ADDRESS ON FILE
ANGEL RIVERA DE JESUS               ADDRESS ON FILE
ANGEL RIVERA FIGUEROA               ADDRESS ON FILE
ANGEL RIVERA GARCIA                 ADDRESS ON FILE
ANGEL RIVERA LOPEZ                  ADDRESS ON FILE




                                                                                                          Page 448 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 449 of 3500
                                                                                                Creditor Matrix

Creditor Name               Address1                           Address2                                      Address3   Address4   City        State   PostalCode   Country
ANGEL RIVERA LOZADA         ADDRESS ON FILE
ANGEL RIVERA MELENDEZ       ADDRESS ON FILE
ANGEL RIVERA MONTANEZ       ADDRESS ON FILE
ANGEL RIVERA MUNIZ          ADDRESS ON FILE
ANGEL RIVERA NIEVES         ADDRESS ON FILE
ANGEL RIVERA PAGAN          ADDRESS ON FILE
ANGEL RIVERA QUINONES       ADDRESS ON FILE
ANGEL RIVERA QUINONES       ADDRESS ON FILE
ANGEL RIVERA RAMOS          ADDRESS ON FILE
ANGEL RIVERA RAMOS          ADDRESS ON FILE
ANGEL RIVERA RIVERA         ADDRESS ON FILE
ANGEL RIVERA RIVERA         ADDRESS ON FILE
ANGEL RIVERA ROSADO         ADDRESS ON FILE
ANGEL RIVERA SANCHEZ        ADDRESS ON FILE
ANGEL RIVERA SANTIAGO       LCDO. LUIS A. ORTIZ CARRASQUILLO   CALLE CRISTOBAL #1 PO BOX 458                                       YABUCOA     PR      00767
ANGEL RIVERA SOTO           ADDRESS ON FILE
ANGEL RIVERA VEGA           ADDRESS ON FILE
ANGEL RIVERA VELAZQUEZ      ADDRESS ON FILE
ANGEL ROBERTO APONTE        ADDRESS ON FILE
ANGEL ROBLES ADORNO         ADDRESS ON FILE
ANGEL RODRIGUEZ             ADDRESS ON FILE
ANGEL RODRIGUEZ ALVARADO    ADDRESS ON FILE
ANGEL RODRIGUEZ AVILES      ADDRESS ON FILE
ANGEL RODRIGUEZ BAEZ        ADDRESS ON FILE
ANGEL RODRIGUEZ BURGOS      ADDRESS ON FILE
ANGEL RODRIGUEZ CABAN       ADDRESS ON FILE
ANGEL RODRIGUEZ CABAN       ADDRESS ON FILE
ANGEL RODRIGUEZ CEDENO      ADDRESS ON FILE
ANGEL RODRIGUEZ DE JESUS    ADDRESS ON FILE
ANGEL RODRIGUEZ FIGUEROA    ADDRESS ON FILE
ANGEL RODRIGUEZ FIGUEROA    ADDRESS ON FILE
ANGEL RODRIGUEZ HIDALGO     ADDRESS ON FILE
ANGEL RODRIGUEZ HYMAN       ADDRESS ON FILE
ANGEL RODRIGUEZ MELENDEZ    ADDRESS ON FILE
ANGEL RODRIGUEZ MORALES     ADDRESS ON FILE
ANGEL RODRIGUEZ PAGAN       ADDRESS ON FILE
ANGEL RODRIGUEZ QUILES      ADDRESS ON FILE
ANGEL RODRIGUEZ RESTO       ADDRESS ON FILE
ANGEL RODRIGUEZ RESTO       ADDRESS ON FILE
ANGEL RODRIGUEZ RESTO       ADDRESS ON FILE
ANGEL RODRIGUEZ RIVERA      ADDRESS ON FILE
ANGEL RODRIGUEZ RODRIGUEZ   ADDRESS ON FILE
ANGEL RODRIGUEZ RODRIGUEZ   ADDRESS ON FILE
ANGEL RODRIGUEZ ROSARIO     ADDRESS ON FILE
ANGEL RODRIGUEZ SANCHEZ     ADDRESS ON FILE
ANGEL RODRIGUEZ SANTIAGO    ADDRESS ON FILE
ANGEL ROJAS MORALES         ADDRESS ON FILE
ANGEL ROLON SEGARRA         ADDRESS ON FILE
ANGEL ROMAN ANDINO          ADDRESS ON FILE
ANGEL ROMAN ECHEVARRIA      ADDRESS ON FILE
ANGEL ROMAN MARTINEZ        ADDRESS ON FILE
ANGEL ROMAN MARTINEZ        ADDRESS ON FILE
ANGEL ROMAN QUILES          ADDRESS ON FILE
ANGEL ROMAN ROMERO          ADDRESS ON FILE
ANGEL ROMAN SOLER           ADDRESS ON FILE
ANGEL ROMAN SOLER           ADDRESS ON FILE
ANGEL ROMAN SOLER           ADDRESS ON FILE
ANGEL ROMERO ALVAREZ        ADDRESS ON FILE
ANGEL ROMERO AYALA          ADDRESS ON FILE
ANGEL ROSA BECERRIL         ADDRESS ON FILE




                                                                                               Page 449 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 450 of 3500
                                                                                                          Creditor Matrix

Creditor Name                             Address1                       Address2                                      Address3   Address4   City         State   PostalCode   Country
ANGEL ROSA PIZARRO                        ADDRESS ON FILE
ANGEL ROSA TORRES                         ADDRESS ON FILE
ANGEL ROSA VELEZ                          ADDRESS ON FILE
ANGEL ROSADO FERNANDEZ                    ADDRESS ON FILE
ANGEL ROSADO GONZALEZ                     ADDRESS ON FILE
ANGEL ROSADO HERNANDEZ                    ADDRESS ON FILE
ANGEL ROSADO MEDINA                       ADDRESS ON FILE
ANGEL ROSADO MONGE                        ADDRESS ON FILE
ANGEL ROSARIO BONILLA                     ADDRESS ON FILE
ANGEL ROSARIO DURAN & LUZ GONZALEZ        ADDRESS ON FILE
ANGEL ROSARIO ROSARIO                     ADDRESS ON FILE
ANGEL RUBAYO                              ADDRESS ON FILE
ANGEL RUIZ AYALA                          ADDRESS ON FILE
ANGEL RUIZ RIVERA                         ADDRESS ON FILE
ANGEL RUIZ,HECTOR RUIZ Y CARMEN GALARZA   ADDRESS ON FILE
ANGEL S CASANOVA CASANOVA                 ADDRESS ON FILE
ANGEL S FEBRES FEBRES                     ADDRESS ON FILE
ANGEL S GARCIA FELICIANO                  ADDRESS ON FILE
ANGEL S HERNANDEZ RAMIREZ                 ADDRESS ON FILE
ANGEL S MORALES INS AGENCY INC            PO BOX 9022688                                                                                     SAN JUAN     PR      00902‐2688
ANGEL S PAULINO PINEIRO                   ADDRESS ON FILE
ANGEL S RIVERA MARTINEZ                   ADDRESS ON FILE
ANGEL S RUIZ VAZQUEZ                      ADDRESS ON FILE
ANGEL S SANTOS ROMAN                      ADDRESS ON FILE
ANGEL S TORO RODRIGUEZ                    ADDRESS ON FILE
ANGEL S. MORALES NATAL                    LCDO. JAIME HERNÁNDEZ TORRES   PMB 120 B PO BO 194000                                              SAN JUAN     PR      00919
ANGEL S. MORALES NATAL                    LCDO. JULIO MAYMI PAGÁN        URB. EL VIIA 33 CALLE EL VIGI                                       PONCE        PR      00730
ANGEL SALAMO MARTINEZ                     ADDRESS ON FILE
ANGEL SALGADO / RENE B B Q                PO BOX 790                                                                                         ARROYO       PR      00714‐0790
ANGEL SALGADO TORRELLAS                   ADDRESS ON FILE
ANGEL SANCHEZ                             ADDRESS ON FILE
ANGEL SANCHEZ / SARA COSME                ADDRESS ON FILE
ANGEL SANCHEZ ACABA                       ADDRESS ON FILE
ANGEL SANCHEZ ACEVEDO                     ADDRESS ON FILE
ANGEL SANCHEZ PEREZ                       ADDRESS ON FILE
ANGEL SANCHEZ RIVERA                      ADDRESS ON FILE
ANGEL SANCHEZ RIVERA                      ADDRESS ON FILE
ANGEL SANCHEZ ROMAN                       ADDRESS ON FILE
ANGEL SANDOVAL VELAZQUEZ                  ADDRESS ON FILE
ANGEL SANTANA                             ADDRESS ON FILE
ANGEL SANTANA GONZALEZ                    ADDRESS ON FILE
ANGEL SANTIAGO                            ADDRESS ON FILE
ANGEL SANTIAGO MELENDEZ                   ADDRESS ON FILE
ANGEL SANTIAGO NUNEZ                      ADDRESS ON FILE
ANGEL SANTIAGO ORTIZ                      ADDRESS ON FILE
ANGEL SANTOS MARRERO                      ADDRESS ON FILE
ANGEL SANTOS TORRES                       ADDRESS ON FILE
ANGEL SANTOS TORRES                       ADDRESS ON FILE
ANGEL SEPULVEDA ALBINO                    ADDRESS ON FILE
ANGEL SEPULVEDA PACHECO                   ADDRESS ON FILE
ANGEL SERRANO ESTRADA                     ADDRESS ON FILE
ANGEL SERRANO ROLDAN                      ADDRESS ON FILE
ANGEL SERVICE CENTER                      CARR. 342 BUZON 451            PARCELAS SOLEDAD                                                    MAYAGUEZ     PR      00680
ANGEL SILVA MOLINARI                      ADDRESS ON FILE
ANGEL SOLER ENCARNACION                   ADDRESS ON FILE
ANGEL SOTO BOSQUE                         ADDRESS ON FILE
ANGEL SOTO MANGUAL                        ADDRESS ON FILE
Angel Soto Ortega                         ADDRESS ON FILE
ANGEL SOTO SAN INOCENCIO                  ADDRESS ON FILE
ANGEL SOTO SOTO                           ADDRESS ON FILE




                                                                                                         Page 450 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 451 of 3500
                                                                                    Creditor Matrix

Creditor Name                Address1                           Address2                         Address3        Address4   City           State   PostalCode   Country
ANGEL SOTO VELEZ             ADDRESS ON FILE
ANGEL SOTOMAYOR OCANA        ADDRESS ON FILE
ANGEL SOTOMAYOR ROMAN        ADDRESS ON FILE
ANGEL SUAREZ DELGADO         ADDRESS ON FILE
ANGEL SUAREZ MEDERO          ADDRESS ON FILE
ANGEL T COLON DIAZ           ADDRESS ON FILE
ANGEL T CRUZ VELAZQUEZ       ADDRESS ON FILE
ANGEL T DELGADO INOZTROZA    ADDRESS ON FILE
ANGEL T IZQUIERDO VARGAS     ADDRESS ON FILE
ANGEL T LABOY VELEZ          ADDRESS ON FILE
ANGEL T LOPEZ MIRANDA        ADDRESS ON FILE
ANGEL T MORALES              ADDRESS ON FILE
ANGEL T NOLASCO POLANCO      ADDRESS ON FILE
ANGEL T PEREZ POLANCO        ADDRESS ON FILE
ANGEL T. OSORIO HERNANDEZ    ADDRESS ON FILE
ANGEL TALAVERA FORTY         ADDRESS ON FILE
ANGEL THERAPY CENTER, INC.   ADDRESS ON FILE
ANGEL THERAPY CENTER, INC.   AVE. LAUREL L41                    SANTA JUANITA                                               BAYAMON        PR      00959
ANGEL THERAPY CENTER, INC.   URB. LOS MONTES                    430 C/ AGUILA                                               DORADO         PR      00646
ANGEL TIRADO CAMACHO         ADDRESS ON FILE
ANGEL TIRADO CLAUDIO         ADDRESS ON FILE
ANGEL TOMAS DIAZ TOLEDO      ADDRESS ON FILE
ANGEL TORRALES MALDONADO     ADDRESS ON FILE
ANGEL TORREALBA MARTINEZ     ADDRESS ON FILE
ANGEL TORRES                 ADDRESS ON FILE
ANGEL TORRES ACEVEDO         ADDRESS ON FILE
ANGEL TORRES ACEVEDO         ADDRESS ON FILE
ANGEL TORRES CALDERON        ADDRESS ON FILE
ANGEL TORRES COLLAZO         ADDRESS ON FILE
ANGEL TORRES COLON           ADDRESS ON FILE
Angel Torres Hernandez       ADDRESS ON FILE
ANGEL TORRES MORALES         ADDRESS ON FILE
ANGEL TORRES PABON           ADDRESS ON FILE
ANGEL TORRES PAGAN           ADDRESS ON FILE
ANGEL TORRES RIVERA          ADDRESS ON FILE
ANGEL TORRES RIVERA          LCDO. JOSÉ RUIZ ORONOZ             PO BOX 3052                                                 YAUCO          PR      00698
ANGEL TORRES RIVERA          LCDO. MIGUEL RODRÍGUEZ CARTAGENA   PMB 105                          CALL BOX 5004              YAUCO          PR      00698
ANGEL TORRES VELAZQUEZ       ADDRESS ON FILE
ANGEL TRIANA MERLO           ADDRESS ON FILE
ANGEL TROCHE ORTIZ           ADDRESS ON FILE
ANGEL TROCHE ORTIZ           ADDRESS ON FILE
ANGEL U BATALLA RIVERA       ADDRESS ON FILE
ANGEL UMPIERRE MORALES       ADDRESS ON FILE
ANGEL V ALVAREZ ARROYO       ADDRESS ON FILE
ANGEL V COLON NIEVES         ADDRESS ON FILE
ANGEL V DE JESUS RIVERA      ADDRESS ON FILE
ANGEL V MALDONADO PEREZ      ADDRESS ON FILE
ANGEL V MENDEZ CRUZ          ADDRESS ON FILE
ANGEL V OLIVERO RODRIGUEZ    ADDRESS ON FILE
ANGEL V PAGAN NEW ENERGY     URB LOS ARBOLES                    464 CALLE BUCARE                                            RIO GRANDE     PR      00745
ANGEL V PEREZ RODRIGUEZ      ADDRESS ON FILE
ANGEL V RIVERA VAZQUEZ       ADDRESS ON FILE
Angel Valdes Soler           ADDRESS ON FILE
ÁNGEL VALENTIN COLÓN         ADDRESS ON FILE
ANGEL VALENTIN IRIZARRY      ADDRESS ON FILE
ANGEL VALENTIN MORALES       ADDRESS ON FILE
ANGEL VALENTIN SIERRA        ADDRESS ON FILE
ANGEL VARGAS ARROYO          ADDRESS ON FILE
ANGEL VARGAS ARROYO          ADDRESS ON FILE
ANGEL VAZQUEZ ARROYO         ADDRESS ON FILE




                                                                                   Page 451 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 452 of 3500
                                                                                Creditor Matrix

Creditor Name                Address1                  Address2                              Address3   Address4   City        State   PostalCode   Country
ANGEL VAZQUEZ LABOY          ADDRESS ON FILE
ANGEL VAZQUEZ RIVERA         ADDRESS ON FILE
ANGEL VAZQUEZ RODRIGUEZ      ADDRESS ON FILE
ANGEL VAZQUEZ SANCHEZ        ADDRESS ON FILE
ANGEL VAZQUEZ SANTIAGO       ADDRESS ON FILE
ANGEL VAZQUEZ TORRES         ADDRESS ON FILE
ANGEL VEGA DIAZ              ADDRESS ON FILE
ANGEL VEGA RODRIGUEZ         ADDRESS ON FILE
ANGEL VEGA RODRIGUEZ         ADDRESS ON FILE
ANGEL VELAZQUEZ DELGADO      ADDRESS ON FILE
ANGEL VELAZQUEZ GOMEZ        ADDRESS ON FILE
ANGEL VELAZQUEZ NIEVES       ADDRESS ON FILE
ANGEL VELAZQUEZ VAZQUEZ      ADDRESS ON FILE
ANGEL VELEZ MALDONADO        ADDRESS ON FILE
ANGEL VELEZ QUINONES         ADDRESS ON FILE
ANGEL VELEZ RIVERA           ADDRESS ON FILE
ANGEL VELEZ RODRIGUEZ        ADDRESS ON FILE
ANGEL VELEZ RODRIGUEZ        LCDA. NILDA ALICEA BÁEZ   Po Box 140549                                               ARECIBO     PR      00614
ANGEL VELEZ VELEZ            ADDRESS ON FILE
ANGEL VENTURA ISALES         ADDRESS ON FILE
ANGEL VILLEGAS               ADDRESS ON FILE
ANGEL W BRIOSO TEXIDOR       ADDRESS ON FILE
ANGEL W ESQUIBEL PAMIAS      ADDRESS ON FILE
ANGEL W PEREZ                ADDRESS ON FILE
ANGEL WHATTS                 ADDRESS ON FILE
ANGEL WHATTS SANTOS          URB ATENAS                12 CALLE ELLIOT VELEZ                                       MANATI      PR      00674
ANGEL WONG CHONG             ADDRESS ON FILE
ANGEL X DOMENECH ROQUE       ADDRESS ON FILE
ANGEL X MARTINEZ JIMENEZ     ADDRESS ON FILE
ANGEL X VELEZ DIAZ           ADDRESS ON FILE
ANGEL Y BRUNET SANTIAGO      ADDRESS ON FILE
ANGEL Y CAMACHO MONTALVO     ADDRESS ON FILE
ANGEL Y NIEVES NEGRON        ADDRESS ON FILE
ANGEL Y VELLON RODRIGUEZ     ADDRESS ON FILE
ANGELA A GARCIA FERNANDEZ    ADDRESS ON FILE
ANGELA A LASALLE MORALES     ADDRESS ON FILE
Angela Acevedo Negrón        ADDRESS ON FILE
ANGELA ALEJANDRO CHINEA      ADDRESS ON FILE
ANGELA ALVARADO PAGAN        ADDRESS ON FILE
ANGELA ARIZMENDI ORENGO      ADDRESS ON FILE
ANGELA B RAMOS COLON         ADDRESS ON FILE
ANGELA B RODRIGUEZ COLLAZO   ADDRESS ON FILE
ANGELA BERRIOS DE JESUS      ADDRESS ON FILE
ANGELA BONILLA PEREZ         ADDRESS ON FILE
ANGELA C ALVARADO COLON      ADDRESS ON FILE
ANGELA CARBUSSIA QUINONES    ADDRESS ON FILE
ANGELA COLON ROSA            ADDRESS ON FILE
ANGELA COSME HUERTAS         ADDRESS ON FILE
ANGELA CRESPO CUEVAS         ADDRESS ON FILE
ANGELA CRUZ LABOY            ADDRESS ON FILE
ANGELA CRUZ LABOY            ADDRESS ON FILE
ANGELA CUEVAS POLANCO        ADDRESS ON FILE
ANGELA DE LA ROSA GONZALEZ   ADDRESS ON FILE
ANGELA DEL MURO IRIZARRI     ADDRESS ON FILE
Angela del Valle Rivera      ADDRESS ON FILE
ANGELA DIAZ DE JESUS         ADDRESS ON FILE
ANGELA DIAZ VEGA             ADDRESS ON FILE
ANGELA E VALENCIA ROMAN      ADDRESS ON FILE
ANGELA E. VALENCIA ROMAN     ADDRESS ON FILE
ANGELA E. VALENCIA ROMAN     ADDRESS ON FILE




                                                                               Page 452 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 453 of 3500
                                                                                                Creditor Matrix

Creditor Name                   Address1                                Address2                             Address3                 Address4                City         State   PostalCode   Country
ANGELA FAMILY CARE CENTER       MEDICAL RECORDS                         721 CLIFTON AVE                      SUITE 2A                                         CLIFTON      NJ      07013
ANGELA FIGUEROA YI              ADDRESS ON FILE
ANGELA FIGUEROA YI              ADDRESS ON FILE
ANGELA FRANCES ALGARIN          ADDRESS ON FILE
ANGELA GAGO ROSADO              ADDRESS ON FILE
ANGELA GARCIA CONTRERAS         ADDRESS ON FILE
ANGELA GARCIA ORTIZ             ADDRESS ON FILE
ANGELA GONZALEZ CORTES          ADDRESS ON FILE
ANGELA GONZALEZ SANTALIZ        ADDRESS ON FILE
ANGELA GUERRA AYRA              ADDRESS ON FILE
ANGELA I MARENGO VELAZQUEZ      ADDRESS ON FILE
ANGELA I ROBLES CORDERO         ADDRESS ON FILE
ANGELA I. GONZALEZ CASTELLANO   ADDRESS ON FILE
ANGELA ISABEL GAMARRA RIVERA    ADDRESS ON FILE
ANGELA ISABEL GAMARRA RIVERA    ADDRESS ON FILE
ANGELA J ASCENCIO MANON         ADDRESS ON FILE
ANGELA L BIGIO LOPEZ            ADDRESS ON FILE
ANGELA L MENDEZ                 ADDRESS ON FILE
ANGELA L PESANTE MELENDEZ       ADDRESS ON FILE
ANGELA L VELLON FERNANDEZ       ADDRESS ON FILE
ANGELA L. FONTANEZ QUINONES     ADDRESS ON FILE
ANGELA L. MALDONADO MARTY       ADDRESS ON FILE
ANGELA L. RAMOS DIAZ            ADDRESS ON FILE
ANGELA M ADAMS AMADOR           ADDRESS ON FILE
ANGELA M BELGIOVANE OLLOA       ADDRESS ON FILE
ANGELA M BONET CRUZ             ADDRESS ON FILE
ANGELA M COLON ORTIZ            ADDRESS ON FILE
ANGELA M COTTO CASTRO           ADDRESS ON FILE
ANGELA M DAVID SANCHEZ          ADDRESS ON FILE
ANGELA M FEBLES GOMEZ           ADDRESS ON FILE
ANGELA M GONZALEZ MEDEROS       ADDRESS ON FILE
ANGELA M HERNANDEZ MANCILLA     ADDRESS ON FILE
ANGELA M LOPEZ MARTINEZ         ADDRESS ON FILE
ANGELA M MOJICA MELENDEZ        ADDRESS ON FILE
ANGELA M MOJICA MELENDEZ        ADDRESS ON FILE
ANGELA M OTERO APONTE           ADDRESS ON FILE
ANGELA M PEREZ SOSA             ADDRESS ON FILE
ANGELA M PINZON BANOL           ADDRESS ON FILE
ANGELA M RODRIGUEZ DURAN        ADDRESS ON FILE
ANGELA M SANTIAGO FIGUEROA      ADDRESS ON FILE
ANGELA M TORRES BURGOS          ADDRESS ON FILE
ANGELA M VELEZ MORALES          ADDRESS ON FILE
ANGELA M. BELGUIOVANE           ADDRESS ON FILE
ANGELA M. ORTIZ OYOLA           ADDRESS ON FILE
ANGELA MACHIN RIVERA            ADDRESS ON FILE
ANGELA MADERA ORENGO            ADDRESS ON FILE
ANGELA MARIA MARIA REYES        LCDO. JOSÉ RÍOS RÍOS                    BO MONACILLOS                        CARR. 8838               EDIFICIO 1739 STE 307   SAN JUAN     PR      00926
ANGELA MARIE TAPIA DAVID        ADDRESS ON FILE
ANGELA MARTINEZ BURGOS          ADDRESS ON FILE
ANGELA MASINI SOLER             ADDRESS ON FILE
ANGELA MAURANO DEBEN            ADDRESS ON FILE
ANGELA MELENDEZ PEARSON         LCDA. BRUNILDA FIGUEROA NATER(ABOGADA ASPO BOX 70244                                                                          SAN JUAN     PR      00936‐8244

ANGELA MELENDEZ PEARSON         OSÉ R. RÍOS RÍOS                        CHIRINO OFFICE PLAZA                 1802 CARR 8838 STE 307                           SAN JUAN     PR      00926‐2745
ANGELA MIRANDA                  ADDRESS ON FILE
ANGELA MIRANDA BERMUDEZ         ADDRESS ON FILE
ANGELA MOJICA ADORNO            ADDRESS ON FILE
ANGELA MONROIG JIMENEZ          ADDRESS ON FILE
ANGELA MONTALVO TORRES          ADDRESS ON FILE
ANGELA MOTA LORENZO             ADDRESS ON FILE




                                                                                               Page 453 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 454 of 3500
                                                                                       Creditor Matrix

Creditor Name                        Address1                  Address2                             Address3   Address4   City       State   PostalCode   Country
ANGELA MURPHY / FRANCISCO SANTIAGO   ADDRESS ON FILE
ANGELA N GREER CABRERA               ADDRESS ON FILE
ANGELA NELSON NAVEDO                 ADDRESS ON FILE
ANGELA NIEVES BAEZ                   ADDRESS ON FILE
ANGELA NIEVES MELENDEZ               ADDRESS ON FILE
ANGELA NIEVES RAMOS                  ADDRESS ON FILE
ANGELA NOGUERAS COTTO                ADDRESS ON FILE
ANGELA OQUENDO NEGRON                ADDRESS ON FILE
ANGELA OTERO GONZALEZ                ADDRESS ON FILE
ANGELA P FERNANDEZ RUIZ              ADDRESS ON FILE
ANGELA PAGAN HERNANDEZ               ADDRESS ON FILE
ANGELA PAGAN HERNANDEZ               ADDRESS ON FILE
ANGELA PENA LEON                     ADDRESS ON FILE
ANGELA PEREZ TORO                    ADDRESS ON FILE
ANGELA PICON MERCADO                 ADDRESS ON FILE
ANGELA QUINTERO NAZARIO              ADDRESS ON FILE
ANGELA R ALAMEDA RODRIGUEZ           ADDRESS ON FILE
ANGELA R BIRRIEL CASTRO              ADDRESS ON FILE
ANGELA R CHAMORRO BORRERO            ADDRESS ON FILE
ANGELA R GAINES VAZQUEZ              ADDRESS ON FILE
ANGELA R LOPEZ BORRERO               ADDRESS ON FILE
ANGELA R MATIAS GUENARD              ADDRESS ON FILE
ANGELA RAMIREZ VELEZ                 ADDRESS ON FILE
ANGELA RAMOS ALICEA                  ADDRESS ON FILE
ANGELA RAMOS QUINONES                ADDRESS ON FILE
ANGELA RAMOS RIVERA                  ADDRESS ON FILE
ANGELA RAMOS VELEZ                   ADDRESS ON FILE
ANGELA REYES DOMENECH                ADDRESS ON FILE
ANGELA RIVERA GONZALEZ               ADDRESS ON FILE
ANGELA RIVERA PRATTS                 ADDRESS ON FILE
ANGELA RIVERA RIVERA                 ADDRESS ON FILE
ANGELA ROCHE DEL VALLE               ADDRESS ON FILE
ANGELA RODRIGUEZ COSME               ADDRESS ON FILE
ANGELA RODRIGUEZ GONZALEZ            ADDRESS ON FILE
ANGELA RODRIGUEZ RIVERA              ADDRESS ON FILE
ANGELA RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
ANGELA ROSA NOGUERAS                 ADDRESS ON FILE
ANGELA RUBERO RODRIGUEZ              ADDRESS ON FILE
ANGELA S DIAZ ESCALERA               ADDRESS ON FILE
ANGELA S DIAZ ESCALERA               ADDRESS ON FILE
ANGELA S VARONA MENDEZ               ADDRESS ON FILE
ANGELA SEPULVEDA ESCRIBANO           ADDRESS ON FILE
ANGELA SIGURANI PESQUERA             ADDRESS ON FILE
ANGELA SOTO TORO                     ADDRESS ON FILE
ANGELA SOTO TORO                     ADDRESS ON FILE
ANGELA SOTO TORO                     ADDRESS ON FILE
ANGELA SOTO TORO                     ADDRESS ON FILE
ANGELA TORRES                        ADDRESS ON FILE
ANGELA VALENTIN MADERA               ADDRESS ON FILE
ANGELA VAZQUEZ                       ADDRESS ON FILE
ANGELA VAZQUEZ BAEZ                  ADDRESS ON FILE
ANGELA VAZQUEZ MOTA                  ADDRESS ON FILE
ANGELA VELA GUTIERREZ                ADDRESS ON FILE
ANGELA WEYNE ROIG                    ADDRESS ON FILE
ANGELA ZAPATA LOPEZ                  ADDRESS ON FILE
ANGELE PENCHI BURGOS                 ADDRESS ON FILE
ANGELES A. RIVERA BOIRIE             ADDRESS ON FILE
ANGELES ALAYON, RAMON                ADDRESS ON FILE
ANGELES AMBULANCE INC                URB BONNEVILLE HTS        10 CALLE LAS PIEDRAS                                       CAGUAS     PR      00727
ANGELES BALLESTER AGRAIT             ADDRESS ON FILE




                                                                                      Page 454 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 455 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGELES CASES HODGE              ADDRESS ON FILE
ANGELES D ESCALERA ANDINO        ADDRESS ON FILE
ANGELES GILIBERTYS DE TARTAK     ADDRESS ON FILE
ANGELES GILIBERTYS DE TARTAK     ADDRESS ON FILE
ANGELES GUERRIDO RIVERA          ADDRESS ON FILE
ANGELES J LOPEZ SANCHEZ          ADDRESS ON FILE
ANGELES J. LOPEZ SANCHEZ         ADDRESS ON FILE
ANGELES KRIZIA GONZALEZ ROLON    ADDRESS ON FILE
ANGELES M COLON COLON            ADDRESS ON FILE
ANGELES M FERRER RODRIGUEZ       ADDRESS ON FILE
ANGELES M NARVAEZ RIVERA         ADDRESS ON FILE
ANGELES M NUNEZ DENNIS           ADDRESS ON FILE
ANGELES M SANABRIA ORTIZ         ADDRESS ON FILE
ANGELES M TORO OJIO              ADDRESS ON FILE
ANGELES M VAZQUEZ SOLER          ADDRESS ON FILE
ANGELES M. FERRER RODRIGUEZ      ADDRESS ON FILE
ANGELES MUNOZ REYES              ADDRESS ON FILE
ANGELES NOGUERAS LARA            ADDRESS ON FILE
ANGELES P MARQUEZ BERRIOS        ADDRESS ON FILE
ANGELES POLANCO, HUGO C          ADDRESS ON FILE
ANGELES POLANCO, JOSE            ADDRESS ON FILE
ANGELES QUIJANO RAMOS            ADDRESS ON FILE
ANGELES QUINONES PERREIRA        ADDRESS ON FILE
ANGELES REYES CINTRON            ADDRESS ON FILE
ANGELES RODRÖGUEZ ACOSTA         ADDRESS ON FILE
ANGELES ROMPIENDO BARRERAS INC   P M B 204, PO BOX 4960                                                           CAGUAS       PR      00726
ANGELES SANTANA BERRIOS          ADDRESS ON FILE
ANGELES SANTOS, JOSE             ADDRESS ON FILE
ANGELES TALAVERA, JOSE           ADDRESS ON FILE
ANGELES TORRES SANCHEZ           ADDRESS ON FILE
ANGELET LOPEZ, ANA L             ADDRESS ON FILE
ANGELI GARCIA ADORNO             ADDRESS ON FILE
ANGELI NIEVES, LOURDES           ADDRESS ON FILE
ANGELI POMALES, ROBERTO J.       ADDRESS ON FILE
ANGELI POMALES, ROBERTO J.       ADDRESS ON FILE
ANGELI SOSA, MIGUEL              ADDRESS ON FILE
ANGELI VELAZQUEZ MD, ROBEXI      ADDRESS ON FILE
ANGELICA ALVIRA VAZQUEZ          ADDRESS ON FILE
ANGELICA ALVIRA VELAZQUEZ        ADDRESS ON FILE
ANGELICA B CORREA MATTEI         ADDRESS ON FILE
ANGELICA CARABALLO CARABALLO     ADDRESS ON FILE
ANGELICA CARDEZ RIVERA           ADDRESS ON FILE
ANGELICA CARDEZ RIVERA           ADDRESS ON FILE
ANGELICA CARRION VAZQUEZ         ADDRESS ON FILE
ANGELICA CINTRON CRUZ            ADDRESS ON FILE
ANGELICA COLON PIZARRO           ADDRESS ON FILE
ANGELICA COLON RIVERA            ADDRESS ON FILE
ANGELICA COLON SUAREZ            ADDRESS ON FILE
ANGELICA COLON SUAREZ            ADDRESS ON FILE
ANGELICA CORDERO ACEVEDO         ADDRESS ON FILE
ANGELICA CORTES CORDERO          ADDRESS ON FILE
ANGELICA COTTO BAEZ              ADDRESS ON FILE
ANGELICA CUEVAS                  ADDRESS ON FILE
ANGELICA CUEVAS VEGA             ADDRESS ON FILE
ANGELICA DAVILA MACHUCA          ADDRESS ON FILE
ANGELICA DECOS LOPEZ             ADDRESS ON FILE
ANGELICA DECOS LOPEZ             ADDRESS ON FILE
ANGELICA E DEL VALLE PEREZ       ADDRESS ON FILE
ANGELICA E GRAJALES CASTRO       ADDRESS ON FILE
ANGELICA FERRER GONZALEZ         ADDRESS ON FILE




                                                                             Page 455 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 456 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGELICA FONSECA BONILLA             ADDRESS ON FILE
ANGELICA GONZALEZ PACHECO            ADDRESS ON FILE
ANGELICA GONZALEZ PEREZ              ADDRESS ON FILE
ANGELICA GONZALEZ Y NILDA GONZALEZ   ADDRESS ON FILE
ANGELICA HERNANDEZ SOTO              ADDRESS ON FILE
ANGELICA I RODRIGUEZ RODRIGUEZ       ADDRESS ON FILE
ANGELICA L TORRES HERNANDEZ          ADDRESS ON FILE
ANGELICA LEBRON NUNEZ                ADDRESS ON FILE
ANGELICA LEON ARROYO                 ADDRESS ON FILE
ANGELICA LOPEZ / LEILA COTTO         ADDRESS ON FILE
ANGELICA LOPEZ PALACIOS              ADDRESS ON FILE
ANGELICA M CAMACHO GONZALEZ          ADDRESS ON FILE
ANGELICA M CARTAGENA BRACERO         ADDRESS ON FILE
ANGELICA M CINTRON ORTIZ             ADDRESS ON FILE
ANGELICA M CISNEROS MOLINA           ADDRESS ON FILE
ANGELICA M CRUZ MORALES              ADDRESS ON FILE
ANGELICA M DAVILA LOPEZ              ADDRESS ON FILE
ANGELICA M DIAZ TORRES               ADDRESS ON FILE
ANGELICA M DURAND COLON              ADDRESS ON FILE
ANGELICA M GARCIA HERNANDEZ          ADDRESS ON FILE
ANGELICA M GARCIA PIZARRO            ADDRESS ON FILE
ANGELICA M GUZMAN PEREZ              ADDRESS ON FILE
ANGELICA M JUSINO CRUZ               ADDRESS ON FILE
ANGELICA M LAUREANO LEON             ADDRESS ON FILE
ANGELICA M MELENDEZ RODRIGUEZ        ADDRESS ON FILE
ANGELICA M MERCADO HERNANDEZ         ADDRESS ON FILE
ANGELICA M MONTEMOINO VIAS           ADDRESS ON FILE
ANGELICA M NARVAEZ CORDERO           ADDRESS ON FILE
ANGELICA M PELLOT ARCE               ADDRESS ON FILE
ANGELICA M PEREZ GONZALEZ            ADDRESS ON FILE
ANGELICA M QUINONES ACEVEDO          ADDRESS ON FILE
ANGELICA M QUINONEZ NELSON           ADDRESS ON FILE
ANGELICA M RIVERA COTTO              ADDRESS ON FILE
ANGELICA M ROCHE TORRES              ADDRESS ON FILE
ANGELICA M RODRIGUEZ NIEVES          ADDRESS ON FILE
ANGELICA M ROJAS PANTOJA             ADDRESS ON FILE
ANGELICA M ROSARIO ENCHAUTEGUI       ADDRESS ON FILE
ANGELICA M SANTIAGO LEBRON           ADDRESS ON FILE
ANGELICA M SANTIAGO ROMERO           ADDRESS ON FILE
ANGELICA M VELEZ VEGA                ADDRESS ON FILE
ANGELICA M. CASTILLO FRATICELLI      ADDRESS ON FILE
ANGELICA M. DOMINGUEZ ROHENA         ADDRESS ON FILE
ANGELICA M. MELENDEZ RODRIGUEZ       ADDRESS ON FILE
ANGELICA M. MERCADO HERNANDEZ        ADDRESS ON FILE
ANGELICA M. PINOTT ROSA              ADDRESS ON FILE
ANGELICA M. SANTIAGO CHEVEUZ         ADDRESS ON FILE
ANGELICA M. VELEZ LUCCA              ADDRESS ON FILE
ANGELICA MALDONADO DE LEON           ADDRESS ON FILE
ANGELICA MARQUEZ URBINA              ADDRESS ON FILE
ANGELICA MARTINEZ AULET              ADDRESS ON FILE
ANGELICA MARTINEZ FELICIANO          ADDRESS ON FILE
ANGELICA MELENDEZ SANTIAGO           ADDRESS ON FILE
ANGELICA MELENDEZ TORRES             ADDRESS ON FILE
ANGELICA MENDEZ CRUZ                 ADDRESS ON FILE
ANGELICA MENDEZ RIOS                 ADDRESS ON FILE
ANGELICA MERCADO ILARRAZA            ADDRESS ON FILE
ANGELICA MOLINA CANALES              ADDRESS ON FILE
ANGELICA MOLINA IBINAS               ADDRESS ON FILE
ANGELICA MORA FIGUEROA               ADDRESS ON FILE
ANGELICA MORALES RODRIGUEZ           ADDRESS ON FILE




                                                                                 Page 456 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 457 of 3500
                                                                                    Creditor Matrix

Creditor Name                      Address1                       Address2                       Address3   Address4   City         State   PostalCode   Country
ANGELICA MORALES RODRIGUEZ         ADDRESS ON FILE
ANGELICA OLIVERA / EVELYN VELEZ    ADDRESS ON FILE
ANGELICA ORTIZ                     ADDRESS ON FILE
ANGELICA ORTIZ ALGARIN             ADDRESS ON FILE
ANGELICA PADILLA NUNEZ             ADDRESS ON FILE
ANGELICA PADILLA ZELDON            ADDRESS ON FILE
ANGELICA PAGAN PEREZ               ADDRESS ON FILE
ANGELICA PLANELL IRIZARRY          ADDRESS ON FILE
ANGELICA RAMOS RAMOS               ADDRESS ON FILE
ANGELICA RAMOS RODRIGUEZ           ADDRESS ON FILE
ANGELICA RIVERA MIRANDA            ADDRESS ON FILE
ANGELICA RIVERA ZAMBRANA           ADDRESS ON FILE
ANGELICA ROBLES RODRIGUEZ          ADDRESS ON FILE
ANGELICA RODRIGUEZ PEREZ           ADDRESS ON FILE
ANGELICA RODRIGUEZ TORRES          ADDRESS ON FILE
ANGELICA ROMAN RODRIGUEZ           ADDRESS ON FILE
ANGÉLICA ROSARIO ENCHAUTEGUI       ANGÉLICA ROSARIO ENCHAUTEGUI   HC 64 BOX 8103                                       PATILLAS     PR      00723
ANGELICA RUIZ SANTANA              ADDRESS ON FILE
ANGELICA SALAS MARQUEZ             ADDRESS ON FILE
ANGELICA SANES PAGAN               ADDRESS ON FILE
ANGELICA SANTIAGO CHEVERE          ADDRESS ON FILE
ANGELICA SANTOS TRINIDAD           ADDRESS ON FILE
ANGELICA SOLER MONTANEZ            ADDRESS ON FILE
ANGELICA TEJADA DE LA CRUZ         ADDRESS ON FILE
ANGELICA TORRES ORTIZ              ADDRESS ON FILE
ANGELICA VAZQUEZ SANTOS            ADDRESS ON FILE
ANGELICA VERA ROSARIO              ADDRESS ON FILE
ANGELICA VILLODAS MIRANDA          ADDRESS ON FILE
ANGELICO LUCIANO HERNANDEZ         ADDRESS ON FILE
ANGELICO LUCIANO HERNANDEZ         ADDRESS ON FILE
ANGELICO LUCIANO HERNANDEZ         ADDRESS ON FILE
ANGELICO LUCIANO HERNANDEZ         ADDRESS ON FILE
ANGELICO MOYA PAGAN                ADDRESS ON FILE
ANGELIE ALVAREZ ALVAREZ            ADDRESS ON FILE
ANGELIE CRUZ ASENCIO               ADDRESS ON FILE
ANGELIE E FIGUEROA SINIGAGLIA      ADDRESS ON FILE
ANGELIE M MARTIN HURTADO           ADDRESS ON FILE
ANGELIE M QUINONES PAGAN           ADDRESS ON FILE
ANGELIE QUILES MARTINEZ            ADDRESS ON FILE
ANGELILAH ROSA                     ADDRESS ON FILE
ANGELIMAR M TORRES ASTACIO         ADDRESS ON FILE
ANGELIMAR PAYERO COLLAZO           ADDRESS ON FILE
ANGELINA CALDERON FUENTES          ADDRESS ON FILE
ANGELINA COTTO DIAZ *              ADDRESS ON FILE
ANGELINA CRUZ ALAMEDA              ADDRESS ON FILE
ANGELINA DE JESUS GOMEZ            ADDRESS ON FILE
ANGELINA DUENO FELICIANO           ADDRESS ON FILE
ANGELINA FIGUEROA ACEVEDO          ADDRESS ON FILE
ANGELINA FUENTES QUINONES          ADDRESS ON FILE
ANGELINA GIL GIL                   ADDRESS ON FILE
ANGELINA GOMEZ RODRIGUEZ           ADDRESS ON FILE
ANGELINA HUGGINS                   ADDRESS ON FILE
ANGELINA JIMENEZ CEDRES            ADDRESS ON FILE
ANGELINA LOZADA LOZADA             ADDRESS ON FILE
ANGELINA MARCANO/JONATHAN RIVERA   ADDRESS ON FILE
ANGELINA MELENDEZ SANTOS           ADDRESS ON FILE
ANGELINA MOJICA DIAZ               ADDRESS ON FILE
ANGELINA MOLINA ROSADO             ADDRESS ON FILE
ANGELINA MORALES PEREZ             ADDRESS ON FILE
ANGELINA NUNEZ SUAREZ              ADDRESS ON FILE




                                                                                   Page 457 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 458 of 3500
                                                                                                         Creditor Matrix

Creditor Name                           Address1                            Address2                                  Address3   Address4   City      State   PostalCode   Country
ANGELINA ORTIZ VILLANUEVA               ADDRESS ON FILE
ANGELINA PAGAN ANDINO                   ADDRESS ON FILE
ANGELINA PEREIRA COLAVITA               ADDRESS ON FILE
ANGELINA PEREIRA COLAVITA               ADDRESS ON FILE
ANGELINA QUINONEZ NUNEZ                 ADDRESS ON FILE
ANGELINA RAMIREZ TORRES                 ADDRESS ON FILE
ANGELINA RAMOS CARRILLO                 ADDRESS ON FILE
ANGELINA RAMOS CARRILLO                 ADDRESS ON FILE
ANGELINA RIVERA                         ADDRESS ON FILE
ANGELINA RODRIGUEZ COLON                ADDRESS ON FILE
ANGELINA ROSARIO LOPEZ                  ADDRESS ON FILE
ANGELINA ROSARIO SOTRE                  ADDRESS ON FILE
ANGELINA SANTANA Y JESUS RAVELO         LCDA. AMELIA M. CINTRON VELAZQUEZ   URB. SAN ANTONIO 1939 AVE. LAS AMÉRICAS                         Ponce     PR      00728‐1815
ANGELINA SANTIAGO SOTO                  ADDRESS ON FILE
ANGELINA SUAREZ MARTINEZ                ADDRESS ON FILE
ANGELINA VALENTIN VALENTIN              ADDRESS ON FILE
ANGELINE GARCIA PARRILLA                ADDRESS ON FILE
ANGELINE HERNANDEZ RODRIGUEZ            ADDRESS ON FILE
ANGELINE MARIE COLLAZO NATER            ADDRESS ON FILE
ANGELINE REYES PARRILLA                 ADDRESS ON FILE
ANGELINO LOPEZ ARROYO Y EDIA GONZALEZ   ADDRESS ON FILE
ANGELINO OTONO HERNANDEZ                ADDRESS ON FILE
ANGELIQUE MARRERO HERNANDEZ             ADDRESS ON FILE
ANGELIQUE RADINSON OTERO                ADDRESS ON FILE
ANGELIS ALBIZU SEPULVEDA                ADDRESS ON FILE
ANGELIS M. RIOS APONTE                  ADDRESS ON FILE
ANGELIS MELENDEZ HERNANDEZ              ADDRESS ON FILE
ANGELISSE N GONZALEZ GONZALEZ           ADDRESS ON FILE
ANGELISSE ORTIZ CRUZ                    ADDRESS ON FILE
ANGELITA ALLENDE PENALOA                ADDRESS ON FILE
ANGELITA CARLO COLON                    ADDRESS ON FILE
ANGELITA CORDOVA ESCALERA               ADDRESS ON FILE
ANGELITA CRUZ CRUZ                      ADDRESS ON FILE
ANGELITA ESCOBAR ORTIZ                  ADDRESS ON FILE
ANGELITA GOMEZ CARRION                  ADDRESS ON FILE
ANGELITA GOYTIA SALGADO                 ADDRESS ON FILE
ANGELITA GUILLEN                        ADDRESS ON FILE
ANGELITA HERNANDEZ COLON                ADDRESS ON FILE
ANGELITA MARTINEZ GARCIA                ADDRESS ON FILE
ANGELITA MARTINEZ NEGRON                ADDRESS ON FILE
ANGELITA MORALES LOPEZ                  ADDRESS ON FILE
ANGELITA MUNOZ RODRIGUEZ                ADDRESS ON FILE
ANGELITA NEGRON ORTIZ                   ADDRESS ON FILE
ANGELITA PENA QUINONES                  ADDRESS ON FILE
ANGELITA RIECKEHOFF GONZALEZ            ADDRESS ON FILE
ANGELITA RIVERA FANTAUZZI               ADDRESS ON FILE
ANGELITA RIVERA MELENDEZ                ADDRESS ON FILE
ANGELITA RIVERA TORRES                  ADDRESS ON FILE
ANGELITA RIVERA TROCHE                  ADDRESS ON FILE
ANGELITA SANABRIA                       ADDRESS ON FILE
ANGELITO RIVERA PAGAN                   ADDRESS ON FILE
ANGELITO RIVERA SANTIAGO                ADDRESS ON FILE
ANGELIZZA M SAAVEDRA ROMAN              ADDRESS ON FILE
ANGELLY RODRIGUEZ BARBER                ADDRESS ON FILE
ANGELLY RODRIGUEZ CRUZ                  ADDRESS ON FILE
ANGELO AGOSTO NIEVES                    ADDRESS ON FILE
ANGELO ARROYO DIAZ                      ADDRESS ON FILE
ANGELO COPPOLA MUNUZ                    ADDRESS ON FILE
ANGELO E GARCIA LEON                    ADDRESS ON FILE
ANGELO G BERRIOS III                    ADDRESS ON FILE




                                                                                                        Page 458 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 459 of 3500
                                                                                                             Creditor Matrix

Creditor Name                           Address1                             Address2                                     Address3    Address4   City            State   PostalCode   Country
ANGELO G. DI ZIOABREU                   ADDRESS ON FILE
ANGELO GONZALEZ GALLOZA                 ADDRESS ON FILE
ANGELO HERNANDEZ SOTO                   ADDRESS ON FILE
ANGELO J DEL VALLE OROZCO               ADDRESS ON FILE
ANGELO J MORALES RAMOS                  ADDRESS ON FILE
ANGELO JUSTINIANO PADILLA               ADDRESS ON FILE
ANGELO L ROSARIO CLEMENTE               ADDRESS ON FILE
ANGELO M HERNANDEZ CARABALLO            ADDRESS ON FILE
ANGELO M SANABRIA SANABRIA              ADDRESS ON FILE
ANGELO MERCADO NORIEGA                  ADDRESS ON FILE
ANGELO SANFILIPPO/DYNAMIC SOLAR SOLUTIONURB UNIVERSITY GARDENS               266 CALLE INTERAMERICANA                                            SAN JUAN        PR      00927
ANGELO TORRES ANGLADA                   ADDRESS ON FILE
ANGELO TORRES ANGLADA                   ADDRESS ON FILE
ANGELS CLEANING AND MAINTENANCE         SANTA ROSA                           BOX 6634                                                            BAYAMON         PR      00960
ANGEL'S CLEANING AND MANTENANCE SERVICESPO BOX 6634                                                                                              BAYAMON         PR      00960
ANGELS FOR BABIES DAY CARE              AVE SAN CLAUDIO 474 CUPEY                                                                                SAN JUAN        PR      00926
ANGELS LITTLE LAND LEARNING             VILLA UNIVERSITARIO BB 11 CALLE 28                                                                       HUMACAO         PR      00791
ANGELS OF CITY FOR CHILDRENS INC        ROYAL TOWN                           A BLOQ 7 CALLE 50                                                   BAYAMON         PR      00956
ANGELS PROMOTIONAL & MORE               COND RIVERSIDE PLAZA                 74 CALLE SANTA CRUZ APT PH H                                        BAYAMON         PR      00961
ANGEL'S SERVICES INC                    PO BOX 6634                                                                                              BAYAMON         PR      00960
ANGELS SPORTS                           PO BOX 1636                                                                                              CAROLINA        PR      00984
ANGEL'S STEPS CENTRO DE TERAPIA         163 PASEO BARCELONA                  SAVANNAH REAL                                                       SAN LORENZO     PR      00754
ANGEL'S STEPS CENTRO DE TERAPIA IN C    URB SAVANNAH REAL                    163 PASEO BARCELONA                                                 SAN LORENZO     PR      00754‐3057
ANGEL'S THERAPY AND REHABILITATION CTR  RR 7 BOX 16582                                                                                           TOA ALTA        PR      00953
ANGELUCCI MORALES, IVELISSE             ADDRESS ON FILE
ANGELUCCI MORALES, JORGE                ADDRESS ON FILE
Angelucci Rios, Johanne I.              ADDRESS ON FILE
Angelucci Valentin, George O.           ADDRESS ON FILE
ANGELY CARTAGENA VAZQUEZ                ADDRESS ON FILE
ANGELY DIAZ VEGA                        ADDRESS ON FILE
ANGELY DIAZ VEGA                        ADDRESS ON FILE
ANGELY M BARBOSA TORRES                 ADDRESS ON FILE
ANGELY M CARTAGENA RIVERA               ADDRESS ON FILE
ANGELY M LUNA GARCIA                    ADDRESS ON FILE
ANGELY M OCASIO MIRANDA                 ADDRESS ON FILE
ANGELY M RIVERA GINES                   ADDRESS ON FILE
ANGELY M VAZQUEZ FIGUEROA               ADDRESS ON FILE
ANGELY M. APONTE PAGAN Y/O 38           LCDO. FRANCISCO J. GONZALEZ MAGAZ    1519 Ponce DE LEÓN                           SUITE 805              SAN JUAN        PR      00909
ANGELY MARTINEZ, VIONETTE               ADDRESS ON FILE
ANGELY N GONZALEZ SANCHEZ               ADDRESS ON FILE
ANGELY NEGRON                           ADDRESS ON FILE
ANGELY, NEGRON                          ADDRESS ON FILE
ANGELYMARIE HERNANDEZ ELIAS             ADDRESS ON FILE
ANGELYN REBOLLO PEREZ                   ADDRESS ON FILE
ANGELYS ORTIZ FIGUEROA                  ADDRESS ON FILE
ANGGIE M CASIANO AYALA                  ADDRESS ON FILE
Angie Arroyo Alvarado                   ADDRESS ON FILE
ANGIE DIAZ NATAL                        ADDRESS ON FILE
ANGIE DOMENECH LUGO                     ADDRESS ON FILE
ANGIE GONZALEZ                          ADDRESS ON FILE
ANGIE HERNANDEZ FONSECA                 ADDRESS ON FILE
ANGIE J GONZALEZ RIVERA                 ADDRESS ON FILE
ANGIE J VAZQUEZ SOLIS                   ADDRESS ON FILE
ANGIE JIMENEZ RIVERA                    ADDRESS ON FILE
ANGIE LASTRA GONZALEZ                   ADDRESS ON FILE
ANGIE LASTRA GONZALEZ                   ADDRESS ON FILE
ANGIE M GONZALEZ GONZALEZ               ADDRESS ON FILE
ANGIE M PINEIRO CARRASQUILLO            ADDRESS ON FILE
ANGIE M RAMOS RIVERA                    ADDRESS ON FILE
ANGIE OTERO IZQUIERDO                   ADDRESS ON FILE




                                                                                                            Page 459 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 460 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGIE P CABAN TORO                   ADDRESS ON FILE
ANGIE PEREZ ORTIZ                    ADDRESS ON FILE
ANGIE RAMOS FELICIANO                ADDRESS ON FILE
ANGIE RODRIGUEZ LUGO                 ADDRESS ON FILE
ANGIE ROMERO AROCHO                  ADDRESS ON FILE
ANGIE VELAZQUEZ QUINONES             ADDRESS ON FILE
ANGIEMARI ARROYO RIVERA              ADDRESS ON FILE
ANGILEE MALDONADO GONZALEZ           ADDRESS ON FILE
ANGILEKE ALVAREZ                     ADDRESS ON FILE
ANGIM E SEMIDEY PEREZ                ADDRESS ON FILE
ANGLADA ALERS, ALFONSO               ADDRESS ON FILE
ANGLADA CAMACHO, PEDRO               ADDRESS ON FILE
ANGLADA CAMACHO, PEDRO M.            ADDRESS ON FILE
ANGLADA CASTILLOVEITI, MARIA DEL C   ADDRESS ON FILE
ANGLADA CINTRON, RICHARD             ADDRESS ON FILE
Anglada Del Ferrie, Ernesto          ADDRESS ON FILE
ANGLADA FIGUEROA, JOEL               ADDRESS ON FILE
ANGLADA FUENTES, MARIA A             ADDRESS ON FILE
ANGLADA GONZALEZ, NELIDA             ADDRESS ON FILE
ANGLADA LASA, BLANCA                 ADDRESS ON FILE
ANGLADA LASA, JORGE                  ADDRESS ON FILE
ANGLADA LOPEZ, ADA                   ADDRESS ON FILE
ANGLADA MARQUEZ, ALMA                ADDRESS ON FILE
ANGLADA MORINGLANE, DESIREE          ADDRESS ON FILE
ANGLADA RIPOLL, MARIA I              ADDRESS ON FILE
Anglada Rivera, Brenda M.            ADDRESS ON FILE
ANGLADA RODRIGUEZ, CARLOS            ADDRESS ON FILE
ANGLADA SANTIAGO, LIAN               ADDRESS ON FILE
ANGLADA SEGARRA, ANTONIO             ADDRESS ON FILE
ANGLADA SEGARRA, MARIA DEL C         ADDRESS ON FILE
ANGLADA SERRANO, ERIC                ADDRESS ON FILE
ANGLADA SOTO, NILSA E.               ADDRESS ON FILE
Anglada Suarez, Angel J              ADDRESS ON FILE
ANGLADA VEGA, JORGE                  ADDRESS ON FILE
ANGLADE MELENDEZ, JAN I              ADDRESS ON FILE
ANGLADE POMALES, LUISA               ADDRESS ON FILE
ANGLERO ANDINO, REYNALDO             ADDRESS ON FILE
ANGLERO AUDINOT, DAISY               ADDRESS ON FILE
ANGLERO AYALA, CARMEN M              ADDRESS ON FILE
ANGLERO BULLET, EPIFANIA             ADDRESS ON FILE
ANGLERO CAMACHO, MIGUEL              ADDRESS ON FILE
ANGLERO DEL TORO, AUREA              ADDRESS ON FILE
ANGLERO DEL TORO, DAMARIS            ADDRESS ON FILE
Anglero Ferrer, Americo J            ADDRESS ON FILE
ANGLERO FERRER, BEATRIZ              ADDRESS ON FILE
ANGLERO FIGUEROA, JESUS              ADDRESS ON FILE
ANGLERO FIGUEROA, JESUS              ADDRESS ON FILE
ANGLERO FREYTES, LUIS                ADDRESS ON FILE
ANGLERO FREYTES,GRIZEL               ADDRESS ON FILE
ANGLERO GONZALEZ, BENJAMIN           ADDRESS ON FILE
ANGLERO GONZALEZ, GABRIEL            ADDRESS ON FILE
ANGLERO GONZALEZ, KARLA M.           ADDRESS ON FILE
ANGLERO GONZALEZ, MICHELLE           ADDRESS ON FILE
ANGLERO GUZMAN, ENID L.              ADDRESS ON FILE
ANGLERO GUZMAN, GILBERT              ADDRESS ON FILE
ANGLERO GUZMAN, GILBERT              ADDRESS ON FILE
ANGLERO MADERA, SANTIAGO             ADDRESS ON FILE
ANGLERO MADERA, SONIA                ADDRESS ON FILE
Anglero Medina, Humberto             ADDRESS ON FILE
ANGLERO MOJICA, JOSE                 ADDRESS ON FILE




                                                                                 Page 460 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 461 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANGLERO MOJICA, SHEILA              ADDRESS ON FILE
ANGLERO PACHECO, MANUEL             ADDRESS ON FILE
ANGLERO PACHECO, MANUEL J.          ADDRESS ON FILE
ANGLERO PACHECO, MANUEL J.          ADDRESS ON FILE
ANGLERO QUESTELL, ELIZABETH         ADDRESS ON FILE
ANGLERO QUESTELL, LIZBETH           ADDRESS ON FILE
Anglero Questell, Peter             ADDRESS ON FILE
ANGLERO RIVERA, AIDA L              ADDRESS ON FILE
ANGLERO RIVERA, ARMANDO             ADDRESS ON FILE
ANGLERO RODRIGUEZ, JOSE R.          ADDRESS ON FILE
ANGLERO RODRIGUEZ, MARIA MERCEDES   ADDRESS ON FILE
ANGLERO ROSARIO, JUDITH             ADDRESS ON FILE
ANGLERO ROSAS, CYNTHIA              ADDRESS ON FILE
Anglero Soto, Daisy M               ADDRESS ON FILE
ANGLERO TIRADO, JOSE                ADDRESS ON FILE
ANGLERO TORRES, AMERICO             ADDRESS ON FILE
ANGLERO, JORGE LUIS                 ADDRESS ON FILE
ANGLERO, NAYANIS                    ADDRESS ON FILE
ANGLESHELF DE PUERTO RICO           PO BOX 2362442                                                                   SAN JUAN     PR      00936‐2442
ANGLESHELF DE PUERTO RICO           PO BOX 362442                                                                    SAN JUAN     PR      00936
ANGLESHELF OF PR INC                P O BOX 362442                                                                   SAN JUAN     PR      00936
ANGLIMAR NEGRON SANTIAGO            ADDRESS ON FILE
ANGNERYS VEGA NAZARIO               ADDRESS ON FILE
ANGNS MD, GLEN                      ADDRESS ON FILE
ANGOMAS, ANGEL                      ADDRESS ON FILE
ANGORA CONVENTION                   PMB 182 BOX 4985                                                                 CAGUAS       PR      00726‐4985
ANGORA CONVENTION CENTER CORP       P O BOX 4985 PMB 182                                                             CAGUAS       PR      00726‐4985
ANGORA SERVICE CORPORATION          HC 06 BOX 72502                                                                  CAGUAS       PR      00725‐0000
ANGORA SERVICE CORPORATION          PMB 265 BOX 4985                                                                 CAGUAS       PR      00726
ANGORA SERVICES CORP                HC 06 BOX 72502                                                                  CAGUAS       PR      00725
ANGRETTE MERCED CRUZ                ADDRESS ON FILE
ANGUEIRA ABREU, ALEXIS              ADDRESS ON FILE
Angueira Acevedo, Jose A            ADDRESS ON FILE
ANGUEIRA ACEVEDO, JUSTO             ADDRESS ON FILE
ANGUEIRA ALAMEDA, LUIS A            ADDRESS ON FILE
ANGUEIRA CALERO, ROBERTO            ADDRESS ON FILE
ANGUEIRA CRUZ, RAMONITA             ADDRESS ON FILE
ANGUEIRA DEL VALLE, KRISHNA A.      ADDRESS ON FILE
ANGUEIRA FELICIANO, JAZAREHT        ADDRESS ON FILE
ANGUEIRA GRANT, JUAN G              ADDRESS ON FILE
ANGUEIRA IGUINA, HAYDEE             ADDRESS ON FILE
ANGUEIRA MARTINEZ, ELIOT            ADDRESS ON FILE
ANGUEIRA MARTIZ, JOSE L.            ADDRESS ON FILE
ANGUEIRA MELENDEZ, JOSE M           ADDRESS ON FILE
ANGUEIRA MUNIZ, VANESSA             ADDRESS ON FILE
ANGUEIRA RIVERA, HIRAM              ADDRESS ON FILE
ANGUEIRA SEGURA, RAUL               ADDRESS ON FILE
Anguero Echevarria, Edwin H         ADDRESS ON FILE
ANGUITA ALVARADO MD, MANUEL A       ADDRESS ON FILE
ANGUITA OLIVERAS, ANA Y.            ADDRESS ON FILE
ANGUITA OTERO, CARMEN M             ADDRESS ON FILE
ANGUITA OTERO, GLORIA J             ADDRESS ON FILE
ANGUITA OTERO, MARISOL              ADDRESS ON FILE
ANGUITA OTERO, MARITZA I            ADDRESS ON FILE
ANGUITA RODRIGUEZ, AMERICA          ADDRESS ON FILE
ANGUITA SERRANO, RUPERT             ADDRESS ON FILE
ANGUITA SILVA, ZARAHI               ADDRESS ON FILE
ANGUITA VELEZ, CARMEN T             ADDRESS ON FILE
ANGUITA VELEZ, EDITH                ADDRESS ON FILE
ANGUITA VICENS, LAURA               ADDRESS ON FILE




                                                                                Page 461 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 462 of 3500
                                                                                            Creditor Matrix

Creditor Name                            Address1                       Address2                         Address3   Address4   City          State   PostalCode   Country
ANGUITA, YADIRA                          ADDRESS ON FILE
ANGULAR STONE INC                        PO BOX 2202                                                                           GUAYNABO      PR      00970
ANGULO ALAMO, ROSA I                     ADDRESS ON FILE
ANGULO ANGULO, JULIAN                    ADDRESS ON FILE
ANGULO BALLESTEROS, JUAN DE DIOS         ADDRESS ON FILE
ANGULO CAPELLA, MIRIAM                   ADDRESS ON FILE
ANGULO CARMONA, ILEANA                   ADDRESS ON FILE
ANGULO COTTO, ANGELA                     ADDRESS ON FILE
ANGULO CRUZ, FRANCISCO                   ADDRESS ON FILE
ANGULO CRUZ, MARIE E.                    ADDRESS ON FILE
ANGULO DELGADO, EDUARDO                  ADDRESS ON FILE
ANGULO DIAZ, OMAR                        ADDRESS ON FILE
Angulo Diaz, Omar E                      ADDRESS ON FILE
ANGULO ENCARNACION, SONIA                ADDRESS ON FILE
ANGULO GOITIA, DANA E.                   ADDRESS ON FILE
ANGULO GONZALEZ, BARBARA T               ADDRESS ON FILE
ANGULO GUZMAN, LUIS                      ADDRESS ON FILE
ANGULO JOHNSON MD, ALBERTO               ADDRESS ON FILE
ANGULO LABRADOR, ILIA                    ADDRESS ON FILE
ANGULO MARQUEZ, MANNIX MILAGROS          ADDRESS ON FILE
ANGULO MATOS, DIOSELINE                  ADDRESS ON FILE
ANGULO MD, VIVIAN                        ADDRESS ON FILE
ANGULO MUNOZ, MARISELA                   ADDRESS ON FILE
ANGULO PENA, SANDRA I.                   ADDRESS ON FILE
ANGULO RIVERA, MARILU                    ADDRESS ON FILE
ANGULO RODRIGUEZ, FELIX                  ADDRESS ON FILE
ANGULO RODRIGUEZ, IVONNE                 ADDRESS ON FILE
ANGULO ROHENA, LIGIA                     ADDRESS ON FILE
ANGULO ROSA, GREGORIO                    ADDRESS ON FILE
ANGULO ROSA, JESSICA                     ADDRESS ON FILE
ANGULO SANCHEZ, ERIKA                    ADDRESS ON FILE
ANGULO SUAREZ, CRUCITA                   ADDRESS ON FILE
ANGULO SUAREZ, IRMA                      ADDRESS ON FILE
ANGULO VILLEGAS, LUZ                     ADDRESS ON FILE
ANGULO VILLEGAS, LUZ N                   ADDRESS ON FILE
ANGULO VILLEGAS, SYLVIA                  ADDRESS ON FILE
ANGUS RANCH CO INC                       AGUAS BUENAS 38                                                                       CAGUAS        PR      00725
ANHEUSER BUSH INC                        250 MUNOZ RIVERA AVE SUITE 1                                                          SAN JUAN      PR      00918
ANI M. PEREZ SANTOS                      ADDRESS ON FILE
ANIA AROCHO MARTINEZ                     ADDRESS ON FILE
ANIANA D LANDETA NUNEZ                   ADDRESS ON FILE
ANIANO MEDINA CRUZ                       ADDRESS ON FILE
ANIBAL A CARTAGENA AMADEO                ADDRESS ON FILE
ANIBAL A HERNANDEZ VEGA                  ADDRESS ON FILE
ANIBAL A ORTIZ BURGOS                    ADDRESS ON FILE
ANIBAL A RIVERA NARVAEZ                  ADDRESS ON FILE
ANIBAL A RODRIGUEZ                       ADDRESS ON FILE
ANIBAL A SOTO YUNQUE                     ADDRESS ON FILE
ANIBAL A. SOTO YUNQUE                    ADDRESS ON FILE
ANIBAL ACOSTA RICHARD                    ADDRESS ON FILE
ANIBAL ADAMES MERCADO                    ADDRESS ON FILE
ANIBAL ALAMO ROMAN /HOGAR ALAMO          ADDRESS ON FILE
ANIBAL ALAMO ROMAN/ HOGAR ALAMO          ADDRESS ON FILE
ANIBAL ALBINO CRUZ                       ADDRESS ON FILE
ANIBAL ALVAREZ NIEVES                    ADDRESS ON FILE
ANIBAL AQUINO                            ADDRESS ON FILE
ANIBAL ARCELAY JIMENEZ                   ADDRESS ON FILE
ANIBAL ARROYO BOLERIN                    ADDRESS ON FILE
ANIBAL B TORRES PEREZ                    ADDRESS ON FILE
ANIBAL BARRETO RODRIGUEZ TRANSPORT INC   SECT BRISAS DEL ROSARIO        5772 CALLE ORTIZ                                       VEGA BAJA     PR      00693‐9832




                                                                                           Page 462 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 463 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANIBAL BERRIOS MORALES                    ADDRESS ON FILE
ANIBAL BONILLA CORTES                     ADDRESS ON FILE
ANIBAL BONILLA MOLINA                     ADDRESS ON FILE
ANIBAL BONILLA MOLINA DBA ANAS CATERING   HC 3 BOX 33608                                                                   HATILLO      PR      00659
ANIBAL BULTED FIGUEROA                    ADDRESS ON FILE
ANIBAL CARABALLO ECHEVARRIA               ADDRESS ON FILE
ANIBAL COLLAZO OQUENDO                    ADDRESS ON FILE
ANIBAL COLON SOSA                         ADDRESS ON FILE
ANIBAL COLON VELEZ                        ADDRESS ON FILE
ANIBAL CRUZ ARRIAGA                       ADDRESS ON FILE
ANIBAL CRUZ SANCHEZ                       ADDRESS ON FILE
ANIBAL D RIVERA TORRES                    ADDRESS ON FILE
ANIBAL DEL TORO ANDUJAR                   ADDRESS ON FILE
ANIBAL DENIZARD SANCHEZ                   ADDRESS ON FILE
ANIBAL DIAZ BENITEZ                       ADDRESS ON FILE
ANIBAL DIAZ CONSTRUCTION , INC.           RR 2 BOX 1766                                                                    SAN JUAN     PR      00000‐0000
ANIBAL DIAZ OFRAY                         ADDRESS ON FILE
ANIBAL DIAZ SOSA                          ADDRESS ON FILE
ANIBAL DOMINGUEZ                          ADDRESS ON FILE
ANIBAL E ALBINO TOPRRES                   ADDRESS ON FILE
ANIBAL E HERNANDEZ CRUZ                   ADDRESS ON FILE
ANIBAL E SANTIAGO VIZCARRONDO             ADDRESS ON FILE
ANIBAL ENCHAUTEGUI MORALES                ADDRESS ON FILE
ANIBAL ESMURRIA DE JESUS                  ADDRESS ON FILE
ANIBAL ESMURRIA SANTIAGO                  ADDRESS ON FILE
ANIBAL FELICIANO ROJAS                    ADDRESS ON FILE
ANIBAL FELICIANO SOTO                     ADDRESS ON FILE
ANIBAL G LUGO TOPP                        ADDRESS ON FILE
ANIBAL GARCIA CANCEL                      ADDRESS ON FILE
ANIBAL GAUD VAZQUEZ                       ADDRESS ON FILE
ANIBAL GAUD VELEZ                         ADDRESS ON FILE
ANIBAL GIERBOLINI RIVERA                  ADDRESS ON FILE
ANIBAL GOMEZ MALDONADO                    ADDRESS ON FILE
ANIBAL GONZALE VAZQUEZ                    ADDRESS ON FILE
ANIBAL GONZALEZ                           ADDRESS ON FILE
ANIBAL GONZALEZ COLON                     ADDRESS ON FILE
ANIBAL GONZALEZ CORTES                    ADDRESS ON FILE
ANIBAL GONZALEZ RIIZARRY                  ADDRESS ON FILE
ANIBAL GONZALEZ RIVERA                    ADDRESS ON FILE
ANIBAL GONZALEZ SANTIAGO                  ADDRESS ON FILE
ANIBAL GRACIA VELAZQUEZ                   ADDRESS ON FILE
ANIBAL GUZMAN HERNANDEZ                   ADDRESS ON FILE
Anibal Henriquez Santiago                 ADDRESS ON FILE
ANIBAL HEREDIA BURGOS                     ADDRESS ON FILE
ANIBAL HERNANDEZ MENDEZ                   ADDRESS ON FILE
ANIBAL HERNANDEZ ROBLES                   ADDRESS ON FILE
ANIBAL IRIZARRY RODRIGUEZ                 ADDRESS ON FILE
ANIBAL J ALE                              ADDRESS ON FILE
ANIBAL J ARROYO CINTRON                   ADDRESS ON FILE
ANIBAL J BERRIOS                          ADDRESS ON FILE
ANIBAL J CUEVAS CORREA                    ADDRESS ON FILE
ANIBAL J MENDIN SANCHEZ                   ADDRESS ON FILE
ANIBAL J ORTIZ LOPEZ                      ADDRESS ON FILE
ANIBAL J ZAMBRANA QUINONES                ADDRESS ON FILE
ANIBAL JIMENEZ MUNIZ                      ADDRESS ON FILE
ANIBAL JOSUE MENDOZA GARCIA               ADDRESS ON FILE
ANIBAL JOVER PAGES                        ADDRESS ON FILE
ANIBAL JURADO CRUZ                        ADDRESS ON FILE
ANIBAL L ROSARIO SCHELMETTY               ADDRESS ON FILE
ANIBAL L TORRES TORRES                    ADDRESS ON FILE




                                                                                      Page 463 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 464 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                    Address2                      Address3   Address4    City          State   PostalCode   Country
ANIBAL LAGUNA UDEMBERGH     ADDRESS ON FILE
ANIBAL LEBRON LEBRON        ADDRESS ON FILE
ANIBAL LOPEZ GONZALEZ       ADDRESS ON FILE
ANIBAL LOPEZ JUARBE         ADDRESS ON FILE
ANIBAL LOPEZ QUINONES       ADDRESS ON FILE
ANIBAL LUGO APONTE          ADDRESS ON FILE
ANIBAL LUGO MIRANDA         ADDRESS ON FILE
ANIBAL M RODRIGUEZ RIVERA   ADDRESS ON FILE
ANIBAL MARQUEZ SANTIAGO     ADDRESS ON FILE
ANIBAL MARTINEZ             ADDRESS ON FILE
ANIBAL MARTINEZ BENITEZ     ADDRESS ON FILE
ANIBAL MARTINEZ CRUZ        ADDRESS ON FILE
ANIBAL MARTINEZ ESTRADA     ADDRESS ON FILE
ANIBAL MARTINEZ MORENO      ADDRESS ON FILE
ANIBAL MARTINEZ RIVERA      ADDRESS ON FILE
ANIBAL MARTINEZ VAZQUEZ     ADDRESS ON FILE
ANIBAL MENDEZ               ADDRESS ON FILE
ANIBAL MENDEZ RODRIGUEZ     ADDRESS ON FILE
ANIBAL MIRANDA VAZQUEZ      ADDRESS ON FILE
ANIBAL MONTES RUIZ          ADDRESS ON FILE
ANIBAL MORALES NAVARRO      ADDRESS ON FILE
ANIBAL MUNIZ VEGA           ADDRESS ON FILE
ANIBAL MUNOZ CLAUDIO        ADDRESS ON FILE
ANIBAL MUNOZ LORENZO        ADDRESS ON FILE
ANIBAL MUNOZ MUNOZ          ADDRESS ON FILE
ANIBAL NAVARRO RODRIGUEZ    ADDRESS ON FILE
ANIBAL NEGRON RODRIGUEZ     ADDRESS ON FILE
ANIBAL NEGRON VELEZ         ADDRESS ON FILE
ANIBAL NUNEZ BELTRAN        ADDRESS ON FILE
ANIBAL OCASIO               ADDRESS ON FILE
ANIBAL OMAR COLON RUIZ      ADDRESS ON FILE
ANIBAL ORTIZ ORTIZ          ADDRESS ON FILE
ANIBAL ORTIZ PENA           ADDRESS ON FILE
ANIBAL PABON SANTIAGO       ADDRESS ON FILE
ANIBAL PADILLA VELEZ        LUIS A FERNANDEZ DOMENECH   PO BOX 1768                                          CABO ROJO     PR      00623
ANIBAL PAGAN NEGRON         ADDRESS ON FILE
ANIBAL PAGAN VENTURA        ADDRESS ON FILE
ANIBAL PEREZ ARVELO         ADDRESS ON FILE
ANIBAL PEREZ ARVELO         ADDRESS ON FILE
ANIBAL PEREZ SANTOS         ADDRESS ON FILE
ANIBAL PEREZ SERRANO        ADDRESS ON FILE
ANIBAL PICON VELEZ          ADDRESS ON FILE
ANIBAL PINA RIVERA          ADDRESS ON FILE
ANIBAL PINTADO GARCIA       ADDRESS ON FILE
ANIBAL QUILES SOTO          ADDRESS ON FILE
ANIBAL QUINONES             ADDRESS ON FILE
ANIBAL QUINONES MADERA      ADDRESS ON FILE
ANIBAL QUINONES NIEVES      ADDRESS ON FILE
ANIBAL QUINONEZ PEREZ       ADDRESS ON FILE
ANIBAL R ALMEDA ACEVEDO     ADDRESS ON FILE
ANIBAL R AMADOR MORALES     ADDRESS ON FILE
ANIBAL R PE¥A PE¥A          ADDRESS ON FILE
ANIBAL RAMOS AMARO          ADDRESS ON FILE
ANIBAL RAMOS NEGRON         ADDRESS ON FILE
ANIBAL RAMOS NEGRON         ADDRESS ON FILE
ANIBAL RAMOS SOTO           ADDRESS ON FILE
ANIBAL RIOS CHACON          ADDRESS ON FILE
ANIBAL RIVAS LUYANDO        ADDRESS ON FILE
Anibal Rivera Albarez       ADDRESS ON FILE
ANIBAL RIVERA MARRERO       ADDRESS ON FILE




                                                                        Page 464 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 465 of 3500
                                                                                            Creditor Matrix

Creditor Name                            Address1                      Address2                          Address3    Address4   City          State   PostalCode   Country
ANIBAL RIVERA PEREZ                      ADDRESS ON FILE
ANIBAL RIVERA RODRIGUEZ                  ADDRESS ON FILE
ANIBAL RIVERA SOTO                       ADDRESS ON FILE
ANIBAL RIVERA VARGAS                     ADDRESS ON FILE
ANIBAL RIVERA VAZQUEZ                    ADDRESS ON FILE
ANIBAL RIVERA VEGA                       ADDRESS ON FILE
ANIBAL RIVERA Y ADA HERNANDEZ            ADDRESS ON FILE
ANIBAL RODRIGUEZ GARCIA                  ADDRESS ON FILE
ANIBAL RODRIGUEZ HERNANDEZ               ADDRESS ON FILE
ANIBAL RODRIGUEZ HERNANDEZ               ADDRESS ON FILE
ANIBAL RODRIGUEZ LOPEZ                   ADDRESS ON FILE
ANIBAL RODRIGUEZ MEDINA                  ADDRESS ON FILE
ANIBAL RODRIGUEZ OYOLA                   ADDRESS ON FILE
ANIBAL RODRIGUEZ RAMOS                   ADDRESS ON FILE
ANIBAL RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
ANIBAL RODRIGUEZ SANTIAGO                ADDRESS ON FILE
ANIBAL RODRIGUEZ TIRADO                  ADDRESS ON FILE
ANIBAL RODRIGUEZ TIRADO                  ADDRESS ON FILE
ANIBAL RODRIGUEZ Y MARIA DEL C BERRIOS   ADDRESS ON FILE
ANIBAL ROJAS SILVA                       ADDRESS ON FILE
ANIBAL ROMAN ORTIZ                       ADDRESS ON FILE
ANIBAL ROMERO SOTO                       ADDRESS ON FILE
ANIBAL ROSADO CRESPO                     ADDRESS ON FILE
ANIBAL ROSADO RIVERA                     ADDRESS ON FILE
ANIBAL ROSARIO LEBRON                    ADDRESS ON FILE
ANIBAL RUIZ                              ADDRESS ON FILE
ANIBAL RUIZ FIGUEROA                     ADDRESS ON FILE
ANIBAL S VIDAL QUINTERO                  ADDRESS ON FILE
ANIBAL SALON                             PO BOX 556                                                                             VEGA ALTA     PR      00692
ANIBAL SANCHEZ GONZALEZ                  ADDRESS ON FILE
ANIBAL SANCHEZ VELAZQUEZ                 ADDRESS ON FILE
ANIBAL SANTIAGO ALICEA                   ADDRESS ON FILE
ANIBAL SANTIAGO MALDONADO                ADDRESS ON FILE
ANIBAL SANTIAGO NIEVES                   ADDRESS ON FILE
ANIBAL SEDA PAGAN                        ADDRESS ON FILE
ANIBAL SEOANE MARTINEZ                   ADDRESS ON FILE
ANIBAL SERRANO CARRERO                   ADDRESS ON FILE
ANIBAL SOTO / ALEXANDRA DOMINGUEZ REYES ADDRESS ON FILE
ANIBAL SOTO BURGOS / COOP. SEGUROS MÚLTIPARMANDO FRANCESCHI FIGUEROA   B5 CALLE TABONUCO                 SUITE 216   PMB 360    Bayamón       PR      00968‐3029
ANIBAL SOTO BURGOS / COOP. SEGUROS MÚLTIPLUIS A. BURGOS RIVERA         APARTADO 2464                                            GUAYAMA       PR      00785
ANIBAL SOTO MARTINEZ                     ADDRESS ON FILE
ANIBAL SOTO PLAZA                        ADDRESS ON FILE
ANIBAL TIRADO AGOSTO                     ADDRESS ON FILE
ANIBAL TORRES DELGADO                    ADDRESS ON FILE
ANIBAL TORRES MENDEZ                     ADDRESS ON FILE
ANIBAL TORRES RIVERA                     ADDRESS ON FILE
ANIBAL TORRES ROSARIO                    ADDRESS ON FILE
ANIBAL VALENTIN VARGAS/ CARIBBEAN        RENEWABLE TECHNOLOGIES INC    PO BOX 250237                                            AGUADILLA     PR      00604‐0237
ANIBAL VARGAS DE LOS SANTOS              ADDRESS ON FILE
ANIBAL VAZQUEZ CARRION                   ADDRESS ON FILE
ANIBAL VAZQUEZ CARRION                   ADDRESS ON FILE
ANIBAL VAZQUEZ DE JESUS                  ADDRESS ON FILE
ANIBAL VAZQUEZ NEGRON                    ADDRESS ON FILE
ANIBAL VEGA CONCEPCION                   ADDRESS ON FILE
ANIBAL VEGA GONZALEZ                     ADDRESS ON FILE
ANIBAL VELEZ MARQUEZ                     ADDRESS ON FILE
ANIBALCARRASQUILLO,ANGELINA CARRASQUILLOADDRESS ON FILE
ANIBALQUINONES IRIZARRY                  ADDRESS ON FILE
ANIBARRO DIAZ, PEDRO                     ADDRESS ON FILE
ANIBARRO SOTO, JORGE                     ADDRESS ON FILE




                                                                                           Page 465 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 466 of 3500
                                                                                                           Creditor Matrix

Creditor Name                        Address1                                   Address2                                Address3         Address4   City              State   PostalCode   Country
ANIBELLE PETERSON                    LCDA. ANIBELLE PETERSON PEGUERO Y LCDA. LIA1225 CARR. #2 APT. 1921                 COND. ALBORADA              Bayamón           PR      00959
ANIBELLE PETERSON PEGUERO            ADDRESS ON FILE
ANIBELLE SLOAN ALTIERI               ADDRESS ON FILE
ANIBETH F QUINONES DIAZ              ADDRESS ON FILE
ANICACIO MORALES QUINONES            ADDRESS ON FILE
ANICET RUIZ NIEVES                   ADDRESS ON FILE
ANICETO ROLDAN FIGUEROA              ADDRESS ON FILE
ANICETO ROLDAN FIGUEROA              ADDRESS ON FILE
ANICIA PIMENTEL                      ADDRESS ON FILE
ANICIA PIMENTEL                      ADDRESS ON FILE
ANICK CONWAY CARRASQUILLO            ADDRESS ON FILE
ANIDEL MONDESI PADILLA               ADDRESS ON FILE
ANIDEM CONSTRUCTION INC              PO BOX 2133                                                                                                    SAN SEBASTIAN     PR      00685
ANIFMA B SANTIAGO COX                ADDRESS ON FILE
ANIGER M FIGUEROA ROSADO             ADDRESS ON FILE
ANIIIECINTRON LABOY                  ADDRESS ON FILE
ANIL WAGLE                           ADDRESS ON FILE
ANILDA C FERNANDEZ VEGA              ADDRESS ON FILE
ANILDA CABRERA & FRANCISCO VICENTY   ADDRESS ON FILE
ANILDA SANABRIA MORALES              ADDRESS ON FILE
ANILIZ RIVERA RIOS                   ADDRESS ON FILE
ANILIZ RIVERA RIOS                   ADDRESS ON FILE
ANILL AMAIA MALDONADO MENDEZ         ADDRESS ON FILE
ANILOM INC                           R 14 JESUS M LAGO                                                                                              UTUADO            PR      00641
ANILOU ORTIZ MOLINA                  ADDRESS ON FILE
ANIMAKER, INC                        187 E WARM SPRINGS RD                      SUITE B 192 LAS VEGAS                                               LAS VEGAS         NV      89119
ANIR DE JESUS LLOVET                 ADDRESS ON FILE
ANIR DE JESUS LLOVET                 ADDRESS ON FILE
ANIRAM DEL VALLE FIGUEROA            ADDRESS ON FILE
ANIRDNAJELA CORTES ALFONSO           ADDRESS ON FILE
ANISA INC                            HC 1 BOX 6098                                                                                                  AGUAS BUENAS      PR      00703
ANISA M AYALA VELEZ                  ADDRESS ON FILE
ANISABEL RIUT0RT VEGA                ADDRESS ON FILE
ANISSA M ORTEGA DIAZ                 ADDRESS ON FILE
ANISSA V HERNANDEZ                   ADDRESS ON FILE
ANITA DIAZ RODRIGUEZ                 ADDRESS ON FILE
ANITA DIAZ VAGUE                     ADDRESS ON FILE
ANITA ECHEVARRIA RIOS                ADDRESS ON FILE
ANITA IRIZARRY                       ADDRESS ON FILE
ANITA MARCHAND                       ADDRESS ON FILE
ANITA MARIA VARGAS                   ADDRESS ON FILE
ANITA VAZQUEZ RIVERA                 ADDRESS ON FILE
ANITZA QUINONES QUINONES             ADDRESS ON FILE
ANITZA URQUIA ARAN                   ADDRESS ON FILE
ANITZA URQUIA ARAN                   ADDRESS ON FILE
ANIXA RICHARD ALTURET                ADDRESS ON FILE
ANIXEL M RIVERA VAZQUEZ              ADDRESS ON FILE
ANIXTER BROS., INC.                  P O BOX 98908                                                                                                  CHICAGO           IL      60693‐8908
ANJELICA ROLON ALINDATO              ADDRESS ON FILE
ANLYNN CRUZ ALVARADO                 ADDRESS ON FILE
ANMAR GAS STATION                    950 AVE ROOSVELT                                                                                               SAN JUAN          PR      00920
ANMERIS MENDIZABAL                   ADDRESS ON FILE
ANN CARO, JUDY                       ADDRESS ON FILE
ANN DE JESUS RIVERA                  ADDRESS ON FILE
ANN GRANGER                          ADDRESS ON FILE
ANN HANISCH, RACHEL                  ADDRESS ON FILE
ANN HERNANDEZ, LILLY                 ADDRESS ON FILE
ANN HNAT MD, DAWN                    ADDRESS ON FILE
ANN L PENA CAPO                      ADDRESS ON FILE
ANN M BAEZ AYALA                     ADDRESS ON FILE




                                                                                                          Page 466 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 467 of 3500
                                                                                                Creditor Matrix

Creditor Name                           Address1                              Address2                       Address3   Address4   City         State   PostalCode   Country
ANN M HINTZ                             ADDRESS ON FILE
ANN M MALDONADO VAZQUEZ                 ADDRESS ON FILE
ANN M OLIVER                            ADDRESS ON FILE
ANN M PORRELLO PASTRANA DBA ANN MARIE T URB VILLA FONTANA                     VIA ELENA BL 9                                       CAROLINA     PR      00979
ANN M PORRELLO PASTRANA DBA ANNMARIE TRUBR VILLA FONTANA                      VIA ELENA BL‐9                                       CAROLINA     PR      00983
ANN M PORRELLO PASTRANA DBA NAIM MERHE URB VILLA FONTANA                      VIA ELENA BL 9                                       CAROLINA     PR      00983
ANN M. BAEZ AYALA                       ADDRESS ON FILE
ANN M. MALDONADO VAZQUEZ                ADDRESS ON FILE
ANN M. PORRELLO PASTRANA DBA NAIM MERHEVIA ELENA BI ‐ 9 URB. VILLA CAROLINA                                                        CAROLINA     PR      00000‐0000
ANN MARGARET MOCKFORD NEGRON            ADDRESS ON FILE
ANN MARGARET MOCKFORD NEGRON            ADDRESS ON FILE
ANN MARIE COLLIER                       ADDRESS ON FILE
ANN MARIE RODRIGUEZ MELENDEZ            ADDRESS ON FILE
ANN MARIE TROFEO PLACAS ROTULOS Y PROMOPO BOX 9549                                                                                 CAROLINA     PR      00988‐9549
ANN MARIE TROFEO ROTULOS Y PROMOCIONES PO BOX 9549                                                                                 CAROLINA     PR      00988‐9549
ANN MARIE TROFEOS,PLACAS, ROTULOS,      URB VILLA FONTANA                     BL 9 VIA ELENA                                       CAROLINA     PR      000983
ANN MONLLOR CANO                        ADDRESS ON FILE
ANN PORRELLO                            ADDRESS ON FILE
ANN RODRIGUEZ JUARBE MD, MARY           ADDRESS ON FILE
ANN Z LEBRON VEGA                       ADDRESS ON FILE
ANNA A FELSI TANER                      ADDRESS ON FILE
ANNA BETANCOURT VELEZ                   ADDRESS ON FILE
ANNA C ROSA                             ADDRESS ON FILE
ANNA DELIA MARTINEZ AYALA               ADDRESS ON FILE
ANNA G ROSARIO RIVERA                   ADDRESS ON FILE
ANNA I GUZMAN CARTAGENA                 ADDRESS ON FILE
Anna I. CedeNo Torres                   ADDRESS ON FILE
ANNA K FLECHA DE JESUS                  ADDRESS ON FILE
ANNA K. FLECHA DE JESUS                 ADDRESS ON FILE
ANNA LEYTE VIDAL AUZ                    ADDRESS ON FILE
ANNA M CASTILLO CRUZ                    ADDRESS ON FILE
ANNA M PAGAN TANZOSH                    ADDRESS ON FILE
ANNA MARIA DI MARCO SERRA               ADDRESS ON FILE
ANNA O TORRES RIVERA                    ADDRESS ON FILE
ANNA PAEZ MORALES                       ADDRESS ON FILE
ANNA S TOLEDO VALENTIN                  ADDRESS ON FILE
ANNA T PLETCHER                         ADDRESS ON FILE
ANNA URBINA                             ADDRESS ON FILE
ANNA VILLAFANE                          ADDRESS ON FILE
ANNA WALESKA MARIANI                    ADDRESS ON FILE
ANNA Y VAZQUEZ GONZALEZ                 ADDRESS ON FILE
ANNABEL GUILLEN CASANAS                 ADDRESS ON FILE
ANNABEL MORALES ROMAN                   ADDRESS ON FILE
ANNABELLA DEBS                          ADDRESS ON FILE
ANNABELLE M NUNEZ UBARRI                ADDRESS ON FILE
ANNABELLE M. NUNEZ‐UBARRI               ADDRESS ON FILE
ANNABELLE MUNOZ PAGAN                   ADDRESS ON FILE
ANNABELLE MUNOZ PAGAN                   ADDRESS ON FILE
ANNABELLE PEREZ CASABLANCA              ADDRESS ON FILE
ANNABELLE RODRIGUEZ LLAUGER             ADDRESS ON FILE
Annable Lopez, Ernest W.                ADDRESS ON FILE
Annable Lopez, John J.                  ADDRESS ON FILE
ANNABLE LOPEZ, LILLIAN I                ADDRESS ON FILE
ANNADELLE CRUZ TROCHE                   ADDRESS ON FILE
ANNAHARA O RIVERA DIAZ                  ADDRESS ON FILE
ANNAIS GONZALEZ QUINONEZ                ADDRESS ON FILE
ANNALIE MERCADO                         LCDA. TANIA SERRANO GONZALEZ          PO BOX 7041                                          CAGUAS       PR      00726‐7041
ANNAYS J ROSARIO ROSADO                 ADDRESS ON FILE
ANNAYS J ROSARIO ROSADO                 ADDRESS ON FILE
ANNDY A TORRES TOLEDO                   ADDRESS ON FILE




                                                                                               Page 467 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 468 of 3500
                                                                                          Creditor Matrix

Creditor Name                           Address1                   Address2                            Address3   Address4   City        State   PostalCode   Country
ANNE MARIE GILLEN                       ADDRESS ON FILE
ANNELIESE MELENDEZ ECHEVARRIA           ADDRESS ON FILE
ANNELIS FERNANDEZ CRUZ                  ADDRESS ON FILE
ANNELISE RIVERA RIVERO                  ADDRESS ON FILE
ANNELISE RIVERA RIVERO                  ADDRESS ON FILE
ANNER J BONILLA                         ADDRESS ON FILE
ANNERIS PADILLA CARABALLO               ADDRESS ON FILE
ANNERIS RODRIGUEZ JIMENEZ               ADDRESS ON FILE
ANNETT SANABRIA DE JESUS                ADDRESS ON FILE
ANNETTE ACOSTA                          ADDRESS ON FILE
ANNETTE ALDEA GALLEGO                   ADDRESS ON FILE
ANNETTE ALFONSO DIAZ                    ADDRESS ON FILE
ANNETTE ALFONSO DIAZ                    ADDRESS ON FILE
ANNETTE ALVAREZ RIVERA                  ADDRESS ON FILE
ANNETTE BELTRAN ORTIZ                   ADDRESS ON FILE
ANNETTE BERRIOS VALENTIN                ADDRESS ON FILE
ANNETTE BOU RIVERA DBA VILLA CORAL      GUESTHOUSE                 485 CALLE GLADIOLAS                                       VIEQUES     PR      00765
ANNETTE CARRION MASSAS                  ADDRESS ON FILE
ANNETTE COLON PEREZ                     ADDRESS ON FILE
ANNETTE CORREA FILOMENO                 ADDRESS ON FILE
ANNETTE CORREA FILOMENO                 ADDRESS ON FILE
ANNETTE CRUZ ARANA                      ADDRESS ON FILE
ANNETTE D TORRES RODRIGUEZ              ADDRESS ON FILE
ANNETTE DAVILA LOZADA                   ADDRESS ON FILE
ANNETTE DE JESUS SANTANA                ADDRESS ON FILE
ANNETTE DE L GONZALEZ PEREZ             ADDRESS ON FILE
ANNETTE DEL C PEREZ ORTEGA              ADDRESS ON FILE
ANNETTE DIODONET CASTRO                 ADDRESS ON FILE
ANNETTE E CONCEPCION DE JESUS           ADDRESS ON FILE
ANNETTE E PIETRI RAMIREZ                ADDRESS ON FILE
ANNETTE E ROLON GARCIA                  ADDRESS ON FILE
ANNETTE E. PIETRI RAMIREZ               ADDRESS ON FILE
ANNETTE ENCARNACION RIVERA              ADDRESS ON FILE
ANNETTE FILIBERTY RUIZ                  ADDRESS ON FILE
ANNETTE GARCIA BURGOS                   ADDRESS ON FILE
ANNETTE GARCIA CASTELLANO               ADDRESS ON FILE
ANNETTE GARCIA SANTANA                  ADDRESS ON FILE
ANNETTE GONZALEZ                        ADDRESS ON FILE
ANNETTE GONZALEZ CINTRON                ADDRESS ON FILE
ANNETTE HERNANDEZ CALDERON              ADDRESS ON FILE
ANNETTE HERNANDEZ POLANCO               ADDRESS ON FILE
ANNETTE I LOTTI VEGA                    ADDRESS ON FILE
ANNETTE I.BUSCAMPER CONCEPCION          ADDRESS ON FILE
ANNETTE J CRESPO SANCHEZ                ADDRESS ON FILE
ANNETTE J RAMOS MIRANDA                 ADDRESS ON FILE
ANNETTE J SANTIAGO CORDERO              ADDRESS ON FILE
ANNETTE LABOY SANTIAGO                  ADDRESS ON FILE
ANNETTE LACOURT CRUZ                    ADDRESS ON FILE
ANNETTE LACOURT CRUZ                    ADDRESS ON FILE
ANNETTE LAVERGNE PAGAN                  ADDRESS ON FILE
ANNETTE M ALFARO FERRER                 ADDRESS ON FILE
ANNETTE M BARBOSA HERNANDEZ             ADDRESS ON FILE
ANNETTE M DANNER RODRIGUEZ              ADDRESS ON FILE
ANNETTE M HERNAN DEZ GUZMAN             ADDRESS ON FILE
ANNETTE M MARTINEZ                      ADDRESS ON FILE
ANNETTE M RAMOS CERVONI                 ADDRESS ON FILE
ANNETTE M REYES APONTE                  ADDRESS ON FILE
ANNETTE M RIVERA DAVILA                 ADDRESS ON FILE
ANNETTE M SOLLA TAULE DBA SAN JUAN DOORSP O BOX 2055                                                                         SALINAS     PR      00751‐0000
ANNETTE M TORRES RODRIGUEZ              ADDRESS ON FILE




                                                                                         Page 468 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 469 of 3500
                                                                                                        Creditor Matrix

Creditor Name                          Address1                             Address2                                 Address3   Address4   City         State   PostalCode   Country
ANNETTE M TORRES VARGAS                ADDRESS ON FILE
ANNETTE M. DEL TORO                    ADDRESS ON FILE
ANNETTE MACHUCA & ASSOCIATES INC       PO BOX 360351                                                                                       SAN JUAN     PR      00936
ANNETTE MALDONADO MELENDEZ             ADDRESS ON FILE
ANNETTE MARTINEZ QUILES                ADDRESS ON FILE
ANNETTE MELENDEZ RIVERA                ADDRESS ON FILE
ANNETTE MELENDEZ RIVERA                ADDRESS ON FILE
ANNETTE MENDEZ ROMAN                   ADDRESS ON FILE
ANNETTE MOLLER LOPEZ                   ADDRESS ON FILE
ANNETTE NEGRONI MIRANDA                ADDRESS ON FILE
ANNETTE NEGRONI MIRANDA                ADDRESS ON FILE
ANNETTE NORAT RIVERA                   ADDRESS ON FILE
ANNETTE OCASIO ELLIN                   ADDRESS ON FILE
ANNETTE OLIVERO ASTACIO                ADDRESS ON FILE
ANNETTE ORTIZ MATIAS                   ADDRESS ON FILE
ANNETTE P DIAZ JAMES                   ADDRESS ON FILE
ANNETTE PACHECO ZAPATA                 ADDRESS ON FILE
ANNETTE PEREZ RAMIREZ                  ADDRESS ON FILE
ANNETTE PEREZ RAMOS                    ADDRESS ON FILE
ANNETTE PETERSON RIVERA                ADDRESS ON FILE
ANNETTE PIETRI POLA                    ADDRESS ON FILE
ANNETTE RABSAFF ROSARIO                ADDRESS ON FILE
ANNETTE RABSATT ROSARIO V DEPARTAMENTO LCDO HERIBERTO QUINONES ECHEVARRIA   URBANIZACION SABANERA CAMINO DE LOS JARDINES 392               CIDRA        PR      00739
ANNETTE RAMIREZ ESCABI                 ADDRESS ON FILE
ANNETTE RAMOS BOSQUE                   ADDRESS ON FILE
ANNETTE RAMOS RIVERA                   ADDRESS ON FILE
ANNETTE RAMOS RODRIGUEZ                ADDRESS ON FILE
ANNETTE RIOS VILLAFANE                 ADDRESS ON FILE
ANNETTE RIVERA CARRASQUILLO            ADDRESS ON FILE
ANNETTE RIVERA CASTILLO                ADDRESS ON FILE
ANNETTE RIVERA OQUENDO                 ADDRESS ON FILE
ANNETTE RIVERA REBOYRAS                ADDRESS ON FILE
ANNETTE RIVERA SANCHEZ                 ADDRESS ON FILE
ANNETTE RODRIGUEZ GARCIA               ADDRESS ON FILE
ANNETTE RODRIGUEZ GOTAY                ADDRESS ON FILE
ANNETTE ROSARIO TELLADO                ADDRESS ON FILE
ANNETTE SALDAGA FIGUEROA               ADDRESS ON FILE
ANNETTE SERRANO MORENO                 ADDRESS ON FILE
ANNETTE SHARON LABARCA CRUZ            ADDRESS ON FILE
ANNETTE SILVA MONTANEZ                 ADDRESS ON FILE
ANNETTE TOLENTINO REY                  ADDRESS ON FILE
ANNETTE TOSSAS CAVALLIERY              ADDRESS ON FILE
ANNETTE UBINAS EMANUELLI               ADDRESS ON FILE
ANNETTE VARELA ALVELO                  ADDRESS ON FILE
ANNETTE VARGAS ORTEGA                  ADDRESS ON FILE
ANNETTE VELEZ ARROYO                   ADDRESS ON FILE
ANNETTE VIERA SANCHEZ                  ADDRESS ON FILE
ANNETTE W ROBLES RAYA                  ADDRESS ON FILE
ANNETTE Y JIMENEZ COLLET               ADDRESS ON FILE
ANNEX BURGOS ROSADO                    ADDRESS ON FILE
ANNEX BURGOS ROSADO                    ADDRESS ON FILE
ANNEXY FRAITES, JOSE M                 ADDRESS ON FILE
ANNEXY FRAYTES, JOSE M                 ADDRESS ON FILE
ANNEXY FREITES, JOSE M                 ADDRESS ON FILE
ANNEXY LABAULT, AMARYS                 ADDRESS ON FILE
ANNEXY LABAULT, ARIEL                  ADDRESS ON FILE
ANNEXY LOPEZ MD, MAMIE                 ADDRESS ON FILE
ANNEXY VEGA, DAISY                     ADDRESS ON FILE
ANNIE CRUZ VEGA                        ADDRESS ON FILE
ANNIE D MONTALVO CRUZ                  ADDRESS ON FILE




                                                                                                       Page 469 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 470 of 3500
                                                                                                            Creditor Matrix

Creditor Name                          Address1                                Address2                                  Address3   Address4   City         State   PostalCode   Country
ANNIE E ORTIZ FIGUEROA                 ADDRESS ON FILE
ANNIE I LEBRON SANTIAGO                ADDRESS ON FILE
ANNIE I PEREIRA LAFORTE                ADDRESS ON FILE
ANNIE M PLAZA RODRIGUEZ                ADDRESS ON FILE
ANNIE MARIBEL MINGUELA LUGO            ADDRESS ON FILE
ANNIE MARILIA SAEZ ORTIZ               ADDRESS ON FILE
ANNIE MAYOL DEL VALLE                  ADDRESS ON FILE
ANNIE MAYOL DEL VALLE                  ADDRESS ON FILE
ANNIE MUSTAFA RAMOS                    ADDRESS ON FILE
ANNIE OCHOA VILLAVISANIS               ADDRESS ON FILE
ANNIE OLIVIERI LARREGOITY              ADDRESS ON FILE
ANNIE ORTIZ FIGUEROA                   ADDRESS ON FILE
ANNIE ORTIZ FIGUEROA                   ADDRESS ON FILE
ANNIE QUINTANA CRUZ                    ADDRESS ON FILE
ANNIE RODRIGUEZ CRUZ                   ADDRESS ON FILE
ANNIE ROSADO ORTIZ                     ADDRESS ON FILE
ANNIE SANCHEZ SANTOS                   ADDRESS ON FILE
ANNIE SANTIAGO                         ADDRESS ON FILE
ANNIE Z FLORES RIVERA                  ADDRESS ON FILE
ANNIEAS, LARCHEVEAUX                   ADDRESS ON FILE
ANNIEL L BERMUDEZ ORTIZ                ADDRESS ON FILE
ANNIELLY GUZMAN DAVILA                 GENOVEVA VALENTÍN SOTOILSA RODRÍGUEZ CANPO BOX 13695                                                    SAN JUAN     PR      00908‐3695
ANNIEVETTE LOYSELLE Y CESAR A BORGOS   ADDRESS ON FILE
ANNJOLLY FIGUEROA RIVERA               ADDRESS ON FILE
ANNOUSKA N GUASP RAMIREZ               ADDRESS ON FILE
ANNSONIA COLON LABOY                   ADDRESS ON FILE
ANNYA ORTIZ RODRIGUEZ                  ADDRESS ON FILE
ANNYS PARTY RENTAL                     PO BOX 41                                                                                               ARROYO       PR      00714
ANNYVETTE RIVERA CARRASCO              ADDRESS ON FILE
ANOINTED SECURITY SERVICES INC         THE UPS STORE                           200 AVE RAFAEL CORDERO STE 140 PMB 486                          CAGUAS       PR      00725
ANOVIS CORP                            PO BOX 9858                                                                                             SAN JUAN     PR      00908
ANQUEIRA ACEVEDO, JOEL                 ADDRESS ON FILE
ANQUEIRA ACEVEDO, JOSE                 ADDRESS ON FILE
ANQUEIRA CASTRO, ANTONIO               ADDRESS ON FILE
ANQUEIRA CASTRO, RADAMES               ADDRESS ON FILE
ANSA COLLAZO, BRENDA B                 ADDRESS ON FILE
ANSA FIGUEROA, NORALI                  ADDRESS ON FILE
ANSA TORO, FRANCISCO                   ADDRESS ON FILE
ANSA VILA MD, RAMON M                  ADDRESS ON FILE
ANSELMI MD, GREGORY                    ADDRESS ON FILE
Anselmi Ruemmele, Carlos               ADDRESS ON FILE
ANSELMO COLON SALGADO                  ADDRESS ON FILE
ANSELMO GONZALEZ VAZQUEZ               ADDRESS ON FILE
ANSELMO SANTIAGO DIAZ                  ADDRESS ON FILE
ANSELMO SANTIAGO DIAZ                  ADDRESS ON FILE
ANSOEL AGOSTO QUINONES                 ADDRESS ON FILE
ANSON A QUINTANA BURGOS                ADDRESS ON FILE
ANSON REYES BETANCOURT                 ADDRESS ON FILE
ANSON REYES BETANCOURT                 ADDRESS ON FILE
ANSONNY HERNANDEZ PADILLA              ADDRESS ON FILE
ANSTRONG FIGUEROA RIVERA               ADDRESS ON FILE
ANT SIGNS INC                          PO BOX 361666                                                                                           SAN JUAN     PR      00936‐1666
ANTEQUERA LUGO, CARLOS                 ADDRESS ON FILE
ANTERO RIVERA OROZCO                   ADDRESS ON FILE
ANTHONY A JUSINO RAMOS                 ADDRESS ON FILE
ANTHONY ACEVEDO CUEVAS                 ADDRESS ON FILE
ANTHONY ALEXANDER FUENTES              ADDRESS ON FILE
ANTHONY ALVELO AREVALO                 ADDRESS ON FILE
ANTHONY ARROYO MERCADO                 ADDRESS ON FILE
ANTHONY BERRIOS VAZQUEZ                ADDRESS ON FILE




                                                                                                           Page 470 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 471 of 3500
                                                                                   Creditor Matrix

Creditor Name                    Address1                       Address2                        Address3   Address4   City           State   PostalCode   Country
ANTHONY BURGOS SEGARRA           ADDRESS ON FILE
ANTHONY BURGOS TORRES            ADDRESS ON FILE
ANTHONY CAMACHO, JENNIFER        ADDRESS ON FILE
ANTHONY CAPPAS OLIVERAS          ADDRESS ON FILE
ANTHONY CARMEN TIRRI             ADDRESS ON FILE
ANTHONY CARTAGENA MONT           ADDRESS ON FILE
ANTHONY CASIANO MONTALVAN        ADDRESS ON FILE
ANTHONY CESAREO COHEN            ADDRESS ON FILE
ANTHONY CHACON RIVERA            ADDRESS ON FILE
ANTHONY CIRINO CORREA            ADDRESS ON FILE
ANTHONY CONCEPCION GUZMAN        ADDRESS ON FILE
ANTHONY CORTES SANTA             ADDRESS ON FILE
ANTHONY COTTO DIAZ               ADDRESS ON FILE
ANTHONY CRUZ BUTLER              ADDRESS ON FILE
ANTHONY CRUZ HERNANDEZ           LCDO. IRVING ALICEA MARTINEZ   5 CALLE LA CRUZ                                       JUANA DIAZ     PR      00795
ANTHONY D'ANTONIO                ADDRESS ON FILE
ANTHONY DAVID                    ADDRESS ON FILE
ANTHONY DE LA PAZ ACEVEDO        ADDRESS ON FILE
ANTHONY DEL VALLE COLON          ADDRESS ON FILE
ANTHONY DIAZ RODRIGUEZ           ADDRESS ON FILE
ANTHONY DIAZ SANTIAGO            ADDRESS ON FILE
ANTHONY E JONH                   ADDRESS ON FILE
ANTHONY E RIVERA TORRES          ADDRESS ON FILE
ANTHONY FELICIANO AMADEO         ADDRESS ON FILE
ANTHONY FRATICELLI DATIS         ADDRESS ON FILE
ANTHONY FUENTES ADAMES           ADDRESS ON FILE
ANTHONY GONZALEZ RODRIGUEZ       ADDRESS ON FILE
ANTHONY GRANERI                  ADDRESS ON FILE
ANTHONY HERNANDEZ MUNOZ          ADDRESS ON FILE
ANTHONY HUERTAS FELICIANO        ADDRESS ON FILE
ANTHONY J BAEZ MARTINEZ          ADDRESS ON FILE
ANTHONY J CAMPOS VERGNE          ADDRESS ON FILE
ANTHONY J DIAZ MARTINEZ          ADDRESS ON FILE
ANTHONY J GONZALEZ BELTRAN       ADDRESS ON FILE
ANTHONY J LLANOS AYALA           ADDRESS ON FILE
ANTHONY J MOURE DURAN            ADDRESS ON FILE
ANTHONY J RAMOS ORTIZ            ADDRESS ON FILE
ANTHONY J SILVA SANTIAGO         ADDRESS ON FILE
ANTHONY JOEL ESCALERA CASTRO     ADDRESS ON FILE
ANTHONY JOEL SANTIAGO MERCED     ADDRESS ON FILE
ANTHONY JOSE RAMOS RAMOS         ADDRESS ON FILE
ANTHONY L BINI DEL VALLE         ADDRESS ON FILE
ANTHONY L JORDAN HEALTH CENTER   82 HOLLAND ST                                                                        ROCHESTER      NY      14605
ANTHONY L LUGO MILLAN            ADDRESS ON FILE
ANTHONY L. LOMBARDI GONZALEZ     ADDRESS ON FILE
ANTHONY LAMBOY RODRIGUEZ         ADDRESS ON FILE
ANTHONY LOPEZ TORRES             ADDRESS ON FILE
ANTHONY LOZADA ALBINO            ADDRESS ON FILE
ANTHONY M SOTO MENDEZ            ADDRESS ON FILE
ANTHONY MARTINEZ DE JESUS        ADDRESS ON FILE
ANTHONY MARTINEZ VILLAFANE       ADDRESS ON FILE
ANTHONY MATEO FUENTES            ADDRESS ON FILE
ANTHONY MERCADO RODRIGUEZ        ADDRESS ON FILE
ANTHONY MIRABEL ALFARO           ADDRESS ON FILE
ANTHONY MOLINA FIGUEROA          ADDRESS ON FILE
ANTHONY MORALES ARROYO           ADDRESS ON FILE
ANTHONY MORALES REYES            ADDRESS ON FILE
ANTHONY MORALES RUIZ             ADDRESS ON FILE
ANTHONY MUÐOZ VARGAS             ADDRESS ON FILE
ANTHONY MUNOZ VARGAS             ADDRESS ON FILE




                                                                                  Page 471 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 472 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANTHONY MURRAY STEFFENS        ADDRESS ON FILE
ANTHONY NIEVES LASALLE         ADDRESS ON FILE
ANTHONY NIEVES RIVERA          ADDRESS ON FILE
ANTHONY NORAT RIVERA           ADDRESS ON FILE
ANTHONY O MECEIRA ZAYAS        ADDRESS ON FILE
ANTHONY O SOLARES GONZALEZ     ADDRESS ON FILE
ANTHONY ORTIZ RODRIGUEZ        ADDRESS ON FILE
ANTHONY OYOLA MARTINEZ         ADDRESS ON FILE
ANTHONY P MARTINEZ BURGOS      ADDRESS ON FILE
ANTHONY PAGANO MIGLIORE        ADDRESS ON FILE
ANTHONY PARILLA DAVILA         ADDRESS ON FILE
ANTHONY PENA                   ADDRESS ON FILE
ANTHONY PEREZ CONCEPCION       ADDRESS ON FILE
ANTHONY PEREZ FLORES           ADDRESS ON FILE
ANTHONY QUINONES COLLAZO       ADDRESS ON FILE
ANTHONY QUINONES RIVERA        ADDRESS ON FILE
ANTHONY QUINONES ROSADO        ADDRESS ON FILE
ANTHONY R BERMUDEZ RODRIGUEZ   ADDRESS ON FILE
ANTHONY R HERNANDEZ RIVERA     ADDRESS ON FILE
ANTHONY RAMIREZ SANCHEZ        ADDRESS ON FILE
ANTHONY RAMOS CRUZ             ADDRESS ON FILE
ANTHONY RAMOS FIGUEROA         ADDRESS ON FILE
ANTHONY RAMOS HERNANDEZ        ADDRESS ON FILE
ANTHONY REYES ACEVEDO          ADDRESS ON FILE
ANTHONY REYES VALENTIN         ADDRESS ON FILE
ANTHONY RIOS ROMAN             ADDRESS ON FILE
ANTHONY RIOS VELAZQUEZ         ADDRESS ON FILE
ANTHONY RIOS, MYRIAM           ADDRESS ON FILE
ANTHONY RIVERA DE JESUS        ADDRESS ON FILE
ANTHONY RIVERA FIGUEROA        ADDRESS ON FILE
ANTHONY RIVERA MARRERO         ADDRESS ON FILE
ANTHONY RIVERA MATEO           ADDRESS ON FILE
ANTHONY RIVERA PFEIFFER        ADDRESS ON FILE
ANTHONY RIVERA RODRIGUEZ       ADDRESS ON FILE
ANTHONY ROBLES SANTIAGO        ADDRESS ON FILE
ANTHONY ROMAN MENDEZ           ADDRESS ON FILE
ANTHONY ROSADO MORALES         ADDRESS ON FILE
ANTHONY RUIZ MAYMI             ADDRESS ON FILE
ANTHONY S PAGON FELIX          ADDRESS ON FILE
ANTHONY S REYES VARGAS         ADDRESS ON FILE
ANTHONY SADA MATOS             ADDRESS ON FILE
ANTHONY SANCHEZ APONTE         ADDRESS ON FILE
ANTHONY SANCHEZ APONTE         ADDRESS ON FILE
ANTHONY SANTIAGO MONTES        ADDRESS ON FILE
ANTHONY SANTIAGO RIVERA        ADDRESS ON FILE
ANTHONY SANTIAGO RIVERA        ADDRESS ON FILE
ANTHONY SANTOS FIGUEROA        ADDRESS ON FILE
ANTHONY SERGES RODRIGUEZ       ADDRESS ON FILE
ANTHONY SERRANO CANDELARIA     ADDRESS ON FILE
ANTHONY SEVERINO MUNOZ         ADDRESS ON FILE
ANTHONY SILVA TORRES           ADDRESS ON FILE
ANTHONY SILVA VELEZ            ADDRESS ON FILE
ANTHONY SOTO CAMACHO           ADDRESS ON FILE
ANTHONY SOTO RIVERA            ADDRESS ON FILE
ANTHONY SUAREZ TOLEDO          ADDRESS ON FILE
ANTHONY TORO LOPEZ             ADDRESS ON FILE
ANTHONY TORRES PINERO          ADDRESS ON FILE
ANTHONY TORRES SOLANO          ADDRESS ON FILE
ANTHONY U. OSORIO PIZARRO      ADDRESS ON FILE
ANTHONY VARELA JAVIER          ADDRESS ON FILE




                                                                           Page 472 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 473 of 3500
                                                                                                                      Creditor Matrix

Creditor Name                             Address1                                    Address2                                     Address3   Address4             City         State   PostalCode   Country
ANTHONY VAZQUEZ MARTINEZ                  ADDRESS ON FILE
ANTHONY VEGA HERNANDEZ                    ADDRESS ON FILE
ANTHONY VELEZ CORA                        LCDA. TERESITA MERCADO VIZCARRONDO          PO BOX 70244                                                                 SAN JUAN     PR      00936‐8244
                                                                                                                                              Ponce DE LEON OFIC
ANTHONY VELEZ CORA                        LCDO. LUIS E. GERVITZ CARBONELL                EDIF NATIONAL PLAZA                       431 AVE    1607                 SAN JUAN     PR      00917
ANTHONY VELEZ GONZALEZ                    ADDRESS ON FILE
ANTHONY VILLOT REYES                      ADDRESS ON FILE
ANTHONY W SANTIAGO CARTAGENA              ADDRESS ON FILE
ANTHONY W SLAUGHTER MORALES               ADDRESS ON FILE
ANTHONY WILLIAM PINEIRO OCASIO            ADDRESS ON FILE
ANTHONY Y NUNEZ MACHIN                    ADDRESS ON FILE
ANTHONY Y NUNEZ MACHIN                    ADDRESS ON FILE
ANTHONY Y YRIMIA HERRERA                  ADDRESS ON FILE
ANTHONY, DIANA M                          ADDRESS ON FILE
ANTHONY, TORRES                           ADDRESS ON FILE
ANTI FIRE OF PR INC                       PO BOX 140219                                                                                                            ARECIBO      PR      00614
ANTI FIRE OF PR, INC.                     CARR. #2 KM. 62.8 BO. CANDELARIA                                                                                         ARECIBO      PR      00612‐0000
ANTIFIRE OF PR                            PO BOX 140219                                                                                                            ARECIBO      PR      00614
ANTIGUA, CARMEN                           ADDRESS ON FILE
ANTIGUA, CARMEN                           ADDRESS ON FILE
ANTILLAS DISCOUNT CENTER, INC.            AVE MIRAMAR 523                                                                                                          ARECIBO      PR      00612
ANTILLAS EXTERMINATING SERVICES INC.      CALLE ONEILL G‐4                                                                                                         SAN JUAN     PR      00918‐2301
ANTILLES BRANDS INC                       P O BOX 4829                                                                                                             CAROLINA     PR      00984‐4829
ANTILLES CARPET                           PO BOX 366228                                                                                                            SAN JUAN     PR      00936‐6228
ANTILLES CLEANING SERVICES                PO BOX 362617                                                                                                            SAN JUAN     PR      00936‐2617
ANTILLES ELECTRIC AND ILLUMINATION EXP.   P.O. BOX 10306                                                                                                           SAN JUAN     PR      00922‐0306
Antilles Insurance Company                Attn: Jaime Gonzalez, Circulation of Risk      PO Box 9023507                                                            San Juan     PR      90235‐902
Antilles Insurance Company                Attn: Jaime Gonzalez, Consumer Complaint ContaPO Box 9023507                                                             San Juan     PR      90235‐902
Antilles Insurance Company                Attn: Jaime Gonzalez, Premiun Tax Contact      PO Box 9023507                                                            San Juan     PR      90235‐902
Antilles Insurance Company                Attn: Jaime Gonzalez, Regulatory Compliance GovPO Box 9023507                                                            San Juan     PR      90235‐902
Antilles Insurance Company                Attn: Jaime J. Gonzalez, President             PO Box 9023507                                                            San Juan     PR      90235‐902
Antilles Insurance Company                P.O. Box 9023752                                                                                                         San Juan     PR      00902‐3752
ANTILLES OFFICE & SCHOOL SUPPLY           PO BOX 3474                                                                                                              MANATI       PR      00674‐3474
ANTILLES OFFICE SUPPLY                    PO BOX 3474                                                                                                              MANATI       PR      00674
ANTILLES OFFICE SUPPLY                    PO Box 3474 Manatí                                                                                                       Manatí       PR      00674
ANTILLES POWER DEPOT                      BO MARTIN GONZALEZ                             1000 CARR 860                                                             CAROLINA     PR      00987‐7187
ANTILLES POWER DEPOT INC                  PO BOX 810190                                                                                                            CAROLINA     PR      00981‐0190
ANTILLES PULMONARY SLEEP HEALTH CARE      GALERIA PASEOS                                 100 GRAND PASEO BLVD STE 112 PMB 182                                      SAN JUAN     PR      00926‐5955
ANTILLES ROOFING CO INC                   PO BOX 363145                                                                                                            SAN JUAN     PR      00936
ANTILLES SIGNS                            PO BOX 813                                                                                                               BAYAMON      PR      00960‐0813
ANTOGIORGI COLOM, EDWIN                   ADDRESS ON FILE
ANTOHONY ROMAN RESTO                      ADDRESS ON FILE
ANTOINE DE PUERTO RICO INC                PO BOX 193883                                                                                                            SAN JUAN     PR      00919
ANTOINETTE CORES                          ADDRESS ON FILE
ANTOINETTE H SHERMAN GUAJARDO             ADDRESS ON FILE
ANTOLIANO TORRES RODRIGUEZ                ADDRESS ON FILE
ANTOLIN ALVAREZ PONT                      ADDRESS ON FILE
ANTOLIN GONZALEZ RIVERA                   ADDRESS ON FILE
Antolin J. Alvarez Pont                   Ave. Ponce de Leon, Ofic. 213                                                                                            Santurce     PR      00909
ANTOLIN TORRES CASTRO                     ADDRESS ON FILE
ANTOLINO VELEZ RIOS                       ADDRESS ON FILE
ANTOMATTEI, AGUSTIN                       ADDRESS ON FILE
ANTOMMARCHI BONILLA, LUZ E                ADDRESS ON FILE
ANTOMMARCHI RIVERA, LUIS                  ADDRESS ON FILE
ANTOMMATTEI PEREZ, OSCAR                  ADDRESS ON FILE
ANTOMMATTEI TORRES MD, EDWIN B            ADDRESS ON FILE
ANTOMPIETRI MORALES, MARIA T              ADDRESS ON FILE
ANTOMPIETRI NIEVES, PAUL                  ADDRESS ON FILE
ANTOMPIETRI SOTO, ANGIE                   ADDRESS ON FILE
ANTOMPIETRI SOTO, IRMAHE                  ADDRESS ON FILE




                                                                                                                    Page 473 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 474 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANTOMPIETRI TRUJILLO, OSVALDO      ADDRESS ON FILE
ANTON INC.                         PO BOX 487                                                                       ISABELA      PR      00662
ANTON LUCENA, RICARDO              ADDRESS ON FILE
ANTONETTI ANTUNA, ANETTE           ADDRESS ON FILE
ANTONETTI AVILES, DANIEL           ADDRESS ON FILE
ANTONETTI CAMERON, OSWALD          ADDRESS ON FILE
ANTONETTI CARMONA, LUIS            ADDRESS ON FILE
ANTONETTI CHEVRES, GUSTAVO         ADDRESS ON FILE
ANTONETTI CHEVRES, RICARDO         ADDRESS ON FILE
ANTONETTI DE CUBILLE, CALIXTA P    ADDRESS ON FILE
ANTONETTI GARCIA, MARIA CRISTINA   ADDRESS ON FILE
ANTONETTI GARCIA, MARIA CRISTINA   ADDRESS ON FILE
ANTONETTI GOMEZ, NOELYS D          ADDRESS ON FILE
ANTONETTI LABOY, HERMINIA          ADDRESS ON FILE
ANTONETTI MONTAQEZ, WANDA          ADDRESS ON FILE
ANTONETTI ORTIZ, ADOLFO            ADDRESS ON FILE
ANTONETTI ORTIZ, AIDA              ADDRESS ON FILE
ANTONETTI ORTIZ, ISMAEL            ADDRESS ON FILE
ANTONETTI ORTIZ, LUZ               ADDRESS ON FILE
ANTONETTI STUTTS, SALVADOR         ADDRESS ON FILE
ANTONETTI TIRADO, ALEJANDRA        ADDRESS ON FILE
ANTONETTI, DENISSE                 ADDRESS ON FILE
ANTONETTI, DEVON V                 ADDRESS ON FILE
ANTONETTY CARTAGENA, MARIA E       ADDRESS ON FILE
ANTONETTY CLAUDELLS, MARIO J       ADDRESS ON FILE
ANTONETTY DIAMANTE, ELVIRA         ADDRESS ON FILE
ANTONETTY GARRIGA, EDGARDO         ADDRESS ON FILE
ANTONETTY GONZALEZ, ALLEN          ADDRESS ON FILE
ANTONETTY GONZALEZ, ARLENE         ADDRESS ON FILE
ANTONETTY GONZALEZ, JUANA M        ADDRESS ON FILE
Antonetty Gonzalez, Misael         ADDRESS ON FILE
ANTONETTY GONZALEZ, ROSA A         ADDRESS ON FILE
ANTONETTY LEBRON, GLORIANN         ADDRESS ON FILE
ANTONETTY ORTIZ, NESTOR            ADDRESS ON FILE
ANTONETTY RODRIGUEZ, JAVIER        ADDRESS ON FILE
ANTONETTY RODRIGUEZ, VIRGEN        ADDRESS ON FILE
ANTONETTY ROSA, ROSA M.            ADDRESS ON FILE
ANTONETTY SANTIAGO, ABRAHAM        ADDRESS ON FILE
ANTONETTY VELEZ, EDERLINDA         ADDRESS ON FILE
ANTONETTY VELEZ, ELIZABETH         ADDRESS ON FILE
ANTONEY DIAMANTE, ELVIRA           ADDRESS ON FILE
ANTONGIORGI ANAYA, JOSE            ADDRESS ON FILE
ANTONGIORGI ARCE, JORGE I          ADDRESS ON FILE
ANTONGIORGI BUCHHOLZ, NOEL R.      ADDRESS ON FILE
ANTONGIORGI CONCEPCION, IRIS       ADDRESS ON FILE
ANTONGIORGI DE ECHEGARAY, DANIEL   ADDRESS ON FILE
ANTONGIORGI DE, DANIEL             ADDRESS ON FILE
ANTONGIORGI DELGADO, SORAMINA      ADDRESS ON FILE
ANTONGIORGI GARCIA, ERIKA          ADDRESS ON FILE
ANTONGIORGI GARCIA, MARIA          ADDRESS ON FILE
ANTONGIORGI JUSINO, BALINDA        ADDRESS ON FILE
ANTONGIORGI LOPEZ, LYDIA           ADDRESS ON FILE
ANTONGIORGI ORTIZ, EDUARDO         ADDRESS ON FILE
ANTONGIORGI ORTIZ, RUTH            ADDRESS ON FILE
ANTONGIORGI PEREZ, JORGE           ADDRESS ON FILE
ANTONGIORGI RODRIGUEZ, XIOMARA     ADDRESS ON FILE
Antongiorgi Roman, Waldemar        ADDRESS ON FILE
ANTONGIORGI ROMAN, WALDEMAR        ADDRESS ON FILE
ANTONGIORGI SANTIAGO, DEBORAH      ADDRESS ON FILE




                                                                               Page 474 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 475 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3         Address4   City         State   PostalCode   Country
                                                                                                  1353 AVE. LUIS
ANTONGIORGI SANTIAGO, DEBORAH           YARLENE JIMENEZ ROSARIO   PMB‐133                         VIGOREAUZ                   GUAYNABO     PR      00966‐2700
ANTONGIORGI ZENON, GINA F.              ADDRESS ON FILE
ANTONGIORGI, EVELYN                     ADDRESS ON FILE
ANTONGIORGIE ROSAS, PRIMITIVA           ADDRESS ON FILE
ANTONIA A FIGUEIRAS REVUELTA            ADDRESS ON FILE
ANTONIA A PADILLA GUTIERREZ             ADDRESS ON FILE
ANTONIA ARIAS GIL                       ADDRESS ON FILE
ANTONIA AYALA HERNANDEZ                 ADDRESS ON FILE
ANTONIA BARRERAS ROJAS & MANUEL DURAN   ADDRESS ON FILE
ANTONIA BARRETO COLON                   ADDRESS ON FILE
ANTONIA BETANCOURT, MARIA               ADDRESS ON FILE
ANTONIA CALDERO LOPEZ                   ADDRESS ON FILE
ANTONIA CARRASQUILLO QUINONES           ADDRESS ON FILE
ANTONIA CARRERO                         ADDRESS ON FILE
ANTONIA CRUZ LOZADA                     ADDRESS ON FILE
ANTONIA CRUZ QUIRINDONGO                ADDRESS ON FILE
ANTONIA DE JESUS CORA                   ADDRESS ON FILE
ANTONIA DE JESUS RAMIREZ                ADDRESS ON FILE
ANTONIA DE PAULA ROLON CRUZ             ADDRESS ON FILE
ANTONIA DELGADO TORRES                  ADDRESS ON FILE
ANTONIA DIAZ OBEN                       ADDRESS ON FILE
ANTONIA DOMINGUEZ COUVERTIER            ADDRESS ON FILE
ANTONIA DONES GONZALEZ                  ADDRESS ON FILE
ANTONIA DONES GONZALEZ                  ADDRESS ON FILE
ANTONIA FERNANDEZ MEDINA                ADDRESS ON FILE
ANTONIA GONZALEZ MARTINEZ               ADDRESS ON FILE
ANTONIA GONZALEZ ROSARIO                ADDRESS ON FILE
Antonia Gonzalez Tomassini              ADDRESS ON FILE
ANTONIA GONZALEZ VILLARUBIA             ADDRESS ON FILE
ANTONIA GUILLOT                         ADDRESS ON FILE
ANTONIA HERNANDEZ MARTINEZ              ADDRESS ON FILE
ANTONIA I NIEVES SANCHEZ                ADDRESS ON FILE
ANTONIA IRIZARRY TORRES                 ADDRESS ON FILE
ANTONIA J TORRES SANTANA                ADDRESS ON FILE
ANTONIA LACEN                           ADDRESS ON FILE
ANTONIA LLANOS GARCIA                   ADDRESS ON FILE
ANTONIA LOPEZ DIAZ                      ADDRESS ON FILE
ANTONIA LOPEZ GONZALEZ                  ADDRESS ON FILE
ANTONIA LUGO                            ADDRESS ON FILE
ANTONIA LUGO RODRIGUEZ                  ADDRESS ON FILE
ANTONIA M ALBIZU MERCED                 ADDRESS ON FILE
ANTONIA M ARROYO/ELAINE PAGES           ADDRESS ON FILE
ANTONIA MARIA NIEVES MATIAS             ADDRESS ON FILE
ANTONIA MARQUEZ MARQUEZ                 ADDRESS ON FILE
ANTONIA MARTINEZ QUINONES               ADDRESS ON FILE
ANTONIA MARTINEZ RODRIGUEZ              ADDRESS ON FILE
ANTONIA MEDINA SOLER                    ADDRESS ON FILE
ANTONIA MENDEZ ORTEGA                   ADDRESS ON FILE
ANTONIA MENDEZ ORTEGA                   ADDRESS ON FILE
ANTONIA MESIAS ROMERO                   ADDRESS ON FILE
ANTONIA MONTANEZ MORALES                ADDRESS ON FILE
ANTONIA MUNOZ ORTIZ                     ADDRESS ON FILE
ANTONIA MURIEL RODRIGUEZ                ADDRESS ON FILE
ANTONIA NATAL RIVERA                    ADDRESS ON FILE
ANTONIA NIEVES NIEVES                   ADDRESS ON FILE
ANTONIA OLIVERAS COLON                  ADDRESS ON FILE
ANTONIA OQUENDO BONET                   ADDRESS ON FILE
ANTONIA ORENGO RUIZ                     ADDRESS ON FILE
ANTONIA ORTEGA MAYSONET                 ADDRESS ON FILE




                                                                                    Page 475 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 476 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANTONIA ORTIZ LOPEZ               ADDRESS ON FILE
ANTONIA ORTIZ LOZADA              ADDRESS ON FILE
ANTONIA ORTIZ ORTIZ               ADDRESS ON FILE
ANTONIA P ANDERSON                ADDRESS ON FILE
ANTONIA P DE JESUS                ADDRESS ON FILE
ANTONIA PABON TORRES              ADDRESS ON FILE
ANTONIA PACHECO CARABALLO         ADDRESS ON FILE
ANTONIA PACHECO RIVERA            ADDRESS ON FILE
ANTONIA PEREZ DE JESUS            ADDRESS ON FILE
Antonia Perez Ramos               ADDRESS ON FILE
ANTONIA PEREZ RIVERA              ADDRESS ON FILE
ANTONIA QUINONES RODRIGUEZ        ADDRESS ON FILE
ANTONIA RABELL MEDINA             ADDRESS ON FILE
ANTONIA RAMIREZ VELEZ             ADDRESS ON FILE
ANTONIA RESTO OJEDA               ADDRESS ON FILE
ANTONIA REYES DIAZ                ADDRESS ON FILE
ANTONIA RIVERA CANDELARIA         ADDRESS ON FILE
ANTONIA RIVERA ENCARNACION        ADDRESS ON FILE
ANTONIA RIVERA FIGUEROA           ADDRESS ON FILE
ANTONIA RIVERA MOJICA             ADDRESS ON FILE
ANTONIA RIVERA MORALES            ADDRESS ON FILE
ANTONIA RODRGUEZ RODRIGUEZ        ADDRESS ON FILE
ANTONIA RODRIGUEZ BRUNO           ADDRESS ON FILE
ANTONIA RODRIGUEZ CORREA          ADDRESS ON FILE
ANTONIA RODRIGUEZ HERRERA         ADDRESS ON FILE
ANTONIA RODRIGUEZ MATOS           ADDRESS ON FILE
ANTONIA RODRIGUEZ OLIVIERI        ADDRESS ON FILE
ANTONIA RODRIGUEZ RIVERA          ADDRESS ON FILE
ANTONIA RODRIGUEZ RIVERA          ADDRESS ON FILE
ANTONIA ROLDAN GARCIA             ADDRESS ON FILE
ANTONIA ROSA SANTANA              ADDRESS ON FILE
Antonia Rosado Marquez            ADDRESS ON FILE
Antonia Rosado Marquéz            ADDRESS ON FILE
ANTONIA SALAS TORRES              ADDRESS ON FILE
ANTONIA SANTIAGO RODRIGUEZ        ADDRESS ON FILE
ANTONIA SMAIME                    ADDRESS ON FILE
ANTONIA SMAIME                    ADDRESS ON FILE
ANTONIA SOTO MARTINEZ             ADDRESS ON FILE
ANTONIA TIRADO VAZQUEZ            ADDRESS ON FILE
ANTONIA TOLEDO ROSARIO            ADDRESS ON FILE
ANTONIA TORRES CABRERA            ADDRESS ON FILE
ANTONIA TORRES HERNANDEZ          ADDRESS ON FILE
ANTONIA TORRES NIEVES             ADDRESS ON FILE
ANTONIA V ADROVER MUNTANER        ADDRESS ON FILE
ANTONIA VARGAS GARCIA             ADDRESS ON FILE
ANTONIA VELEZ CARAZO              ADDRESS ON FILE
ANTONIA VILLAFANE DEL VALLE       ADDRESS ON FILE
ANTONIE JEAN DE MARSILY           ADDRESS ON FILE
ANTONIIO A. HERNANDEZ ALMODOVAR   ADDRESS ON FILE
ANTONIL MORALES FERNANDEZ         ADDRESS ON FILE
ANTONINI GONZALEZ, AUDBERTO       ADDRESS ON FILE
ANTONINI MONTES, JESSICA          ADDRESS ON FILE
ANTONINI NAZARIO, RAMON           ADDRESS ON FILE
ANTONINI RODRIGUEZ, ANGELA L      ADDRESS ON FILE
ANTONINO GARCIA, GEORGE           ADDRESS ON FILE
ANTONINOS PIZZA                   41 CALLE MUNOZ RIVERA                                                            SALINAS      PR      00751
ANTONIO A ADORNO GONZALEZ         ADDRESS ON FILE
ANTONIO A JUARBE ANDUJAR          ADDRESS ON FILE
ANTONIO A MARQUEZ                 ADDRESS ON FILE
ANTONIO A ORTA GONZALEZ           ADDRESS ON FILE




                                                                              Page 476 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 477 of 3500
                                                                                                           Creditor Matrix

Creditor Name                          Address1                                Address2                                 Address3        Address4             City          State   PostalCode   Country
ANTONIO A ORTIZ CORIANO                ADDRESS ON FILE
ANTONIO A ORTIZ PABON                  ADDRESS ON FILE
ANTONIO A TORRES GONZALEZ              ADDRESS ON FILE
ANTONIO A. SANCHEZ COLON               ADDRESS ON FILE
ANTONIO ACEVEDO COLON                  ADDRESS ON FILE
ANTONIO ACEVEDO MELENDEZ               ADDRESS ON FILE
ANTONIO ACEVEDO SANTIAGO               ADDRESS ON FILE
ANTONIO ACEVEDO SIERRA                 ADDRESS ON FILE
ANTONIO ADROVER ROBLES                 ADDRESS ON FILE
ANTONIO ADROVER ROBLES                 ADDRESS ON FILE
ANTONIO ADROVER ROBLES                 ADDRESS ON FILE
ANTONIO ADROVER ROBLES                 ADDRESS ON FILE
ANTONIO AGOSTO FEBO                    ADDRESS ON FILE
ANTONIO AGUILAR DIAZ                   ADDRESS ON FILE
ANTONIO ALEMAN MORALES                 ADDRESS ON FILE
ANTONIO ALFINES RIOS                   ADDRESS ON FILE
ANTONIO ALICEA RESTO                   ADDRESS ON FILE
ANTONIO ALICEA SANCHEZ                 ADDRESS ON FILE
Antonio Alonso Garcia                  ADDRESS ON FILE
ANTONIO ALTAGRACIA TARDY               ADDRESS ON FILE
ANTONIO ALTAGRACIA TARDY               ADDRESS ON FILE
ANTONIO ALVAREZ                        ADDRESS ON FILE
ANTONIO ALVAREZ GARRIGA                ADDRESS ON FILE
ANTONIO ALVAREZ MEDINA                 ADDRESS ON FILE
ANTONIO APONTE CRUZ                    ADDRESS ON FILE
ANTONIO APONTE NUÐEZ                   ADDRESS ON FILE
ANTONIO APONTE NUNEZ                   ADDRESS ON FILE
ANTONIO APONTE REYES                   ADDRESS ON FILE
ANTONIO APONTE/ WANDA BERRIOS          ADDRESS ON FILE
ANTONIO ARCE Y/O BLANCA I ROMAN        ADDRESS ON FILE
ANTONIO AVILES MENDEZ                  ADDRESS ON FILE
ANTONIO AVILES NIETO                   ADDRESS ON FILE
ANTONIO B GUERNICA OYARZUN             ADDRESS ON FILE
ANTONIO B VELAZQUEZ BRUNO              ADDRESS ON FILE
ANTONIO BARRETO NUNEZ                  ADDRESS ON FILE
ANTONIO BARRETO, ADELSO J.             ADDRESS ON FILE
ANTONIO BARRETO, PABLO                 ADDRESS ON FILE
ANTONIO BAUZA TORRES                   ADDRESS ON FILE
ANTONIO BEAZ DIAZ                      ADDRESS ON FILE
ANTONIO BENVENNUTTI TORO               ADDRESS ON FILE
ANTONIO BERRIOS LATORRE                ADDRESS ON FILE
ANTONIO BERRIOS LATORRE                ADDRESS ON FILE
ANTONIO BETANCOURT MARQUEZ             ADDRESS ON FILE
ANTONIO BISBAL BULTON [N/E: 685.931]   RENUNCIARION TODOS

ANTONIO BISBAL BULTRÓN                 LCDA. CELINA ROMANY                     WESTERNBANK PLAZA                        SUITE 1500      268 MUÑOZ RIVERA AVE. SAN JUAN     PR      00918
ANTONIO BISONO / CARMEN L RODRIGUEZ    ADDRESS ON FILE
ANTONIO BONILLA VILLANUEVA             ADDRESS ON FILE
ANTONIO BONNET VARGAS                  ADDRESS ON FILE
ANTONIO BONNET VARGAS                  ADDRESS ON FILE
ANTONIO BONOME PROENZA                 ADDRESS ON FILE
ANTONIO BORGES DE JESUS                ADDRESS ON FILE
ANTONIO BORRAS BORRERO                 RAFAEL RIVERA SÁNCHEZ                   PO BOX 191884                                                                 SAN JUAN      PR      00919‐1884
ANTONIO BORRAS BORRERO                 RUBÉN MORALESTAMBIÉN REPRESENTAN A IVEL RUBÉN MORALES OLIVERAS LAW OFFICE        3D‐46 AMAPOLA   LOMAS VERDES         Bayamón       PR      00956
ANTONIO BORRERO MUNIZ                  ADDRESS ON FILE
ANTONIO BOU CORDOVA                    ADDRESS ON FILE
ANTONIO BRANUELAS SUAREZ               ADDRESS ON FILE
ANTONIO BRUNO                          ADDRESS ON FILE
ANTONIO BURGOS FIGUEROA                ADDRESS ON FILE
ANTONIO BUSQUETS LLORENS               ADDRESS ON FILE




                                                                                                          Page 477 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 478 of 3500
                                                                                       Creditor Matrix

Creditor Name                      Address1                     Address2                            Address3        Address4   City         State   PostalCode   Country
ANTONIO BUSTILLO FORMOSO           ADDRESS ON FILE
ANTONIO C CAMUNAS AXTMANN          ADDRESS ON FILE
ANTONIO C REYES RAMIREZ            ADDRESS ON FILE
ANTONIO CABAN ORTIZ                ADDRESS ON FILE
ANTONIO CABRERA TIRADO             ADDRESS ON FILE
ANTONIO CALAFELL MENENDEZ          ADDRESS ON FILE
ANTONIO CANDELARIA BONILLA         ADDRESS ON FILE
ANTONIO CAPO                       ADDRESS ON FILE
ANTONIO CARIRE LOPEZ               ADDRESS ON FILE
ANTONIO CARRASQUILLO CRUZ          ADDRESS ON FILE
ANTONIO CARRASQUILLO PEREZ         ADDRESS ON FILE
ANTONIO CARREJER PIQUER            ADDRESS ON FILE
ANTONIO CARREJER PIQUER            ADDRESS ON FILE
ANTONIO CARRERAS SEBASTIAN         ADDRESS ON FILE
ANTONIO CARRERO                    ADDRESS ON FILE
ANTONIO CARRERO VARGAS             ADDRESS ON FILE
ANTONIO CARRION SERRANO            ADDRESS ON FILE
ANTONIO CARRION VALDES             ADDRESS ON FILE
ANTONIO CARTAGENA                  ADDRESS ON FILE
ANTONIO CASTILLO                   ADDRESS ON FILE
ANTONIO CASTILLO CASTILLO          ADDRESS ON FILE
ANTONIO CATALA DE JESUS            ADDRESS ON FILE
ANTONIO CATALA FIGUEROA            ADDRESS ON FILE
ANTONIO CEDENO MEDINA              ADDRESS ON FILE
ANTONIO CHEESEBOROUGH, ELEANOR M   ADDRESS ON FILE
ANTONIO CHEVERE CARDONA            ADDRESS ON FILE
ANTONIO CINTRON GARCIA             ADDRESS ON FILE
ANTONIO COLON ALEJANDRO            ADDRESS ON FILE
ANTONIO COLON OLIVENCIA            ADDRESS ON FILE
ANTONIO COLON PAGAN                ADDRESS ON FILE
ANTONIO COLON RODRIGUEZ            ADDRESS ON FILE
ANTONIO COLON SANTIAGO             CHRISTIAN FRANCIS MARTINEZ   PO BOX 267                                                     CAGUAS       PR      00726
ANTONIO CORDERO CRUZADO            ADDRESS ON FILE
ANTONIO CORDERO MERCADO            ADDRESS ON FILE
ANTONIO CORTES VARGAS              ADDRESS ON FILE
ANTONIO COSME CALDERON             HUMBERTO F. COBO ESTRELLA    COBO‐ESTRELLA H LAW                 PO BOX 366451              SAN JUAN     PR      00936
ANTONIO COSME ORTEGA               ADDRESS ON FILE
ANTONIO COTTO AGUIRRE              ADDRESS ON FILE
ANTONIO CRESPO RESTO               ADDRESS ON FILE
ANTONIO CRESPO SEDA                ADDRESS ON FILE
ANTONIO CRESPO SOTO                ADDRESS ON FILE
ANTONIO CRESPO VELAZQUEZ           PO BOX 360401                                                                               SAN JUAN     PR      00938
ANTONIO CRUZ ALVERIO               ADDRESS ON FILE
ANTONIO CRUZ BURGOS                ADDRESS ON FILE
ANTONIO CRUZ DIAZ                  ADDRESS ON FILE
ANTONIO CRUZ HERNANDEZ             ADDRESS ON FILE
ANTONIO CRUZ MENDEZ                ADDRESS ON FILE
ANTONIO CRUZ MERCED                ADDRESS ON FILE
ANTONIO CRUZ RIVERA                ADDRESS ON FILE
ANTONIO CRUZ RODRIGUEZ             ADDRESS ON FILE
ANTONIO CRUZ Y MARTA CRUZ          ADDRESS ON FILE
ANTONIO CRUZADO GAUD               ADDRESS ON FILE
ANTONIO CUEBAS TORRES              ADDRESS ON FILE
ANTONIO CUEVAS DELGAO              ADDRESS ON FILE
ANTONIO D CORDERO ANGLERAU         ADDRESS ON FILE
ANTONIO DAVILA MATOS               ADDRESS ON FILE
ANTONIO DAVILA SOTO                ADDRESS ON FILE
ANTONIO DE JESUS GAUTIER           ADDRESS ON FILE
ANTONIO DE JESUS GONZALEZ          ADDRESS ON FILE
ANTONIO DE JESUS SANCHEZ           ADDRESS ON FILE




                                                                                      Page 478 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 479 of 3500
                                                                                           Creditor Matrix

Creditor Name                            Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
ANTONIO DEL VALLE GONZALEZ               ADDRESS ON FILE
ANTONIO DELGADO HUERTAS                  ADDRESS ON FILE
ANTONIO DELGADO PEREZ                    ADDRESS ON FILE
ANTONIO DELGADO RIVERA                   ADDRESS ON FILE
ANTONIO DIAZ ORTIZ                       ADDRESS ON FILE
ANTONIO DIAZ RODRIGUEZ                   ADDRESS ON FILE
ANTONIO DUARTE PINO                      ADDRESS ON FILE
ANTONIO E CANEVARO JULIA                 ADDRESS ON FILE
ANTONIO E DEL VALLE ZURIS                ADDRESS ON FILE
ANTONIO E GONZALEZ PAOLI                 ADDRESS ON FILE
ANTONIO E MALDONADO MENDEZ               ADDRESS ON FILE
ANTONIO E MIRANDA CARMONA                ADDRESS ON FILE
ANTONIO E PEREZ PEREZ                    ADDRESS ON FILE
ANTONIO E RAMOS GONZALEZ                 ADDRESS ON FILE
ANTONIO E RAMOS RODRIGUEZ                ADDRESS ON FILE
ANTONIO E RIVERA ARRIBAS                 ADDRESS ON FILE
ANTONIO E RODRIGUEZ LOPEZ                ADDRESS ON FILE
ANTONIO E ROMERO GOYCO                   ADDRESS ON FILE
ANTONIO E SOSTRE CORREA                  ADDRESS ON FILE
ANTONIO E VILLANUEVA VERA                ADDRESS ON FILE
ANTONIO ECHEVARRIA MERCADO               ADDRESS ON FILE
ANTONIO EGEA DEL VALLE                   ADDRESS ON FILE
ANTONIO ESCALERA ANDINO                  ADDRESS ON FILE
ANTONIO ESCRIBA OLIVER                   ADDRESS ON FILE
ANTONIO ESCUDERO VIERA                   ADDRESS ON FILE
ANTONIO ESMURRIA GONZALEZ                ADDRESS ON FILE
ANTONIO ESPINOSA COLLAZO                 ADDRESS ON FILE
ANTONIO ESTEVES MORALES                  ADDRESS ON FILE
ANTONIO ESTRADA PEREZ                    ADDRESS ON FILE
ANTONIO F GRANADOS NAVEDO                ADDRESS ON FILE
ANTONIO F HERNANDEZ CRUZ/ HG ENERGY      SOLUTIONS CORP            PMB 269 425 CARR 693                                       DORADO       PR      00646
ANTONIO F LAZAGA Y MILAGROS S GALLOZA    ADDRESS ON FILE
ANTONIO F SERBIA MARTINEZ                ADDRESS ON FILE
ANTONIO FALCON                           ADDRESS ON FILE
ANTONIO FALCON RAMOS                     ADDRESS ON FILE
ANTONIO FALCON Y/O HIPOLITA TORRES       ADDRESS ON FILE
ANTONIO FANTAUZZI CAMACHO                ADDRESS ON FILE
ANTONIO FANTAUZZI DIAZ                   ADDRESS ON FILE
ANTONIO FANTAUZZI GEORGE                 ADDRESS ON FILE
ANTONIO FELICIANO LUGO                   ADDRESS ON FILE
ANTONIO FERNANDEZ / CAROLINA BOLIBAR     ADDRESS ON FILE
ANTONIO FERNANDEZ MATOS                  ADDRESS ON FILE
ANTONIO FERNANDEZ QUINONES               ADDRESS ON FILE
ANTONIO FERRER PENA                      ADDRESS ON FILE
ANTONIO FIGUEROA                         ADDRESS ON FILE
ANTONIO FIGUEROA CRUZ                    ADDRESS ON FILE
ANTONIO FIGUEROA GONZALEZ                ADDRESS ON FILE
ANTONIO FIGUEROA LOPEZ                   ADDRESS ON FILE
ANTONIO FIGUEROA NIEVES                  ADDRESS ON FILE
ANTONIO FIGUEROA REY / EDISON ENERGY ENG HC 2 BOX 9658                                                                        GUAYNABO     PR      00971
ANTONIO FIGUEROA RIVERA                  ADDRESS ON FILE
ANTONIO FIGUEROA RODRIGUEZ               ADDRESS ON FILE
ANTONIO FLORES PONCE                     ADDRESS ON FILE
ANTONIO FONTANEZ AYALA                   ADDRESS ON FILE
ANTONIO FRANCIS                          ADDRESS ON FILE
ANTONIO FRANCO CARRION                   ADDRESS ON FILE
ANTONIO FUENTES FIGUEROA                 ADDRESS ON FILE
ANTONIO FUENTES TORRES                   ADDRESS ON FILE
ANTONIO G MELENDEZ COLON                 ADDRESS ON FILE
ANTONIO G ORTIZ MARCANO                  ADDRESS ON FILE




                                                                                          Page 479 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 480 of 3500
                                                                                                      Creditor Matrix

Creditor Name                         Address1                          Address2                                   Address3      Address4   City         State   PostalCode   Country
ANTONIO G REYES SANCHEZ               ADDRESS ON FILE
ANTONIO G SOTOMAYOR RIVERA            ADDRESS ON FILE
ANTONIO G TRINIDAD WRIGHT             ADDRESS ON FILE
ANTONIO GARCIA SERRANO                ADDRESS ON FILE
ANTONIO GARCIA VELEZ                  ADDRESS ON FILE
ANTONIO GARCIA VELEZ                  ADDRESS ON FILE
ANTONIO GNOCCHI FRANCO                ADDRESS ON FILE
ANTONIO GOMEZ Y/O VICTORIA MARCIAL    ADDRESS ON FILE
ANTONIO GOMEZ, BISMAILYS G            ADDRESS ON FILE
ANTONIO GONZALEZ CAMUY                ADDRESS ON FILE
ANTONIO GONZALEZ DAVILA               ADDRESS ON FILE
ANTONIO GONZALEZ LARACUENTE           ADDRESS ON FILE
ANTONIO GONZALEZ LOPEZ                ADDRESS ON FILE
ANTONIO GONZALEZ LORENZO              ADDRESS ON FILE
ANTONIO GONZALEZ MEDINA               ADDRESS ON FILE
ANTONIO GONZALEZ MENDEZ               ADDRESS ON FILE
ANTONIO GONZALEZ PENA                 ADDRESS ON FILE
ANTONIO GONZALEZ RIVERA               ADDRESS ON FILE
ANTONIO GONZALEZ RUIZ                 ADDRESS ON FILE
ANTONIO GONZALEZ TAPIA                ADDRESS ON FILE
ANTONIO GUADALUPE RODRIGUEZ           ADDRESS ON FILE
ANTONIO GUZMAN CALCANO                ADDRESS ON FILE
ANTONIO GUZMAN VELEZ                  ADDRESS ON FILE
ANTONIO H CINTRON TORRES              ADDRESS ON FILE
ANTONIO H CINTRON TORRES              ADDRESS ON FILE
ANTONIO H GOICOCHEA GIL               ADDRESS ON FILE
ANTONIO HERNANDEZ                     ADDRESS ON FILE
ANTONIO HERNANDEZ / JUANA RODRIGUEZ   ADDRESS ON FILE
ANTONIO HERNANDEZ GARCIA              ADDRESS ON FILE
ANTONIO HERNANDEZ GARCIA              ADDRESS ON FILE
ANTONIO HERNANDEZ GOMEZ               ADDRESS ON FILE
ANTONIO HERNANDEZ MATOS               ADDRESS ON FILE
ANTONIO HERNANDEZ MERCADO             ADDRESS ON FILE
ANTONIO HERNANDEZ MORAN               ADDRESS ON FILE
ANTONIO HERNANDEZ PADILLA             ADDRESS ON FILE
ANTONIO HERNANDEZ PEREZ               ADDRESS ON FILE
ANTONIO HERNANDEZ ROMAN               ADDRESS ON FILE
ANTONIO HERNANDEZ SERRANO             ADDRESS ON FILE
ANTONIO HERNANDEZ TIRADO              ADDRESS ON FILE
ANTONIO HERNANDEZ VARGAS              ADDRESS ON FILE
ANTONIO I CRUZ SANTIAGO               ADDRESS ON FILE
ANTONIO I DE JESUS VEGA               ADDRESS ON FILE
ANTONIO I RAMIREZ GUTIERREZ           ADDRESS ON FILE
ANTONIO IBANEZ MARTINEZ               ADDRESS ON FILE
ANTONIO IRIZARRY HERNANDEZ            LCDO. JORGE MARTINEZ LUCIANO      LCDO. JORGE MARTINEZ LUCIANO 513 CALLE JUAN J. JIMENEZ              SAN JUAN     PR      00918
ANTONIO IRIZARRY HERNANDEZ            LCDO. JOSÉ M. BRACETE ALMODÓVAR   LCDO. JOSÉ M. BRACETE ALMODÓVAR           PO BOX 189                YAUCO        PR      00698
ANTONIO J AMADEO MURGA                ADDRESS ON FILE
ANTONIO J AMADEO MURGA                ADDRESS ON FILE
ANTONIO J AMADEO MURGA                ADDRESS ON FILE
ANTONIO J BARCELO HERNANDEZ           ADDRESS ON FILE
ANTONIO J BARCELO HERNANDEZ           ADDRESS ON FILE
ANTONIO J BUSTILLO FORMOSO            ADDRESS ON FILE
ANTONIO J CABAN COLLAZO               ADDRESS ON FILE
ANTONIO J CABRERO MUNIZ               ADDRESS ON FILE
ANTONIO J COLON ORTIZ                 ADDRESS ON FILE
ANTONIO J CUNARRO                     ADDRESS ON FILE
ANTONIO J FAS PACHECO                 ADDRESS ON FILE
ANTONIO J GIL CORDERO                 ADDRESS ON FILE
ANTONIO J GONZALEZ FIOL               ADDRESS ON FILE
ANTONIO J HERNANDEZ ORTIZ             ADDRESS ON FILE




                                                                                                     Page 480 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 481 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANTONIO J MARQUES SABATER       ADDRESS ON FILE
ANTONIO J MUNOZ OLMU INC        PO BOX 192                                                                       SAN JUAN     PR      00902
ANTONIO J NEGRONI CINTRON       ADDRESS ON FILE
ANTONIO J ORTIZ VAZQUEZ         ADDRESS ON FILE
ANTONIO J RAMOS BONILLA         ADDRESS ON FILE
ANTONIO J RODAS VINAS           ADDRESS ON FILE
ANTONIO J ROSARIO DEL RIO       ADDRESS ON FILE
ANTONIO J SANTIAGO VELAZQUEZ    ADDRESS ON FILE
ANTONIO J SANTOS PRATS          ADDRESS ON FILE
ANTONIO J SIFRE SEIN            ADDRESS ON FILE
ANTONIO J SOLER                 ADDRESS ON FILE
ANTONIO J SOTO                  ADDRESS ON FILE
ANTONIO J SUAREZ COLON          ADDRESS ON FILE
ANTONIO J TORRES CENTENO        ADDRESS ON FILE
ANTONIO J VALLE GONZALEZ        ADDRESS ON FILE
ANTONIO J VELEZ MARTINEZ        ADDRESS ON FILE
ANTONIO J VICENS GONZALEZ       ADDRESS ON FILE
ANTONIO J. APONTE SANDELL       ADDRESS ON FILE
ANTONIO J. CECILIO CONDE        ADDRESS ON FILE
ANTONIO J. GALLARDO MENDEZ      ADDRESS ON FILE
ANTONIO J. GONZALEZ FIOL        ADDRESS ON FILE
ANTONIO J. SISCO OQUENDO        ADDRESS ON FILE
ANTONIO JAVIER COLON FIGUEROA   ADDRESS ON FILE
ANTONIO JIMENEZ MENDOZA         ADDRESS ON FILE
ANTONIO JIMENEZ SUAREZ          ADDRESS ON FILE
ANTONIO JOSE BURGOS RODRIGUEZ   ADDRESS ON FILE
ANTONIO JUAN LEON               ADDRESS ON FILE
ANTONIO JUAN TORRES FIGUEROA    ADDRESS ON FILE
ANTONIO JUSINO BOBE             ADDRESS ON FILE
ANTONIO L ANDUJAR SANTIAGO      ADDRESS ON FILE
ANTONIO L AYALA ADORNO          ADDRESS ON FILE
ANTONIO L BENIQUE RUIZ          ADDRESS ON FILE
ANTONIO L BENITEZ CASTRO        ADDRESS ON FILE
ANTONIO L CASES ROSARIO         ADDRESS ON FILE
ANTONIO L CORRETJER HERNANDEZ   ADDRESS ON FILE
ANTONIO L FRANCO MORALES        ADDRESS ON FILE
ANTONIO L GOMEZ ROSA            ADDRESS ON FILE
ANTONIO L JIMENEZ REYES         ADDRESS ON FILE
ANTONIO L LOPEZ LOPEZ           ADDRESS ON FILE
ANTONIO L LOPEZ PEREZ           ADDRESS ON FILE
ANTONIO L MARTINEZ TORRES       ADDRESS ON FILE
ANTONIO L MENDEZ CARTAGENA      ADDRESS ON FILE
ANTONIO L MENDEZ CARTAGENA      ADDRESS ON FILE
ANTONIO L NEGRON ZAYAS          ADDRESS ON FILE
ANTONIO L NEGRON ZAYAS          ADDRESS ON FILE
ANTONIO L OCASIO VAZQUEZ        ADDRESS ON FILE
ANTONIO L OLAZABAL BELLO        ADDRESS ON FILE
ANTONIO L OLAZABAL BELLO        ADDRESS ON FILE
ANTONIO L PEDRAZA MELENDEZ      ADDRESS ON FILE
ANTONIO L RAMIREZ ARROYO        ADDRESS ON FILE
ANTONIO L RIVERA VELEZ          ADDRESS ON FILE
ANTONIO L RODRIGUEZ PADILLA     ADDRESS ON FILE
ANTONIO L ROIG LORENZO          ADDRESS ON FILE
ANTONIO L SANTIAGO TORRES       ADDRESS ON FILE
ANTONIO L SERRANO VELEZ         ADDRESS ON FILE
ANTONIO L TELLADO MATTA         ADDRESS ON FILE
ANTONIO L. GONZALEZ ORTIZ       ADDRESS ON FILE
ANTONIO L. MERLOS SOTOMAYOR     ADDRESS ON FILE
ANTONIO L. ROIG LORENZO         250 AVE. MUÑOZ RIVERA     SUITE 800                                              SAN JUAN     PR      00918‐1813
ANTONIO LEBRON ROLON            ADDRESS ON FILE




                                                                            Page 481 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 482 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANTONIO LEON MATOS                   ADDRESS ON FILE
ANTONIO LLANOS CEPEDA                ADDRESS ON FILE
ANTONIO LOPERENA NIEVES              ADDRESS ON FILE
ANTONIO LOPEZ / ANUNCIACION GRACIA   ADDRESS ON FILE
ANTONIO LOPEZ GARCIA                 ADDRESS ON FILE
ANTONIO LOPEZ HERNANDEZ              ADDRESS ON FILE
ANTONIO LOPEZ JIMENEZ                ADDRESS ON FILE
ANTONIO LOPEZ LAUREANO               ADDRESS ON FILE
ANTONIO LOPEZ MERCEDES               ADDRESS ON FILE
ANTONIO LOPEZ NEGRON                 ADDRESS ON FILE
ANTONIO LOPEZ VICENTE                ADDRESS ON FILE
ANTONIO LOPEZ Y ANA M ORTIZ          ADDRESS ON FILE
ANTONIO LORENZO CASTRO               ADDRESS ON FILE
ANTONIO LORENZO HERNANDEZ            ADDRESS ON FILE
ANTONIO LORENZO SUAREZ               ADDRESS ON FILE
ANTONIO LOZADA RESTO                 ADDRESS ON FILE
ANTONIO LUCIANO HERNANDEZ            ADDRESS ON FILE
ANTONIO LUGO CENTENO                 ADDRESS ON FILE
ANTONIO LUINA CONTRERAS              ADDRESS ON FILE
ANTONIO LUIS CASES ROSARIO           ADDRESS ON FILE
ANTONIO LUIS PABON BATLE             ADDRESS ON FILE
ANTONIO M BENITEZ OCASIO             ADDRESS ON FILE
ANTONIO M CALZADA BETANCOURT         ADDRESS ON FILE
ANTONIO M CINTRON ALMODOVAR          ADDRESS ON FILE
ANTONIO M MORALES BORRERO            ADDRESS ON FILE
ANTONIO M ORTIZ MARRERO              ADDRESS ON FILE
ANTONIO M PORTILLA CINTRON           ADDRESS ON FILE
ANTONIO M SAGARDIA DE JESUS          ADDRESS ON FILE
ANTONIO M VILLAFANE HERNANDEZ        ADDRESS ON FILE
ANTONIO M. SAGARDIA DE JESUS         ADDRESS ON FILE
ANTONIO MAFUZ CORDOVA                ADDRESS ON FILE
ANTONIO MAISONET RODRIGUE            ADDRESS ON FILE
ANTONIO MALDONADO SEDA               ADDRESS ON FILE
ANTONIO MALDONADO VEGA               ADDRESS ON FILE
ANTONIO MANUEL PORTILLA CINTRON      ADDRESS ON FILE
ANTONIO MARCANO CONCEPCION           ADDRESS ON FILE
ANTONIO MARCHANY FAJARDO             ADDRESS ON FILE
ANTONIO MARICHAL APONTE              ADDRESS ON FILE
ANTONIO MARIN AGOSTO                 ADDRESS ON FILE
ANTONIO MARRERO TORRES               ADDRESS ON FILE
ANTONIO MARTELL MATOS                ADDRESS ON FILE
ANTONIO MARTINEZ COLON               ADDRESS ON FILE
ANTONIO MARTINEZ DE LOS SANTOS       ADDRESS ON FILE
ANTONIO MARTINEZ GARCIA              ADDRESS ON FILE
ANTONIO MARTINEZ GASTON              ADDRESS ON FILE
ANTONIO MARTINEZ GONZALEZ            ADDRESS ON FILE
ANTONIO MARTINEZ GONZALEZ            ADDRESS ON FILE
ANTONIO MARTINEZ NATAL               ADDRESS ON FILE
ANTONIO MARTINEZ OJEDA               ADDRESS ON FILE
ANTONIO MARTINEZ ORTIZ               ADDRESS ON FILE
ANTONIO MARTINEZ PEREZ               ADDRESS ON FILE
ANTONIO MARTINEZ ROSALES             ADDRESS ON FILE
ANTONIO MARTINEZ ROSALES             ADDRESS ON FILE
ANTONIO MARTINEZ VARGAS              ADDRESS ON FILE
ANTONIO MATOS VALLE                  ADDRESS ON FILE
ANTONIO MEDINA RIOS                  ADDRESS ON FILE
ANTONIO MELENDEZ FONSECA             ADDRESS ON FILE
ANTONIO MENDEZ NUNEZ                 ADDRESS ON FILE
ANTONIO MERCADO                      ADDRESS ON FILE
ANTONIO MERCADO MEDINA               ADDRESS ON FILE




                                                                                 Page 482 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 483 of 3500
                                                                                       Creditor Matrix

Creditor Name                            Address1                       Address2                    Address3   Address4    City         State   PostalCode   Country
ANTONIO MERCADO RIVERA                   ADDRESS ON FILE
ANTONIO MERCED                           ADDRESS ON FILE
ANTONIO MERCED / CARMEN D MERCED         ADDRESS ON FILE
ANTONIO MILLAN CUEVAS                    ADDRESS ON FILE
ANTONIO MIRO MONTILLA                    ADDRESS ON FILE
ANTONIO MONTALVO / EQUIP BEISBOL CLASE B BO LOS CANOS CARR 651 KM 8 8                                                      ARECIBO      PR      00612
ANTONIO MONTALVO NAZARIO                 ADDRESS ON FILE
ANTONIO MONTALVO NAZARIO                 ADDRESS ON FILE
ANTONIO MONTES GARCIA                    ADDRESS ON FILE
ANTONIO MORALES CRUZ                     ADDRESS ON FILE
ANTONIO MORALES MARTINEZ                 ADDRESS ON FILE
ANTONIO MORALES RIVERA                   ADDRESS ON FILE
ANTONIO MOREDA TOLEDO                    ADDRESS ON FILE
ANTONIO MOUNIER RIVERA                   ADDRESS ON FILE
ANTONIO MOUNIER RIVERA                   ADDRESS ON FILE
ANTONIO MUNIZ CRUZ                       ADDRESS ON FILE
ANTONIO MUNIZ CRUZ                       ADDRESS ON FILE
ANTONIO MUNIZ MATOS                      ADDRESS ON FILE
ANTONIO MUNOZ DIAZ                       ADDRESS ON FILE
ANTONIO MUNOZ LOIZ                       ADDRESS ON FILE
ANTONIO MUNOZ SUAREZ                     ADDRESS ON FILE
ANTONIO N DAJER ABOHASEN                 ADDRESS ON FILE
ANTONIO NEGRON DAVILA                    ADDRESS ON FILE
ANTONIO NEGRON VILLARDEFRANCOS           ADDRESS ON FILE
ANTONIO NIEVES VELEZ                     ADDRESS ON FILE
ANTONIO NUNEZ NUNEZ                      ADDRESS ON FILE
ANTONIO OCASIO OCASIO                    ADDRESS ON FILE
ANTONIO OLIVERAS RIVERA                  ADDRESS ON FILE
ANTONIO ORTEGA DARDET                    ADDRESS ON FILE
ANTONIO ORTEGA DBA ADV CONTRACTORS       RR 07 BOX 16595                                                                   TOA ALTA     PR      00953
ANTONIO ORTEGA MORALES                   ADDRESS ON FILE
ANTONIO ORTEGA ORTIZ                     ADDRESS ON FILE
ANTONIO ORTIZ ALICEA                     ADDRESS ON FILE
ANTONIO ORTIZ PENA                       ADDRESS ON FILE
ANTONIO ORTIZ RODRIGUEZ                  ADDRESS ON FILE
ANTONIO ORTIZ SILVA                      ADDRESS ON FILE
ANTONIO ORTIZ/ JUAN M ORTIZ GUZMAN       ADDRESS ON FILE
ANTONIO OTANO RIVERA                     ADDRESS ON FILE
ANTONIO OTERO ROENA                      ADDRESS ON FILE
ANTONIO PABON SANTIAGO                   ADDRESS ON FILE
ANTONIO PAGAN COLON                      ADDRESS ON FILE
ANTONIO PAUNETO ORTIZ                    ADDRESS ON FILE
ANTONIO PAVIA VILLAMIL                   ADDRESS ON FILE
ANTONIO PEREA ACOSTA                     ADDRESS ON FILE
ANTONIO PEREZ                            ADDRESS ON FILE
ANTONIO PEREZ ALAMO                      ADDRESS ON FILE
ANTONIO PEREZ ALAMO                      ADDRESS ON FILE
ANTONIO PEREZ HILDALDO                   ADDRESS ON FILE
ANTONIO PEREZ MUNIZ                      ADDRESS ON FILE
ANTONIO PEREZ PAGAN, GLORIA MOYA         ADDRESS ON FILE
ANTONIO PEREZ RAMON                      ADDRESS ON FILE
ANTONIO PEREZ SANJURJO                   ADDRESS ON FILE
ANTONIO PEREZ SOTO                       ADDRESS ON FILE
ANTONIO PEREZ, HERNANDEZ                 ADDRESS ON FILE
ANTONIO PI CRUZ                          ADDRESS ON FILE
ANTONIO PI FERNANDEZ                     ADDRESS ON FILE
ANTONIO PITA / PAOLA PITA                ADDRESS ON FILE
ANTONIO PIZARRO ADORNO                   ADDRESS ON FILE
ANTONIO PIZARRO ADORNO                   ADDRESS ON FILE
ANTONIO PIZARRO DE LEON                  ADDRESS ON FILE




                                                                                      Page 483 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 484 of 3500
                                                                                                       Creditor Matrix

Creditor Name                            Address1                                  Address2                         Address3   Address4   City              State   PostalCode   Country
ANTONIO PIZARRO PEREZ                    ADDRESS ON FILE
ANTONIO PLAZA / CLASE GRAD PATRIOTA 2002 19 MUNOZ RIVERA                                                                                  ADJUNTAS          PR      00601
ANTONIO PLUMEY BONILLA                   ADDRESS ON FILE
ANTONIO PRADA MESA                       ADDRESS ON FILE
ANTONIO PRADA MONTENEGRO                 ADDRESS ON FILE
ANTONIO PRESTAMO TORRES                  ADDRESS ON FILE
ANTONIO QUIÐONEZ CALDERON                ADDRESS ON FILE
ANTONIO QUILES FONTANEZ                  ADDRESS ON FILE
ANTONIO QUILICHINI ARBONA                ADDRESS ON FILE
ANTONIO QUINONES CENTENO                 ADDRESS ON FILE
ANTONIO QUINONES MEDINA                  ADDRESS ON FILE
ANTONIO QUINONES MEDINA                  ADDRESS ON FILE
ANTONIO QUINONES RIVERA                  ADDRESS ON FILE
ANTONIO QUINONES SEPULVEDA               ADDRESS ON FILE
ANTONIO QUINONEZ CALDERON                ADDRESS ON FILE
ANTONIO R ALLENDE COLMENERO              ADDRESS ON FILE
ANTONIO R BAZAN                          ADDRESS ON FILE
ANTONIO R COBIAN                         ADDRESS ON FILE
ANTONIO R COLON HUERTAS                  ADDRESS ON FILE
ANTONIO R CONCEPCION VELAZQUEZ           ADDRESS ON FILE
ANTONIO R CRUZ CRUZ                      ADDRESS ON FILE
ANTONIO R DELGADO ROMAN                  ADDRESS ON FILE
ANTONIO R DELGADO ROMAN                  ADDRESS ON FILE
ANTONIO R GONZALEZ SANTOS                ADDRESS ON FILE
ANTONIO R IRIZARRY VELAZQUEZ             ADDRESS ON FILE
ANTONIO R IRIZARRY VELAZQUEZ             ADDRESS ON FILE
ANTONIO R LOPEZ MARTINEZ                 ADDRESS ON FILE
ANTONIO R MUNOZ                          ADDRESS ON FILE
ANTONIO R PENA PEREZ                     ADDRESS ON FILE
ANTONIO R RAMOS VEGA                     ADDRESS ON FILE
ANTONIO R RIVERA PEREZ                   ADDRESS ON FILE
ANTONIO R SANTIAGO MENENDEZ              ADDRESS ON FILE
ANTONIO R SANTOS MARRERO                 ADDRESS ON FILE
ANTONIO R. FONTANELLA LARA               ADDRESS ON FILE
ANTONIO R. MOCZO FIGUEROA                ADDRESS ON FILE
ANTONIO RAMIREZ AGUAYO                   ADDRESS ON FILE
ANTONIO RAMIREZ CORDOVA                  ADDRESS ON FILE
ANTONIO RAMIREZ DE JESUS                 ADDRESS ON FILE
ANTONIO RAMOS CLAUDIO                    ADDRESS ON FILE
ANTONIO RAMOS CUADRADO                   ADDRESS ON FILE
ANTONIO RAMOS DIAZ                       ADDRESS ON FILE
ANTONIO RAMOS MELENDEZ                   ADDRESS ON FILE
ANTONIO RAMOS QUILES                     ADDRESS ON FILE
ANTONIO RAMOS RODRIGUEZ                  ADDRESS ON FILE
ANTONIO RAMOS ROSA                       ADDRESS ON FILE
ANTONIO RAMOS ROSADO                     ADDRESS ON FILE
ANTONIO RAMOS TRUJILLO & HECTOR ALGARIN ADDRESS ON FILE
ANTONIO RAMOS Y MARTHA MARTINEZ          ADDRESS ON FILE
ANTONIO RENT A CAR                       AVE LAS AMERICAS # 16 ALTOS SALIDA AEROPUERTO INT.                                               SANTO DOMINGO                          DR
ANTONIO REQUENA CORDOVA                  ADDRESS ON FILE
ANTONIO REYES GARCIA                     ADDRESS ON FILE
ANTONIO REYES VAZQUEZ                    ADDRESS ON FILE
ANTONIO REYNOSO BETANCOURT               ADDRESS ON FILE
ANTONIO RIERA BENGOECHEA                 URB PUNTA LAS MARIAS                      8 CALLE DONCELLA                                       SAN JUAN          PR      00913‐4719
ANTONIO RIOS COLLAZO                     ADDRESS ON FILE
ANTONIO RIVAS ROSADO                     ADDRESS ON FILE
ANTONIO RIVERA ACEVEDO                   ADDRESS ON FILE
ANTONIO RIVERA BERRIO                    ADDRESS ON FILE
ANTONIO RIVERA BERRIOS                   ADDRESS ON FILE
ANTONIO RIVERA GONZALEZ                  ADDRESS ON FILE




                                                                                                      Page 484 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 485 of 3500
                                                                                        Creditor Matrix

Creditor Name                  Address1                  Address2                                    Address3   Address4   City        State   PostalCode   Country
ANTONIO RIVERA IRIZARRY        ADDRESS ON FILE
ANTONIO RIVERA OCASIO          ADDRESS ON FILE
ANTONIO RIVERA ORTIZ           ADDRESS ON FILE
ANTONIO RIVERA ORTIZ           ADDRESS ON FILE
ANTONIO RIVERA RIVERA          ADDRESS ON FILE
ANTONIO RIVERA RIVERA          ADDRESS ON FILE
ANTONIO RIVERA SANTIAGO        ADDRESS ON FILE
ANTONIO RIVERA TAðON           ADDRESS ON FILE
ANTONIO RIVERA TANON           ADDRESS ON FILE
ANTONIO RIVERA TANON           ADDRESS ON FILE
ANTONIO RIVERA VAZQUEZ         ADDRESS ON FILE
ANTONIO RIVERA VAZQUEZ         ADDRESS ON FILE
ANTONIO RIVERA VELÁZQUEZ       MINELLY MIRANDA VÉLEZ     101‐3 CALLE ESTEBAN PADILLA                                       Bayamón     PR      00959
ANTONIO RIVERA Y LYDIA LOPEZ   ADDRESS ON FILE
ANTONIO ROBLE QUINONES         ADDRESS ON FILE
ANTONIO RODRIGUEZ CARABALLO    ADDRESS ON FILE
ANTONIO RODRIGUEZ CEDENO       ADDRESS ON FILE
ANTONIO RODRIGUEZ COLON        ADDRESS ON FILE
ANTONIO RODRIGUEZ CONCEPCION   ADDRESS ON FILE
ANTONIO RODRIGUEZ CRUZ         ADDRESS ON FILE
ANTONIO RODRIGUEZ MALDONADO    ADDRESS ON FILE
ANTONIO RODRIGUEZ MARRERO      ADDRESS ON FILE
ANTONIO RODRIGUEZ MORALES      ADDRESS ON FILE
ANTONIO RODRIGUEZ NASSAR       ADDRESS ON FILE
ANTONIO RODRIGUEZ QUILES       ADDRESS ON FILE
ANTONIO RODRIGUEZ RIVERA       ADDRESS ON FILE
ANTONIO RODRIGUEZ RODRIGUEZ    ADDRESS ON FILE
ANTONIO RODRIGUEZ TROCHE       ADDRESS ON FILE
ANTONIO RODRIGUEZ VALLE        ADDRESS ON FILE
ANTONIO RODRIGUEZ VARGAS       ADDRESS ON FILE
ANTONIO RODRIGUEZ VELEZ        ADDRESS ON FILE
ANTONIO ROJAS APONTE           ADDRESS ON FILE
ANTONIO ROJAS CONCEPCION       ADDRESS ON FILE
ANTONIO ROJAS CONCEPCION       ADDRESS ON FILE
ANTONIO ROMAN NIEVES           ADDRESS ON FILE
ANTONIO ROMAN NIEVES           ADDRESS ON FILE
ANTONIO ROSA ABRAHAMS          ADDRESS ON FILE
ANTONIO ROSA ABRAHAMS          ADDRESS ON FILE
ANTONIO ROSA ABRAHAMS          ADDRESS ON FILE
ANTONIO ROSADO MARTINEZ        ADDRESS ON FILE
ANTONIO ROSADO OQUENDO         ADDRESS ON FILE
ANTONIO ROSADO PAGAN           ADDRESS ON FILE
ANTONIO ROSADO RIOS            ADDRESS ON FILE
ANTONIO ROSARIO MAISONET       ADDRESS ON FILE
ANTONIO ROSARIO MAYSONET       ADDRESS ON FILE
ANTONIO ROSARIO RODRIGUEZ      ADDRESS ON FILE
ANTONIO ROSARIO SOTO           ADDRESS ON FILE
ANTONIO ROSARIO ZAPATA         ADDRESS ON FILE
ANTONIO RUIZ RUIZ              ADDRESS ON FILE
ANTONIO RUIZ SOTO              ADDRESS ON FILE
ANTONIO RULLAN RUIZ            ADDRESS ON FILE
ANTONIO RULLAN RUIZ            ADDRESS ON FILE
ANTONIO SAAD MARRERO           ADDRESS ON FILE
ANTONIO SAAP NACER             ADDRESS ON FILE
ANTONIO SALDANA                ADDRESS ON FILE
ANTONIO SANCHEZ MARTINEZ       ADDRESS ON FILE
ANTONIO SANCHEZ PRADO          ADDRESS ON FILE
ANTONIO SANCHEZ RIVERA         ADDRESS ON FILE
ANTONIO SANCHEZ SIACA          ADDRESS ON FILE
ANTONIO SANTANA ALVARADO       ADDRESS ON FILE




                                                                                       Page 485 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 486 of 3500
                                                                                                      Creditor Matrix

Creditor Name                      Address1                              Address2                                  Address3   Address4   City          State   PostalCode   Country
ANTONIO SANTANA AVILES             ADDRESS ON FILE
ANTONIO SANTANA SANTIAGO           ADDRESS ON FILE
ANTONIO SANTIAGO GONZALEZ          ADDRESS ON FILE
ANTONIO SANTIAGO GONZALEZ          ADDRESS ON FILE
ANTONIO SANTIAGO OCASIO            ADDRESS ON FILE
ANTONIO SANTIAGO RIVAS             ADDRESS ON FILE
ANTONIO SANTIAGO RIVAS             ADDRESS ON FILE
ANTONIO SANTIAGO SEGUINOT          ADDRESS ON FILE
ANTONIO SANTOS ORTIZ               ADDRESS ON FILE
ANTONIO SANTOS SIERRA              ADDRESS ON FILE
ANTONIO SANTOS VALENTIN            ADDRESS ON FILE
ANTONIO SANZ ORTEGA                ADDRESS ON FILE
ANTONIO SERRANO                    ADDRESS ON FILE
ANTONIO SIERRA HERNANDEZ           ADDRESS ON FILE
ANTONIO SIERRA HERNANDEZ           ADDRESS ON FILE
ANTONIO SILVA RODRIGUEZ            ADDRESS ON FILE
ANTONIO SOLA MARTI                 ADDRESS ON FILE
ANTONIO SOLARES RODRIGUEZ          ADDRESS ON FILE
ANTONIO SOLER CAMACHO              ADDRESS ON FILE
ANTONIO SOTO / AURELIA ORTIZ       ADDRESS ON FILE
ANTONIO SOTO ACEVEDO               ADDRESS ON FILE
ANTONIO SOTO BADILLO               ADDRESS ON FILE
ANTONIO SOTO DIAZ                  ADDRESS ON FILE
ANTONIO SOTO DIAZ                  ADDRESS ON FILE
ANTONIO SOTO LEON                  ADDRESS ON FILE
ANTONIO SOTO RAMOS                 ADDRESS ON FILE
ANTONIO SUAREZ GONZALEZ            ADDRESS ON FILE
ANTONIO T IRIZARRY RUIZ            ADDRESS ON FILE
ANTONIO T MEDINA AVILES            ADDRESS ON FILE
ANTONIO TORRES CRUZ                ADDRESS ON FILE
ANTONIO TORRES CRUZ                ADDRESS ON FILE
ANTONIO TORRES MIRANDA             ADDRESS ON FILE
ANTONIO TORRES MIRANDA             ADDRESS ON FILE
ANTONIO TORRES MONTES              ADDRESS ON FILE
ANTONIO TORRES PEREZ               ADDRESS ON FILE
ANTONIO TORRES RIVERA              ADDRESS ON FILE
ANTONIO V OCASIO                   ADDRESS ON FILE
ANTONIO V PIMENTEL RAMIREZ         ADDRESS ON FILE
ANTONIO VALENTIN GONZALEZ          ADDRESS ON FILE
ANTONIO VALENTIN VEGA              ADDRESS ON FILE
ANTONIO VALLE ARROYO               ADDRESS ON FILE
ANTONIO VALLEJO MUNOZ              ADDRESS ON FILE
ANTONIO VANTAGGIATO PIERINI        ADDRESS ON FILE
ANTONIO VARGAS CARABALLO           ADDRESS ON FILE
ANTONIO VARGAS CARDONA             ADDRESS ON FILE
ANTONIO VARGAS SANTIAGO            ADDRESS ON FILE
ANTONIO VARGAS Y ANA L RODRIGUEZ   ADDRESS ON FILE
ANTONIO VAZQUEZ ADORNO             ADDRESS ON FILE
ANTONIO VAZQUEZ ESQUILIN           ADDRESS ON FILE
ANTONIO VAZQUEZ OLIVENCIA          ADDRESS ON FILE
ANTONIO VEGA FERNÁNDEZ V ELA       LCDA. ALEXANDRA TERESA NOLLA ACOSTA   3051 AVE JUAN HERNANDEZ ORTIZ STE 202                           ISABELA       PR      00662
ANTONIO VEGA FERNÁNDEZ V ELA       LCDA. GLADYS ESTHER ACEVEDO ROBLES    PO BOX 364902                                                   SAN JUAN      PR      00936‐4902
ANTONIO VEGA FERNÁNDEZ V ELA       LCDA. MARÍA E. ROSAS SALGADO          PO BOX 95                                                       AGUADILLA     PR      00605
ANTONIO VEGA FERNÁNDEZ V ELA       LCDO. GERARDO L. SANTIAGO PUIG        DORAL BANK PLAZA 33 CALLE RESOLUCIÓN STE 801                    SAN JUAN      PR      00920
ANTONIO VEGA ORTIZ                 ADDRESS ON FILE
ANTONIO VEGA RUIZ                  ADDRESS ON FILE
ANTONIO VEGA VELAZQUEZ             ADDRESS ON FILE
Antonio Vega Vélez                 ADDRESS ON FILE
ANTONIO VELAZQUEZ CRUZ             ADDRESS ON FILE
ANTONIO VELAZQUEZ QUIRINDONGO      ADDRESS ON FILE




                                                                                                     Page 486 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 487 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ANTONIO VELEZ / ROBERTO VELEZ          ADDRESS ON FILE
ANTONIO VELEZ CABRERA                  ADDRESS ON FILE
ANTONIO VELEZ MARTINEZ                 ADDRESS ON FILE
ANTONIO VELEZ MONTANES                 ADDRESS ON FILE
ANTONIO VILLAFANE RODRIGUEZ            ADDRESS ON FILE
ANTONIO WHATTS TRUJILLO                ADDRESS ON FILE
ANTONIO ZAVALA CALDERON                ADDRESS ON FILE
ANTONIO ZAVALA CALDERON                ADDRESS ON FILE
ANTONIOLY RODRIGUEZ MEDINA             ADDRESS ON FILE
ANTONMARCHI RIVERA, LUIS J.            ADDRESS ON FILE
ANTONMARCHI RODRIGUEZ, LESLIE          ADDRESS ON FILE
ANTONMATTEI DIETRICH MD, ANTONIE       ADDRESS ON FILE
ANTONMATTEI GOITIA, SADI R.            ADDRESS ON FILE
ANTONNETI SANTOS, NELSON               ADDRESS ON FILE
ANTONNETTI AVILES, ORLANDO             ADDRESS ON FILE
Antonnetti Ruiz, Daniel                ADDRESS ON FILE
ANTONNETTY VAZQUEZ, SHAKIRA            ADDRESS ON FILE
ANTONSANTI ARBONA, JAVIER              ADDRESS ON FILE
ANTONSANTI COLON MD, DIANA             ADDRESS ON FILE
Antonsanti Corre, Margarita            ADDRESS ON FILE
ANTONSANTI DAVILA, JULIO L             ADDRESS ON FILE
ANTONSANTI DIAZ, ARMANDO B             ADDRESS ON FILE
ANTONSANTI DIAZ, JUAN R                ADDRESS ON FILE
ANTONSANTI GARCIA, BLANCA I            ADDRESS ON FILE
ANTONSANTI PONS, LUIS                  ADDRESS ON FILE
ANTONSANTI RODRIGUEZ, ARMANDO D        ADDRESS ON FILE
ANTONSANTI RODRIGUEZ, JULIO C          ADDRESS ON FILE
ANTONSANTI RODRIGUEZ, MARIO            ADDRESS ON FILE
ANTONY CAMACHO, HECTOR                 ADDRESS ON FILE
ANTONY DIAZ CRUZ                       ADDRESS ON FILE
ANTONY J VELEZ PACHECO                 ADDRESS ON FILE
ANTONY SIERRA ORTIZ                    ADDRESS ON FILE
ANTONY YADIEL LABOY HERNANDEZ          ADDRESS ON FILE
ANTORCHA MUSIC                         VISTA AZUL                D 1 MARGINAL                                           ARECIBO      PR      00612
ANTRON AVILA, RUBEN D.                 ADDRESS ON FILE
ANTRON GUZMAN, ROSA                    ADDRESS ON FILE
ANTRON, BRAULIO                        ADDRESS ON FILE
ANTTONETTI AGUILAR, DORA               ADDRESS ON FILE
ANTUAN LAZAGA, GALLOZA                 ADDRESS ON FILE
ANTUANEZ PEREZ MD, ELBA                ADDRESS ON FILE
ANTULIO MATIAS RODRIGUEZ               ADDRESS ON FILE
ANTULIO OCASIO TANON                   ADDRESS ON FILE
ANTULIO SANTAROSA E IRIS M SANTAROSA   ADDRESS ON FILE
ANTUNA BERMUDEZ, MARIA                 ADDRESS ON FILE
ANTUNA CAMACHO, WILNELIA               ADDRESS ON FILE
ANTUNA CINTRON MD, JOSE A              ADDRESS ON FILE
ANTUNA CRUZ, JOSE                      ADDRESS ON FILE
ANTUNA DEL MORAL, JOSE                 ADDRESS ON FILE
ANTUNA DIAZ, INOCENCIA                 ADDRESS ON FILE
ANTUNA GONZALEZ, CARMEN                ADDRESS ON FILE
ANTUNA GONZALEZ, DAISY                 ADDRESS ON FILE
ANTUNA GUEVARA, ALICIA                 ADDRESS ON FILE
ANTUNA GUEVARA, ELENA                  ADDRESS ON FILE
ANTUNA LEBRON, ALEXIS                  ADDRESS ON FILE
ANTUNA LEBRON, YESENIA                 ADDRESS ON FILE
ANTUNA MALAVE, NORA                    ADDRESS ON FILE
ANTUNA MARQUEZ, LEONIDES               ADDRESS ON FILE
ANTUNA MORALES, JOHN                   ADDRESS ON FILE
ANTUNA RIVERA, EDMA C                  ADDRESS ON FILE
ANTUNA ROSARIO, CARMEN M               ADDRESS ON FILE




                                                                                   Page 487 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 488 of 3500
                                                                                                            Creditor Matrix

Creditor Name                          Address1                               Address2                                   Address3   Address4   City               State   PostalCode   Country
ANTUNA ROSARIO, RAQUEL                 ADDRESS ON FILE
ANTUNA VELAZQUEZ, DAISY                ADDRESS ON FILE
ANTUNA, CARMELO                        ADDRESS ON FILE
ANTUNES QUILES, GLADYS                 ADDRESS ON FILE
ANTUNEZ DE MAYOLO LOJAS, MARIA         ADDRESS ON FILE
ANTUNEZ DIAZ, MARIA L                  ADDRESS ON FILE
ANTUNEZ GAUD, SYLVIA                   ADDRESS ON FILE
ANTUNEZ GONZALEZ MD, IVAN              ADDRESS ON FILE
ANTUNEZ REYES, EDDIE                   ADDRESS ON FILE
ANTUNEZ SERRANO, JESSICA               ADDRESS ON FILE
ANUNCIOS Y MAS CORP                    PO BOX 360485                                                                                           SAN JUAN           PR      00936
ANY KIND ADVERTISING                   PO BOX 10419                                                                                            SAN JUAN           PR      00922
ANY KIND ADVERTISING INC               AREA DEL TESORO                        DIVISION DE RECLAMACIONES                                        SAN JUAN           PR      00902‐4140
ANY KIND ADVERTISING INC               PO BOX 10419                                                                                            SAN JUAN           PR      00922
ANY KIND ADVERTISING INC
ANY KIND ADVERTISING, INC.             STGO. IGLESIA, 1387 AVE. PAZ GRANELA                                                                    SAN JUAN           PR      00921
ANY PARTS CORP                         RR 4 BOX 3480                                                                                           BAYAMON            PR      00956‐9416
ANYA M GENOVAL OLIVAR                  ADDRESS ON FILE
ANYELINA J. GRULLON ANGELES            ADDRESS ON FILE
ANYRA I PENA MATOS                     ADDRESS ON FILE
ANZA MALDONADO, HECTOR                 ADDRESS ON FILE
ANZALOTA CORDOVA, HIRAM                ADDRESS ON FILE
ANZALOTA CORDOVA, JOSE                 ADDRESS ON FILE
ANZALOTA CRUZ, MIGUEL                  ADDRESS ON FILE
ANZALOTA GUZMAN, JOSE                  ADDRESS ON FILE
ANZALOTA GUZMAN, PATSY                 ADDRESS ON FILE
ANZALOTA SANTIAGO, ADRIANA             ADDRESS ON FILE
ANZUETA ALVARADO, VIRGINIA             ADDRESS ON FILE
ANZUETA COLON, BENERIZAEL              ADDRESS ON FILE
ANZUETA GONZALEZ, JOSUE                ADDRESS ON FILE
ANZUETA SUAREZ, BERLIZ                 ADDRESS ON FILE
AOA TRANSPORT CORP                     PO BOX 50947                                                                                            TOA BAJA           PR      00950‐0947
AOG PROFESSIONAL CONSULTANTS           URB SABANERA DEL RIO                   447 CAMINO DE LOS UCARES                                         GURABO             PR      00778
AOG PROFESSIONAL CONSULTANTS           URB SANABERA DEL RIO                   447 UCARES                                                       GURABO             PR      00778
AOH CONTRACTORS INC                    EXT ONEILL                             GG 165 CALLE 1                                                   MANATI             PR      00919‐5604
AOKI CONSTRUCTION CORP OF RIO MAR      420 LEXINGTON AVE RM 1430                                                                               NEW YORK           NY      10170‐1430
AON CORPORATION                        4 OVERLOOK POINT SOUTH 40A‐3S‐1                                                                         LINCOLNSHIRE       IL      60069
AON RISK SERVICES OF PUERTO RICO INC   AON CENTER                             304 AVE PONCE DE LEON SUITE 1000                                 SAN JUAN           PR      00918‐2123
AORS INC                               PO BOX 2745                                                                                             SAN SEBASTIAN      PR      00685‐3003
AOS TECHNOLOGIES AMERICA INC           21550 OXNARD STREET 3RD FLOOR                                                                           WOODLAND HILLS     CA      91367
AOSTINI FITCH, DINO                    ADDRESS ON FILE
AOVT DIGITAL AUDIOVISUAL INC           168 WINSTON CHURCHILL                                                                                   SAN JUAN           PR      00926‐6013
AOVT DIGITAL AUDIOVISUAL INC           168 WINSTON CHURCHILL                  AVE EL SEÐORIAL                                                  SAN JUAN           PR      00926‐6013
AOVT DIGITAL AUDIOVISUAL INC           168 WINSTON CHURCHILL                  AVE EL SENORIAL                                                  SAN JUAN           PR      00926
AOVT DIGITAL AUDIOVISUAL, INC          168 WINSTON CHUCHILL AVE EL SENORIAL                                                                    SAN JUAN           PR      00926
AP ADVISORY GROUP, CORP                PO BOX 52006                                                                                            TOA BAJA           PR      00950
AP AMERICANAS INC                      PO BOX 579                                                                                              MOROVIS            PR      00687
APACHE MASTERS                         URB TORRIMAR                           2‐2 CALLE MADRID                                                 GUAYNABO           PR      00966
APARICIO AMENGUAL, JUAN R.             ADDRESS ON FILE
APARICIO CARVAJAL, JOSE                ADDRESS ON FILE
APARICIO CARVAJAL, JOSE E              ADDRESS ON FILE
APARICIO CESANI, CARLOS J              ADDRESS ON FILE
APARICIO CESANI, CELESTE               ADDRESS ON FILE
APARICIO CESANI, MARIA                 ADDRESS ON FILE
APARICIO DE LEON, MARIANCEL            ADDRESS ON FILE
APARICIO DE, MARIANCEL                 ADDRESS ON FILE
APARICIO DISTRIBUTORS INC              PMB 269 P O BOX 7891                                                                                    GUAYNABO           PR      00970‐7891
APARICIO DISTRIBUTORS INC              PO BOX 1976                                                                                             BAYAMON            PR      00960‐1976
APARICIO ENCARNACION, RICARDO J        ADDRESS ON FILE
APARICIO ENRIQUEZ, HILDA               ADDRESS ON FILE




                                                                                                          Page 488 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 489 of 3500
                                                                                               Creditor Matrix

Creditor Name                       Address1                        Address2                                Address3   Address4   City             State   PostalCode   Country
APARICIO LASPINA, JOSE JULIO        ADDRESS ON FILE
APARICIO LASPINA, MARI              ADDRESS ON FILE
APARICIO LASPINA, MARI NILDA        ADDRESS ON FILE
APARICIO LOPEZ, LAVINIA             ADDRESS ON FILE
APARICIO MILLAN, ABNER              ADDRESS ON FILE
APARICIO MILLAN, LUIS               ADDRESS ON FILE
APARICIO MONTES, ROBERTO            ADDRESS ON FILE
Aparicio Montes, Roberto L.         ADDRESS ON FILE
APARICIO QUINONES RODRIGUEZ         ADDRESS ON FILE
APARICIO QUINONEZ TORRES            ADDRESS ON FILE
APARICIO RIVERA, VILMA              ADDRESS ON FILE
APARICIO SILVA, NAUBERT             ADDRESS ON FILE
APARICIO TORRES, IRAIDA             ADDRESS ON FILE
APARKA CORP                         PO BOX 362865                                                                                 SAN JUAN         PR      00936‐2865
APARTAMENTOS NOTRE DAME LP          267 CALLE SAN JORGE             APT 4C                                                        SAN JUAN         PR      00919‐2037
APAZA, ANTONIA                      ADDRESS ON FILE
APCACM                              PARK GARDENS                    W21 CALLE YOSEMITE                                            SAN JUAN         PR      00926
APCO INTERNATIONAL                  351 N WILLIAMSON BLVD                                                                         DAYTONA BEAC     FL      32114
APD MEDICAL SERVICES PSC            PASEO LOS CORALES II            728 CALLE MAR DE BENGAL                                       DORADO           PR      00646
APELIO E CABIAS                     ADDRESS ON FILE
APELLANIZ BARRETO, ILIA             ADDRESS ON FILE
APELLANIZ BARRETO, RUBEN E          ADDRESS ON FILE
APELLANIZ BARRETO, SANDRA MARIA     ADDRESS ON FILE
APELLANIZ BARROTO, ILIA             ADDRESS ON FILE
APELLANIZ PALMA, ROSE M.            ADDRESS ON FILE
APELLANIZ TORRES, JOSE              ADDRESS ON FILE
APEROS DEL SUR INC                  18 CALLE RUIZ BELVIS S                                                                        COAMO            PR      00769
APEROS DEL SUR INC                  69 CALLE H W SANTAELLA                                                                        COAMO            PR      00769
APEX GENERAL CONTRACTORS            URB EL MIRADOR G‐12 CALLE 8                                                                   SAN JUAN         PR      00926‐0000
APHRODITA OLIVO CASTELLANO          ADDRESS ON FILE
API INTERNATIONAL INVESTMENT CORP   PO BOX 1805                                                                                   JUNCOS           PR      00777‐1805
APIARIOS CARABALLO CORP             BOX 16                                                                                        YAUCO            PR      00698
APILIO TRENCHE ECHAZABAL            ADDRESS ON FILE
APIR ABOUKHEIR ATRACH               ADDRESS ON FILE
APM HOMES INC                       PO BOX 361833                                                                                 SAN JUAN         PR      00910
APNI INC                            PO BOX 21280                                                                                  SAN JUAN         PR      00928‐1280
APOLANIO MUNIZ BONET                ADDRESS ON FILE
APOLINAR AGOSTO VEGA                ADDRESS ON FILE
APOLINAR BENJAMIN DE PENA           ADDRESS ON FILE
APOLINAR CRUZ FELICIANO             ADDRESS ON FILE
APOLINAR PAREDES ROSARIO            ADDRESS ON FILE
APOLINAR RODRIGUEZ SANTIAGO         ADDRESS ON FILE
APOLINAR SCROGGINS VILORIO          ADDRESS ON FILE
APOLINARI CLEMENTE, JANETTE         ADDRESS ON FILE
APOLINARIA COLLAZO ROBLES           ADDRESS ON FILE
APOLINARIO LOPEZ, DAFNE             ADDRESS ON FILE
APOLINARIS CLEMENTE, JANETTE        ADDRESS ON FILE
APOLINARIS CORREA, AMRAFEL          ADDRESS ON FILE
APOLINARIS ESTEVES, TILSA           ADDRESS ON FILE
APOLINARIS MONTANEZ, ILIA J.        ADDRESS ON FILE
APOLINARIS RIVERA, AMILDA           ADDRESS ON FILE
APOLINARIS RODRIGUEZ, ANGELICA      ADDRESS ON FILE
APOLINIA GOMEZ ALBINO               ADDRESS ON FILE
APOLLO HATO REY LP                  COND HATO REY TOWER SUITE 806   AVE MUNOZ RIVERA                                              SAN JUAN         PR      00919
APOLO EXPRESS COMPANY               PO BOX 19902                                                                                  SAN JUAN         PR      00910
APOLO OCASIO MARTINEZ               ADDRESS ON FILE
APOLONIA KLOE GONZALEZ RODRIGUEZ    ADDRESS ON FILE
APOLONIA KLOE GONZALEZ RODRIGUEZ    ADDRESS ON FILE
APONTE DIEPPA, ARDENIA              ADDRESS ON FILE
APONTE ABREU, MARIBEL               ADDRESS ON FILE




                                                                                              Page 489 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 490 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE ACARON, JOSE A            ADDRESS ON FILE
APONTE ACEVEDO, AMITZA           ADDRESS ON FILE
APONTE ACEVEDO, SALVADOR E       ADDRESS ON FILE
APONTE ACEVEDO, YAMIREILY        ADDRESS ON FILE
APONTE ACOSTA, JULIO             ADDRESS ON FILE
APONTE ADORNO, NESTOR            ADDRESS ON FILE
APONTE ADORNO, NILSA             ADDRESS ON FILE
APONTE ALEMAN, JOSE A            ADDRESS ON FILE
APONTE ALEMAN, MARIA E           ADDRESS ON FILE
APONTE ALEQUIN, HECTOR           ADDRESS ON FILE
APONTE ALEQUIN, MYRIAM           ADDRESS ON FILE
Aponte Alicea, Daniel            ADDRESS ON FILE
Aponte Alicea, Danny J           ADDRESS ON FILE
APONTE ALICEA, FELIX             ADDRESS ON FILE
APONTE ALICEA, GLORIA            ADDRESS ON FILE
APONTE ALICEA, HECTOR L.         ADDRESS ON FILE
APONTE ALICEA, MARIA S           ADDRESS ON FILE
APONTE ALICEA, MARIA V           ADDRESS ON FILE
APONTE ALICEA, MARICRUZ          ADDRESS ON FILE
APONTE ALICEA, MIGUEL            ADDRESS ON FILE
APONTE ALICEA, WANDA I           ADDRESS ON FILE
APONTE ALLENDE, ROBERTO          ADDRESS ON FILE
APONTE ALVARADO, ANIBAL          ADDRESS ON FILE
APONTE ALVARADO, FRANCISCO       ADDRESS ON FILE
Aponte Alvarado, Francisco J     ADDRESS ON FILE
Aponte Alvarado, Manuel          ADDRESS ON FILE
APONTE ALVARADO, YOBANNA         ADDRESS ON FILE
APONTE ALVAREZ, ARTURO           ADDRESS ON FILE
APONTE ALVAREZ, EVA Y            ADDRESS ON FILE
APONTE ALVAREZ, ISABEL           ADDRESS ON FILE
APONTE ALVAREZ, JULIANNA         ADDRESS ON FILE
APONTE ANDINO, CARMEN            ADDRESS ON FILE
APONTE ANDINO, ISMAEL            ADDRESS ON FILE
APONTE ANDINO, PRISCILLA         ADDRESS ON FILE
APONTE ANDINO, PRISCILLA         ADDRESS ON FILE
APONTE ANDINO, WANDA I.          ADDRESS ON FILE
APONTE ANDINO, WANDA I.          ADDRESS ON FILE
Aponte Andujar, Magdaliz         ADDRESS ON FILE
APONTE ANDUJAR, MAGDALIZ         ADDRESS ON FILE
APONTE ANDUJAR, MYRA             ADDRESS ON FILE
APONTE APONTE, AMARILIS DEL C.   ADDRESS ON FILE
APONTE APONTE, AMARYLIS          ADDRESS ON FILE
APONTE APONTE, ANA               ADDRESS ON FILE
APONTE APONTE, ANA S             ADDRESS ON FILE
APONTE APONTE, EUGENIO           ADDRESS ON FILE
Aponte Aponte, Felix L           ADDRESS ON FILE
Aponte Aponte, Francisco         ADDRESS ON FILE
APONTE APONTE, FRANCISCO J       ADDRESS ON FILE
APONTE APONTE, HECTOR            ADDRESS ON FILE
APONTE APONTE, HECTOR            ADDRESS ON FILE
APONTE APONTE, HECTOR            ADDRESS ON FILE
APONTE APONTE, JORGE             ADDRESS ON FILE
APONTE APONTE, JOSE              ADDRESS ON FILE
APONTE APONTE, JUAN              ADDRESS ON FILE
APONTE APONTE, JUANA M           ADDRESS ON FILE
APONTE APONTE, LUIS              ADDRESS ON FILE
APONTE APONTE, LUIS R            ADDRESS ON FILE
APONTE APONTE, MARIA             ADDRESS ON FILE
APONTE APONTE, MARIA MERCEDES    ADDRESS ON FILE
APONTE APONTE, MARIBEL           ADDRESS ON FILE




                                                                             Page 490 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 491 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE APONTE, MARISELA        ADDRESS ON FILE
APONTE APONTE, MIGUEL          ADDRESS ON FILE
APONTE APONTE, PEDRO L         ADDRESS ON FILE
Aponte Aponte, Rafael          ADDRESS ON FILE
APONTE APONTE, RICARDO         ADDRESS ON FILE
APONTE APONTE, ROBERTO         ADDRESS ON FILE
APONTE APONTE, SONIA N         ADDRESS ON FILE
APONTE APONTE, VICTOR          ADDRESS ON FILE
APONTE ARAGONESES, MARIA DEL   ADDRESS ON FILE
APONTE ARCE, BRIZIA ESTHER     ADDRESS ON FILE
Aponte Arce, Nayil             ADDRESS ON FILE
APONTE ARCHE, CARLOS A         ADDRESS ON FILE
APONTE AROCHO, CARLOS          ADDRESS ON FILE
APONTE ARROYO, FLOR            ADDRESS ON FILE
APONTE ARROYO, JACKELINE       ADDRESS ON FILE
APONTE ARROYO, JAIME           ADDRESS ON FILE
APONTE ARROYO, JUANA           ADDRESS ON FILE
APONTE ARROYO, OMAR            ADDRESS ON FILE
APONTE ARROYO, PEDRO           ADDRESS ON FILE
APONTE ARROYO, RAFAEL          ADDRESS ON FILE
APONTE ARROYO, RAFAEL ANGEL    ADDRESS ON FILE
APONTE ARROYO, ROGELIO         ADDRESS ON FILE
APONTE ARROYO, SILVIA M.       ADDRESS ON FILE
APONTE ARROYO, WILLIAM         ADDRESS ON FILE
APONTE ASTACIO, JOSE E         ADDRESS ON FILE
APONTE AVILES, ABDIEL          ADDRESS ON FILE
APONTE AVILES, ABDIEL          ADDRESS ON FILE
APONTE AVILES, CARMEN L        ADDRESS ON FILE
APONTE AVILES, JESMARIE        ADDRESS ON FILE
APONTE AVILLAN, RAMONITA       ADDRESS ON FILE
APONTE AYALA, BENJAMIN         ADDRESS ON FILE
APONTE AYALA, BLANCA           ADDRESS ON FILE
APONTE AYALA, CARMEN L.        ADDRESS ON FILE
APONTE AYALA, CARMEN L.        ADDRESS ON FILE
APONTE AYALA, DALILA           ADDRESS ON FILE
APONTE AYALA, DOLORES          ADDRESS ON FILE
APONTE AYALA, ELIZABETH        ADDRESS ON FILE
APONTE AYALA, EVELYN           ADDRESS ON FILE
Aponte Ayala, Felix            ADDRESS ON FILE
APONTE AYALA, JEANNETTE        ADDRESS ON FILE
APONTE AYALA, JOSE             ADDRESS ON FILE
APONTE AYALA, LOURDES          ADDRESS ON FILE
APONTE AYALA, LOURDES          ADDRESS ON FILE
APONTE AYALA, MARIA DE L       ADDRESS ON FILE
Aponte Ayala, Miguel           ADDRESS ON FILE
APONTE AYALA, RAMONA           ADDRESS ON FILE
Aponte Baez, Carlos J          ADDRESS ON FILE
Aponte Baez, Enoc A            ADDRESS ON FILE
APONTE BAEZ, JUAN              ADDRESS ON FILE
APONTE BAEZ, MARIBEL           ADDRESS ON FILE
APONTE BAEZ, MARIBEL           ADDRESS ON FILE
APONTE BARRIOS, GERARDO        ADDRESS ON FILE
APONTE BARRIOS, MARIA INES     ADDRESS ON FILE
APONTE BATISTA, MIGUEL         ADDRESS ON FILE
APONTE BATISTA, WILLIAM        ADDRESS ON FILE
APONTE BATIZ, STEPHANIE        ADDRESS ON FILE
APONTE BELLAFLORES, IVAN       ADDRESS ON FILE
APONTE BELTRAN, JOSE           ADDRESS ON FILE
Aponte Beltran, Jose M         ADDRESS ON FILE
Aponte Beltran, Nedliza        ADDRESS ON FILE




                                                                           Page 491 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 492 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE BENEJANS, MARIA DE LOS A.   ADDRESS ON FILE
APONTE BERDECIA, DAISY             ADDRESS ON FILE
APONTE BERDECIA, DAISY             ADDRESS ON FILE
APONTE BERDEGUEZ, JUAN             ADDRESS ON FILE
APONTE BERDEGUEZ, MARIA F          ADDRESS ON FILE
APONTE BERLY, EFREN                ADDRESS ON FILE
APONTE BERMUDEZ, CARLOS R          ADDRESS ON FILE
APONTE BERMUDEZ, GLORYMAR          ADDRESS ON FILE
Aponte Bermudez, Juan L.           ADDRESS ON FILE
APONTE BERMUDEZ, LISANDRA          ADDRESS ON FILE
APONTE BERMUDEZ, LISMARA           ADDRESS ON FILE
APONTE BERMUDEZ, LUIS D            ADDRESS ON FILE
APONTE BERMUDEZ, MADELINE          ADDRESS ON FILE
APONTE BERMUDEZ, MARIELY           ADDRESS ON FILE
APONTE BERMUDEZ, YARITZA           ADDRESS ON FILE
APONTE BERMUDEZ, YEITZA M          ADDRESS ON FILE
APONTE BERRIOS, ALBA               ADDRESS ON FILE
Aponte Berrios, Anabel             ADDRESS ON FILE
APONTE BERRIOS, ANGEL              ADDRESS ON FILE
APONTE BERRIOS, ISMAEL             ADDRESS ON FILE
APONTE BERRIOS, MARIA E            ADDRESS ON FILE
APONTE BERRIOS, OSCAR              ADDRESS ON FILE
APONTE BERRIOS, ROBERTO            ADDRESS ON FILE
APONTE BERRIOS, ROBERTO            ADDRESS ON FILE
APONTE BERRIOS, ROXANNA            ADDRESS ON FILE
APONTE BERRIOS, VICTOR             ADDRESS ON FILE
APONTE BETANCOURT, SAMUEL          ADDRESS ON FILE
APONTE BEZARES, ERICK              ADDRESS ON FILE
APONTE BLANCO, MILITZA             ADDRESS ON FILE
APONTE BONILLA, ROSARIO            ADDRESS ON FILE
APONTE BORGES, DOMINGO             ADDRESS ON FILE
APONTE BORREL, MANUEL A            ADDRESS ON FILE
APONTE BORRERO, MANUEL             ADDRESS ON FILE
APONTE BRACERO, JOSE               ADDRESS ON FILE
APONTE BURGOS, ADELAIDA            ADDRESS ON FILE
APONTE BURGOS, GUADALUPE           ADDRESS ON FILE
APONTE BURGOS, JOSE                ADDRESS ON FILE
Aponte Burgos, Juan B              ADDRESS ON FILE
Aponte Burgos, Luis A.             ADDRESS ON FILE
APONTE BURGOS, LYDIA               ADDRESS ON FILE
APONTE BURGOS, MELISSA             ADDRESS ON FILE
APONTE BURGOS, ROXANA I            ADDRESS ON FILE
APONTE BURGOS, ZORAIDA             ADDRESS ON FILE
APONTE CABRERA, CELINES            ADDRESS ON FILE
APONTE CABRERA, CYNTHIA            ADDRESS ON FILE
APONTE CABRERA, HECTOR D           ADDRESS ON FILE
APONTE CABRERA, MARLENE            ADDRESS ON FILE
APONTE CABRERA, MARLENE            ADDRESS ON FILE
Aponte Cabrera, Teofilo            ADDRESS ON FILE
APONTE CAJIGAS, DAMARIS            ADDRESS ON FILE
APONTE CAJIGAS, JULIA E.           ADDRESS ON FILE
APONTE CALDERON, AHIRAM            ADDRESS ON FILE
APONTE CALDERON, CARMEN M          ADDRESS ON FILE
APONTE CALDERON, ISABEL M          ADDRESS ON FILE
APONTE CALDERON, LYDIA E           ADDRESS ON FILE
APONTE CALDERON, YADIRA            ADDRESS ON FILE
APONTE CAMACHO, CARMEN M           ADDRESS ON FILE
APONTE CAMACHO, LISSETTE           ADDRESS ON FILE
APONTE CAMACHO, MARIBELL           ADDRESS ON FILE
APONTE CAMACHO, YASHIRA            ADDRESS ON FILE




                                                                               Page 492 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 493 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE CANALES, EDWIN                 ADDRESS ON FILE
APONTE CANALES, RUT                   ADDRESS ON FILE
APONTE CANALES, TANYA                 ADDRESS ON FILE
APONTE CANALES, TANYA L.              ADDRESS ON FILE
APONTE CANALES, WANDA I               ADDRESS ON FILE
Aponte Cancel, Jose C.                ADDRESS ON FILE
APONTE CANCEL, SANTOS A.              ADDRESS ON FILE
APONTE CARDENALES, WILFREDO           ADDRESS ON FILE
APONTE CARRASCO MD, VICTOR            ADDRESS ON FILE
APONTE CARRASCO, JOEL                 ADDRESS ON FILE
APONTE CARRASQUILLO, CARMEN           ADDRESS ON FILE
Aponte Carrasquillo, Emilio           ADDRESS ON FILE
APONTE CARRERO, JOSE                  ADDRESS ON FILE
APONTE CARRILLO, VIVIANA              ADDRESS ON FILE
APONTE CARRO, JOSE                    ADDRESS ON FILE
APONTE CARRO, JOSE                    ADDRESS ON FILE
APONTE CARRO, JUAN                    ADDRESS ON FILE
Aponte Cartagena, Hector              ADDRESS ON FILE
Aponte Cartagena, Narciso             ADDRESS ON FILE
APONTE CARTAGENA, TOMAS               ADDRESS ON FILE
APONTE CASTELLANO, MARCELINO          ADDRESS ON FILE
APONTE CASTELLANO, VIRGEN M           ADDRESS ON FILE
APONTE CASTRO, EDWIN                  ADDRESS ON FILE
APONTE CASTRO, JUAN M.                ADDRESS ON FILE
APONTE CASTRO, TOMAS                  ADDRESS ON FILE
APONTE CEPEDA, MIRIAM                 ADDRESS ON FILE
APONTE CINTRON, CARMEN L              ADDRESS ON FILE
APONTE CINTRON, CARMEN S              ADDRESS ON FILE
APONTE CINTRON, NOEL                  ADDRESS ON FILE
APONTE CINTRON, ORLANDO               ADDRESS ON FILE
Aponte Cintron, Rene                  ADDRESS ON FILE
APONTE CLAUDIO, ELSA                  ADDRESS ON FILE
APONTE CLAUDIO, GLORIA                ADDRESS ON FILE
APONTE CLAUDIO,ELSA HAYDEE            ADDRESS ON FILE
APONTE CLEMENTE, JENNIFER J           ADDRESS ON FILE
APONTE COLL, MARIBEL                  ADDRESS ON FILE
APONTE COLL, MARTINA                  ADDRESS ON FILE
APONTE COLL, NEREIDA                  ADDRESS ON FILE
APONTE COLL, TITO                     ADDRESS ON FILE
APONTE COLLAZO, ANA                   ADDRESS ON FILE
APONTE COLLISION CENTER/JOMA DESING   GROUP CORP                PO BOX 429                                             AGUIRRE      PR      00704
APONTE COLO, MELISSA                  ADDRESS ON FILE
APONTE COLON LAW OFFICE PSC           PO BOX 2024                                                                      AIBONITO     PR      00705
APONTE COLON, ALEXIE                  ADDRESS ON FILE
APONTE COLON, ANGEL LUIS              ADDRESS ON FILE
APONTE COLON, AWILDA                  ADDRESS ON FILE
APONTE COLON, DAMARIS                 ADDRESS ON FILE
APONTE COLON, ELIZABETH               ADDRESS ON FILE
APONTE COLON, GIL G                   ADDRESS ON FILE
APONTE COLON, HECTOR                  ADDRESS ON FILE
Aponte Colon, Hector I                ADDRESS ON FILE
APONTE COLON, HECTOR R                ADDRESS ON FILE
APONTE COLON, IDALIS                  ADDRESS ON FILE
APONTE COLON, JESSIKA                 ADDRESS ON FILE
APONTE COLON, JOSE                    ADDRESS ON FILE
APONTE COLON, JOSE                    ADDRESS ON FILE
APONTE COLON, JOSE A                  ANDRES RODRIGUEZ ELIAS    HC 02 BOX 9800                                         AIBONITO     PR      00705
APONTE COLON, JOSE D                  ADDRESS ON FILE
APONTE COLON, JUAN                    ADDRESS ON FILE
APONTE COLON, LUIS                    ADDRESS ON FILE




                                                                                  Page 493 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 494 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE COLON, LUIS           ADDRESS ON FILE
APONTE COLON, LUPICINIO      ADDRESS ON FILE
APONTE COLON, LUZ M          ADDRESS ON FILE
APONTE COLON, MARIA          ADDRESS ON FILE
APONTE COLON, MARIA I        ADDRESS ON FILE
APONTE COLON, MARIELEE       ADDRESS ON FILE
APONTE COLON, NATALY         ADDRESS ON FILE
APONTE COLON, NATHALIE       ADDRESS ON FILE
APONTE COLON, NILDA          ADDRESS ON FILE
APONTE COLON, ORLANDO        ADDRESS ON FILE
APONTE COLON, PEDRO          ADDRESS ON FILE
APONTE COLON, RAMON          ADDRESS ON FILE
APONTE COLON, ROBERTO E.     ADDRESS ON FILE
APONTE COLON, SARYS          ADDRESS ON FILE
APONTE COLON, YAIZA B        ADDRESS ON FILE
APONTE COLON, YARELI         ADDRESS ON FILE
APONTE COLON, YAZMIN         ADDRESS ON FILE
APONTE COLON, ZOBEIDA        ADDRESS ON FILE
APONTE COLON, ZOBEIDA        ADDRESS ON FILE
APONTE CONCEPCION, ALEXIS    ADDRESS ON FILE
APONTE CONCEPCION, NORMA I   ADDRESS ON FILE
APONTE CORA, JOSE            ADDRESS ON FILE
APONTE CORALES, BELDEN       ADDRESS ON FILE
APONTE CORALES, TILDEN       ADDRESS ON FILE
APONTE CORDOVA, DALIA I      ADDRESS ON FILE
APONTE CORDOVA, EVELYN       ADDRESS ON FILE
APONTE COREANO, ERICA        ADDRESS ON FILE
Aponte Cornier, Ramon D      ADDRESS ON FILE
APONTE CORREA, ANGELA        ADDRESS ON FILE
APONTE CORREA, BRENDA        ADDRESS ON FILE
Aponte Corujo, Gilberto      ADDRESS ON FILE
APONTE COSME, FRANCHESCA     ADDRESS ON FILE
APONTE COSME, JOSELYN        ADDRESS ON FILE
APONTE COSME, JOSELYN M.     ADDRESS ON FILE
APONTE COSME, LISANDRA       ADDRESS ON FILE
APONTE COSME, LOURDES        ADDRESS ON FILE
APONTE COTTO, DESIREE        ADDRESS ON FILE
APONTE COTTO, RUTH N.        ADDRESS ON FILE
APONTE CRESPO, MARIA M       ADDRESS ON FILE
APONTE CRESPO, MIRIAM        ADDRESS ON FILE
APONTE CRUZ, ALICIA          ADDRESS ON FILE
APONTE CRUZ, AMARILYS        ADDRESS ON FILE
APONTE CRUZ, ANDRES          ADDRESS ON FILE
APONTE CRUZ, ANGEL L         ADDRESS ON FILE
APONTE CRUZ, DARLYN M        ADDRESS ON FILE
APONTE CRUZ, EDWIN O.        ADDRESS ON FILE
APONTE CRUZ, GREGORIA        ADDRESS ON FILE
APONTE CRUZ, HECTOR          ADDRESS ON FILE
APONTE CRUZ, LUZ N           ADDRESS ON FILE
APONTE CRUZ, MARIANELA       ADDRESS ON FILE
APONTE CRUZ, MAYKA           ADDRESS ON FILE
APONTE CRUZ, MIGDALIA        ADDRESS ON FILE
APONTE CRUZ, ORLANDO         ADDRESS ON FILE
APONTE CRUZ, REUBEN          ADDRESS ON FILE
APONTE CRUZ, RIGOBERTO       ADDRESS ON FILE
APONTE CRUZ, VILMA           ADDRESS ON FILE
APONTE CRUZ, WILLIAM         ADDRESS ON FILE
APONTE CRUZ, YAZMIN          ADDRESS ON FILE
APONTE CRUZADO, ALFREDO      ADDRESS ON FILE
APONTE CUADRA, JOSE          ADDRESS ON FILE




                                                                         Page 494 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 495 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE CUADRADO, LUIS A.      ADDRESS ON FILE
APONTE DANOIS, GRISEL         ADDRESS ON FILE
APONTE DAVILA, FRANCISCO      ADDRESS ON FILE
Aponte Davila, Gloria M       ADDRESS ON FILE
APONTE DAVILA, MARIA C        ADDRESS ON FILE
APONTE DAVILA, MYRIAM         ADDRESS ON FILE
APONTE DAVIS, GREISHA M.      ADDRESS ON FILE
APONTE DE JESUS, EMILLY       ADDRESS ON FILE
APONTE DE JESUS, FRANCISCO    ADDRESS ON FILE
APONTE DE JESUS, HARRY        ADDRESS ON FILE
APONTE DE JESUS, MARISOL      ADDRESS ON FILE
APONTE DE JESUS, PURA I       ADDRESS ON FILE
APONTE DEL TORO, DAVID L      ADDRESS ON FILE
Aponte Del Toro, David L      ADDRESS ON FILE
APONTE DEL VALLE, AMILKA J.   ADDRESS ON FILE
APONTE DELGADO, ARMANDO       ADDRESS ON FILE
APONTE DELGADO, BETTY         ADDRESS ON FILE
APONTE DELGADO, CARLOS A      ADDRESS ON FILE
Aponte Delgado, Edwin         ADDRESS ON FILE
APONTE DELGADO, EVANGELINA    ADDRESS ON FILE
APONTE DELGADO, FELIX         ADDRESS ON FILE
APONTE DELGADO, MARIA DE L    ADDRESS ON FILE
APONTE DELGADO, RICARDO       ADDRESS ON FILE
APONTE DENTON, SAMUEL A.      ADDRESS ON FILE
APONTE DIAZ, ALFREDO          ADDRESS ON FILE
APONTE DIAZ, ANGEL E          ADDRESS ON FILE
APONTE DIAZ, CARLOS           ADDRESS ON FILE
APONTE DIAZ, CARLOS J.        ADDRESS ON FILE
APONTE DIAZ, CARLOS S         ADDRESS ON FILE
Aponte Diaz, German           ADDRESS ON FILE
APONTE DIAZ, LUIS             ADDRESS ON FILE
APONTE DIAZ, LUIS A           ADDRESS ON FILE
APONTE DIAZ, LUZ Y.           ADDRESS ON FILE
APONTE DIAZ, LUZ Y.           ADDRESS ON FILE
APONTE DIAZ, MARIANGELY       ADDRESS ON FILE
APONTE DIAZ, MIGDALIA         ADDRESS ON FILE
APONTE DIAZ, MIRIAM           ADDRESS ON FILE
APONTE DIAZ, NILDA            ADDRESS ON FILE
APONTE DIAZ, RAUL             ADDRESS ON FILE
APONTE DIEZ, ANDRES C.        ADDRESS ON FILE
APONTE DOMENECH, JORGE        ADDRESS ON FILE
APONTE DOMINGUEZ, MARTA I     ADDRESS ON FILE
APONTE DOMINGUEZ, MILAGROS    ADDRESS ON FILE
APONTE DOMINGUEZ, RAMON       ADDRESS ON FILE
APONTE DONES, LILIAN          ADDRESS ON FILE
APONTE DONES, MIGDALIS        ADDRESS ON FILE
APONTE DONES, NILIA IVETTE    ADDRESS ON FILE
APONTE DONES, VICTOR          ADDRESS ON FILE
APONTE DONES, YETZY           ADDRESS ON FILE
APONTE DROZ, JUAN C           ADDRESS ON FILE
APONTE DUENO, MARIBEL         ADDRESS ON FILE
APONTE ECHEVARRIA, JOSE       ADDRESS ON FILE
APONTE ELIAS, CARMEN I.       ADDRESS ON FILE
APONTE ELIZA, HECTOR          ADDRESS ON FILE
APONTE ESPADA, JEANNETTE      ADDRESS ON FILE
APONTE ESPADA, JETZIKA        ADDRESS ON FILE
APONTE ESPADA, MARIA          ADDRESS ON FILE
Aponte Esteves, Benjamin      ADDRESS ON FILE
APONTE ESTRADA, LIZBETH       ADDRESS ON FILE
APONTE ESTRADA, VICTOR        ADDRESS ON FILE




                                                                          Page 495 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 496 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE FALCON, FERNANDO       ADDRESS ON FILE
APONTE FALCON, WILFREDO       ADDRESS ON FILE
APONTE FARIA, LIZA M          ADDRESS ON FILE
APONTE FEBLES, JESSICA        ADDRESS ON FILE
APONTE FEBUS, JESUSA          ADDRESS ON FILE
APONTE FELICIANO, ALIDA       ADDRESS ON FILE
APONTE FELICIANO, ANGEL C     ADDRESS ON FILE
APONTE FELICIANO, JOEL        ADDRESS ON FILE
APONTE FELICIANO, JOEL A.     ADDRESS ON FILE
APONTE FELICIANO, MANUEL      ADDRESS ON FILE
APONTE FELICIANO, NUNCIA      ADDRESS ON FILE
APONTE FELICIANO, ROBERTO     ADDRESS ON FILE
APONTE FELIX, DIANA M         ADDRESS ON FILE
APONTE FELIX, LUISA           ADDRESS ON FILE
APONTE FELIX, NANETTE         ADDRESS ON FILE
APONTE FELIX, ROSA M          ADDRESS ON FILE
APONTE FERNANDEZ, ANA CELIA   ADDRESS ON FILE
APONTE FERNANDEZ, EDUARDO A   ADDRESS ON FILE
APONTE FERNANDEZ, JOSE J      ADDRESS ON FILE
APONTE FERNANDEZ, JOSE R.     ADDRESS ON FILE
APONTE FERNANDEZ, JUAN E.     ADDRESS ON FILE
APONTE FERNANDEZ, JUAN E.     ADDRESS ON FILE
APONTE FERNANDEZ, JUAN E.     ADDRESS ON FILE
APONTE FERNANDEZ, KENDALL R   ADDRESS ON FILE
APONTE FERNANDEZ, MELBA       ADDRESS ON FILE
APONTE FERNANDEZ, WALLIS      ADDRESS ON FILE
APONTE FERNANDEZ,KAREN        ADDRESS ON FILE
APONTE FESHOLD, NORMAN J      ADDRESS ON FILE
APONTE FIGUEROA, ANTONIO      ADDRESS ON FILE
APONTE FIGUEROA, JOSE         ADDRESS ON FILE
APONTE FIGUEROA, JOSE         ADDRESS ON FILE
APONTE FIGUEROA, LUZ J.       ADDRESS ON FILE
APONTE FIGUEROA, MARANGELI    ADDRESS ON FILE
APONTE FIGUEROA, OBED         ADDRESS ON FILE
APONTE FIGUEROA, OMAR         ADDRESS ON FILE
APONTE FIGUEROA, VIVIAN       ADDRESS ON FILE
APONTE FIGUEROA, WANDA J.     ADDRESS ON FILE
APONTE FIGUEROA, WANDA V      ADDRESS ON FILE
APONTE FLECHA, JOSE           ADDRESS ON FILE
APONTE FLORENCIANI, ELSIE     ADDRESS ON FILE
APONTE FLORES, AHISHA         ADDRESS ON FILE
APONTE FLORES, BIANCA         ADDRESS ON FILE
APONTE FLORES, CARLOS         ADDRESS ON FILE
APONTE FLORES, CARMEN L.      ADDRESS ON FILE
APONTE FLORES, JOSE M         ADDRESS ON FILE
APONTE FONSECA, CARMEN        ADDRESS ON FILE
APONTE FONTANEZ, AIDAIVIS     ADDRESS ON FILE
Aponte Fontanez, Carmen       ADDRESS ON FILE
APONTE FRANCO, ERICK M        ADDRESS ON FILE
APONTE FRANCO, IRMA R         ADDRESS ON FILE
APONTE FUENTES, IRIS D        ADDRESS ON FILE
APONTE FUENTES, IRMA          ADDRESS ON FILE
APONTE FUENTES, IRMA          ADDRESS ON FILE
APONTE FUENTES, JOSE M.       ADDRESS ON FILE
APONTE FUENTES, MARIO         ADDRESS ON FILE
APONTE FUENTES, MARIO R.      ADDRESS ON FILE
APONTE FUENTES, OSVALDO       ADDRESS ON FILE
APONTE GALARZA, GAMALIER      ADDRESS ON FILE
APONTE GALARZA, LUIS E        ADDRESS ON FILE
APONTE GANDIA, LURISA         ADDRESS ON FILE




                                                                          Page 496 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 497 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE GANDIA, LURISA        ADDRESS ON FILE
APONTE GARAY, BRENDA         ADDRESS ON FILE
APONTE GARAY, SANTOS         ADDRESS ON FILE
APONTE GARCIA, AMARILIS      ADDRESS ON FILE
APONTE GARCIA, ANA R         ADDRESS ON FILE
APONTE GARCIA, AXEL NOEL     ADDRESS ON FILE
APONTE GARCIA, CARMEN S      ADDRESS ON FILE
Aponte Garcia, Eric          ADDRESS ON FILE
APONTE GARCIA, ERICK         ADDRESS ON FILE
APONTE GARCIA, ERICK N       ADDRESS ON FILE
APONTE GARCIA, GLAMARIS      ADDRESS ON FILE
APONTE GARCIA, INES E.       ADDRESS ON FILE
APONTE GARCIA, IRIS          ADDRESS ON FILE
APONTE GARCIA, IRIS Y        ADDRESS ON FILE
APONTE GARCIA, JOSE          ADDRESS ON FILE
APONTE GARCIA, JOSE          ADDRESS ON FILE
APONTE GARCIA, JOSE R.       ADDRESS ON FILE
APONTE GARCIA, LIMARIS       ADDRESS ON FILE
APONTE GARCIA, LUIS          ADDRESS ON FILE
Aponte Garcia, Luis R        ADDRESS ON FILE
APONTE GARCIA, MARIA         ADDRESS ON FILE
APONTE GARCIA, MARIA         ADDRESS ON FILE
APONTE GARCIA, MARIBEL       ADDRESS ON FILE
APONTE GARCIA, RAFAEL        ADDRESS ON FILE
APONTE GARCIA, RAFAEL        ADDRESS ON FILE
APONTE GARCIA, ROSA          ADDRESS ON FILE
APONTE GARCIA, ZULMA         ADDRESS ON FILE
APONTE GARRIGA, ANGEL        ADDRESS ON FILE
APONTE GEIGEL, ANA L         ADDRESS ON FILE
APONTE GERENA, MARIA         ADDRESS ON FILE
APONTE GOMEZ, JOSE           ADDRESS ON FILE
APONTE GOMEZ, JOSE JUAN      ADDRESS ON FILE
Aponte Gomez, Juan C         ADDRESS ON FILE
APONTE GOMEZ, MARIA DE L     ADDRESS ON FILE
APONTE GOMEZ, MELINA M       ADDRESS ON FILE
APONTE GOMEZ, NEYMI          ADDRESS ON FILE
APONTE GOMEZ, SIXTO C        ADDRESS ON FILE
APONTE GONZALEZ, ALEJANDRO   ADDRESS ON FILE
APONTE GONZALEZ, ALVIN       ADDRESS ON FILE
APONTE GONZALEZ, ANA C.      ADDRESS ON FILE
APONTE GONZALEZ, ANGEL A.    ADDRESS ON FILE
APONTE GONZALEZ, ARACELIS    ADDRESS ON FILE
APONTE GONZALEZ, ARACELIS    ADDRESS ON FILE
APONTE GONZALEZ, ASTRID V.   ADDRESS ON FILE
Aponte Gonzalez, Awilda      ADDRESS ON FILE
APONTE GONZALEZ, DELYS N     ADDRESS ON FILE
APONTE GONZALEZ, FELIX       ADDRESS ON FILE
APONTE GONZALEZ, FELIX       ADDRESS ON FILE
APONTE GONZALEZ, IVAN        ADDRESS ON FILE
APONTE GONZALEZ, JORGE       ADDRESS ON FILE
APONTE GONZALEZ, JORGE       ADDRESS ON FILE
APONTE GONZALEZ, JORGE L     ADDRESS ON FILE
APONTE GONZALEZ, JOSEAN      ADDRESS ON FILE
APONTE GONZALEZ, LISANDRA    ADDRESS ON FILE
APONTE GONZALEZ, LIZMARI     ADDRESS ON FILE
APONTE GONZALEZ, LUZ R       ADDRESS ON FILE
APONTE GONZALEZ, MARIA L.    ADDRESS ON FILE
APONTE GONZALEZ, MARIEL      ADDRESS ON FILE
APONTE GONZALEZ, MARILYN     ADDRESS ON FILE
APONTE GONZALEZ, MAYRA I.    ADDRESS ON FILE




                                                                         Page 497 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 498 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE GONZALEZ, MICHAEL      ADDRESS ON FILE
APONTE GONZALEZ, MIRIAM       ADDRESS ON FILE
APONTE GONZALEZ, NELLY        ADDRESS ON FILE
APONTE GONZALEZ, RAFAEL       ADDRESS ON FILE
APONTE GONZALEZ, RAUL         ADDRESS ON FILE
APONTE GONZALEZ, RUTH         ADDRESS ON FILE
APONTE GONZALEZ, SANDRA J     ADDRESS ON FILE
APONTE GONZALEZ, TERESA       ADDRESS ON FILE
APONTE GONZALEZ, TERESA       ADDRESS ON FILE
APONTE GRACIA, ANTONIO        ADDRESS ON FILE
APONTE GUADALUPE, KAROL       ADDRESS ON FILE
APONTE GUALDARRAMA, EDWIN A   ADDRESS ON FILE
APONTE GUARDIOLA, ANDREITA    ADDRESS ON FILE
APONTE GUERRERO, MYRNA        ADDRESS ON FILE
APONTE GUERRIDO, LUIS         ADDRESS ON FILE
APONTE GUTIERREZ, ANGEL R.    ADDRESS ON FILE
APONTE GUTIERREZ, GILBERTO    ADDRESS ON FILE
APONTE GUZMAN MD, EDGARDO R   ADDRESS ON FILE
APONTE GUZMAN, ANGEL          ADDRESS ON FILE
APONTE GUZMAN, CARMEN IRIS    ADDRESS ON FILE
APONTE GUZMAN, CARMEN L       ADDRESS ON FILE
APONTE GUZMAN, ERICK          ADDRESS ON FILE
APONTE GUZMAN, EUNICE         ADDRESS ON FILE
APONTE GUZMAN, ISABEL         ADDRESS ON FILE
Aponte Guzman, Juan           ADDRESS ON FILE
APONTE GUZMAN, VIVIAN R       ADDRESS ON FILE
APONTE GUZMAN, WALDEMAR       ADDRESS ON FILE
APONTE GUZMAN, WANDA L.       ADDRESS ON FILE
APONTE HEREDIA, IDRID         ADDRESS ON FILE
APONTE HEREDIA, LUIS          ADDRESS ON FILE
APONTE HERNANDEZ, AIDA I      ADDRESS ON FILE
APONTE HERNANDEZ, BETZAIDA    ADDRESS ON FILE
APONTE HERNANDEZ, DEYANIRA    ADDRESS ON FILE
APONTE HERNANDEZ, EDWIN       ADDRESS ON FILE
APONTE HERNANDEZ, EDWIN       ADDRESS ON FILE
APONTE HERNANDEZ, FRANCISCO   ADDRESS ON FILE
APONTE HERNANDEZ, FRANCISCO   ADDRESS ON FILE
APONTE HERNANDEZ, HECTOR      ADDRESS ON FILE
APONTE HERNANDEZ, HECTOR M    ADDRESS ON FILE
APONTE HERNANDEZ, HECTOR M    ADDRESS ON FILE
APONTE HERNANDEZ, ILEANA      ADDRESS ON FILE
APONTE HERNANDEZ, JALESKA     ADDRESS ON FILE
APONTE HERNANDEZ, JOHANNIS    ADDRESS ON FILE
APONTE HERNANDEZ, JORGE E     ADDRESS ON FILE
APONTE HERNANDEZ, JORGE E.    ADDRESS ON FILE
APONTE HERNANDEZ, JOSE        ADDRESS ON FILE
APONTE HERNANDEZ, JOSE        ADDRESS ON FILE
APONTE HERNANDEZ, JOSE F.     ADDRESS ON FILE
Aponte Hernandez, Juan A      ADDRESS ON FILE
APONTE HERNANDEZ, LAURA       ADDRESS ON FILE
APONTE HERNANDEZ, NANCY       ADDRESS ON FILE
APONTE HERNANDEZ, RAFAEL      ADDRESS ON FILE
APONTE HERNANDEZ, SARAI       ADDRESS ON FILE
APONTE HERNANDEZ, SONIA N     ADDRESS ON FILE
APONTE HERNANDEZ, TIARA       ADDRESS ON FILE
APONTE HERNANDEZ, WANDA       ADDRESS ON FILE
APONTE HERNANDEZ, WANDA I     ADDRESS ON FILE
APONTE HERNANDEZ, YOMARIS     ADDRESS ON FILE
APONTE HEVIA, NANCY           ADDRESS ON FILE
APONTE HIRALDO, KATHIA        ADDRESS ON FILE




                                                                          Page 498 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 499 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE HUERTAS, EFRAIN         ADDRESS ON FILE
APONTE HUERTAS, FRANCISCO      ADDRESS ON FILE
APONTE HUERTAS, ROSA LETICIA   ADDRESS ON FILE
APONTE INFANTE, ANTONIO        ADDRESS ON FILE
APONTE IRIZARRY, ANALINA       ADDRESS ON FILE
APONTE IRIZARRY, JAIME         ADDRESS ON FILE
APONTE IRIZARRY, JANIO         ADDRESS ON FILE
APONTE IRIZARRY, JOSEFINA      ADDRESS ON FILE
Aponte Irizarry, Justo         ADDRESS ON FILE
APONTE IRIZARRY, MATIAS        ADDRESS ON FILE
APONTE IRIZARRY, YOLANDA       ADDRESS ON FILE
APONTE JIMENEZ, ARIEL          ADDRESS ON FILE
APONTE JIMENEZ, GERARDO        ADDRESS ON FILE
APONTE JIMENEZ, JOSE           ADDRESS ON FILE
APONTE JIMENEZ, JUAN J.        ADDRESS ON FILE
APONTE JIMENEZ, ODALYS         ADDRESS ON FILE
APONTE JORDAN, YOMARIE         ADDRESS ON FILE
APONTE JUSTINIANO, JOSE        ADDRESS ON FILE
APONTE LAABES, GLORIA          ADDRESS ON FILE
APONTE LABOY, ANGEL L          ADDRESS ON FILE
APONTE LABOY, BLANCA I         ADDRESS ON FILE
APONTE LABOY, BLANCA I         ADDRESS ON FILE
Aponte Laboy, Juan A.          ADDRESS ON FILE
APONTE LABOY, LUZ A            ADDRESS ON FILE
APONTE LABOY, MARIA V          ADDRESS ON FILE
APONTE LABRADOR, CARMELO       ADDRESS ON FILE
APONTE LABRADOR, FRANCISCA     ADDRESS ON FILE
APONTE LAMBERTY, HECTOR        ADDRESS ON FILE
APONTE LEBRON, ANA D           ADDRESS ON FILE
APONTE LEBRON, DALIA M         ADDRESS ON FILE
APONTE LEBRON, JOSE            ADDRESS ON FILE
APONTE LEON, DANNY             ADDRESS ON FILE
APONTE LEON, GABRIEL           ADDRESS ON FILE
APONTE LEON, GABRIELA          ADDRESS ON FILE
APONTE LEON, LUIS              ADDRESS ON FILE
APONTE LESPIER, GABRIELA       ADDRESS ON FILE
APONTE LOPEZ MD, JAIME         ADDRESS ON FILE
APONTE LOPEZ MD, LUIS A        ADDRESS ON FILE
APONTE LOPEZ, ADOLFO           ADDRESS ON FILE
APONTE LOPEZ, AIXA             ADDRESS ON FILE
APONTE LOPEZ, CARLOS J         ADDRESS ON FILE
APONTE LOPEZ, CARMEN M         ADDRESS ON FILE
APONTE LOPEZ, DIANA            ADDRESS ON FILE
APONTE LOPEZ, FABIAN           ADDRESS ON FILE
APONTE LOPEZ, HECTOR           ADDRESS ON FILE
APONTE LOPEZ, JAVIER           ADDRESS ON FILE
APONTE LOPEZ, KIREMIER         ADDRESS ON FILE
APONTE LOPEZ, LUIS A.          ADDRESS ON FILE
APONTE LOPEZ, LUIS M           ADDRESS ON FILE
APONTE LOPEZ, MANUEL           ADDRESS ON FILE
APONTE LOPEZ, MARGARITA        ADDRESS ON FILE
APONTE LOPEZ, MERALYS          ADDRESS ON FILE
APONTE LOPEZ, MERCEDES         ADDRESS ON FILE
APONTE LOPEZ, MILDRED          ADDRESS ON FILE
APONTE LOPEZ, MYRTA M          ADDRESS ON FILE
APONTE LOPEZ, NERISSA M.       ADDRESS ON FILE
APONTE LOPEZ, NOEL             ADDRESS ON FILE
APONTE LOPEZ, ORLANDO F.       ADDRESS ON FILE
APONTE LOPEZ, OSCAR            ADDRESS ON FILE
APONTE LOPEZ, REYMERIK         ADDRESS ON FILE




                                                                           Page 499 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 500 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE LOPEZ, ROBERTO          ADDRESS ON FILE
APONTE LOYO, ANA F.            ADDRESS ON FILE
APONTE LOZANO, JENELLY         ADDRESS ON FILE
APONTE LUCIANO, NILDA          ADDRESS ON FILE
APONTE LUCIANO, ORLANDO        ADDRESS ON FILE
Aponte Lugo, Jorge L           ADDRESS ON FILE
APONTE LUNA, HECTOR            ADDRESS ON FILE
APONTE LUYANDA, DIEGO          ADDRESS ON FILE
APONTE MACHADO, JAVIER         ADDRESS ON FILE
APONTE MAISONET, ERIC          ADDRESS ON FILE
Aponte Maisonet, Eric R        ADDRESS ON FILE
APONTE MAISONET, ROLANDO       ADDRESS ON FILE
Aponte Maisonet, Ruben         ADDRESS ON FILE
APONTE MALAVE, ARLENE          ADDRESS ON FILE
APONTE MALAVE, ASDRUBAL        ADDRESS ON FILE
APONTE MALAVE, MARIA M.        ADDRESS ON FILE
APONTE MALDONADO, ANGEL L      ADDRESS ON FILE
APONTE MALDONADO, CARMEN F     ADDRESS ON FILE
APONTE MALDONADO, ERIC         ADDRESS ON FILE
APONTE MALDONADO, FELIX        ADDRESS ON FILE
Aponte Maldonado, Reynaldo D   ADDRESS ON FILE
APONTE MALDONADO, SARELY       ADDRESS ON FILE
APONTE MALDONADO, SARELY       ADDRESS ON FILE
APONTE MALIZA, JAVIER          ADDRESS ON FILE
APONTE MARCANO, MELANIE        ADDRESS ON FILE
APONTE MARICHAL, EVA           ADDRESS ON FILE
APONTE MARIN, BRENDA           ADDRESS ON FILE
APONTE MARISCAL, ALIZA         ADDRESS ON FILE
APONTE MARQUEZ, AURELIO        ADDRESS ON FILE
APONTE MARQUEZ, RAMON          ADDRESS ON FILE
APONTE MARRERO, ANGEL R        ADDRESS ON FILE
APONTE MARRERO, CARLOS A.      ADDRESS ON FILE
APONTE MARRERO, EDWIN R        ADDRESS ON FILE
Aponte Marrero, Hector         ADDRESS ON FILE
APONTE MARRERO, JAVIER         ADDRESS ON FILE
APONTE MARRERO, MANUEL E       ADDRESS ON FILE
APONTE MARRERO, MARCOS         ADDRESS ON FILE
Aponte Marrero, Marcos J       ADDRESS ON FILE
APONTE MARRERO, MARLA D        ADDRESS ON FILE
APONTE MARRERO, NILLIAM        ADDRESS ON FILE
APONTE MARRERO, NILLIAM        ADDRESS ON FILE
APONTE MARRERO, OLGA I         ADDRESS ON FILE
APONTE MARRERO, RUBEN U        ADDRESS ON FILE
APONTE MARRERO, TOMAS J.       ADDRESS ON FILE
APONTE MARRERO, WILFRED        ADDRESS ON FILE
APONTE MARTE, CARMEN B         ADDRESS ON FILE
APONTE MARTINEZ, AIDA          ADDRESS ON FILE
APONTE MARTINEZ, ANA           ADDRESS ON FILE
APONTE MARTINEZ, ANIBAL        ADDRESS ON FILE
APONTE MARTINEZ, CARLOS        ADDRESS ON FILE
APONTE MARTINEZ, DEBORA        ADDRESS ON FILE
APONTE MARTINEZ, EMILIO        ADDRESS ON FILE
APONTE MARTINEZ, ILEANA        ADDRESS ON FILE
APONTE MARTINEZ, JULIA         ADDRESS ON FILE
APONTE MARTINEZ, LEIDA M       ADDRESS ON FILE
APONTE MARTINEZ, LOUISETTE     ADDRESS ON FILE
APONTE MARTINEZ, LUIS          ADDRESS ON FILE
APONTE MARTINEZ, LYDIANA       ADDRESS ON FILE
APONTE MARTINEZ, LYDIANA       ADDRESS ON FILE
APONTE MARTINEZ, MARIA DEL S   ADDRESS ON FILE




                                                                           Page 500 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 501 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE MARTINEZ, MARILIA          ADDRESS ON FILE
APONTE MARTINEZ, MARILIA          ADDRESS ON FILE
APONTE MARTINEZ, PAULA            ADDRESS ON FILE
APONTE MARTINEZ, ROSA D           ADDRESS ON FILE
APONTE MARTINEZ, WANDA E          ADDRESS ON FILE
APONTE MARTINEZ, YAJAIRA          ADDRESS ON FILE
APONTE MARTINEZ, YEISHA           ADDRESS ON FILE
APONTE MARTINEZ, YOLANDA          ADDRESS ON FILE
APONTE MARTIR, NOMARIS            ADDRESS ON FILE
APONTE MARTIR, WANDALIS           ADDRESS ON FILE
Aponte Mass, Eddie E              ADDRESS ON FILE
APONTE MASS, MIRIAM               ADDRESS ON FILE
APONTE MASSAS, DUVAL J.           ADDRESS ON FILE
APONTE MASSAS, YADIRA             ADDRESS ON FILE
APONTE MASSO, EDWIN               ADDRESS ON FILE
Aponte Matias, Arnaldo            ADDRESS ON FILE
APONTE MATOS, ANGEL               ADDRESS ON FILE
APONTE MATOS, EDWIN               ADDRESS ON FILE
APONTE MATOS, GERARDO A.          ADDRESS ON FILE
APONTE MATOS, LIZA                ADDRESS ON FILE
APONTE MATOS, MADELINE            ADDRESS ON FILE
APONTE MATTA, ALFONSO             ADDRESS ON FILE
APONTE MEDERO, ELAINE             ADDRESS ON FILE
APONTE MEDERO, NATALIA            ADDRESS ON FILE
APONTE MEDERO, NATALIA            ADDRESS ON FILE
APONTE MEDINA, DAVID              ADDRESS ON FILE
APONTE MEDINA, MARIA DEL C        ADDRESS ON FILE
APONTE MEDINA, MARITZA            ADDRESS ON FILE
APONTE MEDINA, MARITZA            ADDRESS ON FILE
APONTE MEDINA, MYRELLA J.         ADDRESS ON FILE
APONTE MEDINA, REINALDO           ADDRESS ON FILE
APONTE MEDINA, ZULEYKA            ADDRESS ON FILE
APONTE MELAZZI, VILMARIE          ADDRESS ON FILE
APONTE MELENDEZ, ALADINO          ADDRESS ON FILE
APONTE MELENDEZ, ALEJANDRO        ADDRESS ON FILE
APONTE MELENDEZ, CARLOS ALBERTO   ADDRESS ON FILE
APONTE MELENDEZ, CARMEN M         ADDRESS ON FILE
APONTE MELENDEZ, DANNY            ADDRESS ON FILE
APONTE MELENDEZ, JONATHAN         ADDRESS ON FILE
APONTE MELENDEZ, JOSE             ADDRESS ON FILE
APONTE MELENDEZ, JOSE T           ADDRESS ON FILE
APONTE MELENDEZ, LUIS             ADDRESS ON FILE
APONTE MELENDEZ, LUIS H           ADDRESS ON FILE
APONTE MELENDEZ, MARGARITA        ADDRESS ON FILE
APONTE MELENDEZ, MARIA            ADDRESS ON FILE
APONTE MELENDEZ, MYRNA            ADDRESS ON FILE
APONTE MELENDEZ, NANCY I          ADDRESS ON FILE
APONTE MELENDEZ, NORBERTO         ADDRESS ON FILE
APONTE MELENDEZ, NORMA            ADDRESS ON FILE
APONTE MELENDEZ, OSVALDO          ADDRESS ON FILE
APONTE MELENDEZ, PABLO            ADDRESS ON FILE
APONTE MELENDEZ, SARA T           ADDRESS ON FILE
APONTE MELLADO, ANAMAR            ADDRESS ON FILE
APONTE MENDEZ, MARCOS A.          ADDRESS ON FILE
APONTE MENDEZ, XAVIER G.          ADDRESS ON FILE
APONTE MERCADO, ADA NELLY         ADDRESS ON FILE
APONTE MERCADO, BENJAMIN          ADDRESS ON FILE
APONTE MERCADO, CARMEN            ADDRESS ON FILE
APONTE MERCADO, IDAMIS            ADDRESS ON FILE
APONTE MERCADO, ISMAEL            ADDRESS ON FILE




                                                                              Page 501 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 502 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE MERCADO, JOSE          ADDRESS ON FILE
APONTE MERCADO, LIZNETTE      ADDRESS ON FILE
APONTE MERCADO, MARIA E       ADDRESS ON FILE
APONTE MERCADO, MILAGROS      ADDRESS ON FILE
APONTE MERCADO, SONIA I       ADDRESS ON FILE
APONTE MERCED, ALEXIS         ADDRESS ON FILE
APONTE MERCED, CARLOS         ADDRESS ON FILE
APONTE MERCED, WANDA I.       ADDRESS ON FILE
APONTE MILIAN, FRANCISCO F.   ADDRESS ON FILE
APONTE MILIAN, FRANCISCO F.   ADDRESS ON FILE
APONTE MILLAN, DIGMARIE       ADDRESS ON FILE
APONTE MILLAN, JAVIER         ADDRESS ON FILE
APONTE MILLAN, MARIBEL        ADDRESS ON FILE
APONTE MIRANDA, ARNALDO       ADDRESS ON FILE
APONTE MIRANDA, CARMEN        ADDRESS ON FILE
APONTE MIRANDA, CARMEN A      ADDRESS ON FILE
APONTE MIRANDA, FABIO         ADDRESS ON FILE
APONTE MIRANDA, JUAN          ADDRESS ON FILE
APONTE MIRANDA, JULIO         ADDRESS ON FILE
APONTE MOJICA, ELIZABETH      ADDRESS ON FILE
APONTE MOJICA, PATRICIA       ADDRESS ON FILE
APONTE MOLINA, ALICE Y        ADDRESS ON FILE
APONTE MOLINA, JUAN           ADDRESS ON FILE
Aponte Molina, Juan I         ADDRESS ON FILE
APONTE MONTALVO, CARMEN       ADDRESS ON FILE
APONTE MONTALVO, FELIX        ADDRESS ON FILE
Aponte Montalvo, Felix D      ADDRESS ON FILE
APONTE MONTALVO, JORGE        ADDRESS ON FILE
APONTE MONTALVO, ROSA         ADDRESS ON FILE
APONTE MONTANEZ, CANDIDA      ADDRESS ON FILE
APONTE MONTANEZ, FELICITA     ADDRESS ON FILE
APONTE MONTANEZ, JESUS M      ADDRESS ON FILE
APONTE MONTANEZ, LUIS         ADDRESS ON FILE
APONTE MONTES, GERARDO        ADDRESS ON FILE
APONTE MORALES, ALBERTO       ADDRESS ON FILE
APONTE MORALES, AMILCAR       ADDRESS ON FILE
APONTE MORALES, ARMANDO       ADDRESS ON FILE
APONTE MORALES, ARMANDO       ADDRESS ON FILE
APONTE MORALES, FERNANDO      ADDRESS ON FILE
APONTE MORALES, FRANCHESKA    ADDRESS ON FILE
APONTE MORALES, HELGA E       ADDRESS ON FILE
APONTE MORALES, HUGO E.       ADDRESS ON FILE
APONTE MORALES, INES          ADDRESS ON FILE
APONTE MORALES, JESSICA       ADDRESS ON FILE
Aponte Morales, Jose Oscar    ADDRESS ON FILE
APONTE MORALES, JUANITA       ADDRESS ON FILE
APONTE MORALES, MARTA         ADDRESS ON FILE
APONTE MORALES, RAMON         ADDRESS ON FILE
APONTE MORALES, ROSE M        ADDRESS ON FILE
APONTE MORALES, TERESA        ADDRESS ON FILE
APONTE MORALES, TERESA        ADDRESS ON FILE
APONTE MORALES, TERESITA      ADDRESS ON FILE
APONTE MORALES, YAJAIRA       ADDRESS ON FILE
APONTE MORALES, YAJAIRA       ADDRESS ON FILE
APONTE MORAN, HUGO E          ADDRESS ON FILE
APONTE MORENO, AMERICA        ADDRESS ON FILE
APONTE MUÑIZ MD, KAROL        ADDRESS ON FILE
APONTE MUNIZ MD, MARIA        ADDRESS ON FILE
APONTE MUÑIZ MD, PEDRO N      ADDRESS ON FILE
APONTE MUNIZ, FRANCISCO       ADDRESS ON FILE




                                                                          Page 502 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 503 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE MUNIZ, HECTOR J          ADDRESS ON FILE
APONTE MUNIZ, KAROL             ADDRESS ON FILE
APONTE MUNIZ, KEYLA J           ADDRESS ON FILE
APONTE MUNIZ, VICTOR L          ADDRESS ON FILE
APONTE MUNOZ, AGNES E.          ADDRESS ON FILE
APONTE MUNOZ, FERNANDO          ADDRESS ON FILE
APONTE MUNOZ, LUIS              ADDRESS ON FILE
APONTE MUNOZ, RAMON             ADDRESS ON FILE
APONTE MUNOZ, SHEILA            ADDRESS ON FILE
APONTE NADAL, GERARDO E         ADDRESS ON FILE
APONTE NADAL, NILSA             ADDRESS ON FILE
APONTE NASSAR, FRANCISCA        ADDRESS ON FILE
APONTE NATAL, DENISE            ADDRESS ON FILE
APONTE NATAL, ISABEL            ADDRESS ON FILE
APONTE NATAL, ISABEL            ADDRESS ON FILE
APONTE NATAL, NATALIA           ADDRESS ON FILE
APONTE NATAL, NATALIA           ADDRESS ON FILE
APONTE NAVARRO, EMILIO          ADDRESS ON FILE
APONTE NAVARRO, GABRIEL         ADDRESS ON FILE
APONTE NAVARRO, IVETTE          ADDRESS ON FILE
APONTE NAVARRO, MELISA          ADDRESS ON FILE
APONTE NAVARRO, YARITZY         ADDRESS ON FILE
APONTE NAVEDO, DONATO           ADDRESS ON FILE
APONTE NAVEDO, JOSE             ADDRESS ON FILE
APONTE NAVEDO, RAQUEL           ADDRESS ON FILE
APONTE NAZARIO, MARIAN          ADDRESS ON FILE
APONTE NECO, JOYCE M            ADDRESS ON FILE
APONTE NEGRON, ENID L.          ADDRESS ON FILE
APONTE NEGRON, HECTOR           ADDRESS ON FILE
Aponte Negron, Hector R.        ADDRESS ON FILE
APONTE NEGRON, IRIS M           ADDRESS ON FILE
APONTE NEGRON, JOSE             ADDRESS ON FILE
APONTE NEGRON, LUIS             ADDRESS ON FILE
APONTE NEGRON, MARIA DE L.      ADDRESS ON FILE
APONTE NEGRON, MIGUEL           ADDRESS ON FILE
APONTE NEGRON, MILDRED          ADDRESS ON FILE
APONTE NEGRON, NANCY            ADDRESS ON FILE
APONTE NEGRON, NILDA            ADDRESS ON FILE
APONTE NEGRON, OLGA M.          ADDRESS ON FILE
APONTE NEGRON, PATSY A          ADDRESS ON FILE
Aponte Negron, Ralph            ADDRESS ON FILE
APONTE NEGRON, RUTH             ADDRESS ON FILE
Aponte Negron, Tanagua          ADDRESS ON FILE
Aponte Negron, Wilfredo         ADDRESS ON FILE
APONTE NEGRON, WILFREDO         ADDRESS ON FILE
Aponte Nieves, Bernardino       ADDRESS ON FILE
APONTE NIEVES, HECTOR           ADDRESS ON FILE
APONTE NIEVES, HUGO             ADDRESS ON FILE
APONTE NIEVES, JUAN             ADDRESS ON FILE
APONTE NIEVES, MARIA T          ADDRESS ON FILE
APONTE NIEVES, ZOREMILY         ADDRESS ON FILE
APONTE NOGUERAS, MARIA S        ADDRESS ON FILE
APONTE NUNEZ, ANTONIO           ADDRESS ON FILE
APONTE NUNEZ, GABRIELA          ADDRESS ON FILE
APONTE NUNEZ, JONATHAN          ADDRESS ON FILE
Aponte Nunez, Richard           ADDRESS ON FILE
APONTE OCASIO, ANIBAL           ADDRESS ON FILE
APONTE OCASIO, CARMEN J         ADDRESS ON FILE
APONTE OCASIO, LIDICE ZENAIDA   ADDRESS ON FILE
APONTE OCASIO, LUIS R.          ADDRESS ON FILE




                                                                            Page 503 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 504 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE OLIVIERI, CARLOS G.      ADDRESS ON FILE
APONTE OLMEDA, LALIXZA          ADDRESS ON FILE
APONTE OQUENDO, EDWIN           ADDRESS ON FILE
APONTE ORELLANA, JANET          ADDRESS ON FILE
APONTE ORTEGA, AGUSTIN          ADDRESS ON FILE
APONTE ORTEGA, MARIA MILAGROS   ADDRESS ON FILE
APONTE ORTEGA, TAINA            ADDRESS ON FILE
APONTE ORTEGA, TAISHA           ADDRESS ON FILE
APONTE ORTIZ, ANGEL             ADDRESS ON FILE
APONTE ORTIZ, ARIEL             ADDRESS ON FILE
APONTE ORTIZ, CARLOS            ADDRESS ON FILE
APONTE ORTIZ, CARLOS IVAN       ADDRESS ON FILE
APONTE ORTIZ, CARLOS R          ADDRESS ON FILE
APONTE ORTIZ, CARMEN            ADDRESS ON FILE
APONTE ORTIZ, CARMEN C          ADDRESS ON FILE
APONTE ORTIZ, CARMEN L          ADDRESS ON FILE
APONTE ORTIZ, DAVID             ADDRESS ON FILE
Aponte Ortiz, Edwin             ADDRESS ON FILE
APONTE ORTIZ, ELSIE             ADDRESS ON FILE
APONTE ORTIZ, ELVIS             ADDRESS ON FILE
Aponte Ortiz, Eugenio           ADDRESS ON FILE
APONTE ORTIZ, FELIX I.          ADDRESS ON FILE
APONTE ORTIZ, FERNANDO          ADDRESS ON FILE
APONTE ORTIZ, FERNANDO G        ADDRESS ON FILE
APONTE ORTIZ, GEORGINA          ADDRESS ON FILE
APONTE ORTIZ, GLENDA            ADDRESS ON FILE
APONTE ORTIZ, HECTOR            ADDRESS ON FILE
APONTE ORTIZ, HECTOR            ADDRESS ON FILE
Aponte Ortiz, Ivan              ADDRESS ON FILE
APONTE ORTIZ, JANICE            ADDRESS ON FILE
APONTE ORTIZ, JOSE              ADDRESS ON FILE
APONTE ORTIZ, JOSE              ADDRESS ON FILE
APONTE ORTIZ, JOSE              ADDRESS ON FILE
APONTE ORTIZ, JOSE              ADDRESS ON FILE
APONTE ORTIZ, JOSE A            ADDRESS ON FILE
APONTE ORTIZ, JOSE B            ADDRESS ON FILE
APONTE ORTIZ, JOSE G.           ADDRESS ON FILE
Aponte Ortiz, Jose Guillermo    ADDRESS ON FILE
APONTE ORTIZ, JOSE R.           ADDRESS ON FILE
APONTE ORTIZ, LUIS              ADDRESS ON FILE
APONTE ORTIZ, LUZ C             ADDRESS ON FILE
APONTE ORTIZ, LUZ E             ADDRESS ON FILE
Aponte Ortiz, Manuel            ADDRESS ON FILE
APONTE ORTIZ, MARELINE          ADDRESS ON FILE
APONTE ORTIZ, MARIA L.          ADDRESS ON FILE
Aponte Ortiz, Mariano           ADDRESS ON FILE
APONTE ORTIZ, MARILINDA         ADDRESS ON FILE
APONTE ORTIZ, MICHAEL           ADDRESS ON FILE
APONTE ORTIZ, MILAGROS          ADDRESS ON FILE
APONTE ORTIZ, MILAGROS          ADDRESS ON FILE
APONTE ORTIZ, NICOLLE           ADDRESS ON FILE
APONTE ORTIZ, NIDIA E           ADDRESS ON FILE
APONTE ORTIZ, NOHELYS M         ADDRESS ON FILE
APONTE ORTIZ, ORLANDO           ADDRESS ON FILE
Aponte Ortiz, Pedro             ADDRESS ON FILE
APONTE ORTIZ, PEDRO             ADDRESS ON FILE
APONTE ORTIZ, PEDRO R.          ADDRESS ON FILE
APONTE ORTIZ, RAFAEL            ADDRESS ON FILE
APONTE ORTIZ, SANDRA            ADDRESS ON FILE
APONTE ORTIZ, VILMA             ADDRESS ON FILE




                                                                            Page 504 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 505 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE ORTIZ, YAMARI         ADDRESS ON FILE
APONTE ORTIZ, YAMITZA        ADDRESS ON FILE
APONTE ORTIZ, ZAIDA N        ADDRESS ON FILE
APONTE OSORIO, FERNANDO      ADDRESS ON FILE
APONTE OSORIO, ZENAIDA       ADDRESS ON FILE
APONTE OSTOLAZA, ALICIA      ADDRESS ON FILE
APONTE OTERO, MARISOL        ADDRESS ON FILE
APONTE OYOLA, ASLIN F        ADDRESS ON FILE
Aponte Oyola, Deborah        ADDRESS ON FILE
APONTE OYOLA, DEBORAH        ADDRESS ON FILE
APONTE OZTOLAZA, RAUL        ADDRESS ON FILE
APONTE PABON, CARLOS         ADDRESS ON FILE
APONTE PABON, MATILDE        ADDRESS ON FILE
APONTE PABON, MATILDE        ADDRESS ON FILE
APONTE PACHECO, AMPARO       ADDRESS ON FILE
APONTE PACHECO, ANGEL        ADDRESS ON FILE
APONTE PACHECO, CRISTOPHER   ADDRESS ON FILE
APONTE PACHOT, HERIBERTO     ADDRESS ON FILE
APONTE PADILLA, YAMIL        ADDRESS ON FILE
APONTE PADRO, LIZZIE         ADDRESS ON FILE
APONTE PAGAN MD, JOSE S      ADDRESS ON FILE
APONTE PAGAN, ANGELY         ADDRESS ON FILE
APONTE PAGAN, BETTY          ADDRESS ON FILE
APONTE PAGAN, CARLOS         ADDRESS ON FILE
APONTE PAGAN, CARLOS         ADDRESS ON FILE
APONTE PAGAN, ELEIDA         ADDRESS ON FILE
APONTE PAGAN, IDALIA         ADDRESS ON FILE
APONTE PAGAN, JOHANNA        ADDRESS ON FILE
APONTE PAGAN, LAIANY         ADDRESS ON FILE
APONTE PAGAN, MARILU         ADDRESS ON FILE
APONTE PAGAN, MARILU         ADDRESS ON FILE
APONTE PAGAN, MARILUZ        ADDRESS ON FILE
Aponte Pagan, Milagros       ADDRESS ON FILE
APONTE PAGAN, SHIRLEY        ADDRESS ON FILE
APONTE PAGAN, SHIRLEY ANN    ADDRESS ON FILE
APONTE PAGAN, WILFREDO       ADDRESS ON FILE
APONTE PALOU, VANESSA C      ADDRESS ON FILE
APONTE PANIAGUA, LUCAS A     ADDRESS ON FILE
APONTE PARES MD, MARGARITA   ADDRESS ON FILE
APONTE PARGAS, ROGER         ADDRESS ON FILE
APONTE PARSI, ADELIA I       ADDRESS ON FILE
APONTE PARSI, JOSE           ADDRESS ON FILE
APONTE PARSI, JOSE J         ADDRESS ON FILE
APONTE PASCUAL, ANGEL R      ADDRESS ON FILE
APONTE PASCUAL, CARMEN       ADDRESS ON FILE
APONTE PASTRANA, CARMEN      ADDRESS ON FILE
APONTE PEDRAZA, WILFREDO     ADDRESS ON FILE
Aponte Peluyera, Santos      ADDRESS ON FILE
APONTE PEREIRA, CARMEN       ADDRESS ON FILE
APONTE PEREIRA, LOYDA M      ADDRESS ON FILE
APONTE PERES, KATIRIA E      ADDRESS ON FILE
APONTE PEREZ, ANA E          ADDRESS ON FILE
APONTE PEREZ, BLANCA M       ADDRESS ON FILE
APONTE PEREZ, CARMEN M       ADDRESS ON FILE
APONTE PEREZ, DINAH          ADDRESS ON FILE
APONTE PEREZ, FRANCISCO      ADDRESS ON FILE
APONTE PEREZ, GLORIA E       ADDRESS ON FILE
APONTE PEREZ, HECTOR         ADDRESS ON FILE
APONTE PEREZ, JENNIFER       ADDRESS ON FILE
Aponte Perez, Jerieliz       ADDRESS ON FILE




                                                                         Page 505 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 506 of 3500
                                                                                    Creditor Matrix

Creditor Name                Address1                      Address2                              Address3   Address4   City      State   PostalCode   Country
APONTE PEREZ, JOSE           ADDRESS ON FILE
APONTE PEREZ, JOSE           ADDRESS ON FILE
APONTE PEREZ, LEMUEL         ADDRESS ON FILE
APONTE PEREZ, LUIS           ADDRESS ON FILE
APONTE PEREZ, LUZ I          ADDRESS ON FILE
APONTE PEREZ, LUZ M.         ADDRESS ON FILE
APONTE PEREZ, MARCELO        ADDRESS ON FILE
APONTE PEREZ, MARIA L        ADDRESS ON FILE
APONTE PEREZ, MERALLY        ADDRESS ON FILE
APONTE PEREZ, REINALDO       ADDRESS ON FILE
APONTE PEREZ, ROSA           ADDRESS ON FILE
APONTE PEREZ, SARA           ADDRESS ON FILE
APONTE PEREZ, WILFREDO       ADDRESS ON FILE
APONTE PEREZ, ZENAIDA        ADDRESS ON FILE
APONTE PIETRI, JAVIER A.     ADDRESS ON FILE
Aponte Pineiro, Pedro R      ADDRESS ON FILE
APONTE PIZARRO, JUAN         ADDRESS ON FILE
APONTE PIZARRO, RAQUEL       ADDRESS ON FILE
APONTE PIZARRO,YANISSE       ADDRESS ON FILE
APONTE PLAZA, ANGELA         ADDRESS ON FILE
APONTE PLAZA, IVELISSE       ADDRESS ON FILE
APONTE PONS, SYLVIA          ADDRESS ON FILE
APONTE PUIG, CARMEN          ADDRESS ON FILE
APONTE PUIG, JOSE E.         ADDRESS ON FILE
APONTE PUIG, VIONETTE        ADDRESS ON FILE
APONTE QUILES, JOSE G        ADDRESS ON FILE
APONTE QUILES, ZENAIDA       ADDRESS ON FILE
APONTE QUINONES, BETTY M.    ADDRESS ON FILE
APONTE QUIÑONES, BETTY M.    LCDO. ARMANDO PIETRI TORRES   225 AVE. MUÑOS RIVERA                                       PONCE     PR      00717‐0635
APONTE QUINONES, ELVIS A     ADDRESS ON FILE
Aponte Quinones, Juan G      ADDRESS ON FILE
APONTE QUINONES, YOLANDA     ADDRESS ON FILE
APONTE QUINONES, YOLANDA     ADDRESS ON FILE
APONTE RABASSA, MARTA        ADDRESS ON FILE
APONTE RAMIREZ, DORIS        ADDRESS ON FILE
APONTE RAMIREZ, GLORIA       ADDRESS ON FILE
APONTE RAMIREZ, GLORIA       ADDRESS ON FILE
APONTE RAMIREZ, JADIRA       ADDRESS ON FILE
APONTE RAMIREZ, JADIRA A     ADDRESS ON FILE
APONTE RAMIREZ, JORGE        ADDRESS ON FILE
APONTE RAMIREZ, JOSE         ADDRESS ON FILE
APONTE RAMIREZ, JOSE A       ADDRESS ON FILE
APONTE RAMIREZ, MARIANYELI   ADDRESS ON FILE
APONTE RAMIREZ, MICHAEL      ADDRESS ON FILE
APONTE RAMIREZ, VICTOR A     ADDRESS ON FILE
APONTE RAMOS, ANGEL          ADDRESS ON FILE
APONTE RAMOS, ARISEL         ADDRESS ON FILE
APONTE RAMOS, BRYAN          ADDRESS ON FILE
APONTE RAMOS, CARLOS         ADDRESS ON FILE
APONTE RAMOS, CARMEN G       ADDRESS ON FILE
APONTE RAMOS, ELIEZER        ADDRESS ON FILE
APONTE RAMOS, ELIZABETH      ADDRESS ON FILE
APONTE RAMOS, ESTEBANY       ADDRESS ON FILE
APONTE RAMOS, GABRIEL        ADDRESS ON FILE
APONTE RAMOS, GLORIA         ADDRESS ON FILE
APONTE RAMOS, HECTOR N       ADDRESS ON FILE
APONTE RAMOS, JESENIA        ADDRESS ON FILE
APONTE RAMOS, JORGE A        ADDRESS ON FILE
APONTE RAMOS, JOSE           ADDRESS ON FILE
APONTE RAMOS, JOSE L         ADDRESS ON FILE




                                                                                   Page 506 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 507 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE RAMOS, JUAN E           ADDRESS ON FILE
APONTE RAMOS, LUIS A           ADDRESS ON FILE
APONTE RAMOS, LUZ              ADDRESS ON FILE
APONTE RAMOS, MAGALI           ADDRESS ON FILE
APONTE RAMOS, MARBELIZ         ADDRESS ON FILE
APONTE RAMOS, MARIA E.         ADDRESS ON FILE
APONTE RAMOS, MAYRA            ADDRESS ON FILE
APONTE RAMOS, MIGDALIA         ADDRESS ON FILE
APONTE RAMOS, MILDRED          ADDRESS ON FILE
APONTE RAMOS, NORBERTO         ADDRESS ON FILE
APONTE RAMOS, OMAYRA           ADDRESS ON FILE
APONTE RAMOS, OMAYRA           ADDRESS ON FILE
Aponte Ramos, Ramon D          ADDRESS ON FILE
APONTE RAMOS, ROSA             ADDRESS ON FILE
APONTE RAMOS, VIVIANETTE       ADDRESS ON FILE
APONTE RAMOS, WILBERT          ADDRESS ON FILE
APONTE RAMOS,VICTOR R          ADDRESS ON FILE
APONTE RENTAS, JORGE J.        ADDRESS ON FILE
APONTE RENTAS, JUAN            ADDRESS ON FILE
APONTE RESTO, JORGE            ADDRESS ON FILE
APONTE RESTO, JORGE L          ADDRESS ON FILE
APONTE REYES MD, NESTOR        ADDRESS ON FILE
APONTE REYES, CARMEN           ADDRESS ON FILE
APONTE REYES, CHARISIA         ADDRESS ON FILE
APONTE REYES, DANETSA          ADDRESS ON FILE
APONTE REYES, DANETSA          ADDRESS ON FILE
APONTE REYES, DELITZA          ADDRESS ON FILE
APONTE REYES, IRIS             ADDRESS ON FILE
APONTE REYES, IRIS             ADDRESS ON FILE
Aponte Reyes, Jaime            ADDRESS ON FILE
APONTE REYES, JAVIER           ADDRESS ON FILE
APONTE REYES, JAVIER F.        ADDRESS ON FILE
APONTE REYES, JORGE            ADDRESS ON FILE
APONTE REYES, JOSE R           ADDRESS ON FILE
APONTE REYES, LUIS A           ADDRESS ON FILE
APONTE REYES, MANELY           ADDRESS ON FILE
APONTE REYES, MARCOS           ADDRESS ON FILE
APONTE REYES, MARIA DE LOS A   ADDRESS ON FILE
APONTE REYES, MARITZA          ADDRESS ON FILE
APONTE REYES, MYRNA E.         ADDRESS ON FILE
Aponte Reyes, Orlando          ADDRESS ON FILE
APONTE RIJOS, SAUL             ADDRESS ON FILE
APONTE RIOS, ARY'EL            ADDRESS ON FILE
APONTE RIOS, CARLOS D          ADDRESS ON FILE
APONTE RIOS, EDWIN             ADDRESS ON FILE
APONTE RIOS, IVONNE            ADDRESS ON FILE
APONTE RIOS, JAIME             ADDRESS ON FILE
APONTE RIOS, NELSON            ADDRESS ON FILE
APONTE RIOS, NYDIA M.          ADDRESS ON FILE
APONTE RIOS, REBECCA           ADDRESS ON FILE
APONTE RIOS, XIOMARA           ADDRESS ON FILE
APONTE RIQUELMY, JULIA         ADDRESS ON FILE
APONTE RIVAS, LILLIAN          ADDRESS ON FILE
APONTE RIVAS, LUIS R           ADDRESS ON FILE
APONTE RIVERA, AIDA I          ADDRESS ON FILE
APONTE RIVERA, ALBA            ADDRESS ON FILE
APONTE RIVERA, ALBERTO         ADDRESS ON FILE
Aponte Rivera, Alberto         ADDRESS ON FILE
Aponte Rivera, Alexander       ADDRESS ON FILE
APONTE RIVERA, ANDRES          ADDRESS ON FILE




                                                                           Page 507 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 508 of 3500
                                                                                     Creditor Matrix

Creditor Name                  Address1                      Address2                             Address3          Address4   City         State   PostalCode   Country
APONTE RIVERA, ANGEL I         ADDRESS ON FILE
APONTE RIVERA, ANGEL I         ADDRESS ON FILE
Aponte Rivera, Angel L         ADDRESS ON FILE
APONTE RIVERA, ANGEL R.        ADDRESS ON FILE
APONTE RIVERA, ARTURO          ADDRESS ON FILE
APONTE RIVERA, BELINDA         ADDRESS ON FILE
APONTE RIVERA, BRENDALIZ       ADDRESS ON FILE
APONTE RIVERA, CARLOS          ADDRESS ON FILE
APONTE RIVERA, CARLOS          ADDRESS ON FILE
APONTE RIVERA, CARLOS          ADDRESS ON FILE
APONTE RIVERA, CARLOS E        ADDRESS ON FILE
APONTE RIVERA, CARLOS L.       ADDRESS ON FILE
APONTE RIVERA, CARLOS M.       ADDRESS ON FILE
Aponte Rivera, Carmelo         ADDRESS ON FILE
APONTE RIVERA, CARMEN A        ADDRESS ON FILE
APONTE RIVERA, CARMEN D        ADDRESS ON FILE
APONTE RIVERA, CARMEN D        ADDRESS ON FILE
APONTE RIVERA, CARMEN G        ADDRESS ON FILE
APONTE RIVERA, CELENIA         ADDRESS ON FILE
APONTE RIVERA, CORAL MELISSA   ADDRESS ON FILE
APONTE RIVERA, DAISY           ADDRESS ON FILE
APONTE RIVERA, DANIEL          ADDRESS ON FILE
APONTE RIVERA, DANIEL          ADDRESS ON FILE
APONTE RIVERA, DAYANA          ADDRESS ON FILE
APONTE RIVERA, DAYANA          ADDRESS ON FILE
APONTE RIVERA, EDWIN           ADDRESS ON FILE
APONTE RIVERA, ELIZABETH       ADDRESS ON FILE
APONTE RIVERA, ELVIS J.        ADDRESS ON FILE
APONTE RIVERA, EMILIA          ADDRESS ON FILE
APONTE RIVERA, ERNIE T         ADDRESS ON FILE
APONTE RIVERA, EUCLIDES        ADDRESS ON FILE
APONTE RIVERA, GLADYS E        ADDRESS ON FILE
APONTE RIVERA, HECTOR          ADDRESS ON FILE
Aponte Rivera, Hector L        ADDRESS ON FILE
APONTE RIVERA, INGRID Y        ADDRESS ON FILE
APONTE RIVERA, IRIS N          ADDRESS ON FILE
APONTE RIVERA, JAVIER          ADDRESS ON FILE
APONTE RIVERA, JAVIER A        ADDRESS ON FILE
APONTE RIVERA, JOAQUIN         ADDRESS ON FILE
APONTE RIVERA, JOSE            ADDRESS ON FILE
APONTE RIVERA, JOSE            ADDRESS ON FILE
APONTE RIVERA, JOSE            ADDRESS ON FILE
APONTE RIVERA, JOSE            ADDRESS ON FILE
Aponte Rivera, Jose A          ADDRESS ON FILE
APONTE RIVERA, JOSE E.         ADDRESS ON FILE
APONTE RIVERA, JOSE E.         ADDRESS ON FILE
APONTE RIVERA, JOSE G.         ADDRESS ON FILE
Aponte Rivera, Jose I          ADDRESS ON FILE
APONTE RIVERA, JOSE MANUEL     ADDRESS ON FILE
APONTE RIVERA, JUAN            ADDRESS ON FILE
APONTE RIVERA, LEONARDO        ADDRESS ON FILE
APONTE RIVERA, LUIS            ADDRESS ON FILE
Aponte Rivera, Luis A          ADDRESS ON FILE
APONTE RIVERA, LY MARIE        ADDRESS ON FILE
APONTE RIVERA, MARANGELI       ADDRESS ON FILE
APONTE RIVERA, MARCOS JAVIER   ADDRESS ON FILE
APONTE RIVERA, MARGARITA       ADDRESS ON FILE
APONTE RIVERA, MARIA E.        ADDRESS ON FILE
APONTE RIVERA, MARIA E.        LCDO. VISTOR BERMUDEZ PEREZ   URB. VILLA ANDALUCIA                 A22 CALLE RONDA              SAN JUAN     PR      00926
APONTE RIVERA, MARIA M         ADDRESS ON FILE




                                                                                    Page 508 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 509 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Aponte Rivera, Maria V        ADDRESS ON FILE
APONTE RIVERA, MARIA V.       ADDRESS ON FILE
APONTE RIVERA, MARICELY       ADDRESS ON FILE
APONTE RIVERA, MARICELY       ADDRESS ON FILE
APONTE RIVERA, MARISABEL      ADDRESS ON FILE
APONTE RIVERA, MARISABEL      ADDRESS ON FILE
APONTE RIVERA, MARISOL        ADDRESS ON FILE
APONTE RIVERA, MARTA I        ADDRESS ON FILE
APONTE RIVERA, MELISSA        ADDRESS ON FILE
APONTE RIVERA, MIGUEL         ADDRESS ON FILE
APONTE RIVERA, NATASHA E      ADDRESS ON FILE
APONTE RIVERA, NICOLLE        ADDRESS ON FILE
APONTE RIVERA, NORIANN        ADDRESS ON FILE
APONTE RIVERA, NORMA I        ADDRESS ON FILE
APONTE RIVERA, NYDIA M.       ADDRESS ON FILE
APONTE RIVERA, OBED           ADDRESS ON FILE
APONTE RIVERA, PIERRE         ADDRESS ON FILE
APONTE RIVERA, RAMON          ADDRESS ON FILE
APONTE RIVERA, RAQUEL         ADDRESS ON FILE
Aponte Rivera, Raul           ADDRESS ON FILE
APONTE RIVERA, RAUL           ADDRESS ON FILE
APONTE RIVERA, SARAH Y        ADDRESS ON FILE
APONTE RIVERA, SHEYLA         ADDRESS ON FILE
APONTE RIVERA, SONIA          ADDRESS ON FILE
APONTE RIVERA, TIFFANY        ADDRESS ON FILE
APONTE RIVERA, VICTOR M       ADDRESS ON FILE
APONTE RIVERA, VILMARY        ADDRESS ON FILE
APONTE RIVERA, VIRGINIA       ADDRESS ON FILE
APONTE RIVERA, WANDA          ADDRESS ON FILE
APONTE RIVERA, WILLIAM        ADDRESS ON FILE
APONTE RIVERA, WILMARIE       ADDRESS ON FILE
APONTE RIVERA, YAZMIN E       ADDRESS ON FILE
APONTE RIVERA, YAZMIN E.      ADDRESS ON FILE
Aponte Rivera, Yolanda D      ADDRESS ON FILE
Aponte Rivera, Yovanna        ADDRESS ON FILE
APONTE ROBLES, GENESIS        ADDRESS ON FILE
APONTE ROBLES, IVETTE         ADDRESS ON FILE
APONTE ROBLES, LESLIEAN       ADDRESS ON FILE
APONTE RODRIGUEZ MD, ELBA G   ADDRESS ON FILE
APONTE RODRIGUEZ, ADA E       ADDRESS ON FILE
APONTE RODRIGUEZ, ADA I       ADDRESS ON FILE
APONTE RODRIGUEZ, ALEIDA      ADDRESS ON FILE
APONTE RODRIGUEZ, ALEX E.     ADDRESS ON FILE
APONTE RODRIGUEZ, ANGEL       ADDRESS ON FILE
APONTE RODRIGUEZ, ANTONIA     ADDRESS ON FILE
Aponte Rodriguez, Bernice     ADDRESS ON FILE
APONTE RODRIGUEZ, BILLY       ADDRESS ON FILE
APONTE RODRIGUEZ, CARLOS      ADDRESS ON FILE
APONTE RODRIGUEZ, CARMEN      ADDRESS ON FILE
APONTE RODRIGUEZ, CARMEN M    ADDRESS ON FILE
APONTE RODRIGUEZ, CARMEN M    ADDRESS ON FILE
APONTE RODRIGUEZ, CARMEN M.   ADDRESS ON FILE
APONTE RODRIGUEZ, CHRISTIAN   ADDRESS ON FILE
APONTE RODRIGUEZ, DENISSE     ADDRESS ON FILE
Aponte Rodriguez, Edwin       ADDRESS ON FILE
APONTE RODRIGUEZ, EDWIN       ADDRESS ON FILE
APONTE RODRIGUEZ, EFRAIN      ADDRESS ON FILE
APONTE RODRIGUEZ, ELBA G.     ADDRESS ON FILE
APONTE RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
APONTE RODRIGUEZ, ELIZABETH   ADDRESS ON FILE




                                                                          Page 509 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 510 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE RODRIGUEZ, EULOGIA        ADDRESS ON FILE
Aponte Rodriguez, Hector         ADDRESS ON FILE
APONTE RODRIGUEZ, HECTOR         ADDRESS ON FILE
APONTE RODRIGUEZ, HILDA          ADDRESS ON FILE
APONTE RODRIGUEZ, IRISBEL        ADDRESS ON FILE
APONTE RODRIGUEZ, ISAAC          ADDRESS ON FILE
APONTE RODRIGUEZ, ISAIAS         ADDRESS ON FILE
APONTE RODRIGUEZ, ISRALY         ADDRESS ON FILE
APONTE RODRIGUEZ, IVELISSE       ADDRESS ON FILE
APONTE RODRIGUEZ, IVONNE         ADDRESS ON FILE
APONTE RODRIGUEZ, IVONNE         ADDRESS ON FILE
APONTE RODRIGUEZ, JAIME L        ADDRESS ON FILE
APONTE RODRIGUEZ, JAVIER         ADDRESS ON FILE
APONTE RODRIGUEZ, JEAN           ADDRESS ON FILE
APONTE RODRIGUEZ, JENNIFER       ADDRESS ON FILE
APONTE RODRIGUEZ, JESSE          ADDRESS ON FILE
APONTE RODRIGUEZ, JOSE           ADDRESS ON FILE
APONTE RODRIGUEZ, JOSE           ADDRESS ON FILE
Aponte Rodriguez, Jose O         ADDRESS ON FILE
Aponte Rodriguez, Jose R         ADDRESS ON FILE
APONTE RODRIGUEZ, JOSSIE D       ADDRESS ON FILE
APONTE RODRIGUEZ, KEYSHLA Y      ADDRESS ON FILE
APONTE RODRIGUEZ, LILLIAM        ADDRESS ON FILE
Aponte Rodriguez, Lizandra I     ADDRESS ON FILE
APONTE RODRIGUEZ, LOURDES        ADDRESS ON FILE
APONTE RODRIGUEZ, LOURDES        ADDRESS ON FILE
Aponte Rodriguez, Luis           ADDRESS ON FILE
APONTE RODRIGUEZ, LUIS           ADDRESS ON FILE
APONTE RODRIGUEZ, LUIS           ADDRESS ON FILE
APONTE RODRIGUEZ, LUIS O         ADDRESS ON FILE
APONTE RODRIGUEZ, LUZ D          ADDRESS ON FILE
APONTE RODRIGUEZ, LUZ R          ADDRESS ON FILE
APONTE RODRIGUEZ, MAGDALITZA     ADDRESS ON FILE
APONTE RODRIGUEZ, MALISSA        ADDRESS ON FILE
APONTE RODRIGUEZ, MARIADEL MAR   ADDRESS ON FILE
APONTE RODRIGUEZ, MARIELA        ADDRESS ON FILE
APONTE RODRIGUEZ, MARILYN        ADDRESS ON FILE
APONTE RODRIGUEZ, MARITZA        ADDRESS ON FILE
APONTE RODRIGUEZ, MAYCO          ADDRESS ON FILE
APONTE RODRIGUEZ, MILTON         ADDRESS ON FILE
APONTE RODRIGUEZ, MINERVA        ADDRESS ON FILE
APONTE RODRIGUEZ, MIRIAM         ADDRESS ON FILE
APONTE RODRIGUEZ, MIRIAM J.      ADDRESS ON FILE
APONTE RODRIGUEZ, NOELIA         ADDRESS ON FILE
APONTE RODRIGUEZ, NORMA          ADDRESS ON FILE
APONTE RODRIGUEZ, OBED           ADDRESS ON FILE
APONTE RODRIGUEZ, RAFAEL         ADDRESS ON FILE
APONTE RODRIGUEZ, RAFAEL         ADDRESS ON FILE
APONTE RODRIGUEZ, RAMON          ADDRESS ON FILE
APONTE RODRIGUEZ, ROBERTO        ADDRESS ON FILE
APONTE RODRIGUEZ, SALLY D        ADDRESS ON FILE
APONTE RODRIGUEZ, SANDRA LEE     ADDRESS ON FILE
APONTE RODRIGUEZ, SARA I         ADDRESS ON FILE
APONTE RODRIGUEZ, VILMARYS       ADDRESS ON FILE
APONTE RODRIGUEZ, WANDA I        ADDRESS ON FILE
APONTE RODRIGUEZ, XIOMARA        ADDRESS ON FILE
APONTE RODRIGUEZ, YANCY X.       ADDRESS ON FILE
APONTE RODRIGUEZ, YESMAR         ADDRESS ON FILE
APONTE RODRIGUEZ, ZYLKIA L       ADDRESS ON FILE
APONTE ROJAS, LUIS E             ADDRESS ON FILE




                                                                             Page 510 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 511 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE ROJAS, PEDRO          ADDRESS ON FILE
APONTE ROJAS, RAFAEL         ADDRESS ON FILE
APONTE ROJAS, YHAMIL         ADDRESS ON FILE
APONTE ROLDAN, PABLO         ADDRESS ON FILE
APONTE ROLDAN, SONIA M       ADDRESS ON FILE
APONTE ROMAN, ANA            ADDRESS ON FILE
APONTE ROMAN, CECILIA        ADDRESS ON FILE
APONTE ROMAN, EMANUEL        ADDRESS ON FILE
APONTE ROMAN, LUIS           ADDRESS ON FILE
APONTE ROMAN, VANESSA        ADDRESS ON FILE
APONTE ROQUE, MAGALY         ADDRESS ON FILE
APONTE ROSA, AIDA            ADDRESS ON FILE
APONTE ROSA, CARMEN E        ADDRESS ON FILE
APONTE ROSA, LILLIAM         ADDRESS ON FILE
APONTE ROSA, LILLIAM M.      ADDRESS ON FILE
APONTE ROSA, MARIA M         ADDRESS ON FILE
APONTE ROSA, NIDIA M         ADDRESS ON FILE
APONTE ROSADO, AIDA L.       ADDRESS ON FILE
APONTE ROSADO, AXEL          ADDRESS ON FILE
APONTE ROSADO, DORA A        ADDRESS ON FILE
APONTE ROSADO, EDWIN         ADDRESS ON FILE
Aponte Rosado, Elvin L       ADDRESS ON FILE
APONTE ROSADO, EVELYN        ADDRESS ON FILE
APONTE ROSADO, NELSIE        ADDRESS ON FILE
APONTE ROSADO, NELSON        ADDRESS ON FILE
APONTE ROSADO, WANDA         ADDRESS ON FILE
APONTE ROSADO, YILEIKA M     ADDRESS ON FILE
APONTE ROSALY, CYTHIA        ADDRESS ON FILE
APONTE ROSARIO, BLANCA E     ADDRESS ON FILE
APONTE ROSARIO, DENNIS       ADDRESS ON FILE
APONTE ROSARIO, ERNESTO      ADDRESS ON FILE
APONTE ROSARIO, EWINDA       ADDRESS ON FILE
Aponte Rosario, Gilberto     ADDRESS ON FILE
APONTE ROSARIO, GUILLERMO    ADDRESS ON FILE
APONTE ROSARIO, JANNETTE     ADDRESS ON FILE
APONTE ROSARIO, JOSE R.      ADDRESS ON FILE
APONTE ROSARIO, JOSUE        ADDRESS ON FILE
Aponte Rosario, Juan         ADDRESS ON FILE
APONTE ROSARIO, LENNY        ADDRESS ON FILE
APONTE ROSARIO, MANUEL       ADDRESS ON FILE
APONTE ROSARIO, MARIA M      ADDRESS ON FILE
APONTE ROSARIO, MARISELA     ADDRESS ON FILE
APONTE ROSARIO, MIGDAMARIE   ADDRESS ON FILE
APONTE ROSARIO, SAUL         ADDRESS ON FILE
APONTE ROSARIO, WILSON       ADDRESS ON FILE
APONTE ROSARIO,ZWINDA I.     ADDRESS ON FILE
APONTE RUIZ, EDWIN O         ADDRESS ON FILE
APONTE RUIZ, JOEL I.         ADDRESS ON FILE
APONTE RUIZ, JOSE            ADDRESS ON FILE
APONTE RUIZ, JUAN            ADDRESS ON FILE
APONTE RUIZ, JUAN            ADDRESS ON FILE
APONTE RUIZ, JUAN A          ADDRESS ON FILE
APONTE RUIZ, JUAN A.         ADDRESS ON FILE
APONTE RUIZ, KEISHLA         ADDRESS ON FILE
APONTE RUIZ, LESLEY C        ADDRESS ON FILE
APONTE RUIZ, LOURDES         ADDRESS ON FILE
APONTE RUIZ, LUANA           ADDRESS ON FILE
Aponte Ruiz, Luis A          ADDRESS ON FILE
Aponte Ruiz, Maria M         ADDRESS ON FILE
APONTE RUIZ, VILMA           ADDRESS ON FILE




                                                                         Page 511 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 512 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE RUIZ, YESENIA         ADDRESS ON FILE
APONTE RUIZ, YOLANDA         ADDRESS ON FILE
APONTE RUIZ, YOLANDA         ADDRESS ON FILE
APONTE RUPERTO, JUAN J       ADDRESS ON FILE
APONTE RUPERTO, MARIANGELI   ADDRESS ON FILE
APONTE SALAS, MARANGELY      ADDRESS ON FILE
APONTE SANCHEZ, ANDY         ADDRESS ON FILE
Aponte Sanchez, Andy J.      ADDRESS ON FILE
APONTE SANCHEZ, CAROLYN      ADDRESS ON FILE
APONTE SANCHEZ, CAROLYN      ADDRESS ON FILE
Aponte Sanchez, Felix E.     ADDRESS ON FILE
APONTE SANCHEZ, GILBERTO     ADDRESS ON FILE
APONTE SANCHEZ, ISACC        ADDRESS ON FILE
APONTE SANCHEZ, IVONNE       ADDRESS ON FILE
APONTE SANCHEZ, JORGE        ADDRESS ON FILE
APONTE SANCHEZ, JOSE         ADDRESS ON FILE
APONTE SANCHEZ, JOSEFINA     ADDRESS ON FILE
APONTE SANCHEZ, LUIS A       ADDRESS ON FILE
APONTE SANCHEZ, MAYRA        ADDRESS ON FILE
APONTE SANCHEZ, MAYRA        ADDRESS ON FILE
APONTE SANCHEZ, MIGUEL A.    ADDRESS ON FILE
APONTE SANCHEZ, MILDRED M.   ADDRESS ON FILE
APONTE SANCHEZ, MIRIAM       ADDRESS ON FILE
APONTE SANCHEZ, NILDA E      ADDRESS ON FILE
APONTE SANCHEZ, NILSA        ADDRESS ON FILE
APONTE SANES, CARLOS         ADDRESS ON FILE
Aponte Sanes, Jose D         ADDRESS ON FILE
APONTE SANES,CARLOS M.       ADDRESS ON FILE
APONTE SANTA, JAN CARLOS     ADDRESS ON FILE
APONTE SANTANA, FERNANDO     ADDRESS ON FILE
APONTE SANTANA, GERALDINE    ADDRESS ON FILE
APONTE SANTANA, GUEISHA      ADDRESS ON FILE
APONTE SANTIAGO, ANA         ADDRESS ON FILE
APONTE SANTIAGO, ANGEL R     ADDRESS ON FILE
Aponte Santiago, Arturo      ADDRESS ON FILE
APONTE SANTIAGO, AWILDA      ADDRESS ON FILE
APONTE SANTIAGO, BENJAMIN    ADDRESS ON FILE
APONTE SANTIAGO, CARMEN Z    ADDRESS ON FILE
APONTE SANTIAGO, DIMARIS     ADDRESS ON FILE
APONTE SANTIAGO, DIMARIS     ADDRESS ON FILE
APONTE SANTIAGO, ERIC        ADDRESS ON FILE
APONTE SANTIAGO, ERICK R.    ADDRESS ON FILE
APONTE SANTIAGO, GLORIMAR    ADDRESS ON FILE
APONTE SANTIAGO, KELVIN      ADDRESS ON FILE
APONTE SANTIAGO, LUIS E.     ADDRESS ON FILE
APONTE SANTIAGO, MARIA L.    ADDRESS ON FILE
APONTE SANTIAGO, MARIA L.    ADDRESS ON FILE
APONTE SANTIAGO, MIRIAM      ADDRESS ON FILE
APONTE SANTIAGO, NELLY       ADDRESS ON FILE
APONTE SANTIAGO, NIEVES O.   ADDRESS ON FILE
APONTE SANTIAGO, NIEVES O.   ADDRESS ON FILE
APONTE SANTIAGO, SANDRA      ADDRESS ON FILE
APONTE SANTIAGO, VANESSA     ADDRESS ON FILE
APONTE SANTIAGO, YAMIL A     ADDRESS ON FILE
APONTE SANTIAGO, ZULMA V     ADDRESS ON FILE
APONTE SANTINI, ALVIN        ADDRESS ON FILE
APONTE SANTOS, CYNTHIA       ADDRESS ON FILE
APONTE SANTOS, ELBA L        ADDRESS ON FILE
APONTE SANTOS, EVANGELINA    ADDRESS ON FILE
APONTE SANTOS, FRANCISCO     ADDRESS ON FILE




                                                                         Page 512 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 513 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE SANTOS, GILDA G       ADDRESS ON FILE
APONTE SANTOS, MARIA         ADDRESS ON FILE
APONTE SANTOS, MARIA M       ADDRESS ON FILE
APONTE SANTOS, MELVIN        ADDRESS ON FILE
Aponte Santos, Neftali       ADDRESS ON FILE
APONTE SANTOS, NYDIA L.      ADDRESS ON FILE
APONTE SAURI, ISAURA         ADDRESS ON FILE
APONTE SAURI, YAZAYRA        ADDRESS ON FILE
APONTE SEMPRIT, ANGEL        ADDRESS ON FILE
APONTE SEPULVEDA, EDISON     ADDRESS ON FILE
APONTE SEPULVEDA, INES       ADDRESS ON FILE
APONTE SERRANO, ALFREDO      ADDRESS ON FILE
Aponte Serrano, Aracelis     ADDRESS ON FILE
APONTE SERRANO, EDGARDO      ADDRESS ON FILE
APONTE SERRANO, ELOY         ADDRESS ON FILE
APONTE SERRANO, FIDEL        ADDRESS ON FILE
APONTE SERRANO, FIDEL        ADDRESS ON FILE
APONTE SERRANO, JOSE G       ADDRESS ON FILE
APONTE SERRANO, MARIBEL      ADDRESS ON FILE
APONTE SERRANO, MARILUZ      ADDRESS ON FILE
APONTE SERRANO, ZULMA        ADDRESS ON FILE
APONTE SEVILLA, ALBERTI      ADDRESS ON FILE
APONTE SIERRA, ANA H         ADDRESS ON FILE
APONTE SIERRA, CARMEN A      ADDRESS ON FILE
APONTE SIERRA, ELIZABETH     ADDRESS ON FILE
APONTE SIERRA, GLORIA E.     ADDRESS ON FILE
APONTE SIERRA, LUCILA        ADDRESS ON FILE
APONTE SIERRA, MARGARITA     ADDRESS ON FILE
APONTE SIERRA, ROBERTO       ADDRESS ON FILE
APONTE SILVA, ALBERTO        ADDRESS ON FILE
APONTE SILVA, ROXANA         ADDRESS ON FILE
APONTE SILVA, ROXANA         ADDRESS ON FILE
APONTE SILVA, SHEILA LEE     ADDRESS ON FILE
APONTE SILVA, SUHAIL         ADDRESS ON FILE
APONTE SILVA, WALESKA E.     ADDRESS ON FILE
APONTE SINGALA, JOSEPH       ADDRESS ON FILE
APONTE SOSA, AWILDA          ADDRESS ON FILE
APONTE SOSA, WILFREDO        ADDRESS ON FILE
APONTE SOTO, JUAN            ADDRESS ON FILE
APONTE SOTO, LUIS C          ADDRESS ON FILE
APONTE SOTO, MICHELL R       ADDRESS ON FILE
APONTE STEFANCIC, ANA        ADDRESS ON FILE
APONTE STEFANCIC, VANESSA    ADDRESS ON FILE
APONTE SUAREZ, ALBA N        ADDRESS ON FILE
APONTE SUAREZ, ANA M         ADDRESS ON FILE
APONTE SUAREZ, ELSIE         ADDRESS ON FILE
APONTE SUAREZ, SANDRA M      ADDRESS ON FILE
Aponte Suarez, Tomas E       ADDRESS ON FILE
Aponte Surillo, Jeanette M   ADDRESS ON FILE
APONTE TAPIA, VIRGENMINA     ADDRESS ON FILE
APONTE TEXEIRA, WILLIAM      ADDRESS ON FILE
APONTE TIRADO, MARIA M       ADDRESS ON FILE
APONTE TIRADO, NOREEN        ADDRESS ON FILE
APONTE TORO, ROBERTO         ADDRESS ON FILE
APONTE TORRES, ANA           ADDRESS ON FILE
APONTE TORRES, ANGEL         ADDRESS ON FILE
APONTE TORRES, ANTONIA       ADDRESS ON FILE
APONTE TORRES, ASUNCION      ADDRESS ON FILE
APONTE TORRES, BARBARA       ADDRESS ON FILE
APONTE TORRES, BIANCA        ADDRESS ON FILE




                                                                         Page 513 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 514 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
APONTE TORRES, BRIAN I.      ADDRESS ON FILE
APONTE TORRES, CARLOS        ADDRESS ON FILE
APONTE TORRES, CARLOS A      ADDRESS ON FILE
APONTE TORRES, CARMEN        ADDRESS ON FILE
Aponte Torres, Charitza      ADDRESS ON FILE
APONTE TORRES, DELIABEL      ADDRESS ON FILE
APONTE TORRES, EDDIE         ADDRESS ON FILE
APONTE TORRES, EDITH B.      ADDRESS ON FILE
APONTE TORRES, EUGENIO       ADDRESS ON FILE
APONTE TORRES, FELIX         ADDRESS ON FILE
APONTE TORRES, GILBERTO      ADDRESS ON FILE
APONTE TORRES, GINA          ADDRESS ON FILE
APONTE TORRES, GISELLE       ADDRESS ON FILE
APONTE TORRES, GLORIA        ADDRESS ON FILE
APONTE TORRES, GLORIA I      ADDRESS ON FILE
APONTE TORRES, HAYDEE        ADDRESS ON FILE
APONTE TORRES, HECTOR        ADDRESS ON FILE
APONTE TORRES, ISMAEL        ADDRESS ON FILE
APONTE TORRES, IVETTE M.     ADDRESS ON FILE
APONTE TORRES, JALESKA       ADDRESS ON FILE
APONTE TORRES, JANET         ADDRESS ON FILE
APONTE TORRES, JESSICA       ADDRESS ON FILE
APONTE TORRES, JOSE          ADDRESS ON FILE
APONTE TORRES, JOSE          ADDRESS ON FILE
APONTE TORRES, JOSE A        ADDRESS ON FILE
APONTE TORRES, JOSE J.       ADDRESS ON FILE
APONTE TORRES, JOSE R.       ADDRESS ON FILE
APONTE TORRES, JOSE R.       ADDRESS ON FILE
APONTE TORRES, JUAN          ADDRESS ON FILE
Aponte Torres, Juan G        ADDRESS ON FILE
APONTE TORRES, LARISSA       ADDRESS ON FILE
APONTE TORRES, LAURA         ADDRESS ON FILE
APONTE TORRES, LENITZIA      ADDRESS ON FILE
APONTE TORRES, LEONARDO A.   ADDRESS ON FILE
APONTE TORRES, LIZA M        ADDRESS ON FILE
APONTE TORRES, LIZSANDRA     ADDRESS ON FILE
APONTE TORRES, LOURDES       ADDRESS ON FILE
APONTE TORRES, LOURDES E     ADDRESS ON FILE
APONTE TORRES, LUIS          ADDRESS ON FILE
APONTE TORRES, LUZ M         ADDRESS ON FILE
APONTE TORRES, LUZ S         ADDRESS ON FILE
APONTE TORRES, MARTA E       ADDRESS ON FILE
APONTE TORRES, MERCEDES      ADDRESS ON FILE
APONTE TORRES, MICHEL        ADDRESS ON FILE
APONTE TORRES, MILAGROS      ADDRESS ON FILE
APONTE TORRES, MIRIANGIE     ADDRESS ON FILE
APONTE TORRES, MYRNA         ADDRESS ON FILE
Aponte Torres, Nestor L      ADDRESS ON FILE
APONTE TORRES, PAOLA L       ADDRESS ON FILE
APONTE TORRES, RAMON         ADDRESS ON FILE
APONTE TORRES, RAMON E.      ADDRESS ON FILE
APONTE TORRES, RUTH          ADDRESS ON FILE
APONTE TORRES, SANDRA I      ADDRESS ON FILE
APONTE TORRES, SHADYA        ADDRESS ON FILE
APONTE TORRES, VILMA         ADDRESS ON FILE
APONTE TORRES, VINCENT       ADDRESS ON FILE
APONTE TORRES, VIRGINIA      ADDRESS ON FILE
APONTE TORRES, WILBERTO      ADDRESS ON FILE
APONTE TORRES, WILBERTO      ADDRESS ON FILE
APONTE TORRES, ZORAIDA       ADDRESS ON FILE




                                                                         Page 514 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 515 of 3500
                                                                                       Creditor Matrix

Creditor Name               Address1                       Address2                                 Address3             Address4     City            State   PostalCode   Country
APONTE TORRES, ZORAIDA      ADDRESS ON FILE
Aponte Torres, Zulma        ADDRESS ON FILE
APONTE TRINIDAD, EVELYN     ADDRESS ON FILE
APONTE TRINTA, ELVIN        ADDRESS ON FILE
APONTE URBINA, DAISY        ADDRESS ON FILE
APONTE URBINA, LUIS O       ADDRESS ON FILE
APONTE VALENTIN, EDWIN      ADDRESS ON FILE
APONTE VALENTIN, FLOR N.    ADDRESS ON FILE
APONTE VALENTIN, NEREIDA    ADDRESS ON FILE
APONTE VALENTIN, NEREIDA    ADDRESS ON FILE
Aponte Valle, Jose R        ADDRESS ON FILE
APONTE VALLE, MARIA A       ADDRESS ON FILE
APONTE VARES, MARGARITA     ADDRESS ON FILE
APONTE VARGAS, HECTOR       ADDRESS ON FILE
APONTE VARGAS, SANTA E      ADDRESS ON FILE
APONTE VARGAS, SANTOS       ADDRESS ON FILE
APONTE VAZQUEZ CELENIA      ANTONIO RODRIGUEZ FRATICELLI   224 AVE DOMENECH SUITE 1                                                   SAN JUAN        PR      00918
APONTE VAZQUEZ CELENIA      MELBA D RAMOS APONTE           PO BOX 945                                                                 SAN LORENZO     PR      00754
APONTE VAZQUEZ, BENNY       ADDRESS ON FILE
APONTE VAZQUEZ, CELENIA     ADDRESS ON FILE
APONTE VAZQUEZ, CELENIA     MALCOLM S. MEDLEY              525 F.D. ROOSEVELT AVE.                  PLAZA LAS AMERICAS   SUITE 1202   SAN JUAN        PR      00918‐8001
APONTE VAZQUEZ, CHENDILEE   ADDRESS ON FILE
APONTE VAZQUEZ, EDWIN       ADDRESS ON FILE
APONTE VAZQUEZ, EVELYN      ADDRESS ON FILE
APONTE VAZQUEZ, GERMAN      ADDRESS ON FILE
APONTE VAZQUEZ, IRAIDA      ADDRESS ON FILE
APONTE VAZQUEZ, JANET       ADDRESS ON FILE
APONTE VAZQUEZ, JENNIFER    ADDRESS ON FILE
APONTE VAZQUEZ, JORGE       ADDRESS ON FILE
APONTE VAZQUEZ, JOSE L      ADDRESS ON FILE
APONTE VAZQUEZ, JUAN B      ADDRESS ON FILE
APONTE VAZQUEZ, LUIS        ADDRESS ON FILE
APONTE VAZQUEZ, MADELINE    ADDRESS ON FILE
APONTE VAZQUEZ, MARISOL     ADDRESS ON FILE
APONTE VAZQUEZ, ORFA M.     ADDRESS ON FILE
APONTE VAZQUEZ, RONALD      ADDRESS ON FILE
APONTE VAZQUEZ, ROSA M      ADDRESS ON FILE
APONTE VAZQUEZ, SANDRA P    ADDRESS ON FILE
APONTE VEGA, ADNERIS        ADDRESS ON FILE
APONTE VEGA, CINDY          ADDRESS ON FILE
APONTE VEGA, CINDY          ADDRESS ON FILE
APONTE VEGA, GLENDA         ADDRESS ON FILE
APONTE VEGA, JOSE           ADDRESS ON FILE
APONTE VEGA, JOSE R.        ADDRESS ON FILE
APONTE VEGA, LUIS A         ADDRESS ON FILE
APONTE VEGA, MARIBEL        ADDRESS ON FILE
APONTE VEGA, MYRIAM         ADDRESS ON FILE
APONTE VEGA, SONIA          ADDRESS ON FILE
APONTE VELAZQUEZ, DELIA     ADDRESS ON FILE
APONTE VELAZQUEZ, EDUARDO   ADDRESS ON FILE
APONTE VELAZQUEZ, JOSE      ADDRESS ON FILE
APONTE VELAZQUEZ, LUIS      ADDRESS ON FILE
APONTE VELEZ, AGUSTIN       ADDRESS ON FILE
APONTE VELEZ, ARMANDO       ADDRESS ON FILE
APONTE VELEZ, ARMANDO       ADDRESS ON FILE
APONTE VELEZ, GILBERTO      ADDRESS ON FILE
APONTE VELEZ, JOSE R        ADDRESS ON FILE
APONTE VELEZ, SONIA         ADDRESS ON FILE
APONTE VERA, AMABELLE       ADDRESS ON FILE
APONTE VERA, AMALIE         ADDRESS ON FILE




                                                                                      Page 515 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 516 of 3500
                                                                                                                Creditor Matrix

Creditor Name                            Address1                                  Address2                                  Address3   Address4   City                State   PostalCode   Country
APONTE VERA, ELENA                       ADDRESS ON FILE
APONTE VERA, IDALIE                      ADDRESS ON FILE
APONTE VIDAL, JOHANA I.                  ADDRESS ON FILE
APONTE VIDAL, JOHANA I.                  ADDRESS ON FILE
APONTE VIDAL, YOLANDA                    ADDRESS ON FILE
APONTE VILA, EDUARDO                     ADDRESS ON FILE
APONTE VIZCARRONDO, JESSICA              ADDRESS ON FILE
APONTE YORRO, LUCILA                     ADDRESS ON FILE
APONTE ZAPATA, ARLENE                    ADDRESS ON FILE
APONTE ZAVALA, HECTOR O                  ADDRESS ON FILE
APONTE ZAYAS, ANABEL                     ADDRESS ON FILE
APONTE ZAYAS, ARNALDO                    ADDRESS ON FILE
APONTE ZAYAS, DINORAH                    ADDRESS ON FILE
APONTE ZAYAS, EDNA M.                    ADDRESS ON FILE
Aponte Zayas, Javier                     ADDRESS ON FILE
APONTE ZAYAS, LINETTE                    ADDRESS ON FILE
APONTE ZAYAS, MARIA                      ADDRESS ON FILE
APONTE ZAYAS, MARISELA                   ADDRESS ON FILE
APONTE ZAYAS, YAHAIRA                    ADDRESS ON FILE
APONTE, ANGEL                            ADDRESS ON FILE
APONTE, AURISTELA                        ADDRESS ON FILE
APONTE, BENILUZ                          ADDRESS ON FILE
APONTE, CARMEN                           ADDRESS ON FILE
APONTE, GLORIA                           ADDRESS ON FILE
APONTE, IVETTE                           ADDRESS ON FILE
APONTE, JAVIER                           ADDRESS ON FILE
APONTE, JOSE A.                          ADDRESS ON FILE
APONTE, JOSE F.                          ADDRESS ON FILE
APONTE, JOSE R.                          ADDRESS ON FILE
APONTE, MILAGROS                         ADDRESS ON FILE
APONTE, NEREIDA                          ADDRESS ON FILE
APONTE, SYLVIA                           ADDRESS ON FILE
APONTE, TOMAS                            ADDRESS ON FILE
APONTE,SANDRA N.                         ADDRESS ON FILE
APONTE,YAZAIRA                           ADDRESS ON FILE
APONTELUNA, HECTOR L                     ADDRESS ON FILE
APONTEORTIZ, BRENDAL.                    ADDRESS ON FILE
APONTERIOS, EVELYN                       ADDRESS ON FILE
APONTERIVERA, NILDA                      ADDRESS ON FILE
APONTERODRIGUEZ, ELBA                    ADDRESS ON FILE
APOYO EMPRESARIAL PARA LA PENINSULA DE   CANTERA                                   PO BOX 7187                                                     SAN JUAN            PR      00916‐7187
APP LAW OFFICE P S C                     VALLE DE SAN LUIS                         298 VIA DEL CIELO                                               CAGUAS              PR      00725
APP PHARMACEUTICAS MFG LLC               PO BOX 190998                                                                                             SAN JUAN            PR      00919‐0998
APPLE CENTER                             AVE PONCE DE LEON 431 EDIF BANCO NACIONAL                                                                 HATO REY            PR      00919
AppleCare Service Company, Inc.          1 Infinite Loop                                                                                           Cupertino           CA      95014
APPLEGATE KUSKO, MARY                    ADDRESS ON FILE
APPLEWOOD CENTERS                        3518 W 25TH ST                                                                                            CLEVELAND           OH      44109 1995
APPLEYARD MARTINOWSKA, CAROLINE          ADDRESS ON FILE
APPLIANCE & REFRIGERATION SERVICES INC   PO BOX 10346                                                                                              PONCE               PR      00732
APPLICA, INC.                            AVENIDA ESCORIAL                          621 CAPARRA HEIGHTS                                             SAN JUAN            PR      00920
APPLIED CONCEPTS INC                     2609 TECHNOLOGY DR                                                                                        PLANO               TX      75074
APPLIED ENVIRONMENTAL SERVICE            AVE PONCE DE LEON                         EDIF METMOR NUM 802                                             SAN JUAN            PR      00918
APPLIED SYSTEMS INC                      200 APPLIED PARKWAY                                                                                       UNIVERSITY PARK     IL      60411
APPLIGENT INC                            22 EAST BALTIMORE AVE                                                                                     LANSDOWNE           PA      19050
APPRAISALDRIVE PSC/MILTON E MARTINEZ     PO BOX 2019                                                                                               SAN GERMAN          PR      00683
APPRAISER JAIME APONTE PSC               PO BOX 9300240                                                                                            SAN JUAN            PR      00928‐5640
APPRAISERS ADVISORS PSC                  662 CALLE CONCORDIA                                                                                       SAN JUAN            PR      00907‐3509
APPTEKS, INC                             P.O. BOX 194000                           PMB 330                                                         SAN JUAN            PR      00919
APR BAYAMON SERVICE STATION              PO BOX 51241                                                                                              TOA BAJA            PR      00950
APRENDE INC                              AREA DE TESORO                            DIVISION DE RECLAMACIONES                                       SAN JUAN            PR      00902‐4140




                                                                                                               Page 516 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 517 of 3500
                                                                                                     Creditor Matrix

Creditor Name                           Address1                        Address2                                  Address3   Address4   City            State   PostalCode   Country
APRENDE INC                             MSC 692                         138 AVE WINSTON CHURCHILL                                       SAN JUAN        PR      00926‐6023
APRENDIENDO CON AMOR, LLC               402 CALLE ENSENADA              CAPARRA HEIGHS                                                  SAN JUAN        PR      00922‐3510
APRENDO TUTORIAL AND CONSULTING GROUP   CARR 152 KM 10.0                BO CEDRO ARRIBA                                                 NARANJITO       PR      00719
APRENDO TUTORIAL AND CONSULTING GROUP   HC 72 BOX 3755                                                                                  NARANJITO       PR      00719
APRICOT MANUFACTURING INC.              URB PIERO                       7 CALLE AMERICA                                                 SAN JUAN        PR      00918
APRICOT OFFICE & SYSTEMS INC            URB PINERO                      7 CALLE AMERICA                                                 SAN JUAN        PR      00918
APRIOMED, INC                           2 PALMER DRIVE                                                                                  LONDONDERRY     NH      03053
APRISS INC                              10401 LINSTATION ROAD STE 200                                                                   LOUISVILLE      KY      40223‐3842
APS AUDIOVISUAL PRO SERVICES            26 CAMINO DEL MERLIN                                                                            DORADO          PR      00646
APS TUNE UP                             7MA SECC LEVITTOWN              HP 39 CALLE AURELIO DUENO                                       TOA BAJA        PR      00949
APW WRIGHTNLINE                         7914 COLLECTION CENTER DRIVE                                                                    CHICAGO         IL      60693
AQ INTL GROUP INC                       PO BOX 193015                                                                                   SAN JUAN        PR      00919
AQR CONSULTING SERVICES INC             PO BOX 16484                                                                                    SAN JUAN        PR      00908‐6484
AQUA CLEAN SHIPS CARIBE INC             PO BOX 16634                                                                                    SAN JUAN        PR      00908‐6634
AQUA LIFE                               P.O. BOX 193243                                                                                 SAN JUAN        PR      00919‐3243
AQUA RECOVERY GROUP INC                 425 CARR 693                    STE 3 PMB 444                                                   DORADO          PR      00646
AQUA RECOVERY GROUP INC                 HC‐01 BOX 10576                                                                                 ARECIBO         PR      00612
AQUA SPORTS KAYAKS & SURF SHOP INC      1166 AVE AMERICO MIRANDA                                                                        SAN JUAN        PR      00921‐2213
AQUA SPORTS KAYAKS & SURF SHOP INC      P O BOX 360065                                                                                  SAN JUAN        PR      00936‐0065
AQUA SPRING , INC.                      P.O.BOX 909                                                                                     SAINT JUST      PR      00978‐0909
AQUA SPRINGS INC.                       BOX 909                                                                                         SAINT JUST      PR      00978
AQUANEURO THERAPY SERVICES, INC         PO BOX 33092                                                                                    SAN JUAN        PR      00933‐3092
AQUA‐PAK SYSTEM , INC.                  P. O. BOX 9024238                                                                               SAN JUAN        PR      00921‐0000
AQUARIUM POOL CENTER INC                URB VIVES                       107 CALLE B                                                     GUAYAMA         PR      00784
AQUARIUM POOL CENTER, INC.              107 CALLE B URB. VIVES                                                                          GUAYAMA         PR      00784‐0000
AQUARIUM POOL SERVICE                   URB VIVES                       107 CALLE B                                                     GUAYAMA         PR      00784
AQUARIUM POOL SERVICE                   URB VIVES                       65 CALLE B                                                      GUAYAMA         PR      00784
AQUATECH INDUSTRIAL INC                 CIUDAD JARDIN DE CANOVANAS      149 CALLE LAS PALMAS                                            CANOVANAS       PR      00729
AQUATIC CONTROL INC                     REXVILLE                        C 13 CALLE 3                                                    BAYAMON         PR      00957
AQUATIC ECO SYSTEMS INC                 AREA DEL TESORO                 DIVISION DE RECLAMACIONES                                       SAN JUAN        PR      00902‐4140
AQUATIC REHAB AND FITNESS               PO BOX 8                                                                                        BAYAMON         PR      00960
AQUATIC REHABILITATION AND FITNESS      PO BOX 8                                                                                        BAYAMON         PR      00960
AQUEDO DE LA TORRE                      ADDRESS ON FILE
AQUERON CARTAGENA, RENE                 ADDRESS ON FILE
AQUERON CARTAGENA, WILFR                ADDRESS ON FILE
AQUERON GUTIERREZ, MARISSA              ADDRESS ON FILE
AQUERON MARRERO, LAURA J                ADDRESS ON FILE
AQUERON MARRERO, LESLIE J               ADDRESS ON FILE
AQUERON RAMOS, MICHELY                  ADDRESS ON FILE
AQUIJE, RUPERTO                         ADDRESS ON FILE
AQUILES ALBERTO DELGADO                 ADDRESS ON FILE
AQUILES ARES, LUIS                      ADDRESS ON FILE
AQUILES ECHEVARRIA, JOEL                ADDRESS ON FILE
AQUILES MALDONADO, KEILA                ADDRESS ON FILE
AQUILES SANTIAGO, CARMEN                ADDRESS ON FILE
AQUILES SANTIAGO, LUIS                  ADDRESS ON FILE
AQUILES SANTIAGO, MARITZA               ADDRESS ON FILE
AQUILINA MATOS SALVADOR                 ADDRESS ON FILE
AQUILINA RUIZ TORRES                    ADDRESS ON FILE
AQUILINA RUIZ TORRES                    ADDRESS ON FILE
AQUILINO MERCADO, MADELINE              ADDRESS ON FILE
AQUILINO MERCADO, SAMUEL                ADDRESS ON FILE
AQUILINO MORALES ARROYO                 ADDRESS ON FILE
AQUILINO PIZARRO OSORIO                 ADDRESS ON FILE
AQUILINO SANTANA, NILDA                 ADDRESS ON FILE
AQUINO ACOSTA, IRIS                     ADDRESS ON FILE
AQUINO ACOSTA, NURY DEL C               ADDRESS ON FILE
AQUINO ACOSTA, REINA                    ADDRESS ON FILE
AQUINO ALICEA, HILDA                    ADDRESS ON FILE
AQUINO ALICEA, PAULINA                  ADDRESS ON FILE




                                                                                                    Page 517 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 518 of 3500
                                                                                                        Creditor Matrix

Creditor Name                    Address1                                    Address2                                Address3    Address4              City         State   PostalCode   Country
AQUINO ALVAREZ, JEATHERLINE      ADDRESS ON FILE
AQUINO ALVAREZ, KEVIN            ADDRESS ON FILE
AQUINO AQUINO, ANGEL E           ADDRESS ON FILE
AQUINO AROCHO, IVETTE            ADDRESS ON FILE
AQUINO AROCHO, RAFAEL            ADDRESS ON FILE
AQUINO AVILA, DOMINGA            ADDRESS ON FILE
AQUINO AYALA, MAYRA Z            ADDRESS ON FILE
AQUINO BAEZ, PEDRO V             ADDRESS ON FILE
AQUINO BAKERY INC                URBLEVITTOWN                                DN 22 AVE LOS DOMINICOS                                                   TOA BAJA     PR      00949
AQUINO BARRETO, FABIANA          ADDRESS ON FILE
AQUINO BARRETO, JORGE            ADDRESS ON FILE
AQUINO BERRIOS, HEIDY            ADDRESS ON FILE
AQUINO BERRIOS, VIRNIA L         ADDRESS ON FILE
AQUINO BETANCOURT, WILMARY       ADDRESS ON FILE
AQUINO BLAY, VANESSA             ADDRESS ON FILE
AQUINO BORRERO, AUDELIZ          ADDRESS ON FILE
AQUINO BORRERO, AUDELIZ          ADDRESS ON FILE
AQUINO BORRERO, DAVID            ADDRESS ON FILE
AQUINO BORRERO, MARIA I.         ADDRESS ON FILE
AQUINO CABRERA, MARIAM           ADDRESS ON FILE
AQUINO CALIZ, DAVID              ADDRESS ON FILE
AQUINO CAMPOS, EDWIN J.          ADDRESS ON FILE
AQUINO CANALES, GILBERTO         ADDRESS ON FILE
AQUINO CANALES, REGINO           ADDRESS ON FILE
AQUINO CANALES, YERANIA          ADDRESS ON FILE
AQUINO CARBONELL, IVONNE M       ADDRESS ON FILE
AQUINO CARBONELL, JUSTO G        ADDRESS ON FILE
AQUINO CARBONELL, LOURDES        ADDRESS ON FILE
AQUINO CARBONELL, RICARDO        ADDRESS ON FILE
AQUINO CARBONELL, RUBEN I        ADDRESS ON FILE
AQUINO CARDONA, CARMEN           ADDRESS ON FILE
AQUINO CARDONA, MARIA            ADDRESS ON FILE
AQUINO CARMONA, WANDA            ADDRESS ON FILE
AQUINO CEBOLLERO MD, IVAN        ADDRESS ON FILE
AQUINO COLLAZO, ELIEZER          ADDRESS ON FILE
AQUINO COLON, ALEXIS             ADDRESS ON FILE
AQUINO COLON, CARLOS A           ADDRESS ON FILE
AQUINO COLON, JOSE               ADDRESS ON FILE
                                                                                                                                 239 ARTERIAL HOSTOS
AQUINO COLÓN, JOSUÉ              LCDO. LUIS R. RIVERA RODRÍGUEZ Y LCDO. ALLANCAPITAL CENTER I                        SUITE 401   AVENUE                SAN JUAN     PR      00918
AQUINO COLON, SARA               ADDRESS ON FILE
AQUINO COLON, WILTON             ADDRESS ON FILE
AQUINO COTTO, ANA M              ADDRESS ON FILE
Aquino Cotto, Israel             ADDRESS ON FILE
AQUINO COTTO, REBECA             ADDRESS ON FILE
AQUINO CRESPO, ANGEL             ADDRESS ON FILE
AQUINO CRESPO, ANGEL             ADDRESS ON FILE
AQUINO CRESPO, JONATHAN          ADDRESS ON FILE
Aquino Cruz, Martin              ADDRESS ON FILE
AQUINO CRUZ, MICHELLE            ADDRESS ON FILE
AQUINO CRUZ, NORBERTO            ADDRESS ON FILE
AQUINO CRUZ, OLGA L              ADDRESS ON FILE
AQUINO CUEVAS, ROSA              ADDRESS ON FILE
AQUINO CURBELO, SERGIO           ADDRESS ON FILE
AQUINO DAMIANNI, RAQUEL          ADDRESS ON FILE
AQUINO DAVILA, ASTRID            ADDRESS ON FILE
AQUINO DAVILA, ASTRID Y.         ADDRESS ON FILE
AQUINO DE CORDOVA ALFARO Y CO    PO BOX 70262                                                                                                          SAN JUAN     PR      00936
AQUINO DE CORDOVA, ALFARO & CO   P.O. BOX 70262                                                                                                        SAN JUAN     PR      00936‐8262
AQUINO DIAZ, ANA M               ADDRESS ON FILE




                                                                                                       Page 518 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 519 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                       Address2                   Address3   Address4    City         State   PostalCode   Country
AQUINO DIAZ, BRENDA L         ADDRESS ON FILE
AQUINO DIAZ, MARIO            ADDRESS ON FILE
Aquino Diaz, Mario            ADDRESS ON FILE
AQUINO DIAZ, MARIO            ADDRESS ON FILE
AQUINO ESQUILIN, XIOMARA N    ADDRESS ON FILE
Aquino Farina, Lorimel        ADDRESS ON FILE
AQUINO FERNANDEZ, CARMEN O    ADDRESS ON FILE
AQUINO FERNANDEZ, JUAN M      ADDRESS ON FILE
AQUINO FERNANDEZ, MIGDALIA    ADDRESS ON FILE
AQUINO FIGUEROA, ADY N        ADDRESS ON FILE
Aquino Figueroa, Enid         ADDRESS ON FILE
AQUINO FIGUEROA, ESTEBAN      ADDRESS ON FILE
AQUINO FIGUEROA, ESTEBAN J    ADDRESS ON FILE
AQUINO FIGUEROA, JOSSIE       ADDRESS ON FILE
AQUINO FONTANEZ, DENIS        ADDRESS ON FILE
AQUINO FONTANEZ, MARIA L      ADDRESS ON FILE
AQUINO GARAY, FELIX           ADDRESS ON FILE
AQUINO GARCIA, ADALBERTO      ADDRESS ON FILE
AQUINO GARCIA, AUREA          ADDRESS ON FILE
AQUINO GARCIA, MIGUEL         ADDRESS ON FILE
AQUINO GARCIA, NINOSHKA       ADDRESS ON FILE
AQUINO GARCIA, ROLANDO        ADDRESS ON FILE
AQUINO GARCIA, WANDA          ADDRESS ON FILE
AQUINO GONZALEZ, CARMEN       ADDRESS ON FILE
AQUINO GONZALEZ, DAVIS        ADDRESS ON FILE
AQUINO GONZALEZ, DIMARIS      ADDRESS ON FILE
AQUINO GONZALEZ, ESTHER       ADDRESS ON FILE
AQUINO GONZALEZ, NARCI M.     ADDRESS ON FILE
AQUINO GONZALEZ, NILSA M      ADDRESS ON FILE
AQUINO GONZALEZ, NOEMI        ADDRESS ON FILE
AQUINO GONZALEZ, ROSA         ADDRESS ON FILE
AQUINO GUILLEN, GERALDINO     ADDRESS ON FILE
AQUINO HERNANDEZ MD, RAFAEL   ADDRESS ON FILE
AQUINO HERNANDEZ, ANACELIS    ADDRESS ON FILE
AQUINO HERNANDEZ, HILDA       ADDRESS ON FILE
Aquino Hernandez, Jose M      ADDRESS ON FILE
AQUINO HERRERA, LUIS A        ADDRESS ON FILE
AQUINO IBARRONDO, JOSE A      ADDRESS ON FILE
AQUINO INFANTE, MESSALINA     ADDRESS ON FILE
AQUINO INTERIORS              34 CALLE HORTA EDIF B APT 7D                                                     SAN JUAN     PR      00907‐5383
AQUINO JIMENEZ, ADOLFO        ADDRESS ON FILE
Aquino Jimenez, Alicia        ADDRESS ON FILE
AQUINO JIMENEZ, ALICIA        ADDRESS ON FILE
Aquino Jimenez, Evelyn        ADDRESS ON FILE
AQUINO JIMENEZ, FRANCISCO     ADDRESS ON FILE
AQUINO JIMENEZ, JUAN          ADDRESS ON FILE
AQUINO JIMENEZ, MARIA T       ADDRESS ON FILE
Aquino Lopez, Eliazar         ADDRESS ON FILE
AQUINO LOPEZ, ELIEZAR         ADDRESS ON FILE
AQUINO LOPEZ, JOSE A.         ADDRESS ON FILE
AQUINO LOPEZ, JULIO O         ADDRESS ON FILE
AQUINO LOPEZ, OLGA            ADDRESS ON FILE
AQUINO LOPEZ, SUJEIL          ADDRESS ON FILE
AQUINO LOPEZ, ZORAIDA         ADDRESS ON FILE
AQUINO LUCIANO, HECTOR        ADDRESS ON FILE
AQUINO LUGO, CARMEN L         ADDRESS ON FILE
AQUINO MAISONET, GEORGINA     ADDRESS ON FILE
Aquino Maldonado, Hector L.   ADDRESS ON FILE
AQUINO MALDONADO, JUAN A.     ADDRESS ON FILE
Aquino Martinez, Agustin      ADDRESS ON FILE




                                                                          Page 519 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 520 of 3500
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4              City       State   PostalCode   Country
AQUINO MARTINEZ, CARLOS           ADDRESS ON FILE
Aquino Martinez, Carlos Alberto   ADDRESS ON FILE
AQUINO MARTINEZ, CARMEN           ADDRESS ON FILE
AQUINO MARTINEZ, IRIS B           ADDRESS ON FILE
AQUINO MARTINEZ, JOSE             ADDRESS ON FILE
Aquino Martinez, Jose S           ADDRESS ON FILE
AQUINO MARTINEZ, MYRNA I          ADDRESS ON FILE
AQUINO MATOS, JESUS               ADDRESS ON FILE
AQUINO MATOS, JOSE                ADDRESS ON FILE
AQUINO MATOS, MONICA              ADDRESS ON FILE
AQUINO MD , LINA L                ADDRESS ON FILE
AQUINO MD, EDWIN                  ADDRESS ON FILE
AQUINO MEDINA, HIPOLITO           ADDRESS ON FILE
AQUINO MEDINA, LOURDES            ADDRESS ON FILE
AQUINO MEDINA, LOURDES I.         ADDRESS ON FILE
AQUINO MEDINA, MARITZA            ADDRESS ON FILE
AQUINO MEDINA, MIGUEL             ADDRESS ON FILE
AQUINO MENDEZ, JESSICA            ADDRESS ON FILE
AQUINO MENDEZ, RICARDO            ADDRESS ON FILE
AQUINO MERCADO, INES              ADDRESS ON FILE
AQUINO MERCADO, LUZ M.            ADDRESS ON FILE
AQUINO MERCADO, MARITZA           ADDRESS ON FILE
AQUINO MERCADO, NOEMI             ADDRESS ON FILE
AQUINO MERCADO, XIOMARA           ADDRESS ON FILE
AQUINO MILAN, CARYLU              ADDRESS ON FILE
AQUINO MILAN, JANICE              ADDRESS ON FILE
AQUINO MIRANDA, DARRYL J          ADDRESS ON FILE
AQUINO MIRANDA, MARIBEL           ADDRESS ON FILE
AQUINO MOLINA, EVANGELINA         ADDRESS ON FILE
AQUINO MONGE, MARIA DE LOS A      ADDRESS ON FILE
AQUINO MONGE, MARIBEL             ADDRESS ON FILE
AQUINO MONTANEZ, MARIA M          ADDRESS ON FILE
AQUINO MONTANEZ, MARIA M.         WILLIAM ROSADO DELGADO    URB. BAIROA PARK                 C‐19       PARQUE DE LA FUENTE   CAGUAS     PR      00725
AQUINO MORALES, CRISTINA M        ADDRESS ON FILE
AQUINO MORALES, FRANCESCA         ADDRESS ON FILE
AQUINO MORALES, FRED              ADDRESS ON FILE
AQUINO MORALES, GONZALO           ADDRESS ON FILE
AQUINO MORALES, JANET             ADDRESS ON FILE
AQUINO MORALES, JOHAN             ADDRESS ON FILE
AQUINO MORALES, JOSE F            ADDRESS ON FILE
AQUINO MORALES, LUIS              ADDRESS ON FILE
AQUINO MORALES, PABLO             ADDRESS ON FILE
AQUINO MURGA, CARMEN              ADDRESS ON FILE
AQUINO MURGA, JESUS D             ADDRESS ON FILE
AQUINO MURGA, MARIA DEL C         ADDRESS ON FILE
AQUINO MURGA, RAMON               ADDRESS ON FILE
AQUINO NIEVES, CESAR              ADDRESS ON FILE
AQUINO NIEVES, JONATHAN           ADDRESS ON FILE
AQUINO NIEVES, LETICIA            ADDRESS ON FILE
AQUINO NIEVES, MARIBEL            ADDRESS ON FILE
AQUINO NIEVES, PEDRO              ADDRESS ON FILE
AQUINO NUNEZ, ALEX                ADDRESS ON FILE
AQUINO NUNEZ, CARMEN J            ADDRESS ON FILE
AQUINO NUNEZ, JORGE               ADDRESS ON FILE
AQUINO NUNEZ, JOSE                ADDRESS ON FILE
AQUINO NUNEZ, MANUEL              ADDRESS ON FILE
AQUINO OCASIO, ISMARIE            ADDRESS ON FILE
AQUINO OCASIO, ISMARIE            ADDRESS ON FILE
Aquino Olavarria, Elsa I          ADDRESS ON FILE
AQUINO OLAVARRIA, GABRIEL         ADDRESS ON FILE




                                                                               Page 520 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 521 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AQUINO OLIVO, TEODORO            ADDRESS ON FILE
AQUINO OLMEDA, JOSEFA I          ADDRESS ON FILE
AQUINO OLMEDA, MIGDALIA          ADDRESS ON FILE
AQUINO PADILLA, ANA M.           ADDRESS ON FILE
AQUINO PENA, ANGEL L             ADDRESS ON FILE
AQUINO PENA, MYRTA               ADDRESS ON FILE
Aquino Perales, Jose A.          ADDRESS ON FILE
AQUINO PEREZ, CARMEN M           ADDRESS ON FILE
AQUINO PEREZ, DIANA              ADDRESS ON FILE
AQUINO PEREZ, ERMIE O.           ADDRESS ON FILE
AQUINO PEREZ, ODETTE A.          ADDRESS ON FILE
AQUINO PEREZ, ODETTE A.          ADDRESS ON FILE
AQUINO PEREZ, OSCAR              ADDRESS ON FILE
AQUINO PINERO, MARIA V           ADDRESS ON FILE
AQUINO PLAZA, ANTONIO            ADDRESS ON FILE
Aquino Plaza, Ernesto            ADDRESS ON FILE
AQUINO QUILES, JOSE              ADDRESS ON FILE
AQUINO QUILICHINI, MANUEL G      ADDRESS ON FILE
AQUINO QUINONES, CRISTINA        ADDRESS ON FILE
AQUINO RAMIREZ, CARLOS A         ADDRESS ON FILE
AQUINO RAMIREZ, CARLOS A         ADDRESS ON FILE
AQUINO RAMOS, ALVIN              ADDRESS ON FILE
AQUINO RAMOS, ASLYN              ADDRESS ON FILE
AQUINO RAMOS, CARLOS M.          ADDRESS ON FILE
AQUINO RAMOS, ELENA              ADDRESS ON FILE
AQUINO RAMOS, EMERITO            ADDRESS ON FILE
AQUINO RAMOS, LOURDES M.         ADDRESS ON FILE
AQUINO RAMOS, LUIS               ADDRESS ON FILE
AQUINO RAMOS,ADA I               ADDRESS ON FILE
AQUINO RENGIFO, JOSE             ADDRESS ON FILE
AQUINO RIOS, ANA R               ADDRESS ON FILE
AQUINO RIOS, GERMAN              ADDRESS ON FILE
AQUINO RIOS, JERGES              ADDRESS ON FILE
AQUINO RIVERA, BEATRIZ           ADDRESS ON FILE
AQUINO RIVERA, DAISY             ADDRESS ON FILE
AQUINO RIVERA, HECTOR            ADDRESS ON FILE
AQUINO RIVERA, IVELISSE          ADDRESS ON FILE
AQUINO RIVERA,ISMAEL             ADDRESS ON FILE
AQUINO RODRIGUEZ, CAROL          ADDRESS ON FILE
AQUINO RODRIGUEZ, CAROL NAHIR    ADDRESS ON FILE
AQUINO RODRIGUEZ, HERIBERTO      ADDRESS ON FILE
AQUINO RODRIGUEZ, IVETTE         ADDRESS ON FILE
AQUINO RODRIGUEZ, MANUEL         ADDRESS ON FILE
AQUINO RODRIGUEZ, MARI C         ADDRESS ON FILE
AQUINO RODRIGUEZ, MARIA DEL C.   ADDRESS ON FILE
AQUINO RODRIGUEZ, RICARDO        ADDRESS ON FILE
AQUINO ROSA, LUZ M               ADDRESS ON FILE
AQUINO ROSADO, EVELYN            ADDRESS ON FILE
AQUINO ROSADO, ROCKY             ADDRESS ON FILE
AQUINO ROSARIO, RICARDO          ADDRESS ON FILE
AQUINO RUIZ, FRANCISCO J.        ADDRESS ON FILE
AQUINO RUIZ, HERMINIO            ADDRESS ON FILE
AQUINO RUIZ, JUAN                ADDRESS ON FILE
AQUINO RUIZ, NELIDA              ADDRESS ON FILE
AQUINO SALAS, AUREA E            ADDRESS ON FILE
AQUINO SALVAT, HECTOR            ADDRESS ON FILE
AQUINO SANCHEZ, EDUARDO          ADDRESS ON FILE
AQUINO SANTIAGO, DELYRIS E.      ADDRESS ON FILE
AQUINO SANTIAGO, ERYD            ADDRESS ON FILE
AQUINO SANTIAGO, JORGE           ADDRESS ON FILE




                                                                             Page 521 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 522 of 3500
                                                                                               Creditor Matrix

Creditor Name                          Address1                         Address2                            Address3   Address4   City          State   PostalCode   Country
AQUINO SANTIAGO, YADEL                 ADDRESS ON FILE
AQUINO SANTIAGO, YADEL                 ADDRESS ON FILE
AQUINO SANTIAGO, YADIRA                ADDRESS ON FILE
AQUINO SANTIAGO, YADIRA                ADDRESS ON FILE
AQUINO SANTOS, CARMEN                  ADDRESS ON FILE
AQUINO SANTOS, GLORIA                  ADDRESS ON FILE
AQUINO SEGARRA, ORLANDO                ADDRESS ON FILE
AQUINO SERRANO, CYNTHIA                ADDRESS ON FILE
AQUINO SERRANO, MARICELIS              ADDRESS ON FILE
AQUINO SIERRA, JAVIER                  ADDRESS ON FILE
AQUINO SOBERAL, NOEL                   ADDRESS ON FILE
Aquino Soberal, Noel A                 ADDRESS ON FILE
AQUINO SONERA, LUZ                     ADDRESS ON FILE
AQUINO SOTO, AMARILIS                  ADDRESS ON FILE
AQUINO SOTO, EDWIN N.                  ADDRESS ON FILE
AQUINO SOTO, ELISA                     ADDRESS ON FILE
AQUINO SOTO, LUIS A.                   ADDRESS ON FILE
AQUINO SOTO, LUIS A.                   ADDRESS ON FILE
AQUINO SOTO, TOMAS                     ADDRESS ON FILE
AQUINO SOTO, WANDA Y                   ADDRESS ON FILE
AQUINO TAPIA, EDWIN L.                 ADDRESS ON FILE
AQUINO TAPIA, KARLA M                  ADDRESS ON FILE
AQUINO TAPIA, KARLA M.                 ADDRESS ON FILE
AQUINO TIRADO, NITZA M                 ADDRESS ON FILE
AQUINO TIRADO, SORELI                  ADDRESS ON FILE
AQUINO TORRES, ANGEL                   ADDRESS ON FILE
AQUINO TORRES, ANGEL                   ADDRESS ON FILE
Aquino Torres, Marysie                 ADDRESS ON FILE
AQUINO TORRES, NICOLAS ANTONIO         ADDRESS ON FILE
AQUINO TUBENS, ANA L.                  ADDRESS ON FILE
AQUINO TUBENS, NORMA                   ADDRESS ON FILE
AQUINO TUBENS, ZENAIDA                 ADDRESS ON FILE
AQUINO VALENTIN, GLORIMARY             ADDRESS ON FILE
AQUINO VALLE, RICARDO                  ADDRESS ON FILE
AQUINO VARELA, MARTIN A.               ADDRESS ON FILE
AQUINO VARGAS, AURELIO                 ADDRESS ON FILE
AQUINO VEGA, LUZ M                     ADDRESS ON FILE
AQUINO VELEZ, DANIEL                   ADDRESS ON FILE
AQUINO VELEZ, JESUS                    ADDRESS ON FILE
AQUINO VELEZ, LISSETTE                 ADDRESS ON FILE
AQUINO VELEZ, MIRIAM                   ADDRESS ON FILE
AQUINO VENTURA, CARMEN                 ADDRESS ON FILE
AQUINO VENTURA, JACQUELINE             ADDRESS ON FILE
AQUINO, ALEXIS                         ADDRESS ON FILE
AQUINO, AMANDA                         ADDRESS ON FILE
AQUINO, FABIAN                         ADDRESS ON FILE
AQUINOBAEZ, JESSENIA                   ADDRESS ON FILE
AQUINODEPOLANCO, ALBA                  ADDRESS ON FILE
AQUINOMARTINEZ, ANGEL L                ADDRESS ON FILE
AQUIRRE ORTIZ, RUBEN                   ADDRESS ON FILE
AQUITANIO NEGRON                       ADDRESS ON FILE
AQUNO TORRES, ANGEL                    ADDRESS ON FILE
AR AIR CONDITIONING                    PO BOX 1209                                                                                AGUADILLA     PR      00603
AR ASSOCIATE COUNSELORS INC            URB PEREZ MORRIS                 46 CALLE AGUADILLA                                        SAN JUAN      PR      00917‐4816
AR DESIGN GROUP CORP                   1 COND GOLDEN TOWER              APT 1203                                                  CAROLINA      PR      00983
AR EXCHANGER BOILER SPECIALIST, INC.   PO BOX 871                                                                                 PENUELAS      PR      00624
AR GROUP                               LCDO. ABRAHAM J. FREYRE MEDINA   FREYRELEX@GMAIL.COM
AR GROUP CORPORATION                   URB LA ESTANCIA                  91 VIA PLATANAL                                           CAGUAS        PR      00727‐3078
AR INSTITUTE GASTROENTEROLOGY          2225 PONCE BY PASS               STE 806                                                   PONCE         PR      00717
AR PRINTING & MAILING                  P O BOX 11723                                                                              SAN JUAN      PR      00922




                                                                                              Page 522 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 523 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AR PRINTING , INC.              P . O. BOX 1173                                                                  SAN JUAN     PR      00922‐0000
ARABIA ROJAS, CARMEN O          ADDRESS ON FILE
ARACELI CRUZ SOTO               ADDRESS ON FILE
ARACELI DE JESUS BURGOS         ADDRESS ON FILE
ARACELI MONTALVO PEREZ          ADDRESS ON FILE
ARACELI ORTIZ MARTINEZ          ADDRESS ON FILE
ARACELI PERONA FASSI            ADDRESS ON FILE
ARACELI PERONA FASSI            ADDRESS ON FILE
ARACELI PERONA FASSI            ADDRESS ON FILE
ARACELI SUAREZ CRUZ             ADDRESS ON FILE
ARACELIA RODRIGUEZ ORTIZ        ADDRESS ON FILE
ARACELIO CARABALLO VALENTIN     ADDRESS ON FILE
ARACELIO MANTILLA VILLAFANE     ADDRESS ON FILE
ARACELIO VELEZ CRUZ             ADDRESS ON FILE
ARACELIS A SOSA HERNANDEZ       ADDRESS ON FILE
ARACELIS ACOSTA CORDERO         ADDRESS ON FILE
ARACELIS AGOSTO RODRIGUEZ       ADDRESS ON FILE
ARACELIS ALICEA RODRIGUEZ       ADDRESS ON FILE
ARACELIS ANAVITARTE ROMAN       ADDRESS ON FILE
ARACELIS ARISTY AVILA           ADDRESS ON FILE
ARACELIS AROCHO AROCHO          ADDRESS ON FILE
ARACELIS AYALA NEGRON           ADDRESS ON FILE
ARACELIS BELMONT JIMENEZ        ADDRESS ON FILE
ARACELIS BENITEZ DEL VALLE      ADDRESS ON FILE
ARACELIS BLACERO ROSADO         ADDRESS ON FILE
ARACELIS CALIX MOLINA           ADDRESS ON FILE
ARACELIS CANDELARIO RAMOS       ADDRESS ON FILE
ARACELIS CANDELARIO RAMOS       ADDRESS ON FILE
ARACELIS CANDELARIO RAMOS       ADDRESS ON FILE
ARACELIS CARABALLO RUIZ         ADDRESS ON FILE
ARACELIS CASTRO ORTIZ           ADDRESS ON FILE
ARACELIS CASTRO VELEZ           ADDRESS ON FILE
ARACELIS CENTENO BURGOS         ADDRESS ON FILE
ARACELIS COLON LEON             ADDRESS ON FILE
ARACELIS CONDE QUINTANA         ADDRESS ON FILE
ARACELIS CRUZ CENTENO           ADDRESS ON FILE
ARACELIS CRUZ VARGAS            ADDRESS ON FILE
ARACELIS DE JESUS FIGUEROA      ADDRESS ON FILE
ARACELIS E FEBUS MELECIO        ADDRESS ON FILE
ARACELIS ESCABI MONTALVO        ADDRESS ON FILE
ARACELIS ESTRONZA RIVIERA       ADDRESS ON FILE
ARACELIS FIGUEROA               ADDRESS ON FILE
ARACELIS FIGUEROA RIVERA        ADDRESS ON FILE
ARACELIS GOMEZ SANCHEZ          ADDRESS ON FILE
ARACELIS GONZALEZ DE JESUS      ADDRESS ON FILE
ARACELIS GONZALEZ RIVERA        ADDRESS ON FILE
ARACELIS HERNANDEZ BETANCOURT   ADDRESS ON FILE
ARACELIS J VALENTIN RAMOS       ADDRESS ON FILE
ARACELIS LOPEZ LOPEZ            ADDRESS ON FILE
ARACELIS MALDONADO TORRES       ADDRESS ON FILE
ARACELIS MARQUEZ INGLES         ADDRESS ON FILE
ARACELIS MARTINEZ RIVERA        ADDRESS ON FILE
ARACELIS MELENDEZ FELIX         ADDRESS ON FILE
ARACELIS MENDOZA CHIDIAK        ADDRESS ON FILE
ARACELIS MIRANDA MARTINEZ       ADDRESS ON FILE
ARACELIS MONTANEZ PEDRAZA       ADDRESS ON FILE
ARACELIS MORALES LOPEZ          ADDRESS ON FILE
ARACELIS MORALES RIVERA         ADDRESS ON FILE
ARACELIS NAVEDO GONZALEZ        ADDRESS ON FILE
ARACELIS NEGRON RIVAS           ADDRESS ON FILE




                                                                            Page 523 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 524 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARACELIS NUNEZ MARTINEZ        ADDRESS ON FILE
ARACELIS OCASIO ARROYO         ADDRESS ON FILE
ARACELIS OCASIO ARROYO         ADDRESS ON FILE
ARACELIS OCASIO VELEZ          ADDRESS ON FILE
ARACELIS ORTIZ RODRIGUEZ       ADDRESS ON FILE
ARACELIS PACHECO MOLINA        ADDRESS ON FILE
ARACELIS PENA NAVARRO          ADDRESS ON FILE
ARACELIS PEREZ SANCHEZ         ADDRESS ON FILE
ARACELIS PEREZ SANCHEZ         ADDRESS ON FILE
ARACELIS QUINONES RIOS         ADDRESS ON FILE
ARACELIS QUINONES VICENTE      ADDRESS ON FILE
ARACELIS QUINONEZ AYALA        ADDRESS ON FILE
ARACELIS QUINONEZ AYALA        ADDRESS ON FILE
ARACELIS QUINTANA MAYSONET     ADDRESS ON FILE
ARACELIS QUIROS SANTANA        ADDRESS ON FILE
ARACELIS RIOS GABRIEL          ADDRESS ON FILE
ARACELIS RIVERA ACEVEDO        ADDRESS ON FILE
ARACELIS RIVERA BURGOS         ADDRESS ON FILE
ARACELIS RIVERA QUINONES       ADDRESS ON FILE
ARACELIS RODRIGUEZ             ADDRESS ON FILE
ARACELIS RODRIGUEZ MELENDEZ    ADDRESS ON FILE
ARACELIS ROGERS                ADDRESS ON FILE
ARACELIS ROMERO                ADDRESS ON FILE
ARACELIS SANCHEZ SEPULVEDA     ADDRESS ON FILE
ARACELIS SANTANA SANTIAGO      ADDRESS ON FILE
ARACELIS TIRADO ROSADO         ADDRESS ON FILE
ARACELIS VARGAS COLON          ADDRESS ON FILE
ARACELIS VAZQUEZ PADILLA       ADDRESS ON FILE
ARACELIS VAZQUEZ ROQUE         ADDRESS ON FILE
ARACELIS VEGA CHAVES           ADDRESS ON FILE
ARACELIS VEGA CHAVES           ADDRESS ON FILE
ARACELIS VELEZ BERMONTIZ       ADDRESS ON FILE
ARACELIS VILLAFAðE RIVERA      ADDRESS ON FILE
ARACELIS VILLAFAðE RIVERA      ADDRESS ON FILE
ARACELIS VILLAFANE RIVERA      ADDRESS ON FILE
ARACELIS VILLAFANE RIVERA      ADDRESS ON FILE
ARACELIS VILLAFANE RIVERA      ADDRESS ON FILE
ARACELOS BENITEZ DEL VALLE     ADDRESS ON FILE
ARACELY QUINONES ROMAN         ADDRESS ON FILE
ARACELYS MORENO VALLE          ADDRESS ON FILE
ARACELYS MORET COLL            ADDRESS ON FILE
ARACELYS ORTIZ PAGAN           ADDRESS ON FILE
ARACELYS RIVERA ARCE           ADDRESS ON FILE
ARACENA ADAMES, MARIA          ADDRESS ON FILE
ARACENA PEREZ PSYD, FREDDY     ADDRESS ON FILE
ARACENA PEREZ, FREDDY          ADDRESS ON FILE
ARACENA PEREZ, LISSETTE        ADDRESS ON FILE
ARACENA QUINONES, JOHAN I      ADDRESS ON FILE
ARACENA RODRIGUEZ, INDIANA     ADDRESS ON FILE
ARACENA RODRIGUEZ, INDIANA M   ADDRESS ON FILE
ARACHE BOICOCHEA, MANUEL       ADDRESS ON FILE
ARACHE MARTINEZ, ANA V         ADDRESS ON FILE
ARACHE RUIZ, MARIA             ADDRESS ON FILE
ARAGON LONGO, JUAN             ADDRESS ON FILE
ARAGON RODRIGUEZ, MILADY       ADDRESS ON FILE
ARAGONES APONTE, ORLANDO       ADDRESS ON FILE
ARAGONES CALDERON, EDJOEL      ADDRESS ON FILE
ARAGONES GALARZA, WANDA        ADDRESS ON FILE
ARAGONES GENEY, ERNES          ADDRESS ON FILE
Aragones Lopez, Denis A        ADDRESS ON FILE




                                                                           Page 524 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 525 of 3500
                                                                                                 Creditor Matrix

Creditor Name                        Address1                             Address2                            Address3   Address4   City             State   PostalCode   Country
ARAGONES RODRIGUEZ, ENID D           ADDRESS ON FILE
Aragones Sanchez, Edwin G            ADDRESS ON FILE
ARAGONES SANCHEZ, VIVIANA            ADDRESS ON FILE
Aragones Valentin, Jose A            ADDRESS ON FILE
ARAGONES VICENTE, GISELA T           ADDRESS ON FILE
ARAGONES VICENTE, SONIA E.           ADDRESS ON FILE
ARAGONES, ABIMAEL                    ADDRESS ON FILE
ARAGONEZ ALVAREZ, REBECCA            ADDRESS ON FILE
ARAGUNDE KOHL, TANJA                 ADDRESS ON FILE
ARAGUNDE KOHL, URSULA                ADDRESS ON FILE
ARAGUNDE TORRES, GLORIA E            ADDRESS ON FILE
ARAGUNDE TORRES, RAFAEL              ADDRESS ON FILE
ARAGUNDE VAZQUEZ, ANGEL              ADDRESS ON FILE
ARAKSI DAWOODI                       ADDRESS ON FILE
ARALUCE RODRIGUEZ, ARIEL             ADDRESS ON FILE
ARAMARK CORPORATION                  3501 FAIRFAX DRIVE                                                                             ARLNIGTON        VA      22263500
ARAMARK CORPORATION                  ARAMARK TOWER 1101 MARKET STREET                                                               PHILADELPHIA     PA      19107‐2988
ARAMBARRY BENITEZ, VICTOR            ADDRESS ON FILE
ARAMBARRY MARRERO, ENID J.           ADDRESS ON FILE
ARAMBARRY MARRERO, ENID J.           ADDRESS ON FILE
ARAMBARRY MARRERO, RAQUEL D          ADDRESS ON FILE
ARAMBURU DIAZ, LUIS                  ADDRESS ON FILE
ARAMBURU DIAZ, LUIS                  ADDRESS ON FILE
ARAMBURU ESSO SERVICES               PMB 1198 PO BOX 4956                                                                           CAGUAS           PR      00726
ARAMBURU GONZALEZ MD, AMY            ADDRESS ON FILE
ARAMBURU GONZALEZ, AMY               ADDRESS ON FILE
ARAMBURU GONZALEZ, AMY               ADDRESS ON FILE
ARAMERALIS RODRIGUEZ HUERTAS         ADDRESS ON FILE
ARAMID E VALERA RIVERA               ADDRESS ON FILE
ARAMIL GARCIA FUENTES                ADDRESS ON FILE
ARAMIN TOSSES ENRIQUEZ               ADDRESS ON FILE
ARAMIS ASENCIO AGOSTO                ADDRESS ON FILE
ARAMIS ASENCIO AGOSTO                ADDRESS ON FILE
ARAMIS AYALA DE LA CRUZ              ADDRESS ON FILE
ARAMIS F BUENROSTRO                  ADDRESS ON FILE
ARAMIS FERNANDEZ VARGAS              ADDRESS ON FILE
ARAMIS GONZALEZ MUNIZ                ADDRESS ON FILE
ARAMIS MARTINEZ TORRES               ADDRESS ON FILE
ARAMIS MIRANDA / ESTHER M MARTINEZ   ADDRESS ON FILE
ARAMIS MONTALVO RIVERA               ADDRESS ON FILE
ARAMIS OLIVERAS SANTOS               ADDRESS ON FILE
ARAMIS REYES ROSARIO                 ADDRESS ON FILE
ARAMIS RODRIGUEZ BURGOS              ADDRESS ON FILE
ARAMIS VELAZQUEZ ESPARRA             ADDRESS ON FILE
ARAMSCO                              URB VICTOR ROJAS II                  502 ZONA INDUSTRIAL                                       ARECIBO          PR      00612‐3072
ARAMSCO                              VICTOR ROJA II 502 ZONA INDUSTRIAL                                                             ARECIBO          PR      00612‐3072
ARAMSCO , INC.                       BOX 143001                                                                                     ARECIBO          PR      00612‐0000
ARAMSCO INC                          IND LUCHETTI                         418 CALLE C                                               BAYAMON          PR      00961‐7411
ARAMY ABREU SEPULVEDO                ADDRESS ON FILE
ARAN CABAN, JULIEMARY                ADDRESS ON FILE
ARAN G MEDINA FLORES                 ADDRESS ON FILE
ARAN REYES, PETRA A                  ADDRESS ON FILE
ARAN RIVERA, JESSICA                 ADDRESS ON FILE
ARAN SERRANO, DENNIS                 ADDRESS ON FILE
ARAN SERRANO, FRANK                  ADDRESS ON FILE
ARANA ADORNO, ENRIQUE                ADDRESS ON FILE
ARANA ALLENDE, ARIETTE               ADDRESS ON FILE
ARANA BARBOSA, JOSE E                ADDRESS ON FILE
ARANA BATISTA, RANDEE S              ADDRESS ON FILE
ARANA BEAUCHAMP, CARMEN J            ADDRESS ON FILE




                                                                                                Page 525 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 526 of 3500
                                                                                       Creditor Matrix

Creditor Name                 Address1                   Address2                                   Address3   Address4   City         State   PostalCode   Country
ARANA BEAUCHAMP, RAMONITA     ADDRESS ON FILE
ARANA CACHO, REBECCA          ADDRESS ON FILE
ARANA CARRION, EDWIN X        ADDRESS ON FILE
ARANA CASTILLO, ROBERTO       ADDRESS ON FILE
ARANA COLON, CARLOS R         ADDRESS ON FILE
ARANA COLON, EDWIN            ADDRESS ON FILE
ARANA COLON, MIGUEL A         ADDRESS ON FILE
ARANA COLON,MIGUEL            ADDRESS ON FILE
ARANA FRAU, MAGDALENA         ADDRESS ON FILE
ARANA FRAU, MAGDALENA         ADDRESS ON FILE
ARANA FUENTES, ARMANDO        ADDRESS ON FILE
ARANA LANZAS, ANABEL          ADDRESS ON FILE
ARANA LANZAS, ANABEL          ADDRESS ON FILE
ARANA MARTIR, ANGELINE        ADDRESS ON FILE
ARANA MARTIR, ANGELINE        ADDRESS ON FILE
Arana Natel, David S.         ADDRESS ON FILE
Arana Perez, Ernesto L        ADDRESS ON FILE
ARANA RIOS, CARLOS E          ADDRESS ON FILE
ARANA RIVERA, RAMON L.        ADDRESS ON FILE
ARANA SANTIAGO, ANGEL         ADDRESS ON FILE
ARANA SANTIAGO, LUIS          ADDRESS ON FILE
ARANA SERRANO, JANETTE        ADDRESS ON FILE
ARANA VAZQUEZ, ELSA           ADDRESS ON FILE
ARANA VAZQUEZ, ELSA M         ADDRESS ON FILE
ARANA VEGA, BERENICE          ADDRESS ON FILE
ARANA VEGA, RAYMOND           ADDRESS ON FILE
ARANA VIZCARRONDO,JOSE E.     ADDRESS ON FILE
ARANA Y DAVILA LAW OFFICE     RR 37 BOX 1838                                                                              SAN JUAN     PR      00926‐9729
ARANA, GEORGYS                ADDRESS ON FILE
ARANDA CRUZ, LUIS             ADDRESS ON FILE
ARANDA DIAZ, ALBERTO          ADDRESS ON FILE
ARANDA GONZALEZ, ELIZABETH    ADDRESS ON FILE
ARANDA PAMBLANCO, MARLENE     ADDRESS ON FILE
ARANDA RODRIGUEZ MD, ALVARO   ADDRESS ON FILE
ARANDA RODRIGUEZ, RAMSES      ADDRESS ON FILE
ARANDES PEREZ, BARBARA        ADDRESS ON FILE
ARANGO FRIAS MD, MARIA L      ADDRESS ON FILE
ARANGO FRIAS, CELESTE         ADDRESS ON FILE
ARANGO LLANA, ARTURO          ADDRESS ON FILE
ARANGO LLANA, JUAN            ADDRESS ON FILE
ARANGO MERCADO, JOSE B        ADDRESS ON FILE
ARANGO ROSA, GABRIELA         ADDRESS ON FILE
ARANGO TRUJILLO, SEBASTIAN    ADDRESS ON FILE
ARANGO, ROBERTO               ADDRESS ON FILE
ARANGUREN SNOW, ALEXANDRA     ADDRESS ON FILE
ARANZADI COLON, IMANOL        ADDRESS ON FILE
ARANZAMENDI LARRIUZ, OTNIEL   ADDRESS ON FILE
ARANZAMENDI RIVERA, KAREN     ADDRESS ON FILE
ARANZAMENDI ROLON, JOYLIN     ADDRESS ON FILE
ARANZAMENDI VEGA, IRIS        ADDRESS ON FILE
ARANZAMENDI VEGA, IRIS M.     ADDRESS ON FILE
ARANZZA ENTERPRISE INC        URB PALACIOS DE MARBELLA   1082 CALLE ALONSO DE OJEDA                                       TOA ALTA     PR      00953‐5215
ARARA CAMPO, YESID            ADDRESS ON FILE
ARAUD CRUZ, CHRISTIAN         ADDRESS ON FILE
ARAUD CRUZ, JOSE              ADDRESS ON FILE
ARAUD CRUZ, MARIA I           ADDRESS ON FILE
ARAUD DIAZ, NILSA M.          ADDRESS ON FILE
ARAUD GALARZA, JACQUELINE     ADDRESS ON FILE
ARAUD GALARZA, YOSELYN        ADDRESS ON FILE
Araud Padilla, Carmen M       ADDRESS ON FILE




                                                                                      Page 526 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 527 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                    Address2                      Address3   Address4    City           State   PostalCode   Country
Araud Padilla, Eduardo            ADDRESS ON FILE
Araud Padilla, Julio E            ADDRESS ON FILE
ARAUD PADILLA, MARIBEL            ADDRESS ON FILE
ARAUD PADILLA, NANCY D            ADDRESS ON FILE
ARAUD ROMAN, HELEN                ADDRESS ON FILE
ARAUD SANTANA, CARMEN M           ADDRESS ON FILE
ARAUD SOTOMAYOR, IRIS N           ADDRESS ON FILE
ARAUD VELAZQUEZ, JOSE             ADDRESS ON FILE
ARAUJO AVILES, MARJORIE A.        ADDRESS ON FILE
ARAUJO BELTRAN, WASHINGTON        ADDRESS ON FILE
ARAUJO BERRIOS, XAVIER            ADDRESS ON FILE
ARAUJO CRUZ, ROBERTO              ADDRESS ON FILE
ARAUJO HOUTMANN, MARCO            ADDRESS ON FILE
ARAUJO LARROY, ANAMARIELI         ADDRESS ON FILE
ARAUJO MONTANEZ, JOLINA           ADDRESS ON FILE
ARAUJO PERALTA, JENNY             ADDRESS ON FILE
ARAUJO SANTACRUZ, AURELIO         ADDRESS ON FILE
ARAUJO VAZQUEZ, GLORIA            ADDRESS ON FILE
ARAUZ PERALES, JULIA              ADDRESS ON FILE
ARAVENA CARRILLO, LIDIA           ADDRESS ON FILE
ARAY ORTIZ, RAMONA                ADDRESS ON FILE
ARAYA BRENES, CARLOS E.           ADDRESS ON FILE
Araya Brenes, Oscar D             ADDRESS ON FILE
ARAYA MARQUEZ, FERNANDO           ADDRESS ON FILE
ARAYA RAMIREZ, EVA                ADDRESS ON FILE
ARAYA RIVERA, JOSE                ADDRESS ON FILE
Araya Rivera, Jose M.             ADDRESS ON FILE
ARAYA SOLANO, EDUARDO A.          ADDRESS ON FILE
ARAYA VAZQUEZ, DENNISSE M.        ADDRESS ON FILE
ARAZAEL SANTIAGO RIVERA           ADDRESS ON FILE
ARAZAMENDI CALDERON, PATRICIA     ADDRESS ON FILE
ARAZO ARIAS, MIRIAM               ADDRESS ON FILE
ARB INC                           PO BOX 1055                                                                      CATANO         OR      00963
ARB PROJECT MANAGER               1001 1 STREET PO BOX 1436                                                        SACRAMENTO     CA      95814
ARB RECYCLING INC                 PO BOX 1055                                                                      CATANO         PR      00963
ARB, INC. (ANDRÉS REYES BURGOS)
ARBAJE RAMOS, JUAN                ADDRESS ON FILE
ARBASSIO, SARAH                   ADDRESS ON FILE
Arbello Caban, Andrew             ADDRESS ON FILE
ARBELO ALEMAN, ALBERTO L          ADDRESS ON FILE
ARBELO ALEMAN, ALBERTO L.         ADDRESS ON FILE
ARBELO BARLUCEA, JUAN             ADDRESS ON FILE
Arbelo Barlucea, Juan C           ADDRESS ON FILE
ARBELO BARLUCEA, REBECA           ADDRESS ON FILE
ARBELO CABAN, ANDREW              ADDRESS ON FILE
ARBELO CRUZ, RAFAEL               ADDRESS ON FILE
ARBELO DECOS, EDWIN               ADDRESS ON FILE
Arbelo Decos, Edwin Eli           ADDRESS ON FILE
ARBELO DECOS, MARISELA            ADDRESS ON FILE
ARBELO DELGADO, JOSE A            ADDRESS ON FILE
ARBELO DELGADO, YVETE             ADDRESS ON FILE
ARBELO ENCARNACION, LUIS A.       ADDRESS ON FILE
ARBELO FRANQUI, LISMEL            ADDRESS ON FILE
ARBELO GIRAU, DELSEY B            ADDRESS ON FILE
ARBELO GIRAU, DERECK              ADDRESS ON FILE
ARBELO GIRAU, DILLIAM             ADDRESS ON FILE
ARBELO GONZALEZ, CARLOS MANUEL    ADDRESS ON FILE
ARBELO GONZALEZ, EMMA             ADDRESS ON FILE
Arbelo Gonzalez, Gerardo          ADDRESS ON FILE
ARBELO GONZALEZ, JOSE             ADDRESS ON FILE




                                                                              Page 527 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 528 of 3500
                                                                                         Creditor Matrix

Creditor Name                             Address1                  Address2                          Address3   Address4   City          State   PostalCode   Country
ARBELO GONZALEZ, LUIS                     ADDRESS ON FILE
ARBELO IRIZARRY, JOSE A                   ADDRESS ON FILE
ARBELO JIMENEZ, JOSE                      ADDRESS ON FILE
ARBELO JIMENEZ, MARIA S                   ADDRESS ON FILE
ARBELO LOPEZ, FERNANDO                    ADDRESS ON FILE
ARBELO LOPEZ, HECTOR D                    ADDRESS ON FILE
ARBELO LOPEZ, PILAR MARIE                 ADDRESS ON FILE
ARBELO LUGO, HILSA I.                     ADDRESS ON FILE
ARBELO LUGO, KIMER                        ADDRESS ON FILE
ARBELO MALDONADO, CATHERINE               ADDRESS ON FILE
ARBELO MEDINA, LOURDES                    ADDRESS ON FILE
Arbelo Muniz, Jose A                      ADDRESS ON FILE
ARBELO NIEVES, IRIS M                     ADDRESS ON FILE
ARBELO NIEVES, LINNETTE                   ADDRESS ON FILE
ARBELO ORTIZ, LOURDES J                   ADDRESS ON FILE
ARBELO PEREZ, MARGARITA                   ADDRESS ON FILE
ARBELO PEREZ, SHAIRA                      ADDRESS ON FILE
ARBELO PEREZ, SHAIRA                      ADDRESS ON FILE
Arbelo Quijano, Jose A                    ADDRESS ON FILE
ARBELO RAMOS, HECTOR J                    ADDRESS ON FILE
Arbelo Ramos, Nelson A.                   ADDRESS ON FILE
ARBELO RODRIGUEZ, CARMEN                  ADDRESS ON FILE
ARBELO RODRIGUEZ, ELIZABETH               ADDRESS ON FILE
ARBELO RODRIGUEZ, ELIZABETH               ADDRESS ON FILE
ARBELO RODRIGUEZ, JUAN C                  ADDRESS ON FILE
ARBELO RODRIGUEZ, YARITZA                 ADDRESS ON FILE
ARBELO ROSADO, JONATHAN D                 ADDRESS ON FILE
ARBELO SANCHEZ, FRANCES M.                ADDRESS ON FILE
ARBELO SANDOVAL, LORRAINE                 ADDRESS ON FILE
ARBELO SOLA, RAFAEL A                     ADDRESS ON FILE
ARBELO SOTO, CARMEN L.                    ADDRESS ON FILE
ARBELO SOTO, HECTOR                       ADDRESS ON FILE
ARBELO SOTO, HECTOR                       ADDRESS ON FILE
ARBELO SOTO, MARISOL                      ADDRESS ON FILE
ARBELO SOTO, VIVIAN                       ADDRESS ON FILE
ARBELO SOTOMAYOR, OSCAR                   ADDRESS ON FILE
ARBELO TERRON, FELICITA                   ADDRESS ON FILE
Arbelo Tevenal, Laura                     ADDRESS ON FILE
ARBELO TORRES, FRANCISCO                  ADDRESS ON FILE
ARBELO TOSADO, JOSE A                     ADDRESS ON FILE
ARBELO VELAZQUEZ, JOSE                    ADDRESS ON FILE
ARBELO VELAZQUEZ, JOSE LUIS               ADDRESS ON FILE
ARBIN OSCAR RAMOS OLAVARRIA               ADDRESS ON FILE
ARBITROS DEL OESTE INC                    URB ANA MARIA             H14 CALLE 3                                             CABO ROJO     PR      00623‐4712
ARBOLAY AVELUELA, JOAQUIN                 ADDRESS ON FILE
ARBOLAY AVEZUELA, EDNA                    ADDRESS ON FILE
ARBOLAY ELIAS, JOAQUIN                    ADDRESS ON FILE
ARBOLAY MORALES, ANGEL L                  ADDRESS ON FILE
ARBOLAY VAZQUEZ, ZOVEIDA                  ADDRESS ON FILE
ARBOLEDA HERNANDEZ, VERONICA              ADDRESS ON FILE
ARBOLEDA INST CLINICO Y TERAPEUTICO PSC   PORTALES DE ALHELI 2050   CARR 8177 APT 601                                       GUAYNABO      PR      00966
ARBOLEDA MERCADO, ALIET V                 ADDRESS ON FILE
ARBOLEDA OSORIO MD, BOLIVAR               ADDRESS ON FILE
ARBOLEDA OSORIO, OLGA                     ADDRESS ON FILE
ARBOLEDA PANESSO, EVELYN M                ADDRESS ON FILE
ARBOLEDA, REBECA                          ADDRESS ON FILE
ARBONA AZIZI, JAVIER I.                   ADDRESS ON FILE
ARBONA CALDERON, DAVID I.                 ADDRESS ON FILE
ARBONA CORTES, MORAIMA I                  ADDRESS ON FILE
ARBONA CUSTODIO, EVELIO                   ADDRESS ON FILE




                                                                                        Page 528 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 529 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                    Address2                      Address3   Address4    City         State   PostalCode   Country
ARBONA DE LEON, CARLOS O.             ADDRESS ON FILE
ARBONA ENRIQUEZ, GUILLERMO L.         ADDRESS ON FILE
ARBONA FERRER MD, NORBERTO            ADDRESS ON FILE
ARBONA FERRER, ASTRID                 ADDRESS ON FILE
ARBONA GORBEA, ROBERTO                ADDRESS ON FILE
ARBONA MARTINEZ, MARIE                ADDRESS ON FILE
ARBONA ORTIZ, FEDERICO                ADDRESS ON FILE
ARBONA PEREZ, ELIZABETH               ADDRESS ON FILE
Arbona Perez, Iris                    ADDRESS ON FILE
ARBONA RAMIREZ, ILEANA M.             ADDRESS ON FILE
ARBONA SIMMONS, JUAN                  ADDRESS ON FILE
ARBONA SOTO, CARMELO                  ADDRESS ON FILE
ARBONA TORRES, ALEIDA                 ADDRESS ON FILE
ARBONA TORRES, BALDOMERO              ADDRESS ON FILE
ARBONA TORRES, IRIS                   ADDRESS ON FILE
ARBONA VARGAS, REBECA                 ADDRESS ON FILE
ARBONA VAZQUEZ, REBECA                ADDRESS ON FILE
ARBONA, ERIC                          ADDRESS ON FILE
ARBULU ALLAIN, IVAN                   ADDRESS ON FILE
ARC INTERNATIONAL                     PO BOX 51182                                                                     TOA BAJA     PR      00950
ARC INTERNATIONAL INC                 PO BOX 51182                                                                     TOA BAJA     PR      00950
ARC2 EARTH LLC                        2 EXECUTIVE DRIVE STE 200                                                        SOMERSET     NJ      08873
ARCADIA DIAZ TORRES                   ADDRESS ON FILE
ARCADIA FIGUEROA SANTAELLA            ADDRESS ON FILE
ARCADIA HERNANDEZ, JOSE               ADDRESS ON FILE
ARCADIA LOPEZ                         ADDRESS ON FILE
ARCADIA PANET, MARIO                  ADDRESS ON FILE
ARCADIA PANET, MARIO                  ADDRESS ON FILE
ARCADIA RAMOS MARTINEZ                ADDRESS ON FILE
ARCADIA RIVERA / IRMA SANCHEZ         ADDRESS ON FILE
ARCADIA RODRIGUEZ CONCEPCION          ADDRESS ON FILE
ARCADIA ROMAN CASTRO                  ADDRESS ON FILE
ARCADIA, MARIO V.                     ADDRESS ON FILE
ARCADIO ADAMES FALCON                 ADDRESS ON FILE
ARCADIO BIGIO ROMERO                  ADDRESS ON FILE
ARCADIO CARRASQUILLO RODRIGUEZ        ADDRESS ON FILE
ARCADIO DIAZ QUINONEZ                 ADDRESS ON FILE
ARCADIO ESTRADA VELEZ                 ADDRESS ON FILE
ARCADIO LOPEZ CARABALLO               ADDRESS ON FILE
ARCADIO MODESTO GONZALEZ REYNOSO      ADDRESS ON FILE
ARCADIO MONTANEZ MARCANO              ADDRESS ON FILE
ARCADIO PEDRAZA ROSARIO               ADDRESS ON FILE
ARCADIO QUINONES / MANUELA VILLEGAS   ADDRESS ON FILE
ARCADIO QUINONES ALBINO               ADDRESS ON FILE
ARCADIO ROJAS                         ADDRESS ON FILE
ARCADIO SANTIAGO TORO                 ADDRESS ON FILE
ARCADIO TOLEDO                        ADDRESS ON FILE
ARCADIO TRINIDAD ROLON                ADDRESS ON FILE
ARCADIO VEGA MORALEZ                  ADDRESS ON FILE
ARCADIO VILLANUEVA SANTIAGO           ADDRESS ON FILE
ARCADIO VILLEGAS CANCEL               ADDRESS ON FILE
ARCADIS PUERTO RICO                   ADDRESS ON FILE
ARCANGEL M CASTILLO LOPEZ             ADDRESS ON FILE
ARCANGEL MANGUAL RODRIGUEZ            ADDRESS ON FILE
ARCANGEL NEGRON NEGRON                ADDRESS ON FILE
ARCANGEL ORTIZ TORO                   ADDRESS ON FILE
ARCANGIOLI LUCIANI, LIONEL            ADDRESS ON FILE
ARCAY ALVARADO, ALEJANDRINA           ADDRESS ON FILE
ARCAY FIGUEROA, HARRY                 ADDRESS ON FILE
ARCAY GARCIA, MARIA LUISA             ADDRESS ON FILE




                                                                                  Page 529 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 530 of 3500
                                                                                 Creditor Matrix

Creditor Name                 Address1                  Address2                              Address3   Address4   City      State   PostalCode   Country
ARCAY LLERAS, MARIA T         ADDRESS ON FILE
ARCAY MATEO, DEBORAH          ADDRESS ON FILE
ARCAY MATEO, FRANCES          ADDRESS ON FILE
ARCAY RIVERA, IRIS B          ADDRESS ON FILE
ARCAY RIVERA, MIREILLY F      ADDRESS ON FILE
ARCAY RODRIGUEZ, FELIX L      ADDRESS ON FILE
ARCAY RODRIGUEZ, LYDIA        ADDRESS ON FILE
ARCAY VEGA, MARIA DE L        ADDRESS ON FILE
ARCAYA RODRIGUEZ, LIZA        ADDRESS ON FILE
ARCAYA RODRIGUEZ, MELINDA O   ADDRESS ON FILE
ARCE ACEVEDO, ANA D           ADDRESS ON FILE
ARCE ACEVEDO, JESUS M         ADDRESS ON FILE
ARCE ACEVEDO, JORGE           ADDRESS ON FILE
Arce Acevedo, Jorge A.        ADDRESS ON FILE
ARCE ACEVEDO, MARGARITA       ADDRESS ON FILE
ARCE ADORNO, HECTOR           ADDRESS ON FILE
Arce Alers, Pedro Luis        ADDRESS ON FILE
ARCE ALERS, ZACHA             ADDRESS ON FILE
ARCE ALMODOVAR, OSVALDO       ADDRESS ON FILE
ARCE ALONSO, VIOLA            ADDRESS ON FILE
ARCE ALVARADO, HIXELA         ADDRESS ON FILE
ARCE ALVAREZ, ARSENIO H       ADDRESS ON FILE
ARCE ALVAREZ, CARMELO         ADDRESS ON FILE
Arce Aponte, Hector L         ADDRESS ON FILE
ARCE APONTE, MILDRED          ADDRESS ON FILE
Arce Aponte, Sigfredo         ADDRESS ON FILE
ARCE AQUINO, MIREILY          ADDRESS ON FILE
ARCE ARCE, ELBA I             ADDRESS ON FILE
Arce Arce, Heriberto          ADDRESS ON FILE
ARCE ARIZMENDI, MARIA         ADDRESS ON FILE
ARCE ARIZMENDI, MONSERRATE    ADDRESS ON FILE
ARCE AYALA, DORIS             ADDRESS ON FILE
ARCE AYALA, TAMARI            ADDRESS ON FILE
ARCE BAKEL, RICKY             ADDRESS ON FILE
ARCE BARBOSA, JONATHAN        ADDRESS ON FILE
ARCE BENIQUEZ, CLARISA        ADDRESS ON FILE
ARCE BERRIOS, FRANCHESKA      ADDRESS ON FILE
ARCE BLAS, JORGE              ADDRESS ON FILE
ARCE BORRERO, GLORIMAR        ADDRESS ON FILE
ARCE BRANA, GEOVANI           ADDRESS ON FILE
ARCE BUCETTA, NILDA I         ADDRESS ON FILE
ARCE BULTED, OSMARILY         ADDRESS ON FILE
ARCE CABAN, AUREA M           ADDRESS ON FILE
ARCE CABRERA, CARLOS          ADDRESS ON FILE
ARCE CABRERA, JACINTO         ADDRESS ON FILE
Arce Cabrera, Juan B          ADDRESS ON FILE
ARCE CABRERA, MARIA E         ADDRESS ON FILE
ARCE CACHO, EDNA              ADDRESS ON FILE
ARCE CALDERON, MIGDALIA       ADDRESS ON FILE
ARCE CARDONA, ROSA            ADDRESS ON FILE
Arce Carmona, Ruth N          ADDRESS ON FILE
ARCE CARRASQUILLO, ZENAIDA    ADDRESS ON FILE
ARCE CARRASQUILLO, ZENAIDA    ADDRESS ON FILE
ARCE CATERING                 URB LAS DELICIAS          2436 CALLE VALDIVIESO                                       PONCE     PR      00728‐3820
ARCE CINTRON, DENNIS          ADDRESS ON FILE
ARCE CINTRON, JUDYSAN         ADDRESS ON FILE
ARCE CINTRON, MIGUEL A        ADDRESS ON FILE
ARCE CLASS, BARBARA           ADDRESS ON FILE
Arce Claudio, Cindy           ADDRESS ON FILE
Arce Collazo, Israel          ADDRESS ON FILE




                                                                                Page 530 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 531 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Arce Colon, Adolfo          ADDRESS ON FILE
ARCE COLON, ANGEL           ADDRESS ON FILE
ARCE COLON, IRIS            ADDRESS ON FILE
ARCE COLON, JOSE            ADDRESS ON FILE
ARCE COLON, NOEMI           ADDRESS ON FILE
ARCE COLON, ROSELYN         ADDRESS ON FILE
ARCE CONTY, MYRIAM          ADDRESS ON FILE
ARCE CORCHADO, MARY         ADDRESS ON FILE
ARCE CORREA, CHRISTIAN      ADDRESS ON FILE
ARCE CORREA, LUIS JAVIER    ADDRESS ON FILE
ARCE CORTES, JULIO          ADDRESS ON FILE
ARCE CORTES,MELANIE         ADDRESS ON FILE
ARCE COTTO, MARITZA         ADDRESS ON FILE
ARCE CRESPO, LUZ M          ADDRESS ON FILE
ARCE CRUZ, ALBA A           ADDRESS ON FILE
ARCE CRUZ, AMARILIS         ADDRESS ON FILE
ARCE CRUZ, CARMEN E         ADDRESS ON FILE
ARCE CRUZ, DELY S           ADDRESS ON FILE
ARCE CRUZ, GLADYS           ADDRESS ON FILE
ARCE CRUZ, IRMARIE          ADDRESS ON FILE
ARCE CRUZ, JANNETTE         ADDRESS ON FILE
ARCE CRUZ, JOHANNA M        ADDRESS ON FILE
Arce Cruz, Luis D           ADDRESS ON FILE
ARCE CRUZ, MIRIAM           ADDRESS ON FILE
Arce Cruz, Norma I          ADDRESS ON FILE
ARCE CRUZ, WANDA            ADDRESS ON FILE
ARCE CRUZ, WANDA I          ADDRESS ON FILE
ARCE CUBERO, JANET          ADDRESS ON FILE
ARCE CUEVAS, FRANCISCO L    ADDRESS ON FILE
ARCE CUEVAS, JANETTE        ADDRESS ON FILE
ARCE CUEVAS, LUZ M          ADDRESS ON FILE
ARCE CUEVAS, MARILYN        ADDRESS ON FILE
ARCE CUEVAS, NOEMI          ADDRESS ON FILE
ARCE CURET, VERONICA        ADDRESS ON FILE
ARCE DALUMPINIS, ALICIA I   ADDRESS ON FILE
ARCE DALUMPINIS, ALICIA I   ADDRESS ON FILE
ARCE DAVILA, YAMIL          ADDRESS ON FILE
ARCE DE HOYOS, MARIA        ADDRESS ON FILE
ARCE DE JESUS, ARMANDO      ADDRESS ON FILE
ARCE DE JESUS, CRISTINA E   ADDRESS ON FILE
ARCE DE JESUS, OMAIRA       ADDRESS ON FILE
ARCE DEL RIO, MERCEDES      ADDRESS ON FILE
Arce Del Valle, Edgardo     ADDRESS ON FILE
ARCE DEL VALLE, EDGARDO     ADDRESS ON FILE
ARCE DEL VALLE, HECTOR      ADDRESS ON FILE
ARCE DEL VALLE, JINELYS     ADDRESS ON FILE
ARCE DELGADO, CARMEN A      ADDRESS ON FILE
ARCE DELGADO, DIANA E       ADDRESS ON FILE
ARCE DELGADO, RUBEN         ADDRESS ON FILE
ARCE DIAZ, FELIX            ADDRESS ON FILE
ARCE DIAZ, JOSE             ADDRESS ON FILE
ARCE DIAZ, LILLIAN M        ADDRESS ON FILE
ARCE DIAZ, MARIA            ADDRESS ON FILE
ARCE DIAZ, NORA             ADDRESS ON FILE
ARCE DURAN, JOSE            ADDRESS ON FILE
ARCE DURAN, NOEL            ADDRESS ON FILE
ARCE ECHEVARRIA, JUDITH     ADDRESS ON FILE
ARCE ESTREMERA, DAVID       ADDRESS ON FILE
Arce Estremera, Rosaly      ADDRESS ON FILE
Arce Farina, Rafael         ADDRESS ON FILE




                                                                        Page 531 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 532 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARCE FELICIANO, ALEX D          ADDRESS ON FILE
ARCE FELICIANO, EVELYN          ADDRESS ON FILE
ARCE FELICIANO, JENNEFER        ADDRESS ON FILE
Arce Feliciano, Omar            ADDRESS ON FILE
ARCE FELICIANO, OMAR            ADDRESS ON FILE
ARCE FERRER, LUZ S              ADDRESS ON FILE
ARCE FIGUEROA, ELSIE            ADDRESS ON FILE
ARCE FIGUEROA, FELIX            ADDRESS ON FILE
ARCE FIGUEROA,EDWIN I.          ADDRESS ON FILE
ARCE FRAGA, MARIA               ADDRESS ON FILE
ARCE FRAGA, MARIA D.            ADDRESS ON FILE
ARCE FRAGA, MERCEDES            ADDRESS ON FILE
ARCE FRANCISCO, JOEL            ADDRESS ON FILE
ARCE FUENTES, ASTRID L          ADDRESS ON FILE
ARCE GALBAN, LILLIAN            ADDRESS ON FILE
ARCE GALVAN, JAVIER             ADDRESS ON FILE
ARCE GARCIA, ANA                ADDRESS ON FILE
ARCE GARCIA, ANGELES            ADDRESS ON FILE
ARCE GARCIA, EDGAR              ADDRESS ON FILE
ARCE GARCIA, ISABEL DE L        ADDRESS ON FILE
ARCE GARCIA, JOSE L             ADDRESS ON FILE
ARCE GARCIA, LAURA              ADDRESS ON FILE
ARCE GARCIA, YOSELBA            ADDRESS ON FILE
ARCE GARRIGA, IRMA I            ADDRESS ON FILE
ARCE GARRIGA, MIGUEL R.         ADDRESS ON FILE
ARCE GOBZALEZ, NAIDA            ADDRESS ON FILE
ARCE GONZALEZ PSYD, ALEXANDER   ADDRESS ON FILE
Arce Gonzalez, Alexander J.     ADDRESS ON FILE
ARCE GONZALEZ, ANTONIA          ADDRESS ON FILE
ARCE GONZALEZ, ARISTIDES        ADDRESS ON FILE
ARCE GONZALEZ, ARISTIDES        ADDRESS ON FILE
ARCE GONZALEZ, CRISTINA         ADDRESS ON FILE
ARCE GONZALEZ, DENNISE          ADDRESS ON FILE
Arce Gonzalez, Jose A.          ADDRESS ON FILE
ARCE GONZALEZ, MARIANO          ADDRESS ON FILE
ARCE GONZALEZ, MAYRA            ADDRESS ON FILE
ARCE GONZALEZ, MELINDA          ADDRESS ON FILE
ARCE GONZALEZ, MICHELLE         ADDRESS ON FILE
ARCE GONZALEZ, NETSY            ADDRESS ON FILE
ARCE GONZALEZ, RAQUEL           ADDRESS ON FILE
Arce Gonzalez, Raymundo         ADDRESS ON FILE
ARCE GONZALEZ, ROGELIO          ADDRESS ON FILE
Arce Gonzalez, Rogelio A        ADDRESS ON FILE
ARCE GONZALEZ, RUTH D           ADDRESS ON FILE
ARCE GUEMAREZ, IVETTE           ADDRESS ON FILE
ARCE GUERRA, SHEILA             ADDRESS ON FILE
ARCE GUERRA, SHEILA E           ADDRESS ON FILE
ARCE GUZMAN, CARMELO            ADDRESS ON FILE
ARCE GUZMAN, CARMEN             ADDRESS ON FILE
ARCE GUZMAN, GERARDO            ADDRESS ON FILE
ARCE GUZMAN, IRIS B             ADDRESS ON FILE
ARCE GUZMAN, JOSE               ADDRESS ON FILE
ARCE GUZMAN, MARIA              ADDRESS ON FILE
ARCE HENRIQUEZ, LINDA M         ADDRESS ON FILE
ARCE HERNANDEZ, ADACELY         ADDRESS ON FILE
Arce Hernandez, Carlos J        ADDRESS ON FILE
Arce Hernandez, David           ADDRESS ON FILE
ARCE HERNANDEZ, DEYKA           ADDRESS ON FILE
ARCE HERNANDEZ, EDITH           ADDRESS ON FILE
ARCE HERNANDEZ, EDUARDO J       ADDRESS ON FILE




                                                                            Page 532 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 533 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARCE HERNANDEZ, HELVETIA    ADDRESS ON FILE
ARCE HERNANDEZ, LOYDA       ADDRESS ON FILE
ARCE HERNANDEZ, LOYDA       ADDRESS ON FILE
ARCE HERNANDEZ, LOYDA       ADDRESS ON FILE
ARCE HERNANDEZ, LUIS        ADDRESS ON FILE
Arce Hernandez, Samuel      ADDRESS ON FILE
ARCE IRIZARRY, ELBA         ADDRESS ON FILE
ARCE IRIZARRY, JEAN         ADDRESS ON FILE
ARCE IRIZARRY, JUAN L.      ADDRESS ON FILE
Arce Izquierdo, Sigfredo    ADDRESS ON FILE
ARCE JIMENEZ, ALBERTO       ADDRESS ON FILE
ARCE JIMENEZ, ARMANDO       ADDRESS ON FILE
ARCE JIMENEZ, BEATRIZ       ADDRESS ON FILE
ARCE JIMENEZ, LOURDES L     ADDRESS ON FILE
ARCE JIMENEZ, YASMIN        ADDRESS ON FILE
ARCE LABOY, MONICA A        ADDRESS ON FILE
ARCE LATIMER, MIGUEL A.     ADDRESS ON FILE
ARCE LEBRON, ELIDIA         ADDRESS ON FILE
ARCE LEBRON, SHANDELL       ADDRESS ON FILE
ARCE LEON, SAMUEL R         ADDRESS ON FILE
ARCE LETRIZ, JOSE M         ADDRESS ON FILE
ARCE LOPEZ MD, EMILIO       ADDRESS ON FILE
ARCE LOPEZ, EDWIN           ADDRESS ON FILE
ARCE LOPEZ, EUNICE          ADDRESS ON FILE
ARCE LOPEZ, EVYAN           ADDRESS ON FILE
Arce Lopez, Ivan F.         ADDRESS ON FILE
ARCE LOPEZ, JAVIER          ADDRESS ON FILE
ARCE LOPEZ, RODNEY          ADDRESS ON FILE
ARCE LOPEZ, ROSA I          ADDRESS ON FILE
Arce Lorenzo, Betty         ADDRESS ON FILE
ARCE LUGO, EDGAR L          ADDRESS ON FILE
ARCE LUGO, LUZ R.           ADDRESS ON FILE
ARCE LUGO, LUZ R.           ADDRESS ON FILE
ARCE MAISONAVE, ANA         ADDRESS ON FILE
Arce Maisonave, David       ADDRESS ON FILE
ARCE MALDONADO, NANCY       ADDRESS ON FILE
ARCE MALDONADO, NEIDA       ADDRESS ON FILE
ARCE MALDONADO, SELENE M    ADDRESS ON FILE
ARCE MALDONADO, SELENE M    ADDRESS ON FILE
ARCE MALDONADO, SELENE M.   ADDRESS ON FILE
ARCE MARCHAND, SAMUEL       ADDRESS ON FILE
ARCE MARTI, EUGENIA         ADDRESS ON FILE
ARCE MARTI, NORAIDA         ADDRESS ON FILE
ARCE MARTINEZ, JERRY        ADDRESS ON FILE
ARCE MARTINEZ, MARCK        ADDRESS ON FILE
ARCE MARTINEZ, REYNALDO     ADDRESS ON FILE
ARCE MARTINEZ, ROSA E       ADDRESS ON FILE
ARCE MARTINEZ, YANIRA       ADDRESS ON FILE
ARCE MARTIR, BEATRIZ        ADDRESS ON FILE
ARCE MATOS, DARIELYS Y.     ADDRESS ON FILE
ARCE MEDERO, MARIA C        ADDRESS ON FILE
ARCE MEDINA, JOSE LUIS      ADDRESS ON FILE
ARCE MELENDEZ, ADELAIDA     ADDRESS ON FILE
ARCE MELENDEZ, ELIZABETH    ADDRESS ON FILE
ARCE MELENDEZ, JOSE A       ADDRESS ON FILE
ARCE MELENDEZ, LEONARDO     ADDRESS ON FILE
ARCE MENENDEZ, OLGA         ADDRESS ON FILE
ARCE MERCADO, AURA N        ADDRESS ON FILE
ARCE MERCADO, SUGHEIDY      ADDRESS ON FILE
ARCE MERCADO, YARITZA       ADDRESS ON FILE




                                                                        Page 533 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                            Exhibit A-1 - Creditor
                                                                Case No.Matrix
                                                                        17 BK 3283‐LTSPage 534 of 3500
                                                                       Creditor Matrix

Creditor Name             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARCE MOLINA, ERIC         ADDRESS ON FILE
Arce Molina, Eric A.      ADDRESS ON FILE
ARCE MONTALVO, AMARILIS   ADDRESS ON FILE
ARCE MONTALVO, DAISY E    ADDRESS ON FILE
ARCE MONTALVO, IVELISSE   ADDRESS ON FILE
Arce Montalvo, Orlando    ADDRESS ON FILE
ARCE MORALES, FABIAN      ADDRESS ON FILE
ARCE MORALES, JAIRO       ADDRESS ON FILE
ARCE MORALES, JAVIER      ADDRESS ON FILE
ARCE MORALES, MONICA      ADDRESS ON FILE
ARCE MORALES, NITZA       ADDRESS ON FILE
ARCE MORALES, WILFREDO    ADDRESS ON FILE
ARCE MORALES, YAMIL       ADDRESS ON FILE
ARCE MORELL, LUIS E.      ADDRESS ON FILE
ARCE MORRELL, JAVIER      ADDRESS ON FILE
ARCE MUNIZ, CARMELO       ADDRESS ON FILE
Arce Muniz, Carmelo       ADDRESS ON FILE
ARCE MUNIZ, JULIO         ADDRESS ON FILE
ARCE MUNIZ, NANCY         ADDRESS ON FILE
Arce Navarro, Alvin M     ADDRESS ON FILE
ARCE NEGRON, DAVID        ADDRESS ON FILE
ARCE NEGRON, IVONNE       ADDRESS ON FILE
ARCE NEGRON, RAQUEL       ADDRESS ON FILE
ARCE NEGRON, REBECA       ADDRESS ON FILE
ARCE NIEVES, ANABEL       ADDRESS ON FILE
ARCE NIEVES, ANGEL M.     ADDRESS ON FILE
ARCE NIEVES, EUCLIDES     ADDRESS ON FILE
Arce Nieves, Hector M.    ADDRESS ON FILE
ARCE NIEVES, JOSE E       ADDRESS ON FILE
ARCE NIEVES, JOSE M       ADDRESS ON FILE
ARCE OJEDA, IRIS N        ADDRESS ON FILE
ARCE OJEDA, JOSE M        ADDRESS ON FILE
ARCE OJEDA, RAMONA        ADDRESS ON FILE
ARCE OLAVARIA, KEISHLA    ADDRESS ON FILE
ARCE OLIVERAS, NORMA      ADDRESS ON FILE
Arce Olivero, Milton      ADDRESS ON FILE
ARCE OLIVIERI, NAHIR      ADDRESS ON FILE
ARCE ORTIZ, MARY          ADDRESS ON FILE
ARCE ORTIZ, RAMON         ADDRESS ON FILE
ARCE ORTIZ, RUTH N        ADDRESS ON FILE
ARCE OTERO, IBRAHIM       ADDRESS ON FILE
Arce Pagan, Gilberto      ADDRESS ON FILE
ARCE PAGAN, ISRAEL        ADDRESS ON FILE
ARCE PASTOR, ANGELIE M    ADDRESS ON FILE
ARCE PASTOR, ANGELINE     ADDRESS ON FILE
ARCE PEREZ, ALEX          ADDRESS ON FILE
Arce Perez, Angel L       ADDRESS ON FILE
ARCE PEREZ, BRENDA L      ADDRESS ON FILE
ARCE PEREZ, JOSELYN       ADDRESS ON FILE
ARCE PEREZ, JUAN          ADDRESS ON FILE
Arce Perez, Juan L        ADDRESS ON FILE
ARCE PEREZ, LUIS          ADDRESS ON FILE
ARCE PEREZ, NILDA L       ADDRESS ON FILE
ARCE PEREZ, NORMA I       ADDRESS ON FILE
ARCE PEREZ, YOLANDA       ADDRESS ON FILE
ARCE QUINONES, CESAR      ADDRESS ON FILE
ARCE QUINONES, MARCOS     ADDRESS ON FILE
ARCE QUINONEZ, ANTONIO    ADDRESS ON FILE
ARCE RAMÓN, VÁZQUEZ       ADDRESS ON FILE
ARCE RAMOS, GRISEL        ADDRESS ON FILE




                                                                      Page 534 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 535 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARCE RAMOS, IRIS N          ADDRESS ON FILE
ARCE RAMOS, MIGUEL A        ADDRESS ON FILE
ARCE RENTA, SANDRA          ADDRESS ON FILE
ARCE REY, JOSE              ADDRESS ON FILE
ARCE REY, WIDNELIA          ADDRESS ON FILE
ARCE REYES, DORAIMA         ADDRESS ON FILE
ARCE REYES, JOSE M.         ADDRESS ON FILE
Arce Reyes, Lilliam I.      ADDRESS ON FILE
ARCE REYES, NORBERTO        ADDRESS ON FILE
ARCE REYES, ZORAYA          ADDRESS ON FILE
ARCE RIOS, AWILDA           ADDRESS ON FILE
ARCE RIOS, ISRAEL           ADDRESS ON FILE
ARCE RIOS, JOSE A           ADDRESS ON FILE
ARCE RIVERA, BARTOLOME      ADDRESS ON FILE
ARCE RIVERA, BRENDALIZ      ADDRESS ON FILE
ARCE RIVERA, CORA H.        ADDRESS ON FILE
ARCE RIVERA, DEOGRACIO      ADDRESS ON FILE
ARCE RIVERA, EDUARDO J      ADDRESS ON FILE
ARCE RIVERA, EFRAIN         ADDRESS ON FILE
ARCE RIVERA, ELIDES         ADDRESS ON FILE
ARCE RIVERA, GLORIA I       ADDRESS ON FILE
ARCE RIVERA, IRZA M         ADDRESS ON FILE
Arce Rivera, Javier         ADDRESS ON FILE
ARCE RIVERA, JORGE          ADDRESS ON FILE
ARCE RIVERA, JOSE           ADDRESS ON FILE
ARCE RIVERA, JOSE           ADDRESS ON FILE
Arce Rivera, Jose R.        ADDRESS ON FILE
Arce Rivera, Juan A         ADDRESS ON FILE
Arce Rivera, Melissa        ADDRESS ON FILE
ARCE RIVERA, MELISSA        ADDRESS ON FILE
ARCE RIVERA, MILTON A.      ADDRESS ON FILE
Arce Rivera, Nancy I        ADDRESS ON FILE
Arce Rivera, Nivia I.       ADDRESS ON FILE
Arce Rivera, Pedro M        ADDRESS ON FILE
ARCE RIVERA, RUBEN          ADDRESS ON FILE
Arce Rivera, William L.     ADDRESS ON FILE
Arce Rodriguez, Alberto     ADDRESS ON FILE
ARCE RODRIGUEZ, AMALIA N    ADDRESS ON FILE
ARCE RODRIGUEZ, CYBELLE     ADDRESS ON FILE
ARCE RODRIGUEZ, JOHANNA     ADDRESS ON FILE
ARCE RODRIGUEZ, JOHANNA     ADDRESS ON FILE
ARCE RODRIGUEZ, JOSE        ADDRESS ON FILE
ARCE RODRIGUEZ, JOSE        ADDRESS ON FILE
Arce Rodriguez, Miguel      ADDRESS ON FILE
ARCE RODRIGUEZ, MILAGROS    ADDRESS ON FILE
ARCE RODRIGUEZ, RAMON E     ADDRESS ON FILE
ARCE RODRIGUEZ, RAYMOND     ADDRESS ON FILE
ARCE RODRIGUEZ, STEFANY     ADDRESS ON FILE
ARCE RODRIGUEZ, STEFANY M   ADDRESS ON FILE
ARCE RODRIGUEZ, VICTOR      ADDRESS ON FILE
ARCE RODRIGUEZ, VILMARI     ADDRESS ON FILE
ARCE RODRIGUEZ, WILLIAM     ADDRESS ON FILE
ARCE RODRIGUEZ, WILLIAM     ADDRESS ON FILE
ARCE ROMAN, ABNER L.        ADDRESS ON FILE
ARCE ROMAN, DAVID           ADDRESS ON FILE
ARCE ROMAN, ENID            ADDRESS ON FILE
ARCE ROMAN, YAHAIRA         ADDRESS ON FILE
ARCE ROQUE, CARMEN J        ADDRESS ON FILE
ARCE ROSA, ANA F            ADDRESS ON FILE
ARCE ROSA, BERNICE M        ADDRESS ON FILE




                                                                        Page 535 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 536 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARCE ROSA, HECTOR L           ADDRESS ON FILE
ARCE ROSA, JORGE L.           ADDRESS ON FILE
ARCE ROSA, VILMA D            ADDRESS ON FILE
ARCE ROSADO, AMPARO           ADDRESS ON FILE
ARCE ROSADO, GRISELLE         ADDRESS ON FILE
ARCE ROSADO, YOMARA L         ADDRESS ON FILE
ARCE ROSALES, ALBERTO         ADDRESS ON FILE
Arce Rosales, Alberto L.      ADDRESS ON FILE
ARCE RUBERTE, RAMONITA        ADDRESS ON FILE
ARCE RUIZ, NEFTALI            ADDRESS ON FILE
ARCE SANCHEZ, IVAN            ADDRESS ON FILE
ARCE SANCHEZ, JUAN            ADDRESS ON FILE
ARCE SANCHEZ, MIGUEL          ADDRESS ON FILE
ARCE SANTANA, ANA L           ADDRESS ON FILE
ARCE SANTANA, RAMON D         ADDRESS ON FILE
ARCE SANTIAGO MD, FERDINAND   ADDRESS ON FILE
ARCE SANTIAGO, ARNALDO        ADDRESS ON FILE
ARCE SANTIAGO, BARBARA        ADDRESS ON FILE
ARCE SANTIAGO, BARBARA        ADDRESS ON FILE
Arce Santiago, Ferdinand      ADDRESS ON FILE
ARCE SANTIAGO, FERDINAND      ADDRESS ON FILE
Arce Santiago, Jose F.        ADDRESS ON FILE
ARCE SANTIAGO, JUAN G         ADDRESS ON FILE
ARCE SANTIAGO, MARTHA         ADDRESS ON FILE
ARCE SANTIAGO, MIRIAM         ADDRESS ON FILE
ARCE SANTIAGO, SYLMA M        ADDRESS ON FILE
ARCE SANTIAGO, WILLIAM        ADDRESS ON FILE
ARCE SEDA, CHRISTINE          ADDRESS ON FILE
ARCE SEDA, FRANCIS V          ADDRESS ON FILE
ARCE SEDA, GERMARIE           ADDRESS ON FILE
ARCE SEGARRA, FERNANDO        ADDRESS ON FILE
ARCE SERRANO, DEBBIE          ADDRESS ON FILE
ARCE SIEBENS, IVELISSE        ADDRESS ON FILE
ARCE SIERRA, ADRIAN           ADDRESS ON FILE
ARCE SIERRA, ANA M.           ADDRESS ON FILE
ARCE SIERRA, ANGEL            ADDRESS ON FILE
ARCE SOLER, ALEXANDER         ADDRESS ON FILE
ARCE SOLER, WILFREDO          ADDRESS ON FILE
ARCE SOLIS, IVETTE            ADDRESS ON FILE
ARCE SOTO, GENOVEVA           ADDRESS ON FILE
ARCE SOTO, GONZALO            ADDRESS ON FILE
ARCE SOTO, HERMENEGILDO       ADDRESS ON FILE
ARCE SOTO, HERMINIA           ADDRESS ON FILE
ARCE SOTO, JOSE M             ADDRESS ON FILE
ARCE SOTO, LUZ E              ADDRESS ON FILE
ARCE SOTO, XAVIER             ADDRESS ON FILE
ARCE TELLADO, ANA             ADDRESS ON FILE
ARCE TELLADO, ANA             ADDRESS ON FILE
Arce Tellado, Jose A          ADDRESS ON FILE
ARCE TELLADO, MIRIAM          ADDRESS ON FILE
Arce Tirado, Luis A           ADDRESS ON FILE
ARCE TORRES, ANGEL            ADDRESS ON FILE
ARCE TORRES, GERARDO J.       ADDRESS ON FILE
ARCE TORRES, JEANETTE         ADDRESS ON FILE
ARCE TORRES, JEUFREY          ADDRESS ON FILE
ARCE TORRES, LADY             ADDRESS ON FILE
ARCE TORRES, NIURKA           ADDRESS ON FILE
ARCE TORRES, NIURKA           ADDRESS ON FILE
Arce Torres, Rafael J         ADDRESS ON FILE
ARCE TORRES, RAFAEL J.        ADDRESS ON FILE




                                                                          Page 536 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 537 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARCE TORRES, SHEILA          ADDRESS ON FILE
ARCE TORRES, WANDA E         ADDRESS ON FILE
ARCE TOVAR, ROSENDO          ADDRESS ON FILE
ARCE TULIER, YOLANDA         ADDRESS ON FILE
ARCE VALENTIN, GILBERTO      ADDRESS ON FILE
ARCE VALENTIN, MILAGROS      ADDRESS ON FILE
ARCE VALENTIN, NAYDA         ADDRESS ON FILE
ARCE VALENTIN, WILLIAM       ADDRESS ON FILE
ARCE VARGAS, SANDRA          ADDRESS ON FILE
ARCE VAZQUEZ, NORMA          ADDRESS ON FILE
ARCE VAZQUEZ, RAMON E        ADDRESS ON FILE
ARCE VEGA, CARMEN J          ADDRESS ON FILE
ARCE VEGA, FABIAN            ADDRESS ON FILE
ARCE VEGA, IVETTE            ADDRESS ON FILE
ARCE VELAZQUEZ, ALEXIS       ADDRESS ON FILE
ARCE VELEZ, ADA N            ADDRESS ON FILE
ARCE VELEZ, CARMEN           ADDRESS ON FILE
ARCE VELEZ, CARMEN M         ADDRESS ON FILE
Arce Velez, Lilliana         ADDRESS ON FILE
ARCE VELEZ, LILLIANA         ADDRESS ON FILE
ARCE VILLA, VICTOR           ADDRESS ON FILE
ARCE VILLANUEVA, ANGEL       ADDRESS ON FILE
ARCE VILLANUEVA,OSCAR E.     ADDRESS ON FILE
ARCE VISUAL CENTER           604 CALLE MUÐZ RIVERA                                                            PEÐUELAS     PR      00624
ARCE VISUAL CENTER           604 CALLE MUNZ RIVERA                                                            PENUELAS     PR      00624
Arce Zuniga, Rosa Maribel    ADDRESS ON FILE
ARCE, CARMEN                 ADDRESS ON FILE
ARCE, DANIEL                 ADDRESS ON FILE
ARCE, EMILIO                 ADDRESS ON FILE
ARCE, JOSE D.                ADDRESS ON FILE
ARCE, LUIS                   ADDRESS ON FILE
ARCE, MYRIAM                 ADDRESS ON FILE
ARCE, NICHOL D               ADDRESS ON FILE
ARCE, SAMUEL                 ADDRESS ON FILE
ARCECASTRO, FRANCISCO        ADDRESS ON FILE
ARCEL CRUZ ORTIZ             ADDRESS ON FILE
ARCEL CRUZ ORTIZ             ADDRESS ON FILE
ARCELAY CAMACHO, ENID        ADDRESS ON FILE
ARCELAY CAMACHO, NILSA       ADDRESS ON FILE
ARCELAY CARRERO, CARMEN M    ADDRESS ON FILE
ARCELAY CORDERO, XAMAYRA     ADDRESS ON FILE
ARCELAY CRUZ, CARMEN A.      ADDRESS ON FILE
ARCELAY FELIX, CARLOS        ADDRESS ON FILE
ARCELAY FIGUEROA, GLADYS     ADDRESS ON FILE
ARCELAY FIGUEROA, GLADYS     ADDRESS ON FILE
Arcelay Fontanez, Carlos L   ADDRESS ON FILE
ARCELAY GONZALEZ, CAROLYN    ADDRESS ON FILE
ARCELAY GONZALEZ, CAROLYN    ADDRESS ON FILE
ARCELAY GONZALEZ, GINESSA    ADDRESS ON FILE
ARCELAY GONZALEZ, JUSTO J    ADDRESS ON FILE
ARCELAY HENRIQUEZ, NADYA A   ADDRESS ON FILE
Arcelay Jimenez, Anibal      ADDRESS ON FILE
ARCELAY LOPEZ, ARMANDO R     ADDRESS ON FILE
Arcelay Lopez, Radames       ADDRESS ON FILE
Arcelay Lorenzo, Alfredo     ADDRESS ON FILE
ARCELAY MENDEZ, CAMILO       ADDRESS ON FILE
ARCELAY ORTIZ, ALICIA        ADDRESS ON FILE
ARCELAY ORTIZ, MARITZA       ADDRESS ON FILE
ARCELAY QUILES, ANGEL        ADDRESS ON FILE
ARCELAY RODRIGUEZ, LUISA B   ADDRESS ON FILE




                                                                         Page 537 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 538 of 3500
                                                                                                                        Creditor Matrix

Creditor Name                         Address1                                           Address2                                    Address3            Address4   City              State   PostalCode   Country
ARCELAY ROJAS, GERMAN JOEL III        ADDRESS ON FILE
ARCELAY ROJAS, YITZA A.               ADDRESS ON FILE
ARCELAY ROLDAN, ARACELIS              ADDRESS ON FILE
Arcelay Ruiz, Gamalier                ADDRESS ON FILE
ARCELAY SANTANA, ANA H                ADDRESS ON FILE
ARCELAY SANTIAGO, CARMEN L            ADDRESS ON FILE
ARCELAY TORO, ALFREDO                 ADDRESS ON FILE
ARCELAY TORRES, DIGNA                 ADDRESS ON FILE
Arcelay Velez, Luis A                 ADDRESS ON FILE
ARCELAY VELEZ, LUZ ENID               ADDRESS ON FILE
ARCELIA GONZALEZ TOLEDO               ADDRESS ON FILE
ARCELIA VEGA FONTANEZ                 ADDRESS ON FILE
ARCELIO ACISCLO MALDONADO AVILES II   ADDRESS ON FILE
ARCELIO CARDENALES RODRIGUEZ          ADDRESS ON FILE
ARCELIS HUERTAS CHARDON               ADDRESS ON FILE
ARCENETTE CRESPO MUNOZ                ADDRESS ON FILE
ARCENETTE VIDAL CRESPO                ADDRESS ON FILE
ARCENIA T RIVERA                      ADDRESS ON FILE
ARCEO CAMPOY, SAUL                    ADDRESS ON FILE
ARCER RODRIGUEZ, RICARDO              ADDRESS ON FILE
ARCEVILLANUEVA, HECTOR L              ADDRESS ON FILE
ARCH INSURANCE COMPANY                300 PLAZA THREE 3RD FLOOR                                                                                                     JERSEY CITY       NJ      07311
Arch Insurance Company                Attn: Andres Prieto, Regulatory Compliance GoveHarborside 3                                    210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                Attn: Carol Kennedy, Vice President                Harborside 3                                210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                Attn: Dave Viscusi, Circulation of Risk            Harborside 3                                210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                Attn: Elizabeth Dichiara, Premiun Tax Contact      Harborside 3                                210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                Attn: John Paul Mentz, President                   Harborside 3                                210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                Attn: Joseph Labell, Vice President                Harborside 3                                210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                Attn: Kathleen Campbell, Consumer Complaint CoHarborside 3                                     210 Hudson Street              Jersey City       NJ      73111‐107
Arch Insurance Company                One Liberty Plaza                                  53rd Floor                                                                 New York          NY      10006
Arch Mortgage Insurance Company       595 Market Street                                  Suite 400                                                                  San Francisco     CA      94105
Arch Mortgage Insurance Company       Attn: John Goodwin, President                      5910 Mineral Point Road                                                    Madison           WI      53705
Arch Mortgage Insurance Company       Attn: Sheryl Lawrence, Circulation of Risk         5910 Mineral Point Road                                                    Madison           WI      53705
Arch Mortgage Insurance Company       Attn: Sheryl Lawrence, Consumer Complaint Cont5910 Mineral Point Road                                                         Madison           WI      53705
Arch Mortgage Insurance Company       Attn: Sheryl Lawrence, Regulatory Compliance Go5910 Mineral Point Road                                                        Madison           WI      53705
Arch Mortgage Insurance Company       c/o CT Corporation System, Agent for Service of P5910 Mineral Point Road                                                      Madison           WI      53705
ARCH REINSURANCE LTD                  P O BOX HM 339                                                                                                                HAMILTON                  HM BX        Bermuda
Arch Reinsurance Ltd.                 Attn: Nicolas Papadopoulo, President               PO Box HM 339                                                              Hamilton          UN      HMBX
Arch Reinsurance Ltd.                 Attn: Rajeh Maamoun, President                     PO Box HM 339                                                              Hamilton          UN      HMBX
Arch Reinsurance Ltd.                 Waterloo House, First Floor                        100 Pitts Bay Road Pembroke                                                Hamilton          HM      08‐          Bermuda
Arch Specialty Insurance Company      Attn: Carol Kennedy, Vice President                300 Plaza Three                             3rd Floor                      Jersey City       NJ      73111‐107
Arch Specialty Insurance Company      Attn: David Viscusi, Regulatory Compliance Gover300 Plaza Three                                3rd Floor                      Jersey City       NJ      73111‐107
Arch Specialty Insurance Company      Attn: Jennifer Roehrich, Agent for Service of Proc 300 Plaza Three                             3rd Floor                      Jersey City       NJ      73111‐107
Arch Specialty Insurance Company      Attn: John Paul Mentz , President                  300 Plaza Three                             3rd Floor                      Jersey City       NJ      73111‐107
Arch Specialty Insurance Company      Attn: Joseph Labell, Vice President                300 Plaza Three                             3rd Floor                      Jersey City       NJ      73111‐107
Arch Specialty Insurance Company      Attn: Kathleen Campbell, Consumer Complaint Co300 Plaza Three                                  3rd Floor                      Jersey City       NJ      73111‐107
Arch Specialty Insurance Company      Harborside 3 219 Hudston Street                    Suite 300                                                                  Jersey City       NJ      07311‐1107
ARCHER MALPICA, ROSA                  ADDRESS ON FILE
ARCHER MARRERO, ALBERTO               ADDRESS ON FILE
ARCHER MARRERO, WILLIAM               ADDRESS ON FILE
ARCHER, SCOTT                         ADDRESS ON FILE
ARCHEVAL IRIZARRY, JULIO O            ADDRESS ON FILE
ARCHEVAL MARTINEZ, BRENDA E           ADDRESS ON FILE
ARCHEVAL MORALES, OMAYRA              ADDRESS ON FILE
ARCHEVAL NIEVES, GERALBERTO           ADDRESS ON FILE
ARCHEVAL RIVERA, JOSE                 ADDRESS ON FILE
ARCHEVAL RODRIGUEZ, JOSE A            ADDRESS ON FILE
ARCHEVAL RODRIGUEZ, JOSE L            ADDRESS ON FILE
ARCHEVAL TORRES, PETER                ADDRESS ON FILE
ARCHEVAL VAZQUEZ, ANGEL               ADDRESS ON FILE




                                                                                                                       Page 538 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 539 of 3500
                                                                                                     Creditor Matrix

Creditor Name                           Address1                      Address2                                    Address3    Address4   City         State   PostalCode   Country
ARCHEVAL VAZQUEZ, FELIX                 ADDRESS ON FILE
ARCHEVALD CANSOBRE, MARIA               ADDRESS ON FILE
ARCHIE CORTES VAZQUEZ                   ADDRESS ON FILE
ARCHIE OUTLET AUTO SALES                LCDO. PEDRO J RIVERA RIVERA   TRIPLE S PLAZA 1510 AVE FD ROOSEVELT PISO 9 SUITE 9B1              GUAYNABO     PR      00968
ARCHILLA BAGUE, SANDRA                  ADDRESS ON FILE
ARCHILLA BERROCAL, MILDRED T            ADDRESS ON FILE
ARCHILLA CHIMELIS, CYNTHIA Y            ADDRESS ON FILE
ARCHILLA CHIMELIS, SYLVIA               ADDRESS ON FILE
ARCHILLA CHIMELIS, SYLVIA               ADDRESS ON FILE
ARCHILLA CINTRON, ALICIA                ADDRESS ON FILE
ARCHILLA CINTRON, ANGEL                 ADDRESS ON FILE
ARCHILLA COSME, NELSON                  ADDRESS ON FILE
Archilla Del Olmo, Mari R               ADDRESS ON FILE
Archilla Diaz, Benjamin                 ADDRESS ON FILE
ARCHILLA ISERN MD, RAFAEL J             ADDRESS ON FILE
ARCHILLA MELENDEZ, LUIS                 ADDRESS ON FILE
ARCHILLA MOLINA, WILDALIS               ADDRESS ON FILE
ARCHILLA MONTES, ANGEL                  ADDRESS ON FILE
ARCHILLA MONTES, FRANCISCA              ADDRESS ON FILE
ARCHILLA ORTEGA, ANGEL                  ADDRESS ON FILE
ARCHILLA PABON, MARIA                   ADDRESS ON FILE
ARCHILLA PABON, MARIA E.                ADDRESS ON FILE
ARCHILLA PABON, MARIA ENERY             ADDRESS ON FILE
ARCHILLA PAGAN, DELVIS                  ADDRESS ON FILE
ARCHILLA PAGAN, DIANA                   ADDRESS ON FILE
ARCHILLA PAPER                          PO BOX 364253                                                                                    SAN JUAN     PR      00936‐4253
ARCHILLA PAPER CORP                     PO BOX 364253                                                                                    SAN JUAN     PR      00936‐4252
ARCHILLA PAPER CORP                     PO BOX 4253                                                                                      SAN JUAN     PR      00936
ARCHILLA PAPER CORP                     URB VILLA MAR                 A O 22 CALLE MARGINAL                                              CAROLINA     PR      00979
ARCHILLA QUINONES, BRUNILDA             ADDRESS ON FILE
ARCHILLA RIVERA, HAYDEE                 ADDRESS ON FILE
ARCHILLA RIVERA, HAYDEE                 ADDRESS ON FILE
ARCHILLA RIVERA, JOSE                   ADDRESS ON FILE
ARCHILLA RIVERA, MILVIA YAMILA          ADDRESS ON FILE
ARCHILLA RIVERA, RAMON A                ADDRESS ON FILE
ARCHILLA RIVERA, RAMON A.               ADDRESS ON FILE
ARCHILLA RIVERA, WILFREDO               ADDRESS ON FILE
ARCHILLA RIVERA, ZORAIDA                ADDRESS ON FILE
ARCHILLA RODRIGUEZ, REYNALDO            ADDRESS ON FILE
Archilla Rodriguez, William A.          ADDRESS ON FILE
ARCHILLA RONDA, KRIZIA M                ADDRESS ON FILE
ARCHILLA TRINIDAD, HARRY                ADDRESS ON FILE
ARCHILLA TRINIDAD, HARRY E              ADDRESS ON FILE
ARCHILLA VALENTIN, ALFREDO              ADDRESS ON FILE
ARCHILLAVALENTIN, ENRIQUE               ADDRESS ON FILE
ARCHIMOVIL SYSTEMS OF P R               AVE PONCE DE LEON             1663 APT 704                                                       SANTURCE     PR      00909
ARCHIMOVIL SYSTEMS OF P R               VILLA FONTANA                 5X 35 AVE SANCHEZ OSORIO                                           CAROLINA     PR      00983
ARCHIPIELAGO DEL CARIBE TAXI C          RR 7 PO BOX 2709                                                                                 TOA ALTA     PR      00953
ARCHIPIELAGO DEL CARIBE TAXI C          URB VILLAMAR                  3 CALLE MAR DE CHINA                                               CAROLINA     PR      00979
ARCHIRED                                PO BOX 21560                                                                                     SAN JUAN     PR      00931‐1560
ARCHITECTURAL ENGINEERING DESIGN GROUP PPO BOX 360593                                                                                    SAN JUAN     PR      00936‐0593
ARCHITECTURAL BASIC                     PO BOX 900                                                                                       GUAYNABO     PR      00970‐0900
ARCHITECTURAL SYSTEMS INC               PO BOX 361526                                                                                    SAN JUAN     PR      00936
ARCHITEK,PSC                            PO BOX 192671                                                                                    SAN JUAN     PR      00919
ARCHIZAEL GONZALEZ CARDONA              ADDRESS ON FILE
ARCIA URBAEZ, RUBEN                     ADDRESS ON FILE
ARCILIARES ACOSTA, JOSE                 ADDRESS ON FILE
ARCINIEGAS REYES, LORENA                ADDRESS ON FILE
ARCIS ENGINEERING GROUP P S C           PO BOX 194000 PMB 334                                                                            SAN JUAN     PR      00919‐4000
ARCO                                    POBOX 21414                                                                                      HATO REY     PR      00928‐1414




                                                                                                    Page 539 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 540 of 3500
                                                                                                           Creditor Matrix

Creditor Name                             Address1                           Address2                                   Address3   Address4   City          State   PostalCode   Country
ARCO / LYDIA M RAMIS GONZALEZ             ADM PARA LA REVITALIZACION         DE LAS COMUNIDADES                                               SAN JUAN      PR      00902
ARCO ALONSO, FERNANDO                     ADDRESS ON FILE
ARCO CAPITAL MANAGEMENT LLC               CITY VIEW PLAZA                    CARR 165 KM 1.02 SUITE 800                                       GUAYNABO      PR      00968
ARCO CARIBE ARCHITECTS                    COND LOS PINOS WEST                APT 10 H                                                         CAROLINA      PR      00979
ARCOIRIS DE ESPERANZA INC.                CALLE O 131‐133 BASE RAMEY                                                                          AGUADILLA     PR      00603
ARCOR PROFESIONAL SERVICE                 PO BOX 10000 PMB 093                                                                                CAYEY         PR      00737‐9601
ARCOS DORADOS PUERTO RICO INC             300 FELISA RINCON DE GAUTIER AVE   SUITE 10                                                         SAN JUAN      PR      00926‐5970
ARCOS DORADOS PUERTO RICO LLC             MONTEHIEDRA 9615 ROMERO                                                                             SAN JUAN      PR      00926
ARCOS HERNANDEZ, KEVIN                    ADDRESS ON FILE
ARDILA MORRONE, CLARA                     ADDRESS ON FILE
ARDIN DUARTE, CARMEN                      ADDRESS ON FILE
ARDIN MATTA, WILMA                        ADDRESS ON FILE
ARDIN PAUNETO, AIXA                       ADDRESS ON FILE
ARDIS ADED CRUZ TANON                     ADDRESS ON FILE
ARDON SABILLON, KEREN J                   ADDRESS ON FILE
ARDYCE DEL C RIVERA GUZMAN                ADDRESS ON FILE
AREA LOCAL DE DESARROLLO LABORAL NORTE CENTRAL ARECIBO                       PO BOX 9933 COTTO STATION                                        ARECIBO       PR      00612‐9933
AREA LOCAL DESARROLLO LABORAL CAROLINA PO BOX 899                                                                                             CAROLINA      PR      00986
ARECELI MEDINA CLAUDIO                    ADDRESS ON FILE
ARECELIS MUNOZ LUCIANO                    ADDRESS ON FILE
ARECELIS PEREZ MUNIZ                      ADDRESS ON FILE
ARECES MALLEA, ALBERTO                    ADDRESS ON FILE
ARECES PERNAS MD, MANUEL                  ADDRESS ON FILE
ARECHE DE REGLA, DENNIS                   ADDRESS ON FILE
ARECHE DEL ROSARIO, MAYRA                 ADDRESS ON FILE
ARECHE ESPIRITUSANTO, ASUNCION            ADDRESS ON FILE
ARECIBO COUNTRY CLUB                      812 JOSE A CEDENO                                                                                   ARECIBO       PR      00612
ARECIBO ELECTRIC SUPPLY                   952 AVE SAN LUIS                                                                                    ARECIBO       PR      00612
ARECIBO ELECTRIC SUPPLY                   AVE SAN LUIS 952                                                                                    ARECIBO       PR      00612
ARECIBO ELECTRONIC                        PO BOX 1787                                                                                         ARECIBO       PR      00613
ARECIBO HEALTH MEDICAL EQUIPMENT          PO BOX 2848                                                                                         ARECIBO       PR      00613
ARECIBO HEALTH MEDICAL EQUIPMENT CO       BUENOS AIRES                       319 CALLE JUAN RAMON FIGUEROA                                    ARECIBO       PR      00612
ARECIBO HEALTH MEDICAL EQUIPMENT CO       PO BOX 2848                                                                                         ARECIBO       PR      00613
ARECIBO HEALTH MEDICAL EQUIPMENT INC.     BOX 2848                                                                                            ARECIBO       PR      00613
ARECIBO MEDICAL HOME CARE                 PO BOX 141597                                                                                       ARECIBO       PR      00614
ARECIBO ORTHOPEDIC & PROSTHETIC CENTER IN 317 AVE JOSE DE DIEGO                                                                               ARECIBO       PR      00612
ARECIBO RADIOLOGY                         CARRETRERA NUM 2 KM 80.1                                                                            ARECIBO       PR      00612
AREDI E VALENTIN                          ADDRESS ON FILE
AREIFA AHMED RASHID                       ADDRESS ON FILE
AREISHA JUVETTE ORTIZ CASTRO              ADDRESS ON FILE
AREIZAGA BRAVO, DARMA I                   ADDRESS ON FILE
AREIZAGA BRAVO, NYDIA                     ADDRESS ON FILE
AREIZAGA GARCIA, DORA                     ADDRESS ON FILE
AREIZAGA GARCIA, LUIS                     ADDRESS ON FILE
AREIZAGA GONZALEZ, CARLOS                 ADDRESS ON FILE
AREIZAGA IGUINA, CARMEN G                 ADDRESS ON FILE
AREIZAGA MARCIAL, HECTOR LUIS             ADDRESS ON FILE
AREIZAGA MARCIAL, MARIBEL                 ADDRESS ON FILE
AREIZAGA MONTALVO, LISMARY                ADDRESS ON FILE
AREIZAGA MORALES, WILMARIE                ADDRESS ON FILE
AREIZAGA ORTEGA, MICHAEL                  ADDRESS ON FILE
AREIZAGA RODRIGUEZ, OLGA                  ADDRESS ON FILE
AREIZAGA SALINAS, JOSE M                  ADDRESS ON FILE
AREIZAGA SALINAS, MAGDALENA               ADDRESS ON FILE
AREIZAGA SALINAS, MARIA                   ADDRESS ON FILE
AREIZAGA SALINAS, MARITZA                 ADDRESS ON FILE
Areizaga Soto, Gladys                     ADDRESS ON FILE
AREIZAGA VARGAS, ALEX                     ADDRESS ON FILE
AREIZAGA VELEZ, ARLEEN                    ADDRESS ON FILE
AREIZAGA VELEZ, ARLENE                    ADDRESS ON FILE




                                                                                                          Page 540 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 541 of 3500
                                                                                                          Creditor Matrix

Creditor Name                              Address1                        Address2                                    Address3   Address4   City         State   PostalCode   Country
Areizaga‐Torres, Miriam                    ADDRESS ON FILE
ARELI M NIEVES MONTANEZ                    ADDRESS ON FILE
ARELI SANTOS CINTRON                       ADDRESS ON FILE
ARELI TIRADO O'NEILL                       ADDRESS ON FILE
ARELIES M RIVERA BARBOSA                   ADDRESS ON FILE
ARELIS AGUILAR VELEZ                       ADDRESS ON FILE
ARELIS ALVARADO SANTOS                     ADDRESS ON FILE
ARELIS AMARO RODRIGUEZ                     ADDRESS ON FILE
ARELIS CARO VAZQUEZ / VICTOR PEREZ         ADDRESS ON FILE
ARELIS CARRASQUILLO CORREA                 ADDRESS ON FILE
ARELIS CLASS RODRIGUEZ                     ADDRESS ON FILE
ARELIS CRUZ RODRIGUEZ                      ADDRESS ON FILE
ARELIS DE JESUS RODRIGUEZ                  ADDRESS ON FILE
ARELIS E. MARTIR NEGRON                    ADDRESS ON FILE
ARELIS FELICIANO ORTIZ                     ADDRESS ON FILE
ARELIS HERNANDEZ SANTIAGO                  ADDRESS ON FILE
ARELIS I ROSARIO TORRES                    ADDRESS ON FILE
ARELIS L GASCOT CRUZ                       ADDRESS ON FILE
ARELIS L GASCOT CRUZ                       ADDRESS ON FILE
ARELIS M HERNANDEZ ROSADO                  ADDRESS ON FILE
ARELIS MARTINEZ DIEZ DE ANDINO             ADDRESS ON FILE
ARELIS MORALES VELAZQUEZ                   ADDRESS ON FILE
ARELIS NIEVES CANCEL                       ADDRESS ON FILE
ARELIS NIEVES FELICIANO                    ADDRESS ON FILE
ARELIS OLMEDA JIMENEZ                      ADDRESS ON FILE
ARELIS OLMEDA JIMENEZ                      ADDRESS ON FILE
ARELIS RAMOS MORALES                       ADDRESS ON FILE
ARELIS RIVERA MATOS                        ADDRESS ON FILE
ARELIS RUIZ                                ADDRESS ON FILE
ARELIS SANTIAGO RIVERA                     ADDRESS ON FILE
ARELIS SOTO GONZALEZ                       ADDRESS ON FILE
ARELIS VAZQUEZ CASTRO                      ADDRESS ON FILE
ARELIS VAZQUEZ VAZQUEZ                     ADDRESS ON FILE
ARELISS ROSADO AMARO                       ADDRESS ON FILE
ARELISSE PENALOSA MEDINA                   ADDRESS ON FILE
ARELIZ ACEVEDO GUERRERO                    ADDRESS ON FILE
ARELIZ GARCIA SANTOS                       ADDRESS ON FILE
ARELIZ TORRES GONZALEZ                     ADDRESS ON FILE
ARELY ROSARIO DIAZ                         ADDRESS ON FILE
ARELYS ARRIAGA ESTEVA                      ADDRESS ON FILE
ARELYS BADILLO HERNANDEZ                   ADDRESS ON FILE
ARELYS BARROSO PEREZ                       ADDRESS ON FILE
ARELYS CABRERA SERRANO                     ADDRESS ON FILE
ARELYS CAMPOS RODRIGUEZ                    ADDRESS ON FILE
ARELYS E NIEVES PEREZ                      ADDRESS ON FILE
ARELYS ENID MUNIZ LEBRON                   ADDRESS ON FILE
ARELYS J GARCIA LAGO                       ADDRESS ON FILE
ARELYS L MONTANEZ TORRES                   ADDRESS ON FILE
ARELYS LABOY GONZALEZ                      ADDRESS ON FILE
ARELYS MEDINA MORALES                      ADDRESS ON FILE
ARELYS RIVERA RIVERA                       ADDRESS ON FILE
ARELYS RODRIGUEZ CONCEPCION                ADDRESS ON FILE
ARELYS RODRIGUEZ RODRIGUEZ                 ADDRESS ON FILE
ARELYS RODRIGUEZ RODRIGUEZ                 ADDRESS ON FILE
ARELYS SIERRA NATAL                        ADDRESS ON FILE
ARELYS TORRES O'FARRIL                     ADDRESS ON FILE
AREMAR PARRA FIGUEROA                      ADDRESS ON FILE
AREN, INC. DBA IGLESIA MI CASA DE ORACIO   PO BOX 9066574                                                                                    SAN JUAN     PR      00906‐6574
ARENA BUS LUNE INC. JOSE RIVERA PEREZ      LCDO. MANUEL FERNANDEZ MEJIAS   2000 CARR 8177 SUITE 26‐246                                       GUAYNABO     PR      00966
ARENA CONSTRUCTION LLC                     P O BOX 360688                                                                                    SAN JUAN     PR      00907




                                                                                                         Page 541 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 542 of 3500
                                                                                  Creditor Matrix

Creditor Name                    Address1                  Address2                            Address3   Address4   City        State   PostalCode   Country
ARENA CORDERO, JOSE R            ADDRESS ON FILE
ARENA FRANCECHI, JOSE            ADDRESS ON FILE
ARENA RAMOS, GRACIELA            ADDRESS ON FILE
Arena Rivera, Roberto            ADDRESS ON FILE
ARENADO RODRIGUEZ, BELKIS        ADDRESS ON FILE
ARENADO TABLADA, ALEX            ADDRESS ON FILE
ARENADO TABLADA, ALEX            ADDRESS ON FILE
ARENADO TABLADO, YADIRA          ADDRESS ON FILE
ARENAL CRUZ, FERNANDO            ADDRESS ON FILE
ARENALDE ARAUS, MARGARITA        ADDRESS ON FILE
ARENAMAR SUN BAYS CAFE           HC 02 BOX 12325                                                                     VIEQUEZ     PR      00765
ARENAS ACEVEDO, JAVIER           ADDRESS ON FILE
ARENAS ACOSTA, JOSE              ADDRESS ON FILE
ARENAS ALICEA, AGNES             ADDRESS ON FILE
ARENAS ARROYO, CLARIBEL          ADDRESS ON FILE
ARENAS BUS LINE INC.             RR‐01 BOX 3405                                                                      CIDRA       PR      00739
ARENAS BUS LINES, INC.           RR‐01 BOX 3405                                                                      CIDRA       PR      00739‐0000
ARENAS ESTRADA, ANA W.           ADDRESS ON FILE
ARENAS ESTRADA, ANA W.           ADDRESS ON FILE
ARENAS FORS, MARIA               ADDRESS ON FILE
ARENAS FRAGOSO, MARGIE           ADDRESS ON FILE
ARENAS GOMEZ, EDGARDO            ADDRESS ON FILE
ARENAS GOMEZ, IRMA               ADDRESS ON FILE
ARENAS GONZALEZ, ALAN G.         ADDRESS ON FILE
ARENAS HERNANDEZ, JESUS          ADDRESS ON FILE
ARENAS HORTA, GABRIEL            ADDRESS ON FILE
Arenas Horta, Gabriel A          ADDRESS ON FILE
ARENAS LITARDO, CECILIA          ADDRESS ON FILE
Arenas Lucena, Isabel            ADDRESS ON FILE
ARENAS MONSERRATE, RICARDO       ADDRESS ON FILE
ARENAS MONTALVO, CARLOS JUAN     ADDRESS ON FILE
ARENAS NIEVES, ANGEL             ADDRESS ON FILE
ARENAS NIEVES, ANGEL L           ADDRESS ON FILE
ARENAS NIEVES, CINDY             ADDRESS ON FILE
ARENAS PONCE, JULIA M.           ADDRESS ON FILE
ARENAS QUIROS, CHARILY           ADDRESS ON FILE
ARENAS RIJOS, JOSE               ADDRESS ON FILE
ARENAS RIJOS, JOSE               ADDRESS ON FILE
ARENAS RIVERA, ROBERTO           ADDRESS ON FILE
ARENAS RODRIGUEZ, FRANCES S.     ADDRESS ON FILE
ARENAS RODRIGUEZ, FRANCISCO      ADDRESS ON FILE
ARENAS RODRIGUEZ, FRANCISCO      ADDRESS ON FILE
ARENAS RODRIGUEZ, FRANCISCO L.   ADDRESS ON FILE
ARENAS RUIZ, JEAN                ADDRESS ON FILE
ARENAS SOLLA, DANIEL             ADDRESS ON FILE
ARENAS TORO, BRAULIO             ADDRESS ON FILE
Arenas Vega, Jamirelys           ADDRESS ON FILE
ARENERO ESTRELLA                 ADDRESS ON FILE
ARENITA PROPERTIES INC           BAYAMON MEDICAL PLAZA     1845 CARR 2 STE 505                                       BAYAMON     PR      00959
ARENSON MD, RICHARD              ADDRESS ON FILE
Ares Bouet, Stuart               ADDRESS ON FILE
ARES BROOKS, DIANA H             ADDRESS ON FILE
ARES BROOKS, DIANA M             ADDRESS ON FILE
ARES CANDELARIA, GILBERTO        ADDRESS ON FILE
ARES CONDE, ARLEENE              ADDRESS ON FILE
ARES CRUZ, WILFREDO              ADDRESS ON FILE
ARES CUADRADO, LINDSY Y          ADDRESS ON FILE
ARES CUADRADO, LORNA             ADDRESS ON FILE
ARES DIAZ, MARIA C               ADDRESS ON FILE
ARES GONZALEZ, LILIBETH          ADDRESS ON FILE




                                                                                 Page 542 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 543 of 3500
                                                                                                      Creditor Matrix

Creditor Name                           Address1                                     Address2                      Address3   Address4   City            State   PostalCode   Country
ARES MARTINEZ, GUILLERMO                ADDRESS ON FILE
ARES MENDOZA, YARELIS                   ADDRESS ON FILE
ARES MORAN, NOEMI                       ADDRESS ON FILE
ARES OTERO, ZELIDETH                    ADDRESS ON FILE
Ares Perales, Sergio                    ADDRESS ON FILE
Ares Perales, William                   ADDRESS ON FILE
ARES PERES, CARMEN M                    ADDRESS ON FILE
ARES PEREZ, ABELARDO                    ADDRESS ON FILE
ARES RODRIGUEZ, MACIELLE                ADDRESS ON FILE
Ares Rosario, Maria Del C               ADDRESS ON FILE
ARES RUIZ, ALFREDO                      ADDRESS ON FILE
ARES SOTO, MARTHA                       ADDRESS ON FILE
ARES SOTO, SANTOS                       ADDRESS ON FILE
ARES TORRES, JULIO R                    ADDRESS ON FILE
ARES TORRES, MICHAEL                    ADDRESS ON FILE
ARES VEGA, LYSSIE                       ADDRESS ON FILE
Ares Velazquez, Zoraida                 ADDRESS ON FILE
Ares Villalongo, Ismael                 ADDRESS ON FILE
ARES VILLALONGO, JONATHAN               ADDRESS ON FILE
ARESTIGUETA CARABALLO, MANUEL           ADDRESS ON FILE
AREVALO ARCEO, AMAURY A                 ADDRESS ON FILE
Arevalo Diaz, Jesus E                   ADDRESS ON FILE
Arevalo Echevarria, Jose F              ADDRESS ON FILE
Arevalo Echevarria, Juan                ADDRESS ON FILE
AREVALO ECHEVARRIA, JUAN                ADDRESS ON FILE
Arevalo Echevarria, Pedro F             ADDRESS ON FILE
AREVALO FALCON, ANNE                    ADDRESS ON FILE
AREVALO LOZANO, VIVIAN                  ADDRESS ON FILE
AREVALO LOZANO, VIVIAN                  ADDRESS ON FILE
AREVALO MARTINEZ, PEDRO N.              ADDRESS ON FILE
AREVALO MERCADO, JOHN                   ADDRESS ON FILE
Arevalo Morales, Jose F                 ADDRESS ON FILE
AREVALO PUENTES, FABIO                  ADDRESS ON FILE
AREVALO ROIG MD, ALBERTO E              ADDRESS ON FILE
AREVALO ROIG, JAVIER                    ADDRESS ON FILE
AREVALO TARDI, MODESTO                  ADDRESS ON FILE
AREVALO TORRES, DOMINGA                 ADDRESS ON FILE
Arevalo Velez, Pedro F                  ADDRESS ON FILE
AREYTO EDUCATION SERVICES               MONTE VERDE                                  D5 CALLE 1                                          TOA ALTA        PR      00953
AREYTO EDUCATION SERVICES               PMB 135 PO BOX 607071                                                                            BAYAMON         PR      00960‐7071
AREYTO LANGUAGE SERV DBA FONT TRANSLATIO400 CALLE CALAF SUITE 268                                                                        SAN JUAN        PR      00918‐1314
AREYTO LANGUAGE SERVICES, INC           400 CALLE JUAN CALAF STE 1 PMB 268                                                               SAN JUAN        PR      00918‐1314
ARF COMMUNICATION DBA PDCO. EL EXPRESO PO BOX 465                                                                                        DORADO          PR      00646‐2133
ARG II REAL ESTATE MANAGEMENT CORP      PO BOX 192564                                                                                    SAN JUAN        PR      00919
ARG PRECISION CORP.                     PMB 911 PO BOX 2500                                                                              TOA BAJA        PR      00951
ARGELIA RIVERA MARTINEZ                 ADDRESS ON FILE
ARGELIA VELEZ QUINONES                  ADDRESS ON FILE
ARGENIS ACEVEDO ACEVEDO                 HC 3 BOX 8517                                BO ACEITUNAS                                        MOCA            PR      00676
ARGENIS BRUZON VELAZQUEZ                ADDRESS ON FILE
ARGENIS CATALA SANCHEZ                  ADDRESS ON FILE
ARGENIS M ROLDAN LUCCA                  ADDRESS ON FILE
ARGENIS YAMIL DELGADO GONZALEZ          ADDRESS ON FILE
ARGENTINA ALCANTARA PERALTA             ADDRESS ON FILE
ARGENTINA GRILL INC                     141 CALLE ONEILL                                                                                 SAN JUAN        PR      00918‐2404
ARGIRES MD , PERRY J                    ADDRESS ON FILE
ARGO RE LTD                             ARGO HOUSE 110                               PITTS BAY RD                                        PEMBROKE                HM08         BERMUDA
ARGON ELECTRIC                          CALLE BREMA #55                                                                                  RIO PIEDRAS     PR      00927
ARGON MORTUARY SERVICES                 URB.HACIENDAS DE GUAMNI CALLE 10 # 149                                                           GUAYAMA         PR      00784
Argonaut Insurance Company              110 Pitts Bay Road                                                                               Pembroke        HM      08‐          Bermuda
Argonaut Insurance Company              Attn: Arnold Cottrell, Premiun Tax Contact   PO Box 469011                                       San Antonio     TX      78246‐9011




                                                                                                     Page 543 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 544 of 3500
                                                                                                                     Creditor Matrix

Creditor Name                       Address1                                           Address2                                   Address3   Address4   City            State   PostalCode   Country
Argonaut Insurance Company          Attn: Austin King, Circulation of Risk             PO Box 469011                                                    San Antonio     TX      78246‐9011
Argonaut Insurance Company          Attn: Autin King , Regulatory Compliance GovernmPO Box 469011                                                       San Antonio     TX      78246‐9011
Argonaut Insurance Company          Attn: Barbara Sutherland, Vice President           PO Box 469011                                                    San Antonio     TX      78246‐9011
Argonaut Insurance Company          Attn: Kelly Smith, Consumer Complaint Contact PO Box 469011                                                         San Antonio     TX      78246‐9011
Argonaut Insurance Company          c/o Adolfo Krans Associates, Inc, Agent for ServicePO Box 469011                                                    San Antonio     TX      78246‐9011
ARGOS PRODUCTIVITY SOLUTIONS INC    MSC 214 URB LA CUMBRE 271 SIERRA MORENA                                                                             SAN JUAN        PR      00926
ARGUEDAS ACEVEDO, VERONICA M        ADDRESS ON FILE
ARGUEDAS ACEVEDO, VICTORIA          ADDRESS ON FILE
ARGUELLES CORA, JUAN                ADDRESS ON FILE
ARGUELLES CORA, VIRMAR              ADDRESS ON FILE
ARGUELLES FELICIANO, MARCOS         ADDRESS ON FILE
ARGUELLES GARCIA, JUAN              ADDRESS ON FILE
ARGUELLES MASS, JOSE M.             ADDRESS ON FILE
ARGUELLES MONTERO, RAMON A          ADDRESS ON FILE
ARGUELLES MORALES, CARMEN M         ADDRESS ON FILE
ARGUELLES NEGRON, AUREA L           ADDRESS ON FILE
ARGUELLES NEGRON, CARMEN I          ADDRESS ON FILE
ARGUELLES NEGRON, MARIANO           ADDRESS ON FILE
ARGUELLES OLIVERO, JOSE A           ADDRESS ON FILE
ARGUELLES PEREZ, DAVID              ADDRESS ON FILE
ARGUELLES RAMOS, MARIANO            ADDRESS ON FILE
ARGUELLES RIVERA, DAISIE L          ADDRESS ON FILE
ARGUELLES ROSALY, JERRY             ADDRESS ON FILE
ARGUELLES ROSALY, WILLIAM           ADDRESS ON FILE
ARGUELLES SANCHEZ, ELVIS            ADDRESS ON FILE
ARGUELLES SANCHEZ, GERARDO          ADDRESS ON FILE
ARGUELLES, MARGARITA                ADDRESS ON FILE
ARGUELLO RIVERA MENDEZ              ADDRESS ON FILE
ARGUEZO CABRERO, ANATEUKA           ADDRESS ON FILE
ARGUINSONI SANTIAGO, CARMEN         ADDRESS ON FILE
ARGUINZONI ALEJANDRO, ANDRES R      ADDRESS ON FILE
ARGUINZONI ALEJANDRO, NANCY         ADDRESS ON FILE
ARGUINZONI ALEJANDRO, NANCY J       ADDRESS ON FILE
ARGUINZONI ALEJANDRO, NANCY J       ADDRESS ON FILE
ARGUINZONI DAVILA, MELANIE          ADDRESS ON FILE
ARGUINZONI GIL, NYDIA               ADDRESS ON FILE
ARGUINZONI GORRITZ, ANTONIO         ADDRESS ON FILE
ARGUINZONI GORRITZ, IGNACIO         ADDRESS ON FILE
ARGUINZONI MENDOZA, JESUS M         ADDRESS ON FILE
ARGUINZONI ORTIZ, ALICIA            ADDRESS ON FILE
ARGUINZONI ORTIZ, LILLIAM           ADDRESS ON FILE
ARGUINZONI PEREZ, CARLOS            ADDRESS ON FILE
ARGUINZONI PEREZ, DIANA             ADDRESS ON FILE
ARGUINZONI PEREZ, GRACIELA          ADDRESS ON FILE
ARGUINZONI RAMOS, JOSE              ADDRESS ON FILE
ARGUINZONI RIVERA, INEABELLE        ADDRESS ON FILE
ARGUINZONI RODRIGUEZ, SANTIAGO      ADDRESS ON FILE
ARGUINZONI RODRIGUEZ, ZOBEIDA V     ADDRESS ON FILE
ARGUINZONI VEGA, VIDAL              ADDRESS ON FILE
ARGUINZONI, DAISY                   ADDRESS ON FILE
ARGUINZONI, JAIME                   ADDRESS ON FILE
ARGUINZONI, JOSE R.                 ADDRESS ON FILE
ARGUS INTERNATIONAL, INC            4240 AIRPORT READ                                                                                                   CINCINATI       OH      45226
ARH CONSTRUCTION INC                PO BOX 371739                                                                                                       CAYEY           PR      00737‐1739
ARI ESTHER FELICIANO JORDAN         ADDRESS ON FILE
ARI GENERAL CONTRACTORS INC         COND CRISTAL HOUSE                                 368 CALLE DE DIEGO APT 316                                       SAN JUAN        PR      00923‐2920
ARIA HEALTH                         PO BOX 19072                                                                                                        GREEN BAY       WI      54307‐9072
ARIA RESORT & CASINO HOLDINGS LLC   3730 LAS VEGAS BKVD S                                                                                               LAS VEGAS       NV      89158
ARIADNA I TORRES ORTIZ              ADDRESS ON FILE
ARIADNE DOMINGUEZ RODRIGUEZ         ADDRESS ON FILE




                                                                                                                    Page 544 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 545 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARIADNE RODRIGUEZ VELAZQUEZ     ADDRESS ON FILE
ARIAGA ONEILL, RAISA            ADDRESS ON FILE
ARIAGA VARGAS, JOSE             ADDRESS ON FILE
ARIALYS CRUZADO RIOS            ADDRESS ON FILE
ARIAM M VALLE ACEVEDO           ADDRESS ON FILE
ARIAM MARGARITA VALLE ACEVEDO   ADDRESS ON FILE
ARIAM RUIZ CANDELARIA           ADDRESS ON FILE
ARIANA ALVAREZ JIMENEZ          ADDRESS ON FILE
ARIANA C ALVARADO LOPEZ         ADDRESS ON FILE
ARIANA DE JESUS MARTINEZ        ADDRESS ON FILE
ARIANA E MORALES PAGAN          ADDRESS ON FILE
ARIANA GARCIA PINERO            ADDRESS ON FILE
ARIANA GARCÍA PIÑERO            ARIANA GARCÍA PIÑERO      9 CALLE COSTA                                          JUNCOS       PR      00777
ARIANA GONZALEZ MELENDEZ        ADDRESS ON FILE
ARIANA GONZALEZ RODRIGUEZ       ADDRESS ON FILE
ARIANA M CORTES GARCIA          ADDRESS ON FILE
ARIANA M NIEVES FIGUEROA        ADDRESS ON FILE
ARIANA M RAMOS FIGUEROA         ADDRESS ON FILE
ARIANA PEREZ ORTIZ              ADDRESS ON FILE
ARIANA RIVERA FIGUEROA          ADDRESS ON FILE
ARIANA RUIZ ROSA                ADDRESS ON FILE
ARIANA VARGAS ARRIAGA           ADDRESS ON FILE
ARIANA Z MALDONADO VELAZQUEZ    ADDRESS ON FILE
ARIANE MARRERO MARTINEZ         ADDRESS ON FILE
ARIANIE RODRIGUEZ NIEVES        ADDRESS ON FILE
ARIANNA CAMPUSANO PEGUERO       ADDRESS ON FILE
ARIANNE GARCIA HERNANDEZ        ADDRESS ON FILE
ARIANNETTE RODRIGUEZ SOTO       ADDRESS ON FILE
ARIANY MENDEZ VELAZQUEZ         ADDRESS ON FILE
ARIAS ACEVEDO, ANA              ADDRESS ON FILE
ARIAS ACEVEDO, ANA              ADDRESS ON FILE
ARIAS ACEVEDO, ANA              ADDRESS ON FILE
ARIAS AGUEDA, EDGAR             ADDRESS ON FILE
ARIAS AGUEDA, EDGAR A           ADDRESS ON FILE
ARIAS ALVARADO, WILFREDO        ADDRESS ON FILE
ARIAS AVILES, MELVIN            ADDRESS ON FILE
ARIAS BARRIO, YURI              ADDRESS ON FILE
ARIAS BERNABE MD, CLAUDINO      ADDRESS ON FILE
ARIAS BONETA MD, CARLOS J       ADDRESS ON FILE
ARIAS BONETA, CARLOS J.         ADDRESS ON FILE
ARIAS BOU, MARTA                ADDRESS ON FILE
ARIAS BRICENO, MARIA            ADDRESS ON FILE
ARIAS BRICENO, MARIA T          ADDRESS ON FILE
ARIAS CABALLERO, VANESSA        ADDRESS ON FILE
ARIAS CAMACHO, MARIA T          ADDRESS ON FILE
ARIAS CARRERAS, CAMELIA M       ADDRESS ON FILE
ARIAS CARTAGENA, JENNIFFER      ADDRESS ON FILE
ARIAS CARTAGENA, YOLANDA        ADDRESS ON FILE
ARIAS CORDERO, DAISY            ADDRESS ON FILE
Arias Cornielle, Victor M       ADDRESS ON FILE
ARIAS COSTE, RUTH               ADDRESS ON FILE
ARIAS CRUZ, FLORELEIDA          ADDRESS ON FILE
ARIAS CRUZ, JOANNA              ADDRESS ON FILE
ARIAS CRUZ, JOHANA              ADDRESS ON FILE
ARIAS CRUZ, SHADIRA             ADDRESS ON FILE
ARIAS DANZO, MARIA S            ADDRESS ON FILE
ARIAS DIAZ, JOSEFINA            ADDRESS ON FILE
ARIAS DURAN, DANNY              ADDRESS ON FILE
ARIAS ENCARNACION, JULIE E.     ADDRESS ON FILE
ARIAS ENCARNACION, JULIE E.     ADDRESS ON FILE




                                                                            Page 545 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 546 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City             State   PostalCode   Country
ARIAS ENCARNACION, LUIS      ADDRESS ON FILE
ARIAS ENCARNACION, RAUL      ADDRESS ON FILE
ARIAS ESPICHAN, DEMETRIO     ADDRESS ON FILE
ARIAS GONZALEZ, GILBERTO     ADDRESS ON FILE
ARIAS GONZALEZ, GUILLERMO    ADDRESS ON FILE
ARIAS GONZALEZ, LAURA        ADDRESS ON FILE
ARIAS GONZALEZ, LEONARDO     ADDRESS ON FILE
ARIAS GONZALEZ, MARIA        ADDRESS ON FILE
ARIAS GUEVARA, CARLOS        ADDRESS ON FILE
ARIAS GUILAMO, DANIA M       ADDRESS ON FILE
ARIAS HERNANDEZ, AIDA I      ADDRESS ON FILE
ARIAS HERNANDEZ, FERNANDO    ADDRESS ON FILE
ARIAS IRIZARRY, JOSE         ADDRESS ON FILE
ARIAS JIMENEZ MD, JOSE I     ADDRESS ON FILE
ARIAS LARACUENTE, FELIPE A   ADDRESS ON FILE
ARIAS LARACUENTE, LILLIAM    ADDRESS ON FILE
ARIAS LOPEZ, BLANCA          ADDRESS ON FILE
ARIAS LOPEZ, JOSE            ADDRESS ON FILE
ARIAS LOPEZ, RAMON           ADDRESS ON FILE
ARIAS LUZ CRUZ GARCIA        ADDRESS ON FILE
ARIAS MAISONET, EVELYN       ADDRESS ON FILE
ARIAS MALDONADO, LUIS        ADDRESS ON FILE
ARIAS MALDONADO, LUIS A.     ADDRESS ON FILE
ARIAS MARTINEZ, IVONNE       ADDRESS ON FILE
ARIAS MARTINEZ, MAGDA U      ADDRESS ON FILE
ARIAS MD , ROBERTO C         ADDRESS ON FILE
ARIAS MELENDEZ, JOSE DEL C   ADDRESS ON FILE
ARIAS MELENDEZ, JULIO        ADDRESS ON FILE
ARIAS MELENDEZ, JULIO        ADDRESS ON FILE
ARIAS MELENDEZ, JULIO L      ADDRESS ON FILE
ARIAS MENDEZ, ANA D          ADDRESS ON FILE
ARIAS MERCADO, EDGAR         ADDRESS ON FILE
ARIAS MERCADO, MIRLA         ADDRESS ON FILE
ARIAS MORALES MD, JOSE       ADDRESS ON FILE
ARIAS MORALES, ADA N.        ADDRESS ON FILE
ARIAS MORALES, MARIANA       ADDRESS ON FILE
ARIAS MORALES, MARIANA       ADDRESS ON FILE
ARIAS MORALES, RAFAEL        ADDRESS ON FILE
ARIAS MORALES, RAQUEL M.     ADDRESS ON FILE
ARIAS MORO, CARLA            ADDRESS ON FILE
ARIAS NAZOR, MARTIN          ADDRESS ON FILE
ARIAS NIEVES, OMARA          ADDRESS ON FILE
ARIAS OCASIO, JULIO C.       ADDRESS ON FILE
ARIAS OCASIO, LOURDES        ADDRESS ON FILE
ARIAS OLIVIERI, IVONNE       ADDRESS ON FILE
ARIAS OLIVIERIS, CONNIE G    ADDRESS ON FILE
ARIAS ORTIZ, ETMILL          ADDRESS ON FILE
ARIAS ORTIZ, JORGE           ADDRESS ON FILE
ARIAS ORTIZ, JORGE           ADDRESS ON FILE
ARIAS OSORIA, WILSON         ADDRESS ON FILE
ARIAS OYOLA, IVONNE N        ADDRESS ON FILE
ARIAS PAGAN INC.             HC‐02 BOX 8001                                                                   SANTA ISABEL     PR      00757‐0000
ARIAS PEDRAZA, ALVARO        ADDRESS ON FILE
ARIAS PEREZ, ISMETH          ADDRESS ON FILE
ARIAS PEREZ, JEANNETTE M.    ADDRESS ON FILE
Arias Perez, Sheimeliz       ADDRESS ON FILE
ARIAS POLANCO, ELVIS         ADDRESS ON FILE
ARIAS POLANCO, JEFFREY       ADDRESS ON FILE
ARIAS QUINONES, FELIPE       ADDRESS ON FILE
ARIAS QUINONES, JOHANNA      ADDRESS ON FILE




                                                                         Page 546 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 547 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARIAS RAMIREZ, LEANIS I.               ADDRESS ON FILE
ARIAS RIOS, ELSA D.                    ADDRESS ON FILE
ARIAS RIVERA, NATIVIDAD DEL            ADDRESS ON FILE
ARIAS RODRIGUEZ, JASON A               ADDRESS ON FILE
ARIAS ROJAS, WILSON                    ADDRESS ON FILE
ARIAS ROSADO, CARLOS                   ADDRESS ON FILE
ARIAS SANTIAGO, RAFAEL                 ADDRESS ON FILE
ARIAS SANTOS, ALMA V                   ADDRESS ON FILE
ARIAS SERRANO, GLORIA                  ADDRESS ON FILE
ARIAS SOTO, JOSE                       ADDRESS ON FILE
ARIAS SOTO, RAMONA Y                   ADDRESS ON FILE
ARIAS TINEO, MICHAEL                   ADDRESS ON FILE
ARIAS TINEO, MICHAEL                   ADDRESS ON FILE
ARIAS VEGA, CARMEN S                   ADDRESS ON FILE
ARIAS VEGA, ENID                       ADDRESS ON FILE
ARIAS VEGA, JAVIER                     ADDRESS ON FILE
ARIAS VEGA, SANTIAGO                   ADDRESS ON FILE
ARIAS VELAZQUEZ, KAREN                 ADDRESS ON FILE
ARIAS VELEZ, CARLOS                    ADDRESS ON FILE
ARIAS VERA, LUIS F.                    ADDRESS ON FILE
ARIAS VILARINO, IVETTE                 ADDRESS ON FILE
ARIAS, DANIEL                          ADDRESS ON FILE
ARIAS, LUZ                             ADDRESS ON FILE
ARIAS, SOBEIDA LEONOR                  ADDRESS ON FILE
ARIAS, VICTOR A.                       ADDRESS ON FILE
ARICELIS MATOS ROSADO                  ADDRESS ON FILE
ARIDAI BARBOSA PLUGUEZ                 ADDRESS ON FILE
ARIEDMIE JANELIS ACOSTA CARRASQUILLO   ADDRESS ON FILE
ARIEL A MEJIAS HERNANDEZ               ADDRESS ON FILE
ARIEL A RIVERA NIEVES                  ADDRESS ON FILE
ARIEL ACEVEDO CEDENO                   ADDRESS ON FILE
ARIEL ACEVEDO CEDENO                   ADDRESS ON FILE
ARIEL ACOSTA JUSINO                    ADDRESS ON FILE
ARIEL ACOSTA NAZARIO                   ADDRESS ON FILE
ARIEL ARMAIZ SERRANO                   ADDRESS ON FILE
ARIEL B CORDERO MARINEZ                ADDRESS ON FILE
ARIEL BABILONIA                        ADDRESS ON FILE
ARIEL BERRIOS NAZARIO                  ADDRESS ON FILE
ARIEL C REYES SILVERIO                 ADDRESS ON FILE
ARIEL CALCANO MALDONADO                ADDRESS ON FILE
ARIEL CANDELARIO VELAZQUEZ             ADDRESS ON FILE
ARIEL CARABALLO FELICIANO              ADDRESS ON FILE
ARIEL CARABALLO RODRIGUEZ              ADDRESS ON FILE
ARIEL CASTILLOVEITIA VELEZ             ADDRESS ON FILE
ARIEL CHARDON LEBRON                   ADDRESS ON FILE
ARIEL CINTRON ANTOMMARCHI              ADDRESS ON FILE
ARIEL CORPORATION                      ADDRESS ON FILE
ARIEL CORTES BADILLO                   ADDRESS ON FILE
ARIEL D NURSE CORSO                    ADDRESS ON FILE
ARIEL D PAGAN BONILLA                  ADDRESS ON FILE
ARIEL D. SEGARRA RODRIGUEZ             ADDRESS ON FILE
ARIEL DAVILA BERRIOS                   ADDRESS ON FILE
ARIEL DEL VALLE MATOS                  ADDRESS ON FILE
ARIEL F GONZALEZ HERNANDEZ             ADDRESS ON FILE
ARIEL F SANCHEZ LLUBERAS               ADDRESS ON FILE
ARIEL FALCON COLOMBE                   ADDRESS ON FILE
ARIEL FIGUEROA CRUZ                    ADDRESS ON FILE
ARIEL G ACEVEDO GRAFALS                ADDRESS ON FILE
ARIEL G MALDONADO MORALES              ADDRESS ON FILE
ARIEL GARCIA GARCIA                    ADDRESS ON FILE




                                                                                   Page 547 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 548 of 3500
                                                                                        Creditor Matrix

Creditor Name                              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARIEL GONZALEZ GUZMAN                      ADDRESS ON FILE
ARIEL HERNANDEZ RIVERA                     ADDRESS ON FILE
ARIEL HERNANDEZ SOTO                       ADDRESS ON FILE
ARIEL I SPIRA COHEN                        ADDRESS ON FILE
ARIEL IRIZARRY CORTES                      ADDRESS ON FILE
ARIEL IRIZARRY VELAZQUEZ                   ADDRESS ON FILE
ARIEL J AGOSTO CEPEDA                      ADDRESS ON FILE
ARIEL J RODRIGUEZ NIEVES                   ADDRESS ON FILE
ARIEL J RODRIGUEZ NIEVES                   ADDRESS ON FILE
ARIEL J RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
ARIEL J SILVA SERRANO                      ADDRESS ON FILE
ARIEL J VARGAS PEREZ                       ADDRESS ON FILE
ARIEL LAMBOY MARTINEZ                      ADDRESS ON FILE
ARIEL LOPEZ COLON                          ADDRESS ON FILE
ARIEL M CORTES FELICIANO                   ADDRESS ON FILE
ARIEL M DIAZ DUMENG                        ADDRESS ON FILE
ARIEL MARRERO OTERO                        ADDRESS ON FILE
ARIEL MARTINEZ MONTA¥EZ                    ADDRESS ON FILE
ARIEL MASSA DIEPPA                         ADDRESS ON FILE
ARIEL MORALES BAEZ                         ADDRESS ON FILE
ARIEL MUNOZ APONTE                         ADDRESS ON FILE
ARIEL N BAEZ GONZALEZ                      ADDRESS ON FILE
ARIEL N BAEZ GONZALEZ                      ADDRESS ON FILE
ARIEL NAVARRO MACHIN                       ADDRESS ON FILE
ARIEL NUNEZ / IRIS N CRUZ                  ADDRESS ON FILE
ARIEL O CARO PEREZ                         ADDRESS ON FILE
ARIEL O ORTIZ RIVERA                       ADDRESS ON FILE
ARIEL O QUINONES ROMERO                    ADDRESS ON FILE
ARIEL O QUINONES ROMERO                    ADDRESS ON FILE
ARIEL O VEGA OTERO                         ADDRESS ON FILE
ARIEL ORTIZ                                ADDRESS ON FILE
ARIEL ORTIZ VELAZQUEZ                      ADDRESS ON FILE
ARIEL PAGAN SUAREZ                         ADDRESS ON FILE
ARIEL PEREZ PEREZ                          ADDRESS ON FILE
ARIEL QUINTANA ALONSO                      ADDRESS ON FILE
ARIEL R CRUZ IGARTUA                       ADDRESS ON FILE
ARIEL R SERRANO CRUZ                       ADDRESS ON FILE
ARIEL RAMIREZ RAMIREZ                      ADDRESS ON FILE
ARIEL RIVERA AND ASSOCIADOS INC            URB CUPEY GDNS            F11 CALLE 9                                            SAN JUAN     PR      00926‐7313
ARIEL RIVERA GARCIA                        ADDRESS ON FILE
ARIEL ROBLES RODRIGUEZ                     ADDRESS ON FILE
ARIEL RODRIGUEZ                            ADDRESS ON FILE
ARIEL RODRIGUEZ CENTENO                    ADDRESS ON FILE
ARIEL RODRIGUEZ JIMENEZ                    ADDRESS ON FILE
ARIEL RODRIGUEZ MERCADO                    ADDRESS ON FILE
ARIEL ROLON RODRIGUEZ                      ADDRESS ON FILE
ARIEL ROLON RUIZ/TERESA RODRIGUEZ          ADDRESS ON FILE
ARIEL ROMAN DAVILA                         ADDRESS ON FILE
ARIEL ROMERO ALVAREZ                       ADDRESS ON FILE
ARIEL ROSADO ROSA                          ADDRESS ON FILE
ARIEL SANTIAGO BORRAS                      ADDRESS ON FILE
ARIEL SANTIAGO BORRERO                     ADDRESS ON FILE
ARIEL SANTIAGO LABOY                       ADDRESS ON FILE
ARIEL SANTIAGO LUGO                        ADDRESS ON FILE
ARIEL SANTIAGO RIVERA                      ADDRESS ON FILE
ARIEL SEPULVEDA CUEVAS                     ADDRESS ON FILE
ARIEL TORRES GUADALUPE                     ADDRESS ON FILE
ARIEL VARGAS MENDOZA                       ADDRESS ON FILE
ARIEL VAZQUEZ LOPEZ / LA PISTA CAFE REST   ADDRESS ON FILE
ARIEL VELEZ GONZALEZ                       ADDRESS ON FILE




                                                                                       Page 548 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 549 of 3500
                                                                                                 Creditor Matrix

Creditor Name                              Address1                           Address2                        Address3   Address4   City         State   PostalCode   Country
ARIELI MORALES RODRIGUEZ                   ADDRESS ON FILE
ARIELYS VAZQUEZ DE JESUS                   ADDRESS ON FILE
ARIEMIL MORALES MONTERO                    ADDRESS ON FILE
ARIETA & SON ASSURANCE CORPORATION         304 AVE. PONCE DE LEON SUITE 901                                                         SAN JUAN     PR      00918‐2032
ARIETA & SON ASSURANCE CORPORATION         304 PONCE DE LEON AVE.             SUITE 901                       HATO REY              SAN JUAN     PR      00918
Arieta Rivera, Carlos R                    ADDRESS ON FILE
ARILIS VELEZ BONILLA                       ADDRESS ON FILE
ARILL CAPO, ANA MARIA                      ADDRESS ON FILE
ARILL CAPO, LAURA                          ADDRESS ON FILE
ARILL CAPO, LAURA                          ADDRESS ON FILE
ARILL GARCIA, EMILIO E                     ADDRESS ON FILE
ARILL GARCIA, VIDIA                        ADDRESS ON FILE
ARILL HERNANDEZ, SAMUEL                    ADDRESS ON FILE
ARILL TORRES, CARLOS M                     ADDRESS ON FILE
ARILL TORRES, IDA                          ADDRESS ON FILE
ARILL VAZQUEZ, LUIS                        ADDRESS ON FILE
ARILL VIZCARRONDO, LYDIA                   ADDRESS ON FILE
ARILL VIZCARRONDO, OMAR                    ADDRESS ON FILE
ARIMAR INC                                 474 SAN CLAUDIO AVE                                                                      SAN JUAN     PR      00926
ARIMAR, INC.                               AVE. SAN CLAUDIO # 382             PMB 36                                                SAN JUAN     PR      00926
ARIMONT CANDELARIA, JEANNETTE              ADDRESS ON FILE
ARIMONT CANDELARIA, JESUS R.               ADDRESS ON FILE
ARIMONT CRUZ, ALBERTO                      ADDRESS ON FILE
ARIMONT CRUZ, SEIMARIS                     ADDRESS ON FILE
ARIMONT FIGUEROA, NEREIDA E                ADDRESS ON FILE
ARIMONT FIGUEROA, YAHAIRA                  ADDRESS ON FILE
ARIMONT ROSA, WANDA ESTHER                 ADDRESS ON FILE
Arimont Vazquez, Hilda M                   ADDRESS ON FILE
ARINED ROSADO ORTIZ                        ADDRESS ON FILE
ARINNETTE ART GALLERY                      URB EXT ALT DE FLAMBOYAN           QQ 7 CALLE 30 A                                       BAYAMON      PR      00959
ARINNETTE ART GALLERY                      URB EXT ALT DE FLAMBOYAN                                                                 BAYAMON      PR      00959
ARIS CASIANO DIAZ                          ADDRESS ON FILE
ARIS D VAZQUEZ CRUZ                        ADDRESS ON FILE
ARIS DE VAZQUEZ CRUZ                       ADDRESS ON FILE
ARIS SERRANO SANTIAGO                      ADDRESS ON FILE
ARISAI NUNEZ GONZALEZ                      ADDRESS ON FILE
ARISBELIA HERNANDEZ TORRES                 ADDRESS ON FILE
ARISBELKY BORRELL ALCANTARA                ADDRESS ON FILE
ARISLEYDA SALGADO GOMEZ                    ADDRESS ON FILE
ARISMENDI BONNIN, KEILA                    ADDRESS ON FILE
ARISMENDY CUETO ALVAREZ                    ADDRESS ON FILE
ARISMENDY CUETO ALVAREZ                    ADDRESS ON FILE
ARISON FUENTES MORALES                     ADDRESS ON FILE
ARIST MED SCIENCES UNIV PUB BENEFIT CORP   P O BOX 7004                                                                             PONCE        PR      00732‐7004
ARISTEO RIVERA ZAYAS                       ADDRESS ON FILE
ARISTI CEDENO, YLDA                        ADDRESS ON FILE
ARISTIDES ARIZMENDI ROMERO                 ADDRESS ON FILE
ARISTIDES ARIZMENDI SERRANO                ADDRESS ON FILE
ARISTIDES BURGOS VEGA                      ADDRESS ON FILE
ARISTIDES COLLAZO LOUCIL                   ADDRESS ON FILE
ARISTIDES COLON PENA                       ADDRESS ON FILE
ARISTIDES DELGADO MELO                     ADDRESS ON FILE
ARISTIDES IRIZARRY PLAZA                   ADDRESS ON FILE
ARISTIDES JULIA CARABALLO                  ADDRESS ON FILE
ARISTIDES LARRIUZ MARRERO                  ADDRESS ON FILE
ARISTIDES LARRIUZ MARTINEZ                 ADDRESS ON FILE
Aristides López Acosta                     ADDRESS ON FILE
ARISTIDES MOLINA MOLINA                    ADDRESS ON FILE
ARISTIDES MONTANEZ RUIZ                    ADDRESS ON FILE
ARISTIDES REYES AYALA                      ADDRESS ON FILE




                                                                                                Page 549 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 550 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City              State   PostalCode   Country
ARISTIDES RUIZ AYALA               ADDRESS ON FILE
ARISTIDES TOLEDO MOLINA            ADDRESS ON FILE
ARISTIDES VAZQUEZ DIAZ             ADDRESS ON FILE
ARISTOTLES PSYCHOLOGICAL SERVICE   31‐09 37TH STREET                                                                ARTORIA           NY      11103
ARISTUD AGOSTO, SANDRA L.          ADDRESS ON FILE
ARISTUD AGOSTO, SANDRA L.          ADDRESS ON FILE
ARISTUD CALO, BENICIO              ADDRESS ON FILE
ARISTUD COLON, GRISELLE            ADDRESS ON FILE
ARISTUD COLON, HUGO                ADDRESS ON FILE
ARISTUD CRUZ, JULIA                ADDRESS ON FILE
ARISTUD CUADRADO, CONFESOR         ADDRESS ON FILE
ARISTUD GONZALEZ, NELSON A         ADDRESS ON FILE
ARISTUD MORALES, LUIS              ADDRESS ON FILE
ARISTUD MORALES, SHIRLEY           ADDRESS ON FILE
ARISTUD MORALES, SHIRLEY A.        ADDRESS ON FILE
ARISTUD MORALES, SITNA             ADDRESS ON FILE
ARISTUD MORALES, YAIRELIS          ADDRESS ON FILE
ARISTUD RAMOS, JOSE                ADDRESS ON FILE
ARISTUD RIVERA, IRIS N             ADDRESS ON FILE
ARISTUD RIVERA, JESUS              ADDRESS ON FILE
ARISTUD RIVERA, JESUS              ADDRESS ON FILE
Aristud Rivera, Jesus M            ADDRESS ON FILE
ARISTUD RIVERA, JUAN               ADDRESS ON FILE
Aristud Rivera, Juan L             ADDRESS ON FILE
ARISTUD RIVERA, MARISOL            ADDRESS ON FILE
ARISTUD RIVERA, YAMELLIE           ADDRESS ON FILE
ARISTUD ROHENA, IVELISSE           ADDRESS ON FILE
ARISTUD SANCHEZ, BETTY             ADDRESS ON FILE
ARISTY RAMOS, MARIDALIA            ADDRESS ON FILE
ARISTY SELLA, MANUEL               ADDRESS ON FILE
ARISTY SELLA, OMAR                 ADDRESS ON FILE
ARISTY VIDOT, ANTHONY              ADDRESS ON FILE
ARITEL INC                         PO BOX 1658                                                                      SAN SEBASTIAN     PR      00685
ARITZZA GONZALEZ FERNANDEZ         ADDRESS ON FILE
ARIZA ARIAS MD, CARLOS             ADDRESS ON FILE
ARIZA BAUTISTA, BETTY              ADDRESS ON FILE
ARIZA BAUTISTA, BETTY LUZ          ADDRESS ON FILE
ARIZA DE LA ROSA, JOSEFINA         ADDRESS ON FILE
ARIZA MORALES, KEVIN               ADDRESS ON FILE
ARIZA REYES, JAVIER                ADDRESS ON FILE
ARIZAI GONZALEZ MARTINEZ           ADDRESS ON FILE
ARIZMENDE SANCHEZ, LUIS A          ADDRESS ON FILE
ARIZMENDI AROCHO, ZULEIKA          ADDRESS ON FILE
ARIZMENDI ARROYO, ANGELITA         ADDRESS ON FILE
ARIZMENDI ATTORNEYS AT LAW P S C   PMB 350 1353              CALLE 19                                               GUAYNABO          PR      00966
Arizmendi Ayala, Arturo            ADDRESS ON FILE
ARIZMENDI AYALA, MAGDALENA         ADDRESS ON FILE
ARIZMENDI CANTERO, ANGELO          ADDRESS ON FILE
Arizmendi Cardona, Frank           ADDRESS ON FILE
ARIZMENDI COLON, GLORIMAR          ADDRESS ON FILE
ARIZMENDI COLON, MARGARITA         ADDRESS ON FILE
ARIZMENDI CORALES, ALIDA           ADDRESS ON FILE
ARIZMENDI CORALES, ALIDA R         ADDRESS ON FILE
ARIZMENDI DIAZ, OVIDIO             ADDRESS ON FILE
ARIZMENDI FRANCESCHI, CARLOS       ADDRESS ON FILE
ARIZMENDI FRANCO MD, ANGEL L       ADDRESS ON FILE
ARIZMENDI FRANCO, HECTOR           ADDRESS ON FILE
ARIZMENDI FRANCO, RAMON            ADDRESS ON FILE
ARIZMENDI LACLAUSTRA, KARY         ADDRESS ON FILE
ARIZMENDI MEDINA, MARCOS J         ADDRESS ON FILE




                                                                               Page 550 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 551 of 3500
                                                                                      Creditor Matrix

Creditor Name                   Address1                          Address2                         Address3   Address4   City         State   PostalCode   Country
ARIZMENDI MERCADO, MIRIAM       ADDRESS ON FILE
ARIZMENDI MORALES, JENNIFFER    ADDRESS ON FILE
Arizmendi Ortiz, Luis A         ADDRESS ON FILE
ARIZMENDI ORTIZ, WILFREDO       ADDRESS ON FILE
ARIZMENDI PACHECO, JOSE L       ADDRESS ON FILE
ARIZMENDI PEREZ, MANUEL         ADDRESS ON FILE
ARIZMENDI PIZARRO, AMAUNIS      ADDRESS ON FILE
ARIZMENDI PRIMERO, RAMON        ADDRESS ON FILE
ARIZMENDI RIVERA, EDUARDO       ADDRESS ON FILE
ARIZMENDI RIVERA, ENID          ADDRESS ON FILE
ARIZMENDI RODRIGUEZ, ANSEL      ADDRESS ON FILE
ARIZMENDI ROMERO, ARISTIDES     ADDRESS ON FILE
ARIZMENDI SEPULVEDA, CARMEN G   ADDRESS ON FILE
ARIZMENDI SERRANO, ARISTIDES    ADDRESS ON FILE
ARIZMENDI VELEZ, LYMARI         ADDRESS ON FILE
ARIZMENDY RODRIGUEZ, KIZZY      ADDRESS ON FILE
ARIZNELIZ ROBLES RODRIGUEZ      ADDRESS ON FILE
ARIZONA ONCOLOGY                2222 E HIGHLAND AVE               STE 400                                                PHOENIX      AZ      85016
ARIZONA PULMONARY SPECIALIST    PO BOX 40020                                                                             PHOENIX      AZ      85067
ARIZONA PULMONARY SPECIALISTS   P O BOX 40020                                                                            PHOENIX      AZ      85067
ARJ PROFESIONAL & CONSULTING    PO BOX 30170                                                                             SAN JUAN     PR      00929‐1170
ARJC REALTY                     BOX 3244                                                                                 CAROLINA     PR      00984
ARJEMI ANDUJAR, SANDRA L.       ADDRESS ON FILE
ARJEMI ANDUJAR, SANDRA L.       ADDRESS ON FILE
ARJES TRAVEL                    GALERIAS PONCENAS                 83 CALLE UNION                                         PONCE        PR      00731
ARJONA PAGAN, MARILYN           ADDRESS ON FILE
ARJONA, ANTONIO                 ADDRESS ON FILE
ARJUN D DEMEYERE RIVERA         ADDRESS ON FILE
ARK CPA LLC                     P O BOX 364152                                                                           SAN JUAN     PR      00936‐4152
ARK CPA, LLC                    19 PONCE STREET                   URB PEREZ MORRIS                                       SAN JUAN     PR      00917
ARK STUDIO,PSC                  PO BOX 367352                                                                            SAN JUAN     PR      00936‐7352
ARK, CPA, LLC                   PO BOX 10528                                                                             SAN JUAN     PR      00922‐6164
ARKEL A. SANCHEZ TORRES         ADDRESS ON FILE
ARKEN DESIGN & BUILD, INC.      PMB 364 1353 AVE. LUIS VIGOREUX                                                          GUAYNABO     PR      00966‐0000
ARKVENTURES INC                 702 UNION ST                                                                             SAN JUAN     PR      00907
ARL CONSTRUCTION                PO BOX 224                                                                               VILLALBA     PR      00766
ARLANE D SANTIAGO MORALES       ADDRESS ON FILE
ARLEEN A COLON SANTIAGO         ADDRESS ON FILE
ARLEEN APONTE MALAVE            ADDRESS ON FILE
ARLEEN CARABALLO JULIA          ADDRESS ON FILE
ARLEEN DE JESUS SANTIAGO        ADDRESS ON FILE
ARLEEN G JUARBE LINARES         ADDRESS ON FILE
ARLEEN GONZALEZ DE LA CRUZ      ADDRESS ON FILE
ARLEEN GONZALEZ RIOS            ADDRESS ON FILE
ARLEEN I DAVILA ALAMO           ADDRESS ON FILE
ARLEEN I SANTIAGO FIGUEROA      ADDRESS ON FILE
ARLEEN J LIMARDO ORTIZ          ADDRESS ON FILE
ARLEEN M GONZALEZ VAZQUEZ       ADDRESS ON FILE
ARLEEN M MONTALVO LORENZANA     ADDRESS ON FILE
ARLEEN M MONTALVO LORENZANA     ADDRESS ON FILE
ARLEEN MALDONADO BONILLA        ADDRESS ON FILE
ARLEEN MALPICA RIVERA           ADDRESS ON FILE
ARLEEN MARCHESE PEREZ           ADDRESS ON FILE
ARLEEN MEDINA FIGUEROA          ADDRESS ON FILE
ARLEEN MERCADO MUNOZ            ADDRESS ON FILE
ARLEEN MERCADO SEPULVEDA        ADDRESS ON FILE
ARLEEN PABON CHARNECO           ADDRESS ON FILE
ARLEEN PABON CRUZ               ADDRESS ON FILE
ARLEEN RESTO CARILLO            ADDRESS ON FILE
ÀRLEEN REYES RODRÍGUEZ          ADDRESS ON FILE




                                                                                     Page 551 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 552 of 3500
                                                                                                Creditor Matrix

Creditor Name                             Address1                          Address2                         Address3    Address4          City         State   PostalCode   Country
ARLEEN ROSA OJEDA                         ADDRESS ON FILE
ARLEEN RUIZ RIOS                          ADDRESS ON FILE
ARLEEN SONERA RAMOS                       ADDRESS ON FILE
ARLEEN VEGA CRUZ                          ADDRESS ON FILE
ARLEEN VEGA MUNIZ                         ADDRESS ON FILE
ARLEENE BERRIOS CEDENO                    ADDRESS ON FILE
ARLEENE FARGAS HERNANDEZ                  ADDRESS ON FILE
ARLEENE J RODRIGUEZ ORTIZ                 ADDRESS ON FILE
ARLEENE M MARRERO RODRIGUEZ               ADDRESS ON FILE
ARLEENE MERCADO ESPADA                    ADDRESS ON FILE
ARLEENE SEPULVEDA GARCIA                  ADDRESS ON FILE
ARLENE A. CABOT CARLO                     ADDRESS ON FILE
ARLENE ALICEA COLLAZO                     ADDRESS ON FILE
ARLENE ALICEA PINERO                      ADDRESS ON FILE
ARLENE BEGUN VARGAS                       ADDRESS ON FILE
ARLENE BURY FIOL                          ADDRESS ON FILE
ARLENE CAMACHO MONTALVO                   ADDRESS ON FILE
ARLENE CARABELLO FIGUEROA                 ADDRESS ON FILE
                                                                                                                         ARTERIAL HOSTOS
ARLENE CASTRO CAMACHO Y OTROS             LCDA. MICHELLE A. RAMOS JIMÉNEZ   CAPITAL CENTER I                 SUITE 401   AVENUE 239        SAN JUAN     PR      00918
ARLENE CHAVES PEREZ                       ADDRESS ON FILE
ARLENE CLASS GONZALEZ                     ADDRESS ON FILE
ARLENE COTTO VARGAS                       ADDRESS ON FILE
ARLENE CUEBAS LEON                        ADDRESS ON FILE
ARLENE CUEVAS VAZQUEZ                     ADDRESS ON FILE
ARLENE D RIVERA ROSADO                    ADDRESS ON FILE
ARLENE DAMIANI GARCIA                     ADDRESS ON FILE
ARLENE DAVILA FRADES                      ADDRESS ON FILE
ARLENE DIANNE PAGAN IRAOLA                ADDRESS ON FILE
ARLENE E SOLTERO PARA CAROLINA CASALDUC   URB CAPARRA HILLS                 J 1 CALLE BUCARE                                               GUAYNABO     PR      00968
ARLENE FIGUEROA CAUTINO                   ADDRESS ON FILE
ARLENE FIGUEROA DIAZ                      ADDRESS ON FILE
ARLENE FROMER Y PATRICK T FROMER          ADDRESS ON FILE
ARLENE GARCIA JACKSON                     ADDRESS ON FILE
ARLENE GARCIA JACKSON                     ADDRESS ON FILE
ARLENE GARCIA ORTIZ                       ADDRESS ON FILE
ARLENE GONZALEZ FELICIANO                 ADDRESS ON FILE
ARLENE GONZALEZ GERENA                    ADDRESS ON FILE
ARLENE GONZALEZ ORTIZ                     ADDRESS ON FILE
ARLENE HERMANDEZ MEDINA                   ADDRESS ON FILE
ARLENE HERNANDEZ                          ADDRESS ON FILE
ARLENE HERNANDEZ MEDINA                   ADDRESS ON FILE
ARLENE HERNANDEZ SIERRA                   ADDRESS ON FILE
ARLENE I HERNANDEZ RODRIGUEZ              ADDRESS ON FILE
ARLENE IGLESIAS CORTES                    ADDRESS ON FILE
ARLENE J CABAN VARGAS                     ADDRESS ON FILE
ARLENE J CABAN VARGAS                     ADDRESS ON FILE
ARLENE J ORTIZ OCASIO                     ADDRESS ON FILE
ARLENE LEBRON CORTES                      ADDRESS ON FILE
ARLENE LOPEZ MARTELL                      ADDRESS ON FILE
ARLENE LOPEZ RODRIGUEZ                    ADDRESS ON FILE
ARLENE M BONILLA ROBLES                   ADDRESS ON FILE
ARLENE M CAMACHO RODRIGUEZ                ADDRESS ON FILE
ARLENE M ORTIZ ORTIZ                      ADDRESS ON FILE
ARLENE M SALAS                            ADDRESS ON FILE
ARLENE M SANTANA ZAYAS                    ADDRESS ON FILE
ARLENE M VELAZQUEZ APONTE                 ADDRESS ON FILE
ARLENE M. SANTIAGO SOSA                   ADDRESS ON FILE
ARLENE MARTINEZ COLON                     ADDRESS ON FILE
ARLENE MARTINEZ COLON                     ADDRESS ON FILE




                                                                                               Page 552 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 553 of 3500
                                                                                             Creditor Matrix

Creditor Name                  Address1                          Address2                                 Address3           Address4    City         State   PostalCode   Country
ARLENE MERCADO LUGO            ADDRESS ON FILE
ARLENE MERCADO TORREGROSA      ADDRESS ON FILE
ARLENE O TIRADO FELICIANO      ADDRESS ON FILE
ARLENE ORTIZ COLON             ADDRESS ON FILE
ARLENE ORTIZ RODRIGUEZ         ADDRESS ON FILE
ARLENE PANTOJA MARZAN          ADDRESS ON FILE
ARLENE PATINO LORENZO          ADDRESS ON FILE
ARLENE PEREZ NAZARIO           ADDRESS ON FILE
ARLENE PEREZ SANTOS            ADDRESS ON FILE
ARLENE PEREZ/ PEDRO PEREZ      ADDRESS ON FILE
ARLENE PEREZ/ PEDRO PEREZ      ADDRESS ON FILE
ARLENE PIMENTEL DUBOCQ         ADDRESS ON FILE
ARLENE R ESCALERA              ADDRESS ON FILE
ARLENE R FRANCIS SADLER        ADDRESS ON FILE
ARLENE RAMIREZ BOSQUES         ADDRESS ON FILE
ARLENE RAMIREZ BOSQUES         ADDRESS ON FILE
ARLENE RIVERA BENITEZ          ADDRESS ON FILE
ARLENE RIVERA COLON            LCDA. MONICA E. BURGOS BERMUDEZ   GUAYNABO PUEBLO 8 CALLE CARAZO                                          GUAYNABO     PR      00969
                                                                                                          LOCAL 5829 PLAZA
ARLENE RIVERA COLON            LCDO. MARCOS RIVERA ORTIZ         AVE. 65 DE INFANTERIA                    ESCORIAL CINEMAS   SUITE 207   CAROLINA     PR      00987
ARLENE RIVERA MASS             ADDRESS ON FILE
ARLENE RIVERA ORTIZ            ADDRESS ON FILE
ARLENE ROBERT SUAREZ           ADDRESS ON FILE
ARLENE RODRIGUEZ DIAZ          ADDRESS ON FILE
ARLENE RODRIGUEZ MATTEI        ADDRESS ON FILE
ARLENE RONDON DIAZ             ADDRESS ON FILE
ARLENE SANCHEZ CORIANO         ADDRESS ON FILE
ARLENE SANCHEZ QUINONEZ        ADDRESS ON FILE
ARLENE SANCHEZ QUINONEZ        ADDRESS ON FILE
ARLENE SANTIAGO LOPEZ          ADDRESS ON FILE
ARLENE SANTIAGO MALDONADO      ADDRESS ON FILE
ARLENE SANTIAGO OTERO          ADDRESS ON FILE
ARLENE SANTOS CAMACHO          ADDRESS ON FILE
ARLENE SANTOS RODRIGUEZ        ADDRESS ON FILE
ARLENE SANTOS RODRIGUEZ        ADDRESS ON FILE
ARLENE SAURI GONZALEZ          ADDRESS ON FILE
ARLENE SOTO MOREDA             ADDRESS ON FILE
ARLENE TAPIA SANTIAGO          ADDRESS ON FILE
ARLENE TOMASSINI PENA          ADDRESS ON FILE
ARLENE TORRES REYES            ADDRESS ON FILE
ARLENE URENA DE JESUS          ADDRESS ON FILE
ARLENE VALENTIN SANTIAGO       ADDRESS ON FILE
ARLENE ZAYAS TORRES            ADDRESS ON FILE
ARLENE ZIERENBERG GARCIA       ADDRESS ON FILE
ARLENNE SEPULVEDA GARCIA       ADDRESS ON FILE
ARLENNEM IRIZARRY SOTO         ADDRESS ON FILE
ARLENNY GARCIA DELGADO         ADDRESS ON FILE
ARLEQUIN ALICEA, RUTH          ADDRESS ON FILE
ARLEQUIN INC                   COND PLAZA DEL PARQUE             701 CALLE DEL PARQUE 233                                                SAN JUAN     PR      00912
ARLEQUIN PANETO, WILFREDO      ADDRESS ON FILE
ARLEQUIN RIVERA, RAPHAEL       ADDRESS ON FILE
ARLEQUIN RIVERA, RAPHAEL       ADDRESS ON FILE
ARLEQUIN VELEZ, EDGARDO        ADDRESS ON FILE
ARLETTE VALPAIS ANDUJAR        ADDRESS ON FILE
ARLETTE ZAMARIE MEDINA MUNOZ   ADDRESS ON FILE
ARLIE J OYOLA PEREZ            ADDRESS ON FILE
ARLIN MORALES OTERO            ADDRESS ON FILE
ARLIN R HERNANDEZ HERNANDEZ    ADDRESS ON FILE
ARLINE EVANS GONZALEZ          ADDRESS ON FILE
ARLINE G RIVERA ROSADO         ADDRESS ON FILE




                                                                                            Page 553 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 554 of 3500
                                                                                                Creditor Matrix

Creditor Name                       Address1                         Address2                                Address3                Address4   City            State   PostalCode   Country
ARLINE PAZ SAGARDIA                 ADDRESS ON FILE
ARLINE Y SANTIAGO LOPEZ             ADDRESS ON FILE
ARLING MONTANEZ OCASIO              ADDRESS ON FILE
ARLINGNON PROFESSIONAL CENTER       891 S ARLINGTON AVE                                                                                         HARRISBURG      PA      17109
ARLINGTON MEMORIAL HOSPITAL         PO BOX 73521                                                                                                DALLAS          TX      75373‐2521
ARLISSE PENA CRUZ                   ADDRESS ON FILE
ARLIST J LOPEZ RODRIGUEZ            ADDRESS ON FILE
ARLIVON VEGA COLLAZO                ADDRESS ON FILE
ARLIZ LIZARDI VELEZ                 ADDRESS ON FILE
ARLLEN M VARGAS RAMOS               ADDRESS ON FILE
ARLLENE PLANAS CABRERA              ADDRESS ON FILE
ARLO F LUQUE                        ADDRESS ON FILE
ARLYN COLON TORRE                   ADDRESS ON FILE
ARLYN FIGUEROA CARRASQUILLO         ADDRESS ON FILE
ARLYN I. MUNOZ SANTIAGO             ADDRESS ON FILE
ARLYN IVETTE MUNOZ SANTIAGO         ADDRESS ON FILE
ARLYN J. MILLAN QUINONES            ADDRESS ON FILE
ARLYN LICEAGA LANDRON               ADDRESS ON FILE
ARLYN M RODRIGUEZ FUENTES           ADDRESS ON FILE
ARLYN OTERO LUGO                    ADDRESS ON FILE
ARLYN V ROMAN Y WILFREDO TORRES     ADDRESS ON FILE
ARLYN VILLAFANE PEREZ               ADDRESS ON FILE
ARLYNE SOLIVAN COLON                ADDRESS ON FILE
ARMA INTERNATIONAL, INC             PO BOX 931074                                                                                               KANSAS CITY     MO      64193‐1074
ARMADA PRODUCTIONS                  208 PONCE LEON AVE                                                                                          SAN JUAN        PR      00907
ARMADA PRODUCTIONS CORP             1095 AVE WILSON                  COND PUERTA DEL CONDADO PH‐1                                               SAN JUAN        PR      00907

ARMADA PRODUCTIONS CORP             Y BANCO POPULAR DE PUERTO RICO   POPULAR CENTER 19 TH FL                 208 PONCE DE LEON AVE              SAN JUAN        PR      00918
ARMADA PRODUCTIONS CORP             Y BANCO POPULAR DE PUERTO RICO   PO BOX 362708                           CLAVE 776                          SAN JUAN        PR      00936‐2708
ARMADA PRODUCTIONS CORPORATION      COND PUERTA DEL CONDADO          1095 AVE WILSON PH 1                                                       SAN JUAN        PR      00907
ARMADA PRODUCTIONS,CORP             1095 AVE.WILSON COND.            PUERTA DEL CONDADO PH                                                      SAN JUAN        PR      00907
ARMADA SANCHEZ, JORGE FRANCISCO     ADDRESS ON FILE
ARMADA SECURITY INC                 URB VICTOR ROJAS 2               299 CALLE A                                                                ARECIBO         PR      00612
ARMADORES DEL ESTE                  ADDRESS ON FILE
ARMAIZ APONTE MD, GUILLERMO R       ADDRESS ON FILE
ARMAIZ CINTRON, WANDA               ADDRESS ON FILE
ARMAIZ CRUZ, ERIC                   ADDRESS ON FILE
ARMAIZ MANZANO, CARMEN A            ADDRESS ON FILE
ARMAIZ MARTINEZ, NESTOR             ADDRESS ON FILE
ARMAIZ NOLLA, KAREN                 ADDRESS ON FILE
ARMAIZ PEREZ, HECTOR                ADDRESS ON FILE
ARMAIZ PINTO, LOURDES               ADDRESS ON FILE
ARMAIZ RIVERA, RAMON A              ADDRESS ON FILE
Armaiz Rodriguez, Angel M           ADDRESS ON FILE
ARMAIZ RODRIGUEZ, JOSUE             ADDRESS ON FILE
ARMAIZ SANCHEZ, KAREN               ADDRESS ON FILE
ARMAIZ SERRANO, ARIEL               ADDRESS ON FILE
ARMAN OLMEDA, IRIS                  ADDRESS ON FILE
ARMAN ROMAN, MICHELLE               ADDRESS ON FILE
ARMANDITA M PINERO MORAN            ADDRESS ON FILE
ARMANDO A MORENO FORTY              ADDRESS ON FILE
ARMANDO A QUERRERO ADORNO           ADDRESS ON FILE
ARMANDO A RIVERA SANTIAGO           ADDRESS ON FILE
ARMANDO A RODRIGUEZ/VIVIANNE ASAD   ADDRESS ON FILE
ARMANDO A. LUNA LOPEZ               ADDRESS ON FILE
ARMANDO A. MALAVE RODRIGUEZ         ADDRESS ON FILE
ARMANDO ABRUNA RODRIGUEZ            ADDRESS ON FILE
ARMANDO AGRON VALENTIN              ADDRESS ON FILE
ARMANDO ALCANIZ FARRE               ADDRESS ON FILE
ARMANDO ALICEA NIEVES               ADDRESS ON FILE




                                                                                               Page 554 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 555 of 3500
                                                                                                    Creditor Matrix

Creditor Name                           Address1                             Address2                            Address3                 Address4   City         State   PostalCode   Country
ARMANDO ALVARADO VAZQUEZ                ADDRESS ON FILE
ARMANDO ALVAREZ YULFO                   ADDRESS ON FILE
ARMANDO AMADO GIBOYEAUX                 ADDRESS ON FILE
ARMANDO APONTE MORALES                  ADDRESS ON FILE
ARMANDO APONTE MORALES                  ADDRESS ON FILE
ARMANDO APONTE MORALES                  ADDRESS ON FILE
ARMANDO APONTE MORALES                  ADDRESS ON FILE
ARMANDO APONTE VELEZ                    ADDRESS ON FILE
ARMANDO AVILES GALLOZA /CO PSC          PMB 867                              PO BOX 5000                                                             AGUADA       PR      00602

ARMANDO BAEZ MOLINA                     ANGEL ROTGER‐SABATRAMÓN COTO‐OJEDA   MCS PLAZA SUITE 800                 255 Ponce DE LEÓN AVE.              HATO REY     PR      00917
ARMANDO BERRIOS CASANAS                 ADDRESS ON FILE
ARMANDO CAPO ROSARIO                    ADDRESS ON FILE
ARMANDO CARDONA                         ADDRESS ON FILE
ARMANDO CAUSSADE VAQUER                 ADDRESS ON FILE
ARMANDO CEDENO AROCHO                   ADDRESS ON FILE
ARMANDO CERVONI VELAZQUEZ               ADDRESS ON FILE
ARMANDO CHAAR PEREZ                     ADDRESS ON FILE
ARMANDO CHAAR Y MARIA M PEREZ           ADDRESS ON FILE
ARMANDO CHAAR Y MARIA M PEREZ           ADDRESS ON FILE
ARMANDO COLÓN                           ADDRESS ON FILE
ARMANDO COLON ACEVEDO                   ADDRESS ON FILE
ARMANDO CORCHADO RIVERA                 ADDRESS ON FILE
ARMANDO CRESPO ORAMAS                   ADDRESS ON FILE
ARMANDO CRUZ CASTRO                     ADDRESS ON FILE
ARMANDO D TORRES                        ADDRESS ON FILE
ARMANDO D. TORRES PESARESI              ADDRESS ON FILE
ARMANDO DE JESUS BOSQUE                 ADDRESS ON FILE
ARMANDO DEL VALLE EGEA                  ADDRESS ON FILE
ARMANDO DELGADO ROMAN                   ADDRESS ON FILE
ARMANDO DELGADO VELEZ                   ADDRESS ON FILE
ARMANDO DELGADO VELEZ                   ADDRESS ON FILE
ARMANDO DIAZ ORTIZ                      ADDRESS ON FILE
ARMANDO DIAZ RAMOS                      ADDRESS ON FILE
ARMANDO DIAZ RAMOS                      ADDRESS ON FILE
ARMANDO E CUEVAS VELEZ                  ADDRESS ON FILE
ARMANDO E GONZALEZ MALDONADO            ADDRESS ON FILE
ARMANDO ESCABI RAMIREZ                  ADDRESS ON FILE
ARMANDO FAJARDO/ LINA DE LOS A TORRES   ADDRESS ON FILE
ARMANDO FELICIANO FELICIANO             ADDRESS ON FILE
ARMANDO FELICIANO LARACUENTE            ADDRESS ON FILE
ARMANDO FELICIANO RAMOS                 ADDRESS ON FILE
ARMANDO FELIX BENITEZ                   ADDRESS ON FILE
ARMANDO FIGUEROA MARTES                 ADDRESS ON FILE
ARMANDO FIGUEROA MOLINA                 ADDRESS ON FILE
ARMANDO FIGUEROA PINERO                 ADDRESS ON FILE
ARMANDO FLORES GARCIA                   ADDRESS ON FILE
ARMANDO FORTUNO                         ADDRESS ON FILE
ARMANDO FRET SANCHEZ                    ADDRESS ON FILE
ARMANDO GARCIA MORALES                  ADDRESS ON FILE
ARMANDO GAUDIER FERNANDEZ               ADDRESS ON FILE
ARMANDO GONZALEZ ANDUJAR                ADDRESS ON FILE
ARMANDO GONZALEZ COLLAZO                ADDRESS ON FILE
ARMANDO GONZALEZ MERCADO                ADDRESS ON FILE
ARMANDO GUZMAN VILLANUEVA               ADDRESS ON FILE
ARMANDO H GUTIERREZ SR ESTATE           PO BOX 3029                                                                                                  MAYAGUEZ     PR      00681‐3029
ARMANDO H. PINON GARCIA                 ADDRESS ON FILE
ARMANDO I CARO                          ADDRESS ON FILE
ARMANDO J ARROYO ACOSTA                 ADDRESS ON FILE
ARMANDO J COLLAZO ORTIZ                 ADDRESS ON FILE




                                                                                                   Page 555 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 556 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARMANDO J CORDERO SANTIAGO    ADDRESS ON FILE
ARMANDO J MARTINEZ VILELLA    ADDRESS ON FILE
ARMANDO J MARTINEZ VILELLA    ADDRESS ON FILE
ARMANDO J RAMOS MARTINEZ      ADDRESS ON FILE
ARMANDO J SANCHEZ RIVERA      ADDRESS ON FILE
ARMANDO J SANJURJO            ADDRESS ON FILE
ARMANDO J. COLLAZO ORTIZ      ADDRESS ON FILE
ARMANDO JUSINO RODRIGUEZ      ADDRESS ON FILE
ARMANDO L ARCE PLAZA          ADDRESS ON FILE
ARMANDO L CINTRON RIVERA      ADDRESS ON FILE
ARMANDO L CRUZ LOPEZ          ADDRESS ON FILE
ARMANDO L HERNANDEZ REYES     ADDRESS ON FILE
ARMANDO L LORENZO ACEVEDO     ADDRESS ON FILE
ARMANDO L MORENO GONZALEZ     ADDRESS ON FILE
ARMANDO L PACHECO ZAMORA      ADDRESS ON FILE
ARMANDO L VELAZQUEZ NATAL     ADDRESS ON FILE
ARMANDO LAMOURT RODRIGUEZ     ADDRESS ON FILE
ARMANDO LOPEZ GAVILAN         ADDRESS ON FILE
ARMANDO LOPEZ GAVILAN         ADDRESS ON FILE
ARMANDO LOPEZ MONTANEZ        ADDRESS ON FILE
ARMANDO LOPEZ PENA            ADDRESS ON FILE
ARMANDO LOPEZ RAMOS           ADDRESS ON FILE
ARMANDO M ARANDA RODRIGUEZ    ADDRESS ON FILE
ARMANDO M. VEGA CRUZ          ADDRESS ON FILE
ARMANDO MENA AMADOR           ADDRESS ON FILE
ARMANDO MOJICA HERNANDEZ      ADDRESS ON FILE
ARMANDO MOLINA QUI¥ONES       ADDRESS ON FILE
ARMANDO MONTERO GONZALEZ      ADDRESS ON FILE
ARMANDO MORENO CLEMENTE       ADDRESS ON FILE
ARMANDO NAVARRO RIVERA        ADDRESS ON FILE
ARMANDO NEGRON LOPEZ          ADDRESS ON FILE
ARMANDO NEGRON RIVERA         ADDRESS ON FILE
ARMANDO NEGRON VERA           ADDRESS ON FILE
ARMANDO NIEVES AYALA          ADDRESS ON FILE
ARMANDO ORTIZ COLON           ADDRESS ON FILE
ARMANDO ORTIZ MUNOZ           ADDRESS ON FILE
ARMANDO PAGAN MORALES         ADDRESS ON FILE
ARMANDO PAGAN RIVERA          ADDRESS ON FILE
ARMANDO PALMA GARCIA          ADDRESS ON FILE
ARMANDO PARRA ORTEGA          ADDRESS ON FILE
ARMANDO PEREZ ORTIZ           ADDRESS ON FILE
ARMANDO PEREZ ROSSY           ADDRESS ON FILE
ARMANDO PEREZ RUIZ            ADDRESS ON FILE
ARMANDO PEREZ VEGA            ADDRESS ON FILE
ARMANDO PIZZARO MARQUEZ       ADDRESS ON FILE
ARMANDO QUEVEDO QUIRINDONGO   ADDRESS ON FILE
ARMANDO QUINONES GAMBOA       ADDRESS ON FILE
ARMANDO R CASTRO ALVAREZ      ADDRESS ON FILE
ARMANDO R COLLADO GUEVARA     ADDRESS ON FILE
ARMANDO R VAZQUEZ HERNANDEZ   ADDRESS ON FILE
ARMANDO RAMOS VERA            ADDRESS ON FILE
ARMANDO REYES ARROYO          ADDRESS ON FILE
ARMANDO RIESCO CARTAYA        ADDRESS ON FILE
ARMANDO RIVERA JIMENEZ        ADDRESS ON FILE
ARMANDO RIVERA ROCA           ADDRESS ON FILE
ARMANDO RODRIGUEZ             ADDRESS ON FILE
ARMANDO ROHENA DELGADO        ADDRESS ON FILE
ARMANDO ROMERO                ADDRESS ON FILE
ARMANDO ROSADO MOLINA         ADDRESS ON FILE
ARMANDO ROSADO RIVERA         ADDRESS ON FILE




                                                                          Page 556 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 557 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City           State   PostalCode   Country
ARMANDO ROSADO RIVERA               ADDRESS ON FILE
ARMANDO ROSADO RIVERA               ADDRESS ON FILE
ARMANDO SANCHEZ NAZARIO             ADDRESS ON FILE
ARMANDO SANTIAGO SR                 ADDRESS ON FILE
ARMANDO SANTIAGO TORO               ADDRESS ON FILE
ARMANDO SEMPRIT MEJIAS              ADDRESS ON FILE
ARMANDO SILVA MARTINEZ              ADDRESS ON FILE
ARMANDO SILVA MARTINEZ              ADDRESS ON FILE
ARMANDO SILVA MARTINEZ              ADDRESS ON FILE
ARMANDO SILVA TORRES                ADDRESS ON FILE
ARMANDO SOTO ESCRIBANO              ADDRESS ON FILE
ARMANDO SOTO ESCRIBANO              ADDRESS ON FILE
ARMANDO SOTO MANTILLA               ADDRESS ON FILE
ARMANDO TORRES RODRIGUEZ            ADDRESS ON FILE
ARMANDO TORRES RUPERTO              ADDRESS ON FILE
ARMANDO VARGAS SOSA                 ADDRESS ON FILE
ARMANDO VAZQUEZ ARROYO              ADDRESS ON FILE
ARMANDO VELEZ / LUZ E SANTIAGO      ADDRESS ON FILE
ARMANDO VELEZ ILARRAZA              ADDRESS ON FILE
ARMANDO VILLANUEVA MARTINEZ         ADDRESS ON FILE
ARMANDO WISCOVITCH VELEZ            ADDRESS ON FILE
ARMANDO WISCOVITCH VELEZ            ADDRESS ON FILE
ARMANDO XAVIER CRESPO MENDEZ        ADDRESS ON FILE
ARMANDO ZAYAS                       ADDRESS ON FILE
ARMANI SOTO GARCIA                  ADDRESS ON FILE
ARMAS ARMAS, CONCEPCION E           ADDRESS ON FILE
ARMAS LIRA, KARLA                   ADDRESS ON FILE
ARMATEL S E                         PO BOX 441                                                                       FAJARDO        PR      00738‐0441
ARMBRUSTER ACEVEDO, MICHELLE        ADDRESS ON FILE
ARMENDA PORRATA VALLE               ADDRESS ON FILE
ARMENDARIZ HERNANDEZ, PEDRO         ADDRESS ON FILE
ARMENDARIZ, JOSE F                  ADDRESS ON FILE
ARMENGOL CANDELARIA CRUZ            ADDRESS ON FILE
ARMENGOL IGARTUA MUNOZ              ADDRESS ON FILE
ARMENTERO REYES, FELIX              ADDRESS ON FILE
ARMENTEROS PLA, ALMA N              ADDRESS ON FILE
ARMENTEROS QUINONEZ, MARISSA        ADDRESS ON FILE
ARMENTEROS RODRIGUEZ, FRANCIS       ADDRESS ON FILE
ARMENTEROS RODRIGUEZ, MARYANNE      ADDRESS ON FILE
ARMERIA 3T SHOOTING CLUB            PO BOX 744                                                                       RIO GRANDE     PR      00745
ARMERIA METROPOLITANA               799 AVE DE DIEGO                                                                 SAN JUAN       PR      00921
ARMERO HERNANDEZ, MARIANO           ADDRESS ON FILE
ARMESTO GARCIA, ROSA                ADDRESS ON FILE
ARMIDA PEREZ MARTINEZ               ADDRESS ON FILE
ARMIDA TRIA                         ADDRESS ON FILE
ARMIJO FIGUEROA, BRAHAYAN           ADDRESS ON FILE
ARMIN J CINTRON TORRES              ADDRESS ON FILE
ARMINA CHINEA CHINEA                ADDRESS ON FILE
ARMINA MUNOZ JIMENEZ                ADDRESS ON FILE
ARMINA TERRON, MARGARITA            ADDRESS ON FILE
ARMINDA ARROYO GOMEZ                ADDRESS ON FILE
ARMINDA COLON COLLAZO               ADDRESS ON FILE
ARMINDA GOMEZ VAZQUEZ               ADDRESS ON FILE
ARMINDA HERNANDEZ Y JOSE N MEDINA   ADDRESS ON FILE
ARMINDA MALDONADO PEREZ             ADDRESS ON FILE
ARMINDA MIRANDA CINTRON             ADDRESS ON FILE
ARMINDA MIRANDA CINTRON             ADDRESS ON FILE
Arminda Nieves Mercado              ADDRESS ON FILE
ARMINDA SOTO ALBELO                 ADDRESS ON FILE
ARMINDALIS GONZALEZ GOMEZ           ADDRESS ON FILE




                                                                                Page 557 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 558 of 3500
                                                                                      Creditor Matrix

Creditor Name                   Address1                      Address2                             Address3   Address4   City             State   PostalCode   Country
ARMINDO COLON VARGAS            ADDRESS ON FILE
ARMINDO COLON VARGAS            ADDRESS ON FILE
ARMINDO GONZALEZ VALENTIN       ADDRESS ON FILE
ARMINDO L. CADILLA COSTAS       ADDRESS ON FILE
ARMINDO SERRANO SERRANO         ADDRESS ON FILE
ARMINGOL VELAZQUEZ VELAZQUEZ    ADDRESS ON FILE
ARMONIA CREATIVA                CHALETS DE LA FUENTE          C/FLORIDIANO 26‐2602                                       CAROLINA         PR      00987
ARMONIA NATURAL INC             PO BOX 321                                                                               MANATI           PR      00674
ARMOR FORENSICS                 13386 INTERNATIONAL PARKWAY                                                              JACKSONVILLE     FL      32218
ARMSTRONG CAPO, TERESITA        ADDRESS ON FILE
ARMSTRONG LOPEZ, MARIA          ADDRESS ON FILE
ARMSTRONG MATIAS, DRINELA       ADDRESS ON FILE
ARMSTRONG MATOS, MARINA         ADDRESS ON FILE
ARMSTRONG MD, DAVID             ADDRESS ON FILE
ARMSTRONG MD, SANDRA            ADDRESS ON FILE
ARMSTRONG PEDERSEN, CLIFTON     ADDRESS ON FILE
ARMSTRONG PETROVICH, JOSE       ADDRESS ON FILE
ARMSTRONG ROMAN, AGLAE          ADDRESS ON FILE
ARMSTRONG SANTOS, GABRIELA      ADDRESS ON FILE
ARMSTRONG VALLECILLO, JUAN L.   ADDRESS ON FILE
ARMSTRONG VEIT, KAREN           ADDRESS ON FILE
ARNAL MALDONADO, JOSE R         ADDRESS ON FILE
ARNAL MALDONADO, MIREYA         ADDRESS ON FILE
ARNALDA PEREZ PIZARRO           ADDRESS ON FILE
ARNALDI CHINEA, SUGEL           ADDRESS ON FILE
ARNALDI CRUZ, JENNY             ADDRESS ON FILE
ARNALDI ENCARNACION, DAIRA E    ADDRESS ON FILE
ARNALDI MOJICA, MARIA E         ADDRESS ON FILE
ARNALDI QUINONES, LUIS          ADDRESS ON FILE
Arnaldi Rivera, Ana             ADDRESS ON FILE
Arnaldi Velez, Omayra           ADDRESS ON FILE
ARNALDO A COLON ORTIZ           ADDRESS ON FILE
ARNALDO A DIAZ LLERAS           ADDRESS ON FILE
ARNALDO A GARCIA RIVERA         ADDRESS ON FILE
ARNALDO A RODRIGUEZ RONDON      ADDRESS ON FILE
ARNALDO ACEVEDO CAMACHO         ADDRESS ON FILE
ARNALDO AGOSTO MARQUEZ          ADDRESS ON FILE
ARNALDO ALVAREZ BOYER           ADDRESS ON FILE
ARNALDO APONTE SANTOS           ADDRESS ON FILE
ARNALDO ARCE SANTIAGO           ADDRESS ON FILE
ARNALDO BAEZ GENOVAL            ADDRESS ON FILE
ARNALDO BAEZ GENOVAL            ADDRESS ON FILE
ARNALDO BAEZ VIDRO              ADDRESS ON FILE
ARNALDO BELLAFLORES GARCIA      ADDRESS ON FILE
ARNALDO BLANCO OLIVERAS         ADDRESS ON FILE
ARNALDO BRISTOL SABATER         ADDRESS ON FILE
ARNALDO CABAN LOPEZ             ADDRESS ON FILE
ARNALDO CAMACHO VELEZ           ADDRESS ON FILE
ARNALDO CARABALLO VEGUILLA      ADDRESS ON FILE
ARNALDO CARRASQUILLO            ADDRESS ON FILE
ARNALDO CASANOVA CRUZ           ADDRESS ON FILE
ARNALDO CASTRO MARRERO          ADDRESS ON FILE
ARNALDO CENCHANY LAIS           ADDRESS ON FILE
ARNALDO CHAPARRO ECHEVARRIA     ADDRESS ON FILE
ARNALDO COLON COLON             ADDRESS ON FILE
ARNALDO COLON OCASIO            ADDRESS ON FILE
Arnaldo Colon Rosario           ADDRESS ON FILE
ARNALDO CORDERO RAMOS           ADDRESS ON FILE
ARNALDO CORTES MARTINEZ         ADDRESS ON FILE
ARNALDO CORTES RODRIGUEZ        ADDRESS ON FILE




                                                                                     Page 558 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 559 of 3500
                                                                                                        Creditor Matrix

Creditor Name                       Address1                           Address2                                      Address3   Address4   City           State   PostalCode   Country
ARNALDO CRESPO FIGUEROA             ADDRESS ON FILE
ARNALDO CRUZ COLLAZO                ADDRESS ON FILE
ARNALDO CRUZ COLLAZO                ADDRESS ON FILE
ARNALDO CRUZ IGARTUA RIVERA         ADDRESS ON FILE
ARNALDO DE LA VEGA AGUILAR          ADDRESS ON FILE
ARNALDO DELGADO HERRERA             ADDRESS ON FILE
ARNALDO DELGADO MATHEWS MD, LUIS    ADDRESS ON FILE
ARNALDO DIAZ FELICIANO              ADDRESS ON FILE
ARNALDO DIAZ ROMERO                 ADDRESS ON FILE
ARNALDO DURAN CRUZ                  ADDRESS ON FILE
ARNALDO E VAZQUEZ MORALES           ADDRESS ON FILE
ARNALDO E. PEREZ MERCADO            ADDRESS ON FILE
ARNALDO E. VELEZ CONDE              ADDRESS ON FILE
ARNALDO ERAZO CRUZ                  ADDRESS ON FILE
ARNALDO ESPINOSA DE LA CRUZ         ADDRESS ON FILE
ARNALDO FALCON RAMIREZ              ADDRESS ON FILE
ARNALDO FELICIANO DALINA            ADDRESS ON FILE
ARNALDO FIGUEROA RODRIGUEZ          ADDRESS ON FILE
ARNALDO G BURGOS SANTANA            ADDRESS ON FILE
ARNALDO GONZALEZ ALFONSO            ADDRESS ON FILE
ARNALDO GONZALEZ CARMONA            ADDRESS ON FILE
ARNALDO GONZALEZ MORALES            ADDRESS ON FILE
ARNALDO GONZALEZ RODRIGUEZ          ADDRESS ON FILE
ARNALDO GONZALEZ VELEZ              ADDRESS ON FILE
ARNALDO GUZMAN CINTRON              ADDRESS ON FILE
ARNALDO I RAMOS RAMOS/DBA/          URB VEREDAS                        281 CAMINO DE LAS TRINITARIAS                                       GURABO         PR      00778
ARNALDO IVAN GONZALEZ PENA          ADDRESS ON FILE
ARNALDO J IRIZARRY IRIZARRY, PSC    112 CALLE DR SANTIAGO VEVE STE 1                                                                       SAN GERMAN     PR      00683‐4132
ARNALDO J ALICEA ALICEA             ADDRESS ON FILE
ARNALDO J ALVARADO MALAVE           ADDRESS ON FILE
ARNALDO J APONTE RAMIREZ            ADDRESS ON FILE
ARNALDO J BIBILONI TORRES           ADDRESS ON FILE
ARNALDO J DE JESUS GONZALEZ         ADDRESS ON FILE
ARNALDO J DIAZ MIRANDA              ADDRESS ON FILE
ARNALDO J GARAY ROSADO              ADDRESS ON FILE
ARNALDO J JIMENEZ GONZALEZ          ADDRESS ON FILE
ARNALDO J MONTALVO BATISTA          ADDRESS ON FILE
ARNALDO J MONTERO TORRES            ADDRESS ON FILE
ARNALDO J PEREZ PAGAN               ADDRESS ON FILE
ARNALDO J RAMIREZ CHAPARRO          ADDRESS ON FILE
ARNALDO J RODRIGUEZ VAZQUEZ         ADDRESS ON FILE
ARNALDO J RUIZ MELENDEZ             ADDRESS ON FILE
ARNALDO J SANTIAGO GARCIA           ADDRESS ON FILE
ARNALDO J SANTIAGO RODRIGUEZ        ADDRESS ON FILE
ARNALDO JAVIER ORTIZ MIRANDA        ADDRESS ON FILE
ARNALDO L ALVARADO SANCHEZ          ADDRESS ON FILE
ARNALDO L CRUZ SANCHEZ              ADDRESS ON FILE
ARNALDO L CRUZ SANTIAGO             ADDRESS ON FILE
ARNALDO L PEREZ BATISTA             ADDRESS ON FILE
ARNALDO L TORRES/ SALLY I VAZQUEZ   ADDRESS ON FILE
ARNALDO LAMPON FUENTES              ADDRESS ON FILE
ARNALDO LAUREANO MARRERO            ADDRESS ON FILE
ARNALDO MADERA QUILES               ADDRESS ON FILE
ARNALDO MALDONADO OTERO             ADDRESS ON FILE
ARNALDO MALDONADO TORRES            ADDRESS ON FILE
ARNALDO MARENGO VELAZQUEZ           ADDRESS ON FILE
ARNALDO MARTINEZ SANTIAGO           ADDRESS ON FILE
ARNALDO MEJIAS MORALES              ADDRESS ON FILE
ARNALDO MELENDEZ BERMUDEZ           ADDRESS ON FILE
ARNALDO MENDEZ SANCHEZ              ADDRESS ON FILE




                                                                                                       Page 559 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 560 of 3500
                                                                                                     Creditor Matrix

Creditor Name                    Address1                                 Address2                                Address3      Address4   City         State   PostalCode   Country
ARNALDO MOLINA LOPEZ             ADDRESS ON FILE
ARNALDO MOLINA LOPEZ             ADDRESS ON FILE
ARNALDO MORALES MATOS            ADDRESS ON FILE
ARNALDO N VEGA CORDERO           ADDRESS ON FILE
ARNALDO NAZARIO RIVERA           ADDRESS ON FILE
ARNALDO NEGRON OTERO             ADDRESS ON FILE
ARNALDO NIEVES GUZMAN            ADDRESS ON FILE
ARNALDO ORTA GONZALEZ            ADDRESS ON FILE
ARNALDO ORTIZ BURGOS             ADDRESS ON FILE
ARNALDO OTERO COLON              ADDRESS ON FILE
ARNALDO PABON ARROYO             ADDRESS ON FILE
ARNALDO PABON OTERO              ADDRESS ON FILE
ARNALDO PARRA VIERA              ADDRESS ON FILE
ARNALDO PENA TORRES              ADDRESS ON FILE
ARNALDO PEREZ MORALES            ADDRESS ON FILE
ARNALDO PEREZ NIEVES             ADDRESS ON FILE
ARNALDO PINA MADERA              ADDRESS ON FILE
ARNALDO POL SELLA                ADDRESS ON FILE
ARNALDO QUINONES AFANADOR        ADDRESS ON FILE
ARNALDO R HERNANDEZ ROSA         ADDRESS ON FILE
ARNALDO R. SANTIAGO LOPEZ        ADDRESS ON FILE
ARNALDO RENTAS REYES             ADDRESS ON FILE
ARNALDO REYES CARDONA            IVAN MONTALVO BURGOS                     URB. REPARTO MONTELLANO                 D‐1 CALLE B              CAYEY        PR      00736
ARNALDO REYES ORTIZ              ADDRESS ON FILE
Arnaldo Rivera Roman             ADDRESS ON FILE
Arnaldo Rivera Seda              ADDRESS ON FILE
ARNALDO RIVERA SEDA              ADDRESS ON FILE
ARNALDO RIVERA TORRES            ADDRESS ON FILE
ARNALDO RODRIGUEZ CARRASQUILLO   ADDRESS ON FILE
ARNALDO RODRIGUEZ MARTINEZ       ADDRESS ON FILE
ARNALDO RODRIGUEZ RIOS           ADDRESS ON FILE
ARNALDO RODRIGUEZ ROLON          ADDRESS ON FILE
ARNALDO RODRIGUEZ RUIZ           ADDRESS ON FILE
ARNALDO RODRIGUEZ SANCHEZ        ADDRESS ON FILE
ARNALDO RODRÍGUEZ VÁZQUEZ J.     LCDA. AURIMIR AROCHO TORRES‐ABOGADA DEMPO BOX 192281                                                      SAN JUAN     PR      00919‐2281
ARNALDO ROJAS CUMMINGS           ADDRESS ON FILE
ARNALDO ROSADO SANTOS            ADDRESS ON FILE
ARNALDO ROSARIO CASILLAS         ADDRESS ON FILE
ARNALDO RUIZ LOPEZ               ADDRESS ON FILE
ARNALDO RUIZ ZAMBRANA            ADDRESS ON FILE
ARNALDO SANCHEZ RECIO            ADDRESS ON FILE
ARNALDO SANTIAGO LUGO            ADDRESS ON FILE
ARNALDO SEPULVEDA                ADDRESS ON FILE
ARNALDO SERRANO MATIENZO         ADDRESS ON FILE
ARNALDO SERRANO MATIENZO         Y/O DAMARIS ALVAREZ OFICIAL PAGADOR ESPECIAL OFICI                                                        HATO REY     PR      00923
ARNALDO SOTO GONZALEZ            ADDRESS ON FILE
ARNALDO SOTO SEPULVEDA           ADDRESS ON FILE
ARNALDO SUREN TORRES             ADDRESS ON FILE
ARNALDO TORREGROSA BULGALA       ADDRESS ON FILE
ARNALDO TORRES DELGADO           ADDRESS ON FILE
ARNALDO TORRES DIAZ              ADDRESS ON FILE
ARNALDO TORRES TORRES            ADDRESS ON FILE
ARNALDO VALENTIN VELENTIN        ADDRESS ON FILE
ARNALDO VARELA ROSARIO           ADDRESS ON FILE
ARNALDO VEGA VEGA                ADDRESS ON FILE
ARNALDO VELEZ VAZQUEZ            ADDRESS ON FILE
ARNALDO X RODRIGUEZ DROZ         ADDRESS ON FILE
ARNALDO X RODRIGUEZ DROZ         ADDRESS ON FILE
ARNALDY LOPEZ, ELBA N            ADDRESS ON FILE
ARNALDY PEREZ IRIZARRY           ADDRESS ON FILE




                                                                                                    Page 560 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 561 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARNALDYS SPA & BODY CARE         PO BOX 4835                                                                      CAROLINA     PR      00984
Arnau Aguilar, Angel L           ADDRESS ON FILE
Arnau Aguilar, Nelson            ADDRESS ON FILE
ARNAU FIGUEROA, WILFREDO         ADDRESS ON FILE
ARNAU NAZARIO, CARMEN L          ADDRESS ON FILE
ARNAU PEDRAZA, ISABEL            ADDRESS ON FILE
ARNAU RIVAS, GABRIEL             ADDRESS ON FILE
ARNAU RIVERA, ANA L              ADDRESS ON FILE
ARNAU RODRIGUEZ MD, NOEL         ADDRESS ON FILE
ARNAU RODRIGUEZ, LUZ C           ADDRESS ON FILE
ARNAU SERRANO, LUIS              ADDRESS ON FILE
ARNAU TRINIDAD, MADELINE         ADDRESS ON FILE
Arnau Valentin, Ciprian          ADDRESS ON FILE
ARNAU VALENTIN, CIPRIAN          ADDRESS ON FILE
ARNAU VIRUET, CRISTIAN JOSE      ADDRESS ON FILE
ARNAUD SUAREZ, WALDEMAR          ADDRESS ON FILE
Arnaud Valentin, Israel          ADDRESS ON FILE
ARNAUD VELEZ, JOEL               ADDRESS ON FILE
ARNEL E CRUZ HERNANDEZ           ADDRESS ON FILE
ARNER VARGAS GOMEZ               ADDRESS ON FILE
ARNHILDA BADIA                   ADDRESS ON FILE
ARNIELLA DOMINGUEZ, MONICA       ADDRESS ON FILE
ARNIELLA MORAYTA, CARLOS         ADDRESS ON FILE
ARNKIP CSP                       PO BOX 1441                                                                      UTUADO       PR      00641
ARNOL LUGO MENDEZ                ADDRESS ON FILE
ARNOLD A TROCHE PINA             ADDRESS ON FILE
ARNOLD ACEVEDO ACOSTA            ADDRESS ON FILE
ARNOLD D CORTES VELAZQUEZ        ADDRESS ON FILE
ARNOLD D ORTIZ LABOY             ADDRESS ON FILE
ARNOLD D RUIZ GUADARRAMA         ADDRESS ON FILE
ARNOLD D. CRESPO BADILLO         ADDRESS ON FILE
ARNOLD DANIEL CORTES VELAZQUEZ   ADDRESS ON FILE
ARNOLD E BENITEZ RIVERA          ADDRESS ON FILE
ARNOLD GARCIA MEDINA             ADDRESS ON FILE
ARNOLD GIL CARABALLO             ADDRESS ON FILE
ARNOLD MEDINA, ROBERT            ADDRESS ON FILE
ARNOLD ORTIZ MORALES             ADDRESS ON FILE
ARNOLD PINERO, MARLEES           ADDRESS ON FILE
ARNORES RIVERA MUNIZ             ADDRESS ON FILE
ARNY EMMANUEL FONTANEZ SALGADO   ADDRESS ON FILE
AROCA ROMERO, MANUEL             ADDRESS ON FILE
AROCHA LEON, EMELINDA            ADDRESS ON FILE
AROCHA MENDEZ, IVONNE N          ADDRESS ON FILE
AROCHE COLON, ADA I              ADDRESS ON FILE
AROCHE COLON, MARISOL            ADDRESS ON FILE
AROCHO ACEVEDO, ARACELIS         ADDRESS ON FILE
AROCHO ACEVEDO, EVA E            ADDRESS ON FILE
AROCHO ACEVEDO, LENITH ANNETTE   ADDRESS ON FILE
AROCHO ACEVEDO, MARIA L          ADDRESS ON FILE
AROCHO AGUAYO, ERIC              ADDRESS ON FILE
AROCHO ALBALADEJO, GIOVANNI      ADDRESS ON FILE
AROCHO ALMODOVAR, GABRIEL        ADDRESS ON FILE
AROCHO ALVARADO, MICHAEL         ADDRESS ON FILE
AROCHO ANAYA, CLAUDIO            ADDRESS ON FILE
AROCHO ANCIANI, ERICK            ADDRESS ON FILE
AROCHO ARCE, NAYDA LUZ           ADDRESS ON FILE
AROCHO AROCHO, BENEDICTA         ADDRESS ON FILE
Arocho Arocho, Brenda L          ADDRESS ON FILE
AROCHO AROCHO, EDIBERTO          ADDRESS ON FILE
AROCHO AROCHO, MIGUEL            ADDRESS ON FILE




                                                                             Page 561 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 562 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AROCHO AVILA, LUZ N.          ADDRESS ON FILE
AROCHO BERMUDEZ, REBECA       ADDRESS ON FILE
AROCHO BERRIOS, CARMEN M      ADDRESS ON FILE
AROCHO BERRIOS, CARMEN M      ADDRESS ON FILE
AROCHO BERRIOS, DAVID         ADDRESS ON FILE
AROCHO BORDOY, EULOGIO        ADDRESS ON FILE
AROCHO BURGOS, MIGUEL         ADDRESS ON FILE
AROCHO CAPARROS, ASTRID       ADDRESS ON FILE
AROCHO CAPARROS, WANDA I.     ADDRESS ON FILE
AROCHO CARDONA, HIRAM         ADDRESS ON FILE
AROCHO CARTY, LIBERTAD        ADDRESS ON FILE
Arocho Castro, Alberto        ADDRESS ON FILE
AROCHO CASTRO, ANIBAL         ADDRESS ON FILE
AROCHO CASTRO, EFRAIN         ADDRESS ON FILE
AROCHO COLON, AIDA A          ADDRESS ON FILE
AROCHO COLON, JAHAIRA         ADDRESS ON FILE
AROCHO COLON, JESSICA         ADDRESS ON FILE
AROCHO COLON, JOSE            ADDRESS ON FILE
AROCHO COLON, RAUL            ADDRESS ON FILE
AROCHO COLON, SONIA           ADDRESS ON FILE
AROCHO CORDERO, IRIS G        ADDRESS ON FILE
AROCHO CORDOVA, ABISAI        ADDRESS ON FILE
AROCHO CORREA, SONIA I        ADDRESS ON FILE
AROCHO CORTES, ENRIQUE        ADDRESS ON FILE
AROCHO CORTES, LUIS           ADDRESS ON FILE
AROCHO CORTES, LUIS A         ADDRESS ON FILE
AROCHO CRUZ, BERNADETTE       ADDRESS ON FILE
Arocho Cruz, Carlos J         ADDRESS ON FILE
AROCHO CRUZ, JESUS            ADDRESS ON FILE
Arocho Cruz, Juan             ADDRESS ON FILE
AROCHO CRUZ, JUAN             ADDRESS ON FILE
Arocho Cruz, Maria De Los A   ADDRESS ON FILE
AROCHO CRUZ, MELVA            ADDRESS ON FILE
Arocho Cruz, Milagros I       ADDRESS ON FILE
AROCHO DE DELGADO, EMMA J     ADDRESS ON FILE
AROCHO DE JESUS, KAREN        ADDRESS ON FILE
AROCHO DE JESUS, KAREN        ADDRESS ON FILE
AROCHO DE JESUS, YARITZA      ADDRESS ON FILE
AROCHO DE LEON, JESUS         ADDRESS ON FILE
AROCHO DE LEON, RAFAEL        ADDRESS ON FILE
AROCHO DE RAMIREZ, MAYRA      ADDRESS ON FILE
AROCHO DEGRO, REYMON E.       ADDRESS ON FILE
AROCHO DELGADO, JOSE          ADDRESS ON FILE
AROCHO DIAZ, ANIBAL           ADDRESS ON FILE
AROCHO DIAZ, NESTOR           ADDRESS ON FILE
AROCHO DIAZ, PEDRO J.         ADDRESS ON FILE
AROCHO ESTEVES, MARILYN       ADDRESS ON FILE
AROCHO FELICIANO, JOSE A      ADDRESS ON FILE
AROCHO FELIX, ANA T           ADDRESS ON FILE
AROCHO FELIX, ANA T.          ADDRESS ON FILE
AROCHO FERMAINT, HERMES Y     ADDRESS ON FILE
AROCHO FERNANDEZ, MARI        ADDRESS ON FILE
AROCHO FIGUEROA, ANGEL M.     ADDRESS ON FILE
AROCHO FIGUEROA, SAMUEL       ADDRESS ON FILE
AROCHO FONT, AWILDA L.        ADDRESS ON FILE
Arocho Font, Mario E          ADDRESS ON FILE
AROCHO GALAN, DAVID           ADDRESS ON FILE
AROCHO GARCIA, LUZ            ADDRESS ON FILE
AROCHO GARCIA, RUBEN          ADDRESS ON FILE
Arocho Gonzalez, Abel         ADDRESS ON FILE




                                                                          Page 562 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 563 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AROCHO GONZALEZ, ALVIN         ADDRESS ON FILE
AROCHO GONZALEZ, ANA C         ADDRESS ON FILE
AROCHO GONZALEZ, ANA M         ADDRESS ON FILE
AROCHO GONZALEZ, CARMEN M      ADDRESS ON FILE
AROCHO GONZALEZ, DENISSE       ADDRESS ON FILE
AROCHO GONZALEZ, EDWIN         ADDRESS ON FILE
AROCHO GONZALEZ, ELIAB         ADDRESS ON FILE
Arocho Gonzalez, Eliezer       ADDRESS ON FILE
AROCHO GONZALEZ, EMVER         ADDRESS ON FILE
AROCHO GONZALEZ, ENVER         ADDRESS ON FILE
Arocho Gonzalez, Harry         ADDRESS ON FILE
Arocho Gonzalez, Hector        ADDRESS ON FILE
AROCHO GONZALEZ, JESUS         ADDRESS ON FILE
AROCHO GONZALEZ, JORGE         ADDRESS ON FILE
AROCHO GONZALEZ, JORGE         ADDRESS ON FILE
AROCHO GONZALEZ, KARINA M      ADDRESS ON FILE
AROCHO GONZALEZ, LIZBETH       ADDRESS ON FILE
AROCHO GONZALEZ, LUIS A.       ADDRESS ON FILE
AROCHO GONZALEZ, MARCOS        ADDRESS ON FILE
AROCHO GONZALEZ, MIRTA M       ADDRESS ON FILE
AROCHO GONZALEZ, NANCY         ADDRESS ON FILE
AROCHO GONZALEZ, OSVALDO       ADDRESS ON FILE
AROCHO GONZALEZ, ROANCY        ADDRESS ON FILE
AROCHO GONZALEZ, RODNEY J.     ADDRESS ON FILE
AROCHO GONZALEZ, ROSA          ADDRESS ON FILE
AROCHO GONZALEZ, SHARON E      ADDRESS ON FILE
AROCHO GUZMAN, ANNETTE         ADDRESS ON FILE
AROCHO GUZMAN, CARLOS          ADDRESS ON FILE
AROCHO GUZMAN, DENISMAR        ADDRESS ON FILE
AROCHO GUZMAN, MIGUEL          ADDRESS ON FILE
AROCHO GUZMAN, SORIEL          ADDRESS ON FILE
AROCHO HERNANDEZ MD, LUIS E    ADDRESS ON FILE
AROCHO HERNANDEZ, BIENVENIDA   ADDRESS ON FILE
AROCHO HERNANDEZ, CARMEN       ADDRESS ON FILE
AROCHO HERNANDEZ, CYNTHIA      ADDRESS ON FILE
AROCHO HERNANDEZ, JOSE         ADDRESS ON FILE
AROCHO HERNANDEZ, JOSUE        ADDRESS ON FILE
AROCHO HERNANDEZ, MIGUEL       ADDRESS ON FILE
AROCHO HERNANDEZ, RENAN        ADDRESS ON FILE
AROCHO HERNANDEZ, RENE         ADDRESS ON FILE
AROCHO HERNANDEZ, SHAREGDA     ADDRESS ON FILE
AROCHO HERNANDEZ, VIVIAN       ADDRESS ON FILE
Arocho Hernandez, Vivian       ADDRESS ON FILE
Arocho Herrera, Ricardo R      ADDRESS ON FILE
Arocho Ingles, Fe              ADDRESS ON FILE
Arocho Irizarry, Edwin S       ADDRESS ON FILE
AROCHO IRIZARRY, LUZ H         ADDRESS ON FILE
Arocho Irizarry, Marcos C.     ADDRESS ON FILE
Arocho Irizarry, Miguel A      ADDRESS ON FILE
AROCHO JIMENEZ, ANTONIO        ADDRESS ON FILE
AROCHO JIMENEZ, EDNA I         ADDRESS ON FILE
Arocho Jimenez, Ismael         ADDRESS ON FILE
AROCHO JIMENEZ, ROBERTO        ADDRESS ON FILE
AROCHO JIMENEZ, WILLIAM        ADDRESS ON FILE
AROCHO LABOY, ANTONIO          ADDRESS ON FILE
AROCHO LABOY, FRANCISCO        ADDRESS ON FILE
AROCHO LAUREANO, KAREN M       ADDRESS ON FILE
AROCHO LLANTIN, JUAN L.        ADDRESS ON FILE
AROCHO LOPEZ, JOSE FRANCISCO   ADDRESS ON FILE
AROCHO LOPEZ, NILSA I          ADDRESS ON FILE




                                                                           Page 563 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 564 of 3500
                                                                                Creditor Matrix

Creditor Name                  Address1                          Address2                    Address3   Address4   City         State   PostalCode   Country
AROCHO LOPEZ, REBEKA           ADDRESS ON FILE
AROCHO LOPEZ, VALERIA          ADDRESS ON FILE
Arocho Lugo, Xavier Jose       ADDRESS ON FILE
AROCHO MALDONADO, CARMEN D     ADDRESS ON FILE
AROCHO MALDONADO, GLADYS       ADDRESS ON FILE
AROCHO MALDONADO, IVETTE       ADDRESS ON FILE
AROCHO MALDONADO, IVETTE       ADDRESS ON FILE
AROCHO MARTINEZ MD, VICTOR F   ADDRESS ON FILE
AROCHO MARTINEZ, ANIA          ADDRESS ON FILE
AROCHO MARTINEZ, CLARIBEL      ADDRESS ON FILE
AROCHO MARTINEZ, GILBERT       ADDRESS ON FILE
AROCHO MARTINEZ, MADELINE      ADDRESS ON FILE
AROCHO MARTINEZ, SONIA         ADDRESS ON FILE
AROCHO MATIAS, LUZ             ADDRESS ON FILE
AROCHO MEDINA, ALEX J.         ADDRESS ON FILE
AROCHO MEDINA, JESSICA         ADDRESS ON FILE
AROCHO MEDINA, JOHANA          ADDRESS ON FILE
Arocho Medina, Marangely       ADDRESS ON FILE
AROCHO MEDINA, MARANGELY       ADDRESS ON FILE
AROCHO MEJIAS, GUILLERMO       ADDRESS ON FILE
AROCHO MENDEZ, GRACE           ADDRESS ON FILE
Arocho Mendez, Rosita          ADDRESS ON FILE
AROCHO MERCADO, AIDA E         ADDRESS ON FILE
AROCHO MERCADO, LUZ            LCDA. LIZANNETTE MORALES CRESPO   PO BOX 5272                                       CAROLINA     PR      00984‐5272
AROCHO MERCADO, LUZ E          ADDRESS ON FILE
AROCHO MERCADO, LUZ E.         ADDRESS ON FILE
AROCHO MERCADO, MIRTA M        ADDRESS ON FILE
AROCHO MERCADO, NEREYDA        ADDRESS ON FILE
AROCHO MOLINA, DAMARIS         ADDRESS ON FILE
AROCHO MONTES, ARELIS I        ADDRESS ON FILE
AROCHO MORENO, SHARLYN         ADDRESS ON FILE
AROCHO MUNIZ, EMILIA           ADDRESS ON FILE
AROCHO NEGRON, ALEXIS          ADDRESS ON FILE
AROCHO NEGRON, ERNESTO         ADDRESS ON FILE
AROCHO NIEVES, BRUNILDA        ADDRESS ON FILE
AROCHO NIEVES, EMILIO          ADDRESS ON FILE
AROCHO NIEVES, ERMELINDA       ADDRESS ON FILE
AROCHO NIEVES, JOSHUA          ADDRESS ON FILE
AROCHO NIEVES, MARCELINO       ADDRESS ON FILE
AROCHO NIEVES, MARIA L.        ADDRESS ON FILE
AROCHO NIEVES, ROBERTO         ADDRESS ON FILE
AROCHO NIEVES, WILFREDO        ADDRESS ON FILE
AROCHO NIEVES, WILFREDO        ADDRESS ON FILE
AROCHO NUNEZ, ELIX S           ADDRESS ON FILE
AROCHO NUNEZ, HERENIA          ADDRESS ON FILE
AROCHO OCASIO, HECTOR          ADDRESS ON FILE
AROCHO ORTEGA, CARLOS          ADDRESS ON FILE
AROCHO ORTIZ, HECTOR           ADDRESS ON FILE
AROCHO ORTIZ, LUIS M           ADDRESS ON FILE
Arocho Ortiz, Nelson           ADDRESS ON FILE
AROCHO OZONA, JOSE E           ADDRESS ON FILE
AROCHO PADILLA, ERMELINDA      ADDRESS ON FILE
AROCHO PAGAN, GEOVANIE         ADDRESS ON FILE
AROCHO PAGAN, LUIS             ADDRESS ON FILE
AROCHO PENA, GLORIA E          ADDRESS ON FILE
AROCHO PENA, LISANDRA          ADDRESS ON FILE
AROCHO PENDAS, JULIO           ADDRESS ON FILE
AROCHO PENDAS, NORMANED        ADDRESS ON FILE
AROCHO PENDAS, SARELY DEL C    ADDRESS ON FILE
AROCHO PEREZ, ANA              ADDRESS ON FILE




                                                                               Page 564 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 565 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AROCHO PEREZ, ANA R           ADDRESS ON FILE
Arocho Perez, Carlos A.       ADDRESS ON FILE
AROCHO PEREZ, DAVID           ADDRESS ON FILE
AROCHO PEREZ, ELENA           ADDRESS ON FILE
Arocho Perez, Hector A        ADDRESS ON FILE
Arocho Perez, Isaias          ADDRESS ON FILE
AROCHO PEREZ, ROMAN           ADDRESS ON FILE
AROCHO PIRIS, EDGARDO         ADDRESS ON FILE
AROCHO PIRIS, LISANDRO        ADDRESS ON FILE
AROCHO QUILES, JOSE           ADDRESS ON FILE
AROCHO RAMIREZ, GLORINEL      ADDRESS ON FILE
AROCHO RAMIREZ, MIGDALIA      ADDRESS ON FILE
AROCHO RAMOS, DIANNE          ADDRESS ON FILE
AROCHO RAMOS, EVA             ADDRESS ON FILE
AROCHO RAMOS, MARITZA         ADDRESS ON FILE
AROCHO REPOLLET, MIRIAM       ADDRESS ON FILE
AROCHO REYES, AIXA            ADDRESS ON FILE
AROCHO RIOS, ANTHONY          ADDRESS ON FILE
AROCHO RIOS, LUZ DEL C        ADDRESS ON FILE
AROCHO RIOS, MIGUEL A         ADDRESS ON FILE
AROCHO RIOS, NYDIA            ADDRESS ON FILE
AROCHO RIVERA, AUREA          ADDRESS ON FILE
AROCHO RIVERA, AWILDA         ADDRESS ON FILE
AROCHO RIVERA, CARMEN         ADDRESS ON FILE
AROCHO RIVERA, DAMARIS        ADDRESS ON FILE
AROCHO RIVERA, DEBORAH        ADDRESS ON FILE
Arocho Rivera, Euclides       ADDRESS ON FILE
AROCHO RIVERA, HAYDEE         ADDRESS ON FILE
AROCHO RIVERA, JORGE          ADDRESS ON FILE
AROCHO RIVERA, MARIA DE L     ADDRESS ON FILE
AROCHO RIVERA, YARILIZ        ADDRESS ON FILE
AROCHO RODRIGUEZ, ALBERTO     ADDRESS ON FILE
AROCHO RODRIGUEZ, JENNIFFER   ADDRESS ON FILE
AROCHO RODRIGUEZ, JOSE        ADDRESS ON FILE
AROCHO RODRIGUEZ, JUANITA     ADDRESS ON FILE
AROCHO RODRIGUEZ, LUIS        ADDRESS ON FILE
AROCHO RODRIGUEZ, LUIS A.     ADDRESS ON FILE
AROCHO RODRIGUEZ, LUIS A.     ADDRESS ON FILE
AROCHO RODRIGUEZ, MIGUEL      ADDRESS ON FILE
AROCHO RODRIGUEZ, ROSA D      ADDRESS ON FILE
AROCHO RODRIGUEZ, ROSA D.     ADDRESS ON FILE
Arocho Rodriguez, William     ADDRESS ON FILE
AROCHO ROLDAN MD, ROBERTO     ADDRESS ON FILE
AROCHO ROLDAN, ROBERTO        ADDRESS ON FILE
AROCHO ROSA, KIARA            ADDRESS ON FILE
AROCHO ROSADO, AYMARA         ADDRESS ON FILE
AROCHO ROSADO, SONIA I        ADDRESS ON FILE
AROCHO ROSARIO, ANGEL         ADDRESS ON FILE
AROCHO RUIZ, LUCILA           ADDRESS ON FILE
AROCHO SALGADO, MIRELIS       ADDRESS ON FILE
Arocho Saltar, Carlos E.      ADDRESS ON FILE
Arocho Saltar, Osvaldo        ADDRESS ON FILE
AROCHO SALTAR, OSVALDO        ADDRESS ON FILE
AROCHO SANCHEZ, CARLOS        ADDRESS ON FILE
AROCHO SANCHEZ, IVETTE        ADDRESS ON FILE
AROCHO SANCHEZ, JOSE I        ADDRESS ON FILE
AROCHO SANCHEZ, JUAN          ADDRESS ON FILE
AROCHO SANCHEZ, MARIA Y       ADDRESS ON FILE
AROCHO SANCHEZ, MILDRED       ADDRESS ON FILE
AROCHO SANTIAGO, DANIEL       ADDRESS ON FILE




                                                                          Page 565 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 566 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City              State   PostalCode   Country
AROCHO SANTIAGO, JONATHAN           ADDRESS ON FILE
AROCHO SANTIAGO, LUIS               ADDRESS ON FILE
Arocho Santiago, Luis D.            ADDRESS ON FILE
AROCHO SANTIAGO, MAGDA              ADDRESS ON FILE
AROCHO SANTIAGO, NORMA              ADDRESS ON FILE
AROCHO SANTIAGO, RUTH               ADDRESS ON FILE
AROCHO SANTIAGO, VILMA              ADDRESS ON FILE
AROCHO SANTIAGO, VILMA              ADDRESS ON FILE
AROCHO SANTIAGO, WILFREDO           ADDRESS ON FILE
AROCHO SANTOS, CARMEN J             ADDRESS ON FILE
AROCHO SANTOS, ORLANDO              ADDRESS ON FILE
AROCHO SCHMIDT, NAHIR               ADDRESS ON FILE
AROCHO SEGUINOT, GLORIA A           ADDRESS ON FILE
AROCHO SERRANO, FRANCISCO A         ADDRESS ON FILE
AROCHO SERRANO, REYNALDO            ADDRESS ON FILE
AROCHO SOSA, JENNIFER L.            ADDRESS ON FILE
AROCHO SOTO, ANGEL                  ADDRESS ON FILE
Arocho Soto, Angel L                ADDRESS ON FILE
AROCHO SOTO, CELIDA E               ADDRESS ON FILE
AROCHO SOTO, EDITH M.               ADDRESS ON FILE
AROCHO SOTO, HECTOR                 ADDRESS ON FILE
AROCHO SOTO, JOSE H.                ADDRESS ON FILE
AROCHO SOTO, LILYBETH               ADDRESS ON FILE
AROCHO SOTO, OLGA E                 ADDRESS ON FILE
AROCHO SOTO, OSLEC                  ADDRESS ON FILE
AROCHO SUAREZ, FRANCISCO            ADDRESS ON FILE
AROCHO TOLEDO, NOEL                 ADDRESS ON FILE
Arocho Torres, Cesar M.             ADDRESS ON FILE
AROCHO TORRES, EDELMIRA             ADDRESS ON FILE
AROCHO TORRES, JULIO C              ADDRESS ON FILE
AROCHO TORRES, SANDRA I             ADDRESS ON FILE
AROCHO TOSADO, RUBEN                ADDRESS ON FILE
AROCHO TRANSPORT INC                HC 6 BOX 17491                                                                   SAN SEBASTIAN     PR      00685
AROCHO TRINIDAD, GRISELL M.         ADDRESS ON FILE
AROCHO TRUJILLO, MARILYN            ADDRESS ON FILE
AROCHO VALE MD, ANTONIO             ADDRESS ON FILE
AROCHO VALENTIN, CARLOS             ADDRESS ON FILE
Arocho Valentin, Juan C             ADDRESS ON FILE
AROCHO VALENTIN, ZULEYKA M          ADDRESS ON FILE
AROCHO VALLE, RICARDO               ADDRESS ON FILE
AROCHO VALLE, RICARDO               ADDRESS ON FILE
Arocho Vargas, Luis I.              ADDRESS ON FILE
AROCHO VEGA, BENJAMIN               ADDRESS ON FILE
Arocho Vega, Jose Ruben             ADDRESS ON FILE
AROCHO VELAZQ, BERNARDO             ADDRESS ON FILE
AROCHO VELAZQUEZ, EDNA E            ADDRESS ON FILE
AROCHO VELAZQUEZ, LUDITZA           ADDRESS ON FILE
AROCHO VELEZ DE OLIVARES, DIANA I   ADDRESS ON FILE
AROCHO VELEZ MD, JUAN R             ADDRESS ON FILE
AROCHO VELEZ, ALEXIS                ADDRESS ON FILE
AROCHO VELEZ, DAVID                 ADDRESS ON FILE
AROCHO VELEZ, DAVID                 ADDRESS ON FILE
AROCHO VELEZ, DORCAS                ADDRESS ON FILE
AROCHO VELEZ, DORCAS                ADDRESS ON FILE
AROCHO VELEZ, JOSE W                ADDRESS ON FILE
AROCHO VELEZ, LINDA E.              ADDRESS ON FILE
AROCHO VELEZ, NELIDA                ADDRESS ON FILE
AROCHO VELEZ, NORMA M               ADDRESS ON FILE
AROCHO VELEZ, RUBEN                 ADDRESS ON FILE
AROCHO VERA, AUREA                  ADDRESS ON FILE




                                                                                Page 566 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 567 of 3500
                                                                                                     Creditor Matrix

Creditor Name                            Address1                       Address2                                  Address3   Address4   City         State   PostalCode   Country
AROCHO VERA, ELIZABETH                   ADDRESS ON FILE
AROCHO VERA, FELIX                       ADDRESS ON FILE
AROCHO VERA, ISABEL                      ADDRESS ON FILE
AROCHO VIDAL, IRMA I                     ADDRESS ON FILE
AROCHO VILLANUEVA, EDGAR                 ADDRESS ON FILE
AROCHO ZENON, EDGAR                      ADDRESS ON FILE
AROCHO, EDIBERTO                         ADDRESS ON FILE
AROCHO, LAURA                            ADDRESS ON FILE
AROCHO, YAHAIRA                          ADDRESS ON FILE
ARODI I PEREZ MONFORT                    ADDRESS ON FILE
ARODIS SUAZO RANCIER                     ADDRESS ON FILE
AROLF PENA                               ADDRESS ON FILE
AROMA N. OCANA ROMAN                     ADDRESS ON FILE
AROMAS COFFEE HOUSE AND RESTAURANT CO VIEJO SAN JUAN                    101 CALLE TETUAN 201B                                           SAN JUAN     PR      00901
AROMAS TROPICALES                        PO BOX 270273                                                                                  SAN JUAN     PR      00927‐0273
ARONOV, DMITRIY                          ADDRESS ON FILE
ARONSON MCNALLY, ANNE E                  ADDRESS ON FILE
AROS & GOMAS INC                         PO BOX 362217                                                                                  SAN JUAN     PR      00936
AROS DE CONSTRUCCION HERNANDEZ           CARR.420 KM.2.2 BO VALADORES                                                                   MOCA         PR      13990
AROS EL OCHO INC                         PO BOX 8747                                                                                    BAYAMON      PR      00960‐8747
AROSEMENA MUNOZ, EDUARDO F               ADDRESS ON FILE
AROT VELAZQUEZ, TRAVIESO                 ADDRESS ON FILE
ARQ CDJ PSC                              PO BOX 29325                                                                                   SAN JUAN     PR      00929
ARQ JAIME SANTANA & ASSOC PROFESIONAL CO COND DEL PARQUE 403            PISO 2                                                          SAN JUAN     PR      00912
ARQUELIO SANTIAGO FELICIANO              ADDRESS ON FILE
ARQUELIO SANTIAGO FELICIANO              ADDRESS ON FILE
ARQUERON CARTAGENA, RENE                 ADDRESS ON FILE
ARQUINZONI ORTIZ, GLADYS                 ADDRESS ON FILE
ARQUITECTO VICENTE VAZQUEZ               URB CAPARRA HLS                I11 CALLE PICHIPEN                                              GUAYNABO     PR      00968‐3117
ARRAIZA ANTONMATTEI, ALEXIS              ADDRESS ON FILE
ARRAIZA ANTONMATTEI, ALEXIS J.           ADDRESS ON FILE
ARRAIZA CABAN MD, MARCOS                 ADDRESS ON FILE
ARRAIZA CABAN, MANLIO                    ADDRESS ON FILE
ARRAIZA CABAN, TANIA L.                  ADDRESS ON FILE
ARRAIZA DONATE, FRANCISCO                ADDRESS ON FILE
ARRAIZA GONZALEZ, CARMEN                 ADDRESS ON FILE
ARRAIZA GONZALEZ, CARMEN E.              ADDRESS ON FILE
ARRAIZA GONZALEZ, JOSE R                 ADDRESS ON FILE
ARRAIZA NAVAS, CARMINA DE LOS A.         ADDRESS ON FILE
ARRAIZA ROLON, LIZAIDA                   ADDRESS ON FILE
ARRARAS MIR, JOSE                        ADDRESS ON FILE
ARRAUT RAMIREZ MD, LUIS                  ADDRESS ON FILE
ARRAUT RAMIREZ, HARLEY                   ADDRESS ON FILE
ARRAUT RAMIREZ,HARLEY                    ADDRESS ON FILE
ARRAYA CAIPANE, CARLOS                   ADDRESS ON FILE
ARREAGA FIGUEROA, EDWIN                  ADDRESS ON FILE
ARREAGA MUNIZ, EDWIN AMAURY              ADDRESS ON FILE
ARREAGA MUNIZ, ELIZABETH                 ADDRESS ON FILE
ARREAGA VALENTIN, ANDY                   ADDRESS ON FILE
ARREAGA VALENTIN, MELVIN                 ADDRESS ON FILE
ARREAGA VALENTIN, OMAYRA                 ADDRESS ON FILE
ARREAGA VALENTIN, SAMMY D                ADDRESS ON FILE
ARRECHE ROSARIO, KENNETH                 ADDRESS ON FILE
ARREDONDO MATOS, ANGELA                  ADDRESS ON FILE
ARREDONDO SOTOMAYOR, VICTOR              ADDRESS ON FILE
ARREGOITIA DIAZ, KIMBERLY                ADDRESS ON FILE
ARREIZAGA ROJAS, ROBERTO                 ADDRESS ON FILE
ARREUS INC                               URB CROWN HLS                  138 AVE WINSTON CHURCHILL                                       SAN JUAN     PR      00926
Arriaga Barreto, Felix Jr                ADDRESS ON FILE
ARRIAGA CARRERA, WILFREDO                ADDRESS ON FILE




                                                                                                    Page 567 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 568 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARRIAGA CASTRO, YEISA E.            ADDRESS ON FILE
ARRIAGA CASTRO, YEISA ENID          ADDRESS ON FILE
ARRIAGA COLON, IVONNE D             ADDRESS ON FILE
ARRIAGA CORREA, CANDIDO             ADDRESS ON FILE
ARRIAGA CORREA, CANDIDO E.          ADDRESS ON FILE
ARRIAGA CORREA, CLARA               ADDRESS ON FILE
ARRIAGA CORREA, CLARA               ADDRESS ON FILE
ARRIAGA CRUZ, CARLOS                ADDRESS ON FILE
ARRIAGA FALCON, CARMEN              ADDRESS ON FILE
ARRIAGA FRANCIS, IRIS L             ADDRESS ON FILE
ARRIAGA GARCIA, ISABEL              ADDRESS ON FILE
ARRIAGA GOMEZ, RAMON                ADDRESS ON FILE
ARRIAGA MADURO, CHRISTIAN           ADDRESS ON FILE
ARRIAGA MALDONADO, YOLANDA E        ADDRESS ON FILE
ARRIAGA MARCANO,JEINY LEEN          ADDRESS ON FILE
ARRIAGA MEDINA, FRANLISHKA          ADDRESS ON FILE
ARRIAGA MORALES, GILBERTO           ADDRESS ON FILE
ARRIAGA MORALES, JUAN               ADDRESS ON FILE
ARRIAGA OCASIO, GLORIA M            ADDRESS ON FILE
ARRIAGA ONEILL, YARITZA             ADDRESS ON FILE
ARRIAGA O'NEILL,YARITZA             ADDRESS ON FILE
ARRIAGA ORTIZ, BENJAMIN             ADDRESS ON FILE
ARRIAGA PADILLA, EDWIN              ADDRESS ON FILE
ARRIAGA PELUYERA, MARIBEL           ADDRESS ON FILE
ARRIAGA PEREZ, ANNETTE H            ADDRESS ON FILE
ARRIAGA PEREZ, GLENDA L             ADDRESS ON FILE
ARRIAGA PEREZ, ZYDNIA A             ADDRESS ON FILE
ARRIAGA PINEIRO, RALPHY             ADDRESS ON FILE
ARRIAGA PIQEIRO, IDIBELL            ADDRESS ON FILE
ARRIAGA RAMOS, MARGARITA            ADDRESS ON FILE
ARRIAGA RAMOS, SARITA               ADDRESS ON FILE
ARRIAGA REYES, NATHANAEL            ADDRESS ON FILE
ARRIAGA RIOS, ADMARIE               ADDRESS ON FILE
ARRIAGA RIOS, ANTONIO               ADDRESS ON FILE
ARRIAGA RIOS, IRIS D                ADDRESS ON FILE
ARRIAGA RIVERA, ADELA               ADDRESS ON FILE
ARRIAGA RIVERA, GISSELLE            ADDRESS ON FILE
ARRIAGA RIVERA, JENNIFER N.         ADDRESS ON FILE
ARRIAGA RODRIGUEZ, ELIZABETH        ADDRESS ON FILE
ARRIAGA SANCHEZ, ALEXANDER          ADDRESS ON FILE
ARRIAGA SANTIAGO, RAMON             ADDRESS ON FILE
ARRIAGA TORRES, GILBERT             ADDRESS ON FILE
ARRIAGA TORRES, HECTOR              ADDRESS ON FILE
ARRIAGA TORRES, ROBERT              ADDRESS ON FILE
ARRIAGA TORRES, YOLISMARIE          ADDRESS ON FILE
ARRIAGA, MARTA                      ADDRESS ON FILE
ARRIBAS CRUZ, LINSKY                ADDRESS ON FILE
ARRIBAS CRUZ, RICARDO L.            ADDRESS ON FILE
ARRIBAS MUNIZ, DEIZA                ADDRESS ON FILE
ARRIBAS RIVERA, ANA J               ADDRESS ON FILE
ARRIBAS RIVERA, MARIA DEL           ADDRESS ON FILE
ARRIBAS RIVERA, MARIA DEL ROSARIO   ADDRESS ON FILE
ARRIBAS RIVERA, MYRIAM              ADDRESS ON FILE
ARRIBAS RIVERA, RICARDO J.          ADDRESS ON FILE
ARRIETA CEDO, MARIDELI              ADDRESS ON FILE
ARRIETA DE VIZCARRONDO, CARMEN      ADDRESS ON FILE
ARRIETA DIAZ, MILAGROS              ADDRESS ON FILE
ARRIETA HERNANDEZ, AURORA           ADDRESS ON FILE
ARRIETA IGARTUA MD, VICTOR          ADDRESS ON FILE
ARRIETA MALDONADO, LOIDA            ADDRESS ON FILE




                                                                                Page 568 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 569 of 3500
                                                                                            Creditor Matrix

Creditor Name                          Address1                   Address2                               Address3   Address4   City          State   PostalCode   Country
ARRIETA MORALES MD, FRANCISCO          ADDRESS ON FILE
ARRIETA ORTIZ, BELEN E.                ADDRESS ON FILE
ARRIETA PONTE, FRANCISCO               ADDRESS ON FILE
ARRIETA RAMOS, JUAN                    ADDRESS ON FILE
ARRIETA RAMOS, LIZA                    ADDRESS ON FILE
ARRIETA RAMOS, MARIANGELI              ADDRESS ON FILE
ARRIETA RAMOS, ROSIMARIE               ADDRESS ON FILE
ARRIETA RODRIGUEZ, CARLOS              ADDRESS ON FILE
ARRIETA RODRIGUEZ, EDUARDO             ADDRESS ON FILE
ARRIETA RODRIGUEZ, JESUS               ADDRESS ON FILE
ARRIETA RODRIGUEZ, LUIS A.             ADDRESS ON FILE
ARRIETA SANTA, ROSAMELYS               ADDRESS ON FILE
ARRIETA TAVAREZ, ZULMA                 ADDRESS ON FILE
ARRIETA VALDIVIA, POLA C               ADDRESS ON FILE
ARRIGA GONZALEZ, SANDRA                ADDRESS ON FILE
ARRIGOITIA RODRIGUEZ, JOSE             ADDRESS ON FILE
ARRIGOITIA ROJAS, CARMEN               ADDRESS ON FILE
ARRIGOITIA ROJAS, CARMEN E             ADDRESS ON FILE
ARRIGOITIA SOTO, YASHIRA L             ADDRESS ON FILE
ARRILLAGA & ARRILLAGA                  430 AVENIDA HOSTOS                                                                      HATO REY      PR      00918
ARRILLAGA ARMENDARIS, RICARDO          ADDRESS ON FILE
ARRILLAGA CASTRO, PEDRO                ADDRESS ON FILE
ARRILLAGA ESTRELLA, GUSTAVO            ADDRESS ON FILE
ARRILLAGA MONTALVO, CARLOS             ADDRESS ON FILE
ARRILLAGA MONTALVO, SANDRA             ADDRESS ON FILE
ARRILLAGA MONTALVO, SANDRA A           ADDRESS ON FILE
ARRILLAGA MONTALVO, SONIA              ADDRESS ON FILE
ARRILLAGA REYES, ILEN                  ADDRESS ON FILE
ARRILLAGA, JOSE E.                     ADDRESS ON FILE
ARRIQUENA GUZMAN                       ADDRESS ON FILE
ARRIVI SILVA, NATALIA                  ADDRESS ON FILE
ARRLLAGA ARMENDARIZ, RICARDO           ADDRESS ON FILE
ARROBA BELMONTE, ELIZABETH             ADDRESS ON FILE
ARROBA CARPIO MD, ARTURO               ADDRESS ON FILE
ARROCHO MEDINA, HECTOR                 ADDRESS ON FILE
ARROCHO RIVERA, ANA G                  ADDRESS ON FILE
ARROCHO SANTOS, JUAN                   ADDRESS ON FILE
ARROJO DE ARMAS, ANA                   ADDRESS ON FILE
ARROLLO NOVOA, DENNIS                  ADDRESS ON FILE
ARROWHEAD FORENSICS                    ATTN: SALES                11030 STRANG LINE RD                                         LENEXA        KS      66215
ARROWOOD INDEMNITY COMPANY             300 ARCO CORPORATE DRIVE                                                                CHARLOTTE     NC      28273
ARROYO MARTINEZ, CARMEN                ADDRESS ON FILE
ARROYO & FLORES CONSULTING GROUP INC   PMB 81                     PO BOX 3040                                                  GURABO        PR      00778‐3040
ARROYO & MONROUZEAU CSP                PONCE DE LEON 416          UNION PLAZA SUITE 1600                                       SAN JUAN      PR      00918‐3419
ARROYO ACEVEDO, BRENDA                 ADDRESS ON FILE
ARROYO ACEVEDO, EDWIN                  ADDRESS ON FILE
ARROYO ACEVEDO, HIRAM VICENTE          ADDRESS ON FILE
Arroyo Acevedo, Jose S                 ADDRESS ON FILE
ARROYO ACEVEDO, MILTON                 ADDRESS ON FILE
ARROYO ACEVEDO, SARA                   ADDRESS ON FILE
ARROYO ACOSTA, ANGELICA                ADDRESS ON FILE
ARROYO ACOSTA, GUMERSINDO              ADDRESS ON FILE
ARROYO ACOSTA, JAELMARIE               ADDRESS ON FILE
ARROYO ACOSTA, JULISSA                 ADDRESS ON FILE
ARROYO ACOSTA, SOLMARIE                ADDRESS ON FILE
ARROYO ADORNO, EDDIE                   ADDRESS ON FILE
ARROYO ADORNO, NOEMI                   ADDRESS ON FILE
ARROYO AGOSTO, IYAM                    ADDRESS ON FILE
Arroyo Agosto, Lucy                    ADDRESS ON FILE
ARROYO AGUAYO, RAFAEL                  ADDRESS ON FILE




                                                                                           Page 569 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 570 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO AGUILAR, ZORAIDA         ADDRESS ON FILE
ARROYO AGUIRRECHEA MD, LUIS     ADDRESS ON FILE
ARROYO AGUIRRECHEA, IVELISSE    ADDRESS ON FILE
ARROYO AGUIRRECHEA, IVELISSE    ADDRESS ON FILE
ARROYO ALBINO, ERIC             ADDRESS ON FILE
ARROYO ALBIZU, RITA             ADDRESS ON FILE
ARROYO ALEJANDRO, JAIME         ADDRESS ON FILE
ARROYO ALEMAN, MILTON           ADDRESS ON FILE
ARROYO ALEMAN, MILTON I         ADDRESS ON FILE
ARROYO ALEMANY, JOSE            ADDRESS ON FILE
ARROYO ALFONSO, DIGNA           ADDRESS ON FILE
ARROYO ALGARIN, CARMEN J        ADDRESS ON FILE
ARROYO ALGARIN, GILBERTO        ADDRESS ON FILE
ARROYO ALGORRI, LUIS            ADDRESS ON FILE
ARROYO ALICEA, ANGEL            ADDRESS ON FILE
ARROYO ALICEA, ANGEL            ADDRESS ON FILE
ARROYO ALICEA, EDITH Z          ADDRESS ON FILE
ARROYO ALICEA, EDNA             ADDRESS ON FILE
ARROYO ALICEA, YAHAIRA          ADDRESS ON FILE
ARROYO ALICEA, YOMAIRA          ADDRESS ON FILE
ARROYO ALOMAR, ROSA E.          ADDRESS ON FILE
ARROYO ALVARADO, ARMANDO        ADDRESS ON FILE
ARROYO ALVARADO, ELY E          ADDRESS ON FILE
ARROYO ALVARADO, JESSICA        ADDRESS ON FILE
ARROYO ALVARADO, WILMER         ADDRESS ON FILE
ARROYO ALVAREZ, LESLIE A        ADDRESS ON FILE
ARROYO ALVAREZ, LILLIAN         ADDRESS ON FILE
ARROYO ALVAREZ, RUTH D          ADDRESS ON FILE
ARROYO ALVARIO, NELSON          ADDRESS ON FILE
ARROYO AMADEO, GERSON           ADDRESS ON FILE
ARROYO AMEZQUITA, EDGAR         ADDRESS ON FILE
ARROYO ANDINO, ALBERTO          ADDRESS ON FILE
ARROYO ANDINO, ANA R            ADDRESS ON FILE
ARROYO ANDINO, MARIA M          ADDRESS ON FILE
ARROYO ANDRILLON, CHRISTOPHER   ADDRESS ON FILE
ARROYO ANDUJAR, LUIS            ADDRESS ON FILE
ARROYO APARICIO, AIDA J         ADDRESS ON FILE
ARROYO APONTE, JEANNETE         ADDRESS ON FILE
ARROYO APONTE, JOSE             ADDRESS ON FILE
ARROYO ARCE, XIOMARA            ADDRESS ON FILE
ARROYO AROCHO, ANGEL            ADDRESS ON FILE
ARROYO AROCHO, GLORYVETTE       ADDRESS ON FILE
Arroyo Arocho, Victor O         ADDRESS ON FILE
ARROYO ARROYO MD, RICARDO       ADDRESS ON FILE
Arroyo Arroyo, Alberto          ADDRESS ON FILE
ARROYO ARROYO, BLANCA           ADDRESS ON FILE
ARROYO ARROYO, CARMEN           ADDRESS ON FILE
ARROYO ARROYO, ENID             ADDRESS ON FILE
Arroyo Arroyo, Felix J          ADDRESS ON FILE
ARROYO ARROYO, GIL              ADDRESS ON FILE
ARROYO ARROYO, GUSTAVO L        ADDRESS ON FILE
ARROYO ARROYO, JEDITZA          ADDRESS ON FILE
ARROYO ARROYO, JOHAN            ADDRESS ON FILE
ARROYO ARROYO, KATHERINE        ADDRESS ON FILE
ARROYO ARROYO, LIZANDRA         ADDRESS ON FILE
ARROYO ARROYO, MANUEL           ADDRESS ON FILE
ARROYO ARROYO, MARIA            ADDRESS ON FILE
ARROYO ARROYO, MARIA A          ADDRESS ON FILE
ARROYO ARROYO, NORMA I          ADDRESS ON FILE
ARROYO ARROYO, RAMONA C         ADDRESS ON FILE




                                                                            Page 570 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 571 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City              State   PostalCode   Country
ARROYO ARROYO, ROBERTO                  ADDRESS ON FILE
ARROYO ARROYO, ZORAIDA                  ADDRESS ON FILE
ARROYO AUTO BODY                        HC 61 BOX 4890                                                                   TRUJILLO ALTO     PR      00976
ARROYO AVILES, JOSE                     ADDRESS ON FILE
ARROYO AVILES, MARGARITA                ADDRESS ON FILE
ARROYO AVILES, VICTOR M.                ADDRESS ON FILE
ARROYO AYALA, BLANCA I                  ADDRESS ON FILE
ARROYO AYALA, BRENDA                    ADDRESS ON FILE
ARROYO AYALA, CARLOS                    ADDRESS ON FILE
ARROYO AYALA, GISELA                    ADDRESS ON FILE
ARROYO AYALA, LEONIDES                  ADDRESS ON FILE
ARROYO AYALA, MARISOL                   ADDRESS ON FILE
ARROYO AYALA, NELSON                    ADDRESS ON FILE
ARROYO AYALA, SULLYVETTE                ADDRESS ON FILE
ARROYO BADILLO, AYXA I.                 ADDRESS ON FILE
Arroyo Baez, Jose A                     ADDRESS ON FILE
ARROYO BAEZ, OMAR                       ADDRESS ON FILE
ARROYO BECERRIL, DAMAR                  ADDRESS ON FILE
ARROYO BELEN, RANDY O                   ADDRESS ON FILE
ARROYO BELLIDO, ESTRELLA DEL A          ADDRESS ON FILE
ARROYO BELLIDO, PATRIA I.               ADDRESS ON FILE
ARROYO BELTRAN, JOSEFINA                ADDRESS ON FILE
ARROYO BENERO, MANUEL ALEJANDRO         ADDRESS ON FILE
ARROYO BENITEZ, MARIA C                 ADDRESS ON FILE
ARROYO BENITEZ, WANDA                   ADDRESS ON FILE
ARROYO BERMEJILLO, MARIA                ADDRESS ON FILE
ARROYO BERMEJILLO, MARIA DEL R.         ADDRESS ON FILE
ARROYO BERMUDEZ, ALBERTO                ADDRESS ON FILE
Arroyo Bermudez, Xavier R               ADDRESS ON FILE
ARROYO BERRIOS, GLORIA I                ADDRESS ON FILE
Arroyo Berrios, Magaly                  ADDRESS ON FILE
ARROYO BERRIOS, MARIA                   ADDRESS ON FILE
ARROYO BERRIOS, MARIA A.                ADDRESS ON FILE
ARROYO BERRIOS, ONIEL                   ADDRESS ON FILE
ARROYO BERRIOS, ROSA                    ADDRESS ON FILE
ARROYO BETANCOURT, LUZ I                ADDRESS ON FILE
ARROYO BOADA, MICHAEL                   ADDRESS ON FILE
Arroyo Boada, Michael                   ADDRESS ON FILE
ARROYO BOADA, RAUL                      ADDRESS ON FILE
ARROYO BOADA, RAUL                      ADDRESS ON FILE
ARROYO BODY REPAIR (ARROYO AUTO BODY)   HC‐61 BOX 4890                                                                   TRUJILLO ALTO     PR      00976
ARROYO BOLANOS, ALEXANDRA               ADDRESS ON FILE
ARROYO BOLANOS, MARCOS                  ADDRESS ON FILE
ARROYO BOLERIN, ANIBAL                  ADDRESS ON FILE
ARROYO BON, CLAUDIA                     ADDRESS ON FILE
Arroyo Bon, Claudia Alexandra           ADDRESS ON FILE
ARROYO BON, CRISTINA                    ADDRESS ON FILE
ARROYO BONHOME, CARLOS                  ADDRESS ON FILE
ARROYO BONHOME, CARLOS                  ADDRESS ON FILE
ARROYO BONHOME, CARLOS A                ADDRESS ON FILE
ARROYO BONILLA, ABIUD                   ADDRESS ON FILE
Arroyo Bonilla, Eliot                   ADDRESS ON FILE
ARROYO BONILLA, SADI                    ADDRESS ON FILE
ARROYO BORGES, HARLINDA                 ADDRESS ON FILE
ARROYO BORRERO, EVELYN                  ADDRESS ON FILE
ARROYO BORRERO, MAREXIS                 ADDRESS ON FILE
ARROYO BORRERO, NILSA                   ADDRESS ON FILE
Arroyo Borrero, Randy                   ADDRESS ON FILE
ARROYO BORRERO, RUTH D.                 ADDRESS ON FILE
ARROYO BOSCH MD, GLORIA E               ADDRESS ON FILE




                                                                                    Page 571 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 572 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Arroyo Bracero, Luis G.          ADDRESS ON FILE
ARROYO BRACERO, ROLANDO          ADDRESS ON FILE
ARROYO BRAS, PEDRO               ADDRESS ON FILE
ARROYO BRAS, PEDRO               ADDRESS ON FILE
ARROYO BRUNO, JESUS              ADDRESS ON FILE
ARROYO BRUNO, PEDRO              ADDRESS ON FILE
ARROYO BURGOS, ANGEL             ADDRESS ON FILE
ARROYO BURGOS, GERALDYN          ADDRESS ON FILE
ARROYO BURGOS, MARIA E           ADDRESS ON FILE
Arroyo Burgos, Valentin          ADDRESS ON FILE
ARROYO BURGOS, VANESSA           ADDRESS ON FILE
ARROYO BURGOS, VIDAL             ADDRESS ON FILE
ARROYO CALDERO, SONIA            ADDRESS ON FILE
ARROYO CALDERON, XAVIER          ADDRESS ON FILE
ARROYO CALDERON, YAMILET         ADDRESS ON FILE
ARROYO CALIXTO, LOURDES E        ADDRESS ON FILE
ARROYO CALIZ, ELIZABETH          ADDRESS ON FILE
Arroyo Camacho, Angel L          ADDRESS ON FILE
ARROYO CAMACHO, DENNIS           ADDRESS ON FILE
ARROYO CAMACHO, EVELYN           ADDRESS ON FILE
ARROYO CAMACHO, ISABEL I         ADDRESS ON FILE
Arroyo Camacho, Jose M           ADDRESS ON FILE
ARROYO CAMACHO, LUIS             ADDRESS ON FILE
ARROYO CAMACHO, LUZ M            ADDRESS ON FILE
ARROYO CAMACHO, LUZ N            ADDRESS ON FILE
ARROYO CAMACHO, MIREYA           ADDRESS ON FILE
ARROYO CAMACHO, RAFAEL E.        ADDRESS ON FILE
ARROYO CAMACHO, SARA             ADDRESS ON FILE
ARROYO CAMACHO, WANDA            ADDRESS ON FILE
ARROYO CAMACHO, ZAIDA S          ADDRESS ON FILE
ARROYO CAMUNAS, ANGEL            ADDRESS ON FILE
ARROYO CANALES, GLADYS N         ADDRESS ON FILE
ARROYO CANCEL, DANIEL            ADDRESS ON FILE
ARROYO CANDELARIO, ERTHY M       ADDRESS ON FILE
Arroyo Candelario, Jorge         ADDRESS ON FILE
Arroyo Cantres, Luis E           ADDRESS ON FILE
ARROYO CARABALLO, GASPAR         ADDRESS ON FILE
ARROYO CARBALLO, LUZ             ADDRESS ON FILE
ARROYO CARDONA, CARLOS           ADDRESS ON FILE
ARROYO CARDOZA, JOSE             ADDRESS ON FILE
ARROYO CARDOZA, MILDRED          ADDRESS ON FILE
ARROYO CARRASQUILLO, LOURDES I   ADDRESS ON FILE
ARROYO CARRASQUILLO, MARCOS      ADDRESS ON FILE
ARROYO CARRASQUILLO, YESENIA     ADDRESS ON FILE
ARROYO CARRERAS, HENRY           ADDRESS ON FILE
ARROYO CARRERO, CARLOS           ADDRESS ON FILE
ARROYO CARRION, MARIA J          ADDRESS ON FILE
ARROYO CASANOVA, MARIA L         ADDRESS ON FILE
ARROYO CASIANO, CARLOS           ADDRESS ON FILE
ARROYO CASIANO, CARMEN L.        ADDRESS ON FILE
ARROYO CASIANO, MARGARET         ADDRESS ON FILE
ARROYO CASIANO, MARGARET         ADDRESS ON FILE
ARROYO CASILLA, YUANNIE          ADDRESS ON FILE
ARROYO CASILLA, ZOEIDA           ADDRESS ON FILE
ARROYO CASILLAS, MYRNA M         ADDRESS ON FILE
ARROYO CASILLAS, WENDALISS       ADDRESS ON FILE
ARROYO CASTILLO, EDWIN           ADDRESS ON FILE
Arroyo Castillo, Edwin Nelson    ADDRESS ON FILE
ARROYO CASTILLO, NEILA M         ADDRESS ON FILE
ARROYO CASTILLO, YAMIRA          ADDRESS ON FILE




                                                                             Page 572 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 573 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO CASTRO, AMALID             ADDRESS ON FILE
ARROYO CASTRO, CARMELO            ADDRESS ON FILE
ARROYO CASTRO, JUAN A             ADDRESS ON FILE
ARROYO CASTRO, NETWIN             ADDRESS ON FILE
ARROYO CASTRO, TERESA             ADDRESS ON FILE
ARROYO CEDENO, FLOR L             ADDRESS ON FILE
ARROYO CHARNECO, MINERVA          ADDRESS ON FILE
ARROYO CHINEA, RAUL               ADDRESS ON FILE
ARROYO CHIQUES, ISRAEL            ADDRESS ON FILE
ARROYO CHIQUES, ISRAEL            ADDRESS ON FILE
ARROYO CINTRON, ALFRED            ADDRESS ON FILE
ARROYO CINTRON, ANIBAL J.         ADDRESS ON FILE
ARROYO CINTRON, DAVID             ADDRESS ON FILE
ARROYO CINTRON, GLADELYN          ADDRESS ON FILE
ARROYO CINTRON, MAGSEL            ADDRESS ON FILE
ARROYO CINTRON, RAMON             ADDRESS ON FILE
ARROYO CINTRON, ROBERTO A.        ADDRESS ON FILE
ARROYO CIRILO, CARMEN             ADDRESS ON FILE
ARROYO CLAUDIO, CARMELO           ADDRESS ON FILE
ARROYO CLAUDIO, HECTOR L          ADDRESS ON FILE
ARROYO CLAUDIO, HECTOR L.         ADDRESS ON FILE
ARROYO CLAUDIO, JAVIER            ADDRESS ON FILE
ARROYO CLAUDIO, JULIA             ADDRESS ON FILE
ARROYO CLAUDIO, MILDRED           ADDRESS ON FILE
ARROYO CLAUDIO, NITZARY           ADDRESS ON FILE
ARROYO COCHRAN, VANESSA           ADDRESS ON FILE
ARROYO COLLAZO, ANA C             ADDRESS ON FILE
ARROYO COLLAZO, YASIRIS           ADDRESS ON FILE
Arroyo Colomer, Jorge A.          ADDRESS ON FILE
ARROYO COLOMER, JORGE A.          ADDRESS ON FILE
ARROYO COLOMER, MARIA DE LOS A.   ADDRESS ON FILE
Arroyo Colomer, Maria De Los A.   ADDRESS ON FILE
ARROYO COLON, ADA IRMA            ADDRESS ON FILE
ARROYO COLON, ANTONIO             ADDRESS ON FILE
ARROYO COLON, ARELIS              ADDRESS ON FILE
ARROYO COLON, ARELIS              ADDRESS ON FILE
ARROYO COLON, CARLOS R.           ADDRESS ON FILE
ARROYO COLON, CARMEN G.           ADDRESS ON FILE
Arroyo Colon, Edil J              ADDRESS ON FILE
ARROYO COLON, EILEEN              ADDRESS ON FILE
ARROYO COLON, JORGE               ADDRESS ON FILE
ARROYO COLON, LOURDES             ADDRESS ON FILE
ARROYO COLON, LUZ E               ADDRESS ON FILE
ARROYO COLON, NALIMAR             ADDRESS ON FILE
ARROYO COLON, RAMON A.            ADDRESS ON FILE
ARROYO COLON, ROSARIO             ADDRESS ON FILE
ARROYO COLON, SHERLEEN            ADDRESS ON FILE
ARROYO COLON, SU AMY              ADDRESS ON FILE
ARROYO COLON, TOMAS A             ADDRESS ON FILE
ARROYO COLON, VICTOR              ADDRESS ON FILE
Arroyo Concepcion, Jesusa         ADDRESS ON FILE
ARROYO CONDE, ELBIN               ADDRESS ON FILE
ARROYO CONST                      PO BOX 35                                                                        ANASCO       PR      00610
ARROYO CONSTRUCTION               BO MARIAS                 CARR 402 KM 1 4                                        ANASCO       PR      00610
ARROYO CORA, EVA                  ADDRESS ON FILE
ARROYO CORA, EVA J.               ADDRESS ON FILE
ARROYO CORDERO, ALEXIS J          ADDRESS ON FILE
ARROYO CORDERO, BRENDALIZ         ADDRESS ON FILE
ARROYO CORDERO, GERARDO           ADDRESS ON FILE
ARROYO CORDERO, MICHAEL           ADDRESS ON FILE




                                                                              Page 573 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 574 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                      Address2                    Address3   Address4    City         State   PostalCode   Country
ARROYO CORIANO, MARCOS A      ADDRESS ON FILE
ARROYO CORONADO OFIC DENTAL   200 CALLE ANDRES A RIVERA E                                                      GURABO       PR      00778‐2701
ARROYO CORREA, WILDELIA       ADDRESS ON FILE
Arroyo Cortes, Carlos A.      ADDRESS ON FILE
ARROYO CORTES, EILEEN         ADDRESS ON FILE
ARROYO CORTES, JOSE           ADDRESS ON FILE
Arroyo Cortes, Ramon          ADDRESS ON FILE
ARROYO CORTES, VICTOR M       ADDRESS ON FILE
Arroyo Cortes, Yajaira        ADDRESS ON FILE
ARROYO COTTS, JUAN            ADDRESS ON FILE
ARROYO CRESPO, ALEXIS         ADDRESS ON FILE
ARROYO CRESPO, BRENDA LIZ     ADDRESS ON FILE
ARROYO CRESPO, ENID           ADDRESS ON FILE
ARROYO CRESPO, GERMAN         ADDRESS ON FILE
ARROYO CRESPO, GERMAN         ADDRESS ON FILE
ARROYO CRESPO, LESTER         ADDRESS ON FILE
ARROYO CRESPO, LEVI           ADDRESS ON FILE
ARROYO CRESPO, LIONEL         ADDRESS ON FILE
ARROYO CRESPO, LUZ            ADDRESS ON FILE
ARROYO CRESPO, NIXA E.        ADDRESS ON FILE
Arroyo Cruz, Abimael          ADDRESS ON FILE
Arroyo Cruz, Abner            ADDRESS ON FILE
ARROYO CRUZ, AMARILYS         ADDRESS ON FILE
ARROYO CRUZ, ANA MARTHA       ADDRESS ON FILE
ARROYO CRUZ, ANGEL A          ADDRESS ON FILE
ARROYO CRUZ, CARMEN A         ADDRESS ON FILE
ARROYO CRUZ, CARMEN E         ADDRESS ON FILE
ARROYO CRUZ, CYNTHIA          ADDRESS ON FILE
ARROYO CRUZ, FELIPE           ADDRESS ON FILE
ARROYO CRUZ, FRANCISCO        ADDRESS ON FILE
Arroyo Cruz, Irene            ADDRESS ON FILE
ARROYO CRUZ, JEAN             ADDRESS ON FILE
ARROYO CRUZ, JESSYMAR         ADDRESS ON FILE
ARROYO CRUZ, JESUS            ADDRESS ON FILE
ARROYO CRUZ, JOHANY           ADDRESS ON FILE
ARROYO CRUZ, JOSE H           ADDRESS ON FILE
ARROYO CRUZ, JULIO            ADDRESS ON FILE
ARROYO CRUZ, KENNETH          ADDRESS ON FILE
ARROYO CRUZ, LIZ M            ADDRESS ON FILE
ARROYO CRUZ, MAGALI           ADDRESS ON FILE
ARROYO CRUZ, MARICELY         ADDRESS ON FILE
ARROYO CRUZ, NATANAEL         ADDRESS ON FILE
ARROYO CRUZ, NEFTALI          ADDRESS ON FILE
ARROYO CRUZ, NERIXA           ADDRESS ON FILE
ARROYO CRUZ, NILSA            ADDRESS ON FILE
ARROYO CRUZ, RAFAEL           ADDRESS ON FILE
ARROYO CRUZ, SANDRA           ADDRESS ON FILE
ARROYO CRUZ,CARMELO           ADDRESS ON FILE
ARROYO CRUZ,JOSE A.           ADDRESS ON FILE
ARROYO CRUZADO, ELADIO        ADDRESS ON FILE
ARROYO CRUZADO, GERARDO       ADDRESS ON FILE
ARROYO CRUZADO, SARIBEL       ADDRESS ON FILE
ARROYO DAVILA, JOSE E         ADDRESS ON FILE
ARROYO DAVILA, LUCILA         ADDRESS ON FILE
ARROYO DAVILA, MARCO          ADDRESS ON FILE
ARROYO DAVILA, MARTIN         ADDRESS ON FILE
ARROYO DAVILA, SANDRA         ADDRESS ON FILE
ARROYO DE BERROCAL, LUZ A     ADDRESS ON FILE
ARROYO DE HOYOS, LUIS         ADDRESS ON FILE
ARROYO DE JESUS, ANGEL R.     ADDRESS ON FILE




                                                                          Page 574 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 575 of 3500
                                                                                              Creditor Matrix

Creditor Name                   Address1                    Address2                                       Address3                 Address4   City            State   PostalCode   Country
ARROYO DE JESUS, CARMENCITA     ADDRESS ON FILE
ARROYO DE JESUS, FRANCES        ADDRESS ON FILE
ARROYO DE JESUS, IRIS C         ADDRESS ON FILE
ARROYO DE JESUS, JAMIE C        ADDRESS ON FILE
ARROYO DE JESUS, JESMAR         ADDRESS ON FILE
ARROYO DE JESUS, JOEL           ADDRESS ON FILE
ARROYO DE JESUS, LUIS           ADDRESS ON FILE
ARROYO DE JESUS, LUIS           ADDRESS ON FILE
Arroyo De Jesus, Luis I.        ADDRESS ON FILE
ARROYO DE JESUS, LUIS O         ADDRESS ON FILE
Arroyo De Jesus, Luis O.        ADDRESS ON FILE
ARROYO DE LLITERAS, AIDA I      ADDRESS ON FILE
ARROYO DE TORO, JESSENIA        ADDRESS ON FILE
ARROYO DE TRAVERSO, GLADYS      ADDRESS ON FILE
ARROYO DEL CARMEN, RAFAEL       ADDRESS ON FILE
ARROYO DEL PILAR, RAFAEL        ADDRESS ON FILE
ARROYO DEL RIO MD, FERDINAND    ADDRESS ON FILE
ARROYO DEL RIO, FERDINAND       ADDRESS ON FILE
ARROYO DEL RIO, FERDINAND       ADDRESS ON FILE
ARROYO DEL RIO, RICARDO         ADDRESS ON FILE
ARROYO DEL VALLE, ANGELES       ADDRESS ON FILE
ARROYO DELESTRE, JOANNA E       ADDRESS ON FILE
ARROYO DELGADO, JOHANY          ADDRESS ON FILE
ARROYO DELGADO, JOSEPH          ADDRESS ON FILE
ARROYO DELGADO, LETICIA         ADDRESS ON FILE
ARROYO DELGADO, MARIA           ADDRESS ON FILE
ARROYO DIAZ MD, ANA I           ADDRESS ON FILE
ARROYO DIAZ, AGNES              ADDRESS ON FILE
ARROYO DIAZ, ALEXANDRA          ADDRESS ON FILE
ARROYO DIAZ, ANA                ADDRESS ON FILE
ARROYO DIAZ, ANA CELIZ          ADDRESS ON FILE
ARROYO DIAZ, ANA I              ADDRESS ON FILE
ARROYO DIAZ, BELKIS             ADDRESS ON FILE
ARROYO DIAZ, CARMEN             ADDRESS ON FILE
ARROYO DIAZ, HECTOR L           ADDRESS ON FILE
ARROYO DIAZ, IDALIA             ADDRESS ON FILE
ARROYO DIAZ, IVAN J.            ADDRESS ON FILE
ARROYO DIAZ, JAVIER             ADDRESS ON FILE
ARROYO DIAZ, JEFFREY            ADDRESS ON FILE
ARROYO DIAZ, LUCY               ADDRESS ON FILE
ARROYO DIAZ, LUIS               ADDRESS ON FILE
Arroyo Diaz, Luis A             ADDRESS ON FILE
ARROYO DIAZ, LUIS C             ADDRESS ON FILE
ARROYO DIAZ, MERCEDES           ADDRESS ON FILE
ARROYO DIAZ, MERCEDES           ADDRESS ON FILE
ARROYO DIAZ, MIGUEL             ADDRESS ON FILE
ARROYO DIAZ, MONICA             ADDRESS ON FILE
ARROYO DIAZ, TAVIA              ADDRESS ON FILE
ARROYO DIAZ, YANITZA            ADDRESS ON FILE
ARROYO DIAZ, YANITZA A.         ADDRESS ON FILE
ARROYO DISTRIBUTION GROUP INC   P O BOX 11                                                                                                     LAS PIEDRAS     PR      00771

ARROYO DOMINGUEZ, ENRIQUE       LUIS E. GERVITZ CARBONELL   EDIF. NATIONAL PLAZA OFIC. 1607                431 AVE. Ponce DE LEON              SAN JUAN        PR      00917
ARROYO DONES, JANISSE           ADDRESS ON FILE
ARROYO DONES, YANISSE           ADDRESS ON FILE
ARROYO DUMENG, EILEEN A         ADDRESS ON FILE
ARROYO ECHEVARRIA, CARLOS       ADDRESS ON FILE
ARROYO ECHEVARRIA, ENIDSA I     ADDRESS ON FILE
ARROYO ECHEVARRIA, JAVIER       ADDRESS ON FILE
ARROYO ECHEVARRIA, JOSE         ADDRESS ON FILE




                                                                                          Page 575 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 576 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO ECHEVARRIA, XAVIER        ADDRESS ON FILE
ARROYO ECHEVERRIA, MARIA I       ADDRESS ON FILE
ARROYO EMMANUELLI, RAMON         ADDRESS ON FILE
ARROYO ESCALERA, CYNTHIA         ADDRESS ON FILE
ARROYO ESPADA, ROSALIA           ADDRESS ON FILE
ARROYO ESTARELLAS, GLORIBELLE    ADDRESS ON FILE
ARROYO ESTEVES, ANOSHKA          ADDRESS ON FILE
ARROYO ESTRADA, NILDA L          ADDRESS ON FILE
ARROYO ESTREMERA, CARLOS         ADDRESS ON FILE
ARROYO FALERO, MARIA E           ADDRESS ON FILE
ARROYO FARGAS, MARCELINO         ADDRESS ON FILE
ARROYO FARIA, YAZMIN             ADDRESS ON FILE
ARROYO FELICIANO, EDWIN          ADDRESS ON FILE
ARROYO FELICIANO, EMMELINA       ADDRESS ON FILE
ARROYO FELICIANO, JESUS M        ADDRESS ON FILE
ARROYO FELICIANO, JOSE E         ADDRESS ON FILE
ARROYO FELICIANO, MAYTE          ADDRESS ON FILE
ARROYO FELICIANO, MIGUEL         ADDRESS ON FILE
ARROYO FELICIANO, NELIDA         ADDRESS ON FILE
ARROYO FELICIANO, SERAPIA M      ADDRESS ON FILE
ARROYO FELICIANO,ELPIDI          ADDRESS ON FILE
ARROYO FERNANDEZ MD, ANGEL       ADDRESS ON FILE
ARROYO FERNANDEZ, ANGEL          ADDRESS ON FILE
ARROYO FERNANDEZ, AWILDA         ADDRESS ON FILE
ARROYO FERNANDEZ, BENITA         ADDRESS ON FILE
ARROYO FERNANDEZ, JANNETTE       ADDRESS ON FILE
ARROYO FERNANDEZ, LUIS           ADDRESS ON FILE
ARROYO FERNANDEZ, LUIS A.        ADDRESS ON FILE
ARROYO FERNANDEZ, LUZ C          ADDRESS ON FILE
ARROYO FERNANDEZ, MARIA A        ADDRESS ON FILE
ARROYO FERNANDEZ, MARIA M.       ADDRESS ON FILE
ARROYO FERNANDEZ, MARITZA        ADDRESS ON FILE
ARROYO FERNANDEZ, RAUL OSVALDO   ADDRESS ON FILE
ARROYO FERRER, ANGEL             ADDRESS ON FILE
ARROYO FERRER, DAVID             ADDRESS ON FILE
ARROYO FERRER, EDDIE             ADDRESS ON FILE
ARROYO FERRER, MARIA I           ADDRESS ON FILE
Arroyo Ferrer, Maria I           ADDRESS ON FILE
ARROYO FIGUEROA, AIDA L          ADDRESS ON FILE
ARROYO FIGUEROA, BRYAN J.        ADDRESS ON FILE
ARROYO FIGUEROA, CARLOS          ADDRESS ON FILE
ARROYO FIGUEROA, CARMEN          ADDRESS ON FILE
ARROYO FIGUEROA, CARMEN          ADDRESS ON FILE
ARROYO FIGUEROA, CHARLIE         ADDRESS ON FILE
ARROYO FIGUEROA, CHRISTIAN       ADDRESS ON FILE
ARROYO FIGUEROA, ELIAS           ADDRESS ON FILE
ARROYO FIGUEROA, FELIX           ADDRESS ON FILE
ARROYO FIGUEROA, GLENDALY        ADDRESS ON FILE
ARROYO FIGUEROA, ILSA M          ADDRESS ON FILE
ARROYO FIGUEROA, JANICE A        ADDRESS ON FILE
ARROYO FIGUEROA, JULIO A         ADDRESS ON FILE
Arroyo Figueroa, Luciano         ADDRESS ON FILE
ARROYO FIGUEROA, LUIS            ADDRESS ON FILE
ARROYO FIGUEROA, MARIA           ADDRESS ON FILE
ARROYO FIGUEROA, MARIELIZ        ADDRESS ON FILE
ARROYO FIGUEROA, MARILYN         ADDRESS ON FILE
ARROYO FIGUEROA, MIZAEL          ADDRESS ON FILE
ARROYO FIGUEROA, RAFAEL          ADDRESS ON FILE
Arroyo Figueroa, Ramon A         ADDRESS ON FILE
ARROYO FIGUEROA, REY             ADDRESS ON FILE




                                                                             Page 576 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 577 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Arroyo Figueroa, Robinson         ADDRESS ON FILE
ARROYO FIGUEROA, ROBINSON         ADDRESS ON FILE
ARROYO FIGUEROA, WIDALYS          ADDRESS ON FILE
ARROYO FIGUEROA, WIDALYS E        ADDRESS ON FILE
ARROYO FIGUEROA, WILMIRETTE       ADDRESS ON FILE
ARROYO FLORES, EDGAR NOEL         ADDRESS ON FILE
ARROYO FLORES, MARA               ADDRESS ON FILE
ARROYO FLORES, YAZMIN             ADDRESS ON FILE
ARROYO FLORES, ZAHIANY            ADDRESS ON FILE
ARROYO FONSECA, CATALINO          ADDRESS ON FILE
ARROYO FONSECA, ELLIOT            ADDRESS ON FILE
ARROYO FONSECA, FELIPE            ADDRESS ON FILE
ARROYO FONSECA, IVAN              ADDRESS ON FILE
ARROYO FONSECA, JOSEFA            ADDRESS ON FILE
ARROYO FONSECA, JOSEFA M          ADDRESS ON FILE
ARROYO FONTANEZ, LOVERYN          ADDRESS ON FILE
ARROYO FRADERA, CECYHERI          ADDRESS ON FILE
ARROYO FRANCO, RICARDO            ADDRESS ON FILE
ARROYO FRANQUI, GEANETTE          ADDRESS ON FILE
ARROYO FRANQUI, LUIS              ADDRESS ON FILE
ARROYO FRANQUI, LUZ E             ADDRESS ON FILE
Arroyo Fratichelli, Carlos M.     ADDRESS ON FILE
ARROYO FRED, RAMON                ADDRESS ON FILE
ARROYO FREYTES, CARLOS            ADDRESS ON FILE
ARROYO FUENTES, ALEXANDER         ADDRESS ON FILE
ARROYO FUENTES, DANIEL            ADDRESS ON FILE
ARROYO FUENTES, IVETTE E          ADDRESS ON FILE
ARROYO FUENTES, NYDIA             ADDRESS ON FILE
ARROYO GALARZA, EVANGELINE        ADDRESS ON FILE
ARROYO GALARZA, FITZPATRICK       ADDRESS ON FILE
ARROYO GALARZA, FRANCISCA         ADDRESS ON FILE
ARROYO GALARZA, IVONNE            ADDRESS ON FILE
ARROYO GALARZA, JESSENIA          ADDRESS ON FILE
Arroyo Galarza, Josue             ADDRESS ON FILE
ARROYO GALARZA, LUCY I.           ADDRESS ON FILE
ARROYO GARCIA, ERICK M            ADDRESS ON FILE
ARROYO GARCIA, FELIX              ADDRESS ON FILE
ARROYO GARCIA, HERIBERTO          ADDRESS ON FILE
ARROYO GARCIA, JESUS              ADDRESS ON FILE
ARROYO GARCIA, MARIA DE LOURDES   ADDRESS ON FILE
ARROYO GARCIA, NANCY              ADDRESS ON FILE
ARROYO GARCIA, NANCY              ADDRESS ON FILE
ARROYO GARCIA, OLGA               ADDRESS ON FILE
ARROYO GARCIA, OLGA L             ADDRESS ON FILE
ARROYO GARCIA, RAFAEL             ADDRESS ON FILE
ARROYO GARCIA, WILLIAM            ADDRESS ON FILE
ARROYO GELABERT, JOSE A           ADDRESS ON FILE
ARROYO GELABERT, RAMON A.         ADDRESS ON FILE
ARROYO GERENA, EVETTE             ADDRESS ON FILE
ARROYO GIRONA, EMMANUEL           ADDRESS ON FILE
ARROYO GIRONA, EMMANUEL           ADDRESS ON FILE
ARROYO GOMEZ, ARMINDA             ADDRESS ON FILE
ARROYO GOMEZ, BLANCA              ADDRESS ON FILE
ARROYO GOMEZ, JOSE                ADDRESS ON FILE
ARROYO GOMEZ, KEILA M             ADDRESS ON FILE
Arroyo Gomez, Miguel A            ADDRESS ON FILE
ARROYO GONZALEZ, ALVIN            ADDRESS ON FILE
ARROYO GONZALEZ, ANDRES           ADDRESS ON FILE
ARROYO GONZALEZ, ANGEL            ADDRESS ON FILE
ARROYO GONZALEZ, ANGEL M          ADDRESS ON FILE




                                                                              Page 577 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 578 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO GONZALEZ, ANGEL R.       ADDRESS ON FILE
ARROYO GONZALEZ, ANTONIA        ADDRESS ON FILE
ARROYO GONZALEZ, AURACELIS      ADDRESS ON FILE
ARROYO GONZALEZ, AURELIO        ADDRESS ON FILE
ARROYO GONZALEZ, CARMEN LUISA   ADDRESS ON FILE
ARROYO GONZALEZ, CARMEN M       ADDRESS ON FILE
ARROYO GONZALEZ, CELIAURI       ADDRESS ON FILE
ARROYO GONZALEZ, CESAR M.       ADDRESS ON FILE
ARROYO GONZALEZ, CESAR M.       ADDRESS ON FILE
ARROYO GONZALEZ, CLARA M        ADDRESS ON FILE
ARROYO GONZALEZ, EDWIN          ADDRESS ON FILE
ARROYO GONZALEZ, EVELYN         ADDRESS ON FILE
ARROYO GONZALEZ, FERNANDO       ADDRESS ON FILE
ARROYO GONZALEZ, GUILLERMO E    ADDRESS ON FILE
ARROYO GONZALEZ, HENRY          ADDRESS ON FILE
ARROYO GONZALEZ, IRMA I.        ADDRESS ON FILE
ARROYO GONZALEZ, JANET          ADDRESS ON FILE
ARROYO GONZALEZ, JENNIFER       ADDRESS ON FILE
ARROYO GONZALEZ, JORGE          ADDRESS ON FILE
ARROYO GONZALEZ, JORGE A.       ADDRESS ON FILE
ARROYO GONZALEZ, JOSE E         ADDRESS ON FILE
ARROYO GONZALEZ, JOSUE          ADDRESS ON FILE
ARROYO GONZALEZ, KEILA M        ADDRESS ON FILE
ARROYO GONZALEZ, KELLYN         ADDRESS ON FILE
ARROYO GONZALEZ, LOUIS          ADDRESS ON FILE
ARROYO GONZALEZ, LUIS           ADDRESS ON FILE
ARROYO GONZALEZ, MAGDALENA      ADDRESS ON FILE
ARROYO GONZALEZ, MARIA E        ADDRESS ON FILE
ARROYO GONZALEZ, MARISOL        ADDRESS ON FILE
ARROYO GONZALEZ, MARVIN         ADDRESS ON FILE
ARROYO GONZALEZ, MIRIAM         ADDRESS ON FILE
ARROYO GONZALEZ, NILDA          ADDRESS ON FILE
ARROYO GONZALEZ, OLGA           ADDRESS ON FILE
ARROYO GONZALEZ, RAYMOND        ADDRESS ON FILE
ARROYO GONZALEZ, RUTH M         ADDRESS ON FILE
ARROYO GONZALEZ, SARA           ADDRESS ON FILE
ARROYO GONZALEZ, YADIRA         ADDRESS ON FILE
ARROYO GRACIA, ANA E            ADDRESS ON FILE
ARROYO GRACIA, ENRIQUETA        ADDRESS ON FILE
ARROYO GRANIELA, AMILCAR        ADDRESS ON FILE
Arroyo Graniela, Evelyn         ADDRESS ON FILE
ARROYO GRANIELA, LUZ I          ADDRESS ON FILE
ARROYO GRANIELA, VIRGEN         ADDRESS ON FILE
ARROYO GRAULAU, CARLOS E.       ADDRESS ON FILE
ARROYO GUADALUPE, MILAGROS      ADDRESS ON FILE
Arroyo Guadalupe, Orlando       ADDRESS ON FILE
ARROYO GUADALUPE, ORLANDO       ADDRESS ON FILE
ARROYO GUERRA, MARIA T.         ADDRESS ON FILE
ARROYO GUILBE, INGRIS D         ADDRESS ON FILE
ARROYO GUTIERREZ, RAUL L        ADDRESS ON FILE
ARROYO GUZMAN, ALBA             ADDRESS ON FILE
ARROYO GUZMAN, ANIBAL           ADDRESS ON FILE
ARROYO GUZMAN, CARLOS D         ADDRESS ON FILE
ARROYO GUZMAN, GILBERTO         ADDRESS ON FILE
ARROYO GUZMAN, MARGARITA        ADDRESS ON FILE
ARROYO GUZMAN, SONIA N          ADDRESS ON FILE
ARROYO GUZMAN, SOR M            ADDRESS ON FILE
ARROYO HATCH, JORGE             ADDRESS ON FILE
ARROYO HEREDIA, MARGARITA       ADDRESS ON FILE
ARROYO HERNANDEZ, ANGEL         ADDRESS ON FILE




                                                                            Page 578 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 579 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO HERNANDEZ, ANGEL        ADDRESS ON FILE
ARROYO HERNANDEZ, DANIEL       ADDRESS ON FILE
ARROYO HERNANDEZ, ELIZABETH    ADDRESS ON FILE
Arroyo Hernandez, Johanne      ADDRESS ON FILE
ARROYO HERNANDEZ, JOSE         ADDRESS ON FILE
ARROYO HERNANDEZ, JOSE A.      ADDRESS ON FILE
ARROYO HERNANDEZ, JOSE A.      ADDRESS ON FILE
ARROYO HERNANDEZ, JUAN         ADDRESS ON FILE
ARROYO HERNANDEZ, JULIARIS N   ADDRESS ON FILE
ARROYO HERNANDEZ, LESBIA       ADDRESS ON FILE
ARROYO HERNANDEZ, LUIS C       ADDRESS ON FILE
ARROYO HERNANDEZ, MAGDIER      ADDRESS ON FILE
ARROYO HERNANDEZ, MARIA        ADDRESS ON FILE
ARROYO HERNANDEZ, ORLANDO      ADDRESS ON FILE
ARROYO HERNANDEZ, RUTH S       ADDRESS ON FILE
ARROYO HERNANDEZ, SANDRA       ADDRESS ON FILE
ARROYO HERNANDEZ,KATIRIA       ADDRESS ON FILE
ARROYO HERRERA, JOSE           ADDRESS ON FILE
ARROYO HEUREAUX, JORGE         ADDRESS ON FILE
ARROYO HILERIO, ILIANA         ADDRESS ON FILE
ARROYO HILERIO, ILIANA         ADDRESS ON FILE
ARROYO IRIZARRY, CHRISTIAN     ADDRESS ON FILE
ARROYO IRIZARRY, FAUSTO        ADDRESS ON FILE
ARROYO IRIZARRY, FAUSTO        ADDRESS ON FILE
ARROYO IRIZARRY, LILLIAN       ADDRESS ON FILE
ARROYO IRIZARRY, SANDRO        ADDRESS ON FILE
ARROYO IZCUE, CARLOS           ADDRESS ON FILE
ARROYO JARA, GONZALO           ADDRESS ON FILE
ARROYO JIMENEZ, ADA            ADDRESS ON FILE
ARROYO JIMENEZ, BRENDA         ADDRESS ON FILE
ARROYO JIMENEZ, JOEL           ADDRESS ON FILE
ARROYO JIMENEZ, SASHA          ADDRESS ON FILE
ARROYO JIMENEZ, SASHA A        ADDRESS ON FILE
ARROYO JORDAN, CHRIST M        ADDRESS ON FILE
ARROYO JORGE, NATHANIEL        ADDRESS ON FILE
ARROYO JUSINO, CAMILA          ADDRESS ON FILE
ARROYO JUSINO, PETRIBEL        ADDRESS ON FILE
ARROYO KATHLEEN, E             ADDRESS ON FILE
ARROYO LANDAN, ORLANDO         ADDRESS ON FILE
ARROYO LANDAN, ORLANDO         ADDRESS ON FILE
ARROYO LARACUENTE, ROGER       ADDRESS ON FILE
ARROYO LARACUENTE,ROGER        ADDRESS ON FILE
ARROYO LAUREANO, CARMEN I      ADDRESS ON FILE
ARROYO LAUREANO, LYDIA E       ADDRESS ON FILE
ARROYO LEBRON MD, FERDINAND    ADDRESS ON FILE
ARROYO LEBRON, AWILDA          ADDRESS ON FILE
ARROYO LEBRON, FORTUNATA       ADDRESS ON FILE
ARROYO LEBRON, ILEANEXIS       ADDRESS ON FILE
ARROYO LEBRON, JANESSA         ADDRESS ON FILE
ARROYO LEBRON, PEDRO J         ADDRESS ON FILE
ARROYO LEBRON, PEDRO J         ADDRESS ON FILE
ARROYO LEBRON, SANDRA          ADDRESS ON FILE
ARROYO LEBRON, WANDA           ADDRESS ON FILE
ARROYO LECHUGA, ORIETTA        ADDRESS ON FILE
ARROYO LEDEE, ARACELIA         ADDRESS ON FILE
ARROYO LEDEE, CARMEN O         ADDRESS ON FILE
ARROYO LEON, JOSSE G           ADDRESS ON FILE
ARROYO LEON, JULIO L           ADDRESS ON FILE
ARROYO LEON, PABLO             ADDRESS ON FILE
ARROYO LEON, RICARDO           ADDRESS ON FILE




                                                                           Page 579 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 580 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO LEVIS, JULIO C.       ADDRESS ON FILE
ARROYO LOPEZ MD, ERNESTO     ADDRESS ON FILE
ARROYO LOPEZ, ANDELMO        ADDRESS ON FILE
ARROYO LOPEZ, CONSUELO       ADDRESS ON FILE
ARROYO LOPEZ, DIANE          ADDRESS ON FILE
ARROYO LOPEZ, GLADYS         ADDRESS ON FILE
ARROYO LOPEZ, HECTOR A       ADDRESS ON FILE
ARROYO LOPEZ, IVELISSE       ADDRESS ON FILE
ARROYO LOPEZ, JOAN           ADDRESS ON FILE
ARROYO LOPEZ, JOSE           ADDRESS ON FILE
ARROYO LOPEZ, LAURA          ADDRESS ON FILE
ARROYO LOPEZ, LAURA          ADDRESS ON FILE
ARROYO LOPEZ, MARCUS         ADDRESS ON FILE
ARROYO LOPEZ, MARGARITA      ADDRESS ON FILE
ARROYO LOPEZ, MAYRA DEL C.   ADDRESS ON FILE
ARROYO LOPEZ, MIGUEL         ADDRESS ON FILE
ARROYO LOPEZ, MIGUEL         ADDRESS ON FILE
ARROYO LOPEZ, MILAGROS       ADDRESS ON FILE
ARROYO LOPEZ, MYRNA          ADDRESS ON FILE
ARROYO LOPEZ, NANCY          ADDRESS ON FILE
ARROYO LOPEZ, NELSON         ADDRESS ON FILE
ARROYO LOPEZ, NORBERTO       ADDRESS ON FILE
ARROYO LOPEZ, SONIA A.       ADDRESS ON FILE
ARROYO LOPEZ, VIRGINIA       ADDRESS ON FILE
ARROYO LOPEZ, WILMARY        ADDRESS ON FILE
ARROYO LOPEZ, YAMARIS        ADDRESS ON FILE
ARROYO LOYOLA, WANDILU       ADDRESS ON FILE
ARROYO LOZADA, IRMA          ADDRESS ON FILE
ARROYO LOZADA, JOEL L.       ADDRESS ON FILE
ARROYO LOZADA, JOEL L.       ADDRESS ON FILE
Arroyo Luccioni, Jonathan    ADDRESS ON FILE
ARROYO LUCENA, LUZ N         ADDRESS ON FILE
ARROYO LUGARO, AYDEE         ADDRESS ON FILE
ARROYO LUGO, LAURA B.        ADDRESS ON FILE
ARROYO LUGO, LUIS            ADDRESS ON FILE
ARROYO LUGO, MARIBETH        ADDRESS ON FILE
ARROYO LUGO, SHIRLEY B       ADDRESS ON FILE
ARROYO LUGO, WANDA           ADDRESS ON FILE
ARROYO MACHUCA, NILDA        ADDRESS ON FILE
ARROYO MALAVE, CORALIS       ADDRESS ON FILE
ARROYO MALAVE, MARIE         ADDRESS ON FILE
ARROYO MALDONADO, ANGEL L    ADDRESS ON FILE
ARROYO MALDONADO, BRENDA L   ADDRESS ON FILE
ARROYO MALDONADO, CARMEN     ADDRESS ON FILE
ARROYO MALDONADO, CESAR      ADDRESS ON FILE
ARROYO MALDONADO, DAMARYS    ADDRESS ON FILE
ARROYO MALDONADO, DESIREE    ADDRESS ON FILE
ARROYO MALDONADO, EDWIN      ADDRESS ON FILE
ARROYO MALDONADO, MIGUEL G   ADDRESS ON FILE
ARROYO MALDONADO, RICKY      ADDRESS ON FILE
ARROYO MALDONADO, VIVIAN     ADDRESS ON FILE
ARROYO MALDONADO, VIVIAN     ADDRESS ON FILE
ARROYO MALDONADO, WANDA I    ADDRESS ON FILE
ARROYO MANDEZ, AIDA M        ADDRESS ON FILE
ARROYO MANGUAL, MARITZA      ADDRESS ON FILE
ARROYO MARQUEZ MD, BEVERLY   ADDRESS ON FILE
ARROYO MARRERO, BLAS         ADDRESS ON FILE
ARROYO MARRERO, EVELYN       ADDRESS ON FILE
ARROYO MARRERO, FELIPE       ADDRESS ON FILE
ARROYO MARRERO, KETHLEEN A   ADDRESS ON FILE




                                                                         Page 580 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 581 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO MARTINEZ, ALEXIS        ADDRESS ON FILE
ARROYO MARTINEZ, ALICE         ADDRESS ON FILE
ARROYO MARTINEZ, AMALIO        ADDRESS ON FILE
ARROYO MARTINEZ, BENEDICTO     ADDRESS ON FILE
ARROYO MARTINEZ, BETSY         ADDRESS ON FILE
ARROYO MARTINEZ, CAMILLE       ADDRESS ON FILE
Arroyo Martinez, Carlos        ADDRESS ON FILE
ARROYO MARTINEZ, EVELYN        ADDRESS ON FILE
Arroyo Martinez, Fray Martin   ADDRESS ON FILE
ARROYO MARTINEZ, GLADYS        ADDRESS ON FILE
ARROYO MARTINEZ, HAMARA E.     ADDRESS ON FILE
ARROYO MARTINEZ, HECTOR        ADDRESS ON FILE
ARROYO MARTINEZ, ISLIA L       ADDRESS ON FILE
Arroyo Martinez, Israel        ADDRESS ON FILE
ARROYO MARTINEZ, JOSE          ADDRESS ON FILE
ARROYO MARTINEZ, LIZ V         ADDRESS ON FILE
ARROYO MARTINEZ, LONGINO       ADDRESS ON FILE
ARROYO MARTINEZ, LUIS          ADDRESS ON FILE
ARROYO MARTINEZ, LUIS A        ADDRESS ON FILE
ARROYO MARTINEZ, MADELINE      ADDRESS ON FILE
ARROYO MARTINEZ, MADELINE      ADDRESS ON FILE
ARROYO MARTINEZ, MARIBEL       ADDRESS ON FILE
Arroyo Martinez, Mariluz       ADDRESS ON FILE
ARROYO MARTINEZ, MIGUEL A      ADDRESS ON FILE
ARROYO MARTINEZ, NATHANABEL    ADDRESS ON FILE
ARROYO MARTINEZ, NAYDALIZ      ADDRESS ON FILE
ARROYO MARTINEZ, OLGA L        ADDRESS ON FILE
Arroyo Martinez, Orlando       ADDRESS ON FILE
ARROYO MARTINEZ, RAQUEL        ADDRESS ON FILE
ARROYO MARTINEZ, REBECA        ADDRESS ON FILE
ARROYO MARTINEZ, YADIRA        ADDRESS ON FILE
ARROYO MASSA, CARMEN S         ADDRESS ON FILE
ARROYO MASSA, LOURDES M        ADDRESS ON FILE
ARROYO MASSA, MARIA S          ADDRESS ON FILE
ARROYO MATIAS, ALFREDO         ADDRESS ON FILE
ARROYO MATIAS, IRIS S          ADDRESS ON FILE
ARROYO MATIAS, LUCIA           ADDRESS ON FILE
ARROYO MATIENZO, MARIA DEL R   ADDRESS ON FILE
ARROYO MATOS MD, JOSE A        ADDRESS ON FILE
ARROYO MATOS, ANA M.           ADDRESS ON FILE
ARROYO MATOS, IDALI            ADDRESS ON FILE
ARROYO MATOS, LUIS M           ADDRESS ON FILE
ARROYO MATOS, VIRGINIA         ADDRESS ON FILE
ARROYO MAYMI, JUANA            ADDRESS ON FILE
ARROYO MCLEAN, SUHER ANN       ADDRESS ON FILE
ARROYO MEDINA, ANA M           ADDRESS ON FILE
ARROYO MEDINA, FELIX           ADDRESS ON FILE
ARROYO MEDINA, GLORIVEE        ADDRESS ON FILE
ARROYO MEDINA, GLORIVEE        ADDRESS ON FILE
ARROYO MEDINA, JOSE            ADDRESS ON FILE
ARROYO MEDINA, JOSE            ADDRESS ON FILE
Arroyo Mejias, David           ADDRESS ON FILE
Arroyo Mejias, William         ADDRESS ON FILE
ARROYO MELENDEZ, AIDA          ADDRESS ON FILE
ARROYO MELENDEZ, ANGELICA      ADDRESS ON FILE
ARROYO MELENDEZ, ERNESTO       ADDRESS ON FILE
ARROYO MELENDEZ, FELIX         ADDRESS ON FILE
Arroyo Melendez, Felix D       ADDRESS ON FILE
ARROYO MELENDEZ, LYDIA         ADDRESS ON FILE
ARROYO MELENDEZ, MARIBEL       ADDRESS ON FILE




                                                                           Page 581 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 582 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO MELENDEZ, MARITZA         ADDRESS ON FILE
ARROYO MELENDEZ, ROLANDO         ADDRESS ON FILE
ARROYO MELENDEZ, SYLVIA          ADDRESS ON FILE
ARROYO MELENDEZ, WALESCA         ADDRESS ON FILE
ARROYO MELENDEZ, WALESCA         ADDRESS ON FILE
ARROYO MELENDEZ, WALESKA         ADDRESS ON FILE
ARROYO MELENDEZ, YAMIRELIS       ADDRESS ON FILE
ARROYO MELENDEZ, YASHIRA         ADDRESS ON FILE
ARROYO MENAY, JUANA M            ADDRESS ON FILE
ARROYO MENDEZ, ADA C             ADDRESS ON FILE
ARROYO MENDEZ, EMERITA           ADDRESS ON FILE
ARROYO MENDEZ, FELIX             ADDRESS ON FILE
Arroyo Mendez, Felix             ADDRESS ON FILE
ARROYO MENDEZ, GUILLERMINA       ADDRESS ON FILE
ARROYO MENDEZ, JORGE             ADDRESS ON FILE
ARROYO MENDEZ, JOSE L.           ADDRESS ON FILE
ARROYO MENDEZ, LUIS A            ADDRESS ON FILE
ARROYO MENDEZ, MARIA DE LOS A.   ADDRESS ON FILE
ARROYO MENDEZ, MARIBEL           ADDRESS ON FILE
ARROYO MENDEZ, MIGDALIA          ADDRESS ON FILE
Arroyo Mendez, Miguel A.         ADDRESS ON FILE
ARROYO MENDEZ, NORMA H           ADDRESS ON FILE
ARROYO MENDEZ, SUSANA            ADDRESS ON FILE
ARROYO MENDEZ, WALESKA           ADDRESS ON FILE
ARROYO MENDOZA, YESENIA          ADDRESS ON FILE
ARROYO MENDRE, ABIGAIL           ADDRESS ON FILE
ARROYO MENDRE, ISRAEL            ADDRESS ON FILE
ARROYO MENDRE, RAQUEL            ADDRESS ON FILE
ARROYO MERCADER, LUIS R.         ADDRESS ON FILE
ARROYO MERCADO, HAROLD           ADDRESS ON FILE
ARROYO MERCED, IRIS V.           ADDRESS ON FILE
ARROYO MILLAN, CARMEN L          ADDRESS ON FILE
ARROYO MIRANDA, BLANCA N         ADDRESS ON FILE
ARROYO MIRANDA, JOHANNA R.       ADDRESS ON FILE
ARROYO MIRANDA, JORGE L          ADDRESS ON FILE
ARROYO MOJICA, AGLAE ENERIAM     ADDRESS ON FILE
ARROYO MOJICA, ALEJANDRO         ADDRESS ON FILE
ARROYO MOJICA, ALEXIS            ADDRESS ON FILE
Arroyo Mojica, Nicolas           ADDRESS ON FILE
ARROYO MOJICA, ZORAICHMY         ADDRESS ON FILE
ARROYO MOLINA, CARMEN M          ADDRESS ON FILE
ARROYO MOLINA, FELIX             ADDRESS ON FILE
ARROYO MOLINA, JOSE A.           ADDRESS ON FILE
ARROYO MOLINA, MARGARITA         ADDRESS ON FILE
ARROYO MOLINA, NORMA             ADDRESS ON FILE
Arroyo Montalvo, Luis A.         ADDRESS ON FILE
Arroyo Montalvo, Miguel A        ADDRESS ON FILE
ARROYO MONTALVO, SHEILA          ADDRESS ON FILE
ARROYO MONTANEZ, FRANCISCA       ADDRESS ON FILE
ARROYO MONTES, ELIZABETH         ADDRESS ON FILE
ARROYO MONTES, INES M            ADDRESS ON FILE
ARROYO MONTIJO, EILEEN           ADDRESS ON FILE
ARROYO MONTIJO, LUIS             ADDRESS ON FILE
ARROYO MONTIJO, LUIS I.          ADDRESS ON FILE
ARROYO MONTIJO, LUZ              ADDRESS ON FILE
ARROYO MORALES, CARMEN G.        ADDRESS ON FILE
ARROYO MORALES, CARMENCITA       ADDRESS ON FILE
ARROYO MORALES, CAROL            ADDRESS ON FILE
Arroyo Morales, Celia            ADDRESS ON FILE
ARROYO MORALES, EDGARDO          ADDRESS ON FILE




                                                                             Page 582 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 583 of 3500
                                                                               Creditor Matrix

Creditor Name                 Address1                   Address2                           Address3           Address4   City        State   PostalCode   Country
ARROYO MORALES, EMANUEL       ADDRESS ON FILE
ARROYO MORALES, EVANGELINA    ADDRESS ON FILE
Arroyo Morales, Evelyn        ADDRESS ON FILE
ARROYO MORALES, EVELYN        ADDRESS ON FILE
ARROYO MORALES, FELIX         ADDRESS ON FILE
ARROYO MORALES, GERARDO       ADDRESS ON FILE
ARROYO MORALES, HERIBERTO     ADDRESS ON FILE
ARROYO MORALES, IDALIA        ADDRESS ON FILE
Arroyo Morales, Iselisse T    ADDRESS ON FILE
ARROYO MORALES, JOSE          ADDRESS ON FILE
ARROYO MORALES, JOSE          ADDRESS ON FILE
ARROYO MORALES, JOSEPHINE A   ADDRESS ON FILE
ARROYO MORALES, JUAN G        ADDRESS ON FILE
Arroyo Morales, Julio C       ADDRESS ON FILE
ARROYO MORALES, LILLIAM       ADDRESS ON FILE
ARROYO MORALES, LILLIAM       ADDRESS ON FILE
ARROYO MORALES, MARISELA      ADDRESS ON FILE
ARROYO MORALES, MITCHELL      ADDRESS ON FILE
ARROYO MORALES, NANCY         ADDRESS ON FILE
ARROYO MORALES, NANCY         ADDRESS ON FILE
ARROYO MORALES, NYDIA         ADDRESS ON FILE
Arroyo Morales, Orlando       ADDRESS ON FILE
ARROYO MORALES, ORLANDO       JULIO E GIL DE LA MADRID   A‐11 CALLE GRANADA                 REPARTO ALHAMBRA              BAYAMON     PR      00957
ARROYO MORALES, ROSA          ADDRESS ON FILE
ARROYO MORALES, SONIA M       ADDRESS ON FILE
ARROYO MORALES,JULIO C.       ADDRESS ON FILE
ARROYO MOYA, NANCY Y          ADDRESS ON FILE
ARROYO MUÑIZ MD, MARITZA      ADDRESS ON FILE
ARROYO MUNIZ, JESUS M.        ADDRESS ON FILE
ARROYO MUNIZ, LOURDES         ADDRESS ON FILE
ARROYO MUÑIZ, LOURDES R.      ADDRESS ON FILE
ARROYO MUNIZ, LUIS            ADDRESS ON FILE
Arroyo Muniz, Luis M          ADDRESS ON FILE
ARROYO MUNIZ, LUZ E           ADDRESS ON FILE
ARROYO MUNOZ, MARANGELI       ADDRESS ON FILE
ARROYO MUNOZ, RUTH E          ADDRESS ON FILE
ARROYO MUNOZ, VIRGINIA        ADDRESS ON FILE
ARROYO MURATTI, HAZEL         ADDRESS ON FILE
ARROYO NATER, HECTOR          ADDRESS ON FILE
ARROYO NATER, JUAN            ADDRESS ON FILE
ARROYO NAVARRO, CHARILII      ADDRESS ON FILE
ARROYO NAVARRO, RAMONITA      ADDRESS ON FILE
ARROYO NAZARIO, JACKELINE     ADDRESS ON FILE
ARROYO NEGRON MD, MILAGROS    ADDRESS ON FILE
ARROYO NEGRON, ENDRIS         ADDRESS ON FILE
ARROYO NEGRON, JESSMARIE      ADDRESS ON FILE
ARROYO NEGRON, JOHANNA        ADDRESS ON FILE
ARROYO NEGRON, VIRGEN         ADDRESS ON FILE
ARROYO NEGRONI, MIGDALIA      ADDRESS ON FILE
ARROYO NIEVES MD, OSCAR       ADDRESS ON FILE
ARROYO NIEVES, JORGE L        ADDRESS ON FILE
ARROYO NIEVES, LUIS A         ADDRESS ON FILE
ARROYO NIEVES, LUZ E          ADDRESS ON FILE
ARROYO NIEVES, RAFAEL         ADDRESS ON FILE
Arroyo Nieves, Ricardo C      ADDRESS ON FILE
ARROYO NIEVES, ROSA E         ADDRESS ON FILE
ARROYO NIEVES, WILLIAM        ADDRESS ON FILE
ARROYO NODUI, HERBERT         ADDRESS ON FILE
ARROYO NOVOA, CARMEN M        ADDRESS ON FILE
ARROYO OCASIO, AWILDA         ADDRESS ON FILE




                                                                              Page 583 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 584 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Arroyo Ocasio, David          ADDRESS ON FILE
ARROYO OCASIO, LUIS G.        ADDRESS ON FILE
Arroyo Odiott, Maria L        ADDRESS ON FILE
ARROYO OFFICE MACHINE         1571 AVE PINEIRO                                                                 SAN JUAN     PR      00920
ARROYO OJEDA, SANDRA I        ADDRESS ON FILE
Arroyo Oliveras, Fernando J   ADDRESS ON FILE
Arroyo Oliveras, Jose O       ADDRESS ON FILE
Arroyo Olivero, Michael       ADDRESS ON FILE
ARROYO OLIVERO, WILLIAM       ADDRESS ON FILE
ARROYO OLIVIERI, ANGEL M      ADDRESS ON FILE
ARROYO OLIVIERI, CARMEN A     ADDRESS ON FILE
ARROYO OLIVIERI, IRMA N       ADDRESS ON FILE
ARROYO OLIVIERI, JORGE        ADDRESS ON FILE
ARROYO OLIVO, NILSA J.        ADDRESS ON FILE
ARROYO OLMEDA, ERNESTO        ADDRESS ON FILE
ARROYO OLMO, DORIS N.         ADDRESS ON FILE
ARROYO O'NEILL, MARIA C.      ADDRESS ON FILE
ARROYO OQUENDO, ALICE         ADDRESS ON FILE
ARROYO OQUENDO, CARMEN        ADDRESS ON FILE
ARROYO OQUENDO, JENNY         ADDRESS ON FILE
Arroyo Ortega, David          ADDRESS ON FILE
ARROYO ORTIZ, AIMEET          ADDRESS ON FILE
ARROYO ORTIZ, ANIXA           ADDRESS ON FILE
ARROYO ORTIZ, AUREA           ADDRESS ON FILE
ARROYO ORTIZ, BERLIZA         ADDRESS ON FILE
ARROYO ORTIZ, CARMEN M        ADDRESS ON FILE
ARROYO ORTIZ, DAVID           ADDRESS ON FILE
ARROYO ORTIZ, DERICK          ADDRESS ON FILE
ARROYO ORTIZ, EDGARDO         ADDRESS ON FILE
ARROYO ORTIZ, ELSA            ADDRESS ON FILE
ARROYO ORTIZ, ELSA            ADDRESS ON FILE
ARROYO ORTIZ, ELSA            ADDRESS ON FILE
ARROYO ORTIZ, ERASMA          ADDRESS ON FILE
ARROYO ORTIZ, FELICITA        ADDRESS ON FILE
ARROYO ORTIZ, FERNANDO L.     ADDRESS ON FILE
ARROYO ORTIZ, GILIA           ADDRESS ON FILE
ARROYO ORTIZ, GISEL           ADDRESS ON FILE
ARROYO ORTIZ, GLENDA L        ADDRESS ON FILE
ARROYO ORTIZ, IRIS N          ADDRESS ON FILE
ARROYO ORTIZ, IRVIA ESTHER    ADDRESS ON FILE
ARROYO ORTIZ, JOHANA          ADDRESS ON FILE
ARROYO ORTIZ, JOSE L          ADDRESS ON FILE
Arroyo Ortiz, Julio           ADDRESS ON FILE
ARROYO ORTIZ, KENIA           ADDRESS ON FILE
ARROYO ORTIZ, LINNETTE        ADDRESS ON FILE
ARROYO ORTIZ, LOURDES         ADDRESS ON FILE
ARROYO ORTIZ, LOURDES         ADDRESS ON FILE
ARROYO ORTIZ, LUCIA           ADDRESS ON FILE
ARROYO ORTIZ, MARIA DEL C.    ADDRESS ON FILE
ARROYO ORTIZ, MARIA DEL C.    ADDRESS ON FILE
ARROYO ORTIZ, MARIBEL         ADDRESS ON FILE
ARROYO ORTIZ, MAYRA           ADDRESS ON FILE
Arroyo Ortiz, Mayra E         ADDRESS ON FILE
ARROYO ORTIZ, MELVIN          ADDRESS ON FILE
ARROYO ORTIZ, NAIDA           ADDRESS ON FILE
ARROYO ORTIZ, NOEMARIS        ADDRESS ON FILE
Arroyo Ortiz, Oscar           ADDRESS ON FILE
ARROYO ORTIZ, RAMON L         ADDRESS ON FILE
ARROYO ORTIZ, REINALDO        ADDRESS ON FILE
ARROYO ORTIZ, RUBEN           ADDRESS ON FILE




                                                                          Page 584 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 585 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO ORTIZ, WANDA I          ADDRESS ON FILE
ARROYO ORTIZ, YESENIA          ADDRESS ON FILE
ARROYO OTERO MD, ADRIAN        ADDRESS ON FILE
ARROYO OTERO, ANGEL R.         ADDRESS ON FILE
ARROYO OTERO, CARMEN R.        ADDRESS ON FILE
ARROYO OTERO, DOLORES          ADDRESS ON FILE
Arroyo Otero, Jose A           ADDRESS ON FILE
ARROYO OTERO, JOSE M           ADDRESS ON FILE
ARROYO OTERO, LUZ S            ADDRESS ON FILE
ARROYO OTERO, NOEL             ADDRESS ON FILE
ARROYO OTERO,YAEN I.           ADDRESS ON FILE
ARROYO PABON, RAUL             ADDRESS ON FILE
ARROYO PACHECO, ALEJANDRO D    ADDRESS ON FILE
ARROYO PACHECO, EILEEN         ADDRESS ON FILE
ARROYO PACHECO, JUAN JOSE      ADDRESS ON FILE
ARROYO PADILLA, MILDRED        ADDRESS ON FILE
ARROYO PADRO, BETHZAIDA        ADDRESS ON FILE
Arroyo Padro, Leonardo         ADDRESS ON FILE
ARROYO PAGAN, ADIA             ADDRESS ON FILE
ARROYO PAGAN, ADIA G           ADDRESS ON FILE
Arroyo Pagan, David            ADDRESS ON FILE
ARROYO PAGAN, EDGARDO          ADDRESS ON FILE
ARROYO PAGAN, JAVIER           ADDRESS ON FILE
ARROYO PALOU, RAQUEL M         ADDRESS ON FILE
ARROYO PANTOJAS, ANA W         ADDRESS ON FILE
Arroyo Pantojas, Luis M        ADDRESS ON FILE
ARROYO PEDRO, SONNY M          ADDRESS ON FILE
ARROYO PENA, CESAR             ADDRESS ON FILE
ARROYO PENA, CLARA L           ADDRESS ON FILE
ARROYO PENA, EVA V.            ADDRESS ON FILE
ARROYO PEREZ MD, IDANIA L      ADDRESS ON FILE
ARROYO PEREZ, ABDALY           ADDRESS ON FILE
ARROYO PEREZ, AHMED            ADDRESS ON FILE
ARROYO PEREZ, AIDA             ADDRESS ON FILE
ARROYO PEREZ, ALESSAY          ADDRESS ON FILE
ARROYO PEREZ, ANGEL M          ADDRESS ON FILE
ARROYO PEREZ, ANTONIA          ADDRESS ON FILE
ARROYO PEREZ, CARMEN J         ADDRESS ON FILE
ARROYO PEREZ, DIANA            ADDRESS ON FILE
ARROYO PEREZ, EDGARDO          ADDRESS ON FILE
ARROYO PEREZ, EDUVIGIS         ADDRESS ON FILE
ARROYO PEREZ, ELBA I           ADDRESS ON FILE
Arroyo Perez, Francis J        ADDRESS ON FILE
Arroyo Perez, Glidden          ADDRESS ON FILE
ARROYO PEREZ, GLIDDEN          ADDRESS ON FILE
ARROYO PEREZ, HERMINIO         ADDRESS ON FILE
ARROYO PEREZ, IDANIA           ADDRESS ON FILE
ARROYO PEREZ, JAVIER           ADDRESS ON FILE
ARROYO PEREZ, JOSE             ADDRESS ON FILE
ARROYO PEREZ, JOSE             ADDRESS ON FILE
ARROYO PEREZ, JOSE E.          ADDRESS ON FILE
Arroyo Perez, Jose R.          ADDRESS ON FILE
ARROYO PEREZ, LEONIDES         ADDRESS ON FILE
ARROYO PEREZ, LUIS F           ADDRESS ON FILE
ARROYO PEREZ, LYDIA E          ADDRESS ON FILE
ARROYO PEREZ, MAGDA I          ADDRESS ON FILE
ARROYO PEREZ, MARIA DE LOS A   ADDRESS ON FILE
ARROYO PEREZ, MARIBEL          ADDRESS ON FILE
ARROYO PEREZ, MELVIN           ADDRESS ON FILE
ARROYO PEREZ, NELSON           ADDRESS ON FILE




                                                                           Page 585 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 586 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO PEREZ, NELSON A      ADDRESS ON FILE
ARROYO PEREZ, ROBERTO       ADDRESS ON FILE
ARROYO PEREZ, ROSA A        ADDRESS ON FILE
ARROYO PICART, MIGDALIA     ADDRESS ON FILE
ARROYO PLAUD, RAFAELINA     ADDRESS ON FILE
ARROYO PLAUD, ROSA M        ADDRESS ON FILE
ARROYO POMALES, CARMEN M.   ADDRESS ON FILE
ARROYO POMALES, HAROLD      ADDRESS ON FILE
ARROYO PONT, LUIS           ADDRESS ON FILE
ARROYO PORTELA, EDWIN       ADDRESS ON FILE
ARROYO QUEVEDO, JESUS       ADDRESS ON FILE
ARROYO QUIJANO, REYMUNDO    ADDRESS ON FILE
ARROYO QUILES, YAHIRA       ADDRESS ON FILE
ARROYO QUINONES, ANGEL      ADDRESS ON FILE
ARROYO QUINONES, CARMEN M   ADDRESS ON FILE
ARROYO QUINONES, CLARA M    ADDRESS ON FILE
ARROYO QUINONES, EDWIN      ADDRESS ON FILE
ARROYO QUINONES, EMANUEL    ADDRESS ON FILE
ARROYO QUINONES, IMIRCE     ADDRESS ON FILE
ARROYO QUINONES, JORGE      ADDRESS ON FILE
ARROYO QUINONES, LUIS       ADDRESS ON FILE
ARROYO QUINONES, MARIA      ADDRESS ON FILE
ARROYO QUINONES, MARITZA    ADDRESS ON FILE
ARROYO QUINONES, TAIMI      ADDRESS ON FILE
ARROYO QUINONES, WILLIAM    ADDRESS ON FILE
ARROYO QUINONEZ, EDDA H     ADDRESS ON FILE
ARROYO QUINONEZ, ROSA M     ADDRESS ON FILE
ARROYO QUINTANA, JORGE      ADDRESS ON FILE
ARROYO QUINTANA, VICTOR     ADDRESS ON FILE
ARROYO QUINTANA,ARELYS      ADDRESS ON FILE
ARROYO QUIROS, ELIAM        ADDRESS ON FILE
ARROYO RAMIREZ, DARITZA     ADDRESS ON FILE
ARROYO RAMIREZ, DIGNA       ADDRESS ON FILE
ARROYO RAMIREZ, HECTOR      ADDRESS ON FILE
ARROYO RAMIREZ, HORTENSIA   ADDRESS ON FILE
ARROYO RAMIREZ, ILEANA      ADDRESS ON FILE
ARROYO RAMIREZ, JERRY       ADDRESS ON FILE
ARROYO RAMIREZ, JUAN        ADDRESS ON FILE
ARROYO RAMIREZ, NOEL        ADDRESS ON FILE
ARROYO RAMIREZ, XIOMARA     ADDRESS ON FILE
ARROYO RAMOS MD, MIGUEL     ADDRESS ON FILE
ARROYO RAMOS, AMARILYS      ADDRESS ON FILE
ARROYO RAMOS, ANGEL L       ADDRESS ON FILE
ARROYO RAMOS, CARLOS M      ADDRESS ON FILE
ARROYO RAMOS, GLORILDA      ADDRESS ON FILE
ARROYO RAMOS, IOVETLY       ADDRESS ON FILE
ARROYO RAMOS, ISABEL        ADDRESS ON FILE
ARROYO RAMOS, JONATHAN      ADDRESS ON FILE
ARROYO RAMOS, JONATHAN      ADDRESS ON FILE
ARROYO RAMOS, JOSE          ADDRESS ON FILE
ARROYO RAMOS, JUAN          ADDRESS ON FILE
ARROYO RAMOS, JULIAN        ADDRESS ON FILE
ARROYO RAMOS, LISSETTE      ADDRESS ON FILE
Arroyo Ramos, Loruama       ADDRESS ON FILE
ARROYO RAMOS, LUIS          ADDRESS ON FILE
Arroyo Ramos, Luis R        ADDRESS ON FILE
ARROYO RAMOS, MANUEL A.     ADDRESS ON FILE
ARROYO RAMOS, MARCO         ADDRESS ON FILE
ARROYO RAMOS, MARIA A       ADDRESS ON FILE
ARROYO RAMOS, MARISOL       ADDRESS ON FILE




                                                                        Page 586 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 587 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO RAMOS, NORILDA       ADDRESS ON FILE
ARROYO RAMOS, NORMA         ADDRESS ON FILE
ARROYO RAMOS, NORMA I       ADDRESS ON FILE
ARROYO RAMOS, ROSALINDA     ADDRESS ON FILE
ARROYO RAMOS, SIXTO         ADDRESS ON FILE
Arroyo Ramos, Tomas         ADDRESS ON FILE
ARROYO RAMOS, URIEL         ADDRESS ON FILE
ARROYO RAYA, JORGE A        ADDRESS ON FILE
ARROYO RESTO, IRIS Y.       ADDRESS ON FILE
ARROYO RESTO, JUANITA       ADDRESS ON FILE
ARROYO RETAMAR, FELIX       ADDRESS ON FILE
ARROYO REYES, ANGEL L       ADDRESS ON FILE
ARROYO REYES, ANGELISA      ADDRESS ON FILE
ARROYO REYES, CARLOS        ADDRESS ON FILE
ARROYO REYES, EDWIN         ADDRESS ON FILE
ARROYO REYES, EMMA          ADDRESS ON FILE
ARROYO REYES, MONSERRATE    ADDRESS ON FILE
ARROYO REYES, NILDA I       ADDRESS ON FILE
ARROYO REYES, ROSA I        ADDRESS ON FILE
ARROYO REYES, SUNDRA        ADDRESS ON FILE
ARROYO REYES, VIRGINIA      ADDRESS ON FILE
ARROYO REYES, YAINEL        ADDRESS ON FILE
ARROYO RIOS, AMARILYS       ADDRESS ON FILE
ARROYO RIOS, CARLOS         ADDRESS ON FILE
ARROYO RIOS, CYNTHIA I.     ADDRESS ON FILE
ARROYO RIOS, DAVID          ADDRESS ON FILE
ARROYO RIOS, EDWIN          ADDRESS ON FILE
ARROYO RIOS, FELIX W        ADDRESS ON FILE
ARROYO RIVAS, NORA E        ADDRESS ON FILE
ARROYO RIVAS, ROSA E        ADDRESS ON FILE
Arroyo Rivera, Adalberto    ADDRESS ON FILE
ARROYO RIVERA, ADDIE        ADDRESS ON FILE
ARROYO RIVERA, AGUEDA       ADDRESS ON FILE
ARROYO RIVERA, ALEJANDRA    ADDRESS ON FILE
ARROYO RIVERA, ANA M        ADDRESS ON FILE
Arroyo Rivera, Angel L      ADDRESS ON FILE
ARROYO RIVERA, CARMEN T     ADDRESS ON FILE
ARROYO RIVERA, DANEISHA     ADDRESS ON FILE
ARROYO RIVERA, DANETTE V.   ADDRESS ON FILE
ARROYO RIVERA, DANETTE V.   ADDRESS ON FILE
ARROYO RIVERA, DEBRA        ADDRESS ON FILE
Arroyo Rivera, Dennys       ADDRESS ON FILE
ARROYO RIVERA, DIALYS       ADDRESS ON FILE
ARROYO RIVERA, EDWIN        ADDRESS ON FILE
Arroyo Rivera, Edwin        ADDRESS ON FILE
ARROYO RIVERA, ELVIN        ADDRESS ON FILE
ARROYO RIVERA, EVA          ADDRESS ON FILE
ARROYO RIVERA, EVA L.       ADDRESS ON FILE
ARROYO RIVERA, FRANCISCO    ADDRESS ON FILE
ARROYO RIVERA, HECTOR J     ADDRESS ON FILE
ARROYO RIVERA, IRMA         ADDRESS ON FILE
ARROYO RIVERA, JAIME A      ADDRESS ON FILE
Arroyo Rivera, Jessica      ADDRESS ON FILE
ARROYO RIVERA, JOHANNA      ADDRESS ON FILE
ARROYO RIVERA, JONAIRA      ADDRESS ON FILE
ARROYO RIVERA, JONATANIEL   ADDRESS ON FILE
ARROYO RIVERA, JORGE        ADDRESS ON FILE
ARROYO RIVERA, JOSE         ADDRESS ON FILE
ARROYO RIVERA, JOSE A       ADDRESS ON FILE
ARROYO RIVERA, JUANITA      ADDRESS ON FILE




                                                                        Page 587 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 588 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO RIVERA, KILARY          ADDRESS ON FILE
ARROYO RIVERA, KIMBERLY        ADDRESS ON FILE
ARROYO RIVERA, LYDIA E         ADDRESS ON FILE
ARROYO RIVERA, MANUEL          ADDRESS ON FILE
ARROYO RIVERA, MARC            ADDRESS ON FILE
ARROYO RIVERA, MARC            ADDRESS ON FILE
ARROYO RIVERA, MARYLIND        ADDRESS ON FILE
ARROYO RIVERA, MARYLIND        ADDRESS ON FILE
ARROYO RIVERA, MAYRA           ADDRESS ON FILE
ARROYO RIVERA, MAYRA I         ADDRESS ON FILE
ARROYO RIVERA, MELISSA M       ADDRESS ON FILE
ARROYO RIVERA, MIGDALIA        ADDRESS ON FILE
Arroyo Rivera, Miguel          ADDRESS ON FILE
ARROYO RIVERA, MILAGROS        ADDRESS ON FILE
ARROYO RIVERA, MILARIS         ADDRESS ON FILE
ARROYO RIVERA, MOISES          ADDRESS ON FILE
Arroyo Rivera, Nelson          ADDRESS ON FILE
ARROYO RIVERA, NILDA I         ADDRESS ON FILE
ARROYO RIVERA, NYDIA           ADDRESS ON FILE
ARROYO RIVERA, OMAR            ADDRESS ON FILE
ARROYO RIVERA, PEDRO           ADDRESS ON FILE
ARROYO RIVERA, RAFAEL          ADDRESS ON FILE
ARROYO RIVERA, RAUL J.         ADDRESS ON FILE
ARROYO RIVERA, RICARDO         ADDRESS ON FILE
ARROYO RIVERA, ROBERTO         ADDRESS ON FILE
ARROYO RIVERA, RUBEN           ADDRESS ON FILE
ARROYO RIVERA, SANTIAGO        ADDRESS ON FILE
ARROYO RIVERA, SULEYKA         ADDRESS ON FILE
ARROYO RIVERA, SYLVIA I        ADDRESS ON FILE
ARROYO RIVERA, TAIRA I         ADDRESS ON FILE
ARROYO RIVERA, TANIA           ADDRESS ON FILE
ARROYO RIVERA, TANIA           ADDRESS ON FILE
ARROYO RIVERA, TOMMY A.        ADDRESS ON FILE
ARROYO RIVERA, VANESSA         ADDRESS ON FILE
ARROYO RIVERA, WANDA           ADDRESS ON FILE
ARROYO RIVERA, YEIZA LIZ       ADDRESS ON FILE
ARROYO ROA, ANGEL J.           ADDRESS ON FILE
ARROYO ROA, MARTA I.           ADDRESS ON FILE
ARROYO ROBLES, DENNIS A.       ADDRESS ON FILE
ARROYO ROBLES, EFRAIN          ADDRESS ON FILE
ARROYO ROBLES, EMILY           ADDRESS ON FILE
ARROYO ROBLES, GLORIA          ADDRESS ON FILE
ARROYO ROBLES, SHEILA D        ADDRESS ON FILE
ARROYO ROBLES, SONIA           ADDRESS ON FILE
ARROYO RODIGUEZ, STEPHANIE     ADDRESS ON FILE
ARROYO RODRIGUEZ, ALICIA       ADDRESS ON FILE
ARROYO RODRIGUEZ, ALTAGRACIA   ADDRESS ON FILE
ARROYO RODRIGUEZ, AMALIO       ADDRESS ON FILE
ARROYO RODRIGUEZ, AMERICA      ADDRESS ON FILE
ARROYO RODRIGUEZ, ANA G        ADDRESS ON FILE
ARROYO RODRIGUEZ, ANGELICA M   ADDRESS ON FILE
ARROYO RODRIGUEZ, ANGIENETTE   ADDRESS ON FILE
ARROYO RODRIGUEZ, AXEL         ADDRESS ON FILE
ARROYO RODRIGUEZ, BEATRIZ      ADDRESS ON FILE
ARROYO RODRIGUEZ, BRENDA L.    ADDRESS ON FILE
Arroyo Rodriguez, Carlos J     ADDRESS ON FILE
ARROYO RODRIGUEZ, CARMEN M     ADDRESS ON FILE
ARROYO RODRIGUEZ, CARMEN M     ADDRESS ON FILE
ARROYO RODRIGUEZ, CYNTHIA      ADDRESS ON FILE
ARROYO RODRIGUEZ, CYNTHIA      ADDRESS ON FILE




                                                                           Page 588 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 589 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO RODRIGUEZ, CYNTHIA     ADDRESS ON FILE
ARROYO RODRIGUEZ, DAMARIS     ADDRESS ON FILE
ARROYO RODRIGUEZ, EDGAR       ADDRESS ON FILE
ARROYO RODRIGUEZ, EDWIN       ADDRESS ON FILE
ARROYO RODRIGUEZ, EMMARY      ADDRESS ON FILE
ARROYO RODRIGUEZ, ENRIQUE     ADDRESS ON FILE
ARROYO RODRIGUEZ, EVELYN D    ADDRESS ON FILE
ARROYO RODRIGUEZ, FABIAN      ADDRESS ON FILE
ARROYO RODRIGUEZ, FELICITA    ADDRESS ON FILE
ARROYO RODRIGUEZ, FELIX       ADDRESS ON FILE
ARROYO RODRIGUEZ, FELIX L     ADDRESS ON FILE
ARROYO RODRIGUEZ, FERDINAND   ADDRESS ON FILE
ARROYO RODRIGUEZ, GABRIEL     ADDRESS ON FILE
ARROYO RODRIGUEZ, GLADYS      ADDRESS ON FILE
ARROYO RODRIGUEZ, GLORIA      ADDRESS ON FILE
ARROYO RODRIGUEZ, GLORIA M    ADDRESS ON FILE
ARROYO RODRIGUEZ, ILSA I      ADDRESS ON FILE
ARROYO RODRIGUEZ, IVETTE      ADDRESS ON FILE
ARROYO RODRIGUEZ, JERRY L     ADDRESS ON FILE
ARROYO RODRIGUEZ, JESUS       ADDRESS ON FILE
ARROYO RODRIGUEZ, JORGE       ADDRESS ON FILE
ARROYO RODRIGUEZ, JOSE        ADDRESS ON FILE
ARROYO RODRIGUEZ, JUAN        ADDRESS ON FILE
ARROYO RODRIGUEZ, JUAN        ADDRESS ON FILE
Arroyo Rodriguez, Juan C      ADDRESS ON FILE
ARROYO RODRIGUEZ, JUAN J      ADDRESS ON FILE
ARROYO RODRIGUEZ, JUAN R      ADDRESS ON FILE
ARROYO RODRIGUEZ, KAREN M     ADDRESS ON FILE
ARROYO RODRIGUEZ, LAURA E.    ADDRESS ON FILE
ARROYO RODRIGUEZ, LIZANDRA    ADDRESS ON FILE
ARROYO RODRIGUEZ, LIZBETH M   ADDRESS ON FILE
ARROYO RODRIGUEZ, MADELINE    ADDRESS ON FILE
ARROYO RODRIGUEZ, MARIA A     ADDRESS ON FILE
ARROYO RODRIGUEZ, MARIA L     ADDRESS ON FILE
ARROYO RODRIGUEZ, MARIBEL     ADDRESS ON FILE
ARROYO RODRIGUEZ, MARILYN     ADDRESS ON FILE
Arroyo Rodriguez, Maritza     ADDRESS ON FILE
ARROYO RODRIGUEZ, MARIVEL     ADDRESS ON FILE
ARROYO RODRIGUEZ, MAYRA       ADDRESS ON FILE
ARROYO RODRIGUEZ, MELISSA     ADDRESS ON FILE
ARROYO RODRIGUEZ, MELISSA     ADDRESS ON FILE
ARROYO RODRIGUEZ, MIGUEL A    ADDRESS ON FILE
Arroyo Rodriguez, Pedro J     ADDRESS ON FILE
ARROYO RODRIGUEZ, PHILLIP     ADDRESS ON FILE
ARROYO RODRIGUEZ, RAMON       ADDRESS ON FILE
ARROYO RODRIGUEZ, RAMON       ADDRESS ON FILE
ARROYO RODRIGUEZ, ROSA E      ADDRESS ON FILE
ARROYO RODRIGUEZ, RUTH        ADDRESS ON FILE
ARROYO RODRIGUEZ, SAMALY      ADDRESS ON FILE
ARROYO RODRIGUEZ, SAUL        ADDRESS ON FILE
ARROYO RODRIGUEZ, SHEILA      ADDRESS ON FILE
ARROYO RODRIGUEZ, SIGRID      ADDRESS ON FILE
ARROYO RODRIGUEZ, SONIA       ADDRESS ON FILE
ARROYO RODRIGUEZ, VICTOR      ADDRESS ON FILE
ARROYO RODRIGUEZ, XIOMARA     ADDRESS ON FILE
ARROYO RODRIGUEZ, YARADELIZ   ADDRESS ON FILE
ARROYO RODRIGUEZ, YEYFREY     ADDRESS ON FILE
ARROYO RODRIGUEZ,RONALD       ADDRESS ON FILE
ARROYO ROJAS, LYMARY D.       ADDRESS ON FILE
ARROYO ROJAS, MARIA ELENA     ADDRESS ON FILE




                                                                          Page 589 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 590 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO ROJAS, OLGA I        ADDRESS ON FILE
ARROYO ROJAS, ROLAND        ADDRESS ON FILE
ARROYO ROJAS, WALDEMAR A.   ADDRESS ON FILE
ARROYO ROLDAN, AGAPITA      ADDRESS ON FILE
ARROYO ROLDAN, CARMEN       ADDRESS ON FILE
ARROYO ROLDAN, ESTHER M     ADDRESS ON FILE
ARROYO ROLDAN, ISMAEL       ADDRESS ON FILE
ARROYO ROLDAN, LEONILDA     ADDRESS ON FILE
ARROYO ROLDAN, LINETTE      ADDRESS ON FILE
ARROYO ROLDAN, SARA         ADDRESS ON FILE
ARROYO ROLDAN, SARA         ADDRESS ON FILE
Arroyo Roman, Frances L.    ADDRESS ON FILE
ARROYO ROMAN, MARY L.       ADDRESS ON FILE
ARROYO ROMEU MD, CARLOS     ADDRESS ON FILE
ARROYO ROMEU, JUAN          ADDRESS ON FILE
ARROYO ROMEU, SHARON        ADDRESS ON FILE
Arroyo Rosa, Nadab A        ADDRESS ON FILE
ARROYO ROSA, NADAB A        ADDRESS ON FILE
ARROYO ROSA, ROSA           ADDRESS ON FILE
ARROYO ROSA, ROSA J.        ADDRESS ON FILE
ARROYO ROSADO MD, EDWIN     ADDRESS ON FILE
ARROYO ROSADO, ERNESTO      ADDRESS ON FILE
ARROYO ROSADO, HECTOR M     ADDRESS ON FILE
Arroyo Rosado, Henry A      ADDRESS ON FILE
ARROYO ROSADO, JONATHAN     ADDRESS ON FILE
ARROYO ROSADO, JOSE         ADDRESS ON FILE
ARROYO ROSADO, JUAN A       ADDRESS ON FILE
ARROYO ROSADO, MAGDA M      ADDRESS ON FILE
ARROYO ROSADO, NITZA I      ADDRESS ON FILE
ARROYO ROSADO, RAFAELA      ADDRESS ON FILE
ARROYO ROSADO, RUTH M       ADDRESS ON FILE
ARROYO ROSARIO MD, RAUL M   ADDRESS ON FILE
ARROYO ROSARIO, ALBERTO     ADDRESS ON FILE
ARROYO ROSARIO, EDDIE       ADDRESS ON FILE
ARROYO ROSARIO, GILDA       ADDRESS ON FILE
ARROYO ROSARIO, GLORIA J    ADDRESS ON FILE
Arroyo Rosario, Hector I    ADDRESS ON FILE
ARROYO ROSARIO, IRMA I      ADDRESS ON FILE
ARROYO ROSARIO, IVETTE      ADDRESS ON FILE
ARROYO ROSARIO, JEAN        ADDRESS ON FILE
Arroyo Rosario, Jesus M     ADDRESS ON FILE
ARROYO ROSARIO, JOSE        ADDRESS ON FILE
ARROYO ROSARIO, RACHAEL M   ADDRESS ON FILE
ARROYO ROSARIO, YADIEL      ADDRESS ON FILE
ARROYO ROSASDO, LUZ         ADDRESS ON FILE
ARROYO ROURA, MELISSA       ADDRESS ON FILE
Arroyo Roura, Melissa H     ADDRESS ON FILE
ARROYO RUBIO, CHRISTIAN     ADDRESS ON FILE
ARROYO RUBIO, FRANKY        ADDRESS ON FILE
ARROYO RUBIO, FRANKY        ADDRESS ON FILE
ARROYO RUBIO, MICHELLE      ADDRESS ON FILE
ARROYO RUIZ, AMNERIS        ADDRESS ON FILE
ARROYO RUIZ, BLANCA I       ADDRESS ON FILE
ARROYO RUIZ, CARLOS         ADDRESS ON FILE
ARROYO RUIZ, FRANCISCO      ADDRESS ON FILE
ARROYO RUIZ, GREGORIA       ADDRESS ON FILE
ARROYO RUIZ, JOSE           ADDRESS ON FILE
ARROYO RUIZ, LISSETTE       ADDRESS ON FILE
ARROYO RUIZ, MARIA N        ADDRESS ON FILE
ARROYO RUIZ, MARIAN         ADDRESS ON FILE




                                                                        Page 590 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 591 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Arroyo Saez, Janet               ADDRESS ON FILE
Arroyo Salaberrio, Martin V      ADDRESS ON FILE
ARROYO SALABERRIOS, MARIANE      ADDRESS ON FILE
ARROYO SALABERRIOS, MARTIN       ADDRESS ON FILE
Arroyo Salaman, Dianny Y         ADDRESS ON FILE
ARROYO SALAMAN, SONIA I.         ADDRESS ON FILE
ARROYO SALAS, KRYSTINA           ADDRESS ON FILE
ARROYO SALAS, PATRICIA M.        ADDRESS ON FILE
ARROYO SALGADO, MARIA M.         ADDRESS ON FILE
ARROYO SALGADO, NAYDA T          ADDRESS ON FILE
ARROYO SALGADO, YOLANDA          ADDRESS ON FILE
ARROYO SANABRIA, MIGUEL          ADDRESS ON FILE
ARROYO SANCHEZ, ANA IRMA         ADDRESS ON FILE
Arroyo Sanchez, Angel L          ADDRESS ON FILE
ARROYO SANCHEZ, ARLENE Y.        ADDRESS ON FILE
ARROYO SANCHEZ, CARMEN I         ADDRESS ON FILE
Arroyo Sanchez, Jose L           ADDRESS ON FILE
Arroyo Sanchez, Juan C           ADDRESS ON FILE
ARROYO SANCHEZ, LEONIRIS         ADDRESS ON FILE
ARROYO SANCHEZ, MAYRA            ADDRESS ON FILE
ARROYO SANCHEZ, MELISSA          ADDRESS ON FILE
Arroyo Sanchez, Noelia           ADDRESS ON FILE
ARROYO SANCHEZ, NOELIA           ADDRESS ON FILE
ARROYO SANCHEZ, NYDIA            ADDRESS ON FILE
ARROYO SANCHEZ, NYDIA M.         ADDRESS ON FILE
ARROYO SANCHEZ, OLGA I           ADDRESS ON FILE
ARROYO SANTA, NORIS M            ADDRESS ON FILE
ARROYO SANTANA, ANA I            ADDRESS ON FILE
ARROYO SANTANA, MARISOL          ADDRESS ON FILE
ARROYO SANTANA, RUTH I           ADDRESS ON FILE
ARROYO SANTIAGO, ANA M           ADDRESS ON FILE
ARROYO SANTIAGO, CARLOS          ADDRESS ON FILE
ARROYO SANTIAGO, CARLOS          ADDRESS ON FILE
ARROYO SANTIAGO, CARMEN L        ADDRESS ON FILE
ARROYO SANTIAGO, DIANE           ADDRESS ON FILE
ARROYO SANTIAGO, GLORIMAR        ADDRESS ON FILE
ARROYO SANTIAGO, GRISEL          ADDRESS ON FILE
ARROYO SANTIAGO, HERMINIA        ADDRESS ON FILE
ARROYO SANTIAGO, IVETTE M        ADDRESS ON FILE
ARROYO SANTIAGO, JEANNETTE       ADDRESS ON FILE
ARROYO SANTIAGO, JOHN            ADDRESS ON FILE
ARROYO SANTIAGO, JORGE           ADDRESS ON FILE
ARROYO SANTIAGO, JOSE            ADDRESS ON FILE
Arroyo Santiago, Jose A.         ADDRESS ON FILE
ARROYO SANTIAGO, JOSE R          ADDRESS ON FILE
ARROYO SANTIAGO, JUAN            ADDRESS ON FILE
ARROYO SANTIAGO, JULIO C         ADDRESS ON FILE
ARROYO SANTIAGO, KEVIN           ADDRESS ON FILE
ARROYO SANTIAGO, LUIS            ADDRESS ON FILE
ARROYO SANTIAGO, LUIS MANUEL     ADDRESS ON FILE
ARROYO SANTIAGO, LUIS Y.         ADDRESS ON FILE
ARROYO SANTIAGO, LUZ             ADDRESS ON FILE
ARROYO SANTIAGO, LUZ CELENIA     ADDRESS ON FILE
ARROYO SANTIAGO, MARCO           ADDRESS ON FILE
ARROYO SANTIAGO, MARIA E         ADDRESS ON FILE
ARROYO SANTIAGO, MARIA I         ADDRESS ON FILE
ARROYO SANTIAGO, MINERVA         ADDRESS ON FILE
ARROYO SANTIAGO, OMAR            ADDRESS ON FILE
ARROYO SANTIAGO, RAMON A         ADDRESS ON FILE
ARROYO SANTIAGO, ROSA MILAGROS   ADDRESS ON FILE




                                                                             Page 591 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 592 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO SANTIAGO, YAMILA E      ADDRESS ON FILE
ARROYO SANTIAGO, YESSENIA      ADDRESS ON FILE
ARROYO SANTONI, NILSA W        ADDRESS ON FILE
ARROYO SANTOS, CAMILLE         ADDRESS ON FILE
ARROYO SANTOS, DALY            ADDRESS ON FILE
ARROYO SANTOS, DIDDIER         ADDRESS ON FILE
ARROYO SANTOS, EILEEN          ADDRESS ON FILE
ARROYO SANTOS, MARGARITA       ADDRESS ON FILE
ARROYO SANYET, ALBA            ADDRESS ON FILE
ARROYO SAURI, JOSEFINA         ADDRESS ON FILE
ARROYO SEDA, CARMEN M          ADDRESS ON FILE
ARROYO SEDA, ENEIMEL           ADDRESS ON FILE
ARROYO SEDA, HARRY             ADDRESS ON FILE
ARROYO SEDA, NINOTCHKA         ADDRESS ON FILE
ARROYO SEDA, STACHYS           ADDRESS ON FILE
ARROYO SEDA, SUZERAIN          ADDRESS ON FILE
ARROYO SEGARRA, JOSE H.        ADDRESS ON FILE
ARROYO SEGARRA, JOSE H.        ADDRESS ON FILE
ARROYO SEGARRA, KARINA         ADDRESS ON FILE
ARROYO SEGARRA, YAZMIN         ADDRESS ON FILE
ARROYO SELER, ANA A            ADDRESS ON FILE
ARROYO SERRANO, CARLOS         ADDRESS ON FILE
ARROYO SERRANO, CIRILA         ADDRESS ON FILE
ARROYO SERRANO, LUIS J.        ADDRESS ON FILE
ARROYO SERRANO, LUZ C.         ADDRESS ON FILE
ARROYO SERRANO, SAMUEL         ADDRESS ON FILE
ARROYO SIERRA, HECTOR          ADDRESS ON FILE
ARROYO SIERRA, HECTOR          ADDRESS ON FILE
Arroyo Sierra, Heriberto       ADDRESS ON FILE
ARROYO SIERRA, IVONNE          ADDRESS ON FILE
ARROYO SIERRA, RAFAEL          ADDRESS ON FILE
ARROYO SOLER, ANGEL B          ADDRESS ON FILE
ARROYO SOLER, DANIEL           ADDRESS ON FILE
ARROYO SOSA, ALEJANDRO         ADDRESS ON FILE
ARROYO SOSTRE, MARIELYS        ADDRESS ON FILE
ARROYO SOTO, FELIX             ADDRESS ON FILE
ARROYO SOTO, JANNICE           ADDRESS ON FILE
ARROYO SOTO, JAVIER            ADDRESS ON FILE
ARROYO SOTO, LILIANA           ADDRESS ON FILE
ARROYO SOTO, LINDOLFO          ADDRESS ON FILE
ARROYO SOTO, LUZ               ADDRESS ON FILE
ARROYO SOTO, MELVIN            ADDRESS ON FILE
ARROYO SOTO, MIGDALIA          ADDRESS ON FILE
ARROYO SOTO, NELLY             ADDRESS ON FILE
ARROYO SOTO, NILSA             ADDRESS ON FILE
ARROYO SOTO, NOEMI             ADDRESS ON FILE
ARROYO SOTO, WILFREDO          ADDRESS ON FILE
ARROYO SOTO, WILLIAM           ADDRESS ON FILE
ARROYO SOTO, YOLANDA           ADDRESS ON FILE
Arroyo Suarez, Jose Javier     ADDRESS ON FILE
ARROYO SUAREZ, NORA            ADDRESS ON FILE
ARROYO SUAREZ, PEDRO C         ADDRESS ON FILE
ARROYO SUAREZ, VELDA MARILYA   ADDRESS ON FILE
ARROYO TANON, RAFAEL           ADDRESS ON FILE
ARROYO TIRADO, ANA             ADDRESS ON FILE
ARROYO TIRADO, EVELYN          ADDRESS ON FILE
ARROYO TIRADO, JOHNNY          ADDRESS ON FILE
Arroyo Tirado, Sylvia          ADDRESS ON FILE
ARROYO TORO, ANA M.            ADDRESS ON FILE
ARROYO TORO, DANIELI F         ADDRESS ON FILE




                                                                           Page 592 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 593 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO TORO, MONSERRATE        ADDRESS ON FILE
Arroyo Torres, Abigail         ADDRESS ON FILE
ARROYO TORRES, ANGEL           ADDRESS ON FILE
ARROYO TORRES, ANGEL VICENTE   ADDRESS ON FILE
ARROYO TORRES, AUREA L         ADDRESS ON FILE
ARROYO TORRES, AWILDA          ADDRESS ON FILE
ARROYO TORRES, BEATRIZ         ADDRESS ON FILE
ARROYO TORRES, BRYAN           ADDRESS ON FILE
ARROYO TORRES, EDNA V          ADDRESS ON FILE
ARROYO TORRES, ELMER           ADDRESS ON FILE
ARROYO TORRES, ELMER           ADDRESS ON FILE
ARROYO TORRES, ENID            ADDRESS ON FILE
ARROYO TORRES, HECTOR          ADDRESS ON FILE
Arroyo Torres, Hector M        ADDRESS ON FILE
ARROYO TORRES, IDALIA          ADDRESS ON FILE
ARROYO TORRES, JOSE            ADDRESS ON FILE
Arroyo Torres, Jose R.         ADDRESS ON FILE
ARROYO TORRES, JOSEFINA        ADDRESS ON FILE
ARROYO TORRES, JULYMAR         ADDRESS ON FILE
ARROYO TORRES, KEVIN           ADDRESS ON FILE
ARROYO TORRES, LETICIA C       ADDRESS ON FILE
ARROYO TORRES, LUIS            ADDRESS ON FILE
ARROYO TORRES, MARIA A         ADDRESS ON FILE
ARROYO TORRES, MARITZA         ADDRESS ON FILE
ARROYO TORRES, MELISSA         ADDRESS ON FILE
ARROYO TORRES, MELVIN          ADDRESS ON FILE
ARROYO TORRES, MICHAEL         ADDRESS ON FILE
ARROYO TORRES, MILAGROS        ADDRESS ON FILE
ARROYO TORRES, MILAGROS        ADDRESS ON FILE
ARROYO TORRES, NANCY           ADDRESS ON FILE
ARROYO TORRES, NOEL            ADDRESS ON FILE
Arroyo Torres, Noemi           ADDRESS ON FILE
ARROYO TORRES, NYDIA E         ADDRESS ON FILE
ARROYO TORRES, OLGA I          ADDRESS ON FILE
ARROYO TORRES, OSVALDO         ADDRESS ON FILE
Arroyo Torres, Pedro J         ADDRESS ON FILE
ARROYO TORRES, RAFAEL          ADDRESS ON FILE
ARROYO TORRES, RAFAEL J        ADDRESS ON FILE
ARROYO TORRES, RICARDO         ADDRESS ON FILE
Arroyo Torres, Sergio A        ADDRESS ON FILE
ARROYO TORRES, SILVIA I.       ADDRESS ON FILE
ARROYO TORRES, VANESSA ELENA   ADDRESS ON FILE
ARROYO TORRES, VIOLETA         ADDRESS ON FILE
ARROYO TORRES, ZULEYKA         ADDRESS ON FILE
ARROYO TRABAL, CARLOS          ADDRESS ON FILE
ARROYO TRINIDAD, DAMARIS       ADDRESS ON FILE
ARROYO TRINIDAD, FRANCIS E.    ADDRESS ON FILE
ARROYO TRINIDAD, IVAN D.       ADDRESS ON FILE
ARROYO TRINIDAD, JORGE         ADDRESS ON FILE
ARROYO TRINIDAD, TANAIRI       ADDRESS ON FILE
ARROYO TROCHE, LAURA           ADDRESS ON FILE
ARROYO TRONCOSO, SAMUEL        ADDRESS ON FILE
ARROYO TULL, CARLOS R.         ADDRESS ON FILE
ARROYO VALDEZ, CESAR           ADDRESS ON FILE
ARROYO VALENTIN, DAISY         ADDRESS ON FILE
ARROYO VALENTIN, PEDRO         ADDRESS ON FILE
ARROYO VALES, JOSEFINA         ADDRESS ON FILE
ARROYO VALLE, ILEANA           ADDRESS ON FILE
ARROYO VALLE, LETICIA          ADDRESS ON FILE
ARROYO VALLE, LILIANA          ADDRESS ON FILE




                                                                           Page 593 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 594 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARROYO VALLE, LUIS A.         ADDRESS ON FILE
Arroyo Valle, Roberto         ADDRESS ON FILE
ARROYO VALLEJO, MICHAEL       ADDRESS ON FILE
Arroyo Vargas, Alvin          ADDRESS ON FILE
Arroyo Vargas, Danny          ADDRESS ON FILE
ARROYO VARGAS, DANNY          ADDRESS ON FILE
ARROYO VARGAS, JESSICA        ADDRESS ON FILE
ARROYO VARGAS, JOHN E         ADDRESS ON FILE
ARROYO VARGAS, JOSE F         ADDRESS ON FILE
ARROYO VARGAS, JUAN R         ADDRESS ON FILE
Arroyo Vargas, Lourdes        ADDRESS ON FILE
ARROYO VARGAS, MARIA          ADDRESS ON FILE
ARROYO VARGAS, MOISES         ADDRESS ON FILE
ARROYO VARGAS, NEREIDA        ADDRESS ON FILE
ARROYO VARGAS, OMAR           ADDRESS ON FILE
ARROYO VAZQUEZ, AMAURY J.     ADDRESS ON FILE
ARROYO VAZQUEZ, ARACELIS      ADDRESS ON FILE
ARROYO VAZQUEZ, AWILDA        ADDRESS ON FILE
ARROYO VAZQUEZ, BELINDA       ADDRESS ON FILE
ARROYO VAZQUEZ, DAYNA         ADDRESS ON FILE
ARROYO VAZQUEZ, EDITH         ADDRESS ON FILE
ARROYO VAZQUEZ, EILEEN        ADDRESS ON FILE
ARROYO VAZQUEZ, HECTOR        ADDRESS ON FILE
ARROYO VAZQUEZ, IVELLISE      ADDRESS ON FILE
ARROYO VAZQUEZ, IZALISSE      ADDRESS ON FILE
ARROYO VAZQUEZ, JONATHAN      ADDRESS ON FILE
ARROYO VAZQUEZ, JOSE          ADDRESS ON FILE
ARROYO VAZQUEZ, LUIS          ADDRESS ON FILE
ARROYO VAZQUEZ, LUIS          ADDRESS ON FILE
ARROYO VAZQUEZ, LUIS          ADDRESS ON FILE
ARROYO VAZQUEZ, MARIA DE L.   ADDRESS ON FILE
ARROYO VAZQUEZ, MARY ANN      ADDRESS ON FILE
ARROYO VAZQUEZ, NANCY         ADDRESS ON FILE
ARROYO VAZQUEZ, RAFAEL        ADDRESS ON FILE
ARROYO VAZQUEZ, ROBERTO       ADDRESS ON FILE
ARROYO VAZQUEZ, SURIAM        ADDRESS ON FILE
ARROYO VAZQUEZ, WILLIAM       ADDRESS ON FILE
ARROYO VDA RAMOS, LAVINIA     ADDRESS ON FILE
ARROYO VECCHIOLY, GERMAN      ADDRESS ON FILE
ARROYO VECCHIOLY, VANESSA     ADDRESS ON FILE
ARROYO VEGA, ANA I.           ADDRESS ON FILE
ARROYO VEGA, JOHN             ADDRESS ON FILE
ARROYO VEGA, JOHN             ADDRESS ON FILE
ARROYO VEGA, JUAN A.          ADDRESS ON FILE
ARROYO VEGA, MANUEL G         ADDRESS ON FILE
ARROYO VEGA, MARIO            ADDRESS ON FILE
ARROYO VEGA, WALTER           ADDRESS ON FILE
ARROYO VELAZQUEZ, MIXELINES   ADDRESS ON FILE
ARROYO VELAZQUEZ, ROSA I.     ADDRESS ON FILE
ARROYO VELAZQUEZ, WILFREDO    ADDRESS ON FILE
ARROYO VELEZ, ADA F           ADDRESS ON FILE
ARROYO VELEZ, DARIS I         ADDRESS ON FILE
ARROYO VELEZ, DORIS           ADDRESS ON FILE
ARROYO VELEZ, ENEIDA          ADDRESS ON FILE
ARROYO VELEZ, IDA             ADDRESS ON FILE
ARROYO VELEZ, JOSHUE          ADDRESS ON FILE
ARROYO VELEZ, LUIS            ADDRESS ON FILE
ARROYO VELEZ, LUIS A          ADDRESS ON FILE
ARROYO VELEZ, LUIS A          ADDRESS ON FILE
ARROYO VELEZ, LUZ S           ADDRESS ON FILE




                                                                          Page 594 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 595 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ARROYO VELEZ, LUZ SELENIA              ADDRESS ON FILE
ARROYO VELEZ, MARISELY                 ADDRESS ON FILE
ARROYO VELEZ, MIGUEL                   ADDRESS ON FILE
ARROYO VELEZ, MIRIAM                   ADDRESS ON FILE
ARROYO VELEZ, PAULA                    ADDRESS ON FILE
ARROYO VELEZ, RAFAEL                   ADDRESS ON FILE
ARROYO VELEZ, REYSA                    ADDRESS ON FILE
ARROYO VELEZ, SILVIA                   ADDRESS ON FILE
Arroyo Velez, Yoary M                  ADDRESS ON FILE
ARROYO VERDEJO, JOSE                   ADDRESS ON FILE
ARROYO VICENTE, SONIA M.               ADDRESS ON FILE
ARROYO VICENTE, ZAIDA                  ADDRESS ON FILE
ARROYO VIDARTES, CONCEPCION            ADDRESS ON FILE
ARROYO VIERA, ADIANEZ                  ADDRESS ON FILE
ARROYO VIERA, JUAN A.                  ADDRESS ON FILE
ARROYO VIERA, ZERARIS                  ADDRESS ON FILE
ARROYO VILELLA, WILLIAM                ADDRESS ON FILE
ARROYO VILLAMIL, MARIA DEL C           ADDRESS ON FILE
ARROYO VILLANUEVA, LUIS                ADDRESS ON FILE
ARROYO VILLEGAS, ANGEL                 ADDRESS ON FILE
ARROYO VIOLANO, FREDDY                 ADDRESS ON FILE
ARROYO VIVES, MARIA DEL                ADDRESS ON FILE
ARROYO VIVES, NELSON A                 ADDRESS ON FILE
ARROYO VIZCARRONDO, ASHLEY             ADDRESS ON FILE
ARROYO ZABALA, ANGEL L                 ADDRESS ON FILE
ARROYO ZAMBRANA, CARMEN E              ADDRESS ON FILE
ARROYO ZAPATA, RONALD L                ADDRESS ON FILE
ARROYO ZENGOTITA MD, GEORGINA          ADDRESS ON FILE
ARROYO ZENGOTITA, GEORGINA             ADDRESS ON FILE
ARROYO ZENGOTITA, JUAN J.              ADDRESS ON FILE
ARROYO ZIMMERMAN, MANUEL               ADDRESS ON FILE
ARROYO, ALLISON RODRIGUEZ              ADDRESS ON FILE
ARROYO, ERNESTO                        ADDRESS ON FILE
ARROYO, HAROLD A.                      ADDRESS ON FILE
ARROYO, HECTOR J.                      ADDRESS ON FILE
ARROYO, ISMAEL JR                      ADDRESS ON FILE
ARROYO, JOSE M.                        ADDRESS ON FILE
ARROYO, JUAN                           ADDRESS ON FILE
ARROYO, LILLIBETH                      ADDRESS ON FILE
ARROYO, LYMARI DE                      ADDRESS ON FILE
ARROYO, MARIA DE LOS ANGELES           ADDRESS ON FILE
ARROYO, MELISSA                        ADDRESS ON FILE
ARROYO, NILDA M                        ADDRESS ON FILE
ARROYO, RAFAEL                         ADDRESS ON FILE
ARROYO, RAMON L.                       ADDRESS ON FILE
ARROYO, ROGELIO                        ADDRESS ON FILE
ARROYO, WILFREDO                       ADDRESS ON FILE
ARROYO,CARLOS                          ADDRESS ON FILE
ARROYO,GUADALBERT                      ADDRESS ON FILE
ARROYO,JUAN C.                         ADDRESS ON FILE
ARROYO,ROSA ENID                       ADDRESS ON FILE
ARROYO‐BELLIDO, DIANA                  ADDRESS ON FILE
ARROYOCASTELLANO, SAMUEL               ADDRESS ON FILE
ARROYODIAZ, BENJAMIN                   ADDRESS ON FILE
ARROYOFIGUEROA, BRAULIO                ADDRESS ON FILE
ARROYO‐FLORES CONSULTING GROUP, INC.   307 CAMINO LAS PALMAS     SABANERA DEL RIO                                       GURABO       PR      00778
ARROYO‐FLORES CONSULTING GROUP, INC.   P O BOX 3040 PMB #81                                                             GURABO       PR      00778
ARROYORIVERA, TOMAS                    ADDRESS ON FILE
ARROYOROSARIO, WILSON                  ADDRESS ON FILE
ARROYOSANTIAGO, JOHANNA                ADDRESS ON FILE




                                                                                    Page 595 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 596 of 3500
                                                                                                     Creditor Matrix

Creditor Name                         Address1                              Address2                              Address3   Address4   City         State   PostalCode   Country
ARROYYO GONZALEZ, MAGDALENA           ADDRESS ON FILE
ARRUFAT ALBARRAN, EDUARDO             ADDRESS ON FILE
ARRUFAT ALBARRAN, EDUARDO             ADDRESS ON FILE
ARRUFAT BERASTAIN, CLARIMAR           ADDRESS ON FILE
ARRUFAT CEBOLLERO, SHEIDA I           ADDRESS ON FILE
ARRUFAT CEBOLLERO, SHEIDA I           ADDRESS ON FILE
ARRUFAT MARQUEZ, WILLIAM A.           ADDRESS ON FILE
ARRUFAT PIMENTEL, LUIS                ADDRESS ON FILE
ARRUFAT RODRIGUEZ, WIILLIAM           ADDRESS ON FILE
ARRUFAT ROSA, MARLA                   ADDRESS ON FILE
ARRUFAT ROSA, TOMMY                   ADDRESS ON FILE
ARRUFAT SANCHEZ, GUSTAVO A.           ADDRESS ON FILE
ARRUFAT VERA, AWILDA                  ADDRESS ON FILE
ARRUFAT VERA, RICARDO                 ADDRESS ON FILE
ARRUZA ELIAS MD, MICHAEL              ADDRESS ON FILE
ARS ACCU RESULTS SERVICES             CALLE VERDE LUZ 264                   MANSIONES MONTE VERDE                                       CAYEY        PR      00736
ARSE, INC                             PO BOX 339                                                                                        HUMACAO      PR      00792
ARSENIA LLANTIN ORTIZ                 ADDRESS ON FILE
ARSENIO C COMAS/ MAGDALENA REVUELTA   ADDRESS ON FILE
ARSENIO FEBUS ORTIZ                   ADDRESS ON FILE
ARSENIO GONZALEZ COLON                ADDRESS ON FILE
ARSENIO GONZALEZ PINERO               ADDRESS ON FILE
ARSENIO LLANES SANTIAGO               ADDRESS ON FILE
ARSENIO MORALES MOJICA                ADDRESS ON FILE
ARSENIO MUNIZ RUIZ                    ADDRESS ON FILE
ARSENIO PENA CAMACHO                  ADDRESS ON FILE
ARSENIO PEREZ MARTINEZ                ADDRESS ON FILE
ARSENIO PEREZ MARTINEZ                ADDRESS ON FILE
ARSENIO RODRIGUEZ JACA                ADDRESS ON FILE
ARSENIO RODRIGUEZ MALDONADO           ADDRESS ON FILE
ARSENIO SANTANA IRENE                 ADDRESS ON FILE
ARSENIO UBARRI SUCESION               VILLA AVILA                           A14 CALLE MAYAGUEZ                                          GUAYNABO     PR      00969‐4603
ARSO RADIO CORP.                      PO BOX 363222                                                                                     SAN JUAN     PR      00936‐3222
ARSO RADIO CORPORATION                P O BOX 363222                                                                                    SAN JUAN     PR      00936‐3222
ARSO RADIO CORPORATION                P O BOX 487                                                                                       CAGUAS       PR      00726
ARSUAGA DE LOS REYES, ANDRES          ADDRESS ON FILE
ARSUAGA DE LOS REYES, SOFIA           ADDRESS ON FILE
ARSUAGA MORALES, JOSE                 ADDRESS ON FILE
ARSUAGA PERELLO, GABRIEL              ADDRESS ON FILE
ARSUAGA PERELLO, RAFAEL               ADDRESS ON FILE
ART COM INC                           PO BOX 364212                                                                                     SAN JUAN     PR      00936
ART DESIGN PRINTS                     P O BOX 696                                                                                       AGUADA       PR      00602
ART DESIGN SIGN WORKS                 URB HILL VIEW                         714 CARIBEAN STREET                                         YAUCO        PR      00698
ART DRAFT AUTHORITY                   PO BOX 191787                                                                                     SAN JUAN     PR      00919‐1787
ART DRAFT AUTHORITY                   PUERTO NUEVO                          399 AVE ANDALUCIA                                           SAN JUAN     PR      00920
ART IS TECH FOAM DESIGNS INC          PO BOX 1097                                                                                       ANASCO       PR      00610
ART IS TECH FOAM DESIGNS INC          PO BOX 1097                                                                                       A¥ASCO       PR      00610
ART TECH CONSULTANTS SERVICE INC      609 AVE TITO CASTRO STE 102 PMB 159                                                               PONCE        PR      00716
ARTACH PAGAN, CESAR                   ADDRESS ON FILE
ARTACHE DELGADO, LORY A.              ADDRESS ON FILE
ARTACHE ESTRADA, JAVIER               ADDRESS ON FILE
ARTACHE GASCOT, LOURDES               ADDRESS ON FILE
ARTACHE LUCIANO, EDGAR J.             ADDRESS ON FILE
ARTACHE LUCIANO,MICHAEL               ADDRESS ON FILE
ARTACHE MEDINA, JASON                 ADDRESS ON FILE
Artache Medina, Jason N               ADDRESS ON FILE
ARTACHE ROSARIO, DESIREE              ADDRESS ON FILE
ARTACHE ROSARIO, DESIREE              ADDRESS ON FILE
ARTACHE RUIZ, HECMARIE                ADDRESS ON FILE
ARTACHE RUIZ, HECMARIE                ADDRESS ON FILE




                                                                                                    Page 596 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 597 of 3500
                                                                                                             Creditor Matrix

Creditor Name                            Address1                         Address2                                        Address3             Address4   City               State   PostalCode   Country
ARTAU CRUZ, MERCEDES                     ADDRESS ON FILE
ARTAUD PAJAN, LEONARDO DE JESUS          ADDRESS ON FILE
ARTE GRAFICO, INC                        FERNANDO CALDER 504                                                                                              SAN JUAN           PR      00918
ARTE MISMA INC                           PO BOX 366992                                                                                                    SAN JUAN           PR      00936‐6992
ARTE PAN                                 MANS SAN RAFAEL                  D 31 CALLE ESMERALDA                                                            TRUJILLO ALTO      PR      00976
ARTE PARA MI                             COND BELLO HORIZONTE LC 3                                                                                        SAN JUAN           PR      00924
ARTE Y MAS INC                           ADM FOMENTO COMERCIAL            PO BOX 9024275                                                                  SAN JUAN           PR      00902‐4275
ARTE Y MAS INC                           CAROLINA SHOPPING CENTER 65TH    LOCAL 208                                                                       CAROLINA           PR      00985‐6115
ARTE Y MAS INC                           CAROLINA SHOPPING COURT          SUITE 115 A                                                                     CAROLINA           PR      00985
ARTEAGA & ARTEAGA ADVERTISING            PO BOX 70336                                                                                                     SAN JUAN           PR      00936
ARTEAGA & ARTEAGA ADVERTISING INC        P O BOX 70336                                                                                                    SAN JUAN           PR      00936
ARTEAGA CABRERA, CRISTINA                ADDRESS ON FILE
ARTEAGA MELGAR, ALEJANDRO                ADDRESS ON FILE
ARTEAGA TORRES, GABRIEL                  ADDRESS ON FILE
ARTECH CORP                              PO BOX 1739                                                                                                      CANOVANAS          PR      00729
ARTEFACTO                                PO BOX 194222                                                                                                    SAN JUAN           PR      00919‐4222
ARTEFACTO INC                            PMB 286 P O BOX 2510                                                                                             TRUJILLO ALTO      PR      00977‐2510
ARTEFACTO INC                            PO BOX 9022431                                                                                                   SAN JUAN           PR      00902
ARTEFERRO STEEL WORKS                    PMB 138                          RR 5 4999                                                                       BAYAMON            PR      00956‐9708
ARTEGRAFIKO CO CORP                      153 CALLE JUAN B HUYKE                                                                                           SAN JUAN           PR      00918
ARTEMIO AGOSTO PEREZ                     ADDRESS ON FILE
ARTEMIO BAEZ MENDEZ                      ADDRESS ON FILE
ARTEMIO GONZALEZ ACEVEDO                 ADDRESS ON FILE
ARTEMIO GONZALEZ RIVERA                  ADDRESS ON FILE
ARTEMIO IRIZARRY VERA                    ADDRESS ON FILE
ARTEMIO RIVERA BRANUELAS                 ADDRESS ON FILE
ARTEMIO RIVERA RIVERA                    ADDRESS ON FILE
ARTEMIO RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
ARTEMIO RUIZ RESTO                       ADDRESS ON FILE
ARTES CORTES, ILEANA                     ADDRESS ON FILE
ARTES FLORES, FRANCISCO                  ADDRESS ON FILE
ARTHINGS CORP                            #1312 PONCE DE LEON                                                                                              SAN JUAN           PR      00907
ARTHRITIS AND PAIN ASSOC                 MED REC DEPT                     7300 HANOVER DRIVE STE 201                                                      GREENBELT          MD      20770
ARTHRITIS CENTERS OF NJ                  600 PAVONIA AVE                  SUITE 5                                                                         JERSEY CITY        NJ      07306
                                                                                                                          933 FIRST COLONIAL
ARTHRITIS CONSULTANTS OF TIDEWATER VA BEARELEASE OF INFORMATION           SUITE 100                                       ROAD                            VIRGINIA BEACH     VA      23454
ARTHRITIS OSTEOPOROSIS CARE CENTER       3301 SW 34TH CIRCLE STE 101                                                                                      OCALA              FL      34474‐6619
ARTHRITIS RHEUMATOLOGY                   ARTHRITIS RHEUMATOLOGY           3080 HAMILTON BLVD SU 300                                                       ALLENTOWN          PA      18103‐0000
ARTHUR ANDERSEN LLP                      PO BOX 362260`                                                                                                   SAN JUAN           PR      00936‐2260
ARTHUR CASTILLO ORTIZ                    KEILA ORTEGA                     AA BUILDING 1509 LOPEZ LANDRON ‐ SUITE 10                                       SAN JUAN           PR      00911
ARTHUR DONES NEGRON                      ADDRESS ON FILE
ARTHUR GARCIA CRESCIONI                  ADDRESS ON FILE
ARTHUR J HERNANDEZ SANTANA               ADDRESS ON FILE
ARTHUR J KLOOCK III                      ADDRESS ON FILE
ARTHUR J ORTIZ COOK                      ADDRESS ON FILE
ARTHUR M ORTIZ PUJOLS                    ADDRESS ON FILE
ARTHUR MALARET OTERO                     ADDRESS ON FILE
ARTHUR NELSON BELL                       ADDRESS ON FILE
ARTHUR R CASTILLO DIAZ                   LCDO. JULIO GIL DE LA MADRID     A11 Granada St. Reparto Alhambra                                                Bayamón            PR      00957
ARTIC AIR REFRIGERATION                  HC 1 BOX 6816                                                                                                    GURABO             PR      00778‐9561
ARTICO DE PUERTO RICO                    AVE. DE DIEGO 316                                                                                                PUERTO NUEVO       PR      00920
ARTIE DAVILA LEBRON/CIRO ENERGY          COLINAS DE FAIRVIEW              4L 12 CALLE 211                                                                 TRUJILLO ALTO      PR      00976
ARTIGAS HERNANDEZ, HUMBERTO L            ADDRESS ON FILE
Artigas Lucena, Angel M                  ADDRESS ON FILE
ARTIGUEZ ROSARIO, CARLOS                 ADDRESS ON FILE
ARTILES BLANCO, ORLANDO                  ADDRESS ON FILE
ARTILLA LUCIANO MD, ZAIDA                ADDRESS ON FILE
ARTILUGIOS LLC                           VILLA PALMERAS                   259 BARTOLOME DE LAS CASAS                                                      SAN JUAN           PR      00915
ARTILUGIOS, LLC                          PO BOX 1341 SAINT JUST STATION                                                                                   SAINT JUST         PR      00978
ARTINEZ, JULIO                           ADDRESS ON FILE




                                                                                                        Page 597 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 598 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                  Address2                                   Address3           Address4              City          State   PostalCode   Country
ARTIST DESIGNS & MANAGEMENT CORP.        LCDO. GABRIEL PENAGARICANO VALDES         PO BOX 921                                                                          DORADO        PR      00646‐0921
ARTIST DESIGNS & MANAGEMENT CORP.        LCDO. LUIS MORALES SCHMIDT                URB STA CRUZ ESTEBAN PADILLA #47 1‐A                                                BAYAMON       PR      00961
ARTISTIC & CREATIVE BEADS                RR1 BOX 2053                                                                                                                  ANASCO        PR      00610
ARTISTS DEALERS INC                      PUERTO NUEVO                              266 CALLE 3 N O                                                                     SAN JUAN      PR      00920
ARTOR DE JESUS, WILAMRIE                 ADDRESS ON FILE
ARTRICHES CANTELLOPS, NATALIE            ADDRESS ON FILE
ARTS DESIGN & PRINT                      CARR 2 KM 135.5                                                                                                               AGUADA        PR      00602
ARTTE, INC.                              PO BOX 40686                                                                                                                  SAN JUAN      PR      00940‐0680
Artu Garcia, Ricardo Segundo             ADDRESS ON FILE
ARTUD CORUJO, MYRIAM M                   ADDRESS ON FILE
ARTURET COUVERTIER, ROBERTO              ADDRESS ON FILE
ARTURET DAVILA, PRISCILLA                ADDRESS ON FILE
ARTURET MELENDEZ, MYRNA I                ADDRESS ON FILE
Arturet Villafane, Leslie A              ADDRESS ON FILE
ARTURET, JULIO                           ADDRESS ON FILE
ARTURO A GEIGEL MENDEZ                   ADDRESS ON FILE
ARTURO ACOSTA ARROYO                     ADDRESS ON FILE
ARTURO ALAMO DIAZ                        ADDRESS ON FILE
ARTURO ALCOVER                           URB EL VEDADO                             500 AVE HOSTOS                                                                      SAN JUAN      PR      00918‐3231
ARTURO ANESES TORRES                     ADDRESS ON FILE
ARTURO BUSTOS ESLAVA                     ADDRESS ON FILE
ARTURO CARDE MALDONADO                   ADDRESS ON FILE
ARTURO CEDENO LLORENS                    ADDRESS ON FILE
                                                                                                                             UNION PLAZA SUITE
ARTURO CENTENO                          JOSUE GONZALEZ‐ORTIZ; WILLIAM RAMIREZ‐HENAMERICAN CIVIL LIBERTIES UNION PR, NATIONAL 1105                416 AVE. Ponce DE LEÓN SAN JUAN     PR      00918
Arturo Colón González                   ADDRESS ON FILE
ARTURO COLON HERDMAN                    ADDRESS ON FILE
ARTURO COLON MALDONADO                  ADDRESS ON FILE
ARTURO DE GONGORA BARYOLO               ADDRESS ON FILE
ARTURO DE LAHONGRAIS PALMER             ADDRESS ON FILE
ARTURO DEL RIO SANTIAGO                 ADDRESS ON FILE
ARTURO DELIZ VELEZ                      ADDRESS ON FILE
ARTURO DIAZ ORTIZ                       ADDRESS ON FILE
ARTURO E GONZALEZ SANTIAGO              ADDRESS ON FILE
ARTURO E NOBLE SANTIAGO                 ADDRESS ON FILE
ARTURO E SANABRIA RODRIGUEZ             ADDRESS ON FILE
ARTURO ECHAVARRIA FERRARI               ADDRESS ON FILE
ARTURO EMMANUELLI SANTIAGO              ADDRESS ON FILE
ARTURO FIGUEROA RIOS                    ADDRESS ON FILE
ARTURO FLORES ORTIZ                     ADDRESS ON FILE
ARTURO FOSSAS MARXUACH                  ADDRESS ON FILE
ARTURO FRADERA REYES                    ADDRESS ON FILE
ARTURO FRANCISCO DÍAZ                   LCDO. ARIEL FÉLIX CINTRÓN                ACT                                         PO BOX 42007                              SAN JUAN      PR      00940
ARTURO FRANCISCO DÍAZ                   LCDO. HARRY ANDUZE MONTAÑO               1454 AVE. FERNANDEZ JUNCOS                                                            SAN JUAN      PR      00909
ARTURO FRANCISCO DIAZ‐SMART CONSTRUCTIO APARTADO 70154                                                                                                                 SAN JUAN      PR      00936‐0154
ARTURO GARCIA QUINONES                  ADDRESS ON FILE
ARTURO GUZMAN ENTERTAINMENT             B4 SUITE 2 CAMINO ALEJANDRINO                                                                                                  GUAYNABO      PR      00969
ARTURO GUZMAN ENTERTAINMENT             CAMINO ALEJANDRINO                       B 4 SUITE 2                                                                           GUAYNABO      PR      00969
ARTURO HERNANDEZ AYALA                  ADDRESS ON FILE
ARTURO HERNANDEZ ESTRELLA               ADDRESS ON FILE
ARTURO J ALMODOVAR FARIA                ADDRESS ON FILE
ARTURO J GUZMAN VARGAS                  ADDRESS ON FILE
ARTURO J MORALES PEREZ                  ADDRESS ON FILE
ARTURO J POLANCO                        ADDRESS ON FILE
ARTURO J QUILES PEREZ                   ADDRESS ON FILE
ARTURO L BARREIRO CUMMINGS              ADDRESS ON FILE
ARTURO L ORTIZ ECHEVARRIA               ADDRESS ON FILE
ARTURO L. RODRIGUEZ ROSARIO             ADDRESS ON FILE
ARTURO LAGUER BONILLA                   ADDRESS ON FILE
ARTURO LOPEZ LOPEZ                      ADDRESS ON FILE




                                                                                                                Page 598 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 599 of 3500
                                                                                                              Creditor Matrix

Creditor Name                          Address1                                   Address2                                 Address3                  Address4   City         State   PostalCode   Country
ARTURO LOPEZ RIVERA                    ADDRESS ON FILE
ARTURO LUCIANO DELGADO                 ADDRESS ON FILE
ARTURO LUGO MONTES                     ADDRESS ON FILE
ARTURO MARQUEZ GARCIA                  ADDRESS ON FILE
ARTURO MARTINEZ CENTENO                ADDRESS ON FILE
ARTURO MARTINEZ MERCADO                ADDRESS ON FILE
ARTURO MELENDEZ CALERO                 ADDRESS ON FILE
ARTURO MELENDEZ MILLAN                 ADDRESS ON FILE
ARTURO MENDEZ MORALES                  ADDRESS ON FILE
ARTURO MENDEZ SANTANA                  ADDRESS ON FILE
ARTURO MERCADO AYALA                   ADDRESS ON FILE
ARTURO MIRO DIAZ                       ADDRESS ON FILE
ARTURO MONTANEZ Y/O TAPICERIA MONTANEZ ADDRESS ON FILE
ARTURO MORALES DBA ENLACE CREATIVO     267 CALLE SIERRA MORENA                    PMB 90                                                                        SAN JUAN     PR      00926
ARTURO MORALES DIAZ                    ADDRESS ON FILE
ARTURO MORALES VILLAFANE               ADDRESS ON FILE
ARTURO MUNOZ                           ADDRESS ON FILE
ARTURO NATER ARROYO                    ADDRESS ON FILE
ARTURO NEGRON VARGAS                   ADDRESS ON FILE
ARTURO NIEVES HUERTAS                  ADDRESS ON FILE

ARTURO NIEVES HUERTAS                  LCDO. ARTURO NIEVES HUERTAS,LCDO. LUIS RAÚCond. Le Mans Oficina 504                 Ave. Muñoz Rivera # 602              San Juan     PR      00918
ARTURO ORTIZ ACEVEDO                   ADDRESS ON FILE
ARTURO ORTIZ PACHECO                   ADDRESS ON FILE
ARTURO PALACIOS ROSARIO                ADDRESS ON FILE
ARTURO QUINONES HILERIO                ADDRESS ON FILE
ARTURO QUINTANA RODRIGUEZ              ADDRESS ON FILE
ARTURO R CORDOVA LOPEZ                 ADDRESS ON FILE
ARTURO R HAU III                       ADDRESS ON FILE
ARTURO R MONTALVO SEDA                 ADDRESS ON FILE
ARTURO R UMPIERRE ARROYO               ADDRESS ON FILE
ARTURO R UMPIERRE NORAT                ADDRESS ON FILE
ARTURO R UMPIERRE NORAT                ADDRESS ON FILE
ARTURO REYES AYALA                     ADDRESS ON FILE
ARTURO RIVERA GONZALEZ                 ADDRESS ON FILE
ARTURO RIVERA PALACIOS                 ADDRESS ON FILE
Arturo Rivera Sanchez                  ADDRESS ON FILE
Arturo Roche Rivera                    ADDRESS ON FILE
Arturo Roche Rivera                    ADDRESS ON FILE
ARTURO RODRIGUEZ                       ADDRESS ON FILE
ARTURO ROQUETA RODRIGUEZ               ADDRESS ON FILE
ARTURO ROSADO, PEDRO                   ADDRESS ON FILE
ARTURO SANTIAGO MELENDEZ               ADDRESS ON FILE
ARTURO SANTIAGO ORTEGA                 ADDRESS ON FILE
ARTURO SERRANO TORRES                  ADDRESS ON FILE
ARTURO TORRES CRUZADO                  ADDRESS ON FILE
ARTURO TORRES RIVERA                   ADDRESS ON FILE
ARTURO VELAZQUEZ VELAZQUEZ             ADDRESS ON FILE
ARTURO YANES ARMAS                     ADDRESS ON FILE
ARTZ, MARGARET                         ADDRESS ON FILE
Arus Llanos, Evelyn Ivette             ADDRESS ON FILE
ARUZ BARBOSA, ANA I                    ADDRESS ON FILE
ARUZ BARBOSA, BELEN                    ADDRESS ON FILE
ARUZ BARBOSA, DAMARIS                  ADDRESS ON FILE
ARUZ BARBOSA, MINERVA                  ADDRESS ON FILE
ARUZ DE LEON, JUAN JOSE                ADDRESS ON FILE
ARUZ GARCIA, MARIA D                   ADDRESS ON FILE
ARUZ GUADALUPE, JOSE                   ADDRESS ON FILE
ARVELO ACEVEDO, JESSICA D.             ADDRESS ON FILE
ARVELO ALLENDE, LAURA L                ADDRESS ON FILE




                                                                                                             Page 599 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 600 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARVELO ALVARADO, EUNICE       ADDRESS ON FILE
ARVELO ARROYO, BEATRIZ        ADDRESS ON FILE
ARVELO AYALA, LUZ E           ADDRESS ON FILE
ARVELO BRITO, ANGELICA        ADDRESS ON FILE
Arvelo Candelaria, Anthony    ADDRESS ON FILE
ARVELO COLON, MARTHA I        ADDRESS ON FILE
ARVELO CORDERO, VANESSA       ADDRESS ON FILE
ARVELO CRESPO, MARITZA        ADDRESS ON FILE
ARVELO CRESPO, MARITZA        ADDRESS ON FILE
ARVELO CRESPO, SONIA          ADDRESS ON FILE
Arvelo Cruz, Rolando          ADDRESS ON FILE
ARVELO DE JESUS, JUDITH       ADDRESS ON FILE
ARVELO DIAZ, AIMEE            ADDRESS ON FILE
Arvelo Esteves, Santiago      ADDRESS ON FILE
ARVELO GERENA, JOSE J         ADDRESS ON FILE
ARVELO GONZALEZ, JULIO        ADDRESS ON FILE
ARVELO GONZALEZ, LUIS         ADDRESS ON FILE
Arvelo Guzman, Christian J    ADDRESS ON FILE
ARVELO GUZMAN, MIGUEL         ADDRESS ON FILE
ARVELO HERNANDEZ, IVAN        ADDRESS ON FILE
ARVELO KUILAN, CARY           ADDRESS ON FILE
ARVELO LLORET, MARIA          ADDRESS ON FILE
ARVELO LOPEZ, CHRISTIAN J     ADDRESS ON FILE
ARVELO LOPEZ, JAVIER          ADDRESS ON FILE
ARVELO LOPEZ, JAVIER          ADDRESS ON FILE
ARVELO LOPEZ, SAULO           ADDRESS ON FILE
ARVELO MALDONADO, RAFAEL      ADDRESS ON FILE
ARVELO MALDONADO, RAFAEL A.   ADDRESS ON FILE
Arvelo Maldonado, Wilson      ADDRESS ON FILE
ARVELO MARRERO, DAMIAN        ADDRESS ON FILE
ARVELO MARRERO, DAMIAN        ADDRESS ON FILE
ARVELO MARRERO, PAMELA        ADDRESS ON FILE
ARVELO MARTELL, DULCE M       ADDRESS ON FILE
Arvelo Mendez, Ivelys         ADDRESS ON FILE
ARVELO MENDEZ, IVELYS         ADDRESS ON FILE
ARVELO MORALES, HECTOR I      ADDRESS ON FILE
ARVELO MORALES, MIGUEL        ADDRESS ON FILE
ARVELO MORALES, WANDA I       ADDRESS ON FILE
ARVELO MUNIZ, FELIPE          ADDRESS ON FILE
ARVELO MUNIZ, JOSE L          ADDRESS ON FILE
ARVELO MUNIZ, ROBERTO         ADDRESS ON FILE
ARVELO ORTIZ, JULIO           ADDRESS ON FILE
ARVELO ORTIZ, ZORELY B        ADDRESS ON FILE
ARVELO PADIN, MARILYN         ADDRESS ON FILE
ARVELO PADIN, MARILYN         ADDRESS ON FILE
ARVELO PEREZ, EDMAWINYRA      ADDRESS ON FILE
ARVELO QUINONEZ, SUANIA M     ADDRESS ON FILE
ARVELO RIOS, SALVADOR         ADDRESS ON FILE
ARVELO RIVERA, DANIEL         ADDRESS ON FILE
ARVELO RIVERA, IRIS           ADDRESS ON FILE
ARVELO RIVERA, MAGDA I        ADDRESS ON FILE
ARVELO RIVERA, MARLENE        ADDRESS ON FILE
Arvelo Ruiz, Fernando         ADDRESS ON FILE
ARVELO SANCHEZ, IVELISSE      ADDRESS ON FILE
ARVELO SANTIAGO, CRISTIAN     ADDRESS ON FILE
ARVELO SANTIAGO, IVAN D       ADDRESS ON FILE
Arvelo Seguinot, Emeregildo   ADDRESS ON FILE
ARVELO SILVA, MIRIAM S        ADDRESS ON FILE
ARVELO SOTO, BETZALEE         ADDRESS ON FILE
ARVELO SOTO, HECTOR           ADDRESS ON FILE




                                                                          Page 600 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 601 of 3500
                                                                                                 Creditor Matrix

Creditor Name                           Address1                  Address2                                    Address3   Address4   City         State   PostalCode   Country
ARVELO TORRES, CARMEN I                 ADDRESS ON FILE
ARVELO VELEZ, CARLOS                    ADDRESS ON FILE
ARVELO, JOSE J                          ADDRESS ON FILE
ARVELO,RAFAEL A.                        ADDRESS ON FILE
ARVIN J FLORES DONES                    ADDRESS ON FILE
ARVIN J. COLON BERNARDI                 ADDRESS ON FILE
ARVIN PANELL                            ADDRESS ON FILE
ARY MOLL SAMA                           ADDRESS ON FILE
ARYAM BORGES PEREZ                      ADDRESS ON FILE
ARYAM L LOURIDO VIDAL                   ADDRESS ON FILE
ARYAM M. MARRERO RUPERT                 ADDRESS ON FILE
ARYANEX RIVERA ACOSTA / CARLOS SANTOS   ADDRESS ON FILE
ARYMAR, LLC                             URB LEVITTOWN LAKES       BJ6 CALLE DR FONT Y GUILLOT                                       TOA BAJA     PR      00949‐3432
ARYSMICHELL VELEZ CRUZ                  ADDRESS ON FILE
ARZAMENDIZVELEZ, GLISERIA               ADDRESS ON FILE
ARZAN SANCHEZ, BIANCA                   ADDRESS ON FILE
ARZAN VAZQUEZ, NOELIA                   ADDRESS ON FILE
ARZENO LOPEZ MD, GEORGE                 ADDRESS ON FILE
ARZENO PADILLA, YASHIRA                 ADDRESS ON FILE
ARZENO SILVERIO, CARLOS                 ADDRESS ON FILE
Arzola Agosto, Rafael                   ADDRESS ON FILE
ARZOLA ALBINO, CARLOS                   ADDRESS ON FILE
ARZOLA CAMACHO, MICHELLE                ADDRESS ON FILE
ARZOLA CARABALLO, JOSE A                ADDRESS ON FILE
ARZOLA CARABALLO, LUIS E.               ADDRESS ON FILE
ARZOLA CARDIN, JENNIFER                 ADDRESS ON FILE
ARZOLA CARDIN, NATALIA                  ADDRESS ON FILE
ARZOLA CATANER MD, DANIEL               ADDRESS ON FILE
ARZOLA COLON, BRENDA E.                 ADDRESS ON FILE
Arzola Colon, Damaris                   ADDRESS ON FILE
ARZOLA COLON, JORGE                     ADDRESS ON FILE
ARZOLA CORNIER, HUMBERT                 ADDRESS ON FILE
ARZOLA CORNIER, HUMBERT                 ADDRESS ON FILE
ARZOLA CORTES, LISANDRA                 ADDRESS ON FILE
ARZOLA CRESPO, FERNANDO                 ADDRESS ON FILE
ARZOLA CRUZ, ANDRES                     ADDRESS ON FILE
ARZOLA DAVILA, VILMARI                  ADDRESS ON FILE
ARZOLA DIAZ, SHEILA D                   ADDRESS ON FILE
Arzola Dones, Jose                      ADDRESS ON FILE
ARZOLA FIGUEROA, MARGARITA              ADDRESS ON FILE
Arzola Figueroa, Rafael                 ADDRESS ON FILE
Arzola Franco, Arnaldo                  ADDRESS ON FILE
ARZOLA GONZALEZ, ANA                    ADDRESS ON FILE
ARZOLA GONZALEZ, CARLOS                 ADDRESS ON FILE
ARZOLA GONZALEZ, CRUZ M                 ADDRESS ON FILE
Arzola Gonzalez, Jose A                 ADDRESS ON FILE
ARZOLA GONZALEZ, LUIS S                 ADDRESS ON FILE
ARZOLA IRIZARRY, MIGUEL A               ADDRESS ON FILE
ARZOLA LOPEZ, MILITZA                   ADDRESS ON FILE
ARZOLA MADERA, JORGE                    ADDRESS ON FILE
Arzola Madera, Jorge F                  ADDRESS ON FILE
ARZOLA MADERA, TERESA                   ADDRESS ON FILE
ARZOLA MATOS, DINORAH                   ADDRESS ON FILE
ARZOLA MENDEZ, ERNESTO A                ADDRESS ON FILE
ARZOLA MERCED, EVELYN                   ADDRESS ON FILE
ARZOLA MERCED, VILMARIE                 ADDRESS ON FILE
ARZOLA MORALES, HOWARD                  ADDRESS ON FILE
ARZOLA MORALES, JOSE A.                 ADDRESS ON FILE
ARZOLA MUNIZ, VIVIAN                    ADDRESS ON FILE
ARZOLA NEGRON, MAYRA D                  ADDRESS ON FILE




                                                                                                Page 601 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 602 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARZOLA NUNEZ, LUZ               ADDRESS ON FILE
ARZOLA PABON, EDIMIL            ADDRESS ON FILE
ARZOLA RIVERA, ABIGAIL          ADDRESS ON FILE
ARZOLA RIVERA, CARMELO          ADDRESS ON FILE
ARZOLA RIVERA, DIANA            ADDRESS ON FILE
ARZOLA RIVERA, FERDINAND        ADDRESS ON FILE
ARZOLA RIVERA, JORGE LUIS       ADDRESS ON FILE
ARZOLA RODRIGUEZ, AILEEN        ADDRESS ON FILE
ARZOLA RODRIGUEZ, ANGEL         ADDRESS ON FILE
Arzola Rodriguez, Angel D       ADDRESS ON FILE
ARZOLA RODRIGUEZ, ANIBAL        ADDRESS ON FILE
ARZOLA RODRIGUEZ, ARLEEN        ADDRESS ON FILE
ARZOLA RODRIGUEZ, ELOINA        ADDRESS ON FILE
ARZOLA RODRIGUEZ, ERIODITA      ADDRESS ON FILE
ARZOLA RODRIGUEZ, GERTRUDIS     ADDRESS ON FILE
ARZOLA RODRIGUEZ, NILDA         ADDRESS ON FILE
ARZOLA RODRIGUEZ, ROSA          ADDRESS ON FILE
ARZOLA ROSADO, YOLANDA          ADDRESS ON FILE
ARZOLA RUIZ, CAROLINE           ADDRESS ON FILE
ARZOLA RUIZ, FRANCES M          ADDRESS ON FILE
ARZOLA SANCHEZ, IRIS L.         ADDRESS ON FILE
ARZOLA SEGARRA, MILAGROS        ADDRESS ON FILE
ARZOLA SERRANO, JONATHAN        ADDRESS ON FILE
ARZOLA TOLLENS, MEREDITH        ADDRESS ON FILE
ARZOLA TORRES, EDITH            ADDRESS ON FILE
ARZOLA TORRES, HUMBERT          ADDRESS ON FILE
ARZOLA TORRES, VIRGENMINA       ADDRESS ON FILE
Arzola Torres, Yvette           ADDRESS ON FILE
ARZOLA VEGA, CECILIA            ADDRESS ON FILE
ARZOLA VEGA, MARTIN             ADDRESS ON FILE
ARZOLA VEGA, MARTIN             ADDRESS ON FILE
ARZOLA VEGA, MARTIN             ADDRESS ON FILE
ARZOLA VEGA, MOISES             ADDRESS ON FILE
ARZOLA, JOSE E.                 ADDRESS ON FILE
ARZON CAMACHO, JOSE             ADDRESS ON FILE
ARZON CINTRON, ANTONIO          ADDRESS ON FILE
ARZON CORDERO, JANITZA          ADDRESS ON FILE
ARZON CORDERO, LUIS             ADDRESS ON FILE
ARZON COUVERTHIER, MANUEL       ADDRESS ON FILE
ARZON DE CABEZUDO, NILSA N      ADDRESS ON FILE
ARZON GONZALEZ, JARYMAR         ADDRESS ON FILE
ARZON MALDONADO, ANTONIO        ADDRESS ON FILE
ARZON MALDONADO, KIMBERLY       ADDRESS ON FILE
ARZON MALDONADO, SHEILA         ADDRESS ON FILE
ARZON MEDINA, BRUNILDA          ADDRESS ON FILE
ARZON MENDEZ, AIDA S            ADDRESS ON FILE
Arzon Mendez, Manuel A.         ADDRESS ON FILE
ARZON MIRANDA, LUADYS           ADDRESS ON FILE
ARZON MIRANDA, LUIS             ADDRESS ON FILE
ARZON PARRILLA, JAMIE A         ADDRESS ON FILE
ARZON RIVERA, ARTURO            ADDRESS ON FILE
ARZON RODRIGUEZ, MARIBEL        ADDRESS ON FILE
ARZON RODRIGUEZ, NESTOR L       ADDRESS ON FILE
ARZUAGA ALGARIN, SANTA          ADDRESS ON FILE
ARZUAGA ALVAREZ, KATIRIA Y      ADDRESS ON FILE
ARZUAGA APONTE, DEBORAH         ADDRESS ON FILE
ARZUAGA BELTRAN, WANDA          ADDRESS ON FILE
ARZUAGA BELTRAN, YAHAIRA        ADDRESS ON FILE
ARZUAGA BETANCOURT, JACKELINE   ADDRESS ON FILE
Arzuaga Betancourt, Maribel     ADDRESS ON FILE




                                                                            Page 602 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 603 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ARZUAGA BRUNO, ZUGEIDY         ADDRESS ON FILE
Arzuaga Caballero, Iris J      ADDRESS ON FILE
ARZUAGA CABALLERO, JULITA      ADDRESS ON FILE
Arzuaga Castillo, Alexander    ADDRESS ON FILE
ARZUAGA CASTILLO, JOSE R       ADDRESS ON FILE
Arzuaga Castillo, Jose Ramon   ADDRESS ON FILE
ARZUAGA CASTILLO, MARILU       ADDRESS ON FILE
ARZUAGA CASTRO, CARMEN         ADDRESS ON FILE
ARZUAGA CINTRON, YASHIRA       ADDRESS ON FILE
ARZUAGA CLEMENTE, MARCELINO    ADDRESS ON FILE
ARZUAGA COLLAZO MD, JOSE L     ADDRESS ON FILE
ARZUAGA CUADRADO, JOSUE        ADDRESS ON FILE
ARZUAGA DAVILA, CARMEN M       ADDRESS ON FILE
ARZUAGA DAVILA, RITA S         ADDRESS ON FILE
ARZUAGA DE FLORES, CARMEN S    ADDRESS ON FILE
ARZUAGA DE LEON, VIRGINIA      ADDRESS ON FILE
ARZUAGA DEL VALLE, PEDRO       ADDRESS ON FILE
ARZUAGA DELGADO MD, ROSITA     ADDRESS ON FILE
ARZUAGA FLORES, CYNTHIA B      ADDRESS ON FILE
ARZUAGA GARCIA, JORGE          ADDRESS ON FILE
ARZUAGA GOMEZ, JOSE            ADDRESS ON FILE
ARZUAGA GOMEZ, MARIA N.        ADDRESS ON FILE
ARZUAGA GOMEZ, PABLO           ADDRESS ON FILE
ARZUAGA GONZALEZ MD, IRIS      ADDRESS ON FILE
ARZUAGA GONZALEZ, SUZZANE      ADDRESS ON FILE
ARZUAGA GUADALUPE, RAFAEL      ADDRESS ON FILE
ARZUAGA GUZMAN, JUANITA        ADDRESS ON FILE
ARZUAGA GUZMAN, MARIA E        ADDRESS ON FILE
ARZUAGA GUZMAN, PAULA          ADDRESS ON FILE
ARZUAGA LOPEZ, AMARILIS        ADDRESS ON FILE
ARZUAGA LOPEZ, IZAIDA          ADDRESS ON FILE
ARZUAGA LOPEZ, JESUS M         ADDRESS ON FILE
Arzuaga Machado, Carlos A      ADDRESS ON FILE
ARZUAGA MARCANO, EVELYN        ADDRESS ON FILE
ARZUAGA MARCANO, EVELYN        ADDRESS ON FILE
ARZUAGA MARQUEZ, YOLANDA       ADDRESS ON FILE
ARZUAGA MARRERO, IVETTE        ADDRESS ON FILE
ARZUAGA MARTINEZ, YANELLY      ADDRESS ON FILE
ARZUAGA MELENDEZ, JOSE         ADDRESS ON FILE
Arzuaga Nieves, Elias          ADDRESS ON FILE
ARZUAGA OLMO, JOSE CARLOS      ADDRESS ON FILE
ARZUAGA ORTIZ, ANGEL           ADDRESS ON FILE
ARZUAGA OTERO, LIZELLE         ADDRESS ON FILE
Arzuaga Pereira, Juan          ADDRESS ON FILE
ARZUAGA PEREZ, ESTEBAN         ADDRESS ON FILE
ARZUAGA PEREZ, ESTEBAN         ADDRESS ON FILE
Arzuaga Pineiro, Jesus         ADDRESS ON FILE
ARZUAGA PIZARRO, MARIA         ADDRESS ON FILE
ARZUAGA PIZARRO, SABAS         ADDRESS ON FILE
ARZUAGA QUINTANA, HERIBERTO    ADDRESS ON FILE
ARZUAGA RESTO, OMAYRA          ADDRESS ON FILE
ARZUAGA REYES, ALEXIS          ADDRESS ON FILE
ARZUAGA RIVERA, ANGEL          ADDRESS ON FILE
ARZUAGA RIVERA, CARMEN D.      ADDRESS ON FILE
Arzuaga Rivera, Hector M.      ADDRESS ON FILE
Arzuaga Rivera, Nilsa J        ADDRESS ON FILE
ARZUAGA RODRIGUEZ, ALIDA       ADDRESS ON FILE
ARZUAGA RODRIGUEZ, EDGARDO     ADDRESS ON FILE
Arzuaga Rodriguez, Jessica     ADDRESS ON FILE
ARZUAGA RODRIGUEZ, LUIS A.     ADDRESS ON FILE




                                                                           Page 603 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 604 of 3500
                                                                                                    Creditor Matrix

Creditor Name                            Address1                    Address2                                    Address3   Address4   City         State   PostalCode   Country
ARZUAGA RODRIGUEZ, LUIS A.               ADDRESS ON FILE
ARZUAGA RODRIGUEZ, RAFAEL                ADDRESS ON FILE
ARZUAGA ROLDAN, GONZALO                  ADDRESS ON FILE
ARZUAGA ROSA, CARMEN M                   ADDRESS ON FILE
ARZUAGA ROSA, MARIA                      ADDRESS ON FILE
ARZUAGA ROSA, PAULA                      ADDRESS ON FILE
ARZUAGA SANTIAGO, EVA                    ADDRESS ON FILE
ARZUAGA SANTIAGO, EVELYN                 ADDRESS ON FILE
ARZUAGA SANTIAGO, MADELINE               ADDRESS ON FILE
ARZUAGA SANTIAGO, SUSETTE                ADDRESS ON FILE
ARZUAGA SIERRA, LUIS                     ADDRESS ON FILE
ARZUAGA TORRES, CARMEN A                 ADDRESS ON FILE
ARZUAGA TORRES, MONSERRATE               ADDRESS ON FILE
ARZUAGA VAZQUEZ, JUSTINA                 ADDRESS ON FILE
ARZUAGA VELAZQUEZ, NESTOR J.             ADDRESS ON FILE
ARZUAGA VELAZQUEZ, NESTOR J.             ADDRESS ON FILE
Arzuaga Vergara, Juan A                  ADDRESS ON FILE
ARZUAGA, ANIBAL                          ADDRESS ON FILE
AS BADILLO INC                           IH 1 AVE LOMAS VERDE                                                                          BAYAMON      PR      00956
AS BADILLO INC                           PO BOX 95                                                                                     GUAYNABO     PR      00969
AS BONAFI SERV PUB UNIDOS                DEPARTAMENTO DE HACIENDA    EDIFICIO INTENDENTE RAMIREZ                                       SAN JUAN     PR      00901
AS INTER ADM PERSONAL                    PO BOX 9024261                                                                                SAN JUAN     PR      00902‐4261
AS TECHICAL SERVICES                     PO BOX 9962 COTTO STATION                                                                     ARECIBO      PR      00613
ASA DEVELOPMENT & RENTAL INC             ADDRESS ON FILE
ASA SECURITY LOGISTICS TECHNOLOGIES INC AVE. PONCE DE LEON #1311     MARCOM TOWER SUITE 305                                            SAN JUAN     PR      00907
ASAD ALVAREZ, REBECCA MARIA              ADDRESS ON FILE
ASAD ALVAREZ, SARA M.                    ADDRESS ON FILE
ASAD ALVAREZ, YESMIN M                   ADDRESS ON FILE
ASAD ALVAREZ, YESMIN M                   ADDRESS ON FILE
ASAD PEREZ, ISABEL                       ADDRESS ON FILE
ASAM ESPIRITUAL BAHAIS CAGUAS            29 CALLE MONSENOR BERRIOS                                                                     CAGUAS       PR      00725
ASAM LEGISLATI Y MAYRA E LEDESMA SANCHEZ ADDRESS ON FILE
ASAMBLEA ASSAL PANAMA                    APARTADO POSTAL             832‐1683 WTC                                                      PANAMA       PR      00107‐6000
ASAMBLEA DEL 4TO GRADO CABALLEROS DE COLURB ALTAMESA                 1675 CALLE SANTA INES                                             SAN JUAN     PR      00921‐3700
ASAMBLEA FAMILIAR VIRGILIO DAVILA INC    AREA DEL TESORO             CONTADURIA GENERAL                                                SAN JUAN     PR      00902
ASAMBLEA FAMILIAR VIRGILIO DAVILA INC    PMS 113                     PO BOX 607061                                                     BAYAMON      PR      00961‐7061
ASAMBLEA FAMILIAR VIRGILIO DAVILA INC    PO BOX 607061                                                                                 BAYAMON      PR      00960‐7061
ASBEL POPA VIDRO                         ADDRESS ON FILE
ASBEL YOMARY ROHENA ALVARADO             ADDRESS ON FILE
ASCANIO CAPRILES, FERNANDO               ADDRESS ON FILE
ASCANIO JUSINO, ROSELIN                  ADDRESS ON FILE
ASCANIO MARTINEZ, ALMA L.                ADDRESS ON FILE
ASCANIO NUNEZ, CLEMENCIA                 ADDRESS ON FILE
ASCANIO PEREZ, RAFAEL                    ADDRESS ON FILE
ASCENCIO MADERA, RAMIRO                  ADDRESS ON FILE
ASCENCIO OGUENDO, ANGEL L                ADDRESS ON FILE
ASCEND LABORATORIES , LLC                PMB 379 P. O. BOX 4956                                                                        CAGUAS       PR      00726‐0000
ASDREY A IRIZARRY ARROYO                 ADDRESS ON FILE
ASDRUBAL APONTE MALAVE                   ADDRESS ON FILE
ASDRUBAL MORALES COLON                   ADDRESS ON FILE
ASDRUBAL PASCUAL RODRIGUEZ               ADDRESS ON FILE
ASDRUBAL RODRIGUEZ ORTIZ                 ADDRESS ON FILE
ASDRUBAL RUIZ FERNANDEZ                  ADDRESS ON FILE
ASDRUBAL TOLEDO CARABALLO                ADDRESS ON FILE
ASEGURA INC                              PMB 218                     PO BOX 6400                                                       CAYEY        PR      00737
ASELA FERRER LUGO                        ADDRESS ON FILE
ASEM HOSPITAL UNIVERSITARIO ADULTO       ATT RECOR MEDICO            PO BOX 2129                                                       SAN JUAN     PR      00922‐2129
ASENCIO ALVAREZ, NELSON                  ADDRESS ON FILE
ASENCIO ALVAREZ, RICARDO                 ADDRESS ON FILE
ASENCIO ARROYO, CARMEN L                 ADDRESS ON FILE




                                                                                                   Page 604 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 605 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ASENCIO ASENCIO, JANIRA         ADDRESS ON FILE
ASENCIO BAEZ, KAREM J.          ADDRESS ON FILE
ASENCIO BETANCOURT, MIGUEL A.   ADDRESS ON FILE
ASENCIO CAMACHO, LUIS           ADDRESS ON FILE
ASENCIO CAMACHO, LUIS           ADDRESS ON FILE
ASENCIO CARABALLO, AIMELY       ADDRESS ON FILE
ASENCIO CARABALLO, EDGARDO      ADDRESS ON FILE
ASENCIO CARABALLO, PABLO D      ADDRESS ON FILE
ASENCIO CARRERO, HECTOR         ADDRESS ON FILE
ASENCIO CASTRO, EDWIN           ADDRESS ON FILE
Asencio Colon, Carlos           ADDRESS ON FILE
ASENCIO COLON, CARLOS           ADDRESS ON FILE
ASENCIO COTTO, YASHIRA          ADDRESS ON FILE
ASENCIO CRUZ, JAISHA            ADDRESS ON FILE
Asencio Cruz, John A.           ADDRESS ON FILE
ASENCIO CRUZADO, VICTOR         ADDRESS ON FILE
ASENCIO DE JESUS, ALEX          ADDRESS ON FILE
ASENCIO DE JESUS, KARYLYNS      ADDRESS ON FILE
ASENCIO DONE, CANDIDA           ADDRESS ON FILE
ASENCIO FERRER, SIFREDO         ADDRESS ON FILE
ASENCIO GONZALEZ, JORGE         ADDRESS ON FILE
ASENCIO GONZALEZ, MARITZA       ADDRESS ON FILE
ASENCIO GONZALEZ, OLGA E        ADDRESS ON FILE
ASENCIO GOTAY, ANGEL            ADDRESS ON FILE
ASENCIO GUEVAREZ, WILFREDO      ADDRESS ON FILE
ASENCIO GUIDO, FELIX            ADDRESS ON FILE
ASENCIO HERNANDEZ, JEREMY       ADDRESS ON FILE
ASENCIO HERNANDEZ, JEREMY       ADDRESS ON FILE
ASENCIO HERNANDEZ, MISAEL       ADDRESS ON FILE
ASENCIO HERNANDEZ, OMAR         ADDRESS ON FILE
ASENCIO JUSINO, ESTELA          ADDRESS ON FILE
ASENCIO LUCIANO, JAVIER         ADDRESS ON FILE
ASENCIO LUGO, FELIX E           ADDRESS ON FILE
Asencio Maldonado, Joel         ADDRESS ON FILE
ASENCIO MARQUEZ, JESSICA        ADDRESS ON FILE
Asencio Marquez, Madelin        ADDRESS ON FILE
ASENCIO MASSAGUER, JORGE        ADDRESS ON FILE
Asencio Matos, Nancy N.         ADDRESS ON FILE
ASENCIO MELENDEZ, HEDRICK       ADDRESS ON FILE
ASENCIO MELLADO, FABIAN         ADDRESS ON FILE
ASENCIO MOLINA, LUIS M          ADDRESS ON FILE
ASENCIO MONTALVO, MADELINE      ADDRESS ON FILE
ASENCIO MORINGLANE GONZALEZ     ADDRESS ON FILE
ASENCIO OQUENDO, SUHEIL         ADDRESS ON FILE
ASENCIO ORTIZ, CARMEN M.        ADDRESS ON FILE
ASENCIO PABON, RAFAEL           ADDRESS ON FILE
ASENCIO PEREZ, BENJAMIN         ADDRESS ON FILE
ASENCIO PEREZ, ELIZABETH        ADDRESS ON FILE
ASENCIO PEREZ, HILDA IVETTE     ADDRESS ON FILE
ASENCIO PEREZ, LUCIA S          ADDRESS ON FILE
ASENCIO PLAZA, LYNNETTE         ADDRESS ON FILE
ASENCIO PONCE, RAYMUNDO         ADDRESS ON FILE
ASENCIO QUILES, BETSY IVETTE    ADDRESS ON FILE
ASENCIO QUILES, JOSE            ADDRESS ON FILE
ASENCIO RAMIREZ, FLOR           ADDRESS ON FILE
ASENCIO RAMOS, ELDIE            ADDRESS ON FILE
ASENCIO RAMOS, WILLIAM          ADDRESS ON FILE
ASENCIO REYES, DALIA I          ADDRESS ON FILE
ASENCIO RIVERA, ANA I           ADDRESS ON FILE
ASENCIO RIVERA, ENRIQUE         ADDRESS ON FILE




                                                                            Page 605 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 606 of 3500
                                                                                                      Creditor Matrix

Creditor Name                          Address1                        Address2                                    Address3   Address4   City              State   PostalCode    Country
Asencio Rivera, Mariselis              ADDRESS ON FILE
ASENCIO RIVERA, MARISELIS              ADDRESS ON FILE
ASENCIO RIVERA, REINALDO               ADDRESS ON FILE
ASENCIO RIVERA, REINALDO               ADDRESS ON FILE
ASENCIO RIVERA, RUTH D.                ADDRESS ON FILE
ASENCIO ROSADO, ARMANDO                ADDRESS ON FILE
ASENCIO SANTAELLA, ERNIE               ADDRESS ON FILE
ASENCIO SANTAELLA, IVELITZA            ADDRESS ON FILE
ASENCIO SANTANA, MARIA                 ADDRESS ON FILE
ASENCIO TERRON, CARLOS I.              ADDRESS ON FILE
Asencio Terron, Rafael O               ADDRESS ON FILE
Asencio Terron, Reynaldo               ADDRESS ON FILE
ASENCIO TORRES, OTILIO                 ADDRESS ON FILE
ASENCIO TORRES, VIMARIE                ADDRESS ON FILE
ASENCIO VARGAS, PEDRO                  ADDRESS ON FILE
ASENCIO VARGAS, ROBERTO                ADDRESS ON FILE
ASENCIO VARGAS, ROBERTO                ADDRESS ON FILE
ASENCIO VELEZ, ESTHERLINDA             ADDRESS ON FILE
ASENCIO VELEZ, NOLLIAM                 ADDRESS ON FILE
ASENCIO VELEZ, NOLLIAM                 ADDRESS ON FILE
ASENCIO VELEZ, VICTOR J                ADDRESS ON FILE
ASENCIO VELILLA, JULIE                 ADDRESS ON FILE
ASENCIO VERA, ARKY                     ADDRESS ON FILE
ASENCIO VIERA, KARENNI                 ADDRESS ON FILE
ASENCIO WEBER, MARIBEL                 ADDRESS ON FILE
ASENCIO YERA, GILBERTO                 ADDRESS ON FILE
ASENCIO ZAPATA, MARITZA                ADDRESS ON FILE
ASENCIO ZAPATA, MILAGROS               ADDRESS ON FILE
ASENCIO ZAPATA, MILDRED                ADDRESS ON FILE
ASENCIO, INGRID S.                     ADDRESS ON FILE
ASENCIO, WILLIAM                       ADDRESS ON FILE
ASENJO MAYORAL MD, CONRADO A           ADDRESS ON FILE
ASER DE PAZ REYES                      ADDRESS ON FILE
ASER DE PAZ REYES                      ADDRESS ON FILE
ASERE, INC                             PO BOX 1405                                                                                       CABO ROJO         PR      00623
ASES                                   DEPARTAMENTO DE HACIENDA        EDIF. INTENDENTE RAMIREZ                                          SAN JUAN          PR      00901
ASESORAMIENTO DE SERV EMPRESARIALES    COND CASTILLO                   60 CALLE CARIBE SUITE 2 C                                         SAN JUAN          PR      000907‐1914
ASESORES AMBIENTALES Y EDUCATIVOS      PMB 145130                      WISTON CHURCHILL AVENUE                                           SAN JUAN          PR      00936‐8179
ASESORES FINANCIEROS COMUNITARIOS INC  PO BOX 192726                                                                                     SAN JUAN          PR      00919
ASESORES JURIDICOS ASOCIADOS CSP       P O BOX 1788                                                                                      TRUJILLO ALTO     PR      00977‐1788
ASESORES PEDAGOGICOS INC               PMB 259 P O BOX 194000                                                                            SAN JUAN          PR      00919‐4000
ASESORIA & CONSULTA INC                URB CUPEY GARDENS               C 11 CALLE 3                                                      SAN JUAN          PR      00926
ASESORIA CONSULTA INC                  URB CUPEY GARDENS               CALLE 3 C 11                                                      SAN JUAN          PR      00926
ASESORIA Y CONSULTA INC                PO BOX 22744                                                                                      SAN JUAN          PR      00931‐2744
ASESORIA Y DESARROLLOS INC             PLAZA CAROLINA STATION          PO BOX 9515                                                       CAROLINA          PR      00988
ASESORIA Y SERVICIOS BD SA             PIANTINI                        461 AVE ROBERTO PASTORIZA SUITE 201                               SANTO DOMINGO             10149         DOMINICAN REPUBLIC
ASGM LEGAL AND CONSULTING SERVICES LLC CORPORATE OFFICE PARK 42        CARRETERA 20, SUITE 100                                           GUAYNABO          PR      00966
ASHAMARIE BENITEZ RIVERA               ADDRESS ON FILE
ASHBY COLON, SONIA M.                  ADDRESS ON FILE
ASHELY A. CARDONA NEGRON               ADDRESS ON FILE
ASHELY N VARGAS ALMODOVAR              ADDRESS ON FILE
ASHELY RODRIGUEZ NAZARIO               ADDRESS ON FILE
ASHER CORCHADO PEREZ                   ADDRESS ON FILE
ASHFORD CARDIOVASCULAR & NUCLEAR MED LAPO BOX 364024                                                                                     SAN JUAN          PR      00936‐4024
ASHFORD CARDIOVASCULAR PHY LAB         PO BOX 364024                                                                                     SAN JUAN          PR      00936‐4024
ASHFORD MEDICAL CENTER RADIOLOGY       29 CALLE WASHINGTON SUITE 501                                                                     SAN JUAN          PR      000907‐1521
ASHFORD MEDICAL MANAGEMENT GROUP       ASHFORD MEDICAL CTR             29 CALLE WASHINGTON STE 702                                       SAN JUAN          PR      00907 1521
ASHFORD PRESBYTERIAN COMMUNITY HOSPITALPO BOX 9020032                                                                                    SAN JUAN          PR      00902
ASHFORD PRESBYTERIAN HOSPITAL          ATT MANEJO DE INFORMACION       PO BOX 9020032                                                    SAN JUAN          PR      00902‐0032
ASHIE N. ALENO MERCADO                 ADDRESS ON FILE




                                                                                                     Page 606 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 607 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
ASHKA M. SANTIAGO                        ADDRESS ON FILE
ASHLEE N DE JESUS FIGUEROA               ADDRESS ON FILE
ASHLEE VARGAS OLMO                       ADDRESS ON FILE
ASHLEEN M OSORIO MEJIAS                  ADDRESS ON FILE
ASHLEEN M RIVERA VELEZ                   ADDRESS ON FILE
ASHLEY A ALVARADO DE JESUS               ADDRESS ON FILE
ASHLEY A ARROYO PEREZ                    ADDRESS ON FILE
ASHLEY A FERNANDEZ FIGUEROA              ADDRESS ON FILE
ASHLEY A. CARDONA NEGRON                 ADDRESS ON FILE
ASHLEY ANN VAZQUEZ ROSARIO               ADDRESS ON FILE
ASHLEY APONTE LOPEZ                      ADDRESS ON FILE
ASHLEY ARROYO PEREZ / ARNALDO FIGUEROA   ADDRESS ON FILE
ASHLEY BERRIOS GONZALEZ                  ADDRESS ON FILE
ASHLEY BOSQUE VELEZ                      ADDRESS ON FILE
ASHLEY C SANTIAGO COLON                  ADDRESS ON FILE
ASHLEY CABRERA RONDON                    ADDRESS ON FILE
ASHLEY COLON FERNANDEZ                   ADDRESS ON FILE
ASHLEY CRUZ RODRIGUEZ                    ADDRESS ON FILE
ASHLEY CRUZ RODRIGUEZ                    ADDRESS ON FILE
ASHLEY D MALDONADO ORTOLAZA              ADDRESS ON FILE
ASHLEY E. SANTANA LOPEZ                  ADDRESS ON FILE
ASHLEY FLORES SANTIAGO                   ADDRESS ON FILE
ASHLEY FLORES SANTIAGO                   ADDRESS ON FILE
ASHLEY GAUTIER                           ADDRESS ON FILE
ASHLEY GONZALEZ MARTINEZ                 ADDRESS ON FILE
ASHLEY GUADALUPE MORALES                 ADDRESS ON FILE
ASHLEY GUZMAN RIVERA                     ADDRESS ON FILE
ASHLEY J MELENDEZ RIVERA                 ADDRESS ON FILE
ASHLEY J VELAZQUEZ COLON                 ADDRESS ON FILE
ASHLEY K SANTIAGO SANTIAGO               ADDRESS ON FILE
ASHLEY L GUERRERO LARA                   ADDRESS ON FILE
ASHLEY L RODRIGUEZ MALDONADO             ADDRESS ON FILE
ASHLEY LLANOS GARCIA                     ADDRESS ON FILE
ASHLEY M AYALA NIEVES                    ADDRESS ON FILE
ASHLEY M BENABE SANTIAGO                 ADDRESS ON FILE
ASHLEY M CALERO TORRES                   ADDRESS ON FILE
ASHLEY M CAMACHO CARTAGENA               ADDRESS ON FILE
ASHLEY M HERNANDEZ HERNANDEZ             ADDRESS ON FILE
ASHLEY M LOPEZ ESCALERA                  ADDRESS ON FILE
ASHLEY M LUNA FALCON                     ADDRESS ON FILE
ASHLEY M MONTES MONTANEZ                 ADDRESS ON FILE
ASHLEY M NARVAEZ PEREZ                   ADDRESS ON FILE
ASHLEY M ROCHE RODRIGUEZ                 ADDRESS ON FILE
ASHLEY M RODRIGUEZ QUIJANO               ADDRESS ON FILE
ASHLEY M RUIZ ROSAS                      ADDRESS ON FILE
ASHLEY M SANTIAGO VARGAS                 ADDRESS ON FILE
ASHLEY M TORRES RENTAS                   ADDRESS ON FILE
ASHLEY M VELAZQUEZ CARRASQUILLO          ADDRESS ON FILE
ASHLEY MARIE CORDERO SERRANO             ADDRESS ON FILE
ASHLEY MARIE GARCIA BERGOLLO             ADDRESS ON FILE
ASHLEY MARIE RIVERA ROSADO               ADDRESS ON FILE
ASHLEY MARYS DIAZ APONTE                 ADDRESS ON FILE
ASHLEY MELENDEZ RAMOS                    ADDRESS ON FILE
ASHLEY MERCADO ORTIZ                     ADDRESS ON FILE
ASHLEY MICHELLE RUIZ RODRIGUEZ           ADDRESS ON FILE
ASHLEY N CERVONI VELAZQUEZ               ADDRESS ON FILE
ASHLEY N DE LA ROSA SANCHEZ              ADDRESS ON FILE
ASHLEY N SANCHEZ DAVID                   ADDRESS ON FILE
ASHLEY N VEGA HERNANDEZ                  ADDRESS ON FILE
ASHLEY NICOLE VELES GARCIA               ADDRESS ON FILE




                                                                                     Page 607 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 608 of 3500
                                                                                                          Creditor Matrix

Creditor Name                            Address1                          Address2                                    Address3    Address4   City                State   PostalCode   Country
ASHLEY OCASIO SERRANO                    ADDRESS ON FILE
ASHLEY ORTIZ MARTINEZ                    ADDRESS ON FILE
ASHLEY RIVERA DIAZ                       ADDRESS ON FILE
ASHLEY RIVERA ORTIZ                      ADDRESS ON FILE
ASHLEY ROBLES NIEVES                     ADDRESS ON FILE
ASHLEY RODRIGUEZ SALDANA                 ADDRESS ON FILE
ASHLEY ROMÁN RIVERA                      ADDRESS ON FILE
ASHLEY S OTERO GIRAUD                    ADDRESS ON FILE
ASHLEY S VEGA PADILLA                    ADDRESS ON FILE
ASHLEY T VERA                            ADDRESS ON FILE
ASHLEY VERGARA MORALES                   ADDRESS ON FILE
ASHLEY Y/O ANN FIGUEROA RIVAS            ADDRESS ON FILE
ASHLEYMAR GRACIA VAZQUEZ                 ADDRESS ON FILE
ASHLIE M. AYALA FUENTES                  ADDRESS ON FILE
ASHLIE MARIE AYALA FUENTES               ADDRESS ON FILE
ASHLIE N RODRIGUEZ                       ADDRESS ON FILE
ASHLIE Y ARROYO VARGAS                   ADDRESS ON FILE
ASHLY C GUTIERREZ VAZQUEZ                ADDRESS ON FILE
ASHLYN ROSADO MARTINEZ                   ADDRESS ON FILE
ASHLYN ROSADO MARTINEZ                   ADDRESS ON FILE
ASHLYN SANTA BETANCOURT                  ADDRESS ON FILE
ASHMYR L LUGO URBAN                      ADDRESS ON FILE
ASHRAFI MAHABADI, BIJAN                  ADDRESS ON FILE
ASHRAFI NEGRONI, MANIJEE                 ADDRESS ON FILE
ASHRAFI NEGRONI, MANIJEE                 ADDRESS ON FILE
ASHYADEE MEDINA ROSARIO                  ADDRESS ON FILE
ASHYLEY T PLAZA MORALES                  ADDRESS ON FILE
ASI SOMOS CONSULTORES Y ASOC INC         URB SAN CRISTOBAL                 38 CALLE A                                                         BARRANQUITAS        PR      00794
ASI SOMOS CONSULTORES Y ASOCIADOS INC    PO BOX 762                                                                                           BARRANQUITAS        PR      00794
ASI WORKS INC                            8301 PROFESSIONAL PLACE EAST      STE 205                                                            HYATTSVILLE         MD      20785
Asia Correa, Jose O                      ADDRESS ON FILE
ASIA CORREA, YARIZA                      ADDRESS ON FILE
Asia De Jesus, Maria E                   ADDRESS ON FILE
ASIA GONZALEZ, JEAN                      ADDRESS ON FILE
ASIA OCASIO, MOISES                      ADDRESS ON FILE
ASIA ORTIZ RIVERA                        ADDRESS ON FILE
ASIC AZUCARERA COOP LAFAYETTE            PO BOX 207                                                                                           ARROYO              PR      00714
ASIS INTERNATIONAL                       PR CHAPTER 073 PMB 97 400 KALAF                                                                      SAN JUAN            PR      00918
ASISTENCIA FINANCIERA CORP               700 WEST HILLSBORO BLVD           BLDG 3 SUITE 107                                                   DEERFIELD BEACH     FL      33441
ASISTENCIA MANEJO DE PACIENTES           PO BOX 7891                       PMB 232                                                            GUAYNABO            PR      00970
ASK JIGSAW ENTERPRISES CORP              PO BOX 2842                                                                                          GUAYNABO            PR      00970
ASKSAM SYSTEMS                           P O BOX 1428                                                                                         PERRY               FL      32348
ASL SERVICES LTD                         1550 ALBERNI STREET                                                                                  VANCOUVER                   V66          CANADA
ASLAN, ALP                               ADDRESS ON FILE
ASLEEN J RODRIGUEZ MASSA                 ADDRESS ON FILE
ASLIN CANALS                             ADDRESS ON FILE
ASM PRECAST                              PO BOX 1569                                                                                          VEGA BAJA           PR      00694
ASMAR ENERGY PETROLEUM INC               62 CALLE RUIZ BELVIS                                                                                 CAGUAS              PR      00725
ASMAR TORO, NATASHA                      ADDRESS ON FILE
ASMAT SOLIS, ROXANA                      ADDRESS ON FILE
ASMCO CORP                               PO BOX 1070                                                                                          MAYAGUEZ            PR      00681‐1070
ASNEL MEDINA RIVERA                      LCDO. JOSÉ R. OLMO RODRÍGUEZ      EL CENTRO 1                                 SUITE 215              SAN JUAN            PR      00918
ASOC AGRICU UNIDOS TRUJILLO ALTO CORP    PMB 193                           PO BOX 2510                                                        TRUJILLO ALTO       PR      00976
ASOC AGUJAS SHANGAI INC                  VILLA PALMERAS                    270 CALLE NUNEZ PRIETO                                             SAN JUAN            PR      00915
ASOC ALZHEIMER Y DES RELACIONADOS INC    EDIF LA ELECTRONICA               1608 CALLE BORI STE 319                                            SAN JUAN            PR      00927‐6119
ASOC APOYO INTEGRAL INC                  PO BOX 2030                                                                                          VEGA ALTA           PR      00692
ASOC ARBITROS DE BALONCESTO DE PR        JOHN RODRIGUEZ HERNANDEZ          PO BOX 361931                                                      SAN JUAN            PR      00936‐1931
ASOC ARBITROS Y MED OBRERO PAT DE PR     DEPT DEL TRABAJO                  505 AVE MUNOZ RIVERA                                               SAN JUAN            PR      00918
ASOC ARBITROS Y MED OBRERO PAT DE PR     EDIF PRUDENCIO RIVERA MARTINEZ    505 AVE MUNOZ RIVERA PISO 7                                        SAN JUAN            PR      00918
ASOC AUD Y EMPLEADOS DEL DEPT HACIENDA   PO BOX 6040                                                                                          BAYAMON             PR      00960




                                                                                                         Page 608 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 609 of 3500
                                                                                                                Creditor Matrix

Creditor Name                            Address1                              Address2                                      Address3   Address4   City               State   PostalCode    Country
ASOC AUDITORES Y EMP DEPTO DE HACIENDA PO BOX 6040                                                                                                 BAYAMON            PR      00960
ASOC BALONCESTO GRISES DE HUMACAO        PO BOX 928609                                                                                             HUMACAO            PR      00792‐8609
ASOC BALONCESTO VAMPIROS REBELDES INC    HC 05 BOX 10206                                                                                           MOCA               PR      00676
ASOC CENTRAL BALOMPIE DE PR              PO BOX 8376                                                                                               CAGUAS             PR      00726‐8376
ASOC CHANGOS DE NARANJITO INC            PO BOX 165                                                                                                NARANJITO          PR      00719
ASOC COL RENTAS INTERNAS                 PO BOX 451                                                                                                SABANA GRANDE      PR      00637‐0451
ASOC COLECT R I Y SUPERV DE HACIENDA     CALLE CRISANTEMO 58                   BO OJO DE AGUA                                                      VEGA BAJA          PR      00693
ASOC COLECT R I Y SUPERV DE HACIENDA     HC 01 BOX 2630                                                                                            JAYUYA             PR      00664‐9703
ASOC COMUN PRO DEPORTE CULTURA LA PERLA P O BOX 9021082                                                                                            SAN JUAN           PR      00901
ASOC CONCILIO NACIONAL POLICIAS          DEPARTAMENTO DE HACIENDA                                                                                  SAN JUAN           PR      00902
ASOC COND BROOSEVELT TOWERS              1482 ROOSEVELT TOWERS                                                                                     SAN JUAN           PR      00920 2701
ASOC COND CENTRO COMERCIAL DE HUMACAO P O BOX 9378                                                                                                 HUMACAO            PR      00792
ASOC COND LAGUNA GARDENS I               1 AVE LAGUNA OFC                                                                                          CAROLINA           PR      00979
ASOC CONDOMINES CONDOMINIO EL PRADO 418 CALLE SUIZA                                                                                                SAN JUAN           PR      00917
ASOC CONDOMINES LAGUNA GARDENS III       AVE COND LAGUNA GARDENS III           3 OFIC ADMINISTRACION                                               CAROLINA           PR      00979
ASOC CONDOMINES TORRES DE CAROLINA       400 CARR 848 OFICINA ADMINISTRATIVA                                                                       CAROLINA           PR      00987‐6831
ASOC CONDOMINES VILLAMIL 306             COND VILLAMIL                         306 CALLE VILLAMIL                                                  SAN JUAN           PR      000907‐2807
ASOC CONSEJO EMPRESARIAL AMERICA LATINA PUNTA PACIFICA TORRE DE LAS            AMERICAS                                                            CIUDAD DE PANAMA                         PANAMA
ASOC CULTURAL RECREATIVA                 URB COUNTRY CLUB                      MI 9 CALLE 410                                                      CAROLINA           PR      00982
ASOC CUST ESCOLARES                      EDIFICIO INTENDENTE RAMIREZ           DEPARTAMENTO DE HACIENDA                                            SAN JUAN           PR      00901
ASOC DE ADJUNTENOS INC                   PO BOX 362191                                                                                             SAN JUAN           PR      00936‐2191
ASOC DE AGENCIAS COMUNALES DE PR INC     AVE LUIS MUNOZ MARIN                  H‐17‐B                                                              CAGUAS             PR      00725
ASOC DE ALCADES DE PR                    PO BOX 9024105                                                                                            SAN JUAN           PR      00902‐4105
ASOC DE APOYO EDUCATIVO INC              COLINAS DE MONTECARLOS                F 16 CALLE 44                                                       SAN JUAN           PR      00924
ASOC DE APOYO EDUCATIVO INC              PO BOX 29067                                                                                              SAN JUAN           PR      00929‐0067
ASOC DE ARBITROS INDEPENDIENTES          URB VILLA DEL CARMEN                  445 CALLE SOLIMAR                                                   PONCE              PR      00716‐2106
ASOC DE BALONCESTO CACIQUES HUMACAO INCPO BOX 8609                                                                                                 HUMACAO            PR      00792
ASOC DE BALONCESTO INFANTIL DE LUQUILLO P O BOX 9517                                                                                               LUQUILLO           PR      00773
ASOC DE BALONCESTO YABUCOENA INC         P O BOX 1574                                                                                              YABUCOA            PR      00767‐1571
ASOC DE BANCOS DE P R/ PUERTO RICO       BANKERS ASSOCIATION                   208 AVE PONCE DE LEON STE 1014                                      SAN JUAN           PR      00918‐1014
ASOC DE BANCOS DE P R/ PUERTO RICO       PO BOX 363264                                                                                             SAN JUAN           PR      00936
ASOC DE BEISBOL COMERIENA INC            BOX 404                                                                                                   COMERIO            PR      00782
ASOC DE CAMIONEROS DE VOLTEO AREA NOROEURB LOS ALAMOS                          27 CALLE ANTONIO MUNIZ                                              SAN SEBASTIAN      PR      00685‐2137
ASOC DE CAMIONEROS DEL TURABO            PO BOX 6286                                                                                               CAGUAS             PR      00726‐6286
ASOC DE CO DUENOS LAS AMERICAS PROF CTER 400 DOMENECH                          AVE SUITE 410 B ADMINISTRATION                                      SAN JUAN           PR      00918
ASOC DE CODUENOS DE CAMPOMAR RESORT PO BOX 900                                                                                                     ARROYO             PR      00714‐0900
ASOC DE COMEDORES ESCOLARES DE PR        AREA DEL TESORO                       DIV DEPAGADURIA                                                     SAN JUAN           PR      00902‐4140
ASOC DE COMPANIAS DE SEGUROS DE PR       P O BOX 363395                                                                                            SAN JUAN           PR      00936‐3395
ASOC DE COND PORTAL DE CONDADO           PO BOX 9023663                                                                                            SAN JUAN           PR      00902‐3663
ASOC DE CONDOMINES MAYAGUEZ COLONIAL URB FRATERNIDAD                           65 CALLE BOGOTA APTO 100                                            MAYAGUEZ           PR      00680
ASOC DE CONDOMINIO VILLAS DE HATO TEJAS 593 VILLAS DE HATO TEJAS                                                                                   BAYAMON            PR      00959
ASOC DE CONDOMINIOS LAGUNA GARDENS II AVE LAGUNA                               II OFICINA ADMINISTRACION                                           CAROLINA           PR      00979
ASOC DE DETALLISTA DE MAYAGUEZ           P O BOX 2233                                                                                              MAYAGUEZ           PR      00681
ASOC DE DETALLISTAS DE GASOLINA PR INC   COND MADRID OFIC 302                  1760 CALLE LOIZA                                                    SAN JUAN           PR      00911
ASOC DE DETALLISTAS DE GASOLINA PR INC   P O BOX 193652                                                                                            SAN JUAN           PR      00919‐3652
ASOC DE EDUC FISICA Y RECREACION DE P R  CONDADO DEL MAR                       1479 AVE ASHFORD APT 1817                                           SAN JUAN           PR      00917
ASOC DE EDUC FISICA Y RECREACION DE P R  EU‐9 MARIANO ABRIL COSTALO                                                                                LEVITTOWN          PR      00949
ASOC DE EDUC FISICA Y RECREACION DE P R  PMB 14                                1 CALLE ESTACION                                                    VEGA ALTA          PR      00692‐6541
ASOC DE EDUC FISICA Y RECREACION DE P R  PO BOX 9021506 OLD SAN JUAN STA                                                                           SAN JUAN           PR      00902‐1506
ASOC DE EDUCADORES EN SALUD DE PR        PO BOX 191414                                                                                             SAN JUAN           PR      00919‐1414
ASOC DE EDUCADORES PUERTORRIQUENOS       PO BOX 1139                                                                                               MAYAGUEZ           PR      00681
ASOC DE EJECUTIVOS VENTAS Y MERCADEO PR PO BOX 364025                                                                                              SAN JUAN           PR      00936‐4025
ASOC DE EMPLEADOS GERENCIALES            P O BOX 1534                                                                                              CAGUAS             PR      00726‐1534
ASOC DE ENFERMERIA VISITANTE             114 COND ROOSEVELT PLZ                                                                                    SAN JUAN           PR      00917
ASOC DE EX ATLETAS YO SOY COLEGIO CORP   URB HERNANAS DAVILA                   D 22 CALLE 4                                                        BAYAMON            PR      00959
ASOC DE GERENTES DE FLOTA DE PTO RICO    P O BOX 360204                                                                                            SAN JUAN           PR      00936‐0204
ASOC DE GIMNASIA RITMICA DE PR INC       PO BOX 9178                                                                                               SAN JUAN           PR      00908
ASOC DE HOMBRES EPISCOPALES              ATOCHA STATION                        PO BOX 335693                                                       PONCE              PR      00733‐5693
ASOC DE INTERCAMBIO CULTURAL INC         PO BOX 447                                                                                                PALMER             PR      00721
ASOC DE JUGADORES DE BALONCESTO INC      URB STA ROSA                          BLQ 38‐10 C/ 22                                                     BAYAMON            PR      00959




                                                                                                           Page 609 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 610 of 3500
                                                                                                       Creditor Matrix

Creditor Name                            Address1                      Address2                                     Address3             Address4   City          State   PostalCode   Country
ASOC DE LA POLICIA                       BOX 3724                                                                                                   SAN JUAN      PR      00928
ASOC DE LA POLICIA                       EDIFICIO INTENDENTE RAMIREZ   DEPARTAMENTO DE HACIENDA                                                     SAN JUAN      PR      00901
ASOC DE LIGA INDEP JUVENILES DE JAYUYA   HC 2 BOX 8367                                                                                              JAYUYA        PR      00664
ASOC DE MADRES PUERTORRIQUENAS           VILLA CLEMENTINA              H 1 CALLE MARGARITA                                                          GUAYNABO      PR      00969
ASOC DE MAESTROS P R                     AREA DEL TESORO               DIV DE CONTADURIA GENERAL                                                    SAN JUAN      PR      00936
ASOC DE MAESTROS P R                     AREA DEL TESORO               DIV DE RECLAMACIONES                                                         SAN JUAN      PR      00902‐4140
ASOC DE MAESTROS P R                     AREA DEL TESORO               DIVISION DE PAGADURIA                                                        SAN JUAN      PR      00902

ASOC DE MAESTROS P R                     AREA DEL TESORO               AMPR LOCAL SIND AFIL/UNION                   CONTADURIA GENERAL              SAN JUAN      PR      00902‐4140
ASOC DE MAESTROS P R                     PO BOX 191088                                                                                              SAN JUAN      PR      00919‐1088
ASOC DE MIEMBROS DE LA POLICIA DE P R    PO BOX 7428                   CONTADURIA GENERAL                                                           SAN JUAN      PR      00916
ASOC DE MIEMBROS DE LA POLICIA DE P R    PO BOX 7428                                                                                                SAN JUAN      PR      00916
ASOC DE MIEMBROS DE LA POLICIA DE P R    RR 3 BOX 3724                                                                                              SAN JUAN      PR      00926
ASOC DE MIEMBROS DE LA POLICIA DE P R    SALA DISTRITO DE CAROLINA     CONT GENERAL                                                                 SAN JUAN      PR      00902
ASOC DE NIðOS Y ADULTOS CON RETARDACION P O BOX 361904                                                                                              SAN JUAN      PR      00936
ASOC DE NIðOS Y ADULTOS CON RETARDACION URB BALDRICH                   205 CALLE TOUS SOTO                                                          SAN JUAN      PR      00918
ASOC DE NINOS Y ADULTOS CON RETARDACION P O BOX 361904                                                                                              SAN JUAN      PR      00936
ASOC DE NINOS Y ADULTOS CON RETARDACION URB BALDRICH                   205 CALLE TOUS SOTO                                                          SAN JUAN      PR      00918
ASOC DE PESCADORES BOCA HERRERA DE LOIZA PO BOX 1981                   PMB 188                                                                      LOIZA         PR      00772
ASOC DE PESCADORES DE PUERTO REAL INC    PUERTO REAL                   294 CALLE 5‐A                                                                CABO ROJO     PR      00623
ASOC DE PESCADORES LAGUNEROS INC         RES LAS MARGARITAS            EDIF 37 APT 829 PROYECTO 538                                                 SAN JUAN      PR      00915
ASOC DE PROPIETARIOS DE VEGA SERENA INC PO BOX 11918                   CAPARRA HEIGHTS STATION                                                      SAN JUAN      PR      00922
ASOC DE PSICOLOGIA DE P R                PO BOX 363435                                                                                              SAN JUAN      PR      00936‐3435
ASOC DE PSICOLOGIA PRDIATRICA PTO RICO   P O BOX 70344 PMB 308                                                                                      SAN JUAN      PR      00936
ASOC DE REL.PROF. DE PUERTO RICO         APARTADO 190056                                                                                            SAN JUAN      PR      00919
ASOC DE RES COMUNIDAD HIGHLAND PARK      URB HIGHLAND PARK             738 CALLE CACTUS                                                             SAN JUAN      PR      00924
ASOC DE RES DE LAS URB SAN JUAN GARDENS HORIZONS Y ROMANY              SAN JUAN GARDENS                             1884 SAN ALVARO                 SAN JUAN      PR      00926
ASOC DE RES VECINOS DEL PARQUE BALOMPIE 917 ISAURA ARNAU                                                                                            SAN JUAN      PR      00924
ASOC DE RESIDENTES ABCC INC              MSC 515 89 DE DIEGO           SUITE 105                                                                    SAN JUAN      PR      00927‐5831
ASOC DE RESIDENTES DE ALTAMIRA INC       P O BOX 361246                                                                                             SAN JUAN      PR      00936‐1246
ASOC DE RESIDENTES DE COLINAS VERDES     P O BOX 29 256                65 INF STATION                                                               SAN JUAN      PR      00929
ASOC DE RESIDENTES DE EST DE SAN NICOLAS PMB 501 P O BOX 7891                                                                                       GUAYNABO      PR      00970‐7891
ASOC DE RESIDENTES DE MATA DE CANA INC   RR 1 BOX 15112                                                                                             OROCOVIS      PR      00720
ASOC DE RESIDENTES DE VEREDAS            URB VEREDAS                   13000 CAMINO LOS FLAMBOYANES                                                 GURABO        PR      00778
ASOC DE RESIDENTES ESTANCIAS DEL SUR     ESTANCIAS DEL SUR             APT 122                                                                      PONCE         PR      00728‐4003
ASOC DE RESIDENTES PALMARINA CLUB        PALMARINA CLUB                125 HARBOUR DR VILLA 16                                                      HUMACAO       PR      00791
ASOC DE RESIDENTES PARQUE BUCARE I INC   PARQUE DE BUCARE I            40 CROSANDRA                                                                 SAN JUAN      PR      00969
ASOC DE RESIDENTES PRADERA ALMIRA INC    PO BOX 50301                                                                                               TOA BAJA      PR      00950‐0301
ASOC DE RESIDENTES SAN JUAN BAUTISTA     C 64 COND SAN JUAN BAUTISTA                                                                                SAN JUAN      PR      00909
ASOC DE RESIDENTES TOWN PARK             TOWN PARK                     F 15 CALLE TREVI                                                             SAN JUAN      PR      00924
ASOC DE RETIRADOS GUARDIA NACIONAL DE PR CARR 7710 PAMELA 47           SECTOR POZUELO                               BO JOBOS                        GUAYAMA       PR      00784
ASOC DE SALUD PUBLICA DE PUERTO RICO     PO BOX 362035                                                                                              SAN JUAN      PR      00936‐2035
ASOC DE SEG POLICIAS RAMAS ANEXAS INC    URBANIZACION LOS CAOBOS       CALLE CLAVELINO 2677                                                         PONCE         PR      00716‐2730
ASOC DE SERVICIOS MEDICOS                PO BOX 1836                                                                                                UTUADO        PR      00641
ASOC DE TECNICOS DE TEATRO               EL PARAISO STA BARBARA                                                                                     GURABO        PR      00778
ASOC DE TITULARES COND BELLIVIEW         412 CALLE TAPIA                                                                                            SAN JUAN      PR      00915
ASOC DE VECINOS PRO CALIDAD DE VIDA INC  PMB 502                       89 AVE DE DIEGO                                                              SAN JUAN      PR      00927‐6372
ASOC DE VECINOS UNIDOS POR HILLSIDE INC  URB HILLSIDE                  G 23 CALLE 1                                                                 SAN JUAN      PR      00926‐5217
ASOC DEL CARIBE SOCIETY NACION           HC 1 BOX 8064                                                                                              AGUADA        PR      00602
ASOC DEL CARIBE SOCIETY NACION
ASOC DEP DE VOLLEYBOLL PISTA Y CAMPO     TURISTA DE LUQUILLO INC       P O BOX 213                                                                  LUQUILLO      PR      00773
ASOC DEP EN ACCION CONSEJERIA AREA NORTE URB VILLA PINARES             340 PASEO CIPRES                                                             VEGA BAJA     PR      00693
ASOC DEPORTISTAS COAMENOS (ADC INC)      P O BOX 3000                  SUITE 510                                                                    COAMO         PR      00769
ASOC DEPORTIVA ARTESANOS DE LAS PIEDRAS DOBLE A INC                    URB MANSIONES DEL CARIBE ZARILO              AB 38                           HUMACAO       PR      00791
ASOC DEPORTIVA CULTURAL DE FAIRVIEW INC URB FAIRVIEW                   1877 CALLE FRANCISCO ZUNIGA                                                  SAN JUAN      PR      00926
ASOC DEPORTIVA DEL BO GUARAGUAO INC      URB COLINAS DE GUAYNABO       G 6 CALLE HUCAR                                                              SAN JUAN      PR      00969
ASOC DEPORTIVA JUGANDO PARA CRISTO       URB LA ESPERANZA              N 31 CALLE 13                                                                VEGA ALTA     PR      00692
ASOC DES COMUNITARIA RECREATIVA CULTURA CALLE 5 # 73 BDA CLAUSELLS                                                                                  PONCE         PR      00731
ASOC DIRECTORES HEAD START PR INC        PO BOX 3030                                                                                                GUAYAMA       PR      00785
ASOC DUENOS DE AUTOBUSES INC             BOX 68                                                                                                     AIBONITO      PR      00705




                                                                                                      Page 610 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 611 of 3500
                                                                                                             Creditor Matrix

Creditor Name                           Address1                            Address2                                      Address3             Address4   City               State   PostalCode   Country
ASOC DUENOS DE MAQUINAS ENTRETENIMIENTOP O BOX 1201                                                                                                       VEGA BAJA          PR      00694
ASOC EDUCATIVA PEQUENOS ZAGALES         PO BOX 1561                                                                                                       PONCE              PR      00723
ASOC EMPL COL R I HACIENDA              PO BOX 451                                                                                                        SABANA GRANDE      PR      00637‐0451
ASOC EMPL ELA ‐ PREST DE AUTO           P O BOX 362766                                                                                                    SAN JUAN           PR      00936‐2766
ASOC EMPL ELA ‐ PREST HIPOT             P O BOX 362766                                                                                                    SAN JUAN           PR      00936‐2766
ASOC EMPL ELA ‐ PREST REGULAR           P O BOX 362766                                                                                                    SAN JUAN           PR      00936‐2766
ASOC EMPL ELA ‐IRA EXENTA               PO BOX 362766                                                                                                     SAN JUAN           PR      00936‐2766
ASOC EMPL GERENCIALES CFSE              AREA DEL TESORO                     DIV DE PAGADURIA                                                              SAN JUAN           PR      00902
ASOC EMPL GERENCIALES DEPTO EDUCACION UBR PUERTO NUEVO                      1214 CALLE CADIZ                                                              SAN JUAN           PR      00920
ASOC EMPLEADOS DEL E L A                ÁREA DE TESORO                      DIVISIÓN DE PAGADURÍA                                                         SAN JUAN           PR      00902‐4140
ASOC EMPLEADOS DEL GOBIERNO DE PR       PO BOX 364508                                                                                                     SAN JUAN           PR      00936‐4508
ASOC EMPLEADOS GERENCIALES ADM REH VOC P O BOX 1534                                                                                                       CAGUAS             PR      00726‐1534
ASOC EMPLEADOS GERENCIALES DTRH         BOX 205 CENTRO 1 LOCAL 15‐205       500 MUNOZ RIVERA                                                              SAN JUAN           PR      00918
ASOC ESTANCIAS DE PARAISO INC           PO BOX 1395                                                                                                       GUAYAMA            PR      00785
ASOC EVANG CRISTO VIENE                 PO BOX 949                                                                                                        CAMUY              PR      00627
ASOC EVANGELISTA CRISTO VIENE           PO BOX 949                                                                                                        CAMUY              PR      00627
ASOC EX EMPLEADOS SOCIOS DE AE Y ELA    463 AVE PONCE DE LEON                                                                                             SAN JUAN           PR      00936
ASOC EX EMPLEADOS SOCIOS DE AE Y ELA    PO BOX 195433                                                                                                     SAN JUAN           PR      00916‐5433
ASOC EX RESIDENTES BARRIO AMPARO        URB VALLE ARRIBA HTS                CK17 CALLE 138                                                                CAROLINA           PR      00983
ASOC EXTRAMUROS TROIS A                 COND MDTWN STES 509                 420 PONCE DE LEON                                                             SAN JUAN           PR      00918
ASOC FAMILIARES Y AMIGOS PACIENTES SIDA PO BOX 1688                                                                                                       LUQUILLO           PR      00773
                                                                                                                          REPARTO
ASOC GUARDIAS PENALES                   EDIF JULIO HERNANDEZ SERRANO        54 CALLE S E 1100                             METROPOLITANO                   SAN JUAN           PR      00921
ASOC IGLESIA EVANGELICA VIDA NUEVA      PO BOX 1628                                                                                                       TRUJILLO ALTO      PR      00977
ASOC IMPEDIDOS DEL SUR EN ACCION INC    PMB 442                             609 AVE TITO CASTRO SUITE 102                                                 PONCE              PR      00716‐2232
ASOC INTERNACIONAL DEPRESUPUESTO PUBLICOAVE BELGRADO 1370 PISO 5            1093 CIUDAD AUT DE BS AS                                                      BUENO AIRES                             PERU
                                                                                                                                                          OLD SAN JUAN SAN
ASOC INTERNATIONAL ADMINISTRA‐         CION DE PERSONAL                     PO BOX 4261                                                                   JUAN               PR      00902
ASOC JOVENES PRO DEPORTE DE CATANO INC URB VISTA EL MORRO                   M 4 CALLE VENEZUELA                                                           CATANO             PR      00962
ASOC LIGAS INFANTILES Y JUVENILES DE   CAMUY LIGA PEDRO L LAMOUNT           B 6 URB BRISAS DE CAMUY                                                       CAMUY              PR      00627
ASOC MADRES PUERTORRIQUENAS/ROSA ARROY75 TOWN HILL                                                                                                        TOA ALTA           PR      00953
ASOC MADRES PUERTORRIQUENAS/ROSA ARROYAREA DEL TESORO                       CONTADURIA GENERAL                                                            SAN JUAN           PR      00902
ASOC MADRES PUERTORRIQUENAS/ROSA ARROYPO BOX 1005                                                                                                         RINCON             PR      00677‐1005
ASOC MAESTROS DE CIENCIA DE P R        PO BOX 22044 ESTACION U P R                                                                                        SAN JUAN           PR      00931
ASOC MAESTROS DE P R                   DEPARTAMENTO DE HACIENDA             EDIFICIO INTENDENTE RAMIREZ                                                   SAN JUAN           PR      00901
ASOC MAESTROS DE PR                    DEPARTAMENTO DE HACIENDA                                                                                           SAN JUAN           PR      00901
ASOC MAESTROS UNIDOS PR                PO BOX 192770                                                                                                      SAN JUAN           PR      00919‐2770
ASOC MAYAGUEZANA DE PERS CON IMPEDIMEN PO BOX 745                                                                                                         MAYAGUEZ           PR      00681‐0745
ASOC MEDICOS DELA MONTANA INC          PO BOX 94000 PMB 108                                                                                               COROZAL            PR      00783
ASOC MEJORAMIENTO SOCIAL Y ECONOMICO COND MADRID PLAZA                      APTO 218‐A                                                                    CAROLINA           PR      00979
                                                                                                                          999 CALLE GENERAL
ASOC MEJORAMIENTO SOCIAL Y ECONOMICO    FRANCISCO COIMBRE                   URB DELICIAS                                  VALERO                          SAN JUAN           PR      00926

ASOC MEJORAMIENTO SOCIAL Y ECONOMICO FRANCISCO COIMBRE                      AREA DEL TESORO                               CONTADURIA GENERAL              SAN JUAN           PR      00902
ASOC MUSEOS PR                           PO BOX 9023634                                                                                                   SAN JUAN           PR      00902‐3634
ASOC NACIONAL DE ESC DE TRAB SOCIAL      PO BOX 8875                                                                                                      CAGUAS             PR      00726
ASOC NACIONAL DERECHO AMBIENTAL INC      PO BOX 364852                                                                                                    SAN JUAN           PR      00936‐4852
ASOC OFICIALES DE MESA BALONCESTO DE PR 474 DE DIEGO CHALET                 BOX 71                                                                        SAN JUAN           PR      00923‐3136
ASOC ORG COM DESARROLLO VIVIENDAS DE PR PO BOX 31238                                                                                                      SAN JUAN           PR      00926‐2238
ASOC PADRE NINOS JOV Y ADULT SORDO CIEGO SANTA ROSA UNIT                    P O BOX 6616                                                                  BAYAMON            PR      00960
ASOC PADRES DE NIÐOS CON DESORDENES      P O BOX 8163                                                                                                     ARECIBO            PR      00613
ASOC PADRES DE NINOS CON DESORDENES      P O BOX 14367                      BO OBRERO STATION                                                             SAN JUAN           PR      00911
ASOC PADRES DE NINOS CON DESORDENES      P O BOX 8163                                                                                                     ARECIBO            PR      00613
ASOC PADRES ESTUDIANTES ATLETAS DE       NATACION BECADOS EN EL ECEDAO CO   PO BOX 2117                                                                   SALINAS            PR      00751
ASOC PADRES ORQUESTA SIMFONICA           URB FLORAL PARK                    425 CALLE LLOREN'S TORRES                                                     SAN JUAN           PR      00917
ASOC PADRES ORQUESTA SINFONICA           PO BOX 193643                                                                                                    SAN JUAN           PR      00919‐1293
ASOC PADRES PRO BIENESTAR NINOS IMPEDID PO BOX 21280                                                                                                      SAN JUAN           PR      00928‐1280
ASOC PADRES PRO BIENESTAR NINOS IMPEDID PO BOX 21301                                                                                                      SAN JUAN           PR      00928
ASOC PARA EL MEJORAMIENTO INSTITUCIONES GUIADAS ORIENTALES AL SERV INC      P O BOX 144035 P M B 902                                                      ARECIBO            PR      00614
ASOC PARA LA ADM DE RECURSOS HUMANOS Y RELACIONES LABORALES DE PR           P O BOX 364508                                                                SAN JUAN           PR      00936‐4508




                                                                                                            Page 611 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 612 of 3500
                                                                                                     Creditor Matrix

Creditor Name                            Address1                       Address2                                  Address3   Address4   City              State   PostalCode   Country
ASOC PEQUENOS AGRICULTORES RABANAL INC PO BOX 1656                                                                                      CIDRA             PR      00739
ASOC PEQUENOS COMERCIANTES AGRICULTORESPO BOX 930                                                                                       MAUNABO           PR      00907
ASOC PESCADORES DUENOS BOTES MOTOR LA GPO BOX 10395                                                                                     PONCE             PR      00732
ASOC PESCADORES UNIDOS DEL BO QUEBRADA VUELTAS INC                      P O BOX 609 PUERTO REAL                                         FAJARDO           PR      00740
ASOC POLICIA DEL CAPITOLIO               AVE MUNOZ RIVERA               CALLE REVERENDO DAVILA                                          SAN JUAN          PR      00902
ASOC POR UN MUNDO MEJOR PARA EL IMPEDID PO BOX 1518                                                                                     SAN SEBASTIAN     PR      00685
ASOC PQUENA DE GIONISTAS Y DRAMATURGOS PO BOX 195653                                                                                    SAN JUAN          PR      00919
ASOC PR PARQUE FORESTAL INC              1 CALLE POPPY STEADM                                                                           SAN JUAN          PR      00926‐6345
ASOC PRO ALBERGUE ANIMALES MAYAGüEZ      MARINA STATION                 PO BOX 3537                                                     MAYAGUEZ          PR      00681
ASOC PRO ALBERGUE ANIMALES MAYAGüEZ      PO BOX 5443                                                                                    MAYAGUEZ          PR      00681‐5443
ASOC PRO BIENESTAR DE LA FAM COMERIENA 1 CALLE JOSE DE DIEGO                                                                            COMERIO           PR      00782
ASOC PRO BIENESTAR DE LA FAM COMERIENA PO BOX 921                                                                                       COMERIO           PR      00782
ASOC PRO BIENESTAR LA CUMBRE 3 Y 4       URB LA CUMBRE                  664 CALLE TAFT                                                  SAN JUAN          PR      00926
ASOC PRO CIUDADANOS COM IMP SABANA GRANAPARTADO 1378                                                                                    SABANA GRANDE     PR      00637
ASOC PRO DES SOCIAL CULTURAL             ADDRESS ON FILE
ASOC PRO JUVENTUD Y COM BO PALMAS INC BO PALMAS                         257 CUCHARILLAS                                                 CATAÐO            PR      00962
ASOC PRO JUVENTUD Y COM BO PALMAS INC P O BOX 63476                                                                                     CATANO            PR      00963‐0476
ASOC PRO/ BIENESTAR DE LA                PO BOX 921                                                                                     COMERIO           PR      00782
ASOC PRODUCTORES FARINACEOS DEL ESTE INC PMB 198 P O BOX 5                                                                              YABUCOA           PR      00767
ASOC PRODUCTOS DE PR                     PO BOX 363631                                                                                  SAN JUAN          PR      00936
ASOC PROFESIONALES EN RELACIONES LABORAL PO BOX 190401                                                                                  SAN JUAN          PR      00919‐0401
ASOC PROP COND LAGUNA GARDENS IV         4 AVE LAGUNA                                                                                   CAROLINA          PR      00979‐6581
ASOC PROPIETARIOS                        URB PABELLON                   473 CALLE MAIN                                                  TOA BAJA          PR      00949
ASOC PROPIETARIOS COND OCEAN COURT       COND OCEAN COURT               51 CALLE KINGS COURT                                            SAN JUAN          PR      00919
ASOC PROTECTORA ANIMALES CABO ROJO INC HC 02 BOX 12085                                                                                  SAN GERMAN        PR      00683
ASOC PTORIQUENA DE PADRES ADOPTIVOS INC 400 CALLE KALAF STE 106                                                                         SAN JUAN          PR      00918‐1314
ASOC PTORRIQUENA DE CENTROS DE CUIDADOS Y DESARROLLO DEL NINO INC       306 AVE BARBOSA EDIF LILA MAYORAL                               SAN JUAN          PR      00918
ASOC PTORRIQUENAS DEPORTES ACROBATICOS P O BOX 1404                                                                                     SABANA HOYOS      PR      00688
ASOC PUERT PRO‐BIENESTAR DE LAS FAMILIAS PO BOX 192221                                                                                  SAN JUAN          PR      00919
ASOC PUERTORIQUEÐA DE DIABETES INC       PO BOX 19445                                                                                   SAN JUAN          PR      00910‐1445
ASOC PUERTORIQUENA CRIADORES CABALLO     CABALLO DE PASO FINO AMERICA   PO BOX 9149                                                     CAGUAS            PR      00726‐9149
ASOC PUERTORIQUENA DE DIABETES INC       PO BOX 190842                                                                                  SAN JUAN          PR      00918
ASOC PUERTORIQUENA DE PSIQUIATRAS        P O BOX 191884                                                                                 SAN JUAN          PR      00919‐1884
ASOC PUERTORIQUENA DE REHABILITACION     PO BOX 193394                                                                                  SAN JUAN          PR      00919‐3394
ASOC PUERTORRIQUEÐA DE LECTOESCRITURA APARTADO 23304                                                                                    SAN JUAN          PR      00931
ASOC PUERTORRIQUEÐA PARA LA EDUCACION LA NIÐEZ EN EDAD TEMPRANA INC     P O BOX 193048                                                  SAN JUAN          PR      00919‐3048
ASOC PUERTORRIQUENA CIEN DE FAM Y CONS PO BOX 21883                                                                                     SAN JUAN          PR      00931‐1883
ASOC PUERTORRIQUENA CONSEJERIA PROF      PO BOX 22423                                                                                   SAN JUAN          PR      00931
ASOC PUERTORRIQUENA DE APRENDIZAJE       106 ISABEL ANDREU AGUILAR                                                                      SAN JUAN          PR      00918
ASOC PUERTORRIQUENA DE ARTISTA           PO BOX 22493                                                                                   SAN JUAN          PR      00931
ASOC PUERTORRIQUENA DE BIENESTAR FAM     PADRE DE LAS CASAS             117 EL VEDADO                                                   SAN JUAN          PR      00919
ASOC PUERTORRIQUENA DE CIEGOS INC        COUNTRY CLUB                   981 CALLE YABOA REAL                                            SAN JUAN          PR      00924
ASOC PUERTORRIQUENA DE CIEGOS INC        PO BOX 29852                                                                                   SAN JUAN          PR      00929‐0852
ASOC PUERTORRIQUENA DE CONSEJERIA PROFESISLETA 3 COND LAS TORRES        APTO 4E SUR                                                     BAYAMON           PR      00959
ASOC PUERTORRIQUENA DE CONSEJERIA PROFESPO BOX 360697                                                                                   SAN JUAN          PR      00936‐0697
ASOC PUERTORRIQUENA DE EDUCACION         PO BOX 21673                                                                                   SAN JUAN          PR      00931‐1673
ASOC PUERTORRIQUENA DE FISIOTERAPIA      PO BOX 366272                                                                                  SAN JUAN          PR      00936‐6272
ASOC PUERTORRIQUENA DE HISTORIADORES     ESTACION POSTAL DE LA U P O    PO BOX 21854                                                    SANM JUAN         PR      00931
ASOC PUERTORRIQUENA DE INTERPRETACION Y EDUCACION INC                   PO BOX 1894                                                     LUQUILLO          PR      00773
ASOC PUERTORRIQUENA DE LA                HC 1 BOX 8064                                                                                  SAN GERMAN        PR      00683
ASOC PUERTORRIQUENA DE LA JUDICATURA     EL CENTRO I LOCAL 15‐295       500 AVE MUNOZ RIVERA                                            SAN JUAN          PR      00918
ASOC PUERTORRIQUENA DE LECTOESCRITURA APARTADO 23304                                                                                    SAN JUAN          PR      00931
ASOC PUERTORRIQUENA DE PARKINSON         PO BOX 7579                                                                                    CAROLINA          PR      00986‐7579
ASOC PUERTORRIQUENA DEL CORAZON          AREA DEL TESORO                CONTADURIA GENERAL                                              SAN JUAN PR       PR      00902
ASOC PUERTORRIQUENA DEL CORAZON          AVE VICTOR LABIOSA             RR 09 BOX 1764                                                  SAN JUAN          PR      00926‐9754
ASOC PUERTORRIQUENA DEL CORAZON          EXT ROOSEVELT                  554 CALLE CABO H ALVERIO                                        SAN JUAN          PR      00918
ASOC PUERTORRIQUENA DEL PULMON           PO BOX 195247                                                                                  SAN JUAN          PR      00919‐5247
ASOC PUERTORRIQUENA EST DE LITERATURA    C/O JULIO ORTIZ ELICIER        PO BOX 190759                                                   SAN JUAN          PR      00919‐0759
ASOC PUERTORRIQUENA INVEST INSTITUCIONAL P O BOX 190515                                                                                 SAN JUAN          PR      00919‐0515
ASOC PUERTORRIQUENA MAESTROS MATEMATICPO BOX 22939                      UPR STATION                                                     SAN JUAN          PR      00931




                                                                                                    Page 612 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 613 of 3500
                                                                                                         Creditor Matrix

Creditor Name                            Address1                        Address2                                     Address3   Address4   City              State   PostalCode   Country
ASOC PUERTORRIQUENA OFIC ATLET           PO BOX 1269                                                                                        TOA ALTA          PR      00954
ASOC PUERTORRIQUENA PARA LA EDUCACION LA NINEZ EN EDAD TEMPRANA INC      P O BOX 193048                                                     SAN JUAN          PR      00919‐3048
ASOC PUERTORRIQUENA PARA LA EDUCACION PO BOX 12383                                                                                          SAN JUAN          PR      00914
ASOC PUERTORRIQUENA PROF UNIVERSITARIOS P O BOX 22511                                                                                       SAN JUAN          PR      00931
ASOC PUERTORRIQUENA PULMON               PO BOX 195247                                                                                      SAN JUAN          PR      00919‐5247
ASOC PUERTORRIQUENA SERV AYUDA PAC SIDA CALLE PADILLA EL CARIBE #26                                                                         CAGUAS            PR      00725
ASOC PUET CIENCIAS FAMILIA Y D CONSM     PO BOX 21883                                                                                       SAN JUAN          PR      00931
ASOC REC CATANITO GARDENS                CATANITO GARDENS                EDIF 1 APT A 15                                                    CAROLINA          PR      00985
ASOC REC CONFRA CANOVANILLA              URB PARQUE ECUESTRE             N 62 CALLE MADRILENA                                               CAROLINA          PR      00987
ASOC REC EDUC RESIDENTE DEL SENORIAL INC P O BOX 70250 SUITE 220                                                                            SAN JUAN          PR      00936‐7250
ASOC REC LOMAS DE SABANA INC             RR‐1 BOX 11392                                                                                     OROCOVIS          PR      00720
ASOC REC RIOGRANDENA DE BALONCESTO ARRIBALTURAS DE RIO GRANDE            5893 CALLE 18                                                      RIO GRANDE        PR      00745
ASOC REC URB COLLEGE PARK STA MARIA Y    PARQUE DE SAN IGNACIO           1889 CALLE GLASGOW PARK                                            SAN JUAN          PR      00921‐4220
ASOC REC Y CULTURAL BO JAGUEYES ABAJO    HC 1 BOX 26771                                                                                     CAGUAS            PR      00725
ASOC RECR DE RES DE EST DE SAN FDO INC   UB ESTANCIAS DE SAN FERNANDO    B 35 CALLE 4                                                       CAROLINA          PR      00985
ASOC RECR DE RESIDENTES DE ESTANCIAS     DE SAN FERNANDO INC             B 35 CALLE 4 EST SAN FERNANDO                                      CAROLINA          PR      00985
ASOC RECR.Y DEP.REPARTO SEVILLA          REPARTO SEVILLA                 724 CALLE BIZET                                                    SAN JUAN          PR      00924
ASOC RECRE Y EDUC DE RESID DEL SENORIAL  P O BOX 70250 SUITE 220                                                                            SAN JUAN          PR      00936‐8250
ASOC RECREATION DEPORTIVA LAGO CURIAS    RR 9 BOX 1639                                                                                      SAN JUAN          PR      00926
ASOC RECREATIVA ARRAIZA INC              PO BOX 568                                                                                         VEGA BAJA         PR      00694‐0568
ASOC RECREATIVA BARRIO CALABAZA DE       SAN SEBASTIAN INC               PO BOX 1227                                                        SAN SEBASTIAN     PR      00685
ASOC RECREATIVA BERWIND LAS CASITAS INC BERWIND LAS CASITAS              EDIF K APT 121                                                     SAN JUAN          PR      00924
ASOC RECREATIVA CAPARRA HEIGHTS WARRIORSPUERTO NUEVO                     1030 C/ 18 NE                                                      SAN JUAN          PR      00920
ASOC RECREATIVA CULTURA LIGA CENTRO JSQ URB JOSE SEVERO QUINONES         73 CALLE ULISES ORTIZ                                              CAROLINA          PR      00985
ASOC RECREATIVA DE LAS CUMBRES INC       172 CALLE PIRINEO                                                                                  SAN JUAN          PR      00926
ASOC RECREATIVA DE LAS LOMAS             URB LAS LOMAS                   805 CALLE 27 SW                                                    SAN JUAN          PR      00921
ASOC RECREATIVA DE SABALOS INC           PO BOX 6530                                                                                        MAYAGUEZ          PR      00681‐6530
ASOC RECREATIVA JOVENES EN ACCION INC    HC 01 BOX 6614                                                                                     OROCOVIS          PR      00720
ASOC RECREATIVA LA DOLORES INC           COMUNIDAD LA DOLORES            116 CALLE COLOMBIA                                                 RIO GRANDE        PR      00745
ASOC RECREATIVA MARTIN PENA              BUENA VISTA                     176 CALLE C                                                        SAN JUAN          PR      00914
ASOC RECREATIVA PENA POBRE CORP          HC 1 BOX 4552                                                                                      NAGUABO           PR      00718‐9722
ASOC RECREATIVA PRO DEPORTES CIVICO      CULTURAL BO REAL PATILLAS INC   PO BOX 225                                                         PATILLAS          PR      00723
ASOC RECREATIVA Y COM LOS FLAMBOYANES CAPARRA TERRACE                    1319 CALLE DIEPPA                                                  SAN JUAN          PR      00921
ASOC RECREATIVA Y CULTURAL FAIR VIEW     URB FAIRVIEW                    1877 CALLE FRANCISCO SUNIGA                                        TRUJILLO ALTO     PR      00926
ASOC RECREATIVA Y DEPORTIVA PATAGONIA    A‐35 URB LOS PINOS                                                                                 HUMACAO           PR      00791
ASOC RECREATIVA Y RES COLINAS DE CUPEY   COLINAS DE CUPEY                D 12 CALLE 1                                                       SAN JUAN          PR      00926
ASOC RECREATIVAESTANCIAS DE OROCOVIS INC P O BOX 2142                                                                                       OROCOVIS          PR      00720
ASOC RECREO DEPORTES CASIANO CEPEDA      PO BOX 3505                                                                                        RIO GRANDE        PR      00745
ASOC RECREO DEPORTIVA EDUCATIVA Y        CULTURAL BLONDET INC            PO BOX 1572                                                        GUAYAMA           PR      00785
ASOC RES 1RA SECCION COUNTRY CLUB INC    921 CALLE RASPINELL             COUNTRY CLUB 1RA SECCION                                           SAN JUAN          PR      00924
ASOC RES DE FAIR VIEW INC                URB VILLAS DE CUPEY             F2 CALLE MENFIAS                                                   SAN JUAN          PR      00926
ASOC RES EL CEREZAL REPTO DE DIEGO INC   BOX 70250                       SUITE 211                                                          SAN JUAN          PR      00936
ASOC RES EL CEREZAL REPTO DE DIEGO INC   PO BOX 7428                                                                                        SAN JUAN          PR      00916
ASOC RES ESTANCIAS DE TORTUGERO INC      ESTANCIAS DE TORTUGUERO         602 CALLE TURIN                                                    VEGA BAJA         PR      00963
ASOC RES PRO MEJORAS COM VILLAPRADES INC URB VILLA PRADES                602 CALLE JULIO C ARTIAGA                                          SAN JUAN          PR      00924
ASOC RES URB EXTENSION SAN AGUSTIN       PO BOX 29504                                                                                       SAN JUAN          PR      00929‐0504
ASOC RES URB JACARANDA INC               URB JACARANDA BD 10                                                                                PONCE             PR      00730
ASOC RES URB SENORIAL I C O MILDRED SOTO PUM SC 314‐138                  AVE WINSTON CHURCHILL                                              SAN JUAN          PR      00926‐6023
ASOC RESIDENES LAS MERICAS (ARULA)       URB LAS AMERICAS                988 CALLE QUITO                                                    SAN JUAN          PR      00921
ASOC RESIDENTES ALTURAS DE SANTA MARIA P O BOX 270312                                                                                       SAN JUAN          PR      00927‐0312
ASOC RESIDENTES BRISAS DEL PRADO         URB BRISAS DEL PRADO            50 CALLE NILO                                                      JUNCOS            PR      00777
ASOC RESIDENTES CALLE 10 EXT SAN AGUSTIN EXT SAN AGUSTIN                 220 CALLE 10                                                       SAN JUAN          PR      00926
ASOC RESIDENTES CIUDAD SENORIAL          CIUDAD SENORIAL                 55 CALLE NOBLE                                                     SAN JUAN          PR      00926‐8808
ASOC RESIDENTES CUPEY GARDENS ESTE INC   CUPEY GARDENS                   M 18 CALLE 8                                                       SAN JUAN          PR      00926
ASOC RESIDENTES CUPEY GARDENS NORTE INC CUPEY GARDENS                    P15 CALLE 15                                                       SAN JUAN          PR      00926
ASOC RESIDENTES DE LA UBR MONTE ALVERNIA URB MONTE ALVERNIA              1 CALLE SAN RUFINO                                                 RIO PIEDRAS       PR      00969
ASOC RESIDENTES GRAND PALM II            PO BOX 364325                                                                                      SAN JUAN          PR      00936
ASOC RESIDENTES IDAMARIS GARDENS INC     P O BOX 5983                                                                                       CAGUAS            PR      00726
ASOC RESIDENTES LA URB DE SUMMIT HILLS   PMB 839 P O BOX 7891                                                                               GUAYNABO          PR      00970‐7891
ASOC RESIDENTES URB VALLE FORESTAL INC   100 ROSEVILLE DRIVE 1                                                                              SAN JUAN          PR      00926




                                                                                                       Page 613 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                      Desc:
                                                               Exhibit A-1 - Creditor
                                                                                   Case No.Matrix
                                                                                           17 BK 3283‐LTSPage 614 of 3500
                                                                                                                        Creditor Matrix

Creditor Name                                     Address1                               Address2                                    Address3              Address4   City              State   PostalCode    Country
ASOC SANTO NINO DE PRAGA                          BARRIO MANI                            115 CALLE ELENA SEGARRA                                                      MAYAGUEZ          PR      00680
ASOC SUP COM ESCOLARES                            HC 1 BOX 8115                                                                                                       AGUAS BUENAS      PR      00703‐9720
ASOC SUPERACION NINOS SINDROME DOWN               PO BOX 4482                                                                                                         AGUADILLA         PR      00605
ASOC SUPERVISION Y DES CURRICULAR DE PR           2250 AVE LAS AMERICAS SUITE 586                                                                                     PONCE             PR      00731
ASOC SUPERVISION Y DES CURRICULAR DE PR           PO BOX 32154                                                                                                        PONCE             PR      00732‐2154
ASOC SURENA ARBITROS VOLEIBOL INC                 URB LAS MARGARITA                      1300 CALLE RAFAEL HERNANDEZ                                                  PONCE             PR      00731
ASOC TEC CONT DEPT HACIENDA                       DEPARTAMENTO DE HACIENDA               EDIFICIO INTENDENTE RAMIREZ                                                  SAN JUAN          PR      00901
ASOC TITULARES COM VILLA DOS PINOS INC            PMB 211                                220 WESTER AUTO PLAZA STE 101                                                TRUJILLO ALTO     PR      00976‐3604
ASOC TITULARES COND BORINQUEN TOWER I PO BOX 11443                                                                                                                    SAN JUAN          PR      00922
ASOC TRABAJADORES DE LAS ARTES
ASOC VECINOS LAUREL LA CUMBRE INC                 URB LAS CUMBRES                        PMB 235 267 CALLE SIERRA MORENA                                              SAN JUAN          PR      00926
ASOC VECINOS VILLA ANDALUCIA DOS CALLES PO BOX 29204                                                                                                                  SAN JUAN          PR      00929‐0204
ASOC VILLA PESQUERA LA COAL INC                   CALLE SAN ANDRES FINAL                 MUELLE 10                                                                    SAN JUAN          PR      00901
ASOC VILLA PESQUERA LA PUNTILLA                   PO BOX 9023135                                                                                                      SAN JUAN          PR      00902
ASOC. BIBLIOTECARIOS (ABDPR)                      APARTADO 22430 ESTACION UPR                                                                                         SAN JUAN          PR      00931‐2430
ASOC. CONDOMINIOS CAPITAL CENTER BLDG             239 AVE. ARTERIAL HOSTOS               SUITE 102                                                                    SAN JUAN          PR      00918
ASOC. CONTADORES GUBERNAMENTALES CAP. PGPO BOX 363721                                                                                                                 SAN JUAN          PR      00936‐3721
ASOC. DE LA POLICIA                               ITURREGUI PLAZA SUITE 219                                                                                           RIO PIEDRAS       PR      00924
ASOC. DE LA POLICIA                               RR3 BOX 3724                                                                                                        SANJ UAN          PR      00928
ASOC. DE NINOS Y ADULTOS CON DESORDENES P O BOX 8163                                                                                                                  ARECIBO           PR      00613
ASOC. DE RES. URB. CIUDAD CENTRAL UNO             BO. OBRERO                             CALLE BARTOLOME LAS CASAS 626                                                SAN JUAN          PR      00915
ASOC. DIRECTORES SIST. ELECTRONICOS DE INF MSC 100 GRAN BULEVAR PASEOS                   SUITE 112                                                                    SAN JUAN          PR      00926‐5955
ASOC.EMPLEADOS DE ELA                             P.O. BOX 364508                                                                                                     SAN JUAN          PR      00936‐4508
ASOCAGUAS INC                                     SAN RAMON                              L 6 MARIOLGA                                                                 CAGUAS            PR      00725
ASOCIACIN DE RESIDENTES VALLE BELLOS CHALETURB VALLE BELLO CHALETS                       100 AVE HOSTOS APT A‐51                                                      BAYAMON           PR      00956‐5100
ASOCIACION ACIRC                                  ALTURAS DEL RIO                        H 12 CALLE 2                                                                 BAYAMON           PR      00959
ASOCIACION ADMIRADORES DE AUTOS ANTIGUOPO BOX 50296                                                                                                                   TOA BAJA          PR      00950
ASOCIACION APOYO COMUNITARIO                      URB FAIRVIEW                           1946 CALLE FRANCISCO ZUNIGA                                                  SAN JUAN          PR      00926
ASOCIACION AUDITORES CONTRALOR                    PMB 116                                2000 CARR 8177 SUITE 26                                                      GUAYNABO          PR      00966
ASOCIACION BANCOS PUERTO RICO                     208 AVE.PONCE DE LEON OFICINA1014                                                                                   SAN JUAN          PR      0009181002
ASOCIACION BENEFICA DE PONCE                      HC 1 BOX 4931                                                                                                       JUANA DIAZ        PR      00795‐0000
ASOCIACION BENEFICA DE PONCE, INC.                PO BOX 4930 PAMPANOS STATION                                                                                        PONCE             PR      00732‐8110
ASOCIACION BENEFICO CRISTIANA                     RR 9 BOX 1670                                                                                                       SAN JUAN          PR      00926
ASOCIACION CALLE RIERA INC                        524 CALLE RIERA                                                                                                     SAN JUAN          PR      00909
ASOCIACION CARDIOVASCULAR DEL SUR                 TORRE SAN CRISTOBAL                    5 CALLE SAN CRISTOBAL STE 108 ‐109                                           COTO LAUREL       PR      00780
ASOCIACION CARICATURAS DE P R INC                 PO BOX 52140                                                                                                        TOA BAJA          PR      00950‐2140
ASOCIACION CIVICA CULTURAL Y DEPORTIVA            RIO JUEYANA INC                        PO BOX 1686                                                                  COAMO             PR      00769
ASOCIACION COAMENA DE LA EDAD DE ORO              PO BOX 758                                                                                                          COAMO             PR      00769
ASOCIACION COMUNIDAD MONTERIA, INC.               PO BOX 662                                                                                                          COAMO             PR      00769
ASOCIACION COMUNITARIA GABIAS INC                 PO BOX 1815                                                                                                         COAMO             PR      00769
ASOCIACION COMUNITARIA PALMAREJOS II INC P O BOX 1580                                                                                                                 LAJAS             PR      00667
ASOCIACION CONDOMINES COND DELICIAS               185 COND DELICIAS                                                                                                   SAN JUAN          PR      000907‐2809
ASOCIACION CONDOMINES ENSENADA DEL MAR PO BOX 1738                                                                                                                    RINCON            PR      00677‐1738
ASOCIACION CONDOMINES HUMACAO                     PO BOX 176                                                                                                          HUMACAO           PR      00792
ASOCIACION CONTRA LA DISTROFIA MUSCULAR EDIF NATIONAL PLAZA 705                          431 AVE PONCE DE LEON                                                        SAN JUAN          PR      00917
ASOCIACION CONTRATISTAS GENERALES DE              AMERICA                                501 PERSEO STREET STE 211                                                    SAN JUAN          PR      00920
ASOCIACION CRIADORES PARDO                        PMB 235                                PO BOX 7004                                                                  SAN SEBASTIAN     PR      00685
ASOCIACION DE ABOGADOS DE YAUCO INC               PO BOX 442                                                                                                          YAUCO             PR      00698‐0442
ASOCIACION DE ARBITROS DE BALONCESTO DE P VALLE ARRIBA HEIGHTS                           APARTADO 1681                                                                CAROLINA          PR      00984
ASOCIACION DE ARBITROS DE PR                      P.O. BOX 20000 PMB‐549                                                                                              CANOVANAS         PR      00729
ASOCIACION DE BARTENDERS DE PR                    P O BOX 2541                                                                                                        GUAYNABO          PR      00790
ASOCIACION DE CALIDAD EN SALUD                    P O BOX 70359                          250 AVE AMERICO MIRANDA                                                      SAN JUAN          PR      00936
ASOCIACION DE CALIDAD EN SALUD DE PR              P.O. BOX 12021                                                                                                      SAN JUAN          PR      00914
Asociación de Científicos de la Estación Experime Román Paoli, Elvin                     Jardín Botánico Sur                         1193 Calle Guayacán              San Juan          PR      00926‐1118
ASOCIACION DE COMPRADORES P R                     PO BOX 365046                                                                                                       SAN JUAN          PR      00936
ASOCIACION DE CONDOMINES ASHFORD 890              AVENIDA ASHFORD EDIF 890                                                                                            SAN JUAN          PR      00907
ASOCIACION DE CONDOMINIOS                         APARTAMENTO 2413 AVE WINSTON CHURCHILL #60                                                                          RIO PIEDRAS       PR      00926
Asociación de Contadores de la AAA                Reíllo, Luisa                          Box 529                                                                      Loíza             PR      00772
ASOCIACION DE CONTADORES GOBERNAMENTA P O BOX 363721                                                                                                                  SAN JUAN          PR      00936‐3721
ASOCIACION DE CONTADORES GUB                      PO BOX 363721                                                                                                       SAN JUAN          PR      00936




                                                                                                                       Page 614 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                        Desc:
                                                                Exhibit A-1 - Creditor
                                                                                    Case No.Matrix
                                                                                            17 BK 3283‐LTSPage 615 of 3500
                                                                                                                   Creditor Matrix

Creditor Name                                Address1                                Address2                                   Address3                  Address4      City              State   PostalCode   Country
ASOCIACION DE ECONOMISTAS DE PR              P O BOX 40209 MINILLAS STA                                                                                                 SAN JUAN          PR      00949‐0209
ASOCIACION DE ECONOMISTAS DE PR INC          PO BOX 40209                                                                                                               SAN JUAN          PR      00940‐0209
ASOCIACION DE ECONOMISTAS DE PUERTO RICO MINILLAS STATION                            P O BOX 40209                                                                      SAN JUAN          PR      00940 0209
ASOCIACION DE EJECUTIVOS DE VENTAS Y MERCAPO BOX 364025                                                                                                                 SAN JUAN          PR      00936‐4025
Asociación de Empleados de Casinos de PR     Villalba Rodríguez, Víctor M.           Urb. Puerto Nuevo                          1214 Calle Cádiz                        San Juan          PR      00920
Asociación de Empleados de Comedores EscolareRodríguez Santos, Carmen D.                                                                                                Caguas            PR      00726
ASOCIACION DE EMPLEADOS DEL ELA              LCDA. GISELLE LÓPEZ SOLER               PMB 257 1353 AVE LUIS VIGOREAUX                                                    GUAYNABO          PR      00966‐2715
ASOCIACION DE EMPLEADOS DEL ELA              LCDO. ANTONIO ADROVER ROBLES            PO BOX 364508                                                                      SAN JUAN          PR      00936‐4508
ASOCIACION DE EMPLEADOS DEL ELA              LCDO. CLAUDIO ALIFF ORTIZ               ALB PLAZA‐ VILLA CLEMENTINA 16 CARR. 199 STE 400                                   GUAYNABO          PR      00969‐4712
                                                                                                                                 Ponce DE LEÓN MCS
ASOCIACION DE EMPLEADOS DEL ELA                 LCDO. RAFAEL ALONSO ALONSO           255 AVE.                                    PLAZA PISO 10                          SAN JUAN          PR      00917
ASOCIACION DE EMPLEADOS DEL ELA                 P O BOX 364508                                                                                                          SAN JUAN          PR      00936‐4508
Asociación de Empleados Ejecutivos y Gerenciale Ortiz Torres, José                   PO Box 71325                               Suite 84                                San Juan          PR      00936
Asociación de Empleados Gerenciales de ACAA (ARamos Ascencio, Ana                    PO Box 19400                                                                       San Juan          PR      00918‐4000
Asociación de Empleados Gerenciales de la AdminBorrero Cotto, Héctor M.              PMB 400                                    PO Box 700344                           San Juan          PR      00936
Asociación de Empleados Gerenciales de la Autor Cortés Torres, Anthony               PO Box 25148                               Río Piedras Station                     Río Piedras       PR      00928‐2648
Asociación de Empleados Gerenciales de la Autor López Rivera, Luz Marixibelle        PO Box 9831                                Santurce Station                        Santurce          PR      00908
Asociación de Empleados Gerenciales de la Autor López Rivera, Luz Marixibelle        Edif. San Alberto                          #605 Ave. Condado         Oficina 500   Santurce          PR      00908
Asociación de Empleados Gerenciales de la Autor Suárez Villaveitia, Maribel          Urb. Villa Carolina                        10‐54 Calle 50                          Carolina          PR      00985
Asociación de Empleados Gerenciales de la Autor Guzmán Betancourt, Sandra            PO Box 3444                                                                        Carolina          PR      00984
Asociación de Empleados Gerenciales de la CompRijos Mercado, Nora                    PO Box 194698                                                                      San Juan          PR      00919‐4698
Asociación de Empleados Gerenciales de la CorpoFránquiz Marrero, Raúl E.             PO Box 367011                                                                      San Juan          PR      00936‐7011
Asociación de Empleados Gerenciales de la Junta Castro, Ivelisse                     PO Box 40810                                                                       San Juan          PR      00940‐0810
Asociación de Empleados Gerenciales del 911     Belmont Santaliz, José L.            PO Box 6794                                                                        San Juan          PR      00914
Asociación de Empleados Gerenciales del DepartaVázquez Rosario, Félix                SINOT (Piso 10)                            DTRH                                    San Juan          PR      00910
ASOCIACIÓN DE EMPLEADOS GERENCIALES DEL FLCDO. LEONARDO DELGADO NAVARRO              8 CALLE                                    ARECIBO PR                STE 1B        SAN JUAN          PR      00917
Asociación de Empleados Gerenciales y SupervisoMiranda, Juan                         PO Box 41074                                                                       San Juan          PR      00940‐1074
Asociación de Empleados Municipales del Sur de Figueroa, Iván C.                     Box 6686                                                                           Ponce             PR      00733‐6686
Asociación de Empleados Profesionales de la AutoO'neill Vázquez, Héctor J.           PO Box 90226471                                                                    San Juan          PR      00902‐2471
ASOCIACION DE ENFERMERIA VISIT GREGORIA AUVISITANTES‐HOSPICIO                        1114 AVE ELENOR ROOSEVELT                  2ND FLOOR                               SAN JUAN          PR      00918‐3105
ASOCIACION DE ENFERMERIA VISITANTES             URB LOMAS VERDES                     X48 AVE CARLOS ANDALUX                                                             BAYAMON           PR      00619
ASOCIACION DE EPIDEMIOLOGOS DE PR               URB. VILLA DEL CARMEN                #538 CALLE SALAMANCA                                                               PONCE             PR      00716‐2115
ASOCIACION DE ESPOSAS DE POLICIAS               PO BOX 2304                                                                                                             JUNCOS            PR      00777
ASOCIACION DE EX ALUMNOS UPPR                   UNIVERSIDAD POLITECNICA DE PR        PO BOX 192017                                                                      SAN JUAN          PR      00919‐2017
ASOCIACION DE EXAMINADORES DE FRAUDE            CAPITULO DE PUERTO RICO              PO BOX 363142                                                                      SAN JUAN          PR      00936‐3142
ASOCIACION DE FACTURADORES MEDICOS DE PRPO BOX 1738                                                                                                                     BAYAMON           PR      00960
ASOCIACION DE FACTURADORES MEDICOS DE PUPO BOX 1738                                                                                                                     BAYAMON           PR      00960‐1738
ASOCIACION DE FISCALES DE PR                    PO BOX 10146                                                                                                            SAN JUAN          PR      00908
ASOCIACION DE FISCALES DE PR INC                PO BOX 10146                                                                                                            SAN JUAN          PR      00908
Asociación de Inspectores de Juegos de Azar     Lizardi Bonilla, Edgardo             #49 Calle Mayagüez                                                                 Hato Rey          PR      00917
ASOCIACION DE INTERPRETES CRISTIANOS INC PO BOX 3057                                                                                                                    SAN SEBASTIAN     PR      00685
ASOCIACION DE JOVENES                           HC 09 BOX 59566                                                                                                         CAGUAS            PR      00725
ASOCIACION DE MAESTRO DE PR                     PO BOX 191088                                                                                                           SAN JUAN          PR      00919‐1088
ASOCIACION DE MAESTRO DE PUERTO RICO            P.O. Box 907                                                                                                            GUAYAMA           PR      00785
ASOCIACION DE MAESTRO DE PUERTO RICO            PO BOX 191088                                                                                                           SAN JUAN          PR      00919‐1088
ASOCIACION DE MAESTROS                          PO BOX 191088                                                                                                           SAN JUAN          PR      00919‐1088
ASOCIACION DE MAESTROS DE PR                    158 ESTE CALLE RAMOS ANTONINI                                                                                           MAYAGUEZ          PR      00680
                                                                                                                                158 ESTE CALLE RAMOS
ASOCIACION DE MAESTROS DE PR                 PROSAM (CENTRO DE DIAGNOSTICO Y TRAT)   ATTN RECORDS MEDICOS                       ANTONINI                                MAYAGUEZ          PR      00680
Asociación de Maestros de Puerto Rico        Díaz de Rodríguez, Aida                 PO Box 191088                                                                      San Juan          PR      00919‐1088

Asociación de Maquinistas                        Maldonado, Juan L.                  Ext. Country Club                          757 Calle Amalio Roldán                 San Juan          PR      00924
ASOCIACION DE MEDICA DE PUERTO RICO              P O BOX 9387                                                                                                           SAN JUAN          PR      00908
Asociación de Médicos Gerenciales, Inc. de la CFSArango Llana, Dr. Juan R.           PO Box 365028                                                                      San Juan          PR      00936‐5028
Asociación de Miembros dela Policía (AMP)        Taboada de Jesús, José J.           RR 3 Box 3724                                                                      San Juan          PR      00926
Asociación de Miembros dela Policía (AMP)        Taboada de Jesús, José J.           Carr. #1 Km 20.9                           (Cerca de la Muda)                      Guaynabo          PR      00926
ASOCIACION DE NAVIEROS DE PR V JULIO ALICEA LCDO. JORGE CINTRON‐PABON                130 WINSTON CHURCHILL AVE SUITE 1          PMB 281                                 SAN JUAN          PR      00926
ASOCIACION DE NOTARIOS DE PR                     PO BOX 363613                                                                                                          SAN JUAN          PR      00936‐3613
Asociación de Oficiales de Bomberos de Puerto R Román Ortiz, Luis O.                 HC 61 Box 4911                             Quebrada Negrito                        Trujillo Alto     PR      00976‐9726
ASOCIACION DE OFICIALES DE CUMPLIMIENTO COOPERATIVA DE PR                            PO BOX 102                                                                         COROZAL           PR      00783‐0102




                                                                                                                  Page 615 of 10031
                                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                                                          Desc:
                                                                  Exhibit A-1 - Creditor
                                                                                      Case No.Matrix
                                                                                              17 BK 3283‐LTSPage 616 of 3500
                                                                                                                                Creditor Matrix

Creditor Name                                      Address1                                     Address2                                     Address3                 Address4            City              State   PostalCode   Country
ASOCIACION DE PADRES DEL CAAM                      PO BOX 5584                                                                                                                            MAYAGUEZ          PR      00681‐5584
ASOCIACION DE PADRES IPT CAGUAS                    URB MARIOLGA                                 G 4 CALLE SAN FLORENCIO                                                                   CAGUAS            PR      00725
ASOCIACION DE PARALEGALES DE PR INC                COND LOS PATRICIOS APT 803                                                                                                             GUAYNABO          PR      00968
Asociación de Peloteros Profesionales de PR        Pérez, Michael                               HC 645 Box 8302                                                                           Trujillo Alto     PR      00976
ASOCIACION DE PENSIONADOS DE PR                    P O BOX 364467                                                                                                                         SAN JUAN          PR      00936‐4467
ASOCIACION DE PESCADORES EL CAPITAN INC P O BOX 2783                                                                                                                                      RIO GRANDE        PR      00745
ASOCIACION DE PESCADORES UNIDOS DEL SUR BO ESPERANZA                                            393 CALLE BROMELIAS                                                                       VIEQUES           PR      00765
ASOCIACIÓN DE POLICÍAS ORGANIZADOS (APO), LCDO. ROGER A. LEYBA RODRIGUEZ                        PO BOX 873                                                                                HORMIQUEROS       PR      00660‐0873
ASOCIACIÓN DE POLICÍAS ORGANIZADOS (APO), LIC. NORBERTO COLON ALVARADO                          46 CALLE CASTILLO                                                                         PONCE             PR      00731
Asociación de Policías Organizados, Inc. (APO) González Montañez, José D.                       1135 Iturregui Plaza                         Suite 213                                    San Juan          PR      00924
Asociación de Policías Organizados, Inc. (APO) ‐ C González Montañez, José D.                   1135 Iturregui Plaza                         Suite 213                                    San Juan          PR      00924
ASOCIACION DE PORTEADORES PUBLICOS DE PR PO BOX 2382                                                                                                                                      BAYAMON           PR      00960‐2382
ASOCIACION DE PROFESORES DE EDUCACION CO PO BOX 367074                                                                                                                                    SAN JUAN          PR      00936‐7074
                                                                                                                                             Estacion Colegio
Asociación de Profesores del Colegio UniversitarioDomenech, Prof. Luis                             Apartado 5020                             Universitario de Cayey                       Cayey             PR      00737
Asociación de Profesores del Colegio UniversitarioSandoval, Carlos                                 170 Carretera 174                                                                      Bayamón           PR      00959
Asociación de Profesores Universitarios de AguadGarcía García, Dr. Juan M.                         PO Box 6071                                                                            Aguadilla         PR      00604‐6071
Asociación de Profesores Universitarios de ArecibCórdova Iturregui, Dr. Javier                     PO Box 4010                                                                            Arecibo           PR      00613
ASOCIACION DE PROPIETARIOS DE CAMPOLAGO 69 CAMPOLAGO                                                                                                                                      CIDRA             PR      00739
ASOCIACION DE PSICOLOGIA DE PR                    PO BOX 363435                                                                                                                           SAN JUAN          PR      00936‐3455
ASOCIACION DE PSICOLOGIA DE PUERTO RICO PO BOX 363435                                                                                                                                     SAN JUAN          PR      00936‐3435
ASOCIACION DE RADIODIFUSORES DE PR                P O BOX 11208                                                                                                                           SAN JUAN          PR      00922
ASOCIACION DE RELACIONISTAS PROFESIONALES PO BOX 190056                                                                                                                                   SAN JUAN          PR      00919‐0056
ASOCIACION DE RESIDENTE CHALET                    URB MONTE ATENAS                                 1300 CALLE ATENAS BOX 4                                                                SAN JUAN          PR      00926
ASOCIACION DE RESIDENTE LA SERRANIA               PMB 493                                          PO BOX 3040                                                                            GURABO            PR      00778
ASOCIACION DE RESIDENTE URB VERDE LUZ             PMB 009 BOX 8901                                                                                                                        HATILLO           PR      00659
ASOCIACION DE RESIDENTES REPARTO OLIVERA PO BOX 94                                                                                                                                        CABO ROJO         PR      00623
ASOCIACION DE RESIDENTES URB VERDE LUZ            PMB 009 BOX 8901                                                                                                                        HATILLO           PR      00659
ASOCIACION DE RESIDENTES VILLA DE LAUREL URB VILLAS DE LAURELL II                                  1404 BLVD SANTIAGO                                                                     COTO LAUREL       PR      00780
ASOCIACIÓN DE SALUD PRIMARIA DE PR                LCDO. RAUL TIRADO MENENDEZ                       PO BOX 1251                                                                            CAGUAS            PR      00726
Asociación de Secretarias de la AAA               Rivera, Adylis                                   PO Box 7066                                                                            San Juan          PR      00916‐7066
ASOCIACIÓN DE SEGURIDAD, POLICÍA Y RAMAS ALCDA. LYDIA M. RODRÍGUEZ COLÓN                           PO BOX 8191                                                                            Ponce             PR      00732
ASOCIACIÓN DE SEGURIDAD, POLICÍA Y RAMAS ALCDA. LYDIA M. RODRÍGUEZ COLÓN                           PO BOX 8191                                                                            Ponce             PR      00732
Asociación de Seguridad, Policías y Ramas AnexasCastro Jurado, Roberto E.                          Urb. Los Caobos                           2677 Calle Clavelino                         Ponce             PR      00716
ASOCIACION DE SOFTBALL BOOMERS DE PUERTORICO INC                                                   135 URB SIERRA REAL                                                                    CAYEY             PR      00736
Asociación de Supervisores y Gerenciales de la UPSánchez Torres, Fernando                          Call Box 6030                             PMB 114                                      Carolina          PR      00984‐6030
ASOCIACION DE SUSCRIPCION CONJUNTA                VERÓNICA FERRAIOULI‐HORNEDO                      PO BOX 195384                                                                          SAN JUAN          PR      00919‐5384
Asociacion de Suscripcion Conjunta del            Cond Cobian Plaza Um 02                                                                                                                 San Juan          PR      00909
Asociacion de Suscripcion Conjunta del Seguro deAttn: JosÃ© Blanco, President                      PO Box 11457                                                                           San Juan          PR      91025‐910
Asociacion de Suscripcion Conjunta del Seguro deAttn: Lcda Yanire Batista Orama, Circulation of Ri PO Box 11457                                                                           San Juan          PR      91025‐910
Asociacion de Suscripcion Conjunta del Seguro deAttn: Lcda Yanire Batista Orama, Consumer CompPO Box 11457                                                                                San Juan          PR      91025‐910
Asociacion de Suscripcion Conjunta del Seguro deAttn: Lcda Yanire Batista Orama, Premiun Tax ConPO Box 11457                                                                              San Juan          PR      91025‐910
Asociacion de Suscripcion Conjunta del Seguro deAttn: Lcda Yanire Batista Orama, Regulatory Com PO Box 11457                                                                              San Juan          PR      91025‐910
                                                                                                                                                                      420 Ponce DE LEÓN
ASOCIACIÓN DE SUSCRIPCIÓN CONJUNTA DEL SE LCDO. ANTONIO AMADEO MURGA                            LCDO. ANTONIO AMADEO MURGA                   COND. MIDTOWN            AVE. STE 910        SAN JUAN          PR      00918‐3409
ASOCIACIÓN DE SUSCRIPCIÓN CONJUNTA DEL SE LCDO. MARIO M. ORONOZ                                 LCDO. MARIO ORONOZ RODRÍGUEZ                 URB. TORRIMAR            K4 CALLE BAMBÚ      GUAYNABO          PR      00966
Asociación de Técnicos y Empleados del Registro Rodríguez, María de los A.                      HC 4 Box 8866                                Bo. Sumidero                                 Aguas Buenas      PR      00703‐8822
ASOCIACION DE TENNIS DE PR                      PO BOX 190607                                                                                                                             SAN JUAN          PR      00919‐0607
ASOCIACION DE TERAPIA OCUPACIONAL DE PR PO BOX 361558                                                                                                                                     SAN JUAN          PR      00936‐1558
ASOCIACION DE TIRO Y CAZA DE PR                 P O BOX 3247                                                                                                                              GUAYAMA           PR      00785
ASOCIACION DE TRABAJADORES JUDICIALES           BO OBRERO                                       724 CALLE MARTINO                                                                         SAN JUAN          PR      00915
ASOCIACION DEPORTIVA URB SAGRADO                CORAZON (ADUSCO) INC                            1660 CALLE STA ANGELA                                                                     SAN JUAN          PR      00926‐4128
ASOCIACION DISTROFIA MUSCULAR MDA               EDIFICIO NACIONAL PLAZA                         431 AVE PONCE DE LEON STE 705                                                             SAN JUAN          PR      00917
ASOCIACION DUENOS HILL MANSIONS                 CALLE 69 `BUZON BF 1                            URB HILLS MANSIONS                                                                        SAN JUAN          PR      00926
ASOCIACION ECOLOGICA DE PESCA RECREATIVA CANOVANAS                                              PO BOX 1745                                                                               CANOVANAS         PR      00729
ASOCIACION ESPINA BIFIDA AND HIDROCEFALIA PO BOX 8262                                                                                                                                     BAYAMON           PR      00960‐8032
ASOCIACION GET DE ADEM                          REPTO MARQUEZ                                   F 12 CALLE 4                                                                              ARECIBO           PR      00612‐3914
ASOCIACION HOGARES ESCUELAS CRISTIANAS URB LAS AMERICAS                                         CALLE 4 LL 10                                                                             BAYAMON           PR      00959
ASOCIACION HOSPITALES DE PR                     VILLA NEVAREZ                                   PROF BLDG ADM PROF OFIC 101                                                               SAN JUAN          PR      00927‐0000
Asociación Independiente de Empleados Municip Rivera, Mayra                                     PO Box 6686                                                                               Ponce             PR      00733‐6686




                                                                                                                              Page 616 of 10031
                                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                                                                  Desc:
                                                                    Exhibit A-1 - Creditor
                                                                                        Case No.Matrix
                                                                                                17 BK 3283‐LTSPage 617 of 3500
                                                                                                                                     Creditor Matrix

Creditor Name                                   Address1                                         Address2                                         Address3              Address4   City               State   PostalCode   Country
ASOCIACION INT. ADMINISTRACION PERSONAL P.O. BOX 902 4261                                                                                                                          SAN JUAN           PR      00902‐4261
ASOCIACION LAICA MISIONERA ADVENTISTA           P O BOX 194941                                                                                                                     SAN JUAN           PR      00919‐0000
ASOCIACION LEGISLADORES MUNICIPALES PR          P O BOX 6570                                                                                                                       CAGUAS             PR      00726‐6570
ASOCIACION MARITIMA PEPINIANA                   239 CARR 130                                                                                                                       HATILLO            PR      00659
ASOCIACION MIEMBROS                             DE LA POLICIA DE PUERTO RICO RR‐3 BOX 3724                                                                                         RIO PIEDRAS        PR      00928
ASOCIACIÓN MIEMBROS POLICIA DE PUERTO RIC LCDA. CARMINE CASTRO VILLANUEVA                        PO BOX 19‐1671                                                                    SAN JUAN           PR      00919‐1671
ASOCIACIÓN MIEMBROS POLICIA DE PUERTO RIC LCDO. JOSE A CANDELARIO LAJARA                         RR‐3 BOX 3724                                                                     RIO PIEDRAS        PR      00926
ASOCIACION MONTADORES CABALLOS                  PUEBLO RIO GRANDE INC                            LA DOLORES 116 CALLE TAINO                                                        RIO GRANDE         PR      00745
ASOCIACION NO VIDENTES LUZ DE AMOR INC PO BOX 3991                                               BAYAMON GARDENS STATION                                                           BAYAMON            PR      00958
ASOCIACION PADRES DE NINOS DOTADOS              PO BOX 361094                                                                                                                      SAN JUAN           PR      00936
ASOCIACION PARA LA ADM DE REC HUMANOS Y PO BOX 9024261                                                                                                                             SAN JUAN           PR      00902‐4261
ASOCIACION PARA LA ADMINISTRACION DE            PO BOX 9024261                                                                                                                     SAN JUAN           PR      00902‐4261
ASOCIACION PKU DE PR INC                        PO BOX 9158                                                                                                                        BAYAMON            PR      00960
ASOCIACION PROFESIONALES AYUDA EMPEADOSAVE DOMENECH 400                                          PENTHOUSE SUITE 701                                                               SAN JUAN           PR      00918
ASOCIACION PROFESIONALES EN REL LABORALESPO BOX 190401                                                                                                                             SAN JUAN           PR      00919‐0401
ASOCIACION PTQNA DEL CORAZON                    EXT ROOSEVELT                                    554 CALLE CABO H ALVERIO                                                          SAN JUAN           PR      00918
ASOCIACION PUERTORIQUENA PRO BIENESTAR DE LAS FAMILIAS INC                                       PO BOX 192379                                                                     SAN JUAN           PR      00919‐2379
ASOCIACION PUERTORRIQUENA DE CIENCIAS DE LA FAMILIA Y DEL CONSUMIDOR                             BOX 21883                                                                         SAN JUAN           PR      00931‐1883
ASOCIACION PUERTORRIQUENA DE PARKINSON PO BOX 7579                                                                                                                                 CAROLINA           PR      00986‐7579
Asociación Puertorriqueña de Profesores Univers Tirado, Sra. Carmen                              PO Box 22511                                                                      San Juan           PR      00931‐2511
Asociación Puertorriqueña de Profesores Univers Tirado, Sra. Carmen                              Altos correo interior ‐ Recinto de Río Piedras   UPR
ASOCIACION PUERTORRIQUENA DEL PULMON PO BOX5247                                                                                                                                    SAN JUAN           PR      00919‐5247
ASOCIACION PUERTORRIQUENA DUENOS                DE LAB CLINICOS                                  PO BOX 11603                                                                      SAN JUAN           PR      00922
ASOCIACION RECREATIVA                           PO BOX 662                                                                                                                         CEIBA              PR      00735
ASOCIACION RECREATIVA COUNTRY CLUB INC URB EL COMANDANTE                                         824 CALLE CARMEN HERNANDEZ                                                        SAN JUAN           PR      00924
ASOCIACION RECREATIVA NINOS EN ACCION IN PO BOX 691                                                                                                                                BARRANQUITAS       PR      00794
ASOCIACION RECREATIVA URB GUARICO INC           URB GUARICO                                      CALLE DH 23                                                                       VEGA BAJA          PR      00693
ASOCIACION RECREATIVA Y EDUCATIVA COMUNAHC 1 BOX 17110                                                                                                                             HUMACAO            PR      00791‐9029
ASOCIACION RESCATE DEPORTIVO INC                PO BOX 31283                                                                                                                       SAN JUAN           PR      00929
ASOCIACION RESIDENTES URB PUNTO ORO             PO BOX 7420                                                                                                                        PONCE              PR      00732
ASOCIACION SALUD PRIMARIA                       EDIF LA EUSKALDUNA 56 CALLE NAVARRO                                                                                                SAN JUAN           PR      00918
ASOCIACION SANTO NINO DE PRAGA                  BARRIO MANI                                      115 CALLE ELENA SEGARRA                                                           MAYAGUEZ           PR      00680
ASOCIACION SORDOS UNIVERSITARIOS INC            400 CALLE CALAF SUITE 55                                                                                                           SAN JUAN           PR      00918
ASOCIACION SUZUKI VIOLIN DE PUERTO RICO         EL MONTE MALL GARDEN                             APTS G‐209                                                                        SAN JUAN           PR      00918‐4259
ASOCIACION SUZUKI VIOLIN DE PUERTO RICO         URB VILLA NEVAREZ                                1044 CALLE 11                                                                     SAN JUAN           PR      00927
ASOCIACION TRANSPLANTE Y VIDA INC               P O BOX 9939                                     COTTO STATION                                                                     ARECIBO            PR      00613
ASOMANTE MEDICAL GROUP                          PO BOX 2006                                                                                                                        AIBONITO           PR      00705
ASOMATE MEDICAL GROUP                           P O BOX 2006                                                                                                                       AIBONITO           PR      00705
ASOS DE OFICIALES DE VOLIBOL                    352 CALLE SAN CLAUDIO STE 1 PMB 209                                                                                                SAN JUAN           PR      00926‐4144
ASP GROUP INC                                   PMB 465                                          PO BOX 4960                                                                       CAGUAS             PR      00726‐4960
ASPACIA PAGAN NEVAREZ                           ADDRESS ON FILE
ASPARO PLANAS MD, ROSA                          ADDRESS ON FILE
Aspen American Insurance Company                175 Capital Boulevard                            Suite 100                                                                         Rocky Hill         CT      06067
Aspen American Insurance Company                Attn: Antonette Colon, Premiun Tax Contact       175 Capital Boulevard                            Suite 300                        Rocky Hill         CT      06067
Aspen American Insurance Company                Attn: Erika Douglas, Consumer Complaint Contact175 Capital Boulevard                              Suite 300                        Rocky Hill         CT      06067
Aspen American Insurance Company                Attn: Kerian Bunch, President                    175 Capital Boulevard                            Suite 300                        Rocky Hill         CT      06067
Aspen American Insurance Company                Attn: Kerian Bunch, Regulatory Compliance Gove 175 Capital Boulevard                              Suite 300                        Rocky Hill         CT      06067
Aspen American Insurance Company                c/o CT Corporation System , Agent for Service of 175 Capital Boulevard                            Suite 300                        Rocky Hill         CT      06067
ASPEN POINTE                                    875 W MORENO AVE                                                                                                                   COLORADO SPRINGS   CO      80906
ASPEN PUBLISHERS INC                            4829 INNOVATION WAY                                                                                                                CHICAGO            IL      60682‐0048

ASPEN PUBLISHERS INC                             ACCOUNTS RECEIVABLE                              DEPARTMENT                                      4829 INNOVATION WAY              CHICAGO            IL      60682‐0048
ASPEN PUBLISHERS INC.                            PO BOX 64054                                                                                                                      BALTIMORE          MD      21264‐4054
ASPEN SURGICAL                                   PO BOX 2007                                                                                                                       LAS PIEDRAS        PR      00771
ASPHALT SOLUTION HATILLO LLC                     AMELIA CONTRACT STATION                          PO BOX 3465                                                                      CATANO             PR      00963
ASPHALT SOLUTION TOA ALTA , LLC                  CARR. 861 KM. 0.8 BO. PINAS                                                                                                       TOA ALTA           PR      00953‐0000
ASPHALT SOLUTIONS HATILLO , LLC                  P. O. BOX 3465 AMELIA CONTRACT STA                                                                                                CATANO             PR      00936‐3465
ASPIRA INC DE PUERTO RICO                        PO BOX 29132                                                                                                                      SAN JUAN           PR      00929‐0132
ASPIRA INC OF PUERTO RICO                        PO BOX 29132                                                                                                                      SAN JUAN           PR      00929‐0132
ASPIRA INC. DE P.R.                              PO BOX 29132                                                                                                                      SAN JUAN           PR      00929




                                                                                                                                    Page 617 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 618 of 3500
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                     Address2                                 Address3    Address4   City                 State   PostalCode   Country
ASPIRADORAS DE PUERTO RICO               1019 AVE JESUS T PINERO                                                                                      SAN JUAN             PR      00920
ASPOSE PTY LTD                           79 LONGUEVILLE ROAD                          SUITE 163                                                       LANE COVE NSW 2066   AU      00000
ASQ PUERTO RICO                          PO BOX 1959                                                                                                  CAGUAS               PR      00726‐1959
ASQ PUERTO RICO                          PO BOX 8157                                                                                                  BAYAMON              PR      00960‐8157
A'SS BASEBALL CLUB INC                   H 10 CALLE HERNAN                                                                                            TRUJILLO ALTO        PR      00976
ASS OF RACING COMMISSIONERS INTERNATIONA1510 NEWTOWN PIKE STE 210                                                                                     LEXINGTON            KY      40511‐1222
ASSA CARIBBEAN INC                       PMB 169                                      405 AVE ESMERALDA STE 2                                         GUAYNABO             PR      00969
ASSAD EL BURAI Y OTROS V OGP             LCDO. JOSÉ VELAZ ORTIZ                       420 AVE. Ponce DE LEÓN                   STE. B‐4               SAN JUAN             PR      00918‐3434
ASSAD MOHALA, KAMIL                      ADDRESS ON FILE
ASSAF SUAREZ, ROSALBA                    ADDRESS ON FILE
ASSAF, DANIEL                            ADDRESS ON FILE
ASSEO GARCIA, ARTHUR                     ADDRESS ON FILE
ASSETS MANAGEMENT OF PR INC              P O BOX 363035                                                                                               SAN JUAN             PR      00936‐3035
ASSISTIVE TECHNOLOGY SPECIALISTS INC     PMB 373                                      CALLE CALAF                                                     SAN JUAN             PR      00918‐1314
ASSISTIVE TECHNOLOGY SPECIALISTS, INC.   500 CAMINO DE CAMBALACHE                     URB. SABANERA                                                   DORADO               PR      00646
ASSISTIVE TECHNOLOGY SPECIALISTS, INC.   CALLE CALAF PMB 373                                                                                          SAN JUAN             PR      00918‐1314
ASSISTIVE TECHNOLOGY SPECIALISTS, INC.   URB. ENCANTADA                               VILLA LANTIGUA LB‐23                                            TRUJILLO ALTO        PR      00976
ASSISTIVE TECHNOLOGY SPECIALISTS, INC.   URB. SABANERA DORADO #500 CAMINO DE CAMBALACHE                                                               DORADO               PR      00646
ASSMCA / DIANA ALAMO LOZADA              PO BOX 21414                                                                                                 SAN JUAN             PR      00928‐1414
ASSMCA / FELIPE TORRES FERNANDEZ         PO BOX 21414                                                                                                 SAN JUAN             PR      00928‐1414
ASSMCA Y CARMEN L NERIS CLAUDIO          PO BOX 21414                                                                                                 SAN JUAN             PR      00928‐1414
ASSMCA Y/O MARIA G VARGAS RIVERA         PO BOX 21414                                                                                                 SAN JUAN             PR      00928‐1414
ASSMCA y/o Nery L. Melendez Burgos       HOSPITAL DE PSIQUIATRIA                      BOX. 2100                                                       SAN JUAN             PR      00922‐2100
ASSOC CERTI ANTI MONEY LAUND SPECIALISTS BRICKELL BAYVIEW CENTER                      80 SW 8 TH STREET SUITE 2350                                    MIAMI                FL      33130
ASSOC OF STATE CORECTIONAL ADM           1110 OPAL COURT                              SUITE 5                                                         HAGERSTOWN           MD      21740
ASSOC OF STATES AND TERR HEALTH OFFICIAL 2231 CRYSTAL DRIVE SUITE #450                                                                                ARLINGTON            VA      22202
ASSOC REAL ESTATE LICENSE LAW            OFFICIALS                                    150 NORTH WACKER DRIVE STE 920                                  CHICAGO              IL      60606
ASSOC SUSCRIP CONJUNTA SEG RESP OBLIGATORPO BOX 11457                                                                                                 SAN JUAN             PR      00910‐2557
ASSOC SUSCRIP CONJUNTA SEG RESP OBLIGATORSECRETARIO DE HACIENDA                       PO BOX 1145                                                     SAN JUAN             PR      00910‐2557
ASSOCIACION DE DUENOS DE ARMERIA INC     P O BOX 2057                                                                                                 BAYAMON              PR      00960‐2057
ASSOCIACION RESIDENTES OASIS GARDENS     P O BOX 1165                                 SAN JUST STATION                                                SANT JUST            PR      00978‐1165
ASSOCIATED INSURANCE AGENCIES            PO BOX 2342                                                                                                  HATO REY             PR      00919‐2342
ASSOCIATED PRESS                         50 ROCKEFELLER PLAZA                                                                                         NEW YORK             NY      10020
ASSOCIATION DIOCESAINE DE PARIS          PO BOX 9023941                                                                                               SAN JUAN             PR      00902‐3941
ASSOCIATION FOR PRESERVATION TECHNOLOGY INTERNATIONAL                                 3085 STEVENSON DRIVE SUITE 200                                  SPRINGFIEL           IL      62703
ASSOCIATION OF AMERICAN GEOGRAPHERS      1710 16 TH STREET NW                                                                                         WASHINGTON DC        WA      20009
ASSOCIATION OF BOXING COMMISSIONS        P O BOX 17304                                                                                                LITTLE ROCK          AR      72222
ASSOCIATION OF CERTIFIED FRAUD           WORLD HEADQUARTERS THE GREGOR BUILDING 716 WEST AV                                                           AUSTIN               TX      78701‐2727
ASSOCIATION OF CERTIFIED FRAUD EXAMINERS 716 WEST AVENUE                                                                                              AUSTIN               TX      78701
ASSOCIATION OF CERTIFIED FRAUD EXAMINERS THE GREGOR BUILDING                          716 WEST AVENUE                                                 AUSTING              TX      78701
ASSOCIATION OF CERTIFIED FRAUD EXAMINERS WORLD HEADQARTERS                            THE GREGOR BUILDING 716 WEST AVENUE                             AUSTING              TX      78701‐2727
ASSOCIATION OF CERTIFIED FRAUD EXAMINERS WORLD HEADQARTERS                                                                                            AUSTING              TX      78701‐2727
ASSOCIATION OF GOVERMENT ACCOUNTANTS PUERTO RICO CHAPTER                              PO BOX 363721                                                   SAN JUAN             PR      00936‐3731
ASSOCIATION OF LOCAL GOVERNMENT AUDITOR449 LEWIS HARGETT CIRCLE                       SUITE 290                                                       LEXINGTON            KY      40503
ASSOCIATION OF MANAGERS                  620 HUNGERFORD DRIVE                         SUITE 29                                                        ROCKVILLE            MD      20850
ASSOCIATION OF MATERNAL CHILD PROGR      2030 M STREET, NW,                           SUITE 350                                                       WASHINGTON           DC      20036
ASSOCIATION OF PAROLING AUTHORITIES INTL SAM HOUSTON STATE UNIVERSITY                                                                                 HUNTSVILLE           TX      77341‐2296
ASSOCIATION OF STATE AND TERRITORIAL     1838 FIELDCREST DRIVE                                                                                        SPARKS               NV      89434
ASSOCIATION OF STATE AND TERRORISTAL     2872 WOODCOCK BLVD.SUITE 220                                                                                 ATLANTA              GA      30341
ASSOCIATION OF STATE FLOODPAIN           MANAGERS INC                                 575 D ONOFRIO DRIVE                      SUITE 200              MADISON              WI      53719
ASSOCIATION OFGOVERMENT ACCOUN           2208 MOUNT VERNON AVE.                                                                                       ALEXANDRIA           VA      22301‐1314
ASSURANCE ACOUNTING & TAX SERVICES INC PO BOX 1458                                                                                                    AGUADA               PR      00602
ASSURANT HOLDING DE PR                   URB SAN JOSE IND                             1300 AVE PONCE DE LEON                                          SAN JUAN             PR      00926
ASSURANT SERVICES OF PUERTO RICO INC     PLAZA SCOTIABANK                             273 PONCE DE LEON STE 1300                                      SAN JUAN             PR      00917‐1838
Assurant Services of Puerto Rico, Inc.   273 Avenue Ponce De Leon                                                                                     San Juan             PR      00917
Assurant Services of Puerto Rico, Inc.   Attn: Christian Formby, President            PO Box 195167                                                   San Juan             PR      91951‐919
Assured Guaranty Corp                    Dan Weinberg, Managing Director              1633 Broadway                                                   New York             NY      10019
Assured Guaranty Corp.                   30 Woodbourne Avenue                                                                                         Hamilton             HM      08‐          Bermuda
Assured Guaranty Corp.                   Attn: Dana Damiani, Circulation of Risk      31 West 52nd St.                                                New York             NY      10019
Assured Guaranty Corp.                   Attn: Dana Damiani, Consumer Complaint Contac31 West 52nd St.                                                New York             NY      10019




                                                                                                                Page 618 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 619 of 3500
                                                                                                         Creditor Matrix

Creditor Name                      Address1                                      Address2                             Address3   Address4   City         State   PostalCode   Country
Assured Guaranty Corp.             Attn: Dana Damiani, Premiun Tax Contact       31 West 52nd St.                                           New York     NY      10019
Assured Guaranty Corp.             Attn: Dana Damiani, Regulatory Compliance Gove31 West 52nd St.                                           New York     NY      10019
Assured Guaranty Corp.             Attn: Dominic Frederico, President            31 West 52nd St.                                           New York     NY      10019
Assured Guaranty Corp.             Attn: William Findlay, President              31 West 52nd St.                                           New York     NY      10019
Assured Guaranty Municipal Corp.   30 Woodbourne Avenue                                                                                     Hamilton     HM      08‐          Bermuda
Assured Guaranty Municipal Corp.   Attn: Dana Damiani, Circulation of Risk       31 West 52nd. Street                                       New York     NY      10019
Assured Guaranty Municipal Corp.   Attn: Dana Damiani, Consumer Complaint Contac31 West 52nd. Street                                        New York     NY      10019
Assured Guaranty Municipal Corp.   Attn: Dana Damiani, Premiun Tax Contact       31 West 52nd. Street                                       New York     NY      10019
Assured Guaranty Municipal Corp.   Attn: Dana Damiani, Regulatory Compliance Gove31 West 52nd. Street                                       New York     NY      10019
Assured Guaranty Municipal Corp.   Attn: Dominic Frederico, President            31 West 52nd. Street                                       New York     NY      10019
Assured Guaranty Municpal Corp.    Dan Weinberg, Managing Director               1633 Broadway                                              New York     NY      10019
ASSY RICART, CARLOS                ADDRESS ON FILE
ASSY RICART, LISSETTE              ADDRESS ON FILE
ASSY RICART, PEDRO                 ADDRESS ON FILE
ASTACIO ACOSTA, JORGE LUIS         ADDRESS ON FILE
ASTACIO ALFONSO, CARLOS            ADDRESS ON FILE
ASTACIO ALMODOVAR MD, MARIA        ADDRESS ON FILE
ASTACIO ALTRUZ, MARCOS             ADDRESS ON FILE
ASTACIO AYALA, PEDRO               ADDRESS ON FILE
ASTACIO BERRIOS, MAYRA             ADDRESS ON FILE
ASTACIO BURGOS, GLADYS             ADDRESS ON FILE
ASTACIO CAMPOS, ANIBAL O           ADDRESS ON FILE
ASTACIO CARABALLO, CARMEN          ADDRESS ON FILE
ASTACIO CARRERA, MILITZA           ADDRESS ON FILE
ASTACIO CARRION, JUAN R            ADDRESS ON FILE
ASTACIO CASTILLO, IRIS M           ADDRESS ON FILE
ASTACIO CASTRO, ELBA               ADDRESS ON FILE
ASTACIO CASTRO, MIGUEL             ADDRESS ON FILE
ASTACIO CINTRON, CARMEN            ADDRESS ON FILE
ASTACIO CORREA, ILEANA             ADDRESS ON FILE
ASTACIO CORREA, LETICIA            ADDRESS ON FILE
ASTACIO CORREA, LETICIA            ADDRESS ON FILE
ASTACIO CORREA, PATRIA M           ADDRESS ON FILE
ASTACIO CUEVAS, KARIN              ADDRESS ON FILE
ASTACIO DE JESUS, YARALIZ          ADDRESS ON FILE
ASTACIO DIAZ, ARNALDO              ADDRESS ON FILE
ASTACIO DIAZ, ORLANDO              ADDRESS ON FILE
ASTACIO DIAZ, YAZMIN               ADDRESS ON FILE
ASTACIO DIPINI, ANGEL              ADDRESS ON FILE
ASTACIO FIGUEROA, ANGEL            ADDRESS ON FILE
ASTACIO FIGUEROA, WANDA E          ADDRESS ON FILE
ASTACIO FLORES, BLANCA I           ADDRESS ON FILE
ASTACIO FLORES, JOSE A.            ADDRESS ON FILE
ASTACIO GARCIA, RUTH M             ADDRESS ON FILE
ASTACIO GONZALEZ, DIANNE           ADDRESS ON FILE
ASTACIO GONZALEZ, KRISTEN          ADDRESS ON FILE
ASTACIO HERNANDEZ, CARLOS          ADDRESS ON FILE
ASTACIO IRIZARRY, EDSEL            ADDRESS ON FILE
ASTACIO JAIME, OLGA                ADDRESS ON FILE
ASTACIO JANEIRO, CYNTHIA           ADDRESS ON FILE
ASTACIO LOZANO, MARIA DE L         ADDRESS ON FILE
ASTACIO MALDONADO, HECTOR          ADDRESS ON FILE
ASTACIO MANGUAL, CARLOS            ADDRESS ON FILE
ASTACIO MARRERO, ERICK D.          ADDRESS ON FILE
Astacio Matias, Orlando            ADDRESS ON FILE
ASTACIO MATOS, TERESA              ADDRESS ON FILE
ASTACIO MENDEZ, ANA                ADDRESS ON FILE
ASTACIO MENDEZ, MIDIAM             ADDRESS ON FILE
ASTACIO MENDEZ, MIDIAM             ADDRESS ON FILE
ASTACIO MONTANEZ, LIANA            ADDRESS ON FILE




                                                                                                        Page 619 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 620 of 3500
                                                                                 Creditor Matrix

Creditor Name                  Address1                     Address2                          Address3   Address4   City             State   PostalCode   Country
ASTACIO NEGRON, ANDREA         ADDRESS ON FILE
ASTACIO NEGRON, NOEL           ADDRESS ON FILE
ASTACIO NIEVES, CARMEN         ADDRESS ON FILE
ASTACIO NIEVES, ISRAEL         ADDRESS ON FILE
ASTACIO OLMEDA, GRACE          ADDRESS ON FILE
ASTACIO ORTIZ, ANGEL           ADDRESS ON FILE
ASTACIO ORTIZ, MARIBEL         ADDRESS ON FILE
ASTACIO ORTIZ, RAFAEL          ADDRESS ON FILE
ASTACIO ORTIZ, YOLANDA         ADDRESS ON FILE
ASTACIO OTERO, JOSE M          ADDRESS ON FILE
ASTACIO PADILLA, SONIA         ADDRESS ON FILE
Astacio Pagan, Arsenio         ADDRESS ON FILE
ASTACIO PAGAN, CARMEN          ADDRESS ON FILE
ASTACIO PAGAN, FELIX           ADDRESS ON FILE
ASTACIO PANTOJA, WILLIAM       ADDRESS ON FILE
Astacio Payton, Hector         ADDRESS ON FILE
ASTACIO PAYTON, MARIO          ADDRESS ON FILE
Astacio Payton, Mario A        ADDRESS ON FILE
ASTACIO PEREZ, VIRGEN C        ADDRESS ON FILE
ASTACIO QUINTANA, ANIBAL       ADDRESS ON FILE
ASTACIO QUINTANA, CARMEN       ADDRESS ON FILE
ASTACIO QUINTANA, LOURDES      ADDRESS ON FILE
Astacio Ramos, Juan P          ADDRESS ON FILE
ASTACIO RIOS, LILLIAN          ADDRESS ON FILE
ASTACIO RIVERA, CARMEN H       ADDRESS ON FILE
ASTACIO RIVERA, IVANELA        ADDRESS ON FILE
ASTACIO RIVERA, IVELISSE       ADDRESS ON FILE
ASTACIO RIVERA, IVELISSE       ADDRESS ON FILE
ASTACIO RIVERA, MARIA DEL C    ADDRESS ON FILE
ASTACIO ROMERO, REY            ADDRESS ON FILE
ASTACIO ROSADO, JOEL           ADDRESS ON FILE
ASTACIO SANCHEZ, EDWIN         ADDRESS ON FILE
ASTACIO SANCHEZ, ELIZABETH     ADDRESS ON FILE
ASTACIO SANTANA, ADAM          ADDRESS ON FILE
ASTACIO SANTIAGO, WILFREDO     ADDRESS ON FILE
ASTACIO SEPULVEDA, GLORIMAR    ADDRESS ON FILE
Astacio Sostre, Ibis           ADDRESS ON FILE
ASTACIO TORRES, JESSICA        ADDRESS ON FILE
ASTACIO TORRUELLA, JUAN C      ADDRESS ON FILE
ASTACIO TORRUELLA, VICTOR M.   ADDRESS ON FILE
ASTACIO TORRUELLAS, MIGUEL     ADDRESS ON FILE
ASTACIO VALENTIN, BETSY        ADDRESS ON FILE
ASTACIO VAZQUEZ, LAURA M       ADDRESS ON FILE
ASTACIO, ANGEL                 ADDRESS ON FILE
ASTD CAPITULO DE PUERTO RICO   100 GRAND PASEO BLVD         SUITE 112 PMB 363                                       SAN JUAN         PR      00926
ASTHUR BATISTA ARCE            ADDRESS ON FILE
ASTIR Y RODRIGUEZ RIVERA       ADDRESS ON FILE
ASTM INTERNATIONAL             100 BARR HARBOR DRIVE WEST                                                           CONSHOHOCKEN     PA      19428‐2959
ASTOL MORALES, CARMEN G        ADDRESS ON FILE
ASTOL VALENTIN, ISA A          ADDRESS ON FILE
ASTONDOA RIVERA, CARLOS        ADDRESS ON FILE
ASTOR ACOSTA, EGDALIS          ADDRESS ON FILE
ASTOR ACOSTA, EGLANTINA        ADDRESS ON FILE
ASTOR CASALDUC, JOHN           ADDRESS ON FILE
Astor Lopez, Rosa A.           ADDRESS ON FILE
ASTOR MARIN, BRENDA            ADDRESS ON FILE
ASTOR MARIN, FERNANDO          ADDRESS ON FILE
ASTOR NATER, ANGEL E.          ADDRESS ON FILE
ASTOR NATER, ANGEL E.          ADDRESS ON FILE
Astor Reyes, Carlos N.         ADDRESS ON FILE




                                                                                Page 620 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 621 of 3500
                                                                                           Creditor Matrix

Creditor Name                             Address1                  Address2                            Address3        Address4   City         State   PostalCode   Country
Astor Reyes, Josue A                      ADDRESS ON FILE
ASTOR REYES, MARANYELIZ                   ADDRESS ON FILE
Astor Rodriguez, Juan                     ADDRESS ON FILE
ASTRIC PEREZ RODRIGUEZ                    ADDRESS ON FILE
ASTRID A CAPPAS PEREZ                     ADDRESS ON FILE
ASTRID A MORALES JIMENEZ                  ADDRESS ON FILE
ASTRID A. YAMIN SORRENTINI                ADDRESS ON FILE
ASTRID ADREINA TOLEDO SARMIENTO           ADDRESS ON FILE
ASTRID ALVAREZ MORALES                    ADDRESS ON FILE
ASTRID AYABARRENO LA SANTA                GENOVEVA VALENTÍN SOTO    PO BOX 13695                                                   SAN JUAN     PR      00908‐3695
                                                                                                        1353 AVE LUIS
ASTRID AYABARRENO LASANTA                 YARLENE JIMENEZ ROSARIO   PMB 133                             VIGOREAUZ                  GUAYNABO     PR      00966‐2700
ASTRID B MELLOT PEREZ‐ GUERRA             ADDRESS ON FILE
ASTRID B VARGAS CORDERO                   ADDRESS ON FILE
ASTRID C SIERRA TORRES                    ADDRESS ON FILE
ASTRID COLON LEDEE                        ADDRESS ON FILE
ASTRID DAVILA DIAZ                        ADDRESS ON FILE
ASTRID E GONZALEZ RAMOS                   ADDRESS ON FILE
ASTRID E RIVERA ALVARADO                  ADDRESS ON FILE
ASTRID E SANTIAGO ORRIA                   ADDRESS ON FILE
ASTRID ERISMANN DUBOCQ                    ADDRESS ON FILE
ASTRID K ROSARIO GARCIA                   ADDRESS ON FILE
ASTRID K. ROSARIO GARCIA                  ADDRESS ON FILE
ASTRID LOPEZ CAPLLONCH/ SYNERLUTION INC   PO BOX 1508                                                                              MAYAGUEZ     PR      00681
ASTRID LOZADA VINAS                       ADDRESS ON FILE
ASTRID M CRUZ PEREZ                       ADDRESS ON FILE
ASTRID M MARRERO DAVILA                   ADDRESS ON FILE
ASTRID M MARTINEZ MILLER                  ADDRESS ON FILE
ASTRID M RODRIGUEZ SALDANA                ADDRESS ON FILE
ASTRID M ROMAN ACOSTA                     ADDRESS ON FILE
ASTRID M SANTANA CINTRON                  ADDRESS ON FILE
ASTRID M VAZQUEZ MARRERO                  ADDRESS ON FILE
ASTRID MATOS SILVA                        ADDRESS ON FILE
ASTRID MELENDEZ DELGADO                   ADDRESS ON FILE
ASTRID MORALES                            ADDRESS ON FILE
ASTRID N EMMANUELLI RUIZ                  ADDRESS ON FILE
ASTRID OTERO SEGUI                        ADDRESS ON FILE
ASTRID PAGAN FLORES                       ADDRESS ON FILE
ASTRID PAGAN SALLES                       ADDRESS ON FILE
ASTRID RIVERA VICENTY                     ADDRESS ON FILE
ASTRID RIVERA Y/O FELIX M NEGRON          ADDRESS ON FILE
ASTRID RODRIGUEZ ANDINO                   ADDRESS ON FILE
ASTRID RODRIGUEZ MU¥OZ                    ADDRESS ON FILE
ASTRID SANCHEZ FRATICELLI                 ADDRESS ON FILE
ASTRID SCHMIDT QUINONES                   ADDRESS ON FILE
ASTRID SUAREZ ORTIZ                       ADDRESS ON FILE
ASTRID TORRES SERRANO                     ADDRESS ON FILE
ASTRID V RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
ASTRID W DIEPPA SILVA                     ADDRESS ON FILE
ASTRID X ORTIZ VALENTIN                   ADDRESS ON FILE
ASTRID Y MALDONADO ROSARIO                ADDRESS ON FILE
ASTRID Y MARTINEZ ROSARIO                 ADDRESS ON FILE
ASTRID, KOTCHAARJAN                       ADDRESS ON FILE
ASTROS BASEBALL INC                       TERRAZAS DE GUAYNABO      L 2 AZAHAR                                                     GUAYNABO     PR      00969
ASTROS DE LEVITTOWN INC                   CAMINO DEL MAR            7025 PLAZA ARENALES                                            TOA BAJA     PR      00949
ASTUDILLO CARRETERO, JOHANA               ADDRESS ON FILE
ASUAN M RODRIGUEZ MARTINEZ                ADDRESS ON FILE
ASUME / JUAN ROSARIO LUGO                 ADDRESS ON FILE
ASUME / JUAN ROSARIO LUGO                 ADDRESS ON FILE
ASUME Y/O JUAN ROSARIO LUGO               ADDRESS ON FILE




                                                                                          Page 621 of 10031
                                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                                   Exhibit A-1 - Creditor
                                                                                       Case No.Matrix
                                                                                               17 BK 3283‐LTSPage 622 of 3500
                                                                                                                            Creditor Matrix

Creditor Name                                    Address1                                      Address2                                  Address3     Address4    City             State   PostalCode   Country
ASUME Y/O JUAN ROSARIO LUGO                      ADDRESS ON FILE
ASUNCION CRUZ MAISSONET                          ADDRESS ON FILE
ASUNCION GASCOT MEDINA                           ADDRESS ON FILE
ASUNCION OCANA VERGARA                           ADDRESS ON FILE
ASUNCION OCASIO RODRIGUEZ                        ADDRESS ON FILE
ASUNCION PEREZ NIEVES                            ADDRESS ON FILE
ASUNCION PIRELA ROSA                             ADDRESS ON FILE
ASUNCION SANCHEZ GUZMAN                          ADDRESS ON FILE
ASUNCION TORRES RIVERA                           ADDRESS ON FILE
ASUNCION VAZQUEZ PEREIRA                         ADDRESS ON FILE
ASUNCION VAZQUEZ ROSA                            ADDRESS ON FILE
ASUNTO MD, ANN                                   ADDRESS ON FILE
Asurion Consumer Solutions of Puerto Rico,       648 Grassmere Park                                                                                               Nashville        TN
Asurion Consumer Solutions of Puerto Rico, Inc. Attn: Charles Laue, President                  11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Consumer Solutions of Puerto Rico, Inc. Attn: Nikki Brown, Principal Representative    11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Service Plans of Puerto Rico, Inc.       361 San Francisco St                          4th Floor                                                          San Juan         PR      00901
Asurion Service Plans of Puerto Rico, Inc.       Attn: Anthony Nader, III, President           11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Service Plans of Puerto Rico, Inc.       Attn: Nikki Brown, Principal Representative   11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Technology Services of Puerto Rico,      154 Calle Rafael Cordero                      ste 700                                                            San Juan         PR      00901
Asurion Technology Services of Puerto Rico, Inc. Attn: Nikki Brown, Principal Representative   11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Warranty Protection Services of          648 Grassmere Park                                                                                               Nashville        TN      37211
Asurion Warranty Protection Services of Puerto RAttn: Charles Lave, President                  11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Warranty Protection Services of Puerto RAttn: Nikki Brown, Principal Representative    11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
Asurion Warranty Services, Inc.                  648 Grassmere Park                            suite 300                                                          Nashville        TN      37211
Asurion Warranty Services, Inc.                  Attn: Nikki Brown, Principal Representative   11460 Tomahawk Creek                      Creek Pkwy   Suite 300   Leawood          KS      66211
ASWAD RICHARDS RODRIGUEZ /OLGA RODRIGUEADDRESS ON FILE
ASYLUM HILL FAMILY PRACTICE CENTER               99 WOODLAND ST                                                                                                   HARTFORD         CT      06105‐1207
ASZALOS MD , MARIA R                             ADDRESS ON FILE
AT & T MOBILITY PUERTO RICO                      AREA TESORO                                   DIVISION DE RECLAMACIONES                                          SAN JUAN         PR      00902‐4140
AT & T MOBILITY PUERTO RICO                      PO BOX 192830                                                                                                    SAN JUAN         PR      00919‐2830
AT & T MOBILITY PUERTO RICO                      PO BOX 70261                                                                                                     SAN JUAN         PR      00936‐8261
AT & T OF PUERTO RICO, INC                       PO BOX 192830                                                                                                    SAN JUAN         PR      00907‐3329
AT & T SERVICES INC                              ONE AT & T WAY 3C22 OJ                                                                                           BEDMINSTER       NJ      07921
AT & T SERVICES INC                              ONE AT & T WAY RM 29 D‐8                                                                                         ST LOUIS         MO      63101
AT & T SERVICES INC                              ONE AT&T WAY                                  RM 2B228B                                                          BEDMINSTER       NJ      07921
AT MEDIA INC                                     P O BOX 1962                                                                                                     CAROLINA         PR      00984‐1962
AT& T OF PUERTO RICO, INC.                       996 CALLE SAN ROBERTO REPARTO LOYOLA          SUITE 503                                                          RÍO PIEDRAS      PR      00926
AT&T MOBILITY DE P R                             P O BOX 70261                                                                                                    SAN JUAN         PR      00936‐8261
AT&T MOBILITY DE P R                             PO BOX 598143                                                                                                    ORLANDO          FL      32859‐8143
AT&T MOBILITY PUERTO RICO INC                    PO BOX 6463                                                                                                      CAROL STREAM     IL      60197‐6463
AT&T MOBILITY PUERTO RICO, INC.                  P.O. BOX 192830                                                                                                  GUAYNABO         PR      00919‐2830
AT&T MOBILITY PUERTO RICO, INC.                  PO BOX 15067                                                                                                     SAN JUAN         PR      00902‐8567
AT&T MOBILITY PUERTO RICO, INC.                  PO BOX 192830                                                                                                    SAN JUAN         PR      00919‐2830
AT&T MOBILITY PUERTO RICO, INC.                  PO BOX 71514                                                                                                     SAN JUAN         PR      00936‐8614
ATABEX TRANS. SPECIALIST, INC                    PO BOX 195044                                                                                                    SAN JUAN         PR      00919‐5044
ATABEX TRANSLATION SPECIALISTS INC               PO BOX 195044                                                                                                    SAN JUAN         PR      00919
ATABEY YARI LAMELA GANDIA                        ADDRESS ON FILE
Ataca, Igdalia M                                 ADDRESS ON FILE
ATALIA B RAMIREZ TORRES                          ADDRESS ON FILE
ATANACIA CANCEL Y/O PEDRO RIVERA                 ADDRESS ON FILE
ATANACIO ECHEVARIA, JOHN                         ADDRESS ON FILE
Atanacio Falcon, Nancy M                         ADDRESS ON FILE
ATANACIO JIMENEZ, MARIBEL                        ADDRESS ON FILE
ATANACIO JIMENEZ, MARIBEL                        ADDRESS ON FILE
ATANACIO LLERAS, RAUL                            ADDRESS ON FILE
ATANACIO LLERAS, RAUL                            ADDRESS ON FILE
ATANACIO ORTIZ, ISABELITA                        ADDRESS ON FILE
ATANACIO RABELO, MARISOL                         ADDRESS ON FILE
ATANACIO RIVERA, GIOVANNI                        ADDRESS ON FILE
ATANACIO RIVERA, SUSAN                           ADDRESS ON FILE




                                                                                                                           Page 622 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                               Exhibit A-1 - Creditor
                                                                                   Case No.Matrix
                                                                                           17 BK 3283‐LTSPage 623 of 3500
                                                                                                                           Creditor Matrix

Creditor Name                             Address1                                         Address2                                     Address3     Address4   City                State   PostalCode   Country
ATANACIO RUIZ, JOHN                       ADDRESS ON FILE
ATANACIO SEPULVEDA, WILLIAM               ADDRESS ON FILE
ATANACIO SOTO, MARIA                      ADDRESS ON FILE
ATANACIO TORRES, ENID G                   ADDRESS ON FILE
ATANACIO VAZQUEZ SANCHEZ                  ADDRESS ON FILE
ATANACIO VILLANUEVA, JORGE                ADDRESS ON FILE
ATANASIO BILBRAUT, IVELISSE               ADDRESS ON FILE
ATANASIO, EMILIO                          ADDRESS ON FILE
ATANCES GONZALEZ, ZOE                     ADDRESS ON FILE
ATC ENTERPRISES INC                       PMB 313 35 JUAN CARLOS BORBON                    SUITE 67                                                             GUAYNABO            PR      00969‐5375
ATC ENTERPRISES, INC.                     PMB 31335 JC DE BORBON SUITE 67                                                                                       GUAYNABO,           PR      00926‐0000
ATD (ASSOCIATION FOR TALENT DEVELOPMENT) PO BOX 743041                                                                                                          ATLANTA             GA      30374‐3041
ATECA TORRES, LUIS F.                     ADDRESS ON FILE
ATECA, MARIA DE LOS A                     ADDRESS ON FILE
ATECH SOFTWARE                            5964 LA PLACE COURT SUITE 125 CADSBAD                                                                                 CALIFORNIA          CA      920008‐970
ATEISTAS DE PR INC                        MIGUEL A. RODRÍGUEZ‐ROBLES                       100 CALLE RÍO ESPÍRITU SANTO                 APT. 101                BAYAMON             PR      00961
ATELIER 2000                              P O BOX 191051                                                                                                        SAN JUAN            PR      00919‐1051
ATELIER ENGRANAGE, INC                    PO BOX 195335                                                                                                         SAN JUAN            PR      00919‐5335
ATENA ELECTRICAL & INST SERV CORP         PO BOX 693                                                                                                            MANATI              PR      00674
ATENAS COLLEGE INC                        101 PASEO DEL ATENAS                                                                                                  MANATI              PR      00674
ATENAS COLLEGE INC                        PO BOX 365 SUITE 146                                                                                                  MANATI              PR      00674
ATENAS COMMUNITY HEALTH CENTER INC        CENTRO DIAGNOSTICO Y TRATAMIENTO                 DR CESAR ROSA FEBLES                         PO BOX 455              MANATI              PR      00674
ATENAS COMMUNITY HEALTH CENTER INC        PO BOX 455                                                                                                            MANATI              PR      00674
ATENAS ELECTRICAL & INSTRUMENTATION CORP17 CALLE BETANCES                                                                                                       VEGA BAJA           PR      00693
ATENAS ELECTRICAL & INSTRUMENTATION CORPPO BOX 693                                                                                                              MANATI              PR      00674
ATENAS ELECTRICAL & INSTRUMENTATION CORPURB LUCHETTI                                       1 VIRGILIO DEL POZO                                                  MANATI              PR      00674
ATENAS LOCK, KEYS                         CENTRO COMERCIAL CORTES                          114‐4 FELIX DAVILA                                                   MANATI              PR      00674
ATENAS MANATI CHAPTER #5044 OF AMERICA AVE MUNOZ RIVERA                                    654 SUITE 901                                                        SAN JUAN            PR      00918
ATENAS MEMORIAL                           CALLE POLVORIN #3                                                                                                     MANATI              PR      00674
ATENCIO GARCIA, JEREMIAS                  ADDRESS ON FILE
ATENCION ATENCION INC                     PMB 316                                          216 CALLE SIERRA MORENA                                              SAN JUAN            PR      00920‐2534
ATENCION INC                              177 CALLE LAS CAOBAS                                                                                                  SAN JUAN            PR      00927
ATENCION MEDICA EN EL HOGAR INC           PO BOX 5742                                                                                                           CAGUAS              PR      00726
ATENCION MEDICA INMEDIATA SERVICIOS DE SA CALLE TROCHE # 2                                                                                                      CAGUAS              PR      00725
ATENEO PUERTORRIQUENO                     AREA DEL TESORO                                  CONTADURIA GENERAL                                                   SAN JUAN            PR      00902
ATENEO PUERTORRIQUENO                     DEPTO DE EDUCACION                               P O BOX 190759                                                       SAN JUAN            PR      00919
ATENEO PUERTORRIQUENO                     PO BOX 9021180                                                                                                        SAN JUAN            PR      00902‐1180
ATENTO DE PUERTO RICO INC                 PO BOX 70325                                                                                                          SAN JUAN            PR      00936‐8325
ATG CONCRETE INC                          PO BOX 750                                                                                                            CAMUY               PR      00627
ATG CONTRACTORS INC                       PO BOX 750                                                                                                            CAMUY               PR      00627
ATG CREDIT LLC                            P O BOX 14895                                                                                                         CHICAGO             PR      60614‐4895
ATHENA BILINGUAL ACADEMY / ATHENA INC     SANTA JUANITA                                    WC 33 AVE HOSTOS                                                     BAYAMON             PR      00956
ATHENA E PERDOMO                          ADDRESS ON FILE
ATHENAS BLIND                             MANSION DEL SOL 86 PASEO MANANTIAL B‐6                                                                                SABANA SECA         PR      00952
Athene Annuity and Life Company           c/o CT Corporation System, Agent for Service of P7700 Mills Civic Parkway                                             West Des Moines     IA      50266‐3862
ATHERTON IRIZZARY, WILLIAM                ADDRESS ON FILE
ATHOS VEGA DE JESUS                       ADDRESS ON FILE
ATIENZA FERNANDEZ, ANGEL                  ADDRESS ON FILE
ATIENZA FERNANDEZ, ANGEL E.               ADDRESS ON FILE
ATIENZA REYES, ALBERTO                    ADDRESS ON FILE
ATIENZA SERRANO, ANGEL E.                 ADDRESS ON FILE
ATIHKO PRODUCTION                         P O BOX 192827                                                                                                        SAN JUAN            PR      00919‐2837
Atilano Brenes, Carlos                    ADDRESS ON FILE
ATILANO COLON, ELDA D                     ADDRESS ON FILE
ATILANO CORDERO TORRES                    ADDRESS ON FILE
ATILANO FELIX, CAROLINE                   ADDRESS ON FILE
ATILANO FELIX, LUIS MANUEL                ADDRESS ON FILE
Atilano Felix, Luis O                     ADDRESS ON FILE
ATILANO FONTANEZ, LUIS A                  ADDRESS ON FILE
ATILANO GOMEZ, CORALYS                    ADDRESS ON FILE




                                                                                                                          Page 623 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 624 of 3500
                                                                                           Creditor Matrix

Creditor Name                     Address1                    Address2                                  Address3   Address4   City         State   PostalCode   Country
ATILANO GONZALEZ, ALBERTO         ADDRESS ON FILE
ATILANO GONZALEZ, ALFREDO         ADDRESS ON FILE
ATILANO GONZALEZ, ROSA N          ADDRESS ON FILE
ATILANO GUADALUPE, MINERVA        ADDRESS ON FILE
ATILANO GUADALUPE, MINERVA        ADDRESS ON FILE
ATILANO LEON Y LESLIE LOPEZ       ADDRESS ON FILE
ATILANO MEJIAS, ANGELICA M.       ADDRESS ON FILE
ATILANO RAMOS, ANA                ADDRESS ON FILE
ATILANO RAMOS, CARMEN I           ADDRESS ON FILE
ATILES ACEVEDO, LUZ Z             ADDRESS ON FILE
ATILES AGUEDA, JOSE MANUEL        ADDRESS ON FILE
ATILES ARBELO, JUAN R             ADDRESS ON FILE
ATILES ARBELO, VICENTE            ADDRESS ON FILE
ATILES CACERES, RAYMI             ADDRESS ON FILE
ATILES CARRILLO, JOSE             ADDRESS ON FILE
ATILES CASTRO, ALEXANDRA          ADDRESS ON FILE
ATILES COLON, RICARDO             ADDRESS ON FILE
ATILES CRUZ, CHRISTOPHER          ADDRESS ON FILE
Atiles Cruz, Cristopher J.        ADDRESS ON FILE
ATILES CRUZ, LUZ C                ADDRESS ON FILE
ATILES CRUZ, NORELIS              ADDRESS ON FILE
ATILES FELICIANO, ESTEBAN         ADDRESS ON FILE
ATILES GIL DE LA MADRID, ILEANA   ADDRESS ON FILE
ATILES GIL DE LAMADRID, HECTOR    ADDRESS ON FILE
ATILES GONZALEZ, JASMINE          ADDRESS ON FILE
ATILES GONZALEZ, MARICSA          ADDRESS ON FILE
ATILES HERNANDEZ, WILFREDO        ADDRESS ON FILE
ATILES HERNANDEZ, WILFREDO        ADDRESS ON FILE
Atiles Linares, Isidro            ADDRESS ON FILE
ATILES LINARES, MARCELINA         ADDRESS ON FILE
ATILES MORALES, MIGDALIA          ADDRESS ON FILE
ATILES NIEVES, CHRISTIAN          ADDRESS ON FILE
ATILES PEREIRA, JOSE              ADDRESS ON FILE
ATILES PRICE, BRENDA              ADDRESS ON FILE
ATILES RAMOS, MARTA E.            ADDRESS ON FILE
ATILES REYES, AHISAR              ADDRESS ON FILE
ATILES RIOS, OLGA                 ADDRESS ON FILE
ATILES RIVERA, CARMEN             ADDRESS ON FILE
ATILES RIVERA, CARMEN             ADDRESS ON FILE
Atiles Rodriguez, Alexis          ADDRESS ON FILE
ATILES RODRIGUEZ, ANGEL G         ADDRESS ON FILE
ATILES RODRÍGUEZ, ÁNGEL G.        POR DERECHO PROPIO          PO BOX 687                                                      HATILLO      PR      00659
ATILES RODRIGUEZ, MICHELLE        ADDRESS ON FILE
ATILES RODRIGUEZ, RAFAEL          ADDRESS ON FILE
ATILES RODRIGUEZ, RAFAEL A        ADDRESS ON FILE
ATILES ROMAN, CARLOS              ADDRESS ON FILE
ATILES ROSARIO, LUIS              ADDRESS ON FILE
ATILES SOLER, NANCY               ADDRESS ON FILE
ATILES SOLER, NANCY A.            ADDRESS ON FILE
ATILES SOTO, JUAN R               ADDRESS ON FILE
ATILES SOTO, MARITZA DEL C        ADDRESS ON FILE
ATILES SOTO, ROSA H               ADDRESS ON FILE
ATILES SOTO, ROSA H               ADDRESS ON FILE
ATILES VAZQUEZ, WANDA             ADDRESS ON FILE
ATILES VAZQUEZ, WANDA E           ADDRESS ON FILE
ATILES VEGA, FELIPE               ADDRESS ON FILE
ATILES, JOSE                      ADDRESS ON FILE
ATKINS CARIBE LLP                 4030 W BOY SCOUT BLVD 700                                                                   TAMPA        FL      33607
ATKINS CARIBE LLP                 AREA DEL TESORO             DIVISION DE RECLAMACIONES                                       SAN JUAN     PR      00902‐4140
ATKINS, DAVID                     ADDRESS ON FILE




                                                                                          Page 624 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 625 of 3500
                                                                                                                        Creditor Matrix

Creditor Name                            Address1                                        Address2                                    Address3   Address4   City                 State   PostalCode   Country
ATKINSON NUNEZ, ALFREDO                  ADDRESS ON FILE
ATKIR PEREZ RUIZ                         ADDRESS ON FILE
ATLANTE ROSADO COLON / CARMEN A COLON ADDRESS ON FILE
ATLANTIC AGGREGATES                      HC‐01 BOX 7266                                                                                                    HATILLO              PR      00659
ATLANTIC ANESTHESIA INC.                 134BUSINESS PARK DRIVE,VIRGINIA BEACH                                                                             VIRGINIA             VA      23462‐6523
ATLANTIC BILINGUAL SCHOOL INC            BO HATO ARRIBA                                  CARR 125 KM 16 1                                                  SAN SEBASTIAN        PR      00685
ATLANTIC BIOLOGICALS CORP.               20101 NE 16TH PLACE                                                                                               MAIAMI               FL      33179‐0000
ATLANTIC CITY MEDICAL CENTER             PO BOX 61507                                                                                                      KING OF PRUSSIA      PA      19406
ATLANTIC COLLEGE                         CALLE COLTON #9                                                                                                   GUAYNABO             PR      00970
ATLANTIC COLLEGE                         PO BOX 3918                                                                                                       GUAYNABO             PR      00970
ATLANTIC COMMUNICATIONS                  PO BOX 1553                                                                                                       QUEBRADILLAS         PR      00678
ATLANTIC ENGINEERING                     PO BOX 392                                                                                                        BARRANQUITAS         PR      00794
ATLANTIC ENGINEERING GENERAL CONTRACTOR P O BOX 392                                                                                                        BARRANQUITAS         PR      00794
ATLANTIC EXPLOSIVES INC                  PO BOX 800996                                                                                                     COTO LAUREL          PR      00780‐0996
ATLANTIC FIBER CONSTRUCTION              PO BOX 9431                                                                                                       CAROLINA             PR      00988
ATLANTIC HEALTH CARE GROUP               PO BOX 452                                                                                                        SAN SEBASTIAN        PR      00685
ATLANTIC INFORMATION SERVICES            1100 17TH STREET NW 300                                                                                           WASHINGTON DC        WA      20036
ATLANTIC JANITORIAL SUPPLIES             PO BOX 51517                                                                                                      TOA BAJA             PR      00950
ATLANTIC JANITORIAL SUPPLIES INC         PO BOX 51517                                                                                                      TOA BAJA             PR      00950
ATLANTIC LEGAL SERVICES, P S C           157 JOSE RODRIGUEZ IRIZARRY                                                                                       ARECIBO              PR      00612
ATLANTIC MASTER ENTERPRISES, INC.        90 AVE RIO HONDO                                PMB 442                                                           BAYAMON              PR      00961‐3105
ATLANTIC MASTER PARKING SERVICES INC     PMB 442                                         90 AVE RIO HONDO                                                  BAYAMON              PR      00961‐3105
ATLANTIC MEDICAL CENTER‐SRVICIO DE SALUD APARTADO 2045                                                                                                     BARCELONETA          PR      00617‐0000
ATLANTIC MICROSYSTEMS INC                AREA DE TESORO                                  DIVISION DE CONCILIACION                                          SAN JUAN             PR      00902‐4140
ATLANTIC MICROSYSTEMS INC                URB VISTA AZUL                                  R 16 CALLE 19                                                     ARECIBO              PR      00612
ATLANTIC OCEAN VIEW LLC                  PO BOX 140756                                                                                                     ARECIBO              PR      00614
ATLANTIC OFFICE SUPPLY                   URB VISTA AZUL                                  D 2 CALLE MARGINAL                                                ARECIBO              PR      00612
ATLANTIC ORTHOPAEDIC SPECIALISTS         8344 CLAIREMONT MESA BLVD                       SUITE 201                                                         SAN DIEGO            CA      92111
ATLANTIC ORTHOPAEDICS                    288 S MAIN ST                                   SUITE 600                                                         ALPAHRETTA           GA      30009‐7916
ATLANTIC PATHOLOGY INC/EP ENERGY LLC     PMB 59                                          400 CALLE KALAF                                                   SAN JUAN             PR      00918
ATLANTIC PHYSICAL THERAPY                10252 STONE CREEK DR                            STE 1                                                             LAUREL               DE      19956
ATLANTIC PROPERTY CORPORATION            PO BOX 1553                                                                                                       CIDRA                PR      00739
ATLANTIC PROPERTY MANAGEMENT INC         PMB 59                                          400 CALLE KALAF                                                   SAN JUAN             PR      00918
ATLANTIC SOUTH INS CO                    PO BOX 362889                                                                                                     SAN JUAN             PR      00936‐2889
ATLANTIC SOUTH INSURANCE CO.             PO BOX 362889                                                                                                     SAN JUAN             PR      00936‐2889
ATLANTIC SOUTHERN INSURANCE              P.O. BOX 362889                                                                                                   SAN JUAN             PR      00936‐2889
ATLANTIC SOUTHERN INSURANCE COMPANY      1054 MUNOZ RIVERAAVENUE                                                                                           SAN JUAN             PR      00927
ATLANTIC SOUTHERN INSURANCE COMPANY      PO BOX 362889                                                                                                     SAN JUAN             PR      00936‐2889
Atlantic Specialty Insurance Company     Attn: Barry Strombeck, Annual Statement         150 Royal St.                                                     Canton               MA      20211‐030
Atlantic Specialty Insurance Company     Attn: Bernard Gillen, Premiun Tax Contact       150 Royal St.                                                     Canton               MA      20211‐030
Atlantic Specialty Insurance Company     Attn: Kathleen Ricke, Circulation of Risk       150 Royal St.                                                     Canton               MA      20211‐030
Atlantic Specialty Insurance Company     Attn: Susan Holland, Consumer Complaint Contac150 Royal St.                                                       Canton               MA      20211‐030
Atlantic Specialty Insurance Company     Attn: Virginia McCarthy, Vice President         150 Royal St.                                                     Canton               MA      20211‐030
Atlantic Specialty Insurance Company     c/o The Prentice‐Hall Corporation System, Puerto150 Royal St.                                                     Canton               MA      20211‐030
Atlantic Specialty Insurance Company     One Beacon Lane                                                                                                   Canton               MA      02021
ATLANTIC SURGICAL ASSOCIATES             806 SEABURY AVENUE                                                                                                MILDFORD             DE      19963
ATLANTIC WASTE DISPOSAL INC              1206 SANTANA                                                                                                      ARECIBO              PR      00612‐6628
ATLANTICARE HEALTHPLEX                   PO BOX 61507                                                                                                      KING OF PRUSSIA      PA      19406
ATLANTICARE REGIONAL MEDICAL CENTER      PO BOX 61507                                                                                                      KING OF PRUSSIA      PA      19406
ATLANTICO TIME SYSTEMS INC               112 N 8TH STREET                                                                                                  VINELAND             NJ      08360
ATLANTICS POOLS                          PMB 128                                         267 CALLE MORENA                                                  SAN JUAN             PR      00926‐5583
ATLANTICS POOLS                          URB LA CUMBRES                                  497 CALLE E POL SUITE 128                                         SAN JUAN             PR      00926
ATLANTIS DIVING CONTRACTORS INC          PMB 284                                         WESRWEN AUTO PLAZA STE 101                                        TRUJILLO ALTO        PR      00976
ATLANTIS HEALTH CARE GROUP               GUAYNABO MEDICAL MALL                           140 AVE LAS CUMBRES STE 107                                       GUAYNABO             PR      00969
ATLANTIS HEALTH CARE GROUP PR INC        PO BOX 1350                                                                                                       TRUJILLO ALTO        PR      00978
ATLANTIS HEALTHCARE GROUP                PO BOX 1350                                                                                                       SAINT JUST STATION   PR      00978
ATLANTIS HEALTHCARE GROUP INC            THE RENAL CENTER OF MAYAGUEZ                    PO BOX 8123                                                       MAYAGUEZ             PR      00681
ATLANTIS HEALTHCARE RENAL CTR OF PONCE AVE TITO CASTRO 609 STE 102                       PMB 380                                                           PONCE                PR      00716
ATLAS ENERGY INC                         PO BOX 611                                                                                                        MOON TOWNSHIP        PA      15108‐0611
ATLAS INFORMATION GROUP                  1 BANKERS AVENUE                                                                                                  WHITE PLAINS         NY      16601




                                                                                                                       Page 625 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 626 of 3500
                                                                                                             Creditor Matrix

Creditor Name                             Address1                              Address2                                  Address3   Address4   City             State   PostalCode   Country
ATLAS INFORMATION GROUP                   ONE BARKER AVENUE                                                                                     WHITE PLAINS     NY      10601
ATLAS ROOFING CONTRACTORS , INC.          P. O. BOX 1724                                                                                        TOA BAJA         PR      00952`1724
ATLAS TRANSMISSION                        PO BOX 9022501                                                                                        SAN JUAN         PR      00902
ATLETICOS DE LA MONTANA INC               HC 01 BOX 5814                                                                                        OROCOVIS         PR      00720
ATM ACCOUNTING SERVICES & ASSOCIATES, INC PO BOX 131                                                                                            PENUELAS         PR      00624
ATM SALES OR SERVICE                      PO BOX 361843                                                                                         SAN JUAN         PR      00936
ATMAYDA MONTANEZ PADILLA                  ADDRESS ON FILE
ATMOSPHERA FILMS, INC                     405 AVE ESMERALDA STE 2 PMB 177                                                                       GUAYNABO         PR      00969‐4466
ATMOSPHERA FILMS, INC.                    PMB 177 405 AVE ESMERALDA SUITE 102                                                                   GUAYNABO         PR      00969
ATOA ORTIZ, RAFAEL                        ADDRESS ON FILE
ATOA ORTIZ, RICARDO                       ADDRESS ON FILE
ATP HOMES                                 PMB 184‐425 CARR. 693                                                                                 DORADO           PR      00646
ATP HOMES INC                             PMB 184 425 CARRT 693                                                                                 DORADO           PR      00646
ATP HOMES INST.                           PMB 184‐425 CARR. 693                                                                                 DORADO           PR      00646
ATRA ROMERO, AZZIZA                       ADDRESS ON FILE
ATRESINO MARTINEZ, ELSIE                  ADDRESS ON FILE
ATREVETE INC                              PO BOX 6783                                                                                           SAN JUAN         PR      00914‐6783
ATREVETE INC                              RES LUIS LLORENS TORRES               EDF ERNESTO VIGOREAUX 2DO NIVEL                                 SAN JUAN         PR      00913
ATREVIA PUERTO RICO LLC                   701 AVE PONCE DE LEON STE 701                                                                         SAN JUAN         PR      00907
ATRYM M SANTIAGO MARTINEZ                 ADDRESS ON FILE
ATT MOBILITY                              AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                       SAN JUAN         PR      00902‐4140
ATT MOBILITY                              P O BOX 192830                                                                                        SAN JUAN         PR      00919‐2830
ATT MOBILITY                              P O BOX 6463                                                                                          CAROL STREAM     IL      60197‐6463
ATT MOBILITY                              P O BOX 70261                                                                                         SAN JUAN         PR      00936‐8261
ATT MOBILITY                              PO BOX 2840                                                                                           OMAHA            NE      68103‐2840
ATTACHMATE CORPORATION                    3617 131 ST AVE SE BELLEVUE                                                                           WASHINTON        WA      98006
ATTIE TEJADA, EMMANUEL                    ADDRESS ON FILE
ATTIYEH LARROY, ILJAM                     ADDRESS ON FILE
ATTORNEYS TITLE INSURANCE FUND INC        PO BOX 628600                                                                                         ORLANDO          FL      32862‐8600
ATWOOD PEPIN, RICARDO                     ADDRESS ON FILE
ATYA, GAL                                 ADDRESS ON FILE
ATZEL CABRERA NEGRON                      ADDRESS ON FILE
AU                                        PO BOX 70101                                                                                          SAN JUAN         PR      00936
AU AFFORDABLE HOUSING LLC                 URB ALTO APOLO                        2116 CALLE TURQUESA                                             GUAYNABO         PR      00969
AUBAIN MARTINEZ, NANCY                    ADDRESS ON FILE
AUBERT PORTUONDO, ANGELES                 ADDRESS ON FILE
AUBERTO RIVERA VAZQUEZ                    ADDRESS ON FILE
AUBRAY PEREZ, EDGARDO                     ADDRESS ON FILE
Aubret Borrero, Pedro                     ADDRESS ON FILE
AUBRET VALENTIN, LIZMARIE                 ADDRESS ON FILE
AUBRETT LOPEZ, ANGELA                     ADDRESS ON FILE
AUBRETT LOPEZ, JUAN                       ADDRESS ON FILE
AUBREY HOUSER RIVERA                      ADDRESS ON FILE
AUBREY RODRIGUEZ ORTIZ                    ADDRESS ON FILE
AUDALINA PAGAN CEDENO                     ADDRESS ON FILE
AUDAZ ANDUJAR Y EUNICE M RIOS             ADDRESS ON FILE
AUDAZ GONZALEZ, LUZ M.                    ADDRESS ON FILE
AUDAZ QUINONES ORTIZ                      ADDRESS ON FILE
AUDBERTO C ANTONINI GONZALEZ              ADDRESS ON FILE
AUDBERTO C. ANTONINI GONZALEZ             ADDRESS ON FILE
AUDBERTO MALDONADO GONZALEZ               ADDRESS ON FILE
AUDEAN GARCIA LOPEZ                       ADDRESS ON FILE
AUDELI RIVERA QUINONE/AR AGRO SERVICES ADDRESS ON FILE
AUDELINA BERMUDEZ ORTIZ                   ADDRESS ON FILE
AUDELIS VELEZ NIEVES                      ADDRESS ON FILE
AUDELIZ HERNANDEZ ACEVEDO                 ADDRESS ON FILE
AUDELIZ PEREZ VAZQUEZ                     ADDRESS ON FILE
AUDELIZ PEREZ VAZQUEZ                     ADDRESS ON FILE
AUDELIZ RIVERA DIAZ                       ADDRESS ON FILE
Audeliz Rivera Diaz                       ADDRESS ON FILE




                                                                                                            Page 626 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 627 of 3500
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3   Address4   City           State   PostalCode   Country
AUDICION HABLA INC                       90 AVE RIO HONDO PMB 103                                                                                 BAYAMON        PR      00961
AUDIFFRED GONZALEZ,GRELSIE MARIE         ADDRESS ON FILE
AUDIFONOS AUDIO CENTRO INC               PO BOX 11927                                                                                             SAN JUAN       PR      00922‐1927
AUDIFONOS AUDIOCENTRO                    CAPARRA HEIGHTS STA                     PO BOX 11927                                                     SAN JUAN       PR      00922‐1927
AUDIFONOS AUDIOCENTRO                    PO BOX 11927                                                                                             SAN JUAN       PR      00922‐1927
AUDIFONOS AUDIOCENTRO INC.               CALLE ENSENADA 356 CAPARRA HEIGHTS                                                                       SAN JUAN       PR      00920‐0000
AUDILIS SANCHEZ FUENTES                  ADDRESS ON FILE
AUDIMATION SERVICES, INC.                1250 WOOD BRANCH PARK DR                SUITE 480                                                        HOUSTON        TX      77079
AUDIO & VIDEO PRO CARIBE                 HC 1 BOX 8389                                                                                            SAN GERMAN     PR      00683‐9714
AUDIO RESOURCES INC NESTOR SALOMON       PO BOX 52293                                                                                             TOA BAJA       PR      00949‐3601
AUDIO TECHNOLOGY PR                      PO BOX 191030                                                                                            SAN JUAN       PR      00919‐1030
AUDIO VISUAL CONCEPTS INC                106 ISABEL ANDREU AGUILAR                                                                                SAN JUAN       PR      00918‐3305
AUDIO VISUAL CONCEPTS INC                CARRETERA #1 KM 29.4 SECTOR RIO CANAS                                                                    CAGUAS         PR      00725
AUDIO VISUAL CONCEPTS INC                URB LOS MAESTROS                        ANDREU AGUILAR                                                   SAN JUAN       PR      00918
AUDIO VISUAL CONCEPTS INC                URB LOS MAESTROS                        106 CALLE ISABEL ANDREU DE AGUILAR                               SAN JUAN       PR      00918
AUDIO VISUAL CONCEPTS, INC               P.O. BOX 3915                                                                                            GUAYNABO       PR      00970‐3915
AUDIO VISUAL CONSULTANTS                 PO BOX 5999                                                                                              CAGUAS         PR      00726‐5999
AUDIO VISUAL CONSULTANTS & TECHNICAL SERVPO BOX 5999                                                                                              CAGUAS         PR      00726‐5999
AUDIO VISUAL CONSULTANTS & TECHNICAL SVC P.O.BOX 125                                                                                              CAYEY          PR      00727‐0000
AUDIO VISUAL CONSULTANTS TECHNICAL SERV PO BOX 125                                                                                                CAYEY          PR      00737‐0125
AUDIO VISUAL LANGUAGE                    AVE. FERNANDEZ JUNCOS 602               EDIF SEA VIEW OFIC. G‐2 MIRAMAR                                  SAN JUAN       PR      00907
AUDIO VISUAL PARTY CONCEPT               URB BAYAMON HILLSL                      A 4 CALLE 3                                                      BAYAMON        PR      00956
AUDIO VISUAL PRODUCTIONS & SHOW SERVICES P O BOX 52154                                                                                            TOA BAJA       PR      00950
AUDIO VISUAL SERVICE INC                 PMB 427                                 PO BOX 20000                                                     CANOVANAS      PR      00729
AUDIO VISUAL SERVICES GROUP INC          PUERTO RICO CONVENTION CENTER           100 CONVENTION BLV                                               SAN JUAN       PR      00907
AUDIO VISUAL SERVICES GROUP, INC.        1700 EAST GOLF SUITE 400                                                                                 SCHAUMBURG     IL      60173
AUDIO VISUAL SERVICES INC                URB RIO HONDO 4                         DI 4 CALLE PRADOS                                                BAYAMON        PR      00961
AUDIO WORKS, INC.                        210 AVE. CHARDON                                                                                         SAN JUAN       PR      00918
AUDIOLOGOS ASOCIADOS INC                 PO BOX 6325                                                                                              CAGUAS         PR      00726
AUDIOLOGOS ASOCIADOS INC                 VILLA DEL REY 2                         2D27 AVE PINO                                                    CAGUAS         PR      00726
AUDIOLOGY ADVANCED TECNOLOGY CLINIC      WILFREDO RIVERA PABON                   PO BOX 6484                                                      CAGUAS         PR      006484
AUDIOLOGY CLINIC OF PR                   EDIFICIO PARRA SUITE 406                225 PONCE BY PASS                                                PONCE          PR      00731‐7779
AUDIOLOGY CLINIC OF PR                   PO BOX 7031                                                                                              PONCE          PR      00732‐7031
AUDIOLOGY CLINICS OF PR                  ADVANCED HEARING AND BALANCE CENTER     PO BOX 7031                                                      PONCE          PR      00732
AUDIOSALUD                               AVE FRAGOSO ESQ VIA 56                  VILLA FONTANA                                                    CAROLINA       PR      00983
AUDIOSALUD                               P O BOX 94                                                                                               CAROLINA       PR      00986
AUDIOVISUAL PRODUCTION AND SHOW SERVICE PO BOX 52154                                                                                              TOA BAJA       PR      00950
AUDIT SERVICE INC                        2123 EASTERN PARKWAY                                                                                     CONYERS        GA      30013
AUDIT SERVICES US LLC                    212 W 35TH ST 16TH FLOOR                                                                                 NEW YORK       NY      10001
AUDITNET LLC                             2631 OAKTON GLEN DRIVE                                                                                   VIENNA         VA      22181
AUDREY MURIEL RAMOS                      ADDRESS ON FILE
AUDREY PAGAN MARTINEZ                    ADDRESS ON FILE
AUDREY Y VIGO CASTRO                     ADDRESS ON FILE
AUDRY B ORTIZ VARGAS                     ADDRESS ON FILE
AUDT PARA EL DESARROLLO DE SENTENCIA JAC D 207 EDIF VICK CENTER                  867 MUNOZ RIVERA AVENUE                                          SAN JUAN       PR      00925‐2128
AUDUBON SOCIETY OF N.Y. INC              46 RARICK ROAD                                                                                           SELKIRK        NY      12158
AUERBACH PUBLICATIONS                    200 CORPORATE BLVD NW                                                                                    BOCA RATON     FL      33431‐9868
AUFFANT DIANA, JOSE                      ADDRESS ON FILE
AUFFANT MATOS, GLADYS                    ADDRESS ON FILE
AUFFANT NAVARRO, WILLIAM                 ADDRESS ON FILE
AUFFANT PAGAN, MARINES M                 ADDRESS ON FILE
AUFFANT ROBLES, JUAN M.                  ADDRESS ON FILE
AUFFANT ROSARIO, MYRNA                   ADDRESS ON FILE
AUGER MARCHAND, JOSE MANUEL              ADDRESS ON FILE
AUGER PINZON, CHRISTINE                  ADDRESS ON FILE
AUGUST CASTRO ROMERO                     ADDRESS ON FILE
AUGUST HANSON, KEITH                     ADDRESS ON FILE
AUGUST SANTIAGO, SUSANNA                 ADDRESS ON FILE
AUGUSTA ORTHOPEDIC SPORTS MEDICINE SPECIAPO BOX 14039                                                                                             AUGUSTA        GA      30919‐0039
AUGUSTA PENALOZA ROSARIO                 ADDRESS ON FILE




                                                                                                              Page 627 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 628 of 3500
                                                                                                    Creditor Matrix

Creditor Name                             Address1                         Address2                              Address3   Address4   City         State   PostalCode   Country
AUGUSTINE A ROMAN GONZALEZ                ADDRESS ON FILE
AUGUSTINE MERCADO, MICHELLE               ADDRESS ON FILE
AUGUSTO ALONSO, MARIA T.                  ADDRESS ON FILE
AUGUSTO C GARCIA                          ADDRESS ON FILE
AUGUSTO C TEJADA MARTINEZ                 ADDRESS ON FILE
AUGUSTO E GARCIA SALICRUP                 ADDRESS ON FILE
AUGUSTO ELIAS VIERA                       ADDRESS ON FILE
AUGUSTO F GANDIA OJEDA                    ADDRESS ON FILE
AUGUSTO FIGUEROA, JESSICA                 ADDRESS ON FILE
AUGUSTO G CRESPO PENA                     ADDRESS ON FILE
AUGUSTO GIGANTE RUIZ                      ADDRESS ON FILE
AUGUSTO GONZALEZ / HNC LA TIJERA UNISEX   9 MUNOZ RIVERA ESTE                                                                          MAYAGUEZ     PR      00680
AUGUSTO GUTIERREZ MALAVE                  ADDRESS ON FILE
AUGUSTO HERNANDEZ                         ADDRESS ON FILE
AUGUSTO HERNANDEZ MUNIZ                   ADDRESS ON FILE
AUGUSTO LOPEZ                             ADDRESS ON FILE
AUGUSTO LOPEZ VEGA                        ADDRESS ON FILE
AUGUSTO LORIA FINETTO                     ADDRESS ON FILE
AUGUSTO LORIA FINETTO                     LCDO. ARTURO O. RIOS ESCRIBANO   PO BOX 29247                                                SAN JUAN     PR      00929
AUGUSTO MARIN VAZQUEZ                     ADDRESS ON FILE
AUGUSTO MARQUEZ ORTIZ                     ADDRESS ON FILE
AUGUSTO NOVAS ARAUJO                      ADDRESS ON FILE
AUGUSTO PADILLA VELAZQUEZ                 ADDRESS ON FILE
AUGUSTO PENSON / PAULUS                   ADDRESS ON FILE
AUGUSTO RAMOS MORALES                     ADDRESS ON FILE
AUGUSTO RIVERA VAZQUEZ                    ADDRESS ON FILE
AUGUSTO ROBLES QUINONES                   ADDRESS ON FILE
AUGUSTO RODRIGUEZ ESCUDERO MD, JOSE       ADDRESS ON FILE
AUGUSTO RODRIGUEZ SANTIAGO                ADDRESS ON FILE
AUGUSTO ROMAN, LUIS F.                    ADDRESS ON FILE
AUGUSTO ROMAN, MIGUEL                     ADDRESS ON FILE
AUGUSTO VELAZQUEZ VALLE                   ADDRESS ON FILE
AUGUSTO VELEZ, WILFREDO                   ADDRESS ON FILE
AUGUSTOS CUISINE CORP                     COUNTYARD BY MARRIOT             801 PONCE DE LEON AVE                                       SAN JUAN     PR      00907
AULA CORP                                 458 CALLE JOSE A CANALS          SUITE 41                                                    SAN JUAN     PR      00918
AULA CORP                                 P O BOX 195037                                                                               SAN JUAN     PR      00919
AULEM LATORRE VAZQUEZ                     ADDRESS ON FILE
AULET ALICEA, LIZBETH                     ADDRESS ON FILE
AULET ALVARADO, JANET L                   ADDRESS ON FILE
AULET BERRIOS, LILLIAM                    ADDRESS ON FILE
AULET BERRIOS, MARTIN                     ADDRESS ON FILE
AULET BERRIOS, MARTIN                     ADDRESS ON FILE
AULET COLON, CAROLINE                     ADDRESS ON FILE
AULET CONCEPCION, JOSE                    ADDRESS ON FILE
AULET CRUZ, MIGLYAM                       ADDRESS ON FILE
AULET LOPEZ, ARIEL                        ADDRESS ON FILE
AULET MAISONET, BRENDA                    ADDRESS ON FILE
AULET MALDONADO, OLVIN                    ADDRESS ON FILE
Aulet Maldonado, Olvin Luis               ADDRESS ON FILE
AULET MARTINEZ, CARMEN                    ADDRESS ON FILE
AULET MIRANDA, LEYDA J.                   ADDRESS ON FILE
AULET MORALES, ALEXANDRA                  ADDRESS ON FILE
Aulet Morell, Nancy L                     ADDRESS ON FILE
AULET NATAL, EILLEEN I                    ADDRESS ON FILE
AULET PABON, FRANCISCO                    ADDRESS ON FILE
AULET PADILLA, LUIS A                     ADDRESS ON FILE
AULET PADILLA, MARICELIS                  ADDRESS ON FILE
AULET PADILLA, SARITZA                    ADDRESS ON FILE
AULET RENTAS, NATHANAEL                   ADDRESS ON FILE
AULET RIVERA, JULIO E.                    ADDRESS ON FILE




                                                                                                   Page 628 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 629 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AULET RIVERA, KASSEY                 ADDRESS ON FILE
AULET RIVERA, NILDA                  ADDRESS ON FILE
AULET RIVERA, RAMON                  ADDRESS ON FILE
AULET RIVERA, RIGOBERTO              ADDRESS ON FILE
AULET RODRIGUEZ, ALBERTO L           ADDRESS ON FILE
AULET RODRIGUEZ, CHRISTOPHER         ADDRESS ON FILE
AULET ROSA, JAN                      ADDRESS ON FILE
AULET ROSADO, WILLIAM                ADDRESS ON FILE
AULET SEDA, LUIS                     ADDRESS ON FILE
AULET SEMPRIT, ENID Y                ADDRESS ON FILE
AULET TORRES, DALMA                  ADDRESS ON FILE
AULET TORRES, NEREIDA                ADDRESS ON FILE
AULET VICENS, CRISTINA               ADDRESS ON FILE
Auli Nieves, Jose                    ADDRESS ON FILE
AULI PARRILLA, SASHA                 ADDRESS ON FILE
AULI PARRILLA, SASHA                 ADDRESS ON FILE
AUMAR, CSP                           P.O. BOX 1194                                                                    GUAYAMA      PR      00784
AUOLI CATEGORIA MAYOR TOA BAJA INC   PO BOX 51918                                                                     TOA BAJA     PR      00950‐1918
AURA A BERDECIA TEJADA               ADDRESS ON FILE
AURA A TEJADA ESTEVEZ                ADDRESS ON FILE
AURA BROIDA FONTANEZ                 ADDRESS ON FILE
AURA CORDERO VENDRELL Y ELBA ROSA    ADDRESS ON FILE
AURA E PIZARRO PEQUENO               ADDRESS ON FILE
AURA E RIVERA Y ANGELITA MONTOYO     ADDRESS ON FILE
AURA I ROSA VAZQUEZ                  ADDRESS ON FILE
AURA I. ALVARADO CORDERO             ADDRESS ON FILE
AURA L COLON SOLA                    ADDRESS ON FILE
AURA L GONZALEZ RIOS                 ADDRESS ON FILE
AURA L TORRES TORRES                 ADDRESS ON FILE
AURA L TORRES TORRES                 ADDRESS ON FILE
AURA L. PINEIRO ROMAN                ADDRESS ON FILE
AURA M HERNANDEZ Y HECTOR F VARGAS   ADDRESS ON FILE
AURA M LOFFICIAL CABRERA             ADDRESS ON FILE
AURA MONTES RODRIGUEZ                ADDRESS ON FILE
AURA MORA MARTINEZ                   ADDRESS ON FILE
AURA N MIRO PEREZ                    ADDRESS ON FILE
AURA N RODRIGUEZ ALMESTICA           ADDRESS ON FILE
AURA NIVIA CESAR ALMANZA             ADDRESS ON FILE
AURA PEREZ                           ADDRESS ON FILE
AURA VAZQUEZ SANCHEZ                 ADDRESS ON FILE
AURA Z PULIDO MARQUEZ                ADDRESS ON FILE
AURALINA TOLEDO SANCHEZ              ADDRESS ON FILE
AURANA, CORP                         PO BOX 359                                                                       DORADO       PR      00646
AUREA ABRAMS DUENO                   ADDRESS ON FILE
AUREA AGOSTO HEREDIA                 ADDRESS ON FILE
AUREA ALICEA                         ADDRESS ON FILE
AUREA AUSEA                          ADDRESS ON FILE
AUREA B LUGO URRUTIA                 ADDRESS ON FILE
AUREA BATISTA MANZANET               ADDRESS ON FILE
AUREA BONILLA QUINONES               ADDRESS ON FILE
AUREA BORGOS GONZALEZ                ADDRESS ON FILE
AUREA BULA NEGRON                    ADDRESS ON FILE
AUREA BULA NEGRON                    ADDRESS ON FILE
AUREA CARABALLO RODRIGUEZ            ADDRESS ON FILE
AUREA CASTILLO PEREA                 ADDRESS ON FILE
AUREA CINTRON                        ADDRESS ON FILE
AUREA COLON COLON                    ADDRESS ON FILE
AUREA CRESPO VALENTIN                ADDRESS ON FILE
AUREA DELGADO MIRANDA                ADDRESS ON FILE
AUREA E ACEVEDO                      ADDRESS ON FILE




                                                                                 Page 629 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 630 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
AUREA E COLON GARCIA                    ADDRESS ON FILE
AUREA E COLON SANTANA                   ADDRESS ON FILE
AUREA E COUVERTIER SALABARRIA           ADDRESS ON FILE
AUREA E DE JESUS ROSADO                 ADDRESS ON FILE
AUREA E DENIZARD PEREZ                  ADDRESS ON FILE
AUREA E GARCIA QUINONES                 ADDRESS ON FILE
AUREA E GONZALEZ CORDERO                ADDRESS ON FILE
AUREA E GUZMAN MEDINA                   ADDRESS ON FILE
AUREA E HERNANDEZ RIVERA                ADDRESS ON FILE
AUREA E LOPEZ CUEVAS                    ADDRESS ON FILE
AUREA E LUGO ORTIZ                      ADDRESS ON FILE
AUREA E MEAUX RIVERA                    ADDRESS ON FILE
AUREA E ORTOLAZA BURGOS                 ADDRESS ON FILE
AUREA E PEDRAZA RIVERA                  ADDRESS ON FILE
AUREA E PEREZ PENA                      ADDRESS ON FILE
AUREA E PEREZ PENA                      ADDRESS ON FILE
AUREA E QUINONES LUGO                   ADDRESS ON FILE
AUREA E RIVERA MELENDEZ                 ADDRESS ON FILE
AUREA E ROSARIO RAMOS                   ADDRESS ON FILE
AUREA E TORRES PONCE                    ADDRESS ON FILE
AUREA E VAZQUEZ FUENTES                 ADDRESS ON FILE
AUREA E. CALCANO RIVERA                 ADDRESS ON FILE
AUREA E. GONZALEZ GUIVAS                ADDRESS ON FILE
AUREA E. RODRIGUEZ MELENDEZ             ADDRESS ON FILE
AUREA E. SANTIAGO TORRES                ADDRESS ON FILE
AUREA E. SANTIAGO TORRES                ADDRESS ON FILE
AUREA E. VAZQUEZ                        ADDRESS ON FILE
AUREA E.SANTIAGO VARGAS                 ADDRESS ON FILE
AUREA ESTHER MALDONADO                  ADDRESS ON FILE
AUREA ESTHER MIRANDA                    ADDRESS ON FILE
AUREA F VEGA VAZQUEZ                    ADDRESS ON FILE
AUREA FLORES SANTANA                    ADDRESS ON FILE
AUREA FUENTES QUINONES                  ADDRESS ON FILE
AUREA GARCIA FIGUEROA                   ADDRESS ON FILE
AUREA GARCIA VEGA                       ADDRESS ON FILE
AUREA GONZALEZ / MARITZA CASTILLO       ADDRESS ON FILE
AUREA GONZALEZ CRUZ                     ADDRESS ON FILE
AUREA GONZALEZ QUINONES                 ADDRESS ON FILE
AUREA HERNANDEZ CRUZ                    ADDRESS ON FILE
AUREA HERNANDEZ LOPEZ & ENRIQUE ALCARAZ ADDRESS ON FILE
AUREA HERNANDEZ ORTIZ                   ADDRESS ON FILE
AUREA I AGUINO GARCIA                   ADDRESS ON FILE
AUREA I HERNANDEZ                       ADDRESS ON FILE
AUREA I SANTIAGO CABRERA                ADDRESS ON FILE
AUREA JIMENEZ CARTAGENA                 ADDRESS ON FILE
AUREA L GONZALEZ Y/O ORLANDO RODRIGUEZ ADDRESS ON FILE
AUREA L IRIZARRY RAMOS                  ADDRESS ON FILE
AUREA L. QUILES PIZARRO                 ADDRESS ON FILE
AUREA LIZZETTE GARCIA TORRES            ADDRESS ON FILE
AUREA LYDIA GELPI MELENDEZ              ADDRESS ON FILE
AUREA M MALDONADO                       ADDRESS ON FILE
AUREA M MARTINEZ PAGAN                  ADDRESS ON FILE
AUREA M PENA GARCIA                     ADDRESS ON FILE
AUREA M REYES RODRIGUEZ                 ADDRESS ON FILE
AUREA M RODRIGUEZ LOPEZ                 ADDRESS ON FILE
AUREA M RODRÍGUEZ RAMOS                 ADDRESS ON FILE
AUREA M VEGA PEREZ                      ADDRESS ON FILE
AUREA M. VEGA PEREZ                     ADDRESS ON FILE
AUREA MARCANO RAMOS                     ADDRESS ON FILE
AUREA MARRERO MORALES                   ADDRESS ON FILE




                                                                                     Page 630 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 631 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AUREA MAS SANTONI                  ADDRESS ON FILE
AUREA MELENDEZ SANTIAGO            ADDRESS ON FILE
AUREA MORALES MARQUEZ              ADDRESS ON FILE
AUREA MUNIZ ORTIZ                  ADDRESS ON FILE
AUREA NIEVES CRUZ                  ADDRESS ON FILE
AUREA ORTIZ PABON                  ADDRESS ON FILE
AUREA P ARROYO REYES               ADDRESS ON FILE
AUREA P NIEVES RIVERA              ADDRESS ON FILE
AUREA PALAU TORRES                 ADDRESS ON FILE
AUREA PENA JOURMET                 ADDRESS ON FILE
AUREA PEREZ MATOS                  ADDRESS ON FILE
AUREA REBECCA ALEMANY ALVAREZ      ADDRESS ON FILE
AUREA RIVERA COLON                 ADDRESS ON FILE
AUREA RIVERA LOPEZ                 ADDRESS ON FILE
AUREA RIVERA RAMOS                 ADDRESS ON FILE
AUREA RODRIGUEZ TRINIDAD           ADDRESS ON FILE
AUREA SOTO SANTIAGO                ADDRESS ON FILE
AUREA T CAMACHO CANCIO             ADDRESS ON FILE
AUREA TOLEDO VELEZ                 ADDRESS ON FILE
AUREA V RIVERA RIVERA              ADDRESS ON FILE
AUREA VALENTIN TORRES              ADDRESS ON FILE
AUREA VAZQUEZ SANTIAGO             ADDRESS ON FILE
AUREA VELEZ                        ADDRESS ON FILE
AUREA Y RIVERA ALVARADO            ADDRESS ON FILE
AUREALIZ ROSARIO ORTIZ             ADDRESS ON FILE
AUREALIZ SOTO MORALES              ADDRESS ON FILE
AURELI ROMAN RODRIGUEZ             ADDRESS ON FILE
AURELIA ALVARADO NUNEZ             ADDRESS ON FILE
AURELIA ALVARADO SANTIAGO          ADDRESS ON FILE
AURELIA CASIANO RIVERA             ADDRESS ON FILE
AURELIA ERAZO GUZMAN               ADDRESS ON FILE
AURELIA FLORES LOZADA              ADDRESS ON FILE
AURELIA GONZALEZ ORTIZ             ADDRESS ON FILE
AURELIA GONZALEZ ORTIZ             ADDRESS ON FILE
AURELIA MALDONADO ZUNIGA           ADDRESS ON FILE
AURELIN ROSARIO MELENDEZ           ADDRESS ON FILE
AURELINA CEDENO VAZQUEZ            ADDRESS ON FILE
AURELIO AQUINO VARGAS              ADDRESS ON FILE
AURELIO ARCE MORENO                ADDRESS ON FILE
AURELIO BALAGUER SANTIAGO          ADDRESS ON FILE
AURELIO BONILLA VARELA             ADDRESS ON FILE
AURELIO CALDERON CASANOVA          ADDRESS ON FILE
AURELIO CRUZ CORDERO               ADDRESS ON FILE
AURELIO CRUZ Y DEISY CASTELLANOS   ADDRESS ON FILE
AURELIO DE JESUS CRUZ VELEZ        ADDRESS ON FILE
AURELIO F OTERO BRULL              ADDRESS ON FILE
AURELIO FERRER ROSARIO             ADDRESS ON FILE
AURELIO JIMENEZ ROMAN              ADDRESS ON FILE
AURELIO LOZADA SANCHEZ             ADDRESS ON FILE
AURELIO MORALES ORTIZ              ADDRESS ON FILE
AURELIO ORTIZ LUGO                 ADDRESS ON FILE
AURELIO PERALTA DELGADO            ADDRESS ON FILE
AURELIO PORTALATIN MAYSONET        ADDRESS ON FILE
AURELIO RIOS RODRIGUEZ             ADDRESS ON FILE
AURELIO RIVERA LEON                ADDRESS ON FILE
AURELIO RIVERA LEON                ADDRESS ON FILE
AURELIO RODRIGUEZ LUGO             ADDRESS ON FILE
AURELIO RODRIGUEZ RODRIGUEZ        ADDRESS ON FILE
AURELIO ROLON ORTIZ                ADDRESS ON FILE
AURELIO ROMAN CARMONA              ADDRESS ON FILE




                                                                               Page 631 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 632 of 3500
                                                                                             Creditor Matrix

Creditor Name                          Address1                         Address2                          Address3   Address4   City          State   PostalCode   Country
AURELIO ROSADO DE JESUS                ADDRESS ON FILE
AURELIO RUIZ LUCIANO                   ADDRESS ON FILE
AURELIO RUIZ LUCIANO                   ADDRESS ON FILE
AURELIO RUIZ LUCIANO                   ADDRESS ON FILE
Aurelio Salgado                        ADDRESS ON FILE
AURELIO SANTIAGO TORRES                ADDRESS ON FILE
AURELIO SOLIS SANCHEZ                  ADDRESS ON FILE
AURELIO TORRES AYALA                   ADDRESS ON FILE
AURELIO TORRES PONSA                   ADDRESS ON FILE
AURELIO VAZQUEZ BAEZ                   ADDRESS ON FILE
AURELIO VAZQUEZ BAEZ                   ADDRESS ON FILE
AURELIO VEGA GONZALEZ                  ADDRESS ON FILE
AURELIS AMARO COLLAZO                  ADDRESS ON FILE
AURELIS APONTE CARRASQUILLO            ADDRESS ON FILE
AURELIS M ACOSTA RIVERA                ADDRESS ON FILE
AURELY ZAYAS ORTIZ                     ADDRESS ON FILE
AUREO NIEVES PEREZ                     ADDRESS ON FILE
AUREO SOTO BADILLO                     ADDRESS ON FILE
AURIAN LAMBERTY RODRIGUEZ              ADDRESS ON FILE
AURICELLI TORRES RIVERA                ADDRESS ON FILE
AURIE D ROQUE RODRIGUEZ                ADDRESS ON FILE
AURIELEE DIAZ CONDE                    ADDRESS ON FILE
AURIMAR AYALA LOPEZ                    ADDRESS ON FILE
AURIMAR DIAZ ORTIZ                     ADDRESS ON FILE
AURIMAR TORRES SANTIAGO                ADDRESS ON FILE
Aurimir Arocho ‐ Torres Law Offices    PO BOX 192281                                                                            SAN JUAN      PR      00919‐2281
AURIO J SANCHEZ OCASIO                 ADDRESS ON FILE
AURISTELA DIAZ ESTATE                  PO BOX 191732                                                                            SAN JUAN      PR      00919‐1732
AUROFA TIRE CENTER                     UBR LOMAS VERDES                 Z‐37 CALLE LAUREL                                       BAYAMON       PR      00956‐3244
AUROFA TIRE CENTER                     URB LOMAS VERDES                                                                         BAYAMON       PR      00956‐3244
AUROFA TIRE CENTER                     URB LOMAS VERDES                 Z 37 AVE LAUREL                                         BAYAMON       PR      00956‐0000
AUROFA TIRE CENTER CORP                LOMAS VERDES                     Z 37 AVE LAUREL                                         BAYAMON       PR      00956‐3244
AUROFA TIRE CENTER CORP                UBR LOMAS VERDES                 Z‐37 AVE LAUREL                                         BAYAMON       PR      00956‐3244
AUROFA TIRE CENTER CORP.               Z‐37 AVE. LAUREL, LOMAS VERDES                                                           BAYAMON       PR      00956
AUROFA TIRE CENTER, CORP.              URB. LOMAS VERDES                Z‐37 AVE LAUREL                                         BAYAMON       PR      00956‐3244
AURORA A CABAN MALDONADO               ADDRESS ON FILE
AURORA ALCANTARA PARA JEAN CARLO SANCHEADDRESS ON FILE
AURORA CABAN MALDONADO                 ADDRESS ON FILE
AURORA CARMONA MEZQUIDA                ADDRESS ON FILE
AURORA CASTRO VELEZ                    ADDRESS ON FILE
AURORA COMUNICACION INTEGRAL, INC      URB. LUNA LLENA                  22 CAMINO DEL RIO                                       SAN JUAN      PR      00926‐8232
AURORA CRESPO DE RUIZ                  ADDRESS ON FILE
AURORA DIAZ LOPEZ                      ADDRESS ON FILE
AURORA HEALTH CARE                     PO BOX 19072                                                                             GREEN BAY     WI      54307‐9072
AURORA HEALTH CARE CENTER              6901 W EDGERTON AVE                                                                      MILWAKEE      WI      53220
AURORA HEALTH CENTER                   8344 CLAIREMONT MESA BLVD        SUITE 201                                               SAN DIEGO     CA      92111
AURORA HERNANDEZ Y/O NIVIA A FERNANDEZ ADDRESS ON FILE
AURORA I MARTIN ARGUELLES              ADDRESS ON FILE
AURORA J ORTEGA PAGAN                  ADDRESS ON FILE
AURORA M BARRETO RODRIGUEZ             ADDRESS ON FILE
AURORA MED GRP VASCULAR CENTER         PO BOX 19072                                                                             GREEN BAY     WI      54307‐9072
AURORA MEDICAL GROUO                   PO BOX 341457                                                                            MILWAEKEE     PR      53234
AURORA MEDICAL GROUP                   PO BOX 341457                                                                            MILWAUKEE     WI      53234
AURORA MELENDEZ COLLAZO/NEW ENERGY     CONSULTANTS                      PO BOX 591                                              GURABO        PR      00778‐0591
AURORA MELENDEZ RODRIGUEZ              ADDRESS ON FILE
AURORA MELENDEZ TREVINO                ADDRESS ON FILE
AURORA MONTALVO DIAZ                   ADDRESS ON FILE
AURORA MONTALVO DIAZ                   ADDRESS ON FILE
AURORA ORENGO MERCADO                  ADDRESS ON FILE
AURORA RIVERA COLLAZO                  ADDRESS ON FILE




                                                                                            Page 632 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 633 of 3500
                                                                                                           Creditor Matrix

Creditor Name                              Address1                          Address2                                   Address3      Address4   City             State   PostalCode   Country
AURORA RODRIGUEZ PEREZ                     ADDRESS ON FILE
AURORA RODRIGUEZ ROLDAN                    ADDRESS ON FILE
AURORA RODRIGUEZ VELEZ                     ADDRESS ON FILE
AURORA ROMAN MARTINEZ                      ADDRESS ON FILE
AURORA SANTIAGO ORTIZ                      ADDRESS ON FILE
AURORA ST LUKES MED CNTR                   2900 W OKLAHOMA AVE                                                                                   MILWAUKEE        WI      53215‐4330
AURORA ST. LUKES MED CNTR                  2900 W OKLAHOMA AVE.                                                                                  MILKWAUKEE       WI      53215‐4330
AURORA TORRES ROSARIO                      ADDRESS ON FILE
AURORA V CUEVAS ACEVEDO                    ADDRESS ON FILE
AURORA VALLE RIVERA                        ADDRESS ON FILE
AURORA VAZQUEZ /LENNYN S RAMOS             ADDRESS ON FILE
AURORA VEGA ROLDAN                         ADDRESS ON FILE
AURORA WALKERS POINT COMMUNITY CLINIC 925 NORTH POINT PKWY STE 350                                                                               ALPHARETTA       GA      30005‐5214
AURORA YOLANDA BAEZ RODRIGUEZ              ADDRESS ON FILE
AURY I TRINIDAD ENCARNACION                ADDRESS ON FILE
AURY OSORIO                                OSVALDO BURGOS PEREZ              PO BOX 194211                                                       SAN JUAN         PR      00919‐4211
AURYMAR SANCHEZ ROSA                       ADDRESS ON FILE
AURYMAR SANCHEZ ROSA                       ADDRESS ON FILE
AURYS M RODRIGUEZ VEGA D/B/A AG SUPPLIES PO BOX 265                                                                                              JUANA DIAZ       PR      00795
AUSBERTO ACEVEDO LOPEZ                     ADDRESS ON FILE
AUSBERTO FLORES FIGUEROA                   ADDRESS ON FILE
AUSBERTO GUERRERO RODRIGUEZ                ADDRESS ON FILE
AUSBERTO MARRERO ORTEGA                    ADDRESS ON FILE
AUSBERTO NIEVES ALBINO                     ADDRESS ON FILE
AUSBERTO QUESADA MILLER                    ADDRESS ON FILE
AUSPICIA DRAMATURGIA NACIONAL: ADNR INC. PMB 215 SUITE 216                   B 5 CALLE TABONUCO                                                  GUAYNABO         PR      00968‐3029
AUSTIN M RODRIGUEZ GUZMAN                  ADDRESS ON FILE
AUSTRALIA MENDOZA SOSA                     ADDRESS ON FILE
AUSUA PAGAN, ANDRES                        ADDRESS ON FILE
AUSUA PAGAN, MIGUEL                        ADDRESS ON FILE
AUSUA QUINONES, NEREIDA                    ADDRESS ON FILE
Ausua Roman, Julio A.                      ADDRESS ON FILE
AUSUA SANTIAGO, NORMA I                    ADDRESS ON FILE
AUSUA,ANDRES                               ADDRESS ON FILE
AUT                                        PO BOX364267                                                                                          SAN JUAN         PR      00936‐4267
AUT DE LOS PUERTOS DE PR                   AREA DEL TESORO                   CONTADURIA GENERAL                                                  SAN JUAN         PR      00902
AUT DE LOS PUERTOS DE PR                   G.P.O. 2829                                                                                           SAN JUAN         PR      00936
AUT DE LOS PUERTOS DE PR                   PO BOX 362829                                                                                         SAN JUAN         PR      00936
AUT ENERGIA ELECTRICA                      AREA DEL TESORO                   CONTADURIA GENERAL                                                  SAN JUAN         PR      00902
AUT ENERGIA ELECTRICA                      AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                           SAN JUAN         PR      00902‐4140
AUT ENERGIA ELECTRICA                      DPTO CUENTAS DE GOBIERNO          P O BOX 364267                                                      SAN JUAN         PR      00936‐4267
AUT ENERGIA ELECTRICA                      P O BOX 363508                                                                                        SAN JUAN         PR      00936‐3508
AUT ENERGIA ELECTRICA                      P.O. BOX 70253                                                                                        SAN JUAN         PR      00936
AUT ENERGIA ELECTRICA                      PO BOX 42657                                                                                          SAN JUAN         PR      00936‐0000
AUT ENERGIA ELECTRICA                      PO BOX364267                                                                                          SAN JUAN         PR      00936‐4267
AUT PARA EL FINANCIAMIENTO DE LA INFRA     PO BOX 41207                      MINILLAS STATION                                                    SAN JUAN         PR      00940‐1207
AUT PARA EL REDESARROLLO ROOSEVELT ROADSEDIFICIO FOMENTO INDUSTRIAL          #355 AVE FD ROOSEVELT                      OFICINA 106              SAN JUAN         PR      00918
AUT PARA FINANCIAMIENTO DE LA VIVIENDA     PO BOX 71361                                                                                          SAN JUAN         PR      00936‐8461
AUT PARA FINANCIAMIENTO INFRAESTRUCTURA CAPITAL CENTER TORRE NORTE PISO 16   235 AVE ARTERIAL HOSTOS SUITE 1601                                  SAN JUAN         PR      00918‐4433
AUT PARA FINANCIAMIENTO INFRAESTRUCTURA PO BOX 41207                         MINILLAS STATION                                                    SAN JUAN         PR      00940
AUT PARA LAS ALIANZAS PUBLICO PRIVADAS     EDIF WORLD PLAZA                  268 AVE MUNOZ RIVERA                                                SAN JUAN         PR      00918
AUT REDESARROLLO ROOSEVELT ROADS           355 FD ROOSEVELT AVE STE 106                                                                          SAN JUAN         PR      00918
AUT REDESARROLLO ROOSEVELT ROADS           AREA DEL TESORO                   CONTADURIA GENERAL                                                  SAN JUAN         PR      00902
AUT REDESARROLLO ROOSEVELT ROADS           NEW SAN JUAN BUILDING             159 AVENIDA CHARDON 2DO PISO                                        SAN JUAN         PR      00918
AUT. PARA EL FINANCIAMIENTO DE LA INFRAEST LCDO. EFRÉN A. ROTGER SÁNCHEZ     350 CARRETERA 844 APARTAMENTO 2004                                  SAN JUAN         PR      00926
AUTO AIR OF P R INC                        1014 AVE JESUS T PIðERO                                                                               SAN JUAN         PR      00921‐1819
AUTO AIR OF P R INC                        1014 AVE JESUS T PINERO                                                                               SAN JUAN         PR      00921‐1819
AUTO AIR OF P R INC                        759 AVE MUðOZ RIVERA                                                                                  SAN JUAN         PR      00925
AUTO AIR OF P R INC                        759 AVE MUNOZ RIVERA                                                                                  SAN JUAN         PR      00925
AUTO AIR PARTS                             AVE. JESUS T. PINERO                                                                                  PUERTO NUEVO     PR      00921




                                                                                                          Page 633 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 634 of 3500
                                                                                                            Creditor Matrix

Creditor Name                           Address1                             Address2                                    Address3   Address4   City              State   PostalCode   Country
AUTO AIR PARTS OF PR INC                1014 AVE JESUS T PINERO                                                                                SAN JUAN          PR      00921
AUTO CARS IMPORT                        PO BOX 420                                                                                             VEGA ALTA         PR      00692
AUTO CENTRO SERVICIO                    JARDINES DE PLAN BONITO              CALLE LIRIOS 112                                                  CABO ROJO         PR      00623
AUTO CENTRO TOYOTA                      AVE 1090 MUNOZ RIVERA                                                                                  SAN JUAN          PR      00927
AUTO CENTRO VALIENTE                    VILLAS DEL MADRIGAL                  D5 CALLE 2                                                        CAROLINA          PR      00985
AUTO CLINIC MERCEDES BENZ               PO BOX 30776                                                                                           SAN JUAN          PR      00929 1776
AUTO COMPACTO INC                       1090 TABLONAL STE 3                                                                                    AGUADA            PR      00602
AUTO COMPACTO, INC                      1090 BO TABLONAL                                                                                       AGUADA            PR      00602
AUTO EARTH INC                          PO BOX 1179                                                                                            HORMIGUEROS       PR      00660
AUTO EXITO INC                          BO SANTA ROSA                        BUZON 3018                                                        VEGA BAJA         PR      00693
AUTO EXPERT                             LA ALAMEDA                           859 CALLE MARGINAL                                                SAN JUAN          PR      00926
AUTO EXPERT                             MARGINAK 859 LA ALAMEDA                                                                                SAN JUAN          PR      00926
AUTO EXTRAS                             D12 CALLE ZENOBIA VILLAS DE CUPEY                                                                      RIO PIEDRAS       PR      00926
AUTO EXTRAS DEL OESTE INC               2736 AVE HOSTOS                      STE 101                                                           MAYAGUEZ          PR      00682
AUTO FACIL CORP                         REPTO GARCIA                         12 CALLE LOURDES GARCIA                                           MANATI            PR      00674‐4729
AUTO FAST                               URB MANSION DEL SOL                  MS 42 CALLE VIA ARCOIRIS                                          SABANA SECA       PR      00952
AUTO HERMANOS CORP                      HC 3 BOX 7933                                                                                          BARRANQUITAS      PR      00794
AUTO HI TECH                            VILLA CAROLINA                       97 CALLE 94                                                       CAROLINA          PR      00985
AUTO KIREI INC DBA AUTOCENTRO TOYOTA    PO BOX 191958                                                                                          SAN JUAN          PR      00919‐1958
AUTO KOOL INC                           759 AVE MUNOZ RIVERA                                                                                   SAN JUAN          PR      00925
AUTO LOI LLC                            PO BOX 13399                                                                                           SAN JUAN          PR      00908
AUTO LUBE                               PO BOX 4440                                                                                            CAROLINA          PR      00984
AUTO LUBE MANAGEMENT SERVICES           PMB 352                              609 AVE TITO CASTRO STE 102                                       PONCE             PR      00716
AUTO LUX MOBILE CAR WASH INC            BO PALMAS                            CARR 869 ZONA IND KM 2 0                                          CATAðO            PR      00962
AUTO LUX MOBILE CAR WASH INC            BO PALMAS                            CARR 869 ZONA IND KM 2 0                                          CATANO            PR      00962
AUTO MALL                               PO BOX 1001                                                                                            PONCE             PR      00732‐1001
AUTO MASTERS                            AVE LUIS MUNOZ MARIN                 S 1 MARIOLGA                                                      CAGUAS            PR      00725
AUTO MASTERS EXPRESS INC                PO BOX 1751                                                                                            JUNCOS            PR      00777
AUTO MECA MILTON INC                    PMB 34                               HC 01 BOX 29030                                                   CAGUAS            PR      00725
AUTO MECANICA CESAR CSP                 PO BOX 537                                                                                             SAN GERMAN        PR      00683
AUTO MECANICA MILTON, INC               HC 1 BOX 29030 PMB 34                                                                                  CAGUAS            PR      00725
AUTO OFERTAS INC/ NEW ENERGY CONSULTANS PMB 483                              HC 1 BOX 29030                                                    CAGUAS            PR      00725
AUTO OFFICE VIDEO TECH                  AVE. WESTERN CHURCH 168                                                                                RIO PIEDRAS       PR      00926
AUTO OUTLET AND SERVICE INC             56 AVE HOSTOS                                                                                          PONCE             PR      00932
AUTO OUTLET AND SERVICE INC             PO BOX 30180                                                                                           PONCE             PR      00734‐0180
AUTO OUTLET AND SERVICE INC             PO BOX 7344                                                                                            PONCE             PR      00732
AUTO PARTS MANAGEMENT INC               PO BOX 90                                                                                              SAINT JUST        PR      00978
AUTO PERFECTO DE VEGA BAJA CORP.        PO BOX 297                                                                                             BARRANQUITAS      PR      00794
AUTO PIEZAS DE EUROPA INC               URB CASTELLANA GARDENS               LL 2 AVE GALICIA                                                  CAROLINA          PR      00983
AUTO PIEZAS DIAZ INC                    10MA SECC SANTA JUANITA              DC 6 AVE MINILLAS                                                 BAYAMON           PR      00956
AUTO PIEZAS HENRY                       SABANA LLANA                         601 CALLE DE DIEG0                                                SAN JUAN          PR      00924
AUTO PIEZAS HERMANOS INC                HC 2 BOX 6710                                                                                          BARRANQUITAS      PR      00794
AUTO PIEZAS VARELA                      URB SAN ANTONIO                      20 34 CALLE TRAMA                                                 PONCE             PR      00728 1808
AUTO PINTURAS MOROVIS                   HC 01 BOX 3713                                                                                         MOROVIS           PR      00687
AUTO PLAZA CORP                         PMB 852 SENORIAL MAIL STATION        AVE WINSTON CHURCHILL 138                                         SAN JUAN          PR      00926‐6013
AUTO PRECIO INC                         SABANERA DORADO                      285 CAMINO LOS ROBLES                                             DORADO            PR      00646
AUTO SALON                              CALLE LAS FLORES 161                                                                                   SAN JUAN          PR      00911
AUTO SERVICE EQUIPMENT CO               PO BOX 363594                                                                                          SAN JUAN          PR      00936
AUTO SERVICES CO INC                    PO BOX 2400                                                                                            MOUNTAIN HOME     AR      72654‐2400
Auto Services Company, Inc.             971 Coley Drive                                                                                        Mountain Home     AR      72653‐2519
Auto Services Company, Inc.             Attn: Brad Hasselwander, President   PO Box 2400                                                       Mountain Home     AR      72654
AUTO SERVICIO DE ARECIBO                860 AVE MIRAMAR                                                                                        ARECIBO           PR      00612
AUTO SERVICIO DE BAYAMON                LOMAS VERDES                         2 M 6 AVE LAUREL                                                  BAYAMON           PR      00959
AUTO SERVICIOS CUPEY                    PO BOX 6729                                                                                            BAYAMON           PR      00960
AUTO SERVICIOS DE BAYAMON               LOMAS VERDES                         2M6 AVE LAUREL URB LOMAS VERDES                                   BAYAMON           PR      00956
AUTO SERVICIOS DE BAYAMON               URB LOMAS VERDES                     2M6 AVE LAUREL                                                    BAYAMON           PR      00956
AUTO SPA INC                            808 AVE CAMPO RICO                                                                                     SAN JUAN          PR      00924
AUTO SPA INC                            URB COUNTRY CLUB                     808 AVE ROBERTO SANCHEZ VILELLA                                   SAN JUAN          PR      00924
AUTO SPORT SECIALTIES                   CALLE GUAYAMA 422                                                                                      HATO REY          PR      00936
AUTO STA INC                            808 CAMPO RICO AVE                                                                                     SAN JUAN          PR      00924




                                                                                                           Page 634 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 635 of 3500
                                                                                                                Creditor Matrix

Creditor Name                                Address1                              Address2                                  Address3   Address4   City                State   PostalCode   Country
Auto Supply del Norte D/B/A MayagüezAuto Part83 Avenida Gonzalez Clemente Mayagüez                                                                 Mayagüez            PR      00682‐3206
AUTO SUPPLY DEL NORTE INC MAYAGUEZ AUTO PARTS & MACHINE SHOP                       83 AVE GONZALEZ CLEMENTE                                        MAYAGUEZ            PR      00682‐3206
AUTO SUPPLY DEL NORTE INC.                   CALLE COMERIO #83                     AVE GONZALEZ CLEMENTE                                           MAYAGUEZ            PR      00680
AUTO TECNO REPAIR INC                        PO BOX 8458                                                                                           BAYAMON             PR      00960‐8458
AUTO TRAFICO LLC                             PO BOX 19509                                                                                          SAN JUAN            PR      00910
AUTO TUERCAS AND HYDRAULIC SHO               PO BOX 605                                                                                            COROZAL             PR      00783
AUTO WORLD                                   1122 AVE PINEIRO                                                                                      CAPARRA TERRACE     PR      00920
AUTO WORLD                                   1122 AVE PINERO                                                                                       SAN JUAN            PR      00920
AUTO ZONE                                    CARR 31 KM 24.5                                                                                       JUNCOS              PR      00777
AUTOBUSES BORINQUEN INC                      HC 5 BOX 53551                                                                                        CAGUAS              PR      00725‐9210
AUTOBUSES DE P.R.                            P O BOX 29849                                                                                         SAN JUAN            PR      00929‐0000
AUTOBUSES DE PR AND BEGEND PERFOMANCE PO BOX 29849                                                                                                 SAN JUAN            PR      00929
AUTOBUSES DE PR INC                          P O BOX 29849                                                                                         SAN JUAN            PR      00929‐0849
AUTOBUSES DE PUERTO RICO                     PO BOX 29849                                                                                          SAN JUAN            PR      00936‐0849
AUTOBUSES DE PUERTO RICO (SAN JUAN), INC ANPO BOX 29849                                                                                            SAN JUAN            PR      00936‐0849
AUTOBUSES MEFA INC                           PO BOX 935                                                                                            BAYAMON             PR      00960
AUTOCARE CORP                                PO BOX 363609                                                                                         SAN JUAN            PR      00936
AUTOCELLO EMPAQUE                            P O BOX 4076                          GARDEN STATION                                                  BAYAMON             PR      00958
AUTOKIREI CORP                               1088 AVE MUNOZ RIVERA                                                                                 SAN JUAN            PR      00926
AUTOLUBE MANAGMENT SERVICE                   PMB 312                               PO BOX 2135                                                     BAYAMON             PR      00959 5250
AUTOLUBE MANAGMENT SERVICE                   URB DORADO DEL MAR                    FF 1 CALLE VILLA DE PLAYA I                                     DORADO              PR      00646
AUTOMATED COLLECTION SEVICES INC             PO BOX 17423                                                                                          NASHVILLE           TN      37217
AUTOMATED CPLLECTION SERVICES INC            2285 MURFREESBORO Rd                  SUITE 200                                                       NASHEVILLE          TN      37217
AUTOMATED CPLLECTION SERVICES INC            PO BOX 17423                                                                                          NASHVILLE           TN      37217
AUTOMATED OFFICE SERVICES, INC               CALLE RODRIGUEZ EMA                   COND MUNDO FELIZ #1409                                          CAROLINA            PR      00979
AUTOMATED SIGNATURE TECHNOLOGY               112 OAK GROVE ROAD                    SUITE 107                                                       STERLING            VA      20166
AUTOMATIC CONTROL TECHNOLOGY                 URB LA RIVIERA 1020                   CALLE 3 SW SUITE 1                                              SAN JUAN            PR      00921‐2518
AUTOMATIC DATA PROCESING INC                 PO BOX 842854                                                                                         BOSTON              MA      02284
AUTOMATIC DATA PROCESSING                    AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                       SAN JUAN            PR      00902‐4140
AUTOMATIC DATA PROCESSING INC                1 ADP BOULEVARD                                                                                       ROSELAND            NJ      07068
AUTOMATIC DOOR SERVICES                      PO BOX 1324                                                                                           GURABO              PR      00778‐1324
AUTOMATIC EQUIPMENT INC                      URB LA RIVIERA                        SO 1020 CALLE 3                                                 SAN JUAN            PR      00921‐2518
AUTOMATIC EQUIPMENTS INC                     CALLE 3 SO # 1020 URB. LA RIBIERA                                                                     SAN JUAN            PR      00921‐2518
AUTOMATIC EQUIPMENTS INC                     URB LA RIVIERA                        1020 CALLE 3 SW                                                 SAN JUAN            PR      00921‐2518
AUTOMATIC SUPRESSION ENGINEERING             PO BOX 16575                                                                                          SAN JUAN            PR      00908‐6575
AUTOMATIC TELLER MACHINE GROUP               PO BOX 361354                                                                                         SAN JUAN            PR      00936
AUTOMATION & CONTROL ENGINEERS INC           GALERIA PASEOS                        100 GRAND PASEO BLVD STE 112 PMB 368                            SAN JUAN            PR      00926‐5955
AUTOMATION INTEGRATORS & SERVICES CORP PO BOX 51531                                                                                                TOA BAJA            PR      00950
AUTOMECA TECHNICAL COLLEGE                   PO BOX 8569                                                                                           BAYAMON             PR      00960
AUTOMECA TECHNICAL COLLEGE INC               PO BOX 8569                                                                                           BAYAMON             PR      00960
AUTOMOTIVE RENTALS INC                       4001 LEADENHALL ROAD                                                                                  MOUNT LAUREL        NJ      08054
AUTOMOTIVE RENTALS INC                       9615 AVE LOS ROMEROS                  SUITE 416                                                       SAN JUAN            PR      00926
AUTOMOTIVE RENTALS INC                       MONTEHIEDRA OFFICE CENTER             9615 AVE LOS ROMEROS SUITE 416                                  SAN JUAN            PR      00926
AUTOMOTIVE RENTALS INC                       MONTHIEDRA OFFICE CENTER              9615 AVE LOS ROMER STE 416                                      SAN JUAN            PR      00926
AUTOMOTIVE REPAIRS SERVICES OF PR, INC.      PO BOX 1485                                                                                           CANOVANAS           PR      00729‐1485
AUTOMOTIVE SERV DEVELOPMENT INST INC         COND CIUDAD UNIVERSITARIA             1 AVE PERIFERAL 1702                                            TRUJILLO ALTO       PR      00976
AUTOMOTIVE SERVICE DEVELOPMENT INSTITUT CIUDAD UNIVERSITARIA 1 AVE PERIFFERAL 1702                                                                 TRUJILLO ALTO       PR      00976
AUTOMOTRIZ JR ORTIZ                          COND VISTA VERDE                      APT H 118 CARR 849                                              SAN JUAN            PR      00924
AUTOPAK ENGINEERING CORP/ GREEN ENERGY SOURCES OF PR LLC                           PO BOX 9024155                                                  SAN JUAN            PR      00902‐4155
AUTOPISTAS METROPOLITANA DE P R LLC          PO BOX 12004                                                                                          SAN JUAN            PR      00922
AUTORIDAD ACUEDUCTO Y ALCANTARILLADOS P PO BOX 1458                                                                                                SAN JUAN            PR      00916‐4580
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS 604 AVE BARBOSA                                                                                             SAN JUAN            PR      00917‐4388
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS ALCANTARILLADOS                             APARTADO 7066 BO.OBRERO STA.                                    SANTURCE            PR      00916
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS ALCANTARILLADOS CUENTAS DE                  GOBIERNO,604 AVE.BARBOSA                                        SAN JUAN            PR      00917
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS AREA DE TESORO                              DIVISION DE RECLAMACIONES                                       SAN JUAN            PR      00902‐4140
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS AREA DEL TESORO                             CONTADURIA GENERAL                                              SAN JUAN            PR      00902
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS AREA DEL TESORO                             DIVISION DE RECLAMACIONES                                       SAN JUAN            PR      00902‐4140
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS BANCO GUBERNAMENTAL DE FOMENTO              A/C AREA DE TESORO                                              SAN JUAN            PR      00902
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS BARRIO OBRERO                               APARTADO 7066                                                   SANTURCE            PR      00908
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS C/O AREA DEL TESORO                         DIV. CONT. GENERAL                                              SAN JUAN            PR      00936




                                                                                                               Page 635 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 636 of 3500
                                                                                                                      Creditor Matrix

Creditor Name                             Address1                                   Address2                                      Address3             Address4   City          State   PostalCode   Country
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS P.O.BOX 1008                                                                                                                AGUADILLA     PR      00605
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS PO BOX 14580                                                                                                                SAN JUAN      PR      00916
AUTORIDAD ACUEDUCTOS Y ALCANTARILLADOS PO BOX 7066                                                                                                                 SAN JUAN      PR      00916
AUTORIDAD DE ACUEDUCTO Y ALC              PO BOX 14580                                                                                                             SAN JUAN      PR      00916‐4580
AUTORIDAD DE ACUEDUCTO Y ALCANTARILLADOP.O. BOX 7066                                                                                                               SAN JUAN      PR      00916‐7066
AUTORIDAD DE ACUEDUCTO Y ALCANTARILLADOPO BOX 5729                                                                                                                 CAGUAS        PR      00726‐5729
Autoridad de Acueductos & Alcantarillados PO BOX 70101                                                                                                             San Juan      PR      00936
Autoridad de Acueductos y Alcantarillado  P.O box 7157                                                                                                             San Juan      PR      00922‐0000
AUTORIDAD DE ACUEDUCTOS Y ALCANTARILLAD PO BOX 7066                                                                                                                SAN JUAN      PR      00916‐7066
Autoridad de Asesor¡a Finan y Agenc Fisc  PO BOX 19269                                                                                                             SAN JUAN      PR      00907
AUTORIDAD DE ASESORIA FINAN Y AGENC FISC PO BOX 19269                                                                                                              SAN JUAN      PR      00907
AUTORIDAD DE ASESORIA FINANCIERA Y        PO BOX 42001, ESTACION MINILLAS                                                                                          SAN JUAN      PR      00940‐2001
AUTORIDAD DE CARETERAS
AUTORIDAD DE CARRETERA                    PO BOX 53008                                                                                                             SAN JUAN      PR      00940‐2007
AUTORIDAD DE CARRETERAS                   APARTADO 572                                                                                                             YAUCO         PR      00698
AUTORIDAD DE CARRETERAS                   AREA DE TESORO                             DIVISION DE CONCILIACION                                                      SAN JUAN      PR      00902‐4140
AUTORIDAD DE CARRETERAS                   AREA DEL TESORO                            CONTADURIA GENERAL                                                            SAN JUAN      PR      00902
AUTORIDAD DE CARRETERAS                   LCDO. AARON L. HERNÁNDEZ MARTÍNEZ          AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN APARTADO 42007                       SAN JUAN      PR      00940‐2007
AUTORIDAD DE CARRETERAS                   PO BOX 42007                                                                                                             SAN JUAN      PR      00940‐2007
AUTORIDAD DE CARRETERAS                   RAFAEL RAMIREZ POLANCO                     625 AVE. Ponce DE LEON                                                        SAN JUAN      PR      00917‐4819
AUTORIDAD DE CARRETERAS
AUTORIDAD DE CARRETERAS Y TRANPORTACION AREA DE TESORO                               DIVISION DE CONCILIACION                                                      SAN JUAN      PR      00902‐4140
AUTORIDAD DE CARRETERAS Y TRANPORTACION AREA DE TESORO                               DIVISION DE RECLAMACIONES                                                     SAN JUAN      PR      00902‐4140
AUTORIDAD DE CARRETERAS Y TRANPORTACION AREA DEL TESORO                              CONTADURIA GENERAL                                                            SAN JUAN      PR      00902‐4140
AUTORIDAD DE CARRETERAS Y TRANPORTACION C/O JULIO ORTIZ ELICIER                      PO BOX 190759                                                                 SAN JUAN      PR      00919‐0759
AUTORIDAD DE CARRETERAS Y TRANPORTACION PO BOX 11888                                                                                                               SAN JUAN      PR      00922‐1888
AUTORIDAD DE CARRETERAS Y TRANPORTACION PO BOX 42007                                                                                                               SAN JUAN      PR      00940‐2007
AUTORIDAD DE CARRETERAS Y TRANSPORTACIONPO BOX 11889                                                                                                               SAN JUAN      PR      00922
AUTORIDAD DE CARRETERRAS                  PO BOX 53008                                                                                                             SAN JUAN      PR      00940‐2007
                                                                                                                                   1605 AVE. Ponce DE
AUTORIDAD DE DESPERDICIOS SOLIDOS       LUIS GONZALEZ ORTIZ                             EDIF. SAN MARTIN STE 101                   LEON                            SAN JUAN      PR      00909
AUTORIDAD DE DESPERDICIOS SOLIDOS       P.O. BOX 40285 MINILLAS STATION,                                                                                           SAN JUAN      PR      00940
AUTORIDAD DE DESPERDICIOS SOLIDOS       PO BOX 40285                                                                                                               SAN JUAN      PR      00940‐0285
AUTORIDAD DE DISTR CTRO DE CONVENCIONES 100 CONVENTION BOULEVARD                                                                                                   SAN JUAN      PR      00907
AUTORIDAD DE EDIFICIOS PUBLICOS         AREA DEL TESORO                                 CONTADURIA GENERAL                                                         SAN JUAN      PR      00902
AUTORIDAD DE EDIFICIOS PUBLICOS         MINILLAS STA                                    PO BOX 41029                                                               SAN JUAN      PR      00940
AUTORIDAD DE EDIFICIOS PUBLICOS         P O BOX 41029                                   MINILLAS STA                                                               SAN JUAN      PR      00940
AUTORIDAD DE EDIFICIOS PUBLICOS         P O BOX 41029                                   ESTACION MINILLAS                                                          SAN JUAN      PR      00940‐1209
AUTORIDAD DE EDIFICIOS PUBLICOS         P O BOX 41029                                                                                                              SAN JUAN      PR      00940
AUTORIDAD DE ENERGIA ELECTRICA          49 CALLE SILVIO                                                                                                            VEGA BAJA     PR      00693
AUTORIDAD DE ENERGIA ELECTRICA          AREA DEL TESORO                                 DIV. PAGADURIA                                                             SAN JUAN      PR      00902
AUTORIDAD DE ENERGIA ELECTRICA          AREA DEL TESORO CONTADURIA GENERAL                                                                                         SAN JUAN      PR      00902
AUTORIDAD DE ENERGIA ELECTRICA          Autoridada de Energia Electrica, Cuenta de Gobierno                                                                        SAN JUAN      PR      00936‐4267
AUTORIDAD DE ENERGIA ELECTRICA          DEPARTAMENTO DE CUENTAS DE GOBIERNO             PO BOX 364267                                                              SAN JUAN      PR      00936‐4267
AUTORIDAD DE ENERGIA ELECTRICA          DPTO CUENTAS DE GOBIERNO                        P O BOX 364267                                                             SAN JUAN      PR      00936‐4267
AUTORIDAD DE ENERGIA ELECTRICA          HC 02 BOX 6173                                                                                                             UTUADO        PR      00641
AUTORIDAD DE ENERGIA ELECTRICA          JUNTA DE RETIRO PARA MAESTROS                   PO BOX 191879                                                              SAN JUAN      PR      00919 1879
AUTORIDAD DE ENERGIA ELECTRICA          P O BOX 1087                                                                                                               CAGUAS        PR      00726
AUTORIDAD DE ENERGIA ELECTRICA          P O BOX 363928                                                                                                             SAN JUAN      PR      00936‐3928
AUTORIDAD DE ENERGIA ELECTRICA          P O BOX 70253                                                                                                              SAN JUAN      PR      00936‐4267
AUTORIDAD DE ENERGIA ELECTRICA          P O BOX 70395                                                                                                              SAN JUAN      PR      00936
AUTORIDAD DE ENERGIA ELECTRICA          PO BOX 363508                                                                                                              SAN JUAN      PR      00936
AUTORIDAD DE ENERGIA ELECTRICA          PO BOX 364267                                                                                                              SAN JUAN      PR      00936‐4267
AUTORIDAD DE ENERGIA ELECTRICA          PO BOX 42001                                                                                                               SAN JUAN      PR      00940‐2001
AUTORIDAD DE ENERGIA ELECTRICA          PO BOX 518                                                                                                                 HUMACAO       PR      00792
AUTORIDAD DE ENERGIA ELECTRICA          Y/O AREA DEL TESORO                             AREA DEL TESORO CONTADURIA                 GENERAL                         SAN JUAN      PR      00902
Autoridad de Energía Eléctrica          ADDRESS ON FILE
AUTORIDAD DE LOS PUERTOS PR             AREA DEL TESORO                                 CONTADURIA GENERAL                                                         SAN JUAN      PR      00902
AUTORIDAD DE LOS PUERTOS PR             PO BOX 362829                                                                                                              SAN JUAN      PR      00936‐3829
AUTORIDAD DE PUERTO DE PONCE            APARTADO 363767                                                                                                            SAN JUAN      PR      00939‐3767




                                                                                                                     Page 636 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 637 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                              Address1                               Address2                                    Address3                Address4   City             State   PostalCode   Country
AUTORIDAD DE PUERTOS                       PO BOX 2829                                                                                                           SAN JUAN         PR      00936
AUTORIDAD DE TIERRA DE PR                  APARTADO 9745                                                                                                         SAN JUAN         PR      00908
AUTORIDAD DE TIERRA DE PR                  BANCO GUBERNAMENTAL DE PR              PO BOX 42001                                                                   SAN JUAN         PR      00940
AUTORIDAD DE TIERRAS DE PR                 APARTADO 9745                                                                                                         SAN JUAN         PR      00908
AUTORIDAD DE TIERRAS DE PR                 AREA DEL TESORO CONTADURIA GENERAL                                                                                    SAN JUAN         PR      00902
AUTORIDAD DE TIERRAS DE PR                 PO BOX 9745                                                                                                           SAN JUAN         PR      00908
AUTORIDAD DE TRANSPORTE INTEGRADO          APARTADO 195349                                                                                                       SAN JUAN         PR      00919‐5349
AUTORIDAD DE TRANSPORTE MARITIMO           CALLE UNION FINAL PUERTO REAL                                                                                         FAJARDO          PR      00740
AUTORIDAD DE TRANSPORTE MARITIMO           PO BOX 41118                                                                                                          SAN JUAN         PR      00940
AUTORIDAD DE TRANSPORTE MARITIMO           PO BOX 4305                            PUERTO REAL                                                                    FAJARDO          PR      00740‐4305
AUTORIDAD DE TRANSPORTE MARITIMO           PO BOX 4305                            PLAYA PUERTO REAL                                                              PUERTO REAL      PR      00740‐4305
AUTORIDAD DE TRANSPORTE MARITIMO           PO BOX 4305                                                                                                           PUERTO REAL      PR      00740‐4305
AUTORIDAD DE TRANSPORTE MARITIMO DE PR     PO BOX 4305 PUERTO REAL                                                                                               FAJARDO          PR      00740‐0000
AUTORIDAD DE TRANSPORTE MARITIMO PR        PO BOX 4305                                                                                                           FAJARDO          PR      00740
AUTORIDAD ENERGIA ELECTRICA                DEPTO EVALUACIONES MEDICAS OCUPACONALE (NEOS) SEC‐RECORD MEDICOS SIST IMAGENES     PO BOX 364267                      SAN JUAN         PR      00936‐4267
AUTORIDAD ENERGIA ELECTRICA                P O BOX 363508                                                                                                        SAN JUAN         PR      00936‐3508
AUTORIDAD ENERGIA ELECTRICA                PO BOX 42657                                                                                                          SAN JUAN         PR      00936‐0000
AUTORIDAD ENERGIA ELECTRICA                PO BOX 70253                                                                                                          SAN JUAN         PR      00936
AUTORIDAD ENERGIA ELECTRICA                PO BOX364267                                                                                                          SAN JUAN         PR      00936‐4267
AUTORIDAD FINANCIAMIENTO VIVIENDA          AREA DEL TESORO                        DIVISION CONTADURIA GENERAL                                                    SAN JUAN         PR      00902‐4141
AUTORIDAD FINANCIAMIENTO VIVIENDA          AREA DEL TESORO                        DIVISION DE CONTADURIA GENERAL                                                 SAN JUAN         PR      00902
AUTORIDAD PARA EL FINANCIAMIENTO DE LA I   PO BOX 41207 MINILLAS STATION                                                                                         SAN JUAN         PR      00940
AUTOS DE CAYEY INC                         HC 71 BOX 7003                                                                                                        CAYEY            PR      00736
AUTOS DE CAYEY INC                         PO BOX 152                                                                                                            BARRANQUITAS     PR      00794
AUTOS VEGA                                 P.O. BOX 364252                                                                                                       SAN JUAN         PR      00936‐4252
AUTOS VEGA INC                             ADDRESS ON FILE
AUTOS VEGA INC                             ADDRESS ON FILE
AUTOSERVICIOS CAPARRA INC                  PO BOX 3177                                                                                                           BAYAMON          PR      00960‐3150
AUTOSUMMIT INC                             PO BOX 11411                           CAPARRA HEIGHTS STATION                                                        SAN JUAN         PR      00922
AUTO‐TEK BODYWORKS CORP                    HC ‐ 02 BOX 9213                                                                                                      COROZAL          PR      00783
AUTOTEK INC                                PASEO DE LOS ARTESANOS                 189 CALLE EMETERIO HERNANDEZ                                                   LAS PIEDRAS      PR      00771
AUTOWARE CORP                              URB SAN ALFONSO                        A 11 AVE DEGETAU                                                               CAGUAS           PR      00725
AUTOZONE PR                                COUNTRY ESTATES                        A 45 STREET 1                                                                  BAYAMON          PR      00956
AUXILIADORA S PASTOR GOMEZ                 ADDRESS ON FILE
AUXILIO CENTRO DE RADIOTERAPIA             PO BOX 191227                                                                                                         SAN JUAN         PR      00919‐1227
Auxilio Platino, Inc.                      735 Ponce De Leon Avenue                                                                                              San Juan         PR      00919
Auxilio Platino, Inc.                      Attn: Jennifer Berrios, President      PO Box 191227                                                                  San Juan         PR      91912‐919
AV MASTER                                  18750 OXNARD STREET                    SUITE 402                                                                      TARZANA          CA      91356
AVALOS CASTRILLO,HECTOR                    ADDRESS ON FILE
AVANCE CENTRO REHABILITACION DEL NINO      26 FERNANDEZ GARCIA LOCAL 6                                                                                           LUQUILLO         PR      00773

AVANCE CLINICA DE SERVICIOS RELACIONADOS A LA SALUD; CSP                           CORDOBA PARK                               400 BO TORTUGO APT 47              SAN JUAN         PR      00926
AVANCE CLINICA DE SERVICIOS RELACIONADOS A LA SALUD; CSP                           COND DE DIEGO 444                          APT. 1401                          SAN JUAN         PR      00923
AVANCE CLINICA DE SERVICIOS RELACIONADOS A LA SALUD; CSP                           COND CONCORDIA PARK                        400B TORTUGO APT 47                SAN JUAN         PR      00926
AVANCE CLINICA DE SERVICIOS RELACIONADOS COND DE DIEGO 444 APT 1401                                                                                              SAN JUAN         PR      00923
AVANCE CLINICA DE SERVICIOS RELACIONADOS ACOND DE DIEGO                            575 CALLE DE DIEGO APT 444                                                    SAN JUAN         PR      00924
AVANT TECHNOLOGIES                        776 P O BOX 362708                                                                                                     SAN JUAN         PR      00936‐2708
AVANT TECHNOLOGIES                        C/O BANCO POPULAR                        PO BOX 9359                                                                   CAGUAS           PR      00725‐9359
AVANT TECHNOLOGIES                        LOCK BOX 71572                                                                                                         SAN JUAN         PR      00936‐8672
AVANT TECHNOLOGIES                        P O BOX 9359                                                                                                           CAGUAS           PR      00726‐9359
AVANT TECHNOLOGIES (OLIVETTI DE PR INC )  ADM CORRECCION                           PO BOX 1079                                                                   VEGA ALTA        PR      00692
AVANT TECHNOLOGIES (OLIVETTI DE PR INC )  PO BOX 9359                                                                                                            CAGUAS           PR      00726
AVANT TECHNOLOGIES C/O BANCO POPULAR PR 776 P O BOX 362708                                                                                                       SAN JUAN         PR      00936‐2708
AVANT TECHNOLOGIES C/O BANCO POPULAR PR LOCK BOX 71572                                                                                                           SAN JUAN         PR      00936‐8672
AVANTI CONSULTING GROUP, INC              PO BOX 351                                                                                                             LAJAS            PR      00667‐0351
AVANZA INSURANCE                          229 CALLE DUARTE STE 2‐B                                                                                               SAN JUAN         PR      00917
AVANZA INSURANCE COPR                     229 CALLE DUARTE STE 2B                                                                                                SAN JUAN         PR      00917
AVANZATEC, LLC                            5904 BEACON ST.                                                                                                        PITTSBURGH       PA      15217
AVAREZ PENA, JENNIFER                     ADDRESS ON FILE
AVATAR INTERNATIONAL                      1000 PRIMERA BLVD STE 3144                                                                                             LAKE MARY        FL      32746




                                                                                                                Page 637 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 638 of 3500
                                                                                                            Creditor Matrix

Creditor Name                       Address1                                Address2                                     Address3   Address4   City              State   PostalCode   Country
AVATAR INTERNATIONAL INC            900 CENTRAL PARK DRIVE                                                                                     SANFORD           FL      32771
AVAZCO INC                          COND SAINT JOSEPH                       666 CALLE UNION APT 4 MIRAMAR                                      SAN JUAN          PR      00907
AVC LANDCAPE INC                    P.O. BOX 1602                                                                                              LAS PIEDRAS       PR      00771
AVCO THE AUDIO VISUAL COMPANY INC   PO BOX 194178                                                                                              SAN JUAN          PR      00919
AVEILLEZ ARROYO, LAURA              ADDRESS ON FILE
AVELARES FELIX, CHARLENE            ADDRESS ON FILE
AVELINA BRUNO ROSARIO               ADDRESS ON FILE
AVELINA QUINTANA SOTO               ADDRESS ON FILE
AVELINA RIVERA DIAZ                 ADDRESS ON FILE
AVELINO BIZARRO, YAIRA L            ADDRESS ON FILE
AVELINO CARRION, SANDRA I           ADDRESS ON FILE
AVELINO CEDENO RODRIGUEZ            ADDRESS ON FILE
AVELINO MARQUEZ                     ADDRESS ON FILE
AVELINO MONTALVAN RUIZ              ADDRESS ON FILE
AVELINO MORALES CABAN               ADDRESS ON FILE
AVELINO PANIAGUA, ANDRE             ADDRESS ON FILE
AVELINO UBINAS TORRES               ADDRESS ON FILE
AVELINO VARGAS ROMAN                ADDRESS ON FILE
AVELIZ LARRACHE, MARILIS            ADDRESS ON FILE
AVELLAN GRATEROLE, BENIGNA          ADDRESS ON FILE
AVELLANET ACOSTA, ARMANDO           ADDRESS ON FILE
AVELLANET ACOSTA, MARIA S           ADDRESS ON FILE
AVELLANET BONET, LUIS               ADDRESS ON FILE
AVELLANET BONET, MICHELLE           ADDRESS ON FILE
AVELLANET GONZALEZ, KENNETH H.      ADDRESS ON FILE
AVELLANET LORENZO, MARGARITA        ADDRESS ON FILE
AVELLANET LORENZO, MIRIAM           ADDRESS ON FILE
AVELLANET MANTILLA, LUIS            ADDRESS ON FILE
AVELLANET PEREZ, IVETTE             ADDRESS ON FILE
AVELLANET RAMOS, ADELINA            ADDRESS ON FILE
AVELLANET RAMOS, AIDA L             ADDRESS ON FILE
AVELLANET RAMOS, CLARA F            ADDRESS ON FILE
AVELLANET RAMOS, TOMASITA           ADDRESS ON FILE
AVELLANETOTERO, BRENDALIZ           ADDRESS ON FILE
AVELLINO BERRIOS, AIXA              ADDRESS ON FILE
AVENANCIO LEON, KARLA               ADDRESS ON FILE
AVENANCIO TORRES, HECTOR R          ADDRESS ON FILE
AVENAUT CERRA, IRIS A               ADDRESS ON FILE
AVENAUT CERRA, SORAYA               ADDRESS ON FILE
AVENAUT GONZALEZ, MARIA T           ADDRESS ON FILE
AVENAUT LEVANTE, ROSABEL            ADDRESS ON FILE
AVENDANO ULLOA, EDUARDO             ADDRESS ON FILE
AVENTURAS TIERRA ADENTRO INC        UNIVERSITY GARDENS                      268 AVE PINERO                                                     SAN JUAN          PR      00927
AVENUE STRATEGIES, LLC              1717 PENNSYLVANIA AVE. NW, SUITE 1025                                                                      WASHINGTON        DC      20006
AVERY VALENTIN BAEZ                 ADDRESS ON FILE
AVERY, MICHAEL                      ADDRESS ON FILE
AVEZUELA MENDOZA, JOSE              ADDRESS ON FILE
Avezuela Mendoza, Osvaldo           ADDRESS ON FILE
AVEZUELA PEREZ, ERNESTO             ADDRESS ON FILE
AVIAN RESEARCH AND CONSERVATION     INSTITUTE OR KENNETH D MEYER            411 NE 7 ST                                                        GAINESVILLE       FL      32601
AVIANE AIR AMBULANCE                PO BOX 1717                                                                                                CIALES            PR      00638‐1117
AVIASERVICE INTERNATIONAL           PO BOX 16841                                                                                               SAN JUAN          PR      00908‐6841
AVIBER INV CORP                     PO BOX 1596                                                                                                SAN SEBASTIAN     PR      00685‐1596
AVIBER INVESTMENTS                  PO BOX 1596                                                                                                SAN SEBASTIAN     PR      00685
AVILA AGUILAR, EILEEN               ADDRESS ON FILE
AVILA ALFARO, ABDALEE               ADDRESS ON FILE
AVILA ALICEA, PEDRO                 ADDRESS ON FILE
AVILA APONTE, EDWIN                 ADDRESS ON FILE
AVILA ARBELO, EDNA LUISA            ADDRESS ON FILE
AVILA ARROYO, MARISOL               ADDRESS ON FILE




                                                                                                       Page 638 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 639 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILA AYALA, LILLIAM             ADDRESS ON FILE
AVILA BARBOSA, JUAN              ADDRESS ON FILE
AVILA BARBOSA, LUIS              ADDRESS ON FILE
AVILA BARBOSA, MARIA C           ADDRESS ON FILE
AVILA BARRETO, REINALDO          ADDRESS ON FILE
AVILA BELTRAN, MIRELIS           ADDRESS ON FILE
AVILA BELTRAN, RAMSES            ADDRESS ON FILE
AVILA BURGOS, GLENDA             ADDRESS ON FILE
AVILA BURGOS, GLENDA             ADDRESS ON FILE
AVILA CABALLERO, HECTOR MANUEL   ADDRESS ON FILE
AVILA CABALLERO, MIGUEL          ADDRESS ON FILE
AVILA CABALLERO, MIGUEL          ADDRESS ON FILE
AVILA CAMACHO, NOEMI             ADDRESS ON FILE
AVILA CARBUCIA, DIOSA N          ADDRESS ON FILE
AVILA CARDENAS, FLOR             ADDRESS ON FILE
AVILA CARTAGENA, AQUILINO        ADDRESS ON FILE
AVILA CASTRO, MARIE A            ADDRESS ON FILE
AVILA CASTRO, RAFAEL J.          ADDRESS ON FILE
AVILA CHAMPANA, RICARDO          ADDRESS ON FILE
AVILA CLAUDIO, RONALD            ADDRESS ON FILE
AVILA COLON, ANDREA N            ADDRESS ON FILE
AVILA COLON, ANGELICA            ADDRESS ON FILE
AVILA COLON, STEPHANIE           ADDRESS ON FILE
AVILA CONCEPCION, DAVID          ADDRESS ON FILE
AVILA CORTES, LYNNETTE           ADDRESS ON FILE
AVILA COTTO, CARMEN D            ADDRESS ON FILE
AVILA CRESPO, FELIPE             ADDRESS ON FILE
AVILA CRUZ, LISSETTE             ADDRESS ON FILE
AVILA CRUZ, RICHARD              ADDRESS ON FILE
AVILA CUEVAS, ELIEZER            ADDRESS ON FILE
AVILA CUEVAS, JUAN A             ADDRESS ON FILE
AVILA CUEVAS, LUCINA             ADDRESS ON FILE
AVILA CUEVAS, SHEILA A           ADDRESS ON FILE
AVILA DE JESUS, CARMEN M         ADDRESS ON FILE
AVILA DE JESUS, MANUEL           ADDRESS ON FILE
AVILA DE JESUS, MANUEL E         ADDRESS ON FILE
AVILA DEL PILAR, CARLOS          ADDRESS ON FILE
AVILA DEL PILAR, MIRELLA         ADDRESS ON FILE
AVILA DEL PILAR, REYNALDO        ADDRESS ON FILE
AVILA DONES, YLMAR               ADDRESS ON FILE
AVILA DURAN, ADELA               ADDRESS ON FILE
Avila Feliciano, Ines S          ADDRESS ON FILE
AVILA FEREIRA, FANY M            ADDRESS ON FILE
AVILA FLORES, ANDRES             ADDRESS ON FILE
AVILA FLORES, CARMEN L           ADDRESS ON FILE
AVILA FRANQUI, MARYSEL           ADDRESS ON FILE
AVILA GARCIA, EDWIN R            ADDRESS ON FILE
AVILA GARCIA, NELSON             ADDRESS ON FILE
AVILA GIL, CORPORINA             ADDRESS ON FILE
AVILA GOMEZ, JUSTINO             ADDRESS ON FILE
AVILA GOMEZ, NANCY               ADDRESS ON FILE
AVILA GOMEZ, NELLY               ADDRESS ON FILE
AVILA GONZALEZ, EDWIN            ADDRESS ON FILE
AVILA GONZALEZ, EDWIN            ADDRESS ON FILE
AVILA GONZALEZ, FERNANDO         ADDRESS ON FILE
Avila Gonzalez, Javier           ADDRESS ON FILE
AVILA GONZALEZ, LULIANA          ADDRESS ON FILE
AVILA GONZALEZ, SARA             ADDRESS ON FILE
AVILA HERNANDEZ, DAVID           ADDRESS ON FILE
AVILA HERNANDEZ, DORCAS          ADDRESS ON FILE




                                                                             Page 639 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 640 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Avila Hernandez, Elvira         ADDRESS ON FILE
AVILA HERNANDEZ, ERIC           ADDRESS ON FILE
AVILA HERNANDEZ, LUZ E          ADDRESS ON FILE
AVILA HERNANDEZ, LYDIA E        ADDRESS ON FILE
AVILA HERNANDEZ, MYRIAM         ADDRESS ON FILE
AVILA HERNANDEZ, NOEMI          ADDRESS ON FILE
AVILA HERNANDEZ, SILVIA         ADDRESS ON FILE
Avila Indio, Guillermo          ADDRESS ON FILE
AVILA JIMENEZ, MAGDALUZ         ADDRESS ON FILE
AVILA JIMENEZ, ROBERTO          ADDRESS ON FILE
AVILA JIMENEZ, ROBERTO          ADDRESS ON FILE
AVILA JIMENEZ, ROMAN M          ADDRESS ON FILE
AVILA JIMENEZ, VICTOR           ADDRESS ON FILE
AVILA LASALLE, MARISOL          ADDRESS ON FILE
AVILA LOPEZ, GRISSEL            ADDRESS ON FILE
AVILA LOPEZ, HILDA A            ADDRESS ON FILE
Avila Lopez, Juan J.            ADDRESS ON FILE
AVILA LOPEZ, JUAN S             ADDRESS ON FILE
AVILA LOPEZ, OMAYRA             ADDRESS ON FILE
AVILA LÓPEZ, OMAYRA             ADDRESS ON FILE
AVILA MARTINEZ, CESAR           ADDRESS ON FILE
AVILA MARTINEZ, MARILU          ADDRESS ON FILE
AVILA MARTINEZ, MIGUEL          ADDRESS ON FILE
AVILA MARTINEZ, NIXALIZ DEL C   ADDRESS ON FILE
AVILA MARTIR, NATALIE           ADDRESS ON FILE
AVILA MEDINA, ANGEL G.          ADDRESS ON FILE
AVILA MEDINA, MARIA M.          ADDRESS ON FILE
AVILA MENDEZ, MARIA I           ADDRESS ON FILE
AVILA MONTANEZ, ADA I           ADDRESS ON FILE
AVILA MONTIJO, YISELL           ADDRESS ON FILE
AVILA MORALES, YAHAIRA          ADDRESS ON FILE
AVILA MUGICA, MARIA CARMEN      ADDRESS ON FILE
AVILA MUNOZ, BENJAMIN           ADDRESS ON FILE
AVILA MUNOZ, RICARDO            ADDRESS ON FILE
Avila Natal, Peter              ADDRESS ON FILE
AVILA NEGRON, MAGALY            ADDRESS ON FILE
AVILA NEGRON, MARITZA           ADDRESS ON FILE
AVILA NIEVES, ANGEL L           ADDRESS ON FILE
AVILA NIEVES, OLGA I            ADDRESS ON FILE
AVILA OCASIO, WANDA             ADDRESS ON FILE
AVILA OJEDA, BEATRIZ            ADDRESS ON FILE
AVILA ORTIZ, JUSTINIANO         ADDRESS ON FILE
Avila Ortiz, Justiniano         ADDRESS ON FILE
Avila Ortiz, Nancy I            ADDRESS ON FILE
AVILA ORTIZ, NILDA              ADDRESS ON FILE
AVILA PACHECO, CARLOS           ADDRESS ON FILE
AVILA PALLENS, IRMA N           ADDRESS ON FILE
AVILA PEREZ, DAVID              ADDRESS ON FILE
AVILA PEREZ, FROILAN            ADDRESS ON FILE
AVILA PEREZ, JUAN C             ADDRESS ON FILE
AVILA PEREZ, PATRIA E.          ADDRESS ON FILE
AVILA PEREZ, RAMON              ADDRESS ON FILE
AVILA PEREZ, RURICO             ADDRESS ON FILE
AVILA PEREZ, SYLVETTE           ADDRESS ON FILE
AVILA PEREZ, THERESITA          ADDRESS ON FILE
AVILA PEREZ, VIVIAN M           ADDRESS ON FILE
AVILA PEREZ, ZAIDA              ADDRESS ON FILE
AVILA PLANAS, GERARDO M         ADDRESS ON FILE
AVILA POUERIET, HECTOR          ADDRESS ON FILE
AVILA QUILES, MARIA DEL P       ADDRESS ON FILE




                                                                            Page 640 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 641 of 3500
                                                                                            Creditor Matrix

Creditor Name                            Address1                               Address2                 Address3   Address4   City            State   PostalCode   Country
AVILA RAMIREZ DE ARELLANO, JULIANNA M    ADDRESS ON FILE
AVILA RAMIREZ, LOURDES B                 ADDRESS ON FILE
AVILA RAMIREZ, NILKA R                   ADDRESS ON FILE
AVILA RAMOS, ILEANA                      ADDRESS ON FILE
Avila Ramos, Wilfredo                    ADDRESS ON FILE
AVILA REINOSA, FELIX                     ADDRESS ON FILE
AVILA REVERON, JOSE J                    ADDRESS ON FILE
AVILA RIVERA, DAVID                      ADDRESS ON FILE
AVILA RIVERA, DAVID                      ADDRESS ON FILE
Avila Rivera, Francisco L                ADDRESS ON FILE
Avila Rivera, Isaurimar                  ADDRESS ON FILE
AVILA RIVERA, OMAR                       ADDRESS ON FILE
AVILA RIVERA, RUTH                       ADDRESS ON FILE
AVILA RODRIGUEZ, ANGEL                   ADDRESS ON FILE
AVILA RODRIGUEZ, CARMEN M.               ADDRESS ON FILE
AVILA RODRIGUEZ, CESAR                   ADDRESS ON FILE
AVILA RODRIGUEZ, DAMARIS                 ADDRESS ON FILE
AVILA RODRIGUEZ, EDUARDO                 ADDRESS ON FILE
AVILA RODRIGUEZ, LIZZETTE M              ADDRESS ON FILE
AVILA RODRIGUEZ, MARVILIZ                ADDRESS ON FILE
AVILA ROMAN, JESSIBEL                    ADDRESS ON FILE
AVILA ROSA, DORIS                        ADDRESS ON FILE
AVILA RUPERTO, SANDRA                    ADDRESS ON FILE
AVILA SANCHEZ, ALEXANDER                 ADDRESS ON FILE
Avila Sandoz, Noe J                      ADDRESS ON FILE
AVILA TORRES, GLENDA OMAYRA              ADDRESS ON FILE
Avila Torres, Jorge                      ADDRESS ON FILE
AVILA TORRES, MARJORY                    ADDRESS ON FILE
AVILA TORRES, VANESSA                    ADDRESS ON FILE
AVILA VARGAS, CARMEN                     ADDRESS ON FILE
AVILA VARGAS, CARMEN ENEIDA              ADDRESS ON FILE
AVILA VAZQUEZ, FRANCISCO A               ADDRESS ON FILE
AVILA VELAZQUEZ, JONATHAN                ADDRESS ON FILE
AVILA VELAZQUEZ, LUIS A.                 ADDRESS ON FILE
AVILA VELAZQUEZ, VANNESA I.              ADDRESS ON FILE
AVILA VELEZ, MARIA E                     ADDRESS ON FILE
AVILA VELEZ, MIRIAM                      ADDRESS ON FILE
AVILA VIRELLA, JOSE                      ADDRESS ON FILE
AVILA VIRELLA, LUZ R.                    ADDRESS ON FILE
AVILA VIRELLA, VIRGINIA E                ADDRESS ON FILE
AVILA, DUBY E.                           ADDRESS ON FILE
AVILA,MARTINEZ & HERNANDEZ               ADDRESS ON FILE
AVILAGARCIA, PEDRO                       ADDRESS ON FILE
AVILAS RIVERA, CARLOS                    ADDRESS ON FILE
AVILES & CRUZ CONSULTANTS AND ATTORNEYS ASA 20 CALLE BUCARE URB VALLE HERMOSO                                                  HORMIGUEROS     PR      00660
Aviles Abdul, Richard                    ADDRESS ON FILE
AVILES ACARON, JENNIFER                  ADDRESS ON FILE
AVILES ACEVEDO, ABIGAIL                  ADDRESS ON FILE
Aviles Acevedo, Angel                    ADDRESS ON FILE
AVILES ACEVEDO, ANGEL                    ADDRESS ON FILE
Aviles Acevedo, Carmelo                  ADDRESS ON FILE
AVILES ACEVEDO, CARMEN M                 ADDRESS ON FILE
AVILES ACEVEDO, DOMINGO                  ADDRESS ON FILE
AVILES ACEVEDO, DOMINGO                  ADDRESS ON FILE
AVILES ACEVEDO, KEYLA G                  ADDRESS ON FILE
Aviles Acevedo, Peter                    ADDRESS ON FILE
Aviles Acevedo, Robert                   ADDRESS ON FILE
Aviles Acevedo, Stanley                  ADDRESS ON FILE
AVILES ACEVEDO, VICTOR                   ADDRESS ON FILE
AVILES ACOSTA, ANGEL A.                  ADDRESS ON FILE




                                                                                           Page 641 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 642 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES ACOSTA, BERNALICE       ADDRESS ON FILE
AVILES ACOSTA, CANDIDA         ADDRESS ON FILE
AVILES ACOSTA, NELSON          ADDRESS ON FILE
AVILES ADORNO, ELBA I          ADDRESS ON FILE
AVILES ADORNO, NORMA           ADDRESS ON FILE
AVILES ALBALADEJO, MARCELINO   ADDRESS ON FILE
AVILES ALICEA, CARMEN S        ADDRESS ON FILE
AVILES ALICEA, MIGDALIA        ADDRESS ON FILE
Aviles Alicea, Nelson          ADDRESS ON FILE
AVILES ALICEA, NOEMI           ADDRESS ON FILE
AVILES ALLENDE, JOANALY        ADDRESS ON FILE
AVILES ALMODOVAR, EDGAR        ADDRESS ON FILE
AVILES ALMODOVAR, EDGAR        ADDRESS ON FILE
AVILES ALMODOVAR, LYDIA        ADDRESS ON FILE
Aviles Almodovar, Lydia E.     ADDRESS ON FILE
AVILES ALVARADO, BIANCA L.     ADDRESS ON FILE
AVILES ALVARADO, EDWIN         ADDRESS ON FILE
AVILES ALVARADO, EDWIN J       ADDRESS ON FILE
AVILES ALVARADO, IRIS          ADDRESS ON FILE
AVILES ALVARADO, IVELISSE      ADDRESS ON FILE
AVILES ALVARADO, LYDIAE E      ADDRESS ON FILE
AVILES ALVARADO, MARIA M       ADDRESS ON FILE
AVILES ALVARADO, YANEIDA E     ADDRESS ON FILE
AVILES ALVAREZ, DELIA          ADDRESS ON FILE
Aviles Alvarez, Manuel         ADDRESS ON FILE
AVILES AMALBERT, ISMAEL        ADDRESS ON FILE
AVILES ANDUJAR, CARLOS         ADDRESS ON FILE
Aviles Andujar, Carlos R       ADDRESS ON FILE
AVILES ANDUJAR, YASIRIS        ADDRESS ON FILE
Aviles Aponte, Christian       ADDRESS ON FILE
Aviles Aponte, Francisco J.    ADDRESS ON FILE
AVILES APONTE, GABRIEL R.      ADDRESS ON FILE
AVILES APONTE, IVAN            ADDRESS ON FILE
AVILES APONTE, LUIS            ADDRESS ON FILE
AVILES AQUINO, ADRIAN          ADDRESS ON FILE
Aviles Aquino, Dennis          ADDRESS ON FILE
AVILES ARGUELLES, ADALBERTO    ADDRESS ON FILE
AVILES AROCHO, CHRISTIAN       ADDRESS ON FILE
Aviles Arocho, Edgar           ADDRESS ON FILE
Aviles Arocho, Elvin           ADDRESS ON FILE
AVILES AROCHO, ELVIN           ADDRESS ON FILE
AVILES ARROYO, DAVID           ADDRESS ON FILE
AVILES ARROYO, DAVID N         ADDRESS ON FILE
AVILES ARROYO, EDWIN           ADDRESS ON FILE
AVILES ARROYO, EDWIN           ADDRESS ON FILE
AVILES ARROYO, JAVIER          ADDRESS ON FILE
AVILES ARROYO, LUIS            ADDRESS ON FILE
AVILES ASENCIO, MAYRA M        ADDRESS ON FILE
AVILES AVILES, ALEJANDRO       ADDRESS ON FILE
AVILES AVILES, ANGELICA        ADDRESS ON FILE
AVILES AVILES, EUGENIA         ADDRESS ON FILE
AVILES AVILES, FRANCES A       ADDRESS ON FILE
AVILES AVILES, GINNY           ADDRESS ON FILE
AVILES AVILES, GINNY G         ADDRESS ON FILE
AVILES AVILES, GLORIA M        ADDRESS ON FILE
AVILES AVILES, JOSE M          ADDRESS ON FILE
AVILES AVILES, LYDIA           ADDRESS ON FILE
AVILES AVILES, MARIBEL         ADDRESS ON FILE
AVILES AVILES, MARILYN A       ADDRESS ON FILE
AVILES AVILES, PEDRO           ADDRESS ON FILE




                                                                           Page 642 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 643 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES AVILES, RAFAEL          ADDRESS ON FILE
AVILES AVILES, SHIRLEY         ADDRESS ON FILE
AVILES BADILLO, HECTOR J.      ADDRESS ON FILE
AVILES BAEZ, ANGELES           ADDRESS ON FILE
AVILES BAEZ, DENNISSE          ADDRESS ON FILE
AVILES BAEZ, JUSTINO           ADDRESS ON FILE
AVILES BAEZ, MANUEL            ADDRESS ON FILE
AVILES BAEZ, MANUEL            ADDRESS ON FILE
AVILES BARRETO, AIDA           ADDRESS ON FILE
AVILES BARRETO, LEONIDES       ADDRESS ON FILE
AVILES BARRETO, WILFREDO       ADDRESS ON FILE
AVILES BATISTA, MIRELLY        ADDRESS ON FILE
AVILES BATISTA, NICKY          ADDRESS ON FILE
AVILES BELLO, CARLOS           ADDRESS ON FILE
AVILES BELPREZ, ANA E.         ADDRESS ON FILE
AVILES BERDECIA, CHRISTIAN A   ADDRESS ON FILE
AVILES BERDECIA, RAMON         ADDRESS ON FILE
AVILES BERMUDEZ, JULIO A       ADDRESS ON FILE
AVILES BERRIOS, AIDA           ADDRESS ON FILE
AVILES BERRIOS, ALBERTO        ADDRESS ON FILE
AVILES BERRIOS, ANA L          ADDRESS ON FILE
AVILES BERRIOS, ISMAEL         ADDRESS ON FILE
AVILES BERRIOS, JOSE           ADDRESS ON FILE
AVILES BERRIOS, ROBERTO        ADDRESS ON FILE
AVILES BIRRIEL, LAURA          ADDRESS ON FILE
Aviles Blanco, Andres          ADDRESS ON FILE
AVILES BLANCO, CHARLES         ADDRESS ON FILE
AVILES BLANCO, ELIA E          ADDRESS ON FILE
AVILES BONILLA MD, DIANA       ADDRESS ON FILE
AVILES BONILLA, ALEJANDRO      ADDRESS ON FILE
AVILES BONILLA, ALEJANDRO      ADDRESS ON FILE
AVILES BONILLA, ENRIQUE        ADDRESS ON FILE
AVILES BONILLA, IRVING         ADDRESS ON FILE
AVILES BONILLA, JANET          ADDRESS ON FILE
AVILES BONILLA, LUZVANI        ADDRESS ON FILE
AVILES BONILLA, MAGDABEL       ADDRESS ON FILE
AVILES BONILLA, MARIA M.       ADDRESS ON FILE
AVILES BONILLA, MARLENE        ADDRESS ON FILE
AVILES BONILLA, MARLENE        ADDRESS ON FILE
AVILES BORIA, ERIC             ADDRESS ON FILE
Aviles Boria, Irving           ADDRESS ON FILE
AVILES BORIA, REY              ADDRESS ON FILE
AVILES BURGOS MD, YANIRA       ADDRESS ON FILE
AVILES BURGOS, ANTONIA         ADDRESS ON FILE
AVILES BURGOS, JOHN            ADDRESS ON FILE
AVILES BURGOS, RAQUEL          ADDRESS ON FILE
AVILES BURGOS, YANIRA          ADDRESS ON FILE
AVILES BUTLER, REYNALDO        ADDRESS ON FILE
AVILES CABAN, ELISA            ADDRESS ON FILE
AVILES CABAN, LILLIAM          ADDRESS ON FILE
AVILES CABAN, MAXIMINA         ADDRESS ON FILE
AVILES CABRERA, ZAIDA          ADDRESS ON FILE
Aviles Cajigas, Wendeliz       ADDRESS ON FILE
AVILES CALDERON, IVAN M        ADDRESS ON FILE
AVILES CALDERON, JEANITZA      ADDRESS ON FILE
AVILES CANCEL, ARLEEN          ADDRESS ON FILE
AVILES CANCEL, EGREIN          ADDRESS ON FILE
AVILES CANCEL, LILLIAM         ADDRESS ON FILE
AVILES CANDELARIA, ANTONIO     ADDRESS ON FILE
AVILES CARABALL, BEATRIZ       ADDRESS ON FILE




                                                                           Page 643 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 644 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES CARATINI, NIVEA           ADDRESS ON FILE
AVILES CARDONA, OHMAYRA          ADDRESS ON FILE
AVILES CARDONA, SANDRA           ADDRESS ON FILE
AVILES CARDOZA, NORMA I          ADDRESS ON FILE
AVILES CARMONA, ALEXIES          ADDRESS ON FILE
AVILES CARMONA, HOLVIN           ADDRESS ON FILE
AVILES CARMONA, HOLVIN E         ADDRESS ON FILE
AVILES CARO, MAGDA               ADDRESS ON FILE
AVILES CARO, MILDRED J           ADDRESS ON FILE
AVILES CARRERO, EDDIE            ADDRESS ON FILE
AVILES CARRO, JOHN J             ADDRESS ON FILE
AVILES CARTAGENA, EDDA R         ADDRESS ON FILE
AVILES CARTAGENA, EDNA           ADDRESS ON FILE
AVILES CARTAGENA, LUIS           ADDRESS ON FILE
AVILES CARTAGENA, MARITZABEL     ADDRESS ON FILE
AVILES CARTAGENA, NELIDA         ADDRESS ON FILE
AVILES CARTAGENA, VICTOR         ADDRESS ON FILE
AVILES CASANOVA, GLENDALIZ       ADDRESS ON FILE
AVILES CASANOVA, IDALIZ          ADDRESS ON FILE
AVILES CASIANO, EFRAIN           ADDRESS ON FILE
Aviles Casiano, Emilio           ADDRESS ON FILE
AVILES CASIANO, JESSICA          ADDRESS ON FILE
AVILES CASILLAS, IDAMARYS        ADDRESS ON FILE
AVILES CASILLAS, SHEYLA AVILES   ADDRESS ON FILE
AVILES CASTELLANOS, LUIS A       ADDRESS ON FILE
AVILES CASTILLO, GLENDA LEE      ADDRESS ON FILE
AVILES CASTILLO, KENNETH         ADDRESS ON FILE
AVILES CASTILLO, MANUEL          ADDRESS ON FILE
AVILES CASTRO, JEANNETTE         ADDRESS ON FILE
AVILES CASTRO, JORGE             ADDRESS ON FILE
AVILES CASTRO, LYNNETTE          ADDRESS ON FILE
AVILES CASTRO, NILDA             ADDRESS ON FILE
AVILES CESTERO, NEYSA            ADDRESS ON FILE
AVILES CHAPARRO, NESTOR          ADDRESS ON FILE
AVILES CINTRON, ALEJANDRINO      ADDRESS ON FILE
AVILES CINTRON, MERAB            ADDRESS ON FILE
AVILES CINTRON, NEREIDA          ADDRESS ON FILE
AVILES CINTRON, NILDA I          ADDRESS ON FILE
AVILES COLLAZO, GLORIA           ADDRESS ON FILE
Aviles Collazo, Judith M         ADDRESS ON FILE
AVILES COLLAZO,GISET             ADDRESS ON FILE
AVILES COLON, ANGEL L.           ADDRESS ON FILE
AVILES COLON, ANGEL M            ADDRESS ON FILE
AVILES COLON, CARLOS             ADDRESS ON FILE
AVILES COLON, CARMEN M           ADDRESS ON FILE
AVILES COLON, CARMEN N           ADDRESS ON FILE
AVILES COLON, EDMARIE            ADDRESS ON FILE
AVILES COLON, FELIX L            ADDRESS ON FILE
AVILES COLON, GINNETTE           ADDRESS ON FILE
AVILES COLON, JORGE              ADDRESS ON FILE
AVILES COLON, JOSE               ADDRESS ON FILE
Aviles Colon, Jose L             ADDRESS ON FILE
AVILES COLON, LUIS A             ADDRESS ON FILE
AVILES COLON, MARIA D            ADDRESS ON FILE
AVILES COLON, MONICA             ADDRESS ON FILE
AVILES COLON, NILSA              ADDRESS ON FILE
AVILES COLON, NOEL               ADDRESS ON FILE
Aviles Colon, Ramiro             ADDRESS ON FILE
AVILES COLON, ROSHELLY           ADDRESS ON FILE
AVILES COLON, SAIMARA            ADDRESS ON FILE




                                                                             Page 644 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 645 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City            State   PostalCode   Country
AVILES COLON, WANDA                ADDRESS ON FILE
AVILES COLON, WILBERT J.           ADDRESS ON FILE
AVILES COLON, YASMINE              ADDRESS ON FILE
AVILES CONCEPCION, MADELIN         ADDRESS ON FILE
AVILES CONCEPCION, OLGA I          ADDRESS ON FILE
AVILES CORDERO, ALICIA M           ADDRESS ON FILE
AVILES CORDERO, BRENDA             ADDRESS ON FILE
AVILES CORDERO, LILYBETH           ADDRESS ON FILE
AVILES CORDERO, MIGUEL             ADDRESS ON FILE
Aviles Cordero, Miguel A           ADDRESS ON FILE
Aviles Cordero, Omar               ADDRESS ON FILE
AVILES CORTES, MARINA              ADDRESS ON FILE
AVILES CORTES, PEGGY               ADDRESS ON FILE
AVILES CORTES, ROSA                ADDRESS ON FILE
AVILES CORTIJO, ANGELO             ADDRESS ON FILE
AVILES CRESPO, CHRISTIAN           ADDRESS ON FILE
AVILES CRESPO, CHRISTIAN           ADDRESS ON FILE
AVILES CRUZ Y ASOCIADOS            SA 20 BUCARE              VALLE HERMOSO                                          HORMIGUEROS     PR      00660
AVILES CRUZ, AIXA                  ADDRESS ON FILE
AVILES CRUZ, ALEXIS                ADDRESS ON FILE
AVILES CRUZ, CARLOS                ADDRESS ON FILE
AVILES CRUZ, DAISY                 ADDRESS ON FILE
AVILES CRUZ, DAVID                 ADDRESS ON FILE
AVILES CRUZ, EDWIN                 ADDRESS ON FILE
Aviles Cruz, Edwin P.              ADDRESS ON FILE
Aviles Cruz, Jose                  ADDRESS ON FILE
AVILES CRUZ, JOSE D                ADDRESS ON FILE
AVILES CRUZ, KAREN                 ADDRESS ON FILE
AVILES CRUZ, LUDMARY               ADDRESS ON FILE
AVILES CRUZ, NILDA                 ADDRESS ON FILE
AVILES CRUZ, NILDA I               ADDRESS ON FILE
AVILES CRUZ, OSCAR                 ADDRESS ON FILE
AVILES CRUZ, RUBEN                 ADDRESS ON FILE
AVILES CRUZ, SARITA                ADDRESS ON FILE
AVILES CUPELES, LUANI              ADDRESS ON FILE
AVILES CURET, DEBORAH              ADDRESS ON FILE
AVILES DE CAMPOS, VIRGEN M         ADDRESS ON FILE
Aviles De Castro, Tomasa           ADDRESS ON FILE
AVILES DE JESUS, GLORIA            ADDRESS ON FILE
AVILES DE JESUS, KAROL G           ADDRESS ON FILE
AVILES DE JESUS, LORRAINE DESIRE   ADDRESS ON FILE
AVILES DE JESUS, MARINIEVES        ADDRESS ON FILE
AVILES DE LA TORRE, AMY            ADDRESS ON FILE
AVILES DEL VALLE, NESTOR           ADDRESS ON FILE
AVILES DELGADO, ELIZABET           ADDRESS ON FILE
AVILES DELGADO, EMILY E            ADDRESS ON FILE
AVILES DELGADO, FRANCISCO          ADDRESS ON FILE
AVILES DELIZ, NOELANI              ADDRESS ON FILE
AVILES DELIZ, NOELANI              ADDRESS ON FILE
AVILES DEVARIE, EDMARI             ADDRESS ON FILE
AVILES DIAZ, CHRISTIAN             ADDRESS ON FILE
Aviles Diaz, Ivette                ADDRESS ON FILE
AVILES DIAZ, JAVIER                ADDRESS ON FILE
AVILES DIAZ, JUAN                  ADDRESS ON FILE
AVILES DIAZ, NORMA I               ADDRESS ON FILE
AVILES DIAZ, NORMA I               ADDRESS ON FILE
AVILES DIAZ, WILLIAM               ADDRESS ON FILE
AVILES DIAZ, YAHIRA                ADDRESS ON FILE
AVILES DOBLES, PEDRO               ADDRESS ON FILE
AVILES DUPREY, VANGIE E            ADDRESS ON FILE




                                                                               Page 645 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 646 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES DURAN, PATTERSON            ADDRESS ON FILE
AVILES ECHEVARRIA, IVETTE          ADDRESS ON FILE
AVILES ECHEVARRIA, JOSE            ADDRESS ON FILE
AVILES ESCABI, ANA                 ADDRESS ON FILE
AVILES ESPINOSA, CARMEN R          ADDRESS ON FILE
AVILES ESTRADA, MYRIAM L           ADDRESS ON FILE
AVILES FALCON, MICHAEL             ADDRESS ON FILE
AVILES FALCON, MICHAEL             ADDRESS ON FILE
AVILES FELICIANO, ABIGAIL          ADDRESS ON FILE
AVILES FELICIANO, ANGELICA         ADDRESS ON FILE
AVILES FELICIANO, IVELISSE         ADDRESS ON FILE
AVILES FELICIANO, LUCINDA          ADDRESS ON FILE
AVILES FELICIANO, MIGUEL A         ADDRESS ON FILE
AVILES FELICIANO, ZAIDA            ADDRESS ON FILE
AVILES FELIU, JAVIER               ADDRESS ON FILE
AVILES FELIU, JUAN                 ADDRESS ON FILE
AVILES FERNANDEZ, DIANA CAROLINA   ADDRESS ON FILE
AVILES FERNANDEZ, NADIA            ADDRESS ON FILE
AVILES FERNANDEZ, ZINTHIA          ADDRESS ON FILE
AVILES FIGUEROA, ARELI             ADDRESS ON FILE
AVILES FIGUEROA, BETHLYN           ADDRESS ON FILE
AVILES FIGUEROA, EMILIO            ADDRESS ON FILE
AVILES FIGUEROA, LILY              ADDRESS ON FILE
AVILES FIGUEROA, MIGDALIA          ADDRESS ON FILE
AVILES FIGUEROA, SALBY A.          ADDRESS ON FILE
AVILES FLORES, JOSEFA              ADDRESS ON FILE
AVILES FLORES, LAURA R             ADDRESS ON FILE
AVILES FONSECA, OSVALDO            ADDRESS ON FILE
AVILES FRANCO, REYNALDO            ADDRESS ON FILE
AVILES FRANCO, VICTOR J            ADDRESS ON FILE
AVILES FRED, ISMAEL                ADDRESS ON FILE
AVILES FRED, LUIS M                ADDRESS ON FILE
AVILES FRED, MARLENE               ADDRESS ON FILE
AVILES FRED, MARLENE I             ADDRESS ON FILE
AVILES FREYTES, MARIA E.           ADDRESS ON FILE
AVILES FUENTES, PEDRO J            ADDRESS ON FILE
AVILES GALLOZA, WANDA I            ADDRESS ON FILE
AVILES GARAY, MARINES              ADDRESS ON FILE
AVILES GARCIA, AMARILY             ADDRESS ON FILE
AVILES GARCIA, CHRIS               ADDRESS ON FILE
AVILES GARCIA, DENISE              ADDRESS ON FILE
AVILES GARCIA, DORYSABEL           ADDRESS ON FILE
AVILES GARCIA, IRIS D              ADDRESS ON FILE
AVILES GARCIA, JOSE                ADDRESS ON FILE
AVILES GARCIA, MARITZA             ADDRESS ON FILE
AVILES GARCIA, WILMA               ADDRESS ON FILE
AVILES GAUD, VALERIE               ADDRESS ON FILE
AVILES GEIGEL, GLADYS              ADDRESS ON FILE
Aviles Ghiliotty, Guillermo        ADDRESS ON FILE
AVILES GINES, MARCOS               ADDRESS ON FILE
AVILES GONZALES, JOSE A.           ADDRESS ON FILE
AVILES GONZALEZ MD, CARLOS A       ADDRESS ON FILE
Aviles Gonzalez, Ana L             ADDRESS ON FILE
AVILES GONZALEZ, BARBARA           ADDRESS ON FILE
AVILES GONZALEZ, BLANCA M          ADDRESS ON FILE
AVILES GONZALEZ, CARLOS            ADDRESS ON FILE
AVILES GONZALEZ, CARMEN            ADDRESS ON FILE
AVILES GONZALEZ, CARMEN D          ADDRESS ON FILE
AVILES GONZALEZ, CHRISTIAN         ADDRESS ON FILE
AVILES GONZALEZ, DIMARIE           ADDRESS ON FILE




                                                                               Page 646 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 647 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES GONZALEZ, EDWIN        ADDRESS ON FILE
AVILES GONZALEZ, GABRIEL      ADDRESS ON FILE
AVILES GONZALEZ, GLADYS M     ADDRESS ON FILE
AVILES GONZALEZ, GRISELLE     ADDRESS ON FILE
AVILES GONZALEZ, IRISELIS     ADDRESS ON FILE
AVILES GONZALEZ, JOSE L       ADDRESS ON FILE
AVILES GONZALEZ, JUAN         ADDRESS ON FILE
AVILES GONZALEZ, LIZAIRY M    ADDRESS ON FILE
AVILES GONZALEZ, LIZMARIE     ADDRESS ON FILE
AVILES GONZALEZ, LUIS         ADDRESS ON FILE
AVILES GONZALEZ, MARIA S      ADDRESS ON FILE
AVILES GONZALEZ, NIXZALIS     ADDRESS ON FILE
AVILES GONZALEZ, NORMA I      ADDRESS ON FILE
AVILES GONZALEZ, ORLANDO X.   ADDRESS ON FILE
AVILES GONZALEZ, RAYMOND      ADDRESS ON FILE
AVILES GONZALEZ, ROBERTO A    ADDRESS ON FILE
AVILES GONZALEZ, SALVADOR     ADDRESS ON FILE
AVILES GONZALEZ, SANTIAGO     ADDRESS ON FILE
AVILES GONZALEZ, VICTOR       ADDRESS ON FILE
AVILES GONZALEZ, VICTOR S     ADDRESS ON FILE
AVILES GOTOS, MARTIN          ADDRESS ON FILE
AVILES GRACIA, MILAGROS       ADDRESS ON FILE
AVILES GRACIAS, BLANCA I      ADDRESS ON FILE
AVILES GUZMAN, EMIGDIO        ADDRESS ON FILE
AVILES GUZMAN, ESTRELLA A     ADDRESS ON FILE
Aviles Guzman, Estrella A     ADDRESS ON FILE
Aviles Guzman, Jose           ADDRESS ON FILE
AVILES GUZMAN, JUANA          ADDRESS ON FILE
AVILES HEREDIA, ADANILIDA     ADDRESS ON FILE
Aviles Heredia, Gerardo       ADDRESS ON FILE
Aviles Heredia, Miguel A      ADDRESS ON FILE
AVILES HERNANDEZ MD, ISRAEL   ADDRESS ON FILE
AVILES HERNANDEZ, ADA         ADDRESS ON FILE
AVILES HERNANDEZ, ALEJANDRO   ADDRESS ON FILE
AVILES HERNANDEZ, AUREAMIR    ADDRESS ON FILE
Aviles Hernandez, Carlos J    ADDRESS ON FILE
AVILES HERNANDEZ, CARMEN N.   ADDRESS ON FILE
AVILES HERNANDEZ, DENISE      ADDRESS ON FILE
AVILES HERNANDEZ, DIANA       ADDRESS ON FILE
AVILES HERNANDEZ, ILEANA      ADDRESS ON FILE
AVILES HERNANDEZ, ISRAEL      ADDRESS ON FILE
AVILES HERNANDEZ, JESUS       ADDRESS ON FILE
AVILES HERNANDEZ, JOSUE       ADDRESS ON FILE
AVILES HERNANDEZ, JUAN        ADDRESS ON FILE
AVILES HERNANDEZ, LUIS G      ADDRESS ON FILE
AVILES HERNANDEZ, LUZ I.      ADDRESS ON FILE
AVILES HERNANDEZ, LUZ N       ADDRESS ON FILE
AVILES HERNANDEZ, MARCOS      ADDRESS ON FILE
AVILES HERNANDEZ, MARILYN     ADDRESS ON FILE
AVILES HERNANDEZ, NOHEL       ADDRESS ON FILE
AVILES HERNANDEZ, ROBERTO     ADDRESS ON FILE
AVILES HERNANDEZ, WANDA       ADDRESS ON FILE
AVILES HERNANDEZ, YOSIVAN     ADDRESS ON FILE
AVILES HIDALGO, IDELISA L     ADDRESS ON FILE
AVILES IRIZARRY, JUAN         ADDRESS ON FILE
Aviles Irizarry, Omar R       ADDRESS ON FILE
AVILES IRIZARRY, OMAR R.      ADDRESS ON FILE
AVILES IRIZARRY, REGINA       ADDRESS ON FILE
Aviles Irizarry, Waldemar     ADDRESS ON FILE
AVILES JIMENEZ, ANGELICA      ADDRESS ON FILE




                                                                          Page 647 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 648 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES JIMENEZ, DIMARIS       ADDRESS ON FILE
AVILES JIMENEZ, EDGARDO       ADDRESS ON FILE
AVILES JIMENEZ, HIRAM         ADDRESS ON FILE
AVILES JIMENEZ, HIRAM         ADDRESS ON FILE
AVILES JIMENEZ, JOSE R        ADDRESS ON FILE
AVILES JIMENEZ, JOSUELI       ADDRESS ON FILE
AVILES JIMENEZ, LUIS          ADDRESS ON FILE
AVILES JIMENEZ, NOEL RAMON    ADDRESS ON FILE
AVILES JIMENEZ, NORMA E       ADDRESS ON FILE
AVILES JIMENEZ, ROBERTO       ADDRESS ON FILE
AVILES JORDAN, DALILA         ADDRESS ON FILE
AVILES JORDAN, SUREY          ADDRESS ON FILE
AVILES JORDAN, ZAIRA          ADDRESS ON FILE
AVILES LA SANTA, FELIX        ADDRESS ON FILE
AVILES LAMBERTY, JOSE         ADDRESS ON FILE
Aviles Lamberty, Jose F       ADDRESS ON FILE
AVILES LARRIUZ, WILSON        ADDRESS ON FILE
AVILES LASSALLE, FRANCISCO    ADDRESS ON FILE
AVILES LASSALLE, FRANCISCO    ADDRESS ON FILE
AVILES LASSUS, ESTRELLA       ADDRESS ON FILE
AVILES LAUREANO, CLARIVEL     ADDRESS ON FILE
Aviles Lausell, Carmen C      ADDRESS ON FILE
AVILES LAZU, YARELIZ          ADDRESS ON FILE
AVILES LEBRON, ALEJANDRA B    ADDRESS ON FILE
AVILES LIZARDI, CARMEN        ADDRESS ON FILE
AVILES LOPEZ, CARLOS          ADDRESS ON FILE
AVILES LOPEZ, EFRAIN          ADDRESS ON FILE
AVILES LOPEZ, IRIS M          ADDRESS ON FILE
AVILES LOPEZ, JIMARY          ADDRESS ON FILE
AVILES LOPEZ, JIMMY           ADDRESS ON FILE
Aviles Lopez, Jose Joel       ADDRESS ON FILE
AVILES LOPEZ, LISMAR          ADDRESS ON FILE
AVILES LOPEZ, LUIS F          ADDRESS ON FILE
AVILES LOPEZ, MARITZA         ADDRESS ON FILE
AVILES LOPEZ, MELISSA         ADDRESS ON FILE
AVILES LOPEZ, MIGUEL          ADDRESS ON FILE
AVILES LOPEZ, NORIS Y         ADDRESS ON FILE
AVILES LOPEZ, ORLANDO         ADDRESS ON FILE
AVILES LOPEZ, SANTOS          ADDRESS ON FILE
AVILES LOPEZ, WILLIAM         ADDRESS ON FILE
AVILES LOPEZ, WILTHER         ADDRESS ON FILE
AVILES LORENZO, EBERLIE       ADDRESS ON FILE
AVILES LORENZO, LUIS          ADDRESS ON FILE
AVILES LUGO, JOSE             ADDRESS ON FILE
AVILES LUGO, NICOLE M.        ADDRESS ON FILE
AVILES LUGO, RONNEL           ADDRESS ON FILE
AVILES MAISONET, JOSE         ADDRESS ON FILE
AVILES MAISONET, RAMON        ADDRESS ON FILE
AVILES MALDONADO, ALICE W     ADDRESS ON FILE
AVILES MALDONADO, ARMANDO G   ADDRESS ON FILE
AVILES MALDONADO, AUREA M     ADDRESS ON FILE
AVILES MALDONADO, CARLOS      ADDRESS ON FILE
AVILES MALDONADO, CARMEN A    ADDRESS ON FILE
AVILES MALDONADO, ISRAEL      ADDRESS ON FILE
AVILES MALDONADO, JULIO       ADDRESS ON FILE
AVILES MALDONADO, MARIA A     ADDRESS ON FILE
AVILES MALDONADO, MARTIN      ADDRESS ON FILE
AVILES MANGUAL, DIANA         ADDRESS ON FILE
AVILES MANGUAL, DIANA         ADDRESS ON FILE
AVILES MANGUAL, LOURDES       ADDRESS ON FILE




                                                                          Page 648 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 649 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES MARIN, GILBERTO         ADDRESS ON FILE
AVILES MARIN, JOSE ERNESTO     ADDRESS ON FILE
AVILES MARIN, JULIO F.         ADDRESS ON FILE
AVILES MARIN, RAMON A.         ADDRESS ON FILE
AVILES MARIN, SARY             ADDRESS ON FILE
AVILES MARQUES, LIZA M         ADDRESS ON FILE
AVILES MARRERO, OLGA W         ADDRESS ON FILE
AVILES MARRERO, YUIZA          ADDRESS ON FILE
AVILES MARRERO, YUIZA          ADDRESS ON FILE
AVILES MARTINEZ, CLARIMAR      ADDRESS ON FILE
AVILES MARTINEZ, DANIEL        ADDRESS ON FILE
AVILES MARTINEZ, MARIA A       ADDRESS ON FILE
AVILES MARTINEZ, MARILIZET     ADDRESS ON FILE
AVILES MARTINEZ, MIRIAM        ADDRESS ON FILE
AVILES MARTINEZ, NOEL          ADDRESS ON FILE
AVILES MARTINEZ, NORBERTO J    ADDRESS ON FILE
AVILES MARTINEZ, NORBERTO J.   ADDRESS ON FILE
AVILES MARTINEZ, RITA A        ADDRESS ON FILE
AVILES MARTINEZ, ROSA D        ADDRESS ON FILE
AVILES MARTINEZ, SILVIA        ADDRESS ON FILE
AVILES MARTINEZ, VIMARY        ADDRESS ON FILE
AVILES MATIAS, CARMEN          ADDRESS ON FILE
AVILES MATOS, LETICIA          ADDRESS ON FILE
AVILES MAURY, ELISA            ADDRESS ON FILE
AVILES MAYSONET MD, JOSE       ADDRESS ON FILE
AVILES MAYSONET MD, LEYZA      ADDRESS ON FILE
AVILES MEDINA, FELIX DE J      ADDRESS ON FILE
AVILES MEDINA, GLORIA E.       ADDRESS ON FILE
AVILES MEDINA, IVAN            ADDRESS ON FILE
AVILES MEDINA, LAURA           ADDRESS ON FILE
AVILES MEDINA, MARIA I         ADDRESS ON FILE
Aviles Medina, Nitza           ADDRESS ON FILE
AVILES MEDINA, NORMA           ADDRESS ON FILE
AVILES MEDINA, NORMA I         ADDRESS ON FILE
AVILES MEDINA, WALESKA         ADDRESS ON FILE
AVILES MELENDEZ, AMARILLYS     ADDRESS ON FILE
AVILES MELENDEZ, AMARILLYS     ADDRESS ON FILE
AVILES MELENDEZ, BENJAMIN      ADDRESS ON FILE
AVILES MELENDEZ, FRANCHESKA    ADDRESS ON FILE
AVILES MELENDEZ, JESSICA       ADDRESS ON FILE
AVILES MELENDEZ, JESUSA        ADDRESS ON FILE
AVILES MELENDEZ, KARIGNACHY    ADDRESS ON FILE
AVILES MENDES, BLANCA E        ADDRESS ON FILE
Aviles Mendez, Antonio         ADDRESS ON FILE
Aviles Mendez, Daniel          ADDRESS ON FILE
Aviles Mendez, Gilberto        ADDRESS ON FILE
AVILES MENDEZ, JEANNETTE       ADDRESS ON FILE
AVILES MENDEZ, MAMERTA         ADDRESS ON FILE
AVILES MENDEZ, MARICELA        ADDRESS ON FILE
AVILES MENDEZ, MILAGROS        ADDRESS ON FILE
AVILES MENDEZ, NELSON          ADDRESS ON FILE
AVILES MENDEZ, YEISENIT        ADDRESS ON FILE
AVILES MENDOZA, LIZANDRA       ADDRESS ON FILE
AVILES MENDOZA, LIZANDRA       ADDRESS ON FILE
AVILES MENDOZA, NILENID        ADDRESS ON FILE
AVILES MERCADO, HILDA I        ADDRESS ON FILE
AVILES MERCADO, LUZ E          ADDRESS ON FILE
AVILES MERCADO, MARILYN        ADDRESS ON FILE
AVILES MERCADO, MYRAIDA        ADDRESS ON FILE
AVILES MERCADO, NOEMI          ADDRESS ON FILE




                                                                           Page 649 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 650 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES MERCADO, RAFAEL          ADDRESS ON FILE
AVILES MERCADO, VANESSA         ADDRESS ON FILE
AVILES MERCADO, YALADY          ADDRESS ON FILE
AVILES MIRANDA, EMMA DAMARIS    ADDRESS ON FILE
AVILES MIRANDA, MAXIMO          ADDRESS ON FILE
AVILES MIRANDA, SYLVIA          ADDRESS ON FILE
AVILES MOJICA, ANGEL            ADDRESS ON FILE
AVILES MOJICA, ISABEL           ADDRESS ON FILE
AVILES MOJICA, LUZ R            ADDRESS ON FILE
AVILES MOJICA, MANUEL           ADDRESS ON FILE
AVILES MOLINA, ISRAEL           ADDRESS ON FILE
AVILES MOLINA, JORGE            ADDRESS ON FILE
AVILES MONTANEZ, ROBERTO        ADDRESS ON FILE
AVILES MONTES, ANGEL            ADDRESS ON FILE
AVILES MONTES, CARMEN L         ADDRESS ON FILE
AVILES MONTIJO, JUAN            ADDRESS ON FILE
AVILES MORALES, CARLOS          ADDRESS ON FILE
AVILES MORALES, ESPERANZA       ADDRESS ON FILE
AVILES MORALES, EVELYN          ADDRESS ON FILE
AVILES MORALES, JOSE            ADDRESS ON FILE
AVILES MORALES, JUAN            ADDRESS ON FILE
Aviles Morales, Luis A.         ADDRESS ON FILE
AVILES MORALES, MARIA           ADDRESS ON FILE
AVILES MORALES, MERCEDES        ADDRESS ON FILE
AVILES MORALES, MOISES          ADDRESS ON FILE
AVILES MORALES, ROBINSON        ADDRESS ON FILE
AVILES MORAN, MARISOL           ADDRESS ON FILE
AVILES MORENO, MILCA V          ADDRESS ON FILE
AVILES MOUX, JOSE               ADDRESS ON FILE
AVILES MUÑOZ MD, JOSE L         ADDRESS ON FILE
AVILES MUNOZ, ALICE             ADDRESS ON FILE
AVILES MUNOZ, ANGEL             ADDRESS ON FILE
AVILES MUNOZ, ANTONIO           ADDRESS ON FILE
AVILES MUNOZ, TERESA            ADDRESS ON FILE
AVILES NADAL, ANGEL             ADDRESS ON FILE
AVILES NADAL, MARIA M           ADDRESS ON FILE
AVILES NAVARRO, IVELISSE        ADDRESS ON FILE
AVILES NEGRON, GILBERTO         ADDRESS ON FILE
AVILES NEGRON, ISIDRA           ADDRESS ON FILE
AVILES NEGRON, ISNOEL           ADDRESS ON FILE
AVILES NEGRON, JUAN J           ADDRESS ON FILE
AVILES NEGRON, LUIS             ADDRESS ON FILE
AVILES NEGRON, LUIS             ADDRESS ON FILE
AVILES NEGRON, MARIA DE LOS A   ADDRESS ON FILE
AVILES NEGRON, MERARYS          ADDRESS ON FILE
AVILES NEGRON, MYRIAM S         ADDRESS ON FILE
AVILES NEGRON, RAYMOND          ADDRESS ON FILE
AVILES NEGRON, YOMARIE          ADDRESS ON FILE
AVILES NEGRONI, IVAN            ADDRESS ON FILE
AVILES NIEVES, CRISTINA         ADDRESS ON FILE
AVILES NIEVES, FELIX            ADDRESS ON FILE
AVILES NIEVES, HEIDI            ADDRESS ON FILE
AVILES NIEVES, IVEMIN           ADDRESS ON FILE
AVILES NIEVES, LISSETTE         ADDRESS ON FILE
AVILES NIEVES, LUZ M            ADDRESS ON FILE
AVILES NIEVES, NATALIA          ADDRESS ON FILE
AVILES NIEVES,LISSETTE          ADDRESS ON FILE
AVILES NUNEZ, JESUS             ADDRESS ON FILE
AVILES NUNEZ, JESUS             ADDRESS ON FILE
AVILES NUNEZ, LYMARIS           ADDRESS ON FILE




                                                                            Page 650 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 651 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES NUNEZ, MARIA DEL       ADDRESS ON FILE
Aviles Ocasio, Andres         ADDRESS ON FILE
AVILES OCASIO, EDWIN          ADDRESS ON FILE
AVILES OCASIO, JULIO C        ADDRESS ON FILE
AVILES OCASIO, MARIA I.       ADDRESS ON FILE
AVILES OCASIO, MIRIAM         ADDRESS ON FILE
AVILES OCASIO, SAMIRA         ADDRESS ON FILE
AVILES OCASIO, VICTOR         ADDRESS ON FILE
Aviles Olavarria, Ernesto J   ADDRESS ON FILE
AVILES OLIVER, ALEX           ADDRESS ON FILE
AVILES OLIVIERI, NESTOR I.    ADDRESS ON FILE
AVILES OLIVO, YANIRA          ADDRESS ON FILE
AVILES OLIVO, YANIRA          ADDRESS ON FILE
AVILES OQUENDO, YARELIS       ADDRESS ON FILE
AVILES ORSINI, DENNIS JOEL    ADDRESS ON FILE
AVILES ORTEGA, LUZ R          ADDRESS ON FILE
AVILES ORTEGA, MINERVA        ADDRESS ON FILE
AVILES ORTEGA, MINERVA        ADDRESS ON FILE
Aviles Ortiz, Agdel           ADDRESS ON FILE
AVILES ORTIZ, ALEXIE          ADDRESS ON FILE
AVILES ORTIZ, CARMEN L        ADDRESS ON FILE
Aviles Ortiz, Carmen L        ADDRESS ON FILE
AVILES ORTIZ, CARMEN M        ADDRESS ON FILE
AVILES ORTIZ, DALYN           ADDRESS ON FILE
AVILES ORTIZ, FRANCES         ADDRESS ON FILE
AVILES ORTIZ, GERARDO         ADDRESS ON FILE
AVILES ORTIZ, GERMAN          ADDRESS ON FILE
AVILES ORTIZ, ILIARIS         ADDRESS ON FILE
AVILES ORTIZ, JACKELINE       ADDRESS ON FILE
AVILES ORTIZ, JEANNETTE       ADDRESS ON FILE
AVILES ORTIZ, NOHEL           ADDRESS ON FILE
Aviles Otero, Juan L          ADDRESS ON FILE
AVILES PABON, EDUARDO         ADDRESS ON FILE
Aviles Pabon, Javier R        ADDRESS ON FILE
AVILES PABON, JOSE R          ADDRESS ON FILE
Aviles Pacheco, Lucas         ADDRESS ON FILE
AVILES PADILLA, ANGEL         ADDRESS ON FILE
AVILES PADILLA, CARLOS        ADDRESS ON FILE
AVILES PADILLA, MARITZA       ADDRESS ON FILE
AVILES PADILLA, VIVIAN        ADDRESS ON FILE
AVILES PADILLA, WILSON        ADDRESS ON FILE
AVILES PADIN, CARMEN M        ADDRESS ON FILE
AVILES PADIN, ISAAC           ADDRESS ON FILE
AVILES PADIN, JOSE E          ADDRESS ON FILE
AVILES PADIN, LUZ E           ADDRESS ON FILE
AVILES PADIN, REYNALDO        ADDRESS ON FILE
AVILES PADIN, ZORAIDA         ADDRESS ON FILE
AVILES PAGAN, ANABEL          ADDRESS ON FILE
AVILES PAGAN, DIANA           ADDRESS ON FILE
AVILES PAGAN, LILLIAN N       ADDRESS ON FILE
AVILES PARDO, MAYRA           ADDRESS ON FILE
AVILES PARES, SONIA           ADDRESS ON FILE
AVILES PASTRANA, GINELISSE    ADDRESS ON FILE
AVILES PASTRANA, OLGA I       ADDRESS ON FILE
AVILES PEDROZA, EDDIE E       ADDRESS ON FILE
AVILES PERELES, JUANITA       ADDRESS ON FILE
AVILES PEREZ, ABIMAEL         ADDRESS ON FILE
AVILES PEREZ, ALENIS          ADDRESS ON FILE
AVILES PEREZ, ALICIA          ADDRESS ON FILE
AVILES PEREZ, BETHZAIDA       ADDRESS ON FILE




                                                                          Page 651 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 652 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES PEREZ, BRAULIO            ADDRESS ON FILE
AVILES PEREZ, CARLOS             ADDRESS ON FILE
AVILES PEREZ, CARLOS             ADDRESS ON FILE
AVILES PEREZ, EDITH              ADDRESS ON FILE
AVILES PEREZ, EDITH              ADDRESS ON FILE
Aviles Perez, Enrique            ADDRESS ON FILE
AVILES PEREZ, ENRIQUETA          ADDRESS ON FILE
AVILES PEREZ, GRISELLE           ADDRESS ON FILE
Aviles Perez, Irma E             ADDRESS ON FILE
AVILES PEREZ, JOANNA             ADDRESS ON FILE
AVILES PEREZ, JORGE              ADDRESS ON FILE
AVILES PEREZ, KARLA              ADDRESS ON FILE
AVILES PEREZ, KARLA S            ADDRESS ON FILE
AVILES PEREZ, MARIA              ADDRESS ON FILE
AVILES PEREZ, MARITZA            ADDRESS ON FILE
AVILES PEREZ, NAUD               ADDRESS ON FILE
AVILES PEREZ, NILSA              ADDRESS ON FILE
AVILES PEREZ, NYDIA              ADDRESS ON FILE
AVILES PEREZ, NYDIA              ADDRESS ON FILE
AVILES PEREZ, PHILIPPE A         ADDRESS ON FILE
AVILES PEREZ, RAMONITA           ADDRESS ON FILE
AVILES PEREZ, SORIMAR            ADDRESS ON FILE
AVILES PEREZ, WILLIAM            ADDRESS ON FILE
AVILES PEREZ, YOLANDA            ADDRESS ON FILE
AVILES PIZARRO, CARMELO          ADDRESS ON FILE
AVILES PIZARRO, HECTOR           ADDRESS ON FILE
AVILES PLAZA, YERILDA            ADDRESS ON FILE
AVILES PORRATA‐DORIA, ZORYLENY   ADDRESS ON FILE
AVILES QUINONES, ALEXANDER       ADDRESS ON FILE
AVILES QUINONES, VICENTE         ADDRESS ON FILE
AVILES QUINONEZ, RICARDO         ADDRESS ON FILE
AVILES QUINTERO, VIVIAN M.       ADDRESS ON FILE
AVILES RAMIREZ, DOMINGO          ADDRESS ON FILE
AVILES RAMIREZ, GUSTAVO          ADDRESS ON FILE
AVILES RAMIREZ, HIGINIO          ADDRESS ON FILE
AVILES RAMIREZ, ISIDRA           ADDRESS ON FILE
AVILES RAMIREZ, JEANEVY          ADDRESS ON FILE
AVILES RAMIREZ, KAREL            ADDRESS ON FILE
AVILES RAMIREZ, LUIS             ADDRESS ON FILE
AVILES RAMIREZ, MARICEL L.       ADDRESS ON FILE
AVILES RAMOS, ANGEL G            ADDRESS ON FILE
AVILES RAMOS, BELMARIE           ADDRESS ON FILE
AVILES RAMOS, CATHERINE M        ADDRESS ON FILE
AVILES RAMOS, CHALIMAR           ADDRESS ON FILE
AVILES RAMOS, EDWARD             ADDRESS ON FILE
AVILES RAMOS, ELSA M             ADDRESS ON FILE
AVILES RAMOS, ELVIA L.           ADDRESS ON FILE
AVILES RAMOS, ERNESTO            ADDRESS ON FILE
AVILES RAMOS, GABRIEL            ADDRESS ON FILE
AVILES RAMOS, GUILLERMO          ADDRESS ON FILE
AVILES RAMOS, ILEANA             ADDRESS ON FILE
AVILES RAMOS, JUAN J             ADDRESS ON FILE
AVILES RAMOS, JUMARY             ADDRESS ON FILE
AVILES RAMOS, LAURA M            ADDRESS ON FILE
AVILES RAMOS, LESTER             ADDRESS ON FILE
AVILES RAMOS, LIZA R             ADDRESS ON FILE
AVILES RAMOS, LUIS               ADDRESS ON FILE
AVILES RAMOS, LUIS R.            ADDRESS ON FILE
AVILES RAMOS, LUZ E              ADDRESS ON FILE
AVILES RAMOS, MARIA L.           ADDRESS ON FILE




                                                                             Page 652 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 653 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES RAMOS, MIGDALIA         ADDRESS ON FILE
AVILES RAMOS, ROSALIA          ADDRESS ON FILE
AVILES RAMOS, WANDA            ADDRESS ON FILE
AVILES RESTO, CARISA           ADDRESS ON FILE
AVILES REYES, ALEJANDRO        ADDRESS ON FILE
AVILES REYES, CARLOS           ADDRESS ON FILE
AVILES REYES, JONATHAN A       ADDRESS ON FILE
AVILES REYES, WANDA I          ADDRESS ON FILE
AVILES REYES, YAMILKA          ADDRESS ON FILE
AVILES RIBOT, OSVALDO          ADDRESS ON FILE
AVILES RIOS, ALICIA            ADDRESS ON FILE
AVILES RIOS, AMADA             ADDRESS ON FILE
AVILES RIOS, GUILLERMO J.      ADDRESS ON FILE
AVILES RIOS, JOSE A.           ADDRESS ON FILE
AVILES RIOS, KENIA             ADDRESS ON FILE
AVILES RIOS, MARIELY           ADDRESS ON FILE
Aviles Rios, Miguel            ADDRESS ON FILE
AVILES RIOS, PABLO             ADDRESS ON FILE
AVILES RIOS, RAUL A            ADDRESS ON FILE
AVILES RIOS, WIMALLY           ADDRESS ON FILE
AVILES RIVERA MD, ERIC         ADDRESS ON FILE
Aviles Rivera, Adan            ADDRESS ON FILE
AVILES RIVERA, AGUEDO          ADDRESS ON FILE
Aviles Rivera, Aguedo L        ADDRESS ON FILE
AVILES RIVERA, ALFREDO         ADDRESS ON FILE
Aviles Rivera, Amelia          ADDRESS ON FILE
AVILES RIVERA, BLANCA E        ADDRESS ON FILE
AVILES RIVERA, CARMEN          ADDRESS ON FILE
AVILES RIVERA, CARMEN          ADDRESS ON FILE
AVILES RIVERA, CARMEN M        ADDRESS ON FILE
AVILES RIVERA, CHARLES JONES   ADDRESS ON FILE
AVILES RIVERA, CLARABELL       ADDRESS ON FILE
AVILES RIVERA, DANIEL          ADDRESS ON FILE
AVILES RIVERA, DEBBIE          ADDRESS ON FILE
AVILES RIVERA, EDWARD          ADDRESS ON FILE
AVILES RIVERA, ELSA I          ADDRESS ON FILE
Aviles Rivera, Eric            ADDRESS ON FILE
AVILES RIVERA, GERARDO         ADDRESS ON FILE
AVILES RIVERA, GILBERTO        ADDRESS ON FILE
AVILES RIVERA, GLORIVEE        ADDRESS ON FILE
AVILES RIVERA, GRISEL          ADDRESS ON FILE
AVILES RIVERA, GRISEL EILEEN   ADDRESS ON FILE
AVILES RIVERA, IVELISSE        ADDRESS ON FILE
AVILES RIVERA, JAIME           ADDRESS ON FILE
AVILES RIVERA, JAIME           ADDRESS ON FILE
AVILES RIVERA, JORGE           ADDRESS ON FILE
AVILES RIVERA, JORGE R         ADDRESS ON FILE
AVILES RIVERA, JOSE M.         ADDRESS ON FILE
AVILES RIVERA, JUAN            ADDRESS ON FILE
AVILES RIVERA, JUAN A.         ADDRESS ON FILE
AVILES RIVERA, LESLIE          ADDRESS ON FILE
AVILES RIVERA, LESLIE          ADDRESS ON FILE
AVILES RIVERA, LIZETTE         ADDRESS ON FILE
AVILES RIVERA, LUIS            ADDRESS ON FILE
AVILES RIVERA, LUIS            ADDRESS ON FILE
AVILES RIVERA, LUIS ENRIQUE    ADDRESS ON FILE
AVILES RIVERA, LUIS S.         ADDRESS ON FILE
Aviles Rivera, Mareli          ADDRESS ON FILE
AVILES RIVERA, MARGARITA       ADDRESS ON FILE
AVILES RIVERA, MARIA           ADDRESS ON FILE




                                                                           Page 653 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 654 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES RIVERA, MARIA D.         ADDRESS ON FILE
Aviles Rivera, Michael          ADDRESS ON FILE
AVILES RIVERA, MIGUEL           ADDRESS ON FILE
AVILES RIVERA, MIGUEL A         ADDRESS ON FILE
AVILES RIVERA, MOISES           ADDRESS ON FILE
AVILES RIVERA, NEIDA E          ADDRESS ON FILE
Aviles Rivera, Norieliz         ADDRESS ON FILE
AVILES RIVERA, OMAR             ADDRESS ON FILE
Aviles Rivera, Ricardo          ADDRESS ON FILE
AVILES RIVERA, RITA             ADDRESS ON FILE
AVILES RIVERA, SIGFREDO         ADDRESS ON FILE
AVILES RIVERA, SOFIA            ADDRESS ON FILE
AVILES RIVERA, YESENIA M        ADDRESS ON FILE
AVILES ROBLES, ANTONIO          ADDRESS ON FILE
AVILES ROBLES, JOSEFA           ADDRESS ON FILE
AVILES RODRIGUEZ, ALEJANDRO     ADDRESS ON FILE
AVILES RODRIGUEZ, ALFRED        ADDRESS ON FILE
AVILES RODRIGUEZ, ANGEL         ADDRESS ON FILE
AVILES RODRIGUEZ, BELINDA       ADDRESS ON FILE
AVILES RODRIGUEZ, CARMEN J      ADDRESS ON FILE
AVILES RODRIGUEZ, CARMEN T      ADDRESS ON FILE
AVILES RODRIGUEZ, CRUZ          ADDRESS ON FILE
AVILES RODRIGUEZ, EDGARDO       ADDRESS ON FILE
Aviles Rodriguez, Edna I        ADDRESS ON FILE
AVILES RODRIGUEZ, EDUARDO       ADDRESS ON FILE
AVILES RODRIGUEZ, ELVIE OMAR    ADDRESS ON FILE
AVILES RODRIGUEZ, ELYE          ADDRESS ON FILE
AVILES RODRIGUEZ, ELYE O.       ADDRESS ON FILE
AVILES RODRIGUEZ, ENRIQUE       ADDRESS ON FILE
AVILES RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
AVILES RODRIGUEZ, GABRIEL       ADDRESS ON FILE
AVILES RODRIGUEZ, GERARDO       ADDRESS ON FILE
AVILES RODRIGUEZ, HELGA M       ADDRESS ON FILE
AVILES RODRIGUEZ, HILDA         ADDRESS ON FILE
AVILES RODRIGUEZ, IRMA L        ADDRESS ON FILE
AVILES RODRIGUEZ, JOSEAN        ADDRESS ON FILE
AVILES RODRIGUEZ, JOSUE         ADDRESS ON FILE
AVILES RODRIGUEZ, LUCAS N.      ADDRESS ON FILE
AVILES RODRIGUEZ, LUIS          ADDRESS ON FILE
AVILES RODRIGUEZ, LUIS O.       ADDRESS ON FILE
AVILES RODRIGUEZ, LUIS O.       ADDRESS ON FILE
AVILES RODRIGUEZ, LUISA         ADDRESS ON FILE
AVILES RODRIGUEZ, MARIBEL       ADDRESS ON FILE
AVILES RODRIGUEZ, NITZA         ADDRESS ON FILE
AVILES RODRIGUEZ, OMAYRA        ADDRESS ON FILE
AVILES RODRIGUEZ, ROSANGELY     ADDRESS ON FILE
Aviles Rodriguez, Samuel        ADDRESS ON FILE
AVILES RODRIGUEZ, SANTA B.      ADDRESS ON FILE
AVILES RODRIGUEZ, SONIA M       ADDRESS ON FILE
AVILES RODRIGUEZ, TOMAS         ADDRESS ON FILE
Aviles Rodriguez, Wilfredo      ADDRESS ON FILE
AVILES RODRIGUEZ, ZENAIDA       ADDRESS ON FILE
AVILES RODRIGUEZ,LUIS ROLANDO   ADDRESS ON FILE
AVILES ROJAS, BARBARA           ADDRESS ON FILE
AVILES ROJAS, RICHARD           ADDRESS ON FILE
AVILES ROMAN, CARMEN A          ADDRESS ON FILE
Aviles Roman, Cesar             ADDRESS ON FILE
AVILES ROMAN, JENNIFER          ADDRESS ON FILE
AVILES ROMAN, JESUS             ADDRESS ON FILE
AVILES ROMAN, JOSE A.           ADDRESS ON FILE




                                                                            Page 654 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 655 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES ROMAN, MARYLIN           ADDRESS ON FILE
AVILES ROMAN, YARELIS           ADDRESS ON FILE
AVILES ROMERO, JUDITH           ADDRESS ON FILE
AVILES ROSA, ANA C              ADDRESS ON FILE
AVILES ROSA, CARLOS             ADDRESS ON FILE
AVILES ROSA, FRANCISCO          ADDRESS ON FILE
AVILES ROSA, MICHAEL            ADDRESS ON FILE
AVILES ROSA, PAULA              ADDRESS ON FILE
Aviles Rosa, Wigberto           ADDRESS ON FILE
AVILES ROSADO, ELIES            ADDRESS ON FILE
Aviles Rosado, Evelyn           ADDRESS ON FILE
AVILES ROSADO, ISARAIS          ADDRESS ON FILE
AVILES ROSADO, JOSE A           ADDRESS ON FILE
AVILES ROSARIO, DANIEL          ADDRESS ON FILE
AVILES ROSARIO, EDWARD          ADDRESS ON FILE
AVILES ROSARIO, JEAN MANUEL     ADDRESS ON FILE
AVILES ROSARIO, LUZELY          ADDRESS ON FILE
AVILES ROSARIO, MARIA M.        ADDRESS ON FILE
AVILES ROSARIO, MYRNA           ADDRESS ON FILE
AVILES ROSARIO, SAMUEL          ADDRESS ON FILE
AVILES ROSARIO, WILNELIA        ADDRESS ON FILE
AVILES RUIAZ, MERIELA           ADDRESS ON FILE
AVILES RUIZ, ANNETTE            ADDRESS ON FILE
AVILES RUIZ, ARNALDO S          ADDRESS ON FILE
AVILES RUIZ, CAROLINE J         ADDRESS ON FILE
AVILES RUIZ, ELLIOT             ADDRESS ON FILE
AVILES RUIZ, EVELYN             ADDRESS ON FILE
Aviles Ruiz, Francis G.         ADDRESS ON FILE
AVILES RUIZ, HECTOR             ADDRESS ON FILE
AVILES RUIZ, LILLIANA           ADDRESS ON FILE
AVILES RUIZ, REYES              ADDRESS ON FILE
AVILES RUIZ, ZORAIDA            ADDRESS ON FILE
AVILES SAEZ, CARMEN M           ADDRESS ON FILE
AVILES SAEZ, JESUS              ADDRESS ON FILE
AVILES SAEZ, LAURA M            ADDRESS ON FILE
AVILES SALGADO, JOHANNA         ADDRESS ON FILE
AVILES SALGADO, JOSE A.         ADDRESS ON FILE
AVILES SANCHEZ, EVA E.          ADDRESS ON FILE
AVILES SANCHEZ, IRIS            ADDRESS ON FILE
Aviles Sanchez, Jaime           ADDRESS ON FILE
AVILES SANCHEZ, JORGE           ADDRESS ON FILE
AVILES SANCHEZ, LYDIA M         ADDRESS ON FILE
AVILES SANCHEZ, MARILYN         ADDRESS ON FILE
AVILES SANCHEZ, OSVALDO         ADDRESS ON FILE
AVILES SANCHEZ, RAMONITA        ADDRESS ON FILE
AVILES SANTA, FRANKLIN ISMAEL   ADDRESS ON FILE
AVILES SANTA, FRANKLIN J.       ADDRESS ON FILE
AVILES SANTANA, LUZ D           ADDRESS ON FILE
Aviles Santiago, Angel          ADDRESS ON FILE
AVILES SANTIAGO, CARMEN I       ADDRESS ON FILE
AVILES SANTIAGO, EDWARD         ADDRESS ON FILE
AVILES SANTIAGO, ERIC           ADDRESS ON FILE
AVILES SANTIAGO, FELIX          ADDRESS ON FILE
AVILES SANTIAGO, FELIX A.       ADDRESS ON FILE
AVILES SANTIAGO, GLADYS M       ADDRESS ON FILE
AVILES SANTIAGO, ILEANA         ADDRESS ON FILE
AVILES SANTIAGO, IRIS D         ADDRESS ON FILE
AVILES SANTIAGO, JESUS          ADDRESS ON FILE
AVILES SANTIAGO, MADELINE       ADDRESS ON FILE
AVILES SANTIAGO, MARICELI       ADDRESS ON FILE




                                                                            Page 655 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 656 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES SANTIAGO, OMAYRA         ADDRESS ON FILE
AVILES SANTIAGO, ORLANDO E      ADDRESS ON FILE
AVILES SANTIAGO, RICARDO        ADDRESS ON FILE
AVILES SANTONI, YOLANDA I       ADDRESS ON FILE
AVILES SANTOS, ANDREA           ADDRESS ON FILE
AVILES SANTOS, FELIX            ADDRESS ON FILE
Aviles Santos, Felix Geovanny   ADDRESS ON FILE
AVILES SANTOS, MONICA           ADDRESS ON FILE
AVILES SAUCEDO, AMALIA          ADDRESS ON FILE
AVILES SERRANO, BRENDA L.       ADDRESS ON FILE
AVILES SERRANO, EILEEN P        ADDRESS ON FILE
AVILES SERRANO, LUIS A.         ADDRESS ON FILE
AVILES SIERRA, TOMAS            ADDRESS ON FILE
AVILES SILVA, BLANCA B          ADDRESS ON FILE
AVILES SILVA, IVETT             ADDRESS ON FILE
AVILES SILVA, JESSE             ADDRESS ON FILE
Aviles Silva, Jobeth            ADDRESS ON FILE
AVILES SILVA, RAMESIS N.        ADDRESS ON FILE
AVILES SIRETT, MICHELLE         ADDRESS ON FILE
AVILES SOLER, ELYMAR E.         ADDRESS ON FILE
AVILES SOTO, BRENDA E           ADDRESS ON FILE
AVILES SOTO, DALIABEL           ADDRESS ON FILE
AVILES SOTO, DAMASO DE JESUS    ADDRESS ON FILE
AVILES SOTO, EVELYN Z.          ADDRESS ON FILE
Aviles Soto, Jose L             ADDRESS ON FILE
AVILES SOTO, MARIA              ADDRESS ON FILE
AVILES SOTO, MYRNA              ADDRESS ON FILE
AVILES SOTO, MYRNA              ADDRESS ON FILE
AVILES SOTO, REYES R            ADDRESS ON FILE
Aviles Tabar, Jonathan D.       ADDRESS ON FILE
AVILES TABAR, MICHAEL D         ADDRESS ON FILE
AVILES TECHNOLOGIES CP          URB COUNTRY CLUB          CALLE 237 HP 20                                        CAROLINA     PR      00982
AVILES TIRADO, MYRNA            ADDRESS ON FILE
AVILES TORO, ANGEL              ADDRESS ON FILE
AVILES TORRES, AIDA L           ADDRESS ON FILE
AVILES TORRES, AIDA M           ADDRESS ON FILE
AVILES TORRES, ANA              ADDRESS ON FILE
AVILES TORRES, ANGELICA         ADDRESS ON FILE
AVILES TORRES, CARLOS           ADDRESS ON FILE
AVILES TORRES, DEAN A           ADDRESS ON FILE
AVILES TORRES, ELBA L           ADDRESS ON FILE
AVILES TORRES, FRANCISCO        ADDRESS ON FILE
AVILES TORRES, HIPOLITA         ADDRESS ON FILE
AVILES TORRES, IVETTE           ADDRESS ON FILE
AVILES TORRES, JANE L           ADDRESS ON FILE
AVILES TORRES, JOSE             ADDRESS ON FILE
AVILES TORRES, JOSE             ADDRESS ON FILE
AVILES TORRES, JUAN             ADDRESS ON FILE
AVILES TORRES, MIKEL            ADDRESS ON FILE
AVILES TORRES, NATAINA          ADDRESS ON FILE
Aviles Torres, Naud N.          ADDRESS ON FILE
AVILES TORRES, PATRICIA         ADDRESS ON FILE
AVILES TORRES, ROBERT           ADDRESS ON FILE
AVILES TORRES, SANDRALY         ADDRESS ON FILE
AVILES TORRES, SONIA N          ADDRESS ON FILE
AVILES TORRES, YESSENIA         ADDRESS ON FILE
AVILES TOSADO, IVAN             ADDRESS ON FILE
AVILES TREVINO, ANA M           ADDRESS ON FILE
AVILES UJAQUE, LUIS             ADDRESS ON FILE
AVILES USERO, LEILA             ADDRESS ON FILE




                                                                            Page 656 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 657 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AVILES VALE, JOSSIAN O        ADDRESS ON FILE
AVILES VALENTIN, BLANCA I     ADDRESS ON FILE
AVILES VALENTIN, CARMEN N     ADDRESS ON FILE
AVILES VALENTIN, MAVELINE     ADDRESS ON FILE
AVILES VALENTIN, MILDRED      ADDRESS ON FILE
AVILES VALLE, ANA M           ADDRESS ON FILE
AVILES VALLE, HARRY           ADDRESS ON FILE
AVILES VALLINES, JUAN         ADDRESS ON FILE
AVILES VANDO, CARLOS M        ADDRESS ON FILE
AVILES VANDO, JUAN C          ADDRESS ON FILE
AVILES VARGAS MD, HILDA J     ADDRESS ON FILE
AVILES VARGAS, MARIA D        ADDRESS ON FILE
AVILES VARGAS, PIERINA        ADDRESS ON FILE
AVILES VARGAS, RAFAEL         ADDRESS ON FILE
AVILES VARGAS, SONIA I        ADDRESS ON FILE
AVILES VAZQUEZ MD, HECTOR M   ADDRESS ON FILE
AVILES VAZQUEZ, ADARIS        ADDRESS ON FILE
AVILES VAZQUEZ, AWILDA        ADDRESS ON FILE
AVILES VAZQUEZ, CARLOS D      ADDRESS ON FILE
AVILES VAZQUEZ, CARMEN Z      ADDRESS ON FILE
AVILES VAZQUEZ, ELSIE         ADDRESS ON FILE
AVILES VAZQUEZ, EMILIO        ADDRESS ON FILE
AVILES VAZQUEZ, IXIA          ADDRESS ON FILE
AVILES VAZQUEZ, JULIO         ADDRESS ON FILE
AVILES VAZQUEZ, MADELINE      ADDRESS ON FILE
AVILES VAZQUEZ, MARIE C.      ADDRESS ON FILE
AVILES VEGA, AGNES DE L       ADDRESS ON FILE
AVILES VEGA, EILEEN           ADDRESS ON FILE
AVILES VEGA, JOSE             ADDRESS ON FILE
AVILES VEGA, JUANITA          ADDRESS ON FILE
AVILES VEGA, MARIA E          ADDRESS ON FILE
AVILES VEGA, NIDSA            ADDRESS ON FILE
AVILES VEGA, SONIA            ADDRESS ON FILE
AVILES VELAZQUEZ, ISRAEL      ADDRESS ON FILE
AVILES VELAZQUEZ, ROBERTO     ADDRESS ON FILE
AVILES VELEZ, ALEX            ADDRESS ON FILE
AVILES VELEZ, JOSE            ADDRESS ON FILE
AVILES VELEZ, JULISSA         ADDRESS ON FILE
AVILES VELEZ, JULISSA         ADDRESS ON FILE
AVILES VELEZ, MARIEMMA        ADDRESS ON FILE
AVILES VELEZ, MATILDE         ADDRESS ON FILE
AVILES VELEZ, MAYRA S         ADDRESS ON FILE
AVILES VELEZ, NIGDALIA        ADDRESS ON FILE
AVILES VELEZ, ROSEMARY        ADDRESS ON FILE
Aviles Vera, Luis A.          ADDRESS ON FILE
AVILES VICENTY, CARMEN        ADDRESS ON FILE
AVILES VICENTY, RAMON D       ADDRESS ON FILE
AVILES VILLANUEVA, DIMAYRA    ADDRESS ON FILE
Aviles Villanueva, Jose A     ADDRESS ON FILE
AVILES VILLANUEVA, WILSON     ADDRESS ON FILE
AVILES VILLANUEVA, YARIS      ADDRESS ON FILE
AVILES VILLANUEVA, YARIS      ADDRESS ON FILE
AVILES VILLEGAS, IDANNYS      ADDRESS ON FILE
AVILES VIROLA, ALBERTO        ADDRESS ON FILE
Aviles Vizcarrondo, Ruth S.   ADDRESS ON FILE
AVILES WETHERELL, JUAN C      ADDRESS ON FILE
AVILES ZAPATA, FRANCISCO      ADDRESS ON FILE
AVILES ZAYAS, DORIS M         ADDRESS ON FILE
AVILES ZAYAS, LILLIAM R       ADDRESS ON FILE
AVILES ZENGOTITA, FRANCES G   ADDRESS ON FILE




                                                                          Page 657 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 658 of 3500
                                                                                                     Creditor Matrix

Creditor Name                   Address1                               Address2                                   Address3   Address4   City           State   PostalCode   Country
AVILES ZENGOTITA, FRANCES G     ADDRESS ON FILE
AVILES, ABDIEL                  ADDRESS ON FILE
AVILES, ALBERTO                 ADDRESS ON FILE
AVILES, ANGEL                   ADDRESS ON FILE
AVILES, ANTONIO                 ADDRESS ON FILE
AVILES, CARLOS A.               ADDRESS ON FILE
AVILES, CARMEN                  ADDRESS ON FILE
Aviles, Denise                  ADDRESS ON FILE
AVILES, FELIPE                  ADDRESS ON FILE
AVILES, INES                    ADDRESS ON FILE
AVILES, JOSE B                  ADDRESS ON FILE
AVILES, MELBA A.                ADDRESS ON FILE
AVILES, RICARDO                 ADDRESS ON FILE
AVILES,DANIEL                   ADDRESS ON FILE
AVILESBONILLA, FRANCISCO J.     ADDRESS ON FILE
Avilés‐Camacho, Nereida         ADDRESS ON FILE
AVILESGONZALEZ, CARMEN          ADDRESS ON FILE
AVILESLEBRON, MARIA S           ADDRESS ON FILE
AVILESMICHEL, ROBERTO           ADDRESS ON FILE
AVILESZAPATA, ROBERTO           ADDRESS ON FILE
AVILEZ ACOSTA, IRIS V           ADDRESS ON FILE
AVILEZ APONTE, CARLOS J         ADDRESS ON FILE
Avilez Crespo, Javier           ADDRESS ON FILE
AVILEZ GLEZ, JOSE A.            ADDRESS ON FILE
AVILEZ INOSTROZA, CARMEN M      ADDRESS ON FILE
AVILEZ MUNOZ, JOSE L.           ADDRESS ON FILE
AVILEZ MUNOZ, NELSON J.         ADDRESS ON FILE
AVILEZ RODRIGUEZ MD, MARVILIZ   ADDRESS ON FILE
Avilez Rosario, Daniel A        ADDRESS ON FILE
AVILEZ VELEZ, ROBERTO L.        ADDRESS ON FILE
AVILEZ, ROBERT                  ADDRESS ON FILE
AVILIO ENRIQUE MUNOZ            ADDRESS ON FILE
AVILIO MADERA                   ADDRESS ON FILE
AVILIO MUNOZ ALBORNOZ           ADDRESS ON FILE
AVILLAN APONTE, LUZ E           ADDRESS ON FILE
AVILLAN APONTE, NOEMI           ADDRESS ON FILE
Avillan Escobar, Onas           ADDRESS ON FILE
AVILLAN FANFAN, ALBA N          ADDRESS ON FILE
AVILLAN GOMEZ, LUZ IDALIA       ADDRESS ON FILE
AVILLAN GONZALEZ, CARMEN M      ADDRESS ON FILE
AVILLAN LEON, PETRA E           ADDRESS ON FILE
AVILLAN SANTOS, MIRIAM          ADDRESS ON FILE
AVIMILET MONTANEZ RIVERA        ADDRESS ON FILE
AVINADAD VELEZ RODRIGUEZ        ADDRESS ON FILE
AVINAEL AVILES SANCHEZ          ADDRESS ON FILE
AVINO JIMENEZ,YEDZIEL           ADDRESS ON FILE
AVINO MENDEZ, LUZ E             ADDRESS ON FILE
AVINO MIRANDA, CARMEN B.        ADDRESS ON FILE
AVINO MUNOZ, VICTOR             ADDRESS ON FILE
Avino Navedo, Iris B            ADDRESS ON FILE
AVINO QUINONES, JOSE            ADDRESS ON FILE
AVIS BUDGET DE PR               LCDA. VANESSA E. LUZUNARIS RODRIGUEZ   PO BOX 192386                                                    SAN JUAN       PR      00919‐2386
AVIS BUDGET DE PR INC           URB SIERRA BAYAMON                     CALLE 36 BLOQUE 49 #1                                            BAYAMON        PR      00961
AVIS BUDGET GROUP INC           6 SYLVAN WAY                           1ST FLOOR MAILSTOP 6S1‐115                                       PARSIPPANY     NJ      07054
AVIS BUDGET GROUP INC           AREA DEL TESORO                        DIVISION DE RECLAMACIONES                                        SAN JUAN       PR      00902‐4140
AVIS RENT A CAR OF PR INC       AREA DEL TESORO                        CONTADURIA GENERAL                                               SAN JUAN       PR      00902
AVIS RENT A CAR SYSTEM, INC     7876 COLLECTIONS CENTER DRIVE                                                                           CHICAGO        IL      60693
AVLÉS FRED LUIS MANUEL          LCDO. ORLANDO CAMACHO PADILLA          PO BOX 879                                                       COAMO          PR      00769‐0879
AVLILES PEREZ, ABIMAEL          ADDRESS ON FILE
AVNET DE PUERTO RICO INC        2211 S 47TH ST                                                                                          PHOENIX        AZ      85034




                                                                                                    Page 658 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 659 of 3500
                                                                                                            Creditor Matrix

Creditor Name                           Address1                            Address2                                     Address3    Address4   City           State   PostalCode   Country
AVNET DE PUERTO RICO INC                LCDO. JOSUE A. RODRIGUEZ ROBLES     TRIPLE S PLAZA 1510 F.D. ROOSEVELT AVE.      SUITE 9B1              GUAYNABO       PR      00968
AVOLI LLANERAS CATEGORIAS MENORES       URB LA MANSION LEVITTOWN            PLAZA 2 NA 16                                                       TOA BAJA       PR      00949
AVON PRODUCTS INC                       P O BOX 806                                                                                             PINE BROOK     NJ      07058
AW & S                                  39 FRANCES AMELIA INDUSTRIAL PARK                                                                       GUAYNABO       PR      00968
AW SOLUTIONS PUERTO RICO LLC            URB RIVER VIEW                      AA1 CALLE 22                                                        BAYAMON        PR      00961‐3802
AWA INC                                 PO BOX 12042                                                                                            SAN JUAN       PR      00914
AWAD MELENDEZ, YASSER                   ADDRESS ON FILE
AWAD N TAHA IRIZARRY                    ADDRESS ON FILE
AWARDS ADVERTISING & ENGRAVING CO       URB BALDRICH                        257 CALLE LARRINAGA                                                 SAN JUAN       PR      00918
AWARDS ADVERTISING & ENGRAVING CO       URB BALDRICH                                                                                            SAN JUAN       PR      00918
AWARDS,ADVERTISING AND ENGRAVING,CO,INC CALLE LARRINAGA 257                 URB BALDRICH                                                        SAN JUAN       PR      00918
AWD                                     URB PUERTO NUEVO                    405 AVE DE DIEGO                                                    SAN JUAN       PR      00920
AWERIS TIRADO COLON                     ADDRESS ON FILE
AWESOME INC.                            P O BOX 519                                                                                             CAGUAS         PR      00726‐0000
AWILDA ACEVEDO MIRANDA                  ADDRESS ON FILE
AWILDA ACEVEDO MIRANDA                  ADDRESS ON FILE
AWILDA ACEVEDO PELLOT                   ADDRESS ON FILE
AWILDA ACOSTA TORRES                    ADDRESS ON FILE
AWILDA ALICEA CRESPO                    ADDRESS ON FILE
AWILDA ALVARADO ORTIZ                   ADDRESS ON FILE
AWILDA ALVARADO ORTIZ                   ADDRESS ON FILE
AWILDA BERRIOS PENA                     ADDRESS ON FILE
AWILDA BERRIOS QUINONEZ                 ADDRESS ON FILE
AWILDA CARATTINI CARATTINI              ADDRESS ON FILE
AWILDA CINTRON RODRIGUEZ                ADDRESS ON FILE
AWILDA COLLAZO ACEVEDO                  ADDRESS ON FILE
AWILDA COLON ORTIZ                      ADDRESS ON FILE
AWILDA CRUZ BRACERO                     ADDRESS ON FILE
AWILDA CRUZ LANZO                       ADDRESS ON FILE
AWILDA CRUZ SANTIAGO                    ADDRESS ON FILE
AWILDA CURBELO SANTIAGO                 ADDRESS ON FILE
AWILDA DE JESUS COLON                   ADDRESS ON FILE
AWILDA DIAZ MELENDEZ                    ADDRESS ON FILE
AWILDA DIAZ NAZARIO                     ADDRESS ON FILE
AWILDA DIAZ ORTIZ                       ADDRESS ON FILE
AWILDA E LOPEZ SAAVEDRA                 ADDRESS ON FILE
AWILDA E LOPEZ SAAVEDRA                 ADDRESS ON FILE
AWILDA E. RODRIGUEZ PEREZ               ADDRESS ON FILE
AWILDA FALCON PAGAN                     ADDRESS ON FILE
AWILDA FALCON PAGAN                     ADDRESS ON FILE
Awilda Falcon Pagán                     ADDRESS ON FILE
AWILDA FIGUEROA DIAZ                    ADDRESS ON FILE
AWILDA FIGUEROA PADILLA                 ADDRESS ON FILE
AWILDA FIGUEROA RIVERA                  ADDRESS ON FILE
AWILDA FIGUEROA/HOGAR AWILDA FIGUEROA ADDRESS ON FILE
AWILDA FONT ALVAREZ                     ADDRESS ON FILE
AWILDA FRED SANTIAGO                    ADDRESS ON FILE
AWILDA FUENTES AYALA                    ADDRESS ON FILE
AWILDA FUENTES MERCADO                  ADDRESS ON FILE
AWILDA GARCIA TORRES                    MARTIN GONZÁLEZ VÁZQUEZ             PO Box 591                                                          Mercedita      PR      00715‐0591
AWILDA GIRAUD QUILES                    ADDRESS ON FILE
AWILDA GONZALEZ FERNANDEZ               ADDRESS ON FILE
AWILDA GONZALEZ HERNANDEZ               ADDRESS ON FILE
AWILDA GONZALEZ MARTINEZ                ADDRESS ON FILE
AWILDA GUZMAN QUINTERO                  ADDRESS ON FILE
AWILDA GUZMAN VELEZ                     ADDRESS ON FILE
AWILDA HERNANDEZ HERNANDEZ              ADDRESS ON FILE
AWILDA HERNANDEZ ROSA                   ADDRESS ON FILE
AWILDA IRRIZARY PARDO                   ADDRESS ON FILE
AWILDA LA LUZ SOTO                      ADDRESS ON FILE




                                                                                                          Page 659 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 660 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AWILDA LAGARES DIAZ              ADDRESS ON FILE
AWILDA LOPEZ NIEVES              ADDRESS ON FILE
AWILDA LOPEZ QUINONES            ADDRESS ON FILE
AWILDA LUNA NUNEZ                ADDRESS ON FILE
AWILDA M GARCIA DIAZ             ADDRESS ON FILE
AWILDA M MICHEO MARTINEZ         ADDRESS ON FILE
AWILDA M SIERRA REYES            ADDRESS ON FILE
AWILDA M. CARRERO PRATTS         ADDRESS ON FILE
AWILDA MALDONADO OTERO           ADDRESS ON FILE
AWILDA MALDONADO RIVERA          ADDRESS ON FILE
AWILDA MARENO GARCIA             ADDRESS ON FILE
AWILDA MARRERO GONZALEZ          ADDRESS ON FILE
AWILDA MARRERO ORTIZ             ADDRESS ON FILE
AWILDA MARRERO ROSAS             ADDRESS ON FILE
AWILDA MARRERO ROSAS             ADDRESS ON FILE
AWILDA MARTINEZ CABRERA          ADDRESS ON FILE
AWILDA MARTINEZ LEON             ADDRESS ON FILE
AWILDA MATOS RIVERA              ADDRESS ON FILE
AWILDA MELENDEZ COLON            ADDRESS ON FILE
AWILDA MERCADO DOMENA            ADDRESS ON FILE
AWILDA MONTES LEON               ADDRESS ON FILE
AWILDA MORALES GUTIERREZ         ADDRESS ON FILE
AWILDA MULERO VARGAS             ADDRESS ON FILE
AWILDA NAVARRO MARTINEZ          ADDRESS ON FILE
AWILDA NIEVES CRUZ               ADDRESS ON FILE
AWILDA NIEVES NIEVES             ADDRESS ON FILE
AWILDA NIEVES RIVERA             ADDRESS ON FILE
AWILDA NIEVES SANTIAGO           ADDRESS ON FILE
AWILDA NIEVES TORRES             ADDRESS ON FILE
AWILDA NUNEZ                     ADDRESS ON FILE
AWILDA OLIVIERI DE PERALTA       ADDRESS ON FILE
AWILDA ORTIZ FALU                ADDRESS ON FILE
AWILDA ORTIZ GARCIA              ADDRESS ON FILE
AWILDA ORTIZ MARTINEZ            ADDRESS ON FILE
AWILDA ORTIZ MARTINEZ            ADDRESS ON FILE
AWILDA P VAZQUEZ BRAVO           ADDRESS ON FILE
AWILDA PADILLA VARGAS            ADDRESS ON FILE
AWILDA PEREZ SANCHEZ             ADDRESS ON FILE
AWILDA PINEDA ARAUJO             ADDRESS ON FILE
AWILDA POGGI RUIZ                ADDRESS ON FILE
AWILDA QUINONES AYALA            ADDRESS ON FILE
AWILDA QUINONES GIRALD           ADDRESS ON FILE
AWILDA QUINONES RIVERA           ADDRESS ON FILE
AWILDA QUINONEZ DE JESUS         ADDRESS ON FILE
AWILDA R PAGAN MARTINEZ          ADDRESS ON FILE
AWILDA RAMIREZ LABOY             ADDRESS ON FILE
AWILDA RAMIREZ TORRES            ADDRESS ON FILE
AWILDA RAMOS MALDONADO           ADDRESS ON FILE
AWILDA RAMOS RIVERA              ADDRESS ON FILE
AWILDA RAMOS SANTIAGO            ADDRESS ON FILE
AWILDA RAMOS VIALIZ              ADDRESS ON FILE
AWILDA RIOS CRUZ                 ADDRESS ON FILE
AWILDA RIOS RUSSI                ADDRESS ON FILE
AWILDA RIVERA FLORES             ADDRESS ON FILE
AWILDA RIVERA NATER              ADDRESS ON FILE
AWILDA ROBLES GONZALEZ MD, SOL   ADDRESS ON FILE
AWILDA ROBLES LUGO               ADDRESS ON FILE
AWILDA ROBLES VAZQUEZ            ADDRESS ON FILE
AWILDA RODRIGUEZ LORA            ADDRESS ON FILE
AWILDA RODRIGUEZ MAISONET        ADDRESS ON FILE




                                                                             Page 660 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 661 of 3500
                                                                                                                         Creditor Matrix

Creditor Name                          Address1                                        Address2                                         Address3     Address4   City            State   PostalCode   Country
AWILDA RODRIGUEZ NARVAEZ               ADDRESS ON FILE
AWILDA RODRIGUEZ RIVERA                ADDRESS ON FILE
AWILDA RODRIGUEZ VAZQUEZ               ADDRESS ON FILE
AWILDA ROMAN ADAMES                    ADDRESS ON FILE
AWILDA ROSA ACEVEDO                    ADDRESS ON FILE
AWILDA ROSADO HERNANDEZ                ADDRESS ON FILE
AWILDA ROSADO RIVERA                   ADDRESS ON FILE
AWILDA ROSARIO FIGUEROA                ADDRESS ON FILE
AWILDA ROSARIO OCASIO                  ADDRESS ON FILE
AWILDA ROSAS COLON                     LCDO. DENNIS CRUZ PÉREZ                         La Rambla Plaza Suite 211 606 Ave. Tito Castro                           Ponce           PR      00716
AWILDA RUPERTO SOTO                    ADDRESS ON FILE
AWILDA SALDANA JORGE                   ADDRESS ON FILE
AWILDA SALGADO CARDONA                 ADDRESS ON FILE
AWILDA SALGADO RIVERA                  ADDRESS ON FILE
AWILDA SANCHEZ LAUREANO                ADDRESS ON FILE
AWILDA SANCHEZ RUIZ                    ADDRESS ON FILE
AWILDA SANCHEZ SANTIAGO                ADDRESS ON FILE
AWILDA SANTANA AVILES                  ADDRESS ON FILE
AWILDA SANTIAGO CRESPO                 ADDRESS ON FILE
AWILDA SANTIAGO DE DAVILA              ADDRESS ON FILE
AWILDA SANTOS VALENTIN                 ADDRESS ON FILE
AWILDA SOLIS DIAZ                      ADDRESS ON FILE
AWILDA SOTO                            ADDRESS ON FILE
AWILDA SOTO DE JESUS                   ADDRESS ON FILE
AWILDA SOTO DE JESUS                   ADDRESS ON FILE
AWILDA SOTO RAMOS                      ADDRESS ON FILE
AWILDA SOTO RIVERA                     ADDRESS ON FILE
AWILDA SOTO SALGADO                    ADDRESS ON FILE
AWILDA TORRES DE JESUS                 ADDRESS ON FILE
AWILDA TORRES FERNANDEZ                ADDRESS ON FILE
AWILDA VALENTIN PEREZ                  ADDRESS ON FILE
AWILDA VARGAS MADERA                   ADDRESS ON FILE
AWILDA VAZQUEZ SANTIAGO                ADDRESS ON FILE
AWILDA VEGA PADILLA                    ADDRESS ON FILE
AWILDA VELAZQUEZ MONTALVO              ADDRESS ON FILE
AWILDA VELAZQUEZ RIVERA                ADDRESS ON FILE
AWILDA VELEZ ORTIZ                     ADDRESS ON FILE
AWILDA VELEZ RUIZ                      ADDRESS ON FILE
AWILDA VILCHES REYES                   ADDRESS ON FILE
AWILDA Z MARRERO CRUZ                  ADDRESS ON FILE
AWILDO NUNEZ GOMEZ                     ADDRESS ON FILE
AWNING SANZ INC                        PO BOX 863                                                                                                               CABO ROJO       PR      00623‐0863
AWS TRUEWIND LLC                       463 NEW KANER ROAD                                                                                                       ALBANY          NY      12205
AXA D LOPEZ RONDON                     ADDRESS ON FILE
AXA Equitable Life Insurance Company   1290 Avenue of the Americas                                                                                              New York        NY      10104
AXA Equitable Life Insurance Company   Attn: Cecilia Ayroso, Premiun Tax Contact       525 Washington Blvd                              35th Floor              Jersey City     NJ      07310
AXA Equitable Life Insurance Company   Attn: Laura Whitney, Circulation of Risk        525 Washington Blvd                              35th Floor              Jersey City     NJ      07310
AXA Equitable Life Insurance Company   Attn: Neil Guerriero, Principal Representative  525 Washington Blvd                              35th Floor              Jersey City     NJ      07310
AXA Equitable Life Insurance Company   Attn: Nick Gismondi, Vice President             525 Washington Blvd                              35th Floor              Jersey City     NJ      07310
AXA Equitable Life Insurance Company   Attn: William Haviland, Consumer Complaint Con 525 Washington Blvd                               35th Floor              Jersey City     NJ      07310
AXA Insurance Company                  125 Broad Street                                5th Floor                                                                New York        NY      10004
AXA Insurance Company                  Attn: Alexandre Scherer, President              125 Broad Street                                 5th Floor               New York        NY      10004
AXA Insurance Company                  Attn: Linda Gross, Circulation of Risk          125 Broad Street                                 5th Floor               New York        NY      10004
AXA Insurance Company                  Attn: Linda Gross, Consumer Complaint Contact 125 Broad Street                                   5th Floor               New York        NY      10004
AXA Insurance Company                  Attn: Linda Gross, Regulatory Compliance Govern125 Broad Street                                  5th Floor               New York        NY      10004
AXA Insurance Company                  c/o Axrt Insurance Company, Agent for Service of125 Broad Street                                 5th Floor               New York        NY      10004
AXA MARIEN RODRIGUEZ FALCHE            ADDRESS ON FILE
AXA RODRIGUEZ RIOS                     ADDRESS ON FILE
AXCELL PEREZ ROSARIO                   ADDRESS ON FILE
AXEL A ALMODOVAR ORTIZ                 ADDRESS ON FILE




                                                                                                                        Page 661 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 662 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                    Address2                      Address3   Address4    City         State   PostalCode   Country
AXEL A CAPESTANY SANTIAGO                ADDRESS ON FILE
AXEL A CARRILLO VELEZ                    ADDRESS ON FILE
AXEL A FARGAS SANTIAGO                   ADDRESS ON FILE
AXEL A ROSADO IGLESIAS                   ADDRESS ON FILE
AXEL A VAZQUEZ LUGO                      ADDRESS ON FILE
AXEL A. OLIVARI NORAT                    OSCAR ACARON MONTALVO       PO BOX 6433                                          BAYAMON      PR      00960‐5433
AXEL A. SANTOS FIGUEROA                  ADDRESS ON FILE
Axel A. Vizcarra Pellot                  ADDRESS ON FILE
AXEL ACEVEDO AGOSTINI                    ADDRESS ON FILE
AXEL ALEJANDRO LOPEZ                     ADDRESS ON FILE
AXEL ALEJANDRO TORRES                    ADDRESS ON FILE
AXEL ALICEA RAMIREZ                      ADDRESS ON FILE
AXEL ALICEA RAMIREZ                      ADDRESS ON FILE
AXEL ALINDATO RIVERA                     ADDRESS ON FILE
AXEL APONTE                              ADDRESS ON FILE
AXEL ARROYO RODRIGUEZ                    ADDRESS ON FILE
AXEL ARROYO RODRIGUEZ                    ADDRESS ON FILE
AXEL BRIGNONI CORDERO                    ADDRESS ON FILE
AXEL BURGOS DIAZ V CUERPO DE EMERGENCIAS LCDA. JANET RIVERA ROSADO   PO BOX 70344                  PMB 181                SAN JUNA     PR      00936‐8344
AXEL CARDONA RIVERA                      ADDRESS ON FILE
AXEL CEDENO ALMODOVAR                    ADDRESS ON FILE
AXEL COSME FEBUS                         ADDRESS ON FILE
AXEL CRUZ MANZANO                        ADDRESS ON FILE
AXEL D FONSECA HERNANDEZ                 ADDRESS ON FILE
AXEL D LOPEZ DUARTE                      ADDRESS ON FILE
AXEL D QUINONES RUIZ                     ADDRESS ON FILE
AXEL DIAZ DELGADO                        ADDRESS ON FILE
AXEL DIAZ RIVERA Y CARMEN CASANOVA       ADDRESS ON FILE
AXEL DIDRIKSSON                          ADDRESS ON FILE
AXEL E PE¥A AYALA                        ADDRESS ON FILE
AXEL E RAMIREZ CASTEJON                  ADDRESS ON FILE
AXEL E VAZQUEZ MORALES                   ADDRESS ON FILE
AXEL E. ALEJANDRO SANTIAGO               ADDRESS ON FILE
AXEL ELIER CABAN GONZALEZ                ADDRESS ON FILE
AXEL FOLCH TORRES                        ADDRESS ON FILE
AXEL FRATICELLI VELAZQUEZ                ADDRESS ON FILE
AXEL GABRIEL CARRERAS SOTO/AXEL CARRERAS ADDRESS ON FILE
AXEL GRACIA TORO                         ADDRESS ON FILE
AXEL GUZMAN LUGO                         ADDRESS ON FILE
AXEL HERRERA RIVERA                      ADDRESS ON FILE
AXEL I COLLAZO BONILLA                   ADDRESS ON FILE
AXEL I GIERBOLINI BURGOS                 ADDRESS ON FILE
AXEL I MARTINEZ OTERO                    ADDRESS ON FILE
AXEL I STELLA CASTILLO                   ADDRESS ON FILE
AXEL IVAN ANTONETTY                      ADDRESS ON FILE
AXEL J ALVARADO CRUZ                     ADDRESS ON FILE
AXEL J ALVARADO RAMIREZ                  ADDRESS ON FILE
AXEL J BAERGA RODRIGUEZ                  ADDRESS ON FILE
AXEL J BAERGA RODRIGUEZ                  ADDRESS ON FILE
AXEL J FIGUEROA MATEO                    ADDRESS ON FILE
AXEL J GALARZA RIVERA                    ADDRESS ON FILE
AXEL J GONZALEZ GUZMAN                   ADDRESS ON FILE
AXEL J MATTA FIGUEROA                    ADDRESS ON FILE
AXEL J MORENO DIAZ                       ADDRESS ON FILE
AXEL J ORTIZ MALDONADO                   ADDRESS ON FILE
AXEL J RIVERA FELICIANO                  ADDRESS ON FILE
AXEL JAVIER LUGO                         ADDRESS ON FILE
AXEL JOEL APONTE BERNARD                 ADDRESS ON FILE
AXEL JOEL RODRIGUEZ FIGUEROA             ADDRESS ON FILE
AXEL L CUEVAS RODRIGUEZ                  ADDRESS ON FILE




                                                                                     Page 662 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 663 of 3500
                                                                                                                Creditor Matrix

Creditor Name                 Address1                                       Address2                                        Address3   Address4   City           State   PostalCode   Country
AXEL L PENALOZA LATIMER       ADDRESS ON FILE
AXEL L RODRIGUEZ MELENDEZ     ADDRESS ON FILE
AXEL LEBRON VEGA              ADDRESS ON FILE
AXEL LINARES MONTALVO         ADDRESS ON FILE
AXEL LIZAZOAIN BREBAN         ADDRESS ON FILE
AXEL M AMBERT MORALES         ADDRESS ON FILE
AXEL M FIGUEROA DELGADO       ADDRESS ON FILE
AXEL M GOMEZ BERMUDEZ         ADDRESS ON FILE
AXEL M OTERO ROSARIO          ADDRESS ON FILE
AXEL M OTERO ROSARIO          ADDRESS ON FILE
AXEL M PEREZ RODRIGUEZ        ADDRESS ON FILE
AXEL M RIVERA CRUZ            ADDRESS ON FILE
AXEL M VELEZ RIVERA           ADDRESS ON FILE
AXEL MARRERO MARRERO          ADDRESS ON FILE
AXEL MATA BERDECIA            ADDRESS ON FILE
AXEL MEDINA CARABALLO         ADDRESS ON FILE
AXEL MILLAN MARTINEZ          ADDRESS ON FILE
AXEL MORALES RAMOS            ADDRESS ON FILE
AXEL MUINZ LIZARDI            ADDRESS ON FILE
AXEL N IRIZARRY GONZALEZ      ADDRESS ON FILE
AXEL NAVILLE BIRRIEL MATIAS   ADDRESS ON FILE
AXEL OROZCO SOTO              ADDRESS ON FILE
AXEL ORTIZ COSTA              ADDRESS ON FILE
AXEL PENA GALARZA             ADDRESS ON FILE
AXEL QUILES MERCADO           ADDRESS ON FILE
AXEL QUINTANA ROMAN           ADDRESS ON FILE
AXEL R CARABALLO VEGA         ADDRESS ON FILE
AXEL R LAO REYES              ADDRESS ON FILE
AXEL R QUINONES ESCALERA      ADDRESS ON FILE
AXEL R RODRIGUEZ FIGUEROA     ADDRESS ON FILE
AXEL R RODRIGUEZ SANTIAGO     ADDRESS ON FILE
AXEL R VEGA RUIZ              ADDRESS ON FILE
AXEL R. DAVILA AGUAYO         ADDRESS ON FILE
AXEL R. LAO REYES             ADDRESS ON FILE
AXEL R. RIVAS SOTO            ADDRESS ON FILE
AXEL REYES COLON              ADDRESS ON FILE
AXEL REYES GARCIA             ADDRESS ON FILE
AXEL RIVERA GOLDEROS          ADDRESS ON FILE
AXEL RIVERA PACHECO           ADDRESS ON FILE
AXEL RODRIGUEZ CRUZ           ADDRESS ON FILE
AXEL RODRIGUEZ REINOSA        ADDRESS ON FILE
AXEL RODRIGUEZ RIOS           ADDRESS ON FILE
AXEL ROLON MENDEZ             ADDRESS ON FILE
AXEL SANTIAGO FLORES          ADDRESS ON FILE
AXEL SANTIAGO LUGO            ADDRESS ON FILE
AXEL SENERIZ SILVA            ADDRESS ON FILE
AXEL SOTO RIVERA              ADDRESS ON FILE
AXEL V ROBLES SANTIAGO        ADDRESS ON FILE
AXEL VARELA NEGRON            ADDRESS ON FILE
AXEL VELEZ ORTIZ              ADDRESS ON FILE
AXEL W QUINONES BAEZ          ADDRESS ON FILE
AXEL X MORALES BABILONIA      ADDRESS ON FILE
AXEL Y TORRES NIEVES          ADDRESS ON FILE
AXELROD MD, HOWARD            ADDRESS ON FILE
AXI L. DIAZ AMEZAGA           ADDRESS ON FILE
AXIOM TRADE INC               MAI CENTER STE 210 KENNEDY AVE                                                                                       SAN JUAN       PR      00920
AXIOMATICA INC                PO BOX 3387                                                                                                          MAYAGUEZ       PR      00681
AXIS Reinsurance Company      1211 Avenue of the Americas                    26th Floor                                                            New York       NY      10036
AXIS Reinsurance Company      Attn: Bert Braud, Premiun Tax Contact          11680 Great Oaks Way, Suite 500                                       Alpharetta     GA      30022
AXIS Reinsurance Company      Attn: Bert Braud, Regulatory Compliance Governm11680 Great Oaks Way, Suite 500                                       Alpharetta     GA      30022




                                                                                                               Page 663 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 664 of 3500
                                                                                                                  Creditor Matrix

Creditor Name                       Address1                                         Address2                                  Address3    Address4   City           State   PostalCode   Country
AXIS Reinsurance Company            Attn: Dave Clark, Circulation of Risk            11680 Great Oaks Way, Suite 500                                  Alpharetta     GA      30022
AXIS Reinsurance Company            Attn: Dennis Bernard, President                  11680 Great Oaks Way, Suite 500                                  Alpharetta     GA      30022
AXIS Reinsurance Company            Attn: Frances Mathis, Consumer Complaint Conta11680 Great Oaks Way, Suite 500                                     Alpharetta     GA      30022
AXIS Reinsurance Company            c/o Prentice Hall Coorporation System , Agent for11680 Great Oaks Way, Suite 500                                  Alpharetta     GA      30022
AXIS STUDIOS LLC                    PO BOX 11622                                                                                                      SAN JUAN       PR      00922‐1622
AXIS Surplus Insurance Company      11680 Great Oaks Way                             Suite 500                                                        Alpharetta     GA      30022
AXIS Surplus Insurance Company      Attn: Carlton Maner, President                   11680 Great Oaks Way                      Suite 500              Alpharetta     GA      30022
AXIS Surplus Insurance Company      Attn: Cheryl Price, Vice President               11680 Great Oaks Way                      Suite 500              Alpharetta     GA      30022
AXIS Surplus Insurance Company      Attn: Martin McCarty, Principal Representative 11680 Great Oaks Way                        Suite 500              Alpharetta     GA      30022
AXISCARE HEALTH LOGISTICS INC DBA   DROGERIA CENTRAL                                 PO BOX 1366                                                      DORADO         PR      00646
AXISCARE HEALTH LOGISTICS, INC      PO BOX 1366                                                                                                       DORADO         PR      00646
AXMAR GENERATOR SOLUTIONS INC       HC 72 BOX 3659                                                                                                    NARANJITO      PR      00719
AXNEL E ACOSTA ESCALERA             ADDRESS ON FILE
AXNEL ENRIQUE ACOSTA ESCALERA       ADDRESS ON FILE
AXON PUERTO RICO                    P O BOX 1397                                                                                                      ISABELA        PR      00662
AXTMANN HOLZMAN, MARY               ADDRESS ON FILE
AXTMAYER PRADO MD, ROBERT W         ADDRESS ON FILE
AXTMAYER PRADO, CARLOS              ADDRESS ON FILE
AXVOM GRUOP LLC                     35 JUAN C BORBON STE 67‐427                                                                                       GUAYNABO       PR      00969‐5375
AXWINE CORDERO VEGA                 ADDRESS ON FILE
AXXYA SYSTEMS LLC                   4800 SUGAR GROVE BLVD STE 602                                                                                     STAFFORD       TX      77477
AXXYA SYSTEMS LLC                   PO BOX 3157                                                                                                       REDMOND        WA      98073
AXY E PAGAN VAZQUEZ                 ADDRESS ON FILE
AXYSNET                             268 AVE MUNOZ RIVERA                             WORLD PLAZA BUILDING OFICINA 810                                 SAN JUAN       PR      00918
AXYSNET CORP                        WORD PLAZA BUILDING                              268 AVE MUNOZ RIVERA STE 810                                     SAN JUAN       PR      00918
AXYSNET CORP                        WORLD PLAZA                                      268 AVE MUNOZ RIVERA                      SUITE 810              SAN JUAN       PR      00918
AXYSNET CORPORATION                 268 MUNOZ RIVERA AVE.                            WORLD PLAZA SUITE 810                                            HATO REY       PR      00918
AXYSNET CORPORATION                 LIC. MIGUEL J. ORTEGA NUÑEZ ‐ ABOGADO DEMAPO BOX 195075                                                           SAN JUAN       PR      00919‐5075
AYABARRENO BERMUDEZ, DAISY          ADDRESS ON FILE
AYABARRENO LASANTA, ASTRID Y        ADDRESS ON FILE
AYABARRENO LASANTA, LUIS            ADDRESS ON FILE
AYABARRENO ORTIZ, RICHARD           ADDRESS ON FILE
AYABARRENO RIVERA, ZORAYDA          ADDRESS ON FILE
Ayala Abreu, Angel L                ADDRESS ON FILE
Ayala Abreu, Antonio                ADDRESS ON FILE
AYALA ABREU, ISABEL                 ADDRESS ON FILE
AYALA ABREU, MARGARITA              ADDRESS ON FILE
AYALA ACEVEDO, AMILCAR              ADDRESS ON FILE
Ayala Acevedo, Emanuel              ADDRESS ON FILE
AYALA ACEVEDO, EUGENIO              ADDRESS ON FILE
AYALA ACEVEDO, FELIX J.             ADDRESS ON FILE
AYALA ACEVEDO, GLENDALIZ            ADDRESS ON FILE
AYALA ACEVEDO, GUSTAVO              ADDRESS ON FILE
AYALA ACEVEDO, JANICE               ADDRESS ON FILE
AYALA ACEVEDO, JANICE               ADDRESS ON FILE
AYALA ACEVEDO, JORGE L.             ADDRESS ON FILE
AYALA ACEVEDO, JUAN                 ADDRESS ON FILE
AYALA ACEVEDO, JUAN                 ADDRESS ON FILE
AYALA ACEVEDO, LUIS                 ADDRESS ON FILE
AYALA ACEVEDO, PABLO                ADDRESS ON FILE
AYALA ACEVEDO, PEGGY                ADDRESS ON FILE
AYALA ACEVEDO, SOL                  ADDRESS ON FILE
AYALA ACEVEDO, SONIA                ADDRESS ON FILE
AYALA ACEVEDO, XAVIER               ADDRESS ON FILE
AYALA ACOSTA, ENID Y                ADDRESS ON FILE
AYALA ACOSTA, MERVIN                ADDRESS ON FILE
AYALA ADORNO, KEISHLA               ADDRESS ON FILE
AYALA AGOSTO, ADELINA               ADDRESS ON FILE
AYALA AGOSTO, ANDREA                ADDRESS ON FILE
AYALA AGOSTO, MARIA                 ADDRESS ON FILE




                                                                                                                Page 664 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 665 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA AGOSTO, NIKOLE         ADDRESS ON FILE
AYALA AGOSTO, RAFAEL         ADDRESS ON FILE
AYALA AGUIAR, HECTOR I       ADDRESS ON FILE
Ayala Aguiar, Jose A         ADDRESS ON FILE
AYALA AGUILAR, ANA M         ADDRESS ON FILE
AYALA AGUILER, MARGARITA     ADDRESS ON FILE
AYALA ALBELO, GRACE M.       ADDRESS ON FILE
AYALA ALEJANDRO, GERALDINE   ADDRESS ON FILE
AYALA ALEJANDRO, GERARDO     ADDRESS ON FILE
AYALA ALEJANDRO,GERARDINE    ADDRESS ON FILE
AYALA ALEQUIN, DAVID         ADDRESS ON FILE
AYALA ALICEA, IVETTE E       ADDRESS ON FILE
AYALA ALICEA, JAIME          ADDRESS ON FILE
AYALA ALICEA, VICTOR         ADDRESS ON FILE
AYALA ALMODOVAR, DANIEL      ADDRESS ON FILE
AYALA ALMODOVAR, SYLVIA E    ADDRESS ON FILE
AYALA ALTAGRACIA, VICTOR M   ADDRESS ON FILE
AYALA ALVARADO, CARLOS       ADDRESS ON FILE
AYALA ALVARADO, JOSE         ADDRESS ON FILE
Ayala Alvarado, Jose R       ADDRESS ON FILE
AYALA ALVARADO, OGEL         ADDRESS ON FILE
AYALA ALVAREZ, ANTONIA       ADDRESS ON FILE
AYALA ALVAREZ, AXEL          ADDRESS ON FILE
AYALA ALVAREZ, WILLIAM F.    ADDRESS ON FILE
AYALA ALVEREZ, DORA E.       ADDRESS ON FILE
AYALA ALVIRA, MARIA S.       ADDRESS ON FILE
AYALA AMARO, JUAN            ADDRESS ON FILE
Ayala Amaro, Pablo           ADDRESS ON FILE
AYALA AMELY, JOSE            ADDRESS ON FILE
AYALA ANDINO, CARMEN L       ADDRESS ON FILE
AYALA ANDINO, ELSA           ADDRESS ON FILE
AYALA ANDINO, MARIA I        ADDRESS ON FILE
AYALA ANDINO, OLGA L         ADDRESS ON FILE
AYALA ANDINO, SAMUEL         ADDRESS ON FILE
AYALA ANDUJAR, VICTOR        ADDRESS ON FILE
AYALA APONTE, ELI            ADDRESS ON FILE
AYALA APONTE, EMILIANO       ADDRESS ON FILE
AYALA APONTE, ITAI           ADDRESS ON FILE
AYALA APONTE, URSINO         ADDRESS ON FILE
AYALA AQUINO, JORGE          ADDRESS ON FILE
Ayala Arocho, Anibal Y       ADDRESS ON FILE
AYALA AROCHO, EDWARD         ADDRESS ON FILE
Ayala Arroyo, Adrian         ADDRESS ON FILE
AYALA ARROYO, ANDRES         ADDRESS ON FILE
AYALA ARROYO, ANDRES         ADDRESS ON FILE
Ayala Arroyo, Arlyn          ADDRESS ON FILE
AYALA ARROYO, ERNESTO        ADDRESS ON FILE
AYALA ARROYO, LAURA          ADDRESS ON FILE
AYALA ARROYO, LUIS A.        ADDRESS ON FILE
AYALA ARROYO, LUIS A.        ADDRESS ON FILE
AYALA ARROYO, LYMORIS        ADDRESS ON FILE
AYALA ASENCIO, JAN           ADDRESS ON FILE
AYALA ASENCIO, LUIS          ADDRESS ON FILE
AYALA AVILES, CARMEN E       ADDRESS ON FILE
AYALA AYALA, ALMA E          ADDRESS ON FILE
AYALA AYALA, CARMEN          ADDRESS ON FILE
AYALA AYALA, CARMEN          ADDRESS ON FILE
AYALA AYALA, CARMEN N        ADDRESS ON FILE
AYALA AYALA, EDGAR           ADDRESS ON FILE
AYALA AYALA, ERNESTO         ADDRESS ON FILE




                                                                         Page 665 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 666 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA AYALA, EVELYN            ADDRESS ON FILE
AYALA AYALA, GERMAN            ADDRESS ON FILE
Ayala Ayala, Hector J          ADDRESS ON FILE
AYALA AYALA, HERIBERTO         ADDRESS ON FILE
AYALA AYALA, JORGE IVAN        ADDRESS ON FILE
AYALA AYALA, KENNYS            ADDRESS ON FILE
AYALA AYALA, LORAINE           ADDRESS ON FILE
AYALA AYALA, MARCELINA         ADDRESS ON FILE
AYALA AYALA, MARITZA           ADDRESS ON FILE
AYALA AYALA, MIGUEL            ADDRESS ON FILE
AYALA AYALA, MIGUEL            ADDRESS ON FILE
AYALA AYALA, NOEL              ADDRESS ON FILE
AYALA AYALA, NORMA             ADDRESS ON FILE
Ayala Ayala, Pascual           ADDRESS ON FILE
AYALA AYALA, PEDRO A           ADDRESS ON FILE
AYALA AYALA, RAQUELLA          ADDRESS ON FILE
AYALA AYBAR, MARITZA           ADDRESS ON FILE
AYALA BADILLO, NORMA I         ADDRESS ON FILE
AYALA BAEZ, ASTRID M           ADDRESS ON FILE
AYALA BAEZ, CARMEN J           ADDRESS ON FILE
AYALA BAEZ, GABRIEL            ADDRESS ON FILE
AYALA BAEZ, KERENLY            ADDRESS ON FILE
AYALA BAEZ, YANIRA             ADDRESS ON FILE
AYALA BAEZ, YANIRA             ADDRESS ON FILE
AYALA BALINES, NORLISA         ADDRESS ON FILE
AYALA BARBOSA, AMERIDA         ADDRESS ON FILE
AYALA BARBOSA, ILEANA          ADDRESS ON FILE
AYALA BARBOSA, MANUEL          ADDRESS ON FILE
AYALA BARBOSA, RAFAEL          ADDRESS ON FILE
AYALA BARBOSA, VICTOR M        ADDRESS ON FILE
AYALA BARBOSA, VILMA           ADDRESS ON FILE
AYALA BARCELO, FRANCISCO       ADDRESS ON FILE
AYALA BARRETO, GISELLE MARIE   ADDRESS ON FILE
AYALA BARRETO, KAREN LIS       ADDRESS ON FILE
AYALA BARRETO, KATELIN         ADDRESS ON FILE
AYALA BATISTA, GABRIEL         ADDRESS ON FILE
AYALA BATISTA, WILFREDO        ADDRESS ON FILE
AYALA BELARDO, HILARIO         ADDRESS ON FILE
AYALA BELARDO, WANDA I.        ADDRESS ON FILE
AYALA BELEN, SONIA             ADDRESS ON FILE
AYALA BELEN, WILLIAM           ADDRESS ON FILE
AYALA BELTRAN, MARGARITA       ADDRESS ON FILE
Ayala Beltran, Maricell        ADDRESS ON FILE
AYALA BENITEZ, AIXA            ADDRESS ON FILE
AYALA BERMUDEZ, YOLANDA        ADDRESS ON FILE
AYALA BERNARD, BIENVENIDA      ADDRESS ON FILE
AYALA BERNARD, HECTOR          ADDRESS ON FILE
AYALA BERRIOS MD, JOSE A       ADDRESS ON FILE
AYALA BERRIOS, ALEXANDER       ADDRESS ON FILE
AYALA BERRIOS, GUSTAVO         ADDRESS ON FILE
AYALA BERROCALES RAYMOND       ADDRESS ON FILE
AYALA BETANCOURT, LUZ          ADDRESS ON FILE
AYALA BLANCO, MARISELA         ADDRESS ON FILE
AYALA BONET, LYDIA E           ADDRESS ON FILE
AYALA BONET, MIRIAM            ADDRESS ON FILE
AYALA BONILLA, ALEX            ADDRESS ON FILE
AYALA BONILLA, ALEX O          ADDRESS ON FILE
AYALA BONILLA, JOSE            ADDRESS ON FILE
AYALA BONILLA, MAGDA           ADDRESS ON FILE
AYALA BONILLA, MAGDA           ADDRESS ON FILE




                                                                           Page 666 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 667 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA BONILLA, MILAGROS       ADDRESS ON FILE
AYALA BONILLA, SANDRA         ADDRESS ON FILE
AYALA BONILLA, YAMIL          ADDRESS ON FILE
AYALA BORIA, MARIEL           ADDRESS ON FILE
AYALA BORRERO, JOHN P.        ADDRESS ON FILE
AYALA BORRERO, KARLA TERESA   ADDRESS ON FILE
AYALA BOURDON, AXEL           ADDRESS ON FILE
AYALA BOURDON, AXEL           ADDRESS ON FILE
AYALA BOUSSON, JULIO F.       ADDRESS ON FILE
AYALA BOUSSON, LINDALEE       ADDRESS ON FILE
AYALA BOUSSON, RAQUEL         ADDRESS ON FILE
AYALA BRAVO, KATHIA           ADDRESS ON FILE
AYALA BRENES, ADA             ADDRESS ON FILE
AYALA BRUNO, ANA M.           ADDRESS ON FILE
AYALA BULTRON, LUIS E         ADDRESS ON FILE
AYALA BURGOS, SHEILA Y        ADDRESS ON FILE
AYALA CABAN, WILLIAM          ADDRESS ON FILE
AYALA CABRERA, EDWIN          ADDRESS ON FILE
AYALA CABRERA, MARLENE        ADDRESS ON FILE
AYALA CADIZ,ELADIA            ADDRESS ON FILE
AYALA CALDERON, CYNTHIA       ADDRESS ON FILE
AYALA CALDERON, DOMINGA       ADDRESS ON FILE
AYALA CALDERON, SHERLEY       ADDRESS ON FILE
Ayala Calderon, Yadivelisse   ADDRESS ON FILE
AYALA CALZADA, DORA H         ADDRESS ON FILE
AYALA CALZADA, JOSE L         ADDRESS ON FILE
AYALA CALZAMILIA, YAMIR       ADDRESS ON FILE
Ayala Cameron, Joevany        ADDRESS ON FILE
AYALA CAMINERO, RADAMES       ADDRESS ON FILE
AYALA CAMPOS, JESLLY A        ADDRESS ON FILE
AYALA CAMPOS, KELLY ANN       ADDRESS ON FILE
AYALA CAMPOS, VICTOR          ADDRESS ON FILE
AYALA CAMPS, LYDIA M          ADDRESS ON FILE
AYALA CANALES, IRAIDA         ADDRESS ON FILE
AYALA CANALES, JULIO          ADDRESS ON FILE
AYALA CANALES, MARIA L.       ADDRESS ON FILE
AYALA CANALES, ROSA I.        ADDRESS ON FILE
AYALA CANCEL , GENOVEVA       ADDRESS ON FILE
AYALA CANCEL, ANA             ADDRESS ON FILE
AYALA CANCEL, INGINIO         ADDRESS ON FILE
AYALA CANDELARIA, KELVIN      ADDRESS ON FILE
AYALA CANDELARIO, JOHAN M.    ADDRESS ON FILE
AYALA CANDELARIO, JOHAN M.    ADDRESS ON FILE
AYALA CANDELARIO, JOSE E      ADDRESS ON FILE
AYALA CANDELARIO, MARIANE M   ADDRESS ON FILE
AYALA CARABALLO, JAVIER       ADDRESS ON FILE
AYALA CARABALLO, SAMARY       ADDRESS ON FILE
AYALA CARABALLO, SYLVIA       ADDRESS ON FILE
AYALA CARABALLO, WANDA        ADDRESS ON FILE
AYALA CARDONA MD, HEIDI M     ADDRESS ON FILE
AYALA CARDONA, EDWIN          ADDRESS ON FILE
AYALA CARDONA, HECTOR         ADDRESS ON FILE
AYALA CARDONA, HEIDI M.       ADDRESS ON FILE
AYALA CARDONA, SONIA          ADDRESS ON FILE
AYALA CARDONA, SONIA M        ADDRESS ON FILE
AYALA CARMONA, JOSE           ADDRESS ON FILE
AYALA CARMONA, MARIA A.       ADDRESS ON FILE
AYALA CARRASQUILLO, ADELA     ADDRESS ON FILE
Ayala Carrasquillo, Angel M   ADDRESS ON FILE
AYALA CARRASQUILLO, DANNIS    ADDRESS ON FILE




                                                                          Page 667 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 668 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA CARRASQUILLO, EDNA M       ADDRESS ON FILE
AYALA CARRASQUILLO, EDNA M.      ADDRESS ON FILE
AYALA CARRASQUILLO, HERMINIO     ADDRESS ON FILE
AYALA CARRASQUILLO, ISABEL       ADDRESS ON FILE
AYALA CARRASQUILLO, JOSSIE M.    ADDRESS ON FILE
AYALA CARRASQUILLO, JUAN         ADDRESS ON FILE
AYALA CARRASQUILLO, LUZ E        ADDRESS ON FILE
AYALA CARRASQUILLO, YINMAVELIZ   ADDRESS ON FILE
AYALA CARRION, CECILIA           ADDRESS ON FILE
AYALA CARRION, MICHAEL           ADDRESS ON FILE
AYALA CARRION, MICHAEL           ADDRESS ON FILE
AYALA CARTAGENA, PAOLA M         ADDRESS ON FILE
AYALA CARTAGENA, XIOMARA         ADDRESS ON FILE
AYALA CASADO, CARIDAD            ADDRESS ON FILE
AYALA CASANOVA, JUAN R           ADDRESS ON FILE
AYALA CASES, OMAR                ADDRESS ON FILE
AYALA CASIANO, ANDREW            ADDRESS ON FILE
Ayala Casiano, Hilton            ADDRESS ON FILE
AYALA CASIANO, MANUEL            ADDRESS ON FILE
AYALA CASIANO, MANUEL A          ADDRESS ON FILE
AYALA CASIANO, MARANGELI         ADDRESS ON FILE
AYALA CASIANO, XENNIA            ADDRESS ON FILE
AYALA CASILLAS, AYLEEN           ADDRESS ON FILE
AYALA CASTILLO, ANA L            ADDRESS ON FILE
AYALA CASTILLO, JONATHAN         ADDRESS ON FILE
Ayala Castro, Raymond O          ADDRESS ON FILE
AYALA CATARICH, EDDA H           ADDRESS ON FILE
AYALA CEBOLLERO, CARMEN R        ADDRESS ON FILE
AYALA CENTENO, FRANCISCO         ADDRESS ON FILE
AYALA CENTENO, JOAQUIN           ADDRESS ON FILE
AYALA CEPEDA, ISMAEL             ADDRESS ON FILE
AYALA CEPEDA, NEYSA A            ADDRESS ON FILE
AYALA CHAPARRO, NYDIA E          ADDRESS ON FILE
AYALA CHARRIEZ, MARIA DEL M      ADDRESS ON FILE
AYALA CHARRIEZ, MARIA DEL MAR    ADDRESS ON FILE
AYALA CHEVERE, ELBA JANNETTE     ADDRESS ON FILE
AYALA CHEVERE, JUAN J.           ADDRESS ON FILE
AYALA CHINEA, DIMARY             ADDRESS ON FILE
AYALA CINTRON, CARMEN G          ADDRESS ON FILE
AYALA CINTRON, DIANA             ADDRESS ON FILE
AYALA CINTRON, GINNETTE          ADDRESS ON FILE
AYALA CINTRON, JESSICA           ADDRESS ON FILE
AYALA CINTRON, JULIO R           ADDRESS ON FILE
AYALA CINTRON, MYRNA             ADDRESS ON FILE
AYALA CINTRON, SANDRA            ADDRESS ON FILE
AYALA CINTRON, SYLVIA            ADDRESS ON FILE
AYALA CIRINO, JUAN F             ADDRESS ON FILE
AYALA CIRINO, MILITZA            ADDRESS ON FILE
AYALA CIRINO, VICTOR M           ADDRESS ON FILE
AYALA CIRINO, WILFREDO           ADDRESS ON FILE
AYALA CIRINO, WILFREDO           ADDRESS ON FILE
AYALA CLASS, RAMON               ADDRESS ON FILE
AYALA CLASS, RAMON L.            ADDRESS ON FILE
AYALA CLAUDIO, BASILIO           ADDRESS ON FILE
AYALA CLEMENTE, ANTONIO          ADDRESS ON FILE
AYALA CLEMENTE, HAZNERY          ADDRESS ON FILE
AYALA CLEMENTE, JOSE M           ADDRESS ON FILE
AYALA CLEMENTE, JULIO A          ADDRESS ON FILE
AYALA CLEMENTE, ROSA E           ADDRESS ON FILE
AYALA COLLAZO, ISAMI CRISTINA    ADDRESS ON FILE




                                                                             Page 668 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 669 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA COLLAZO, JOSE                ADDRESS ON FILE
Ayala Collazo, Manuel              ADDRESS ON FILE
AYALA COLLAZO, MANUEL              ADDRESS ON FILE
AYALA COLLAZO, RICHARD             ADDRESS ON FILE
AYALA COLON MD, JORGE              ADDRESS ON FILE
AYALA COLON, ABRAHAM               ADDRESS ON FILE
AYALA COLON, BENJANIN              ADDRESS ON FILE
AYALA COLON, DAMARIS               ADDRESS ON FILE
AYALA COLON, DOMINGO               ADDRESS ON FILE
AYALA COLON, EVELYN                ADDRESS ON FILE
AYALA COLON, EVELYN                ADDRESS ON FILE
AYALA COLON, JOSE                  ADDRESS ON FILE
AYALA COLON, KEVIN OMAR            ADDRESS ON FILE
AYALA COLON, LAURA E               ADDRESS ON FILE
Ayala Colon, Lionel                ADDRESS ON FILE
AYALA COLON, MARIA DE L            ADDRESS ON FILE
AYALA COLON, MARLYN                ADDRESS ON FILE
AYALA COLON, MILAGROS              ADDRESS ON FILE
AYALA COLON, RICARDO               ADDRESS ON FILE
AYALA COLON, ROSALIE               ADDRESS ON FILE
AYALA COLON, ROSANDRA              ADDRESS ON FILE
AYALA COLON, SASHA                 ADDRESS ON FILE
AYALA COLON, WALESKA               ADDRESS ON FILE
AYALA COMPRES, SAMUEL              ADDRESS ON FILE
AYALA CONCEPCION, ENEIDA           ADDRESS ON FILE
AYALA CONCEPCION, JORGE            ADDRESS ON FILE
AYALA CONCEPCION, JORGE L          ADDRESS ON FILE
AYALA CONCEPCION, JUAN CARLOS      ADDRESS ON FILE
AYALA CONCEPCION, MARIA DE LOS A   ADDRESS ON FILE
AYALA CONCEPCION, MARTIN           ADDRESS ON FILE
AYALA CONCEPCION, MILAGROS         ADDRESS ON FILE
AYALA CONCEPCION, SOCORRO          ADDRESS ON FILE
AYALA CONCEPCION, SOCORRO          ADDRESS ON FILE
AYALA CONCEPCION, SOL C.           ADDRESS ON FILE
AYALA CONDE, JOSE                  ADDRESS ON FILE
AYALA CORCHADO, MARIA A            ADDRESS ON FILE
Ayala Cordero, Ernesto             ADDRESS ON FILE
AYALA COREANO, MARVIN              ADDRESS ON FILE
AYALA CORREA, GLADYMAR             ADDRESS ON FILE
AYALA CORREA, SHARYMAR             ADDRESS ON FILE
AYALA CORTES, ANA                  ADDRESS ON FILE
AYALA CORTES, JOHN A.              ADDRESS ON FILE
AYALA COSME, ANGEL L               ADDRESS ON FILE
AYALA COSME, MILEIDIS              ADDRESS ON FILE
AYALA COSTALES, JOSE D             ADDRESS ON FILE
AYALA COTTO, DORIS                 ADDRESS ON FILE
AYALA COTTO, DORIS J               ADDRESS ON FILE
AYALA COTTO, EDUARDO J             ADDRESS ON FILE
AYALA COTTO, ELENA                 ADDRESS ON FILE
AYALA COTTO, HECTOR A              ADDRESS ON FILE
AYALA COTTO, MARGARITA             ADDRESS ON FILE
AYALA COTTO, NEPHTALI              ADDRESS ON FILE
AYALA COTTO, ROSA ALEJANDRA        ADDRESS ON FILE
Ayala Cotto, Sebastian             ADDRESS ON FILE
AYALA COTTO,HECTOR A.              ADDRESS ON FILE
AYALA COUVERTIER, MADELYN E.       ADDRESS ON FILE
AYALA CRESPO, GLENDA Y             ADDRESS ON FILE
AYALA CRESPO, LUIS                 ADDRESS ON FILE
AYALA CRESPO, TAMARA MARIA         ADDRESS ON FILE
AYALA CRUZ, AIDA                   ADDRESS ON FILE




                                                                               Page 669 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 670 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA CRUZ, ANGEL          ADDRESS ON FILE
AYALA CRUZ, ANGEL          ADDRESS ON FILE
AYALA CRUZ, ANGEL L        ADDRESS ON FILE
AYALA CRUZ, BEATRIZ        ADDRESS ON FILE
AYALA CRUZ, BENETH         ADDRESS ON FILE
AYALA CRUZ, BIENVENIDO     ADDRESS ON FILE
AYALA CRUZ, CHARLENE       ADDRESS ON FILE
AYALA CRUZ, DAVID          ADDRESS ON FILE
AYALA CRUZ, DELY           ADDRESS ON FILE
AYALA CRUZ, ELIZAIDA       ADDRESS ON FILE
AYALA CRUZ, ENRIQUE        ADDRESS ON FILE
AYALA CRUZ, ENRIQUE        ADDRESS ON FILE
AYALA CRUZ, ERNESTO        ADDRESS ON FILE
AYALA CRUZ, EVARISTA       ADDRESS ON FILE
AYALA CRUZ, FELIX          ADDRESS ON FILE
AYALA CRUZ, FERNANDO       ADDRESS ON FILE
AYALA CRUZ, IOLANDA        ADDRESS ON FILE
AYALA CRUZ, IRAIDA         ADDRESS ON FILE
AYALA CRUZ, IVAN R.        ADDRESS ON FILE
AYALA CRUZ, IVETTE         ADDRESS ON FILE
AYALA CRUZ, JESSICA        ADDRESS ON FILE
AYALA CRUZ, JESUS          ADDRESS ON FILE
AYALA CRUZ, JOSE R.        ADDRESS ON FILE
AYALA CRUZ, JOSE W         ADDRESS ON FILE
AYALA CRUZ, JUAN O.        ADDRESS ON FILE
AYALA CRUZ, KENNETH J      ADDRESS ON FILE
AYALA CRUZ, LETICIA        ADDRESS ON FILE
AYALA CRUZ, LYDIA E.       ADDRESS ON FILE
AYALA CRUZ, MAGDALENA      ADDRESS ON FILE
AYALA CRUZ, MARIA          ADDRESS ON FILE
AYALA CRUZ, MARIA T        ADDRESS ON FILE
Ayala Cruz, Maria T        ADDRESS ON FILE
AYALA CRUZ, MIGUEL         ADDRESS ON FILE
Ayala Cruz, Miguel A       ADDRESS ON FILE
AYALA CRUZ, MILAGROS A     ADDRESS ON FILE
AYALA CRUZ, MILDRED        ADDRESS ON FILE
Ayala Cruz, Milton         ADDRESS ON FILE
AYALA CRUZ, NANCY          ADDRESS ON FILE
AYALA CRUZ, NANCY          ADDRESS ON FILE
AYALA CRUZ, NANCY          ADDRESS ON FILE
Ayala Cruz, Omar           ADDRESS ON FILE
AYALA CRUZ, OTONIEL        ADDRESS ON FILE
Ayala Cruz, Ramon D.       ADDRESS ON FILE
AYALA CRUZ, RICARDO        ADDRESS ON FILE
AYALA CRUZ, SANDRA I       ADDRESS ON FILE
AYALA CRUZ, SZARITSA E     ADDRESS ON FILE
AYALA CRUZ, VICENTE        ADDRESS ON FILE
AYALA CRUZ, VIRGEN Z       ADDRESS ON FILE
AYALA CRUZ, WANDA          ADDRESS ON FILE
AYALA CRUZ, XAVIER         ADDRESS ON FILE
AYALA CRUZ, YAMIL J.       ADDRESS ON FILE
AYALA CRUZ, YAMILKA        ADDRESS ON FILE
AYALA CRUZ, ZORAIDA        ADDRESS ON FILE
AYALA CRUZ,ANIBAL          ADDRESS ON FILE
Ayala Cuadrado, Ismael     ADDRESS ON FILE
AYALA CUERVOS MD, JOSE R   ADDRESS ON FILE
AYALA CUERVOS, JOSE R.     ADDRESS ON FILE
AYALA CUEVAS, MELVIN       ADDRESS ON FILE
AYALA CURBELO, MIRELYS     ADDRESS ON FILE
AYALA DAVILA, CARLOS       ADDRESS ON FILE




                                                                       Page 670 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 671 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA DAVILA, GLORIA M       ADDRESS ON FILE
AYALA DAVILA, JULIO          ADDRESS ON FILE
AYALA DAVILA, MIGDALIZ       ADDRESS ON FILE
AYALA DE AGOSTO, MAGDALIS    ADDRESS ON FILE
AYALA DE GARCIA, MIRIAM      ADDRESS ON FILE
AYALA DE JESUS, AMARILYS     ADDRESS ON FILE
AYALA DE JESUS, CARLOS I     ADDRESS ON FILE
AYALA DE JESUS, EVERLINDA    ADDRESS ON FILE
AYALA DE JESUS, LOURDES      ADDRESS ON FILE
AYALA DE JESUS, LOURDES      ADDRESS ON FILE
AYALA DE JESUS, MARIA M      ADDRESS ON FILE
AYALA DE JESUS, NORMA I      ADDRESS ON FILE
AYALA DE JESUS, ROSA M       ADDRESS ON FILE
AYALA DE JESUS, SANTOS       ADDRESS ON FILE
AYALA DE LA CRUZ, ELAINE M   ADDRESS ON FILE
AYALA DE LA CRUZ, WAGNER     ADDRESS ON FILE
AYALA DE LA PAZ, EDELMIRA    ADDRESS ON FILE
AYALA DE TIRADO, ERIVEL      ADDRESS ON FILE
AYALA DEJESUS, MARIA E.      ADDRESS ON FILE
AYALA DEL CARMEN, SANTIAGO   ADDRESS ON FILE
AYALA DEL RIO, SARAHI        ADDRESS ON FILE
Ayala Del Valle, Joel O.     ADDRESS ON FILE
AYALA DEL VALLE, LAILA       ADDRESS ON FILE
AYALA DEL VALLE, MARITZA     ADDRESS ON FILE
AYALA DELACRUZ, LUIS         ADDRESS ON FILE
AYALA DELGADO, ISABEL        ADDRESS ON FILE
AYALA DELGADO, JAVIER        ADDRESS ON FILE
AYALA DELGADO, JUAN          ADDRESS ON FILE
AYALA DELGADO, LUIS          ADDRESS ON FILE
AYALA DELGADO, MARTHA        ADDRESS ON FILE
AYALA DELGADO,CARLOS         ADDRESS ON FILE
AYALA DESARDEN, WILMARY      ADDRESS ON FILE
AYALA DETRES, MICHAEL        ADDRESS ON FILE
AYALA DIA Z, JUANITA         ADDRESS ON FILE
AYALA DIAZ, AIDA             ADDRESS ON FILE
AYALA DIAZ, ALMA             ADDRESS ON FILE
AYALA DIAZ, ANGEL L          ADDRESS ON FILE
AYALA DIAZ, ANGEL M          ADDRESS ON FILE
AYALA DIAZ, AXEL             ADDRESS ON FILE
AYALA DIAZ, EDGAR            ADDRESS ON FILE
AYALA DIAZ, EDGAR            ADDRESS ON FILE
AYALA DIAZ, FAUSTINO         ADDRESS ON FILE
AYALA DIAZ, FREDDIE          ADDRESS ON FILE
AYALA DIAZ, LUIS A           ADDRESS ON FILE
AYALA DIAZ, MARIA DEL P      ADDRESS ON FILE
AYALA DIAZ, MARIA L          ADDRESS ON FILE
AYALA DIAZ, MYRNA            ADDRESS ON FILE
AYALA DIAZ, RAMON            ADDRESS ON FILE
AYALA DIAZ, ROCIO            ADDRESS ON FILE
AYALA DIAZ, RUPERTO          ADDRESS ON FILE
AYALA DIAZ, WILFREDO         ADDRESS ON FILE
AYALA DIAZ, YARYTZA          ADDRESS ON FILE
AYALA ENCARNACION, CYNTHIA   ADDRESS ON FILE
AYALA ENCARNACION, NELLY     ADDRESS ON FILE
AYALA ENCARNACION, YASIRIS   ADDRESS ON FILE
Ayala Erazo, Angel           ADDRESS ON FILE
AYALA ERAZO, ANGEL ANTONIO   ADDRESS ON FILE
AYALA ERAZO, ANGEL J.        ADDRESS ON FILE
AYALA ESCALERA, BRENDA L     ADDRESS ON FILE
Ayala Escalera, Ernesto I    ADDRESS ON FILE




                                                                         Page 671 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 672 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA ESCALERA, JOSE            ADDRESS ON FILE
Ayala Escalera, Jose L          ADDRESS ON FILE
AYALA ESCOBAR, KELLY M          ADDRESS ON FILE
Ayala Espinosa, Efrain          ADDRESS ON FILE
AYALA ESPINOSA, FELICITA        ADDRESS ON FILE
AYALA ESPINOSA, JORGE L         ADDRESS ON FILE
Ayala Esquilin, Maria M         ADDRESS ON FILE
AYALA ESTEVES, MELLANIE         ADDRESS ON FILE
AYALA ESTRADA, ANA              ADDRESS ON FILE
AYALA FALCON, ELSA M            ADDRESS ON FILE
AYALA FALCON, JUAN              ADDRESS ON FILE
Ayala Falcon, Vannesa           ADDRESS ON FILE
AYALA FANTAUZZI, MARCOS         ADDRESS ON FILE
AYALA FEBRES, HECTOR            ADDRESS ON FILE
AYALA FELICIANO, EVELYN         ADDRESS ON FILE
AYALA FELICIANO, MARCO          ADDRESS ON FILE
AYALA FELICIANO, MARCO          ADDRESS ON FILE
AYALA FELIX, GRISSEL            ADDRESS ON FILE
AYALA FELIX, JUAN               ADDRESS ON FILE
AYALA FELIX, YADIRA             ADDRESS ON FILE
AYALA FERNANDEZ, CARLOS         ADDRESS ON FILE
AYALA FERREIRA, NILDA E         ADDRESS ON FILE
AYALA FIGUEROA, ANGEL L         ADDRESS ON FILE
AYALA FIGUEROA, ANGEL L.        ADDRESS ON FILE
AYALA FIGUEROA, ANGEL L.        ADDRESS ON FILE
Ayala Figueroa, Cecilio         ADDRESS ON FILE
Ayala Figueroa, Edwin           ADDRESS ON FILE
AYALA FIGUEROA, IRIS            ADDRESS ON FILE
AYALA FIGUEROA, IVONNE          ADDRESS ON FILE
AYALA FIGUEROA, JESUS M         ADDRESS ON FILE
AYALA FIGUEROA, JOSE            ADDRESS ON FILE
Ayala Figueroa, Luis R          ADDRESS ON FILE
AYALA FIGUEROA, MILDRED         ADDRESS ON FILE
AYALA FIGUEROA, OSCAR           ADDRESS ON FILE
Ayala Fines, Leonardo           ADDRESS ON FILE
Ayala Fines, Luis A             ADDRESS ON FILE
AYALA FLORAN, ANASTACIO         ADDRESS ON FILE
AYALA FLORES, HAZEL             ADDRESS ON FILE
Ayala Flores, Jose A            ADDRESS ON FILE
AYALA FLORES, SAMARA L          ADDRESS ON FILE
AYALA FLORES, SONIA             ADDRESS ON FILE
AYALA FLORES, STEPHENIE M.      ADDRESS ON FILE
AYALA FLORES, STEPHENIE MARIE   ADDRESS ON FILE
Ayala Fonseca, Odalis           ADDRESS ON FILE
AYALA FONSECA, OLGA             ADDRESS ON FILE
AYALA FONTANEZ, ANTONIO         ADDRESS ON FILE
AYALA FONTANEZ, ISABEL          ADDRESS ON FILE
AYALA FONTANEZ, NYDIA           ADDRESS ON FILE
AYALA FONTANEZ, ROBERTO C       ADDRESS ON FILE
AYALA FONTANEZ, ROSA M          ADDRESS ON FILE
AYALA FRADERA, JEOVANNI         ADDRESS ON FILE
AYALA FRANKIS, ISABEL           ADDRESS ON FILE
AYALA FREYTES, ANA I            ADDRESS ON FILE
AYALA FUENTES, AIDA             ADDRESS ON FILE
AYALA FUENTES, ASHLIE           ADDRESS ON FILE
AYALA FUENTES, ASHLIE           ADDRESS ON FILE
AYALA FUENTES, ASHLIE MARIE     ADDRESS ON FILE
AYALA FUENTES, CARMEN           ADDRESS ON FILE
AYALA FUENTES, CARMEN I         ADDRESS ON FILE
AYALA FUENTES, CARMEN L         ADDRESS ON FILE




                                                                            Page 672 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 673 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA FUENTES, CARMEN M          ADDRESS ON FILE
AYALA FUENTES, EDWIN             ADDRESS ON FILE
AYALA FUENTES, GRECIA M.         ADDRESS ON FILE
AYALA FUENTES, MARIA DE LOS A.   ADDRESS ON FILE
AYALA FUENTES, PEDRO             ADDRESS ON FILE
AYALA FUENTES, RUHAMA            ADDRESS ON FILE
AYALA GAETAN, ELIZABETH          ADDRESS ON FILE
AYALA GALARZA, OSVALDO           ADDRESS ON FILE
AYALA GARAY, ELVIRA              ADDRESS ON FILE
AYALA GARCIA, ELIEZER            ADDRESS ON FILE
Ayala Garcia, Francisco          ADDRESS ON FILE
AYALA GARCIA, IDANIS             ADDRESS ON FILE
AYALA GARCIA, IRIS               ADDRESS ON FILE
AYALA GARCIA, JOSE G.            ADDRESS ON FILE
AYALA GARCIA, NICOLE M           ADDRESS ON FILE
AYALA GARCIA, SHAYNETTE          ADDRESS ON FILE
AYALA GARCIA, YADIRA E           ADDRESS ON FILE
AYALA GARNIER, LUIS              ADDRESS ON FILE
AYALA GAUTIER, FRANCES           ADDRESS ON FILE
AYALA GERENA, JUAN               ADDRESS ON FILE
AYALA GERENA, VANESSA            ADDRESS ON FILE
AYALA GILOT, WILLIAM             ADDRESS ON FILE
AYALA GOMEZ, ADA M               ADDRESS ON FILE
AYALA GOMEZ, CARMEN              ADDRESS ON FILE
AYALA GOMEZ, LUZ M               ADDRESS ON FILE
AYALA GOMEZ, MARGARITA           ADDRESS ON FILE
AYALA GOMEZ, NEREIDA             ADDRESS ON FILE
AYALA GOMEZ, PABLO               ADDRESS ON FILE
Ayala Gomez, Pedro Antonio       ADDRESS ON FILE
AYALA GOMEZ, ROSE                ADDRESS ON FILE
AYALA GONZALEZ, AIXA A           ADDRESS ON FILE
AYALA GONZALEZ, ALEJANDRINA      ADDRESS ON FILE
AYALA GONZALEZ, ALEXANDRO        ADDRESS ON FILE
AYALA GONZALEZ, ANA              ADDRESS ON FILE
AYALA GONZALEZ, CELINES          ADDRESS ON FILE
AYALA GONZALEZ, DAMARIS          ADDRESS ON FILE
AYALA GONZALEZ, DANIEL           ADDRESS ON FILE
AYALA GONZALEZ, DARIO            ADDRESS ON FILE
AYALA GONZALEZ, DAVID            ADDRESS ON FILE
Ayala Gonzalez, Emanuel          ADDRESS ON FILE
AYALA GONZALEZ, EMILIO           ADDRESS ON FILE
AYALA GONZALEZ, HILDA            ADDRESS ON FILE
AYALA GONZALEZ, HILDA            ADDRESS ON FILE
AYALA GONZALEZ, IVETTE D         ADDRESS ON FILE
AYALA GONZALEZ, JANICE           ADDRESS ON FILE
AYALA GONZALEZ, JOSE             ADDRESS ON FILE
AYALA GONZALEZ, JOVAN            ADDRESS ON FILE
AYALA GONZALEZ, MARIA E.         ADDRESS ON FILE
AYALA GONZALEZ, MARIA J          ADDRESS ON FILE
AYALA GONZALEZ, MELVIN           ADDRESS ON FILE
AYALA GONZALEZ, MELVIN           ADDRESS ON FILE
Ayala Gonzalez, Milagros         ADDRESS ON FILE
AYALA GONZALEZ, MILAGROS         ADDRESS ON FILE
AYALA GONZALEZ, NOELYS           ADDRESS ON FILE
AYALA GONZALEZ, RAFAEL           ADDRESS ON FILE
AYALA GONZALEZ, YESENIA          ADDRESS ON FILE
AYALA GONZALEZ, ZINNIA           ADDRESS ON FILE
AYALA GORDIAN, JOSE              ADDRESS ON FILE
AYALA GUADALUPE, ROSA J          ADDRESS ON FILE
AYALA GUADARRAMA, WILMA Y        ADDRESS ON FILE




                                                                             Page 673 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 674 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA GUERRA, ALEXIS          ADDRESS ON FILE
AYALA GUERRA, MARITZA         ADDRESS ON FILE
AYALA GUERRERO, ELDA M        ADDRESS ON FILE
AYALA GUEVARA, DARY           ADDRESS ON FILE
AYALA GUEVARA, MARIEN         ADDRESS ON FILE
AYALA GUTIERREZ, ALEXANDRA    ADDRESS ON FILE
AYALA GUTIERREZ, DENISSE J    ADDRESS ON FILE
AYALA GUTIERREZ, HAIDEILIA    ADDRESS ON FILE
AYALA GUTIERREZ, JOSE         ADDRESS ON FILE
AYALA GUTIERREZ, RAFAEL A.    ADDRESS ON FILE
AYALA GUZMAN, JESUS           ADDRESS ON FILE
AYALA GUZMAN, JOSE M          ADDRESS ON FILE
AYALA GUZMAN, LUIS            ADDRESS ON FILE
AYALA GUZMAN, NEREIDA         ADDRESS ON FILE
AYALA GUZMAN, RICARDO L.      ADDRESS ON FILE
AYALA HANCE, MARIA S          ADDRESS ON FILE
AYALA HEREDIA, NATHALIE       ADDRESS ON FILE
AYALA HERNANDEZ, ALBA I.      ADDRESS ON FILE
AYALA HERNANDEZ, ALFREDO      ADDRESS ON FILE
Ayala Hernandez, Amaris       ADDRESS ON FILE
AYALA HERNANDEZ, CARLA        ADDRESS ON FILE
AYALA HERNANDEZ, CARMEN S     ADDRESS ON FILE
AYALA HERNANDEZ, DAVID        ADDRESS ON FILE
AYALA HERNANDEZ, DOMINGA      ADDRESS ON FILE
AYALA HERNANDEZ, EDWIN        ADDRESS ON FILE
AYALA HERNANDEZ, EDWIN N      ADDRESS ON FILE
AYALA HERNANDEZ, GREGORIA     ADDRESS ON FILE
AYALA HERNANDEZ, HECTOR       ADDRESS ON FILE
AYALA HERNANDEZ, JAIME        ADDRESS ON FILE
AYALA HERNANDEZ, JOEL A.      ADDRESS ON FILE
AYALA HERNANDEZ, JUAN         ADDRESS ON FILE
AYALA HERNANDEZ, JUAN M.      ADDRESS ON FILE
AYALA HERNANDEZ, JUANA E.     ADDRESS ON FILE
AYALA HERNANDEZ, LUCIANO      ADDRESS ON FILE
AYALA HERNANDEZ, MARIA D      ADDRESS ON FILE
AYALA HERNANDEZ, MARIA D      ADDRESS ON FILE
AYALA HERNANDEZ, MARICARMEN   ADDRESS ON FILE
AYALA HERNANDEZ, MARITZA      ADDRESS ON FILE
AYALA HERNANDEZ, OJER         ADDRESS ON FILE
AYALA HERNANDEZ, PURA M       ADDRESS ON FILE
AYALA HERNANDEZ, QUETCY       ADDRESS ON FILE
AYALA HERNANDEZ, RAMIRO       ADDRESS ON FILE
AYALA HERNANDEZ, SARYBEL      ADDRESS ON FILE
AYALA HERNANDEZ, SUHAYDEE I   ADDRESS ON FILE
AYALA HERNANDEZ, XIOMARA      ADDRESS ON FILE
AYALA HERRERA, CARLOS         ADDRESS ON FILE
AYALA HERRERA, DORIS          ADDRESS ON FILE
AYALA HUERTAS, LEIDY          ADDRESS ON FILE
AYALA II SANCHEZ, ALBERTO     ADDRESS ON FILE
AYALA IIRZARRY, ANGEL         ADDRESS ON FILE
AYALA IRENE, MARIANGELIE      ADDRESS ON FILE
AYALA IRIZARRY, ALEXIS        ADDRESS ON FILE
AYALA IRIZARRY, ANGEL A.      ADDRESS ON FILE
AYALA IRIZARRY, ARWIN         ADDRESS ON FILE
AYALA IRIZARRY, MILTON        ADDRESS ON FILE
Ayala Irizarry, Minerva       ADDRESS ON FILE
AYALA IRIZARRY, MINERVA       ADDRESS ON FILE
AYALA IRIZARRY, RAMONITA      ADDRESS ON FILE
AYALA IRIZARRY, RAUL          ADDRESS ON FILE
AYALA IRIZARRY, RUBEN         ADDRESS ON FILE




                                                                          Page 674 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 675 of 3500
                                                                                Creditor Matrix

Creditor Name                  Address1                       Address2                       Address3   Address4   City         State   PostalCode   Country
Ayala Isaac, Noraima           ADDRESS ON FILE
AYALA JACKSON, CECILY          ADDRESS ON FILE
AYALA JAIME, ROBERTO           ADDRESS ON FILE
AYALA JIMENEZ, NELIDA          ADDRESS ON FILE
AYALA JORGE, AMAURY            ADDRESS ON FILE
AYALA JUARBE, JOSE ALBERTO     ADDRESS ON FILE
AYALA JUSINO, NAYLA P          ADDRESS ON FILE
AYALA JUSINO, ZULEIKA          ADDRESS ON FILE
Ayala Justiniano, Edyban       ADDRESS ON FILE
AYALA LABOY, ANGEL             ADDRESS ON FILE
AYALA LACEN, NITZA             ADDRESS ON FILE
AYALA LACEND, THANYA           ADDRESS ON FILE
AYALA LAMBERTY, LINA GISELLE   ADDRESS ON FILE
AYALA LANDRON, LUIS            ADDRESS ON FILE
AYALA LANDRON, TERESITA        ADDRESS ON FILE
AYALA LARA, MARIA              ADDRESS ON FILE
AYALA LARA, PEDRO              ADDRESS ON FILE
AYALA LARREGUI, ALICE          ADDRESS ON FILE
AYALA LAUREANO, GLADYS         ADDRESS ON FILE
AYALA LAUREANO, LUIS F.        ADDRESS ON FILE
AYALA LEBRON, FELIX            ADDRESS ON FILE
AYALA LEBRON, KARLA M          ADDRESS ON FILE
AYALA LEON, JAILYN M.          ADDRESS ON FILE
AYALA LEON, NELLY              ADDRESS ON FILE
AYALA LIND, SANDRA             ADDRESS ON FILE
AYALA LLANOS, MILCA            ADDRESS ON FILE
AYALA LLANOS, SARA             ADDRESS ON FILE
AYALA LLANOS, SARA LUZ         ESTEBAN MUJICA COTTO           PO BOX 192062                                        SAN JUAN     PR      00919‐2062
AYALA LLANOS, SARA LUZ         RAMON E SEGARRA BERRIOS        PO BOX 9023853                                       SAN JUAN     PR      00902‐3853
AYALA LLANOS, SARA LUZ         TERESITA MERCADO VIZCARRONDO   PO BOX 70244                                         SAN JUAN     PR      00936‐8244
AYALA LLAUGER, ANDREA M        ADDRESS ON FILE
AYALA LOJO, ADLIN              ADDRESS ON FILE
AYALA LOJO, ADLIN              ADDRESS ON FILE
AYALA LOJO, ADLIN              ADDRESS ON FILE
AYALA LOJO, NILDA              ADDRESS ON FILE
AYALA LOPEZ, ALEX X            ADDRESS ON FILE
AYALA LOPEZ, AMILSA            ADDRESS ON FILE
AYALA LOPEZ, ANGEL             ADDRESS ON FILE
AYALA LOPEZ, ANGEL             ADDRESS ON FILE
AYALA LOPEZ, CARLOS            ADDRESS ON FILE
AYALA LOPEZ, CYNDIA E          ADDRESS ON FILE
AYALA LOPEZ, EDGARD            ADDRESS ON FILE
AYALA LOPEZ, ELSA              ADDRESS ON FILE
Ayala Lopez, Eric S            ADDRESS ON FILE
Ayala Lopez, Estilito          ADDRESS ON FILE
AYALA LOPEZ, EUGENIO           ADDRESS ON FILE
AYALA LOPEZ, EUGENIO J.        ADDRESS ON FILE
AYALA LOPEZ, GIRBING           ADDRESS ON FILE
AYALA LOPEZ, GLADYS S          ADDRESS ON FILE
AYALA LOPEZ, IRIS N            ADDRESS ON FILE
AYALA LOPEZ, JAIME A           ADDRESS ON FILE
AYALA LOPEZ, JEANNETTE         ADDRESS ON FILE
AYALA LOPEZ, JESUS             ADDRESS ON FILE
AYALA LOPEZ, JOANIE            ADDRESS ON FILE
AYALA LOPEZ, JOSE D            ADDRESS ON FILE
AYALA LOPEZ, JUANA             ADDRESS ON FILE
Ayala Lopez, Luis              ADDRESS ON FILE
AYALA LOPEZ, LUZ               ADDRESS ON FILE
AYALA LOPEZ, MARIA             ADDRESS ON FILE
AYALA LOPEZ, MARTA M           ADDRESS ON FILE




                                                                               Page 675 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 676 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA LOPEZ, MELISSA          ADDRESS ON FILE
AYALA LOPEZ, NAYDA            ADDRESS ON FILE
AYALA LOPEZ, NESTOR           ADDRESS ON FILE
AYALA LOPEZ, PEDRO            ADDRESS ON FILE
AYALA LOPEZ, SYDNIA           ADDRESS ON FILE
AYALA LOPEZ, VICTOR           ADDRESS ON FILE
AYALA LOPEZ, WILDA            ADDRESS ON FILE
AYALA LOPEZ, WILDA I.         ADDRESS ON FILE
AYALA LOPEZ, WILFREDO         ADDRESS ON FILE
AYALA LOPEZ, YADIER D.        ADDRESS ON FILE
AYALA LOPEZ, YAMIR            ADDRESS ON FILE
AYALA LORENZO, JESUS          ADDRESS ON FILE
AYALA LOZADA, CARMEN          ADDRESS ON FILE
AYALA LOZADA, MARA A.         ADDRESS ON FILE
AYALA LOZADA, MARTA           ADDRESS ON FILE
AYALA LUGO, ANA I             ADDRESS ON FILE
AYALA LUGO, CARLOS D          ADDRESS ON FILE
AYALA LUGO, DAISY             ADDRESS ON FILE
Ayala Lugo, Daisy I           ADDRESS ON FILE
AYALA LUGO, DAISY N.          ADDRESS ON FILE
AYALA LUGO, HECTOR            ADDRESS ON FILE
Ayala Lugo, Jessmarye         ADDRESS ON FILE
AYALA LUGO, JOHAM             ADDRESS ON FILE
AYALA LUGO, LUZ M             ADDRESS ON FILE
AYALA LUGO, LUZ M             ADDRESS ON FILE
AYALA LUGO, MIRIAM E          ADDRESS ON FILE
AYALA LUGO, ROSEDELIZ         ADDRESS ON FILE
AYALA LUGOVINAS, ROSALIE      ADDRESS ON FILE
AYALA MADERO, MELISA          ADDRESS ON FILE
AYALA MALAVE, ALEJANDRO       ADDRESS ON FILE
AYALA MALAVE, DELMARIS        ADDRESS ON FILE
AYALA MALDONADO, ANGEL M.     ADDRESS ON FILE
AYALA MALDONADO, CARLOS       ADDRESS ON FILE
AYALA MALDONADO, DORA         ADDRESS ON FILE
AYALA MALDONADO, FRANCISCO    ADDRESS ON FILE
AYALA MALDONADO, JESENIA      ADDRESS ON FILE
AYALA MALDONADO, JOHN         ADDRESS ON FILE
AYALA MALDONADO, JOSE D.      ADDRESS ON FILE
AYALA MALDONADO, LEONARDO     ADDRESS ON FILE
AYALA MALDONADO, LUZ I        ADDRESS ON FILE
AYALA MALDONADO, LUZ I.       ADDRESS ON FILE
AYALA MALDONADO, MARIA L      ADDRESS ON FILE
AYALA MALDONADO, MAYRA        ADDRESS ON FILE
AYALA MALDONADO, NICOLE       ADDRESS ON FILE
AYALA MALDONADO, NILDA        ADDRESS ON FILE
Ayala Maldonado, Samuel       ADDRESS ON FILE
AYALA MALDONADO, SAMUEL       ADDRESS ON FILE
AYALA MALDONADO, SILVETTE     ADDRESS ON FILE
AYALA MALDONADO, SUHAIL       ADDRESS ON FILE
AYALA MALDONADO, WILFREDO     ADDRESS ON FILE
AYALA MALDONADO, WILFREDO     ADDRESS ON FILE
AYALA MALDONADO, WILFREDO     ADDRESS ON FILE
AYALA MALPICA, JOSE L         ADDRESS ON FILE
AYALA MANFREDI, ANGEL L.      ADDRESS ON FILE
AYALA MANFREDI, MARJORIE E.   ADDRESS ON FILE
AYALA MARCANO, FRANCISCA      ADDRESS ON FILE
Ayala Marcano, Xiomara        ADDRESS ON FILE
AYALA MARCANO, YANIMAR        ADDRESS ON FILE
AYALA MARIANI, LIBERTAD       ADDRESS ON FILE
AYALA MARIANI, LIDUVINA       ADDRESS ON FILE




                                                                          Page 676 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 677 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA MARIANI, LYDIA         ADDRESS ON FILE
AYALA MARIN, YAMILIE         ADDRESS ON FILE
AYALA MARIN, YIRA            ADDRESS ON FILE
AYALA MARIN, YIRA            ADDRESS ON FILE
AYALA MARQUES, AXEL          ADDRESS ON FILE
AYALA MARQUEZ, ALMA I        ADDRESS ON FILE
AYALA MARQUEZ, ANGEL         ADDRESS ON FILE
AYALA MARQUEZ, CARLOS D      ADDRESS ON FILE
AYALA MARQUEZ, DANIEL        ADDRESS ON FILE
AYALA MARQUEZ, JUANITA       ADDRESS ON FILE
AYALA MARRERO, ALEXANDRA M   ADDRESS ON FILE
AYALA MARRERO, IVAN M.       ADDRESS ON FILE
AYALA MARRERO, JOSE          ADDRESS ON FILE
AYALA MARRERO, LUZ M         ADDRESS ON FILE
AYALA MARRERO, NAYDA         ADDRESS ON FILE
AYALA MARRERO, TRINIDAD      ADDRESS ON FILE
AYALA MARSHALL, KAREN N      ADDRESS ON FILE
AYALA MARTES, ABIMAEL        ADDRESS ON FILE
AYALA MARTES, JAVIER         ADDRESS ON FILE
AYALA MARTINEZ, ANA M.       ADDRESS ON FILE
AYALA MARTINEZ, DINORA       ADDRESS ON FILE
AYALA MARTINEZ, EDDIE        ADDRESS ON FILE
AYALA MARTINEZ, ELSIE        ADDRESS ON FILE
AYALA MARTINEZ, HARRY        ADDRESS ON FILE
AYALA MARTINEZ, HERIBERTO    ADDRESS ON FILE
AYALA MARTINEZ, JACQUELYN    ADDRESS ON FILE
AYALA MARTINEZ, JOEL         ADDRESS ON FILE
AYALA MARTINEZ, JOEL         ADDRESS ON FILE
Ayala Martinez, Jose A       ADDRESS ON FILE
Ayala Martinez, Jose J       ADDRESS ON FILE
AYALA MARTINEZ, JOSE L.      ADDRESS ON FILE
AYALA MARTINEZ, JUAN         ADDRESS ON FILE
AYALA MARTINEZ, JUAN A       ADDRESS ON FILE
AYALA MARTINEZ, LORNA E      ADDRESS ON FILE
AYALA MARTINEZ, LUIS         ADDRESS ON FILE
AYALA MARTINEZ, LUZ          ADDRESS ON FILE
AYALA MARTINEZ, LUZ M        ADDRESS ON FILE
AYALA MARTINEZ, MARGARITA    ADDRESS ON FILE
AYALA MARTINEZ, MARIA J      ADDRESS ON FILE
AYALA MARTINEZ, MARINELLY    ADDRESS ON FILE
Ayala Martinez, Milton       ADDRESS ON FILE
AYALA MARTINEZ, NILDA M.     ADDRESS ON FILE
AYALA MARTINEZ, NILSA M      ADDRESS ON FILE
Ayala Martinez, Paula I.     ADDRESS ON FILE
AYALA MARTINEZ, ROBERTO      ADDRESS ON FILE
AYALA MARTINEZ, SANDRA       ADDRESS ON FILE
AYALA MARTINEZ, SIXTO        ADDRESS ON FILE
AYALA MARTINEZ, YAMIL        ADDRESS ON FILE
AYALA MARTINEZ, YAMIL        ADDRESS ON FILE
AYALA MARTINEZ, YANIRA       ADDRESS ON FILE
AYALA MARZAN, MELISSA        ADDRESS ON FILE
AYALA MASSA, MYRNELL         ADDRESS ON FILE
AYALA MATOS, ANA             ADDRESS ON FILE
AYALA MATOS, GLORIA          ADDRESS ON FILE
AYALA MATOS, LUCELLY         ADDRESS ON FILE
AYALA MATOS, MARINA          ADDRESS ON FILE
AYALA MAYMI, FLORARMEN       ADDRESS ON FILE
AYALA MEDINA, ARNALDO        ADDRESS ON FILE
Ayala Medina, Jose           ADDRESS ON FILE
AYALA MEDINA, RAMON L        ADDRESS ON FILE




                                                                         Page 677 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 678 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA MELECIO, REINALDO      ADDRESS ON FILE
AYALA MELENDEZ, DIMARIS      ADDRESS ON FILE
Ayala Melendez, Elba         ADDRESS ON FILE
AYALA MELENDEZ, MARANGELI    ADDRESS ON FILE
AYALA MELENDEZ, MIGDALIA     ADDRESS ON FILE
Ayala Melendez, Ramon        ADDRESS ON FILE
AYALA MELENDEZ, ROBERTO      ADDRESS ON FILE
AYALA MELENDEZ, VIVIAM       ADDRESS ON FILE
AYALA MENDEZ, BOBEBIN        ADDRESS ON FILE
AYALA MENDEZ, EIAS           ADDRESS ON FILE
AYALA MENDEZ, JUAN           ADDRESS ON FILE
AYALA MENDEZ, MAVELL L       ADDRESS ON FILE
Ayala Mendez, Moises         ADDRESS ON FILE
AYALA MENDEZ, NOEMI          ADDRESS ON FILE
AYALA MENDEZ, RAMONA         ADDRESS ON FILE
AYALA MENDEZ, WISBELL        ADDRESS ON FILE
AYALA MERCADO, IRMA IRIS     ADDRESS ON FILE
AYALA MERCADO, MYRIAM        ADDRESS ON FILE
AYALA MERCADO, PAOLA         ADDRESS ON FILE
AYALA MERCED, NICOLE         ADDRESS ON FILE
Ayala Millan, Edwin          ADDRESS ON FILE
Ayala Millan, Yamayra        ADDRESS ON FILE
AYALA MIRABAL, GARY          ADDRESS ON FILE
AYALA MIRANDA, ADLIN         ADDRESS ON FILE
AYALA MIRANDA, DAVID         ADDRESS ON FILE
AYALA MIRANDA, DORIS N.      ADDRESS ON FILE
AYALA MIRANDA, JOHN          ADDRESS ON FILE
AYALA MIRANDA, MANUEL        ADDRESS ON FILE
AYALA MOJICA, ZUANETLY       ADDRESS ON FILE
AYALA MOLINA, ALBA           ADDRESS ON FILE
AYALA MOLINA, ALBA           ADDRESS ON FILE
AYALA MOLINA, EFREN          ADDRESS ON FILE
AYALA MOLINA, GLADYS         ADDRESS ON FILE
AYALA MOLINA, JOSE R         ADDRESS ON FILE
AYALA MOLINA, LEMUEL         ADDRESS ON FILE
AYALA MOLINA, MIGUEL ANGEL   ADDRESS ON FILE
AYALA MONET, JULIO L         ADDRESS ON FILE
AYALA MONGES, GADDIEL        ADDRESS ON FILE
AYALA MONGES, YANIRA         ADDRESS ON FILE
Ayala Montalvo, Angel        ADDRESS ON FILE
AYALA MONTALVO, DESIRRE      ADDRESS ON FILE
AYALA MONTALVO, YARIANA      ADDRESS ON FILE
AYALA MONTES, ANGEL          ADDRESS ON FILE
AYALA MONTIJO, CARLOS        ADDRESS ON FILE
AYALA MONTIJO, CARMEN I      ADDRESS ON FILE
AYALA MORALES, ANA D         ADDRESS ON FILE
AYALA MORALES, ANABELL       ADDRESS ON FILE
AYALA MORALES, ANABELL.      ADDRESS ON FILE
AYALA MORALES, BIANCA        ADDRESS ON FILE
AYALA MORALES, DAISY         ADDRESS ON FILE
AYALA MORALES, DENISSE       ADDRESS ON FILE
AYALA MORALES, DENISSE       ADDRESS ON FILE
AYALA MORALES, EDA M.        ADDRESS ON FILE
Ayala Morales, Eliezer       ADDRESS ON FILE
AYALA MORALES, EMANUEL       ADDRESS ON FILE
AYALA MORALES, EZEQUIEL      ADDRESS ON FILE
AYALA MORALES, FELIX         ADDRESS ON FILE
AYALA MORALES, HECTOR        ADDRESS ON FILE
AYALA MORALES, JARRIS D.     ADDRESS ON FILE
AYALA MORALES, JOSE          ADDRESS ON FILE




                                                                         Page 678 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 679 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City             State   PostalCode   Country
AYALA MORALES, JUANA             ADDRESS ON FILE
AYALA MORALES, LEOVIGILDO        ADDRESS ON FILE
AYALA MORALES, LEYDA E.          ADDRESS ON FILE
AYALA MORALES, LUIS C            ADDRESS ON FILE
AYALA MORALES, MARCIAL           ADDRESS ON FILE
AYALA MORALES, MARELLYS          ADDRESS ON FILE
AYALA MORALES, MARIA A           ADDRESS ON FILE
AYALA MORALES, MARIO             ADDRESS ON FILE
AYALA MORALES, MIGDALIA          ADDRESS ON FILE
Ayala Morales, Moises            ADDRESS ON FILE
AYALA MORALES, NANCY             ADDRESS ON FILE
Ayala Morales, Octavio           ADDRESS ON FILE
AYALA MORALES, ROCIO             ADDRESS ON FILE
AYALA MORALES, ROSE M            ADDRESS ON FILE
AYALA MORALES, RUBEN D.          ADDRESS ON FILE
AYALA MORALES, SANDRA IVELISSE   ADDRESS ON FILE
AYALA MORALES, SARIELIS          ADDRESS ON FILE
AYALA MORALES, STEPHANIE         ADDRESS ON FILE
AYALA MORAN, BETTY               ADDRESS ON FILE
AYALA MORAN, DANNY               ADDRESS ON FILE
Ayala Moran, Luz Noemi           ADDRESS ON FILE
AYALA MORAN, YARIVETTE           ADDRESS ON FILE
AYALA MORENO, CARLOS             ADDRESS ON FILE
AYALA MORENO, HENRY              ADDRESS ON FILE
AYALA MORENO, JOSE               ADDRESS ON FILE
AYALA MORENO, JOSE G             ADDRESS ON FILE
AYALA MORENO, JOSE G             ADDRESS ON FILE
AYALA MORENO, JOSE M             ADDRESS ON FILE
AYALA MORENO, JOSE M.            ADDRESS ON FILE
AYALA MORENO, MIRIAM             ADDRESS ON FILE
AYALA MORENO, MIRIAM             ADDRESS ON FILE
AYALA MUNIZ, GUSTAVO             ADDRESS ON FILE
AYALA MUNIZ, RITA                ADDRESS ON FILE
AYALA MUNOZ, GILBERTO            ADDRESS ON FILE
AYALA MUNOZ, RODOLFO             ADDRESS ON FILE
AYALA MURIEL, CARMEN S           ADDRESS ON FILE
Ayala Muriel, Jose               ADDRESS ON FILE
AYALA NARVAEZ, EDNER             ADDRESS ON FILE
AYALA NARVAEZ, EULOGIA           ADDRESS ON FILE
AYALA NARVAEZ, MAGALY            ADDRESS ON FILE
AYALA NATAL, SUGEY               ADDRESS ON FILE
AYALA NATER, HUGO                ADDRESS ON FILE
AYALA NATER, MARIA               ADDRESS ON FILE
AYALA NATER, SUHEY K.            ADDRESS ON FILE
AYALA NAVARRETE, ADA A           ADDRESS ON FILE
AYALA NAVARRETE, LUIS            ADDRESS ON FILE
AYALA NAVARRO, MICHELLE          ADDRESS ON FILE
AYALA NAVARRO, MICHELLE          ADDRESS ON FILE
AYALA NAVARRO, SANTIAGO          ADDRESS ON FILE
AYALA NAVEDO, SANDRA             ADDRESS ON FILE
Ayala Nazario, Jose R            ADDRESS ON FILE
AYALA NAZARIO, ROSIEL            ADDRESS ON FILE
AYALA NEGRON & CO LLC            P O BOX 1080                                                                     BARRANQUITAS     PR      00794‐1080
AYALA NEGRON, ANGEL              ADDRESS ON FILE
AYALA NEGRON, BARBARA            ADDRESS ON FILE
AYALA NEGRON, ISMAEL             ADDRESS ON FILE
Ayala Negron, Johnny             ADDRESS ON FILE
AYALA NEGRON, MARGARITA          ADDRESS ON FILE
AYALA NEGRON, MARIROSA           ADDRESS ON FILE
AYALA NEGRON, MILAGROS           ADDRESS ON FILE




                                                                             Page 679 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 680 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA NEGRON, NYDIA              ADDRESS ON FILE
AYALA NEGRON, WALESKA I.         ADDRESS ON FILE
AYALA NIEVES MD, VELIA           ADDRESS ON FILE
AYALA NIEVES, ALEX M.            ADDRESS ON FILE
AYALA NIEVES, ASHLEY             ADDRESS ON FILE
AYALA NIEVES, ASHLEY             ADDRESS ON FILE
AYALA NIEVES, DANIEL             ADDRESS ON FILE
AYALA NIEVES, HECTOR             ADDRESS ON FILE
AYALA NIEVES, IRIS Z             ADDRESS ON FILE
AYALA NIEVES, JANILLE I          ADDRESS ON FILE
AYALA NIEVES, JOCELYN            ADDRESS ON FILE
AYALA NIEVES, KELYMAR            ADDRESS ON FILE
AYALA NIEVES, NELYNMAR           ADDRESS ON FILE
AYALA NIEVES, REYNALDO           ADDRESS ON FILE
AYALA NIEVES, ROSALBA            ADDRESS ON FILE
AYALA NIEVES, SARA               ADDRESS ON FILE
AYALA NIEVES, WANDA I.           ADDRESS ON FILE
Ayala Nieves, William            ADDRESS ON FILE
AYALA NUNEZ, KEVIN               ADDRESS ON FILE
AYALA OCASIO, ALISANDER          ADDRESS ON FILE
AYALA OCASIO, ALISANDER          ADDRESS ON FILE
AYALA OCASIO, ANDREW             ADDRESS ON FILE
Ayala Ocasio, Angel L            ADDRESS ON FILE
AYALA OCASIO, JOSE               ADDRESS ON FILE
AYALA OCASIO, MARIA              ADDRESS ON FILE
AYALA OCASIO, OLGA               ADDRESS ON FILE
AYALA OCASIO, VANESSA            ADDRESS ON FILE
AYALA OJEDA, ANNETTE             ADDRESS ON FILE
AYALA OJEDA, ERICA               ADDRESS ON FILE
AYALA OLAN, JENNY                ADDRESS ON FILE
AYALA OLAVARRIA, JOAQUIN         ADDRESS ON FILE
Ayala Olivera, Eric I.           ADDRESS ON FILE
AYALA OLIVERAS, JORGE            ADDRESS ON FILE
AYALA OLIVERO, YLENIA            ADDRESS ON FILE
AYALA OQUENDO, EDMUNDO           ADDRESS ON FILE
AYALA OQUENDO, ERNESTO           ADDRESS ON FILE
AYALA OQUENDO, GLADYS            ADDRESS ON FILE
AYALA ORTA MEDICAL SERVICE PSC   PO BOX 6431                                                                      MAYAGUEZ     PR      00681
AYALA ORTEGA, SAULETH            ADDRESS ON FILE
AYALA ORTIZ MD, FRANCISCO        ADDRESS ON FILE
AYALA ORTIZ, ADALIS              ADDRESS ON FILE
AYALA ORTIZ, ALBA N.             ADDRESS ON FILE
AYALA ORTIZ, ANA L               ADDRESS ON FILE
AYALA ORTIZ, AWILDA              ADDRESS ON FILE
AYALA ORTIZ, BETHZAIDA           ADDRESS ON FILE
AYALA ORTIZ, BETZAIDA            ADDRESS ON FILE
AYALA ORTIZ, EDA                 ADDRESS ON FILE
AYALA ORTIZ, EDGARDO J           ADDRESS ON FILE
AYALA ORTIZ, ELBA                ADDRESS ON FILE
Ayala Ortiz, Ernesto             ADDRESS ON FILE
AYALA ORTIZ, ERNESTO L           ADDRESS ON FILE
AYALA ORTIZ, FELICITA            ADDRESS ON FILE
AYALA ORTIZ, HECTOR              ADDRESS ON FILE
Ayala Ortiz, Hector R.           ADDRESS ON FILE
AYALA ORTIZ, HORACIO J.          ADDRESS ON FILE
AYALA ORTIZ, HORTENSIA           ADDRESS ON FILE
AYALA ORTIZ, IRMA E.             ADDRESS ON FILE
AYALA ORTIZ, IRMA I              ADDRESS ON FILE
Ayala Ortiz, Irma I              ADDRESS ON FILE
Ayala Ortiz, Isaias              ADDRESS ON FILE




                                                                             Page 680 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 681 of 3500
                                                                                    Creditor Matrix

Creditor Name                 Address1                         Address2                          Address3   Address4   City            State   PostalCode   Country
AYALA ORTIZ, ISHWARA          ADDRESS ON FILE
AYALA ORTIZ, ISHWARA M        ADDRESS ON FILE
AYALA ORTIZ, JANET            ADDRESS ON FILE
AYALA ORTIZ, JOSE             ADDRESS ON FILE
AYALA ORTIZ, JOSE R.          ADDRESS ON FILE
AYALA ORTIZ, KAMYR            ADDRESS ON FILE
AYALA ORTIZ, KARYLINNE        ADDRESS ON FILE
AYALA ORTIZ, KATE DE LOS A.   ADDRESS ON FILE
AYALA ORTIZ, LICET            ADDRESS ON FILE
AYALA ORTIZ, LUZ E            ADDRESS ON FILE
AYALA ORTIZ, MARIA            ADDRESS ON FILE
AYALA ORTIZ, MARIA            ADDRESS ON FILE
AYALA ORTIZ, MARTA V.         ADDRESS ON FILE
AYALA ORTIZ, MELBA            ADDRESS ON FILE
AYALA ORTIZ, MELBA            ADDRESS ON FILE
AYALA ORTIZ, MELBA D.         ADDRESS ON FILE
AYALA ORTIZ, MYRNA            ADDRESS ON FILE
AYALA ORTIZ, NATALIA          ADDRESS ON FILE
AYALA ORTIZ, NIEVES D         ADDRESS ON FILE
AYALA ORTIZ, RENE             ADDRESS ON FILE
AYALA ORTIZ, RUBEN            ADDRESS ON FILE
Ayala Ortiz, Tomas            ADDRESS ON FILE
AYALA ORTIZ, YALITZA          ADDRESS ON FILE
AYALA ORTIZ, YENITZA          ADDRESS ON FILE
AYALA ORTOLAZA, ITZIA M       ADDRESS ON FILE
Ayala Osorio, Anabelle        ADDRESS ON FILE
AYALA OSORIO, HAYDEE          ADDRESS ON FILE
AYALA OSORIO, HERNAN          ADDRESS ON FILE
AYALA OSORIO, MARGARITA       ADDRESS ON FILE
AYALA OTERO, ELBA             ADDRESS ON FILE
Ayala Otero, Juan             ADDRESS ON FILE
AYALA OVALLE, ERNEST          ADDRESS ON FILE
AYALA OYOLA, HECTOR           ADDRESS ON FILE
AYALA OYOLA, IVELISSE         ADDRESS ON FILE
AYALA OYOLA, MIGUEL           ADDRESS ON FILE
AYALA PABON, CARMELO          ADDRESS ON FILE
AYALA PABON, ELBA             ADDRESS ON FILE
AYALA PABON, JESUS            ADDRESS ON FILE
Ayala Pabon, Jesus M          ADDRESS ON FILE
AYALA PABÓN, JESÚS M.         LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                              HORMIQUEROS     PR      00660‐0873
AYALA PABÓN, JESÚS M.         LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                       PONCE           PR      00731
AYALA PABON, RAFAEL           ADDRESS ON FILE
AYALA PACHECO, ABEL C.        ADDRESS ON FILE
AYALA PACHECO, ANA I.         ADDRESS ON FILE
AYALA PACHECO, DEBBY          ADDRESS ON FILE
Ayala Pacheco, Debby A        ADDRESS ON FILE
AYALA PACHECO, ELIEZER        ADDRESS ON FILE
AYALA PACHECO, LUIS           ADDRESS ON FILE
AYALA PADILLA, JOSE           ADDRESS ON FILE
AYALA PADILLA, MARIA DEL R.   ADDRESS ON FILE
AYALA PADIN, DAVID            ADDRESS ON FILE
AYALA PAGAN, ANA D            ADDRESS ON FILE
AYALA PAGAN, CARLOS           ADDRESS ON FILE
AYALA PAGAN, CARMEN M         ADDRESS ON FILE
AYALA PAGAN, ERICK            ADDRESS ON FILE
AYALA PAGAN, PABLO            ADDRESS ON FILE
AYALA PAGAN, ROXANA           ADDRESS ON FILE
AYALA PARIS, LUIS             ADDRESS ON FILE
AYALA PARRILLA, LUZ           ADDRESS ON FILE
AYALA PARRILLA, RUTH E        ADDRESS ON FILE




                                                                                   Page 681 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 682 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA PARRILLA, TERESITA    ADDRESS ON FILE
AYALA PEDRAZA, ADA IRIS     ADDRESS ON FILE
AYALA PEDRAZA, MARIA DE L   ADDRESS ON FILE
AYALA PEDROZA, ERICA        ADDRESS ON FILE
AYALA PENA, FRANCISCO       ADDRESS ON FILE
AYALA PENA, JOSE A          ADDRESS ON FILE
Ayala Pena, Juan A          ADDRESS ON FILE
AYALA PENA, JULIO E.        ADDRESS ON FILE
AYALA PENALOZA, JULISSA     ADDRESS ON FILE
AYALA PENALOZA, LINNETTE    ADDRESS ON FILE
AYALA PENALOZA, MARCELINO   ADDRESS ON FILE
AYALA PENALOZA, SONIA       ADDRESS ON FILE
AYALA PEQA, MAYRA           ADDRESS ON FILE
AYALA PERALES, IVAN         ADDRESS ON FILE
AYALA PERALES, MARIA M.     ADDRESS ON FILE
AYALA PEREZ, ANGEL          ADDRESS ON FILE
Ayala Perez, Benjamin       ADDRESS ON FILE
AYALA PEREZ, CARLOS RENE    ADDRESS ON FILE
AYALA PEREZ, DAISY          ADDRESS ON FILE
AYALA PEREZ, DOMINGO        ADDRESS ON FILE
AYALA PEREZ, EVELYN         ADDRESS ON FILE
AYALA PEREZ, GILBERTO       ADDRESS ON FILE
Ayala Perez, Gilberto       ADDRESS ON FILE
AYALA PEREZ, GLORIA M.      ADDRESS ON FILE
AYALA PEREZ, GUILLERMINA    ADDRESS ON FILE
AYALA PEREZ, HILDA R.       ADDRESS ON FILE
Ayala Perez, Jesus          ADDRESS ON FILE
AYALA PEREZ, JESUS          ADDRESS ON FILE
Ayala Perez, Jose P         ADDRESS ON FILE
AYALA PEREZ, KAREN          ADDRESS ON FILE
AYALA PEREZ, KAREN B        ADDRESS ON FILE
AYALA PEREZ, KARLA M.       ADDRESS ON FILE
AYALA PEREZ, LUIS           ADDRESS ON FILE
AYALA PEREZ, MARANGELY      ADDRESS ON FILE
AYALA PEREZ, MARGARITA      ADDRESS ON FILE
AYALA PEREZ, MARIA A        ADDRESS ON FILE
AYALA PEREZ, MARIBEL        ADDRESS ON FILE
AYALA PEREZ, MARTIN         ADDRESS ON FILE
AYALA PEREZ, MIRTA L        ADDRESS ON FILE
AYALA PEREZ, MONICA         ADDRESS ON FILE
AYALA PEREZ, MONICA         ADDRESS ON FILE
AYALA PEREZ, NAYDA          ADDRESS ON FILE
Ayala Perez, Noel           ADDRESS ON FILE
AYALA PEREZ, OBDULIO        ADDRESS ON FILE
AYALA PEREZ, OTONIEL        ADDRESS ON FILE
AYALA PEREZ, ROY            ADDRESS ON FILE
AYALA PEREZ, YESENIA        ADDRESS ON FILE
AYALA PEREZ, YESENIA        ADDRESS ON FILE
AYALA PEREZ, YOLANDA        ADDRESS ON FILE
AYALA PICON, ANAYRA         ADDRESS ON FILE
AYALA PICON, SANDRALIZ      ADDRESS ON FILE
AYALA PIMENTEL, MARTHA      ADDRESS ON FILE
AYALA PINERO, FELIX         ADDRESS ON FILE
AYALA PIZARRO, GLORIBEL     ADDRESS ON FILE
AYALA PIZARRO, GLORIBEL     ADDRESS ON FILE
AYALA PIZARRO, IRIS JANET   ADDRESS ON FILE
AYALA PIZARRO, MAYDA L      ADDRESS ON FILE
AYALA PIZARRO, MERARIS      ADDRESS ON FILE
AYALA PIZARRO, MERARIS      ADDRESS ON FILE
Ayala Pizarro, Pedro        ADDRESS ON FILE




                                                                        Page 682 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 683 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA PIZARRO, RAFAEL       ADDRESS ON FILE
AYALA PIZARRO, RUTH M       ADDRESS ON FILE
AYALA PIZARRO, SYLVIA       ADDRESS ON FILE
AYALA PONCE, NORMA          ADDRESS ON FILE
AYALA POP, NOE              ADDRESS ON FILE
AYALA PRADO, ADAMINA        ADDRESS ON FILE
AYALA PRADO, MARLISSETTE    ADDRESS ON FILE
AYALA PRADO, MARLISSETTE    ADDRESS ON FILE
AYALA PRADO, ROBERTO        ADDRESS ON FILE
AYALA QUESADA, DIEGO        ADDRESS ON FILE
AYALA QUILES, NILDA         ADDRESS ON FILE
AYALA QUINONES, ANA L       ADDRESS ON FILE
AYALA QUINONES, ANGELA      ADDRESS ON FILE
AYALA QUINONES, EDWIN       ADDRESS ON FILE
AYALA QUINONES, GABRIEL     ADDRESS ON FILE
AYALA QUINONES, GRICELYS    ADDRESS ON FILE
AYALA QUINONES, JUAN M      ADDRESS ON FILE
Ayala Quinones, Ricardo     ADDRESS ON FILE
AYALA QUINONES, ROLANDO     ADDRESS ON FILE
AYALA QUINONES, RUTHELY     ADDRESS ON FILE
AYALA QUINONES, SHAKIRA     ADDRESS ON FILE
AYALA QUINONES, WILLIAM     ADDRESS ON FILE
AYALA QUINONEZ, MARILYN     ADDRESS ON FILE
AYALA QUINONEZ, RAMON       ADDRESS ON FILE
AYALA QUINONEZ, SARA L.     ADDRESS ON FILE
AYALA QUINTANA, LUIS M      ADDRESS ON FILE
AYALA QUINTERO, ANTONIO     ADDRESS ON FILE
AYALA QUINTERO, RAFAEL      ADDRESS ON FILE
Ayala Quintero, Rafael A.   ADDRESS ON FILE
AYALA QUIQ ONES, NAYDA E    ADDRESS ON FILE
AYALA RAMIREZ, BRENDA I     ADDRESS ON FILE
AYALA RAMIREZ, JANICE       ADDRESS ON FILE
AYALA RAMIREZ, JANICE       ADDRESS ON FILE
AYALA RAMIREZ, NOLBERT      ADDRESS ON FILE
AYALA RAMIREZ, NORBERT      ADDRESS ON FILE
AYALA RAMIREZ, PABLO J      ADDRESS ON FILE
AYALA RAMOS, ANA M.         ADDRESS ON FILE
AYALA RAMOS, ANGEL          ADDRESS ON FILE
AYALA RAMOS, AWILDA M       ADDRESS ON FILE
AYALA RAMOS, BLANCA L       ADDRESS ON FILE
AYALA RAMOS, CARMEN L       ADDRESS ON FILE
AYALA RAMOS, DAMARIS        ADDRESS ON FILE
Ayala Ramos, Domingo        ADDRESS ON FILE
AYALA RAMOS, EILEEN         ADDRESS ON FILE
AYALA RAMOS, ELBA I         ADDRESS ON FILE
AYALA RAMOS, EMMANUEL       ADDRESS ON FILE
AYALA RAMOS, GILBERTO       ADDRESS ON FILE
AYALA RAMOS, GISELA         ADDRESS ON FILE
AYALA RAMOS, GUSTAVO        ADDRESS ON FILE
AYALA RAMOS, ISABEL         ADDRESS ON FILE
AYALA RAMOS, ISRAEL         ADDRESS ON FILE
AYALA RAMOS, JOHN           ADDRESS ON FILE
AYALA RAMOS, JOSE           ADDRESS ON FILE
AYALA RAMOS, JOSE           ADDRESS ON FILE
AYALA RAMOS, LOURDES        ADDRESS ON FILE
AYALA RAMOS, LUZ E          ADDRESS ON FILE
AYALA RAMOS, MARIANGELI     ADDRESS ON FILE
AYALA RAMOS, ROSA           ADDRESS ON FILE
AYALA RAMOS, SAUL           ADDRESS ON FILE
AYALA RAMOS, SECUNDINO      ADDRESS ON FILE




                                                                        Page 683 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 684 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA RAMOS, TERESA        ADDRESS ON FILE
AYALA RAMOS, WALESKA       ADDRESS ON FILE
AYALA REBOLLO, RAFAEL      ADDRESS ON FILE
Ayala Reguero, Angel S     ADDRESS ON FILE
AYALA RENTA, LAURA M       ADDRESS ON FILE
Ayala Resto, Jose N        ADDRESS ON FILE
AYALA REYES, AIDA L        ADDRESS ON FILE
AYALA REYES, AMELIA        ADDRESS ON FILE
AYALA REYES, AWILDA        ADDRESS ON FILE
AYALA REYES, BERNABE       ADDRESS ON FILE
AYALA REYES, DELIA I.      ADDRESS ON FILE
AYALA REYES, DORIS E       ADDRESS ON FILE
AYALA REYES, ELIEZER       ADDRESS ON FILE
AYALA REYES, ENRIQUE       ADDRESS ON FILE
AYALA REYES, ENRIQUE       ADDRESS ON FILE
AYALA REYES, EVA L         ADDRESS ON FILE
AYALA REYES, EZEQUIEL      ADDRESS ON FILE
AYALA REYES, ISRAEL        ADDRESS ON FILE
AYALA REYES, IVELISSE      ADDRESS ON FILE
AYALA REYES, JORGE L       ADDRESS ON FILE
AYALA REYES, JUAN          ADDRESS ON FILE
AYALA REYES, JUDITH        ADDRESS ON FILE
AYALA REYES, JULIA M.      ADDRESS ON FILE
AYALA REYES, LIMAIRIS      ADDRESS ON FILE
AYALA REYES, LUIS          ADDRESS ON FILE
AYALA REYES, MARGARITA     ADDRESS ON FILE
AYALA REYES, MARIBEL       ADDRESS ON FILE
AYALA REYES, NORAIDA       ADDRESS ON FILE
AYALA REYES, ROBERTO       ADDRESS ON FILE
AYALA REYES, RUTH          ADDRESS ON FILE
AYALA REYES, YAIRA         ADDRESS ON FILE
AYALA REYES, YAMILE        ADDRESS ON FILE
AYALA REYES, YASHIRA       ADDRESS ON FILE
AYALA RIBARTE, ILSA N      ADDRESS ON FILE
AYALA RIFAS, ALBERTO       ADDRESS ON FILE
AYALA RIJOS, MARIA M       ADDRESS ON FILE
AYALA RIOS, BENIGNO        ADDRESS ON FILE
AYALA RIOS, CARMEN         ADDRESS ON FILE
AYALA RIOS, CARMEN         ADDRESS ON FILE
AYALA RIOS, DAMARIS        ADDRESS ON FILE
AYALA RIOS, GERARDO        ADDRESS ON FILE
AYALA RIOS, MARIA          ADDRESS ON FILE
AYALA RIOS, MIGUEL         ADDRESS ON FILE
AYALA RIOS, ROBERTO        ADDRESS ON FILE
AYALA RIOS, ROBERTO        ADDRESS ON FILE
AYALA RIOS, ROLANDO        ADDRESS ON FILE
AYALA RIOS, VICTOR M       ADDRESS ON FILE
AYALA RIOS, VIRGILIO       ADDRESS ON FILE
AYALA RIVARA, AILEEN       ADDRESS ON FILE
AYALA RIVAS, IVAN          ADDRESS ON FILE
AYALA RIVERA MD, MARCO A   ADDRESS ON FILE
AYALA RIVERA, AIXA         ADDRESS ON FILE
AYALA RIVERA, AMNERIS      ADDRESS ON FILE
AYALA RIVERA, ANA B        ADDRESS ON FILE
AYALA RIVERA, ANDREA       ADDRESS ON FILE
AYALA RIVERA, ANGEL        ADDRESS ON FILE
AYALA RIVERA, ANGEL F      ADDRESS ON FILE
AYALA RIVERA, ANN E.       ADDRESS ON FILE
AYALA RIVERA, ANTONIA      ADDRESS ON FILE
AYALA RIVERA, ANTONIO      ADDRESS ON FILE




                                                                       Page 684 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 685 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA RIVERA, ARLEEN            ADDRESS ON FILE
AYALA RIVERA, BETSIE            ADDRESS ON FILE
AYALA RIVERA, BETZAIDA          ADDRESS ON FILE
Ayala Rivera, Betzaida E        ADDRESS ON FILE
AYALA RIVERA, CARLOS            ADDRESS ON FILE
AYALA RIVERA, CARLOS            ADDRESS ON FILE
AYALA RIVERA, CARLOS I.         ADDRESS ON FILE
AYALA RIVERA, CARMEN            ADDRESS ON FILE
AYALA RIVERA, CARMEN A.         ADDRESS ON FILE
AYALA RIVERA, CARMEN I          ADDRESS ON FILE
AYALA RIVERA, CARMEN R.         ADDRESS ON FILE
AYALA RIVERA, CESAR J           ADDRESS ON FILE
AYALA RIVERA, DAYRA             ADDRESS ON FILE
AYALA RIVERA, DOLORES           ADDRESS ON FILE
AYALA RIVERA, DORIS JEANNETTE   ADDRESS ON FILE
AYALA RIVERA, EDITH N           ADDRESS ON FILE
Ayala Rivera, Eliud             ADDRESS ON FILE
AYALA RIVERA, ELIZABETH         ADDRESS ON FILE
AYALA RIVERA, ERNESTO           ADDRESS ON FILE
AYALA RIVERA, ESTHER            ADDRESS ON FILE
Ayala Rivera, Evelyn            ADDRESS ON FILE
AYALA RIVERA, FRANCISCO         ADDRESS ON FILE
AYALA RIVERA, GERARDO           ADDRESS ON FILE
AYALA RIVERA, GILBERTO          ADDRESS ON FILE
AYALA RIVERA, GLENDA L.         ADDRESS ON FILE
AYALA RIVERA, GLENDALYZ         ADDRESS ON FILE
Ayala Rivera, Hector            ADDRESS ON FILE
AYALA RIVERA, HEIDI             ADDRESS ON FILE
AYALA RIVERA, HORACIO           ADDRESS ON FILE
AYALA RIVERA, ILEANA            ADDRESS ON FILE
AYALA RIVERA, ILSA B            ADDRESS ON FILE
AYALA RIVERA, IRIS M            ADDRESS ON FILE
AYALA RIVERA, IRIS M            ADDRESS ON FILE
AYALA RIVERA, ISABEL            ADDRESS ON FILE
AYALA RIVERA, IVONNE            ADDRESS ON FILE
AYALA RIVERA, JAVIER            ADDRESS ON FILE
AYALA RIVERA, JERRY             ADDRESS ON FILE
AYALA RIVERA, JOAN MANUEL       ADDRESS ON FILE
AYALA RIVERA, JOSE A            ADDRESS ON FILE
AYALA RIVERA, JUAN              ADDRESS ON FILE
AYALA RIVERA, JUANA             ADDRESS ON FILE
Ayala Rivera, Julio C.          ADDRESS ON FILE
AYALA RIVERA, KALUMI            ADDRESS ON FILE
AYALA RIVERA, KEYLA E           ADDRESS ON FILE
AYALA RIVERA, LEANN M           ADDRESS ON FILE
AYALA RIVERA, LEOPOLDO          ADDRESS ON FILE
AYALA RIVERA, LIZA Y.           ADDRESS ON FILE
AYALA RIVERA, LUIS              ADDRESS ON FILE
AYALA RIVERA, LUIS A            ADDRESS ON FILE
AYALA RIVERA, LUZ D             ADDRESS ON FILE
AYALA RIVERA, LUZ N             ADDRESS ON FILE
AYALA RIVERA, LYDIA             ADDRESS ON FILE
AYALA RIVERA, MADELINE          ADDRESS ON FILE
AYALA RIVERA, MADELINE          ADDRESS ON FILE
AYALA RIVERA, MARGARITA         ADDRESS ON FILE
AYALA RIVERA, MARIA A           ADDRESS ON FILE
AYALA RIVERA, MARILYN           ADDRESS ON FILE
AYALA RIVERA, MARISOL           ADDRESS ON FILE
AYALA RIVERA, MARY E            ADDRESS ON FILE
AYALA RIVERA, MARYBEL           ADDRESS ON FILE




                                                                            Page 685 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 686 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA RIVERA, MATILDE            ADDRESS ON FILE
AYALA RIVERA, MIGUEL             ADDRESS ON FILE
AYALA RIVERA, NELLY              ADDRESS ON FILE
AYALA RIVERA, NERYS              ADDRESS ON FILE
AYALA RIVERA, NERYS Y            ADDRESS ON FILE
Ayala Rivera, Pedro I            ADDRESS ON FILE
AYALA RIVERA, PEDRO I.           ADDRESS ON FILE
AYALA RIVERA, RAFAEL A           ADDRESS ON FILE
AYALA RIVERA, RIGOBERTO          ADDRESS ON FILE
AYALA RIVERA, RUBEN              ADDRESS ON FILE
AYALA RIVERA, SAMUEL             ADDRESS ON FILE
Ayala Rivera, Tania N            ADDRESS ON FILE
AYALA RIVERA, TANYA              ADDRESS ON FILE
AYALA RIVERA, TANYA I            ADDRESS ON FILE
AYALA RIVERA, VICTOR             ADDRESS ON FILE
AYALA RIVERA, WANDA I            ADDRESS ON FILE
AYALA RIVERA, ZORAIDA            ADDRESS ON FILE
AYALA RIVERA., MARLEEN           ADDRESS ON FILE
AYALA ROBLES, CARLOS A.          ADDRESS ON FILE
Ayala Robles, Efrain             ADDRESS ON FILE
AYALA ROBLES, EFRAIN             ADDRESS ON FILE
AYALA ROBLES, LUCAS              ADDRESS ON FILE
AYALA ROBLES, LUIS               ADDRESS ON FILE
AYALA ROBLES, LUIS               ADDRESS ON FILE
Ayala Robles, Marcos             ADDRESS ON FILE
AYALA ROBLES, MARICELA           ADDRESS ON FILE
AYALA ROBLES, MARIE              ADDRESS ON FILE
AYALA RODRIGUEZ, ABDIEL          ADDRESS ON FILE
AYALA RODRIGUEZ, ADOLFO A        ADDRESS ON FILE
AYALA RODRIGUEZ, ALBERTO         ADDRESS ON FILE
AYALA RODRIGUEZ, ALEX O          ADDRESS ON FILE
AYALA RODRIGUEZ, ALEXANDER       ADDRESS ON FILE
AYALA RODRIGUEZ, ALICIA          ADDRESS ON FILE
AYALA RODRIGUEZ, ANA M           ADDRESS ON FILE
AYALA RODRIGUEZ, ANABEL          ADDRESS ON FILE
AYALA RODRIGUEZ, BLANCA I        ADDRESS ON FILE
AYALA RODRIGUEZ, CARLOS          ADDRESS ON FILE
AYALA RODRIGUEZ, CARLOS J.       ADDRESS ON FILE
Ayala Rodriguez, Carlos Miguel   ADDRESS ON FILE
AYALA RODRIGUEZ, CARMEN          ADDRESS ON FILE
AYALA RODRIGUEZ, DAISY           ADDRESS ON FILE
AYALA RODRIGUEZ, DOLORES         ADDRESS ON FILE
AYALA RODRIGUEZ, EDWIN           ADDRESS ON FILE
Ayala Rodriguez, Elvin J         ADDRESS ON FILE
AYALA RODRIGUEZ, EMILY           ADDRESS ON FILE
AYALA RODRIGUEZ, FERMIN          ADDRESS ON FILE
AYALA RODRIGUEZ, GISELLE         ADDRESS ON FILE
AYALA RODRIGUEZ, INGRID          ADDRESS ON FILE
AYALA RODRIGUEZ, IVELISSE        ADDRESS ON FILE
AYALA RODRIGUEZ, IVELISSE        ADDRESS ON FILE
AYALA RODRIGUEZ, JESSICA E.      ADDRESS ON FILE
AYALA RODRIGUEZ, JOHANY          ADDRESS ON FILE
AYALA RODRIGUEZ, JORGE           ADDRESS ON FILE
AYALA RODRIGUEZ, JORGE A.        ADDRESS ON FILE
AYALA RODRIGUEZ, JOSE            ADDRESS ON FILE
AYALA RODRIGUEZ, JOSE A          ADDRESS ON FILE
AYALA RODRIGUEZ, JOSE ANTONIO    ADDRESS ON FILE
AYALA RODRIGUEZ, JOSUE           ADDRESS ON FILE
AYALA RODRIGUEZ, LUIS            ADDRESS ON FILE
AYALA RODRIGUEZ, LUZ M           ADDRESS ON FILE




                                                                             Page 686 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 687 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA RODRIGUEZ, MARCOS          ADDRESS ON FILE
AYALA RODRIGUEZ, MARGARITA       ADDRESS ON FILE
AYALA RODRIGUEZ, MARIA DEL CAR   ADDRESS ON FILE
Ayala Rodriguez, Maria M.        ADDRESS ON FILE
AYALA RODRIGUEZ, MARIA T         ADDRESS ON FILE
AYALA RODRIGUEZ, MARIA V         ADDRESS ON FILE
AYALA RODRIGUEZ, MARIBELLE       ADDRESS ON FILE
AYALA RODRIGUEZ, MELVIN          ADDRESS ON FILE
AYALA RODRIGUEZ, MIRNA           ADDRESS ON FILE
AYALA RODRIGUEZ, MIRNA I         ADDRESS ON FILE
AYALA RODRIGUEZ, NYDIA I.        ADDRESS ON FILE
AYALA RODRIGUEZ, RAFAEL          ADDRESS ON FILE
AYALA RODRIGUEZ, REBECA          ADDRESS ON FILE
AYALA RODRIGUEZ, ROBERTO         ADDRESS ON FILE
AYALA RODRIGUEZ, ROSA            ADDRESS ON FILE
AYALA RODRIGUEZ, ROSA I          ADDRESS ON FILE
AYALA RODRIGUEZ, ROSAISEL        ADDRESS ON FILE
AYALA RODRIGUEZ, SAMUEL          ADDRESS ON FILE
AYALA RODRIGUEZ, SANDRA          ADDRESS ON FILE
AYALA RODRIGUEZ, SANTA I         ADDRESS ON FILE
AYALA RODRIGUEZ, TERESITA        ADDRESS ON FILE
AYALA RODRIGUEZ, WILFREDO        ADDRESS ON FILE
AYALA RODRIGUEZ, YOLIMER         ADDRESS ON FILE
AYALA RODRIGUEZ,JAIME            ADDRESS ON FILE
AYALA RODRIGUEZ,JOSE A.          ADDRESS ON FILE
AYALA ROHENA, CLAUDINO           ADDRESS ON FILE
AYALA ROJAS, SYLVIA              ADDRESS ON FILE
AYALA ROLDAN, BERNABE            ADDRESS ON FILE
AYALA ROLDAN, JUAN               ADDRESS ON FILE
AYALA ROLON, AIDA L              ADDRESS ON FILE
AYALA ROLON, ALEXANDER           ADDRESS ON FILE
AYALA ROLON, HEIDI               ADDRESS ON FILE
AYALA ROLON, JENNIFER            ADDRESS ON FILE
Ayala Roman, Carlos A            ADDRESS ON FILE
AYALA ROMAN, DAVID               ADDRESS ON FILE
AYALA ROMAN, FRANCISCO           ADDRESS ON FILE
AYALA ROMAN, JUAN J              ADDRESS ON FILE
Ayala Roman, Luis E              ADDRESS ON FILE
AYALA ROMAN, MANUEL              ADDRESS ON FILE
AYALA ROMAN, MARISABEL           ADDRESS ON FILE
AYALA ROMAN, MAYRA I             ADDRESS ON FILE
AYALA ROMAN, OLGA                ADDRESS ON FILE
AYALA ROMAN, TOMAS               ADDRESS ON FILE
AYALA ROMERO, LUISA M            ADDRESS ON FILE
AYALA ROMERO, LUISA M.           ADDRESS ON FILE
AYALA ROMERO, WALESKA            ADDRESS ON FILE
AYALA ROMERO, WALESKA            ADDRESS ON FILE
AYALA RONDON, GLORIBEL           ADDRESS ON FILE
AYALA RONDON, GLORIBEL           ADDRESS ON FILE
AYALA ROQUE, LUZ M               ADDRESS ON FILE
AYALA ROQUE, MELANIE             ADDRESS ON FILE
AYALA ROQUE, MELANIE             ADDRESS ON FILE
AYALA ROSA MD, BALBINO           ADDRESS ON FILE
AYALA ROSA, ARMANDO              ADDRESS ON FILE
AYALA ROSA, DORIS                ADDRESS ON FILE
AYALA ROSA, JOSUE                ADDRESS ON FILE
AYALA ROSA, LUIS A               ADDRESS ON FILE
AYALA ROSA, MARIA A              ADDRESS ON FILE
AYALA ROSA, VICTOR               ADDRESS ON FILE
AYALA ROSADO, ALAN J.            ADDRESS ON FILE




                                                                             Page 687 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 688 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA ROSADO, ANGEL           ADDRESS ON FILE
AYALA ROSADO, CARMEN M        ADDRESS ON FILE
AYALA ROSADO, CLAUDIO         ADDRESS ON FILE
AYALA ROSADO, DAVID           ADDRESS ON FILE
AYALA ROSADO, IBELLE          ADDRESS ON FILE
AYALA ROSADO, JACKELINE       ADDRESS ON FILE
AYALA ROSADO, KEVIN           ADDRESS ON FILE
AYALA ROSADO, LOYDA R.        ADDRESS ON FILE
AYALA ROSADO, LUIS            ADDRESS ON FILE
AYALA ROSADO, MARGARITA       ADDRESS ON FILE
AYALA ROSADO, MARIA M         ADDRESS ON FILE
AYALA ROSADO, MELVIN          ADDRESS ON FILE
Ayala Rosado, Omar            ADDRESS ON FILE
Ayala Rosado, Pedro J.        ADDRESS ON FILE
AYALA ROSADO, SYDNIA J        ADDRESS ON FILE
AYALA ROSALES, MIGUEL         ADDRESS ON FILE
AYALA ROSARIO, ANGELICA       ADDRESS ON FILE
AYALA ROSARIO, ANGELINA       ADDRESS ON FILE
AYALA ROSARIO, ANTHONY        ADDRESS ON FILE
AYALA ROSARIO, JOSE A.        ADDRESS ON FILE
AYALA ROSARIO, KARINA         ADDRESS ON FILE
AYALA ROSARIO, KENDRY         ADDRESS ON FILE
AYALA ROSARIO, LUIS           ADDRESS ON FILE
AYALA ROSARIO, MARCOS         ADDRESS ON FILE
AYALA ROSARIO, MARIA D.       ADDRESS ON FILE
AYALA ROSARIO, MIGUEL A       ADDRESS ON FILE
AYALA ROSARIO, RAMONITA       ADDRESS ON FILE
AYALA ROSARIO, REINALDO       ADDRESS ON FILE
AYALA ROSARIO, WANDA          ADDRESS ON FILE
AYALA ROSAS, SANDRA           ADDRESS ON FILE
AYALA RUBIO, FRANCISCO        ADDRESS ON FILE
AYALA RUIZ, AMADIS            ADDRESS ON FILE
AYALA RUIZ, ANA M.            ADDRESS ON FILE
AYALA RUIZ, EDDIE             ADDRESS ON FILE
AYALA RUIZ, HOWARD            ADDRESS ON FILE
AYALA RUIZ, JUDITH            ADDRESS ON FILE
AYALA RUIZ, MARTA             ADDRESS ON FILE
AYALA RUIZ, MERY E.           ADDRESS ON FILE
Ayala Ruiz, Nadia E           ADDRESS ON FILE
AYALA RUIZ, TANIA             ADDRESS ON FILE
Ayala Ruiz, William           ADDRESS ON FILE
AYALA RUIZ, ZURIMA            ADDRESS ON FILE
AYALA SABINO, JOSE A          ADDRESS ON FILE
AYALA SAEZ, JOSE EFRAIN       ADDRESS ON FILE
AYALA SAEZ, MARIAM            ADDRESS ON FILE
AYALA SAEZ, MARILI            ADDRESS ON FILE
AYALA SAEZ, SAMUEL            ADDRESS ON FILE
AYALA SAEZ, YARICELYS         ADDRESS ON FILE
Ayala Salas, Raymundo         ADDRESS ON FILE
AYALA SALCEDO, GLENDA LIZ     ADDRESS ON FILE
AYALA SALCEDO, MARICEL        ADDRESS ON FILE
AYALA SALGADO, ANGEL          ADDRESS ON FILE
AYALA SALGADO, ANGEL M        ADDRESS ON FILE
AYALA SALGADO, GRIMILDA       ADDRESS ON FILE
AYALA SANCHEZ, ANGEL          ADDRESS ON FILE
AYALA SANCHEZ, CARLOS         ADDRESS ON FILE
AYALA SANCHEZ, CARLOS RUBEN   ADDRESS ON FILE
AYALA SANCHEZ, CHRISTOPHER    ADDRESS ON FILE
AYALA SANCHEZ, CRISTIAN       ADDRESS ON FILE
AYALA SANCHEZ, ERNESTO        ADDRESS ON FILE




                                                                          Page 688 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 689 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA SANCHEZ, ERNESTO       ADDRESS ON FILE
AYALA SANCHEZ, EVELYN        ADDRESS ON FILE
AYALA SANCHEZ, FERNANDO      ADDRESS ON FILE
AYALA SANCHEZ, LUIS          ADDRESS ON FILE
AYALA SANCHEZ, MARIA         ADDRESS ON FILE
AYALA SANCHEZ, MARIA S       ADDRESS ON FILE
AYALA SANCHEZ, MINERVA       ADDRESS ON FILE
AYALA SANCHEZ, NOELIA        ADDRESS ON FILE
AYALA SANCHEZ, SHEILA        ADDRESS ON FILE
AYALA SANJURJO, ALICIA       ADDRESS ON FILE
AYALA SANOGUET, ILEANA E     ADDRESS ON FILE
AYALA SANOGUET, MANFREDO     ADDRESS ON FILE
AYALA SANTANA, JACKELINE     ADDRESS ON FILE
AYALA SANTANA, JOSE I        ADDRESS ON FILE
AYALA SANTANA, MARIA E       ADDRESS ON FILE
AYALA SANTANA, SANTA I       ADDRESS ON FILE
AYALA SANTANA, SARAI         ADDRESS ON FILE
AYALA SANTIAGO, ALANA        ADDRESS ON FILE
AYALA SANTIAGO, ANA M        ADDRESS ON FILE
AYALA SANTIAGO, ARLETTE      ADDRESS ON FILE
AYALA SANTIAGO, AUREA E      ADDRESS ON FILE
AYALA SANTIAGO, BETSY        ADDRESS ON FILE
AYALA SANTIAGO, CARLOS       ADDRESS ON FILE
AYALA SANTIAGO, DANIEL       ADDRESS ON FILE
AYALA SANTIAGO, ELIZABETH    ADDRESS ON FILE
AYALA SANTIAGO, HILARIO      ADDRESS ON FILE
Ayala Santiago, Israel       ADDRESS ON FILE
AYALA SANTIAGO, ISRAEL       ADDRESS ON FILE
AYALA SANTIAGO, JACQUELINE   ADDRESS ON FILE
AYALA SANTIAGO, LOURDES      ADDRESS ON FILE
AYALA SANTIAGO, MARIA        ADDRESS ON FILE
AYALA SANTIAGO, MARIA R      ADDRESS ON FILE
AYALA SANTIAGO, MILAGROS     ADDRESS ON FILE
AYALA SANTIAGO, NELYZA       ADDRESS ON FILE
Ayala Santiago, Nelyza E.    ADDRESS ON FILE
AYALA SANTIAGO, PATRIA M     ADDRESS ON FILE
AYALA SANTIAGO, RAFAEL       ADDRESS ON FILE
AYALA SANTIAGO, ROSA         ADDRESS ON FILE
AYALA SANTIAGO, ROXANA       ADDRESS ON FILE
AYALA SANTIAGO, SARAI        ADDRESS ON FILE
AYALA SANTIAGO, SONIA N      ADDRESS ON FILE
AYALA SANTIAGO, VERONICA O   ADDRESS ON FILE
AYALA SANTIAGO, YAN          ADDRESS ON FILE
AYALA SANTOS MD, JOSE M      ADDRESS ON FILE
AYALA SANTOS, CHAMAINT       ADDRESS ON FILE
Ayala Santos, Elisa M        ADDRESS ON FILE
AYALA SANTOS, MELISSA        ADDRESS ON FILE
AYALA SANTOS, ORESTES        ADDRESS ON FILE
AYALA SANTOS, SIGFREDO       ADDRESS ON FILE
AYALA SANTOS, VICTOR         ADDRESS ON FILE
AYALA SEDA, LEE M.           ADDRESS ON FILE
AYALA SEGARRA, MARISOL       ADDRESS ON FILE
AYALA SEGUI, CHARLES         ADDRESS ON FILE
AYALA SEGUI, CHARLES         ADDRESS ON FILE
AYALA SEGUI, SANDRA          ADDRESS ON FILE
AYALA SEGUI, TANIA           ADDRESS ON FILE
AYALA SEPULVEDA, EFRAIN      ADDRESS ON FILE
AYALA SEPULVEDA, GLADYS J    ADDRESS ON FILE
AYALA SERRA, RAMON           ADDRESS ON FILE
AYALA SERRANO, ISY M.        ADDRESS ON FILE




                                                                         Page 689 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 690 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA SERRANO, ISY M.           ADDRESS ON FILE
AYALA SERRANO, JENNIFFER        ADDRESS ON FILE
AYALA SERRANO, LUIS             ADDRESS ON FILE
AYALA SERRANO, MARIA DEL C      ADDRESS ON FILE
AYALA SERRANO, MELISSA E        ADDRESS ON FILE
AYALA SERRANO, MIGUEL           ADDRESS ON FILE
AYALA SIERRA, WANDA             ADDRESS ON FILE
AYALA SILVA, EFRAIN             ADDRESS ON FILE
Ayala Silva, Jaime              ADDRESS ON FILE
AYALA SILVA, ROSALIA            ADDRESS ON FILE
AYALA SILVA, YESENIA            ADDRESS ON FILE
AYALA SKERRET, DORALIS          ADDRESS ON FILE
AYALA SOLER, OMAR               ADDRESS ON FILE
Ayala Soltren, Roberto          ADDRESS ON FILE
AYALA SORIANO, ANTONIA          ADDRESS ON FILE
AYALA SOTO, AILEEN              ADDRESS ON FILE
AYALA SOTO, CARLOS              ADDRESS ON FILE
AYALA SOTO, CARLOS              ADDRESS ON FILE
AYALA SOTO, CRISTOBAL           ADDRESS ON FILE
AYALA SOTO, DENISE              ADDRESS ON FILE
Ayala Soto, Edwin T             ADDRESS ON FILE
AYALA SOTO, EVELYN              ADDRESS ON FILE
AYALA SOTO, GRACE M             ADDRESS ON FILE
AYALA SOTO, HARRY               ADDRESS ON FILE
AYALA SOTO, ISAIAS              ADDRESS ON FILE
Ayala Soto, Juan B              ADDRESS ON FILE
AYALA SOTO, MARINES             ADDRESS ON FILE
AYALA SOTO, RUT M               ADDRESS ON FILE
AYALA SOTO, ZORAIDA             ADDRESS ON FILE
AYALA SOTOMAYOR, REGINO         ADDRESS ON FILE
AYALA SUAREZ, CARLOS            ADDRESS ON FILE
AYALA SUAREZ, JOSE A            ADDRESS ON FILE
Ayala Suarez, Maria De Los A.   ADDRESS ON FILE
AYALA SUAREZ, RAFAEL            ADDRESS ON FILE
AYALA SULLIVAN, JOSE ANTONIO    ADDRESS ON FILE
AYALA TANON, ALEXIS             ADDRESS ON FILE
AYALA TANON, ANA R              ADDRESS ON FILE
AYALA TANON, LUZ M              ADDRESS ON FILE
AYALA TANON, MARITZA            ADDRESS ON FILE
Ayala Tapia, Luis F             ADDRESS ON FILE
AYALA TARDY, JEANNAM            ADDRESS ON FILE
AYALA TERRERO, RUBEN            ADDRESS ON FILE
AYALA TERRON, FRANCISCO         ADDRESS ON FILE
Ayala Texidor, Jonathan         ADDRESS ON FILE
AYALA THILLET, MITCHEL          ADDRESS ON FILE
AYALA THILLET, STEVE            ADDRESS ON FILE
Ayala Tiburcio, Enrique         ADDRESS ON FILE
AYALA TIRADO, VIRGEN            ADDRESS ON FILE
AYALA TOLEDO, ROLANDO           ADDRESS ON FILE
AYALA TORO, GAMALIEL            ADDRESS ON FILE
Ayala Toro, Maritza             ADDRESS ON FILE
AYALA TORO, ZURISADAI           ADDRESS ON FILE
AYALA TORRES MD, MAYRA          ADDRESS ON FILE
AYALA TORRES, ANGEL             ADDRESS ON FILE
AYALA TORRES, ANGEL             ADDRESS ON FILE
AYALA TORRES, ANGEL M.          ADDRESS ON FILE
AYALA TORRES, BRENDA            ADDRESS ON FILE
AYALA TORRES, BRUNILDA          ADDRESS ON FILE
AYALA TORRES, CARLOS R          ADDRESS ON FILE
AYALA TORRES, CARMEN            ADDRESS ON FILE




                                                                            Page 690 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 691 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA TORRES, DAPHNE         ADDRESS ON FILE
AYALA TORRES, DARAMID        ADDRESS ON FILE
AYALA TORRES, EDDIE          ADDRESS ON FILE
AYALA TORRES, ENRIQUE        ADDRESS ON FILE
AYALA TORRES, GRISELLE       ADDRESS ON FILE
AYALA TORRES, HECTOR X       ADDRESS ON FILE
AYALA TORRES, ILIA L         ADDRESS ON FILE
AYALA TORRES, ILIANA         ADDRESS ON FILE
AYALA TORRES, IRAIDA         ADDRESS ON FILE
AYALA TORRES, JAVIER         ADDRESS ON FILE
AYALA TORRES, JAVIER         ADDRESS ON FILE
AYALA TORRES, JEROME         ADDRESS ON FILE
AYALA TORRES, JESSELIA       ADDRESS ON FILE
AYALA TORRES, JESUS MANUEL   ADDRESS ON FILE
AYALA TORRES, JOHANNAM.      ADDRESS ON FILE
AYALA TORRES, JORGE          ADDRESS ON FILE
AYALA TORRES, JOSE           ADDRESS ON FILE
AYALA TORRES, JOSE           ADDRESS ON FILE
AYALA TORRES, JOSE G         ADDRESS ON FILE
Ayala Torres, Jose L.        ADDRESS ON FILE
AYALA TORRES, JOSUE          ADDRESS ON FILE
AYALA TORRES, LESLIE A       ADDRESS ON FILE
AYALA TORRES, LESLIE M.      ADDRESS ON FILE
AYALA TORRES, LINDA J        ADDRESS ON FILE
AYALA TORRES, LUZ L          ADDRESS ON FILE
AYALA TORRES, MAIRA          ADDRESS ON FILE
AYALA TORRES, MAREL          ADDRESS ON FILE
AYALA TORRES, MARYINES       ADDRESS ON FILE
AYALA TORRES, OLGA R         ADDRESS ON FILE
AYALA TORRES, PEDRO          ADDRESS ON FILE
AYALA TORRES, PEDRO          ADDRESS ON FILE
AYALA TORRES, RAUL A         ADDRESS ON FILE
AYALA TORRES, REYES M.       ADDRESS ON FILE
AYALA TORRES, WANDA          ADDRESS ON FILE
AYALA TORRES, WILLMARI       ADDRESS ON FILE
AYALA TORRES, YAMIL          ADDRESS ON FILE
AYALA TORRES, YOHAIRA        ADDRESS ON FILE
AYALA TORRES, ZYLKIA         ADDRESS ON FILE
AYALA TORUELLA, XAVIER       ADDRESS ON FILE
AYALA TOSTE, ALMA            ADDRESS ON FILE
Ayala Toste, Ramon           ADDRESS ON FILE
AYALA TROSSI, CARMEN B       ADDRESS ON FILE
AYALA TROSSI, PEGGY          ADDRESS ON FILE
AYALA UMPIERRE, JOSE         ADDRESS ON FILE
AYALA VALDES, SUSANA         ADDRESS ON FILE
AYALA VALENTIN, EVA E        ADDRESS ON FILE
AYALA VALENTIN, GLADYS       ADDRESS ON FILE
AYALA VALENTIN, LIZANDRA     ADDRESS ON FILE
AYALA VALLE, CARLOS A        ADDRESS ON FILE
AYALA VALLE, EFRAIN          ADDRESS ON FILE
AYALA VALLE, EFRAIN          ADDRESS ON FILE
AYALA VARGAS, ANGEL          ADDRESS ON FILE
AYALA VARGAS, ILEANA         ADDRESS ON FILE
AYALA VARGAS, IVELISSE M     ADDRESS ON FILE
Ayala Vargas, Justino        ADDRESS ON FILE
AYALA VARGAS, KELLY          ADDRESS ON FILE
AYALA VARGAS, MARIA C        ADDRESS ON FILE
AYALA VARGAS, MARVIN         ADDRESS ON FILE
AYALA VARGAS, NIDIA E        ADDRESS ON FILE
AYALA VARGAS, RAMON G        ADDRESS ON FILE




                                                                         Page 691 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 692 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA VARGAS, RAMONITA M    ADDRESS ON FILE
AYALA VARGAS, WILBERTO      ADDRESS ON FILE
AYALA VARGAS, ZOE           ADDRESS ON FILE
AYALA VAZQUEZ, CARMEN       ADDRESS ON FILE
AYALA VAZQUEZ, FRANCISCO    ADDRESS ON FILE
AYALA VAZQUEZ, GLORIA N     ADDRESS ON FILE
AYALA VAZQUEZ, IVETTE M     ADDRESS ON FILE
AYALA VAZQUEZ, JUAN O.      ADDRESS ON FILE
Ayala Vazquez, Juan R       ADDRESS ON FILE
AYALA VAZQUEZ, JUANITA      ADDRESS ON FILE
AYALA VAZQUEZ, JULIO        ADDRESS ON FILE
AYALA VAZQUEZ, LOURDES      ADDRESS ON FILE
Ayala Vazquez, Luis A       ADDRESS ON FILE
AYALA VAZQUEZ, MARIA        ADDRESS ON FILE
AYALA VAZQUEZ, MARIA        ADDRESS ON FILE
Ayala Vazquez, Mateo        ADDRESS ON FILE
AYALA VAZQUEZ, MATEO        ADDRESS ON FILE
AYALA VAZQUEZ, NORMA I      ADDRESS ON FILE
AYALA VAZQUEZ, RAQUEL       ADDRESS ON FILE
AYALA VAZQUEZ, ROSA         ADDRESS ON FILE
AYALA VAZQUEZ, SYLVIA       ADDRESS ON FILE
AYALA VAZQUEZ, WANDA I      ADDRESS ON FILE
AYALA VAZQUEZ, ZORAIDA      ADDRESS ON FILE
AYALA VEGA, EVA J           ADDRESS ON FILE
AYALA VEGA, EVELYN          ADDRESS ON FILE
AYALA VEGA, HECTOR          ADDRESS ON FILE
AYALA VEGA, JOHNNY          ADDRESS ON FILE
Ayala Vega, Jose Antonio    ADDRESS ON FILE
AYALA VEGA, JOSE J          ADDRESS ON FILE
AYALA VEGA, KENNETH         ADDRESS ON FILE
AYALA VEGA, KENNETH         ADDRESS ON FILE
AYALA VEGA, LUCRECIA        ADDRESS ON FILE
AYALA VEGA, LUIS A          ADDRESS ON FILE
AYALA VEGA, MARIA           ADDRESS ON FILE
AYALA VEGA, MARIA DEL C     ADDRESS ON FILE
AYALA VEGA, MARISOL         ADDRESS ON FILE
AYALA VEGA, MARTA J         ADDRESS ON FILE
AYALA VEGA, MELISSA         ADDRESS ON FILE
Ayala Vega, Roberto         ADDRESS ON FILE
Ayala Velazquez, Efrain J   ADDRESS ON FILE
AYALA VELAZQUEZ, HECTOR     ADDRESS ON FILE
AYALA VELAZQUEZ, HECTOR     ADDRESS ON FILE
Ayala Velazquez, Javier     ADDRESS ON FILE
AYALA VELAZQUEZ, LUZ Z      ADDRESS ON FILE
AYALA VELAZQUEZ, MIRNA      ADDRESS ON FILE
Ayala Velazquez, Moises     ADDRESS ON FILE
AYALA VELAZQUEZ, OMAYRA     ADDRESS ON FILE
AYALA VELAZQUEZ, YAHAIRA    ADDRESS ON FILE
AYALA VELEZ MD, IVAN S      ADDRESS ON FILE
AYALA VELEZ, ANISA M        ADDRESS ON FILE
AYALA VELEZ, FERNANDO       ADDRESS ON FILE
AYALA VELEZ, GERALDO        ADDRESS ON FILE
Ayala Velez, Julio C        ADDRESS ON FILE
AYALA VELEZ, LUZ D          ADDRESS ON FILE
AYALA VELEZ, MABEL          ADDRESS ON FILE
AYALA VELILLA, ARTAGNAN     ADDRESS ON FILE
AYALA VELILLA, DOMINGO R    ADDRESS ON FILE
AYALA VERA, JORGE A         ADDRESS ON FILE
AYALA VERDEJO, ENID         ADDRESS ON FILE
AYALA VERDEJO,AMADA         ADDRESS ON FILE




                                                                        Page 692 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 693 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYALA VICENTE, EVY J        ADDRESS ON FILE
AYALA VIDAL, MAYRA          ADDRESS ON FILE
Ayala Vidal, Mayra          ADDRESS ON FILE
AYALA VILLALOBO, VICTOR     ADDRESS ON FILE
AYALA VILLALOBOS, NAYDA I   ADDRESS ON FILE
AYALA VILLALOBOS, WANDA     ADDRESS ON FILE
Ayala Villanueva, Efrain    ADDRESS ON FILE
AYALA VILLARIN, ELSIE       ADDRESS ON FILE
AYALA VILLEGAS, CHARYSELL   ADDRESS ON FILE
AYALA YAMBO, GICELA         ADDRESS ON FILE
AYALA YAMBOT, NORMA         ADDRESS ON FILE
AYALA ZANABRIA, PAULITA     ADDRESS ON FILE
Ayala Zaragoza, Hiram G     ADDRESS ON FILE
AYALA ZAYAS, ALICIA         ADDRESS ON FILE
AYALA ZAYAS, EDWIN          ADDRESS ON FILE
AYALA ZAYAS, IVETTE         ADDRESS ON FILE
AYALA, ANGEL                ADDRESS ON FILE
AYALA, CARLOS               ADDRESS ON FILE
AYALA, CARMEN I             ADDRESS ON FILE
AYALA, CARMEN L             ADDRESS ON FILE
AYALA, EDITH                ADDRESS ON FILE
AYALA, JOSE                 ADDRESS ON FILE
AYALA, JUAN                 ADDRESS ON FILE
AYALA, LILLIAN              ADDRESS ON FILE
AYALA, LUZ I                ADDRESS ON FILE
AYALA, NELSON L.            ADDRESS ON FILE
AYALA, NORBERTO             ADDRESS ON FILE
AYALA, ROBERTO              ADDRESS ON FILE
AYALA, ROBERTO              ADDRESS ON FILE
AYALA, WILREDO              ADDRESS ON FILE
AYALA, YARA                 ADDRESS ON FILE
AYALA,ERNESTO               ADDRESS ON FILE
AYALAALVAREZ, EFRAIN        ADDRESS ON FILE
AYALAMALDONADO, GRISEL      ADDRESS ON FILE
Ayala‐Martínez, Norma       ADDRESS ON FILE
AYALAPARRILLA, MELESIO      ADDRESS ON FILE
AYALAREYES, JOSE            ADDRESS ON FILE
AYALARIVERA, LISAMEL        ADDRESS ON FILE
AYALARIVERA, URBANO         ADDRESS ON FILE
AYALA'S MEDICAL SERVICE     PMB # 331 P.O. BOX 6017                                                          CAROLINA     PR      00984‐0000
AYALASANCHEZ, SANDRA        ADDRESS ON FILE
Ayala‐Vázquez, Teresa       ADDRESS ON FILE
AYANNA S BLASINI RAMOS      ADDRESS ON FILE
AYANNAS PLAY HOUSE CORP     URB APONTE                L 9 CALLE 10                                           CAYEY        PR      00737
AYARIS RAMIREZ RUIZ         ADDRESS ON FILE
AYARZA SALIVIA, CECILIA     ADDRESS ON FILE
AYBAR BATISTA, ROCIO        ADDRESS ON FILE
AYBAR CANAHUATE, ALEXIS     ADDRESS ON FILE
AYBAR CARO, LUZ M           ADDRESS ON FILE
AYBAR DIAZ, GIL DE JESUS    ADDRESS ON FILE
AYBAR DIAZ, JACLYN A        ADDRESS ON FILE
AYBAR FABIAN, SANTA         ADDRESS ON FILE
AYBAR FERMIN, VICTOR        ADDRESS ON FILE
AYBAR FERMIN, VICTOR M.     ADDRESS ON FILE
AYBAR INFANZON, JULIO       ADDRESS ON FILE
AYBAR MARTINEZ, NELSON      ADDRESS ON FILE
AYBAR MENDEZ, NELSON L      ADDRESS ON FILE
AYBAR ORTIZ, STEVEN         ADDRESS ON FILE
AYBAR RODRIGUEZ, NANCY      ADDRESS ON FILE
Aybar Serrano, Rogelio      ADDRESS ON FILE




                                                                        Page 693 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 694 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
AYBAR SOCARRAS, MAXIMINO          ADDRESS ON FILE
AYBAR SOLTERO, BEATRIZ            ADDRESS ON FILE
AYBAR SOLTERO, FERNANDO           ADDRESS ON FILE
AYBAR URRUTIA, ADRIANA            ADDRESS ON FILE
AYDA GONZALEZ TORRES              ADDRESS ON FILE
AYECHA MARIE FIGUEROA MELENDEZ    ADDRESS ON FILE
AYEISHA M GANDIA MARQUEZ          ADDRESS ON FILE
AYEISHA M TORRUELLA ORTIZ         ADDRESS ON FILE
AYEISHA MICHELLE GANDIA MARQUEZ   ADDRESS ON FILE
AYEISHA RODRIGUEZ QUINONES        ADDRESS ON FILE
AYENDE CAMACHO, JOSE              ADDRESS ON FILE
AYENDE CAMPOVERDE, FRANCISCO      ADDRESS ON FILE
AYENDE CANDELARIA, MARCOS         ADDRESS ON FILE
AYENDE CORDOVA, ABRAHAM           ADDRESS ON FILE
AYENDE DE JESUS, AIDA             ADDRESS ON FILE
AYENDE DE JESUS, REYNALDO         ADDRESS ON FILE
Ayende Delgado, Julio Jose        ADDRESS ON FILE
AYENDE FELICIANO, JOSE            ADDRESS ON FILE
AYENDE FIGUEROA, MARILYN          ADDRESS ON FILE
Ayende Figueroa, Orlando          ADDRESS ON FILE
AYENDE GABRIEL, LOURDES           ADDRESS ON FILE
AYENDE GABRIEL, LUIS G            ADDRESS ON FILE
AYENDE GONZALEZ, JAIME A          ADDRESS ON FILE
AYENDE GONZALEZ, MORAIMA I        ADDRESS ON FILE
AYENDE IRIZARRY, MAYDA            ADDRESS ON FILE
AYENDE MEDINA, ANGEL              ADDRESS ON FILE
AYENDE MEDINA, ANGEL              ADDRESS ON FILE
AYENDE MELENDEZ, ESTRELLA         ADDRESS ON FILE
AYENDE MELENDEZ, JORGE            ADDRESS ON FILE
AYENDE MELENDEZ, REINALDO         ADDRESS ON FILE
AYENDE MENENDEZ, TOMAS            ADDRESS ON FILE
AYENDE MORALES, JOSE              ADDRESS ON FILE
Ayende Morales, Jose J            ADDRESS ON FILE
AYENDE MORALES, RUBEN             ADDRESS ON FILE
AYENDE ORTEGA, MILDRED            ADDRESS ON FILE
AYENDE RIVERA, CELLYANN           ADDRESS ON FILE
AYENDE SANCHEZ, RAMON             ADDRESS ON FILE
AYENDE SANCHEZ, RAMON W.          ADDRESS ON FILE
Ayende Torres, Jose A             ADDRESS ON FILE
AYENDE VALDES, CARMEN             ADDRESS ON FILE
AYERDI SANTIAGO, JOSE             ADDRESS ON FILE
AYERIM M VELAZQUEZ ORTIZ          ADDRESS ON FILE
AYERST WYETH PHARMACEUTICAL       PO BOX 10012                                                                     GUAYAMA      PR      00785
AYES GARCIA, LUIS C               ADDRESS ON FILE
AYES SANTIAGO, ANA L              ADDRESS ON FILE
AYES SANTIAGO, ZULMA              ADDRESS ON FILE
AYES SANTOS, ISABEL               ADDRESS ON FILE
AYES SANTOS, JOHN                 ADDRESS ON FILE
AYES SANTOS, MARITZA              ADDRESS ON FILE
AYLEEN JAMES REYES                ADDRESS ON FILE
AYLEEN MALAVE FIGUEROA            ADDRESS ON FILE
AYLEEN MENIEUR                    ADDRESS ON FILE
AYLEEN SERRANO OQUENDO            ADDRESS ON FILE
AYMARA GONZALEZ GOMEZ             ADDRESS ON FILE
AYMARA NEGRONI PENA               ADDRESS ON FILE
AYMARA ROLON RIVERA               ADDRESS ON FILE
AYMAT ARZUAGA, GRACIELA           ADDRESS ON FILE
AYMAT ARZUAGA, JUAN               ADDRESS ON FILE
AYMAT AVILA, GABRIEL              ADDRESS ON FILE
AYMAT COLLADO, LUIS               ADDRESS ON FILE




                                                                              Page 694 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 695 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                       Address2                   Address3   Address4    City             State   PostalCode   Country
AYMAT COLLADO, LUIS         ADDRESS ON FILE
AYMAT CUADRO, RICARDO       ADDRESS ON FILE
AYMAT FAS, JAFET A          ADDRESS ON FILE
AYMAT FAS, OBED             ADDRESS ON FILE
AYMAT FAS, OBED             ADDRESS ON FILE
AYMAT FRIAS, BONNIE         ADDRESS ON FILE
AYMAT FRIAS, DIANNETTE      ADDRESS ON FILE
AYMAT FRIAS, DIANNETTE V.   ADDRESS ON FILE
AYMAT JUSINO, MARIO A       ADDRESS ON FILE
AYMAT LLANO, EFRAIN         ADDRESS ON FILE
AYMAT LOPEZ, ROSA           ADDRESS ON FILE
AYMAT LOPEZ, VERONICA       ADDRESS ON FILE
AYMAT LÓPEZ, VERONICA R.    ADDRESS ON FILE
AYMAT MENDOZA, FRANCIS      ADDRESS ON FILE
AYMAT NEGRON, MARIA C       ADDRESS ON FILE
AYMAT NEGRON, MARTA T       ADDRESS ON FILE
AYMAT NEGRON, VIOLA         ADDRESS ON FILE
AYMAT ORTIZ, AHMED          ADDRESS ON FILE
AYMAT RIOS, ILEANA          ADDRESS ON FILE
AYMAT RIVERA, LUIS          ADDRESS ON FILE
AYMAT RIVERA, OSMAR         ADDRESS ON FILE
AYMAT ROSARO, ISAMARIE      ADDRESS ON FILE
AYMAT RUIZ, MERCEDES        ADDRESS ON FILE
AYME BURGOS SOSA            ADDRESS ON FILE
AYME BURGOS SOSA            ADDRESS ON FILE
AYMERICH CONDE, VANESSA     ADDRESS ON FILE
AYMETTE GONZALEZ SANCHEZ    ADDRESS ON FILE
AYNA GOMEZ GUZMAN           ADDRESS ON FILE
AYO CARABALLO, MIRELIS      ADDRESS ON FILE
AYOROA SANTALIZ, JOSE       ADDRESS ON FILE
AYOROA SOLDEVILA, AIDA      ADDRESS ON FILE
AYRA FERNANDEZ, YASMIN      ADDRESS ON FILE
AYRA L CRUZ VALENTIN        ADDRESS ON FILE
AYROL GUZMAN ARROYO         ADDRESS ON FILE
AYS SPORT MARKETING INC     325 CHESTNUT STREET STE 1105                                                     PHILADELPHIA     PA      19106
AYSHA CASIANO CEPEDA        ADDRESS ON FILE
AYSHA MARY VAZQUEZ RIVERA   ADDRESS ON FILE
AYSHBELLE OQUENDO COLON     ADDRESS ON FILE
AYUDAME,INC., JESUCRISTO    ADDRESS ON FILE
AYUL LLC                    PO BOX 9945                                                                      CAROLINA         PR      00988‐9945
AYUSO AGOSTO, YOHANDRA      ADDRESS ON FILE
AYUSO AVILES, FELIX         ADDRESS ON FILE
AYUSO AVILEZ, FELIX         ADDRESS ON FILE
AYUSO BATISTA, CARMEN M     ADDRESS ON FILE
Ayuso Benitez, Carmen M     ADDRESS ON FILE
AYUSO BENITEZ, FABIAN       ADDRESS ON FILE
AYUSO BRENES, RICARDO R.    ADDRESS ON FILE
AYUSO BULTRON, CARMEN L     ADDRESS ON FILE
AYUSO BULTRON, FELICITA     ADDRESS ON FILE
AYUSO BURGOS, SHARAI        ADDRESS ON FILE
AYUSO BURGOS, SHARAI        ADDRESS ON FILE
AYUSO CLEMENTE, JOEL        ADDRESS ON FILE
AYUSO COLON, BELEN          ADDRESS ON FILE
AYUSO COLON, DENNISSE       ADDRESS ON FILE
Ayuso Colon, Jose A         ADDRESS ON FILE
AYUSO COLON, JOSE M.        ADDRESS ON FILE
AYUSO COLON, MARIA          ADDRESS ON FILE
AYUSO COLON, MARITZA        ADDRESS ON FILE
AYUSO CORDERO, YAZMIN       ADDRESS ON FILE
AYUSO CORREA, BRENDA L      ADDRESS ON FILE




                                                                        Page 695 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 696 of 3500
                                                                                            Creditor Matrix

Creditor Name                        Address1                          Address2                          Address3   Address4   City          State   PostalCode   Country
AYUSO CRUZ, CARMEN M                 ADDRESS ON FILE
AYUSO DELGADO, NILSA D               ADDRESS ON FILE
AYUSO DELVALLE, ROSA EMMA            ADDRESS ON FILE
AYUSO ELICIER, JOSE D.               ADDRESS ON FILE
AYUSO ELICIER, MARISEL               ADDRESS ON FILE
AYUSO ELICIER, YAITZA                ADDRESS ON FILE
AYUSO EXPOSITO, ADIANID              ADDRESS ON FILE
AYUSO EXPOSITO, RONALD               ADDRESS ON FILE
AYUSO FARGAS, ANTONIA                ADDRESS ON FILE
AYUSO FARGAS, FRANCISCO              ADDRESS ON FILE
AYUSO FELIX, MANUEL J                ADDRESS ON FILE
AYUSO GUZMAN, GEORGINA               ADDRESS ON FILE
AYUSO HERNANDEZ, GLORIMAR            ADDRESS ON FILE
AYUSO HERNANDEZ, IMELDA              ADDRESS ON FILE
AYUSO JIMENEZ, PHILLIP               ADDRESS ON FILE
AYUSO MADURO, DAVID                  ADDRESS ON FILE
AYUSO MENDEZ, JUAN                   ADDRESS ON FILE
AYUSO MONCLOVA, LUIS                 ADDRESS ON FILE
AYUSO MORALES, MARIA T               ADDRESS ON FILE
AYUSO NIEVES, JUAN                   ADDRESS ON FILE
AYUSO NOLASCO, LORRAINE              ADDRESS ON FILE
AYUSO OCASIO, CAROLINA               ADDRESS ON FILE
AYUSO OTERO,JOSHUA                   ADDRESS ON FILE
AYUSO PAGAN, YVONNE                  ADDRESS ON FILE
AYUSO PARIS, VALERIE                 ADDRESS ON FILE
AYUSO PENA, VIANA R                  ADDRESS ON FILE
AYUSO PONCE, HEDRIAN                 ADDRESS ON FILE
AYUSO QUINONES, JULIO M              ADDRESS ON FILE
AYUSO RIVERA, ADRIEL                 ADDRESS ON FILE
AYUSO RIVERA, ANTONIA                ADDRESS ON FILE
Ayuso Rivera, Brenda                 ADDRESS ON FILE
AYUSO RIVERA, CARLOS M.              ADDRESS ON FILE
AYUSO RIVERA, CARLOS M.              ADDRESS ON FILE
AYUSO RIVERA, GLADYSA                ADDRESS ON FILE
AYUSO RIVERA, GLADYSA                ADDRESS ON FILE
AYUSO RIVERA, MONSERRATE             ADDRESS ON FILE
AYUSO RIVERA, YARMILA                ADDRESS ON FILE
AYUSO RIVERA, ZULMA                  ADDRESS ON FILE
AYUSO RODRIGUEZ, DANIEL              ADDRESS ON FILE
AYUSO RODRIGUEZ, JESSICA             ADDRESS ON FILE
AYUSO ROSA, FREDDIE                  ADDRESS ON FILE
AYUSO ROSADO, JAIME                  ADDRESS ON FILE
AYUSO SANTIAGO, DAMARIS              ADDRESS ON FILE
AYUSO TAPIA, JOSEPHINE               ADDRESS ON FILE
AYUSO TORRES, DARMY                  ADDRESS ON FILE
AYUSO TORRES, DIANNE                 ADDRESS ON FILE
AYUSO TORRES, DIANNE                 ADDRESS ON FILE
AYUSO VAZQUEZ, XOHARA                ADDRESS ON FILE
AYUSO VAZQUEZ, XOHARA                ADDRESS ON FILE
AYUSO VELAZQUEZ, WILLIAM             ADDRESS ON FILE
AYUSO, SUJEL                         ADDRESS ON FILE
AYUSORAMIREZ, PRISCILLA              ADDRESS ON FILE
AYVELEE RIVERA AYALA                 ADDRESS ON FILE
AZ ARRHYTHMIA CONSULTANTS            8344 CLAIREMONT MESA BLVD         SUITE 201                                               SAN DIEGO     CA      92111
AZ ENGINEERING PSC / AZ ENERGY LLC   VILLA FONTANA                     VIA 3 2KR 645                                           CAROLINA      PR      00983‐3837
AZ ENGINEERING PSC / AZ ENERGY LLC   VILLA FONTANA                     4A S2 VIA LETICIA                                       CAROLINA      PR      00984
AZ ROOFING AND WATERPROOFING INC     HC 3 BOX 8576                                                                             DORADO        PR      00646‐9695
AZA FOOD CORP                        1353 AVE LUIS VIGOREAUX STE 443                                                           GUAYNABO      PR      00966‐2715
AZAIAS MENDEZ HERNANDEZ              ADDRESS ON FILE
AZAIRA MARTINEZ BADILLO              ADDRESS ON FILE




                                                                                           Page 696 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 697 of 3500
                                                                                                            Creditor Matrix

Creditor Name                            Address1                           Address2                                     Address3        Address4   City               State   PostalCode   Country
AZALEA L. VEGA RIVERA                    ADDRESS ON FILE
AZALIA MELENDEZ NATAL                    ADDRESS ON FILE
AZALIA NEGRON SANTIAGO                   ADDRESS ON FILE
AZALIA ORTEGA Y OSVALDO TIRADO           ADDRESS ON FILE
AZALIA ROLON OTERO                       ADDRESS ON FILE
AZALIA TIZOL                             ADDRESS ON FILE
AZARA Z LUCIANO JORDAN                   ADDRESS ON FILE
AZARIA M CANDELARIO SOTO                 ADDRESS ON FILE
AZARIA RODRIGUEZ COLON                   ADDRESS ON FILE
AZCONA SOSA, HILDA N                     ADDRESS ON FILE
AZENETTE ZAYAS SAN MIGUEL                ADDRESS ON FILE
AZIZ RAMOS, JEHAD W.                     ADDRESS ON FILE
AZIZE CRUZ, JONNATHAN                    ADDRESS ON FILE
AZIZE DE JESUS, INGRID                   ADDRESS ON FILE
AZIZE DIAZ, ALTAGRACIA                   ADDRESS ON FILE
AZOCAR FEBO, ZUANA                       ADDRESS ON FILE
AZOR ORES, JOSE A                        ADDRESS ON FILE
AZPURUA FIGUEROA, MILKA ENID             ADDRESS ON FILE
AZPURUA RAMIREZ, SORAYA                  ADDRESS ON FILE
AZUAJE DURAN, LISBETH                    ADDRESS ON FILE
AZUL COMMUNITY HOME , INC                HC ‐ 02 BOX 12519                                                                                          AGUAS BUENAS       PR      00703
AZUL COMMUNITY HOME INC                  HC 02 BOX 12519                                                                                            AGUA BUENAS        PR      00703
AZULAY DERI MIER                         ADDRESS ON FILE
AZYDABETH REYES GONZALEZ                 ADDRESS ON FILE
AZZARO GONZALEZ MD, DAVID                ADDRESS ON FILE
B & B COMMUNICATIONS INC                 352 AVE SAN CLAUDIO SUITE 173      CUPEY                                                                   SAN JUAN           PR      00926
B & B L EQUIPMENT , INC.                 369 SAN CLAUDIO SUITE # 3                                                                                  SAN JUAN           PR      00926‐0000
B & B MANUFACTURING                      PO BOX 9574                                                                                                SAN JUAN           PR      00908
B & J TRANSPORT INC.                     RR‐5 BOX 8750‐4                                                                                            TOA ALTA           PR      00953
B & M COMPU‐STAMP CORP                   N 19 AVE LOMAS VERDES              URB. LOMAS VERDES                                                       BAYAMON            PR      00956
B & M COMPU‐STAMP CORP                   N 19 AVE LOMAS VERDES                                                                                      BAYAMON            PR      00956
B & M DRY CLEANNERS                      AVE. DOMENECH #210                 LOCAL ‐ 3                                                               SAN JUAN           PR      00918
B & M UNLIMITED ENTERPRISE               PMB 396 PO BOX 7891                                                                                        GUAYNABO           PR      00970‐7891
B . V . R . AMBULANCE BEST CARE , INC.   P. O. BOX 71325 SUITE 273                                                                                  SAN JUAN           PR      00936‐0000
B A TRANSPORT, INC                       VILLA DEL MONTE                    216 CALLE MONTE CLARO                                                   TOA ALTA           PR      00953‐3546
B A G LEGAL SERVICES & CONSULTING PSC    PARQUE DE TORRIMAR                 E13 CALLE 6                                                             BAYAMON            PR      00959
B AND B TARGET CENTER INC                369 CALLE SAN CLAUDIO STE 3                                                                                SAN JUAN           PR      00926
B AND M COMPUS STAMP CORP                N 19 AVE LOMAS VERDES                                                                                      BAYAMON            PR      00956‐3102
B AND M COMPUS STAMP CORP                N 19 AVE LOMAS VERDES              URB. LOMAS VERDES                                                       BAYAMON            PR      00956‐0000
B AND T MEDICAL CENTER                   ATTN MEDICAL RECORDS               988 OSCEOLA PKWY                                                        KISSIMMEE          FL      34744
B ARROW GROUP                            PMB 434                            PO BOX 70344                                                            SAN JUAN           PR      00936‐8344
B BIKES                                  4770 ANDYS CAFE BLDG               LOCAL 3 AVE ISLA VERDE                                                  CAROLINA           PR      00979
B BILLBOARD CORP                         35 CALLE JUAN C BORBON STE 67445                                                                           GUAYNABO           PR      00969
B BRAUN OF AMERICA INC                   824 12TH AVE                                                                                               BETHLEHEM          PA      18018‐3524
B E S ENTERPRISE INC.                    PO BOX 145                         MERCEDITA                                                               PONCE              PR      00715‐0145
B ECKARDT ENTERPRISES INC                5900 AVE ISLA VERDE                348 SUITE 2                                                             CAROLINA           PR      00979
B G MEDICAL CORP CSP                     PO BOX 1709                                                                                                YAUCO              PR      00698‐1709
B I RESOURCES INC                        PO BOX 193101                                                                                              SAN JUAN           PR      00919‐3101
B J HIDRAULIC                            2 CALLE BALDORIOTY                                                                                         CATANO             PR      00962
B L INVESTMENT INC                       PO BOX 364582                                                                                              SAN JUAN           PR      00936
B M A S INC                              233 OVERLAND TRL                                                                                           MCDONOUGH          GA      30252‐2581
B M C S INC                              PO BOX 974                                                                                                 PUNTA SANTIAGO     PR      00741
B M S SALES AND SERVICES INC             RR 9 BOX 1621B                                                                                             SAN JUAN           PR      00926
B P A OFFICE SUPPLIES                    MARIO VAZQUEZ OPE                  DEPTO EDUCACION                              PO BOX 190759              SAN JUAN           PR      00919‐0759
B P A OFFICE SUPPLIES                    P O BOX 10611                                                                                              PONCE              PR      00731
B P A OFFICE SUPPLIES                    P O BOX 560574                     OFIC DE SUPERINTENDENTE                                                 GUAYANILLA         PR      00656
B R AUTO SALES INC                       URB VALENCIA                       301 CALLE NAVARRA                                                       SAN JUAN           PR      00923
B R B DEVELOPMENT INC                    SECT EL CINCO                      1537 AVE PONCE DE LEON BZN 1                                            SAN JUAN           PR      00926
B S A OR PUERTO RICO CONCILIO DE P R     PO BOX 70181                                                                                               SAN JUAN           PR      00936‐0181
B S A OR PUERTO RICO CONCILIO DE P R     TROPA 37 SCOUTS OF AMERICA         CALLE ERNESTO VIGOREAUX                                                 SAN JUAN           PR      00915




                                                                                                           Page 697 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 698 of 3500
                                                                                                            Creditor Matrix

Creditor Name                            Address1                                 Address2                               Address3   Address4   City            State   PostalCode   Country
B V R AMBULANCE BEST CARE                PO BOX 71325                                                                                          SAN JUAN        PR      00936
B&A CONSULTING ENGINEERS, PSC            VALLE HERMOSO                            Z13 CALLE OLMO                                               HORMIGUEROS     PR      00660‐1416
B&B TARGET CENTER                        369 SAN CLAUDIO AVENUE                   SUITE 3                                                      SAN JUAN        PR      00926
B&J ATTORNEY AT LAW PSC                  URB ELEONOR ROSEVELT                     444 AVE CESAR GONZALEZ                                       SAN JUAN        PR      00918
B&S MEDICAL RENTALS INC                  PO BOX 740                                                                                            BOQUERON        PR      00622
B.FERNANDEZ & HNOS INC                   URB INDUSTRIAL LUCHETTI                  305 CARR 5                                                   BAYAMON         PR      00961‐7422
BABA ORTIZ, GLORIANY                     ADDRESS ON FILE
BABA ORTIZ, LIZMARIE                     ADDRESS ON FILE
BABA PEEBLES, JUAN JOSE                  ADDRESS ON FILE
BABA RIVERA, JANICE                      ADDRESS ON FILE
BABA RIVERA, JANICE A.                   ADDRESS ON FILE
BABATIVA VARGAS, JENNY                   ADDRESS ON FILE
BABI TRAVELS                             EXT EL COMANDANTE                        242 AVE SAN MARCOS                                           CAROLINA        PR      00982
BABIES 1STSCHOOL DORIS RODRIGUEZ CINTRON URB MONTE CARLO                          23 CALLE A                                                   VEGA BAJA       PR      00693
BABIES IST SCHOOL I                      URB MONTECARLO                           23 CALLE A                                                   VEGA BAJA       PR      00693
BABIES NEW WORLD                         PMB 354 STE 67 35 CALLE JUAN C. BORBON                                                                GUAYNABO        PR      00969
BABIES NEW WORLD PRE SCHOOL CO           PMB 354                                  35 JUAN C BORBON ST 67                                       GUAYNABO        PR      00969
BABILON TECHNOLOGIES INC                 ALT DE RIO GRANDE                        N 678 CALLE MAIN                                             RIO GRANDE      PR      00745
BABILON TECHNOLOGIES, INC                CALLE PIMENTEL #27                                                                                    RIO GRANDE      PR      00745
BABILONIA ACEVEDO, DAISY                 ADDRESS ON FILE
BABILONIA ACEVEDO, ELVIS                 ADDRESS ON FILE
BABILONIA ACEVEDO, JOSUE                 ADDRESS ON FILE
BABILONIA ACEVEDO, ORLANDO               ADDRESS ON FILE
BABILONIA ACEVEDO, RUBEN                 ADDRESS ON FILE
BABILONIA ACEVEDO, SOL A                 ADDRESS ON FILE
BABILONIA AUTO AIR                       HC 1 BOX 6354                                                                                         MOCA            PR      00676
Babilonia Ayala, Miguel A                ADDRESS ON FILE
BABILONIA BABILONIA, ALEX                ADDRESS ON FILE
Babilonia Babilonia, Jesus               ADDRESS ON FILE
BABILONIA BABILONIA, SANDRA              ADDRESS ON FILE
BABILONIA BRAVO, AIDA E.                 ADDRESS ON FILE
BABILONIA BRAVO, WANDA                   ADDRESS ON FILE
BABILONIA CASIANO, MARIA C               ADDRESS ON FILE
BABILONIA CASIANO, MONSERRATE            ADDRESS ON FILE
BABILONIA CEDO, FEDERICO                 ADDRESS ON FILE
BABILONIA CEDO, HECTOR                   ADDRESS ON FILE
BABILONIA CEDO, JOSE                     ADDRESS ON FILE
BABILONIA CHAPEL, MARIA DE               ADDRESS ON FILE
BABILONIA CHAPEL, MARIA DE               ADDRESS ON FILE
BABILONIA CORDERO, ISAURA                ADDRESS ON FILE
BABILONIA CORTES, BERNARD                ADDRESS ON FILE
BABILONIA CORTES, GLADYS                 ADDRESS ON FILE
BABILONIA CORTES, ROSA M                 ADDRESS ON FILE
Babilonia Cortez, Luis                   ADDRESS ON FILE
BABILONIA CRUZ MD, BRUNILDA              ADDRESS ON FILE
BABILONIA DEYNES, JULIO M                ADDRESS ON FILE
BABILONIA DUBLEY, RAFAEL                 ADDRESS ON FILE
BABILONIA DUDLEY, JESUS                  ADDRESS ON FILE
BABILONIA ENGINEERING GROUP              1123 AVE PONCE DE LEON                                                                                SAN JUAN        PR      00926‐1305
BABILONIA ENGINEERING GROUP              1223 PONCE DE LEON AVE.                                                                               RIO PIEDRAS     PR      00926‐1305
BABILONIA GALARZA, MARIA G               ADDRESS ON FILE
BABILONIA GALARZA, VICTOR                ADDRESS ON FILE
BABILONIA GALARZA, VICTOR                ADDRESS ON FILE
BABILONIA GALARZA, VICTOR                ADDRESS ON FILE
Babilonia Gonzalez, Miguel A             ADDRESS ON FILE
BABILONIA GONZALEZ, NATIVIDAD            ADDRESS ON FILE
BABILONIA GONZALEZ, NEFTALI              ADDRESS ON FILE
BABILONIA GONZALEZ, SOL D                ADDRESS ON FILE
BABILONIA HERNANDEZ, EDGARGO             ADDRESS ON FILE
BABILONIA HERNANDEZ, EUSTAQUIO           ADDRESS ON FILE




                                                                                                           Page 698 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 699 of 3500
                                                                                          Creditor Matrix

Creditor Name                      Address1                        Address2                            Address3   Address4   City             State   PostalCode   Country
BABILONIA HERNANDEZ, LUZ M         ADDRESS ON FILE
BABILONIA HERNANDEZ, MIGUEL A.     ADDRESS ON FILE
BABILONIA HERNANDEZ, NELSON        ADDRESS ON FILE
BABILONIA HERNANDEZ, OSVALDO       ADDRESS ON FILE
BABILONIA HERNANDEZ, WAGDA L       ADDRESS ON FILE
BABILONIA HESS, FERDINAND          ADDRESS ON FILE
BABILONIA HESS, MARIA              ADDRESS ON FILE
Babilonia Hopping, Thomas G.       ADDRESS ON FILE
BABILONIA IDELFONZO, CARLOS        ADDRESS ON FILE
BABILONIA LOPEZ, JEANETTE          ADDRESS ON FILE
BABILONIA MALDONADO, JORGE         ADDRESS ON FILE
BABILONIA MARICHAL, JOHANNA M      ADDRESS ON FILE
BABILONIA MENDEZ, CONSUELO         ADDRESS ON FILE
Babilonia Mendez, Luis A           ADDRESS ON FILE
BABILONIA MENDEZ, MADELINE         ADDRESS ON FILE
BABILONIA MENDEZ, MAX              ADDRESS ON FILE
BABILONIA MIRANDA, RUTH M          ADDRESS ON FILE
BABILONIA MOLLFULLEDA, IVELISSE    ADDRESS ON FILE
BABILONIA MORALES, ELVIN           ADDRESS ON FILE
Babilonia Morales, Nerissa         ADDRESS ON FILE
BABILONIA MORALES, TOMAS           ADDRESS ON FILE
BABILONIA MORALES, WANDA E         ADDRESS ON FILE
BABILONIA NAVEDO, ALMA DEL C       ADDRESS ON FILE
BABILONIA OTERO, HECTOR            ADDRESS ON FILE
BABILONIA PEREZ, ANA C             ADDRESS ON FILE
BABILONIA PEREZ, BLANCA            ADDRESS ON FILE
BABILONIA PEREZ, MERCEDES          ADDRESS ON FILE
BABILONIA PUDLEY, JESUS            ADDRESS ON FILE
BABILONIA RAMOS, HECTOR L          ADDRESS ON FILE
BABILONIA RIVERA, JOSE             ADDRESS ON FILE
Babilonia Rivera, Juan             ADDRESS ON FILE
BABILONIA RIVERA, RUTH             ADDRESS ON FILE
BABILONIA RIVERA, TAISE            ADDRESS ON FILE
BABILONIA RODRIGUEZ, CARLOS A      ADDRESS ON FILE
BABILONIA RODRIGUEZ, ISRAEL        ADDRESS ON FILE
BABILONIA ROMAN, KELVIN            ADDRESS ON FILE
BABILONIA SIERRA, HUMBERTO         ADDRESS ON FILE
BABILONIA SIERRA, HUMBERTO         ADDRESS ON FILE
BABILONIA SOTO, EFRAIN             ADDRESS ON FILE
BABILONIA SOTOMAYOR, AMARILLYS     ADDRESS ON FILE
BABILONIA TIRADO, NELSON           ADDRESS ON FILE
BABILONIACASIANO, MARIA M.         ADDRESS ON FILE
BABY BLOSSOM DAY CARE INC          URB LAS MERCEDES                99 CALLE 2                                                LAS PIEDRAS      PR      00771
BABY ISLAND INC                    PO BOX 1329                                                                               QUEBRADILLAS     PR      00678‐1329
BACA, MICHAEL                      ADDRESS ON FILE
BACARDI CORP DISPENSARIO           PO BOX 363549                                                                             SAN JUAN         PR      00936‐3549
BACARDI, NAHIR                     ADDRESS ON FILE
BACAY, RUDYARD P                   ADDRESS ON FILE
BACCO RESTO BAR DBA BACANAL CORP   COND PLAZA 2000                 APT 1502                                                  SAN JUAN         PR      00925
BACCO RESTO BAR DBA BACANAL CORP   URB EL CEREZAL REPTO DE DIEGO   1643 CALLE GEORGINA                                       SAN JUAN         PR      00926
BACEIREDO DIAZ, JOSE               ADDRESS ON FILE
BACENET ARROYO, MONSERRATE         ADDRESS ON FILE
BACENET BERRIOS, ANGEL A           ADDRESS ON FILE
Bacenet Berrios, Loyda E.          ADDRESS ON FILE
Bache Simonet, Carl S              ADDRESS ON FILE
BACHETTI OLMO, LEWIS               ADDRESS ON FILE
BACHIER ARCAYA, JEAN               ADDRESS ON FILE
BACHIER AYALA, AMOS R              ADDRESS ON FILE
BACHIER AYALA, AMOS R              ADDRESS ON FILE
BACHIER AYALA, YANIRA              ADDRESS ON FILE




                                                                                         Page 699 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 700 of 3500
                                                                                             Creditor Matrix

Creditor Name                          Address1                             Address2                      Address3   Address4   City            State   PostalCode   Country
BACHIER CINTRON, CARMEN DEL R.         ADDRESS ON FILE
BACHIER CORDOVA, GLORIA DEL C          ADDRESS ON FILE
BACHIER MEJIAS, CARMEN Y.              ADDRESS ON FILE
BACHIER MEJIAS, JOSHUA                 ADDRESS ON FILE
BACHIER MEJIAS, JOSHUA                 ADDRESS ON FILE
BACHIER ORTIZ, AMOS R                  ADDRESS ON FILE
BACHIER RODRIGUEZ, MARIELENA           ADDRESS ON FILE
BACHIER ROMAN, EVELYN                  ADDRESS ON FILE
BACHIER ROMAN, JESUS                   ADDRESS ON FILE
BACHIER ROMAN, LILLIAM I.              ADDRESS ON FILE
BACHIER SERRANO, ANGEL L.              ADDRESS ON FILE
BACHILLER CLAUDIO, JUAN                ADDRESS ON FILE
BACHILLER CLAUDIO, JUAN                ADDRESS ON FILE
BACHILLER DUARTE, MARANGELI            ADDRESS ON FILE
Bachiller Estrada, Alfonso             ADDRESS ON FILE
BACHILLER ESTRADA, ALFONSO             ADDRESS ON FILE
BACHILLER NIEVES, ENCARNACION A        ADDRESS ON FILE
BACHILLER VAZQUEZ, EVELYN              ADDRESS ON FILE
BACHILLER VAZQUEZ, EVELYN              ADDRESS ON FILE
BACHOUR CHAHINE, HELENA                ADDRESS ON FILE
BACHOUR CHAHINE, JANY                  ADDRESS ON FILE
BACHOUR NABOUT, ELIAS                  ADDRESS ON FILE
BACICO INC                             PO BOX 50554                                                                             TOA BAJA        PR      00950
BACILIO ZAPATA SANTIAGO                ADDRESS ON FILE
BACK PAIN INSTITUTE OF NORTH FLORIDA   MEDICAL RECORDS                      1218 PARK AVE                                       ORANGE PARK     FL      32073
BACK SCHOOL OF ATLANTA                 1962 NORTHSIDE DRIVE NW                                                                  ATLANTA         GA      30318‐2631
BACK UP GROUP CORP                     PO BOX 190176                                                                            SAN JUAN        PR      00919
BACKER BLAS, CHRISTIAN                 ADDRESS ON FILE
BACO ALFARO MD, CARLOS J               ADDRESS ON FILE
BACO ALFARO, CARLOS                    ADDRESS ON FILE
BACO ALFARO,CARLOS J.                  ADDRESS ON FILE
BACO BAGUE, ALBERTO                    ADDRESS ON FILE
BACO BAQUE MD, PRISCILA L              ADDRESS ON FILE
BACO BROGNIEZ MD, CARRIE C             ADDRESS ON FILE
BACO BROGNIEZ,CARRIE C.                ADDRESS ON FILE
BACO DAVILA, MARIA                     ADDRESS ON FILE
BACO DAVILA,JULIO A.                   ADDRESS ON FILE
BACO KERCADO, DANIEL                   ADDRESS ON FILE
BACO RAMIREZ, ELBA                     ADDRESS ON FILE
BACO RAMIREZ, HILDA                    ADDRESS ON FILE
BACO RUIZ, LIZETTE                     ADDRESS ON FILE
BACO SERRANO, ANA DELIA                ADDRESS ON FILE
BACO VIAMONTE, MARIA DEL               ADDRESS ON FILE
BACTES IMAGING SOLOUTIONS INC          8344 CLAIREMONT MESA BLVD, STE 201                                                       SAN DIEGO       CA      92111
BACTES IMAGING SOLUTIONS LLC           8344 CLAIREMONT MESA BOULEVARD       STE 201                                             SAN DIEGO       CA      92111
BADEA PEREZ, LUC C                     ADDRESS ON FILE
BADEA ROSA, ADNORIS                    ADDRESS ON FILE
BADEA TORRES, LYNETTE                  ADDRESS ON FILE
BADELIER CASTRO, ROGER                 ADDRESS ON FILE
BADER HMIEDAN, MOHAMMED                JUAN A. SANTOS BERRIOS               PO BOX 9102                                         HUMACAO         PR      00792‐9102
BADIA ABELLO, MICHEL                   ADDRESS ON FILE
BADIA CESTERO, SYLVIA                  ADDRESS ON FILE
BADIA FELICIANO, RENE                  ADDRESS ON FILE
BADIA HAND TO SHOULDER CENTER          3650 NW 82ND AVE STE 103                                                                 DORAL           FL      33166
BADIA HERNANDEZ, JOSE                  ADDRESS ON FILE
BADIA HERNANDEZ, JULIO                 ADDRESS ON FILE
BADIAS DIEZMURO, CRISTINA              ADDRESS ON FILE
BADILLO ABASOLO, PEDRO R.              ADDRESS ON FILE
BADILLO ACEVEDO, JOSE A.               ADDRESS ON FILE
BADILLO ACEVEDO, NEREIDA               ADDRESS ON FILE




                                                                                            Page 700 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 701 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BADILLO ALMA, LISANDRA         ADDRESS ON FILE
BADILLO ALVAREZ, ALBERTO       ADDRESS ON FILE
BADILLO ALVAREZ, MONICA        ADDRESS ON FILE
BADILLO ALVAREZ, YESENIA       ADDRESS ON FILE
BADILLO ANAZAGASTY, DANIEL     ADDRESS ON FILE
BADILLO ANAZAGASTY, ETIENNE    ADDRESS ON FILE
BADILLO APONTE, LUIS           ADDRESS ON FILE
BADILLO BABILONIA, RICARDO     ADDRESS ON FILE
BADILLO BADILLO, LUIS R        ADDRESS ON FILE
BADILLO BAEZ, EDUARDO          ADDRESS ON FILE
BADILLO BARBOSA, CAROLYN       ADDRESS ON FILE
BADILLO BARRETO, ARIEL         ADDRESS ON FILE
BADILLO BARRETO, SONIA I       ADDRESS ON FILE
BADILLO BOCANEGRA, LISA        ADDRESS ON FILE
BADILLO BONILLA, JOSE          ADDRESS ON FILE
BADILLO BOURDON, INOCENCIO     ADDRESS ON FILE
BADILLO BRAVO, ALICE           ADDRESS ON FILE
BADILLO BRAVO, BETHZAIDA       ADDRESS ON FILE
BADILLO CARDONA, SONIA I.      ADDRESS ON FILE
BADILLO CARTAGENA, WILFREDO    ADDRESS ON FILE
BADILLO CASTRO, LUIS           ADDRESS ON FILE
BADILLO CLAUDIO, JAVIER        ADDRESS ON FILE
BADILLO COLLAZO MD, MANUEL A   ADDRESS ON FILE
BADILLO COLLAZO, MANUEL        ADDRESS ON FILE
BADILLO COLON, MANUEL          ADDRESS ON FILE
BADILLO CORDERO, ALEXEY        ADDRESS ON FILE
BADILLO CORDERO, GLORYVEE      ADDRESS ON FILE
BADILLO CORDERO, HECTOR        ADDRESS ON FILE
BADILLO CORDERO, RINA          ADDRESS ON FILE
BADILLO CORTES, HERIBERTO      ADDRESS ON FILE
Badillo Cortes, Oscar          ADDRESS ON FILE
BADILLO CORTES, SAMUEL         ADDRESS ON FILE
BADILLO CRESPO, BENJAMIN       ADDRESS ON FILE
BADILLO CRUZ, HECTOR           ADDRESS ON FILE
BADILLO CRUZ, LIZA F           ADDRESS ON FILE
BADILLO CRUZ, MARISOL          ADDRESS ON FILE
BADILLO CRUZ, MAYRA            ADDRESS ON FILE
BADILLO CRUZ, NYDIA I          ADDRESS ON FILE
BADILLO CRUZ, ONILA            ADDRESS ON FILE
BADILLO CUMBA, ROBERT          ADDRESS ON FILE
BADILLO DEL CASTILLO, RAMON    ADDRESS ON FILE
BADILLO DIAZ, NAYDA            ADDRESS ON FILE
BADILLO DIAZ, NELSA            ADDRESS ON FILE
BADILLO DOMENECH, MARY L       ADDRESS ON FILE
BADILLO ECHEVARRIA, ROCIO      ADDRESS ON FILE
BADILLO ESTEVES, NATHALIE L    ADDRESS ON FILE
Badillo Feliciano, Mayra       ADDRESS ON FILE
BADILLO FELICIANO, MAYRA       ADDRESS ON FILE
BADILLO FELICIANO, MYRNA       ADDRESS ON FILE
BADILLO FELICIANO, MYRNA C     ADDRESS ON FILE
BADILLO FERNANDEZ, JANET       ADDRESS ON FILE
BADILLO FIGUEROA, ELIZABETH    ADDRESS ON FILE
BADILLO GALVAN, YOLANDA        ADDRESS ON FILE
BADILLO GARAYUA, LYDIA         ADDRESS ON FILE
BADILLO GARCIA, YENSA          ADDRESS ON FILE
BADILLO GERENA, ANETTE         ADDRESS ON FILE
BADILLO GERENA, JAYSON         ADDRESS ON FILE
BADILLO GERENA, JULIO C        ADDRESS ON FILE
BADILLO GOMEZ, CHRISTIAN       ADDRESS ON FILE
BADILLO GONZALEZ, AWILDA       ADDRESS ON FILE




                                                                           Page 701 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 702 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BADILLO GONZALEZ, LUIS D       ADDRESS ON FILE
BADILLO GONZALEZ, ZORAIDA I    ADDRESS ON FILE
BADILLO GRAJALES, CESAR A.     ADDRESS ON FILE
BADILLO GRAJALES, LEILANI      ADDRESS ON FILE
BADILLO GRAJALES, RENE         ADDRESS ON FILE
Badillo Grajales, Ricardo      ADDRESS ON FILE
BADILLO GRAJALES, ROSA I       ADDRESS ON FILE
BADILLO HERNANDEZ MD, JOSE A   ADDRESS ON FILE
BADILLO HERNANDEZ, CARLOS      ADDRESS ON FILE
Badillo Hernandez, Epifanio    ADDRESS ON FILE
BADILLO HERNANDEZ, JOSE        ADDRESS ON FILE
BADILLO HERNANDEZ, LIRIO       ADDRESS ON FILE
BADILLO HERNANDEZ, LUCY E      ADDRESS ON FILE
BADILLO HERNANDEZ, WILNELIA    ADDRESS ON FILE
BADILLO JARAVIZ, WILSON        ADDRESS ON FILE
BADILLO JIMENEZ, IRMA          ADDRESS ON FILE
BADILLO JIMENEZ, JUDITH        ADDRESS ON FILE
BADILLO LAMBOGLIA, LOURDES A   ADDRESS ON FILE
BADILLO LOPEZ, ANES W          ADDRESS ON FILE
BADILLO LOPEZ, CHARITY         ADDRESS ON FILE
BADILLO LOPEZ, MARIA A         ADDRESS ON FILE
BADILLO LOPEZ, MARIA DEL C     ADDRESS ON FILE
BADILLO LOPEZ, MILAGROS        ADDRESS ON FILE
BADILLO LOPEZ, NEREIDA         ADDRESS ON FILE
BADILLO LOPEZ, NORMA I         ADDRESS ON FILE
BADILLO LOPEZ, PABLO           ADDRESS ON FILE
BADILLO LOPEZ, SAMUEL          ADDRESS ON FILE
BADILLO LOZANO, JULIA          ADDRESS ON FILE
BADILLO LOZANO, JULIA          ADDRESS ON FILE
BADILLO LUGO, VICTOR           ADDRESS ON FILE
BADILLO MACHADO, CESAR O.      ADDRESS ON FILE
Badillo Malave, Gregorio       ADDRESS ON FILE
BADILLO MALDONADO, ANA L       ADDRESS ON FILE
BADILLO MALDONADO, NEREIDA     ADDRESS ON FILE
BADILLO MARTINEZ, ROBERTO      ADDRESS ON FILE
BADILLO MATOS, CARMEN A        ADDRESS ON FILE
BADILLO MD, ARTHUR             ADDRESS ON FILE
BADILLO MEJIAS, HECTOR         ADDRESS ON FILE
BADILLO MERCADO, ROSA          ADDRESS ON FILE
BADILLO MONTALVO, MAXIMINIO    ADDRESS ON FILE
BADILLO MONTALVO, YOLANDA      ADDRESS ON FILE
BADILLO MORALES, CATHERINE     ADDRESS ON FILE
BADILLO MORALES, GILBERTO      ADDRESS ON FILE
BADILLO MORALES, IVELISSE      ADDRESS ON FILE
BADILLO MORALES, NELIDA        ADDRESS ON FILE
BADILLO MULET, LUIS            ADDRESS ON FILE
BADILLO MUNIZ, ADA M.          ADDRESS ON FILE
Badillo Muniz, Alberto         ADDRESS ON FILE
Badillo Muniz, Debbie          ADDRESS ON FILE
BADILLO MUNIZ, ETHEL           ADDRESS ON FILE
BADILLO MUNIZ, HILDA           ADDRESS ON FILE
Badillo Muniz, Hiram           ADDRESS ON FILE
BADILLO MUNOZ, NYDIA           ADDRESS ON FILE
Badillo Negron, Jose M         ADDRESS ON FILE
BADILLO OCASIO, DAVID          ADDRESS ON FILE
BADILLO OCASIO, OSCAR          ADDRESS ON FILE
BADILLO OQUENDO, MELVIN        ADDRESS ON FILE
Badillo Otero, Angel J.        ADDRESS ON FILE
BADILLO PACHECO, REINALDO      ADDRESS ON FILE
BADILLO PEREZ, IGNACIA         ADDRESS ON FILE




                                                                           Page 702 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 703 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BADILLO PEREZ, PAULA L          ADDRESS ON FILE
BADILLO PEREZ, PEDRO E.         ADDRESS ON FILE
BADILLO PEREZ, RUBEN            ADDRESS ON FILE
BADILLO PITRE, ROSA             ADDRESS ON FILE
BADILLO RAMOS, SALIA F          ADDRESS ON FILE
BADILLO REICES, GLORYVEE        ADDRESS ON FILE
BADILLO REICES, ORLANDO         ADDRESS ON FILE
Badillo Rios, Alfredo           ADDRESS ON FILE
BADILLO RIOS, ALFREDO           ADDRESS ON FILE
BADILLO RITCH, LORIE            ADDRESS ON FILE
BADILLO RIVERA, CONSUELO        ADDRESS ON FILE
BADILLO RIVERA, KEVIN           ADDRESS ON FILE
BADILLO RIVERA, LIZ R           ADDRESS ON FILE
BADILLO RODRIGUEZ, ARELY DEL    ADDRESS ON FILE
BADILLO RODRIGUEZ, LIZBETH      ADDRESS ON FILE
BADILLO RODRIGUEZ, ROXANA       ADDRESS ON FILE
BADILLO RODRIGUEZ, SANDRA E.    ADDRESS ON FILE
Badillo Roman, Magaly           ADDRESS ON FILE
BADILLO ROMAN, PABLO            ADDRESS ON FILE
Badillo Romero, Kelvin          ADDRESS ON FILE
BADILLO ROMERO, MIATZELL        ADDRESS ON FILE
BADILLO RUIZ, ISMAEL            ADDRESS ON FILE
BADILLO RUIZ, MILITZA           ADDRESS ON FILE
BADILLO SAATCHI & SAATCHI INC   PO BOX 11905                                                                     SAN JUAN     PR      00922‐1905
Badillo Sanchez, Joel           ADDRESS ON FILE
BADILLO SANCHEZ, JONATHAN L     ADDRESS ON FILE
BADILLO SANTANA, REINALDO       ADDRESS ON FILE
BADILLO SANTIAGO, CARMEN S      ADDRESS ON FILE
BADILLO SEGUI, ANDRES           ADDRESS ON FILE
BADILLO SEIN, PABLO             ADDRESS ON FILE
BADILLO SOSA, LISANDRA          ADDRESS ON FILE
BADILLO SOTO, CYNTHIA M         ADDRESS ON FILE
BADILLO SOTO, VANESSA           ADDRESS ON FILE
BADILLO SUAREZ, JUAN            ADDRESS ON FILE
BADILLO SUSS, BERMA             ADDRESS ON FILE
BADILLO TORRES, LUIS A          ADDRESS ON FILE
BADILLO TORRES, RAMON E.        ADDRESS ON FILE
BADILLO TORRES, SARAY           ADDRESS ON FILE
BADILLO VALENTIN, PATRICIO      ADDRESS ON FILE
BADILLO VEGA, MARIE             ADDRESS ON FILE
Badillo Velazquez, George       ADDRESS ON FILE
Badillo Velazquez, Heriberto    ADDRESS ON FILE
BADILLO VELAZQUEZ, JEANNETTE    ADDRESS ON FILE
BADILLO VELEZ, BLANCA           ADDRESS ON FILE
BADILLO VELEZ, JUAN             ADDRESS ON FILE
BADILLO VELEZ, JUAN H           ADDRESS ON FILE
BADILLO VELEZ, JUAN O.          ADDRESS ON FILE
BADILLO VERA, NITZA E           ADDRESS ON FILE
BADILLO VERAS, ROSEMARY         ADDRESS ON FILE
BADILLO VILLANUEVA, ELVIS D.    ADDRESS ON FILE
BADILLO YULFO, ZWINDA           ADDRESS ON FILE
BADILLO, ELENA                  ADDRESS ON FILE
BADILLO,GILBERT                 ADDRESS ON FILE
BADILO TORRES,GENARO            ADDRESS ON FILE
BADO BARRETO, IVAN EDUARDO      ADDRESS ON FILE
BADRENA MEDINA, MARIA           ADDRESS ON FILE
BADUA MERHEB FINIANOS           ADDRESS ON FILE
BADUI GONZALEZ, ISABEL          ADDRESS ON FILE
BADUI GONZALEZ, YAMILA          ADDRESS ON FILE
BAECELO SOSA, ZULMARIE          ADDRESS ON FILE




                                                                            Page 703 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 704 of 3500
                                                                                    Creditor Matrix

Creditor Name                     Address1                          Address2                     Address3   Address4   City            State   PostalCode   Country
BAELLA MERCED, LUZ T              ADDRESS ON FILE
BAELLO REY, NINA                  ADDRESS ON FILE
BAELLO REY, NINA                  ADDRESS ON FILE
BAELLO REY, RAMON                 ADDRESS ON FILE
Baer Rivera, Cassandra M          ADDRESS ON FILE
BAER TECHNOLOGIES                 PO BOX 1131                                                                          LAS PIEDRAS     PR      00771
BAER TECHNOLOGIES                 URB. APRIL GARDERNS CALLE 4 A‐9   P O BOX 1131                                       LAS PIEDRAS     PR      00071
BAER TECHNOLOGIES INC             PO BOX 1131                                                                          LAS PIEDRAS     PR      00771
BAERGA AGUIRRE, JOSE L.           ADDRESS ON FILE
BAERGA AGUIRRE, JOSE L.           ADDRESS ON FILE
BAERGA AMARAT, GLORIMER           ADDRESS ON FILE
BAERGA APONTE, SONNY              ADDRESS ON FILE
BAERGA CARDONA, SONIA             ADDRESS ON FILE
BAERGA CARRASQUILLO, ROYD         ADDRESS ON FILE
BAERGA CASTRO, ANGELICA           ADDRESS ON FILE
BAERGA CASTRO, JEANETTE           ADDRESS ON FILE
BAERGA CASTRO, LAURIE M           ADDRESS ON FILE
BAERGA CASTRO, LESLIE A           ADDRESS ON FILE
BAERGA COLLAZO, AWILDA            ADDRESS ON FILE
BAERGA COLLAZO, AWILDA            ADDRESS ON FILE
BAERGA COLLAZO, BRUNILDA          ADDRESS ON FILE
BAERGA COLON, GLORIEL M           ADDRESS ON FILE
BAERGA COLON, JAVIER              ADDRESS ON FILE
BAERGA COLON, MARIBEL             ADDRESS ON FILE
BAERGA COLON, WISAEL              ADDRESS ON FILE
BAERGA COLON, YISLENE             ADDRESS ON FILE
BAERGA CRUZ, ANA                  ADDRESS ON FILE
BAERGA CRUZ, ANNETTE M.           ADDRESS ON FILE
BAERGA CRUZ, ANNETTE M.           ADDRESS ON FILE
BAERGA CRUZ, MARELLY              ADDRESS ON FILE
BAERGA DE LEON, JOSE M.           ADDRESS ON FILE
BAERGA DORTA, DAVID               ADDRESS ON FILE
BAERGA DUPEROY, REYMUNDO          ADDRESS ON FILE
BAERGA FELICIANO, MYRNA           ADDRESS ON FILE
Baerga Gonzalez, Maria De Los A   ADDRESS ON FILE
BAERGA LEBRON, RAMON              ADDRESS ON FILE
BAERGA LIZARDI MD, HECTOR J       ADDRESS ON FILE
BAERGA LIZARDI, JESUS             ADDRESS ON FILE
BAERGA MALDONADO, LUIS            ADDRESS ON FILE
BAERGA MARENGO, ELISAMUEL         ADDRESS ON FILE
BAERGA MARTINEZ, ARELIS           ADDRESS ON FILE
BAERGA MARTINEZ, ARELIS           ADDRESS ON FILE
BAERGA MERCADO, ANIDEL M          ADDRESS ON FILE
BAERGA MERCADO, FRANKIE           ADDRESS ON FILE
BAERGA MERCADO, NYDIA             ADDRESS ON FILE
BAERGA MONTES, ANGEL              ADDRESS ON FILE
Baerga Montes, Angel L            ADDRESS ON FILE
BAERGA MONTES, HIPOLITO           ADDRESS ON FILE
BAERGA MONTES, VIRGEN S           ADDRESS ON FILE
BAERGA MUNOZ, MIGUEL              ADDRESS ON FILE
BAERGA NEGRON, JULIO              ADDRESS ON FILE
BAERGA ORTIZ, AMANDA I            ADDRESS ON FILE
BAERGA ORTIZ, LUZ E.              ADDRESS ON FILE
BAERGA PORTORREAL, ARLINA         ADDRESS ON FILE
BAERGA RIVERA, JESUS              ADDRESS ON FILE
BAERGA RIVERA, KATHERINE          ADDRESS ON FILE
BAERGA RODRIGUEZ, AXEL JOEL       ADDRESS ON FILE
BAERGA RODRIGUEZ, FRANCES         ADDRESS ON FILE
BAERGA RODRIGUEZ, ISMAEL          ADDRESS ON FILE
BAERGA RODRIGUEZ, JOSE            ADDRESS ON FILE




                                                                                   Page 704 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 705 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAERGA RODRIGUEZ, JOSE E.      ADDRESS ON FILE
Baerga Rodriguez, Jose M.      ADDRESS ON FILE
BAERGA RODRIGUEZ, SONIA C      ADDRESS ON FILE
BAERGA ROLON, SAMMY            ADDRESS ON FILE
BAERGA ROSARIO, JOSE A         ADDRESS ON FILE
BAERGA ROSARIO, YOLANDA        ADDRESS ON FILE
BAERGA SANCHEZ, IVETTE         ADDRESS ON FILE
BAERGA SCHROEDER, JAVIER       ADDRESS ON FILE
BAERGA SUAREZ, JEAN            ADDRESS ON FILE
BAERGA TORRES, MERCEDES        ADDRESS ON FILE
BAERGA TORRES, SASSHIRA        ADDRESS ON FILE
BAERGA TORRES, ZAMIA           ADDRESS ON FILE
BAERGA VALLE, MARIA T.         ADDRESS ON FILE
BAERGA VARELA, FLAVIA          ADDRESS ON FILE
BAERGA VARELA, FLAVIA          ADDRESS ON FILE
BAERGA VAZQUEZ, FRANCISCO J.   ADDRESS ON FILE
BAERGA VEGA, RAFAEL            ADDRESS ON FILE
BAERGA VEGA, RAUL              ADDRESS ON FILE
BAERGA VIRUET, SAMIL           ADDRESS ON FILE
BAERGA, NILDA L                ADDRESS ON FILE
Baergas Montes, Angel J.       ADDRESS ON FILE
Baergas Rodriguez, Rafael      ADDRESS ON FILE
Baez Vazquez, Magaly           ADDRESS ON FILE
BAEZ , MARIA S.                ADDRESS ON FILE
BAEZ ABREU, GIOVANNI           ADDRESS ON FILE
BAEZ ABREU, JOVITA             ADDRESS ON FILE
BAEZ ABREU, MARIA K            ADDRESS ON FILE
BAEZ ABRIL, MAXIMINA           ADDRESS ON FILE
BAEZ ABRIL, ROBERTO            ADDRESS ON FILE
BAEZ ACABA, BRENDA             ADDRESS ON FILE
BAEZ ACEVEDO, AILEEN           ADDRESS ON FILE
BAEZ ACEVEDO, CARMEN I         ADDRESS ON FILE
BAEZ ACEVEDO, HILDA M          ADDRESS ON FILE
BAEZ ACEVEDO, LUIS             ADDRESS ON FILE
BAEZ ACEVEDO, YOLANDA          ADDRESS ON FILE
BAEZ ACEVEDO, ZAIDA            ADDRESS ON FILE
BAEZ ACOSTA, ALI               ADDRESS ON FILE
BAEZ ACOSTA, GLENDA            ADDRESS ON FILE
BAEZ ACOSTA, GLENDA L          ADDRESS ON FILE
BAEZ ACOSTA, LUZ S             ADDRESS ON FILE
BAEZ ACOSTA, OBDULIA           ADDRESS ON FILE
BAEZ ADAMES, CARLOS            ADDRESS ON FILE
Báez Adames, Norma I.          ADDRESS ON FILE
BAEZ AGOSTO, OLGA I            ADDRESS ON FILE
BAEZ AGOSTO, VICTOR            ADDRESS ON FILE
BAEZ ALAMEDA, RICARDO N.       ADDRESS ON FILE
BAEZ ALBALADEJO, OMARILYS      ADDRESS ON FILE
BAEZ ALBARRAN, AIXA            ADDRESS ON FILE
BAEZ ALBARRAN, HILDA E         ADDRESS ON FILE
BAEZ ALBINO, DAMARIS           ADDRESS ON FILE
BAEZ ALBINO, RAMON L           ADDRESS ON FILE
BAEZ ALEJANDRO, WILLIAM        ADDRESS ON FILE
BAEZ ALEJANDRO, YAHAIRA        ADDRESS ON FILE
BAEZ ALFAU, RENIER             ADDRESS ON FILE
BAEZ ALFAU, RENIER             ADDRESS ON FILE
BAEZ ALGARIN, DELSY            ADDRESS ON FILE
BAEZ ALICEA, CAROLYN           ADDRESS ON FILE
BAEZ ALICEA, GUILLERMO         ADDRESS ON FILE
BAEZ ALICEA, GUILLERMO J       ADDRESS ON FILE
BAEZ ALICEA, JOSE              ADDRESS ON FILE




                                                                           Page 705 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 706 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Baez Alicea, Jose A          ADDRESS ON FILE
BAEZ ALMANZAR, ANNY M        ADDRESS ON FILE
BAEZ ALMODOVAR, ALBA I.      ADDRESS ON FILE
BAEZ ALMODOVAR, FRANZEMIL    ADDRESS ON FILE
BAEZ ALMODOVAR, IVETTE       ADDRESS ON FILE
BAEZ ALMODOVAR, NELSHMARIE   ADDRESS ON FILE
BAEZ ALVARADO, ANA L.        ADDRESS ON FILE
BAEZ ALVAREZ, MANUEL E       ADDRESS ON FILE
BAEZ ALVELO, JOSUE           ADDRESS ON FILE
BAEZ ANDINO, BRENDA          ADDRESS ON FILE
BAEZ ANDINO, GLENDALY        ADDRESS ON FILE
BAEZ ANDINO, HIRAM           ADDRESS ON FILE
BAEZ ANDINO, MARIA           ADDRESS ON FILE
BAEZ APONTE, ANGEL           ADDRESS ON FILE
BAEZ APONTE, LESLIE          ADDRESS ON FILE
BAEZ ARCE, ALEJANDRO         ADDRESS ON FILE
BAEZ ARRIAGA, RAMONITA       ADDRESS ON FILE
BAEZ ARROYO, ANGEL           ADDRESS ON FILE
BAEZ ARROYO, JAVIER          ADDRESS ON FILE
BAEZ ARROYO, JOSE E.         ADDRESS ON FILE
BAEZ ARROYO, JUAN            ADDRESS ON FILE
BAEZ ARROYO, LORENZO         ADDRESS ON FILE
BAEZ ARROYO, ODETTE M        ADDRESS ON FILE
BAEZ ARROYO, OLGA            ADDRESS ON FILE
BAEZ AVILA, LOGGINA          ADDRESS ON FILE
BAEZ AVILES, CARLOS          ADDRESS ON FILE
BAEZ AVILES, JONATHAN C      ADDRESS ON FILE
BAEZ AVILES, SANDRA E        ADDRESS ON FILE
BAEZ AVILES, TAYSHA          ADDRESS ON FILE
BAEZ AYALA MD, EDGARDO       ADDRESS ON FILE
BAEZ AYALA, ANN              ADDRESS ON FILE
BAEZ AYALA, EDGARDO          ADDRESS ON FILE
BAEZ AYALA, JOSE A           ADDRESS ON FILE
BAEZ AYALA, KEISHLA Z        ADDRESS ON FILE
BAEZ AYALA, MARIA M.         ADDRESS ON FILE
BAEZ AYALA, VICENTE          ADDRESS ON FILE
BAEZ AYALA, WANDA            ADDRESS ON FILE
BAEZ BAEZ, AIDA E            ADDRESS ON FILE
BAEZ BAEZ, AIXA M            ADDRESS ON FILE
BAEZ BAEZ, ANNETTE           ADDRESS ON FILE
BAEZ BAEZ, BRENDA I          ADDRESS ON FILE
BAEZ BAEZ, CARMEN L          ADDRESS ON FILE
BAEZ BAEZ, DANNY             ADDRESS ON FILE
BAEZ BAEZ, ELBA G            ADDRESS ON FILE
BAEZ BAEZ, ENEKATH           ADDRESS ON FILE
BAEZ BAEZ, ERESVITA          ADDRESS ON FILE
BAEZ BAEZ, EVELYN            ADDRESS ON FILE
BAEZ BAEZ, FLORENTINO        ADDRESS ON FILE
BAEZ BAEZ, GABRIEL           ADDRESS ON FILE
BAEZ BAEZ, GRIMILDA          ADDRESS ON FILE
BAEZ BAEZ, HUMBERTO          ADDRESS ON FILE
BAEZ BAEZ, JENNETTE          ADDRESS ON FILE
BAEZ BAEZ, JOSE              ADDRESS ON FILE
BAEZ BAEZ, JOSE              ADDRESS ON FILE
BAEZ BAEZ, JOSE L.           ADDRESS ON FILE
BAEZ BAEZ, LETICIA           ADDRESS ON FILE
BAEZ BAEZ, LETICIA           ADDRESS ON FILE
Baez Baez, Luis F            ADDRESS ON FILE
BAEZ BAEZ, LYDIA I           ADDRESS ON FILE
BAEZ BAEZ, MARILYN           ADDRESS ON FILE




                                                                         Page 706 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                            Exhibit A-1 - Creditor
                                                                Case No.Matrix
                                                                        17 BK 3283‐LTSPage 707 of 3500
                                                                       Creditor Matrix

Creditor Name             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ BAEZ, MILDRED        ADDRESS ON FILE
BAEZ BAEZ, MIRIAM         ADDRESS ON FILE
BAEZ BAEZ, ONEIDA         ADDRESS ON FILE
BAEZ BAEZ, RAFAEL         ADDRESS ON FILE
BAEZ BAEZ, SANTOS         ADDRESS ON FILE
Baez Baez, Yaritza I.     ADDRESS ON FILE
BAEZ BAEZ, ZULMA Y        ADDRESS ON FILE
BAEZ BARRETO, CARMEN      ADDRESS ON FILE
BAEZ BATISTA, NIFDA M.    ADDRESS ON FILE
BAEZ BAUZA, XIOMARA       ADDRESS ON FILE
BAEZ BAUZA, YIMARA        ADDRESS ON FILE
BAEZ BELEN, ESPERANZA     ADDRESS ON FILE
BAEZ BELEN, VICENTE       ADDRESS ON FILE
BAEZ BELFORT, MIGUEL      ADDRESS ON FILE
BAEZ BELLO, MARIA E       ADDRESS ON FILE
BAEZ BENITEZ, AGNES       ADDRESS ON FILE
BAEZ BERRIOS, HAROLD      ADDRESS ON FILE
BAEZ BERRIOS, IRIS        ADDRESS ON FILE
BAEZ BERRIOS, LUIS        ADDRESS ON FILE
BAEZ BERRIOS, NILIED      ADDRESS ON FILE
BAEZ BERRIOS, ROBERTO     ADDRESS ON FILE
Baez Berrios, Yamil       ADDRESS ON FILE
BAEZ BERROA, JULIO        ADDRESS ON FILE
BAEZ BISONO, JOSE E       ADDRESS ON FILE
BAEZ BLACK, LUIS A        ADDRESS ON FILE
BAEZ BOCANEGRA, MELISSA   ADDRESS ON FILE
BAEZ BONILLA, ELBA N      ADDRESS ON FILE
BAEZ BONILLA, MARIA I     ADDRESS ON FILE
BAEZ BONILLA, MARIBET     ADDRESS ON FILE
BAEZ BORERO, GUSTAVO      ADDRESS ON FILE
Baez Borrero, Carlos A    ADDRESS ON FILE
BAEZ BORRERO, JOSE        ADDRESS ON FILE
BAEZ BORRERO, LYDIA E.    ADDRESS ON FILE
BAEZ BRACERO, EVELYN      ADDRESS ON FILE
BAEZ BRADY, JOSE J.       ADDRESS ON FILE
BAEZ BRADY, LIZETTE M     ADDRESS ON FILE
BAEZ BRAVO, ILEANA        ADDRESS ON FILE
BAEZ BRAVO, ILEANA P      ADDRESS ON FILE
BAEZ BRUNO, ANGEL         ADDRESS ON FILE
BAEZ BRUNO, MARIA         ADDRESS ON FILE
BAEZ BRUNO, ROBERTO       ADDRESS ON FILE
BAEZ BRUNO, SANDRA        ADDRESS ON FILE
BAEZ BURGOS, LIZA M.      ADDRESS ON FILE
BAEZ BURGOS, SONIA I      ADDRESS ON FILE
BAEZ BUSIGO, HECTOR       ADDRESS ON FILE
BAEZ CABAN, LIZA D        ADDRESS ON FILE
BAEZ CABRERA, ESTHER      ADDRESS ON FILE
BAEZ CABRERA, GLORIA      ADDRESS ON FILE
BAEZ CABRERA, LUCAS O.    ADDRESS ON FILE
BAEZ CALDERON, ROLANDO    ADDRESS ON FILE
BAEZ CALDERON, TATIANA    ADDRESS ON FILE
BAEZ CALO, MIOSOTY        ADDRESS ON FILE
BAEZ CALVO, FRANCISCO     ADDRESS ON FILE
BAEZ CAMACHO, ANA D       ADDRESS ON FILE
BAEZ CAMACHO, ANGEL       ADDRESS ON FILE
BAEZ CAMACHO, AWILDA      ADDRESS ON FILE
BAEZ CAMACHO, CARMEN A    ADDRESS ON FILE
BAEZ CAMACHO, EDWIN       ADDRESS ON FILE
BAEZ CAMACHO, ELIZABETH   ADDRESS ON FILE
BAEZ CAMACHO, FELIX G     ADDRESS ON FILE




                                                                      Page 707 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 708 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ CAMACHO, IRIS           ADDRESS ON FILE
BAEZ CAMACHO, MARITZA E      ADDRESS ON FILE
BAEZ CAMACHO, NERI           ADDRESS ON FILE
BAEZ CANALES, JOSE A         ADDRESS ON FILE
Baez Candelario, Justino     ADDRESS ON FILE
BAEZ CANO, DIANA             ADDRESS ON FILE
BAEZ CARABALLO, ALICIA       ADDRESS ON FILE
BAEZ CARABALLO, ANA A        ADDRESS ON FILE
BAEZ CARABALLO, ARACELIS     ADDRESS ON FILE
BAEZ CARABALLO, NEDYMEL      ADDRESS ON FILE
BAEZ CARBONELL, LUZ Z        ADDRESS ON FILE
BAEZ CARBONELL, MARLON       ADDRESS ON FILE
BAEZ CARDONA, JORGE          ADDRESS ON FILE
BAEZ CARDONA, JORGE          ADDRESS ON FILE
BAEZ CARMONA, ANNIE          ADDRESS ON FILE
BAEZ CARMONA, JULIA          ADDRESS ON FILE
BAEZ CARMONA, LYDIA E        ADDRESS ON FILE
BAEZ CARMONA, NORBERTO       ADDRESS ON FILE
BAEZ CARRAQUILLO, JOHN       ADDRESS ON FILE
BAEZ CARRASQUILLO, EMILIA    ADDRESS ON FILE
BAEZ CARRASQUILLO, JUDITH    ADDRESS ON FILE
BAEZ CARRASQUILLO, KENNETH   ADDRESS ON FILE
BAEZ CARRASQUILLO, LID       ADDRESS ON FILE
BAEZ CARRILLO, MARGARITA     ADDRESS ON FILE
BAEZ CARRILLO, MARIA T.      ADDRESS ON FILE
BAEZ CARRILLO, NELIDA        ADDRESS ON FILE
BAEZ CARRILLO, RICARDO       ADDRESS ON FILE
BAEZ CARRION, CARLOS         ADDRESS ON FILE
BAEZ CARRION, FRANCES        ADDRESS ON FILE
BAEZ CARRION, SHEILA         ADDRESS ON FILE
BAEZ CARTAGENA, ANGEL        ADDRESS ON FILE
BAEZ CARUCCINI, JAVIER       ADDRESS ON FILE
Baez Casasnovas, Jose E      ADDRESS ON FILE
BAEZ CASILLAS, SAMUEL        ADDRESS ON FILE
Baez Castillo, Angel         ADDRESS ON FILE
Baez Castillo, Angel L.      ADDRESS ON FILE
BAEZ CASTILLO, SANDRA        ADDRESS ON FILE
BAEZ CASTRO, GLENDA L        ADDRESS ON FILE
BAEZ CASTRO, JACQUELINE      ADDRESS ON FILE
BAEZ CASTRO, JACQUELINE      ADDRESS ON FILE
BAEZ CASTRO, MARIA V         ADDRESS ON FILE
BAEZ CASTRO, SOCORRO         ADDRESS ON FILE
BAEZ CHAO MD, PABLO J        ADDRESS ON FILE
Baez Charriez, Audelis       ADDRESS ON FILE
BAEZ CHARRIEZ, SIGFREDO      ADDRESS ON FILE
BAEZ CINTRON, ABIMAEL        ADDRESS ON FILE
BAEZ CINTRON, CANDIDO        ADDRESS ON FILE
BAEZ CINTRON, EMILIO         ADDRESS ON FILE
BAEZ CINTRON, LUIS           ADDRESS ON FILE
BAEZ CLAUDIO, CARMEN         ADDRESS ON FILE
BAEZ CLAUDIO, DEBORAH L.     ADDRESS ON FILE
BAEZ CLAUDIO, FRANCES J      ADDRESS ON FILE
BAEZ CLAUDIO, HECTOR         ADDRESS ON FILE
Baez Claudio, Jose A         ADDRESS ON FILE
BAEZ COLLADO, JORGE          ADDRESS ON FILE
BAEZ COLLADO, TOMAS E.       ADDRESS ON FILE
BAEZ COLLAZO, MILAGROS DE    ADDRESS ON FILE
BAEZ COLON, AIDA             ADDRESS ON FILE
BAEZ COLON, BARBARA          ADDRESS ON FILE
BAEZ COLON, CARMEN A         ADDRESS ON FILE




                                                                         Page 708 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 709 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ COLON, CELIA I             ADDRESS ON FILE
BAEZ COLON, EDNA                ADDRESS ON FILE
BAEZ COLON, EDWIN               ADDRESS ON FILE
BAEZ COLON, EVELYN              ADDRESS ON FILE
BAEZ COLON, FRANCES C           ADDRESS ON FILE
BAEZ COLON, GIOVANNI J          ADDRESS ON FILE
BAEZ COLON, GLORIA              ADDRESS ON FILE
BAEZ COLON, JOSE M              ADDRESS ON FILE
BAEZ COLON, KATHLEEN J.         ADDRESS ON FILE
BAEZ COLON, MARIA               ADDRESS ON FILE
BAEZ COLON, MARIA A             ADDRESS ON FILE
BAEZ COLON, MARIA E.            ADDRESS ON FILE
BAEZ COLON, MARIA L             ADDRESS ON FILE
BAEZ COLON, SONIA               ADDRESS ON FILE
BAEZ COLON, VIKMARY             ADDRESS ON FILE
BAEZ COLON, YARIVETTE           ADDRESS ON FILE
BAEZ CONCEPCION, CARMEN D       ADDRESS ON FILE
BAEZ CONCEPCION, CARMEN S.      ADDRESS ON FILE
BAEZ CONCEPCION, CHRISTIAN J.   ADDRESS ON FILE
BAEZ CONCEPCION, JANETTE        ADDRESS ON FILE
BAEZ CONCEPCION, LUIS           ADDRESS ON FILE
BAEZ CONCEPCION, MIGUEL A       ADDRESS ON FILE
BAEZ CONCEPCION, SAMUEL         ADDRESS ON FILE
BAEZ CONCEPCION, VILMARY L      ADDRESS ON FILE
Baez Cordero, Holvin            ADDRESS ON FILE
BAEZ CORDERO, IRMA Z            ADDRESS ON FILE
BAEZ CORDERO, JOANIE            ADDRESS ON FILE
BAEZ CORDERO, JOSE L            ADDRESS ON FILE
BAEZ CORDERO, LILLIAM           ADDRESS ON FILE
BAEZ CORDERO, LILLIAM           ADDRESS ON FILE
BAEZ CORDOVA, WILFREDO          ADDRESS ON FILE
BAEZ CORIANO, LUZ S             ADDRESS ON FILE
BAEZ CORREA, JOSE M.            ADDRESS ON FILE
BAEZ CORREA, LINDA A            ADDRESS ON FILE
BAEZ CORTES, DAVID              ADDRESS ON FILE
BAEZ CORTES, JOSE               ADDRESS ON FILE
BAEZ CORUJO, FERNANDO           ADDRESS ON FILE
BAEZ COSME, JOSE                ADDRESS ON FILE
Baez Cosme, Luis A              ADDRESS ON FILE
BAEZ COSME, MARIA URSULA        ADDRESS ON FILE
BAEZ COSME, ZAVIER              ADDRESS ON FILE
BAEZ COTTO, CARLOS A.           ADDRESS ON FILE
BAEZ COTTO, GLADYBEL            ADDRESS ON FILE
BAEZ COTTO, ISIDRO              ADDRESS ON FILE
BAEZ COTTO, JOAQUIN             ADDRESS ON FILE
BAEZ COTTO, MARIA               ADDRESS ON FILE
BAEZ COTTO, MARIA M             ADDRESS ON FILE
BAEZ COTTO, MYRNA I.            ADDRESS ON FILE
BAEZ COTTO, YARITZA             ADDRESS ON FILE
BAEZ COTTO, ZULMA               ADDRESS ON FILE
BAEZ CRESPO, ALEXA              ADDRESS ON FILE
BAEZ CRESPO, KATHERINE          ADDRESS ON FILE
BAEZ CRESPO, WILFREDO           ADDRESS ON FILE
BAEZ CRUZ, ALEXANDRA L          ADDRESS ON FILE
BAEZ CRUZ, ANIBAL               ADDRESS ON FILE
BAEZ CRUZ, BENJAMIN             ADDRESS ON FILE
BAEZ CRUZ, CARMEN               ADDRESS ON FILE
BAEZ CRUZ, CARMEN               ADDRESS ON FILE
BAEZ CRUZ, CONCEPCION           ADDRESS ON FILE
BAEZ CRUZ, DENNIS J             ADDRESS ON FILE




                                                                            Page 709 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 710 of 3500
                                                                                     Creditor Matrix

Creditor Name                 Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
BAEZ CRUZ, EUCLIDES           ADDRESS ON FILE
BAEZ CRUZ, FRANCHESKA         ADDRESS ON FILE
BAEZ CRUZ, JACKELINE          ADDRESS ON FILE
Baez Cruz, Javier             ADDRESS ON FILE
BAEZ CRUZ, JOHNNY             ADDRESS ON FILE
Baez Cruz, Jose L             ADDRESS ON FILE
BAEZ CRUZ, JUAN               ADDRESS ON FILE
BAEZ CRUZ, JULIO              ADDRESS ON FILE
BAEZ CRUZ, MIGUEL A           ADDRESS ON FILE
BAEZ CRUZ, NILDA I            ADDRESS ON FILE
BAEZ CRUZ, NILDA IVELISSE     ADDRESS ON FILE
BAEZ CRUZ, SANDRA L.          ADDRESS ON FILE
BAEZ CUBILLE, CARLOS          ADDRESS ON FILE
BAEZ CUEVAS, LILLIAM          ADDRESS ON FILE
BAEZ CUEVAS, LUIS F.          ADDRESS ON FILE
BAEZ CUPELES, ALICE M         ADDRESS ON FILE
BAEZ DAVID, LUZ D.            ADDRESS ON FILE
BAEZ DE ALVAREZ, ROSA A.      ADDRESS ON FILE
BAEZ DE JESUS, CLARIXSA       ADDRESS ON FILE
BAEZ DE JESUS, DANILO         ADDRESS ON FILE
BAEZ DE JESUS, FRANCES L      ADDRESS ON FILE
BAEZ DE JESUS, JOSE           ADDRESS ON FILE
BAEZ DE JESUS, JOSE ALFREDO   ADDRESS ON FILE
BAEZ DE JESUS, LIZBETH        ADDRESS ON FILE
BAEZ DE JESUS, MARIBEL        ADDRESS ON FILE
BAEZ DE JESUS, MARIELA        ADDRESS ON FILE
Baez De Jesus, Mariluz        ADDRESS ON FILE
BAEZ DE JESUS, MARILUZ        ADDRESS ON FILE
BAEZ DE JESUS, MARY A         ADDRESS ON FILE
Baez De Jesus, Neftali        ADDRESS ON FILE
BÁEZ DE JESÚS, NEFTALÍ        FERNANDO SANTIAGO ORTIZ   1 MANSIONES DE SAN MARTIN STE 17                                SAN JUAN     PR      00924
BÁEZ DE JESÚS, NEFTALÍ        JOSE F. AVILES LAMBERTY   1 MANSIONES DE SAN MARTIN STE 17                                SAN JUAN     PR      00924
BAEZ DE JESUS, NEFTALI        ADDRESS ON FILE
BAEZ DE LEON, EVELYN J        ADDRESS ON FILE
BAEZ DE LEON, KELVIN          ADDRESS ON FILE
BAEZ DE LEON, KERIA           ADDRESS ON FILE
BAEZ DE MONTILLA MD, SARA     ADDRESS ON FILE
BAEZ DE PENA, BERTA           ADDRESS ON FILE
BAEZ DEGRO,TAMARA C.          ADDRESS ON FILE
BAEZ DEJESUS, DANIEL          ADDRESS ON FILE
BAEZ DEJESUS, JUAN            ADDRESS ON FILE
BAEZ DEL TORO, XIOMARA Y      ADDRESS ON FILE
BAEZ DELGADO, EZEQUIEL        ADDRESS ON FILE
BAEZ DELGADO, JESUS           ADDRESS ON FILE
BAEZ DELGADO, ORLANDO J.      ADDRESS ON FILE
BAEZ DIAZ FRANCHESKA          ADDRESS ON FILE
BAEZ DIAZ MD, LUIS            ADDRESS ON FILE
BAEZ DIAZ MD, LUIS            ADDRESS ON FILE
BAEZ DIAZ MD, LUIS            ADDRESS ON FILE
Baez Diaz, Benita             ADDRESS ON FILE
BAEZ DIAZ, CARMEN J           ADDRESS ON FILE
BAEZ DIAZ, DEBORAH            ADDRESS ON FILE
Baez Diaz, Elba I.            ADDRESS ON FILE
Baez Diaz, Ernesto            ADDRESS ON FILE
BAEZ DIAZ, EVELYN             ADDRESS ON FILE
BAEZ DIAZ, LEYLANIE           ADDRESS ON FILE
BAEZ DIAZ, LUCIA M.           ADDRESS ON FILE
BAEZ DIAZ, LUZ C              ADDRESS ON FILE
BAEZ DIAZ, MIGUEL             ADDRESS ON FILE
BAEZ DIAZ, MODESTO            ADDRESS ON FILE




                                                                                    Page 710 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 711 of 3500
                                                                                               Creditor Matrix

Creditor Name               Address1                                  Address2                              Address3   Address4   City         State   PostalCode   Country
BAEZ DIAZ, RAUL             ADDRESS ON FILE
BAEZ DIAZ, SONIA            ADDRESS ON FILE
BAEZ DIAZ, SULEIKA          ADDRESS ON FILE
BAEZ DIAZ, WANDA I          ADDRESS ON FILE
BAEZ DIAZ, YARINETTE        ADDRESS ON FILE
BAEZ DIAZ, YOLANDA          ADDRESS ON FILE
BAEZ DIXON, BARBARA         ADDRESS ON FILE
BAEZ DONA, FERNANDO         ADDRESS ON FILE
BAEZ DONES, KEISHLA         ADDRESS ON FILE
BAEZ DONES, YAZAIRA         ADDRESS ON FILE
BAEZ DUPREY, MELISSA        ADDRESS ON FILE
BAEZ ECHEVARRIA, ARIEL      ADDRESS ON FILE
BAEZ ECHEVARRIA, HARRY      ADDRESS ON FILE
BAEZ ECHEVARRIA, JOCELYN    ADDRESS ON FILE
BAEZ ECHEVARRIA, MARIA M    ADDRESS ON FILE
BAEZ ELIZA, ANEURY          ADDRESS ON FILE
BAEZ ESCRIBANO, JOSE        ADDRESS ON FILE
BAEZ ESCRIBANO, JOSE M      ADDRESS ON FILE
BAEZ ESCRIBANO, JOSE M.     ADDRESS ON FILE
BAEZ ESPADA, JOSE           ADDRESS ON FILE
BAEZ ESQUERDO, MARIA        ADDRESS ON FILE
BAEZ ESQUILIN, LILLIAN      ADDRESS ON FILE
BAEZ ESQUILIN, MARYLIN      ADDRESS ON FILE
BAEZ ESTRADA, FELIX         ADDRESS ON FILE
BAEZ ESTRADA, LUIS          ADDRESS ON FILE
BAEZ FALCON, ALEIDA         ADDRESS ON FILE
BAEZ FAMILIA, ANA V         ADDRESS ON FILE
BAEZ FEBLES, MARICELIS      ADDRESS ON FILE
BAEZ FEBRES, YAHICHA L      ADDRESS ON FILE
BAEZ FEBUS, LIZA            ADDRESS ON FILE
Baez Febus, Robin           ADDRESS ON FILE
BAEZ FELICIANO, CARMEN D.   ADDRESS ON FILE
BAEZ FELICIANO, DORIS V     ADDRESS ON FILE
BAEZ FELICIANO, DORISABEL   ADDRESS ON FILE
BAEZ FELICIANO, GAMALIEL    ADDRESS ON FILE
BAEZ FELICIANO, MOISES I    ADDRESS ON FILE
BAEZ FELICIANO, SONIA       ADDRESS ON FILE
BAEZ FELICIANO, TAMARIS     ADDRESS ON FILE
BAEZ FELIX, IRESA           ADDRESS ON FILE
BAEZ FELIX, OBDULIA         ADDRESS ON FILE
BAEZ FELIX, VIVIAN          ADDRESS ON FILE
BAEZ FERMIN, BRYAN          ADDRESS ON FILE
BAEZ FERNANDEZ, AWILDA      ADDRESS ON FILE
BAEZ FERNANDEZ, EDUARDO     ADDRESS ON FILE
BAEZ FERNANDEZ, GERMAINE    ADDRESS ON FILE
BAEZ FERNANDEZ, HENRY I.    ADDRESS ON FILE
BAEZ FERNANDEZ, IRIS N.     ADDRESS ON FILE
BAEZ FERNANDEZ, IRIS N.     ADDRESS ON FILE
Baez Ferrer, Manuel A       ADDRESS ON FILE
BAEZ FIGUEROA SAMMY         DEMANDANTE: LCDO. JULIO GIL DE LA MADRID DEMANDANTE: REPARTO ALHAMBRA A‐11 CALLE GRANADA              Bayamón      PR      00957
BAEZ FIGUEROA SAMMY         DEMANDANTE: LCDO. JULIO GIL DE LA MADRID; ELA POR LA ASEGURADORA: PO BOX 364966                       SAN JUAN     PR      00936‐4966
BAEZ FIGUEROA, AWILDA       ADDRESS ON FILE
BAEZ FIGUEROA, DEIAM        ADDRESS ON FILE
BAEZ FIGUEROA, GERARDA      ADDRESS ON FILE
BAEZ FIGUEROA, GLADYS       ADDRESS ON FILE
Baez Figueroa, Juan         ADDRESS ON FILE
BAEZ FIGUEROA, JUAN         ADDRESS ON FILE
BAEZ FIGUEROA, LUIS         ADDRESS ON FILE
BAEZ FIGUEROA, LUIS         ADDRESS ON FILE
BAEZ FIGUEROA, MARIA D      ADDRESS ON FILE




                                                                                              Page 711 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 712 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ FIGUEROA, NORA H           ADDRESS ON FILE
BAEZ FIGUEROA, OLGA I           ADDRESS ON FILE
BAEZ FIGUEROA, RAMON L          ADDRESS ON FILE
BAEZ FIGUEROA, TERESA DE J.     ADDRESS ON FILE
BAEZ FLORES, JUDITH             ADDRESS ON FILE
Baez Flores, Luis               ADDRESS ON FILE
BAEZ FLORES, NANCY              ADDRESS ON FILE
BAEZ FLORES, SERGIO             ADDRESS ON FILE
BAEZ FLORES, SONIA M            ADDRESS ON FILE
BAEZ FONSECA, MIOSOTIS          ADDRESS ON FILE
BAEZ FONSECA, NILDA             ADDRESS ON FILE
BAEZ FONSECA, ROSA              ADDRESS ON FILE
BAEZ FONTANEZ, CARMEN I         ADDRESS ON FILE
BAEZ FORTIS, RAMON              ADDRESS ON FILE
BAEZ FRANCESCHI MD, DAISY       ADDRESS ON FILE
BAEZ FRANCESCHI, DAISY          ADDRESS ON FILE
BAEZ FRANCO, ANGEL              ADDRESS ON FILE
BAEZ FRANCO, MARIA L            ADDRESS ON FILE
BAEZ FRED, DENIS G.             ADDRESS ON FILE
BAEZ FRED, LIZ                  ADDRESS ON FILE
BAEZ FUENTES, CHRISTIAN         ADDRESS ON FILE
BAEZ FUENTES, JOHJAN            ADDRESS ON FILE
BAEZ FUENTES, PEDRO L           ADDRESS ON FILE
BAEZ FUENTES, VICTOR            ADDRESS ON FILE
BAEZ FUENTES,DALIA              ADDRESS ON FILE
BAEZ GALIB, EUDALDO             ADDRESS ON FILE
BAEZ GALLEGOS, KATHERINE        ADDRESS ON FILE
BAEZ GARCIA, ANIBAL             ADDRESS ON FILE
BAEZ GARCIA, ANIBAL             ADDRESS ON FILE
Baez Garcia, Anibal De Jesus    ADDRESS ON FILE
BAEZ GARCIA, CARLOS             ADDRESS ON FILE
BAEZ GARCIA, CARLOS A.          ADDRESS ON FILE
BAEZ GARCIA, EDGARDO J          ADDRESS ON FILE
BAEZ GARCIA, EILEEN             ADDRESS ON FILE
BAEZ GARCIA, FRANCISCO          ADDRESS ON FILE
Baez Garcia, Freddy             ADDRESS ON FILE
BAEZ GARCIA, GABRIEL            ADDRESS ON FILE
BAEZ GARCIA, GLENDA L           ADDRESS ON FILE
BAEZ GARCIA, ILEANA             ADDRESS ON FILE
BAEZ GARCIA, IVETTE             ADDRESS ON FILE
BAEZ GARCIA, JESUS              ADDRESS ON FILE
BAEZ GARCIA, JOSE A             ADDRESS ON FILE
BAEZ GARCIA, JOSE JAVIER        ADDRESS ON FILE
BAEZ GARCIA, LISA               ADDRESS ON FILE
BAEZ GARCIA, MARIA DEL CARMEN   ADDRESS ON FILE
BAEZ GARCIA, MARISELA           ADDRESS ON FILE
BAEZ GARCIA, MARITZA            ADDRESS ON FILE
Baez Garcia, Mayra              ADDRESS ON FILE
BAEZ GARCIA, MELVIN             ADDRESS ON FILE
BAEZ GARCIA, SERGIO             ADDRESS ON FILE
BAEZ GARCIA, SERGIO             ADDRESS ON FILE
BAEZ GARCIA, SHARON             ADDRESS ON FILE
BAEZ GARCIA, SHARON I.          ADDRESS ON FILE
BAEZ GARCIA, VICTOR             ADDRESS ON FILE
Baez Garcia, Wilfredo           ADDRESS ON FILE
BAEZ GARCIA, YAHAIRA            ADDRESS ON FILE
BAEZ GARCIA, YOLANDA            ADDRESS ON FILE
BAEZ GODINEZ, ENRIQUE           ADDRESS ON FILE
BAEZ GOMEZ, MERARIS             ADDRESS ON FILE
BAEZ GOMEZ, VALERIE             ADDRESS ON FILE




                                                                            Page 712 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 713 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ GONZALEZ, ADLIN L.       ADDRESS ON FILE
BAEZ GONZALEZ, ALEXIS         ADDRESS ON FILE
BAEZ GONZALEZ, ANGEL          ADDRESS ON FILE
BAEZ GONZALEZ, CARLOS         ADDRESS ON FILE
BAEZ GONZALEZ, CARLOS         ADDRESS ON FILE
BAEZ GONZALEZ, CARMEN         ADDRESS ON FILE
BAEZ GONZALEZ, DAVID          ADDRESS ON FILE
BAEZ GONZALEZ, DEBORAH        ADDRESS ON FILE
BAEZ GONZALEZ, EDITH          ADDRESS ON FILE
BAEZ GONZALEZ, EDZIA          ADDRESS ON FILE
Baez Gonzalez, Enrique        ADDRESS ON FILE
BAEZ GONZALEZ, FRANCISCO      ADDRESS ON FILE
BAEZ GONZALEZ, HECTOR         ADDRESS ON FILE
BAEZ GONZALEZ, JUAN A         ADDRESS ON FILE
BAEZ GONZALEZ, LOUIS          ADDRESS ON FILE
BAEZ GONZALEZ, LUIS           ADDRESS ON FILE
BAEZ GONZALEZ, MANUEL         ADDRESS ON FILE
BAEZ GONZALEZ, MARIA          ADDRESS ON FILE
BAEZ GONZALEZ, MARIA L        ADDRESS ON FILE
BAEZ GONZALEZ, MILDRED S      ADDRESS ON FILE
BAEZ GONZALEZ, PEDRO          ADDRESS ON FILE
BAEZ GONZALEZ, ROBERT         ADDRESS ON FILE
BAEZ GONZALEZ, SIRIS I        ADDRESS ON FILE
BAEZ GONZALEZ, SIRIS I        ADDRESS ON FILE
BAEZ GONZALEZ, SIRIS I.       ADDRESS ON FILE
BAEZ GONZALEZ, VIVIAN         ADDRESS ON FILE
BAEZ GORRITZ, JOSE R.         ADDRESS ON FILE
BAEZ GOVEO, ANGEL             ADDRESS ON FILE
BAEZ GREGORY, WALTER          ADDRESS ON FILE
BAEZ GUADALUPE, JUAN          ADDRESS ON FILE
BAEZ GUADALUPE, JUAN          ADDRESS ON FILE
BAEZ GUERRA, EILEEN           ADDRESS ON FILE
Baez Guerra, Juan M           ADDRESS ON FILE
BAEZ GUERRA, MICHELLE         ADDRESS ON FILE
BAEZ GUTIERREZ, FELIPE        ADDRESS ON FILE
BAEZ GUTIERREZ, LOURDES M     ADDRESS ON FILE
BAEZ GUZMAN, ANA R.           ADDRESS ON FILE
BAEZ GUZMAN, ANA R.           ADDRESS ON FILE
BAEZ GUZMAN, EDWIN            ADDRESS ON FILE
BAEZ GUZMAN, ELSA             ADDRESS ON FILE
BAEZ GUZMAN, FELIX            ADDRESS ON FILE
BAEZ GUZMAN, GLENDA           ADDRESS ON FILE
BAEZ GUZMAN, JAIME            ADDRESS ON FILE
BAEZ GUZMAN, JOSE             ADDRESS ON FILE
BAEZ GUZMAN, NORMA I.         ADDRESS ON FILE
BAEZ GUZMAN, ROGELIA B        ADDRESS ON FILE
BAEZ GUZMAN, WILFREDO         ADDRESS ON FILE
BAEZ GUZMAN, WILLIAM          ADDRESS ON FILE
BAEZ HERNANDEZ MD, VIRGEN M   ADDRESS ON FILE
BAEZ HERNANDEZ, ALEX          ADDRESS ON FILE
BAEZ HERNANDEZ, ANA L         ADDRESS ON FILE
BAEZ HERNANDEZ, ANTONIO       ADDRESS ON FILE
BAEZ HERNANDEZ, BEVERLY       ADDRESS ON FILE
BAEZ HERNANDEZ, CARLOS        ADDRESS ON FILE
BAEZ HERNANDEZ, CHRISTIAN     ADDRESS ON FILE
BAEZ HERNANDEZ, EFREN         ADDRESS ON FILE
BAEZ HERNANDEZ, ELIZABETH     ADDRESS ON FILE
BAEZ HERNANDEZ, FRANK         ADDRESS ON FILE
BAEZ HERNANDEZ, FRANK         ADDRESS ON FILE
BAEZ HERNANDEZ, GIAN E        ADDRESS ON FILE




                                                                          Page 713 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 714 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                    Address2                      Address3   Address4    City         State   PostalCode   Country
BAEZ HERNANDEZ, IRAIDA        ADDRESS ON FILE
BAEZ HERNANDEZ, IVETTE        ADDRESS ON FILE
BAEZ HERNANDEZ, KELVIN        ADDRESS ON FILE
BAEZ HERNANDEZ, LORNA G       ADDRESS ON FILE
BAEZ HERNANDEZ, LOUIS         ADDRESS ON FILE
BAEZ HERNANDEZ, LUIS A        ADDRESS ON FILE
BAEZ HERNANDEZ, MARIA DE L    ADDRESS ON FILE
BAEZ HERNANDEZ, MARIA L       ADDRESS ON FILE
BAEZ HERNANDEZ, NESTOR E      ADDRESS ON FILE
BAEZ HERNANDEZ, RAFAEL        ADDRESS ON FILE
BAEZ HERNANDEZ, RUTH          ADDRESS ON FILE
BAEZ HERNANDEZ, SAMUEL        ADDRESS ON FILE
BAEZ HERNANDEZ, SANDRA        ADDRESS ON FILE
BAEZ HERNANDEZ, SOL A.        ADDRESS ON FILE
BAEZ HERNANDEZ, SONI A        ADDRESS ON FILE
BAEZ HERNANDEZ, WILLIAM       ADDRESS ON FILE
BAEZ HERNANDEZ, YOLANDA       ADDRESS ON FILE
BAEZ IRIZARRY, ANA            ADDRESS ON FILE
BAEZ IRIZARRY, ANIBAL C.      ADDRESS ON FILE
Baez Irizarry, Antonio        ADDRESS ON FILE
BAEZ IRIZARRY, DAMARIS        ADDRESS ON FILE
BAEZ IRIZARRY, EDWIN          ADDRESS ON FILE
BAEZ IRIZARRY, ERIC           ADDRESS ON FILE
BAEZ IRIZARRY, EVA            ADDRESS ON FILE
Baez Irizarry, Hector         ADDRESS ON FILE
BAEZ IRIZARRY, HECTOR         ADDRESS ON FILE
BAEZ IRIZARRY, JAIME          ADDRESS ON FILE
BAEZ IRIZARRY, MIRTA I        ADDRESS ON FILE
BAEZ IRIZARRY, NANCY          ADDRESS ON FILE
BAEZ IRIZARRY, ORLANDO        ADDRESS ON FILE
BAEZ IRIZARRY, YOLANDA        ADDRESS ON FILE
BAEZ IRON WORKS INC           HC 8 BOX 859                                                                     PONCE        PR      00731
BAEZ IZQUIERDO, JOSE D        ADDRESS ON FILE
BAEZ JIMENEZ, ADRIAN          ADDRESS ON FILE
BAEZ JIMENEZ, DAVID           ADDRESS ON FILE
BAEZ JIMENEZ, GUADALUPE       ADDRESS ON FILE
BAEZ JIMENEZ, JOSE            ADDRESS ON FILE
BAEZ JIMENEZ, WILLIAM         ADDRESS ON FILE
BAEZ JORDAN, DORCA N          ADDRESS ON FILE
BAEZ JUSINO, ANA L            ADDRESS ON FILE
BAEZ JUSINO, EDNA             ADDRESS ON FILE
BAEZ JUSINO, JIMMY            ADDRESS ON FILE
BAEZ JUSINO, MARIA M          ADDRESS ON FILE
BAEZ JUSINO, YOVANNA          ADDRESS ON FILE
BAEZ KUILAN, JAIME            ADDRESS ON FILE
BAEZ LABARCA, ANGEL           ADDRESS ON FILE
BAEZ LAGUNA, ROBERTO          ADDRESS ON FILE
BAEZ LAMPON, AUREA I          ADDRESS ON FILE
BAEZ LAMPON, CARMELO          ADDRESS ON FILE
BAEZ LAMPON, MARITZA IVETTE   ADDRESS ON FILE
BAEZ LAMPON, WANDA L          ADDRESS ON FILE
BAEZ LAMPON, WILLIAM          ADDRESS ON FILE
BAEZ LANZA, ANGEL             ADDRESS ON FILE
BAEZ LANZA, LAURA             ADDRESS ON FILE
BAEZ LANZA, MIGUEL A.         ADDRESS ON FILE
BAEZ LARACUENTE, NANCY        ADDRESS ON FILE
BAEZ LAUREANO ANGEL           LCDO. JESÚS JIMÉNEZ RUBIO   APARTADO 3025                                        GUAYAMA      PR      00785
BAEZ LEBRON, MARIBEL          ADDRESS ON FILE
BAEZ LEBRON, ROSA             ADDRESS ON FILE
Baez Lebron, Wilfredo         ADDRESS ON FILE




                                                                          Page 714 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 715 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ LENDOR, HERIBERTO      ADDRESS ON FILE
BAEZ LENDOR, REINANGELICA   ADDRESS ON FILE
BAEZ LEON, FERNANDO L.      ADDRESS ON FILE
BAEZ LEON, SHEILA AIXA      ADDRESS ON FILE
BAEZ LEON, YANITZA          ADDRESS ON FILE
BAEZ LIBRAN, JOSE A         ADDRESS ON FILE
BAEZ LIBRAN, JOSE A.        ADDRESS ON FILE
BAEZ LINARES, ELIEL         ADDRESS ON FILE
BAEZ LLANOS, MYRIAM         ADDRESS ON FILE
BAEZ LLERA, EDWIN           ADDRESS ON FILE
BAEZ LLERA, JOSE O.         ADDRESS ON FILE
BAEZ LOPEZ, ALLEINE         ADDRESS ON FILE
BAEZ LOPEZ, BETZAIDA        ADDRESS ON FILE
BAEZ LOPEZ, CELY M          ADDRESS ON FILE
BAEZ LOPEZ, DAILY           ADDRESS ON FILE
BAEZ LOPEZ, ELBA            ADDRESS ON FILE
BAEZ LOPEZ, EMMA I.         ADDRESS ON FILE
BAEZ LOPEZ, FELIX           ADDRESS ON FILE
BAEZ LOPEZ, JANET           ADDRESS ON FILE
BAEZ LOPEZ, JORGE L.        ADDRESS ON FILE
BAEZ LOPEZ, JORGE L.        ADDRESS ON FILE
BAEZ LOPEZ, JOSE            ADDRESS ON FILE
BAEZ LOPEZ, JULIO           ADDRESS ON FILE
BAEZ LOPEZ, LUZ             ADDRESS ON FILE
BAEZ LOPEZ, MAIRIM          ADDRESS ON FILE
Baez Lopez, Mairim D        ADDRESS ON FILE
BAEZ LOPEZ, MARGIE          ADDRESS ON FILE
BAEZ LOPEZ, MARGIE          ADDRESS ON FILE
BAEZ LOPEZ, MARICELIS       ADDRESS ON FILE
BAEZ LOPEZ, ROBERTO         ADDRESS ON FILE
BAEZ LOPEZ, SHERLEY         ADDRESS ON FILE
Baez Luciano, Jorge L       ADDRESS ON FILE
BAEZ LUCIANO, PEDRO         ADDRESS ON FILE
BAEZ LUGO RAFAEL            ADDRESS ON FILE
BAEZ LUGO, DANNY            ADDRESS ON FILE
BAEZ LUGO, EDRICK           ADDRESS ON FILE
BAEZ LUGO, ILIA Y           ADDRESS ON FILE
BAEZ LUGO, KENIA E          ADDRESS ON FILE
BAEZ LUGO, LUIS             ADDRESS ON FILE
BAEZ LUGO, MARISOL          ADDRESS ON FILE
Baez Lugo, Waleska          ADDRESS ON FILE
BAEZ LUYANDA, MARIA L       ADDRESS ON FILE
BAEZ MALAVE, ALEXIS         ADDRESS ON FILE
BAEZ MALDONADO, ANA L       ADDRESS ON FILE
BAEZ MALDONADO, ANTONIO     ADDRESS ON FILE
Baez Maldonado, Dennis      ADDRESS ON FILE
BAEZ MALDONADO, GRISELIA    ADDRESS ON FILE
BAEZ MALDONADO, RAYMOND     ADDRESS ON FILE
BAEZ MALDONADO, SYLVIA      ADDRESS ON FILE
BAEZ MALDONADO, WILFREDO    ADDRESS ON FILE
BAEZ MANZANO, MARIA LUISA   ADDRESS ON FILE
BAEZ MARCANO, ENRIQUETA     ADDRESS ON FILE
BAEZ MARCIAL, EVELYN        ADDRESS ON FILE
BAEZ MARIN, CARLOS          ADDRESS ON FILE
BAEZ MARINO, NARCISA        ADDRESS ON FILE
BAEZ MARQUEZ, ABELARDO      ADDRESS ON FILE
BAEZ MARQUEZ, IRIS Z        ADDRESS ON FILE
BAEZ MARQUEZ, JOSE RAMON    ADDRESS ON FILE
BAEZ MARQUEZ, MILDRED       ADDRESS ON FILE
BAEZ MARRERO, JOSE M.       ADDRESS ON FILE




                                                                        Page 715 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 716 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ MARRERO, LIBERTAD           ADDRESS ON FILE
BAEZ MARRERO, MARIA E            ADDRESS ON FILE
BAEZ MARRERO, MARITZA            ADDRESS ON FILE
BAEZ MARRERO, RAIZA              ADDRESS ON FILE
BAEZ MARTINEZ, ALEJANDRO         ADDRESS ON FILE
BAEZ MARTINEZ, AMARILYS          ADDRESS ON FILE
BAEZ MARTINEZ, ANGEL             ADDRESS ON FILE
BAEZ MARTINEZ, CARMEN            ADDRESS ON FILE
BAEZ MARTINEZ, CARMEN            ADDRESS ON FILE
BAEZ MARTINEZ, CARMEN V          ADDRESS ON FILE
BAEZ MARTINEZ, CARMEN Y          ADDRESS ON FILE
BAEZ MARTINEZ, CORAL M           ADDRESS ON FILE
BAEZ MARTINEZ, ELEANOR           ADDRESS ON FILE
BAEZ MARTINEZ, HERIBERTO         ADDRESS ON FILE
BAEZ MARTINEZ, JOSE              ADDRESS ON FILE
Baez Martinez, Jose A.           ADDRESS ON FILE
BAEZ MARTINEZ, JOSE E.           ADDRESS ON FILE
BAEZ MARTINEZ, LEONARDO          ADDRESS ON FILE
BAEZ MARTINEZ, MARGARITA         ADDRESS ON FILE
BAEZ MARTINEZ, MARIA DE LOS A.   ADDRESS ON FILE
BAEZ MARTINEZ, MARIA DEL C       ADDRESS ON FILE
BAEZ MARTINEZ, MARIAM            ADDRESS ON FILE
BAEZ MARTINEZ, MELVIN            ADDRESS ON FILE
BAEZ MARTINEZ, OMAR              ADDRESS ON FILE
BAEZ MARTINEZ, ROSA              ADDRESS ON FILE
BAEZ MARTINEZ, ZAIDA V           ADDRESS ON FILE
BAEZ MATIAS, OLGA                ADDRESS ON FILE
BAEZ MATOS MD, FRANKIE           ADDRESS ON FILE
BAEZ MATOS, FRANKIE              ADDRESS ON FILE
BAEZ MATOS, MARELYN              ADDRESS ON FILE
BAEZ MAURAS, VICTOR H.           ADDRESS ON FILE
BAEZ MAYSONET, MILDRED           ADDRESS ON FILE
BAEZ MEDINA, ERNESTO             ADDRESS ON FILE
BAEZ MEDINA, FRANCES             ADDRESS ON FILE
BAEZ MEDINA, KARELYN             ADDRESS ON FILE
BAEZ MEDINA, KARELYN             ADDRESS ON FILE
BAEZ MEDINA, LIZ                 ADDRESS ON FILE
Baez Medina, Pedro               ADDRESS ON FILE
BAEZ MEDINA, RICARDO             ADDRESS ON FILE
BAEZ MEDINA, SANTOS              ADDRESS ON FILE
Baez Medina, Shirley A.          ADDRESS ON FILE
BAEZ MELENDEZ, CARMEN            ADDRESS ON FILE
BAEZ MELENDEZ, EMILY             ADDRESS ON FILE
BAEZ MELENDEZ, JESSICA           ADDRESS ON FILE
BAEZ MELENDEZ, KARLA             ADDRESS ON FILE
BAEZ MELENDEZ, KATHYA A          ADDRESS ON FILE
BAEZ MELENDEZ, LORNA N           ADDRESS ON FILE
BAEZ MELENDEZ, PEDRO             ADDRESS ON FILE
BAEZ MELENDEZ, RAFAEL            ADDRESS ON FILE
BAEZ MELENDEZ, RAFAEL            ADDRESS ON FILE
BAEZ MELENDEZ, WILLIE            ADDRESS ON FILE
BAEZ MELENDEZ, WILMARIE          ADDRESS ON FILE
BAEZ MELENDEZ, YARALISE          ADDRESS ON FILE
BAEZ MENDEZ, ANGIE               ADDRESS ON FILE
BAEZ MENDEZ, CARMEN              ADDRESS ON FILE
Baez Mendez, Gilberto            ADDRESS ON FILE
BAEZ MENDEZ, JORGE L.            ADDRESS ON FILE
BAEZ MENDEZ, JOSE L              ADDRESS ON FILE
BAEZ MENDEZ, MILAGROS            ADDRESS ON FILE
BAEZ MENDEZ, OSCAR               ADDRESS ON FILE




                                                                             Page 716 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 717 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ MENDEZ, REGINO        ADDRESS ON FILE
BAEZ MENDEZ, ROSA          ADDRESS ON FILE
BAEZ MENDIZABAL, CARIDAD   ADDRESS ON FILE
BAEZ MERCADO, FELIX A      ADDRESS ON FILE
BAEZ MERCADO, JORGE E.     ADDRESS ON FILE
BAEZ MERCADO, RAFAEL E.    ADDRESS ON FILE
BAEZ MERCADO, ROSARIO E    ADDRESS ON FILE
BAEZ MERCED, ALEJANDRO     ADDRESS ON FILE
BAEZ MERCED, PRISCILLA     ADDRESS ON FILE
BAEZ MERCED, SILVINA       ADDRESS ON FILE
BAEZ MILAN, MARIA          ADDRESS ON FILE
BAEZ MILAN, NELSON A       ADDRESS ON FILE
BAEZ MILLAN, JAIME         ADDRESS ON FILE
BAEZ MILLAN, ORLANDO       ADDRESS ON FILE
BAEZ MILLET, KEIHLA        ADDRESS ON FILE
BAEZ MIRANDA, BARBARITA    ADDRESS ON FILE
BAEZ MIRANDA, ERNESTO      ADDRESS ON FILE
BAEZ MIRANDA, JOSE         ADDRESS ON FILE
BAEZ MOJICA, DAVID         ADDRESS ON FILE
BAEZ MOJICA, LIZETTE       ADDRESS ON FILE
BAEZ MOLINA, EDWARD        ADDRESS ON FILE
BAEZ MOLINA, ESMERALDA     ADDRESS ON FILE
BAEZ MOLINA, PEDRO         ADDRESS ON FILE
BAEZ MOLINARI, JAVIER      ADDRESS ON FILE
BAEZ MONTALVO MD, EDWIN    ADDRESS ON FILE
BAEZ MONTALVO, MARIBEL     ADDRESS ON FILE
BAEZ MONTALVO, RAFAEL      ADDRESS ON FILE
BAEZ MONTANEZ, ALEXANDER   ADDRESS ON FILE
BAEZ MONTANEZ, ANA         ADDRESS ON FILE
BAEZ MONTANEZ, CARMEN      ADDRESS ON FILE
BAEZ MONTANEZ, CARMEN M    ADDRESS ON FILE
BAEZ MONTANEZ, EDUARDO     ADDRESS ON FILE
BAEZ MONTANEZ, JORGE A     ADDRESS ON FILE
BAEZ MONTANEZ, JUAN        ADDRESS ON FILE
BAEZ MONTANEZ, MARIA D     ADDRESS ON FILE
BAEZ MONTANEZ, MONSERATE   ADDRESS ON FILE
BAEZ MONTANEZ, ROSA M      ADDRESS ON FILE
BAEZ MORA, HECTOR          ADDRESS ON FILE
BAEZ MORA, NILDA           ADDRESS ON FILE
BAEZ MORALES, ADA L        ADDRESS ON FILE
BAEZ MORALES, AIDA N       ADDRESS ON FILE
BAEZ MORALES, CARLOS A     ADDRESS ON FILE
BAEZ MORALES, CARMEN N     ADDRESS ON FILE
BAEZ MORALES, DAVID        ADDRESS ON FILE
Baez Morales, Dennis       ADDRESS ON FILE
Baez Morales, Edgardo      ADDRESS ON FILE
BAEZ MORALES, GAMALIEL     ADDRESS ON FILE
BAEZ MORALES, JAVIER       ADDRESS ON FILE
BAEZ MORALES, JOHANNA      ADDRESS ON FILE
BAEZ MORALES, JOSE         ADDRESS ON FILE
BAEZ MORALES, JOSEPH       ADDRESS ON FILE
Baez Morales, Juan         ADDRESS ON FILE
BAEZ MORALES, JUAN         ADDRESS ON FILE
BAEZ MORALES, LICELIS      ADDRESS ON FILE
BAEZ MORALES, LUIS         ADDRESS ON FILE
BAEZ MORALES, ORLANDO      ADDRESS ON FILE
BAEZ MORALES, RAYMOND      ADDRESS ON FILE
BAEZ MORALES, WILMARIS     ADDRESS ON FILE
BAEZ MORALEZ, AIDA E       ADDRESS ON FILE
BAEZ MORENO, ALEXIS        ADDRESS ON FILE




                                                                       Page 717 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 718 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ MORENO, CARMEN M.      ADDRESS ON FILE
BAEZ MORENO, EDWIN          ADDRESS ON FILE
BAEZ MOROZ, IGOR            ADDRESS ON FILE
BAEZ MOYENO, ANTONIO M      ADDRESS ON FILE
Baez Moyeno, Jackeline      ADDRESS ON FILE
BAEZ MOYENO, JACKELINE      ADDRESS ON FILE
BAEZ MULERO, AURORA         ADDRESS ON FILE
Baez Muniz, Charles         ADDRESS ON FILE
BAEZ MUNIZ, NELLY           ADDRESS ON FILE
BAEZ MUNIZ, NIVEA E         ADDRESS ON FILE
BAEZ MUNOZ, CARLOS          ADDRESS ON FILE
BAEZ MUNOZ, LOURDES         ADDRESS ON FILE
BAEZ MURIEL, MARIA          ADDRESS ON FILE
BAEZ MURRIA, SHEILA         ADDRESS ON FILE
BAEZ MURRIA, VICTOR         ADDRESS ON FILE
BAEZ NARVAEZ MD, ZORAIDA    ADDRESS ON FILE
BAEZ NAVARRO, FELICITA      ADDRESS ON FILE
BAEZ NAVARRO, GILBERTO      ADDRESS ON FILE
BAEZ NAVARRO, HECTOR        ADDRESS ON FILE
BAEZ NAVARRO, JOSUE         ADDRESS ON FILE
BAEZ NAVARRO, LUIS          ADDRESS ON FILE
BAEZ NAVARRO, VICTORIA      ADDRESS ON FILE
BAEZ NAVARRO, VICTORIA E.   ADDRESS ON FILE
BAEZ NAZARIO, ELIZABETH     ADDRESS ON FILE
BAEZ NAZARIO, ZENAIDA       ADDRESS ON FILE
BAEZ NEGRON, ANGEL          ADDRESS ON FILE
BAEZ NEGRON, GLADYS         ADDRESS ON FILE
BAEZ NEGRON, HARRY          ADDRESS ON FILE
BAEZ NEGRON, ISMAEL         ADDRESS ON FILE
BAEZ NEGRON, JOSE           ADDRESS ON FILE
BAEZ NEGRON, MARIANNE       ADDRESS ON FILE
BAEZ NEGRON, ROSA M         ADDRESS ON FILE
BAEZ NEGRON, WANDA I        ADDRESS ON FILE
BAEZ NERIS, ARACELIS        ADDRESS ON FILE
BAEZ NERIS, ARACELIS        ADDRESS ON FILE
BAEZ NERIS, ELENA           ADDRESS ON FILE
BAEZ NERIS, JOSE            ADDRESS ON FILE
BAEZ NIEVES, ANDREA         ADDRESS ON FILE
BAEZ NIEVES, ANGEL          ADDRESS ON FILE
BAEZ NIEVES, ANGEL J        ADDRESS ON FILE
BAEZ NIEVES, CAROLYN        ADDRESS ON FILE
BAEZ NIEVES, DORYLEE        ADDRESS ON FILE
BAEZ NIEVES, ELIBER         ADDRESS ON FILE
BAEZ NIEVES, ELSIE MARLYN   ADDRESS ON FILE
BAEZ NIEVES, ERICK          ADDRESS ON FILE
Baez Nieves, Ivan A         ADDRESS ON FILE
Baez Nieves, Jorge          ADDRESS ON FILE
Baez Nieves, Juan E         ADDRESS ON FILE
Baez Nieves, Julio A        ADDRESS ON FILE
BAEZ NIEVES, LILLIAN        ADDRESS ON FILE
BAEZ NIEVES, LISA M         ADDRESS ON FILE
BAEZ NIEVES, LUIS           ADDRESS ON FILE
BAEZ NIEVES, MARGARITA      ADDRESS ON FILE
BAEZ NIEVES, MARIA S        ADDRESS ON FILE
BAEZ NIEVES, NORIS          ADDRESS ON FILE
BAEZ NIEVES, PEDRO J.       ADDRESS ON FILE
BAEZ NIEVES, SYLVIA I       ADDRESS ON FILE
BAEZ NIEVES, VIRGINIA       ADDRESS ON FILE
BAEZ NIEVES, WILLY          ADDRESS ON FILE
Baez Nieves, Zaida I        ADDRESS ON FILE




                                                                        Page 718 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 719 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City              State   PostalCode   Country
BAEZ OCACIO, AUREA                       ADDRESS ON FILE
BAEZ OCASIO, CARMEN M                    ADDRESS ON FILE
BAEZ OCASIO, JOSE M                      ADDRESS ON FILE
BAEZ OCASIO, LUIS ALBERTO                ADDRESS ON FILE
BAEZ OCASIO, MYRNA                       ADDRESS ON FILE
BAEZ OCASIO, MYRNA                       ADDRESS ON FILE
BAEZ OCASIO, NORMA L                     ADDRESS ON FILE
BAEZ OCASIO, ROLANDO                     ADDRESS ON FILE
BAEZ OCASIO, VIRGEN M                    ADDRESS ON FILE
BAEZ OGANDO, ANTONIA A                   ADDRESS ON FILE
BAEZ OLIVERAS, ANGEL                     ADDRESS ON FILE
BAEZ OQUENDO, NORMA                      ADDRESS ON FILE
BAEZ ORAMAS, ROSELEE                     ADDRESS ON FILE
BAEZ ORENGO, DANIEL                      ADDRESS ON FILE
BAEZ ORTEGA, BETSY                       ADDRESS ON FILE
BAEZ ORTEGA, BETSY D                     ADDRESS ON FILE
Baez Ortega, Vanessa                     ADDRESS ON FILE
BAEZ ORTEGA, VANESSA                     ADDRESS ON FILE
BAEZ ORTEGA, WENDY                       ADDRESS ON FILE
BAEZ ORTHOPEDICS & JOINT INSTITUTE PSC   PO BOX 1020                                                                      SABANA GRANDE     PR      00637
BAEZ ORTIZ, ALBA R                       ADDRESS ON FILE
BAEZ ORTIZ, ANABELL                      ADDRESS ON FILE
BAEZ ORTIZ, CARLINA                      ADDRESS ON FILE
BAEZ ORTIZ, CARMEN J                     ADDRESS ON FILE
BAEZ ORTIZ, CHELIMAR                     ADDRESS ON FILE
BAEZ ORTIZ, DAISY                        ADDRESS ON FILE
BAEZ ORTIZ, EIRA MARIE                   ADDRESS ON FILE
BAEZ ORTIZ, GROLANDY                     ADDRESS ON FILE
BAEZ ORTIZ, IVELISSE                     ADDRESS ON FILE
BAEZ ORTIZ, JOELLE                       ADDRESS ON FILE
BAEZ ORTIZ, JOSE M.                      ADDRESS ON FILE
BAEZ ORTIZ, LESTHER                      ADDRESS ON FILE
Baez Ortiz, Luis D                       ADDRESS ON FILE
Baez Ortiz, Miguel                       ADDRESS ON FILE
BAEZ ORTIZ, OSCAR                        ADDRESS ON FILE
BAEZ ORTIZ, SAUL                         ADDRESS ON FILE
Baez Ortiz, Teresa                       ADDRESS ON FILE
BAEZ ORTIZ, WANDA                        ADDRESS ON FILE
BAEZ OSORIO, EVELYN L.                   ADDRESS ON FILE
BAEZ OSORIO, MIGUEL A.                   ADDRESS ON FILE
Baez Otero, Ledvia Jannette              ADDRESS ON FILE
BAEZ OTERO, MILAGROS                     ADDRESS ON FILE
BAEZ OYOLA, ANA I                        ADDRESS ON FILE
BAEZ OYOLA, DAISY                        ADDRESS ON FILE
BAEZ OYOLA, MARIA M                      ADDRESS ON FILE
BAEZ OYOLA, VICTOR                       ADDRESS ON FILE
BAEZ OYOLA, WILBERTO                     ADDRESS ON FILE
BAEZ PACHECO, JAVIER A                   ADDRESS ON FILE
BAEZ PACHECO, LYDIA E                    ADDRESS ON FILE
BAEZ PACHECO, LYDIA E                    ADDRESS ON FILE
BAEZ PACHECO, WANDA IVETTE               ADDRESS ON FILE
BAEZ PADILLA, HENRY                      ADDRESS ON FILE
BAEZ PADILLA, LAURA E                    ADDRESS ON FILE
BAEZ PADILLA, RUTH E                     ADDRESS ON FILE
BAEZ PAGAN, ADEMARYS G                   ADDRESS ON FILE
BAEZ PAGAN, CARLOS                       ADDRESS ON FILE
BAEZ PAGAN, CARLOS M                     ADDRESS ON FILE
BAEZ PAGAN, CARMEN                       ADDRESS ON FILE
BAEZ PAGAN, DANIEL                       ADDRESS ON FILE
BAEZ PAGAN, DONNAYD                      ADDRESS ON FILE




                                                                                     Page 719 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 720 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ PAGAN, JORGE              ADDRESS ON FILE
BAEZ PAGAN, JORGE              ADDRESS ON FILE
BAEZ PAGAN, JORGE EMMANUELLE   ADDRESS ON FILE
Baez Pagan, Jose D             ADDRESS ON FILE
BAEZ PAGAN, MERALDO            ADDRESS ON FILE
BAEZ PAGAN, MERCEDES           ADDRESS ON FILE
BAEZ PAGAN, MERCEDES           ADDRESS ON FILE
BAEZ PAGAN, MILAGROS           ADDRESS ON FILE
BAEZ PAGAN, ZORAIDA            ADDRESS ON FILE
BAEZ PANCORBO, LORAINE         ADDRESS ON FILE
BAEZ PASTRANA, NELSON          ADDRESS ON FILE
BAEZ PAZ, ALBERTO              ADDRESS ON FILE
BAEZ PAZ, ALBERTO L            ADDRESS ON FILE
BAEZ PELEGRIN, MANUELA         ADDRESS ON FILE
BAEZ PENA MD, NESTOR           ADDRESS ON FILE
BAEZ PENA, NESTOR M.           ADDRESS ON FILE
BAEZ PERALTA, JUAN             ADDRESS ON FILE
BAEZ PEREZ, AGUSTIN            ADDRESS ON FILE
BAEZ PEREZ, ANA I              ADDRESS ON FILE
BAEZ PEREZ, ANA V              ADDRESS ON FILE
BAEZ PEREZ, CARLOS             ADDRESS ON FILE
BAEZ PEREZ, EFRAIN             ADDRESS ON FILE
BAEZ PEREZ, EILEEN             ADDRESS ON FILE
BAEZ PEREZ, ELBA               ADDRESS ON FILE
BAEZ PEREZ, ERIC               ADDRESS ON FILE
BAEZ PEREZ, GLORIA             ADDRESS ON FILE
BAEZ PEREZ, GRACELY M          ADDRESS ON FILE
BAEZ PEREZ, GUSTAVO            ADDRESS ON FILE
BAEZ PEREZ, ISRAEL             ADDRESS ON FILE
BAEZ PEREZ, JESSENIA           ADDRESS ON FILE
BAEZ PEREZ, JOHANNA            ADDRESS ON FILE
BAEZ PEREZ, JOSE               ADDRESS ON FILE
BAEZ PEREZ, JOSE G.            ADDRESS ON FILE
BAEZ PEREZ, JOSE L.            ADDRESS ON FILE
BAEZ PEREZ, KATIA              ADDRESS ON FILE
BAEZ PEREZ, MANUEL             ADDRESS ON FILE
BAEZ PEREZ, MARIENID           ADDRESS ON FILE
BAEZ PEREZ, MARIENID           ADDRESS ON FILE
BAEZ PEREZ, MARILUZ            ADDRESS ON FILE
BAEZ PEREZ, MARILUZ            ADDRESS ON FILE
BAEZ PEREZ, ORLANDO            ADDRESS ON FILE
BAEZ PEREZ, ORLANDO            ADDRESS ON FILE
BAEZ PEREZ, RAUL               ADDRESS ON FILE
BAEZ PEREZ, RAUL I             ADDRESS ON FILE
Baez Perez, Ricardo A.         ADDRESS ON FILE
BAEZ PEREZ, ROBERTO            ADDRESS ON FILE
BAEZ PEREZ, ROBERTO            ADDRESS ON FILE
BAEZ PEREZ, SARAI              ADDRESS ON FILE
BAEZ PEREZ, SARIS M            ADDRESS ON FILE
BAEZ PEREZ, SASHALEE           ADDRESS ON FILE
BAEZ PEREZ, SHIRLEY A          ADDRESS ON FILE
Baez Perez, Tonny              ADDRESS ON FILE
BAEZ PIMENTEL, CRISTINA        ADDRESS ON FILE
BAEZ PIMENTEL, FRANCIS J.      ADDRESS ON FILE
BAEZ PINTO, YOLANDA            ADDRESS ON FILE
BAEZ PINTOR, HECTOR            ADDRESS ON FILE
BAEZ PINTOR, RAMON             ADDRESS ON FILE
BAEZ PIZARRO, AUREALIS T.      ADDRESS ON FILE
BAEZ PIZARRO, REYNALDO         ADDRESS ON FILE
BAEZ PIZARRO, VICENTE          ADDRESS ON FILE




                                                                           Page 720 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 721 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Baez Polidura, Osvaldo             ADDRESS ON FILE
BAEZ POLIDURA, WANDA               ADDRESS ON FILE
BAEZ PONCE,KARLA M.                ADDRESS ON FILE
BAEZ PORTILLA, MELISSA             ADDRESS ON FILE
BAEZ PORTILLA, WALLACE             ADDRESS ON FILE
BAEZ PRIETO, CARID A               ADDRESS ON FILE
BAEZ PRIETO, LUZ                   ADDRESS ON FILE
BAEZ PUENTE, FERNANDO              ADDRESS ON FILE
BAEZ PURAS, RAFAEL                 ADDRESS ON FILE
BAEZ QUESADA, LUIS                 ADDRESS ON FILE
BAEZ QUILES, CLARIBEL              ADDRESS ON FILE
BAEZ QUIÑONES MD, PEDRO            ADDRESS ON FILE
BAEZ QUINONES, BIENVENIDO          ADDRESS ON FILE
BAEZ QUINONES, CARMEN              ADDRESS ON FILE
Baez Quinones, Francisco           ADDRESS ON FILE
BAEZ QUINONES, FRANK               ADDRESS ON FILE
BAEZ QUINONES, MYRAIDA             ADDRESS ON FILE
BAEZ QUINONES, NELSON              ADDRESS ON FILE
BAEZ QUINONES, NOELIA              ADDRESS ON FILE
BAEZ QUINONES, WILFREDO            ADDRESS ON FILE
BAEZ RAMIREZ, ANGEL                ADDRESS ON FILE
BAEZ RAMIREZ, DAVIDSON             ADDRESS ON FILE
BAEZ RAMIREZ, FABIOLA              ADDRESS ON FILE
BAEZ RAMIREZ, ITZA V.              ADDRESS ON FILE
BAEZ RAMIREZ, JOSE J               ADDRESS ON FILE
BAEZ RAMIREZ, KATIRIA              ADDRESS ON FILE
BAEZ RAMIREZ, ROSA                 ADDRESS ON FILE
BAEZ RAMIREZ, SONIA M              ADDRESS ON FILE
BAEZ RAMOS, CARMELO                ADDRESS ON FILE
BAEZ RAMOS, CECILIO                ADDRESS ON FILE
BAEZ RAMOS, DENIS M                ADDRESS ON FILE
BAEZ RAMOS, GRISEL                 ADDRESS ON FILE
BAEZ RAMOS, HILDA                  ADDRESS ON FILE
BAEZ RAMOS, HILDA                  ADDRESS ON FILE
BAEZ RAMOS, JAKIEL                 ADDRESS ON FILE
BAEZ RAMOS, JAVIER J               ADDRESS ON FILE
BAEZ RAMOS, JOSE R                 ADDRESS ON FILE
Baez Ramos, Karen E.               ADDRESS ON FILE
BAEZ RAMOS, KATTY W                ADDRESS ON FILE
BAEZ RAMOS, LENNY                  ADDRESS ON FILE
BAEZ RAMOS, LUIS                   ADDRESS ON FILE
BAEZ RAMOS, ORLANDO                ADDRESS ON FILE
Baez Ramos, Santiago               ADDRESS ON FILE
BAEZ RAMOS, WANDA                  ADDRESS ON FILE
BAEZ REMIGIO, ERIKA                ADDRESS ON FILE
BÁEZ REMIGIO, ERIKA                ADDRESS ON FILE
BAEZ REMIGIO, JEANETTE             ADDRESS ON FILE
BAEZ RESTO, JOSE R                 ADDRESS ON FILE
BAEZ RESTO, LUZ MARIA              ADDRESS ON FILE
BAEZ REYES, CARMEN N               ADDRESS ON FILE
BAEZ REYES, GLENDA L               ADDRESS ON FILE
BAEZ REYES, IRIS V                 ADDRESS ON FILE
BAEZ REYES, JOSE                   ADDRESS ON FILE
BAEZ REYES, JOSE A.                ADDRESS ON FILE
BAEZ REYES, LAURA                  ADDRESS ON FILE
BAEZ REYES, LAURA JUSTINA          ADDRESS ON FILE
BAEZ REYES, MARIA DE LOS ANGELES   ADDRESS ON FILE
BAEZ REYES, NICOLAS                ADDRESS ON FILE
BAEZ REYES, RICARDO                ADDRESS ON FILE
BAEZ REYES, WANDA I                ADDRESS ON FILE




                                                                               Page 721 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                             Exhibit A-1 - Creditor
                                                                 Case No.Matrix
                                                                         17 BK 3283‐LTSPage 722 of 3500
                                                                        Creditor Matrix

Creditor Name              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ REYES, YOLANDA        ADDRESS ON FILE
BAEZ RIOS MD, GILBERTO     ADDRESS ON FILE
BAEZ RIOS MD, MIGUEL       ADDRESS ON FILE
BAEZ RIOS, ALBERTO         ADDRESS ON FILE
BAEZ RIOS, ALBERTO         ADDRESS ON FILE
BAEZ RIOS, AMERICO         ADDRESS ON FILE
BAEZ RIOS, ANA I           ADDRESS ON FILE
BAEZ RIOS, CARMEN          ADDRESS ON FILE
BAEZ RIOS, CARMEN C        ADDRESS ON FILE
BAEZ RIOS, EDGARDO L       ADDRESS ON FILE
BAEZ RIOS, ELIUD           ADDRESS ON FILE
BAEZ RIOS, JORGE A         ADDRESS ON FILE
BAEZ RIOS, MARIA ISABEL    ADDRESS ON FILE
BAEZ RIOS, MARIBEL         ADDRESS ON FILE
BAEZ RIOS, MARISOL         ADDRESS ON FILE
BAEZ RIOS, MIGUEL          ADDRESS ON FILE
BAEZ RIVERA MD, EMILIO A   ADDRESS ON FILE
BAEZ RIVERA, ALEJANDRO     ADDRESS ON FILE
BAEZ RIVERA, ALEXANDRA     ADDRESS ON FILE
BAEZ RIVERA, ANGEL         ADDRESS ON FILE
BAEZ RIVERA, ANGEL         ADDRESS ON FILE
BAEZ RIVERA, ANGEL         ADDRESS ON FILE
BAEZ RIVERA, ASTRA K       ADDRESS ON FILE
BAEZ RIVERA, AUREA E.      ADDRESS ON FILE
BAEZ RIVERA, BETZAIDA      ADDRESS ON FILE
BAEZ RIVERA, BRENDA        ADDRESS ON FILE
BAEZ RIVERA, CARLOS        ADDRESS ON FILE
Baez Rivera, Carlos A      ADDRESS ON FILE
BAEZ RIVERA, CARLOS A.     ADDRESS ON FILE
Baez Rivera, Carlos J      ADDRESS ON FILE
BAEZ RIVERA, CARMEN        ADDRESS ON FILE
BAEZ RIVERA, CARMEN M      ADDRESS ON FILE
BAEZ RIVERA, CAROLINE      ADDRESS ON FILE
BAEZ RIVERA, DAISY         ADDRESS ON FILE
BAEZ RIVERA, EDUARDO       ADDRESS ON FILE
BAEZ RIVERA, EDWARD        ADDRESS ON FILE
BAEZ RIVERA, ELSA          ADDRESS ON FILE
BAEZ RIVERA, EMILIO L      ADDRESS ON FILE
Baez Rivera, Erika I       ADDRESS ON FILE
BAEZ RIVERA, FELICITA      ADDRESS ON FILE
BAEZ RIVERA, GEORGIEANNE   ADDRESS ON FILE
BAEZ RIVERA, GERARDO       ADDRESS ON FILE
BAEZ RIVERA, HILDA         ADDRESS ON FILE
BAEZ RIVERA, INES          ADDRESS ON FILE
BAEZ RIVERA, IRIS N.       ADDRESS ON FILE
BAEZ RIVERA, IRMA          ADDRESS ON FILE
BAEZ RIVERA, JANET A       ADDRESS ON FILE
BAEZ RIVERA, JANITZA       ADDRESS ON FILE
BAEZ RIVERA, JENICA M      ADDRESS ON FILE
BAEZ RIVERA, JESSICA I     ADDRESS ON FILE
BAEZ RIVERA, JOANNE        ADDRESS ON FILE
BAEZ RIVERA, JOSE          ADDRESS ON FILE
BAEZ RIVERA, JOSE          ADDRESS ON FILE
BAEZ RIVERA, JOSE          ADDRESS ON FILE
BAEZ RIVERA, JOSE          ADDRESS ON FILE
BAEZ RIVERA, JOSE          ADDRESS ON FILE
BAEZ RIVERA, JOYCE         ADDRESS ON FILE
Baez Rivera, Juan          ADDRESS ON FILE
BAEZ RIVERA, LAURA         ADDRESS ON FILE
BAEZ RIVERA, LEMUEL I      ADDRESS ON FILE




                                                                       Page 722 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 723 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ RIVERA, LEWISTONE      ADDRESS ON FILE
BAEZ RIVERA, MARGARITA      ADDRESS ON FILE
BAEZ RIVERA, MARIANNE       ADDRESS ON FILE
BAEZ RIVERA, MARIELA        ADDRESS ON FILE
Baez Rivera, Melines        ADDRESS ON FILE
BAEZ RIVERA, MELINES        ADDRESS ON FILE
BAEZ RIVERA, MILAGROS       ADDRESS ON FILE
BAEZ RIVERA, MIREYA         ADDRESS ON FILE
BAEZ RIVERA, MYRNA I        ADDRESS ON FILE
BAEZ RIVERA, NELIDA         ADDRESS ON FILE
BAEZ RIVERA, NITZA          ADDRESS ON FILE
BAEZ RIVERA, NOEL           ADDRESS ON FILE
BAEZ RIVERA, ODALYS         ADDRESS ON FILE
BAEZ RIVERA, PEDRO          ADDRESS ON FILE
BAEZ RIVERA, RAFAEL         ADDRESS ON FILE
BAEZ RIVERA, REBECCA E      ADDRESS ON FILE
BAEZ RIVERA, REINALDO       ADDRESS ON FILE
BAEZ RIVERA, ROBERTO        ADDRESS ON FILE
BAEZ RIVERA, RUBEN D        ADDRESS ON FILE
BAEZ RIVERA, SONIA M        ADDRESS ON FILE
BAEZ RIVERA, TOMAS          ADDRESS ON FILE
BAEZ ROBLES, BETHZAIDA      ADDRESS ON FILE
BAEZ ROBLES, MARIA          ADDRESS ON FILE
BAEZ RODRIGUEZ, ADELIS      ADDRESS ON FILE
BAEZ RODRIGUEZ, AIDELIS     ADDRESS ON FILE
BAEZ RODRIGUEZ, ALBERTO     ADDRESS ON FILE
BAEZ RODRIGUEZ, ALEXIS      ADDRESS ON FILE
BAEZ RODRIGUEZ, ANA         ADDRESS ON FILE
BAEZ RODRIGUEZ, ANGEL       ADDRESS ON FILE
BAEZ RODRIGUEZ, ANGEL       ADDRESS ON FILE
Baez Rodriguez, Antonio     ADDRESS ON FILE
BAEZ RODRIGUEZ, ANTONIO     ADDRESS ON FILE
BAEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
BAEZ RODRIGUEZ, CARMEN      ADDRESS ON FILE
Baez Rodriguez, Carmen L.   ADDRESS ON FILE
BAEZ RODRIGUEZ, CHARLIE     ADDRESS ON FILE
BAEZ RODRIGUEZ, CHARLIE     ADDRESS ON FILE
BAEZ RODRIGUEZ, DAVID       ADDRESS ON FILE
BAEZ RODRIGUEZ, DESIREE     ADDRESS ON FILE
BAEZ RODRIGUEZ, EDGARDO     ADDRESS ON FILE
BAEZ RODRIGUEZ, EDGARDO     ADDRESS ON FILE
BAEZ RODRIGUEZ, EDINEF M    ADDRESS ON FILE
BAEZ RODRIGUEZ, EDMAR       ADDRESS ON FILE
BAEZ RODRIGUEZ, EDWIN       ADDRESS ON FILE
BAEZ RODRIGUEZ, ELVIN       ADDRESS ON FILE
Baez Rodriguez, Gamalier    ADDRESS ON FILE
BAEZ RODRIGUEZ, GLADYS      ADDRESS ON FILE
BAEZ RODRIGUEZ, GLADYS V    ADDRESS ON FILE
BAEZ RODRIGUEZ, GREGORIA    ADDRESS ON FILE
BAEZ RODRIGUEZ, HILDA E.    ADDRESS ON FILE
BAEZ RODRIGUEZ, HUMBERTO    ADDRESS ON FILE
BAEZ RODRIGUEZ, ILKA        ADDRESS ON FILE
BAEZ RODRIGUEZ, IRMA        ADDRESS ON FILE
BAEZ RODRIGUEZ, JEREMIAS    ADDRESS ON FILE
BAEZ RODRIGUEZ, JESUS       ADDRESS ON FILE
BAEZ RODRIGUEZ, JOEY M      ADDRESS ON FILE
BAEZ RODRIGUEZ, JOHANNA H   ADDRESS ON FILE
BAEZ RODRIGUEZ, JONATHAN    ADDRESS ON FILE
BAEZ RODRIGUEZ, JOSE        ADDRESS ON FILE
Baez Rodriguez, Jose A      ADDRESS ON FILE




                                                                        Page 723 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 724 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ RODRIGUEZ, JUSTINO           ADDRESS ON FILE
Baez Rodriguez, Karina M          ADDRESS ON FILE
BAEZ RODRIGUEZ, KELLY JANEL       ADDRESS ON FILE
BAEZ RODRIGUEZ, LUIS              ADDRESS ON FILE
BAEZ RODRIGUEZ, LUIS              ADDRESS ON FILE
Baez Rodriguez, Luis A            ADDRESS ON FILE
BAEZ RODRIGUEZ, LUIS A            ADDRESS ON FILE
BAEZ RODRIGUEZ, LYSANDRA          ADDRESS ON FILE
BAEZ RODRIGUEZ, MADELINE          ADDRESS ON FILE
BAEZ RODRIGUEZ, MARCOS            ADDRESS ON FILE
BAEZ RODRIGUEZ, MARIA DE LOS A.   ADDRESS ON FILE
BAEZ RODRIGUEZ, MARIA DE LOS A.   ADDRESS ON FILE
BAEZ RODRIGUEZ, MARIANE           ADDRESS ON FILE
BAEZ RODRIGUEZ, MARIBEL           ADDRESS ON FILE
BAEZ RODRIGUEZ, MARISOL           ADDRESS ON FILE
BAEZ RODRIGUEZ, MARTHA            ADDRESS ON FILE
BAEZ RODRIGUEZ, MARTHA            ADDRESS ON FILE
BAEZ RODRIGUEZ, MARY L.           ADDRESS ON FILE
BAEZ RODRIGUEZ, MICHELLE          ADDRESS ON FILE
BAEZ RODRIGUEZ, MICHELLE          ADDRESS ON FILE
BAEZ RODRIGUEZ, MIGDALIA          ADDRESS ON FILE
BAEZ RODRIGUEZ, MILCA             ADDRESS ON FILE
BAEZ RODRIGUEZ, MONELISA          ADDRESS ON FILE
BAEZ RODRIGUEZ, NILDA             ADDRESS ON FILE
Baez Rodriguez, Ricardo           ADDRESS ON FILE
Baez Rodriguez, Samuel            ADDRESS ON FILE
BAEZ RODRIGUEZ, SAMUEL            ADDRESS ON FILE
BAEZ RODRIGUEZ, SHEILA E.         ADDRESS ON FILE
BAEZ RODRIGUEZ, STEVEN A.         ADDRESS ON FILE
BAEZ RODRIGUEZ, VICTOR            ADDRESS ON FILE
BAEZ RODRIGUEZ, VICTOR            ADDRESS ON FILE
BAEZ RODRIGUEZ, WILBERTO          ADDRESS ON FILE
BAEZ RODRIGUEZ, WILFREDO          ADDRESS ON FILE
BAEZ RODRIGUEZ, WILFREDO          ADDRESS ON FILE
BAEZ RODRIGUEZ, YOLANDA           ADDRESS ON FILE
BAEZ RODRIGUEZ,HUMBERTO           ADDRESS ON FILE
BAEZ ROJAS, BLANCA                ADDRESS ON FILE
BAEZ ROJAS, GERARDO               ADDRESS ON FILE
BAEZ ROJAS, GERARDO               ADDRESS ON FILE
BAEZ ROJAS, JOSE                  ADDRESS ON FILE
BAEZ ROJAS, VANESSA               ADDRESS ON FILE
BAEZ ROLDAN, IRAIDA               ADDRESS ON FILE
BAEZ ROLON, LIZMARY               ADDRESS ON FILE
BAEZ ROMAN, ADRIAN                ADDRESS ON FILE
BAEZ ROMAN, ADRIAN                ADDRESS ON FILE
BAEZ ROMAN, ANA I                 ADDRESS ON FILE
BAEZ ROMAN, ARNALDO               ADDRESS ON FILE
BAEZ ROMAN, ARNALDO               ADDRESS ON FILE
BAEZ ROMAN, BLANCA                ADDRESS ON FILE
BAEZ ROMAN, DAISY                 ADDRESS ON FILE
BAEZ ROMAN, EDUARDO               ADDRESS ON FILE
BAEZ ROMAN, ENRIQUE               ADDRESS ON FILE
BAEZ ROMAN, JASON                 ADDRESS ON FILE
BAEZ ROMAN, JOSE                  ADDRESS ON FILE
Baez Roman, Jose                  ADDRESS ON FILE
BAEZ ROMAN, LOURDES               ADDRESS ON FILE
BAEZ ROMAN, MARIA A.              ADDRESS ON FILE
BAEZ ROMAN, MARIXA                ADDRESS ON FILE
BAEZ ROMAN, MIRIAM                ADDRESS ON FILE
BAEZ ROMAN, TERESA                ADDRESS ON FILE




                                                                              Page 724 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 725 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ ROMERO, JOSE L.        ADDRESS ON FILE
Baez Romero, Magaly         ADDRESS ON FILE
BAEZ ROSA, ANGEL            ADDRESS ON FILE
BAEZ ROSA, DEBORAH          ADDRESS ON FILE
Baez Rosa, Gladys           ADDRESS ON FILE
BAEZ ROSA, JOSE             ADDRESS ON FILE
BAEZ ROSA, JOSE O.          ADDRESS ON FILE
BAEZ ROSA, ZOILA R          ADDRESS ON FILE
Baez Rosado, Eugenio        ADDRESS ON FILE
BAEZ ROSADO, FREDDY         ADDRESS ON FILE
BAEZ ROSADO, MIRNALY        ADDRESS ON FILE
BAEZ ROSADO, NORMA I        ADDRESS ON FILE
BAEZ ROSADO, PURA           ADDRESS ON FILE
BAEZ ROSADO, RICARDO        ADDRESS ON FILE
BAEZ ROSADO, SANTIA D       ADDRESS ON FILE
BAEZ ROSADO, WILLIE         ADDRESS ON FILE
BAEZ ROSARIO, ANTHONY       ADDRESS ON FILE
BAEZ ROSARIO, HECTOR        ADDRESS ON FILE
Baez Rosario, Juan A.       ADDRESS ON FILE
BAEZ ROSARIO, LOURDES M     ADDRESS ON FILE
BAEZ ROSARIO, MERALIS       ADDRESS ON FILE
BAEZ ROSARIO, MIGUEL        ADDRESS ON FILE
BAEZ ROSARIO, SARITSIA.     ADDRESS ON FILE
BAEZ ROSARIO, SONIA         ADDRESS ON FILE
BAEZ RUIZ, GUILLERMINA      ADDRESS ON FILE
BAEZ RUIZ, LINARDO E        ADDRESS ON FILE
BAEZ SAEZ, CARLOS           ADDRESS ON FILE
BAEZ SAEZ, JOSUE            ADDRESS ON FILE
BAEZ SALAS, BLANCA I        ADDRESS ON FILE
BAEZ SALGADO, KAYLA M.      ADDRESS ON FILE
BAEZ SANCHEZ, ALEJANDRO     ADDRESS ON FILE
BAEZ SANCHEZ, ALISSETTE     ADDRESS ON FILE
BAEZ SANCHEZ, CARLOS R      ADDRESS ON FILE
BAEZ SANCHEZ, GABRIEL       ADDRESS ON FILE
BAEZ SANCHEZ, JOEL          ADDRESS ON FILE
BAEZ SANCHEZ, JUAN          ADDRESS ON FILE
BAEZ SANCHEZ, JULIA         ADDRESS ON FILE
BAEZ SANCHEZ, MARIA A       ADDRESS ON FILE
BAEZ SANCHEZ, MARIA DEL C   ADDRESS ON FILE
BAEZ SANCHEZ, MATILDE       ADDRESS ON FILE
BAEZ SANCHEZ, MILDRED L.    ADDRESS ON FILE
BAEZ SANCHEZ, NEFTALI       ADDRESS ON FILE
BAEZ SANCHEZ, PABLO         ADDRESS ON FILE
BAEZ SANCHEZ, RADHAMES      ADDRESS ON FILE
BAEZ SANCHEZ, RAUL M        ADDRESS ON FILE
Baez Sanchez, Richard A.    ADDRESS ON FILE
BAEZ SANCHEZ, ROCHELY       ADDRESS ON FILE
BAEZ SANCHEZ, RONALD        ADDRESS ON FILE
BAEZ SANTANA, EVA           ADDRESS ON FILE
BAEZ SANTANA, FREDDY        ADDRESS ON FILE
BAEZ SANTANA, JOPHANNE      ADDRESS ON FILE
BAEZ SANTANA, LISSETTE      ADDRESS ON FILE
BAEZ SANTANA, PABLO         ADDRESS ON FILE
BAEZ SANTANA, PABLO J       ADDRESS ON FILE
BAEZ SANTANA, RAFAEL        ADDRESS ON FILE
BAEZ SANTANA, RAMON A       ADDRESS ON FILE
BAEZ SANTANA, VERONICA      ADDRESS ON FILE
BAEZ SANTIAGO, ANA MIRTA    ADDRESS ON FILE
BAEZ SANTIAGO, ARLENE       ADDRESS ON FILE
BAEZ SANTIAGO, CARLOS A     ADDRESS ON FILE




                                                                        Page 725 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 726 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ SANTIAGO, CARMEN       ADDRESS ON FILE
BAEZ SANTIAGO, ELIUD        ADDRESS ON FILE
BAEZ SANTIAGO, FRANCISCO    ADDRESS ON FILE
BAEZ SANTIAGO, GLENDALIZ    ADDRESS ON FILE
BAEZ SANTIAGO, GUILLERMO    ADDRESS ON FILE
Baez Santiago, Heriberto    ADDRESS ON FILE
BAEZ SANTIAGO, HERIBERTO    ADDRESS ON FILE
BAEZ SANTIAGO, JORGE        ADDRESS ON FILE
Baez Santiago, Jose A       ADDRESS ON FILE
Baez Santiago, Jose M       ADDRESS ON FILE
BAEZ SANTIAGO, JULIO A      ADDRESS ON FILE
BAEZ SANTIAGO, LISANKA      ADDRESS ON FILE
BAEZ SANTIAGO, LUISA ALI    ADDRESS ON FILE
BAEZ SANTIAGO, MARIA        ADDRESS ON FILE
BAEZ SANTIAGO, MIRIAM       ADDRESS ON FILE
BAEZ SANTIAGO, MYRNA R      ADDRESS ON FILE
BAEZ SANTIAGO, NEFTALI      ADDRESS ON FILE
Baez Santiago, Nitza A      ADDRESS ON FILE
BAEZ SANTIAGO, NITZA M      ADDRESS ON FILE
BAEZ SANTIAGO, PEDRO A      ADDRESS ON FILE
BAEZ SANTIAGO, REBECA       ADDRESS ON FILE
BAEZ SANTIAGO, VITALINA     ADDRESS ON FILE
BAEZ SANTIAGO, VIVIAN       ADDRESS ON FILE
BAEZ SANTIAGO, WALTER       ADDRESS ON FILE
BAEZ SANTIAGO, YANIRA       ADDRESS ON FILE
BAEZ SANTOS MD, IVAN        ADDRESS ON FILE
BAEZ SANTOS, AIXA M.        ADDRESS ON FILE
BAEZ SANTOS, ANIBAL         ADDRESS ON FILE
BAEZ SANTOS, CARLOS H.      ADDRESS ON FILE
BAEZ SANTOS, NEISA S        ADDRESS ON FILE
BAEZ SEGARRA, EDWIN         ADDRESS ON FILE
BAEZ SEGUI, JORGE           ADDRESS ON FILE
BAEZ SEPULVEDA, RAFAELJ     ADDRESS ON FILE
BAEZ SERPA, DANIEL          ADDRESS ON FILE
Baez Serpa, Daniel          ADDRESS ON FILE
BAEZ SERRANO, DANIEL        ADDRESS ON FILE
BAEZ SERRANO, GLADYS M      ADDRESS ON FILE
BAEZ SERRANO, JESUS J       ADDRESS ON FILE
BAEZ SERRANO, ODALIS        ADDRESS ON FILE
BAEZ SERRANO, PABLO J       ADDRESS ON FILE
BAEZ SIERRA, ASUNCION       ADDRESS ON FILE
BAEZ SILVA, FERDINAND       ADDRESS ON FILE
BAEZ SOLA, JOSE             ADDRESS ON FILE
BAEZ SOSA, JESSICA          ADDRESS ON FILE
BAEZ SOTO, FRANCISCO        ADDRESS ON FILE
BAEZ SOTO, JOSE L           ADDRESS ON FILE
BAEZ SOTO, MANUEL           ADDRESS ON FILE
BAEZ SOTO, MIGUEL           ADDRESS ON FILE
BAEZ STELLA MD, MIGUEL      ADDRESS ON FILE
BAEZ STELLA, MIGUEL         ADDRESS ON FILE
BAEZ SUAREZ MD, JULIO       ADDRESS ON FILE
BAEZ SUAREZ, BELKIS A       ADDRESS ON FILE
BAEZ SUAREZ, IRVIN O.       ADDRESS ON FILE
BAEZ SUAREZ, IVETTE         ADDRESS ON FILE
BAEZ SUAREZ, JOSE           ADDRESS ON FILE
BAEZ SUAREZ, JOSEAN         ADDRESS ON FILE
BAEZ SUAREZ, LUZ            ADDRESS ON FILE
BAEZ SUSTACHE, DENNISSE L   ADDRESS ON FILE
BAEZ TALAVERA, JOEL         ADDRESS ON FILE
Baez Tanon, Janet           ADDRESS ON FILE




                                                                        Page 726 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                              Exhibit A-1 - Creditor
                                                                  Case No.Matrix
                                                                          17 BK 3283‐LTSPage 727 of 3500
                                                                         Creditor Matrix

Creditor Name               Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ TANON, VICTOR          ADDRESS ON FILE
BAEZ TEJADA, ADELAIDA       ADDRESS ON FILE
BAEZ TINOCO, FRANCISCO J.   ADDRESS ON FILE
Baez Tirado, Eliezmary      ADDRESS ON FILE
BAEZ TIRADO, NAYDA          ADDRESS ON FILE
BAEZ TIRADO, ORLANDO        ADDRESS ON FILE
BAEZ TORES, LUIS            ADDRESS ON FILE
BAEZ TORRES MD, JORGE L     ADDRESS ON FILE
BAEZ TORRES MD, LYNETTE     ADDRESS ON FILE
BAEZ TORRES MD, SANTIAGO    ADDRESS ON FILE
BAEZ TORRES, AILEEN         ADDRESS ON FILE
BAEZ TORRES, AL‐DAVIS       ADDRESS ON FILE
BAEZ TORRES, ANGEL          ADDRESS ON FILE
BAEZ TORRES, ANGELES        ADDRESS ON FILE
Baez Torres, Arsenio        ADDRESS ON FILE
BAEZ TORRES, EMANUEL        ADDRESS ON FILE
BAEZ TORRES, ERNESTO        ADDRESS ON FILE
BAEZ TORRES, FERNANDO       ADDRESS ON FILE
Baez Torres, Hector         ADDRESS ON FILE
BAEZ TORRES, IRIS Y         ADDRESS ON FILE
BAEZ TORRES, JOSE           ADDRESS ON FILE
BAEZ TORRES, JUAN C         ADDRESS ON FILE
BAEZ TORRES, LIZBETH        ADDRESS ON FILE
BAEZ TORRES, LYNNETTE       ADDRESS ON FILE
BAEZ TORRES, MAGDA M        ADDRESS ON FILE
BAEZ TORRES, MARIAN         ADDRESS ON FILE
BAEZ TORRES, MARIAN         ADDRESS ON FILE
BAEZ TORRES, MILDRED O      ADDRESS ON FILE
BAEZ TORRES, MYRNA          ADDRESS ON FILE
BAEZ TORRES, PEDRO          ADDRESS ON FILE
Baez Torres, Raymond        ADDRESS ON FILE
BAEZ TORRES, RAYMOND        ADDRESS ON FILE
BAEZ TORRES, REINA V.       ADDRESS ON FILE
BAEZ TORRES, SANDRA I       ADDRESS ON FILE
BAEZ TORRES, SANTIAGO       ADDRESS ON FILE
BAEZ TORRES, SONIA          ADDRESS ON FILE
BAEZ TORRES, VALERIA        ADDRESS ON FILE
BAEZ TORRES, VICTOR         ADDRESS ON FILE
Baez Torres, Wilfredo E.    ADDRESS ON FILE
BAEZ TORRES, YADIRA         ADDRESS ON FILE
BAEZ TORRES,GABRIEL         ADDRESS ON FILE
BAEZ TORRUELLAS, JAVIER     ADDRESS ON FILE
BAEZ TRINIDAD, EMMANUEL     ADDRESS ON FILE
BAEZ TRINIDAD, VANESSA      ADDRESS ON FILE
BAEZ URBINA, CARLOS         ADDRESS ON FILE
BAEZ URBINA, ZORINEL        ADDRESS ON FILE
BAEZ URBINA, ZORINEL        ADDRESS ON FILE
BAEZ VALDES, ANGEL          ADDRESS ON FILE
BAEZ VALDES, ANGEL          ADDRESS ON FILE
BAEZ VALENTIN, OCTAVIO      ADDRESS ON FILE
BAEZ VALLE, JAVIER          ADDRESS ON FILE
BAEZ VALLE,ARMANDO          ADDRESS ON FILE
Baez Valles, Armando        ADDRESS ON FILE
BAEZ VARGAS, EMMA L         ADDRESS ON FILE
BAEZ VARGAS, EVA            ADDRESS ON FILE
BAEZ VARGAS, HECTOR         ADDRESS ON FILE
BAEZ VARGAS, JOSE           ADDRESS ON FILE
BAEZ VARGAS, KARLA          ADDRESS ON FILE
BAEZ VAZQUEZ, ADDHAROSSIE   ADDRESS ON FILE
BAEZ VAZQUEZ, ALICIA J      ADDRESS ON FILE




                                                                        Page 727 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 728 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ VAZQUEZ, BETTY           ADDRESS ON FILE
Baez Vazquez, Carmelo         ADDRESS ON FILE
BAEZ VAZQUEZ, CECILIO         ADDRESS ON FILE
Baez Vazquez, Cecilio J       ADDRESS ON FILE
BAEZ VAZQUEZ, ENID            ADDRESS ON FILE
BAEZ VAZQUEZ, ENRIQUE         ADDRESS ON FILE
BAEZ VAZQUEZ, JOECY           ADDRESS ON FILE
Baez Vazquez, Johanna A       ADDRESS ON FILE
BAEZ VAZQUEZ, JUAN            ADDRESS ON FILE
Baez Vazquez, Juan G          ADDRESS ON FILE
BAEZ VAZQUEZ, LUIS            ADDRESS ON FILE
BAEZ VAZQUEZ, LUIS            ADDRESS ON FILE
BAEZ VAZQUEZ, MADELYN I       ADDRESS ON FILE
BAEZ VAZQUEZ, MAYRA E.        ADDRESS ON FILE
BAEZ VAZQUEZ, MIGDALIA        ADDRESS ON FILE
BAEZ VAZQUEZ, OMAR            ADDRESS ON FILE
BAEZ VAZQUEZ, PABLO           ADDRESS ON FILE
BAEZ VAZQUEZ, VANESSA         ADDRESS ON FILE
Baez Vazquez, Yamil           ADDRESS ON FILE
BAEZ VAZQUEZ, YEADEALEAUCKS   ADDRESS ON FILE
BAEZ VEGA, BETTY              ADDRESS ON FILE
BAEZ VEGA, ELIZABETH          ADDRESS ON FILE
BAEZ VEGA, EVELYN             ADDRESS ON FILE
BAEZ VEGA, FRANCISCA          ADDRESS ON FILE
BAEZ VEGA, LUIS               ADDRESS ON FILE
BAEZ VEGA, MARIBEL            ADDRESS ON FILE
BAEZ VEGA, MARYLIN            ADDRESS ON FILE
BAEZ VEGA, PRISCILLA          ADDRESS ON FILE
BAEZ VEGA, PRISCILLA M        ADDRESS ON FILE
BAEZ VEGA, ROGELIO            ADDRESS ON FILE
BAEZ VEGA, RUBEN              ADDRESS ON FILE
BAEZ VEGA, SANTOS             ADDRESS ON FILE
BAEZ VEGA, VICTOR             ADDRESS ON FILE
BAEZ VEGA, YANITZA            ADDRESS ON FILE
BAEZ VEGA, YOLIMAR DEL R.     ADDRESS ON FILE
BAEZ VELAZQUEZ, AIXA          ADDRESS ON FILE
BAEZ VELAZQUEZ, AIXA          ADDRESS ON FILE
BAEZ VELAZQUEZ, AWILDA        ADDRESS ON FILE
BAEZ VELAZQUEZ, FRANCISCO     ADDRESS ON FILE
BAEZ VELAZQUEZ, FRANSISCO     ADDRESS ON FILE
BAEZ VELAZQUEZ, GERARDO       ADDRESS ON FILE
Baez Velazquez, Gerardo J     ADDRESS ON FILE
BAEZ VELAZQUEZ, IVETTE        ADDRESS ON FILE
BAEZ VELAZQUEZ, JAHAZIEL      ADDRESS ON FILE
BAEZ VELAZQUEZ, MERCEDES      ADDRESS ON FILE
BAEZ VELAZQUEZ, MILAGROS      ADDRESS ON FILE
BAEZ VELAZQUEZ, MINERVA       ADDRESS ON FILE
BAEZ VELAZQUEZ, RAMON L.      ADDRESS ON FILE
Baez Velazquez, Reinier       ADDRESS ON FILE
BAEZ VELEZ, ALEXANDER         ADDRESS ON FILE
BAEZ VELEZ, DIANA             ADDRESS ON FILE
BAEZ VELEZ, DIONELISSE        ADDRESS ON FILE
BAEZ VELEZ, DRISS B           ADDRESS ON FILE
Baez Velez, Fernando          ADDRESS ON FILE
BAEZ VELEZ, GERMIN            ADDRESS ON FILE
BAEZ VELEZ, GILBERTO          ADDRESS ON FILE
BAEZ VELEZ, HECTOR            ADDRESS ON FILE
BAEZ VELEZ, JEAN              ADDRESS ON FILE
BAEZ VELEZ, LINNETTE M.       ADDRESS ON FILE
BAEZ VELEZ, LUIS              ADDRESS ON FILE




                                                                          Page 728 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 729 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAEZ VELEZ, MYRIAM L                    ADDRESS ON FILE
BAEZ VELEZ, NANCY L                     ADDRESS ON FILE
BAEZ VELEZ,ANAIS L.                     ADDRESS ON FILE
BAEZ VILA, MARIE A                      ADDRESS ON FILE
BAEZ VILA, MARLA A                      ADDRESS ON FILE
BAEZ VILLARAN, BEATRIZ                  ADDRESS ON FILE
BAEZ VILLARAN, JOHANNA                  ADDRESS ON FILE
BAEZ VILLEGAS, LUCIA                    ADDRESS ON FILE
BAEZ VITALI, CARMEN E                   ADDRESS ON FILE
BAEZ YAMBO, DAMARIS                     ADDRESS ON FILE
BAEZ YAMBO, JANICE                      ADDRESS ON FILE
BAEZ YEJO, AILEN                        ADDRESS ON FILE
BAEZ YOVOBIACHE, MARINES                ADDRESS ON FILE
BAEZ ZAYAS, JESMARIE                    ADDRESS ON FILE
BAEZ ZORRILLA, DOMINGA                  ADDRESS ON FILE
BAEZ, ADELAIDA                          ADDRESS ON FILE
BAEZ, GILLERMO                          ADDRESS ON FILE
BAEZ, JESSICA                           ADDRESS ON FILE
BAEZ, JUITXA                            ADDRESS ON FILE
BAEZ, MARIA N                           ADDRESS ON FILE
BAEZ, NORMA I                           ADDRESS ON FILE
BAEZ, RAMON                             ADDRESS ON FILE
BAEZ, RAMON L.                          ADDRESS ON FILE
BAEZ, RANDY                             ADDRESS ON FILE
BAEZ, REGINALD                          ADDRESS ON FILE
BAEZ, TOMAS                             ADDRESS ON FILE
BAEZ, WANDA                             ADDRESS ON FILE
BAEZ,FERNANDO L.                        ADDRESS ON FILE
BAEZ,JULIO                              ADDRESS ON FILE
BAEZ,REGINALD                           ADDRESS ON FILE
BAEZA DECLET, CARMEN S.                 ADDRESS ON FILE
BAEZA DECLET, CARMEN S.                 ADDRESS ON FILE
BAEZA MUNIZ, JOSE                       ADDRESS ON FILE
BAEZA VALENTIN, RICARDO                 ADDRESS ON FILE
BAEZGARCIA, AMERICO                     ADDRESS ON FILE
Baéz‐Lespier, Héctor                    ADDRESS ON FILE
BAEZNIEVES, JOSE                        ADDRESS ON FILE
BAEZPAGAN, MARIA T                      ADDRESS ON FILE
BAG ACCOUNTING CORP                     PO BOX 140673                                                                    ARECIBO      PR      00614
BAG LEGAL SERVICES AND CONSULTING PSC   PARQ DE TORRIMAR          E13 CALLE 6                                            BAYAMON      PR      00959
BAGASARAWALA CAPEL, YAHAIRA             ADDRESS ON FILE
BAGO PEREZ, FRANCISCA M                 ADDRESS ON FILE
BAGP PSC                                PO BOX 194927                                                                    SAN JUAN     PR      00919
BAGU ALERS, ESTEFANIA                   ADDRESS ON FILE
BAGU DIAZ, JOSE                         ADDRESS ON FILE
BAGU MARISTANY, YAMIRA                  ADDRESS ON FILE
BAGU VICENS, WILLIAM                    ADDRESS ON FILE
BAGUE AROCHO, ARTURO                    ADDRESS ON FILE
BAGUE AROCHO, LUZ A                     ADDRESS ON FILE
BAGUE CANDELARIA MD, ISMAEL             ADDRESS ON FILE
BAGUE CARRERO, ADRIAN                   ADDRESS ON FILE
BAGUE DIAZ, ISAYRA                      ADDRESS ON FILE
BAGUE DIAZ, JOSE L.                     ADDRESS ON FILE
BAGUE GUEVARA, GUILLERMINA              ADDRESS ON FILE
BAGUE ORTIZ, MARIBEL                    ADDRESS ON FILE
BAGUE RAMOS, MARIA I                    ADDRESS ON FILE
BAGUE RIOS, RICARDO                     ADDRESS ON FILE
BAGUE SOTO, FRANCISCO                   ADDRESS ON FILE
BAHAMONDE CARABALLO, ANTONIO LUIS       ADDRESS ON FILE
BAHAMONDE COTTO, ESTHER                 ADDRESS ON FILE




                                                                                    Page 729 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 730 of 3500
                                                                                            Creditor Matrix

Creditor Name                              Address1                     Address2                         Address3   Address4   City               State   PostalCode   Country
BAHAMONDE ORTIZ, JOSEPH                    ADDRESS ON FILE
BAHAMONDE OTERO, FRANCES                   ADDRESS ON FILE
BAHAMONDE RUIZ, ELVIRA M                   ADDRESS ON FILE
Bahamonde Sanchez, Jose                    ADDRESS ON FILE
BAHAMONDE VAZQUEZ, FELIX W                 ADDRESS ON FILE
BAHAMONDE VEGA, PABLO                      ADDRESS ON FILE
BAHAMUNDI ALBINO, MARIA A                  ADDRESS ON FILE
BAHAMUNDI ALICEA, ANGEL M.                 ADDRESS ON FILE
BAHAMUNDI ALVAREZ, ALEXANDER               ADDRESS ON FILE
BAHAMUNDI ALVAREZ, MARIO                   ADDRESS ON FILE
BAHAMUNDI CLAUDIO, DAVID                   ADDRESS ON FILE
BAHAMUNDI DE JESUS, DANIEL                 ADDRESS ON FILE
BAHAMUNDI FERNANDEZ, JOSE                  ADDRESS ON FILE
BAHAMUNDI GARCIA, MARIA                    ADDRESS ON FILE
BAHAMUNDI GONZALEZ, NICOLE D               ADDRESS ON FILE
BAHAMUNDI LUGO, LUIS A                     ADDRESS ON FILE
Bahamundi Morales, Hilda R                 ADDRESS ON FILE
BAHAMUNDI QUINONES, HILDA                  ADDRESS ON FILE
BAHAMUNDI RIVERA, MINERVA                  ADDRESS ON FILE
Bahamundi Santaliz, Luis R                 ADDRESS ON FILE
BAHAMUNDI SANTALIZ, MIGDALIA               ADDRESS ON FILE
Bahamundi Torres, Jose A                   ADDRESS ON FILE
BAHAMUNDI TORRES, MAGDA L.                 ADDRESS ON FILE
BAHAMUNDI TORRES, OBDULIO                  ADDRESS ON FILE
Bahamundi Valle, Javier                    ADDRESS ON FILE
BAHAMUNDI VAZQUEZ, EDMANUEL                ADDRESS ON FILE
BAHAMUNDI VAZQUEZ, LUIS                    ADDRESS ON FILE
BAHAMUNDIRODRIGUEZ, MIGUEL A               ADDRESS ON FILE
Bahena Rodriguez, Daniel                   ADDRESS ON FILE
BAHIA BEACH RESORT LLC                     P O BOX 363529                                                                      SAN JUAN           PR      00771
BAHIA SALINAS BEACH HOTEL INC/SRI ENERGY   HC 01 BOX 2356                                                                      BOQUERON           PR      00622‐9707
BAHIA SALINAS BEACH HOTEL INC/SRI ENERGY   SECTOR EL FARO               CARR 301 DM 11 5                                       BOQUERON           PR      00622
BAHR SILVA, IVAN                           ADDRESS ON FILE
Bahr Silva, Ivan A                         ADDRESS ON FILE
BAHRI JOVET MD, DALED                      ADDRESS ON FILE
BAHTA AND ASSOCIATES                       10794 PINES BLVD 203                                                                PEMBROKE PINES     FL      33027
BAIGES CHAPEL, LUIS                        ADDRESS ON FILE
BAIGES FUENTES, MARIA DE LOS A.            ADDRESS ON FILE
BAIGES RAMIREZ, MARIA DEL C                ADDRESS ON FILE
BAIGES RAMIREZ, SALVADOR A.                ADDRESS ON FILE
BAILEFUSION INC                            AVE CAMPO RICO 882           COUNTRY CLUB                                           SAN JUAN           PR      00964
BAILEFUSION INC                            URB PARQUES DE SAN IGNACIO   CALLE 1 A‐37                                           SAN JUAN           PR      00921
BAILEY FOURNIER, KEVIN                     ADDRESS ON FILE
BAILEY MEDICAL ENGINEERING                 2216 SUNSET DRIVE                                                                   LOS OSOS           CA      93402
BAILEY SUAREZ, WENDELL                     ADDRESS ON FILE
BAILON CUBA, JORGE                         ADDRESS ON FILE
BAIOCCHI, ALEJANDRO                        ADDRESS ON FILE
BAIRD, JOHN D.                             ADDRESS ON FILE
BAIZ AVILES, LUIS                          ADDRESS ON FILE
BAIZ FALCON, ANA                           ADDRESS ON FILE
BAJ MAINTENANCE SERVICE CORP               PO BOX 353                                                                          ANASCO             PR      00610
BAJADAS VAZQUEZ, EILEEN                    ADDRESS ON FILE
BAJANDA SANCHEZ, CARMEN M                  ADDRESS ON FILE
BAJANDAS DAVID, EDWIN                      ADDRESS ON FILE
BAJANDAS FIGUEROA, CARMEN L                ADDRESS ON FILE
BAJANDAS FIGUEROA, DANIEL                  ADDRESS ON FILE
BAJANDAS FIGUEROA, ELIZABETH               ADDRESS ON FILE
BAJANDAS FIGUEROA, GAMALIEL                ADDRESS ON FILE
BAJANDAS FIGUEROA, RAQUEL                  ADDRESS ON FILE
BAJANDAS FIGUEROA, REINA                   ADDRESS ON FILE




                                                                                           Page 730 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 731 of 3500
                                                                                         Creditor Matrix

Creditor Name                       Address1                  Address2                                Address3   Address4   City           State   PostalCode   Country
BAJANDAS FIGUEROA, SARAI            ADDRESS ON FILE
BAJANDAS FUMERO, JOANN M            ADDRESS ON FILE
BAJANDAS LAMELA, FELIX              ADDRESS ON FILE
BAJANDAS SANCHEZ, NILDA             ADDRESS ON FILE
BAJANDAS VAZQUEZ, EILEEN            ADDRESS ON FILE
BAJANDAS VAZQUEZ, ELAINE            ADDRESS ON FILE
BAJANDAS ZAYAS, ADVILDA             ADDRESS ON FILE
BAJANDAS ZAYAS, LEIDA               ADDRESS ON FILE
BAJINETA VALENTIN, ELIZABETH        ADDRESS ON FILE
BAJOHR MD, JESSICA                  ADDRESS ON FILE
BAJUELO MARTINEZ, HANSELL           ADDRESS ON FILE
BAJURAS DEVELOPMENT INC             P O BOX 2081                                                                            ISABELA        PR      00662
BAKER COLLEGE OF PORT HURON         3403 LAPEER RD                                                                          PORT HURON     MI      48060‐2597
BAKER HASAN, ASAD                   ADDRESS ON FILE
BAKER MARTINEZ, ROSSY D             ADDRESS ON FILE
BAKER PETROLITE                     ADDRESS ON FILE
BAKER TILLY PUERTO RICO             P O BOX 366202                                                                          SAN JUAN       PR      00936‐6202
BAKER TILLY PUERTO RICO, CPA, PSC   PO BOX 366202                                                                           SAN JUAN       PR      00936‐6202
BAKER TILLY RIVERA RODRIGUEZ PSC    P O BOX 21476                                                                           SAN JUAN       PR      00928
BAKERY & PARTY HOUSE                SUMMIT HILLS              1757 AVE JESUS T PINERO                                       SAN JUAN       PR      00920
BAKERY AND PARTY HOUSE              1757 N JESUS T. PINERO                                                                  SAN JUAN       PR      00918
BAKKER MANK, FEMKE                  ADDRESS ON FILE
BAKSH DIAZ, JONATHAN                ADDRESS ON FILE
BALAAN COTTO GOMEZ                  ADDRESS ON FILE
BALADEJO VAZQUEZ, JESUS             ADDRESS ON FILE
BALADO ARROYO, RAQUEL               ADDRESS ON FILE
BALADO ARROYO, RAQUEL I.            ADDRESS ON FILE
BALADO FEBRES, JOSE                 ADDRESS ON FILE
Balado Febres, Jose A.              ADDRESS ON FILE
BALADO SANTINI, LUIS                ADDRESS ON FILE
BALADO SIERRA, CARLOS               ADDRESS ON FILE
BALADO SIERRA, IRIS N.              ADDRESS ON FILE
BALAEZ CEPEDA, WILFREDO             ADDRESS ON FILE
BALAEZ SANABRIA, SMYRNA             ADDRESS ON FILE
BALAEZ VELAZQUEZ, EDNA              ADDRESS ON FILE
BALAGTAS HERNADEZ, WANDA            ADDRESS ON FILE
BALAGTAS HERNANDEZ, WANDA           ADDRESS ON FILE
BALAGUER ALMODOVAR, LUIS            ADDRESS ON FILE
Balaguer Almodovar, Luis Victor     ADDRESS ON FILE
BALAGUER ALMODOVAR, RICARDO         ADDRESS ON FILE
BALAGUER BALAGUER, ELDI             ADDRESS ON FILE
BALAGUER BALAGUER, ELDI             ADDRESS ON FILE
BALAGUER BALAGUER, ELIZAIDA         ADDRESS ON FILE
BALAGUER COLON, FRANCISCO           ADDRESS ON FILE
BALAGUER COLON, MABEL               ADDRESS ON FILE
BALAGUER COLON, MARIANA             ADDRESS ON FILE
BALAGUER COLON, MARIBEL             ADDRESS ON FILE
BALAGUER CRUZ, LUZ M                ADDRESS ON FILE
BALAGUER CUEVAS, WILLIAM            ADDRESS ON FILE
BALAGUER DOMINGUEZ, GIOVANNA        ADDRESS ON FILE
BALAGUER ESTRADA, CARLOS J          ADDRESS ON FILE
BALAGUER ESTRADA, GLORYVETT         ADDRESS ON FILE
BALAGUER ESTRADA, SONIA I           ADDRESS ON FILE
BALAGUER GARCIA, YOLANDA M          ADDRESS ON FILE
BALAGUER GONZALEZ, MARIA G          ADDRESS ON FILE
BALAGUER IRIZARRY, MANUEL           ADDRESS ON FILE
BALAGUER JIMENEZ, MINELUZ           ADDRESS ON FILE
BALAGUER MERCADO, JOSE              ADDRESS ON FILE
BALAGUER PEREZ, JORGE               ADDRESS ON FILE
BALAGUER PRIMERO, GRETCHEN          ADDRESS ON FILE




                                                                                        Page 731 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 732 of 3500
                                                                                       Creditor Matrix

Creditor Name                        Address1                       Address2                        Address3   Address4   City              State   PostalCode   Country
BALAGUER RAMOS, PELEGRIN             ADDRESS ON FILE
Balaguer Rosario, Brenda             ADDRESS ON FILE
BALAGUER ROSARIO, DELIRIS            ADDRESS ON FILE
BALAGUER ROSARIO, FRANCISCO          ADDRESS ON FILE
BALAGUER ROSARIO, ROSA               ADDRESS ON FILE
BALAGUER SANCHEZ, CARMELO            ADDRESS ON FILE
BALAGUER SANTIAGO, RAFAEL            ADDRESS ON FILE
BALAGUER SEPULVEDA, BLANCA           ADDRESS ON FILE
BALAGUER TORRES, EDWARD              ADDRESS ON FILE
BALAGUER TORRES, KAMARY              ADDRESS ON FILE
Balaguer Torres, Marcos M            ADDRESS ON FILE
BALAGUER TORRES, XIOMARA             ADDRESS ON FILE
BALAGUER VALENTIN, MERCEDES          ADDRESS ON FILE
BALAGUER VEGA, ANTONIO               ADDRESS ON FILE
BALAGUER VEGA, LINETTE               ADDRESS ON FILE
BALAN, JEAN                          ADDRESS ON FILE
BALANFIT CORP                        1 VIA PEDREGAL APTO. 805       ENCANTADA                                             TRUJILLO ALTO     PR      00976
BALANTA CRUZ, MARIA DEL CARMEN       ADDRESS ON FILE
BALARAMA MENDOZA RUIZ                ADDRESS ON FILE
BALASQUIDE AVILES, SONIANN V         ADDRESS ON FILE
BALASQUIDE MACHUCA, ALLAN            ADDRESS ON FILE
BALASQUIDE MACHUCA, DALIA            ADDRESS ON FILE
BALASQUIDE MACHUCA, EDGARDO          ADDRESS ON FILE
BALASQUIDE MACHUCA, LIZZETTE         ADDRESS ON FILE
BALASQUIDE MACHUCA, MIGDALIA         ADDRESS ON FILE
BALASQUIDE MACHUCA, ROBERTO          ADDRESS ON FILE
BALASQUIDE PEREZ, SARAH MARIA        ADDRESS ON FILE
BALASQUIDE RODRIGUEZ, CARMEN         ADDRESS ON FILE
BALASQUIDE SERRANO, MARISOL          ADDRESS ON FILE
BALASQUIDE SERRANO, ROSA M           ADDRESS ON FILE
BALAY ART MATERIALS                  2341 BLVD LUIS A FERRE STE 4                                                         PONCE             PR      00717‐2120
BALAY GONZALEZ, WANDA E              ADDRESS ON FILE
BALAY POMALES, ERNESTO X.            ADDRESS ON FILE
BALAY RUIZ, JOSE A.                  ADDRESS ON FILE
BALAY RUIZ, MARIBEL                  ADDRESS ON FILE
Balay Ruiz, Miguel A                 ADDRESS ON FILE
Balay Santiago, Jose A               ADDRESS ON FILE
BALAY VARGAS, YESENIA E.             ADDRESS ON FILE
BALBAS FELICES, MARIA                ADDRESS ON FILE
BALBIN PADILLA, CYNTHIA              ADDRESS ON FILE
BALBINA PEDRAZA PEREIRA              ADDRESS ON FILE
BALBINA SEINO DE LA ROSA             ADDRESS ON FILE
BALBOA LIFE INSURANCE COMPANY        400 ROBERT STREET NORTH                                                              ST PAUL           MN      55101
BALBOA SERVICE STATION               BO LA QUINTA                   88 CALLE BALBOA                                       MAYAGUEZ          PR      00680
BALBUENA AMPARO, JOHANNA             ADDRESS ON FILE
BALBUENA FRANCISCO, VICTORIA         ADDRESS ON FILE
BALBUENA GUTIERREZ, MARIA            ADDRESS ON FILE
BALBUENA HEALTH, CHARLES FREDERICK   ADDRESS ON FILE
BALBUENA HEATH, CHARLES              ADDRESS ON FILE
BALBUENA HERNANDEZ, JESSICA          ADDRESS ON FILE
BALBUENA MERLE, JUAN                 ADDRESS ON FILE
BALBUENA MERLE, ZAIRA IDELISS        ADDRESS ON FILE
BALBUENA PEREZ, DEMOSTENES           ADDRESS ON FILE
BALBUENA REYES, MIRELYS              ADDRESS ON FILE
BALBUENA RODRIGUEZ, JUAN M.          ADDRESS ON FILE
BALBUENA RODRIGUEZ, KEVIN            ADDRESS ON FILE
BALCELLS GALLARRETA, JUAN            ADDRESS ON FILE
BALCONES LAS CATALINAS               ADDRESS ON FILE
BALDAGUEZ MATOS, JOSE A.             ADDRESS ON FILE
BALDAGUEZ MATOS, RAFAEL              ADDRESS ON FILE




                                                                                      Page 732 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 733 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BALDERA ABREU, DENISE            ADDRESS ON FILE
BALDERA PERDOMO, CHRISTOPHER E   ADDRESS ON FILE
BALDINGER MD , MICHAEL D         ADDRESS ON FILE
BALDINGER MD, ESTHER             ADDRESS ON FILE
BALDIT CASTRO, BEATRIZ           ADDRESS ON FILE
BALDIT SALMON, CARLOS A.         ADDRESS ON FILE
BALDOMERO CHAPARRO GONZALEZ      ADDRESS ON FILE
BALDOMERO COLLAZO SALAZAR        ADDRESS ON FILE
BALDOMERO SIERRA MAYSONET        ADDRESS ON FILE
BALDOMERO SOTO GOMEZ             ADDRESS ON FILE
BALDOMERO TORRES PEREZ           ADDRESS ON FILE
BALDUINO COLON PAGAN             ADDRESS ON FILE
BALDWIN SANCHEZ SANTIAGO         ADDRESS ON FILE
BALENTI PATUA, CARMEN            ADDRESS ON FILE
BALESTER RODRIGUEZ, CARLOS       ADDRESS ON FILE
BALESTIER CRUZ, HEIDI            ADDRESS ON FILE
BALESTIER MARTINEZ, PEDRO        ADDRESS ON FILE
BALESTIER MARTINEZ, SUHEY        ADDRESS ON FILE
BALESTRA JIMENEZ, JESUS          ADDRESS ON FILE
BALESTRA TORRES, JESUS           ADDRESS ON FILE
BALGO BIND, RAJKOEMAR            ADDRESS ON FILE
BALI INC                         P O BOX 810                                                                      HATILLO      PR      00659
BALINAS MARQUEZ, ZULAILA         ADDRESS ON FILE
BALINAS VAZQUEZ, MARIA M         ADDRESS ON FILE
BALINES PONCE, MAGALY            ADDRESS ON FILE
BALKARAN CASTRO, CHARLIE         ADDRESS ON FILE
BALKARAN CASTRO, HARRY           ADDRESS ON FILE
BALL PENA, MANUEL                ADDRESS ON FILE
BALL ROSA, DIANA DEL             ADDRESS ON FILE
BALL SEPULVEDA, MARIAN           ADDRESS ON FILE
BALLAGAS CACHO, MARISOL          ADDRESS ON FILE
BALLAGAS CACHO, ROSA             ADDRESS ON FILE
BALLAND, ELISE                   ADDRESS ON FILE
BALLANTINE WORKMAN, DAVID        ADDRESS ON FILE
BALLARD NAYA, SHEILA N           ADDRESS ON FILE
BALLEN ROCHA, FLORINDA           ADDRESS ON FILE
BALLESTAS, ENRIQUE               ADDRESS ON FILE
BALLESTE FRANK, CARMEN           ADDRESS ON FILE
Balleste Negron, Rey             ADDRESS ON FILE
BALLESTE NEGRON, REY             ADDRESS ON FILE
BALLESTE PERALTA, EIMI           ADDRESS ON FILE
BALLESTER ACEVEDO, ROSA          ADDRESS ON FILE
BALLESTER AROCHO MD, MARIA E     ADDRESS ON FILE
BALLESTER AROCHO, MARIA          ADDRESS ON FILE
BALLESTER AROCHO, VIRGINIA I     ADDRESS ON FILE
BALLESTER AVILES, MARIA T        ADDRESS ON FILE
BALLESTER AVILES, NILDA I        ADDRESS ON FILE
BALLESTER CARDONA, JUAN C.       ADDRESS ON FILE
BALLESTER CARRASQUILLO, HECTOR   ADDRESS ON FILE
Ballester Chavez, Oscar          ADDRESS ON FILE
BALLESTER COLLAZO, CARMEN L      ADDRESS ON FILE
BALLESTER DERSCARTES, MONICA     ADDRESS ON FILE
BALLESTER DESCARTES, CAROLA      ADDRESS ON FILE
BALLESTER DESCARTES, CAROLA      ADDRESS ON FILE
BALLESTER ECHEGARAY MD, JORGE    ADDRESS ON FILE
BALLESTER ECHEGARAY MD, JOSE J   ADDRESS ON FILE
BALLESTER FELICIANO, DIANA       ADDRESS ON FILE
BALLESTER FELICIANO, RAFAEL      ADDRESS ON FILE
BALLESTER FELICIANO, YOLANDA     ADDRESS ON FILE
BALLESTER FELIX, VANESSA         ADDRESS ON FILE




                                                                             Page 733 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 734 of 3500
                                                                                                                   Creditor Matrix

Creditor Name                             Address1                                   Address2                                   Address3   Address4   City         State   PostalCode   Country
BALLESTER FUENTES, XAMAITA                ADDRESS ON FILE
BALLESTER GALINDO, ESTHER                 ADDRESS ON FILE
BALLESTER GUERRA, RAQUEL                  ADDRESS ON FILE
BALLESTER HERMANOS , INC.                 WESTGATE INDUSTRIAL PARK CALLE 3 , BARRIO PALMAS                                                            CATANO       PR      00936‐4548
BALLESTER HERMANOS INC/YAROTECK PR LLC    PO BOX 364548                                                                                               SAN JUAN     PR      00936‐4548
BALLESTER IRIZARRY, BLANCA E              ADDRESS ON FILE
BALLESTER IRIZARRY, FERNANDO              ADDRESS ON FILE
BALLESTER JIMENEZ, ILIA M                 ADDRESS ON FILE
BALLESTER KUILAN, DIANA                   ADDRESS ON FILE
BALLESTER KUILAN, ELIUD                   ADDRESS ON FILE
BALLESTER LEON, LUIS E                    ADDRESS ON FILE
BALLESTER MARTINEZ, FRANCISCO             ADDRESS ON FILE
BALLESTER MARTINEZ, KARINA                ADDRESS ON FILE
BALLESTER MELENDEZ, DAVID                 ADDRESS ON FILE
BALLESTER MELENDEZ, JOHANNA               ADDRESS ON FILE
BALLESTER MIRANDA, AUREA                  ADDRESS ON FILE
BALLESTER MIRANDA, JAIME                  ADDRESS ON FILE
BALLESTER ORTIZ, AIDA L                   ADDRESS ON FILE
BALLESTER ORTIZ, MARIO J.                 ADDRESS ON FILE
BALLESTER PEREZ, ALEXANDER                ADDRESS ON FILE
BALLESTER PEREZ, PEDRO                    ADDRESS ON FILE
BALLESTER RIVERA, ANDRES                  ADDRESS ON FILE
BALLESTER RIVERA, RUBEN                   ADDRESS ON FILE
BALLESTER ROCHET, MARITZA                 ADDRESS ON FILE
BALLESTER RODRIGUEZ, NILDA                ADDRESS ON FILE
BALLESTER RODRIGUEZ, NORMA I              ADDRESS ON FILE
BALLESTER RODRIGUEZ, ROBERTO              ADDRESS ON FILE
BALLESTER RUIZ, MYRTELINA                 ADDRESS ON FILE
BALLESTER SALAS, MAGDA                    ADDRESS ON FILE
BALLESTER SALAS, MAGDA S                  ADDRESS ON FILE
BALLESTER SANABRIA, CARLOS                ADDRESS ON FILE
BALLESTER SOSA, BLANCA                    ADDRESS ON FILE
BALLESTER TOMASINI, MARIA DE LOS A.       ADDRESS ON FILE
BALLESTER TORRES, EDGAR                   ADDRESS ON FILE
BALLESTER TROCHE, ROSA                    ADDRESS ON FILE
BALLESTER VALLE, JESSICA                  ADDRESS ON FILE
BALLESTER VAZQUEZ, KENNETH                ADDRESS ON FILE
BALLESTER Y HERMANOS INC                  PO BOX 364548                                                                                               SAN JUAN     PR      00936‐4548
BALLESTERO LOPEZ, NINETTE                 ADDRESS ON FILE
BALLESTERO PASCUAL, GASPAR                ADDRESS ON FILE
BALLESTERO PASCUAL, MONICA                ADDRESS ON FILE
BALLESTEROS REYES, ROSA M.                ADDRESS ON FILE
BALLESTEROS REYES, ROSA M.                ADDRESS ON FILE
BALLET CASTILLO, WILMA I                  ADDRESS ON FILE
BALLET CONCIERTO DE PR                    AREA DEL TESORO                            CONTADURIA GENERAL                                               SAN JUAN     PR      00902
BALLET CONCIERTO DE PR                    AVE DE DIEGO #316                                                                                           SAN JUAN     PR      00909‐1735
BALLET CONCIERTO DE PR                    P O BOX 41265                                                                                               SAN JUAN     PR      00940‐1265
BALLET CONCIERTO DE PR                    PO BOX 13245                                                                                                SAN JUAN     PR      00908
BALLET FOLKLORICO GUAMANIQUE INC          P O BOX 1656                                                                                                MANATI       PR      00674
BALLET JUVENIL PUERTORRIQUEÐO             OLD SAN JUAN                               252 CALLE SAN JOSE                                               SAN JUAN     PR      00901
BALLET JUVENIL PUERTORRIQUENO             OLD SAN JUAN                               252 CALLE SAN JOSE                                               SAN JUAN     PR      00901
BALLET MEDINA, ANDRES                     ADDRESS ON FILE
BALLETEATRO NACIONAL DE PUERTO RICO INC   COND VISTA VERDE                           1200 CARR 849 APT F330                                           SAN JUAN     PR      00924‐4570
BALLHER CORPORATION                       705 AVE PONCE DE LEON                                                                                       SAN JUAN     PR      00907
BALLISTA VERA, ANTONIO                    ADDRESS ON FILE
BALLISTA VERAS, MARILYN                   ADDRESS ON FILE
BALLORI & FARRE                           352 FERNANDO PRIMERO                                                                                        SAN JUAN     PR      00961
BALLORI & FARRE INC                       352 FERNANDO PRIMERO                                                                                        SAN JUAN     PR      00918‐2424
BALLORI & FARRE INC                       URB EL VEDADO                              352 CALLE FERNANDO PRIMERO                                       SAN JUAN     PR      00918
BALLORI & FARRE, INC                      352 CALLE FERNANDO PRIMERO                                                                                  SAN JUAN     PR      00918




                                                                                                                  Page 734 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 735 of 3500
                                                                                                        Creditor Matrix

Creditor Name                           Address1                            Address2                                 Address3   Address4   City           State   PostalCode   Country
BALLORI & FARRE, INC                    BANK TRUST SUITE 160                255 AVE PONCE LEON                                             SAN JUAN       PR      00917
BALLORI & FERRÉ INC                     352 FERNANDO PRIMERO                                                                               SAN JUAN       PR      00918‐2424
BALLORI LAGE, EDUARDO                   ADDRESS ON FILE
BALLORI LAGE, EDUARDO L.                ADDRESS ON FILE
BALLOVERAS SERRANO, RENE                ADDRESS ON FILE
BALLS SUAREZ, MIRIAM                    ADDRESS ON FILE
BALLY ORONA, CORAL                      ADDRESS ON FILE
BALNCA I NIEVES MUNIZ                   P O BOX 6740                                                                                       MAYAGUEZ       PR      00681
BALONCESTO CRIOLLO INC                  403 CALLE DEL PARQUE PISO 8                                                                        SAN JUAN       PR      00907
BALONCESTO EN CONSTANCIA INC            CONSTANCIA                          2352 CALLE EUREKA                                              PONCE          PR      00717
BALONCESTO FEMENINO GIGANTES DE         CAROLINA INC                                                                                       CANOVANAS      PR      00729
BALONCESTO JUVENIL JUNQUENO INC         PO BOX 407                                                                                         JUNCOS         PR      00777
BALONCESTO JUVENIL TOA ALTA INC         P O BOX 429                                                                                        TOA ALTA       PR      00954
BALSA GATO, JUAN                        ADDRESS ON FILE
BALSALOBRE ALONSO MD, DIANA             ADDRESS ON FILE
BALSEIRO AFFORDABLE HOUSING LLC         277 FORDHAM ST UNIVERSITY GARDENS                                                                  SAN JUAN       PR      00927
BALSEIRO ASTOR, DORIS L                 ADDRESS ON FILE
BALSEIRO ASTOR, NORALIS                 ADDRESS ON FILE
BALSEIRO CHACON, REBECA                 ADDRESS ON FILE
BALSEIRO CHACON, REBECA                 ADDRESS ON FILE
BALSEIRO CRUZ, CYHARA                   ADDRESS ON FILE
BALSEIRO DE CAMPOS, ANA Y               ADDRESS ON FILE
BALSEIRO DIAZ, ADOLFINA                 ADDRESS ON FILE
BALSEIRO MELENDEZ, ANGEL M              ADDRESS ON FILE
BALSEIRO RIVERA, MARITZA                ADDRESS ON FILE
BALSEIRO RODRIGUEZ, NYDIA               ADDRESS ON FILE
BALTAZAR A COSSIO ARMAIZ                ADDRESS ON FILE
BALTAZAR J LOZADA PANTOJAS              ADDRESS ON FILE
BALTAZAR JIMENEZ SERRANO                ADDRESS ON FILE
BALTAZAR RUIZ                           ADDRESS ON FILE
BALUANT FOOD & BEVERAGES SERV           PO BOX 1542                                                                                        HATO REY       PR      00919
BALZAC BETANCOURT, PIERRE               ADDRESS ON FILE
BALZAC CARPENA, JOSE                    ADDRESS ON FILE
BALZAC CUEBAS, ELISA                    ADDRESS ON FILE
BALZAC CUEBAS, NANCY M                  ADDRESS ON FILE
BALZAC FIOL, JACQUELINE                 ADDRESS ON FILE
BALZAC GONZALEZ, EUGENIO                ADDRESS ON FILE
BALZAC HERNANDEZ, DOLORES               ADDRESS ON FILE
BALZAC HERNANDEZ, DOLORES               ADDRESS ON FILE
BALZAC RUIZ, ROXANA                     ADDRESS ON FILE
BALZAC SANCHEZ, LUIS M.                 ADDRESS ON FILE
BAMARIS VELAZQUEZ                       ADDRESS ON FILE
BAMBINI DAY CARE                        HC 12 BOX 7346                                                                                     HUMACAO        PR      00791
BAMBINI PARLANO THERAPY & LEARNING CTR URB COLINAS                          C/TRES PISTACHOS S‐1                                           TOA BAJA       PR      00949
BAMBU BURGER CATIN GRILL                URB PASEO LOS CORALES               658 CALLE CABO DE HORNOS                                       DORADO         PR      00646
BAMHAOUD BANUCHI, JOSE                  ADDRESS ON FILE
BAN BAN AND PEBBLES DAY CARE            PO BOX 1166                                                                                        MAYAGUEZ       PR      00681‐3916
BANADERA DON RAMON                      ADDRESS ON FILE
BANANA CAFE & PIANO BAR                 500 8th ST., SE                                                                                    WASHINGTON     DC      20003
BANCA ESCOLAR CABO ROJO / MARIA BORRERO P O BOX 1858                                                                                       CABO ROJO      PR      00623
BANCH ECHEVARRIA, ALBERTO I             ADDRESS ON FILE
BANCH MARTINEZ, JAIME D                 ADDRESS ON FILE
BANCH PAGAN, ERWIN J                    ADDRESS ON FILE
BANCH PAGAN, IVETTE                     ADDRESS ON FILE
BANCH PAGAN, JAIME A                    ADDRESS ON FILE
BANCH PLAZA, PIEL                       ADDRESS ON FILE
BANCHERO APONTE, MARIA                  ADDRESS ON FILE
BANCHS ALEMAN, JOSE A                   ADDRESS ON FILE
BANCHS ALEMAN, MILTON                   ADDRESS ON FILE
BANCHS ALVARADO, MARGARITA              ADDRESS ON FILE




                                                                                                       Page 735 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                            Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 736 of 3500
                                                                                                                    Creditor Matrix

Creditor Name                             Address1                                   Address2                                    Address3                Address4                City         State   PostalCode   Country
BANCHS ALVARADO, ROSA                     ADDRESS ON FILE
BANCHS CABRERA, MARIA J                   ADDRESS ON FILE
BANCHS CEDENO, JUAN C.                    ADDRESS ON FILE
BANCHS FIGUEROA, JAIME                    ADDRESS ON FILE
BANCHS GARCIA, ALEXANDER                  ADDRESS ON FILE
BANCHS LOPEZ, MARISABEL                   ADDRESS ON FILE
BANCHS LOPEZ, MINITA V                    ADDRESS ON FILE
BANCHS LOPEZ, MONICA                      ADDRESS ON FILE
BANCHS MALDONADO, JAIME                   ADDRESS ON FILE
Banchs Maldonado, Jaime                   ADDRESS ON FILE
BANCHS MARTINEZ, LISETTE                  ADDRESS ON FILE
BANCHS MARTINEZ, ROSA A                   ADDRESS ON FILE
BANCHS PAGAN MD, WALTER                   ADDRESS ON FILE
BANCHS PASCUALLI, HECTOR I                ADDRESS ON FILE
BANCHS PERDOMO, EDGAR                     ADDRESS ON FILE
BANCHS PIERETTI, MILDRED                  ADDRESS ON FILE
BANCHS PIETRI MD, HECTOR L                ADDRESS ON FILE
BANCHS PLAZA, JONG                        ADDRESS ON FILE
BANCHS PLAZA, JONG PIEL                   ADDRESS ON FILE
BANCHS RAMOS, EDNA                        ADDRESS ON FILE
BANCHS ROBLEDO, LUIS                      ADDRESS ON FILE
BANCHS RODRIGUEZ, MIGDALIA                ADDRESS ON FILE
BANCHS RODRIGUEZ, MIGDALIA                ADDRESS ON FILE
BANCHS RULLAN, WANDA I                    ADDRESS ON FILE
BANCHS SANDOVAL, JORGE                    ADDRESS ON FILE
Banchs Sandoval, Jorge A                  ADDRESS ON FILE
BANCHS SANDOVAL, RAMON                    ADDRESS ON FILE
BANCHS SEDA MD, RUBEN C                   ADDRESS ON FILE
BANCHS SOLES, ANTHONY                     ADDRESS ON FILE
BANCHS SOLES, MARIA                       ADDRESS ON FILE
BANCHS VINAS, ENITH                       ADDRESS ON FILE
BANCHS VINAS, HECTOR                      ADDRESS ON FILE
BANCO BILBAO VISCAYA                      LIC. LUIS RIVERA MARTINEZ                  RR6 BOX 11358                                                                               SAN JUAN     PR      00926
BANCO BILBAO VIZCAYA                      AREA DE OPERACION CENTRALIZADAS            120 CENTRO IND MINILLAS CARR 174                                                            BAYAMON      PR      00959
BANCO BILBAO VIZCAYA                      I VAN APONTE FIGUEROA                      650 Plaza Building Suite 502                650 Ave. Muñoz Rivera                           San Juan     PR      00918
                                                                                                                                 650 AVENIDA MUÑOZ
BANCO BILBAO VIZCAYA                       LCDO. IVAN APONTE FIGUEROA                  650 PLAZA STE 204                         RIVERA                                          SAN JUAN     PR      00918
BANCO BILBAO VIZCAYA                       LUIS A. CARRIÓN TAVÁREZ E IVÁN APONTE FIGUE650 Plaza                                  Suite 204               650 Ave. Muñoz Rivera   San Juan     PR      00918
BANCO BILBAO VIZCAYA                       P O BOX 364745                              SUC PONCE LAS AMERICAS                                                                    SAN JUAN     PR      00936‐4745
BANCO BILBAO VIZCAYA /ORIENTAL BANK Y INTE LCDO. LUIS RIVERA MARTINEZ                  RR 17 BOX 11358                                                                           SAN JUAN     PR      00926‐9499
BANCO BILBAO VIZCAYA ARGENTARIA, ET. ALS. LIC. LUIS CARRION TAVAREZ                    650 PLAZA SUITE 204 650 AVE. MUÑOZ RIVERA                                                 SAN JUAN     PR      00918
BANCO BILBAO VIZCAYA‐ PRAICO               LUIS RIVERA MARTINEZ                        RR 17 BOX 11358                                                                           SAN JUAN     PR      00926‐9499
BANCO BILBAO VIZCAYA Y UNIVERSAL INSURANCLCDO. LUIS A. CARRION TAVAREZ LCDO. IVAN AP 650 PLAZA SUITE 204 650 AVE. MUNOZ RIVERA                                                   SAN JUAN     PR      00918
BANCO BILBAO VIZCAYA Y UNIVERSAL INSURANCLIC KEILA ORTEGA CASALS Y LIC FRANCIS T. PAGA 1509 CALLE OPEZ LANDRON AMERICAN AIRLINE BUILDING SUITE 1200                              SAN JUAN     PR      00911
BANCO BILBAO VIZCAYA, PUERTO RICAN AMERICLCDO. LUIS RIVERA MARTÍNEZ                    R.R. 17 Box 11358                                                                         San Juan     PR      00926‐9499
BANCO COOPERATIVO                          PO BOX 366249                                                                                                                         SAN JUAN     PR      00936‐6249
BANCO COOPERATIVO DE PR                    PO BOX 366249                                                                                                                         SAN JUAN     PR      00936‐6249
BANCO COOPERATIVO DE PUERTO RICO           ATT: SRA. IVETTE TORRES                     PO BOX 366249                                                                             SAN JUAN     PR      00936‐6249
BANCO DE ALIMENTOS DE PUERTO RICO          URB INDUSTRIAL MARGINAL 9                   CONEJOS HATO TEJAS                                                                        BAYAMON      PR      00960‐2989
BANCO DE DESARROLLO ECONOMICO PARA P.R. P.O. BOX 2134                                                                                                                            SAN JUAN     PR      00922‐2134
BANCO GUBERNAMENTAL DE FOMENTO             AREA DEL TESORO                             DIVISION DE RECLAMACIONES                                                                 SAN JUAN     PR      00902‐4140
BANCO GUBERNAMENTAL DE FOMENTO             DIV. CUENTAS DE DEPOSITO                    PO BOX 42001                                                                              SAN JUAN     PR      00940‐2001
BANCO GUBERNAMENTAL DE FOMENTO             PO BOX 42001                                                                                                                          SAN JUAN     PR      00940
BANCO GUBERNAMENTAL DE FOMENTO             PO BOX SAN JUAN PR 00940‐2001                                                                                                         SAN JUAN     PR      00940‐2001
Banco Popular                              Agelica Toro                                209 Ponce de León Ave. 9th Floor                                                          Hato Rey     PR      00918
BANCO POPULAR                              VELMA DIAZ CARRASQUILLO                     PO BOX 361508                                                                             SAN JUAN     PR      00936‐1508
BANCO POPULAR 110035372                    RUTA DE TRANSITO 021502011                                                                                                                         PR      00000
BANCO POPULAR DE PR                        LCDA. LETICIA DAVILA CRUZ                   LCDA. LETICIA DAVILA CRUZ 10 CALLE SAN RAFAEL                                             FAJARDO      PR      00738
BANCO POPULAR DE PR                        LCDA. ZWINDA M. IGELSIAS GARCIA             CITI TOWERS SUITE 1501 252                  Ponce DE LEON                                 SAN JUAN     PR      00918
BANCO POPULAR DE PR                        LCDO. DANIEL NAZARIO NEGRON                 DANIEL NAZARIO NEGRON 70 CALLEOGRESO E.                                                   FAJARDO      PR      00738




                                                                                                                   Page 736 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 737 of 3500
                                                                                                              Creditor Matrix

Creditor Name                           Address1                             Address2                                  Address3               Address4   City         State   PostalCode   Country
BANCO POPULAR DE PR                     LCDO. GUSTAVO A. QUINONES PINTO      LCDO. GUSTAVO A. QUIÑONES PINTO: 502 AVE SANTIAGO IGLESIAS PANTIN           FAJARDO      PR      00738
BANCO POPULAR DE PR                     PO BOX 362708                        STE 932                                                                     SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PR.                    VELMA DIAZ CARRASQUILLO              PO BOX 361508                                                               SAN JUAN     PR      00936‐1508
BANCO POPULAR DE PR/SPECIAL LOANS 753   INMOBILIARIA CRESPO CORP             PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            15 OESTE CALLE MENDEZ VIGO                                                                                       MAYAGUEZ     PR      00680
BANCO POPULAR DE PUERTO RICO            ‐746 CORP RESEARCH TRAINING          PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            975 AVENIDA HOSTOS                   SUITE 2000                                                                  MAYAGUEZ     PR      00682‐1262
BANCO POPULAR DE PUERTO RICO            A/C ANA VALLE CRUZ                   PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            AREA DE TESORO                       DIVISION DE RECLAMACIONES                                                   SAN JUAN     PR      00902‐4140
BANCO POPULAR DE PUERTO RICO            AVENIDA MUNOZ RIVERA 209                                                                                         HATO REY     PR      00918
BANCO POPULAR DE PUERTO RICO            BANCO POPULAR DE PR ALTAMIRA         PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            C/O IVELISSE V LUGO                  BANCO POPULAR 414                             PO BOX 362708                 SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            C/O MARIA M SUAREZ DIAZ              PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            CONTABILIDAD DE ADMINISTRACION 943   PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            DIV PREST ESP CLAVE ENVIO 491        P O BOX 362708                                                              SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            DIV PRESTAMOS HIPOTECARIOS           P O BOX 362708                                                              SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            EDIFICIO PONCE PLAZA, ESQ            CALLE COMERCIO                                                              PONCE        PR      00731
BANCO POPULAR DE PUERTO RICO            GUAYAMA MALL 323                     PO BOX 362708                                                               SAN JUAN     PR      00960
BANCO POPULAR DE PUERTO RICO            MAYAGUEZ SUAU BRANCH                 PO BOX 1720                                                                 MAYAGUEZ     PR      00681‐1720
BANCO POPULAR DE PUERTO RICO            MORTGAGE SERVICING                   PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            OPERACIONES SERV COMERCIALES         634‐PO BOX 362708                                                           SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            P O BOX 362708                       748 BANCA CORPORATIVA                                                       SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            PO BOX 326708                                                                                                    SAN JUAN     PR      00936‐2708
Banco Popular de Puerto Rico            PO BOX 362708                                                                                                    San Juan     PR      00936
BANCO POPULAR DE PUERTO RICO            PO BOX 362708                        LATE STAGE CLAVE DE ENVIO 749                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            SUC PARQUE ESCORIAL                  PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            SUCURSAL ALTAMIRA                    PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            SUCURSAL CAROLINA HIGHWAY 104        PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR DE PUERTO RICO            URB CONDOMINIO MODERNO               14 CALLE AMAPOLA                                                            CAGUAS       PR      00725
BANCO POPULAR PR                        PO BOX 362708                                                                                                    SAN JUAN     PR      00936
BANCO POPULAR PR‐CARD PRODUCTS          DIVISION DE TARJETAS                 P O BOX 70100                                                               SAN JUAN     PR      00936‐7100
BANCO POPULAR PUERTO RICO               209 MUÐOZ RIVERA                                                                                                 SAN JUAN     PR      00918
BANCO POPULAR PUERTO RICO               209 MUNOZ RIVERA                                                                                                 SAN JUAN     PR      00918
BANCO POPULAR PUERTO RICO               AREA DE TESORO                       DIVISION DE REGLAMACIONES                                                   SAN JUAN     PR      00902‐4140
BANCO POPULAR PUERTO RICO               AREA DE TESORO                       DIVISION DE CONCILIACION                                                    SAN JUAN     PR      00902‐4140

                                                                                                                           C/O FRANCISCO
BANCO POPULAR PUERTO RICO               BANCO POPULAR DE PUERTO RICO         EXPRESO MINILLAS CLAVE 216                    BETANCOURT ‐ GERENTE          SAN JUAN     PR      00936‐2708
BANCO POPULAR PUERTO RICO               C/O ROSA SEPULVEDA                   PO BOX 362708                                                               SAN JUAN     PR      00936
BANCO POPULAR PUERTO RICO               CLAVE 629 ABANDONED PROPERTY         PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR PUERTO RICO               CONTABILIDAD DE ADM ( 943)           PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR PUERTO RICO               DIV DOCUMENTOS LEGALES 761           PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR PUERTO RICO               JOSE R HERNANDEZ TORRES              PO BOX 362708                                                               SAN JUAN     PR      00936‐2708
BANCO POPULAR PUERTO RICO               P O BOX 11855                        ESTACION FERNANDEZ                                                          SAN JUAN     PR      00910‐3855
BANCO POPULAR PUERTO RICO               P O BOX 191879                                                                                                   SAN JUAN     PR      00919‐1879
BANCO POPULAR PUERTO RICO               P O BOX 549                                                                                                      GUAYAMA      PR      00785
BANCO POPULAR PUERTO RICO               P O BOX 9024275                                                                                                  SAN JUAN     PR      00902‐4275
BANCO POPULAR PUERTO RICO               PO BOX 21365                                                                                                     SAN JUAN     PR      00928‐1365
BANCO POPULAR PUERTO RICO               PO BOX 362708                                                                                                    SAN JUAN     PR      00936‐2708
BANCO POPULAR PUERTO RICO               PO BOX 363228                                                                                                    SAN JUAN     PR      00936
BANCO POPULAR PUERTO RICO               PO BOX 60 307                                                                                                    BAYAMON      PR      00956
BANCO POPULAR PUERTO RICO               PO BOX 70100                                                                                                     SAN JUAN     PR      00936
BANCO POPULAR PUERTO RICO               POPULAR CENTER SUITE 400             209 AVE MUNOZ RIVERA                                                        SAN JUAN     PR      00918
BANCO POPULAR V DEPARTAMENTO DE LA VIVIELCDA ZWINDA IGLESIAS                 PO BOX 364908                                                               SAN JUAN     PR      00936‐4908
BANCO SANTANDER ‐ PUERTO RICO           PO BOX 362589                                                                                                    SAN JUAN     PR      00936‐2589
BANCO SANTANDER DE PR                   221 AVE. PONCE DE LEON                                                                                           SAN JUAN     PR      00919
BANCO SANTANDER DE PR                   AREA DEL TESORO                      DIVISION DE RECLAMACIONES                                                   SAN JUAN     PR      00902‐4140
BANCO SANTANDER DE PR                   BANCO SANTANDER/RAFAEL MURATTI       PO BOX 362589                                                               SAN JUAN     PR      00936‐2589
BANCO SANTANDER DE PR                   P O BOX 362589                                                                                                   SAN JUAN     PR      00936‐2589
BANCO SANTANDER DE PR                   PO BOX 191790                                                                                                    SAN JUAN     PR      00919‐1790




                                                                                                             Page 737 of 10031
                                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                                  Exhibit A-1 - Creditor
                                                                                      Case No.Matrix
                                                                                              17 BK 3283‐LTSPage 738 of 3500
                                                                                                                     Creditor Matrix

Creditor Name                                Address1                                 Address2                                    Address3    Address4   City              State   PostalCode   Country
BANCO SANTANDER DE PR                        SUCURSAL SAN PABLO                       PO BOX 362589                                                      SAN JUAN          PR      00936‐2589
BANCO SANTANDER PUERTO RICO                  207 AVE. PONCE DE LEON                                                                                      SAN JUAN          PR      00917
BANDA ALBERTO MELENDEZ TORRES INC            PO BOX 1450                                                                                                 OROCOVIS          PR      00720
BANDA COMUNITARIA SAN SEBASTIAN              CALLE 2 JUAN F. CORTES                   SUITE #2                                                           SAN SEBASTIAN     PR      00685
BANDA COMUNITARIA SAN SEBASTIAN INC          URB VENTURINI                            A 32 CALLE 5                                                       SAN SEBASTIAN     PR      00685
BANDA COMUNITARIA SAN SEBASTIAN, INC         2 CALLE JUAN F. CORTES                   SUITE #2                                                           SAN SEBASTIAN     PR      00685
BANDA ESCOLAR DE PENUELAS                    CARR 132 KM 5 5                                                                                             PENUELAS          PR      00624
BANDA MUNICIPAL DE GURABO                    PMB 408                                  PO BOX 3080                                                        GURABO            PR      00778
BANDA Y SUS BATUTERAS/TOMAS LOPEZ VARGA 61 CARR VALDES                                                                                                   ADJUNTAS          PR      00601
BANDA Y SUS BATUTERAS/TOMAS LOPEZ VARGA 9 CALLE ENRIQUE SANABRIA                                                                                         ADJUNTAS          PR      00601
BANDAS DEL PILAR, RAUL E                     ADDRESS ON FILE
BANDAS DELGADO, KAMIL A                      ADDRESS ON FILE
BANDAS MELENDEZ, KELVIN                      ADDRESS ON FILE
BANDAS VEGA, MAITE                           ADDRESS ON FILE
BANDEALY MD, KARAMALI                        ADDRESS ON FILE
BANDS MD , ROY E                             ADDRESS ON FILE
BANEGAS BARCELO, ANTHONY                     ADDRESS ON FILE
BANEGAS BARCELO, JOSEPH                      ADDRESS ON FILE
BANEGAS CABELLO, DOLORES                     ADDRESS ON FILE
BANERJEE CHATTERJEE, JAYANTA                 ADDRESS ON FILE
BANESCO INTERNATIONAL BANK CORP              165 AVE PONCE DE LEON SUITE 302                                                                             SAN JUAN          PR      00917
BANESSA MARCANO CAMIS                        ADDRESS ON FILE
BANFIN REALTY CORP                           BANCO NACIONAL PLAZA STE 1503                                                                               SAN JUAN          PR      00917
BANFIN REALTY S E                            431 AVE PONCE DE LEON STE 702                                                                               SAN JUAN          PR      00917
BANFIN REALTY S E                            AREA DE TESORO                           DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
BANFIN REALTY S E                            PO BOX 195579                                                                                               SAN JUAN          PR      00919‐5579
BANFIN REALTY S.E.                           EDIF NATIONAL PLAZA                      AVE PONCE DE LEON 43                        SUITE 702              SAN JUAN          PR      00917
BANGDIWALA ALICEA, PETER                     ADDRESS ON FILE
BANGDIWALA SUKHADIA MD, DWEEPKUMAR I ADDRESS ON FILE
BANI CORPORATION                             PO BOX 874                                                                                                  RINCON            PR      00677
BANK OF AMERICA                              RECOVERY OFFICE                          125 DUPONT DR R11‐121‐01‐30                                        PROVIDENCE        RI      02907
BANK OF AMERICA                              RECOVERY UP 401 NORTH TRYON ST           NC1 021‐06‐40                                                      CHARLOTTE         NC      28255
Bankers Warranty Group, Inc., of Puerto Rico 11101 Roosevelt Blvd N                                                                                      St. Petersburg    FL      33716
Bankers Warranty Group, Inc., of Puerto Rico Attn: Dawn Morris, President             11101 Roosevelt Blvd. N                                            St. Petersburg    FL      33716
Bankers Warranty Group, Inc., of Puerto Rico Attn: Jeffrey Karfonta, Vice President   11101 Roosevelt Blvd. N                                            St. Petersburg    FL      33716
Bankers Warranty Group, Inc., of Puerto Rico Attn: Kevin Rupkey, President            11101 Roosevelt Blvd. N                                            St. Petersburg    FL      33716
BANKRUPTCY ESTATE OF PETRIE RETAIL           PO BOX 8338                                                                                                 ROLLING MEADOWS   IL      60008
BANKS BEAUBRAUTH, HAYDEE                     ADDRESS ON FILE
BANKS CRUZ, MARIA V                          ADDRESS ON FILE
BANKS ESPINOSA, ZAHIRA                       ADDRESS ON FILE
BANKS GARCIA, LUZ                            ADDRESS ON FILE
BANKS IRIZARRY, SUSANNE DEL C                ADDRESS ON FILE
BANKS LOPEZ, JOSEPH N                        ADDRESS ON FILE
BANKS MOJICA, CARMEN                         ADDRESS ON FILE
BANKS QUINONES, PEDRO                        ADDRESS ON FILE
BANKS REYES, ALEXANDRA                       ADDRESS ON FILE
BANKS RIVAS, JUDITH                          ADDRESS ON FILE
BANKS RODRIGUEZ, JOSEPH                      ADDRESS ON FILE
BANKS RODRIGUEZ, RAFAEL                      ADDRESS ON FILE
BANKS RODRIGUEZ, RICHARD A                   ADDRESS ON FILE
BANKS SANTIAGO, JOSHUA                       ADDRESS ON FILE
BANKS SANTOS, HARRY                          ADDRESS ON FILE
Banner Life Insurance Company                3275 Bennett Creek Avenue                                                                                   Frederick         MD      21704
Banner Life Insurance Company                Legal & General America                  3275 Bennett Creek Avenue                                          Frederick         MD      21704
BANOLA CLAUDIO, LUCY                         ADDRESS ON FILE
BAÑON SACRISTAN MD, CARLOS                   ADDRESS ON FILE
BANOS CRUZ, ELSA                             ADDRESS ON FILE
BANOS CRUZ, NORMA I                          ADDRESS ON FILE
BANOS DE COAMO                               PO BOX 540                                                                                                  COAMO             PR      00640
BANOS GONZALEZ, MAGALLY                      ADDRESS ON FILE




                                                                                                                    Page 738 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 739 of 3500
                                                                                               Creditor Matrix

Creditor Name                     Address1                        Address2                                  Address3   Address4   City           State   PostalCode   Country
BANOS OJEDA, GLADYS V.            ADDRESS ON FILE
Banos Santiago, Gilberto          ADDRESS ON FILE
BANOS SANTIAGO, IVAN              ADDRESS ON FILE
BANQUETES Y ALGO MAS              PO BOX 612                                                                                      PEÐUELAS ,     PR      00625‐0000
BANQUETES Y ALGO MAS              PO BOX 612                                                                                      PENUELAS       PR      00625
BANREY APONTE, NANCY              ADDRESS ON FILE
BANREY DAVILA, NOELIA             ADDRESS ON FILE
BANREY ESCALERA, DHARMA           ADDRESS ON FILE
BANUCHI ABRAM, BRIAN              ADDRESS ON FILE
BANUCHI GONZALEZ, GLADYS          ADDRESS ON FILE
BANUCHI HERNANDEZ, JORGE A        ADDRESS ON FILE
BANUCHI HERNANDEZ, JOSE H.        ADDRESS ON FILE
BANUCHI MORALES, GILBERTO         ADDRESS ON FILE
BANUCHI PONS, JUAN                ADDRESS ON FILE
BANUCHI RIOS, CYNTHIA             ADDRESS ON FILE
BANUCHI SANTOS, JACQUELINE        ADDRESS ON FILE
BANUCHI SANTOS, JAYSEEN           ADDRESS ON FILE
BANUCHI SOTO, REBECCA             ADDRESS ON FILE
BANUCHI VARGAS, JAIME             ADDRESS ON FILE
BANUCI MALDONADO MD, MARELSA      ADDRESS ON FILE
BAO QU INC                        359 CALLE SALDANA               APT 3 A                                                         SAN JUAN       PR      00912
BAPTIST HOSPITAL OF MIAMI         HEALTH INF MANAGEMENT COR SVC   8900 N KENDALL DR                                               MIAMI          FL      33176‐2197
BAPTIST MEDICAL CENTER            PO BOX 409822                                                                                   ATLANTA        GA      30384‐9822
BAPTIST PRIMARY CARE REGENCY SQ   2250 FOURTH AVE STE 105                                                                         SAN DIEGO      CA      92101
BAQUERIZO FIGUEROA, DORA E        ADDRESS ON FILE
BAQUERO ALVAREZ MD, RAFAEL A      ADDRESS ON FILE
BAQUERO LLERA, GLORIA             ADDRESS ON FILE
BAQUERO LLERAS MD, NITZA          ADDRESS ON FILE
BAQUERO MARTORELL, ROSA           ADDRESS ON FILE
BAQUERO NAVARRO, MYRNA            ADDRESS ON FILE
BAQUERO OLIVENCIA, VIVIANA        ADDRESS ON FILE
BAQUERO OLIVENCIA, VIVIANA M.     ADDRESS ON FILE
BAQUERO OLIVENCIA, VIVIANA M.     ADDRESS ON FILE
BAQUERO TORRES, MARIA M           ADDRESS ON FILE
BARADA ARROYO, CARLOS A           ADDRESS ON FILE
BARADA CASTRO, MICHELLE V.        ADDRESS ON FILE
BARADA ESTRELLA, EDUARDO G        ADDRESS ON FILE
Barada Fernandez, Arelis          ADDRESS ON FILE
BARADA OLIVERAS, EDUARDO G.       ADDRESS ON FILE
BARADA RIVAS, RAQUEL              ADDRESS ON FILE
BARADA RIVERA, ELIZABETH          ADDRESS ON FILE
BARADA VIERA, LIANE               ADDRESS ON FILE
BARADA, CARMEN                    ADDRESS ON FILE
BARAGANO CESINO, RAFAEL A         ADDRESS ON FILE
Barahona Batista, Carol Melissa   ADDRESS ON FILE
BARAHONA GAITAN, WARNER           ADDRESS ON FILE
Barahona Gaitan, Warner O         ADDRESS ON FILE
BARAJAS JIMENEZ, ABNER            ADDRESS ON FILE
BARALT CONSULTING SERVICES INC    URB CROWN HLS                   138 AVE WINSTON CHURCHILL                                       SAN JUAN       PR      00926‐6013
BARALT DE JIMENEZ, AURORA         ADDRESS ON FILE
BARALT FERRER, PEDRO J            ADDRESS ON FILE
BARALT FERRER, PEDRO J.           ADDRESS ON FILE
BARALT SOLDEVILA, JORGE           ADDRESS ON FILE
BARALT SUAREZ, CARLOS R           ADDRESS ON FILE
BARANDA PEREZ, MAGDALENE          ADDRESS ON FILE
BARASORDA BARCELO, ANTONIO        ADDRESS ON FILE
BARASORDA TORRES, CELINA          ADDRESS ON FILE
BARASORDA VIERA, ELIGIO           ADDRESS ON FILE
BARB MD , HERMAN T                ADDRESS ON FILE
BARBA GARCIA, PEDRO               ADDRESS ON FILE




                                                                                              Page 739 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 740 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARBA RODRIGUEZ, SULIMA              ADDRESS ON FILE
BARBA, GUSTAVO                       ADDRESS ON FILE
BARBARA A RODRIGUEZ ALICEA           ADDRESS ON FILE
BARBARA A SCHMALZER                  ADDRESS ON FILE
BARBARA A TANNEHILL PLAUD            ADDRESS ON FILE
BARBARA ADAMES GUZMAN                ADDRESS ON FILE
BARBARA ADORNO GUZMAN                ADDRESS ON FILE
BARBARA ALONSO COLON                 ADDRESS ON FILE
BARBARA ALVARADO HERNANDEZ           ADDRESS ON FILE
BARBARA B MEDINA MATOS               ADDRESS ON FILE
BARBARA BARRETO HERNANDEZ            ADDRESS ON FILE
BARBARA BELL CORTES                  ADDRESS ON FILE
BARBARA C PEREZ SANTOS               ADDRESS ON FILE
BARBARA CAPESTANY FIGUEROA           ADDRESS ON FILE
BARBARA CAPESTANY FIGUEROA           ADDRESS ON FILE
BARBARA CARABALLO BURGOS             ADDRESS ON FILE
BARBARA CASTRO RODRIGUEZ             ADDRESS ON FILE
BARBARA CASTRO RODRIGUEZ             ADDRESS ON FILE
BARBARA CINTRON MONTALVO             ADDRESS ON FILE
BARBARA COLON RAMOS                  ADDRESS ON FILE
BARBARA CRUZ MUNIZ                   ADDRESS ON FILE
BARBARA CUEVAS CANDELARIA            ADDRESS ON FILE
BARBARA D SANTOS RIVERA              ADDRESS ON FILE
BARBARA DECENE LOPEZ                 ADDRESS ON FILE
BARBARA DUPERON RODRIGUEZ            ADDRESS ON FILE
BARBARA DUPERON RODRIGUEZ            ADDRESS ON FILE
BARBARA E GONZALEZ VAZQUEZ           ADDRESS ON FILE
BARBARA E RODRIGUEZ ORTIZ            ADDRESS ON FILE
BARBARA E TORRES APONTE              ADDRESS ON FILE
BARBARA E TORRES CARRASQUILLO        ADDRESS ON FILE
BARBARA E. GONZALEZ VAZQUEZ          ADDRESS ON FILE
BARBARA ESCARFULLERYS RIVERA         ADDRESS ON FILE
BARBARA FIGUEROA PADILLA             ADDRESS ON FILE
BARBARA FIGUEROA PADILLA             ADDRESS ON FILE
BARBARA G MAURY TORRES               ADDRESS ON FILE
BARBARA G UMPIERRE GARCIA            ADDRESS ON FILE
BARBARA G. ARZOLA RODRIGUEZ          ADDRESS ON FILE
BARBARA GARCIA TORRES                ADDRESS ON FILE
BARBARA GUTIERREZ DEL ARROYO COLON   ADDRESS ON FILE
BARBARA HERNANDEZ RIVERA             ADDRESS ON FILE
BARBARA I COLON SANCHEZ              ADDRESS ON FILE
BARBARA I RUIZ VELAZQUEZ             ADDRESS ON FILE
BARBARA IRIZARRY VELEZ               ADDRESS ON FILE
BARBARA IRIZARRY VELEZ               ADDRESS ON FILE
BARBARA J RIVERA CRUZ                ADDRESS ON FILE
BARBARA J RIVERA CRUZ                ADDRESS ON FILE
BARBARA K LOPEZ VAZQUEZ              ADDRESS ON FILE
BARBARA LOPEZ RODRIGUEZ              ADDRESS ON FILE
BARBARA LUNA GUTIERREZ               ADDRESS ON FILE
BARBARA M BANEGAS MALDONADO          ADDRESS ON FILE
BARBARA M COLON COLON                ADDRESS ON FILE
BARBARA M DACHMAN SANDLER            ADDRESS ON FILE
BARBARA M DAVILA RIVERA              ADDRESS ON FILE
BARBARA M DAVILA RIVERA              ADDRESS ON FILE
BARBARA M MELENDEZ RUBILDO           ADDRESS ON FILE
BARBARA M OTERO VAZQUEZ              ADDRESS ON FILE
BARBARA M RODRIGUEZ TORRES           ADDRESS ON FILE
BARBARA M. COLON RAMOS               ADDRESS ON FILE
BARBARA M. HERNANDEZ VIRO            ADDRESS ON FILE
BARBARA MEDINA BETANCOURT            ADDRESS ON FILE




                                                                                 Page 740 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 741 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARBARA MEYER                        ADDRESS ON FILE
BARBARA N CARBONELL BURGOS           ADDRESS ON FILE
BARBARA O GUERRIDO TIRADO            ADDRESS ON FILE
BARBARA OCASIO RAMOS                 ADDRESS ON FILE
BARBARA ODENCIA / DARREL J HUGGINS   ADDRESS ON FILE
BARBARA ORTIZ RUIZ                   ADDRESS ON FILE
BARBARA OTERO MOJICA                 ADDRESS ON FILE
BARBARA P MALDONADO COLON            ADDRESS ON FILE
BARBARA PEREZ DELGADO                ADDRESS ON FILE
BARBARA R BORRERO TORRES             ADDRESS ON FILE
BARBARA RAMIREZ DE JESUS             ADDRESS ON FILE
BARBARA RAMIREZ DE JESUS             ADDRESS ON FILE
BARBARA REPOLLET TIRADO              ADDRESS ON FILE
BARBARA REYES TALAVERA               ADDRESS ON FILE
BARBARA RIOS TORRES                  ADDRESS ON FILE
BARBARA RIVERA RIVERA                ADDRESS ON FILE
BARBARA RUIZ ACUNA                   ADDRESS ON FILE
BARBARA RYSZ                         ADDRESS ON FILE
BARBARA S MONTUFAN CASTRO            ADDRESS ON FILE
BARBARA SANDOVAL MONTIJO             ADDRESS ON FILE
BARBARA SANTANA HUERTAS              ADDRESS ON FILE
BARBARA T VAZQUEZ RIVERA             ADDRESS ON FILE
BARBARA TORRES                       ADDRESS ON FILE
BARBARA TORRES TORRES                ADDRESS ON FILE
BARBARA VELAZQUEZ HERNANDEZ          ADDRESS ON FILE
BARBARA VIENTOS CHAPARRO             ADDRESS ON FILE
BARBARA VILLALONA VIERA              ADDRESS ON FILE
BARBARA Y BODRE MENA                 ADDRESS ON FILE
BARBARA Y LOPEZ GONZALEZ             ADDRESS ON FILE
BARBARA Z HERNANDEZ RUIZ             ADDRESS ON FILE
BARBARITA BAEZ MIRANDA               ADDRESS ON FILE
BARBAROSSA ORTIZ, TANIA              ADDRESS ON FILE
BARBECHO BERBECHO, MARCO             ADDRESS ON FILE
BARBEITO CAMBIELLA, ANDRES A.        ADDRESS ON FILE
BARBEITO FIGUERAS, LUCY              ADDRESS ON FILE
BARBENES SANTIAGO, VICTOR            ADDRESS ON FILE
Barber Cancel, Jose L                ADDRESS ON FILE
BARBER FIGUEROA, OSCAR               ADDRESS ON FILE
BARBER MIRANDA, LARRY                ADDRESS ON FILE
BARBERAN GONZALEZ, IRIS D            ADDRESS ON FILE
BARBERAN REYES, ALBERTO              ADDRESS ON FILE
BARBERAN SIERRA, TERESA              ADDRESS ON FILE
BARBERAN SIERRA, VICTORI             ADDRESS ON FILE
BARBERAN, VICTOR                     ADDRESS ON FILE
BARBERENA AVILA, JOSHUA              ADDRESS ON FILE
BARBERENA AVILA, JOSHUA              ADDRESS ON FILE
BARBERENA AVILA, JUAN                ADDRESS ON FILE
BARBERI BELTRAN, MARICELA            ADDRESS ON FILE
BARBERIA JOSE RAFAEL VELEZ           ADDRESS ON FILE
BARBERIA LOS AMIGOS                  ADDRESS ON FILE
BARBES CAMINERO, ANGELA L            ADDRESS ON FILE
BARBES CRESPO, GEORGE                ADDRESS ON FILE
BARBIE LOPEZ GIRALD                  ADDRESS ON FILE
BARBIERI GONZALEZ, JEANNETTE         ADDRESS ON FILE
BARBOSA ALAMEDA, CARMEN              ADDRESS ON FILE
BARBOSA ALAMEDA, DAVID V             ADDRESS ON FILE
BARBOSA ALVAREZ, BIANCA              ADDRESS ON FILE
BARBOSA ALVAREZ, JUAN J              ADDRESS ON FILE
BARBOSA ANAYA, GLORIRMA              ADDRESS ON FILE
BARBOSA APONTE, BENNY                ADDRESS ON FILE




                                                                                 Page 741 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 742 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARBOSA APONTE, BENNY E          ADDRESS ON FILE
BARBOSA APONTE, KERLYN M         ADDRESS ON FILE
BARBOSA APONTE, SARY V           ADDRESS ON FILE
BARBOSA ARROYO, INGRID           ADDRESS ON FILE
BARBOSA ARROYO, JOMHARA          ADDRESS ON FILE
BARBOSA ARROYO, STELLA           ADDRESS ON FILE
BARBOSA ARROYO, ZULDELIZ         ADDRESS ON FILE
BARBOSA AYALA, IRIS N            ADDRESS ON FILE
BARBOSA AYALA, KENNETH J         ADDRESS ON FILE
BARBOSA AYALA, MARILYN N.        ADDRESS ON FILE
BARBOSA AYALA, NANCY M           ADDRESS ON FILE
BARBOSA AYALA, RAMON             ADDRESS ON FILE
BARBOSA BADILLO, ALIDA M         ADDRESS ON FILE
BARBOSA BADILLO, MARY            ADDRESS ON FILE
BARBOSA BARBOSA, NANCY           ADDRESS ON FILE
BARBOSA BARBOSA, PEDRO           ADDRESS ON FILE
BARBOSA BARBOSA, YOLANDA         ADDRESS ON FILE
BARBOSA BARRIENTOS, ARNALDO      ADDRESS ON FILE
BARBOSA BAYRON, MARISELY         ADDRESS ON FILE
BARBOSA BAYRON, MARISELY         ADDRESS ON FILE
BARBOSA BURGOS, ANGEL R.         ADDRESS ON FILE
BARBOSA BURGOS, EUGENIO          ADDRESS ON FILE
BARBOSA BURNS, LILLIAN N         ADDRESS ON FILE
Barbosa Caraballo, Ernesto       ADDRESS ON FILE
BARBOSA CARRION, JESSENIA        ADDRESS ON FILE
BARBOSA CASTRO, KEVIN            ADDRESS ON FILE
BARBOSA CATALA, ZULMELANIE       ADDRESS ON FILE
BARBOSA CENTENO, BRYAN           ADDRESS ON FILE
BARBOSA CHICO, JOHN              ADDRESS ON FILE
BARBOSA COLON, FREDDIE           ADDRESS ON FILE
BARBOSA CONCEPCION, EDWIN        ADDRESS ON FILE
BARBOSA CRUZ, ERICK              ADDRESS ON FILE
BARBOSA CRUZ, YARITZA            ADDRESS ON FILE
BARBOSA DE JESUS, JULIO          ADDRESS ON FILE
BARBOSA DE LA CRUZ, NANCY A      ADDRESS ON FILE
BARBOSA DEL MORAL, SANDRA        ADDRESS ON FILE
BARBOSA DEL VALLE, EUGENIO       ADDRESS ON FILE
BARBOSA DIAZ, LUZ D              ADDRESS ON FILE
BARBOSA DIAZ, ROSA               ADDRESS ON FILE
BARBOSA ESCALANTE, ALEXIS        ADDRESS ON FILE
BARBOSA ESCALANTE, KALLY         ADDRESS ON FILE
Barbosa Feliciano, Eddie         ADDRESS ON FILE
Barbosa Feliciano, Luis Omar     ADDRESS ON FILE
BARBOSA FELICIANO, PEDRO         ADDRESS ON FILE
BARBOSA FELICIANO, WILBERTO      ADDRESS ON FILE
BARBOSA FELICIANO, WILBERTO      ADDRESS ON FILE
BARBOSA FIGUEROA, MARITZA        ADDRESS ON FILE
BARBOSA FIGUEROA, SARAI          ADDRESS ON FILE
BARBOSA FIGUEROA, VILMA          ADDRESS ON FILE
BARBOSA FIGUEROA, VILMA          ADDRESS ON FILE
BARBOSA FLORES, SARAI            ADDRESS ON FILE
BARBOSA FRANCESCHI, MARGARITA    ADDRESS ON FILE
BARBOSA GARCIA, ROBERTO          ADDRESS ON FILE
BARBOSA GONZALEZ, ANGIE          ADDRESS ON FILE
BARBOSA GONZALEZ, DAVID          ADDRESS ON FILE
BARBOSA GONZALEZ, EMMANUEL       ADDRESS ON FILE
BARBOSA GONZALEZ, GABRIEL OMAR   ADDRESS ON FILE
BARBOSA GONZALEZ, NOEL           ADDRESS ON FILE
Barbosa Gonzalez, Raul           ADDRESS ON FILE
BARBOSA GONZALEZ, THAMARALY      ADDRESS ON FILE




                                                                             Page 742 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 743 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3         Address4   City         State   PostalCode   Country
BARBOSA GRATEROLES, MILAGROS     ADDRESS ON FILE
BARBOSA GRATEROLES, SONIA        ADDRESS ON FILE
BARBOSA HERNANDEZ MD, ANNETE M   ADDRESS ON FILE
BARBOSA HERNANDEZ, DORIS         ADDRESS ON FILE
BARBOSA HERNANDEZ, ROBERTO       ADDRESS ON FILE
BARBOSA JEREMIAS, JOSE           ADDRESS ON FILE
BARBOSA JIMENEZ, BJ GEORGE       ADDRESS ON FILE
Barbosa Jimenez, Frances B       ADDRESS ON FILE
BARBOSA JUSTINIANO, JONATHAN     ADDRESS ON FILE
Barbosa Lopez, Ana M             ADDRESS ON FILE
BARBOSA LOPEZ, DAVID             ADDRESS ON FILE
BARBOSA LOPEZ, MARIA S           ADDRESS ON FILE
BARBOSA LOZADA, RICHARD          ADDRESS ON FILE
BARBOSA LUGO, AIDA E             ADDRESS ON FILE
BARBOSA MARRERO, BETZAIDA        ADDRESS ON FILE
BARBOSA MARRERO, EVELYN          ADDRESS ON FILE
BARBOSA MARTINA, ERIKA           ADDRESS ON FILE
BARBOSA MARTINEZ, ANABEL         ADDRESS ON FILE
BARBOSA MARTINEZ, ANABEL         ADDRESS ON FILE
BARBOSA MARTINEZ, HARRY          ADDRESS ON FILE
                                                                                           1353 AVE. LUIS
BARBOSA MARTINEZ, ILIA           YARLENE JIMENEZ ROSARIO   PMB‐133                         VIGOREAUZ                   GUAYNABO     PR      00966‐2700
BARBOSA MARTINEZ, JOSUE          ADDRESS ON FILE
BARBOSA MARTINEZ, LEYLIANA       ADDRESS ON FILE
BARBOSA MARTINEZ, MYRIAM L       ADDRESS ON FILE
BARBOSA MARTINEZ, SULLY          ADDRESS ON FILE
BARBOSA MARTINEZ, SULLY E        ADDRESS ON FILE
BARBOSA MATIAS, EFRAIN           ADDRESS ON FILE
Barbosa Matos, Carlos A.         ADDRESS ON FILE
BARBOSA MEDINA, ELBA E.          ADDRESS ON FILE
BARBOSA MEDINA, HECTOR           ADDRESS ON FILE
BARBOSA MELENDEZ, AIDA I         ADDRESS ON FILE
BARBOSA MELENDEZ, ALBERT         ADDRESS ON FILE
BARBOSA MELENDEZ, CHRISTIAN      ADDRESS ON FILE
Barbosa Melendez, Gerardo        ADDRESS ON FILE
BARBOSA MELENDEZ, IVAN           ADDRESS ON FILE
BARBOSA MELENDEZ, NANCY          ADDRESS ON FILE
BARBOSA MELENDEZ, NANCY          ADDRESS ON FILE
BARBOSA MENDOZA, ANA             ADDRESS ON FILE
Barbosa Mendoza, Ana M           ADDRESS ON FILE
BARBOSA MENDOZA, WILFREDO        ADDRESS ON FILE
BARBOSA MERCED, CARLOS           ADDRESS ON FILE
BARBOSA MERCED, NOEMI            ADDRESS ON FILE
Barbosa Millan, Luis A.          ADDRESS ON FILE
BARBOSA MIRANDA, MILDRED         ADDRESS ON FILE
BARBOSA MIRANDA, MONSERRATE      ADDRESS ON FILE
BARBOSA MIRANDA, PABLO J         ADDRESS ON FILE
BARBOSA MONTANEZ, LEYLA          ADDRESS ON FILE
BARBOSA MORALES, CRUCITO         ADDRESS ON FILE
BARBOSA MORALES, JOSE            ADDRESS ON FILE
BARBOSA MORALES, MONSERRATE      ADDRESS ON FILE
BARBOSA MOYENO, VICENTE          ADDRESS ON FILE
BARBOSA MUNIZ, CARMEN            ADDRESS ON FILE
BARBOSA MUNOZ, VIVIANA           ADDRESS ON FILE
BARBOSA NARVAEZ, EDGAR           ADDRESS ON FILE
BARBOSA NEGRON, SONIA            ADDRESS ON FILE
BARBOSA NEVAREZ, WANDA           ADDRESS ON FILE
BARBOSA NIEVES, JUAN             ADDRESS ON FILE
BARBOSA NORIEGA, LAURA M         ADDRESS ON FILE
BARBOSA NUNEZ, OMAR              ADDRESS ON FILE




                                                                             Page 743 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 744 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARBOSA OCASIO, LUIS              ADDRESS ON FILE
BARBOSA ORONA, ISMAEL             ADDRESS ON FILE
BARBOSA ORTIZ, JACQUELINE         ADDRESS ON FILE
BARBOSA ORTIZ, JOSE               ADDRESS ON FILE
BARBOSA ORTIZ, MARIBEL            ADDRESS ON FILE
BARBOSA ORTIZ, MARISOL            ADDRESS ON FILE
BARBOSA ORTIZ, NATIVIDAD          ADDRESS ON FILE
BARBOSA ORTIZ, YARITZA            ADDRESS ON FILE
Barbosa Pedrosa, Celia I          ADDRESS ON FILE
BARBOSA PELLICIE, AIXA            ADDRESS ON FILE
BARBOSA PEREZ, IVETTE             ADDRESS ON FILE
BARBOSA PEREZ, LIZZETTE           ADDRESS ON FILE
BARBOSA PEREZ, LOISETTE           ADDRESS ON FILE
BARBOSA PEREZ, MARIBEL            ADDRESS ON FILE
BARBOSA PEREZ, MILAGROS           ADDRESS ON FILE
BARBOSA PEREZ, WANDA              ADDRESS ON FILE
BARBOSA PINERO, ROBERTO           ADDRESS ON FILE
Barbosa Quinones, Miguel A.       ADDRESS ON FILE
BARBOSA RAMOS, FELIX              ADDRESS ON FILE
BARBOSA RAMOS, MONICA             ADDRESS ON FILE
BARBOSA RIOS, YEIRA M             ADDRESS ON FILE
BARBOSA RIVERA, CLARYBELL         ADDRESS ON FILE
BARBOSA RIVERA, EUSEBIO           ADDRESS ON FILE
BARBOSA RIVERA, EVELYN            ADDRESS ON FILE
BARBOSA RIVERA, FELIPE            ADDRESS ON FILE
BARBOSA RIVERA, IVETTE            ADDRESS ON FILE
BARBOSA RIVERA, JOSE R            ADDRESS ON FILE
BARBOSA RIVERA, JOSEFA            ADDRESS ON FILE
BARBOSA RIVERA, JUAN              ADDRESS ON FILE
BARBOSA RIVERA, LUIS              ADDRESS ON FILE
BARBOSA RIVERA, MARIBEL           ADDRESS ON FILE
BARBOSA RIVERA, MARICELYS         ADDRESS ON FILE
BARBOSA RIVERA, RAFAEL            ADDRESS ON FILE
BARBOSA RIVERA, ROSA              ADDRESS ON FILE
BARBOSA RIVERA, SANDRA            ADDRESS ON FILE
BARBOSA RODRIGUEZ, ALEXANDER      ADDRESS ON FILE
Barbosa Rodriguez, Jose G         ADDRESS ON FILE
BARBOSA RODRIGUEZ, JOSEPH         ADDRESS ON FILE
BARBOSA RODRIGUEZ, JULIA          ADDRESS ON FILE
BARBOSA RODRIGUEZ, MARILUZ        ADDRESS ON FILE
BARBOSA RODRIGUEZ, NILDA          ADDRESS ON FILE
BARBOSA RODRIGUEZ, PABLO          ADDRESS ON FILE
BARBOSA RODRIGUEZ, WANDA IVETTE   ADDRESS ON FILE
BARBOSA RODRIGUEZ, WILFREDO       ADDRESS ON FILE
BARBOSA ROMAN, CHRISTINE          ADDRESS ON FILE
BARBOSA ROMAN, MIRIAM             ADDRESS ON FILE
BARBOSA ROMAN, SAMUEL             ADDRESS ON FILE
BARBOSA ROMAN, SAMUEL             ADDRESS ON FILE
Barbosa Romero, Dalia M           ADDRESS ON FILE
Barbosa Ruiz, Hiram               ADDRESS ON FILE
BARBOSA RUIZ, LYDIA               ADDRESS ON FILE
BARBOSA SALGADO, YANIL            ADDRESS ON FILE
BARBOSA SANCHEZ, JAVIER           ADDRESS ON FILE
BARBOSA SANCHEZ, JESUS            ADDRESS ON FILE
BARBOSA SANCHEZ, MARIA T.         ADDRESS ON FILE
BARBOSA SANCHEZ, YANIRA           ADDRESS ON FILE
BARBOSA SANJURJO, MILEDYS Z.      ADDRESS ON FILE
BARBOSA SANTANA, EMMANUEL         ADDRESS ON FILE
BARBOSA SANTOS, BERNADETTE        ADDRESS ON FILE
BARBOSA SANTOS, RAFAEL            ADDRESS ON FILE




                                                                              Page 744 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 745 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                    Address2                      Address3   Address4    City            State   PostalCode   Country
BARBOSA SEGARRA, MARGARITA        ADDRESS ON FILE
BARBOSA SOLER, JOANNA L           ADDRESS ON FILE
BARBOSA SOTO, IRMA M              ADDRESS ON FILE
BARBOSA TIRADO, ADNEL             ADDRESS ON FILE
BARBOSA TORO, MARIA M             ADDRESS ON FILE
Barbosa Torres, Jose              ADDRESS ON FILE
Barbosa Torres, Ramon M.          ADDRESS ON FILE
BARBOSA TRAVERSO, MARISELA E      ADDRESS ON FILE
BARBOSA TRICOCHE, ISMAEL          ADDRESS ON FILE
BARBOSA VALDES, DANIEL            ADDRESS ON FILE
BARBOSA VALDES, FELICITA          ADDRESS ON FILE
BARBOSA VALDES, INES              ADDRESS ON FILE
BARBOSA VALENTIN, ANGEL L         ADDRESS ON FILE
BARBOSA VALENTIN, KARINA          ADDRESS ON FILE
BARBOSA VALENTIN, VIOLA           ADDRESS ON FILE
BARBOSA VALENTIN, VIOLA           ADDRESS ON FILE
BARBOSA VARGAS, YOLANDA           ADDRESS ON FILE
BARBOSA VAZQUEZ, EUGENIA          ADDRESS ON FILE
BARBOSA VAZQUEZ, GUSTAVO          ADDRESS ON FILE
BARBOSA VAZQUEZ, JESSICA          ADDRESS ON FILE
BARBOSA VEGA, CEFERINO            ADDRESS ON FILE
BARBOSA VEGA, MARIBEL             ADDRESS ON FILE
BARBOSA VEGA, MARIBEL             ADDRESS ON FILE
BARBOSA VEGA, MARIBEL             ADDRESS ON FILE
BARBOSA VEGA, NESTOR              ADDRESS ON FILE
BARBOSA VIERA, ABNER              ADDRESS ON FILE
BARBOSA VIROLA, LOURDES M.        ADDRESS ON FILE
BARBOSA VIZCARRONDO, DEBORAH M.   ADDRESS ON FILE
BARBOSA VIZCARRONDO, DEBORAH M.   ADDRESS ON FILE
BARBOSA, CARLOS O.                ADDRESS ON FILE
BARBOSA, HIRAM                    ADDRESS ON FILE
BARBOSO MURIEL, JUAN M.           ADDRESS ON FILE
BARBOT HERNANDEZ, ELVIRA          ADDRESS ON FILE
BARBOT MARTINEZ, LUZ M            ADDRESS ON FILE
Barbot Marty, Santiago            ADDRESS ON FILE
BARBOT PEREZ, KEYLA Y             ADDRESS ON FILE
BARBOT PEREZ, RAMONA              ADDRESS ON FILE
BARBOT PEREZ, VICTOR              ADDRESS ON FILE
BARBOT RODRIGUEZ, HERIBERTO       ADDRESS ON FILE
Barbot Rodriguez, Santiago        ADDRESS ON FILE
BARBOT ROSARIO, KAREM             ADDRESS ON FILE
BARCACEL REYES, LIZETTE           ADDRESS ON FILE
BARCELO CANDELARIO, LIBIA         ADDRESS ON FILE
BARCELO CARABALLO, MIGUEL         ADDRESS ON FILE
BARCELO FERNANDEZ, RICARDO        ADDRESS ON FILE
BARCELO HERNANDEZ, ANTONIO        ADDRESS ON FILE
BARCELO JIMENEZ, ANTONIO R.       ADDRESS ON FILE
BARCELO LOPEZ, JAIME              ADDRESS ON FILE
BARCELO LOPEZ, MARISOL            ADDRESS ON FILE
BARCELO MALDONADO, JOSE           ADDRESS ON FILE
BARCELO MALDONADO, JOSE           ADDRESS ON FILE
BARCELO MENDOZA, SARA             ADDRESS ON FILE
BARCELO MILLER MD, ANDRES         ADDRESS ON FILE
BARCELO MILLER, JOSE MIGUEL       ADDRESS ON FILE
BARCELO NATALIE, MARIA E          ADDRESS ON FILE
BARCELO ORTIZ, JUAN A             ADDRESS ON FILE
BARCELO SEVERINO, JULIO C         ADDRESS ON FILE
BARCELONETA COPY                  4 CALLE LUIS MUNOZ RIVERA                                                        BARCELONETA     PR      00617
BARCELY TORRES MAYSONET           ADDRESS ON FILE
BARCENAS SALGADO, ALEXANDRA       ADDRESS ON FILE




                                                                              Page 745 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 746 of 3500
                                                                                                          Creditor Matrix

Creditor Name                     Address1                                   Address2                                  Address3   Address4   City             State   PostalCode   Country
BARCKS CORP                       LA CERAMICA IND PARK                       LOTE 5 LOCAL B2                                                 CAROLINA         PR      00983
BARCLAY REALTY CORP               PO BOX 9023916                                                                                             SAN JUAN         PR      00902‐3916
BARCO DE SYSTEMS INC              234 LAS MARIAS HYDE PARK                                                                                   SAN JUAN         PR      00927
BARCODE SYSTEM INTEGRATORS, INC   234 LAS MARIAS                             HYDE PARK                                                       SAN JUAN         PR      00927
BARCODE SYSTEMS                   LAS MARIAS #234 HYDE PARK                                                                                  SAN JUAN         PR      00927
BARCODE SYSTEMS INC               AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                       SAN JUAN         PR      00902‐4140
BARCODE SYSTEMS INC               URB HYDE PARK                              234 AVE MARIAS                                                  SAN JUAN         PR      00927
BARCODE SYSTEMS INTEGRATORS INC   HYDE PARK                                  234 LAS MARIAS                                                  SAN JUAN         PR      00927
BARCODE SYSTEMS, INC              LAS MARIAS #234, HYDE PARK                                                                                 SAN JUAN         PR      00927
BAREA BONE, ALFREDO               ADDRESS ON FILE
BAREA BONE, MARCOS A              ADDRESS ON FILE
BAREA DE RODRIGUEZ, ROSA          ADDRESS ON FILE
BAREA DRAGONI, DORIS              ADDRESS ON FILE
BAREA FERNANDEZ, JOSE             ADDRESS ON FILE
BAREA IRIZARRY, LORELY            ADDRESS ON FILE
BAREA LUGO, RONALDO               ADDRESS ON FILE
BAREA LUGO, SEBASTIAN             ADDRESS ON FILE
BAREA MARTINEZ, SANTA             ADDRESS ON FILE
BAREA RECHANI, ANA R.             ADDRESS ON FILE
BAREA RECHANI, HECTOR             ADDRESS ON FILE
BAREA RECHANI, HECTOR J           ADDRESS ON FILE
BAREA ROSA, BENNY                 ADDRESS ON FILE
BAREA ROSA, CARLOS D              ADDRESS ON FILE
BAREA TORRES, ANDRES              ADDRESS ON FILE
BAREA TORRES, HECTOR J            ADDRESS ON FILE
BAREA TORRES, MARIA L             ADDRESS ON FILE
BAREA, CARMEN IVETTE              ADDRESS ON FILE
BARED ROMILLO, SALMA              ADDRESS ON FILE
Bareiro Velez, Angel D            ADDRESS ON FILE
BARENS MORALES, VIVIANA           ADDRESS ON FILE
BARES IBARRA, FEDERICO            ADDRESS ON FILE
Baretti Caballero, Santiago       ADDRESS ON FILE
Baretti Lopez, Hiram              ADDRESS ON FILE
BARETTI ROSARIO, ALEXAVIER        ADDRESS ON FILE
BARETTY CARABAJO, ALVIN           ADDRESS ON FILE
BARETTY CARABALLO, KEVIN          ADDRESS ON FILE
BARETTY FONTANEZ, VENEMIR         ADDRESS ON FILE
BARETTY GOMEZ, EIXEL              ADDRESS ON FILE
BARETTY LOPEZ, EDWIN              ADDRESS ON FILE
BARETTY TORRES, ANABELY           ADDRESS ON FILE
BARETTY, ELLIOT                   ADDRESS ON FILE
BAREZ GARCIA, JORGE               ADDRESS ON FILE
BARFIEL, LINDA                    ADDRESS ON FILE
BARGAIN CITY                      ARECIBO SHOPPING PLAZA CARR 2 INT AVE CRISTOBAL                                                            ARECIBO          PR      00612
BARGAIN CITY                      CARR. 2, KM 15.5, INDUSTRIAL EL CORUJO                                                                     BAYAMON          PR      00961
BARGER OTERO, LISSETTE            ADDRESS ON FILE
BARGUEZ MIGUEL, NOMAR             ADDRESS ON FILE
Bari Martinez, Carlos             ADDRESS ON FILE
BARI MARTINEZ, CARLOS             ADDRESS ON FILE
BARI PILLOT, SONIA                ADDRESS ON FILE
BARILLAS CRESPO, IRIS             ADDRESS ON FILE
BARINAS ROBLES MD, PABLO A        ADDRESS ON FILE
BARIO OBRERO CLEANERS             2034 AVE REXACH ESQ TAPIA                                                                                  BARIO OBRERO     PR      00915
BARJAM ALEMAR, FRANCHESCA         ADDRESS ON FILE
BARKER ARMSTEAD, LAUREN A         ADDRESS ON FILE
BARKOFF MD, MATTHEW               ADDRESS ON FILE
BARKS RAMIREZ, ASHLEY             ADDRESS ON FILE
BARLETTA BONANNO, GABRIEL         ADDRESS ON FILE
BARLETTA MARINI, SANDRA J         ADDRESS ON FILE
BARLETTA RODRIGUEZ, JOSE M        ADDRESS ON FILE




                                                                                                         Page 746 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 747 of 3500
                                                                                                  Creditor Matrix

Creditor Name                   Address1                               Address2                                Address3           Address4   City           State   PostalCode   Country
BARLETTA SEGARRA, GUIDO         ADDRESS ON FILE
BARLETTA SEGARRA, JOSE          ADDRESS ON FILE
BARLOVENTO OVERSEAS INC         COND DARLINGTON SUITE 203              1007 AVE MUNOZ RIVERA                                                 SAN JUAN       PR      00925
BARLOVENTO OVERSEAS INC         PMB 290 #1353 CARR 19                                                                                        GUAYNABO       PR      00969
BARLOVENTO OVERSEAS INC         Y/O CARIBBEAN ASSET MANAGEMENT & FUNDINURB. PASEO DE LA FUENTE                 CALLE TIVOLI C‐4              SAN JUAN       PR      00926‐6458
BARLUCEA CAMPOS, CARMEN N       ADDRESS ON FILE
BARLUCEA CAMPOS, PEDRO E        ADDRESS ON FILE
BARLUCEA FIGUEROA, ANETTE       ADDRESS ON FILE
BARLUCEA FIGUEROA, JESSICA      ADDRESS ON FILE
BARLUCEA MALDONADO, JAIME H.    ADDRESS ON FILE
BARLUCEA MATOS, AWILDA          ADDRESS ON FILE
Barlucea Santiago, Jose         ADDRESS ON FILE
BARLUCEA TORRES, TERESA         ADDRESS ON FILE
BARMUDEZ DAVILA, GILEANI        ADDRESS ON FILE
BARNAT DEL VALLE, LUIS          ADDRESS ON FILE
BARNECET ARROYO, EVALIZETTE     ADDRESS ON FILE
BARNECET CARABALLO, CINDY       ADDRESS ON FILE
BARNECET CARABALLO, LUIS        ADDRESS ON FILE
BARNECET DUVIVIER, ANGELA       ADDRESS ON FILE
BARNECET LUGO, ROMMEL           ADDRESS ON FILE
BARNECET RAMOS, LUIS A.         ADDRESS ON FILE
BARNECETT ALVARADO, DAMARIS     ADDRESS ON FILE
BARNECETT MINGUELA, LYNETTE     ADDRESS ON FILE
BARNECETT RUIZ, MIGDALIA D      ADDRESS ON FILE
BARNECETT RUIZ, MILDRED         ADDRESS ON FILE
BARNES ADAMES, JENNIFFER        ADDRESS ON FILE
BARNES AND NOBLE INC            308 HARROD BLVD SUITE A                                                                                      DAYTON         NJ      08810
BARNES BORRELY, PEDRO           ADDRESS ON FILE
BARNES BORRELY, PEDRO J.        ADDRESS ON FILE
BARNES GONZALEZ, GEORGE         ADDRESS ON FILE
BARNES LLINAS, JUAN L.          ADDRESS ON FILE
BARNES LUGO, PEDRO J.           ADDRESS ON FILE
BARNES LUGO, PEDRO J.           ADDRESS ON FILE
BARNES MALDONADO, RUBEN         ADDRESS ON FILE
BARNES MERCADO, JOSETTE         ADDRESS ON FILE
BARNES MERCADO, STEPHANIE       ADDRESS ON FILE
BARNES PAGAN, INES              ADDRESS ON FILE
BARNES RAMOS, RAQUEL            ADDRESS ON FILE
BARNES RIVERA, ISMAEL           ADDRESS ON FILE
BARNES ROSICH, ROXANA           ADDRESS ON FILE
BARNES SANTOS, ANTONIO          ADDRESS ON FILE
BARNES SANTOS, GRACIELA         ADDRESS ON FILE
BARNES SANTOS, LILLIAN          ADDRESS ON FILE
Barnes Vila, Miguel A.          ADDRESS ON FILE
BARNESET PACHECO, MILAGROS      ADDRESS ON FILE
BARNEY ALVAREZ                  ADDRESS ON FILE
BARNEY ALVAREZ INC              1958 CALLE ESPANA                                                                                            SAN JUAN       PR      00911
BARNEY ALVAREZ, INC             PO BOX 8011                                                                                                  SAN JUAN       PR      00910‐0011
BARNOSKY RDGZ, MAYLLELYN D      ADDRESS ON FILE
BARNOSKY RDGZ, MAYLLELYN D      ADDRESS ON FILE
BARON HOEPELMAN LUCIANO         ADDRESS ON FILE
BARON LEBRON, SIDNEY            ADDRESS ON FILE
BARON QUILES CORPORATION        P O BOX 996                                                                                                  SAINT JUST     PR      00978
BARONI GONZALEZ, ROMANO         ADDRESS ON FILE
BARQUERO DE JESUS, EDMUNDO R.   ADDRESS ON FILE
BARQUERO VINCENTY, JOSE         ADDRESS ON FILE
BARQUET HORNBACK, ELENA M.      ADDRESS ON FILE
BARQUET HORNBACK, NATALIA       ADDRESS ON FILE
BARQUET PEREZ, MARTHA           ADDRESS ON FILE
BARQUIN INTERNATIONAL           P O BOX 363063                                                                                               SAN JUAN       PR      00936‐3063




                                                                                                 Page 747 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 748 of 3500
                                                                                        Creditor Matrix

Creditor Name                          Address1                   Address2                           Address3   Address4   City             State   PostalCode   Country
BARQUIN INTERNATIONAL CORPORATION      PO BOX 363063                                                                       SAN JUAN         PR      00936‐3063
BARQUIN INTERNATIONAL CORPORATION      URB TORRIMAR               M ‐ 31, CALLE HILL                                       GUAYNABO         PR      00966‐3147
BARQUIN TORRES, RAMON                  ADDRESS ON FILE
BARRADAS BONILLA, ISABEL DE L.         ADDRESS ON FILE
BARRADAS, JOSE RAFAEL                  ADDRESS ON FILE
BARRAGAN ARCHITECTS AND PROJECT MANAGERPO BOX 22243                                                                        SAN JUAN         PR      00931‐2243
BARRAGAN BOTHWELL, JOSE                ADDRESS ON FILE
BARRAL FELICIANO, ZOILA R              ADDRESS ON FILE
BARRAL LAMBOY, MARIA DEL C             ADDRESS ON FILE
BARRAL MALDONADO, THOMAS               ADDRESS ON FILE
BARRAL ROSA, LIETZA J.                 ADDRESS ON FILE
BARRAL RUIZ, JONATHAN                  ADDRESS ON FILE
BARRAL, ERNESTO                        ADDRESS ON FILE
BARRANCO CRUZ, ANDREW                  ADDRESS ON FILE
BARRANCO FRANCOIS, DAVID               ADDRESS ON FILE
BARRANCO RIVERA, FRANCO                ADDRESS ON FILE
BARRANQUITAS DRUG/ FARMACIA DEL PUEBLO 27 CALLE MUNOZ RIVERA                                                               BARRANQUITAS     PR      00794
BARRANQUITAS JUNKER                    ADDRESS ON FILE
BARRANQUITAS OFFICE SUPPLY             P O BOX 952                                                                         BARRANQUITAS     PR      00794
BARRANQUITAS TROPICAL                  HC 01 BOX 5750                                                                      BARRANQUITAS     PR      00794
BARRANTES QUINTERO, PAUL               ADDRESS ON FILE
BARRANTES RIVERA, MAYRA                ADDRESS ON FILE
BARRANTES ROJAS, FRANKLIN              ADDRESS ON FILE
BARRE VAZQUEZ, ANGEL L                 ADDRESS ON FILE
BARREDA CARABALLO, ALBERTO             ADDRESS ON FILE
BARREDA GARCIA, CARMEN                 ADDRESS ON FILE
BARREDA GARCIA, JESSICA L              ADDRESS ON FILE
BARREDO SALAZAR, MARIA DE LOS          ADDRESS ON FILE
BARREIRO CARABALLO, IVETTE             ADDRESS ON FILE
BARREIRO DE LEON, GADDIEL              ADDRESS ON FILE
Barreiro De Leon, Gadiel               ADDRESS ON FILE
BARREIRO DIAZ, MARIA E                 ADDRESS ON FILE
BARREIRO FIGUEROA, ELIEZER             ADDRESS ON FILE
Barreiro Fontanez, Abimael             ADDRESS ON FILE
BARREIRO GONZALEZ, CELIMAR             ADDRESS ON FILE
BARREIRO GONZALEZ, CESAR               ADDRESS ON FILE
BARREIRO GONZALEZ, JOSE J.             ADDRESS ON FILE
Barreiro Gonzalez, Mirycelis           ADDRESS ON FILE
BARREIRO GONZALEZ, SONIA N             ADDRESS ON FILE
BARREIRO LEBRON, RAMON                 ADDRESS ON FILE
BARREIRO MACHIN, NILSA I               ADDRESS ON FILE
BARREIRO MAYMI, MARIBEL                ADDRESS ON FILE
BARREIRO MAYSONE, VICTOR               ADDRESS ON FILE
BARREIRO MOLINA, CARMEN V              ADDRESS ON FILE
BARREIRO MORENO, YANIRA                ADDRESS ON FILE
BARREIRO NIEVES, GLENDA                ADDRESS ON FILE
BARREIRO ORTIZ, MAYLEEN                ADDRESS ON FILE
BARREIRO PENA, ALFREDO M               ADDRESS ON FILE
BARREIRO RAMOS, CARLOS E               ADDRESS ON FILE
BARREIRO RAMOS, JOSE                   ADDRESS ON FILE
BARREIRO RIVERA, MANUEL                ADDRESS ON FILE
BARREIRO ROLDAN, MARILYN               ADDRESS ON FILE
BARREIRO ROSARIO, DAYNA                ADDRESS ON FILE
BARREIRO ROSARIO, ENID                 ADDRESS ON FILE
BARREIRO SALVA, MARIBEL                ADDRESS ON FILE
BARREIRO SANTOS, LORNA                 ADDRESS ON FILE
Barreiro Serrano, Carlos A.            ADDRESS ON FILE
BARREIRO SOTO, CARMEN M                ADDRESS ON FILE
BARREIRO SOTOMAYOR, NYDIA E            ADDRESS ON FILE
BARREIRO VELAZQUEZ, CESAR              ADDRESS ON FILE




                                                                                       Page 748 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 749 of 3500
                                                                                                     Creditor Matrix

Creditor Name                   Address1                                Address2                                  Address3              Address4              City          State   PostalCode   Country
BARREIRO VELEZ, ANGEL           ADDRESS ON FILE
Barreiro Velez, Daniel          ADDRESS ON FILE
BARREIRO VELEZ, HERMINIO        ADDRESS ON FILE
BARREIRO VELEZ, LOURDES         ADDRESS ON FILE
Barreiro Velez, Rafael A.       ADDRESS ON FILE
BARRENECHEA MARTINEZ, ESTANIS   ADDRESS ON FILE
BARRERA FELICIANO, JOVANY       ADDRESS ON FILE
BARRERA FRONTERA, JULIO R.      ADDRESS ON FILE
BARRERA FRONTERA, OLIMPIA       ADDRESS ON FILE
Barrera Huertas, John D         ADDRESS ON FILE
BARRERA LLAURADOR, JULIAN       ADDRESS ON FILE
BARRERA LLAURADOR, NICOLE       ADDRESS ON FILE
BARRERA LOUBRIEL, JORGE E.      ADDRESS ON FILE
BARRERA OROZCO, MARIO           ADDRESS ON FILE
BARRERA PADILLA, SENEIDA B.     ADDRESS ON FILE
BARRERA PEREZ, MIGUEL           ADDRESS ON FILE
BARRERA PEREZ, MIGUEL ANGEL     ADDRESS ON FILE
BARRERA RAMOS, ANTHONY          ADDRESS ON FILE
Barrera Ramos, Jose A.          ADDRESS ON FILE
BARRERA RAMOS, LUIS             ADDRESS ON FILE
BARRERA RAMOS, LUIS D           ADDRESS ON FILE
BARRERA RAMOS, PEDRO            ADDRESS ON FILE
BARRERA RAMOS, PEDRO A.         ADDRESS ON FILE
BARRERA RODRIGUEZ, ROBERTO      ADDRESS ON FILE
BARRERA VEGA, DAVID             ADDRESS ON FILE
BARRERA VEGA, ERIC              ADDRESS ON FILE
Barrera Vega, Eric S            ADDRESS ON FILE
                                                                                                                  POPULAR CENTER PISO
BARRERAS , INC.                 LCDO. JASO AGUIOLO SURO Y LCDO. ORESTE RAMPIETRANTONI MENDEZ AND ALVAREZ          19                    208 AVE. Ponce DE LEON SAN JUAN     PR      00918
BARRERAS AVILA MD, JOSE         ADDRESS ON FILE
BARRERAS AVILA MD, LOURDES      ADDRESS ON FILE
BARRERAS AVILA, LOURDES DEL     ADDRESS ON FILE
BARRERAS DEL RIO, PETRA         ADDRESS ON FILE
BARRERAS DEL RIO, SUQUEL        ADDRESS ON FILE
BARRERAS GARCIA, MYRIAM J       ADDRESS ON FILE
BARRERAS GUTIERREZ, MARIA S     ADDRESS ON FILE
BARRERAS INC                    PO BOX 366348                                                                                                                 SAN JUAN      PR      00936
BARRERAS MALDONADO, ROUSANA     ADDRESS ON FILE
BARRERAS MEDICAL GROUP          PO BOX 363146                                                                                                                 SAN JUAN      PR      00936‐3146
BARRERAS MENDEZ, CESAR          ADDRESS ON FILE
BARRERAS MONGE, REINALDO        ADDRESS ON FILE
BARRERAS MUNOZ, ELWOOD F        ADDRESS ON FILE
BARRERAS NIEVES, CARLOS R.      ADDRESS ON FILE
BARRERAS NIEVES, YARITZA        ADDRESS ON FILE
BARRERAS PELEGRINI, GABRIEL     ADDRESS ON FILE
BARRERAS PENA, ANAYRA           ADDRESS ON FILE
BARRERAS RIVERA, ANA R          ADDRESS ON FILE
BARRERAS ROMERO, EDWIN          ADDRESS ON FILE
BARRERAS RUIZ, NELLY P          ADDRESS ON FILE
BARRERAS SCHROEDER, GISELLA     ADDRESS ON FILE
BARRERAS, BLANCA I.             ADDRESS ON FILE
BARRERO ACEVEDO, NELIDA M       ADDRESS ON FILE
Barrero Cordero, Christian P.   ADDRESS ON FILE
BARRERO CRUZ, MIGUEL            ADDRESS ON FILE
BARRERO QUINONES, ALMA          ADDRESS ON FILE
BARRERO VELEZ, DANIEL           ADDRESS ON FILE
BARRESI RAMOS, EILEEN           ADDRESS ON FILE
BARRET ACEVEDO, LUCIA           ADDRESS ON FILE
BARRET CASIANO, WALDEMAR        ADDRESS ON FILE
BARRETO & VELEZ PSC             250 MUNOZ RIVERA                          SUITE 324                                                                           SAN JUAN      PR      00918‐1819




                                                                                                    Page 749 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 750 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETO ACEVEDO, DARLENE       ADDRESS ON FILE
BARRETO ACEVEDO, HECTOR        ADDRESS ON FILE
BARRETO ACEVEDO, JOSE C.       ADDRESS ON FILE
BARRETO ACEVEDO, JULIO         ADDRESS ON FILE
BARRETO ACEVEDO, JULIO         ADDRESS ON FILE
BARRETO ACEVEDO, LAUMARICE     ADDRESS ON FILE
BARRETO ACEVEDO, MAILEEN       ADDRESS ON FILE
BARRETO ACEVEDO, VICMARIE      ADDRESS ON FILE
BARRETO ACEVEDO, YAILEEN       ADDRESS ON FILE
BARRETO ADORNO, AIDA I         ADDRESS ON FILE
Barreto Adorno, Carlos E       ADDRESS ON FILE
BARRETO ADORNO, MARILYN        ADDRESS ON FILE
BARRETO AGOSTINI, NICHOLE M.   ADDRESS ON FILE
BARRETO AGUERIA, NORMA         ADDRESS ON FILE
BARRETO AGUIAR, MARGARITA      ADDRESS ON FILE
BARRETO ALDARONDO, ALEX        ADDRESS ON FILE
BARRETO ALDARONDO, OLGA        ADDRESS ON FILE
BARRETO ALDARONDO, XAYMARA E   ADDRESS ON FILE
BARRETO ALDIVA, JOHANNA        ADDRESS ON FILE
BARRETO ALERS, KEILA           ADDRESS ON FILE
BARRETO ALICEA, CARLOS         ADDRESS ON FILE
BARRETO ALICEA, CARLOS         ADDRESS ON FILE
BARRETO ALICEA, SAMUEL         ADDRESS ON FILE
BARRETO ALTIERI, LUIS S.       ADDRESS ON FILE
BARRETO ALVARADO, ADA          ADDRESS ON FILE
BARRETO ALVARADO, ANGELY       ADDRESS ON FILE
BARRETO ALVAREZ, GRISELLE      ADDRESS ON FILE
BARRETO ALVAREZ, NESTOR        ADDRESS ON FILE
BARRETO ALVAREZ, SANDRA I      ADDRESS ON FILE
BARRETO AMBERT, CHRISTIAN      ADDRESS ON FILE
BARRETO APONTE, LUZ M          ADDRESS ON FILE
BARRETO ARCE, EDGARDO          ADDRESS ON FILE
BARRETO AREIZAGA, ALEXANDRA    ADDRESS ON FILE
BARRETO AREIZAGA, JOSUE        ADDRESS ON FILE
BARRETO AREIZAGA, MAGDALIS     ADDRESS ON FILE
BARRETO AREIZAGA, MAGDALIS     ADDRESS ON FILE
BARRETO AREZAGA, ANGELICA M    ADDRESS ON FILE
BARRETO ARROCHO, GLORIA        ADDRESS ON FILE
BARRETO ARROCHO, SARA          ADDRESS ON FILE
BARRETO ARVELO, NORMA          ADDRESS ON FILE
BARRETO AVILES, AMELIA         ADDRESS ON FILE
Barreto Ayala, Juan L          ADDRESS ON FILE
Barreto Ayende, Francheska     ADDRESS ON FILE
BARRETO BADILLO, WALDEMAR      ADDRESS ON FILE
BARRETO BADILLO, WENDELINE     ADDRESS ON FILE
BARRETO BAEZ, LUIS E.          ADDRESS ON FILE
BARRETO BARRETO, AMIRELIS      ADDRESS ON FILE
BARRETO BARRETO, AWILDA        ADDRESS ON FILE
Barreto Barreto, Blanca I      ADDRESS ON FILE
BARRETO BARRETO, CARMEN        ADDRESS ON FILE
BARRETO BARRETO, CARMEN L      ADDRESS ON FILE
BARRETO BARRETO, CHRISTIAN     ADDRESS ON FILE
BARRETO BARRETO, EDUARDO       ADDRESS ON FILE
BARRETO BARRETO, GLORIA I      ADDRESS ON FILE
BARRETO BARRETO, IRIS          ADDRESS ON FILE
BARRETO BARRETO, IRMA          ADDRESS ON FILE
BARRETO BARRETO, JOSE A        ADDRESS ON FILE
Barreto Barreto, Jose J        ADDRESS ON FILE
Barreto Barreto, Keila         ADDRESS ON FILE
BARRETO BARRETO, KEILA         ADDRESS ON FILE




                                                                           Page 750 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 751 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Barreto Barreto, Leonel         ADDRESS ON FILE
BARRETO BARRETO, LUCY           ADDRESS ON FILE
BARRETO BARRETO, MARIANNE       ADDRESS ON FILE
BARRETO BARRETO, MILDRED        ADDRESS ON FILE
Barreto Barreto, Roberto        ADDRESS ON FILE
Barreto Barreto, Rosa L         ADDRESS ON FILE
Barreto Barreto, Stephanie      ADDRESS ON FILE
BARRETO BARRETO, STEPHANIE      ADDRESS ON FILE
BARRETO BARRETO, SUJEILY        ADDRESS ON FILE
BARRETO BOSQUE, JORGE L         ADDRESS ON FILE
BARRETO BOSQUES, AURORA         ADDRESS ON FILE
BARRETO BOSQUES, EDWIN          ADDRESS ON FILE
BARRETO BOSQUES, JANET          ADDRESS ON FILE
BARRETO BOSQUES, JOSE E         ADDRESS ON FILE
BARRETO BOSQUES, MANUEL         ADDRESS ON FILE
BARRETO BOSQUES, MANUEL DE J.   ADDRESS ON FILE
BARRETO BOSQUES, MARIA DEL C    ADDRESS ON FILE
BARRETO BOSQUES, MARIA M.       ADDRESS ON FILE
BARRETO BOSQUES, YOLANDA        ADDRESS ON FILE
BARRETO BRAVO, CLARA            ADDRESS ON FILE
BARRETO BURGOS, DYANA           ADDRESS ON FILE
BARRETO BURGOS, LUIS J          ADDRESS ON FILE
BARRETO BURGOS, LYDIA L.        ADDRESS ON FILE
BARRETO BURGOS, VANESSA         ADDRESS ON FILE
BARRETO CABAN, ALEXIS           ADDRESS ON FILE
Barreto Caban, Gerardo          ADDRESS ON FILE
BARRETO CABAN, JESUS            ADDRESS ON FILE
BARRETO CABAN, JOSE             ADDRESS ON FILE
Barreto Caban, Julio A.         ADDRESS ON FILE
BARRETO CABAN, WILSON           ADDRESS ON FILE
BARRETO CABRERA, BRUNILDA       ADDRESS ON FILE
BARRETO CACERES, MAYRA          ADDRESS ON FILE
BARRETO CAEZ, LUIS              ADDRESS ON FILE
Barreto Calderon, Jose Miguel   ADDRESS ON FILE
BARRETO CAMACHO, ARIANNE        ADDRESS ON FILE
BARRETO CAMACHO, JAIME          ADDRESS ON FILE
BARRETO CANALS, RAISA           ADDRESS ON FILE
BARRETO CANDELARIA, ELVIN M.    ADDRESS ON FILE
BARRETO CARD OA, ANA A          ADDRESS ON FILE
BARRETO CARDONA, ELVIN D        ADDRESS ON FILE
BARRETO CARDONA, YOMAIRA        ADDRESS ON FILE
BARRETO CARDONA,DENISE          ADDRESS ON FILE
BARRETO CARRILLO, ZULMA         ADDRESS ON FILE
BARRETO CARTAGENA, CARMEN M     ADDRESS ON FILE
BARRETO CARTAGENA, MELANIE      ADDRESS ON FILE
BARRETO CASANOVA, MARITZA       ADDRESS ON FILE
BARRETO CASANOVA, SOR           ADDRESS ON FILE
BARRETO CASANOVA, SOR E         ADDRESS ON FILE
BARRETO CASTELLANOS, ALAN       ADDRESS ON FILE
BARRETO CASTILLO, ELBA M        ADDRESS ON FILE
BARRETO CASTILLO, INES          ADDRESS ON FILE
BARRETO CASTRO, GRISEL M.       ADDRESS ON FILE
BARRETO CASTRO, KAREN           ADDRESS ON FILE
BARRETO CINTRON, DALILA         ADDRESS ON FILE
BARRETO CINTRON, DALILA M.      ADDRESS ON FILE
BARRETO COLON, ALBERTO          ADDRESS ON FILE
BARRETO COLON, ANTONIA          ADDRESS ON FILE
BARRETO COLON, BETZAIDA         ADDRESS ON FILE
BARRETO COLON, CARLOS           ADDRESS ON FILE
BARRETO COLON, EDWIN            ADDRESS ON FILE




                                                                            Page 751 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 752 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETO COLON, ELIZABETH         ADDRESS ON FILE
BARRETO COLON, GLORIA            ADDRESS ON FILE
BARRETO COLON, REY               ADDRESS ON FILE
BARRETO COLON, ROSA E.           ADDRESS ON FILE
BARRETO COLON, SOLGALY           ADDRESS ON FILE
Barreto Colon, Tania Elibeth     ADDRESS ON FILE
BARRETO COLON, VICTOR E.         ADDRESS ON FILE
BARRETO CONCEPCION, JANNETTE     ADDRESS ON FILE
BARRETO CORCHADO, ALICIA         ADDRESS ON FILE
BARRETO COREANO, CARLOS          ADDRESS ON FILE
BARRETO COREANO, CESAR A.        ADDRESS ON FILE
BARRETO CORNELIUS, EVANGELISTA   ADDRESS ON FILE
BARRETO CORTES, ELI L            ADDRESS ON FILE
BARRETO CORTES, ESTERLA          ADDRESS ON FILE
BARRETO CORTES, MARIA T          ADDRESS ON FILE
BARRETO CORTES, PEDRO            ADDRESS ON FILE
BARRETO COSME, MARTIN            ADDRESS ON FILE
BARRETO CRESPO, LISSETTE         ADDRESS ON FILE
BARRETO CRUZ, DESIREE            ADDRESS ON FILE
BARRETO CRUZ, EDWIN              ADDRESS ON FILE
BARRETO CRUZ, KAREN              ADDRESS ON FILE
BARRETO CRUZ, KAREN              ADDRESS ON FILE
BARRETO CRUZ, MELISSA            ADDRESS ON FILE
Barreto Cruz, Miguel             ADDRESS ON FILE
BARRETO CRUZ, MILAGROS           ADDRESS ON FILE
BARRETO CRUZ, PRISCILLA G        ADDRESS ON FILE
BARRETO CUEVAS, CONCEPCION       ADDRESS ON FILE
BARRETO DE LA CRUZ, ANA I.       ADDRESS ON FILE
BARRETO DE LA CRUZ, EDGARDO      ADDRESS ON FILE
BARRETO DE LA CRUZ, ZAIDA        ADDRESS ON FILE
BARRETO DELGADO, ELIZABETH       ADDRESS ON FILE
Barreto Denis, Carlos            ADDRESS ON FILE
Barreto Denis, Esther            ADDRESS ON FILE
BARRETO DIAZ, AWILDA             ADDRESS ON FILE
BARRETO DIAZ, JOSE A             ADDRESS ON FILE
BARRETO DIAZ, JOSE A             ADDRESS ON FILE
BARRETO DIAZ, ROSA INES          ADDRESS ON FILE
BARRETO ELECTRIC SERVICES INC    RR 7 BOX 17124                                                                   TOA ALTA     PR      00953
BARRETO ESTRADA, JENNIFER        ADDRESS ON FILE
BARRETO FELICIANO, LYMARI        ADDRESS ON FILE
BARRETO FELICIANO, MARIA         ADDRESS ON FILE
BARRETO FERNANDEZ, ELIUD         ADDRESS ON FILE
Barreto Figueroa, Edgardo        ADDRESS ON FILE
BARRETO FIGUEROA, ERNESTINA      ADDRESS ON FILE
BARRETO FIGUEROA, YAMIL          ADDRESS ON FILE
BARRETO FLORES, LUZ              ADDRESS ON FILE
BARRETO GARCED, EMMANUEL         ADDRESS ON FILE
BARRETO GARCED, EVIANMARIE       ADDRESS ON FILE
BARRETO GARCED, HILLARY          ADDRESS ON FILE
BARRETO GARCIA, AMARILYS         ADDRESS ON FILE
BARRETO GARCIA, BRENDALIZ        ADDRESS ON FILE
Barreto Garcia, Fernando         ADDRESS ON FILE
BARRETO GARCIA, IVELISSE         ADDRESS ON FILE
BARRETO GARCIA, JACQUELINE       ADDRESS ON FILE
BARRETO GARCIA, KEISHLA          ADDRESS ON FILE
BARRETO GONZALEZ, CARMELO        ADDRESS ON FILE
BARRETO GONZALEZ, CARMEN L       ADDRESS ON FILE
BARRETO GONZALEZ, CESAR          ADDRESS ON FILE
BARRETO GONZALEZ, FRANCISCO      ADDRESS ON FILE
BARRETO GONZALEZ, HERIBERTO      ADDRESS ON FILE




                                                                             Page 752 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 753 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City              State   PostalCode   Country
BARRETO GONZALEZ, JAVIER            ADDRESS ON FILE
BARRETO GONZALEZ, KELVIN            ADDRESS ON FILE
BARRETO GONZALEZ, MARIA L           ADDRESS ON FILE
BARRETO GONZALEZ, NELLY             ADDRESS ON FILE
BARRETO GONZALEZ, NYDIA D           ADDRESS ON FILE
Barreto Gonzalez, Ricardo           ADDRESS ON FILE
BARRETO GONZALEZ, ROSALLIE          ADDRESS ON FILE
Barreto Gonzalez, Rosallie J        ADDRESS ON FILE
BARRETO GONZALEZ, UBALDO U.         ADDRESS ON FILE
Barreto Gonzalez, Wanda I           ADDRESS ON FILE
BARRETO GONZALEZ, YANIRA            ADDRESS ON FILE
BARRETO GONZALEZ, YANIRA            ADDRESS ON FILE
BARRETO GONZALEZ, YANITZA           ADDRESS ON FILE
BARRETO HERNANDEZ, ANABEL           ADDRESS ON FILE
BARRETO HERNANDEZ, ANDRES           ADDRESS ON FILE
BARRETO HERNANDEZ, ANDRES           ADDRESS ON FILE
BARRETO HERNANDEZ, EILEEN           ADDRESS ON FILE
BARRETO HERNANDEZ, EVELYN A         ADDRESS ON FILE
Barreto Hernandez, Gilberto         ADDRESS ON FILE
Barreto Hernandez, Hector M         ADDRESS ON FILE
BARRETO HERNANDEZ, JESUS            ADDRESS ON FILE
BARRETO HERNANDEZ, JOSE J           ADDRESS ON FILE
BARRETO HERNANDEZ, JUAN             ADDRESS ON FILE
BARRETO HERNANDEZ, LUIS             ADDRESS ON FILE
Barreto Hernandez, Luis M           ADDRESS ON FILE
Barreto Hernandez, Miguel A.        ADDRESS ON FILE
Barreto Hernandez, Norberto         ADDRESS ON FILE
BARRETO HERNANDEZ, QUEENIE K        ADDRESS ON FILE
BARRETO HERNANDEZ, RAMON J.         ADDRESS ON FILE
BARRETO HERNANDEZ, ROBERTO ALEXIS   ADDRESS ON FILE
BARRETO HERNANDEZ, ROSA L           ADDRESS ON FILE
BARRETO HERNANDEZ, SAMAYRA          ADDRESS ON FILE
BARRETO HERNANDEZ, YUMAILYN         ADDRESS ON FILE
BARRETO HOLDING COOMPANY INC        P O BOX 1344                                                                     TRUJILLO ALTO     PR      00978
BARRETO ILLAS, GRACE M.             ADDRESS ON FILE
BARRETO ILLAS, SHEILA               ADDRESS ON FILE
BARRETO ILLAS, SUHAILY L.           ADDRESS ON FILE
Barreto Jimenez, Armando H          ADDRESS ON FILE
BARRETO JIMENEZ, KENNETH            ADDRESS ON FILE
BARRETO JR., ELIEZER JR.            ADDRESS ON FILE
BARRETO JUSINO, ANGEL M             ADDRESS ON FILE
BARRETO LANDRAU, ALEJANDRO          ADDRESS ON FILE
BARRETO LASALLE, VIDALIA            ADDRESS ON FILE
BARRETO LASSALLE, LUIS A            ADDRESS ON FILE
BARRETO LASSALLE, NYDIA IVETTE      ADDRESS ON FILE
Barreto Lopez, Daniel               ADDRESS ON FILE
BARRETO LOPEZ, JESUS                ADDRESS ON FILE
BARRETO LOPEZ, JOANNA               ADDRESS ON FILE
BARRETO LOPEZ, JOSE M               ADDRESS ON FILE
BARRETO LOPEZ, MARIA                ADDRESS ON FILE
BARRETO LOPEZ, PAOLA N              ADDRESS ON FILE
BARRETO LOPEZ, VICTOR               ADDRESS ON FILE
BARRETO LOPEZ, YAHAIRA              ADDRESS ON FILE
BARRETO LORENZO, YESAIRA A          ADDRESS ON FILE
BARRETO LUGO, ISMAEL                ADDRESS ON FILE
Barreto Lugo, Jose                  ADDRESS ON FILE
BARRETO MACHADO, VANESSA            ADDRESS ON FILE
Barreto Marquez, Armando            ADDRESS ON FILE
BARRETO MARQUEZ, ARMANDO            ADDRESS ON FILE
BARRETO MARQUEZ, LUIS O.            ADDRESS ON FILE




                                                                                Page 753 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 754 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETO MARQUEZ, NOELIA          ADDRESS ON FILE
BARRETO MARQUEZ, ROBERTO         ADDRESS ON FILE
BARRETO MARQUEZ, SONIA E.        ADDRESS ON FILE
BARRETO MARRERO, LUIS            ADDRESS ON FILE
BARRETO MARRERO, LUZ N           ADDRESS ON FILE
BARRETO MARRERO, NESTOR          ADDRESS ON FILE
BARRETO MARTINEZ, ALBERTO        ADDRESS ON FILE
BARRETO MARTINEZ, FABIO          ADDRESS ON FILE
BARRETO MARTINEZ, IVELISSE       ADDRESS ON FILE
BARRETO MARTINEZ, LUIS A         ADDRESS ON FILE
BARRETO MARTINEZ, LUZ E          ADDRESS ON FILE
BARRETO MARTORELL, KENNETH       ADDRESS ON FILE
BARRETO MATOS, ANA E             ADDRESS ON FILE
BARRETO MATOS, LUZ E             ADDRESS ON FILE
BARRETO MEDINA, ALBERTO          ADDRESS ON FILE
BARRETO MEDINA, DARVIN           ADDRESS ON FILE
BARRETO MEDINA, EFRAIN           ADDRESS ON FILE
BARRETO MEDINA, EILEEN           ADDRESS ON FILE
BARRETO MEDINA, ELSIE M          ADDRESS ON FILE
BARRETO MEDINA, LUIS             ADDRESS ON FILE
BARRETO MEDINA, MILDRED          ADDRESS ON FILE
BARRETO MEDINA, RAMONA           ADDRESS ON FILE
BARRETO MEDINA, WILFREDO         ADDRESS ON FILE
BARRETO MELENDEZ, BERLINDA       ADDRESS ON FILE
BARRETO MELENDEZ, MICHELLY       ADDRESS ON FILE
BARRETO MENDEZ, AIDA L           ADDRESS ON FILE
BARRETO MENDEZ, CESAR            ADDRESS ON FILE
BARRETO MENDEZ, ELIZABETH        ADDRESS ON FILE
BARRETO MENDEZ, EMILIA           ADDRESS ON FILE
BARRETO MENDEZ, ESMERALDA        ADDRESS ON FILE
BARRETO MENDEZ, JOSE             ADDRESS ON FILE
BARRETO MENDEZ, JOSE E.          ADDRESS ON FILE
BARRETO MENDEZ, LISSETTE         ADDRESS ON FILE
BARRETO MENDEZ, MARGARITA        ADDRESS ON FILE
BARRETO MENDEZ, MARGARITA        ADDRESS ON FILE
BARRETO MENDEZ, MARIA            ADDRESS ON FILE
BARRETO MENDEZ, MARIA            ADDRESS ON FILE
BARRETO MENDEZ, MARIA DE LOS A   ADDRESS ON FILE
Barreto Mercado, Jesus M         ADDRESS ON FILE
BARRETO MERCED, SUJEIRA          ADDRESS ON FILE
BARRETO MIRANDA MD, CARLOS       ADDRESS ON FILE
BARRETO MIRANDA, EDWIN           ADDRESS ON FILE
BARRETO MOLINA, BRENDA           ADDRESS ON FILE
BARRETO MONTANEZ, CARLOS R       ADDRESS ON FILE
BARRETO MONTANEZ, MARIBETH       ADDRESS ON FILE
BARRETO MONTIJO, ALEX J          ADDRESS ON FILE
BARRETO MORA, JOSE               ADDRESS ON FILE
BARRETO MORALES, ASHLEY          ADDRESS ON FILE
BARRETO MORALES, KRYSTAL         ADDRESS ON FILE
BARRETO MOYA, JAVIER             ADDRESS ON FILE
BARRETO MOYA, WALBERTO           ADDRESS ON FILE
BARRETO MUNIZ, JOSE              ADDRESS ON FILE
BARRETO NAZARIO, MAY             ADDRESS ON FILE
BARRETO NEGRON, LUIS             ADDRESS ON FILE
BARRETO NEGRON, MELVIN           ADDRESS ON FILE
BARRETO NIEVES, ESTEBAN          ADDRESS ON FILE
BARRETO NIEVES, NANCY C.         ADDRESS ON FILE
Barreto Nunez, Antonio           ADDRESS ON FILE
BARRETO NUNEZ, LUIS              ADDRESS ON FILE
Barreto Nunez, Luis A            ADDRESS ON FILE




                                                                             Page 754 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 755 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETO ORLANDO, CARMEN M     ADDRESS ON FILE
BARRETO ORLANDO, LUIS A       ADDRESS ON FILE
BARRETO ORTA, ARLEEN          ADDRESS ON FILE
BARRETO ORTA, MARITZA         ADDRESS ON FILE
BARRETO ORTIZ, CARLOS         ADDRESS ON FILE
BARRETO ORTIZ, EMMARIS        ADDRESS ON FILE
BARRETO ORTIZ, GLORIA         ADDRESS ON FILE
BARRETO ORTIZ, IVAN D         ADDRESS ON FILE
BARRETO ORTIZ, JEANETTE       ADDRESS ON FILE
BARRETO ORTIZ, TERESA         ADDRESS ON FILE
BARRETO ORTIZ, ZOMALI         ADDRESS ON FILE
BARRETO OSORIO, REYES B       ADDRESS ON FILE
BARRETO OTERO, HECTOR         ADDRESS ON FILE
BARRETO OTERO, ISABEL         ADDRESS ON FILE
BARRETO PABON, ALEXIS         ADDRESS ON FILE
BARRETO PADIN, EMANUEL        ADDRESS ON FILE
BARRETO PAGAN, BERMARIE       ADDRESS ON FILE
BARRETO PAGAN, NEMESIO M      ADDRESS ON FILE
BARRETO PENA, SALVADOR        ADDRESS ON FILE
BARRETO PEREZ, ADOLFO J       ADDRESS ON FILE
BARRETO PEREZ, AIDA I         ADDRESS ON FILE
BARRETO PEREZ, AWILDA         ADDRESS ON FILE
BARRETO PEREZ, BENJAMIN       ADDRESS ON FILE
BARRETO PEREZ, CARMEN         ADDRESS ON FILE
BARRETO PEREZ, CARMEN L.      ADDRESS ON FILE
BARRETO PEREZ, CARMEN M       ADDRESS ON FILE
BARRETO PEREZ, EDDIE          ADDRESS ON FILE
BARRETO PEREZ, EDWIN          ADDRESS ON FILE
BARRETO PEREZ, ELBA I         ADDRESS ON FILE
BARRETO PEREZ, GABRIEL        ADDRESS ON FILE
BARRETO PEREZ, GLADYS N       ADDRESS ON FILE
BARRETO PEREZ, GREGORIO       ADDRESS ON FILE
BARRETO PEREZ, JOSE           ADDRESS ON FILE
BARRETO PEREZ, JOSE A         ADDRESS ON FILE
BARRETO PEREZ, JOSE A         ADDRESS ON FILE
BARRETO PEREZ, JOSEFA         ADDRESS ON FILE
Barreto Perez, Juan G.        ADDRESS ON FILE
BARRETO PEREZ, JULIO          ADDRESS ON FILE
BARRETO PEREZ, LAYDA I        ADDRESS ON FILE
BARRETO PEREZ, LIZ            ADDRESS ON FILE
BARRETO PEREZ, LUIS           ADDRESS ON FILE
BARRETO PEREZ, LUIS A         ADDRESS ON FILE
BARRETO PEREZ, LUIS O         ADDRESS ON FILE
BARRETO PEREZ, MARIA D        ADDRESS ON FILE
BARRETO PEREZ, MARIA LUISA    ADDRESS ON FILE
BARRETO PEREZ, MARISOL        ADDRESS ON FILE
BARRETO PEREZ, NAITSABES A    ADDRESS ON FILE
BARRETO PEREZ, NOEL           ADDRESS ON FILE
BARRETO PEREZ, OMAYRA J.      ADDRESS ON FILE
BARRETO PEREZ, PABLO          ADDRESS ON FILE
BARRETO PEREZ, SERGIO         ADDRESS ON FILE
Barreto Perez, Sergio D.      ADDRESS ON FILE
BARRETO PIMENTEL, MARIEL      ADDRESS ON FILE
Barreto Pino, Ramon A         ADDRESS ON FILE
BARRETO PLAZA, SUHEIL O.      ADDRESS ON FILE
Barreto Quintana, Miguel A.   ADDRESS ON FILE
BARRETO RAMIREZ, ANGELA       ADDRESS ON FILE
BARRETO RAMOS, ALICIA         ADDRESS ON FILE
BARRETO RAMOS, BETHZAIDA      ADDRESS ON FILE
BARRETO RAMOS, CARMEN E       ADDRESS ON FILE




                                                                          Page 755 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 756 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETO RAMOS, DENISSE            ADDRESS ON FILE
BARRETO RAMOS, EDGARDO            ADDRESS ON FILE
BARRETO RAMOS, ELI                ADDRESS ON FILE
BARRETO RAMOS, JOSE A.            ADDRESS ON FILE
Barreto Ramos, Jose M             ADDRESS ON FILE
BARRETO RAMOS, JOSE R.            ADDRESS ON FILE
BARRETO RAMOS, JULIA              ADDRESS ON FILE
BARRETO RAMOS, LYDIA              ADDRESS ON FILE
BARRETO RAMOS, RITA DEL C         ADDRESS ON FILE
BARRETO RAMOS, ROBERTO            ADDRESS ON FILE
BARRETO RAMOS, SARAI              ADDRESS ON FILE
Barreto Ramos, William            ADDRESS ON FILE
Barreto Reillo, Wilfredo          ADDRESS ON FILE
BARRETO RENTAS, ARACELIS          ADDRESS ON FILE
BARRETO REYES, ANA M.             ADDRESS ON FILE
BARRETO REYES, EILEEN I           ADDRESS ON FILE
BARRETO REYES, FREDDIE            ADDRESS ON FILE
BARRETO REYES, OSCAR              ADDRESS ON FILE
BARRETO REYES, SHEIDA E           ADDRESS ON FILE
BARRETO REYMUNDI, ANIA ESTELA     ADDRESS ON FILE
BARRETO RIOLLANO, JOSE            ADDRESS ON FILE
BARRETO RIOLLANO,JOSE E.          ADDRESS ON FILE
BARRETO RIOS, DELVIS              ADDRESS ON FILE
BARRETO RIOS, DELVIS I            ADDRESS ON FILE
BARRETO RIOS, FRANCISCO           ADDRESS ON FILE
Barreto Rios, Juan R              ADDRESS ON FILE
BARRETO RIOS, LUIS ANGEL          ADDRESS ON FILE
BARRETO RIVAS,MYRNA L.            ADDRESS ON FILE
BARRETO RIVERA, BRENDALIZ         ADDRESS ON FILE
BARRETO RIVERA, DIDIER            ADDRESS ON FILE
BARRETO RIVERA, ERNESTO           ADDRESS ON FILE
BARRETO RIVERA, GERMAN B          ADDRESS ON FILE
BARRETO RIVERA, IRIS              ADDRESS ON FILE
BARRETO RIVERA, JOSE              ADDRESS ON FILE
BARRETO RIVERA, LUIS A            ADDRESS ON FILE
BARRETO RIVERA, MANUEL            ADDRESS ON FILE
BARRETO RIVERA, MELISSA           ADDRESS ON FILE
BARRETO RIVERA, OLGA              ADDRESS ON FILE
BARRETO RIVERA, RAMON             ADDRESS ON FILE
BARRETO ROBLES, JULIO A.          ADDRESS ON FILE
BARRETO ROCA, WANDA               ADDRESS ON FILE
BARRETO RODRIGUEZ, AMARILIS       ADDRESS ON FILE
BARRETO RODRIGUEZ, ANA A          ADDRESS ON FILE
BARRETO RODRIGUEZ, CARLOS R.      ADDRESS ON FILE
BARRETO RODRIGUEZ, CATHERINE S.   ADDRESS ON FILE
BARRETO RODRIGUEZ, EILEEN         ADDRESS ON FILE
BARRETO RODRIGUEZ, ELIZABETH      ADDRESS ON FILE
BARRETO RODRIGUEZ, HAYDEE         ADDRESS ON FILE
BARRETO RODRIGUEZ, JESUS A        ADDRESS ON FILE
BARRETO RODRIGUEZ, JOSE           ADDRESS ON FILE
BARRETO RODRIGUEZ, KEYLA          ADDRESS ON FILE
BARRETO RODRIGUEZ, LIZETTE        ADDRESS ON FILE
BARRETO RODRIGUEZ, LUIS           ADDRESS ON FILE
BARRETO RODRIGUEZ, LUZ E          ADDRESS ON FILE
BARRETO RODRIGUEZ, MARIA          ADDRESS ON FILE
BARRETO RODRIGUEZ, MILEGXIS       ADDRESS ON FILE
BARRETO RODRIGUEZ, RENE           ADDRESS ON FILE
BARRETO RODRIGUEZ, SARA A         ADDRESS ON FILE
BARRETO RODRIGUEZ, SORYDETH       ADDRESS ON FILE
BARRETO RODRIGUEZ, SORYDETH       ADDRESS ON FILE




                                                                              Page 756 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 757 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Barreto Rodriguez, Wilfredo    ADDRESS ON FILE
BARRETO RODRIGUEZ, YAZMIN E    ADDRESS ON FILE
BARRETO RODRIGUEZ, YOLANDA     ADDRESS ON FILE
BARRETO ROHENA, MARIA M        ADDRESS ON FILE
BARRETO ROJAS, BEATRIZ         ADDRESS ON FILE
BARRETO ROJAS, ZULMARIE        ADDRESS ON FILE
BARRETO ROLDAN, LUIS A         ADDRESS ON FILE
BARRETO ROMAN, ANNETTE B.      ADDRESS ON FILE
BARRETO ROMAN, CARMEN M        ADDRESS ON FILE
BARRETO ROMAN, DENISE          ADDRESS ON FILE
BARRETO ROMAN, JOSE A          ADDRESS ON FILE
BARRETO ROMAN, JOSE A          ADDRESS ON FILE
BARRETO ROMAN, MADELINE E.     ADDRESS ON FILE
BARRETO ROMAN, MARIA C.        ADDRESS ON FILE
BARRETO ROMAN, MARIEL DEL C.   ADDRESS ON FILE
BARRETO ROMAN, MIGUEL          ADDRESS ON FILE
BARRETO ROMAN, OMAR            ADDRESS ON FILE
BARRETO ROMAN, OMAR            ADDRESS ON FILE
BARRETO ROMAN, ZORMARY         ADDRESS ON FILE
BARRETO ROMERO LAB INC         PO BOX 1985                                                                      HATILLO      PR      00659
Barreto Rosa, Pablo M.         ADDRESS ON FILE
BARRETO ROSADO, LUIS G.        ADDRESS ON FILE
BARRETO ROSAS, LAXMI SUSEJ     ADDRESS ON FILE
BARRETO RUIZ, MELVIN           ADDRESS ON FILE
Barreto Ruiz, Nelson B.        ADDRESS ON FILE
BARRETO RUIZ, ZAIDA IVONNE     ADDRESS ON FILE
BARRETO SAAVEDRA, EVA L        ADDRESS ON FILE
BARRETO SALAS, ANA T           ADDRESS ON FILE
BARRETO SALAS, DAMARYS         ADDRESS ON FILE
BARRETO SALAS, JAVIER          ADDRESS ON FILE
BARRETO SANCHEZ, CARMEN L      ADDRESS ON FILE
BARRETO SANCHEZ, FRNCHESKA     ADDRESS ON FILE
BARRETO SANCHEZ, MINERVA       ADDRESS ON FILE
BARRETO SANJURJO, JULIO        ADDRESS ON FILE
BARRETO SANTANA, MIGDALIA      ADDRESS ON FILE
BARRETO SANTIAGO, ANGEL        ADDRESS ON FILE
BARRETO SANTIAGO, MARIBEL      ADDRESS ON FILE
BARRETO SERRANO, FELIX         ADDRESS ON FILE
BARRETO SERRANO, MAIRTZA       ADDRESS ON FILE
BARRETO SILVA, NESTOR M        ADDRESS ON FILE
BARRETO SOLA, LUIS             ADDRESS ON FILE
BARRETO SOLA, RAFAEL           ADDRESS ON FILE
BARRETO SOSA MD, SISSI M       ADDRESS ON FILE
BARRETO SOSA, JUAN             ADDRESS ON FILE
BARRETO SOSA, LISSETTE         ADDRESS ON FILE
BARRETO SOSA, MARIA DE LOS A   ADDRESS ON FILE
BARRETO SOSA, TERESITA         ADDRESS ON FILE
BARRETO SOTO ELVIS             ADDRESS ON FILE
BARRETO SOTO, CARLOS E         ADDRESS ON FILE
Barreto Soto, Cesar A          ADDRESS ON FILE
BARRETO SOTO, DAMARYS          ADDRESS ON FILE
BARRETO SOTO, HAWARD           ADDRESS ON FILE
Barreto Soto, Hector           ADDRESS ON FILE
BARRETO SOTO, JOSE G           ADDRESS ON FILE
BARRETO SOTO, LUIS E.          ADDRESS ON FILE
Barreto Soto, Manuel De J      ADDRESS ON FILE
BARRETO SOTO, MARIA DEL C      ADDRESS ON FILE
BARRETO SOTO, MARIA T          ADDRESS ON FILE
BARRETO SOTO, MIGUEL A         ADDRESS ON FILE
BARRETO SOTO, MINERVA          ADDRESS ON FILE




                                                                           Page 757 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 758 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETO SOTO, MINERVA          ADDRESS ON FILE
BARRETO SOTO, NEFTALI          ADDRESS ON FILE
BARRETO SOTO, NOEMI            ADDRESS ON FILE
BARRETO SOTO, PATRIA           ADDRESS ON FILE
BARRETO SOTO, SUHEIDY          ADDRESS ON FILE
BARRETO SOTO, WILFREDO         ADDRESS ON FILE
BARRETO TAFFUR, MARTHA I       ADDRESS ON FILE
BARRETO TAFUR, CARLOTA         ADDRESS ON FILE
BARRETO TAVAREZ, ANABEL        ADDRESS ON FILE
BARRETO TAVAREZ, JAIME         ADDRESS ON FILE
BARRETO TIRADO, ANGEL M        ADDRESS ON FILE
BARRETO TOLEDO, OLGA E         ADDRESS ON FILE
BARRETO TORO, ALICE A          ADDRESS ON FILE
BARRETO TORRES, ALBERTO        ADDRESS ON FILE
BARRETO TORRES, ANA I          ADDRESS ON FILE
BARRETO TORRES, CARMEN         ADDRESS ON FILE
BARRETO TORRES, GISELLE        ADDRESS ON FILE
Barreto Torres, Hector E       ADDRESS ON FILE
BARRETO TORRES, MARILYN        ADDRESS ON FILE
BARRETO TORRES, MARILYN        ADDRESS ON FILE
BARRETO TORRES, MILAGROS       ADDRESS ON FILE
BARRETO TORRES, WILFREDO       ADDRESS ON FILE
BARRETO TOSADO, ELIX N         ADDRESS ON FILE
BARRETO TRAVERSO, NESVIA S     ADDRESS ON FILE
BARRETO USINO, ASLIN Z.        ADDRESS ON FILE
Barreto Usino, Edwin M.        ADDRESS ON FILE
BARRETO VALENTIN, LYDIA M.     ADDRESS ON FILE
BARRETO VALENTIN, ROBERTO      ADDRESS ON FILE
BARRETO VALENTIN,ELISEO        ADDRESS ON FILE
BARRETO VALLE, JOEL            ADDRESS ON FILE
BARRETO VALLE, KAREN           ADDRESS ON FILE
BARRETO VALLE, KAREN D.        ADDRESS ON FILE
BARRETO VARGAS, EVARISTA       ADDRESS ON FILE
BARRETO VARGAS, ISMAEL         ADDRESS ON FILE
BARRETO VARGAS, JOSE           ADDRESS ON FILE
BARRETO VARGAS, MARISOL        ADDRESS ON FILE
BARRETO VARGAS, MAYLIN         ADDRESS ON FILE
Barreto Vazquez, Anibal        ADDRESS ON FILE
BARRETO VAZQUEZ, DENISE        ADDRESS ON FILE
Barreto Vazquez, Jose Anibal   ADDRESS ON FILE
BARRETO VELAZQUE, MILDRED      ADDRESS ON FILE
BARRETO VELAZQUEZ, CARLOS      ADDRESS ON FILE
BARRETO VELAZQUEZ, EVELYN      ADDRESS ON FILE
BARRETO VELAZQUEZ, MARTA E.    ADDRESS ON FILE
BARRETO VELEZ, NITZA           ADDRESS ON FILE
BARRETO VELEZ, NITZA A.        ADDRESS ON FILE
BARRETO VIERA, MARIELY         ADDRESS ON FILE
BARRETO VINCENTY, LORIMAR      ADDRESS ON FILE
BARRETO WILLIAMS, ALEXANDRA    ADDRESS ON FILE
BARRETO YBARRA, JORGE R.       ADDRESS ON FILE
BARRETO YBARRA, JUAN           ADDRESS ON FILE
BARRETO, ASHLEY                ADDRESS ON FILE
BARRETO, DIONISIO              ADDRESS ON FILE
BARRETO, JONATHAN              ADDRESS ON FILE
BARRETO, JOSE L.               ADDRESS ON FILE
BARRETO, KEMUEL                ADDRESS ON FILE
BARRETO, LUZ SELENIA           ADDRESS ON FILE
BARRETO, NESTOR                ADDRESS ON FILE
BARRETO, OMAR                  ADDRESS ON FILE
BARRETOARVELO, CARMEN J        ADDRESS ON FILE




                                                                           Page 758 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 759 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRETORIVERA, ANGEL              ADDRESS ON FILE
BARRETT FERGUSON, ROSE M          ADDRESS ON FILE
BARRETT HALE Y ALAMO CONSULTIN    P O BOX 6425                                                                     SAN JUAN     PR      00914‐6425
BARRETT PARRA, GLORIA             ADDRESS ON FILE
BARRETT VEGA, CARMEN              ADDRESS ON FILE
BARRIENTIS ONOFRE, ZULMA          ADDRESS ON FILE
BARRIENTO ILDEFONSO, EVELYN       ADDRESS ON FILE
BARRIENTO LOPEZ, LUIS A           ADDRESS ON FILE
BARRIENTO VEGA, LUIS M.           ADDRESS ON FILE
BARRIENTOS AVILES, MARITZA        ADDRESS ON FILE
BARRIENTOS BATRES, SALOMON        ADDRESS ON FILE
BARRIENTOS BATRES, SALOMON        ADDRESS ON FILE
BARRIENTOS CABEZAS, CLORINDA Y.   ADDRESS ON FILE
BARRIENTOS CABRERA, LISAINIT M    ADDRESS ON FILE
BARRIENTOS CAMACHO, GLORIA E      ADDRESS ON FILE
BARRIENTOS CAMPOS, AMARILYS       ADDRESS ON FILE
BARRIENTOS CAMPOS, AMARILYS       ADDRESS ON FILE
BARRIENTOS COLON, YOLIMAR         ADDRESS ON FILE
BARRIENTOS CORREA, PEBBLES        ADDRESS ON FILE
BARRIENTOS DE JESUS, HERIBERTO    ADDRESS ON FILE
BARRIENTOS FLORES, DERICK         ADDRESS ON FILE
BARRIENTOS FLORES, ROSA B         ADDRESS ON FILE
BARRIENTOS GARCIA, YEDALITH       ADDRESS ON FILE
BARRIENTOS GAYOSO MD, JUAN M      ADDRESS ON FILE
BARRIENTOS GAYOSO, JACQUELINE     ADDRESS ON FILE
BARRIENTOS GIL, BEATRIZ A.        ADDRESS ON FILE
BARRIENTOS ILDEFONSO, CARMEN D    ADDRESS ON FILE
BARRIENTOS MARRERO, WILFREDO      ADDRESS ON FILE
BARRIENTOS MAS, ARAMIS            ADDRESS ON FILE
BARRIENTOS MENDEZ, LUCILA         ADDRESS ON FILE
BARRIENTOS MENDEZ, WILFREDO       ADDRESS ON FILE
BARRIENTOS MIRANDA, ANGEL         ADDRESS ON FILE
BARRIENTOS MIRANDA, CARMELO       ADDRESS ON FILE
BARRIENTOS MIRANDA, JUAN H.       ADDRESS ON FILE
BARRIENTOS NAVEDO, EDNA M         ADDRESS ON FILE
BARRIENTOS QUINONES, CARMEN R     ADDRESS ON FILE
BARRIENTOS SANTANA, CARMELO       ADDRESS ON FILE
BARRIENTOS VALLE, ALEX            ADDRESS ON FILE
Barrientos Valle, Alex M.         ADDRESS ON FILE
BARRIENTOS VEGA, MYRNA            ADDRESS ON FILE
BARRIERA AYALA, SANDRA            ADDRESS ON FILE
BARRIERA AYALA, YALISA            ADDRESS ON FILE
BARRIERA CANDELARIO, JOSE         ADDRESS ON FILE
BARRIERA COLON, PEDRO E           ADDRESS ON FILE
BARRIERA MUNOZ, SIMON             ADDRESS ON FILE
BARRIERA PACHECO, MIGUEL          ADDRESS ON FILE
BARRIERA PEREZ, EMANUEL           ADDRESS ON FILE
BARRIERA QUINONES, EDGARDO        ADDRESS ON FILE
BARRIERA RAMOS, ALEX              ADDRESS ON FILE
BARRIERA RODRIGUEZ, VIRGENMINA    ADDRESS ON FILE
BARRIERA RODRIGUEZ, WILLIAM       ADDRESS ON FILE
BARRIERA TORRES, HECTOR D.        ADDRESS ON FILE
BARRIERA TORRES, YAZMIN L         ADDRESS ON FILE
BARRIL ARCELAY, JOHANNA           ADDRESS ON FILE
BARRIL CORREA, HERMINIO           ADDRESS ON FILE
BARRIO ORTEGA, MARTIN             ADDRESS ON FILE
BARRIO RUBERTE, ALEXANDRA         ADDRESS ON FILE
BARRIONUEVO DIAZ, JORGE           ADDRESS ON FILE
BARRIONUEVO DIESTRA, DANILO       ADDRESS ON FILE
BARRIONUEVO RIVERA, EDNA          ADDRESS ON FILE




                                                                              Page 759 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 760 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARRIONUEVO RIVERA, FIDEL      ADDRESS ON FILE
BARRIONUEVO RIVERA, LIBERTAD   ADDRESS ON FILE
BARRIONUEVO RIVERA, WARREN     ADDRESS ON FILE
BARRIONUEVO ROSARIO, LUZ V     ADDRESS ON FILE
BARRIONUEVO SUAREZ, EMANUEL    ADDRESS ON FILE
BARRIOS ACEVEDO, GERARDO       ADDRESS ON FILE
BARRIOS ALICEA, CARMEN L       ADDRESS ON FILE
BARRIOS ALVAREZ, MILAGROS      ADDRESS ON FILE
BARRIOS BUSCAGLIA, GABRIELA    ADDRESS ON FILE
BARRIOS CALDERON, RICARDO      ADDRESS ON FILE
BARRIOS CARABALLO, HERMINIO    ADDRESS ON FILE
BARRIOS CASTELLANOS, AIDA      ADDRESS ON FILE
BARRIOS COLLAZO, CARMEN M.     ADDRESS ON FILE
Barrios Collazo, Ernesto       ADDRESS ON FILE
BARRIOS COLLAZO, MILDRED       ADDRESS ON FILE
BARRIOS COLLAZO, MIRTA         ADDRESS ON FILE
BARRIOS COLON, GRISELLE        ADDRESS ON FILE
BARRIOS COLON, MIGUEL A        ADDRESS ON FILE
BARRIOS FELICIANO, ANGEL       ADDRESS ON FILE
BARRIOS FELICIANO, FERNANDO    ADDRESS ON FILE
BARRIOS FELICIANO, NELSON      ADDRESS ON FILE
BARRIOS FERNANDEZ, ANGEL M.    ADDRESS ON FILE
BARRIOS FONTAINE, GRISELL      ADDRESS ON FILE
BARRIOS FONTAINE, GRISELL M    ADDRESS ON FILE
BARRIOS FUENTES, CARLOS        ADDRESS ON FILE
BARRIOS FUENTES, NATHANIEL     ADDRESS ON FILE
BARRIOS GONZALEZ, AIXAMIR      ADDRESS ON FILE
BARRIOS GONZALEZ, DOMINGO      ADDRESS ON FILE
BARRIOS GONZALEZ, WANDA I.     ADDRESS ON FILE
BARRIOS GRAZIANI, HECTOR       ADDRESS ON FILE
BARRIOS GUZMAN, JONAEL         ADDRESS ON FILE
BARRIOS GUZMAN, JOSE E.        ADDRESS ON FILE
Barrios Hernandez, Eduarda     ADDRESS ON FILE
BARRIOS HERNANDEZ, EVELYN      ADDRESS ON FILE
BARRIOS HERNANDEZ, JULIA       ADDRESS ON FILE
BARRIOS JIMENEZ, ERNESTINA     ADDRESS ON FILE
BARRIOS JIMENEZ, JOSE M        ADDRESS ON FILE
BARRIOS JIMENEZ, NELLIE        ADDRESS ON FILE
BARRIOS JIMENEZ, ROSA I        ADDRESS ON FILE
BARRIOS LLORENS, ROSSANA I     ADDRESS ON FILE
BARRIOS LUGO, EDWIN            ADDRESS ON FILE
BARRIOS LUGO, JANETTE          ADDRESS ON FILE
BARRIOS LUGO, LOURDES          ADDRESS ON FILE
BARRIOS LUGO, MARGARITA        ADDRESS ON FILE
BARRIOS LUGO, MARTA            ADDRESS ON FILE
BARRIOS MALDONADO, JEANNETTE   ADDRESS ON FILE
Barrios Martinez, Salvador     ADDRESS ON FILE
BARRIOS MAS, FRANCISCO         ADDRESS ON FILE
BARRIOS MAS, MIRIAM            ADDRESS ON FILE
BARRIOS MATOS, YAHAIRA         ADDRESS ON FILE
BARRIOS MEDINA, ANA M          ADDRESS ON FILE
BARRIOS MELENDEZ, MELISSA A    ADDRESS ON FILE
BARRIOS MELENDEZ, RONNY        ADDRESS ON FILE
BARRIOS MOLINA, JUAN           ADDRESS ON FILE
BARRIOS MORALES, ANA M.        ADDRESS ON FILE
BARRIOS MUNOZ, MADELINE        ADDRESS ON FILE
BARRIOS NEGRON, ALBA N         ADDRESS ON FILE
BARRIOS NEGRON, LUIS R         ADDRESS ON FILE
Barrios Negron, Samuel         ADDRESS ON FILE
BARRIOS NUNEZ, JONATHAN        ADDRESS ON FILE




                                                                           Page 760 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 761 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                        Address2                  Address3   Address4    City         State   PostalCode   Country
BARRIOS NUNEZ, MONIKA           ADDRESS ON FILE
BARRIOS ORTIZ, JUDITH           ADDRESS ON FILE
BARRIOS ORTIZ, NANCY            ADDRESS ON FILE
BARRIOS ORTIZ, ROSALINA         ADDRESS ON FILE
BARRIOS PADRO, ADOLFO           ADDRESS ON FILE
BARRIOS PEREZ, AURORA           ADDRESS ON FILE
BARRIOS PEREZ, MAYRA L          ADDRESS ON FILE
BARRIOS QUILES, EMILIA          ADDRESS ON FILE
BARRIOS RAMACHO MD, FRANCISCO   ADDRESS ON FILE
BARRIOS RAMOS, YADIRA           ADDRESS ON FILE
BARRIOS REYES, LUIS             ADDRESS ON FILE
BARRIOS RIOS, KAYLA             ADDRESS ON FILE
BARRIOS RIVERA, CARLOS          ADDRESS ON FILE
BARRIOS RIVERA, CARMEN          ADDRESS ON FILE
BARRIOS RIVERA, CARMEN J.       ADDRESS ON FILE
BARRIOS RIVERA, CHAELY M        ADDRESS ON FILE
BARRIOS RIVERA, WALLACE         ADDRESS ON FILE
BARRIOS RODRIGUEZ, GABRIEL R    ADDRESS ON FILE
BARRIOS ROMAN, AMALIA T         ADDRESS ON FILE
BARRIOS ROSALES, ROXANA         ADDRESS ON FILE
BARRIOS ROSARIO, BERNADETTE     ADDRESS ON FILE
BARRIOS ROSARIO, IVAN           ADDRESS ON FILE
BARRIOS ROSARIO, IVETTE         ADDRESS ON FILE
BARRIOS ROSARIO, SHEILA         ADDRESS ON FILE
BARRIOS SANCHEZ, ANGELICA       ADDRESS ON FILE
BARRIOS SANCHEZ, ESTEBAN        ADDRESS ON FILE
BARRIOS SANCHEZ, ESTEBAN        ADDRESS ON FILE
BARRIOS SANTIAGO, CARMEN        ADDRESS ON FILE
BARRIOS SANTOS, LUIS A          ADDRESS ON FILE
BARRIOS SOTO, CARMEN            ADDRESS ON FILE
BARRIOS TORRES, JAVIER          ADDRESS ON FILE
BARRIOS TORRES, ODALY           ADDRESS ON FILE
BARRIOS TORRES, YOMARI          ADDRESS ON FILE
BARRIOS VAZQUEZ, JACQUELINE     ADDRESS ON FILE
Barrios Velazquez, Eliezer      ADDRESS ON FILE
BARRIOS VELEZ, GRISEL           ADDRESS ON FILE
BARRIOS, RICARDO                ADDRESS ON FILE
BARRIS DE JESUS, JEFFREY        ADDRESS ON FILE
Barris Planell, Arturo          ADDRESS ON FILE
BARRIS ROSARIO, MARITZA         ADDRESS ON FILE
BARRIS VELEZ, KEILA A.          ADDRESS ON FILE
BARRITA FRANKIE                 ADDRESS ON FILE
BARRON ALEMANY, FERNANDO        ADDRESS ON FILE
BARRON ALEMANY, VIVIANA M       ADDRESS ON FILE
BARRON RUIZ, LYSETTE            ADDRESS ON FILE
BARRON TRAVEL                   LAGUNA GARDEN SHOPPING CENTER   SUITE 102                                        CAROLINA     PR      00979
BARROS AVILA, LUIS              ADDRESS ON FILE
BARROS BABILONIA, BETTY         ADDRESS ON FILE
BARROS DIAZ, CARMEN H           ADDRESS ON FILE
BARROS ESTRADA, EDITH           ADDRESS ON FILE
BARROS LAFUENTE, KRIZIA M       ADDRESS ON FILE
BARROS LOPEZ, DILSIA            ADDRESS ON FILE
BARROS LOPEZ, HECTOR            ADDRESS ON FILE
BARROS LOPEZ, MABEL H           ADDRESS ON FILE
BARROS MATEO, JOYCE             ADDRESS ON FILE
BARROS MATHEU, JANNETTE J.      ADDRESS ON FILE
BARROS MATHEU, YANELIS          ADDRESS ON FILE
BARROS VELOSO, LUCIA            ADDRESS ON FILE
Barroso Ayala, Ivette M         ADDRESS ON FILE
BARROSO CHINEA, JORGE L         ADDRESS ON FILE




                                                                            Page 761 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 762 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BARROSO COLON, RITA                ADDRESS ON FILE
BARROSO DE LEON, FRANCES M         ADDRESS ON FILE
BARROSO DE LEON, JUAN F.           ADDRESS ON FILE
BARROSO DE LEON, MARINES           ADDRESS ON FILE
BARROSO HERNANDEZ, ALFREDO         ADDRESS ON FILE
BARROSO HERNANDEZ, NANCY           ADDRESS ON FILE
BARROSO MUNOZ, GLORILY             ADDRESS ON FILE
BARROSO MURIEL, JUAN A.            ADDRESS ON FILE
BARROSO ORO, MARGARITA             ADDRESS ON FILE
BARROSO ORTIZ, NORBERTO            ADDRESS ON FILE
BARROSO PEREZ, ALIDA B             ADDRESS ON FILE
BARROSO PEREZ, CARMEN A            ADDRESS ON FILE
BARROSO RIOS, DAREL                ADDRESS ON FILE
BARROSO RIVERA, EDWIN              ADDRESS ON FILE
BARROSO RIVERA, EVELYN             ADDRESS ON FILE
BARROSO RIVERA, GLADYS             ADDRESS ON FILE
BARROSO RIVERA, MARISEL            ADDRESS ON FILE
BARROSO RIVERA, MARISEL            ADDRESS ON FILE
BARROSO RODRIGUEZ, MAGALY          ADDRESS ON FILE
BARROSO RODRIGUEZ, SIRAMAD         ADDRESS ON FILE
BARROSO ROSARIO, JUAN A            ADDRESS ON FILE
BARROSO ROSARIO, OMAR              ADDRESS ON FILE
BARROSO ROSARIO, OMAR              ADDRESS ON FILE
BARROSO SANCHEZ, KELVIN            ADDRESS ON FILE
BARROSO SANCHEZ, KELVIN            ADDRESS ON FILE
BARROSO TORRES, JOSE               ADDRESS ON FILE
BARROSO TORRES, LAURA E            ADDRESS ON FILE
BARROW NEUROLOGICAL INSTITUTE      PO BOX 53327                                                                     SAN JOSE     CA      95153
BARROWS POTTER, ELIZABETH          ADDRESS ON FILE
BARRUOS PEREZ, ERIKA               ADDRESS ON FILE
BARRY CRUZ, AMMY                   ADDRESS ON FILE
BARRY CRUZ, AMMY                   ADDRESS ON FILE
BARTHOLOMAUS B RUIZ SCHRAMM        ADDRESS ON FILE
BARTOLO CARABALLO CEDENO           ADDRESS ON FILE
BARTOLO LUGO MORALES               ADDRESS ON FILE
BARTOLO MARTINEZ IRIZARRY          ADDRESS ON FILE
BARTOLO MATEO Y MARIA N FELIZ      ADDRESS ON FILE
BARTOLO ORTIZ IRIZARRY             ADDRESS ON FILE
BARTOLO PABON MEDINA               ADDRESS ON FILE
BARTOLO QUINONES JIMENEZ           ADDRESS ON FILE
BARTOLO SANTOS, LUIS               ADDRESS ON FILE
BARTOLO TORO SANCHEZ               ADDRESS ON FILE
BARTOLO VALERA DURAN               ADDRESS ON FILE
BARTOLOME CAMACHO ALFONSO          ADDRESS ON FILE
BARTOLOME COTTO, YARITZA           ADDRESS ON FILE
BARTOLOME GAMUNDI                  ADDRESS ON FILE
BARTOLOME STIPEC                   URB SAN FRANCISCO         135 CALLE ALELI                                        SAN JUAN     PR      00927
BARTOLOMEI AGUILER MD, ANA         ADDRESS ON FILE
BARTOLOMEI AGUILERA MD, VICTORIA   ADDRESS ON FILE
BARTOLOMEI ALVAREZ, JOSE           ADDRESS ON FILE
BARTOLOMEI ALVAREZ, JOSE A         ADDRESS ON FILE
BARTOLOMEI APONTE, RAFAEL          ADDRESS ON FILE
BARTOLOMEI BALAY, GERARDO          ADDRESS ON FILE
BARTOLOMEI CAMPOS, DORIS ANN       ADDRESS ON FILE
BARTOLOMEI DIAZ, JOSE ANTONIO      ADDRESS ON FILE
BARTOLOMEI FLORES, JAVIER          ADDRESS ON FILE
BARTOLOMEI GONZALEZ, ENID L        ADDRESS ON FILE
BARTOLOMEI GUZMAN, DAVID           ADDRESS ON FILE
BARTOLOMEI JR., JOAQUIN A.         ADDRESS ON FILE
BARTOLOMEI LEON, ALBERTO           ADDRESS ON FILE




                                                                               Page 762 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 763 of 3500
                                                                                                         Creditor Matrix

Creditor Name                         Address1                              Address2                                  Address3   Address4   City      State   PostalCode   Country
BARTOLOMEI PADILLA, MARIA DE LOS A.   ADDRESS ON FILE
BARTOLOMEI PEREZ, CAROLINA            ADDRESS ON FILE
BARTOLOMEI PEREZ, EDGARDO R           ADDRESS ON FILE
BARTOLOMEI PEREZ, LUISA I             ADDRESS ON FILE
BARTOLOMEI PEREZ, MYRTELINA           ADDRESS ON FILE
BARTOLOMEI RAMOS, LUIS A.             ADDRESS ON FILE
BARTOLOMEI RAMOS, SARA E.             ADDRESS ON FILE
BARTOLOMEI RIVERA, MARIA M            ADDRESS ON FILE
BARTOLOMEI RIVERA, NORAY              ADDRESS ON FILE
BARTOLOMEI RIVERA, ODERAY             ADDRESS ON FILE
BARTOLOMEI RIVERA, RENE               ADDRESS ON FILE
BARTOLOMEI RODRIGUEZ MD, LUZ I        ADDRESS ON FILE
BARTOLOMEI RODRIGUEZ, ANGEL           ADDRESS ON FILE
Bartolomei Rodriguez, Manuel A.       ADDRESS ON FILE
BARTOLOMEI RODRIGUEZ, MARIA A         ADDRESS ON FILE
BARTOLOMEI RUIZ, GUILLERMO            ADDRESS ON FILE
BARTOLOMEI SANTAELLA MD, RENE         ADDRESS ON FILE
BARTOLOMEI SANTAELLA, RENE            ADDRESS ON FILE
BARTOLOMEI SUAREZ, CARMEN E           ADDRESS ON FILE
BARTOLOMEI VALENTIN, ORLANDO A        ADDRESS ON FILE
BARTOLOMEI VALERA, ELEAZAR            ADDRESS ON FILE
BARTOLOMEI VAZQUEZ, JOHANNA           ADDRESS ON FILE
BARTOLOMEI ZAYAS, ALICIA              ADDRESS ON FILE
BARTOLOMEI ZAYAS, ILEANA              ADDRESS ON FILE
BARTOLOMEI, GUIMERMO                  ADDRESS ON FILE
BARTOLOMEI, IXIA Y.                   ADDRESS ON FILE
BARTOLOMEI, JORGE                     ADDRESS ON FILE
BARTOLOMEY COTTO, JOSE                ADDRESS ON FILE
BARTOLOMEY COTTO, YARITZA             ADDRESS ON FILE
BARTOLOMEY MARRERO, CARMELO           ADDRESS ON FILE
BARTOLOMEY RODRIGUEZ, FELIX J.        ADDRESS ON FILE
BARTOLOMEY VELEZ, IRMA R              ADDRESS ON FILE
BARTON DE CARDENAS, ANA M             ADDRESS ON FILE
BARTON STEELE, RUTH                   ADDRESS ON FILE
BARTUM SANTOS, BRIGITTE               ADDRESS ON FILE
BARULLI MONTEALEGRE, VIRGINIA M.      ADDRESS ON FILE
BARZANA CINTRON, SHEILA               ADDRESS ON FILE
BARZANA SANTIAGO, ANGEL F             ADDRESS ON FILE
BARZANA SANTIAGO, CARMEN M            ADDRESS ON FILE
BARZANA SANTIAGO, LUZ M               ADDRESS ON FILE
BARZANA SANTIAGO, MARISOL             LCDO. HERIBERTO QUINONES ECHEVARRIA   URB SABANERA CAMINO DE LOS JARDINES 392                         CIDRA     PR      00739
BAS GONZALEZ, ROSA E                  ADDRESS ON FILE
BAS ORTIZ, ELVIRA                     ADDRESS ON FILE
BAS SANCHEZ, MIGUEL                   ADDRESS ON FILE
BASABE ARROYO, VICTOR                 ADDRESS ON FILE
BASABE AYUSO, TAINA M                 ADDRESS ON FILE
BASABE BOSQUE, GERMAN                 ADDRESS ON FILE
BASABE CASANOVA, MANUEL               ADDRESS ON FILE
BASABE DEL MORAL, ALVARO              ADDRESS ON FILE
BASABE DEL MORAL,ALVARO               ADDRESS ON FILE
Basabe Jones, Julio                   ADDRESS ON FILE
BASABE MENDOZA, IVELISSE              ADDRESS ON FILE
BASABE MIRANDA, FRANCHESKA            ADDRESS ON FILE
BASABE NIEVES, ROBERTO                ADDRESS ON FILE
BASABE PERFETTO, LOURDES              ADDRESS ON FILE
BASABE RIVERA, DARLENE                ADDRESS ON FILE
BASABE RIVERA, DEBBIE                 ADDRESS ON FILE
BASABE RODRIGUEZ, JETZEL              ADDRESS ON FILE
BASABE RODRIGUEZ, RAMPHIS             ADDRESS ON FILE
BASABE SANCHEZ, DELITZA               ADDRESS ON FILE




                                                                                                       Page 763 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 764 of 3500
                                                                                                    Creditor Matrix

Creditor Name                            Address1                       Address2                                 Address3   Address4   City            State   PostalCode   Country
BASABE SANCHEZ, YEIZA                    ADDRESS ON FILE
BASABE SERRANO, NEIL                     ADDRESS ON FILE
BASABE, LUIS                             ADDRESS ON FILE
BASCARAN MD , JOSE N                     ADDRESS ON FILE
BASCH MD , DAVID B                       ADDRESS ON FILE
BASCO COLON, NEYDA G                     ADDRESS ON FILE
BASCO MEDINA, HUGO L.                    ADDRESS ON FILE
BASCO MEDINA, JESSAMYN                   ADDRESS ON FILE
BASCO MEDINA, JOSE                       ADDRESS ON FILE
BASCO MEDINA, JOSE G.                    ADDRESS ON FILE
BASCO MORALES, ANGEL L                   ADDRESS ON FILE
BASCO MORALES, CARLOS J.                 ADDRESS ON FILE
BASCO MORALES, ERNESTO                   ADDRESS ON FILE
BASCO MORALES, JUAN D.                   ADDRESS ON FILE
BASCO NEGRON, VICTOR                     ADDRESS ON FILE
BASCO RIVERA, EDUARDO                    ADDRESS ON FILE
BASCO RIVERA, RAMON L                    ADDRESS ON FILE
Basco Santiago, Fernando L               ADDRESS ON FILE
BASCO TORRES, MADELINE                   ADDRESS ON FILE
BASCO TORRES, MARIBEL                    ADDRESS ON FILE
BASCO VELEZ, MIGDALIA                    ADDRESS ON FILE
BASCOM PALMER EYE INSTITUTE              PO BOX 19058                                                                                  GREEN BAY       WI      54307‐9058
BASCOM PALMER EYE INSTITUTE              PO BOX 19072                                                                                  GREEN BAY       WI      54307‐9072
BASCOS IRIZARRY, ELOY                    ADDRESS ON FILE
BASCOS IRIZARRY, ELOY M.                 ADDRESS ON FILE
BASDEN MORALES, ALAN                     ADDRESS ON FILE
BASDEN QUINONES, MARLON                  ADDRESS ON FILE
BASE INC                                 COND LA RADA                   1020 AVE ASHFORD STE 105                                       SAN JUAN        PR      00907‐1109
BASEBAL DOBLE A CAROLINA/FRANCISCO PEREZ COQUI                          G 1 CALLE 7                                                    CATANO          PR      00963
BASEBAL DOBLE A CAROLINA/FRANCISCO PEREZ PO BOX 715                                                                                    CATANO          PR      00963
BASEBALL COLICEBA ARROYO CORP            PO BOX 403                                                                                    GUAYAMA         PR      00785
BASEBALL PROSPECTS DEVELOPMENTS INC      VILLA CLEMENTE                 12 CALLE MADRID                                                GUAYNABO        PR      00969
BASELINE INC                             600 BLVD LOS ARBOLES STE 501                                                                  SAN JUAN        PR      00926
BASELINE INC                             FILE 50748                                                                                    LOS ANGELES     CA      90074‐0748
BASELINE, INC.                           600 BLVD. LOS ARBOLES          SUITE 501                                                      SAN JUAN        PR      00926
BASEM HASSAN LOMBARDI, MIRIAM            ADDRESS ON FILE
BASEM‐HASSAN LOMBARDI, MIRIAM            ADDRESS ON FILE
BASHAM FORD, CYNTHIA                     ADDRESS ON FILE
BASHI RODRIGUEZ, IRIS                    ADDRESS ON FILE
BASIC TAB FILING SYSTEMS                 PO BOX 351                                                                                    HATO REY        PR      00919
BASILIA CRUZ PEREZ                       ADDRESS ON FILE
BASILIA CRUZ RAMOS                       ADDRESS ON FILE
BASILIA TORRES LUCIANO                   ADDRESS ON FILE
BASILIO APONTE BELTRAN                   ADDRESS ON FILE
BASILIO APONTE BELTRAN                   ADDRESS ON FILE
BASILIO BAERGA PARAVISI                  ADDRESS ON FILE
BASILIO DE JESUS SANTIAGO                ADDRESS ON FILE
BASILIO DIAZ VILLALONGO                  ADDRESS ON FILE
BASILIO GRACIANY PEREIRA                 ADDRESS ON FILE
BASILIO GUTIERREZ RODRIGUEZ              ADDRESS ON FILE
BASILIO HERNANDEZ CARDONA                ADDRESS ON FILE
BASILIO LOPEZ VAZQUEZ                    ADDRESS ON FILE
BASILIO MARTINEZ ROSADO                  ADDRESS ON FILE
BASILIO MELENDEZ SUSTACHE                ADDRESS ON FILE
BASILIO MONTALVO RODRIGUEZ               MILTON J. GARCIA OCASIO        PO BOX 1077                                                    MANATI          PR      00674
BASILIO ORTIZ CEPEDA                     ADDRESS ON FILE
BASILIO PEREZ ARROYO                     ADDRESS ON FILE
BASILIO RODRIGUEZ VELAZQUEZ              ADDRESS ON FILE
BASILIO RODRIGUEZ VELAZQUEZ              ADDRESS ON FILE
BASILIO SOTO AGOSTO                      ADDRESS ON FILE




                                                                                                   Page 764 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 765 of 3500
                                                                                  Creditor Matrix

Creditor Name                   Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
BASILIO TORRES COLON            ADDRESS ON FILE
BASILIO VAZQUEZ DE LEON         ADDRESS ON FILE
BASILISA CALERO TORRES          ADDRESS ON FILE
BASILISA COLON RIVERA           ADDRESS ON FILE
BASILISA COLON RIVERA           ADDRESS ON FILE
BASILISA CRUZ PEDRAZA           ADDRESS ON FILE
BASILISA DE JESUS SANTANA       ADDRESS ON FILE
BASILISA MARQUEZ MELENDEZ       ADDRESS ON FILE
BASILISA SALAS QUINONEZ         ADDRESS ON FILE
BASILISO SOLER JUSTINIANO       ADDRESS ON FILE
BASKETERAPIA CORP               URB SAN GERARDO           310 CALLE MONTGOMERY                                       SAN JUAN     PR      00926
BASKIN MD , MARTIN M            ADDRESS ON FILE
BASMESON GONZALEZ, MARIA        ADDRESS ON FILE
BASMESON GONZALEZ, MARIA DEL    ADDRESS ON FILE
BASORA CARABALLO, FREDRICK      ADDRESS ON FILE
BASORA CINTRON, ELOIRIS         ADDRESS ON FILE
BASORA CINTRON, GRACIELA E      ADDRESS ON FILE
BASORA CINTRON, HILDA           ADDRESS ON FILE
BASORA FAGUNDO, CARLOS          ADDRESS ON FILE
BASORA FAGUNDO, JOSE E.         ADDRESS ON FILE
BASORA FLECHA, CARLOS A.        ADDRESS ON FILE
BASORA GONZALEZ, MIGUEL         ADDRESS ON FILE
BASORA GONZALEZ, STEVE          ADDRESS ON FILE
BASORA MERCADO, FERNANDO        ADDRESS ON FILE
BASORA PEREZ, HERBERT           ADDRESS ON FILE
BASORA ROVIRA MD, JOSE F        ADDRESS ON FILE
BASORA RUIZ, MILAGROS           ADDRESS ON FILE
BASORA SOTOMAYOR, ENRIQUE       ADDRESS ON FILE
BASS MD, LEWIS                  ADDRESS ON FILE
BASS MORALES, ELAINE            ADDRESS ON FILE
BASS MORALES, WILLIAM           ADDRESS ON FILE
BASS MORALES,WILLIAM            ADDRESS ON FILE
BASS RIVERA, GABRIEL O.         ADDRESS ON FILE
BASS ROSARIO, JOHN              ADDRESS ON FILE
BASS ZAVALA, SONIA              ADDRESS ON FILE
BASSA RAMIREZ MD, RAMON A       ADDRESS ON FILE
BASSAT CORDERO, GRISEL          ADDRESS ON FILE
BASSAT EXIA, EDWARD             ADDRESS ON FILE
BASSAT GARCIA, CARLA            ADDRESS ON FILE
BASSAT MORALES, RAMON A         ADDRESS ON FILE
BASSAT ORTIZ, VILMA             ADDRESS ON FILE
BASSAT REYES, NELSON            ADDRESS ON FILE
Bassat Ruiz, Gerardo            ADDRESS ON FILE
BASSAT TORRES, LUIS             ADDRESS ON FILE
BASSAT TORRES, NELSON R         ADDRESS ON FILE
BASSAT VARGAS, ARTEMIS          ADDRESS ON FILE
BASSATT MORALES, ZUHEY          ADDRESS ON FILE
BASSCO COLONIAL LIGHT INC       PO BOX 360375                                                                        SAN JUAN     PR      00936‐0375
BASTAR MALDONADO, ARITZA        ADDRESS ON FILE
BASTARDO BERA, HENRY            ADDRESS ON FILE
BASTARDO VELAZQUEZ, GLADYS M.   ADDRESS ON FILE
BASTARDO VELAZQUEZ, REBECA      ADDRESS ON FILE
BASTELL BENITEZ, LIZZ           ADDRESS ON FILE
BASTIAN BULERIN, YOLANDA        ADDRESS ON FILE
BASTIAN ECHEVARRIA, CARLOS      ADDRESS ON FILE
BASTIAN SANTIAGO RIVERA         ADDRESS ON FILE
BASTIAN, HAROLD S.              ADDRESS ON FILE
Bastidas Padilla, Allan         ADDRESS ON FILE
Bastidas Padilla, Henry         ADDRESS ON FILE
BASTOS MD, BRUNO                ADDRESS ON FILE




                                                                                 Page 765 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 766 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                   Address2                       Address3   Address4    City         State   PostalCode   Country
BASURTO VEGA, LORNA I          ADDRESS ON FILE
BATALLA BERRIOS, STEPHANIE M   ADDRESS ON FILE
BATALLA DIAZ, CESAR            ADDRESS ON FILE
BATALLA GOYTIA, JORGE L.       ADDRESS ON FILE
Batalla Goytia, Joshua R.      ADDRESS ON FILE
Batalla Ramos, Jorge R         ADDRESS ON FILE
BATALLA RAMOS, JORGE U.        ADDRESS ON FILE
Batalla Ramos, Ulises          ADDRESS ON FILE
BATALLA RIVERA, ANGEL          ADDRESS ON FILE
BATALLA ROMAN, ANNA N.         ADDRESS ON FILE
BATAN DE LA CRUZ, CHRISTIAN    ADDRESS ON FILE
BATASH MD, LEO                 ADDRESS ON FILE
Bath & Tile Factory Outlet     Carr. 2 Km 84.7                                                                  Hatillo      PR      00659
BATHSHEBA FILLER MODI          3000 OCEAN PKWY APT 13‐O                                                         BROOKLYN     NY      11235‐8352
BATIA GERONIMO, VIERQUIS       ADDRESS ON FILE
BATIA GERONIMO, VIERQUIS A     ADDRESS ON FILE
BATIANCILA, RHINE              ADDRESS ON FILE
BATINE OSORIO, CESAR           ADDRESS ON FILE
BATINE PEREZ, IVAN             ADDRESS ON FILE
BATINE PEREZ, IVAN             ADDRESS ON FILE
BATINE VERDEJO, BETHAZAIDA     ADDRESS ON FILE
BATISTA ABREU, MIGUEL A.       ADDRESS ON FILE
BATISTA ABREU, SYNDY           ADDRESS ON FILE
BATISTA ACEVEDO, LISETTE       ADDRESS ON FILE
BATISTA ACEVEDO, MIRNA L.      ADDRESS ON FILE
BATISTA ACEVEDO, VICTOR M      ADDRESS ON FILE
BATISTA ACEVEDO, VICTOR M      ADDRESS ON FILE
BATISTA ADORNO, LINDA          ADDRESS ON FILE
BATISTA AGOSTO, ILIANA         ADDRESS ON FILE
BATISTA ALAMO, ELLICE R        ADDRESS ON FILE
BATISTA ALICEA, ISAAC          ADDRESS ON FILE
BATISTA ALICEA, OLGA           ADDRESS ON FILE
BATISTA ALVARADO, IRMA LUZ     ADDRESS ON FILE
BATISTA ANDINO, KATHLEEN       ADDRESS ON FILE
BATISTA ANDROVET, ELLIOT       ADDRESS ON FILE
Batista Aponte, Benjamin       ADDRESS ON FILE
BATISTA ARROYO, KATHY          ADDRESS ON FILE
BATISTA ARROYO, MILITZA        ADDRESS ON FILE
BATISTA AVILES, ARNALDO        ADDRESS ON FILE
BATISTA AVILES, ESTEFANIA      ADDRESS ON FILE
BATISTA AVILES, MAYRA G.       ADDRESS ON FILE
BATISTA AVILES, RAFAEL A.      ADDRESS ON FILE
BATISTA BACHILLER, CORANNY     ADDRESS ON FILE
BATISTA BACO, CYBELL           ADDRESS ON FILE
BATISTA BACO, YELITZA J        ADDRESS ON FILE
BATISTA BADILLO, MARITZA J     ADDRESS ON FILE
BATISTA BAEZ, ENRIQUE          ADDRESS ON FILE
BATISTA BATISTA, ANTONIA       ADDRESS ON FILE
BATISTA BATISTA, CYNTHIA       ADDRESS ON FILE
BATISTA BATISTA, GENARO        ADDRESS ON FILE
BATISTA BATISTA, SANDY         ADDRESS ON FILE
BATISTA BENITEZ, LUIS          ADDRESS ON FILE
BATISTA BENJAMIN, ANIBAL       ADDRESS ON FILE
BATISTA BERMUDEZ, CORALIS      ADDRESS ON FILE
BATISTA BORRERO, CARMEN        ADDRESS ON FILE
BATISTA CANCEL, ROSA M         ADDRESS ON FILE
Batista Carillo, Juan A.       ADDRESS ON FILE
BATISTA CARRILES, JOSE         ADDRESS ON FILE
BATISTA CARRILLO, CARLOS       ADDRESS ON FILE
BATISTA CHAVEZ, CENOVIA        ADDRESS ON FILE




                                                                           Page 766 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 767 of 3500
                                                                                                         Creditor Matrix

Creditor Name                     Address1                                  Address2                                  Address3              Address4   City         State   PostalCode   Country
BATISTA CINTRON, MARIBEL          ADDRESS ON FILE
BATISTA COLON, GRISELL            ADDRESS ON FILE
BATISTA COLON, SANTA E            ADDRESS ON FILE
BATISTA COLON, YADIRA             ADDRESS ON FILE
BATISTA CONCEPCION, LISSETTE Y.   ADDRESS ON FILE
BATISTA CONTRERAS, HAYDEE         ADDRESS ON FILE
BATISTA CORDERO, MILAGROS         ADDRESS ON FILE
BATISTA CORREA, CARLOS            ADDRESS ON FILE
BATISTA CORREA, IRIS D            ADDRESS ON FILE
BATISTA CORREA, MANUELA           ADDRESS ON FILE
BATISTA CORREA, NILDA E           ADDRESS ON FILE
BATISTA COSME, FRANCISCO          ADDRESS ON FILE
BATISTA COSS, RAMON               ADDRESS ON FILE
BATISTA COSS, RAMON EDUARDO       ADDRESS ON FILE
BATISTA CRUZ, BETHZAIDA           ADDRESS ON FILE
BATISTA CRUZ, CARLOS M.           ADDRESS ON FILE
BATISTA CRUZ, IRBA                ADDRESS ON FILE
BATISTA CRUZ, LUIS                ADDRESS ON FILE
BATISTA CRUZ, ZORAIDA             ADDRESS ON FILE
BATISTA CUEVAS, BEATRIZ           ADDRESS ON FILE
BATISTA CUEVAS, LUZ A             ADDRESS ON FILE
BATISTA DE JESUS, KEISA I         ADDRESS ON FILE
Batista De Jesus, Orville S       ADDRESS ON FILE
BATISTA DE LEON, MILDRED          ADDRESS ON FILE
BATISTA DELGADO, GILBERTO         ADDRESS ON FILE
BATISTA DELGADO, OLGA             ADDRESS ON FILE
BATISTA DELGADO, ONDALY           ADDRESS ON FILE
BATISTA DELGADO, VILMA            ADDRESS ON FILE
BATISTA DIAZ, ARISDAMEL           ADDRESS ON FILE
BATISTA DIAZ, JENNIFER            ADDRESS ON FILE
BATISTA DIAZ, JONATHAN            DEMANDANTE: LCDO. LUIS E. GERVITZ CARBONE DEMANDANTE: COND EL CENTRO I SUITE 220 AVE. MUÑOZ RIVERA #500              HATO REY     PR      00918
BATISTA DIAZ, JONATHAN            ELA POR LA ASEGURADORA: LCDO. IVÁN COLÓN ELA POR LA ASEGURADORA: 478 CALLE JOSE A CANALS                             SAN JUAN     PR      00918‐2702
BATISTA DIAZ, JONATHAN            ADDRESS ON FILE
BATISTA DIAZ, JOSE A.             ADDRESS ON FILE
BATISTA DIAZ, JUAN                ADDRESS ON FILE
Batista Diaz, Macys H             ADDRESS ON FILE
BATISTA DIAZ, PEDRO               ADDRESS ON FILE
BATISTA DIAZ, WILTON              ADDRESS ON FILE
BATISTA ESCRIBANO, CARLOS         ADDRESS ON FILE
BATISTA FEBRES, CARLOS            ADDRESS ON FILE
BATISTA FELIZ, ELPIDIO            ADDRESS ON FILE
BATISTA FIGUEROA, LENETSSY        ADDRESS ON FILE
BATISTA FIGUEROA, YARANI          ADDRESS ON FILE
BATISTA FLORES, AXEL              ADDRESS ON FILE
BATISTA FLORES, GLORIA E.         ADDRESS ON FILE
BATISTA FLORIAN, LUIS             ADDRESS ON FILE
BATISTA GARCIA, EDWIN             ADDRESS ON FILE
BATISTA GARCIA, EDWIN             ADDRESS ON FILE
BATISTA GARCIA, HILDA M           ADDRESS ON FILE
BATISTA GARCIA, LENER             ADDRESS ON FILE
BATISTA GARCIA, LOURDES A.        ADDRESS ON FILE
BATISTA GARCIA, NORMA             ADDRESS ON FILE
BATISTA GARCIA, OSCAR             ADDRESS ON FILE
Batista Garcia, Oscar G           ADDRESS ON FILE
BATISTA GENAO, MENDY              ADDRESS ON FILE
BATISTA GERMOSEN, ZULEIKA         ADDRESS ON FILE
Batista Goitia, Antonio           ADDRESS ON FILE
BATISTA GOMEZ, DINA S.            ADDRESS ON FILE
BATISTA GONZALEZ, CARMEN L        ADDRESS ON FILE
BATISTA GONZALEZ, INES            ADDRESS ON FILE




                                                                                                       Page 767 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 768 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BATISTA GONZALEZ, JORGE          ADDRESS ON FILE
BATISTA GONZALEZ, JOSEFINA       ADDRESS ON FILE
BATISTA GONZALEZ, MARGARITA      ADDRESS ON FILE
BATISTA GONZALEZ, ROSA           ADDRESS ON FILE
BATISTA GUTIERREZ, JEAN E.       ADDRESS ON FILE
BATISTA HEREDIA, MYRIAM          ADDRESS ON FILE
BATISTA HERNANDEZ, BRENDA        ADDRESS ON FILE
BATISTA HERNANDEZ, DACKMARIE     ADDRESS ON FILE
BATISTA HERNANDEZ, JOSE E.       ADDRESS ON FILE
BATISTA HERNANDEZ, MARIA         ADDRESS ON FILE
BATISTA HERNANDEZ, MARIA         ADDRESS ON FILE
BATISTA HERNANDEZ, MARIA E       ADDRESS ON FILE
BATISTA HERNANDEZ, MARIA S.      ADDRESS ON FILE
BATISTA HERNANDEZ, MAURY I       ADDRESS ON FILE
BATISTA HERNANDEZ, NOEL          ADDRESS ON FILE
BATISTA HERNANDEZ, SANDY         ADDRESS ON FILE
BATISTA HERNANDEZ, SANDY         ADDRESS ON FILE
BATISTA HERNANDEZ, SANDY         ADDRESS ON FILE
BATISTA HERNANDEZ, SONIA I       ADDRESS ON FILE
BATISTA HERNANDEZ, WANDA         ADDRESS ON FILE
BATISTA HERNANDEZ, ZOEMARY       ADDRESS ON FILE
BATISTA IRRIZARY, IVELLISSE      ADDRESS ON FILE
BATISTA LIZANDRO, WILLIAM        ADDRESS ON FILE
BATISTA LOPEZ, JOSE F.           ADDRESS ON FILE
BATISTA MANZANO, JOAN            ADDRESS ON FILE
BATISTA MANZANO, JOAN D.         ADDRESS ON FILE
BATISTA MARIN, MARIA T           ADDRESS ON FILE
BATISTA MARRERO, GIOVANI         ADDRESS ON FILE
BATISTA MARTINEZ, DELIA E        ADDRESS ON FILE
BATISTA MARTINEZ, EDWIN          ADDRESS ON FILE
BATISTA MARTINEZ, IVETTE M       ADDRESS ON FILE
BATISTA MARTINEZ, LIEFDE         ADDRESS ON FILE
BATISTA MARTINEZ, LIEFDE K       ADDRESS ON FILE
BATISTA MARTINEZ, MARIA I        ADDRESS ON FILE
BATISTA MARTINEZ, MICHAEL        ADDRESS ON FILE
Batista Martinez, Valeria A.     ADDRESS ON FILE
BATISTA MATOS, EVELYN            ADDRESS ON FILE
BATISTA MEDINA, EDNA             ADDRESS ON FILE
BATISTA MEDINA, ROBERTO          ADDRESS ON FILE
BATISTA MELENDEZ, CARMEN M       ADDRESS ON FILE
Batista Melendez, Jimmy          ADDRESS ON FILE
BATISTA MELENDEZ, MARIA DE LOS   ADDRESS ON FILE
BATISTA MELENDEZ, NORBERTO       ADDRESS ON FILE
BATISTA MENDEZ, BUENVENTURA      ADDRESS ON FILE
BATISTA MENDEZ, KEYDALIZ         ADDRESS ON FILE
BATISTA MERCADO, ALEXANDER       ADDRESS ON FILE
BATISTA MIRANDA, CARLOS          ADDRESS ON FILE
BATISTA MIRANDA, ERNESTO         ADDRESS ON FILE
BATISTA MIRANDA, GERARDO         ADDRESS ON FILE
BATISTA MOCTEZUMA, ZULMA V       ADDRESS ON FILE
BATISTA MOLINA, MARGARITA        ADDRESS ON FILE
BATISTA MONTANEZ, ARMANDO        ADDRESS ON FILE
BATISTA MORALES, CHRISTIAN       ADDRESS ON FILE
BATISTA MORALES, FERNANDO        ADDRESS ON FILE
BATISTA MORALES, IRMAR           ADDRESS ON FILE
BATISTA MORALES, ONIKA           ADDRESS ON FILE
BATISTA MORALES, ROSA            ADDRESS ON FILE
BATISTA MORALES, SIGILFREDO      ADDRESS ON FILE
BATISTA MORALES, WILMER          ADDRESS ON FILE
BATISTA MUNIZ, JESSE             ADDRESS ON FILE




                                                                             Page 768 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 769 of 3500
                                                                                     Creditor Matrix

Creditor Name                  Address1                             Address2                      Address3   Address4   City        State   PostalCode   Country
Batista Negron, Carmen A       ADDRESS ON FILE
BATISTA NEGRON, MICHAEL        ADDRESS ON FILE
BATISTA OCASIO, AWILDA         ADDRESS ON FILE
BATISTA OCASIO, FAYE           ADDRESS ON FILE
BATISTA OCASIO, JUSTINO        ADDRESS ON FILE
BATISTA OCASIO, MARITZA        ADDRESS ON FILE
BATISTA OFFICE                 URB SIERRA BAYAMON 70‐3 CALLE 60                                                         BAYAMON     PR      00961
BATISTA OFFICE SUPPLY          URB SIERRA BAYAMON                   70‐3 CALLE 60                                       BAYAMON     PR      00961
BATISTA OFFICE SUPPLY          URB SIERRA BAYAMON 70 # 3 CALLE 60                                                       BAYAMON     PR      00961
BATISTA OFFICE SUPPLY          URB. SIERRA #70                                                                          BAYAMON     PR      00961
BATISTA OFFICE SUPPLY          URB. SIERRA BAYAMON 3‐70, CALLE 60                                                       BAYAMON     PR      00961
BATISTA OQUENDO, FRANCES       ADDRESS ON FILE
BATISTA ORTEGA, LUZ M          ADDRESS ON FILE
BATISTA ORTIZ, JAVIER          ADDRESS ON FILE
BATISTA ORTIZ, JULIO A.        ADDRESS ON FILE
BATISTA ORTIZ, NAHIR           ADDRESS ON FILE
BATISTA ORTIZ, SHAIRA          ADDRESS ON FILE
BATISTA PADUA, ANIBAL          ADDRESS ON FILE
BATISTA PADUA, BRENDA          ADDRESS ON FILE
BATISTA PAGAN, ANGEL M         ADDRESS ON FILE
BATISTA PAGAN, NANCY           ADDRESS ON FILE
BATISTA PARIS, CARLOS          ADDRESS ON FILE
BATISTA PASTRANA, WANDA I.     ADDRESS ON FILE
BATISTA PERALTA, DAISY         ADDRESS ON FILE
BATISTA PERALTA, DAISY         ADDRESS ON FILE
BATISTA PEREZ, JUSTILIANA      ADDRESS ON FILE
BATISTA PEREZ, LUIS A          ADDRESS ON FILE
BATISTA PEREZ, MARIA           ADDRESS ON FILE
BATISTA PEREZ, WANDA           ADDRESS ON FILE
BATISTA PICA, MARIA DE LOS A   ADDRESS ON FILE
BATISTA PIZARRO, CESAR         ADDRESS ON FILE
BATISTA PIZARRO, EVA           ADDRESS ON FILE
BATISTA PIZARRO, EVA M.        ADDRESS ON FILE
BATISTA PIZARRO, JULIAN        ADDRESS ON FILE
BATISTA PIZARRO, PEDRO         ADDRESS ON FILE
BATISTA POLANCO, DUBIORGA      ADDRESS ON FILE
BATISTA POLANCO, DUBIORGA      ADDRESS ON FILE
BATISTA QUILES, NELSON         ADDRESS ON FILE
BATISTA QUINONES, KEILA        ADDRESS ON FILE
BATISTA QUINONES, WILNERVA     ADDRESS ON FILE
BATISTA QUINONEZ, LUZ          ADDRESS ON FILE
BATISTA RAMOS, JUAN F.         ADDRESS ON FILE
BATISTA RAMOS, LIONEL          ADDRESS ON FILE
BATISTA RAMOS, MARIA T         ADDRESS ON FILE
BATISTA RESTO, IVETTE          ADDRESS ON FILE
BATISTA REYES, JUAN            ADDRESS ON FILE
BATISTA RIOS, AMAURY           ADDRESS ON FILE
Batista Rios, Felipe           ADDRESS ON FILE
BATISTA RIOS, JOSE             ADDRESS ON FILE
BATISTA RIVERA, CELSO          ADDRESS ON FILE
Batista Rivera, Eric           ADDRESS ON FILE
BATISTA RIVERA, ERIEZER        ADDRESS ON FILE
BATISTA RIVERA, FERNANDO       ADDRESS ON FILE
BATISTA RIVERA, GILBERTO       ADDRESS ON FILE
BATISTA RIVERA, GILBERTO       ADDRESS ON FILE
Batista Rivera, Iris D.        ADDRESS ON FILE
BATISTA RIVERA, JOSE F.        ADDRESS ON FILE
BATISTA RIVERA, JUAN           ADDRESS ON FILE
BATISTA RIVERA, LYDIA A        ADDRESS ON FILE
BATISTA RIVERA, MARTA          ADDRESS ON FILE




                                                                                    Page 769 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 770 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BATISTA RIVERA, MIGDALIA       ADDRESS ON FILE
Batista Rivera, Yolanda        ADDRESS ON FILE
BATISTA RODRIGUEZ, ANGEL       ADDRESS ON FILE
BATISTA RODRIGUEZ, ARACELIS    ADDRESS ON FILE
BATISTA RODRIGUEZ, BRUNILDA    ADDRESS ON FILE
BATISTA RODRIGUEZ, CARLOS G    ADDRESS ON FILE
BATISTA RODRIGUEZ, EVELYN      ADDRESS ON FILE
BATISTA RODRIGUEZ, HECTOR      ADDRESS ON FILE
Batista Rodriguez, Hector      ADDRESS ON FILE
BATISTA RODRIGUEZ, JEANNETTE   ADDRESS ON FILE
BATISTA RODRIGUEZ, JOSE A.     ADDRESS ON FILE
Batista Rodriguez, Jose R      ADDRESS ON FILE
BATISTA RODRIGUEZ, JOSUE       ADDRESS ON FILE
BATISTA RODRIGUEZ, LEONEL      ADDRESS ON FILE
Batista Rodriguez, Manuel      ADDRESS ON FILE
BATISTA RODRIGUEZ, MARGARITA   ADDRESS ON FILE
BATISTA RODRIGUEZ, MARIA       ADDRESS ON FILE
BATISTA RODRIGUEZ, MARIA J     ADDRESS ON FILE
BATISTA RODRIGUEZ, MELVIN      ADDRESS ON FILE
BATISTA RODRIGUEZ, MYRIAM A    ADDRESS ON FILE
BATISTA RODRIGUEZ, MYRNA I     ADDRESS ON FILE
BATISTA RODRIGUEZ, TOMAS       ADDRESS ON FILE
BATISTA RODRIGUEZ, VERONICA    ADDRESS ON FILE
BATISTA RODRIGUEZ, ZOMARIE     ADDRESS ON FILE
BATISTA RODRIGUEZ, ZOMARIE     ADDRESS ON FILE
BATISTA RODRIGUEZ, ZORAIDA     ADDRESS ON FILE
BATISTA ROMAN, ARIEL           ADDRESS ON FILE
BATISTA ROMAN, BENJAMIN        ADDRESS ON FILE
BATISTA ROMAN, IZEL            ADDRESS ON FILE
BATISTA ROMAN, NEFTALI         ADDRESS ON FILE
BATISTA ROMAN, YESENIA         ADDRESS ON FILE
BATISTA ROSA, SANDRA L         ADDRESS ON FILE
BATISTA ROSADO, CARMEN         ADDRESS ON FILE
Batista Rosado, Grisela M.     ADDRESS ON FILE
BATISTA ROSADO, GRISELA M.     ADDRESS ON FILE
BATISTA ROSARIO, JOSE A.       ADDRESS ON FILE
BATISTA ROSARIO, MAGDALENA     ADDRESS ON FILE
Batista Rosario, Roberto       ADDRESS ON FILE
BATISTA SAEZ, YAHAIRA          ADDRESS ON FILE
BATISTA SAEZ, YOMAIRA          ADDRESS ON FILE
BATISTA SANCHEZ, LYNNETTE S    ADDRESS ON FILE
BATISTA SANTAELLA, MARIA E     ADDRESS ON FILE
BATISTA SANTANA, NOEL          ADDRESS ON FILE
BATISTA SANTIAGO MD, SILMA     ADDRESS ON FILE
BATISTA SANTIAGO, ALEXANDER    ADDRESS ON FILE
BATISTA SANTIAGO, ELIGIO       ADDRESS ON FILE
BATISTA SANTIAGO, GERARDO      ADDRESS ON FILE
BATISTA SANTIAGO, IDALIS       ADDRESS ON FILE
BATISTA SANTIAGO, IRMA V       ADDRESS ON FILE
BATISTA SANTIAGO, LOURDES      ADDRESS ON FILE
BATISTA SANTIAGO, LUZ E.       ADDRESS ON FILE
Batista Santiago, Norberto     ADDRESS ON FILE
BATISTA SANTOS, EDGARDO        ADDRESS ON FILE
BATISTA SERRANO, ANGELICA      ADDRESS ON FILE
Batista Serrano, Carlos        ADDRESS ON FILE
Batista Serrano, Edgardo       ADDRESS ON FILE
BATISTA SERRANO, ENID M        ADDRESS ON FILE
BATISTA SERRANO, GLADYS        ADDRESS ON FILE
BATISTA SERRANO, JORGE L       ADDRESS ON FILE
BATISTA SIERRA, ABIGAIL        ADDRESS ON FILE




                                                                           Page 770 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 771 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Batista Sierra, David        ADDRESS ON FILE
BATISTA SOLIS, ADRIAN        ADDRESS ON FILE
BATISTA SOTO, JULIAN         ADDRESS ON FILE
BATISTA SOTO, JULIAN         ADDRESS ON FILE
BATISTA TAVAREZ, ANA         ADDRESS ON FILE
BATISTA TEJEDA, MASSIEL      ADDRESS ON FILE
BATISTA TIRADO, JOSE         ADDRESS ON FILE
BATISTA TOLEDO, CANDIDA R    ADDRESS ON FILE
BATISTA TORRES MD, JOSE R    ADDRESS ON FILE
BATISTA TORRES, ELIZABETH    ADDRESS ON FILE
BATISTA TORRES, JOSE         ADDRESS ON FILE
BATISTA TORRES, MARLA G      ADDRESS ON FILE
BATISTA TORRES, NILSA        ADDRESS ON FILE
BATISTA TORRES, REINALDO     ADDRESS ON FILE
Batista Torres, Rigoberto    ADDRESS ON FILE
Batista Varela, Juan C       ADDRESS ON FILE
BATISTA VARGAS, KHARYLIS Z   ADDRESS ON FILE
BATISTA VAZQUEZ, GEORGINA    ADDRESS ON FILE
BATISTA VAZQUEZ, KATHERINE   ADDRESS ON FILE
BATISTA VEGA, JUAN           ADDRESS ON FILE
BATISTA VEGA, LUZ C.         ADDRESS ON FILE
BATISTA VEGA, MARIA L        ADDRESS ON FILE
BATISTA VELAZQUEZ, DAISY     ADDRESS ON FILE
BATISTA VELAZQUEZ, MARITZA   ADDRESS ON FILE
BATISTA VELEZ, AILEEN        ADDRESS ON FILE
BATISTA VELEZ, JOEL          ADDRESS ON FILE
BATISTA VELEZ, LYDIA         ADDRESS ON FILE
BATISTA VILLALONGO, ELSA I   ADDRESS ON FILE
BATISTA WALKER, ANABELLE     ADDRESS ON FILE
Batista Walker, Cesar A      ADDRESS ON FILE
BATISTA ZAMET, RAFAEL        ADDRESS ON FILE
BATISTA ZAMOT, RAFAEL        ADDRESS ON FILE
BATISTA ZENGOTITA, AUREA M   ADDRESS ON FILE
BATISTA ZENGOTITA, DAMARYS   ADDRESS ON FILE
BATISTA ZENGOTITA, DAMARYS   ADDRESS ON FILE
BATISTA ZENGOTITA, ERICA J   ADDRESS ON FILE
BATISTA, ALEXIS              ADDRESS ON FILE
BATISTA, ASTHUR              ADDRESS ON FILE
BATISTA, GLADYS              ADDRESS ON FILE
BATISTA, JESMARY             ADDRESS ON FILE
BATISTA, LEONIDES            ADDRESS ON FILE
BATISTA, MARGARITA           ADDRESS ON FILE
BATISTA, RAFAEL A.           ADDRESS ON FILE
BATISTINI FERNANDEZ, JOEL    ADDRESS ON FILE
BATIZ CABAN, MAYRA           ADDRESS ON FILE
BATIZ CARTAGENA, LILLIAN     ADDRESS ON FILE
BATIZ CEDENO, DAISY J        ADDRESS ON FILE
Batiz Chamorro, Ferdinand    ADDRESS ON FILE
BATIZ CHAMORRO, FERDINAND    ADDRESS ON FILE
BATIZ CHAMORRO, ISRAEL       ADDRESS ON FILE
BATIZ CORNIER, JUAN C.       ADDRESS ON FILE
BATIZ DE RIVERA, ADA         ADDRESS ON FILE
BATIZ GIMENES,HECTOR L.      ADDRESS ON FILE
BATIZ GIMENEZ, CARMEN R      ADDRESS ON FILE
BATIZ GIMENEZ, HECTOR L.     ADDRESS ON FILE
BATIZ GONZALEZ, SYLVIA J.    ADDRESS ON FILE
BATIZ GRILLASCA, MARTA T     ADDRESS ON FILE
BATIZ GULLON, MARIBET        ADDRESS ON FILE
BATIZ GULLON, NESTOR         ADDRESS ON FILE
BATIZ GULLON, NESTOR         ADDRESS ON FILE




                                                                         Page 771 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 772 of 3500
                                                                                   Creditor Matrix

Creditor Name                     Address1                             Address2                 Address3   Address4   City            State   PostalCode   Country
BATIZ GULLON, SONIA               ADDRESS ON FILE
BATIZ HERNANDEZ, CAROLINE         ADDRESS ON FILE
BATIZ LEANDRY, JORGE A.           ADDRESS ON FILE
BATIZ LOPEZ, ROBERTO              ADDRESS ON FILE
BATIZ MALDONADO, LUIS             ADDRESS ON FILE
BATIZ MALDONADO, LUIS             ADDRESS ON FILE
BATIZ MORALES, CYNTHIA G          ADDRESS ON FILE
BATIZ MORALES, HECTOR J           ADDRESS ON FILE
Batiz Muniz, Rosemary             ADDRESS ON FILE
BATIZ PARRILLA, JOHAN M           ADDRESS ON FILE
BATIZ PERALTA, EVELYN M           ADDRESS ON FILE
BATIZ RAMIA, CARLOS               ADDRESS ON FILE
BATIZ RAMIA, KAREM L              ADDRESS ON FILE
BATIZ RAMOS, DIANA E              ADDRESS ON FILE
Batiz Rivera, Janice              ADDRESS ON FILE
BATIZ RIVERA, SANTOS              ADDRESS ON FILE
BATIZ RODRIGUEZ, ANGEL M          ADDRESS ON FILE
BATIZ RODRIGUEZ, IRIS             ADDRESS ON FILE
BATIZ ROSADO, ARELIX              ADDRESS ON FILE
BATIZ RUIZ, LEYDA                 ADDRESS ON FILE
BATIZ SERRANO, OSVALDO            ADDRESS ON FILE
BATIZ TORRES, CELIA M             ADDRESS ON FILE
BATIZ TORRES, CYNTHIA M           ADDRESS ON FILE
BATIZ TORRES, LUZ                 ADDRESS ON FILE
BATIZ TORRES, SYLVIA              ADDRESS ON FILE
BATIZ VARGAS, CARLOS              ADDRESS ON FILE
BATIZ VELAZQUEZ, ALEXIS           ADDRESS ON FILE
BATIZ VELAZQUEZ, JOAN             ADDRESS ON FILE
BATIZ VELAZQUEZ, NESTOR           ADDRESS ON FILE
BATIZ VERGARA, JOSE               ADDRESS ON FILE
BATLLE BATLLE MD, FRANCISCO A     ADDRESS ON FILE
BATLLE BATLLE, JAIME              ADDRESS ON FILE
BATLLE CARDONA, JOSEFA DEL C      ADDRESS ON FILE
BATLLE CINTRON, LYSANDRA M        ADDRESS ON FILE
BATLLE COLON, ALEJANDRA           ADDRESS ON FILE
BATLLE MONTALVO, ROSALYN          ADDRESS ON FILE
BATLLE QUIDGLEY, CYNTHIA A.       ADDRESS ON FILE
BATLLE RALAT, KENNETH             ADDRESS ON FILE
BATLLE RAMIREZ, CARLA M           ADDRESS ON FILE
Batlle Rodriguez, Evie S.         ADDRESS ON FILE
BATLLE TORRES, ELSIE              ADDRESS ON FILE
BATRA MD, ERICH                   ADDRESS ON FILE
Batteries Plus Bulbs              Ave. Comerio HF Plaza Local 134                                                     Bayamon         PR      00961
BATTERIES PLUS‐134                B #50 CALLE RIO BAYAMON              SUITE 45                                       BAYAMON         PR      00961‐3412
BATTERY GIANT LLC                 PO BOX 1851                                                                         SABANA SECA     PR      00952
BATTERY GIANT PR                  1 CALLE ACUARELA SUITE 102                                                          GUAYNABO        PR      00969
BATTERY GIANT PR LLC              BO. CANDELARIA , CARR. 865 KM. 4.5                                                  TOA BAJA        PR      00949‐0000
BATTERY GIANT PR LLC              PO BOX 1851                                                                         TOA BAJA        PR      00952‐1851
BATTISTI LUGO, GISELLA            ADDRESS ON FILE
BATTISTINI BAEZ, ALMA G           ADDRESS ON FILE
BATTISTINI CAMPOS, MARIA DE LOS   ADDRESS ON FILE
BATTISTINI CRUZ, SONIA            ADDRESS ON FILE
BATTISTINI HERNANDEZ, JOAN        ADDRESS ON FILE
BATTISTINI MANDES, LAURA          ADDRESS ON FILE
BATTISTINI MULERO, YVONNE         ADDRESS ON FILE
BATTISTINI OLIVERAS, JULIO        ADDRESS ON FILE
BATTISTINI OLIVERAS, MARILYN      ADDRESS ON FILE
BATTISTINI OLIVERAS, ZENAIDA      ADDRESS ON FILE
BATTISTINI ORTIZ, LUIS            ADDRESS ON FILE
BATTISTINI QUINONES, RAFAEL       ADDRESS ON FILE




                                                                                  Page 772 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 773 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                     Address2                      Address3   Address4    City             State   PostalCode   Country
BATTISTINI RAMIREZ, ZILKA               ADDRESS ON FILE
BATTISTINI RAMOS, LUZ                   ADDRESS ON FILE
BATTISTINI RODRIGUEZ, MARGARITA         ADDRESS ON FILE
BATTISTINI RUANO, HUMBERTO              ADDRESS ON FILE
BATTISTINI RUIZ, QUINTIN                ADDRESS ON FILE
BATTISTINI TORRES, CARMEN A             ADDRESS ON FILE
BATTISTINI, LUIS                        ADDRESS ON FILE
BATTLE GUERRA, YAMILL A                 ADDRESS ON FILE
Battle La Torre, Emilio A.              ADDRESS ON FILE
BATTLE LA TORRE, WANDA                  ADDRESS ON FILE
BATTLE LATORRE, ERIKA                   ADDRESS ON FILE
BATTLE ORTIZ, MATILDE                   ADDRESS ON FILE
BATTLE PENA, ANIBAL                     ADDRESS ON FILE
BATTLE RALAT, AMARYS                    ADDRESS ON FILE
BATTLE VALLE, WALTER                    ADDRESS ON FILE
BATTLE VELEZ, NELSON                    ADDRESS ON FILE
BATTLE, KATHRYN                         ADDRESS ON FILE
BATUTERAS 25 ENERO/SU BANDA CORPS PONCE PUNTO DE ORO II              EL BUD 6531                                          PONCE            PR      00728
BATUTERAS SONADORAS Y SU BANDA ALL STAR 634 CALLE CEFERINO BARBOSA                                                        DORADO           PR      00646‐5019
BAUCAGE ESPINOSA, RAFAEL                ADDRESS ON FILE
BAUCAGE ESPINOSA, RAFAEL                ADDRESS ON FILE
BAUCAGE GARCIA MD, EDGAR                ADDRESS ON FILE
BAUCAGE GARCIA, EDGAR                   ADDRESS ON FILE
BAUCAGE RODRIGUEZ MD, KATHIA S          ADDRESS ON FILE
BAUDILIA RIVERA LOPEZ & NILSA MORALES   ADDRESS ON FILE
BAUDILIO HERNANDEZ MATOS                ADDRESS ON FILE
BAUDILIO LUCIANO ORTIZ                  ADDRESS ON FILE
BAUDILIO PEREZ RIVERA                   ADDRESS ON FILE
BAUDILIO POLANCO                        ADDRESS ON FILE
BAUDILIO RIVERA SANTIAGO                ADDRESS ON FILE
BAUDILLO BONILLA RAMOS                  ADDRESS ON FILE
BAUDVILLE                               5376 52ND STREET SE                                                               GRAND RAPIDS     MI      49512
BAUER MIESES, HERMAN                    ADDRESS ON FILE
BAUER RIVERA, MARY JO                   ADDRESS ON FILE
BAUERMEISTER BALDRICH MD, JOSE J        ADDRESS ON FILE
BAUERMEISTER BALDRICH, FRANCISCO J      ADDRESS ON FILE
BAUERMEISTER MARRERO, JORGE L.          ADDRESS ON FILE
BAULDRICK WALLEY, FRANKLIN              ADDRESS ON FILE
BAURA MORALES SALDANA                   ADDRESS ON FILE
BAURA MORALES SALDANA                   ADDRESS ON FILE
BAUSA SANTIAGO, JACQUELINE              ADDRESS ON FILE
BAUSA TORRES, JEANNETTE                 ADDRESS ON FILE
BAUTA CASTRO, FELIX                     ADDRESS ON FILE
BAUTA PIZARRO, LEVIT                    ADDRESS ON FILE
BAUTA PIZARRO, VICENTE                  ADDRESS ON FILE
BAUTISTA ALCANTARA, CARLOS              ADDRESS ON FILE
BAUTISTA ALCANTARA, FRANCIS             ADDRESS ON FILE
BAUTISTA ARIAS, ISIDRO                  ADDRESS ON FILE
BAUTISTA BARAJAS, JOSSIE                ADDRESS ON FILE
BAUTISTA BAUTISTA, JESUS                ADDRESS ON FILE
BAUTISTA BAUTISTA, JESUS                ADDRESS ON FILE
BAUTISTA BILBRAUT, YADIELIZ             ADDRESS ON FILE
BAUTISTA CANDELARIO, CINDY              ADDRESS ON FILE
BAUTISTA DE JESUS, JUAN                 ADDRESS ON FILE
BAUTISTA DE LA CRUZ, LENIN              ADDRESS ON FILE
BAUTISTA DIAZ, JESUS                    ADDRESS ON FILE
BAUTISTA FELIZ, LUIS M                  ADDRESS ON FILE
BAUTISTA FLORES, AMILCAR                ADDRESS ON FILE
BAUTISTA FLORES, ANTONIO                ADDRESS ON FILE
BAUTISTA GUZMAN, JOSE                   ADDRESS ON FILE




                                                                                     Page 773 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 774 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BAUTISTA LEWEST, BENNY         ADDRESS ON FILE
BAUTISTA LOPEZ, RAUL           ADDRESS ON FILE
BAUTISTA LOPEZ, SOFIA          ADDRESS ON FILE
BAUTISTA MOLINA, ANA           ADDRESS ON FILE
BAUTISTA OTERO, KARYM          ADDRESS ON FILE
BAUTISTA PEREZ, EDDA           ADDRESS ON FILE
Bautista Roman, Alexandra      ADDRESS ON FILE
BAUTISTA ROSARIO, FERNANDO     ADDRESS ON FILE
BAUTISTA SANCHEZ, GLADYS E     ADDRESS ON FILE
Bautista Santiago, Rafael D.   ADDRESS ON FILE
Bautista Torres, Juan A        ADDRESS ON FILE
BAUTISTA VALDES, MARIA N       ADDRESS ON FILE
BAUTISTA VILLA, DAMARIZ        ADDRESS ON FILE
BAUZA & GANDARA CSP            1612 AVE PONCE DE LEON                                                           SAN JUAN     PR      00909
Bauza Adrover, Miguel A.       ADDRESS ON FILE
BAUZA ALMONTE, MARIANA         ADDRESS ON FILE
BAUZA ALVARADO, LLILIAM        ADDRESS ON FILE
BAUZA ALVARADO, MARIELY        ADDRESS ON FILE
BAUZA ALVARADO, YOLANDA        ADDRESS ON FILE
BAUZA ANTUNEZ, JORGE           ADDRESS ON FILE
BAUZA ANTUNEZ, MARIA           ADDRESS ON FILE
BAUZA AVILA, JUAN M            ADDRESS ON FILE
BAUZA CANCEL, ELDRA            ADDRESS ON FILE
BAUZA CASIANO, FRANCISCO L     ADDRESS ON FILE
BAUZA CASIANO, JOSE J.         ADDRESS ON FILE
BAUZA CASIANO, PEDRO           ADDRESS ON FILE
BAUZA CINTRON, IVETTE          ADDRESS ON FILE
BAUZA CINTRON, LUIS A          ADDRESS ON FILE
Bauza Colon, Dina I            ADDRESS ON FILE
BAUZA COLON, JAIME             ADDRESS ON FILE
BAUZA COLON, JULIANA           ADDRESS ON FILE
BAUZA COLON, OLGA I            ADDRESS ON FILE
BAUZA CORDERO, ALEJANDRO       ADDRESS ON FILE
BAUZA ESCOBALES, RAMON         ADDRESS ON FILE
BAUZA FIGUEROA, JUAN           ADDRESS ON FILE
BAUZA FIGUEROA, JUAN F         ADDRESS ON FILE
BAUZA FIGUEROA, MARIA T        ADDRESS ON FILE
BAUZA GARCIA, BARTOLOME        ADDRESS ON FILE
BAUZA GARCIA, BARTOLOME        ADDRESS ON FILE
BAUZA GARCIA, CATALINA         ADDRESS ON FILE
BAUZA GARCIA, MIRIAM M         ADDRESS ON FILE
BAUZA GONZALEZ, FINDA          ADDRESS ON FILE
BAUZA GONZALEZ, SHARLINE       ADDRESS ON FILE
BAUZA IRIGOYEN, ALWIN          ADDRESS ON FILE
Bauza Kuilan, Edwin            ADDRESS ON FILE
BAUZA LOPEZ, CARLA             ADDRESS ON FILE
BAUZA LOPEZ, HUGO              ADDRESS ON FILE
BAUZA LOPEZ, HUGO M.           ADDRESS ON FILE
BAUZA MARRERO, BETHZAIDA       ADDRESS ON FILE
BAUZA MARRERO, JUAN            ADDRESS ON FILE
BAUZA MARRERO, JUAN J          ADDRESS ON FILE
BAUZA MARTINEZ, AUREA          ADDRESS ON FILE
BAUZA MARTINEZ, AUREA R        ADDRESS ON FILE
BAUZA MORA, JOSE K.            ADDRESS ON FILE
BAUZA OTERO, ROSA M            ADDRESS ON FILE
BAUZA OTERO, ROSAMAR           ADDRESS ON FILE
BAUZA RAMOS, ACISCLO           ADDRESS ON FILE
BAUZA RAMOS, SUSAN             ADDRESS ON FILE
BAUZA RIVERA, HUGO             ADDRESS ON FILE
BAUZA RIVERA, JUAN             ADDRESS ON FILE




                                                                           Page 774 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 775 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                        Address2                  Address3   Address4    City            State   PostalCode   Country
BAUZA RIVERA, LUIS                     ADDRESS ON FILE
BAUZA RIVERA, MIGUEL                   ADDRESS ON FILE
BAUZA RODRIGUEZ, CHRISTIAN             ADDRESS ON FILE
BAUZA RODRIGUEZ, JOSE                  ADDRESS ON FILE
BAUZA RODRIGUEZ, SHEYLA                ADDRESS ON FILE
BAUZA RODRIGUEZ, YESENIA               ADDRESS ON FILE
BAUZA ROLON, OTTO                      ADDRESS ON FILE
BAUZA ROSAS, YOLANDA                   ADDRESS ON FILE
BAUZA ROSSI MD, JULIO                  ADDRESS ON FILE
BAUZA SANTIAGO, EDWIN                  ADDRESS ON FILE
BAUZA SANTIAGO, ISMENIA                ADDRESS ON FILE
BAUZA SANTIAGO, MIGUEL A.              ADDRESS ON FILE
BAUZA SANTIAGO, NYDIA                  ADDRESS ON FILE
BAUZA SANTIAGO, OSVALDO                ADDRESS ON FILE
BAUZA SANTIAGO, SANTIA                 ADDRESS ON FILE
BAUZA SANTIAGO, SARIBELL               ADDRESS ON FILE
BAUZA SERRANO, JOSE                    ADDRESS ON FILE
BAUZA SOTO, JOSE                       ADDRESS ON FILE
BAUZA SOTO, MIGDALIA                   ADDRESS ON FILE
BAUZA TORRES, GLORIA                   ADDRESS ON FILE
BAUZA TORRES, JULIO                    ADDRESS ON FILE
BAUZA URIARTE, AGNES                   ADDRESS ON FILE
BAUZA VARGAS, HUMBERTO                 ADDRESS ON FILE
BAUZA VARGAS, SOLMARIE                 ADDRESS ON FILE
BAUZA VINAS, RICARDO                   ADDRESS ON FILE
BAUZO ALBALADEJO, ANGEL                ADDRESS ON FILE
BAUZO AYALA, JONATHAN                  ADDRESS ON FILE
BAUZO CALDERON, ANGEL MANUEL           ADDRESS ON FILE
BAUZO CALDERON, DELIA                  ADDRESS ON FILE
BAUZO CARRASQUILLO, FELIX              ADDRESS ON FILE
Bauzo Carrasquillo, Felix J            ADDRESS ON FILE
BAUZO CRUZ, MARIBEL                    ADDRESS ON FILE
BAUZO DONES, GERMAN                    ADDRESS ON FILE
BAUZO FALERO, SILMA E                  ADDRESS ON FILE
BAUZO FELICIANO, LUIS                  ADDRESS ON FILE
BAUZO FERNANDEZ, IVETTE                ADDRESS ON FILE
BAUZO GARCIA, GILBERTO                 ADDRESS ON FILE
BAUZO GARCIA, GILBERTO                 ADDRESS ON FILE
BAUZO LLANES, JOSE G                   ADDRESS ON FILE
BAUZO MELENDEZ, BRENDA I               ADDRESS ON FILE
Bauzo Morales, Maximo                  ADDRESS ON FILE
BAUZO OSORIO, JORGE                    ADDRESS ON FILE
BAUZO OSORIO, JORGE J                  ADDRESS ON FILE
BAUZO PINTO, ESMERALDO                 ADDRESS ON FILE
BAUZO RAMOS, ANSELMO                   ADDRESS ON FILE
BAUZO RIOS, JEREMIAS                   ADDRESS ON FILE
BAUZO RIOS, MARIA A.                   ADDRESS ON FILE
BAUZO RIOS, MARIA E.                   ADDRESS ON FILE
BAUZO SANTIAGO, JOSE S.                ADDRESS ON FILE
BAUZO VAZQUEZ, ABIMAEL                 ADDRESS ON FILE
BAUZO ZAYAS, MARITZA V                 ADDRESS ON FILE
BAXALTA WORLD TRADE LLC                PO BOX 70314                                                                     SAN JUAN        PR      00936‐8314
BAXTER CARDIOVASCULAR GROUP            PO BOX 1577                                                                      AÑASCO          PR      00610‐1577
BAXTER HEALTH CARE CORPORATION OF PR   PO BOX 1389                                                                      AIBONITO        PR      00705
BAXTER HEALTHCARE CORP                 PO BOX 2131                                                                      SAN JUAN        PR      00922‐2131
BAXTER HEALTHCARE CORPORATION          1620 WAUKEGAN RD                                                                 MC GAW PARK     IL      60085
BAXTER HEALTHCARE CORPORATION          ONE BAXTER PARKWAY DF6‐5W                                                        DEERFIELD       IL      60015
BAXTER HEALTHCARE SA                   CALL BOX 2131 CAPARRA HEIGHTS                                                    SAN JUAN        PR      00922‐2137
BAXTER HEALTHCARE SA                   PO BOX 2131                                                                      SAN JUAN        PR      00922 1310
BAXTER LABORATORIES                    PO BOX 518                                                                       JAYUYA          PR      00664




                                                                                   Page 775 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 776 of 3500
                                                                                                              Creditor Matrix

Creditor Name                             Address1                              Address2                                   Address3              Address4   City            State   PostalCode   Country
BAXTER SALES AND DISTRIBUTION             PO BOX 70257                                                                                                      SAN JUAN        PR      00936‐8257
BAXTER SALES AND DISTRIBUTION PR CORP     PO BOX 70257                                                                                                      SAN JUAN        PR      00936‐8257
BAXTER SALES CORP.                        PO BOX 70257                                                                                                      SAN JUAN        PR      00936‐8257
BAXTER, CYNTHIA                           ADDRESS ON FILE
BAY AREA CREDIT SERVICE LIC               P O BOX 580                                                                                                       SAN JOSE        CA      95106‐0940
BAY CARE BEHAVIORAL HEALTH                MEDICAL RECORDS                       15311 CORTEZ BLVD                                                           BROOKSVILLE     FL      34613‐6005
BAY HEART GROUP PA                        2814 W VIRGINIA AVE                                                                                               TAMPA           FL      33607
BAY STATE MEDICAL CENTER                  PO BOX 3353                                                                                                       BOSTON          MA      02241‐3353
BAY VAL CORP                              VILLA DE MONTECARLO                   2 CALLE B APT 705                                                           SAN JUAN        PR      00924‐4121
BAY VAL CORPORATION                       705 VILLAS DE MONTECARLO              CALLE B 2                                                                   SAN JUAN        PR      00924
BAY VIEW CAFE & SPORTS BAY                PASEO COVADONGA LOCAL 102             54 EDIF FREIRIA                                                             SAN JUAN        PR      00901
BAYALA GONZALEZ, HARRY                    ADDRESS ON FILE
BAYALA RODRIGUEZ, JANERIC                 ADDRESS ON FILE
BAYALA RODRIGUEZ,ERICK                    ADDRESS ON FILE
BAYAMON BASKET CITY INC                   URB SANTA JUANITA                     Y 7 CALLE PENSACOLA                                                         BAYAMON         PR      00650
BAYAMON BILINGUAL ACADEMY                 URB LOMAS VERDES                      4D 53 CALLE PLAYERA                                                         BAYAMON         PR      00956
BAYAMON CARBURATORS                       PO BOX 1437                                                                                                       BAYAMON         PR      00960
BAYAMON GOLF CARS                         AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                                   SAN JUAN        PR      00902‐4140
BAYAMON GOLF CARS                         PO BOX 1726                                                                                                       BAYAMON         PR      00960
BAYAMON HEALTH CENTER                     ATTN RECORD MEDICO                    PO BOX 2759                                                                 BAYAMON         PR      00960
BAYAMON HEALTH CLINIC                     URB HERMANAS DAVILA                   I4 AVE BETANCES                                                             BAYAMON         PR      00959
BAYAMON HOTEL COMPANY LLC                 270 AVE MUNOZ RIVERA PISO 9                                                                                       SAN JUAN        PR      00918
BAYAMON HOTEL COMPANY, LLC                120 ROAD 693 DORADO                                                                                               DORADO          PR      00646‐0000
BAYAMON HOTEL COMPANY, LLC                1560 AVENIDA COMERIO                                                                                              BAYAMON         PR      00961
BAYAMON IRON WORKS                        CARR BAYAMON A COMERIO KM 19 [EL 5]   BOX 4019                                                                    BAYAMON         PR      00958
BAYAMON MEDICAL SOLUTIONS IPA 318         PO BOX 51873                                                                                                      TOA BAJA        PR      00950
BAYAMON MILITARY ACADEMY                  PO BOX 172                                                                                                        SABANA SECA     PR      00952
BAYAMON MILITARY ACADEMY/FONROCHE         ENERGY AMERICA INC                    BO VOLCAN EXPRESO DE DIEGO                 CARR 871 HATO TEJAS              BAYAMON         PR      00961
BAYAMON OFFICE CENTER INC                 BOX 66                                                                                                            BAYAMON         PR      00960
BAYAMON OFFICE CENTER, INC                PO BOX 66                                                                                                         BAYAMON         PR      00960
BAYAMON PROSTHETICS & ORTHOSIS INC        2135 CARR 2 SUITE 15 PMB 121                                                                                      BAYAMON         PR      00959
BAYAMON S M H CORP                        PMB 647 1353                          AVE LUIS VIGOREAUX                                                          GUAYNABO        PR      00966
Bayamon Sewing Machine Supply             Calle Comercio #433                                                                                               Bayamon         PR      00959
BAYAMON SIGN                              URB IND MINILLAS                                                                                                  BAYAMON         PR      00918‐3106
BAYAMON STATIONARY                        LA CASA DEL ESTUDIANTE                8 AVE MUÐOZ RIVERA                                                          CAGUAS          PR      00725‐0000
BAYAMON STATIONARY                        LA CASA DEL ESTUDIANTE                8 AVE MUNOZ RIVERA                                                          CAGUAS          PR      00725
BAYAMON STATIONARY                        LA CASA DEL ESTUDIANTE                153 AVE JOSE DE DIEGO                                                       CAYEY           PR      00736
                                                                                                                           C 17 AVE ROBERTO
BAYAMON STATIONARY                        LA ESCUELA OFFICE                     VILLA CAROLINA                             CLEMENTE                         CAROLINA        PR      00985
BAYAMON STATIONARY                        MUNDO DEL MAESTRO                     14 AVE MUÐOZ RIVERA                                                         CAGUAS          PR      00725‐0000
BAYAMON STATIONARY                        MUNDO DEL MAESTRO                     14 AVE MUNOZ RIVERA                                                         CAGUAS          PR      00725
BAYAMON STATIONARY                        P O BOX 1199                                                                                                      CAROLINA        PR      00986‐1199
BAYAMON STATIONARY                        URB AGUSTIN STAHL                     CARR 174 A 1                                                                BAYAMON         PR      00956
BAYAMON STATIONERY, INC.                  LA CASA DEL ESTUDIANTE                8 AVE MUNOZ RIVERA                                                          CAGUAS          PR      00725
BAYAMON STATIONERY, INC.                  LA CASA DEL ESTUDIANTE                153 AVE JOSE DE DIEGO                                                       CAYEY           PR      00736
                                                                                                                           C 17 AVE ROBERTO
BAYAMON STATIONERY, INC.                  LA ESCUELA OFFICE                     VILLA CAROLINA                             CLEMENTE                         CAROLINA        PR      00985
BAYAMON STATIONERY, INC.                  MUNDO DEL MAESTRO                     14 AVE MUNOZ RIVERA                                                         CAGUAS          PR      00725
BAYAMON STATIONERY, INC.                  P O BOX 1199                                                                                                      CAROLINA        PR      00986
BAYAMON STATIONERY, INC.                  URB AGUSTIN STAHL                     CARR 174 A 1                                                                BAYAMON         PR      00956
BAYAMON TAPE                              BAYAMON GARDENS STATION               PO BOX 3340                                                                 BAYAMON         PR      00620
BAYAMON, TODO                             ADDRESS ON FILE
BAYANEY DAIRY INC/ GREEN ENERGY & FUELS   HC 3 BOX 32482                                                                                                    HATILLO         PR      00659
BAYANILLA RAMOS, VALERIE                  ADDRESS ON FILE
BAYER PR INC                              PO BOX 11848                                                                                                      SAN JUAN        PR      00922‐1848
BAYFRONT CONVENIENT CARE CLINIC           ATTN MEDICAL RECORDS                  13163 66TH ST N                                                             LARGO           FL      33773‐1812
BAYLOR MEDICAL CENTER AT CARROLLTON       4343 N JOSEY LN                                                                                                   CARROLTON       TX      75010
BAYLOR UNIVERSITY MEDICAL CENTER          ATTN HIMD                             RELEASE OF INFORMATION                     3500 GASTON AVE                  DALLAS          TX      75246
BAYNES, JULIAN M.                         ADDRESS ON FILE
BAYO VARGAS, DIXIE                        ADDRESS ON FILE




                                                                                                             Page 776 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 777 of 3500
                                                                                                        Creditor Matrix

Creditor Name                    Address1                                  Address2                                  Address3          Address4       City         State   PostalCode   Country
BAYO VEGA, FRANCISCO             ADDRESS ON FILE
BAYOAN ALVARADO ADORNO           ADDRESS ON FILE
BAYOAN HEREDIA CRUZ              ADDRESS ON FILE
BAYOAN MUNIZ CALDERON            ADDRESS ON FILE
BAYOAN OLGUIN ARROYO             ADDRESS ON FILE
BAYOLO ALONSO, MAYTE             ADDRESS ON FILE
BAYON ACEVEDO, ALEX              ADDRESS ON FILE
BAYON ALEMAN, GLORIA I           ADDRESS ON FILE
BAYON CACHOLA, MILTON            ADDRESS ON FILE
BAYON CAMACHO, MYRTA             ADDRESS ON FILE
BAYON CARABALLO, JANET           ADDRESS ON FILE
BAYON CASIANO, ANTONIO           ADDRESS ON FILE
BAYON CASIANO, ANTONIO           ADDRESS ON FILE
BAYON GONZALEZ, MORAYMA          ADDRESS ON FILE
BAYON IGLESIAS, ANGEL M.         ADDRESS ON FILE
BAYON LATORRE, CARMEN G          ADDRESS ON FILE
BAYON MOLINA, MIGUEL             ADDRESS ON FILE
BAYON MUNIZ, MANUEL A            ADDRESS ON FILE
BAYON OTERO, JORGE               ADDRESS ON FILE
BAYON PAGAN, ELIZABETH           ADDRESS ON FILE
BAYON PEREZ, ESMERALDO           ADDRESS ON FILE
BAYON PEREZ, MIRIAM              ADDRESS ON FILE
BAYON PEREZ, NORMA E             ADDRESS ON FILE
BAYON PEREZ, ROSAURA             ADDRESS ON FILE
BAYON QUILES, NELSA I            ADDRESS ON FILE
BAYON RAMIREZ, OLGA I.           ADDRESS ON FILE
BAYON RIVAS, JOSE                ADDRESS ON FILE
BAYON SANTIAGO, ANIBAL           ADDRESS ON FILE
BAYON SANTIAGO, JULIO            ADDRESS ON FILE
BAYON TORRES, RAMON              ADDRESS ON FILE
BAYON UNLIMITED INC              151 AVE CESAR GONZALEZ                    COND PLAZA ANTILLANA                      APT 204                          SAN JUAN     PR      00918
BAYON UNLIMITED INC              151 CALLE CESAR GONZALEZ COND. PLAZA ANTILLAS APT. 204                                                               SAN JUAN     PR      00918‐0000
BAYON UNLIMITED INC              COND PLAZA ANTILLANA                      151 AVE CESAR GONZALEZ APT 204                                             SAN JUAN     PR      00918
BAYON VELEZ, EDWIN               ADDRESS ON FILE
BAYONA CHAVEZ, ANDREA            ADDRESS ON FILE
BAYONA CRUZ, AIDA                ADDRESS ON FILE
BAYONA FIGUEROA, JOSEFA          ADDRESS ON FILE
BAYONA GONZALEZ, FELIX A         ADDRESS ON FILE
BAYONA GONZALEZ, LIZBETH         ADDRESS ON FILE
BAYONA HERNANDEZ, NAHIR          ADDRESS ON FILE
BAYONA MACHADO, JAIME            JAIME BAYONA MACHADO(CONFINADO POR DERINSTITUCIÓN GUAYAMA 1000                      M 2 G CELDA 106   PO BOX 10009   GUAYAMA      PR      00785
BAYONA SANTIAGO, MARCOLINA       ADDRESS ON FILE
BAYONA SANTIAGO, RAUL A          ADDRESS ON FILE
BAYONA SASTRE, MARIBEL           ADDRESS ON FILE
BAYONET TARTAK, VANESSA          ADDRESS ON FILE
BAYONET TARTAK, VANESSA          ADDRESS ON FILE
BAYONNE HOSPITAL                 29TH ST AT AVE E                                                                                                     BAYONNE      NJ      07002
BAYOUTH VEGA, ALFREDO            ADDRESS ON FILE
BAYRES CONSULTING GROUP,LLC      MANSIONES REALES                          E 17 CALLE CARLOS I                                                        GUAYNABO     PR      00969
BAYRIDGE HOSPITAL                60 GRANITE ST                                                                                                        LYNN         MA      01904‐2915
BAYRO CHECA, MARVIN              ADDRESS ON FILE
BAYRON ACOSTA, TOMAS             ADDRESS ON FILE
BAYRON ADAMES, ROBERTO           ADDRESS ON FILE
BAYRON ALAMEDA, ISABEL DEL C.    ADDRESS ON FILE
BAYRON ALAMEDA, LAURA VICTORIA   ADDRESS ON FILE
BAYRON ANDINO, ANGEL             ADDRESS ON FILE
BAYRON BRUNET, VILMA             ADDRESS ON FILE
BAYRON COLON, JUAN F             ADDRESS ON FILE
BAYRON ESCUDERO, JOSE            ADDRESS ON FILE
BAYRON FERREIRA, BERENID         ADDRESS ON FILE




                                                                                                       Page 777 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 778 of 3500
                                                                                                                   Creditor Matrix

Creditor Name                            Address1                                     Address2                                  Address3   Address4   City            State   PostalCode   Country
BAYRON FERREIRA, LILLIAN                 ADDRESS ON FILE
BAYRON FERREIRA, ZOE                     ADDRESS ON FILE
BAYRÓN GONZÁLEZ, DAVID                   SR. LUIS MADERA ECHEVARRÍA, SERVIDORES PÚBPO BOX 13695                                                       SAN JUAN        PR      00908‐3695
BAYRON HERNANDEZ, JACKELINE              ADDRESS ON FILE
BAYRON JUSTINIANO, NELSON L              ADDRESS ON FILE
BAYRON LARACUENTE, VICENTE               ADDRESS ON FILE
BAYRON LOPEZ, JOSE A.                    ADDRESS ON FILE
Bayron Lopez, Randy                      ADDRESS ON FILE
BAYRON MARRERO, DAMARIS                  ADDRESS ON FILE
BAYRON MARTINEZ, MARIANGELIE M           ADDRESS ON FILE
BAYRON NADAL, TOMAS                      ADDRESS ON FILE
BAYRON NATER, MANUEL                     ADDRESS ON FILE
BAYRON NATER, YANIRA                     ADDRESS ON FILE
BAYRON NIEVES, JOSE                      ADDRESS ON FILE
BAYRON OLIVIERI, MARGARITA               ADDRESS ON FILE
Bayron Paz, William                      ADDRESS ON FILE
BAYRON RAMIREZ, MYRIAM E                 ADDRESS ON FILE
BAYRON RAMIREZ, NANCY L                  ADDRESS ON FILE
BAYRON RAMIREZ, ZELMA I.                 ADDRESS ON FILE
BAYRON RAMIREZ, ZELMA I.                 ADDRESS ON FILE
BAYRON RIVERA, BEATRIZ                   ADDRESS ON FILE
BAYRON RIVERA, JOSE L.                   ADDRESS ON FILE
BAYRON RIVERA, MARITZA                   ADDRESS ON FILE
BAYRON RIVERA, ROBERT                    ADDRESS ON FILE
BAYRON TORRES, MARIA V.                  ADDRESS ON FILE
BAYRON VELEZ, ANGEL D                    ADDRESS ON FILE
BAYRON VELEZ, CARMEN I                   ADDRESS ON FILE
BAYSHORE MEDICAL CENTER                  MEDICAL RECORDS                              4000 SPENCER HWY                                                PASADENA        TX      77504
BAYSIDE MAINTENANCE & CONTRACTORS INC PO BOX 194146                                                                                                   SAN JUAN        PR      00919‐4146
BAYSTATE MEDICAL CENTER
BAYUELO FLOREZ, EZEQUIEL                 ADDRESS ON FILE
BAZAN AVILES, JOSELYS                    ADDRESS ON FILE
BAZAN COLON, PAULETTE                    ADDRESS ON FILE
BAZAN DE ALVAREZ, DEBORAH E              ADDRESS ON FILE
BAZAN GARCIA, MICHELLE                   ADDRESS ON FILE
BAZAN GUZMAN, INGRID                     ADDRESS ON FILE
BAZAN LOPEZ, RUTH                        ADDRESS ON FILE
BAZAN MAISONET, YAMILET G.               ADDRESS ON FILE
BAZAN PLAUD, ANDREE R.                   ADDRESS ON FILE
BAZAN RODRIGUEZ, MARIA DE LOS A          ADDRESS ON FILE
BAZIL MD , CARL W                        ADDRESS ON FILE
BAZROUK ROMERO, DIVA                     ADDRESS ON FILE
BB & T INSURANCE SERVICES INC            PO BOX 31128                                                                                                 RALEIGH         NC      26722‐1128
BB ENTERTAIMENT OF PUERTO RICO           PO BOX 810289                                                                                                CAROLINA        PR      00981‐0289
BB ENTERTAINMENT OF PUERTO RICO          PO BOX 810289                                                                                                CAROLINA        PR      00981‐0289
BB GARDENS LANDSCAPE CONTRACTORS INC     PO BOX 1744                                                                                                  CIDRA           PR      00739
BB MUSIC STORE CORP.                     CALLE FEDERICO COSTAS #29                                                                                    HATO REY        PR      00918
BB MUSIC STORE CORP.                     PO BOX 8733                                                                                                  SAN JUAN        PR      00910‐0733
BBA CONSULTING GROUP                     894 AVENIDA MUNOZ RIVERA SUITE 203                                                                           SAN JUAN        PR      00927‐4307
BBCM GROUP HOLDINGS INCHNC CAREGIVERS PRPO BOX 364352                                                                                                 SAN JUAN        PR      00936‐4352
BBDO/ PUERTO RICO                        PO BOX 11854                                                                                                 SAN JUAN        PR      00922‐1854
BBQ FACTORY                              CALLE DR RUIZ ARNAU                                                                                          TOA ALTA        PR      00949
BBR IT SYNERGY, LLC                      VILLAS DE SAN FRANCISCO PLAZA 89 AVE. DE DIE SUITE 201                                                       SAN JUAN        PR      00927
BBR LLC                                  P O BOX 11361                                                                                                SAN JUAN        PR      00922
BBR LLC LA PESCADERIA                    P O BOX 730                                                                                                  LAS PIEDRAS     PR      00771
BBVA CAPITAL MARKETS OF P R INC          254 MUNOZ RIVERA AVENUE                      LOBBY BBVA TORRE                                                SAN JUAN        PR      00918
BBVA ‐MAPFRE YADHIRA VARGAS LAZU         LCDO. LUIS F. MANGUAL ACEVEDO                CALLE 7 L3‐EL MIRADOR                                           SAN JUAN        PR      00926
BBVA ‐MAPFRE YADHIRA VARGAS LAZU         LCDO. LUIS RIVERA MARTINEZ                   RR 17 BOX 11358                                                 SAN JUAN        PR      00926‐9499
BBVA SEGUROS INC                         PO BOX 70338                                                                                                 SAN JUAN        PR      00936‐8338
BBVA Y CARIBBEAN ALLIANCE INSURANCE COMP LCDO. LUIS A. CARRION TAVAREZ                650 PLAZA SUITE 204 650 AVE. MUNOZ RIVERA                       SAN JUAN        PR      00918




                                                                                                                  Page 778 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 779 of 3500
                                                                                                                    Creditor Matrix

Creditor Name                            Address1                                   Address2                                  Address3                   Address4   City                 State   PostalCode   Country
BBVA Y CARIBBEAN ALLIANCE INSURANCE COMP LCDO. SIGFREDO FONTATEZ FONTANEZ           # 3 MODESTO SOLA ST.                                                            CAGUAS               PR      00725
BBVA Y UNIVERSAL INSURANCE COMPANY       LCDA. ANNETTEM. PRATS PALERM               AMERICAN AIRLINES BUILDING 1509 LOPEZ LANDRON 10 TH FLOOR                       SAN JUAN             PR      00911
BC COMPUTER SERVICES                     AVE. SAN CLAUDIO #352                      SUITE 152                                                                       RIO PIEDRAS          PR      00926
BC ORTHOPEDIC SOLUTION PSC               PO BOX 636                                                                                                                 MAYAGUEZ             PR      00681
BC PROPERTY PRESERVATION, CORP           URB WOODBRIDGE PK                          22 HIGHLAND ST                                                                  TOA ALTA             PR      00953
BCH P Y J & AUTO REPAIR                  CALLE GUAYAMA #24                                                                                                          SAN JUAN             PR      00918
BCH P Y J AUTO REPAIR                    10 CALLE AGUADILLA                                                                                                         SAN JUAN             PR      00917
BCH P Y J AUTO REPAIR                    20 CALLE GUAYAMA                                                                                                           SAN JUAN             PR      00917
BCH PART & AUTO REPAIR INC               CALLE GUAYAMA # 24                                                                                                         HATO REY             PR      00918
BCH PART & AUTO REPAIR INC               URB FLORAL PARK                            24 CALLE GUAYAMA                                                                SAN JUAN             PR      00918
BCH PARTS & AUTO REPAIR , INC.           CALLE GUAYAMA # 24                                                                                                         SAN JUAN             PR      00917‐0000
BCH PARTS & AUTO REPAIR INC              # 10 CALLE AGUADILLA                       HATO REY                                                                        SAN JUAN             PR      00918
BCO BILBAO VIZCAYA ARGENT. P.R.‐EFEZETA  P.O. BOX 364745                                                                                                            SAN JUAN             PR      00936‐4745
BCO DE DES ECONOMICO PARA PR /UNIFORMES NATIVOS INC                                 PMB 1807‐243 CALLE PARIS                                                        SAN JUAN             PR      00917‐3632
BCO DE DES ECONOMICO PARA PR /UNIFORMES PO BOX 2134                                                                                                                 SAN JUAN             PR      00922‐2134
BCO DE OJOS LEONISMO PUERTORRIQUENO      PO BOX 363311                                                                                                              SAN JUAN             PR      00936‐3311

BCO POPULAR DE PR / EDIFICIO BULA INC   ATT JOSE I SANTIAGO                             POPULAR CENTER 8TH FLOOR                 208 PONCE DE LEON AVE              SAN JUAN             PR      00918
BCS Insurance Company                   2 Mid America Plaza                             Suite 200                                                                   Oakbrook Terrace     IL      60181
BCS Insurance Company                   Attn: Daniel Ryan, President                    2 Mid America Plaza                      Suite 200                          Oakbrook Terrace     IL      60181‐4712
BCS Insurance Company                   Attn: Diane Sowell, Consumer Complaint Contact 2 Mid America Plaza                       Suite 200                          Oakbrook Terrace     IL      60181‐4712
BCS Insurance Company                   Attn: Linda Hickok, Circulation of Risk         2 Mid America Plaza                      Suite 200                          Oakbrook Terrace     IL      60181‐4712
BCS Insurance Company                   Attn: Linda Hickok, Regulatory Compliance Gover 2 Mid America Plaza                      Suite 200                          Oakbrook Terrace     IL      60181‐4712
BCS Insurance Company                   Attn: Lou Georgopoulos, Premiun Tax Contact 2 Mid America Plaza                          Suite 200                          Oakbrook Terrace     IL      60181‐4712
BCS PULMONARY SERVICES                  PO BOX 729                                                                                                                  GUAYAMA              PR      00785
BDL ENTERPRISE INC/FERRETERIA LA FE     PO BOX 7276                                                                                                                 PONCE                PR      00732
BDO PUERTO RICO P S C                   1302 PONCE DE LEON PISO1                                                                                                    SANTURCE             PR      00936
BDO PUERTO RICO PCS                     P O BOX 363436                                                                                                              SAN JUAN             PR      00936‐3436
BDO PUERTO RICO PSC                     PO BOX 363436                                                                                                               SAN JUAN             PR      00936‐3436
BDRRIOS MARRERO, JOANMARIE              ADDRESS ON FILE
BE A MODEL, INC                         PO BOX 472                                                                                                                  CABO ROJO            PR      00623
BE WELL GROUP, INC                      PO BOX 1285                                     SAINT JUST STATION                                                          SAN JUAN             PR      00978
BEABRAUT FUENTES, ISABEL I              ADDRESS ON FILE
BEACH EROSION CONTROL CORP              PO BOX 79524                                                                                                                CAROLINA             PR      00984
BEACON SPORTS CAPITAL PARTNERS LLC      1233 HIGHLAND AVE STE B                                                                                                     NEEDHAM              MA      02492
BEALE MD, MARK                          ADDRESS ON FILE
BEALE REINES, LUIS                      ADDRESS ON FILE
BEALE TARGA, EDUARDO                    ADDRESS ON FILE
BEALE TARGA, EDUARDO                    ADDRESS ON FILE
BEAMUD MENDEZ, ILEANA                   ADDRESS ON FILE
BEAMUD MENDEZ, MARIA DEL C              ADDRESS ON FILE
BEANSTALK INNOVATION PUERTO RICO, LLC   EDIFICIO ORIENTAL CALLE AMARILLO 1738           ESQ. AVE LOMAS VERDES                    SUITE 211 BOX 23                   SAN JUAN             PR      00926
BEANSTALK INNOVATION PUERTO RICO, LLC   PO BOX 13399                                                                                                                SAN JUAN             PR      00908
BEAR GUERRERO, JUAN                     ADDRESS ON FILE
BEAR GUERRERO, VICTOR                   ADDRESS ON FILE
BEARD GARCIA, ALICE E.                  ADDRESS ON FILE
BEARD ROMAN, MARITZA                    ADDRESS ON FILE
BEARDSLEY SOTOMAYOR, DANIEL             ADDRESS ON FILE
BEARING POINT PUERTO RICO LLC           PO BOX 2147                                                                                                                 SAN JUAN             PR      00918
BEATA IMELDA                            ADDRESS ON FILE
BEATIZ FEBUS PEREZ                      ADDRESS ON FILE
BEATO CORDERO, EDDIE                    ADDRESS ON FILE
BEATO DIAZ, BEATRIZ                     ADDRESS ON FILE
BEATO DIAZ, CANDIDA                     ADDRESS ON FILE
BEATO FELICIANO, JEMIL                  ADDRESS ON FILE
BEATO FELICIANO, YAMIRA                 ADDRESS ON FILE
BEATO FLORES, AIDA                      ADDRESS ON FILE
BEATO GUZMAN PACA                       ADDRESS ON FILE
BEATO NARVAEZ, ROBERT                   ADDRESS ON FILE
BEATO NARVAEZ, ROBERT J                 ADDRESS ON FILE




                                                                                                                   Page 779 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 780 of 3500
                                                                                        Creditor Matrix

Creditor Name                              Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BEATON MONTES, ARISTIDES                   ADDRESS ON FILE
BEATON ROLDAN, BELINDA                     ADDRESS ON FILE
BEATRICE A CAUTINO ANTONGIORGI             ADDRESS ON FILE
BEATRICE AIME CELIAN                       ADDRESS ON FILE
BEATRICE CEDENO GUERRA                     ADDRESS ON FILE
BEATRICE COLON VALENTIN                    ADDRESS ON FILE
BEATRICE DIFRE JIMENEZ                     ADDRESS ON FILE
BEATRICE GONZALEZ GONZALEZ                 ADDRESS ON FILE
BEATRICE M FERNANDEZ TAVLE                 ADDRESS ON FILE
BEATRICE MORALES CUBERO                    ADDRESS ON FILE
BEATRICE N ROSADO VELEZ                    ADDRESS ON FILE
BEATRICE ROMEU TORO                        ADDRESS ON FILE
BEATRICE TOBIN                             ADDRESS ON FILE
BEATRIZ A MCCONNIE Y RAYMOND J             ADDRESS ON FILE
BEATRIZ A RAMIREZ BRAVO                    ADDRESS ON FILE
BEATRIZ A TORRES TORRES                    ADDRESS ON FILE
BEATRIZ A. SALVESEN VON ESSEN LOPEZ        ADDRESS ON FILE
BEATRIZ ACEVEDO GONZALEZ                   ADDRESS ON FILE
BEATRIZ ACEVEDO RAMOS                      ADDRESS ON FILE
BEATRIZ ACEVEDO SALAS                      ADDRESS ON FILE
BEATRIZ ACOSTA D'OLEO                      ADDRESS ON FILE
BEATRIZ ALVAREZ FERMAINT                   ADDRESS ON FILE
BEATRIZ ANNEXY GUEVARA                     ADDRESS ON FILE
BEATRIZ ARBELO MORALES                     ADDRESS ON FILE
BEATRIZ ARROYO TORRES                      ADDRESS ON FILE
BEATRIZ AVILA OJEDA                        ADDRESS ON FILE
BEATRIZ BALZAC VELEZ                       ADDRESS ON FILE
BEATRIZ BAYRON CASTILLO                    ADDRESS ON FILE
BEATRIZ BLASINI GUTIERREZ                  ADDRESS ON FILE
BEATRIZ BURGOS DIAZ                        ADDRESS ON FILE
BEATRIZ CARRILLO CRUZ                      ADDRESS ON FILE
BEATRIZ CAY VAZQUEZ                        ADDRESS ON FILE
BEATRIZ CIDRON RIVERA                      ADDRESS ON FILE
BEATRIZ CORREA ESCOBAR                     ADDRESS ON FILE
BEATRIZ CRUZ ESCALERA                      ADDRESS ON FILE
BEATRIZ CRUZ RIVERA                        ADDRESS ON FILE
BEATRIZ CUMBA CINTRON                      ADDRESS ON FILE
BEATRIZ DE LA CRUZ MEDINA &JUAN P RIVERA   ADDRESS ON FILE
BEATRIZ DEL CARMEN INFANTE MENDEZ          ADDRESS ON FILE
BEATRIZ DELGADO CARBO                      ADDRESS ON FILE
BEATRIZ DUPEROY SANTIAGO                   ADDRESS ON FILE
BEATRIZ DURAND ALDEA                       ADDRESS ON FILE
BEATRIZ E MOLINA RODRIGUEZ                 ADDRESS ON FILE
BEATRIZ E RODRIGUEZ GARCIA                 ADDRESS ON FILE
BEATRIZ FEBUS PEREZ                        ADDRESS ON FILE
BEATRIZ FONSECA RIVERA                     ADDRESS ON FILE
BEATRIZ GALINDEZ STELLA                    ADDRESS ON FILE
BEATRIZ GARCIA                             ADDRESS ON FILE
BEATRIZ GARCIA RIVERA                      ADDRESS ON FILE
BEATRIZ GELABERT                           ADDRESS ON FILE
BEATRIZ GERENA MARTINEZ                    ADDRESS ON FILE
BEATRIZ GONZALEZ BERRIOS                   ADDRESS ON FILE
BEATRIZ GONZALEZ SIERRA                    ADDRESS ON FILE
BEATRIZ GONZALEZ SIERRA                    ADDRESS ON FILE
BEATRIZ GRAU PELEGRI                       ADDRESS ON FILE
BEATRIZ GUZMAN RIVERA                      ADDRESS ON FILE
BEATRIZ GUZMAN RODRIGUEZ                   ADDRESS ON FILE
BEATRIZ IRIZARRY MUNOZ                     ADDRESS ON FILE
BEATRIZ IRIZARRY ROMAN                     ADDRESS ON FILE
BEATRIZ J HUERTAS SIERRA                   ADDRESS ON FILE




                                                                                       Page 780 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 781 of 3500
                                                                                             Creditor Matrix

Creditor Name                 Address1                            Address2                                Address3             Address4            City         State   PostalCode   Country
BEATRIZ JIMENEZ DEANTONIO     ADDRESS ON FILE
BEATRIZ LAGUERRE SAAVEDRA     ADDRESS ON FILE
BEATRIZ LIZARDI CASIANO       ADDRESS ON FILE
BEATRIZ LOPEZ RODRIGUEZ       ADDRESS ON FILE
BEATRIZ LUGARDO NEGRON        ADDRESS ON FILE
BEATRIZ M CAPOTE ORTIZ        ADDRESS ON FILE
BEATRIZ M RAMIS               ADDRESS ON FILE
BEATRIZ M RAMIS               ADDRESS ON FILE
BEATRIZ M RODRIGUEZ ORTIZ     ADDRESS ON FILE
BEATRIZ M RODRIGUEZ ORTIZ     ADDRESS ON FILE
BEATRIZ M ROSADO PEREZ        ADDRESS ON FILE
BEATRIZ MALDONADO LOZADA      ADDRESS ON FILE
BEATRIZ MALDONADO SANTIAGO    ADDRESS ON FILE
BEATRIZ MARTINEZ MASINI       ADDRESS ON FILE
BEATRIZ MARTINEZ MELENDEZ     ADDRESS ON FILE
BEATRIZ MEDINA RIVERA         ADDRESS ON FILE
BEATRIZ MIRANDA TAPIA         ADDRESS ON FILE
BEATRIZ MONTANEZ RIVERA       ADDRESS ON FILE
BEATRIZ MUNOZ DE JESUS        ADDRESS ON FILE
BEATRIZ NAZARIO TORRES        ADDRESS ON FILE
BEATRIZ NIEVES LOPEZ          F.R. GONZALEZ LAW OFFICE                                               1519 Ponce DE LEON AVE.   FIRST FEDERAL 805   SAN JUAN     PR      00909
BEATRIZ NIEVES LÓPEZ          LCDO. FRANCISCO J. GONZÁLEZ MAGAZ   1519 AVE. Ponce DE LEÓN                 FIRST FEDERAL BLDG   SUITE 805           SAN JUAN     PR      00909
BEATRIZ NURSING HOME INC      URB VILLA CAPARRA                   K 17 CALLE K                                                                     GUAYNABO     PR      00966
BEATRIZ OLIVERA SANTANA       ADDRESS ON FILE
BEATRIZ ORTIZ LEBRON          ADDRESS ON FILE
BEATRIZ OYOLA GARCIA          ADDRESS ON FILE
BEATRIZ P GONZALEZ ALVALEZ    ADDRESS ON FILE
BEATRIZ P. ORTIZ LEBRON       ADDRESS ON FILE
BEATRIZ P. ORTIZ LEBRON       ADDRESS ON FILE
BEATRIZ PACHOT VAZQUEZ        ADDRESS ON FILE
BEATRIZ PADILLA CABRERA       ADDRESS ON FILE
BEATRIZ PENA ROSA             ADDRESS ON FILE
BEATRIZ PEREZ CASTRO          ADDRESS ON FILE
BEATRIZ PEREZ PEREZ           ADDRESS ON FILE
BEATRIZ PEREZ TRUJILLO        ADDRESS ON FILE
BEATRIZ PEREZ TRUJILLO        ADDRESS ON FILE
BEATRIZ PUMAJERO MARTIN       ADDRESS ON FILE
BEATRIZ QUINONES VALLEJO      ADDRESS ON FILE
BEATRIZ QUINONES VALLEJO      ADDRESS ON FILE
BEATRIZ RAMOS CRUZADO         ADDRESS ON FILE
BEATRIZ RAMOS CRUZADO         ADDRESS ON FILE
BEATRIZ READY MIX             ADDRESS ON FILE
BEATRIZ RIVAS RIOS N          ADDRESS ON FILE
BEATRIZ RIVERA ALVARADO       ADDRESS ON FILE
BEATRIZ RIVERA CRUZ           ADDRESS ON FILE
BEATRIZ RIVERA MORALES        ADDRESS ON FILE
BEATRIZ ROCHE MALDONADO       ADDRESS ON FILE
BEATRIZ RODRIGUEZ GONZALEZ    ADDRESS ON FILE
BEATRIZ RODRIGUEZ LOPEZ       ADDRESS ON FILE
BEATRIZ RODRIGUEZ PEREZ       ADDRESS ON FILE
BEATRIZ RODRIGUEZ RODRIGUEZ   ADDRESS ON FILE
BEATRIZ RODRIGUEZ ROSADO      ADDRESS ON FILE
BEATRIZ RODRIGUEZ SOLIZ       ADDRESS ON FILE
BEATRIZ ROMAN GARCIA          ADDRESS ON FILE
BEATRIZ ROMERO DIAZ           ADDRESS ON FILE
BEATRIZ ROSA GUADALUPE        ADDRESS ON FILE
BEATRIZ ROSADO PEREZ          ADDRESS ON FILE
BEATRIZ RUIZ SOTO             ADDRESS ON FILE
BEATRIZ SAEZ PHILPOTT         ADDRESS ON FILE
BEATRIZ SAEZ PHILPOTT         ADDRESS ON FILE




                                                                                            Page 781 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 782 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BEATRIZ SANCHEZ HERNANDEZ          ADDRESS ON FILE
BEATRIZ SANTANA MATOS              ADDRESS ON FILE
BEATRIZ SANTIAGO LEBRON            ADDRESS ON FILE
BEATRIZ SILVA ADORNO               ADDRESS ON FILE
BEATRIZ SILVA RODRIGUZ             ADDRESS ON FILE
BEATRIZ SOTO APONTE                ADDRESS ON FILE
BEATRIZ T VELEZ RUIZ               ADDRESS ON FILE
BEATRIZ TEXIDOR RIVERA             ADDRESS ON FILE
BEATRIZ TOLEDO GONZALEZ            ADDRESS ON FILE
BEATRIZ TREVINO MALDONADO          ADDRESS ON FILE
BEATRIZ TREVINO MALDONADO          ADDRESS ON FILE
BEATRIZ VAZQUEZ DONES              ADDRESS ON FILE
BEATRIZ VAZQUEZ MIRANDA            ADDRESS ON FILE
BEATRIZ VELAZQUEZ TROCHE           ADDRESS ON FILE
BEATRYZ MIRANDA MIRANDA            ADDRESS ON FILE
BEATTY, CLYDE                      ADDRESS ON FILE
BEAUBOEUF, JEAN                    ADDRESS ON FILE
BEAUCHAMP ALVARADO, CESAR          ADDRESS ON FILE
BEAUCHAMP AVILA, VERONICA          ADDRESS ON FILE
BEAUCHAMP BONILLA, RAMON           ADDRESS ON FILE
BEAUCHAMP BONILLA, SHERLY M        ADDRESS ON FILE
BEAUCHAMP BURGOS, NATHAN           ADDRESS ON FILE
BEAUCHAMP COLON, AUDELIZ           ADDRESS ON FILE
BEAUCHAMP COUTO, JOSE I.           ADDRESS ON FILE
BEAUCHAMP COUTO, JOSE I.           ADDRESS ON FILE
BEAUCHAMP CRUZ MD, ABRAHAM         ADDRESS ON FILE
BEAUCHAMP CRUZ, JACQUELINE         ADDRESS ON FILE
BEAUCHAMP CRUZ, OLGA               ADDRESS ON FILE
BEAUCHAMP CRUZ, ZWINDA             ADDRESS ON FILE
BEAUCHAMP CRUZ, ZWINDA E.          ADDRESS ON FILE
BEAUCHAMP DE ALCOVER, SONIA        ADDRESS ON FILE
BEAUCHAMP DE JESUS, BLANCA ZAIDA   ADDRESS ON FILE
BEAUCHAMP DE JESUS, SYLVIA         ADDRESS ON FILE
BEAUCHAMP DELGADO, LISANDRA        ADDRESS ON FILE
BEAUCHAMP DENIZARD, GLADYS         ADDRESS ON FILE
BEAUCHAMP DIAZ, ALBA               ADDRESS ON FILE
BEAUCHAMP DIAZ, JEANNETTE M        ADDRESS ON FILE
BEAUCHAMP FELICIANO MD, PEDRO J    ADDRESS ON FILE
BEAUCHAMP FELICIANO, ILEANA G      ADDRESS ON FILE
BEAUCHAMP FELIX, FRANCES           ADDRESS ON FILE
BEAUCHAMP FELIX, FRANCES E.        ADDRESS ON FILE
BEAUCHAMP FELIX, JENNIE            ADDRESS ON FILE
Beauchamp Flores, Blanca I         ADDRESS ON FILE
BEAUCHAMP FRAGOSO, DAVID           ADDRESS ON FILE
BEAUCHAMP GARCIA, BRENDA L         ADDRESS ON FILE
BEAUCHAMP GONZALEZ, CHRISTIAN      ADDRESS ON FILE
Beauchamp Gonzalez, Christian J    ADDRESS ON FILE
BEAUCHAMP GONZLEZ, ROSA            ADDRESS ON FILE
BEAUCHAMP GRILLASCA, HECTOR        ADDRESS ON FILE
BEAUCHAMP GRILLASCA, LUIS          ADDRESS ON FILE
BEAUCHAMP GRILLASCA, LUIS C.       ADDRESS ON FILE
BEAUCHAMP GRILLASCA, SONNY         ADDRESS ON FILE
BEAUCHAMP GRILLASCA, SONNY         ADDRESS ON FILE
BEAUCHAMP GUZMAN, MERCEDES         ADDRESS ON FILE
BEAUCHAMP HERNANDEZ, ILSA A        ADDRESS ON FILE
BEAUCHAMP HERNANDEZ, IVONNE        ADDRESS ON FILE
BEAUCHAMP IGLESIAS, ANIBAL         ADDRESS ON FILE
BEAUCHAMP IRIZARRY MD, ANA G       ADDRESS ON FILE
BEAUCHAMP IRIZARRY, ANA            ADDRESS ON FILE
BEAUCHAMP IRIZARRY, MARK           ADDRESS ON FILE




                                                                               Page 782 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 783 of 3500
                                                                                     Creditor Matrix

Creditor Name                        Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
BEAUCHAMP MENDEZ, NORA               ADDRESS ON FILE
BEAUCHAMP MENDEZ, NORA E.            ADDRESS ON FILE
BEAUCHAMP MONTALVO, MICHELE          ADDRESS ON FILE
BEAUCHAMP MORALES, DANILO            ADDRESS ON FILE
BEAUCHAMP MORALES, NYDIA             ADDRESS ON FILE
BEAUCHAMP MUNIZ, JOSEPHMIELD         ADDRESS ON FILE
BEAUCHAMP MUNOZ, ZWINDA              ADDRESS ON FILE
BEAUCHAMP NIEVES, CARMEN R           ADDRESS ON FILE
BEAUCHAMP OCASIO, CARLOS             ADDRESS ON FILE
BEAUCHAMP ORTIZ, KRISTINE M          ADDRESS ON FILE
BEAUCHAMP ORTIZ, KRISTINE MARIE      ADDRESS ON FILE
BEAUCHAMP ORTIZ, MARIA R             ADDRESS ON FILE
BEAUCHAMP ORTOLAZA, GUILLERMO        ADDRESS ON FILE
Beauchamp Pagan, David E.            ADDRESS ON FILE
BEAUCHAMP PEREZ, ARLENE              ADDRESS ON FILE
BEAUCHAMP PITRE, ELIZABETH           ADDRESS ON FILE
BEAUCHAMP RAMOS, MIGUEL              ADDRESS ON FILE
BEAUCHAMP RICHARDS, CHRISTINA M.     ADDRESS ON FILE
BEAUCHAMP RIOS, DAPHNE               ADDRESS ON FILE
BEAUCHAMP RIOS, ELIZETTE             ADDRESS ON FILE
BEAUCHAMP RIOS, JULISSA DEL P.       ADDRESS ON FILE
BEAUCHAMP RIOS, MYRTA Y              ADDRESS ON FILE
BEAUCHAMP RIVERA, MARIELA            ADDRESS ON FILE
BEAUCHAMP RIVERA, PEDRO              ADDRESS ON FILE
BEAUCHAMP ROCHE MD, FRANCIS          ADDRESS ON FILE
BEAUCHAMP ROCHE, DAVID A             ADDRESS ON FILE
BEAUCHAMP RODRIGUEZ, ADALBERTO       ADDRESS ON FILE
BEAUCHAMP RODRIGUEZ, ELIAS           ADDRESS ON FILE
BEAUCHAMP RODRIGUEZ, PABLO           ADDRESS ON FILE
Beauchamp Rodriguez, Roberto         ADDRESS ON FILE
BEAUCHAMP RODRIGUEZ, ROBERTO         ADDRESS ON FILE
BEAUCHAMP SANCHEZ, ESTHER R          ADDRESS ON FILE
BEAUCHAMP SERRANO, ROLANDO           ADDRESS ON FILE
BEAUCHAMP TORRES, JAVIER             ADDRESS ON FILE
BEAUCHAMP TORRES, MARAM Y            ADDRESS ON FILE
BEAUCHAMP VALENTIN, LEMUEL           ADDRESS ON FILE
Beauchamp Valentin, Luis G           ADDRESS ON FILE
BEAUCHAMP VALLE, MAGDA               ADDRESS ON FILE
BEAUCHAMP VELAZQUEZ, BERNICE         ADDRESS ON FILE
BEAUCHAMP VELEZ, SOL M               ADDRESS ON FILE
BEAUCHAMP VIVO, JOSE                 ADDRESS ON FILE
BEAUCHAMP VIVO, JOSE IVAN            ADDRESS ON FILE
BEAUCHAMP YAMBO, MIGUEL              ADDRESS ON FILE
BEAUCHAMP YAMBO, RUBEN               ADDRESS ON FILE
BEAUCHAMP, LUIS C                    ADDRESS ON FILE
BEAUCHAMP,BENJAMIN                   ADDRESS ON FILE
BEAUDRY TORRES, SARAHI               ADDRESS ON FILE
BEAUTIFUL MUSIC                      PO BOX 363222                                                                      SAN JUAN     PR      00936‐3222
BEAUTIFUL WORLD GROUPS TRAVEL INC    PO BOX 1855                                                                        BAYAMON      PR      00960‐1855
BEAUTY CAR CENTER Y JOSE A MORALES   206 VILLA STATION                                                                  HUMACAO      PR      00791
BEAUTY SOURCE                        C/MANANTIAL #72           MONTE VERDE REAL                                         SAN JUAN     PR      00926
BEAUTY SOURCE                        MONTE VERDE REAL          72 CALLE MANANTIAL                                       SAN JUAN     PR      00926
BEAUTY SUPPLY INC.                   PO BOX 1101                                                                        MANATI       PR      00674
BEAUVAIS LUGO, LUIS                  ADDRESS ON FILE
BEAZ GUTIERREZ, ELSA M.              ADDRESS ON FILE
BEAZ GUTIERREZ, JEANNETTE            ADDRESS ON FILE
BEAZ LUGO, ANGELITA                  ADDRESS ON FILE
BEAZ LUGO, JUAN                      ADDRESS ON FILE
BEAZ LUGO, MANUEL E.                 ADDRESS ON FILE
BEAZ LUGO, MANUEL E.                 ADDRESS ON FILE




                                                                                    Page 783 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 784 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BEAZ LUGO, MARIA M                   ADDRESS ON FILE
BEAZ MORALES, DENNIS                 ADDRESS ON FILE
BEBALY RODRIGUEZ TORRES              ADDRESS ON FILE
BEBE STORES INC                      400 VALLEY DRIVE                                                                 BRISBANE     CA      94005
BEBERLANE VAZQUEZ SANTIAGO           ADDRESS ON FILE
BEBERLIMAR COLON RODRIGUEZ           ADDRESS ON FILE
BEBERLY ANN ALERS GUZMAN             ADDRESS ON FILE
BEBO & MIKE AUTO SALES INC           PO BOX 2325                                                                      TOA BAJA     PR      00951
BEBOS CAFE INC                       1600 CALLE LOIZA                                                                 SAN JUAN     PR      00911‐1815
BEBO'S EXTERMINATING                 222 RUTA 475                                                                     ISABELA      PR      00662
BEC CO INC                           PO BOX 31303                                                                     SAN JUAN     PR      00929
BECA BARRAGAN, RENATA                ADDRESS ON FILE
BECEMBERG LIPPO, HECTOR              ADDRESS ON FILE
BECERRA BONILLA, HERMAN              ADDRESS ON FILE
BECERRA BONILLA, HERMAN H            ADDRESS ON FILE
BECERRA DEL VALLE, DIEGO             ADDRESS ON FILE
BECERRA GELPI, MARIA I.              ADDRESS ON FILE
BECERRA GUEVARA, MERARDO             ADDRESS ON FILE
BECERRA GUEVARA, MERARDO A.          ADDRESS ON FILE
BECERRA LOPEZ, ENRIQUE A             ADDRESS ON FILE
BECERRA MARRERO, CAROLA              ADDRESS ON FILE
Becerra Marrero, Diego F             ADDRESS ON FILE
BECERRA PACHECO, JULIO               ADDRESS ON FILE
BECERRA PRIETO, JORGE                ADDRESS ON FILE
BECERRA PUJADAS, GABRIELA            ADDRESS ON FILE
BECERRA RAMOS, ZINIA                 ADDRESS ON FILE
BECERRA RIVERA, ASTRID M             ADDRESS ON FILE
BECERRA SALGADO, DILCIA D            ADDRESS ON FILE
BECERRA SAN MIGUEL, ALMA B           ADDRESS ON FILE
BECERRA SANTIAGO, CORA N             ADDRESS ON FILE
BECERRA SANTIAGO, ZULMA C.           ADDRESS ON FILE
BECERRA VARGAS, WILLIAM              ADDRESS ON FILE
BECERRA, SANDRA                      ADDRESS ON FILE
BECERRIL CASANOVA, ANA L             ADDRESS ON FILE
BECERRIL CRUGIGGER, GERMANICO        ADDRESS ON FILE
BECERRIL DE JESUS, ELIGIO A          ADDRESS ON FILE
BECERRIL DE JESUS, JONATHAN          ADDRESS ON FILE
BECERRIL FERRER, GUSTAVO             ADDRESS ON FILE
BECERRIL FUENTES, JORGE L.           ADDRESS ON FILE
BECERRIL GONZALEZ, NORMA I           ADDRESS ON FILE
BECERRIL GONZALEZ, WINDA             ADDRESS ON FILE
BECERRIL HERNAIZ, JORGE A            ADDRESS ON FILE
BECERRIL HERNAIZ, MILAGROS E         ADDRESS ON FILE
BECERRIL ISAAC, MARIA I              ADDRESS ON FILE
BECERRIL LOPEZ, VICTOR               ADDRESS ON FILE
BECERRIL MERCADO, MARIA DE LOURDES   ADDRESS ON FILE
BECERRIL MONGE, KATHIAJ              ADDRESS ON FILE
BECERRIL NUNEZ, ZHYRMA               ADDRESS ON FILE
BECERRIL OSORIO, JOSE J              ADDRESS ON FILE
BECERRIL OSORIO, OSCAR               ADDRESS ON FILE
BECERRIL QUINTERO, LIZBETH M         ADDRESS ON FILE
BECERRIL QUINTERO, OSCAR             ADDRESS ON FILE
BECERRIL RAMOS, ELIEZER              ADDRESS ON FILE
Becerril Ramos, Josue N.             ADDRESS ON FILE
BECERRIL RIVERA, MIGUEL              ADDRESS ON FILE
BECERRIL ROBLES, VALENTIN            ADDRESS ON FILE
BECERRIL RODRIGUEZ, ELIEZER          ADDRESS ON FILE
BECERRIL RODRIGUEZ, JORGE L          ADDRESS ON FILE
BECERRIL RODRIGUEZ, JOSE C           ADDRESS ON FILE
BECERRIL RODRIGUEZ, JUANITA          ADDRESS ON FILE




                                                                                 Page 784 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 785 of 3500
                                                                                                    Creditor Matrix

Creditor Name                          Address1                     Address2                                     Address3               Address4   City               State   PostalCode   Country
BECERRIL SEPULVEDA, LUIS               ADDRESS ON FILE
BECERRIL SEPULVEDA, MARVELLA           ADDRESS ON FILE
BECERRIL SEPULVEDA, NYDIA M            ADDRESS ON FILE
BECK SEAGLE, THEODORE                  ADDRESS ON FILE
BECK, AMANDA                           ADDRESS ON FILE
BECKER MALDONADO, RAMON                ADDRESS ON FILE
BECKER MALDONADO, YONATHAN             ADDRESS ON FILE
BECKER PROFESSIONAL EDUCATION          PO BOX 191728                                                                                               SAN JUAN           PR      00919‐1728
                                                                                                                 500 AVE MUNOZ RIVERA
BECKER PROFESSIONAL EDUCATIONAL        PERSON CARIBBEAN CORP        COND EL CENTRO II                            SUITE 407                         SAN JUAN           PR      00918
BECKERS CPA REVIEW                     EL CENTRO 2                  SUITE 407                                                                      SAN JUAN           PR      00918
BECKMAN COULTER PUERTO RICO, INC       HC 1 BOX 29030 PMB 339                                                                                      CAGUAS             PR      00725
BECKNER MD , MARK A                    ADDRESS ON FILE
BECKTON ENVIRONMENTAL LAB INC          192 CALLE VILLA                                                                                             PONCE              PR      00730
BECKY ANDUJAR ROLDAN                   ADDRESS ON FILE
BECKY NIEVES APONTE                    ADDRESS ON FILE
BECKY PACHECO VARGAS                   ADDRESS ON FILE
BECKYLEE RAMOS LORENZO                 ADDRESS ON FILE
BECOME ADVERTISING INC                 PO BOX 363088                                                                                               SAN JUAN           PR      00936
BECTON & DICKINSON BIOCIENCES          21588 NETWORK PLACE                                                                                         CHICAGO            IL      60673‐1215
BECTON AND DICKINSON INC               PO BOX 4010                                                                                                 JUNCOS             PR      00777
BECTON DICKINSON AND COMPANY           1 BECTON DRIVE                                                                                              FRANKLIN LAKES     NJ      07417
BECZAIDA M COLON SANTIAGO              ADDRESS ON FILE
BED BATH & BEYOND INC                  PLAZA DEL SOL                725 WEST MAIN AVE                                                              BAYAMON            PR      00961‐4462
BEDA ORSINI MEDINA                     ADDRESS ON FILE
BEDA RAMIREZ, MARIO                    ADDRESS ON FILE
BEDARD MARRERO MD, VARLERIE            ADDRESS ON FILE
BEDARD MARRERO, VALERIE                ADDRESS ON FILE
BEDARD, MADELYN                        ADDRESS ON FILE
BEDDY E SANTIAGO MORALES               ADDRESS ON FILE
BEDNARCZYK, AMY                        ADDRESS ON FILE
BEDOLLA FAJARDO, MARTINA               ADDRESS ON FILE
BEE DAY CARE                           URB OASIS GARDEN             PMB 101 A 18 CALLE ARGENTINA                                                   GUAYNABO           PR      00969
BEEBE MEDICAL CENTER                   424 SAVANNAH RD                                                                                             LEWES              DE      19958
BEECOAST CONTRACTORS INC               PO BOX 7432                                                                                                 CAROLINA           PR      00986
BEER ABURTO, VIOLETA                   ADDRESS ON FILE
BEGINNERS GENERAL CONTRACTORS , INC.   P. O. BOX 1714                                                                                              JUNCOS             PR      00929‐0000
BEGNIGNO ROSADO ROSADO                 ADDRESS ON FILE
BEGUIRISTAIN ORTIZ, CLAUDIA I          ADDRESS ON FILE
BEGUIRISTAIN ORTIZ, LUISA              ADDRESS ON FILE
BEHAR YBARRA & ASSOC LLP               ALTAMIRA                     PERSEO 554 STE J 3                                                             SAN JUAN           PR      00920
BEHARRY PASTRANA, JOHANNA L            ADDRESS ON FILE
BEHAVIORAL GROUP,PSC C/O               XYNERGY HEALTHCARE CAPITAL   P.O. BOX 842343                                                                BOSTON             MA      02284‐2343
BEHN DE JESUS, CARMEN JULIA            ADDRESS ON FILE
BEIBELIZ DEL HOYO ORTIZ                ADDRESS ON FILE
BEIGELMAN COSME, CINTHIA               ADDRESS ON FILE
BEILEY SOFTWARE                        1161 N DUSTIN LANE                                                                                          CHANDLER           AZ      85226
BEIRO BENANTI, LORENZO                 ADDRESS ON FILE
BEITIA ROLON, ORIANA V                 ADDRESS ON FILE
BEJALI INC                             PO BOX 330505                                                                                               PONCE              PR      00733
BEJARAN MD , JUAN E                    ADDRESS ON FILE
Bejaran Mercado, Jose M.               ADDRESS ON FILE
BEJARANO CUBERO, FRANK A.              ADDRESS ON FILE
BEJARANO RIVERA, JANICE L              ADDRESS ON FILE
BELA FIORI                             ADDRESS ON FILE
BELARDO ASENCIO, HERMINIA              ADDRESS ON FILE
BELARDO AYALA, EDGARDO L.              ADDRESS ON FILE
BELARDO AYALA, LUIS                    ADDRESS ON FILE
BELARDO AYALA, VICTOR E                ADDRESS ON FILE
BELARDO BELFORD, ARMANDO               ADDRESS ON FILE




                                                                                                   Page 785 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 786 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BELARDO BELFORD, ARMANDO PILAR         ADDRESS ON FILE
Belardo Carambot, Jose L               ADDRESS ON FILE
BELARDO CARAMBOT, MIGDALIA             ADDRESS ON FILE
BELARDO CARAMBOT, ROBERTO              ADDRESS ON FILE
BELARDO CHARLOTTEN, JUAN               ADDRESS ON FILE
BELARDO DEL RIO, GABRIEL               ADDRESS ON FILE
BELARDO GARCIA, IDIS                   ADDRESS ON FILE
BELARDO GARCIA, IVETTE C               ADDRESS ON FILE
BELARDO HAYNES, ILUMINADA              ADDRESS ON FILE
BELARDO HERNANDEZ, JANIRA              ADDRESS ON FILE
BELARDO NICHOLSON, CRUZ                ADDRESS ON FILE
BELARDO RIJOS, BRUNILDA                ADDRESS ON FILE
BELARDO RIVERA, DENISSE M              ADDRESS ON FILE
BELARDO RIVERA, EDITH I                ADDRESS ON FILE
BELARDO ROSA, YAKISHA                  ADDRESS ON FILE
BELARDO SANTIAGO, JOSE LUIS            ADDRESS ON FILE
BELARMINO ALVAREZ Y NELLIE SOTOMAYOR   ADDRESS ON FILE
BELAVAL ARROYO, WANDA                  ADDRESS ON FILE
BELAVAL CONTRACTORS GROUP INC.         PMB 565 PO BOX 6017                                                              CAROLINA     PR      00984‐0000
BELAVAL GANDIA, JOAQUIN                ADDRESS ON FILE
BELAVAL HERNANDEZ, JOSE                ADDRESS ON FILE
BELAVAL HERNANDEZ, JOSE E.             ADDRESS ON FILE
BELAVAL MUNOZ, ARMANDO                 ADDRESS ON FILE
BELAVAL MUNOZ, ARMANDO L               ADDRESS ON FILE
BELAVAL PEREZ, CARLOS                  ADDRESS ON FILE
BELAVAL RAMOS, PEDRO                   ADDRESS ON FILE
BELAVAL TRANUM MD, MANUEL              ADDRESS ON FILE
BELBER CARRION, JOHANA                 ADDRESS ON FILE
BELBER CARRION, JOSE                   ADDRESS ON FILE
BELBER ROSARIO, ELIZABETH              ADDRESS ON FILE
BELBER ROSARIO, ROBERTO                ADDRESS ON FILE
BELBER SANCHEZ, MIGUEL                 ADDRESS ON FILE
BELEM RODRIGUEZ, ELENITA               ADDRESS ON FILE
BELEN AVILES, OMAYRA                   ADDRESS ON FILE
BELEN AYALA, ALEXANDRA                 ADDRESS ON FILE
BELEN AYALA, BELKYS                    ADDRESS ON FILE
BELEN BAZAN GONZALEZ                   ADDRESS ON FILE
BELEN CARRILLO, YASMIN                 ADDRESS ON FILE
BELEN CASTRO, JOHNNY                   ADDRESS ON FILE
Belen Castro, Sylvia                   ADDRESS ON FILE
Belen Chevalier, Carlos O              ADDRESS ON FILE
BELEN CHEVALIER, MARIA                 ADDRESS ON FILE
BELEN COLLAZO MONTESINOS               ADDRESS ON FILE
BELEN CONCEPCION, LAURA J              ADDRESS ON FILE
BELEN DE CORTES, CARLOTA               ADDRESS ON FILE
BELEN DE NUNEZ, ROSA                   ADDRESS ON FILE
BELEN E. ARRIETA ORTIZ                 ADDRESS ON FILE
BELEN FERRER, MARCO                    ADDRESS ON FILE
Belen Figueroa, Hector Ivan            ADDRESS ON FILE
BELEN GONZALEZ, CLARA I                ADDRESS ON FILE
BELEN GONZALEZ, MIGUEL A               ADDRESS ON FILE
BELEN GUERRERO CALDERON                ADDRESS ON FILE
BELEN HAYER, ALICIA                    ADDRESS ON FILE
BELEN LATIMER, FELIX                   ADDRESS ON FILE
BELEN LATIMER, MARIA                   ADDRESS ON FILE
BELEN LESPIER, HECTOR                  ADDRESS ON FILE
BELEN LUGO, FRANCISCO                  ADDRESS ON FILE
BELEN MALDONADO NARVAEZ                ADDRESS ON FILE
BELEN MONTES, JULIO                    ADDRESS ON FILE
BELEN MORENO, ROSITA                   ADDRESS ON FILE




                                                                                   Page 786 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 787 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BELEN NAZARIO, LAURA            ADDRESS ON FILE
BELEN NAZARIO, VIVIAN L         ADDRESS ON FILE
BELEN NIEVES, CARMEN            ADDRESS ON FILE
BELEN NIEVES, CARMEN L          ADDRESS ON FILE
BELEN OLMEDA, IRIS              ADDRESS ON FILE
BELEN ORTIZ, JEIRA              ADDRESS ON FILE
BELEN ORTIZ, JEIRA              ADDRESS ON FILE
BELEN PENALOZA, IRELIS M        ADDRESS ON FILE
BELEN RIVERA SAEZ               ADDRESS ON FILE
BELEN RIVERA, ANGEL             ADDRESS ON FILE
BELEN RIVERA, JAVIER            ADDRESS ON FILE
BELEN RIVERA, JOSE              ADDRESS ON FILE
BELEN RIVERA, MARILYN           ADDRESS ON FILE
BELEN RIVERA, UZZIEL            ADDRESS ON FILE
BELEN RODRIGUEZ, ENID           ADDRESS ON FILE
BELEN RODRIGUEZ, GLADIMAR       ADDRESS ON FILE
BELEN RODRIGUEZ, JULIANA        ADDRESS ON FILE
BELEN RODRIGUEZ, WANDELYN       ADDRESS ON FILE
BELEN SANTANA, MAGALY           ADDRESS ON FILE
BELEN SANTIAGO, EMMA D          ADDRESS ON FILE
BELEN SANTIAGO, KAREN ZULEIKA   ADDRESS ON FILE
BELEN SANTIAGO, NOEL            ADDRESS ON FILE
BELEN SERRANO, NELLY            ADDRESS ON FILE
BELEN SERRANO, ROSA E           ADDRESS ON FILE
BELEN THILLET, JEANNETTE        ADDRESS ON FILE
BELEN TIRADO, ERNESTO           ADDRESS ON FILE
BELEN TIRADO, RICARDO           ADDRESS ON FILE
BELEN TORRES, VANESSA           ADDRESS ON FILE
BELEN VALENTIN MIRANDA          ADDRESS ON FILE
BELEN VAZQUEZ, ANA M            ADDRESS ON FILE
BELEN VAZQUEZ, LUZ D            ADDRESS ON FILE
BELEN VEGA, NELIA               ADDRESS ON FILE
BELEN VELEZ, LUISA              ADDRESS ON FILE
BELEN VIDRO, EDUARDO L.         ADDRESS ON FILE
BELEN, LUIS A                   ADDRESS ON FILE
BELENDEZ FERRERO, LAURA         ADDRESS ON FILE
BELENDEZ RODRIGUEZ, DANAIDA     ADDRESS ON FILE
BELENO, BERNARDO C.             ADDRESS ON FILE
BELFORD I RAMIREZ MONTALVO      ADDRESS ON FILE
BELFORT NOELSAINT, TERCIUS      ADDRESS ON FILE
BELGICA SIBILIA SANCHEZ         ADDRESS ON FILE
BELGODERE BONILLA, EDITH M      ADDRESS ON FILE
BELGODERE CRUZ, RAFAEL          ADDRESS ON FILE
BELGODERE JULIA, JAIME          ADDRESS ON FILE
BELGODERE MARIETTI, FERNANDO    ADDRESS ON FILE
BELGODERE MARIETTI, JAIME       ADDRESS ON FILE
BELGODERE RIVERA, ADRIANA       ADDRESS ON FILE
BELGODERE ROMANI, JOAQUIN       ADDRESS ON FILE
BELGODERE ROMANY, FRANCISCA     ADDRESS ON FILE
BELGODERE ROMANY, VICENTE       ADDRESS ON FILE
BELGODERE, CARMEN L.            ADDRESS ON FILE
BELGUI R. NIEVES AVILES         ADDRESS ON FILE
BELIANICE OCASIO ARROYO         ADDRESS ON FILE
BELIANT AGUILAZOCHO SANCHEZ     ADDRESS ON FILE
BELIARD NADER, SANDRA           ADDRESS ON FILE
BELIN GONZALEZ ALVAREZ          ADDRESS ON FILE
BELINDA ALFARO RIVERA           ADDRESS ON FILE
BELINDA B MALDONADO MEDINA      ADDRESS ON FILE
BELINDA BERMUDEZ HERNANDEZ      ADDRESS ON FILE
BELINDA BERMUDEZ HERNANDEZ      ADDRESS ON FILE




                                                                            Page 787 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 788 of 3500
                                                                                                 Creditor Matrix

Creditor Name                     Address1                           Address2                                 Address3   Address4   City              State   PostalCode   Country
BELINDA DEL VALLE COLON           ADDRESS ON FILE
BELINDA GONZALEZ QUINONEZ         ADDRESS ON FILE
BELINDA JIMENEZ GUZMAN            ADDRESS ON FILE
BELINDA JIMENEZ LOPEZ             ADDRESS ON FILE
BELINDA L TORO PALACIOS           ADDRESS ON FILE
BELINDA M LOUSTAUNAN CASTA        ADDRESS ON FILE
BELINDA MALDONADO GARCIA          ADDRESS ON FILE
BELINDA ORTIZ                     ADDRESS ON FILE
BELINDA PLAZA VEGA                ADDRESS ON FILE
BELINDA VELEZ PEREA               ADDRESS ON FILE
BELINDA Z BURGOS GONZALEZ         ADDRESS ON FILE
BELINGERI HERN, MILDRED           ADDRESS ON FILE
BELIRIS MATOS MATOS               ADDRESS ON FILE
BELIRIS OLIVO VARAS               ADDRESS ON FILE
BELISA R MIRANDA CINTRON          ADDRESS ON FILE
BELISSA BENITEZ ROSA              ADDRESS ON FILE
BELISSA GONZALEZ COLON            ADDRESS ON FILE
BELITZA LUGO BEABRAUT             ADDRESS ON FILE
BELITZA ROSARIO CALDERON          ADDRESS ON FILE
BELIZA TORRES NARVAEZ             ADDRESS ON FILE
BELIZABETH VELAZQUEZ MERCADO      ADDRESS ON FILE
BELKIS C BREA POLANCO             ADDRESS ON FILE
BELKIS C PEREZ SANTANA            ADDRESS ON FILE
BELKIS CAMARA E ISMAEL SOJO       ADDRESS ON FILE
BELKIS D VAZQUEZ MELENDEZ         ADDRESS ON FILE
BELKIS GONZALEZ LOPEZ             ADDRESS ON FILE
BELKIS M JORGE VALCARCEL          ADDRESS ON FILE
BELKIS M REYES SALVA              ADDRESS ON FILE
BELKIS M SANTIAGO DIAZ            ADDRESS ON FILE
BELKIS M SANTIAGO FIGUEROA        ADDRESS ON FILE
BELKIS MARTE ESPINAL              ADDRESS ON FILE
BELKIS MAYRA TORRES FRANCO        ADDRESS ON FILE
BELKIS MEDINA PASCUAL             ADDRESS ON FILE
BELKIS QUIJADA ALMONTE            ADDRESS ON FILE
BELKIS R CEPERO ZARAGOZA          ADDRESS ON FILE
BELKIS R. PEREYRA POLANCO         ADDRESS ON FILE
BELKIS RAQUEL CEPERO ZARAGOZA     ADDRESS ON FILE
BELKIS SANTIAGO MARTINEZ          ADDRESS ON FILE
BELKIS SIERRA DE JESUS            ADDRESS ON FILE
BELKYS CLAUDIO MORALES            ADDRESS ON FILE
BELKYS GONZALEZ LOPEZ             BÁMILY LÓPEZ‐ORTIZ                 PO BOX 635                                                     RÍO GRANDE        PR      00745
BELKYS M MELO HERRERA             ADDRESS ON FILE
BELKYS R CAMILO                   ADDRESS ON FILE
BELKYS SOTO PEREZ                 ADDRESS ON FILE
BELKYS TORRES IRIZARRY            ADDRESS ON FILE
BELL BOOK                         AVE. DIEGO 102                                                                                    SANTURCE          PR      00907
BELL CORTES, BARBARA              ADDRESS ON FILE
Bell Cortez, Barbara              ADDRESS ON FILE
BELL DAVILA, ROYCE                ADDRESS ON FILE
BELL GONZALEZ, PHILIP D           ADDRESS ON FILE
BELL INDUSTRIES INC               PO BOX 8338                                                                                       ROLLING MEADOWS   IL      60008
BELL MARTINEZ, CRYSTAL            ADDRESS ON FILE
BELL MARTINEZ, ROSA A.            ADDRESS ON FILE
BELL WINSTON CLINIC               626 POPLAR ST                                                                                     HELENA            AR      72342
BELL, JONATHAN                    ADDRESS ON FILE
BELLA AUTO GROUP INC              P O BOX 190816                                                                                    SAN JUAN          PR      00919‐0816
BELLA INTERNATIONAL LLC           LCDO. JUAN CARLOS MORALES DUCRET   JCMORALES@BELLAGROUP.COM
BELLA RETAIL GROUP INC            PO BOX 8897                                                                                       SAN JUAN          PR      00910
BELLA SOFIA AIR CONDITIONER INC   BARRIO NUEVO                       HC 74 BOX 5809                                                 NARANJITO         PR      00719
BELLA SOFIA AIR CONDITIONER INC   NS 11 AVE HOSTOS SANTA JUANITA                                                                    BAYAMON           PR      00956




                                                                                                Page 788 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 789 of 3500
                                                                                                Creditor Matrix

Creditor Name                        Address1                    Address2                                    Address3   Address4   City              State   PostalCode   Country
BELLA THE SHOP CORP                  JARDINES II                 A 37 CALLE PASEO DE LA ROSA                                       CAYEY             PR      00736
BELLA VISTA CANCER CENTER            PO BOX 1750                                                                                   MAYAGUEZ          PR      00680
BELLA VISTA CLINIC                   URBAN HEALTH PLAN INC       890 HUNTS POINT AVENUE                                            BRONX             NY      10474
BELLA VISTA STATES INC               1 CALLE VISTA AL LLANO                                                                        COAMO             PR      00769‐9336
BELLA VISTA STATES INC               URB BELLA VISTA ESTATES     54 CALLE VISTA AL MAR                                             COAMO             PR      00769
BELLAFLORES GARCIA, ANGEL L.         ADDRESS ON FILE
BELLAFLORES MARTIN MD, FRANCISCO R   ADDRESS ON FILE
BELLAFLORES MARTIN, FRANCISCO        ADDRESS ON FILE
Bellaflores Martin, Maria            ADDRESS ON FILE
BELLAFLORES RAMOS, YAIMA Y           ADDRESS ON FILE
BELLAFLORES ROSSELLO, JESSICA M.     ADDRESS ON FILE
BELLAGIO HOMES CORPORATION           P O BOX 366751                                                                                SAN JUAN          PR      00936
BELLARD ESPINAL, LUIS                ADDRESS ON FILE
BELLAS ARTES DE CAGUAS, CORP         PMB 322                     BOX 4956                                                          CAGUAS            PR      00726‐4956
BELLAVISTA MEDICINE OFFICE PSC       VILLA ESPERANZA             30 CALLE 2                                                        PONCE             PR      00716
BELLAVISTA ROLON, CARLOS             ADDRESS ON FILE
BELLAVISTA ROLON, CARLOS             ADDRESS ON FILE
Bellavista Ruiz, Jose I              ADDRESS ON FILE
BELLAVISTA SILVA, LUIS               ADDRESS ON FILE
Bellavista Silva, Luis A             ADDRESS ON FILE
BELLAVISTA SILVA, YELITZA            ADDRESS ON FILE
BELLAVISTA SILVA, YELITZA            ADDRESS ON FILE
BELLBER HERNANDEZ, CARMEN H          ADDRESS ON FILE
BELLBER SANCHEZ, BARBARA M           ADDRESS ON FILE
BELLBER SANCHEZ, ERICK               ADDRESS ON FILE
BELLE A IGUINA                       ADDRESS ON FILE
BELLE M TORRES VELAZQUEZ             ADDRESS ON FILE
Bellemare Seda, Agnes                ADDRESS ON FILE
BELLEROSE CRUZ, BIANCA               ADDRESS ON FILE
BELLEROSE CRUZ, BIANCA M.            ADDRESS ON FILE
BELLEVUE HOSPITAL CENTER             PO BOX 409822                                                                                 ATLANTA           GA      30384‐9822
Belliard Espinal, Maria E.           ADDRESS ON FILE
BELLIARD ESPINAL, MARIA ESTELA       ADDRESS ON FILE
BELLIDO CINTRON, LIANNETTE           ADDRESS ON FILE
BELLIDO DIAZ, JUDITH                 ADDRESS ON FILE
BELLIDO LOPEZ,JORGE A.               ADDRESS ON FILE
BELLIDO MORALES, JOSE                ADDRESS ON FILE
BELLIDO RODRIGUEZ, MAYRA             ADDRESS ON FILE
BELLIDO SANTIAGO, ISAAC              ADDRESS ON FILE
BELLIDO SANTIAGO, ISAAC              ADDRESS ON FILE
Bellido Santiago, Melquiades         ADDRESS ON FILE
BELLIDO SOLER, JONATHAN              ADDRESS ON FILE
BELLIDO VAZQUEZ,JORGE                ADDRESS ON FILE
BELLIDO, JORGE A.                    ADDRESS ON FILE
BELLIN MEMORIAL HOSPITAL             744 S WEBSTER AVE           PO BOX 23400                                                      GREEN BAY         WI      54305‐3400
BELLINA QUILES, GISELLE              ADDRESS ON FILE
BELLO ACEVEDO, FELIX R.              ADDRESS ON FILE
BELLO ALICEA, CARMEN                 ADDRESS ON FILE
BELLO ALVELO, MARIANELA              ADDRESS ON FILE
BELLO ALVELO, VILMARY                ADDRESS ON FILE
BELLO ATARDECER HOME CARE INC        PO BOX 4115                                                                                   CAROLINA          PR      00984
BELLO BELLO, MICHAEL                 ADDRESS ON FILE
BELLO BESOSA, LISSETTE               ADDRESS ON FILE
BELLO BIOPHAR CONSULTING             APT 3606 MONTECILLO COURT                                                                     TRUJILLO ALTO     PR      00976
BELLO BUSUTIL, MABELLE               ADDRESS ON FILE
BELLO BUSUTIL, MABELLE A             ADDRESS ON FILE
BELLO CAMACHO, ANA M.                ADDRESS ON FILE
BELLO COLON, FREDDIE                 ADDRESS ON FILE
BELLO CORREA, KAREN J                ADDRESS ON FILE
BELLO CORTES, ANTONIO                ADDRESS ON FILE




                                                                                               Page 789 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 790 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BELLO DAVILA, ZULMA            ADDRESS ON FILE
BELLO DE FREYTES, NORMA        ADDRESS ON FILE
BELLO FERNANDEZ, IRIS V        ADDRESS ON FILE
BELLO FIGUEROA, ARIEL          ADDRESS ON FILE
BELLO FONSECA, FRANCISCO D     ADDRESS ON FILE
BELLO FRANQUI, ANGEL           ADDRESS ON FILE
BELLO GARCIA, CALIXTO          ADDRESS ON FILE
BELLO GARCIA, ENDERSON         ADDRESS ON FILE
BELLO GARCIA, RICARDO          ADDRESS ON FILE
BELLO GONZALEZ, LUIS           ADDRESS ON FILE
BELLO LOPEZ, JULY M            ADDRESS ON FILE
BELLO LORIE, PEDRO A.          ADDRESS ON FILE
BELLO MARTINEZ, GISELA I       ADDRESS ON FILE
BELLO MARTINEZ, VANESSA        ADDRESS ON FILE
BELLO MARTINEZ, VANESSA L.     ADDRESS ON FILE
BELLO MEDINA, MARIA T.         ADDRESS ON FILE
BELLO MELENDEZ, FELIX          ADDRESS ON FILE
BELLO OCASIO, BELMARIE         ADDRESS ON FILE
BELLO ORTIZ, ILEANA RAMONITA   ADDRESS ON FILE
BELLO ORTIZ, OSVALDO           ADDRESS ON FILE
BELLO ORTIZ, RAUL              ADDRESS ON FILE
BELLO ORTIZ, ROBERTO           ADDRESS ON FILE
BELLO PAGAN, MELISSA           ADDRESS ON FILE
BELLO PAGAN, OSVALDO           ADDRESS ON FILE
BELLO PEGUERO, MARANGELYS      ADDRESS ON FILE
Bello Perez, Hector J.         ADDRESS ON FILE
BELLO RAMIREZ, JOSMARIE        ADDRESS ON FILE
Bello Ramirez, Manuel A        ADDRESS ON FILE
BELLO RIVERA, ADA L            ADDRESS ON FILE
BELLO RIVERA, JOSE             ADDRESS ON FILE
Bello Rivera, Jose R           ADDRESS ON FILE
Bello Rivera, Wanda I          ADDRESS ON FILE
BELLO RODRIGUEZ, JORGE         ADDRESS ON FILE
BELLO ROJAS MD, GUSTAVO        ADDRESS ON FILE
BELLO ROJAS, GUSTAVO           ADDRESS ON FILE
BELLO ROMAN, LUZ S             ADDRESS ON FILE
BELLO ROMAN, MARIA I           ADDRESS ON FILE
BELLO RUIZ, ADA H              ADDRESS ON FILE
BELLO RUIZ, BLANCA I           ADDRESS ON FILE
BELLO SANCHEZ, MIGUEL DEL C    ADDRESS ON FILE
BELLO SANTIAGO, JUAN M         ADDRESS ON FILE
BELLO SANTUAGO, GLADYS         ADDRESS ON FILE
BELLO SEVERINO, RAMONA         ADDRESS ON FILE
BELLO SEVERINO, RAMONA         ADDRESS ON FILE
BELLO SOTOMAYOR, JULIO         ADDRESS ON FILE
BELLO TIRADO, LOURDES          ADDRESS ON FILE
BELLO TOURS SERVICES INC       PMB 188                   PO BOX 7105                                            PONCE        PR      00732
BELLO VARGAS, CARMEN           ADDRESS ON FILE
BELLO VEGA, MILAGROS           ADDRESS ON FILE
BELLO VIERA, SHEILA            ADDRESS ON FILE
Bello Zabala, Ariel            ADDRESS ON FILE
BELLO, MELISSA                 ADDRESS ON FILE
BELLO, MILVIA                  ADDRESS ON FILE
BELLOFONSECA, RAFAEL           ADDRESS ON FILE
BELLON VELAZQUEZ, RAUL         ADDRESS ON FILE
BELLOTTI SEVILLA, BERENICE     ADDRESS ON FILE
BELLVER ESPINOSA, ENRIQUE      ADDRESS ON FILE
BELMA CRUZ SERRANO             ADDRESS ON FILE
BELMA DEL C ALONSO GARCIA      ADDRESS ON FILE
BELMA DEL C ALONSO GARCIA      ADDRESS ON FILE




                                                                           Page 790 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 791 of 3500
                                                                                                     Creditor Matrix

Creditor Name                            Address1                       Address2                                  Address3           Address4   City            State   PostalCode   Country
BELMANE CANALES QUINONES                 ADDRESS ON FILE
BELMAR A IRIZARRY GARCES                 ADDRESS ON FILE
BELMAR MEMORIAL INC                      118 AVE. BARBOSA                                                                                       CATANO          PR      00962
BELMAR PHOTO STUDIO                      AREA DEL TESORO                DIVISION DE RECLAMACIONES                                               SAN JUAN        PR      00902‐4140
BELMAR PHOTO STUDIO                      PO BOX 361957                                                                                          SAN JUAN        PR      00936‐1957
BELMAR PHOTO STUDIO                      URB HYDE PARK                  890 AVE MUNOZ RIVERA                                                    SAN JUAN        PR      00927
BELMAR RIVERA DBA                        CLINICA DE TERAPIA HORIZONTE   CALLE NUEVA #E‐10                         VILLA CLEMENTINA              GUAYNABO        PR      00969
BELMAR, AMANDA                           ADDRESS ON FILE
BELMARI DIAZ RAMOS                       ADDRESS ON FILE
BELMARI RIVERA DIAZ                      ADDRESS ON FILE
BELMARIE AMEZQUITA BERRIOS               ADDRESS ON FILE
BELMARIE BERRIOS COTTO                   ADDRESS ON FILE
BELMARIE RODRIGUEZ SANTIAGO              ADDRESS ON FILE
BELMARIE SANCHEZ OTERO                   ADDRESS ON FILE
BELMARIE SANCHEZ OTERO                   ADDRESS ON FILE
BELMARIS CINTRON VEGA                    ADDRESS ON FILE
BELMARIS SANTOS CAMACHO                  ADDRESS ON FILE
BELMARY FIGUEROA RIVERA                  ADDRESS ON FILE
BELMARY FIGUEROA RIVERA                  ADDRESS ON FILE
BELMONT DE LA VEGA, NADYA                ADDRESS ON FILE
BELMONT ESTRONZA, JOAN MARIE             ADDRESS ON FILE
BELMONT GUZMAN, VALERIE N.               ADDRESS ON FILE
BELMONT PLAZA, LILLIAM                   ADDRESS ON FILE
BELMONT RIVERA, OMAR                     ADDRESS ON FILE
BELMONT RIVERA, RENE                     ADDRESS ON FILE
BELMONT RODRIGUEZ MD, WALLACE            ADDRESS ON FILE
BELMONT RUIZ, LORRAINE                   ADDRESS ON FILE
BELMONT RUIZ, OLGA I                     ADDRESS ON FILE
BELMONTE AULI, RAFAEL F                  ADDRESS ON FILE
BELMONTE CASTILLO, SAMANTHA              ADDRESS ON FILE
BELMONTE MASSA, KERRY                    ADDRESS ON FILE
BELMONTE MASSA, WALTER                   ADDRESS ON FILE
BELMONTE MEDIAVILLA, EDDIE               ADDRESS ON FILE
BELMONTE REALTY INC                      PO BOX 1085                                                                                            HORMIGUEROS     PR      00660
BELMONTY ROMAN, JAIME J                  ADDRESS ON FILE
BELOK MD , LENNART C                     ADDRESS ON FILE
Belpre Nunez, Pedro M                    ADDRESS ON FILE
BELQUIES PEREZ DIAZ                      ADDRESS ON FILE
BELQUIS Z MATIAS ECHEVARRIA              ADDRESS ON FILE
BELSAI FRANCHESCA MARTINEZ DE LA VILLA   ADDRESS ON FILE
BELSI M. SERRANO MEDINA                  ADDRESS ON FILE
BELTHANT REYES, STEVEN                   ADDRESS ON FILE
BELTRA, PATRICE                          ADDRESS ON FILE
BELTRAN ACEVEDO, CARMEN L                ADDRESS ON FILE
BELTRAN ACEVEDO, MARIA                   ADDRESS ON FILE
BELTRAN ACEVEDO, MARIA O                 ADDRESS ON FILE
BELTRAN ACEVEDO, MARIBEL                 ADDRESS ON FILE
BELTRAN ACEVEDO, MAYRA E                 ADDRESS ON FILE
BELTRAN ACEVEDO, NELIDA                  ADDRESS ON FILE
BELTRAN ACEVEDO, NEYSA                   ADDRESS ON FILE
Beltran Acevedo, Salvador                ADDRESS ON FILE
BELTRAN ACEVEDO, YAHAIRA                 ADDRESS ON FILE
BELTRAN ACOSTA, IRIS                     ADDRESS ON FILE
BELTRAN ACOSTA, MERCEDES                 ADDRESS ON FILE
BELTRAN ADORNO, LUIS J                   ADDRESS ON FILE
BELTRAN ALBELO, ZULEIKA                  ADDRESS ON FILE
BELTRAN ALEJANDRINO, LOURDES             ADDRESS ON FILE
BELTRAN ALVARADO, FRANCISCO              ADDRESS ON FILE
BELTRAN ALVARADO, FRANCISCO J            ADDRESS ON FILE
BELTRAN ALVARADO, WILMA                  ADDRESS ON FILE




                                                                                                    Page 791 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 792 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BELTRAN ALVAREZ, MARISOL             ADDRESS ON FILE
BELTRAN ALVAREZ, MARISOL             ADDRESS ON FILE
BELTRAN ALVAREZ, MIGUEL A            ADDRESS ON FILE
BELTRAN ALVELO, JESSICA              ADDRESS ON FILE
BELTRAN AYALA, ANGEL                 ADDRESS ON FILE
BELTRAN BELTRAN & ASSOCIATES P S C   PO BOX 366126                                                                    SAN JUAN     PR      00936‐6126
BELTRAN BELTRAN, DORIS J.            ADDRESS ON FILE
BELTRAN BELTRAN, ENEIDA              ADDRESS ON FILE
BELTRAN BELTRAN, VICTORIA            ADDRESS ON FILE
BELTRAN BERRIOS, KARELYS             ADDRESS ON FILE
BELTRAN BERRIOS, KRISTIAN            ADDRESS ON FILE
BELTRAN BERRIOS, LIZ Y               ADDRESS ON FILE
BELTRAN BERRIOS, TANIA               ADDRESS ON FILE
BELTRAN BOSQUES, JOSE                ADDRESS ON FILE
BELTRAN BURGOS, CARMEN R             ADDRESS ON FILE
BELTRAN BURGOS, LUIS D.              ADDRESS ON FILE
BELTRAN BURGOS, LYDIA                ADDRESS ON FILE
BELTRAN BURGOS, MARIA L              ADDRESS ON FILE
BELTRAN BURGOS, NORMA I              ADDRESS ON FILE
Beltran Caban, Edwin                 ADDRESS ON FILE
BELTRAN CABAN, EDWIN                 ADDRESS ON FILE
BELTRAN CABAN, YAJAIRA               ADDRESS ON FILE
BELTRAN CABRERA, CONNIE              ADDRESS ON FILE
BELTRAN CABRERA, LILLIAM             ADDRESS ON FILE
BELTRAN CABRERA, MAYRA               ADDRESS ON FILE
Beltran Cabrera, Tomas A             ADDRESS ON FILE
BELTRAN CALDERON, LUIS F             ADDRESS ON FILE
BELTRAN CARABALLO, OLIVIA            ADDRESS ON FILE
BELTRAN CARMONA, CARLOS M            ADDRESS ON FILE
BELTRAN CARRADERO, CYNTHIA           ADDRESS ON FILE
Beltran Castro, Luis E.              ADDRESS ON FILE
Beltran Castro, Maribel              ADDRESS ON FILE
BELTRAN CINTRON, FRANCISCO           ADDRESS ON FILE
BELTRAN CINTRON, JACQUELINE          ADDRESS ON FILE
BELTRAN CLAUDIO, JOSE A.             ADDRESS ON FILE
BELTRAN COLON, CARLOS                ADDRESS ON FILE
BELTRAN COLON, CESAR                 ADDRESS ON FILE
BELTRAN COLON, FERNANDO E.           ADDRESS ON FILE
Beltran Colon, Higinio A             ADDRESS ON FILE
BELTRAN COLON, LUIS                  ADDRESS ON FILE
BELTRAN CORPORATE SERVICES LLC       PO BOX 832                                                                       HUMACAO      PR      00792
BELTRAN CORREA, YOLANDA              ADDRESS ON FILE
Beltran Cortes, Carlos J             ADDRESS ON FILE
Beltran Cortes, Danny                ADDRESS ON FILE
BELTRAN CORTES, LUZ                  ADDRESS ON FILE
BELTRAN CRUZ, ANGEL M                ADDRESS ON FILE
BELTRAN CRUZ, ANGEL R                ADDRESS ON FILE
BELTRAN CRUZ, DIARA                  ADDRESS ON FILE
BELTRAN CRUZ, DIARA                  ADDRESS ON FILE
BELTRAN CRUZ, EFRAIN                 ADDRESS ON FILE
BELTRAN CRUZ, GREGORIO               ADDRESS ON FILE
BELTRAN CUEVAS, ROSALINDA            ADDRESS ON FILE
BELTRAN DE LEON, CESAR O.            ADDRESS ON FILE
BELTRAN DE ORTIZ, GLADYS             ADDRESS ON FILE
BELTRAN DIAZ, ANGEL                  ADDRESS ON FILE
BELTRAN DIAZ, JOSE                   ADDRESS ON FILE
BELTRAN DONES, CARMEN N              ADDRESS ON FILE
BELTRAN DONES, CARMEN NANETTE        ADDRESS ON FILE
BELTRAN DONES, MARTA TERESA          ADDRESS ON FILE
BELTRAN DONES, MARTIN                ADDRESS ON FILE




                                                                                 Page 792 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 793 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BELTRAN DURAND, JOHANNA        ADDRESS ON FILE
BELTRAN FALCON, FRANCISCO      ADDRESS ON FILE
BELTRAN FELICIANO, CARMEN      ADDRESS ON FILE
BELTRAN FIGUEROA, JENIFFER     ADDRESS ON FILE
BELTRAN FIGUEROA, LUIS A       ADDRESS ON FILE
BELTRAN FIGUEROA, ROSA         ADDRESS ON FILE
BELTRAN FIGUEROA, SONIA N      ADDRESS ON FILE
BELTRAN GALARZA, MIRIAM        ADDRESS ON FILE
BELTRAN GALARZA, NELSON        ADDRESS ON FILE
BELTRAN GARCIA                 ADDRESS ON FILE
BELTRAN GARCIA, DIANE          ADDRESS ON FILE
BELTRAN GARCIA, DIANE          ADDRESS ON FILE
BELTRAN GARCIA, ERNESTO        ADDRESS ON FILE
BELTRAN GARCIA, NATALY         ADDRESS ON FILE
BELTRAN GARCIA, OMAR A         ADDRESS ON FILE
BELTRAN GERENA, LORNA A        ADDRESS ON FILE
BELTRAN GERENA, MARICEL J.     ADDRESS ON FILE
BELTRAN GERENA, MARISEL J      ADDRESS ON FILE
Beltran Gonzalez, Eduardo      ADDRESS ON FILE
Beltran Guzman, Bienvenido     ADDRESS ON FILE
BELTRAN GUZMAN, HECTOR         ADDRESS ON FILE
BELTRAN GUZMAN, LUISA          ADDRESS ON FILE
BELTRAN HERNANDEZ, ASUNCION    ADDRESS ON FILE
BELTRAN HERNANDEZ, EVELYN      ADDRESS ON FILE
BELTRAN HERNANDEZ, IVETTE      ADDRESS ON FILE
BELTRAN HERNANDEZ, JAVIER      ADDRESS ON FILE
BELTRAN HERNANDEZ, JUAN        ADDRESS ON FILE
Beltran Ingles, Jack E         ADDRESS ON FILE
BELTRAN IRIZARRY, IRIS N       ADDRESS ON FILE
BELTRAN JIMENEZ, ANGELES M     ADDRESS ON FILE
BELTRAN JIMENEZ, REBECA        ADDRESS ON FILE
BELTRAN LAGUNA, FELIPE         ADDRESS ON FILE
BELTRAN LAO, TANYA L           ADDRESS ON FILE
BELTRAN LAVIENA, EUGENIA       ADDRESS ON FILE
BELTRAN LAVIENA, EVA           ADDRESS ON FILE
BELTRAN LAVIENA, LUCIA         ADDRESS ON FILE
BELTRAN LAVIENA, MAXIMINO      ADDRESS ON FILE
BELTRAN LEBRON, HEIDY          ADDRESS ON FILE
BELTRAN LEBRON, IVONNE E       ADDRESS ON FILE
BELTRAN LEBRON, NOEMI          ADDRESS ON FILE
Beltran Lebron, Noemi          ADDRESS ON FILE
BELTRAN LOPEZ, ANA A           ADDRESS ON FILE
BELTRAN LOPEZ, JESUS M         ADDRESS ON FILE
BELTRAN LOPEZ, JOSE N.         ADDRESS ON FILE
BELTRAN LOPEZ, MILDRED D       ADDRESS ON FILE
BELTRAN LOPEZ, NORMA           ADDRESS ON FILE
BELTRAN LOPEZ, PEDRO           ADDRESS ON FILE
BELTRAN LOPEZ, YULIANA         ADDRESS ON FILE
BELTRAN LUCIANO, GLORIANIS     ADDRESS ON FILE
BELTRAN MALDONADO, DENISE      ADDRESS ON FILE
BELTRAN MALDONADO, JAEMY       ADDRESS ON FILE
BELTRAN MARQUEZ, EDWIN         ADDRESS ON FILE
BELTRAN MARRERO, RAFAEL        ADDRESS ON FILE
BELTRAN MARTINEZ, CHEGEREZAD   ADDRESS ON FILE
BELTRAN MARTINEZ, HAYDEE       ADDRESS ON FILE
BELTRAN MARTINEZ, JORGE        ADDRESS ON FILE
BELTRAN MARTINEZ, RUBEN        ADDRESS ON FILE
BELTRAN MARTINEZ, WILLIAM E    ADDRESS ON FILE
BELTRAN MATOS, JUAN L.         ADDRESS ON FILE
BELTRAN MEDINA, MIRELYS        ADDRESS ON FILE




                                                                           Page 793 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 794 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Beltran Medina, Rodolfo       ADDRESS ON FILE
BELTRAN MEJIAS, ANGEL         ADDRESS ON FILE
BELTRAN MEJIAS, OLGA I        ADDRESS ON FILE
BELTRAN MELENDEZ MD, JOSE L   ADDRESS ON FILE
BELTRAN MELENDEZ, ANA C       ADDRESS ON FILE
BELTRAN MELENDEZ, DAMARIS     ADDRESS ON FILE
BELTRAN MELENDEZ, JOSE        ADDRESS ON FILE
BELTRAN MELENDEZ, JOSEFINA    ADDRESS ON FILE
Beltran Menendez, Luis A      ADDRESS ON FILE
BELTRAN MERCADO, GILBERTO     ADDRESS ON FILE
BELTRAN MERCADO, JAVIER       ADDRESS ON FILE
BELTRAN MIRANDA, WANDA I      ADDRESS ON FILE
BELTRAN MOLINA, EFRAIN        ADDRESS ON FILE
BELTRAN MONTALVO, ZORAIDA     ADDRESS ON FILE
Beltran Montes, David         ADDRESS ON FILE
BELTRAN MONTES, DAVID         ADDRESS ON FILE
BELTRAN MONTES, ROSANELL      ADDRESS ON FILE
BELTRAN MORALES, CARMEN M     ADDRESS ON FILE
BELTRAN MORALES, FRANCISCO    ADDRESS ON FILE
Beltran Morales, Gladys       ADDRESS ON FILE
BELTRAN MORALES, SANDRA M     ADDRESS ON FILE
BELTRAN MURIEL, LUIS          ADDRESS ON FILE
BELTRAN NEGRON, LESLEY ANN    ADDRESS ON FILE
BELTRAN NEGRON, LUIS D.       ADDRESS ON FILE
BELTRAN NIEVES, JOSUE         ADDRESS ON FILE
BELTRAN NIEVES, MARELYNE      ADDRESS ON FILE
BELTRAN NIEVES, PABLO         ADDRESS ON FILE
BELTRAN NIEVES, WILSON        ADDRESS ON FILE
BELTRAN NIEVES, WILSON        ADDRESS ON FILE
BELTRAN OCASIO, MERCEDES      ADDRESS ON FILE
BELTRAN ORTIZ, ANA B          ADDRESS ON FILE
BELTRAN ORTIZ, ANNETTE        ADDRESS ON FILE
BELTRAN ORTIZ, BEVERLY        ADDRESS ON FILE
BELTRAN ORTIZ, CARMEN         ADDRESS ON FILE
BELTRAN ORTIZ, MILTON         ADDRESS ON FILE
BELTRAN ORTIZ, RICARDO        ADDRESS ON FILE
BELTRAN PADRO, JOSE           ADDRESS ON FILE
Beltran Pagan, Jackeline      ADDRESS ON FILE
BELTRAN PAGAN, JACKELINE      ADDRESS ON FILE
Beltran Pagan, Jesus          ADDRESS ON FILE
BELTRAN PAGAN, JUDITH         ADDRESS ON FILE
Beltran Pagan, Luis M         ADDRESS ON FILE
BELTRAN PAGAN, MARIA A        ADDRESS ON FILE
BELTRAN PAGAN, MARITZA        ADDRESS ON FILE
BELTRAN PARRILLA, NEIANIZ     ADDRESS ON FILE
BELTRAN PELLICIER, MARIA      ADDRESS ON FILE
BELTRAN PEREZ, ADALBERTO      ADDRESS ON FILE
BELTRAN PEREZ, ARCADIA        ADDRESS ON FILE
BELTRAN PEREZ, GUILLERMINA    ADDRESS ON FILE
Beltran Perez, Jennifer       ADDRESS ON FILE
BELTRAN PEREZ, JOSE A         ADDRESS ON FILE
BELTRAN PONCE, GLENDA         ADDRESS ON FILE
BELTRAN QUILES, GLORIA I      ADDRESS ON FILE
BELTRAN QUILES, MARIA         ADDRESS ON FILE
BELTRAN QUILES, MARIA DEL C   ADDRESS ON FILE
BELTRAN QUINONES, JUAN        ADDRESS ON FILE
BELTRAN QUINTANA, SALLY       ADDRESS ON FILE
BELTRAN RAMIREZ, BETSY        ADDRESS ON FILE
BELTRAN RAMIREZ, FRANCISCO    ADDRESS ON FILE
BELTRAN RAMIREZ, RUBEN        ADDRESS ON FILE




                                                                          Page 794 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 795 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BELTRAN RAMOS, JOSE            ADDRESS ON FILE
BELTRAN RAMOS, LYDIA           ADDRESS ON FILE
BELTRAN RAMOS, NELLY           ADDRESS ON FILE
Beltran Ramos, Walenda I       ADDRESS ON FILE
BELTRAN RAMOS, WILFREDO        ADDRESS ON FILE
Beltran Reyes, Juanita         ADDRESS ON FILE
BELTRAN RIVERA, AMALIN         ADDRESS ON FILE
BELTRAN RIVERA, CARMEN V.      ADDRESS ON FILE
BELTRAN RIVERA, CHARLIE        ADDRESS ON FILE
Beltran Rivera, Jimmy          ADDRESS ON FILE
Beltran Rivera, Luis Miguel    ADDRESS ON FILE
BELTRAN RIVERA, MADELINE       ADDRESS ON FILE
BELTRAN RIVERA, MARIBEL        ADDRESS ON FILE
BELTRAN RIVERA, MARIBEL        ADDRESS ON FILE
BELTRAN RIVERA, MARITZA        ADDRESS ON FILE
BELTRAN RIVERA, NELSON         ADDRESS ON FILE
BELTRAN RIVERA, RAMONITA       ADDRESS ON FILE
BELTRAN RODRIGUEZ, ADA         ADDRESS ON FILE
BELTRAN RODRIGUEZ, DEUSDEDIT   ADDRESS ON FILE
BELTRAN RODRIGUEZ, FREDERICK   ADDRESS ON FILE
BELTRAN RODRIGUEZ, KEVIN M     ADDRESS ON FILE
BELTRAN RODRIGUEZ, LUIS R.     ADDRESS ON FILE
BELTRAN RODRIGUEZ, LUZ N.      ADDRESS ON FILE
BELTRAN RODRIGUEZ, MARIA       ADDRESS ON FILE
BELTRAN RODRIGUEZ, MARIA M     ADDRESS ON FILE
Beltran Rodriguez, Pedro A     ADDRESS ON FILE
BELTRAN RODRIGUEZ, RUFINO      ADDRESS ON FILE
Beltran Rodriguez, William     ADDRESS ON FILE
BELTRAN RODRIGUEZ, ZULMA       ADDRESS ON FILE
BELTRAN ROMAN, JANICE          ADDRESS ON FILE
BELTRAN ROMAN, REINALDO        ADDRESS ON FILE
BELTRAN ROMAN, SHAMYRA         ADDRESS ON FILE
BELTRAN ROSA, CARMEN J         ADDRESS ON FILE
BELTRAN ROSA, ERIC             ADDRESS ON FILE
BELTRAN ROSA, JAVINET          ADDRESS ON FILE
BELTRAN ROSA, SANTA            ADDRESS ON FILE
BELTRAN RUIZ, AIDA             ADDRESS ON FILE
BELTRAN RUIZ, JESSICA          ADDRESS ON FILE
BELTRAN RUIZ, JUAN B.          ADDRESS ON FILE
BELTRAN SAEZ, ADA NILDA        ADDRESS ON FILE
BELTRAN SAEZ, MIRIAM           ADDRESS ON FILE
BELTRAN SALINAS, LUIS          ADDRESS ON FILE
BELTRAN SALVA, PABLO I         ADDRESS ON FILE
BELTRAN SANCHEZ, ANASTACIA     ADDRESS ON FILE
BELTRAN SANCHEZ, ANNETE        ADDRESS ON FILE
BELTRAN SANCHEZ, IRMA N        ADDRESS ON FILE
BELTRAN SANCHEZ, LUIS          ADDRESS ON FILE
BELTRAN SANCHEZ, MIGUEL        ADDRESS ON FILE
Beltran Santiago, Luis E.      ADDRESS ON FILE
Beltran Santiago, Milagros     ADDRESS ON FILE
BELTRAN SANTIAGO, NEIDA ENIT   ADDRESS ON FILE
BELTRAN SANTOS, AIDA I         ADDRESS ON FILE
BELTRAN SANTOS, DOMINGA        ADDRESS ON FILE
BELTRAN SANTOS, MARIANA        ADDRESS ON FILE
BELTRAN SANTOS, SONAIDA        ADDRESS ON FILE
BELTRAN SELLES, JANIRA         ADDRESS ON FILE
Beltran Serrano, Miguel A      ADDRESS ON FILE
BELTRAN SIERRA, NEYSHA         ADDRESS ON FILE
BELTRAN SOSA, LUIS E           ADDRESS ON FILE
BELTRAN SOSTRE, LUIS           ADDRESS ON FILE




                                                                           Page 795 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 796 of 3500
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BELTRAN SOTO, CARMEN O                ADDRESS ON FILE
BELTRAN SOTO, FELIX J                 ADDRESS ON FILE
BELTRAN SUREN, FELIX                  ADDRESS ON FILE
BELTRAN TELLADO, MYRTA M              ADDRESS ON FILE
BELTRAN TIRADO, RUBEN                 ADDRESS ON FILE
BELTRAN TORRES, JULIO                 ADDRESS ON FILE
BELTRAN TORRES, SORAYA                ADDRESS ON FILE
BELTRAN TORRES, WANDALIZ              ADDRESS ON FILE
BELTRAN TUBENS, LEONIDES              ADDRESS ON FILE
BELTRAN VARGAS, ESTEBAN               ADDRESS ON FILE
BELTRAN VARGAS, FELIX                 ADDRESS ON FILE
BELTRAN VAZQUEZ, HECTOR J.            ADDRESS ON FILE
BELTRAN VAZQUEZ, MARIA F              ADDRESS ON FILE
BELTRAN VEGA, GABRIEL                 ADDRESS ON FILE
BELTRAN VEGA, MARITZA                 ADDRESS ON FILE
BELTRAN VEGA, SAMUEL                  ADDRESS ON FILE
BELTRAN VEGA, WANDA                   ADDRESS ON FILE
BELTRAN VEGA, WANDA                   ADDRESS ON FILE
BELTRAN VEGA, YARLIN                  ADDRESS ON FILE
BELTRAN VEGA, YESENIA                 ADDRESS ON FILE
BELTRAN VELAZQUEZ, MERCEDES           ADDRESS ON FILE
BELTRAN VELAZQUEZ, RAMON              ADDRESS ON FILE
BELTRAN VELEZ, FELIX                  ADDRESS ON FILE
BELTRAN VELEZ, FELIX J.               ADDRESS ON FILE
BELTRAN VELEZ, JESUS I                ADDRESS ON FILE
BELTRAN VELEZ, RICHARD                ADDRESS ON FILE
Beltran Velez, Zuleika M              ADDRESS ON FILE
BELTRAN VIERA, VILMA                  ADDRESS ON FILE
BELTRAN VILLANUEVA, JOSE A            ADDRESS ON FILE
BELTRAN VILLANUEVA, MAYRA             ADDRESS ON FILE
BELTRAN VIRELLA MD, WANDA             ADDRESS ON FILE
BELTRAN, MIGUEL                       ADDRESS ON FILE
BELTRAN, WILLIAM E.                   ADDRESS ON FILE
BELTRAN, YOLANDA                      ADDRESS ON FILE
BELTRAN,LUIS                          ADDRESS ON FILE
BELTRAND RIVERA, MILAGROS E           ADDRESS ON FILE
BELTRE BELTRE, MILEDYS A              ADDRESS ON FILE
BELTRE BELTRE, YSABEL                 ADDRESS ON FILE
BELTRE FELIX, MOISES                  ADDRESS ON FILE
BELTRE SANCHEZ, ARISLEIDA             ADDRESS ON FILE
BELTRE TAVARES, ANNELISE              ADDRESS ON FILE
BELTRE TAVARES, GERALD                ADDRESS ON FILE
BELTRE TAVAREZ, CHRISTIAN             ADDRESS ON FILE
BELTRE VICENTE, LUIS                  ADDRESS ON FILE
BELTRE VICENTE, LUIS                  ADDRESS ON FILE
BELTRES MEDINA, ROBINSON              ADDRESS ON FILE
BELVILLE SOSA, ARTURO                 ADDRESS ON FILE
BELVIS GONZALEZ, CARLOS               ADDRESS ON FILE
BELVIS JIMENEZ, VANESSA               ADDRESS ON FILE
BELVIS NAVARRO, IVAN                  ADDRESS ON FILE
BELVIS VAZQUEZ, RAQUEL A.             ADDRESS ON FILE
BEN COLON COLON                       ADDRESS ON FILE
BEN COLON COLON                       ADDRESS ON FILE
BEN ELOHIM, BAEZ & ASSOCIATES, INC.   PO BOX 6029 PMB 2296                                                             CAROLINA     PR      00984‐6029
BENABE & ASOCIADOS, LLC               HATO REY PLAZA SUITE #4   AVE. PINERO #200                                       SAN JUAN     PR      00918
Benabe Ares, Karen M                  ADDRESS ON FILE
BENABE CACERES, LUIS E                ADDRESS ON FILE
BENABE CALDERON, JACQUELINE           ADDRESS ON FILE
BENABE CORREA, GLADYSEL               ADDRESS ON FILE
BENABE CRUZ, JAVIER                   ADDRESS ON FILE




                                                                                   Page 796 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 797 of 3500
                                                                                                         Creditor Matrix

Creditor Name                       Address1                            Address2                                      Address3          Address4   City         State   PostalCode   Country
BENABE DIAZ, CORALIE                ADDRESS ON FILE
BENABE FELICIANO, JOSE EFRAIN       ADDRESS ON FILE
BENABE FIGUEROA, GLADYS             ADDRESS ON FILE
BENABE FLECHA, DELIA M.             ADDRESS ON FILE
BENABE FLECHA, DELIA M.             ADDRESS ON FILE
BENABE GARCIA, ANA I                ADDRESS ON FILE
BENABE GARCIA, CARMEN H             ADDRESS ON FILE
BENABE GARCIA, CARMEN J             ADDRESS ON FILE
BENABE GARCIA, GLADYNELLE           ADDRESS ON FILE
BENABE HERNANDEZ, OMAR              ADDRESS ON FILE
Benabe Herrera, Angel L.            ADDRESS ON FILE
BENABE HUERTAS MD, IVONNE I         ADDRESS ON FILE
BENABE HUERTAS MD, IVONNE I         ADDRESS ON FILE
BENABE HUERTAS, EDNA                ADDRESS ON FILE
BENABE HUERTAS, IVONNE              ADDRESS ON FILE
BENABE LUGO, LUIS                   ADDRESS ON FILE
BENABE MOJICA, HECTOR M.            ADDRESS ON FILE
Benabe Negron, Luis                 ADDRESS ON FILE
BENABE NEGRON, LUIS G.              ADDRESS ON FILE
BENABE PAGAN, ISABEL                ADDRESS ON FILE
BENABE PEREZ, ELIZABETH             ADDRESS ON FILE
BENABE PEREZ, LUIS                  ADDRESS ON FILE
BENABE RODRIGUEZ, SAMARY            ADDRESS ON FILE
BENABE SANTIAGO, JULIO              ADDRESS ON FILE
BENABE SANTIAGO, ROGELIO            ADDRESS ON FILE
BENABE TORRENS, EVA I               ADDRESS ON FILE
BENABE TORRENS, REBECCA             ADDRESS ON FILE
BENABE, KENSAR                      ADDRESS ON FILE
BENABE, SALVADOR E                  ADDRESS ON FILE
BENACO ADJUSTERS INC                PO BOX 9020532                                                                                                 SAN JUAN     PR      00902‐0532
BENALCAZAR MD , LUIS M              ADDRESS ON FILE
BENANCIA ORTIZ ORTIZ                ADDRESS ON FILE
Benavent Valentin, Nelson M.        ADDRESS ON FILE
BENAVIDES MD, RINA                  ADDRESS ON FILE
BENBENUTI LOPEZ, ELIZABETH          ADDRESS ON FILE
                                                                                                                      CALLE GALICIA
BENCH ADVERTISING INC               COND CLUB COSTA MARINA              I PENTHOUSE C                                 VISTAMAR MARINA              CAROLINA     PR      00783
BENCHMARK COMPUTER SYSTEMS INC      CUPEY PROFESSIONAL MALL SUITE 101   AVE SAN CLAUDIO 359                                                        SAN JUAN     PR      00926‐4257
BENCHMARK LAND SURVEYING SERVICES   URB VEREDAS 744                     CAMINO DE LOS CEDROS                                                       GURABO       PR      00778
BENCHMARK TECHNOLOGIES INC          138 AVE WINSTON CHURCHILL           PMB 504                                                                    SAN JUAN     PR      00926‐6023
BENCHMARK TECHNOLOGIES INC          CUPEY PROFESSIONAL MALL             359 AVE SAN CLAUDIO SUITE 101                                              SAN JUAN     PR      00926‐4257
BENCHMARK TECHNOLOGIES, INC         138 WISTON CHURCHILL AVE.           PMB 504                                                                    SAN JUAN     PR      00926‐6023
BENCOMO SANTIAGO, YAMILKA           ADDRESS ON FILE
BENCON ORTIZ, IMA                   ADDRESS ON FILE
BENCON ROSARIO, JOSE                ADDRESS ON FILE
BENCON VILLANUEVA, ERNESTO          ADDRESS ON FILE
BENCOSME CANO, ANA R.               ADDRESS ON FILE
BENCOSME COMPRES, RAMON             ADDRESS ON FILE
BENCOSME CONTRERAS, JULIO           ADDRESS ON FILE
BENCOSME MD, PABLO                  ADDRESS ON FILE
Bencosme Quinones, Johnny O.        ADDRESS ON FILE
BENCOSME SANCHEZ, OSCAR             ADDRESS ON FILE
BENCOSME SUERO, LOURDES             ADDRESS ON FILE
BENDANA DEL CARMEN, JOSUE           ADDRESS ON FILE
BENDANA FANTAUZZI,DENNIS A.         ADDRESS ON FILE
BENDEZU PORTELA, ELIANA             ADDRESS ON FILE
BENEDETTO CARADONNA                 ADDRESS ON FILE
BENEDETTY GALARZA, JOSE A           ADDRESS ON FILE
BENEDETTY ORTIZ, JAIME              ADDRESS ON FILE
BENEDETTY ROSARIO, ELINA            ADDRESS ON FILE




                                                                                                        Page 797 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 798 of 3500
                                                                                                 Creditor Matrix

Creditor Name                            Address1                   Address2                                  Address3   Address4   City           State   PostalCode   Country
BENEDETTY ROSARIO, JOSE J                ADDRESS ON FILE
BENEDETTY ROSARIO, ROLANDO J             ADDRESS ON FILE
BENEDICT R GONZALEZ RONDON               ADDRESS ON FILE
BENEDICTA ALVAREZ MEDINA                 ADDRESS ON FILE
BENEDICTA AVILES GERENA                  ADDRESS ON FILE
BENEDICTA CASTRO RODRIGUEZ               ADDRESS ON FILE
BENEDICTA CINTRON ROSADO                 ADDRESS ON FILE
BENEDICTA CUEVAS FIGUEROA                ADDRESS ON FILE
BENEDICTA NIEVES DE JESUS                ADDRESS ON FILE
BENEDICTA NIEVES SERRANO                 ADDRESS ON FILE
BENEDICTA NUNET DE GONZALEZ              ADDRESS ON FILE
BENEDICTA OJEDA DIAZ                     ADDRESS ON FILE
BENEDICTA RESTO/ CARMEN E ROSARIO        ADDRESS ON FILE
BENEDICTA RODRIGUEZ REYES                ADDRESS ON FILE
BENEDICTA VILLAFANE NEGRON               ADDRESS ON FILE
BENEDICTO DIAZ VARGAS                    ADDRESS ON FILE
BENEDICTO GELABERT CARABALLO             ADDRESS ON FILE
BENEDICTO MELENDEZ DBA BENNY BUS SERVICE PO BOX 308                                                                                 RIO GRANDE     PR      00745
BENEDICTO MELENDEZ SANTIAGO              ADDRESS ON FILE
BENEDICTO MILLET MERCADO                 ADDRESS ON FILE
BENEDICTO OCASIO MERCADO                 ADDRESS ON FILE
BENEDICTO OQUENDO TORRES                 ADDRESS ON FILE
BENEDICTO RODRIGUEZ VELAZQUEZ            ADDRESS ON FILE
BENEDICTO ROSARIO Y MARIANA GERENA       ADDRESS ON FILE
BENEDIT 1 LIVING AND GRANTOR TRUST       COND GRAND ROYALE          1354 CALLE LUCHETTI APT 2                                       SAN JUAN       PR      00907‐2059
BENEDIZ M MALAVE CRUZ                    ADDRESS ON FILE
BENEFICIAL MORTGAGE CORPORATION          PO BOX 71325               SUITE 141                                                       SAN JUAN       PR      00936‐7655
BENEFICIAL MORTGAGE CORPORATION          PO BOX 71325 STE 141                                                                       SAN JUAN       PR      00936‐7655
BENEFICIANDO DE CAFE TORRES CORP         HC 03 BOX 8714                                                                             LARES          PR      00669
BENEFITSPUERTORICO COM LLC               COND EL PARAISO            APT 10 D                                                        San Juan       PR      00926‐2970
BENEFITVISION INC                        4522 RFD                                                                                   LONG GROVE     IL      60047
BENEJAM CARDONA, CARLOS                  ADDRESS ON FILE
BENEJAM GALARZE, GIL                     ADDRESS ON FILE
BENEJAM GALARZE, ROBERT                  ADDRESS ON FILE
BENEJAM MARTINEZ, ALFREDO                ADDRESS ON FILE
Benejam Rodriguez, Dayanara              ADDRESS ON FILE
BENEJAM VALENTIN, ANNETTE                ADDRESS ON FILE
Benejan Lorenzo, Jose E.                 ADDRESS ON FILE
BENEJAN MENDEZ, AMARYLLIS                ADDRESS ON FILE
BENEJAN MENDEZ, MIRTA                    ADDRESS ON FILE
BENEJAN RIVERA, PEDRO                    ADDRESS ON FILE
BENEL LEON, HENRY                        ADDRESS ON FILE
BENERO GARCIA, JAIME J.                  ADDRESS ON FILE
BENERO NATAL MD, ELIEZER                 ADDRESS ON FILE
BENERO NATAL, ARACELIS                   ADDRESS ON FILE
BENERO NATAL, CARMEN                     ADDRESS ON FILE
BENERO NATAL, MYRNA S                    ADDRESS ON FILE
BENERO NATAL, NELLIE F                   ADDRESS ON FILE
BENERO NEGRON, HERIBERTO                 ADDRESS ON FILE
BENERO PONCE, HECTOR                     ADDRESS ON FILE
BENERO RIVERA, RICARDO                   ADDRESS ON FILE
BENERO RIVERA, RICARDO                   ADDRESS ON FILE
BENERO RIVERA, RICARDO JAVIER            ADDRESS ON FILE
BENERO ROSSY, MARIA DE L                 ADDRESS ON FILE
BENERO ROSSY, NILSA J                    ADDRESS ON FILE
BENES CASES MD, LOURDES                  ADDRESS ON FILE
BENES LIMA, LOURDES                      ADDRESS ON FILE
BENES MARTINEZ MD, AURELIO               ADDRESS ON FILE
BENESARIO MARQUEZ, ARACELI               ADDRESS ON FILE
BENESARIO MARQUEZ, GLENDALY              ADDRESS ON FILE




                                                                                                Page 798 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 799 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3         Address4   City            State   PostalCode   Country
BENESARIO MARTINEZ, JOSE        ADDRESS ON FILE
BENET ARBONA, CHANTAL           ADDRESS ON FILE
BENET SOTO, TALI                ADDRESS ON FILE
BENGIE AUTO SALES               5522 CALLE BARBERIA                                                                   SABANA SECA     PR      00952
BENGIE E ORTIZ DEL VALLE        ADDRESS ON FILE
BENGOA DE LA MOTTA, ALEXANDRA   ADDRESS ON FILE
BENGOA DE LA MOTTA, SONIA       ADDRESS ON FILE
BENGOA DUPREY, MARINES          ADDRESS ON FILE
BENGOA TORO, JOSE E             ADDRESS ON FILE
BENGOA TORO, KAREN B.           ADDRESS ON FILE
BENGOA TORO, LORRAINE           ADDRESS ON FILE
BENGOA TORO, LORRAINE           ADDRESS ON FILE
BENGOA TORO, MICHELLE           ADDRESS ON FILE
BENGOCHEA ALBINO, MAGALI        ADDRESS ON FILE
BENGOCHEA CARABALLO, ANA        ADDRESS ON FILE
BENGOCHEA CORTES, CARLOS        ADDRESS ON FILE
BENGOCHEA HOYOS, ADALBERTO      ADDRESS ON FILE
BENGOCHEA HOYOS, RENE A         ADDRESS ON FILE
BENGOCHEA LAMBOY, JAMIRKA       ADDRESS ON FILE
BENGOCHEA LUCENA, MILADY        ADDRESS ON FILE
BENGOCHEA LUCENA, MILDRED       ADDRESS ON FILE
BENGOCHEA MARTINEZ, BRENDA L.   ADDRESS ON FILE
BENGOCHEA MARTINEZ, LOURDES     ADDRESS ON FILE
BENGOCHEA RODRIGUEZ, HILDA      ADDRESS ON FILE
BENGOCHEA RODRIGUEZ, JOANNE     ADDRESS ON FILE
BENGOCHEA RODRIGUEZ, YAMIL      ADDRESS ON FILE
BENGOCHEA SANTIAGO, ANGEL       ADDRESS ON FILE
BENGOCHEA VAZQUEZ, ODETTE       ADDRESS ON FILE
BENGOECHEA LUCENA, CARMEN E     ADDRESS ON FILE
BENI G RAMIREZ RODRIGUEZ        ADDRESS ON FILE
BENIAMINO SOTO, JOSE            ADDRESS ON FILE
BENICIO MASSA SANCHEZ           ADDRESS ON FILE
BENICIO SANCHEZ GONZALEZ        ADDRESS ON FILE
BENIGNA PEREZ SANTIAGO          ADDRESS ON FILE
BENIGNO A CABAN GOMEZ           ADDRESS ON FILE
BENIGNO A DAPENA RODRIGUEZ      ADDRESS ON FILE
BENIGNO CARRABALLO RODRIGUEZ    ADDRESS ON FILE
BENIGNO CASTRO MARTINEZ         ADDRESS ON FILE
BENIGNO COLON SANTIAGO          ADDRESS ON FILE
BENIGNO D CONTRERAS SANTAELLA   ADDRESS ON FILE
BENIGNO DÍAZ V ELA              LIC JOSÉ A LEON LANDRAU   LIC LANDRAU                     APARTADO 1687               CAGUAS          PR      00726
BENIGNO DÍAZ V ELA              LIC LUIS ORTÍZ SEGURA     LIC ORTIZ                       PO BOX 9024098              SAN JUAN        PR      00902‐4098
BENIGNO DOMINGUEZ LARA          ADDRESS ON FILE
Benigno Falcón Rosario          ADDRESS ON FILE
BENIGNO FELICIANO CONCEPCION    ADDRESS ON FILE
BENIGNO HERNANDEZ MARRERO       ADDRESS ON FILE
BENIGNO I RIVERA MATOS          ADDRESS ON FILE
BENIGNO J TANON SANTINI         ADDRESS ON FILE
BENIGNO J VEGA VAZQUEZ          ADDRESS ON FILE
BENIGNO LOPEZ GONZALEZ          ADDRESS ON FILE
BENIGNO LOPEZ LOPEZ             ADDRESS ON FILE
BENIGNO MENDEZ HERNANDEZ        ADDRESS ON FILE
BENIGNO MONTES                  ADDRESS ON FILE
BENIGNO NATER ARROYO            ADDRESS ON FILE
BENIGNO NUNEZ ARROYO            ADDRESS ON FILE
BENIGNO R RIVERA ORTIZ          ADDRESS ON FILE
BENIGNO RIVERA CRUZ             ADDRESS ON FILE
BENIGNO RODRIGUEZ HERNANDEZ     ADDRESS ON FILE
BENIGNO ROSARIO HERNANDEZ       ADDRESS ON FILE
BENIGNO SANTANA DELIZ           ADDRESS ON FILE




                                                                            Page 799 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 800 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENIGNO SANTIAGO                  ADDRESS ON FILE
BENIGNO SEDA RIOS                 ADDRESS ON FILE
BENIGNO TANON VAZQUEZ             ADDRESS ON FILE
BENILDA CORDERO GONZALEZ          ADDRESS ON FILE
BENILDE LOZADA ORTIZ              ADDRESS ON FILE
BENILDO ORTEGA CRUZ               ADDRESS ON FILE
BENILUZ APONTE CUEVAS             ADDRESS ON FILE
BENIQUE AVILES, JORGE             ADDRESS ON FILE
BENIQUE BADILLO, PATRICIA         ADDRESS ON FILE
BENIQUE GOMEZ, JOSE               ADDRESS ON FILE
BENIQUE MIRANDA, JOSE LUIS        ADDRESS ON FILE
BENIQUE RUIZ, ANTONIO L.          ADDRESS ON FILE
BENIQUE RUIZ, EXNIER              ADDRESS ON FILE
BENIQUE RUIZ, ROSA L              ADDRESS ON FILE
BENIQUE SANTIAGO, CARMEN M        ADDRESS ON FILE
BENIQUE SANTIAGO, JOSE            ADDRESS ON FILE
BENIQUEZ AGOSTO, VANESSA          ADDRESS ON FILE
BENIQUEZ AVILES, JORGE L          ADDRESS ON FILE
BENIQUEZ AVILES, MARGARITA        ADDRESS ON FILE
BENIQUEZ BENIQUEZ, ANGEL          ADDRESS ON FILE
BENIQUEZ BENIQUEZ, ESDRAS         ADDRESS ON FILE
BENIQUEZ BENIQUEZ, PEDRO          ADDRESS ON FILE
BENIQUEZ BENIQUEZ, SONIA          ADDRESS ON FILE
BENIQUEZ CARIDES, ERIKA           ADDRESS ON FILE
BENIQUEZ CECILIA, ZORAIDA         ADDRESS ON FILE
BENIQUEZ CORTES, LUIS A.          ADDRESS ON FILE
BENIQUEZ CUBERO, LUIS A.          ADDRESS ON FILE
BENIQUEZ CUEVAS, EUGENIO O        ADDRESS ON FILE
BENIQUEZ DE IMBERT, MARIA DEL C   ADDRESS ON FILE
BENIQUEZ ECHEVARRIA, EDWIN        ADDRESS ON FILE
BENIQUEZ FELICIANO, ASHLEY        ADDRESS ON FILE
BENIQUEZ FIGUEROA, NESTOR J.      ADDRESS ON FILE
BENIQUEZ GONZALEZ, JUAN A         ADDRESS ON FILE
BENIQUEZ GRAJALES, GRISEL         ADDRESS ON FILE
BENIQUEZ GUEVARA, BELMA R         ADDRESS ON FILE
BENIQUEZ GUEVARA, JULIO           ADDRESS ON FILE
BENIQUEZ JIMENEZ, JUANITA         ADDRESS ON FILE
BENIQUEZ JIMENEZ, MARIA           ADDRESS ON FILE
BENIQUEZ JUARBE, EMERITA          ADDRESS ON FILE
BENIQUEZ MACHADO, ILEANA          ADDRESS ON FILE
BENIQUEZ MEDINA, CHRISTIAN        ADDRESS ON FILE
Beniquez Medina, Jose A           ADDRESS ON FILE
BENIQUEZ NIEVES, ADALBERTO        ADDRESS ON FILE
BENIQUEZ ORTIZ, ANGEL             ADDRESS ON FILE
BENIQUEZ RAMOS, MILAGROS DEL C    ADDRESS ON FILE
BENIQUEZ RIVERA, MARIA E          ADDRESS ON FILE
BENIQUEZ RODRIGUEZ, MYRNA E       ADDRESS ON FILE
BENIQUEZ ROSADO, KRISTEL M        ADDRESS ON FILE
BENIQUEZ SABU, MANUEL             ADDRESS ON FILE
BENIQUEZ SONERA, GLADYS A         ADDRESS ON FILE
BENIQUEZ TORO, JULIO              ADDRESS ON FILE
BENIQUEZ TORRES, JOSE             ADDRESS ON FILE
BENIQUEZ VALE, NESTOR A           ADDRESS ON FILE
BENIQUEZ VALE, ROSANYELIK         ADDRESS ON FILE
BENIQUEZ VALLE, ISRAEL            ADDRESS ON FILE
BENIQUEZ VARGAS, LUZ              ADDRESS ON FILE
BENIQUEZ, ALBERTO                 ADDRESS ON FILE
BENIQUEZ, NESTOR                  ADDRESS ON FILE
BENIRIS GARCÍA CARRERO            ADDRESS ON FILE
BENISMIR VARGAS NIEVES            ADDRESS ON FILE




                                                                              Page 800 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 801 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENISSE E DIAZ MELENDEZ        ADDRESS ON FILE
BENITA ACOSTA RODRIGUEZ        ADDRESS ON FILE
BENITA ALVARADO ORTIZ          ADDRESS ON FILE
BENITA E RODRIGUEZ FLORES      ADDRESS ON FILE
BENITA GONZALEZ USUSA          ADDRESS ON FILE
BENITA J RAMOS KERLEGAN        ADDRESS ON FILE
BENITA LAO CABAN               ADDRESS ON FILE
BENITA LOPEZ DIAZ              ADDRESS ON FILE
BENITA LOPEZ MORALES           ADDRESS ON FILE
BENITA ORTIZ CEBALLOS          ADDRESS ON FILE
BENITA RIVERA AULET            ADDRESS ON FILE
BENITA RIVERA RODRIGUEZ        ADDRESS ON FILE
BENITA ROSARIO GARCIA          ADDRESS ON FILE
BENITA TRINIDAD ISAAC          ADDRESS ON FILE
BENITES RIVERA, MARGARITA      ADDRESS ON FILE
BENITEZ ., CHRISTIAN           ADDRESS ON FILE
BENITEZ ACEVEDO, JOSE MIGUEL   ADDRESS ON FILE
BENITEZ ACEVEDO, TYRZA         ADDRESS ON FILE
BENITEZ ACOSTA, LYDIA          ADDRESS ON FILE
BENITEZ AGOSTO, CAMILLE Z      ADDRESS ON FILE
BENITEZ ALAMO, ANA H           ADDRESS ON FILE
BENITEZ ALAMO, CATALINA        ADDRESS ON FILE
BENITEZ ALAMO, JUAN            ADDRESS ON FILE
Benitez Alamo, Luis V          ADDRESS ON FILE
BENITEZ ALAMO, RITA            ADDRESS ON FILE
BENITEZ ALAMO, ROSA I          ADDRESS ON FILE
BENITEZ ALEJANDRO, AXEL        ADDRESS ON FILE
BENITEZ ALEJANDRO, JOSE E      ADDRESS ON FILE
BENITEZ ALEJANDRO, OMAR        ADDRESS ON FILE
BENITEZ ALEJANDRO, RICARDO     ADDRESS ON FILE
BENITEZ ALVARADO, REINALDO     ADDRESS ON FILE
BENITEZ ALVAREZ, JUAN A        ADDRESS ON FILE
BENITEZ ALVAREZ, MINERVA       ADDRESS ON FILE
BENITEZ ALVAREZ, ROSA          ADDRESS ON FILE
BENITEZ ALVAREZ, ROSA DEL C    ADDRESS ON FILE
Benitez Angulo, Carlota        ADDRESS ON FILE
BENITEZ ANGULO, KAREN          ADDRESS ON FILE
BENITEZ ANGULO, NEYSHMA S      ADDRESS ON FILE
BENITEZ ANTONY, CINTHYA        ADDRESS ON FILE
BENITEZ APONTE MD, JOSE L      ADDRESS ON FILE
BENITEZ APONTE, GLORIA M       ADDRESS ON FILE
BENITEZ ARROYO, EMANUEL        ADDRESS ON FILE
BENITEZ ARROYO, NYLVA          ADDRESS ON FILE
BENITEZ ARVELO, MARIA E        ADDRESS ON FILE
BENITEZ AUTO CORP              PO BOX 929117                                                                    HUMACAO      PR      00791
BENITEZ AUTREY, ANA            ADDRESS ON FILE
BENITEZ AVIATION INC           P O BOX 193312                                                                   SAN JUAN     PR      00919‐3312
BENITEZ AVILA, MILAGROS        ADDRESS ON FILE
BENITEZ AVILA, MILAGROS        ADDRESS ON FILE
BENITEZ AVILES, ARMANDO        ADDRESS ON FILE
BENITEZ AYALA, CARMEN          ADDRESS ON FILE
BENITEZ AYALA, MILCA           ADDRESS ON FILE
BENITEZ BAEZ, JULIO            ADDRESS ON FILE
BENITEZ BAJANDAS MD, GABRIEL   ADDRESS ON FILE
BENITEZ BARRETO, JORGE         ADDRESS ON FILE
BENITEZ BARRETO, ROSA M        ADDRESS ON FILE
BENITEZ BECERRIL, ARACELY J    ADDRESS ON FILE
BENITEZ BELTRAN, EVA E         ADDRESS ON FILE
Benitez Beltran, Ezequiel      ADDRESS ON FILE
Benitez Benitez, Edwin         ADDRESS ON FILE




                                                                           Page 801 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 802 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ BENITEZ, FRANCISCO        ADDRESS ON FILE
Benitez Benitez, Juan C           ADDRESS ON FILE
BENITEZ BENITEZ, LYDIA            ADDRESS ON FILE
BENITEZ BENITEZ, MARIA            ADDRESS ON FILE
BENITEZ BENITEZ, MARIA            POR DERECHO PROPIO        RR 10 BOX 5266                                         SAN JUAN     PR      00926
BENITEZ BENITEZ, MARIA DE LOS A   ADDRESS ON FILE
BENITEZ BENITEZ, SYLVIA           ADDRESS ON FILE
BENITEZ BENITEZ, VICTORIA         ADDRESS ON FILE
BENITEZ BENITEZ, WALESKA          ADDRESS ON FILE
BENITEZ BENITEZ, WALESKA          ADDRESS ON FILE
BENITEZ BERRIOS, DIANA            ADDRESS ON FILE
BENITEZ BERRIOS, GLORIA M         ADDRESS ON FILE
BENITEZ BERRIOS, LUIS G           ADDRESS ON FILE
BENITEZ BERRIOS, ZAIDA I          ADDRESS ON FILE
BENITEZ BIANCHI, ZENAIDA          ADDRESS ON FILE
BENITEZ BIBILONI, LUIS            ADDRESS ON FILE
BENITEZ BRACAMONTE, MARIA         ADDRESS ON FILE
BENITEZ BURGOS, ROBERTO           ADDRESS ON FILE
BENITEZ CABALLERO, ANA            ADDRESS ON FILE
BENITEZ CABANAS, ZOE M            ADDRESS ON FILE
BENITEZ CALDERON, CRISPULO        ADDRESS ON FILE
BENITEZ CALDERON, ELISA           ADDRESS ON FILE
BENITEZ CALDERON, VICTOR M.       ADDRESS ON FILE
Benitez Camacho, Roberto          ADDRESS ON FILE
BENITEZ CANALES, IVAN             ADDRESS ON FILE
BENITEZ CARABALLO, MYRNA          ADDRESS ON FILE
BENITEZ CARDONA, AIDA E           ADDRESS ON FILE
BENITEZ CARDONA, AIDA E.          ADDRESS ON FILE
BENITEZ CARDONA, ANA M.           ADDRESS ON FILE
BENITEZ CARDONA, CYNTHIA I.       ADDRESS ON FILE
BENITEZ CARMONA, JOSE M           ADDRESS ON FILE
BENITEZ CARMONA, KARLA            ADDRESS ON FILE
BENITEZ CARMONA, MARANGELY        ADDRESS ON FILE
BENITEZ CARRERAS, TANIA L.        ADDRESS ON FILE
Benitez Casillas, Kenneth L       ADDRESS ON FILE
BENITEZ CASTELLANO, JOSE          ADDRESS ON FILE
BENITEZ CASTRO, ANTONIO L.        ADDRESS ON FILE
BENITEZ CASTRO, CARLOS E          ADDRESS ON FILE
BENITEZ CASTRO, HECTOR            ADDRESS ON FILE
BENITEZ CASTRO, ISAAC             ADDRESS ON FILE
BENITEZ CASTRO, JESSICA           ADDRESS ON FILE
BENITEZ CASTRO, JORGE             ADDRESS ON FILE
BENITEZ CASTRO, MARILYN           ADDRESS ON FILE
BENITEZ CASTRO, PEDRO L           ADDRESS ON FILE
BENITEZ CASTRO, PROVIDENCIA       ADDRESS ON FILE
BENITEZ CASTRO, VIRGINIA          ADDRESS ON FILE
BENITEZ CASTRO, YOEL              ADDRESS ON FILE
BENITEZ CATALA, EMILIA            ADDRESS ON FILE
BENITEZ CATALA, ISABELO           ADDRESS ON FILE
BENITEZ CIRILO, SHEIDA            ADDRESS ON FILE
BENITEZ COLLAZO MD, VICTOR        ADDRESS ON FILE
BENITEZ COLON MD, CARLOS          ADDRESS ON FILE
BENITEZ COLON, CARLOS             ADDRESS ON FILE
BENITEZ COLON, CARLOS A           ADDRESS ON FILE
BENITEZ COLON, EILEEN             ADDRESS ON FILE
BENITEZ COLON, ELSA               ADDRESS ON FILE
BENITEZ COLON, MARIANA            ADDRESS ON FILE
Benitez Colon, Nilda              ADDRESS ON FILE
BENITEZ COLON, REYNALDO           ADDRESS ON FILE
BENITEZ COLON, ZENAIDA            ADDRESS ON FILE




                                                                              Page 802 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 803 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ COLON, ZINDIA I              ADDRESS ON FILE
Benitez Colon, Zindia I              ADDRESS ON FILE
BENITEZ CONCEPCION, LOURDES T.       ADDRESS ON FILE
BENITEZ CONCEPCION, NILKA I          ADDRESS ON FILE
BENITEZ CONCEPCION, NILKA L.         ADDRESS ON FILE
BENITEZ CONCEPCION, WILFRED          ADDRESS ON FILE
BENITEZ CORDERO, ARLENE              ADDRESS ON FILE
BENITEZ CORTES, VIVIAN               ADDRESS ON FILE
BENITEZ CORTEZ, EDGARDO              ADDRESS ON FILE
BENITEZ CORUJO, MANUEL               ADDRESS ON FILE
BENITEZ COTTO, ABIGAIL               ADDRESS ON FILE
BENITEZ COTTO, LYDIA E               ADDRESS ON FILE
BENITEZ CRUZ, ADELAIDA               ADDRESS ON FILE
BENITEZ CRUZ, ALEJANDRO              ADDRESS ON FILE
BENITEZ CRUZ, CATHERINE              ADDRESS ON FILE
BENITEZ CRUZ, DAVID M                ADDRESS ON FILE
BENITEZ CRUZ, DYANNE M               ADDRESS ON FILE
BENITEZ CRUZ, EDWIN                  ADDRESS ON FILE
BENITEZ CRUZ, GLADYS N.              ADDRESS ON FILE
BENITEZ CRUZ, JORGE                  ADDRESS ON FILE
BENITEZ CRUZ, LUIS                   ADDRESS ON FILE
BENITEZ CRUZ, LUIS GERARDO           ADDRESS ON FILE
BENITEZ CRUZ, LUIS O                 ADDRESS ON FILE
BENITEZ CRUZ, MARICELYS              ADDRESS ON FILE
BENITEZ CRUZ, MERCEDES M             ADDRESS ON FILE
BENITEZ CRUZ, NEREIDA                ADDRESS ON FILE
BENITEZ CRUZ, PEDRO J                ADDRESS ON FILE
BENITEZ CRUZ, WANDA                  ADDRESS ON FILE
BENITEZ CRUZ, YADIRA                 ADDRESS ON FILE
BENITEZ CRUZ, YAHAIRAI               ADDRESS ON FILE
BENITEZ CRUZ,PEDRO J.                ADDRESS ON FILE
Benitez Cuadrado, Rafael             ADDRESS ON FILE
BENITEZ DAVILA, NILDA M.             ADDRESS ON FILE
BENITEZ DAVILA, RAFAEL               ADDRESS ON FILE
BENITEZ DE JESUS, CARMEN L.          ADDRESS ON FILE
BENITEZ DE JESUS, ESTHER             ADDRESS ON FILE
BENITEZ DE JESUS, FELIX              ADDRESS ON FILE
BENITEZ DE JESUS, IVELISSE           ADDRESS ON FILE
BENITEZ DE JESUS, JESSICA            ADDRESS ON FILE
BENITEZ DE JESUS, JOSE M.            ADDRESS ON FILE
BENITEZ DE JESUS, LEONOR G.          ADDRESS ON FILE
BENITEZ DE JESUS, LUIS A.            ADDRESS ON FILE
BENITEZ DE LOS SANTOS, LUIS          ADDRESS ON FILE
BENITEZ DE LOS SANTOS, MARIA DE L.   ADDRESS ON FILE
BENITEZ DE TORRES, AITZA             ADDRESS ON FILE
BENITEZ DEJESUS, ZENEN               ADDRESS ON FILE
BENITEZ DEL VALLE, KEILA             ADDRESS ON FILE
BENITEZ DEL VALLE, LUIS              ADDRESS ON FILE
BENITEZ DEL VALLE, MARIA             ADDRESS ON FILE
BENITEZ DEL VALLE, MISAEL            ADDRESS ON FILE
BENITEZ DEL VALLE, NANCY             ADDRESS ON FILE
BENITEZ DELGADO, ALFREDO             ADDRESS ON FILE
BENITEZ DELGADO, ANA C               ADDRESS ON FILE
BENITEZ DELGADO, ANGEL               ADDRESS ON FILE
BENITEZ DELGADO, EDNA                ADDRESS ON FILE
BENITEZ DELGADO, EVELYN              ADDRESS ON FILE
BENITEZ DELGADO, GLADYS              ADDRESS ON FILE
BENITEZ DELGADO, MILTON I.           ADDRESS ON FILE
BENITEZ DELGADO, NATHANIEL           ADDRESS ON FILE
BENITEZ DELGADO, RUTH BETZY          ADDRESS ON FILE




                                                                                 Page 803 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 804 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ DELGADO, SARA         ADDRESS ON FILE
BENITEZ DELGADO, VICTOR       ADDRESS ON FILE
BENITEZ DELGADO, YARANDELIZ   ADDRESS ON FILE
BENITEZ DIAZ, CARMEN L        ADDRESS ON FILE
BENITEZ DIAZ, GLADYS M.       ADDRESS ON FILE
BENITEZ DIAZ, HECTOR L        ADDRESS ON FILE
BENITEZ DIAZ, JULIO           ADDRESS ON FILE
BENITEZ DIAZ, OLGA            ADDRESS ON FILE
Benitez Diaz, Olga L          ADDRESS ON FILE
BENITEZ DIAZ, RAFAEL          ADDRESS ON FILE
BENITEZ DIAZ, RAMON           ADDRESS ON FILE
BENITEZ DIAZ, RICARDO M.      ADDRESS ON FILE
BENITEZ DIAZ, WILFREDO        ADDRESS ON FILE
BENITEZ ECHEVARRIA, FREDDIE   ADDRESS ON FILE
BENITEZ ECHEVARRIA, FREDDY    ADDRESS ON FILE
BENITEZ EDWARDS, MARIA C      ADDRESS ON FILE
BENITEZ ENRIQUE,OMAR          ADDRESS ON FILE
BENITEZ ESCALERA, NELSON      ADDRESS ON FILE
BENITEZ ESPADA, ISABEL        ADDRESS ON FILE
BENITEZ ESQUILIN, MILDRED     ADDRESS ON FILE
BENITEZ ESTRADA, JOSEFA       ADDRESS ON FILE
Benitez Falcon, Ramon E.      ADDRESS ON FILE
BENITEZ FARGAS, ANDRES        ADDRESS ON FILE
BENITEZ FARGAS, LUZ           ADDRESS ON FILE
BENITEZ FEBRES, CARMEN L      ADDRESS ON FILE
BENITEZ FEBRES, JESUS M.      ADDRESS ON FILE
BENITEZ FELICIANO, CARLOS     ADDRESS ON FILE
BENITEZ FELICIANO, IRIS       ADDRESS ON FILE
BENITEZ FELICIANO, JOHANNA    ADDRESS ON FILE
BENITEZ FERMAINT, IRMARIS     ADDRESS ON FILE
BENITEZ FERNANDEZ, JORGE      ADDRESS ON FILE
BENITEZ FERNANDEZ, RICARDO    ADDRESS ON FILE
BENITEZ FIGUEROA, AISHA       ADDRESS ON FILE
BENITEZ FIGUEROA, CARMEN E    ADDRESS ON FILE
BENITEZ FIGUEROA, JULIA       ADDRESS ON FILE
BENITEZ FIGUEROA, OMAR        ADDRESS ON FILE
BENITEZ FILOMENO, LUZ         ADDRESS ON FILE
BENITEZ FILOMENO, NAMSEN      ADDRESS ON FILE
BENITEZ FLORES, ANA L         ADDRESS ON FILE
BENITEZ FLORES, JAISSA E      ADDRESS ON FILE
BENITEZ FLORES, LUIS          ADDRESS ON FILE
BENITEZ FLORES, LUIS D        ADDRESS ON FILE
BENITEZ FRANCO, MARISOL       ADDRESS ON FILE
BENITEZ FUENTES, ELBA S       ADDRESS ON FILE
BENITEZ GARAY, SONIA          ADDRESS ON FILE
BENITEZ GARCIA, BRENDA L      ADDRESS ON FILE
BENITEZ GARCIA, FRANCISCA     ADDRESS ON FILE
BENITEZ GARCIA, LILLIAM       ADDRESS ON FILE
BENITEZ GARCIA, MARIBEL       ADDRESS ON FILE
BENITEZ GARCIA, MAYYA         ADDRESS ON FILE
BENITEZ GARCIA, ROSA I.       ADDRESS ON FILE
BENITEZ GARCIA, ROSA I.       ADDRESS ON FILE
BENITEZ GARCIA, UBALDO        ADDRESS ON FILE
BENITEZ GARCIA, WILFREDO      ADDRESS ON FILE
BENITEZ GAVILAN, MARIA B      ADDRESS ON FILE
BENITEZ GERARDINO, NIGDA      ADDRESS ON FILE
BENITEZ GERMAN, MANUEL        ADDRESS ON FILE
BENITEZ GOMEZ, BERTA          ADDRESS ON FILE
BENITEZ GONZALEZ, BEDZAIDA    ADDRESS ON FILE
BENITEZ GONZALEZ, CARMEN L    ADDRESS ON FILE




                                                                          Page 804 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 805 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Benítez González, Daylana        ADDRESS ON FILE
BENITEZ GONZALEZ, DAYLANA        ADDRESS ON FILE
BENITEZ GONZALEZ, EUGINE         ADDRESS ON FILE
BENITEZ GONZALEZ, FRANCISCO      ADDRESS ON FILE
BENITEZ GONZALEZ, FREDDY         ADDRESS ON FILE
BENITEZ GONZALEZ, IRIS J         ADDRESS ON FILE
BENITEZ GONZALEZ, JONATHAN       ADDRESS ON FILE
BENITEZ GONZALEZ, JOSE A         ADDRESS ON FILE
BENITEZ GONZALEZ, JOSE F         ADDRESS ON FILE
BENITEZ GONZALEZ, MARCELO        ADDRESS ON FILE
Benitez Gonzalez, Maria H        ADDRESS ON FILE
BENITEZ GONZALEZ, NELLY I        ADDRESS ON FILE
Benitez Gonzalez, Victor M       ADDRESS ON FILE
Benitez Gonzalez, Wilfredo       ADDRESS ON FILE
BENITEZ GOTAY, CARMEN B          ADDRESS ON FILE
BENITEZ GRACIANI, NEYSHA L.      ADDRESS ON FILE
BENITEZ GUADALUPE, ISMAEL        ADDRESS ON FILE
BENITEZ GUEDES, BEATRIZ          ADDRESS ON FILE
BENITEZ GUEDES, LUIS             ADDRESS ON FILE
BENITEZ GUERRIOS, ILIAN          ADDRESS ON FILE
BENITEZ GUTIERREZ, LOURDES       ADDRESS ON FILE
BENITEZ GUZMAN, EVELYN           ADDRESS ON FILE
BENITEZ GUZMAN, MICHAEL          ADDRESS ON FILE
BENITEZ GUZMAN, YARITZA          ADDRESS ON FILE
BENITEZ HANI, ELIUDIS            ADDRESS ON FILE
BENITEZ HERNANDEZ, LUIS E.       ADDRESS ON FILE
BENITEZ HERNANDEZ, LUIS E.       ADDRESS ON FILE
BENITEZ HERNANDEZ, NOELIA        ADDRESS ON FILE
Benitez Hernandez, Yaritza       ADDRESS ON FILE
BENITEZ HIRALDO, OMAYDA          ADDRESS ON FILE
BENITEZ INST PROVISIONS CORP     PO BOX 3868                                                                      CAROLINA     PR      00984
BENITEZ INSURANCE AGENCY         PO BOX 9023873                                                                   SAN JUAN     PR      00902‐3873
BENITEZ JAIME CPA PSC            P O BOX 191503                                                                   SAN JUAN     PR      00919‐1503
BENITEZ JAIME, GLADYS I          ADDRESS ON FILE
BENITEZ JAIME, RUTH M            ADDRESS ON FILE
BENITEZ JIMENEZ, EDDIE           ADDRESS ON FILE
BENITEZ JIMENEZ, ERNESTO         ADDRESS ON FILE
Benitez Jimenez, Ernesto R       ADDRESS ON FILE
BENITEZ JIMENEZ, GLENDA          ADDRESS ON FILE
BENITEZ JIMENEZ, HUGO L          ADDRESS ON FILE
BENITEZ JIMENEZ, LUZ             ADDRESS ON FILE
BENITEZ JIMENEZ, MARISOL         ADDRESS ON FILE
BENITEZ JOUBERT, DELIS J.        ADDRESS ON FILE
BENITEZ JOUBERT, RAFAEL JARIEL   ADDRESS ON FILE
BENITEZ LABORDE, IVETTE          ADDRESS ON FILE
BENITEZ LABOY, ANA L             ADDRESS ON FILE
BENITEZ LABOY, JENAIDY           ADDRESS ON FILE
BENITEZ LABOY, LUIS              ADDRESS ON FILE
BENITEZ LABOY, MARIA             ADDRESS ON FILE
BENITEZ LAGUER, JUAN M.          ADDRESS ON FILE
BENITEZ LAGUER, JUAN M.          ADDRESS ON FILE
BENITEZ LAGUNA, LUIS             ADDRESS ON FILE
BENITEZ LAGUNA, NANCY            ADDRESS ON FILE
BENITEZ LANDRAU, IVONNE          ADDRESS ON FILE
BENITEZ LANZO, MILDRED           ADDRESS ON FILE
BENITEZ LLANO, JUAN A.           ADDRESS ON FILE
BENITEZ LLANOS, CRISTIAN         ADDRESS ON FILE
BENITEZ LLANOS, LUCIA DEL P.     ADDRESS ON FILE
BENITEZ LLANOS, NILMARI          ADDRESS ON FILE
BENITEZ LOPEZ, DORISABED         ADDRESS ON FILE




                                                                             Page 805 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 806 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ LOPEZ, DORISABED           ADDRESS ON FILE
Benitez Lopez, Emanuel             ADDRESS ON FILE
BENITEZ LOPEZ, IRMA A              ADDRESS ON FILE
BENITEZ LOPEZ, IRMA V              ADDRESS ON FILE
BENITEZ LOPEZ, IRMA YANIRA         ADDRESS ON FILE
BENITEZ LOPEZ, ISAAC               ADDRESS ON FILE
BENITEZ LOPEZ, IVONNE              ADDRESS ON FILE
BENITEZ LOPEZ, JULIANA             ADDRESS ON FILE
BENITEZ LOPEZ, LUIS                ADDRESS ON FILE
BENITEZ LOPEZ, LYDIA E             ADDRESS ON FILE
BENITEZ LOPEZ, MARIA               ADDRESS ON FILE
BENITEZ LOPEZ, NIURKA N            ADDRESS ON FILE
BENITEZ LOPEZ, REBECCA             ADDRESS ON FILE
BENITEZ LOPEZ, SONIA               ADDRESS ON FILE
BENITEZ LUGO, ANTONIO              ADDRESS ON FILE
BENITEZ LUGO, ROSA A               ADDRESS ON FILE
BENITEZ LUGO, YALITZA              ADDRESS ON FILE
BENÍTEZ LUIS, COLON                ADDRESS ON FILE
BENITEZ MACHUCA, MIGUEL            ADDRESS ON FILE
Benitez Maldonado, Carlos R        ADDRESS ON FILE
BENITEZ MALDONADO, ELIZABETH       ADDRESS ON FILE
BENITEZ MARCHAN MD, KARIM          ADDRESS ON FILE
BENITEZ MARTE, BRAYAN              ADDRESS ON FILE
BENITEZ MARTINEZ, ILEANA M         ADDRESS ON FILE
BENITEZ MARTINEZ, LUIS             ADDRESS ON FILE
BENITEZ MARTINEZ, MARIBEL          ADDRESS ON FILE
BENITEZ MARTINEZ, NAYKA            ADDRESS ON FILE
BENITEZ MARTINEZ, YADIRA           ADDRESS ON FILE
BENITEZ MARTINEZ, YADIRA           ADDRESS ON FILE
BENITEZ MATIENZO, IRIS Y           ADDRESS ON FILE
BENITEZ MATIENZO, LYSHA            ADDRESS ON FILE
BENITEZ MATOS, SUZANNE             ADDRESS ON FILE
BENITEZ MATOS, SUZANNE             ADDRESS ON FILE
BENITEZ MATOS, TERESA              ADDRESS ON FILE
BENITEZ MELENDEZ, EVELYN           ADDRESS ON FILE
BENITEZ MELENDEZ, ROSA M.          ADDRESS ON FILE
BENITEZ MELENDEZ, ROSA M.          ADDRESS ON FILE
BENITEZ MENDEZ, NELSON L           ADDRESS ON FILE
BENITEZ METAL MANUFACTORY          PO BOX 26724                                                                     SAN JUAN     PR      00929
BENITEZ METAL MFG CORP             PO BOX 29724                                                                     SAN JUAN     PR      00929‐0724
BENITEZ MILLAN, BRENDA             ADDRESS ON FILE
BENITEZ MILLAN, LUIS               ADDRESS ON FILE
BENITEZ MOJICA, MAYRA I.           ADDRESS ON FILE
Benitez Mojica, Vidal A            ADDRESS ON FILE
BENITEZ MOJICA, ZAIDEE             ADDRESS ON FILE
BENITEZ MONCLOVA, SIXTO            ADDRESS ON FILE
BENITEZ MONLLOR, NANETTE           ADDRESS ON FILE
BENITEZ MONSERRATE, MARIA DE LOS   ADDRESS ON FILE
BENITEZ MONTANEZ, BRENDA LEE       ADDRESS ON FILE
BENITEZ MONTANEZ, FELIX            ADDRESS ON FILE
BENITEZ MONTANEZ, NAYDA            ADDRESS ON FILE
BENITEZ MORALES, ABEL              ADDRESS ON FILE
BENITEZ MORALES, ABRAHAM           ADDRESS ON FILE
BENITEZ MORALES, LUIS W            ADDRESS ON FILE
BENITEZ MORALES, LYDIA DEL C       ADDRESS ON FILE
BENITEZ MORALES, MARIA E           ADDRESS ON FILE
BENITEZ MORALES, MARTA E           ADDRESS ON FILE
Benitez Morales, Roberto           ADDRESS ON FILE
BENITEZ MORALES, SHALITZA M        ADDRESS ON FILE
BENITEZ MORENO, DALISSA A          ADDRESS ON FILE




                                                                               Page 806 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 807 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ MORENO, SAMUEL E       ADDRESS ON FILE
BENITEZ MUÑIZ MD, FERNANDO     ADDRESS ON FILE
BENITEZ MUNOZ, OMAYRA          ADDRESS ON FILE
BENITEZ MUNOZ, ROBERTO         ADDRESS ON FILE
BENITEZ NAVARRETO, JOSE E      ADDRESS ON FILE
Benitez Navarreto, Jose E      ADDRESS ON FILE
Benitez Navarreto, Jose I      ADDRESS ON FILE
BENITEZ NAVAS, JACOBO          ADDRESS ON FILE
BENITEZ NAVAS, LUIS            ADDRESS ON FILE
BENITEZ NAZARIO MD, MARIA C    ADDRESS ON FILE
BENITEZ NEGRON, GEMA DE A.     ADDRESS ON FILE
BENITEZ NEGRON, JOSE           ADDRESS ON FILE
BENITEZ NIEVES, ARAMIS         ADDRESS ON FILE
BENITEZ NIEVES, JESUS          ADDRESS ON FILE
BENITEZ NIEVES, LUIS G         ADDRESS ON FILE
BENITEZ NIEVES, ORLANDO L      ADDRESS ON FILE
BENITEZ NIEVES, SALVADOR       ADDRESS ON FILE
BENITEZ NIEVES, SOCORRO        ADDRESS ON FILE
BENITEZ NOYA, MARIA C.         ADDRESS ON FILE
BENITEZ OLIVERAS, YARITZA E.   ADDRESS ON FILE
BENITEZ OLIVERAS, YARITZA E.   ADDRESS ON FILE
BENITEZ OQUENDO, ARLENE        ADDRESS ON FILE
BENITEZ OQUENDO, ROSA E        ADDRESS ON FILE
BENITEZ OQUENDO, ROSARIO       ADDRESS ON FILE
BENITEZ ORTA, AUREO            ADDRESS ON FILE
BENITEZ ORTA, AUREO            ADDRESS ON FILE
BENITEZ ORTA, MIRIAM           ADDRESS ON FILE
BENITEZ ORTEGA, CRISTINA       ADDRESS ON FILE
BENITEZ ORTIZ, ANA M           ADDRESS ON FILE
BENITEZ ORTIZ, DILKA J.        ADDRESS ON FILE
BENITEZ ORTIZ, ELIZABETH I     ADDRESS ON FILE
BENITEZ ORTIZ, JANNETTE        ADDRESS ON FILE
BENITEZ ORTIZ, LITZAMARY       ADDRESS ON FILE
BENITEZ ORTIZ, LIZ M           ADDRESS ON FILE
BENITEZ ORTIZ, MAGDALENA       ADDRESS ON FILE
BENITEZ ORTIZ, NORAYMA         ADDRESS ON FILE
BENITEZ ORTIZ, OTILIO          ADDRESS ON FILE
BENITEZ ORTIZ, ROBERT          ADDRESS ON FILE
BENITEZ ORTIZ, VILMARI         ADDRESS ON FILE
BENITEZ ORTIZ, WANDA Y         ADDRESS ON FILE
BENITEZ OSORIO, SOL M          ADDRESS ON FILE
BENITEZ OSORIO,ANGEL M.        ADDRESS ON FILE
Benitez Pacheco, Alberto       ADDRESS ON FILE
BENITEZ PADILLA, TANIA         ADDRESS ON FILE
BENITEZ PADRON, HEIDEE         ADDRESS ON FILE
BENITEZ PADRON, RENE           ADDRESS ON FILE
BENITEZ PARRILLA, RAFAEL A.    ADDRESS ON FILE
BENITEZ PAYANO, CARLOS         ADDRESS ON FILE
BENITEZ PENA, NETZABELITH      ADDRESS ON FILE
BENITEZ PERALES, LOURDES E     ADDRESS ON FILE
BENITEZ PEREZ, BRENDA LEE      ADDRESS ON FILE
BENITEZ PEREZ, CARMEN L        ADDRESS ON FILE
Benitez Perez, Marisol         ADDRESS ON FILE
BENITEZ PEREZ, MARISOL         ADDRESS ON FILE
BENITEZ PEREZ, ROBERTO         ADDRESS ON FILE
BENITEZ PEREZ, WALESKA         ADDRESS ON FILE
BENITEZ PEROZA, LEIDA          ADDRESS ON FILE
BENITEZ PIMENTEL, SONAIA       ADDRESS ON FILE
BENITEZ PINERO, YANIRA         ADDRESS ON FILE
BENITEZ PINET, JESUS           ADDRESS ON FILE




                                                                           Page 807 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 808 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ PINET, JORGE           ADDRESS ON FILE
BENITEZ PIZARRO, LOAIZA        ADDRESS ON FILE
BENITEZ PIZARRO, WALESKA       ADDRESS ON FILE
BENITEZ PRIETO, ANA            ADDRESS ON FILE
BENITEZ QUINONES, CARMEN       ADDRESS ON FILE
BENITEZ QUINONES, OLGA MARIA   ADDRESS ON FILE
Benitez Quinonez, Felix R      ADDRESS ON FILE
BENITEZ RAMIREZ, DAISY         ADDRESS ON FILE
BENITEZ RAMIREZ, MARITZA       ADDRESS ON FILE
BENITEZ RAMOS, HECTOR          ADDRESS ON FILE
BENITEZ RAMOS, JOSE R          ADDRESS ON FILE
BENITEZ RAMOS, LETICIA         ADDRESS ON FILE
BENITEZ RAMOS, LUISA           ADDRESS ON FILE
BENITEZ RAMOS, STEPHANIE       ADDRESS ON FILE
BENITEZ REPOLLET, CARMEN       ADDRESS ON FILE
BENITEZ REPOLLET, LYDIA        ADDRESS ON FILE
BENITEZ REYES, ANDRES          ADDRESS ON FILE
BENITEZ REYES, JOSUE           ADDRESS ON FILE
BENITEZ RIOS, MIRNA I          ADDRESS ON FILE
BENITEZ RIVERA, AIDA           ADDRESS ON FILE
BENITEZ RIVERA, ANA M          ADDRESS ON FILE
Benitez Rivera, Arnaldo E      ADDRESS ON FILE
BENITEZ RIVERA, CARMELO        ADDRESS ON FILE
BENITEZ RIVERA, CYNTHIA        ADDRESS ON FILE
BENITEZ RIVERA, EDWIN          ADDRESS ON FILE
BENITEZ RIVERA, ELIZABETH      ADDRESS ON FILE
BENITEZ RIVERA, EMANUEL        ADDRESS ON FILE
BENITEZ RIVERA, EVELIRIS       ADDRESS ON FILE
BENITEZ RIVERA, JANNETTE       ADDRESS ON FILE
Benitez Rivera, Jose E         ADDRESS ON FILE
BENITEZ RIVERA, JOSE L.        ADDRESS ON FILE
BENITEZ RIVERA, JOSE LUIS      ADDRESS ON FILE
BENITEZ RIVERA, JOSIE M        ADDRESS ON FILE
BENITEZ RIVERA, LUCIA          ADDRESS ON FILE
BENITEZ RIVERA, LUZ I          ADDRESS ON FILE
BENITEZ RIVERA, MARCOLINA      ADDRESS ON FILE
BENITEZ RIVERA, MARIA          ADDRESS ON FILE
BENITEZ RIVERA, MARIA DE LOS   ADDRESS ON FILE
BENITEZ RIVERA, MARIBEL        ADDRESS ON FILE
BENITEZ RIVERA, MARIMAR        ADDRESS ON FILE
BENITEZ RIVERA, MAYRA          ADDRESS ON FILE
BENITEZ RIVERA, MELBA          ADDRESS ON FILE
BENITEZ RIVERA, MIGDALIA       ADDRESS ON FILE
BENITEZ RIVERA, MILITZA        ADDRESS ON FILE
BENITEZ RIVERA, MIREILY        ADDRESS ON FILE
BENITEZ RIVERA, NEFTALI        ADDRESS ON FILE
BENITEZ RIVERA, PAULA          ADDRESS ON FILE
BENITEZ RIVERA, PEDRO          ADDRESS ON FILE
BENITEZ RIVERA, RAFAEL         ADDRESS ON FILE
BENITEZ RIVERA, RAFAEL         ADDRESS ON FILE
BENITEZ RIVERA, RAMON          ADDRESS ON FILE
BENITEZ RIVERA, RAMON          ADDRESS ON FILE
BENITEZ RIVERA, RAUL           ADDRESS ON FILE
BENITEZ RIVERA, ROSA           ADDRESS ON FILE
BENITEZ RIVERA, ROSAURA        ADDRESS ON FILE
BENITEZ RIVERA, YAMIL          ADDRESS ON FILE
BENITEZ RIVERA, ZULEYMA        ADDRESS ON FILE
BENITEZ RIVERA,JANICE M.       ADDRESS ON FILE
BENITEZ RODRIGUEZ, ANA M.      ADDRESS ON FILE
BENITEZ RODRIGUEZ, ANTONIO     ADDRESS ON FILE




                                                                           Page 808 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 809 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ RODRIGUEZ, AWILDA         ADDRESS ON FILE
BENITEZ RODRIGUEZ, CARLOS         ADDRESS ON FILE
BENITEZ RODRIGUEZ, CARMEN E       ADDRESS ON FILE
BENITEZ RODRIGUEZ, CARMEN M       ADDRESS ON FILE
BENITEZ RODRIGUEZ, DELIS          ADDRESS ON FILE
BENITEZ RODRIGUEZ, DORIS          ADDRESS ON FILE
Benitez Rodriguez, Edwin A        ADDRESS ON FILE
BENITEZ RODRIGUEZ, EVA            ADDRESS ON FILE
BENITEZ RODRIGUEZ, EVELYN         ADDRESS ON FILE
BENITEZ RODRIGUEZ, FERNANDO       ADDRESS ON FILE
BENITEZ RODRIGUEZ, FORTUNATO      ADDRESS ON FILE
BENITEZ RODRIGUEZ, FORTUNATO      ADDRESS ON FILE
BENITEZ RODRIGUEZ, GERARDO        ADDRESS ON FILE
BENITEZ RODRIGUEZ, JAIME          ADDRESS ON FILE
BENITEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
BENITEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
BENITEZ RODRIGUEZ, JOSEFINA       ADDRESS ON FILE
BENITEZ RODRIGUEZ, JUAN           ADDRESS ON FILE
BENITEZ RODRIGUEZ, JUAN           ADDRESS ON FILE
BENITEZ RODRIGUEZ, JULIO          ADDRESS ON FILE
BENITEZ RODRIGUEZ, KEVIN          ADDRESS ON FILE
BENITEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
BENITEZ RODRIGUEZ, LUIS A.        ADDRESS ON FILE
BENITEZ RODRIGUEZ, MANUEL         ADDRESS ON FILE
BENITEZ RODRIGUEZ, MANUEL         ADDRESS ON FILE
BENITEZ RODRIGUEZ, NORMA          ADDRESS ON FILE
BENITEZ RODRIGUEZ, PABLO          ADDRESS ON FILE
BENITEZ RODRIGUEZ, RAMONA         ADDRESS ON FILE
BENITEZ RODRIGUEZ, RAUL           ADDRESS ON FILE
BENITEZ RODRIGUEZ, SOFIA          ADDRESS ON FILE
BENITEZ RODRIGUEZ, STEVE          ADDRESS ON FILE
BENITEZ RODRIGUEZ, WANDA          ADDRESS ON FILE
BENITEZ RODRIGUEZ, WANDA G        ADDRESS ON FILE
BENITEZ RODRIGUEZ, YARLO          ADDRESS ON FILE
BENITEZ RODRIGUEZ,ZULEIKA MARIE   ADDRESS ON FILE
BENITEZ ROJAS, LUZ A              ADDRESS ON FILE
Benitez Roldan, Heriberto         ADDRESS ON FILE
BENITEZ ROLDAN, IRIS              ADDRESS ON FILE
BENITEZ ROLDAN, IRIS Y            ADDRESS ON FILE
BENITEZ ROLDAN, IRIS Y.           ADDRESS ON FILE
BENITEZ ROLON, HAYDEE             ADDRESS ON FILE
BENITEZ ROLON, MARIA I            ADDRESS ON FILE
Benitez Rolon, Victor M           ADDRESS ON FILE
BENITEZ ROMAN, EDWIN              ADDRESS ON FILE
BENITEZ ROMAN, JESUS              ADDRESS ON FILE
BENITEZ ROMAN, JOSE               ADDRESS ON FILE
BENITEZ ROMERO, JOSE L            ADDRESS ON FILE
BENITEZ ROSA, MARIA               ADDRESS ON FILE
BENITEZ ROSA, OSCAR               ADDRESS ON FILE
BENITEZ ROSADO, ARAMIS            ADDRESS ON FILE
BENITEZ ROSADO, CARMEN S          ADDRESS ON FILE
BENITEZ ROSADO, JUAN E.           ADDRESS ON FILE
BENITEZ ROSADO, WANDA             ADDRESS ON FILE
BENITEZ ROSARIO, ANGEL            ADDRESS ON FILE
Benitez Rosario, Carmen M         ADDRESS ON FILE
BENITEZ ROSARIO, JESSICA          ADDRESS ON FILE
BENITEZ ROSARIO, SHENIA J         ADDRESS ON FILE
BENITEZ RUIZ, BRUNILDA            ADDRESS ON FILE
BENITEZ RUIZ, HORACIO             ADDRESS ON FILE
BENITEZ RUIZ, RAUL                ADDRESS ON FILE




                                                                              Page 809 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 810 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENITEZ SANCHEZ, ANGEL           ADDRESS ON FILE
BENITEZ SANCHEZ, AXIA M          ADDRESS ON FILE
BENITEZ SANCHEZ, BRYANT          ADDRESS ON FILE
Benitez Sanchez, Carmen O        ADDRESS ON FILE
BENITEZ SANCHEZ, GLADYS          ADDRESS ON FILE
Benitez Sanchez, Jorge           ADDRESS ON FILE
BENITEZ SANCHEZ, JORGE           ADDRESS ON FILE
BENITEZ SANCHEZ, MARICRUZ        ADDRESS ON FILE
BENITEZ SANCHEZ, PIA MILAGROS    ADDRESS ON FILE
BENITEZ SANCHEZ, SONIA L         ADDRESS ON FILE
BENITEZ SANTANA, RUTH            ADDRESS ON FILE
BENITEZ SANTIAGO, BELISA         ADDRESS ON FILE
BENITEZ SANTIAGO, JAVIER         ADDRESS ON FILE
BENITEZ SANTIAGO, LISAMARIE      ADDRESS ON FILE
BENITEZ SANTOS, GLENDA M         ADDRESS ON FILE
BENITEZ SANTOS, GLENDA M         ADDRESS ON FILE
BENITEZ SANTOS, LORNA I          ADDRESS ON FILE
Benitez Santos, Reynaldo J       ADDRESS ON FILE
BENITEZ SEILHAMER, CESAR         ADDRESS ON FILE
BENITEZ SERRANO, ROSE M          ADDRESS ON FILE
BENITEZ SERRANO, VICTOR J        ADDRESS ON FILE
Benitez Serrano, Wilfredo        ADDRESS ON FILE
BENITEZ SERRANO, WILFREDO        ADDRESS ON FILE
BENITEZ SILVA, LUIS              ADDRESS ON FILE
BENITEZ SOBERAL, EVELYN J        ADDRESS ON FILE
BENITEZ SOLIVAN, JULIETTE M      ADDRESS ON FILE
BENITEZ SOTO, AURA               ADDRESS ON FILE
BENITEZ SOTO, GABRIEL            ADDRESS ON FILE
BENITEZ SOTO, ROSA E             ADDRESS ON FILE
BENITEZ STERLING, GRACIELA       ADDRESS ON FILE
BENITEZ STERLING, MARIA A        ADDRESS ON FILE
BENITEZ STEWART, SYLVIA          ADDRESS ON FILE
Benitez Suarez, Oscar            ADDRESS ON FILE
BENITEZ TORRES, ANA C            ADDRESS ON FILE
BENITEZ TORRES, BLADIMIR         ADDRESS ON FILE
BENITEZ TORRES, FLOR M.          ADDRESS ON FILE
BENITEZ TORRES, FRANCES N        ADDRESS ON FILE
Benitez Torres, Frances Nicole   ADDRESS ON FILE
BENITEZ TORRES, GLADYS           ADDRESS ON FILE
BENITEZ TORRES, JOSE R.          ADDRESS ON FILE
BENITEZ TORRES, KAREN            ADDRESS ON FILE
BENITEZ TORRES, MADELINE         ADDRESS ON FILE
BENITEZ TORRES, MARIA            ADDRESS ON FILE
BENITEZ TORRES, MILADYS          ADDRESS ON FILE
BENITEZ TORRES, MILAGROS         ADDRESS ON FILE
BENITEZ TORRES, MYRNA E.         ADDRESS ON FILE
BENITEZ TORRES, RAIZA MADIZ      ADDRESS ON FILE
BENITEZ TORRES, RICHARD          ADDRESS ON FILE
BENITEZ TORRES, ZAIDA            ADDRESS ON FILE
BENITEZ TOSADO, IVETTE           ADDRESS ON FILE
BENITEZ TOSCA, GLADYS            ADDRESS ON FILE
BENITEZ TRINIDAD, ANTONIO        ADDRESS ON FILE
BENITEZ TRINIDAD, MARTA          ADDRESS ON FILE
BENITEZ UBILES, CARMEN J         ADDRESS ON FILE
BENITEZ VARGAS, JOSE E           ADDRESS ON FILE
Benitez Vasallo, Angel L         ADDRESS ON FILE
BENITEZ VASALLO, CARMEN M.       ADDRESS ON FILE
BENITEZ VAZQUEZ, ELIVANETTE      ADDRESS ON FILE
BENITEZ VAZQUEZ, EVA M           ADDRESS ON FILE
Benitez Vazquez, Jose R          ADDRESS ON FILE




                                                                             Page 810 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 811 of 3500
                                                                                              Creditor Matrix

Creditor Name                    Address1                      Address2                                    Address3   Address4            City         State   PostalCode   Country
BENITEZ VAZQUEZ, OSVALDO         ADDRESS ON FILE
BENITEZ VAZQUEZ, YADIRA          ADDRESS ON FILE
BENITEZ VEGA, JESSICA            ADDRESS ON FILE
BENITEZ VEGA, LUIS               ADDRESS ON FILE
BENITEZ VEGA, LYDIA              ADDRESS ON FILE
BENITEZ VEGA, TERESA             ADDRESS ON FILE
BENITEZ VELAZQUEZ, BRENDA L      ADDRESS ON FILE
BENITEZ VELAZQUEZ, KENIA         ADDRESS ON FILE
Benitez Velez, Genaro            ADDRESS ON FILE
BENITEZ VELEZ, LIBRADA           ADDRESS ON FILE
BENITEZ VELEZ, MARIA M.          ADDRESS ON FILE
BENITEZ VELEZ, NOEMI             ADDRESS ON FILE
BENITEZ VILLALONGO, TERESA       ADDRESS ON FILE
BENITEZ VILLAVERDE, MANUEL       ADDRESS ON FILE
BENITEZ VITERI, LUIS             ADDRESS ON FILE
BENITEZ VIZCARRONDO, MARIA       ADDRESS ON FILE
BENITEZ VIZCARRONDO, PRISCILLA   ADDRESS ON FILE
BENITEZ ZAMOT, CARMEN S          ADDRESS ON FILE
BENITEZ, ANIA                    ADDRESS ON FILE
BENITEZ, GUILLERMINA             ADDRESS ON FILE
BENITEZ, GUSTAVO                 ADDRESS ON FILE
BENITEZ, JOSE A                  ADDRESS ON FILE
BENITEZ, LUIS R.                 ADDRESS ON FILE
BENITEZ, MARILYN                 ADDRESS ON FILE
BENITEZ, NEYDA E                 ADDRESS ON FILE
BENITEZCASILLAS, JOSE A          ADDRESS ON FILE
BENITEZOTERO, SONIA              ADDRESS ON FILE
BENITEZROLON, IRELIZ             ADDRESS ON FILE
BENITO A QUINONES QUINONES       ADDRESS ON FILE
BENITO A QUINONES SUAREZ         ADDRESS ON FILE
BENITO A SANTIAGO SOTO           ADDRESS ON FILE
BENITO A ZARZUELA PEREZ          ADDRESS ON FILE
BENITO ACEVEDO, IVETTE M         ADDRESS ON FILE
BENITO ALVAREZ ABREU             ADDRESS ON FILE
BENITO AVILES / ELSIE AVILES     ADDRESS ON FILE
BENITO C BERMUDEZ ORTIZ          ADDRESS ON FILE
BENITO CANDELARIO VIDRO          ADDRESS ON FILE
BENITO COLON SANTOS              LCDO. ÁNGEL JUARBE DE JESÚS   PO BOX 1907                                                                UTUADO       PR      00641
BENITO CRESPO SANCHEZ            ADDRESS ON FILE
BENITO CRUZ DIAZ                 F.R. GONZALEZ LAW OFFICE      1519 Ponce DE LEON AVE.                                FIRST FEDERAL 805   SAN JUAN     PR      00909
BENITO CRUZ OLIVERA              ADDRESS ON FILE
BENITO DÁVILA ARZUAGA            GABRIEL VÁZQUEZ SEGARRA       F‐12 FALCÓN SIERRA BERDECÍA                                                GUAYNABO     PR      00969
BENITO DE J SANTOS VELEZ         ADDRESS ON FILE
BENITO DE JESUS CALDERON         ADDRESS ON FILE
BENITO DEL MORAL MELENDEZ        ADDRESS ON FILE
BENITO DELGADO NAVARRO           ADDRESS ON FILE
BENITO E MUNIZ TORRADO           ADDRESS ON FILE
BENITO ESPARRA SAEZ              ADDRESS ON FILE
BENITO GONZALEZ GONZALEZ         ADDRESS ON FILE
BENITO GONZALEZ ROSADO           ADDRESS ON FILE
BENITO HERNANDEZ NUNEZ           ADDRESS ON FILE
BENITO HERNANDEZ ROLDAN          ADDRESS ON FILE
BENITO HERNANDEZ ROLDAN          ADDRESS ON FILE
BENITO I RODRIGUEZ               ADDRESS ON FILE
BENITO MARIN ROSARIO             ADDRESS ON FILE
BENITO MATOS GOMES               ADDRESS ON FILE
BENITO MEDINA VILLANUEVA         ADDRESS ON FILE
BENITO MENDEZ DE JESUS           ADDRESS ON FILE
BENITO OTERO BAEZ                ADDRESS ON FILE
BENITO PARRILLA FERNANDEZ        ADDRESS ON FILE




                                                                                             Page 811 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 812 of 3500
                                                                                                         Creditor Matrix

Creditor Name                             Address1                        Address2                                    Address3        Address4     City           State   PostalCode   Country
BENITO PINERO/ SUN PRO PR                 URB VILLAS DEL REY              62 AVE DE LOS REYES                                                      RIO GRANDE     PR      00745
BENITO QUINONES PEREZ                     ADDRESS ON FILE
BENITO R QUILES MONTANEZ                  ADDRESS ON FILE
BENITO R QUILES MONTANEZ                  ADDRESS ON FILE
BENITO R QUILES MONTANEZ                  ADDRESS ON FILE
BENITO REYES PEREZ                        ADDRESS ON FILE
BENITO RIVERA RODRIGUEZ                   ADDRESS ON FILE
BENITO RODRIGUEZ CARRASQUILLO             ADDRESS ON FILE
BENITO RODRIGUEZ ROSADO                   ADDRESS ON FILE
BENITO ROQUE HERNANDEZ                    ADDRESS ON FILE
BENITO ROSADO                             ADDRESS ON FILE
BENITO SALDANA MELENDEZ                   ADDRESS ON FILE
BENITO SANTIAGO MATEO                     ADDRESS ON FILE
BENITO SANTIAGO SANTIAGO                  ADDRESS ON FILE
BENITO SEDA ROMAN                         ADDRESS ON FILE
BENITO SUAREZ RIVERA                      ADDRESS ON FILE
BENITO TOLEDO FRANQUIZ                    ADDRESS ON FILE
BENITO ZAPATA SUAREZ                      ADDRESS ON FILE
BENJAMIN A. MORENO TURELL                 ADDRESS ON FILE
BENJAMIN ACABA RAMOS                      ADDRESS ON FILE
BENJAMIN ACEVEDO RODRIGUEZ                ADDRESS ON FILE
BENJAMIN ACEVEDO VEGA                     ADDRESS ON FILE
BENJAMIN ACOSTA, FELIPA                   ADDRESS ON FILE
BENJAMIN AGOSTO HERNANDEZ                 ADDRESS ON FILE
BENJAMIN AGRON RAMIREZ                    ADDRESS ON FILE
BENJAMIN ALVARADO DIAZ                    ADDRESS ON FILE
BENJAMIN ALVAREZ, ROSAIRYS                ADDRESS ON FILE
BENJAMIN APONTE MERCADO                   ADDRESS ON FILE
BENJAMIN ARCHILLA DIAZ                    ADDRESS ON FILE
BENJAMIN ARIMONT, ANA M.                  ADDRESS ON FILE
BENJAMIN AVILA MUNOZ                      ADDRESS ON FILE
BENJAMIN BERRIOS GARCIA                   ADDRESS ON FILE
BENJAMIN BERRIOS TORRES                   ADDRESS ON FILE
BENJAMIN BETANCOURT DAVILA                ADDRESS ON FILE
BENJAMIN BETANCOURT MUNDO                 ADDRESS ON FILE
BENJAMIN BETANCOURT MUNDO                 ADDRESS ON FILE
BENJAMIN BETANCOURT RIVERA                ADDRESS ON FILE
BENJAMIN BETANCOURT TORRES                ADDRESS ON FILE
BENJAMIN BIGIO RAMOS                      ADDRESS ON FILE
BENJAMIN BORGES RIVERA                    ADDRESS ON FILE
BENJAMIN BOURDOING VELEZ                  ADDRESS ON FILE
BENJAMIN C SANTIAGO JUSTINIANO            ADDRESS ON FILE
BENJAMIN CALDERON PEREZ                   ADDRESS ON FILE
BENJAMIN CALDERON RODRIGUEZ               ADDRESS ON FILE
BENJAMIN CALO RAMIREZ                     ADDRESS ON FILE
BENJAMIN CAMACHO IRIZARRY                 ADDRESS ON FILE
BENJAMIN CANALES                          ADDRESS ON FILE
BENJAMIN CARDONA MARQUEZ                  DEMANDANTE POR DERECHO PROPIO   INSTITUCIÓN Ponce PRINCIPAL FASE 3: 3793    Ponce BY PASS   ANEXO A 15   Ponce          PR      00728‐1504
BENJAMIN CARDONA MERCADO                  ADDRESS ON FILE
BENJAMIN CARMONA MORALES                  ADDRESS ON FILE
BENJAMIN CARRASQUILLO, INES M             ADDRESS ON FILE
BENJAMIN CARRASQUILLO, MARIA M.           ADDRESS ON FILE
BENJAMIN CEDENO DIAZ                      ADDRESS ON FILE
BENJAMIN CENTENO ROSADO                   ADDRESS ON FILE
BENJAMIN CHAPARRO P Y J AUTO REPAIR CSP   24 CALLE GUAYAMA                                                                                         HATO REY       PR      00918
BENJAMIN COLON / LITZA D COLON            ADDRESS ON FILE
BENJAMIN COLON CRUZ                       ADDRESS ON FILE
BENJAMIN COLON ROSADO                     ADDRESS ON FILE
BENJAMIN CORTES ALVAREZ                   ADDRESS ON FILE
BENJAMIN CORTES FIGUEROA                  ADDRESS ON FILE




                                                                                                        Page 812 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 813 of 3500
                                                                                      Creditor Matrix

Creditor Name                            Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BENJAMIN COTTO DIAZ                      ADDRESS ON FILE
BENJAMIN COTTO GONZALEZ                  ADDRESS ON FILE
BENJAMIN CRAIN                           ADDRESS ON FILE
BENJAMIN CRUZ TOLEDO                     ADDRESS ON FILE
BENJAMIN CRUZ TORRES                     ADDRESS ON FILE
BENJAMIN DE JESUS BORRERO                ADDRESS ON FILE
BENJAMIN DE JESUS QUINONES               ADDRESS ON FILE
BENJAMIN DE LOS SANTOS BARBOSA           ADDRESS ON FILE
BENJAMIN DOMINGUEZ ROSARIO               ADDRESS ON FILE
BENJAMIN E FIGUEROA MARTINEZ             ADDRESS ON FILE
BENJAMIN E OLIVER NORIEGA                ADDRESS ON FILE
BENJAMIN FELICIANO OQUENDO               ADDRESS ON FILE
BENJAMIN FERNANDEZ MARTINEZ              ADDRESS ON FILE
BENJAMIN FIGUEROA                        ADDRESS ON FILE
BENJAMIN FIGUEROA CALCORZI               ADDRESS ON FILE
BENJAMIN FIGUEROA HERNANDEZ              ADDRESS ON FILE
BENJAMIN FIGUEROA REYES                  ADDRESS ON FILE
BENJAMIN FIGUEROA REYES                  ADDRESS ON FILE
BENJAMIN FIGUEROA REYES                  ADDRESS ON FILE
BENJAMIN FIGUEROA TORRES                 ADDRESS ON FILE
BENJAMIN FIGUEROA, DAVID A               ADDRESS ON FILE
BENJAMIN FIGUEROA, DAVID A.              ADDRESS ON FILE
BENJAMIN FLORES MIRANDA                  ADDRESS ON FILE
BENJAMIN FLORES SANCHEZ                  ADDRESS ON FILE
BENJAMIN FREYTES                         ADDRESS ON FILE
BENJAMIN FUENTES SANTOS                  ADDRESS ON FILE
BENJAMIN G KAUFFMANN JULIA               ADDRESS ON FILE
BENJAMIN GONZALEZ                        ADDRESS ON FILE
BENJAMIN GONZALEZ CALDERON               ADDRESS ON FILE
BENJAMIN GONZALEZ RAMOS                  ADDRESS ON FILE
BENJAMIN GONZALEZ SIERRA                 ADDRESS ON FILE
BENJAMIN GOYTIA BETANCOURT               ADDRESS ON FILE
BENJAMIN GUADALUE MARTINEZ               ADDRESS ON FILE
BENJAMIN GUISHARD, LUANNY                ADDRESS ON FILE
BENJAMIN GUZMAN GUZMAN                   ADDRESS ON FILE
BENJAMIN GUZMAN ORTIZ                    ADDRESS ON FILE
BENJAMIN HERNANDEZ / GLORIA DE LA ROSA   ADDRESS ON FILE
BENJAMIN HERNANDEZ FIGUEROA              ADDRESS ON FILE
BENJAMIN HERNANDEZ LOPEZ                 ADDRESS ON FILE
BENJAMIN HERNANDEZ LOPEZ                 ADDRESS ON FILE
BENJAMIN HERNANDEZ NIEVES                ADDRESS ON FILE
BENJAMIN HERNANDEZ SOTO                  ADDRESS ON FILE
BENJAMIN HERNANDEZ VEGA                  ADDRESS ON FILE
BENJAMIN IRIZARRY COLON                  ADDRESS ON FILE
BENJAMIN IRIZARRY SANTANA                ADDRESS ON FILE
BENJAMIN IRON WORK INC                   PO BOX 324                                                                       JUNCOS       PR      00777
BENJAMIN J MARSH KENNERLEY               ADDRESS ON FILE
BENJAMIN J VEGA MATIAS                   ADDRESS ON FILE
BENJAMIN LOPERENA PEREZ                  ADDRESS ON FILE
BENJAMIN LOPEZ DAVILA                    ADDRESS ON FILE
BENJAMIN LOPEZ MELENDEZ                  ADDRESS ON FILE
BENJAMIN LOPEZ NAVEDO                    ADDRESS ON FILE
BENJAMIN LOPEZ ZAPATA                    ADDRESS ON FILE
BENJAMIN LOZADA PABON                    ADDRESS ON FILE
BENJAMIN LUGO DELRIOS                    ADDRESS ON FILE
BENJAMIN MALDONADO                       ADDRESS ON FILE
BENJAMIN MALDONADO MARTELL               ADDRESS ON FILE
BENJAMIN MALDONADO MONELL                ADDRESS ON FILE
BENJAMIN MARRERO                         ADDRESS ON FILE
BENJAMIN MARTINEZ ALVARADO               ADDRESS ON FILE




                                                                                     Page 813 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 814 of 3500
                                                                                                            Creditor Matrix

Creditor Name                             Address1                          Address2                                     Address3   Address4   City          State   PostalCode   Country
BENJAMIN MARTINEZ BUTLER                  ADDRESS ON FILE
BENJAMIN MD, ROBERT                       ADDRESS ON FILE
BENJAMIN MENDOZA SANTIAGO                 ADDRESS ON FILE
BENJAMIN MIRANDA GONZALEZ                 ADDRESS ON FILE
BENJAMIN MIRANDA GONZALEZ                 ADDRESS ON FILE
BENJAMIN MIRANDA MOLINA                   ADDRESS ON FILE
BENJAMIN MORALES BERRIOS                  ADDRESS ON FILE
BENJAMIN MORALES CARABALLO                ADDRESS ON FILE
BENJAMIN MORALES COLON                    ADDRESS ON FILE
BENJAMIN MORALES LABOY                    ADDRESS ON FILE
BENJAMIN MORALES MORALES                  ADDRESS ON FILE
BENJAMIN MORALES PAGAN                    ADDRESS ON FILE
BENJAMIN MORALES QUINONES                 ADDRESS ON FILE
BENJAMIN MORALES SALDANA                  ADDRESS ON FILE
BENJAMIN MUNIZ OSORIO                     ADDRESS ON FILE
BENJAMIN NEGRON BAEZ                      ADDRESS ON FILE
BENJAMIN NELSON MALDONADO                 ADDRESS ON FILE
BENJAMIN NIEVES FUENTES                   ADDRESS ON FILE
BENJAMIN NIEVES GONZALEZ                  ADDRESS ON FILE
BENJAMIN NOGUERAS SANTIAGO                ADDRESS ON FILE
BENJAMIN OCASIO TORRES                    ADDRESS ON FILE
BENJAMIN OJEDA VAZQUEZ                    ADDRESS ON FILE
BENJAMIN ORTIZ                            ADDRESS ON FILE
BENJAMIN ORTIZ BETANCOURT                 ADDRESS ON FILE
BENJAMIN ORTIZ RAMOS                      ADDRESS ON FILE
BENJAMIN PADILLA SEGARRA                  ADDRESS ON FILE
BENJAMIN PEREZ ALBELO                     ADDRESS ON FILE
BENJAMIN PEREZ BADILLO                    ADDRESS ON FILE
BENJAMIN PEREZ ENCARNACION                ADDRESS ON FILE
BENJAMIN PEREZ GANDIA                     ADDRESS ON FILE
BENJAMIN PEREZ GUADALUPE                  ADDRESS ON FILE
BENJAMIN PEREZ LOPEZ                      ADDRESS ON FILE
BENJAMIN PEREZ MARTINEZ                   ADDRESS ON FILE
BENJAMIN PEREZ SANCHEZ                    ADDRESS ON FILE
BENJAMIN PEREZ SOTO                       ADDRESS ON FILE
BENJAMIN PIZARRO DIAZ                     ADDRESS ON FILE
BENJAMIN PIZARRO SANTOS                   ADDRESS ON FILE
BENJAMIN PONCE MENA                       ADDRESS ON FILE
BENJAMIN QUINONES LEBRON                  ADDRESS ON FILE
BENJAMIN QUINTANA ROBERT                  ADDRESS ON FILE
BENJAMIN QUINTERO, ANA                    ADDRESS ON FILE
Benjamin Quintero, Ana M                  ADDRESS ON FILE
BENJAMIN QUINTERO, NANCY                  ADDRESS ON FILE
BENJAMIN REYES MARTINEZ                   ADDRESS ON FILE
BENJAMIN REYES RAMOS                      ADDRESS ON FILE
BENJAMIN RIGUARD MORALES                  ADDRESS ON FILE
BENJAMIN RIOS ATILES                      ADDRESS ON FILE
BENJAMIN RIOS, ELPIDIA                    ADDRESS ON FILE
BENJAMIN RIVERA / CABO ROJO OLD TIMERS    HC 1 BOX 6649                                                                                        CABO ROJO     PR      00623
BENJAMIN RIVERA CORREA                    ADDRESS ON FILE
BENJAMIN RIVERA JIMENEZ                   ADDRESS ON FILE
BENJAMIN RIVERA JIMENEZ V DEPTO FAMILIA   LCDO. GEORGE M. UZDAVINIS VÉLEZ   2770 AVE. HOSTOS SUITE 209 EDIF. SANTOS VÉLEZ I                    MAYAGÜEZ      PR      00682‐6384
BENJAMIN RIVERA LOPEZ                     ADDRESS ON FILE
BENJAMIN RIVERA NEGRON                    ADDRESS ON FILE
BENJAMIN RIVERA ORTIZ                     ADDRESS ON FILE
BENJAMIN RIVERA RIVERA                    ADDRESS ON FILE
BENJAMIN RIVERA TRINIDAD                  ADDRESS ON FILE
BENJAMIN RIVERA VEGA                      ADDRESS ON FILE
BENJAMIN RIVERA, CARMEN                   ADDRESS ON FILE
BENJAMIN RIVERA, DAVID                    ADDRESS ON FILE




                                                                                                          Page 814 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 815 of 3500
                                                                                         Creditor Matrix

Creditor Name                          Address1                              Address2                 Address3   Address4   City         State   PostalCode   Country
BENJAMIN RIVERA, MAYRA I               ADDRESS ON FILE
Benjamin Rivera, Raimundo              ADDRESS ON FILE
BENJAMIN RODRIGUEZ CENTENO             ADDRESS ON FILE
BENJAMIN RODRIGUEZ CENTENO             ADDRESS ON FILE
BENJAMIN RODRIGUEZ LOPEZ               ADDRESS ON FILE
BENJAMIN RODRIGUEZ RIVERA              ADDRESS ON FILE
BENJAMIN RODRIGUEZ ROSADO              ADDRESS ON FILE
BENJAMIN RODRIGUEZ SANCHEZ             ADDRESS ON FILE
BENJAMIN RODRIGUEZ SANCHEZ             ADDRESS ON FILE
BENJAMIN RODRIGUEZ SANCHEZ             ADDRESS ON FILE
BENJAMIN RODRIGUEZ TORRES              ADDRESS ON FILE
BENJAMIN RODRIGUEZ, AMARILYS           ADDRESS ON FILE
BENJAMIN RODRIGUEZ, EMILY Y.           ADDRESS ON FILE
BENJAMIN ROJAS TIRADO                  ADDRESS ON FILE
BENJAMIN ROMAN / SARA ROMAN            ADDRESS ON FILE
BENJAMIN ROMAN SOLANO                  ADDRESS ON FILE
BENJAMIN ROMAN VELEZ                   ADDRESS ON FILE
BENJAMIN ROQUE COLON\DBA BRCES MEDICAL PO BOX 30412 65TH INFANTERY STATION                                                  SAN JUAN     PR      00929
BENJAMIN ROSADO GONZALEZ               ADDRESS ON FILE
BENJAMIN ROSARIO, ANTHONY              ADDRESS ON FILE
BENJAMIN RUIZ LOPEZ                    ADDRESS ON FILE
BENJAMIN SANDOVAL ASPRILLA             ADDRESS ON FILE
Benjamin Santana Narbaez               ADDRESS ON FILE
BENJAMIN SANTIAGO ACOSTA               ADDRESS ON FILE
BENJAMIN SANTIAGO RAMOS                ADDRESS ON FILE
BENJAMIN SANTIAGO SANTIAGO             ADDRESS ON FILE
BENJAMIN SILVA, NICOLE                 ADDRESS ON FILE
BENJAMIN SOSA SOLTREN                  ADDRESS ON FILE
BENJAMIN SOTO LOPEZ                    ADDRESS ON FILE
BENJAMIN SOTO LOPEZ                    ADDRESS ON FILE
BENJAMIN TIRADO ORTIZ                  ADDRESS ON FILE
BENJAMIN TORO TORO                     ADDRESS ON FILE
BENJAMIN TORRES BALADEJO               ADDRESS ON FILE
BENJAMIN TORRES MELENDEZ               ADDRESS ON FILE
BENJAMIN TORRES/ NEW ENERGY CONSULTANTSHC 02 BOX 815                                                                        YAUCO        PR      00698
BENJAMIN VALCARCEL SOSTRE              ADDRESS ON FILE
BENJAMIN VALENTIN CANDELARIO           ADDRESS ON FILE
BENJAMIN VALENTIN PEREZ                ADDRESS ON FILE
BENJAMIN VALERIO/ JOSE VALERIO         ADDRESS ON FILE
BENJAMIN VAZQUEZ ALICEA                ADDRESS ON FILE
BENJAMIN VAZQUEZ PADRO                 ADDRESS ON FILE
BENJAMIN VAZQUEZ VELEZ                 ADDRESS ON FILE
BENJAMIN VEGA CORDERO                  ADDRESS ON FILE
BENJAMIN VEGA MORALES                  ADDRESS ON FILE
BENJAMIN VEGA REYES                    ADDRESS ON FILE
BENJAMIN VELAZQUEZ LEBRON              ADDRESS ON FILE
BENJAMIN VELAZQUEZ LUGO                ADDRESS ON FILE
BENJAMIN VELAZQUEZ REYES               ADDRESS ON FILE
BENJAMIN VELEZ ORTIZ                   ADDRESS ON FILE
BENJAMIN VELEZ QUINONES                ADDRESS ON FILE
BENJAMIN VILA, BETHZAIDA               ADDRESS ON FILE
BENJAMIN VILA, LOURDES                 ADDRESS ON FILE
BENJAMIN VILA, LOURDES                 ADDRESS ON FILE
BENJAMINT J VEGA MATIAS                ADDRESS ON FILE
BENJIE CORDERO FIGUEROA                ADDRESS ON FILE
BENJIE DE JESUS COLON                  ADDRESS ON FILE
BENMAMAN MD , OLIVA E                  ADDRESS ON FILE
BENMAMAN PENA, YAHEL E                 ADDRESS ON FILE
BENN GONZALE, ZULMALY                  ADDRESS ON FILE
BENN GONZALEZ,LUIS O.                  ADDRESS ON FILE




                                                                                        Page 815 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 816 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
BENN SOTO, ALMA E.                      ADDRESS ON FILE
Bennasar Monjes, Lydia M                ADDRESS ON FILE
BENNAZAR ALCOVER, GRETEL                ADDRESS ON FILE
BENNAZAR ALCOVER, WALESKA               ADDRESS ON FILE
BENNAZAR CORRADA, CARLOS                ADDRESS ON FILE
BENNAZAR LOPEZ, CARLOS A                ADDRESS ON FILE
BENNAZAR LOPEZ, DELIA M                 ADDRESS ON FILE
BENNAZAR NIN, ANTONIO J.                ADDRESS ON FILE
BENNAZAR OCASIO, JUAN                   ADDRESS ON FILE
BENNAZAR OCASIO, JUAN                   ADDRESS ON FILE
BENNAZAR ORTIZ, ROSA                    ADDRESS ON FILE
BENNETT DIAZ FIGUEROA                   ADDRESS ON FILE
BENNETT GONZALEZ, SASHA                 ADDRESS ON FILE
BENNETT LOPEZ / YANIRA PEREZ RIVERA     ADDRESS ON FILE
BENNETT PEREZ, RAUL                     ADDRESS ON FILE
BENNETT QUINONES, LOURDES M             ADDRESS ON FILE
BENNETT SANTOS ROSADO                   ADDRESS ON FILE
BENNETT SERRA, MELISSA                  ADDRESS ON FILE
BENNETTE PAGAN, FRANCISCO               ADDRESS ON FILE
BENNIE FORD                             ADDRESS ON FILE
BENNIE L COLON COLON                    ADDRESS ON FILE
BENNY ABRIL VELEZ                       ADDRESS ON FILE
BENNY ALBARAN VAZQUEZ                   ADDRESS ON FILE
BENNY ESPADA MATOS                      ADDRESS ON FILE
BENNY HERNANDEZ VALENTIN                ADDRESS ON FILE
BENNY J APONTE VAZQUEZ                  ADDRESS ON FILE
BENNY J RUIZ ROJAS                      ADDRESS ON FILE
BENNY JIMENEZ JIMENEZ                   ADDRESS ON FILE
BENNY L GONZALEZ BAEZ                   ADDRESS ON FILE
BENNY LIN PINEIRO RAMOS                 ADDRESS ON FILE
BENNY LOPEZ ALICEA                      ADDRESS ON FILE
BENNY MORENO ZAMBRANA                   ADDRESS ON FILE
BENNY MUNOZ                             ADDRESS ON FILE
BENNY O AMARO RODRIGUEZ                 ADDRESS ON FILE
BENNY OMAR TORRES RODRIGUEZ             ADDRESS ON FILE
BENNY OYOLA RODRIGUEZ                   ADDRESS ON FILE
BENNY QUINONES CARABALLO                ADDRESS ON FILE
BENNY R COLON SOTO                      ADDRESS ON FILE
BENNY RODRIGUEZ LUNA                    ADDRESS ON FILE
BENNY RODRIGUEZ SANTIAGO                ADDRESS ON FILE
BENNY ROSARIO TORRES                    ADDRESS ON FILE
BENNY SEDA GALARZA                      ADDRESS ON FILE
BENNY VELAZQUEZ GONZALEZ                ADDRESS ON FILE
BENNY W.VELEZ                           ADDRESS ON FILE
BENNYS AGUA NATURAL Y/O FERRETERIA VEGA ADDRESS ON FILE
BENOIT SOSA, MARLYN                     ADDRESS ON FILE
BENSON AVILLAN, ELIXIA M                ADDRESS ON FILE
BENSON AVILLAN, JUAN A                  ADDRESS ON FILE
BENSON AVILLAN, PABLO                   ADDRESS ON FILE
BENSON AVILLAN, PABLO ANDRES            ADDRESS ON FILE
BENSON LIMARDO, ALBERTA                 ADDRESS ON FILE
BENSON MILIAN, ROSENDO                  ADDRESS ON FILE
BENSON MIRANDA, ALBERT                  ADDRESS ON FILE
BENSON SCHLAFER, GLORIA                 ADDRESS ON FILE
BENSON, JULIO                           ADDRESS ON FILE
BENSON, JULIO                           ADDRESS ON FILE
BENTACOURT AYALA, LENIER                ADDRESS ON FILE
BENTEGEAT CORA, ILEANA M                ADDRESS ON FILE
Bentine Barbosa, Agustine               ADDRESS ON FILE
BENTINE MOLINA, DAVID                   ADDRESS ON FILE




                                                                                     Page 816 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 817 of 3500
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Bentine Rios, Rita N.            ADDRESS ON FILE
BENTINE RIOS, RITA NAHIR         ADDRESS ON FILE
BENTINE ROBLEDO, ASTRID          ADDRESS ON FILE
BENTINE ROBLEDO, WALLACE         ADDRESS ON FILE
Bentine Robledo, Wallace         ADDRESS ON FILE
BENTLEY MALDONADO, FLOYD         ADDRESS ON FILE
BENTLEY, JAYME                   ADDRESS ON FILE
BENTURA FELICIANO CARABALLO      ADDRESS ON FILE
BENTZ BALSEIRO, ALEJANDRO        ADDRESS ON FILE
BENTZ GONZALEZ, JESUS            ADDRESS ON FILE
BENVENUTI BENVENUTI, ANTONIO     ADDRESS ON FILE
BENVENUTTI BENVENUTTI, LUIS A.   ADDRESS ON FILE
BENVENUTTI DE RIVERA, LUCILA     ADDRESS ON FILE
BENVENUTTI FOX, SHERILLE         ADDRESS ON FILE
BENVENUTTI GOMEZ, OMAR           ADDRESS ON FILE
BENVENUTTI JUSTINIANO, EDWIN     ADDRESS ON FILE
BENVENUTTI LOPEZ, CARMEN         ADDRESS ON FILE
BENVENUTTI MIRO, ANGEL L         ADDRESS ON FILE
BENVENUTTI MIRO, LUISA           ADDRESS ON FILE
BENVENUTTI MIRO, NIVIA           ADDRESS ON FILE
Benvenutti Santiago, Roberto J   ADDRESS ON FILE
BENVENUTTI SANTIAGO, SASHA       ADDRESS ON FILE
BENVENUTTI TORO, EVELYN          ADDRESS ON FILE
BENVENUTTI, JORGE                ADDRESS ON FILE
BENVENUTTO MIGONE, LUIS          ADDRESS ON FILE
BENVENUTTY COLON, YARELIN        ADDRESS ON FILE
BENY GRACE FUENTES LOZADA        ADDRESS ON FILE
BENYAIRA E ROSA AYALA            ADDRESS ON FILE
BENZAQUEN PARKES, DEBORAH        ADDRESS ON FILE
BENZAQUEN PARKES, DEBORAH        ADDRESS ON FILE
BENZAQUEN PARKES, JUDITH         ADDRESS ON FILE
BERAIDA VEGA CRUZ                ADDRESS ON FILE
BERAS ACOSTA, NICOLAS            ADDRESS ON FILE
BERAS AULET, CAROLINA            ADDRESS ON FILE
BERAS MALDONADO, AMBAR J.        ADDRESS ON FILE
BERAS MALDONADO, LARIMAR         ADDRESS ON FILE
BERASTAIN GARCIA, GLORIA         ADDRESS ON FILE
BERASTAIN SANES, ELENA           ADDRESS ON FILE
BERASTAIN SANES, NOEMI           ADDRESS ON FILE
BERASTAIN SANTIAGO, MARIA T      ADDRESS ON FILE
BERASTAIN SANTIAGO, MARIA T.     ADDRESS ON FILE
BERATUNG GROUP LLC               URB EL VALLE              G7 CALLE TULIPAN                                       CAGUAS       PR      00727
BERBER GROUP LLC                 URB RIVIERAS DE CUPEY     11 CALLE AMAPOLA                                       SAN JUAN     PR      00926‐7447
BERBER VILLAR, NELLY             ADDRESS ON FILE
BERBERENA AMEZQUITA, EDWIN R     ADDRESS ON FILE
BERBERENA CLAUDIO, SONALEE       ADDRESS ON FILE
BERBERENA CORTIJO, BRENDA E      ADDRESS ON FILE
BERBERENA CRUZ, GUILLERMINA      ADDRESS ON FILE
BERBERENA DELGADO, NILDA E       ADDRESS ON FILE
BERBERENA DIAZ, JAIME            ADDRESS ON FILE
BERBERENA DIAZ, MARIELA          ADDRESS ON FILE
BERBERENA FIGUEROA, ARELIZ       ADDRESS ON FILE
BERBERENA FIGUEROA, EDGARDO      ADDRESS ON FILE
BERBERENA FIGUEROA, JAVIER       ADDRESS ON FILE
BERBERENA FIGUEROA, JAYSON       ADDRESS ON FILE
BERBERENA HERNANDEZ, CARLOS      ADDRESS ON FILE
BERBERENA MALDONADO, BERNICE     ADDRESS ON FILE
BERBERENA MALDONADO, GLADYS      ADDRESS ON FILE
BERBERENA MALDONADO, SARAI       ADDRESS ON FILE
BERBERENA MARTINEZ, MEDALIS      ADDRESS ON FILE




                                                                              Page 817 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 818 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERBERENA MUNIZ, CARMEN M           ADDRESS ON FILE
Berberena Navarro, Bienvenido       ADDRESS ON FILE
BERBERENA NAVARRO, BIENVENIDO       ADDRESS ON FILE
BERBERENA OLLER, JAIME              ADDRESS ON FILE
BERBERENA OLMEDA, PEDRO             ADDRESS ON FILE
BERBERENA RABELO, MARIEL            ADDRESS ON FILE
BERBERENA REYES, LUDIN              ADDRESS ON FILE
BERBERENA RIVERA, JAVIER ORLANDO    ADDRESS ON FILE
BERBERENA RIVERA, JULITZA           ADDRESS ON FILE
BERBERENA RIVERA, RUTH              ADDRESS ON FILE
BERBERENA ROBLES, RAQUEL            ADDRESS ON FILE
BERBERENA RODRIGUEZ, NEHEMIAS       ADDRESS ON FILE
BERBERENA RODRIGUEZ, NEPHTALI       ADDRESS ON FILE
BERBERENA ROSADO, CESAR A.          ADDRESS ON FILE
BERBERENA SANCHEZ, LUZ M            ADDRESS ON FILE
Berberena Serrano, Luis             ADDRESS ON FILE
BERBERENA SERRANO, MARLYN           ADDRESS ON FILE
BERBERENA VAZQUEZ, OTTO N C V       ADDRESS ON FILE
BERBERENA VELAZQUEZ, MARIBEL        ADDRESS ON FILE
BERBERENA, CARLOS                   ADDRESS ON FILE
BERCEANY MD , LUCIANA C             ADDRESS ON FILE
BERCEDONI LISSIER, VICTOR M         ADDRESS ON FILE
Bercedoni Pena, Kenny N.            ADDRESS ON FILE
BERCEDONIS COLON, SOL A             ADDRESS ON FILE
BERCEDONIS, MARIA INES              ADDRESS ON FILE
BERCELLIS J RIVERA BENERO           ADDRESS ON FILE
BERCERO CASTILLO, CARLOS            ADDRESS ON FILE
BERCERO CASTILLO, JOSE              ADDRESS ON FILE
BERDASCO BOSQUES, MAYRA I           ADDRESS ON FILE
BERDASCO BOSQUES, OLAIDA            ADDRESS ON FILE
Berdecia Agueda, Jeannette          ADDRESS ON FILE
BERDECIA AGUEDA, JEANNETTE          ADDRESS ON FILE
BERDECIA ALBINO, NELSON             ADDRESS ON FILE
BERDECIA ALGARIN, ALEJANDRO         ADDRESS ON FILE
BERDECIA ALVARESZ, ANTONIO          ADDRESS ON FILE
BERDECIA AYALA, MARIA DE LOS A      ADDRESS ON FILE
BERDECIA BENITEZ, JOSE              ADDRESS ON FILE
BERDECIA BENITEZ, JOSE R            ADDRESS ON FILE
BERDECIA BENITEZ, MARIA DE LOS A.   ADDRESS ON FILE
BERDECIA BERDECIA, EMMA             ADDRESS ON FILE
BERDECIA BURGOS, ELBA I.            ADDRESS ON FILE
BERDECIA CASTELLANO, FELIX          ADDRESS ON FILE
BERDECIA CASTILLO,BRYAN             ADDRESS ON FILE
BERDECIA COLON, CATIANA             ADDRESS ON FILE
BERDECIA CONDE, OMAR                ADDRESS ON FILE
BERDECIA CRUZ, CELIA E              ADDRESS ON FILE
BERDECIA CRUZ, CELIA E.             ADDRESS ON FILE
BERDECIA CRUZ, ELIZABETH            ADDRESS ON FILE
BERDECIA CRUZ, MARGIE               ADDRESS ON FILE
BERDECIA CRUZ, WILFREDO             ADDRESS ON FILE
BERDECIA CRUZ, YARIMAR              ADDRESS ON FILE
BERDECIA CRUZ, ZAIDA I.             ADDRESS ON FILE
BERDECIA DAVID, FELICITA            ADDRESS ON FILE
Berdecia Davila, Leonard L          ADDRESS ON FILE
BERDECIA DE CLAVEL, EMMA R          ADDRESS ON FILE
BERDECIA ESCALERA, YAJAIRA          ADDRESS ON FILE
BERDECIA FIGUEROA, ISMAEL           ADDRESS ON FILE
BERDECIA FIGUEROA, JULIA            ADDRESS ON FILE
BERDECIA GOMEZ, JOSE J              ADDRESS ON FILE
BERDECIA GONZALEZ, OSCAR            ADDRESS ON FILE




                                                                                Page 818 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 819 of 3500
                                                                                                        Creditor Matrix

Creditor Name                    Address1                                  Address2                                 Address3   Address4   City         State   PostalCode   Country
BERDECIA HERNANDEZ, ANGEL        ADDRESS ON FILE
BERDECIA HERNANDEZ, JOSE         ADDRESS ON FILE
BERDECIA JIMENEZ, IDALYS         ADDRESS ON FILE
BERDECIA LOPEZ, OSWEL            ADDRESS ON FILE
BERDECIA MALDONADO, ARTURO       ADDRESS ON FILE
BERDECIA MALDONADO, MARICARMEN   ADDRESS ON FILE
BERDECIA MARRERO, OLGA M         ADDRESS ON FILE
BERDECIA MARTINEZ, GUADALUPE     ADDRESS ON FILE
BERDECIA MELENDEZ, JOSE A        ADDRESS ON FILE
BERDECIA MELENDEZ, ORLANDO       ADDRESS ON FILE
BERDECIA NAZARIO, HECTOR         ADDRESS ON FILE
BERDECIA ORTIZ, ALEX             ADDRESS ON FILE
BERDECIA ORTIZ, ELEDYS           ADDRESS ON FILE
BERDECIA ORTIZ, LUZ E            ADDRESS ON FILE
BERDECIA ORTIZ, PEDRO            ADDRESS ON FILE
BERDECIA PEREZ, EDWIN O          ADDRESS ON FILE
BERDECIA PEREZ, GLADYS E         ADDRESS ON FILE
BERDECIA PEREZ, JOSE O           ADDRESS ON FILE
BERDECIA PEREZ, MAGDA I          ADDRESS ON FILE
BERDECIA RIVAS, WALESKA          ADDRESS ON FILE
BERDECIA RIVERA, ANTHONY         ADDRESS ON FILE
BERDECIA RIVERA, JOEL            ADDRESS ON FILE
BERDECIA RIVERA, LUIS A.         ADDRESS ON FILE
BERDECIA RIVERA, OLGA            ADDRESS ON FILE
BERDECIA RODRIGUEZ, LEIDA A      ADDRESS ON FILE
BERDECIA RODRIGUEZ, LUIS M.      ADDRESS ON FILE
BERDECIA RODRIGUEZ, MARIA E      ADDRESS ON FILE
BERDECIA RODRIGUEZ, RAMONITA     ADDRESS ON FILE
BERDECIA RODRIGUEZ, SANDY        ADDRESS ON FILE
BERDECIA RODRIGUEZ, VIVIANA      ADDRESS ON FILE
BERDECIA ROMAN, HECTOR           ADDRESS ON FILE
BERDECIA ROSA, MELBA             ADDRESS ON FILE
BERDECIA ROSADO, MARILU          ADDRESS ON FILE
BERDECIA SANCHEZ JAHAIRA         DEMANDANTE: LCDO. JULIO C. COLÓN ORTIZ    DEMANDANTE: PO BOX 386                                         SALINAS      PR      00751
BERDECIA SANCHEZ JAHAIRA         ELA POR LA ASEGURADORA REAL LEGACY: LCDO. ELA POR LA ASEGURADORA REAL LEGACY: PO BOX 364966              SAN JUAN     PR      00936‐4966
BERDECIA SIFUENTES, KRIZIA       ADDRESS ON FILE
BERDECIA SOTO, GRACE             ADDRESS ON FILE
BERDECIA SOTO, GRACE M.          ADDRESS ON FILE
BERDECIA SOTO, MARIA E           ADDRESS ON FILE
BERDECIA TIRADO, RUTH D          ADDRESS ON FILE
BERDECIA TORRES, GLORIMAR        ADDRESS ON FILE
BERDECIA TORRES, JOSE            ADDRESS ON FILE
BERDECIA TORRES, ROSIEVEL        ADDRESS ON FILE
BERDECIA VALENTIN, GLORIA M      ADDRESS ON FILE
BERDECIA VALENTIN, SANDRA I.     ADDRESS ON FILE
BERDECIA VARGAS, ANA D           ADDRESS ON FILE
BERDECIA VAZQUEZ, JORGE          ADDRESS ON FILE
BERDECIA VAZQUEZ, LAURA E        ADDRESS ON FILE
BERDECIA VELAZQUEZ, MADELINE     ADDRESS ON FILE
BERDECIA VELAZQUEZ, MARITZA      ADDRESS ON FILE
BERDECIA, WICKBERTO              ADDRESS ON FILE
BERDEGUEZ CARRILLO, SYLVIA       ADDRESS ON FILE
BERDEGUEZ RODRIGUEZ, EDDA        ADDRESS ON FILE
BERDEGUEZ SANCHEZ, LUIS          ADDRESS ON FILE
BERDIEL APONTE, MIGUEL           ADDRESS ON FILE
BERDIEL COLON, HECTOR            ADDRESS ON FILE
BERDIEL FERRA, NORBERTO          ADDRESS ON FILE
BERDIEL LOPEZ, BLANCA I          ADDRESS ON FILE
BERDIEL PUJOLS, MATIAS           ADDRESS ON FILE
BERDIEL RIVERA, LUIS             ADDRESS ON FILE




                                                                                                      Page 819 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 820 of 3500
                                                                                   Creditor Matrix

Creditor Name                      Address1                  Address2                           Address3   Address4   City            State   PostalCode   Country
BERDIEL RIVERA, LUIS MIGUEL        ADDRESS ON FILE
BERDIEL RIVERA, MIGUEL A           ADDRESS ON FILE
BERDIEL ROBLES, JOSE A             ADDRESS ON FILE
BERDIEL ROMAN, JOSE M              ADDRESS ON FILE
BERDIEL SANTANA, OSVALDO           ADDRESS ON FILE
BERDIEL SANTIAGO, MARCO            ADDRESS ON FILE
BERDIEL SERRANO, ORLANDO           ADDRESS ON FILE
BERDIEL SILVA, OTTO                ADDRESS ON FILE
BERDIEL TORRES, JOSE               ADDRESS ON FILE
BERDIEL TORRES, JOSE A.            ADDRESS ON FILE
BERDIEL TORRES, LUIS A             ADDRESS ON FILE
BERDIEL TORRES, MIGUEL             ADDRESS ON FILE
BERENGENAS TOWING INC              URB LAS ALONDRAS          A29 CALLE 1                                              VILLALBA        PR      00766‐2302
BERENGER BERROCALES, ISABEL        ADDRESS ON FILE
BERENGUER AGUILERA, CYNTHIA G      ADDRESS ON FILE
BERENGUER BERROCALES, JUAN E       ADDRESS ON FILE
Berenguer Caldero, Wilfredo        ADDRESS ON FILE
BERENGUER CALDERON, MARIA          ADDRESS ON FILE
BERENGUER CORDERO, CHRISTIAN       ADDRESS ON FILE
BERENGUER CRUZ, JOEL               ADDRESS ON FILE
BERENGUER CRUZ, RAMON L            ADDRESS ON FILE
BERENGUER MACAYA, DORA M.          ADDRESS ON FILE
BERENGUER MARTINEZ, JESSICA        ADDRESS ON FILE
BERENGUER MARTINEZ, JOSE           ADDRESS ON FILE
BERENGUER RIVERA, EDWIN            ADDRESS ON FILE
BERENGUER SANTIAGO, ALEXIS         ADDRESS ON FILE
BERENGUER SEPULVEDA, PEDRO J       ADDRESS ON FILE
BERENGUER SOTO, BOLIVAR E          ADDRESS ON FILE
BERENGUER TORRES, JASON            ADDRESS ON FILE
BERENICE BELLOTI SEVILLA           ADDRESS ON FILE
BERENICE CORREA RIVERA             ADDRESS ON FILE
BERENICE CRUZ PENA                 ADDRESS ON FILE
BERENICE MARIN GONZALEZ            ADDRESS ON FILE
BERENICE R. SUEIRO VAZQUEZ         ADDRESS ON FILE
BERENICE VELEZ GONZALEZ            ADDRESS ON FILE
BERENID BAYRON FERREIRA            ADDRESS ON FILE
BERENID LOPEZ RODRIGUEZ            ADDRESS ON FILE
BERENIS DROS PEREZ                 ADDRESS ON FILE
BERENITH ROMAN CRUZ                ADDRESS ON FILE
Berenna Pacheco Castillo           ADDRESS ON FILE
Berenquer Cruz, Joel               ADDRESS ON FILE
BEREZDIVIN BARROCAS, ROCHELLE      ADDRESS ON FILE
BERG MD , CHARLES F                ADDRESS ON FILE
BERG SOLUTIONS CONSULTING CORP     VILLA CARIBE              129 VIA CAFETAL                                          CAGUAS          PR      00727‐3036
BERGANZO RIVERA, LADY              ADDRESS ON FILE
BERGANZO RIVERA, LADY S            ADDRESS ON FILE
BERGARA ROLDAN, MARGARITA          ADDRESS ON FILE
BERGEN AMBULATORY SURGERY CENTER   ATTN: MEDICAL RECORDS     190 MIDLAND AVENUE                                       SADLE BROOK     NJ      07663
BERGEN REGIONAL MEDICAL CENTER     230 EAST RIDGEWOOD AVE                                                             PARAMUS         NJ      07652‐4131
BERGES BUISAC MD, FRANCISCO        ADDRESS ON FILE
BERGES CHEZ, EDDIE                 ADDRESS ON FILE
BERGES GONZALEZ, ROBERTO           ADDRESS ON FILE
BERGES MORALES, BRENDA L.          ADDRESS ON FILE
BERGES MORALES, MARCELINA          ADDRESS ON FILE
BERGHOFF MD , WILLIAM J            ADDRESS ON FILE
BERG‐HOWLAND ASSOCIATES INC        515 FRANKLIN STREET                                                                CAMBRIDGE       MA      02139‐3159
BERGODERE COLON, JOSE              ADDRESS ON FILE
BERGODERE COLON, JOSE M.           ADDRESS ON FILE
BERGOLLO ACEVEDO, NOEL             ADDRESS ON FILE
BERGOLLO AYALA, YOLANDA            ADDRESS ON FILE




                                                                                  Page 820 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 821 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                       Address1                                         Address2                                 Address3   Address4   City           State   PostalCode   Country
BERGOLLO BURGOS, GAMALIEL           ADDRESS ON FILE
BERGOLLO BURGOS, RUTH M             ADDRESS ON FILE
BERGOLLO CASILLLAS, FELIPE          ADDRESS ON FILE
BERGOLLO ESPINO, GERMAN             ADDRESS ON FILE
BERGOLLO FERNANDEZ, ELBA L          ADDRESS ON FILE
BERGOLLO LOZADA, MARILU             ADDRESS ON FILE
BERGOLLO MARTINEZ, ANGEL            ADDRESS ON FILE
BERGOLLO MARTINEZ, OMAYRA           ADDRESS ON FILE
BERGOLLO ORTIZ, MIRTA               ADDRESS ON FILE
BERGOLLO PABON, GABRIEL             ADDRESS ON FILE
BERGOLLO PABON, GABRIEL             ADDRESS ON FILE
BERGOLLO PAEZ, ELIZABETH            ADDRESS ON FILE
BERGOLLO RODRIGUEZ, ERNIE           ADDRESS ON FILE
Bergollo Rodriguez, Ernie E         ADDRESS ON FILE
BERGOLLO SANABRIA, LILLIAM          ADDRESS ON FILE
BERGOLLO SOTO, CATALINA             ADDRESS ON FILE
BERGOLLO TORRES, YARA               ADDRESS ON FILE
BERGOLLO VEGA, GLADYS               ADDRESS ON FILE
BERGOLLO VEGA, NOEL                 ADDRESS ON FILE
BERGOLLO VEGA, NOEMI                ADDRESS ON FILE
BERGOLLO VIDAL, AYSHA M             ADDRESS ON FILE
BERGOLLO, ALEXANDER                 ADDRESS ON FILE
BERGQUIST ARROYO, WILLIAM           ADDRESS ON FILE
BERGQUIST PEREZ, STEVEN             ADDRESS ON FILE
BERGQUIST SANCHEZ, JOHN             ADDRESS ON FILE
BERIGUETE MEDIN, ELENA              ADDRESS ON FILE
BERIGUETE MIRANDA, MADERIC          ADDRESS ON FILE
BERINGER TORRES, SONIA              ADDRESS ON FILE
BERIO ALVAREZ, RAUL                 ADDRESS ON FILE
BERIO BELTRAN, LUIS                 ADDRESS ON FILE
BERIO BONILLA, ISHAI                ADDRESS ON FILE
BERIO COSME, LIZVETTE               ADDRESS ON FILE
BERIO DISTRIBUTORS                  AREA DE TESORO                                   DIVISION DE CONCILIACION                                       SAN JUAN       PR      00902‐4140
BERIO DISTRIBUTORS                  PO BOX 2345                                                                                                     BAYAMON        PR      00960
BERIO DISTRIBUTORS INC              APARTADO 2345                                                                                                   BAYAMON        PR      00960
BERIO DISTRIBUTORS INC              PO BOX 2345                                                                                                     BAYAMON        PR      00960
BERIO RAMOS MD, FRANCISCO A         ADDRESS ON FILE
BERIO RAMOS, MONIN                  ADDRESS ON FILE
BERIO RAMOS, MONIN                  ADDRESS ON FILE
BERIO ROUSSEL, MARIELIZ             ADDRESS ON FILE
BERIO TIRADO, SHEILA                ADDRESS ON FILE
BERIO VARGAS, GUSTAVO               ADDRESS ON FILE
BERIO, CARMEN                       ADDRESS ON FILE
BERIOS ORTIZ, ALEXEI                ADDRESS ON FILE
BERIQUETE SANCHEZ, AURA             ADDRESS ON FILE
BERISTAIN LARRAZA, JORGE            ADDRESS ON FILE
BERKAN / MENDEZ                     ADDRESS ON FILE
BERKIS A. CABRERA HIRALDO           ADDRESS ON FILE
BERKIS AMARILYS BURGOS NUNEZ        ADDRESS ON FILE
BERKLEY INSURANCE COMPANY           3 STAMFORD PLAZA 301 TRESSER BLVD                                                                               STAMFORD       CT      06901
Berkley Insurance Company           475 Steamboat Road                               Floor 1                                                        Greenwich      CT      06830
Berkley Insurance Company           Attn: Kathleen Ferreira , Circulation of Risk    475 Steamboat Road                                             Greenwich      CT      06830
Berkley Insurance Company           Attn: Kathleen Ferreira, Consumer Complaint Con475 Steamboat Road                                               Greenwich      CT      06830
Berkley Insurance Company           Attn: Kathlenn Ferreira , Regulatory Compliance G475 Steamboat Road                                             Greenwich      CT      06830
Berkley Insurance Company           Attn: Larry Hansen, Vice President               475 Steamboat Road                                             Greenwich      CT      06830
Berkley Insurance Company           Attn: Mark Good, Premiun Tax Contact             475 Steamboat Road                                             Greenwich      CT      06830
Berkley Insurance Company           Attn: William Berkley, President                 475 Steamboat Road                                             Greenwich      CT      06830
Berkley Insurance Company           c/o CT Corporation System, Agent for Service of P475 Steamboat Road                                             Greenwich      CT      06830
BERKLEY INTERNATIONAL PUERTO RICO   530 AVE DE LA CONSTITUCION                                                                                      SAN JUAN       PR      00901
BERKSHIRE EYE CENTER                740 WILLIAMS STREET                                                                                             PITTSFIELD     MA      01201




                                                                                                                Page 821 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 822 of 3500
                                                                                                              Creditor Matrix

Creditor Name                              Address1                            Address2                                    Address3   Address4   City         State   PostalCode   Country
Berkshire Hathaway Assurance Corporation   3555 Farnam Street                                                                                    Omaha        NE      68131
Berkshire Hathaway Assurance Corporation   Attn: Donald Wurster, President     3024 Harney Street                                                Omaha        NE      68131‐3580
Berkshire Hathaway Assurance Corporation   Attn: Rod Rathbun, Vice President   3024 Harney Street                                                Omaha        NE      68131‐3580
BERKYS IRIZARRY                            ADDRESS ON FILE
BERLANGA GARCIA, JOSE                      ADDRESS ON FILE
BERLANGA ROSADO, ANA                       ADDRESS ON FILE
BERLANGA SANTIAGO, JESUS E.                ADDRESS ON FILE
BERLINGERI BERMUDEZ, CARLOS                ADDRESS ON FILE
BERLINGERI BONILLA, CYNTHIA                ADDRESS ON FILE
BERLINGERI DIAZ, JORGE L                   ADDRESS ON FILE
BERLINGERI EMANUELLI, JOSE                 ADDRESS ON FILE
BERLINGERI FIGUEROA, EDITH                 ADDRESS ON FILE
BERLINGERI GENES, EGBERTO                  ADDRESS ON FILE
BERLINGERI GUZMAN, ROSA A                  ADDRESS ON FILE
BERLINGERI HERNANDEZ, LILY I               ADDRESS ON FILE
BERLINGERI HERNANDEZ, MILDRED              ADDRESS ON FILE
BERLINGERI LABORDE, MARESSA                ADDRESS ON FILE
BERLINGERI MALAVE, FRANCISCO               ADDRESS ON FILE
BERLINGERI MIRANDA, JOSEPH                 ADDRESS ON FILE
BERLINGERI NEGRON, ROSA                    ADDRESS ON FILE
Berlingeri Pabon, Carmen L.                ADDRESS ON FILE
BERLINGERI RIVERA, DENISE                  ADDRESS ON FILE
BERLINGERI RODRIGUEZ, EGBERTO              ADDRESS ON FILE
BERLINGERI ROSA, JOSE                      ADDRESS ON FILE
BERLINGERI SANTIAGO, LOURDES               ADDRESS ON FILE
BERLINGERIE HERNANDEZ, VILMARIE            ADDRESS ON FILE
BERLINGERY RODRIGUEZ, LUCY                 ADDRESS ON FILE
BERLIS DIAZ FLORES                         ADDRESS ON FILE
BERLIS QUINONES SOLIS                      ADDRESS ON FILE
BERLIS QUINONES SOLIS                      ADDRESS ON FILE
BERLITZ                                    PLAZA EL AMAL BL                    282 J.T. PINERO AVENUE SUITE 200A                                 SAN JUAN     PR      00927
BERLITZ DE PUERTO RICO                     6701 MARGINAL BIASCOCHEA            SUITE 206 ISLA VERDE MALL                                         CAROLINA     PR      00979‐7606
BERLITZ DE PUERTO RICO                     PLAZA EL AMAL BLDG                  AVE 282 J T PIðEIRO SUITE 200 A                                   SAN JUAN     PR      00927
BERLITZ DE PUERTO RICO                     PLAZA EL AMAL BLDG                  282 AVE J T PINEIRO SUITE 200 A                                   SAN JUAN     PR      00927
BERLITZ I TORRES SANTIAGO                  ADDRESS ON FILE
BERLIZ TORRES SALGADO                      ADDRESS ON FILE
BERLY APONTE, BELSIE I                     ADDRESS ON FILE
BERLY APONTE, ELLIOT J                     ADDRESS ON FILE
Berly Bermudez, Rafael                     ADDRESS ON FILE
Berly De Jesus, Ramon                      ADDRESS ON FILE
BERLY RIVERA, CAIRA                        ADDRESS ON FILE
BERLY TORRES, DOLLY M                      ADDRESS ON FILE
BERLYDIS GARCIA ALBERT                     ADDRESS ON FILE
BERMAN MD, JEFFREY                         ADDRESS ON FILE
BERMEJO CHICO, JULIO                       ADDRESS ON FILE
BERMEJO CHICO,JULIO                        ADDRESS ON FILE
BERMEJO DE LA ROSA, DAVID                  ADDRESS ON FILE
BERMEJO DE LA ROSA, JACOB                  ADDRESS ON FILE
BERMEJO DECLET, MANUEL                     ADDRESS ON FILE
Bermejo Declet, Manuel A.                  ADDRESS ON FILE
BERMEJO MALDONADO, DANIEL                  ADDRESS ON FILE
BERMEJO MORALES, JOSE I                    ADDRESS ON FILE
BERMEJO MORALES, JOSE I.                   ADDRESS ON FILE
BERMEJO PLATA, JENITZA                     ADDRESS ON FILE
BERMEJO PLATA, NELSON                      ADDRESS ON FILE
BERMEJO RODRIGUEZ, JOSE                    ADDRESS ON FILE
BERMEJO SEMPRIT, ILIANA                    ADDRESS ON FILE
BERMEJO SERRANO, CARMEN A                  ADDRESS ON FILE
BERMEJO TORRES, MICHELLE                   ADDRESS ON FILE
BERMICHELLY M LOPEZ GABRIEL                ADDRESS ON FILE




                                                                                                             Page 822 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 823 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City            State   PostalCode   Country
BERMILY MALDONADO COLON         ADDRESS ON FILE
BERMIS RIVERA, ANA J            ADDRESS ON FILE
BERMONTIZ VELEZ, JOSE M         ADDRESS ON FILE
Bermonty Espinal, Emilio        ADDRESS ON FILE
BERMUDES DIAZ, ALBA V.          ADDRESS ON FILE
BERMUDES VEGA, AIDA L.          ADDRESS ON FILE
BERMUDEZ ACEVEDO, AGNES         ADDRESS ON FILE
BERMUDEZ ACEVEDO, DENISE        ADDRESS ON FILE
BERMUDEZ ACEVEDO, LUIS A.       ADDRESS ON FILE
BERMUDEZ ACEVEDO, MILAGROS      ADDRESS ON FILE
BERMUDEZ ACEVEDO, NYDIA E       ADDRESS ON FILE
BERMUDEZ ACEVEDO, ORLANDO       ADDRESS ON FILE
BERMUDEZ ACEVEDO, WADELINE      ADDRESS ON FILE
BERMUDEZ ACEVEDO, YAIRA         ADDRESS ON FILE
BERMUDEZ ACOSTA, LUCIA          ADDRESS ON FILE
BERMUDEZ ACOSTA, NAYDA L        ADDRESS ON FILE
BERMUDEZ AFANADOR, JESUS        ADDRESS ON FILE
BERMUDEZ AFANADOR, JOHANETTE    ADDRESS ON FILE
BERMUDEZ ALICEA, XIOMARA        ADDRESS ON FILE
BERMUDEZ ALLENDE, SAMORY        ADDRESS ON FILE
BERMUDEZ ALVAREZ, ISANYIMARIE   ADDRESS ON FILE
BERMUDEZ ALVAREZ, ISANYIMARIE   ADDRESS ON FILE
BERMUDEZ ALVAREZ, VICTOR        ADDRESS ON FILE
BERMUDEZ AMARO, CARMEN          ADDRESS ON FILE
BERMUDEZ AMARO, FAUSTO          ADDRESS ON FILE
BERMUDEZ AMARO, MANUEL          ADDRESS ON FILE
BERMUDEZ AMARO, SYRNIA E        ADDRESS ON FILE
BERMUDEZ ANAYA, JOVANY X        ADDRESS ON FILE
BERMUDEZ ANDINO, PAQUITA        ADDRESS ON FILE
BERMUDEZ APONTE, CARLOS         ADDRESS ON FILE
BERMUDEZ APONTE, JERRY          ADDRESS ON FILE
BERMUDEZ APONTE, JOSE           ADDRESS ON FILE
BERMUDEZ ARCE, IRAIDA           ADDRESS ON FILE
BERMUDEZ ARMAIZ, ROSARIO        ADDRESS ON FILE
BERMUDEZ AUTO SHOP              41 CALLE CENTRAL                                                                 COTO LAUREL     PR      00780
BERMUDEZ AYALA, JUAN CARLOS     ADDRESS ON FILE
BERMUDEZ BAEZ, MARIA J          ADDRESS ON FILE
BERMUDEZ BAEZ, NATIVIDAD        ADDRESS ON FILE
BERMUDEZ BANOS, LUIS A          ADDRESS ON FILE
BERMUDEZ BERMUDEZ, ISABEL       ADDRESS ON FILE
BERMUDEZ BERMUDEZ, LUZ I        ADDRESS ON FILE
BERMUDEZ BERMUDEZ, MARIA        ADDRESS ON FILE
BERMUDEZ BERMUDEZ, MARITZA      ADDRESS ON FILE
BERMUDEZ BERNARDI, CHRISTIAN    ADDRESS ON FILE
BERMUDEZ BERNARDI, JORGE        ADDRESS ON FILE
BERMUDEZ BERNIER, MELISSA       ADDRESS ON FILE
BERMUDEZ BERRIOS, SAMUEL        ADDRESS ON FILE
Bermudez Berrios, Samuel O.     ADDRESS ON FILE
BERMUDEZ BERTRAND, SATURNINO    ADDRESS ON FILE
BERMUDEZ BONERO, JOSUE          ADDRESS ON FILE
BERMUDEZ BONES, LILLIAM         ADDRESS ON FILE
BERMUDEZ BONES, LUZ             ADDRESS ON FILE
BERMUDEZ BRITO, ANIBAL          ADDRESS ON FILE
BERMUDEZ BRITO, KRENLY          ADDRESS ON FILE
Bermudez Brito, Luis R          ADDRESS ON FILE
BERMUDEZ BRUNO, DESIREE         ADDRESS ON FILE
BERMUDEZ BURGOS, GILBERTO       ADDRESS ON FILE
Bermudez Burgos, Roberto        ADDRESS ON FILE
BERMUDEZ BURGOS, WILFREDO       ADDRESS ON FILE
BERMUDEZ CABA MD, ANDRES        ADDRESS ON FILE




                                                                            Page 823 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 824 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ CABRERA, XIOMARA         ADDRESS ON FILE
BERMÚDEZ CABRERA, XIOMARA         ADDRESS ON FILE
BERMUDEZ CADAVEDO, MARY C         ADDRESS ON FILE
BERMUDEZ CAMPESINO, EVELYN        ADDRESS ON FILE
BERMUDEZ CAMPESINO, NILDA M       ADDRESS ON FILE
BERMUDEZ CAMPOS, FRANCISCO        ADDRESS ON FILE
BERMUDEZ CANALES, OLGA            ADDRESS ON FILE
BERMUDEZ CAPACETTI, AMELIA        ADDRESS ON FILE
BERMUDEZ CAPACETTI, GERARDO       ADDRESS ON FILE
BERMUDEZ CAPACETTI, HIRAM         ADDRESS ON FILE
BERMUDEZ CAPACETTI, NORMA         ADDRESS ON FILE
BERMUDEZ CARAMBOT, ERICK N.       ADDRESS ON FILE
BERMUDEZ CARMONA, ZAIDA           ADDRESS ON FILE
BERMUDEZ CARRASQUILLO, ALEXIS     ADDRESS ON FILE
BERMUDEZ CARRASQUILLO, HENRY      ADDRESS ON FILE
BERMUDEZ CARRILLO, RUTH           ADDRESS ON FILE
BERMUDEZ CARTAGENA, JOSE A        ADDRESS ON FILE
Bermudez Catala, Herminio         ADDRESS ON FILE
BERMUDEZ CATALA, MYRIAM           ADDRESS ON FILE
BERMUDEZ CENTENO, ESTEBAN         ADDRESS ON FILE
BERMUDEZ CINTRON, DANIEL          ADDRESS ON FILE
BERMUDEZ CINTRON, ISMAEL          ADDRESS ON FILE
BERMUDEZ COLON, AIMEE             ADDRESS ON FILE
BERMUDEZ COLON, CARMEN            ADDRESS ON FILE
BERMUDEZ COLON, CECILIO           ADDRESS ON FILE
BERMUDEZ COLON, ERIC              ADDRESS ON FILE
BERMUDEZ COLON, GLADYS            ADDRESS ON FILE
Bermudez Colon, Gloria M          ADDRESS ON FILE
BERMUDEZ COLON, MARIELIS          ADDRESS ON FILE
BERMUDEZ COLON, YAMILY            ADDRESS ON FILE
BERMUDEZ CORDERO, VANESSA         ADDRESS ON FILE
BERMUDEZ CORREA, EMILY E          ADDRESS ON FILE
BERMUDEZ CORREA, JOSE A.          ADDRESS ON FILE
BERMUDEZ COSME, ADA ENID          ADDRESS ON FILE
BERMUDEZ COSME, DAVID             ADDRESS ON FILE
BERMUDEZ COSME, JOHANNA           ADDRESS ON FILE
BERMUDEZ COSME, MARTHA            ADDRESS ON FILE
BERMUDEZ COSME, WILLIAM           ADDRESS ON FILE
BERMUDEZ COSME, WILLIAM           ADDRESS ON FILE
BERMUDEZ COSME, WILMARIE          ADDRESS ON FILE
BERMUDEZ COTTO, LIZA              ADDRESS ON FILE
BERMUDEZ COTTO, MARIA DE LOS A    ADDRESS ON FILE
BERMUDEZ CRUZ, KYARA              ADDRESS ON FILE
BERMUDEZ CRUZ, VICTOR             ADDRESS ON FILE
BERMUDEZ CUBERO,PEDRO JUAN        ADDRESS ON FILE
BERMUDEZ DAVILA, WILFREDO         ADDRESS ON FILE
BERMUDEZ DE GONZALEZ, RUTH E      ADDRESS ON FILE
BERMUDEZ DE JESUS, ENID           ADDRESS ON FILE
BERMUDEZ DE JESUS, IRAIDA         ADDRESS ON FILE
BERMUDEZ DE JESUS, XIOMARA        ADDRESS ON FILE
Bermudez De Jesus, Xyomara        ADDRESS ON FILE
Bermudez De La Cruz, Luis R       ADDRESS ON FILE
BERMUDEZ DE MIRANDA, AWILDA       ADDRESS ON FILE
BERMUDEZ DE PEDRO, EVELYN         ADDRESS ON FILE
BERMUDEZ DE TAFUR, DORIS S        ADDRESS ON FILE
BERMUDEZ DEJESUS, ROBERTO         ADDRESS ON FILE
BERMUDEZ DEL VALLE, JONATHAN      ADDRESS ON FILE
BERMUDEZ DEL VALLE, LUIS M        ADDRESS ON FILE
Bermudez Del Valle, Luis Miguel   ADDRESS ON FILE
BERMUDEZ DEL VALLE, PROVIDENCIA   ADDRESS ON FILE




                                                                              Page 824 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 825 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ DIAZ, ANA D             ADDRESS ON FILE
BERMUDEZ DIAZ, BRENDA            ADDRESS ON FILE
BERMUDEZ DIAZ, BRENDA            ADDRESS ON FILE
Bermudez Diaz, Enrique           ADDRESS ON FILE
BERMUDEZ DIAZ, EVELYN            ADDRESS ON FILE
BERMUDEZ DIAZ, JOHANNA           ADDRESS ON FILE
BERMUDEZ DIAZ, JOSE M.           ADDRESS ON FILE
BERMUDEZ DIAZ, LAURA             ADDRESS ON FILE
BERMUDEZ DIAZ, MIGUEL A.         ADDRESS ON FILE
BERMUDEZ DIAZ, MIGUEL A.         ADDRESS ON FILE
BERMUDEZ DIAZ, WILBERT           ADDRESS ON FILE
BERMUDEZ DIAZ, WILLIAM           ADDRESS ON FILE
BERMUDEZ EMMANUELLI, ROSA H.     ADDRESS ON FILE
BERMUDEZ ENCARNACION, JONATHAN   ADDRESS ON FILE
BERMUDEZ ESPINO, EDUARDO         ADDRESS ON FILE
BERMUDEZ ESPINO, KENNETH         ADDRESS ON FILE
BERMUDEZ ESPINO, KENNETH J       ADDRESS ON FILE
BERMUDEZ ESPINO, KENNETH J       ADDRESS ON FILE
BERMUDEZ ESPINO, SUJEY           ADDRESS ON FILE
BERMUDEZ FELICIANO, JONATHAN     ADDRESS ON FILE
BERMUDEZ FELIX, KAREN            ADDRESS ON FILE
BERMUDEZ FERNANDEZ, BELISA       ADDRESS ON FILE
BERMUDEZ FERNANDEZ, NAYDA        ADDRESS ON FILE
BERMUDEZ FIGUEROA, ALBERTO       ADDRESS ON FILE
Bermudez Figueroa, Angel         ADDRESS ON FILE
BERMUDEZ FIGUEROA, CARMEN        ADDRESS ON FILE
BERMUDEZ FIGUEROA, EVA E.        ADDRESS ON FILE
BERMUDEZ FIGUEROA, EVELYN        ADDRESS ON FILE
BERMUDEZ FIGUEROA, IRAIDA        ADDRESS ON FILE
BERMUDEZ FIGUEROA, MIGUEL A.     ADDRESS ON FILE
Bermudez Figueroa, Raquel        ADDRESS ON FILE
BERMUDEZ FIGUEROA, ROBERT        ADDRESS ON FILE
BERMUDEZ FLORES, HILDA E         ADDRESS ON FILE
BERMUDEZ FLORES, XIOMARA L       ADDRESS ON FILE
BERMUDEZ FONSECA, ESTHER         ADDRESS ON FILE
BERMUDEZ FONSECA, PEDRO          ADDRESS ON FILE
BERMUDEZ FONTANEZ, INEABELLE     ADDRESS ON FILE
BERMUDEZ FUENTES, EDNA           ADDRESS ON FILE
BERMUDEZ FUENTES, LILIANA        ADDRESS ON FILE
BERMUDEZ GARAY, EVA              ADDRESS ON FILE
BERMUDEZ GARAY, MIGDALI          ADDRESS ON FILE
Bermudez Garay, Pablo O          ADDRESS ON FILE
BERMUDEZ GARCIA, CECILIO         ADDRESS ON FILE
BERMUDEZ GARCIA, EDUARDO         ADDRESS ON FILE
BERMUDEZ GARCIA, ELIZABETH       ADDRESS ON FILE
BERMUDEZ GARCIA, GRISELLE M      ADDRESS ON FILE
BERMUDEZ GARCIA, HUMBERTO        ADDRESS ON FILE
BERMUDEZ GARCIA, MANUEL          ADDRESS ON FILE
BERMUDEZ GARCIA, ROBERTO         ADDRESS ON FILE
BERMUDEZ GOMEZ, ANDRES           ADDRESS ON FILE
BERMUDEZ GOMEZ, DAMARIS          ADDRESS ON FILE
BERMUDEZ GOMEZ, MARIA DE LOS     ADDRESS ON FILE
BERMUDEZ GOMEZ, MAURICIO         ADDRESS ON FILE
BERMUDEZ GONZAELZ, MARIA V.      ADDRESS ON FILE
BERMUDEZ GONZALEZ, HECTOR        ADDRESS ON FILE
BERMUDEZ GONZALEZ, IRIS M        ADDRESS ON FILE
BERMUDEZ GONZALEZ, JAVIER        ADDRESS ON FILE
BERMUDEZ GONZALEZ, LEILA         ADDRESS ON FILE
BERMUDEZ GONZALEZ, LEILA A.      ADDRESS ON FILE
BERMUDEZ GONZALEZ, MAGALY        ADDRESS ON FILE




                                                                             Page 825 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 826 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ GONZALEZ, MIGDALIA      ADDRESS ON FILE
BERMUDEZ GONZALEZ, MILTA E       ADDRESS ON FILE
BERMUDEZ GONZALEZ, MIRIAM        ADDRESS ON FILE
BERMUDEZ GONZALEZ, NILDA M       ADDRESS ON FILE
BERMUDEZ GONZALEZ, SUGEIL        ADDRESS ON FILE
BERMUDEZ GONZALEZ, WILDAIRY      ADDRESS ON FILE
BERMUDEZ GUZMAN, LUIS F          ADDRESS ON FILE
BERMUDEZ GUZMAN, NIDYA M         ADDRESS ON FILE
BERMUDEZ GUZMAN, WILLIAM         ADDRESS ON FILE
BERMUDEZ HERNANDEZ MD, THAIS     ADDRESS ON FILE
BERMUDEZ HERNANDEZ, ALFREDO      ADDRESS ON FILE
BERMUDEZ HERNANDEZ, BELINDA      ADDRESS ON FILE
BERMUDEZ HERNANDEZ, JACQUELINE   ADDRESS ON FILE
BERMUDEZ HERNANDEZ, JOSE         ADDRESS ON FILE
Bermudez Hernandez, Rafael       ADDRESS ON FILE
BERMUDEZ HERNANDEZ, WILFREDO     ADDRESS ON FILE
BERMUDEZ HUERTAS, LEISSA         ADDRESS ON FILE
BERMUDEZ INOSTROSA, JUAN         ADDRESS ON FILE
BERMUDEZ INOSTROZA, ANA E        ADDRESS ON FILE
BERMUDEZ INOSTROZA, WILLIAM      ADDRESS ON FILE
BERMUDEZ ISAAC, ANTONIA          ADDRESS ON FILE
BERMUDEZ JIMENEZ, LUIS           ADDRESS ON FILE
BERMUDEZ JOUBERT, CARLOS L       ADDRESS ON FILE
BERMUDEZ LASANTA, MARIA S        ADDRESS ON FILE
BERMUDEZ LAUREAN, MARCELINA      ADDRESS ON FILE
BERMUDEZ LAUREANO, EDITH I       ADDRESS ON FILE
BERMUDEZ LAUREANO, NORMA I       ADDRESS ON FILE
BERMUDEZ LEBRON, DAMARIS         ADDRESS ON FILE
BERMUDEZ LEON, DAISY             ADDRESS ON FILE
BERMUDEZ LEON, JAVIER            ADDRESS ON FILE
BERMUDEZ LIZARDI, ORLANDO        ADDRESS ON FILE
BERMUDEZ LIZARDI, ZILDALEE       ADDRESS ON FILE
BERMUDEZ LLANOS, CLOTILDE        ADDRESS ON FILE
BERMUDEZ LONGO DIAZ MASSO SE     ADDRESS ON FILE
Bermudez Lopez, Alberto          ADDRESS ON FILE
BERMUDEZ LOPEZ, HILDA E          ADDRESS ON FILE
BERMUDEZ LOPEZ, LUIS             ADDRESS ON FILE
BERMUDEZ LOPEZ, SIXTO            ADDRESS ON FILE
BERMUDEZ LOPEZ, WILFREDO         ADDRESS ON FILE
BERMUDEZ LOPEZ,RICARDO           ADDRESS ON FILE
BERMUDEZ LUGO, ANA               ADDRESS ON FILE
BERMUDEZ LUGO, KARIM E.          ADDRESS ON FILE
BERMUDEZ LUGO, KENNY             ADDRESS ON FILE
BERMUDEZ LUGO, MARIBELLE         ADDRESS ON FILE
BERMUDEZ LUGO, YUL               ADDRESS ON FILE
BERMUDEZ LUNA, ILEANA            ADDRESS ON FILE
BERMUDEZ MADERA, JOSEPH          ADDRESS ON FILE
BERMUDEZ MALDONADO, JIMMY        ADDRESS ON FILE
BERMUDEZ MALDONADO, MARIA        ADDRESS ON FILE
BERMUDEZ MALDONADO, RUTH E.      ADDRESS ON FILE
BERMUDEZ MANGUAL, JOSE E.        ADDRESS ON FILE
BERMUDEZ MARCANO, ANDRES         ADDRESS ON FILE
BERMUDEZ MARCANO, ELBA L         ADDRESS ON FILE
BERMUDEZ MARCANO, FERNANDO       ADDRESS ON FILE
Bermudez Marcano, Jose           ADDRESS ON FILE
BERMUDEZ MARGARIDA, RAUL         ADDRESS ON FILE
BERMUDEZ MARIN, IDALIA           ADDRESS ON FILE
BERMUDEZ MARQUEZ, ANGEL          ADDRESS ON FILE
BERMUDEZ MARQUEZ, ANGEL J.       ADDRESS ON FILE
BERMUDEZ MARQUEZ, MIGUEL         ADDRESS ON FILE




                                                                             Page 826 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 827 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ MARTES, MYRTA I            ADDRESS ON FILE
BERMUDEZ MARTINEZ, ABIGAIL          ADDRESS ON FILE
Bermudez Martinez, Carlos M         ADDRESS ON FILE
BERMUDEZ MARTINEZ, DANESSA M.       ADDRESS ON FILE
BERMUDEZ MARTINEZ, ELIZABETH        ADDRESS ON FILE
Bermudez Martinez, Felix            ADDRESS ON FILE
Bermudez Martinez, Heriberto        ADDRESS ON FILE
BERMUDEZ MARTINEZ, JESUS M          ADDRESS ON FILE
BERMUDEZ MARTINEZ, MARIA DE LOS A   ADDRESS ON FILE
BERMUDEZ MARTINEZ, MIRIAM D         ADDRESS ON FILE
BERMUDEZ MARTINEZ, MONSERRATE       ADDRESS ON FILE
BERMUDEZ MARTINEZ, NANCY M          ADDRESS ON FILE
BERMUDEZ MARTINEZ, RITA S           ADDRESS ON FILE
BERMUDEZ MARTINEZ, ZULMA            ADDRESS ON FILE
BERMUDEZ MATEO, MIGUEL              ADDRESS ON FILE
BERMUDEZ MATEO, SHEILA              ADDRESS ON FILE
BERMUDEZ MATOS, EFRAIN              ADDRESS ON FILE
BERMUDEZ MATOS, JUAN                ADDRESS ON FILE
BERMUDEZ MATOS, MARILYN             ADDRESS ON FILE
BERMUDEZ MATTEI, NELSON             ADDRESS ON FILE
BERMUDEZ MAYSONNET, JOSE            ADDRESS ON FILE
Bermudez Medina, Jean Carlos        ADDRESS ON FILE
BERMUDEZ MEDINA, LYDIA E            ADDRESS ON FILE
BERMUDEZ MEJIAS, JOSE               ADDRESS ON FILE
BERMUDEZ MELENDEZ, CRYSTAL          ADDRESS ON FILE
Bermudez Melendez, Jacqueline       ADDRESS ON FILE
BERMUDEZ MELENDEZ, JOHANNA          ADDRESS ON FILE
BERMUDEZ MELENDEZ, JOSE F           ADDRESS ON FILE
Bermudez Melendez, Jose M           ADDRESS ON FILE
BERMUDEZ MELENDEZ, LIZZETTE         ADDRESS ON FILE
BERMUDEZ MELENDEZ, MIZRAIM          ADDRESS ON FILE
BERMUDEZ MILLAN, ISMAEL             ADDRESS ON FILE
BERMUDEZ MIRANDA, ELYSEE            ADDRESS ON FILE
BERMUDEZ MIRANDA, JOSE              ADDRESS ON FILE
BERMUDEZ MIRANDA, JOSE A            ADDRESS ON FILE
BERMUDEZ MIRANDA, MARISOL           ADDRESS ON FILE
Bermudez Modesto, Luis R            ADDRESS ON FILE
Bermudez Molina, Joel               ADDRESS ON FILE
BERMUDEZ MOLINA, JOEL               ADDRESS ON FILE
Bermudez Molina, Juan C             ADDRESS ON FILE
BERMUDEZ MONROIG, MANUEL            ADDRESS ON FILE
BERMUDEZ MONROIG, MANUEL            ADDRESS ON FILE
Bermudez Montalvo, Lumaris          ADDRESS ON FILE
BERMUDEZ MONTANEZ, KEYSA            ADDRESS ON FILE
BERMUDEZ MONTANEZ, LUIS             ADDRESS ON FILE
BERMUDEZ MORALES, ARMANDO           ADDRESS ON FILE
BERMUDEZ MORALES, CARMEN            ADDRESS ON FILE
BERMUDEZ MORALES, FERNANDO          ADDRESS ON FILE
BERMUDEZ MORALES, FREDDY A          ADDRESS ON FILE
BERMUDEZ MORALES, INDALECIO         ADDRESS ON FILE
BERMUDEZ MORALES, JEANETTE M        ADDRESS ON FILE
BERMUDEZ MORALES, JOSE              ADDRESS ON FILE
BERMUDEZ MORALES, JOSE M            ADDRESS ON FILE
BERMUDEZ MORALES, JUANA M           ADDRESS ON FILE
BERMUDEZ MORALES, MARTA             ADDRESS ON FILE
BERMUDEZ MORALES, NANCY             ADDRESS ON FILE
BERMUDEZ MORALES, NINA              ADDRESS ON FILE
BERMUDEZ MORENO MD, EDGARDO         ADDRESS ON FILE
BERMUDEZ MRTINEZ, ADY               ADDRESS ON FILE
BERMUDEZ MUNIZ, JOSE                ADDRESS ON FILE




                                                                                Page 827 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 828 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ MUNOZ, ALEXIS           ADDRESS ON FILE
BERMUDEZ MUNOZ, ALEXIS N         ADDRESS ON FILE
BERMUDEZ MUNOZ, FELIX            ADDRESS ON FILE
BERMUDEZ MUNOZ, JANARA           ADDRESS ON FILE
BERMUDEZ NAVARRO, EDWIN          ADDRESS ON FILE
BERMUDEZ NAVEDO, GILBERTO        ADDRESS ON FILE
BERMUDEZ NEGRON, AFORTUNADA      ADDRESS ON FILE
BERMUDEZ NEGRON, JORGE           ADDRESS ON FILE
BERMUDEZ NEGRON, MIRTA A         ADDRESS ON FILE
BERMUDEZ NEGRON, NILDA I         ADDRESS ON FILE
BERMUDEZ NIEVES, ERIC            ADDRESS ON FILE
BERMUDEZ NIEVES, JOSE            ADDRESS ON FILE
BERMUDEZ NIEVES, JOSHUA          ADDRESS ON FILE
Bermudez Nieves, Luis O.         ADDRESS ON FILE
BERMUDEZ NIEVES, NICOLE          ADDRESS ON FILE
Bermudez Ocasio, David           ADDRESS ON FILE
BERMUDEZ OCASIO, JANIRE          ADDRESS ON FILE
BERMUDEZ OCASIO, JORGE           ADDRESS ON FILE
BERMUDEZ OCASIO, SONIA           ADDRESS ON FILE
BERMUDEZ O'FARRIL, LOYDA         ADDRESS ON FILE
BERMUDEZ OFARRILL, ABIGAIL       ADDRESS ON FILE
BERMUDEZ OLAVARRIA, HECTOR       ADDRESS ON FILE
BERMUDEZ OLIVO, ARACELIS         ADDRESS ON FILE
BERMUDEZ OLIVO, BRENDA LIZ       ADDRESS ON FILE
BERMUDEZ OLIVO, CESAR A.         ADDRESS ON FILE
BERMUDEZ OLMEDA, AIXA J          ADDRESS ON FILE
BERMUDEZ OQUENDO, ANGEL          ADDRESS ON FILE
Bermudez Oquendo, Angel L        ADDRESS ON FILE
Bermudez Oquendo, Ivonne Marie   ADDRESS ON FILE
BERMUDEZ OQUENDO, JOSE I.        ADDRESS ON FILE
BERMUDEZ ORTIZ, ANGEL            ADDRESS ON FILE
BERMUDEZ ORTIZ, ANNIE            ADDRESS ON FILE
BERMUDEZ ORTIZ, ANNIE L          ADDRESS ON FILE
BERMUDEZ ORTIZ, ARIEL            ADDRESS ON FILE
BERMUDEZ ORTIZ, BENITO           ADDRESS ON FILE
BERMUDEZ ORTIZ, DARVIN           ADDRESS ON FILE
BERMUDEZ ORTIZ, DEBORAH          ADDRESS ON FILE
BERMUDEZ ORTIZ, DOMINGO R        ADDRESS ON FILE
BERMUDEZ ORTIZ, FABIOLA S        ADDRESS ON FILE
BERMUDEZ ORTIZ, IRIS YOLANDA     ADDRESS ON FILE
BERMUDEZ ORTIZ, JORGE            ADDRESS ON FILE
BERMUDEZ ORTIZ, JOSE R           ADDRESS ON FILE
BERMUDEZ ORTIZ, NEREIDA          ADDRESS ON FILE
BERMUDEZ ORTIZ, NYDIA L.         ADDRESS ON FILE
Bermudez Ortiz, Reinaldo         ADDRESS ON FILE
BERMUDEZ ORTIZ, VICTOR           ADDRESS ON FILE
BERMUDEZ ORTIZ, WILLIAM          ADDRESS ON FILE
BERMUDEZ PACHECO, FERDINAND      ADDRESS ON FILE
BERMUDEZ PADUANI, REYNALDO       ADDRESS ON FILE
BERMUDEZ PAGAN, ALBA I           ADDRESS ON FILE
BERMUDEZ PAGAN, CARMEN M         ADDRESS ON FILE
BERMUDEZ PAGAN, MANUEL           ADDRESS ON FILE
BERMUDEZ PAGAN, MARITZA          ADDRESS ON FILE
BERMUDEZ PAGAN, PATRICIA         ADDRESS ON FILE
BERMUDEZ PAGAN, VALERIA          ADDRESS ON FILE
BERMUDEZ PAGAN, YADIEL           ADDRESS ON FILE
BERMUDEZ PEREA, MARIA V          ADDRESS ON FILE
BERMUDEZ PEREZ, ANGELA M         ADDRESS ON FILE
BERMUDEZ PEREZ, DAMARYS          ADDRESS ON FILE
BERMUDEZ PEREZ, ELBA M           ADDRESS ON FILE




                                                                             Page 828 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 829 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ PEREZ, LUIS A             ADDRESS ON FILE
BERMUDEZ PEREZ, LUIS A.            ADDRESS ON FILE
BERMUDEZ PEREZ, MAGALY             ADDRESS ON FILE
BERMUDEZ PEREZ, MAGALY             ADDRESS ON FILE
BERMUDEZ PEREZ, MARIA DEL          ADDRESS ON FILE
BERMUDEZ PEREZ, ORLANDO            ADDRESS ON FILE
BERMUDEZ PEREZ, WILFREDO           ADDRESS ON FILE
BERMUDEZ PINTO, YARITZA I          ADDRESS ON FILE
BERMUDEZ PORTALATIN, KEVIN R       ADDRESS ON FILE
BERMUDEZ QUILES, MARIA             ADDRESS ON FILE
BERMUDEZ QUINONES, JOSE            ADDRESS ON FILE
BERMUDEZ QUINONES, JOSE R          ADDRESS ON FILE
BERMUDEZ QUINONES, YOEL            ADDRESS ON FILE
BERMUDEZ QUINONEZ, CONFESOR        ADDRESS ON FILE
BERMUDEZ RAMIREZ, PAULETTE         ADDRESS ON FILE
BERMUDEZ RAMOS, KYMBERLY           ADDRESS ON FILE
BERMUDEZ RAMOS, RAFAEL             ADDRESS ON FILE
BERMUDEZ RAMOS, ROBERTO L          ADDRESS ON FILE
BERMUDEZ REVERON, JAVIER           ADDRESS ON FILE
Bermudez Reyes, Alex D             ADDRESS ON FILE
BERMUDEZ REYES, BLANCA I           ADDRESS ON FILE
BERMUDEZ REYES, JENIFER            ADDRESS ON FILE
BERMUDEZ REYES, JUAN P             ADDRESS ON FILE
BERMUDEZ REYES, KENNY              ADDRESS ON FILE
BERMUDEZ REYES, MARISSA            ADDRESS ON FILE
BERMUDEZ RIVERA MD, LIVIA M        ADDRESS ON FILE
BERMUDEZ RIVERA, ALBERTO           ADDRESS ON FILE
Bermudez Rivera, Alberto           ADDRESS ON FILE
BERMUDEZ RIVERA, ANGEL             ADDRESS ON FILE
BERMUDEZ RIVERA, CARLOS            ADDRESS ON FILE
BERMUDEZ RIVERA, CARLOS            ADDRESS ON FILE
BERMUDEZ RIVERA, CARMEN            ADDRESS ON FILE
BERMUDEZ RIVERA, FELIX             ADDRESS ON FILE
BERMUDEZ RIVERA, GIOVANNA          ADDRESS ON FILE
BERMUDEZ RIVERA, INGRED M          ADDRESS ON FILE
BERMUDEZ RIVERA, IRIS              ADDRESS ON FILE
BERMUDEZ RIVERA, IRIS              ADDRESS ON FILE
BERMUDEZ RIVERA, JESSICA           ADDRESS ON FILE
BERMUDEZ RIVERA, JESSICA           ADDRESS ON FILE
BERMUDEZ RIVERA, JESSICA           ADDRESS ON FILE
Bermudez Rivera, Juan              ADDRESS ON FILE
BERMUDEZ RIVERA, LORIANNE          ADDRESS ON FILE
BERMUDEZ RIVERA, LUIS              ADDRESS ON FILE
BERMUDEZ RIVERA, LYDIA MARGARITA   ADDRESS ON FILE
Bermudez Rivera, Miguel A          ADDRESS ON FILE
BERMUDEZ RIVERA, MILDRED           ADDRESS ON FILE
BERMUDEZ RIVERA, MIREYA            ADDRESS ON FILE
BERMUDEZ RIVERA, OSCAR             ADDRESS ON FILE
BERMUDEZ RIVERA, PEDRO             ADDRESS ON FILE
BERMUDEZ RIVERA, ROSALIZ           ADDRESS ON FILE
BERMUDEZ RIVERA, RUTH E            ADDRESS ON FILE
BERMUDEZ RIVERA, SERGIO            ADDRESS ON FILE
BERMUDEZ RIVERA, SORANGEL          ADDRESS ON FILE
BERMUDEZ RIVERA, STEPHANIE         ADDRESS ON FILE
BERMUDEZ RIVERA, TJADER            ADDRESS ON FILE
BERMUDEZ RIVERA, WISESTHER         ADDRESS ON FILE
BERMUDEZ RIVERA, WISESTHER         ADDRESS ON FILE
BERMUDEZ RIVERA, ZULMARIE          ADDRESS ON FILE
BERMUDEZ ROBLES, ANA Y             ADDRESS ON FILE
BERMUDEZ ROBLES, EDGAR A           ADDRESS ON FILE




                                                                               Page 829 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 830 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ ROBLES, HECTOR              ADDRESS ON FILE
BERMUDEZ ROBLES, HEYDI               ADDRESS ON FILE
BERMUDEZ ROBLES, KRISTIAN            ADDRESS ON FILE
BERMUDEZ ROBLES, WIDALYS             ADDRESS ON FILE
Bermudez Robles, Wildaliz            ADDRESS ON FILE
BERMUDEZ RODRIGUE, CARLOS A          ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, ADA I            ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, ALEXIS           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, ANTHONY R        ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, ARACELIA         ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, CARLOS           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, CARLOS           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, EDGARDO E        ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, ELIZABETH        ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, ELVIRA           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, FELIX            ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, FELIX N.         ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, GILBERTO         ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, GLORIMAR         ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, GUSTAVO          ADDRESS ON FILE
Bermudez Rodriguez, Hector           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, JONATHAN         ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, JOSE             ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, JUAN O           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, LESLIE           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, LUIS R           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, MANUEL           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, MAYRA            ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, MIGDALIA         ADDRESS ON FILE
Bermudez Rodriguez, Roger M.         ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, RUTH J           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, TERESA           ADDRESS ON FILE
BERMUDEZ RODRIGUEZ, WILLIAM MIGUEL   ADDRESS ON FILE
BERMUDEZ ROLDAN, JUAN                ADDRESS ON FILE
BERMUDEZ ROLDAN, JUAN P.             ADDRESS ON FILE
BERMUDEZ ROMAN, HECTOR               ADDRESS ON FILE
Bermudez Roman, Luis A               ADDRESS ON FILE
BERMUDEZ ROMAN, WILLIAM              ADDRESS ON FILE
BERMUDEZ ROMERO, GERTRUDIS           ADDRESS ON FILE
BERMUDEZ ROMERO, IRIS C              ADDRESS ON FILE
BERMUDEZ ROSA, JULIO                 ADDRESS ON FILE
BERMUDEZ ROSADO, BOLIVAR             ADDRESS ON FILE
BERMUDEZ ROSADO, DAMARIS DEL C       ADDRESS ON FILE
BERMUDEZ ROSADO, DAVID               ADDRESS ON FILE
BERMUDEZ ROSADO, LETICIA             ADDRESS ON FILE
BERMUDEZ ROSADO, NOEL                ADDRESS ON FILE
BERMUDEZ ROSADO, VIMARY              ADDRESS ON FILE
Bermudez Rosario, Angel L            ADDRESS ON FILE
BERMUDEZ ROSARIO, EDITH              ADDRESS ON FILE
BERMUDEZ ROSARIO, GRETCHEN M         ADDRESS ON FILE
BERMUDEZ ROSARIO, LUDIN              ADDRESS ON FILE
BERMUDEZ RUIZ, DELSIE R              ADDRESS ON FILE
BERMUDEZ RUIZ, ELVIS J               ADDRESS ON FILE
BERMUDEZ RUIZ, RAQUEL                ADDRESS ON FILE
BERMUDEZ SAEZ, MARIA                 ADDRESS ON FILE
BERMUDEZ SANABRIA, CATHERINE         ADDRESS ON FILE
BERMUDEZ SANABRIA, DARLENE           ADDRESS ON FILE
BERMUDEZ SANCHEZ, AMADEO             ADDRESS ON FILE
BERMUDEZ SANCHEZ, CARLOS             ADDRESS ON FILE
BERMUDEZ SANCHEZ, IRVIN              ADDRESS ON FILE




                                                                                 Page 830 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 831 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERMUDEZ SANCHEZ, JORGE L       ADDRESS ON FILE
BERMUDEZ SANCHEZ, MANUEL        ADDRESS ON FILE
BERMUDEZ SANCHEZ, NILDA         ADDRESS ON FILE
BERMUDEZ SANCHEZ, NYDIA I       ADDRESS ON FILE
BERMUDEZ SANCHEZ, SANTOS        ADDRESS ON FILE
BERMUDEZ SANTANA, MARISELA      ADDRESS ON FILE
BERMUDEZ SANTIAGO, CARMEN C     ADDRESS ON FILE
BERMUDEZ SANTIAGO, ELIZABETH    ADDRESS ON FILE
BERMUDEZ SANTIAGO, HILDA M      ADDRESS ON FILE
BERMUDEZ SANTIAGO, LAURA        ADDRESS ON FILE
BERMUDEZ SANTIAGO, LUIS         ADDRESS ON FILE
BERMUDEZ SANTIAGO, LUIS A       ADDRESS ON FILE
BERMUDEZ SANTIAGO, MAGDA        ADDRESS ON FILE
BERMUDEZ SANTIAGO, MASSIEL L.   ADDRESS ON FILE
BERMUDEZ SANTIAGO, MIGUEL A.    ADDRESS ON FILE
BERMUDEZ SANTIAGO, NEFTALI      ADDRESS ON FILE
BERMUDEZ SANTIAGO, REBECA       ADDRESS ON FILE
BERMUDEZ SANTIAGO, SANDRA       ADDRESS ON FILE
Bermudez Santiago, Zamary       ADDRESS ON FILE
BERMUDEZ SANTOS, JOSE J.        ADDRESS ON FILE
BERMUDEZ SANTOS, ROSA I         ADDRESS ON FILE
BERMUDEZ SEPULVEDA, JOSE G      ADDRESS ON FILE
BERMUDEZ SERRANO, CARMEN        ADDRESS ON FILE
BERMUDEZ SIERRA, PEDRO          ADDRESS ON FILE
BERMUDEZ SIERRA, PEDRO A.       ADDRESS ON FILE
BERMUDEZ SINISTERRA, JUAN       ADDRESS ON FILE
BERMUDEZ SOLIVAN, MARIELI       ADDRESS ON FILE
BERMUDEZ SOLIVAN, MARLENE       ADDRESS ON FILE
BERMUDEZ SOSTRE, IRIS N         ADDRESS ON FILE
BERMUDEZ SOTO, ANGEL L          ADDRESS ON FILE
Bermudez Soto, Bedy             ADDRESS ON FILE
BERMUDEZ SOTO, FERNANDO         ADDRESS ON FILE
BERMUDEZ SOTO, IRIS J           ADDRESS ON FILE
BERMUDEZ SOTO, JIMMY            ADDRESS ON FILE
BERMUDEZ SOTO, SHELISA          ADDRESS ON FILE
BERMUDEZ SOTO, SOL M            ADDRESS ON FILE
BERMUDEZ SOTOMAYOR, CARLOS      ADDRESS ON FILE
BERMUDEZ STEVENS, IVELISSE      ADDRESS ON FILE
BERMUDEZ STUBBE, EDUARDO A      ADDRESS ON FILE
BERMUDEZ SUAREZ, ALBERTO        ADDRESS ON FILE
BERMUDEZ SUAREZ, SANDRA         ADDRESS ON FILE
BERMUDEZ TIRADO, DAVID          ADDRESS ON FILE
BERMUDEZ TORRENS, MAYTE         ADDRESS ON FILE
BERMUDEZ TORRES, ABELARDO       ADDRESS ON FILE
BERMUDEZ TORRES, ABISAI         ADDRESS ON FILE
BERMUDEZ TORRES, CARLOS         ADDRESS ON FILE
BERMUDEZ TORRES, CARLOS M.      ADDRESS ON FILE
BERMUDEZ TORRES, CEREIDA        ADDRESS ON FILE
BERMUDEZ TORRES, JERANFER       ADDRESS ON FILE
BERMUDEZ TORRES, JOSHUA         ADDRESS ON FILE
BERMUDEZ TORRES, NELSON         ADDRESS ON FILE
BERMUDEZ TORRES, RUTH           ADDRESS ON FILE
BERMUDEZ TORRES, SAMUEL         ADDRESS ON FILE
BERMUDEZ TORRES, YAMARIS        ADDRESS ON FILE
BERMUDEZ TORREZ, ABELARDO       ADDRESS ON FILE
BERMUDEZ TRINIDAD, ANA I        ADDRESS ON FILE
BERMUDEZ TRINIDAD, ANA I        ADDRESS ON FILE
BERMUDEZ TRINIDAD, EDILTRUDIS   ADDRESS ON FILE
BERMUDEZ TURPEAU, DOMINGO       ADDRESS ON FILE
BERMUDEZ TURPEAU, DOMINGO       ADDRESS ON FILE




                                                                            Page 831 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 832 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                         Address2                 Address3   Address4    City         State   PostalCode   Country
BERMUDEZ URBINA, ABIGAIL         ADDRESS ON FILE
BERMUDEZ URBINA, CARLOS          ADDRESS ON FILE
BERMUDEZ VALDES, JONATHAN        ADDRESS ON FILE
BERMUDEZ VARELA, SEVERINO        ADDRESS ON FILE
BERMUDEZ VARGAS, BERNABE         ADDRESS ON FILE
BERMUDEZ VEGA, AIDA L.           ADDRESS ON FILE
BERMUDEZ VEGA, ANA G             ADDRESS ON FILE
BERMUDEZ VEGA, ARIANA            ADDRESS ON FILE
Bermudez Vega, Bladimarie        ADDRESS ON FILE
BERMUDEZ VEGA, MARIA             ADDRESS ON FILE
BERMUDEZ VEGA, OMAYRA            ADDRESS ON FILE
BERMUDEZ VEGA, RAUL              ADDRESS ON FILE
BERMUDEZ VELAZQUEZ, YOLANDA      ADDRESS ON FILE
BERMUDEZ VELEZ, ANGELA           ADDRESS ON FILE
BERMUDEZ VELEZ, EULOGIO          ADDRESS ON FILE
BERMUDEZ VELEZ, LYDIA            ADDRESS ON FILE
BERMUDEZ VELEZ, MAGALI           ADDRESS ON FILE
BERMUDEZ VELEZ, SILKA            ADDRESS ON FILE
BERMUDEZ VERA MD, ARIEL E        ADDRESS ON FILE
BERMUDEZ VIDAL, DANIEL           ADDRESS ON FILE
BERMUDEZ VIDAL, REINALDO         ADDRESS ON FILE
BERMUDEZ VIERA, THOMAS           ADDRESS ON FILE
BERMUDEZ VILLEGAS, REGINA        ADDRESS ON FILE
BERMUDEZ VILLEGAS, RICARDO       ADDRESS ON FILE
BERMUDEZ VIRUET, DOLORES K       ADDRESS ON FILE
BERMUDEZ Y DELGADO ARQ           898 AVE MUNOZ RIVERA SUITE 303                                                   SAN JUAN     PR      00927
BERMUDEZ, ANGEL L                ADDRESS ON FILE
BERMUDEZ, ELIZABETH              ADDRESS ON FILE
BERMUDEZ, JORGE L.               ADDRESS ON FILE
BERMUDEZ, JOSE L.                ADDRESS ON FILE
BERMUDEZ, LUIS                   ADDRESS ON FILE
BERMUDEZ, NATALIE                ADDRESS ON FILE
BERMUDEZ, REYNALDO               ADDRESS ON FILE
BERMUDEZ, SAUL                   ADDRESS ON FILE
BERMUDEZ, STEPHANIE              ADDRESS ON FILE
BERMUDEZ,LONGO, DIAZ‐MASSO LLC   PO BOX 191213                                                                    SAN JUAN     PR      00919
BERMUDEZ,YUL                     ADDRESS ON FILE
BERMY LOPEZ GONZALEZ             ADDRESS ON FILE
BERNA RUIZ RODRIGUEZ             ADDRESS ON FILE
BERNABE A ANGELES BENCOSME       ADDRESS ON FILE
BERNABE ACUNA, ALBERTO           ADDRESS ON FILE
BERNABE ACUNA, VIVIAN C.         ADDRESS ON FILE
BERNABE ALVARADO, JENNIFER       ADDRESS ON FILE
BERNABE DIAZ, CORALIE            ADDRESS ON FILE
Bernabe Diaz, Victor             ADDRESS ON FILE
BERNABE DONES, RAUL              ADDRESS ON FILE
BERNABE FELICIANO MATIAS         ADDRESS ON FILE
BERNABE FLECHA, ROSA M.          ADDRESS ON FILE
BERNABE HERNANDEZ                ADDRESS ON FILE
BERNABE JR., ANGEL LUIS          ADDRESS ON FILE
BERNABE LOPEZ, YONELISE          ADDRESS ON FILE
BERNABE MONTANEZ, VICTOR         ADDRESS ON FILE
BERNABE NIEVES SOTO              ADDRESS ON FILE
Bernabe Pacheco, Angelica        ADDRESS ON FILE
Bernabe Pacheco, Victor          ADDRESS ON FILE
BERNABE PACHECO, VICTOR          ADDRESS ON FILE
BERNABE PADILLA SOSA             ADDRESS ON FILE
BERNABE PAGAN, KARLA             ADDRESS ON FILE
BERNABE PEREZ, MARIEL            ADDRESS ON FILE
BERNABE QUINONEZ DAVILA          ADDRESS ON FILE




                                                                             Page 832 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 833 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERNABE RIVERA, JAVIER              ADDRESS ON FILE
BERNABE RIVERA, YESENIA             ADDRESS ON FILE
BERNABE SOLER MUNIZ                 ADDRESS ON FILE
BERNABE TORRES, BETZAIDA            ADDRESS ON FILE
BERNABE TORRES, CARMEN S            ADDRESS ON FILE
BERNABE TORRES, CARMEN S.           ADDRESS ON FILE
BERNABE VAZQUEZ, CARLOS             ADDRESS ON FILE
BERNABE VAZQUEZ, NELSON             ADDRESS ON FILE
BERNACET BERMUDEZ, JUAN             ADDRESS ON FILE
BERNACET DUENO, OMAYRA L            ADDRESS ON FILE
BERNACET ELECTRIC CONTRACTORS INC   PO BOX 2380                                                                      UTUADO       PR      00641‐2474
BERNACET GUZMAN, JOSE I             ADDRESS ON FILE
BERNACETT NEGRON, DANIEL            ADDRESS ON FILE
BERNACETT NEGRON, MANUEL            ADDRESS ON FILE
BERNACETT RODRIGUEZ, DANIEL M.      ADDRESS ON FILE
Bernad Cruz, Luis A                 ADDRESS ON FILE
BERNADAT MERCADO MORALES            ADDRESS ON FILE
BERNADETTE AROCHO CRUZ              ADDRESS ON FILE
BERNADETTE FELICIANO LUCIANO        ADDRESS ON FILE
BERNADETTE G RAMOS CARDONA          ADDRESS ON FILE
BERNADETTE PUJOLS OTERO             ADDRESS ON FILE
BERNADNAVARRO, VICENTE              ADDRESS ON FILE
BERNAIN MAINTENANCE SERVICE INC     PO BOX 335591                                                                    PONCE        PR      00733‐5591
BERNAL ALOMAR, CARLOS               ADDRESS ON FILE
BERNAL CARDONA, BLANCA I            ADDRESS ON FILE
BERNAL COLON, LEDIA                 ADDRESS ON FILE
BERNAL CRUZ, VICTORINO              ADDRESS ON FILE
BERNAL FIGUEROA, ROBERTO            ADDRESS ON FILE
BERNAL HALL, VICTOR C.              ADDRESS ON FILE
BERNAL IRIZARRY, MARIELA            ADDRESS ON FILE
BERNAL JIMENEZ, LUIS M.             ADDRESS ON FILE
BERNAL JIMENEZ, MARTA               ADDRESS ON FILE
BERNAL LOPEZ, MIRAYDA               ADDRESS ON FILE
BERNAL LOPEZ, MIRAYDA               ADDRESS ON FILE
BERNAL LOPEZ, RICARDO               ADDRESS ON FILE
BERNAL MALDONADO, JANICE            ADDRESS ON FILE
BERNAL MALDONADO, VICKIE A.         ADDRESS ON FILE
BERNAL MALDONADO, VICKIE A.         ADDRESS ON FILE
Bernal Martinez, Jose R             ADDRESS ON FILE
BERNAL MCGRAIL, DENISE A.           ADDRESS ON FILE
BERNAL MONROUZEAU, MARIA            ADDRESS ON FILE
BERNAL RAMIREZ, WILLIAM             ADDRESS ON FILE
BERNAL RIOS, DIEGO A.               ADDRESS ON FILE
BERNAL TORRES, JAVIER               ADDRESS ON FILE
BERNAL VARGAS, MARIO F.             ADDRESS ON FILE
BERNAL VERA, CANDIDO                ADDRESS ON FILE
BERNAL, NILMARISA                   ADDRESS ON FILE
BERNALD ADORNO, MARIA D             ADDRESS ON FILE
BERNALDINO DE LEON                  ADDRESS ON FILE
BERNALIZ PIMENTEL ROMAN             ADDRESS ON FILE
BERNANDEZ BERNANDEZ, LUZ D          ADDRESS ON FILE
BERNAOLA VERA, RAFAEL               ADDRESS ON FILE
BERNARD AGUIRRE, AWILDA             ADDRESS ON FILE
Bernard Aguirre, Iluminado          ADDRESS ON FILE
BERNARD ALICEA, JOSE D.             ADDRESS ON FILE
BERNARD ANDINO, ABNEL               ADDRESS ON FILE
BERNARD ANDINO, MICHAEL             ADDRESS ON FILE
BERNARD ARROYO, BIENVENIDO          ADDRESS ON FILE
BERNARD ARROYO, EULALIA             ADDRESS ON FILE
Bernard Arroyo, Jose A              ADDRESS ON FILE




                                                                                Page 833 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 834 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Bernard Arroyo, Luis O          ADDRESS ON FILE
Bernard Arroyo, Santos          ADDRESS ON FILE
BERNARD AVILES, MILDRED         ADDRESS ON FILE
BERNARD BARREIRO, GERMAIN       ADDRESS ON FILE
BERNARD BARREIRO, LIZ           ADDRESS ON FILE
BERNARD BERMUDEZ GOTAY, JAIME   ADDRESS ON FILE
BERNARD BERMUDEZ, JUDITH        ADDRESS ON FILE
BERNARD BERNARD, JESUS M        ADDRESS ON FILE
BERNARD BOIGUES, NORBERTO       ADDRESS ON FILE
BERNARD BONILLA, IRIS Y         ADDRESS ON FILE
BERNARD BONILLA, MARGARITA      ADDRESS ON FILE
BERNARD BONILLA, MARGARITA      ADDRESS ON FILE
BERNARD BONILLA, NANCY C.       ADDRESS ON FILE
BERNARD BURGOS, CARLOS          ADDRESS ON FILE
BERNARD BURGOS, CARLOS A.       ADDRESS ON FILE
BERNARD CABRERA, LOBSANG        ADDRESS ON FILE
BERNARD CARTAGENA, LAYNA        ADDRESS ON FILE
BERNARD CRUZ, ELIZABET H        ADDRESS ON FILE
BERNARD CRUZ, GEOVANNIE         ADDRESS ON FILE
BERNARD CRUZ, HECTOR R.         ADDRESS ON FILE
BERNARD CRUZ, LILY BELL         ADDRESS ON FILE
BERNARD CRUZ, LILYBELL          ADDRESS ON FILE
BERNARD CRUZ, SAMALY            ADDRESS ON FILE
BERNARD CRUZ, TERESA            ADDRESS ON FILE
BERNARD DAVILA, FERNANDO        ADDRESS ON FILE
BERNARD DIAZ PEREZ              ADDRESS ON FILE
BERNARD DUQUE, ORLANDO L        ADDRESS ON FILE
BERNARD FONTAN, LEONARDO        ADDRESS ON FILE
BERNARD GARCIA, ALBA            ADDRESS ON FILE
BERNARD GARCIA, HARRY A         ADDRESS ON FILE
BERNARD GARCIA, MAGDA M         ADDRESS ON FILE
BERNARD GARCIA, MARISOL         ADDRESS ON FILE
BERNARD GARCIA, NASHIRA         ADDRESS ON FILE
BERNARD GONZALEZ, LUIS          ADDRESS ON FILE
BERNARD GONZALEZ, TERESA        ADDRESS ON FILE
BERNARD GUZMAN, ANGEL           ADDRESS ON FILE
BERNARD GUZMAN, LUIS            ADDRESS ON FILE
BERNARD GUZMAN, NANCY E         ADDRESS ON FILE
BERNARD GUZMAN, NYRMA I         ADDRESS ON FILE
Bernard Hernandez, Raymond      ADDRESS ON FILE
BERNARD HERNANDEZ, RAYMOND      ADDRESS ON FILE
BERNARD LA PUERTA, JOSIAN       ADDRESS ON FILE
BERNARD LAPUERTA, CARLOS        ADDRESS ON FILE
Bernard Lopez, Adrian           ADDRESS ON FILE
BERNARD LOPEZ, ARIANETTE        ADDRESS ON FILE
BERNARD LOPEZ, JANET            ADDRESS ON FILE
BERNARD LOPEZ, JANNETTE         ADDRESS ON FILE
BERNARD LOPEZ, OSCAR            ADDRESS ON FILE
Bernard Lozada, Hector L        ADDRESS ON FILE
BERNARD M SCHULMAN              ADDRESS ON FILE
BERNARD MARCANO, ELIZABETH      ADDRESS ON FILE
BERNARD MARCUCCI, GISELLE       ADDRESS ON FILE
BERNARD MARRERO, GLADYS         ADDRESS ON FILE
BERNARD MATOS, CARMEN           ADDRESS ON FILE
BERNARD MATOS, LUIS             ADDRESS ON FILE
BERNARD MEJIAS, ANGELICA        ADDRESS ON FILE
BERNARD MEJIAS, ANGELICA        ADDRESS ON FILE
BERNARD MELENDEZ, DORIS M       ADDRESS ON FILE
BERNARD MELENDEZ, RAUL          ADDRESS ON FILE
BERNARD MENDEZ, ALMA            ADDRESS ON FILE




                                                                            Page 834 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 835 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
BERNARD MOJICA, OLGA                   ADDRESS ON FILE
BERNARD NAZARIO, LETHZEN               ADDRESS ON FILE
BERNARD NIEVES, RAFAELA                ADDRESS ON FILE
BERNARD NIEVES, TANIA                  ADDRESS ON FILE
BERNARD NIEVES, TANIA V                ADDRESS ON FILE
BERNARD ORTIZ, ALBERTO                 ADDRESS ON FILE
BERNARD ORTIZ, HECTOR                  ADDRESS ON FILE
BERNARD P BANDELIER                    ADDRESS ON FILE
BERNARD PACHECO, BREYDA D.             ADDRESS ON FILE
BERNARD PEREZ, CHERYL                  ADDRESS ON FILE
BERNARD QUILES, LUZ N                  ADDRESS ON FILE
BERNARD QUINONES, LIZBETH              ADDRESS ON FILE
BERNARD QUINONES, LIZMARIE             ADDRESS ON FILE
BERNARD R PENA GONZALEZ                ADDRESS ON FILE
Bernard Ramirez, Frances               ADDRESS ON FILE
BERNARD RAMOS, JENNIFER                ADDRESS ON FILE
BERNARD RIOS, BARBARA                  ADDRESS ON FILE
BERNARD RIVERA, CARLOS RAMON           ADDRESS ON FILE
BERNARD RIVERA, KEILA                  ADDRESS ON FILE
BERNARD RIVERA, LUIS F.                ADDRESS ON FILE
BERNARD RIVERA, ZORYMAR                ADDRESS ON FILE
BERNARD RODRIGUEZ, JAIME O             ADDRESS ON FILE
BERNARD RODRIGUEZ, JANET               ADDRESS ON FILE
BERNARD RODRIGUEZ, KARLA               ADDRESS ON FILE
BERNARD ROIG, JANSEN                   ADDRESS ON FILE
BERNARD ROJAS, MARIA J                 ADDRESS ON FILE
BERNARD ROMAN, RAMON                   ADDRESS ON FILE
BERNARD ROSADO, JOSEFINA               ADDRESS ON FILE
BERNARD RUIZ, JOSE                     ADDRESS ON FILE
BERNARD SANCHEZ, RAMON A               ADDRESS ON FILE
BERNARD SANCHEZ, SARA J                ADDRESS ON FILE
BERNARD SERRANO, FELICITA              ADDRESS ON FILE
BERNARD TIRADO, GIOVANI                ADDRESS ON FILE
BERNARD TORRES, ALBERTO                ADDRESS ON FILE
BERNARD TORRES, JOSE                   ADDRESS ON FILE
BERNARD TORRES, MURIEL                 ADDRESS ON FILE
BERNARD VAZQUEZ, LUIS F                ADDRESS ON FILE
BERNARD WILLIAMS, CHRISTIAN            ADDRESS ON FILE
BERNARD ZARZUELA, MARIA D.             ADDRESS ON FILE
BERNARD, RAMON                         ADDRESS ON FILE
BERNARDA A CUEVAS GARCIA               ADDRESS ON FILE
BERNARDA CAJIGAS MARQUEZ               ADDRESS ON FILE
BERNARDA L MUNOZ MORILLO               ADDRESS ON FILE
BERNARDA L QUINONES CLAUDIO            ADDRESS ON FILE
BERNARDA ORTIZ                         ADDRESS ON FILE
BERNARDA PEREZ MATOS                   ADDRESS ON FILE
BERNARDGUMBS,KRISTEIN GUMBS,JUDITH GUM ADDRESS ON FILE
BERNARDI & SANTINI CPA'S, LLC          63 CALLE BALDORIOTY                                                               COAMO        PR      00769
BERNARDI ESPADA, AIDA R                ADDRESS ON FILE
Bernardi Espada, Angel                 ADDRESS ON FILE
BERNARDI ESPADA, ANGEL A               ADDRESS ON FILE
BERNARDI MALAVE, YESSENIA              ADDRESS ON FILE
BERNARDI MALDONADO, JOSE E             ADDRESS ON FILE
BERNARDI MIRANDI, LUIS                 ADDRESS ON FILE
BERNARDI ORTIZ, EZEQUIEL               ADDRESS ON FILE
BERNARDI ORTIZ, GISELA D.              ADDRESS ON FILE
BERNARDI ORTIZ, IRMARI                 ADDRESS ON FILE
BERNARDI ORTIZ, LUIS                   ADDRESS ON FILE
BERNARDI ORTIZ, PEDRO                  ADDRESS ON FILE
BERNARDI ORTIZ, REINALDO               ADDRESS ON FILE




                                                                                    Page 835 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 836 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                      Address2                    Address3   Address4    City         State   PostalCode   Country
BERNARDI ORTIZ, REINALDO                ADDRESS ON FILE
BERNARDI ORTIZ, REINALDO                ADDRESS ON FILE
BERNARDI ORTIZ, SHEILA                  ADDRESS ON FILE
BERNARDI ORTIZ, SHIRLEY                 ADDRESS ON FILE
BERNARDI PEREZ, CARMEN                  ADDRESS ON FILE
BERNARDI RIVERA, ANGEL                  ADDRESS ON FILE
BERNARDI RIVERA, LINOSHKA               ADDRESS ON FILE
BERNARDI RODRIGUEZ, CARLOS A.           ADDRESS ON FILE
BERNARDI ROMERO, JOSUE                  ADDRESS ON FILE
Bernardi Ruiz, Graciliano               ADDRESS ON FILE
BERNARDI RUIZ, LOURDES M                ADDRESS ON FILE
BERNARDI RUIZ, LUZ N                    ADDRESS ON FILE
BERNARDI RUIZ, MYRNA I                  ADDRESS ON FILE
BERNARDI SALINAS, MELVIN                ADDRESS ON FILE
BERNARDI SALINAS, MELVIN                ADDRESS ON FILE
Bernardi Salinas, Xavier                ADDRESS ON FILE
BERNARDI SANTIAGO, ALEXANDER            ADDRESS ON FILE
BERNARDI SANTIAGO, ANDRES               ADDRESS ON FILE
BERNARDI SANTIAGO, AURORA               ADDRESS ON FILE
BERNARDI SANTIAGO, DIANNA               ADDRESS ON FILE
BERNARDI VIDAL, JOSE                    ADDRESS ON FILE
BERNARDI ZOLLWEG, MIGUEL                ADDRESS ON FILE
BERNARDI, ANGEL                         ADDRESS ON FILE
BERNARDI,JAPHET                         ADDRESS ON FILE
BERNARDINA MATOS / LUZ M ROSADO MATOS   ADDRESS ON FILE
BERNARDINI MATOS, BETHZAIDA             ADDRESS ON FILE
BERNARDINI MATOS, YOLANDA               ADDRESS ON FILE
BERNARDINI MOLINA, MARIA                ADDRESS ON FILE
BERNARDINO GARCIA MERCADO               ADDRESS ON FILE
BERNARDINO GONZALEZ CORDERO             ADDRESS ON FILE
BERNARDINO GONZALEZ FONTANEZ            ADDRESS ON FILE
BERNARDINO GONZALEZ TORRES              LCDO. ANGEL JUARBE DE JESÚS   PO BOX 1907                                        UTUADO       PR      00641
BERNARDINO OJEDA DIAZ                   ADDRESS ON FILE
BERNARDINO PADILLA RIOS                 ADDRESS ON FILE
Bernardino Ramos Delgado                ADDRESS ON FILE
BERNARDINO RODRIGUEZ PICART             ADDRESS ON FILE
BERNARDINO ROMAN TOMASINI               ADDRESS ON FILE
BERNARDINO RUIZ DAVILA                  ADDRESS ON FILE
BERNARDINO TORRES PEREZ                 ADDRESS ON FILE
BERNARDINO TORRES PEREZ                 ADDRESS ON FILE
BERNARDINO, RAYMUNDO                    ADDRESS ON FILE
BERNARDO A LAGO ARUZ                    ADDRESS ON FILE
BERNARDO ACEVEDO GONZALEZ               ADDRESS ON FILE
BERNARDO ACOSTA PADILLA                 ADDRESS ON FILE
BERNARDO ALFONSO ROSENDO MORALES        ADDRESS ON FILE
BERNARDO AROCHO VELAZQUEZ               ADDRESS ON FILE
BERNARDO ARROYO, EULALIA                ADDRESS ON FILE
BERNARDO B MUNIZ AROCHO                 ADDRESS ON FILE
BERNARDO B MUNIZ RAMIREZ                ADDRESS ON FILE
BERNARDO CAPELLAN HEYER                 ADDRESS ON FILE
BERNARDO CASTRO SANTANA                 ADDRESS ON FILE
BERNARDO CRESPO, MANUEL                 ADDRESS ON FILE
BERNARDO DIAZ CARTAGENA                 ADDRESS ON FILE
BERNARDO FERNANDEZ BARRETO              ADDRESS ON FILE
BERNARDO FIGUEROA COLON                 ADDRESS ON FILE
BERNARDO G PENA MADERA                  ADDRESS ON FILE
BERNARDO GOMEZ INC                      PO BOX 337                                                                       MANATI       PR      00674‐0337
BERNARDO HERNANDEZ MALAVE               ADDRESS ON FILE
BERNARDO IRIZARRY, FRANCESCO            ADDRESS ON FILE
BERNARDO J SOLER LOPEZ                  ADDRESS ON FILE




                                                                                    Page 836 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 837 of 3500
                                                                                        Creditor Matrix

Creditor Name                        Address1                          Address2                      Address3   Address4   City         State   PostalCode   Country
BERNARDO L SOLA GUTIERREZ            ADDRESS ON FILE
BERNARDO M LLAMA ESTATE              PO BOX 3509                                                                           MAYAGUEZ     PR      00681‐3509
BERNARDO MARTINEZ SANCHEZ            ADDRESS ON FILE
BERNARDO MENDOZA VAZQUEZ             ADDRESS ON FILE
BERNARDO MUNIZ                       ADDRESS ON FILE
BERNARDO ORTIZ ZAYAS                 ADDRESS ON FILE
BERNARDO PEREZ PEREZ                 ADDRESS ON FILE
BERNARDO PEREZ TORRES                ADDRESS ON FILE
BERNARDO PUEBLA MELON                ADDRESS ON FILE
BERNARDO RIVERA MEDINA               ADDRESS ON FILE
BERNARDO RIVERA/ CARMEN E RIVERA     ADDRESS ON FILE
BERNARDO ROLON ORTIZ                 ADDRESS ON FILE
BERNARDO ROMAN MENDEZ                ADDRESS ON FILE
BERNARDO ROQUE OQUENDO               HC 12 BOX 11                                                                          HUMACAO      PR      00791
BERNARDO SALGADO MARTINEZ            ADDRESS ON FILE
BERNARDO TORRES PAGAN                ADDRESS ON FILE
BERNARDO VEGA TORRES                 ADDRESS ON FILE
BERNARDO VEGA VELEZ                  ADDRESS ON FILE
BERNARDO VELEZ MARTIS                ADDRESS ON FILE
BERNARDY APONTE, OLGA                ADDRESS ON FILE
Bernardy González, Dilmarilys        ADDRESS ON FILE
BERNARDY ORTEGA, ARNALDO             ADDRESS ON FILE
BERNARDY RIVERA, ILEMARI             ADDRESS ON FILE
BERNARDY RIVERA, LUZ                 ADDRESS ON FILE
BERNARDY VELEZ, ANGEL D              ADDRESS ON FILE
BERNARDY VIDAL, HECTOR               ADDRESS ON FILE
BERNART CABO MD, MAGDALENA           ADDRESS ON FILE
Bernart Gonzalez, Juan A             ADDRESS ON FILE
BERNAT CABO, MAGDALENA               ADDRESS ON FILE
BERNAT GALARZA, CARLOS               ADDRESS ON FILE
BERNAZAR MERCADO, WILFREDO           ADDRESS ON FILE
BERNAZARD CAMPOS, JONATHAN           ADDRESS ON FILE
BERNECER HERNANDEZ, YAMILA           ADDRESS ON FILE
BERNECER ROSADO, DAVID               ADDRESS ON FILE
BERNECER ROSADO, JOSE                ADDRESS ON FILE
BERNECER ROSADO, MARIA               ADDRESS ON FILE
BERNET SOTO, TALI                    ADDRESS ON FILE
BERNICE A MOLINA FIGUEROA            ADDRESS ON FILE
BERNICE ALMODOVAR LOPEZ              ADDRESS ON FILE
BERNICE ARCE ROSA                    ADDRESS ON FILE
BERNICE BEAUCHAMP VELAZQUEZ          FRANCISCO J. VIZCARRONDO TORRES   PO BOX 195642                                       SAN JUAN     PR      00919‐5642
BERNICE DEL VALLE MUNIZ              ADDRESS ON FILE
BERNICE FUENTES CIRINO               ADDRESS ON FILE
BERNICE M ALVARADO COTTO             ADDRESS ON FILE
BERNICE M COLON LANCARA              ADDRESS ON FILE
BERNICE M ECHEVARRIA / SONIA ROJAS   ADDRESS ON FILE
BERNICE MEDINA FARIA                 ADDRESS ON FILE
BERNICE NIEVES ORTIZ                 ADDRESS ON FILE
BERNICE SANJURJO SOTO                ADDRESS ON FILE
BERNICE SANTANA BETANCOURT           ADDRESS ON FILE
BERNICE TORRES FLORES                ADDRESS ON FILE
BERNIE CARABALLO MIRANDA             ADDRESS ON FILE
BERNIE J CINTRON HEVIA               ADDRESS ON FILE
BERNIE MORALES LUGO                  ADDRESS ON FILE
BERNIE O RAMOS ROBLEDO               ADDRESS ON FILE
BERNIER ACOSTA, BRENDALIZ            ADDRESS ON FILE
BERNIER AMARO, BERNICE               ADDRESS ON FILE
BERNIER AMARO, IVELISSE              ADDRESS ON FILE
BERNIER AMARO, JUAN P                ADDRESS ON FILE
BERNIER APONTE, WIL F                ADDRESS ON FILE




                                                                                       Page 837 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 838 of 3500
                                                                                 Creditor Matrix

Creditor Name                       Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERNIER BERRIOS, OLGA               ADDRESS ON FILE
BERNIER BERRIOS, OLGA               ADDRESS ON FILE
BERNIER CASTRELLO, LOURDES S.       ADDRESS ON FILE
BERNIER COLON, ALIDA I              ADDRESS ON FILE
BERNIER COLON, ANIBAL               ADDRESS ON FILE
BERNIER COLON, CARMEN L             ADDRESS ON FILE
BERNIER COLON, VILMA                ADDRESS ON FILE
BERNIER DE FENDINI, HIRAM           ADDRESS ON FILE
BERNIER FIGUEROA, LIBNA             ADDRESS ON FILE
BERNIER GARCIA, DAYNA E             ADDRESS ON FILE
BERNIER GARCIA, GEITZALY            ADDRESS ON FILE
BERNIER GOMEZ, SARITA               ADDRESS ON FILE
BERNIER GONZALEZ, DELMA             ADDRESS ON FILE
BERNIER GONZALEZ, DELMA I.          ADDRESS ON FILE
BERNIER GONZALEZ, GARY E            ADDRESS ON FILE
BERNIER GONZALEZ, LUIS A.           ADDRESS ON FILE
BERNIER GONZALEZ, RAMON             ADDRESS ON FILE
BERNIER GONZALEZ, TERRY E           ADDRESS ON FILE
BERNIER LEON, DOMINGO               ADDRESS ON FILE
BERNIER LOPEZ, SANDRA M             ADDRESS ON FILE
BERNIER MARTINEZ, ANTONIO           ADDRESS ON FILE
BERNIER MARTINEZ, YAMILLETTE        ADDRESS ON FILE
BERNIER MASSARI, MIRTHA N           ADDRESS ON FILE
BERNIER MERLE, CARMEN L             ADDRESS ON FILE
BERNIER MUNOZ, ADA L                ADDRESS ON FILE
BERNIER MUNOZ, ANA J                ADDRESS ON FILE
BERNIER MUNOZ, GILDA M              ADDRESS ON FILE
BERNIER PAGAN, ALEXANDRI            ADDRESS ON FILE
BERNIER PAGAN, JANITZA              ADDRESS ON FILE
BERNIER PAGAN, MARITZA              ADDRESS ON FILE
BERNIER PEREZ, LILLIAM              ADDRESS ON FILE
BERNIER RENTA, BENJAMIN E           ADDRESS ON FILE
BERNIER RIVERA, DAVID               ADDRESS ON FILE
BERNIER RIVERA, JUAN                ADDRESS ON FILE
Bernier Rivera, Juan A              ADDRESS ON FILE
BERNIER RIVERA, LIZANDRA            ADDRESS ON FILE
BERNIER RIVERA, REBECA M            ADDRESS ON FILE
BERNIER RIVERA, RUBY M              ADDRESS ON FILE
BERNIER RODRIGUEZ, BRENDA           ADDRESS ON FILE
BERNIER RODRIGUEZ, IVONNE DEL C.    ADDRESS ON FILE
BERNIER RODRIGUEZ, PROVIROSE        ADDRESS ON FILE
BERNIER RODRIGUEZ, PROVIROSE M.     ADDRESS ON FILE
BERNIER RODRIGUEZ, RITA             ADDRESS ON FILE
BERNIER ROMAN, BENJAMIN             ADDRESS ON FILE
Bernier Roman, Wilfredo             ADDRESS ON FILE
BERNIER ROSA, NILDA I.              ADDRESS ON FILE
BERNIER ROSARIO, LIZMARIE           ADDRESS ON FILE
BERNIER SANTIAGO, MARTHA            ADDRESS ON FILE
Bernier Santos, Luis A.             ADDRESS ON FILE
BERNIER SOLIVAN, OLGA               ADDRESS ON FILE
BERNIER SOTO MD, RAEL               ADDRESS ON FILE
BERNIER SOTO, JOSE                  ADDRESS ON FILE
BERNIER URDAZ, ROSANIL              ADDRESS ON FILE
BERNIER URDAZ, ROSANIL E.           ADDRESS ON FILE
Bernier Vargas, Juan Fco            ADDRESS ON FILE
BERNIER VAZQUEZ, LUIS               ADDRESS ON FILE
BERNIER VAZQUEZ, LUIS R             ADDRESS ON FILE
BERNIER VELAZQUEZ, DAVID R          ADDRESS ON FILE
BERNIER VELAZQUEZ, SARAH JOSEFINA   ADDRESS ON FILE
BERNIER VICENTE, BEDA               ADDRESS ON FILE




                                                                                Page 838 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 839 of 3500
                                                                                                 Creditor Matrix

Creditor Name                      Address1                        Address2                                   Address3   Address4   City         State   PostalCode   Country
Bernier Vicente, Hector L          ADDRESS ON FILE
BERNIER, EFRAIN                    ADDRESS ON FILE
BERNIER, JOSE A                    ADDRESS ON FILE
BERNIER, LUZ                       ADDRESS ON FILE
BERNIS GONZALEZ MIRANDA            ADDRESS ON FILE
BERNIS MATTA, NELIA M              ADDRESS ON FILE
BERNIS VAZQUEZ, BRENDA             ADDRESS ON FILE
BERNISE JIMENEZ MALDONADO          ADDRESS ON FILE
BERNISSE NEGRON RIVERA             ADDRESS ON FILE
BERNIZ BORGES LOPEZ                ADDRESS ON FILE
BERNS MD, BRUCE                    ADDRESS ON FILE
BERNSTEIN CANAS, JAIME             ADDRESS ON FILE
BERNSTEIN MD, PAUL                 ADDRESS ON FILE
BERQUIS APONTE SANTIAGO            ADDRESS ON FILE
BERQUIST BOSQUE, ELSIE M           ADDRESS ON FILE
BERRI CABAN, MARIA                 ADDRESS ON FILE
BERRIO MARTINEZ, CARMEN            ADDRESS ON FILE
BERRIOS                            PO BOX 674                                                                                       CIDRA        PR      00739
BERRIOS & LONGO LAW OFFICE PSC     EDIF CAPITAL CENTER TORRE SUR   239 AVE ARTERIAL HOSTOS OFIC 900                                 SAN JUAN     PR      00918‐1478
BERRIOS & LONGO LAW OFFICES, PSC   CAPITAL CENTER BUILDING         SUITE 900 ARTERIAL HOSTOS 239                                    SAN JUAN     PR      00918‐1400
BERRIOS ACEVEDO, YARIB             ADDRESS ON FILE
BERRIOS ADORNO, LYDIA              ADDRESS ON FILE
BERRIOS ADORNO, MARISOL            ADDRESS ON FILE
BERRIOS AGOSTO, BERNICE            ADDRESS ON FILE
BERRIOS AGOSTO, CARLOS J.          ADDRESS ON FILE
BERRIOS AGOSTO, CARLOS J.          ADDRESS ON FILE
BERRIOS AGOSTO, ISANDER            ADDRESS ON FILE
BERRIOS AGOSTO, MANUEL             ADDRESS ON FILE
BERRIOS AGOSTO, MARY               ADDRESS ON FILE
BERRIOS AGOSTO, NEREIDA            ADDRESS ON FILE
BERRIOS AGOSTO, RAFAEL             ADDRESS ON FILE
BERRIOS AGOSTO, RAFAEL E           ADDRESS ON FILE
BERRIOS AGUIRRE, JUAN A            ADDRESS ON FILE
BERRIOS AGUIRRE, NORBERTO          ADDRESS ON FILE
BERRIOS ALBARRAN, IRIS             ADDRESS ON FILE
BERRIOS ALBERT, JOSIE              ADDRESS ON FILE
BERRIOS ALBINO, JUAN               ADDRESS ON FILE
BERRIOS ALEJANDRO, EDWIN           ADDRESS ON FILE
BERRIOS ALEJANDRO, MYRNA           ADDRESS ON FILE
BERRIOS ALEJANDRO, SARAI           ADDRESS ON FILE
BERRIOS ALICEA, JADYMAR            ADDRESS ON FILE
BERRIOS ALICEA, LEONARD            ADDRESS ON FILE
BERRIOS ALICEA, NORA H.            ADDRESS ON FILE
BERRIOS ALMODOVAR, GILBERTO        ADDRESS ON FILE
BERRIOS ALTIERY, JUAN              ADDRESS ON FILE
Berrios Altiery, Juan F.           ADDRESS ON FILE
BERRIOS ALVARADO, ALEXANDER        ADDRESS ON FILE
BERRIOS ALVARADO, ELOISA           ADDRESS ON FILE
BERRIOS ALVARADO, ENRIQUE          ADDRESS ON FILE
BERRIOS ALVARADO, JOBINO           ADDRESS ON FILE
BERRIOS ALVARADO, NILZA M          ADDRESS ON FILE
BERRIOS ALVARADO, PABLO            ADDRESS ON FILE
BERRIOS ALVAREZ, CARLOS R          ADDRESS ON FILE
BERRIOS ALVAREZ, EDWIN             ADDRESS ON FILE
BERRIOS ALVAREZ, IRIS              ADDRESS ON FILE
Berrios Alvarez, Luis L            ADDRESS ON FILE
BERRIOS ALVAREZ, MARIBEL           ADDRESS ON FILE
BERRIOS ALVAREZ, MAYRA             ADDRESS ON FILE
Berrios Alvarez, Yarelis E         ADDRESS ON FILE
BERRIOS ALVERIO, FELICITA          ADDRESS ON FILE




                                                                                                Page 839 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 840 of 3500
                                                                                       Creditor Matrix

Creditor Name                  Address1                               Address2                      Address3   Address4   City       State   PostalCode   Country
BERRIOS AMADEO, CAMILLE        ADDRESS ON FILE
BERRIOS ANAYA, AUREA E         ADDRESS ON FILE
BERRIOS ANAYA, EDWIN           ADDRESS ON FILE
BERRIOS ANAYA, NATIVIDAD       ADDRESS ON FILE
BERRIOS ANAYA, XAVIER          ADDRESS ON FILE
BERRIOS ANTUÑAS MD, PEDRO A    ADDRESS ON FILE
BERRIOS APONTE MD, JUAN E      ADDRESS ON FILE
BERRIOS APONTE, CATHERINE      ADDRESS ON FILE
BERRIOS APONTE, CATHERINE      ADDRESS ON FILE
BERRIOS APONTE, CRUZ           ADDRESS ON FILE
BERRIOS APONTE, ISUANNETTE     ADDRESS ON FILE
BERRIOS APONTE, JOSE A         ADDRESS ON FILE
BERRIOS APONTE, JUAN           ADDRESS ON FILE
BERRIOS APONTE, LISA MARLENE   ADDRESS ON FILE
BERRIOS APONTE, MARIA DE LOU   ADDRESS ON FILE
BERRIOS APONTE, MARIA V        ADDRESS ON FILE
BERRIOS APONTE, MERCEDES       ADDRESS ON FILE
BERRIOS APONTE, TERESA         ADDRESS ON FILE
BERRIOS AQUINO, ANTONIA V      ADDRESS ON FILE
BERRIOS AQUINO, JOSE           ADDRESS ON FILE
BERRIOS ARCE, JUAN             ADDRESS ON FILE
BERRIOS AROCHO, JACQUELINE     ADDRESS ON FILE
BERRIOS AROCHO, SANDRA         ADDRESS ON FILE
BERRIOS AROCHO, SANDRA         ADDRESS ON FILE
BERRIOS ARROYO, ESTHER         ADDRESS ON FILE
BERRIOS ARROYO, HECTOR         ADDRESS ON FILE
BERRIOS ARROYO, ILIA           ADDRESS ON FILE
BERRIOS ARROYO, JOSUE          ADDRESS ON FILE
BERRIOS ARZUAGA, ENID M        ADDRESS ON FILE
BERRIOS ARZUAGA, LUIS          ADDRESS ON FILE
BERRIOS ARZUAGA, LUIS A        ADDRESS ON FILE
BERRIOS ASTACIO, PEDRO L.      ADDRESS ON FILE
BERRIOS AUTO GALLERY           200 PMB 542 AVE. RAFAEL CORDERO #200                                                       CAGUAS     PR      00725
BERRIOS AUTO GALLERY INC       PMB 542 AVE RAFAEL CORDERO             200 SUITE 140                                       CAGUAS     PR      00725
BERRIOS AVILA, HERMARILEE      ADDRESS ON FILE
Berrios Aviles, Bernardo       ADDRESS ON FILE
BERRIOS AVILES, EDWIN          ADDRESS ON FILE
BERRIOS AVILES, ELIZABETH      ADDRESS ON FILE
BERRIOS AVILES, GLENDA         ADDRESS ON FILE
BERRIOS AVILES, PEDRO          ADDRESS ON FILE
BERRIOS AYALA, RAQUEL          ADDRESS ON FILE
BERRIOS AYAN, LUIS             ADDRESS ON FILE
BERRIOS BAEZ, ANGELICA         ADDRESS ON FILE
BERRIOS BAEZ, JONATHAN         ADDRESS ON FILE
BERRIOS BAEZ, MARISOL          ADDRESS ON FILE
BERRIOS BAEZ, NANCY B.         ADDRESS ON FILE
BERRIOS BAEZ, OMAR             ADDRESS ON FILE
BERRIOS BAEZ, WANDA            ADDRESS ON FILE
BERRIOS BARRERA, DESIREE       ADDRESS ON FILE
BERRIOS BARRETO, JULIA         ADDRESS ON FILE
BERRIOS BASCO, CARMEN          ADDRESS ON FILE
BERRIOS BATISTA, MARIA M       ADDRESS ON FILE
BERRIOS BAUZA, MARIA           ADDRESS ON FILE
BERRIOS BEAUCHAMP, CARLOS      ADDRESS ON FILE
BERRIOS BEAUCHAMP, EMMA R      ADDRESS ON FILE
BERRIOS BELTRAN, ALVIN         ADDRESS ON FILE
BERRIOS BELTRAN, ALVIN         ADDRESS ON FILE
BERRIOS BELTRAN, ERIC          ADDRESS ON FILE
BERRIOS BENITEZ, ANA           ADDRESS ON FILE
BERRIOS BENITEZ, SAMUEL O      ADDRESS ON FILE




                                                                                      Page 840 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 841 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS BERMUDEZ, EVA I.     ADDRESS ON FILE
BERRIOS BERMUDEZ, JOSE       ADDRESS ON FILE
BERRIOS BERMUDEZ, MYRIAM J   ADDRESS ON FILE
BERRIOS BERNARDI, ANGEL R    ADDRESS ON FILE
BERRIOS BERNARDI, OSCAR      ADDRESS ON FILE
BERRIOS BERNIER, DAVID       ADDRESS ON FILE
BERRIOS BERNIER, DAVID       ADDRESS ON FILE
BERRIOS BERRIOS, ANA H       ADDRESS ON FILE
BERRIOS BERRIOS, ANGEL       ADDRESS ON FILE
BERRIOS BERRIOS, CARMELINA   ADDRESS ON FILE
BERRIOS BERRIOS, CARMEN G    ADDRESS ON FILE
BERRIOS BERRIOS, CARMEN L.   ADDRESS ON FILE
BERRIOS BERRIOS, CARMEN M    ADDRESS ON FILE
BERRIOS BERRIOS, ELSIE       ADDRESS ON FILE
BERRIOS BERRIOS, FILOMENA    ADDRESS ON FILE
BERRIOS BERRIOS, HECTOR L    ADDRESS ON FILE
BERRIOS BERRIOS, HERMINIO    ADDRESS ON FILE
BERRIOS BERRIOS, HERMINIO    ADDRESS ON FILE
Berrios Berrios, Jaileen J   ADDRESS ON FILE
BERRIOS BERRIOS, JOSE A      ADDRESS ON FILE
Berrios Berrios, Jose L      ADDRESS ON FILE
BERRIOS BERRIOS, JOSE R      ADDRESS ON FILE
BERRIOS BERRIOS, LUZ         ADDRESS ON FILE
BERRIOS BERRIOS, LUZ E       ADDRESS ON FILE
BERRIOS BERRIOS, LUZ M       ADDRESS ON FILE
BERRIOS BERRIOS, MARIA M     ADDRESS ON FILE
BERRIOS BERRIOS, MIGUEL      ADDRESS ON FILE
BERRIOS BERRIOS, MILITZA     ADDRESS ON FILE
BERRIOS BERRIOS, NEIDA L     ADDRESS ON FILE
BERRIOS BERRIOS, NOEMI       ADDRESS ON FILE
BERRIOS BERRIOS, OSCAR       ADDRESS ON FILE
BERRIOS BERRIOS, REINALDO    ADDRESS ON FILE
BERRIOS BERRIOS, RICARDO     ADDRESS ON FILE
BERRIOS BERRIOS, TERESA      ADDRESS ON FILE
BERRIOS BERRIOS, VICTOR      ADDRESS ON FILE
BERRIOS BERRIOS, VIDALINA    ADDRESS ON FILE
BERRIOS BETSY TAPIA          ADDRESS ON FILE
BERRIOS BLANCO, GILBERTO     ADDRESS ON FILE
BERRIOS BLANCO, RAFAEL       ADDRESS ON FILE
BERRIOS BLANCO, RAFAEL       ADDRESS ON FILE
BERRIOS BONES, MINERVA       ADDRESS ON FILE
BERRIOS BONILLA, LIZBETH     ADDRESS ON FILE
BERRIOS BONILLA, ORLANDO     ADDRESS ON FILE
BERRIOS BONILLA, TAMARA      ADDRESS ON FILE
BERRIOS BONILLA, YOMARA      ADDRESS ON FILE
BERRIOS BORGES, ANGEL        ADDRESS ON FILE
BERRIOS BORGES, JOSE D       ADDRESS ON FILE
BERRIOS BORRELI, RAFAEL      ADDRESS ON FILE
BERRIOS BURGOS, ANA M        ADDRESS ON FILE
BERRIOS BURGOS, DITZANORIS   ADDRESS ON FILE
BERRIOS BURGOS, DORIS V      ADDRESS ON FILE
BERRIOS BURGOS, FERDINAND    ADDRESS ON FILE
BERRIOS BURGOS, HERIBERTO    ADDRESS ON FILE
BERRIOS BURGOS, JOSE         ADDRESS ON FILE
Berrios Burgos, Jose A.      ADDRESS ON FILE
BERRIOS BURGOS, JOSE L.      ADDRESS ON FILE
Berrios Burgos, Jose M       ADDRESS ON FILE
BERRIOS BURGOS, MAGALI       ADDRESS ON FILE
BERRIOS BURGOS, NORMA        ADDRESS ON FILE
BERRIOS BURGOS, ORLANDO      ADDRESS ON FILE




                                                                         Page 841 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 842 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Berrios Burgos, Ramon L            ADDRESS ON FILE
BERRIOS BURGOS, VIRNA              ADDRESS ON FILE
BERRIOS CABALLERO, JORGE RICARDO   ADDRESS ON FILE
BERRIOS CABALLERO, JUAN            ADDRESS ON FILE
BERRIOS CABRERA, JOSE J            ADDRESS ON FILE
BERRIOS CABRERA, MARIA DEL C       ADDRESS ON FILE
BERRIOS CACERES, PABLO             ADDRESS ON FILE
BERRIOS CACERES, WANDA M           ADDRESS ON FILE
BERRIOS CALDERON, LETICIA          ADDRESS ON FILE
BERRIOS CALDERON, WALDEMAR         ADDRESS ON FILE
BERRIOS CANCEL, CARMEN L           ADDRESS ON FILE
BERRIOS CANDELARIA, CARMEN         ADDRESS ON FILE
BERRIOS CANDELARIA, MIRNALY        ADDRESS ON FILE
BERRIOS CARABALLO, EDGAR R         ADDRESS ON FILE
BERRIOS CARBONELL, LUIS            ADDRESS ON FILE
BERRIOS CARTAGENA, JORGE           ADDRESS ON FILE
BERRIOS CARTAGENA, NARIMER         ADDRESS ON FILE
BERRIOS CARTAGENA, SHEILA          ADDRESS ON FILE
BERRIOS CASANAS, ARMANDO           ADDRESS ON FILE
BERRIOS CASIANO, ANA M             ADDRESS ON FILE
BERRIOS CASIANO, JOSE A            ADDRESS ON FILE
BERRIOS CASIANO, MARINELIS         ADDRESS ON FILE
BERRIOS CASILLAS, AYSHA            ADDRESS ON FILE
BERRIOS CASILLAS, EDGARDO          ADDRESS ON FILE
BERRIOS CASILLAS, YOUANSHKA        ADDRESS ON FILE
BERRIOS CASTELLANO, ANA            ADDRESS ON FILE
BERRIOS CASTELLANO, JUANITA        ADDRESS ON FILE
BERRIOS CASTILLAS, AYSHA           ADDRESS ON FILE
BERRIOS CASTILLO, CARMEN S.        ADDRESS ON FILE
BERRIOS CASTILLO, MARIA C          ADDRESS ON FILE
BERRIOS CASTRO, ADAMILA            ADDRESS ON FILE
BERRIOS CASTRO, EVELYN             ADDRESS ON FILE
Berrios Castro, Juan B             ADDRESS ON FILE
BERRIOS CASTRO, LILIA V.           ADDRESS ON FILE
BERRIOS CASTRO, VANESSA            ADDRESS ON FILE
BERRIOS CASTRODAD, AINA I          ADDRESS ON FILE
BERRIOS CASTRODAD, MARIA M         ADDRESS ON FILE
BERRIOS CEBALLOS, ARLENE           ADDRESS ON FILE
Berrios Ceballos, Juan Luis        ADDRESS ON FILE
BERRIOS CEDENO, ARLENE             ADDRESS ON FILE
BERRIOS CENTENO, DAMARIS           ADDRESS ON FILE
BERRIOS CERPA, WANDA L             ADDRESS ON FILE
BERRIOS CHARLEMAGNE, HAROLD        ADDRESS ON FILE
BERRIOS CHARRIEZ, KEILLY           ADDRESS ON FILE
BERRIOS CHEVERE, FELIPE            ADDRESS ON FILE
BERRIOS CINTRON, ANDRES            ADDRESS ON FILE
BERRIOS CINTRON, ARISTIDES         ADDRESS ON FILE
BERRIOS CINTRON, EDITH R           ADDRESS ON FILE
BERRIOS CINTRON, FLORENCIO         ADDRESS ON FILE
BERRIOS CINTRON, GISELA            ADDRESS ON FILE
BERRIOS CINTRON, JORGE             ADDRESS ON FILE
BERRIOS CINTRON, JOSE              ADDRESS ON FILE
BERRIOS CINTRON, JOSE R            ADDRESS ON FILE
BERRIOS CINTRON, LUIS              ADDRESS ON FILE
BERRIOS CINTRON, LUZ E             ADDRESS ON FILE
BERRIOS CINTRON, MARIA A           ADDRESS ON FILE
BERRIOS CINTRON, MARISEL           ADDRESS ON FILE
BERRIOS CINTRON, NEREIDA           ADDRESS ON FILE
BERRIOS CINTRON, NEREIDA           ADDRESS ON FILE
Berrios Cintron, Noel O.           ADDRESS ON FILE




                                                                               Page 842 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 843 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City             State   PostalCode   Country
BERRIOS CINTRON, PAMELA          ADDRESS ON FILE
BERRIOS CINTRON, PATRIA A        ADDRESS ON FILE
BERRIOS CINTRON, RANEL           ADDRESS ON FILE
BERRIOS CLASS, ELIMARY           ADDRESS ON FILE
BERRIOS COLLAZO, EDUARDO A.      ADDRESS ON FILE
BERRIOS COLLAZO, GILDA M         ADDRESS ON FILE
BERRIOS COLON, ADA HILDA         ADDRESS ON FILE
BERRIOS COLON, ANGEL R.          ADDRESS ON FILE
BERRIOS COLON, AUREA             ADDRESS ON FILE
BERRIOS COLON, BETHZAIDA         ADDRESS ON FILE
BERRIOS COLON, CARLOS            ADDRESS ON FILE
BERRIOS COLON, CARMEN I          ADDRESS ON FILE
BERRIOS COLON, CAROL             ADDRESS ON FILE
BERRIOS COLON, DORANGELLI        ADDRESS ON FILE
BERRIOS COLON, EDUARDO           ADDRESS ON FILE
BERRIOS COLON, GUMERSINDO        ADDRESS ON FILE
BERRIOS COLON, IDALYZ            ADDRESS ON FILE
BERRIOS COLON, JACQUELINE        ADDRESS ON FILE
BERRIOS COLON, JORGE             ADDRESS ON FILE
Berrios Colon, Jose De La Cruz   ADDRESS ON FILE
BERRIOS COLON, JUAN              ADDRESS ON FILE
BERRIOS COLON, LUIS A            ADDRESS ON FILE
BERRIOS COLON, MARIA             ADDRESS ON FILE
BERRIOS COLON, MARIA DEL C       ADDRESS ON FILE
BERRIOS COLON, MARIA M.          ADDRESS ON FILE
BERRIOS COLON, MARIA V           ADDRESS ON FILE
BERRIOS COLON, NILDA             ADDRESS ON FILE
BERRIOS COLON, NIMIA             ADDRESS ON FILE
BERRIOS COLON, SHARON            ADDRESS ON FILE
BERRIOS COLON, SHEILA            ADDRESS ON FILE
BERRIOS COLON, VICTOR            ADDRESS ON FILE
BERRIOS COLON, YOLANDA           ADDRESS ON FILE
BERRIOS COLON, YOLANDA           ADDRESS ON FILE
BERRIOS CONCEPCION, CARLOS I     ADDRESS ON FILE
BERRIOS CONSTRUCTION             HC‐01 BOX 5427                                                                   BARRANQUITAS     PR      00794
BERRIOS CORA, GLENDA             ADDRESS ON FILE
BERRIOS CORDERO, JOSE            ADDRESS ON FILE
Berrios Cordero, Sol N           ADDRESS ON FILE
BERRIOS CORREA, JOSE R.          ADDRESS ON FILE
BERRIOS COSME, ANGEL             ADDRESS ON FILE
BERRIOS COSME, IRIS              ADDRESS ON FILE
BERRIOS COSME, IRIS              ADDRESS ON FILE
BERRIOS COSME, YOLYMAR           ADDRESS ON FILE
BERRIOS CRESPO, VICTORIA         ADDRESS ON FILE
BERRIOS CRUZ, ADA L              ADDRESS ON FILE
BERRIOS CRUZ, ALMA I             ADDRESS ON FILE
BERRIOS CRUZ, BONIFACIO          ADDRESS ON FILE
BERRIOS CRUZ, BONIFACIO          ADDRESS ON FILE
BERRIOS CRUZ, CARLOS             ADDRESS ON FILE
BERRIOS CRUZ, CARMEN             ADDRESS ON FILE
BERRIOS CRUZ, CARMEN H           ADDRESS ON FILE
Berrios Cruz, Felix H            ADDRESS ON FILE
BERRIOS CRUZ, MARIA A            ADDRESS ON FILE
BERRIOS CRUZ, MARIA D.           ADDRESS ON FILE
BERRIOS CRUZ, OLGA E.            ADDRESS ON FILE
BERRIOS CRUZ, RAMON              ADDRESS ON FILE
BERRIOS CRUZ, SAMUEL             ADDRESS ON FILE
BERRIOS CRUZ, SANDY              ADDRESS ON FILE
BERRIOS CRUZ, SONALY             ADDRESS ON FILE
BERRIOS CRUZ, TATIANA            ADDRESS ON FILE




                                                                             Page 843 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 844 of 3500
                                                                                 Creditor Matrix

Creditor Name                     Address1                      Address2                      Address3   Address4   City         State   PostalCode   Country
Berrios Cruz, William             ADDRESS ON FILE
BERRIOS CUEVAS, JORGE L           ADDRESS ON FILE
BERRIOS DAVID, ANA G.             ADDRESS ON FILE
BERRIOS DAVID, ELENIA             ADDRESS ON FILE
BERRIOS DAVID, MARIBEL            ADDRESS ON FILE
BERRIOS DAVID, MELVIN             ADDRESS ON FILE
BERRIOS DAVID, NORMA I            ADDRESS ON FILE
BERRÍOS DAVID, ROSAEL             LCDO. OSVALDO BURGOS PEREZ    PO BOX 194211                                       SAN JUAN     PR      00919‐4211
BERRIOS DAVILA, EDWIN             ADDRESS ON FILE
BERRIOS DAVILA, ESTHER            ADDRESS ON FILE
BERRIOS DAVILA, KEYLA             ADDRESS ON FILE
BERRIOS DE JESUS, ANN J.          ADDRESS ON FILE
BERRIOS DE JESUS, CYNTHYA         ADDRESS ON FILE
BERRIOS DE JESUS, ELVIN E         ADDRESS ON FILE
BERRIOS DE JESUS, FELIX           ADDRESS ON FILE
BERRIOS DE JESUS, MARITZA         ADDRESS ON FILE
BERRIOS DE JESUS, SANTIAGO        ADDRESS ON FILE
BERRIOS DE LEON, AIDA E           ADDRESS ON FILE
BERRIOS DE LEON, CARMEN R         ADDRESS ON FILE
BERRIOS DEL VALLE, ERIC           ADDRESS ON FILE
BERRIOS DEL VALLE, MARCELINO      ADDRESS ON FILE
Berrios Delgado, Angelina         ADDRESS ON FILE
Berrios Delgado, Antero           ADDRESS ON FILE
BERRIOS DELGADO, DAVID            ADDRESS ON FILE
BERRIOS DELGADO, EMANUEL          ADDRESS ON FILE
BERRIOS DELGADO, EMMANUEL         ADDRESS ON FILE
BERRIOS DELGADO, EMMANUEL         ADDRESS ON FILE
Berrios Delgado, Luz E            ADDRESS ON FILE
BERRIOS DELGADO, VICTOR           ADDRESS ON FILE
BERRIOS DELGADO, YANIRA           ADDRESS ON FILE
BERRIOS DEVELOPMENT CORPORATION   CARR.#2 KM.27.9 BO.ESPINOSA                                                       DORADO       PR      00962‐0000
BERRIOS DIAZ, AMALIA              ADDRESS ON FILE
BERRIOS DIAZ, ANGEL L.            ADDRESS ON FILE
Berrios Diaz, Angel L.            ADDRESS ON FILE
BERRIOS DIAZ, ARMANDO             ADDRESS ON FILE
BERRIOS DIAZ, CARMEN M            ADDRESS ON FILE
BERRIOS DIAZ, ELIZABETH           ADDRESS ON FILE
BERRIOS DIAZ, EVELYN              ADDRESS ON FILE
BERRIOS DIAZ, HERIBERTO           ADDRESS ON FILE
BERRIOS DIAZ, ILIA                ADDRESS ON FILE
BERRIOS DIAZ, JACKELINE           ADDRESS ON FILE
BERRIOS DIAZ, JOMARYS             ADDRESS ON FILE
Berrios Diaz, Jose A              ADDRESS ON FILE
BERRIOS DIAZ, JOSE M.             ADDRESS ON FILE
BERRIOS DIAZ, KARENY              ADDRESS ON FILE
BERRIOS DIAZ, KENNETH             ADDRESS ON FILE
BERRIOS DIAZ, LUIS                ADDRESS ON FILE
BERRIOS DIAZ, LUIS                ADDRESS ON FILE
BERRIOS DIAZ, LUIS A              ADDRESS ON FILE
BERRIOS DIAZ, MAGDA               ADDRESS ON FILE
BERRIOS DIAZ, MARIA DE LOS A.     ADDRESS ON FILE
BERRIOS DIAZ, MIGDALIA            ADDRESS ON FILE
BERRIOS DIAZ, NANCY               ADDRESS ON FILE
BERRIOS DIAZ, NATALIE             ADDRESS ON FILE
Berrios Diaz, Nestor R            ADDRESS ON FILE
BERRIOS DIAZ, OSVALDO             ADDRESS ON FILE
BERRIOS DIAZ, PEDRO               ADDRESS ON FILE
BERRIOS DIAZ, SOHE                ADDRESS ON FILE
BERRIOS DIAZ, SUANETTE            ADDRESS ON FILE
BERRIOS DIAZ, ZULAIKA             ADDRESS ON FILE




                                                                                Page 844 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 845 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS DOBLE, ANA                ADDRESS ON FILE
BERRIOS DOMINGUEZ, JONATHAN       ADDRESS ON FILE
BERRIOS DURAN, ERIKA              ADDRESS ON FILE
BERRIOS DURAN, FERDINAND          ADDRESS ON FILE
BERRIOS ECHEVARRIA, ANGEL         ADDRESS ON FILE
BERRIOS ELECTRIC SERVICES, INC.   PMB 41 PO BOX 607071                                                             BAYAMON      PR      00960‐7071
BERRIOS ELECTRICAL SERVICE INC    PMB 41                    PO BOX 6070‐71                                         BAYAMON      PR      00960‐7071
BERRIOS ELECTRICAL SERVICES INC   PO BOX 607071 PMB 41                                                             BAYAMON      PR      00960
BERRIOS ESCUDERO, CARLOS          ADDRESS ON FILE
BERRIOS ESCUDERO, VERA            ADDRESS ON FILE
BERRIOS FALCON, LILLIAM T.        ADDRESS ON FILE
BERRIOS FALCON, ROXANA            ADDRESS ON FILE
BERRIOS FEBO, ESTEBAN             ADDRESS ON FILE
BERRIOS FEBO, LUIS A              ADDRESS ON FILE
BERRIOS FEBO, LUIS A              ADDRESS ON FILE
BERRIOS FEBO, MODESTO             ADDRESS ON FILE
BERRIOS FELICIANO, SINDY          ADDRESS ON FILE
BERRIOS FERNANDEZ, JUDITH         ADDRESS ON FILE
BERRIOS FERNANDEZ, MIRALEE        ADDRESS ON FILE
BERRIOS FERNANDEZ, WANDA          ADDRESS ON FILE
BERRIOS FERRER MD, FRANCISCO      ADDRESS ON FILE
BERRIOS FERRER, MYRAIMAR          ADDRESS ON FILE
BERRIOS FERRER, SUSANA            ADDRESS ON FILE
BERRIOS FIGUEROA, ANIBAL          ADDRESS ON FILE
BERRIOS FIGUEROA, CARLOS          ADDRESS ON FILE
BERRIOS FIGUEROA, DAMIAN          ADDRESS ON FILE
BERRIOS FIGUEROA, HECTOR          ADDRESS ON FILE
BERRIOS FIGUEROA, IVELISSE        ADDRESS ON FILE
BERRIOS FIGUEROA, JULITZA M       ADDRESS ON FILE
BERRIOS FIGUEROA, LUIS            ADDRESS ON FILE
BERRIOS FIGUEROA, LUIS            ADDRESS ON FILE
Berrios Figueroa, Luis A          ADDRESS ON FILE
BERRIOS FIGUEROA, MILDRED         ADDRESS ON FILE
BERRIOS FIGUEROA, MIRMA J         ADDRESS ON FILE
BERRIOS FIGUEROA, REBECCA         ADDRESS ON FILE
BERRIOS FIGUEROA,FELIX            ADDRESS ON FILE
BERRIOS FLORES, IVETTE            ADDRESS ON FILE
BERRIOS FLORES, JOSE              ADDRESS ON FILE
BERRIOS FLORES, LIZAIDA           ADDRESS ON FILE
BERRIOS FLORES, LUIS              ADDRESS ON FILE
BERRIOS FLORES, MARIA DEL C       ADDRESS ON FILE
BERRIOS FONSECA, GINA             ADDRESS ON FILE
BERRIOS FONTANEZ, BEATRIZ         ADDRESS ON FILE
BERRIOS FONTANEZ, HERIBERTO       ADDRESS ON FILE
BERRIOS FONTANEZ, MEARY ANN       ADDRESS ON FILE
BERRIOS FONTANEZ, MIGUEL          ADDRESS ON FILE
BERRIOS FONTANEZ, WALESCA         ADDRESS ON FILE
BERRIOS FRANCESCHI, JOSE M        ADDRESS ON FILE
Berrios Franco, Osvaldo           ADDRESS ON FILE
Berrios Fraticel, Marcelino       ADDRESS ON FILE
BERRIOS FUENTES, ACENET           ADDRESS ON FILE
BERRIOS FUENTES, ANGEL            ADDRESS ON FILE
Berrios Fuentes, Angel David      ADDRESS ON FILE
BERRIOS FUENTES, GLORISELLY       ADDRESS ON FILE
BERRIOS FUENTES, MARTA M          ADDRESS ON FILE
BERRIOS FUENTES, MAYTEE           ADDRESS ON FILE
Berrios Fuentes, Pedro A          ADDRESS ON FILE
BERRIOS GALARZA, JANICE           ADDRESS ON FILE
Berrios Garay, Angel              ADDRESS ON FILE
BERRIOS GARAY, HECTOR M           ADDRESS ON FILE




                                                                              Page 845 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 846 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS GARCIA, ADA D.          ADDRESS ON FILE
Berrios Garcia, Ana             ADDRESS ON FILE
BERRIOS GARCIA, BARBARA         ADDRESS ON FILE
BERRIOS GARCIA, CARMEN          ADDRESS ON FILE
BERRIOS GARCIA, ELIUT           ADDRESS ON FILE
Berrios Garcia, Hector L        ADDRESS ON FILE
BERRIOS GARCIA, JOEL            ADDRESS ON FILE
BERRIOS GARCIA, MARIBEL         ADDRESS ON FILE
BERRIOS GARCIA, MARTA M.        ADDRESS ON FILE
BERRIOS GARCIA, MIGUEL          ADDRESS ON FILE
BERRIOS GARCIA, ORLANDO         ADDRESS ON FILE
BERRIOS GARCIA, YAMIRA          ADDRESS ON FILE
BERRIOS GOMEZ, AIDA L           ADDRESS ON FILE
BERRIOS GOMEZ, KEREN Y          ADDRESS ON FILE
BERRIOS GOMEZ, ROCIO DEL        ADDRESS ON FILE
BERRIOS GONZALEZ, ANGELA        ADDRESS ON FILE
BERRIOS GONZALEZ, ARIANA        ADDRESS ON FILE
BERRIOS GONZALEZ, CARLOS        ADDRESS ON FILE
BERRIOS GONZALEZ, CARMEN L      ADDRESS ON FILE
BERRIOS GONZALEZ, CARMEN M      ADDRESS ON FILE
BERRIOS GONZALEZ, DAISY         ADDRESS ON FILE
BERRIOS GONZALEZ, DIANE         ADDRESS ON FILE
BERRIOS GONZALEZ, DIEGO M       ADDRESS ON FILE
BERRIOS GONZALEZ, GLORIA I.     ADDRESS ON FILE
BERRIOS GONZALEZ, GLORIZA       ADDRESS ON FILE
BERRIOS GONZALEZ, JOSE A        ADDRESS ON FILE
Berrios Gonzalez, Jose C        ADDRESS ON FILE
BERRIOS GONZALEZ, LUIS          ADDRESS ON FILE
BERRIOS GONZALEZ, MARGARITA     ADDRESS ON FILE
BERRIOS GONZALEZ, MARIA DE      ADDRESS ON FILE
BERRIOS GONZALEZ, MAYRA I.      ADDRESS ON FILE
Berrios Gonzalez, Miguel A      ADDRESS ON FILE
BERRIOS GONZALEZ, MINELIA E.    ADDRESS ON FILE
BERRIOS GONZALEZ, ORLANDO       ADDRESS ON FILE
BERRIOS GONZALEZ, OSVALDO       ADDRESS ON FILE
BERRIOS GONZALEZ, RAYMOND       ADDRESS ON FILE
BERRIOS GONZALEZ, SAJID         ADDRESS ON FILE
BERRIOS GONZALEZ, VANESSA       ADDRESS ON FILE
BERRIOS GONZALEZ, WANDA I       ADDRESS ON FILE
Berrios Gonzalez, Wilma         ADDRESS ON FILE
BERRIOS GONZALEZ, ZULMA N.      ADDRESS ON FILE
BERRIOS GUEVARA, MIGDALIA       ADDRESS ON FILE
Berríos Gutíerrez, Alberto J.   ADDRESS ON FILE
BERRIOS GUZMAN, CARMEN L        ADDRESS ON FILE
BERRIOS GUZMAN, ELIEZER         ADDRESS ON FILE
BERRIOS GUZMAN, JUAN            ADDRESS ON FILE
BERRIOS GUZMAN, MONICA M        ADDRESS ON FILE
BERRIOS GUZMAN, VANESSA         ADDRESS ON FILE
BERRIOS HAYES, SOLVIEG L.       ADDRESS ON FILE
BERRIOS HERMINA, JOSE           ADDRESS ON FILE
BERRIOS HERNANDEZ, ANA H        ADDRESS ON FILE
BERRIOS HERNANDEZ, BLANCA I     ADDRESS ON FILE
BERRIOS HERNANDEZ, CRISTINO     ADDRESS ON FILE
BERRIOS HERNANDEZ, JOSE         ADDRESS ON FILE
BERRIOS HERNANDEZ, JOSE         ADDRESS ON FILE
BERRIOS HERNANDEZ, JOSE M.      ADDRESS ON FILE
BERRIOS HERNANDEZ, LUIS         ADDRESS ON FILE
BERRIOS HERNANDEZ, MARIA M      ADDRESS ON FILE
BERRIOS HERNANDEZ, MAYRA        ADDRESS ON FILE
BERRIOS HERNANDEZ, MIGUEL A.    ADDRESS ON FILE




                                                                            Page 846 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 847 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS HERNANDEZ, NELSON      ADDRESS ON FILE
BERRIOS HERNANDEZ, NESTOR      ADDRESS ON FILE
BERRIOS HERNANDEZ, ROIG        ADDRESS ON FILE
BERRIOS HERNANDEZ, ROSALIAS    ADDRESS ON FILE
BERRIOS HERNANDEZ, TAMARA      ADDRESS ON FILE
BERRIOS HERNANDEZ, VICTOR      ADDRESS ON FILE
Berrios Hostos, Justino        ADDRESS ON FILE
BERRIOS HUERTAS, JULIO         ADDRESS ON FILE
BERRIOS HUERTAS, MARIA DEL C   ADDRESS ON FILE
BERRIOS IRIARTE, RAFAEL        ADDRESS ON FILE
BERRIOS IRIZARRY, MARIA I      ADDRESS ON FILE
BERRIOS IZQUIERDO, MARIA I.    ADDRESS ON FILE
BERRIOS JIMENEZ, MARIA M       ADDRESS ON FILE
BERRIOS JOCK, ANGEL            ADDRESS ON FILE
BERRIOS JOCK, ANGEL            ADDRESS ON FILE
BERRIOS JOVET, DALIAMARI       ADDRESS ON FILE
BERRIOS LA PUERTA, JAIME       ADDRESS ON FILE
BERRIOS LABOY, JOHAN           ADDRESS ON FILE
BERRIOS LABOY, JORGE           ADDRESS ON FILE
BERRIOS LABOY, MARIELI         ADDRESS ON FILE
BERRIOS LACOMBA, DORIS         ADDRESS ON FILE
BERRIOS LARA, PEDRO            ADDRESS ON FILE
BERRIOS LARA, PEDRO            ADDRESS ON FILE
BERRIOS LASANTA, ANAIDA        ADDRESS ON FILE
BERRIOS LASSU, GLORIA E        ADDRESS ON FILE
BERRIOS LASSUS, RAFAEL         ADDRESS ON FILE
BERRIOS LATORRE, ANGEL         ADDRESS ON FILE
BERRIOS LOPEZ, ARNALDO         ADDRESS ON FILE
BERRIOS LOPEZ, CARMEN D        ADDRESS ON FILE
BERRIOS LOPEZ, CYNTIA M.       ADDRESS ON FILE
BERRIOS LOPEZ, DANIEL          ADDRESS ON FILE
BERRIOS LOPEZ, DAYSA           ADDRESS ON FILE
BERRIOS LOPEZ, EDWIN           ADDRESS ON FILE
BERRIOS LOPEZ, EDWIN           ADDRESS ON FILE
BERRIOS LOPEZ, ELSIE           ADDRESS ON FILE
BERRIOS LOPEZ, EMMA I.         ADDRESS ON FILE
BERRIOS LOPEZ, HUGO M.         ADDRESS ON FILE
BERRIOS LOPEZ, JAIME           ADDRESS ON FILE
BERRIOS LOPEZ, JAVIER          ADDRESS ON FILE
BERRIOS LOPEZ, JAVIER          ADDRESS ON FILE
BERRIOS LOPEZ, JUAN            ADDRESS ON FILE
BERRIOS LOPEZ, LEYDA N         ADDRESS ON FILE
BERRIOS LOPEZ, LILLIAN E.      ADDRESS ON FILE
BERRIOS LOPEZ, LUIS A          ADDRESS ON FILE
BERRIOS LOPEZ, MARGARITA       ADDRESS ON FILE
BERRIOS LOPEZ, MARIA           ADDRESS ON FILE
BERRIOS LOPEZ, MARIA           ADDRESS ON FILE
BERRIOS LOPEZ, MARIBEL         ADDRESS ON FILE
BERRIOS LOPEZ, MARIBEL         ADDRESS ON FILE
BERRIOS LOPEZ, MARIBEL         ADDRESS ON FILE
BERRIOS LOPEZ, MARIFELY        ADDRESS ON FILE
BERRIOS LOPEZ, MARISOL         ADDRESS ON FILE
BERRIOS LOPEZ, MARY L          ADDRESS ON FILE
BERRIOS LOPEZ, MYRTA           ADDRESS ON FILE
BERRIOS LOPEZ, MYRTA           ADDRESS ON FILE
BERRIOS LOPEZ, NAIDA           ADDRESS ON FILE
BERRIOS LOPEZ, OMAR            ADDRESS ON FILE
BERRIOS LOPEZ, ORLANDO         ADDRESS ON FILE
BERRIOS LOPEZ, ORLANDO         ADDRESS ON FILE
BERRIOS LOPEZ, OSCAR           ADDRESS ON FILE




                                                                           Page 847 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 848 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS LOPEZ, ROBERTO          ADDRESS ON FILE
BERRIOS LOPEZ, ROSA A           ADDRESS ON FILE
BERRIOS LOPEZ, ROSA M           ADDRESS ON FILE
BERRIOS LOPEZ, SONIA            ADDRESS ON FILE
BERRIOS LOPEZ, VICKNELL M       ADDRESS ON FILE
BERRIOS LOPEZ, YAHAIRA L        ADDRESS ON FILE
BERRIOS LOPEZ, YOMAYRA          ADDRESS ON FILE
BERRIOS LOZADA, JEANNETTE       ADDRESS ON FILE
BERRIOS LOZADA, MARIA           ADDRESS ON FILE
BERRIOS LOZADA, MONICA          ADDRESS ON FILE
BERRIOS LOZADA, PEDRO           ADDRESS ON FILE
BERRIOS LOZADA, SANDRA I        ADDRESS ON FILE
BERRIOS LOZADA, VIVIANA         ADDRESS ON FILE
BERRIOS LOZADA, WANDA I         ADDRESS ON FILE
BERRIOS LUCAS, IRIS V           ADDRESS ON FILE
BERRIOS LUGO, ELIZABETH         ADDRESS ON FILE
BERRIOS LUGO, JORGE             ADDRESS ON FILE
BERRIOS LUGO, MARIELA           ADDRESS ON FILE
BERRIOS LUGO, SANDRA DEL C      ADDRESS ON FILE
BERRIOS LUNA, AIDA              ADDRESS ON FILE
BERRIOS LUNA, AIDA              ADDRESS ON FILE
BERRIOS MACHADO, IVELISSE       ADDRESS ON FILE
BERRIOS MALDONADO, ANELISE      ADDRESS ON FILE
BERRIOS MALDONADO, ELIKA        ADDRESS ON FILE
BERRIOS MALDONADO, ELIKA        ADDRESS ON FILE
BERRIOS MALDONADO, FRANCESHI    ADDRESS ON FILE
BERRIOS MALDONADO, ILIANA       ADDRESS ON FILE
BERRIOS MALDONADO, JORGE        ADDRESS ON FILE
BERRIOS MALDONADO, JOSE A       ADDRESS ON FILE
BERRIOS MALDONADO, JOSE A       ADDRESS ON FILE
BERRIOS MALDONADO, JUDIBELLE    ADDRESS ON FILE
BERRIOS MALDONADO, LILIANA      ADDRESS ON FILE
BERRIOS MALDONADO, MARCOS A     ADDRESS ON FILE
BERRIOS MALDONADO, MARIA I      ADDRESS ON FILE
BERRIOS MALDONADO, MARIA T      ADDRESS ON FILE
BERRIOS MALDONADO, MIRIAM       ADDRESS ON FILE
BERRIOS MALDONADO, YAZMIN       ADDRESS ON FILE
BERRIOS MARIA DE, LOS A         ADDRESS ON FILE
BERRIOS MARRERO, GLORIA I       ADDRESS ON FILE
BERRIOS MARRERO, HARROLD        ADDRESS ON FILE
Berrios Marrero, Jesus A.       ADDRESS ON FILE
BERRIOS MARRERO, JOANMARIE      ADDRESS ON FILE
BERRIOS MARRERO, JORGE          ADDRESS ON FILE
BERRIOS MARRERO, JORGE L        ADDRESS ON FILE
BERRIOS MARRERO, NILDA DEL C.   ADDRESS ON FILE
BERRIOS MARRERO, NYDIA E.       ADDRESS ON FILE
BERRIOS MARTIN, ELBA L          ADDRESS ON FILE
BERRIOS MARTIN, ROSA A          ADDRESS ON FILE
BERRIOS MARTINE Z, CINDY        ADDRESS ON FILE
BERRIOS MARTINEZ, AIDA L        ADDRESS ON FILE
BERRIOS MARTINEZ, ANA M         ADDRESS ON FILE
BERRIOS MARTINEZ, ANGEL L       ADDRESS ON FILE
BERRIOS MARTINEZ, ANIBAL        ADDRESS ON FILE
BERRIOS MARTINEZ, BEATRIZ       ADDRESS ON FILE
BERRIOS MARTINEZ, BLANCA I      ADDRESS ON FILE
BERRIOS MARTINEZ, BRENDA        ADDRESS ON FILE
BERRIOS MARTINEZ, BRENDA        ADDRESS ON FILE
BERRIOS MARTINEZ, EDLYN         ADDRESS ON FILE
BERRIOS MARTINEZ, EMMA          ADDRESS ON FILE
BERRIOS MARTINEZ, GERARDO L     ADDRESS ON FILE




                                                                            Page 848 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 849 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS MARTINEZ, IRIS          ADDRESS ON FILE
BERRIOS MARTINEZ, IVELISSE      ADDRESS ON FILE
BERRIOS MARTINEZ, JAIME         ADDRESS ON FILE
BERRIOS MARTINEZ, JANCARLOS     ADDRESS ON FILE
BERRIOS MARTINEZ, JORGE         ADDRESS ON FILE
BERRIOS MARTINEZ, JOSE          ADDRESS ON FILE
BERRIOS MARTINEZ, JOSE L.       ADDRESS ON FILE
Berrios Martinez, Jose M.       ADDRESS ON FILE
BERRIOS MARTINEZ, JOSUE         ADDRESS ON FILE
Berrios Martinez, Kelvin        ADDRESS ON FILE
BERRIOS MARTINEZ, LOURDES I     ADDRESS ON FILE
BERRIOS MARTINEZ, LOURDES I     ADDRESS ON FILE
BERRIOS MARTINEZ, LUIS R.       ADDRESS ON FILE
BERRIOS MARTINEZ, LUZ M         ADDRESS ON FILE
BERRIOS MARTINEZ, MANUEL        ADDRESS ON FILE
BERRIOS MARTINEZ, MARIA DEL     ADDRESS ON FILE
BERRIOS MARTINEZ, MARICRUZ      ADDRESS ON FILE
BERRIOS MARTINEZ, MARIE L       ADDRESS ON FILE
BERRIOS MARTINEZ, MIGDALIA      ADDRESS ON FILE
BERRIOS MARTINEZ, NILDA T       ADDRESS ON FILE
BERRIOS MARTINEZ, PEDRO         ADDRESS ON FILE
BERRIOS MARTINEZ, RUBEN         ADDRESS ON FILE
BERRIOS MARTINEZ, RUBEN         ADDRESS ON FILE
BERRIOS MARTINEZ, VERONICA E.   ADDRESS ON FILE
BERRIOS MARTINEZ, WILFREDO      ADDRESS ON FILE
BERRIOS MARTINEZ, ZORYMAR       ADDRESS ON FILE
BERRIOS MARTINEZ,LUIS R.        ADDRESS ON FILE
BERRIOS MARTINEZ,SHAEL          ADDRESS ON FILE
BERRIOS MATEO, ABEL             ADDRESS ON FILE
BERRIOS MATEO, ADAN             ADDRESS ON FILE
BERRIOS MATEO, NORBERTO         ADDRESS ON FILE
BERRIOS MATOS, CARMEN           ADDRESS ON FILE
BERRIOS MATOS, GISELA           ADDRESS ON FILE
BERRIOS MATOS, HERIBERTO        ADDRESS ON FILE
BERRIOS MATOS, IRIS Y.          ADDRESS ON FILE
BERRIOS MD , WANDA M            ADDRESS ON FILE
BERRIOS MD, WANDA               ADDRESS ON FILE
BERRIOS MEDINA, ASHLEY          ADDRESS ON FILE
Berrios Medina, Clery           ADDRESS ON FILE
Berrios Medina, Jose R          ADDRESS ON FILE
BERRIOS MEJIAS, ANGEL           ADDRESS ON FILE
BERRIOS MELENDEZ, ANA D         ADDRESS ON FILE
BERRIOS MELENDEZ, FRANCES T     ADDRESS ON FILE
BERRIOS MELENDEZ, IRMA          ADDRESS ON FILE
BERRIOS MELENDEZ, JESUS         ADDRESS ON FILE
BERRIOS MELENDEZ, LIESCHEN      ADDRESS ON FILE
BERRIOS MELENDEZ, NICOLE D      ADDRESS ON FILE
BERRIOS MELENDEZ, NOEMI A       ADDRESS ON FILE
BERRIOS MELENDEZ, RUTH Y        ADDRESS ON FILE
BERRIOS MELENDEZ, YOLANDA       ADDRESS ON FILE
BERRIOS MENDEZ MD, VANESA       ADDRESS ON FILE
BERRIOS MENDEZ, ANDREALIZ       ADDRESS ON FILE
Berrios Mendez, Carlos R        ADDRESS ON FILE
BERRIOS MENDEZ, IRIS M          ADDRESS ON FILE
Berrios Mendez, Jose A          ADDRESS ON FILE
BERRIOS MENDEZ, LARA            ADDRESS ON FILE
BERRIOS MENDEZ, LILIBETH        ADDRESS ON FILE
BERRIOS MENDOZA, DANNA M.       ADDRESS ON FILE
BERRIOS MERCADO, DELMA          ADDRESS ON FILE
BERRIOS MERCADO, EDGARDO        ADDRESS ON FILE




                                                                            Page 849 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 850 of 3500
                                                                                             Creditor Matrix

Creditor Name                            Address1                  Address2                               Address3   Address4   City         State   PostalCode   Country
BERRIOS MERCADO, INDRA J                 ADDRESS ON FILE
BERRIOS MERCADO, JORGE                   ADDRESS ON FILE
BERRIOS MERCADO, JORGE L.                ADDRESS ON FILE
BERRIOS MERCADO, JOSE                    ADDRESS ON FILE
BERRIOS MERCADO, JOSE A.                 ADDRESS ON FILE
BERRIOS MERCADO, LIZBEL                  ADDRESS ON FILE
Berrios Mercado, Luis X.                 ADDRESS ON FILE
Berrios Mercado, Lymaira                 ADDRESS ON FILE
BERRIOS MERCADO, RUBEN                   ADDRESS ON FILE
BERRIOS MERCADO, VICTOR                  ADDRESS ON FILE
BERRIOS MERCED MD, JOSE E                ADDRESS ON FILE
BERRIOS MERCED, JUAN                     ADDRESS ON FILE
BERRIOS MERCED, PAOLA                    ADDRESS ON FILE
Berrios Millan, Edith L                  ADDRESS ON FILE
BERRIOS MILLAN, JOSE G                   ADDRESS ON FILE
BERRIOS MIRANDA, ELIE                    ADDRESS ON FILE
BERRIOS MIRANDA, ILEANA                  ADDRESS ON FILE
BERRIOS MIRANDA, OLGA                    ADDRESS ON FILE
BERRIOS MIRANDA, RADAMES                 ADDRESS ON FILE
BERRIOS MOJICA, LUIS                     ADDRESS ON FILE
BERRIOS MOLINA, HECTOR                   ADDRESS ON FILE
BERRIOS MOLINA, JOSE A                   ADDRESS ON FILE
BERRIOS MOLINA, LUIS A                   ADDRESS ON FILE
BERRIOS MOLINA, MARCOS A                 ADDRESS ON FILE
BERRIOS MONTALVO, LESLIE A.              ADDRESS ON FILE
BERRIOS MONTANEZ, LUIS                   ADDRESS ON FILE
BERRIOS MONTANEZ, YAHAYRA M              ADDRESS ON FILE
BERRIOS MONTERO & ASSOCIATES, PSC        1055 J F KENNEDY AVE      ILA BUILDING SUITE 201                                       SAN JUAN     PR      00920
BERRIOS MONTERO & ASSOCIATES, PSC        PO BOX 193791                                                                          SAN JUAN     PR      00919‐3791
BERRIOS MONTERO ENGINEERING ASSOCIATES   PO BOX 193791                                                                          SAN JUAN     PR      00919‐3791
BERRIOS MONTES, EVELYN                   ADDRESS ON FILE
BERRIOS MONTES, ISABEL A.                ADDRESS ON FILE
BERRIOS MONTES, ROSA                     ADDRESS ON FILE
Berrios Morales, Angel N.                ADDRESS ON FILE
BERRIOS MORALES, BETSY                   ADDRESS ON FILE
BERRIOS MORALES, EDWIN                   ADDRESS ON FILE
BERRIOS MORALES, ELBA                    ADDRESS ON FILE
BERRIOS MORALES, ERIC G                  ADDRESS ON FILE
BERRIOS MORALES, FRANCISCO               ADDRESS ON FILE
Berrios Morales, Hector R.               ADDRESS ON FILE
BERRIOS MORALES, IDENISSE M.             ADDRESS ON FILE
BERRIOS MORALES, ILIA I                  ADDRESS ON FILE
BERRIOS MORALES, IRMA L                  ADDRESS ON FILE
BERRIOS MORALES, JORGE A                 ADDRESS ON FILE
Berrios Morales, Jorge D                 ADDRESS ON FILE
BERRIOS MORALES, LUZ O.                  ADDRESS ON FILE
BERRIOS MORALES, LUZ O.                  ADDRESS ON FILE
BERRIOS MORALES, MARIA M                 ADDRESS ON FILE
BERRIOS MORALES, MIGDOEL                 ADDRESS ON FILE
BERRIOS MORALES, MIGUEL                  ADDRESS ON FILE
BERRIOS MORALES, NATALIE                 ADDRESS ON FILE
BERRIOS MORALES, NICOLE                  ADDRESS ON FILE
BERRIOS MORALES, RAMON                   ADDRESS ON FILE
BERRIOS MORALES, ROSA IRIS               ADDRESS ON FILE
BERRIOS MORALES, SAMUEL                  ADDRESS ON FILE
BERRIOS MORALES, SONIA                   ADDRESS ON FILE
BERRIOS MORALES, SONIA N                 ADDRESS ON FILE
BERRIOS MORALES, VANESSA                 ADDRESS ON FILE
BERRIOS MORALES, VANESSA V.              ADDRESS ON FILE
BERRIOS MORALES, ZORIMAR                 ADDRESS ON FILE




                                                                                            Page 850 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 851 of 3500
                                                                                     Creditor Matrix

Creditor Name                 Address1                   Address2                                 Address3   Address4   City       State   PostalCode   Country
Berrios Moreno, Rebeca        ADDRESS ON FILE
BERRIOS MOTORS CORP           140 CALLE RAFAEL CORDERO   PMB 542                                                        CAGUAS     PR      00725
BERRIOS MOYET, IVELISSE       ADDRESS ON FILE
BERRIOS NAVARRO, BRENDA I     ADDRESS ON FILE
BERRIOS NAVARRO, EDNA         ADDRESS ON FILE
BERRIOS NAVARRO, ELY M        ADDRESS ON FILE
BERRIOS NAZARIO, ABIEL        ADDRESS ON FILE
BERRIOS NAZARIO, KARYNNA      ADDRESS ON FILE
BERRIOS NAZARIO, MIRTIA       ADDRESS ON FILE
BERRIOS NEGRON, ALMARELY L    ADDRESS ON FILE
BERRIOS NEGRON, ARACELI       ADDRESS ON FILE
BERRIOS NEGRON, DIMARYS       ADDRESS ON FILE
BERRIOS NEGRON, FELIX R       ADDRESS ON FILE
BERRIOS NEGRON, FRANCHESKA    ADDRESS ON FILE
BERRIOS NEGRON, GRISELLE      ADDRESS ON FILE
BERRIOS NEGRON, IDA E.        ADDRESS ON FILE
BERRIOS NEGRON, IVETTE        ADDRESS ON FILE
BERRIOS NEGRON, JORGE         ADDRESS ON FILE
BERRIOS NEGRON, LUIS          ADDRESS ON FILE
BERRIOS NEGRON, LUIS A        ADDRESS ON FILE
BERRIOS NEGRON, LYMARIE       ADDRESS ON FILE
BERRIOS NEGRON, MARIANNE      ADDRESS ON FILE
Berrios Negron, Maximino      ADDRESS ON FILE
BERRIOS NIEVES, AMARILIS      ADDRESS ON FILE
BERRIOS NIEVES, ANGEL         ADDRESS ON FILE
BERRIOS NIEVES, EMMA          ADDRESS ON FILE
BERRIOS NIEVES, GLADYS G      ADDRESS ON FILE
BERRIOS NIEVES, JESSICA       ADDRESS ON FILE
Berrios Nieves, Joel          ADDRESS ON FILE
BERRIOS NIEVES, JUAN          ADDRESS ON FILE
BERRIOS NIEVES, LISANDRA      ADDRESS ON FILE
BERRIOS NIEVES, LUZ N         ADDRESS ON FILE
BERRIOS NIEVES, MARIA S.      ADDRESS ON FILE
BERRIOS NIEVES, NEFTALI       ADDRESS ON FILE
BERRIOS NIEVES, RICARDO       ADDRESS ON FILE
BERRIOS NIEVES, WANDA         ADDRESS ON FILE
BERRIOS NUNEZ, ADELE          ADDRESS ON FILE
BERRIOS NUNEZ, ARELIS         ADDRESS ON FILE
BERRIOS NUNEZ, LYDIA E        ADDRESS ON FILE
BERRIOS NUNEZ, MADELINE       ADDRESS ON FILE
BERRIOS NUNEZ, RAFAEL         ADDRESS ON FILE
BERRIOS OB‐GYN, P S C         URB SABANERA DEL RIO       54 CAMINO DE LOS BUCARES                                       GURABO     PR      00778
BERRIOS OCASIO MD, NANNETTE   ADDRESS ON FILE
BERRIOS OCASIO, JULIO R       ADDRESS ON FILE
BERRIOS OLIVENCIA, CECILIO    ADDRESS ON FILE
BERRIOS OLMEDA, IVETTE M      ADDRESS ON FILE
BERRIOS OLMEDA, JORGE J       ADDRESS ON FILE
BERRIOS OLMEDA, LUIS R        ADDRESS ON FILE
BERRIOS OLMEDA, NORMA         ADDRESS ON FILE
BERRIOS ORENGO, ANGEL         ADDRESS ON FILE
BERRIOS ORLANDI, LUISOSCAR    ADDRESS ON FILE
BERRIOS ORTEGA MD, ORLANDO    ADDRESS ON FILE
BERRIOS ORTEGA, ORLANDO       ADDRESS ON FILE
BERRIOS ORTEGA, YADIRA        ADDRESS ON FILE
BERRIOS ORTIX, WILLIAM        ADDRESS ON FILE
BERRIOS ORTIZ MA, JESUS       ADDRESS ON FILE
BERRIOS ORTIZ MD, PEDRO A     ADDRESS ON FILE
BERRIOS ORTIZ, ADA E          ADDRESS ON FILE
BERRIOS ORTIZ, ADDIS M        ADDRESS ON FILE
BERRIOS ORTIZ, AIDA L         ADDRESS ON FILE




                                                                                    Page 851 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 852 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS ORTIZ, ALEXEI           ADDRESS ON FILE
BERRIOS ORTIZ, ALEXIS           ADDRESS ON FILE
BERRIOS ORTIZ, ALEXIS           ADDRESS ON FILE
BERRIOS ORTIZ, ALFREDO          ADDRESS ON FILE
BERRIOS ORTIZ, ANA H            ADDRESS ON FILE
BERRIOS ORTIZ, ANGEL            ADDRESS ON FILE
BERRIOS ORTIZ, ANGEL L          ADDRESS ON FILE
BERRIOS ORTIZ, CARMEN           ADDRESS ON FILE
BERRIOS ORTIZ, CARMEN M         ADDRESS ON FILE
BERRIOS ORTIZ, CARMEN M         ADDRESS ON FILE
BERRIOS ORTIZ, CARMEN M         ADDRESS ON FILE
BERRIOS ORTIZ, CARMEN YOLANDA   ADDRESS ON FILE
BERRIOS ORTIZ, DAMARIS          ADDRESS ON FILE
BERRIOS ORTIZ, DANIEL           ADDRESS ON FILE
BERRIOS ORTIZ, DAVID            ADDRESS ON FILE
BERRIOS ORTIZ, DIEGO            ADDRESS ON FILE
BERRIOS ORTIZ, EDUARDO          ADDRESS ON FILE
BERRIOS ORTIZ, EDUARDO          ADDRESS ON FILE
BERRIOS ORTIZ, ELIZABETH        ADDRESS ON FILE
BERRIOS ORTIZ, ERIKA A          ADDRESS ON FILE
BERRIOS ORTIZ, ERNESTO          ADDRESS ON FILE
BERRIOS ORTIZ, FERDINAND        ADDRESS ON FILE
BERRIOS ORTIZ, GLORIMAR         ADDRESS ON FILE
BERRIOS ORTIZ, HILDA R          ADDRESS ON FILE
BERRIOS ORTIZ, HIRAM            ADDRESS ON FILE
BERRIOS ORTIZ, HUMBERTO         ADDRESS ON FILE
BERRIOS ORTIZ, ILIA M           ADDRESS ON FILE
BERRIOS ORTIZ, IVELISSE         ADDRESS ON FILE
BERRIOS ORTIZ, JOHAN R          ADDRESS ON FILE
BERRIOS ORTIZ, JOSE             ADDRESS ON FILE
BERRIOS ORTIZ, JOSE             ADDRESS ON FILE
BERRIOS ORTIZ, JUAN             ADDRESS ON FILE
BERRIOS ORTIZ, JUAN C.          ADDRESS ON FILE
BERRIOS ORTIZ, LILLYBETH        ADDRESS ON FILE
BERRIOS ORTIZ, LUIS             ADDRESS ON FILE
BERRIOS ORTIZ, LUIS             ADDRESS ON FILE
BERRIOS ORTIZ, LUIS A           ADDRESS ON FILE
BERRIOS ORTIZ, LUIS O           ADDRESS ON FILE
BERRIOS ORTIZ, LUIS O           ADDRESS ON FILE
BERRIOS ORTIZ, LUZ I            ADDRESS ON FILE
BERRIOS ORTIZ, LUZ N            ADDRESS ON FILE
BERRIOS ORTIZ, MARIA            ADDRESS ON FILE
BERRIOS ORTIZ, MARIA DE F.      ADDRESS ON FILE
BERRIOS ORTIZ, MARIADELISE      ADDRESS ON FILE
BERRIOS ORTIZ, MARITZA          ADDRESS ON FILE
BERRIOS ORTIZ, MARTA            ADDRESS ON FILE
BERRIOS ORTIZ, MARTA I          ADDRESS ON FILE
BERRIOS ORTIZ, MIRTA M          ADDRESS ON FILE
BERRIOS ORTIZ, MYRIAM           ADDRESS ON FILE
BERRIOS ORTIZ, OSCAR L          ADDRESS ON FILE
BERRIOS ORTIZ, ROSALYN          ADDRESS ON FILE
BERRIOS ORTIZ, ROSEANN          ADDRESS ON FILE
BERRIOS ORTIZ, RUTH             ADDRESS ON FILE
BERRIOS ORTIZ, SAHILYS          ADDRESS ON FILE
BERRIOS ORTIZ, SARITZA          ADDRESS ON FILE
BERRIOS ORTIZ, SONIA            ADDRESS ON FILE
BERRIOS ORTIZ, WILFREDO         ADDRESS ON FILE
Berrios Ortiz, William          ADDRESS ON FILE
BERRIOS ORTIZ, WILLIE           ADDRESS ON FILE
BERRIOS ORTIZ, YANIRA           ADDRESS ON FILE




                                                                            Page 852 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 853 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS ORTIZ, YOLANDA       ADDRESS ON FILE
BERRIOS OSORIO, SORAYA A     ADDRESS ON FILE
BERRIOS OTERO, ALIDA         ADDRESS ON FILE
Berrios Otero, Ana Z         ADDRESS ON FILE
BERRIOS OTERO, DENISE Y      ADDRESS ON FILE
BERRIOS OTERO, ELISEO        ADDRESS ON FILE
BERRIOS OTERO, FELICIA       ADDRESS ON FILE
BERRIOS OTERO, JOEL          ADDRESS ON FILE
BERRIOS OTERO, LIZETTE       ADDRESS ON FILE
BERRIOS OTERO, LIZZETTE      ADDRESS ON FILE
Berrios Otero, Rafael        ADDRESS ON FILE
Berrios Oyola, Dalimar       ADDRESS ON FILE
BERRIOS OYOLA, LOURDES       ADDRESS ON FILE
BERRIOS PABON, LEANDRO       ADDRESS ON FILE
Berrios Pabon, Leandro A     ADDRESS ON FILE
BERRIOS PABON, SARA          ADDRESS ON FILE
BERRIOS PADILLA, ELSA D      ADDRESS ON FILE
BERRIOS PADILLA, FRANCISCO   ADDRESS ON FILE
BERRIOS PADILLA, FULGENCIO   ADDRESS ON FILE
Berrios Padilla, Gerardo     ADDRESS ON FILE
Berrios Padilla, Jose R      ADDRESS ON FILE
BERRIOS PADILLA, JOSE R      ADDRESS ON FILE
BERRIOS PADILLA, MARIA J     ADDRESS ON FILE
BERRIOS PAGAN, ANDRES C      ADDRESS ON FILE
BERRIOS PAGAN, BRIGIDO       ADDRESS ON FILE
BERRIOS PAGAN, CANDIDA       ADDRESS ON FILE
BERRIOS PAGAN, EVA A         ADDRESS ON FILE
BERRIOS PAGAN, JOSE B        ADDRESS ON FILE
BERRIOS PAGAN, LISSETTE M.   ADDRESS ON FILE
BERRIOS PAGAN, TAMARA        ADDRESS ON FILE
BERRIOS PAGAN, TAMARA        ADDRESS ON FILE
BERRIOS PARIS, OMAYRA        ADDRESS ON FILE
BERRIOS PARRILLA, EDGAR      ADDRESS ON FILE
BERRIOS PASTRANA, CIRITA     ADDRESS ON FILE
BERRIOS PASTRANA, JORGE      ADDRESS ON FILE
BERRIOS PASTRANA, LUIS       ADDRESS ON FILE
BERRIOS PENA, RICARDO        ADDRESS ON FILE
BERRIOS PERALES, ELIZABETH   ADDRESS ON FILE
BERRIOS PEREZ MD, RAMON R    ADDRESS ON FILE
BERRIOS PEREZ, ABDIEL        ADDRESS ON FILE
BERRIOS PEREZ, AIRALYZ       ADDRESS ON FILE
Berrios Perez, Ana           ADDRESS ON FILE
BERRIOS PEREZ, ANA L         ADDRESS ON FILE
BERRIOS PEREZ, BRENDA        ADDRESS ON FILE
BERRIOS PEREZ, DAVID         ADDRESS ON FILE
BERRIOS PEREZ, EDWIN         ADDRESS ON FILE
BERRIOS PEREZ, GABRIEL       ADDRESS ON FILE
BERRIOS PEREZ, GERARDO       ADDRESS ON FILE
BERRIOS PEREZ, ISRAEL        ADDRESS ON FILE
BERRIOS PEREZ, JOEL          ADDRESS ON FILE
BERRIOS PEREZ, JORGE L       ADDRESS ON FILE
BERRIOS PEREZ, LINDA R.      ADDRESS ON FILE
BERRIOS PEREZ, LIZBETH       ADDRESS ON FILE
BERRIOS PEREZ, LUIS E        ADDRESS ON FILE
BERRIOS PEREZ, MACEIRA       ADDRESS ON FILE
BERRIOS PEREZ, MACEIRA       ADDRESS ON FILE
BERRIOS PEREZ, MANUELITA     ADDRESS ON FILE
BERRIOS PEREZ, MARIA         ADDRESS ON FILE
BERRIOS PEREZ, MARIA DE C    ADDRESS ON FILE
BERRIOS PEREZ, MARIBEL       ADDRESS ON FILE




                                                                         Page 853 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 854 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS PEREZ, MARTHA M           ADDRESS ON FILE
BERRIOS PEREZ, MAYRA DEL C        ADDRESS ON FILE
BERRIOS PEREZ, MYRNA              ADDRESS ON FILE
BERRIOS PEREZ, MYRNA I            ADDRESS ON FILE
BERRIOS PEREZ, RICARDO            ADDRESS ON FILE
BERRIOS PEREZ, SHEILA M.          ADDRESS ON FILE
BERRIOS PEREZ, SYLVETTE           ADDRESS ON FILE
BERRIOS PEREZ, SYLVETTE           ADDRESS ON FILE
BERRIOS PINA, AIDA G              ADDRESS ON FILE
BERRIOS PINEIRO, ALEX             ADDRESS ON FILE
BERRIOS PINEIRO, EDGAR            ADDRESS ON FILE
BERRIOS PIZARRO, BETSY I          ADDRESS ON FILE
Berrios Pizarro, Maria De Los A   ADDRESS ON FILE
BERRIOS PIZARRO, MARIA DEL C      ADDRESS ON FILE
BERRIOS PIZARRO, MARINA           ADDRESS ON FILE
BERRIOS POLA, JOSE                ADDRESS ON FILE
BERRIOS PUJOLS, JANINE            ADDRESS ON FILE
BERRIOS QUINONES, ALEJANDRO       ADDRESS ON FILE
BERRIOS QUINONES, AWILDA          ADDRESS ON FILE
BERRIOS QUINONES, DORIS           ADDRESS ON FILE
BERRIOS QUINONES, SAUL            ADDRESS ON FILE
BERRIOS QUINONES, WILFREDO        ADDRESS ON FILE
BERRIOS RAMOS, HECTOR             ADDRESS ON FILE
BERRIOS RAMOS, IDALMYS            ADDRESS ON FILE
BERRIOS RAMOS, KENNETH            ADDRESS ON FILE
BERRIOS RAMOS, LUIS               ADDRESS ON FILE
BERRIOS RAMOS, NICOLE             ADDRESS ON FILE
BERRIOS RAMOS, RAQUEL             ADDRESS ON FILE
BERRIOS RAMOS,VERONICA            ADDRESS ON FILE
BERRIOS RAYMUNDI, JOSE            ADDRESS ON FILE
BERRIOS REILOVA, JAVIER           ADDRESS ON FILE
BERRIOS REYES, EMMANUEL           ADDRESS ON FILE
BERRIOS REYES, IRIS               ADDRESS ON FILE
BERRIOS REYES, MARTHA X           ADDRESS ON FILE
BERRIOS REYES, MIGUEL             ADDRESS ON FILE
BERRIOS RIOS, ARELIS              ADDRESS ON FILE
BERRIOS RIOS, DIMARIS             ADDRESS ON FILE
BERRIOS RIOS, DORCA I             ADDRESS ON FILE
BERRIOS RIOS, EDGARDO             ADDRESS ON FILE
BERRIOS RIOS, HECTOR              ADDRESS ON FILE
BERRIOS RIOS, LINNETTE            ADDRESS ON FILE
BERRIOS RIOS, LUIS                ADDRESS ON FILE
BERRIOS RIOS, MIGUEL A.           ADDRESS ON FILE
Berrios Rios, William             ADDRESS ON FILE
BERRIOS RIVERA, ABIGAIL           ADDRESS ON FILE
BERRIOS RIVERA, AIXA              ADDRESS ON FILE
BERRIOS RIVERA, AIXA A            ADDRESS ON FILE
BERRIOS RIVERA, ALEYDA            ADDRESS ON FILE
BERRIOS RIVERA, ANA               ADDRESS ON FILE
BERRIOS RIVERA, ANA               ADDRESS ON FILE
BERRIOS RIVERA, ANA D             ADDRESS ON FILE
BERRIOS RIVERA, ANA M             ADDRESS ON FILE
BERRIOS RIVERA, ANA R             ADDRESS ON FILE
BERRIOS RIVERA, ANDRES            ADDRESS ON FILE
BERRIOS RIVERA, ANGEL             ADDRESS ON FILE
BERRIOS RIVERA, ANGEL L           ADDRESS ON FILE
BERRIOS RIVERA, ANTONIO           ADDRESS ON FILE
BERRIOS RIVERA, ANTONIO           ADDRESS ON FILE
BERRIOS RIVERA, ARLEEN            ADDRESS ON FILE
BERRIOS RIVERA, ARYDMARI          ADDRESS ON FILE




                                                                              Page 854 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 855 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS RIVERA, AURELIO      ADDRESS ON FILE
BERRIOS RIVERA, BETTY        ADDRESS ON FILE
BERRIOS RIVERA, CARMEN       ADDRESS ON FILE
BERRIOS RIVERA, CARMEN B     ADDRESS ON FILE
BERRIOS RIVERA, CARMEN D     ADDRESS ON FILE
BERRIOS RIVERA, CARMEN D     ADDRESS ON FILE
BERRIOS RIVERA, CARMEN G     ADDRESS ON FILE
BERRIOS RIVERA, CARMEN J     ADDRESS ON FILE
BERRIOS RIVERA, CARMEN L     ADDRESS ON FILE
BERRIOS RIVERA, CARMEN L.    ADDRESS ON FILE
BERRIOS RIVERA, CARMEN LUZ   ADDRESS ON FILE
BERRIOS RIVERA, CARMEN M     ADDRESS ON FILE
BERRIOS RIVERA, DANIEL       ADDRESS ON FILE
BERRIOS RIVERA, DAYNA        ADDRESS ON FILE
BERRIOS RIVERA, DEYRELIS     ADDRESS ON FILE
BERRIOS RIVERA, DIANA        ADDRESS ON FILE
BERRIOS RIVERA, DOEL         ADDRESS ON FILE
Berrios Rivera, Edwin        ADDRESS ON FILE
BERRIOS RIVERA, ELBA I       ADDRESS ON FILE
BERRIOS RIVERA, EMIL         ADDRESS ON FILE
Berrios Rivera, Eric         ADDRESS ON FILE
BERRIOS RIVERA, ERIC         ADDRESS ON FILE
BERRIOS RIVERA, EUMARYS      ADDRESS ON FILE
BERRIOS RIVERA, EVELYN G     ADDRESS ON FILE
BERRIOS RIVERA, FERNANDO     ADDRESS ON FILE
BERRIOS RIVERA, GLADYS I.    ADDRESS ON FILE
BERRIOS RIVERA, HERNANDO     ADDRESS ON FILE
BERRIOS RIVERA, HERNANDO     ADDRESS ON FILE
BERRIOS RIVERA, IGNACIO      ADDRESS ON FILE
BERRIOS RIVERA, INES         ADDRESS ON FILE
BERRIOS RIVERA, IRIS D       ADDRESS ON FILE
BERRIOS RIVERA, ISABEL       ADDRESS ON FILE
BERRIOS RIVERA, ISAMAR       ADDRESS ON FILE
BERRIOS RIVERA, ISAMILKA     ADDRESS ON FILE
BERRIOS RIVERA, ISMAEL       ADDRESS ON FILE
BERRIOS RIVERA, IVELISE N.   ADDRESS ON FILE
BERRIOS RIVERA, IVETTE       ADDRESS ON FILE
BERRIOS RIVERA, JAVIER       ADDRESS ON FILE
BERRIOS RIVERA, JAVIER       ADDRESS ON FILE
BERRIOS RIVERA, JERRY        ADDRESS ON FILE
Berrios Rivera, Jerry L.     ADDRESS ON FILE
BERRIOS RIVERA, JORGE        ADDRESS ON FILE
BERRIOS RIVERA, JOSE         ADDRESS ON FILE
BERRIOS RIVERA, JOSE A       ADDRESS ON FILE
BERRIOS RIVERA, JOSE F       ADDRESS ON FILE
Berrios Rivera, Jose L       ADDRESS ON FILE
BERRIOS RIVERA, JOSEFA       ADDRESS ON FILE
BERRIOS RIVERA, JUAN         ADDRESS ON FILE
BERRIOS RIVERA, JUAN         ADDRESS ON FILE
BERRIOS RIVERA, JUANA        ADDRESS ON FILE
BERRIOS RIVERA, JUANITA      ADDRESS ON FILE
BERRIOS RIVERA, JUDITH       ADDRESS ON FILE
BERRIOS RIVERA, JULIA M.     ADDRESS ON FILE
BERRIOS RIVERA, LOURDES      ADDRESS ON FILE
BERRIOS RIVERA, LUIS         ADDRESS ON FILE
BERRIOS RIVERA, LUIS         ADDRESS ON FILE
BERRIOS RIVERA, LUIS         ADDRESS ON FILE
BERRIOS RIVERA, LUIS A       ADDRESS ON FILE
BERRIOS RIVERA, LUIS M.      ADDRESS ON FILE
BERRIOS RIVERA, LUZ          ADDRESS ON FILE




                                                                         Page 855 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 856 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS RIVERA, LUZ A.            ADDRESS ON FILE
BERRIOS RIVERA, LUZ N             ADDRESS ON FILE
BERRIOS RIVERA, LYDIA             ADDRESS ON FILE
BERRIOS RIVERA, MADELINE          ADDRESS ON FILE
BERRIOS RIVERA, MADELINE          ADDRESS ON FILE
BERRIOS RIVERA, MANUELA           ADDRESS ON FILE
BERRIOS RIVERA, MARIA             ADDRESS ON FILE
BERRIOS RIVERA, MARIA D           ADDRESS ON FILE
BERRIOS RIVERA, MARIA I           ADDRESS ON FILE
BERRIOS RIVERA, MARIA M           ADDRESS ON FILE
BERRIOS RIVERA, MARIA S           ADDRESS ON FILE
BERRIOS RIVERA, MARITZA           ADDRESS ON FILE
BERRIOS RIVERA, MIRTELINA         ADDRESS ON FILE
BERRIOS RIVERA, NITZA             ADDRESS ON FILE
BERRIOS RIVERA, NOEL              ADDRESS ON FILE
BERRIOS RIVERA, ORLANDO           ADDRESS ON FILE
BERRIOS RIVERA, ORLANDO R         ADDRESS ON FILE
BERRIOS RIVERA, PEDRO             ADDRESS ON FILE
BERRIOS RIVERA, PRISCILA          ADDRESS ON FILE
BERRIOS RIVERA, RAFAEL            ADDRESS ON FILE
BERRIOS RIVERA, RAFAEL            ADDRESS ON FILE
BERRIOS RIVERA, RAMON             ADDRESS ON FILE
BERRIOS RIVERA, RAMON             ADDRESS ON FILE
BERRIOS RIVERA, RAQUEL            ADDRESS ON FILE
BERRIOS RIVERA, RAUL              ADDRESS ON FILE
BERRIOS RIVERA, ROBERTO           ADDRESS ON FILE
BERRIOS RIVERA, ROSA M            ADDRESS ON FILE
BERRIOS RIVERA, ROSALIA           ADDRESS ON FILE
BERRIOS RIVERA, SAMUEL            ADDRESS ON FILE
BERRIOS RIVERA, SANDRA E.         ADDRESS ON FILE
BERRIOS RIVERA, SONIA             ADDRESS ON FILE
BERRIOS RIVERA, SYL               ADDRESS ON FILE
BERRIOS RIVERA, SYLVIA            ADDRESS ON FILE
BERRIOS RIVERA, VICTOR O          ADDRESS ON FILE
BERRIOS RIVERA, WILBERT           ADDRESS ON FILE
BERRIOS RIVERA, WILLIAM           ADDRESS ON FILE
BERRIOS RIVERA, WILMARIE          ADDRESS ON FILE
BERRIOS RIVERA, YALITZA           ADDRESS ON FILE
BERRIOS RIVERA, YAMILET           ADDRESS ON FILE
BERRIOS RIVERA, YOMAIRA           ADDRESS ON FILE
BERRIOS RIVERA, ZAIDA             ADDRESS ON FILE
BERRIOS RIVERA, ZULMA             ADDRESS ON FILE
BERRIOS ROBLES, EDDIE             ADDRESS ON FILE
BERRIOS ROBLES, EVELYN            ADDRESS ON FILE
BERRIOS ROBLES, LILLIAM           ADDRESS ON FILE
BERRIOS ROBLES, LUIS              ADDRESS ON FILE
BERRIOS ROBLES, MARCOS            ADDRESS ON FILE
Berrios Robles, Pablo             ADDRESS ON FILE
BERRIOS RODRIGUEZ, ABNERIS        ADDRESS ON FILE
BERRIOS RODRIGUEZ, ADRIAN         ADDRESS ON FILE
BERRIOS RODRIGUEZ, ANGEL          ADDRESS ON FILE
BERRIOS RODRIGUEZ, ANGEL MANUEL   ADDRESS ON FILE
BERRIOS RODRIGUEZ, BRENDA E       ADDRESS ON FILE
BERRIOS RODRIGUEZ, CARMEN I       ADDRESS ON FILE
BERRIOS RODRIGUEZ, CEREIDA        ADDRESS ON FILE
BERRIOS RODRIGUEZ, CHRISTIAN      ADDRESS ON FILE
BERRIOS RODRIGUEZ, CLARIBEL       ADDRESS ON FILE
BERRIOS RODRIGUEZ, DAMIAN         ADDRESS ON FILE
Berrios Rodriguez, Elsie E        ADDRESS ON FILE
Berrios Rodriguez, Erica          ADDRESS ON FILE




                                                                              Page 856 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 857 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS RODRIGUEZ, ERICA           ADDRESS ON FILE
BERRIOS RODRIGUEZ, EVELYN          ADDRESS ON FILE
BERRIOS RODRIGUEZ, FRANCISCO       ADDRESS ON FILE
BERRIOS RODRIGUEZ, HECTOR          ADDRESS ON FILE
Berrios Rodriguez, Hector M        ADDRESS ON FILE
Berrios Rodriguez, Heriberto       ADDRESS ON FILE
BERRIOS RODRIGUEZ, IRMA O          ADDRESS ON FILE
BERRIOS RODRIGUEZ, JOEL            ADDRESS ON FILE
BERRIOS RODRIGUEZ, JOSE            ADDRESS ON FILE
BERRIOS RODRIGUEZ, JOSE A.         ADDRESS ON FILE
BERRIOS RODRIGUEZ, JULIO           ADDRESS ON FILE
BERRIOS RODRIGUEZ, LORNA M         ADDRESS ON FILE
BERRIOS RODRIGUEZ, LUIS A.         ADDRESS ON FILE
BERRIOS RODRIGUEZ, LUZ I.          ADDRESS ON FILE
BERRIOS RODRIGUEZ, LYDIA           ADDRESS ON FILE
BERRIOS RODRIGUEZ, LYDIA           ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARGARITA       ADDRESS ON FILE
Berrios Rodriguez, Margarita       ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARGARITA       ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARIA DEL C     ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARIA F         ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARIA L         ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARIA V         ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARICELA        ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARISOL         ADDRESS ON FILE
BERRIOS RODRIGUEZ, MARTA           ADDRESS ON FILE
BERRIOS RODRIGUEZ, MICHELLE        ADDRESS ON FILE
BERRIOS RODRIGUEZ, MIGUEL          ADDRESS ON FILE
BERRIOS RODRIGUEZ, NANCY           ADDRESS ON FILE
BERRIOS RODRIGUEZ, NARELIN         ADDRESS ON FILE
BERRIOS RODRIGUEZ, NELLY R         ADDRESS ON FILE
BERRIOS RODRIGUEZ, NELLY ROSA      ADDRESS ON FILE
BERRIOS RODRIGUEZ, NITZA           ADDRESS ON FILE
Berrios Rodriguez, Noel            ADDRESS ON FILE
BERRIOS RODRIGUEZ, NORMA I         ADDRESS ON FILE
Berrios Rodriguez, Norma I.        ADDRESS ON FILE
BERRIOS RODRIGUEZ, OSVALDO         ADDRESS ON FILE
BERRIOS RODRIGUEZ, RAUL            ADDRESS ON FILE
BERRIOS RODRIGUEZ, ROQUE           ADDRESS ON FILE
BERRIOS RODRIGUEZ, ROSA            ADDRESS ON FILE
Berrios Rodriguez, Rosa E.         ADDRESS ON FILE
BERRIOS RODRIGUEZ, ROSA I          ADDRESS ON FILE
BERRIOS RODRIGUEZ, RUTH D.         ADDRESS ON FILE
BERRIOS RODRIGUEZ, SARA M          ADDRESS ON FILE
BERRIOS RODRIGUEZ, TAINA           ADDRESS ON FILE
BERRIOS RODRIGUEZ, VANCE           ADDRESS ON FILE
BERRIOS RODRIGUEZ, VANCE VON VEX   ADDRESS ON FILE
BERRIOS RODRIGUEZ, WALLYBELIZ      ADDRESS ON FILE
BERRIOS RODRIGUEZ, ZAHIRA          ADDRESS ON FILE
Berrios Rodriguez, Zahira M        ADDRESS ON FILE
BERRIOS ROIG, MARINETTE            ADDRESS ON FILE
BERRIOS ROJAS, HECTOR I            ADDRESS ON FILE
BERRIOS ROJAS, IVETTE              ADDRESS ON FILE
BERRIOS ROJAS, JACQUELINE          ADDRESS ON FILE
BERRIOS ROJAS, KIARA               ADDRESS ON FILE
BERRIOS ROJAS, LUIS F              ADDRESS ON FILE
BERRIOS ROLON, TERESA              ADDRESS ON FILE
BERRIOS ROMERO, MORAIMA            ADDRESS ON FILE
BERRIOS ROSA, EILEEN               ADDRESS ON FILE
BERRIOS ROSA, EILEEN               ADDRESS ON FILE




                                                                               Page 857 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 858 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS ROSA, LILLIAN E.      ADDRESS ON FILE
BERRIOS ROSA, LUIS            ADDRESS ON FILE
BERRIOS ROSA, MARIA V         ADDRESS ON FILE
BERRIOS ROSA, STEVEN          ADDRESS ON FILE
BERRIOS ROSA, YOLANDA         ADDRESS ON FILE
BERRIOS ROSADO MD, CARLOS     ADDRESS ON FILE
BERRIOS ROSADO, ANABELLE      ADDRESS ON FILE
Berrios Rosado, Antonio       ADDRESS ON FILE
BERRIOS ROSADO, CARMEN I      ADDRESS ON FILE
BERRIOS ROSADO, EMMANUEL      ADDRESS ON FILE
BERRIOS ROSADO, JOANNE M      ADDRESS ON FILE
BERRIOS ROSADO, JOSE          ADDRESS ON FILE
BERRIOS ROSADO, JUAN          ADDRESS ON FILE
BERRIOS ROSADO, LESLIE A      ADDRESS ON FILE
BERRIOS ROSADO, LIZBETH       ADDRESS ON FILE
BERRIOS ROSADO, MARIA         ADDRESS ON FILE
Berrios Rosado, Norberto      ADDRESS ON FILE
BERRIOS ROSADO, RAFAELA       ADDRESS ON FILE
BERRIOS ROSADO, VICTOR        ADDRESS ON FILE
BERRIOS ROSARIO, JOSE A       ADDRESS ON FILE
BERRIOS ROSARIO, JOSE A       ADDRESS ON FILE
BERRIOS ROSARIO, JUAN E.      ADDRESS ON FILE
BERRIOS ROSARIO, JUAN I       ADDRESS ON FILE
BERRIOS ROSARIO, LOURDES      ADDRESS ON FILE
BERRIOS ROSARIO, LUIS         ADDRESS ON FILE
BERRIOS ROSARIO, LUIS         ADDRESS ON FILE
BERRIOS ROSARIO, LUIS J       ADDRESS ON FILE
Berrios Rosario, Manuel       ADDRESS ON FILE
BERRIOS ROSARIO, MARLINE J.   ADDRESS ON FILE
BERRIOS ROSARIO, RAFAEL       ADDRESS ON FILE
BERRIOS ROSARIO, ROSALIZ      ADDRESS ON FILE
BERRIOS ROSARIO, SONJA        ADDRESS ON FILE
BERRIOS RUBIO, HEIDI M.       ADDRESS ON FILE
BERRIOS RUIZ, BRAMERY J       ADDRESS ON FILE
BERRIOS RUIZ, JOHANA          ADDRESS ON FILE
Berrios Ruiz, Luis            ADDRESS ON FILE
BERRIOS SAEZ, ALVIN           ADDRESS ON FILE
BERRIOS SAEZ, AUREA           ADDRESS ON FILE
BERRIOS SAEZ, AUREA           ADDRESS ON FILE
BERRIOS SALGADO, JANNETTE     ADDRESS ON FILE
BERRIOS SALGADO, JUAN A.      ADDRESS ON FILE
BERRIOS SAN MIGUEL, ELSA E    ADDRESS ON FILE
BERRIOS SANABRIA, ZULMA       ADDRESS ON FILE
BERRIOS SANCHEZ, EFRAIN       ADDRESS ON FILE
BERRIOS SANCHEZ, EMMA         ADDRESS ON FILE
BERRIOS SANCHEZ, FELICITA     ADDRESS ON FILE
BERRIOS SANCHEZ, GRACE M      ADDRESS ON FILE
BERRIOS SANCHEZ, IRIS M       ADDRESS ON FILE
BERRIOS SANCHEZ, JUAN         ADDRESS ON FILE
BERRIOS SANCHEZ, LIZA         ADDRESS ON FILE
BERRIOS SANCHEZ, LUZ M        ADDRESS ON FILE
BERRIOS SANCHEZ, LYMARIE      ADDRESS ON FILE
BERRIOS SANCHEZ, MINERVA      ADDRESS ON FILE
BERRIOS SANCHEZ, MINERVA      ADDRESS ON FILE
BERRIOS SANCHEZ, NESTOR       ADDRESS ON FILE
BERRIOS SANCHEZ, SHEILA       ADDRESS ON FILE
BERRIOS SANTANA, EDGARDO      ADDRESS ON FILE
Berrios Santana, Hector R     ADDRESS ON FILE
BERRIOS SANTANA, IMELDA R.    ADDRESS ON FILE
BERRIOS SANTANA, JOAQUIN      ADDRESS ON FILE




                                                                          Page 858 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 859 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS SANTANA, WANDA I         ADDRESS ON FILE
BERRIOS SANTANA, WANDA I         ADDRESS ON FILE
BERRIOS SANTIAGO, ALBA           ADDRESS ON FILE
BERRIOS SANTIAGO, ARMANDO        ADDRESS ON FILE
BERRIOS SANTIAGO, BLANCA I       ADDRESS ON FILE
BERRIOS SANTIAGO, CARLOS         ADDRESS ON FILE
BERRIOS SANTIAGO, CLARIBEL       ADDRESS ON FILE
Berrios Santiago, Felix          ADDRESS ON FILE
BERRIOS SANTIAGO, FELIX          ADDRESS ON FILE
BERRIOS SANTIAGO, GERARDO L      ADDRESS ON FILE
BERRIOS SANTIAGO, ILIA I         ADDRESS ON FILE
BERRIOS SANTIAGO, INGRID         ADDRESS ON FILE
BERRIOS SANTIAGO, IRIS           ADDRESS ON FILE
BERRIOS SANTIAGO, IRIS           ADDRESS ON FILE
BERRIOS SANTIAGO, IRIS N         ADDRESS ON FILE
BERRIOS SANTIAGO, ISANDER        ADDRESS ON FILE
BERRIOS SANTIAGO, ISANDRA        ADDRESS ON FILE
BERRIOS SANTIAGO, JAIME          ADDRESS ON FILE
Berrios Santiago, Jorge          ADDRESS ON FILE
BERRIOS SANTIAGO, JOSE           ADDRESS ON FILE
BERRIOS SANTIAGO, JOSE E.        ADDRESS ON FILE
Berrios Santiago, Jose M         ADDRESS ON FILE
BERRIOS SANTIAGO, KEISHA         ADDRESS ON FILE
BERRIOS SANTIAGO, LISANDRA       ADDRESS ON FILE
BERRIOS SANTIAGO, LIZETTE        ADDRESS ON FILE
BERRIOS SANTIAGO, MARIA          ADDRESS ON FILE
BERRIOS SANTIAGO, MARIA E        ADDRESS ON FILE
BERRIOS SANTIAGO, MIGNALDA       ADDRESS ON FILE
BERRIOS SANTIAGO, MIRISAND       ADDRESS ON FILE
Berrios Santiago, Narciso        ADDRESS ON FILE
BERRIOS SANTIAGO, NICKOLE        ADDRESS ON FILE
BERRIOS SANTIAGO, PEDRO J        ADDRESS ON FILE
Berrios Santiago, Pedro N        ADDRESS ON FILE
BERRIOS SANTIAGO, RAMONA         ADDRESS ON FILE
BERRIOS SANTIAGO, ROBERTO        ADDRESS ON FILE
BERRIOS SANTIAGO, ROBERTO JR     ADDRESS ON FILE
BERRIOS SANTIAGO, ROBERTO JR     ADDRESS ON FILE
BERRIOS SANTIAGO, ROSA B         ADDRESS ON FILE
BERRIOS SANTIAGO, SAUL           ADDRESS ON FILE
BERRIOS SANTIAGO, SONIA          ADDRESS ON FILE
BERRIOS SANTIAGO, SONIA          ADDRESS ON FILE
BERRIOS SANTIAGO, VILMARIS       ADDRESS ON FILE
BERRIOS SANTIAGO, YADIRA         ADDRESS ON FILE
BERRIOS SANTIAGO, YARICEL        ADDRESS ON FILE
BERRIOS SANTOS, ADA C            ADDRESS ON FILE
BERRIOS SANTOS, AIDA             ADDRESS ON FILE
BERRIOS SANTOS, CARMEN           ADDRESS ON FILE
BERRIOS SANTOS, EDWIN            ADDRESS ON FILE
BERRIOS SANTOS, JOSE M           ADDRESS ON FILE
BERRIOS SANTOS, JULIO            ADDRESS ON FILE
BERRIOS SANTOS, LUIS             ADDRESS ON FILE
BERRIOS SANTOS, SELVA J          ADDRESS ON FILE
BERRIOS SANTOS, VICTOR           ADDRESS ON FILE
BERRIOS SANTOS, VIRGENMINA       ADDRESS ON FILE
BERRIOS SANTOS, YARITZA          ADDRESS ON FILE
BERRIOS SANTOS, YARITZA DEL      ADDRESS ON FILE
BERRIOS SANTOS, ZULEIKA          ADDRESS ON FILE
BERRIOS SEPULVEDA MD, CARMEN L   ADDRESS ON FILE
BERRIOS SEPULVEDA, MARIA         ADDRESS ON FILE
BERRIOS SERRANO, ARYAM           ADDRESS ON FILE




                                                                             Page 859 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 860 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS SERRANO, JUAN          ADDRESS ON FILE
BERRIOS SIERRA, AMNERIS        ADDRESS ON FILE
BERRIOS SIERRA, EFRAIN         ADDRESS ON FILE
Berrios Sierra, Evangelina     ADDRESS ON FILE
BERRIOS SIERRA, JASON          ADDRESS ON FILE
BERRIOS SIERRA, JOSE           ADDRESS ON FILE
BERRIOS SILVA, ALBERTO         ADDRESS ON FILE
Berrios Silva, Juan R          ADDRESS ON FILE
BERRIOS SILVA, NORMA           ADDRESS ON FILE
BERRIOS SILVA, NORMA           ADDRESS ON FILE
BERRIOS SILVA, ODIMAR          ADDRESS ON FILE
BERRIOS SILVESTRE, ANGEL       ADDRESS ON FILE
BERRIOS SILVESTRE, LUIS        ADDRESS ON FILE
Berrios Solis, Angel L.        ADDRESS ON FILE
BERRIOS SORIA, GLORIA          ADDRESS ON FILE
BERRIOS SOSA, JOSE M           ADDRESS ON FILE
BERRIOS SOTO, EDDA M.          ADDRESS ON FILE
BERRIOS SOTO, FRANCISCO        ADDRESS ON FILE
BERRIOS SOTO, JOSE             ADDRESS ON FILE
BERRIOS STINE, EMMANUEL W      ADDRESS ON FILE
BERRIOS SUAREZ, CARMEN S       ADDRESS ON FILE
Berrios Suarez, Miriam         ADDRESS ON FILE
BERRIOS TATE, LUIS A           ADDRESS ON FILE
BERRIOS THODES, MARICARMEN     ADDRESS ON FILE
BERRIOS TIRADO, CARMEN         ADDRESS ON FILE
BERRIOS TORO, LUIS             ADDRESS ON FILE
BERRIOS TORRES, AIXA N         ADDRESS ON FILE
BERRIOS TORRES, ALFREDO        ADDRESS ON FILE
BERRIOS TORRES, ANGELA L       ADDRESS ON FILE
BERRIOS TORRES, BETSY          ADDRESS ON FILE
BERRIOS TORRES, BLANCA I       ADDRESS ON FILE
BERRIOS TORRES, BLANCA I       ADDRESS ON FILE
BERRIOS TORRES, CARMEN         ADDRESS ON FILE
BERRIOS TORRES, CARMEN L       ADDRESS ON FILE
BERRIOS TORRES, CARMEN N.      ADDRESS ON FILE
BERRIOS TORRES, CARMEN R       ADDRESS ON FILE
BERRIOS TORRES, CARMEN R       ADDRESS ON FILE
BERRIOS TORRES, CECILIA        ADDRESS ON FILE
BERRIOS TORRES, DANIEL         ADDRESS ON FILE
BERRIOS TORRES, DORIS A.       ADDRESS ON FILE
BERRIOS TORRES, EDUARDO        ADDRESS ON FILE
BERRIOS TORRES, ERIC           ADDRESS ON FILE
BERRIOS TORRES, EVELYN         ADDRESS ON FILE
Berrios Torres, Evette         ADDRESS ON FILE
BERRIOS TORRES, FRANCHESKA     ADDRESS ON FILE
BERRIOS TORRES, FRANCISCO      ADDRESS ON FILE
BERRIOS TORRES, GABRIEL        ADDRESS ON FILE
BERRIOS TORRES, GEORGINO       ADDRESS ON FILE
BERRIOS TORRES, GLENDALIZ      ADDRESS ON FILE
BERRIOS TORRES, GRECHENMARIE   ADDRESS ON FILE
BERRIOS TORRES, HECTOR         ADDRESS ON FILE
BERRIOS TORRES, HECTOR         ADDRESS ON FILE
BERRIOS TORRES, ISMAEL         ADDRESS ON FILE
BERRIOS TORRES, IVELISSE       ADDRESS ON FILE
BERRIOS TORRES, JESENMARIE     ADDRESS ON FILE
BERRIOS TORRES, JOSE           ADDRESS ON FILE
BERRIOS TORRES, JOSE           ADDRESS ON FILE
BERRIOS TORRES, JOSE H.        ADDRESS ON FILE
BERRIOS TORRES, JOSE H.        ADDRESS ON FILE
Berrios Torres, Leoncio        ADDRESS ON FILE




                                                                           Page 860 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 861 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS TORRES, LOURDES        ADDRESS ON FILE
BERRIOS TORRES, MARGARITA      ADDRESS ON FILE
BERRIOS TORRES, MARGARITA I    ADDRESS ON FILE
BERRIOS TORRES, MARIA DEL R    ADDRESS ON FILE
BERRIOS TORRES, MARIA S        ADDRESS ON FILE
BERRIOS TORRES, MARIEMMA       ADDRESS ON FILE
BERRIOS TORRES, MARITZA        ADDRESS ON FILE
BERRIOS TORRES, MARTA I.       ADDRESS ON FILE
BERRIOS TORRES, MAYRA          ADDRESS ON FILE
BERRIOS TORRES, NEFTALI        ADDRESS ON FILE
BERRIOS TORRES, PABLO          ADDRESS ON FILE
BERRIOS TORRES, SANDRA I       ADDRESS ON FILE
BERRIOS TORRES, SHIERLY        ADDRESS ON FILE
BERRIOS TORRES, TED            ADDRESS ON FILE
BERRIOS TORRES, THELMA I.      ADDRESS ON FILE
BERRIOS TORRES, VILMA          ADDRESS ON FILE
BERRIOS TORRES, VIRGINIA L     ADDRESS ON FILE
BERRIOS TORRES, WALESKA        ADDRESS ON FILE
BERRIOS TORRES, XAVIER         ADDRESS ON FILE
BERRIOS TORRES,TED             ADDRESS ON FILE
BERRIOS TORRUELLAS, ALEXIS     ADDRESS ON FILE
BERRIOS TOSSES, LEARSI         ADDRESS ON FILE
BERRIOS TOSSES, LEARSI         ADDRESS ON FILE
Berrios Valentin, Felix A      ADDRESS ON FILE
BERRIOS VALENTIN, MATILDE      ADDRESS ON FILE
BERRIOS VARELA, EDNA           ADDRESS ON FILE
BERRIOS VARELA, EDNA M         ADDRESS ON FILE
BERRIOS VARGAS, IBEROLYS       ADDRESS ON FILE
BERRIOS VARGAS, MARISOL        ADDRESS ON FILE
BERRIOS VAZQUEZ, AMARILYS      ADDRESS ON FILE
BERRIOS VAZQUEZ, ANISEIDI      ADDRESS ON FILE
BERRIOS VAZQUEZ, CARLOS        ADDRESS ON FILE
BERRIOS VAZQUEZ, DAVID         ADDRESS ON FILE
BERRIOS VAZQUEZ, DAVIEL        ADDRESS ON FILE
BERRIOS VAZQUEZ, EDITH M       ADDRESS ON FILE
BERRIOS VAZQUEZ, EDNA          ADDRESS ON FILE
BERRIOS VAZQUEZ, ELI           ADDRESS ON FILE
BERRIOS VAZQUEZ, ENEIDA        ADDRESS ON FILE
BERRIOS VAZQUEZ, FERNANDO      ADDRESS ON FILE
BERRIOS VAZQUEZ, FERNANDO      ADDRESS ON FILE
BERRIOS VAZQUEZ, FRANCIS       ADDRESS ON FILE
BERRIOS VAZQUEZ, ISMAEL        ADDRESS ON FILE
BERRIOS VAZQUEZ, IVETTE        ADDRESS ON FILE
BERRIOS VAZQUEZ, LESLIE E      ADDRESS ON FILE
BERRIOS VAZQUEZ, LUIS          ADDRESS ON FILE
BERRIOS VAZQUEZ, MABEL E       ADDRESS ON FILE
BERRIOS VAZQUEZ, MARIA DEL C   ADDRESS ON FILE
BERRIOS VAZQUEZ, MARILIS J     ADDRESS ON FILE
BERRIOS VAZQUEZ, NATIVIDAD     ADDRESS ON FILE
BERRIOS VAZQUEZ, NORMA LUZ     ADDRESS ON FILE
BERRIOS VEGA, CARMEN           ADDRESS ON FILE
BERRIOS VEGA, CARMEN A         ADDRESS ON FILE
BERRIOS VEGA, CAROLYN          ADDRESS ON FILE
BERRIOS VEGA, EVELYN           ADDRESS ON FILE
BERRIOS VEGA, HORACIO          ADDRESS ON FILE
BERRIOS VEGA, IVAN R           ADDRESS ON FILE
BERRIOS VEGA, JOSE G           ADDRESS ON FILE
BERRIOS VEGA, LUIS O.          ADDRESS ON FILE
BERRIOS VEGA, MARIA            ADDRESS ON FILE
BERRIOS VEGA, MIGDALIA         ADDRESS ON FILE




                                                                           Page 861 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 862 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOS VEGA, MISAEL            ADDRESS ON FILE
BERRIOS VEGA, RAFAEL            ADDRESS ON FILE
BERRIOS VEGA, ROSA M            ADDRESS ON FILE
BERRIOS VEGA, SONIA N           ADDRESS ON FILE
BERRIOS VELAZ QUEZ, ISABELINO   ADDRESS ON FILE
BERRIOS VELAZQUEZ, ANGEL        ADDRESS ON FILE
BERRIOS VELAZQUEZ, EDDIE        ADDRESS ON FILE
BERRIOS VELAZQUEZ, ELIZABETH    ADDRESS ON FILE
BERRIOS VELAZQUEZ, ISANDER      ADDRESS ON FILE
BERRIOS VELAZQUEZ, JOSE         ADDRESS ON FILE
BERRIOS VELAZQUEZ, LEDDY        ADDRESS ON FILE
BERRIOS VELAZQUEZ, NEREIDA      ADDRESS ON FILE
BERRIOS VELAZQUEZ, ORLANDO      ADDRESS ON FILE
BERRIOS VELAZQUEZ, ROBERTO      ADDRESS ON FILE
BERRIOS VELAZQUEZ, SOLIMAR      ADDRESS ON FILE
BERRIOS VELEZ, FRANCISCO        ADDRESS ON FILE
BERRIOS VELEZ, GLENDA           ADDRESS ON FILE
BERRIOS VELEZ, JOSE             ADDRESS ON FILE
BERRIOS VELEZ, MARIA            ADDRESS ON FILE
BERRIOS VELEZ, NEILA            ADDRESS ON FILE
BERRIOS VELEZ, NELIMEL          ADDRESS ON FILE
BERRIOS VELEZ, SHEILA M.        ADDRESS ON FILE
BERRIOS VENTURA, HERMES         ADDRESS ON FILE
BERRIOS VERA, MILAGROS          ADDRESS ON FILE
Berrios Vicente, Luis A         ADDRESS ON FILE
BERRIOS VIDAL, YARALIS          ADDRESS ON FILE
BERRIOS VILLAFANE, ANIBAL       ADDRESS ON FILE
BERRIOS VILLAFANE, BENJAMIN     ADDRESS ON FILE
BERRIOS VILLAFANE, JUANITA      ADDRESS ON FILE
BERRIOS VILLANUEVA, JANNETTE    ADDRESS ON FILE
BERRIOS VINAS, NYDIA I          ADDRESS ON FILE
BERRIOS VIRELLA, JESSENIA       ADDRESS ON FILE
BERRIOS VIRUET, HECTOR          ADDRESS ON FILE
BERRIOS WILLIAMS, MYRNA         ADDRESS ON FILE
BERRIOS YORRO, ELIZABETH        ADDRESS ON FILE
BERRIOS ZAYAS, BETSY I          ADDRESS ON FILE
BERRIOS ZAYAS, BLASS            ADDRESS ON FILE
BERRIOS ZAYAS, CARMEN B         ADDRESS ON FILE
BERRIOS ZAYAS, CELYS Y          ADDRESS ON FILE
BERRIOS ZAYAS, GABRIEL          ADDRESS ON FILE
BERRIOS ZAYAS, GUADALUPE        ADDRESS ON FILE
BERRIOS ZAYAS, JOSE             ADDRESS ON FILE
BERRIOS ZAYAS, LYDIA E          ADDRESS ON FILE
BERRIOS ZAYAS, RAFAEL           ADDRESS ON FILE
BERRIOS, ANGEL                  ADDRESS ON FILE
BERRIOS, ANGEL O.               ADDRESS ON FILE
BERRIOS, CAROLE T               ADDRESS ON FILE
Berrios, Gilberto Lopez         ADDRESS ON FILE
BERRIOS, JOSHUA                 ADDRESS ON FILE
BERRIOS, LILIBETH               ADDRESS ON FILE
BERRIOS, RENE                   ADDRESS ON FILE
BERRIOS, ROSAMARY               ADDRESS ON FILE
BERRIOS, SONIA E                ADDRESS ON FILE
BERRIOS, VIDAL                  ADDRESS ON FILE
BERRIOS,ANGEL L.                ADDRESS ON FILE
BERRIOS,ORLANDO                 ADDRESS ON FILE
BERRIOSBAEZ, CARMENB.           ADDRESS ON FILE
BERRIOSCOLON, VICTOR M          ADDRESS ON FILE
BERRIOSDELGADO, RAYSABELL       ADDRESS ON FILE
BERRIOSMALDONADO, ANGEL L       ADDRESS ON FILE




                                                                            Page 862 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 863 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BERRIOSMALDONADO, JUVINAL            ADDRESS ON FILE
BERRIOSRIVERA, NELSON                ADDRESS ON FILE
BERRIZ PEREZ, GABRIEL                ADDRESS ON FILE
BERROA CAQUIIAS, FERNANDO            ADDRESS ON FILE
BERROA DE LA CRUZ, ISIDRO            ADDRESS ON FILE
BERROA DE LA CRUZ, MARGARITA         ADDRESS ON FILE
BERROA DE LA ROSA, MILAN             ADDRESS ON FILE
BERROA EMILIANO, DANIA               ADDRESS ON FILE
BERROA ESPINOSA, LILLIAM L           ADDRESS ON FILE
BERROA LACAY, JACQUELINE             ADDRESS ON FILE
BERROA MORILLO, TOMAS                ADDRESS ON FILE
BERROA PADILLA, MARIA                ADDRESS ON FILE
BERROA PIMENTEL, JULIA               ADDRESS ON FILE
BERROA VELAZQUEZ, JOHANNA            ADDRESS ON FILE
BERROA, ELIZANDRO RAFAEL             ADDRESS ON FILE
BERROA, FERNANDO A                   ADDRESS ON FILE
BERROA, JUAN C.                      ADDRESS ON FILE
BERROCAL ANTONMATTEI, ANA MILAGROS   ADDRESS ON FILE
BERROCAL BERRIOS, SANDRA I           ADDRESS ON FILE
BERROCAL FLORES, ANDRES              ADDRESS ON FILE
BERROCAL MARKUS, MELANIE A.          ADDRESS ON FILE
BERROCAL RODRIGUEZ, IRENE            ADDRESS ON FILE
BERROCAL RODRIGUEZ, MARITZA          ADDRESS ON FILE
BERROCAL RODRIGUEZ, NOEMI            ADDRESS ON FILE
BERROCAL SANCHEZ, NEMESIA            ADDRESS ON FILE
BERROCAL SANTIAGO, ELIEZER           ADDRESS ON FILE
BERROCAL SANTIAGO, ELVIN             ADDRESS ON FILE
BERROCAL SUAREZ, OMAR                ADDRESS ON FILE
BERROCAL TORRES, BEATRIZ             ADDRESS ON FILE
BERROCAL VELEZ MD, JOSE A            ADDRESS ON FILE
BERROCAL ZEGARRA MD, CARLOS J        ADDRESS ON FILE
BERROCALES BAEZ, CRISTINA            ADDRESS ON FILE
BERROCALES BAEZ, JOSE                ADDRESS ON FILE
BERROCALES BAEZ, MYRIAM              ADDRESS ON FILE
Berrocales Cintron, Darlen E         ADDRESS ON FILE
Berrocales Cintron, Jhuan            ADDRESS ON FILE
BERROCALES CINTRON, JHUAN            ADDRESS ON FILE
BERROCALES FERRER, NELSON            ADDRESS ON FILE
Berrocales Flores, Luis A            ADDRESS ON FILE
BERROCALES LUGO, SARA                ADDRESS ON FILE
Berrocales Matos, Carlos             ADDRESS ON FILE
BERROCALES MATOS, OSVALDO            ADDRESS ON FILE
BERROCALES MATOS, WENDEL             ADDRESS ON FILE
BERROCALES MORENO, ANGEL             ADDRESS ON FILE
BERROCALES MORENO, IVELISSE          ADDRESS ON FILE
BERROCALES OCASIO, DIANA M           ADDRESS ON FILE
Berrocales Ortiz, Juan               ADDRESS ON FILE
BERROCALES ORTIZ, NILSA              ADDRESS ON FILE
BERROCALES PAGAN, RISSELA            ADDRESS ON FILE
BERROCALES RAMOS, HECTOR             ADDRESS ON FILE
BERROCALES RUIZ, MARILYN             ADDRESS ON FILE
Berrocales Tardi, Carlos             ADDRESS ON FILE
BERROCALES TARDI, CARLOS             ADDRESS ON FILE
BERROCALES VAZQUEZ, REINA            ADDRESS ON FILE
Berrocales Vega, Alberto             ADDRESS ON FILE
Berrocales Vega, Angel M             ADDRESS ON FILE
BERROCALES VEGA, DORAIDA             ADDRESS ON FILE
BERROCALES VEGA, FELIX               ADDRESS ON FILE
BERROCALES VEGA, GLORIA              ADDRESS ON FILE
BERROCALES VEGA, LUIS                ADDRESS ON FILE




                                                                                 Page 863 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 864 of 3500
                                                                                               Creditor Matrix

Creditor Name                     Address1                        Address2                                  Address3          Address4   City         State   PostalCode   Country
BERROCALES VEGA, SANTIA           ADDRESS ON FILE
BERROCALES VEGA, YESENIA          ADDRESS ON FILE
BERROCALES VERDEJO, GLORIMAR      ADDRESS ON FILE
BERROCALES VERDEJO, KARLA M       ADDRESS ON FILE
BERROCALES, ANTHONY               ADDRESS ON FILE
BERRRIOS HERNANDE, LOYDA I        ADDRESS ON FILE
BERRY ESTRADA, DAVID              ADDRESS ON FILE
BERRY POLANCO MD, JOSSEPP         ADDRESS ON FILE
BERRY, ADAM                       ADDRESS ON FILE
BERSY MORALES MERCADO             ADDRESS ON FILE
BERTA BAEZ DE PENA                ADDRESS ON FILE
BERTA BAEZ PINTOR                 ADDRESS ON FILE
BERTA GONZALEZ RODRIGUEZ          ADDRESS ON FILE
BERTA GUIZAN Y/O JOSE J DAVALOS   ADDRESS ON FILE
BERTA M MARCHAND ALVAREZ          ADDRESS ON FILE
BERTA MAINARDI PERALTA            ADDRESS ON FILE
BERTA MARCHAND ALVAREZ            ADDRESS ON FILE
BERTA SEPULVEDA VDA QUILINCHIN    URB SAN IGNACIO                 1796 CALLE SAN ALEJANDRO                                               SAN JUAN     PR      00927
BERTA SERRANO CASTRO              ADDRESS ON FILE
BERTHA GONZALEZ GAMEJO            ADDRESS ON FILE
BERTHA I. GONZALEZ ALAVA          ADDRESS ON FILE
BERTHA JOSE GUERRERO              ADDRESS ON FILE
BERTHA M SENERIZ GUEVARRA         ADDRESS ON FILE
BERTHA M. YANES RAMOS             LCDO. JAVIER O SENCIO LUCIANO   BUFETE ADAMES‐SOTO 434 AVENIDA OSTOS                                   SAN JUAN     PR      00918
BERTHA M. YANES RAMOS             LCDO. JOSÉ M. URRUTIA VELÉZ     ADM. DE VIVIENDA PÚBLICA APARTADO 21365                                HATO REY     PR      00928‐1365
                                                                                                            SUITE 801 CALLE
BERTHA M. YANES RAMOS             LCDO. ROBERTO RUIZ COMAS        DORAL BANK PLAZA                          RESLUCIÓN 33                 SAN JUAN     PR      00920
BERTHA RODRIGUEZ SANABRIA         ADDRESS ON FILE
BERTHA TORRES GONZALEZ            ADDRESS ON FILE
BERTI CANDELA, RAMON F.           ADDRESS ON FILE
BERTI MASSOL, MARIO               ADDRESS ON FILE
BERTILLO RAMOS                    ADDRESS ON FILE
BERTIN BABILONIA, MYRIAM L        ADDRESS ON FILE
BERTIS MARIA DELGADO FIGUEROA     ADDRESS ON FILE
BERTOLO DE ORTIZ, MARIA T         ADDRESS ON FILE
BERTRAM BOTKIN, GRAIG SCOTT       ADDRESS ON FILE
BERTRAN ASTOR LAW OFFICE          URB SAGRADO CORAZON             360 CALLE SAN GENARO                                                   SAN JUAN     PR      00926‐4106
BERTRAN ASTOR, JUAN M.            ADDRESS ON FILE
BERTRAN LOPEZ, JOVANNA            ADDRESS ON FILE
BERTRAN PASARELL MD, JUAN M       ADDRESS ON FILE
BERTRAN PASARELL, JOSE            ADDRESS ON FILE
BERTRAN PENA MD, ROBERTO          ADDRESS ON FILE
BERTRAN SCHUCK, JOSE J.           ADDRESS ON FILE
BERTRAN VICENS, DANIELA           ADDRESS ON FILE
BERTRIZ M GONZALEZ ESPADA         ADDRESS ON FILE
BERTY'S AUDIO CORPORATION         PO BOX 193928                                                                                          HATO REY     PR      00919‐3928
BERUSKA NUNEZ SANCHEZ             ADDRESS ON FILE
BERY BROTHERS                     CARR 385 KM 3.9                                                                                        PENUELAS     PR      00624
BERY BROTHERS                     FIRM DELIVERY                                                                                          PENUELAS     PR      00624
BERYIT L LOPEZ RODRIGUEZ          ADDRESS ON FILE
BERYL CORDOVA LANDRAU             ADDRESS ON FILE
BERYLLIUM CORP                    200 RAFAEL CORDERO AVE.         STE. 140 #244                                                          CAGUAS       PR      00725
BESALEL CARDONA, ITAMAR           ADDRESS ON FILE
BESARES MARTINEZ, CAROLINE        ADDRESS ON FILE
BESARES MENDOZA, JUDITH           ADDRESS ON FILE
BESOSA INC                        PO BOX 8629                                                                                            PONCE        PR      00732
BESOSA MARTINEZ, FRANCISCO        ADDRESS ON FILE
BESOSA VIGO, JOSE                 ADDRESS ON FILE
BESS M TAYLOR                     ADDRESS ON FILE
BESSCORP                          Apartado 11531 San Juan                                                                                San Juan     PR      00922‐1531




                                                                                             Page 864 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 865 of 3500
                                                                                                                Creditor Matrix

Creditor Name                             Address1                                 Address2                                  Address3              Address4   City                State   PostalCode   Country
BESSCORP INC                              P O BOX 11531                                                                                                       SAN JUAN            PR      00922‐1531
BESSCORP, INC                             PO BOX 11531                             CAPARRA HEIGHTS                                                            SAN JUAN            PR      00922
BESSEY, PETER                             ADDRESS ON FILE
BESSIE R LOPEZ MELENDEZ                   ADDRESS ON FILE
BESSIE R LOPEZ MELENDEZ                   ADDRESS ON FILE
BESSOM CABANILLAS, BRENDA                 ADDRESS ON FILE
BESSOM MORALES, PATRICIA L                ADDRESS ON FILE
BEST AND GENERAL SERVICE INC              1608 BORI STREET OFIC 217                LA ELECTRONICA                                                             SAN JUAN            PR      00927
BEST BROTHER SOUND LLC                    HC 7 BOX 3326                                                                                                       PONCE               PR      00731‐9651
Best Buy                                  230 C/ Federico Costa                                                                                               Hato Rey            PR      00920
BEST BUY CORPORATION                      7601 PENN AVE                                                                                                       RICHFIELD           MN      55423
BEST BUY P R                              230 FEDERICO COSTA                                                                                                  SAN JUAN            PR      00918
BEST BUY STORES PUERTO RICO               105 PONCE DE LEON AVE. ONE COMPTROLLER PLAZA 6 FLOOR                                                                SAN JUAN            PR      00917
BEST BUY STORES PUERTO RICO, LLC          7601 PENN AVENUE                                                                                                    SOUTH RICHFIELD     MN      55423
BEST CAR SOLUTION, INC                    PO BOX 9762                                                                                                         CAGUAS              PR      00726
BEST CHEMICAL INC                         BAYAMON GARDENS STA                      PO BOX 4112                                                                BAYAMON             PR      00958‐1112
BEST CHOICE AUTO SALES/ VIVIA             39 CALLE GUILARTE                        URB MONTE RIO                                                              CABO ROJO           PR      00623‐9358
BEST CLEARERS EXPERT INC                  PO BOX 141755                                                                                                       ARECIBO             PR      00614
BEST CONSULTING SERVICES INC              P O BOX 10173                                                                                                       SAN JUAN            PR      00908
BEST DEAL GENERAL CONTRACTOR              HC 1 BOX 6022                                                                                                       LAS PIEDRAS         PR      00771
BEST DEAL GENERAL CONTRACTOR INC          HC 2 BOX 8088                                                                                                       YABUCOA             PR      00767
BEST EDUCATIONAL TRENDS, INC              HC 03 BOX 7680                                                                                                      BARRANQUITAS        PR      00719
BEST ENERGY CONRACTOR INC/ STEPHAN        PO BOX 5025                                                                                                         VEGA ALTA           PR      00692
BEST ENERGY CONTRACTORS, INC.             P.O. BOX 5025                                                                                                       VEGA ALTA           PR      00692‐0000
BEST FIRE TECH CORP                       AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                                  SAN JUAN            PR      00902‐4140
BEST FIRE TECH CORP                       P.O. BOX 190502                                                                                                     SAN JUAN            PR      00919‐0502
BEST FIRE TECH CORP                       PO BOX 8726                                                                                                         BAYAMON             PR      00960
BEST G EMERGENCY MEDICAL SERVICES INC     PO BOX 1922                                                                                                         MOCA                PR      00676
BEST GOLF CAR LLC                         PO BOX 9408                                                                                                         CAGUAS              PR      00726‐9408
BEST HEALTH MANAGEMENT LLC                PO BOX 8899                                                                                                         BAYAMON             PR      00960‐8899
BEST MARKETING SALES AND DISTRIBUTION SERVAPT 1107 COND GOLDEN TOWER               VISTAMAR                                                                   CAROLINA            PR      00983
BEST MART CORP                            ADDRESS ON FILE
BEST OPTION HEALTHCARE PUERTO             359 AVE DE DIEGO STE 201                                                                                            SAN JUAN            PR      00909
BEST PAINT & MORE CORP.                   CALLE C#11 URB. PARQUE LAS AMERICAS                                                                                 GURABO              PR      00778‐0000
BEST PARKING SERVICES INC                 AVE LUIS MUNOZ RIVERA PDA 23                                                                                        SAN JUAN            PR      00906
BEST PROPERTIES CORP                      PO BOX 414                                                                                                          BAYAMON             PR      00960‐0414
BEST PROPERTIES REALTY GROUP              PO BOX 4956                              PMB 1168                                                                   CAGUAS              PR      00726‐4956
BEST QUALITY INVOVATION CORP              URB BRISAS DE AIBONITO                   26 D3 CALLE TRINIDAD                                                       AIBONITO            PR      00705
BEST QUALITY TOP MFG CORP                 HC 1 BOX 3777                                                                                                       COROZAL             PR      00783
BEST RATE CAR                             LCDO. LUIS M. BARNECET VÉLEZ             BUFETE BARNECET & ASOCIADOS A LA URB. SAN ANTONIO 1744 CALLE DONCELLA      Ponce               PR      00728‐1624
BEST RECYCLERS CORP                       PMB 106 SUITE 67                         35 CALLE JUAN C DE BORBON                                                  GUAYNABO            PR      00969‐5315
BEST RECYCLERS CORP                       PMB 106 35 SUITE 67                      CALLE JUAN C DE BORBON                                                     GUAYNABO            PR      00969‐5315
BEST RENTAL & SALES                       VILLA ASTURIAS                           10 AVE FIDALDO DIAZ                                                        CAROLINA            PR      00983
BEST RENTALS AND ADMINISTRATION GRO       PO BOX 7234                                                                                                         MAYAGUEZ            PR      00681
BEST RESOURCES ORGAN AND IND SUCCESS INC 3112 PRADERA DEL RIO                      CALLE RIO BUCANA                                                           TOA ALTA            PR      00953‐9111
BEST SEASONINGS GROUP                     54 PARQUE INDUSTRIAL AMUELAS                                                                                        JUANA DIAZ          PR      00795
BEST SELLERS LIBRARY INC                  EL SENORIAL                              175 AVE WINSTON CHURCHIL                                                   SAN JUAN            PR      00926
BEST SOFTWARE, INC                        PO BOX 404927                                                                                                       ATLANTA             GA      30384‐4927
BEST SOLUTION OF PUERTO RICO INC.         PMB 315 RR8 BOX 1995                                                                                                BAYAMON             PR      00956
BEST SOLUTIONS PUERTO RICO INC            35 JUAN C BORBON STREET STE 67‐403                                                                                  GUAYNABO            PR      00969‐5375
BEST TECHNOLOGIES SERVIVES                PO BOX 1531                                                                                                         BARCELONETA         PR      00617
BEST TIRE RECYCLING                       PO BOX 758                               BO PUEBLO                                                                  RINCON              PR      00677
BEST TIRE RECYCLING INC.                  PO.BOX 758                                                                                                          RINCON              PR      00677
BEST VISION                               6 JORGE BIRD LEON                                                                                                   FAJARDO             PR      00738‐4723
BEST WORK CONSTRUTION S E                 CARR PR 181 KM 29.2                                                                                                 SAN LORENZO         PR      00754
BEST WORK CONSTRUTION S E                 HC 50 BOX 23014                                                                                                     SAN LORENZO         PR      00754
BEST X‐RAY QUALITY PSC                    PO BOX 6022 PMB 399                                                                                                 CAROLINA            PR      00988‐6022
BESTARD RIVERA, CHRISTIAN                 ADDRESS ON FILE
BESTARD ROSARIO, PRISCILLA M.             ADDRESS ON FILE
BET CAR HOLDING CORP                      PO BOX 9192                                                                                                         SAN JUAN            PR      00908‐0192




                                                                                                               Page 865 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 866 of 3500
                                                                                                        Creditor Matrix

Creditor Name                               Address1                            Address2                             Address3   Address4   City          State   PostalCode   Country
BET EL COUNCELING SERVICES                  307 E 4TH ST                                                                                   BETHLEHEM     PA      18015
BET RAM INVESTMENTS                         IND MINILLAS                        111 CARR 174 STE 2                                         BAYAMON       PR      00959
BET RAM INVESTMENTS                         MINILLAS INDUSTRIAL PARK            111 E STREET SUITE 8                                       BAYAMON       PR      00959
BETA GAMMA NUCLEAR RADIOLOGY INC            PMB 372                             PO BOX 7871                                                GUAYNABO      PR      00970
BETANCES ALMONTE, ANDRES EMILIO             ADDRESS ON FILE
BETANCES BENITEZ, ENRIQUE                   ADDRESS ON FILE
BETANCES CARRERAS, ROBERTO                  ADDRESS ON FILE
BETANCES CRUZ, YAZEMIN                      ADDRESS ON FILE
BETANCES DE JESUS, GISEL                    ADDRESS ON FILE
BETANCES DE JESUS, TATIANA                  ADDRESS ON FILE
BETANCES ESSO STATION                       PO BOX 9327                                                                                    BAYAMON       PR      00960‐9327
BETANCES FRADERA, HIRAM                     ADDRESS ON FILE
BETANCES IRLANDA, REBECCA                   ADDRESS ON FILE
BETANCES JIMENEZ, MARIA M                   ADDRESS ON FILE
BETANCES LACOURT, VIBEKE                    ADDRESS ON FILE
BETANCES MEDINA, KYRIA                      ADDRESS ON FILE
BETANCES PACHECO, VIRGENMINA                ADDRESS ON FILE
BETANCES PEREZ, JOSUE                       ADDRESS ON FILE
BETANCES PEREZ, WILFREDO                    ADDRESS ON FILE
BETANCES PROFESSIONAL SERVICES AND EQUIP AVE BETANCES F‐11                      URB. SAN FERNANDO                                          BAYAMON       PR      00957
BETANCES PROPERTIES                         CALLE BETANCES ESQ. DR. VEVE #167                                                              BAYAMON       PR      00961‐0000
BETANCES RAHOLA, LUIS                       ADDRESS ON FILE
BETANCES RAHOLA‐PERITO ELECTRICISTA, LUIS J ADDRESS ON FILE
BETANCES REYES, MARIA                       ADDRESS ON FILE
BETANCES SANTIAGO, RAMON                    ADDRESS ON FILE
BETANCES SANTOS MD, DOMINGO                 ADDRESS ON FILE
BETANCES SANTOS, ANA M                      ADDRESS ON FILE
BETANCES SANTOS, EPIFANIA                   ADDRESS ON FILE
BETANCES SANTOS, JOSE                       ADDRESS ON FILE
Betances Vanduykeren, Norberto              ADDRESS ON FILE
BETANCOURT AGOSTO, YASMIN                   ADDRESS ON FILE
BETANCOURT AGOSTO, YEICELYN D               ADDRESS ON FILE
BETANCOURT ALAMO, MARGARITA                 ADDRESS ON FILE
BETANCOURT ALAMO, WANDA I                   ADDRESS ON FILE
BETANCOURT ALAMO, WILMER                    ADDRESS ON FILE
BETANCOURT ALEMAN, LUIS H.                  ADDRESS ON FILE
BETANCOURT ALEMAN, WILLIAM                  ADDRESS ON FILE
Betancourt Alice, Bethzaida                 ADDRESS ON FILE
BETANCOURT ALICEA, GUILLERMO                ADDRESS ON FILE
BETANCOURT ALICEA, JOSE F.                  ADDRESS ON FILE
BETANCOURT ALVAREZ, EDWIN                   ADDRESS ON FILE
BETANCOURT ALVAREZ, ISRAEL                  ADDRESS ON FILE
BETANCOURT ALVAREZ, PABLO                   ADDRESS ON FILE
BETANCOURT ANDRADES, PABLO                  ADDRESS ON FILE
BETANCOURT APONTE, ADAHANIE Y               ADDRESS ON FILE
BETANCOURT APONTE, ADAHANIE Y               ADDRESS ON FILE
Betancourt Aponte, Alberto                  ADDRESS ON FILE
BETANCOURT APONTE, ALBERTO                  ADDRESS ON FILE
BETANCOURT APONTE, LUZ M.                   ADDRESS ON FILE
BETANCOURT APONTE, ROBERTO                  ADDRESS ON FILE
BETANCOURT AQUINO, GLADYS                   ADDRESS ON FILE
BETANCOURT ARCE, DALILA                     ADDRESS ON FILE
Betancourt Arce, Ramon                      ADDRESS ON FILE
BETANCOURT ARROYO, ERIC                     ADDRESS ON FILE
BETANCOURT ARROYO, LYDIA                    ADDRESS ON FILE
BETANCOURT ASENCIO, CELESTE                 ADDRESS ON FILE
BETANCOURT ASENCIO, JOSE S                  ADDRESS ON FILE
BETANCOURT ASTACIO, MARIA E                 ADDRESS ON FILE
BETANCOURT ASTACIO, YAMUEL                  ADDRESS ON FILE
BETANCOURT AULET, ELIEZER                   ADDRESS ON FILE




                                                                                                       Page 866 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 867 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BETANCOURT AULET, MARIA M            ADDRESS ON FILE
BETANCOURT AVILES, EPIFANIO          ADDRESS ON FILE
BETANCOURT BAEZ, LUMARIS             ADDRESS ON FILE
BETANCOURT BARBOSA, NANCY            ADDRESS ON FILE
BETANCOURT BARREIRO, CARMEN R        ADDRESS ON FILE
BETANCOURT BENTANCOURT, CARMELO      ADDRESS ON FILE
BETANCOURT BETANCOURT, DILKA         ADDRESS ON FILE
BETANCOURT BETANCOURT, DILKA         ADDRESS ON FILE
BETANCOURT BETANCOURT, ELBA I        ADDRESS ON FILE
BETANCOURT BETANCOURT, ELI           ADDRESS ON FILE
BETANCOURT BETANCOURT, EUGENIO       ADDRESS ON FILE
BETANCOURT BETANCOURT, HECTOR        ADDRESS ON FILE
BETANCOURT BETANCOURT, HECTOR A.     ADDRESS ON FILE
BETANCOURT BETANCOURT, HUMBERTO      ADDRESS ON FILE
BETANCOURT BETANCOURT, JESMARI       ADDRESS ON FILE
BETANCOURT BETANCOURT, JUANA         ADDRESS ON FILE
BETANCOURT BETANCOURT, LUDITH        ADDRESS ON FILE
BETANCOURT BETANCOURT, MARIA L       ADDRESS ON FILE
BETANCOURT BETANCOURT, NILDA         ADDRESS ON FILE
Betancourt Betancourt, Ramon         ADDRESS ON FILE
BETANCOURT BETANCOURT, ROSE          ADDRESS ON FILE
BETANCOURT BETANOURT, LIZBETH        ADDRESS ON FILE
BETANCOURT BLINDS                    CONCORDIA GARDENS II      APT. 4L                                                SAN JUAN     PR      00924
BETANCOURT BURGOS, ELIOT             ADDRESS ON FILE
BETANCOURT BURGOS, MINERVA           ADDRESS ON FILE
BETANCOURT BURGOS, MINERVA           ADDRESS ON FILE
BETANCOURT CABALLERO, DIANA          ADDRESS ON FILE
BETANCOURT CABRET, MARIA ANTONI      ADDRESS ON FILE
Betancourt Caceres, Jesus M          ADDRESS ON FILE
BETANCOURT CACERES, NUVIA M.         ADDRESS ON FILE
BETANCOURT CALDERON, BETTY L.        ADDRESS ON FILE
BETANCOURT CALDERON, CARLOS          ADDRESS ON FILE
BETANCOURT CALDERON, CARMEN D        ADDRESS ON FILE
BETANCOURT CALDERON, MYRIAM          ADDRESS ON FILE
BETANCOURT CALDERON, ZAIDA           ADDRESS ON FILE
BETANCOURT CALZADA, NESTOR           ADDRESS ON FILE
BETANCOURT CALZADA, ZORAYA           ADDRESS ON FILE
BETANCOURT CAMACHO, KENNETH          ADDRESS ON FILE
BETANCOURT CANCEL, LIZMARIE          ADDRESS ON FILE
BETANCOURT CAPO, JESUS               ADDRESS ON FILE
BETANCOURT CARABALLO, MARY           ADDRESS ON FILE
BETANCOURT CARDENAS, ALEXIS          ADDRESS ON FILE
BETANCOURT CARDENAS, AMAURY V        ADDRESS ON FILE
BETANCOURT CARRASQUILLO, CHRISTIAN   ADDRESS ON FILE
BETANCOURT CARRASQUILLO, ELEONOR     ADDRESS ON FILE
BETANCOURT CARRILLO, IVELISSE        ADDRESS ON FILE
BETANCOURT CARRILLO, JOSUE           ADDRESS ON FILE
BETANCOURT CARTAGENA, RODERICK       ADDRESS ON FILE
BETANCOURT CASILLAS, ABIGAIL         ADDRESS ON FILE
BETANCOURT CASILLAS, DAVID           ADDRESS ON FILE
BETANCOURT CASILLAS, NILDA           ADDRESS ON FILE
BETANCOURT CASTILLO, JUAN S          ADDRESS ON FILE
BETANCOURT CASTRO, ANA J             ADDRESS ON FILE
BETANCOURT CASTRO, MIGUEL A.         ADDRESS ON FILE
BETANCOURT CASTRO, NIXON             ADDRESS ON FILE
BETANCOURT CASTRO, TOMMY             ADDRESS ON FILE
Betancourt Cedres, Carlos J.         ADDRESS ON FILE
BETANCOURT CISNEROS, MINELIX         ADDRESS ON FILE
BETANCOURT CLAUDIO, INGRID           ADDRESS ON FILE
BETANCOURT COLLAZO MD, JUSTINO       ADDRESS ON FILE




                                                                                 Page 867 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 868 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BETANCOURT COLLAZO, ANA IVONNE     ADDRESS ON FILE
BETANCOURT COLLAZO, ROMUALDO       ADDRESS ON FILE
Betancourt Colon, Jose I           ADDRESS ON FILE
BETANCOURT COLON, KERWIN           ADDRESS ON FILE
Betancourt Colon, Pedro M          ADDRESS ON FILE
BETANCOURT CONCEPCION, DORIAN      ADDRESS ON FILE
BETANCOURT CORDERO, ROBERTO        ADDRESS ON FILE
BETANCOURT CORREA, JENIFFER        ADDRESS ON FILE
BETANCOURT CORTES, IRIS            ADDRESS ON FILE
BETANCOURT CORTES, NYDIA           ADDRESS ON FILE
BETANCOURT CRUZ, ENNIR JANNETTE    ADDRESS ON FILE
BETANCOURT CRUZ, JULIO             ADDRESS ON FILE
BETANCOURT CRUZ, LUIS              ADDRESS ON FILE
BETANCOURT CRUZ, MARGARITA         ADDRESS ON FILE
BETANCOURT CRUZ, MARILYN           ADDRESS ON FILE
BETANCOURT CRUZ, NORA              ADDRESS ON FILE
BETANCOURT CRUZ, PAULETTE          ADDRESS ON FILE
BETANCOURT DAIRY FARM, INC         212 JOSE DE DIEGO AVE                                                            ARECIBO      PR      00612
BETANCOURT DALY, ELIZABETH         ADDRESS ON FILE
BETANCOURT DALY, MARY J            ADDRESS ON FILE
BETANCOURT DE GUERRERO, FELICITA   ADDRESS ON FILE
BETANCOURT DE JESUS, MARIBELLE     ADDRESS ON FILE
BETANCOURT DE LA MOTA, ANA         ADDRESS ON FILE
BETANCOURT DE LEON, IRAIDA         ADDRESS ON FILE
BETANCOURT DE LOZANO, FAUSTINA     ADDRESS ON FILE
BETANCOURT DEJESUS, MARIA I        ADDRESS ON FILE
BETANCOURT DEL RIO, JOSE           ADDRESS ON FILE
BETANCOURT DEL RIO, NORMA          ADDRESS ON FILE
BETANCOURT DEL VALLE, SHEILA       ADDRESS ON FILE
BETANCOURT DELGADO, ANGEL L.       ADDRESS ON FILE
BETANCOURT DELGADO, CIRILO A       ADDRESS ON FILE
BETANCOURT DELGADO, JOSE R.        ADDRESS ON FILE
BETANCOURT DELGADO, RUTH           ADDRESS ON FILE
BETANCOURT DIAZ, ANGEL             ADDRESS ON FILE
BETANCOURT DIAZ, ANGEL             ADDRESS ON FILE
BETANCOURT DIAZ, CARMEN            ADDRESS ON FILE
BETANCOURT DIAZ, ELIEZER           ADDRESS ON FILE
BETANCOURT DIAZ, ELIEZER           ADDRESS ON FILE
BETANCOURT DIAZ, GILBERTO          ADDRESS ON FILE
BETANCOURT DIAZ, JANET             ADDRESS ON FILE
BETANCOURT DIAZ, JULIO             ADDRESS ON FILE
BETANCOURT DIAZ, MARIA DEL C       ADDRESS ON FILE
BETANCOURT DIAZ, SONIA             ADDRESS ON FILE
BETANCOURT DIAZ, STEPHEN           ADDRESS ON FILE
BETANCOURT DORTA, ANGEL            ADDRESS ON FILE
BETANCOURT DORTA, IRIS E           ADDRESS ON FILE
BETANCOURT ESTEVEZ, DARIBEL P      ADDRESS ON FILE
BETANCOURT ESTRELLA, IVAN          ADDRESS ON FILE
BETANCOURT ESTREMERA, LYDIA        ADDRESS ON FILE
BETANCOURT ESTREMERA, LYDIA        ADDRESS ON FILE
BETANCOURT FELIX, JESUS            ADDRESS ON FILE
BETANCOURT FIGUEROA, CARLOS        ADDRESS ON FILE
BETANCOURT FIGUEROA, DORIS         ADDRESS ON FILE
BETANCOURT FIGUEROA, LISETTE       ADDRESS ON FILE
BETANCOURT FIGUEROA, WANDA         ADDRESS ON FILE
BETANCOURT FIGUEROA, WANDA I       ADDRESS ON FILE
BETANCOURT FIGUEROA, WILFREDO      ADDRESS ON FILE
BETANCOURT FLORES, LILLIAN         ADDRESS ON FILE
BETANCOURT FLORES, MICHELLE        ADDRESS ON FILE
BETANCOURT FLORES, NITZIA          ADDRESS ON FILE




                                                                               Page 868 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 869 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
BETANCOURT FLORES, SIDNEY              ADDRESS ON FILE
BETANCOURT FLORES, ZORY L              ADDRESS ON FILE
BETANCOURT FONFRIAS, HECTOR            ADDRESS ON FILE
BETANCOURT FONTANET, BENJAMIN          ADDRESS ON FILE
BETANCOURT FUENTES, JORGE              ADDRESS ON FILE
BETANCOURT FUENTES, MARTHA             ADDRESS ON FILE
BETANCOURT FUENTES, VIMARY             ADDRESS ON FILE
BETANCOURT GARCIA MD, RAFAEL           ADDRESS ON FILE
BETANCOURT GARCIA, ANGEL               ADDRESS ON FILE
BETANCOURT GARCIA, DIANA               ADDRESS ON FILE
BETANCOURT GARCIA, FREDERICK           ADDRESS ON FILE
BETANCOURT GARCIA, ISABEL              ADDRESS ON FILE
BETANCOURT GARCIA, JEAN C.             ADDRESS ON FILE
BETANCOURT GARCIA, JUAN                ADDRESS ON FILE
BETANCOURT GARCIA, JUAN                ADDRESS ON FILE
BETANCOURT GARCIA, NELLY               ADDRESS ON FILE
BETANCOURT GARCIA, RODERICK            ADDRESS ON FILE
BETANCOURT GARCIA, RODERICK            ADDRESS ON FILE
BETANCOURT GARCIA, SONIA               ADDRESS ON FILE
BETANCOURT GARCIA, SONIA M             ADDRESS ON FILE
BETANCOURT GASPIRINI, LUIS F.          ADDRESS ON FILE
BETANCOURT GERENA, ENEID R             ADDRESS ON FILE
BETANCOURT GERENA, ROSE M              ADDRESS ON FILE
BETANCOURT GONZALEZ, DIANA             ADDRESS ON FILE
BETANCOURT GONZALEZ, ERIC              ADDRESS ON FILE
BETANCOURT GONZALEZ, IRWING            ADDRESS ON FILE
Betancourt Gonzalez, Juan A            ADDRESS ON FILE
BETANCOURT GONZALEZ, KATHIA            ADDRESS ON FILE
BETANCOURT GONZALEZ, MIREILLE          ADDRESS ON FILE
BETANCOURT GONZALEZ, VIONETTE          ADDRESS ON FILE
BETANCOURT GUADALUPE, ARLETTE          ADDRESS ON FILE
BETANCOURT GUADALUPE, BRENDA L         ADDRESS ON FILE
BETANCOURT GUADALUPE, NORAIMA          ADDRESS ON FILE
BETANCOURT GUERRA, LEANNITH            ADDRESS ON FILE
BETANCOURT GUERRA, MIGUEL              ADDRESS ON FILE
BETANCOURT GUERRERO, JESUS             ADDRESS ON FILE
BETANCOURT GUZMAN, EDGARDO L.          ADDRESS ON FILE
BETANCOURT GUZMAN, EUSEBIO             ADDRESS ON FILE
BETANCOURT HERNANDEZ, DANIEL           ADDRESS ON FILE
BETANCOURT HERNANDEZ, ELIZABETH        ADDRESS ON FILE
BETANCOURT HERNANDEZ, ELIZABETH        ADDRESS ON FILE
BETANCOURT HERNANDEZ, MAGALI           ADDRESS ON FILE
BETANCOURT HEVIA, JASIEL               ADDRESS ON FILE
BETANCOURT HEYLIGER, JONATHAN          ADDRESS ON FILE
BETANCOURT HEYLIGER, JONATHAN          ADDRESS ON FILE
BETANCOURT HUERTAS, JOSE               ADDRESS ON FILE
BETANCOURT IBERN, FRANCISCO            ADDRESS ON FILE
BETANCOURT IRIZARRY, MIGUEL A          ADDRESS ON FILE
BETANCOURT JIMENEZ, KATIA              ADDRESS ON FILE
BETANCOURT JIMENEZ, MARILYN            ADDRESS ON FILE
BETANCOURT JIMENEZ, MELBA DEL P        ADDRESS ON FILE
BETANCOURT JIMENEZ, WILLIAM            ADDRESS ON FILE
BETANCOURT JUARBE, EVA                 ADDRESS ON FILE
BETANCOURT KATWAROO, LUIS D            ADDRESS ON FILE
BETANCOURT KATWAROO, SEBASTIAN ENRIQUE ADDRESS ON FILE
BETANCOURT LANZO, ELIZABETH            ADDRESS ON FILE
BETANCOURT LANZO, JOEL                 ADDRESS ON FILE
BETANCOURT LANZO, JOSE                 ADDRESS ON FILE
BETANCOURT LANZO, MILAGROS             ADDRESS ON FILE
BETANCOURT LAUREANO, VIRGILIO          ADDRESS ON FILE




                                                                                    Page 869 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 870 of 3500
                                                                                                          Creditor Matrix

Creditor Name                    Address1                                  Address2                                    Address3    Address4    City         State   PostalCode   Country
BETANCOURT LOPEZ MYRIAM          AMANCIO ARIAS GUARDIOLA                   PO BOX 13727                                                        SAN JUAN     PR      00908‐3727
BETANCOURT LOPEZ MYRIAM          BRISEIDA CASTRO BETANCOURT Y OSCAR LUIS LÁVILLA FONTANA VIA 49 BLQ 4 JS‐18                                    CAROLINA     PR      00983
BETANCOURT LOPEZ MYRIAM          CARLA GARCÍA BENITEZ                      250 MUÑOZ RIVERA STE 800                                            SAN JUAN     PR      00918‐1813
BETANCOURT LOPEZ MYRIAM          CRISTINA DEL MAR MIRANDA NIEVES
BETANCOURT LOPEZ MYRIAM          FRANCISCO J. COLÓN PAGAN                  PO BOX 9023255                                                      SAN JUAN     PR      00902‐3355
BETANCOURT LOPEZ MYRIAM          JAIME SIFRE RODRIGUEZ                     PO BOX 364428                                                       SAN JUAN     PR      00936‐4428
BETANCOURT LOPEZ MYRIAM          JORGE LOPEZ LOPEZ                         1250 AVE Ponce DE LEON # 800                                        SAN JUAN     PR      00907
BETANCOURT LOPEZ MYRIAM          MAILEIDY A. GOMEZ GERMAN                  PO BOX 364428                                                       SAN JUAN     PR      00936‐4428
BETANCOURT LOPEZ MYRIAM          MANUEL A. PIETRANTONI CABRERA             250 AVENIDA MUÑOZ RIVERA                    SUITE 800               SAN JUAN     PR      00918
BETANCOURT LOPEZ MYRIAM          OMAYRA SEPULVEDA VEGA                     250 AVENIDA MUÑOZ RIVERA                    SUITE 800               SAN JUAN     PR      00918
BETANCOURT LOPEZ MYRIAM          ROSA L. IRIZARRY MILLAN                   PO BOX 364428                                                       SAN JUAN     PR      00936‐4428
BETANCOURT LOPEZ MYRIAM          SIGRID LOPEZ GONZALEZ                     PO BOX 195233                                                       SAN JUAN     PR      00919‐5233
BETANCOURT LOPEZ MYRIAM          YADIRA ADORNO DELGADO                     1605 Ponce DE LEON AVE.                                 SUITE 600   SAN JUAN     PR      00909
BETANCOURT LOPEZ, DAMARIS        ADDRESS ON FILE
BETANCOURT LOPEZ, MYRIAM         ADDRESS ON FILE
BETANCOURT LORA, NELSON          ADDRESS ON FILE
BETANCOURT MALDONADO, ELIAS      ADDRESS ON FILE
BETANCOURT MALDONADO, JAIME      ADDRESS ON FILE
BETANCOURT MALDONADO, JAIME      ADDRESS ON FILE
BETANCOURT MALDONADO, SALLIE     ADDRESS ON FILE
BETANCOURT MALDONADO, SALLIE A   ADDRESS ON FILE
BETANCOURT MALDONADO, WILMA      ADDRESS ON FILE
BETANCOURT MARIA, LUIS           ADDRESS ON FILE
BETANCOURT MARQUEZ, AIDA         ADDRESS ON FILE
BETANCOURT MARQUEZ, CARMELO      ADDRESS ON FILE
BETANCOURT MARQUEZ, JOSE         ADDRESS ON FILE
BETANCOURT MARQUEZ, LUIS         ADDRESS ON FILE
BETANCOURT MARQUEZ,JOHN          ADDRESS ON FILE
BETANCOURT MARRERO, LOURDES      ADDRESS ON FILE
BETANCOURT MARRERO, WILFREDO     ADDRESS ON FILE
BETANCOURT MARTELL, MANUEL       ADDRESS ON FILE
BETANCOURT MARTINEZ, ISRAEL      ADDRESS ON FILE
BETANCOURT MARTINEZ, JAVIER      ADDRESS ON FILE
BETANCOURT MARTINEZ, MICHELYN    ADDRESS ON FILE
Betancourt Martinez, Miguel A    ADDRESS ON FILE
BETANCOURT MARTINEZ, NAYDA       ADDRESS ON FILE
BETANCOURT MARTINEZ, NAYDA       ADDRESS ON FILE
BETANCOURT MARTINEZ, NIXON       ADDRESS ON FILE
BETANCOURT MARTINEZ, RAMON       ADDRESS ON FILE
BETANCOURT MARTINEZ, RAMON       ADDRESS ON FILE
BETANCOURT MARTINEZ, YANIL       ADDRESS ON FILE
BETANCOURT MATIAS, ZAHIRA M      ADDRESS ON FILE
BETANCOURT MATOS, EDUARDO        ADDRESS ON FILE
BETANCOURT MATOS, MARIELLY       ADDRESS ON FILE
Betancourt Matos, Nelly          ADDRESS ON FILE
BETANCOURT MD, BENJAMIN          ADDRESS ON FILE
Betancourt Medina, Doris D       ADDRESS ON FILE
BETANCOURT MEDINA, EDDIE         ADDRESS ON FILE
BETANCOURT MEDINA, LUIS          ADDRESS ON FILE
BETANCOURT MELENDEZ, EDMARIE     ADDRESS ON FILE
Betancourt Melendez, Edwin M.    ADDRESS ON FILE
BETANCOURT MELENDEZ, MADELINE    ADDRESS ON FILE
BETANCOURT MERCADO, RAMONA       ADDRESS ON FILE
BETANCOURT MERCED, FÉLIX         RUBÉN BONILLA MARTÍNEZ                    PO BOX 2758                                                         GUAYAMA      PR      00785‐2758
BETANCOURT MONGE, PEGGY          ADDRESS ON FILE
BETANCOURT MONT, ROSAIDA         ADDRESS ON FILE
BETANCOURT MONTALVO, EDWIN       ADDRESS ON FILE
BETANCOURT MONTANEZ, ISMAEL      ADDRESS ON FILE
BETANCOURT MONTANEZ, LYDIA       ADDRESS ON FILE
BETANCOURT MONTANEZ, LYDIA J.    ADDRESS ON FILE




                                                                                                         Page 870 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 871 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BETANCOURT MONZON MD, EMILIO      ADDRESS ON FILE
BETANCOURT MORALES, ARIADNE       ADDRESS ON FILE
BETANCOURT MORALES, BRAULIO       ADDRESS ON FILE
BETANCOURT MORALES, GENOVEVA      ADDRESS ON FILE
BETANCOURT MORALES, IVY           ADDRESS ON FILE
BETANCOURT MORALES, JOE           ADDRESS ON FILE
BETANCOURT MORALES, MARIELIS      ADDRESS ON FILE
BETANCOURT MORALES, MIRIAM Y.     ADDRESS ON FILE
BETANCOURT MUNDO, BENJAMIN        ADDRESS ON FILE
BETANCOURT MUNDO, MARTA A         ADDRESS ON FILE
BETANCOURT MUNIZ, EDWIN           ADDRESS ON FILE
BETANCOURT NAVARRO, DAVID         ADDRESS ON FILE
BETANCOURT NAZARIO, JOSE R.       ADDRESS ON FILE
BETANCOURT NEGRON, ALIUSKA        ADDRESS ON FILE
BETANCOURT NEGRON, LUZ O          ADDRESS ON FILE
BETANCOURT NEGRON, MIGUEL A       ADDRESS ON FILE
BETANCOURT NEGRON, ROSE A         ADDRESS ON FILE
Betancourt Nieves, Carlos J       ADDRESS ON FILE
BETANCOURT NIEVES, CARMEN I       ADDRESS ON FILE
BETANCOURT NIEVES, HECTOR R       ADDRESS ON FILE
BETANCOURT NIEVES, JORGE          ADDRESS ON FILE
BETANCOURT NIEVES, SELINES        ADDRESS ON FILE
BETANCOURT OCASIO, ANA I          ADDRESS ON FILE
BETANCOURT OCASIO, LUIS A         ADDRESS ON FILE
BETANCOURT OCASIO, MARIA DEL CA   ADDRESS ON FILE
BETANCOURT OFARRIL, AMAURY        ADDRESS ON FILE
BETANCOURT OFFICE MACHINES        URB FAIRVIEW              1905 CALLE 46                                          SAN JUAN     PR      00926
BETANCOURT OLAVARRIA, MARITZA     ADDRESS ON FILE
BETANCOURT OLIVO, MARIA E.        ADDRESS ON FILE
BETANCOURT ORTIZ, CARLOS D.       ADDRESS ON FILE
BETANCOURT ORTIZ, FRANK           ADDRESS ON FILE
BETANCOURT ORTIZ, RAUL            ADDRESS ON FILE
BETANCOURT ORTIZ, VERONICA        ADDRESS ON FILE
BETANCOURT OTERO, EDUARDO         ADDRESS ON FILE
BETANCOURT OYOLA, YOLANDA         ADDRESS ON FILE
BETANCOURT PADILLA, NILDA E       ADDRESS ON FILE
BETANCOURT PADRO, LOURDES         ADDRESS ON FILE
BETANCOURT PAGAN, EVA A           ADDRESS ON FILE
Betancourt Pastra, Victor M       ADDRESS ON FILE
BETANCOURT PEDRAZA, JENIFER       ADDRESS ON FILE
BETANCOURT PENA, JOSE LUIS        ADDRESS ON FILE
BETANCOURT PEREZ, CASILDA         ADDRESS ON FILE
BETANCOURT PEREZ, EDUARDO         ADDRESS ON FILE
BETANCOURT PEREZ, GRACIANI        ADDRESS ON FILE
BETANCOURT PEREZ, GRACIANI        ADDRESS ON FILE
BETANCOURT PEREZ, JANYCE          ADDRESS ON FILE
BETANCOURT PEREZ, JANYSE          ADDRESS ON FILE
BETANCOURT PEREZ, JESSENIA        ADDRESS ON FILE
BETANCOURT PEREZ, LIDUVINA        ADDRESS ON FILE
BETANCOURT PEREZ, MARIELY         ADDRESS ON FILE
BETANCOURT PEREZ, WILBERTO        ADDRESS ON FILE
BETANCOURT PINEIRO, NAYDA M       ADDRESS ON FILE
BETANCOURT PINERO, RAFAEL         ADDRESS ON FILE
Betancourt Pizarro, Jesus M       ADDRESS ON FILE
BETANCOURT PIZARRO, MARIA M       ADDRESS ON FILE
BETANCOURT POMALES, RICHARD       ADDRESS ON FILE
BETANCOURT PORRAS, IVETTE         ADDRESS ON FILE
BETANCOURT PRIETO, CARMEN         ADDRESS ON FILE
BETANCOURT PRINCIPE, GEORGINA     ADDRESS ON FILE
BETANCOURT PULLIZA, RAFAEL        ADDRESS ON FILE




                                                                              Page 871 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 872 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BETANCOURT QUILES, JOSE            ADDRESS ON FILE
Betancourt Quintero, Jose M.       ADDRESS ON FILE
BETANCOURT RAMIREZ, AXEL           ADDRESS ON FILE
BETANCOURT RAMIREZ, JOHNNY         ADDRESS ON FILE
BETANCOURT RAMIREZ, JOSE ERNESTO   ADDRESS ON FILE
Betancourt Ramirez, Omayra         ADDRESS ON FILE
BETANCOURT RAMOS, CARLOS           ADDRESS ON FILE
BETANCOURT RAMOS, EMILIO           ADDRESS ON FILE
BETANCOURT RAMOS, FELICITA         ADDRESS ON FILE
BETANCOURT RAMOS, JUSTA            ADDRESS ON FILE
BETANCOURT RAMOS, SILVIA           ADDRESS ON FILE
BETANCOURT RESTO, YEISSON          ADDRESS ON FILE
BETANCOURT REYES, MARCOS           ADDRESS ON FILE
Betancourt Reyes, Marcos A         ADDRESS ON FILE
BETANCOURT RIOS, ANIBAL            ADDRESS ON FILE
BETANCOURT RIOS, FRANCHESKA        ADDRESS ON FILE
BETANCOURT RIOS, JOSE              ADDRESS ON FILE
BETANCOURT RIOS, RAMON             ADDRESS ON FILE
BETANCOURT RIVERA, AGNES           ADDRESS ON FILE
BETANCOURT RIVERA, AIDA I          ADDRESS ON FILE
BETANCOURT RIVERA, ALBERTO         ADDRESS ON FILE
BETANCOURT RIVERA, ALEXIS R        ADDRESS ON FILE
BETANCOURT RIVERA, ANA R           ADDRESS ON FILE
BETANCOURT RIVERA, ANA V           ADDRESS ON FILE
BETANCOURT RIVERA, ANGEL R         ADDRESS ON FILE
BETANCOURT RIVERA, EDILTRUDIS      ADDRESS ON FILE
BETANCOURT RIVERA, EDILTRUDIS      ADDRESS ON FILE
BETANCOURT RIVERA, GLENDA LIZ      ADDRESS ON FILE
BETANCOURT RIVERA, GLORIBELL       ADDRESS ON FILE
BETANCOURT RIVERA, GLORYVANEE      ADDRESS ON FILE
BETANCOURT RIVERA, ISIDRO          ADDRESS ON FILE
BETANCOURT RIVERA, JORGE L.        ADDRESS ON FILE
BETANCOURT RIVERA, JOSE            ADDRESS ON FILE
BETANCOURT RIVERA, JOSUE           ADDRESS ON FILE
BETANCOURT RIVERA, LILLIAM         ADDRESS ON FILE
BETANCOURT RIVERA, LUIS            ADDRESS ON FILE
BETANCOURT RIVERA, LURYS           ADDRESS ON FILE
BETANCOURT RIVERA, MADELINE        ADDRESS ON FILE
BETANCOURT RIVERA, PEDRO L.        ADDRESS ON FILE
BETANCOURT RIVERA, RAFAEL          ADDRESS ON FILE
BETANCOURT RIVERA, RENZO           ADDRESS ON FILE
BETANCOURT RIVERA, RUTH            ADDRESS ON FILE
BETANCOURT RIVERA, SONIA           ADDRESS ON FILE
BETANCOURT RIVERA, ZACARIAS        ADDRESS ON FILE
BETANCOURT ROBLES, LUZ E           ADDRESS ON FILE
BETANCOURT RODRIGUEZ, ALEJANDRO    ADDRESS ON FILE
BETANCOURT RODRIGUEZ, CARLOS       ADDRESS ON FILE
BETANCOURT RODRIGUEZ, CARMEN D     ADDRESS ON FILE
BETANCOURT RODRIGUEZ, CARMEN M     ADDRESS ON FILE
BETANCOURT RODRIGUEZ, ELOISA       ADDRESS ON FILE
Betancourt Rodriguez, Frederick    ADDRESS ON FILE
BETANCOURT RODRIGUEZ, FREDERICK    ADDRESS ON FILE
BETANCOURT RODRIGUEZ, JOSE         ADDRESS ON FILE
BETANCOURT RODRIGUEZ, JOSE         ADDRESS ON FILE
BETANCOURT RODRIGUEZ, JOSE M       ADDRESS ON FILE
BETANCOURT RODRIGUEZ, JUAN         ADDRESS ON FILE
BETANCOURT RODRIGUEZ, MAGDA        ADDRESS ON FILE
BETANCOURT RODRIGUEZ, MANUEL       ADDRESS ON FILE
BETANCOURT RODRIGUEZ, MELANY       ADDRESS ON FILE
BETANCOURT RODRIGUEZ, SANDRA       ADDRESS ON FILE




                                                                               Page 872 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 873 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City              State   PostalCode   Country
Betancourt Rojas, Jorge         ADDRESS ON FILE
BETANCOURT ROMAN, DIANA E.      ADDRESS ON FILE
BETANCOURT ROMAN, DIONNY        ADDRESS ON FILE
BETANCOURT ROMAN, GLADYBEL      ADDRESS ON FILE
BETANCOURT ROSA, ALBERTO        ADDRESS ON FILE
BETANCOURT ROSA, YOHARY         ADDRESS ON FILE
BETANCOURT ROSADO, ANGELA       ADDRESS ON FILE
BETANCOURT ROSADO, MIGUEL A     ADDRESS ON FILE
BETANCOURT ROSADO, NOEMI        ADDRESS ON FILE
BETANCOURT ROSADO, WILLIAM      ADDRESS ON FILE
BETANCOURT ROSARIO, ANA         ADDRESS ON FILE
BETANCOURT ROSARIO, HECTOR      ADDRESS ON FILE
BETANCOURT ROSARIO, HEYDI       ADDRESS ON FILE
BETANCOURT ROSARIO, HEYDI       ADDRESS ON FILE
BETANCOURT ROSARIO, HEYDI Y.    ADDRESS ON FILE
BETANCOURT ROSARIO, JESUS       ADDRESS ON FILE
BETANCOURT ROSARIO, JOSE        ADDRESS ON FILE
BETANCOURT RUIZ, CARMELO        ADDRESS ON FILE
BETANCOURT RUIZ, JOHANNY        ADDRESS ON FILE
BETANCOURT RUIZ, MARISOL        ADDRESS ON FILE
BETANCOURT RUIZ, MAYRA          ADDRESS ON FILE
BETANCOURT RUIZ, TATIANA        ADDRESS ON FILE
BETANCOURT RUIZ, VIRGINIA       ADDRESS ON FILE
BETANCOURT RUIZ, WILLIAM        ADDRESS ON FILE
BETANCOURT RUIZ, YONALYN E      ADDRESS ON FILE
BETANCOURT SANCHEZ, EVELYN      ADDRESS ON FILE
BETANCOURT SANCHEZ, HERMINIO    ADDRESS ON FILE
BETANCOURT SANCHEZ, SERGIO      ADDRESS ON FILE
BETANCOURT SANCHEZ, ZULMA       ADDRESS ON FILE
BETANCOURT SANCHEZ, ZULMA       ADDRESS ON FILE
BETANCOURT SANDOVAL, CARLOS J   ADDRESS ON FILE
BETANCOURT SANJURJO, NITZA I    ADDRESS ON FILE
BETANCOURT SANTANA, CARLOS I.   ADDRESS ON FILE
BETANCOURT SANTANA, ISABEL M    ADDRESS ON FILE
Betancourt Santana, Janet I     ADDRESS ON FILE
BETANCOURT SANTANA, PABLO J     ADDRESS ON FILE
BETANCOURT SANTIAGO, BETARYS    ADDRESS ON FILE
BETANCOURT SANTIAGO, CARMEN I   ADDRESS ON FILE
BETANCOURT SANTIAGO, GISELLA    ADDRESS ON FILE
BETANCOURT SANTIAGO, IVELISSE   ADDRESS ON FILE
BETANCOURT SANTIAGO, JOSE       ADDRESS ON FILE
BETANCOURT SANTIAGO, LUIS       ADDRESS ON FILE
BETANCOURT SANTIAGO, LUZ A      ADDRESS ON FILE
BETANCOURT SANTIAGO, MARIE E.   ADDRESS ON FILE
BETANCOURT SANTOS, EUGENIO      ADDRESS ON FILE
BETANCOURT SANTOS, RUBEN        ADDRESS ON FILE
BETANCOURT SERGES, MARA         ADDRESS ON FILE
BETANCOURT SERVICE STATION      URB LA ANTIGUA            LD 76 VIA ROMA                                         TRUJILLO ALTO     PR      00976 6105
BETANCOURT SIERRA, CARMEN E     ADDRESS ON FILE
BETANCOURT SIERRA, ESTHER       ADDRESS ON FILE
BETANCOURT SIERRA, GLORIA M     ADDRESS ON FILE
BETANCOURT SIVERIO, LAURA M     ADDRESS ON FILE
BETANCOURT SOLIS, JOSE L        ADDRESS ON FILE
BETANCOURT SOSA, MARIA T.       ADDRESS ON FILE
BETANCOURT SOSA, MARIA T.       ADDRESS ON FILE
BETANCOURT SOSA, MARILY         ADDRESS ON FILE
BETANCOURT SOTO, JESUS          ADDRESS ON FILE
BETANCOURT SOTO, LUZ LIMARY     ADDRESS ON FILE
BETANCOURT SOTO, MARIJAHAIRA    ADDRESS ON FILE
BETANCOURT SUAREZ, PATRICIA     ADDRESS ON FILE




                                                                            Page 873 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 874 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                    Address2                      Address3     Address4           City          State   PostalCode   Country
BETANCOURT TAPIA, ASTRID M             ADDRESS ON FILE
BETANCOURT TOLEDO, ENID Y              ADDRESS ON FILE
BETANCOURT TOLEDO, MARCIAL             ADDRESS ON FILE
BETANCOURT TORRES, ALEJANDRO           ADDRESS ON FILE
BETANCOURT TORRES, BENJAMIN            ADDRESS ON FILE
BETANCOURT TORRES, GLORIMAR            ADDRESS ON FILE
BETANCOURT TORRES, HUMBERTO            ADDRESS ON FILE
BETANCOURT TORRES, JORGE A             ADDRESS ON FILE
BETANCOURT TORRES, NICOLLE             ADDRESS ON FILE
BETANCOURT TORRES, NOREISY             ADDRESS ON FILE
Betancourt Torres, Victor A            ADDRESS ON FILE
BETANCOURT TOYENS, BRENDA E            ADDRESS ON FILE
                                                                                                              PLAZA ESCORIAL
BETANCOURT TOYENS, BRENDA E.           MARIALIZ RIVERA GUTIERREZ   AVE 65 INF                    LOCAL 5829   CINEMA SUITE 207   CAROLINA      PR      00987
BETANCOURT VALENTIN, MICHELLE          ADDRESS ON FILE
BETANCOURT VALENTIN, WILFREDO          ADDRESS ON FILE
BETANCOURT VARGAS, AIDA                ADDRESS ON FILE
BETANCOURT VAZQUEZ, EDNA E             ADDRESS ON FILE
BETANCOURT VAZQUEZ, EDNA E             ADDRESS ON FILE
BETANCOURT VAZQUEZ, IVONNE M.          ADDRESS ON FILE
BETANCOURT VAZQUEZ, IVONNE MILAGROS    ADDRESS ON FILE
BETANCOURT VAZQUEZ, JAIME              ADDRESS ON FILE
BETANCOURT VAZQUEZ, MARIA DEL CARMEN   ADDRESS ON FILE
BETANCOURT VAZQUEZ, MARIA DEL CARMEN   ADDRESS ON FILE
BETANCOURT VAZQUEZ, MARISOL            ADDRESS ON FILE
BETANCOURT VAZQUEZ, RAITZA             ADDRESS ON FILE
BETANCOURT VAZQUEZ, SHARIM             ADDRESS ON FILE
BETANCOURT VAZQUEZ, VERONICA           ADDRESS ON FILE
BETANCOURT VAZQUEZ, VERONICA           ADDRESS ON FILE
BETANCOURT VEGA, ADIEL                 ADDRESS ON FILE
BETANCOURT VEGA, CARMEN L              ADDRESS ON FILE
BETANCOURT VEGA, MIGUEL A.             ADDRESS ON FILE
BETANCOURT VEGA, YIREL                 ADDRESS ON FILE
BETANCOURT VELEZ, ANNA I               ADDRESS ON FILE
BETANCOURT VELEZ, ELBA I.              ADDRESS ON FILE
BETANCOURT VELEZ, IDELISSE             ADDRESS ON FILE
BETANCOURT VIERA, DENISSE              ADDRESS ON FILE
BETANCOURT VIERA, RICARDO              ADDRESS ON FILE
BETANCOURT VIERAS, JAIME A             ADDRESS ON FILE
BETANCOURT VILA, WANDA                 ADDRESS ON FILE
BETANCOURT VILLANUEVA, EVELYN          ADDRESS ON FILE
BETANCOURT VILLANUEVA, MARITZA         ADDRESS ON FILE
BETANCOURT VILLANUEVA, ROSA M.         ADDRESS ON FILE
BETANCOURT ZAYAS, JORGE                ADDRESS ON FILE
BETANCOURT ZAYAS, LIZA                 ADDRESS ON FILE
BETANCOURT, EMILIA                     ADDRESS ON FILE
BETANCOURT, JOSE                       ADDRESS ON FILE
BETANCOURT, LUIS                       ADDRESS ON FILE
BETANCOURT, MARCOS                     ADDRESS ON FILE
BETANCOURT, MARGARITA                  ADDRESS ON FILE
BETANCOURT, NANCY                      ADDRESS ON FILE
BETANCOURT, NELSON                     ADDRESS ON FILE
BETANCOURT, YARALIZ                    ERNESTO J. MIRANDA          PO BOX 361058                                                 SAN JUAN      PR      00936
BETANCOURT,CARLOS                      ADDRESS ON FILE
BETANCOURTIRIZARRY, JOSE L             ADDRESS ON FILE
BETANCOURTQUILES, JOSE                 ADDRESS ON FILE
BETANCURT RAMIREZ, NELSON              ADDRESS ON FILE
BETANIA REYES MATOS                    ADDRESS ON FILE
BETANZO CORREA, RODOLFO                ADDRESS ON FILE
BETARA GROUP ENGINEERING, PSC          P O BOX 20000 PMB 290                                                                     CANOVANAS     PR      00729




                                                                                   Page 874 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 875 of 3500
                                                                                                        Creditor Matrix

Creditor Name                          Address1                          Address2                                    Address3          Address4   City              State   PostalCode   Country
BETAZAIDA HERRERA QUINTANA             ADDRESS ON FILE
BETEL CARDONA COLON                    ADDRESS ON FILE
BETEL L. CARDONA COLON                 ADDRESS ON FILE
BETH ISRAEL DEACONESS MEDICAL CENTER   PO BOX 409822                                                                                              ATLANTA           GA      30384 9822
BETH ISRAEL MEDICAL CENTER             PO BOX 152472                                                                                              IRVING            TX      75015‐2472
BETHANEES INC                          URB BRAULIO DUENO                 B22 CALLE 2                                                              BAYAMON           PR      00959‐5460
BETHANIA URENA GARCIA                  ADDRESS ON FILE
BETHANY ANNE BLANKLEY                  ADDRESS ON FILE
BETHENCOURT BETHE, JOSE                ADDRESS ON FILE
BETHESDA MEMORIAL HOSPITAL             2815 S SEACREST BLVD                                                                                       BOYNTON BEACH     FL      33435
BETHLEHEM AREA SCHOOL DISTRICT         CHILD ACCOUNTING DEPT             1516 SYCAMORE ST                                                         BETHLEHEM         PA      18017‐6099
BETHLEHEM EYE ASSOCIATES               1530 8TH AVE                                                                                               BETHLEHEM,        PA      18018
BETHNILLIAM S DIAZ ANDINO              ADDRESS ON FILE
BETHNILLIAM S. DIAZ ANDINO             ADDRESS ON FILE
BETHSAIDA IRIZARRY PEREZ               ADDRESS ON FILE
BETHSAIDA MIRANDA TORRES               ADDRESS ON FILE
BETHSAIDA MORALES RAMOS                ADDRESS ON FILE
BETHSAIDA SEGUI RAMOS                  ADDRESS ON FILE
BETHSAIDA TORRES ROSADO                LCDA IVONNE GARCIA TORRES         LCDA GARCIA‐1575 AVE MUNOZ RIVERA PMB 117                                Ponce             PR      00717
BETHSAIDA TORRES ROSADO                LCDA TAMIA APONTE TORRES          LCDA APONTE PO BOX 1427                                                  Ponce             PR      00733‐1427
BETHSARY LOPEZ PAGAN                   ADDRESS ON FILE
BETHSIE ROSA REYES                     ADDRESS ON FILE
BETHSIE ROSA REYES                     ADDRESS ON FILE
BETHYBELLE CRUZ APONTE                 ADDRESS ON FILE
BETHZAIDA ARROYO PADRO                 ADDRESS ON FILE
BETHZAIDA BAEZ APONTE                  ADDRESS ON FILE
BETHZAIDA BATISTA CRUZ                 ADDRESS ON FILE
BETHZAIDA BERRIOS COLON                ADDRESS ON FILE
BETHZAIDA CAMACHO SOSA                 ADDRESS ON FILE
BETHZAIDA CARRERO RODRIGUEZ            ADDRESS ON FILE
BETHZAIDA CASTRO QUINONES              ADDRESS ON FILE
BETHZAIDA CINTRON LORENZO              ADDRESS ON FILE
BETHZAIDA COLLAZO ACOSTA               ADDRESS ON FILE
BETHZAIDA COLON CORA                   ADDRESS ON FILE
BETHZAIDA CRUZ MATOS                   ADDRESS ON FILE
BETHZAIDA CRUZ OTERO                   ADDRESS ON FILE
BETHZAIDA CRUZ RODRIGUEZ               ADDRESS ON FILE
BETHZAIDA CRUZ VALENTIN                ADDRESS ON FILE
BETHZAIDA DE JESUS ROMERO              ADDRESS ON FILE
BETHZAIDA DIAZ GONZALEZ                ADDRESS ON FILE
BETHZAIDA DIAZ VELAZQUEZ               ADDRESS ON FILE
BETHZAIDA FALCÓN ANDINO                LCDA. JOHANNA GILOT OPPENHEIMER   PO BOX 369                                                               CATAÑO            PR      00963‐0369
BETHZAIDA FLORES GONZALEZ              ADDRESS ON FILE
BETHZAIDA GARAY MARQUEZ                ADDRESS ON FILE
BETHZAIDA GARCIA FLORES                ADDRESS ON FILE
BETHZAIDA GONZALEZ GALARZA             ADDRESS ON FILE
BETHZAIDA JORDAN                       ADDRESS ON FILE
BETHZAIDA LORENZO LOPEZ                ADDRESS ON FILE
BETHZAIDA MATIAS VEGA                  ADDRESS ON FILE
BETHZAIDA MELENDEZ MADERA              ADDRESS ON FILE
BETHZAIDA MORRO MORELL                 ADDRESS ON FILE
BETHZAIDA NATAL FELICIANO              LCDA. YESENIA VAZQUEZ             #25 CARR. 28 LUCHETTI INDSTRIAL PARK                                     BAYAMON           PR      00961
BETHZAIDA NATAL FELICIANO              LCDO. RAUL CANDELARIO LOPEZ       ALTOS 60‐E CALLE ESTABAN PADILLA                                         BAYAMON           PR      00960
BETHZAIDA NATAL FELICIANO              RAFAEL G. MARTÍNEZ‐GÉIGEL         # 500 DE HOSTOS AVE.                        G.PO BOX 366252              SAN JUAN          PR      00936‐6252
BETHZAIDA PEREZ BLANCO                 ADDRESS ON FILE
BETHZAIDA PEREZ BLANCO                 ADDRESS ON FILE
BETHZAIDA RAMOS ORTIZ                  ADDRESS ON FILE
BETHZAIDA RAMOS ORTIZ                  VICTOR M. RIVERA‐RIOS             1502 FERNANDEZ JUNCOS AVE                                                SAN JUAN          PR      00909
BETHZAIDA RAMOS RAMOS                  ADDRESS ON FILE
BETHZAIDA REYES ACEVEDO                ADDRESS ON FILE




                                                                                                      Page 875 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 876 of 3500
                                                                                      Creditor Matrix

Creditor Name                          Address1                  Address2                          Address3   Address4   City            State   PostalCode   Country
BETHZAIDA RIVERA MARTINEZ              ADDRESS ON FILE
BETHZAIDA RIVERA MARTINEZ              ADDRESS ON FILE
BETHZAIDA RIVERA MARTINEZ              ADDRESS ON FILE
BETHZAIDA RIVERA MEDERO                ADDRESS ON FILE
BETHZAIDA RIVERA RIVERA                ADDRESS ON FILE
BETHZAIDA RODRIGUEZ RAMOS              ADDRESS ON FILE
BETHZAIDA ROLDAN VALENTIN              ADDRESS ON FILE
BETHZAIDA RUIZ AVILES                  ADDRESS ON FILE
BETHZAIDA RUIZ AVILES                  ADDRESS ON FILE
BETHZAIDA RVERA SIERRA                 ADDRESS ON FILE
BETHZAIDA SANCHEZ CRUZ                 ADDRESS ON FILE
BETHZAIDA SANCHEZ VELAZQUEZ & BUFETE   ADDRESS ON FILE
BETHZAIDA SANOGUET RODRIGUEZ           ADDRESS ON FILE
BETHZAIDA SANTIAGO LUGO                ADDRESS ON FILE
BETHZAIDA SIERRA REYES                 ADDRESS ON FILE
BETHZAIDA TORRES ROSADO                ADDRESS ON FILE
BETHZAIDA VALENTIN CABAN               ADDRESS ON FILE
BETHZAIDA VARGAS CUSTODIO              ADDRESS ON FILE
BETHZAIDA VELEZ GOMEZ                  ADDRESS ON FILE
BETHZAIRA I JUSINO MULET               ADDRESS ON FILE
BETHZAIRA M PIZARRO VELEZ              ADDRESS ON FILE
BETHZAMARIE SOTO MORALES               ADDRESS ON FILE
BETIMARLIZ RIVERA CRUZ                 ADDRESS ON FILE
BETIRIA QUINONES OCASIO                ADDRESS ON FILE
BETSAIDA GARCIA GREEN                  ADDRESS ON FILE
BETSAIDA PEREZ REBOLLO                 ADDRESS ON FILE
BETSAIDA ROSA RODRIGUEZ                ADDRESS ON FILE
BETSAIDA TROCHE TORRES                 ADDRESS ON FILE
BETSAIRA SANABRIA RIVERA               ADDRESS ON FILE
BETSIE MALDONADO CONTRERAS             ADDRESS ON FILE
BETSIE RODRIGUEZ VEGA                  ADDRESS ON FILE
BETSIE SEDA COLLADO                    ADDRESS ON FILE
BETSY A SALGADO RIVERA                 ADDRESS ON FILE
BETSY APONTE ARROYO                    ADDRESS ON FILE
BETSY BERMUDEZ /SORPRESAS Y ALGO MAS   ESPINOSA                  HC 80 BOX 7322                                          DORADO          PR      00646
BETSY CRUZ GARCIA                      ADDRESS ON FILE
BETSY CRUZ GONZALEZ                    ADDRESS ON FILE
BETSY CSTILLO FABRE                    ADDRESS ON FILE
BETSY CSTILLO FABRE                    ADDRESS ON FILE
BETSY D BERRIOS RIVERA                 ADDRESS ON FILE
BETSY DE JESUS GARCIA                  ADDRESS ON FILE
BETSY E DE JESUS GONZALEZ              ADDRESS ON FILE
BETSY GARCIA COLON                     ADDRESS ON FILE
BETSY GARCIA FIGUEROA                  ADDRESS ON FILE
BETSY GONZALEZ BERNARD                 ADDRESS ON FILE
BETSY GONZALEZ BERNARD                 ADDRESS ON FILE
BETSY I BELTRAN MONTANEZ               ADDRESS ON FILE
BETSY I RODRIGUEZ RIVERA               ADDRESS ON FILE
BETSY I. SANTIAGO MENDEZ               ADDRESS ON FILE
BETSY J LOPEZ NIEVES                   ADDRESS ON FILE
BETSY L RUIZ PLACIDO                   ADDRESS ON FILE
BETSY L RUIZ PLACIDO                   ADDRESS ON FILE
BETSY L RUIZ PLACIDO                   ADDRESS ON FILE
BETSY L. RUIZ PLACIDO                  ADDRESS ON FILE
BETSY LUGO RAMIREZ                     ADDRESS ON FILE
BETSY M LOPEZ APONTE PHM               URB PALMA ROYAL           68 CALLE RUBELINI                                       LAS PIEDRAS     PR      00771
BETSY M. BATISTA ROSADO                ADDRESS ON FILE
BETSY M. SOTO AYABARRENO               ADDRESS ON FILE
BETSY MALDONADO RIVERA                 ADDRESS ON FILE
BETSY MERCED OLIVERAS                  ADDRESS ON FILE




                                                                                     Page 876 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 877 of 3500
                                                                                                                Creditor Matrix

Creditor Name                          Address1                                    Address2                                 Address3          Address4   City            State   PostalCode   Country
BETSY MORALES MORALES                  ADDRESS ON FILE
BETSY MUÑOZ TORRES                     LCDA ALEXANDRA NOLLA ACOSTA                 LCDA NOLLA‐3051 AVE JUAN HERNANDEZ ORTIZ STE 202 ISABELA              ISABELA         PR      00662
BETSY MUÑOZ TORRES                     LCDO ANSELMO IRIZARRY IRIZARRY              LCDO IRIZARRY‐PO BOX 335060                                           Ponce           PR      00733
BETSY MUÑOZ TORRES                     LCDO EUGENIO CABANILLAS GALIANO             LCDO CABANILLAS‐110 CALLE E VAZQUEZ BAEZ                              MAYAGUEZ        PR      00680
BETSY N PIZARRO ORTIZ                  ADDRESS ON FILE
BETSY NUNEZ RIVERA                     ADDRESS ON FILE
BETSY ORTA                             ADDRESS ON FILE
BETSY ORTIZ COTTO                      ADDRESS ON FILE
BETSY ORTIZ COTTO                      ADDRESS ON FILE
BETSY PAGAN COSS                       ADDRESS ON FILE
BETSY PEDRAZA OLIQUE                   ADDRESS ON FILE
BETSY RIVERA TORRES                    ADDRESS ON FILE
BETSY SANCHEZ MORALES                  ADDRESS ON FILE
BETSY SEPULVEDA ORTIZ                  ADDRESS ON FILE
BETSY SEVILLA OYOLA                    ADDRESS ON FILE
BETSY VEGA GONZALEZ                    ADDRESS ON FILE
BETSY VELAZQUEZ CRUZ                   ADDRESS ON FILE
BETSY Y RESTO ORTIZ                    ADDRESS ON FILE
BETSY Y RIVERA RIVERA                  ADDRESS ON FILE
BETSY Z BENITEZ MARTINEZ               ADDRESS ON FILE
BETSYDA SANTIAGO RIVERA                ADDRESS ON FILE
BETSYMAR GOMEZ BURGOS                  ADDRESS ON FILE
BETTE ALVIRA, YVETTE R                 ADDRESS ON FILE
BETTER BACK STORE                      FEDERICO COSTAS 201 ESQ CALAF                                                                                     SAN JUAN        PR      00918
BETTER BLINDS INC                      BW 1 CALLE 3                                AVE LAS AMERICAS BAIROA                                               CAGUAS          PR      00725
BETTER HEALTH AMBULANCE                PO BOX 4002                                                                                                       VEGA BAJA       PR      00694
BETTER HEALTH AMBULANCE SERVICE CORP   PO BOX 7004 PMB 113                                                                                               VEGA BAJA       PR      00694
BETTER OFFICE EQUIPMENT                URB CIUDAD JARDIN II                        131 CALLE BROMELIA                                                    TOA ALTA        PR      00953
BETTER OIL SERVICE STATION             PO BOX 1868                                                                                                       VEGA ALTA       PR      00692
BETTER VISION                          PO BOX 143154                                                                                                     ARECIBO         PR      00614‐3154
BETTEROADS ALPHAT CORP                 P O BOX 21420                                                                                                     RIO PIEDRAS     PR      00928‐1420
BETTEROADS ASPHALT CORP.               P. O.BOX 21420                                                                                                    SAN JUAN        PR      00913‐0000
BETTERROADS ASPHALT                    LIC. JOSE NOLLA MAYORAL Y LIC. KATHERINE QUIPO BOX 195287                                                         SAN JUAN        PR      00919‐0587
BETTIE SANTIAGO BATIZ                  ADDRESS ON FILE
BETTINA A PEREZ MARTINEZ               ADDRESS ON FILE
BETTINA CASAS PUIG                     ADDRESS ON FILE
BETTOS AMBULANCE SERVICE               CALLE TOPACO BO. NUEVO #197                                                                                       SANGERMAN       PR      00683‐0000
BETTOS AMBULANCE SERVICE INC           PUEBLO NUEVO ARRIBA                         197 CALLE TOPACIO                                                     SAN GERMAN      PR      00683
BETTSY A. CONCEPCION CLASS             ALTURAS DE VEGA BAJA C‐L‐0‐5                                                                                      VEGA BAJA       PR      00693
BETTY ALVARADO PADILLA                 ADDRESS ON FILE
BETTY ALVAREZ SANTIAGO                 ADDRESS ON FILE
BETTY ALVAREZ SANTIAGO                 ADDRESS ON FILE
BETTY ALVAREZ SANTIAGO                 ADDRESS ON FILE
BETTY ANN MULLINS MATOS                ADDRESS ON FILE
BETTY BIGORNIA SAMOT                   ADDRESS ON FILE
BETTY BONILLA ALICEA                   ADDRESS ON FILE
BETTY BORRERO CRUZ                     ADDRESS ON FILE
BETTY CHOI CHING                       ADDRESS ON FILE
BETTY CRUZ FIGUEROA                    ADDRESS ON FILE
BETTY ENRIQUEZ BETANCOURT              ADDRESS ON FILE
BETTY HERNANDEZ HERNANDEZ              ADDRESS ON FILE
BETTY J SERRANO MORALES                ADDRESS ON FILE
BETTY L. ARIZA BAUTISTA                ADDRESS ON FILE
BETTY LABOY MARTINEZ                   ADDRESS ON FILE
BETTY LOPEZ CARRASQUILLO               ADDRESS ON FILE
BETTY M APONTE QUINONES                ADDRESS ON FILE
BETTY MALDONADO BAYRON                 ADDRESS ON FILE
BETTY MURIEL                           ADDRESS ON FILE
BETTY NEREIDA CALDERON RODRIGUEZ       ADDRESS ON FILE
BETTY ORTIZ DIAZ                       ADDRESS ON FILE




                                                                                                               Page 877 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 878 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BETTY R ALVAREZ                  ADDRESS ON FILE
BETTY RIVERA TORRES              ADDRESS ON FILE
BETTY RODRIGUEZ NAZARIO          ADDRESS ON FILE
BETTY RODRIGUEZ RIOS             ADDRESS ON FILE
BETTY SANCHEZ TUDO               ADDRESS ON FILE
BETTY SEBERON GARCIA             ADDRESS ON FILE
BETTY THOMSON                    ADDRESS ON FILE
BETTY V MARTINEZ RIVERA          ADDRESS ON FILE
BETTZAIDA BRANO BERDECIA         ADDRESS ON FILE
BETTZY Y RODRIGUEZ RIVERA        ADDRESS ON FILE
BETXAIDA ROSADO ROBLES           ADDRESS ON FILE
BETZABE MATOS Y CRUCITA CRESPO   ADDRESS ON FILE
BETZABE RAMOS TOLEDO             ADDRESS ON FILE
BETZABE RIOS COLON               ADDRESS ON FILE
BETZAIDA AIMEE ALEMANY VELEZ     ADDRESS ON FILE
BETZAIDA AYALA ORTIZ             ADDRESS ON FILE
BETZAIDA BARRETO COLON           ADDRESS ON FILE
BETZAIDA BAUZA MARRERO           ADDRESS ON FILE
BETZAIDA CABAN GONZALEZ          ADDRESS ON FILE
BETZAIDA CABAN LOPEZ             ADDRESS ON FILE
BETZAIDA CALDERON ROJAS          ADDRESS ON FILE
BETZAIDA CARDONA                 ADDRESS ON FILE
BETZAIDA CARMONA IGLESIAS        ADDRESS ON FILE
BETZAIDA CENTENO RAMOS           ADDRESS ON FILE
BETZAIDA COLON MARTINEZ          ADDRESS ON FILE
BETZAIDA COLON ORTIZ             ADDRESS ON FILE
BETZAIDA CORTEZ CARDONA          ADDRESS ON FILE
BETZAIDA CRUZ LOPEZ              ADDRESS ON FILE
BETZAIDA DE JESUS COLON          ADDRESS ON FILE
BETZAIDA FLORES RODRIGUEZ        ADDRESS ON FILE
BETZAIDA FLORES TORRES           ADDRESS ON FILE
BETZAIDA GARCIA PORTALATIN       ADDRESS ON FILE
BETZAIDA GOMEZ ROLDAN            ADDRESS ON FILE
BETZAIDA GONZALEZ RAMOS          ADDRESS ON FILE
BETZAIDA GONZALEZ VALENTIN       ADDRESS ON FILE
BETZAIDA GRACIA BERMUDEZ         ADDRESS ON FILE
BETZAIDA GRACIA BERMUDEZ         ADDRESS ON FILE
BETZAIDA HERNANDEZ PELLOT        ADDRESS ON FILE
BETZAIDA I LOPEZ MARRERO         ADDRESS ON FILE
BETZAIDA JIMENEZ HERNANDEZ       ADDRESS ON FILE
BETZAIDA JIMENEZ PIZARRO         ADDRESS ON FILE
BETZAIDA LABOY ROSA              ADDRESS ON FILE
BETZAIDA MARENGO GUZMAN          ADDRESS ON FILE
BETZAIDA MARIN ROMAN             ADDRESS ON FILE
BETZAIDA MARRERO QUINONEZ        ADDRESS ON FILE
BETZAIDA MARTINEZ PADILLA        ADDRESS ON FILE
BETZAIDA MELENDEZ LOPEZ          ADDRESS ON FILE
BETZAIDA MERCADO SANCHEZ         ADDRESS ON FILE
BETZAIDA MIRANDA RUIZ            ADDRESS ON FILE
BETZAIDA MOJICA ARCELAY          ADDRESS ON FILE
BETZAIDA MORALES PEDROZA         ADDRESS ON FILE
BETZAIDA MU¥IZ HERNANDEZ         ADDRESS ON FILE
BETZAIDA NEGRON                  ADDRESS ON FILE
BETZAIDA NIEVES FREITAS          ADDRESS ON FILE
BETZAIDA NIEVES KUILAN           ADDRESS ON FILE
BETZAIDA NUNEZ DIAZ              ADDRESS ON FILE
BETZAIDA NUNEZ GREEN             ADDRESS ON FILE
BETZAIDA ORTIZ LOPEZ             ADDRESS ON FILE
BETZAIDA PAGAN REYES             ADDRESS ON FILE
BETZAIDA PEREZ LOPEZ             ADDRESS ON FILE




                                                                             Page 878 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 879 of 3500
                                                                                                Creditor Matrix

Creditor Name                  Address1                                Address2                              Address3          Address4       City         State   PostalCode   Country
BETZAIDA PIZARRO RIVERA        ADDRESS ON FILE
BETZAIDA PIZARRO RIVERA        ADDRESS ON FILE
BETZAIDA PONCE LUGARDO         ADDRESS ON FILE
BETZAIDA QUINONES BRUNO        ADDRESS ON FILE
BETZAIDA QUINONES NEGRON       ADDRESS ON FILE
BETZAIDA QUINONES RODRIGUEZ    ADDRESS ON FILE
BETZAIDA RAMOS MEDINA          ADDRESS ON FILE
BETZAIDA RIVERA SANTIAGO       ADDRESS ON FILE
BETZAIDA RIVERA SANTIAGO       ADDRESS ON FILE
BETZAIDA RIVERA VAZQUEZ        ADDRESS ON FILE
BETZAIDA RIVERA ZAYAS          ADDRESS ON FILE
BETZAIDA RODRIGUEZ DIAZ        ADDRESS ON FILE
BETZAIDA RODRIGUEZ GONZALEZ    ADDRESS ON FILE
BETZAIDA RODRIGUEZ MARTINEZ    ADDRESS ON FILE
BETZAIDA RODRIGUEZ MARTINEZ    ADDRESS ON FILE
BETZAIDA RODRIGUEZ SEDA        ADDRESS ON FILE
BETZAIDA ROLON PADILLA         ADDRESS ON FILE
BETZAIDA ROMAN ORTIZ           ADDRESS ON FILE
BETZAIDA ROMERO GARCIA         ADDRESS ON FILE
BETZAIDA ROSARIO RODRIGUEZ     ADDRESS ON FILE
BETZAIDA RULLAN PUJOLS         ADDRESS ON FILE
BETZAIDA SOTO ADAMES           ADDRESS ON FILE
BETZAIDA TORRES CABAN          ADDRESS ON FILE
BETZAIDA TORRES CASARES        ADDRESS ON FILE
BETZAIDA TORRES SERRANO        ADDRESS ON FILE
BETZAIDA VAZQUEZ               ADDRESS ON FILE
BETZALIE LOPEZ VARGAS          ADDRESS ON FILE
BETZALIS BRUNO RAMOS           ADDRESS ON FILE
BETZALY OLMEDA TORRES          ADDRESS ON FILE
BETZY A PEREZ SANTIAGO         ADDRESS ON FILE
BETZY A. CHARDON CASALS        LCDA. GRISELLE GONZÁLEZ NEGRÓN‐ABOGADA MPO BOX 11155                                                           SAN JUAN     PR      00922‐1155
                                                                                                             DEPARTAMENTO DE
BETZY A. CHARDON CASALS        LCDO. FÉLIX O. ALFARO RIVERA‐ABOGADO ACT (MUNIDAD DE LITIGIOS                 RECLAMACIONES     PO BOX 70244   SAN JUAN     PR      00936‐8244
                                                                                                             AVE. LUIS MUÑOZ
BETZY A. CHARDON CASALS        LCDO. RAFAEL I. ALVAREZ CASTRO‐ABOGADO DE URB. LOS MAESTROS                   SOUFFRONT                        SAN JUAN     PR      00923
BETZY ALAMEDA VARGAS           ADDRESS ON FILE
BETZY FONTANEZ BERMUDEZ        ADDRESS ON FILE
BETZY G ROSSI ORTIZ            ADDRESS ON FILE
BETZY RODRIGUEZ OROZCO         ADDRESS ON FILE
BETZY SOTO PEREZ               ADDRESS ON FILE
BETZY ZENO ACEVEDO             ADDRESS ON FILE
BEUCHAN PACHECO, CARLOS        ADDRESS ON FILE
BEURKET ASENCIO, ROBERT        ADDRESS ON FILE
BEVERAGGI DUMONT, CELESTE      ADDRESS ON FILE
BEVERAGGI QUINTERO, JOHANNA    ADDRESS ON FILE
BEVERLY ALVAREZ TORRES         ADDRESS ON FILE
BEVERLY BRADBURN STERN         ADDRESS ON FILE
BEVERLY CASTA BELLIDO          ADDRESS ON FILE
BEVERLY DOMINGUEZ CRUZ         ADDRESS ON FILE
BEVERLY ESCRIBANO VILLARONGA   ADDRESS ON FILE
BEVERLY K DI GIORGI PEREZ      ADDRESS ON FILE
BEVERLY N RODRIGUEZ RIVERA     ADDRESS ON FILE
BEVERLY RODRIGUEZ SALDANA      ADDRESS ON FILE
BEVERLY ROMAN SANTOS           ADDRESS ON FILE
BEVERLY ROMAN SANTOS           ADDRESS ON FILE
BEVERLY ROSARIO PEREZ          ADDRESS ON FILE
BEVERLY SUE RAMOS MORALES      ADDRESS ON FILE
BEVERLY TORRES MATOS           ADDRESS ON FILE
BEVILACQUA BOLLADA, LUIS H.    LCDO. VLADIMIR MIHAILOVICH NIKOLICH       PO BOX 79389                                                         CAROLINA     PR      00984‐9389
BEVILACQUA BOLLADA, LUIS H     ADDRESS ON FILE




                                                                                               Page 879 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 880 of 3500
                                                                                         Creditor Matrix

Creditor Name                         Address1                    Address2                            Address3   Address4   City              State   PostalCode   Country
BEWELL GROUP INC                      PO BOX 1285                                                                           SAINT JUST        PR      00978
BEXAIDA MORALES BENITEZ               ADDRESS ON FILE
BEXZU L CRUZ AYALA                    ADDRESS ON FILE
Bey Arce, Efrain                      ADDRESS ON FILE
BEY BETANCOURT, YESENIA               ADDRESS ON FILE
BEY CARDONA, ZAIDA N.                 ADDRESS ON FILE
BEY GOMEZ, JUAN A                     ADDRESS ON FILE
Bey Lopez, Michelle                   ADDRESS ON FILE
BEY MILLAN, DIANA E                   ADDRESS ON FILE
Bey Sepulveda, Carlos                 ADDRESS ON FILE
Bey Sepulveda, Carlos J               ADDRESS ON FILE
BEY SEPULVEDA, MILAGROS               ADDRESS ON FILE
BEY VELEZ, LUIS R                     ADDRESS ON FILE
BEY VELEZ, LUIS R.                    ADDRESS ON FILE
BEY VINAS, BLANIZZA LORRAINE          ADDRESS ON FILE
BEY VINAS, BRENDA L.                  ADDRESS ON FILE
BEYLEY CONSTRUCTION GROUP CORP        MSC 110                     PO BOX 11850                                              SAN JUAN          PR      00961
BEYLEY DIAZ, RAMON                    ADDRESS ON FILE
BEYLEY PAGAN, ILEANA                  ADDRESS ON FILE
BEYLEY PAGAN, JORGE                   ADDRESS ON FILE
BEYLEY PAGAN, VANESA                  ADDRESS ON FILE
BEYLEY PAGAN, VERONICA                ADDRESS ON FILE
BEYLEY PEREZ, MARIA                   ADDRESS ON FILE
BEYOND ACCOUNTING, LLC                PO BOX 1353                                                                           TRUJILLO ALTO     PR      00977
BEYOND BRANDING COMMUNICATIONS CORP   PO BOX 16102                                                                          SAN JUAN          PR      00908‐6102
BEYOND SOLUTIONS GROUP INC            PO BOX 1533                                                                           BAYAMON           PR      00960
BEZANILLA MONROY, CARMEN R            ADDRESS ON FILE
Bezanilla Monroy, Joaquin D           ADDRESS ON FILE
BEZANILLA PEREZ, JOAQUIN              ADDRESS ON FILE
BEZARES ALSINA, GUILLERMO             ADDRESS ON FILE
BEZARES COLON, ADALIS                 ADDRESS ON FILE
BEZARES COLON, CARMELO                ADDRESS ON FILE
BEZARES FIGUEROA, JANICE I            ADDRESS ON FILE
BEZARES GARCIA, CARMEN G              ADDRESS ON FILE
BEZARES GARCIA, CARMEN G              ADDRESS ON FILE
BEZARES GOMEZ MD, LILLIAN E           ADDRESS ON FILE
BEZARES HERNANDEZ, LIANNE             ADDRESS ON FILE
BEZARES HERNANDEZ, LISANDRA           ADDRESS ON FILE
BEZARES LEBRON, FERNANDO              ADDRESS ON FILE
BEZARES MALAVE, JOSE L.               ADDRESS ON FILE
BEZARES MORALES, ZENAIDA              ADDRESS ON FILE
BEZARES NAZARIO, RAMON                ADDRESS ON FILE
BEZARES OLIVERAS, TAIANA              ADDRESS ON FILE
Bezares Ruiz, Celenia                 ADDRESS ON FILE
BEZARES SALINAS, FRANCISCO            ADDRESS ON FILE
BEZARES SALINAS, GLORIA DE            ADDRESS ON FILE
BEZARES SALINAS, LUZ Y.               ADDRESS ON FILE
BEZARES TORRES MD, NICOLAS            ADDRESS ON FILE
BEZARES TORRES, CARMEN                ADDRESS ON FILE
BEZARES TORRES, FRANCISCO             ADDRESS ON FILE
Bezares Torres, Luis                  ADDRESS ON FILE
BEZARES VALENTIN, MAYRA               ADDRESS ON FILE
BEZARES, CIARANETTE                   ADDRESS ON FILE
BEZARES, PABLO                        ADDRESS ON FILE
BEZARES, YAHIRA                       ADDRESS ON FILE
BEZAREZ NAZARIO, ARLENE               ADDRESS ON FILE
BEZLYN TORRES CASTILLO                ADDRESS ON FILE
BEZLYN TORRES CASTILLO                ADDRESS ON FILE
BFC INC                               COND POINT LAGOON ESTATES   AVE LAGUNA APT 1311                                       CAROLINA          PR      00979
BFOUND SOCIAL MARKET PLACE CORP       URB VISTA MONTE             G6 CALLE 6                                                CIDRA             PR      00739




                                                                                        Page 880 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 881 of 3500
                                                                                              Creditor Matrix

Creditor Name                             Address1                             Address2                    Address3   Address4   City         State   PostalCode   Country
BG CONSULTING CORP                        HC 67 BOX 13225                                                                        BAYAMON      PR      00956‐9503
BGI INSTRUMENTS                           58 GUINAN STREET                                                                                    MA      02451
BHAJAN ORTIZ, INDIRA                      ADDRESS ON FILE
BHATIA, EDUARDO                           ADDRESS ON FILE
BHC SAN JUAN CAPESTRANO HOSP INC          RR 2 BOX 11                                                                            SAN JUAN     PR      00926‐9767
BHC SCO ESC MEDICINA DE PONCE PONCE CLINICFHC‐CENTRO SALUD CONDUCTUAL (CSCO)   PO BOX 7004                                       PONCE        PR      00732
BHL GROUP LLC                             PO BOX 2066                                                                            ARECIBO      PR      00613
BHM INVESTMENT CORP.                      P.O.BOX 8639                                                                           HUMACAO      PR      00792
BHR RISK SERVICES                         PO BOX 191767                                                                          SAN JUAN     PR      00919‐1767
BHUIYAN NAHAR, LUTFUL                     ADDRESS ON FILE
BI INCORPORATED                           6265 GUBARREL AVE STE B                                                                BOULDER      CO      80301
BI RESOURCES INC                          P O BOX 364194                                                                         SAN JUAN     PR      00936‐4194
BI RESOURCES, INC.                        1056 MUNOZ RIVERA SUITE 407                                                            SAN JUAN     PR      00927‐0000
BIADNEY A COLON RIVERA                    ADDRESS ON FILE
BIAGGI & BIAGGI P.S.C.                    PO BOX 1356                                                                            MAYAGUEZ     PR      00681‐1356
BIAGGI & FAURE INC                        PO BOX 362250                                                                          SAN JUAN     PR      00936‐2250
BIAGGI DE CASENAVE, CHIARA                ADDRESS ON FILE
BIAGGI DE CASENAVE, VALERIE               ADDRESS ON FILE
BIAGGI GHIGLIOTTY, FABIOLA                ADDRESS ON FILE
BIAGGI LUGO, MILKA I                      ADDRESS ON FILE
BIAGGI MASCARO, JOANNE                    ADDRESS ON FILE
BIAGGI PACHECO, CARMEN L                  ADDRESS ON FILE
BIAGGI RIVERA, WANDA I.                   ADDRESS ON FILE
BIAGGI RIVERA, WANDA I.                   ADDRESS ON FILE
BIAGGI SILVESTRINI, WILLIAM               ADDRESS ON FILE
BIAGGI SILVESTRINI, YAHAIRA I             ADDRESS ON FILE
BIAGGI TRIGO, LORRAINE                    ADDRESS ON FILE
BIALSKI, CHEN                             ADDRESS ON FILE
BIAMON PARRA, JOSE R.                     ADDRESS ON FILE
BIANCA ACEVEDO LUGO                       ADDRESS ON FILE
BIANCA ALDOY MEXIA                        ADDRESS ON FILE
BIANCA ALMENDROS MIRANDA                  ADDRESS ON FILE
BIANCA AMADOR BONILLA                     ADDRESS ON FILE
BIANCA C BERRIOS ROSARIO                  ADDRESS ON FILE
BIANCA CARINO CAPO                        ADDRESS ON FILE
BIANCA CONVENTON CENTER INC.              APARTADO 2123                                                                          ANASCO       PR      00610
BIANCA CONVENTON CENTER INC.              RR 2 BOX STE 8                                                                         ANASCO       PR      00610
BIANCA CRESPO PEREZ                       ADDRESS ON FILE
BIANCA D VEGA CUADRA                      ADDRESS ON FILE
BIANCA D VELEZ LEON                       ADDRESS ON FILE
BIANCA G FREIRE RONDON                    ADDRESS ON FILE
BIANCA G TORRES MARTELL                   ADDRESS ON FILE
BIANCA GARCIA RESTO                       ADDRESS ON FILE
BIANCA J RODRIGUEZ RIVERA                 ADDRESS ON FILE
BIANCA L AULET GONZALEZ                   ADDRESS ON FILE
BIANCA L JIMENEZ MORALES                  ADDRESS ON FILE
BIANCA L LUGO LEWIS                       ADDRESS ON FILE
BIANCA LEE RIVERA PENA                    ADDRESS ON FILE
BIANCA M GARCES GREEN                     ADDRESS ON FILE
BIANCA M GARCIA ARROYO                    ADDRESS ON FILE
BIANCA M ORTIZ COLON                      ADDRESS ON FILE
BIANCA M PEREZ RIVERA                     ADDRESS ON FILE
BIANCA M RIVERA RODRIGUEZ                 ADDRESS ON FILE
BIANCA M RUIZ DE CAMPOS                   ADDRESS ON FILE
BIANCA M. ESCOTTO MORALES                 ADDRESS ON FILE
BIANCA M. MONROIG RODRIGUEZ               ADDRESS ON FILE
BIANCA MARTINEZ SANTIAGO                  ADDRESS ON FILE
BIANCA PONCE FUENTES                      ADDRESS ON FILE
BIANCA RODRIGUEZ ACOSTA                   ADDRESS ON FILE
BIANCA SANTANA MARTINEZ                   ADDRESS ON FILE




                                                                                             Page 881 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 882 of 3500
                                                                                                          Creditor Matrix

Creditor Name                              Address1                       Address2                                     Address3         Address4             City           State   PostalCode   Country
BIANCA SOTO GARCIA                         ADDRESS ON FILE
BIANCA TANAIRI RODRIGUEZ STEIDEL           ADDRESS ON FILE
BIANCA Y RODRIGUEZ MALDONADO               ADDRESS ON FILE
BIANCALIZ SERRANO PAGAN                    ADDRESS ON FILE
BIANCHI ANGLERO, CARLOS A.                 ADDRESS ON FILE
BIANCHI ANGLERO, THARA                     ADDRESS ON FILE
BIANCHI CASTRO, MIGUEL                     ADDRESS ON FILE
BIANCHI DORTA, DIANA L                     ADDRESS ON FILE
BIANCHI KRAUSHAAR, MARIA                   ADDRESS ON FILE
BIANCHI ORTIZ, MARIA DE LOS A              ADDRESS ON FILE
BIANCHI SANTIAGO, JOSIE                    ADDRESS ON FILE
BIANCHI TORRES, DENISE                     ADDRESS ON FILE
BIANCHI VELEZ, MANUEL                      ADDRESS ON FILE
BIANCKA SANTAELLA SABAT                    ADDRESS ON FILE
BIANKA M. STEIDEL HERNANDEZ                ADDRESS ON FILE
BIASCOECHEA RODRIGUEZ, MANUEL A.           ADDRESS ON FILE
BIBBO PARRA, JOSEPH                        ADDRESS ON FILE
BIBIANA GONZALEZ BADILLO                   ADDRESS ON FILE
BIBIANA GONZALEZ ISONA                     ADDRESS ON FILE
BIBIANA PENA TRONCOSO                      ADDRESS ON FILE
BIBIANO RIVERA TORRES                      ADDRESS ON FILE
BIBILIONI PEREZ, JOSE                      ADDRESS ON FILE
BIBILONI CRUZ, CHRISTIAN                   ADDRESS ON FILE
BIBILONI DEL RIO, JOSE                     ADDRESS ON FILE
Bibiloni Del Valle, Edgardo                ADDRESS ON FILE
BIBILONI DEL VALLE, JOSE                   ADDRESS ON FILE
BIBILONI DEL VALLE, JOSE                   ADDRESS ON FILE
BIBILONI ESPINOSA, OLGA                    ADDRESS ON FILE
BIBILONI GONZALEZ, CARLOS                  ADDRESS ON FILE
BIBILONI GONZALEZ, CARLOS R.               ADDRESS ON FILE
BIBILONI GONZALEZ, MARTA                   ADDRESS ON FILE
BIBILONI GONZALEZ, MIGUEL                  ADDRESS ON FILE
BIBILONI GONZALEZ, VIVIANA                 ADDRESS ON FILE
BIBILONI GUTIERREZ, SUSSETE                ADDRESS ON FILE
BIBILONI MAYSONET, JUAN                    ADDRESS ON FILE
BIBILONI MORALES, RAFAEL                   ADDRESS ON FILE
BIBILONI OCASIO, FRANKIE                   ADDRESS ON FILE
BIBILONI REYES, MARIA F                    ADDRESS ON FILE
BIBILONI RIOS, FRANKIE                     ADDRESS ON FILE
BIBILONI RODRIGUEZ MD, JUAN J              ADDRESS ON FILE
BIBILONI RODRIGUEZ, YARA                   ADDRESS ON FILE
BIBILONI SANCHEZ, IRIS V                   ADDRESS ON FILE
BIBILONI TORRES, ARNALDO                   ADDRESS ON FILE
BIBLI0 SERVICES INC                        399 AVE MUNOZ RIVERA           SUITE 105 A                                                                        SAN JUAN       PR      00918
BIBLIO INFORMATICA 2000 INC                FERNANDEZ JUNCOS STA           P O BOX 19221                                                                      SAN JUAN       PR      00910
BIBLIO SERVICES                            399 AVE MUNOZ RIVERA           STE 105                                                                            SAN JUAN       PR      00918
BIBLIO SERVICES                            URB INDUSTRIAL TRES MONJITAS   201 CALLE FEDERICO COSTAS ID                                                       SAN JUAN       PR      00918
BIBLIOTECA I.C.D.C. ESPINOSA               ADDRESS ON FILE
BIBLIOTECA MAYRA MARCHAND BENITEZ          ADDRESS ON FILE
BIBLIOTECAS COMUNITARIAS EN AVANCE, INC.   P.O. BOX 2187                                                                                                     OROCOVIS       PR      00720
BIBLO‐INFORMATICA 2000                     PO BOX 19221                                                                                                      SAN JUAN       PR      00910‐1221
BIDELAS BEAUTY SALON                       190 CALLE LUIS MUNOZ RIVERA                                                                                       GUAYANILLA     PR      00656
BIDO CHAPMAN, FELIX                        ADDRESS ON FILE
BIDO DISLA, RAFAEL                         ADDRESS ON FILE
BIDO LOPEZ, JOSE                           ADDRESS ON FILE
BIDO PICHARDO, ARIDELIS                    ADDRESS ON FILE
BIDO REYES, ALBA I                         ADDRESS ON FILE
BIDOD HERNANDEZ, JEREMIAS                  ERICK E KOLTHOFF BENNERS       AVE ROBERTO CLEMENTE                         BLOQUE 30 A‐10   URB VILLA CAROLINA   CAROLINA       PR      00985
BIDOT BAERGA, JENNY                        ADDRESS ON FILE
BIDOT CRUZ, LORAINE M                      ADDRESS ON FILE




                                                                                                         Page 882 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 883 of 3500
                                                                                                            Creditor Matrix

Creditor Name                           Address1                              Address2                                   Address3             Address4        City             State   PostalCode   Country
BIDOT DAVILA MD, JUAN                   ADDRESS ON FILE
BIDOT DEL VALLE, YAEL                   ADDRESS ON FILE
BIDOT DEL VALLE, YAEL                   ADDRESS ON FILE
                                                                                                                         448 SECC SEGURIDAD
BIDOT HERNÁNDEZ, JEREMIAS               REPRESENTADO POR DERECHO PROPIO       INST. REGIONAL DE Bayamón                  REGULAR PROTECTIVA   PO BOX 60‐307   Bayamón          PR      00960
BIDOT IRIZARRY, MARIA M                 ADDRESS ON FILE
BIDOT LOPEZ, FRANCISCO                  ADDRESS ON FILE
BIDOT LOPEZ, JULIA                      ADDRESS ON FILE
BIDOT MORALES, NOEMIRYS                 ADDRESS ON FILE
BIDOT MORENO, JUANA                     ADDRESS ON FILE
BIDOT NIEVES, CARLOS J                  ADDRESS ON FILE
Bidot Ramos, Carlos                     ADDRESS ON FILE
BIDOT RIVERA, CARMEN H                  ADDRESS ON FILE
BIDOT ROMAN, MARIA V                    ADDRESS ON FILE
BIDOT SAN ANTONIO, MARIA                ADDRESS ON FILE
BIDOT SIERRA, SORILEANA                 ADDRESS ON FILE
BIELLO GARCIA, CHRISTOPHER              ADDRESS ON FILE
BIELLO GARCIA, MICHELLE                 ADDRESS ON FILE
BIEN EN CASA VIDA IND EN EL HOGAR INC   P O BOX 7736                                                                                                          SAN JUAN         PR      00916
BIENES MUEBLES SAN FRANCISCO INC        PO BOX 3065                                                                                                           MAYAGUEZ         PR      00681‐3065
BIENES NIEVES INC.                      PO BOX 2580                                                                                                           GUAYAMA          PR      00785
BIENES RIVERA GONZALEZ INC.             HC‐01 BOX 3145, BO. QUEBRADA GRANDE                                                                                   BARRANQUITAS     PR      00794
BIENES RIVERA GONZALEZ, INC.            HC ‐ 01 BOX 3145                                                                                                      BARRANQUITAS     PR      00794
BIENHECHO GROUP                         19 CALLE DUAERTE                      URB FLORAL PARK                                                                 SAN JUAN         PR      00917
BIENHECHO GROUP CORP                    COND WINSOR TOWERS                    410 CALLE DE DIEGO APT 611                                                      SAN JUAN         PR      00923‐3020
BIENHECHO GROUP CORP                    PO BOX 1498                                                                                                           GUAYNABO         PR      00970
BIENHECHO GROUP CORP                    PO BOX 9418                                                                                                           GUAYNABO         PR      00970
BIENVENIDA A JACKSON PEREZ              ADDRESS ON FILE
BIENVENIDA CARRASQUILLO                 ADDRESS ON FILE
Bienvenida Díaz Santiago                ADDRESS ON FILE
BIENVENIDA FELICIANO RIVERA             LCDO. JOSÉ R. RODRÍGUEZ RIVERA        PO BOX19236                                                                     SAN JUAN         PR      00910‐1236
BIENVENIDA MALDONADO ANDUJAR            ADDRESS ON FILE
BIENVENIDA MARTINEZ RAMOS               ADDRESS ON FILE
BIENVENIDA MOLINA GONZALEZ              ADDRESS ON FILE
BIENVENIDA MUNIZ VEGA                   ADDRESS ON FILE
BIENVENIDA QUINONEZ RAMOS               ADDRESS ON FILE
BIENVENIDA RAMOS PARRILLA               ADDRESS ON FILE
BIENVENIDA REYES MUNOZ                  ADDRESS ON FILE
BIENVENIDA RIVERA ROMAN                 ADDRESS ON FILE
BIENVENIDA SIMMONS MENDEZ               ADDRESS ON FILE
BIENVENIDA SOTO VAZQUEZ                 ADDRESS ON FILE
BIENVENIDA TORRES VARGAS                ADDRESS ON FILE
BIENVENIDA VELEZ                        ADDRESS ON FILE
BIENVENIDA VIDAL ALVIRA                 ADDRESS ON FILE
BIENVENIDO A PICHARDO RODRIGUEZ         ADDRESS ON FILE
BIENVENIDO ACANA RAMOS                  ADDRESS ON FILE
BIENVENIDO ACEVEDO PINERO               ADDRESS ON FILE
Bienvenido Agosto Marrero               ADDRESS ON FILE
BIENVENIDO AGOSTO RODRIGUEZ             ADDRESS ON FILE
BIENVENIDO AGOSTO ROSADO                ADDRESS ON FILE
BIENVENIDO ALDARONDO GONZALEZ           ADDRESS ON FILE
BIENVENIDO ALDARONDO GONZALEZ DBA       PO BOX 123 SAN ANTONIO                                                                                                AGUADILLA        PR      00690‐0000
BIENVENIDO ALVARADO LOPEZ               ADDRESS ON FILE
BIENVENIDO AQUINO, JOSELLY              ADDRESS ON FILE
BIENVENIDO ARCE LAGARES                 ADDRESS ON FILE
BIENVENIDO BURGOS LUGO                  ADDRESS ON FILE
BIENVENIDO CHEVERE CHEVERE              ADDRESS ON FILE
BIENVENIDO CORDOVA OQUENDO              ADDRESS ON FILE
BIENVENIDO CRUHIGGER ALVAREZ            ADDRESS ON FILE
BIENVENIDO CUEVAS MALDONADO             ADDRESS ON FILE




                                                                                                           Page 883 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 884 of 3500
                                                                                          Creditor Matrix

Creditor Name                             Address1                   Address2                          Address3   Address4   City          State   PostalCode   Country
BIENVENIDO CUEVAS MALDONADO               ADDRESS ON FILE
BIENVENIDO DAVIS                          ADDRESS ON FILE
BIENVENIDO DIAZ SANTANA                   ADDRESS ON FILE
BIENVENIDO DROIN                          ADDRESS ON FILE
BIENVENIDO FRESSE GONZALEZ                ADDRESS ON FILE
BIENVENIDO GOMEZ MERCED                   ADDRESS ON FILE
BIENVENIDO GOMEZ MERCED                   ADDRESS ON FILE
BIENVENIDO J ABREU MARTINEZ               ADDRESS ON FILE
BIENVENIDO JUARBE QUINONES                ADDRESS ON FILE
BIENVENIDO LUGO LUGO                      ADDRESS ON FILE
BIENVENIDO MARRERO ORTIZ                  ADDRESS ON FILE
BIENVENIDO MENDEZ SOTO                    ADDRESS ON FILE
BIENVENIDO MERCADO ROSARIO                ADDRESS ON FILE
BIENVENIDO MONGE RIVERA                   ADDRESS ON FILE
BIENVENIDO MONGE VARGAS                   ADDRESS ON FILE
BIENVENIDO NAZARIO VIERA                  ADDRESS ON FILE
BIENVENIDO NIEVES                         ADDRESS ON FILE
BIENVENIDO NOVOA NATAL                    ADDRESS ON FILE
BIENVENIDO PEREZ DIAZ                     ADDRESS ON FILE
BIENVENIDO RAMOS RAMOS                    ADDRESS ON FILE
BIENVENIDO RIVERA RIVERA                  ADDRESS ON FILE
BIENVENIDO RIVERA RODRIGUEZ               ADDRESS ON FILE
BIENVENIDO RODRIGUEZ JUARBE               ADDRESS ON FILE
BIENVENIDO RODRIGUEZ JUSTINIANO           ADDRESS ON FILE
BIENVENIDO TORRES TORRES                  ADDRESS ON FILE
BIENVENIDO VALENTIN RAMOS                 ADDRESS ON FILE
BIENVENIDO VILLANUEVA LOPEZ               ADDRESS ON FILE
BIERD BERMUDEZ, JUAN                      ADDRESS ON FILE
BIERD BIERD, GLADYS                       ADDRESS ON FILE
BIERD RIVERA, AXEL B                      ADDRESS ON FILE
BIERD RIVERA, ERIC G.                     ADDRESS ON FILE
BIEVENIDO RODRIGUEZ LOPEZ                 ADDRESS ON FILE
BIFREDO BALLESTER RUIZ                    ADDRESS ON FILE
BIG D LLC                                 PO BOX 16713                                                                       SAN JUAN      PR      00908
BIG DEAL EXTERMINATING                    PMB 259., BOX 70344                                                                SAN JUAN      PR      00936‐8344
BIG DOG HIGH SPEED INTERNET BIG DOG SATEL 1310 YELLOWSTONE AVE                                                               POCATELLO     ID      83201
BIG DOG SATELLITE                         3413 AVE HOSTOS Y AEROLA                                                           PONCE         PR      00717
BIG EAGLE SECURITY SERVICES I             PO BOX 6777                                                                        BAYAMON       PR      00960
BIG KMART                                 RIO HONDO PLAZA                                                                    SAN JUAN      PR      00959
BIG PRINT SOLUTIONS                       PO BOX 468                                                                         AGUIRRE       PR      00704
BIG RADS CSP                              PO BOX 3199                                                                        BAYAMON       PR      00960
BIG RIVER SERVICE STATION                 URB DORADO DEL MAR F 10    CALLE MADRE PERLA                                       DORADO        PR      00646
BIG ROCK GENERAL CONTRACTORS INC          PO BOX 758                                                                         RINCON        PR      00677‐0758
BIGAS AYALA, AUREA                        ADDRESS ON FILE
BIGAS AYALA, NILSA                        ADDRESS ON FILE
BIGAS AYALA, THELMA                       ADDRESS ON FILE
BIGAS FIGUEROA, DIEGO                     ADDRESS ON FILE
BIGAS FIGUEROA, NELSON                    ADDRESS ON FILE
BIGAS GONZALEZ, MICHAEL                   ADDRESS ON FILE
BIGAS HERNANDEZ, JAN                      ADDRESS ON FILE
BIGAS KENNERLEY, ANA M.                   ADDRESS ON FILE
BIGAS MELENDEZ, IRZA M                    ADDRESS ON FILE
BIGAS QUINONES, EDELINE                   ADDRESS ON FILE
BIGAS TORRACA, FRANCISCO J.               ADDRESS ON FILE
BIGAS TORRACA, GRACE M                    ADDRESS ON FILE
BIGAS VEGA, YAMIL                         ADDRESS ON FILE
BIGAS, JUAN RAFAEL                        ADDRESS ON FILE
BIGAY RIVERA, CARLOS                      ADDRESS ON FILE
BIGIO ALAMO, JOSE                         ADDRESS ON FILE
BIGIO BENITEZ, BETZAIDA                   ADDRESS ON FILE




                                                                                         Page 884 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 885 of 3500
                                                                                       Creditor Matrix

Creditor Name                   Address1                  Address2                                  Address3   Address4   City          State   PostalCode   Country
BIGIO BENITEZ, GLENDA Y         ADDRESS ON FILE
BIGIO BENITEZ, GLENDA Y         ADDRESS ON FILE
BIGIO BENITEZ, MARIA INES       ADDRESS ON FILE
BIGIO BORRERO, ZULYBETH         ADDRESS ON FILE
BIGIO CARRASQUILLO, KERMITH     ADDRESS ON FILE
BIGIO COTTO, CARMEN D           ADDRESS ON FILE
BIGIO CRUZ, IVETTE              ADDRESS ON FILE
BIGIO DIAZ, MARIA D             ADDRESS ON FILE
BIGIO DIAZ,MARIA                ADDRESS ON FILE
BIGIO LAW OFFICE PSC            URB LA CUMBRE             273 CALLE SIERRA MORENA PMB 112                                 SAN JUAN      PR      00926‐5575
BIGIO MELO, ARCADIO             ADDRESS ON FILE
BIGIO MURIEL, IDEL              ADDRESS ON FILE
BIGIO MURIEL, MANUEL            ADDRESS ON FILE
BIGIO OTERO, BETZAIDA           ADDRESS ON FILE
BIGIO RAMOS, DAMIAN             ADDRESS ON FILE
BIGIO RAMOS, EDNA               ADDRESS ON FILE
BIGIO RAMOS, JUAN               ADDRESS ON FILE
BIGIO ROMERO, GLADYS            ADDRESS ON FILE
BIGIO ROMERO, JOSE M.           ADDRESS ON FILE
BIGIO ROMERO, YOLANDA           ADDRESS ON FILE
BIGIO SAN MIGUEL, CARLOS        ADDRESS ON FILE
Bigio Santiago, Enrique         ADDRESS ON FILE
BIGIO VILLEGAS, CARMELO         ADDRESS ON FILE
BIGIOS TOWING SERVICES          PO BOX 716                                                                                GURABO        PR      00778
BIGOTT VELAZQUEZ, LUISA I       ADDRESS ON FILE
BIKER BOYS & GIRLS INC          URB SANTA CRUZ            C 21 CALLE MARGINAL                                             BAYAMON       PR      00961
BILBAO ORTIZ, PEDRO             ADDRESS ON FILE
BILBAO, PEDRO                   ADDRESS ON FILE
BILBRAUT COLON, LUIS G.         ADDRESS ON FILE
BILBRAUT CRUZ, EFRAIN           ADDRESS ON FILE
BILBRAUT GEIGEL, FELICITA       ADDRESS ON FILE
BILBRAUT MARTINEZ, LUZZETTE     ADDRESS ON FILE
BILBRAUT MONTANEZ, JOSE A       ADDRESS ON FILE
BILBRAUT MONTANEZ, NATASHA      ADDRESS ON FILE
BILBRAUT MONTANEZ, NATASHA      ADDRESS ON FILE
BILBRAUT NIEVES, LUCEIDA        ADDRESS ON FILE
BILBRAUT PIRELA, NESTOR RUBEN   ADDRESS ON FILE
BILBRAUT RAMOS, JULIO C.        ADDRESS ON FILE
BILBRAUT RAMOS, MARIA M         ADDRESS ON FILE
BILBRAUT RIVERA, ALBERTO        ADDRESS ON FILE
BILBRAUT RIVERA, ALBERTO J      ADDRESS ON FILE
BILBRAUT RIVERA, MIRELYS        ADDRESS ON FILE
Bilbraut Rivera, Pablo          ADDRESS ON FILE
BILBRAUT SANCHEZ, CARMEN M      ADDRESS ON FILE
BILBRAUT TRANSMISSIONS          VILLAS DE LOIZA           AB 9 CALLE 25                                                   CANOVANAS     PR      00729
BILL A COLON CRUZ               ADDRESS ON FILE
BILL COLON ZAYAS                ADDRESS ON FILE
BILL MARTINEZ PATINO            ADDRESS ON FILE
BILL N ZAFIROPOULOS LUGO        ADDRESS ON FILE
BILL ORTIZ CRUZ                 ADDRESS ON FILE
BILL ORTIZ VEGA                 ADDRESS ON FILE
BILL PARKER SALES & ENGIN       ADDRESS ON FILE
BILLARES DEL CARIBE             ADDRESS ON FILE
BILLIE J ROSARIO DE JESUS       ADDRESS ON FILE
BILLINGS CLINIC                 MEDICAL RECORDS           PO BOX 31598                                                    BILLINGS      MT      59102
BILLIP DE LEON, BRIGETTE        ADDRESS ON FILE
BILLOCH CASTANERA, WANDA R      ADDRESS ON FILE
BILLOCH COLON, DAMARIS I.       ADDRESS ON FILE
BILLOCH ENRIQUEZ, LUIS          ADDRESS ON FILE
BILLOCH VAZQUEZ, AMANDA         ADDRESS ON FILE




                                                                                     Page 885 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 886 of 3500
                                                                                                          Creditor Matrix

Creditor Name                           Address1                          Address2                                     Address3   Address4   City             State   PostalCode   Country
BILLOCH VEGA, ANGEL                     ADDRESS ON FILE
BILLS KITCHEN INC                       AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                          SAN JUAN         PR      00902‐4140
BILLY ALVAREZ RAMOS                     ADDRESS ON FILE
BILLY AUTO REPAIR                       P O BOX 54                                                                                           ANASCO           PR      00610
BILLY BROWN MANAGEMENT CONSULTING LLC   16854 SE 96TH CHAPELWOOD CIRCLE                                                                      THE VILLAGES     FL      32162
BILLY D MALDONADO CANCEL                ADDRESS ON FILE
BILLY FELICIANO VALENTIN                ADDRESS ON FILE
BILLY GALARZA ALBINO                    ADDRESS ON FILE
BILLY GONZALEZ RIVERA                   ADDRESS ON FILE
BILLY J COTTY SANTIAGO                  ADDRESS ON FILE
BILLY J ROQUE COLON                     ADDRESS ON FILE
BILLY J VAZQUEZ DE LEON                 ADDRESS ON FILE
BILLY MENDEZ DELGADO                    ADDRESS ON FILE
BILLY MORALES VALLE                     ADDRESS ON FILE
BILLY PAGAN RIVERA                      ADDRESS ON FILE
BILLY RIVERA SAN MIGUEL                 ADDRESS ON FILE
BILLY TEXIDOR ROSADO                    ADDRESS ON FILE
BIM CONTRACTORS, LLC                    PO BOX 906                                                                                           GUAYNABO         PR      00970
BIMARIE CRUZ GANDIA                     ADDRESS ON FILE
BIMBELA QUINONES, CHARLES               ADDRESS ON FILE
BIN I A V LLC                           PO BOX 431                                                                                           HUMACAO          PR      00792‐0431
BINDA SANTIAGO CORTES                   ADDRESS ON FILE
BINDA SANTIAGO CORTES                   ADDRESS ON FILE
BINET GUERRERO, SUZETTE                 ADDRESS ON FILE
BINET GUERRERO, TOMAS                   ADDRESS ON FILE
BINET LEON, LUIS                        ADDRESS ON FILE
BINET MIESES, MARIANA                   ADDRESS ON FILE
BINET MOREU, ZAHIRA L                   ADDRESS ON FILE
BINET ROBLES, PAUL                      ADDRESS ON FILE
BINET ZAPATA, ALFREDO                   ADDRESS ON FILE
BINGS JIMENEZ, FRANCIS                  ADDRESS ON FILE
BINI DEL VALLE, ANTHONY                 ADDRESS ON FILE
BINUI RODRIGUEZ                         ADDRESS ON FILE
BIO LAB COMPANY INC                     PO BOX 2006                                                                                          BAYAMON          PR      00960‐2006
BIO MED PLUS, INC.                      6855 SW 81 STREET                                                                                    MIAMI            FL      33143‐0000
BIO MEDICAL APPL AGUADILLA              1050 AVE CORAZONES SUITE 101                                                                         MAYAGUEZ         PR      00680
BIO MEDICAL APPLICATIONS OF ARECIBO     ADDRESS ON FILE
BIO MEDICAL APPLICATIONS OF PR          CALLE FRANCIA #461                                                                                   SAN JUAN         PR      00917
BIO NUCLEAR OF P R INC                  BO PALMAS ROYAL IND PARK          CARR 869 KM1 5 EDIF L 2                                            CATAÐO           PR      00962
BIO NUCLEAR OF P R INC                  BO PALMAS ROYAL IND PARK          CARR 869 KM1 5 EDIF L 2                                            CATANO           PR      00962
BIO PHARMA COOP                         10000 AVE 65TH INFANTERIA         SUITE 204                                                          CAROLINA         PR      00985‐5615
BIO RAD LABORATORIES                    CLINICAL DIAGNOSTICS DIVISION     DEPT. 9740                                                         LOS ANGELES      CA      90084‐9740
BIO SYSTEMS                             P O BOX 416                                                                                          MERCEDITA        PR      00715
BIO SYSTEMS INTERNATIONAL INC           PO BOX 416                                                                                           PONCE            PR      00715‐0416
BIO TECH MED CORP                       P O BOX 497                                                                                          SAN GERMAN       PR      00683
BIOANALYTICAL INSTRUMENTS INC           PO BOX 270021                                                                                        SAN JUAN         PR      00927‐0021
BIOBAY INC                              PO BOX 1526                                                                                          VIEQUES          PR      00765‐1526
BIOBAY INC DBA ISLAND ADVENTURAS        P O BOX 1526                                                                                         VIEQUEZ          PR      00765
BIOGREEN ENVIROMENTAL SOLUTIONS         PO.BOX 143834                                                                                        ARECIBO          PR      00614
BIOGREEN ENVIRONMENTAL SOLUTIONS INC    PO BOX 143834                                                                                        ARECIBO          PR      00614
BIOIMAGENES MEDICAS                     351 AVE HOSTOS                    EDIF MEDICAL EMPORIUM STE 110                                      MAYAGUEZ         PR      00682
BIOIMAGENES MEDICAS C S P               PO BOX 876                                                                                           MAYAGUEZ         PR      00681
BIOMARIS MEDINA RIVERA                  ADDRESS ON FILE
BIOMEDIC SYSTEMS INC                    RR 9 BOX 1621 B                                                                                      SAN JUAN         PR      00926
BIOMEDICAL TECHNICAL SERVICES INC       URB LAS ALONDRAS                  B 32 CALLE 5                                                       VILLALBA         PR      00766
BIOMEDICAL V I P INC                    HC 01 BOX 6159                                                                                       GUAYNABO         PR      00971
BIOMEDTECH                              PMB 280                           200 AVE RAFAEL CORDERO SUITE 140                                   CAGUAS           PR      00725
BIOMET ORTHOPEDICS INC PR               P O BOX 363926                                                                                       SAN JUAN         PR      00936‐3926
BIOMET ORTHOPEDICS INC. PR              PO BOX 366926                                                                                        SAN JUAN         PR      00936‐3926
BIO‐NUCLEAR OF PUERTO RICO , INC.       P. O. BOX 190639                                                                                     SAN JUAN         PR      00919‐0639




                                                                                                      Page 886 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 887 of 3500
                                                                                          Creditor Matrix

Creditor Name                             Address1                           Address2                  Address3   Address4   City           State   PostalCode   Country
BIO‐QUIP PRODUCTS                         17803 LA SALLE AVENUE                                                              GARDENA        CA      90248‐3602
BIO‐SYSTEMS INTERNATIONAL INC.            P. O. BOX 416 MERCEDITA                                                            PONCE          PR      00715‐0416
BIO‐TECH MED CORP.                        P.O. BOX 497                                                                       SAN GERMAN     PR      00683
BIOTECHNICAL ENVIRONMENT SERVICES         CUC STATION                                                                        CAYEY          PR      00737
BIOTECHNICAL ENVIRONMENT SERVICES         PMB 293 P. O. BOX 70344                                                            SAN JUAN       PR      00936‐8344
BIOTRONIC INTERNATIONAL LLC               867 AVE MUNOZ RIVERA SUITE D 203                                                   SAN JUAN       PR      00925
BIRD ABOY, ANTONIO                        ADDRESS ON FILE
BIRD AGOSTO, CARLOS                       ADDRESS ON FILE
BIRD ARIZMENDI, VANESSA                   ADDRESS ON FILE
BIRD BIRD HESTRES PSC                     Condominio Gallardo 301            Suite 202                                       San Juan       PR      00902
BIRD BIRD HESTRES PSC                     PO BOX 366804                                                                      SAN JUAN       PR      00936‐6804
BIRD BIRD HESTRES PSC                     PO BOX 9024040                                                                     SAN JUAN       PR      00902‐4040
BIRD CANALS, AIDA                         ADDRESS ON FILE
BIRD CANALS, LILLIAN                      ADDRESS ON FILE
BIRD COLLADO, MELISSA                     ADDRESS ON FILE
BIRD COMMUNICATIONS INC                   PMB 315 B 5 TABONUCO ST                                                            GUAYNABO       PR      00968‐3003
BIRD CONSTRUCTION CO INC                  PO BOX 364202                                                                      SAN JUAN       PR      00936‐4202
BIRD ESTRADA, MILCA'H                     ADDRESS ON FILE
BIRD EXCLUSION SYSTEMS / ROBERTO RIVERA   PO BOX 7716                                                                        CANOVANAS      PR      00729
BIRD EXCLUSION SYSTEMS INC                HC 4 BOX 7716                                                                      CANOVANAS      PR      00729‐9717
BIRD JIMENEZ, ADA                         ADDRESS ON FILE
BIRD JIMENEZ, JOSE E                      ADDRESS ON FILE
BIRD JOVE, ALEXIS J                       ADDRESS ON FILE
BIRD JOVE, TAMARA                         ADDRESS ON FILE
BIRD MELENDEZ, RICHARD                    ADDRESS ON FILE
BIRD ROSADO, HECTOR R.                    ADDRESS ON FILE
BIRD TRILLA MD, JOSE M                    ADDRESS ON FILE
BIRIEL SERRANO, ROSANNA                   ADDRESS ON FILE
BIRIEL,GADIEL                             ADDRESS ON FILE
BIRINGER FIGUEROA, MELANIE A              ADDRESS ON FILE
BIRLA RAMOS PAGAN                         ADDRESS ON FILE
BIRMANIA M GARCIA Y/O LUIS A RODRIGUEZ    ADDRESS ON FILE
BIROLA CABAN, MELVIN                      ADDRESS ON FILE
BIRRIEL ACOSTA, ANGEL                     ADDRESS ON FILE
BIRRIEL ALICEA, MICHAEL A                 ADDRESS ON FILE
BIRRIEL ALONSO, MANUEL                    ADDRESS ON FILE
BIRRIEL ARISTUD, YOMARIE                  ADDRESS ON FILE
BIRRIEL ARRIAGA, MARITZA                  ADDRESS ON FILE
BIRRIEL ARRIAGA, MIGUEL                   ADDRESS ON FILE
BIRRIEL ARRUFAT, ROBERTO                  ADDRESS ON FILE
BIRRIEL BENITEZ, SARAI                    ADDRESS ON FILE
BIRRIEL BIRRIEL, ALFREDO                  ADDRESS ON FILE
BIRRIEL CACERES, NORA I                   ADDRESS ON FILE
BIRRIEL CALDERON, CARLOS                  ADDRESS ON FILE
BIRRIEL CALDERON, JESUS M                 ADDRESS ON FILE
BIRRIEL CALO, EDGARDO                     ADDRESS ON FILE
BIRRIEL CALO, MARITZA                     ADDRESS ON FILE
BIRRIEL CALO, WILLIAM                     ADDRESS ON FILE
BIRRIEL CARDONA, OLGA                     ADDRESS ON FILE
BIRRIEL CARRASQUILLO, ANA I               ADDRESS ON FILE
BIRRIEL CARRASQUILLO, OMAR                ADDRESS ON FILE
BIRRIEL CARRION, AGUSTIN                  ADDRESS ON FILE
BIRRIEL CHICLANA, FRANCISCO J             ADDRESS ON FILE
BIRRIEL CHRISTIAN, GUSTAVO                ADDRESS ON FILE
BIRRIEL CLAUDIO, CARLOS                   ADDRESS ON FILE
BIRRIEL CONDE, ALEXANDER                  ADDRESS ON FILE
BIRRIEL DAVILA, CARMEN M                  ADDRESS ON FILE
BIRRIEL DIAZ, ANGEL                       ADDRESS ON FILE
BIRRIEL DIAZ, LUIS                        ADDRESS ON FILE
BIRRIEL DIAZ, LYDIA                       ADDRESS ON FILE




                                                                                         Page 887 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 888 of 3500
                                                                              Creditor Matrix

Creditor Name                  Address1                  Address2                          Address3   Address4   City        State   PostalCode   Country
BIRRIEL DIAZ, LYDIA            ADDRESS ON FILE
BIRRIEL DIEPPA, LISANDRA       ADDRESS ON FILE
BIRRIEL ESTRADA, WALESKA       ADDRESS ON FILE
BIRRIEL FERNANDEZ, MARIA M     ADDRESS ON FILE
BIRRIEL FERNANDEZ, WANDA       ADDRESS ON FILE
BIRRIEL FIGUEROA, ERIKA        ADDRESS ON FILE
BIRRIEL FIGUEROA, VANESSA      ADDRESS ON FILE
BIRRIEL GARCIA, LUIS           ADDRESS ON FILE
BIRRIEL GARCIA, MERCEDES M     ADDRESS ON FILE
BIRRIEL GONZALEZ, CARMEN J.    ADDRESS ON FILE
BIRRIEL GONZALEZ, MADELINE     ADDRESS ON FILE
BIRRIEL GONZALEZ, NILDA I.     ADDRESS ON FILE
BIRRIEL GUADALUPE, GLENDA M    ADDRESS ON FILE
Birriel Guerra, Jose D         ADDRESS ON FILE
BIRRIEL IBARRA, CATHERINE      ADDRESS ON FILE
BIRRIEL IZQUIERDO, NAYDA       ADDRESS ON FILE
BIRRIEL IZQUIERDO, ROBER       ADDRESS ON FILE
BIRRIEL LOPEZ, OLGA            ADDRESS ON FILE
BIRRIEL MATOS, HECTOR          ADDRESS ON FILE
BIRRIEL MATOS, HECTOR          ADDRESS ON FILE
BIRRIEL MELENDEZ, RUBEN        ADDRESS ON FILE
BIRRIEL MILLAN, LEONARDO L     ADDRESS ON FILE
BIRRIEL OSORIO, SHIRLEY        ADDRESS ON FILE
BIRRIEL OSORIO, SHIRLEY N.     ADDRESS ON FILE
Birriel Pena, Gadiel           ADDRESS ON FILE
BIRRIEL PENA, GADIEL           ADDRESS ON FILE
BIRRIEL PENA, JOSE E           ADDRESS ON FILE
BIRRIEL RAMOS, ISMAEL          ADDRESS ON FILE
BIRRIEL RAMOS, JESUS M.        ADDRESS ON FILE
BIRRIEL RAMOS, TERESA          ADDRESS ON FILE
BIRRIEL RIVERA, MARIA J        ADDRESS ON FILE
BIRRIEL RIVERA, MARLENE        ADDRESS ON FILE
BIRRIEL RODRIGUEZ, AIDA L      ADDRESS ON FILE
BIRRIEL RODRIGUEZ, ANGEL       ADDRESS ON FILE
BIRRIEL RODRIGUEZ, CARMEN E    ADDRESS ON FILE
BIRRIEL RODRIGUEZ, VICTOR      ADDRESS ON FILE
BIRRIEL ROSARIO, MARIA T       ADDRESS ON FILE
BIRRIEL RUIZ, MELISSA          ADDRESS ON FILE
BIRRIEL SANCHEZ, CECILIA       ADDRESS ON FILE
BIRRIEL SERRANO, DEBORAH       ADDRESS ON FILE
BIRRIEL SERRANO, MARIANGELIS   ADDRESS ON FILE
BIRRIEL SERRANO, ROSANNA       ADDRESS ON FILE
BIRRIEL SUAREZ, AZIRIA         ADDRESS ON FILE
BIRRIEL TELLEZ, CARMEN M       ADDRESS ON FILE
BIRRIEL TIRADO, XAVIER         ADDRESS ON FILE
BIRRIEL TRUJILLO, EDGAR        ADDRESS ON FILE
BIRRIEL URDAZ, NURI            ADDRESS ON FILE
BIRRIEL VEGA, KERY L           ADDRESS ON FILE
BIRRIEL VEGA, YARITZA          ADDRESS ON FILE
BIRRIEL VERGES, CARLOS         ADDRESS ON FILE
BIRRIEL VERGES, CARLOS         ADDRESS ON FILE
BIRRIEL VERGES, DESIRRE        ADDRESS ON FILE
BIRRIEL, JUAN                  ADDRESS ON FILE
BIS TRANSPORTATION SERVICES    BO GUAVATE                21627 SECT APONTE                                       CAYEY       PR      00736‐9411
BISBAL BULTRON, ANTONIO L.     ADDRESS ON FILE
BISBAL BULTRON, RAFAEL         ADDRESS ON FILE
BISBAL GAUD, AMERICA           ADDRESS ON FILE
BISBAL MARTELL, PEDRO          ADDRESS ON FILE
BISBAL MELERO, MAYELA          ADDRESS ON FILE
BISBAL MELERO, VICTOR          ADDRESS ON FILE




                                                                             Page 888 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 889 of 3500
                                                                                                                      Creditor Matrix

Creditor Name                        Address1                                          Address2                                    Address3   Address4   City         State   PostalCode   Country
BISBAL MORALES, JADIRA               ADDRESS ON FILE
BISBAL MORENO, ROSALLY N             ADDRESS ON FILE
BISBAL RAMOS, FRANCISCO              ADDRESS ON FILE
BISBAL RIVERA, EVELYN                ADDRESS ON FILE
BISBAL SANTIAGO, AILEEN M            ADDRESS ON FILE
BISBAL TORRES, FRANK                 ADDRESS ON FILE
Bisbal Torres, Israel                ADDRESS ON FILE
BISCOE MD , KERI L                   ADDRESS ON FILE
BISHOP YATES, ERIC                   ADDRESS ON FILE
BISK EDUCATION INC                   9417 PRINCESS PALM AVE 400                                                                                          TAMPA        FL      33619
BISMAEL VEGA MARTINEZ                ADDRESS ON FILE
BISMARK PENA ORTIZ                   ADDRESS ON FILE
BISMARK R FERNANDEZ TAVAREZ          ADDRESS ON FILE
BISMARK R FERNANDEZ TAVAREZ          ADDRESS ON FILE
BISMARK R PENA                       ADDRESS ON FILE
BISMARK R. FERNANDEZ TAVAREZ         ADDRESS ON FILE
BISONO RODRIGUEZ MD, PABLO R         ADDRESS ON FILE
BISOT APONTE, CARLOS                 ADDRESS ON FILE
BISOT MANZANO, ELISA                 ADDRESS ON FILE
BISSLICK VALENTIN, JOZEF             ADDRESS ON FILE
BISSLIK VALENTIN, LOUISA             ADDRESS ON FILE
BISSLIK VALENTIN, NATASCHA M.        ADDRESS ON FILE
BITA' S FUEL CORP                    243 CALLE PARIS                                   PMB 1778                                                          SAN JUAN     PR      00917
BITHORN ESCALET, HELGA               ADDRESS ON FILE
BITHORN REYES, ARNALDO               ADDRESS ON FILE
BITHORN REYES, EILEEN                ADDRESS ON FILE
BITHORN TORRENS, EVANGELINE          ADDRESS ON FILE
BITHORN TORRENS, EVANGELINE J        ADDRESS ON FILE
BITHORN TORRENS, JOHN                ADDRESS ON FILE
BITTMAN DIEZ, BALDO                  ADDRESS ON FILE
BITTMAN DIEZ, CARL X.                ADDRESS ON FILE
BITTMAN DIEZ, SARAH                  ADDRESS ON FILE
BIVA BROADCASTING INTERNET VIA AIR   PO BOX 11878                                                                                                        SAN JUAN     PR      00910‐3878
BIXTER & ASSOCIATES INC              1606 PONCE DE LEON AVE                            SUITE 402                                                         SAN JUAN     PR      00909
BIYING NG                            CUIDAD JARDIN                                     265 CALLE TRINITARIA                                              CAROLINA     PR      00987
BIZAMA ANDRADE, YOLLY E              ADDRESS ON FILE
Bizardi Morey, Felipe                ADDRESS ON FILE
BIZARDI PEREZ, RUBEN                 ADDRESS ON FILE
BIZHAMOV, VITALY                     ADDRESS ON FILE
BIZNET MEDIA INC                     1616 ANCHOR FUNDING PLAZA                         SUITE 3                                                           SAN JUAN     PR      00909‐1845
BJ FOOD SERVICE                      PASEO DEL MAR                                     71 CALLE VEREDA                                                   CAROLINA     PR      00987
BJN CONSTRUCTION, INC                HC 01 BOX 4912                                                                                                      NAGUABO      PR      00718‐9727
BK PROPERTIES SE                     1632 JESUS T PINERO AVE                                                                                             SAN JUAN     PR      00921‐1423
BLACINA TINEO PICHARDO               ADDRESS ON FILE
BLACITO PEREZ GARCIA                 ADDRESS ON FILE
BLACK BELT SPORT CENTER              PMB 122                                           1575 CALLE MUNOZ RIVERA                                           PONCE        PR      00717‐0211
BLACK BOX PUERTO RICO                125 CALLE ELEONOR ROOSEVELT                                                                                         SAN JUAN     PR      00918‐3106
BLACK BOX PUERTO RICO CORP           125 CALLE ELEONOR ROOSEVELT                                                                                         SAN JUAN     PR      00918‐3106
BLACK BOX PUERTO RICO CORP           URB EL VEDADO                                     125 CALLE ELEONOR ROOSEVELT                                       SAN JUAN     PR      00918‐3106
BLACK INK INC                        66 CALLE MARIA MOCZO                                                                                                SAN JUAN     PR      00911
BLACK MOUNTAIN CONSULTING LLC        URB LOS VERSALLES                                 2044 CALLE LUIS XIV                                               MAYAGUEZ     PR      00682‐7839
BLACK SWAN, INC                      HC 03 BOX 6750                                                                                                      RINCON       PR      00677
BLACK, HECTOR                        ADDRESS ON FILE
BLACKBURN CABRERA, JAN ANDRE         ADDRESS ON FILE
BLACKBURN MORENO, MARQUERITE         ADDRESS ON FILE
BLACKHORSE CONSTRUCTION CORP         PO BOX 9300316                                                                                                      SAN JUAN     PR      00930‐0316
BLACKMAN PEROCIER, ANNETTE A         ADDRESS ON FILE
BLACKMAN PEROCIER, HUGH E.J.         ADDRESS ON FILE
BLACKSHIELD INDEMNITY, I.I.          c/o Pinnacle Actuarial Resources, Inc., Actuary   802 Fernandez Juncos Avenue                                       San juan     PR      00907
BLACKSHIELD INDEMNITY, I.I.          c/o RSM Puerto Rico, External Auditor             802 Fernandez Juncos Avenue                                       San juan     PR      00907




                                                                                                                     Page 889 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 890 of 3500
                                                                                                                    Creditor Matrix

Creditor Name                        Address1                                        Address2                                    Address3   Address4   City            State   PostalCode   Country
BLACKSHIELD INDEMNITY, I.I.          c/o Servicios de Apoyo Miramar, Principal Repres802 Fernandez Juncos Avenue                                       San juan        PR      00907
BLACKSHIELD INDEMNITY, I.I.
BLADIMARIE BERMUDEZ VEGA             ADDRESS ON FILE
BLADIMIR DIAZ NIEVES                 LCDO. JAIME GONZÁLEZ MALDONADO                PO BOX 777                                                          ARECIBO         PR      00613
BLADIMIR TORRES MORALES              ADDRESS ON FILE
BLADIRMIR TORRES MORALES             ADDRESS ON FILE
BLADUELL TORRES, MARIA               ADDRESS ON FILE
BLADUELL VIERA, GUSTAVO A            ADDRESS ON FILE
BLAIN LEON, JULIO CESAR              ADDRESS ON FILE
BLAINE EUGENE WEST                   ADDRESS ON FILE
BLAIOTTA MEDINA, NORMAN              ADDRESS ON FILE
BLAIOTTA MEDINA, NORMAN              ADDRESS ON FILE
BLAIR W MARKHAM                      ADDRESS ON FILE
BLAIS MEDINA, JOHN                   ADDRESS ON FILE
BLAKE JIMENEZ, DEBORAH A             ADDRESS ON FILE
BLAKE JIMENEZ, JULIANNA              ADDRESS ON FILE
BLAKE TORRES, CANDICE                ADDRESS ON FILE
BLAKE, LORRIE                        ADDRESS ON FILE
BLAKE, SHIANE                        ADDRESS ON FILE
BLAKELEY RAMIREZ, WILLIAM DAVID II   ADDRESS ON FILE
Blakely Flores, Waldemar             ADDRESS ON FILE
BLAKEMAN ORTIZ, JOHN S.              ADDRESS ON FILE
BLAKEMAN TRUJILLO, JOHN P            ADDRESS ON FILE
BLAKEROSARIO, JASMIN                 ADDRESS ON FILE
Blanc Acevedo, Angelina              ADDRESS ON FILE
BLANC ACEVEDO, MANUEL                ADDRESS ON FILE
BLANC COLON, ELMAVELIZ               ADDRESS ON FILE
BLANC COLON, IRMADALID               ADDRESS ON FILE
BLANCA A MORALES CRUZ                ADDRESS ON FILE
BLANCA A RAMOS FUMERO                ADDRESS ON FILE
BLANCA A RIVERA FEBLES               ADDRESS ON FILE
BLANCA A RIVERA FEBLES               ADDRESS ON FILE
BLANCA ABREU BURGOS                  ADDRESS ON FILE
BLANCA ACEVEDO CARTAGENA             ADDRESS ON FILE
BLANCA AGOSTO RIVERA                 ADDRESS ON FILE
BLANCA ALVAREZ RAMIREZ               ADDRESS ON FILE
BLANCA ARRIETA                       ADDRESS ON FILE
BLANCA AYALA MONTANEZ                ADDRESS ON FILE
BLANCA BENITEZ LABCONCO CORP         8811 PROSPECT AVE                                                                                                 KANSAS CITY     MO      64132
BLANCA BURGOS COLON                  ADDRESS ON FILE
BLANCA COLON                         ADDRESS ON FILE
BLANCA COLON ANDREU                  ADDRESS ON FILE
BLANCA COLON CRUZ                    ADDRESS ON FILE
BLANCA CRUZ MARCANO                  ADDRESS ON FILE
BLANCA CRUZ URQUILLA                 ADDRESS ON FILE
BLANCA CUEVAS RAMOS                  ADDRESS ON FILE
BLANCA DE LEON RODRIGUEZ             ADDRESS ON FILE
BLANCA DEL VALLE                     ADDRESS ON FILE
BLANCA DIAZ LOPEZ                    ADDRESS ON FILE
BLANCA DIAZ MONTANEZ                 ADDRESS ON FILE
BLANCA DIAZ RIVERA                   ADDRESS ON FILE
BLANCA E AGRAIT LLADO                ADDRESS ON FILE
BLANCA E CHINEA CRUZ                 ADDRESS ON FILE
BLANCA E COLON RIVERA                ADDRESS ON FILE
BLANCA E LOPEZ RODRIGUEZ             ADDRESS ON FILE
BLANCA E MATOS MONTANEZ              ADDRESS ON FILE
BLANCA E MENDEZ PEREZ                ADDRESS ON FILE
BLANCA E PEREZ ROSADO                ADDRESS ON FILE
BLANCA E PLANAS COTTO                ADDRESS ON FILE
BLANCA E REYES ROLON                 ADDRESS ON FILE




                                                                                                                   Page 890 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 891 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                    Address2                      Address3   Address4    City         State   PostalCode   Country
BLANCA E RIVERA CABRERA            ADDRESS ON FILE
BLANCA E SANTIAGO                  ADDRESS ON FILE
BLANCA E SANTIAGO DEIDA            ADDRESS ON FILE
BLANCA E SOTO                      ADDRESS ON FILE
BLANCA E VAZQUEZ HENRIQUEZ         ADDRESS ON FILE
BLANCA E. REYES VERGARA            ADDRESS ON FILE
BLANCA E. RIVERA ALICEA            ADDRESS ON FILE
BLANCA ELBA MALDONADO ROMAN        MARIELLE RAMIREZ GONZALEZ   PO BOX 180                                           UTUADO       PR      00641
BLANCA ESPADA MUNOZ                ADDRESS ON FILE
BLANCA F RIESCO                    ADDRESS ON FILE
BLANCA FERNANDEZ, ANTONIO          ADDRESS ON FILE
BLANCA GARCIA SALGADO              ADDRESS ON FILE
Blanca Gonzalez Cordero            ADDRESS ON FILE
BLANCA GONZALEZ MARRERO            ADDRESS ON FILE
BLANCA GONZALEZ TORRES             ADDRESS ON FILE
BLANCA H RAMOS                     ADDRESS ON FILE
BLANCA H RAMOS                     ADDRESS ON FILE
BLANCA HERNANDEZ CUEVAS            ADDRESS ON FILE
BLANCA HERNANDEZ CUEVAS            ADDRESS ON FILE
BLANCA I ALBO AGOSTO               ADDRESS ON FILE
BLANCA I ALICEA MEDINA             ADDRESS ON FILE
BLANCA I ANDUJAR MARTINEZ          ADDRESS ON FILE
BLANCA I APONTE                    ADDRESS ON FILE
BLANCA I BAEZ ROMAN                ADDRESS ON FILE
BLANCA I BATISTA ROSARIO           ADDRESS ON FILE
BLANCA I BECERIL RODRIGUEZ         ADDRESS ON FILE
BLANCA I CARRASQUILLO SANTIAGO     ADDRESS ON FILE
BLANCA I COLLAZO COLLAZO           ADDRESS ON FILE
BLANCA I COLON RIOS                ADDRESS ON FILE
BLANCA I CORDERO HILERIO           ADDRESS ON FILE
BLANCA I CORDERO HILERIO           ADDRESS ON FILE
BLANCA I CORDERO RIOS              ADDRESS ON FILE
BLANCA I DE LEON SERRANO           ADDRESS ON FILE
BLANCA I DIAZ RIVERA               ADDRESS ON FILE
BLANCA I FERRER DAVILA             ADDRESS ON FILE
BLANCA I FIGUEROA ANDUJAR          ADDRESS ON FILE
BLANCA I HERRERA VELEZ             ADDRESS ON FILE
BLANCA I HUERTAS NEGRON            ADDRESS ON FILE
BLANCA I IRIZARRY SERRANO          ADDRESS ON FILE
BLANCA I JUARBE REYES              ADDRESS ON FILE
BLANCA I LOPEZ VAZQUEZ             ADDRESS ON FILE
BLANCA I LUGO / MANUEL A MORALES   ADDRESS ON FILE
BLANCA I MARRERO ROSARIO           ADDRESS ON FILE
BLANCA I MARTINEZ GUADALUPE        ADDRESS ON FILE
BLANCA I MARTINEZ PAGAN            ADDRESS ON FILE
BLANCA I MEDINA ACEVEDO            ADDRESS ON FILE
BLANCA I MONTANEZ GUTIERREZ        ADDRESS ON FILE
BLANCA I MORALES CARDONA           ADDRESS ON FILE
BLANCA I MUNIZ NIEVES              ADDRESS ON FILE
BLANCA I MUNOZ SOTO                ADDRESS ON FILE
BLANCA I OLMO ALDEA                ADDRESS ON FILE
BLANCA I OLMO SANCHEZ              ADDRESS ON FILE
BLANCA I ORTIZ ZAYAS               ADDRESS ON FILE
BLANCA I OTERO FORTIS              ADDRESS ON FILE
BLANCA I PENA COLON                ADDRESS ON FILE
BLANCA I PEREZ CORTES              ADDRESS ON FILE
BLANCA I PEREZ GONZALEZ            ADDRESS ON FILE
BLANCA I PEREZ RODRIGUEZ           ADDRESS ON FILE
BLANCA I POLANCO MU¥IZ             ADDRESS ON FILE
BLANCA I RAMOS DIAZ                ADDRESS ON FILE




                                                                               Page 891 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 892 of 3500
                                                                                                             Creditor Matrix

Creditor Name                          Address1                                 Address2                                  Address3            Address4   City            State   PostalCode   Country
BLANCA I RAMOS ROBLES                  ADDRESS ON FILE
BLANCA I RIVERA GONZALEZ               ADDRESS ON FILE
BLANCA I RIVERA REVERON                ADDRESS ON FILE
BLANCA I RIVERA ROMERO                 ADDRESS ON FILE
BLANCA I RIVERA RUIZ                   ADDRESS ON FILE
BLANCA I RIVERA SANCHEZ                ADDRESS ON FILE
BLANCA I RIVERA VALENTIN               ADDRESS ON FILE
BLANCA I ROBLES NARVAEZ                ADDRESS ON FILE
BLANCA I RODRIGUEZ ALEJANDRO           ADDRESS ON FILE
BLANCA I RODRIGUEZ MALDONADO           ADDRESS ON FILE
BLANCA I RODRIGUEZ RAMOS               ADDRESS ON FILE
BLANCA I RODRIGUEZ Y VICTOR M ALVEAR   ADDRESS ON FILE
BLANCA I RODRIGUEZ Y VICTOR M ALVEAR   ADDRESS ON FILE
BLANCA I ROMAN CORREA                  ADDRESS ON FILE
BLANCA I ROMAN RIVERA                  ADDRESS ON FILE
BLANCA I RUIZ GOMEZ                    ADDRESS ON FILE
BLANCA I SANCHEZ CORTES                ADDRESS ON FILE
BLANCA I SEPULVEDA RODRIGUEZ           ADDRESS ON FILE
BLANCA I TORRES MERCADO                ADDRESS ON FILE
BLANCA I VALENTIN VALENTIN             ADDRESS ON FILE
BLANCA I VAZQUEZ CRUZ                  ADDRESS ON FILE
BLANCA I VAZQUEZ GARCIA                ADDRESS ON FILE
BLANCA I VAZQUEZ MUNIZ                 ADDRESS ON FILE
BLANCA I VELAZQUEZ SERRANO             ADDRESS ON FILE
BLANCA I VERA VELAZQUEZ                ADDRESS ON FILE
BLANCA I VILLAFANE                     ADDRESS ON FILE
BLANCA I. CRUZ VALLE                   ADDRESS ON FILE
BLANCA I. FIGUEROA AGOSTO              ADDRESS ON FILE
BLANCA I. RIVERA ALVARADO              RAMON SEGARRA BERRIOS                    PO BOX 9023853                                                           SAN JUAN        PR      00902
BLANCA I. RODRIGUEZ AVILES             ADDRESS ON FILE
BLANCA I. VAZQUEZ COSME                ADDRESS ON FILE
BLANCA I. VERA ALVAREZ                 ADDRESS ON FILE
BLANCA I. VERA VELAZQUEZ               ADDRESS ON FILE
BLANCA IRIS DIAZ RAMOS                 ADDRESS ON FILE
BLANCA IRIS GONZALEZ FIGUEROA          LCDA. AMABEL M. ESCALERA RIVERA‐ABOGADA DPO BOX 70244                                                             SAN JUAN        PR      00936‐8244
BLANCA IRIS GONZALEZ FIGUEROA          LCDO. MOISÉS ABREU CORDERO‐ABOGADO DEM454 AVE. LUIS MUÑIZ SOUFFRONT                URB. LOS MAESTROS              RÍO PIEDRAS     PR      00923
BLANCA IRIS MALDONADO ROMAN            ADDRESS ON FILE
BLANCA IRIS NIEVES MUNIZ               ADDRESS ON FILE
BLANCA IRIS OTERO LOPEZ                ADDRESS ON FILE
BLANCA J MARTINEZ                      ADDRESS ON FILE
BLANCA J RIVERA SANCHEZ                ADDRESS ON FILE
BLANCA JIMENEZ LOPEZ                   ADDRESS ON FILE
BLANCA JIMENEZ SERRANO                 ADDRESS ON FILE
BLANCA L CABRET CASTRO                 ADDRESS ON FILE
BLANCA L CABRET CASTRO                 ADDRESS ON FILE
BLANCA L CEDENO QUINONES               ADDRESS ON FILE
BLANCA L MENDOZA CRUZ                  ADDRESS ON FILE
BLANCA L MERCADO MORALES               ADDRESS ON FILE
BLANCA L MERCADO MORALES               ADDRESS ON FILE
BLANCA L MUNOZ MALDONADO               ADDRESS ON FILE
BLANCA L. CARDONA VELEZ                ADDRESS ON FILE
BLANCA LARACUENTE QUINONES             ADDRESS ON FILE
BLANCA LOPEZ AGUDO                     ADDRESS ON FILE
BLANCA LOPEZ ARTURET                   ADDRESS ON FILE
BLANCA LOPEZ CACERES                   ADDRESS ON FILE
BLANCA LUGO NIEVES                     ADDRESS ON FILE
BLANCA LUZ MORALES RAMOS               ADDRESS ON FILE
BLANCA M DEL VALLE ORTIZ               ADDRESS ON FILE
BLANCA M FIGUEROA TORRES               ADDRESS ON FILE
BLANCA M FONT CASANAS                  ADDRESS ON FILE




                                                                                                         Page 892 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 893 of 3500
                                                                                       Creditor Matrix

Creditor Name                             Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BLANCA M GONZALEZ GELABERT                ADDRESS ON FILE
BLANCA M MALDONADO ORTIZ                  ADDRESS ON FILE
BLANCA M MEDINA DIAZ                      ADDRESS ON FILE
BLANCA M OCANA SERRANO                    ADDRESS ON FILE
BLANCA M QUILES MELENDEZ                  ADDRESS ON FILE
BLANCA M TAFFANELLI RIVERA                ADDRESS ON FILE
BLANCA M VEGA AGUIAR                      ADDRESS ON FILE
BLANCA M. GARCIA CARLO                    ADDRESS ON FILE
BLANCA MAESTRE MERCADO                    ADDRESS ON FILE
BLANCA MALAVE VAZQUEZ                     ADDRESS ON FILE
BLANCA MALDONADO RUIZ                     ADDRESS ON FILE
BLANCA MARIN ALVAREZ                      ADDRESS ON FILE
BLANCA MARQUEZ                            ADDRESS ON FILE
BLANCA MARTINEZ RIVERA                    ADDRESS ON FILE
BLANCA MASSO                              ADDRESS ON FILE
BLANCA MEDINA BARRETO                     ADDRESS ON FILE
BLANCA MIRANDA CABAN                      ADDRESS ON FILE
BLANCA MIRANDA ORTIZ                      ADDRESS ON FILE
BLANCA MORALES GONZALEZ                   ADDRESS ON FILE
BLANCA MORALES SOSTRE                     ADDRESS ON FILE
BLANCA MUNIZ CARRERO                      ADDRESS ON FILE
BLANCA N COLON DE PENA                    ADDRESS ON FILE
BLANCA N COLON DE PENA                    ADDRESS ON FILE
BLANCA N FIGUEROA GARCIA                  ADDRESS ON FILE
BLANCA N FIRPO RUIZ                       ADDRESS ON FILE
BLANCA N LOPERENA HERNANDEZ               ADDRESS ON FILE
BLANCA N SOTO Y/O MANUELA FELICIANO       ADDRESS ON FILE
BLANCA N VARGAS ROSAS                     ADDRESS ON FILE
BLANCA N WILLIAMS                         ADDRESS ON FILE
BLANCA NAZARIO CHACON                     ADDRESS ON FILE
BLANCA NIETO CABALLERO                    ADDRESS ON FILE
BLANCA NIEVES                             ADDRESS ON FILE
BLANCA OCASIO LUIS OCASIO JOSE OCASIO Y   ADDRESS ON FILE
BLANCA ORTIZ GUZMAN                       ADDRESS ON FILE
BLANCA PADILLA DAVILA                     ADDRESS ON FILE
BLANCA PANIAGUA ADORNO                    ADDRESS ON FILE
BLANCA PIZARRO FRANCO                     ADDRESS ON FILE
BLANCA QUILES                             ADDRESS ON FILE
BLANCA QUINTANA RIVERA                    ADDRESS ON FILE
BLANCA R GERMAIN/ EDWIN YAMBO             ADDRESS ON FILE
BLANCA R GONZALEZ ROMERO                  ADDRESS ON FILE
BLANCA R MILLAN ROSADO                    ADDRESS ON FILE
BLANCA R NOVALES RAMIREZ                  ADDRESS ON FILE
BLANCA R PEREIRA FEBRES                   ADDRESS ON FILE
BLANCA R PEREZ MELENDEZ                   ADDRESS ON FILE
BLANCA R SANTOS SANTIAGO                  ADDRESS ON FILE
BLANCA R SASTRE ARNAIZ                    ADDRESS ON FILE
BLANCA R SELLES RIVERA                    ADDRESS ON FILE
BLANCA R. MATOS RIVERA                    ADDRESS ON FILE
BLANCA R. NAVARRO NAVARRO                 ADDRESS ON FILE
BLANCA RAMOS BAEZ                         ADDRESS ON FILE
BLANCA REYES MERCED                       ADDRESS ON FILE
BLANCA REYES ROMAN                        ADDRESS ON FILE
BLANCA RIVERA AGOSTO                      ADDRESS ON FILE
BLANCA RIVERA GONZALEZ                    ADDRESS ON FILE
BLANCA RIVERA MARTINEZ                    ADDRESS ON FILE
BLANCA RIVERA PEREZ                       ADDRESS ON FILE
BLANCA RODRIGUEZ                          ADDRESS ON FILE
BLANCA RODRIGUEZ HERNANDEZ                ADDRESS ON FILE
BLANCA RODRIGUEZ HERNANDEZ                ADDRESS ON FILE




                                                                                      Page 893 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 894 of 3500
                                                                                       Creditor Matrix

Creditor Name                           Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
BLANCA RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
BLANCA RUIZ VELEZ                       ADDRESS ON FILE
BLANCA SAEZ ORTIZ                       ADDRESS ON FILE
BLANCA SALAS BOSQUES                    ADDRESS ON FILE
BLANCA SANFELIZ VIRELLA                 ADDRESS ON FILE
BLANCA SANTOS LOPEZ                     ADDRESS ON FILE
BLANCA SILVESTRIZ Y ANTONIO RODRIGUEZ   ADDRESS ON FILE
BLANCA SOLARES RIVERA                   ADDRESS ON FILE
BLANCA T TORRES NEGRON                  ADDRESS ON FILE
BLANCA TORRES ARROYO                    ADDRESS ON FILE
BLANCA V MEDINA CALDERON                ADDRESS ON FILE
BLANCA V RAMOS MALAVE                   ADDRESS ON FILE
BLANCA VALENTIN NIEVES                  ADDRESS ON FILE
BLANCA VEGA CASIANO                     ADDRESS ON FILE
BLANCA VELEZ / ANGEL L SOLLA            ADDRESS ON FILE
BLANCA VELEZ RAMOS                      ADDRESS ON FILE
Blanca Vidal Matos                      ADDRESS ON FILE
BLANCA Y RODRIGUEZ GONZALEZ             ADDRESS ON FILE
BLANCA Z DIAZ DIAZ                      ADDRESS ON FILE
BLANCA Z DIAZ DIAZ                      ADDRESS ON FILE
BLANCA, ANTONIO                         ADDRESS ON FILE
Blancanieves Machado Soto               ADDRESS ON FILE
BLANCH DE JESUS, KARLA                  ADDRESS ON FILE
BLANCH HERRERA, ANGEL                   ADDRESS ON FILE
BLANCH MIRANDA, HILDA V                 ADDRESS ON FILE
BLANCH MIRANDA,HILDA                    ADDRESS ON FILE
BLANCH NIEVES, JUAN                     ADDRESS ON FILE
Blanchard Irizarry, James P.            ADDRESS ON FILE
BLANCHARD MARTINEZ, ORLANDO R           ADDRESS ON FILE
BLANCHE GONZALEZ HODGE                  ADDRESS ON FILE
BLANCHERO MUNOZ, JOSE                   ADDRESS ON FILE
BLANCO & RIERA INC                      PO BOX 7247               BO OBRERO STATION                                       SAN JUAN     PR      00916‐7247
BLANCO & RIERA, INC                     PO BOX 724780             OBRERO STATION                                          SAN JUAN     PR      00916
BLANCO ACOSTA, RODOLFO                  ADDRESS ON FILE
Blanco Acosta, Rodolfo E                ADDRESS ON FILE
BLANCO ADORNO, GLORIBEE                 ADDRESS ON FILE
Blanco Alvarado, Arnaldo                ADDRESS ON FILE
BLANCO ALVARADO, MARIA                  ADDRESS ON FILE
BLANCO ALVAREZ, SULLYMAR                ADDRESS ON FILE
BLANCO ARROYO, LOURDES M                ADDRESS ON FILE
BLANCO BELLA, MANUEL                    ADDRESS ON FILE
BLANCO BENITEZ, PATRICK                 ADDRESS ON FILE
BLANCO BERMUDEZ, JUAN                   ADDRESS ON FILE
BLANCO BLANCO, LUIS D                   ADDRESS ON FILE
BLANCO BLANCO, ROSA                     ADDRESS ON FILE
BLANCO BOSCHETTI, MARGARITA             ADDRESS ON FILE
BLANCO BRACERO, JOHNNY                  ADDRESS ON FILE
BLANCO BRETON, MANUEL                   ADDRESS ON FILE
BLANCO BURGOS, MALYNIE                  ADDRESS ON FILE
BLANCO BURGOS, MALYNIE                  ADDRESS ON FILE
BLANCO BURGOS, PETER I                  ADDRESS ON FILE
BLANCO CERVERA, JOSE D                  ADDRESS ON FILE
BLANCO COLLAZO, CARMEN I.               ADDRESS ON FILE
BLANCO COLLAZO, INES                    ADDRESS ON FILE
BLANCO COLLAZO, JOSE H.                 ADDRESS ON FILE
BLANCO COLLAZO, MAGDA I.                ADDRESS ON FILE
BLANCO COLON, ANA S                     ADDRESS ON FILE
BLANCO COLON, LUIS A                    ADDRESS ON FILE
BLANCO CONCEPCION, HILVIA E.            ADDRESS ON FILE
BLANCO CONCEPCION, RAFAEL               ADDRESS ON FILE




                                                                                      Page 894 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 895 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BLANCO CONCEPCION, RAFAEL        ADDRESS ON FILE
BLANCO CORTES, EDUARDO           ADDRESS ON FILE
BLANCO COSS, SONIA               ADDRESS ON FILE
BLANCO CUADRA, DANIEL            ADDRESS ON FILE
BLANCO DALMAU, ALEJANDRO         ADDRESS ON FILE
BLANCO DALMAU, ALEJANDRO         ADDRESS ON FILE
BLANCO DALMAU, JOSE              ADDRESS ON FILE
BLANCO DARCY, MARIA N.           ADDRESS ON FILE
BLANCO DAVILA, MAGALY            ADDRESS ON FILE
BLANCO DE JESUS, JOSE A          ADDRESS ON FILE
BLANCO ENTERPRISES INC           PO BOX 10563                                                                     SAN JUAN     PR      00922
BLANCO FERNANDEZ, ERIC A         ADDRESS ON FILE
BLANCO FERNANDEZ, MARTA W        ADDRESS ON FILE
BLANCO FERNANDEZ, PEDRO          ADDRESS ON FILE
BLANCO FERNANDEZ, SYLVIA M       ADDRESS ON FILE
BLANCO FERNANDEZ, WADDIE         ADDRESS ON FILE
BLANCO FIGUEROA, LUIS            ADDRESS ON FILE
BLANCO FRANCO,ALEJANDRO          ADDRESS ON FILE
BLANCO GABRIEL, ALEXIS O         ADDRESS ON FILE
BLANCO GALDO, JORGE              ADDRESS ON FILE
BLANCO GARCIA, EDWIN             ADDRESS ON FILE
BLANCO GONZALEZ, AXEL J          ADDRESS ON FILE
BLANCO GONZALEZ, LARA            ADDRESS ON FILE
BLANCO GUILLERMETY, MARIO        ADDRESS ON FILE
BLANCO GUILLERMETY, MARIO M.     ADDRESS ON FILE
BLANCO GUILLERMETY, RICARDO J.   ADDRESS ON FILE
BLANCO GUTIERREZ, LUZ Y.         ADDRESS ON FILE
BLANCO HERNANDEZ, ANIBELIS       ADDRESS ON FILE
BLANCO HERNANDEZ, GIONIRA        ADDRESS ON FILE
BLANCO HERNANDEZ, PEDRO J.       ADDRESS ON FILE
BLANCO JIMENEZ, GLORIMAL         ADDRESS ON FILE
Blanco Justiniano, Idanessie     ADDRESS ON FILE
BLANCO JUSTINIANO, IDANESSIE     ADDRESS ON FILE
Blanco Laboy, Hector L           ADDRESS ON FILE
Blanco Laboy, Jose R             ADDRESS ON FILE
BLANCO LAJARA, RIBANA            ADDRESS ON FILE
BLANCO LATORRE, RAFAEL           ADDRESS ON FILE
BLANCO LOPEZ, JOSE               ADDRESS ON FILE
BLANCO LOPEZ, OMAR               ADDRESS ON FILE
BLANCO LUCIANO, MIGUEL           ADDRESS ON FILE
BLANCO MALDONADO, ILYANA         ADDRESS ON FILE
BLANCO MALDONADO, JANARI         ADDRESS ON FILE
BLANCO MALDONADO, MANUEL         ADDRESS ON FILE
BLANCO MARTI, JOSE               ADDRESS ON FILE
BLANCO MARTIN, AIDA              ADDRESS ON FILE
BLANCO MARTINEZ, GRETCHEN G      ADDRESS ON FILE
BLANCO MAYA, MAYRA E             ADDRESS ON FILE
BLANCO MENA, FRANCISCO           ADDRESS ON FILE
BLANCO MENDEZ, JULIO             ADDRESS ON FILE
BLANCO MENDOZA, IRMA J           ADDRESS ON FILE
BLANCO MENDOZA, JOSE R           ADDRESS ON FILE
BLANCO MENDOZA,JOSE R.           ADDRESS ON FILE
Blanco Molina, Luis              ADDRESS ON FILE
BLANCO MORA ENTERPRISES          PO BOX 10563                                                                     SAN JUAN     PR      00922
BLANCO MORALES, CATALINA         ADDRESS ON FILE
BLANCO MORENO, ROSE              ADDRESS ON FILE
BLANCO NAVAS, ALONDRA            ADDRESS ON FILE
BLANCO NAVAS, AMANDA             ADDRESS ON FILE
BLANCO NUNEZ, IRAIDA             ADDRESS ON FILE
BLANCO OCASIO, ALEXIS            ADDRESS ON FILE




                                                                             Page 895 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 896 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BLANCO OCASIO, CHARLES          ADDRESS ON FILE
BLANCO OREILLY, ALVARO J.       ADDRESS ON FILE
BLANCO ORTEGA, GLORIA           ADDRESS ON FILE
BLANCO ORTIZ, JUAN              ADDRESS ON FILE
BLANCO ORTIZ, LUIS              ADDRESS ON FILE
Blanco Ortiz, Maria M           ADDRESS ON FILE
Blanco Ortiz, Miguel A          ADDRESS ON FILE
BLANCO ORTIZ, RODOLFO           ADDRESS ON FILE
BLANCO PEREZ, ERIC C            ADDRESS ON FILE
BLANCO PEREZ, EUSEBIA           ADDRESS ON FILE
BLANCO PIBERNUS, RAFAEL T       ADDRESS ON FILE
BLANCO QUINTANA, RANDY          ADDRESS ON FILE
Blanco Quintana, Ricardo        ADDRESS ON FILE
Blanco Ramos, Jose O            ADDRESS ON FILE
BLANCO RESTO, IRIS              ADDRESS ON FILE
BLANCO RESTO, IRIS Y.           ADDRESS ON FILE
Blanco Rivera, Alexis           ADDRESS ON FILE
BLANCO RIVERA, CARMEN A.        ADDRESS ON FILE
BLANCO RIVERA, EDNA M           ADDRESS ON FILE
BLANCO RIVERA, EDWIN R          ADDRESS ON FILE
BLANCO RIVERA, ELENA            ADDRESS ON FILE
BLANCO RIVERA, EMMA             ADDRESS ON FILE
BLANCO RIVERA, EMMA             ADDRESS ON FILE
BLANCO RIVERA, IVAN             ADDRESS ON FILE
BLANCO RIVERA, IVAN             ADDRESS ON FILE
BLANCO RIVERA, IVELIS           ADDRESS ON FILE
BLANCO RIVERA, JAIME            ADDRESS ON FILE
BLANCO RIVERA, JOEL             ADDRESS ON FILE
BLANCO RIVERA, JOEL A.          ADDRESS ON FILE
BLANCO RIVERA, LUDYBER          ADDRESS ON FILE
BLANCO RIVERA, MARIA            ADDRESS ON FILE
Blanco Rivera, Marilda          ADDRESS ON FILE
BLANCO RIVERA, MARILDA          ADDRESS ON FILE
BLANCO RIVERA, MIGUEL           ADDRESS ON FILE
BLANCO RIVERA, MILAGROS         ADDRESS ON FILE
BLANCO RIVERA, MINERVA          ADDRESS ON FILE
BLANCO RIVERA, NELLY A.         ADDRESS ON FILE
BLANCO RIVERA, NELLY Y          ADDRESS ON FILE
Blanco Rivera, Sonya D          ADDRESS ON FILE
BLANCO ROCHE, BERNICE           ADDRESS ON FILE
BLANCO ROCHE, BERNICE M         ADDRESS ON FILE
BLANCO ROCHE, LIZA              ADDRESS ON FILE
BLANCO RODRIGUEZ, ERICA MARIA   ADDRESS ON FILE
BLANCO RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
BLANCO RODRIGUEZ, GENESIS       ADDRESS ON FILE
BLANCO RODRIGUEZ, SHEILA M      ADDRESS ON FILE
BLANCO RODRIGUEZ, WILFREDO      ADDRESS ON FILE
BLANCO ROSADO, MARIA            ADDRESS ON FILE
BLANCO ROSARIO, LISA            ADDRESS ON FILE
BLANCO ROSARIO, SAMUEL A.       ADDRESS ON FILE
BLANCO SAEZ, JOSE               ADDRESS ON FILE
Blanco Saez, Jose M             ADDRESS ON FILE
Blanco Sanchez, Edgar           ADDRESS ON FILE
BLANCO SANCHEZ, JAVIER          ADDRESS ON FILE
BLANCO SANCHEZ, NORBERTO        ADDRESS ON FILE
BLANCO SANCHEZ, ROCIO A         ADDRESS ON FILE
BLANCO SANTAMARIA, HORACIO      ADDRESS ON FILE
BLANCO SANTIAGO RAMIREZ         ADDRESS ON FILE
BLANCO SANTIAGO, EDGARDO        ADDRESS ON FILE
BLANCO SANTIAGO, IRIS J         ADDRESS ON FILE




                                                                            Page 896 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 897 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City            State   PostalCode   Country
BLANCO SANTIAGO, YANIS          ADDRESS ON FILE
BLANCO SANTIAGO, YANIS          ADDRESS ON FILE
BLANCO SANTIAGO, YANIS R.       ADDRESS ON FILE
BLANCO SEGARRA, VICTOR          ADDRESS ON FILE
BLANCO SENATI, ROSA             ADDRESS ON FILE
BLANCO SIERRA, KELVIN E         ADDRESS ON FILE
Blanco Soto, Marvin             ADDRESS ON FILE
BLANCO SOTO, MARVIN             ADDRESS ON FILE
BLANCO SOTO, RICARDO ALEXIS     ADDRESS ON FILE
BLANCO SUAREZ, CARMEN           ADDRESS ON FILE
BLANCO TAMAYO, INES M           ADDRESS ON FILE
BLANCO TORO, EDGAR L            ADDRESS ON FILE
BLANCO TORRES, HERIBERTO        ADDRESS ON FILE
BLANCO TORRES, JANET L          ADDRESS ON FILE
BLANCO TORRES, JENNIFER         ADDRESS ON FILE
BLANCO TORRES, LEONARDO         ADDRESS ON FILE
BLANCO TORRES, LIDUVINA         ADDRESS ON FILE
BLANCO TORRES, RICARDO          ADDRESS ON FILE
BLANCO TORRES, RUBEN            ADDRESS ON FILE
Blanco Torres, Victor M.        ADDRESS ON FILE
BLANCO URRUTIA, JUAN            ADDRESS ON FILE
BLANCO VARGAS, DIANA I.         ADDRESS ON FILE
BLANCO VARGAS, JORGE L          ADDRESS ON FILE
BLANCO VARGAS, JOSE A           ADDRESS ON FILE
BLANCO VARGAS, MODESTA          ADDRESS ON FILE
BLANCO VAZQUEZ, MAGDA I         ADDRESS ON FILE
BLANCO VAZQUEZ, MARTA M         ADDRESS ON FILE
BLANCO VAZQUEZ, MARY            ADDRESS ON FILE
BLANCO VAZQUEZ, WILLIAM         ADDRESS ON FILE
BLANCO VEGA, SIXTO              ADDRESS ON FILE
BLANCO ZAYAS, FELIPE G          ADDRESS ON FILE
BLANCO, ANGEL                   ADDRESS ON FILE
BLANCO, VANESSA                 ADDRESS ON FILE
Blanco‐Ortíz, Alicia            ADDRESS ON FILE
BLANCOVICH CASTILLO, BORIS      ADDRESS ON FILE
BLANCOVICH OLIVENCIA, ISRAEL    ADDRESS ON FILE
BLANCOVICH, FUNDADOR            ADDRESS ON FILE
BLANCOVITCH VELEZ, NORAIDA      ADDRESS ON FILE
Blancovith Quinonez, Gilberto   ADDRESS ON FILE
BLANDINO CARUAJAL, CELIA        ADDRESS ON FILE
BLANDINO RODRIGUEZ, RYAN        ADDRESS ON FILE
BLANES COBIAN, EILEEN S         ADDRESS ON FILE
BLANES DELGADO, ANTONIO         ADDRESS ON FILE
BLANES MAYANS MD, FRANCISCO J   ADDRESS ON FILE
BLANES RIOS, ROBERTO            ADDRESS ON FILE
BLANIA C CALDERON CANCEL        ADDRESS ON FILE
BLANIZZA LORRAINE BEY VINAS     ADDRESS ON FILE
BLANKELY ARROYO, RAMONITA       ADDRESS ON FILE
BLANKINE BURGER CORP            PO BOX 356                                                                       BARCELONETA     PR      00617‐0356
Blanquez Soto, Manuel           ADDRESS ON FILE
BLANTOR                         HC‐1 BOX 3008                                                                    COROZAL         PR      00783
BLAS ACEVEDO, JOSE A            ADDRESS ON FILE
BLAS ALDARONDO, JORGE           ADDRESS ON FILE
BLAS ALERS, ELISET              ADDRESS ON FILE
BLAS ALVAREZ, PABLO             ADDRESS ON FILE
BLAS BADILLO, ANA D             ADDRESS ON FILE
BLAS BADILLO, ISABEL            ADDRESS ON FILE
BLAS BLAS, DAVID                ADDRESS ON FILE
BLAS BLAS, EVANGELINA           ADDRESS ON FILE
BLAS BLAS, MANUELA              ADDRESS ON FILE




                                                                            Page 897 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 898 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BLAS CRUZ, GLADYS Y             ADDRESS ON FILE
BLAS DE J DIAZ COLON            ADDRESS ON FILE
BLAS DOMENECH, JUAN M.          ADDRESS ON FILE
Blas Echevarria, Francisco      ADDRESS ON FILE
BLAS G FONALLEDAS FERRAIQUILI   ADDRESS ON FILE
BLAS GONZALEZ, FRANKIE          ADDRESS ON FILE
BLAS GONZALEZ, JAIME            ADDRESS ON FILE
BLAS GONZALEZ, JOANNETTE D      ADDRESS ON FILE
BLAS GONZALEZ, JOSE             ADDRESS ON FILE
BLAS GONZALEZ, JOSE R           ADDRESS ON FILE
BLAS GUZMAN MARRERO             ADDRESS ON FILE
BLAS HIDALGO, EDWARD            ADDRESS ON FILE
BLAS HIDALGO, MABEL             ADDRESS ON FILE
BLAS HIDALGO, PABLO             ADDRESS ON FILE
BLAS HILERIO, ANGEL G           ADDRESS ON FILE
BLAS IRIZARRY, IVONNE           ADDRESS ON FILE
BLAS LOPEZ MARRERO              ADDRESS ON FILE
Blas Lopez, Bernardino          ADDRESS ON FILE
BLAS LOPEZ, JORGE A.            ADDRESS ON FILE
BLAS MACHADO, SANDRA E.         ADDRESS ON FILE
BLAS MANFREDY PEREZ             ADDRESS ON FILE
Blas Medina, Francisco          ADDRESS ON FILE
BLAS MORALES, GERMAN            ADDRESS ON FILE
BLAS MUNIZ, NANCY N.            ADDRESS ON FILE
BLAS NEGRON, ALEXIS             ADDRESS ON FILE
BLAS NEGRON, JANET              ADDRESS ON FILE
BLAS NIEVES, LUIS               ADDRESS ON FILE
BLAS ORTEGA, KATIRIA            ADDRESS ON FILE
BLAS PEREZ, MARIA C             ADDRESS ON FILE
BLAS R SANTIAGO ORTIZ           ADDRESS ON FILE
BLAS R ZAYAS MERCADO            ADDRESS ON FILE
BLAS RIVERA ECHEVARRIA          ADDRESS ON FILE
BLAS RIVERA, SANDRA             ADDRESS ON FILE
BLAS RIVERA, SHIRLEY            ADDRESS ON FILE
BLAS RODRIGUEZ, ALEXIS          ADDRESS ON FILE
Blas Roman, Carlos              ADDRESS ON FILE
BLAS ROSADO, ANA L              ADDRESS ON FILE
BLAS ROSADO, JULIA              ADDRESS ON FILE
BLAS SANCHEZ, MARILYN           ADDRESS ON FILE
BLAS SANTAMARIA, LORENZO        ADDRESS ON FILE
BLAS SOTO, ARIEL                ADDRESS ON FILE
BLAS VALENTIN, FRANCISCO        ADDRESS ON FILE
BLAS VALENTIN, MARGARITA        ADDRESS ON FILE
BLAS VELEZ, NANCY               ADDRESS ON FILE
BLAS ZAPATA, JONATHAN           ADDRESS ON FILE
BLAS, GILBERTO                  ADDRESS ON FILE
BLASCO FIGUEROA, JOSE           ADDRESS ON FILE
BLASCO MONTANA, MARISOL         ADDRESS ON FILE
BLASCO MONTANA, RICARDO         ADDRESS ON FILE
BLASCO REILLO, ENID M           ADDRESS ON FILE
BLASCO REILLO, ENID M           ADDRESS ON FILE
BLASCO REILLO, FRANCISCO        ADDRESS ON FILE
BLASCO SALDINA MD, HILDEBERT    ADDRESS ON FILE
BLASINA RIVERA SANCHEZ          ADDRESS ON FILE
BLASINI ABRAHAN, PEDRO          ADDRESS ON FILE
BLASINI AGOSTO, AMARILIS        ADDRESS ON FILE
BLASINI BENGOCHEA, CELIA R      ADDRESS ON FILE
BLASINI BENGOCHEA, LILLIAM      ADDRESS ON FILE
BLASINI BRITO, ELGA             ADDRESS ON FILE
BLASINI CEDENO, ZORIVETTE       ADDRESS ON FILE




                                                                            Page 898 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 899 of 3500
                                                                                                            Creditor Matrix

Creditor Name                         Address1                              Address2                                     Address3            Address4        City         State   PostalCode   Country
BLASINI CHEVRES, EDZAIRY              ADDRESS ON FILE
BLASINI CHEVRES, EDZAIRY              ADDRESS ON FILE
BLASINI CORREA, MILAGROS              ADDRESS ON FILE
BLASINI CRUZ, EDWIN                   ADDRESS ON FILE
BLASINI CRUZ, LINAYRA                 ADDRESS ON FILE
BLASINI ECHEVARRIA, EMIL              ADDRESS ON FILE
BLASINI GONZALEZ, JUAN                ADDRESS ON FILE
BLASINI GONZALEZ, LUIS                ADDRESS ON FILE
BLASINI IRIZARRY, MARIA DEL RO        ADDRESS ON FILE
BLASINI MARTINEZ, ILEANA              ADDRESS ON FILE
BLASINI MD, RAFAEL                    ADDRESS ON FILE
Blasini Merlo, Hector J.              ADDRESS ON FILE
Blasini Nieves, Gir Antoanette        ADDRESS ON FILE
BLASINI OLAVARRIA, EMILY              ADDRESS ON FILE
BLASINI ORTIZ, LUIS H                 ADDRESS ON FILE
BLASINI ORTIZ, MILTON                 ADDRESS ON FILE
BLASINI PACHECO, DANNA                ADDRESS ON FILE
BLASINI PAGAN, EILEEN                 ADDRESS ON FILE
BLASINI PEREZ, PEDRO                  ADDRESS ON FILE
BLASINI RAMOS, LEONOR                 ADDRESS ON FILE
BLASINI RIVERA, AMADISSE              ADDRESS ON FILE
BLASINI RIVERA, ANTONIO               ADDRESS ON FILE
BLASINI RIVERA, DAYNA                 ADDRESS ON FILE
BLASINI RODRIGUEZ, JONATHAN           ADDRESS ON FILE
BLASINI RODRIGUEZ, LUIS A             ADDRESS ON FILE
BLASINI RODRIGUEZ, RAFAEL             ADDRESS ON FILE
BLASINI RUBERO, ENID                  ADDRESS ON FILE
BLASINI RUIZ, LUIS                    ADDRESS ON FILE
BLASINI SANTOS, WANDA                 ADDRESS ON FILE
BLASINI SANTOS, WANDA M               ADDRESS ON FILE
BLASINI SCHAFFENBERGER, JOSE          ADDRESS ON FILE
BLASINI TORRES MD, MARINO             ADDRESS ON FILE
BLASINI TORRES, ILEANA                ADDRESS ON FILE
BLASINI TORRES, MIGUEL                ADDRESS ON FILE
BLASINI TORRES, RAUL                  ADDRESS ON FILE
BLASINI VANDO, ALBERTO                ADDRESS ON FILE
BLASINI VEGA, LADIZ                   ADDRESS ON FILE
BLASINI VELEZ, RAQUEL                 ADDRESS ON FILE
BLASININAZARIO, EDNA L                ADDRESS ON FILE
BLASKY DE HOSTOS, DONALD              ADDRESS ON FILE
BLASKY DE HOSTOS, PAUL                ADDRESS ON FILE
BLASSINI CRUZ JORGE M.                LCDO. RAFEL BORRÁS                    URB. VALLE ALTO C‐10 CALLE 5                                                     PATILLAS     PR      00723
BLASSINI CRUZ, JORGE M.               LCDA. SIZZETTE NIEVES CAUSSADE        CALLE MONSERRATE 31                                                              SALINAS      PR      00751
BLASSINI JOUBERT, LESLIE A            ADDRESS ON FILE
BLASSINI SANTOS, IVONNE               LIC. BURGOS PEREZ, OSVALDO            LIC. BURGOS PEREZ                            OSVALDO             PO BOX 194211   SAN JUAN     PR      00919‐4211
BLASSINI SANTOS, IVONNE               LIC. PANTOJA OQUENDO, JOSEFINA        LIC. PANTOJA OQUENDO                         JOSEFINA            PO BOX 21370    SAN JUAN     PR      00928
                                                                                                                         392 CAMINO DE LOS
BLASSINI SANTOS, IVONNE               LIC. QUIÑONES ECHEVARRIA, HERIBERTO   URB SABANERA                                 JARDINES                            CIDRA        PR      00739
BLASUS PROFESIONAL & COMMUNICATIONS   PO BOX 2130                                                                                                            GUAYAMA      PR      00785‐2130
BLAY ARANA, CARMEN MARIA              ADDRESS ON FILE
BLAY CABALLERO, JORGE                 ADDRESS ON FILE
BLAY CABALLERO, PATRICK               ADDRESS ON FILE
BLAY GIL DE LA MADRID, JOSE           ADDRESS ON FILE
BLAY RODRIGUEZ, XIOMARIE              ADDRESS ON FILE
BLAY SANTIAGO, MARIA A                ADDRESS ON FILE
BLAY SANTIAGO, MARIA A                ADDRESS ON FILE
BLAZGUEZ REALTY SERVICES INC          URB BORINQUEN GDNS                    1929 CALLE JULIO RUEDAS                                                          SAN JUAN     PR      00926‐6301
BLAZQUEZ DIAZ, ALMA                   ADDRESS ON FILE
BLAZQUEZ RIVERA, ELBA                 ADDRESS ON FILE
BLAZQUEZ SOTO, MILAGROS               ADDRESS ON FILE




                                                                                                           Page 899 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 900 of 3500
                                                                                                              Creditor Matrix

Creditor Name                        Address1                                   Address2                                   Address3   Address4   City            State   PostalCode   Country
BLAZQUEZ SOTO, MILAGROS              ADDRESS ON FILE
BLAZQUEZ SOTO, RAMON                 ADDRESS ON FILE
BLAZQUEZ, LYDIA                      ADDRESS ON FILE
BLB GENERAL AGENCY INC               PO BOX 11882                                                                                                SAN JUAN        PR      00922‐1882
BLE GROUP INC                        GLOBAL PLAZA SUITE 200                     322 JOHN ALBERT ST BECHARA                                       SAN JUAN        PR      00920
BLE GROUP INC.                       URB. PALACIOS DE MARBELLA 1003 CALLE DEL PALMAR                                                             TOA ALTA        PR      00953
BLECK BENEJAM, SANDRA                ADDRESS ON FILE
BLENDA E. GARCIA FLOREZ              ADDRESS ON FILE
BLESS THERAPY PLACE                  P O BOX 10038 PLAZA CAROLINA STATION                                                                        CAROLINA        PR      00988
BLESS THERAPY PLACE P S C            PLAZA CAROLINA STATION                     PO BOX 10038                                                     CAROLINA        PR      00988‐1038
BLESSIN NURS ING HOME GRANDPARENTS   PMB 910‐2500                                                                                                TOA BAJA        PR      00951
BLESSY SOSA RODRIGUEZ                ADDRESS ON FILE
BLEST QUIROZ, JACQUELINE             ADDRESS ON FILE
BLEST QUIROZ, JENNIFER ALYCE         ADDRESS ON FILE
BLEU BISTRO                          P O BOX 364053                                                                                              SAN JUAN        PR      00936
BLEVINS LAWRENCE E                   ADDRESS ON FILE
BLINDADOS DE PR                      PO BOX 6684                                                                                                 SAN JUAN        PR      00914‐6684
BLINDADOS DE PUERTO RICO CORP        1480 CALLE SAN RAFAEL                                                                                       SAN JUAN        PR      00909
BLIZZARD PEREZ, KEILA                ADDRESS ON FILE
BLM CORP                                                                250035                                                                   AGUADILLA       PR      00604
BLOCKER FERRER, DEBRA B.             ADDRESS ON FILE
BLOGIC INC                           BOSQUE DE LOS FRAILES                      13 CALLE FRAY INIGO                                              GUAYNABO        PR      00969
BLOGIC INC                           URB BOSQUE DE LOS FRAILES                  13 CALLE FRAY INIGO                                              GUAYNABO        PR      00969
BLOISE ENRIQUEZ, OMAR                ADDRESS ON FILE
Bloise Nunez, Lourdes                ADDRESS ON FILE
BLOISE NUNEZ, RAMONITA               ADDRESS ON FILE
BLONCOURT FLORES, IRIS N             ADDRESS ON FILE
BLONDET CASTELLANA, ZOET             ADDRESS ON FILE
BLONDET CINTRON, JOSE                ADDRESS ON FILE
BLONDET LEON, SORAYA                 ADDRESS ON FILE
BLONDET LEON, SORAYA                 ADDRESS ON FILE
BLONDET NAVEDO, NILDA E              ADDRESS ON FILE
BLONDET PASSALACQUA, CECILLE         ADDRESS ON FILE
BLONDET PASSALACUA MD, MAXIMO        ADDRESS ON FILE
BLONDET PASSALAQUA, CECILLE          ADDRESS ON FILE
BLONDET RIVERA, SANDRA               ADDRESS ON FILE
BLONDET RIVERA, SANDRA A             ADDRESS ON FILE
BLONDET SANTIAGO, AWILDA             ADDRESS ON FILE
BLONDET SANTIAGO, ELBA               ADDRESS ON FILE
BLONDET SOLER, JENNIFER              ADDRESS ON FILE
BLONDET VAZQUEZ, CESAR R.            ADDRESS ON FILE
BLONDET VISSEPO, IVAN                ADDRESS ON FILE
BLOOM OQUENDO, ANNA L                ADDRESS ON FILE
BLOOMBERG FINANCIAL L P              PO BOX 416604                                                                                               BOSTON          MA      02241‐6604
BLOOMINGDALES DE PUERTO RICO         PO BOX 8736                                                                                                 SAN JUAN        PR      00910‐0736
BLOQUES CLASS INC                    EXT FOREST HLS                             340 CALLE ECUADOR                                                BAYAMON         PR      00959‐5721
BLUBRANDED                           PO BOX 194930                                                                                               SAN JUAN        PR      00919‐4930
BLUE AD GROUP CORP                   CENTRO INT DE MERCADEO TORRE1              SUITE 407 100 CARR 165                                           GUAYNABO        PR      00968‐8053
BLUE BAY PROFFESIONAL SERVICES INC   PO BOX 70250                               SUITE 239                                                        SAN JUAN        PR      00936
BLUE BOX MEDIA SOLUTIONS INC         19 CALLE LEON                                                                                               CAYEY           PR      00736
BLUE BOX MEDIA SOLUTIONS INC         PO BOX 9023885                                                                                              SAN JUAN        PR      00902‐3885
BLUE FOUNTAIN INC                    PO BOX 364541                                                                                               SAN JUAN        PR      00936
BLUE JAY WIRELESS, LLC               1502 MARTIN TRAVIESO ST.                                                                                    SAN JUAN        PR      00911‐1938
Blue Jay Wireless, LLC               PO Box 591057                                                                                               SAN JUAN        PR      00911‐1938
BLUE LAGOON CAFE INC                 AREA DEL TESORO                            DIV DE RECLAMACIONES                                             SAN JUAN        PR      00902‐4140
BLUE LAGOON CAFE INC                 URB PUERTO NUEVO                           503 CALLE ANTARTICO                                              SAN JUAN        PR      00920
BLUE LAGOON CAFE, INC.               PO BOX 366277                                                                                               SAN JUAN        PR      00936‐6277
BLUE LINE RENTAL PUERTO RICO INC     PO BOX 840275                                                                                               DALLAS          TX      75284‐0275
BLUE MARINE CONTRACTOR               5184 AVE RAMON RIOS ROMAN                                                                                   SABANA SECA     PR      00952
BLUE MARINE CONTRACTOR INC.          5184 Ave. Ramon Rios Raman                                                                                  Sabana Seca     PR      00952‐0000




                                                                                                             Page 900 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 901 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                               Address1                                  Address2                                Address3   Address4   City              State   PostalCode   Country
BLUE MEDIA GROUP INC                        400 CALAF ST PMB 327                                                                                    SAN JUAN          PR      00918
BLUE OCEAN TRADDING CO                      PO BOX 9828                                                                                             SAN JUAN          PR      00908
BLUE OCEAN TRADING CO                       PO BOX 9828                                                                                             SAN JUAN          PR      00908
BLUE RIBBON TAG Y LABEL OF P R INC          PO BOX 4316                                                                                             VEGA BAJA         PR      00694
BLUE SKY MLS INC                            WATERVIEW CORPORATE CENTRE                35 WATERVIEW BOULEVARD                                        PARSIPPANY        NJ      07054
BLUE STAR AUTO SERVICE CORP                 COND VISTA SERENA 920                     CARR 175 APT 14401                                            SAN JUAN          PR      00926
BLUE WATER LOGISTICS CORP                   PMB 218‐5900                              L2 AVE ISLA VERDE                                             CAROLINA          PR      00979
BLUE WATERS INSURERS CORP                   P.O. BOX 13160                                                                                          SAN JUAN          PR      00908
BLUE WAVE CONSULTING INC                    PMB 608                                   1353 AVE LUIS VIGOREAUX                                       GUAYNABO          PR      00966
BLUE WIND AVIATION CORPORATION              PO BOX 3786                                                                                             GUAYNABO          PR      00970‐3786
BLUEBIRD EXPRESS LLC                        145 HOOK CREEK BLVD BLDG C5C                                                                            VALLEY STREAM     NY      11581
BLUELINE RENTAL                             HC 01 BOX 10122                                                                                         LAJAS             PR      00667
BLUESTEM FILMS INC                          2001 WILSHIRE BLVD #250                                                                                 SANTA MONICA      CA      90403
BLUEWATER INSURERS CORP.                    CENTRO MDE SEGUROS SUITE 412              701 PONCE DE LEON                                             SAN JUAN          PR      00907
BM CONSULTING GROUP LLC                     URB JARDINES DE CAPARRA R‐11 CALLE 29                                                                   BAYAMON           PR      00959‐0000
BMA CENTRO RENAL FRESENIUS MEDICAL CARE 1535 AVE PONCE DE LEON                        SECTOR EL CINCO                                               SAN JUAN          PR      00926
BMA DE PONCE CENTRO RENAL                   PO BOX 1990                                                                                             PONCE             PR      00732
BMA DE SAN GERMAN CENTRO RENAL              PO BOX 285                                                                                              SAN GERMAN        PR      00683
BMA WEST PONCE CENTRO RENAL                 500 AVE PUNTO ORO                                                                                       PONCE             PR      00728
BMET MEDICAL EQUIPMENT SERV. CORP           P. O. BOX 10088                                                                                         PONCE             PR      00732‐0000
BMF INC/ WINDMAR RENEWABLE ENERGY INC PO BOX 277                                                                                                    CAGUAS            PR      00726‐0277
BMP LASER COSMETIC CENTER CSP               BAYAMON MEDICAL PLAZA                     1845 CARR 2 STE 108                                           BAYAMON           PR      00959
BMS OFFICE SUPPLIES                         BANCO POPULAR CENTER AREA COMERCIAL                                                                     HATO REY          PR      00917
BMS PROJECTS INC                            URB GARDENVILLE                           C14 CALLE COLOMBIA                                            GUAYNABO          PR      00966‐2019
BMW FINANCIAL SERVICES NA, LLC VA. ELA P/C DLIC. DORA PEÑAGARICANO                    PO BOX 364225                                                 SAN JUAN          PR      00936‐4225
BMW FINANCIAL SERVICES, NA, LLC.            LCDO. EDWIN E. LEÓN PÉREZLCDA. DORA M. PEÑPO BOX 364225                                                 SAN JUAN          PR      00936‐4225
BNC HOGAR CRISTO DE LOS MILAGROS,INC        PO BOX 6670                                                                                             BAYAMON           PR      00960
BNC HOGAR CRISTO DE MILAGROS INC            P O BOX 6670                                                                                            BAYAMON           PR      00960‐5670
BNG COMMUNICATIONS INC                      HC 02 BOX 7286                                                                                          SALINAS           PR      00751
BNY MELLON                                  480 WASHINGTON BLVD 28 TH FLOOR                                                                         JERSEY CITY       NJ      07310
BOACHIE ADJEI MD, OHENEBA                   ADDRESS ON FILE
BOADA CORNEJO MD, ROBERT                    ADDRESS ON FILE
BOADA ORTIZ, NELSON R.                      ADDRESS ON FILE
BOADA ORTIZ, NELSON RAFAEL                  ADDRESS ON FILE
BOADA RAMIREZ, JOSE A                       ADDRESS ON FILE
BOADA SANCHEZ                               ADDRESS ON FILE
BOADA SANTAMARIA, GUILLERMO J               ADDRESS ON FILE
BOANERGES GARCIA RUIZ                       ADDRESS ON FILE
BOARD OF COUNTY COMM MIAMI DADE COUNT 1015 NORTH AMERICA WAY STE 212                                                                                MIAMI             FL      33132
BOARD TRACK RACING INC                      210 LOUTH TOWNLINE RD                                                                                   ST CATHARINES     ON      L2R 6P7      CANADA
BOARDMAN CALLAGHAN, CLARK                   ADDRESS ON FILE
BOBADILLA GONZALEZ, ANGELA                  ADDRESS ON FILE
BOBBY L PIZARRO BULTRON                     ADDRESS ON FILE
BOBE ALBELO, MARIA DEL CARMEN               ADDRESS ON FILE
BOBE ALVAREZ, DANNY                         ADDRESS ON FILE
Bobe Burgos, Luis                           ADDRESS ON FILE
BOBE BURGOS, ZULEYKA                        ADDRESS ON FILE
BOBE CARTAGENA, BEATRICE                    ADDRESS ON FILE
BOBE CARTAGENA, YVETTE                      ADDRESS ON FILE
BOBE COLLAZO, IVAN                          ADDRESS ON FILE
BOBE COLON, NELSON                          ADDRESS ON FILE
BOBE DE LA PENA, GISELL M                   ADDRESS ON FILE
BOBE DE PANTOJA, LAVINIA                    ADDRESS ON FILE
BOBE DELGADO, FRANCHESKA                    ADDRESS ON FILE
BOBE FERRER, ABRAHAM                        ADDRESS ON FILE
BOBE GONZALEZ, WIGBERTO                     ADDRESS ON FILE
BOBE LUGO, DAISY                            ADDRESS ON FILE
BOBE MENDEZ, WALTER                         ADDRESS ON FILE
BOBE MERCADO, RENE                          ADDRESS ON FILE
Bobe Mercado, Ricardo                       ADDRESS ON FILE




                                                                                                                Page 901 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 902 of 3500
                                                                            Creditor Matrix

Creditor Name                 Address1                          Address2                 Address3   Address4   City         State   PostalCode   Country
BOBE MONTALVO, EDIGAN         ADDRESS ON FILE
BOBE ORTIZ, ROSA D            ADDRESS ON FILE
BOBE PABON, LAVINIA           ADDRESS ON FILE
BOBE PADILLA, RADAMES         ADDRESS ON FILE
Bobe Padilla, Raymond D.      ADDRESS ON FILE
BOBE PEREZ, IRIS M            ADDRESS ON FILE
BOBE PLATA, RAFAEL            ADDRESS ON FILE
BOBE RAMIREZ, EDWIN           ADDRESS ON FILE
Bobe Ramirez, Edwin B.        ADDRESS ON FILE
BOBE RAMOS, VANESSA           ADDRESS ON FILE
BOBE RIVERA, JOHAN M          ADDRESS ON FILE
BOBE RIVERA, KARINA N         ADDRESS ON FILE
BOBE ROCHE, MARIA             ADDRESS ON FILE
Bobe Rodriguez, Jorge L       ADDRESS ON FILE
BOBE ROQUE, ANNETE            ADDRESS ON FILE
BOBE ROQUE, ANNETTE           ADDRESS ON FILE
BOBE ROQUE, MIGUEL A.         ADDRESS ON FILE
BOBE ROSARIO, ELIZABETH       ADDRESS ON FILE
BOBE ROSARIO, EMMANUEL        ADDRESS ON FILE
BOBE SALCEDO, CARLOS          ADDRESS ON FILE
BOBE SALCEDO, WILSON          ADDRESS ON FILE
BOBE SANTIAGO, LOURDES M.     ADDRESS ON FILE
BOBE SANTIAGO, YAMILETTE      ADDRESS ON FILE
BOBE SERRANO, MARUJA          ADDRESS ON FILE
BOBE SILVA, NELKIS S.         ADDRESS ON FILE
BOBE SILVA, SAMARIS           ADDRESS ON FILE
BOBE TORO, ANA I.             ADDRESS ON FILE
BOBEA DIAZ, CRISTINA          ADDRESS ON FILE
BOBEA SHULTZE, JOSE           ADDRESS ON FILE
BOBEFELICIANO, JUAN           ADDRESS ON FILE
BOBER, BRYAN                  ADDRESS ON FILE
BOBET CABRERA, JEAN R.        ADDRESS ON FILE
BOBET GARCIA, JULIANNE        ADDRESS ON FILE
BOBET QUILES, RUBEN O.        ADDRESS ON FILE
BOBET RODRIGUEZ, SAEL         ADDRESS ON FILE
BOBEVEGA, FELIX               ADDRESS ON FILE
BOBO MENCHO INC               PO BOX 1605 WALL STREET STATION                                                  NEW YORK     NY      10268‐1605
BOBONIS CABRERA, CARLA        ADDRESS ON FILE
BOBONIS CABRERA, NAYDA        ADDRESS ON FILE
BOBONIS CALO, OLGA            ADDRESS ON FILE
BOBONIS COLORADO, MIGUEL      ADDRESS ON FILE
BOBONIS DONATE, PAMELA        ADDRESS ON FILE
BOBONIS PASTRANA, AUREA I     ADDRESS ON FILE
BOBONIS PASTRANA, INDIA C     ADDRESS ON FILE
BOBONIS PEREZ, LUIS           ADDRESS ON FILE
BOBONIS PEREZ, LUIS ENRIQUE   ADDRESS ON FILE
BOBONIS QUILES, ROSALEEN      ADDRESS ON FILE
BOBONIS ROIG, ADA             ADDRESS ON FILE
BOBONIS VAZQUEZ, YARITZA      ADDRESS ON FILE
BOBONIS ZEQUEIRA, MARIA DEL   ADDRESS ON FILE
BOBONIS, MARGARITA            ADDRESS ON FILE
BOBORIS REXACH MD, JOSE E     ADDRESS ON FILE
BOBREN BISBAL, CARMEN V       ADDRESS ON FILE
BOBY S RESTAURANT             P O BOX 192934                                                                   SAN JUAN     PR      00919‐2934
BOBYN FIGUEROA, ALEXIS        ADDRESS ON FILE
BOBYN ROSADO, TAMARA          ADDRESS ON FILE
BOCACHICA AMADEO, YAHIRA      ADDRESS ON FILE
BOCACHICA ARROYO, CESAR       ADDRESS ON FILE
BOCACHICA CAMPOS, IRIS M      ADDRESS ON FILE
BOCACHICA CAMPOS, MARIA       ADDRESS ON FILE




                                                                           Page 902 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 903 of 3500
                                                                                                            Creditor Matrix

Creditor Name                            Address1                         Address2                                       Address3   Address4   City              State   PostalCode   Country
BOCACHICA COLON, ABIGAIL                 ADDRESS ON FILE
BOCACHICA COLON, DAMILI                  ADDRESS ON FILE
Bocachica Colon, Israel                  ADDRESS ON FILE
BOCACHICA COLON, MARIA I                 ADDRESS ON FILE
BOCACHICA COLON, MARITZA                 ADDRESS ON FILE
BOCACHICA COLON, MILAGROS                ADDRESS ON FILE
BOCACHICA COLON, YAHAIRA                 ADDRESS ON FILE
BOCACHICA LOPEZ, LUIS                    ADDRESS ON FILE
Bocachica Negron, Griselle               ADDRESS ON FILE
BOCACHICA NEGRON, SAMUEL                 ADDRESS ON FILE
BOCACHICA SALAMO, LUISA                  ADDRESS ON FILE
BOCACHICA SANTIAGO, CARLOS H             ADDRESS ON FILE
BOCACHICA VEGA, CARMEN M                 ADDRESS ON FILE
BOCACHICA VEGA, MYRZA E                  ADDRESS ON FILE
BOCANEGRA CARDE, LUZ                     ADDRESS ON FILE
BOCANEGRA CRUZ, INDIRA                   ADDRESS ON FILE
BOCANEGRA GONZALEZ, MARISEL              ADDRESS ON FILE
BOCANEGRA LOPEZ, WILMA                   ADDRESS ON FILE
BOCANEGRA NIEVES, AUREA                  ADDRESS ON FILE
Bocanegra Ortiz, Jose J.                 ADDRESS ON FILE
BOCCA PERPETUO, DIEGO                    ADDRESS ON FILE
BOCCARDO ASCANIO, MARIA                  ADDRESS ON FILE
BOCCHECIAM FUENTES, CHRISTOPHER          ADDRESS ON FILE
BOCCHECIAMP COREANO, IVELISSE            ADDRESS ON FILE
BODDEN FONTANA, MERCEDES                 ADDRESS ON FILE
BODDEN RAFFUCCI, MELANIE                 ADDRESS ON FILE
BODDEN TORRES, JOEL                      ADDRESS ON FILE
BODEGAS DE COMPOSTELA INC                106 AVE CONDADO                                                                                       SAN JUAN          PR      00907
BODEGAS ESPANOLAS ARGETINAS CORP         PO BOX 1654                                                                                           CANOVANAS         PR      00729
BODELO PASCUAL, MARIA                    ADDRESS ON FILE
BODIES THE EXHIBITION PUERTO RICO INC.   CTRO INTERNACIONAL DE MERCADEO   TORRE 1 SUITE 406 #100 CARR 165                                      GUAYNABO          PR      00968
BODNER MD , WILLIAM R                    ADDRESS ON FILE
BODNER VERGARA, JEAN                     ADDRESS ON FILE
BODON ACOSTA, ROBERTO                    ADDRESS ON FILE
BODON COLON, PABLO                       ADDRESS ON FILE
BODON GARCIA, CARMEN L                   ADDRESS ON FILE
BODON GARCIA,ANGEL L.                    ADDRESS ON FILE
BODON GONZALEZ, IGNA I.                  ADDRESS ON FILE
BODON LABOY, LISSETTE                    ADDRESS ON FILE
BODON RAMOS, JOSE A.                     ADDRESS ON FILE
BODON RIOS, IRVIN A                      ADDRESS ON FILE
BODON VARGAS, DARY                       ADDRESS ON FILE
BODON VARGAS, DORY                       ADDRESS ON FILE
BODON VAZQUEZ, JUANITA                   ADDRESS ON FILE
BODOY MALDONADO, NELIDA                  ADDRESS ON FILE
BODY BY BOSCARINO INC                    AVE. PONCE DE LEON EDIF. 9006    APT. 3A                                                              SAN JUAN          PR      00907
BODY WORKS AUTO                          PARQUE IND EL COMANDANTE         EDIF ANEXO 1                                                         CAROLINA          PR      00982
BODYMAKERS TRAINING COMPLEX, INC         PO BOX 868                                                                                            TRUJILLO ALTO     PR      00977
BOERAS PUPO MD, LUIS C                   ADDRESS ON FILE
BOERAS PUPO, LUIS                        ADDRESS ON FILE
BOFFIL TORRUELLAS, EDGARDO               ADDRESS ON FILE
BOFILL CALERO, JAIME O                   ADDRESS ON FILE
BOFILL CALERO, SYLVIA                    ADDRESS ON FILE
BOFILL GARCIA, ALIETTE                   ADDRESS ON FILE
BOFILL MARINI, RALPH                     ADDRESS ON FILE
BOGDEL FIGUEROA, WANDA                   ADDRESS ON FILE
BOGER MARADIAGA LOPEZ                    ADDRESS ON FILE
BOGLEY, JAMES                            ADDRESS ON FILE
BOGLIO MARTINEZ, AIMEE                   ADDRESS ON FILE
BOGLIO RENTAS, CARLOS                    ADDRESS ON FILE




                                                                                                       Page 903 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 904 of 3500
                                                                                                Creditor Matrix

Creditor Name                      Address1                           Address2                               Address3   Address4   City              State   PostalCode   Country
BOGOLJUBSKIJ NFGODNOV, SERGIO      ADDRESS ON FILE
BOHN SAUVETERRE, JO EPRISE         ADDRESS ON FILE
BOHN SAUVETERRE, JONTUE            ADDRESS ON FILE
BOHORQUEZ BERMUDEZ, JOHANA         ADDRESS ON FILE
BOIGUES ESTEVES, MANUEL A          ADDRESS ON FILE
BOIGUES ROSADO, MARIA C            ADDRESS ON FILE
BOISE SPORTS CHIROPRACTIC CLINIC   BOISE SPORTS CHIROPRACTIC CLINIC   3314 N COLE RD                                               BOISE             ID      83704
BOISEN TORRES, AGUSTIN             ADDRESS ON FILE
BOISSEN ALVAREZ, MYRNA             ADDRESS ON FILE
Boissen Robles, Carlos             ADDRESS ON FILE
BOJITO BERNABE, DORIS              ADDRESS ON FILE
BOJITO BERNABE, JORGE A            ADDRESS ON FILE
BOJITO BERNABE, VILMA M            ADDRESS ON FILE
BOJITO MARRERO, CYNTHIA            ADDRESS ON FILE
Bojos Mora, Rafael F               ADDRESS ON FILE
BOKEANA CORP                       PO BOX 2554                                                                                     SAN GERMAN        PR      00683
BOKLAN MONSERRATE, WILLIAM         ADDRESS ON FILE
BOLAÑO HERNANDEZ MD, YESMIN        ADDRESS ON FILE
BOLAÑOS AVILA MD, GUILLERMO        ADDRESS ON FILE
BOLAÑOS AVILA MD, GUILLERMO E      ADDRESS ON FILE
BOLANOS HERNANDEZ, YEZMIN          ADDRESS ON FILE
BOLANOS LUGO, KATIUSKA             ADDRESS ON FILE
BOLANOS RAMOS, EDUARDO             ADDRESS ON FILE
BOLANOS SURGICAL SERVICES          URB COSTA CARIBE                   1249 CALLE DON QUIJOTE                                       PONCE             PR      00716‐2022
BOLANOS TORRES, ANGEL              ADDRESS ON FILE
BOLDEN, ANDREW                     ADDRESS ON FILE
BOLENOS SANCHEZ, FELIPE            ADDRESS ON FILE
BOLERA CARIBE INC                  PO BOX 800484                                                                                   COTO LAUREL       PR      00780‐0484
BOLERIN RIVERA, ANTONIA            ADDRESS ON FILE
BOLEY KOENIG CENTER                MEDICAL RECORDS                    647 34TH AVE S                                               ST PETERSBURG     FL      33705‐3730
BOLIER MIRANDA, EVELYN             ADDRESS ON FILE
BOLIER MIRANDA, PETER              ADDRESS ON FILE
BOLIVAR CASTRO, SANDRA             ADDRESS ON FILE
BOLIVAR G OCHART RESTO             ADDRESS ON FILE
BOLIVAR GOMEZ GUZMAN               ADDRESS ON FILE
BOLIVAR MORALES GONZALEZ           ADDRESS ON FILE
BOLIVAR PASARELL, PEDRO            ADDRESS ON FILE
BOLIVAR PATINO ARCA                ADDRESS ON FILE
BOLIVAR VILLAMIL, FEDERICO         ADDRESS ON FILE
BOLIVAR VINCENTY, CARLOS           ADDRESS ON FILE
BOLLA MD, RAVISANKAR               ADDRESS ON FILE
BOLLING DIAZ, OSVALDO              ADDRESS ON FILE
BOLLING TORRES, ROY O.             ADDRESS ON FILE
BOLO MUSIC SHOW INC                URB ROUND HLS                      639 CALLE VIOLETA                                            TRUJILLO ALTO     PR      00976‐2716
BOLORIN AQUINO, ARLENE             ADDRESS ON FILE
BOLORIN AQUINO, YAZMIN             ADDRESS ON FILE
BOLORIN ORTIZ, NIRLSA M            ADDRESS ON FILE
BOLORIN ORTIZ, YAJAIRA             ADDRESS ON FILE
BOLORIN ORTIZ, YAJAIRA             ADDRESS ON FILE
BOLORIN PEREZ, ANGEL K             ADDRESS ON FILE
BOLORIN RIVERA, JOSE A             ADDRESS ON FILE
BOLORIN RUIZ, NAOR                 ADDRESS ON FILE
BOLORIN RUIZ,NAORIS                ADDRESS ON FILE
BOLORIN SANTIAGO, JOHANNA          ADDRESS ON FILE
BOLORIN SANTIAGO, ROBERTO          ADDRESS ON FILE
BOLORIN SOLIVAN, AMARYS V.         ADDRESS ON FILE
BOLORIN TORRES, JOSE               ADDRESS ON FILE
BOLOS TRANSPORT CORP               HC 6 BOX 12057                                                                                  SAN SEBASTIAN     PR      00685‐9854
BOLQUES SANTIAGO, FEDERICO         ADDRESS ON FILE
BOLQUES SANTIAGO, FEDERICO         ADDRESS ON FILE




                                                                                               Page 904 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 905 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BOLUFER ROMERO, ROBERTO           ADDRESS ON FILE
BOLUFFER LOPEZ, NAYTASHKA         ADDRESS ON FILE
BOMB RAFAEL ALAMO COLON           ADDRESS ON FILE
BOMBALIER BERRIOS, JORGE          ADDRESS ON FILE
BOMPART RIVERA, RUTH              ADDRESS ON FILE
BON CORIS, MODESTO                ADDRESS ON FILE
BON CORUJO, MARI                  ADDRESS ON FILE
BON CORUJO, MARI LINNE            ADDRESS ON FILE
BON CORUJO, MARIA                 ADDRESS ON FILE
Bon Corujo, Maria D Pilar         ADDRESS ON FILE
BON MILLAN, GLENDALIZ             ADDRESS ON FILE
BON MILLAN, GLENDALIZ             ADDRESS ON FILE
BON MORALES, MIGUEL               ADDRESS ON FILE
BON MORALES, RAFAEL               ADDRESS ON FILE
BON NAZARIO, CARMEN A             ADDRESS ON FILE
BON NAZARIO, LUIS                 ADDRESS ON FILE
BON RIVERA, MARIA A               ADDRESS ON FILE
BON SANTIAGO, ERIC                ADDRESS ON FILE
BON, JORGE                        ADDRESS ON FILE
BONA I LOPEZ AVILES               ADDRESS ON FILE
BONAFE TORO, ALITZA               ADDRESS ON FILE
BONAFE TORO, ALITZA               ADDRESS ON FILE
BONAFE TORO, MARITZA              ADDRESS ON FILE
BONAFONT SOLIS, MORAIMA           ADDRESS ON FILE
BONAFONTE CIMIANO, MARIA TERESA   ADDRESS ON FILE
BONAIRE CLEANERS                  CENTRO COMERCIAL                                                                 GUAYNABO     PR      00965
BONAIRE GLASS                     P.O. BOX 6547                                                                    BAYAMON      PR      00980‐9008
BONAIRE L.R. INC.                 PO BOX 6547                                                                      BAYAMON      PR      00960‐9006
BONAL CEBALLOS, JOSE A            ADDRESS ON FILE
BONAL CEBALLOS, MANUEL            ADDRESS ON FILE
BONANO ALTRUZ, ELIZABETH J        ADDRESS ON FILE
Bonano Aponte, Marybell           ADDRESS ON FILE
BONANO BONILLA, DIANE             ADDRESS ON FILE
BONANO BURGOS, FRANCISCO A.       ADDRESS ON FILE
BONANO CAPO, BENJAMIN             ADDRESS ON FILE
BONANO CASILLAS, BENJAMIN         ADDRESS ON FILE
BONANO CASILLAS, CARMEN V         ADDRESS ON FILE
BONANO CASILLAS, LUIS             ADDRESS ON FILE
BONANO CASILLAS, NIVEA E          ADDRESS ON FILE
BONANO CINTRON, ANGEL             ADDRESS ON FILE
BONANO CINTRON, DAVID             ADDRESS ON FILE
BONANO DIAZ, LUZ M                ADDRESS ON FILE
BONANO DIAZ, RAFAEL               ADDRESS ON FILE
Bonano Figueroa, Magdiel          ADDRESS ON FILE
BONANO FIGUEROA, MIGUEL           ADDRESS ON FILE
Bonano Figueroa, Miguel A.        ADDRESS ON FILE
BONANO FIGUEROA, RAMON            ADDRESS ON FILE
BONANO FLORES, JUAN               ADDRESS ON FILE
BONANO GONZALEZ, CHAMIR Y         ADDRESS ON FILE
BONANO GOTAY, MARIA DEL C         ADDRESS ON FILE
BONANO HERNANDEZ, ANDRINNETTE     ADDRESS ON FILE
BONANO HERNANDEZ, ERIKA           ADDRESS ON FILE
BONANO HERNANDEZ, NORMA JOHANA    ADDRESS ON FILE
BONANO HERRERA, EDGAR             ADDRESS ON FILE
BONANO MARQUEZ, ED                ADDRESS ON FILE
BONANO MARQUEZ, SANDRA E.         ADDRESS ON FILE
BONANO MARTINEZ, JOSE             ADDRESS ON FILE
BONANO MAS, JEANNETTE             ADDRESS ON FILE
BONANO MENDOZA, ORLANDO           ADDRESS ON FILE
BONANO MERCADO, LUIS M.           ADDRESS ON FILE




                                                                              Page 905 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 906 of 3500
                                                                               Creditor Matrix

Creditor Name                    Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
BONANO NIEVES, EDGARDO           ADDRESS ON FILE
BONANO ORTIZ, MIGDALIA           ADDRESS ON FILE
BONANO ORTIZ, RAMONA             ADDRESS ON FILE
BONANO PEREZ, YASHIRA            ADDRESS ON FILE
BONANO RAMIREZ, YASHIRA          ADDRESS ON FILE
BONANO RAMOS, MILAGROS           ADDRESS ON FILE
Bonano Rexach, Oscar             ADDRESS ON FILE
BONANO RIVERA, JENIFFER          ADDRESS ON FILE
BONANO RIVERA, MARTHA            ADDRESS ON FILE
BONANO ROBERTO, RAMIRO           ADDRESS ON FILE
BONANO RODRIGUEZ, MIGUEL A.      ADDRESS ON FILE
BONANO RODRIGUEZ, RIGOBERTO      ADDRESS ON FILE
BONANO RODRIGUEZ, TATIANA        ADDRESS ON FILE
BONANO RODRIGUEZ, VANESSA        ADDRESS ON FILE
BONANO RODRIGUEZ, VANESSA        ADDRESS ON FILE
BONANO ROSA, LINDA I             ADDRESS ON FILE
BONANO ROSARIO, MARIA DE LOS A   ADDRESS ON FILE
BONANO RUIZ, JOSE E              ADDRESS ON FILE
BONANO RUIZ, MARGARITA           ADDRESS ON FILE
BONANO SANTIAGO, AMERVIM         ADDRESS ON FILE
BONANO SANTIAGO, RUBEN A.        ADDRESS ON FILE
BONANO SILVA, MYRNA              ADDRESS ON FILE
BONANO SINDO, ROSA               ADDRESS ON FILE
BONANO SINDO, ROSA               ADDRESS ON FILE
BONANO VALLE, CARLA              ADDRESS ON FILE
BONANO VALLE, GLADYMAR           ADDRESS ON FILE
BONANO VARGAS, LUZ N             ADDRESS ON FILE
BONANO VAZQUEZ, ERICK            ADDRESS ON FILE
BONANO VAZQUEZ, JESSICA          ADDRESS ON FILE
BONANO VAZQUEZ, LUIS R           ADDRESS ON FILE
Bonano Vega, Myrna E             ADDRESS ON FILE
Bonano Velez, Gabriel            ADDRESS ON FILE
Bonano Velez, Gerardo            ADDRESS ON FILE
BONANO VILLAREAL, MARIA P.       ADDRESS ON FILE
BONANO VILLAREAL, MIGUEL         ADDRESS ON FILE
BONANO VILLAREAL, RUBEN          ADDRESS ON FILE
BONANO VILLARREAL, JOHNNY        ADDRESS ON FILE
BONANO, MICHAEL                  ADDRESS ON FILE
BONAPARTE GOMEZ, IRELA           ADDRESS ON FILE
BONAPARTE MORALES, SYLVIA        ADDRESS ON FILE
BONAPARTE PAGAN, WILLIAM         ADDRESS ON FILE
BONAR BLANCO, GRETCHEN           ADDRESS ON FILE
BONARD INTERNATIONAL CORP        URB FAIRVIEW                 B 13 CALLE 1                                        SAN JUAN     PR      00920
BONARD INTERNATIONAL CORP.       URB. FAIRVIEW B‐13 CALLE 1                                                       SAN JUAN     PR      00920
BONCENOR NUNEZ, VARINIA          ADDRESS ON FILE
BONCO S.E.                       P.O. BOX 6056                LIOZA STATION                                       SAN JUAN     PR      00914‐0000
BOND, ELAINE                     ADDRESS ON FILE
BONE FIX INNOVATION, INC         PO BOX 9010                                                                      CAROLINA     PR      00988‐9010
BONE GIBOYEAUX, CRUCITA          ADDRESS ON FILE
BONEA ORTIZ, CHRISTIAN G         ADDRESS ON FILE
BONEFONT GONZALEZ, GENARO        ADDRESS ON FILE
BONEFONT GONZALEZ, PATRICIA      ADDRESS ON FILE
BONEFONT SANTANA, ALEX           ADDRESS ON FILE
BONEFONT SANTANA, ALEX           ADDRESS ON FILE
BONEFONT SANTANA, CARLOS         ADDRESS ON FILE
BONEFONT,ALEX                    ADDRESS ON FILE
BONELLI BERRIOS, JOSE            ADDRESS ON FILE
BONELLI CORRAL, LORENZA DEL C.   ADDRESS ON FILE
BONELLI NUNEZ, YUBERIS           ADDRESS ON FILE
BONER ELECTRONICS                PO BOX 6153                                                                      CAGUAS       PR      00726‐6153




                                                                              Page 906 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 907 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Bones Alvarado, Enrique      ADDRESS ON FILE
BONES ALVARADO, QUIMARY      ADDRESS ON FILE
BONES ANTUNA, MARIA DEL C.   ADDRESS ON FILE
BONES BERRIOS, ADA           ADDRESS ON FILE
Bones Blas, Alexander        ADDRESS ON FILE
BONES BLAS, ZULINET          ADDRESS ON FILE
BONES COLON, DESSY           ADDRESS ON FILE
BONES COLON, DESSY           ADDRESS ON FILE
BONES COLON, ERIC S.         ADDRESS ON FILE
BONES COLON, IVAN            ADDRESS ON FILE
BONES COLON, JACQUELINE      ADDRESS ON FILE
BONES COLON, LUIS F          ADDRESS ON FILE
BONES CORA, CARLOS A         ADDRESS ON FILE
BONES CORA, GERARDO          ADDRESS ON FILE
BONES CORA, LUIS             ADDRESS ON FILE
Bones Cora, Nestor A         ADDRESS ON FILE
BONES CRUZ, DEONILDA         ADDRESS ON FILE
Bones Cruz, Francisco        ADDRESS ON FILE
BONES CRUZ, HECTOR           ADDRESS ON FILE
BONES DE JESUS, ALFREDO      ADDRESS ON FILE
BONES DIAZ, HARRY            ADDRESS ON FILE
BONES DIAZ, NORMA            ADDRESS ON FILE
BONES FLORES, DIONISIO       ADDRESS ON FILE
BONES FLORES, DIONISIO       ADDRESS ON FILE
BONES GONZALEZ, CARLOS       ADDRESS ON FILE
BONES GONZALEZ, HECTOR       ADDRESS ON FILE
Bones Gonzalez, Hector L     ADDRESS ON FILE
BONES GONZALEZ, JOEY         ADDRESS ON FILE
BONES GONZALEZ, NYRMA A.     ADDRESS ON FILE
BONES LEBRON, JULIA          ADDRESS ON FILE
BONES LEBRON, NIEVES         ADDRESS ON FILE
BONES MELENDEZ, CARMEN       ADDRESS ON FILE
BONES MELENDEZ, MARIA A      ADDRESS ON FILE
BONES MORALES, CARMEN I.     ADDRESS ON FILE
Bones Nazario, Luis A        ADDRESS ON FILE
BONES NAZARIO, MARIBEL       ADDRESS ON FILE
BONES ORTIZ, AIDA L          ADDRESS ON FILE
BONES ORTIZ, MILAGROS        ADDRESS ON FILE
BONES ORTIZ, OSVALDO         ADDRESS ON FILE
BONES ORTIZ, PAULINA         ADDRESS ON FILE
BONES RIVERA, HECTOR         ADDRESS ON FILE
BONES RIVERA, SYLVIA L       ADDRESS ON FILE
BONES RIVERA, YOLIMAR O.     ADDRESS ON FILE
BONES RODRIGUEZ, MARILIA     ADDRESS ON FILE
BONES RODRIGUEZ, RAPHAEL     ADDRESS ON FILE
BONES ROSA, LUIS M           ADDRESS ON FILE
BONES ROSARIO, MELVIN        ADDRESS ON FILE
BONES SALAMAN, EDMUNDO       ADDRESS ON FILE
BONES SANABRIA, SANTA        ADDRESS ON FILE
BONES SANTANA, LUZ           ADDRESS ON FILE
BONES VELAZQUEZ, WILLIAM     ADDRESS ON FILE
BONES, MARILYN               ADDRESS ON FILE
BONET ACOSTA, HILDA I        ADDRESS ON FILE
BONET AGUDO, TERESA          ADDRESS ON FILE
BONET ALFARO, GABRIEL A      ADDRESS ON FILE
BONET ALFARO, MARIA M        ADDRESS ON FILE
BONET ALFARO, SANTIAGO       ADDRESS ON FILE
BONET ALICEA, ANA W          ADDRESS ON FILE
BONET ALICEA, IRIS M         ADDRESS ON FILE
BONET ARIZMENDI, MARIA E     ADDRESS ON FILE




                                                                         Page 907 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 908 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONET ARROYO, JESUS          ADDRESS ON FILE
BONET ARROYO, MARIROSA       ADDRESS ON FILE
BONET AYBAR, LUZ             ADDRESS ON FILE
BONET AYENDEZ, JUAN D        ADDRESS ON FILE
Bonet Ayendez, Wilfredo      ADDRESS ON FILE
Bonet Barbosa, Irving        ADDRESS ON FILE
BONET BERMUDEZ, SONIETTE     ADDRESS ON FILE
BONET BETANCES, LIZ MARIE    ADDRESS ON FILE
BONET BONET, JESSIE          ADDRESS ON FILE
BONET BRETTO, MARC           ADDRESS ON FILE
BONET CABAN, DAISY           ADDRESS ON FILE
BONET CAMACHO, EDDIE W       ADDRESS ON FILE
BONET CANDELARIA, ANGEL L.   ADDRESS ON FILE
BONET CARDONA, MARTA V       ADDRESS ON FILE
BONET CARDONA, RICHARD       ADDRESS ON FILE
BONET CARDONA, ROSA M        ADDRESS ON FILE
BONET CARO, MILDRED          ADDRESS ON FILE
BONET CARO, RICHARD          ADDRESS ON FILE
Bonet Casiano, Omar          ADDRESS ON FILE
BONET CEDENO, EMMA ROSA      ADDRESS ON FILE
BONET COLON, KAMILA          ADDRESS ON FILE
Bonet Concepcion, Yancel M   ADDRESS ON FILE
Bonet Cruz, Olga I           ADDRESS ON FILE
BONET CRUZ, WASSILLY JUAN    ADDRESS ON FILE
BONET DE JESUS, JANET        ADDRESS ON FILE
BONET DE JESUS, ROSALIA      ADDRESS ON FILE
Bonet Decodet, Hector E      ADDRESS ON FILE
BONET DEL RIO, MADELLIN      ADDRESS ON FILE
BONET DIAZ, RAMONITA         ADDRESS ON FILE
BONET ECHEVARRIA, MADELINE   ADDRESS ON FILE
BONET ELIAS, LISMARY         ADDRESS ON FILE
BONET FANTAUZZI, SANDRA L    ADDRESS ON FILE
BONET FERNANDEZ, ILEANA M.   ADDRESS ON FILE
BONET FIGUEROA, RUBEN        ADDRESS ON FILE
BONET GALAN, ENILDA          ADDRESS ON FILE
BONET GASCOT, JEANETTE       ADDRESS ON FILE
BONET GAUDIER, CARMEN M      ADDRESS ON FILE
BONET GAUTIER, MARIA A.      ADDRESS ON FILE
BONET GONZALEZ, ALICE        ADDRESS ON FILE
Bonet Gonzalez, David        ADDRESS ON FILE
BONET GONZALEZ, EDWIN J      ADDRESS ON FILE
BONET GONZALEZ, IVETTE       ADDRESS ON FILE
BONET GONZALEZ, NELIDA       ADDRESS ON FILE
BONET GUERRA, SONIA I        ADDRESS ON FILE
BONET HARRIS, PEDRO          ADDRESS ON FILE
BONET HERNANDEZ, ANGEL R     ADDRESS ON FILE
BONET JUSTINIANO, DAVID      ADDRESS ON FILE
BONET JUSTINIANO, DELIA      ADDRESS ON FILE
BONET JUSTINIANO, HIRAM      ADDRESS ON FILE
Bonet Justiniano, Hiram      ADDRESS ON FILE
BONET JUSTINIANO, MIRIAM     ADDRESS ON FILE
BONET LEBRON, MARIBEL        ADDRESS ON FILE
BONET LOPEZ, ALICE M         ADDRESS ON FILE
BONET LOPEZ, EDWIN           ADDRESS ON FILE
BONET LOPEZ, FRANCIS         ADDRESS ON FILE
BONET LOPEZ, MAYRA           ADDRESS ON FILE
BONET LORENZO, NELSON        ADDRESS ON FILE
BONET MALDONADO, LUZ         ADDRESS ON FILE
BONET MALDONADO, LUZ E       ADDRESS ON FILE
BONET MARQUEZ, JORGE Y       ADDRESS ON FILE




                                                                         Page 908 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 909 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONET MARTINEZ, KAREN        ADDRESS ON FILE
BONET MENDEZ, ELVA           ADDRESS ON FILE
BONET MENDEZ, YOLANDA        ADDRESS ON FILE
Bonet Mercado, Joaquin       ADDRESS ON FILE
BONET MERCIER, CHARISSE      ADDRESS ON FILE
BONET MOJICA, DONNA          ADDRESS ON FILE
Bonet Morales, Betty         ADDRESS ON FILE
BONET MORENO, GISSELLE       ADDRESS ON FILE
BONET MORENO, NELSON         ADDRESS ON FILE
Bonet Munoz, Melba           ADDRESS ON FILE
BONET MUNOZ, MIGDALIA        ADDRESS ON FILE
Bonet Munoz, Nelson          ADDRESS ON FILE
Bonet Munoz, William         ADDRESS ON FILE
BONET MUQOZ, MIGUEL          ADDRESS ON FILE
BONET NEGRON, MARIA          ADDRESS ON FILE
BONET NEGRON, MILDRED        ADDRESS ON FILE
BONET OJEDA, DANIEL D        ADDRESS ON FILE
BONET OJEDA, ROXANNE         ADDRESS ON FILE
BONET ORSINI, SOL M          ADDRESS ON FILE
BONET ORTIZ, BETZAIDA        ADDRESS ON FILE
BONET ORTIZ, JOSE F.         ADDRESS ON FILE
BONET ORTIZ, MELANIE         ADDRESS ON FILE
BONET ORTIZ, MELVIN          ADDRESS ON FILE
BONET ORTIZ, RICHARD         ADDRESS ON FILE
Bonet Padilla, Miguel A      ADDRESS ON FILE
BONET PAGAN, SANDRA          ADDRESS ON FILE
BONET PAGAN, YARA            ADDRESS ON FILE
BONET PEREZ, IRIS            ADDRESS ON FILE
BONET PEREZ, JESSICA         ADDRESS ON FILE
BONET PLAZA, GLADELINE       ADDRESS ON FILE
Bonet Quiles, Carlos David   ADDRESS ON FILE
BONET QUINONES, JUAN         ADDRESS ON FILE
BONET QUINONES, MIGUEL R.    ADDRESS ON FILE
BONET RAMOS, DAISY           ADDRESS ON FILE
BONET RAMOS, GLADYS          ADDRESS ON FILE
BONET RAMOS, MANUEL          ADDRESS ON FILE
BONET RAMOS, MIGUEL A        ADDRESS ON FILE
BONET REYES, JOSE J.         ADDRESS ON FILE
BONET RIVERA, CARLOS         ADDRESS ON FILE
BONET RIVERA, DAVID          ADDRESS ON FILE
BONET RIVERA, FRANCISCO      ADDRESS ON FILE
BONET RIVERA, IVETTE         ADDRESS ON FILE
BONET RIVERA, JONATHAN       ADDRESS ON FILE
BONET RIVERA, JONATHAN       ADDRESS ON FILE
BONET RIVERA, KRIS           ADDRESS ON FILE
BONET RIVERA, ROSA M.        ADDRESS ON FILE
BONET RIVERA, ROSA M.        ADDRESS ON FILE
BONET RIVERA, THAIS          ADDRESS ON FILE
BONET RODRIGUEZ, JOAQUINA    ADDRESS ON FILE
BONET ROJAS, ELIZABETH       ADDRESS ON FILE
BONET ROLON, ANA C.          ADDRESS ON FILE
BONET ROLON, BRUNILDA        ADDRESS ON FILE
BONET ROMAN, SHEILA          ADDRESS ON FILE
BONET ROSADO, CARLOS         ADDRESS ON FILE
BONET ROSADO, KAREN M        ADDRESS ON FILE
BONET ROSADO, KAREN M        ADDRESS ON FILE
BONET RUIZ, MARIA E          ADDRESS ON FILE
BONET RUIZ, NELSON A         ADDRESS ON FILE
BONET SANCHEZ, ANDRES        ADDRESS ON FILE
BONET SANCHEZ, EMILIO J      ADDRESS ON FILE




                                                                         Page 909 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 910 of 3500
                                                                                                Creditor Matrix

Creditor Name                  Address1                                Address2                              Address3            Address4       City         State   PostalCode   Country
BONET SANCHEZ, MELANIE M       ADDRESS ON FILE
BONET SANTANA, JANNICE MARIE   ADDRESS ON FILE
BONET SANTIAGO, AMARILIS       ADDRESS ON FILE
BONET SANTIAGO, FELIX M.       ADDRESS ON FILE
BONET SANTIAGO, JUAN           ADDRESS ON FILE
BONET SANTIAGO, JUAN C         ADDRESS ON FILE
Bonet Santiago, Miguel         ADDRESS ON FILE
Bonet Santoni, Israel          ADDRESS ON FILE
BONET SEPULVEDA, MARIANNE E    ADDRESS ON FILE
                                                                                                             NÚM. 1150 CARR. NÚM.
BONET SILVA, ALEX O.           LCDA. SHEILA PELLOT CESTERO; CARLOS MARRERCOLINAS DEL BOSQUE                  2                    APARTADO 46   Bayamón      PR      00959
BONET SILVA, ALEX O.           LCDO. ENRIQUE PELLOT CÓRDOVA              GRUPO ADVOCATUS CSP                 PO BOX 362146                      SAN JUAN     PR      00936‐2146
BONET SILVA, ALEX OMAR         ADDRESS ON FILE
BONET THOMPSON, RAFAEL         ADDRESS ON FILE
BONET TILLERO, CAMILA          ADDRESS ON FILE
BONET TIRADO, BETHZAIDA        ADDRESS ON FILE
BONET TIRADO, DOEL             ADDRESS ON FILE
BONET TIRADO, OMAR             ADDRESS ON FILE
BONET TORRES, ABNER            ADDRESS ON FILE
BONET TORRES, ANTHONY          ADDRESS ON FILE
BONET TORRES, ARLENE           ADDRESS ON FILE
BONET TORRES, FRANCISCO        ADDRESS ON FILE
BONET TORRES, SANTA I          ADDRESS ON FILE
BONET TRINIDAD, GLORIA         ADDRESS ON FILE
BONET VALENTIN, IVAN           ADDRESS ON FILE
Bonet Valentin, William        ADDRESS ON FILE
Bonet Valle, Jose A.           ADDRESS ON FILE
BONET VALLES, JOSE A           ADDRESS ON FILE
BONET VARELA, ALBERTO          ADDRESS ON FILE
BONET VAZQUEZ, CARLOS EMIL     ADDRESS ON FILE
BONET VAZQUEZ, CARMEN L        ADDRESS ON FILE
BONET VAZQUEZ, CHARILUZ        ADDRESS ON FILE
BONET VAZQUEZ, JOANNIE         ADDRESS ON FILE
BONET VEGA, DAMARIS            ADDRESS ON FILE
BONET VELEZ, IVETTE            ADDRESS ON FILE
BONET, RAMON                   ADDRESS ON FILE
BONET,MIGUEL                   ADDRESS ON FILE
BONETA ALCOVER, ELVIN          ADDRESS ON FILE
BONETA ALCOVER, INGRID         ADDRESS ON FILE
BONETA ARROYO, LILLIAM         ADDRESS ON FILE
BONETA CRUZ, LILLIANA          ADDRESS ON FILE
BONETA CRUZ, YANIRE            ADDRESS ON FILE
BONETA CRUZ, YESENIA           ADDRESS ON FILE
BONETA DUENO, MARESA           ADDRESS ON FILE
BONETA HILVERSUM, BRENDA M     ADDRESS ON FILE
BONETA LOPEZ, EDNA M           ADDRESS ON FILE
BONETA LOPEZ, NELIDA           ADDRESS ON FILE
BONETA MARTINEZ, MAYRA         ADDRESS ON FILE
BONETA MONTALVO, MARCOS J      ADDRESS ON FILE
BONETA PARRILLA, VANESSA       ADDRESS ON FILE
BONETA ROMAN, ANIBAL           ADDRESS ON FILE
BONETA SOTO, MAYRA             ADDRESS ON FILE
BONETA SOTOMAYOR, LUIS         ADDRESS ON FILE
BONETA VELEZ, DEBBIE           ADDRESS ON FILE
BONETA VELEZ, WENDY            ADDRESS ON FILE
BONETA VILA, EDNA              ADDRESS ON FILE
BONEU JIMENEZ, NESTOR          ADDRESS ON FILE
BONEU JIMENEZ, NESTOR L.       ADDRESS ON FILE
BONEU MELENDEZ, CLAUDIA X      ADDRESS ON FILE
BONEU MERCADO, LUCAS           ADDRESS ON FILE




                                                                                               Page 910 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 911 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONEU MORALES, ILLIA M                ADDRESS ON FILE
BONEU MORALES, JESUS                  ADDRESS ON FILE
BONEU OROPEZA, FRANCISCO              ADDRESS ON FILE
BONEU OROPEZA, LUCAS E                ADDRESS ON FILE
BONEU OROPEZA, LUZ ENEIDA             ADDRESS ON FILE
BONEW VARELA, FROILAN                 ADDRESS ON FILE
BONHOME FIGUEROA, CARMEN M            ADDRESS ON FILE
BONHOME FIGUEROA, RAMONA              ADDRESS ON FILE
BONHOME FLEBLES, DOLORES M.           ADDRESS ON FILE
BONHOMME CRUZ, MILDRED                ADDRESS ON FILE
BONHOMME FIGUEROA, GLORIA E.          ADDRESS ON FILE
BONHOMME PEREZ, CARMEN M              ADDRESS ON FILE
BONHOMME PEREZ, RAFAEL N              ADDRESS ON FILE
BONHOMME, VANESSA                     ADDRESS ON FILE
BONIFACIA DOMINGUEZ VALERA            ADDRESS ON FILE
BONIFACIA SAMBOYS DIAZ                ADDRESS ON FILE
BONIFACIO APONTE                      ADDRESS ON FILE
BONIFACIO BORRERO / JEFFREY BORRERO   ADDRESS ON FILE
BONIFACIO MATOS PEREZ                 ADDRESS ON FILE
BONIFACIO MERCADO, MYRTA Y.           ADDRESS ON FILE
BONIFACIO NIEVES MENDEZ               ADDRESS ON FILE
BONIFACIO ORTIZ ARROYO                ADDRESS ON FILE
BONIFACIO RIVERA SANCHEZ              ADDRESS ON FILE
BONIFACIO ROSARIO, ESTHER             ADDRESS ON FILE
BONIFACIO TIRADO VELEZ                ADDRESS ON FILE
BONILLA ACEVEDO, AIDA                 ADDRESS ON FILE
BONILLA ACEVEDO, DANIEL               ADDRESS ON FILE
BONILLA ACEVEDO, ELIZABETH            ADDRESS ON FILE
BONILLA ACEVEDO, ELIZABETH            ADDRESS ON FILE
BONILLA ACEVEDO, FELIX                ADDRESS ON FILE
BONILLA ACEVEDO, LORRAINE             ADDRESS ON FILE
BONILLA ACEVEDO, MAGDALENA            ADDRESS ON FILE
BONILLA ACEVEDO, ROSA D               ADDRESS ON FILE
BONILLA ACEVEDO, WILDANNY             ADDRESS ON FILE
BONILLA ACOSTA, DEYANIRA              ADDRESS ON FILE
BONILLA ACOSTA, HECTOR L              ADDRESS ON FILE
BONILLA ACOSTA, MYRNA S               ADDRESS ON FILE
BONILLA ACOSTA, YAMIL                 ADDRESS ON FILE
BONILLA ADAMES, NILSA I               ADDRESS ON FILE
BONILLA AGOSTO, GEORGE                ADDRESS ON FILE
BONILLA AGOSTO, GEORGE E              ADDRESS ON FILE
BONILLA AGOSTO, LOLA C.               ADDRESS ON FILE
BONILLA AGUAYO, YADIEL                ADDRESS ON FILE
BONILLA AGUERON, MABEL                ADDRESS ON FILE
BONILLA AGUIRRE, JOSE M.              ADDRESS ON FILE
BONILLA AGUIRRE, MARITZA              ADDRESS ON FILE
Bonilla Alamo, Gaddiel                ADDRESS ON FILE
BONILLA ALAMO, RODNEY                 ADDRESS ON FILE
BONILLA ALAMO, SHARAIE                ADDRESS ON FILE
BONILLA ALBINO, ANGEL                 ADDRESS ON FILE
BONILLA ALEQUIN, EDIL                 ADDRESS ON FILE
BONILLA ALFALLA, RANDHIR              ADDRESS ON FILE
BONILLA ALFALLA, XAVIER               ADDRESS ON FILE
BONILLA ALFALLA,RANDHIR               ADDRESS ON FILE
BONILLA ALFONSO, CARLOS A             ADDRESS ON FILE
BONILLA ALICEA, ALTAGRACIA            ADDRESS ON FILE
BONILLA ALICEA, JORGE                 ADDRESS ON FILE
BONILLA ALICEA, MADELYN               ADDRESS ON FILE
BONILLA ALICEA, MARI CARMEN           ADDRESS ON FILE
BONILLA ALICEA, MIGDALIA              ADDRESS ON FILE




                                                                                  Page 911 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 912 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA ALICEA, MONSERRATE      ADDRESS ON FILE
BONILLA ALMEDINA, ANTONIO       ADDRESS ON FILE
BONILLA ALVARADO, ANDRES        ADDRESS ON FILE
Bonilla Alvarado, Christian     ADDRESS ON FILE
BONILLA ALVARADO, CHRISTIAN     ADDRESS ON FILE
BONILLA ALVARADO, PEDRO J.      ADDRESS ON FILE
BONILLA ALVAREZ, EUGENIO        ADDRESS ON FILE
BONILLA ALVAREZ, ORLANDO        ADDRESS ON FILE
BONILLA ALVERIO, EBENID         ADDRESS ON FILE
BONILLA ALVERIO, MARICARMEN     ADDRESS ON FILE
BONILLA AMARO, LUISA            ADDRESS ON FILE
BONILLA AMARO, MARIA            ADDRESS ON FILE
BONILLA ANDINO, JADIEL          ADDRESS ON FILE
BONILLA ANDUJAR, JOSE O         ADDRESS ON FILE
BONILLA ANGLERO, LISSETTE       ADDRESS ON FILE
BONILLA APONTE, ALMA DE LOS A   ADDRESS ON FILE
BONILLA APONTE, ANA             ADDRESS ON FILE
BONILLA APONTE, CARMEN S        ADDRESS ON FILE
BONILLA APONTE, GLADYS I        ADDRESS ON FILE
BONILLA APONTE, JUDITH          ADDRESS ON FILE
BONILLA ARROYO, ANA             ADDRESS ON FILE
BONILLA ARROYO, ANGEL           ADDRESS ON FILE
BONILLA ARROYO, CLARIBEL        ADDRESS ON FILE
BONILLA ARROYO, DINORAH         ADDRESS ON FILE
BONILLA ARROYO, MARLYN          ADDRESS ON FILE
BONILLA ARZOLA, JAVIER          ADDRESS ON FILE
BONILLA ARZOLA, XIOMARA         ADDRESS ON FILE
BONILLA ARZOLA, XIOMARA         ADDRESS ON FILE
BONILLA AVILES, ALVIN A         ADDRESS ON FILE
BONILLA AVILES, ANGEL R         ADDRESS ON FILE
BONILLA AVILES, CORALIS Y       ADDRESS ON FILE
BONILLA AVILES, GIOVANNI        ADDRESS ON FILE
BONILLA AVILES, JUAN J          ADDRESS ON FILE
BONILLA AVILES, LOURDES T       ADDRESS ON FILE
BONILLA AYALA, KATE             ADDRESS ON FILE
BONILLA BAEZ, HECTOR            ADDRESS ON FILE
BONILLA BAEZ, JAVIER            ADDRESS ON FILE
BONILLA BALASQUIDE, ALLAN       ADDRESS ON FILE
BONILLA BALASQUIDE, MARIAM L    ADDRESS ON FILE
BONILLA BARDEGUEZ, JAIME        ADDRESS ON FILE
BONILLA BEAUCHAMP, JENNIFER     ADDRESS ON FILE
BONILLA BEAUCHAMP, STEPHANIE    ADDRESS ON FILE
BONILLA BELLIDO, JACQUELINE     ADDRESS ON FILE
BONILLA BELLO, PEDRO            ADDRESS ON FILE
BONILLA BENIQUE, NOEL           ADDRESS ON FILE
BONILLA BENIQUEZ, HECTOR        ADDRESS ON FILE
BONILLA BENITEZ, FABIAN         ADDRESS ON FILE
BONILLA BENITEZ, LIDIA S.       ADDRESS ON FILE
BONILLA BERDECIA, HIRAM A       ADDRESS ON FILE
BONILLA BERDECIA, MANUEL        ADDRESS ON FILE
BONILLA BERMUDEZ, WILLIAM       ADDRESS ON FILE
BONILLA BERRIOS, NATALIA        ADDRESS ON FILE
BONILLA BERRIOS, YADIRA         ADDRESS ON FILE
Bonilla Berrocales, Jorge       ADDRESS ON FILE
BONILLA BINET, ANNETTE          ADDRESS ON FILE
Bonilla Bocachica, Jaime        ADDRESS ON FILE
BONILLA BOCACHICA, JAIME        ADDRESS ON FILE
BONILLA BOCACHICA, JAIME A      ADDRESS ON FILE
BONILLA BOCACHICA, LEISLANIE    ADDRESS ON FILE
BONILLA BONILLA, ANGEL          ADDRESS ON FILE




                                                                            Page 912 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 913 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA BONILLA, CARMEN I        ADDRESS ON FILE
BONILLA BONILLA, CARMEN L        ADDRESS ON FILE
BONILLA BONILLA, DAMARYS         ADDRESS ON FILE
BONILLA BONILLA, DAMARYS         ADDRESS ON FILE
BONILLA BONILLA, EROILDO         ADDRESS ON FILE
BONILLA BONILLA, FILOMENO        ADDRESS ON FILE
BONILLA BONILLA, GLORIA E        ADDRESS ON FILE
BONILLA BONILLA, MARGOT          ADDRESS ON FILE
BONILLA BONILLA, NARCISO         ADDRESS ON FILE
BONILLA BURGOS, WANDA I          ADDRESS ON FILE
BONILLA CALERO, VILMA            ADDRESS ON FILE
BONILLA CAMPOS, NERY             ADDRESS ON FILE
BONILLA CAMPOS, NERY             ADDRESS ON FILE
BONILLA CANDELARIA, AIXA         ADDRESS ON FILE
BONILLA CANDELARIA, NORMA I      ADDRESS ON FILE
BONILLA CANDELARIO, LINDA M      ADDRESS ON FILE
BONILLA CANDELARIO, RAMON        ADDRESS ON FILE
Bonilla Cantres, Jorge L         ADDRESS ON FILE
BONILLA CARLO, WALTER            ADDRESS ON FILE
BONILLA CARLO, WALTER            ADDRESS ON FILE
BONILLA CARMONA, CARMEN          ADDRESS ON FILE
BONILLA CARO, JULIO              ADDRESS ON FILE
BONILLA CARRASQUILLO, AMY        ADDRESS ON FILE
BONILLA CARRASQUILLO, JONATHAN   ADDRESS ON FILE
BONILLA CARRASQUILLO, JOSE R.    ADDRESS ON FILE
BONILLA CARRASQUILLO, JOSEPH     ADDRESS ON FILE
Bonilla Carrasquillo, Manuel A   ADDRESS ON FILE
BONILLA CARRASQUILLO, MARCIE E   ADDRESS ON FILE
BONILLA CARRERO, JASMIN          ADDRESS ON FILE
BONILLA CARRILLO, RAUL           ADDRESS ON FILE
BONILLA CASIANO, EVELYN          ADDRESS ON FILE
BONILLA CASILLAS, WILLIAM        ADDRESS ON FILE
BONILLA CASTELLANO, CARLOS       ADDRESS ON FILE
BONILLA CASTILLO, KIARALIZ       ADDRESS ON FILE
BONILLA CASTILLO, KIARALIZ       ADDRESS ON FILE
BONILLA CASTILLO, WILSON         ADDRESS ON FILE
BONILLA CASTRO, CARMEN           ADDRESS ON FILE
Bonilla Castro, Carmen J         ADDRESS ON FILE
BONILLA CASTRO, JAVIER           ADDRESS ON FILE
BONILLA CASTRO, SONIA            ADDRESS ON FILE
BONILLA CASTRO, YAMIL            ADDRESS ON FILE
BONILLA CEPEDA, ANGEL            ADDRESS ON FILE
BONILLA CEPEDA, DAYMARIE         ADDRESS ON FILE
BONILLA CEPEDA, LUIS             ADDRESS ON FILE
BONILLA CHRISTIAN, ZENAIDA       ADDRESS ON FILE
BONILLA CINTRON, ARMANDO         ADDRESS ON FILE
BONILLA CINTRON, HECTOR M        ADDRESS ON FILE
BONILLA CINTRON, IVELISSE        ADDRESS ON FILE
BONILLA CINTRON, JAVIER H        ADDRESS ON FILE
BONILLA CINTRON, JOSE M          ADDRESS ON FILE
BONILLA CINTRON, LEONOR          ADDRESS ON FILE
BONILLA CINTRON, MARIBEL         ADDRESS ON FILE
BONILLA CINTRON, MARISOL         ADDRESS ON FILE
BONILLA CINTRON, OMAYRA          ADDRESS ON FILE
BONILLA CINTRON, ORLANDO         ADDRESS ON FILE
BONILLA CLAUDIO, EDUARDO         ADDRESS ON FILE
BONILLA CLAUDIO, JORGE L         ADDRESS ON FILE
BONILLA COLLAZO, EDWIN           ADDRESS ON FILE
BONILLA COLLAZO, EDWIN E         ADDRESS ON FILE
BONILLA COLLAZO, WILSON          ADDRESS ON FILE




                                                                             Page 913 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 914 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Bonilla Colon, Adrian          ADDRESS ON FILE
BONILLA COLON, ALBA I          ADDRESS ON FILE
BONILLA COLON, ALEXANDER       ADDRESS ON FILE
BONILLA COLON, ALEXANDER       ADDRESS ON FILE
BONILLA COLON, ANGEL L         ADDRESS ON FILE
BONILLA COLON, ANGEL L         ADDRESS ON FILE
BONILLA COLON, ANITA           ADDRESS ON FILE
BONILLA COLON, ANNA M          ADDRESS ON FILE
BONILLA COLON, CARLOS          ADDRESS ON FILE
Bonilla Colon, Cruz M          ADDRESS ON FILE
BONILLA COLON, GILBERTO        ADDRESS ON FILE
BONILLA COLON, GLENDA          ADDRESS ON FILE
Bonilla Colon, Guillermo       ADDRESS ON FILE
BONILLA COLON, IRIS            ADDRESS ON FILE
BONILLA COLON, JOSE A          ADDRESS ON FILE
BONILLA COLON, KARILYN         ADDRESS ON FILE
BONILLA COLON, PAULA           ADDRESS ON FILE
BONILLA COLON, RAMON           ADDRESS ON FILE
BONILLA COLON, RENIER          ADDRESS ON FILE
BONILLA COLON, RICARDO         ADDRESS ON FILE
BONILLA COLON, VICTOR R        ADDRESS ON FILE
BONILLA COLON, VIRGEN DE L.    ADDRESS ON FILE
BONILLA COLON, YAHAIRA         ADDRESS ON FILE
BONILLA COLON,ANGEL            ADDRESS ON FILE
BONILLA COLONDRES, MARCOS      ADDRESS ON FILE
BONILLA CONCEPCION, EMMANUEL   ADDRESS ON FILE
BONILLA CONCEPCION, EUGENIO    ADDRESS ON FILE
BONILLA CONCEPCION, RICHARD    ADDRESS ON FILE
BONILLA CONTRACTOR INC         HC 1 BOX 6090                                                                    AIBONITO     PR      00705‐9729
BONILLA CORDERO, AIDA          ADDRESS ON FILE
Bonilla Coriano, Juan          ADDRESS ON FILE
BONILLA CORTES, ANIBAL         ADDRESS ON FILE
Bonilla Cortes, Dangilo        ADDRESS ON FILE
BONILLA CORTES, DAVID          ADDRESS ON FILE
BONILLA CORTES, GLORIA E       ADDRESS ON FILE
BONILLA CORTES, GLORYVEE       ADDRESS ON FILE
BONILLA CORTES, IRAIDA         ADDRESS ON FILE
BONILLA CORTEZ, WAYSINI        ADDRESS ON FILE
BONILLA COURET, AMARELIS       ADDRESS ON FILE
BONILLA CRUZ, ALEXANDER        ADDRESS ON FILE
BONILLA CRUZ, ALEXANDRA        ADDRESS ON FILE
BONILLA CRUZ, ANGEL            ADDRESS ON FILE
BONILLA CRUZ, ANGEL M.         ADDRESS ON FILE
BONILLA CRUZ, BENITO           ADDRESS ON FILE
BONILLA CRUZ, FRANCISCO        ADDRESS ON FILE
BONILLA CRUZ, GABRIEL          ADDRESS ON FILE
BONILLA CRUZ, GLORIA JUDITH    ADDRESS ON FILE
BONILLA CRUZ, JOSE             ADDRESS ON FILE
Bonilla Cruz, Luis A           ADDRESS ON FILE
BONILLA CRUZ, MARIA DE LOS A   ADDRESS ON FILE
BONILLA CRUZ, MARIA DEL C.     ADDRESS ON FILE
BONILLA CRUZ, MILAGROS         ADDRESS ON FILE
BONILLA CRUZ, MIRIAM           ADDRESS ON FILE
BONILLA CUBI, EDGARDO          ADDRESS ON FILE
BONILLA CUEBAS, EDGAR          ADDRESS ON FILE
BONILLA CUPELES, HECTOR        ADDRESS ON FILE
BONILLA CUPELES, HERIBERTO     ADDRESS ON FILE
BONILLA DAVID, LUIS G          ADDRESS ON FILE
BONILLA DAVILA MD, JORGE       ADDRESS ON FILE
BONILLA DE JESUS, HECTOR       ADDRESS ON FILE




                                                                           Page 914 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 915 of 3500
                                                                                                  Creditor Matrix

Creditor Name                               Address1                  Address2                                 Address3   Address4   City         State   PostalCode   Country
BONILLA DE JESUS, HECTOR L.                 ADDRESS ON FILE
BONILLA DE JESUS, MARIA V                   ADDRESS ON FILE
BONILLA DE LA TORRE, ANGEL                  ADDRESS ON FILE
BONILLA DE LEON, AWILDA                     ADDRESS ON FILE
BONILLA DE LEON, AWILDA                     ADDRESS ON FILE
BONILLA DE ORTIZ, LUZ M                     ADDRESS ON FILE
BONILLA DE RODRIGUEZ, AUREA                 ADDRESS ON FILE
BONILLA DEFENDINI, AIXA G                   ADDRESS ON FILE
Bonilla Defendini, Rosa I                   ADDRESS ON FILE
BONILLA DEFENDINI, WANDA                    ADDRESS ON FILE
BONILLA DEFENDINI, WANDA V                  ADDRESS ON FILE
BONILLA DEL RIO, ALEJANDRO                  ADDRESS ON FILE
BONILLA DEL RIO, NOEL                       ADDRESS ON FILE
BONILLA DEL RIO, SARA                       ADDRESS ON FILE
BONILLA DEL VALLE ‐ LEGAL SERVICES, P S C   COND ASTOR                1018 AVE ASHFORD STE 3A2                                       SAN JUAN     PR      00907‐1158
BONILLA DEL VALLE, CARLOS                   ADDRESS ON FILE
BONILLA DELGADO, ALEXANDER                  ADDRESS ON FILE
BONILLA DELGADO, BRUNILDA                   ADDRESS ON FILE
BONILLA DELGADO, GLENDALEE                  ADDRESS ON FILE
Bonilla Delgado, Harold                     ADDRESS ON FILE
BONILLA DELGADO, LUIS                       ADDRESS ON FILE
BONILLA DELGADO, NELSON J.                  ADDRESS ON FILE
BONILLA DELGADO, NICOLE                     ADDRESS ON FILE
BONILLA DESARDEN, JOANNE                    ADDRESS ON FILE
BONILLA DIAZ, ABIGAIL                       ADDRESS ON FILE
Bonilla Diaz, Alejandro                     ADDRESS ON FILE
BONILLA DIAZ, ALEXIS                        ADDRESS ON FILE
BONILLA DIAZ, CARMEN A                      ADDRESS ON FILE
BONILLA DIAZ, ELI D                         ADDRESS ON FILE
BONILLA DIAZ, ENRIQUE                       ADDRESS ON FILE
Bonilla Diaz, Enrique J                     ADDRESS ON FILE
BONILLA DIAZ, GLADYMAR                      ADDRESS ON FILE
BONILLA DIAZ, GLYNISS                       ADDRESS ON FILE
BONILLA DIAZ, GLYSSELI                      ADDRESS ON FILE
Bonilla Diaz, Hector L                      ADDRESS ON FILE
BONILLA DIAZ, IDALIS DEL CARMEN             ADDRESS ON FILE
BONILLA DIAZ, ISRAEL                        ADDRESS ON FILE
BONILLA DIAZ, JAYCE                         ADDRESS ON FILE
Bonilla Diaz, Jeanette                      ADDRESS ON FILE
Bonilla Diaz, Jose A                        ADDRESS ON FILE
BONILLA DIAZ, KIMBERLY                      ADDRESS ON FILE
BONILLA DIAZ, LESLIE A                      ADDRESS ON FILE
BONILLA DIAZ, LUIS B                        ADDRESS ON FILE
BONILLA DIAZ, MONICA                        ADDRESS ON FILE
BONILLA DIAZ, NEFTALY                       ADDRESS ON FILE
BONILLA DIAZ, SANTOS                        ADDRESS ON FILE
BONILLA DIEPPA, ILEANA                      ADDRESS ON FILE
BONILLA DIEPPA, LUIS R.                     ADDRESS ON FILE
BONILLA DIEPPA, RUBEN                       ADDRESS ON FILE
BONILLA DOMENECH, CARMEN E                  ADDRESS ON FILE
BONILLA ECHEVARRIA, MADELINE                ADDRESS ON FILE
BONILLA ELECTRIC                            P O BOX 334                                                                              AIBONITO     PR      00705
BONILLA ESCALERA, CARLOS                    ADDRESS ON FILE
BONILLA ESCOBAR, FELIX                      ADDRESS ON FILE
BONILLA ESPADA, LUIS ANTONIO                ADDRESS ON FILE
BONILLA ESPADA, MARIBEL                     ADDRESS ON FILE
BONILLA ESPADA, SHEIRALIZ                   ADDRESS ON FILE
BONILLA ESQUILIN, ZULAY                     ADDRESS ON FILE
BONILLA ESTRADA, ALBA                       ADDRESS ON FILE
BONILLA ESTRADA, GRISELA                    ADDRESS ON FILE




                                                                                                 Page 915 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 916 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA ESTRADA, NILDA          ADDRESS ON FILE
BONILLA ESTRADA, SARA           ADDRESS ON FILE
BONILLA ESTRONZA, ROBERTO       ADDRESS ON FILE
BONILLA FELICIANO, EFRAIN       ADDRESS ON FILE
BONILLA FELICIANO, JOSE A       ADDRESS ON FILE
Bonilla Feliciano, Roberto      ADDRESS ON FILE
BONILLA FELICIANO, TOMAS        ADDRESS ON FILE
BONILLA FELIX MD, MELVIN        ADDRESS ON FILE
BONILLA FELIX MD, VIVIAN        ADDRESS ON FILE
BONILLA FERNANDEZ, CARMEN I     ADDRESS ON FILE
BONILLA FERNANDEZ, CINDY        ADDRESS ON FILE
BONILLA FERNANDEZ, DEBBIE       ADDRESS ON FILE
BONILLA FERNANDEZ, HILDA M.     ADDRESS ON FILE
BONILLA FERRER, DORIS I.        ADDRESS ON FILE
BONILLA FIGUERO, CARIDAD D      ADDRESS ON FILE
BONILLA FIGUEROA, DANERY        ADDRESS ON FILE
BONILLA FIGUEROA, JOSE          ADDRESS ON FILE
Bonilla Figueroa, Jose A        ADDRESS ON FILE
BONILLA FIGUEROA, LUIS A        ADDRESS ON FILE
BONILLA FIGUEROA, MADELINE      ADDRESS ON FILE
BONILLA FIGUEROA, ROBIN         ADDRESS ON FILE
BONILLA FIGUEROA, SANDRA I      ADDRESS ON FILE
BONILLA FIGUEROA, YADIRA        ADDRESS ON FILE
BONILLA FLORES, SUSAN           ADDRESS ON FILE
BONILLA FRED, ELI               ADDRESS ON FILE
BONILLA FREYTES, JEYDEE         ADDRESS ON FILE
BONILLA GANNOUN, MELISSA        ADDRESS ON FILE
BONILLA GARAY, JOYLEEN          ADDRESS ON FILE
BONILLA GARCIA, DESIREE         ADDRESS ON FILE
BONILLA GARCIA, JOSE O.         ADDRESS ON FILE
BONILLA GARCIA, LORENZO         ADDRESS ON FILE
BONILLA GARCIA, NADIUSKA        ADDRESS ON FILE
BONILLA GARCIA, SOENITH         ADDRESS ON FILE
BONILLA GARNIER, JOSE L         ADDRESS ON FILE
BONILLA GASCOT, MORIS Y         ADDRESS ON FILE
BONILLA GERENA, LISANDRA        ADDRESS ON FILE
BONILLA GIERBOLINI, ROMINA P.   ADDRESS ON FILE
BONILLA GIL, MARIA              ADDRESS ON FILE
BONILLA GIRALD, ALIDEE M        ADDRESS ON FILE
BONILLA GOMEZ, ARLENE           ADDRESS ON FILE
BONILLA GOMEZ, SARA             ADDRESS ON FILE
BONILLA GONZAGA, LUIS R         ADDRESS ON FILE
BONILLA GONZALEZ MD, EDWIN      ADDRESS ON FILE
BONILLA GONZALEZ MD, LUIS       ADDRESS ON FILE
BONILLA GONZALEZ, ANA E         ADDRESS ON FILE
BONILLA GONZALEZ, ANA M.        ADDRESS ON FILE
BONILLA GONZALEZ, ANGEL L.      ADDRESS ON FILE
BONILLA GONZALEZ, CARLOS        ADDRESS ON FILE
BONILLA GONZALEZ, CARLOS        ADDRESS ON FILE
BONILLA GONZALEZ, CECILIA       ADDRESS ON FILE
BONILLA GONZALEZ, EDDIE         ADDRESS ON FILE
BONILLA GONZALEZ, EDWIN         ADDRESS ON FILE
BONILLA GONZALEZ, EDWIN J.      ADDRESS ON FILE
BONILLA GONZALEZ, ENA           ADDRESS ON FILE
BONILLA GONZALEZ, FRANCISCO     ADDRESS ON FILE
BONILLA GONZALEZ, HECTOR        ADDRESS ON FILE
BONILLA GONZALEZ, KEYLIE        ADDRESS ON FILE
BONILLA GONZALEZ, LEILA I.      ADDRESS ON FILE
BONILLA GONZALEZ, LUIS          ADDRESS ON FILE
BONILLA GONZALEZ, MADELYNE      ADDRESS ON FILE




                                                                            Page 916 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 917 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA GONZALEZ, MIOSOTIS        ADDRESS ON FILE
BONILLA GONZALEZ, MYRIAM          ADDRESS ON FILE
BONILLA GONZALEZ, NORIVETTE       ADDRESS ON FILE
BONILLA GONZALEZ, OLGA            ADDRESS ON FILE
BONILLA GONZALEZ, RAMON           ADDRESS ON FILE
BONILLA GONZALEZ, RUBEN V.        ADDRESS ON FILE
BONILLA GONZALEZ, WANDA E.        ADDRESS ON FILE
BONILLA GOYCO, MICHELLE M         ADDRESS ON FILE
BONILLA GRAJALES, VICTOR          ADDRESS ON FILE
BONILLA GRAJALES, VICTOR          ADDRESS ON FILE
BONILLA GUADALUPE, ALBERTO        ADDRESS ON FILE
BONILLA GUERRA, CARMEN G          ADDRESS ON FILE
BONILLA GUTIERREZ, AIDA           ADDRESS ON FILE
Bonilla Gutierrez, Janette        ADDRESS ON FILE
BONILLA GUZMAN, MELISSA           ADDRESS ON FILE
BONILLA HEREDIA, AMERICO          ADDRESS ON FILE
BONILLA HEREDIA, CARLOS J         ADDRESS ON FILE
BONILLA HEREDIA, GERARDO          ADDRESS ON FILE
Bonilla Heredia, Omar             ADDRESS ON FILE
BONILLA HEREDIA, VIOLETA          ADDRESS ON FILE
BONILLA HEREDIA, YADIRA           ADDRESS ON FILE
BONILLA HERNANDEZ, ANGEL          ADDRESS ON FILE
BONILLA HERNANDEZ, ANGEL M        ADDRESS ON FILE
BONILLA HERNANDEZ, BETZAIDA       ADDRESS ON FILE
BONILLA HERNANDEZ, BETZAIDA       ADDRESS ON FILE
BONILLA HERNANDEZ, CARMEN L.      ADDRESS ON FILE
BONILLA HERNANDEZ, GUSTAVO        ADDRESS ON FILE
BONILLA HERNANDEZ, ISMAEL         ADDRESS ON FILE
BONILLA HERNANDEZ, LISSETTE       ADDRESS ON FILE
BONILLA HERNANDEZ, LUZ E.         ADDRESS ON FILE
BONILLA HERNANDEZ, MARIA DEL      ADDRESS ON FILE
BONILLA HERNANDEZ, MARIA DEL S.   ADDRESS ON FILE
BONILLA HERNANDEZ, MARITZA        ADDRESS ON FILE
BONILLA HERNANDEZ, MIRNA L.       ADDRESS ON FILE
BONILLA HERNANDEZ, ORLANDO        ADDRESS ON FILE
BONILLA HERNANDEZ, RENE           ADDRESS ON FILE
BONILLA HERNANDEZ, RENE           ADDRESS ON FILE
BONILLA HIDALGO, HECTOR J.        ADDRESS ON FILE
BONILLA HORTA, DIGNA              ADDRESS ON FILE
BONILLA IRIZARRY, ANISSA          ADDRESS ON FILE
BONILLA IRIZARRY, ANISSA M.       ADDRESS ON FILE
BONILLA IRIZARRY, BRENDA L        ADDRESS ON FILE
BONILLA IRIZARRY, GLORIA M        ADDRESS ON FILE
BONILLA IRIZARRY, HAYDEE          ADDRESS ON FILE
BONILLA IRIZARRY, NANCY           ADDRESS ON FILE
BONILLA JIMENEZ, NICOLE           ADDRESS ON FILE
BONILLA LABOY, JONATHAN           ADDRESS ON FILE
BONILLA LABOY, PEDRO JUAN         ADDRESS ON FILE
BONILLA LAGO, FRANCISCO           ADDRESS ON FILE
BONILLA LAGUER, EVA               ADDRESS ON FILE
BONILLA LANDRON, MARTINA          ADDRESS ON FILE
BONILLA LATONI, ERIC R.           ADDRESS ON FILE
BONILLA LEBRON, JESSICA L         ADDRESS ON FILE
BONILLA LEBRON, LUIS              ADDRESS ON FILE
BONILLA LEHOUX, JOSE              ADDRESS ON FILE
BONILLA LEON, JUAN G.             ADDRESS ON FILE
BONILLA LISBOA, CARLOS A.         ADDRESS ON FILE
BONILLA LOPEZ, ARIEL              ADDRESS ON FILE
BONILLA LOPEZ, AWILDA             ADDRESS ON FILE
BONILLA LOPEZ, BENJAMIN           ADDRESS ON FILE




                                                                              Page 917 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 918 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA LOPEZ, BENJAMIN          ADDRESS ON FILE
BONILLA LOPEZ, DENNIS            ADDRESS ON FILE
BONILLA LOPEZ, JESSIE            ADDRESS ON FILE
BONILLA LOPEZ, JESUS J           ADDRESS ON FILE
BONILLA LOPEZ, LUZ YOLANDA       ADDRESS ON FILE
BONILLA LOPEZ, LUZ YOLANDA       ADDRESS ON FILE
BONILLA LOPEZ, MARIBEL           ADDRESS ON FILE
BONILLA LOPEZ, RICHARD           ADDRESS ON FILE
BONILLA LOPEZ, SARA N            ADDRESS ON FILE
BONILLA LOPEZ, SONIA M           ADDRESS ON FILE
BONILLA LOPEZ, YARITZA           ADDRESS ON FILE
BONILLA LORENZO, MONSERRATE      ADDRESS ON FILE
BONILLA LORENZO, SULLY           ADDRESS ON FILE
BONILLA LUGO, JOSE E             ADDRESS ON FILE
Bonilla Lugo, Yaimarie           ADDRESS ON FILE
BONILLA MADRIGAL, LUIS ALBERTO   ADDRESS ON FILE
BONILLA MALAVE, VICTOR M         ADDRESS ON FILE
BONILLA MALDONADO, CARMEN B      ADDRESS ON FILE
Bonilla Maldonado, Gerardo A     ADDRESS ON FILE
BONILLA MALDONADO, GINNETTE      ADDRESS ON FILE
BONILLA MALDONADO, HAYDEE        ADDRESS ON FILE
BONILLA MALDONADO, MARITZA       ADDRESS ON FILE
BONILLA MALDONADO, SUSAN         ADDRESS ON FILE
BONILLA MARCUCCI, ALFREDO        ADDRESS ON FILE
BONILLA MARCUCCI, EUNICE         ADDRESS ON FILE
BONILLA MARCUCCI, MARIA DEL C    ADDRESS ON FILE
BONILLA MARQUEZ, MARIA DE L      ADDRESS ON FILE
BONILLA MARTINEZ, ANTONIA        ADDRESS ON FILE
BONILLA MARTINEZ, ARACELYS       ADDRESS ON FILE
BONILLA MARTINEZ, BRENDA         ADDRESS ON FILE
Bonilla Martinez, Brenda L       ADDRESS ON FILE
BONILLA MARTINEZ, CARMEN         ADDRESS ON FILE
BONILLA MARTINEZ, CAROL G        ADDRESS ON FILE
BONILLA MARTINEZ, JAIME          ADDRESS ON FILE
BONILLA MARTINEZ, JORGE A        ADDRESS ON FILE
Bonilla Martinez, Jose M         ADDRESS ON FILE
BONILLA MARTINEZ, MARICARMEN     ADDRESS ON FILE
Bonilla Martinez, Mayra I.       ADDRESS ON FILE
BONILLA MARTINEZ, QUINTIN        ADDRESS ON FILE
BONILLA MARTINEZ, RUBEN          ADDRESS ON FILE
BONILLA MARTINEZ, VICTOR         ADDRESS ON FILE
BONILLA MARTINEZ, YOMIRA         ADDRESS ON FILE
BONILLA MARTINEZ,JOSE            ADDRESS ON FILE
BONILLA MARTINEZ,RAMON           ADDRESS ON FILE
BONILLA MARTY, LYMARIE           ADDRESS ON FILE
BONILLA MATEO, ELAINE E.         ADDRESS ON FILE
Bonilla Matias, Jorge L          ADDRESS ON FILE
BONILLA MATIAS, MARIA DEL C      ADDRESS ON FILE
BONILLA MATIAS, PATRIA           ADDRESS ON FILE
BONILLA MATIAS, SANTA            ADDRESS ON FILE
BONILLA MATOS, MAGDALENA         ADDRESS ON FILE
BONILLA MAYA, KOBY H             ADDRESS ON FILE
Bonilla Maya, Olga               ADDRESS ON FILE
BONILLA MAYA, SURKY Y            ADDRESS ON FILE
BONILLA MAYAS, LESBIA            ADDRESS ON FILE
BONILLA MAYAS, MARIA             ADDRESS ON FILE
BONILLA MEDINA, DAVID            ADDRESS ON FILE
BONILLA MEDINA, ELIMARY          ADDRESS ON FILE
BONILLA MEDINA, RAMON            ADDRESS ON FILE
BONILLA MEJIAS, MARGARITA        ADDRESS ON FILE




                                                                             Page 918 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 919 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA MELENDEZ, LESLIE     ADDRESS ON FILE
BONILLA MELENDEZ, RAFAEL     ADDRESS ON FILE
BONILLA MELENDEZ, RAQUEL     ADDRESS ON FILE
BONILLA MELENDEZ, SHARON     ADDRESS ON FILE
BONILLA MELENDEZ, TANIA      ADDRESS ON FILE
BONILLA MENDEZ, ALEXIS       ADDRESS ON FILE
BONILLA MENDEZ, ALEXIS       ADDRESS ON FILE
BONILLA MENDEZ, ANGEL        ADDRESS ON FILE
BONILLA MENDEZ, ISABEL       ADDRESS ON FILE
BONILLA MENDEZ, JORGE        ADDRESS ON FILE
Bonilla Mendez, Jose L       ADDRESS ON FILE
BONILLA MENDEZ, MARY A       ADDRESS ON FILE
BONILLA MENDEZ, MIGDALIA     ADDRESS ON FILE
BONILLA MENDEZ, ROMUALDO     ADDRESS ON FILE
BONILLA MENENDEZ, JORGE      ADDRESS ON FILE
BONILLA MERCADO, JESUS M.    ADDRESS ON FILE
BONILLA MERCADO, KELVIN J    ADDRESS ON FILE
BONILLA MERCADO, LILLIAM     ADDRESS ON FILE
BONILLA MERCADO, MIGUEL      ADDRESS ON FILE
BONILLA MERCADO, YASMIN      ADDRESS ON FILE
BONILLA MERCED, CLARISSA     ADDRESS ON FILE
BONILLA MERCED, NORMA I      ADDRESS ON FILE
BONILLA MILLAN, ENEIDA       ADDRESS ON FILE
BONILLA MIRANDA, BETHZAIDA   ADDRESS ON FILE
BONILLA MIRANDA, CAROLINE    ADDRESS ON FILE
BONILLA MIRANDA, DAMARIS     ADDRESS ON FILE
BONILLA MIRANDA, MAGDA G     ADDRESS ON FILE
BONILLA MIRANDA, RAMON A.    ADDRESS ON FILE
BONILLA MIRANDA, VALERIE     ADDRESS ON FILE
BONILLA MIRANDA, WILNA N     ADDRESS ON FILE
BONILLA MOLINA, ANA E        ADDRESS ON FILE
BONILLA MOLINA, ANIBAL       ADDRESS ON FILE
BONILLA MOLINA, MIGUEL A     ADDRESS ON FILE
BONILLA MONTALVO, DIOR M     ADDRESS ON FILE
BONILLA MONTALVO, KHEISLA    ADDRESS ON FILE
Bonilla Montanez, Emma I     ADDRESS ON FILE
BONILLA MONTES, ROBERTO      ADDRESS ON FILE
BONILLA MONTILLA, FRANK      ADDRESS ON FILE
BONILLA MONTILLA, TERESA     ADDRESS ON FILE
BONILLA MORALES, ILENIA      ADDRESS ON FILE
BONILLA MORALES, ILENIA      ADDRESS ON FILE
BONILLA MORALES, JOSE        ADDRESS ON FILE
BONILLA MORALES, LUIS        ADDRESS ON FILE
Bonilla Morales, Luis        ADDRESS ON FILE
BONILLA MORALES, LUIS A      ADDRESS ON FILE
BONILLA MORALES, MAGALY      ADDRESS ON FILE
BONILLA MORALES, SONIA       ADDRESS ON FILE
BONILLA MORALES, VALMY       ADDRESS ON FILE
BONILLA MORENO, GABRIEL J    ADDRESS ON FILE
BONILLA MOYA, JESUS          ADDRESS ON FILE
BONILLA MUJICA, LILLY I      ADDRESS ON FILE
BONILLA MUNOZ, JOSE          ADDRESS ON FILE
BONILLA MUNOZ, RITA          ADDRESS ON FILE
BONILLA NAVARRO, ALFREDO     ADDRESS ON FILE
BONILLA NAVARRO, ENEIDA      ADDRESS ON FILE
BONILLA NEGRON, ANGEL        ADDRESS ON FILE
BONILLA NEGRON, BRENDA I     ADDRESS ON FILE
BONILLA NEGRON, EDNA         ADDRESS ON FILE
BONILLA NEGRON, ESTER        ADDRESS ON FILE
BONILLA NEGRON, INGRID       ADDRESS ON FILE




                                                                         Page 919 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 920 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA NEGRON, JULIO A.      ADDRESS ON FILE
BONILLA NEGRON, LILLIAM       ADDRESS ON FILE
BONILLA NEGRON, ORLANDO       ADDRESS ON FILE
BONILLA NEVAREZ, LAURA V.     ADDRESS ON FILE
Bonilla Nieves, Eduardo       ADDRESS ON FILE
Bonilla Nieves, Harry         ADDRESS ON FILE
BONILLA NIEVES, JOSE LUIS     ADDRESS ON FILE
BONILLA OCASIO, CARMEN A      ADDRESS ON FILE
BONILLA OCASIO, CARMEN Y      ADDRESS ON FILE
BONILLA OCASIO, GABRIELA      ADDRESS ON FILE
BONILLA OCASIO, HELEODORO     ADDRESS ON FILE
Bonilla Ocasio, Laurentino    ADDRESS ON FILE
BONILLA OCASIO, MARIA DEL C   ADDRESS ON FILE
BONILLA OCASIO, MARISOL       ADDRESS ON FILE
Bonilla Oliveras, Hector I.   ADDRESS ON FILE
BONILLA OLIVERAS, NITZA J.    ADDRESS ON FILE
Bonilla Olivieri, Juan C.     ADDRESS ON FILE
BONILLA OLMO, MILDRED V.      ADDRESS ON FILE
BONILLA ORDONEZ, KARLA        ADDRESS ON FILE
BONILLA ORTEGA, SIRYEVELI     ADDRESS ON FILE
BONILLA ORTIZ, ALBERTO        ADDRESS ON FILE
BONILLA ORTIZ, ANGEL D        ADDRESS ON FILE
BONILLA ORTIZ, ANGELES S      ADDRESS ON FILE
BONILLA ORTIZ, CARMELO        ADDRESS ON FILE
BONILLA ORTIZ, CARMELO        ADDRESS ON FILE
BONILLA ORTIZ, EDWIN          ADDRESS ON FILE
BONILLA ORTIZ, ELIEZER        ADDRESS ON FILE
BONILLA ORTIZ, FERNANDO       ADDRESS ON FILE
BONILLA ORTIZ, JACOB          ADDRESS ON FILE
BONILLA ORTIZ, JAIME          ADDRESS ON FILE
BONILLA ORTIZ, JANINE         ADDRESS ON FILE
BONILLA ORTIZ, JOMAR          ADDRESS ON FILE
BONILLA ORTIZ, JOMAR A        ADDRESS ON FILE
BONILLA ORTIZ, JOSEFINA       ADDRESS ON FILE
BONILLA ORTIZ, LEOPOLDO A.    ADDRESS ON FILE
BONILLA ORTIZ, LUIS A         ADDRESS ON FILE
BONILLA ORTIZ, MADELINE       ADDRESS ON FILE
BONILLA ORTIZ, MARILU         ADDRESS ON FILE
BONILLA ORTIZ, NORMA E        ADDRESS ON FILE
BONILLA ORTIZ, RAQUEL         ADDRESS ON FILE
Bonilla Ortiz, Ricardo        ADDRESS ON FILE
BONILLA ORTIZ, SOCORRO        ADDRESS ON FILE
BONILLA OSORIO, JOHNNY        ADDRESS ON FILE
BONILLA OSORIO, LUIS          ADDRESS ON FILE
BONILLA OSORIO, RAFAELA       ADDRESS ON FILE
BONILLA OTERO, JORGE          ADDRESS ON FILE
BONILLA OTERO, MARIBEL        ADDRESS ON FILE
BONILLA PABON, JOSE L.        ADDRESS ON FILE
BONILLA PACHECO, BRENDA       ADDRESS ON FILE
BONILLA PACHECO, IRIS D.      ADDRESS ON FILE
BONILLA PACHECO, ISABEL       ADDRESS ON FILE
Bonilla Pacheco, Jose D       ADDRESS ON FILE
Bonilla Pacheco, Juan         ADDRESS ON FILE
BONILLA PACHECO, MOLLY        ADDRESS ON FILE
BONILLA PADILLA, GIOVANNY M   ADDRESS ON FILE
Bonilla Padilla, Luis G       ADDRESS ON FILE
BONILLA PADILLA, RITCHELLE    ADDRESS ON FILE
BONILLA PADIN, FRANCISCO      ADDRESS ON FILE
BONILLA PADIN, LILLIBETH      ADDRESS ON FILE
BONILLA PAGAN, MARIBEL        ADDRESS ON FILE




                                                                          Page 920 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 921 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA PEDRAZA, JANISSE G       ADDRESS ON FILE
BONILLA PEDRAZA, YARITZA         ADDRESS ON FILE
BONILLA PEDROGO, ANA C.          ADDRESS ON FILE
BONILLA PENA, AMANCIA            ADDRESS ON FILE
Bonilla Pena, Ivan J             ADDRESS ON FILE
BONILLA PENA, JANNETTE           ADDRESS ON FILE
Bonilla Pena, Jannette H         ADDRESS ON FILE
BONILLA PEQA, DIANA              ADDRESS ON FILE
BONILLA PEREZ, AWILDA            ADDRESS ON FILE
BONILLA PEREZ, BLANYARIS         ADDRESS ON FILE
BONILLA PEREZ, CARLOS J          ADDRESS ON FILE
BONILLA PEREZ, EDDIE             ADDRESS ON FILE
BONILLA PEREZ, GISELLE M.        ADDRESS ON FILE
BONILLA PEREZ, INARVIS           ADDRESS ON FILE
BONILLA PEREZ, JAVIER O.         ADDRESS ON FILE
BONILLA PEREZ, JEAN              ADDRESS ON FILE
BONILLA PEREZ, JOSE M            ADDRESS ON FILE
BONILLA PEREZ, JUAN              ADDRESS ON FILE
Bonilla Perez, Juan A            ADDRESS ON FILE
BONILLA PEREZ, JUAN SAMUEL       ADDRESS ON FILE
BONILLA PEREZ, JULIO             ADDRESS ON FILE
BONILLA PEREZ, LUZ T             ADDRESS ON FILE
BONILLA PEREZ, YADIRIS           ADDRESS ON FILE
BONILLA PINEDA, FELICITA         ADDRESS ON FILE
BONILLA PINEDA, WILFREDO         ADDRESS ON FILE
BONILLA PIZARRO, ANTHONY W       ADDRESS ON FILE
BONILLA PIZARRO, JOSE ANTONIO    ADDRESS ON FILE
BONILLA PLA, ELAINE              ADDRESS ON FILE
BONILLA PLAZA, GLORIMAR          ADDRESS ON FILE
BONILLA POMALES, MELEDINE        ADDRESS ON FILE
BONILLA PONCE, CARMEN R          ADDRESS ON FILE
BONILLA PRATTS, CARMEN I         ADDRESS ON FILE
BONILLA QUIANES, CARMEN ASTRID   ADDRESS ON FILE
BONILLA QUILES, JOSE M.          ADDRESS ON FILE
BONILLA QUINONES, ALBERTO        ADDRESS ON FILE
BONILLA QUINONES, AUREA N.       ADDRESS ON FILE
BONILLA QUINONES, GLADYS         ADDRESS ON FILE
BONILLA QUINONES, MARIA L        ADDRESS ON FILE
BONILLA QUINONES, MARIANA        ADDRESS ON FILE
BONILLA QUINONES, MIGUEL         ADDRESS ON FILE
BONILLA QUINONES, MILDRED        ADDRESS ON FILE
BONILLA QUINONES, OSCAR E        ADDRESS ON FILE
Bonilla Quinones, Ricardo        ADDRESS ON FILE
BONILLA RAMIREZ, MARTHA          ADDRESS ON FILE
BONILLA RAMOS, ADALYS            ADDRESS ON FILE
Bonilla Ramos, Hector L          ADDRESS ON FILE
BONILLA RAMOS, JOSE A            ADDRESS ON FILE
BONILLA RAMOS, JOSE A            ADDRESS ON FILE
BONILLA RAMOS, JOSE E.           ADDRESS ON FILE
BONILLA RAMOS, JUAN A.           ADDRESS ON FILE
Bonilla Ramos, Juan A.           ADDRESS ON FILE
BONILLA RAMOS, KARINELL          ADDRESS ON FILE
BONILLA RAMOS, NANCY             ADDRESS ON FILE
BONILLA RAMOS, PATRICIA          ADDRESS ON FILE
BONILLA RAMOS, RUBEN             ADDRESS ON FILE
BONILLA RAMOS, YAHAIRA           ADDRESS ON FILE
BONILLA RESTO, CARMEN N          ADDRESS ON FILE
BONILLA REYES, ANA A             ADDRESS ON FILE
BONILLA REYES, BETTY             ADDRESS ON FILE
BONILLA REYES, DENISE            ADDRESS ON FILE




                                                                             Page 921 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 922 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA REYES, GABRIEL        ADDRESS ON FILE
BONILLA REYES, JOSE           ADDRESS ON FILE
BONILLA REYES, JOSIMAR        ADDRESS ON FILE
BONILLA REYES, MARIA M.       ADDRESS ON FILE
BONILLA REYES, MARIBEL        ADDRESS ON FILE
BONILLA REYES, REINALDO       ADDRESS ON FILE
BONILLA REYNOSO, REINALDO A   ADDRESS ON FILE
BONILLA RIOS, AWILDA          ADDRESS ON FILE
BONILLA RIOS, ELMA            ADDRESS ON FILE
BONILLA RIOS, JESSICA         ADDRESS ON FILE
BONILLA RIOS, MARY L          ADDRESS ON FILE
BONILLA RIOS, PEDRO           ADDRESS ON FILE
BONILLA RIOS, ROSA I          ADDRESS ON FILE
BONILLA RIOS, SAMUEL          ADDRESS ON FILE
BONILLA RIVERA, AGAPITO       ADDRESS ON FILE
BONILLA RIVERA, AGAPITO       ADDRESS ON FILE
Bonilla Rivera, Ana D         ADDRESS ON FILE
BONILLA RIVERA, ANGEL         ADDRESS ON FILE
Bonilla Rivera, Angel L       ADDRESS ON FILE
Bonilla Rivera, Carlos        ADDRESS ON FILE
BONILLA RIVERA, CARLOS        ADDRESS ON FILE
BONILLA RIVERA, CARLOS        ADDRESS ON FILE
Bonilla Rivera, Carlos R      ADDRESS ON FILE
BONILLA RIVERA, CARMEN J      ADDRESS ON FILE
BONILLA RIVERA, CARMEN L      ADDRESS ON FILE
BONILLA RIVERA, DAISY         ADDRESS ON FILE
BONILLA RIVERA, DANESA        ADDRESS ON FILE
BONILLA RIVERA, DAVID         ADDRESS ON FILE
BONILLA RIVERA, DAVID         ADDRESS ON FILE
BONILLA RIVERA, DAVID         ADDRESS ON FILE
BONILLA RIVERA, EDWIN         ADDRESS ON FILE
BONILLA RIVERA, ELBA L        ADDRESS ON FILE
BONILLA RIVERA, ELIUT JOSE    ADDRESS ON FILE
BONILLA RIVERA, ENRIQUE       ADDRESS ON FILE
BONILLA RIVERA, FERNANDO      ADDRESS ON FILE
BONILLA RIVERA, GARY          ADDRESS ON FILE
BONILLA RIVERA, GRISELL       ADDRESS ON FILE
BONILLA RIVERA, GRISSELLE I   ADDRESS ON FILE
BONILLA RIVERA, IRIS D        ADDRESS ON FILE
BONILLA RIVERA, ISABEL        ADDRESS ON FILE
BONILLA RIVERA, JAZMIN L      ADDRESS ON FILE
BONILLA RIVERA, JEANNE        ADDRESS ON FILE
BONILLA RIVERA, JOHNNY        ADDRESS ON FILE
BONILLA RIVERA, JOSE          ADDRESS ON FILE
BONILLA RIVERA, JULIO         ADDRESS ON FILE
BONILLA RIVERA, KAROLINE      ADDRESS ON FILE
BONILLA RIVERA, KATHERINE     ADDRESS ON FILE
BONILLA RIVERA, LUIS A        ADDRESS ON FILE
BONILLA RIVERA, LUIS A        ADDRESS ON FILE
BONILLA RIVERA, LUIS G        ADDRESS ON FILE
BONILLA RIVERA, LUZ C         ADDRESS ON FILE
BONILLA RIVERA, LUZ M         ADDRESS ON FILE
BONILLA RIVERA, LUZ M         ADDRESS ON FILE
BONILLA RIVERA, LUZ M         ADDRESS ON FILE
BONILLA RIVERA, MARGARITA     ADDRESS ON FILE
BONILLA RIVERA, MARIA B.      ADDRESS ON FILE
BONILLA RIVERA, MARIA J.      ADDRESS ON FILE
BONILLA RIVERA, MIGDALIA      ADDRESS ON FILE
BONILLA RIVERA, MILAGROS      ADDRESS ON FILE
BONILLA RIVERA, NEREIDA       ADDRESS ON FILE




                                                                          Page 922 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 923 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA RIVERA, PEDRO           ADDRESS ON FILE
BONILLA RIVERA, PEDRO           ADDRESS ON FILE
BONILLA RIVERA, PEDRO           ADDRESS ON FILE
BONILLA RIVERA, PEDRO           ADDRESS ON FILE
BONILLA RIVERA, RAFAEL          ADDRESS ON FILE
Bonilla Rivera, Richard         ADDRESS ON FILE
BONILLA RIVERA, RICHARD         ADDRESS ON FILE
BONILLA RIVERA, RITA            ADDRESS ON FILE
BONILLA RIVERA, ROSA M          ADDRESS ON FILE
BONILLA RIVERA, RUBEN D         ADDRESS ON FILE
BONILLA RIVERA, SANTIAGO        ADDRESS ON FILE
BONILLA RIVERA, SONIA N.        ADDRESS ON FILE
BONILLA RIVERA, SYLVIA          ADDRESS ON FILE
BONILLA RIVERA, VICTOR M        ADDRESS ON FILE
BONILLA RIVERA, WANDA           ADDRESS ON FILE
BONILLA RIVERA, YOSELINE A      ADDRESS ON FILE
Bonilla Rivera, Zaesmely        ADDRESS ON FILE
BONILLA ROBLES, MIGUEL          ADDRESS ON FILE
BONILLA RODRIGUEZ, ADA          ADDRESS ON FILE
BONILLA RODRIGUEZ, ADLYN I      ADDRESS ON FILE
BONILLA RODRIGUEZ, ADOLFO       ADDRESS ON FILE
BONILLA RODRIGUEZ, AIDA I       ADDRESS ON FILE
BONILLA RODRIGUEZ, ALEXANDRA    ADDRESS ON FILE
BONILLA RODRIGUEZ, ALEXIS       ADDRESS ON FILE
BONILLA RODRIGUEZ, ALFREDO      ADDRESS ON FILE
BONILLA RODRIGUEZ, ANDREITA     ADDRESS ON FILE
BONILLA RODRIGUEZ, ANGEL L      ADDRESS ON FILE
Bonilla Rodriguez, Angel L      ADDRESS ON FILE
BONILLA RODRIGUEZ, ANNETTE      ADDRESS ON FILE
BONILLA RODRIGUEZ, BETZAIDA     ADDRESS ON FILE
BONILLA RODRIGUEZ, BIONETTE A   ADDRESS ON FILE
BONILLA RODRIGUEZ, CARMEN J.    ADDRESS ON FILE
BONILLA RODRIGUEZ, CARMEN M     ADDRESS ON FILE
BONILLA RODRIGUEZ, CIBEIS       ADDRESS ON FILE
BONILLA RODRIGUEZ, DANIEL       ADDRESS ON FILE
BONILLA RODRIGUEZ, DARWIN       ADDRESS ON FILE
BONILLA RODRIGUEZ, EDWARD       ADDRESS ON FILE
BONILLA RODRIGUEZ, EDWARD       ADDRESS ON FILE
BONILLA RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
BONILLA RODRIGUEZ, ELMER J      ADDRESS ON FILE
BONILLA RODRIGUEZ, ELSIE        ADDRESS ON FILE
BONILLA RODRIGUEZ, FELICITA     ADDRESS ON FILE
BONILLA RODRIGUEZ, FENID        ADDRESS ON FILE
BONILLA RODRIGUEZ, FRANCISCA    ADDRESS ON FILE
BONILLA RODRIGUEZ, GICELA       ADDRESS ON FILE
BONILLA RODRIGUEZ, GISELA       ADDRESS ON FILE
BONILLA RODRIGUEZ, JANETTE R    ADDRESS ON FILE
BONILLA RODRIGUEZ, JENNY        ADDRESS ON FILE
BONILLA RODRIGUEZ, JESENIA      ADDRESS ON FILE
BONILLA RODRIGUEZ, JESSICA      ADDRESS ON FILE
BONILLA RODRIGUEZ, JESSICA      ADDRESS ON FILE
BONILLA RODRIGUEZ, JORGE L.     ADDRESS ON FILE
BONILLA RODRIGUEZ, JOSE         ADDRESS ON FILE
BONILLA RODRIGUEZ, KELVIN       ADDRESS ON FILE
BONILLA RODRIGUEZ, KEVIN        ADDRESS ON FILE
BONILLA RODRIGUEZ, LILLIAM      ADDRESS ON FILE
BONILLA RODRIGUEZ, LUIS M.      ADDRESS ON FILE
BONILLA RODRIGUEZ, LUZ E        ADDRESS ON FILE
BONILLA RODRIGUEZ, MADELINE     ADDRESS ON FILE
BONILLA RODRIGUEZ, MARIA        ADDRESS ON FILE




                                                                            Page 923 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 924 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Bonilla Rodriguez, Marianita    ADDRESS ON FILE
BONILLA RODRIGUEZ, MARISOL      ADDRESS ON FILE
BONILLA RODRIGUEZ, MARITSA      ADDRESS ON FILE
BONILLA RODRIGUEZ, MIGUEL       ADDRESS ON FILE
BONILLA RODRIGUEZ, MIGUEL A     ADDRESS ON FILE
BONILLA RODRIGUEZ, MIRIAM       ADDRESS ON FILE
BONILLA RODRIGUEZ, OBED         ADDRESS ON FILE
BONILLA RODRIGUEZ, ORLANDO      ADDRESS ON FILE
Bonilla Rodriguez, Rafael       ADDRESS ON FILE
BONILLA RODRIGUEZ, ROSA M       ADDRESS ON FILE
BONILLA RODRIGUEZ, SYLKA        ADDRESS ON FILE
BONILLA RODRIGUEZ, THOMAS A     ADDRESS ON FILE
BONILLA RODRIGUEZ, VICTOR       ADDRESS ON FILE
BONILLA RODRIGUEZ, VIRGENMINA   ADDRESS ON FILE
BONILLA RODRIGUEZ, WILFREDO     ADDRESS ON FILE
Bonilla Rodriguez, Wilfredo L   ADDRESS ON FILE
BONILLA RODRIGUEZ, WILSON       ADDRESS ON FILE
BONILLA RODRIGUEZ, YANEYDA      ADDRESS ON FILE
BONILLA RODRIGUEZ, YANEYDA      ADDRESS ON FILE
BONILLA RODRIGUEZ, YARELI       ADDRESS ON FILE
BONILLA RODRIGUEZ, YARIZEL      ADDRESS ON FILE
BONILLA RODRIQUEZ, MILDRED      ADDRESS ON FILE
BONILLA RODRIQUEZ, SHEILA M     ADDRESS ON FILE
BONILLA ROGRIGUEZ, HILDA        ADDRESS ON FILE
BONILLA ROJAS, JOSE M           ADDRESS ON FILE
BONILLA ROMAN, CLARIBEL         ADDRESS ON FILE
BONILLA ROMAN, EULERIA          ADDRESS ON FILE
Bonilla Roman, Francisco        ADDRESS ON FILE
BONILLA ROMAN, GISELLE          ADDRESS ON FILE
BONILLA ROMAN, JOSE             ADDRESS ON FILE
BONILLA ROMAN, JOSEFINA         ADDRESS ON FILE
BONILLA ROMAN, MANUEL           ADDRESS ON FILE
BONILLA ROMAN, OLGA             ADDRESS ON FILE
BONILLA ROMAN, ROSA J           ADDRESS ON FILE
BONILLA ROSA, REINALDO          ADDRESS ON FILE
BONILLA ROSA, YVONNE            ADDRESS ON FILE
BONILLA ROSADO, CARLOS R        ADDRESS ON FILE
BONILLA ROSADO, CARLOS RUBEN    ADDRESS ON FILE
BONILLA ROSADO, SANTOS          ADDRESS ON FILE
Bonilla Rosado, Santos G        ADDRESS ON FILE
BONILLA ROSALY, ERICK           ADDRESS ON FILE
BONILLA ROSARIO, ALEX G         ADDRESS ON FILE
BONILLA ROSARIO, DEBORAH        ADDRESS ON FILE
Bonilla Rosario, Heriberto      ADDRESS ON FILE
BONILLA ROSARIO, NELSON         ADDRESS ON FILE
BONILLA ROSARIO, RAFAEL         ADDRESS ON FILE
BONILLA ROSARIO, SYLVETTE       ADDRESS ON FILE
BONILLA ROSAS, ALICIA           ADDRESS ON FILE
BONILLA ROSAS, JOB              ADDRESS ON FILE
BONILLA RUBERTE, JOSE           ADDRESS ON FILE
BONILLA RUBET, JACKELLINE I     ADDRESS ON FILE
BONILLA RUIZ, CARLOS A.         ADDRESS ON FILE
BONILLA RUIZ, FRANCISCA         ADDRESS ON FILE
Bonilla Ruiz, Jose A.           ADDRESS ON FILE
BONILLA RUIZ, VICTOR N          ADDRESS ON FILE
BONILLA RYAN, CARLOS            ADDRESS ON FILE
BONILLA SAENZ, RICARDO A        ADDRESS ON FILE
BONILLA SAEZ, PABLO             ADDRESS ON FILE
BONILLA SAEZ, SANTOS            ADDRESS ON FILE
BONILLA SALAMAN, MARIELY        ADDRESS ON FILE




                                                                            Page 924 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 925 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA SALDANA, ANA              ADDRESS ON FILE
BONILLA SALDANA, ANA E            ADDRESS ON FILE
BONILLA SALGADO, STEVE            ADDRESS ON FILE
BONILLA SAMBOLIN, LUIS E          ADDRESS ON FILE
BONILLA SANCHEZ, BLANCA I         ADDRESS ON FILE
BONILLA SANCHEZ, BRENDA L         ADDRESS ON FILE
BONILLA SANCHEZ, CARMEN           ADDRESS ON FILE
BONILLA SANCHEZ, CARMEN M         ADDRESS ON FILE
Bonilla Sanchez, Carmen Milagro   ADDRESS ON FILE
BONILLA SANCHEZ, CELIA            ADDRESS ON FILE
BONILLA SANCHEZ, DENISE           ADDRESS ON FILE
BONILLA SANCHEZ, MADELINE         ADDRESS ON FILE
BONILLA SANCHEZ, MARIA T.         ADDRESS ON FILE
BONILLA SANCHEZ, VICTOR M         ADDRESS ON FILE
BONILLA SANCHEZ, ZENAIDA          ADDRESS ON FILE
BONILLA SANTAELLA, ROBERTO        ADDRESS ON FILE
BONILLA SANTANA, ANDREA E.        ADDRESS ON FILE
BONILLA SANTANA, LIZ              ADDRESS ON FILE
BONILLA SANTANA, MARISOL          ADDRESS ON FILE
BONILLA SANTANA, PEDRO            ADDRESS ON FILE
Bonilla Santiago, Ana             ADDRESS ON FILE
BONILLA SANTIAGO, CARLOS          ADDRESS ON FILE
BONILLA SANTIAGO, CARLOS          ADDRESS ON FILE
BONILLA SANTIAGO, EDITH           ADDRESS ON FILE
BONILLA SANTIAGO, EMILSE J        ADDRESS ON FILE
BONILLA SANTIAGO, ERNEL J.        ADDRESS ON FILE
BONILLA SANTIAGO, EVA N           ADDRESS ON FILE
BONILLA SANTIAGO, IKE             ADDRESS ON FILE
BONILLA SANTIAGO, JOHN A          ADDRESS ON FILE
Bonilla Santiago, Juan            ADDRESS ON FILE
BONILLA SANTIAGO, JUAN J          ADDRESS ON FILE
BONILLA SANTIAGO, LESLIE E.       ADDRESS ON FILE
BONILLA SANTIAGO, MARIBEL         ADDRESS ON FILE
BONILLA SANTIAGO, MARLID Y        ADDRESS ON FILE
BONILLA SANTIAGO, MELISSA         ADDRESS ON FILE
BONILLA SANTIAGO, MIRIAM          ADDRESS ON FILE
BONILLA SANTIAGO, NELSON          ADDRESS ON FILE
BONILLA SANTIAGO, NILDA M         ADDRESS ON FILE
BONILLA SANTIAGO, NOHEMI          ADDRESS ON FILE
BONILLA SANTIAGO, OLGA I          ADDRESS ON FILE
BONILLA SANTIAGO, PEDRO           ADDRESS ON FILE
BONILLA SANTIAGO, PEDRO           ADDRESS ON FILE
BONILLA SANTIAGO, SOLIMAR         ADDRESS ON FILE
BONILLA SANTIAGO, SONIA M         ADDRESS ON FILE
BONILLA SANTIAGO, YAIDI           ADDRESS ON FILE
BONILLA SANTIAGO, YAMARY          ADDRESS ON FILE
BONILLA SANTIAGO, YARITZA         ADDRESS ON FILE
BONILLA SANTIAGO, YARITZA         ADDRESS ON FILE
BONILLA SANTOS, ALEXANDER         ADDRESS ON FILE
Bonilla Santos, Carlos            ADDRESS ON FILE
BONILLA SANTOS, DOLORES           ADDRESS ON FILE
Bonilla Santos, Eduardo           ADDRESS ON FILE
BONILLA SANTOS, HECTOR            ADDRESS ON FILE
BONILLA SANTOS, ILEANA            ADDRESS ON FILE
BONILLA SANTOS, ILEANA            ADDRESS ON FILE
Bonilla Santos, Nilsa             ADDRESS ON FILE
BONILLA SANTOS, WILLIAM           ADDRESS ON FILE
BONILLA SELLES, AGAPITO           ADDRESS ON FILE
BONILLA SEPULVEDA, ELBA S.        ADDRESS ON FILE
BONILLA SIERRA, MIGUEL            ADDRESS ON FILE




                                                                              Page 925 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 926 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                     Address2                     Address3   Address4    City           State   PostalCode   Country
BONILLA SILVA, CHRISTIAN         ADDRESS ON FILE
BONILLA SILVA, KAREN             ADDRESS ON FILE
BONILLA SOTO MD, ORLANDO         ADDRESS ON FILE
BONILLA SOTO, ELBA M.            ADDRESS ON FILE
BONILLA SOTO, IVAN               ADDRESS ON FILE
BONILLA SOTO, JUDITH             ADDRESS ON FILE
BONILLA SOTO, LUIS               ADDRESS ON FILE
BONILLA SOTO, NALDALIZ           ADDRESS ON FILE
BONILLA SOTO, PABLO              ADDRESS ON FILE
BONILLA SOTOMAYOR, MIGUEL        ADDRESS ON FILE
BONILLA SOTOMAYOR, YOMAIRA       ADDRESS ON FILE
BONILLA SUAREZ, LEVI             ADDRESS ON FILE
BONILLA SUAREZ, VIVIANA          ADDRESS ON FILE
BONILLA TANCO, AIDA L            ADDRESS ON FILE
BONILLA TANON, EMMANUEL          ADDRESS ON FILE
BONILLA TIRADO, VANESSA          ADDRESS ON FILE
BONILLA TOLEDO, ISMAEL           ADDRESS ON FILE
BONILLA TOLENTINO, JUDITH        ADDRESS ON FILE
BONILLA TORRES, ADAN             ADDRESS ON FILE
BONILLA TORRES, ALICIA           ADDRESS ON FILE
BONILLA TORRES, ANGEL L          ADDRESS ON FILE
BONILLA TORRES, CARLOS A.        ADDRESS ON FILE
Bonilla Torres, Carmen           ADDRESS ON FILE
BONILLA TORRES, CARMEN           ADDRESS ON FILE
BONILLA TORRES, DELIA            ADDRESS ON FILE
BONILLA TORRES, EVELYN           ADDRESS ON FILE
BONILLA TORRES, GLORIA L         ADDRESS ON FILE
BONILLA TORRES, ISABEL           ADDRESS ON FILE
BONILLA TORRES, JESUS            ADDRESS ON FILE
Bonilla Torres, Jose L           ADDRESS ON FILE
BONILLA TORRES, JUAN             ADDRESS ON FILE
BONILLA TORRES, JUANITA          ADDRESS ON FILE
BONILLA TORRES, JULIO E.         ADDRESS ON FILE
BONILLA TORRES, LILIANETT        ADDRESS ON FILE
Bonilla Torres, Linette          ADDRESS ON FILE
BONILLA TORRES, MARIA DE LOS A   ADDRESS ON FILE
BONILLA TORRES, MARLENE          ADDRESS ON FILE
BONILLA TORRES, MARLYN           ADDRESS ON FILE
BONILLA TORRES, MELVIN A         ADDRESS ON FILE
BONILLA TORRES, MIGDALIA         ADDRESS ON FILE
BONILLA TORRES, NANCY            ADDRESS ON FILE
BONILLA TORRES, OLGA I           ADDRESS ON FILE
BONILLA TORRES, RAQUEL           ADDRESS ON FILE
BONILLA TORRES, RAUL             ADDRESS ON FILE
BONILLA TORRES, VICTOR           ADDRESS ON FILE
BONILLA TORRES, YANIRA           ADDRESS ON FILE
BONILLA TORRES, YANIRA           ADDRESS ON FILE
BONILLA TORRES, ZULMA            ADDRESS ON FILE
BONILLA TOSADO, KENNETH          ADDRESS ON FILE
BONILLA TRAVEL                   AVE APOLO C ‐ 31 URB APOLO                                                       GUAYNABO       PR      00969
BONILLA TRAVERSO, ZAIRA M.       ADDRESS ON FILE
BONILLA UNIFORM LINE             HC 1 BOX 4436                                                                    JUANA DIAZ     PR      00795‐4436
BONILLA UNIFORM LINE             PO BOX 9024275                                                                   SAN JUAN       PR      00902‐4275
BONILLA VADI, ROSA               ADDRESS ON FILE
BONILLA VALEDON, GABRIEL         ADDRESS ON FILE
BONILLA VALENTIN, FERNANDO       ADDRESS ON FILE
BONILLA VALLE, DORIS M.          ADDRESS ON FILE
BONILLA VALLE, DORIS M.          ADDRESS ON FILE
BONILLA VALLE, JUAN E.           ADDRESS ON FILE
BONILLA VALLE, JUAN E.           ADDRESS ON FILE




                                                                             Page 926 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 927 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA VALLEJO, CARMEN      ADDRESS ON FILE
BONILLA VARCACEL, EDWIN      ADDRESS ON FILE
Bonilla Varela, Aurelio      ADDRESS ON FILE
BONILLA VARGAS, FELIX        ADDRESS ON FILE
Bonilla Vargas, Hector C     ADDRESS ON FILE
BONILLA VARGAS, KANDY        ADDRESS ON FILE
Bonilla Vargas, Rafael       ADDRESS ON FILE
BONILLA VAZQUEZ, ANA I       ADDRESS ON FILE
BONILLA VAZQUEZ, DAMARIS     ADDRESS ON FILE
BONILLA VAZQUEZ, DELIA       ADDRESS ON FILE
BONILLA VAZQUEZ, FELIX       ADDRESS ON FILE
BONILLA VAZQUEZ, HAYDEE      ADDRESS ON FILE
BONILLA VAZQUEZ, HECTOR      ADDRESS ON FILE
BONILLA VAZQUEZ, HECTOR      ADDRESS ON FILE
BONILLA VAZQUEZ, HECTOR M.   ADDRESS ON FILE
BONILLA VAZQUEZ, ILEANA      ADDRESS ON FILE
Bonilla Vazquez, Maritza     ADDRESS ON FILE
BONILLA VAZQUEZ, MIGUEL      ADDRESS ON FILE
BONILLA VAZQUEZ, ROBERT      ADDRESS ON FILE
BONILLA VAZQUEZ, SARAH       ADDRESS ON FILE
BONILLA VAZQUEZ, VELMA       ADDRESS ON FILE
BONILLA VAZQUEZ, VICTOR      ADDRESS ON FILE
BONILLA VEGA, AIMEE          ADDRESS ON FILE
BONILLA VEGA, ALEXIS         ADDRESS ON FILE
BONILLA VEGA, ANA R          ADDRESS ON FILE
BONILLA VEGA, CARMEN         ADDRESS ON FILE
BONILLA VEGA, CARMEN IRIS    ADDRESS ON FILE
BONILLA VEGA, DALILA         ADDRESS ON FILE
BONILLA VEGA, EDWIN          ADDRESS ON FILE
BONILLA VEGA, EVA            ADDRESS ON FILE
BONILLA VEGA, GRACIA I       ADDRESS ON FILE
Bonilla Vega, Hector J       ADDRESS ON FILE
BONILLA VEGA, HELEN          ADDRESS ON FILE
BONILLA VEGA, IDALI          ADDRESS ON FILE
BONILLA VEGA, JOSE           ADDRESS ON FILE
Bonilla Vega, Lucrecia       ADDRESS ON FILE
BONILLA VEGA, LUCRECIA       ADDRESS ON FILE
BONILLA VEGA, MARCELINO      ADDRESS ON FILE
BONILLA VEGA, MIGUEL         ADDRESS ON FILE
BONILLA VEGA, OLGA E         ADDRESS ON FILE
BONILLA VEGA, RAQUEL         ADDRESS ON FILE
BONILLA VEGA, STEVEN         ADDRESS ON FILE
BONILLA VEGA,ANGEL S.        ADDRESS ON FILE
BONILLA VEGUILLA, GLORYVEE   ADDRESS ON FILE
BONILLA VELEZ MD, ONIX       ADDRESS ON FILE
BONILLA VELEZ, CHARELYS      ADDRESS ON FILE
BONILLA VELEZ, EDWIN         ADDRESS ON FILE
Bonilla Velez, Francis A.    ADDRESS ON FILE
BONILLA VELEZ, JEANETTE      ADDRESS ON FILE
BONILLA VELEZ, ONIX          ADDRESS ON FILE
BONILLA VELEZ, WENDELL       ADDRESS ON FILE
Bonilla Velez, Widna A       ADDRESS ON FILE
BONILLA VELEZ, WILBERT       ADDRESS ON FILE
BONILLA VELEZ, WILDA M.      ADDRESS ON FILE
Bonilla Velez, Wilmer        ADDRESS ON FILE
BONILLA VELEZ,ONIX           ADDRESS ON FILE
BONILLA VENTURA, OSVALDO     ADDRESS ON FILE
BONILLA VERA, ANGEL          ADDRESS ON FILE
Bonilla Vera, Angel L        ADDRESS ON FILE
BONILLA VIANA, MARIBEL       ADDRESS ON FILE




                                                                         Page 927 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 928 of 3500
                                                                                     Creditor Matrix

Creditor Name                          Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
BONILLA VICENTE, AMALIA                ADDRESS ON FILE
BONILLA VICENTE, MAIRYM                ADDRESS ON FILE
BONILLA VICUNA, NATALIA                ADDRESS ON FILE
BONILLA VIERA, SHARON                  ADDRESS ON FILE
BONILLA VILLALONGO, JONATHAN           ADDRESS ON FILE
BONILLA VILLANUEVA, ELIZABETH          ADDRESS ON FILE
BONILLA ZAPATA, NAHIR                  ADDRESS ON FILE
BONILLA ZAVALA, SANDRA L.              ADDRESS ON FILE
BONILLA, AMARILIZ                      ADDRESS ON FILE
BONILLA, ANGEL                         ADDRESS ON FILE
BONILLA, BLANCA                        ADDRESS ON FILE
BONILLA, CARLOS                        ADDRESS ON FILE
BONILLA, CARLOS A.                     ADDRESS ON FILE
BONILLA, DIGNA                         ADDRESS ON FILE
BONILLA, EDWIN                         ADDRESS ON FILE
BONILLA, GABRIEL                       ADDRESS ON FILE
BONILLA, JANNETTE H.                   ADDRESS ON FILE
BONILLA, JEAN                          ADDRESS ON FILE
BONILLA, JOSE RAMON                    ADDRESS ON FILE
BONILLA, JUAN                          ADDRESS ON FILE
BONILLA, JUAN C.                       ADDRESS ON FILE
BONILLA, LUIS A.                       ADDRESS ON FILE
BONILLA, LUIS E.                       ADDRESS ON FILE
BONILLA, MAGDALIZ                      ADDRESS ON FILE
BONILLA, MARIA                         ADDRESS ON FILE
BONILLA, MAYRA                         ADDRESS ON FILE
BONILLA, WILLIAM                       ADDRESS ON FILE
BONILLA, WILLIAM                       ADDRESS ON FILE
BONILLA,ONIX                           ADDRESS ON FILE
BONILLAACEVEDO, CARLOS                 ADDRESS ON FILE
BONILLA‐CANDELARIA, ANIBAL             ADDRESS ON FILE
Bonilla‐De Jesús, Migdalia             ADDRESS ON FILE
BONILLAORTIZ, JOSE A                   ADDRESS ON FILE
BONILLAS ORTIZ, MARITZA                ADDRESS ON FILE
BONILLAS RENTAS, VERONICA              ADDRESS ON FILE
BONILLAS RIVERA, MIGUEL                ADDRESS ON FILE
BONILLAS SANTOS, NILSA                 ADDRESS ON FILE
BONIN ELECTRONIC INC.                  PO BOX 13846                                                                      SAN JUAN     PR      00913
BONINI LAMADRID, MIGUEL                ADDRESS ON FILE
BONINI LAMADRID, MIGUEL A.             ADDRESS ON FILE
BONISCONTRO, MARIA                     ADDRESS ON FILE
BONKOSKY MEDINA, HARRY A               ADDRESS ON FILE
BONN CONSTRUCTION CORP                 PMB 637                    PO BOX 1353                                            GUAYNABO     PR      00970
BONNET CUELLO, MARITZA                 ADDRESS ON FILE
BONNET DIAZ, GRIZEL T                  ADDRESS ON FILE
BONNET DIAZ, JULIO                     ADDRESS ON FILE
BONNET FLORES, CARLOS                  ADDRESS ON FILE
BONNET INS BROKERAGE CORP              PO BOX 9020602                                                                    SAN JUAN     PR      00902‐0602
BONNET IRVINE, JORGE                   ADDRESS ON FILE
BONNET MERCIER, FERNANDO               ADDRESS ON FILE
BONNET MERCIER, FERNANDO               ADDRESS ON FILE
BONNET RIVERA, MAGDALEN                ADDRESS ON FILE
BONNET SANZ, FRANCISCO                 ADDRESS ON FILE
BONNET VAZQUEZ, EDNA C.                ADDRESS ON FILE
BONNET VAZQUEZ, LUIS                   ADDRESS ON FILE
BONNETT RIVERA, ALEXANDRA              ADDRESS ON FILE
BONNEVILLE CONSTRUCTION S.E.           PO BOX 193476                                                                     SAN JUAN     PR      00919‐3476
BONNEVILLE CONTRACTING &TECHNOLOGY GROP O BOX 193476                                                                     SAN JUAN     PR      00919‐3476
BONNEVILLE CONTRACTING AND TECH. GROUP PO BOX 193476                                                                     SAN JUAN     PR      00919‐3476
Bonneville Contracting And Technology  PO Box 193476                                                                     San Juan     PR      00919




                                                                                    Page 928 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                              Exhibit A-1 - Creditor
                                                                                  Case No.Matrix
                                                                                          17 BK 3283‐LTSPage 929 of 3500
                                                                                                       Creditor Matrix

Creditor Name                                 Address1                           Address2                           Address3   Address4   City          State   PostalCode   Country
BONNEVILLE CONTRACTING AND TECHNOLOGY GP. O. BOX 193476                                                                                   SAN JUAN      PR      00919‐3476
BONNIBELLE VAZQUEZ ACOSTA                     ADDRESS ON FILE
BONNIE DENTON MEDINA                          ADDRESS ON FILE
BONNIE E. VAZQUEZ SURIEL                      ADDRESS ON FILE
BONNIE J SCHAFFNER                            ADDRESS ON FILE
BONNIE L BAMBURG AND MARVIN A BAMBURG ADDRESS ON FILE
BONNIE MADURO COLON                           ADDRESS ON FILE
BONNIE RUIZ                                   ADDRESS ON FILE
BONNIN BONNIN, CLAUDIA                        ADDRESS ON FILE
BONNIN CLARKE, FRANCISCO                      ADDRESS ON FILE
BONNIN DIAZ, OLGA M                           ADDRESS ON FILE
BONNIN ELECTRONICS                            PO BOX 13846                                                                                SAN JUAN      PR      00908‐3846
BONNIN ELECTRONICS INC                        PO BOX 13846                                                                                SAN JUAN      PR      00908‐3846
BONNIN QUEZADA, YOSELIN E                     ADDRESS ON FILE
BONNIN SURIS MD, MARIA                        ADDRESS ON FILE
BONNIN SURIS, MARIA                           ADDRESS ON FILE
BONNIN, RAFAEL                                ADDRESS ON FILE
BONO GONZALEZ, MILAGROS                       ADDRESS ON FILE
BONVOYAGE                                     PLAZA LAS AMERICAS AVE ROOSEVELT                                                            SAN JUAN      PR      00918
BONY R FUENTES MONTANEZ                       ADDRESS ON FILE
BOODOOSINGH CASIANO, BACHANEE                 ADDRESS ON FILE
BOOK STORE                                    255 SAN JOSE ST.                                                                            SAN JUAN      PR      00901
BOOKAS MD, TIMITHY                            ADDRESS ON FILE
BOOM VENTURES LLC                             605 CALLE CONDADO APT 719                                                                   SAN JUAN      PR      00907
Boomerang Wireless, LLC d/b/a EnTouch Wireles 1502 MARTIN TRAVIESO ST.                                                                    SAN JUAN      PR      00911‐1938
BOOT CAMP 5K RACE CHALLENGE INC               3 PASEO DEL PARQUE                                                                          AGUADILLA     PR      00603
BOOTH HERNANDEZ, JOSE                         ADDRESS ON FILE
BOQUERON COMMUNICATIONS GROUP INC             PO BOX 5103 PMB 298                                                                         CABO ROJO     PR      00623
BOQUERON EXTERMINATING SERVICES INC           PO BOX 308                                                                                  CABO ROJO     PR      00623‐0308
BORA BORA POOL DBA BORA SATELITE              P O BOX 4652                                                                                CAROLINA      PR      00984‐4652
BORBON CORDOVA, ELIZABETH                     ADDRESS ON FILE
BORDADO DIGITAL                               VILLAS DEL RIO                     D 34 CALLE 15                                            BAYAMON       PR      00959
BORDADO MAY, KASSANDRA M                      ADDRESS ON FILE
BORDADOS DESIGN INC                           VILLAS DE BUENAVENTURA             384 CALLE OROCOVIS                                       YABUCOA       PR      00767‐9569
BORDADOS E IMPRESOS YANA, INC                 PO BOX 2066                                                                                 GUAYAMA       PR      00785‐2066
Bordali Casanova, Jorge                       ADDRESS ON FILE
BORDALLO RODRIGUEZ, IRELIZ A                  ADDRESS ON FILE
BORDALLO RODRIGUEZ, ISABEL                    ADDRESS ON FILE
BORDALLO RODRIGUEZ, ODEARDO                   ADDRESS ON FILE
BORDAS MELO, NICOLAS                          ADDRESS ON FILE
BORDERS                                       525 FD ROOSEVELT AVE                                                                        SAN JUAN      PR      00918
BORDERS, INC.                                 PLAZA LAS AMERICAS                 525 FD ROOSEVELT                                         SAN JUAN      PR      00919‐0000
BORDET VILLA MD, FERNANDO                     ADDRESS ON FILE
BORDON MOYA, ANA                              ADDRESS ON FILE
BORDONADA RIVERA, BLANCA I                    ADDRESS ON FILE
BORDOY DAVILA, FRANCISCO                      ADDRESS ON FILE
BORDOY JIMENEZ, IDRIS                         ADDRESS ON FILE
BORDOY MOLINA, EDWIN                          ADDRESS ON FILE
BORDOY PEREZ, CARLOS                          ADDRESS ON FILE
BORDOY PEREZ, GISELLE                         ADDRESS ON FILE
BORDOY RIOS, LEONEL                           ADDRESS ON FILE
BORDOY VAZQUEZ, IRIS                          ADDRESS ON FILE
BORECKI CRUZ, MARYANN                         ADDRESS ON FILE
BORELLI IRIZARRY, FRANCISCO A                 ADDRESS ON FILE
BORELLI TORRES, LUIS A                        ADDRESS ON FILE
BORGES ACEVEDO, EDDA                          ADDRESS ON FILE
BORGES AGUAYO, JOAQUIN                        ADDRESS ON FILE
BORGES ALAMEDA, MAGDALENA                     ADDRESS ON FILE
Borges Albino, Sergio A                       ADDRESS ON FILE
BORGES ALICEA, SIGFREDO                       ADDRESS ON FILE




                                                                                                      Page 929 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 930 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORGES ALMODOVAR, RAYMOND        ADDRESS ON FILE
BORGES ALVARADO, JOSE A          ADDRESS ON FILE
BORGES ALVARADO, LUZ N           ADDRESS ON FILE
BORGES ALVAREZ, VICTOR           ADDRESS ON FILE
BORGES AMADOR, MARIA S           ADDRESS ON FILE
BORGES APONTE MD, HIDELISA       ADDRESS ON FILE
BORGES APONTE, ANDRES            ADDRESS ON FILE
BORGES APONTE, HIDELISA          ADDRESS ON FILE
BORGES APONTE, LUIS              ADDRESS ON FILE
BORGES APONTE, PEDRO L           ADDRESS ON FILE
BORGES ARROYO, ALICIA            ADDRESS ON FILE
BORGES ARROYO, BETZABE           ADDRESS ON FILE
BORGES ARROYO, EDWIN F           ADDRESS ON FILE
BORGES ARROYO, NORIS             ADDRESS ON FILE
BORGES ARROYO, VANESSA DEL C     ADDRESS ON FILE
BORGES ARROYO, VANESSA DEL C     ADDRESS ON FILE
BORGES BAEZ, ROBERTO             ADDRESS ON FILE
BORGES BARRETO, FE V.            ADDRESS ON FILE
BORGES BARRIOS, LESBIA           ADDRESS ON FILE
Borges Berdecia, Jenniffer       ADDRESS ON FILE
BORGES BONILLA, CARMEN           ADDRESS ON FILE
BORGES BONILLA, LORGIA           ADDRESS ON FILE
BORGES BONILLA, VIVIAN M         ADDRESS ON FILE
BORGES BORGES, ILEANA            ADDRESS ON FILE
BORGES BURGOS, VIANCA            ADDRESS ON FILE
BORGES BUS LINE INC              P O BOX 1293                                                                     MAUNABO      PR      00707
BORGES CANCEL MD, WILLIAM        ADDRESS ON FILE
BORGES CAPO, ROSEMARY            ADDRESS ON FILE
BORGES CARDONA, ROSA L.          ADDRESS ON FILE
BORGES CARRASQUILLO, LUIS RAUL   ADDRESS ON FILE
BORGES CARRILLO, ROBERTO C       ADDRESS ON FILE
BORGES CHAVES, RICARDO           ADDRESS ON FILE
BORGES COLON, CARLOS A           ADDRESS ON FILE
BORGES COLON, CARLOS A           ADDRESS ON FILE
BORGES COLON, CARLOS D.          ADDRESS ON FILE
BORGES COLON, GLORIA E           ADDRESS ON FILE
Borges Colon, Jose A             ADDRESS ON FILE
BORGES COLON, LIMARY             ADDRESS ON FILE
BORGES COLON, LUZ M              ADDRESS ON FILE
BORGES COLON, MARICELI DEL C     ADDRESS ON FILE
BORGES COLON, MELISSA            ADDRESS ON FILE
BORGES COLON, MILAGROS C         ADDRESS ON FILE
BORGES COLON, MYRNA              ADDRESS ON FILE
BORGES CONTRERAS, DALINES        ADDRESS ON FILE
BORGES CONTRERAS, JORGE          ADDRESS ON FILE
BORGES CONTRERAS, MARITZA R      ADDRESS ON FILE
BORGES CORREA, CARLOS            ADDRESS ON FILE
BORGES CORREA, MARGARET          ADDRESS ON FILE
BORGES COTTO, DAIHANNA           ADDRESS ON FILE
BORGES COTTO, MARIA              ADDRESS ON FILE
BORGES CRUZ, ALICE M.            ADDRESS ON FILE
BORGES CRUZ, ALICE M.            ADDRESS ON FILE
BORGES CRUZ, GERARDO A           ADDRESS ON FILE
BORGES CUEVAS, HERIBERTO         ADDRESS ON FILE
BORGES DAVID, CATALINA           ADDRESS ON FILE
BORGES DE BERRIOS, CANDIDA       ADDRESS ON FILE
Borges De Jesus, Brendaliz       ADDRESS ON FILE
BORGES DE LEON, MARICARMEN       ADDRESS ON FILE
Borges Del Valle, Glenda         ADDRESS ON FILE
BORGES DEL VALLE, RAFAEL         ADDRESS ON FILE




                                                                             Page 930 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 931 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORGES DELGADO, ADANA         ADDRESS ON FILE
BORGES DELGADO, MARTA M       ADDRESS ON FILE
BORGES DONES, CARLOS          ADDRESS ON FILE
BORGES DONES, JUAN            ADDRESS ON FILE
BORGES ESTERAS, ROBERT        ADDRESS ON FILE
BORGES ESTRADA, JAISELYN      ADDRESS ON FILE
Borges Figueroa, Jose A.      ADDRESS ON FILE
Borges Figueroa, Ricardo      ADDRESS ON FILE
BORGES FIGUEROA, YELITZA      ADDRESS ON FILE
BORGES FLECHA, AUREA J        ADDRESS ON FILE
BORGES FLEMING, ROGELIO       ADDRESS ON FILE
Borges Flores, Jose           ADDRESS ON FILE
BORGES FORTI, EDGA A          ADDRESS ON FILE
BORGES FORTY, CARMEN M        ADDRESS ON FILE
BORGES GARCIA, ARTURO         ADDRESS ON FILE
BORGES GARCIA, GABRIEL        ADDRESS ON FILE
BORGES GARCIA, GILBERTO       ADDRESS ON FILE
BORGES GARCIA, MARIA S.       ADDRESS ON FILE
BORGES GARCIA, NASSON         ADDRESS ON FILE
BORGES GARCIA, NORMA          ADDRESS ON FILE
BORGES GARCIA, SANDRA I       ADDRESS ON FILE
BORGES GARCIA, ZAIDA          ADDRESS ON FILE
BORGES GOMEZ, JOSE R          ADDRESS ON FILE
BORGES GOMEZ, MICHELLE        ADDRESS ON FILE
BORGES GONZALEZ, AIDA L.      ADDRESS ON FILE
BORGES GONZALEZ, CARMEN M     ADDRESS ON FILE
BORGES GONZALEZ, JOSE         ADDRESS ON FILE
BORGES GONZALEZ, MIGUEL       ADDRESS ON FILE
BORGES GONZALEZ, NICOLE       ADDRESS ON FILE
BORGES GUERRA, HAMEL          ADDRESS ON FILE
BORGES GUEVARA, MIGUEL        ADDRESS ON FILE
BORGES GUILLAMA, DANIEL       ADDRESS ON FILE
BORGES GULF SERVICE STATION   46 CALLE GEORGETTI                                                               CAGUAS       PR      00725
BORGES GUTIERREZ, PEDRO J.    ADDRESS ON FILE
BORGES GUZMAN, EDNA           ADDRESS ON FILE
BORGES GUZMAN, ROSABEL        ADDRESS ON FILE
BORGES HERNANDEZ, ADALISSE    ADDRESS ON FILE
BORGES HERNANDEZ, BENJAMIN    ADDRESS ON FILE
BORGES HERNANDEZ, CARMEN D    ADDRESS ON FILE
BORGES HERNANDEZ, DIANA O.    ADDRESS ON FILE
BORGES HERNANDEZ, OMAR        ADDRESS ON FILE
Borges Homs, Rafael           ADDRESS ON FILE
BORGES LEBRON, CANDIDA        ADDRESS ON FILE
BORGES LEON, MADELINE         ADDRESS ON FILE
BORGES LEON, TAICHA           ADDRESS ON FILE
BORGES LEON, WIDALYS          ADDRESS ON FILE
BORGES LIZARDI, ADA I         ADDRESS ON FILE
BORGES LOPEZ, CARMEN I        ADDRESS ON FILE
BORGES LOPEZ, JOSE            ADDRESS ON FILE
BORGES LOPEZ, LAURA E         ADDRESS ON FILE
BORGES LOPEZ, MILAGROS        ADDRESS ON FILE
BORGES LOZADA, MARILYN        ADDRESS ON FILE
BORGES LOZANO, EDGAR          ADDRESS ON FILE
BORGES LUNA, LUIS R           ADDRESS ON FILE
BORGES MACHADO, LUIS R        ADDRESS ON FILE
BORGES MALDONADO, MAYRA E     ADDRESS ON FILE
BORGES MARTINEZ, ANA B.       ADDRESS ON FILE
BORGES MARTINEZ, INGRID       ADDRESS ON FILE
BORGES MARTINEZ, JORGE        ADDRESS ON FILE
BORGES MARTINEZ, LUZ E        ADDRESS ON FILE




                                                                          Page 931 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 932 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORGES MARTINEZ, MARIA DEL        ADDRESS ON FILE
BORGES MARTINEZ, MARIA J          ADDRESS ON FILE
BORGES MARTINEZ, MARIELA          ADDRESS ON FILE
BORGES MARTINEZ, YARELIS          ADDRESS ON FILE
BORGES MASSA, MARIA               ADDRESS ON FILE
BORGES MATOS, DAISY M             ADDRESS ON FILE
BORGES MATOS, IRIS S              ADDRESS ON FILE
BORGES MAYSONET, MARIA DE LOS A   ADDRESS ON FILE
BORGES MEDINA, RAMIRO             ADDRESS ON FILE
BORGES MENDEZ, MARIA E            ADDRESS ON FILE
BORGES MERCED, ANGEL              ADDRESS ON FILE
BORGES MERCED, JOSE M.            ADDRESS ON FILE
BORGES MILLETE, YIRAIDA M.        ADDRESS ON FILE
BORGES MIRANDA, ENID              ADDRESS ON FILE
BORGES MIRANDA, KELVIN            ADDRESS ON FILE
BORGES MIRANDA, KELVIN ALBERTO    ADDRESS ON FILE
BORGES MORALES, PEDRO L           ADDRESS ON FILE
BORGES MURPHY, LETTY              ADDRESS ON FILE
BORGES NAVARRO, CARINE            ADDRESS ON FILE
BORGES NAVARRO, CARINE            ADDRESS ON FILE
BORGES NEGRON, LESBIA             ADDRESS ON FILE
BORGES NORAT, LISSETTE            ADDRESS ON FILE
BORGES NORAT, ROSA                ADDRESS ON FILE
BORGES OCASIO, ELISANDRA          ADDRESS ON FILE
BORGES ORTIZ, JULIO C.            ADDRESS ON FILE
BORGES ORTIZ, MARIA C             ADDRESS ON FILE
BORGES PADIN, NILDA M             ADDRESS ON FILE
BORGES PEREZ, ANGEL L             ADDRESS ON FILE
BORGES PEREZ, ARYAM               ADDRESS ON FILE
BORGES PEREZ, JOEL                ADDRESS ON FILE
BORGES PIMENTEL, PABLO            ADDRESS ON FILE
BORGES PRIETO, MILDRED            ADDRESS ON FILE
BORGES QUILES, RICARDO            ADDRESS ON FILE
BORGES QUINONES, ELSIE            ADDRESS ON FILE
BORGES QUINONES, JESUS            ADDRESS ON FILE
BORGES RAMOS, YARA V              ADDRESS ON FILE
BORGES RAMOS, YELITZA M           ADDRESS ON FILE
BORGES REYES, ANNABELLE           ADDRESS ON FILE
BORGES REYES, JOSE                ADDRESS ON FILE
BORGES RIVERA, AMELIA             ADDRESS ON FILE
BORGES RIVERA, GLORIA             ADDRESS ON FILE
BORGES RIVERA, JANETTE            ADDRESS ON FILE
BORGES RIVERA, MAGDA E            ADDRESS ON FILE
BORGES RIVERA, MONICA             ADDRESS ON FILE
BORGES RIVERA, VIVIAN D           ADDRESS ON FILE
BORGES RIVERA, WILLARD W          ADDRESS ON FILE
BORGES RODRIGUEZ, AIDA I          ADDRESS ON FILE
BORGES RODRIGUEZ, ANA M           ADDRESS ON FILE
Borges Rodriguez, Angel           ADDRESS ON FILE
BORGES RODRIGUEZ, ENELIDA         ADDRESS ON FILE
BORGES RODRIGUEZ, ILSA            ADDRESS ON FILE
BORGES RODRIGUEZ, JULIA           ADDRESS ON FILE
BORGES RODRIGUEZ, LIANY           ADDRESS ON FILE
Borges Rodriguez, Luis M          ADDRESS ON FILE
BORGES RODRIGUEZ, MARILYN         ADDRESS ON FILE
BORGES RODRIGUEZ, MIGUEL A        ADDRESS ON FILE
BORGES RODRIGUEZ, ROSA            ADDRESS ON FILE
BORGES RODRIGUEZ, ROXANNA         ADDRESS ON FILE
BORGES RODRIGUEZ, WILFREDO        ADDRESS ON FILE
BORGES ROMAN, DIANA               ADDRESS ON FILE




                                                                              Page 932 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 933 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORGES ROSA ISMAEL CAGUAS ALUMINUM   3 CALLE GEORGETTI                                                                CAGUAS       PR      00725
BORGES ROSA, LUIS                    ADDRESS ON FILE
BORGES ROSARIO, IVETTE               ADDRESS ON FILE
BORGES ROSARIO, IVETTE               ADDRESS ON FILE
BORGES RUIZ, FRANCISCO L             ADDRESS ON FILE
BORGES RUIZ, MAYRA I.                ADDRESS ON FILE
BORGES RUIZ, ROBERTO                 ADDRESS ON FILE
BORGES SAAVEDRA, STEPHANIE           ADDRESS ON FILE
BORGES SANTIAGO, ARMIDA              ADDRESS ON FILE
BORGES SANTIAGO, GERALD              ADDRESS ON FILE
Borges Santiago, Leonardo            ADDRESS ON FILE
BORGES SANTIAGO, MARIA T.            ADDRESS ON FILE
BORGES SANTIAGO, NOEMI               ADDRESS ON FILE
BORGES SANTIAGO, WILLIAM             ADDRESS ON FILE
BORGES SANTIAGO,WILLIAM              ADDRESS ON FILE
BORGES SANTOS, MARILUZ               ADDRESS ON FILE
Borges Saraga, Ernesto D             ADDRESS ON FILE
BORGES SERRANO, JORGE A              ADDRESS ON FILE
BORGES SOTO, CARMEN A                ADDRESS ON FILE
BORGES SOTO, ROLAND                  ADDRESS ON FILE
BORGES TELLADO, SELENE               ADDRESS ON FILE
BORGES TIRADO, CARMEN                ADDRESS ON FILE
BORGES TIRADO, MARGARITA             ADDRESS ON FILE
BORGES TORRES, CARLOS                ADDRESS ON FILE
BORGES TOSADO, DESIREE               ADDRESS ON FILE
BORGES TOSADO, DESIREE M.            ADDRESS ON FILE
BORGES VALERO, GLORIA E              ADDRESS ON FILE
BORGES VARGAS, MELITZA               ADDRESS ON FILE
BORGES ZAMBRANA, ISRAEL              ADDRESS ON FILE
BORGES ZANBRANA, ISRAEL G            ADDRESS ON FILE
BORGES, LYNETTE A                    ADDRESS ON FILE
BORGES, RICHARD                      ADDRESS ON FILE
BORGES, SERGIO A.                    ADDRESS ON FILE
BORGESE SOBRINO, ILEANA I            ADDRESS ON FILE
BORGHINI MD, MARGARITA               ADDRESS ON FILE
BORGOS BERRIOS, REINALDO             ADDRESS ON FILE
Borgos Colon, Orlando                ADDRESS ON FILE
BORGOS DIAZ, MYRNA L                 ADDRESS ON FILE
BORGOS ERAZO, LIZZETTE               ADDRESS ON FILE
BORGOS ERAZO, LIZZETTE               ADDRESS ON FILE
BORGOS GARCIA, LUIS                  ADDRESS ON FILE
BORGOS LEON, LAURA                   ADDRESS ON FILE
BORGOS LEON, RAFAEL                  ADDRESS ON FILE
BORGOS LEON, REINALDO                ADDRESS ON FILE
BORGOS MELENDEZ, JORGE               ADDRESS ON FILE
BORGOS NEGRON, DELLY M               ADDRESS ON FILE
BORGOS NEGRON, JANISSE               ADDRESS ON FILE
BORGOS NEGRON, LUCELY                ADDRESS ON FILE
BORGOS NEGRON, MIRIAM                ADDRESS ON FILE
BORGOS RAMOS, FELIX                  ADDRESS ON FILE
BORGOS RAMOS, LAURA                  ADDRESS ON FILE
BORGOS RAMOS, LUZ LEIDA              ADDRESS ON FILE
BORGOS RIVERA, IVELISSE              ADDRESS ON FILE
BORGOS RIVERA, LOURDES               ADDRESS ON FILE
BORGOS RODRIGUEZ, ALVIN JOSE         ADDRESS ON FILE
BORGOS RODRIGUEZ, JUAN               ADDRESS ON FILE
BORGOS ROSARIO, PEDRO J              ADDRESS ON FILE
BORGOS ROSARIO, YANICE               ADDRESS ON FILE
BORGOS SANCHEZ, GLENDALY             ADDRESS ON FILE
BORGOS TORRES, HECTOR                ADDRESS ON FILE




                                                                                 Page 933 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 934 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORGOS TORRES, JOSE            ADDRESS ON FILE
BORGOS TORRES, SAMUEL          ADDRESS ON FILE
BORGOS VELEZ, WILLIAM          ADDRESS ON FILE
Borgos Velez, William J        ADDRESS ON FILE
BORIA ALEJANDRO, MICHELLY      ADDRESS ON FILE
BORIA ALGARIN, CHRISTINE       ADDRESS ON FILE
BORIA ANDINO, JOSE             ADDRESS ON FILE
BORIA APONTE, ABIMAEL          ADDRESS ON FILE
BORIA BERRIOS, CHAYRA Y.       ADDRESS ON FILE
BORIA CALCAÑO MD, FAUSTO R     ADDRESS ON FILE
BORIA CARRERO, HECTOR          ADDRESS ON FILE
Boria Carrero, Hector L        ADDRESS ON FILE
BORIA CARRERO, JUAN            ADDRESS ON FILE
BORIA CARRION, AIDA            ADDRESS ON FILE
BORIA CARRION, CLARIBEL        ADDRESS ON FILE
BORIA CASTRO, JEMILZA          ADDRESS ON FILE
BORIA CASTRO, JEMILZA          ADDRESS ON FILE
BORIA CASTRO, JEZABEL          ADDRESS ON FILE
BORIA CLAUDIO, ANDY M.         ADDRESS ON FILE
BORIA CLEMENTE, ELISEO         ADDRESS ON FILE
BORIA CLEMENTE, ESPERANZA      ADDRESS ON FILE
BORIA CLEMENTE, JAVIER         ADDRESS ON FILE
BORIA CLEMENTE, JULIO          ADDRESS ON FILE
Boria Colon, Maggie            ADDRESS ON FILE
BORIA COLON, MERARI            ADDRESS ON FILE
BORIA CORDOVA, EDGAR           ADDRESS ON FILE
BORIA CORREA, ORLANDO          ADDRESS ON FILE
BORIA CRUZ, CARLOS             ADDRESS ON FILE
BORIA DELGADO, LYDIA E         ADDRESS ON FILE
BORIA DELGADO, MARIA           ADDRESS ON FILE
BORIA DELGADO, MARIA DE LA P   ADDRESS ON FILE
BORIA DELGADO, MARIA E         ADDRESS ON FILE
BORIA DIAZ, INGRID             ADDRESS ON FILE
BORIA DIAZ, OLGA I             ADDRESS ON FILE
BORIA DOMINGUEZ, VERONICA      ADDRESS ON FILE
BORIA ESCOBAR, JOSE            ADDRESS ON FILE
BORIA ESCOBAR, LESVIA J        ADDRESS ON FILE
BORIA FIGUEROA, ANGEL          ADDRESS ON FILE
BORIA FLORES, CARMEN S         ADDRESS ON FILE
BORIA FUENTES, JOSE            ADDRESS ON FILE
BORIA GASTO, SOCORRO           ADDRESS ON FILE
BORIA GASTON, CARIDAD          ADDRESS ON FILE
BORIA GASTON, SOCORRO          ADDRESS ON FILE
BORIA GASTON, WILLIAM          ADDRESS ON FILE
BORIA GOMEZ, BLANCA I          ADDRESS ON FILE
BORIA GOMEZ, JINET             ADDRESS ON FILE
BORIA GOMEZ, JUAN              ADDRESS ON FILE
BORIA GOMEZ, MARIBEL           ADDRESS ON FILE
Boria Gonzalez, Eldred         ADDRESS ON FILE
BORIA GONZALEZ, SARA           ADDRESS ON FILE
BORIA GUADALUPE, ALVIN         ADDRESS ON FILE
BORIA GUANILL, CARLOS J.       ADDRESS ON FILE
BORIA LEBRON, SALVADOR         ADDRESS ON FILE
BORIA LOPEZ, NILDA             ADDRESS ON FILE
BORIA MARCANO, MARISOL         ADDRESS ON FILE
BORIA MARCANO, MARISOL         ADDRESS ON FILE
BORIA MARTINEZ, FELIX          ADDRESS ON FILE
BORIA MAURAS, WILFREDO         ADDRESS ON FILE
BORIA MEDINA, MARANGELYS       ADDRESS ON FILE
BORIA MELENDEZ, SORAYA         ADDRESS ON FILE




                                                                           Page 934 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 935 of 3500
                                                                                                        Creditor Matrix

Creditor Name                           Address1                                 Address2                            Address3   Address4   City              State   PostalCode   Country
BORIA MILLAN, JOSE R.                   ADDRESS ON FILE
BORIA MOJICA, JENNY                     ADDRESS ON FILE
BORIA MORALES, LUZ                      ADDRESS ON FILE
BORIA MOYET, RAFAEL                     ADDRESS ON FILE
BORIA MOYET, RAFAEL A.                  ADDRESS ON FILE
BORIA NAVEDO, MANUEL                    ADDRESS ON FILE
BORIA OQUENDO, JOEL                     ADDRESS ON FILE
Boria Oquendo, Mirelys                  ADDRESS ON FILE
BORIA ORTA, MYRIAM A                    ADDRESS ON FILE
BORIA ORTIZ, JEIMYS                     ADDRESS ON FILE
BORIA ORTIZ, JUANITA                    ADDRESS ON FILE
BORIA ORTIZ, TOMASA                     ADDRESS ON FILE
Boria Osorio, Carlos M                  ADDRESS ON FILE
BORIA OSORIO, CARMEN M                  ADDRESS ON FILE
BORIA OSORIO, WANDA IVETTE              ADDRESS ON FILE
BORIA PARRILLA, NELIDA                  ADDRESS ON FILE
BORIA PARRILLA, NELIDA                  ADDRESS ON FILE
BORIA PENALOZA, ANGEL                   ADDRESS ON FILE
BORIA PENALOZA, NATIVIDAD               ADDRESS ON FILE
BORIA PEREZ, BRENDA I.                  ADDRESS ON FILE
BORIA QUINONES, MARIA M                 ADDRESS ON FILE
BORIA QUINONEZ, DELIA                   ADDRESS ON FILE
BORIA REYES, ANGEL T.                   ADDRESS ON FILE
BORIA REYES, JUAN A.                    ADDRESS ON FILE
BORIA REYES, RAFAEL                     ADDRESS ON FILE
BORIA REYES, WILLIAM                    ADDRESS ON FILE
BORIA RIJOS, JOSE M.                    ADDRESS ON FILE
BORIA RIJOS, MARICRUZ                   ADDRESS ON FILE
BORIA RIVERA, JOSE A.                   ADDRESS ON FILE
BORIA RIVERA, LUZ I                     ADDRESS ON FILE
BORIA RODRIGUEZ, KENNETH                ADDRESS ON FILE
BORIA RODRIGUEZ, NANCY                  ADDRESS ON FILE
BORIA ROHENA, JOEL                      ADDRESS ON FILE
BORIA ROMERO, SONIA                     ADDRESS ON FILE
BORIA ROSA, JERIEL M.                   ADDRESS ON FILE
BORIA SANTANA, ZULMA E                  ADDRESS ON FILE
BORIA TIRADO, MAGALY                    ADDRESS ON FILE
BORIA VARGAS, MARIA                     ADDRESS ON FILE
BORIA VEGA, ALEXIS                      ADDRESS ON FILE
BORIA VELAZQUEZ, JOSE M                 ADDRESS ON FILE
BORIA VIZCARRONDO, EVANGELINA           ADDRESS ON FILE
BORIA VIZCARRONDO, LERSY                ADDRESS ON FILE
BORIA VIZCARRONDO, MARIA D              ADDRESS ON FILE
BORICUA OFFICE SOLUTIONS INC            P O BOX 345                                                                                        BAYAMON           PR      00960
BORICUA RIVERA                          COND COSTA MARINA                        T‐1 APT 2‐A                                               CAROLINA          PR      00983
BORICUA TERRAZO (BANO Y PISOS INC)      HC 05 BOX 52335                                                                                    CAGUAS            PR      00725‐9204
BORIKEN AMBULANCE SERVICE               PO BOX 9231                                                                                        CAGUAS            PR      00726
BORIKEN GRAPHIKS                        PMB 233                                  PO BOX 2510                                               TRUJILLO ALTO     PR      00977
BORIKEN LIBROS                          CALLE DOMINGO CABRERA 870 URB.SANTA RITA                                                           RIO PIEDRAS       PR      00925
BORIKEN LIBROS , INC.                   DOMINGO CABRERA 870 SANTA RITA                                                                     SAN JUAN          PR      00925‐0000
BORIKEN LIBROS INC                      URB CAMBRIDGE PARK                       CHESNUT HILL A 3                                          SAN JUAN          PR      00926
BORIKEN LIBROS INC                      URB SANTA RITA                           870 DOMINGO CABRERA                                       SAN JUAN          PR      00925
BORIKS DEAF SPORTS                      URB ESTANCIA                             B 32 VIA CARARES                                          BAYAMON           PR      00961
BORINQUEN AIR CONDITIONING 32 GRADOS    CARR 857 KM 0.5                          BO. CANOVANILLAS                                          CAROLINA          PR      00987‐0000
BORINQUEN AIR CONDITIONING 32 GRADOS    P. O. BOX 37511                          AIRPORT STA.                                              SAN JUAN          PR      00987‐0000
BORINQUEN AIR CORP                      PO BOX 12124                                                                                       SAN JUAN          PR      00914
BORINQUEN AUTO PARTS                    BO PALENQUE                              26 C CARR2                                                BARCELONETA       PR      00617 3339
BORINQUEN BOZCANA                       62 CALLE LUIS MUNOZ RIVERA                                                                         VEGA BAJA         PR      00693
BORINQUEN BROADCASTING CO               PO BOX 790                                                                                         CIDRA             PR      00739‐0790
BORINQUEN CASH & CARRY BORINQUEN RETAILEP.O. BOX 7356                            BO OBRERO                                                 SANTURCE          PR      00916




                                                                                                       Page 935 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 936 of 3500
                                                                                                         Creditor Matrix

Creditor Name                            Address1                          Address2                                   Address3   Address4   City            State   PostalCode   Country
BORINQUEN COMMUNICATION INC              PO BOX 1298                                                                                        TOA ALTA        PR      00954
BORINQUEN DIGGER & TRACTOR PARTS         PO BOX 983                                                                                         HORMIGUEROS     PR      00660
BORINQUEN E M S                          BOX 281                                                                                            LAS PIEDRAS     PR      00771
BORINQUEN GUEST SERVICE & INDUSTRIAL     PO BOX 449                                                                                         BARCELONETA     PR      00617
BORINQUEN GUEST SERVICE & INDUSTRIAL LAU PO BOX 364124                                                                                      SAN JUAN        PR      00936
BORINQUEN HEALTH CARE CENTER             3601 FEDERAL HWY                                                                                   MIAMI           FL      33137‐3795
BORINQUEN JANITORIAL & EXTERMINATING     CALLE GAUTIER BENITEZ # 222                                                                        SAN JUAN        PR      00915‐0000
BORINQUEN LABORATORY SERVICE INC         PO BOX 14334                                                                                       SAN JUAN        PR      00916
BORINQUEN LITHOGRAPHERS, CORP.           PO BOX 29268                                                                                       SAN JUAN        PR      00929‐0268
BORINQUEN MATRESS                        QUEBRADA CRUZ                     RR 6 BOX 6837                                                    TOA ALTA        PR      00953
BORINQUEN MUSIC / RAQUEL MONTALVO        BOX 1627                                                                                           CABO ROJO       PR      00623
BORINQUEN MUSIC STUDIO                   EDIF. PROF. BORINQUEN CARR. 102                                                                    CABO ROJO       PR      00623‐0000
BORINQUEN MUSIC STUDIO                   PO BOX 1627                                                                                        CABO ROJO       PR      00623‐0000
BORINQUEN PHOTO                          AVE BORINQUEN 2107                                                                                 SAN JUAN        PR      00915‐0000
BORINQUEN ROOFING                        606 TITO CASTRO AVENUE            SUITE 401                                                        PONCE           PR      00716‐0218
BORINQUEN ROOFING & DEV CORP             606 TITO CASTRO AVENUE            SUITE 401                                                        PONCE           PR      00716‐0218
BORINQUEN ROOFING AND SERVICES INC       PO BOX 427 SUITE 183                                                                               MAYAGUEZ        PR      00680‐0427
BORINQUEN ROOFING AND SERVICES, INC.     APARTADO 430                                                                                       MAYAGUEZ        PR      00681‐0000
BORINQUEN ROUTE AMBULANCE TRANSP IN BRAPO BOX 2056                                                                                          ANASCO          PR      00610
BORINQUEN SIGNS & DISPLAY, INC.          PO BOX 11338                      CAPARRA HEIGHTS STATION                                          SAN JUAN        PR      00922
BORINQUEN SUR FEDERAL CREDIT UNION       P O BOX 225                                                                                        PENUELAS        PR      00624‐0225
BORINQUEN SURGICAL GROUP                 PO BOX 19626                                                                                       SAN JUAN        PR      00910
BORINQUEN TOWN PLAZA CORP                P O BOX 3861                                                                                       AGUADILLA       PR      00605‐3861
BORINQUENA DEPORTIVA INC                 PO BOX 9408                                                                                        CAGUAS          PR      00726‐9408
BORIS M GUZMAN HERNANDEZ                 ADDRESS ON FILE
BORIS R GONZALEZ                         ADDRESS ON FILE
BORIS R GONZALEZ SANTANA                 ADDRESS ON FILE
BORIS R JIMENEZ NUNEZ                    ADDRESS ON FILE
BORIS ROJAS RODRIGUEZ                    ADDRESS ON FILE
BORIS Y PACHECO                          ADDRESS ON FILE
BORJA RIVERA, CHRISTIAN S                ADDRESS ON FILE
BORJA RIVERA, DENISE A.                  ADDRESS ON FILE
BORJA, MILTON                            ADDRESS ON FILE
BORLAND GROOVER CLINIC                   ATTN MEDICAL RECORDS              3635 S CLYDE MORRIS BLVD STE 100                                 PORT ORANGE     FL      32129
BOROFSKY MD , MICHAEL A                  ADDRESS ON FILE
BORONA, RUSSELL                          ADDRESS ON FILE
BORRAGEROS RODRIGUEZ, JOSE               ADDRESS ON FILE
BORRALI CINTRON, LILIETTE                ADDRESS ON FILE
BORRALI MORALES, ERICK                   ADDRESS ON FILE
BORRALI ROSA, RUBEN                      ADDRESS ON FILE
BORRALI TIRADO, BRENDA                   ADDRESS ON FILE
BORRAS CAMACHO, ANETTE                   ADDRESS ON FILE
BORRAS CRUZ, ELIZABETH                   ADDRESS ON FILE
BORRAS DE MATTA, ARCADIA                 ADDRESS ON FILE
BORRAS DIAZ, HILDA                       ADDRESS ON FILE
BORRAS DIAZ, HILDA I                     ADDRESS ON FILE
BORRAS DIAZ, MARIA DEL C                 ADDRESS ON FILE
BORRAS GONZALEZ, JUDITH                  ADDRESS ON FILE
BORRAS LOPEZ, JAIME                      ADDRESS ON FILE
BORRAS LOPEZ, RAFAEL R                   ADDRESS ON FILE
BORRAS MALDONADO, YAZMIN                 ADDRESS ON FILE
BORRAS MARIN, MARGARITA                  ADDRESS ON FILE
BORRAS MARRERO, GILDA I                  ADDRESS ON FILE
BORRAS MEDINA, EDGARDO                   ADDRESS ON FILE
BORRAS PEREZ, CARLOS                     ADDRESS ON FILE
BORRAS QUINONES, DONALD                  ADDRESS ON FILE
BORRAS QUINONES, RONALD                  ADDRESS ON FILE
BORRAS RAMIREZ MD, JOSE M                ADDRESS ON FILE
BORRAS RODRIGUEZ, LUCILA                 ADDRESS ON FILE
BORRAS RODRIGUEZ, WILMA IRIS             ADDRESS ON FILE




                                                                                                        Page 936 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 937 of 3500
                                                                                Creditor Matrix

Creditor Name                      Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORRAS SALABERRY, CRISTOBAL        ADDRESS ON FILE
BORRAS SALLABE, HORTENSIA I        ADDRESS ON FILE
BORRAS SANCHEZ, JULIO              ADDRESS ON FILE
BORRAS SANTIAGO, KAREN L           ADDRESS ON FILE
BORRAS SOLIS, KARLA I              ADDRESS ON FILE
BORRAS SOTO, ANGELO                ADDRESS ON FILE
Borras Soto, Manuel A              ADDRESS ON FILE
BORRAS VARGAS, CARMEN              ADDRESS ON FILE
BORRAS, JULIO I.                   ADDRESS ON FILE
BORREGO CIDONCHA, AMALIA MARIA     ADDRESS ON FILE
BORREGO CONDE, MARIA DE LOS        ADDRESS ON FILE
BORREGO CORDERO, MELANY            ADDRESS ON FILE
BORREGO LOPEZ, JOSE                ADDRESS ON FILE
BORREGO MENDEZ, FELIX              ADDRESS ON FILE
BORRELI ALBINO, IDSA ENID          ADDRESS ON FILE
BORRELI IRIZARRY, SAMUEL           ADDRESS ON FILE
BORRELI ORTIZ, PAOLA               ADDRESS ON FILE
BORRELL VLIMANT, DOMINIQUE         ADDRESS ON FILE
BORRERO ACOSTA, MILDRED J          ADDRESS ON FILE
BORRERO ADORNO, DERICK             ADDRESS ON FILE
BORRERO AGOSTO, DESLIE             ADDRESS ON FILE
BORRERO AGOSTO, RAMIRO             ADDRESS ON FILE
BORRERO ALAMO, ALMA N              ADDRESS ON FILE
BORRERO ALAMO, MORAIMA             ADDRESS ON FILE
BORRERO ALAMO, MORAIMA             ADDRESS ON FILE
BORRERO ALBERTY, ALFREDO           ADDRESS ON FILE
BORRERO ALBERTY, BRENDA L          ADDRESS ON FILE
BORRERO ALBERTY, WILFREDO          ADDRESS ON FILE
BORRERO ALDAHONDO, ANAYRA          ADDRESS ON FILE
BORRERO ALDAHONDO, GUALBERTO       ADDRESS ON FILE
BORRERO ALDAHONDO, MARCIANO E.     ADDRESS ON FILE
Borrero Alicea, Adalberto          ADDRESS ON FILE
BORRERO ANDINO, LUIS T             ADDRESS ON FILE
BORRERO ANDUJAR, MARIA M.          ADDRESS ON FILE
BORRERO APONTE, RAFAELA            ADDRESS ON FILE
BORRERO ARCE, PILAR                ADDRESS ON FILE
BORRERO ARROYO, ISELA              ADDRESS ON FILE
BORRERO ARROYO, JOSE L.            ADDRESS ON FILE
BORRERO ART MATERIALS (BAM) CORP   12 CALLE PALMER                                                                  BAYAMON      PR      00961‐0000
BORRERO ART MATERIALS (BAM) CORP   14 ‐ 16 PALMER STREET                                                            BAYAMON      PR      00961‐6335
BORRERO ART MATERIALS (BAM) CORP   14 CALLE PALMER                                                                  BAYAMON      PR      00961
BORRERO ART MATERIALS (BAM) CORP   BORRERO ART MATERIALS     12 CALLE PALMER                                        BAYAMON      PR      00961
BORRERO ART MATERIALS CORP         12 CALLE PALMER                                                                  BAYAMON      PR      00961
BORRERO ARVELO, VERONICA           ADDRESS ON FILE
BORRERO ARVELO, VERONICA           ADDRESS ON FILE
BORRERO BAEZ, LUZ S                ADDRESS ON FILE
BORRERO BAEZ, MELISSA E.           ADDRESS ON FILE
BORRERO BERDECIA, CHRISTIE M       ADDRESS ON FILE
BORRERO BOCACHICA, IVONNE L        ADDRESS ON FILE
BORRERO BOCANEGRA, ALBA            ADDRESS ON FILE
BORRERO BONET, JANNETTE            ADDRESS ON FILE
BORRERO BORRELI, DAMARIS           ADDRESS ON FILE
BORRERO BORRELI, JOHNNY            ADDRESS ON FILE
BORRERO BORRERO, IRMA              ADDRESS ON FILE
BORRERO BRACERO, EMANUEL           ADDRESS ON FILE
BORRERO BURGOS, FRANK              ADDRESS ON FILE
BORRERO CABRERA, CARLOS            ADDRESS ON FILE
BORRERO CAMACHO, ANNIE L.          ADDRESS ON FILE
BORRERO CAMACHO, ENIDSA M          ADDRESS ON FILE
BORRERO CARABALLO, FERNANDO        ADDRESS ON FILE




                                                                               Page 937 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 938 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Borrero Caraballo, Joel        ADDRESS ON FILE
BORRERO CARABALLO, JOSE M.     ADDRESS ON FILE
BORRERO CASADO, SONIA          ADDRESS ON FILE
Borrero Casiano, Jossean       ADDRESS ON FILE
BORRERO CASIANO, WILFREDO      ADDRESS ON FILE
BORRERO CASTILLO, BELLANIRA    ADDRESS ON FILE
BORRERO CASTILLO, JOSE L       ADDRESS ON FILE
BORRERO CENTENO, EDUARD        ADDRESS ON FILE
BORRERO CENTENO, LUZ           ADDRESS ON FILE
BORRERO CENTENO, MARILYN       ADDRESS ON FILE
BORRERO CENTENO, MARIO         ADDRESS ON FILE
BORRERO COLON, MICHAEL         ADDRESS ON FILE
BORRERO COLON, RAMON           ADDRESS ON FILE
BORRERO COLON, REYNALDO        ADDRESS ON FILE
Borrero Cordero, William A     ADDRESS ON FILE
BORRERO CRUZ, BETTY            ADDRESS ON FILE
BORRERO CRUZ, CARLOS L         ADDRESS ON FILE
BORRERO CRUZ, GIOVANNY         ADDRESS ON FILE
BORRERO CRUZ, RAUL             ADDRESS ON FILE
BORRERO CRUZ, TERESA           ADDRESS ON FILE
BORRERO CUELLO MD, KARLA       ADDRESS ON FILE
BORRERO DE JESUS MD, SAMUEL    ADDRESS ON FILE
BORRERO DE JESUS, NYDIA        ADDRESS ON FILE
BORRERO DE JESUS, SAMUEL       ADDRESS ON FILE
BORRERO DE, NYDIA              ADDRESS ON FILE
BORRERO DIAZ, HERIBERTO        ADDRESS ON FILE
BORRERO DIAZ, NELSON           ADDRESS ON FILE
BORRERO DURAND, VANESSA        ADDRESS ON FILE
BORRERO ECHEVARRIA, JESUS      ADDRESS ON FILE
BORRERO ECHEVARRIA, MARIA I    ADDRESS ON FILE
BORRERO ESTRADA, JOSE          ADDRESS ON FILE
BORRERO ESTRADA, JUANITA       ADDRESS ON FILE
BORRERO FELICIANO, ESTHER      ADDRESS ON FILE
BORRERO FELICIANO, JOSE F      ADDRESS ON FILE
BORRERO FELICIANO, MARIA D     ADDRESS ON FILE
BORRERO FERNANDEZ, JOSELYN     ADDRESS ON FILE
BORRERO FERNANDEZ, MABEL       ADDRESS ON FILE
BORRERO FIGUEROA, GERALDO      ADDRESS ON FILE
BORRERO FLORES, MARIA          ADDRESS ON FILE
BORRERO FLORES, ROBERTO        ADDRESS ON FILE
BORRERO FONT, ALBA L           ADDRESS ON FILE
BORRERO FRATICELLI, JOSE       ADDRESS ON FILE
BORRERO FRATICELLI, MIGDALIA   ADDRESS ON FILE
BORRERO FUENTES, MIRIAM        ADDRESS ON FILE
BORRERO GARAY, ANGEL           ADDRESS ON FILE
BORRERO GARCIA, CARLOS         ADDRESS ON FILE
BORRERO GARCIA, CARMEN M       ADDRESS ON FILE
BORRERO GARCIA, MARIA          ADDRESS ON FILE
BORRERO GARCIA, MARISOL        ADDRESS ON FILE
BORRERO GARCIA, MARISOL        ADDRESS ON FILE
BORRERO GARCIA, WILVIN         ADDRESS ON FILE
BORRERO GARCIA,LORAINE         ADDRESS ON FILE
BORRERO GLASS, VILMA H.        ADDRESS ON FILE
BORRERO GONZALEZ, ANA I        ADDRESS ON FILE
BORRERO GONZALEZ, AURORA       ADDRESS ON FILE
BORRERO GONZALEZ, EDUARDO      ADDRESS ON FILE
BORRERO GONZALEZ, EDWIN J.     ADDRESS ON FILE
Borrero Gonzalez, Jorge L      ADDRESS ON FILE
BORRERO GONZALEZ, MAYLEEN      ADDRESS ON FILE
Borrero Gonzalez, Miguel A     ADDRESS ON FILE




                                                                           Page 938 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 939 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORRERO GUADARRAMA, ANGEL M     ADDRESS ON FILE
BORRERO GUALDARRAMA, CARLOS J   ADDRESS ON FILE
BORRERO GUZMAN, MARIE A         ADDRESS ON FILE
BORRERO HEREDIA, JOSE A         ADDRESS ON FILE
BORRERO HERNANDEZ, JUAN         ADDRESS ON FILE
BORRERO HERNANDEZ, NAOMI        ADDRESS ON FILE
BORRERO HERNANDEZ, ROBERT       ADDRESS ON FILE
BORRERO HERNANDEZ, VICENTE      ADDRESS ON FILE
BORRERO HUERTA, RUFINO          ADDRESS ON FILE
BORRERO IBARRONDO, LYNDALIZ     ADDRESS ON FILE
BORRERO IRIZARRY, DAVID         ADDRESS ON FILE
BORRERO IRIZARRY, LILLIAN I     ADDRESS ON FILE
BORRERO IRIZARRY, SOL           ADDRESS ON FILE
BORRERO IRIZARRY, SOL E         ADDRESS ON FILE
BORRERO JAIME, ELINA            ADDRESS ON FILE
BORRERO JIMENEZ, KEISHLA D.     ADDRESS ON FILE
BORRERO JIMENEZ,KIARA E.        ADDRESS ON FILE
BORRERO JULIA, RAFAEL           ADDRESS ON FILE
BORRERO LAPORTE, FELISA         ADDRESS ON FILE
BORRERO LAPORTE, JUDITH         ADDRESS ON FILE
BORRERO LEDESMA, CARLOS         ADDRESS ON FILE
BORRERO LEDESMA, DARNEL         ADDRESS ON FILE
Borrero Leon, Iris A            ADDRESS ON FILE
Borrero Leon, Nephtaly          ADDRESS ON FILE
BORRERO LEON, RAUL              ADDRESS ON FILE
Borrero Lopez, Ana S            ADDRESS ON FILE
BORRERO LOPEZ, ANGEL            ADDRESS ON FILE
BORRERO LOPEZ, ERIKA            ADDRESS ON FILE
BORRERO LOPEZ, LUIS A.          ADDRESS ON FILE
BORRERO LOPEZ, ROSA M           ADDRESS ON FILE
BORRERO LUCIANO, FRANKIE        ADDRESS ON FILE
BORRERO LUCIANO, JOSE M         ADDRESS ON FILE
BORRERO LUGO, ELAINE E          ADDRESS ON FILE
Borrero Lugo, Jose L.           ADDRESS ON FILE
BORRERO LUGO, WILSON            ADDRESS ON FILE
BORRERO MACDONALD, KRYSTLE M    ADDRESS ON FILE
Borrero Madera, Maritza         ADDRESS ON FILE
Borrero Malave, Jose            ADDRESS ON FILE
BORRERO MALDONADO, ARMANDO      ADDRESS ON FILE
BORRERO MALDONADO, GLADYS       ADDRESS ON FILE
BORRERO MALDONADO, IDALIZ       ADDRESS ON FILE
BORRERO MALDONADO, JAVIER       ADDRESS ON FILE
BORRERO MALDONADO, LYDIA E      ADDRESS ON FILE
BORRERO MALDONADO, RAMONITA     ADDRESS ON FILE
BORRERO MANGUAL, JOSE           ADDRESS ON FILE
BORRERO MANGUAL, LUIS           ADDRESS ON FILE
BORRERO MANGUAL, RAMON          ADDRESS ON FILE
BORRERO MARINI, EDMI M          ADDRESS ON FILE
BORRERO MARINI, WANDA I         ADDRESS ON FILE
BORRERO MARRERO, MICHAEL        ADDRESS ON FILE
BORRERO MARTINEZ, EVELYN        ADDRESS ON FILE
BORRERO MARTINEZ, LINETTE       ADDRESS ON FILE
BORRERO MATIAS, MARIBEL         ADDRESS ON FILE
BORRERO MC CORNICK MD, RAMON    ADDRESS ON FILE
BORRERO MEDINA, JACQUELINE      ADDRESS ON FILE
BORRERO MEDINA, LUIS            ADDRESS ON FILE
BORRERO MEDINA, MARIBEL         ADDRESS ON FILE
BORRERO MEDINA, MARIBEL         ADDRESS ON FILE
BORRERO MEDINA, NEYSHA          ADDRESS ON FILE
BORRERO MEDINA, SHIRLEY         ADDRESS ON FILE




                                                                            Page 939 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 940 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORRERO MEJIAS, SOLMARIE       ADDRESS ON FILE
BORRERO MELENDEZ, ANA          ADDRESS ON FILE
BORRERO MELENDEZ, EVELYN       ADDRESS ON FILE
BORRERO MENDOZA, ANDRES        ADDRESS ON FILE
BORRERO MERCADO, ALICIA        ADDRESS ON FILE
BORRERO MERCADO, GLORIA        ADDRESS ON FILE
BORRERO MERCADO, JOSE          ADDRESS ON FILE
Borrero Mercado, Jose A.       ADDRESS ON FILE
BORRERO MONTALVO, ELBA L       ADDRESS ON FILE
BORRERO MONTALVO, ELGA A       ADDRESS ON FILE
BORRERO MONTALVO, MADDY        ADDRESS ON FILE
BORRERO MONTERO, MARANGELI     ADDRESS ON FILE
Borrero Montero, Orlando       ADDRESS ON FILE
BORRERO MONTES, MIRTA          ADDRESS ON FILE
BORRERO MORALES, ANA M         ADDRESS ON FILE
BORRERO MORALES, CARMEN M      ADDRESS ON FILE
BORRERO MORALES, FELICITA      ADDRESS ON FILE
BORRERO MORALES, JOSSANN       ADDRESS ON FILE
BORRERO MORALES, MIGUEL        ADDRESS ON FILE
BORRERO MUNIZ, RAMIRO          ADDRESS ON FILE
BORRERO NATAL, CHRISTOPHER     ADDRESS ON FILE
BORRERO NATAL, EVELYN          ADDRESS ON FILE
BORRERO NATAL, GERARDO         ADDRESS ON FILE
BORRERO NATAL, MARIBEL         ADDRESS ON FILE
BORRERO NATAL, RICARDO         ADDRESS ON FILE
BORRERO NATAL, RICARDO         ADDRESS ON FILE
BORRERO NEGRON, JOSE           ADDRESS ON FILE
BORRERO NEGRON, NILDA          ADDRESS ON FILE
BORRERO OCTAVIANI, OMAR        ADDRESS ON FILE
BORRERO OJEDA, ZORAIDA         ADDRESS ON FILE
BORRERO OLAN, ANGELICA         ADDRESS ON FILE
BORRERO OLIVERA, SOFIA         ADDRESS ON FILE
BORRERO OLIVERAS, GLORIA       ADDRESS ON FILE
BORRERO OLIVERAS, MARIA A      ADDRESS ON FILE
BORRERO OLMO, SHEILA T.        ADDRESS ON FILE
BORRERO ORLANG, ALEJANDRO G.   ADDRESS ON FILE
BORRERO ORTIZ, ARMANDO L       ADDRESS ON FILE
BORRERO ORTIZ, ARMANDO L       ADDRESS ON FILE
BORRERO ORTIZ, EDUARDO         ADDRESS ON FILE
BORRERO ORTIZ, JACQUELINE      ADDRESS ON FILE
Borrero Ortiz, Juan M          ADDRESS ON FILE
BORRERO ORTIZ, VILMA I         ADDRESS ON FILE
BORRERO ORTIZ,VILMA            ADDRESS ON FILE
BORRERO OTERO, CARLOS M        ADDRESS ON FILE
BORRERO OTERO, MAYLEEEN        ADDRESS ON FILE
BORRERO PACHECO, LIZ           ADDRESS ON FILE
BORRERO PACHECO, MILDRED       ADDRESS ON FILE
BORRERO PACHOT, JAIMAR         ADDRESS ON FILE
BORRERO PAGAN, ISAAC           ADDRESS ON FILE
BORRERO PAGAN, JORGE           ADDRESS ON FILE
BORRERO PAGAN, JOSE R.         ADDRESS ON FILE
BORRERO PAGAN, WANDALINA       ADDRESS ON FILE
BORRERO PALERMO, MARIEL        ADDRESS ON FILE
BORRERO PEREZ, ALLEN           ADDRESS ON FILE
BORRERO PEREZ, JORGE           ADDRESS ON FILE
BORRERO PEREZ, KENIEL          ADDRESS ON FILE
Borrero Perez, Lucan           ADDRESS ON FILE
Borrero Perez, Noe             ADDRESS ON FILE
BORRERO PEREZ, NOE             ADDRESS ON FILE
BORRERO PEREZ, NOMAR           ADDRESS ON FILE




                                                                           Page 940 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 941 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORRERO PINEDO, JUAN H         ADDRESS ON FILE
BORRERO PINEDO, MARTA          ADDRESS ON FILE
BORRERO PINEIRO, HERNAN        ADDRESS ON FILE
BORRERO QUINONES, MARIA        ADDRESS ON FILE
BORRERO QUINONES, WILFREDO     ADDRESS ON FILE
BORRERO RAMIREZ, LUIS A.       ADDRESS ON FILE
BORRERO RAMIREZ, LYMARI        ADDRESS ON FILE
BORRERO RAMIREZ, LYMARI        ADDRESS ON FILE
BORRERO RAMOS, ANGELICA        ADDRESS ON FILE
Borrero Ramos, Domingo         ADDRESS ON FILE
BORRERO RAMOS, OLGA E          ADDRESS ON FILE
BORRERO RENTERO, ROSA L        ADDRESS ON FILE
BORRERO RIOS, CARLOS           ADDRESS ON FILE
BORRERO RIOS, DAMARIS          ADDRESS ON FILE
BORRERO RIPOLL, JOSE           ADDRESS ON FILE
BORRERO RIVERA, ARNOLD         ADDRESS ON FILE
BORRERO RIVERA, CARLOS         ADDRESS ON FILE
BORRERO RIVERA, ERIC           ADDRESS ON FILE
BORRERO RIVERA, IRIS N         ADDRESS ON FILE
BORRERO RIVERA, JOSE H         ADDRESS ON FILE
BORRERO RIVERA, JUAN E         ADDRESS ON FILE
BORRERO RIVERA, LEFTY          ADDRESS ON FILE
Borrero Rivera, Tomas          ADDRESS ON FILE
BORRERO RODRIGUEZ, ABBILIZ     ADDRESS ON FILE
BORRERO RODRIGUEZ, ADA L       ADDRESS ON FILE
BORRERO RODRIGUEZ, ESTHER      ADDRESS ON FILE
BORRERO RODRIGUEZ, ESTHER      ADDRESS ON FILE
BORRERO RODRIGUEZ, GRISEL M    ADDRESS ON FILE
BORRERO RODRIGUEZ, GUILLERMO   ADDRESS ON FILE
BORRERO RODRIGUEZ, JOSE A      ADDRESS ON FILE
BORRERO RODRIGUEZ, JULIO       ADDRESS ON FILE
BORRERO RODRIGUEZ, MARYNES     ADDRESS ON FILE
BORRERO RODRIGUEZ, NEIDA       ADDRESS ON FILE
BORRERO RODRIGUEZ, NEIDA       ADDRESS ON FILE
BORRERO RODRIQUEZ, ABRAHAM     ADDRESS ON FILE
BORRERO ROMAN, ADA             ADDRESS ON FILE
BORRERO ROMAN, ANGEL           ADDRESS ON FILE
BORRERO ROMERO, MIGUEL A.      ADDRESS ON FILE
BORRERO ROSADO, ARIEL          ADDRESS ON FILE
BORRERO ROSARIO, GILBERTO      ADDRESS ON FILE
BORRERO RUIZ, LYDIA P          ADDRESS ON FILE
BORRERO SANCHEZ, JOSE A        ADDRESS ON FILE
BORRERO SANCHEZ, LYSANDER      ADDRESS ON FILE
BORRERO SANCHEZ, NOEMI         ADDRESS ON FILE
BORRERO SANTIAGO, ALEXANDRA    ADDRESS ON FILE
BORRERO SANTIAGO, ANA D        ADDRESS ON FILE
BORRERO SANTIAGO, LUIS R       ADDRESS ON FILE
BORRERO SANTIAGO, MARIA I      ADDRESS ON FILE
BORRERO SANTIAGO, MARISEL      ADDRESS ON FILE
BORRERO SANTIAGO, ROUSSMARIE   ADDRESS ON FILE
BORRERO SANTIAGO, VALENTINA    ADDRESS ON FILE
BORRERO SANTOS, IRIS           ADDRESS ON FILE
BORRERO SEGARRA, NEPHTALY      ADDRESS ON FILE
BORRERO SERRANO, ELINET        ADDRESS ON FILE
BORRERO SIBERON, DORIS H       ADDRESS ON FILE
BORRERO SIBERON, ELENA         ADDRESS ON FILE
BORRERO SIBERON, MARIA C       ADDRESS ON FILE
BORRERO SILVA, JOMARIE         ADDRESS ON FILE
BORRERO SIURANO, SINDIA        ADDRESS ON FILE
BORRERO STINES, VICTOR         ADDRESS ON FILE




                                                                           Page 941 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 942 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BORRERO TEXIDOR, EDITH M         ADDRESS ON FILE
BORRERO TEXIDOR, JOSE A.         ADDRESS ON FILE
BORRERO TIRADO, ANNETTE          ADDRESS ON FILE
BORRERO TIRADO, CARLOS           ADDRESS ON FILE
BORRERO TIRADO, SONIA            ADDRESS ON FILE
BORRERO TORO, GERARDO            ADDRESS ON FILE
BORRERO TORRES, ANGEL            ADDRESS ON FILE
Borrero Torres, Brunilda         ADDRESS ON FILE
BORRERO TORRES, BRUNILDA         ADDRESS ON FILE
BORRERO TORRES, DENNIS           ADDRESS ON FILE
Borrero Torres, Domingo          ADDRESS ON FILE
BORRERO TORRES, DORIS            ADDRESS ON FILE
BORRERO TORRES, DORIS E.         ADDRESS ON FILE
BORRERO TORRES, ERIC             ADDRESS ON FILE
BORRERO TORRES, EVELYN           ADDRESS ON FILE
BORRERO TORRES, JEOMAR           ADDRESS ON FILE
BORRERO TORRES, LOURDES M        ADDRESS ON FILE
BORRERO TORRES, LUIS             ADDRESS ON FILE
Borrero Torres, Madeline         ADDRESS ON FILE
BORRERO TORRES, MARIEMIL         ADDRESS ON FILE
BORRERO TORRES, MARITZA          ADDRESS ON FILE
BORRERO TORRES, MAYRA L          ADDRESS ON FILE
BORRERO TORRES, MILTON L.        ADDRESS ON FILE
BORRERO TORRES, REMI             ADDRESS ON FILE
BORRERO VALENTIN, OTILIO         ADDRESS ON FILE
BORRERO VARGAS, MIGUEL           ADDRESS ON FILE
BORRERO VAZQUEZ, BRENDA          ADDRESS ON FILE
BORRERO VAZQUEZ, CARMEN I        ADDRESS ON FILE
BORRERO VAZQUEZ, JOSE A          ADDRESS ON FILE
BORRERO VAZQUEZ, PATRIA          ADDRESS ON FILE
BORRERO VEGA, JOSE               ADDRESS ON FILE
Borrero Vega, Jose D.            ADDRESS ON FILE
BORRERO VEGA, ROBERTO            ADDRESS ON FILE
BORRERO VELASQUEZ, DOMINGO       ADDRESS ON FILE
BORRERO VELAZQUEZ, ANA C         ADDRESS ON FILE
BORRERO VELAZQUEZ, BETZAIDA      ADDRESS ON FILE
BORRERO VELAZQUEZ, ISMAEL        ADDRESS ON FILE
BORRERO VELAZQUEZ, ISRAEL        ADDRESS ON FILE
BORRERO VELAZQUEZ, JACKELINE     ADDRESS ON FILE
BORRERO VELEZ, EDWIN             ADDRESS ON FILE
BORRERO VELEZ, JUANA             ADDRESS ON FILE
BORRERO VELEZ, NEIL              ADDRESS ON FILE
BORRERO VELEZ, VINCENT           ADDRESS ON FILE
BORRERO WALKER, JUDITH           ADDRESS ON FILE
BORRERO ZAMOT, JOSUET            ADDRESS ON FILE
BORRERO, DAVID                   ADDRESS ON FILE
BORRERO, EDGARDO                 ADDRESS ON FILE
BORRERO, IRMA                    ADDRESS ON FILE
BORRERO, SANDRA                  ADDRESS ON FILE
BORRERO, STEPHANIE               ADDRESS ON FILE
BORREROVELAZQUEZ, FELIX          ADDRESS ON FILE
BORRES NAZARIO, OLGA             ADDRESS ON FILE
BORRES NAZARIO, OLGA I           ADDRESS ON FILE
BORRES OTERO, EDWIN              ADDRESS ON FILE
BORRES OTERO, MARIA DE LOURDES   ADDRESS ON FILE
BORRES OTERO, MIGUEL             ADDRESS ON FILE
BORRI PACHECO, LUIS              ADDRESS ON FILE
BORROME LA ROSA, DANIEL          ADDRESS ON FILE
BORROTO CACERES, ANGEL           ADDRESS ON FILE
BORROTO DESPAIGNE, CRISTIAN      ADDRESS ON FILE




                                                                             Page 942 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 943 of 3500
                                                                                              Creditor Matrix

Creditor Name                         Address1                   Address2                                  Address3   Address4   City         State   PostalCode   Country
BORROTO DESPAIGNE, CRISTIAN           ADDRESS ON FILE
BORROTO LOPEZ, ABEL F.                ADDRESS ON FILE
BORRUS MD , STEPHEN W                 ADDRESS ON FILE
BORS REYES, VILMA                     ADDRESS ON FILE
BORSCHOW HOSPITAL & MED. SUPP.        GENERAL POST OFFICE        P.O. BOX 6211                                                   SAN JUAN     PR      00936‐6211
BORSCHOW HOSPITAL & MEDICAL SPPLIES   PO BOX 366211                                                                              SAN JUAN     PR      00936‐6211
BORTECH INSTITUTE, INC                3 CALLE ALHAMBRA SUITE I                                                                   SAN JUAN     PR      00917‐3099
BORTON GARCIA, MIRIAM                 ADDRESS ON FILE
BORY BARRIO, ALFREDO                  ADDRESS ON FILE
BORY BARRIO, ALFREDO                  ADDRESS ON FILE
BOSA HERNANDEZ, MAIRILINE             ADDRESS ON FILE
BOSA HERNANDEZ, MAISEL C              ADDRESS ON FILE
BOSA MATOS, ANDRES                    ADDRESS ON FILE
BOSAS GONZALEZ, LUZ D                 ADDRESS ON FILE
BOSCANA CINTRON, JUAN                 ADDRESS ON FILE
BOSCANA GOMEZ, MARLENE A              ADDRESS ON FILE
BOSCANA QUINONES, CARMEN J            ADDRESS ON FILE
Boscana Torres, Jose                  ADDRESS ON FILE
BOSCANA, ANTHONY                      ADDRESS ON FILE
BOSCH ACOSTA, ALBILDA                 ADDRESS ON FILE
BOSCH ACOSTA, OMAR                    ADDRESS ON FILE
Bosch Acosta, Omar L                  ADDRESS ON FILE
BOSCH ACOSTA, PHILLIP                 ADDRESS ON FILE
BOSCH ADAMES, HEIDSHA                 ADDRESS ON FILE
BOSCH ALVAREZ, JOSE                   ADDRESS ON FILE
BOSCH BEDIA, JAIME                    ADDRESS ON FILE
BOSCH BELARDO, ALBERTO                ADDRESS ON FILE
BOSCH CLAUDIO, JAIME                  ADDRESS ON FILE
BOSCH COLLAZO, WILLIAM                ADDRESS ON FILE
BOSCH DE LEON, ANGEL                  ADDRESS ON FILE
BOSCH FIGUEROA, LUZ CELENIA           ADDRESS ON FILE
BOSCH GONZALEZ, AMANDA                ADDRESS ON FILE
Bosch Gonzalez, Miguelin              ADDRESS ON FILE
BOSCH JIMENEZ, VANESSA I.             ADDRESS ON FILE
BOSCH LUGO, MIRIAM                    ADDRESS ON FILE
BOSCH MALAVE, DIANA                   ADDRESS ON FILE
BOSCH MORELL, HENRY                   ADDRESS ON FILE
BOSCH NIEVES, MIGUEL                  ADDRESS ON FILE
BOSCH ORTIZ, EVELYN                   ADDRESS ON FILE
BOSCH PAGAN, EVELYN                   ADDRESS ON FILE
BOSCH PAGAN, JORGE                    ADDRESS ON FILE
BOSCH PAGAN, LORNA                    ADDRESS ON FILE
BOSCH PINERO, EDWIN                   ADDRESS ON FILE
BOSCH RAMIREZ, HAROLD                 ADDRESS ON FILE
BOSCH RAMIREZ, HAROLD J.              ADDRESS ON FILE
BOSCH RAMIREZ, VIVECA                 ADDRESS ON FILE
BOSCH RIOS, MARIA                     ADDRESS ON FILE
BOSCH RIVERA, ELENA                   ADDRESS ON FILE
BOSCH SERRANO, JUAN                   ADDRESS ON FILE
BOSCH SURINO, JOSE                    ADDRESS ON FILE
BOSCH VELAZQUEZ, GAMALIER             ADDRESS ON FILE
BOSCH VELEZ, ANA                      LDO JUAN CORCHADO JUARBE   AVENIDA BETANCES I‐2 HERMANAS DAVILA                            BAYAMON      PR      00959
BOSCH VELEZ, VALERY                   ADDRESS ON FILE
BOSCH, HIRAM                          ADDRESS ON FILE
BOSCHETTI ALVARADO MD, MILDRED        ADDRESS ON FILE
BOSCHETTI GEIGEL, GIOVANNI            ADDRESS ON FILE
BOSCHETTI MARTINEZ, FELIX G.          ADDRESS ON FILE
BOSCHETTI MARTINEZ, NORA M            ADDRESS ON FILE
BOSCHETTI MEDINA, NITZEIDA            ADDRESS ON FILE
BOSCHETTI MEDINA, NITZEIDA M          ADDRESS ON FILE




                                                                                            Page 943 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 944 of 3500
                                                                                         Creditor Matrix

Creditor Name                   Address1                  Address2                                    Address3   Address4   City              State   PostalCode   Country
BOSCHETTI RIVERA, JOSE          ADDRESS ON FILE
Boschetti Rivera, Jose R        ADDRESS ON FILE
BOSCHETTI SILVA, HECTOR         ADDRESS ON FILE
BOSCIO GARCIA, MARIA            ADDRESS ON FILE
BOSCIO MATOS, JOSE L            ADDRESS ON FILE
BOSCIO MATOS, ROBERTO           ADDRESS ON FILE
BOSCIO VARGAS, AMAURY           ADDRESS ON FILE
BOSCO MONTALVO, AIDA            ADDRESS ON FILE
BOSENSON INC                    COND VILLAMAGNA           1783 CARR 21 SUITE C 3                                            SAN JUAN          PR      00921
BOSH FELICIANO, CARMEN          ADDRESS ON FILE
Bosh Nunez, Axel I              ADDRESS ON FILE
BOSH ROSARIO, MARIA S           ADDRESS ON FILE
BOSQUE ACEVEDO, JOSE RAMON      ADDRESS ON FILE
BOSQUE ALICEA, CRISTIAN         ADDRESS ON FILE
BOSQUE BARRETO, BIENVENIDO      ADDRESS ON FILE
BOSQUE BOLONIA                  PO BOX 364371                                                                               SAN JUAN          PR      00936‐4371
BOSQUE CHALUISANT, WILLIAM      ADDRESS ON FILE
BOSQUE CHALUISANT, WILLIAM O.   ADDRESS ON FILE
BOSQUE CORDERO, JUANITA         ADDRESS ON FILE
BOSQUE CORDERO, LUIS            ADDRESS ON FILE
BOSQUE CORREA, BRENDA           ADDRESS ON FILE
BOSQUE CRESPO, WILFREDO         ADDRESS ON FILE
BOSQUE CRUZ, LEONEL             ADDRESS ON FILE
BOSQUE DEL TORO, KEVEN          ADDRESS ON FILE
BOSQUE DEL TORO, KEVEN          ADDRESS ON FILE
BOSQUE ESQUILIN, KARLA          ADDRESS ON FILE
Bosque Excia, Daniel            ADDRESS ON FILE
BOSQUE FELICIANO, EVELYN        ADDRESS ON FILE
Bosque Feliciano, Roseline I    ADDRESS ON FILE
BOSQUE FLORIHAM                 PO BOX 1127                                                                                 TRUJILLO ALTO     PR      00977
BOSQUE‐ FUENTES ASOCIADOS INC   COND ROYAL                273 CALLE HONDURAS APT 1104                                       SAN JUAN          PR      00917‐2834
BOSQUE GALARZA, ANGEL           ADDRESS ON FILE
BOSQUE GALARZA, GLORIA          ADDRESS ON FILE
BOSQUE GALARZA, GLORIA M        ADDRESS ON FILE
BOSQUE GALARZA, SANTA M         ADDRESS ON FILE
BOSQUE GALARZA, SANTA M.        ADDRESS ON FILE
BOSQUE GUADALUPE, LUIS A        ADDRESS ON FILE
BOSQUE HERNANDEZ, GERARDO       ADDRESS ON FILE
BOSQUE LOPEZ, JOEL A.           ADDRESS ON FILE
BOSQUE LUGO, QUETSY             ADDRESS ON FILE
BOSQUE MD , JESUS M             ADDRESS ON FILE
BOSQUE MEDINA, JOELVIS          ADDRESS ON FILE
BOSQUE MERCADO, EUSEBIO         ADDRESS ON FILE
BOSQUE MONTALVO, VIANA M        ADDRESS ON FILE
Bosque Pacheco, Isaac           ADDRESS ON FILE
Bosque Perez, Carlos R          ADDRESS ON FILE
BOSQUE PEREZ, JOSE A.           ADDRESS ON FILE
BOSQUE PEREZ, MATILDE           ADDRESS ON FILE
BOSQUE RIOS, JANIRA             ADDRESS ON FILE
Bosque Rios, Waldemar           ADDRESS ON FILE
BOSQUE RIVERA, LYLIA            ADDRESS ON FILE
Bosque Ruiz, Elvin              ADDRESS ON FILE
BOSQUE RUIZ, GERARDO J          ADDRESS ON FILE
Bosque Soto, Jesus A            ADDRESS ON FILE
BOSQUE SOTO, JESUS A            ADDRESS ON FILE
BOSQUE SOTO, JESUS A            ADDRESS ON FILE
BOSQUE VALENTIN, ABNER          ADDRESS ON FILE
BOSQUE VALLE, MARYLIN           ADDRESS ON FILE
BOSQUE VALLE, YAMIL             ADDRESS ON FILE
BOSQUE VARGAS, NEMESIO          ADDRESS ON FILE




                                                                                        Page 944 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 945 of 3500
                                                                            Creditor Matrix

Creditor Name                  Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BOSQUE, ALEJA                  ADDRESS ON FILE
BOSQUE, LEONEL                 ADDRESS ON FILE
BOSQUES ARCE, ALEIZA J         ADDRESS ON FILE
BOSQUES ARCE, XAVIER A.        ADDRESS ON FILE
BOSQUES AVILES, AUGUSTA        ADDRESS ON FILE
Bosques Barrerto, Antonio      ADDRESS ON FILE
BOSQUES BARRETO MD, ANTONIO    ADDRESS ON FILE
BOSQUES BARRETO, CARLOS        ADDRESS ON FILE
BOSQUES BARRETO, CARLOS R.     ADDRESS ON FILE
BOSQUES BARRETO, CARMEN        ADDRESS ON FILE
BOSQUES BARRETO, CESAR C       ADDRESS ON FILE
BOSQUES BARRETO, HERIBERTO     ADDRESS ON FILE
BOSQUES BARRETO, JULIO         ADDRESS ON FILE
BOSQUES BARRETO, MARIA T       ADDRESS ON FILE
BOSQUES BORGES, MARITZA        ADDRESS ON FILE
BOSQUES CABAN, SHEILA          ADDRESS ON FILE
BOSQUES CANCEL, CAMILLE        ADDRESS ON FILE
BOSQUES CARDONA, DARIEN        ADDRESS ON FILE
BOSQUES CARO, JUAN             ADDRESS ON FILE
BOSQUES CORDERO, CARLOS        ADDRESS ON FILE
BOSQUES CORDERO, JOSUE         ADDRESS ON FILE
BOSQUES CORTES, MARISOL        ADDRESS ON FILE
BOSQUES DE JESUS, JEANETTE     ADDRESS ON FILE
BOSQUES FELICIANO, DORIS       ADDRESS ON FILE
BOSQUES FELICIANO, NORMA I     ADDRESS ON FILE
BOSQUES FOX, TERRY LEE         ADDRESS ON FILE
BOSQUES GONZALEZ, ANTONIO      ADDRESS ON FILE
Bosques Gonzalez, Jose M.      ADDRESS ON FILE
BOSQUES HERNANDEZ, MARILYN     ADDRESS ON FILE
BOSQUES HERNANDEZ, RIGOBERTO   ADDRESS ON FILE
BOSQUES LASSALLE, NANCY        ADDRESS ON FILE
BOSQUES MARIANI, MARIA DEL     ADDRESS ON FILE
BOSQUES MARTINEZ, LUIS         ADDRESS ON FILE
BOSQUES MARTINEZ, PEDRO J.     ADDRESS ON FILE
BOSQUES MEDINA, JULIA L        ADDRESS ON FILE
BOSQUES MEDINA, MARIA DEL C    ADDRESS ON FILE
BOSQUES MEDINA, TERESA         ADDRESS ON FILE
BOSQUES MENDEZ, HEIDI          ADDRESS ON FILE
Bosques Muniz, Josue E         ADDRESS ON FILE
BOSQUES MUNIZ, LUIS            ADDRESS ON FILE
BOSQUES MUNIZ, YESENIA         ADDRESS ON FILE
BOSQUES NIEVES, EDWIN          ADDRESS ON FILE
BOSQUES NIEVES, LILLIAM        ADDRESS ON FILE
BOSQUES PEREZ, ADELAIDA        ADDRESS ON FILE
BOSQUES PEREZ, CARLOS          ADDRESS ON FILE
BOSQUES PEREZ, ROSA            ADDRESS ON FILE
BOSQUES PEREZ, SARA M          ADDRESS ON FILE
BOSQUES QUINTANA, ANGEL        ADDRESS ON FILE
BOSQUES QUINTANA, ANGEL A      ADDRESS ON FILE
BOSQUES QUINTANA, CARLOS       ADDRESS ON FILE
BOSQUES QUINTANA, JOSE M.      ADDRESS ON FILE
BOSQUES QUINTANA, MAYRA        ADDRESS ON FILE
BOSQUES QUINTANA, MELVIN       ADDRESS ON FILE
Bosques Ramos, Claudio         ADDRESS ON FILE
BOSQUES RIOS, ARLEEN           ADDRESS ON FILE
BOSQUES RIOS, DIANGIE          ADDRESS ON FILE
BOSQUES RIVERA, SANDRA         ADDRESS ON FILE
BOSQUES RIVERA, SANDRA M       ADDRESS ON FILE
BOSQUES RODRIGUEZ, MIGUEL      ADDRESS ON FILE
BOSQUES RODRIGUEZ, RAMON       ADDRESS ON FILE




                                                                           Page 945 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 946 of 3500
                                                                                                                      Creditor Matrix

Creditor Name                          Address1                                       Address2                                     Address3   Address4   City            State   PostalCode   Country
BOSQUES ROMAN, BETSY                   ADDRESS ON FILE
BOSQUES ROMAN, YOLANDA                 ADDRESS ON FILE
BOSQUES ROSADO, MARISEL                ADDRESS ON FILE
BOSQUES ROSADO, SILMARIE               ADDRESS ON FILE
BOSQUES SERRAN, NOEMI D                ADDRESS ON FILE
BOSQUES SERRANO, OLGA                  ADDRESS ON FILE
BOSQUES SOTO, JANET                    ADDRESS ON FILE
BOSQUES TORRENS, MYRNA                 ADDRESS ON FILE
BOSQUES TORRES, JOSE                   ADDRESS ON FILE
BOSQUES VALENTIN, LIBRADO              ADDRESS ON FILE
BOSQUES VARGAS, ALEJANDRO              ADDRESS ON FILE
BOSQUES VARGAS, DALITZA                ADDRESS ON FILE
BOSQUES VILLALONGO, WILMARIE           ADDRESS ON FILE
BOSQUES, EDDIE                         ADDRESS ON FILE
Bosquet Ortega, Marta                  ADDRESS ON FILE
BOSQUEZ FELICIANO, NYDIA               ADDRESS ON FILE
BOSQUEZ TOLENTINO, EDILBERTO           ADDRESS ON FILE
BOSS NOVELTIES                         P O BOX 366998                                                                                                    SAN JUAN        PR      00936
Bossa Cintron, Graysely                ADDRESS ON FILE
BOSSA CINTRON, GRAYSELY                ADDRESS ON FILE
BOSSANA DEL BO, ERICA                  ADDRESS ON FILE
BOSSANOVA CAFE                         P O BOX 937                                                                                                       HORMIGUEROS     PR      00660
BOSSBALY MD, JOSE                      ADDRESS ON FILE
BOSSO BONILLA MD, JOSE                 ADDRESS ON FILE
BOSSOLO LOPEZ, MIRIAM                  ADDRESS ON FILE
BOSTON CHILDRENS HEA                   300 LONGWOOD AVE                                                                                                  BOSTON          MA      02115
BOSTON FINANCIAL DATA SERVICES INC     2000 CROWN COLONY DRIVE                                                                                           QUINCY          MA      02169
BOSTON GROUP CORP                      BRISAS DE CARRAIZO                             5000 CARR 845 BOX 19                                               SAN JUAN        PR      00926
BOSTON MEDICAL CENTER                  2 BATTERYMARCH PARK, SUITE 204                                                                                    QUINCY          MA      02169
BOSTON MUTUAL LIFE INS                 DEPARTAMENTO DE HACIENDA                                                                                          SAN JUAN        PR      00901
Boston Mutual Life Insurance Company   120 Royall St.                                                                                                    Canton          MA      02021
Boston Mutual Life Insurance Company   Attn: Christine Coughlin, Vice President       120 Royall Street                                                  Canton          MA      02021
Boston Mutual Life Insurance Company   Attn: Frederick Thurston, Circulation of Risk  120 Royall Street                                                  Canton          MA      02021
Boston Mutual Life Insurance Company   Attn: Frederick Thurston, Consumer Complaint Co120 Royall Street                                                  Canton          MA      02021
Boston Mutual Life Insurance Company   Attn: Joseph Sullivan, Vice President          120 Royall Street                                                  Canton          MA      02021
Boston Mutual Life Insurance Company   Attn: Paul E. Petry, President                 120 Royall Street                                                  Canton          MA      02021
BOSTON SCIENTIFIC DEL CARIBE INC       350 CHARDON AVE                                TORRE CHARDON BLDG. SUITE 820                                      SAN JUAN        PR      00918
BOSTON SCIENTIFIC DEL CARIBE INC       TORRE CHARDON BUILDING                         350 AVE CHARDON STE 820                                            SAN JUAN        PR      00918
Bota Cortes, William                   ADDRESS ON FILE
BOTANICA SANTA BARBARA                 88 CALLE LUIS MUNOZ RIVERA                                                                                        GUAYANILLA      PR      00656
BOTANIQUE PRESERVATION EQUIPMENT INC   1515 W DEER VALLEY ROAD                        SUITE A 109                                                        PHOENIX         AZ      85027
BOTELL RAMOS, AYLIN                    ADDRESS ON FILE
BOTELLO ARZON, JEAN                    ADDRESS ON FILE
BOTELLO COLON, SOPHIA N                ADDRESS ON FILE
BOTELLO PION, CARMEN                   ADDRESS ON FILE
BOTELLO SANCHEZ, SHAKIRA               ADDRESS ON FILE
BOTERO GARCIA, CHANEL                  ADDRESS ON FILE
BOTET VELAZQUEZ, MARITZA               ADDRESS ON FILE
BOTHWELL DIAZ, ALEXANDER               ADDRESS ON FILE
BOTHWELL DIAZ, ANTHONY                 ADDRESS ON FILE
BOTHWELL DIAZ, HENRY                   ADDRESS ON FILE
BOTHWELL TORRES, DIONE M.              ADDRESS ON FILE
BOTIA APONTE, MIRIAM STELLA            ADDRESS ON FILE
BOTIS SALAS, RICHARD J                 ADDRESS ON FILE
BOTKIN FIERRO, ALYSSA M                ADDRESS ON FILE
BOTTY RODRIGUEZ, LUCIANA               ADDRESS ON FILE
BOU AGOSTO, YONAIRA I.                 ADDRESS ON FILE
BOU AQUINO, LORNA                      ADDRESS ON FILE
BOU AQUINO, RAFAEL                     ADDRESS ON FILE
BOU CARDONA, JUAN                      ADDRESS ON FILE




                                                                                                                 Page 946 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 947 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                         Address2                 Address3      Address4   City         State   PostalCode   Country
BOU CARRION, ELBA M.              ADDRESS ON FILE
BOU CASTILLO, BERTHA              ADDRESS ON FILE
BOU CINTRON, JUAN                 ADDRESS ON FILE
BOU DIAZ, JOSE                    ADDRESS ON FILE
BOU FUENTES, ANTONIA              ADDRESS ON FILE
BOU FUENTES, GLORIA E             ADDRESS ON FILE
BOU FUENTES, NILSA                ADDRESS ON FILE
BOU FUENTES, RAFAEL               ADDRESS ON FILE
BOU FUENTES, RAFAEL               ADDRESS ON FILE
BOU FUENTES, TESSIE               ADDRESS ON FILE
BOU GAUTHIER, ELIAS               ADDRESS ON FILE
BOU GOMEZ, RAFAEL                 ADDRESS ON FILE
BOU GONZALEZ, NANCY               ADDRESS ON FILE
BOU LOPEZ, MARICARMEN             ADDRESS ON FILE
BOU MAINTENANCE SERVICE , CORP.   SAN RAFAEL ESTATES 142 AZUCENA                                                     BAYAMON      PR      00959‐0000
BOU MALDONADO, HECTOR L           ADDRESS ON FILE
BOU MALDONADO, RAFAEL             ADDRESS ON FILE
BOU MALDONADO, RAMON              ADDRESS ON FILE
BOU MARRERO, ANGEL                ADDRESS ON FILE
BOU MONTANEZ, ZUANNETTE           ADDRESS ON FILE
BOU OLIVERAS, MARI L              ADDRESS ON FILE
BOU OLIVERAS, ROLANDO             ADDRESS ON FILE
BOU ORTIZ, ORLANDO                ADDRESS ON FILE
BOU PACHECO, MARIA D.             ADDRESS ON FILE
BOU PADILLA, LUIS                 ADDRESS ON FILE
BOU PAGAN, MARIA V                ADDRESS ON FILE
BOU PAGAN, MARIO                  ADDRESS ON FILE
BOU PAGAN, MARIO A.               ADDRESS ON FILE
BOU PEREZ, NYDIA                  ADDRESS ON FILE
BOU RIVERA, ERIC                  ADDRESS ON FILE
BOU RIVERA, GERARDO               ADDRESS ON FILE
BOU RIVERA, LUZ                   ADDRESS ON FILE
Bou Rodriguez, Carlos J           ADDRESS ON FILE
BOU RODRIGUEZ, KARLA M            ADDRESS ON FILE
Bou Rodriguez, Manuel O           ADDRESS ON FILE
BOU SANCHEZ, EMILIO HUMBERTO      ADDRESS ON FILE
BOU SANCHEZ, LOTTIE               ADDRESS ON FILE
BOU SANTIAGO, ALEJANDRO R.        ADDRESS ON FILE
BOU SANTIAGO, ALEJANDRO R.        LIXANDRA OSORIO FELIX            PMB 184                  PO BOX 6022              CAROLINA     PR      00984‐6022
BOU SANTIAGO, CARLOS              ADDRESS ON FILE
BOU SANTIAGO, EDNA H              ADDRESS ON FILE
BOU SANTIAGO, GLENDA              ADDRESS ON FILE
BOU SANTIAGO, JOSE L              ADDRESS ON FILE
BOU SANTIAGO, LOURDES M           ADDRESS ON FILE
BOU SANTIAGO, SYLVIA              ADDRESS ON FILE
BOU SANTIAGO, TERESITA DEL C      ADDRESS ON FILE
BOU THRAPP, GLENN                 ADDRESS ON FILE
BOU TORRES, JOSE R                ADDRESS ON FILE
BOU TORRES, MARGIE                ADDRESS ON FILE
BOU UMPIERRE MD, GENARO R         ADDRESS ON FILE
BOU VAZQUEZ, DIMARIS              ADDRESS ON FILE
BOUCHE SCIGOLINI, CARLOS          ADDRESS ON FILE
BOUCHER MARTINEZ, JOSEPH          ADDRESS ON FILE
BOUDON MARQUEZ, BRENDALIZ         ADDRESS ON FILE
BOUER RIVERA, MARY JO             ADDRESS ON FILE
BOUET BLASINI MD, RAFAEL          ADDRESS ON FILE
BOUET BLASINI, VIVIAN             ADDRESS ON FILE
BOUET DEL CAMPO, RAFAEL           ADDRESS ON FILE
BOUET GABRIEL, YANITZA            ADDRESS ON FILE
BOUET GRANA, CARMEN H             ADDRESS ON FILE




                                                                              Page 947 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 948 of 3500
                                                                                                  Creditor Matrix

Creditor Name                           Address1                  Address2                                     Address3           Address4   City           State   PostalCode   Country
BOUGEOIS CARRERO, FRANCES               ADDRESS ON FILE
BOUIS ROEDERER, PATRICK                 ADDRESS ON FILE
BOUJOUEN RAMIREZ, NORMA ESTHER          ADDRESS ON FILE
BOUKE BENDIEN VON STENGLIN              ADDRESS ON FILE
BOUKLI, NAWAL                           ADDRESS ON FILE
BOULDER COMMUNITY HOSPITAL              PO BOX 20610                                                                                         BOULDER        CO      80308‐3610
BOULDER VALLEY PULMONOLOGY PC           THOMAS A MINOR MD         1000 ALPINE AVE SUITE 100                                                  BOULDER        CO      80304
BOULEVARD FUNERAL HOME INC              URB LEVITTOWN             2821 AVE DOS PALMAS                                                        TOA BAJA       PR      00949
BOULEVARD HEALTH CARE PROGRAM           PO BOX 08492                                                                                         BAYAMON        PR      00960
BOULEVARD MULTI SPECIALITY MEDICAL PC   DR GORDON DAVIS           101‐49 WOODHAVEN BLVD                                                      OZONE PARK     NY      11416
Boulier Camacho, Adelaida               ADDRESS ON FILE
BOULOGNE GARCIA, EDDIE                  ADDRESS ON FILE
BOULOGNE MARTINEZ, LYDIA I              ADDRESS ON FILE
BOULOUGOURIS, VASSILIOS                 ADDRESS ON FILE
BOUNDLESS THEATER COMPANY               URB FAIR VIEW             5A‐21 CALLE FRANCISCO ZUNIGA                                               SAN JUAN       PR      00926
BOUNDS DAVILA, ROBERT L.                ADDRESS ON FILE
BOURASSEAU CALDERON, ANDRES             ADDRESS ON FILE
BOURASSEAU CALDERON, CHRISTIAN          ADDRESS ON FILE
BOURDOIN MORALES, MARIA I.              ADDRESS ON FILE
BOURDOIN RIVERA, BONIFACIO              ADDRESS ON FILE
BOURDOING LOPEZ, RICHARD                ADDRESS ON FILE
BOURDOING LOPEZ, RICHARD                ADDRESS ON FILE
Bourdoing Velez, Luis A                 ADDRESS ON FILE
BOURDON ESPINOSA, JOANY                 ADDRESS ON FILE
BOURDON ESPINOSA, JOANY                 ADDRESS ON FILE
BOURDON FELICIANO, JORGE L              ADDRESS ON FILE
BOURDON GARCIA, LUZ M                   ADDRESS ON FILE
BOURDON LASSALLE, MILDRED               ADDRESS ON FILE
BOURDON MALDONADO MD, HERIBERTO         ADDRESS ON FILE
BOURDON MALDONADO, EDGARDO A.           ADDRESS ON FILE
BOURDON MALDONADO, HERIBERTO            ADDRESS ON FILE
BOURDON MARQUEZ, EMILIA                 ADDRESS ON FILE
BOURDON MARQUEZ, GLADYS                 ADDRESS ON FILE
BOURDON MELENDEZ, ALEXANDRA             ADDRESS ON FILE
BOURDON PADRON, JUAN                    ADDRESS ON FILE
BOURDON PEREZ, ARLENE                   ADDRESS ON FILE
BOURDON PEREZ, ARLENE                   ADDRESS ON FILE
BOURET ADSUAR, ROBERTO                  ADDRESS ON FILE
BOURET ECHEVARRIA, POULLETTE            ADDRESS ON FILE
BOURGUIGNAN SOTO, MARILUZ               ADDRESS ON FILE
BOURNIGAL LOPEZ, MARIO                  ADDRESS ON FILE
BOUSONO BENITEZ, EVELYN                 ADDRESS ON FILE
BOUSONO CARDONA, CARLOS D.              ADDRESS ON FILE
BOUSONO COTTO, ANGELY I.                ADDRESS ON FILE
Bousono Flores, Domingo                 ADDRESS ON FILE
BOUSONO SERRANO, OLGA I                 ADDRESS ON FILE
BOUSONO VAZQUEZ, ANA L                  ADDRESS ON FILE
BOUSONO ZAVALA, MARIA                   ADDRESS ON FILE
BOUSQUET ALMA, ALFREDO                  ADDRESS ON FILE
BOUSQUET COLON, ALFREDO                 ADDRESS ON FILE
BOUTIQUE CUISINE INC                    URB METROPOLIS            F8 CALLE 8                                                                 CAROLINA       PR      00987
BOUTIQUE EDITIONS LTD                   117 WATERLOO RD                                                                                      LONDON                 SE18UL       UNITED KINGDOM
                                                                                                               EDIF CARMEN APTS
BOUTIQUE LUBA CORP                      AVE MUNOZ RIVERA          51 ESQ CALLE SAN GERONIMO                    LOCAL 3                       SAN JUAN       PR      00907
BOUYET MALDONADO, DANIEL                ADDRESS ON FILE
BOUYETT MARQUEZ, MARIA M.               ADDRESS ON FILE
BOUYETT RAMOS, DICKY                    ADDRESS ON FILE
BOUZA FUENTES, VIVIAN M                 ADDRESS ON FILE
BOUZO SAA, JENNY                        ADDRESS ON FILE
BOUZQUET RODRIGUEZ, MARIA S             ADDRESS ON FILE




                                                                                                 Page 948 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 949 of 3500
                                                                                                                  Creditor Matrix

Creditor Name                              Address1                                   Address2                                 Address3        Address4   City            State   PostalCode   Country
BOVEE KEHRER CHRISTOPHER                   ADDRESS ON FILE
BOVER SEDA, IRMA                           ADDRESS ON FILE
BOWE DERONCELE, MARILYN                    ADDRESS ON FILE
BOWE DERONCELE, MARILYN                    ADDRESS ON FILE
Bower Merryman, Traci L.                   ADDRESS ON FILE
BOWIE HEALTH CENTER                        PO BOX 19072                                                                                                   GREEN BAY       WI      54307‐9072
BOWLING CENTER, INC.                       AVE. CAMPO RICO ESTE SABANA GARDENS INDUSTRIAL PARK                                                            CAROLINA        PR      00984‐0000
BOWMAN, TIMONTHY                           ADDRESS ON FILE
BOX ELECTRONIC SOUND & LIGHTS, INC.        PO BOX 549                                                                                                     SABANA SECA     PR      00952
BOX ELECTRONIC SOUND & LIGHTS, INC.        SIERRA BAYAMON                             NOR MAIN 28‐20 B                                                    BAYAMON         PR      00961
BOX ELECTRONICS SOUND & LIGHTS             SIERRA BAYAMON                             AVE NORTH MAIN LOCAL 10‐2                                           BAYAMON         PR      00961
BOX Y DATA WIRING SPECIALTIES              SANTA JUANITA                              UU 1 PND 249 CALLE 39                                               BAYAMON         PR      00956
BOYA RAMOS, RAYMOND J                      ADDRESS ON FILE
BOYA SANCHEZ, RAFAEL A                     ADDRESS ON FILE
BOYANA GONZALEZ, XIOMARA                   ADDRESS ON FILE
BOYENGER CARRION, LESMES R                 ADDRESS ON FILE
BOYENGER CARRION, MARY ANN                 ADDRESS ON FILE
BOYER COLON, LITZA                         ADDRESS ON FILE
BOYER GAUTIER, AMARILYS                    ADDRESS ON FILE
BOYER GAUTIER, IVETTE                      ADDRESS ON FILE
BOYER RODRIGUEZ, AIMEE                     ADDRESS ON FILE
BOYER ROMAN, JORGE                         ADDRESS ON FILE
BOYER SOSA, JUAN                           ADDRESS ON FILE
BOYER VIVES, BENANCIO                      ADDRESS ON FILE
BOYET FERRER, MIRIAM                       ADDRESS ON FILE
BOYLE COLON, DONALD                        ADDRESS ON FILE
BOYLE DREESE, ROSEMARIE                    ADDRESS ON FILE
BOYLE REYES, THOMAS                        ADDRESS ON FILE
BOYRIE FELICIANO, WILMA                    ADDRESS ON FILE
Boyrie Fonseca, Fernando L.                ADDRESS ON FILE
BOYRIE GOMEZ, NANCY                        ADDRESS ON FILE
BOYRIE LABOY, CARLOS                       ADDRESS ON FILE
Boyrie Laboy, Carlos R                     ADDRESS ON FILE
Boyrie Mangual, Marta I                    ADDRESS ON FILE
BOYRIE RAMOS, DOMINGA                      ADDRESS ON FILE
Boyrie Rivera, Lynette                     ADDRESS ON FILE
BOYS & GIRL CLUBS OF P R                   PO BOX 9300665                                                                                                 SAN JUAN        PR      00928‐0665
BOYS & GIRL CLUBS P R / BANCO POPULAR PR   CENTRO DE BANCA COMERCIAL‐747              P O BOX 362708                                                      SAN JUAN        PR      00936‐2708
BOYS & GIRLS CLUB OF PR, INC               CENTRO DE BANCA COMERCIAL                  P O BOX 362708                                                      SAN JUAN        PR      00936‐2708
BOYS & GIRLS CLUB OF PR, INC               PO BOX 79526                                                                                                   CAROLINA        PR      00984‐9526
BOYS & GIRLS CLUB OF PR, INC               Y BANCO POPULAR DE PR                      COMMERCIAL BANK CENTER SAN JUAN          PO BOX 362708              SAN JUAN        PR      00936‐2708
BOYS & GIRLS CLUB OF PR, INC               Y BANCO POPULAR DE PUERTO RICO             PO BOX 362708                            CODIGO 747                 SAN JUAN        PR      00936‐2708
BOYS & GIRLS CLUB OF PR, INC               Y BANCO POPULAR DE PUERTO RICO             COMMERCIAL BANK CENTER ‐ SAN JUAN        PO BOX 362708              SAN JUAN        PR      00936‐2708
BOYS & GIRLS CLUB OF PR, INC               Y BANCO POPULAR DE PUERTO RICO (clave de enPO BOX 362708                                                       SAN JUAN        PR      00936‐2708
BOYS AND GIRLS CLUBS OF PUERTO RICO        569 AVE BARBOSA                                                                                                SAN JUAN        PR      00926
BOZZOLO PLA, LUCIANO                       ADDRESS ON FILE
BP PUERTO RICO RENTAL INC                  PO BOX 29908                                                                                                   SAN JUAN        PR      00929‐0908
BP,SE BAHIA PARK SE                        LCDO. ARTURO NEGRON VARGAS                 PO BOX 191182                                                       SAN JUAN        PR      00919‐1182
BP,SE BAHIA PARK SE                        LCDO. FRANCISCO GUZMAN                     URBANIZACION HACIENDAS DEL LAGO          CALLE 301 #23              SAN JUAN        PR      00926
BPA OFFICE SUPPLY INC                      CALLE VICTORIA 355                         P.O.BOX. 10611                                                      PONCE           PR      00732
BPC MEETING PLANNERS                       CAMINO DE LINIOS G‐19 ENRAMADA                                                                                 BAYAMON         PR      00961‐0000
BPS BAHIA PARK                             NEGRON VARGAS, ARTURO R                    PO BOX 191182                                                       SAN JUAN        PR      00919‐1182
BR DREAMS ENTERPRISES INC                  VILLAS DEL REY 4 E 21 CALLE 22                                                                                 CAGUAS          PR      00725
BR GENERAL CONTRACTOR INC                  HC 4 BOX 6921                                                                                                  YABUCOA         PR      00767‐6921
BR GLOBAL LEARNING & CONSULTING CORP       PMB 151                                    BOX 70171                                                           SAN JUAN        PR      00936‐8171
BR GLOBAL LEARNING & CONSULTING GROUP      AVE R H TOOD 656 FLOOR 3RD                                                                                     SAN JUAN        PR      00907
BR GLOBAL LEARNING & CONSULTING GROUP      PMB 151 PO BOX 70171                                                                                           SAN JUAN        PR      00926
BR GLOBAL LEARNING AND CONSULTING          PMB 151 BOX 70171                                                                                              SAN JUAN        PR      00936‐8171
BR GLOBAL LEARNING AND CONSULTING CORP     PMB 151                                    PO BOX 70171                                                        SAN JUAN        PR      00936‐8171
BR PROMOTIONS                              PO BOX 276                                                                                                     HORMIGUEROS     PR      00660‐0276




                                                                                                                Page 949 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 950 of 3500
                                                                                      Creditor Matrix

Creditor Name                  Address1                  Address2                                  Address3   Address4   City              State   PostalCode   Country
BR. HOME MEDICAL SUPPLY        AREA DEL TESORO           DIVISION DE RECLAMACIONES                                       SAN JUAN          PR      00902‐4140
BR. HOME MEDICAL SUPPLY        P O BOX 1528                                                                              TRUJILLO ALTO     PR      00977
BR. HOME MEDICAL SUPPLY        URB SANTA CRUZ            B 5 CALLE SANTA CRUZ                                            BAYAMON           PR      00961
BRACAMONTE VENTE, JUAN         ADDRESS ON FILE
BRACER NATAL MD, WILLIAM       ADDRESS ON FILE
Bracero Acevedo, Jose L        ADDRESS ON FILE
BRACERO ACEVEDO, LUIS          ADDRESS ON FILE
BRACERO ACEVEDO, TOMASA        ADDRESS ON FILE
BRACERO ACOSTA, DALILA         ADDRESS ON FILE
BRACERO ACOSTA, KARLA          ADDRESS ON FILE
BRACERO ACOSTA, MARIA D        ADDRESS ON FILE
BRACERO ACOSTA, MARILIA        ADDRESS ON FILE
BRACERO AGOSTO, ZORAIDA        ADDRESS ON FILE
BRACERO AREVALO, PEDRO         ADDRESS ON FILE
Bracero Bonilla, Marvin        ADDRESS ON FILE
BRACERO CARRERO, JOSUE         ADDRESS ON FILE
BRACERO CEDREZ, CARLOS         ADDRESS ON FILE
BRACERO CENTENO, MARIA M       ADDRESS ON FILE
BRACERO CESANI, MIGUEL         ADDRESS ON FILE
BRACERO CINTRON, WANDA I.      ADDRESS ON FILE
BRACERO COLON, ANGEL           ADDRESS ON FILE
Bracero Colon, Juan Fco        ADDRESS ON FILE
BRACERO COTTO, ENID            ADDRESS ON FILE
BRACERO COTTY, CARMEN N        ADDRESS ON FILE
BRACERO COTTY, LOURDES         ADDRESS ON FILE
BRACERO COTTY, MAIDA E         ADDRESS ON FILE
Bracero Cruz, Angel A.         ADDRESS ON FILE
BRACERO CRUZ, JOSE M           ADDRESS ON FILE
BRACERO DE VARGAS, ROSA        ADDRESS ON FILE
BRACERO FELIU, FERNANDO        ADDRESS ON FILE
BRACERO FIGUEROA, MARIA        ADDRESS ON FILE
BRACERO GARCIA, EDICER         ADDRESS ON FILE
BRACERO GARCIA, LISSEDIA E.    ADDRESS ON FILE
BRACERO GARCIA, LIZBETH        ADDRESS ON FILE
BRACERO GONZALEZ, CARMEN I     ADDRESS ON FILE
BRACERO GUZMAN, LIZA           ADDRESS ON FILE
BRACERO HERNANDEZ, LIDIA       ADDRESS ON FILE
BRACERO HUERTAS, ANGEL         ADDRESS ON FILE
BRACERO IRIZARRY, CRYSTAL      ADDRESS ON FILE
Bracero Irizarry, Crystal L.   ADDRESS ON FILE
Bracero Irizarry, Marilyn      ADDRESS ON FILE
BRACERO IRIZARRY, MARILYN      ADDRESS ON FILE
BRACERO JORGE, MIRIAM          ADDRESS ON FILE
BRACERO LABOY, NELSON          ADDRESS ON FILE
BRACERO LANDRON, LAUREANO L.   ADDRESS ON FILE
Bracero Lopez, Billy           ADDRESS ON FILE
Bracero Lopez, Billy           ADDRESS ON FILE
BRACERO LOPEZ, JOSE R          ADDRESS ON FILE
BRACERO LOPEZ, SAMUEL          ADDRESS ON FILE
BRACERO LUGO, FERNANDO         ADDRESS ON FILE
BRACERO LUGO, VENTURADA        ADDRESS ON FILE
BRACERO MALAVE, ARNALDO        ADDRESS ON FILE
BRACERO MEDINA, RAFAEL         ADDRESS ON FILE
BRACERO MERCADO, MILTON        ADDRESS ON FILE
BRACERO MERCADO, NIRMARIE      ADDRESS ON FILE
BRACERO MOJICA, JOSE           ADDRESS ON FILE
BRACERO MOLINA, AILEEN         ADDRESS ON FILE
BRACERO MONTALVO, MINERVA A    ADDRESS ON FILE
BRACERO MORALES, NANCY I       ADDRESS ON FILE
BRACERO NIEVES, AIDA L         ADDRESS ON FILE




                                                                                     Page 950 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 951 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BRACERO NIEVES, CLAMARIS        ADDRESS ON FILE
BRACERO NIEVES, MYRNA I         ADDRESS ON FILE
BRACERO ORTIZ, JULIO            ADDRESS ON FILE
BRACERO ORTIZ, MARTA E          ADDRESS ON FILE
BRACERO OTERO, CANDIDA          ADDRESS ON FILE
BRACERO PABON, BILLY            ADDRESS ON FILE
Bracero Pacheco, Marielly       ADDRESS ON FILE
Bracero Pagan, Rosana           ADDRESS ON FILE
BRACERO PEREZ, ROSA M.          ADDRESS ON FILE
BRACERO PEREZ, VIVIAN I         ADDRESS ON FILE
BRACERO RABASSA, RAFAEL         ADDRESS ON FILE
BRACERO RAMIREZ, NORMA I        ADDRESS ON FILE
BRACERO RESTO, ANA L            ADDRESS ON FILE
Bracero Rios, Virgilio          ADDRESS ON FILE
BRACERO RIVERA, EVA L           ADDRESS ON FILE
BRACERO RIVERA, GILBERTO        ADDRESS ON FILE
BRACERO RIVERA, PEDRO           ADDRESS ON FILE
BRACERO RODRIGUEZ, CARLOS       ADDRESS ON FILE
BRACERO RODRIGUEZ, DAMARIS      ADDRESS ON FILE
BRACERO RODRIGUEZ, ISABEL       ADDRESS ON FILE
BRACERO RODRIGUEZ, JOEL         ADDRESS ON FILE
BRACERO RODRIGUEZ, JOEL A       ADDRESS ON FILE
BRACERO RODRIGUEZ, JULIO        ADDRESS ON FILE
Bracero Rodriguez, Keven        ADDRESS ON FILE
BRACERO RODRIGUEZ, MONSERRATE   ADDRESS ON FILE
BRACERO RODRIGUEZ, PEDRO        ADDRESS ON FILE
Bracero Rosa, Evelyn            ADDRESS ON FILE
BRACERO ROSADO, ARACELIS        ADDRESS ON FILE
BRACERO ROSADO, BRENDA I        ADDRESS ON FILE
BRACERO ROSARIO, ALISOAMY       ADDRESS ON FILE
BRACERO ROSARIO, EMILY          ADDRESS ON FILE
BRACERO SANTANA, YOMITZIA       ADDRESS ON FILE
BRACERO SANTIAGO, FEDERICO      ADDRESS ON FILE
Bracero Sepulveda, Jose M       ADDRESS ON FILE
BRACERO TORRES, LINNETTE        ADDRESS ON FILE
BRACERO TORRES, MARILYN         ADDRESS ON FILE
BRACERO TORRES, PEDRO J.        ADDRESS ON FILE
BRACERO TORRES, PEDRO J.        ADDRESS ON FILE
BRACERO VALENTIN, EDWIN J.      ADDRESS ON FILE
BRACERO VAZQUEZ, RAMON Y        ADDRESS ON FILE
BRACERO VEGA, HECTOR            ADDRESS ON FILE
Bracero Vega, Juan J            ADDRESS ON FILE
BRACERO VEGA, RAMON             ADDRESS ON FILE
BRACERO ZABALETA, CARMELO       ADDRESS ON FILE
BRACERO, ANA                    ADDRESS ON FILE
BRACERO, DYALMA                 ADDRESS ON FILE
BRACERO, RAYMOND                ADDRESS ON FILE
BRACETE ALMODOVAR, FRANCISCO    ADDRESS ON FILE
BRACETE ALMODOVAR, JOSE M.      ADDRESS ON FILE
BRACETE COLON, GLORIMAR         ADDRESS ON FILE
BRACETTI CLAUDIO, JENNIFER      ADDRESS ON FILE
BRACETTI LUGO JONATHAN ALEXIS   ADDRESS ON FILE
Bracetti Rodriguez, Awilda J    ADDRESS ON FILE
BRACETTI SANTIAGO, ALFRED       ADDRESS ON FILE
BRACETTY CALDERON, JOSE A.      ADDRESS ON FILE
BRACETTY PEREZ, VICTOR          ADDRESS ON FILE
BRACETTY, XAVIER                ADDRESS ON FILE
BRACETY BARBOSA, JESSICA        ADDRESS ON FILE
BRACETY RODRIGUEZ, WANDA I      ADDRESS ON FILE
BRACHE CASTRO, MARIANO          ADDRESS ON FILE




                                                                            Page 951 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                      Exhibit A-1 - Creditor
                                                                          Case No.Matrix
                                                                                  17 BK 3283‐LTSPage 952 of 3500
                                                                                                       Creditor Matrix

Creditor Name                       Address1                                Address2                                Address3     Address4   City         State   PostalCode   Country
BRACHE GARCIA, MARIA                ADDRESS ON FILE
Brache Martinez, Mario              ADDRESS ON FILE
BRACHE MELO, JULIO                  ADDRESS ON FILE
BRACHE SANES, LOYDA                 ADDRESS ON FILE
BRACHE VELEZ, KAROLINA              ADDRESS ON FILE
BRACHES GARCIA, NIEVES              ADDRESS ON FILE
BRACHY ROBLES, CARMEN               ADDRESS ON FILE
BRADEN J ROSA SANTIAGO              ADDRESS ON FILE
BRADFORD LLANOS, LAVONNE            ADDRESS ON FILE
BRADLEY A MENA TIBEN                ADDRESS ON FILE
BRADLEY DE LA CRUZ, FIORDALIZA      ADDRESS ON FILE
BRADLEY E OLMEDA                    ADDRESS ON FILE
BRADLEY J GONZALEZ CONTRERAS        ADDRESS ON FILE
BRADLEY MD, DOUGLAS                 ADDRESS ON FILE
BRADLEY STUART COLLAZO GONZALEZ     ADDRESS ON FILE
BRADLEY, ALLEN                      ADDRESS ON FILE
BRADOR BURGOS, MARIBEL              ADDRESS ON FILE
BRADOR GONZALEZ, LUIS               ADDRESS ON FILE
BRADSHAW LEES, ERIKA                ADDRESS ON FILE
BRADULL CRUZ JUSTINIANO             ADDRESS ON FILE
BRADY MALDOANDO, GEORGE             ADDRESS ON FILE
BRADY MALDONADO, MICHAEL            ADDRESS ON FILE
BRAFFETT JOVET, MICHELINE J         ADDRESS ON FILE
BRAGETTI ALMODOVAR, ALESSANDRO      ADDRESS ON FILE
BRAIAN JAVIER FONTANEZ QUINTANA     ADDRESS ON FILE
BRAIN BIOLOGY LAB INC               PO BOX 79875                                                                                            CAROLINA     PR      00984
BRAIN E HERNANDEZ MORALES           ADDRESS ON FILE
BRAIN MIRABDA, BONITA M             ADDRESS ON FILE
BRAIN MIRANDA, CHERYL A             ADDRESS ON FILE
BRAIN THE EXHIBITION                EDIF. LINCOLN CENTER #555               CALLE MUNOZ RIVERA                      ESQ. GOYCO              CAGUAS       PR      00725
BRAIN THE EXHIBITION                PO BOX 193549                                                                                           SAN JUAN     PR      00919‐3549
BRAINA LAVIENA                      ADDRESS ON FILE
BRAINARD MD , ROGER C               ADDRESS ON FILE
BRAINSTEIN CONCEPTS                 PO BOX 1034                                                                                             GUAYNABO     PR      00970‐1034
BRAINSTHON RODRIGUEZ MONTANEZ       ADDRESS ON FILE
BRAINSTRONG INC                     P O BOX 6840                                                                                            CAGUAS       PR      00726
BRAKE & CLUTCH INC                  1497 AVE TITO CASTRO                                                                                    PONCE        PR      00716 4716
BRAKE CENTER & ENGINE PERFORMANCE   CAPARRA TERRACE                         1162 AVE PINEIRO                                                SAN JUAN     PR      00921
BRALOVA DEVELOPMENT CORP            PO BOX 1602                                                                                             BAYAMON      PR      00960
BRAMAR AUTO SERVICE                 JARD DE CAPARRA                         J‐27 CALLE 5                                                    BAYAMON      PR      00959
BRAMAR AUTO SERVICES INC            CALLE 5J‐27 URB JNDS DE CAPARRA                                                                         BAYAMON      PR      00959
BRAMAR AUTO SERVICES INC            CALLE J‐27                              URB JARDINES DE CAPARRA                                         BAYAMON      PR      00959
BRAMAR AUTO SERVICES INC            JARD DE CAPARRA                         J27 CALLE 5                                                     BAYAMON      PR      00959‐7819
BRAMAR AUTO SERVICES INC.           CALLE 5 J‐27 URB. JARDINES DE CAPARRA                                                                   BAYAMON      PR      00959‐0000
BRAMAR AUTO SERVICES, INC           CALLE 5 J27                             JARDINES DE CAPARRA                                             BAYAMON      PR      00959
BRAMAR PROMOTIONS LLC               PMB 214 425 CARR 693                                                                                    DORADO       PR      00646
BRAN CRUZ, CARLOS                   ADDRESS ON FILE
BRANA BERDECIA, BETZAIDA            ADDRESS ON FILE
BRANA BERDECIA, JAVIER              ADDRESS ON FILE
BRANA CALDERON, ZULEIKA             ADDRESS ON FILE
BRANA CARRASQUILLO, RAQUEL          ADDRESS ON FILE
BRANA CORREA, ZORAIDA               ADDRESS ON FILE
BRANA DAVILA, JORGE L               ADDRESS ON FILE
BRANA DAVILA, MILDRED               ADDRESS ON FILE
BRANA LIZARDI, JAIME                ADDRESS ON FILE
BRANA LIZARDI, JAVIER               ADDRESS ON FILE
BRANA ORTEGA, TERESA                ADDRESS ON FILE
BRANA RIVERA, MARTA                 ADDRESS ON FILE
BRANA RODRIGUEZ, GLORIA E.          ADDRESS ON FILE
BRANA SOSA, MELANIE                 ADDRESS ON FILE




                                                                                                      Page 952 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 953 of 3500
                                                                                          Creditor Matrix

Creditor Name                          Address1                      Address2                          Address3    Address4   City            State   PostalCode   Country
BRANA TORRES, ALICE M                  ADDRESS ON FILE
BRANA TORRES, JAIME                    ADDRESS ON FILE
BRANA TORRES, YASMIN                   ADDRESS ON FILE
BRANAS ZAYAS, JORGE                    ADDRESS ON FILE
BRANCH JUSTICE C.S.P                   CHALETS DE LA FUENTE 4 #406                                                            CAROLINA        PR      00987
BRAND CORREA, LUZ                      ADDRESS ON FILE
BRAND ENERGY & INFRASTRUCTURE SERVICES OF PUERTO RICO CORP           PO BOX 4040                                              CAROLINA        PR      00984‐4040
BRAND GONZALEZ, CARLOS D.              ADDRESS ON FILE
BRANDA L. COLON SANTIAGO               ADDRESS ON FILE
BRANDALIZ LOZANO NERIS                 ADDRESS ON FILE
BRANDES BLANCO, ANA M.                 ADDRESS ON FILE
BRANDI CAMACHO, ALBERTO                ADDRESS ON FILE
BRANDI CAMACHO, FELIX L                ADDRESS ON FILE
BRANDI ORTIZ, ELISANTA                 ADDRESS ON FILE
BRANDI RIVERA, FELIX A                 ADDRESS ON FILE
BRANDI RODRIGUEZ, DAYLEEN C            ADDRESS ON FILE
BRANDI VAZQUEZ, CARLOS A               ADDRESS ON FILE
BRANDI VAZQUEZ, LETSIMARA              ADDRESS ON FILE
BRANDI VAZQUEZ, VANESSA J              ADDRESS ON FILE
BRANDOM RAMOS TORRES                   ADDRESS ON FILE
BRANDON AREA EAR NOSE AND THROAT       721 W ROBERTSON STE 108                                                                BRANDON         FL      33511‐4900
BRANDON B CUEBAS ESTRADA               ADDRESS ON FILE
BRANDON CATARACT CENTER AND EYE CLINIC MEDICAL RECORDS               403 VONDERBURG DR                 SUITE 101              BRANDON         FL      33511
BRANDON COLON LABRADOR                 ADDRESS ON FILE
BRANDON ESTEVEZ HOFMEISTER             ADDRESS ON FILE
BRANDON ESTRADA ROWE                   ADDRESS ON FILE
BRANDON L ECHEVARRIA CINTRON           ADDRESS ON FILE
BRANDON L NIEVES RODRIGUEZ             ADDRESS ON FILE
BRANDON L PLUMEY BAYRON                ADDRESS ON FILE
BRANDON L RODRIGUEZ BARADA             ADDRESS ON FILE
BRANDON NAVAREZ MEDERO                 ADDRESS ON FILE
BRANDON PADRO COLON                    ADDRESS ON FILE
BRANDON PAIN CENTER                    STE 114                                                                                BRANDON         FL      33511
BRANDON REGIONAL HOSPITAL              119 OAKFIELD DR                                                                        BRANDON         FL      33511‐5799
BRANDON RIJOS LUCIANO                  ADDRESS ON FILE
BRANDON SANTOS RAMOS                   ADDRESS ON FILE
BRANDT, SUSANA Z.                      ADDRESS ON FILE
BRANDY GUERRERO, ANDRES                ADDRESS ON FILE
BRANDY GUERRERO, ILEANA                ADDRESS ON FILE
BRANDYWINE HOSPITAL                    PO BOX 19058                                                                           GREEN BAY       WI      54307‐9058
BRANDYWINE INSTITUTE OF ORTHO          1561 MEDICAL DR                                                                        POTTSTOWN       PA      19464‐3218
BRANLEY PEREZ, MARIA A                 ADDRESS ON FILE
BRANUELAS CUADRADO, AIMEE              ADDRESS ON FILE
BRANUELAS CUADRADO, ANNIE J            ADDRESS ON FILE
BRANUELAS NIEVES, JAVIER A             ADDRESS ON FILE
BRANUELAS ORTEGA, ERIC                 ADDRESS ON FILE
BRANUELAS SUAREZ, ANTONIO              ADDRESS ON FILE
BRAS SILVA, INES                       ADDRESS ON FILE
BRASA MOLINA, LEONARDO                 ADDRESS ON FILE
BRASAS RESTAURANT                      HC 08 BOX 46284                                                                        AGUADILLA       PR      00603
BRASAS SMOKE & GRILL INC               URB GOLDEN GATEZ              06 CALLE H                                               CAGUAS          PR      00727
BRASCHI GARCIA, JOSE                   ADDRESS ON FILE
BRASERO MONGE, SIXFREDO                ADDRESS ON FILE
BRASSAND RIVERA, LARRY                 ADDRESS ON FILE
Brassard Rivera, Larry J.              ADDRESS ON FILE
BRATINI FIGARO, BENITO                 ADDRESS ON FILE
BRATKOWSKI MARTINEZ,NORBERTO           ADDRESS ON FILE
BRATTLEBORO EMERGENCY MEMORIAL HOSPITA17 BELMONT AVE                                                                          BRATTLEBORO     VT      05301
BRAU RODRIGUEZ, ASTRID R.              ADDRESS ON FILE
BRAU SOBRINO, GRETCHEN J               ADDRESS ON FILE




                                                                                         Page 953 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 954 of 3500
                                                                                           Creditor Matrix

Creditor Name                     Address1                      Address2                                Address3   Address4   City         State   PostalCode   Country
BRAUDAKIS GAONA, CARLOS           ADDRESS ON FILE
BRAUDAKIS GAONA,CARLOS            ADDRESS ON FILE
BRAULIO A SOTO SANTIAGO           ADDRESS ON FILE
BRAULIO AGOSTO MOTORS INC         P O BOX 2944                  65 TH INFANTERY STATION                                       SAN JUAN     PR      00926
BRAULIO AGOSTO MOTORS INC         PO BOX 29446                                                                                SAN JUAN     PR      00929‐0446
BRAULIO ALVARADO RODRIGUEZ        ADDRESS ON FILE
BRAULIO AVILES PEREZ DBA AVILES   EXTERMINATING SERVICES        25 MANSIONES DE ANASCO                                        ANASCO       PR      00610
BRAULIO CASTILLO QUINTERO         ADDRESS ON FILE
BRAULIO CLASSEN RIVERA            ADDRESS ON FILE
BRAULIO COLON AYALA               ADDRESS ON FILE
BRAULIO CRESPO                    ADDRESS ON FILE
BRAULIO ESCOBAR AYALA             ADDRESS ON FILE
BRAULIO FLORES VEGA               ADDRESS ON FILE
BRAULIO FRANCO PEREZ              ADDRESS ON FILE
BRAULIO GONZALEZ RODRIGUEZ        ADDRESS ON FILE
BRAULIO GONZALEZ RODRIGUEZ        ADDRESS ON FILE
BRAULIO J MEJIAS CRESPO           ADDRESS ON FILE
BRAULIO L NIEVES ROMAN            ADDRESS ON FILE
BRAULIO MARIANO MEJIA             ADDRESS ON FILE
BRAULIO MARIANO MEJIA             ADDRESS ON FILE
BRAULIO MARTINEZ, MILDRED         ADDRESS ON FILE
BRAULIO MATTA CASTRO              ADDRESS ON FILE
BRAULIO MEJIA AVILES              ADDRESS ON FILE
BRAULIO MORENO CLEMENTE           ADDRESS ON FILE
BRAULIO ORTIZ AYMAT               ADDRESS ON FILE
BRAULIO QUINTERO MORALES          ADDRESS ON FILE
BRAULIO RAMOS VERA                ADDRESS ON FILE
BRAULIO RIOS VELEZ                ADDRESS ON FILE
BRAULIO RIVERA ORTIZ              ADDRESS ON FILE
BRAULIO RIVERA RUIZ               ADDRESS ON FILE
BRAULIO RUIZ SANCHEZ              ADDRESS ON FILE
BRAULIO TORRES JIMENEZ            ADDRESS ON FILE
BRAVA DEVELOPERS                  LCDO. LUIS E. PÉREZ LEBRÓN    PO BOX 1466                                                   MAYAGÜEZ     PR      00681‐1466
BRAVE AUDIO VISUAL                PO BOX 10346                                                                                SAN JUAN     PR      00922‐0346
BRAVE AUDIO VISUAL                VILLA NEVAREZ #1084 CALLE 1                                                                 SAN JUAN     PR      00927‐5129
BRAVE AUDIO VISUAL INC            PO BOX 10346                                                                                SAN JUAN     PR      00922‐0346
BRAVE AUDIO VISUAL, INC.          PO BOX 10346                  CAPARA HEIGHTS STATION                                        SAN JUAN     PR      00922
BRAVE INC                         PO BOX 881                                                                                  OROCOVIS     PR      00720
BRAVO ALAMO, NYDIA                ADDRESS ON FILE
BRAVO ALBUERNE, ELISA             ADDRESS ON FILE
BRAVO ALONSO MD, MARIA            ADDRESS ON FILE
BRAVO ALONSO, CARLOS              ADDRESS ON FILE
BRAVO ALONSO, GLADYS N            ADDRESS ON FILE
BRAVO ALONSO, MIRIAM B            ADDRESS ON FILE
BRAVO ALVAREZ, ALBERTO            ADDRESS ON FILE
BRAVO ALVAREZ, JUAN M.            ADDRESS ON FILE
BRAVO ALVAREZ, MARINELLIE         ADDRESS ON FILE
BRAVO AMADOR, GIOVANNY            ADDRESS ON FILE
BRAVO BADILLO, ELSIE              ADDRESS ON FILE
Bravo Badillo, Rafael             ADDRESS ON FILE
BRAVO BRAVO, SIOMARA              ADDRESS ON FILE
BRAVO CABRERA, ANGEL              ADDRESS ON FILE
BRAVO CANDELARIA, JOSE            ADDRESS ON FILE
BRAVO CANDELARIA, LUIS            ADDRESS ON FILE
BRAVO CARIDE, WANDA I             ADDRESS ON FILE
BRAVO CASTANEDA, GABRIEL          ADDRESS ON FILE
BRAVO CASTILLO, CARLOS            ADDRESS ON FILE
BRAVO CHICO, JOSE J.              ADDRESS ON FILE
BRAVO COLON MD, ALFREDO A         ADDRESS ON FILE
BRAVO COLON, ALEXANDER            ADDRESS ON FILE




                                                                                          Page 954 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 955 of 3500
                                                                                           Creditor Matrix

Creditor Name                 Address1                             Address2                             Address3   Address4   City        State   PostalCode   Country
BRAVO COLON, ALEXANDER A      ADDRESS ON FILE
BRAVO COLON, MARIANO J        ADDRESS ON FILE
BRAVO COLON, MARLENE          ADDRESS ON FILE
BRAVO COLON, TERESITA         ADDRESS ON FILE
BRAVO COLON, WALDEMAR         ADDRESS ON FILE
BRAVO CONDE, JOANNIE          ADDRESS ON FILE
BRAVO CONSTRUCTION CORP       URB SANTA JUANITA                    UU1 CALLE 39 STE 431                                       BAYAMON     PR      00956
Bravo Construction Corp.      PMB 431 Calle 39‐UU1 Santa Juanita                                                              Bayamón     PR      00956
BRAVO CRESPO, IVETTE          ADDRESS ON FILE
BRAVO CRESPO, MYRIAM          ADDRESS ON FILE
BRAVO DAVILA, AMNERIS         ADDRESS ON FILE
BRAVO DAVILA, WILMARIE        ADDRESS ON FILE
BRAVO DAVILA, WILMARIE        ADDRESS ON FILE
BRAVO DE AYALA, BELINDA       ADDRESS ON FILE
BRAVO DEL VALLE, JOSE F       ADDRESS ON FILE
BRAVO FERNANDEZ MD, EVELIO    ADDRESS ON FILE
BRAVO FIGUEROA, NELSON        ADDRESS ON FILE
BRAVO FIGUEROA, SONIA M.      ADDRESS ON FILE
BRAVO GALAN, RAQUEL           ADDRESS ON FILE
BRAVO GARCIA MD, JOSE A       ADDRESS ON FILE
BRAVO GARCIA, ESTHER          ADDRESS ON FILE
BRAVO GARCIA, FRANCISCO J.    ADDRESS ON FILE
BRAVO GIRALDEZ, GRACE         ADDRESS ON FILE
BRAVO GONZALEZ MD, HECTOR M   ADDRESS ON FILE
BRAVO GONZALEZ, HECTOR        ADDRESS ON FILE
BRAVO GONZALEZ, IRIS          ADDRESS ON FILE
BRAVO GONZALEZ, JAVIER        ADDRESS ON FILE
BRAVO GONZALEZ, LUIS          ADDRESS ON FILE
BRAVO GONZALEZ, NITZA         ADDRESS ON FILE
Bravo Gonzalez, Nitza C       ADDRESS ON FILE
BRAVO GONZALEZ, SERGIO N      ADDRESS ON FILE
BRAVO GUMA, ROSARIO           ADDRESS ON FILE
BRAVO HERNANDEZ, MADELINE     ADDRESS ON FILE
BRAVO LAGUNA, JUAN            ADDRESS ON FILE
BRAVO LLERENA,WILFREDO E.     ADDRESS ON FILE
BRAVO LOPEZ, GLORIA M.        ADDRESS ON FILE
BRAVO LOPEZ, IRENES           ADDRESS ON FILE
BRAVO LOPEZ, MARIA E          ADDRESS ON FILE
BRAVO LOZANO, CARIDAD         ADDRESS ON FILE
BRAVO LOZANO, MARIA DEL       ADDRESS ON FILE
BRAVO LOZANO, RAMON           ADDRESS ON FILE
Bravo Maisonave, Wilfredo     ADDRESS ON FILE
BRAVO MALDONADO, CARMEN M     ADDRESS ON FILE
BRAVO MALDONADO, OSCAR        ADDRESS ON FILE
BRAVO MARICHAL, JORGE L       ADDRESS ON FILE
BRAVO MARTI, ANDRES           ADDRESS ON FILE
BRAVO MARTINEZ, ERNESTO       ADDRESS ON FILE
BRAVO MARTINEZ, LUCILDA       ADDRESS ON FILE
BRAVO MARTIR, RAFAEL          ADDRESS ON FILE
BRAVO MD, LENNYS              ADDRESS ON FILE
BRAVO MEDINA, WALTER          ADDRESS ON FILE
BRAVO MELENDEZ, IVETTE A      ADDRESS ON FILE
BRAVO MELENDEZ, RICARDO       ADDRESS ON FILE
BRAVO MENA, JESUS             ADDRESS ON FILE
BRAVO MENDEZ, MARIA           ADDRESS ON FILE
BRAVO MUNIZ, ANA L            ADDRESS ON FILE
BRAVO MUNIZ, DANIEL A         ADDRESS ON FILE
BRAVO MUNIZ, EUNICE           ADDRESS ON FILE
BRAVO NEGRON, FRANCES M       ADDRESS ON FILE
BRAVO NEGRON, HERBERT         ADDRESS ON FILE




                                                                                          Page 955 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 956 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BRAVO NIEVES, MARTA          ADDRESS ON FILE
BRAVO NONES MD, ALFREDO      ADDRESS ON FILE
BRAVO ORTEGA, CLARA          ADDRESS ON FILE
BRAVO ORTEGA, FELICIA        ADDRESS ON FILE
BRAVO ORTIZ, ERNESTO         ADDRESS ON FILE
BRAVO ORTIZ, WILFREDO        ADDRESS ON FILE
BRAVO PABON, LISANDRA        ADDRESS ON FILE
BRAVO PADIN, FERNANDO        ADDRESS ON FILE
BRAVO PADIN, GUSTAVO A       ADDRESS ON FILE
BRAVO PADIN, GUSTAVO A       ADDRESS ON FILE
BRAVO PAGAN, DIANA           ADDRESS ON FILE
BRAVO PAGAN, LUIS G.         ADDRESS ON FILE
BRAVO PANIAGUA, YARAZET      ADDRESS ON FILE
BRAVO PARDO, YTXIA E         ADDRESS ON FILE
BRAVO PARES, JOSE A.         ADDRESS ON FILE
BRAVO PASCUAL, MARIELA       ADDRESS ON FILE
BRAVO PEREZ, ADA A           ADDRESS ON FILE
BRAVO PEREZ, ARTURO          ADDRESS ON FILE
BRAVO PEREZ, JENNIFER        ADDRESS ON FILE
BRAVO PEREZ, OSVALDO         ADDRESS ON FILE
BRAVO PINELA, MICHELLE G     ADDRESS ON FILE
BRAVO PONCE, ANNETTE         ADDRESS ON FILE
BRAVO QUILES, NOELIA         ADDRESS ON FILE
BRAVO QUILES, YADIRA         ADDRESS ON FILE
BRAVO RAMIREZ, CARMEN J      ADDRESS ON FILE
BRAVO RAMIREZ, CARMEN J      ADDRESS ON FILE
BRAVO RAMIREZ, ROSA E.       ADDRESS ON FILE
BRAVO RAMOS, JORGE A         ADDRESS ON FILE
BRAVO RAMOS, JOSE F.         ADDRESS ON FILE
BRAVO RAMOS, MARIA G         ADDRESS ON FILE
BRAVO RAMOS, MELISSA         ADDRESS ON FILE
BRAVO RAMOS, NERIDA          ADDRESS ON FILE
BRAVO RAMOS, OSVALDO         ADDRESS ON FILE
BRAVO REYES, JOSE            ADDRESS ON FILE
BRAVO RIOS, ELTON J          ADDRESS ON FILE
BRAVO RIVERA, CARLOS         ADDRESS ON FILE
BRAVO RIVERA, CARLOS R       ADDRESS ON FILE
BRAVO RIVERA, CARMEN M.      ADDRESS ON FILE
BRAVO RIVERA, DIONEL         ADDRESS ON FILE
BRAVO RIVERA, LAURA E        ADDRESS ON FILE
BRAVO RIVERA, OSVALDO        ADDRESS ON FILE
BRAVO RIVERA, OTTO N         ADDRESS ON FILE
BRAVO RODRIGUEZ, AIDA E      ADDRESS ON FILE
BRAVO RODRIGUEZ, CARMEN      ADDRESS ON FILE
BRAVO RODRIGUEZ, CARMEN T.   ADDRESS ON FILE
BRAVO RODRIGUEZ, IRIS E      ADDRESS ON FILE
BRAVO RODRIGUEZ, LYDIA       ADDRESS ON FILE
BRAVO RODRIGUEZ, PEDRO E     ADDRESS ON FILE
BRAVO RODRIGUEZ, RODNEY      ADDRESS ON FILE
BRAVO RODRIGUEZ, TAINA L.    ADDRESS ON FILE
BRAVO ROMAN, JAYSON          ADDRESS ON FILE
BRAVO ROSARIO, MIRELLYS      ADDRESS ON FILE
BRAVO SANCHEZ, ODEMARIS      ADDRESS ON FILE
BRAVO SANTIAGO, AMARIS M     ADDRESS ON FILE
BRAVO SILVA, JESUS E.        ADDRESS ON FILE
Bravo Soto, Elliot           ADDRESS ON FILE
BRAVO VALENTIN, ILEANETTE    ADDRESS ON FILE
BRAVO VALVERDE MD, RUBEN     ADDRESS ON FILE
BRAVO VARGAS, VERANICE       ADDRESS ON FILE
BRAVO VARGAS, WANDA          ADDRESS ON FILE




                                                                         Page 956 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 957 of 3500
                                                                                                               Creditor Matrix

Creditor Name                            Address1                              Address2                                     Address3   Address4   City         State   PostalCode   Country
BRAVO VARGAS, WILSON                     ADDRESS ON FILE
Bravo Vazquez, Deborah M                 ADDRESS ON FILE
BRAVO VEGA, DELIA E.                     ADDRESS ON FILE
BRAVO VELAZQUEZ, ESPERANZA               ADDRESS ON FILE
BRAVO VILLANUEVA, CARMEN M.              ADDRESS ON FILE
BRAVO VILLANUEVA, RAFAEL A               ADDRESS ON FILE
BRAVO WHITE, CARLOS                      ADDRESS ON FILE
BRAVO, BERNARDO                          ADDRESS ON FILE
BRAVO, FRANCISCA                         ADDRESS ON FILE
BRAVO, SILVESTRE                         ADDRESS ON FILE
BRAVOCOLON, ALEXANDER A.                 ADDRESS ON FILE
BRAVOS B V CORP                          PO BOX 2751                                                                                              JUNCOS       PR      00777
BRAXTON EDUCATINAL INSTITUTE INC         K2 AVE SAN PATRICIO                                                                                      GUAYNABO     PR      00968‐4405
BRAXTON SCHOOL OF P R Y BANCO POPULAR PR P O BOX 362708                                                                                           SAN JUAN     PR      00936‐2708
BRAXTON SCHOOL OF PUERTO RICO INC        P O BOX 362708                                                                                           SAN JUAN     PR      00936‐2708
BRAXTON SCHOOL OF PUERTO RICO INC        PO BOX 195606                                                                                            SAN JUAN     PR      00919‐5606
BRAXTON SCHOOL OF PUERTO RICO INC        Y ORIENTAL BANK                       PO BOX 195606                                                      SAN JUAN     PR      00919‐5606
BRAXTON SCHOOL OF PUERTO RICO INC        Y ORIENTAL BANK AND TRUST             K‐2 AVE. SAN PATRICIO                                              GUAYNABO     PR      00968‐4405
BRAXTON SCHOOL OF PUERTO RICO INC        Y ORIENTAL BANK AND TRUST             PO BOX 195606                                                      SAN JUAN     PR      00919‐5606
BRAYAN ALVAREZ RAMOS                     ADDRESS ON FILE
BRAYAN FERRER ORTIZ                      ADDRESS ON FILE
BRAYAN FONTANEZ SANTIAGO                 ADDRESS ON FILE
BRAYAN J GONZALEZ DATIZ                  ADDRESS ON FILE
BRAYAN J PAGAN ORTIZ                     ADDRESS ON FILE
BRAYAN O STUART VAZQUEZ                  ADDRESS ON FILE
BRAYAN PEREZ BONILLA                     ADDRESS ON FILE
BRAYAN ROMAN SANTIANGO                   ADDRESS ON FILE
BRAYAN SALINAS SANTIAGO                  ADDRESS ON FILE
BRAYAN SANCHEZ RIVERA                    ADDRESS ON FILE
BRAYN M. DEL VALLE Y DAMARIS QUINONES    ADDRESS ON FILE
BRAYN S. PEREZ RIVERA                    ADDRESS ON FILE
BRAZOBAN MIRANDA, AIDA L                 ADDRESS ON FILE
BRAZOBAN MORILLO, MILAGROS               ADDRESS ON FILE
BRAZOBAN SANTANA, PATRIA                 ADDRESS ON FILE
BRAZOBAN SANTANA, PATRIA                 ADDRESS ON FILE
BRB GURABO INC                           SECT EL CINCO                         1537 AVE PONCE DE LEON BZN 1                                       SAN JUAN     PR      00926
BREA MARTINEZ MD, JUAN                   ADDRESS ON FILE
BREA PEREZ MD, MAYRA E                   ADDRESS ON FILE
BREA PIMENTEL MD, JOSE A                 ADDRESS ON FILE
BREA SANTOS, ALLISON                     ADDRESS ON FILE
BREAST CANCER CARE CSP                   609 AVE TITO CASTRO STE 102 PMB 464                                                                      PONCE        PR      00716‐0200
BREAST CANCER INSTITUTE PSC              P O BOX 1390                                                                                             AIBONITO     PR      00705
BREBAN CRUZ, JANET                       ADDRESS ON FILE
BREBAN CRUZ, JEANNETTE                   ADDRESS ON FILE
BREBAN EMMANUELLI, ERICK                 ADDRESS ON FILE
BREBAN FERRAN, EDGARDO                   ADDRESS ON FILE
BREBAN MERCADO, CARMELO                  ADDRESS ON FILE
BREBAN MERCADO, LUZ M                    ADDRESS ON FILE
BREBAN ORTIZ, JUAN I                     ADDRESS ON FILE
BREBAN PAGAN, WALDEMAR                   ADDRESS ON FILE
BREBAN PAGAN, WILMARY                    ADDRESS ON FILE
BREBAN PAGAN, WILMARY                    ADDRESS ON FILE
BREBAN PEREZ, ROBERTO                    ADDRESS ON FILE
BREBAN RIVERA, NOENY                     ADDRESS ON FILE
BREBAN RODRIGUEZ, YANITZA                ADDRESS ON FILE
BREBAN SALICHS, VIRGINIA                 ADDRESS ON FILE
BREBAN SANTIAGO, ANAIS                   ADDRESS ON FILE
BREBAN VALENTIN, EDUARDO R               ADDRESS ON FILE
Breda Rodriguez, Teresa A.               ADDRESS ON FILE
BREDALY SALDANA TORRES                   ADDRESS ON FILE




                                                                                                              Page 957 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                               Exhibit A-1 - Creditor
                                                                   Case No.Matrix
                                                                           17 BK 3283‐LTSPage 958 of 3500
                                                                          Creditor Matrix

Creditor Name                Address1                  Address2                        Address3   Address4    City            State   PostalCode   Country
BREGNA S MUNIZ VAZQUEZ       ADDRESS ON FILE
BREGON GARCIA, EVELYN        ADDRESS ON FILE
BREGON PEDRAZA, VICTOR       ADDRESS ON FILE
BREHMER, JUANA H.            ADDRESS ON FILE
BREHN BERTIN, KATHERIN J     ADDRESS ON FILE
BREIDYS P. GARCIA GONZALEZ   ADDRESS ON FILE
BREIJO BAULLOSA, EDUARDO     ADDRESS ON FILE
BREIJO FERREGUT, EDUARDO     ADDRESS ON FILE
BREINGAN MD , PETER J        ADDRESS ON FILE
BREN RAMOS, IVONNE           ADDRESS ON FILE
BRENDA A BOLET NIETO         ADDRESS ON FILE
BRENDA A CRUZ MALDONADO      ADDRESS ON FILE
BRENDA A CRUZ VINAS          ADDRESS ON FILE
BRENDA A FLORES CRUZ         ADDRESS ON FILE
BRENDA A GARCIA RAMOS        ADDRESS ON FILE
BRENDA A MALDONADO MEDINA    ADDRESS ON FILE
BRENDA A SERRANO FEBO        ADDRESS ON FILE
BRENDA A TORRES RIVERA       ADDRESS ON FILE
BRENDA ALVARADO RODRIGUEZ    ADDRESS ON FILE
BRENDA AMARO COLLAZO         ADDRESS ON FILE
BRENDA ANDUJAR SANTIAGO      ADDRESS ON FILE
BRENDA ANGUIERA SOTO         ADDRESS ON FILE
BRENDA APONTE CORREA         PO BOX 37                                                                        SAN LORENZO     PR      00754
BRENDA ARCE FLORES           ADDRESS ON FILE
BRENDA BASCO SOTO            ADDRESS ON FILE
BRENDA BATISTA ECHEVARRIA    ADDRESS ON FILE
BRENDA BERRIOS MORALES       ADDRESS ON FILE
BRENDA BEY VINAS             ADDRESS ON FILE
BRENDA BIBILONI VAZQUEZ      ADDRESS ON FILE
BRENDA BONES MORALES         ADDRESS ON FILE
BRENDA BRUNO RODRIGUEZ       ADDRESS ON FILE
BRENDA C SOULETTE VELEZ      ADDRESS ON FILE
BRENDA CAMACHO GUZMAN        ADDRESS ON FILE
BRENDA CARDENAS RODRIGUEZ    ADDRESS ON FILE
BRENDA CARMONA SANTIAGO      ADDRESS ON FILE
BRENDA CARTAGENA ZARAGOSA    ADDRESS ON FILE
BRENDA CEDRE NAZARIO         ADDRESS ON FILE
BRENDA CESTARYS COLON        ADDRESS ON FILE
BRENDA CINTRON               ADDRESS ON FILE
BRENDA COBIAN QUINONES       ADDRESS ON FILE
BRENDA COLON COLON           ADDRESS ON FILE
BRENDA COLON DE SOUSA        ADDRESS ON FILE
BRENDA COLON DELGADO         ADDRESS ON FILE
BRENDA COLON MARTINEZ        ADDRESS ON FILE
BRENDA COLON NIEVES          ADDRESS ON FILE
BRENDA COLON NUNEZ           ADDRESS ON FILE
BRENDA CORTES OQUENDO        ADDRESS ON FILE
BRENDA D MARTINEZ CORDOVA    ADDRESS ON FILE
BRENDA DE JESUS CAVILLAN     ADDRESS ON FILE
BRENDA DELGADO               ADDRESS ON FILE
BRENDA DIAZ                  ADDRESS ON FILE
BRENDA DIAZ CAMACHO          ADDRESS ON FILE
BRENDA DIAZ CASTRO           ADDRESS ON FILE
BRENDA DOMINICCI ALICEA      ADDRESS ON FILE
BRENDA DYER BURGOS           ADDRESS ON FILE
BRENDA E BLANCO ORTIZ        ADDRESS ON FILE
BRENDA E DIAZ MONTALVAN      ADDRESS ON FILE
BRENDA E LOPEZ CORREA        ADDRESS ON FILE
BRENDA E MATOS PEREZ         ADDRESS ON FILE
BRENDA E NOVOA GARCIA        ADDRESS ON FILE




                                                                         Page 958 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 959 of 3500
                                                                                              Creditor Matrix

Creditor Name                    Address1                         Address2                                 Address3               Address4   City         State   PostalCode   Country
BRENDA E NOVOA GARCIA            ADDRESS ON FILE
BRENDA E OCASIO MARENGO          ADDRESS ON FILE
BRENDA E PADILLA SANTISTEBAN     ADDRESS ON FILE
BRENDA E RODRIGUEZ RODRIGUEZ     ADDRESS ON FILE
BRENDA E SANTIAGO GONZALEZ       ADDRESS ON FILE
BRENDA E VALENTIN LUCIANO        ADDRESS ON FILE
BRENDA E. COLON APONTE           ADDRESS ON FILE
BRENDA E. RIOS CALDERON          ADDRESS ON FILE
BRENDA ECHEVARRIA PEREZ          ADDRESS ON FILE
BRENDA ENID ARROYO GARCIA        ADDRESS ON FILE
BRENDA ENID MALDONADO BERRIOS    ADDRESS ON FILE
BRENDA ENID MORALES NAVARRO      ADDRESS ON FILE
BRENDA ENID SANTOS CLEMENTE      ADDRESS ON FILE
BRENDA ESQUILIN FLORES           ADDRESS ON FILE
BRENDA G ALGARIN CLEMENTE        ADDRESS ON FILE
BRENDA G LOPEZ SANTIAGO          ADDRESS ON FILE
BRENDA G LUGO PEREZ              ADDRESS ON FILE
BRENDA G MONTES ANDUJAR          ADDRESS ON FILE
BRENDA G RAMOS LEBRON            ADDRESS ON FILE

BRENDA GARCIA ROSARIO            LCDO. HAROLD J. RIVERA VAZQUEZ   750 CALLE PIEDRAS NEGRAS                 #2 PORTICOS DE VENUS              SAN JUAN     PR      00926
BRENDA GISELLE LOPEZ SANTAGO     ADDRESS ON FILE
BRENDA GOMEZ MATOS               ADDRESS ON FILE
BRENDA GONZALEZ PEREZ            ADDRESS ON FILE
BRENDA GUZMAN BURGOS             ADDRESS ON FILE
BRENDA GUZMAN CANALES            ADDRESS ON FILE
BRENDA HERNANDEZ CORREA          ADDRESS ON FILE
BRENDA HERNANDEZ RIVERA          ADDRESS ON FILE
BRENDA I ACOSTA VILLANUEVA       ADDRESS ON FILE
BRENDA I ANDUJAR MUNIZ           ADDRESS ON FILE
BRENDA I ANES SANTOS             ADDRESS ON FILE
BRENDA I BERRIOS NAVARRO         ADDRESS ON FILE
BRENDA I BORIA PEREZ             ADDRESS ON FILE
BRENDA I CARRASQUILLO VALENTIN   ADDRESS ON FILE
BRENDA I COLON ORTIZ             ADDRESS ON FILE
BRENDA I CORTES MAXAN            ADDRESS ON FILE
BRENDA I COSME SERRANO           ADDRESS ON FILE
BRENDA I CRUZ CRUZ               ADDRESS ON FILE
BRENDA I CUBERO PANTOJA          ADDRESS ON FILE
BRENDA I FEBO FEBO               ADDRESS ON FILE
BRENDA I FELICIANO RUIZ          ADDRESS ON FILE
BRENDA I GARCIA REPOLLET         ADDRESS ON FILE
BRENDA I HERNANDEZ CORREA        ADDRESS ON FILE
BRENDA I HERNANDEZ FLORES        ADDRESS ON FILE
BRENDA I MALDONADO CRUZ          ADDRESS ON FILE
BRENDA I MALDONADO GONZALEZ      ADDRESS ON FILE
BRENDA I MARTINEZ POUPART        ADDRESS ON FILE
BRENDA I NIEVES RODRIGUEZ        ADDRESS ON FILE
BRENDA I NIEVES RODRIGUEZ        ADDRESS ON FILE
BRENDA I ORTIZ/JUANITA CORREA    ADDRESS ON FILE
BRENDA I PAGAN VAZQUEZ           ADDRESS ON FILE
BRENDA I PEREZ ALMENA            ADDRESS ON FILE
BRENDA I PEREZ COLON             ADDRESS ON FILE
BRENDA I RAMOS DE RODRIGUEZ      ADDRESS ON FILE
BRENDA I RAMOS DE RODRIGUEZ      ADDRESS ON FILE
BRENDA I RAMOS SANTIAGO          ADDRESS ON FILE
BRENDA I ROMAN GONZALEZ          ADDRESS ON FILE
BRENDA I SANDOVAL VILONOVA       ADDRESS ON FILE
BRENDA I SANTIAGO LUGO           ADDRESS ON FILE
BRENDA I TORRES ORTIZ            ADDRESS ON FILE




                                                                                             Page 959 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 960 of 3500
                                                                                        Creditor Matrix

Creditor Name                           Address1                            Address2                 Address3   Address4   City        State   PostalCode   Country
BRENDA I TORRES RIVERA                  ADDRESS ON FILE
BRENDA I TOSADO NUNEZ                   ADDRESS ON FILE
BRENDA I VALE BLAS                      ADDRESS ON FILE
BRENDA I VALENTIN CASTANON              ADDRESS ON FILE
BRENDA I VELEZ                          ADDRESS ON FILE
BRENDA I VERDEJO CARRASQUILLO           ADDRESS ON FILE
BRENDA I ZABALA LOZADA                  ADDRESS ON FILE
BRENDA I ZUNIGA SOTO                    ADDRESS ON FILE
BRENDA I. CARRASQUILLO GOMEZ            ADDRESS ON FILE
BRENDA I. CASTRO VOLTAGGIO              ADDRESS ON FILE
BRENDA I. CORREA MEDINA                 ADDRESS ON FILE
BRENDA I. DAVILA LAUREANO               ADDRESS ON FILE
BRENDA I. FONSECA FONSECA               ADDRESS ON FILE
BRENDA I. MOLINA TORRES                 ADDRESS ON FILE
BRENDA I. MORA RODRIGUEZ                ADDRESS ON FILE
BRENDA I. PEREZ COLON                   ADDRESS ON FILE
BRENDA I. ROMAN GONZALEZ                ADDRESS ON FILE
BRENDA I. SANTANA DIEPPA                ADDRESS ON FILE
BRENDA I. VAZQUEZ ALDRICH               ADDRESS ON FILE
BRENDA I. VERDEJO CARRASQUILLO          ADDRESS ON FILE
BRENDA IRIS GONZALEZ TOLEDO             ADDRESS ON FILE
BRENDA IRIZARRY LUNA                    ADDRESS ON FILE
BRENDA IVETTE QUIROS ORTIZ              ADDRESS ON FILE
BRENDA IVETTE SERRANO VAZQUEZ           ADDRESS ON FILE
BRENDA IVETTE VAZQUEZ ALDRICH           ADDRESS ON FILE
BRENDA J CRESPO PENA                    ADDRESS ON FILE
BRENDA J CRUZ OPIO                      ADDRESS ON FILE
BRENDA J DE LA CRUZ SANCHEZ             ADDRESS ON FILE
BRENDA J DIAZ VAZQUEZ                   ADDRESS ON FILE
BRENDA J FERRER                         ADDRESS ON FILE
BRENDA J LUGO RAMOS                     ADDRESS ON FILE
BRENDA J MACHADO                        ADDRESS ON FILE
BRENDA J MIRANDA MARTINEZ               ADDRESS ON FILE
BRENDA J RIVERA RUIZ                    ADDRESS ON FILE
BRENDA J ROSADO RAMOS                   ADDRESS ON FILE
BRENDA J SANTIAGO NAZARIO               ADDRESS ON FILE
BRENDA JOVE MENDEZ                      ADDRESS ON FILE
BRENDA L ACEVEDO LUYANDO                ADDRESS ON FILE
BRENDA L ALICEA LONGO                   ADDRESS ON FILE
BRENDA L APONTE OCASIO                  ADDRESS ON FILE
BRENDA L ARROYO CRESPO                  ADDRESS ON FILE
BRENDA L BONILLA IRIZARRY               ADDRESS ON FILE
BRENDA L BONILLA MARTINEZ               ADDRESS ON FILE
BRENDA L CARRASQUILLO BATISTA           ADDRESS ON FILE
BRENDA L CARRASQUILLO HUERTAS           ADDRESS ON FILE
BRENDA L CARRASQUILLO HUERTAS           ADDRESS ON FILE
BRENDA L CASTRO                         ADDRESS ON FILE
BRENDA L CASTRO COLON                   ADDRESS ON FILE
BRENDA L CLAUDIO SANCHEZ                ADDRESS ON FILE
BRENDA L COLON GOMEZ                    ADDRESS ON FILE
BRENDA L COLON JIMENEZ                  ADDRESS ON FILE
BRENDA L CONCEPCION COREANO             ADDRESS ON FILE
BRENDA L CONCEPCION DELGADO             ADDRESS ON FILE
BRENDA L CORDERO ACABA                  ADDRESS ON FILE
BRENDA L CORTIJO TORRES DBA ALL LOCKS   BE‐14 AMAZONES ESTE VALLE VERDE 2                                                  BAYAMON     PR      00961
BRENDA L DAVILA SANTIAGO                ADDRESS ON FILE
BRENDA L DEL VALLE CEREZO               ADDRESS ON FILE
BRENDA L DEL VALLE CEREZO               ADDRESS ON FILE
BRENDA L DIAZ CARRASQUILLO              ADDRESS ON FILE
BRENDA L DONATO DIAZ                    ADDRESS ON FILE




                                                                                       Page 960 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 961 of 3500
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
BRENDA L DUPREY ALMEYDA                 ADDRESS ON FILE
BRENDA L FERNANDEZ RODRIGUEZ            ADDRESS ON FILE
BRENDA L FIGUEROA MEDINA                ADDRESS ON FILE
BRENDA L FONTANEZ CARRION               ADDRESS ON FILE
BRENDA L GOMEZ ENCARNACION              ADDRESS ON FILE
BRENDA L GONZALEZ ROSARIO               ADDRESS ON FILE
BRENDA L GONZALEZ ROSARIO               ADDRESS ON FILE
BRENDA L GUZMAN TORRES                  ADDRESS ON FILE
BRENDA L HUERTAS ACEVEDO                ADDRESS ON FILE
BRENDA L HUERTAS ACEVEDO                ADDRESS ON FILE
BRENDA L JIMENEZ MALDONADO              ADDRESS ON FILE
BRENDA L LOPEZ ROMAN                    ADDRESS ON FILE
BRENDA L LOPEZ VILLANUEVA               ADDRESS ON FILE
BRENDA L LORENZO AGRON                  ADDRESS ON FILE
BRENDA L LORENZO AGRON                  ADDRESS ON FILE
BRENDA L LOUBRIEL RIVERA                ADDRESS ON FILE
BRENDA L LUGO GONZALEZ                  ADDRESS ON FILE
BRENDA L MALDONADO LOPEZ                ADDRESS ON FILE
BRENDA L MALDONADO LOPEZ                ADDRESS ON FILE
BRENDA L MARTINEZ SANCHEZ               ADDRESS ON FILE
BRENDA L MASSAS NIEVES                  ADDRESS ON FILE
BRENDA L MATEO                          ADDRESS ON FILE
BRENDA L MATEO                          ADDRESS ON FILE
BRENDA L MATOS                          ADDRESS ON FILE
BRENDA L MATOS COLON                    ADDRESS ON FILE
BRENDA L MATOS MOLINA                   ADDRESS ON FILE
BRENDA L MEDINA                         ADDRESS ON FILE
BRENDA L MERCADO MEJIAS                 ADDRESS ON FILE
BRENDA L MERCADO RODRIGUEZ              ADDRESS ON FILE
BRENDA L MILLAN MARQUEZ                 ADDRESS ON FILE
BRENDA L MOLINA MORALES                 ADDRESS ON FILE
BRENDA L MORALES SUAREZ                 ADDRESS ON FILE
BRENDA L MORALES VELEZ                  ADDRESS ON FILE
BRENDA L MULERO MONTES                  ADDRESS ON FILE
BRENDA L NUNEZ HERNANDEZ                ADDRESS ON FILE
BRENDA L ORENGO BONILLA                 ADDRESS ON FILE
BRENDA L OYOLA COLON / ARNALDO FIGUEROA ADDRESS ON FILE
BRENDA L PADILLA PEREZ                  ADDRESS ON FILE
BRENDA L PENA HERNANDEZ                 ADDRESS ON FILE
BRENDA L PEREZ ROMAN                    ADDRESS ON FILE
BRENDA L QUINONES ROSARIO               ADDRESS ON FILE
BRENDA L QUIROZ CORDERO                 ADDRESS ON FILE
BRENDA L RAMIREZ VEGA                   ADDRESS ON FILE
BRENDA L RAMOS LEON                     ADDRESS ON FILE
BRENDA L RAMOS VAZQUEZ                  ADDRESS ON FILE
BRENDA L REYES MARQUEZ                  ADDRESS ON FILE
BRENDA L RIOS SANCHEZ                   ADDRESS ON FILE
BRENDA L RIVERA ALCARAZ                 ADDRESS ON FILE
BRENDA L RIVERA FONTANEZ                ADDRESS ON FILE
BRENDA L RIVERA GONZALEZ                ADDRESS ON FILE
BRENDA L RIVERA MONTANEZ                ADDRESS ON FILE
BRENDA L RODRIGUEZ                      ADDRESS ON FILE
BRENDA L RODRIGUEZ CEPEDA               ADDRESS ON FILE
BRENDA L RODRIGUEZ DAVILA               ADDRESS ON FILE
BRENDA L RODRIGUEZ OLIVERAS             ADDRESS ON FILE
BRENDA L RODRIGUEZ OLIVERAS             ADDRESS ON FILE
BRENDA L RODRIGUEZ ORSINI               ADDRESS ON FILE
BRENDA L RODRIGUEZ PEREZ                ADDRESS ON FILE
BRENDA L ROSARIO CARRASQUILO            ADDRESS ON FILE
BRENDA L SANTANA RIVERA                 ADDRESS ON FILE




                                                                                     Page 961 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 962 of 3500
                                                                                        Creditor Matrix

Creditor Name                             Address1                   Address2                        Address3   Address4    City         State   PostalCode   Country
BRENDA L SANTANA VIDOT                    ADDRESS ON FILE
BRENDA L SANTIAGO CALCANO                 ADDRESS ON FILE
BRENDA L SANTIAGO CALCANO                 ADDRESS ON FILE
BRENDA L SANTIAGO DE JESUS                ADDRESS ON FILE
BRENDA L SANTIAGO LUGO                    ADDRESS ON FILE
BRENDA L SANTIAGO MONTALVO                ADDRESS ON FILE
BRENDA L SOTO                             ADDRESS ON FILE
BRENDA L SOTO CEPEDA                      ADDRESS ON FILE
BRENDA L TORO RODRIGUEZ                   ADDRESS ON FILE
BRENDA L TORRES CRUZ                      ADDRESS ON FILE
BRENDA L TORRES FONTANEZ                  ADDRESS ON FILE
BRENDA L TORRES RIVERA DENTAL PRACTICE PSC30 CALLE JUPITER                                                                  CAROLINA     PR      00979
BRENDA L VALENTIN ROSADO/CARIBBEAN        ADDRESS ON FILE
BRENDA L VALLE MARTINEZ                   ADDRESS ON FILE
BRENDA L VELAZQUEZ NIEVES                 ADDRESS ON FILE
BRENDA L VELEZ TORRES                     ADDRESS ON FILE
Brenda L. Bigio Torres                    ADDRESS ON FILE
BRENDA L. CEDENO VILLAVICENCIO            ADDRESS ON FILE
BRENDA L. DALMAU AGUILAR                  ADDRESS ON FILE
BRENDA L. DAVILA ALVIRA                   ADDRESS ON FILE
BRENDA L. DONATO DIAZ                     ADDRESS ON FILE
BRENDA L. HERNANDEZ                       ADDRESS ON FILE
BRENDA L. MERCADO RODRIGUEZ               ADDRESS ON FILE
BRENDA L. MORALES FIGUEROA                ADDRESS ON FILE
BRENDA L. ORTIZ ORTIZ                     ADDRESS ON FILE
BRENDA L. QUINTANA SANTIAGO               ADDRESS ON FILE
BRENDA L. RIOS HERNANDEZ                  ADDRESS ON FILE
BRENDA L. RIOS MENDOZA                    ADDRESS ON FILE
Brenda L. Rivera                          ADDRESS ON FILE
BRENDA L. RIVERA ALCARAZ                  ADDRESS ON FILE
BRENDA L. RIVERA MEDINA                   ADDRESS ON FILE
BRENDA L. ROBLES DIAZ                     ADDRESS ON FILE
BRENDA L. RODRIGUEZ CARRASQUILLO          ADDRESS ON FILE
BRENDA L. SANTIAGO JIMENEZ                ADDRESS ON FILE
BRENDA L. SANTIAGO MELENDEZ               ADDRESS ON FILE
BRENDA L. SEMIDEY RODRIGUEZ               ADDRESS ON FILE
BRENDA L.TORRES Y YOLANDA MARRERO CRUZ ADDRESS ON FILE
BRENDA LABOY GONZALEZ                     ADDRESS ON FILE
BRENDA LEBRON SANTANA                     ADDRESS ON FILE
BRENDA LEDESMA MUNOZ                      ADDRESS ON FILE
BRENDA LEE ADORNO MORALES                 ADDRESS ON FILE
BRENDA LEE APONTE SANTIAGO                ADDRESS ON FILE
BRENDA LEE CASTRO DE LEON                 ADDRESS ON FILE
BRENDA LEE FELICIANO ECHEVARRIA           ADDRESS ON FILE
BRENDA LEE FERNANDEZ RODRIGUEZ            ADDRESS ON FILE
BRENDA LEE GOMEZ ENCARNACIN               ADDRESS ON FILE
BRENDA LEE HERNANDEZ                      ADDRESS ON FILE
BRENDA LEE MEJIAS ARROYO                  ADDRESS ON FILE
BRENDA LEE RIOS                           ADDRESS ON FILE
BRENDA LEE RIVERA COLON                   ADDRESS ON FILE
BRENDA LEE RIVERA MARTINEZ                ADDRESS ON FILE
BRENDA LEE RIVERA PENA                    ADDRESS ON FILE
BRENDA LEE RODRIGUEZ PEREZ                ADDRESS ON FILE
BRENDA LEE ROLDAN SANCHEZ                 ADDRESS ON FILE
BRENDA LEE ROMAN MERCADO                  ADDRESS ON FILE
BRENDA LEE SALAS SERRANO                  ADDRESS ON FILE
BRENDA LEE SANTIAGO JIMENEZ               ADDRESS ON FILE
BRENDA LEE SOTO SANTIAGO                  ADDRESS ON FILE
BRENDA LISS CRUZ OSORIO                   ADDRESS ON FILE
BRENDA LIZ BERMUDEZ OLIVO                 ADDRESS ON FILE




                                                                                       Page 962 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 963 of 3500
                                                                                            Creditor Matrix

Creditor Name                         Address1                          Address2                         Address3   Address4   City         State   PostalCode   Country
BRENDA LIZ BERMUDEZ OLIVO             ADDRESS ON FILE
BRENDA LIZ BERMUDEZ OLIVO             ADDRESS ON FILE
BRENDA LIZ BURGOS MORALES             ADDRESS ON FILE
BRENDA LIZ CAJIGAS RUIZ               ADDRESS ON FILE
BRENDA LIZ COTTO PINTO                ADDRESS ON FILE
BRENDA LIZ FIGUEROA LANZO             ADDRESS ON FILE
BRENDA LIZ LACOURT MUNIZ              ADDRESS ON FILE
BRENDA LIZ LOPEZ ARTURET              ADDRESS ON FILE
BRENDA LIZ MAYSONET / PEDRO I RAMOS   ADDRESS ON FILE
BRENDA LIZ MELENDEZ RIVERA            ADDRESS ON FILE
BRENDA LIZ MORALES VEGA               ADDRESS ON FILE
BRENDA LIZ ORTIZ ORTIZ                ADDRESS ON FILE
BRENDA LIZ RAMOS GONZALEZ             ADDRESS ON FILE
BRENDA LIZ RODRIGUEZ LOPEZ            ADDRESS ON FILE
BRENDA LLANOS GRUEL                   ADDRESS ON FILE
BRENDA LOPEZ RIVERA                   ADDRESS ON FILE
BRENDA LOPEZ RIVERA                   ADDRESS ON FILE
BRENDA LOZADA ORTIZ                   ADDRESS ON FILE
BRENDA LUGO SEGARRA                   ADDRESS ON FILE
BRENDA LUGO VELEZ                     ADDRESS ON FILE
BRENDA M ACOSTA VELEZ                 ADDRESS ON FILE
BRENDA M BAEZ                         ADDRESS ON FILE
BRENDA M CINTRON RODRIGUEZ            ADDRESS ON FILE
BRENDA M CORSI RAMIREZ                ADDRESS ON FILE
BRENDA M CRUZ GONZALEZ                ADDRESS ON FILE
BRENDA M ENCARNACION GARCIA           ADDRESS ON FILE
BRENDA M FERNANDEZ SANTIAGO           ADDRESS ON FILE
BRENDA M GARCIA VARGAS                ADDRESS ON FILE
BRENDA M MARTINEZ TORRES              ADDRESS ON FILE
BRENDA M ORTIZ AYALA                  ADDRESS ON FILE
BRENDA M QUINONES GONZALEZ            ADDRESS ON FILE
BRENDA M RIVERA ACOSTA                ADDRESS ON FILE
BRENDA M RIVERA ALVARADO              ADDRESS ON FILE
BRENDA M ROBLES RAYA                  ADDRESS ON FILE
BRENDA M SANTIAGO REYES               ADDRESS ON FILE
BRENDA M. RAMIREZ TORRENS             ADDRESS ON FILE
BRENDA MALDONADO BERRIOS              ADDRESS ON FILE
BRENDA MALDONADO BROWN                ADDRESS ON FILE
BRENDA MARRERO & ASSOCIATES           CENTRO INTERNACIONAL DE MERCADO   TORRE1 SUITE 707                                       GUAYNABO     PR      00968
BRENDA MARRERO VANTERPOOL             ADDRESS ON FILE
BRENDA MEDIDA SAFON                   ADDRESS ON FILE
BRENDA MIRABAL RODRIGUEZ              ADDRESS ON FILE
BRENDA MIRABAL RODRIGUEZ              ADDRESS ON FILE
BRENDA MOJICA ROSA                    ADDRESS ON FILE
BRENDA MOLINA ORTIZ                   ADDRESS ON FILE
BRENDA MONTALVO ZARAGOZA              ADDRESS ON FILE
BRENDA MONTANEZ CRUZ                  ADDRESS ON FILE
BRENDA MONTANEZ NAZARIO               ADDRESS ON FILE
BRENDA MONTES ALVAREZ                 ADDRESS ON FILE
BRENDA MORENO RAMIREZ                 ADDRESS ON FILE
BRENDA N AQUILES ORTIZ                ADDRESS ON FILE
BRENDA N GALAN OSTOLAZA               ADDRESS ON FILE
BRENDA N PEREZ FERNANDEZ              ADDRESS ON FILE
BRENDA N PEREZ FERNANDEZ              ADDRESS ON FILE
BRENDA N TORANO DIAZ                  ADDRESS ON FILE
BRENDA NARVAEZ ARROYO                 ADDRESS ON FILE
BRENDA NASH MILTON                    ADDRESS ON FILE
BRENDA NATAL                          ADDRESS ON FILE
BRENDA NELSON IRVINE                  ADDRESS ON FILE
BRENDA ORTIZ COLON                    ADDRESS ON FILE




                                                                                           Page 963 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 964 of 3500
                                                                                              Creditor Matrix

Creditor Name                 Address1                           Address2                                  Address3   Address4   City         State   PostalCode   Country
BRENDA PENDAS CRUZ            ADDRESS ON FILE
BRENDA PEREZ HERNANDEZ        ADDRESS ON FILE
BRENDA PEREZ NIEVES           ADDRESS ON FILE
BRENDA PEREZ PORTALATIN       ADDRESS ON FILE
BRENDA PLUMEY                 ADDRESS ON FILE
BRENDA QUINONES BAYRON        ADDRESS ON FILE
BRENDA QUINONES BAYRON        ADDRESS ON FILE
BRENDA QUINONES BAYRON        ADDRESS ON FILE
BRENDA RAMOS AVILES           ADDRESS ON FILE
BRENDA RAMOS HERNANDEZ        ADDRESS ON FILE
BRENDA RIVERA CARABALLO       ADDRESS ON FILE
BRENDA RIVERA GARCIA          ADDRESS ON FILE
BRENDA RIVERA JIMENEZ         ADDRESS ON FILE
BRENDA RIVERA JIMENEZ         ADDRESS ON FILE
BRENDA RIVERA MITCHELL        ADDRESS ON FILE
BRENDA RIVERA RUIZ            ADDRESS ON FILE
BRENDA RODRIGUEZ              ADDRESS ON FILE
BRENDA RODRIGUEZ ARCELAY      ADDRESS ON FILE
BRENDA RODRIGUEZ ARROYO       ADDRESS ON FILE
BRENDA RODRIGUEZ DE LA ROSA   ADDRESS ON FILE
BRENDA RODRÍGUEZ DE LA ROSA   SRA. BRENDA RODRÍGUEZ DE LA ROSA   3 AVENIDA LAGUNA APT. 12F                                       CAROLINA     PR      00979
BRENDA RODRIGUEZ PADILLA      ADDRESS ON FILE
BRENDA RODRIGUEZ PAGAN        ADDRESS ON FILE
BRENDA ROMAN SEPULVEDA        ADDRESS ON FILE
BRENDA ROSA AYALA             ADDRESS ON FILE
BRENDA ROSADO MARTINEZ        ADDRESS ON FILE
BRENDA ROSADO SANTOS          ADDRESS ON FILE
BRENDA ROURA BAEZ             ADDRESS ON FILE
BRENDA RUIZ CORDERO           ADDRESS ON FILE
BRENDA SANCHEZ MULERO         ADDRESS ON FILE
BRENDA SANTIAGO               ADDRESS ON FILE
BRENDA SANTIAGO CAPETILLO     ADDRESS ON FILE
BRENDA SANTIAGO CRUZ          ADDRESS ON FILE
BRENDA SANTIAGO MUNOZ         ADDRESS ON FILE
BRENDA SEMIDEY MONTAðEZ       ADDRESS ON FILE
BRENDA SEMIDEY MONTANEZ       ADDRESS ON FILE
BRENDA SEMIDEY MONTANEZ       ADDRESS ON FILE
BRENDA SERRANO MARIN          ADDRESS ON FILE
BRENDA SERRANO SANTOS         ADDRESS ON FILE
BRENDA SOLTERO CALDERON       ADDRESS ON FILE
BRENDA SOTO TORRES            ADDRESS ON FILE
BRENDA T WHARTOM FLORES       ADDRESS ON FILE
BRENDA TORRELLAS MEDINAS      ADDRESS ON FILE
BRENDA TORRES CARABALLO       ADDRESS ON FILE
BRENDA TORRES RONDON          ADDRESS ON FILE
BRENDA V RODRIGUEZ MUNOZ      ADDRESS ON FILE
BRENDA VALLE PEREZ            ADDRESS ON FILE
BRENDA VEGA ZAMBRANA          ADDRESS ON FILE
BRENDA VIVES RIVERA           ADDRESS ON FILE
BRENDAIRIN CRUZ SANTIAGO      ADDRESS ON FILE
BRENDALEE SANTIAGO GALARZA    ADDRESS ON FILE
BRENDALEE VALLE ROSAS         ADDRESS ON FILE
BRENDALI ORTIZ MARRERO        ADDRESS ON FILE
BRENDALI PEREZ LOPEZ          ADDRESS ON FILE
BRENDALI SANTANA ROSSY        ADDRESS ON FILE
BRENDALI SIERRA RAMOS         ADDRESS ON FILE
BRENDALIS TORRES TORRES       ADDRESS ON FILE
BRENDALIS VEGA FELICIANO      ADDRESS ON FILE
BRENDALISSE AGUAYO MENDOZA    ADDRESS ON FILE
BRENDALIZ AQUINO LUGO         ADDRESS ON FILE




                                                                                             Page 964 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 965 of 3500
                                                                                                 Creditor Matrix

Creditor Name                          Address1                           Address2                            Address3      Address4   City        State   PostalCode   Country
BRENDALIZ AQUINO LUGO                  ADDRESS ON FILE
BRENDALIZ BENGOCHEA CARABALLO          ADDRESS ON FILE
BRENDALIZ BOURDON MARQUEZ              ADDRESS ON FILE
BRENDALIZ CANDELARIA ROSARIO           ADDRESS ON FILE
BRENDALIZ CHAPARRO VARGAS              ADDRESS ON FILE
BRENDALIZ CRUZ SERRANO                 ADDRESS ON FILE
BRENDALIZ FEBRES RODRIGUEZ             ADDRESS ON FILE
BRENDALIZ FEBRES RODRIGUEZ             ADDRESS ON FILE
BRENDALIZ GONZALEZ FIGUEROA            ADDRESS ON FILE
BRENDALIZ GONZALEZ MENDEZ              ADDRESS ON FILE
BRENDALIZ LOZANO NERIS                 ADDRESS ON FILE
BRENDALIZ MERCADO AROCHO               ADDRESS ON FILE
BRENDALIZ NATAL AVILA                  ADDRESS ON FILE
BRENDALIZ NORMANDIE SANTIAGO V DEPARTAMLCDA. GRACIELA E. MARRERO CEDEÑO   CALLE 70 BLQ. 83 #1                 URB. SIERRA   BAYAMON    BAYAMON     PR      00961
BRENDALIZ ORTIZ SANCHEZ                ADDRESS ON FILE
BRENDALIZ PEREZ BALLESTER              ADDRESS ON FILE
BRENDALIZ PINERO AMADEO                ADDRESS ON FILE
BRENDALIZ QUINONES RUIZ                ADDRESS ON FILE
BRENDALIZ RIVERA ROSADO                ADDRESS ON FILE
BRENDALIZ RODRIGUEZ TORRES             ADDRESS ON FILE
BRENDALIZ ROMAN CARDONA                ADDRESS ON FILE
BRENDALIZ ROMAN MARQUEZ                ADDRESS ON FILE
BRENDALIZ ROSA OSORIO                  ADDRESS ON FILE
BRENDALIZ SANTIAGO PADILLA             ADDRESS ON FILE
BRENDALIZ SOTO CASTRO                  ADDRESS ON FILE
BRENDALIZ TORRES RODRIGUEZ             ADDRESS ON FILE
BRENDALIZ TORRES RODRIGUEZ             ADDRESS ON FILE
BRENDALIZ VALENTIN FELICIANO           ADDRESS ON FILE
BRENDALIZ VARGAS LOPEZ                 ADDRESS ON FILE
BRENDALIZ VAZQUEZ GARCIA               ADDRESS ON FILE
BRENDALY DIAZ GONZALEZ                 ADDRESS ON FILE
BRENDALY QUINONES                      ADDRESS ON FILE
BRENDALY QUINONES                      ADDRESS ON FILE
BRENDALY SANCHEZ HERNANDEZ             ADDRESS ON FILE
BRENDALYN MARRERO O'NEILL              ADDRESS ON FILE
BRENDALYS MOLINA MARQUEZ               ADDRESS ON FILE
BRENDALYS NORMANDIA SANTIAGO           ADDRESS ON FILE
BRENDALYS ORTIZ DELGADO                ADDRESS ON FILE
BRENDAR RODRIGUEZ PEREZ                ADDRESS ON FILE
BRENDA'S MAGIC BLOWER                  ADDRESS ON FILE
BRENDA'S MAGIC BLOWER                  ADDRESS ON FILE
BRENDY D CASTRO REYES                  ADDRESS ON FILE
BRENES CANDELARIO, VICTOR              ADDRESS ON FILE
BRENES CATINCHI, JOANNE                ADDRESS ON FILE
BRENES CHAVARRIA, JOSE                 ADDRESS ON FILE
BRENES COLON, ANA L                    ADDRESS ON FILE
BRENES COLON, ANA L                    ADDRESS ON FILE
BRENES COLON, RAMON                    ADDRESS ON FILE
BRENES COLON, RICARDO E.               ADDRESS ON FILE
Brenes Concepcion, Miguel              ADDRESS ON FILE
Brenes Cruz, Juan R                    ADDRESS ON FILE
Brenes Escobar, Jorge                  ADDRESS ON FILE
BRENES GARCIA, ELSA                    ADDRESS ON FILE
BRENES GARCIA, ELSA I                  ADDRESS ON FILE
BRENES GONZALEZ, DALLING               ADDRESS ON FILE
BRENES GONZALEZ, JOSE M                ADDRESS ON FILE
BRENES GONZALEZ, VILMALING             ADDRESS ON FILE
BRENES LAROCHE, YAMIDZA                ADDRESS ON FILE
BRENES MADERA, JACKELINE               ADDRESS ON FILE
BRENES MALDONADO, CARMEN               ADDRESS ON FILE




                                                                                                Page 965 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 966 of 3500
                                                                                            Creditor Matrix

Creditor Name                          Address1                   Address2                               Address3   Address4   City          State   PostalCode   Country
Brenes Mendez, Maria Z                 ADDRESS ON FILE
BRENES MORALES, MARCOS                 ADDRESS ON FILE
BRENES PARRA, LAURA G                  ADDRESS ON FILE
Brenes Perez, Mario J                  ADDRESS ON FILE
BRENES RIVERA, CARMEN L                ADDRESS ON FILE
BRENES ROSARIO, NORA I.                ADDRESS ON FILE
BRENES TORRES, JOSE                    ADDRESS ON FILE
Brenes Torres, Jose R.                 ADDRESS ON FILE
BRENES VIROLA, ROBERTO                 ADDRESS ON FILE
BRENES VIROLA, ROBERTO C               ADDRESS ON FILE
BRENES VIROLA, ROBERTO C               ADDRESS ON FILE
BRENES, CONCHI                         ADDRESS ON FILE
BRENID CORPORATION                     PMB 562                    140 AVE RAFAEL CORDERO                                       CAGUAS        PR      00725
BRENNAN DELGADO CHILDRENS TRUST        URB LA VILLA DE TORRIMAR   295 CALLE REY FELIPE                                         GUAYNABO      PR      00969‐3201
BRENNAN MD , EDMUND J                  ADDRESS ON FILE
BRENS AQUINO, JOEL                     ADDRESS ON FILE
BRENS, ALEXIS                          ADDRESS ON FILE
BRENYS A RIVERA NIEVES                 ADDRESS ON FILE
BRETANA DIAZ, ADA Y                    ADDRESS ON FILE
BRETANA FIGUEROA, RAFAEL               ADDRESS ON FILE
BRETANA RIVERA, CARMEN J.              ADDRESS ON FILE
BRETANA RIVERA, JORGE                  ADDRESS ON FILE
BRETON DE LEON, ROSA E                 ADDRESS ON FILE
BRETON ESPINAL, JOSE                   ADDRESS ON FILE
BRETON FELIX, CAROL                    ADDRESS ON FILE
BRETON GONZALEZ, HECTOR                ADDRESS ON FILE
BRETON SOSA, WENDY J.                  ADDRESS ON FILE
BRETTS LUGGAGE AND GIFTS               SUDBURY CROSSING           423 BOSTON POST ROAD                                         SUDBURY       MA      01776
BREVAN MERCADO, MARILYN                ADDRESS ON FILE
BREVAN MERCADO, MARILYN                ADDRESS ON FILE
BREVAN RIVERA, CARMEN                  ADDRESS ON FILE
BREVAN RIVERA, CARMEN Y                ADDRESS ON FILE
BREVARD NEURO CENTER                   315 E NASA BLVD                                                                         MELBOURNE     FL      32901
BREYDA BERNARD PACHECO                 ADDRESS ON FILE
BRG INC BASSETT FURNITURE              P O BOX 630158                                                                          CATANO        PR      00963‐0158
BRIALES CANELA, ANGEL                  ADDRESS ON FILE
BRIALES CANELA, RAFAEL                 ADDRESS ON FILE
BRIALES, EMILIO                        ADDRESS ON FILE
BRIAN A ORTIZ COPARROPA                ADDRESS ON FILE
BRIAN A POSADA RODRIGUEZ               ADDRESS ON FILE
BRIAN A RODRIGUEZ PEREZ                ADDRESS ON FILE
BRIAN A TORRES SERRANO                 ADDRESS ON FILE
BRIAN AFANADOR PEREZ                   ADDRESS ON FILE
BRIAN AGOSTO VEGA                      ADDRESS ON FILE
BRIAN AJ ALICEA MORALES                ADDRESS ON FILE
BRIAN ALICEA RIVERA                    ADDRESS ON FILE
BRIAN ARROYO RODRIGUEZ                 ADDRESS ON FILE
BRIAN B SANCHEZ RAMOS                  ADDRESS ON FILE
BRIAN BERDECIA VARGAS                  ADDRESS ON FILE
BRIAN BERRIOS NIEVES                   ADDRESS ON FILE
BRIAN BURGOS HERNANDEZ                 ADDRESS ON FILE
BRIAN C LOPEZ OTERO                    ADDRESS ON FILE
BRIAN E MEDINA MORALES                 ADDRESS ON FILE
BRIAN G ALVARADO TORRES                ADDRESS ON FILE
BRIAN GONZALEZ SANABRIA                ADDRESS ON FILE
BRIAN HOUGHTON                         ADDRESS ON FILE
BRIAN J ARROYO FIGUEROA                ADDRESS ON FILE
BRIAN J BARRETO MONTALVO               ADDRESS ON FILE
BRIAN J DELGADO MASSA/ YOLANDA MASSA   ADDRESS ON FILE
BRIAN J HERRICK                        ADDRESS ON FILE




                                                                                           Page 966 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 967 of 3500
                                                                                                  Creditor Matrix

Creditor Name                              Address1                       Address2                             Address3              Address4   City            State   PostalCode   Country
BRIAN J JIMENEZ ZAYAS                      ADDRESS ON FILE
BRIAN J MENDEZ GONZALEZ                    ADDRESS ON FILE
BRIAN J PEREZ COLLAZO                      ADDRESS ON FILE
BRIAN J RODRIGUEZ BERRIOS                  ADDRESS ON FILE
BRIAN J URBINA HERNANDEZ                   ADDRESS ON FILE
BRIAN J VAZQUEZ VAZQUEZ                    ADDRESS ON FILE
BRIAN K. HARTMANN                          ADDRESS ON FILE
BRIAN KELLY, ARDEN                         ADDRESS ON FILE
BRIAN L CASIANO VELEZ/ IBERT VELEZ         ADDRESS ON FILE
BRIAN L CONSTANTINO MEDINA                 ADDRESS ON FILE
BRIAN L SCHLEIER HERNANDEZ                 ADDRESS ON FILE
BRIAN L TORRES REYES                       ADDRESS ON FILE
BRIAN LARROSA PEDROSO                      ADDRESS ON FILE
BRIAN LOPEZ CABRERA                        ADDRESS ON FILE
BRIAN M COLON ROBLES                       ADDRESS ON FILE
BRIAN M DIAZ MARTINEZ                      ADDRESS ON FILE
BRIAN MARTINEZ RIVERA                      ADDRESS ON FILE
BRIAN MATOS FEBUS                          ADDRESS ON FILE
BRIAN MATOS RAMOS                          ADDRESS ON FILE
BRIAN MELENDEZ BONILLA                     ADDRESS ON FILE
BRIAN MELENDEZ DIAZ                        ADDRESS ON FILE
BRIAN MELO ROSARIO                         ADDRESS ON FILE
BRIAN MERCADO RUIZ                         ADDRESS ON FILE
BRIAN N MONTERO SOTO                       ADDRESS ON FILE
BRIAN NIEVES A/C IVETTE MONTALVO           ADDRESS ON FILE
BRIAN NIEVES CANDELARIA                    ADDRESS ON FILE
BRIAN O CALO MASSAS                        ADDRESS ON FILE
BRIAN O COLON LOPEZ                        ADDRESS ON FILE
BRIAN O CRESPO LOPEZ                       ADDRESS ON FILE
BRIAN O IRIZARRY GARCIA / MARISOL GARCIA   ADDRESS ON FILE
BRIAN O MATOS OCASIO                       ADDRESS ON FILE
BRIAN O RAMIREZ RIVERA                     ADDRESS ON FILE
BRIAN O VAZQUEZ CRUZ                       ADDRESS ON FILE
BRIAN O. GORDON RIVERA                     ADDRESS ON FILE
BRIAN OMAR ALVARADO RODRIGUEZ              ADDRESS ON FILE
BRIAN OMAR SANCHEZ RIVERA                  ADDRESS ON FILE
BRIAN ONEIL DE JESUS / JAHAIRA DE JESUS    ADDRESS ON FILE
BRIAN ORTIZ                                ADDRESS ON FILE
BRIAN PAGAN RODRIGUEZ                      ADDRESS ON FILE
BRIAN PEREZ                                ADDRESS ON FILE
BRIAN PEREZ MOLINA                         ADDRESS ON FILE
BRIAN R KELLER                             ADDRESS ON FILE
BRIAN R VELEZ NARVAEZ                      ADDRESS ON FILE
BRIAN REYNALDO CRESPO RIVERA               ADDRESS ON FILE
BRIAN RIVERA PIZARRO                       ADDRESS ON FILE
BRIAN RIVERA RODRIGUEZ                     ADDRESS ON FILE
BRIAN RIVERA ROMAN                         ADDRESS ON FILE
BRIAN RODRIGUEZ                            ADDRESS ON FILE
BRIAN RODRIGUEZ QUINTANA                   ADDRESS ON FILE
BRIAN ROMAN CARABALLO                      ADDRESS ON FILE
BRIAN ROSARIO RUIZ                         ADDRESS ON FILE
                                                                                                               EDIF. VILLA NEVAREZ
BRIAN S. RAMOS ALBARRAN                    LCDO. CARLOS M. RIVERA MATOS   RIVERA‐MATOS & ASOC.                 PROF. OFICINA 307                RÍO PIEDRAS     PR      00927
BRIAN SALINAS CABAN                        ADDRESS ON FILE
BRIAN SANTIAGO                             ADDRESS ON FILE
BRIAN TORRES VELEZ                         ADDRESS ON FILE
BRIAND D SOLA SANCHEZ                      ADDRESS ON FILE
BRIANNA FABIOLA VILLEGAS /BRENDA L ROSA    ADDRESS ON FILE
BRIANNA MARIE MARTINEZ NIEVES              ADDRESS ON FILE
BRICENO BONILLA, LUIS                      ADDRESS ON FILE




                                                                                                 Page 967 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                                 Exhibit A-1 - Creditor
                                                                                     Case No.Matrix
                                                                                             17 BK 3283‐LTSPage 968 of 3500
                                                                                                                  Creditor Matrix

Creditor Name                                  Address1                                Address2                                Address3   Address4   City                State   PostalCode   Country
BRICENO FEBRES, MARIO                          ADDRESS ON FILE
BRICENO RODRIGUEZ, HERNAN                      ADDRESS ON FILE
BRICENO VILLALON, PATRICIO                     ADDRESS ON FILE
BRICENO, LUIS JOSE                             ADDRESS ON FILE
Brickell Financial Services Motor Club, Inc.   7300 Corporate Center Drive             Suite 601                                                     Miami               FL      33126
Brickell Financial Services Motor Club, Inc.   7300 Corporate Center Drive             6th Floor                                                     Miami               FL      33126
BRICKOFF RIVERA JONATHAN                       ADDRESS ON FILE
BRIDALIS PAGAN TROCHE                          ADDRESS ON FILE
BRIDES & FLOWERS                               275 ELEONOR ROOSEVELT                                                                                 SAN JUAN            PR      00918‐0000
BRIDGEPORT HOSPITAL                            545 JOHN CARPENTER                      FWY STE 700                                                   IRVING              TX      75062
BRIDGES FOR HEALTH INC                         BO AMUELAS                              115 CARR 592 KM 5.6                                           JUANA DIAZ          PR      00795‐2872
BRIDGESTONE AMERICAS INC                       535 MARRIOTT DRIVE                                                                                    NASHVILLE           TN      37215
BRIDGETON HOSPITAL
BRIDGEWATER CONSULTING GROUP INC               PMB 252                                 2000 CARR 8177 STE 26                                         GUAYNABO            PR      00966‐3762
BRIDGEWAY CENTER                               MEDICAL RECORDS                         137 HOSPITAL DR                                               FORT WALTON BEACH   FL      32548
BRIDY M AGUIRRE NUNEZ                          ADDRESS ON FILE
BRIEFINGS PUBLISHING GROUP                     1101 KING STREET SUITE 110                                                                            ALEXANDRIA          VA      22314
BRIERE LAW OFFICE PSC                          URB PALACIOS DEL PRADO                  131 CALLE PACIFICO                                            JUANA DIAZ          PR      00795
BRIGANTTI LORENZI, LYDIA E                     ADDRESS ON FILE
BRIGANTTY ALSINA, ZAIDA                        ADDRESS ON FILE
BRIGANTTY GONZALEZ, LUIS J                     ADDRESS ON FILE
BRIGANTTY GONZALEZ, LUIS J.                    ADDRESS ON FILE
BRIGANTTY ORTIZ, GENARO                        ADDRESS ON FILE
BRIGANTTY RIVERA, JOAQUIN                      ADDRESS ON FILE
BRIGANTY COLON, ELAINE                         ADDRESS ON FILE
BRIGANTY GONZALEZ, ARLENE                      ADDRESS ON FILE
BRIGANTY ORTIZ, NATALIE                        ADDRESS ON FILE
BRIGANTY RIVERA, FREDESWINDA                   ADDRESS ON FILE
BRIGANTY VAZQUEZ, ALEXANDER                    ADDRESS ON FILE
BRIGANTY VAZQUEZ, ALEXANDER                    ADDRESS ON FILE
BRIGETTE SANCHEZ BARBOSA                       ADDRESS ON FILE
BRIGGS EPPERSON, ROGER                         ADDRESS ON FILE
BRIGHAM AND WOMENS HOSPITAL                    PO BOX 1438                                                                                           SAN JOSE            CA      95109‐1438
BRIGHT BRAINS, CORP                            URB CANA                                PP ‐ 14 CALLE 5                                               BAYAMON             PR      00957
BRIGHT HOUSE NETWORKS                          P.O. BOX 30574                                                                                        TAMPA               FL      33630‐3574
BRIGHT MAINTENANCE SOLUTIONS CORP              PO BOX 2524                                                                                           VEGA BAJA           PR      00694
BRIGHT MAINTENANCE SOLUTIONS CORP              URB SAN VICENTE                         48 CALLE 10                                                   VEGA BAJA           PR      00693
BRIGHT SIGN INTERNATIONAL INC                  PMP 0102                                #53 AVE ESMERALDA STE 2                                       GUAYNABO            PR      00969
BRIGHT START DAY CARE LEARNING                 URB LOMAS VERDES 2E‐33 CALLE GARDENIA                                                                 BAYAMON             PR      00956
BRIGHTSTAR PUERTO RICO, INC.                   LCDO. KENNETH RIVERA ROBLES             PO BOX 364152                                                 SAN JUAN            PR      00936‐4152
BRIGIDA MARTINEZ FAJARDO                       ADDRESS ON FILE
BRIGIDA MONTA¥O                                ADDRESS ON FILE
BRIGIDA ROJAS NATER                            ADDRESS ON FILE
BRIGIDA SEPULVEDA SANTOS                       ADDRESS ON FILE
BRIGIDA SERRANO CORTES                         ADDRESS ON FILE
BRIGIDO LOZANO SANJURJO                        ADDRESS ON FILE
BRIGIDO LOZANO SANJURJO                        ADDRESS ON FILE
BRIGIDO LOZANO SANJURJO                        ADDRESS ON FILE
BRIGIDO RODRIGUEZ ROMAN                        ADDRESS ON FILE
BRIGIDO ROSARIO RIVERA                         ADDRESS ON FILE
BRIGITT‐ANN RUÍZ VÁZQUEZ                       ADDRESS ON FILE
BRIGITTE DELGADO MOLINA                        ADDRESS ON FILE
BRIGITTE M RUIZ JAIMAN                         ADDRESS ON FILE
BRIGITTE RAMOS MARTINEZ                        ADDRESS ON FILE
BRIGITTE RIVERA BETANCOURT                     ADDRESS ON FILE
BRIGNONI ALVAREZ, LUIS                         ADDRESS ON FILE
Brignoni Ayala, Alejandro                      ADDRESS ON FILE
BRIGNONI BENITEZ, EDGARDO                      ADDRESS ON FILE
BRIGNONI BENITEZ, YVONNE                       ADDRESS ON FILE
BRIGNONI BRIGNONI, JOSEFINA                    ADDRESS ON FILE




                                                                                                                 Page 968 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 969 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BRIGNONI CARAMBOT, ANA A         ADDRESS ON FILE
BRIGNONI CARRASQUILLO, EMMA      ADDRESS ON FILE
BRIGNONI CARRASQUILLO, KEVIN     ADDRESS ON FILE
Brignoni Cordero, Axel A.        ADDRESS ON FILE
BRIGNONI GONZALEZ, JUAN          ADDRESS ON FILE
BRIGNONI GONZALEZ, NOEMI         ADDRESS ON FILE
BRIGNONI GONZALEZ, YOLANDA       ADDRESS ON FILE
BRIGNONI HERNANDEZ, BELINDA M.   ADDRESS ON FILE
BRIGNONI HERNANDEZ, ERIC         ADDRESS ON FILE
BRIGNONI HERNANDEZ, YOVANNI      ADDRESS ON FILE
Brignoni Iglesia, Giovanni       ADDRESS ON FILE
BRIGNONI MARTIR, MARITERE        ADDRESS ON FILE
BRIGNONI MONT JESUS, JIMMY       ADDRESS ON FILE
BRIGNONI ORTEGA, AIDA A          ADDRESS ON FILE
BRIGNONI ORTIZ, GLADYS           ADDRESS ON FILE
BRIGNONI ORTIZ, JULIA M          ADDRESS ON FILE
BRIGNONI PAGAN, TANNIA           ADDRESS ON FILE
BRIGNONI PEREZ, EDWIN            ADDRESS ON FILE
BRIGNONI PONCE, CARLOS           ADDRESS ON FILE
BRIGNONI RODRIGUEZ, ARMANDO      ADDRESS ON FILE
BRIGNONI RODRIGUEZ, XAVIER M     ADDRESS ON FILE
BRIGNONI ROJAS, RICARDO          ADDRESS ON FILE
BRIGNONI ROMAN MD, MANUEL        ADDRESS ON FILE
BRIGNONI RUIZ, ASTRID            ADDRESS ON FILE
BRIGNONI SANCHEZ, CARLA IDAMIS   ADDRESS ON FILE
BRIGNONI SANCHEZ, GLENISHA       ADDRESS ON FILE
BRIGNONI SANFELIZ, LUIS          ADDRESS ON FILE
BRIGNONI SANTONI, LUZ Z          ADDRESS ON FILE
BRIGNONI SANTONI, MARIA I        ADDRESS ON FILE
BRIGNONI SERRANO MD, RUBEN       ADDRESS ON FILE
BRIGNONI VALE, NILDA             ADDRESS ON FILE
BRIGNONI VELEZ, GREGORIO         ADDRESS ON FILE
BRIGNONI VELEZ, GREGORIO         ADDRESS ON FILE
Brillon Aristud, Anselmo         ADDRESS ON FILE
BRILLON COLON, JOSE              ADDRESS ON FILE
Brillon Colon, Jose A            ADDRESS ON FILE
BRILLON CRUZ, WILMARY            ADDRESS ON FILE
BRILLON RAMIREZ, MAGDALENA       ADDRESS ON FILE
BRILLON RIOS, JOSE A.            ADDRESS ON FILE
BRILLON RODRIGUEZ, MANUEL        ADDRESS ON FILE
BRIM INCORPORADO                 PO BOX 195196                                                                    SAN JUAN     PR      00919
BRINDICE MUNOZ MUNOZ             ADDRESS ON FILE
BRINGAS CASTILLO, JAVIER         ADDRESS ON FILE
BRINGAS MARINO, TESSIELLI        ADDRESS ON FILE
BRINGUEZ BARYOLO, JOSE           ADDRESS ON FILE
BRINGUEZ BELLO, JOSE             ADDRESS ON FILE
BRINN ALCALA, GABRIEL            ADDRESS ON FILE
BRINN ESPARRA MD, ORLANDO        ADDRESS ON FILE
BRINN ESPARRA, EDUARDO           ADDRESS ON FILE
Brinz Segura, Suleyka S          ADDRESS ON FILE
BRINZ SEGURD, SULEYKA            ADDRESS ON FILE
BRION, RON                       ADDRESS ON FILE
BRIONI CARRASQUILLO, CARLOS I.   ADDRESS ON FILE
BRIOSO COLLANTES, IDIS KAMIL     ADDRESS ON FILE
BRIOSO DUARTE, MICHELAINE        ADDRESS ON FILE
BRIOSO GARCIAS & CO PSC          PO BOX 195663                                                                    SAN JUAN     PR      00919‐5663
BRIOSO TEXIDOR, ANGEL            ADDRESS ON FILE
BRIOSO TEXIDOR, ANGEL W          ADDRESS ON FILE
BRIOSO TEXIDOR, LUIS R           ADDRESS ON FILE
BRISAS DE CAMPO ALEGRE           ADDRESS ON FILE




                                                                             Page 969 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 970 of 3500
                                                                                                  Creditor Matrix

Creditor Name                            Address1                    Address2                                  Address3   Address4   City          State   PostalCode   Country
BRISAS DE LA MONTANA                     ADDRESS ON FILE
BRISAS DEL MAR CHIQUITA CORP             PMB 243 1353 RD 19                                                                          GUAYNABO      PR      00966‐2700
BRISBIN, SARA                            ADDRESS ON FILE
BRISEBOIS CONSULTING CORP                LA VILLA GDN APTS           26 CARR 833 APT 706                                             GUAYNABO      PR      00971‐9029
BRISEIDA BERMUDEZ TORRES                 ADDRESS ON FILE
BRISEIDA CASTRO HIRALDO                  ADDRESS ON FILE
BRISEIDA J BERRIOS MORALES               ADDRESS ON FILE
BRISTOL /MYERS SQUIBB P R INC            PO BOX 364707                                                                               SAN JUAN      PR      00936‐4707
BRISTOL /MYERS SQUIBB P R INC            PO BOX 71343                                                                                SAN JUAN      PR      00936‐8443
BRISTOL ANGELI, JOSE A.                  ADDRESS ON FILE
BRISTOL DELGADO, NESTOR                  ADDRESS ON FILE
BRISTOL LABORATORIES CORP                PO BOX 897                                                                                  HUMACAO       PR      00708
BRISTOL LOPEZ, LUCILA                    ADDRESS ON FILE
Bristol Martir, Samuel                   ADDRESS ON FILE
BRISTOL MERCADO, DANA                    ADDRESS ON FILE
BRISTOL MORALES, ABIGAIL                 ADDRESS ON FILE
BRISTOL MORALES, EMMANUEL                ADDRESS ON FILE
BRISTOL MYERS SQUIBB CARIBBEAN           PO BOX 897                                                                                  MAYAGUEZ      PR      00681
BRISTOL MYERS SQUIBB CO                  100 NASSAU PARK BOULEVARD                                                                   PRINCETON     NJ      08543
BRISTOL MYERS SQUIBB CO                  22 BLOOMINGDALE DRIVE                                                                       SCARSDALE     NY      10583
BRISTOL MYERS SQUIBB CO                  AREA DEL TESORO             DIVISION DE RECLAMACIONES                                       SAN JUAN      PR      00902‐4140
BRISTOL MYERS SQUIBB HOLDINGS PHARMA LTDPO BOX 30100                                                                                 MANATI        PR      00674
BRISTOL‐ MYERS SQUIBB PUERTO RICO INC    PO BOX 364707                                                                               SAN JUAN      PR      00936‐4707
BRISTOL RODRIGUEZ, ANTHONY               ADDRESS ON FILE
BRISTOL RODRIGUEZ, SUEELLEN              ADDRESS ON FILE
BRISTOL RODRIGUEZ, VIONETTE              ADDRESS ON FILE
BRISTOL TORRES, LILLIANNE                ADDRESS ON FILE
BRISTOL‐MYERS SQUIBB SANOFI‐SYNTHEABO PR PO BOX 364707                                                                               SAN JUAN      PR      00936‐4707
BRISTOPHILES BENITEZ, MERCURIS           ADDRESS ON FILE
BRISUENO DOMINGUEZ, PEDRO                ADDRESS ON FILE
BRISUENO DOMINGUEZ, VILNALYS             ADDRESS ON FILE
BRISUENO LAUREANO, MAGDA I               ADDRESS ON FILE
BRISUENO MOYA, RAFAEL                    ADDRESS ON FILE
BRISUENO MOYA, RAUL O                    ADDRESS ON FILE
BRISUENOS PARADIS, RAUL                  ADDRESS ON FILE
BRITANY N DIAZ TORRES                    ADDRESS ON FILE
BRITO ALVERIO, JONATHAN                  ADDRESS ON FILE
BRITO AMARO, AIDA                        ADDRESS ON FILE
BRITO AMARO, CARLOS ELIAM                ADDRESS ON FILE
Brito Amaro, Marien B                    ADDRESS ON FILE
BRITO AMARO, ROSELYN                     ADDRESS ON FILE
BRITO ANTONIO, CARMEN                    ADDRESS ON FILE
BRITO ARACHE MD, RAFAEL                  ADDRESS ON FILE
BRITO ARANA, TERIC                       ADDRESS ON FILE
BRITO ARANA, TERIC                       ADDRESS ON FILE
BRITO ARAUJO, ALTAGRACIA                 ADDRESS ON FILE
BRITO ARISTY, STEFANIL                   ADDRESS ON FILE
Brito Baez, Edgardo                      ADDRESS ON FILE
BRITO BEATO, NEFTALI                     ADDRESS ON FILE
BRITO BEATO, NEFTALI R.                  ADDRESS ON FILE
BRITO BEATO, NEFTALI R.                  ADDRESS ON FILE
BRITO BENITEZ MD, ARGENTINA              ADDRESS ON FILE
BRITO BLANCO, LOURDES                    ADDRESS ON FILE
BRITO BORGEN, ALBA                       ADDRESS ON FILE
BRITO BRITO, LYDIA                       ADDRESS ON FILE
BRITO BURGOS, BENJAMIN                   ADDRESS ON FILE
BRITO BURGOS, CANDIDO                    ADDRESS ON FILE
Brito Burgos, Jose M                     ADDRESS ON FILE
BRITO BURGOS, JULIA                      ADDRESS ON FILE
BRITO BURGOS, NOELIA                     ADDRESS ON FILE




                                                                                                 Page 970 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 971 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BRITO BURGOS, NOELIA          ADDRESS ON FILE
BRITO BURGOS, ROBERTO         ADDRESS ON FILE
BRITO COLON, MARIA E          ADDRESS ON FILE
BRITO CRUZ, JOSE              ADDRESS ON FILE
BRITO CRUZ, RAFAEL            ADDRESS ON FILE
BRITO CUEVAS, MIGUEL          ADDRESS ON FILE
BRITO DAVILA, YANIRA          ADDRESS ON FILE
BRITO DE JESUS, MARCOS        ADDRESS ON FILE
BRITO DE LA CRUZ, RIGOBERTO   ADDRESS ON FILE
BRITO DE LOS SANTOS, AMELIA   ADDRESS ON FILE
BRITO DIAZ, DENNIS V          ADDRESS ON FILE
BRITO DIAZ, JORGE             ADDRESS ON FILE
BRITO FIGUEROA, ABAD          ADDRESS ON FILE
BRITO FLECHA, JOANNE          ADDRESS ON FILE
Brito Fortuna, Gloria E       ADDRESS ON FILE
BRITO GATON, FELIX ANTONIO    ADDRESS ON FILE
BRITO HERNANDEZ, GEOVANI      ADDRESS ON FILE
BRITO HERNANDEZ, JULIA E.     ADDRESS ON FILE
BRITO JEREZ, LUCIANO          ADDRESS ON FILE
BRITO JIMENEZ, MIGUEL A       ADDRESS ON FILE
BRITO LABOY, ADRIANA          ADDRESS ON FILE
BRITO LABOY, ADRIANA          ADDRESS ON FILE
BRITO LABOY, CARLOS           ADDRESS ON FILE
BRITO LABOY, ZORAIDA          ADDRESS ON FILE
BRITO LEBRON, MILDRED         ADDRESS ON FILE
BRITO LEBRON, OVIDIO          ADDRESS ON FILE
BRITO LEON, YAJAIRA           ADDRESS ON FILE
BRITO LOPEZ, EDUARDO          ADDRESS ON FILE
BRITO MALDONADO, LISMARY      ADDRESS ON FILE
BRITO MALDONADO, LISMARY      ADDRESS ON FILE
BRITO MARMOLEJOS, CARLOS      ADDRESS ON FILE
BRITO MARTINEZ, ANGELINA      ADDRESS ON FILE
BRITO MARTINEZ, FELIPE        ADDRESS ON FILE
BRITO MARTINEZ, HIPOLITO      ADDRESS ON FILE
BRITO MARTINEZ, JULIA M.      ADDRESS ON FILE
BRITO MAUNEZ, JACQUELINE      ADDRESS ON FILE
BRITO MEDINA, LIZA K          ADDRESS ON FILE
Brito Medina, Mayra A         ADDRESS ON FILE
BRITO MEDINA, MOISES          ADDRESS ON FILE
BRITO MIRAMBEAU, FRANCISCA    ADDRESS ON FILE
BRITO MIRAMBEAU, FRANCISCA    ADDRESS ON FILE
Brito Morales, Moises         ADDRESS ON FILE
BRITO MORALES, NELIDA         ADDRESS ON FILE
BRITO MORALES, RAFAEL         ADDRESS ON FILE
Brito Morales, Samuel         ADDRESS ON FILE
BRITO MORALES, SARA           ADDRESS ON FILE
BRITO MOTA RAFAEL E           ADDRESS ON FILE
BRITO MOTA, MILDRED A         ADDRESS ON FILE
BRITO NUNEZ, JANNETTE         ADDRESS ON FILE
BRITO ORTIZ, DELIA            ADDRESS ON FILE
BRITO ORTIZ, HAYDEE           ADDRESS ON FILE
Brito Ortiz, Rafael           ADDRESS ON FILE
BRITO ORTIZ, ROSA             ADDRESS ON FILE
BRITO PACHECO, OMARY          ADDRESS ON FILE
BRITO PAREDES, JOSE           ADDRESS ON FILE
BRITO PAREDES, JOSE           ADDRESS ON FILE
BRITO PEGUERO, YUDIT          ADDRESS ON FILE
BRITO PEREZ, YAITZA           ADDRESS ON FILE
BRITO PEREZ, YAITZA E.        ADDRESS ON FILE
BRITO PRESINAL, VICTOR        ADDRESS ON FILE




                                                                          Page 971 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 972 of 3500
                                                                                                       Creditor Matrix

Creditor Name                           Address1                         Address2                                   Address3   Address4   City                State   PostalCode   Country
BRITO RAMIREZ, HUGO                     ADDRESS ON FILE
Brito Ramos, Felipe                     ADDRESS ON FILE
BRITO REYES, EDUARDO                    ADDRESS ON FILE
BRITO REYES, WENDOLIN                   ADDRESS ON FILE
BRITO RIVERA, ELIZABETH                 ADDRESS ON FILE
BRITO RIVERA, MARITZA                   ADDRESS ON FILE
BRITO RODRIGUEZ, ALDO                   ADDRESS ON FILE
Brito Rodriguez, Eduardo                ADDRESS ON FILE
BRITO RODRIGUEZ, RAFAEL                 ADDRESS ON FILE
BRITO RODRIGUEZ, SERGIO                 ADDRESS ON FILE
BRITO RODRIGUEZ, YOLANDA                ADDRESS ON FILE
BRITO ROMAN, MARIA A                    ADDRESS ON FILE
BRITO ROMAN, SARY                       ADDRESS ON FILE
BRITO ROMAN, WILMA                      ADDRESS ON FILE
BRITO RUIZ, LORIAN                      ADDRESS ON FILE
BRITO SANTANA, ANGEL                    ADDRESS ON FILE
BRITO SANTOS, SUZETTE                   ADDRESS ON FILE
BRITO VALENTIN, WANDA                   ADDRESS ON FILE
BRITO VEGA, JAVIER                      ADDRESS ON FILE
Brito Velazquez, Sergio A               ADDRESS ON FILE
BRITO VICENTE, MADELINE                 ADDRESS ON FILE
BRITO VICENTE, MADELINE                 ADDRESS ON FILE
Brito Viera, Miguel                     ADDRESS ON FILE
BRITO VILLA, JOSE L                     ADDRESS ON FILE
BRITO, JAVIER                           ADDRESS ON FILE
BRITO, JULIO                            ADDRESS ON FILE
BRITO, NEFTALI                          ADDRESS ON FILE
BRITOFONTANEZ, EUGENIO                  ADDRESS ON FILE
BRITOS RAMIREZ, LORENA V                ADDRESS ON FILE
BRITT LARREGUI, CARMEN                  ADDRESS ON FILE
BRITT LARREGUI, CARMEN                  ADDRESS ON FILE
BRITTANY CAMPOS GOODRICH                ADDRESS ON FILE
BRITTANY Y CRUZ OCASIO                  ADDRESS ON FILE
BRITTO CARRASQUILLO, NATHALLIES         ADDRESS ON FILE
BRITZADIA MORALES VAZQUEZ               ADDRESS ON FILE
BRIZEIDA TORRES LATORRE                 ADDRESS ON FILE
BRIZEILIE CASTRO MIRANDA                ADDRESS ON FILE
BRIZIA E APONTE ARCE                    ADDRESS ON FILE
BRIZUELA BERNAL, MARIANA                ADDRESS ON FILE
BRIZUELA BERNALM, MARINA                ADDRESS ON FILE
BROADAX SYSTEMS,INC.                    9940 TELESTAR AVE. #4 EL MONTE                                                                                        CA      91731
BROADBAND BUSINESS OF THE CARIBEAN LLC PO BOX 363981                                                                                      SAN JUAN            PR      00936
BROADBAND INFORMATION RESOURCES INC     PO BOX 364194                                                                                     SAN JUAN            PR      00936
BROADBAND TELECOMMUNICATIONS NETWORK239 AVE. ARTERIAL HOSTOS             SUITE 900 CAPITAL CENTER BUILDING                                SAN JUAN            PR      00918‐1400
BROADCAST TOWERS SALES AND SERVICES     PO BOX 8506                                                                                       PONCE               PR      00732
BROADRIDGE CORPORATION ISSVER SOLUTIONS 1717 ARCH STREET STE 1300                                                                         PHILADELPHIA        PA      19103
Broadsmart Global, Inc.                 4 West Las Olas Boulevard 9th                                                                     Fort Lauderdale     FL      33301
Broadsmart Global, Inc.                 PO Drawer 200                                                                                     Winter Park         FL      32790‐0200
BROCCO BIAGGI, EDUARDO                  ADDRESS ON FILE
BROCCO OLIVERA, ANNETE                  ADDRESS ON FILE
BROCHE DE ORO LLC                       P O BOX 3963                                                                                      SAN JUAN            PR      00933
BROCHE FERNANDEZ, EDUARDO               ADDRESS ON FILE
BROCHE OTERO, MARELYS                   ADDRESS ON FILE
BROCKTON NEIGHBORHOOD HEALTH CENTER 157 MAIN ST                                                                                           BROCKTON            MA      02301
BROCO HERNANDEZ MD, DIMAS               ADDRESS ON FILE
BROCO IRIZARRY, DIMARIES                ADDRESS ON FILE
BROCO MIRANDA, ANA B                    ADDRESS ON FILE
BROCO MIRANDA, MYRNA M                  ADDRESS ON FILE
BROCO MORALES, LUIS                     ADDRESS ON FILE
BROCO OLIVERA, ALLY A                   ADDRESS ON FILE




                                                                                                      Page 972 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 973 of 3500
                                                                                                        Creditor Matrix

Creditor Name                            Address1                         Address2                                   Address3   Address4   City                State   PostalCode   Country
BROCO OLIVERAS, JOSE E.                  ADDRESS ON FILE
BROCO ROMAN, LUIS                        ADDRESS ON FILE
BROCO SAEZ, LILLIAN                      ADDRESS ON FILE
BRODER PRODUCTIONS/4 SHORE PRODUCTIONS 1400 LINCOLN ROAD 204                                                                               MIAMI BEACH         PR      33139
BRODERICK J CASTILLO NIEVES              ADDRESS ON FILE
BRODERSEN ENTERPRISES OF PR INC          SAINT JUST STATION               PO BOX 906                                                       CAROLINA            PR      00978‐0906
BROEMMER, HECTOR                         ADDRESS ON FILE
BROEMSER CESINO, GERMAN G.               ADDRESS ON FILE
BROIDA FONTANEZ, IVAN                    ADDRESS ON FILE
BRONDO MOLINA, JULIA J                   ADDRESS ON FILE
BRONX LEBANON HOSPITAL                   PO BOX 409822                                                                                     ATLANTA             GA      30384‐9822
BRONX LEBANON HOSPITAL CENTER            PO BOX 61507                                                                                      KING OF PRUSSIA     PA      19406
BRONX MUNICIPAL HOSPITAL CENTER          226 AIRPORT PARKWAY SUITE 200                                                                     SAN JOSE            CA      95110
BROOKDALE UNIVERSITY HOSPITAL AND MEDICA PO BOX 19072                                                                                      GREEN BAY           WI      54307‐9072
BROOKES MEBBE, MARCIA                    ADDRESS ON FILE
BROOKHAVEN MEMORIAL HOSPITAL MED CENTE101 HOSPITAL RD                                                                                      PATCHOUGUE          NY      11772
BROOKLYN FAMILY MEDICAL                  6880 SCHERMERHORN ST                                                                              BROOKLYN            NY      11201
BROOKS GUZMAN, JOLIEANN                  ADDRESS ON FILE
BROOKS LEASON ND                         CENTRO NATUROPATICO ATABEY       1270 AVE JESUS T PIÑERO                                          SAN JUAN            PR      00921
BROOKS MD, FRANCIS                       ADDRESS ON FILE
BROOKS MD, LESLIE                        ADDRESS ON FILE
BROOKS MEMORIAL HOSP PRIMARY HEALTH CAR51 E THIRD ST                                                                                       DURKIRK             NY      14048
BROOKS REHABILITATION CENTER             3599 UNIVERSITY BLVD SOUTH                                                                        JACKSONVILLE        FL      32216
BROOKSIDE FAMILY PRAC PED                1555 MEDICAL DR                                                                                   POTTSTOWN           PA      19464
BROOKSTONE                               525 FD ROOSEVELT AVENUE                                                                           SAN JUAN            PR      00918
BROOKSTONE                               525 ROOSEVELT AVE LOCAL 30D                                                                       SAN JUAN            PR      00918
BROTHER VENDING CO INC                   LOMAS VERDES                     3V17 CALLE JABILLO                                               BAYAMON             PR      00956‐3345
BROTHER KID THERAPEUTIC CENTER           ROYAL TOWN                       7‐8 CALLE 50 A FINAL                                             BAYAMON             PR      00956
BROTHERS & SONS SECURITY SERVICE         PO BOX 561693                                                                                     GUAYANILLA          PR      00656
BROTHERS FURNITURE DISCOUNT              VILLA CAROLINA 30‐1B CALLE 8                                                                      CAROLINA            PR      00985
BROTHERS PRINTING                        CARR 107 KM 3.3                                                                                   AGUADILLA           PR      00603
BROTHERS PRINTING INC                    222 RUTA 475                                                                                      ISABELA             PR      00662
BROTHERS VENDING CORP                    3RA SECC LOMAS VERDES            17 CALLE JAVILLO 3 V                                             BAYAMON             PR      00956
BROTHERS VERTICAL BLINDS                 URB MONTE CLARO                  MM 1 PLAZA 26                                                    BAYAMON             PR      00961
BROTONS DAVILA, MONICA                   ADDRESS ON FILE
BROUNDS, ROBERTO                         ADDRESS ON FILE
BROWARD HEALTH CORAL SPRINGS MEDICAL CENPO BOX 19072                                                                                       GREEN BAY           WI      54307‐9072
BROWN & BROWN OF ILLINOIS INC            655 NORTH FRANKLIN ST STE 1900                                                                    TAMPA               FL      33602
BROWN ACEVEDO, CARLOS                    ADDRESS ON FILE
BROWN ACEVEDO, CARLOS                    ADDRESS ON FILE
BROWN ACEVEDO, ELANE A                   ADDRESS ON FILE
BROWN ACEVEDO, JACQUELINE                ADDRESS ON FILE
BROWN CADOGAN, GREGORIO                  ADDRESS ON FILE
BROWN CALDERON, ROBERTO                  ADDRESS ON FILE
BROWN CALDERON, VILMA                    ADDRESS ON FILE
BROWN CALDERON, VILMA                    ADDRESS ON FILE
BROWN CASTRO, NATANAEL                   ADDRESS ON FILE
BROWN COMMUNICATIONS INC                 SAN PATRICIO CHALETS             J11 AVE SAN PATRICIO APT 5                                       GUAYNABO            PR      00968‐4455
BROWN COUNTY MENTAL HEALTH CENTER        3150 GERSHWIN DR                                                                                  GREEN BAY           WI      54311‐4328
BROWN ERECHANI, PAUL                     ADDRESS ON FILE
BROWN HERTFELDER, ANDERSON               ADDRESS ON FILE
BROWN KELLEY, ROBERT                     ADDRESS ON FILE
BROWN LOVE, STUART                       ADDRESS ON FILE
BROWN MD , DAVID B                       ADDRESS ON FILE
BROWN MD , JASON W                       ADDRESS ON FILE
BROWN MICHELENA, EDWARD                  ADDRESS ON FILE
BROWN OQUENDO, GLADDE                    ADDRESS ON FILE
BROWN OQUENDO, GLANY                     ADDRESS ON FILE
BROWN OQUENDO, PEDRO                     ADDRESS ON FILE
BROWN ORTIZ, CLARA                       ADDRESS ON FILE




                                                                                                       Page 973 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor
                                                                       Case No.Matrix
                                                                               17 BK 3283‐LTSPage 974 of 3500
                                                                              Creditor Matrix

Creditor Name                    Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BROWN PARRILLA, ISELA            ADDRESS ON FILE
BROWN RAMIREZ, CARMEN B          ADDRESS ON FILE
BROWN REYES, ILDELIZA            ADDRESS ON FILE
BROWN RIVERA, BRENDA I           ADDRESS ON FILE
BROWN RIVERA, NANCY              ADDRESS ON FILE
BROWN RODNEY, ESTHER             ADDRESS ON FILE
BROWN ROHENA, CARLOS             ADDRESS ON FILE
BROWN ROSARIO, JORGE L.          ADDRESS ON FILE
BROWN SAENZ, DANIEL              ADDRESS ON FILE
BROWN SAENZ, DANIEL              ADDRESS ON FILE
Brown Santiago, Yahaira E        ADDRESS ON FILE
BROWN TORRES, AMARILYS           ADDRESS ON FILE
BROWN TORRES, ERWIN              ADDRESS ON FILE
BROWN TORRES, GLORIA             ADDRESS ON FILE
BROWN TORRES, SUSANLY            ADDRESS ON FILE
BROWN TORRES, VICENTE G          ADDRESS ON FILE
BROWN VIGO, ELAINE               ADDRESS ON FILE
BROWN, GUILLERMO                 ADDRESS ON FILE
BROWN, PATRICK                   ADDRESS ON FILE
BROWNE CRESPO, CARMEN            ADDRESS ON FILE
BROWNE RECHANI, PAUL             ADDRESS ON FILE
BROWNING FERRIS BFI OF PONCE     PO BOX 51986                                                                     TOA BAJA     PR      00950
BROWNING FERRIS BFI OF PONCE     PO BOX 7104                                                                      PONCE        PR      00732
BROWNLEE, DWIGHT C               ADDRESS ON FILE
BRUCE HATHAWAY                   ADDRESS ON FILE
BRUCE J GRUHLER                  ADDRESS ON FILE
BRUCE LEON NG                    ADDRESS ON FILE
BRUCE N VANDERELS                ADDRESS ON FILE
BRUCE PANIAGUA ESQUERDO          ADDRESS ON FILE
BRUCELAS VAZQUEZ, JUAN           ADDRESS ON FILE
BRUCELES DELGADO, EUFEMIA        ADDRESS ON FILE
BRUCELES FLORES, FELIX           ADDRESS ON FILE
BRUCKMAN SAN MIGUEL, MADELEINE   ADDRESS ON FILE
BRUCKMAN SAN MIGUEL, WALTER      ADDRESS ON FILE
BRUFAU QUINTANA, TERESA M        ADDRESS ON FILE
BRUGAL MENA, FRANCISCO           ADDRESS ON FILE
BRUGERAS FABRE, ALBA             ADDRESS ON FILE
BRUGMAN MERCADO, ANA A           ADDRESS ON FILE
BRUGMAN MERCADO, EMILY           ADDRESS ON FILE
BRUGMAN SANCHEZ, CYDMARIE        ADDRESS ON FILE
BRUGMAN SANTIAGO, MYRNA          ADDRESS ON FILE
Brugman Torres, Robert L.        ADDRESS ON FILE
BRUGUERAS ARROYO, MARIA DEL S    ADDRESS ON FILE
BRUGUERAS COLON MD, NYDIA        ADDRESS ON FILE
BRUGUERAS FERNANDEZ, PEDRO       ADDRESS ON FILE
BRUGUERAS FERNANDEZ, PEDRO J.    ADDRESS ON FILE
BRUGUERAS MALAVE, PRISCILA       ADDRESS ON FILE
BRUGUERAS MALAVE, PRISCILA       ADDRESS ON FILE
BRUGUERAS RODRIGUEZ, VIVIAN      ADDRESS ON FILE
BRULL DIAZ, MICHELLE             ADDRESS ON FILE
BRULL GONZALEZ, YAMIL            ADDRESS ON FILE
BRULL GONZALEZ, YAMIL            ADDRESS ON FILE
BRULL GONZALEZ, YANIRA M         ADDRESS ON FILE
BRULL IRIZARRY, CARMEN M         ADDRESS ON FILE
BRULL IRIZARRY, LIZETTE N        ADDRESS ON FILE
BRULL IRIZARRY, PEDRO O          ADDRESS ON FILE
BRULL MUNOZ, ILEANA              ADDRESS ON FILE
BRUN MALDONADO, CONNIE           ADDRESS ON FILE
BRUNA DEL C MATOS PAGAN          ADDRESS ON FILE
BRUNELL DEL VALLE, LISANDRA      ADDRESS ON FILE




                                                                             Page 974 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 975 of 3500
                                                                                          Creditor Matrix

Creditor Name                          Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
BRUNELLE BOUDREAU, MICHAEL             ADDRESS ON FILE
BRUNELLE CURET, CATHERINE MARIE        ADDRESS ON FILE
BRUNET CARDONA MD, VIRGILIO            ADDRESS ON FILE
BRUNET DE HIDALGO, LAURA               ADDRESS ON FILE
BRUNET GONZALEZ, NELIDA                ADDRESS ON FILE
BRUNET NAVARRO, VANESSA                ADDRESS ON FILE
BRUNET OCASIO, EDNA I                  ADDRESS ON FILE
BRUNET QUINTANA, CARLOS                ADDRESS ON FILE
BRUNET RODRIGUEZ, HECTOR               ADDRESS ON FILE
BRUNET RODRIGUEZ, ILDAMARYS            ADDRESS ON FILE
BRUNET RODRIGUEZ, VIRGILIO             ADDRESS ON FILE
BRUNET ROMERO, MARILIA J               ADDRESS ON FILE
BRUNET SANCHEZ, LUIS                   ADDRESS ON FILE
BRUNET URIARTE, ANA                    ADDRESS ON FILE
BRUNET VALENTIN, DOLORES               ADDRESS ON FILE
BRUNHILDA G DIAZ DIAZ                  ADDRESS ON FILE
BRUNI TRAVEL AGENCY                    VILLA FONTANA             RL6 VIA 21                                                  CAROLINA     PR      00983
BRUNI TRAVEL AGENCY INC                VILLA FONTANA             BL 6 AVE FIDALGO DIAZ                                       CAROLINA     PR      000983
BRUNILDA A. ALTIERI MERCADO            ADDRESS ON FILE
BRUNILDA ADORNO MONTANEZ               ADDRESS ON FILE
BRUNILDA ALAMO DE JESUS                ADDRESS ON FILE
BRUNILDA ARCE TORRES                   ADDRESS ON FILE
BRUNILDA AROCHO NIEVES                 ADDRESS ON FILE
BRUNILDA ARROYO MERCADO                ADDRESS ON FILE
BRUNILDA AYALA VELAZQUEZ               ADDRESS ON FILE
BRUNILDA BAERGA COLLAZO                ADDRESS ON FILE
BRUNILDA BARDEGUEZ ROMAN               ADDRESS ON FILE
BRUNILDA BARRETO CABRERA               ADDRESS ON FILE
BRUNILDA BONILLA CASTILLO              ADDRESS ON FILE
BRUNILDA BORRERO TORRES                ADDRESS ON FILE
BRUNILDA CAJIGAS FRANQUIZ              ADDRESS ON FILE
Brunilda Carrasquillo Osorio           ADDRESS ON FILE
BRUNILDA CONCEPCION CORTES             ADDRESS ON FILE
BRUNILDA CORTES SANTIAGO               ADDRESS ON FILE
BRUNILDA CRUZ COLON                    ADDRESS ON FILE
BRUNILDA CRUZ FIGUEROA                 ADDRESS ON FILE
BRUNILDA CUEVAS RAMIREZ                ADDRESS ON FILE
BRUNILDA DE JESUS                      ADDRESS ON FILE
BRUNILDA DOMENECH MARTINEZ             ADDRESS ON FILE
BRUNILDA ESCOBAR TORRES                ADDRESS ON FILE
BRUNILDA GARCIA RIVERA                 ADDRESS ON FILE
BRUNILDA GONZALEZ TRAVERZO             ADDRESS ON FILE
BRUNILDA GUZMAN JORGE                  ADDRESS ON FILE
BRUNILDA GUZMAN SERRANO                ADDRESS ON FILE
BRUNILDA GUZMAN VELEZ                  ADDRESS ON FILE
BRUNILDA LOPEZ GONZALEZ                ADDRESS ON FILE
BRUNILDA LORENZO LOPEZ                 ADDRESS ON FILE
BRUNILDA MARTINEZ OLMEDO               ADDRESS ON FILE
BRUNILDA MENDEZ ROJAS                  ADDRESS ON FILE
BRUNILDA MOLINA MOLINA                 ADDRESS ON FILE
BRUNILDA MORALES LEBRON                ADDRESS ON FILE
BRUNILDA MORALES MIRANDA               ADDRESS ON FILE
BRUNILDA MORALES Y/O ANTONIO MORALES   ADDRESS ON FILE
BRUNILDA MUNIZ SALDIVIA                ADDRESS ON FILE
BRUNILDA MUNOZ BORRERO                 ADDRESS ON FILE
BRUNILDA N GOMEZ BUENO                 ADDRESS ON FILE
BRUNILDA NARVAEZ MELENDEZ              ADDRESS ON FILE
BRUNILDA NEGRON SOTO                   ADDRESS ON FILE
BRUNILDA OCASIO AGOSTO                 ADDRESS ON FILE
BRUNILDA OCASIO MARTINEZ               ADDRESS ON FILE




                                                                                         Page 975 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor
                                                                              Case No.Matrix
                                                                                      17 BK 3283‐LTSPage 976 of 3500
                                                                                     Creditor Matrix

Creditor Name                           Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BRUNILDA ORTIZ RIVERA                   ADDRESS ON FILE
BRUNILDA PAGAN NARVAEZ                  ADDRESS ON FILE
BRUNILDA PEREZ TORRES                   ADDRESS ON FILE
BRUNILDA PLAZA GONZALEZ                 ADDRESS ON FILE
BRUNILDA RAMOS ORTIZ                    ADDRESS ON FILE
BRUNILDA RIVERA ALVARADO                ADDRESS ON FILE
BRUNILDA ROBLES GONZALEZ                ADDRESS ON FILE
BRUNILDA RODRIGUEZ CANCEL               ADDRESS ON FILE
BRUNILDA RODRIGUEZ COUVERTIER           ADDRESS ON FILE
BRUNILDA ROJAS IRIZARRY                 ADDRESS ON FILE
BRUNILDA ROMAN RUIZ                     ADDRESS ON FILE
BRUNILDA SALICRUP SANTAELLA             ADDRESS ON FILE
BRUNILDA SANABRIA GARCIA                ADDRESS ON FILE
BRUNILDA SANCHEZ / CONCEPCION SANCHEZ   ADDRESS ON FILE
BRUNILDA SANCHEZ CRUZ                   ADDRESS ON FILE
BRUNILDA SANTANA ROSADO                 ADDRESS ON FILE
BRUNILDA SANTIAGO JIMENEZ               ADDRESS ON FILE
BRUNILDA SANTIAGO SOTO                  ADDRESS ON FILE
BRUNILDA SUAREZ SANTANA                 ADDRESS ON FILE
BRUNILDA TORRES                         ADDRESS ON FILE
BRUNILDA TORRES LOPEZ                   ADDRESS ON FILE
BRUNILDA VALENTIN CRUZ                  ADDRESS ON FILE
BRUNILDA VAZQUEZ BONILLA                ADDRESS ON FILE
BRUNILDA VAZQUEZ LOZADA                 ADDRESS ON FILE
BRUNILDA VAZQUEZ LOZADA                 ADDRESS ON FILE
BRUNILDA VIERA MARCANO                  ADDRESS ON FILE
BRUNIMARIE GONZALEZ GARCIA              ADDRESS ON FILE
BRUNO A RAMOS OLIVERA                   ADDRESS ON FILE
BRUNO A SANTIAGO RODRIGUEZ              ADDRESS ON FILE
BRUNO ADORNO, MARIA DE LOS              ADDRESS ON FILE
BRUNO ALAMO, NANCY                      ADDRESS ON FILE
BRUNO ALGARIN, JENNIFER                 ADDRESS ON FILE
Bruno Alicea, Omaira                    ADDRESS ON FILE
BRUNO ALVAREZ, JORGE                    ADDRESS ON FILE
BRUNO ALVAREZ, NEREIDA                  ADDRESS ON FILE
BRUNO ANDUJAR, RAFAEL                   ADDRESS ON FILE
BRUNO ANDUJAR, RAFAEL                   ADDRESS ON FILE
BRUNO APONTE, NORMARYS                  ADDRESS ON FILE
BRUNO BAEZ, ZORAIDA                     ADDRESS ON FILE
BRUNO BATISTA, VICTOR                   ADDRESS ON FILE
BRUNO BELARDO, MYRIAM                   ADDRESS ON FILE
BRUNO BERMUDEZ, JANICE                  ADDRESS ON FILE
BRUNO BERMUDEZ, JANICE                  ADDRESS ON FILE
BRUNO BERMUDEZ, JANICE                  ADDRESS ON FILE
BRUNO BONILLA, HECTOR                   ADDRESS ON FILE
Bruno Bonilla, Hector O                 ADDRESS ON FILE
BRUNO BRETO, PAULA                      ADDRESS ON FILE
BRUNO BRUNO, JOSEAN                     ADDRESS ON FILE
BRUNO CABRERA, CARMEN G                 ADDRESS ON FILE
BRUNO CABRERA, SIXTA M.                 ADDRESS ON FILE
BRUNO CALENDA ABBAGNANO                 ADDRESS ON FILE
BRUNO CAMERON, JEANMARIE                ADDRESS ON FILE
BRUNO CANALES, ANGEL                    ADDRESS ON FILE
BRUNO CANCEL, ANA                       ADDRESS ON FILE
BRUNO CARABALLO, JOAN                   ADDRESS ON FILE
Bruno Carrion, Francisco J              ADDRESS ON FILE
BRUNO CARRION, VICTOR M                 ADDRESS ON FILE
BRUNO CARTAGENA, JESSENIA               ADDRESS ON FILE
BRUNO CASTRO, FRANCIS                   ADDRESS ON FILE
BRUNO CEPEDA, JOSE                      ADDRESS ON FILE




                                                                                    Page 976 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 977 of 3500
                                                                                           Creditor Matrix

Creditor Name                 Address1                         Address2                                 Address3   Address4   City         State   PostalCode   Country
BRUNO CINTRON, WILMA          ADDRESS ON FILE
BRUNO COLLAZO, MYRNA L        ADDRESS ON FILE
BRUNO COLON, WILLIAM          ADDRESS ON FILE
BRUNO COLON, WILMARY          ADDRESS ON FILE
BRUNO CONCEPCION, SANTOS      ADDRESS ON FILE
BRUNO CORIANO, LAURA          ADDRESS ON FILE
BRUNO CORSINO, JENNIFER       ADDRESS ON FILE
BRUNO CORTES, OMAYRA          ADDRESS ON FILE
BRUNO COSME, BIANCA           ADDRESS ON FILE
BRUNO COSTALES, JENNIFER      ADDRESS ON FILE
BRUNO CRESPO, ALEJANDRO       ADDRESS ON FILE
BRUNO DE CANDELARIA, MIRTA    ADDRESS ON FILE
BRUNO DE CORRAL, CECILIA      ADDRESS ON FILE
BRUNO DE LEON, JUAN           ADDRESS ON FILE
BRUNO DE PALOMINO, LUZ        ADDRESS ON FILE
BRUNO DE ROMAN, ESTHER        ADDRESS ON FILE
BRUNO DELGADO, ISRAEL A       ADDRESS ON FILE
BRUNO DIAZ, ANTONIO           ADDRESS ON FILE
BRUNO DIAZ, JULIO             ADDRESS ON FILE
Bruno Duarte, Jorge L         ADDRESS ON FILE
BRUNO DUENO SOTO              ADDRESS ON FILE
Bruno Feliciano, Andres       ADDRESS ON FILE
BRUNO FELICIANO, ANDRES       ADDRESS ON FILE
BRUNO FIGUEROA, LUIS          ADDRESS ON FILE
BRUNO FIGUEROA, ROSANA        ADDRESS ON FILE
BRUNO FLORES, ANTHONY         ADDRESS ON FILE
BRUNO FRANCO, CRUZ M.         ADDRESS ON FILE
BRUNO GARCIA, EDMARIE         ADDRESS ON FILE
BRUNO GOMEZ, BETSABE          ADDRESS ON FILE
BRUNO GOMEZ, JOSIAN           ADDRESS ON FILE
BRUNO GONZALEZ, JUAN          ADDRESS ON FILE
BRUNO GONZALEZ, LISANDRA      ADDRESS ON FILE
BRUNO GONZALEZ, LUIS          ADDRESS ON FILE
Bruno Gonzalez, Luis A.       ADDRESS ON FILE
BRUNO GONZALEZ, RAQUEL        ADDRESS ON FILE
BRUNO GONZALEZ, SONIA M       ADDRESS ON FILE
BRUNO GONZALEZ, YARILYS       ADDRESS ON FILE
BRUNO GONZALEZ, ZERYMAR       ADDRESS ON FILE
BRUNO GUTIERREZ, RICARDO      ADDRESS ON FILE
BRUNO GUZMAN, MANUEL          ADDRESS ON FILE
BRUNO HARING ASSOCIATES INC   1ST METRO OFFICE EDIF 3 STE350                                                                  GUAYNABO     PR      00968
BRUNO HARING & ASSOCIATES     1ST STREET METRO OFFICE PARK     METRO OFFICE 3 SUITE 408                                       GUAYNABO     PR      00968
BRUNO HERNANDEZ, DIMPNA       ADDRESS ON FILE
BRUNO HERNANDEZ, MARISOL      ADDRESS ON FILE
BRUNO HERNANDEZ, MARISOL      ADDRESS ON FILE
BRUNO ITURRINO, MELISSA E     ADDRESS ON FILE
BRUNO J LEBRON ENCARNACION    ADDRESS ON FILE
BRUNO JOSE LOPEZ CRUZ         ADDRESS ON FILE
Bruno Kuilan, William H       ADDRESS ON FILE
Bruno Kuilan, William J.      ADDRESS ON FILE
BRUNO LABOY, HECTOR           ADDRESS ON FILE
Bruno Laboy, Hector L         ADDRESS ON FILE
BRUNO LABOY, JUAN C           ADDRESS ON FILE
BRUNO LOPEZ, MARIO            ADDRESS ON FILE
BRUNO LOPEZ, ROBERT           ADDRESS ON FILE
BRUNO M. MARRERO              ADDRESS ON FILE
BRUNO MAISONET, ORLANDO       ADDRESS ON FILE
BRUNO MALDONADO, ANGEL        ADDRESS ON FILE
BRUNO MARRERO, OCTAVIO        ADDRESS ON FILE
BRUNO MARRERO, TATIANA        ADDRESS ON FILE




                                                                                          Page 977 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor
                                                                           Case No.Matrix
                                                                                   17 BK 3283‐LTSPage 978 of 3500
                                                                                  Creditor Matrix

Creditor Name                        Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BRUNO MARTINEZ, CHRISTIAN            ADDRESS ON FILE
Bruno Martinez, Juan R               ADDRESS ON FILE
BRUNO MARTINEZ, LAURA I.             ADDRESS ON FILE
BRUNO MARTINEZ, LAURA I.             ADDRESS ON FILE
BRUNO MATOS, CARLOS                  ADDRESS ON FILE
BRUNO MD, RAYMOND                    ADDRESS ON FILE
BRUNO MELENDEZ, JEANNETTE            ADDRESS ON FILE
BRUNO MELENDEZ, JULIO                ADDRESS ON FILE
BRUNO NAVARRO, ISACCHAMIL            ADDRESS ON FILE
BRUNO NEGRON, LYDIA                  ADDRESS ON FILE
BRUNO NEGRON, YESENIA                ADDRESS ON FILE
BRUNO NIEVES, JAMILA                 ADDRESS ON FILE
BRUNO OQUENDO, ROLANDO               ADDRESS ON FILE
BRUNO ORELLANO, FRANCISCO            ADDRESS ON FILE
BRUNO ORTEGA, NELSON                 ADDRESS ON FILE
BRUNO ORTIZ, JANNETTE                ADDRESS ON FILE
BRUNO ORTIZ, LEVID                   ADDRESS ON FILE
BRUNO ORTIZ, REINALDO                ADDRESS ON FILE
BRUNO OTERO, IVETTE                  ADDRESS ON FILE
BRUNO PABON, ANA M                   ADDRESS ON FILE
Bruno Pabon, Carmen E                ADDRESS ON FILE
BRUNO PABON, CARMEN E.               ADDRESS ON FILE
BRUNO PACHO, JOSE E.                 ADDRESS ON FILE
BRUNO PADILLA MD, MARGARITA          ADDRESS ON FILE
BRUNO PAGAN, MARISOL                 ADDRESS ON FILE
BRUNO PAGAN, SONIA N                 ADDRESS ON FILE
BRUNO PASTRANA, ANGEL                ADDRESS ON FILE
BRUNO PASTRANA, ANGEL L.             ADDRESS ON FILE
BRUNO PENA, LISETTE                  ADDRESS ON FILE
BRUNO PEREZ, ISRAEL                  ADDRESS ON FILE
BRUNO PEREZ, LIRDORIAN               ADDRESS ON FILE
BRUNO PEREZ, MARY L                  ADDRESS ON FILE
BRUNO PEREZ, OMAYRA                  ADDRESS ON FILE
BRUNO QUINONES, MARIVETTE            ADDRESS ON FILE
BRUNO QUINONES, WILLIAM              ADDRESS ON FILE
BRUNO QUINTERO, CARMEN D             ADDRESS ON FILE
BRUNO QUIROZ, EMMA EMIL              ADDRESS ON FILE
BRUNO RAMIREZ DE ARELLANO, FENANDO   ADDRESS ON FILE
BRUNO RAMOS, ZULMA                   ADDRESS ON FILE
BRUNO RESTO, DIANA                   ADDRESS ON FILE
BRUNO REYES, IVELISSE                ADDRESS ON FILE
BRUNO REYES, TOMASA                  ADDRESS ON FILE
BRUNO RIJOS, CHERRY                  ADDRESS ON FILE
BRUNO RIVERA, ADALBERTO              ADDRESS ON FILE
BRUNO RIVERA, ANNHERIS               ADDRESS ON FILE
BRUNO RIVERA, ANNHERIS G.            ADDRESS ON FILE
BRUNO RIVERA, BENJAMIN               ADDRESS ON FILE
BRUNO RIVERA, FRANCISCO              ADDRESS ON FILE
BRUNO RIVERA, NIMARIS G              ADDRESS ON FILE
BRUNO RIVERA, SANDRA                 ADDRESS ON FILE
BRUNO RODRIGUEZ, ANGEL               ADDRESS ON FILE
BRUNO RODRIGUEZ, AUREA               ADDRESS ON FILE
BRUNO RODRIGUEZ, BENJAMIN            ADDRESS ON FILE
BRUNO RODRIGUEZ, BRENDA              ADDRESS ON FILE
Bruno Rodriguez, Carlos              ADDRESS ON FILE
BRUNO RODRIGUEZ, CARLOS              ADDRESS ON FILE
Bruno Rodriguez, Eva M               ADDRESS ON FILE
BRUNO RODRIGUEZ, JUAN                ADDRESS ON FILE
Bruno Rodriguez, Luis                ADDRESS ON FILE
BRUNO ROLDAN, OLGA                   ADDRESS ON FILE




                                                                                 Page 978 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 979 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City           State   PostalCode   Country
Bruno Roman, Henry              ADDRESS ON FILE
BRUNO ROMAN, HENRY              ADDRESS ON FILE
BRUNO ROMAN, JESUS              ADDRESS ON FILE
BRUNO ROQUE, JUAN C             ADDRESS ON FILE
BRUNO ROSA, ISMAEL              ADDRESS ON FILE
BRUNO ROSADO, HECTOR            ADDRESS ON FILE
BRUNO SALGADO, JULIO            ADDRESS ON FILE
BRUNO SALGADO, JULIO A.         ADDRESS ON FILE
BRUNO SANCHEZ, ANGEL            ADDRESS ON FILE
BRUNO SANCHEZ, CARLA M          ADDRESS ON FILE
BRUNO SANCHEZ, CARMEN I.        ADDRESS ON FILE
BRUNO SANCHEZ, MELANIE          ADDRESS ON FILE
BRUNO SANCHEZ, SUHEILIE M       ADDRESS ON FILE
BRUNO SANTANA, HECTOR R.        ADDRESS ON FILE
BRUNO SANTIAGO, YADIRA          ADDRESS ON FILE
BRUNO SANTIAGO, YADIRA          ADDRESS ON FILE
BRUNO SASTRE, HORACIO A.        ADDRESS ON FILE
BRUNO SIERRA, EDILBERTO         ADDRESS ON FILE
BRUNO SIERRA, EDILBERTO         ADDRESS ON FILE
BRUNO SIERRA, ERNESTO           ADDRESS ON FILE
BRUNO SILVA, LILEANA            ADDRESS ON FILE
BRUNO SILVA, SONIA M.           ADDRESS ON FILE
BRUNO SILVA, SONIA M.           ADDRESS ON FILE
BRUNO SILVA, VICTOR             ADDRESS ON FILE
BRUNO SOTO, JAVISH MANUEL       ADDRESS ON FILE
BRUNO SOTO, PEDRO               ADDRESS ON FILE
BRUNO TORRES, JAVIER            ADDRESS ON FILE
Bruno Torres, Javier F          ADDRESS ON FILE
BRUNO TORRES, VERONICA          ADDRESS ON FILE
BRUNO TORRES,JONATHAN           ADDRESS ON FILE
BRUNO TOSADO, IVETTE D          ADDRESS ON FILE
BRUNO TOSADO, LOURDES           ADDRESS ON FILE
Bruno Vale, Alberto             ADDRESS ON FILE
BRUNO VEGA, INES                ADDRESS ON FILE
BRUNO VEGA, MAGALY              ADDRESS ON FILE
BRUNO VEGA, MAGALY              ADDRESS ON FILE
BRUNO VELEZ, ROLANDO            ADDRESS ON FILE
Bruno Velez, Sergio L           ADDRESS ON FILE
BRUNO, CANDELY                  ADDRESS ON FILE
BRUNO,JOHN                      ADDRESS ON FILE
BRUNOFSKY, JUSTIN               ADDRESS ON FILE
BRUNOMELENDEZ, WILLIAM          ADDRESS ON FILE
BRUNOT PERICLES, ANDY           ADDRESS ON FILE
BRUSELAS VAZQUEZ, CARMEN R.     ADDRESS ON FILE
BRUSELES DELGADO, ELADIA        ADDRESS ON FILE
BRUSELES FUENTES, HECTOR        ADDRESS ON FILE
BRUSELES GONZALEZ, PEDRO        ADDRESS ON FILE
BRUSSEAU BARBOSA, LUZ CELESTE   ADDRESS ON FILE
BRUSSEAU BARBOSA, ROSALINE      ADDRESS ON FILE
BRUSSEAU MORALES, LUZ DEL C     ADDRESS ON FILE
BRUSTEIN & MANSAVIT             3105 SOUTH SREET N W                                                             WASHINGTON     DC      20007
BRUWNI A MARTINEZ ABREU         ADDRESS ON FILE
BRUYNSEELS, LEVI                ADDRESS ON FILE
BRYAM CUESTA PAGAN              ADDRESS ON FILE
BRYAN A ACOSTA RODRIGUEZ        ADDRESS ON FILE
BRYAN A DIAZ ROBLES             ADDRESS ON FILE
BRYAN A MIRANDA BERRIOS         ADDRESS ON FILE
BRYAN A. CUESTA PAGAN           ADDRESS ON FILE
BRYAN ALDEA MERCADO             ADDRESS ON FILE
BRYAN ALGARIN ROSA              ADDRESS ON FILE




                                                                            Page 979 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 980 of 3500
                                                                                                              Creditor Matrix

Creditor Name                              Address1                           Address2                                     Address3   Address4   City        State   PostalCode   Country
BRYAN AROCHO RUBERT                        ADDRESS ON FILE
BRYAN ARROYO ORTEGA                        ADDRESS ON FILE
BRYAN AYALA PEREZ                          ADDRESS ON FILE
BRYAN BAEZ MILLAN                          ADDRESS ON FILE
BRYAN BERNARD VILLEGAS                     ADDRESS ON FILE
BRYAN BERRIOS VARGAS                       ADDRESS ON FILE
BRYAN CACERES MORALES                      ADDRESS ON FILE
BRYAN CARABALLO NIEVES                     ADDRESS ON FILE
BRYAN CARMONA GONZALEZ                     ADDRESS ON FILE
BRYAN CASTILLO RIVERA                      ADDRESS ON FILE
BRYAN CLEMENTE DELGADO                     ADDRESS ON FILE
BRYAN COLON MARENGO                        ADDRESS ON FILE
BRYAN COVAS VILLEGAS                       ADDRESS ON FILE
BRYAN CRUZ RODRIGUEZ                       LCDO. RICARDO PRIETO GARCIA        6 CALLE CELIS AGUILERA SUITE 201‐A                                 FAJARDO     PR      00738
BRYAN D OCASIO RODRIGUEZ                   ADDRESS ON FILE
BRYAN D RODRIGUEZ MORENO                   ADDRESS ON FILE
BRYAN D SIERRA CRUZ                        ADDRESS ON FILE
BRYAN D VICENTY TORRES                     ADDRESS ON FILE
BRYAN DUQUE BUTLER                         ADDRESS ON FILE
BRYAN E VALENTIN PAGAN                     ADDRESS ON FILE
BRYAN F ROSADO PEREZ                       ADDRESS ON FILE
BRYAN FELICIANO ADAMES                     ADDRESS ON FILE
BRYAN FONTANEZ FEBRES                      ADDRESS ON FILE
BRYAN G RIVERA PEREZ                       ADDRESS ON FILE
BRYAN GONZALEZ DE JESUS                    ADDRESS ON FILE
BRYAN GONZALEZ TORRES                      ADDRESS ON FILE
BRYAN GUIVAS DURAN                         ADDRESS ON FILE
BRYAN HENRIQUEZ VAZQUEZ                    ADDRESS ON FILE
BRYAN HERNANDEZ AGUILA                     ADDRESS ON FILE
BRYAN HERNANDEZ ROSARIO                    ADDRESS ON FILE
BRYAN HERNANDEZ VAZQUEZ                    ADDRESS ON FILE
BRYAN I GONZALEZ CORTES                    ADDRESS ON FILE
BRYAN J CALDERIN BARRETO                   ADDRESS ON FILE
BRYAN J CRUZ QUINTANA                      ADDRESS ON FILE
BRYAN J DE HOYOS MEJIAS                    ADDRESS ON FILE
BRYAN J MORALES QUILES/ ELIZABETH QUILES   ADDRESS ON FILE
BRYAN J ORTIZ OCASIO                       ADDRESS ON FILE
BRYAN J PATRON ALCOVER                     ADDRESS ON FILE
BRYAN J RIVERA COLON                       ADDRESS ON FILE
BRYAN J RODRIGUEZ RIVERA/ MARIA I RIVERA   ADDRESS ON FILE
BRYAN J ROSARIO CLASS                      ADDRESS ON FILE
BRYAN JIMENEZ HERNANDEZ                    ADDRESS ON FILE
BRYAN JORDANIS ORTIZ CRUZ                  LCDO. HECTOR ANOBAL CASTRO PEREZ   APARTADO 227                                                       YABUCOA     PR      00767
BRYAN JOSUE ESQUILIN FIGUEROA              ADDRESS ON FILE
BRYAN L PAGAN RIVERA                       ADDRESS ON FILE
BRYAN L. PAGAN RIVERA                      ADDRESS ON FILE
BRYAN LLANERA RODRIGUEZ                    ADDRESS ON FILE
BRYAN LOPEZ BAEZ                           ADDRESS ON FILE
BRYAN LOZADA RIVERA                        ADDRESS ON FILE
BRYAN M MARTINEZ MORALES                   ADDRESS ON FILE
BRYAN M TALAVERA CRUZ                      ADDRESS ON FILE
BRYAN MALDONADO RIVERA                     ADDRESS ON FILE
BRYAN MARRERO                              ADDRESS ON FILE
BRYAN MARTELL CRUZ                         ADDRESS ON FILE
BRYAN MARTINEZ AGUILAR                     ADDRESS ON FILE
BRYAN MEDICAL CENTER EAST                  1600 SOUTH 48 ST                                                                                      LINCOLN     NE      68506
BRYAN MELENDEZ                             ADDRESS ON FILE
BRYAN MIRANDA CANDELARIA                   ADDRESS ON FILE
BRYAN MORALES OLMO                         ADDRESS ON FILE
BRYAN MORO CARRION                         ADDRESS ON FILE




                                                                                                            Page 980 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 981 of 3500
                                                                                          Creditor Matrix

Creditor Name                              Address1                      Address2                      Address3       Address4   City             State   PostalCode   Country
BRYAN N TORRES SERRANO                     ADDRESS ON FILE
BRYAN O DIAZ GOMEZ                         ADDRESS ON FILE
BRYAN O GONZALEZ RAMOS                     ADDRESS ON FILE
BRYAN O GONZALEZ SIERRA                    ADDRESS ON FILE
BRYAN O GONZALEZ SIERRA                    ADDRESS ON FILE
BRYAN O GUZMAN AYALA                       ADDRESS ON FILE
BRYAN O MORALES RODRIGUEZ                  ADDRESS ON FILE
BRYAN O MORENO PEREZ                       ADDRESS ON FILE
BRYAN O RAMOS TORRES                       ADDRESS ON FILE
BRYAN O SANTIAGO MORALES                   ADDRESS ON FILE
BRYAN O TORRES ARZUAGA                     ADDRESS ON FILE
BRYAN O ZOQUIER SANTIAGO                   ADDRESS ON FILE
BRYAN O.ORTIZ SIERRA                       ADDRESS ON FILE
BRYAN O´NEILL ALICEA                       ADDRESS ON FILE
BRYAN OCASIO SANTIAGO                      ADDRESS ON FILE
BRYAN OLIVO GERENA                         ADDRESS ON FILE
BRYAN ORTIZ FERNANDEZ                      ADDRESS ON FILE
BRYAN PADILLA PACHECO                      ADDRESS ON FILE
BRYAN PAGAN GUERRERO                       ADDRESS ON FILE
BRYAN PAGAN PEREZ                          ADDRESS ON FILE
BRYAN PASLAY SANTIAGO                      ADDRESS ON FILE
BRYAN PENA MUNOZ                           ADDRESS ON FILE
BRYAN R NIEVES RODRIGUEZ                   ADDRESS ON FILE
BRYAN RAMOS COLON                          ADDRESS ON FILE
BRYAN RENE MELENDEZ ADORNO                 ADDRESS ON FILE
BRYAN RENTAS NEGRON                        ADDRESS ON FILE
BRYAN REYES COTTO A/C LUIS REYES BERRIOS ADDRESS ON FILE
BRYAN REYES RODRIGUEZ                      ADDRESS ON FILE
BRYAN RIOS ORTIZ                           ADDRESS ON FILE
BRYAN RIVERA REYES                         ADDRESS ON FILE
BRYAN RODRIGUEZ ACOSTA                     ADDRESS ON FILE
BRYAN ROMAN RIVERA                         ADDRESS ON FILE
BRYAN RUIZ VARGAS                          ADDRESS ON FILE
BRYAN S SIERRA MERCADO                     ADDRESS ON FILE
BRYAN SAAVEDRA VELAZQUEZ                   ADDRESS ON FILE
BRYAN SAMUEL PEREZ RIVERA                  ADDRESS ON FILE
BRYAN SANCHEZ RIVERA                       ADDRESS ON FILE
BRYAN SANTIAGO RIVERA                      ADDRESS ON FILE
BRYAN STEINER                              ADDRESS ON FILE
BRYAN TRANSPORT SERVICE CORP & RAFAEL IRIZ VILLAS DE RIO GRANDE          AD26 CALLE 24                                           RIO GRANDE       PR      00745‐2730
BRYAN TROCHE                               ADDRESS ON FILE
BRYAN VALERA JIMENEZ                       ADDRESS ON FILE
BRYAN VELAZQUEZ FERRER                     ADDRESS ON FILE
BRYAN VELAZQUEZ FIGUEROA                   ADDRESS ON FILE
BRYAN VELEZ COLLADO                        ADDRESS ON FILE
BRYAN VERGARA VERGARA                      ADDRESS ON FILE
BRYAN ZAPATA PADILLA                       ADDRESS ON FILE
BRYAN, OYOLA                               ADDRESS ON FILE
BRYANN GARCIA GERENA Y KARLA MICHELLE      ADDRESS ON FILE
BRYANN HANEY PRODUCTIONS                   2711 PARKVIEW DRIVE                                                                   CORINTH          TX      76210
BRYANN HANEY PRODUCTIONS                   4801 ABBOT AVENUE                                                                     DALLAS TEXAS     TX      75205
BRYANS CORREA CONCEPCION                   ADDRESS ON FILE
BRYANT D.ARROYO VILLANUEVA                 ADDRESS ON FILE
BRYANT DE LEON, JESSICA                    ADDRESS ON FILE
BRYANT GONZALEZ MERCADO                    SR. BRYANT GONZALEZ MERCADO   QPO BOX 1785                  QPO BOX 1785              RIO GRANDE       PR      00745
BRYANT I COLON ORTIZ/ BLANCA ORTIZ REYES ADDRESS ON FILE
BRYANT MARCIAL LOPEZ                       ADDRESS ON FILE
BRYANT ONEILL RIVERA                       ADDRESS ON FILE
BRYANT ROSARIO LEBRON                      ADDRESS ON FILE
BRYANT SANTIAGO LOPEZ                      ADDRESS ON FILE




                                                                                         Page 981 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                            Exhibit A-1 - Creditor
                                                                                Case No.Matrix
                                                                                        17 BK 3283‐LTSPage 982 of 3500
                                                                                                                 Creditor Matrix

Creditor Name                           Address1                                    Address2                               Address3                 Address4   City             State   PostalCode   Country
BRYANT TORRES TORRES                    ADDRESS ON FILE
BRYANT VALLE RAMOS                      ADDRESS ON FILE
BRYANTS RENTAL                          URB CIUDAD MASSO                            J 7 CALLE 7                                                                SAN LORENZO      PR      00754
BRYJOR LOGITIC, CORP                    PO BOX 365086                                                                                                          SAN JUAN         PR      00936‐5086
BRYN MAWR COLLEGE STUDENT FINANCIAL SERV101 MERION AVE                                                                                                         BRYN MAWR        PA      19010
BRYNA MAYO MELENDEZ                     ADDRESS ON FILE
BRYNEISHA M LLERAS ARZOLA               ADDRESS ON FILE
BSO PROMOTIONS                          PO BOX 92                                                                                                              TOA ALTA         PR      00954
BT PROMOTIONS CORPORATION               15 CALLE ISABEL                                                                                                        PONCE            PR      00730
BTB CORP.                               PO BOX 3465                                                                                                            CATANO           PR      00963‐3465
BTLS PUERTO RICO INC                    34 CARR 2                                                                                                              MANATI           PR      00674‐4731
BTS REFUELING INC                       3071 AVE ALEJANDRINO PMB 121                                                                                           GUAYNABO         PR      00969
BU, ZHI MIN                             ADDRESS ON FILE
BUBALIS ADMINISTRATIVE SOLUTIONS INC    PO BOX 6761                                                                                                            MAYAGUEZ         PR      00681
BUCAPLAA BASKETBALL CLUB INC            CENTRO COMUNAL BUCARE                       AVE ALTO APOLO                                                             SAN JUAN         PR      00920
BUCHANAN GAS STATION/FORT BUCHANAN SERVP O BOX 672068                                                                                                          DALLAS           TX      75267‐9988
BUCHANAN INGERSOLL & ROONEY PC          TWO LIBERTY PLACE                           50 S 16TH STREET SUITE 3200                                                PHILADELPHIA     PA      19102‐2555
BUCHER MD , ROBERT L                    ADDRESS ON FILE
BUCHER, JAQUELINE                       ADDRESS ON FILE
BUCKEYE CARIBBEAN TERMINALS INC         PO BOX 186                                                                                                             YABUCOA          PR      00767‐0186
BUCKEYE CARIBBEAN TERMINALS INC         PO BOX 364148                                                                                                          SAN JUAN         PR      00936‐4148
BUCKEYE CARIBBEAN TERMINALS INC         PO BOX 364225                                                                                                          SAN JUAN         PR      00936
BUCKHEAD BEEF CO                        355 PROGRESS RD                                                                                                        AUBURNDALE       FL      33823‐2712
BUCKNOV LOPEZ, CARLOS                   ADDRESS ON FILE
BUDEN TORRES, MARCELO                   ADDRESS ON FILE
BUDET CALZADA, NILDA B                  ADDRESS ON FILE
BUDET CORREA, ZULEIKA                   ADDRESS ON FILE
BUDET DE JESUS, LIZABETH                ADDRESS ON FILE
BUDET DIAZ, PABLO EDGARDO               ADDRESS ON FILE
BUDET FIGUEROA, JOHN                    ADDRESS ON FILE
BUDET GUERRERO, CARMEN                  ADDRESS ON FILE
BUDET MELENDEZ, JUAN O                  ADDRESS ON FILE
BUDET MELENDEZ, JUAN O.                 ADDRESS ON FILE
BUDET MELENDEZ, ZAYELIT                 ADDRESS ON FILE
BUDET MELENDEZ, ZAYELIT                 ADDRESS ON FILE
BUDET SANCHEZ, ROSA I                   ADDRESS ON FILE
BUDET SANCHEZ, SYLVIA                   ADDRESS ON FILE
BUDET, JUAN O.                          ADDRESS ON FILE
BUDGET PREPAY, INC.                     MCS PLAZA, SUITE 715 255 AVE. PONCE DE LEÓN                                                                            SAN JUAN         PR      00917
BUDGET RENT A CAR DE PR, INC            AREA DEL TESORO                             CONTADURIA GENERAL                                                         SAN JUAN         PR      00902
BUDGET RENT A CAR DE PR, INC            PO BOX 3746                                                                                                            CAROLINA         PR      00984‐3746
BUDHRANI, RITESH                        ADDRESS ON FILE
BUDOFF MACKIBBEN, NATHAN                ADDRESS ON FILE
BUE, NELSON                             ADDRESS ON FILE
BUEIZ MILAN, WILFREDO E.                ADDRESS ON FILE
BUEN GUSTO INC                          PO BOX 41126                                                                                                           SAN JUAN         PR      00940‐1126
BUENA GENTE & CO                        PO BOX 16592                                                                                                           SAN JUAN         PR      00908
BUENA VIBRA GROUP INC                   B5 CALLE TABONUCO STE 216 PMB 261                                                                                      GUAYNABO         PR      00968‐3022
BUENA VISION                            1 CALLE GANDARA                                                                                                        COROZAL          PR      00783
BUENA VISTA ALUMINUM & VERTICAL SUPPLY CARR YAUCO A GUANICA                         4 CALLES PALOMAS M 24                                                      YAUCO            PR      00698
BUENA VISTA OPTICAL INC                 DRIVE IN PLZ                                2135 CARR 2 STE 15                                                         BAYAMON          PR      00959
BUENAGA ORTIZ, MARGARITA                ADDRESS ON FILE
BUENANO CASA, JESUS                     ADDRESS ON FILE
BUENAVENTURA MOLINA LOPEZ               ADDRESS ON FILE
BUENAVENTURA MORALES SANTIAGO           ADDRESS ON FILE
BUENAVENTURA RODRIGUEZ CESPEDES         ADDRESS ON FILE
BUENAVENTURA ROSA TORRES                ADDRESS ON FILE
BUENAVENTURA VALLE LÓPEZ                LCDA. VERÓNICA ORTIZ GALICHET               CENTRO INTERNACIONAL DE MERCADEO TORRE 100 CARR. 165 STE. 509              GUAYNABO         PR      00968‐8052
BUENDIA MORALES, FEDERICO               ADDRESS ON FILE
BUENO ABREU, RASIK                      ADDRESS ON FILE




                                                                                                               Page 982 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 983 of 3500
                                                                                                              Creditor Matrix

Creditor Name                            Address1                            Address2                                      Address3               Address4   City              State   PostalCode   Country
BUENO ALBA, ODETTE A.                    ADDRESS ON FILE
BUENO BAUTISTA, YADIRIS                  ADDRESS ON FILE
BUENO BETANCOURT, ELIZABETH              ADDRESS ON FILE
BUENO BUENO, MARIA                       ADDRESS ON FILE
BUENO DUVAL, CLAUDINE                    ADDRESS ON FILE
BUENO FERNANDEZ, RAFAEL                  ADDRESS ON FILE
Bueno Fernandez, Rafael J.               ADDRESS ON FILE
BUENO GERMOSO, MARLENE                   ADDRESS ON FILE
BUENO LAUREANO, JUAN                     ADDRESS ON FILE
BUENO MODESTO, RAFAEL                    ADDRESS ON FILE
BUENO MOTTA, JOSE A                      ADDRESS ON FILE
BUENO ORENGO, ANDRES                     ADDRESS ON FILE
BUENO ORENGO, GIOVANNI                   ADDRESS ON FILE
BUENO PADIN, MANUEL                      ADDRESS ON FILE
BUENO PEREZ, LYNETTE                     ADDRESS ON FILE
BUENO SOTO, NEFTALI                      ADDRESS ON FILE
BUENO TAVERA, GENEROSA                   ADDRESS ON FILE
BUENO, RAFAEL M                          ADDRESS ON FILE
BUENO, SANTA                             ADDRESS ON FILE
BUENROSTRO MARCANO, ARAMIS               ADDRESS ON FILE
BUENROSTRO PEREZ, EILEEN                 ADDRESS ON FILE
BUENSEGURO INC                           PO BOX 13541                                                                                                        SAN JUAN          PR      00908‐3541
BUF ARIAS CESTERO & ARIAS GUARDIOLA      CENTRO INTERNACIONAL DE MERCADEO    100 CARR 165 TORRE 1 OFIC 507                                                   GUAYNABO          PR      00968‐8052
BUF ARIAS CESTERO & ARIAS GUARDIOLA      PO BOX 13727                        SANTURCE STATION                                                                SAN JUAN          PR      00908‐3727
BUF CANCIO, NADAL, RIVERA & DIAZ         402 AVE. MUNOZ RIVERA                                                                                               SAN JUAN          PR      00919‐1813
BUF CANCIO, NADAL, RIVERA & DIAZ         PO BOX 364966                                                                                                       SAN JUAN          PR      00936‐4966
BUF MUNOZ BONETA GONZALEZ ARBONA BENILLPO BOX 191979                                                                                                         SAN JUAN          PR      00919‐1979
BUF QUINONES VIGO                        175 CALLE ONEIL                                                                                                     SAN JUAN          PR      00918 2404
BUF RAMIREZ VELEZ E ITURREGUI PAGAN      28 CALLE MUNOZ RIVERA                                                                                               CABO ROJO         PR      00623
BUFETE A MORET C S P                     88 CALLE COLON                                                                                                      AGUADA            PR      00602
BUFETE ACEVEDO ACEVEDO C S P             24 A CALLE MUNOZ RIVERA                                                                                             RINCON            PR      00677
BUFETE ADALJISA PEREZ ANDREU             PMB 151                             1357 AVE. ASHFORD                                                               SAN JUAN          PR      00907
BUFETE ADSUAR MUNIZ GOYCO &BESOSA,P.S.C. PO BOX 70294                                                                                                        SAN JUAN          PR      00936‐8294
BUFETE ADSUAR MUNIZ Y GOYCO              AVE PONCE DE LEON                   #208 STE 1600                                                                   SAN JUAN          PR      00918
BUFETE ADSUAR MUNIZ Y GOYCO              PO BOX 70294                                                                                                        SAN JUAN          PR      00936‐8294

BUFETE ADSUAR MUNIZ Y GOYCO                WESTERNBANK WORLD PLAZA           SUITE 1400                                    268 MUNOZ RIVERA AVE              HATO REY          PR      00918
BUFETE ALDARONDO & LOPEZ BRAS PSC          16 AVENIDA LAS CUMBRES            SUITE 400                                                                       GUAYNABO          PR      00969
BUFETE ALDARONDO & LOPEZ BRAS PSC          ALBA PLAZA SUITE 400              16 CARR 199                                                                     GUAYNABO          PR      00969
BUFETE ALVARO R. CALDERON JR. SRL          PO BOX 192259                                                                                                     SAN JUAN          PR      00919‐2259
BUFETE ARIEL O CARO                        PO BOX 9010                                                                                                       SAN JUAN          PR      00908
BUFETE BAYRON C.S.P.                       P O BOX 6461                                                                                                      MAYAGUEZ          PR      00681
BUFETE BENNAZAR C S P                      PO BOX 194000                                                                                                     SAN JUAN          PR      00919‐4000
BUFETE BENNAZAR C S P                      PO BOX 194000                     PMB 212                                                                         SAN JUAN          PR      00919‐4000
BUFETE BIAGGI Y LANDRON                    PO BOX 1356                                                                                                       MAYAGUEZ          PR      00681‐1356
BUFETE CARDONA JIMENEZ                     EDIF HATO REY TOWERS SUITE 1004   268 AVE LUIS MUNOZ RIVERA                                                       SAN JUAN          PR      00918
BUFETE CARLOS I. IGARTUA VERAY & ASOCIAD   623 AVE PONCE DE LEON SUITE 803                                                                                   SAN JUAN          PR      00917
BUFETE CARLOS M GARCIA RULLAN CSP          252 AVE PONCE DE LEON 1400                                                                                        SAN JUAN          PR      00918
BUFETE CARLOS M GARCIA RULLAN CSP          252 PONCE DE LEON                 OFICINA 1400                                                                    SAN JUAN          PR      00918
BUFETE CARLOS M GARCIA RULLAN CSP          CITIBANK TOWER                    252 AVE PONCE DE LEON STE 1400                                                  SAN JUAN          PR      00918
BUFETE CASTRO ‐PEREZ & CASTRO              APARTADO 227                                                                                                      YABUCOA           PR      00767
BUFETE COFINO HERNANDEZ CSP                403 BENITO PEREZ GALDOS                                                                                           SAN JUAN          PR      00918
BUFETE COLON MORALES                       COND ESQUIRE                      2 CALLE VELA STE 502                                                            SAN JUAN          PR      00918
BUFETE CORREA C S P                        PO BOX 246                                                                                                        TRUJILLO ALTO     PR      00977
BUFETE CUEVAS KUINLAM & BERMUDEZ           416 AVE ESCORIAL                  CAPARRA HEIGHTS                                                                 SAN JUAN          PR      00920
BUFETE CUEVAS SEGARRA                      P.O. BOX 191735                                                                                                   SAN JUAN          PR      00919‐1735
BUFETE CURBELO BAERGA & QUINTANA LAW       UNION PLAZA BUILDING SUITE 810                                                                                    SAN JUAN          PR      00918‐3426
BUFETE DE ABOGADO ARCE ARCE CSP            10 CALLE MUNOZ RIVERA                                                                                             LARES             PR      00669
BUFETE DE ABOGADOS ALDARONDO Y LOPEZ       588 HOSTOS AVE BALDRICH                                                                                           SAN JUAN          PR      00918
BUFETE DE ABOGADOS ARCE & ARCE CSP         10 CALLE MUNOZ RIVERA                                                                                             LARES             PR      00669




                                                                                                             Page 983 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor
                                                                               Case No.Matrix
                                                                                       17 BK 3283‐LTSPage 984 of 3500
                                                                                                            Creditor Matrix

Creditor Name                            Address1                           Address2                                     Address3   Address4   City          State   PostalCode   Country
BUFETE DE ABOGADOS BAEZ GENOVAL          AVE. PONCE DE LEON #1250           SAN JOSE BUIDING SUITE 801                                         SAN JUAN      PR      00907
BUFETE DE LA LCDA. ANNETTE RIVERO MARIN URB VILLA CAROLINA                  CALLE 69 BLOQUE 129 #29                                            CAROLINA      PR      00985
BUFETE DE LA MATTA MELENDEZ              P O BOX 1537                                                                                          CAROLINA      PR      00984
BUFETE DIAZ DIAZ                         URB DELGADO 13                     CALLE JOSE VILLARES                                                CAGUAS        PR      00725‐3810
BUFETE EMMANUELLI CSP                    PO BOX 10779                                                                                          PONCE         PR      00732‐0779
BUFETE EMMANUELLI CSP                    ROVIRA OFFICE PARK                 623 AVE LA CEIBA SUITE 401                                         PONCE         PR      00730‐1902
BUFETE FACCIO Y PABON ROCA               PO BOX 19387                                                                                          SAN JUAN      PR      00910
BUFETE FACCIO Y PABON ROCA               URB HYDE PARK                      249 CALLE LAS MARIAS                                               SAN JUAN      PR      00927
BUFETE FAUSTINO APONTE PARES             P O BOX 22                                                                                            HUMACAO       PR      00792
BUFETE FERNANDEZ RODRIGUEZ               PO BOX 9174                                                                                           HUMACAO       PR      00792‐9174
BUFETE FERRAIUOLI TORRES & MARCHAND      221 PLAZA SUITE 403                AVE PONCE DE LEÓN                                                  SAN JUAN      PR      00917
BUFETE FERRAIUOLI TORRES & MARCHAND      PO BOX 195168                                                                                         SAN JUAN      PR      00919‐5168
BUFETE GARCIA & FERNANDEZ                254 AVE MUNOZ RIVERA STE 1001                                                                         SAN JUAN      PR      00918
BUFETE GONZALEZ LOPEZ & LOPEZ ADAMES     AVE ASHFORD 1126                   COND DIPLOMAT SUITE C 10                                           SAN JUAN      PR      00907
BUFETE GONZALEZ ORTIZ                    MERCANTIL PLAZA BUILDING PH‐1616                                                                      SAN JUAN      PR      00918
BUFETE GONZALEZ ORTIZ LAW OFFICES P.S.C  PH‐1616 #2 AVE PONCE DE LEON                                                                          SAN JUAN      PR      00924
Bufete Gonzalez Villamil                 Gonzalez Pando Plaza               1181 Ave Jesus T Pineiro                                           San Juan      PR      00920‐5604
BUFETE IGUINA OHARRIZ ATTORNEYS AND CONS PO BOX 366603                                                                                         SAN JUAN      PR      00936‐6603
BUFETE IVAN M. FERNANDEZ                 PO BOX 192386                                                                                         SAN JUAN      PR      00919‐2386
BUFETE JIMENEZ SEDA & ARCHILLA,PSC       P O BOX 363689                                                                                        SAN JUAN      PR      00936‐3689
BUFETE JOSE A CUEVAS SEGARRA             P O BOX 191735                                                                                        SAN JUAN      PR      00919‐1735
BUFETE JOSE A. CEPEDA RODRIGUEZ          THE HATO REY CENTER                268 AVE. PONCE DE LEON SUITE 906                                   HATO REY      PR      00918‐2004
BUFETE JOSE F RUIZ ORONOZ                P O BOX 3052                                                                                          YAUCO         PR      00698‐3052
BUFETE JOSE ROBERTO FEIJOO               1519 PONCE DE LEON AVE             SUITE 720                                                          SAN JUAN      PR      00909‐1718
BUFETE JUAN RAUL MARI PESQUERA CSP       PO BOX 326                                                                                            RINCON        PR      00677
BUFETE JUAN RAUL PESQUERA                PO BOX 326                                                                                            RINCON        PR      00677
BUFETE JUSINO MARRERO, C S P             AVE. ROTARIOS 536                  OFICINA 206‐A PLAZA SOLLER                                         ARECIBO       PR      00612
BUFETE LEGAL GONZALEZ MALDONADO & TORREPO BOX 777                                                                                              ARECIBO       PR      00613
BUFETE LESPIER AND MUNOZ NOYA            P O BOX 364428                                                                                        SAN JUAN      PR      00936‐4428
BUFETE LORENZO LORENZO HERMANOS CSP PO BOX 519                                                                                                 AGUADA        PR      00602
BUFETE LORENZO LORENZO & HERNANDEZ CSP PO BOX 519                                                                                              AGUADA        PR      00602
BUFETE LUIS JOSE GONZALEZ CASTANER       HATO REY TOWER                     268 AVE MUNOZ RIVERA STE 1002                                      SAN JUAN      PR      00918
BUFETE MADERA TORO CSP                   URB PONCE DE LEON                  288 CALLE RAMOS ANTONINI E                                         MAYAGUEZ      PR      00680
BUFETE MANUEL PORRO VIZCARRA LAW OFFICE CAPARRA HEIGHTS                     382 AVE ESCORIAL                                                   SAN JUAN      PR      00920
BUFETE MARCHAL HERNANDEZ SANTIAGO        TRIPLE S 1510 AVE ROOSEVELT        SUITE 9 B 1                                                        GUAYNABO      PR      00968
BUFETE MARRERO BETNCOURT                 URB SAN FELIZ                      2 CALLE 5                                                          COROZAL       PR      00783
BUFETE MARTINEZ TEXIDOR & MARTINEZ VIVAS PO BOX 9028                                                                                           PONCE         PR      00732
BUFETE MEDINA MEDINA CSP                 PO BOX 250268                                                                                         AGUADILLA     PR      00604‐0268
BUFETE MELENDEZ PEREZ LEDESMA            SCOTIABANK PLAZA SUITE             700 273 AVE PONCE DE LEON                                          SAN JUAN      PR      00917
BUFETE MELENDEZ PEREZ Y LEDESMA          CITY TOWERS 700 SUITE 252          AVE PONCE DE LEON                                                  SAN JUAN      PR      00918
BUFETE MELENDEZ PEREZ Y LEDESMA          PO BOX 19328                                                                                          SAN JUAN      PR      00910
BUFETE MONTANEZ & ALICEA                 500 AVE MUNOZ RIVERA STE 211       COND EL CENTRO I                                                   SAN JUAN      PR      00918‐3399
BUFETE MONTANEZ & ALICEA                 CONDOMINIO EL CENTRO I             500 MUNOZ RIVERA OFICINA 211                                       SAN JUAN      PR      00918
BUFETE MORALES CORDERO, CSP              PO BOX 363085                                                                                         SAN JUAN      PR      00936‐3085
BUFETE MUNIZ VALLADARES Y ASOCIADOS      113 CALLE ESTACION                                                                                    AGUADA        PR      00602
BUFETE MUNOZ BENITEZ BRUGUERAS &         CRUZ PSC                           PO BOX 191979                                                      SAN JUAN      PR      00919‐1979
BUFETE MUNOZ VISSEPO                     PO BOX 1175                                                                                           CAGUAS        PR      00726‐1175
BUFETE MYRIAM GONZALEZ PEREZ C P         PO BOX 367319                                                                                         SAN JUAN      PR      00936
BUFETE NEGRON GARCIA C S P               COND EL CENTRO II                  500 AVE MUNOZ RIVERA LOCAL 22                                      SAN JUAN      PR      00918‐3349
BUFETE NEVAREZ SANCHEZ Y ALVAREZ         CALLE PALMERAS #53                 SUITE 1501                                                         SAN JUAN      PR      00901‐2418
BUFETE NEVAREZ SANCHEZ Y ALVAREZ         URB ALTAMESA                       1307 AVE SAN ALFONSO                                               SAN JUAN      PR      00921‐3622
BUFETE OLIVERO BARRETO C S P             PO BOX 270379                                                                                         SAN JUAN      PR      00927‐0379
BUFETE ORLANDO J RODRIGUEZ               268 AVE MUNOZ RIVERA               805 HATO REY TOWER                                                 SAN JUAN      PR      00918
BUFETE OTERO & ASOCIADO                  P O BOX 732                                                                                           BAYAMON       PR      00956
BUFETE OTERO, LOPEZ & NEVARES            BOX S3506                                                                                             SAN JUAN      PR      00902‐3506
BUFETE OTERO, LOPEZ & NEVARES            PO BOX 9023933                                                                                        SAN JUAN      PR      00902‐3933
BUFETE PACHECO & PACHECO                 LCDO NOEL Y PACHECO ALVAREZ        PO BOX 3011                                                        YAUCO         PR      00698
BUFETE PEREZ & RIVERA                    PO BOX 462                                                                                            COROZAL       PR      00783
BUFETE PEREZ & RIVERA (LIC.CARLOS PEREZ) P.O. BOX 462                                                                                          COROZAL       PR      00783
BUFETE PIETRANTONI MENDEZ Y ALVAREZ      209 MUNOZ RIVERA                   POPULAR CENTER 1908                                                SAN JUAN      PR      00918




                                                                                                           Page 984 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                             Exhibit A-1 - Creditor
                                                                                 Case No.Matrix
                                                                                         17 BK 3283‐LTSPage 985 of 3500
                                                                                                             Creditor Matrix

Creditor Name                            Address1                             Address2                                    Address3   Address4   City              State   PostalCode   Country
BUFETE PRADO NUNEZ & ASOCIADOS C S P     CODN DEL PARQUE                      403 CALLE DEL PARQUE PISO 8                                       SAN JUAN          PR      00907
BUFETE PRATS LAZZARINI                   EDIF SAN ALBERTO                     AVE CONDADO 605 OFIC 618                                          SAN JUAN          PR      00907
BUFETE RAMOS Y PADILLA                   123 CALLE ONEILL STE 3                                                                                 SAN JUAN          PR      00918‐2404
BUFETE REICHARD & ESCALERA               EDIF BANK TRUST PLAZA                255 AVE P DE LEON SUITE 10                                        SAN JUAN          PR      00918
BUFETE REICHARD & ESCALERA               PO BOX 364148                                                                                          SAN JUAN          PR      00936‐4148
BUFETE RIVERA DIAZ & ASOCIADOS           PO BOX 1627                                                                                            TRUJILLO ALTO     PR      00977
BUFETE RODRIGUEZ & CASELLAS              P O BOX 195435                                                                                         SAN JUAN          PR      00919
BUFETE RODRIGUEZ CARTAGENA               PO BOX 5004                          PMB 105                                                           YAUCO             PR      00698
BUFETE RUIZ VARELA ABOGADO NOTARIO       PLAZA SOLLER                         104 AVE ROTARIOS                                                  ARECIBO           PR      00612
BUFETE RUIZ Y VARELA                     CALLE ANTONIO MARQUEZ 7                                                                                ARECIBO           PR      00613
BUFETE RUIZ Y VARELA                     PLAZA SOLLER                         104 AVE ROTARIOS                                                  ARECIBO           PR      00612
BUFETE SALDANA REY & ALVARADO            PO BOX 13954                                                                                           SANTURCE          PR      00908
BUFETE SALDANA SALDANA EGOZCUE           BANCO POPULAR CENTER STE 1420        208 AVE PONCE DE LEON                                             SAN JUAN          PR      00918 1050
BUFETE SANTOS Y SUAREZ                   421 AVE PONCE DE LEON STE B1                                                                           SAN JUAN          PR      00918
BUFETE SANTOS Y SUAREZ                   CITY VIEW PLAZA 11                   48 CARR 165 SUITE 2000                                            GUAYNABO          PR      0096880000
BUFETE TORRES & GARCIA PSC               PO BOX 19539                                                                                           SAN JUAN          PR      00910‐1539
BUFETE VAZQUEZ OTERO                     EDIF FIRST FEDERAL SAVINGS OF. 808   1056 MUNOZ RIVERA                                                 SAN JUAN          PR      00927
BUFETE VELAZ & TORRES                    COND MIDTOWN OFIC B4                 421 MUNOZ RIVERA                                                  SAN JUAN          PR      00918
BUFETES NAVAS‐RIVERA & DIAZ MORALES      HC‐02 Box 13318                                                                                        Aguas Buenas      PR      00703‐9605
BUFFALO AIR HANDLING CO.                 P O BOX 643477                                                                                         PITTSBURGH        PA      15264‐3477
BUFFALO GENERAL HOSPITAL                 HEALTH INFO MANAGEMENT SERV          PO BOX 1438                                                       SAN JOSE          CA      95109‐1438
BUFFALO PRINTING INC                     4239 AVE MILITAR                                                                                       ISABELA           PR      00662
BUFFILL CRUZ, CARMEN D                   ADDRESS ON FILE
BUFFILL FIGUEROA, MARIBEL                ADDRESS ON FILE
BUFFILL FIGUEROA, MARISELA               ADDRESS ON FILE
BUFFILL FIGUEROA, MELVA                  ADDRESS ON FILE
BUFFILLMERLE, NILDA                      ADDRESS ON FILE
BUFFIT DE JESUS, NOEMI                   ADDRESS ON FILE
BUFFIT TORRES, PAOLA M.                  ADDRESS ON FILE
BUFFIT TORRES, WILNELIA                  ADDRESS ON FILE
BUFILL, ROBERTO                          ADDRESS ON FILE
BUFORD FAMILY PRACTICE AND URGENT CARE C 3331 HAMILTON MILL RD STE 1102                                                                         BUFORD            GA      30519‐7226
BUGS CONTROL SOLUTION INC                PMB 151 PO BOX 7999                                                                                    MAYAGUEZ          PR      00681‐7999
BUIL LAGUNA, JOSUE                       ADDRESS ON FILE
BUIL OCASIO, MAGDALENA                   ADDRESS ON FILE
BUIL ROSA, ALEX                          ADDRESS ON FILE
BUILDERS GROUP                           PO BOX 2255                                                                                            GUAYNABO          PR      00970
BUILDING FAST CLEANING SERV CORP         400 CALLE JUAN CALAF PMB 19                                                                            SAN JUAN          PR      00918‐1314
BUILDING PRESERVATION MATERIAL TECHNOLOGPO BOX 192736                                                                                           SAN JUAN          PR      00919‐2736
BUILDTECH                                PO BOX 2255                                                                                            GUAYNABO          PR      00970
BUITRAGO AMARO, LUIS A.                  ADDRESS ON FILE
BUITRAGO AMARO, VILMA A.                 ADDRESS ON FILE
Buitrago Carrion, Luis E                 ADDRESS ON FILE
BUITRAGO CASTELLANOS, SANDRA             ADDRESS ON FILE
BUITRAGO GONZALEZ, MIRELLY               ADDRESS ON FILE
BUITRAGO GUZMAN, MERCEDES                ADDRESS ON FILE
BUITRAGO HUERTAS, EDLIN S.               ADDRESS ON FILE
BUITRAGO HUERTAS, HUMBERTO               ADDRESS ON FILE
BUITRAGO IGLESIAS, RAMON                 ADDRESS ON FILE
BUITRAGO IGLESIAS, RAMON A.              ADDRESS ON FILE
BUITRAGO JIMENEZ, FRANCES                ADDRESS ON FILE
BUITRAGO JIMENEZ, FRANCES                ADDRESS ON FILE
BUITRAGO MEDINA MD, JUAN C               ADDRESS ON FILE
BUITRAGO MEDINA, JUAN                    ADDRESS ON FILE
BUITRAGO MORALES, CAROLINA               ADDRESS ON FILE
BUITRAGO NAVEDO, FABIAN                  ADDRESS ON FILE
BUITRAGO PAGAN, MIRIAM                   ADDRESS ON FILE
BUITRAGO PAGAN, MYRIAM                   ADDRESS ON FILE
BUITRAGO RAMIREZ, ANA M                  ADDRESS ON FILE
BUITRAGO RAMIREZ, JAVIER O               ADDRESS ON FILE




                                                                                                            Page 985 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 986 of 3500
                                                                                      Creditor Matrix

Creditor Name                  Address1                  Address2                                  Address3   Address4   City             State   PostalCode   Country
BUITRAGO RODRIGUEZ, ROSARIO    ADDRESS ON FILE
BUITRAGO SANTIAGO, SHEILIMAR   ADDRESS ON FILE
BUITRAGO SANTOS, HECTOR        ADDRESS ON FILE
BUJOSA ALICEA MD, CARLOS       ADDRESS ON FILE
BUJOSA ALICEA, JOSE            ADDRESS ON FILE
BUJOSA ALICEA, JOSE            ADDRESS ON FILE
BUJOSA DE PEREZ, CARMEN J      ADDRESS ON FILE
BUJOSA GABRIEL, ANGEL O.       ADDRESS ON FILE
BUJOSA GABRIEL, IRAIDA         ADDRESS ON FILE
BUJOSA GABRIEL, IRAIDA L       ADDRESS ON FILE
BUJOSA GONZALEZ, JOSE          ADDRESS ON FILE
BUJOSA GONZALEZ, JOSE E        ADDRESS ON FILE
BUJOSA ROSARIO, VILMA          ADDRESS ON FILE
BUJOSA ROSARIO, VILMA E        ADDRESS ON FILE
BUKBERG MD, PHILIP             ADDRESS ON FILE
BULA BULA, IVONNE              ADDRESS ON FILE
BULA BULA, SILVIA              ADDRESS ON FILE
BULA BULA, SILVIA              ADDRESS ON FILE
BULA CORREA, AIDA              ADDRESS ON FILE
Bula Correa, Aida Iris         ADDRESS ON FILE
Bula Correa, Alexis            ADDRESS ON FILE
BULA CORREA, ALEXIS            ADDRESS ON FILE
BULA CORREA, JOSE              ADDRESS ON FILE
Bula Correa, Jose L            ADDRESS ON FILE
BULA FIGUEROA, HUMBERTO        ADDRESS ON FILE
BULA FIGUEROA, IRMA            ADDRESS ON FILE
BULA FIGUEROA, MYRTA E         ADDRESS ON FILE
BULA MARTINEZ, EVELYN          ADDRESS ON FILE
BULA MORALES, CARLOS           ADDRESS ON FILE
Bula Morales, William          ADDRESS ON FILE
BULA NEGRON, AUREA M           ADDRESS ON FILE
Bula Negron, Radames           ADDRESS ON FILE
Bula Reyes, William            ADDRESS ON FILE
BULA RODRIGUEZ, DANIEL         ADDRESS ON FILE
BULA RODRIGUEZ, JOSE L         ADDRESS ON FILE
Bula Rodriguez, Priscilla      ADDRESS ON FILE
BULA ROSARIO, ANGEL            ADDRESS ON FILE
BULERIN AYUSO, LUZ E.          ADDRESS ON FILE
BULERIN COLON, OMARYS          ADDRESS ON FILE
BULERIN CORDERO, HECTOR        ADDRESS ON FILE
BULERIN KERCADO, YAHAIRA       ADDRESS ON FILE
BULERIN LLANOS, EVA            ADDRESS ON FILE
BULERIN RAMOS, ANGEL L         ADDRESS ON FILE
BULERIN ROSARIO, EDGARDO       ADDRESS ON FILE
Bulerin Rosario, Edgardo R     ADDRESS ON FILE
BULGADO DIAZ, AIDA L           ADDRESS ON FILE
BULK TERMINAL OPERATORS INC    PARQUE IND AMELIA         9 CALLE CLAUDIA Y BEATRIZ                                       GUAYNABO         PR      00968
BULL PUBLISHING                PO BOX 1377                                                                               BOULDER          CO      80306
BULLARD ANDERSEN, KIRBY        ADDRESS ON FILE
BULLE RIVERA, LESLIE ANN       ADDRESS ON FILE
BULLETIN OF MARINE SCIENCE     PO BOX 249115                                                                             CORAL GABLES     FL      33124
BULLINGTON MILLAN, ALICIA      ADDRESS ON FILE
BULLONES REA, JORGE            ADDRESS ON FILE
BULLS ORTIZ MD, ANTONIO A      ADDRESS ON FILE
BULNES OLIU, ANA               ADDRESS ON FILE
BULNES OLIU, ANA MARIA         ADDRESS ON FILE
BULTED ARROYO, YAJAIRA         ADDRESS ON FILE
Bulted Caraballo, Juan         ADDRESS ON FILE
BULTED CARABALLO, JUAN         ADDRESS ON FILE
BULTED ORTIZ, MILTON D         ADDRESS ON FILE




                                                                                     Page 986 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor
                                                                        Case No.Matrix
                                                                                17 BK 3283‐LTSPage 987 of 3500
                                                                               Creditor Matrix

Creditor Name                     Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BULTED SAEZ, CARMEN I             ADDRESS ON FILE
BULTED SAEZ, MARIA E.             ADDRESS ON FILE
BULTED SEPULVEDA, CARMEN L        ADDRESS ON FILE
BULTEDSAEZ, PILAR                 ADDRESS ON FILE
BULTES DELGADO, EDISON            ADDRESS ON FILE
BULTES DELGADO, ORLANDO           ADDRESS ON FILE
BULTRON ALMENAS, MARIA            ADDRESS ON FILE
BULTRON ALMENAS, MARIA            ADDRESS ON FILE
BULTRON AYALA, LUIS D.            ADDRESS ON FILE
BULTRON AYALA, VANESSA            ADDRESS ON FILE
BULTRON AYALA, ZORAIDA            ADDRESS ON FILE
BULTRON AYALA, ZULEIKA            ADDRESS ON FILE
BULTRON BENGOA, REGINA            ADDRESS ON FILE
BULTRON BULERIN, YOLANDA          ADDRESS ON FILE
BULTRON CARMONA, ROSA             ADDRESS ON FILE
BULTRON CIRINO, JOSE D            ADDRESS ON FILE
BULTRON CLASS, JULIO              ADDRESS ON FILE
BULTRON CLEMENTE, KEVIN ALBERTO   ADDRESS ON FILE
BULTRON COLON, JOSE B.            ADDRESS ON FILE
BULTRON COLON,JOSE B              ADDRESS ON FILE
BULTRON CRUZ, JANETTE             ADDRESS ON FILE
BULTRON CRUZ, LUIS                ADDRESS ON FILE
BULTRON CRUZ, MAYRA R.            ADDRESS ON FILE
BULTRON CRUZ, ZAHIRA              ADDRESS ON FILE
BULTRON DAVILA, WANDA I.          ADDRESS ON FILE
BULTRON DOMENECH, ARAMIS          ADDRESS ON FILE
BULTRON DOMENECH, JAIME           ADDRESS ON FILE
BULTRON ESCALERA, ADALBERTO       ADDRESS ON FILE
BULTRON ESCUTE, JORGE             ADDRESS ON FILE
BULTRON GARCIA, MILAGROS          ADDRESS ON FILE
BULTRON GARCIA, RAFAEL            ADDRESS ON FILE
BULTRON GONZALEZ, GLORIA M        ADDRESS ON FILE
BULTRON GONZALEZ, JUANA           ADDRESS ON FILE
Bultron Lacot, Carlos Jose        ADDRESS ON FILE
BULTRON LEBRON, AIDA E            ADDRESS ON FILE
BULTRON MALAVE, LEONIX            ADDRESS ON FILE
BULTRON MERCADO, DANIEL           ADDRESS ON FILE
Bultron Monserrate, Liz M         ADDRESS ON FILE
BULTRON MONTANEZ, ANA T           ADDRESS ON FILE
BULTRON ORTIZ, RIGO               ADDRESS ON FILE
BULTRON PEREYRA, GAILY            ADDRESS ON FILE
BULTRON PEREYRA, JOHANNA          ADDRESS ON FILE
BULTRON RAMOS, SARA               ADDRESS ON FILE
BULTRON RIVERA, LUIS              ADDRESS ON FILE
BULTRON RIVERA, NERVA             ADDRESS ON FILE
BULTRON ROBLES, CARLOS I.         ADDRESS ON FILE
BULTRON RODENA, JOSE              ADDRESS ON FILE
BULTRON RODRIGUEZ, PILARICA       ADDRESS ON FILE
BULTRON RODRIGUEZ, WANDA I        ADDRESS ON FILE
BULTRON ROMERO, MARIA E           ADDRESS ON FILE
Bultron Rosa, Leonardo            ADDRESS ON FILE
BULTRON SANTAELLA, EDITH          ADDRESS ON FILE
BULTRON SOTO, SILMA L             ADDRESS ON FILE
BULTRON TORRES, CONSUELO          ADDRESS ON FILE
BULTRON TORRES, KELLY J           ADDRESS ON FILE
BULTRON VELEZ, FELIX D.           ADDRESS ON FILE
BULTRON VIVES, GRACE M            ADDRESS ON FILE
BUMP CREATIVE GROUP INC           P O BOX 236                                                                      COROZAL      PR      00783
BUNCE RODRIGUEZ, KAREN            ADDRESS ON FILE
BUNKER SOTO, DIANA M              ADDRESS ON FILE




                                                                              Page 987 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                     Exhibit A-1 - Creditor
                                                                         Case No.Matrix
                                                                                 17 BK 3283‐LTSPage 988 of 3500
                                                                                          Creditor Matrix

Creditor Name                      Address1                      Address2                              Address3    Address4   City             State   PostalCode   Country
BUNKER SOTO, ROSA M                ADDRESS ON FILE
BUNTIN QUILES, KATHLEEN T          ADDRESS ON FILE
BUNTING, ROY A                     ADDRESS ON FILE
BUONO COLON, JOSE                  ADDRESS ON FILE
BUONO COLON, ROBERTO               ADDRESS ON FILE
BUONO DE JESUS, LADI               ADDRESS ON FILE
BUONO DE JESUS, LADI V.            ADDRESS ON FILE
BUONO RUNDLE, JOSE                 ADDRESS ON FILE
BUONOMO DAVILA, JESUS D.           ADDRESS ON FILE
BUONOMO DAVILA, VICTOR M           ADDRESS ON FILE
BUONOMO MALDONADO, DANIEL          ADDRESS ON FILE
Bupa Insurance Company, Inc.       7001 Southwest 97th Avenue                                                                 Miami            FL      33173
Bupa Insurance Company, Inc.       Attn: Moses Dodo, President   17901 Old Cutler Road                 Suite 400              Palmetto Bay     FL      33157
BURBON MONTANEZ, ANA L             ADDRESS ON FILE
BURCELL AREVALO MD, DAGMARY        ADDRESS ON FILE
BURDINE MD, STEPHANIE              ADDRESS ON FILE
BURE REYES, JOHANNY                ADDRESS ON FILE
BUREAU OF NATIONAL AFFAIRS INC     P O BOX 17009                                                                              BALTIMORE        MD      21297‐1009
BURES MARTINEZ, MIGUEL A           ADDRESS ON FILE
BURES PEREZ, ASTRID                ADDRESS ON FILE
BURET GUANTE, AMERICA              ADDRESS ON FILE
BURET, DIEGO                       ADDRESS ON FILE
BURGADO SAAD, LIZ N                ADDRESS ON FILE
BURGADO SANTIAGO, FRANCIS          ADDRESS ON FILE
BURGDORF, DOUGLASS                 ADDRESS ON FILE
BURGER MD, EICHEL                  ADDRESS ON FILE
BURGER, CARROLL & ASSOCIATES INC   5 BISBEE COURT 109‐45                                                                      SANTA FE         NM      87508
BURGESS PEREZ, ABRAHAM             ADDRESS ON FILE
BURGOS RIVAS, LUIS E.              ADDRESS ON FILE
Burgos Abreu, Jose L               ADDRESS ON FILE
BURGOS ACEVEDO, FRANCISCO          ADDRESS ON FILE
BURGOS ACEVEDO, JOSE L             ADDRESS ON FILE
BURGOS ACEVEDO, JUDITH             ADDRESS ON FILE
BURGOS ACOBE, SASHA BEATRIZ        ADDRESS ON FILE
BURGOS ADORNO, CARMEN              ADDRESS ON FILE
Burgos Agosto, Alexander           ADDRESS ON FILE
Burgos Agosto, Jessica             ADDRESS ON FILE
BURGOS AGUILAR, DAINA I.           ADDRESS ON FILE
BURGOS AGUILAR, LUIS               ADDRESS ON FILE
BURGOS AGUIRRE, HAYDEE             ADDRESS ON FILE
BURGOS AGUIRRE, JOSE A             ADDRESS ON FILE
BURGOS AGUIRRE, MARISOL            ADDRESS ON FILE
Burgos Alamo, Jose R.              ADDRESS ON FILE
BURGOS ALCALA, MYRIDELIS           ADDRESS ON FILE
Burgos Alfonso, Ramon L.           ADDRESS ON FILE
BURGOS ALGARIN, LUZ Y.             ADDRESS ON FILE
BURGOS ALICEA, HECTOR              ADDRESS ON FILE
BURGOS ALICEA, LIZ N               ADDRESS ON FILE
BURGOS ALICEA, MAGNA I             ADDRESS ON FILE
BURGOS ALICEA, WILFREDO            ADDRESS ON FILE
BURGOS ALICEA, WILLIAM             ADDRESS ON FILE
BURGOS ALLENDE, EVELYN             ADDRESS ON FILE
BURGOS ALLENDE, MARYLIN            ADDRESS ON FILE
BURGOS ALLENDE, MARYLIN            ADDRESS ON FILE
BURGOS ALLENDE, MINERVA            ADDRESS ON FILE
BURGOS ALLENDE, NOEL               ADDRESS ON FILE
BURGOS ALVALLE, JONATAN            ADDRESS ON FILE
BURGOS ALVARADO, CARMEN L          ADDRESS ON FILE
BURGOS ALVARADO, CINDY             ADDRESS ON FILE
BURGOS ALVARADO, IDALIS L          ADDRESS ON FILE




                                                                                         Page 988 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor
                                                                     Case No.Matrix
                                                                             17 BK 3283‐LTSPage 989 of 3500
                                                                             Creditor Matrix

Creditor Name                  Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
BURGOS ALVARADO, IRIS M        ADDRESS ON FILE
BURGOS ALVARADO, MARIA A.      ADDRESS ON FILE
BURGOS ALVARADO, NILDA R       ADDRESS ON FILE
BURGOS ALVARADO, ROSA E        ADDRESS ON FILE
BURGOS ALVARADO, VICTOR        ADDRESS ON FILE
BURGOS ALVARADO, YOLANDA       ADDRESS ON FILE
BURGOS ALVAREZ, ADLYMARIE      ADDRESS ON FILE
BURGOS ALVAREZ, CRUZ           ADDRESS ON FILE
BURGOS ALVAREZ, JOSE           ADDRESS ON FILE
BURGOS ALVAREZ, JOSE           ADDRESS ON FILE
BURGOS ALVAREZ, JOSE R.        ADDRESS ON FILE
BURGOS ALVAREZ, JOSE RAMON     ADDRESS ON FILE
BURGOS ALVAREZ, LUIS E         ADDRESS ON FILE
Burgos Alvarez, Solano         ADDRESS ON FILE
BURGOS ALVAREZ,CRUZ            ADDRESS ON FILE
BURGOS AMADOR, JEDARY          ADDRESS ON FILE
BURGOS AMARAL, JUAN            ADDRESS ON FILE
BURGOS AMARO, ANA              ADDRESS ON FILE
BURGOS AMARO, LYDIA            ADDRESS ON FILE
BURGOS AMARO, SARA             ADDRESS ON FILE
BURGOS AMEZAGA, RAUL           ADDRESS ON FILE
BURGOS ANAYA, LUIS R.          ADDRESS ON FILE
BURGOS ANDUJAR, KAREN          ADDRESS ON FILE
BURGOS ANDUJAR, MICHELLE       ADDRESS ON FILE
BURGOS ANDUJAR, NORMA E.       ADDRESS ON FILE
BURGOS APONTE, ALEXANDRA       ADDRESS ON FILE
BURGOS APONTE, ALEXANDRA       ADDRESS ON FILE
BURGOS APONTE, ANA LUISA       ADDRESS ON FILE
BURGOS APONTE, CARLOS J.       ADDRESS ON FILE
BURGOS APONTE, CARMEN          ADDRESS ON FILE
BURGOS APONTE, ELIZABETH Y.    ADDRESS ON FILE
BURGOS APONTE, HECTOR          ADDRESS ON FILE
BURGOS APONTE, JESSICA         ADDRESS ON FILE
BURGOS APONTE, JOSE            ADDRESS ON FILE
BURGOS APONTE, MIRELIS         ADDRESS ON FILE
BURGOS APONTE, SERGIO          ADDRESS ON FILE
BURGOS APONTE, SYLVIA A        ADDRESS ON FILE
BURGOS APONTE, YULESKA B       ADDRESS ON FILE
BURGOS ARCE, LISVIA N          ADDRESS ON FILE
BURGOS ARCHILLA, ADA I.        ADDRESS ON FILE
BURGOS ARCHILLA, RAMON P       ADDRESS ON FILE
BURGOS AROCHO, RAMON           ADDRESS ON FILE
BURGOS ARROYO, ANGEL           ADDRESS ON FILE
BURGOS ARROYO, ANGIE           ADDRESS ON FILE
BURGOS ARROYO, EDELMIRO        ADDRESS ON FILE
BURGOS ARROYO, FRANCISCO       ADDRESS ON FILE
Burgos Arroyo, Jose J.         ADDRESS ON FILE
BURGOS ARROYO, JULIO D         ADDRESS ON FILE
BURGOS ARROYO, LIMARIS         ADDRESS ON FILE
BURGOS ARROYO, MARIA E.        ADDRESS ON FILE
BURGOS ARROYO, XIOMARA         ADDRESS ON FILE
BURGOS ARZOLA, ALBERTO         ADDRESS ON FILE
Burgos Astacio, Rosalia        ADDRESS ON FILE
BURGOS AUTOMOTIVE CENTER Y/O   GLORIA M MORALES RODRIGUEZ   HC 4 BOX 4634                                       HUMACAO      PR      00791
BURGOS AVILES, ALBERTO         ADDRESS ON FILE
BURGOS AVILES, DORIS           ADDRESS ON FILE
BURGOS AVILES, JUAN            ADDRESS ON FILE
BURGOS AVILES, JUANA F         ADDRESS ON FILE
BURGOS AVILES, MARIA DE L      ADDRESS ON FILE
BURGOS AVILES, MIGUEL          ADDRESS ON FILE




                                                                            Page 989 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 990 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                     Address2                     Address3   Address4    City         State   PostalCode   Country
BURGOS AVILES, SONIA            ADDRESS ON FILE
Burgos Ayala, Edwin             ADDRESS ON FILE
BURGOS AYALA, JOSE              ADDRESS ON FILE
BURGOS AYALA, JOSE E.           ADDRESS ON FILE
BURGOS AYALA, MAGDALENA         ADDRESS ON FILE
BURGOS AYALA, MARGARITA         ADDRESS ON FILE
BURGOS AYALA, MARLENE           ADDRESS ON FILE
BURGOS AYALA, RICARDO A         ADDRESS ON FILE
BURGOS AYALA, SARA M.           ADDRESS ON FILE
Burgos Ayala, Ulises            ADDRESS ON FILE
BURGOS BAERGA, ANGEL            ADDRESS ON FILE
BURGOS BAEZ, BETZANGELY         ADDRESS ON FILE
BURGOS BAEZ, CARLOS             ADDRESS ON FILE
BURGOS BAEZ, ERNICE             ADDRESS ON FILE
BURGOS BAEZ, ESAUL              ADDRESS ON FILE
BURGOS BAEZ, JOSE               ADDRESS ON FILE
BURGOS BAEZ, LUZ M.             ADDRESS ON FILE
BURGOS BAEZ, MICHELLE           ADDRESS ON FILE
BURGOS BAEZ, MILAGROS           ADDRESS ON FILE
BURGOS BARBOSA, VIODELKA        ADDRESS ON FILE
BURGOS BARI, AMALIA             ADDRESS ON FILE
Burgos Barreto, David           ADDRESS ON FILE
Burgos Barreto, Javier          ADDRESS ON FILE
BURGOS BARROSO, YOLANDA         ADDRESS ON FILE
BURGOS BEAUCHAMP, ZEDRIC        ADDRESS ON FILE
BURGOS BELTRAN, JORGE           ADDRESS ON FILE
BURGOS BENITEZ, ALFREDO         ADDRESS ON FILE
BURGOS BENITEZ, JAIME           ADDRESS ON FILE
BURGOS BENZAN, GABRIEL          ADDRESS ON FILE
BURGOS BERDECIA, AWILDA         ADDRESS ON FILE
Burgos Berdecia, Noelia A       ADDRESS ON FILE
BURGOS BERDECIA, RAMONITA       ADDRESS ON FILE
BURGOS BERMUDEZ, JOHANNA        ADDRESS ON FILE
BURGOS BERMUDEZ, RAMON A.       ADDRESS ON FILE
BURGOS BERMUDEZ, YASMIN         ADDRESS ON FILE
BURGOS BERNIER, ROSA I          ADDRESS ON FILE
BURGOS BERRIOS, ALFRED          ADDRESS ON FILE
BURGOS BERRIOS, CARMEN M        ADDRESS ON FILE
BURGOS BERRIOS, GERARDO         ADDRESS ON FILE
BURGOS BERRIOS, JOSE A.         ADDRESS ON FILE
BURGOS BERRIOS, JOSE J          ADDRESS ON FILE
BURGOS BERRIOS, JOSUE A.        ADDRESS ON FILE
BURGOS BERRIOS, JULIA           ADDRESS ON FILE
BURGOS BERRIOS, LUIS            ADDRESS ON FILE
BURGOS BERRIOS, LUZ D           ADDRESS ON FILE
BURGOS BERRIOS, MADELINE N      ADDRESS ON FILE
BURGOS BERRIOS, MARIA C         ADDRESS ON FILE
BURGOS BERRIOS, WANDA           ADDRESS ON FILE
BURGOS BEUNTON, JOSÉ A.         JERRIKA M. ANGLERÓ SÁNCHEZ   PO BOX 746                                          ARROYO       PR      00714
BURGOS BIGIO, LUIS              ADDRESS ON FILE
BURGOS BLANCO, JAVIER           ADDRESS ON FILE
BURGOS BLANCO, JAVIER A         ADDRESS ON FILE
BURGOS BONILLA, NOEMI           ADDRESS ON FILE
BURGOS BONILLA, ROSA MILAGROS   ADDRESS ON FILE
BURGOS BORGES, ELIEZER          ADDRESS ON FILE
BURGOS BORRERO, AWILDA          ADDRESS ON FILE
Burgos Borrero, Gabriel         ADDRESS ON FILE
BURGOS BOU, FRANCES S           ADDRESS ON FILE
BURGOS BOYRIE, ELIAS            ADDRESS ON FILE
Burgos Boyrie, Gerald           ADDRESS ON FILE




                                                                            Page 990 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor
                                                                             Case No.Matrix
                                                                                     17 BK 3283‐LTSPage 991 of 3500
                                                                                    Creditor Matrix

Creditor Name                          Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
Burgos Boyrie, Reinardo                ADDRESS ON FILE
Burgos Boyrie, Rolando                 ADDRESS ON FILE
BURGOS BRANDI, MERVIN                  ADDRESS ON FILE
BURGOS BRITO, ANGELINA                 ADDRESS ON FILE
BURGOS BRITO, CYNTHIA                  ADDRESS ON FILE
BURGOS BRUNO, SACHALIS                 ADDRESS ON FILE
BURGOS BULA, ANDREA                    ADDRESS ON FILE
Burgos Burgos, Alex J                  ADDRESS ON FILE
BURGOS BURGOS, ANDREITA                ADDRESS ON FILE
Burgos Burgos, Delia                   ADDRESS ON FILE
Burgos Burgos, Henry                   ADDRESS ON FILE
BURGOS BURGOS, HENRY                   ADDRESS ON FILE
BURGOS BURGOS, JUAN DE J               ADDRESS ON FILE
BURGOS BURGOS, JUAN O.                 ADDRESS ON FILE
BURGOS BURGOS, JULIA M                 ADDRESS ON FILE
BURGOS BURGOS, LUIS                    ADDRESS ON FILE
BURGOS BURGOS, LUIS D                  ADDRESS ON FILE
BURGOS BURGOS, MARIBEL                 ADDRESS ON FILE
BURGOS BURGOS, MARIBEL                 ADDRESS ON FILE
BURGOS BURGOS, MARILYN                 ADDRESS ON FILE
BURGOS BURGOS, NILSA M                 ADDRESS ON FILE
BURGOS BURGOS, PAULINO                 ADDRESS ON FILE
Burgos Burgos, Rolando                 ADDRESS ON FILE
BURGOS BURGOS, ROLANDO                 ADDRESS ON FILE
BURGOS BURGOS, ROSA                    ADDRESS ON FILE
BURGOS BURGOS, WANDA                   ADDRESS ON FILE
BURGOS BURGOS,EULOGIO                  ADDRESS ON FILE
BURGOS CABASSA, MIGUEL                 ADDRESS ON FILE
BURGOS CABRERA, MAYRA                  ADDRESS ON FILE
BURGOS CABRERA, RENE                   ADDRESS ON FILE
Burgos Caceres, Jose L                 ADDRESS ON FILE
BURGOS CACERES, LUIS M                 ADDRESS ON FILE
BURGOS CALDERIN, WALESKA               ADDRESS ON FILE
BURGOS CALDERON, ALEXANDRA             ADDRESS ON FILE
BURGOS CALDERON, ILDEFONSO             ADDRESS ON FILE
BURGOS CALDERON, RAFAEL                ADDRESS ON FILE
BURGOS CAMACHO, CARMEN E               ADDRESS ON FILE
BURGOS CAMACHO, ESTHER                 ADDRESS ON FILE
BURGOS CAMACHO, MARISOL                ADDRESS ON FILE
BURGOS CAMBRELEN, STEPHANIE            ADDRESS ON FILE
BURGOS CANCEL, MARILU                  ADDRESS ON FILE
BURGOS CANCEL, RAMONITA                ADDRESS ON FILE
BURGOS CANCEL, YORMARY                 ADDRESS ON FILE
BURGOS CAPO, LUIS R                    ADDRESS ON FILE
BURGOS CARABALLO, JOSE M               ADDRESS ON FILE
BURGOS CARABALLO, JUAN                 ADDRESS ON FILE
BURGOS CARABALLO, MIRTA                ADDRESS ON FILE
BURGOS CARABALLO, SOFIA                ADDRESS ON FILE
BURGOS CARASQUILLO, ZULMA I            ADDRESS ON FILE
BURGOS CARATTINI, MARITZA              ADDRESS ON FILE
BURGOS CARDONA, AWILDA                 ADDRESS ON FILE
BURGOS CARDONA, JORGE L.               ADDRESS ON FILE
BURGOS CARDONA, MADELINE               ADDRESS ON FILE
BURGOS CARRASQUILLO, ADELAIDA          ADDRESS ON FILE
BURGOS CARRASQUILLO, CARMEN R          ADDRESS ON FILE
BURGOS CARRASQUILLO, JOHANNA           ADDRESS ON FILE
BURGOS CARRION, KENDRA                 ADDRESS ON FILE
BURGOS CARRION, MARIA DE LOS ANGELES   ADDRESS ON FILE
BURGOS CARTAGENA, JEFFREY DANIEL       ADDRESS ON FILE
BURGOS CARTAGENA, LUIS                 ADDRESS ON FILE




                                                                                   Page 991 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 992 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS CARTAGENA, LUISA       ADDRESS ON FILE
BURGOS CARTAGENA, YOLANDA     ADDRESS ON FILE
BURGOS CASANOVA, WILMA I.     ADDRESS ON FILE
BURGOS CASIANO, ANAIMID       ADDRESS ON FILE
BURGOS CASIANO, DEVITH        ADDRESS ON FILE
BURGOS CASILLAS, MARIA        ADDRESS ON FILE
Burgos Castellanos, Ariel     ADDRESS ON FILE
BURGOS CASTELLANOS, JOSE      ADDRESS ON FILE
BURGOS CASTELLANOS, WILLIAM   ADDRESS ON FILE
BURGOS CASTILLO, EDDIE        ADDRESS ON FILE
BURGOS CASTILLO, EDDIE        ADDRESS ON FILE
BURGOS CASTRO, ANGEL L.       ADDRESS ON FILE
BURGOS CASTRO, ARLYN          ADDRESS ON FILE
Burgos Castro, Hector H       ADDRESS ON FILE
BURGOS CASTRO, JAVIER         ADDRESS ON FILE
BURGOS CASTRO, JUANITA        ADDRESS ON FILE
BURGOS CASTRO, MARIA I        ADDRESS ON FILE
BURGOS CASTRO, VALENTIN       ADDRESS ON FILE
BURGOS CEDENO, JEAN           ADDRESS ON FILE
BURGOS CENTENO, EDELINE       ADDRESS ON FILE
BURGOS CENTENO, MARILUZ       ADDRESS ON FILE
BURGOS CINTRON, CARLOS        ADDRESS ON FILE
BURGOS CINTRON, CARLOS A      ADDRESS ON FILE
BURGOS CINTRON, DENNIS        ADDRESS ON FILE
BURGOS CINTRON, GERMAN        ADDRESS ON FILE
BURGOS CINTRON, GERMAN L      ADDRESS ON FILE
BURGOS CINTRON, IVELISSE      ADDRESS ON FILE
BURGOS CINTRON, IVELISSE      ADDRESS ON FILE
BURGOS CINTRON, MARIA DEL C   ADDRESS ON FILE
BURGOS CINTRON, ORLANDO       ADDRESS ON FILE
BURGOS CINTRON, RICARDO       ADDRESS ON FILE
BURGOS COLLAZO, ADRIAN        ADDRESS ON FILE
BURGOS COLLAZO, CARMEN M      ADDRESS ON FILE
Burgos Collazo, Elizabeth     ADDRESS ON FILE
BURGOS COLLAZO, EMMA          ADDRESS ON FILE
Burgos Collazo, German        ADDRESS ON FILE
BURGOS COLLAZO, ISMAEL        ADDRESS ON FILE
Burgos Collazo, Luis          ADDRESS ON FILE
BURGOS COLLAZO, LUIS          ADDRESS ON FILE
BURGOS COLLAZO, LUIS A.       ADDRESS ON FILE
BURGOS COLLAZO, MARIBEL       ADDRESS ON FILE
BURGOS COLLAZO, MARISOL       ADDRESS ON FILE
BURGOS COLLAZO, NEIDA         ADDRESS ON FILE
Burgos Collazo, Porfirio      ADDRESS ON FILE
BURGOS COLLAZO, RAMON         ADDRESS ON FILE
BURGOS COLLAZO, YOLANDA       ADDRESS ON FILE
BURGOS COLON, ADELA           ADDRESS ON FILE
BURGOS COLON, ANTONIO         ADDRESS ON FILE
BURGOS COLON, ARACELIS        ADDRESS ON FILE
BURGOS COLON, AWILDA          ADDRESS ON FILE
BURGOS COLON, BRENDA L        ADDRESS ON FILE
Burgos Colon, Carlos A        ADDRESS ON FILE
BURGOS COLON, CARMEN I        ADDRESS ON FILE
BURGOS COLON, ELSA M          ADDRESS ON FILE
BURGOS COLON, EMMANUEL        ADDRESS ON FILE
BURGOS COLON, ENEIDA          ADDRESS ON FILE
BURGOS COLON, JANET           ADDRESS ON FILE
Burgos Colon, Jose E          ADDRESS ON FILE
BURGOS COLON, JOSE MANUEL     ADDRESS ON FILE
BURGOS COLON, JUAN            ADDRESS ON FILE




                                                                          Page 992 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 993 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS COLON, KARLA           ADDRESS ON FILE
BURGOS COLON, LENIS           ADDRESS ON FILE
BURGOS COLON, LILLIAN DEL C   ADDRESS ON FILE
BURGOS COLON, LUIS            ADDRESS ON FILE
BURGOS COLON, LUIS ANGEL      ADDRESS ON FILE
BURGOS COLON, MARIA C         ADDRESS ON FILE
BURGOS COLON, MARIANA         ADDRESS ON FILE
BURGOS COLON, MARIANO         ADDRESS ON FILE
BURGOS COLON, MARITZA         ADDRESS ON FILE
BURGOS COLON, MICAELA         ADDRESS ON FILE
Burgos Colon, Mileny          ADDRESS ON FILE
BURGOS COLON, MILENY          ADDRESS ON FILE
BURGOS COLON, OMAYRA          ADDRESS ON FILE
Burgos Colon, Oscar           ADDRESS ON FILE
BURGOS COLON, PAULA M         ADDRESS ON FILE
BURGOS COLON, RADAMES         ADDRESS ON FILE
BURGOS COLON, REINALDO        ADDRESS ON FILE
BURGOS COLON, SANDRA          ADDRESS ON FILE
BURGOS COLON, SONIA N.        ADDRESS ON FILE
BURGOS COLON, WANDA I         ADDRESS ON FILE
BURGOS COLON, WILFREDO        ADDRESS ON FILE
BURGOS COLON, YOLANDA         ADDRESS ON FILE
BURGOS COLON,LUZ D            ADDRESS ON FILE
BURGOS CONCEPCION, CARLOS     ADDRESS ON FILE
BURGOS CONCEPCION, DERTO      ADDRESS ON FILE
BURGOS CONCEPCION, JOSE L     ADDRESS ON FILE
BURGOS CONTRERAS, CARMEN      ADDRESS ON FILE
BURGOS CONTRERAS, JOHANNIS    ADDRESS ON FILE
BURGOS CONTRERAS, MIGUELA     ADDRESS ON FILE
BURGOS CORCINO, JOSE P.       ADDRESS ON FILE
BURGOS CORCINO, MARIA Z       ADDRESS ON FILE
BURGOS CORDOVA, HELEN         ADDRESS ON FILE
BURGOS CORDOVA, IRIS D        ADDRESS ON FILE
BURGOS CORDOVA, MYRIAM        ADDRESS ON FILE
BURGOS CORDOVA, ZENAIDA       ADDRESS ON FILE
BURGOS CORREA, DANIEL JOSE    ADDRESS ON FILE
BURGOS CORREA, HENRY          ADDRESS ON FILE
BURGOS CORREA, MAYRA D        ADDRESS ON FILE
BURGOS CORTES, EDWIN          ADDRESS ON FILE
BURGOS COTTO, BARBARA         ADDRESS ON FILE
BURGOS COTTO, JAVIER R        ADDRESS ON FILE
BURGOS COTTO, JUAN R          ADDRESS ON FILE
BURGOS COTTO, JULIE           ADDRESS ON FILE
BURGOS COTTO, VICTOR R.       ADDRESS ON FILE
BURGOS COTTO, YADIRA L        ADDRESS ON FILE
BURGOS CRESPO, CARMELO        ADDRESS ON FILE
BURGOS CRESPO, KAREN          ADDRESS ON FILE
BURGOS CRESPO, MONICA         ADDRESS ON FILE
BURGOS CRESPO, RICARDO        ADDRESS ON FILE
BURGOS CRUZ, ANGEL            ADDRESS ON FILE
BURGOS CRUZ, CARLOS           ADDRESS ON FILE
BURGOS CRUZ, CARLOS           ADDRESS ON FILE
BURGOS CRUZ, CARLOS           ADDRESS ON FILE
Burgos Cruz, Carlos J         ADDRESS ON FILE
BURGOS CRUZ, CARMEN A.        ADDRESS ON FILE
BURGOS CRUZ, DANIEL           ADDRESS ON FILE
BURGOS CRUZ, EDGAR            ADDRESS ON FILE
BURGOS CRUZ, EDGAR            ADDRESS ON FILE
BURGOS CRUZ, EDGARDO          ADDRESS ON FILE
BURGOS CRUZ, EDGARDO          ADDRESS ON FILE




                                                                          Page 993 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 994 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS CRUZ, EDWARD           ADDRESS ON FILE
BURGOS CRUZ, ELSIE            ADDRESS ON FILE
BURGOS CRUZ, ELSIE            ADDRESS ON FILE
BURGOS CRUZ, EMANUEL          ADDRESS ON FILE
BURGOS CRUZ, EVELYN           ADDRESS ON FILE
BURGOS CRUZ, GERARDO          ADDRESS ON FILE
BURGOS CRUZ, HECTOR           ADDRESS ON FILE
BURGOS CRUZ, HILDA            ADDRESS ON FILE
BURGOS CRUZ, HIPOLITO         ADDRESS ON FILE
BURGOS CRUZ, IRMA             ADDRESS ON FILE
BURGOS CRUZ, JACQUELINE       ADDRESS ON FILE
BURGOS CRUZ, JAIME            ADDRESS ON FILE
BURGOS CRUZ, JENNIFER         ADDRESS ON FILE
BURGOS CRUZ, JESUS            ADDRESS ON FILE
BURGOS CRUZ, JOCELYN          ADDRESS ON FILE
BURGOS CRUZ, JUAN             ADDRESS ON FILE
BURGOS CRUZ, KIRIATAIM        ADDRESS ON FILE
BURGOS CRUZ, LEIDA E          ADDRESS ON FILE
BURGOS CRUZ, LOIDA            ADDRESS ON FILE
BURGOS CRUZ, LUZ A            ADDRESS ON FILE
BURGOS CRUZ, LUZ E            ADDRESS ON FILE
BURGOS CRUZ, LUZ E            ADDRESS ON FILE
BURGOS CRUZ, MARGARITA        ADDRESS ON FILE
BURGOS CRUZ, MARIA D          ADDRESS ON FILE
BURGOS CRUZ, MARITZA          ADDRESS ON FILE
Burgos Cruz, Mary A           ADDRESS ON FILE
BURGOS CRUZ, MIGDALIA         ADDRESS ON FILE
BURGOS CRUZ, MILAGROS         ADDRESS ON FILE
BURGOS CRUZ, MILDRED I        ADDRESS ON FILE
BURGOS CRUZ, NAYDA M          ADDRESS ON FILE
BURGOS CRUZ, ORLANDO          ADDRESS ON FILE
BURGOS CRUZ, RAMON            ADDRESS ON FILE
BURGOS CRUZ, ROSA             ADDRESS ON FILE
BURGOS CRUZ, SANTIAGO         ADDRESS ON FILE
BURGOS CRUZ, WANDA            ADDRESS ON FILE
BURGOS CRUZ, WILBERTO         ADDRESS ON FILE
BURGOS CRUZ, WILLIAM          ADDRESS ON FILE
BURGOS CUEVAS, CARLOS         ADDRESS ON FILE
BURGOS CUEVAS, LUIS           ADDRESS ON FILE
BURGOS CURCIO, ANGEL          ADDRESS ON FILE
BURGOS CURCIO, LUIS           ADDRESS ON FILE
Burgos Davila, Bernnis A.     ADDRESS ON FILE
BURGOS DAVILA, DELMARIE       ADDRESS ON FILE
BURGOS DAVILA, FRANCELA       ADDRESS ON FILE
BURGOS DAVILA, JESSICA        ADDRESS ON FILE
BURGOS DAVILA, JOSE           ADDRESS ON FILE
BURGOS DAVILA, LUZ M          ADDRESS ON FILE
BURGOS DAVILA, NOEL H         ADDRESS ON FILE
BURGOS DAVILA, RAYMOND        ADDRESS ON FILE
BURGOS DAVILA, RAYMOND        ADDRESS ON FILE
Burgos De Colon, Miriam       ADDRESS ON FILE
BURGOS DE IRIZARRY, JUANITA   ADDRESS ON FILE
BURGOS DE JESUS, HECTOR       ADDRESS ON FILE
BURGOS DE JESUS, LUIS         ADDRESS ON FILE
BURGOS DE JESUS, MARIA        ADDRESS ON FILE
BURGOS DE JESUS, MARIA I      ADDRESS ON FILE
BURGOS DE JESUS, MIGUEL       ADDRESS ON FILE
BURGOS DE JESUS, MIRSONIA     ADDRESS ON FILE
BURGOS DE JESUS, OMAR         ADDRESS ON FILE
BURGOS DE JESUS, PEDRO        ADDRESS ON FILE




                                                                          Page 994 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor
                                                                            Case No.Matrix
                                                                                    17 BK 3283‐LTSPage 995 of 3500
                                                                                   Creditor Matrix

Creditor Name                         Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS DE JESUS, PEDRO                ADDRESS ON FILE
BURGOS DE JESUS, WILFREDO             ADDRESS ON FILE
BURGOS DE LA PAZ, GREGORIA            ADDRESS ON FILE
BURGOS DE LEON, FERDINAND             ADDRESS ON FILE
BURGOS DE PEREZ, ROSA L               ADDRESS ON FILE
BURGOS DEL MORAL, LUIS O              ADDRESS ON FILE
BURGOS DEL RIO, FERDINAND             ADDRESS ON FILE
Burgos Del Toro, Benjamin             ADDRESS ON FILE
BURGOS DEL VALLE, KAELYNE             ADDRESS ON FILE
BURGOS DEL VALLE, RAMONITA            ADDRESS ON FILE
BURGOS DELGADO, CARMEN M              ADDRESS ON FILE
BURGOS DELGADO, ELBA I                ADDRESS ON FILE
BURGOS DELGADO, JOSE                  ADDRESS ON FILE
BURGOS DIAZ, ALBERTO                  ADDRESS ON FILE
BURGOS DIAZ, ANGELA V                 ADDRESS ON FILE
BURGOS DIAZ, ARLEX                    ADDRESS ON FILE
BURGOS DIAZ, AXEL J.                  ADDRESS ON FILE
BURGOS DIAZ, BEATRIZ                  ADDRESS ON FILE
BURGOS DIAZ, BEATRIZ                  ADDRESS ON FILE
Burgos Diaz, Carlos R                 ADDRESS ON FILE
BURGOS DIAZ, CAROLA                   ADDRESS ON FILE
BURGOS DIAZ, CHRISTOPHER              ADDRESS ON FILE
BURGOS DIAZ, DAMARIS                  ADDRESS ON FILE
BURGOS DIAZ, DIANIRIS                 ADDRESS ON FILE
Burgos Diaz, Edgardo                  ADDRESS ON FILE
BURGOS DIAZ, ERICK                    ADDRESS ON FILE
BURGOS DIAZ, EUGENIA M                ADDRESS ON FILE
BURGOS DIAZ, EVELYN                   ADDRESS ON FILE
BURGOS DIAZ, FERNANDO                 ADDRESS ON FILE
BURGOS DIAZ, GLORIA M                 ADDRESS ON FILE
BURGOS DIAZ, JAVIER                   ADDRESS ON FILE
Burgos Diaz, Javier R                 ADDRESS ON FILE
BURGOS DIAZ, LEYLA                    ADDRESS ON FILE
Burgos Diaz, Madeline                 ADDRESS ON FILE
BURGOS DIAZ, MARICEL Y                ADDRESS ON FILE
BURGOS DIAZ, MARICELY                 ADDRESS ON FILE
BURGOS DIAZ, MILTON                   ADDRESS ON FILE
BURGOS DIAZ, MISAEL                   ADDRESS ON FILE
BURGOS DIAZ, NICOLAS                  ADDRESS ON FILE
BURGOS DIAZ, ROBERTO                  ADDRESS ON FILE
BURGOS DIAZ, SAMUEL R                 ADDRESS ON FILE
BURGOS DIAZ, YAMILKA                  ADDRESS ON FILE
BURGOS DIAZ, YESENIA                  ADDRESS ON FILE
BURGOS DOMINGUEZ, RAYMOND             ADDRESS ON FILE
BURGOS ELIZA, HILDA                   ADDRESS ON FILE
BURGOS ENCARNACION, CHRISTIAN         ADDRESS ON FILE
BURGOS ENGENEERING PROFESIONAL CORP   PO BOX 6496                                                                      CAGUAS       PR      00726
BURGOS ESCALERA, JOSE A               ADDRESS ON FILE
BURGOS ESCOBAR, ESTHER                ADDRESS ON FILE
BURGOS ESPADA, ALEXANDRA              ADDRESS ON FILE
BURGOS ESPADA, LOYDA J.               ADDRESS ON FILE
Burgos Espinell, Jeannette            ADDRESS ON FILE
BURGOS ESQUILIN, RUBEN                ADDRESS ON FILE
BURGOS FALCON, JOSE                   ADDRESS ON FILE
BURGOS FALCON, MILAGROS               ADDRESS ON FILE
BURGOS FANTAUZZI, CARMEN L            ADDRESS ON FILE
BURGOS FEBUS, EULALIA                 ADDRESS ON FILE
Burgos Febus, Herminio                ADDRESS ON FILE
BURGOS FEBUS, HERMINIO                ADDRESS ON FILE
BURGOS FEBUS, ORLANDO                 ADDRESS ON FILE




                                                                                  Page 995 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 996 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS FELICIANO, IRIS D        ADDRESS ON FILE
BURGOS FELICIANO, LUIS F        ADDRESS ON FILE
BURGOS FELICIANO, MIGUEL        ADDRESS ON FILE
BURGOS FELIX, HECTOR I          ADDRESS ON FILE
BURGOS FEO, DENISSE             ADDRESS ON FILE
BURGOS FEO, HEIDI               ADDRESS ON FILE
BURGOS FEO, HEIDI               ADDRESS ON FILE
BURGOS FERNANDEZ, CARMEN I      ADDRESS ON FILE
BURGOS FERNANDEZ, MARIA C       ADDRESS ON FILE
BURGOS FERNANDEZ, SYLVIA E      ADDRESS ON FILE
BURGOS FERREIRA, JUAN           ADDRESS ON FILE
BURGOS FERREIRA, ROSA           ADDRESS ON FILE
BURGOS FERRER, DORIS            ADDRESS ON FILE
BURGOS FERRER, EDNA L           ADDRESS ON FILE
BURGOS FIGUEROA, ALEX           ADDRESS ON FILE
Burgos Figueroa, Alex F         ADDRESS ON FILE
BURGOS FIGUEROA, ALMA           ADDRESS ON FILE
BURGOS FIGUEROA, ANA            ADDRESS ON FILE
BURGOS FIGUEROA, DAMARIS        ADDRESS ON FILE
BURGOS FIGUEROA, DAMARIS R.     ADDRESS ON FILE
BURGOS FIGUEROA, DORIS N        ADDRESS ON FILE
BURGOS FIGUEROA, ENEIDA         ADDRESS ON FILE
BURGOS FIGUEROA, FRANCISCO X.   ADDRESS ON FILE
BURGOS FIGUEROA, HECTOR         ADDRESS ON FILE
BURGOS FIGUEROA, LUZ            ADDRESS ON FILE
BURGOS FIGUEROA, MADELYNE       ADDRESS ON FILE
BURGOS FIGUEROA, MARIA E        ADDRESS ON FILE
Burgos Figueroa, Osvaldo        ADDRESS ON FILE
BURGOS FIGUEROA, ROBERTO        ADDRESS ON FILE
BURGOS FIGUEROA, ROLANDO        ADDRESS ON FILE
BURGOS FIGUEROA, SHADDE         ADDRESS ON FILE
BURGOS FIGUEROA, TOMASA         ADDRESS ON FILE
BURGOS FILPO, YMELDA A          ADDRESS ON FILE
BURGOS FITTIPALDI, MICHAEL      ADDRESS ON FILE
BURGOS FITTIPALDI, MICHELLE     ADDRESS ON FILE
BURGOS FLORES, ADA              ADDRESS ON FILE
BURGOS FLORES, AIXA             ADDRESS ON FILE
BURGOS FLORES, CARMEN I         ADDRESS ON FILE
BURGOS FLORES, CARMEN M         ADDRESS ON FILE
BURGOS FLORES, ELBA             ADDRESS ON FILE
BURGOS FLORES, HENRY            ADDRESS ON FILE
BURGOS FLORES, HERNAN           ADDRESS ON FILE
BURGOS FLORES, KARLA            ADDRESS ON FILE
BURGOS FLORES, MARIA R          ADDRESS ON FILE
BURGOS FLORES, NORIMAR          ADDRESS ON FILE
BURGOS FLORES, SYLVIA I.        ADDRESS ON FILE
BURGOS FONSECA, BRENDA L        ADDRESS ON FILE
BURGOS FONSECA, CARMEN M        ADDRESS ON FILE
BURGOS FONSECA, JOSE L.         ADDRESS ON FILE
BURGOS FONTAN, EDGAR            ADDRESS ON FILE
BURGOS FONTAN, LIZ              ADDRESS ON FILE
BURGOS FONTANEZ, AGUSTINA       ADDRESS ON FILE
BURGOS FONTANEZ, JOSE M.        ADDRESS ON FILE
BURGOS FONTANEZ, JULIO C        ADDRESS ON FILE
BURGOS FORTI, ELIZABETH         ADDRESS ON FILE
Burgos Fortis, Angel L          ADDRESS ON FILE
BURGOS FORTIS, ROLANDO          ADDRESS ON FILE
BURGOS FOURNIER, YOLANDA        ADDRESS ON FILE
BURGOS FUENTES, ANGELICA        ADDRESS ON FILE
BURGOS FUENTES, GEORGINA        ADDRESS ON FILE




                                                                            Page 996 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                                Exhibit A-1 - Creditor
                                                                    Case No.Matrix
                                                                            17 BK 3283‐LTSPage 997 of 3500
                                                                           Creditor Matrix

Creditor Name                 Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS FUENTES, JESNICA       ADDRESS ON FILE
BURGOS FUENTES, JOSE          ADDRESS ON FILE
BURGOS GANDIA, AUGUSTO C      ADDRESS ON FILE
BURGOS GARAY, EILEEN          ADDRESS ON FILE
BURGOS GARAY, JENNIFER        ADDRESS ON FILE
BURGOS GARCIA, ADA E          ADDRESS ON FILE
BURGOS GARCIA, ADA I          ADDRESS ON FILE
BURGOS GARCIA, AIDA           ADDRESS ON FILE
BURGOS GARCIA, ALBERTO        ADDRESS ON FILE
BURGOS GARCIA, CARLETTE       ADDRESS ON FILE
Burgos Garcia, Carlos J       ADDRESS ON FILE
BURGOS GARCIA, CARMEN L       ADDRESS ON FILE
BURGOS GARCIA, DAVID          ADDRESS ON FILE
Burgos Garcia, Doris E        ADDRESS ON FILE
BURGOS GARCIA, ESTERVINA      ADDRESS ON FILE
BURGOS GARCIA, ETTELISSE      ADDRESS ON FILE
BURGOS GARCIA, EVELYN         ADDRESS ON FILE
BURGOS GARCIA, EVELYN         ADDRESS ON FILE
BURGOS GARCIA, FELIX          ADDRESS ON FILE
BURGOS GARCIA, JOSE           ADDRESS ON FILE
BURGOS GARCIA, JOSUE E        ADDRESS ON FILE
BURGOS GARCIA, LORRAINE       ADDRESS ON FILE
BURGOS GARCIA, LUZ E          ADDRESS ON FILE
BURGOS GARCIA, MARIA DEL C    ADDRESS ON FILE
Burgos Garcia, Miliam         ADDRESS ON FILE
BURGOS GARCIA, MIRTELINA      ADDRESS ON FILE
BURGOS GARCIA, MONICA         ADDRESS ON FILE
BURGOS GARCIA, SHAYRA         ADDRESS ON FILE
BURGOS GARCIA, SHEILA M       ADDRESS ON FILE
BURGOS GARCIA, SONIA          ADDRESS ON FILE
BURGOS GARCIA, VICTOR         ADDRESS ON FILE
BURGOS GOLDINGER, CHRISTIAN   ADDRESS ON FILE
BURGOS GOLDINGER, CHRISTIAN   ADDRESS ON FILE
Burgos Gomez, Carlos J        ADDRESS ON FILE
BURGOS GOMEZ, HERMINIO        ADDRESS ON FILE
BURGOS GOMEZ, LILIAM D        ADDRESS ON FILE
BURGOS GONZALES, MARIA R.     ADDRESS ON FILE
Burgos Gonzalez, Alberto      ADDRESS ON FILE
BURGOS GONZALEZ, ALICIA       ADDRESS ON FILE
BURGOS GONZALEZ, ALMA         ADDRESS ON FILE
BURGOS GONZALEZ, ANGEL        ADDRESS ON FILE
Burgos Gonzalez, Aquilino     ADDRESS ON FILE
Burgos Gonzalez, Carlos A     ADDRESS ON FILE
BURGOS GONZALEZ, CARMEN M.    ADDRESS ON FILE
BURGOS GONZALEZ, DENISSE      ADDRESS ON FILE
Burgos Gonzalez, Edwin        ADDRESS ON FILE
BURGOS GONZALEZ, EDWIN        ADDRESS ON FILE
BURGOS GONZALEZ, EDWIN        ADDRESS ON FILE
BURGOS GONZALEZ, ELIZABETH    ADDRESS ON FILE
BURGOS GONZALEZ, JOHANNA      ADDRESS ON FILE
Burgos Gonzalez, Jorge        ADDRESS ON FILE
BURGOS GONZALEZ, JOSE A       ADDRESS ON FILE
BURGOS GONZALEZ, JOSE E       ADDRESS ON FILE
BURGOS GONZALEZ, JUAN C       ADDRESS ON FILE
BURGOS GONZALEZ, JUAN E.      ADDRESS ON FILE
BURGOS GONZALEZ, JUSTO        ADDRESS ON FILE
BURGOS GONZALEZ, LEA          ADDRESS ON FILE
BURGOS GONZALEZ, LUIS         ADDRESS ON FILE
BURGOS GONZALEZ, MARCEL R.    ADDRESS ON FILE
BURGOS GONZALEZ, MARIA DE L   ADDRESS ON FILE




                                                                          Page 997 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 998 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS GONZALEZ, MILAGROS       ADDRESS ON FILE
BURGOS GONZALEZ, OLEX           ADDRESS ON FILE
BURGOS GONZALEZ, OLGA I         ADDRESS ON FILE
BURGOS GONZALEZ, RAFAEL A.      ADDRESS ON FILE
BURGOS GONZALEZ, ROSELIN        ADDRESS ON FILE
BURGOS GONZALEZ, SANTIAGO       ADDRESS ON FILE
BURGOS GONZALEZ, WILMA          ADDRESS ON FILE
BURGOS GUADALUPE, HILDA         ADDRESS ON FILE
BURGOS GUEVARA, SANDRA E        ADDRESS ON FILE
BURGOS GUTIERREZ, ELIZABETH     ADDRESS ON FILE
BURGOS GUTIERREZ, ELIZABETH     ADDRESS ON FILE
BURGOS GUTIERREZ, NILDA M.      ADDRESS ON FILE
Burgos Guzman, Alberto J        ADDRESS ON FILE
Burgos Guzman, Carlos L         ADDRESS ON FILE
BURGOS GUZMAN, EDITH            ADDRESS ON FILE
BURGOS GUZMAN, FLORA            ADDRESS ON FILE
Burgos Guzman, Graciano         ADDRESS ON FILE
Burgos Guzman, Jorge L.         ADDRESS ON FILE
BURGOS GUZMAN, JOSE L.          ADDRESS ON FILE
Burgos Guzman, Jose S           ADDRESS ON FILE
BURGOS GUZMAN, JUSTO L          ADDRESS ON FILE
BURGOS GUZMAN, MADELINE         ADDRESS ON FILE
BURGOS HERNANDEZ, ADIEL         ADDRESS ON FILE
BURGOS HERNANDEZ, ALEX JAVIER   ADDRESS ON FILE
BURGOS HERNANDEZ, BETHSY        ADDRESS ON FILE
BURGOS HERNANDEZ, BRIAN         ADDRESS ON FILE
BURGOS HERNANDEZ, CARMEN N      ADDRESS ON FILE
Burgos Hernandez, Charlie       ADDRESS ON FILE
BURGOS HERNANDEZ, CHRISTIAN     ADDRESS ON FILE
BURGOS HERNANDEZ, FELICITA      ADDRESS ON FILE
BURGOS HERNANDEZ, FELIX E.      ADDRESS ON FILE
BURGOS HERNANDEZ, FRANCISCO     ADDRESS ON FILE
BURGOS HERNANDEZ, GEORGINA      ADDRESS ON FILE
BURGOS HERNANDEZ, GEORGINA      ADDRESS ON FILE
BURGOS HERNANDEZ, GRISEL        ADDRESS ON FILE
BURGOS HERNANDEZ, HECTOR M      ADDRESS ON FILE
Burgos Hernandez, Hilda         ADDRESS ON FILE
BURGOS HERNANDEZ, IVONNE        ADDRESS ON FILE
BURGOS HERNANDEZ, JARILA        ADDRESS ON FILE
BURGOS HERNANDEZ, JOHNALEX      ADDRESS ON FILE
Burgos Hernandez, Juan          ADDRESS ON FILE
BURGOS HERNANDEZ, MILTON        ADDRESS ON FILE
Burgos Hernandez, Narcisa       ADDRESS ON FILE
BURGOS HERNANDEZ, NELIDA        ADDRESS ON FILE
Burgos Hernandez, Noralex J     ADDRESS ON FILE
BURGOS HERNANDEZ, SERGIO        ADDRESS ON FILE
BURGOS HERNANDEZ, TANIA D       ADDRESS ON FILE
BURGOS HERNANDEZ, ZARIANA L.    ADDRESS ON FILE
BURGOS HIDALGO, MANUEL          ADDRESS ON FILE
BURGOS HIDALGO, MANUEL A        ADDRESS ON FILE
BURGOS HOSPITAL SUPPLY          URB SANTA MONICA          A‐13 CALLE 13                                          BAYAMON      PR      00957
BURGOS HUERTAS, EDWIN           ADDRESS ON FILE
Burgos Huertas, Edwin E         ADDRESS ON FILE
BURGOS HUERTAS, ELIEZER         ADDRESS ON FILE
BURGOS HUERTAS, IRIS D          ADDRESS ON FILE
BURGOS HUERTAS, MARIBEL         ADDRESS ON FILE
Burgos Huertas, Roberto         ADDRESS ON FILE
BURGOS IRENES, LUZ V            ADDRESS ON FILE
BURGOS IRIZARRY, DIANA          ADDRESS ON FILE
BURGOS IRIZARRY, HIRAM          ADDRESS ON FILE




                                                                            Page 998 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor
                                                                      Case No.Matrix
                                                                              17 BK 3283‐LTSPage 999 of 3500
                                                                             Creditor Matrix

Creditor Name                   Address1                  Address2                        Address3   Address4    City         State   PostalCode   Country
BURGOS IRIZARRY, IVETTE         ADDRESS ON FILE
BURGOS IZQUIERDO, EMANUEL       ADDRESS ON FILE
BURGOS IZQUIERDO, JONATHAN      ADDRESS ON FILE
BURGOS JIMENEZ, BLANCA J        ADDRESS ON FILE
BURGOS JIMENEZ, CARLOS          ADDRESS ON FILE
BURGOS JIMENEZ, DENIS           ADDRESS ON FILE
BURGOS JIMENEZ, EMIBEL          ADDRESS ON FILE
BURGOS JIMENEZ, FERNANDO        ADDRESS ON FILE
BURGOS JOUBERT, MELQUIADES      ADDRESS ON FILE
BURGOS JR CLAUSSELL, ROMULO     ADDRESS ON FILE
BURGOS JUSTINIANO, EVELYN       ADDRESS ON FILE
Burgos Koch, Jose A             ADDRESS ON FILE
BURGOS KUILAN, JULIO            ADDRESS ON FILE
BURGOS LA LUZ, NEFTALY          ADDRESS ON FILE
BURGOS LA LUZ, RAMON            ADDRESS ON FILE
BURGOS LA SANTA, HECTOR         ADDRESS ON FILE
BURGOS LA TORRE, MARGARITA      ADDRESS ON FILE
BURGOS LABOY, LOURDES           ADDRESS ON FILE
BURGOS LABOY, MANUEL            ADDRESS ON FILE
BURGOS LARREGUI, JOSE M.        ADDRESS ON FILE
BURGOS LASANTA, VICNELISSE      ADDRESS ON FILE
BURGOS LEBRON, EDITH            ADDRESS ON FILE
BURGOS LEBRON, EDUARDO          ADDRESS ON FILE
BURGOS LEBRON, JUAN             ADDRESS ON FILE
BURGOS LEBRON, JUANITA          ADDRESS ON FILE
BURGOS LEON, ALBERTO            ADDRESS ON FILE
BURGOS LEON, FELIX              ADDRESS ON FILE
BURGOS LEON, JOSE A             ADDRESS ON FILE
Burgos Leon, Jose M             ADDRESS ON FILE
BURGOS LEON, JUAN               ADDRESS ON FILE
BURGOS LEON, MARIA              ADDRESS ON FILE
BURGOS LOPE, YOLYMAR            ADDRESS ON FILE
BURGOS LOPEZ, ALEXANDRA         ADDRESS ON FILE
BURGOS LOPEZ, ANGEL L.          ADDRESS ON FILE
BURGOS LOPEZ, CARLOS            ADDRESS ON FILE
BURGOS LOPEZ, DAVID             ADDRESS ON FILE
BURGOS LOPEZ, EFRAIN            ADDRESS ON FILE
Burgos Lopez, Enriquez          ADDRESS ON FILE
BURGOS LOPEZ, FERNANDO L.       ADDRESS ON FILE
BURGOS LOPEZ, FRANCISCO         ADDRESS ON FILE
BURGOS LOPEZ, GILBERTO          ADDRESS ON FILE
BURGOS LOPEZ, HIRAM             ADDRESS ON FILE
BURGOS LOPEZ, IVETTE            ADDRESS ON FILE
BURGOS LOPEZ, JOSE              ADDRESS ON FILE
BURGOS LOPEZ, JOSEPH            ADDRESS ON FILE
Burgos Lopez, Juan              ADDRESS ON FILE
BURGOS LOPEZ, JULIO             ADDRESS ON FILE
BURGOS LOPEZ, LUIS              ADDRESS ON FILE
BURGOS LOPEZ, LUIS              ADDRESS ON FILE
BURGOS LOPEZ, MARIA D           ADDRESS ON FILE
BURGOS LOPEZ, MARIA DE L        ADDRESS ON FILE
BURGOS LOPEZ, MARIA DE LOS A.   ADDRESS ON FILE
BURGOS LOPEZ, MARILIS           ADDRESS ON FILE
BURGOS LOPEZ, MICHELLE          ADDRESS ON FILE
Burgos Lopez, Neyda M           ADDRESS ON FILE
BURGOS LOPEZ, RAFAEL            ADDRESS ON FILE
BURGOS LOPEZ, RAMONITA          ADDRESS ON FILE
BURGOS LOPEZ, RAUL              ADDRESS ON FILE
BURGOS LOPEZ, REINALDO          ADDRESS ON FILE
BURGOS LOPEZ, ROBERTO           ADDRESS ON FILE




                                                                            Page 999 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1000 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Burgos Lopez, Samuel          ADDRESS ON FILE
BURGOS LOPEZ, SORYVETT        ADDRESS ON FILE
BURGOS LOPEZ, WALESCA         ADDRESS ON FILE
BURGOS LOPEZ, WANDA           ADDRESS ON FILE
BURGOS LOYO, CARMEN           ADDRESS ON FILE
BURGOS LOYO, MARIA            ADDRESS ON FILE
BURGOS LOYO, NYDIA E          ADDRESS ON FILE
BURGOS LOYO, WIDALIS          ADDRESS ON FILE
BURGOS LOZADA, IRMA           ADDRESS ON FILE
BURGOS LOZADA, JOKSAN         ADDRESS ON FILE
BURGOS LOZADA, NORMA I        ADDRESS ON FILE
BURGOS LUCCIONI, NELSON       ADDRESS ON FILE
BURGOS LUGO, ANGEL G.         ADDRESS ON FILE
BURGOS LUGO, FREDDIE V        ADDRESS ON FILE
BURGOS LUGO, JORGE            ADDRESS ON FILE
BURGOS LUGO, JORGE L.         ADDRESS ON FILE
BURGOS LUGO, JOSE             ADDRESS ON FILE
BURGOS LUGO, SAMUEL           ADDRESS ON FILE
BURGOS LUGO,LAURA             ADDRESS ON FILE
BURGOS LUNA, MARIE C          ADDRESS ON FILE
BURGOS MACHADO, ROSA M        ADDRESS ON FILE
Burgos Malave, Felix          ADDRESS ON FILE
BURGOS MALAVE, FELIX          ADDRESS ON FILE
BURGOS MALDONADO, ADA M.      ADDRESS ON FILE
BURGOS MALDONADO, ADA N.      ADDRESS ON FILE
BURGOS MALDONADO, CLAUDIO     ADDRESS ON FILE
BURGOS MALDONADO, ELVIS O.    ADDRESS ON FILE
BURGOS MALDONADO, GEORGINA    ADDRESS ON FILE
BURGOS MALDONADO, JOBETH A    ADDRESS ON FILE
BURGOS MALDONADO, MARIEL      ADDRESS ON FILE
BURGOS MALDONADO, RICARDO     ADDRESS ON FILE
BURGOS MANGUAL, WILSON        ADDRESS ON FILE
BURGOS MANSO, JOSE            ADDRESS ON FILE
BURGOS MARCANO, CARMEN P      ADDRESS ON FILE
BURGOS MARCANO, JOSE          ADDRESS ON FILE
BURGOS MARGARY, ANGEL L.      ADDRESS ON FILE
Burgos Marin, Jose A          ADDRESS ON FILE
BURGOS MARIN, MAYRA D         ADDRESS ON FILE
BURGOS MARIN, MILDRED M       ADDRESS ON FILE
Burgos Marquez, Gilberto      ADDRESS ON FILE
BURGOS MARQUEZ, JOEL          ADDRESS ON FILE
Burgos Marquez, Ramon         ADDRESS ON FILE
BURGOS MARRERO, ANGEL F       ADDRESS ON FILE
BURGOS MARRERO, GLADYMAR      ADDRESS ON FILE
BURGOS MARRERO, LOUIS IVAN    ADDRESS ON FILE
BURGOS MARTE, NORIS           ADDRESS ON FILE
BURGOS MARTE, NORIS           ADDRESS ON FILE
BURGOS MARTIN, CANDIDA        ADDRESS ON FILE
BURGOS MARTINEZ, ADA E        ADDRESS ON FILE
BURGOS MARTINEZ, ANA M        ADDRESS ON FILE
BURGOS MARTINEZ, ANARELYS     ADDRESS ON FILE
BURGOS MARTINEZ, ANGEL        ADDRESS ON FILE
BURGOS MARTINEZ, CATALINO     ADDRESS ON FILE
BURGOS MARTINEZ, EDNA         ADDRESS ON FILE
BURGOS MARTINEZ, ELIZA        ADDRESS ON FILE
BURGOS MARTINEZ, ISAURA       ADDRESS ON FILE
BURGOS MARTINEZ, JACQUELINE   ADDRESS ON FILE
Burgos Martinez, Jane P       ADDRESS ON FILE
BURGOS MARTINEZ, JOEL         ADDRESS ON FILE
Burgos Martinez, Jose L       ADDRESS ON FILE




                                                                          Page 1000 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1001 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS MARTINEZ, JUAN        ADDRESS ON FILE
BURGOS MARTINEZ, JUAN        ADDRESS ON FILE
BURGOS MARTINEZ, LAURA       ADDRESS ON FILE
BURGOS MARTINEZ, LUIS A.     ADDRESS ON FILE
BURGOS MARTINEZ, MARIA M     ADDRESS ON FILE
Burgos Martinez, Marisol     ADDRESS ON FILE
BURGOS MARTINEZ, MELANIE     ADDRESS ON FILE
Burgos Martinez, Migdalia    ADDRESS ON FILE
Burgos Martinez, Miguel A    ADDRESS ON FILE
BURGOS MARTINEZ, NOEMI       ADDRESS ON FILE
BURGOS MARTINEZ, PABLO M     ADDRESS ON FILE
BURGOS MARTINEZ, TANYA       ADDRESS ON FILE
BURGOS MARTINEZ, WILLIAM     ADDRESS ON FILE
BURGOS MARTIR, JESSICA       ADDRESS ON FILE
BURGOS MARTIR, MELISSA       ADDRESS ON FILE
BURGOS MARTIR, MELISSA       ADDRESS ON FILE
BURGOS MASSANET, ALEXANDRA   ADDRESS ON FILE
BURGOS MATEO, YANITZIA E.    ADDRESS ON FILE
BURGOS MATOS, EVELYN         ADDRESS ON FILE
BURGOS MATOS, HECTOR B B     ADDRESS ON FILE
BURGOS MATOS, MAYRA          ADDRESS ON FILE
BURGOS MATOS, MAYRA L        ADDRESS ON FILE
BURGOS MATOS, NEREIDA I      ADDRESS ON FILE
BURGOS MATOS, OSVALDO        ADDRESS ON FILE
BURGOS MAYSONET, NORBERTO    ADDRESS ON FILE
BURGOS MCLAUGHLIN, DENNIS    ADDRESS ON FILE
BURGOS MD, MIGUEL            ADDRESS ON FILE
BURGOS MEDINA, BEATRIZ       ADDRESS ON FILE
BURGOS MEDINA, EDWIN         ADDRESS ON FILE
BURGOS MEDINA, JOSE          ADDRESS ON FILE
BURGOS MEDINA, JUAN W        ADDRESS ON FILE
BURGOS MEDINA, MEGAN M       ADDRESS ON FILE
BURGOS MEJIAS, DOEL          ADDRESS ON FILE
BURGOS MELENDEZ, AMNERIS     ADDRESS ON FILE
BURGOS MELENDEZ, CARLOS      ADDRESS ON FILE
BURGOS MELENDEZ, EDGARDO     ADDRESS ON FILE
Burgos Melendez, Edwin       ADDRESS ON FILE
BURGOS MELENDEZ, EDWIN N     ADDRESS ON FILE
BURGOS MELENDEZ, ESMERALDO   ADDRESS ON FILE
BURGOS MELENDEZ, GUILLERMO   ADDRESS ON FILE
BURGOS MELENDEZ, JAVIER O.   ADDRESS ON FILE
BURGOS MELENDEZ, JENIFER     ADDRESS ON FILE
BURGOS MELENDEZ, KEISHLA     ADDRESS ON FILE
BURGOS MELENDEZ, LUIS        ADDRESS ON FILE
Burgos Melendez, Luis A      ADDRESS ON FILE
BURGOS MELENDEZ, MIOSOTIS    ADDRESS ON FILE
BURGOS MELENDEZ, NEFTALI     ADDRESS ON FILE
BURGOS MELENDEZ, NOEL        ADDRESS ON FILE
BURGOS MELENDEZ, NOEMI       ADDRESS ON FILE
BURGOS MELENDEZ, OSCAR       ADDRESS ON FILE
BURGOS MELENDEZ, ROBERTO     ADDRESS ON FILE
BURGOS MELENDEZ, SANDRA      ADDRESS ON FILE
BURGOS MELENDEZ, SONIA       ADDRESS ON FILE
BURGOS MELENDEZ, WILLIAM     ADDRESS ON FILE
BURGOS MELENDEZ, YESENIA     ADDRESS ON FILE
BURGOS MENDEZ, ANDREA        ADDRESS ON FILE
Burgos Mendez, Edwin         ADDRESS ON FILE
Burgos Mendez, Iris M        ADDRESS ON FILE
Burgos Mendez, Jose          ADDRESS ON FILE
BURGOS MENDOZA, CALIXTA      ADDRESS ON FILE




                                                                         Page 1001 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1002 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS MERCADO MD, MARISEL        ADDRESS ON FILE
Burgos Mercado, Adolfo E          ADDRESS ON FILE
Burgos Mercado, Daniel            ADDRESS ON FILE
BURGOS MERCADO, JOSE              ADDRESS ON FILE
BURGOS MERCADO, JUAN              ADDRESS ON FILE
BURGOS MERCADO, LAURALIZ          ADDRESS ON FILE
BURGOS MERCADO, MARIBEL           ADDRESS ON FILE
BURGOS MERCADO, MARIBEL           ADDRESS ON FILE
BURGOS MESTRE, CRISTINE           ADDRESS ON FILE
BURGOS MESTRE, ORLANDO            ADDRESS ON FILE
BURGOS MILETE, LUIS F             ADDRESS ON FILE
BURGOS MILLAN, GINETTE            ADDRESS ON FILE
BURGOS MILLAN, GINETTE            ADDRESS ON FILE
BURGOS MILLAN, IVETTE             ADDRESS ON FILE
BURGOS MILLAN, IVETTE             ADDRESS ON FILE
BURGOS MILLAN, RAQUEL             ADDRESS ON FILE
BURGOS MILLET, JOSE L             ADDRESS ON FILE
BURGOS MILLET, YOLANDA            ADDRESS ON FILE
BURGOS MINONDO, CARMEN L          ADDRESS ON FILE
BURGOS MIRANDA, EMMANUEL          ADDRESS ON FILE
BURGOS MIRANDA, HECTOR E          ADDRESS ON FILE
BURGOS MIRANDA, JOSE A            ADDRESS ON FILE
BURGOS MIRANDA, JUAN MANUEL       ADDRESS ON FILE
BURGOS MIRANDA, LILLIANA          ADDRESS ON FILE
BURGOS MIRANDA, LUIS              ADDRESS ON FILE
BURGOS MIRANDA, MADELINE          ADDRESS ON FILE
BURGOS MIRANDA, RAFAEL            ADDRESS ON FILE
BURGOS MIRANDA, STEPHANIE         ADDRESS ON FILE
BURGOS MIRANDA, WANDA I           ADDRESS ON FILE
BURGOS MOJICA, ANGEL M.           ADDRESS ON FILE
BURGOS MOJICA, MAGDIELYZ          ADDRESS ON FILE
Burgos Molina, Luis E             ADDRESS ON FILE
BURGOS MOLINA, MARIA D            ADDRESS ON FILE
BURGOS MOLINA, MELANIE            ADDRESS ON FILE
BURGOS MONTALVO, CESAR            ADDRESS ON FILE
Burgos Montalvo, Cesar Francisc   ADDRESS ON FILE
BURGOS MONTALVO, ISMAEL           ADDRESS ON FILE
BURGOS MONTANE, INGRID M          ADDRESS ON FILE
BURGOS MONTANE, RENE              ADDRESS ON FILE
BURGOS MONTANEZ, HECTOR           ADDRESS ON FILE
BURGOS MONTANEZ, MARCOS D.        ADDRESS ON FILE
Burgos Monte, Efrain              ADDRESS ON FILE
BURGOS MONTERO, ELIZABETH         ADDRESS ON FILE
BURGOS MONTERO, RENZO             ADDRESS ON FILE
BURGOS MONTES, FERNANDO           ADDRESS ON FILE
BURGOS MONTES, HECTOR L           ADDRESS ON FILE
Burgos Montes, Monserrate         ADDRESS ON FILE
BURGOS MONTES, RADAMES            ADDRESS ON FILE
BURGOS MONTES, RADAMES            ADDRESS ON FILE
BURGOS MONTES, YOLANDA            ADDRESS ON FILE
BURGOS MORALES, ANDREA N          ADDRESS ON FILE
BURGOS MORALES, BRENDA L.         ADDRESS ON FILE
BURGOS MORALES, CARLOS            ADDRESS ON FILE
BURGOS MORALES, DARISABEL         ADDRESS ON FILE
BURGOS MORALES, DHARMA T.         ADDRESS ON FILE
BURGOS MORALES, EDWIN             ADDRESS ON FILE
BURGOS MORALES, FELIPE            ADDRESS ON FILE
BURGOS MORALES, GLORIA            ADDRESS ON FILE
BURGOS MORALES, GRICEL            ADDRESS ON FILE
Burgos Morales, Japhet M.         ADDRESS ON FILE




                                                                              Page 1002 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1003 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS MORALES, JOSE          ADDRESS ON FILE
BURGOS MORALES, JOSE M        ADDRESS ON FILE
BURGOS MORALES, LUIS M        ADDRESS ON FILE
BURGOS MORALES, MADELINE      ADDRESS ON FILE
BURGOS MORALES, MARIBEL       ADDRESS ON FILE
BURGOS MORALES, RAFAEL        ADDRESS ON FILE
Burgos Morales, Ricardo       ADDRESS ON FILE
BURGOS MORALES, ROBERTO       ADDRESS ON FILE
Burgos Morales, Victor E.     ADDRESS ON FILE
BURGOS MORALES, VILMARIE      ADDRESS ON FILE
BURGOS MORENO, LUIS           ADDRESS ON FILE
Burgos Moyett, Wilfredo       ADDRESS ON FILE
BURGOS MULERO, LUZ C          ADDRESS ON FILE
BURGOS MUNDO, LORRAINE        ADDRESS ON FILE
BURGOS MUNDO, LUIS            ADDRESS ON FILE
Burgos Munera, Jose M         ADDRESS ON FILE
BURGOS MUNIZ, RICARDO D       ADDRESS ON FILE
BURGOS MUNOZ, MARISOL         ADDRESS ON FILE
BURGOS MUNOZ,JAHAIRA          ADDRESS ON FILE
BURGOS NARVAEZ, MARIA DEL C   ADDRESS ON FILE
BURGOS NAVARRO, LUIS          ADDRESS ON FILE
BURGOS NAVARRO, RYMAR         ADDRESS ON FILE
BURGOS NEGRON, CARMEN         ADDRESS ON FILE
BURGOS NEGRON, EFRAIN         ADDRESS ON FILE
BURGOS NEGRON, ERIC           ADDRESS ON FILE
BURGOS NEGRON, IBANEL         ADDRESS ON FILE
BURGOS NEGRON, JOSE           ADDRESS ON FILE
BURGOS NEGRON, LUZ            ADDRESS ON FILE
BURGOS NEGRON, MARILIA        ADDRESS ON FILE
BURGOS NEGRON, NEFTALI        ADDRESS ON FILE
BURGOS NEGRON, RAYMOND        ADDRESS ON FILE
BURGOS NEGRON, YANIRA Y       ADDRESS ON FILE
BURGOS NEVAREZ, ISRAEL        ADDRESS ON FILE
BURGOS NIEVES, ALBERTO        ADDRESS ON FILE
BURGOS NIEVES, ERICH          ADDRESS ON FILE
BURGOS NIEVES, INES           ADDRESS ON FILE
BURGOS NIEVES, MARIA V.       ADDRESS ON FILE
BURGOS NIEVES, MIGUEL A       ADDRESS ON FILE
Burgos Nieves, Rafael         ADDRESS ON FILE
Burgos Nieves, Victor M       ADDRESS ON FILE
BURGOS NIEVES, YARELIS        ADDRESS ON FILE
BURGOS NIVES, NEYSHA I        ADDRESS ON FILE
BURGOS NUNEZ, BERKIS A.       ADDRESS ON FILE
BURGOS NUNEZ, HECTOR          ADDRESS ON FILE
BURGOS NUNEZ, HENRY           ADDRESS ON FILE
BURGOS NUNEZ, NILDA I         ADDRESS ON FILE
BURGOS OCASIO, HECTOR         ADDRESS ON FILE
BURGOS OCASIO, IRIS J         ADDRESS ON FILE
BURGOS OCASIO, JUAN           ADDRESS ON FILE
BURGOS OCASIO, KATHERINE      ADDRESS ON FILE
BURGOS OCASIO, LUIS           ADDRESS ON FILE
BURGOS OCASIO, MARGARITA      ADDRESS ON FILE
BURGOS OCASIO, MARIA E        ADDRESS ON FILE
BURGOS OCASIO, MARIA G        ADDRESS ON FILE
BURGOS OCASIO, MISAEL         ADDRESS ON FILE
BURGOS OCASIO, RAMON          ADDRESS ON FILE
BURGOS OCASIO, RAUL           ADDRESS ON FILE
BURGOS OCASIO, RAUL EDGARDO   ADDRESS ON FILE
BURGOS OJEDA, ANA LUISA       ADDRESS ON FILE
BURGOS OLIVER, JOSE A.        ADDRESS ON FILE




                                                                          Page 1003 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1004 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS OLIVERAS, DAMARIS J   ADDRESS ON FILE
BURGOS OLIVERAS, OMAR        ADDRESS ON FILE
BURGOS OLIVO, ANTONIO        ADDRESS ON FILE
BURGOS OLMO, ISMAEL          ADDRESS ON FILE
BURGOS ORAMA, FRANCISCO      ADDRESS ON FILE
BURGOS ORONA, NORIE          ADDRESS ON FILE
BURGOS ORTEGA, GLORIA I      ADDRESS ON FILE
BURGOS ORTEGA, MAYRA         ADDRESS ON FILE
BURGOS ORTIZ, ALEX           ADDRESS ON FILE
BURGOS ORTIZ, ALEX J.        ADDRESS ON FILE
Burgos Ortiz, Alvin          ADDRESS ON FILE
BURGOS ORTIZ, ANGEL          ADDRESS ON FILE
BURGOS ORTIZ, ANGELITA       ADDRESS ON FILE
BURGOS ORTIZ, BERTIN         ADDRESS ON FILE
BURGOS ORTIZ, BRAYN F.       ADDRESS ON FILE
BURGOS ORTIZ, BRIAN          ADDRESS ON FILE
BURGOS ORTIZ, BRISCILIDES    ADDRESS ON FILE
BURGOS ORTIZ, CARLOS         ADDRESS ON FILE
BURGOS ORTIZ, CARLOS         ADDRESS ON FILE
BURGOS ORTIZ, CARLOS L.      ADDRESS ON FILE
BURGOS ORTIZ, CARMEN M.      ADDRESS ON FILE
BURGOS ORTIZ, CONFESOR       ADDRESS ON FILE
BURGOS ORTIZ, DARLENY        ADDRESS ON FILE
BURGOS ORTIZ, DOLORES Y      ADDRESS ON FILE
BURGOS ORTIZ, EDNA           ADDRESS ON FILE
Burgos Ortiz, Edwin          ADDRESS ON FILE
BURGOS ORTIZ, EDWIN          ADDRESS ON FILE
BURGOS ORTIZ, EUGENIO        ADDRESS ON FILE
BURGOS ORTIZ, EVELYN B       ADDRESS ON FILE
BURGOS ORTIZ, FELIX          ADDRESS ON FILE
BURGOS ORTIZ, HECTOR         ADDRESS ON FILE
BURGOS ORTIZ, HECTOR         ADDRESS ON FILE
BURGOS ORTIZ, HIRAM          ADDRESS ON FILE
BURGOS ORTIZ, IDALIA         ADDRESS ON FILE
BURGOS ORTIZ, IVAN A         ADDRESS ON FILE
BURGOS ORTIZ, JESUS          ADDRESS ON FILE
BURGOS ORTIZ, JESUS          ADDRESS ON FILE
Burgos Ortiz, Jorge I.       ADDRESS ON FILE
BURGOS ORTIZ, JOSE           ADDRESS ON FILE
Burgos Ortiz, Jose B         ADDRESS ON FILE
BURGOS ORTIZ, JOSE E         ADDRESS ON FILE
BURGOS ORTIZ, JOSELINE       ADDRESS ON FILE
BURGOS ORTIZ, JUAN           ADDRESS ON FILE
BURGOS ORTIZ, JUANITA        ADDRESS ON FILE
BURGOS ORTIZ, JULISSA M.     ADDRESS ON FILE
BURGOS ORTIZ, LEYDA DEL C    ADDRESS ON FILE
BURGOS ORTIZ, LISABEL        ADDRESS ON FILE
BURGOS ORTIZ, LUIS A.        ADDRESS ON FILE
BURGOS ORTIZ, LUIS G.        ADDRESS ON FILE
BURGOS ORTIZ, MARIA          ADDRESS ON FILE
BURGOS ORTIZ, MARIA A        ADDRESS ON FILE
BURGOS ORTIZ, MARIA E        ADDRESS ON FILE
BURGOS ORTIZ, MATILDE        ADDRESS ON FILE
BURGOS ORTIZ, MEDALINE       ADDRESS ON FILE
BURGOS ORTIZ, MIGDALIA       ADDRESS ON FILE
BURGOS ORTIZ, MIGUEL         ADDRESS ON FILE
BURGOS ORTIZ, MILDRED J      ADDRESS ON FILE
BURGOS ORTIZ, NILSA          ADDRESS ON FILE
BURGOS ORTIZ, NOELIA         ADDRESS ON FILE
BURGOS ORTIZ, NORBERTO       ADDRESS ON FILE




                                                                         Page 1004 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1005 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS ORTIZ, OLGA I       ADDRESS ON FILE
BURGOS ORTIZ, RAFAEL       ADDRESS ON FILE
BURGOS ORTIZ, RAMON        ADDRESS ON FILE
BURGOS ORTIZ, RAQUEL       ADDRESS ON FILE
Burgos Ortiz, Raul         ADDRESS ON FILE
BURGOS ORTIZ, RAUL         ADDRESS ON FILE
BURGOS ORTIZ, RICHARD      ADDRESS ON FILE
Burgos Ortiz, Samuel       ADDRESS ON FILE
BURGOS ORTIZ, SAMUEL       ADDRESS ON FILE
BURGOS ORTIZ, VIDAL        ADDRESS ON FILE
BURGOS ORTIZ, VILMARIE     ADDRESS ON FILE
BURGOS ORTIZ, WANDA I      ADDRESS ON FILE
BURGOS ORTIZ, YARELIS      ADDRESS ON FILE
BURGOS ORTIZ, YOLANDA      ADDRESS ON FILE
BURGOS OSORIO, GLORIA E    ADDRESS ON FILE
BURGOS OSORIO, JOAQUIN     ADDRESS ON FILE
BURGOS OSTALAZA, HILDA     ADDRESS ON FILE
BURGOS OTERO, CRISTIAN     ADDRESS ON FILE
BURGOS OTERO, DALY         ADDRESS ON FILE
Burgos Otero, Dennis       ADDRESS ON FILE
BURGOS OTERO, JENNIFER     ADDRESS ON FILE
BURGOS OTERO, WANDA I      ADDRESS ON FILE
BURGOS PABON MD, AUREA D   ADDRESS ON FILE
BURGOS PABON, CARMEN D     ADDRESS ON FILE
BURGOS PABON, MARCELINO    ADDRESS ON FILE
BURGOS PACHECO, ERISON O   ADDRESS ON FILE
BURGOS PACHECO, RICARDO    ADDRESS ON FILE
BURGOS PACHECO, WANDA I    ADDRESS ON FILE
BURGOS PADRO, ABEL         ADDRESS ON FILE
BURGOS PADRO, ABEL         ADDRESS ON FILE
BURGOS PADRO, ABEL         ADDRESS ON FILE
BURGOS PADUANI, JOSE A     ADDRESS ON FILE
Burgos Paduani, Jose A.    ADDRESS ON FILE
BURGOS PADUANI, MARY       ADDRESS ON FILE
BURGOS PAGAN, ANTONIO      ADDRESS ON FILE
BURGOS PAGAN, FLOR         ADDRESS ON FILE
BURGOS PAGAN, FRANCISCO    ADDRESS ON FILE
Burgos Pagan, Jose J.      ADDRESS ON FILE
BURGOS PAGAN, LAINI M      ADDRESS ON FILE
BURGOS PAGAN, REYNALDO     ADDRESS ON FILE
BURGOS PANTOJA, EPPIE      ADDRESS ON FILE
BURGOS PARIS, LEIDA I      ADDRESS ON FILE
BURGOS PENA, MILAGROS      ADDRESS ON FILE
BURGOS PERALES, RAFAEL     ADDRESS ON FILE
BURGOS PERALTA, ESTHER     ADDRESS ON FILE
BURGOS PERELES, LUZ        ADDRESS ON FILE
BURGOS PEREZ, ABNER        ADDRESS ON FILE
BURGOS PEREZ, AZUCENA      ADDRESS ON FILE
BURGOS PEREZ, CARMEN I     ADDRESS ON FILE
BURGOS PEREZ, DIANA        ADDRESS ON FILE
BURGOS PEREZ, DIANA        ADDRESS ON FILE
BURGOS PEREZ, DIGNA        ADDRESS ON FILE
Burgos Perez, Evelyn       ADDRESS ON FILE
BURGOS PEREZ, HAYDEE       ADDRESS ON FILE
Burgos Perez, Heriberto    ADDRESS ON FILE
BURGOS PEREZ, HORACIO      ADDRESS ON FILE
BURGOS PEREZ, HORACIO      ADDRESS ON FILE
BURGOS PEREZ, IVETTESIE    ADDRESS ON FILE
BURGOS PEREZ, JAIME        ADDRESS ON FILE
BURGOS PEREZ, JOHAN        ADDRESS ON FILE




                                                                       Page 1005 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1006 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Burgos Perez, Juan C         ADDRESS ON FILE
BURGOS PEREZ, JULIO          ADDRESS ON FILE
BURGOS PEREZ, KARRISH        ADDRESS ON FILE
Burgos Perez, Karrish        ADDRESS ON FILE
BURGOS PEREZ, KENNETH        ADDRESS ON FILE
BURGOS PEREZ, KETZY M.       ADDRESS ON FILE
BURGOS PEREZ, LOURDES G      ADDRESS ON FILE
Burgos Perez, Martin         ADDRESS ON FILE
BURGOS PEREZ, NEFTALI        ADDRESS ON FILE
BURGOS PEREZ, NIRKA          ADDRESS ON FILE
BURGOS PEREZ, NORIETTE       ADDRESS ON FILE
BURGOS PEREZ, OSVALDO        ADDRESS ON FILE
Burgos Perez, Rene           ADDRESS ON FILE
BURGOS PEREZ, SONIA          ADDRESS ON FILE
BURGOS PEREZ, THUR R         ADDRESS ON FILE
BURGOS PEREZ, XAVIER         ADDRESS ON FILE
BURGOS PEREZ, YAMILETTE      ADDRESS ON FILE
BURGOS PINEIRO, MARIA S      ADDRESS ON FILE
BURGOS PINERO, PABLO         ADDRESS ON FILE
BURGOS PIQERO, ALFREDO       ADDRESS ON FILE
BURGOS PIZARRO, MARIBELLA    ADDRESS ON FILE
BURGOS POLANCO, NATALIA      ADDRESS ON FILE
BURGOS POMALES, BENJAMIN     ADDRESS ON FILE
BURGOS POMALES, MIGUEL       ADDRESS ON FILE
BURGOS POMALES, PEDRO R.     ADDRESS ON FILE
BURGOS PRADO, EMILIA         ADDRESS ON FILE
BURGOS PROSPERO, YAMILETTE   ADDRESS ON FILE
BURGOS QUILES, DAMARIS       ADDRESS ON FILE
BURGOS QUINONES, BRENDA      ADDRESS ON FILE
Burgos Quinones, Hector L    ADDRESS ON FILE
BURGOS QUINONES, YAMILETTE   ADDRESS ON FILE
BURGOS QUINTANA, PABLO       ADDRESS ON FILE
BURGOS QUIROS, EDMUNDO A     ADDRESS ON FILE
BURGOS RAMIREZ, IDALIA       ADDRESS ON FILE
BURGOS RAMIREZ, LUZ E        ADDRESS ON FILE
BURGOS RAMOS, BECKY I        ADDRESS ON FILE
BURGOS RAMOS, CRUZ           ADDRESS ON FILE
BURGOS RAMOS, DIANE G        ADDRESS ON FILE
BURGOS RAMOS, ELIZABETH      ADDRESS ON FILE
Burgos Ramos, Franklin       ADDRESS ON FILE
BURGOS RAMOS, JANET          ADDRESS ON FILE
BURGOS RAMOS, JULIA E        ADDRESS ON FILE
Burgos Ramos, Laura          ADDRESS ON FILE
BURGOS RAMOS, MARIBEL        ADDRESS ON FILE
BURGOS RAMOS, MIGUEL         ADDRESS ON FILE
BURGOS RAMOS, ROQUE          ADDRESS ON FILE
BURGOS RAMOS, SONIA          ADDRESS ON FILE
BURGOS RAMOS, WANDA          ADDRESS ON FILE
BURGOS REPOLLET, ANGEL L     ADDRESS ON FILE
BURGOS REPOLLET, KELVIN      ADDRESS ON FILE
BURGOS RESTO, GRISEL         ADDRESS ON FILE
BURGOS RESTO, ROSA           ADDRESS ON FILE
BURGOS REXACH, AGUSTINE      ADDRESS ON FILE
BURGOS REXACH, KEILA         ADDRESS ON FILE
BURGOS REYES, ALBERTO L.     ADDRESS ON FILE
BURGOS REYES, ALEJANDRA      ADDRESS ON FILE
BURGOS REYES, ARACELIS       ADDRESS ON FILE
BURGOS REYES, ARNALDO L      ADDRESS ON FILE
BURGOS REYES, DANIEL         ADDRESS ON FILE
BURGOS REYES, EDDIE          ADDRESS ON FILE




                                                                         Page 1006 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1007 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS REYES, HAYDEE        ADDRESS ON FILE
BURGOS REYES, JOHN          ADDRESS ON FILE
BURGOS REYES, JONATHAN      ADDRESS ON FILE
BURGOS REYES, JORGE         ADDRESS ON FILE
BURGOS REYES, JOSE RAMON    ADDRESS ON FILE
BURGOS REYES, JOSEFA        ADDRESS ON FILE
BURGOS REYES, JUAN L        ADDRESS ON FILE
BURGOS REYES, KAREN J       ADDRESS ON FILE
BURGOS REYES, MARIA L       ADDRESS ON FILE
Burgos Reyes, Mariluz       ADDRESS ON FILE
BURGOS REYES, MAYRA L       ADDRESS ON FILE
BURGOS REYES, PEDRO O.      ADDRESS ON FILE
BURGOS REYES, ROSA          ADDRESS ON FILE
BURGOS REYES, ROSA M.       ADDRESS ON FILE
BURGOS RIOS, ANGEL          ADDRESS ON FILE
BURGOS RIOS, FELIX L.       ADDRESS ON FILE
BURGOS RIOS, IRIS           ADDRESS ON FILE
BURGOS RIOS, LUIS           ADDRESS ON FILE
BURGOS RIVERA MD, JORGE A   ADDRESS ON FILE
BURGOS RIVERA, ALEX         ADDRESS ON FILE
BURGOS RIVERA, ANA          ADDRESS ON FILE
BURGOS RIVERA, ANA H        ADDRESS ON FILE
BURGOS RIVERA, ANGEL        ADDRESS ON FILE
BURGOS RIVERA, ANGEL M      ADDRESS ON FILE
BURGOS RIVERA, CARLOS       ADDRESS ON FILE
Burgos Rivera, Carlos A     ADDRESS ON FILE
BURGOS RIVERA, CARMEN       ADDRESS ON FILE
BURGOS RIVERA, CARMEN       ADDRESS ON FILE
BURGOS RIVERA, CARMEN       ADDRESS ON FILE
BURGOS RIVERA, CARMEN L     ADDRESS ON FILE
BURGOS RIVERA, CARMEN M     ADDRESS ON FILE
BURGOS RIVERA, EDGARDO      ADDRESS ON FILE
BURGOS RIVERA, EDITH D      ADDRESS ON FILE
Burgos Rivera, Edwin        ADDRESS ON FILE
BURGOS RIVERA, ELIEZER      ADDRESS ON FILE
BURGOS RIVERA, ELVIN G      ADDRESS ON FILE
BURGOS RIVERA, FRANCISCA    ADDRESS ON FILE
Burgos Rivera, Francisco    ADDRESS ON FILE
BURGOS RIVERA, GERARDO      ADDRESS ON FILE
Burgos Rivera, Glenda M     ADDRESS ON FILE
BURGOS RIVERA, GLORIA R     ADDRESS ON FILE
BURGOS RIVERA, GLORYMAR     ADDRESS ON FILE
BURGOS RIVERA, HECTOR       ADDRESS ON FILE
BURGOS RIVERA, HERNAN       ADDRESS ON FILE
BURGOS RIVERA, HERNAN G     ADDRESS ON FILE
BURGOS RIVERA, HILDA        ADDRESS ON FILE
BURGOS RIVERA, HOOVER       ADDRESS ON FILE
BURGOS RIVERA, IRIS J       ADDRESS ON FILE
BURGOS RIVERA, IVETTE M     ADDRESS ON FILE
BURGOS RIVERA, JANET        ADDRESS ON FILE
BURGOS RIVERA, JAVIER       ADDRESS ON FILE
Burgos Rivera, Jesus        ADDRESS ON FILE
BURGOS RIVERA, JONATHAN     ADDRESS ON FILE
BURGOS RIVERA, JOSE         ADDRESS ON FILE
BURGOS RIVERA, JOSE         ADDRESS ON FILE
BURGOS RIVERA, JUAN JOSE    ADDRESS ON FILE
Burgos Rivera, Kermit S.    ADDRESS ON FILE
BURGOS RIVERA, LILLIAN      ADDRESS ON FILE
BURGOS RIVERA, LIZARDO      ADDRESS ON FILE
BURGOS RIVERA, LOURDES      ADDRESS ON FILE




                                                                        Page 1007 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1008 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS RIVERA, LUIS A            ADDRESS ON FILE
BURGOS RIVERA, MADELINE          ADDRESS ON FILE
BURGOS RIVERA, MAGALY            ADDRESS ON FILE
BURGOS RIVERA, MARIA DEL C       ADDRESS ON FILE
BURGOS RIVERA, MARIA V           ADDRESS ON FILE
BURGOS RIVERA, MARIANA           ADDRESS ON FILE
BURGOS RIVERA, MARIBEL           ADDRESS ON FILE
BURGOS RIVERA, MARIBEL           ADDRESS ON FILE
BURGOS RIVERA, MARITZA           ADDRESS ON FILE
BURGOS RIVERA, MARLENE           ADDRESS ON FILE
BURGOS RIVERA, MELVIN            ADDRESS ON FILE
BURGOS RIVERA, MIGUEL            ADDRESS ON FILE
Burgos Rivera, Miguel A.         ADDRESS ON FILE
BURGOS RIVERA, NANCY E T         ADDRESS ON FILE
BURGOS RIVERA, NATIVIDAD         ADDRESS ON FILE
BURGOS RIVERA, ODALYS M          ADDRESS ON FILE
BURGOS RIVERA, OLGA G            ADDRESS ON FILE
BURGOS RIVERA, OMAR              ADDRESS ON FILE
BURGOS RIVERA, OMAR              ADDRESS ON FILE
BURGOS RIVERA, OMAR              ADDRESS ON FILE
BURGOS RIVERA, PABLO             ADDRESS ON FILE
BURGOS RIVERA, PABLO             ADDRESS ON FILE
BURGOS RIVERA, RAMON             ADDRESS ON FILE
BURGOS RIVERA, RAMON             ADDRESS ON FILE
BURGOS RIVERA, REINALDO          ADDRESS ON FILE
BURGOS RIVERA, SONIA             ADDRESS ON FILE
Burgos Rivera, Tanita            ADDRESS ON FILE
Burgos Rivera, William           ADDRESS ON FILE
BURGOS RIVERA, XIOMARA           ADDRESS ON FILE
BURGOS RIVERA, YAIZA             ADDRESS ON FILE
BURGOS RIVERA, YAJAIRA           ADDRESS ON FILE
BURGOS RIVERA, YANIRA            ADDRESS ON FILE
BURGOS RIVERA, YESENIA           ADDRESS ON FILE
BURGOS RIVERA, ZULMA D           ADDRESS ON FILE
BURGOS RIVERA, ZULMA D.          ADDRESS ON FILE
BURGOS RIVERO, OSVALDO           ADDRESS ON FILE
BURGOS ROBLES, JOEL              ADDRESS ON FILE
BURGOS ROBLES, JOEL              ADDRESS ON FILE
BURGOS ROBLES, MILDRED           ADDRESS ON FILE
Burgos Robles, Ramonita          ADDRESS ON FILE
BURGOS ROBLES, WILLIAM           ADDRESS ON FILE
Burgos Rocca, Joseph             ADDRESS ON FILE
BURGOS RODRIGUEZ, ALBERTO        ADDRESS ON FILE
BURGOS RODRIGUEZ, ALEXIS         ADDRESS ON FILE
BURGOS RODRIGUEZ, ANA C.         ADDRESS ON FILE
Burgos Rodriguez, Ana De Los M   ADDRESS ON FILE
Burgos Rodriguez, Angel M        ADDRESS ON FILE
BURGOS RODRIGUEZ, ANTONIO        ADDRESS ON FILE
BURGOS RODRIGUEZ, ARMANDO        ADDRESS ON FILE
BURGOS RODRIGUEZ, BETSY E        ADDRESS ON FILE
BURGOS RODRIGUEZ, CARLOS         ADDRESS ON FILE
BURGOS RODRIGUEZ, CARMEN         ADDRESS ON FILE
BURGOS RODRIGUEZ, CARMEN         ADDRESS ON FILE
BURGOS RODRIGUEZ, CARMEN         ADDRESS ON FILE
BURGOS RODRIGUEZ, CARMEN I       ADDRESS ON FILE
Burgos Rodriguez, Denis Manuel   ADDRESS ON FILE
BURGOS RODRIGUEZ, EDISON         ADDRESS ON FILE
BURGOS RODRIGUEZ, EILEEN         ADDRESS ON FILE
BURGOS RODRIGUEZ, ELSIE          ADDRESS ON FILE
BURGOS RODRIGUEZ, ELVIRA         ADDRESS ON FILE




                                                                             Page 1008 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1009 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS RODRIGUEZ, ENRIQUE        ADDRESS ON FILE
BURGOS RODRIGUEZ, ENRIQUE        ADDRESS ON FILE
BURGOS RODRIGUEZ, ERNESTO        ADDRESS ON FILE
BURGOS RODRIGUEZ, ESTEBAN        ADDRESS ON FILE
BURGOS RODRIGUEZ, FERNANDO       ADDRESS ON FILE
BURGOS RODRIGUEZ, FRA ANGELICA   ADDRESS ON FILE
BURGOS RODRIGUEZ, FRANCIS        ADDRESS ON FILE
BURGOS RODRIGUEZ, GERARDO        ADDRESS ON FILE
BURGOS RODRIGUEZ, GIOMARYS       ADDRESS ON FILE
BURGOS RODRIGUEZ, GLADYS         ADDRESS ON FILE
BURGOS RODRIGUEZ, HELEN          ADDRESS ON FILE
BURGOS RODRIGUEZ, IRIS TERESA    ADDRESS ON FILE
BURGOS RODRIGUEZ, IRMA           ADDRESS ON FILE
BURGOS RODRIGUEZ, IRVING         ADDRESS ON FILE
BURGOS RODRIGUEZ, ISRAEL         ADDRESS ON FILE
BURGOS RODRIGUEZ, ISRAEL         ADDRESS ON FILE
BURGOS RODRIGUEZ, JEFFREY        ADDRESS ON FILE
BURGOS RODRIGUEZ, JESUS G        ADDRESS ON FILE
BURGOS RODRIGUEZ, JOEL           ADDRESS ON FILE
BURGOS RODRIGUEZ, JORGE          ADDRESS ON FILE
BURGOS RODRIGUEZ, JORGE          ADDRESS ON FILE
Burgos Rodriguez, Jorge L        ADDRESS ON FILE
BURGOS RODRIGUEZ, JORGE M.       ADDRESS ON FILE
BURGOS RODRIGUEZ, JOSE           ADDRESS ON FILE
BURGOS RODRIGUEZ, JOSE           ADDRESS ON FILE
Burgos Rodriguez, Jose J         ADDRESS ON FILE
BURGOS RODRIGUEZ, JOSE M.        ADDRESS ON FILE
Burgos Rodriguez, Jose R.        ADDRESS ON FILE
BURGOS RODRIGUEZ, JUAN           ADDRESS ON FILE
BURGOS RODRIGUEZ, KAREM          ADDRESS ON FILE
BURGOS RODRIGUEZ, KAREN          ADDRESS ON FILE
BURGOS RODRIGUEZ, LEONARDO       ADDRESS ON FILE
BURGOS RODRIGUEZ, LILLIAM        ADDRESS ON FILE
BURGOS RODRIGUEZ, LOURDES S      ADDRESS ON FILE
BURGOS RODRIGUEZ, LUZ M.         ADDRESS ON FILE
BURGOS RODRIGUEZ, MADELINE       ADDRESS ON FILE
BURGOS RODRIGUEZ, MAGDALENA      ADDRESS ON FILE
BURGOS RODRIGUEZ, MARIA I.       ADDRESS ON FILE
BURGOS RODRIGUEZ, MARIA S        ADDRESS ON FILE
BURGOS RODRIGUEZ, MARIA T.       ADDRESS ON FILE
BURGOS RODRIGUEZ, MARISOL        ADDRESS ON FILE
BURGOS RODRIGUEZ, MAYRA          ADDRESS ON FILE
BURGOS RODRIGUEZ, MAYRA          ADDRESS ON FILE
BURGOS RODRIGUEZ, MINERVA        ADDRESS ON FILE
BURGOS RODRIGUEZ, MIRETZA        ADDRESS ON FILE
BURGOS RODRIGUEZ, NILDA M        ADDRESS ON FILE
BURGOS RODRIGUEZ, OLGA M         ADDRESS ON FILE
BURGOS RODRIGUEZ, PEDRO          ADDRESS ON FILE
BURGOS RODRIGUEZ, PEDRO          ADDRESS ON FILE
Burgos Rodriguez, Pedro J        ADDRESS ON FILE
BURGOS RODRIGUEZ, REINALDO       ADDRESS ON FILE
BURGOS RODRIGUEZ, RICARDO        ADDRESS ON FILE
BURGOS RODRIGUEZ, ROBERTO        ADDRESS ON FILE
BURGOS RODRIGUEZ, ROSA           ADDRESS ON FILE
BURGOS RODRIGUEZ, ROSA MARIA     ADDRESS ON FILE
Burgos Rodriguez, Sandy          ADDRESS ON FILE
BURGOS RODRIGUEZ, SHEILA M       ADDRESS ON FILE
BURGOS RODRIGUEZ, TAYANNA        ADDRESS ON FILE
BURGOS RODRIGUEZ, TEDDYS         ADDRESS ON FILE
BURGOS RODRIGUEZ, VANESSA        ADDRESS ON FILE




                                                                             Page 1009 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1010 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS RODRIGUEZ, VANESSA       ADDRESS ON FILE
BURGOS RODRIGUEZ, VICTOR        ADDRESS ON FILE
BURGOS RODRIGUEZ, VICTOR OMAR   ADDRESS ON FILE
Burgos Rodriguez, Waldemar      ADDRESS ON FILE
BURGOS RODRIGUEZ, WALDEMAR      ADDRESS ON FILE
BURGOS RODRIGUEZ, WANDA         ADDRESS ON FILE
BURGOS RODRIGUEZ, WANDA I.      ADDRESS ON FILE
BURGOS RODRIGUEZ, WILFREDO      ADDRESS ON FILE
BURGOS RODRIGUEZ, WILMER        ADDRESS ON FILE
BURGOS RODRIGUEZ, WILSON        ADDRESS ON FILE
BURGOS RODRIGUEZ, XIOMARA L.    ADDRESS ON FILE
BURGOS RODRIGUEZ, YANETTE       ADDRESS ON FILE
BURGOS RODRIGUEZ, YOLANDA       ADDRESS ON FILE
BURGOS ROLON, BRIZEIDA          ADDRESS ON FILE
BURGOS ROMAN, MARIA R           ADDRESS ON FILE
BURGOS ROMAN, RAQUEL            ADDRESS ON FILE
BURGOS ROMAN, YODELIS L         ADDRESS ON FILE
BURGOS ROMERO, HAYDEE           ADDRESS ON FILE
BURGOS ROSA, ELSA E             ADDRESS ON FILE
BURGOS ROSA, YADIRA             ADDRESS ON FILE
BURGOS ROSADO, ANA MARIA        ADDRESS ON FILE
BURGOS ROSADO, ANNEX            ADDRESS ON FILE
BURGOS ROSADO, BETZAIDA         ADDRESS ON FILE
BURGOS ROSADO, CARMEN A.        ADDRESS ON FILE
BURGOS ROSADO, DABBY            ADDRESS ON FILE
BURGOS ROSADO, ELIEZER          ADDRESS ON FILE
BURGOS ROSADO, ERIC J           ADDRESS ON FILE
BURGOS ROSADO, GERARDO          ADDRESS ON FILE
BURGOS ROSADO, GISSELLE         ADDRESS ON FILE
BURGOS ROSADO, GISSELLE M       ADDRESS ON FILE
BURGOS ROSADO, GLORIA E.        ADDRESS ON FILE
BURGOS ROSADO, JUAN CARLOS      ADDRESS ON FILE
BURGOS ROSADO, LUIS             ADDRESS ON FILE
BURGOS ROSADO, LUIS J           ADDRESS ON FILE
BURGOS ROSADO, RAMON            ADDRESS ON FILE
BURGOS ROSADO, RAMON L          ADDRESS ON FILE
BURGOS ROSADO, ROLANDO          ADDRESS ON FILE
BURGOS ROSARIO, AIDA            ADDRESS ON FILE
BURGOS ROSARIO, DANIEL          ADDRESS ON FILE
BURGOS ROSARIO, LIZANNETTE      ADDRESS ON FILE
Burgos Rosario, Margarita       ADDRESS ON FILE
BURGOS ROSARIO, MERALYS         ADDRESS ON FILE
BURGOS ROSARIO, REINALDO        ADDRESS ON FILE
BURGOS ROSARIO, RICARDO         ADDRESS ON FILE
BURGOS RUIZ, CARLOS L           ADDRESS ON FILE
BURGOS RUIZ, ELSA               ADDRESS ON FILE
BURGOS RUIZ, JAVIER             ADDRESS ON FILE
BURGOS RUIZ, MARIA DE LOS       ADDRESS ON FILE
BURGOS RUIZ, RAQUEL             ADDRESS ON FILE
BURGOS RUIZ, SAMUEL             ADDRESS ON FILE
BURGOS SAEZ, ZOLDALIS           ADDRESS ON FILE
BURGOS SALAMO, EDUARDO          ADDRESS ON FILE
BURGOS SALAMO, MARCELINO        ADDRESS ON FILE
BURGOS SALAMO, MARCELINO        ADDRESS ON FILE
BURGOS SALAMO, NILMARIE         ADDRESS ON FILE
BURGOS SALGADO, LUIS ALBERTO    ADDRESS ON FILE
BURGOS SALGADO, PABLO J.        ADDRESS ON FILE
BURGOS SALGADO, PATRICIA P      ADDRESS ON FILE
BURGOS SALGADO,CHRISTY M.       ADDRESS ON FILE
BURGOS SALLES, DORIS M          ADDRESS ON FILE




                                                                            Page 1010 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1011 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS SAN MARTIN, MONICA L    ADDRESS ON FILE
BURGOS SANABRIA, RAFAEL        ADDRESS ON FILE
BURGOS SANCHEZ, AIDA           ADDRESS ON FILE
BURGOS SANCHEZ, EDGARD         ADDRESS ON FILE
BURGOS SANCHEZ, EDWIN          ADDRESS ON FILE
BURGOS SANCHEZ, ESTEFANIE      ADDRESS ON FILE
Burgos Sanchez, Felix          ADDRESS ON FILE
BURGOS SANCHEZ, GARY           ADDRESS ON FILE
Burgos Sanchez, Javier A       ADDRESS ON FILE
BURGOS SANCHEZ, JUAN           ADDRESS ON FILE
BURGOS SANCHEZ, JUANA          ADDRESS ON FILE
BURGOS SANCHEZ, JUDITH         ADDRESS ON FILE
BURGOS SANCHEZ, MARIA          ADDRESS ON FILE
BURGOS SANCHEZ, MARIANELA      ADDRESS ON FILE
BURGOS SANCHEZ, NATHANAEL      ADDRESS ON FILE
BURGOS SANCHEZ, RAFAEL         ADDRESS ON FILE
BURGOS SANCHEZ, ROSA M         ADDRESS ON FILE
BURGOS SANCHEZ, VICTOR         ADDRESS ON FILE
BURGOS SANCHEZ, VICTORIANA     ADDRESS ON FILE
BURGOS SANTANA, IVAN           ADDRESS ON FILE
BURGOS SANTANA, OSCAR          ADDRESS ON FILE
BURGOS SANTANA, WANDA          ADDRESS ON FILE
BURGOS SANTIAGO, , FELIPE      ADDRESS ON FILE
BURGOS SANTIAGO, ANGELIC       ADDRESS ON FILE
BURGOS SANTIAGO, CARLOS H      ADDRESS ON FILE
Burgos Santiago, Carlos J      ADDRESS ON FILE
BURGOS SANTIAGO, CARMEN I      ADDRESS ON FILE
BURGOS SANTIAGO, CRISTY        ADDRESS ON FILE
BURGOS SANTIAGO, EDWIN         ADDRESS ON FILE
BURGOS SANTIAGO, ERIKA         ADDRESS ON FILE
BURGOS SANTIAGO, FELIX         ADDRESS ON FILE
BURGOS SANTIAGO, FELIX M.      ADDRESS ON FILE
Burgos Santiago, Francisco O   ADDRESS ON FILE
BURGOS SANTIAGO, HECTOR        ADDRESS ON FILE
BURGOS SANTIAGO, HUMBERTO      ADDRESS ON FILE
BURGOS SANTIAGO, IRIS V        ADDRESS ON FILE
BURGOS SANTIAGO, ISAEL         ADDRESS ON FILE
BURGOS SANTIAGO, ISAMARY       ADDRESS ON FILE
BURGOS SANTIAGO, JOSE          ADDRESS ON FILE
BURGOS SANTIAGO, JOSE          ADDRESS ON FILE
BURGOS SANTIAGO, JOSE F.       ADDRESS ON FILE
BURGOS SANTIAGO, JOSE R.       ADDRESS ON FILE
BURGOS SANTIAGO, JOYCE M       ADDRESS ON FILE
BURGOS SANTIAGO, KRISTINE      ADDRESS ON FILE
BURGOS SANTIAGO, LUIS          ADDRESS ON FILE
BURGOS SANTIAGO, LUIS A        ADDRESS ON FILE
BURGOS SANTIAGO, LUIS D.       ADDRESS ON FILE
BURGOS SANTIAGO, LUZ D.        ADDRESS ON FILE
BURGOS SANTIAGO, MAGDALENA     ADDRESS ON FILE
BURGOS SANTIAGO, MANUEL        ADDRESS ON FILE
BURGOS SANTIAGO, MARIA V       ADDRESS ON FILE
BURGOS SANTIAGO, MARTA T       ADDRESS ON FILE
BURGOS SANTIAGO, MIGDALIA      ADDRESS ON FILE
BURGOS SANTIAGO, MIGDALIA      ADDRESS ON FILE
BURGOS SANTIAGO, MILDRED       ADDRESS ON FILE
BURGOS SANTIAGO, RAFAEL        ADDRESS ON FILE
BURGOS SANTIAGO, RICARDO D.    ADDRESS ON FILE
BURGOS SANTIAGO, SHEILA        ADDRESS ON FILE
BURGOS SANTIAGO, VIANEY D      ADDRESS ON FILE
BURGOS SANTIAGO, VICTOR M.     ADDRESS ON FILE




                                                                           Page 1011 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1012 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                         Address1                                 Address2                         Address3   Address4   City           State   PostalCode   Country
BURGOS SANTIAGO, WENDALIS             ADDRESS ON FILE
BURGOS SANTIAGO, ZORIANETTE           ADDRESS ON FILE
BURGOS SANTOS, AGRIPINO               ADDRESS ON FILE
BURGOS SANTOS, AIDA                   ADDRESS ON FILE
BURGOS SANTOS, EVELYN                 ADDRESS ON FILE
BURGOS SANTOS, JOSE RAMON             ADDRESS ON FILE
BURGOS SANTOS, LUZ I                  ADDRESS ON FILE
BURGOS SANTOS, MILAGROS               ADDRESS ON FILE
BURGOS SANTOS, OLGA                   ADDRESS ON FILE
BURGOS SANTOS, RAFAEL                 ADDRESS ON FILE
BURGOS SANTOS, RAFAEL                 ADDRESS ON FILE
BURGOS SANTOS, REINALDO               ADDRESS ON FILE
BURGOS SANTOS, RICARDO X              ADDRESS ON FILE
Burgos Santos, Siria                  ADDRESS ON FILE
BURGOS SELLES, IVAN                   ADDRESS ON FILE
BURGOS SENQUIZ, FERNANDO              ADDRESS ON FILE
BURGOS SEPULVEDA, CID                 ADDRESS ON FILE
BURGOS SEPULVEDA, ILIA E              ADDRESS ON FILE
BURGOS SEPULVEDA, LEILANY             ADDRESS ON FILE
BURGOS SERRANO, CARMEN D              ADDRESS ON FILE
Burgos Serrano, Domingo               ADDRESS ON FILE
BURGOS SERRANO, HECTOR M              ADDRESS ON FILE
BURGOS SERRANO, JOSE                  ADDRESS ON FILE
BURGOS SERRANO, LIDUVINA S            ADDRESS ON FILE
BURGOS SERRANO, ROBERTO               ADDRESS ON FILE
BURGOS SIERRA, CARMEN R               ADDRESS ON FILE
BURGOS SIERRA, JORGE                  ADDRESS ON FILE
BURGOS SIERRA, LADYS M                ADDRESS ON FILE
Burgos Silva, Holvin S                ADDRESS ON FILE
BURGOS SOLER, ERICK                   ADDRESS ON FILE
BURGOS SOLIVAN, GLADYS                ADDRESS ON FILE
BURGOS SOLIVAN, HILDA L               ADDRESS ON FILE
BURGOS SOLIVAN, MIGUEL                ADDRESS ON FILE
BURGOS SOSA, ARLENE A.                ADDRESS ON FILE
BURGOS SOSA, AYMEE DE LA C.           ADDRESS ON FILE
BURGOS SOSA, MIRIAM E                 ADDRESS ON FILE
BURGOS SOSA, SIGFREDO                 ADDRESS ON FILE
BURGOS SOSTRE, ELVIN X.               ADDRESS ON FILE
BURGOS SOTO EDSEL FRANCISCO Y OTROS   LCDO. PABLO COLÓN Y LCDO. ALEXANDRO ORTIZAPARTADO 801175                                        COTO LUREL     PR      00780‐1175
BURGOS SOTO, DAVID                    ADDRESS ON FILE
BURGOS SOTO, EDSEL                    ADDRESS ON FILE
BURGOS SOTO, JESUS                    ADDRESS ON FILE
BURGOS SOTO, JOSHUA                   ADDRESS ON FILE
BURGOS SOTO, LILIANA                  ADDRESS ON FILE
BURGOS SOTO, LYDIA                    ADDRESS ON FILE
BURGOS SOTOMAYOR, CARLOS              ADDRESS ON FILE
BURGOS SOTOMAYOR, ISRAEL              ADDRESS ON FILE
BURGOS SOTOMAYOR, OMAR                ADDRESS ON FILE
BURGOS SUAREZ, BARBARA DE L.          ADDRESS ON FILE
BURGOS SUAREZ, EILEEN                 ADDRESS ON FILE
BURGOS SUAREZ, ELISA                  ADDRESS ON FILE
BURGOS SUAREZ, LUIS A                 ADDRESS ON FILE
BURGOS SUAREZ, MANUEL                 ADDRESS ON FILE
BURGOS SUAREZ, RAMIRO                 ADDRESS ON FILE
BURGOS SULLIVAN, JOSE                 ADDRESS ON FILE
BURGOS SUREN, DANNY                   ADDRESS ON FILE
BURGOS SUSTACHE, LUIS                 ADDRESS ON FILE
BURGOS TEJERO, JOSEFINA               ADDRESS ON FILE
BURGOS TEXEIRA, ANGEL                 ADDRESS ON FILE
BURGOS TEXIDOR, JARED                 ADDRESS ON FILE




                                                                                                 Page 1012 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1013 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BURGOS TEXIDOR, LOURDES           ADDRESS ON FILE
BURGOS TEXIDOR, LOURDES           ADDRESS ON FILE
BURGOS THOMAS, SHIRLEY M          ADDRESS ON FILE
BURGOS TIRADO, SYLVIA M           ADDRESS ON FILE
BURGOS TORRES, ALEXIS             ADDRESS ON FILE
BURGOS TORRES, ALVIN              ADDRESS ON FILE
Burgos Torres, Ana I.             ADDRESS ON FILE
BURGOS TORRES, ANGEL              ADDRESS ON FILE
BURGOS TORRES, ANGEL J. Y OTROS   NORA CRUZ MOLINA          PO BOX 2795                                            ARECIBO      PR      00613‐2795
Burgos Torres, Anthony E          ADDRESS ON FILE
BURGOS TORRES, CARMEN             ADDRESS ON FILE
Burgos Torres, Carmen M           ADDRESS ON FILE
BURGOS TORRES, DANIEL             ADDRESS ON FILE
BURGOS TORRES, DANNETTE           ADDRESS ON FILE
BURGOS TORRES, DAVID              ADDRESS ON FILE
BURGOS TORRES, EDWIN              ADDRESS ON FILE
BURGOS TORRES, ELIA               ADDRESS ON FILE
BURGOS TORRES, ENRIQUE            ADDRESS ON FILE
BURGOS TORRES, GIOVANNI           ADDRESS ON FILE
BURGOS TORRES, GIOVANNY           ADDRESS ON FILE
BURGOS TORRES, GLADYS J           ADDRESS ON FILE
BURGOS TORRES, IRIS Y             ADDRESS ON FILE
BURGOS TORRES, JORGE E.           ADDRESS ON FILE
BURGOS TORRES, JOSE               ADDRESS ON FILE
BURGOS TORRES, JOSE L             ADDRESS ON FILE
Burgos Torres, Juan Carlos        ADDRESS ON FILE
BURGOS TORRES, JUAN E.            ADDRESS ON FILE
BURGOS TORRES, JUANITA            ADDRESS ON FILE
BURGOS TORRES, KAREN              ADDRESS ON FILE
BURGOS TORRES, LEONARDO           ADDRESS ON FILE
BURGOS TORRES, LUZ N              ADDRESS ON FILE
BURGOS TORRES, LYDIA MARIA        ADDRESS ON FILE
BURGOS TORRES, MARILYN            ADDRESS ON FILE
BURGOS TORRES, MIGDALIE           ADDRESS ON FILE
BURGOS TORRES, MIGUEL A           ADDRESS ON FILE
BURGOS TORRES, MILAGROS           ADDRESS ON FILE
BURGOS TORRES, PEDRO              ADDRESS ON FILE
BURGOS TORRES, REYNALDO           ADDRESS ON FILE
BURGOS TORRES, ROSA               ADDRESS ON FILE
BURGOS TORRES, ROSELIN            ADDRESS ON FILE
BURGOS TORRES, RUBEN              ADDRESS ON FILE
BURGOS TORRES, VIRGINIA           ADDRESS ON FILE
BURGOS TORRES, WILMA L            ADDRESS ON FILE
BURGOS TORRES, XAVIER             ADDRESS ON FILE
BURGOS TORRES, YADIRA             ADDRESS ON FILE
BURGOS TORRES, YAMALIZ            ADDRESS ON FILE
BURGOS TORRUELLAS, NATHAN         ADDRESS ON FILE
BURGOS TRANI, AXEL                ADDRESS ON FILE
BURGOS TRINIDAD, CARLOS           ADDRESS ON FILE
BURGOS TRINIDAD, LUIS             ADDRESS ON FILE
BURGOS TZSCHOPPE, ILIANA          ADDRESS ON FILE
BURGOS URBINA, JUAN               ADDRESS ON FILE
BURGOS URIBE, RICKEY R.           ADDRESS ON FILE
BURGOS VALDELPINO, YAMILITTE      ADDRESS ON FILE
BURGOS VALENTIN, SHEILA M.        ADDRESS ON FILE
BURGOS VARGAS MD, BOLIVAR         ADDRESS ON FILE
BURGOS VARGAS, ISHEIRY Y.         ADDRESS ON FILE
Burgos Vargas, Joan               ADDRESS ON FILE
BURGOS VARGAS, JULIO C            ADDRESS ON FILE
BURGOS VARGAS, RICARDO            ADDRESS ON FILE




                                                                              Page 1013 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1014 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                       Address1                      Address2                      Address3   Address4   City         State   PostalCode   Country
BURGOS VARGAS, RICARDO              ADDRESS ON FILE
BURGOS VARGAS, VIMARIE              ADDRESS ON FILE
BURGOS VARGAS, WANDYMAR             ADDRESS ON FILE
Burgos Vazquez, Ana E               ADDRESS ON FILE
BURGOS VAZQUEZ, ANGEL               ADDRESS ON FILE
BURGOS VAZQUEZ, BEATRIZ             ADDRESS ON FILE
BURGOS VAZQUEZ, CARMEN L.           ADDRESS ON FILE
BURGOS VAZQUEZ, ELIZABETH BEATRIZ   ADDRESS ON FILE
BURGOS VAZQUEZ, IVELISSE            ADDRESS ON FILE
BURGOS VAZQUEZ, JANET               ADDRESS ON FILE
BURGOS VAZQUEZ, JOEL                ADDRESS ON FILE
BURGOS VAZQUEZ, JORGE               ADDRESS ON FILE
BURGOS VAZQUEZ, KEYSHLA             ADDRESS ON FILE
BURGOS VAZQUEZ, LIZMARIE            ADDRESS ON FILE
BURGOS VAZQUEZ, LIZMARY             ADDRESS ON FILE
BURGOS VAZQUEZ, LUISA E.            ADDRESS ON FILE
BURGOS VAZQUEZ, LUISA E.            ADDRESS ON FILE
BURGOS VAZQUEZ, LUZ                 ADDRESS ON FILE
BURGOS VAZQUEZ, MARITZA             ADDRESS ON FILE
BURGOS VAZQUEZ, NEYSHA M            ADDRESS ON FILE
BURGOS VAZQUEZ, NORMA               ADDRESS ON FILE
BURGOS VAZQUEZ, OLGA                ADDRESS ON FILE
BURGOS VAZQUEZ, RAQUEL              ADDRESS ON FILE
BURGOS VAZQUEZ, SORAYA E            ADDRESS ON FILE
BURGOS VEGA, ANA E                  ADDRESS ON FILE
BURGOS VEGA, ARRISTIDES             ADDRESS ON FILE
BURGOS VEGA, ISABEL                 ADDRESS ON FILE
BURGOS VEGA, JOSE                   ADDRESS ON FILE
BURGOS VEGA, JOSE                   ADDRESS ON FILE
BURGOS VEGA, JOSE E                 ADDRESS ON FILE
BURGOS VEGA, JOSE L.                ADDRESS ON FILE
BURGOS VEGA, LOYDA E.               ADDRESS ON FILE
BURGOS VEGA, MARITZA                ADDRESS ON FILE
BURGOS VEGA, NAOMIE                 ADDRESS ON FILE
BURGOS VEGA, RUBEN                  ADDRESS ON FILE
Burgos Vega, Tomas                  ADDRESS ON FILE
BURGOS VEGA, WILBERTO               ADDRESS ON FILE
BURGOS VELAZQUEZ, CARLOS E.         ADDRESS ON FILE
BURGOS VELAZQUEZ, EDWIN             ADDRESS ON FILE
BURGOS VELAZQUEZ, EUGENIO           ADDRESS ON FILE
BURGOS VELAZQUEZ, FELICITA          ADDRESS ON FILE
Burgos Velazquez, Glendy L.         ADDRESS ON FILE
BURGOS VELAZQUEZ, MARIA M           ADDRESS ON FILE
BURGOS VELÁZQUEZ, MARÍA M.          RICARDO R. PAVIA CABANILLAS   PO BOX 90662                                        SAN JUAN     PR      00906‐6612
BURGOS VELAZQUEZ, MIGUEL            ADDRESS ON FILE
BURGOS VELAZQUEZ, MIGUEL            ADDRESS ON FILE
BURGOS VELEZ, ARIANIE               ADDRESS ON FILE
BURGOS VELEZ, ISRAEL                ADDRESS ON FILE
BURGOS VELEZ, JORGE                 ADDRESS ON FILE
BURGOS VELEZ, JOSE                  ADDRESS ON FILE
Burgos Velez, Juan J                ADDRESS ON FILE
BURGOS VELEZ, PURA                  ADDRESS ON FILE
BURGOS VELEZ, SAMALY DEL C          ADDRESS ON FILE
BURGOS VELEZ, SAMARY                ADDRESS ON FILE
BURGOS VELEZ, WANDA E               ADDRESS ON FILE
BURGOS VIERA, ANA I                 ADDRESS ON FILE
BURGOS VILLALOBOS, EDDIE J.         ADDRESS ON FILE
BURGOS VILLANUEVA, ALBERTO          ADDRESS ON FILE
BURGOS VILLODAS, VERONICA           ADDRESS ON FILE
Burgos Vivas, Armando               ADDRESS ON FILE




                                                                                 Page 1014 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1015 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                    Address2                       Address3   Address4   City             State   PostalCode   Country
BURGOS VIVES, FEDERICO        ADDRESS ON FILE
BURGOS YANEZ, OTILIA          ADDRESS ON FILE
BURGOS YELITZA, M             ADDRESS ON FILE
BURGOS ZAYAS, ENITZA          ADDRESS ON FILE
BURGOS ZAYAS, SYLVIA E        ADDRESS ON FILE
Burgos, Alexis                ADDRESS ON FILE
BURGOS, ANA                   ADDRESS ON FILE
BURGOS, ANTONY E.             ADDRESS ON FILE
BURGOS, BLANCA I.             ADDRESS ON FILE
BURGOS, CARLOS A.             ADDRESS ON FILE
BURGOS, DANIEL                ADDRESS ON FILE
BURGOS, DAVID                 ADDRESS ON FILE
BURGOS, EDWARD                ADDRESS ON FILE
BURGOS, GABRIEL II            ADDRESS ON FILE
BURGOS, HECTOR M.             ADDRESS ON FILE
BURGOS, JOSE A                ADDRESS ON FILE
BURGOS, JOSE A.               ADDRESS ON FILE
BURGOS, KISHA T.              ADDRESS ON FILE
BURGOS, LIZBETH               ADDRESS ON FILE
BURGOS, MILAGROS I.           ADDRESS ON FILE
BURGOS, NORCY I               ADDRESS ON FILE
BURGOS, RAMON                 ADDRESS ON FILE
BURGOS, RICARDO IVAN          ADDRESS ON FILE
BURGOS, SYLVIA L.             ADDRESS ON FILE
BURGOS, VILMA                 ADDRESS ON FILE
BURGOS, WILLIAM               ADDRESS ON FILE
BURGOS, YAIKA                 ADDRESS ON FILE
BURGOS,ALBERTO                ADDRESS ON FILE
BURGOS,EDISON                 ADDRESS ON FILE
BURGOS,MELVIN                 ADDRESS ON FILE
Burgos‐Candelario, Carmen     ADDRESS ON FILE
BURGOSGARCIA, ANGEL L         ADDRESS ON FILE
BURGOSOLIVERAS, JANETTE       ADDRESS ON FILE
BURGOSPINTO, FELIX A          ADDRESS ON FILE
Burgos‐Torres, Nerida         ADDRESS ON FILE
BURGUILLO ANDINO, ZAIDA       ADDRESS ON FILE
BURK, URAL                    ADDRESS ON FILE
BURKE REHABILITATION CENTER   785 MAMAROLEZK AVE                                                               WHITE PLAINS     NY      10605
BURKHOLDER MD , JANET F       ADDRESS ON FILE
BURNICE RIOS TIRADO           ADDRESS ON FILE
BURNS BARALT, JAN             ADDRESS ON FILE
BURNS CALIMICI, KEVIN         ADDRESS ON FILE
BURNSIDE MD, JOHN             ADDRESS ON FILE
BURROSA LORENZO, BELINDA      ADDRESS ON FILE
BURROWES GOMEZ, PATRICIA      ADDRESS ON FILE
BURROWS FURNITURE SHOWROOM    1645 N LYNN RIGGS BLVD                                                           CLAREMORE        OK      74017
BURSET CUEVAS, LUIS           ADDRESS ON FILE
BURSET FLORES, CARLOS         ADDRESS ON FILE
BURSON MARSTELLER PR INC      PO BOX 363785                                                                    SAN JUAN         PR      00936‐3785
BURSTEIN NEGRON, BRENDA C.    ADDRESS ON FILE
BURTON CURRY, CARRIE          ADDRESS ON FILE
BURTON TORRUELLA, BOBBY       ADDRESS ON FILE
BURY FIOL, ARLENE             ADDRESS ON FILE
BURY FIOL, STEPHEN HOWARD     ADDRESS ON FILE
BURY TEASDALE, GRAEME         ADDRESS ON FILE
BURZYNSKI CLINIC              9432 KATY FREEWAY STE 200                                                        HOUSTON          TX      77055
BUS LINE CINTRO INC           HC 2 BOX 11249                                                                   HUMACAO          PR      00791‐9318
BUS LINE CINTRO, INC.         HC 02 BOX 11249                                                                  HUMACAO          PR      00791
BUSANET CRUZ, GLORIA          ADDRESS ON FILE
BUSANET CRUZ, JORGE           ADDRESS ON FILE




                                                                          Page 1015 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1016 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                          Address1                                  Address2                                  Address3   Address4   City               State   PostalCode    Country
BUSANET IRIZARRY, REBECA               ADDRESS ON FILE
BUSCAGLIA, MARIA EUGENIA               ADDRESS ON FILE
BUSCALIA SUAREZ, RAFAEL                ADDRESS ON FILE
BUSCAMPEL SANTIAGO, RAMONA             ADDRESS ON FILE
BUSCAMPER CONCEPCION, ANNETTE I.       ADDRESS ON FILE
BUSCAMPER INOSTROZA, BELMARI           ADDRESS ON FILE
BUSCAMPER MORALES, ANTONIO             ADDRESS ON FILE
BUSCANDO PLAN MEDICO COM ASOCIADOS     PO BOX 10511                                                                                              SAN JUAN           PR      00922‐0511
BUSCATO RONDA, MANUEL                  ADDRESS ON FILE
BUSCH CONSOLIDATED INC RET PLAN        516 VIKING DR                                                                                             VIRGINIA BEACH     VA      23452‐7316
BUSCH CONSOLIDATED INC RET PLAN        516 VIKING DR                                                                                             VIRGINIA BEACH     NC      23452‐7316
BUSCH INC                              URB INDUSTRIAL MINILLAS                   420 SUITE 4 CALLE E                                             BAYAMON            PR      00959
BUSHBERG GONZALEZ MD, DAVID            ADDRESS ON FILE
BUSHBERG GONZALEZ, SANDRA              ADDRESS ON FILE
BUSHER SCHEITHE, NICOLE                ADDRESS ON FILE
BUSIGO BORRAS, HAROLD                  ADDRESS ON FILE
BUSIGO CORDERO, JANICE                 ADDRESS ON FILE
BUSIGO CORDERO, JASON P.               ADDRESS ON FILE
BUSIGO CUEBAS, ELIZABETH               ADDRESS ON FILE
BUSIGO FRONTERA, JOSE                  ADDRESS ON FILE
BUSIGO MARTINEZ, HECTOR N              ADDRESS ON FILE
BUSIGO ORTIZ, SCHEREZADA               ADDRESS ON FILE
BUSIGO RODRIGUEZ, ZUANIA VIANCA        ADDRESS ON FILE
BUSINESS & INSTITUTIONAL               611 N BROADWAY                            P O BOX 922039                                                  MILWAUKEE          WI      53202‐0039
BUSINESS COMPUTER POS INC              PO BOX 194042                                                                                             SAN JUAN           PR      00919‐4042
BUSINESS CONSULTAN GROUP               PO BOX 1850 SUITE 322                                                                                     SAN JUAN           PR      00922‐1850
BUSINESS CONSULTING SPECIALIST INC     PO BOX 541                                                                                                COAMO              PR      00769‐0541
BUSINESS CONTINUITY PROFESSIONAL INC   COND EL LAUREL                            J 8 AVE SAN PATRICIO APT 2 A                                    GUAYNABO           PR      00968‐4460
BUSINESS CONTRACTING INVESTMENT        COND PLAZA UNIVERSIDAD                    2000 CALLE ANASCO 839 LOCAL 5                                   SAN JUAN           PR      00925
BUSINESS DIRECTORY SERVICES            2413 BOWLAND PARWAY SUITE 102                                                                             VIRGINIA BEACH     VA      23454
BUSINESS EQUIPMENT , INC.              3179 ‐ B CALLE CLEMSON UNIVERSITY GARDENS                                                                 SAN JUAN           PR      000907‐0000
BUSINESS EQUIPMENT CORP                506 AVENIDA TENIENTE CESAR GONZALEZ       URB. ROOSEVELT                                                  SAN JUAN           PR      00918
BUSINESS EQUIPMENT CORP                P O BOX 364483                                                                                            SAN JUAN           PR      00936‐4483
BUSINESS EQUIPMENT CORP                URB UNIVERSITY GARDENS                    317 B CALLE CLEMSON                                             SAN JUAN           PR      00927
BUSINESS EQUIPMENT CORP                URBN ROOSEVELT                            506 CALLE TENIENTE CESAR GONZALEZ                               SAN JUAN           PR      00918
BUSINESS ESSENTIALS INC                HACIENDA SAN JOSE                         697 VIA DEL SOL                                                 CAGUAS             PR      00727
BUSINESS EXCELLENCE CONSULTING         PO BOX 8326                                                                                               BAYAMON            PR      00960
BUSINESS IMPROVEMENT AND MARKETING     SOLUTIONS LLC                             400 AV. FLANKLIN DELANO ROOSEVELT                               SAN JUAN           PR      00936
BUSINESS INTELLIGENCE OF PR            PO BOX 11991 CAPARRA HEIGHTS STA                                                                          SAN JUAN           PR      00922‐1991
BUSINESS INTERIORS INC                 1550 AVE PONCE DE LEON                    PDA 23 SUITE 301                                                SAN JUAN           PR      00909
BUSINESS PLANNERS INC MORALES MIRNA    2135 CARR 2 STE 15 # PMB 413                                                                              BAYAMON            PR      00959‐5234
BUSINESS PROFESSIONAL HIRERS, INC.     268 PONCE LEON AVE                        SUITE 506                                                       SAN JUAN           PR      00918‐2011
BUSINESS SOUND & MUSIC INC             PMB 134 HC‐01 BOX 29030                                                                                   CAGUAS             PR      00725‐8900
BUSINESS SOUND & MUSIC INC             RR 16 BOX 3215                                                                                            SAN JUAN           PR      00926
BUSINESS TECHNOLOGY GROUP              P O BOX 34553                             FT BUCHANAN                                                     GUAYNABO           PR      00934
BUSINESS TECHNOLOGY INTEGRATION INC    PO BOX 364092                                                                                             SAN JUAN           PR      00936‐4092
BUSINESS TECHNOLOGY PARTNERS           273 CALLE HONDURAS COND. ROYAL 1004                                                                       SAN JUAN           PR      00917
BUSINESS TELE COMMUNICATIONS           P O BOX 16635                                                                                             SAN JUAN           PR      00908
BUSINESS TELECOMMUNICATIONS, INC       PO BOX 16635                                                                                              SAN JUAN           PR      00908‐6635
BUSINESS TELE‐COMUNICATIONS INC        1659 CALLE PARANA                         URB PARADISE HILLS                                              SAN JUAN           PR      00926
BUSINESS TELE‐COMUNICATIONS INC.       PARADISE HILL                             1637 CALLE PARANA                                               SAN JUAN           PR      00926‐2933
BUSO ABOY, ROBERTO                     ADDRESS ON FILE
BUSO FELICIANO, OLGA                   ADDRESS ON FILE
BUSO GARCIA, PEDRO                     ADDRESS ON FILE
BUSO GRIGGS, CARLOS ANTONIO            ADDRESS ON FILE
BUSO JIMENEZ, WANDA                    ADDRESS ON FILE
BUSO TORRES, JUAN                      ADDRESS ON FILE
BUSO TORRES, MARIA                     ADDRESS ON FILE
BUSOT ALMEIDA, JACQUELINE              ADDRESS ON FILE
BUSQUETS BERRIOS, JEANNINE             ADDRESS ON FILE




                                                                                                            Page 1016 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1017 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
BUSQUETS CORTINA, IVETTE          ADDRESS ON FILE
BUSQUETS FERRIOL MD, JOSE         ADDRESS ON FILE
BUSQUETS FOX, LISSA               ADDRESS ON FILE
BUSQUETS LLORENS, ANTONIO         ADDRESS ON FILE
BUSQUETS MARCIAL, DAVID J.        ADDRESS ON FILE
BUSQUETS MUNOZ, IRAIDA            ADDRESS ON FILE
BUSQUETS PESQUERA, CARMEN         ADDRESS ON FILE
BUSQUETS PESQUERA, EDUARDO        ADDRESS ON FILE
BUSQUETS SCHROEDER, CELIA M       ADDRESS ON FILE
BUSQUETS SCHROEDER, MYRIAM M      ADDRESS ON FILE
BUSQUETS VAZQUEZ, MILTON          ADDRESS ON FILE
BUSQUETS VELEZ, VERONICA T        ADDRESS ON FILE
BUSQUETS VILA, MILTON             ADDRESS ON FILE
BUSS, LUCAS                       ADDRESS ON FILE
BUSSATTI PEREZ, ALFREDO R         ADDRESS ON FILE
BUSSATTI PEREZ, ANDRES E          ADDRESS ON FILE
BUSSHER RODRIGUEZ, LYMARIE        ADDRESS ON FILE
BUSSI CINTRON, JOSE A             ADDRESS ON FILE
BUSSI LEBRON, MARIO               ADDRESS ON FILE
BUSTAMANTE ESTRELLA, JOSE         ADDRESS ON FILE
BUSTAMANTE GARCIA, ELBA           ADDRESS ON FILE
BUSTAMANTE HUNGRIA, ALEJANDRO     ADDRESS ON FILE
BUSTAMANTE MD, GUSTAVO            ADDRESS ON FILE
BUSTAMANTE, SUEVELYN              ADDRESS ON FILE
BUSTAMENTE COLON, MARIA D         ADDRESS ON FILE
BUSTELO DIAZ, VICTORIA            ADDRESS ON FILE
BUSTELO GARCIA, MARIA T.          ADDRESS ON FILE
BUSTELO MORAN, HERNAN             ADDRESS ON FILE
BUSTELO PLAZA, ANDRE A.           ADDRESS ON FILE
BUSTER L PIZARRO TAMARI           ADDRESS ON FILE
BUSTER TORRES, CHRISTIAN          ADDRESS ON FILE
BUSTILLO ALFONSO, ARMANDO M.      ADDRESS ON FILE
BUSTILLO FERNANDEZ, ANA M.        ADDRESS ON FILE
BUSTILLO FORMOSO, ANTONIO         ADDRESS ON FILE
BUSTILLO FORMOSO, JOSE            ADDRESS ON FILE
BUSTILLO GONZALEZ MD, BARBARA     ADDRESS ON FILE
BUSTILLO GONZALEZ, JOSE           ADDRESS ON FILE
BUSTSMANTE GARCIA, ALVARO         ADDRESS ON FILE
BUTHER CARATTINI, NORMA A         ADDRESS ON FILE
BUTHYNA HUSSEIN TIRADO            ADDRESS ON FILE
Butko Cruz, Jason J               ADDRESS ON FILE
BUTKO CRUZ, LISA L                ADDRESS ON FILE
BUTLER ACEVEDO, ALEXIS            ADDRESS ON FILE
BUTLER ACEVEDO, MARIBEL           ADDRESS ON FILE
BUTLER ACEVEDO, MELISSA           ADDRESS ON FILE
BUTLER ARMAIZ, RALPH              ADDRESS ON FILE
BUTLER ARMAIZ, STEVEN             ADDRESS ON FILE
BUTLER CRUZ, ALEX                 ADDRESS ON FILE
BUTLER CRUZ, JACQUELINE           ADDRESS ON FILE
BUTLER CRUZ, ROBERTO              ADDRESS ON FILE
BUTLER FELICIANO, LIZMARIE        ADDRESS ON FILE
BUTLER FERNANDEZ, DUHAMEL         ADDRESS ON FILE
BUTLER FERNANDEZ, EFREN           ADDRESS ON FILE
BUTLER FERNANDEZ, MARIA G         ADDRESS ON FILE
BUTLER FERNANDEZ, RUBEN           ADDRESS ON FILE
BUTLER GALARZA, JOHANNA           ADDRESS ON FILE
BUTLER GARCIA, BRENDA L           ADDRESS ON FILE
BUTLER GARCIA, CARLOS             ADDRESS ON FILE
BUTLER GARCIA, GREGORY            ADDRESS ON FILE
BUTLER GARCIA, MARIA DE LOURDES   ADDRESS ON FILE




                                                                              Page 1017 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1018 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                      Address1                        Address2                     Address3   Address4   City           State   PostalCode   Country
BUTLER GARCIA, YAZMIN              ADDRESS ON FILE
BUTLER GRAHAM, MARIO A             ADDRESS ON FILE
BUTLER HOSPITAL                    345 BLACKSTONE BLVD                                                                PROVIDENCE     RI      02906
BUTLER JIMENEZ, GENESIS            ADDRESS ON FILE
BUTLER JR, BRUCE                   ADDRESS ON FILE
BUTLER LEBRON, NORMA I             ADDRESS ON FILE
BUTLER LOPEZ, NANCY                ADDRESS ON FILE
BUTLER LOPEZ, RUBEN                ADDRESS ON FILE
Butler Lugo, Jorge L               ADDRESS ON FILE
BUTLER LUGO, RICARDO               ADDRESS ON FILE
BUTLER MARTINEZ, JANET             ADDRESS ON FILE
BUTLER MARTINEZ, MONICA            ADDRESS ON FILE
BUTLER MORALES, LUIS M.            ADDRESS ON FILE
BUTLER NIEVES, PROVIDENCIA         ADDRESS ON FILE
BUTLER PEREZ, LUIS                 ADDRESS ON FILE
BUTLER PEREZ, LUZ E                ADDRESS ON FILE
BUTLER PEREZ, NOEMI R              ADDRESS ON FILE
BUTLER PORRATA, EDNA               ADDRESS ON FILE
Butler Ramos, Temistocles          ADDRESS ON FILE
BUTLER RIVERA, ANNETTE             ADDRESS ON FILE
BUTLER RIVERA, MICHELLE E          ADDRESS ON FILE
BUTLER RIVERA, OMAR                ADDRESS ON FILE
BUTLER RODRIGUEZ, AIDA L           ADDRESS ON FILE
BUTLER RODRIGUEZ, JANEYTZA         ADDRESS ON FILE
BUTLER ROMAN, MARY A               ADDRESS ON FILE
BUTLER ROSARIO, GERALD             ADDRESS ON FILE
BUTLER RUIZ, CARLOS                ADDRESS ON FILE
BUTLER SALES CORPORATION           PO BOX 29222                                                                       SAN JUAN       PR      00929
BUTLER SEPULVEDA, JAVIER E         ADDRESS ON FILE
BUTLER SEPULVEDA, YOLANDA          ADDRESS ON FILE
BUTLER VARGAS, GLADYS              ADDRESS ON FILE
BUTLER VAZQUEZ, AMARILIS           ADDRESS ON FILE
BUTLER, ANA H                      ADDRESS ON FILE
BUTTER DIAZ, MIGUEL                ADDRESS ON FILE
BUTTER LOPEZ, LUZ M                ADDRESS ON FILE
BUTTER LOPEZ, NANCY                ADDRESS ON FILE
BUTTER LOPEZ, NOEMI                ADDRESS ON FILE
BUTTER MARTINEZ, NORBERTO          ADDRESS ON FILE
BUTTER MATOS, LUIS                 ADDRESS ON FILE
BUTTER PAGAN, LUIS                 ADDRESS ON FILE
BUTTER PAGAN, LUIS ESTEBAN         ADDRESS ON FILE
BUTTER RODRIGUEZ, ADELINA          ADDRESS ON FILE
BUTTER RODRIGUEZ, LIMARYS          ADDRESS ON FILE
BUTTER RODRIGUEZ, MARIA L          ADDRESS ON FILE
BUTTER VENDRELL, DORIS             ADDRESS ON FILE
BUTTERWORTH DE PR INC              EDIF PELLO PASEO COVADONGA 52   PO BOX 5415                                        SAN JUAN       PR      00906‐5415
BUTTERWORTH, MICHIE                ADDRESS ON FILE
BUTTLER LUGO, MIGDALIA             ADDRESS ON FILE
BUTTS PADILLA, MARLY T             ADDRESS ON FILE
BUX INC                            807 AVE FERNANDEZ JUNCOS                                                           SAN JUAN       PR      00907‐4305
BUXEDA DIAZ, IVAN R                ADDRESS ON FILE
BUXEDA GOMEZ, MARIA                ADDRESS ON FILE
BUXEDA HERNANDEZ, DAVID            ADDRESS ON FILE
BUXO ALMEDA, EDDA I                ADDRESS ON FILE
BUXO ATTORNEYS & CONSULTANTS PSC   P O BOX 362708                                                                     SAN JUAN       PR      00919‐1599
BUXO BORGES, CRUZ                  ADDRESS ON FILE
Buxo Crespo, Ricardo               ADDRESS ON FILE
BUXO DE RIVERA, DIANA              ADDRESS ON FILE
BUXO DIAZ MD, YADIRA I             ADDRESS ON FILE
BUXO DIAZ, RAISSA                  ADDRESS ON FILE




                                                                                 Page 1018 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1019 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                             Address1                                  Address2                                   Address3   Address4   City              State   PostalCode   Country
BUXO JANER, GERARDO                       ADDRESS ON FILE
BUXO JAVIER, HAYDEE                       ADDRESS ON FILE
BUXO MALDONADO, MARICRUZ                  ADDRESS ON FILE
BUXO MARTINEZ, CARMEN                     ADDRESS ON FILE
BUXO PEREZ, CARLOS                        ADDRESS ON FILE
BUXO REYES, ALEXANDER                     ADDRESS ON FILE
BUXO SAEZ, LINDA                          ADDRESS ON FILE
BUXO TIRADO, SHAMIL                       ADDRESS ON FILE
BUYE GONZALEZ, LUCAS                      ADDRESS ON FILE
BUZAINZ DE AGUILA, JORGE                  ADDRESS ON FILE
BUZAINZ DE AGUILA, JORGE                  ADDRESS ON FILE
BUZZETTA TORRES, AILEEN                   ADDRESS ON FILE
BVI GAS, INC.                             LIC. ANTONIO BAUZA SANTOS ‐ ABOGADO DE BV PO BOX 13399                                                     SANJUAN           PR      00908
BVQI COLOMBIA LTDO.                       CALLE 72 #7‐82 PISO 3                                                                                      BOGOTA                    011001000    CHINA
BVR AMBULANCE BEST CARE                   SUITE 273 PO BOX 71325                                                                                     SAN JUAN          PR      00936
BYANKAH SOBA OSORIO                       170 AVE ARTERIAL HOSTOS APT. P5                                                                            SAN JUAN          PR      00918
BYK EXTERMINATING                         ALTS DE SAN PEDRO                         Q44 CALLE SAN MIGUEL                                             FAJARDO           PR      00738‐5009
BYKE CITY                                 URB LAS RIVIERAS                          134 AVE DE DIEGO                                                 SAN JUAN          PR      00921
BYRON CHIQUE SANCHEZ                      ADDRESS ON FILE
BYRON GONZALEZ, ARACELIS                  ADDRESS ON FILE
BYRON GONZALEZ, DAVID                     ADDRESS ON FILE
BYRON GONZALEZ, MINERVA                   ADDRESS ON FILE
BYRON L ANTONETTY SANTIAGO                ADDRESS ON FILE
BYRON PIKE NURSERY                        PO BOX 516                                                                                                 SABANA HOYOS      PR      00688
BYRON PIKE NURSERY & SUPPLY/SUN PRO PR    BO SABANA HOYO                            CARR 664 KM 3.3                                                  ARECIBO           PR      00688
BYRON RIVERA, ELADISLAO                   ADDRESS ON FILE
BYRON VILLEGAS, DHARMA V                  ADDRESS ON FILE
BYTEK                                     461 CALLE CESAR GONZALEZ                                                                                   HATO REY          PR      00918
BYTEK                                     461 CESAR GONZALEZ SUITE 1                                                                                 SAN JUAN          PR      00918
BYTEK                                     CARR 174 AGUSTIN STABL A 12                                                                                BAYAMON           PR      00956‐0000
C GENERAL CONTRACTOR, CORP                PO BOX 69                                                                                                  TOA ALTA          PR      00954‐0069
C & C AIR CONDITIONING                    HC 1 BOX 7840                                                                                              TOA BAJA          PR      00949
C & C FOOD, INC.                          PO BOX 338                                                                                                 MOCA              PR      00676
C & C SUPPLY & MAINTENANCE INC            P O BOX 51803                                                                                              TOA BAJA          PR      00950‐1803
C & C SUPPLY & MAINTENANCE INDUSTRIAL SERVPO BOX 51803                                                                                               TOA BAJA          PR      00950
C & D GENERAL CONTRACTORS INC             BOSQUE DE LAS FLORES                      BOX 33                                                           BAYAMON           PR      00956
C & F BATTISTINI TRANSPORT CORP           HC 2 BOX 7119                                                                                              ADJUNTAS          PR      00601
C & G REGISTRATION & R S                  URB SIERRA BAYAMON                        75 4 CALLE 24                                                    BAYAMON           PR      00961
C & L AUTO AIR INC                        HC 3 BOX 36228                                                                                             CAGUAS            PR      00725
C & L AUTO AIR, INC                       HC ‐ 03 BOX 36228                                                                                          CAGUAS            PR      00725‐9703
C & P CONSULTING GROUP INC                133 RIVER WALK ENCANTADA                                                                                   TRUJILLO ALTO     PR      00976‐6214
C & P CONSULTING GROUP INC                AVE PONCE DE LEON                         623 SUITE 503 B                                                  SAN JUAN          PR      00917
C & S HIGH PURITY SERVICES INC            URB SANTA JUANITA                         PMB 157 CALLE 39 UUI                                             BAYAMON           PR      00956‐0000
C A SEVERO INC                            PO BOX 80234                                                                                               COROZAL           PR      00783‐8234
C A A PRODUCIONES/CARMEN AQUINO RAMIREZCOND IBERIA I                                554 CALLE PERSEO APT 1503                                        SAN JUAN          PR      00920‐4268
C A CELLULAR INC                          URB LOS CAMINOS                           30 CALLE ALIUM                                                   SAN LORENZO       PR      00754
C A E R INC                               MONTE MALL SHOPPING CENTER 3ER PISO       652 MUNOZ RIVERA OFIC 16                                         SAN JUAN          PR      00918
C A R SPEEDY TRANSMISSIONS CORP           PO BOX 4956                                                                                                CAGUAS            PR      00725‐4956
C A S MGT [HOSP ALEJANDRO OTERO LOPEZ]    PO BOX 1142                                                                                                MANATI            PR      00674
C ABESSINIO MD, PHILIP D                  ADDRESS ON FILE
C ARQUIDIOCESANO DE RECURSOS              CAMINO ALEJANDRINO KM 3.4                                                                                  GUAYNABO          PR      00969
C ARQUIDIOCESANO DE RECURSOS              PARA EL APRENDIZAJE                                                                                        GUAYNABO          PR      00969
C B C CONSTRUCTIONS SERVICES              411 VIA CAMPINA                                                                                            CAGUAS            PR      00727‐3048
C B CONSULTAN GROUP INC                   PO BOX 330206                                                                                              PONCE             PR      00733
C C D BABIES 1ST SCHOOL II                URB MONTE CARLO                           A 10 CALLE A                                                     VEGA BAJA         PR      00693
C CORTES TRUCKING                         HC 3 BOX 10624                                                                                             JUANA DIAZ        PR      00795‐9589
C CUEBAS ROLON MD, INES DEL               ADDRESS ON FILE
C D I EMMANUEL                            VILLA NEVAREZ                             304 CALLE 22                                                     SAN JUAN          PR      00927
C D O INCORPORADO                         PO BOX 29                                                                                                  MAYAGUEZ          PR      00681‐0029
C E & L FIRE EXTINGUISHERS                PO BOX 3092                                                                                                BAYAMON           PR      00960




                                                                                                                Page 1019 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                       Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1020 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                          Address1                                          Address2                                    Address3               Address4   City              State   PostalCode   Country
C E & L FIRE EXTINGUISHERS INC         P O BOX 3092                                                                                                                    BAYAMON           PR      00960
C F ATLETICO DE ANASCO                 PO BOX 2531                                                                                                                     ANASCO            PR      00610
C G PRINTING                           BOX 30000 SUITE 566                                                                                                             CANOVANAS         PR      00729
C GONZALEZ INC                         HC 1 BOX 8389                                                                                                                   SAN GERMAN        PR      00683
C H CONTRACTOR INC                     P O BOX 631                                                                                                                     MARICAO           PR      00623
C H R REAL ESTATE SERV INC             PO BOX 3815                                                                                                                     CAROLINA          PR      00984‐3815
CIAPA                                  HC1 BOX 8143                                                                                                                    LAS PIEDRAS       PR      00771
C J CARIBE INC                         URB EL PARAISO 114                                CALLE AMAZONA APT #1                                                          SAN JUAN          PR      00925
C J FITNESS INC                        RESIDENCIAL BAIROA                                BK 8 AVE BAIROA                                                               CAGUAS            PR      00726
C J GONZALEZ                           ADDRESS ON FILE
C J O CONSTRUCTION CORP                P O BOX 844                                                                                                                     NARANJITO         PR      00719‐0844
C L CONCRETE SERVICE                   PO BOX 364371                                                                                                                   CULEBRA           PR      00775
C L CONSULTANTS INC                    COND ALTO MONTE                                   100 CARR 842 APT 100                                                          SAN JUAN          PR      00926‐9627
C L S INC                              PO BOX 16662                                                                                                                    SAN JUAN          PR      00908
C LIEN SOLUTIONS                       330 N BRAND BLVD STE 700                                                                                                        GLENDALE          CA      91203
C M A BUILDERS CORP                    AVE LAS CUMBRES                                   174 CALLE LOS ANDES                                                           SAN JUAN          PR      00926
CMG                                    VILLA FONTANA                                     2NR562 VIA 2                                                                  CAROLINA          PR      00983‐3846
C M LIFE INSURANCE COMPANY             1295 STATE ST CORP TAX E410                                                                                                     SPRINGFIELD       MA      01111‐0001
C M M CONTRUCTION INC                  COND MONTECILLO 1                                 1 VIA PEDREGAL APT 106                                                        TRUJILLO ALTO     PR      00976
C M PARKING                            PUERTO NUEVO                                      1121 CALLE CANADA                                                             SAN JUAN          PR      00920
C M REALTY INC                         P O BOX 190302                                                                                                                  SAN JUAN          PR      00919‐0302
C M T GROUP CORP                       PO BOX 192071                                                                                                                   SAN JUAN          PR      00919‐2071
C M VANIDADES BEAUTY SALON INC         PO BOX 577                                                                                                                      CAMUY             PR      00627‐0577
C O A DISTRIBUTOR                      PALACIOS DEL RIO                                  550 CALLE YUNES                                                               TOA ALTA          PR      00953
C P A CARLOS CARDONA                   PO BOX 1402                                                                                                                     ANASCO            PR      00610
C P A HECTOR VELEZ P S C               PO BOX 1228                                                                                                                     MANATI            PR      00674
C P A RAFAEL EMMANUELLI COLON          COND EL SENORIAL                                  1326 CALLE SALUD STE 513                                                      PONCE             PR      00717‐1687
C R ADVERTISING SPECIALTY INC          EXT FOREST HILLS                                  R 147 ATENAS                                                                  BAYAMON           PR      00959
C R ADVERTISING SPECIALTY INC          PO BOX 8811                                                                                                                     BAYAMON           PR      00960
C R COMMUNICATION DESIGN SERV INC      CALLE LABRA 150‐B                                 ESQALDEA                                                                      SAN JUAN          PR      00907
C R RONDINELLI INC                     PO BOX 497                                                                                                                      ARECIBO           PR      00613‐0497
C R S TRANSPORT CORP                   PO BOX 4960 PMB 830                                                                                                             CAGUAS            PR      00726‐4960
C R TONER SUPPLIES INC                 ALTURAS DE TERRALINDA                             #120                                                                          YABUCOA           PR      00767
C RAMOS ESTRELLA MD, MARIA DEL         ADDRESS ON FILE
C RUBI GONZALEZ &                      CINTRON AVILES                                    CITY VIEW PLAZA II                          48 CARR 165 STE 2000              GUAYNABO          PR      00968
C S R CONSTRUCTION CORP                HC 20 BOX 27903                                                                                                                 SAN LORENZO       PR      00754
CTPS                                   PO BOX 29771                                                                                                                    SAN JUAN          PR      00929‐0771
C W CONTRACTORS & BUILDING MAINTENANCE POLARIS FK ‐ 35 IRLANDA HEIGHTS                                                                                                 BAYAMON           PR      00956‐0000
C W MANAGEMENT                         IF 48 AVE LOMAS VERDES                                                                                                          BAYAMON           PR      00956
C Y G RENTAL CONST INC                 LOS ALMENDROS PLAZA II                                                                  309                                     SAN JUAN          PR      00924
C Y M AUTO PARTS INC                   P O BOX 635                                                                                                                     CAGUAS            PR      00726
                                                                                                                                     CONDADO ASTOR OFIC.
C&A, S.E                                 HENRY VAZQUEZ IRIZARRY                            1018 AVE. ASHFORD                         3 A‐5                             SAN JUAN          PR      00907
C&C PROFESSIONAL THERAPY GROUP, INC.     CALLE MAYAGUEZ 214                                                                                                            SAN JUAN          PR      00917
C&C PROFESSIONAL THERAPY GROUP, INC.     PORTALES PARQUE ESCORIAL 9204                                                                                                 CAROLINA          PR      00987
C&C SUPPLY & MAINTENANCE INDUSTRIAL SERV PO BOX 51803                                                                                                                  TOA BAJA          PR      00950
C&E SERVICES INC                         PARQ IND. JULIO N. MATOS LOTE 26                                                                                              CAROLINA          PR      00984
C&R TOWER SERVICE, INC                   29 VILLAS DE SAN BLAS                                                                                                         COAMO             PR      00769
C. M. Life Insurance Company             100 Bright Meadow Boulevard                       Suite 1                                                                     Enfield           CT      06082
C. M. Life Insurance Company             Attn: Ann Lomeli, Vice President                  1295 State Street                                                           Springfield       MA      01111
C. M. Life Insurance Company             Attn: Greta Zielinski, Premiun Tax Contact        1295 State Street                                                           Springfield       MA      01111
C. M. Life Insurance Company             Attn: Jim Puhala, Circulation of Risk             1295 State Street                                                           Springfield       MA      01111
C. M. Life Insurance Company             Attn: Jim Puhala, Consumer Complaint Contact 1295 State Street                                                                Springfield       MA      01111
C. M. Life Insurance Company             Attn: Kevin Rasch, Regulatory Compliance Govern1295 State Street                                                              Springfield       MA      01111
C. M. Life Insurance Company             Attn: Robert Crandall, President                  1295 State Street                                                           Springfield       MA      01111
C. M. Life Insurance Company             c/o Corporate Creations Puerto Rico, Inc., Agent f1295 State Street                                                           Springfield       MA      01111
C.A.R.F.                                 6951 EAST SOUTH POINT ROAD                                                                                                    TUCSON            AZ      85756‐9407
C.C.D. San Justo                         PO BOX 775                                                                                                                    SAINT JUST        PR      00978
C.E. CARIBBEAN EQUIPMENT , INC.          AVENIDA HOSTOS # 502                                                                                                          SAN JUAN          PR      00918‐0000
C.I P.R.E.                               107 SUR AVE. CRUZ ORTIZ STELLA                                                                                                HUMACAO           PR      00791‐0000




                                                                                                                    Page 1020 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1021 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                        Address1                                  Address2                                     Address3   Address4   City            State   PostalCode   Country
C.O.P.S. CORPORACION ORGANIZADA DE   PO BOX 1649                                                                                                  BAYAMON         PR      00960‐1649
C.O.P.S. CORPORACION ORGANIZADA DE   URB ALTURAS DE FLAMBOYAN CALLE 2 ESQ AVE TMARTINEZ L‐32                                                      BAYAMON         PR      00959
C.O.R.D.A. DE PUERTO RICO, INC.      P O BOX 220                                                                                                  HUMACAO         PR      00792‐0220
C.P. AND S. MECHANICAL CORP.         PO BOX 3860                                                                                                  GUAYNABO        PR      00970
C.R.PLACERES                         URB LEVITTOWN LAKES                       FH26 CALLE NEMESIO CANALES                                         TOA BAJA        PR      00949‐2762
C.S.C. DR. JOSE S. BELAVAL INC.      BO. OBRERO STATION                        APARTADO 14457                                                     SANTURCE        PR      00916
C.T.M.A.P.R.                         P.O. BOX 8148                                                                                                BAYAMON         PR      00960‐0000
C.U.R.I. BASEBALL CLUB               P O BOX 2609                                                                                                 ARECIBO         PR      00613
C/ TREK HOLDINGS CORP                268 PONCE DE LEON AVE THE                 HATO REY CENTER SUITE 903                                          SAN JUAN        PR      00918
C/F MARK PROMO & SPECIAL EVENTS      RR 4 BOX 4040                                                                                                CIDRA           PR      00739‐9272
C/TREK CORPORATION                   PO BOX 194242                                                                                                SAN JUAN        PR      00919‐4242
C2S CONSULTING                       METRO OFFICE PARK                         6 CALLE 1 STE 104                                                  GUAYNABO        PR      00968
C3 INC                               65 CALLE LUISA                                                                                               SAN JUAN        PR      00907
C‐3 INC DBA REAKTOR POS              64 CONDADO                                CALLE LUISA                                                        SAN JUAN        PR      00907
C4I inc                              1840 MICHAEL FARADAY DRIVE                STE 210                                                            RESTON          VA      20190
C787 STUDIOS                         702 FERNANDEZ JUNCOS APT PH4                                                                                 SAN JUAN        PR      00907
C787STUDIOS                          734 CALLE CERRA                                                                                              SAN JUAN        PR      00907
CA AUDIO VISUAL CONTRACTORS          PO BOX 2461                                                                                                  BAYAMON         PR      00960
CA ENGINEERING_PSC                   PO BOX 190332                                                                                                SAN JUAN        PR      00919
CA SOLUTIONS, INC.                   7946 NW 66th St                                                                                              Miami           FL      33166
CA SOLUTIONS, INC.                   PO BOX 787                                                                                                   FAJARDO         PR      00738‐0787
CAA CONSULTING GROUP, INC            COMPUTER PRO                              PO BOX 270283                                                      SAN JUAN        PR      00927‐0283
CAALPI II INC                        COND MEDICAL CENTER PLAZA                 OFICINA 308                                                        MAYAGUEZ        PR      00681
CAALPI INC                           EDIF MULTIFABRIL APT 213                                                                                     HORMIGUEROS     PR      00660
CAAMANO DE JESUS, CALIXTO            ADDRESS ON FILE
CAAMANO FIGUEROA, JOSE               ADDRESS ON FILE
CAAMANO GONZALEZ, BERNARDO           ADDRESS ON FILE
CAAMANO GONZALEZ, BERNARDO           ADDRESS ON FILE
CAAMANO GONZALEZ, ROSA M             ADDRESS ON FILE
CAAMANO MACHADO, BLANCA R            ADDRESS ON FILE
CAAMANO MALDONADO, JESUS             ADDRESS ON FILE
CAAMANO MELENDEZ, GRISSELLE          ADDRESS ON FILE
CAAMANO MENA, SANDRA                 ADDRESS ON FILE
CAAMANO NISTAL, OSVALDO              ADDRESS ON FILE
CAAMANO VAZQUEZ, JOHANNY             ADDRESS ON FILE
CAANEN CRUZ, WILHELMUS               ADDRESS ON FILE
CAANEN IRIZARRY, FRANCISCUS W        ADDRESS ON FILE
CAB ENGINEERING P S C                CENTRO INTERNACIONAL DE MERCADEO II       CARR 165 TORRE 90 OFICINA 311                                      GUAYNABO        PR      00968
CABA ADAMES, JONATHAN                ADDRESS ON FILE
CABA CABRERA, GILBERTO               ADDRESS ON FILE
CABA CARABALLO, JOEL                 ADDRESS ON FILE
CABA DE HOYOS, LUIS                  ADDRESS ON FILE
CABA GONZALEZ, LUIS A.               ADDRESS ON FILE
CABA GONZALEZ, MARIA M               ADDRESS ON FILE
CABA GONZALEZ, MARIA M.              ADDRESS ON FILE
CABA GONZALEZ, RAFAEL                ADDRESS ON FILE
CABA GUILLEN, MARGARITA              ADDRESS ON FILE
CABA SANTANA, RICARDO R              ADDRESS ON FILE
CABA VERA, MARISOL                   ADDRESS ON FILE
CABAAS TORRES, OMAR                  ADDRESS ON FILE
CABALLEERO VILLALONGA, TAURINO       ADDRESS ON FILE
CABALLEIRA CABRANES, NESTOR          ADDRESS ON FILE
CABALLER CORREA, MANUEL              ADDRESS ON FILE
CABALLER CRUZ, AIXA                  ADDRESS ON FILE
CABALLER CRUZ, ROSANA                ADDRESS ON FILE
CABALLER CRUZ, ROSANA                ADDRESS ON FILE
CABALLER DIAZ, CHRISTIAN             ADDRESS ON FILE
CABALLER FERNANDEZ, PEDRO            ADDRESS ON FILE
CABALLER RODRIGUEZ, JOSE             ADDRESS ON FILE
CABALLER RODRIGUEZ, JUAN C.          ADDRESS ON FILE




                                                                                                           Page 1021 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1022 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABALLER VELAZQUEZ, LEONIDES       ADDRESS ON FILE
CABALLER VELAZQUEZ, RIGOBERTA      ADDRESS ON FILE
CABALLER VINA, JESUS               ADDRESS ON FILE
CABALLER VINAS, GLORIA             ADDRESS ON FILE
CABALLER ZAVALA, ASHLYN            ADDRESS ON FILE
CABALLER ZAVALA, MARILYN           ADDRESS ON FILE
CABALLERO ACHA, YOSUA              ADDRESS ON FILE
CABALLERO ACUMULADA, EDWIN         ADDRESS ON FILE
CABALLERO ALMODOVAR, ALEX A        ADDRESS ON FILE
CABALLERO ALMODOVAR, VICTOR        ADDRESS ON FILE
CABALLERO ARROYO, KENIA            ADDRESS ON FILE
CABALLERO ARTACHE, JOSE            ADDRESS ON FILE
CABALLERO AVILA, CLARITSA          ADDRESS ON FILE
CABALLERO AVILES, BLANCA I         ADDRESS ON FILE
CABALLERO AYALA, BEATRIZ           ADDRESS ON FILE
CABALLERO AYENDE, SANDRA           ADDRESS ON FILE
Caballero Baez, Angel I            ADDRESS ON FILE
CABALLERO BAEZ, CAROL              ADDRESS ON FILE
Caballero Barjam, Stephanie        ADDRESS ON FILE
CABALLERO BARRETO, LUIS            ADDRESS ON FILE
CABALLERO BATISTINI, CARLOS        ADDRESS ON FILE
CABALLERO BELTRAN, LESLIE E        ADDRESS ON FILE
CABALLERO BELTRAN, LESLIE E        ADDRESS ON FILE
CABALLERO BERNIER, ZELIDA          ADDRESS ON FILE
CABALLERO BONANO, ROSA M           ADDRESS ON FILE
CABALLERO BONILLA, MARCOS          ADDRESS ON FILE
CABALLERO BONILLA, SANDRA M        ADDRESS ON FILE
CABALLERO BONILLA, SANDRA M.       ADDRESS ON FILE
CABALLERO BONILLA, SUZETTE         ADDRESS ON FILE
CABALLERO BOU, DIEGO               ADDRESS ON FILE
CABALLERO CABRERA, MARIBEL A       ADDRESS ON FILE
CABALLERO CABRERA, MARIBEL A.      ADDRESS ON FILE
CABALLERO CABRERA, NORLA E         ADDRESS ON FILE
CABALLERO CALDERON, GLORIA         ADDRESS ON FILE
CABALLERO CANDELARIA, RUBEN        ADDRESS ON FILE
CABALLERO CANDELARIO, NATIVIDAD    ADDRESS ON FILE
CABALLERO CANDELARIO, NATIVIDAD    ADDRESS ON FILE
CABALLERO CARDONA, LUIS            ADDRESS ON FILE
CABALLERO CARRANZA, NANCY          ADDRESS ON FILE
CABALLERO CARRASQUILLO, CARMEN     ADDRESS ON FILE
CABALLERO CHERNOV, HECTOR          ADDRESS ON FILE
CABALLERO CHEVERE, MARCOS          ADDRESS ON FILE
CABALLERO COLLAZO, JUAN            ADDRESS ON FILE
CABALLERO COLON, ELINA             ADDRESS ON FILE
CABALLERO COLON, GLADYS M          ADDRESS ON FILE
CABALLERO COLON, JOSE              ADDRESS ON FILE
CABALLERO CRUZ, CARMEN I           ADDRESS ON FILE
CABALLERO CRUZ, LIXANDRO           ADDRESS ON FILE
CABALLERO CRUZ, LUZ M              ADDRESS ON FILE
CABALLERO CRUZ, MARILU             ADDRESS ON FILE
CABALLERO CRUZ, SONIA E            ADDRESS ON FILE
CABALLERO DE JESUS, ANGEL D        ADDRESS ON FILE
CABALLERO DE JESUS, JOSE I         ADDRESS ON FILE
CABALLERO DE JESUS, NESTOR M       ADDRESS ON FILE
CABALLERO DE MARRERO, EDILTRUDIS   ADDRESS ON FILE
CABALLERO DEL AGUILA, FREDY        ADDRESS ON FILE
CABALLERO DEL VALLE, ADNELL        ADDRESS ON FILE
CABALLERO DEL VALLE, ERNESTO       ADDRESS ON FILE
CABALLERO DELGADO, JOSE            ADDRESS ON FILE
CABALLERO DIAZ, RODOLFO            ADDRESS ON FILE




                                                                               Page 1022 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1023 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABALLERO DIAZ, TERESA               ADDRESS ON FILE
CABALLERO ESPINOSA, ELINA M          ADDRESS ON FILE
CABALLERO ESPINOSA, ELINA M.         ADDRESS ON FILE
CABALLERO ESTRADA, JUAN G            ADDRESS ON FILE
Caballero Farchette, Carlos          ADDRESS ON FILE
CABALLERO FARCHETTE, RACHAEL         ADDRESS ON FILE
CABALLERO FELICIANO, JOSE            ADDRESS ON FILE
CABALLERO FIGUEROA, NADYALEE         ADDRESS ON FILE
CABALLERO FONTANEZ, FRANCES N        ADDRESS ON FILE
CABALLERO FONTANEZ, FRANCES N.       ADDRESS ON FILE
CABALLERO FONTANEZ, JORGE            ADDRESS ON FILE
CABALLERO FUENTES, ANTONIO           ADDRESS ON FILE
CABALLERO FUENTES, ANTONIO           ADDRESS ON FILE
CABALLERO FUENTES, ROTCEL            ADDRESS ON FILE
CABALLERO GARCIA, BRENDA L.          ADDRESS ON FILE
CABALLERO GARCIA, GRISELL            ADDRESS ON FILE
CABALLERO GARCIA, IRIS V             ADDRESS ON FILE
CABALLERO GARCIA, LUIS               ADDRESS ON FILE
CABALLERO GARCIA, MARIA              ADDRESS ON FILE
CABALLERO GARCIA, MARIA              ADDRESS ON FILE
CABALLERO GERMOSEN, ALEXIS           ADDRESS ON FILE
CABALLERO GERMOSEN, ANDRES           ADDRESS ON FILE
CABALLERO GERMOSEN, OMAR A.          ADDRESS ON FILE
CABALLERO GIPPSON, EDESTHER          ADDRESS ON FILE
CABALLERO GONZALEZ, GIOVANNI         ADDRESS ON FILE
CABALLERO GONZALEZ, GIOVANNI A.      ADDRESS ON FILE
CABALLERO GONZALEZ, HECTOR           ADDRESS ON FILE
CABALLERO GONZALEZ, HECTOR           ADDRESS ON FILE
CABALLERO GONZALEZ, HILDA L          ADDRESS ON FILE
CABALLERO GONZALEZ, JESUS M          ADDRESS ON FILE
CABALLERO GONZALEZ, MARIA            ADDRESS ON FILE
CABALLERO GONZALEZ, MARISOL          ADDRESS ON FILE
CABALLERO GONZALEZ, WILMA            ADDRESS ON FILE
CABALLERO GUZMAN, JUAN               ADDRESS ON FILE
Caballero Guzman, Silvestry          ADDRESS ON FILE
CABALLERO HERNANDEZ, FRANCISCO       ADDRESS ON FILE
CABALLERO HERNANDEZ, JAVIER A        ADDRESS ON FILE
CABALLERO HERNANDEZ, JORGE           ADDRESS ON FILE
CABALLERO HERNANDEZ, JORGE ANTONIO   ADDRESS ON FILE
CABALLERO HERNANDEZ, LILLIAN M       ADDRESS ON FILE
CABALLERO HERRERA, JAIME I.          ADDRESS ON FILE
CABALLERO LABARCA, EVELYN            ADDRESS ON FILE
CABALLERO LAUREANO, MELVIN           ADDRESS ON FILE
CABALLERO LOPEZ, JOSE                ADDRESS ON FILE
CABALLERO LOPEZ, JOSE A.             ADDRESS ON FILE
CABALLERO LOPEZ, LYANNE              ADDRESS ON FILE
CABALLERO LOPEZ, YANINI              ADDRESS ON FILE
CABALLERO LUGO, ZAIDA M.             ADDRESS ON FILE
CABALLERO MALDONADO, JEANNIE A       ADDRESS ON FILE
CABALLERO MALDONADO, LUIS            ADDRESS ON FILE
CABALLERO MALDONADO, MARIA D.        ADDRESS ON FILE
Caballero Martinez, Ileana           ADDRESS ON FILE
CABALLERO MARTINEZ, ILEANA           ADDRESS ON FILE
CABALLERO MARTINEZ, JOSE             ADDRESS ON FILE
Caballero Martinez, Kathy            ADDRESS ON FILE
CABALLERO MARTINEZ, MARGARITA        ADDRESS ON FILE
CABALLERO MARTINEZ, RAFAEL           ADDRESS ON FILE
CABALLERO MARTINEZ, RAFAEL           ADDRESS ON FILE
CABALLERO MEDINA, EDUARDO J          ADDRESS ON FILE
CABALLERO MEDINA, EDUARDO J.         ADDRESS ON FILE




                                                                                 Page 1023 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1024 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABALLERO MEDINA, LYDIA           ADDRESS ON FILE
CABALLERO MEDINA, ROBERTO         ADDRESS ON FILE
CABALLERO MELENDEZ, MARIA M       ADDRESS ON FILE
CABALLERO MENDOZA, GLADYS         ADDRESS ON FILE
CABALLERO MERCADO, CARMEN         ADDRESS ON FILE
CABALLERO MIURA, HAYDEE           ADDRESS ON FILE
CABALLERO MONGE AXEL JAVIER       ADDRESS ON FILE
CABALLERO MONTES, MELVIN          ADDRESS ON FILE
CABALLERO MORENO, MARIA           ADDRESS ON FILE
CABALLERO MORENO, MARIA           ADDRESS ON FILE
CABALLERO MUNOZ, AGNES            ADDRESS ON FILE
CABALLERO MUNOZ, MILTON           ADDRESS ON FILE
CABALLERO NUNEZ, CLEMENTINA       ADDRESS ON FILE
Caballero Ojeda, Catalino         ADDRESS ON FILE
CABALLERO OJEDA, LILLIAN M        ADDRESS ON FILE
CABALLERO ORTIZ, JUAN             ADDRESS ON FILE
CABALLERO ORTIZ, MICAELA          ADDRESS ON FILE
CABALLERO PEREIRA, JESUS M.       ADDRESS ON FILE
CABALLERO PEREZ, MARILUZ          ADDRESS ON FILE
CABALLERO PEREZ, MARILUZ          ADDRESS ON FILE
CABALLERO PEREZ, MIGDALIA         ADDRESS ON FILE
CABALLERO PEREZ, NANCY            ADDRESS ON FILE
Caballero Perez, Victor           ADDRESS ON FILE
CABALLERO PEREZ, VICTOR           ADDRESS ON FILE
CABALLERO PINTOR, LOURDES M       ADDRESS ON FILE
CABALLERO PIZARRO, JOSE R.        ADDRESS ON FILE
CABALLERO PLAZA, JAVIER A.        ADDRESS ON FILE
CABALLERO PLAZA, JOEL             ADDRESS ON FILE
CABALLERO QUINONES, MYRIAM        ADDRESS ON FILE
CABALLERO QUINONES, RODOLFO       ADDRESS ON FILE
CABALLERO QUINTANA, EDWIN         ADDRESS ON FILE
CABALLERO RAMIREZ, INES           ADDRESS ON FILE
CABALLERO RAMIREZ, JEAN           ADDRESS ON FILE
CABALLERO RAMOS, ADELA            ADDRESS ON FILE
CABALLERO REYES, FRANCISCO        ADDRESS ON FILE
CABALLERO RIVERA, CARMEN M        ADDRESS ON FILE
CABALLERO RIVERA, EDWARD          ADDRESS ON FILE
CABALLERO RIVERA, JUAN R          ADDRESS ON FILE
CABALLERO RIVERA, LINNETTE M      ADDRESS ON FILE
CABALLERO RIVERA, SARADIANETTED   ADDRESS ON FILE
CABALLERO RODRIGUE, LISBETH       ADDRESS ON FILE
CABALLERO RODRIGUEZ, ALBERTO      ADDRESS ON FILE
CABALLERO RODRIGUEZ, ELOY A       ADDRESS ON FILE
CABALLERO RODRIGUEZ, IVONNE       ADDRESS ON FILE
CABALLERO RODRIGUEZ, KIMBERLIE    ADDRESS ON FILE
CABALLERO RODRIGUEZ, MARIBEL      ADDRESS ON FILE
CABALLERO RODRIGUEZ, MARITZA      ADDRESS ON FILE
CABALLERO RODRIGUEZ, SALVADOR     ADDRESS ON FILE
Caballero Roldan, Ana L.          ADDRESS ON FILE
CABALLERO ROLDAN, ELIAS           ADDRESS ON FILE
CABALLERO ROLDAN, VICTORIA        ADDRESS ON FILE
CABALLERO ROSARIO, JUAN           ADDRESS ON FILE
CABALLERO RUIZ, JANITZA           ADDRESS ON FILE
Caballero Salerna, Renaldo        ADDRESS ON FILE
CABALLERO SANABRIA, ROSA L        ADDRESS ON FILE
CABALLERO SANABRIA, VELMA I.      ADDRESS ON FILE
CABALLERO SANABRIA,CASANDRA A.    ADDRESS ON FILE
CABALLERO SANTANA, DARIELY        ADDRESS ON FILE
CABALLERO SANTOS, VIRGINIA        ADDRESS ON FILE
CABALLERO SANTOS, YOLANDA         ADDRESS ON FILE




                                                                              Page 1024 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1025 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABALLERO SANZA, SHEILA             ADDRESS ON FILE
CABALLERO SOTO, ISMAEL              ADDRESS ON FILE
CABALLERO TEXIDOR, ARLYN            ADDRESS ON FILE
CABALLERO TORRES MD, RAFAEL         ADDRESS ON FILE
CABALLERO TORRES, CARMEN M          ADDRESS ON FILE
CABALLERO TORRES, JORGE L           ADDRESS ON FILE
CABALLERO TORRES, VIRGILIO          ADDRESS ON FILE
CABALLERO VALCARCEL, CARLOS         ADDRESS ON FILE
CABALLERO VALENTIN, IMANOL E.       ADDRESS ON FILE
CABALLERO VALIENTE MD, BARUCH       ADDRESS ON FILE
CABALLERO VALIENTE, BARUCH          ADDRESS ON FILE
CABALLERO VALLEJO, RAFAEL A         ADDRESS ON FILE
CABALLERO VARGAS, MIILBER           ADDRESS ON FILE
CABALLERO VAZQUES, MONSITA          ADDRESS ON FILE
Caballero Vega, Ernesto             ADDRESS ON FILE
CABALLERO VELAZQUEZ, ANGEL M        ADDRESS ON FILE
CABALLERO VIDAL, DENISE             ADDRESS ON FILE
CABALLERO VIERA, MARCOS             ADDRESS ON FILE
CABALLERO VILLALONGO, MIGUEL        ADDRESS ON FILE
CABALLERO VILLEGAS, GLADYS          ADDRESS ON FILE
CABALLERO VILLEGAS, JULISSA         ADDRESS ON FILE
CABALLERO VILLEGAS, LISAURA         ADDRESS ON FILE
CABALLERO, CAMILO                   ADDRESS ON FILE
CABALLERO, CARMEN I                 ADDRESS ON FILE
CABALLERO, FELIX                    ADDRESS ON FILE
CABALLERO, NEDA                     ADDRESS ON FILE
CABALLERO, STEPHANIE                ADDRESS ON FILE
CABALLERO,ISRAEL                    ADDRESS ON FILE
CABALLEROBURGOS, EVA LUZ            ADDRESS ON FILE
CABALLEROCOLON, CARMEN M            ADDRESS ON FILE
CABALLEROS CATOLICOS DEL ESTE INC   P O BOX 277                                                                      HUMACAO      PR      00792‐0277
CABALLERY CRUZ, CARMEN L            ADDRESS ON FILE
CABAN ADORNO , CHERILA              ADDRESS ON FILE
Caban Abraham, Hector L             ADDRESS ON FILE
CABAN ACEVEDO, AMNERIS              ADDRESS ON FILE
CABAN ACEVEDO, CLARY                ADDRESS ON FILE
CABAN ACEVEDO, HAYDEE               ADDRESS ON FILE
Caban Acevedo, Hector               ADDRESS ON FILE
CABAN ACEVEDO, IRIS M               ADDRESS ON FILE
CABAN ACEVEDO, MARIE S              ADDRESS ON FILE
CABAN ACEVEDO, MILAGROS             ADDRESS ON FILE
CABAN ACEVEDO, REBECCA E            ADDRESS ON FILE
CABAN ACEVEDO, RICARDO              ADDRESS ON FILE
CABAN ACEVEDO, SAMUEL               ADDRESS ON FILE
CABAN ACEVEDO, VANESSA              ADDRESS ON FILE
CABAN ACEVEDO, WANDA I.             ADDRESS ON FILE
CABAN ACEVEDO, ZORAIDA              ADDRESS ON FILE
CABAN ACOSTA, DIXIE                 ADDRESS ON FILE
CABAN ACOSTA, JULIO                 ADDRESS ON FILE
CABAN ACOSTA, JULIO L               ADDRESS ON FILE
CABAN ACOSTA, YANAIRA               ADDRESS ON FILE
CABAN ALONSO, LUIS                  ADDRESS ON FILE
Caban Alvarez, Gretchen             ADDRESS ON FILE
CABAN ARCE, ALEJANDRO               ADDRESS ON FILE
CABAN ARCE, DIANNE M                ADDRESS ON FILE
CABAN ARCE, FRANCIS L.              ADDRESS ON FILE
CABAN AROCHO, ANGEL                 ADDRESS ON FILE
CABAN AROCHO, MIGUEL                ADDRESS ON FILE
CABAN ARROYO, EFRAIN E              ADDRESS ON FILE
CABAN AVILES, ALFREDO               ADDRESS ON FILE




                                                                                Page 1025 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1026 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABAN AVILES, EFRAIN         ADDRESS ON FILE
CABAN AVILES, FELICITA       ADDRESS ON FILE
CABAN AVILES, LESLIE         ADDRESS ON FILE
CABAN AVILES, LUIS A.        ADDRESS ON FILE
CABAN AVILES, NOEL           ADDRESS ON FILE
CABAN AVILES, WILLIAM        ADDRESS ON FILE
Caban Ayala, Gerardo         ADDRESS ON FILE
CABAN BABILONIA, FERNANDO    ADDRESS ON FILE
CABAN BABILONIA, VILMA E     ADDRESS ON FILE
CABAN BADILLO, CRISTIAN      ADDRESS ON FILE
CABAN BADILLO, DAMARIS       ADDRESS ON FILE
CABAN BADILLO, FRANKIE       ADDRESS ON FILE
CABAN BADILLO, LUIS          ADDRESS ON FILE
CABAN BADILLO, RUBEN         ADDRESS ON FILE
CABAN BADILLO, SOL M         ADDRESS ON FILE
CABAN BARRETO, LUMARY        ADDRESS ON FILE
Caban Bonet, Rosa I          ADDRESS ON FILE
CABAN BREBAN, DOMINGO        ADDRESS ON FILE
CABAN BURGOS, MARIMAR        ADDRESS ON FILE
CABAN CABAN, ADELAIDA        ADDRESS ON FILE
CABAN CABAN, CARMEN L        ADDRESS ON FILE
CABAN CABAN, CESAR           ADDRESS ON FILE
CABAN CABAN, GERARDO         ADDRESS ON FILE
CABAN CABAN, WILGERMINA      ADDRESS ON FILE
CABAN CABRERA, ZAIDA         ADDRESS ON FILE
CABAN CACERES, EDGARDO       ADDRESS ON FILE
CABAN CACERES, GERARDO       ADDRESS ON FILE
CABAN CAJIGAS, ANA A.        ADDRESS ON FILE
CABAN CAJIGAS, MARISOL       ADDRESS ON FILE
CABAN CAJIGAS, VICTOR        ADDRESS ON FILE
CABAN CALDERON, MELINDA      ADDRESS ON FILE
CABAN CALDERON, MELINDA      ADDRESS ON FILE
CABAN CAMACHO, MIGDALIA      ADDRESS ON FILE
CABAN CAMACHO, TOMAS         ADDRESS ON FILE
CABAN CANDELARIA, CARMEN     ADDRESS ON FILE
CABAN CANDELARIO, CARMEN     ADDRESS ON FILE
CABAN CARDONA, MARIA L       ADDRESS ON FILE
Caban Cardona, Ruben         ADDRESS ON FILE
CABAN CARRASQUILLO, EDWIN    ADDRESS ON FILE
CABAN CARRASQUILLO, STEVEN   ADDRESS ON FILE
CABAN CASILLAS, ERICA        ADDRESS ON FILE
CABAN CASTRO, EDMUNDO        ADDRESS ON FILE
CABAN CASTRO, JANNETTE E     ADDRESS ON FILE
CABAN CASTRO, JOSE M.        ADDRESS ON FILE
CABAN CEDRES, YOSUE M        ADDRESS ON FILE
CABAN CEREZO, LUIS           ADDRESS ON FILE
CABAN CEREZO, WANDA I        ADDRESS ON FILE
CABAN CINTRON, JOSE          ADDRESS ON FILE
CABAN COLLAZO, ANTONIO       ADDRESS ON FILE
Caban Collazo, Juan M        ADDRESS ON FILE
CABAN COLON, JONATHAN        ADDRESS ON FILE
CABAN CORDERO, CHRISTIAN     ADDRESS ON FILE
CABAN CORREA, FERDINAND      ADDRESS ON FILE
CABAN CORREA, NEREIDA        ADDRESS ON FILE
CABAN CORREA, SONIA I        ADDRESS ON FILE
CABAN CORREA, SONIA I        ADDRESS ON FILE
CABAN CORTES, GLORIA         ADDRESS ON FILE
CABAN CORTES, HIRAN          ADDRESS ON FILE
CABAN CORTES, JENNY          ADDRESS ON FILE
CABAN CORTES, RAWELL         ADDRESS ON FILE




                                                                         Page 1026 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1027 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABAN COSTA, EVA C            ADDRESS ON FILE
CABAN COTTO, AMADIS L         ADDRESS ON FILE
CABAN COTTO, JORGE L          ADDRESS ON FILE
CABAN CRESCIONI, MARIA        ADDRESS ON FILE
CABAN CRESPO, RAUL            ADDRESS ON FILE
CABAN CRUZ, ADA               ADDRESS ON FILE
Caban Cruz, Gregorio          ADDRESS ON FILE
CABAN CRUZ, HECTOR            ADDRESS ON FILE
CABAN CRUZ, JUAN F.           ADDRESS ON FILE
CABAN CRUZ, NILSA             ADDRESS ON FILE
CABAN CRUZ, NORIMAR           ADDRESS ON FILE
CABAN CUBERO, JUAN            ADDRESS ON FILE
CABAN DAVILA, LOURDES I       ADDRESS ON FILE
CABAN DE JESUS, ESTEBAN       ADDRESS ON FILE
CABAN DE JESUS, MARIA DEL C   ADDRESS ON FILE
CABAN DEL PILAR, DENNIS       ADDRESS ON FILE
CABAN DELGADO, MILAGROS       ADDRESS ON FILE
CABAN DEYNES, ANA V.          ADDRESS ON FILE
CABAN DEYNES, DAVID           ADDRESS ON FILE
CABAN DIAZ, TOMAS             ADDRESS ON FILE
CABAN ECHEVARRIA, ALIDA       ADDRESS ON FILE
CABAN ECHEVARRIA, ANACELY     ADDRESS ON FILE
Caban Echevarria, Edgardo     ADDRESS ON FILE
CABAN EMMANUELLI, FEY         ADDRESS ON FILE
CABAN ENCARNACION, JOSE D     ADDRESS ON FILE
CABAN ERAUSQUIN, ALEXANDRA    ADDRESS ON FILE
CABAN ESPINOSA, ANDRES        ADDRESS ON FILE
CABAN FELICIANO, JOSE L       ADDRESS ON FILE
CABAN FERNANDEZ, SANDRA M     ADDRESS ON FILE
CABAN FERRER, RAQUEL I        ADDRESS ON FILE
CABAN FIGUEROA, JOSE A.       ADDRESS ON FILE
CABAN FIGUEROA, JOSE A.       ADDRESS ON FILE
CABAN FUENTES, ELSON          ADDRESS ON FILE
CABAN FUENTES, SOFIA          ADDRESS ON FILE
CABAN GALERA, OMAIRE          ADDRESS ON FILE
CABAN GALINDEZ, LILLIAM       ADDRESS ON FILE
CABAN GALLOZA, KEVEN          ADDRESS ON FILE
CABAN GARCES, JOSE            ADDRESS ON FILE
CABAN GARCIA, CARMEN          ADDRESS ON FILE
CABAN GARCIA, EVA             ADDRESS ON FILE
CABAN GARCIA, NATHAN          ADDRESS ON FILE
CABAN GARCIA, VICTOR          ADDRESS ON FILE
CABAN GARCIA, VIRGEN          ADDRESS ON FILE
CABAN GONZALEZ, CARLOS A      ADDRESS ON FILE
CABAN GONZALEZ, ENITZA        ADDRESS ON FILE
Caban Gonzalez, Hector        ADDRESS ON FILE
CABAN GONZALEZ, IRIS D        ADDRESS ON FILE
CABAN GONZALEZ, IVETTE        ADDRESS ON FILE
CABAN GONZALEZ, JOSE E        ADDRESS ON FILE
CABAN GONZALEZ, LISSETTE      ADDRESS ON FILE
CABAN GONZALEZ, LUZ E         ADDRESS ON FILE
CABAN GONZALEZ, MANOLIN       ADDRESS ON FILE
CABAN GONZALEZ, MANUEL        ADDRESS ON FILE
CABAN GONZALEZ, MARIA M       ADDRESS ON FILE
CABAN GONZALEZ, MIRZA I       ADDRESS ON FILE
CABAN GONZALEZ, NEYSA         ADDRESS ON FILE
CABAN GONZALEZ, NOEMI         ADDRESS ON FILE
CABAN GONZALEZ, ROSA M        ADDRESS ON FILE
CABAN GUEITS, NIXIDA          ADDRESS ON FILE
CABAN HERNANDEZ, DALYTZA      ADDRESS ON FILE




                                                                          Page 1027 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1028 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABAN HERNANDEZ, EDGARDO    ADDRESS ON FILE
CABAN HERNANDEZ, EDGARDO    ADDRESS ON FILE
CABAN HERNANDEZ, ELSIE      ADDRESS ON FILE
CABAN HERNANDEZ, HARRY      ADDRESS ON FILE
CABAN HERNANDEZ, HAYDEE     ADDRESS ON FILE
CABAN HERNANDEZ, HECTOR     ADDRESS ON FILE
CABAN HERNANDEZ, HECTOR     ADDRESS ON FILE
CABAN HERNANDEZ, JELINET    ADDRESS ON FILE
CABAN HERNANDEZ, JELINET    ADDRESS ON FILE
CABAN HERNANDEZ, JESSICA    ADDRESS ON FILE
CABAN HERNANDEZ, LILLY A    ADDRESS ON FILE
CABAN HERNANDEZ, LUIS D.    ADDRESS ON FILE
CABAN HERNANDEZ, MAGALI     ADDRESS ON FILE
CABAN HERNANDEZ, MARIA H    ADDRESS ON FILE
CABAN HERNANDEZ, SAUL       ADDRESS ON FILE
CABAN HERNANDEZ, SIRAMAD    ADDRESS ON FILE
CABAN HERRERA, CARMEN D.    ADDRESS ON FILE
CABAN HUERTAS, FELIPE       ADDRESS ON FILE
CABAN HUERTAS, MABEL I      ADDRESS ON FILE
CABAN HUERTAS, RAFAEL G     ADDRESS ON FILE
CABAN HUERTAS, REINALDO E   ADDRESS ON FILE
CABAN IZQUIERDO, EFRAIN     ADDRESS ON FILE
CABAN JIMENEZ, CARLOS       ADDRESS ON FILE
Caban Jimenez, Edgardo A    ADDRESS ON FILE
CABAN JIMENEZ, JOSE L       ADDRESS ON FILE
Caban Jimenez, Jose L       ADDRESS ON FILE
CABAN JIMENEZ, LUIS         ADDRESS ON FILE
CABAN JIMENEZ, MARIA M      ADDRESS ON FILE
CABAN JIMENEZ, MIGUEL       ADDRESS ON FILE
CABAN JIMENEZ, NEREIDA      ADDRESS ON FILE
CABAN JIMENEZ, SAMUEL       ADDRESS ON FILE
CABAN JUMIL                 ADDRESS ON FILE
CABAN LABOY, MARITZA        ADDRESS ON FILE
CABAN LEBRON, PETRA         ADDRESS ON FILE
CABAN LEGAL SERVICES PSC    VILLA VENECIA             R101 CALLE 7                                           CAROLINA     PR      00983‐1553
CABAN LOPEZ, ARNALDO        ADDRESS ON FILE
CABAN LOPEZ, AUREA          ADDRESS ON FILE
CABAN LOPEZ, AUREA E.       ADDRESS ON FILE
CABAN LOPEZ, DAVID          ADDRESS ON FILE
CABAN LOPEZ, ELADIO         ADDRESS ON FILE
CABAN LOPEZ, EYERI          ADDRESS ON FILE
CABAN LOPEZ, FRANCISCO      ADDRESS ON FILE
CABAN LOPEZ, JOSE I         ADDRESS ON FILE
CABAN LOPEZ, LIZA           ADDRESS ON FILE
CABAN LOPEZ, LUIS           ADDRESS ON FILE
Caban Lopez, Nelson L       ADDRESS ON FILE
CABAN LOPEZ, NORBERTO       ADDRESS ON FILE
CABAN LOPEZ, RENE           ADDRESS ON FILE
CABÁN LÓPEZ, SUHAIL         JAIME J. ROMAN ARCE       PO BOX 100                                             AGUADA       PR      00602
CABAN LOPEZ, WILMA          ADDRESS ON FILE
CABAN LOPEZ, WILMA          ADDRESS ON FILE
CABAN LOPEZ, YARELIS        ADDRESS ON FILE
CABAN MALDONADO, DERICK     ADDRESS ON FILE
CABAN MALDONADO, EDWIN      ADDRESS ON FILE
CABAN MALDONADO, NOEL       ADDRESS ON FILE
CABAN MARCIAL,JOSE A.       ADDRESS ON FILE
CABAN MARQUEZ MD, MIDALIE   ADDRESS ON FILE
CABAN MARQUEZ, ANGEL L.     ADDRESS ON FILE
CABAN MARRERO, MARISELLE    ADDRESS ON FILE
CABAN MARTEL, DAVID         ADDRESS ON FILE




                                                                        Page 1028 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1029 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CABAN MARTELL, ANGEL        ADDRESS ON FILE
CABAN MARTELL, NEREIDA      ADDRESS ON FILE
Caban Martinez, Dennis      ADDRESS ON FILE
CABAN MARTINEZ, EDWIN       ADDRESS ON FILE
CABAN MARTINEZ, ELIDA I     ADDRESS ON FILE
Caban Martinez, Jose A.     ADDRESS ON FILE
CABAN MARTINEZ, MILDRED     ADDRESS ON FILE
CABAN MARTINEZ, RAFAEL      ADDRESS ON FILE
CABAN MARTINEZ, SONIA       ADDRESS ON FILE
CABAN MARTINEZ, VILMA       ADDRESS ON FILE
CABAN MEDERO, REY DAVID     ADDRESS ON FILE
CABAN MEDINA, EVA E         ADDRESS ON FILE
CABAN MEDINA, HECTOR        ADDRESS ON FILE
CABAN MEDINA, ILSIA M.      ADDRESS ON FILE
Caban Medina, Israel        ADDRESS ON FILE
CABAN MEDINA, JESUS E.      ADDRESS ON FILE
CABAN MEDINA, PELEGRIN      ADDRESS ON FILE
CABAN MEDINA, YVETTE        ADDRESS ON FILE
CABAN MEJIAS, CARMEN ANA    ADDRESS ON FILE
CABAN MEJIAS, ISABEL        ADDRESS ON FILE
CABAN MELENDEZ, DAVID       ADDRESS ON FILE
CABAN MELETICHE, FERNANDO   ADDRESS ON FILE
CABAN MENDEZ, AMARILYS      ADDRESS ON FILE
CABAN MENDEZ, ANGEL M.      ADDRESS ON FILE
Caban Mendez, David         ADDRESS ON FILE
CABAN MENDEZ, FRANKLIN      ADDRESS ON FILE
CABAN MENDEZ, JEANETTE      ADDRESS ON FILE
CABAN MENDEZ, MARYSOL       ADDRESS ON FILE
CABAN MENDEZ, MIGDALIA      ADDRESS ON FILE
CABAN MENDEZ, MIGUEL A      ADDRESS ON FILE
CABAN MENDEZ, SARAHY        ADDRESS ON FILE
CABAN MIRANDA, JOSE         ADDRESS ON FILE
CABAN MONTALVO, LISSETTE    ADDRESS ON FILE
CABAN MORA, WILFREDO        ADDRESS ON FILE
CABAN MORALES, AIDA L       ADDRESS ON FILE
CABAN MORALES, ANTONIO      ADDRESS ON FILE
CABAN MORALES, ARLENE       ADDRESS ON FILE
Caban Morales, Eladio       ADDRESS ON FILE
CABAN MORALES, FRANCISCO    ADDRESS ON FILE
CABAN MORALES, GLORIA E     ADDRESS ON FILE
CABAN MORALES, JAN          ADDRESS ON FILE
CABAN MORALES, JEANNETTE    ADDRESS ON FILE
CABAN MORALES, LEONOR       ADDRESS ON FILE
CABAN MORALES, MARIEL       ADDRESS ON FILE
CABAN MORALES, SAMUEL       ADDRESS ON FILE
CABAN MORALES, WANDA        ADDRESS ON FILE
CABAN MORENO, GLENDALY      ADDRESS ON FILE
CABAN MORENO, ILIANA        ADDRESS ON FILE
CABAN MORENO, RICARDO       ADDRESS ON FILE
CABAN MORENO, RODOLFO       ADDRESS ON FILE
CABAN MORO, NOEL            ADDRESS ON FILE
CABAN MUNIZ, ELVIN          ADDRESS ON FILE
CABAN MUNIZ, ELVIN J.       ADDRESS ON FILE
CABAN MUNIZ, JOEL           ADDRESS ON FILE
CABAN MUNIZ, SEYRI          ADDRESS ON FILE
CABAN MUNIZ, YAMILETE       ADDRESS ON FILE
CABAN NAVARRO, DANIEL       ADDRESS ON FILE
CABAN NAVARRO, MIGUEL       ADDRESS ON FILE
CABAN NIEVES ANGEL T        RES JESUS T PINERO        EDIF 3 APTO 18                                         CANOVANAS     PR      00745
CABAN NIEVES, ANTONIO       ADDRESS ON FILE




                                                                        Page 1029 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1030 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABAN NIEVES, ANTONIO       ADDRESS ON FILE
CABAN NIEVES, CARLOS        ADDRESS ON FILE
CABAN NUNEZ, RAMON          ADDRESS ON FILE
CABAN OLIVER, ERIC          ADDRESS ON FILE
CABAN OLIVER, JOSE          ADDRESS ON FILE
Caban Olmeda, Carlos A      ADDRESS ON FILE
CABAN OLMEDA, ZOE           ADDRESS ON FILE
CABAN OLMEDA, ZOE           ADDRESS ON FILE
Caban Oquendo, Luis A       ADDRESS ON FILE
CABAN ORTIZ, JOSE           ADDRESS ON FILE
CABAN PADILLA, LUIS         ADDRESS ON FILE
CABAN PADILLA, MARIO        ADDRESS ON FILE
CABAN PADILLA, ROBERTO      ADDRESS ON FILE
CABAN PADIN, LYDIA E        ADDRESS ON FILE
CABAN PAGAN, LOURDES I      ADDRESS ON FILE
CABAN PARES, DORIS          ADDRESS ON FILE
CABAN PARES, ROBERTO        ADDRESS ON FILE
CABAN PERAZA, JOHN          ADDRESS ON FILE
CABAN PEREZ, CORALYS DEL    ADDRESS ON FILE
CABAN PEREZ, EVELYN         ADDRESS ON FILE
CABAN PEREZ, GLADYS         ADDRESS ON FILE
CABAN PEREZ, JOHANNA        ADDRESS ON FILE
CABAN PEREZ, NAIDA N        ADDRESS ON FILE
CABAN PEREZ, NAYZA M.       ADDRESS ON FILE
CABAN PEREZ, SONIA          ADDRESS ON FILE
CABAN PEREZ, WANDA I        ADDRESS ON FILE
CABAN PEREZ, WANDA L        ADDRESS ON FILE
CABAN QUILES, MANUEL J.     ADDRESS ON FILE
CABAN QUINONES, ANGEL       ADDRESS ON FILE
CABAN QUINONES, CARMEN L    ADDRESS ON FILE
Caban Quinones, Ginel       ADDRESS ON FILE
Caban Quinones, Hector L    ADDRESS ON FILE
CABAN QUINONES, MARLENE R   ADDRESS ON FILE
Caban Quinones, Mary        ADDRESS ON FILE
CABAN QUINONEZ, LUZ E       ADDRESS ON FILE
CABAN RAMIREZ, CARMEN I     ADDRESS ON FILE
CABAN RAMOS, CLAUDIO        ADDRESS ON FILE
CABAN RAMOS, JOSE I.        ADDRESS ON FILE
CABAN RAMOS, MARTIN A.      ADDRESS ON FILE
CABAN REGUERO, JOSE E       ADDRESS ON FILE
CABAN REYES, DARIO          ADDRESS ON FILE
CABAN REYES, JAIME          ADDRESS ON FILE
CABAN REYES, LIANI          ADDRESS ON FILE
CABAN REYES, MARIA          ADDRESS ON FILE
CABAN RIOS, ADALIZ          ADDRESS ON FILE
CABAN RIOS, JUAN            ADDRESS ON FILE
CABAN RIOS, MAXIMINO        ADDRESS ON FILE
CABAN RIVERA, BRYAN         ADDRESS ON FILE
CABAN RIVERA, CARLOS        ADDRESS ON FILE
CABAN RIVERA, EDWIN         ADDRESS ON FILE
CABAN RIVERA, FLORENTINO    ADDRESS ON FILE
CABAN RIVERA, IVANIA A      ADDRESS ON FILE
CABAN RIVERA, JOEL          ADDRESS ON FILE
CABAN RIVERA, MELANIE J     ADDRESS ON FILE
CABAN RIVERA, MIRTA         ADDRESS ON FILE
CABAN RIVERA, MIRTA E       ADDRESS ON FILE
Caban Rivera, Noel          ADDRESS ON FILE
CABAN RIVERA, VANESSA Y.    ADDRESS ON FILE
CABAN RODRIGUEZ, ANA M      ADDRESS ON FILE
CABAN RODRIGUEZ, CESAR J    ADDRESS ON FILE




                                                                        Page 1030 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1031 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABAN RODRIGUEZ, ERIK          ADDRESS ON FILE
CABAN RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
CABAN RODRIGUEZ, IRIS M        ADDRESS ON FILE
CABAN RODRIGUEZ, JIMMY         ADDRESS ON FILE
CABAN RODRIGUEZ, LEONARDO      ADDRESS ON FILE
CABAN RODRIGUEZ, LUZ           ADDRESS ON FILE
CABAN RODRIGUEZ, LUZ           ADDRESS ON FILE
CABAN RODRIGUEZ, LUZ           ADDRESS ON FILE
CABAN RODRIGUEZ, MARIA I       ADDRESS ON FILE
CABAN RODRIGUEZ, MARIANGELIS   ADDRESS ON FILE
CABAN RODRIGUEZ, MEMPHIS J.    ADDRESS ON FILE
CABAN RODRIGUEZ, YASMIN        ADDRESS ON FILE
CABAN RODRIGUEZ,JUAN F.        ADDRESS ON FILE
CABAN ROLDAN, CLARA M          ADDRESS ON FILE
CABAN ROLDAN, MANUEL           ADDRESS ON FILE
CABAN ROMAN, ABDIN X.          ADDRESS ON FILE
CABAN ROMAN, ELIZABETH         ADDRESS ON FILE
CABAN ROMAN, HECTOR            ADDRESS ON FILE
CABAN ROMAN, JESUS A           ADDRESS ON FILE
CABAN ROMAN, JOSE              ADDRESS ON FILE
CABAN ROMAN, LUZ               ADDRESS ON FILE
CABAN ROMAN, MARIA E.          ADDRESS ON FILE
CABAN ROMAN, MIGUEL A          ADDRESS ON FILE
CABAN ROMAN, SONIA             ADDRESS ON FILE
CABAN ROMAN, WALDEMAR          ADDRESS ON FILE
CABAN ROMAN, YARIMEL           ADDRESS ON FILE
CABAN ROSA, MARIA E.           ADDRESS ON FILE
CABAN ROSA, NORMA L.           ADDRESS ON FILE
CABAN ROSADO, EVA E            ADDRESS ON FILE
CABAN ROSADO, JORGE L          ADDRESS ON FILE
CABAN ROSADO, MARIBEL          ADDRESS ON FILE
CABAN ROSADO, MIGUEL           ADDRESS ON FILE
CABAN ROSADO, SIGFREDO         ADDRESS ON FILE
CABAN ROSARIO, DANIEL          ADDRESS ON FILE
CABAN RUIZ, MARIBEL            ADDRESS ON FILE
CABAN SALAS, MAYRA             ADDRESS ON FILE
CABAN SANCHEZ, ASHLEY          ADDRESS ON FILE
CABAN SANCHEZ, ASHLEY          ADDRESS ON FILE
CABAN SANCHEZ, AWILDA          ADDRESS ON FILE
CABAN SANCHEZ, TERESITA S.     ADDRESS ON FILE
CABAN SANCHEZ, YARITZA         ADDRESS ON FILE
CABAN SANTANA, DAVID           ADDRESS ON FILE
CABAN SANTIAGO HEIDI, S        ADDRESS ON FILE
CABAN SANTIAGO, DOLERAINE      ADDRESS ON FILE
CABAN SANTIAGO, ERNIE          ADDRESS ON FILE
CABAN SANTIAGO, HEIDI          ADDRESS ON FILE
CABAN SANTIAGO, IRMA C.        ADDRESS ON FILE
CABAN SANTIAGO, JESUS H        ADDRESS ON FILE
CABAN SANTIAGO, LEYDA E        ADDRESS ON FILE
CABAN SEGUI, MARILYN           ADDRESS ON FILE
CABAN SEGUI, MARILYN           ADDRESS ON FILE
CABAN SEGUINOT, JOSE           ADDRESS ON FILE
Caban Seguinot, Jose Manuel    ADDRESS ON FILE
Caban Serrano, Nathan          ADDRESS ON FILE
CABAN SOTO MD, VIRMARIE        ADDRESS ON FILE
CABAN SOTO, AILEEN             ADDRESS ON FILE
CABAN SOTO, CARMEN N           ADDRESS ON FILE
CABAN SOTO, DEISY L            ADDRESS ON FILE
CABAN SOTO, DELIA I            ADDRESS ON FILE
CABAN SOTO, JEFFREY            ADDRESS ON FILE




                                                                           Page 1031 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1032 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABAN SOTO, MIGUEL A.           ADDRESS ON FILE
CABAN SOTO, NANCY               ADDRESS ON FILE
CABAN SOTO, RAFAEL              ADDRESS ON FILE
CABAN SOTO, RUBEN               ADDRESS ON FILE
CABAN SOTO, SHAKIRA             ADDRESS ON FILE
CABAN TORRES, JUAN              ADDRESS ON FILE
CABAN TORRES, MARIA DE LOS A    ADDRESS ON FILE
CABAN TORRES, MARIELA           ADDRESS ON FILE
CABAN TORRES, NILSA M.          ADDRESS ON FILE
CABAN TORRES, SAMUEL            ADDRESS ON FILE
CABAN TORRES, YAZMIN            ADDRESS ON FILE
CABAN TRINIDAD, FRANCHESKA      ADDRESS ON FILE
CABAN TRISTANI, CONNIE M.       ADDRESS ON FILE
Caban Tubens, William           ADDRESS ON FILE
CABAN VALENTIN, DAVID           ADDRESS ON FILE
CABAN VALENTIN, ELIZABETH       ADDRESS ON FILE
CABAN VALENTIN, IRMA            ADDRESS ON FILE
CABAN VALES, PEDRO              ADDRESS ON FILE
CABAN VARGAS, AIDA              ADDRESS ON FILE
Caban Vargas, Arlene J          ADDRESS ON FILE
CABAN VARGAS, AWILDA            ADDRESS ON FILE
CABAN VARGAS, GILBERTO          ADDRESS ON FILE
CABAN VAZQUEZ, ANGEL            ADDRESS ON FILE
CABAN VAZQUEZ, DAMARYS          ADDRESS ON FILE
CABAN VAZQUEZ, JUAN             ADDRESS ON FILE
CABAN VAZQUEZ, JUANITA          ADDRESS ON FILE
Caban Vazquez, Miguel A.        ADDRESS ON FILE
CABAN VAZQUEZ, VIDAL            ADDRESS ON FILE
CABAN VEGA, BRENDA              ADDRESS ON FILE
CABAN VEGA, HECTOR R.           ADDRESS ON FILE
CABAN VEGA, SHEILA              ADDRESS ON FILE
CABAN VELEZ, EDWIN              ADDRESS ON FILE
CABAN VELEZ, ITZAMARY           ADDRESS ON FILE
CABAN VELEZ, JOMAR              ADDRESS ON FILE
CABAN VELEZ, MARIA              ADDRESS ON FILE
CABAN VELEZ, WILFREDO           ADDRESS ON FILE
CABAN VELEZ, YAMIR              ADDRESS ON FILE
CABAN VILLANUEVA, MIGUEL        ADDRESS ON FILE
CABAN VILLANUEVA, WILLIAM       ADDRESS ON FILE
CABAN VIROLA, ADIN              ADDRESS ON FILE
CABAN ZAPATA, JUAN C            ADDRESS ON FILE
CABAN, DORIS G                  ADDRESS ON FILE
CABAN, EDUARDO                  ADDRESS ON FILE
CABAN, FRANCIS L.               ADDRESS ON FILE
CABAN, JOSE                     ADDRESS ON FILE
CABAN, ROBERTO G                ADDRESS ON FILE
CABANAS AYALA, MARIA J          ADDRESS ON FILE
CABANAS MALAVE, EVA             ADDRESS ON FILE
CABANAS MARTINEZ, JOSE L        ADDRESS ON FILE
CABANAS MD, ISRAEL              ADDRESS ON FILE
CABANAS MELLA, CRISTAL          ADDRESS ON FILE
CABANAS MORALES, MARYLIN        ADDRESS ON FILE
CABANAS RIOS, KAREN             ADDRESS ON FILE
CABANAS RIOS, KATHLEEN          ADDRESS ON FILE
CABANELAS ALVAREZ, ALEJANDRO    ADDRESS ON FILE
CABANELLA ROMAN, OLGA           ADDRESS ON FILE
CABANELLAS TORRES, WILMARIE     ADDRESS ON FILE
CABANGARCIA, IRIS D             ADDRESS ON FILE
CABANILLAS CARRERAS, REYNALDO   ADDRESS ON FILE
CABANILLAS CASTILLO, GYSSEL     ADDRESS ON FILE




                                                                            Page 1032 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1033 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABANILLAS ESCALONA MD, FERNANDO     ADDRESS ON FILE
CABANILLAS GALIANO, AMALIA E         ADDRESS ON FILE
CABANILLAS HERNANDEZ, ELBA           ADDRESS ON FILE
CABANILLAS HERNANDEZ, ELBA M.        ADDRESS ON FILE
CABANILLAS JEWETT, GERARDO           ADDRESS ON FILE
CABARCAS CRUZ, JORGE                 ADDRESS ON FILE
CABARROCAS PEREZ, BEATRIZ            ADDRESS ON FILE
CABAS NIEVES, MARIA E                ADDRESS ON FILE
CABAS RODRIGUEZ, MARCOS A.           ADDRESS ON FILE
CABASQUINI FELICIANO, GERARDINA      ADDRESS ON FILE
CABASSA ALMODOVAR, HARVEY            ADDRESS ON FILE
CABASSA ALVIRA, JEAN P.              ADDRESS ON FILE
CABASSA ALVIRA, PAOLA M              ADDRESS ON FILE
CABASSA ARROYO, NYBIA                ADDRESS ON FILE
CABASSA BRAULIO, DAVID               ADDRESS ON FILE
CABASSA CORTES, CARLOS A             ADDRESS ON FILE
CABASSA GARCIA, LISSA M.             ADDRESS ON FILE
CABASSA GONZALEZ, CARLOS             ADDRESS ON FILE
CABASSA GONZALEZ, DAVID              ADDRESS ON FILE
CABASSA JIMENEZ, LYDIA               ADDRESS ON FILE
CABASSA JIMENEZ, NILSA               ADDRESS ON FILE
CABASSA MARTINEZ, RAMONITA           ADDRESS ON FILE
CABASSA PESANTE, MARITZA             ADDRESS ON FILE
CABASSA RAMOS, HECTOR                ADDRESS ON FILE
CABASSA RESTO, GLORIA                ADDRESS ON FILE
CABASSA RESTO, GLORIA                ADDRESS ON FILE
CABASSA RIVERA, ANGEL                ADDRESS ON FILE
CABASSA RIVERA, ANGEL LUIS           ADDRESS ON FILE
CABASSA RODRIGUEZ, EDGARD            ADDRESS ON FILE
CABASSA RODRIGUEZ, JOEL              ADDRESS ON FILE
CABASSA RODRIGUEZ, JOSELINE M        ADDRESS ON FILE
CABASSA RODRIGUEZ, PABLO             ADDRESS ON FILE
CABASSA ROSARIO, ELIZABETH           ADDRESS ON FILE
CABASSA SANTIAGO, KAREN G            ADDRESS ON FILE
CABASSA SAURI, ANA R                 ADDRESS ON FILE
CABASSA VALCARCEL, SALVADOR          ADDRESS ON FILE
CABASSA VOUSTAD, EDDA                ADDRESS ON FILE
CABASSA, CARMEN A                    ADDRESS ON FILE
CABASSA, CARMEN A                    ADDRESS ON FILE
CABBRERA LOPEZ, CARLOS E             ADDRESS ON FILE
CABECITAS BLANCAS ELDERLY HOME LLC   200 RAFAEL CORDERO        140 SUITE #488                                         CAGUAS       PR      00725
CABELLO ACOSTA, WILMARIE             ADDRESS ON FILE
CABELLO CABELLO, JOSE A              ADDRESS ON FILE
CABELLO CARRILLO, NATHALIE J         ADDRESS ON FILE
Cabello Cruz, Carmen M               ADDRESS ON FILE
Cabello Cruz, Eduardo                ADDRESS ON FILE
Cabello Cruz, Rafael                 ADDRESS ON FILE
Cabello Guzman, Johanna              ADDRESS ON FILE
CABELLO LEON, CARMEN                 ADDRESS ON FILE
CABELLO LEON, IRIS M                 ADDRESS ON FILE
CABELLO LEON, JUANA                  ADDRESS ON FILE
CABELLO LEON, ZENON                  ADDRESS ON FILE
CABELLO LUGO, MILDRED                ADDRESS ON FILE
CABELLO LUGO, MILDRED M              ADDRESS ON FILE
CABELLO LUGO, ROBERT G.              ADDRESS ON FILE
CABELLO MARTINEZ, VIVIAN             ADDRESS ON FILE
CABELLO MILLAN, FERNANDO             ADDRESS ON FILE
CABELLO MULERO, NEREIDA              ADDRESS ON FILE
CABELLO PEREZ, JUAN O.               ADDRESS ON FILE
CABELLO REYES, VICTOR                ADDRESS ON FILE




                                                                                 Page 1033 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1034 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABELLO REYES, VICTOR A         ADDRESS ON FILE
CABELLO RIVAS, IRIS             ADDRESS ON FILE
CABELLO RIVERA, CHARLOTTE E     ADDRESS ON FILE
CABELLO RIVERA, PEDRO L         ADDRESS ON FILE
CABELLO SANTIAGO, WANDA         ADDRESS ON FILE
CABELLO TORRES, JOSE            ADDRESS ON FILE
CABELLO TORRES, YAMILKA         ADDRESS ON FILE
CABELLO VILLEGAS, VICTORIANO    ADDRESS ON FILE
CABER PICO MD, MIGUEL           ADDRESS ON FILE
CABEZA BAEZ, JUAN               ADDRESS ON FILE
CABEZA BAEZ, JUAN               ADDRESS ON FILE
CABEZA CHARRIEZ, JOHNNY         ADDRESS ON FILE
CABEZA CRUZ, GLADYS             ADDRESS ON FILE
CABEZA DIAZ, MARIA              ADDRESS ON FILE
CABEZA DIAZ, MARIA              ADDRESS ON FILE
CABEZA ELIAS, MAX               ADDRESS ON FILE
CABEZA HERNANDEZ, ANGEL         ADDRESS ON FILE
Cabeza Maldonado, Alejandra     ADDRESS ON FILE
CABEZA ORTIZ, ALMA Y            ADDRESS ON FILE
CABEZA ORTIZ, GUILLERMO         ADDRESS ON FILE
CABEZA PEREZ, IRIS M            ADDRESS ON FILE
CABEZA PEREZ, WILLIAM           ADDRESS ON FILE
CABEZA RIVERA, JESSICA MARIE    ADDRESS ON FILE
CABEZA RIVERA, MABEL            ADDRESS ON FILE
CABEZA RODRIGUEZ, JESUS M       ADDRESS ON FILE
CABEZA RODRIGUEZ, MAXIMO        ADDRESS ON FILE
CABEZA SANABRIA, JOSE           ADDRESS ON FILE
CABEZA SANCHEZ, ERIC            ADDRESS ON FILE
CABEZA, LUMARY                  ADDRESS ON FILE
CABEZAS APONTE, ANAMARY         ADDRESS ON FILE
CABEZAS CARRASQUILLO, MARIA T   ADDRESS ON FILE
CABEZAS CASTILLO, JENNIFER      ADDRESS ON FILE
CABEZAS MAISONET, CORALIN J     ADDRESS ON FILE
CABEZAS MARTINEZ, YANIEL        ADDRESS ON FILE
CABEZAS MAYSONET, VIOLETA       ADDRESS ON FILE
Cabezas Maysonet, Violeta A     ADDRESS ON FILE
Cabezas Melendez, Ofilio        ADDRESS ON FILE
CABEZAS ORTIZ, RAFAEL           ADDRESS ON FILE
CABEZAS VALENTIN, KARINLYN L    ADDRESS ON FILE
CABEZAS VAZQUEZ, MAGDA          ADDRESS ON FILE
CABEZAS, KERNETH                ADDRESS ON FILE
CABEZUDO ARZON, JUAN            ADDRESS ON FILE
CABEZUDO BRUCELES, ANA M        ADDRESS ON FILE
CABEZUDO CANALS, JORGE H        ADDRESS ON FILE
Cabezudo Castro, Juan J         ADDRESS ON FILE
CABEZUDO CASTRO, LUIS           ADDRESS ON FILE
CABEZUDO CLASSEN, MARIA E       ADDRESS ON FILE
CABEZUDO CRUZ, LESVIA           ADDRESS ON FILE
CABEZUDO DE LEON, JAVIER        ADDRESS ON FILE
CABEZUDO DELGADO, MIGUEL        ADDRESS ON FILE
CABEZUDO DIAZ, GLORICILLE       ADDRESS ON FILE
CABEZUDO FALCON, MARIA          ADDRESS ON FILE
CABEZUDO FLORES, ALEXANDER      ADDRESS ON FILE
CABEZUDO FLORES, MAIDA I        ADDRESS ON FILE
CABEZUDO GARCIA, ANA E          ADDRESS ON FILE
CABEZUDO GARCIA,HECTOR          ADDRESS ON FILE
CABEZUDO GONZALEZ, FRANCISCO    ADDRESS ON FILE
CABEZUDO GONZALEZ, JUAN         ADDRESS ON FILE
CABEZUDO MARRERO, ORLANDO       ADDRESS ON FILE
CABEZUDO MEJIAS, CARLOS         ADDRESS ON FILE




                                                                            Page 1034 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1035 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                            Address1                       Address2                            Address3   Address4   City                State   PostalCode   Country
CABEZUDO MEJIAS, CARLOS I                ADDRESS ON FILE
CABEZUDO MELENDEZ, NILDA L.              ADDRESS ON FILE
Cabezudo Monserrate, Juan J              ADDRESS ON FILE
CABEZUDO MONSERRATE, MAYRA I             ADDRESS ON FILE
CABEZUDO ORTA, ROLANDO                   ADDRESS ON FILE
CABEZUDO ORTIZ, ISABEL                   ADDRESS ON FILE
CABEZUDO ORTIZ, JOSE                     ADDRESS ON FILE
CABEZUDO ORTIZ, MARIA DEL C              ADDRESS ON FILE
CABEZUDO PEREZ, IVONNE                   ADDRESS ON FILE
CABEZUDO PEREZ, LOURDES L.               ADDRESS ON FILE
CABEZUDO PEREZ, LUIS                     ADDRESS ON FILE
CABEZUDO PEREZ, MARIO                    ADDRESS ON FILE
CABEZUDO PEREZ, MARIO L                  ADDRESS ON FILE
CABEZUDO PEREZ, MILDRED                  ADDRESS ON FILE
CABEZUDO RETITUYO, MORINELLY             ADDRESS ON FILE
CABEZUDO RIVERA, JOSE                    ADDRESS ON FILE
CABEZUDO RIVERA, SHEYLA                  ADDRESS ON FILE
Cabezudo Rosa, Emanuel                   ADDRESS ON FILE
CABEZUDO ROSARIO, ROBERTO                ADDRESS ON FILE
CABEZUDO, JOSE R.                        ADDRESS ON FILE
CABILLA CARTAGENA, MARIBELLA             ADDRESS ON FILE
CABILLA CEBOLLERO, JORGE                 ADDRESS ON FILE
CABILLA TORRES, ANGEL                    ADDRESS ON FILE
CABINO OYOLA MELENDEZ                    ADDRESS ON FILE
CABIYA BERRIOS, MANUEL                   ADDRESS ON FILE
CABIYA BURGOS, IVELISSE                  ADDRESS ON FILE
CABIYA DE JESUS, MARIELYS                ADDRESS ON FILE
CABIYA MARRERO, JOSE                     ADDRESS ON FILE
CABIYA MORALES, JOSE                     ADDRESS ON FILE
CABIYA MORALES, JOSE J.                  ADDRESS ON FILE
CABIYA NEGRON, IVELISSE                  ADDRESS ON FILE
CABIYA RIVERA, ILIA                      ADDRESS ON FILE
CABLE DEPOT CORP / BYTEK TECHNOLOGYSTORE 461 CESAR GONZALEZ             SUITE 1                                                   SAN JUAN            PR      00918
CABLE DEPOT CORP DBA BYTEK TECHNOLOGY ST 461 CESAR GONZALEZ 1                                                                     SAN JUAN            PR      00918
CABLE DEPOT CORP.                        461 CESAR GONZALEZ, SUITE #1                                                             HATO REY            PR      00918
                                                                                                                                  METRO OFFICE PARK
CABLETRON SYSTEMS INC.                   SUITE 301 TEXACO BLDG                                                                    GUAYNABO            PR      00968‐1702
CABO RODRIGUEZ, ONEIDA                   ADDRESS ON FILE
CABO RODRIGUEZ, ONEIDA                   ADDRESS ON FILE
CABO ROJO DISCOUNT                       68 AVE MUNOZ RIVERA                                                                      CABO ROJO           PR      00623
CABO ROJO ECO PARK LLC                   PO BOX 582                                                                               VEGA BAJA           PR      00694‐0582
CABO ROJO GAS                            P.O BOX 883                                                                              CABO ROJO           PR      00623
CABO ROJO GAS INC                        PO BOX 883                                                                               CABO ROJO           PR      00623
CABO ROJO GAS Y MUEBLERIA AMISTAD INC    PO BOX 883                                                                               CABO ROJO           PR      00623
CABO ROJO VOLEIBOL INC                   QUINTAS DE CABO ROJO           147 CALLE RUISENOR                                        CABO ROJO           PR      00623
CABOT BAEZ, SANTOS E                     ADDRESS ON FILE
CABOT BAHAMUNDI, AGNES W                 ADDRESS ON FILE
CABOT BONILLA, MARIA B                   ADDRESS ON FILE
CABOT MARTINEZ, NADINE                   ADDRESS ON FILE
Cabot Ramos, Jose L                      ADDRESS ON FILE
CABOT SANTOS, KARINA                     ADDRESS ON FILE
CABOT VELEZ, DAISY M                     ADDRESS ON FILE
CABRA GONZALEZ, JOSE                     ADDRESS ON FILE
CABRAL CEPEDA, RAFAEL                    ADDRESS ON FILE
CABRAL DE BEAUCHAMP MD, MIGUELINA        ADDRESS ON FILE
CABRAL GUADALUPE, AIRAMZUL               ADDRESS ON FILE
CABRAL HERNANDEZ, ALEXANDRA              ADDRESS ON FILE
CABRAL HIDALGO, ANGELA                   ADDRESS ON FILE
CABRAL JIMENEZ, DENYS I                  ADDRESS ON FILE
CABRAL JIMENEZ, DENYS I.                 ADDRESS ON FILE




                                                                                             Page 1035 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1036 of 3500
                                                                                17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                    Address1                   Address2                                     Address3    Address4   City              State   PostalCode   Country
CABRAL MATOS, JOHANNA R          ADDRESS ON FILE
CABRAL QUERO, RAFAEL             ADDRESS ON FILE
CABRAL RODRIGUEZ, ANA            ADDRESS ON FILE
CABRAL TRINIDAD, VILMA           ADDRESS ON FILE
CABRAL TRINIDAD, VILMA           ADDRESS ON FILE
CABRAL TRINIDAD, VILMA           ADDRESS ON FILE
CABRAL VAZQUEZ, ADRIANA          ADDRESS ON FILE
CABRAL VELEZ, HAYDEE             ADDRESS ON FILE
CABRANES BODON, LEO              ADDRESS ON FILE
CABRANES TORRES, HEDDA           ADDRESS ON FILE
CABRE BATISTA, CARLOS            ADDRESS ON FILE
CABRE JIMENEZ,EVA M.             ADDRESS ON FILE
CABREJA DE LA VEGA, KARLA        ADDRESS ON FILE
CABRENA CENTENO, XIOMA R         ADDRESS ON FILE
CABRER PICO, MIGUEL A.           ADDRESS ON FILE
CABRER PICO, SANDRA              ADDRESS ON FILE
CABRERA RICO                     VICK CENTER                867 AVE MUNOZ RIVERA STE D403                                       SAN JUAN          PR      00925‐2128
CABRERA & RAMOS TRANSPORTE INC   PMB 412‐220                PLAZA WESTERN AUTO                           SUITE 101              TRUJILLO ALTO     PR      00976
CABRERA & RAMOS TRANSPORTE INC   PMB 412‐220 PLAZA W AUTO   SUITE 101                                                           TRUJILLO ALTO     PR      00976
CABRERA ACEVEDO, EDALIS          ADDRESS ON FILE
CABRERA ACEVEDO,ARLEEN           ADDRESS ON FILE
CABRERA AGOSTO, DEMETRIO         ADDRESS ON FILE
CABRERA AGOSTO, JULIA            ADDRESS ON FILE
CABRERA AGUILAR, JOSEFINA        ADDRESS ON FILE
CABRERA AGUILAR, RAFAEL          ADDRESS ON FILE
CABRERA AGUIRRE, JOSE E          ADDRESS ON FILE
CABRERA AGUIRRE, NAYDA           ADDRESS ON FILE
CABRERA AGUIRRE, ROSAURA         ADDRESS ON FILE
CABRERA ALDARONDO, ARLENE        ADDRESS ON FILE
CABRERA ALDARONDO, GABRIEL       ADDRESS ON FILE
CABRERA ALGARIN, BEVERLY         ADDRESS ON FILE
CABRERA ALGARIN, ELIEZER         ADDRESS ON FILE
CABRERA ALGARIN, MARTA M.        ADDRESS ON FILE
CABRERA ALGARIN, ORLANDO         ADDRESS ON FILE
CABRERA ALGARIN, RUTH            ADDRESS ON FILE
CABRERA ALICEA, ARACELIS         ADDRESS ON FILE
CABRERA ALICEA, CARLOS           ADDRESS ON FILE
CABRERA ALICEA, CESAR            ADDRESS ON FILE
CABRERA ALICEA, GABRIELA M.      ADDRESS ON FILE
CABRERA ALMODOVAR, FELIX         ADDRESS ON FILE
CABRERA ALMODOVAR, MARITZA       ADDRESS ON FILE
CABRERA ALMONTE, RIDERT          ADDRESS ON FILE
CABRERA ALVAREZ, SOLIMAR         ADDRESS ON FILE
CABRERA ALVERIO, WILLIAM         ADDRESS ON FILE
CABRERA ALVERIO, YOLANDA         ADDRESS ON FILE
CABRERA AMADOR, PEDRO            ADDRESS ON FILE
CABRERA AMEZQUITA, RICARDO       ADDRESS ON FILE
CABRERA ANDINO, FRANCHESKA M     ADDRESS ON FILE
CABRERA ANDINO, IRIS L.          ADDRESS ON FILE
CABRERA ANDRADES, IRAIDA         ADDRESS ON FILE
Cabrera Andrades, Rufina         ADDRESS ON FILE
CABRERA ANGULO, DENISE           ADDRESS ON FILE
CABRERA ARIZMENDI, IVONNE        ADDRESS ON FILE
CABRERA ARROYO, ANA M            ADDRESS ON FILE
CABRERA ARROYO, FELIPE           ADDRESS ON FILE
CABRERA ARROYO, MARIANNE         ADDRESS ON FILE
CABRERA ARROYO, ROBERTO          ADDRESS ON FILE
CABRERA ARTACHE, CARMEN          ADDRESS ON FILE
CABRERA ARTACHE,CARMEN           ADDRESS ON FILE
CABRERA ARTIGAS, EVA G.          ADDRESS ON FILE




                                                                                       Page 1036 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1037 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA ASENCIO, IRMA            ADDRESS ON FILE
CABRERA AUTO                     P. O. BOX 140400                                                                 ARECIBO      PR      00614‐0000
CABRERA AUTO GROUP               PO BOX 140400                                                                    ARECIBO      PR      00614
CABRERA AUTO GROUP INC           P O BOX 140400                                                                   ARECIBO      PR      00614
CABRERA AUTO GROUP LLC           PO BOX 140400                                                                    ARECIBO      PR      00614
CABRERA AVILES, MARIA M          ADDRESS ON FILE
CABRERA AVILES, MILAGROS         ADDRESS ON FILE
CABRERA AYALA, ANGEL             ADDRESS ON FILE
CABRERA AYALA, RAMSES            ADDRESS ON FILE
CABRERA BAEZ, JOEL               ADDRESS ON FILE
CABRERA BAEZ, ORLANDO            ADDRESS ON FILE
CABRERA BALASQUIDE, FERNANDO     ADDRESS ON FILE
CABRERA BARRETO, NELSON          ADDRESS ON FILE
CABRERA BARROS, CRISTINA         ADDRESS ON FILE
CABRERA BEAUCHAMP MD, MAGALI M   ADDRESS ON FILE
CABRERA BEAUCHAMP, DIANA M       ADDRESS ON FILE
CABRERA BELTRAN, JULIO           ADDRESS ON FILE
CABRERA BENITEZ, LUIS            ADDRESS ON FILE
CABRERA BERRIOS, FELIX           ADDRESS ON FILE
CABRERA BERRIOS, STEPHANIE       ADDRESS ON FILE
CABRERA BETANCOUR, MILDRED       ADDRESS ON FILE
CABRERA BETANCOURT, HECTOR J.    ADDRESS ON FILE
CABRERA BETANCOURT, MILDRED      ADDRESS ON FILE
CABRERA BEUCHAMP, MARIANA        ADDRESS ON FILE
CABRERA BIRRIEL, MAGGIE          ADDRESS ON FILE
CABRERA BONET, CARLOS A.         ADDRESS ON FILE
CABRERA BONET, MARTA             ADDRESS ON FILE
CABRERA BONILLA, CARLOS          ADDRESS ON FILE
CABRERA BORRERO, CHRISTIAN       ADDRESS ON FILE
CABRERA BRUNO, AWILDA            ADDRESS ON FILE
CABRERA BRUNO, DAVID             ADDRESS ON FILE
CABRERA BURGOS, SHARLYNNE        ADDRESS ON FILE
CABRERA CABAN, MIGUEL            ADDRESS ON FILE
CABRERA CABRERA, FIDEL           ADDRESS ON FILE
CABRERA CABRERA, GISELA          ADDRESS ON FILE
CABRERA CABRERA, GISELA A        ADDRESS ON FILE
CABRERA CABRERA, MARCO           ADDRESS ON FILE
CABRERA CABRERA, MARIA DE L      ADDRESS ON FILE
CABRERA CABRERA, MARIBEL         ADDRESS ON FILE
CABRERA CABRERA, MARITZA         ADDRESS ON FILE
CABRERA CABRERA, OLIVO           ADDRESS ON FILE
CABRERA CABRERA, RAFAELA         ADDRESS ON FILE
CABRERA CABRERA, SUGHEIL A.      ADDRESS ON FILE
CABRERA CACERES, LUIS A          ADDRESS ON FILE
CABRERA CACERES, REINALDO        ADDRESS ON FILE
Cabrera Calderon, Jose A.        ADDRESS ON FILE
CABRERA CAMACHO, JULIA           ADDRESS ON FILE
CABRERA CAMACHO, KARLA P.        ADDRESS ON FILE
CABRERA CANALES, EDWIN           ADDRESS ON FILE
CABRERA CANALES, JOSE            ADDRESS ON FILE
CABRERA CANCEL, LUIS F           ADDRESS ON FILE
CABRERA CANDELARIA, VERONICA     ADDRESS ON FILE
CABRERA CANDELARIA, VERONICA     ADDRESS ON FILE
CABRERA CAPELLA, ALBERTO         ADDRESS ON FILE
CABRERA CARABALLO, ILEANA T.     ADDRESS ON FILE
CABRERA CARABALLO, JASMIN        ADDRESS ON FILE
CABRERA CARABALLO, JORGE         ADDRESS ON FILE
CABRERA CARDONA, GINARIE J       ADDRESS ON FILE
CABRERA CARDONA, GINARIE J.      ADDRESS ON FILE
CABRERA CARDONA, JULIANETTE G    ADDRESS ON FILE




                                                                             Page 1037 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1038 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA CARDONA, JULIANETTE G.   ADDRESS ON FILE
CABRERA CARDONA,LUIS OMAR        ADDRESS ON FILE
CABRERA CASTILLO, ANGEL          ADDRESS ON FILE
CABRERA CASTILLO, JULIA A        ADDRESS ON FILE
CABRERA CASTRO, CARMEN           ADDRESS ON FILE
CABRERA CASTRO, YAMIRA           ADDRESS ON FILE
CABRERA CEDENO, HECTOR           ADDRESS ON FILE
CABRERA CHINEA, ANGEL            ADDRESS ON FILE
CABRERA CHINEA, ENILDA           ADDRESS ON FILE
CABRERA CINTRON, ANTONIO         ADDRESS ON FILE
CABRERA CINTRON, BRENDA M        ADDRESS ON FILE
CABRERA CINTRON, KEILA           ADDRESS ON FILE
CABRERA CINTRON, ZULEIKA         ADDRESS ON FILE
CABRERA CIRILO, JESUS M          ADDRESS ON FILE
Cabrera Cirilo, Manuel           ADDRESS ON FILE
Cabrera Colon, Angel R           ADDRESS ON FILE
CABRERA COLON, CARLOS            ADDRESS ON FILE
CABRERA COLON, DAPHNE            ADDRESS ON FILE
CABRERA COLON, LUIS A            ADDRESS ON FILE
CABRERA COLON, NANCY             ADDRESS ON FILE
CABRERA COLON,JOHN               ADDRESS ON FILE
CABRERA CONTRACTOR INC           P O BOX 10064                                                                    CAROLINA     PR      00988
CABRERA CONTRERAS, DAMARIS       ADDRESS ON FILE
CABRERA CONTRERAS, DAMARIS       ADDRESS ON FILE
CABRERA CORDERO, ROSE A          ADDRESS ON FILE
CABRERA CORDERO, VIVIAN          ADDRESS ON FILE
CABRERA CORREA, EMELYN           ADDRESS ON FILE
CABRERA COSME, EFRAIN            ADDRESS ON FILE
CABRERA COSTA, JOSE              ADDRESS ON FILE
CABRERA COTTO, BRENDA            ADDRESS ON FILE
CABRERA COTTO, MARIA             ADDRESS ON FILE
CABRERA COTTO, MARIA L           ADDRESS ON FILE
CABRERA CRESPO, ISMAEL           ADDRESS ON FILE
CABRERA CRESPO, RAFAEL           ADDRESS ON FILE
CABRERA CRUZ, ANA D              ADDRESS ON FILE
CABRERA CRUZ, ANA L              ADDRESS ON FILE
CABRERA CRUZ, AVELINO            ADDRESS ON FILE
CABRERA CRUZ, CARMEN G           ADDRESS ON FILE
CABRERA CRUZ, CATHERINE          ADDRESS ON FILE
CABRERA CRUZ, EUGENIO            ADDRESS ON FILE
CABRERA CRUZ, FELIX              ADDRESS ON FILE
CABRERA CRUZ, FRANK              ADDRESS ON FILE
CABRERA CRUZ, JUAN D             ADDRESS ON FILE
CABRERA CRUZ, JUAN D             ADDRESS ON FILE
CABRERA CRUZ, RAFAEL E           ADDRESS ON FILE
CABRERA CRUZ, SATURNINA          ADDRESS ON FILE
CABRERA CRUZ, WANDA              ADDRESS ON FILE
CABRERA CRUZ, WANDA I            ADDRESS ON FILE
CABRERA DARDIZ, JEIDIMAR         ADDRESS ON FILE
CABRERA DAVILA, JESUS            ADDRESS ON FILE
CABRERA DAVILA, JUAN             ADDRESS ON FILE
CABRERA DAVILA, MARAYDA          ADDRESS ON FILE
CABRERA DAVILA, YAZAIRA          ADDRESS ON FILE
CABRERA DE JESUS, DALIZA         ADDRESS ON FILE
CABRERA DE JESUS, LUZ H          ADDRESS ON FILE
CABRERA DE JESUS, MARIALIZA      ADDRESS ON FILE
CABRERA DE JESUS, MARIALIZA      ADDRESS ON FILE
CABRERA DE JESUS, MARISOL        ADDRESS ON FILE
CABRERA DE LA MATA, ALBERTO      ADDRESS ON FILE
CABRERA DE LA MATA, LUIS         ADDRESS ON FILE




                                                                             Page 1038 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1039 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA DE LA ROSA, FERNANDO J.   ADDRESS ON FILE
CABRERA DE LA TORRE, ANGEL J.     ADDRESS ON FILE
CABRERA DE LA, JORGE L            ADDRESS ON FILE
CABRERA DEIDA, MARIA              ADDRESS ON FILE
CABRERA DEIDA, MARIA A.           ADDRESS ON FILE
CABRERA DELGADO MD, FERNANDO J    ADDRESS ON FILE
CABRERA DELGADO, MARIA            ADDRESS ON FILE
CABRERA DELGADO, THELMA R.        ADDRESS ON FILE
CABRERA DEYNES, NYDIA E.          ADDRESS ON FILE
CABRERA DIAZ, ALEX                ADDRESS ON FILE
CABRERA DIAZ, ANA I               ADDRESS ON FILE
CABRERA DIAZ, ELBA L              ADDRESS ON FILE
CABRERA DIAZ, ELSIE H.            ADDRESS ON FILE
CABRERA DIAZ, ELSIE H.            ADDRESS ON FILE
CABRERA DIAZ, GRISELLE            ADDRESS ON FILE
CABRERA DIAZ, JOEL                ADDRESS ON FILE
CABRERA DIAZ, KATIANA M           ADDRESS ON FILE
CABRERA DIAZ, KIARA               ADDRESS ON FILE
CABRERA DIAZ, MASSIELL            ADDRESS ON FILE
CABRERA DIAZ, MIRAIDA             ADDRESS ON FILE
CABRERA DIAZ, RICARDO             ADDRESS ON FILE
CABRERA DIAZ, RICARDO A.          ADDRESS ON FILE
CABRERA DOMINGUEZ, FELIPE E.      ADDRESS ON FILE
CABRERA DURAN, NELSON             ADDRESS ON FILE
CABRERA ELIZA, JUAN               ADDRESS ON FILE
CABRERA ESCANDELL, MARTA M        ADDRESS ON FILE
CABRERA ESCANDELL, VICTOR J.      ADDRESS ON FILE
CABRERA ESCANDELL, VICTOR J.      ADDRESS ON FILE
CABRERA ESCOBAR, EFREN            ADDRESS ON FILE
CABRERA ESTRADA, LETICIA          ADDRESS ON FILE
CABRERA ESTRADA, NIVEA I          ADDRESS ON FILE
CABRERA EVRIDGE, SHAWN            ADDRESS ON FILE
CABRERA FALCON, MARITZA           ADDRESS ON FILE
CABRERA FALCON, RAMONITA          ADDRESS ON FILE
CABRERA FEBO, CARMEN              ADDRESS ON FILE
CABRERA FELICIANO, JAVIER         ADDRESS ON FILE
Cabrera Feliciano, Javier N       ADDRESS ON FILE
CABRERA FERNANDEZ, LILLIAN        ADDRESS ON FILE
CABRERA FERNANDEZ, LOURDES        ADDRESS ON FILE
CABRERA FIGUEROA, IRMA            ADDRESS ON FILE
CABRERA FIGUEROA, ROSA            ADDRESS ON FILE
CABRERA FIGUEROA, STEVENS         ADDRESS ON FILE
CABRERA FLORES, CELINES           ADDRESS ON FILE
CABRERA FRANCIS, FELIX A          ADDRESS ON FILE
CABRERA FUENTES, ANA M            ADDRESS ON FILE
CABRERA FUENTES, CARMEN I         ADDRESS ON FILE
CABRERA FUENTES, ERNESTO O.       ADDRESS ON FILE
CABRERA FUENTES, MARIE R          ADDRESS ON FILE
CABRERA FUENTES, VIVIAN M         ADDRESS ON FILE
CABRERA GALARZA, ARTURO           ADDRESS ON FILE
CABRERA GALARZA, NAYDA            ADDRESS ON FILE
CABRERA GALINDO, MARISOL          ADDRESS ON FILE
CABRERA GARCIA, ALEX              ADDRESS ON FILE
CABRERA GARCIA, ANSELMANUEL       ADDRESS ON FILE
CABRERA GARCIA, CHRISTIAN         ADDRESS ON FILE
CABRERA GARCIA, CONSUELO          ADDRESS ON FILE
CABRERA GARCIA, ENID              ADDRESS ON FILE
CABRERA GARCIA, FRANCISCO         ADDRESS ON FILE
CABRERA GARCIA, GLENDA M          ADDRESS ON FILE
CABRERA GARCIA, HECTOR            ADDRESS ON FILE




                                                                              Page 1039 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1040 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA GARCIA, JOSE            ADDRESS ON FILE
Cabrera Garcia, Jose J.         ADDRESS ON FILE
CABRERA GARCIA, JOSUE           ADDRESS ON FILE
CABRERA GARCIA, MARIA LAURA     ADDRESS ON FILE
CABRERA GARCIA, MAYRA L.        ADDRESS ON FILE
CABRERA GARCIA, NAYDA           ADDRESS ON FILE
CABRERA GARCIA, NAYDA E         ADDRESS ON FILE
CABRERA GARCIA, ORLANDO L       ADDRESS ON FILE
CABRERA GARIA, ELMYR            ADDRESS ON FILE
CABRERA GEIGEL, CARLOS          ADDRESS ON FILE
CABRERA GIL, WILNELIA           ADDRESS ON FILE
CABRERA GOMEZ, RAFAEL A.        ADDRESS ON FILE
CABRERA GONZALEZ MD, NESTOR     ADDRESS ON FILE
CABRERA GONZALEZ, AIDA          ADDRESS ON FILE
CABRERA GONZALEZ, AIDA L.       ADDRESS ON FILE
CABRERA GONZALEZ, ANA L         ADDRESS ON FILE
CABRERA GONZALEZ, ANGEL         ADDRESS ON FILE
CABRERA GONZALEZ, CARMEN        ADDRESS ON FILE
CABRERA GONZALEZ, CATALINA      ADDRESS ON FILE
CABRERA GONZALEZ, DALILA        ADDRESS ON FILE
CABRERA GONZALEZ, EDRICK        ADDRESS ON FILE
CABRERA GONZALEZ, ELIZABETH     ADDRESS ON FILE
CABRERA GONZALEZ, ELIZABETH     ADDRESS ON FILE
CABRERA GONZALEZ, FELIX         ADDRESS ON FILE
CABRERA GONZALEZ, GILDA M       ADDRESS ON FILE
CABRERA GONZALEZ, ILIA          ADDRESS ON FILE
CABRERA GONZALEZ, JANNETTE      ADDRESS ON FILE
CABRERA GONZALEZ, JAVIER F      ADDRESS ON FILE
CABRERA GONZALEZ, JOANNIE       ADDRESS ON FILE
CABRERA GONZALEZ, JORGE         ADDRESS ON FILE
CABRERA GONZALEZ, JUDITH        ADDRESS ON FILE
CABRERA GONZALEZ, LUIS          ADDRESS ON FILE
CABRERA GONZALEZ, LUISANDER     ADDRESS ON FILE
CABRERA GONZALEZ, NESTOR        ADDRESS ON FILE
CABRERA GONZALEZ, ROLANDO       ADDRESS ON FILE
CABRERA GONZALEZ, TITO          ADDRESS ON FILE
CABRERA GONZALEZ, WILMA         ADDRESS ON FILE
CABRERA GRUPO AUTOMOTRIZ CORP   PO BOX 140400                                                                    ARECIBO      PR      00614
CABRERA GRUPO AUTOMOTRIZ INC    PO BOX 140400                                                                    ARECIBO      PR      00614‐0400
CABRERA GRUPO AUTOMOTRIZ LLC    PO BOX 140400                                                                    ARECIBO      PR      00614‐0400
CABRERA GUADALUPE, CARLOS       ADDRESS ON FILE
CABRERA GUADALUPE, FERNANDO     ADDRESS ON FILE
CABRERA GUARDARAMA, EDUARDO     ADDRESS ON FILE
CABRERA GUERRIDO, JONATHAN      ADDRESS ON FILE
CABRERA GUEVARA, AGUSTINA       ADDRESS ON FILE
CABRERA HERMANOS                P.O. BOX 404000                                                                  ARECIBO      PR      00614‐0400
CABRERA HERMANOS INC            PO BOX 140400                                                                    ARECIBO      PR      00614
CABRERA HERNANDEZ, ISRAEL       ADDRESS ON FILE
CABRERA HERNANDEZ, LIZBETH      ADDRESS ON FILE
CABRERA HERNANDEZ, LUIS         ADDRESS ON FILE
CABRERA HERNANDEZ, LUIS F       ADDRESS ON FILE
CABRERA JAVIER, ELIAS           ADDRESS ON FILE
CABRERA JAVIER, ELIAS E.        ADDRESS ON FILE
CABRERA JIMENEZ, EDUARDO        ADDRESS ON FILE
CABRERA JIMENEZ, SIGFREDO       ADDRESS ON FILE
CABRERA JONES, NEVA M           ADDRESS ON FILE
CABRERA LABOY, CARMEN M         ADDRESS ON FILE
CABRERA LABOY, VICTOR J.        ADDRESS ON FILE
Cabrera Lagares, Miguel A.      ADDRESS ON FILE
CABRERA LAMBOY, JOSEAN          ADDRESS ON FILE




                                                                            Page 1040 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1041 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA LEON, MONICA           ADDRESS ON FILE
CABRERA LINAS, GRACE           ADDRESS ON FILE
CABRERA LLERAS, DAMARIS        ADDRESS ON FILE
CABRERA LOPEZ, AGUSTIN         ADDRESS ON FILE
Cabrera Lopez, Carmen I        ADDRESS ON FILE
CABRERA LOPEZ, ILEANA M        ADDRESS ON FILE
CABRERA LOPEZ, INDIRA          ADDRESS ON FILE
CABRERA LOPEZ, JOSE            ADDRESS ON FILE
CABRERA LOPEZ, LEASLY          ADDRESS ON FILE
CABRERA LOPEZ, LENNYS ZOE      ADDRESS ON FILE
CABRERA LOPEZ, LUIS            ADDRESS ON FILE
CABRERA LOPEZ, MARGARITA       ADDRESS ON FILE
CABRERA LOPEZ, MARGARITA       ADDRESS ON FILE
CABRERA LOPEZ, RAFAEL          ADDRESS ON FILE
CABRERA LOPEZ, RICARDO         ADDRESS ON FILE
CABRERA LOPEZ, RICHARD         ADDRESS ON FILE
CABRERA LOPEZ, ZORAIDA         ADDRESS ON FILE
CABRERA LORENZANA, JOSE        ADDRESS ON FILE
CABRERA LOZADA, KARLA M        ADDRESS ON FILE
CABRERA LUCIANO, KATHERINE     ADDRESS ON FILE
CABRERA MALARET, SANDRA        ADDRESS ON FILE
CABRERA MALDONADO, JOSE I      ADDRESS ON FILE
Cabrera Maldonado, Manuel A.   ADDRESS ON FILE
CABRERA MALDONADO, MARINA V    ADDRESS ON FILE
CABRERA MANRIQUE, EDGARDO      ADDRESS ON FILE
CABRERA MARQUEZ, BRENDA M      ADDRESS ON FILE
CABRERA MARQUEZ, JESSICA J     ADDRESS ON FILE
CABRERA MARRERO, BRENDA        ADDRESS ON FILE
CABRERA MARRERO, CARMEN M      ADDRESS ON FILE
CABRERA MARRERO, GABRIEL       ADDRESS ON FILE
CABRERA MARRERO, GUILLERMO     ADDRESS ON FILE
CABRERA MARTIN, MARIANA        ADDRESS ON FILE
CABRERA MARTINEZ, BRENDALY     ADDRESS ON FILE
CABRERA MARTINEZ, CARLOS       ADDRESS ON FILE
CABRERA MARTINEZ, GABRIEL      ADDRESS ON FILE
CABRERA MARTINEZ, JOSE         ADDRESS ON FILE
CABRERA MARTINEZ, JOSEFINA     ADDRESS ON FILE
CABRERA MARTINEZ, JUAN         ADDRESS ON FILE
CABRERA MARTINEZ, MARIA        ADDRESS ON FILE
CABRERA MARTINEZ, MELISSA      ADDRESS ON FILE
CABRERA MARTINEZ, NIURKA       ADDRESS ON FILE
CABRERA MARTINEZ, RAFAEL H     ADDRESS ON FILE
CABRERA MATOS, SYLVIA          ADDRESS ON FILE
CABRERA MATTOS, GABRIEL A      ADDRESS ON FILE
CABRERA MEDINA, AILEEN         ADDRESS ON FILE
CABRERA MEDINA, ANGELA P       ADDRESS ON FILE
Cabrera Medina, Carmen D       ADDRESS ON FILE
CABRERA MELENDEZ, ZULEMY E.    ADDRESS ON FILE
CABRERA MENDOZA, APOLINAR      ADDRESS ON FILE
CABRERA MERCADER, LAURA        ADDRESS ON FILE
CABRERA MERCADO, ALFREDO       ADDRESS ON FILE
CABRERA MERCADO, EMMA          ADDRESS ON FILE
CABRERA MERCADO, IRIS D        ADDRESS ON FILE
CABRERA MERCADO, LINA M        ADDRESS ON FILE
CABRERA MERCADO, LIZ M         ADDRESS ON FILE
CABRERA MERCADO, MARITZA       ADDRESS ON FILE
CABRERA MERCED, FERNANDO       ADDRESS ON FILE
CABRERA MERCED, ORLANDO        ADDRESS ON FILE
CABRERA MESTRE, WILLIAM        ADDRESS ON FILE
CABRERA MILLAN, JUAN           ADDRESS ON FILE




                                                                           Page 1041 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1042 of 3500
                                                                                17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                    Address1                  Address2                                Address3       Address4   City        State   PostalCode   Country
Cabrera Miranda, Migdaliz        ADDRESS ON FILE
CABRERA MOLINA, ALEJANDRINO      ADDRESS ON FILE
CABRERA MOLINA, GERARDO          ADDRESS ON FILE
CABRERA MONSERRATE, EDWIN        ADDRESS ON FILE
CABRERA MONSERRATE, EDWIN        ADDRESS ON FILE
CABRERA MONTANEZ, JOEL           ADDRESS ON FILE
CABRERA MONTANEZ, JUAN C         ADDRESS ON FILE
CABRERA MONTANEZ, REBECCA        ADDRESS ON FILE
CABRERA MONTANEZ, VERONICA       ADDRESS ON FILE
Cabrera Morales, Elisamuel       ADDRESS ON FILE
CABRERA MORALES, ESTELA          ADDRESS ON FILE
CABRERA MORALES, JAIME           ADDRESS ON FILE
CABRERA MORALES, RAFAEL          ADDRESS ON FILE
CABRERA MUNOZ, SATURNINA         ADDRESS ON FILE
CABRERA MURRAY, ELSA             ADDRESS ON FILE
CABRERA MUSSE, JUAN C.           ADDRESS ON FILE
CABRERA NARVAEZ, IRIS Y          ADDRESS ON FILE
Cabrera Negron, Angel L          ADDRESS ON FILE
CABRERA NEGRON, MILAGROS         ADDRESS ON FILE
CABRERA NEGRON, RONNIE           ADDRESS ON FILE
CABRERA NIEVES, ANNETTE          ADDRESS ON FILE
CABRERA NIEVES, GLORIA E         ADDRESS ON FILE
CABRERA NIEVES, JAVIER E         ADDRESS ON FILE
CABRERA NIEVES, LOURDES          ADDRESS ON FILE
CABRERA NIEVES, LUZ              ADDRESS ON FILE
CABRERA NIEVES, MARITZA          ADDRESS ON FILE
CABRERA NIEVES, MAXIMINO         ADDRESS ON FILE
Cabrera Nieves, Miguel Antonio   ADDRESS ON FILE
CABRERA NIEVES, MILEYKA          ADDRESS ON FILE
CABRERA NIEVES, MILEYKA          ADDRESS ON FILE
CABRERA NORMANDIA, ANGEL         ADDRESS ON FILE
CABRERA NORMANDIA, VICTOR        ADDRESS ON FILE
CABRERA NUNEZ, ALEXIS            ADDRESS ON FILE
CABRERA NUNEZ, IRIS DIVINA       ADDRESS ON FILE
Cabrera Oliveras, Jorge R.       ADDRESS ON FILE
CABRERA OLIVO, JUAN              ADDRESS ON FILE
CABRERA OQUENDO, ADOLFO          ADDRESS ON FILE
CABRERA ORTEGA, CARLOS           ADDRESS ON FILE
CABRERA ORTEGA, CARLOS R         ADDRESS ON FILE
CABRERA ORTEGA, GADIEL           ADDRESS ON FILE
CABRERA ORTEGA, GILBERTO         ADDRESS ON FILE
CABRERA ORTEGA, LUIS E           ADDRESS ON FILE
CABRERA ORTEGA, NORMA I          ADDRESS ON FILE
CABRERA ORTEGA, PACACIO          ADDRESS ON FILE
CABRERA ORTIZ, ANNETTE           ADDRESS ON FILE
CABRERA ORTIZ, CARLOS            ADDRESS ON FILE
CABRERA ORTIZ, CARMEN            ADDRESS ON FILE
CABRERA ORTIZ, CARMEN J.         ADDRESS ON FILE
CABRERA ORTIZ, HECTOR            ADDRESS ON FILE
CABRERA ORTIZ, IVETTE            ADDRESS ON FILE
CABRERA ORTIZ, IVONNE            ADDRESS ON FILE
CABRERA ORTIZ, JOSE              ADDRESS ON FILE
Cabrera Ortiz, Juan E            ADDRESS ON FILE
CABRERA ORTIZ, MARIBEL           ADDRESS ON FILE
CABRERA ORTIZ, MAURICIO          ADDRESS ON FILE
CABRERA ORTIZ, NOEL              ADDRESS ON FILE
CABRERA ORTIZ, VICMARIE J.       ADDRESS ON FILE
CABRERA ORTIZ, YAHIMILLY         ADDRESS ON FILE
CABRERA ORTIZ, YARITZAIDA        POR DERECHO PROPIO        URB. VILLA DEL ROSARIO                  CALLE 1 #C‐7              NAGUABO     PR      00718
CABRERA ORTIZ, YARIZAIDA         ADDRESS ON FILE




                                                                                    Page 1042 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1043 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3         Address4   City         State   PostalCode   Country
                                                                                             1353 AVE. LUIS
CABRERA ORTIZ, YARIZAIDA          YARLENE JIMENEZ ROSARIO   PMB‐133                          VIGOREAUZ                   GUAYNABO     PR      00966‐2700
CABRERA ORTIZ, YEITZA             ADDRESS ON FILE
CABRERA ORTIZ, YOLIANA            ADDRESS ON FILE
CABRERA OSORIO, JEANNETTE MARIE   ADDRESS ON FILE
CABRERA OTERO MD, SYLVIA          ADDRESS ON FILE
CABRERA OTERO, DAVID              ADDRESS ON FILE
CABRERA OTERO, HECTOR M           ADDRESS ON FILE
CABRERA OTERO, JORGE              ADDRESS ON FILE
CABRERA OTERO, JOSE R.            ADDRESS ON FILE
CABRERA PADILLA, RUDY             ADDRESS ON FILE
CABRERA PADOVANI, CIRY            ADDRESS ON FILE
CABRERA PASTRANA, VICTOR          ADDRESS ON FILE
CABRERA PAYANO, ELVIS             ADDRESS ON FILE
CABRERA PENA, DESIDERIO           ADDRESS ON FILE
CABRERA PENA, DOMINGO             ADDRESS ON FILE
CABRERA PENA, GLORIA              ADDRESS ON FILE
CABRERA PENA, JESUS M             ADDRESS ON FILE
CABRERA PEREZ, ANA M              ADDRESS ON FILE
CABRERA PEREZ, ANTONIO R          ADDRESS ON FILE
CABRERA PEREZ, EDNA               ADDRESS ON FILE
CABRERA PEREZ, HECTOR R           ADDRESS ON FILE
CABRERA PEREZ, JAIME              ADDRESS ON FILE
CABRERA PEREZ, KARIELY            ADDRESS ON FILE
CABRERA PEREZ, KARIELY            ADDRESS ON FILE
CABRERA PEREZ, LITZA M            ADDRESS ON FILE
CABRERA PEREZ, LUDMILA            ADDRESS ON FILE
Cabrera Perez, Maria E            ADDRESS ON FILE
CABRERA PEREZ, MYRNA L            ADDRESS ON FILE
CABRERA PEREZ, NYDIA              ADDRESS ON FILE
CABRERA PEREZ, SHEILA I           ADDRESS ON FILE
CABRERA PEREZ, VALENTIN           ADDRESS ON FILE
CABRERA PEREZ, VICENTE A          ADDRESS ON FILE
CABRERA PICO, MIGUEL              ADDRESS ON FILE
CABRERA PINA, CARMEN D.           ADDRESS ON FILE
CABRERA PINA, FRANCIA             ADDRESS ON FILE
CABRERA PIZARRO, ANDERSON         ADDRESS ON FILE
CABRERA PIZARRO, MILITZA          ADDRESS ON FILE
CABRERA PLA, LILLIAM A            ADDRESS ON FILE
CABRERA QUIARA, ANAID MARITZA     ADDRESS ON FILE
CABRERA QUINONES, JESUS           ADDRESS ON FILE
CABRERA QUINTERO, JAIME           ADDRESS ON FILE
CABRERA QUINTERO, JAIME           ADDRESS ON FILE
Cabrera Raices, Eliot R           ADDRESS ON FILE
CABRERA RAMIREZ, ANILDA           ADDRESS ON FILE
CABRERA RAMIREZ, AWILDA           ADDRESS ON FILE
CABRERA RAMIREZ, MARIA R          ADDRESS ON FILE
CABRERA RAMIREZ, TOMAS            ADDRESS ON FILE
CABRERA RAMOS, ANTONIO            ADDRESS ON FILE
CABRERA RAMOS, CARLOS             ADDRESS ON FILE
CABRERA RAMOS, ELENA M            ADDRESS ON FILE
CABRERA RAMOS, GARY               ADDRESS ON FILE
CABRERA RAMOS, OLGA               ADDRESS ON FILE
CABRERA RAMOS, RAFAEL             ADDRESS ON FILE
Cabrera Ramos, Rafael A           ADDRESS ON FILE
CABRERA REDONDO, JUAN             ADDRESS ON FILE
CABRERA REYES, CARLOS             ADDRESS ON FILE
CABRERA REYES, CARLOS             ADDRESS ON FILE
CABRERA REYES, JANNETTE           ADDRESS ON FILE
CABRERA REYES, LUIS               ADDRESS ON FILE




                                                                              Page 1043 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1044 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA REYES, NORIS I           ADDRESS ON FILE
CABRERA REYES, YERITZA           ADDRESS ON FILE
CABRERA RIAL, JOSE               ADDRESS ON FILE
CABRERA RIBOT, YOLANDA           ADDRESS ON FILE
CABRERA RIOS, HERIBERTO          ADDRESS ON FILE
CABRERA RIOS, IRIS ENEIDA        ADDRESS ON FILE
CABRERA RIOS, JULIO              ADDRESS ON FILE
CABRERA RIOS, NIDZA              ADDRESS ON FILE
CABRERA RIVERA, ALTAGRACIA       ADDRESS ON FILE
CABRERA RIVERA, ANGEL            ADDRESS ON FILE
CABRERA RIVERA, ARLENE           ADDRESS ON FILE
CABRERA RIVERA, CARLOS M.        ADDRESS ON FILE
Cabrera Rivera, Carmen L         ADDRESS ON FILE
CABRERA RIVERA, DORIS            ADDRESS ON FILE
CABRERA RIVERA, EVETTE           ADDRESS ON FILE
CABRERA RIVERA, FELIX            ADDRESS ON FILE
CABRERA RIVERA, GERALDO          ADDRESS ON FILE
CABRERA RIVERA, GRISELLYS        ADDRESS ON FILE
CABRERA RIVERA, HECTOR           ADDRESS ON FILE
CABRERA RIVERA, HERMELINDA       ADDRESS ON FILE
CABRERA RIVERA, IDALIA M.        ADDRESS ON FILE
Cabrera Rivera, Johanna M        ADDRESS ON FILE
CABRERA RIVERA, JOSE             ADDRESS ON FILE
CABRERA RIVERA, JUAN             ADDRESS ON FILE
Cabrera Rivera, Juan M           ADDRESS ON FILE
CABRERA RIVERA, MAGDA            ADDRESS ON FILE
CABRERA RIVERA, MARIA            ADDRESS ON FILE
CABRERA RIVERA, MARIA DE LOS A   ADDRESS ON FILE
CABRERA RIVERA, MARIA I          ADDRESS ON FILE
CABRERA RIVERA, MARIA M          ADDRESS ON FILE
CABRERA RIVERA, MERCEDES         ADDRESS ON FILE
CABRERA RIVERA, MYRTA            ADDRESS ON FILE
CABRERA RIVERA, NORMA I          ADDRESS ON FILE
CABRERA RIVERA, ORLANDO          ADDRESS ON FILE
CABRERA RIVERA, PEDRO            ADDRESS ON FILE
CABRERA RIVERA, PEDRO A          ADDRESS ON FILE
CABRERA RIVERA, ROBERTO          ADDRESS ON FILE
CABRERA RIVERA, SHIARA           ADDRESS ON FILE
CABRERA RIVERA, SHIARA           ADDRESS ON FILE
CABRERA RIVERA, YALISVETTE       ADDRESS ON FILE
CABRERA RIVERA, YALISVETTEM      ADDRESS ON FILE
CABRERA RIVERA, YOLANDA          ADDRESS ON FILE
CABRERA RIVERA, YOMAIRA          ADDRESS ON FILE
CABRERA RIVERA,SHALIMAR          ADDRESS ON FILE
CABRERA RODRIGUEZ MD, PILAR A    ADDRESS ON FILE
CABRERA RODRIGUEZ, ABRAHAM       ADDRESS ON FILE
CABRERA RODRIGUEZ, ANA           ADDRESS ON FILE
CABRERA RODRIGUEZ, ANA M         ADDRESS ON FILE
CABRERA RODRIGUEZ, ARMANDO       ADDRESS ON FILE
CABRERA RODRIGUEZ, CARMEN        ADDRESS ON FILE
CABRERA RODRIGUEZ, CARMEN A      ADDRESS ON FILE
CABRERA RODRIGUEZ, CARMEN E      ADDRESS ON FILE
CABRERA RODRIGUEZ, CESAR A.      ADDRESS ON FILE
Cabrera Rodriguez, Charlie J     ADDRESS ON FILE
CABRERA RODRIGUEZ, EMANUEL       ADDRESS ON FILE
CABRERA RODRIGUEZ, FIDELINA      ADDRESS ON FILE
CABRERA RODRIGUEZ, GRICELIS      ADDRESS ON FILE
CABRERA RODRIGUEZ, HAYDEE        ADDRESS ON FILE
CABRERA RODRIGUEZ, HECTOR A      ADDRESS ON FILE
CABRERA RODRIGUEZ, IDIA V.       ADDRESS ON FILE




                                                                             Page 1044 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1045 of 3500
                                                                               17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                   Address1                  Address2                               Address3         Address4   City         State   PostalCode   Country
CABRERA RODRIGUEZ, JANISSE      ADDRESS ON FILE
CABRERA RODRIGUEZ, JAYSON       ADDRESS ON FILE
CABRERA RODRIGUEZ, JOSE         ADDRESS ON FILE
CABRERA RODRIGUEZ, JOSEFINA I   ADDRESS ON FILE
CABRERA RODRIGUEZ, JUAN         ADDRESS ON FILE
CABRERA RODRIGUEZ, LILIAM E     ADDRESS ON FILE
CABRERA RODRIGUEZ, LILLIAN E    ADDRESS ON FILE
CABRERA RODRIGUEZ, LUDIMAR      ADDRESS ON FILE
CABRERA RODRIGUEZ, MARIA M      ADDRESS ON FILE
CABRERA RODRIGUEZ, MARIBEL      ADDRESS ON FILE
CABRERA RODRIGUEZ, MARTA IRIS   ADDRESS ON FILE
CABRERA RODRIGUEZ, NELSON       ADDRESS ON FILE
Cabrera Rodriguez, Odemaris     ADDRESS ON FILE
CABRERA RODRIGUEZ, PEDRO        ADDRESS ON FILE
CABRERA RODRIGUEZ, ROBERTO      ADDRESS ON FILE
CABRERA RODRIGUEZ, RUPERTO      ADDRESS ON FILE
CABRERA RODRIGUEZ, SUSANA       ADDRESS ON FILE
CABRERA ROJAS, HECTOR           ADDRESS ON FILE
CABRERA ROJAS, ISAAC            ADDRESS ON FILE
CABRERA ROJAS, VERONICA         ADDRESS ON FILE
CABRERA ROLON, JOSE             ADDRESS ON FILE
CABRERA ROMAN, FERNANDO         ADDRESS ON FILE
CABRERA ROMAN, JOSE             ADDRESS ON FILE
CABRERA ROMAN, RICARDO          ADDRESS ON FILE
CABRERA ROMAN, RUBEN            ADDRESS ON FILE
CABRERA ROMAN, RUBEN            ADDRESS ON FILE
CABRERA ROMAN, TAMARA           ADDRESS ON FILE
CABRERA ROMERO, CARMEN I.       ADDRESS ON FILE
CABRERA ROSADO, CARMEN E        ADDRESS ON FILE
CABRERA ROSADO, GUILLERMINA     ADDRESS ON FILE
CABRERA ROSADO, HECTOR          ADDRESS ON FILE
CABRERA ROSADO, ISABEL M        ADDRESS ON FILE
CABRERA ROSADO, JAVIER          ADDRESS ON FILE
CABRERA ROSADO, JESUS           ADDRESS ON FILE
CABRERA ROSADO, KATIA           ADDRESS ON FILE
CABRERA ROSADO, LUZ E           ADDRESS ON FILE
CABRERA ROSADO, OLGA            ADDRESS ON FILE
CABRERA ROSARIO, ADALBERTO      ADDRESS ON FILE
CABRERA ROSARIO, EMMANUEL       ADDRESS ON FILE
CABRERA ROSARIO, GLORIA E       ADDRESS ON FILE
CABRERA ROSARIO, JORGE          ADDRESS ON FILE
CABRERA ROSARIO, JOSE R.        ADDRESS ON FILE
CABRERA ROSARIO, JUAN           ADDRESS ON FILE
Cabrera Rosario, Luis R         ADDRESS ON FILE
CABRERA ROSARIO, ROBERTO G      ADDRESS ON FILE
CABRERA ROVIRA, ELBA L          ADDRESS ON FILE
CABRERA RUIZ, CARLOS E          ADDRESS ON FILE
CABRERA RUIZ, FERDINAND         ADDRESS ON FILE
CABRERA RUIZ, JANET             ADDRESS ON FILE
CABRERA RUIZ, LUIS L            ADDRESS ON FILE
CABRERA SAGARDIA, LUZ E.        ADDRESS ON FILE
CABRERA SAGARDÍA, LUZ E.        POR DERECHO PROPIO        CALLE 16 BLOQUE 22‐15                  SABANA GARDENS              CAROLINA     PR      00983
CABRERA SALGADO, ISRAEL         ADDRESS ON FILE
CABRERA SALGADO, MADELINE       ADDRESS ON FILE
Cabrera Salgado, Neshmayda      ADDRESS ON FILE
CABRERA SANCHEZ, IRENE          ADDRESS ON FILE
CABRERA SANCHEZ, JOSE A         ADDRESS ON FILE
Cabrera Sanchez, Jose A         ADDRESS ON FILE
CABRERA SANCHEZ, JOSE A         ADDRESS ON FILE
CABRERA SANCHEZ, LILLIAN        ADDRESS ON FILE




                                                                                  Page 1045 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1046 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA SANCHEZ, ROSA M.         ADDRESS ON FILE
Cabrera Santana, Alberto         ADDRESS ON FILE
CABRERA SANTANA, FRANCISCO       ADDRESS ON FILE
CABRERA SANTANA, JENIFFER K      ADDRESS ON FILE
CABRERA SANTANA, LYDIA           ADDRESS ON FILE
CABRERA SANTANA, MARITZA A       ADDRESS ON FILE
CABRERA SANTIAGO, AIXA S         ADDRESS ON FILE
CABRERA SANTIAGO, CARMEN         ADDRESS ON FILE
CABRERA SANTIAGO, CARMEN L       ADDRESS ON FILE
CABRERA SANTIAGO, CELYS M        ADDRESS ON FILE
CABRERA SANTIAGO, EDNA           ADDRESS ON FILE
CABRERA SANTIAGO, FELIPE H       ADDRESS ON FILE
CABRERA SANTIAGO, FRANCISCA      ADDRESS ON FILE
CABRERA SANTIAGO, ISALYN         ADDRESS ON FILE
CABRERA SANTIAGO, MARY ANN       ADDRESS ON FILE
CABRERA SANTIAGO, MIGDALIA       ADDRESS ON FILE
CABRERA SANTIAGO, NANCY          ADDRESS ON FILE
CABRERA SANTIAGO, NAYDALIZ       ADDRESS ON FILE
CABRERA SANTIAGO, OLGA           ADDRESS ON FILE
CABRERA SANTIAGO, SOL R          ADDRESS ON FILE
CABRERA SANTOS, GUSTAVO          ADDRESS ON FILE
Cabrera Santos, Gustavo          ADDRESS ON FILE
CABRERA SANTOS, HERLINDA         ADDRESS ON FILE
CABRERA SANTOS, HILDA            ADDRESS ON FILE
CABRERA SECURITY SERVICES, INC   PO BOX 2500 PMB221                                                               TOA BAJA     PR      00951
CABRERA SEGURA, EDGARDO A.       ADDRESS ON FILE
CABRERA SEPULVEDA, JOSE          ADDRESS ON FILE
CABRERA SERRANO, ALEX            ADDRESS ON FILE
CABRERA SERRANO, ARELYS          ADDRESS ON FILE
CABRERA SERRANO, ARMANDO         ADDRESS ON FILE
CABRERA SERRANO, FRANCES         ADDRESS ON FILE
CABRERA SERRANO, MIRNA I         ADDRESS ON FILE
CABRERA SERRANO, YOHALYS         ADDRESS ON FILE
CABRERA SIERRA, FRANCISCO        ADDRESS ON FILE
CABRERA SIERRA, MARLENE          ADDRESS ON FILE
CABRERA SIERRA, ROSA             ADDRESS ON FILE
CABRERA SOTO, EVELYN DEL PILAR   ADDRESS ON FILE
CABRERA SOTO, JOSE               ADDRESS ON FILE
CABRERA SOTO, JOSE               ADDRESS ON FILE
CABRERA SOTO, JOSE LUIS          ADDRESS ON FILE
CABRERA SOTO, JUAN               ADDRESS ON FILE
Cabrera Soto, Reinaldo           ADDRESS ON FILE
CABRERA SOTO, WILMA G            ADDRESS ON FILE
CABRERA SOTOMAYOR, JOSE A        ADDRESS ON FILE
CABRERA SOTOMAYOR, JUAN E        ADDRESS ON FILE
CABRERA SUAREZ, KAREN            ADDRESS ON FILE
CABRERA TAPIA, NYDIA E.          ADDRESS ON FILE
Cabrera Tavarez, Juana L         ADDRESS ON FILE
CABRERA TEJADA, RAYMOND          ADDRESS ON FILE
Cabrera Tirado, Noel             ADDRESS ON FILE
CABRERA TIRADO, NOEL             ADDRESS ON FILE
Cabrera Torres, Angel            ADDRESS ON FILE
CABRERA TORRES, ELIZABETH        ADDRESS ON FILE
CABRERA TORRES, GRISELIDES       ADDRESS ON FILE
CABRERA TORRES, LOURDES          ADDRESS ON FILE
CABRERA TORRES, LYDIA            ADDRESS ON FILE
CABRERA TORRES, LYDIA M          ADDRESS ON FILE
CABRERA TORRES, MARIA            ADDRESS ON FILE
CABRERA TORRES, MARIA            ADDRESS ON FILE
CABRERA TORRES, OSWALD           ADDRESS ON FILE




                                                                             Page 1046 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1047 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CABRERA TORRES, SIGNA MAGALY    ADDRESS ON FILE
CABRERA TORRES, SULDELKA        ADDRESS ON FILE
CABRERA TORRES, WANDA           ADDRESS ON FILE
CABRERA TORRES, WANDA O         ADDRESS ON FILE
CABRERA TORRUELLA, CARMEN R     ADDRESS ON FILE
Cabrera Trinidad, Luis F.       ADDRESS ON FILE
CABRERA ULLOA, ROSA             ADDRESS ON FILE
CABRERA VALDERRAMA, SUGHEIL     ADDRESS ON FILE
CABRERA VALENTIN, DAMIAN        ADDRESS ON FILE
CABRERA VALENTIN, EDWIN         ADDRESS ON FILE
CABRERA VALENTIN, JOSE J        ADDRESS ON FILE
CABRERA VALENTIN, LUIS R        ADDRESS ON FILE
CABRERA VALLE, JANISE           ADDRESS ON FILE
CABRERA VARGAS, EDWIN           ADDRESS ON FILE
Cabrera Vargas, Javier          ADDRESS ON FILE
CABRERA VARGAS, PEDRO J.        ADDRESS ON FILE
CABRERA VARGAS, SARA M          ADDRESS ON FILE
CABRERA VAZQUEZ MD, CARLOS A    ADDRESS ON FILE
CABRERA VAZQUEZ, CARLOS         ADDRESS ON FILE
CABRERA VAZQUEZ, EMMANUEL       ADDRESS ON FILE
CABRERA VAZQUEZ, JOSE RAFAEL    ADDRESS ON FILE
CABRERA VAZQUEZ, MIGUEL A       ADDRESS ON FILE
CABRERA VAZQUEZ, PETRA          ADDRESS ON FILE
CABRERA VAZQUEZ, SONIA          ADDRESS ON FILE
CABRERA VAZQUEZ, YASHIRA        ADDRESS ON FILE
CABRERA VEGA, EDUARDO           ADDRESS ON FILE
CABRERA VEGA, ELSIE E.          ADDRESS ON FILE
CABRERA VEGA, HECTOR            ADDRESS ON FILE
CABRERA VEGA, IRIS M            ADDRESS ON FILE
CABRERA VEGA, IRIS N            ADDRESS ON FILE
CABRERA VEGA, LUIS              ADDRESS ON FILE
CABRERA VELAZQUEZ, JORGE LUIS   ADDRESS ON FILE
CABRERA VELAZQUEZ, LILLIAN      ADDRESS ON FILE
CABRERA VELAZQUEZ, MARIA        ADDRESS ON FILE
CABRERA VELEZ, ANTONIA E        ADDRESS ON FILE
CABRERA VELEZ, EDDIE            ADDRESS ON FILE
CABRERA VELEZ, ENID IVETTE      ADDRESS ON FILE
CABRERA VELEZ, FABIOLA          ADDRESS ON FILE
CABRERA VELEZ, FREDDIE F.       ADDRESS ON FILE
CABRERA VELEZ, MARIA E          ADDRESS ON FILE
CABRERA VELEZ, NILKA M          ADDRESS ON FILE
CABRERA VELEZ, YARIMEL          ADDRESS ON FILE
CABRERA VELILLA, CARLOS         ADDRESS ON FILE
CABRERA VELILLA, CARLOS A.      ADDRESS ON FILE
CABRERA VILA, SANDRA            ADDRESS ON FILE
CABRERA VILLA, JULIANA          ADDRESS ON FILE
CABRERA VILLANUEVA, ADA V       ADDRESS ON FILE
CABRERA VILLANUEVA, MARGARITA   ADDRESS ON FILE
CABRERA VIRELLA, ANGEL A        ADDRESS ON FILE
CABRERA VIRELLA, LUZ R          ADDRESS ON FILE
CABRERA VITAL, ISABEL           ADDRESS ON FILE
CABRERA VIZCARRONDO, ANA M      ADDRESS ON FILE
CABRERA, CARLOS                 ADDRESS ON FILE
CABRERA, LUIS D.                ADDRESS ON FILE
CABRERA, MARCO ANTONIO          ADDRESS ON FILE
CABRERA, RAFAEL                 ADDRESS ON FILE
CABRERA, RALPH                  ADDRESS ON FILE
CABRERA, RAYMOND                ADDRESS ON FILE
CABRERA, VIVIANA                ADDRESS ON FILE
CABRERA, WILLIAM J.             ADDRESS ON FILE




                                                                            Page 1047 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1048 of 3500
                                                                                17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                    Address1                            Address2                          Address3   Address4   City         State   PostalCode   Country
CABRERA,EDRICK G.                ADDRESS ON FILE
CABRERA,EVA Y.                   ADDRESS ON FILE
CABRERA,MARIA C.                 ADDRESS ON FILE
CABRERA‐BRUNO, MYRNA             ADDRESS ON FILE
CABRERADELGADO, JOSE             ADDRESS ON FILE
CABRERAHERNANDEZ, REBECCA        ADDRESS ON FILE
CABRERARIVERA, GLYMARICEL        ADDRESS ON FILE
CABRERAS CAMACHO, THOMAS B       ADDRESS ON FILE
CABRERAS PROPERTIES REAL STATE   PASEO DEL PRADO                     140 CALLE VEREDA                                        CAROLINA     PR      00987‐7619
CABRERAS ROJAS, ELIAS            ADDRESS ON FILE
CABRERO CARRILLO, KAZAHIRA       ADDRESS ON FILE
CABRERO CLAUDIO, JOSEFINA        ADDRESS ON FILE
CABRERO DAVILA, MARIA DEL C      ADDRESS ON FILE
CABRERO DAVILA, RAFAEL A         ADDRESS ON FILE
CABRERO GOMEZ, ANTONIO M.        ADDRESS ON FILE
CABRERO JIMENEZ, JOSUE           ADDRESS ON FILE
CABRERO LAMBOY, BIENVENIDO       ADDRESS ON FILE
CABRERO LAMBOY, LOURDES          ADDRESS ON FILE
Cabrero Mendez, Juan G           ADDRESS ON FILE
CABRERO MUNIZ, ANTONIO           ADDRESS ON FILE
CABRERO NUNEZ, JAVIER            ADDRESS ON FILE
CABRERO OCASIO, RAFAEL ANTONIO   ADDRESS ON FILE
CABRERO QUINONES, MARIA          ADDRESS ON FILE
Cabrero Ramos, Neftali           ADDRESS ON FILE
Cabrero Rios, Denis              ADDRESS ON FILE
CABRERO RIOS, HILARIO            ADDRESS ON FILE
CABRERO ROSARIO, ALFONSO         ADDRESS ON FILE
CABRERO RUIZ, JONATHAN           ADDRESS ON FILE
CABRERO SANTA, CYBEL             ADDRESS ON FILE
CABRERO SANTA, MARCOS            ADDRESS ON FILE
CABRERO SANTA, NICOLAS O         ADDRESS ON FILE
CABRET ADORNO, CAROLYN           ADDRESS ON FILE
CABRET CASTRO, LUIS              ADDRESS ON FILE
CABRET MELENDEZ, MERCEDES        ADDRESS ON FILE
Cabret Nazario, Josue            ADDRESS ON FILE
CABRET RAMOS MD, ROLDAN          ADDRESS ON FILE
CABRET RAMOS, ENRIQUE            ADDRESS ON FILE
CABRET RAMOS, JESUS R            ADDRESS ON FILE
CABRET RIOS, LUIS M              ADDRESS ON FILE
CABRET RIVERA, MAYRA             ADDRESS ON FILE
CABRET VAZQUEZ, JANINA           ADDRESS ON FILE
CABRETS DIAZ, LUZ                ADDRESS ON FILE
CABRIBBEAN TOOLS DISTRIBUTORS    AVE. ROOSEVELT 1131, PUERTO NUEVO                                                           SAN JUAN     PR      00920
CACAERES, VERONICA               ADDRESS ON FILE
CACERES ACEVEDO, BRENDA          ADDRESS ON FILE
CACERES ACOSTA, NANCY            ADDRESS ON FILE
Caceres Acosta, Rafael           ADDRESS ON FILE
CACERES ALAMO, DAMARIS           ADDRESS ON FILE
CACERES ALVAREZ, ARIEL           ADDRESS ON FILE
CACERES ALVAREZ, ERIC            ADDRESS ON FILE
CACERES ARISTUD, ELIZABETH       ADDRESS ON FILE
CACERES AYALA, ARACELIS          ADDRESS ON FILE
CACERES AYALA, PABLO             ADDRESS ON FILE
CACERES AYALA, PABLO             ADDRESS ON FILE
CACERES BARRIS, GISSELLE M.      ADDRESS ON FILE
CACERES BENITEZ, MARIBEL         ADDRESS ON FILE
CACERES BLAY, ARIEL              ADDRESS ON FILE
CACERES BURGOS, RAFAEL           ADDRESS ON FILE
CACERES CACERES, MIGUEL A        ADDRESS ON FILE
CACERES CACERES, NOEMI           ADDRESS ON FILE




                                                                                        Page 1048 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1049 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                          Address1                   Address2                         Address3        Address4   City         State   PostalCode   Country
CACERES CACERES, ROBERTO               ADDRESS ON FILE
CACERES CARDONA, CARMEN H              ADDRESS ON FILE
CACERES CARDONA, FRANCISCO             ADDRESS ON FILE
CACERES CARDONA, VERONICA              ADDRESS ON FILE
CACERES CARRASQUILLO, JARITZA          ADDRESS ON FILE
Caceres Centeno, Mariangeli            ADDRESS ON FILE
CACERES CENTERO, MARIANGELI            ADDRESS ON FILE
CACERES CHAPARRO, GLORIA N             ADDRESS ON FILE
CACERES CIMA, ZWINDA A                 ADDRESS ON FILE
CACERES CINTRON, CINTHIA T             ADDRESS ON FILE
CACERES CORTINA, MILENA                ADDRESS ON FILE
CACERES CRUZ, JOSUE R                  ADDRESS ON FILE
Caceres Cruz, Juan A                   ADDRESS ON FILE
CACERES CRUZ, LIVIA M                  ADDRESS ON FILE
CACERES CRUZ, MARIA                    ADDRESS ON FILE
CACERES CRUZ, NYDIA I.                 ADDRESS ON FILE
CACERES CRUZ, VIRGEN                   ADDRESS ON FILE
CACERES DE JESUS, JOSE LUIS            ADDRESS ON FILE
CACERES DELGADO MD, HECTOR L           ADDRESS ON FILE
Caceres Delgado, Denisse               ADDRESS ON FILE
Caceres Delgado, Diodarys              ADDRESS ON FILE
Caceres Delgado, Gregorio              ADDRESS ON FILE
CACERES DIAZ, ZORAIDA                  ADDRESS ON FILE
CACERES ESCOBAR, AIDA M                ADDRESS ON FILE
CACERES ESCOBAR, LUIS EDGARDO          ADDRESS ON FILE
CACERES FEBUS, GRISELLE                ADDRESS ON FILE
CACERES FELIX, ANGEL                   ADDRESS ON FILE
CACERES FERNANDEZ, ARSENIO             ADDRESS ON FILE
CACERES FONTANEZ, MARIA DE LOS         ADDRESS ON FILE
CACERES FONTE, BELKYS                  ADDRESS ON FILE
CACERES GARCIA, ALEJANDRA              ADDRESS ON FILE
CACERES GONZALEZ, JULIO                ADDRESS ON FILE
CACERES GONZALEZ, MARIAM               ADDRESS ON FILE
CACERES GUADALUOE, MITZA               ADDRESS ON FILE
CACERES GUZMAN, GERARDO                ADDRESS ON FILE
CACERES GUZMAN, VALERIE M              ADDRESS ON FILE
CACERES HERNANDEZ, ZOBEIDA J.          ADDRESS ON FILE
Caceres Jimenez, Juan                  ADDRESS ON FILE
CACERES JIMENEZ, VICTOR M.             ADDRESS ON FILE
CACERES LEBRON, CARMEN L               ADDRESS ON FILE
Caceres Lebron, Ismael                 ADDRESS ON FILE
CACERES LEBRON, MARIBEL                ADDRESS ON FILE
CACERES LUYANDO, LILLIAN E             ADDRESS ON FILE
CACERES LUYANDO, NELIDA                ADDRESS ON FILE
CACERES MALDONADO MIGUEL ANGEL‐ (CONSO JOSE FERNÁNDEZ ESTEVES     PO BOX 40631                                                SAN JUAN     PR      00940
CACERES MALDONADO MIGUEL ANGEL‐ (CONSO JUDITH BERKAN              G‐11                             CALLE O'NEILL              SAN JUAN     PR      00918‐2301
CACERES MANGUAL, ALODIA                ADDRESS ON FILE
CACERES MASSO, LYLANIE                 ADDRESS ON FILE
CACERES MD , EDGAR R                   ADDRESS ON FILE
Caceres Mendez, Beatriz                ADDRESS ON FILE
CACERES MENDEZ, JUAN                   ADDRESS ON FILE
Caceres Mendez, Juan A                 ADDRESS ON FILE
CACERES MIDENCE, JEANNETTE             ADDRESS ON FILE
CACERES MOJICA, DOROTHY C              ADDRESS ON FILE
CACERES MORALES, JOSE                  ADDRESS ON FILE
Caceres Morales, Jose A                ADDRESS ON FILE
CACERES MORALES, MILDRED               ADDRESS ON FILE
CACERES MORALES, NILSABEL              ADDRESS ON FILE
CACERES MUSKUS MD, JUAN                ADDRESS ON FILE
CACERES MUSKUS, JUAN                   ADDRESS ON FILE




                                                                                    Page 1049 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1050 of 3500
                                                                                17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                    Address1                  Address2                                       Address3            Address4   City        State   PostalCode   Country
CACERES ORTIZ MD, DOMINGO L      ADDRESS ON FILE
CACERES ORTIZ, DOMINGO           ADDRESS ON FILE
CACERES ORTIZ, NEYSA J           ADDRESS ON FILE
CACERES PABON, CYNTIA            ADDRESS ON FILE
CACERES PANTOJAS, HECTOR         ADDRESS ON FILE
CACERES PENA, CARLOS             ADDRESS ON FILE
CACERES PENA, CARLOS             ADDRESS ON FILE
CACERES PEREZ, DAVID             ADDRESS ON FILE
CACERES PEREZ, JAVIER            ADDRESS ON FILE
CACERES PEREZ, PABLO             ADDRESS ON FILE
CACERES PEREZ, PABLO             ADDRESS ON FILE
CACERES PIZARRO CARLOS           AARON FERNÁNDEZ FLORES    53 CALLE ESTEBAN PADILLA STE. 2                                               Bayamón     PR      00961
                                                                                                          BAYAMON 501 POBOX
CACERES PIZARRO CARLOS           CARLOS CACERES PIZARRO    INT. CORRECCIONAL                              607073 3‐L                     Bayamón     PR      00961
CACERES PIZARRO, CARLOS          CARLOS CACERES PIZARRO    POBOX 607073 3‐L,BAYAMON                                                      BAYAMON     PR      00961
CACERES PIZARRO, IVONNE          ADDRESS ON FILE
CACERES PLACERES, CORALIE        ADDRESS ON FILE
CACERES PLACERES, CORALIE        ADDRESS ON FILE
CACERES PLACERES, PEDRO          ADDRESS ON FILE
CACERES QUIJANO, CLARITZA E      ADDRESS ON FILE
CACERES QUIJANO, YOLANDA         ADDRESS ON FILE
CACERES QUIQONEZ, MARGARITA      ADDRESS ON FILE
CACERES RAMOS, IRIS N            ADDRESS ON FILE
CACERES RIVERA, CARLOS           ADDRESS ON FILE
CACERES RIVERA, CARMELO          ADDRESS ON FILE
CACERES RIVERA, EDWIN L          ADDRESS ON FILE
CACERES RIVERA, ELIZABETH        ADDRESS ON FILE
CACERES RIVERA, LUCIANO L        ADDRESS ON FILE
CACERES RIVERA, LYDIA E          ADDRESS ON FILE
CACERES RIVERA, RUTH D           ADDRESS ON FILE
CACERES RODRIGUES,MAYRA          ADDRESS ON FILE
CACERES RODRIGUEZ, JAVIER        ADDRESS ON FILE
CACERES RODRIGUEZ, JOSUE         ADDRESS ON FILE
CACERES RODRIGUEZ, MAITE         ADDRESS ON FILE
CACERES RODRIGUEZ, MELISSA       ADDRESS ON FILE
CACERES RODRIGUEZ, MELISSA       ADDRESS ON FILE
CACERES RUIZ, SERGIO             ADDRESS ON FILE
CACERES SALAS, SIGRID A          ADDRESS ON FILE
CACERES SANCHEZ, CARMEN M        ADDRESS ON FILE
CACERES SANCHEZ, DORIS E         ADDRESS ON FILE
CACERES SANCHEZ, JUANITA         ADDRESS ON FILE
CACERES SANTANA, ALEJANDRINA     ADDRESS ON FILE
CACERES SANTANA, BEATRIZ Y.      ADDRESS ON FILE
CACERES SANTIAGO, ALVIN          ADDRESS ON FILE
CACERES SANTIAGO, ALVIN MANUEL   ADDRESS ON FILE
CACERES SANTIAGO, ENIX YADIRA    ADDRESS ON FILE
CACERES SILVA, KIARA             ADDRESS ON FILE
CACERES SOLIS, RONNIE V.         ADDRESS ON FILE
CACERES TIRADO, LUZ S            ADDRESS ON FILE
CACERES TORRES, ALEX             ADDRESS ON FILE
Caceres Torres, Alex L           ADDRESS ON FILE
CACERES TORRES, FERDINAND        ADDRESS ON FILE
CACERES TORRES, JONATHAN         ADDRESS ON FILE
CACERES VALENCIA, PABLO          ADDRESS ON FILE
CACERES VALENTIN, CARLOS         ADDRESS ON FILE
CACERES VALENTIN, CARLOS         ADDRESS ON FILE
CACERES VALLE, LYMARIE           ADDRESS ON FILE
CACERES VARELA, LUIS             ADDRESS ON FILE
CACERES VAZQUEZ, AWILDA          ADDRESS ON FILE
CACERES VAZQUEZ, ISMAEL          ADDRESS ON FILE




                                                                                        Page 1050 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1051 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                         Address1                      Address2                                    Address3   Address4   City             State   PostalCode   Country
CACERES VAZQUEZ, LENY MARIE           ADDRESS ON FILE
CACERES VAZQUEZ, LYDIA                ADDRESS ON FILE
CACERES VELAZQUEZ, SHEYLA             ADDRESS ON FILE
CACERES VELEZ, JUAN                   ADDRESS ON FILE
CACERES VIERA, GUILLERMO              ADDRESS ON FILE
CACERES VIERA, JULIO                  ADDRESS ON FILE
CACERES VILLANUEVA, DIMARIE           ADDRESS ON FILE
CACERES VILLANUEVA, OLGA              ADDRESS ON FILE
Caceres Villanueva, Olga E.           ADDRESS ON FILE
CACERES VILORIO, JULIAN               ADDRESS ON FILE
CACERES, ALEJANDRA                    ADDRESS ON FILE
CACERES, ANGEL A.                     ADDRESS ON FILE
CACERES, CARLOS                       ADDRESS ON FILE
CÁCERES, DAMARIS                      FRANCISCO J. TORRES DÍAZ      PO BOX 874                                                        CAGUAS           PR      00726‐0874
CÁCERES, DAMARIS                      MARÍA TERESA PÉREZ TORRES     CALLE ELEONOR ROOSEVELT #130                                      SAN JUAN         PR      00918
CACERESRAMOS, MILDRE I                ADDRESS ON FILE
CACES COMPUTER SERVICES               PO BOX 3448                                                                                     MAYAGUEZ         PR      00681
CACHO ALMODOVAR, MIGUEL               ADDRESS ON FILE
CACHO ALMODOVAR, MONICA               ADDRESS ON FILE
CACHO ALVELO, JUAN C                  ADDRESS ON FILE
CACHO BETANCOURT, RAMON               ADDRESS ON FILE
CACHO BETANCOURT, RAMON J             ADDRESS ON FILE
CACHO BONNIN, DENISE M.               ADDRESS ON FILE
CACHO BRUNO, BLANCA I                 ADDRESS ON FILE
CACHO CACHO, JOSE A                   ADDRESS ON FILE
CACHO CACHO, JUANA D                  ADDRESS ON FILE
CACHO CORDERO, ISAAC                  ADDRESS ON FILE
CACHO MELENDEZ, MANUEL A.             ADDRESS ON FILE
CACHO MELENDEZ, WANDA I               ADDRESS ON FILE
CACHO MIRANDA, JOSE                   ADDRESS ON FILE
CACHO NATAL, BLANGUIBET               ADDRESS ON FILE
CACHO OLIVO, EDUARDO                  ADDRESS ON FILE
CACHO OLIVO, YARITZA                  ADDRESS ON FILE
CACHO PADRO, OSCAR                    ADDRESS ON FILE
CACHO RIVERA, GABRIEL A.              ADDRESS ON FILE
Cacho Rivera, Luis D.                 ADDRESS ON FILE
CACHO RODRIGUEZ, CARLOS E             ADDRESS ON FILE
CACHO ROSARIO, VERONICA C             ADDRESS ON FILE
Cacho Serrano, Carmen I               ADDRESS ON FILE
CACHOLA BURGOS, LUIS                  ADDRESS ON FILE
CACHOLA CORREA, BENITA                ADDRESS ON FILE
CACHOLA FIGUEROA, SUSANA              ADDRESS ON FILE
CACHOLA LEGUILLOW, MARIA DEL C        ADDRESS ON FILE
CACHOLA LEGUILLOW, VICTOR             ADDRESS ON FILE
CACHOLA ORTIZ, JAVIER                 ADDRESS ON FILE
CACHOLA TORRES, EDDIE                 ADDRESS ON FILE
CACIQUE BABY FOOD CENTER              5 AVE LUIS MUNOZ MARIN                                                                          OROCOVIS         PR      00720
CACIQUE SAFETY INSPECTORS CORP        HC 37 BOX 5004                                                                                  GUANICA          PR      00653
CACIQUE TRADING CORP                  1122 AVE JESUS T PINEIRO                                                                        PUERTO NUEVO     PR      00920
CACUMEN CRE                           THE VILLAGE AT THE HILL       #134                                                              CEIBA            PR      00735
CACUMEN CREATIVO                      THE VILLAGE AT THE HILL 134                                                                     CEIBA            PR      00735
CACUMEN CREATIVO,INC                  THE VILLAGE AT THE HILL #34                                                                     CEIBA            PR      00735
CAD CONTRACTORS INC                   PO BOX 726                                                                                      QUEBRADILLAS     PR      00678‐0726
CaDaLeSo                              P.O. Box 382                                                                                    Culebra          PR      00775
CADALZO RODRIGUEZ, EDUARDO            ADDRESS ON FILE
CADAVID RAMIREZ, LUZ A                ADDRESS ON FILE
CADBURY ADAMS                         ADDRESS ON FILE
CADD CAR WASH & DETAIL DISTRIBUTORS   VILLA NEVAREZ                 334 AVE AMERICO MIRANDA                                           SAN JUAN         PR      00927
CADD DATA INC                         URB GOLDEN GATE               A1 CALLE TOPACIO                                                  GUAYNABO         PR      00968‐3404
CADENA MERCADO, MILAGROS              ADDRESS ON FILE




                                                                                               Page 1051 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1052 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                      Address1                       Address2                                   Address3   Address4   City         State   PostalCode   Country
CADENA NEGRON, OMAR                ADDRESS ON FILE
CADENA SALSOUL                     P O BOX 487                                                                                     CAGUAS       PR      00726
CADENA SALSOUL / ARSO RADIO CORP   P O BOX 363222                                                                                  SAN JUAN     PR      00936
CADENA SALSOUL / ARSO RADIO CORP   P O BOX 487                                                                                     CAGUAS       PR      00726
CADENA SALSOUL / ARSO RADIO CORP   P O BOX 7213                                                                                    PONCE        PR      00716
CADENA WAPA RADIO                  134 AVE DOMENECH                                                                                SAN JUAN     PR      00918‐3502
CADENAS GRAUPERA, ALEJANDRO        ADDRESS ON FILE
CADENAS MORENO, NICOLAS            ADDRESS ON FILE
CADEP INC                          PO BOX 578                                                                                      MOCA         PR      00676
CADET CASTRO, MARGARITA            ADDRESS ON FILE
CADET ETIENE, MICHEL               ADDRESS ON FILE
CADILLA BAEZ, ROCIO H              ADDRESS ON FILE
CADILLA CANDELARIA, JULIANA        ADDRESS ON FILE
CADILLA COSTAS, ARMINDO            ADDRESS ON FILE
CADILLA SANTANA, ROSA              ADDRESS ON FILE
CADILLAC GROUP REALTY              PO BOX 1193                                                                                     BAYAMON      PR      00960
CADILLAC UNIFORMS AND LINEN SU     BOX 1893                                                                                        BAYAMON      PR      00619
CADILLO CHAVEZ MD, RONALD          ADDRESS ON FILE
CADIZ A MANZANO ALLENDE            ADDRESS ON FILE
CADIZ ARROYO, MIGUEL               ADDRESS ON FILE
CADIZ ARROYO, PEDRO                ADDRESS ON FILE
CADIZ AYALA, GEORGINNA             ADDRESS ON FILE
CADIZ BENITEZ, VIRGEN              ADDRESS ON FILE
CADIZ BLACKMAN, JULIANA            ADDRESS ON FILE
CADIZ BLACKMAN, JULIANA L          ADDRESS ON FILE
CADIZ COLON, JESSICA V             ADDRESS ON FILE
CADIZ CONCEPCION, MAYRA M          ADDRESS ON FILE
CADIZ DELGADO, LEMUEL A.           ADDRESS ON FILE
CADIZ DIAZ, SANDRA I               ADDRESS ON FILE
CADIZ FUENTES, CARLENE             ADDRESS ON FILE
CADIZ FUENTES, CARLENE             ADDRESS ON FILE
CADIZ GARCIA, CORALY               ADDRESS ON FILE
CADIZ GARCIA, GERARDO              ADDRESS ON FILE
CADIZ GARCIA, OSVALDO R            ADDRESS ON FILE
Cadiz Gomez, Jackelin              ADDRESS ON FILE
CÁDIZ GÓMEZ, JACKELIN              LCDO. MANUEL DURAN RODRIGUEZ   1139 AVE. AMÉRICO MIRANDA                                        SAN JUAN     PR      00921
CADIZ GONZALEZ, JOSE               ADDRESS ON FILE
CADIZ GRACIA, RAFAEL               ADDRESS ON FILE
CADIZ GUZMAN, JOSE M.              ADDRESS ON FILE
CADIZ INFANTE, IDALI               ADDRESS ON FILE
CADIZ LEBRON, LISANDRA             ADDRESS ON FILE
CADIZ MARTINEZ, DAIZABETH          ADDRESS ON FILE
CADIZ MARTINEZ, MICHAEL            ADDRESS ON FILE
CADIZ MEDINA, CARLOS R             ADDRESS ON FILE
CADIZ MEJIAS, EDDIMIL              ADDRESS ON FILE
CADIZ MORALES, DIONISIO            ADDRESS ON FILE
CADIZ NIEVES, JESELYN              ADDRESS ON FILE
CADIZ OCASIO, ZAIDA M              ADDRESS ON FILE
Cadiz Parrilla, Carlos L           ADDRESS ON FILE
CADIZ PARRILLA, VALENTINA          ADDRESS ON FILE
CADIZ PEREZ, GLADYS                ADDRESS ON FILE
CADIZ RAMOS, ANA M                 ADDRESS ON FILE
CADIZ RENTAS, CARMEN L             ADDRESS ON FILE
CADIZ RIVERA, BRENDA               ADDRESS ON FILE
CADIZ RIVERA, CARLA                ADDRESS ON FILE
CADIZ RODRIGUEZ, ABIGAIL           ADDRESS ON FILE
CADIZ RODRIGUEZ, ALEXIS            ADDRESS ON FILE
CADIZ RODRIGUEZ, MONICA            ADDRESS ON FILE
CADIZ ROJAS, EDNA M                ADDRESS ON FILE
CADIZ ROJAS, EVELYN                ADDRESS ON FILE




                                                                                              Page 1052 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1053 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                  Address2                                     Address3         Address4   City         State   PostalCode   Country
CADIZ ROSA, JOSE                        ADDRESS ON FILE
CADIZ TAPIA, JULIO A                    ADDRESS ON FILE
CADIZ VAZQUEZ, CARMEN R                 ADDRESS ON FILE
CADIZ VAZQUEZ, ELBA                     ADDRESS ON FILE
CADIZ VAZQUEZ, JESUS                    ADDRESS ON FILE
CADIZ VAZQUEZ, JESUS                    ADDRESS ON FILE
CADIZ VAZQUEZ, LIDUVINA                 ADDRESS ON FILE
CADIZ VAZQUEZ, MICHAEL                  ADDRESS ON FILE
CADIZ VAZQUEZ, MICHAEL                  ADDRESS ON FILE
CADIZ VAZQUEZ, WANDA I                  ADDRESS ON FILE
                                                                                                               1353 AVE. LUIS
CADIZ VAZQUEZ, WANDA I.                 YARLENE JIMENEZ ROSARIO   PMB‐133                                      VIGOREAUZ                   GUAYNABO     PR      00966‐2700
CADIZ VEGA, ROBERT                      ADDRESS ON FILE
CADIZ VELAZQUEZ, JULIO                  ADDRESS ON FILE
CADIZ VELAZQUEZ, JULIO                  ADDRESS ON FILE
CADIZLOPEZ, NORMA                       ADDRESS ON FILE
CADUF INC/CENTRO APOYO DESARROLLO DE LA UNION FAMILIAR INC        85 COND TORRE LINDA APT 502                                              SAN JUAN     PR      00917
CAESAR MD, HUGO                         ADDRESS ON FILE
CAEZ ., CARLOS J                        ADDRESS ON FILE
CAEZ ACEVEDO, ELIZABETH                 ADDRESS ON FILE
Caez Acevedo, Jose M                    ADDRESS ON FILE
CAEZ ACOSTA, HENRY                      ADDRESS ON FILE
CAEZ ALICEA, AUREA                      ADDRESS ON FILE
CAEZ ALICEA, JULIA                      ADDRESS ON FILE
CAEZ ALONSO, JOSE H.                    ADDRESS ON FILE
CAEZ ALONSO, JUAN                       ADDRESS ON FILE
CAEZ ALONZO, MIGUEL                     ADDRESS ON FILE
CAEZ BAEZ, LUIS                         ADDRESS ON FILE
CAEZ CARRASCO, CARMELO                  ADDRESS ON FILE
CAEZ CARRASCO, GLADYS E                 ADDRESS ON FILE
CAEZ CLAUDIO, CHRISTY M                 ADDRESS ON FILE
CAEZ DE JESUS, GLORIA I.                ADDRESS ON FILE
CAEZ DE JESUS, LUIS O.                  ADDRESS ON FILE
Caez Diaz, Suelen                       ADDRESS ON FILE
CAEZ ESTEVES, CLARA I                   ADDRESS ON FILE
Caez Esteves, Jose J.                   ADDRESS ON FILE
CAEZ FELIX, HERMINIO                    ADDRESS ON FILE
CAEZ FERMAINT, RICHARD                  ADDRESS ON FILE
CAEZ FERNANDEZ, EVELYN                  ADDRESS ON FILE
CAEZ FERNANDEZ, EVELYN                  ADDRESS ON FILE
CAEZ FIGUEROA, CAREN                    ADDRESS ON FILE
CAEZ GARCIA, ROSA M                     ADDRESS ON FILE
CAEZ GOMEZ, SAMUEL                      ADDRESS ON FILE
CAEZ GONZALEZ, MARIA S                  ADDRESS ON FILE
CAEZ HERNANDEZ, HECTOR                  ADDRESS ON FILE
CAEZ HERNANDEZ, LUZ                     ADDRESS ON FILE
                                                                                                               1353 AVE. LUIS
CAEZ HERNANDEZ, LUZ DAMARIS             YARLENE JIMENEZ ROSARIO   PMB‐133                                      VIGOREAUZ                   GUAYNABO     PR      00966‐2700
CAEZ LAMBOY, SUSSIE                     ADDRESS ON FILE
CAEZ LARA, GEMANUEL                     ADDRESS ON FILE
CAEZ LOPEZ, LUISA                       ADDRESS ON FILE
CAEZ LOPEZ, RAQUEL                      ADDRESS ON FILE
CAEZ LOPEZ, SOCORRO                     ADDRESS ON FILE
CAEZ MARCANO, ELIDES                    ADDRESS ON FILE
CAEZ MARIN, INEIZA                      ADDRESS ON FILE
Caez Mercado, Francisco                 ADDRESS ON FILE
CAEZ MERCADO, JAVIER                    ADDRESS ON FILE
CAEZ MORALES, SAMUEL                    ADDRESS ON FILE
CAEZ PEDRAZA, LUIS                      ADDRESS ON FILE
CAEZ PIMENTEL, JUAN                     ADDRESS ON FILE




                                                                                                Page 1053 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1054 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                            Address1                                  Address2                                     Address3   Address4   City              State   PostalCode   Country
CAEZ QUINONEZ, JONATHAN                  ADDRESS ON FILE
CAEZ REFRIGERATION & AIR                 PO BOX 4952                               MSC 511                                                            CAGUAS            PR      00726‐4952
CAEZ REYES, KAREN                        ADDRESS ON FILE
Caez Rivas, Wilma E.                     ADDRESS ON FILE
CAEZ RIVERA, AGUSTNA                     ADDRESS ON FILE
CAEZ RIVERA, SARA                        ADDRESS ON FILE
CAEZ RODRIGUEZ, CARMEN S                 ADDRESS ON FILE
CAEZ RODRIGUEZ, JOSE A                   ADDRESS ON FILE
CAEZ RODRIGUEZ, MARIA DEL C              ADDRESS ON FILE
CAEZ ROSA, DENNIS                        ADDRESS ON FILE
CAEZ ROSA, DIEGO J                       ADDRESS ON FILE
CAEZ ROSARIO, WANDA E.                   ADDRESS ON FILE
CAEZ RUIZ, YARITZA                       ADDRESS ON FILE
CAEZ SANTANA, DOLORES                    ADDRESS ON FILE
CAEZ SANTANA, HIPOLITO                   ADDRESS ON FILE
CAEZ SANTANA, NELLY N.                   ADDRESS ON FILE
CAEZ SANTOS, BIENVENIDO                  ADDRESS ON FILE
CAEZ SERRANO, CALIXTA C                  ADDRESS ON FILE
CAEZ SIERRA, MANUEL                      ADDRESS ON FILE
CAEZ SIERRA, PEDRO C                     ADDRESS ON FILE
CAEZ TORRES, JANETTE                     ADDRESS ON FILE
CAEZ TORRES, JOSE                        ADDRESS ON FILE
CAEZ TORRES, KEILA                       ADDRESS ON FILE
CAEZ TORRES, LUIS                        ADDRESS ON FILE
CAEZ VELAZQUEZ, ROSA D                   ADDRESS ON FILE
CAEZ VELEZ, FELIPE                       ADDRESS ON FILE
CAEZ VELEZ, GELANIE                      ADDRESS ON FILE
CAFARELLI CINQUEGRANA, PAOLO             ADDRESS ON FILE
CAFE LA PLAGE MANAGEMENT INC             4851 AVE ISLA VERDE                                                                                          CAROLINA          PR      00979
CAFE LA PLAGE MANAGEMENT INC             4851 ISLA VERDE AVENUE                                                                                       CAROLINA          PR      00979
CAFE LA PLAGE MANAGMENT INC              4851 AVE ISLA VERDE                                                                                          CAROLINA          PR      00979
CAFE MANOLIN OLD SAN JUAN INC            251 CALLE SAN JUSTO                                                                                          SAN JUAN          PR      00901‐1913
CAFE MANOLIN OLD SAN JUAN INC            AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
CAFE OLE LLC                             B5 CALLE TABONUCO                         SUITE 216 PMB 310                                                  GUAYNABO          PR      00968‐3029
CAFE ORO DE PUERTO RICO INC              P O BOX 1128                                                                                                 SLARES            PR      00669
CAFE PLAZA                               EDF UNION PLAZA                           416 PONCE DE LEON                                                  HATO REY          PR      00949
CAFE PLAZA / JULIO CALCANO               PO BOX 444                                                                                                   HUMACAO           PR      00792
CAFE VALENCIA                            1000 AVE MUNOZ RIVERA                                                                                        SAN JUAN          PR      00927
CAFE YAUCONO                             PO BOX 13097                                                                                                 SAN JUAN          PR      00908‐3097
CAFERINO SOLIS NAVARRO                   ADDRESS ON FILE
CAFETERIA 416                            EDIFICIO UNION PLAZA                      416 AVE PONCE DE LEON                                              SAN JUAN          PR      00926
CAFETERIA ANGELO KID CORP                PO BOX 1804                                                                                                  SAN SEBASTIAN     PR      00685
CAFETERIA BONET                          138 CALLE CORCHADO                                                                                           ISABELA           PR      00662
CAFETERIA BONET                          CALLE CORCHADO #138                                                                                          ISABELA           PR      00662
CAFETERIA BONILLA DAVILA                 #59 CALLE PADIAL                                                                                             AIBONITO          PR      00705
CAFETERIA COL UNIV HUMACAO               40 CARLOS E SUAREZ                        APARTADO 10222                                                     HUMACAO           PR      00661
CAFETERIA COOPELIA                       1058 AVE MUNOZ RIVERA                                                                                        SAN JUAN          PR      00922‐0153
CAFETERIA COOPERATIVA CONSOLIDATED CIGAR PO BOX 373100                                                                                                CAYEY             PR      00737‐3100
CAFETERIA D KAHLO                        EDIFICIO COMERCIAL                        BANCO SANTANDER PISO 1 CARR 2                                      BAYAMON           PR      00959
CAFETERIA DEL ESTE S & M VILLA           3 AVE LAGUNA APT 8 L                                                                                         CAROLINA          PR      00979
CAFETERIA EL PADRINO                     1269 CALLE CELDENO                                                                                           SAN JUAN          PR      00920
CAFETERIA EL PARQUE INC                  URB SAN ANTONIO                           M‐18 CALLE 4                                                       CAGUAS            PR      00725
CAFETERIA EL UNIVERSITARIO               PO BOX 142                                                                                                   GUAYAMA           PR      00785
CAFETERIA INDUSTRIAL / MMT FOOD SERVICES RR 717005                                                                                                    TOA ALTA          PR      00953
CAFETERIA INDUSTRIAL INC                 RR 7 BOX 17005                                                                                               TOA BAJA          PR      00953
CAFETERIA JANAI                          CALLE 6 F‐10 PARQUE DE TORRIMAR                                                                              BAYAMON           PR      00956
CAFETERIA MASAI INC                      CALLE 6 F‐10 PARQUE DE TORRIMAR                                                                              BAYAMON           PR      00959
CAFETERIA MERCANTIL                      GF‐101 AVE PONCE DE LEON EDIF MERCANTIL PLAZA                                                                HATO REY          PR      00918
CAFETERIA MI CASA                        PLAZA MOLIENDA HACIENDA SAN JOSE          8 SANJUANERA                                                       CAGUAS            PR      00727
CAFETERIA MI CASA                        SANJUANERA #8 HACIENDA SAN JOSE                                                                              CAGUAS            PR      00727




                                                                                                              Page 1054 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1055 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                             Address1                             Address2                                  Address3          Address4    City              State   PostalCode   Country
CAFETERIA PEPE                            PO BOX 20522                                                                                                 SAN JUAN          PR      00928
CAFETERIA REHABILITACION VOCACIONAL Y/O   CALLE 12 DE OCTUBRE NUM. 30                                                                                  PONCE             PR      00731
CAFETERIA VALENCIA                        73 CALLE BALBOA                                                                                              MAYAGUEZ          PR      00680
CAFETERIA VICTOR                          112 PASEO COVADONGA                  PUERTA DE TIERRA                                                        SAN JUAN          PR      00902
CAFETERIA Y RESTAURANTE PAPO              HC 03 BOX 13799                                                                                              COROZAL           PR      00953
CAFETEROS BASEBALL CLUB INC               P O BOX 1440                                                                                                 YAUCO             PR      00698‐1440
CAFFARATE COUTINHO, MARCELO               ADDRESS ON FILE
CAFFE EL RECREO                           PO BOX 12331                                                                                                 SAN JUAN          PR      00914
CAFI CULTURA PUERTORRIQUENA               P.O. BOX 327                                                                                                 SABANA GRANDE     PR      00637
CAFI CULTURA PUERTORRIQUENA INC           PO BOX 327                                                                                                   SABANA GRANDE     PR      00637‐0327
CAFIERO BAEZ, NANCY                       ADDRESS ON FILE
CAFIERO BAEZ, NANCY                       ADDRESS ON FILE
CAFOUROS DIAZ, JEANNETTE                  ADDRESS ON FILE
CAFTA GROUP INC                           13‐5 CALLE TABONUCO INC              SUITE 216 PMB 202                                                       GUAYNABO          PR      00968
CAGUAS APPLIANCE                          PO BOX 7731                                                                                                  CAGUAS            PR      00726
CAGUAS AUTO GROUP                         P O BOX 30537                                                                                                SAN JUAN          PR      00929
CAGUAS CENTRAL COLLEGE                    PO BOX 6768                                                                                                  CAGUAS            PR      00726
CAGUAS COOP                               P O BOX 1252                                                                                                 CAGUAS            PR      00726‐1252
CAGUAS COPY EQUIPMENT INC                 URB CAGUAS NORTE                     F1 CALLE FLORENCIA                                                      CAGUAS            PR      00725
CAGUAS COURTARD HOUSING LIM               URB ALTO APOLO                       2116 CALLE TURQUESA                                                     GUAYNABO          PR      00969
CAGUAS EMERGENCY RESPOND INC              URB BUNKER                           1‐A CALLE PANAMA                                                        CAGUAS            PR      00725
CAGUAS EMERGENCY RESPOND, INC.            C/ PANAMA 1‐A INTERIOR URB. BUNKER                                                                           CAGUAS            PR      00725
                                                                                                                         1007 AVE. MUÑOZ
CAGUAS EXPRESSWAY MOTOR                CARLOS I. DÍAZ DÍAZ                     EDIF. DARLINGTON                          RIVERA            SUITE 905   SAN JUAN          PR      00925
CAGUAS EXPRESSWAY MOTORS               P O BOX 5879                                                                                                    CAGUAS            PR      00726
CAGUAS EXPRESSWAY MOTORS INC           PO BOX 364189                           C/O FORD MOTOR CREDIT CO                                                SAN JUAN          PR      00936‐4189
CAGUAS EXPRESSWAY MOTORS INC           PO BOX 5879                                                                                                     CAGUAS            PR      00725
CAGUAS INDUSTRIAL TOOLS                BONNEVILLE HEIGHTS                      43 CALLE AGUAS BUENAS                                                   CAGUAS            PR      00725
CAGUAS LUMBER YARD /HNC EMPRESAS MASSO 308 CALLE VILLA                                                                                                 PONCE             PR      00731
CAGUAS LUMBER YARD /HNC EMPRESAS MASSO A 12 URB MONTELLANO                                                                                             CAYEY             PR      00737
CAGUAS LUMBER YARD /HNC EMPRESAS MASSO PO BOX 217                                                                                                      PONCE             PR      00734
CAGUAS LUMBER YARD /HNC EMPRESAS MASSO PO BOX 446                                                                                                      CAGUAS            PR      00726
CAGUAS LUMBER YARD/ HNC EMPRESAS MASSO PO BOX 446                              AVE RAFAEL CORDERO                                                      CAGUAS            PR      00725‐0000
CAGUAS ORTHOPEDIC CENTER , INC.        CALLE 11 FF4 4TA. VILLA DEL REY                                                                                 CAGUAS            PR      00727‐0000
CAGUAS ORTHOPEDIC CENTER INC           4TA SECC VILLA DEL REY                  FF 4 CALLE 11                                                           CAGUAS            PR      00725
CAGUAS ORTHOPEDIC CENTER INC           VILLA DEL REY 4                         FF4 CALLE 11                                                            CAGUAS            PR      00727‐6827
CAGUAS SP / VICTOR DE JESUS            P O BOX 7139                                                                                                    CAGUAS            PR      00726
CAGUAS UNIFORMS INC                    PO BOX 434                                                                                                      CAGUAS            PR      00726
CAGUAS UNIFORMS INC                    ZONA INDUSTRIAL VILLA BLANCA            EDIFICIO 6 BOX 434                                                      CAGUAS            PR      00726
CAGUAX BILINGUAL SCHOOL INC            C/ SANTA CECILIA B‐1                    URB SANTA ELVIRA                                                        CAGUAS            PR      00725
CAGUAX BILINGUAL SCHOOL INC            PO BOX 9024275                                                                                                  SAN JUAN          PR      00902‐4275
CAGUAX SUPER GULF SERVICE STATION      URB CAGUAX                              C 1 AVE LUIS MUNOZ MARIN                                                CAGUAS            PR      00725
Caguias Garcia, Felix J                ADDRESS ON FILE
CAH SERVICIOS VETERINARIOS CSP         PO BOX 101                                                                                                      CANOVANAS         PR      00729
CAHINEE ROSARIO MEDINA FERNANDEZ       CAPARRA HEIGHTS                         360 CALLE ESCOCIA                                                       SAN JUAN          PR      00920
CAICEDA ACANTILADO MD, DAVID           ADDRESS ON FILE
CAICEDO BENET, ALEJANDRO               ADDRESS ON FILE
CAICEDO ECHEVARRIA, JOSEPH             ADDRESS ON FILE
CAICEDO ECHEVERRY, LILIANA             ADDRESS ON FILE
CAICEDO FUENTES, CLAUDIA               ADDRESS ON FILE
CAICEDO SALAS, VICTORIA                ADDRESS ON FILE
CAICEDO VARELA, JAIME                  ADDRESS ON FILE
CAICEDO VELANDIA, JAIME                ADDRESS ON FILE
CAICEDO YUSTI, GUILLERMO               ADDRESS ON FILE
CAICEDO YUSTI, JORGE                   ADDRESS ON FILE
CAICO Y BANCO BILBAO VIZCAYA           LCDO. LUIS RIVERA MARTINEZ              RR17 BOX 11358                                                          SAN JUAN          PR      00926‐9499
CAICOYA ORTIZ, LOURDES I               ADDRESS ON FILE
CAIEM                                  P O BOX 745                             493 SECT MARIANI                                                        MAUNABO           PR      00707
CAIMITO INV INC                        PO BOX 35                                                                                                       GUAYNABO          PR      00970‐0035
CAIN ORTIZ COLLAZO                     ADDRESS ON FILE




                                                                                                          Page 1055 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1056 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
CAINS COLON, FERNANDO             ADDRESS ON FILE
Cains Cruz, Uriel E               ADDRESS ON FILE
CAINS REY, JOSE                   ADDRESS ON FILE
CAINS RIOS, SARAH H               ADDRESS ON FILE
Cains Rios, Sarah H               ADDRESS ON FILE
CAINS SERRANO, URIEL              ADDRESS ON FILE
CAIRA L BERLY RIVERA              ADDRESS ON FILE
CAIRNSTONE INC                    PO BOX 7543                                                                      CUMBERLAND     RI      02864
CAIRO CEDENO, JO ANN              ADDRESS ON FILE
CAIRO CEDENO, JO ANN              ADDRESS ON FILE
CAIRO CEDENO, JO ANN R            ADDRESS ON FILE
CAIROL FARINAS, MARLENA           ADDRESS ON FILE
CAIZTAYENA MORALES, JOSE          ADDRESS ON FILE
CAJIGA BARRETO, ELENA             ADDRESS ON FILE
CAJIGA CRUZ, EUGENIA              ADDRESS ON FILE
CAJIGA NIEVES, HECTOR             ADDRESS ON FILE
CAJIGA VALES, LUIS                ADDRESS ON FILE
CAJIGAS ARCE, CARLOS              ADDRESS ON FILE
CAJIGAS AVILES, ESLI              ADDRESS ON FILE
CAJIGAS AYALA, MARYCELIS          ADDRESS ON FILE
CAJIGAS AYALA, MARYCELIS          ADDRESS ON FILE
CAJIGAS BARRETO, MARIA G          ADDRESS ON FILE
CAJIGAS BOSQUES, ELSA A           ADDRESS ON FILE
CAJIGAS CABAN, MARIA DE L         ADDRESS ON FILE
CAJIGAS CAJIGAS, MIRIAM           ADDRESS ON FILE
CAJIGAS CAMPBELL, RAIZA L         ADDRESS ON FILE
CAJIGAS CARDONA, SUHEIL M         ADDRESS ON FILE
CAJIGAS CARTAGENA, ELIZABETH      ADDRESS ON FILE
CAJIGAS CEDENO, JAMES             ADDRESS ON FILE
CAJIGAS CHAPARRO, FREDDIE A       ADDRESS ON FILE
CAJIGAS CHAPARRO, FREDDIE A       ADDRESS ON FILE
Cajigas Chaparro, Jorge           ADDRESS ON FILE
CAJIGAS CORTES, CARLOS A          ADDRESS ON FILE
CAJIGAS CORTIJO, ROBERTO CARLOS   ADDRESS ON FILE
CAJIGAS CRESPO, CARLOS            ADDRESS ON FILE
CAJIGAS CRESPO, JOSE H            ADDRESS ON FILE
CAJIGAS ECHEVARRIA, ANA           ADDRESS ON FILE
CAJIGAS FELICIANO, WILFREDO       ADDRESS ON FILE
CAJIGAS FERRER, KATIRIA           ADDRESS ON FILE
Cajigas Franqui, Arcadio          ADDRESS ON FILE
CAJIGAS FRANQUI, ELENA            ADDRESS ON FILE
CAJIGAS FRANQUI, HIRAM            ADDRESS ON FILE
Cajigas Franqui, Israel A         ADDRESS ON FILE
CAJIGAS GONZALEZ, ENRIQUE         ADDRESS ON FILE
CAJIGAS IRIZARRY, EDITH C         ADDRESS ON FILE
CAJIGAS JIMENEZ, JOSE             ADDRESS ON FILE
CAJIGAS JIMENEZ, JULIO            ADDRESS ON FILE
CAJIGAS JIMENEZ, LUIS             ADDRESS ON FILE
CAJIGAS JUARBE, CARLOS            ADDRESS ON FILE
CAJIGAS JUARBE, CARLOS            ADDRESS ON FILE
CAJIGAS LOPEZ, BAUDILIO           ADDRESS ON FILE
CAJIGAS LORENZO, BERNARDINA       ADDRESS ON FILE
CAJIGAS LORENZO, JANET D          ADDRESS ON FILE
CAJIGAS LOYOLA, STEPHANIE         ADDRESS ON FILE
CAJIGAS MARTINEZ, FRANCISCO       ADDRESS ON FILE
CAJIGAS MARTINEZ, JOEL            ADDRESS ON FILE
CAJIGAS MATIAS, MARIA             ADDRESS ON FILE
CAJIGAS MEDINA, JOAN I            ADDRESS ON FILE
CAJIGAS MEDINA, MADELYNE          ADDRESS ON FILE
CAJIGAS MEDINA, MADELYNE          ADDRESS ON FILE




                                                                              Page 1056 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1057 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                       Address1                       Address2                         Address3   Address4   City         State   PostalCode   Country
CAJIGAS MENDOZA, LILLIAN            ADDRESS ON FILE
CAJIGAS MONTALVO, KEVIN J           ADDRESS ON FILE
CAJIGAS MORALES, LUIS D             ADDRESS ON FILE
CAJIGAS NIEVES, HECTOR M            ADDRESS ON FILE
CAJIGAS OLAVARRIA, MILDRED M        ADDRESS ON FILE
CAJIGAS RAMOS, ANTONIO              ADDRESS ON FILE
CAJIGAS RAMOS, JANETH               ADDRESS ON FILE
CAJIGAS RAMOS, ROSA M               ADDRESS ON FILE
CAJIGAS RAMOS, VICENTE              ADDRESS ON FILE
CAJIGAS RIOS, IRIS D                ADDRESS ON FILE
CAJIGAS RIOS, JOSE                  ADDRESS ON FILE
CAJIGAS RODRIGUEZ, ISRAEL           ADDRESS ON FILE
CAJIGAS RODRIGUEZ, PATRICIA         ADDRESS ON FILE
CAJIGAS RODRIGUEZ, SANDRA I.        ADDRESS ON FILE
CAJIGAS ROMAN, JAMES                ADDRESS ON FILE
CAJIGAS ROMAN, JAREL                ADDRESS ON FILE
CAJIGAS ROSARIO, DORIS A.           ADDRESS ON FILE
CAJIGAS RUIZ, BRENDA LIZ            ADDRESS ON FILE
CAJIGAS SALINAS, GLORIA             ADDRESS ON FILE
CAJIGAS SANCHEZ, MARIA              ADDRESS ON FILE
CAJIGAS SANTANA, BRUCE              ADDRESS ON FILE
CAJIGAS SANTIAGO, EDILBERTO         ADDRESS ON FILE
CAJIGAS SANTIAGO, EDILBERTO         ADDRESS ON FILE
CAJIGAS SANTIAGO, EMMANUEL          ADDRESS ON FILE
CAJIGAS SANTIAGO, SANDRA            ADDRESS ON FILE
CAJIGAS SANTIAGO, SANDRA            ADDRESS ON FILE
CAJIGAS TOLEDO, AMARILIS            ADDRESS ON FILE
CAJIGAS VANSTEENBURG, MARCUS        ADDRESS ON FILE
CAJIGAS VAZQUEZ, JORGE I            ADDRESS ON FILE
CAJIGAS VAZQUEZ, JOSE               ADDRESS ON FILE
CAJIGAS VAZQUEZ, PAOLA D            ADDRESS ON FILE
CAJIGAS VEGA, JAIDITH               ADDRESS ON FILE
CAJIGAS VEGA, JOSE H                ADDRESS ON FILE
CAJIGAS VEGA, YASHIRA M             ADDRESS ON FILE
CAJIGAS VELAZQUEZ, CLAUDIO          ADDRESS ON FILE
CAJIGAS VILLANUEVA, CESAR           ADDRESS ON FILE
CAJIGAS VILLANUEVA, IRIS            ADDRESS ON FILE
CAJIGAS VILLANUEVA, MARY            ADDRESS ON FILE
CAJIGAS VILLANUEVA, SONIA           ADDRESS ON FILE
CAJIGAS VILLANUEVA,CESAR J.         ADDRESS ON FILE
CAJIGAS, MARIA DE LOS               ADDRESS ON FILE
CAJIGAS, NORMA E                    ADDRESS ON FILE
CAJINA DIAZ, ROLANDO                ADDRESS ON FILE
CAL AUDIO VISUAL PRODUCTIONS INC    JARDINES METROPOLITANO         973 CALLE VOLTA                                        SAN JUAN     PR      00927‐4717
CAL AUDIO VISUAL PRODUCTIONS,INC.   URB. JARDINES METROPOLITANOS   973 CALLE VOLTA                                        SAN JUAN     PR      00927‐4717
CAL CHECK                           11600 BLACK HORSE RUM                                                                 RALEIGH      NC      27613
CAL CHECK LLC                       11600 BLACK HORSE RUM                                                                 RALEIGH      NC      27613
CALAF CORDERO, LUIS R               ADDRESS ON FILE
CALAF GARCIA, CARLOS                ADDRESS ON FILE
CALAF RIVERA, JESUS                 ADDRESS ON FILE
CALAFELL MENENDEZ, ANTONIO          ADDRESS ON FILE
CALAFELL MENENDEZ, ANTONIO F        ADDRESS ON FILE
CALAFELL MENENDEZ, IBELDA           ADDRESS ON FILE
CALAFF MORALES, NELSON              ADDRESS ON FILE
CALAHORRANO REVELO, MARIA           ADDRESS ON FILE
CALAHORRANO REVELO, MARIA F         ADDRESS ON FILE
CALANCHA FIGUERAS, JAVIER           ADDRESS ON FILE
CALBETO IRIARTE, JOSE               ADDRESS ON FILE
CALBETO VAILLANT, EDUARDO           ADDRESS ON FILE
CALBETO VAILLANT, MARIA             ADDRESS ON FILE




                                                                                     Page 1057 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1058 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALCADOR DIAZ, CARLOS J.       ADDRESS ON FILE
CALCADOR RIVERA, NILFA         ADDRESS ON FILE
CALCAGNO SALETA, LOURDES       ADDRESS ON FILE
CALCANA RODRIGUEZ, FERLIAN M   ADDRESS ON FILE
CALCANO ADAMES, LUIS           ADDRESS ON FILE
CALCANO ALLENDE, CARMEN        ADDRESS ON FILE
CALCANO ARROYO, ADOLFO         ADDRESS ON FILE
CALCANO AYALA, LUZ D           ADDRESS ON FILE
CALCANO AYALA, LUZ D.          ADDRESS ON FILE
CALCANO CASANOVA, JUAN         ADDRESS ON FILE
CALCANO CASTRO, JOSE           ADDRESS ON FILE
CALCANO CLAUDIO, BLANCA        ADDRESS ON FILE
CALCANO CLAUDIO, CRISTELA      ADDRESS ON FILE
CALCANO CLAUDIO, CRISTELA      ADDRESS ON FILE
CALCANO CRUZ, ERIC J           ADDRESS ON FILE
CALCANO CRUZ, ERIKA A          ADDRESS ON FILE
CALCANO DE JESUS, CARHER B.    ADDRESS ON FILE
CALCANO DE JESUS, GLORILIX     ADDRESS ON FILE
CALCANO DE JESUS, JUAN M       ADDRESS ON FILE
CALCANO DE JESUS, MARISA       ADDRESS ON FILE
CALCANO FELIX, MYRIAM          ADDRESS ON FILE
CALCANO FIGUEROA, JESUS        ADDRESS ON FILE
CALCANO FUENTES, JUAN C.       ADDRESS ON FILE
CALCANO FUENTES, LUIS          ADDRESS ON FILE
CALCANO GONZALEZ, SAMUEL       ADDRESS ON FILE
CALCANO GUZMAN, IVONNE         ADDRESS ON FILE
CALCANO LIND, JOHNY            ADDRESS ON FILE
CALCANO LOPEZ, ERIC            ADDRESS ON FILE
CALCANO LOPEZ, JAVIER E        ADDRESS ON FILE
CALCANO LOPEZ, NELSON          ADDRESS ON FILE
CALCANO LOPEZ, RAFAEL A        ADDRESS ON FILE
CALCANO LOPEZ, RAUL E          ADDRESS ON FILE
CALCAÑO LOPEZ, RAUL E          ADDRESS ON FILE
CALCANO MALDONADO, ARIEL       ADDRESS ON FILE
CALCANO MALDONADO, MARIA D     ADDRESS ON FILE
CALCANO MALDONADO, NEFTALI     ADDRESS ON FILE
CALCANO MATOS, LESLIE A.       ADDRESS ON FILE
CALCANO MELENDEZ, SAMUEL       ADDRESS ON FILE
CALCANO NIEVES, ANNIA E        ADDRESS ON FILE
CALCANO NIEVES, KARLA C        ADDRESS ON FILE
CALCANO NIEVES, KAYRA          ADDRESS ON FILE
CALCANO ORTEGA, SARA           ADDRESS ON FILE
CALCANO ORTIZ, ELVIN           ADDRESS ON FILE
CALCAÑO PEREZ MD, JULIO A      ADDRESS ON FILE
CALCANO PINTO, JOSE            ADDRESS ON FILE
CALCANO PIZARRO, CARMELO       ADDRESS ON FILE
CALCANO PIZARRO, FLORENTINO    ADDRESS ON FILE
CALCANO RIOS, LUZ M            ADDRESS ON FILE
CALCANO RIVERA, AUREA          ADDRESS ON FILE
CALCANO RIVERA, AUREA E        ADDRESS ON FILE
CALCANO RIVERA, CARMELO        ADDRESS ON FILE
CALCANO RIVERA, IVETTE         ADDRESS ON FILE
CALCANO RIVERA, ROSA J         ADDRESS ON FILE
CALCANO RODRIGUEZ, NANNETTE    ADDRESS ON FILE
CALCANO ROLON, JOSE M          ADDRESS ON FILE
CALCANO, STEVEN                ADDRESS ON FILE
CALCANO, STEVEN                ADDRESS ON FILE
CALCAQO CASANOVA, TERESA       ADDRESS ON FILE
CALCAQO VELAZQUEZ, DAYMA       ADDRESS ON FILE
CALCERRADA CARDE, NILDA I      ADDRESS ON FILE




                                                                           Page 1058 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1059 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALCERRADA DELGADO, MARIA A    ADDRESS ON FILE
CALCERRADA MENDEZ, ADA I       ADDRESS ON FILE
Calcerrada Rios, Ricardo       ADDRESS ON FILE
CALCORZI DE TORRES, JEANETTE   ADDRESS ON FILE
CALDARI MELENDEZ, VANESSA      ADDRESS ON FILE
CALDAS DIAZ, WANDA R.          ADDRESS ON FILE
CALDAS HERNANDEZ, RAMON        ADDRESS ON FILE
CALDAS POLANCO, WANDA          ADDRESS ON FILE
CALDAS ROMAN, CARMEN E         ADDRESS ON FILE
CALDELARIO LUGO, JOHN W        ADDRESS ON FILE
CALDER ACOSTA, CYNDIE          ADDRESS ON FILE
CALDER ACOSTA, WILLIAM         ADDRESS ON FILE
CALDER BRACERO, CARMEN         ADDRESS ON FILE
CALDER CAPELLA MD, PEDRO A     ADDRESS ON FILE
CALDER LUGO, ENID M.           ADDRESS ON FILE
CALDER MARTINEZ, BRANDON       ADDRESS ON FILE
CALDER MARTINEZ, MILAGROS      ADDRESS ON FILE
CALDER ORTIZ, KATHERINE        ADDRESS ON FILE
CALDER ORTIZ, SOL E            ADDRESS ON FILE
CALDERA ALVARADO, OIKNELLY     ADDRESS ON FILE
CALDERA COLLAZO, SATURNINO     ADDRESS ON FILE
CALDERA COLON, JONATHAN        ADDRESS ON FILE
CALDERA DEL VALLE, AITZA       ADDRESS ON FILE
CALDERA GOMEZ, LUIS F.         ADDRESS ON FILE
CALDERA ORTIZ, AGUSTIN         ADDRESS ON FILE
CALDERA ORTIZ, LUIS ALBERTO    ADDRESS ON FILE
Caldera Rivera, Agustin        ADDRESS ON FILE
CALDERA RIVERA, VANESSA        ADDRESS ON FILE
CALDERA RODRIGUEZ, CARME       ADDRESS ON FILE
CALDERA ROSADO, MILLY          ADDRESS ON FILE
CALDERA ROSARIO, CARMEN        ADDRESS ON FILE
CALDERAS DEL RIO, ALEXANDER    ADDRESS ON FILE
CALDERAS DEL RIO, JOSE         ADDRESS ON FILE
CALDERAS DEL RIO, LUIS         ADDRESS ON FILE
CALDERAS MERCADO, JOSE         ADDRESS ON FILE
CALDERAS MORALES, OMAR D.      ADDRESS ON FILE
CALDERAS RIOS, FRANCISCA       ADDRESS ON FILE
CALDERAS RIOS, IRIS N          ADDRESS ON FILE
CALDERAS RIOS, IRIS N.         ADDRESS ON FILE
CALDERAS RIOS, MARISOL         ADDRESS ON FILE
CALDERAS ROSADO, HECTOR        ADDRESS ON FILE
CALDERAS ROSADO, NYDIA         ADDRESS ON FILE
CALDERAS ROSADO, WALTER        ADDRESS ON FILE
CALDERAS ROSARIO, NELSON E     ADDRESS ON FILE
CALDEREON RIVERA, JOEL         ADDRESS ON FILE
CALDERIN ARROYO, LISSETTE      ADDRESS ON FILE
CALDERIN DELGADO, LIZBETH      ADDRESS ON FILE
CALDERIN GARCIA, MARIA         ADDRESS ON FILE
CALDERIN LABOY, IVELISSE       ADDRESS ON FILE
CALDERIN LOPEZ, SONIA I        ADDRESS ON FILE
CALDERIN MARTINEZ, LYMARIE     ADDRESS ON FILE
CALDERIN MEDINA, YARILIS       ADDRESS ON FILE
CALDERIN MESONERO, LILLIAN     ADDRESS ON FILE
CALDERIN ORTEGA, CARLOS        ADDRESS ON FILE
CALDERIN ROMAN, GLORIA         ADDRESS ON FILE
CALDERIN ROMAN, GLORIA E       ADDRESS ON FILE
CALDERIN SILVA, JAIME J.       ADDRESS ON FILE
CALDERIN VILA, PRISCILLA       ADDRESS ON FILE
CALDERIN VILLANUEVA, ELBA      ADDRESS ON FILE
CALDERINMESONERO, LILLIAN      ADDRESS ON FILE




                                                                           Page 1059 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1060 of 3500
                                                                                17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                    Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
CALDERO AGOSTO, CARMEN           ADDRESS ON FILE
Caldero Albino, Victor M         ADDRESS ON FILE
CALDERO APONTE, GABRIEL          ADDRESS ON FILE
CALDERO BIBILONI, JULIO          ADDRESS ON FILE
CALDERO BURGOS, ANA M            ADDRESS ON FILE
CALDERO BURGOS, IRIS             ADDRESS ON FILE
CALDERO CABRERA, LOURDES         ADDRESS ON FILE
CALDERO CALDERO, HERIBERTO       ADDRESS ON FILE
CALDERO CARINO, LUIS             ADDRESS ON FILE
CALDERO COLLAZO, VANESSA         ADDRESS ON FILE
CALDERO COLON, ZAILYN            ADDRESS ON FILE
CALDERO DIAZ, SULEMAR            ADDRESS ON FILE
CALDERO FIGUEROA, JUAN ANTONIO   JUAN CORCHADO JUARBE      URB HNAS DAVILA AVE. BETANCES I‐2                                BAYAMON      PR      00959
CALDERO FIGUEROA, JUAN ANTONIO   LUIS COLON SOTO           ELEANOR ROOSEVELT 130                                            SAN JUAN     PR      00918‐3105
CALDERO FIGUEROA, LUZ B          ADDRESS ON FILE
CALDERO FIGUEROA, MARIA E        ADDRESS ON FILE
CALDERO FUENTES, EDUARD          ADDRESS ON FILE
CALDERO FUENTES, EDUARD          ADDRESS ON FILE
CALDERO FUENTES, ISRAEL          ADDRESS ON FILE
CALDERO HERNANDEZ, CARLOS        ADDRESS ON FILE
CALDERO LAUREANO, YESENIA        ADDRESS ON FILE
CALDERO LAUREANO, YESENIA        ADDRESS ON FILE
CALDERO LOPEZ, DAVID             ADDRESS ON FILE
Caldero Lopez, Jose L.           ADDRESS ON FILE
Caldero Lopez, Luis A.           ADDRESS ON FILE
CALDERO LOZDA, ENRIQUE           ADDRESS ON FILE
Caldero Maldonado, Omar          ADDRESS ON FILE
CALDERO MATOS, FELIPE            ADDRESS ON FILE
CALDERO MORALES, RUTH A          ADDRESS ON FILE
Caldero Negron, Javier           ADDRESS ON FILE
CALDERO NIEVES, ROSELYS          ADDRESS ON FILE
CALDERO ORTIZ, ANA R             ADDRESS ON FILE
CALDERO ORTIZ, JOSE              ADDRESS ON FILE
CALDERO ORTIZ, MIRIAM M          ADDRESS ON FILE
CALDERO ORTIZ, SONIA             ADDRESS ON FILE
CALDERO OTERO, SAVIER            ADDRESS ON FILE
CALDERO OTERO, SAVIER A          ADDRESS ON FILE
CALDERO PADILLA, GRISEL          ADDRESS ON FILE
CALDERO PADILLA, NORMA           ADDRESS ON FILE
CALDERO PEREZ, BITERBO           ADDRESS ON FILE
CALDERO PEREZ, GUILLERMINA       ADDRESS ON FILE
CALDERO PEREZ, ISRAEL            ADDRESS ON FILE
CALDERO PEREZ, JESUS M.          ADDRESS ON FILE
CALDERO PEREZ, JUAN A            ADDRESS ON FILE
CALDERO PEREZ, RENE ORLANDO      ADDRESS ON FILE
CALDERO REYES, NEFTALI           ADDRESS ON FILE
Caldero Rios, Ismael             ADDRESS ON FILE
CALDERO RIOS, JOSE               ADDRESS ON FILE
CALDERO RIOS, LUZ RAQUEL         ADDRESS ON FILE
CALDERO RIVERA, HIRANGEL         ADDRESS ON FILE
CALDERO RIVERA, NELSON           ADDRESS ON FILE
CALDERO RIVERA, REINALDO         ADDRESS ON FILE
CALDERO RIVERA, SONIA            ADDRESS ON FILE
CALDERO RODRIGUEZ, OMAYRA        ADDRESS ON FILE
CALDERO RODRIGUEZ, XAVIER        ADDRESS ON FILE
CALDERO ROLON, GENESSE           ADDRESS ON FILE
CALDERO ROSADO, JESUS            ADDRESS ON FILE
CALDERO ROSADO, LUIS             ADDRESS ON FILE
CALDERO ROSADO, LUIS             ADDRESS ON FILE
CALDERO SANCHEZ, JORGE L.        ADDRESS ON FILE




                                                                                       Page 1060 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1061 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                     Address1                  Address2                          Address3   Address4   City          State   PostalCode   Country
CALDERO SANCHEZ, RAFAEL A.        ADDRESS ON FILE
CALDERO TALAVERA, LUIS            ADDRESS ON FILE
CALDERO TOLEDO, IVONNE E          ADDRESS ON FILE
CALDERO VILLANUEVA, GIBERTO       ADDRESS ON FILE
CALDERON CALCANO, JUANITA         ADDRESS ON FILE
Calderon Vega, Carlos             ADDRESS ON FILE
Calderon Abreu, Francisco J.      ADDRESS ON FILE
CALDERON ABREU, THEANY            ADDRESS ON FILE
CALDERON ABULANCE SERV INC        VILLA ALEGRIA             183 CALLE ZAFIRO                                        AGUADILLA     PR      00603
CALDERON ACEVEDO, AMOS            ADDRESS ON FILE
CALDERON ACEVEDO, JONATHAN        ADDRESS ON FILE
CALDERON ACEVEDO, NEIDA M.        ADDRESS ON FILE
CALDERON ACEVEDO, RAFAEL          ADDRESS ON FILE
CALDERON ACEVEDO, RAMON           ADDRESS ON FILE
CALDERON ACOSTA                   ADDRESS ON FILE
CALDERON ADORNO, DIANA            ADDRESS ON FILE
Calderon Adorno, Luis A           ADDRESS ON FILE
CALDERON AGOSTO, BRENDA           ADDRESS ON FILE
CALDERON AGOSTO, CANDIDO          ADDRESS ON FILE
CALDERON AGOSTO, PEDRO            ADDRESS ON FILE
CALDERON ALARCQN, HILSIA          ADDRESS ON FILE
CALDERON ALERS, MAUREEN           ADDRESS ON FILE
CALDERON ALEXANDRINO, ABRAHAM     ADDRESS ON FILE
CALDERON ALIBRAN, IVELISSE        ADDRESS ON FILE
CALDERON ALVARADO, IRMA L         ADDRESS ON FILE
CALDERON ALVAREZ, EVELYN          ADDRESS ON FILE
CALDERON ALVAREZ, FERNANDO        ADDRESS ON FILE
CALDERON ALVAREZ, JAIME           ADDRESS ON FILE
CALDERON ALVAREZ, JAMAIRA         ADDRESS ON FILE
CALDERON ALVAREZ, MILDRED         ADDRESS ON FILE
CALDERON ALVAREZ, SOLANIA         ADDRESS ON FILE
CALDERON ALVERIO, ELBA M          ADDRESS ON FILE
CALDERON AMBULANCE SERVICES INC   VILLA ALEGRIA             183 CALLE ZAFIRO                                        AGUADILLA     PR      00603
CALDERON AMEZQUITA, MONICA        ADDRESS ON FILE
CALDERON AMEZQUITA, OMAR          ADDRESS ON FILE
CALDERON AMEZQUITA, OSCAR         ADDRESS ON FILE
CALDERON AMEZQUITA, OSCAR         ADDRESS ON FILE
CALDERON ANDINO, CARLOS           ADDRESS ON FILE
Calderon Andino, Carlos Jp        ADDRESS ON FILE
CALDERON ANDINO, LEYSIE           ADDRESS ON FILE
CALDERON ANDINO, MARIA            ADDRESS ON FILE
CALDERON ANDINO, MIGUEL           ADDRESS ON FILE
Calderon Andino, Miguel A         ADDRESS ON FILE
Calderon Andino, Norah            ADDRESS ON FILE
CALDERON ANDRADES, CARLOS J       ADDRESS ON FILE
CALDERON ANDRADES, CARLOS JULIO   ADDRESS ON FILE
CALDERON ARCE, EVELYN             ADDRESS ON FILE
CALDERON ARROYO, CARMEN M         ADDRESS ON FILE
CALDERON ARROYO, HECTOR           ADDRESS ON FILE
CALDERON ASENCIO, WANDA I         ADDRESS ON FILE
CALDERON AYALA, CARLOS J          ADDRESS ON FILE
CALDERON AYALA, JESELYN           ADDRESS ON FILE
CALDERON AYALA, JULIO             ADDRESS ON FILE
CALDERON BAEZ, MANUEL             ADDRESS ON FILE
CALDERON BAREA, SUHAIL            ADDRESS ON FILE
CALDERON BENITEZ, ANGEL           ADDRESS ON FILE
CALDERON BENITEZ, CARMEN M        ADDRESS ON FILE
CALDERON BENITEZ, CARMEN S        ADDRESS ON FILE
CALDERON BENITEZ, CAROLINA        ADDRESS ON FILE
CALDERON BENITEZ, CONFESOR        ADDRESS ON FILE




                                                                               Page 1061 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1062 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3                Address4     City         State   PostalCode   Country
CALDERON BENITEZ, GUILLERMO       ADDRESS ON FILE
CALDERON BENITEZ, LUZ A.          ADDRESS ON FILE
CALDERON BENITEZ, RAFAEL          ADDRESS ON FILE
CALDERON BENITEZ, RAFAEL A.       ADDRESS ON FILE
CALDERON BERNARD, ADOLFO          ADDRESS ON FILE
CALDERON BERRIOS, CARLOS          ADDRESS ON FILE
CALDERON BERRIOS, ELISHA          ADDRESS ON FILE
CALDERON BERRIOS, IRIS D.         ADDRESS ON FILE
CALDERON BERRIOS, JOSE            ADDRESS ON FILE
CALDERON BERRIOS, JOSHUA          ADDRESS ON FILE
CALDERON BERRIOS, REINA M.        ADDRESS ON FILE
CALDERON BETANCOURT, JORGE L      ADDRESS ON FILE
CALDERON BETANCOURT, JULIO        ADDRESS ON FILE
CALDERON BETANCOURT, JULIO        ADDRESS ON FILE
CALDERON BETANCOURT, MERALIZ      ADDRESS ON FILE
CALDERON BETANCOURT, TAIMARIS     ADDRESS ON FILE
CALDERON BORDONADA, YOIRA         ADDRESS ON FILE
CALDERON BORIA, JOSE              ADDRESS ON FILE
CALDERON BURGOS, ALONSO           ADDRESS ON FILE
CALDERON BURGOS, IRIS M           ADDRESS ON FILE
CALDERON BURGOS, JOHN             ADDRESS ON FILE
CALDERON BURGOS, MARIA DEL C      ADDRESS ON FILE
CALDERON CABEZA, ERIC             ADDRESS ON FILE
CALDERON CABEZAS, CARMEN          ADDRESS ON FILE
CALDERON CADIZ, MARCO A.          ADDRESS ON FILE
CALDERON CALDERON, HELEN          ADDRESS ON FILE
CALDERON CALDERON, JUSTA          ADDRESS ON FILE
CALDERON CALDERON, MARIA E        ADDRESS ON FILE
Calderon Calderon, Maria L        ADDRESS ON FILE
CALDERON CALDERON, PEDRO          ADDRESS ON FILE
CALDERON CALDERON, PEDRO J        ADDRESS ON FILE
CALDERON CALDERON, VICTOR M       ADDRESS ON FILE
CALDERON CALO, EVELYN             ADDRESS ON FILE
CALDERON CALO, IVETTE             ADDRESS ON FILE
CALDERON CANCEL, BLANIA C         ADDRESS ON FILE
CALDERON CANCIO, CARLA            ADDRESS ON FILE
CALDERON CANDELARIO, AILED        ADDRESS ON FILE
CALDERON CAPO, CARMEN             ADDRESS ON FILE
CALDERON CARABALLO, CARELIS S     ADDRESS ON FILE
CALDERON CARABALLO, VIDAL         ADDRESS ON FILE
CALDERON CARDENAS, JOSE           ADDRESS ON FILE
CALDERON CARMONA, GLORIA          ADDRESS ON FILE
CALDERON CARMONA, LUZ C           ADDRESS ON FILE
CALDERON CARRASQUILLO, ANTONIO    ADDRESS ON FILE
CALDERON CARRASQUILLO, BLODELYS   ADDRESS ON FILE

CALDERON CARRASQUILLO, CARMEN     MIGUEL SIMONET SIERRA     MARAMAR PLAZA                    101 AVE. SAN PATRICIO   SUITE 1120   GUAYNABO     PR      00968
CALDERON CARRASQUILLO, HECTOR     ADDRESS ON FILE
CALDERON CARRASQUILLO, JAIME      ADDRESS ON FILE
CALDERON CARRASQUILLO, JOSEFINA   ADDRESS ON FILE
CALDERON CARRASQUILLO, SARELLYS   ADDRESS ON FILE
CALDERON CARRASQUILLO, SARELLYS   ADDRESS ON FILE
CALDERON CASANOVA, AURELIO        ADDRESS ON FILE
CALDERON CASANOVA, JORGE          ADDRESS ON FILE
CALDERON CASANOVA, MILDRED        ADDRESS ON FILE
CALDERON CASANOVA, ROLANDO        ADDRESS ON FILE
CALDERON CASTRO, JOSEFA           ADDRESS ON FILE
CALDERON CASTRO, ZAIDA            ADDRESS ON FILE
CALDERON CENTENO, JONATHAN        ADDRESS ON FILE
CALDERON CEPEDA, CELINES          ADDRESS ON FILE




                                                                              Page 1062 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1063 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON CEPEDA, JOHANA         ADDRESS ON FILE
CALDERON CEPEDA, JOHANNA        ADDRESS ON FILE
CALDERON CEPEDA, LUIS           ADDRESS ON FILE
CALDERON CEPEDA, TOMAS          ADDRESS ON FILE
CALDERON CERAME, MANUEL         ADDRESS ON FILE
CALDERON CESTERO, ALBA I.       ADDRESS ON FILE
CALDERON CHICLANA, CARMEN G.    ADDRESS ON FILE
CALDERON CHONG, DAVID L         ADDRESS ON FILE
CALDERON CINTRON, CHARLOTTE     ADDRESS ON FILE
CALDERON CINTRON, MARIA         ADDRESS ON FILE
CALDERON CINTRON, MARLENYS      ADDRESS ON FILE
CALDERON CIRINO, JUAN A         ADDRESS ON FILE
CALDERON CLASS, EMMANUEL        ADDRESS ON FILE
Calderon Claudio, Veronica N    ADDRESS ON FILE
CALDERON CLEMENTE, ANA L        ADDRESS ON FILE
CALDERON CLEMENTE, CARMEN       ADDRESS ON FILE
CALDERON CLEMENTE, HILDA        ADDRESS ON FILE
CALDERON CLEMENTE, JOSE R       ADDRESS ON FILE
CALDERON COLLAZO MD, THEA       ADDRESS ON FILE
CALDERON COLLAZO, JOHANNA       ADDRESS ON FILE
CALDERON COLLAZO, JOHANNA       ADDRESS ON FILE
CALDERON COLLAZO, THEA          ADDRESS ON FILE
CALDERON COLON, EIMER           ADDRESS ON FILE
CALDERON COLON, JOSE            ADDRESS ON FILE
Calderon Colon, Julio E         ADDRESS ON FILE
Calderon Colon, Madeline        ADDRESS ON FILE
CALDERON COLON, MANUEL A        ADDRESS ON FILE
CALDERON COLON, MARIA E         ADDRESS ON FILE
CALDERON COLON, MARIBEL         ADDRESS ON FILE
CALDERON COLON, MARK A.         ADDRESS ON FILE
CALDERON COLON, MARYBEL         ADDRESS ON FILE
CALDERON COLON, VIRGENMINA      ADDRESS ON FILE
CALDERON CONCEPCION, JOSE       ADDRESS ON FILE
CALDERON CONCEPCION, MILAGROS   ADDRESS ON FILE
CALDERON CONCEPCION, SERGIO     ADDRESS ON FILE
CALDERON CONDER, LINESSE        ADDRESS ON FILE
CALDERON CORDERO, DAVID G.      ADDRESS ON FILE
CALDERON CORDERO, EDUARDO J     ADDRESS ON FILE
Calderon Cordero, Melvin E.     ADDRESS ON FILE
CALDERON CORREA, JOSE           ADDRESS ON FILE
CALDERON CORTES, EDUARDO        ADDRESS ON FILE
CALDERON COSME, ANDREA          ADDRESS ON FILE
CALDERON COTTO, MYRNA           ADDRESS ON FILE
CALDERON COTTO, WANDA           ADDRESS ON FILE
CALDERON CRUZ MD, JANICE        ADDRESS ON FILE
CALDERON CRUZ, BLANCA           ADDRESS ON FILE
CALDERON CRUZ, CARMEN B         ADDRESS ON FILE
CALDERON CRUZ, CARMEN G.        ADDRESS ON FILE
CALDERON CRUZ, DALIA            ADDRESS ON FILE
CALDERON CRUZ, DOHANIE          ADDRESS ON FILE
CALDERON CRUZ, FELIX            ADDRESS ON FILE
CALDERON CRUZ, GISELLE          ADDRESS ON FILE
CALDERON CRUZ, JANICE           ADDRESS ON FILE
CALDERON CRUZ, JEFERSSON        ADDRESS ON FILE
CALDERON CRUZ, JORGE I          ADDRESS ON FILE
CALDERON CRUZ, JORGE L          ADDRESS ON FILE
CALDERON CRUZ, LUIS             ADDRESS ON FILE
CALDERON CRUZ, MABEL Z          ADDRESS ON FILE
CALDERON CRUZ, MARILYN          ADDRESS ON FILE
CALDERON CRUZ, PEDRO L          ADDRESS ON FILE




                                                                            Page 1063 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1064 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON CUILAN, INES             ADDRESS ON FILE
CALDERON DAVILA, ABDIEL           ADDRESS ON FILE
CALDERON DAVILA, ANGEL            ADDRESS ON FILE
CALDERON DAVILA, ARISDELIS        ADDRESS ON FILE
CALDERON DAVILA, CARLOS           ADDRESS ON FILE
Calderon Davila, Hector M         ADDRESS ON FILE
CALDERON DAVILA, JESUS            ADDRESS ON FILE
CALDERON DAVILA, JESUS M.         ADDRESS ON FILE
CALDERON DAVILA, YAMIRA           ADDRESS ON FILE
CALDERON DE BARTOLOMEI, LYDIA M   ADDRESS ON FILE
Calderon De Jesus, Hector L       ADDRESS ON FILE
CALDERON DE JESUS, JOEL           ADDRESS ON FILE
CALDERON DE JESUS, MARIA          ADDRESS ON FILE
CALDERON DE JESUS, MARIA DEL      ADDRESS ON FILE
CALDERON DE LA PAZ, GLORYNILLE    ADDRESS ON FILE
CALDERON DE LEON, ALEX J          ADDRESS ON FILE
CALDERON DE LEON, SHERLY          ADDRESS ON FILE
CALDERON DE LOS SANTOS, WANDA     ADDRESS ON FILE
CALDERON DE NERY, IDA             ADDRESS ON FILE
CALDERON DEL CARMEN, KENIA        ADDRESS ON FILE
CALDERON DEL VALLE, ANDRES        ADDRESS ON FILE
CALDERON DEL VALLE, CARMEN D      ADDRESS ON FILE
CALDERON DEL VALLE, HAYDEE        ADDRESS ON FILE
CALDERON DEL VALLE, JONATHAN      ADDRESS ON FILE
CALDERON DELGADO, DOMMYS L.       ADDRESS ON FILE
CALDERON DIAZ, ANGEL L            ADDRESS ON FILE
CALDERON DIAZ, BERNARDO           ADDRESS ON FILE
CALDERON DIAZ, CARLOS R           ADDRESS ON FILE
CALDERON DIAZ, GUILLERMO          ADDRESS ON FILE
CALDERON DIAZ, JOSE               ADDRESS ON FILE
CALDERON DIAZ, KAREN NAHIR        ADDRESS ON FILE
CALDERON DIAZ, MARIA E            ADDRESS ON FILE
CALDERON DIAZ, MARIO              ADDRESS ON FILE
CALDERON DIAZ, MARITZA            ADDRESS ON FILE
CALDERON DONES, EVELYN M          ADDRESS ON FILE
CALDERON ELICIER, KELVIN          ADDRESS ON FILE
CALDERON ENCARNACION, ADELINA     ADDRESS ON FILE
CALDERON ENCARNACION, MITCHEL     ADDRESS ON FILE
CALDERON ESCALERA, JOCELYN        ADDRESS ON FILE
CALDERON ESCALERA, KEILA M        ADDRESS ON FILE
CALDERON ESCALERA, MILAGROS       ADDRESS ON FILE
CALDERON ESCALERA, RADAMES        ADDRESS ON FILE
CALDERON ESCALERA, RADAMES        ADDRESS ON FILE
CALDERON ESCOBAR, BENJAMIN        ADDRESS ON FILE
Calderon Esquilin, Alexis         ADDRESS ON FILE
CALDERON ESTRADA, LYDIA A         ADDRESS ON FILE
CALDERON FAURA, GABRIEL           ADDRESS ON FILE
CALDERON FEBRES, EPIFANIO         ADDRESS ON FILE
CALDERON FELICIER, NARCISO        ADDRESS ON FILE
CALDERON FELIX, ELBA E.           ADDRESS ON FILE
CALDERON FELIX, ELBA E.           ADDRESS ON FILE
CALDERON FELIX, MADELINE          ADDRESS ON FILE
CALDERON FERAN, CARMEN L          ADDRESS ON FILE
CALDERON FERDINAND, RICHARD       ADDRESS ON FILE
CALDERON FERNANDEZ, ANA M         ADDRESS ON FILE
CALDERON FERNANDEZ, VERONICA      ADDRESS ON FILE
CALDERON FIGUEROA, BEATRIZ T      ADDRESS ON FILE
CALDERON FIGUEROA, DAVID          ADDRESS ON FILE
CALDERON FIGUEROA, ERNESTO L      ADDRESS ON FILE
CALDERON FIGUEROA, FERNANDO       ADDRESS ON FILE




                                                                              Page 1064 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1065 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON FIGUEROA, FERNANDO     ADDRESS ON FILE
CALDERON FIGUEROA, JORGE        ADDRESS ON FILE
CALDERON FIGUEROA, JOSE M       ADDRESS ON FILE
CALDERON FIGUEROA, JOSE M.      ADDRESS ON FILE
CALDERON FIGUEROA, NINOSHKA     ADDRESS ON FILE
CALDERON FLORES, JANNET         ADDRESS ON FILE
CALDERON FLORES, JENNIFER       ADDRESS ON FILE
CALDERON FLORES, JUAN           ADDRESS ON FILE
CALDERON FONTANEZ, ZULMA        ADDRESS ON FILE
CALDERON FRADERA, HAYRINES      ADDRESS ON FILE
CALDERON FRADERA, RICARDO       ADDRESS ON FILE
CALDERON FRED, CARLOS           ADDRESS ON FILE
CALDERON FUENTES, ADORIAN       ADDRESS ON FILE
CALDERON FUENTES, ANGELINA      ADDRESS ON FILE
CALDERON FUENTES, JOSE          ADDRESS ON FILE
CALDERON FUENTES, NOEL          ADDRESS ON FILE
CALDERON FUENTES, PROVIDENCIA   ADDRESS ON FILE
CALDERON FUENTES, RUTH          ADDRESS ON FILE
CALDERON FUENTES, WANDA         ADDRESS ON FILE
CALDERON FUENTES,LUIS A.        ADDRESS ON FILE
CALDERON GABRIEL, EUDEZ R       ADDRESS ON FILE
CALDERON GABRIEL, EUDEZ R.      ADDRESS ON FILE
CALDERON GALVAN, CARMEN OLGA    ADDRESS ON FILE
CALDERON GARCIA, AUREO          ADDRESS ON FILE
Calderon Garcia, Edrid          ADDRESS ON FILE
CALDERON GARCIA, FRANCHESKA     ADDRESS ON FILE
CALDERON GARCIA, IVELISSE       ADDRESS ON FILE
Calderon Garcia, Jose L         ADDRESS ON FILE
CALDERON GARCIA, JOSEFINA M     ADDRESS ON FILE
CALDERON GARCIA, LUZ E          ADDRESS ON FILE
CALDERON GARCIA, MARIA          ADDRESS ON FILE
CALDERON GARCIA, MARTA          ADDRESS ON FILE
CALDERON GARCIA, MIRTA          ADDRESS ON FILE
CALDERON GARCIA, RAFAEL         ADDRESS ON FILE
CALDERON GARCIA, RAMON          ADDRESS ON FILE
CALDERON GARCIA, WANDA E        ADDRESS ON FILE
CALDERON GARCIA, WILFREDO       ADDRESS ON FILE
CALDERON GARNIER, CARLOS M      ADDRESS ON FILE
CALDERON GAUDIO, JORGE A.       ADDRESS ON FILE
CALDERON GEIGEL, JORGE L.       ADDRESS ON FILE
CALDERON GEIGEL, KELLYMAR       ADDRESS ON FILE
CALDERON GERENA, ARLIN          ADDRESS ON FILE
CALDERON GOMEZ, ANA L.          ADDRESS ON FILE
Calderon Gomez, Johab           ADDRESS ON FILE
Calderon Gomez, Roberto         ADDRESS ON FILE
CALDERON GOMEZ, ROBERTO         ADDRESS ON FILE
CALDERON GOMEZ, SILVIA          ADDRESS ON FILE
CALDERON GONZALEZ, DIMARY       ADDRESS ON FILE
CALDERON GONZALEZ, GLADYS N     ADDRESS ON FILE
CALDERON GONZALEZ, JOHANNA      ADDRESS ON FILE
Calderon Gonzalez, Juan A       ADDRESS ON FILE
CALDERON GONZALEZ, JUAN G       ADDRESS ON FILE
CALDERON GONZALEZ, MARIA        ADDRESS ON FILE
Calderon Gonzalez, Maria I      ADDRESS ON FILE
Calderon Gonzalez, Martin A     ADDRESS ON FILE
CALDERON GONZALEZ, MONSERRATE   ADDRESS ON FILE
CALDERON GONZALEZ, PEDRO        ADDRESS ON FILE
CALDERON GONZALEZ, PILAR        ADDRESS ON FILE
CALDERON GONZALEZ, URBANO       ADDRESS ON FILE
CALDERON GONZALEZ, VIVIAN       ADDRESS ON FILE




                                                                            Page 1065 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1066 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Calderon Gonzalez, Yomarie      ADDRESS ON FILE
CALDERON GRANADO, OMAYRA        ADDRESS ON FILE
CALDERON GUERRERO, JUAN         ADDRESS ON FILE
CALDERON GUTIEREZ, JOSE R.      ADDRESS ON FILE
CALDERON GUTIERREZ, LINDA M     ADDRESS ON FILE
CALDERON GUTIERREZ, MARIA       ADDRESS ON FILE
CALDERON GUTIERREZ, ODALYS      ADDRESS ON FILE
CALDERON GUZMAN, MANUEL         ADDRESS ON FILE
CALDERON HERNANDEZ, ELIEZER     ADDRESS ON FILE
CALDERON HERNANDEZ, HERNINIO    ADDRESS ON FILE
CALDERON HERNANDEZ, JORGE       ADDRESS ON FILE
CALDERON HERNANDEZ, JOSE        ADDRESS ON FILE
Calderon Hernandez, Jose R      ADDRESS ON FILE
CALDERON HERNANDEZ, JUAN J.     ADDRESS ON FILE
CALDERON HERNANDEZ, JULIO ELI   ADDRESS ON FILE
Calderon Hernandez, Luis D.     ADDRESS ON FILE
CALDERON HERNANDEZ, MARCOS A.   ADDRESS ON FILE
Calderon Hernandez, Rosa L      ADDRESS ON FILE
CALDERON HERNANDEZ, TIRSON L.   ADDRESS ON FILE
Calderon Hernandez, Victor M    ADDRESS ON FILE
CALDERON HERRERA, NORBERTO      ADDRESS ON FILE
CALDERON HERRERA, RAMON         ADDRESS ON FILE
CALDERON HUECA, MARIA A         ADDRESS ON FILE
CALDERON HUECA, MAYRA M         ADDRESS ON FILE
CALDERON HUECA, ROSA M.         ADDRESS ON FILE
CALDERON HUECA, SONIA E.        ADDRESS ON FILE
CALDERON ILARRAZA, CARMEN       ADDRESS ON FILE
CALDERON ILARRAZA, HECTOR L     ADDRESS ON FILE
CALDERON IRENE, IRIS N          ADDRESS ON FILE
CALDERON IRIZARRY, MARIA A.     ADDRESS ON FILE
CALDERON ISAAC, OLGA E          ADDRESS ON FILE
CALDERON IZQUIERDO, LUIS        ADDRESS ON FILE
CALDERON JIMENEZ MD, JORGE L    ADDRESS ON FILE
CALDERON JIMENEZ, DAVID         ADDRESS ON FILE
CALDERON JIMENEZ, DAVID         ADDRESS ON FILE
CALDERON JIMENEZ, JAVIER        ADDRESS ON FILE
CALDERON JIMENEZ, MARIBEL       ADDRESS ON FILE
CALDERON JORGE, KEVIA           ADDRESS ON FILE
CALDERON JULIA, EMMA M          ADDRESS ON FILE
CALDERON JULIA, ROSARIO         ADDRESS ON FILE
CALDERON JUSINO, VICTORIA A     ADDRESS ON FILE
CALDERON KANDELOWICZ, JESSICA   ADDRESS ON FILE
CALDERON LACEN, ABEL            ADDRESS ON FILE
CALDERON LANZAR, PEDRO          ADDRESS ON FILE
CALDERON LANZO, EULEDIS         ADDRESS ON FILE
CALDERON LANZO, EULEDIS         ADDRESS ON FILE
CALDERON LANZO, NAYDA           ADDRESS ON FILE
CALDERON LANZO, NAYDA           ADDRESS ON FILE
CALDERON LANZO, NORCA           ADDRESS ON FILE
CALDERON LANZO, VICTOR          ADDRESS ON FILE
CALDERON LANZOT, SAUL           ADDRESS ON FILE
CALDERON LEBRON, EDGAR          ADDRESS ON FILE
CALDERON LEBRON, JONATHAN       ADDRESS ON FILE
CALDERON LEBRON, MIGUEL A.      ADDRESS ON FILE
CALDERON LEBRON, WALESKA        ADDRESS ON FILE
CALDERON LEON, EVELYN           ADDRESS ON FILE
CALDERON LEON, EVELYN           ADDRESS ON FILE
CALDERON LOPEZ, AIDA            ADDRESS ON FILE
CALDERON LOPEZ, ERNESTO         ADDRESS ON FILE
CALDERON LOPEZ, GUSTAVO         ADDRESS ON FILE




                                                                            Page 1066 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1067 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON LOPEZ, ISAIRA         ADDRESS ON FILE
CALDERON LOPEZ, JENNIFER       ADDRESS ON FILE
CALDERON LOPEZ, JORGE          ADDRESS ON FILE
CALDERON LOPEZ, KAREN          ADDRESS ON FILE
CALDERON LOPEZ, MARIA DEL      ADDRESS ON FILE
CALDERON LOPEZ, RAFAEL         ADDRESS ON FILE
Calderon Lozada, Delma I       ADDRESS ON FILE
CALDERON LOZADA, MARIA         ADDRESS ON FILE
CALDERON LUQUIS, STEPHANIE     ADDRESS ON FILE
CALDERON MALDONADO, DORALIS    ADDRESS ON FILE
CALDERON MALDONADO, JUAN       ADDRESS ON FILE
CALDERON MALDONADO, MADELINE   ADDRESS ON FILE
CALDERON MALDONADO, MADELINE   ADDRESS ON FILE
CALDERON MALDONADO, MARIA      ADDRESS ON FILE
CALDERON MALDONADO, MARITZA    ADDRESS ON FILE
CALDERON MALDONADO, MARITZA    ADDRESS ON FILE
CALDERON MARQUEZ, ADRIAN       ADDRESS ON FILE
CALDERON MARRERO, CARMEN       ADDRESS ON FILE
CALDERON MARRERO, JOEL         ADDRESS ON FILE
Calderon Marrero, Johanna I    ADDRESS ON FILE
CALDERON MARRERO, JULIO C.     ADDRESS ON FILE
CALDERON MARRERO, NATIVIDAD    ADDRESS ON FILE
Calderon Marrero, Sergio       ADDRESS ON FILE
CALDERON MARTIN, CARLOS        ADDRESS ON FILE
Calderon Martinez, Benjamin    ADDRESS ON FILE
CALDERON MARTINEZ, JO‐ANN      ADDRESS ON FILE
CALDERON MARTINEZ, MARIA       ADDRESS ON FILE
CALDERON MARTINEZ, MARIA DEL   ADDRESS ON FILE
CALDERON MARTINEZ, OMAR        ADDRESS ON FILE
CALDERON MARTINEZ, RAFAEL      ADDRESS ON FILE
CALDERON MARTINEZ, RAFAEL      ADDRESS ON FILE
CALDERON MARTINEZ, TOMASA M    ADDRESS ON FILE
CALDERON MATOS, ELLIOT         ADDRESS ON FILE
CALDERON MATOS, VICTOR J.      ADDRESS ON FILE
CALDERON MATTA, JOSE R         ADDRESS ON FILE
CALDERON MATTA, JOSEFINA       ADDRESS ON FILE
CALDERON MD, RICARDO           ADDRESS ON FILE
CALDERON MELENDEZ, ALICE M.    ADDRESS ON FILE
CALDERON MELENDEZ, AMARILYS    ADDRESS ON FILE
Calderon Melendez, Amarylis    ADDRESS ON FILE
Calderon Melendez, Ramon       ADDRESS ON FILE
CALDERON MENDEZ, LUZ           ADDRESS ON FILE
CALDERON MENDEZ, MARITZA       ADDRESS ON FILE
CALDERON MENENDEZ, HECTOR E.   ADDRESS ON FILE
CALDERON MERCADO, DANILUZ      ADDRESS ON FILE
CALDERON MERCADO, JESUS        ADDRESS ON FILE
CALDERON MIRANDA, JUAN C       ADDRESS ON FILE
CALDERON MODESTO, RAMON        ADDRESS ON FILE
CALDERON MOJICA, CARIMEL       ADDRESS ON FILE
CALDERON MOJICA, JOSEDITH      ADDRESS ON FILE
CALDERON MONROIG, ANGEL L.     ADDRESS ON FILE
CALDERON MONTALVO, MIGUEL      ADDRESS ON FILE
Calderon Montalvo, Miguel A.   ADDRESS ON FILE
CALDERON MORA, RAMON           ADDRESS ON FILE
CALDERON MORALES, CARLOS       ADDRESS ON FILE
CALDERON MORALES, CARMEN R     ADDRESS ON FILE
Calderon Morales, Gisselle E   ADDRESS ON FILE
CALDERON MORALES, JONATHAN     ADDRESS ON FILE
CALDERON MORALES, JOSE I.      ADDRESS ON FILE
CALDERON MORALES, JOSE O       ADDRESS ON FILE




                                                                           Page 1067 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1068 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON MORALES, JOSUE        ADDRESS ON FILE
CALDERON MORALES, MARIEL       ADDRESS ON FILE
CALDERON MORALES, MARISOL      ADDRESS ON FILE
CALDERON MORALES, NORMA L      ADDRESS ON FILE
CALDERON MORALES, RAMON P.     ADDRESS ON FILE
CALDERON MORALES, ROLANDO      ADDRESS ON FILE
CALDERON MORALES, SARA I.      ADDRESS ON FILE
CALDERON MORALES, SHEYLA       ADDRESS ON FILE
CALDERON MORAN, YAITZA         ADDRESS ON FILE
CALDERON MUNOZ, ANDRES         ADDRESS ON FILE
CALDERON MUNOZ, HAYDEE         ADDRESS ON FILE
CALDERON MUNOZ, HECTOR         ADDRESS ON FILE
CALDERON MUNOZ, HILDA          ADDRESS ON FILE
CALDERON MUNOZ, MARIA L        ADDRESS ON FILE
CALDERON NARVAEZ, ANGELUIS     ADDRESS ON FILE
CALDERON NARVAEZ, ANGELUIS     ADDRESS ON FILE
CALDERON NARVAEZ, IYASHIRA     ADDRESS ON FILE
CALDERON NAVARRO, LUIS ANGEL   ADDRESS ON FILE
CALDERON NAVARRO, MARIA        ADDRESS ON FILE
CALDERON NAVARRO, SAYONARA     ADDRESS ON FILE
CALDERON NEGRON, JONATHAN      ADDRESS ON FILE
CALDERON NEVAREZ, FELIX L.     ADDRESS ON FILE
Calderon Nieves, Ana M.        ADDRESS ON FILE
CALDERON NIEVES, CARMEN V      ADDRESS ON FILE
CALDERON NIEVES, ISABEL        ADDRESS ON FILE
CALDERON NIEVES, JENNYMIR      ADDRESS ON FILE
CALDERON NIEVES, JESUS         ADDRESS ON FILE
CALDERON NIEVES, JUAN          ADDRESS ON FILE
CALDERON NIEVES, MARIA M       ADDRESS ON FILE
CALDERON NIEVES, YOLANDA       ADDRESS ON FILE
CALDERON NUNEZ, ARIEL          ADDRESS ON FILE
CALDERON OCANA, PEDRO          ADDRESS ON FILE
CALDERON OCASIO, JOSE          ADDRESS ON FILE
CALDERON OJEDA, JOHANA M       ADDRESS ON FILE
CALDERON OLIVERO, AIDA L       ADDRESS ON FILE
CALDERON OLIVERO, CARMEN R     ADDRESS ON FILE
CALDERON OLIVERO, MARILYN      ADDRESS ON FILE
Calderon Olivero, Maritza      ADDRESS ON FILE
CALDERON OLIVERO, NILSA        ADDRESS ON FILE
CALDERON OLIVERO, REBECA       ADDRESS ON FILE
CALDERON OLMO, CARMEN Y        ADDRESS ON FILE
CALDERON ORTA, VICTORIA        ADDRESS ON FILE
CALDERON ORTIZ, ANGEL          ADDRESS ON FILE
CALDERON ORTIZ, CARLOS         ADDRESS ON FILE
CALDERON ORTIZ, ELIZABETH      ADDRESS ON FILE
CALDERON ORTIZ, GREGORIO       ADDRESS ON FILE
CALDERON ORTIZ, JEFFREY O.     ADDRESS ON FILE
CALDERON ORTIZ, JESUS          ADDRESS ON FILE
CALDERON ORTIZ, JOSE I         ADDRESS ON FILE
CALDERON ORTIZ, LUIS A         ADDRESS ON FILE
CALDERON ORTIZ, MARIA T        ADDRESS ON FILE
CALDERON ORTIZ, NATALIO        ADDRESS ON FILE
CALDERON ORTIZ, RAFAEL         ADDRESS ON FILE
CALDERON ORTIZ, YOLANDA        ADDRESS ON FILE
CALDERON ORTIZ, ZHYLKIA        ADDRESS ON FILE
CALDERON OSORIO, CARMEN C.     ADDRESS ON FILE
CALDERON OSORIO, EVANGELIST    ADDRESS ON FILE
Calderon Osorio, Felix P       ADDRESS ON FILE
CALDERON OSORIO, GABRIEL       ADDRESS ON FILE
CALDERON OSORIO, ISABEL        ADDRESS ON FILE




                                                                           Page 1068 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1069 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON OSORIO, ISABEL       ADDRESS ON FILE
Calderon Osorio, Jose R       ADDRESS ON FILE
CALDERON OSORIO, LUIS A.      ADDRESS ON FILE
CALDERON OSORIO, MARIA        ADDRESS ON FILE
CALDERON OSORIO, MAYRA        ADDRESS ON FILE
CALDERON OYOLA, JUAN C        ADDRESS ON FILE
CALDERON PACHECO, AUREA       ADDRESS ON FILE
CALDERON PADILLA, CARMEN D    ADDRESS ON FILE
CALDERON PADILLA, EVELYN      ADDRESS ON FILE
Calderon Padilla, Luis A      ADDRESS ON FILE
CALDERON PADILLA, VILMARYE    ADDRESS ON FILE
CALDERON PAGAN, JUAN          ADDRESS ON FILE
CALDERON PAGAN, JUAN J        ADDRESS ON FILE
CALDERON PANELLI, ANGEL       ADDRESS ON FILE
CALDERON PARRILLA, EVELYN     ADDRESS ON FILE
CALDERON PARRILLA, EVELYN     ADDRESS ON FILE
CALDERON PARRILLA, EVELYN     ADDRESS ON FILE
CALDERON PARRILLA, HECTOR     ADDRESS ON FILE
CALDERON PARRILLA, NANCY L    ADDRESS ON FILE
CALDERON PASTOR, MARISOL      ADDRESS ON FILE
CALDERON PENA, MERALYS        ADDRESS ON FILE
CALDERON PEQA, KAREN          ADDRESS ON FILE
CALDERON PEREIRA, BARBARA     ADDRESS ON FILE
CALDERON PEREZ, ANTONIO       ADDRESS ON FILE
CALDERON PEREZ, ANTONIO L     ADDRESS ON FILE
CALDERON PEREZ, ARNALDO       ADDRESS ON FILE
CALDERON PEREZ, CARLOS A.     ADDRESS ON FILE
CALDERON PEREZ, CARMEN        ADDRESS ON FILE
CALDERON PEREZ, CARMEN D      ADDRESS ON FILE
CALDERON PEREZ, CARMEN D      ADDRESS ON FILE
CALDERON PEREZ, DAISY         ADDRESS ON FILE
CALDERON PEREZ, DAISY M       ADDRESS ON FILE
CALDERON PEREZ, DOMINGO       ADDRESS ON FILE
CALDERON PEREZ, IVETTE        ADDRESS ON FILE
CALDERON PEREZ, JESSICA       ADDRESS ON FILE
CALDERON PEREZ, JOSE A        ADDRESS ON FILE
CALDERON PEREZ, JOSE A        ADDRESS ON FILE
CALDERON PEREZ, JOSE I        ADDRESS ON FILE
Calderon Perez, Luis F        ADDRESS ON FILE
CALDERON PEREZ, RAUL A        ADDRESS ON FILE
CALDERON PEREZ, RUTH N        ADDRESS ON FILE
CALDERON PEREZ, SANDRA L      ADDRESS ON FILE
CALDERON PEREZ, SONIA         ADDRESS ON FILE
CALDERON PEREZ, TOMASA        ADDRESS ON FILE
CALDERON PEREZ, TRINA         ADDRESS ON FILE
CALDERON PERSAD, NYREE        ADDRESS ON FILE
CALDERON PIMENTEL, PERLA      ADDRESS ON FILE
CALDERON PIZARRO, BENJAMIN    ADDRESS ON FILE
CALDERON PIZARRO, CLARIBEL    ADDRESS ON FILE
CALDERON PIZARRO, CLAY        ADDRESS ON FILE
CALDERON PIZARRO, EDUARDO     ADDRESS ON FILE
CALDERON PIZARRO, FRANK E.    ADDRESS ON FILE
CALDERON PIZARRO, LISBETH     ADDRESS ON FILE
CALDERON PIZARRO, LUZ C       ADDRESS ON FILE
CALDERON POLACO, EDNERIS      ADDRESS ON FILE
CALDERON POLACO, EDNERIS      ADDRESS ON FILE
CALDERON POU, JOSE            ADDRESS ON FILE
Calderon Precssa, Antonio L   ADDRESS ON FILE
CALDERON QUINONES, IVELISSE   ADDRESS ON FILE
CALDERON QUINONEZ, PAMELA M   ADDRESS ON FILE




                                                                          Page 1069 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1070 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON RAMIREZ, EVELYN J     ADDRESS ON FILE
CALDERON RAMOS, FRANCISCO      ADDRESS ON FILE
CALDERON RAMOS, LUZ B          ADDRESS ON FILE
CALDERON RAMOS, MARIA A        ADDRESS ON FILE
CALDERON RAMOS, MIGUEL A       ADDRESS ON FILE
CALDERON RAMOS, PEDRO L.       ADDRESS ON FILE
CALDERON RAMOS, PEDRO L.       ADDRESS ON FILE
CALDERON RANGEL, ENID          ADDRESS ON FILE
CALDERON RANGEL, ENID          ADDRESS ON FILE
CALDERON RESTO, ANTONIO        ADDRESS ON FILE
CALDERON RESTO, JACKELINE      ADDRESS ON FILE
CALDERON RESTO, MADELINE       ADDRESS ON FILE
CALDERON REY, DELIA            ADDRESS ON FILE
CALDERON REYES, ADA            ADDRESS ON FILE
CALDERON REYES, ANGEL          ADDRESS ON FILE
CALDERON REYES, ANGEL I.       ADDRESS ON FILE
CALDERON REYES, HENRY A        ADDRESS ON FILE
CALDERON REYES, JESSICA        ADDRESS ON FILE
CALDERON REYES, LUIS A         ADDRESS ON FILE
CALDERON REYES, MARIA V        ADDRESS ON FILE
CALDERON REYES, MONICA         ADDRESS ON FILE
CALDERON REYES, SANDRA         ADDRESS ON FILE
CALDERON REYES, SOCORRO        ADDRESS ON FILE
CALDERON REYES, WANDA M.       ADDRESS ON FILE
CALDERON REYES, ZORAIDA        ADDRESS ON FILE
CALDERON RIOS, RAYMOND         ADDRESS ON FILE
CALDERON RIOS, VANESSA         ADDRESS ON FILE
CALDERON RIOS, VANESSA         ADDRESS ON FILE
CALDERON RIVAS, TERESA         ADDRESS ON FILE
CALDERON RIVERA, AISHKARLEEN   ADDRESS ON FILE
CALDERON RIVERA, ALICIA        ADDRESS ON FILE
CALDERON RIVERA, AMARILYS      ADDRESS ON FILE
CALDERON RIVERA, ANA M         ADDRESS ON FILE
CALDERON RIVERA, ANGEL M       ADDRESS ON FILE
CALDERON RIVERA, CARLOS        ADDRESS ON FILE
CALDERON RIVERA, CARLOS        ADDRESS ON FILE
CALDERON RIVERA, CARMEN        ADDRESS ON FILE
CALDERON RIVERA, CHRISTIAN     ADDRESS ON FILE
CALDERON RIVERA, DAINAH        ADDRESS ON FILE
CALDERON RIVERA, EDALIZ        ADDRESS ON FILE
Calderon Rivera, Edwin         ADDRESS ON FILE
CALDERON RIVERA, FRANCHESCA    ADDRESS ON FILE
CALDERON RIVERA, JOEL          ADDRESS ON FILE
CALDERON RIVERA, JOEL          ADDRESS ON FILE
CALDERON RIVERA, JONNATHAN M   ADDRESS ON FILE
Calderon Rivera, Jose A        ADDRESS ON FILE
CALDERON RIVERA, JOSE A        ADDRESS ON FILE
CALDERON RIVERA, KATHIA        ADDRESS ON FILE
CALDERON RIVERA, LIGINETTE     ADDRESS ON FILE
CALDERON RIVERA, LUZ E.        ADDRESS ON FILE
CALDERON RIVERA, MADELINE      ADDRESS ON FILE
CALDERON RIVERA, MARGARITA     ADDRESS ON FILE
CALDERON RIVERA, MIRELSA       ADDRESS ON FILE
CALDERON RIVERA, NICOLE        ADDRESS ON FILE
CALDERON RIVERA, OMAYRA L      ADDRESS ON FILE
CALDERON RIVERA, RAMON L.      ADDRESS ON FILE
CALDERON RIVERA, RAMSES        ADDRESS ON FILE
CALDERON RIVERA, REACHMARIE    ADDRESS ON FILE
CALDERON RIVERA, REYES         ADDRESS ON FILE
CALDERON RIVERA, ROSA          ADDRESS ON FILE




                                                                           Page 1070 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1071 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Calderon Rivera, Victor L.      ADDRESS ON FILE
CALDERON RIVERA, ZAIDA          ADDRESS ON FILE
CALDERON ROBLES, ANA J          ADDRESS ON FILE
CALDERON ROBLES, ANGEL          ADDRESS ON FILE
CALDERON ROBLES, ENRIQUE        ADDRESS ON FILE
CALDERON ROBLES, JUANA M.       ADDRESS ON FILE
CALDERON RODRIGUEZ MD, RAFAEL   ADDRESS ON FILE
Calderon Rodriguez, Angel L     ADDRESS ON FILE
CALDERON RODRIGUEZ, AWILDA      ADDRESS ON FILE
CALDERON RODRIGUEZ, CINDY       ADDRESS ON FILE
CALDERON RODRIGUEZ, EDNA M      ADDRESS ON FILE
CALDERON RODRIGUEZ, EDUVINA     ADDRESS ON FILE
CALDERON RODRIGUEZ, ELVIRA      ADDRESS ON FILE
Calderon Rodriguez, Francisco   ADDRESS ON FILE
CALDERON RODRIGUEZ, JEAN C      ADDRESS ON FILE
CALDERON RODRIGUEZ, JEAN C      ADDRESS ON FILE
CALDERON RODRIGUEZ, JEANNETTE   ADDRESS ON FILE
CALDERON RODRIGUEZ, JOSE        ADDRESS ON FILE
CALDERON RODRIGUEZ, JOSE        ADDRESS ON FILE
CALDERON RODRIGUEZ, JOSE        ADDRESS ON FILE
CALDERON RODRIGUEZ, JOSE A      ADDRESS ON FILE
CALDERON RODRIGUEZ, JOSE G      ADDRESS ON FILE
CALDERON RODRIGUEZ, JULIAN      ADDRESS ON FILE
CALDERON RODRIGUEZ, LINDA       ADDRESS ON FILE
CALDERON RODRIGUEZ, LUIS        ADDRESS ON FILE
CALDERON RODRIGUEZ, NIMIABEL    ADDRESS ON FILE
CALDERON RODRIGUEZ, RAFAEL      ADDRESS ON FILE
CALDERON RODRIGUEZ, RAFAEL      ADDRESS ON FILE
CALDERON RODRIGUEZ, RAFAEL      ADDRESS ON FILE
CALDERON RODRIGUEZ, SANDRA E.   ADDRESS ON FILE
CALDERON RODRIGUEZ, SANTIAGO    ADDRESS ON FILE
CALDERON RODRIGUEZ, VICENTE     ADDRESS ON FILE
CALDERON RODRIGUEZ, WANDA       ADDRESS ON FILE
CALDERON RODRIGUEZ, YAZULIE     ADDRESS ON FILE
CALDERON ROJAS, BETZAIDA        ADDRESS ON FILE
CALDERON ROLON, MANUEL          ADDRESS ON FILE
CALDERON ROMAN, DELIS E         ADDRESS ON FILE
CALDERON ROMAN, LEILA           ADDRESS ON FILE
CALDERON ROMAN, LLANARYS        ADDRESS ON FILE
CALDERON ROMAN, MARIA A         ADDRESS ON FILE
CALDERON ROMAN, YILLIAM         ADDRESS ON FILE
CALDERON ROMERO, GIOVANNI       ADDRESS ON FILE
CALDERON ROMERO, GUILLERMINA    ADDRESS ON FILE
CALDERON ROMERO, JOSE A.        ADDRESS ON FILE
CALDERON ROMERO, MANUEL         ADDRESS ON FILE
CALDERON ROMERO, MARIA DEL C.   ADDRESS ON FILE
CALDERON ROMERO, ZORAIDA        ADDRESS ON FILE
CALDERON ROSA, LUZ Y            ADDRESS ON FILE
CALDERON ROSA, LUZ Y            ADDRESS ON FILE
Calderon Rosa, Maria L          ADDRESS ON FILE
CALDERON ROSA, TANIA L.         ADDRESS ON FILE
Calderon Rosado, Edwin          ADDRESS ON FILE
CALDERON ROSADO, JORGE          ADDRESS ON FILE
CALDERON ROSADO, JOSE           ADDRESS ON FILE
CALDERON ROSADO, JOYCE          ADDRESS ON FILE
CALDERON ROSADO, JOYCE          ADDRESS ON FILE
CALDERON ROSADO, MARGARITA      ADDRESS ON FILE
CALDERON ROSADO, MARICELYS      ADDRESS ON FILE
CALDERON ROSARIO, ALEXIS        ADDRESS ON FILE
CALDERON ROSARIO, AMARILIZ      ADDRESS ON FILE




                                                                            Page 1071 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1072 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALDERON ROSARIO, CAMIRIS         ADDRESS ON FILE
CALDERON ROSARIO, ERYCETH         ADDRESS ON FILE
CALDERON ROSARIO, HECTOR          ADDRESS ON FILE
CALDERON ROSARIO, JERRY           ADDRESS ON FILE
CALDERON ROSARIO, JOEL            ADDRESS ON FILE
CALDERON ROSARIO, JOEL            ADDRESS ON FILE
CALDERON ROSARIO, JOEL A.         ADDRESS ON FILE
CALDERON ROSARIO, JOSHUA L        ADDRESS ON FILE
CALDERON ROSARIO, VICTOR          ADDRESS ON FILE
CALDERON ROSARIO,JOEL             ADDRESS ON FILE
Calderon Ruiz, Jacqueline         ADDRESS ON FILE
CALDERON SALCEDO, MYRIAM          ADDRESS ON FILE
CALDERON SANCHEZ MD, EVA Y        ADDRESS ON FILE
CALDERON SANCHEZ, ALFREDO         ADDRESS ON FILE
CALDERON SANCHEZ, ALFREDO         ADDRESS ON FILE
CALDERON SANCHEZ, CRUZ            ADDRESS ON FILE
CALDERON SANCHEZ, ERIC            ADDRESS ON FILE
CALDERON SANCHEZ, GERARDO         ADDRESS ON FILE
CALDERON SANCHEZ, NOEMI           ADDRESS ON FILE
CALDERON SANCHEZ, PEDRO A.        ADDRESS ON FILE
CALDERON SANCHEZ, ROSAURA         ADDRESS ON FILE
CALDERON SANCHEZ, WANDA ENID      ADDRESS ON FILE
CALDERON SANCHEZ, YOLANDA         ADDRESS ON FILE
CALDERON SANJURJO, EDWIN A        ADDRESS ON FILE
CALDERON SANTANA, CARMEN          ADDRESS ON FILE
CALDERON SANTANA, EDWIN           ADDRESS ON FILE
CALDERON SANTANA, MARTINA         ADDRESS ON FILE
CALDERON SANTANA, PABLO           ADDRESS ON FILE
CALDERON SANTIAGO MD, ROBERTO A   ADDRESS ON FILE
CALDERON SANTIAGO, AMNERIS        ADDRESS ON FILE
CALDERON SANTIAGO, AMNERIS C      ADDRESS ON FILE
CALDERON SANTIAGO, DAVID          ADDRESS ON FILE
CALDERON SANTIAGO, FRANCISCO      ADDRESS ON FILE
CALDERON SANTIAGO, JEANNETTE      ADDRESS ON FILE
CALDERON SANTIAGO, JESSICA        ADDRESS ON FILE
CALDERON SANTIAGO, JOSE           ADDRESS ON FILE
CALDERON SANTIAGO, RAFAEL         ADDRESS ON FILE
CALDERON SANTOS, AMADA            ADDRESS ON FILE
CALDERON SANTOS, JONATHAN         ADDRESS ON FILE
CALDERON SANTOS, JORGE            ADDRESS ON FILE
CALDERON SANTOS, WANDA E          ADDRESS ON FILE
CALDERON SANTOS, WANDA E.         ADDRESS ON FILE
CALDERON SEDA, ERWIN              ADDRESS ON FILE
CALDERON SEGARRA, CARMELINA       ADDRESS ON FILE
CALDERON SERRA, SILA M            ADDRESS ON FILE
CALDERON SERRANO, ANA             ADDRESS ON FILE
CALDERON SERRANO, ANA S.          ADDRESS ON FILE
CALDERON SERRANO, JORGE           ADDRESS ON FILE
CALDERON SERRANO, MICHELLE        ADDRESS ON FILE
CALDERON SERRANO, MICHELLE        ADDRESS ON FILE
CALDERON SERRANO, ORLANDO         ADDRESS ON FILE
CALDERON SERRANO, ORLANDO         ADDRESS ON FILE
CALDERON SGUIABRO, DIANA LUZ      ADDRESS ON FILE
CALDERON SIERRA, YESENIA          ADDRESS ON FILE
CALDERON SILVA, BEATRIZ           ADDRESS ON FILE
CALDERON SITIRICHE, SAMUEL        ADDRESS ON FILE
CALDERON SOLIS, LINDA             ADDRESS ON FILE
CALDERON SOSTRE, MARGARITA        ADDRESS ON FILE
CALDERON SOSTRE, VIRGINIA         ADDRESS ON FILE
CALDERON SOTO, ERIC               ADDRESS ON FILE




                                                                              Page 1072 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1073 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Calderon Soto, Marjorie           ADDRESS ON FILE
CALDERON TALAVERA, RUTH           ADDRESS ON FILE
Calderon Talavera, Wilfredo       ADDRESS ON FILE
CALDERON TANCO, CATALINA          ADDRESS ON FILE
CALDERON TEJEDA, MARTHA           ADDRESS ON FILE
CALDERON TELLADO, JOANN M         ADDRESS ON FILE
CALDERON TOLENTINO, CARMELO       ADDRESS ON FILE
CALDERON TORRES, ALAN             ADDRESS ON FILE
Calderon Torres, Alan j           ADDRESS ON FILE
CALDERON TORRES, AMALIA           ADDRESS ON FILE
Calderon Torres, Edwin            ADDRESS ON FILE
CALDERON TORRES, EDWIN            ADDRESS ON FILE
Calderon Torres, Gloria E.        ADDRESS ON FILE
CALDERON TORRES, HECTOR           ADDRESS ON FILE
CALDERON TORRES, IDA L            ADDRESS ON FILE
CALDERON TORRES, IVONNE D.        ADDRESS ON FILE
CALDERON TORRES, LUIS             ADDRESS ON FILE
CALDERON TORRES, MADELINE         ADDRESS ON FILE
CALDERON TORRES, MARIA DE LOS A   ADDRESS ON FILE
CALDERON TORRES, MARIAM M         ADDRESS ON FILE
CALDERON TORRES, MARITZA          ADDRESS ON FILE
CALDERON TORRES, MILAGROS         ADDRESS ON FILE
CALDERON TORRES, MILDRED I.       ADDRESS ON FILE
CALDERON TORRES, ROBERTO          ADDRESS ON FILE
CALDERON TORRES, SONIA I          ADDRESS ON FILE
CALDERON TORRES, WILBERT          ADDRESS ON FILE
CALDERON TORRES, ZELMA            ADDRESS ON FILE
CALDERON TOVAR, EFRAIN            ADDRESS ON FILE
CALDERON VALDES, GREGORIO         ADDRESS ON FILE
Calderon Vargas, Santos           ADDRESS ON FILE
CALDERON VAZGUEZ, SANTIAGO        ADDRESS ON FILE
CALDERON VAZQUEZ, EVA E           ADDRESS ON FILE
CALDERON VAZQUEZ, LUNEDYS         ADDRESS ON FILE
CALDERON VEGA, IRIANA             ADDRESS ON FILE
CALDERON VEGA, JESUS              ADDRESS ON FILE
CALDERON VEGA, JESUS              ADDRESS ON FILE
CALDERON VEGA, JOSUE              ADDRESS ON FILE
CALDERON VEGA, JULIO L.           ADDRESS ON FILE
CALDERON VEGA, MERCEDES           ADDRESS ON FILE
CALDERON VEGA, MITZA              ADDRESS ON FILE
CALDERON VEGA, ORLANDO            ADDRESS ON FILE
CALDERON VEGUILLA, EDGAR          ADDRESS ON FILE
CALDERON VEGUILLA, JASMIN         ADDRESS ON FILE
CALDERON VELAZQUEZ, ABIGAIL       ADDRESS ON FILE
CALDERON VELAZQUEZ, MARIA L.      ADDRESS ON FILE
CALDERON VELEZ, ALEXANDRA         ADDRESS ON FILE
CALDERON VELEZ, DANNETTE          ADDRESS ON FILE
CALDERON VELEZ, ERNESTO M         ADDRESS ON FILE
CALDERON VELEZ, GINATHA           ADDRESS ON FILE
CALDERON VELEZ, JOSE              ADDRESS ON FILE
CALDERON VERDEJO, JOEL            ADDRESS ON FILE
CALDERON VERDEJO, JOSE A          ADDRESS ON FILE
CALDERON VERDEJO, SUSANA          ADDRESS ON FILE
CALDERON VICENTE, JOSE            ADDRESS ON FILE
CALDERON VIERA, LILLIAM           ADDRESS ON FILE
CALDERON VIERA, LUZ N             ADDRESS ON FILE
CALDERON VIGO, LUICETTE M         ADDRESS ON FILE
CALDERON VIGO, LUIS               ADDRESS ON FILE
CALDERON VILLA, JUAN E.           ADDRESS ON FILE
CALDERON VIZCARRONDO, ANGEL       ADDRESS ON FILE




                                                                              Page 1073 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1074 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
CALDERON, ANA I.                 ADDRESS ON FILE
CALDERON, ANDREA                 ADDRESS ON FILE
CALDERON, DAVID                  ADDRESS ON FILE
CALDERON, ELIZABETH              ADDRESS ON FILE
CALDERON, FERNANDO               ADDRESS ON FILE
CALDERON, FRANCISCO              ADDRESS ON FILE
CALDERON, GILBERTO               ADDRESS ON FILE
CALDERON, JOSUE                  ADDRESS ON FILE
Calderon, Maria                  ADDRESS ON FILE
CALDERON, MARIA D                ADDRESS ON FILE
CALDERON, MARIA DEL C            ADDRESS ON FILE
CALDERON, PETER                  ADDRESS ON FILE
CALDERON, SARITA                 ADDRESS ON FILE
CALDERON, VICTOR                 ADDRESS ON FILE
CALDERON, WIGBERTO               ADDRESS ON FILE
CALDERON, YESENIA                ADDRESS ON FILE
CALDERON,JULIO                   ADDRESS ON FILE
CALDERONPEREZ, TIRSON            ADDRESS ON FILE
CALDERONREYES, JOSE A            ADDRESS ON FILE
CALDERO‐PEREZ, NOEMI             ADDRESS ON FILE
CALDOSOS INC                     HC 72 BOX 3410                                                                   NARANJITO         PR      00719
CALDRON NEVAREZ, FELIX L.        ADDRESS ON FILE
CALE ALVAREZ, EUSTAQUIO          ADDRESS ON FILE
CALEB A CORTES MERCADO           ADDRESS ON FILE
CALEB CUASCUT CEDENO             ADDRESS ON FILE
CALEB JIMENEZ RODRIGUEZ          ADDRESS ON FILE
CALEB JOEL CRUZ PIZARRO          ADDRESS ON FILE
CALEB L. DIAZ REYES              ADDRESS ON FILE
CALEB L. DIAZ REYES              ADDRESS ON FILE
CALEB LAUREANO VELEZ             ADDRESS ON FILE
CALEB LOPEZ AYALA                ADDRESS ON FILE
CALEB M ACOSTA SANTIAGO          ADDRESS ON FILE
CALEB MARTINEZ RODRIGUEZ         ADDRESS ON FILE
CALEB ROSARIO                    ADDRESS ON FILE
CALEB Y HERNANDEZ ROMAN          ADDRESS ON FILE
CALENDA ABBAGNANO, BRUNO         ADDRESS ON FILE
CALENDA PORTILLA, BRUNO          ADDRESS ON FILE
CALENDARIA RIVERA, AXEL          ADDRESS ON FILE
CALENDARIO Y AGENDAS DE PR       H 24 CALLE MEXICO                                                                SABANA GRANDE     PR      00637
CALENTADORES BORICUA SOL         PO BOX 1375                                                                      QUEBRADILLAS      PR      00678
CALENZANI MATTOS, HILDA          ADDRESS ON FILE
CALERO ALFARO, ANTHONY           ADDRESS ON FILE
CALERO ALFARO, HARRY             ADDRESS ON FILE
CALERO ALFARO, MARIA             ADDRESS ON FILE
CALERO ALFARO, MARIA 5           ADDRESS ON FILE
CALERO ALFARO, NANCY             ADDRESS ON FILE
CALERO ALFARO, PETTER            ADDRESS ON FILE
CALERO ALVAREZ, ENIT             ADDRESS ON FILE
CALERO ALVAREZ, SANDRA I         ADDRESS ON FILE
CALERO ASENCIO, KRYSTAL          ADDRESS ON FILE
CALERO ASENCIO, ROBERTO N        ADDRESS ON FILE
CALERO BONILLA, DILIA            ADDRESS ON FILE
CALERO CANABAL, IVAN             ADDRESS ON FILE
CALERO CANABAL, NIDIA            ADDRESS ON FILE
CALERO CARRION, RAMON            ADDRESS ON FILE
CALERO CAY VILA, MARIA T         ADDRESS ON FILE
CALERO CEREZO MD, FERNANDO M     ADDRESS ON FILE
CALERO DE LA CRUZ, ELIS MARIE    ADDRESS ON FILE
CALERO DEL VALLE, JUAN ANTONIO   ADDRESS ON FILE
CALERO DEL VALLE, SONIA M        ADDRESS ON FILE




                                                                             Page 1074 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1075 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALERO DIAZ, AEMY             ADDRESS ON FILE
CALERO DIMAIO, JOHNATAN       ADDRESS ON FILE
CALERO DISTRIBUTORS INC       URB VENUS GARDENS         1674 HIDALGO                                           SAN JUAN     PR      00926‐4646
CALERO FERNANDEZ, DORIS       ADDRESS ON FILE
CALERO FERNANDEZ, LUIS        ADDRESS ON FILE
CALERO FERNANDEZ, LUIS F.     ADDRESS ON FILE
CALERO FONT, FRANCISCO        ADDRESS ON FILE
CALERO FONT, MARICARMEN       ADDRESS ON FILE
CALERO GARCIA, LISA           ADDRESS ON FILE
CALERO GARCIA, SANTA B        ADDRESS ON FILE
CALERO GOMEZ, DIANA L.        ADDRESS ON FILE
CALERO GOMEZ, IDAMIS          ADDRESS ON FILE
CALERO GONZALEZ, ANAIS        ADDRESS ON FILE
CALERO GONZALEZ, JACQUELINE   ADDRESS ON FILE
CALERO GONZALEZ, YOLANDA      ADDRESS ON FILE
CALERO GUZMAN, CARLOS         ADDRESS ON FILE
CALERO HERRERA, MARIA DE A.   ADDRESS ON FILE
Calero Huertas, Julio C       ADDRESS ON FILE
CALERO JUARBE, CALIXTO        ADDRESS ON FILE
CALERO JUARBE, VICENTA        ADDRESS ON FILE
CALERO LOPEZ, MARIA           ADDRESS ON FILE
CALERO MARIN, MARIA DE L      ADDRESS ON FILE
CALERO MARIN, MARIA DE L.     ADDRESS ON FILE
CALERO MARTINEZ, MARTA        ADDRESS ON FILE
CALERO MERCADO, SANTA M       ADDRESS ON FILE
CALERO MORALES, MARISOL       ADDRESS ON FILE
CALERO MULERO, IVETTE         ADDRESS ON FILE
CALERO PAGAN, HERIBERTO       ADDRESS ON FILE
Calero Pagan, Humberto        ADDRESS ON FILE
CALERO PAGAN, KEISHLA         ADDRESS ON FILE
CALERO QUINONES, DORITZA      ADDRESS ON FILE
CALERO RAMIREZ, ALEXIS        ADDRESS ON FILE
CALERO RECIO, CARLOS A.       ADDRESS ON FILE
CALERO RIVERA, JUAN           ADDRESS ON FILE
CALERO SOSA, NORMA            ADDRESS ON FILE
CALERO SUAREZ, JOSE NOEL      ADDRESS ON FILE
CALERO SUAREZ, SYLVIA         ADDRESS ON FILE
CALERO TIRADO, ERMELINDA      ADDRESS ON FILE
CALERO TORRES, BASILISA       ADDRESS ON FILE
CALERO VAZQUEZ, MELISSA       ADDRESS ON FILE
CALERO VELAZQUEZ, MARIA M     ADDRESS ON FILE
CALERO VELEZ, JOSE R.         ADDRESS ON FILE
CALERO VELEZ, JOSE R.         ADDRESS ON FILE
CALERO VELEZ, LARRY           ADDRESS ON FILE
CALERO VELEZ, WILLIAM         ADDRESS ON FILE
CALES CALES, SERGIO           ADDRESS ON FILE
CALES CANLER, VICTOR          ADDRESS ON FILE
CALES CRUZ, JERRY W           ADDRESS ON FILE
CALES CRUZ, NORMA I           ADDRESS ON FILE
CALES FRATICELLI MD, XAVIER   ADDRESS ON FILE
CALES FRATICELLI, ARISTIDES   ADDRESS ON FILE
CALES FRATICELLI, XAVIER      ADDRESS ON FILE
CALES LOPEZ, EDGARDO          ADDRESS ON FILE
CALES LOPEZ, LUIS             ADDRESS ON FILE
CALES MORALES, MARTHA         ADDRESS ON FILE
CALES PACHECO, EDWIN          ADDRESS ON FILE
Cales Pacheco, Edwin E        ADDRESS ON FILE
CALES PACHECO, ELVIN          ADDRESS ON FILE
CALES PACHECO, MIGDALIA       ADDRESS ON FILE
CALES PEREZ, PAULA I          ADDRESS ON FILE




                                                                          Page 1075 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1076 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                             Address1                           Address2                                 Address3   Address4   City              State   PostalCode   Country
CALES RAMOS, SANDRA                       ADDRESS ON FILE
CALES RIVERA, DELIA I                     ADDRESS ON FILE
CALES RIVERA, EDWIN                       ADDRESS ON FILE
CALES RIVERA, EDWIN                       ADDRESS ON FILE
CALES RODRIGUEZ, OMAR                     ADDRESS ON FILE
CALES RODRIGUEZ, OMAR ANTONIO             ADDRESS ON FILE
CALES SANTIAGO, LOURDES                   ADDRESS ON FILE
CALES TORRES, ROSABEL                     ADDRESS ON FILE
CALES, JOSE                               ADDRESS ON FILE
CALESA MOTORS INC.                        PO BOX 6957                                                                                       CAGUAS            PR      00726
CALET JAMIL VELAZQUEZ TOLENTINO           ADDRESS ON FILE
CALEX FIGUEROA BOBE                       ADDRESS ON FILE
CALEZ TORRES, ROSA J                      ADDRESS ON FILE
CALF INC                                  AVE FD ROOSEVELT #1246 SUITE 206   100 GRAN BOULEVAR PASEO                                        SAN JUAN          PR      00926
CALI NURSERIES / HECTOR A SANTIAGO        PMB 318 HC 72 BOX 3766                                                                            NARANJITO         PR      00719
CALIDAD AUTO SALES CORP.                  LCDO. ALBERTO J. TORRADO DELGADO   PO BOX 1329                                                    HATILLO           PR      00659‐1329
CALIDAD AUTO SALES, INC./ GLADYS YOLANDA MLCDO. ALBERTO J. TORRADO DELGADO   PO Box 1329                                                    HATILLO           PR      00659‐1329
CALIDAD DE VIDA VECINAL INC OCEAN PARK    1962 CALLE ESPANA                                                                                 SAN JUAN          PR      00911
CALIFANO, LUIGI                           ADDRESS ON FILE
CALIFORNIA DISTRICT ATTORNEY ASSOCIATION 921 11TH STREET                     SUITE 300                                                      SACRAMENTO        CA      95814
CALIFORNIA STATE DISBURSEMENT UNIT        PO BOX 989067                                                                                     WEST SACRAMENTO   CA      95798‐9067
Calimano Diaz, Jose                       ADDRESS ON FILE
CALIMANO GUARDIOLA MD, CARLOS             ADDRESS ON FILE
CALIMANO PLUMEY, STEVE                    ADDRESS ON FILE
CALIMANO RAMOS, ROBERT                    ADDRESS ON FILE
CALIMANO RIVERA, MILKA                    ADDRESS ON FILE
CALIMANO SOSA, RICHARD                    ADDRESS ON FILE
CALIMANO,FERNANDO                         ADDRESS ON FILE
CALIMAX PROPERTIES CORP                   URB. CAGUAS NORTE                  U‐4 CALLE NEBRASKA                                             CAGUAS            PR      00725
CALINES GUERRERO DIAZ                     ADDRESS ON FILE
CALIPER CORP                              1172 BEACON STREET                                                                                NEWTON            MA      02461
CALIPER LIFE SCIENCES, INC.               68 ELM STREET                                                                                     HOPKINTON         MA      01748
CALISTO PEREZ, CARLOS A.                  ADDRESS ON FILE
CALIX DIAZ RIVERA                         ADDRESS ON FILE
CALIXTA CAJIGAS LUGO                      ADDRESS ON FILE
CALIXTA GONZALEZ HERRERA                  ADDRESS ON FILE
CALIXTA GONZALEZ HERRERA                  ADDRESS ON FILE
CALIXTA RAMOS RODRIGUEZ                   ADDRESS ON FILE
CALIXTA RODRIGUEZ VAZQUEZ                 ADDRESS ON FILE
CALIXTO CAMACHO, CARMEN A                 ADDRESS ON FILE
CALIXTO CAMACHO, GUILLERMO J.             ADDRESS ON FILE
CALIXTO CAMACHO, LUIS                     ADDRESS ON FILE
CALIXTO CAMACHO, MILAGROS                 ADDRESS ON FILE
CALIXTO CAMANO DE JESUS                   ADDRESS ON FILE
CALIXTO COLON CRUZ / MAGDALIS FERNANDEZ ADDRESS ON FILE
CALIXTO CORREA SANTIAGO                   ADDRESS ON FILE
CALIXTO DE JESUS, ERIKA                   ADDRESS ON FILE
CALIXTO DE JESUS, HECTOR                  ADDRESS ON FILE
CALIXTO DE LEON, MARY C.                  ADDRESS ON FILE
CALIXTO DIAZ SANCHEZ                      ADDRESS ON FILE
CALIXTO GARCIA, YINETTE                   ADDRESS ON FILE
CALIXTO GOMEZ DE JESUS                    ADDRESS ON FILE
CALIXTO GUZMAN FERREIRA                   ADDRESS ON FILE
CALIXTO LABOY, CELESTINO                  ADDRESS ON FILE
CALIXTO LEBRON, DELIA                     ADDRESS ON FILE
CALIXTO LOPEZ, EVELYN                     ADDRESS ON FILE
CALIXTO LOPEZ, LUIS A                     ADDRESS ON FILE
CALIXTO MARRERO OQUENDO                   ADDRESS ON FILE
CALIXTO MARTINEZ, JOEL                    ADDRESS ON FILE
CALIXTO MARTINEZ, LUZ B                   ADDRESS ON FILE




                                                                                                       Page 1076 of 10031
                                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                                  Exhibit A-1 - Creditor     Matrix
                                                                                       Case No.              Page 1077 of 3500
                                                                                                17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                                    Address1                                Address2                    Address3   Address4   City          State   PostalCode   Country
CALIXTO MIRANDA, OMAR                            ADDRESS ON FILE
CALIXTO ORTIZ, RICARDO                           ADDRESS ON FILE
CALIXTO RAMIREZ, MARIELIS                        ADDRESS ON FILE
CALIXTO RIVERA, EVELYN                           ADDRESS ON FILE
CALIXTO RODRIGUEZ, EVELYN                        ADDRESS ON FILE
CALIXTO RODRIGUEZ, LESBIA                        ADDRESS ON FILE
CALIXTO RODRIGUEZ, MARIA                         ADDRESS ON FILE
CALIXTO RODRIGUEZ, SANTOS                        ADDRESS ON FILE
CALIXTO RODRIGUEZ, WILMA                         ADDRESS ON FILE
CALIXTO SANTIAGO SANTIAGO                        ADDRESS ON FILE
CALIXTO TORRES, ZORY                             ADDRESS ON FILE
CALIXTO VEGA, CECILIA                            ADDRESS ON FILE
CALIXTO VEGA, GUILLERMINA                        ADDRESS ON FILE
CALIXTO VEGA, MARIA                              ADDRESS ON FILE
CALIXTO VEGA, SYLVANA                            ADDRESS ON FILE
CALIZ APONTE, LOURDES V                          ADDRESS ON FILE
CALIZ CORDERO, AIDA L                            ADDRESS ON FILE
Caliz Cordero, Griselda                          ADDRESS ON FILE
CALIZ CORDERO, MIRTA J                           ADDRESS ON FILE
CALIZ DIAZ, JOVIED                               ADDRESS ON FILE
CALIZ LUGO, JOSE                                 ADDRESS ON FILE
CALIZ MARTINEZ, EDGAR                            ADDRESS ON FILE
CALIZ MARTINEZ, JOSE A.                          ADDRESS ON FILE
CALIZ MORALES, YEIDIMAR                          ADDRESS ON FILE
CALIZ PABELLON, GLORIA I.                        ADDRESS ON FILE
Caliz Pina, Jorge L.                             ADDRESS ON FILE
CALIZ PINA, MAGDA                                ADDRESS ON FILE
CALIZ RAMIREZ, RAQUEL M                          ADDRESS ON FILE
CALIZ RIOS, JOSE                                 ADDRESS ON FILE
CALIZ RODRIGUEZ, MIGUEL                          ADDRESS ON FILE
CALIZ RUIZ, BEATRIZ                              ADDRESS ON FILE
Caliz Ruiz, Wilfredo                             ADDRESS ON FILE
CALIZ SOTO, CHARYTI                              ADDRESS ON FILE
CALIZ, JOSE A                                    ADDRESS ON FILE
CALIZNEGRON, MINELIZ                             ADDRESS ON FILE
Call Catchers, Inc. d/b/a FreedomVoice Systems   169 SAXONY RD STE 212                                                                     ENCINITAS     CA      92024‐6781
CALLAGHAN & COMPANY                              155 PFINGSTEN ROAD DEERFIELD                                                              CHICAGO       IL      60015‐4998
CALLAROTTI FRACCHIA, ROBERTO                     ADDRESS ON FILE
CALLE KWOK, ALBERTO                              ADDRESS ON FILE
CALLE KWOK, ALBERTO A.                           ADDRESS ON FILE
CALLE PEREZ, NATHALY ZORELYS                     ADDRESS ON FILE
CALLE PESANTES, SARA                             ADDRESS ON FILE
CALLEJA ALFONSO, AMARILLYS                       ADDRESS ON FILE
CALLEJA DELGADO, AMANDA                          ADDRESS ON FILE
CALLEJAS APONTE, VILMA                           ADDRESS ON FILE
CALLEJAS MD, GUSTAVO                             ADDRESS ON FILE
CALLEJAS ORTIZ, MADELINE                         ADDRESS ON FILE
CALLEJAS RAMOS, ANGEL                            ADDRESS ON FILE
CALLEJO ALICEA, SAMUEL                           ADDRESS ON FILE
CALLEJO ORENGO, JANELISSE                        LCDO. GUILLERMO DAVID RODRIGUEZ SERRANO+PO BOX 518                                        ARECIBO       PR      00613‐0518
CALLEJO ORENGO, JANELISSE                        LCDO. HECTOR A. CORTES BABILONIA        PO BOX 896                                        ARECIBO       PR      00613
CALLEJO RODRIGUEZ, AMARILYS                      ADDRESS ON FILE
CALLEJO ZEGARRA, FERNANDO                        ADDRESS ON FILE
CALLETANO TEJEDA, SANDRA                         ADDRESS ON FILE
CALLIGARI, WALTER                                ADDRESS ON FILE
CALLUPIL GAUDIO, MARIA DE                        ADDRESS ON FILE
CALLUPIL GAUDIO, MARIA DE LAS M                  ADDRESS ON FILE
CALLWOOD MD, LINDA                               ADDRESS ON FILE
CALO AGOSTO, VONMARIE                            ADDRESS ON FILE
CALO ALIFONSO, VICKYMERCE                        ADDRESS ON FILE




                                                                                                      Page 1077 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1078 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALO ALVAREZ, NELSON          ADDRESS ON FILE
CALO ALVAREZ, REIMON          ADDRESS ON FILE
CALO APONTE, AIDA L.          ADDRESS ON FILE
CALO BENITEZ, MAGALI          ADDRESS ON FILE
CALO BETANCOURT, CARMEN I.    ADDRESS ON FILE
CALO BIRRIEL, ARIEL           ADDRESS ON FILE
CALO BIRRIEL, BEATRIZ         ADDRESS ON FILE
CALO BIRRIEL, GLORIA          ADDRESS ON FILE
CALO BIRRIEL, MILAGROS        ADDRESS ON FILE
CALO BIRRIEL, NANCY           ADDRESS ON FILE
CALO CALDERON, JUAN           ADDRESS ON FILE
CALO CALDERON, KATIRIA        ADDRESS ON FILE
CALO CALO, JERRY              ADDRESS ON FILE
CALO CARRASQUILLO, ANA M      ADDRESS ON FILE
CALO CARRASQUILLO, JOSE R.    ADDRESS ON FILE
Calo Carrasquillo, Juan       ADDRESS ON FILE
CALO CARRERAS, IVELISSE       ADDRESS ON FILE
CALO CASTRO, ANDY             ADDRESS ON FILE
CALO CASTRO, LISA             ADDRESS ON FILE
CALO CASTRO, NILSA E          ADDRESS ON FILE
CALO CASTRO, ROSA             ADDRESS ON FILE
CALO CLASS, GLORIDELYS M      ADDRESS ON FILE
CALO CORDOVA, HERMINIO        ADDRESS ON FILE
CALO CRUZ, SHAKIRA            ADDRESS ON FILE
CALO CRUZ, ZAMIRA             ADDRESS ON FILE
CALO DE LA TORRE, STEPHANIE   ADDRESS ON FILE
CALO DIAZ, KELVIN L           ADDRESS ON FILE
CALO DIAZ, KELVIN L           ADDRESS ON FILE
CALO DIAZ, MARITZA            ADDRESS ON FILE
CALO FALERO, BIENVENIDA       ADDRESS ON FILE
CALO FALERO, JOHANA           ADDRESS ON FILE
CALO FERNANDEZ, ISABEL S      ADDRESS ON FILE
CALO FERNANDEZ, ISAI          ADDRESS ON FILE
CALO FERNANDEZ, JUAN R        ADDRESS ON FILE
CALO FERNANDEZ, NILZA         ADDRESS ON FILE
CALO FERNANDEZ, SHEILA E      ADDRESS ON FILE
CALO FIGUEROA, DAMARIS        ADDRESS ON FILE
CALO FIGUEROA, ERIC           ADDRESS ON FILE
CALO FIGUEROA, OSCAR          ADDRESS ON FILE
CALO FLORES, AMANDA           ADDRESS ON FILE
CALO FLORES, DANNY            ADDRESS ON FILE
Calo Flores, Marilyn          ADDRESS ON FILE
CALO GARCIA, ARLENE L         ADDRESS ON FILE
CALO GARCIA, NORMA I          ADDRESS ON FILE
CALO GONZALEZ, LORRAINE       ADDRESS ON FILE
CALO GONZALEZ, LORRAINE       ADDRESS ON FILE
CALO HIRALDO, CARMEN M.       ADDRESS ON FILE
CALO LEBRON, HECTOR           ADDRESS ON FILE
CALO LEON, JANICE             ADDRESS ON FILE
CALO MALDONADO, JOSE          ADDRESS ON FILE
CALO MARTINEZ, JAIME          ADDRESS ON FILE
CALO MASA, SERAFIN            ADDRESS ON FILE
CALO MASSA, OSCAR             ADDRESS ON FILE
CALO MATIAS, JACOB J          ADDRESS ON FILE
CALO MEDINA, JOMARY           ADDRESS ON FILE
CALO MELENDEZ, RAFAEL E.      ADDRESS ON FILE
CALO MELENDEZ, RUBEN          ADDRESS ON FILE
CALO MORALES, EILEEN          ADDRESS ON FILE
CALO OCASIO, ELIZABETH        ADDRESS ON FILE
CALO PAGAN, LUZ J             ADDRESS ON FILE




                                                                          Page 1078 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1079 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALO PASTRANA, LOURDES             ADDRESS ON FILE
CALO PEREZ, JOSE                   ADDRESS ON FILE
CALO PEREZ, KAREM                  ADDRESS ON FILE
CALO PEREZ, KAREM                  ADDRESS ON FILE
CALO PEREZ, MARIA MERCEDES         ADDRESS ON FILE
CALO PEREZ,WILLIAM ALEXIS          ADDRESS ON FILE
Calo Pratts, Rafael                ADDRESS ON FILE
CALO RAMIREZ, BRENDA               ADDRESS ON FILE
Calo Ramirez, Brenda L.            ADDRESS ON FILE
CALO RAMIREZ, JOSEPHINE            ADDRESS ON FILE
CALO RIVERA, CARLOS                ADDRESS ON FILE
CALO RIVERA, DORCAS                ADDRESS ON FILE
CALO RIVERA, LESLY A.              ADDRESS ON FILE
CALO RIVERA, MIGDALIA              ADDRESS ON FILE
CALO RODRIGUEZ, DORIS              ADDRESS ON FILE
CALO RODRIGUEZ, GLENDA J.          ADDRESS ON FILE
CALO RODRIGUEZ, JOSE               ADDRESS ON FILE
CALO RUIZ, MARILUZ                 ADDRESS ON FILE
CALO RUIZ, MOISES                  ADDRESS ON FILE
CALO RUIZ, SAMUEL                  ADDRESS ON FILE
CALO SANCHEZ, GLORIMAR             ADDRESS ON FILE
CALO SANTOS, CARMEN                ADDRESS ON FILE
CALO SOSA, VERONICA                ADDRESS ON FILE
CALO TOLEDO, JESSIBEL              ADDRESS ON FILE
CALO TORRES, GLADYS                ADDRESS ON FILE
CALO TORRES, IRMA R                ADDRESS ON FILE
CALO TORRES, LUIS F                ADDRESS ON FILE
CALO VEGA, REINALDO                ADDRESS ON FILE
CALO VELAZQUEZ, ALFREDO            ADDRESS ON FILE
CALO VELAZQUEZ, BILLY              ADDRESS ON FILE
CALO VELAZQUEZ, JAIME              ADDRESS ON FILE
CALO VELEZ, FILIBERTO              ADDRESS ON FILE
CALO VELEZ, GENESIS                ADDRESS ON FILE
CALO VELEZ, YARIELYS               ADDRESS ON FILE
CALO ZAMBRANA, AMNERIS             ADDRESS ON FILE
CALOCA TORRES, ARNALDO             ADDRESS ON FILE
CALOMANOSOSA, RICHARD              ADDRESS ON FILE
CALONGE AGUIRRE, DENNY             ADDRESS ON FILE
CALOWEY CIRINO LAGUNA              ADDRESS ON FILE
CALVACHE BORRERO, CARMEN M         ADDRESS ON FILE
CALVANI COLON, MARA G              ADDRESS ON FILE
CALVARY BAPTIST CHRISTIAN SCHOOL   PO BOX 3390                                                                      CAROLINA     PR      00984‐3390
CALVENTE ALVAREZ, GLADYS V         ADDRESS ON FILE
CALVENTE BERRIOS, MAGALI           ADDRESS ON FILE
CALVENTE NARVAEZ, PRISCILLA        ADDRESS ON FILE
CALVENTE ROLDAN, MARIA E           ADDRESS ON FILE
CALVENTE ROSA, EVA                 ADDRESS ON FILE
CALVENTE ROSA, GERMAN              ADDRESS ON FILE
CALVENTY GONZALEZ, TALIAN          ADDRESS ON FILE
CALVESBERT JULIA, EDWARD           ADDRESS ON FILE
CALVET, DAVID                      ADDRESS ON FILE
CALVETI DIAZ, GIOSUE N             ADDRESS ON FILE
CALVI PEREZ MD, ALEJANDRO          ADDRESS ON FILE
CALVI PEREZ, NOEL T                ADDRESS ON FILE
CALVILLO, LILIANA                  ADDRESS ON FILE
CALVIN X SANTIAGO VAZQUEZ          ADDRESS ON FILE
CALVINE TUA ALGARIN                ADDRESS ON FILE
CALVINO MURCIANO, AMELIA           ADDRESS ON FILE
CALVO BERRIOS, OMAYRA              ADDRESS ON FILE
CALVO COLLAZO, WALESKA             ADDRESS ON FILE




                                                                               Page 1079 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1080 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CALVO ESPAILLAT, EDGAR                 ADDRESS ON FILE
CALVO FEBUS, EDGAR                     ADDRESS ON FILE
CALVO GUERRERO, AMADO                  ADDRESS ON FILE
CALVO JORGE, ANA                       ADDRESS ON FILE
CALVO JULIA, JOSE                      ADDRESS ON FILE
CALVO NIEVES, EVELYN                   ADDRESS ON FILE
CALVO PASTRANA, KAMALICH               ADDRESS ON FILE
CALVO PRATTS, MERITXELL                ADDRESS ON FILE
CALVO RIVERA, CESAR                    ADDRESS ON FILE
Calvo Rivera, Cesar A                  ADDRESS ON FILE
CALVO ROJAS, LAURA                     ADDRESS ON FILE
CALVO RUIZ, HIRAM A                    ADDRESS ON FILE
CALVO SANCHEZ, MICHELLE                ADDRESS ON FILE
CALVO SANTIAGO, AIDA N.                ADDRESS ON FILE
Calvo Santiago, Ana M                  ADDRESS ON FILE
CALVO SILVA, FERNANDO                  ADDRESS ON FILE
CALVO URBINA, KENNETH W                ADDRESS ON FILE
CALZADA ACOSTA, BLANQUITA              ADDRESS ON FILE
CALZADA ALBERT, NELSON                 ADDRESS ON FILE
CALZADA BARREIRO, FRANCISCO            ADDRESS ON FILE
CALZADA BERRIOS, KARINA                ADDRESS ON FILE
CALZADA BETANCOURT, JUAN               ADDRESS ON FILE
CALZADA BETANCOURT, MARIBEL            ADDRESS ON FILE
CALZADA CANALES, ONELLIE               ADDRESS ON FILE
CALZADA CATALA, CARLOS E               ADDRESS ON FILE
CALZADA COLON, ELIAS                   ADDRESS ON FILE
CALZADA CORDERO, JUSTAMARY             ADDRESS ON FILE
CALZADA DE JESUS, JUAN LUIS            ADDRESS ON FILE
CALZADA DE JESUS, MARIBEL              ADDRESS ON FILE
CALZADA DE JESUS, MAYRA I              ADDRESS ON FILE
CALZADA DELGADO, JAVIER                ADDRESS ON FILE
CALZADA DELGADO, ORLANDO M             ADDRESS ON FILE
CALZADA FERNANDEZ, ANIXZA              ADDRESS ON FILE
CALZADA FERNANDEZ, HECTOR L            ADDRESS ON FILE
CALZADA FERNANDEZ, LUIS R              ADDRESS ON FILE
CALZADA FERNANDEZ, ROBERTO L           ADDRESS ON FILE
CALZADA GARCIA DE LA NOCEDA, JOSE A.   ADDRESS ON FILE
CALZADA GARCIA, EDUARDO                ADDRESS ON FILE
CALZADA GARCIA, HECTOR M               ADDRESS ON FILE
CALZADA GARCIA, JUSTINO                ADDRESS ON FILE
CALZADA GUADALUPE, ELIZABETH           ADDRESS ON FILE
CALZADA HERNANDEZ, CAROLINE            ADDRESS ON FILE
CALZADA JIMENEZ, LUIS                  ADDRESS ON FILE
CALZADA JIMENEZ, RAMON A.              ADDRESS ON FILE
CALZADA JIMENEZ, RAMON R.              ADDRESS ON FILE
CALZADA MARRERO, NAYMED                ADDRESS ON FILE
CALZADA MARRERO, NAYMED                ADDRESS ON FILE
CALZADA MARTINEZ, TANIA Y              ADDRESS ON FILE
CALZADA MEDERO, CARMEN M               ADDRESS ON FILE
CALZADA MERCADO, LUZ D                 ADDRESS ON FILE
CALZADA MERCADO, MARIA A               ADDRESS ON FILE
Calzada Millan, Carmen                 ADDRESS ON FILE
CALZADA MILLAN, JUAN C.                ADDRESS ON FILE
Calzada Millan, Onesimo                ADDRESS ON FILE
CALZADA MONTALVO, EVELICIA             ADDRESS ON FILE
CALZADA OLIVERA, KARLA                 ADDRESS ON FILE
CALZADA PADILLA, LUIS                  ADDRESS ON FILE
CALZADA PADILLA, TANIA D               ADDRESS ON FILE
CALZADA PEREZ, FREDDIE                 ADDRESS ON FILE
CALZADA RAMOS, ISHELL Y.               ADDRESS ON FILE




                                                                                   Page 1080 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1081 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                        Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
CALZADA RIVERA, ANTHONY              ADDRESS ON FILE
CALZADA RIVERA, ANTHONY G            ADDRESS ON FILE
CALZADA RIVERA, JOSE                 ADDRESS ON FILE
CALZADA RIVERA, JOSELINE             ADDRESS ON FILE
CALZADA ROBLEDO, BRENDA I            ADDRESS ON FILE
CALZADA ROBLES, DAMARYS              ADDRESS ON FILE
CALZADA RODRIGUEZ, SIGFREDO          ADDRESS ON FILE
CALZADA RODRIGUEZ, SIGFREDO          ADDRESS ON FILE
CALZADA ROSA, ABNER                  ADDRESS ON FILE
CALZADA SANTIAGO, GISELA S.          ADDRESS ON FILE
CALZADA SANTIAGO, JUAN               ADDRESS ON FILE
CALZADA SANTIAGO, MANUEL             ADDRESS ON FILE
CALZADA SERRANO, JULIO               ADDRESS ON FILE
CALZADA SERRANO, NILDA G             ADDRESS ON FILE
CALZADA SILVA, LORENA                ADDRESS ON FILE
CALZADA TORRES, BRENDA               ADDRESS ON FILE
CALZADA TORRES, VICTOR               ADDRESS ON FILE
CALZADA, JOSE                        ADDRESS ON FILE
CALZADILLA DEL LLA, GUILLERMO        ADDRESS ON FILE
CALZADILLA DEL LLANO, RITA           ADDRESS ON FILE
CALZADILLA GRAUX, MARIELA            ADDRESS ON FILE
CALZADILLA RIOS, JOE                 ADDRESS ON FILE
CALZADILLAS, ARTURO                  ADDRESS ON FILE
CALZADO SANTANA, SUHAIL              ADDRESS ON FILE
CALZUDES SANTOS, FULVIA              ADDRESS ON FILE
CAM SAN JUAN TENANT, LLC             8000 TARTAK STREET                                                                        CAROLINA     PR      00979
CAMA CONSTRUCTION CORP, CSP          GALERIA PASEOS            100 GRAND PASEO BLVD STE 112 PMB 394                            SAN JUAN     PR      00926‐5955
CAMACHO ACEVEDO, ARACELIS WALKIRIA   ADDRESS ON FILE
CAMACHO ACEVEDO, EDUARDO             ADDRESS ON FILE
Camacho Acevedo, Guillermo           ADDRESS ON FILE
CAMACHO ACEVEDO, LESLIE R.           ADDRESS ON FILE
Camacho Acevedo, Marcos G            ADDRESS ON FILE
CAMACHO ACEVEDO, MARITZA             ADDRESS ON FILE
CAMACHO ACEVEDO, NORGIN              ADDRESS ON FILE
CAMACHO ACEVEDO, PETER A.            ADDRESS ON FILE
CAMACHO ACEVEDO, PETER A.            ADDRESS ON FILE
CAMACHO ACEVEDO, ROBERTO             ADDRESS ON FILE
CAMACHO ACOSTA, CAMILO               ADDRESS ON FILE
CAMACHO ACOSTA, ELIZABETH            ADDRESS ON FILE
CAMACHO ACOSTA, GERINALDO            ADDRESS ON FILE
CAMACHO ACOSTA, JOANA                ADDRESS ON FILE
CAMACHO ACOSTA, MIRELLE E.           ADDRESS ON FILE
CAMACHO ACOSTA, MIRELLE E.           ADDRESS ON FILE
CAMACHO ADORNO, LOURDES S            ADDRESS ON FILE
CAMACHO ADORNO, LUIS                 ADDRESS ON FILE
Camacho Adorno, Victor               ADDRESS ON FILE
CAMACHO AGRON, JESSICA               ADDRESS ON FILE
CAMACHO AGUILA, JUAN                 ADDRESS ON FILE
Camacho Alameda, Eduardo             ADDRESS ON FILE
CAMACHO ALAMEDA, JOSE D.             ADDRESS ON FILE
CAMACHO ALBINO, ELIZABETH            ADDRESS ON FILE
CAMACHO ALBINO, IRMA                 ADDRESS ON FILE
CAMACHO ALBINO, JOSE I               ADDRESS ON FILE
CAMACHO ALCAZAR, ELSA N              ADDRESS ON FILE
CAMACHO ALDARONDO, ANGEL L           ADDRESS ON FILE
CAMACHO ALEMAN, CORALYS              ADDRESS ON FILE
CAMACHO ALGARIN, SONIA               ADDRESS ON FILE
CAMACHO ALGEA, ALFREDO               ADDRESS ON FILE
CAMACHO ALGEA, ANGEL                 ADDRESS ON FILE
CAMACHO ALICEA, ELBA N               ADDRESS ON FILE




                                                                                          Page 1081 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1082 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO ALMODOVAR, MARIA DEL P   ADDRESS ON FILE
CAMACHO ALMODOVAR, SANDRA I      ADDRESS ON FILE
CAMACHO ALVARADO, ALEXIS         ADDRESS ON FILE
CAMACHO ALVAREZ, CARLOS          ADDRESS ON FILE
CAMACHO ALVAREZ, EMANUEL         ADDRESS ON FILE
Camacho Alvarez, Guelmy O        ADDRESS ON FILE
CAMACHO ALVAREZ, JOSE            ADDRESS ON FILE
CAMACHO AMADOR, ROSA J           ADDRESS ON FILE
CAMACHO AMARO, CARLOS            ADDRESS ON FILE
CAMACHO AMBERT, MIGDALIA         ADDRESS ON FILE
CAMACHO ANDINO, IVETTE           ADDRESS ON FILE
CAMACHO ANDUJAR, CARMEN T.       ADDRESS ON FILE
CAMACHO ANDUJAR, IVELISSE        ADDRESS ON FILE
CAMACHO APONTE, LUZ I            ADDRESS ON FILE
CAMACHO AQUINO, MYRIAM           ADDRESS ON FILE
CAMACHO ARBELO, ANDRES           ADDRESS ON FILE
CAMACHO AROCHO, BYVIANNETTE      ADDRESS ON FILE
CAMACHO ARROYO, JENITZA          ADDRESS ON FILE
CAMACHO ARROYO, JORGE            ADDRESS ON FILE
CAMACHO ARROYO, RICHARD M        ADDRESS ON FILE
CAMACHO AVILA, JOSE              ADDRESS ON FILE
CAMACHO AVILA,ELIONARDO          ADDRESS ON FILE
CAMACHO AYALA, AMELIARYS         ADDRESS ON FILE
CAMACHO AYALA, JOSE              ADDRESS ON FILE
CAMACHO AYALA, MARIA M.          ADDRESS ON FILE
CAMACHO AYALA, RICARDO           ADDRESS ON FILE
CAMACHO AYALA, SUHEILY           ADDRESS ON FILE
CAMACHO AYALA, SUHEILY           ADDRESS ON FILE
Camacho Badillo, Michael         ADDRESS ON FILE
CAMACHO BADILLO, MICHAEL         ADDRESS ON FILE
CAMACHO BAEZ, FRANCISCO          ADDRESS ON FILE
CAMACHO BAEZ, LUZ M              ADDRESS ON FILE
CAMACHO BAEZ, WANDA I            ADDRESS ON FILE
CAMACHO BAEZ,JUAN                ADDRESS ON FILE
CAMACHO BALLESTER, RAMON         ADDRESS ON FILE
CAMACHO BAQUERO, MILAGROS        ADDRESS ON FILE
CAMACHO BARBOSA, EVELYN          ADDRESS ON FILE
CAMACHO BARBOSA, KAREN           ADDRESS ON FILE
CAMACHO BARBOSA, KAREN           ADDRESS ON FILE
CAMACHO BARRIENTO, JONATHAN      ADDRESS ON FILE
CAMACHO BARRIOS, MARIA           ADDRESS ON FILE
Camacho Barrios, Rafael A        ADDRESS ON FILE
CAMACHO BASCO, RAFAEL            ADDRESS ON FILE
CAMACHO BAYRON, MARTA S          ADDRESS ON FILE
CAMACHO BENITEZ, JOSE R          ADDRESS ON FILE
CAMACHO BENITEZ, LUZ M           ADDRESS ON FILE
CAMACHO BENITEZ, RAFAEL          ADDRESS ON FILE
Camacho Bermudez, Maria          ADDRESS ON FILE
CAMACHO BERMUDEZ, WANDA I.       ADDRESS ON FILE
CAMACHO BERRIOS, HECTOR          ADDRESS ON FILE
CAMACHO BERRIOS, LINETTE         ADDRESS ON FILE
CAMACHO BERRIOS, LINETTE         ADDRESS ON FILE
CAMACHO BERRIOS, MARIA           ADDRESS ON FILE
CAMACHO BESARES, BERNICE         ADDRESS ON FILE
CAMACHO BONILLA, JOSUE           ADDRESS ON FILE
CAMACHO BONILLA, MARYLIN         ADDRESS ON FILE
CAMACHO BORRERO, RAFAEL          ADDRESS ON FILE
CAMACHO BOTET MD, WANDA          ADDRESS ON FILE
CAMACHO BRAVO, JOSE              ADDRESS ON FILE
CAMACHO BURGOS, IRIS M           ADDRESS ON FILE




                                                                             Page 1082 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1083 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO BURGOS, JORGE           ADDRESS ON FILE
Camacho Burgos, Roberto         ADDRESS ON FILE
CAMACHO BURGOS, WILFREDO        ADDRESS ON FILE
CAMACHO CABEZUDO, GRETCHEN      ADDRESS ON FILE
CAMACHO CABRET, EDISA O         ADDRESS ON FILE
CAMACHO CADIZ, EVELYN           ADDRESS ON FILE
CAMACHO CADIZ, LILLIAM          ADDRESS ON FILE
CAMACHO CADIZ, WANDA            ADDRESS ON FILE
CAMACHO CALDERON, CARLOS E      ADDRESS ON FILE
CAMACHO CALDERON, EDGARD I      ADDRESS ON FILE
CAMACHO CALDERON, SONIA N.      ADDRESS ON FILE
CAMACHO CALES, ZULMA            ADDRESS ON FILE
CAMACHO CALES, ZULMA L          ADDRESS ON FILE
CAMACHO CAMACHO MD, MARIA       ADDRESS ON FILE
CAMACHO CAMACHO MD, MIGDONIO    ADDRESS ON FILE
CAMACHO CAMACHO, ALBA I         ADDRESS ON FILE
CAMACHO CAMACHO, EDWIN          ADDRESS ON FILE
CAMACHO CAMACHO, JORGE          ADDRESS ON FILE
CAMACHO CAMACHO, JUAN           ADDRESS ON FILE
CAMACHO CAMACHO, LUZ            ADDRESS ON FILE
CAMACHO CAMACHO, MARIA DEL      ADDRESS ON FILE
CAMACHO CAMACHO, MARIA DEL      ADDRESS ON FILE
CAMACHO CAMACHO, OLIVA          ADDRESS ON FILE
CAMACHO CAMACHO, ORLANDO        ADDRESS ON FILE
CAMACHO CAMACHO, OSWALDO        ADDRESS ON FILE
CAMACHO CAMACHO, OSWALDO        ADDRESS ON FILE
CAMACHO CAMACHO, SANDRA         ADDRESS ON FILE
CAMACHO CAMACHO, SOLANGE        ADDRESS ON FILE
CAMACHO CAMACHO, XIOMARA        ADDRESS ON FILE
CAMACHO CANALES, ANGEL          ADDRESS ON FILE
CAMACHO CANCEL, GRACE           ADDRESS ON FILE
CAMACHO CAPO, HERMAN J          ADDRESS ON FILE
CAMACHO CAPO, JOSE H.           ADDRESS ON FILE
CAMACHO CARABALLO, EVA M        ADDRESS ON FILE
CAMACHO CARATTINI, NITZA        ADDRESS ON FILE
CAMACHO CARATTINI, OSCAR        ADDRESS ON FILE
CAMACHO CARDONA, GRETCHEN       ADDRESS ON FILE
CAMACHO CARMONA, CINDY          ADDRESS ON FILE
CAMACHO CARMONA, HECTOR         ADDRESS ON FILE
CAMACHO CARMONA, HECTOR J.      ADDRESS ON FILE
Camacho Carmona, Hector L.      ADDRESS ON FILE
CAMACHO CARRASQUILLO, HIRAM     ADDRESS ON FILE
CAMACHO CARRASQUILLO, JOSE L    ADDRESS ON FILE
CAMACHO CARRASQUILLO, YAJAIRA   ADDRESS ON FILE
CAMACHO CARRASQUILLO, YAJAIRA   ADDRESS ON FILE
CAMACHO CARRERO, ALBA R         ADDRESS ON FILE
CAMACHO CARRILLO, GREGORIO      ADDRESS ON FILE
CAMACHO CARRILLO, GREGORIO      ADDRESS ON FILE
CAMACHO CARRILLO, JOSE          ADDRESS ON FILE
CAMACHO CARRION, JOSE           ADDRESS ON FILE
CAMACHO CARTAGENA, CARMEN J     ADDRESS ON FILE
CAMACHO CARTAGENA, LINDA        ADDRESS ON FILE
CAMACHO CARTAGENA, LINDA E      ADDRESS ON FILE
CAMACHO CARTAGENA, LUIS         ADDRESS ON FILE
CAMACHO CASIANO, JULIO          ADDRESS ON FILE
CAMACHO CASIANO, LUIS OSCAR     ADDRESS ON FILE
CAMACHO CASTILLO, BETHSABE      ADDRESS ON FILE
CAMACHO CASTILLO, CARLOS F      ADDRESS ON FILE
CAMACHO CASTILLO, JOSE          ADDRESS ON FILE
CAMACHO CASTILLO, PEDRO E       ADDRESS ON FILE




                                                                            Page 1083 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1084 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO CASTRO, HUMBERTO        ADDRESS ON FILE
CAMACHO CASTRO, HUMBERTO        ADDRESS ON FILE
CAMACHO CASTRO, HUMBERTO        ADDRESS ON FILE
CAMACHO CASTRO, IVELISSE        ADDRESS ON FILE
CAMACHO CASTRO, OSCAR           ADDRESS ON FILE
CAMACHO CEARA, ARNALDO          ADDRESS ON FILE
CAMACHO CEDENO, JULIO           ADDRESS ON FILE
CAMACHO CENTENO, ZULEYKA        ADDRESS ON FILE
CAMACHO CHEVERE, EDGAR          ADDRESS ON FILE
CAMACHO CINTRON, LILLIAM        ADDRESS ON FILE
CAMACHO CINTRON, LILLIAM M      ADDRESS ON FILE
CAMACHO CINTRON, MAYRA M.       ADDRESS ON FILE
CAMACHO CLAUDIO, JUAN C         ADDRESS ON FILE
CAMACHO CLAUDIO, YELISA         ADDRESS ON FILE
Camacho Clemente, Louis         ADDRESS ON FILE
CAMACHO COLON, CARLOS           ADDRESS ON FILE
CAMACHO COLON, EDWIN R          ADDRESS ON FILE
CAMACHO COLON, EDWIN R.         ADDRESS ON FILE
CAMACHO COLON, GEORGIE          ADDRESS ON FILE
CAMACHO COLON, GLENDA L         ADDRESS ON FILE
CAMACHO COLON, JOSE             ADDRESS ON FILE
CAMACHO COLON, KAREN L.         ADDRESS ON FILE
CAMACHO COLON, LAURA I          ADDRESS ON FILE
CAMACHO COLON, LOURDES          ADDRESS ON FILE
CAMACHO COLON, LOURDES          ADDRESS ON FILE
CAMACHO COLON, LOURDES          ADDRESS ON FILE
CAMACHO COLON, OSVALDO RAFAEL   ADDRESS ON FILE
CAMACHO COLON, SHEILA           ADDRESS ON FILE
CAMACHO COLON, WALBERTO         ADDRESS ON FILE
CAMACHO COLON, WILFREDO         ADDRESS ON FILE
CAMACHO CONCEPCION, JULIO       ADDRESS ON FILE
CAMACHO CONCEPCION, LYDIA V     ADDRESS ON FILE
CAMACHO CONCEPCION, ORQUIDEA    ADDRESS ON FILE
CAMACHO CONCEPCION, VIRGEN L    ADDRESS ON FILE
CAMACHO CONIER, ZULEIKA         ADDRESS ON FILE
CAMACHO CONTY, MEILING          ADDRESS ON FILE
CAMACHO CONTY, YADIS Z          ADDRESS ON FILE
CAMACHO CORDOVA, MANUEL J.      ADDRESS ON FILE
CAMACHO CORREA, CARLOS J        ADDRESS ON FILE
CAMACHO CORTES, FELIX           ADDRESS ON FILE
CAMACHO CORTES, ILEANA          ADDRESS ON FILE
CAMACHO CORTES, ZAIDA           ADDRESS ON FILE
CAMACHO COSTOSO, JOSE D.        ADDRESS ON FILE
CAMACHO COTTE, ANGEL            ADDRESS ON FILE
CAMACHO COTTE, WILFREDO         ADDRESS ON FILE
CAMACHO COTTO, EDWIN            ADDRESS ON FILE
CAMACHO COTTO, EDWIN            ADDRESS ON FILE
CAMACHO COTTO, EDWIN            ADDRESS ON FILE
CAMACHO COTTO, JO ANNE          ADDRESS ON FILE
CAMACHO COTTO, JUAN M           ADDRESS ON FILE
CAMACHO CRESPO, CARMEN I        ADDRESS ON FILE
Camacho Crespo, Jose G.         ADDRESS ON FILE
CAMACHO CRISTAL, M              ADDRESS ON FILE
CAMACHO CRUZ, ABRAHAM           ADDRESS ON FILE
CAMACHO CRUZ, EFRAIN            ADDRESS ON FILE
CAMACHO CRUZ, GLORIMAR          ADDRESS ON FILE
Camacho Cruz, Jose              ADDRESS ON FILE
CAMACHO CRUZ, LESLIE M          ADDRESS ON FILE
CAMACHO CRUZ, LIZANDRA          ADDRESS ON FILE
CAMACHO CRUZ, MANUEL            ADDRESS ON FILE




                                                                            Page 1084 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1085 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO CRUZ, MARIA DE LOS A   ADDRESS ON FILE
CAMACHO CRUZ, MIRENIS          ADDRESS ON FILE
CAMACHO CRUZ, MIRNA Z          ADDRESS ON FILE
CAMACHO CRUZ, NARCISO          ADDRESS ON FILE
CAMACHO CRUZ, NARCISO          ADDRESS ON FILE
CAMACHO CRUZ, NYDIA            ADDRESS ON FILE
CAMACHO CRUZ, WALESKA          ADDRESS ON FILE
CAMACHO CRUZ, WALESKA          ADDRESS ON FILE
CAMACHO CRUZ, ZAIDA T          ADDRESS ON FILE
CAMACHO CUADRADO, JUAN         ADDRESS ON FILE
CAMACHO CUADRADO, TANIA        ADDRESS ON FILE
CAMACHO CUEVAS, JOHANNA        ADDRESS ON FILE
CAMACHO DAVILA, AMARILYS       ADDRESS ON FILE
CAMACHO DAVILA, ENNA           ADDRESS ON FILE
CAMACHO DAVILA, ENNA           ADDRESS ON FILE
CAMACHO DAVILA, FERNANDO       ADDRESS ON FILE
CAMACHO DAVILA, INOCENCIA      ADDRESS ON FILE
CAMACHO DAVILA, VIVIAN         ADDRESS ON FILE
CAMACHO DE JESUS, JANNETTE     ADDRESS ON FILE
Camacho De Jesus, Jesus M      ADDRESS ON FILE
CAMACHO DE JESUS, LISA E       ADDRESS ON FILE
CAMACHO DE JESUS, MARIA T.     ADDRESS ON FILE
CAMACHO DE JESUS, MILAN        ADDRESS ON FILE
CAMACHO DE LEON, VILMARIE      ADDRESS ON FILE
CAMACHO DE RIVERA, CARMEN L    ADDRESS ON FILE
CAMACHO DE VILLAFANE, MIRIAM   ADDRESS ON FILE
CAMACHO DEL TORO, DUILIO       ADDRESS ON FILE
CAMACHO DEL VALLE, LORELL      ADDRESS ON FILE
CAMACHO DEL VALLE, MARITZA     ADDRESS ON FILE
CAMACHO DELGADO, GLORIA M      ADDRESS ON FILE
CAMACHO DELGADO, JOSE A        ADDRESS ON FILE
CAMACHO DELGADO, LUZ           ADDRESS ON FILE
CAMACHO DELGADO, LUZAIDA       ADDRESS ON FILE
CAMACHO DENISE, MARINETTE      ADDRESS ON FILE
CAMACHO DIAZ, ANGELICA         ADDRESS ON FILE
CAMACHO DIAZ, CARLOS J.        ADDRESS ON FILE
CAMACHO DIAZ, ERICK            ADDRESS ON FILE
CAMACHO DIAZ, JOSE G.          ADDRESS ON FILE
CAMACHO DIAZ, KARINA           ADDRESS ON FILE
CAMACHO DIAZ, LUZ S            ADDRESS ON FILE
Camacho Diaz, Miguel           ADDRESS ON FILE
CAMACHO DIAZ, MIGUEL A.        ADDRESS ON FILE
CAMACHO DILONE, DONATO         ADDRESS ON FILE
CAMACHO DOMINGUEZ, MARTA I     ADDRESS ON FILE
CAMACHO DOMINGUEZ, OLGA I      ADDRESS ON FILE
CAMACHO DONATO, FELIPE         ADDRESS ON FILE
CAMACHO DONES, WILMARIE        ADDRESS ON FILE
CAMACHO DUCOS, DELMA I         ADDRESS ON FILE
CAMACHO DUCOS, JOSEFINA        ADDRESS ON FILE
CAMACHO ESCOBAR, JONATHAN      ADDRESS ON FILE
CAMACHO ESCOBAR, RAFAELA       ADDRESS ON FILE
Camacho Escribano, Carmen L.   ADDRESS ON FILE
CAMACHO ESPINOSA, JOSE         ADDRESS ON FILE
CAMACHO ESTRADA, FERNANDO      ADDRESS ON FILE
CAMACHO FABRE, BRUNILDA        ADDRESS ON FILE
CAMACHO FABRE, MIGUEL A.       ADDRESS ON FILE
CAMACHO FABRE, RAFAEL A.       ADDRESS ON FILE
CAMACHO FALCON, JEAN           ADDRESS ON FILE
CAMACHO FALCON, LUIS           ADDRESS ON FILE
CAMACHO FANA, CANDIDA          ADDRESS ON FILE




                                                                           Page 1085 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1086 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO FEBRES, IRIS             ADDRESS ON FILE
Camacho Feliciano, Edgardo       ADDRESS ON FILE
CAMACHO FELICIANO, EDGARDO       ADDRESS ON FILE
CAMACHO FELICIANO, NEPHTALI      ADDRESS ON FILE
CAMACHO FELICIANO, WILLIAM       ADDRESS ON FILE
CAMACHO FERNANDEZ, ARCADIA       ADDRESS ON FILE
CAMACHO FIDALGO, FRANCISCO       ADDRESS ON FILE
CAMACHO FIGUEREDO, ANGEL L       ADDRESS ON FILE
CAMACHO FIGUEROA, ANTONIA        ADDRESS ON FILE
CAMACHO FIGUEROA, GLADYS J       ADDRESS ON FILE
CAMACHO FIGUEROA, JESSICA M      ADDRESS ON FILE
CAMACHO FIGUEROA, SARA           ADDRESS ON FILE
CAMACHO FLECHA, JOLANDA          ADDRESS ON FILE
CAMACHO FLORES, ANA L            ADDRESS ON FILE
CAMACHO FLORES, JOSE             ADDRESS ON FILE
CAMACHO FLORES, RUTH M           ADDRESS ON FILE
CAMACHO FONSECA, MARIA E         ADDRESS ON FILE
CAMACHO FONSECA, MARIA E         ADDRESS ON FILE
CAMACHO FONTAN, MELISSA          ADDRESS ON FILE
CAMACHO FONTANEZ, ALEJANDRA      ADDRESS ON FILE
CAMACHO FONTANEZ, ISAAC          ADDRESS ON FILE
CAMACHO FUENTES, IRAIDA          ADDRESS ON FILE
CAMACHO FUENTES, ROSA            ADDRESS ON FILE
CAMACHO FUENTES, ROSA M          ADDRESS ON FILE
CAMACHO GALAN, RICARDO           ADDRESS ON FILE
CAMACHO GALARZA, NORMA           ADDRESS ON FILE
CAMACHO GARCIA, ALEX             ADDRESS ON FILE
CAMACHO GARCIA, ANA I            ADDRESS ON FILE
CAMACHO GARCIA, CHRISTIAN        ADDRESS ON FILE
CAMACHO GARCIA, DEBORAH A.       ADDRESS ON FILE
CAMACHO GARCIA, ELISAMUEL        ADDRESS ON FILE
CAMACHO GARCIA, EMMA             ADDRESS ON FILE
CAMACHO GARCIA, JACKELINE        ADDRESS ON FILE
CAMACHO GARCIA, JAIME            ADDRESS ON FILE
CAMACHO GARCIA, JOHALYS          ADDRESS ON FILE
CAMACHO GARCIA, JONATHAN         ADDRESS ON FILE
CAMACHO GARCIA, JORGE D          ADDRESS ON FILE
Camacho Garcia, Juan A.          ADDRESS ON FILE
CAMACHO GARCIA, MAGDALENA        ADDRESS ON FILE
CAMACHO GARCIA, MARITZA          ADDRESS ON FILE
CAMACHO GARCIA, MIRIAM           ADDRESS ON FILE
CAMACHO GARCIA, RAUL             ADDRESS ON FILE
CAMACHO GARCIA, WILLIAM          ADDRESS ON FILE
CAMACHO GARCIA, YOVET            ADDRESS ON FILE
CAMACHO GARCIAS, CORALYS DEL M   ADDRESS ON FILE
CAMACHO GECK, MARIBEL            ADDRESS ON FILE
CAMACHO GINES, ANTONIO T.        ADDRESS ON FILE
CAMACHO GIRON, ANGEL E.          ADDRESS ON FILE
CAMACHO GOMEZ, ELIZABETH         ADDRESS ON FILE
CAMACHO GOMEZ, ELIZABETH         ADDRESS ON FILE
CAMACHO GOMEZ, GILLIAN           ADDRESS ON FILE
CAMACHO GOMEZ, GLORIMY           ADDRESS ON FILE
CAMACHO GOMEZ, JAIME L           ADDRESS ON FILE
CAMACHO GOMEZ, LUIS              ADDRESS ON FILE
CAMACHO GOMEZ, MARGARITA         ADDRESS ON FILE
CAMACHO GONZALEZ, ANA C          ADDRESS ON FILE
CAMACHO GONZALEZ, ANGELICA       ADDRESS ON FILE
Camacho Gonzalez, Carlos         ADDRESS ON FILE
CAMACHO GONZALEZ, GILBERTO       ADDRESS ON FILE
CAMACHO GONZALEZ, JOSEPH A       ADDRESS ON FILE




                                                                             Page 1086 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1087 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO GONZALEZ, JOSHADETH           ADDRESS ON FILE
CAMACHO GONZALEZ, JYESUS              ADDRESS ON FILE
CAMACHO GONZALEZ, MARIA DEL           ADDRESS ON FILE
CAMACHO GONZALEZ, MARIA DEL C         ADDRESS ON FILE
CAMACHO GONZALEZ, MICHAEL             ADDRESS ON FILE
CAMACHO GONZALEZ, MIGUEL A            ADDRESS ON FILE
CAMACHO GONZALEZ, RAUL                ADDRESS ON FILE
CAMACHO GONZALEZ, ROSE M              ADDRESS ON FILE
CAMACHO GOTAY, JAIME                  ADDRESS ON FILE
CAMACHO GRAJALES, SANDRA              ADDRESS ON FILE
CAMACHO GUADALUPE,BERNALDO            ADDRESS ON FILE
CAMACHO GUAL, IVAN L.                 ADDRESS ON FILE
CAMACHO GUAL, LARISSA                 ADDRESS ON FILE
CAMACHO GUTIERREZ, GLOREANE           ADDRESS ON FILE
CAMACHO GUZMAN, ALBERTO               ADDRESS ON FILE
CAMACHO HEREDIA, CARLOS G             ADDRESS ON FILE
CAMACHO HEREDIA, SINAIRA M.           ADDRESS ON FILE
CAMACHO HERNANDEZ, AIDA L             ADDRESS ON FILE
Camacho Hernandez, Bryan              ADDRESS ON FILE
CAMACHO HERNANDEZ, CARLOS             ADDRESS ON FILE
CAMACHO HERNANDEZ, CARLOS             ADDRESS ON FILE
CAMACHO HERNANDEZ, CARLOS R           ADDRESS ON FILE
CAMACHO HERNANDEZ, CARMEN S           ADDRESS ON FILE
CAMACHO HERNANDEZ, ELIZABETH          ADDRESS ON FILE
CAMACHO HERNANDEZ, EMMANUEL           ADDRESS ON FILE
CAMACHO HERNANDEZ, EVELYN             ADDRESS ON FILE
CAMACHO HERNANDEZ, HECTOR A           ADDRESS ON FILE
CAMACHO HERNANDEZ, HECTOR A           ADDRESS ON FILE
CAMACHO HERNANDEZ, INYEMAR            ADDRESS ON FILE
Camacho Hernandez, Inyemar            ADDRESS ON FILE
CAMACHO HERNANDEZ, ISIDORO            ADDRESS ON FILE
CAMACHO HERNANDEZ, JOSE A             ADDRESS ON FILE
CAMACHO HERNANDEZ, LENAI M.           ADDRESS ON FILE
CAMACHO HERNANDEZ, LUIS               ADDRESS ON FILE
CAMACHO HERNANDEZ, LUIS               ADDRESS ON FILE
CAMACHO HERNANDEZ, MARIA DEL CARMEN   ADDRESS ON FILE
CAMACHO HERNANDEZ, MIGDALIA           ADDRESS ON FILE
Camacho Hernandez, Nilsa E            ADDRESS ON FILE
CAMACHO HERNANDEZ, SURMA              ADDRESS ON FILE
CAMACHO HORNEDO, MAYRA                ADDRESS ON FILE
CAMACHO HORNEDO, MAYRA DEL P.         ADDRESS ON FILE
CAMACHO HORNEDO, YOLANDA I            ADDRESS ON FILE
Camacho Huertas, Barbara              ADDRESS ON FILE
CAMACHO HUERTAS, BARBARA              ADDRESS ON FILE
CAMACHO HUERTAS, ENRIQUE              ADDRESS ON FILE
Camacho Huertas, Enrique              ADDRESS ON FILE
CAMACHO HUERTAS, MARIA DE L           ADDRESS ON FILE
CAMACHO HUERTAS, MILDRED D.           ADDRESS ON FILE
CAMACHO HUERTAS, MINERVA              ADDRESS ON FILE
CAMACHO IGUINA, JOSE                  ADDRESS ON FILE
CAMACHO ILARRAZA, CARMEN              ADDRESS ON FILE
CAMACHO IRIZARRY, ANA                 ADDRESS ON FILE
CAMACHO IRIZARRY, BENJAMIN            ADDRESS ON FILE
CAMACHO IRIZARRY, ISMAEL              ADDRESS ON FILE
CAMACHO IRIZARRY, NANCY               ADDRESS ON FILE
CAMACHO IRIZARRY, WILLIAM             ADDRESS ON FILE
CAMACHO IZQUIERDO, EVELYN             ADDRESS ON FILE
CAMACHO JIMENEZ, CELIA R              ADDRESS ON FILE
CAMACHO JIMENEZ, ELIZABETH            ADDRESS ON FILE
CAMACHO JIMENEZ, MIGUEL               ADDRESS ON FILE




                                                                                  Page 1087 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1088 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO JIMENEZ, NANCY         ADDRESS ON FILE
CAMACHO JIMENEZ, NANCY         ADDRESS ON FILE
CAMACHO JIMENEZ, NORAIDA L     ADDRESS ON FILE
CAMACHO JIMENEZ, REINALDO      ADDRESS ON FILE
CAMACHO JOVET, MIGUEL          ADDRESS ON FILE
CAMACHO JUSINO, YARLYN         ADDRESS ON FILE
CAMACHO LA LUZ, GRETCHEN       ADDRESS ON FILE
CAMACHO LA LUZ, ROSALYN        ADDRESS ON FILE
CAMACHO LA LUZ, SONIA          ADDRESS ON FILE
CAMACHO LABOY, CARMEN I.       ADDRESS ON FILE
Camacho Laboy, Hector L        ADDRESS ON FILE
CAMACHO LABOY, ROSA M          ADDRESS ON FILE
CAMACHO LAMELA, YAHAIRA        ADDRESS ON FILE
CAMACHO LANDRON MD, CARLOS A   ADDRESS ON FILE
CAMACHO LANDRON, CAROLINE      ADDRESS ON FILE
CAMACHO LANDRON, MAYRA         ADDRESS ON FILE
CAMACHO LARTIGAUT, WANDA       ADDRESS ON FILE
Camacho Lebron, Hector         ADDRESS ON FILE
CAMACHO LEDESMA, JOSE LUIS     ADDRESS ON FILE
Camacho Lezcano, Argeliz E     ADDRESS ON FILE
CAMACHO LOPEZ, ALMA M.         ADDRESS ON FILE
CAMACHO LOPEZ, CARMEN          ADDRESS ON FILE
CAMACHO LOPEZ, FELIX           ADDRESS ON FILE
CAMACHO LOPEZ, IRIS            ADDRESS ON FILE
CAMACHO LOPEZ, JOSE            ADDRESS ON FILE
Camacho Lopez, Jose L          ADDRESS ON FILE
CAMACHO LOPEZ, LUIS N.         ADDRESS ON FILE
Camacho Lopez, Luis N.         ADDRESS ON FILE
CAMACHO LOPEZ, MARTA           ADDRESS ON FILE
CAMACHO LOPEZ, MAYRALIS        ADDRESS ON FILE
CAMACHO LOPEZ, RENE            ADDRESS ON FILE
CAMACHO LOPEZ, SANDRA          ADDRESS ON FILE
CAMACHO LOPEZ, SANDRA I        ADDRESS ON FILE
CAMACHO LOPEZ, YADELYN         ADDRESS ON FILE
CAMACHO LOPEZ, YADELYNE        ADDRESS ON FILE
CAMACHO LOPEZ, ZORAIDA         ADDRESS ON FILE
CAMACHO LORENZO, YESENIA       ADDRESS ON FILE
CAMACHO LORENZO, YESENIA       ADDRESS ON FILE
CAMACHO LOTTI, KARLA           ADDRESS ON FILE
CAMACHO LOTTI, KARLA DEL R     ADDRESS ON FILE
CAMACHO LOZADA, ANA E          ADDRESS ON FILE
CAMACHO LOZADA, PETRA          ADDRESS ON FILE
CAMACHO LUCIANO, JOENI LIZ     ADDRESS ON FILE
CAMACHO LUCIANO, JOMAIRA       ADDRESS ON FILE
CAMACHO LUGO, FIDELINA         ADDRESS ON FILE
CAMACHO LUGO, KRISHNA L.       ADDRESS ON FILE
CAMACHO LUGO, MARIANN          ADDRESS ON FILE
CAMACHO LUGO, MARIO            ADDRESS ON FILE
CAMACHO LUGO, MAURICIO         ADDRESS ON FILE
CAMACHO LUIS, WILLIAM I        ADDRESS ON FILE
CAMACHO LUNA, SAMUEL           ADDRESS ON FILE
CAMACHO MALDONADO, CARMEN      ADDRESS ON FILE
CAMACHO MALDONADO, DAMARIS     ADDRESS ON FILE
CAMACHO MALDONADO, HECTOR      ADDRESS ON FILE
CAMACHO MALDONADO, IRIS        ADDRESS ON FILE
CAMACHO MALDONADO, LUIS        ADDRESS ON FILE
CAMACHO MARCANO, BRENDALIZ     ADDRESS ON FILE
CAMACHO MARCANO, GLADYS E      ADDRESS ON FILE
CAMACHO MARCANO, LUZ M         ADDRESS ON FILE
CAMACHO MARIN, CARMEN M        ADDRESS ON FILE




                                                                           Page 1088 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1089 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Camacho Marina, Hilda          ADDRESS ON FILE
CAMACHO MARQUEZ, ANA V         ADDRESS ON FILE
CAMACHO MARQUEZ, CARMEN G      ADDRESS ON FILE
CAMACHO MARQUEZ, JUANA M       ADDRESS ON FILE
CAMACHO MARQUEZ, MIGUELINA     ADDRESS ON FILE
CAMACHO MARRERO, CARMEN D      ADDRESS ON FILE
CAMACHO MARRERO, HECTOR M      ADDRESS ON FILE
CAMACHO MARRERO, LIANNY        ADDRESS ON FILE
Camacho Marrero, Miguel A      ADDRESS ON FILE
CAMACHO MARRERO, SOFIA         ADDRESS ON FILE
CAMACHO MARRERO, VIVIAN        ADDRESS ON FILE
CAMACHO MARRERO, VIVIAN Y      ADDRESS ON FILE
CAMACHO MARTI, ISRAEL          ADDRESS ON FILE
CAMACHO MARTINEZ, ALEX         ADDRESS ON FILE
CAMACHO MARTINEZ, ARTURO       ADDRESS ON FILE
CAMACHO MARTINEZ, DENISE       ADDRESS ON FILE
CAMACHO MARTINEZ, DORIS D      ADDRESS ON FILE
CAMACHO MARTINEZ, EDMARIE      ADDRESS ON FILE
CAMACHO MARTINEZ, EDWIN        ADDRESS ON FILE
CAMACHO MARTINEZ, EDWIN        ADDRESS ON FILE
CAMACHO MARTINEZ, EDYSON       ADDRESS ON FILE
Camacho Martinez, Eliezer      ADDRESS ON FILE
CAMACHO MARTINEZ, GERMAN       ADDRESS ON FILE
CAMACHO MARTINEZ, GLADYS J     ADDRESS ON FILE
CAMACHO MARTINEZ, HIPOLITO     ADDRESS ON FILE
CAMACHO MARTINEZ, JANICE       ADDRESS ON FILE
CAMACHO MARTINEZ, JESSICA M    ADDRESS ON FILE
CAMACHO MARTINEZ, JORGE A      ADDRESS ON FILE
CAMACHO MARTINEZ, JOSE A       ADDRESS ON FILE
CAMACHO MARTINEZ, JOSEPH       ADDRESS ON FILE
CAMACHO MARTINEZ, MARYNEL      ADDRESS ON FILE
CAMACHO MARTINEZ, ROBERTO      ADDRESS ON FILE
CAMACHO MARTINEZ, RODOLFO      ADDRESS ON FILE
CAMACHO MARTINEZ, VIRGENMINA   ADDRESS ON FILE
CAMACHO MATEO, OLGA I          ADDRESS ON FILE
CAMACHO MATOS, JAIME           ADDRESS ON FILE
Camacho Matos, Rafael          ADDRESS ON FILE
CAMACHO MATOS, VIRGINIA        ADDRESS ON FILE
CAMACHO MATOS, XENIA           ADDRESS ON FILE
CAMACHO MATTEI, DAISY          ADDRESS ON FILE
CAMACHO MATTOS, LUIS E         ADDRESS ON FILE
CAMACHO MD , JORGE S           ADDRESS ON FILE
CAMACHO MEDINA, CARLOS         ADDRESS ON FILE
CAMACHO MEDINA, CARLOS         ADDRESS ON FILE
Camacho Medina, Carlos J       ADDRESS ON FILE
CAMACHO MEDINA, CARMEN E       ADDRESS ON FILE
CAMACHO MEDINA, CARMEN E       ADDRESS ON FILE
CAMACHO MEDINA, JUAN E         ADDRESS ON FILE
CAMACHO MEDINA, SONIA I        ADDRESS ON FILE
CAMACHO MEDINA, XIOMARIE       ADDRESS ON FILE
CAMACHO MEDINA, YESENIA        ADDRESS ON FILE
CAMACHO MELENDEZ, ALBERTO      ADDRESS ON FILE
CAMACHO MELENDEZ, ALEXANDRA    ADDRESS ON FILE
CAMACHO MELENDEZ, BLANCA       ADDRESS ON FILE
CAMACHO MELENDEZ, BLANCA I     ADDRESS ON FILE
CAMACHO MELENDEZ, EDDIE        ADDRESS ON FILE
Camacho Melendez, Edgardo      ADDRESS ON FILE
CAMACHO MELENDEZ, GENARA       ADDRESS ON FILE
Camacho Melendez, Jason        ADDRESS ON FILE
CAMACHO MELENDEZ, MARILUZ      ADDRESS ON FILE




                                                                           Page 1089 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1090 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO MELENDEZ, PEDRO L       ADDRESS ON FILE
CAMACHO MELENDEZ, ROSA I        ADDRESS ON FILE
Camacho Mena, Victor G          ADDRESS ON FILE
CAMACHO MENDEZ, HILDA           ADDRESS ON FILE
CAMACHO MENDEZ, KEYCHA          ADDRESS ON FILE
CAMACHO MERCADO, ANGEL D        ADDRESS ON FILE
Camacho Mercado, Eddy           ADDRESS ON FILE
CAMACHO MERCADO, EDNA M         ADDRESS ON FILE
CAMACHO MERCADO, JOSE A         ADDRESS ON FILE
CAMACHO MERCADO, MICHAEL        ADDRESS ON FILE
CAMACHO MERCADO, MICHELLE       ADDRESS ON FILE
Camacho Mercado, Noel           ADDRESS ON FILE
CAMACHO MERLO, BENJAMIN         ADDRESS ON FILE
CAMACHO MILLAN, MARIBEL         ADDRESS ON FILE
CAMACHO MILLAN, SUHAIL          ADDRESS ON FILE
CAMACHO MIRALLES, IRMA          ADDRESS ON FILE
CAMACHO MIRALLES, MARGARITA     ADDRESS ON FILE
CAMACHO MIRANDA, CARLOS         ADDRESS ON FILE
CAMACHO MIRANDA, SAMUEL         ADDRESS ON FILE
CAMACHO MIRANDA, WILMA          ADDRESS ON FILE
CAMACHO MOJICA, AMARILIS        ADDRESS ON FILE
CAMACHO MOJICA, KRISTIAN R.     ADDRESS ON FILE
CAMACHO MOJICA, LUIS            ADDRESS ON FILE
CAMACHO MOJICA, LUIS NOEL       ADDRESS ON FILE
CAMACHO MOJICA, LUZ A           ADDRESS ON FILE
CAMACHO MOJICA, NILIVETTE       ADDRESS ON FILE
CAMACHO MOLINA, AIRLEEN         ADDRESS ON FILE
CAMACHO MOLINERO, LUIS          ADDRESS ON FILE
CAMACHO MONELL, ARTHUR          ADDRESS ON FILE
CAMACHO MONSERRATE, ENRIQUE     ADDRESS ON FILE
CAMACHO MONTALVO, ANNETTE       ADDRESS ON FILE
CAMACHO MONTALVO, CARLOS        ADDRESS ON FILE
CAMACHO MONTALVO, DARYNELL      ADDRESS ON FILE
CAMACHO MONTALVO, ELSA          ADDRESS ON FILE
Camacho Montalvo, Israel        ADDRESS ON FILE
CAMACHO MONTALVO, MILAGROS      ADDRESS ON FILE
CAMACHO MONTALVO, PROVIDENCIA   ADDRESS ON FILE
CAMACHO MONTALVO, TOMAS         ADDRESS ON FILE
CAMACHO MONTANEZ, CARMEN        ADDRESS ON FILE
CAMACHO MONTANEZ, RICHARD       ADDRESS ON FILE
CAMACHO MONTANEZ, YESSENIA      ADDRESS ON FILE
CAMACHO MONTERO, ERIC           ADDRESS ON FILE
CAMACHO MONTERO, ERIC           ADDRESS ON FILE
CAMACHO MONTES, EDNALIZ         ADDRESS ON FILE
CAMACHO MONTES, EDNALIZ         ADDRESS ON FILE
Camacho Morales, Alvin          ADDRESS ON FILE
CAMACHO MORALES, CRIS A         ADDRESS ON FILE
CAMACHO MORALES, EDWIN          ADDRESS ON FILE
CAMACHO MORALES, ESTHER P       ADDRESS ON FILE
CAMACHO MORALES, GLORIA         ADDRESS ON FILE
CAMACHO MORALES, INES E         ADDRESS ON FILE
CAMACHO MORALES, JOSE           ADDRESS ON FILE
CAMACHO MORALES, LETICIA        ADDRESS ON FILE
CAMACHO MORALES, LINDA D        ADDRESS ON FILE
CAMACHO MORALES, YALILA         ADDRESS ON FILE
CAMACHO MORENO, JUAN            ADDRESS ON FILE
CAMACHO MORENO, LUIS            ADDRESS ON FILE
CAMACHO MUNIZ, SANDRA I         ADDRESS ON FILE
CAMACHO MUNIZ, SANDRA I.        ADDRESS ON FILE
CAMACHO MUNOZ, BEATRIZ          ADDRESS ON FILE




                                                                            Page 1090 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1091 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO MUNOZ, ELSIE            ADDRESS ON FILE
CAMACHO MUNOZ, MARIA E          ADDRESS ON FILE
CAMACHO MUNOZ, PEDRO            ADDRESS ON FILE
CAMACHO MUNQZ, NESTOR           ADDRESS ON FILE
CAMACHO NARVAEZ, MARIA A        ADDRESS ON FILE
CAMACHO NAVARRO, CARMEN Z       ADDRESS ON FILE
CAMACHO NAVARRO, ILUMINADA      ADDRESS ON FILE
CAMACHO NAVEDO, DARA            ADDRESS ON FILE
CAMACHO NAVEDO, DARA S.         ADDRESS ON FILE
CAMACHO NAZARIO, ANA            ADDRESS ON FILE
CAMACHO NAZARIO, NEYZA          ADDRESS ON FILE
CAMACHO NAZARIO, PABLO          ADDRESS ON FILE
CAMACHO NAZARIO, RUBEN          ADDRESS ON FILE
CAMACHO NEGRON, ELSIE           ADDRESS ON FILE
CAMACHO NEGRON, GIOVANNY        ADDRESS ON FILE
CAMACHO NEGRON, NEFTALI         ADDRESS ON FILE
CAMACHO NIEVES, EDELYS          ADDRESS ON FILE
CAMACHO NIEVES, GABRIEL         ADDRESS ON FILE
CAMACHO NIEVES, KENDRA I        ADDRESS ON FILE
CAMACHO NIEVES, LEYLA           ADDRESS ON FILE
CAMACHO NIEVES, LUISA E         ADDRESS ON FILE
CAMACHO NIEVES, MICHELLE        ADDRESS ON FILE
CAMACHO NIEVES, NORA L          ADDRESS ON FILE
CAMACHO NIEVES, SAMUEL          ADDRESS ON FILE
CAMACHO NIEVES, WILLIAM         ADDRESS ON FILE
CAMACHO NOQUEZ, OMAR            ADDRESS ON FILE
CAMACHO NUNEZ, CORALIS          ADDRESS ON FILE
CAMACHO OCASIO, HECTOR L        ADDRESS ON FILE
Camacho Oliver, Genaro          ADDRESS ON FILE
CAMACHO OLIVERA, ELIZABETH      ADDRESS ON FILE
CAMACHO OLIVERA, WILFREDO       ADDRESS ON FILE
CAMACHO OLIVERAS, MARTA         ADDRESS ON FILE
CAMACHO OLIVERAS, MYRNA         ADDRESS ON FILE
CAMACHO OLIVERO, ANA I.         ADDRESS ON FILE
CAMACHO OLIVERO, ANA I.         ADDRESS ON FILE
CAMACHO OLMO, WALESKA           ADDRESS ON FILE
CAMACHO ONEILL, JOSE            ADDRESS ON FILE
CAMACHO OQUENDO, SAMUEL         ADDRESS ON FILE
CAMACHO ORELLANA, EVELYN        ADDRESS ON FILE
CAMACHO ORLANDO, ROBERT         ADDRESS ON FILE
CAMACHO ORTEGA, JOSE            ADDRESS ON FILE
Camacho Ortiz, Abner L.         ADDRESS ON FILE
Camacho Ortiz, Anibal           ADDRESS ON FILE
CAMACHO ORTIZ, BRENDA L         ADDRESS ON FILE
CAMACHO ORTIZ, CARLOS           ADDRESS ON FILE
CAMACHO ORTIZ, CHRISTIAN        ADDRESS ON FILE
CAMACHO ORTIZ, DELFIN           ADDRESS ON FILE
CAMACHO ORTIZ, GILBERTO         ADDRESS ON FILE
CAMACHO ORTIZ, HECTOR           ADDRESS ON FILE
CAMACHO ORTIZ, HECTOR           ADDRESS ON FILE
Camacho Ortiz, Ileana           ADDRESS ON FILE
CAMACHO ORTIZ, IVETTE           ADDRESS ON FILE
CAMACHO ORTIZ, JORGE            ADDRESS ON FILE
Camacho Ortiz, Jose             ADDRESS ON FILE
CAMACHO ORTIZ, MARIA DE         ADDRESS ON FILE
CAMACHO ORTIZ, MARIA DE LOS A   ADDRESS ON FILE
Camacho Ortiz, Maria I          ADDRESS ON FILE
Camacho Ortiz, Osvaldo          ADDRESS ON FILE
CAMACHO ORTIZ, PEDRO J          ADDRESS ON FILE
CAMACHO ORTIZ, RADAMES          ADDRESS ON FILE




                                                                            Page 1091 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1092 of 3500
                                                                            17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                Address1                   Address2                                   Address3   Address4   City         State   PostalCode   Country
CAMACHO ORTIZ, RONY          ADDRESS ON FILE
Camacho Ortiz, Ruth E        ADDRESS ON FILE
CAMACHO ORTIZ, SONIA N       ADDRESS ON FILE
Camacho Ortiz, Vivian G      ADDRESS ON FILE
CAMACHO ORTIZ, WANDA         ADDRESS ON FILE
CAMACHO ORTIZ, WANDA         ADDRESS ON FILE
CAMACHO ORTIZ, WANDA         ADDRESS ON FILE
CAMACHO ORTIZ, YAITZA        ADDRESS ON FILE
CAMACHO OTERO, CLARISA       ADDRESS ON FILE
CAMACHO OTERO, DOUGLAS       ADDRESS ON FILE
CAMACHO OTERO, LILLIAM       ADDRESS ON FILE
CAMACHO OTERO, MARIELBA      ADDRESS ON FILE
CAMACHO OTERO, MILADYS       ADDRESS ON FILE
CAMACHO OTERO, ZULEYKA       ADDRESS ON FILE
CAMACHO OYOLA, MARICELA      ADDRESS ON FILE
CAMACHO OYOLA, MARICELA      ADDRESS ON FILE
CAMACHO PACHECO, CAMILO      ADDRESS ON FILE
CAMACHO PACHECO, EDWARD      ADDRESS ON FILE
CAMACHO PACHECO, JUAN        ADDRESS ON FILE
CAMACHO PACHECO, MARTIN      ADDRESS ON FILE
CAMACHO PACHECO, NELSON      ADDRESS ON FILE
CAMACHO PACHECO, YOLANDA     ADDRESS ON FILE
CAMACHO PADILLA MD, NYDIA    ADDRESS ON FILE
Camacho Padilla, Benjamin    ADDRESS ON FILE
CAMACHO PADILLA, ELSIE       ADDRESS ON FILE
CAMACHO PADILLA, JOSE        ADDRESS ON FILE
CAMACHO PADILLA, JOSE        ADDRESS ON FILE
CAMACHO PADILLA, JOSE A.     ADDRESS ON FILE
Camacho Padilla, Jose I      ADDRESS ON FILE
CAMACHO PADILLA, KETSY       ADDRESS ON FILE
CAMACHO PADILLA, LEONOR      ADDRESS ON FILE
CAMACHO PADILLA, ORLANDO     ADDRESS ON FILE
CAMACHO PADILLA, SOCORRO     ADDRESS ON FILE
CAMACHO PADRON, BEATRIZ      ADDRESS ON FILE
CAMACHO PADRON, GREGORIO     ADDRESS ON FILE
Camacho Padron, Gregorio E   ADDRESS ON FILE
CAMACHO PADRON, RICARDO      ADDRESS ON FILE
CAMACHO PAGAN, DIMAS         ADDRESS ON FILE
CAMACHO PAGAN, ROSANIE       ADDRESS ON FILE
CAMACHO PAGAN, WILMA         ADDRESS ON FILE
CAMACHO PAGAN, YAHAIRA       CARLOS A. GONZALEZ SOLER   403 AVENIDA MUÑOZ RIVERA                                         SAN JUAN     PR      00918
CAMACHO PAGAN, YAHAIRA       GUILLERMO J. RAMOS LUIÑA   PO BOX 22763,UPR SATATION                  SATATION              SAN JUAN     PR      00931‐2763
CAMACHO PAGAN, YAHAIRA       RAFAEL E. BARRETO SOLA     PO BOX 364966                                                    SAN JUAN     PR      00936‐2229
CAMACHO PALOU, SANDRA M      ADDRESS ON FILE
CAMACHO PASTOR MD, IVONNE    ADDRESS ON FILE
CAMACHO PEINADO, MARIA       ADDRESS ON FILE
CAMACHO PENA, CYNTHIA M      ADDRESS ON FILE
CAMACHO PENA, GILBERTO       ADDRESS ON FILE
CAMACHO PENA, JULIO          ADDRESS ON FILE
CAMACHO PERALTA, LUDOVINA    ADDRESS ON FILE
CAMACHO PERAZZA, RAUL        ADDRESS ON FILE
CAMACHO PEREZ, ADELINA       ADDRESS ON FILE
CAMACHO PEREZ, ANGEL A.      ADDRESS ON FILE
CAMACHO PEREZ, ARLYN J.      ADDRESS ON FILE
CAMACHO PEREZ, CATHERINE     ADDRESS ON FILE
CAMACHO PEREZ, CLAUDIA       ADDRESS ON FILE
CAMACHO PEREZ, DANIEL        ADDRESS ON FILE
CAMACHO PEREZ, EVA           ADDRESS ON FILE
CAMACHO PEREZ, IVELISSE      ADDRESS ON FILE
Camacho Perez, Josue D.      ADDRESS ON FILE




                                                                                    Page 1092 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1093 of 3500
                                                                               17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                   Address1                    Address2                                   Address3         Address4            City         State   PostalCode   Country
CAMACHO PEREZ, JULIO            ADDRESS ON FILE
CAMACHO PEREZ, MATILDE          ADDRESS ON FILE
CAMACHO PEREZ, MERCEDES         ADDRESS ON FILE
CAMACHO PEREZ, REINA            ADDRESS ON FILE
CAMACHO PEREZ, REINALDO L.      ADDRESS ON FILE
CAMACHO PEREZ, RICARDO          ADDRESS ON FILE
CAMACHO PEREZ, WILMARIE         ADDRESS ON FILE
CAMACHO PEREZ, ZORAIDA          ADDRESS ON FILE
CAMACHO PESANTE, MARIA E        ADDRESS ON FILE
CAMACHO PESANTE, MARTA M        ADDRESS ON FILE
CAMACHO PETIT, FARAH            ADDRESS ON FILE
Camacho Phi, Angel L            ADDRESS ON FILE
CAMACHO PIETRI, JULIO A         ADDRESS ON FILE
CAMACHO PIZARRO, VICTOR         ADDRESS ON FILE
CAMACHO PLACERES, ANTONIO C     ADDRESS ON FILE
CAMACHO PLANAS ALEXIS           LCDA. ANIBELLE SLOAN        268 AVENIDA Ponce DE LEON               HATO REY CENTER     SUITE 904           HATO REY     PR      00918
CAMACHO PLANAS ALEXIS           LCDA. CAROLINA GUZMÁN       LCDA.                                   CAROLINA            GUZMÁN PO BOX 943   COMERÍO      PR      00782
                                                                                                    1181 AVE. JESÚS T
CAMACHO PLANAS ALEXIS           LCDO. ALEJANDRO HERNÁNDEZ   BUFETE GONZALEZ VILLAMILGONZALEZ PANDO PPIÑERO                                  SAN JUAN     PR      00920‐5604
                                                                                                    1181 AVE. JESÚS T
CAMACHO PLANAS ALEXIS           LCDO. DELWIN VÉLEZ          BUFETE GONZALEZ VILLAMILGONZALEZ PANDO PPIÑERO                                  SAN JUAN     PR      00920‐5604
CAMACHO PLANAS, MARIA           ADDRESS ON FILE
CAMACHO POGGI, JOSE A           ADDRESS ON FILE
CAMACHO PONCE, GLORIA H         ADDRESS ON FILE
CAMACHO PORTELA, CELINEL        ADDRESS ON FILE
CAMACHO POWER, RAMONITA         ADDRESS ON FILE
CAMACHO PUMAREJO, ISMAEL        JESUS M DIAZ RIVERA         PO BOX 194645                                                                   SAN JUAN     PR      00919‐4645
CAMACHO PUMAREJO, MILAGROS      ADDRESS ON FILE
CAMACHO PUMAREJO, MILAGROS      ADDRESS ON FILE
CAMACHO QUEVEDO, RAMSI          ADDRESS ON FILE
CAMACHO QUIDGLEX, MARIA         ADDRESS ON FILE
CAMACHO QUILES, ANA             ADDRESS ON FILE
CAMACHO QUILES, MARIA M.        ADDRESS ON FILE
CAMACHO QUINONES, ANA H         ADDRESS ON FILE
CAMACHO QUINONES, BRENDA        ADDRESS ON FILE
CAMACHO QUINONES, CLARIBEL      ADDRESS ON FILE
CAMACHO QUINONES, EVELYN M.     ADDRESS ON FILE
CAMACHO QUINONES, FRANCISCO     ADDRESS ON FILE
CAMACHO QUINONES, FRANCISCO     ADDRESS ON FILE
Camacho Quinones, Griselde A.   ADDRESS ON FILE
CAMACHO QUINONES, LILLIAM Z     ADDRESS ON FILE
CAMACHO QUINONES, NANCY         ADDRESS ON FILE
CAMACHO QUINONES, ROMUALDO      ADDRESS ON FILE
CAMACHO RAMIREZ, CARLOS A       ADDRESS ON FILE
CAMACHO RAMIREZ, IRIS O         ADDRESS ON FILE
CAMACHO RAMIREZ, IVAN           ADDRESS ON FILE
Camacho Ramirez, Juan           ADDRESS ON FILE
CAMACHO RAMIREZ, MARISOL        ADDRESS ON FILE
CAMACHO RAMIREZ, MAYDA I.       ADDRESS ON FILE
CAMACHO RAMIREZ, MAYRA G.       ADDRESS ON FILE
CAMACHO RAMOS, ALBERTO          ADDRESS ON FILE
CAMACHO RAMOS, CARLOS M.        ADDRESS ON FILE
CAMACHO RAMOS, FELIX            ADDRESS ON FILE
CAMACHO RAMOS, JANET            ADDRESS ON FILE
CAMACHO RAMOS, JOSE             ADDRESS ON FILE
CAMACHO RAMOS, MARLENE          ADDRESS ON FILE
CAMACHO RAMOS, MOISES           ADDRESS ON FILE
CAMACHO RAMOS, NELSON           ADDRESS ON FILE
CAMACHO RAMOS, NOEL             ADDRESS ON FILE
Camacho Ramos, Osvaldo          ADDRESS ON FILE




                                                                                        Page 1093 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1094 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO RAMOS, RITA A            ADDRESS ON FILE
CAMACHO RAMOS, ROSA I            ADDRESS ON FILE
CAMACHO RESTO, ERIC              ADDRESS ON FILE
CAMACHO REYES, ANTONIO           ADDRESS ON FILE
CAMACHO REYES, JESSICA           ADDRESS ON FILE
CAMACHO REYES, JESSICA           ADDRESS ON FILE
CAMACHO REYES, MARIA R           ADDRESS ON FILE
CAMACHO REYES, MYRTA I           ADDRESS ON FILE
CAMACHO REYES, OLGA I            ADDRESS ON FILE
Camacho Reyes, Ricardo           ADDRESS ON FILE
CAMACHO REYES, RICARDO           ADDRESS ON FILE
CAMACHO REYES, ROSA M            ADDRESS ON FILE
CAMACHO REYES, SANTA V           ADDRESS ON FILE
CAMACHO RIERA, MICHAEL           ADDRESS ON FILE
CAMACHO RIOS, EZEQUIEL           ADDRESS ON FILE
CAMACHO RIOS, MARIA M            ADDRESS ON FILE
CAMACHO RIOS, RAMONA             ADDRESS ON FILE
CAMACHO RIOS, SANDRA             ADDRESS ON FILE
CAMACHO RIVAS, MARIA D           ADDRESS ON FILE
CAMACHO RIVERA, BRENDA LEE       ADDRESS ON FILE
CAMACHO RIVERA, CARLA C.         ADDRESS ON FILE
CAMACHO RIVERA, CARLOS M.        ADDRESS ON FILE
CAMACHO RIVERA, DEBORAH          ADDRESS ON FILE
CAMACHO RIVERA, DIANA DE LOS A   ADDRESS ON FILE
Camacho Rivera, Edwin            ADDRESS ON FILE
CAMACHO RIVERA, EDWIN            ADDRESS ON FILE
CAMACHO RIVERA, ELIZABETH Z      ADDRESS ON FILE
CAMACHO RIVERA, ELVIN            ADDRESS ON FILE
CAMACHO RIVERA, EMILIO A         ADDRESS ON FILE
CAMACHO RIVERA, EVELYN           ADDRESS ON FILE
CAMACHO RIVERA, FIDEL            ADDRESS ON FILE
CAMACHO RIVERA, FRANCHELIZA      ADDRESS ON FILE
CAMACHO RIVERA, GLENDA           ADDRESS ON FILE
CAMACHO RIVERA, HECTOR           ADDRESS ON FILE
CAMACHO RIVERA, JAVIER           ADDRESS ON FILE
Camacho Rivera, Jose             ADDRESS ON FILE
CAMACHO RIVERA, JOSE             ADDRESS ON FILE
CAMACHO RIVERA, JOSE M           ADDRESS ON FILE
CAMACHO RIVERA, LUIS             ADDRESS ON FILE
CAMACHO RIVERA, LUIS             ADDRESS ON FILE
CAMACHO RIVERA, LUZ              ADDRESS ON FILE
CAMACHO RIVERA, MADELINE         ADDRESS ON FILE
CAMACHO RIVERA, MANUEL           ADDRESS ON FILE
CAMACHO RIVERA, MARGOT           ADDRESS ON FILE
CAMACHO RIVERA, MARGOT           ADDRESS ON FILE
CAMACHO RIVERA, MIGUEL           ADDRESS ON FILE
CAMACHO RIVERA, MILAGROS         ADDRESS ON FILE
CAMACHO RIVERA, MILDRED          ADDRESS ON FILE
CAMACHO RIVERA, MONICA           ADDRESS ON FILE
CAMACHO RIVERA, NILKA            ADDRESS ON FILE
CAMACHO RIVERA, NOLIA            ADDRESS ON FILE
CAMACHO RIVERA, NYDIA            ADDRESS ON FILE
Camacho Rivera, Ramon            ADDRESS ON FILE
Camacho Rivera, Reyes            ADDRESS ON FILE
CAMACHO RIVERA, RICARDO          ADDRESS ON FILE
CAMACHO RIVERA, ROSAEL           ADDRESS ON FILE
CAMACHO RIVERA, TAMARIS          ADDRESS ON FILE
Camacho Rivera, Victor           ADDRESS ON FILE
Camacho Rivera, William A        ADDRESS ON FILE
CAMACHO ROBLES, CRUCITO          ADDRESS ON FILE




                                                                             Page 1094 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1095 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
CAMACHO ROBLES, PEDRO                   ADDRESS ON FILE
CAMACHO ROBLES, SANDRO                  ADDRESS ON FILE
CAMACHO RODRIGUEZ MD, JOSE D            ADDRESS ON FILE
CAMACHO RODRIGUEZ, ALMA N               ADDRESS ON FILE
CAMACHO RODRIGUEZ, AMALIS J             ADDRESS ON FILE
CAMACHO RODRIGUEZ, ANA                  ADDRESS ON FILE
CAMACHO RODRIGUEZ, ANGEL                ADDRESS ON FILE
CAMACHO RODRIGUEZ, ARMANDO              ADDRESS ON FILE
Camacho Rodriguez, Armando J.           ADDRESS ON FILE
CAMACHO RODRIGUEZ, AUREA                ADDRESS ON FILE
CAMACHO RODRIGUEZ, AUREA E              ADDRESS ON FILE
CAMACHO RODRIGUEZ, AUREA E              ADDRESS ON FILE
CAMACHO RODRIGUEZ, BENJAMIN             ADDRESS ON FILE
CAMACHO RODRIGUEZ, BEVERLYN             ADDRESS ON FILE
CAMACHO RODRIGUEZ, BRUNILDA             ADDRESS ON FILE
CAMACHO RODRIGUEZ, CARLOS               ADDRESS ON FILE
CAMACHO RODRIGUEZ, CARLOS A.            ADDRESS ON FILE
CAMACHO RODRIGUEZ, CARMEN A             ADDRESS ON FILE
CAMACHO RODRIGUEZ, CELIA                ADDRESS ON FILE
CAMACHO RODRIGUEZ, ELISA                ADDRESS ON FILE
CAMACHO RODRIGUEZ, ELIZABETH            ADDRESS ON FILE
CAMACHO RODRIGUEZ, ELSIE                ADDRESS ON FILE
CAMACHO RODRIGUEZ, ELSIE                ADDRESS ON FILE
CAMACHO RODRIGUEZ, FELIX                ADDRESS ON FILE
CAMACHO RODRIGUEZ, FERDINAND            ADDRESS ON FILE
Camacho Rodriguez, Francisco            ADDRESS ON FILE
CAMACHO RODRIGUEZ, FRANCISCO            ADDRESS ON FILE
CAMACHO RODRIGUEZ, FRAY LUIS            ADDRESS ON FILE
CAMACHO RODRIGUEZ, GLENDA Y             ADDRESS ON FILE
Camacho Rodriguez, Hector               ADDRESS ON FILE
CAMACHO RODRIGUEZ, HERBERT              ADDRESS ON FILE
CAMACHO RODRIGUEZ, IDALIS               ADDRESS ON FILE
CAMACHO RODRIGUEZ, JESSICA              ADDRESS ON FILE
CAMACHO RODRIGUEZ, JORGE                ADDRESS ON FILE
CAMACHO RODRIGUEZ, JOSE                 ADDRESS ON FILE
CAMACHO RODRIGUEZ, JOSE                 ADDRESS ON FILE
CAMACHO RODRIGUEZ, JOSE                 ADDRESS ON FILE
Camacho Rodriguez, Jose L               ADDRESS ON FILE
CAMACHO RODRIGUEZ, KEYSHA               ADDRESS ON FILE
CAMACHO RODRIGUEZ, LINETTE              ADDRESS ON FILE
CAMACHO RODRIGUEZ, LUIS                 ADDRESS ON FILE
CAMACHO RODRIGUEZ, LUIS                 ADDRESS ON FILE
CAMACHO RODRIGUEZ, LUZ ESTHER           ADDRESS ON FILE
CAMACHO RODRIGUEZ, MARGARITA            ADDRESS ON FILE
CAMACHO RODRIGUEZ, MARIA DE LOS ANGELES ADDRESS ON FILE
CAMACHO RODRIGUEZ, MARIA DEL C.         ADDRESS ON FILE
CAMACHO RODRIGUEZ, MARIA E.             ADDRESS ON FILE
CAMACHO RODRIGUEZ, MYRIAM               ADDRESS ON FILE
CAMACHO RODRÍGUEZ, MYRNA Z.             HÉCTOR L. NIEVES CLAUDIO   PO BOX 62                                             TOA BAJA     PR      00951
CAMACHO RODRÍGUEZ, MYRNA Z.             OLGA D. ÁLVAREZ GONZÁLEZ   PO BOX 70244                                          SAN JUAN     PR      00936‐8244
Camacho Rodriguez, Noel                 ADDRESS ON FILE
CAMACHO RODRIGUEZ, NORBERTO             ADDRESS ON FILE
CAMACHO RODRIGUEZ, PEDRO                ADDRESS ON FILE
Camacho Rodriguez, Pedro A.             ADDRESS ON FILE
CAMACHO RODRIGUEZ, PEDRO L.             ADDRESS ON FILE
CAMACHO RODRIGUEZ, RADAMES              ADDRESS ON FILE
CAMACHO RODRIGUEZ, RAUL                 ADDRESS ON FILE
CAMACHO RODRIGUEZ, ROSA C               ADDRESS ON FILE
CAMACHO RODRIGUEZ, SARA L               ADDRESS ON FILE
CAMACHO RODRIGUEZ, VICTOR L             ADDRESS ON FILE




                                                                                    Page 1095 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1096 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO RODRIGUEZ, VICTOR L   ADDRESS ON FILE
CAMACHO RODRIGUEZ, WILKA      ADDRESS ON FILE
CAMACHO RODRIGUEZ, YASHIRA    ADDRESS ON FILE
CAMACHO RODRIGUEZ, YOLANDA    ADDRESS ON FILE
CAMACHO ROJAS, AIDA L         ADDRESS ON FILE
CAMACHO ROJAS, MIGUEL         ADDRESS ON FILE
CAMACHO ROLDAN, LUIS J        ADDRESS ON FILE
CAMACHO ROMAN, ANA            ADDRESS ON FILE
CAMACHO ROMAN, CARMEN I       ADDRESS ON FILE
CAMACHO ROMAN, JACQUELINE M   ADDRESS ON FILE
Camacho Roman, Rigoberto      ADDRESS ON FILE
CAMACHO ROMERO, GRACE M       ADDRESS ON FILE
CAMACHO RONDON, ALBA I        ADDRESS ON FILE
CAMACHO ROSA, CARMEN S        ADDRESS ON FILE
CAMACHO ROSA, EDERLINDA       ADDRESS ON FILE
CAMACHO ROSA, EVELYN          ADDRESS ON FILE
CAMACHO ROSA, JOSEFINA        ADDRESS ON FILE
CAMACHO ROSA, LUIS O          ADDRESS ON FILE
CAMACHO ROSA, MARIA           ADDRESS ON FILE
CAMACHO ROSA, MARIA DE L      ADDRESS ON FILE
CAMACHO ROSADO, HECTOR L      ADDRESS ON FILE
CAMACHO ROSADO, IDALIA        ADDRESS ON FILE
CAMACHO ROSADO, JOSE A        ADDRESS ON FILE
CAMACHO ROSADO, LOURDES       ADDRESS ON FILE
CAMACHO ROSADO, MARIA         ADDRESS ON FILE
CAMACHO ROSADO, RAFAEL        ADDRESS ON FILE
CAMACHO ROSADO, VICTOR M      ADDRESS ON FILE
CAMACHO ROSADO, YAMILETTE     ADDRESS ON FILE
CAMACHO ROSARIO, EMMA R       ADDRESS ON FILE
CAMACHO ROSARIO, JULIA        ADDRESS ON FILE
CAMACHO ROSARIO, NORA L       ADDRESS ON FILE
CAMACHO ROSARIO, ROBERTO      ADDRESS ON FILE
Camacho Rosas, Luis D         ADDRESS ON FILE
CAMACHO ROSSI, MAGDA          ADDRESS ON FILE
CAMACHO ROSSY, GRETCHEN       ADDRESS ON FILE
CAMACHO ROVIRA, MYRNA L       ADDRESS ON FILE
CAMACHO RUIZ, ANGIE           ADDRESS ON FILE
CAMACHO RUIZ, BRENDALIZ       ADDRESS ON FILE
CAMACHO RUIZ, DOMINGO         ADDRESS ON FILE
CAMACHO RUIZ, EDILIA          ADDRESS ON FILE
Camacho Ruiz, Gregorio        ADDRESS ON FILE
CAMACHO RUIZ, JOSE            ADDRESS ON FILE
CAMACHO RUIZ, JOSUE           ADDRESS ON FILE
CAMACHO RUIZ, MAGLYN          ADDRESS ON FILE
CAMACHO RUIZ, MATILDE         ADDRESS ON FILE
CAMACHO RUIZ, TERRY           ADDRESS ON FILE
CAMACHO RUIZ,JASON            ADDRESS ON FILE
CAMACHO SALDANA, FRANK        ADDRESS ON FILE
CAMACHO SALGADO, MARANGELLI   ADDRESS ON FILE
CAMACHO SANABRIA, LUIS        ADDRESS ON FILE
CAMACHO SANABRIA, LUIS A.     ADDRESS ON FILE
CAMACHO SANCHEZ, ANA I        ADDRESS ON FILE
Camacho Sanchez, Ana M        ADDRESS ON FILE
CAMACHO SANCHEZ, ANA. J.      ADDRESS ON FILE
CAMACHO SANCHEZ, ANNETTE      ADDRESS ON FILE
CAMACHO SANCHEZ, EFREN L      ADDRESS ON FILE
Camacho Sanchez, Exel         ADDRESS ON FILE
CAMACHO SANCHEZ, JUAN C       ADDRESS ON FILE
CAMACHO SANCHEZ, JUAN C       ADDRESS ON FILE
CAMACHO SANCHEZ, LEE J        ADDRESS ON FILE




                                                                          Page 1096 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1097 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO SANCHEZ, LUIS A.      ADDRESS ON FILE
CAMACHO SANCHEZ, WILFREDO     ADDRESS ON FILE
CAMACHO SANCHEZ, YOLIBERT     ADDRESS ON FILE
CAMACHO SANCHEZ, YOLIBERT     ADDRESS ON FILE
CAMACHO SANTANA, LETICIA      ADDRESS ON FILE
CAMACHO SANTANA, RAFAEL       ADDRESS ON FILE
CAMACHO SANTANA, RAYMOND      ADDRESS ON FILE
CAMACHO SANTANA, ROSA         ADDRESS ON FILE
CAMACHO SANTANA, WANDA I      ADDRESS ON FILE
CAMACHO SANTIAGO, ANNIE M     ADDRESS ON FILE
Camacho Santiago, Carlos E    ADDRESS ON FILE
CAMACHO SANTIAGO, DAMARIS     ADDRESS ON FILE
CAMACHO SANTIAGO, DIGNA       ADDRESS ON FILE
CAMACHO SANTIAGO, ELIZABETH   ADDRESS ON FILE
CAMACHO SANTIAGO, FRANCISCO   ADDRESS ON FILE
CAMACHO SANTIAGO, JAMES       ADDRESS ON FILE
CAMACHO SANTIAGO, JOSE        ADDRESS ON FILE
CAMACHO SANTIAGO, JOSE A.     ADDRESS ON FILE
CAMACHO SANTIAGO, JUAN E.     ADDRESS ON FILE
CAMACHO SANTIAGO, LUIS        ADDRESS ON FILE
CAMACHO SANTIAGO, LUIS F.     ADDRESS ON FILE
Camacho Santiago, Magaly      ADDRESS ON FILE
CAMACHO SANTIAGO, MARGIE      ADDRESS ON FILE
CAMACHO SANTIAGO, MARIA D     ADDRESS ON FILE
CAMACHO SANTIAGO, MELESA      ADDRESS ON FILE
Camacho Santiago, Miguel A    ADDRESS ON FILE
CAMACHO SANTIAGO, MINERVA     ADDRESS ON FILE
CAMACHO SANTIAGO, NANCY       ADDRESS ON FILE
CAMACHO SANTIAGO, ROSAURA     ADDRESS ON FILE
CAMACHO SANTIAGO, WANDIE      ADDRESS ON FILE
Camacho Santiano, Jose        ADDRESS ON FILE
CAMACHO SARRAGA, HECTOR       ADDRESS ON FILE
CAMACHO SARRAGA, JOSE         ADDRESS ON FILE
CAMACHO SARRAGA, KELVIN       ADDRESS ON FILE
CAMACHO SEIJO, JORGE          ADDRESS ON FILE
CAMACHO SEMIDEI, JUAN         ADDRESS ON FILE
CAMACHO SEMIDEY, JUAN         ADDRESS ON FILE
CAMACHO SEPULVEDA, EDITH      ADDRESS ON FILE
CAMACHO SERRANO, ANA M        ADDRESS ON FILE
CAMACHO SERRANO, ANA M        ADDRESS ON FILE
CAMACHO SERRANO, IRAIDA       ADDRESS ON FILE
CAMACHO SIERRA, DINARY        ADDRESS ON FILE
CAMACHO SIERRA, JOSE          ADDRESS ON FILE
CAMACHO SIERRA, JUAN          ADDRESS ON FILE
CAMACHO SIERRA, MARIBEL       ADDRESS ON FILE
CAMACHO SIERRA, MARIBEL       ADDRESS ON FILE
CAMACHO SOLA, MADELINE E.     ADDRESS ON FILE
CAMACHO SOSA, MIGUEL A        ADDRESS ON FILE
Camacho Soto, Alexis          ADDRESS ON FILE
CAMACHO SOTO, BELFORD I       ADDRESS ON FILE
CAMACHO SOTO, CHARLIE         ADDRESS ON FILE
Camacho Soto, Dimary          ADDRESS ON FILE
CAMACHO SOTO, DIMARY          ADDRESS ON FILE
CAMACHO SOTO, EMELINA         ADDRESS ON FILE
CAMACHO SOTO, JOSUE           ADDRESS ON FILE
CAMACHO SOTO, MAGDALENA       ADDRESS ON FILE
CAMACHO SOTO, MARIBEL         ADDRESS ON FILE
CAMACHO SOTO, MARIBEL         ADDRESS ON FILE
CAMACHO SOTO, ROSALINA        ADDRESS ON FILE
CAMACHO SOTO, SAMUEL          ADDRESS ON FILE




                                                                          Page 1097 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1098 of 3500
                                                                                17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                    Address1                         Address2                                Address3               Address4   City         State   PostalCode   Country
Camacho Soto, Zoraida            ADDRESS ON FILE
CAMACHO SOUCHET, REBECCA         ADDRESS ON FILE
CAMACHO SUAREZ, ANGEL R.         ADDRESS ON FILE
CAMACHO SUAREZ, CHARLIE          ADDRESS ON FILE
Camacho Suarez, Ismael           ADDRESS ON FILE
CAMACHO SUAREZ, MANUEL           ADDRESS ON FILE
CAMACHO SUAREZ, MARIA DE L       ADDRESS ON FILE
CAMACHO SUAREZ, MARIA L          ADDRESS ON FILE
CAMACHO TAFUR, MARIA F           ADDRESS ON FILE
CAMACHO TANCO, MARIE             ADDRESS ON FILE
CAMACHO TANCO, MARIE             ADDRESS ON FILE
CAMACHO TANON, RAMON             ADDRESS ON FILE
CAMACHO TARDI, ADRIAN            ADDRESS ON FILE
CAMACHO TITLEY, LENNIES A        ADDRESS ON FILE
CAMACHO TITTLEY, BEATRIZ         ADDRESS ON FILE
CAMACHO TORO, FRANCES            ADDRESS ON FILE
CAMACHO TORO, OLGA               ADDRESS ON FILE
CAMACHO TORRES, ALISSETTE S      ADDRESS ON FILE
CAMACHO TORRES, ALISSETTE S      ADDRESS ON FILE
CAMACHO TORRES, ALMA N           ADDRESS ON FILE
                                                                                                          408 BLVD. MEDIA LUNA
CAMACHO TORRES, ALVÁN D.         LCDO. JAIME A. SANTOS SANTIAGO   CONDOMINIO VEREDAS DEL PARQUE           4503                              CAROLINA     PR      00987
CAMACHO TORRES, ANGEL            ADDRESS ON FILE
CAMACHO TORRES, ANGEL D          ADDRESS ON FILE
CAMACHO TORRES, CARLOS J         ADDRESS ON FILE
CAMACHO TORRES, CARMEN           ADDRESS ON FILE
CAMACHO TORRES, DIANA C          ADDRESS ON FILE
CAMACHO TORRES, ELSIE            ADDRESS ON FILE
CAMACHO TORRES, FERNANDO I       ADDRESS ON FILE
Camacho Torres, Gilberto         ADDRESS ON FILE
CAMACHO TORRES, JAIME            ADDRESS ON FILE
CAMACHO TORRES, JAIME D          ADDRESS ON FILE
CAMACHO TORRES, JOAN             ADDRESS ON FILE
CAMACHO TORRES, JORGE            ADDRESS ON FILE
CAMACHO TORRES, JOSE             ADDRESS ON FILE
CAMACHO TORRES, JOSE G.          ADDRESS ON FILE
CAMACHO TORRES, JUANITA          ADDRESS ON FILE
CAMACHO TORRES, LIDIA            ADDRESS ON FILE
CAMACHO TORRES, MARIA D          ADDRESS ON FILE
CAMACHO TORRES, MARIA MERCEDES   ADDRESS ON FILE
CAMACHO TORRES, NEREIDA          ADDRESS ON FILE
CAMACHO TORRES, NEREIDA          ADDRESS ON FILE
CAMACHO TORRES, RAMON            ADDRESS ON FILE
CAMACHO TORRES, VANESSA          ADDRESS ON FILE
CAMACHO URBINA, OMAR             ADDRESS ON FILE
Camacho Valentin, Idilio         ADDRESS ON FILE
CAMACHO VALENTIN, JASMARIE       ADDRESS ON FILE
CAMACHO VALLE, HECTOR M          ADDRESS ON FILE
CAMACHO VALLE, MELVIN            ADDRESS ON FILE
CAMACHO VALLE, MELVIN F          ADDRESS ON FILE
CAMACHO VARGAS, DIANA I          ADDRESS ON FILE
CAMACHO VARGAS, ELIEZER          ADDRESS ON FILE
CAMACHO VARGAS, ELSIE            ADDRESS ON FILE
CAMACHO VARGAS, FRANCIS          ADDRESS ON FILE
CAMACHO VARGAS, FRANCIS          ADDRESS ON FILE
CAMACHO VARGAS, FRANCISCO        ADDRESS ON FILE
CAMACHO VARGAS, JOEL             ADDRESS ON FILE
CAMACHO VARGAS, OLGA             ADDRESS ON FILE
CAMACHO VARGAS, REGINA C         ADDRESS ON FILE
Camacho Vazquez, Andres          ADDRESS ON FILE




                                                                                           Page 1098 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1099 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMACHO VAZQUEZ, BELMARY       ADDRESS ON FILE
CAMACHO VAZQUEZ, MANUEL        ADDRESS ON FILE
CAMACHO VAZQUEZ, MARISOL       ADDRESS ON FILE
CAMACHO VAZQUEZ, WANDA I       ADDRESS ON FILE
CAMACHO VEGA MD, ARACELIO      ADDRESS ON FILE
CAMACHO VEGA, AHMED            ADDRESS ON FILE
CAMACHO VEGA, AIDA L           ADDRESS ON FILE
CAMACHO VEGA, ANA M            ADDRESS ON FILE
CAMACHO VEGA, CARMEN R         ADDRESS ON FILE
CAMACHO VEGA, DORIS            ADDRESS ON FILE
CAMACHO VEGA, EDGAR            ADDRESS ON FILE
CAMACHO VEGA, ELIZABETH        ADDRESS ON FILE
CAMACHO VEGA, ERIC             ADDRESS ON FILE
CAMACHO VEGA, JOSE             ADDRESS ON FILE
CAMACHO VEGA, JOSE             ADDRESS ON FILE
CAMACHO VEGA, JOSE A           ADDRESS ON FILE
CAMACHO VEGA, JOSE ALBERTO     ADDRESS ON FILE
CAMACHO VEGA, LILLIAM          ADDRESS ON FILE
CAMACHO VEGA, MARIMEL          ADDRESS ON FILE
CAMACHO VEGA, MARIMEL          ADDRESS ON FILE
CAMACHO VEGA, ZORAIDA          ADDRESS ON FILE
CAMACHO VELAZQ EZ, OMAR J      ADDRESS ON FILE
CAMACHO VELAZQUEZ, ANDRES      ADDRESS ON FILE
CAMACHO VELAZQUEZ, ANGEL L     ADDRESS ON FILE
CAMACHO VELAZQUEZ, CARMEN D    ADDRESS ON FILE
CAMACHO VELAZQUEZ, DORIS       ADDRESS ON FILE
CAMACHO VELAZQUEZ, GLORIA E.   ADDRESS ON FILE
CAMACHO VELAZQUEZ, LUIS        ADDRESS ON FILE
CAMACHO VELAZQUEZ, LUIS R      ADDRESS ON FILE
CAMACHO VELAZQUEZ, MARIA       ADDRESS ON FILE
CAMACHO VELAZQUEZ, OSCAR H.    ADDRESS ON FILE
CAMACHO VELAZQUEZ, SHELITZA    ADDRESS ON FILE
CAMACHO VELAZQUEZ, SOCORRO     ADDRESS ON FILE
CAMACHO VELEZ, AIXA            ADDRESS ON FILE
CAMACHO VELEZ, ARNALDO         ADDRESS ON FILE
Camacho Velez, Daniel          ADDRESS ON FILE
CAMACHO VELEZ, DANIEL          ADDRESS ON FILE
CAMACHO VELEZ, ELIEZER         ADDRESS ON FILE
CAMACHO VELEZ, EVA N           ADDRESS ON FILE
CAMACHO VELEZ, GIL             ADDRESS ON FILE
CAMACHO VELEZ, GISELLE J       ADDRESS ON FILE
CAMACHO VELEZ, JACKELINE M.    ADDRESS ON FILE
CAMACHO VELEZ, JESSICA         ADDRESS ON FILE
CAMACHO VELEZ, JESUS           ADDRESS ON FILE
CAMACHO VELEZ, JOHANNA         ADDRESS ON FILE
Camacho Velez, Jose L.         ADDRESS ON FILE
CAMACHO VELEZ, JOSE M          ADDRESS ON FILE
CAMACHO VELEZ, LUZ C.          ADDRESS ON FILE
CAMACHO VELEZ, MARIA           ADDRESS ON FILE
Camacho Velez, Orlando         ADDRESS ON FILE
CAMACHO VELEZ, RAFAEL A        ADDRESS ON FILE
Camacho Velez, Remigio         ADDRESS ON FILE
CAMACHO VELEZ, SARA            ADDRESS ON FILE
CAMACHO VERA, JOHANELIZ        ADDRESS ON FILE
CAMACHO VICENS, GILBEN J.      ADDRESS ON FILE
CAMACHO VILLAFANE, WILLIAM     ADDRESS ON FILE
CAMACHO VILLAMIL, JONATHAN     ADDRESS ON FILE
Camacho Villanueva, Carmelo    ADDRESS ON FILE
CAMACHO VILLANUEVA, JUVENAL    ADDRESS ON FILE
CAMACHO VILLANUEVA, MARITZA    ADDRESS ON FILE




                                                                           Page 1099 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1100 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                           Address1                        Address2                                  Address3   Address4   City         State   PostalCode   Country
CAMACHO VILLEGAS, ANA D.                ADDRESS ON FILE
CAMACHO VIRELLA, MARIA M.               ADDRESS ON FILE
CAMACHO ZAMORA, CRISTOBAL               ADDRESS ON FILE
CAMACHO ZAPATA, MICHELLE                ADDRESS ON FILE
CAMACHO, ANGELICA                       ADDRESS ON FILE
CAMACHO, ANGELICA M.                    ADDRESS ON FILE
CAMACHO, CARLOS F                       ADDRESS ON FILE
CAMACHO, ELVIN                          ADDRESS ON FILE
CAMACHO, ENRIQUE                        ADDRESS ON FILE
CAMACHO, ERIK                           ADDRESS ON FILE
CAMACHO, JANA                           ADDRESS ON FILE
CAMACHO, JOSEPH                         ADDRESS ON FILE
CAMACHO, MARIA                          ADDRESS ON FILE
CAMACHO, MARIA ENID                     ADDRESS ON FILE
CAMACHO, MIGUEL ANGEL                   ADDRESS ON FILE
CAMACHO, RALPH                          ADDRESS ON FILE
CAMACHO, ROBERT                         ADDRESS ON FILE
CAMACHO, WILLIAM                        ADDRESS ON FILE
CAMACHO, ZAIDA                          ADDRESS ON FILE
CAMACHO, ZULEYKA                        ADDRESS ON FILE
CAMACHO,JOSE                            ADDRESS ON FILE
CAMACHO,JULIO                           ADDRESS ON FILE
CAMACHOCAMACHO, ENRIQUE                 ADDRESS ON FILE
CAMACHO‐LOMBAY, KENNET                  ADDRESS ON FILE
CAMACHOMORALES, CARLOS                  ADDRESS ON FILE
CAMACHOOQUENDO, ANGEL L                 ADDRESS ON FILE
CAMACHOSANTIAGO, ENRIQUE                ADDRESS ON FILE
CAMACHOTORRES, ALVAN                    ADDRESS ON FILE
CAMACHOTORREZ, JULIO B                  ADDRESS ON FILE
CAMAGUEY LLC H/N/C/ SUBWAY              P O BOX 16665                                                                                   SAN JUAN     PR      00908‐6665
CAMALY ARROYO SIERRA                    ADDRESS ON FILE
CAMANO AYALA, MERY ANN                  ADDRESS ON FILE
Camano De Jesus, Calixto                ADDRESS ON FILE
CAMANO RIVERA, HECTOR                   ADDRESS ON FILE
CAMANO RIVERA, HECTOR L.                ADDRESS ON FILE
CAMARA ANDINO, AIDA L.                  ADDRESS ON FILE
CAMARA ANDINO, HECTOR                   ADDRESS ON FILE
CAMARA ANDINO, HECTOR                   ADDRESS ON FILE
CAMARA CABAN, CARLOS                    ADDRESS ON FILE
CAMARA CALDERON, DEWELL                 ADDRESS ON FILE
CAMARA CANDELARIA, RAMSES               ADDRESS ON FILE
CAMARA CANDELARIA, WANDA                ADDRESS ON FILE
CAMARA CARRION, SYLVIA                  ADDRESS ON FILE
CAMARA COLOMBANI, MARGARITA             ADDRESS ON FILE
CAMARA COLOMBIANI, MIRELLA              ADDRESS ON FILE
CAMARA COMERCIO DE PR                   P O BOX 9024033                                                                                 SAN JUAN     PR      00902‐4033
CAMARA DE COMERCIO DEL SUR DE PR INC    PO BOX 7455                                                                                     PONCE        PR      00732‐7455
CAMARA DE DESARROLLO ECONOMICO Y EMPRE158 AVE JOSE DE DIEGO                                                                             ARECIBO      PR      00612‐4548
CAMARA DE MERCADEO, INDUSTRIA Y         90 CARR 165 ST 501                                                                              GUAYNABO     PR      00968
CAMARA DE REPRESENTANTE                 AREA DEL TESORO                 DIV. CONTADURIA GENERAL                                         SAN JUAN     PR      00902
CAMARA DE REPRESENTANTE                 CAMARA DE REPRESENTANTES        EL CAPITOLIO BOX 9022228                                        SAN JUAN     PR      00902‐2228
CAMARA DE REPRESENTANTE Y ADA C FLORES P O BOX 9022228                                                                                  SAN JUAN     PR      00902‐2228
CAMARA MERCADEO IND Y DIST DE ALIMENTOS 90 CARR 165                     SUITE 501                                                       GUAYNABO     PR      00968‐8058
CAMARA MERCADEO IND Y DIST DE ALIMENTOS CENTRO INTL MERCADEO TORRE II   90 CARR 165 STE 501                                             GUAYNABO     PR      00968‐8058
CAMARA OFICIAL DE COMERCIO DE ESPANA EN PR INC                          PO BOX 9020894                                                  SAN JUAN     PR      00902‐0894
CAMARA OLIVENCIA, EUGENIO J.            ADDRESS ON FILE
CAMARA OPPENHEIMER, JORGE A.            ADDRESS ON FILE
CAMARA RODRIGUEZ, NYDIA M               ADDRESS ON FILE
CAMARA SALAZAR, FERMIN                  ADDRESS ON FILE
CAMARA SANTIAGO, DIANA                  ADDRESS ON FILE




                                                                                                   Page 1100 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1101 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                       Address1                  Address2                                   Address3   Address4   City             State   PostalCode   Country
CAMARA SANTIAGO, JOSE               ADDRESS ON FILE
CAMARA TECH                         256A AVE PINEIRO                                                                           SAN JUAN         PR      00927
CAMARA WALKER, BRENDA               ADDRESS ON FILE
CAMARATECH                          HC 01 BOX 3771                                                                             SANTA ISABEL     PR      00757
CAMARENA SAINZ, ANDREA              ADDRESS ON FILE
CAMARENA, JUAN                      ADDRESS ON FILE
CAMARENO CAMARENO, JUAN             ADDRESS ON FILE
CAMARENO CANCEL, IRIS A             ADDRESS ON FILE
CAMARENO COLON, DANIEL              ADDRESS ON FILE
CAMARENO COLON, JOSE L              ADDRESS ON FILE
CAMARENO CONCEPCION, GEORGINA       ADDRESS ON FILE
CAMARENO CUSTODIO, BELMARIE         ADDRESS ON FILE
CAMARENO CUSTODIO, MARIBEL          ADDRESS ON FILE
CAMARENO DAVILA, MARIA DE LOURDES   ADDRESS ON FILE
CAMARENO DIAZ, GLADYS               ADDRESS ON FILE
CAMARENO ESTELA, GLADYS             ADDRESS ON FILE
CAMARENO ESTELA, JOSE               ADDRESS ON FILE
CAMARENO GARCIA, ALBA L             ADDRESS ON FILE
CAMARENO GARCIA, NILSA              ADDRESS ON FILE
CAMARENO GARCIA, NILSA              ADDRESS ON FILE
CAMARENO GOMEZ, JUAN                ADDRESS ON FILE
CAMARENO MALDONADO, AIXA            ADDRESS ON FILE
CAMARENO MALDONADO, SANDRA I        ADDRESS ON FILE
CAMARENO MARQUEZ, MARIA E           ADDRESS ON FILE
CAMARENO MARQUEZ, MARIA E.          ADDRESS ON FILE
CAMARENO MARTINEZ, RAMONA           ADDRESS ON FILE
CAMARENO RAMIREZ, LUIS              ADDRESS ON FILE
CAMARENO RAMOS, GLADYBER            ADDRESS ON FILE
CAMARENO RIVERA, MARIA DEL C.       ADDRESS ON FILE
CAMARENO ROJAS, ELADIO              ADDRESS ON FILE
CAMARENO ROJAS, ROSA MARIA          ADDRESS ON FILE
CAMARENO ROJAS, WANDA               ADDRESS ON FILE
CAMARENO ROSADO, EMILY              ADDRESS ON FILE
CAMARENO SEPULVEDA, RAMON           ADDRESS ON FILE
CAMARENO TRUJILLO, LUIS             ADDRESS ON FILE
Camareno Velazquez, Ruth L          ADDRESS ON FILE
CAMARENO, DOLLY                     ADDRESS ON FILE
CAMARENO, NILDA                     ADDRESS ON FILE
CAMARERO RACE TRACK CORP            AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN         PR      00902‐4140
CAMARERO RACE TRACK CORP            CARR 3 KM 15.3                                                                             CANOVANAS        PR      00729
CAMARGO CAMINO, ANDRES              ADDRESS ON FILE
CAMARGO CARABALLO, JEISON           ADDRESS ON FILE
CAMARGO FELICIANO, AIDYMAR          ADDRESS ON FILE
CAMARGO ORENGO, ADAN                ADDRESS ON FILE
CAMARGO ORENGO, ELBERT A            ADDRESS ON FILE
CAMASTA ACEVEDO, SALVADOR           ADDRESS ON FILE
CAMASTA ACEVEDO, YANIRA             ADDRESS ON FILE
CAMAYD ARANGUNDE MD, RICARDO        ADDRESS ON FILE
CAMAYD AUTO PARTS                   215 CALLE GUAYAMA                                                                          SAN JUAN         PR      00917
CAMAYD AUTO PARTS INC               215 CALLE GUAYAMA                                                                          HATO REY         PR      00917
CAMAYD FELICIANO, JAVIER            ADDRESS ON FILE
CAMAYD RIVERA, LUIS                 ADDRESS ON FILE
CAMAYD ROMERO, CRISTINA             ADDRESS ON FILE
CAMAYD VELEZ, ELVIA                 ADDRESS ON FILE
CAMAYD VELEZ, ELVIA M.              ADDRESS ON FILE
CAMBA CASAS, IZASKUN                ADDRESS ON FILE
CAMBERO MARTE, YOLANDA              ADDRESS ON FILE
CAMBIUM LEARNING, INC.              17855 DALLAS PARKWAY      SUITE 400                                                        DALLAS           TX      75287
CAMBO DIAZ, PAOLA                   ADDRESS ON FILE
CAMBO, JORGE                        ADDRESS ON FILE




                                                                                          Page 1101 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1102 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                        Address1                       Address2                                   Address3   Address4   City           State   PostalCode   Country
CAMBRELEN ARZOLA, ANGEL              ADDRESS ON FILE
CAMBRELEN BELTRAN, ANGEL             ADDRESS ON FILE
CAMBRELEN BELTRAN, FRANCISCA         ADDRESS ON FILE
CAMBRELEN BELTRAN, MARIA M.          ADDRESS ON FILE
CAMBRELEN GONZALEZ, SUHEIDY          ADDRESS ON FILE
CAMBRELEN MARTINEZ, CARMEN I         ADDRESS ON FILE
CAMBRELEN ROBLES, CARLOS E.          ADDRESS ON FILE
CAMBRELEN ROBLES, MYRNA E.           ADDRESS ON FILE
CAMBRELEN, JANETTE                   ADDRESS ON FILE
CAMBRELEN, JANETTE IVETTE            ADDRESS ON FILE
CAMBRIDGE BIOMEDICAL INC.            1320 SOLDIERS FIELD ROAD                                                                        BRIGHTON       MA      02135
CAMBRIDGE COLLEGE                    THE HATO REY CENTER BUILDING   SUITE 1400                                                       SAN JUAN       PR      00918
CAMBRIDGE COLLEGE PR REGION CENTER
CAMBRIDGE HOSPITAL                   PO BOX 869102                                                                                   MILTON         MA      02186 9102
CAMBRIDGE TRAVEL                     PO BOX 193052                                                                                   SAN JUAN       PR      00919
CAMCARE HEALTH CORPORATION           PO BOX 1812                                                                                     ALPHARETTA     GA      30005
CAMEJO DURAN, DEBORAH                ADDRESS ON FILE
CAMEJO GARCIA, CHRISTIAN             ADDRESS ON FILE
CAMEJO SPROUSE, GIANNETTE            ADDRESS ON FILE
CAMELIA AVILES SANCHEZ               ADDRESS ON FILE
CAMELIA DE J. MARTINEZ MOREL         ADDRESS ON FILE
CAMELIA M GOMEZ CALDERON             ADDRESS ON FILE
CAMELIA OLIVERAS PLAZA               ADDRESS ON FILE
CAMELIA OLIVERAS PLAZA               ADDRESS ON FILE
CAMELIA RIVERA NIEVES                ADDRESS ON FILE
CAMELIA TORRES NEVAREZ               ADDRESS ON FILE
CAMELIA VALENTIN RODRIGUEZ           ADDRESS ON FILE
CAMERA MUNDI INC                     BOX 6840                                                                                        CAGUAS         PR      00726
CAMERA MUNDI INC                     G P O BOX 6840                                                                                  CAGUAS         PR      00726
CAMERA MUNDI, INC                    AREA DE TESORO                 DIVISION DE RECLAMACIONES                                        SAN JUAN       PR      00902‐4140
CAMERA MUNDI, INC                    PO BOX 6840                                                                                     CAGUAS         PR      00726
CAMERATA CORAL INC                   DOS PINOS                      804 LOPEZ SICARDO                                                SAN JUAN       PR      00923
CAMERATECH                           1183 AVE PINEIRO                                                                                SAN JUAN       PR      00920
CAMERO MAYOR, LEROY                  ADDRESS ON FILE
CAMERON AVILES, IRAIDA               ADDRESS ON FILE
CAMERON DE JESUS, ALEX               ADDRESS ON FILE
CAMERON GONZALEZ, ELIN               ADDRESS ON FILE
CAMERON GONZALEZ, SHEYLLA            ADDRESS ON FILE
CAMERON IRIZARRY, ELIZABETH          ADDRESS ON FILE
CAMERON IRIZARRY, ROSALINE           ADDRESS ON FILE
CAMERON IRIZARRY, ROSALINE           ADDRESS ON FILE
CAMERON MALDONADO, YVONNE            ADDRESS ON FILE
CAMERON MATOS, JESSICA               ADDRESS ON FILE
Cameron Medina, William              ADDRESS ON FILE
CAMERON MIRANDA, OLGA                ADDRESS ON FILE
CAMERON MOYA, JUANITA                ADDRESS ON FILE
CAMERON MOYA, MAGALI                 ADDRESS ON FILE
CAMERON ORTIZ, JUAN                  ADDRESS ON FILE
CAMERON ORTIZ, RICHARD               ADDRESS ON FILE
CAMERON ROSARIO, EMMA                ADDRESS ON FILE
Cameron Ruiz, Josue E                ADDRESS ON FILE
CAMERON SANTIAGO, CARMEN D           ADDRESS ON FILE
CAMERON SANTIAGO, FERNANDO           ADDRESS ON FILE
Cameron Santiago, Wilfredo           ADDRESS ON FILE
CAMERON SEMIDEY, SACHEIRY            ADDRESS ON FILE
CAMERON SOTO, ANA                    ADDRESS ON FILE
CAMERUS                              110 BIS                        AVENUE DU GENERAL LECLERC                                        PARIS                  93500        FRANCE
CAMERUS                              110 BIS AVENUE                 DU GENERAL LECLERC                                               PANTIN                 93500        FRANCE
CAMFER ENGINEERING SERVICES          PO BOX 366024                                                                                   SAN JUAN       PR      00917
CAMHE, PAMELA                        ADDRESS ON FILE




                                                                                                Page 1102 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1103 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                      Address1                           Address2                                  Address3   Address4   City         State   PostalCode   Country
CAMI CONSTRUCTION, INC             PO BOX 4961                                                                                        CAGUAS       PR      00726‐4961
CAMI HI LLC                        P O BOX 9385                                                                                       SAN JUAN     PR      00908
CAMI, INC                          250 AVE. PONCE DE LEON             3 PISO SUITE 300                                                SAN JUAN     PR      00918
CAMI, INC                          CITY VIEW PLAZA SUITE 500                                                                          GUAYNABO     PR      00968
CAMIL HERNANDEZ SANTIAGO           ADDRESS ON FILE
CAMIL I. MARRERO QUINONES          ADDRESS ON FILE
CAMIL IVETTE MARRERO QUINONES      ADDRESS ON FILE
CAMIL RIVERA                       ADDRESS ON FILE
CAMIL Z ORTIZ ROBLES               ADDRESS ON FILE
CAMILA BERMÚDEZ GARCÍA             ADDRESS ON FILE
CAMILA DEL C DIAZ BULTRON          ADDRESS ON FILE
CAMILA E RAMOS ALEMAN              ADDRESS ON FILE
CAMILA GUADALUPE BENITEZ           ADDRESS ON FILE
CAMILA N CARBER SUBIRATRUST        VILLA CAPARRA                      J4 CALLE J                                                      GUAYNABO     PR      00966‐2203
CAMILA ONDINA CABOS                ADDRESS ON FILE
CAMILA ORTIZ DE ZAYAS              ADDRESS ON FILE
CAMILA P LOPEZ DIAZ                ADDRESS ON FILE
CAMILA SANTALIZ VAZQUEZ            ADDRESS ON FILE
CAMILE CENTENO Y/O JOSE CENTENO    ADDRESS ON FILE
CAMILE I VILLAFANE PADILLA         ADDRESS ON FILE
CAMILE M COLON RIVAS               ADDRESS ON FILE
CAMILE M CRUZ CAQUIAS              ADDRESS ON FILE
CAMILE MONIQUE CESANI FELICIANO    ADDRESS ON FILE
CAMILE QUINONEZ LUNA               ADDRESS ON FILE
CAMILIE RIVERA DUENO RODRIGUEZ     ADDRESS ON FILE
CAMILIE SOTO SERRANO               ADDRESS ON FILE
CAMILLE A PAGAN CARDONA            ADDRESS ON FILE
CAMILLE ADORNO BATISTA             ADDRESS ON FILE
CAMILLE ARROYO SANTOS              ADDRESS ON FILE
CAMILLE BURGOS MENDOZA             ADDRESS ON FILE
CAMILLE CARLOTA MALARET LOPEZ      ADDRESS ON FILE
CAMILLE CARRION ENJUTO             ADDRESS ON FILE
CAMILLE COLON TORRES               ADDRESS ON FILE
CAMILLE E VELEZ                    ADDRESS ON FILE
CAMILLE FRANCISCO PEGUERO          ADDRESS ON FILE
CAMILLE FRANCISCO PEGUERO          ADDRESS ON FILE
CAMILLE FUENTES RIVERA             ADDRESS ON FILE
CAMILLE G GONZALEZ MICTIL          ADDRESS ON FILE
CAMILLE GABRIELA FONTANEZ MONTES   ADDRESS ON FILE
CAMILLE GARCIA JIMENEZ             ADDRESS ON FILE
CAMILLE GARCIA RIVERA              ADDRESS ON FILE
CAMILLE GUILIANI VICENS            ADDRESS ON FILE
CAMILLE HELEN FELICIANO COATS      ADDRESS ON FILE
CAMILLE J M HERMANDEZ PAGAN        ADDRESS ON FILE
CAMILLE J RUIZ FEBLES              ADDRESS ON FILE
CAMILLE JIMENEZ LENCH              ADDRESS ON FILE
CAMILLE LLORET MARTINEZ            ADDRESS ON FILE
CAMILLE M ESPINOSA FUENTES         ADDRESS ON FILE
CAMILLE M KERCADO CARDONA          ADDRESS ON FILE
CAMILLE M KERCADO CARDONA          ADDRESS ON FILE
CAMILLE M LORENZI MENDEZ           ADDRESS ON FILE
CAMILLE M LUHRING BADILLO          ADDRESS ON FILE
CAMILLE M RIOS ORTIZ               ADDRESS ON FILE
CAMILLE MATEO COLON                ADDRESS ON FILE
CAMILLE MORALES TORRES             ADDRESS ON FILE
CAMILLE QUILES MARCANO             ADDRESS ON FILE
CAMILLE RAFFUCCI DIEZ              ADDRESS ON FILE
CAMILLE TORRES ORTEGA              LCDA. ALEXANDRA NOLLA ACOSTA       3051 AVE. JUAN HERNÁNDEZ ORTIZ            STE. 202              ISABELA      PR      00662
CAMILLE TORRES ORTEGA              LCDA. MARÍA I. SANTOS RIVERA       PO BOX 2732                                                     GUAYNABO     PR      00970
CAMILLE TORRES ORTEGA              LCDA. YADIRA A. SANTIAGO VÁZQUEZ   PO BOX 191632                                                   SAN JUAN     PR      00919‐1632




                                                                                                 Page 1103 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1104 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                            Address1                          Address2                      Address3   Address4   City          State   PostalCode   Country
CAMILLE TORRES ORTEGA                    LCDA. YANITSIA IRIZARRY MÉNDEZ    PO BOX 4356                                         AGUADILLA     PR      00605
CAMILLE TORRES ORTEGA                    LCDO. ANÍBAL ACEVEDO RIVERA       PO BOX 2055                                         AGUADA        PR      00602‐2055
CAMILLE TORRES ORTEGA                    LCDO. HOSTOS A. GALLARDO GARCÍA   PO BOX 70244                                        SAN JUAN      PR      00936‐8244
CAMILLE VELEZ ALAMO                      ADDRESS ON FILE
CAMILLE ZAYAS LEBRON                     ADDRESS ON FILE
CAMILLE'S SIDEWALK CAFE                  153 PONCE DE LEON, UNIT B                                                             SAN JUAN      PR      00936
CAMILLY I AZIZE ALVAREZ                  ADDRESS ON FILE
CAMILLY I AZIZE ALVAREZ                  ADDRESS ON FILE
CAMILO A GUZMAN RUBIO                    ADDRESS ON FILE
CAMILO ALMEYDA EURITE                    ADDRESS ON FILE
CAMILO CORDERO, CAROL C.                 ADDRESS ON FILE
CAMILO CORDERO, CYNTHIA FAY              ADDRESS ON FILE
CAMILO DIAZ CARDONA                      ADDRESS ON FILE
CAMILO DIAZ, HAROLD                      ADDRESS ON FILE
CAMILO DURAN, RAISSA                     ADDRESS ON FILE
CAMILO GONZALEZ, ELIZABETH               ADDRESS ON FILE
CAMILO GRANADOS JR                       ADDRESS ON FILE
CAMILO HERNANDEZ, SALLY I.               ADDRESS ON FILE
CAMILO MARTINEZ, ISRAEL                  ADDRESS ON FILE
CAMILO MARTINEZ, ISRAEL                  ADDRESS ON FILE
CAMILO MARTINEZ, JOSE                    ADDRESS ON FILE
CAMILO MELENDEZ, LUIS                    ADDRESS ON FILE
CAMILO MELENDEZ, MARIA V                 ADDRESS ON FILE
CAMILO MELENDEZ, MIGUEL                  ADDRESS ON FILE
CAMILO MIGUEL /DBA/ LITERATURA EDUCATIVA 506 AVE CESAR GONZALEZ                                                                SAN JUAN      PR      00918
CAMILO NAZARIO, LUZ                      ADDRESS ON FILE
CAMILO NIEVES, BENJAMIN                  ADDRESS ON FILE
CAMILO NIEVES, YESENIA                   ADDRESS ON FILE
CAMILO ORTIZ NIEVES                      ADDRESS ON FILE
CAMILO ORTIZ NIEVES                      ADDRESS ON FILE
CAMILO OVAEZ, YONDI                      ADDRESS ON FILE
CAMILO PADIN CRUZ                        ADDRESS ON FILE
CAMILO PASTRANA, SARA                    ADDRESS ON FILE
CAMILO PEREZ MARQUEZ                     ADDRESS ON FILE
CAMILO R TORRES SANTIAGO                 ADDRESS ON FILE
CAMILO REYES, VANESSA                    ADDRESS ON FILE
CAMILO RIVERA, OSWALDO                   ADDRESS ON FILE
CAMILO ROBLES, ADALBERTO                 ADDRESS ON FILE
CAMILO ROBLES, RICARDO                   ADDRESS ON FILE
CAMILO RODRIGUEZ, YURILEIDA M.           ADDRESS ON FILE
CAMILO ROMAN, MAYRA                      ADDRESS ON FILE
CAMILO ROMAN, MAYRA E                    ADDRESS ON FILE
CAMILO ROMAN, WILFRED                    ADDRESS ON FILE
CAMILO SAEZ, VICTOR                      ADDRESS ON FILE
CAMILO SANTANA ESPAILAT                  ADDRESS ON FILE
CAMILO TRINIDAD, RADHAME                 ADDRESS ON FILE
CAMILO VAZQUEZ MD, EDWIN                 ADDRESS ON FILE
Camilo Vazquez, Edith                    ADDRESS ON FILE
CAMILO VELEZ, CRISTINA                   ADDRESS ON FILE
CAMILO VELEZ, CRISTINA                   ADDRESS ON FILE
CAMILO VELEZ, LAURA                      ADDRESS ON FILE
CAMILO, SHERLEEN                         ADDRESS ON FILE
CAMINERO MIESES, RAFAEL                  ADDRESS ON FILE
CAMINERO MILAN, MARGARITA                ADDRESS ON FILE
CAMINERO MONTERO, JOAQUIN A.             ADDRESS ON FILE
CAMINERO MONTERO, LUIS                   ADDRESS ON FILE
CAMINERO RAMOS, CESAR E.                 ADDRESS ON FILE
CAMINERO RAMOS, MARIO D.                 ADDRESS ON FILE
CAMINERO RIOS, ALEX                      ADDRESS ON FILE
CAMINERO ROMAN, BRENDA                   ADDRESS ON FILE




                                                                                          Page 1104 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1105 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                         Address1                      Address2                                     Address3   Address4   City              State   PostalCode   Country
CAMINERO ROMAN, BRENDA L              ADDRESS ON FILE
CAMINERO TORRES, MORAYMA              ADDRESS ON FILE
CAMINO CASTILLO, LESLIE               ADDRESS ON FILE
CAMINO CONSULTING GROUP LLC           350 VIA AVENTURA              APT 5407                                                           TRUJILLO ALTO     PR      00976
CAMINO CONSULTING GROUP, LLC          548 ESTANCIAS DEL GOLF CLUB   CALLE LUIS A "WITO" MORALES                                        PONCE             PR      00730
CAMINO LANDRON MD, JOSE R             ADDRESS ON FILE
CAMINO LANDRON, JOSE                  ADDRESS ON FILE
CAMINO RIOS, CARLOS                   ADDRESS ON FILE
CAMINO RIOS, CARLOS                   ADDRESS ON FILE
CAMINO TORRES, JOSE RAMON             ADDRESS ON FILE
CAMIONERA PONCENA                     PO BOX 7454                                                                                      PONCE             PR      00732
CAMIR A ROQUE REYES                   ADDRESS ON FILE
CAMIRIS I. LOPEZ SOTO                 ADDRESS ON FILE
CAMIS CAMIS, LUIS                     ADDRESS ON FILE
CAMIS MARTINEZ, JOSE                  ADDRESS ON FILE
CAMIS MELENDEZ, EFRAIN                ADDRESS ON FILE
CAMIS RODRIGUEZ, ISRAEL               ADDRESS ON FILE
CAMIS ROSADO, CARL                    ADDRESS ON FILE
CAMIS ROSADO, EFRAIN                  ADDRESS ON FILE
CAMIS ROSADO, JOHANN H.               ADDRESS ON FILE
CAMIS SANTIAGO, ISMAEL                ADDRESS ON FILE
CAMMISA JR MD, FRANK P                ADDRESS ON FILE
CAMOEGA, MYRA                         ADDRESS ON FILE
CAMP VERANO BORINQUEN CORP            PO BOX 2129                                                                                      AIBONITO          PR      00705
CAMP, JOHN                            ADDRESS ON FILE
CAMPA SANCHEZ, CARLOS                 ADDRESS ON FILE
CAMPA SANCHEZ, JORGE                  ADDRESS ON FILE
CAMPAGNE ARZOLA, LIANN V              ADDRESS ON FILE
CAMPAMENTO DENIKO                     PMB 55                        PO BOX 3504                                                        JUANA DIAZ        PR      00795
CAMPAMENTO PARA NINOS EL VERDE INC    BO OBRERO STATION             P O BOX 7093                                                       SAN JUAN          PR      00916‐7093
CAMPAMENTO ZARZAL                     ATT RECORD MEDICO             PO BOX 1390                                                        RIO GRANDE        PR      00745
CAMPAN COLON, HUMBERTO                ADDRESS ON FILE
CAMPAÑA BENEFICA EMPLEADOS PUBLICOS   P.O. BOX 191914                                                                                  SAN JUAN          PR      00919‐1914
CAMPANERO RUBIO, LILY A               ADDRESS ON FILE
CAMPANERO RUBIO, PAUL                 ADDRESS ON FILE
CAMPANERO, AMY                        ADDRESS ON FILE
CAMPAS ROSADO, EDDIE                  ADDRESS ON FILE
CAMPBELL MELENDEZ, LORENA             ADDRESS ON FILE
CAMPBELL, JUSTIN                      ADDRESS ON FILE
CAMPBELLS BURKE MD, JOSEPH            ADDRESS ON FILE
CAMPERI RUIZ, CLAUDIA                 ADDRESS ON FILE
CAMPION, GRADY                        ADDRESS ON FILE
CAMPIS AYMAT, MARIO                   ADDRESS ON FILE
CAMPIS BRACERO, HIRAM                 ADDRESS ON FILE
CAMPIS LOPEZ, MARIA SOLEDAD           ADDRESS ON FILE
CAMPIS MALDONADO, LIBELIZ             ADDRESS ON FILE
CAMPIS MOORE, YESSICA                 ADDRESS ON FILE
CAMPIS THERAPY CENTER                 CARR 103 KM 7.1                                                                                  CABO ROJO         PR      00623
CAMPIS THERAPY CENTER                 PO BOX 1833                                                                                      CABO ROJO         PR      00623‐1833
CAMPIS THERAPY CENTER                 PO BOX 1833                                                                                      BOQUERON          PR      00622
CAMPIS THERAPY CENTER CP              PO BOX 1833                                                                                      CABO ROJO         PR      00622‐1833
CAMPIS VAZQUEZ, LUIS R                ADDRESS ON FILE
CAMPIZ TELLADO, ANNETTE               ADDRESS ON FILE
CAMPO ALTO DEVELOPMENT LLC            PMB 959 PO BOX 2500                                                                              TOA ALTA          PR      00951
CAMPO E AREVALO OSORIO                PO BOX 366653                                                                                    SAN JUAN          PR      00936
CAMPO JUELLE, ALFREDO                 ADDRESS ON FILE
CAMPO MALPICA, SOFIA MARGARITA        ADDRESS ON FILE
CAMPO MARTIN, MARCELINO               ADDRESS ON FILE
CAMPO REAL INC                        PO BOX 142962                                                                                    ARECIBO           PR      00614
CAMPO RICO CLINIC LAB INC             PO BOX 20000 PMB 468                                                                             CANOVANAS         PR      00729‐0042




                                                                                                  Page 1105 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1106 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                  Address2                                   Address3   Address4   City             State   PostalCode   Country
CAMPO RICO MEMORIAL            URB. COUNTRY CLUB         PA‐15 AVE. CAMPO RICO                                            CAROLINA         PR      00982
CAMPO RICO TRUCKING INC        MANS DE VISTAMAR MARINA   1324 CALLE MARBELLA                                              CAROLINA         PR      00983‐1588
CAMPO RICO TRUCKING INC        URB CONTRY CLUB           QC 1 CALLE 519                                                   CAROLINA         PR      00982
CAMPO SANTIAGO, LAUDI I        ADDRESS ON FILE
CAMPOAMOR MENDEZ, ORLANDO      ADDRESS ON FILE
CAMPOAMOR TORRES, KARLA G      ADDRESS ON FILE
CAMPOFRESCO, CORP.             PO BOX 755                                                                                 SANTA ISABEL     PR      00757
CAMPOLAR INC                   PO BOX 7996                                                                                PONCE            PR      00732‐7996
CAMPOMAR HOTEL & REST CORP     LEVITTOWN                 1829 DEL VALLE AVE ESQ CARR 165                                  TOA BAJA         PR      00949
CAMPORREALE MUNDO, ALEJANDRO   ADDRESS ON FILE
CAMPOS ABELLA, JOSE L.         ADDRESS ON FILE
CAMPOS ALCANTARA, EYMY         ADDRESS ON FILE
CAMPOS ALCANTARA, HAYLLEM      ADDRESS ON FILE
CAMPOS ALICEA MD, ORLANDO      ADDRESS ON FILE
CAMPOS ALICEA, ORLANDO         ADDRESS ON FILE
CAMPOS ANDINO, AURELIO         ADDRESS ON FILE
CAMPOS APONTE, EVELYN          ADDRESS ON FILE
CAMPOS APONTE, IGNAMARI        ADDRESS ON FILE
CAMPOS ASTACIO, SHEILA         ADDRESS ON FILE
CAMPOS AYALA, JOSE C.          ADDRESS ON FILE
CAMPOS BALLESTER, GREGORIO     ADDRESS ON FILE
CAMPOS BISTANI, LUIS F.        ADDRESS ON FILE
CAMPOS BRANAS, DANIEL          ADDRESS ON FILE
CAMPOS BURGOS, ALFREDO         ADDRESS ON FILE
CAMPOS CALDERON, AIDA L.       ADDRESS ON FILE
CAMPOS CAMACHO, FELIX C.       ADDRESS ON FILE
Campos Camacho, Jose A         ADDRESS ON FILE
CAMPOS CAMACHO, MILAGROS       ADDRESS ON FILE
CAMPOS CARTAGENA, KELCIE       ADDRESS ON FILE
CAMPOS CENTENO, JOSE J         ADDRESS ON FILE
Campos Collazo, Carmen N       ADDRESS ON FILE
CAMPOS COLLAZO, JUAN           ADDRESS ON FILE
CAMPOS COLLAZO, MARIA V        ADDRESS ON FILE
CAMPOS COLLAZO, ROSA           ADDRESS ON FILE
CAMPOS COLON, CARMEN I         ADDRESS ON FILE
CAMPOS COLON, ELIZABETH        ADDRESS ON FILE
Campos Colon, Geremias         ADDRESS ON FILE
CAMPOS COLON, IRMA N           ADDRESS ON FILE
CAMPOS COLON, JOSE             ADDRESS ON FILE
CAMPOS COLON, LILIANA          ADDRESS ON FILE
CAMPOS COLON, LYDIA SOCORRO    HECTOR AYALA VEGA         POBOX 457                                                        GUAYAMA          PR      00785
CAMPOS CORDOVA, MADELINE       ADDRESS ON FILE
CAMPOS CRUZ, JORGE             ADDRESS ON FILE
CAMPOS CUEVAS, MANUEL          ADDRESS ON FILE
Campos De Alba, Jose D         ADDRESS ON FILE
Campos De Alba, Nelson H       ADDRESS ON FILE
CAMPOS DE ALBA, VICTOR         ADDRESS ON FILE
Campos De Alba, Victor M       ADDRESS ON FILE
CAMPOS DE JESUS, AMY L         ADDRESS ON FILE
CAMPOS DE JESUS, JAVIER        ADDRESS ON FILE
CAMPOS DE JESUS, NANCY         ADDRESS ON FILE
CAMPOS DE LEON, LUZ A.         ADDRESS ON FILE
CAMPOS DE LEON, SULLYNETTE     ADDRESS ON FILE
CAMPOS DE MARTINEZ, AGRIPINA   ADDRESS ON FILE
CAMPOS DELCERRO, PERLA         ADDRESS ON FILE
CAMPOS DI COCCO, GIOVANNA      ADDRESS ON FILE
CAMPOS DIAZ, JOSE              ADDRESS ON FILE
CAMPOS DIAZ, OMAR              ADDRESS ON FILE
CAMPOS DRILLING INC            CARR 1 KM 24 3            BO BUEN PASTOR                                                   NA               PR      00725
CAMPOS ENCARNACION, CARMEN N   ADDRESS ON FILE




                                                                                     Page 1106 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1107 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAMPOS FEBUS, JENNY              ADDRESS ON FILE
CAMPOS FELICIANO, SANDRA         ADDRESS ON FILE
CAMPOS FERNANDEZ, ANA            ADDRESS ON FILE
CAMPOS FERNANDEZ, BETHZAIDA M.   ADDRESS ON FILE
CAMPOS FIGUEROA, JOSE            ADDRESS ON FILE
CAMPOS FIGUEROA, LOURDES M       ADDRESS ON FILE
CAMPOS FLORES, TANIA             ADDRESS ON FILE
CAMPOS FRAGOSO, ROSALIA          ADDRESS ON FILE
CAMPOS FUENTES, FLOR C           ADDRESS ON FILE
CAMPOS GARCIA, JACKSON           ADDRESS ON FILE
CAMPOS GONZALEZ, CARLOS M        ADDRESS ON FILE
CAMPOS GONZALEZ, IRIS Y          ADDRESS ON FILE
CAMPOS GONZALEZ, VICTOR          ADDRESS ON FILE
CAMPOS GUEVARA, IRENE            ADDRESS ON FILE
CAMPOS GUZMAN, AMARILIS          ADDRESS ON FILE
CAMPOS HEREDIA, MAYRA            ADDRESS ON FILE
CAMPOS HERNANDEZ, JESSIEMAR      ADDRESS ON FILE
CAMPOS HERNANDEZ, ORIOL          ADDRESS ON FILE
CAMPOS HORTA, CARMEN             ADDRESS ON FILE
CAMPOS HUERTAS, ALEXIS           ADDRESS ON FILE
CAMPOS ILDEFONSO, ROY            ADDRESS ON FILE
CAMPOS IRIZARRY, JOSE            ADDRESS ON FILE
CAMPOS JOVEL, JOSE               ADDRESS ON FILE
CAMPOS JUARBE, DAISY             ADDRESS ON FILE
CAMPOS KIRBY, AMY J.             ADDRESS ON FILE
Campos Lebron, Maria Del C       ADDRESS ON FILE
CAMPOS LOPEZ MD, FRANK           ADDRESS ON FILE
CAMPOS LOPEZ MD, RAFAEL A        ADDRESS ON FILE
CAMPOS LOPEZ, CARMEN A           ADDRESS ON FILE
CAMPOS LOPEZ, HERIBERTO          ADDRESS ON FILE
CAMPOS LOPEZ, MARIA C            ADDRESS ON FILE
CAMPOS LUGO, YOEN V              ADDRESS ON FILE
CAMPOS MALARET, BRENDA D         ADDRESS ON FILE
CAMPOS MALARET, JOSE             ADDRESS ON FILE
CAMPOS MALDONADO, ABIGAIL        ADDRESS ON FILE
CAMPOS MARRERO, CAROL            ADDRESS ON FILE
CAMPOS MARRERO, FREDDIE          ADDRESS ON FILE
CAMPOS MARRERO, FREDDIE E.       ADDRESS ON FILE
CAMPOS MARTIN, ALEXANDRA         ADDRESS ON FILE
CAMPOS MARTINEZ, GINETTE         ADDRESS ON FILE
CAMPOS MARTINEZ, MELVIN          ADDRESS ON FILE
CAMPOS MARTINEZ, YILEISY         ADDRESS ON FILE
CAMPOS MASSANET, JORGE           ADDRESS ON FILE
CAMPOS MAURAS, CEDRIC            ADDRESS ON FILE
CAMPOS MD , JUAN M               ADDRESS ON FILE
CAMPOS MD, OTTO                  ADDRESS ON FILE
CAMPOS MEDINA, JOSE              ADDRESS ON FILE
CAMPOS MENDEZ, NESTOR            ADDRESS ON FILE
CAMPOS MENDEZ, WANDA             ADDRESS ON FILE
CAMPOS MENDEZ, WILBERT           ADDRESS ON FILE
CAMPOS MERCADO, YANNIRA          ADDRESS ON FILE
CAMPOS MERCADO, YANNIRA          ADDRESS ON FILE
CAMPOS MORALES, HARRY            ADDRESS ON FILE
Campos Morales, Hector           ADDRESS ON FILE
CAMPOS MORALES, HECTOR           ADDRESS ON FILE
CAMPOS MORALES, MARIA            ADDRESS ON FILE
CAMPOS MORELL, SARAH             ADDRESS ON FILE
CAMPOS MUNOZ, LORNA              ADDRESS ON FILE
CAMPOS NAVA, NOE                 ADDRESS ON FILE
CAMPOS NAZARIO, CARLOS           ADDRESS ON FILE




                                                                             Page 1107 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1108 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                   Address1                                  Address2                               Address3   Address4   City      State   PostalCode   Country
CAMPOS NAZARIO, JOSE            ADDRESS ON FILE
CAMPOS NIEVES, MAYRA            ADDRESS ON FILE
CAMPOS OCASIO, KEISY I          ADDRESS ON FILE
CAMPOS OCASIO, YESENIA I        ADDRESS ON FILE
CAMPOS ORTIZ, NOELIA            ADDRESS ON FILE
CAMPOS OSORIO, MAYRA E          ADDRESS ON FILE
CAMPOS OSSORIO, RAMON           ADDRESS ON FILE
CAMPOS PADILLA, LISMARY         ADDRESS ON FILE
CAMPOS PEREZ, JOSE IGNACIO      ADDRESS ON FILE
CAMPOS PEREZ, YAMILET           ADDRESS ON FILE
CAMPOS POMALES, YARAH           ADDRESS ON FILE
CAMPOS RAMIREZ, LOURDES A       ADDRESS ON FILE
CAMPOS RAMOS, AIDA I            ADDRESS ON FILE
CAMPOS RAMOS, ANGEL             ADDRESS ON FILE
CAMPOS RAMOS, CARMEN D          ADDRESS ON FILE
CAMPOS RAMOS, MAYRA             ADDRESS ON FILE
CAMPOS RAMOS, ROSALI            ADDRESS ON FILE
CAMPOS RESTOS, JORGE L          ADDRESS ON FILE
CAMPOS REYES, ENRIQUETA         ADDRESS ON FILE
CAMPOS REYES, RUFINO            ADDRESS ON FILE
CAMPOS RIVERA, AIDA L           ADDRESS ON FILE
CAMPOS RIVERA, JOSE             ADDRESS ON FILE
CAMPOS RIVERA, LEONOR           ADDRESS ON FILE
CAMPOS RIVERA, LILLIAN          ADDRESS ON FILE
CAMPOS RIVERA, REBECA           ADDRESS ON FILE
CAMPOS RIVERA, VIRGINIA         ADDRESS ON FILE
CAMPOS RIVERA, VIRGINIA         ADDRESS ON FILE
CAMPOS RODRIGUEZ, HUMBERTO J.   ADDRESS ON FILE
CAMPOS RODRIGUEZ, IVAN          ADDRESS ON FILE
CAMPOS RODRIGUEZ, JOMAR         ADDRESS ON FILE
CAMPOS RODRIGUEZ, LEONOR        ADDRESS ON FILE
CAMPOS RODRIGUEZ, LUZ           ADDRESS ON FILE
CAMPOS RODRIGUEZ, SAMUEL        ADDRESS ON FILE
CAMPOS RODRIGUEZ, TANIA M       ADDRESS ON FILE
CAMPOS ROMAN, ROGELIO           ADDRESS ON FILE
CAMPOS ROMERO, PEDRO            ADDRESS ON FILE
CAMPOS ROSA, LIGIA              ADDRESS ON FILE
Campos Rosario, Luis J.         ADDRESS ON FILE
CAMPOS RUIZ MD, RAFAEL S        ADDRESS ON FILE
CAMPOS RUIZ, CESAR              ADDRESS ON FILE
CAMPOS SAAVEDRA, JAIME          ADDRESS ON FILE
CAMPOS SAAVEDRA, PEDRO          ADDRESS ON FILE
CAMPOS SALAMAN, ANA             ADDRESS ON FILE
CAMPOS SALAMAN, CLARIBEL        ADDRESS ON FILE
CAMPOS SALAS, ALBERTO           ADDRESS ON FILE
CAMPOS SALAS, LUIS              ADDRESS ON FILE
CAMPOS SANCHEZ, CRISTINO        ADDRESS ON FILE
CAMPOS SANCHEZ, IRMA V          ADDRESS ON FILE
CAMPOS SANCHEZ, LUIS            ADDRESS ON FILE
CAMPOS SANTIAGO, FELIX          ADDRESS ON FILE
Campos Santiago, Felix J.       ADDRESS ON FILE
CAMPOS SANTIAGO, FELIX J.       ADDRESS ON FILE
CAMPOS SANTIAGO, GLORY I        ADDRESS ON FILE
CAMPOS SANTIAGO, ZULMARI        ADDRESS ON FILE
CAMPOS SANTIGO, JUAN            ADDRESS ON FILE
CAMPOS SANTOS, NATASHA          ADDRESS ON FILE
CAMPOS SEWING MACHINE , INC.    URB. JARDINES FAGOT CALLE PONTEVEDRA 2603                                                              PONCE     PR      00716‐3635
CAMPOS SEWING MACHINE INC       URB JARD FAGOT                            2603 CALLE PONTEVEDRA                                        PONCE     PR      00716‐3635
CAMPOS SEWING MACHINE INC       URB JARDINES FAGOT                        2603 CALLE PONTEVEDRA                                        PONCE     PR      00716‐3635
CAMPOS SILVA, JOSE E            ADDRESS ON FILE




                                                                                                  Page 1108 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1109 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                       Address1                    Address2                                 Address3    Address4   City            State   PostalCode   Country
CAMPOS SILVA, ROSA                  ADDRESS ON FILE
CAMPOS THODE, LOURDES DIANNE        ADDRESS ON FILE
CAMPOS TIRADO, WILMA                ADDRESS ON FILE
Campos Torres, Diego                ADDRESS ON FILE
CAMPOS TORRES, WILMARIE             ADDRESS ON FILE
CAMPOS TORRES, WILSON               ADDRESS ON FILE
Campos Valedon, Yael Del C          ADDRESS ON FILE
CAMPOS VALENTIN, ALEXIS             ADDRESS ON FILE
CAMPOS VALENTIN, EVELYN             ADDRESS ON FILE
CAMPOS VALLE, VICTOR X.             ADDRESS ON FILE
CAMPOS VARGAS, JOSE                 ADDRESS ON FILE
CAMPOS VAZQUEZ, LOURDES             ADDRESS ON FILE
CAMPOS VEGA, JOSE                   ADDRESS ON FILE
Campos Vega, Linnette               ADDRESS ON FILE
CAMPOS VELAZQUEZ, ELMO              ADDRESS ON FILE
CAMPOS VELEZ, ANGEL L               ADDRESS ON FILE
CAMPOS VELEZ, ISRAEL                ADDRESS ON FILE
CAMPOS, JULIO ALEXIS                ADDRESS ON FILE
CAMPOSANTO DE CRISTO RESUCITADO     3275 PONCE BYPASS                                                                           PONCE           PR      00728‐1501
CAMPOSANTO Y FUNERARIA LOS SAUCES   APARTADO 1577                                                                               MOCA            PR      00676
CAMPOSANTO Y FUNERARIA LOS SAUCES   P O BOX 1577                                                                                MOCA            PR      00676
CAMPS DEL VALLE, REINALDO           ADDRESS ON FILE
CAMPS GOMEZ, JOSE V.                ADDRESS ON FILE
CAMPS LOPEZ, EDGARDO                ADDRESS ON FILE
CAMPS LOPEZ, MARISOL                ADDRESS ON FILE
CAMPS LOZADA, RAIZA Y               ADDRESS ON FILE
CAMPS MALDONADO, CORALYZ            ADDRESS ON FILE
CAMPS MALDONADO, IVEMAR             ADDRESS ON FILE
CAMPS MALDONADO, IVEMAR             ADDRESS ON FILE
CAMPS MARCANO, CARLOS               ADDRESS ON FILE
CAMPS MARTINEZ, ANABETH             ADDRESS ON FILE
CAMPS OLMEDO, JULIO                 ADDRESS ON FILE
CAMPS ORTIZ, JOSE                   ADDRESS ON FILE
CAMPS POLLOCK, JOSE                 ADDRESS ON FILE
CAMPS REYES, NANCY I                ADDRESS ON FILE
CAMPS REYES, SORAYA                 ADDRESS ON FILE
CAMPUDENI CARABALLO, SOLESNIR       ADDRESS ON FILE
CAMPUDENI CARABALLO, SOLESNIR       ADDRESS ON FILE
CAMPUNDI, JORGE                     AMANCIO ARIAS GUARDIOLA     PO BOX 13727                                                    SAN JUAN        PR      00908‐3727
CAMPUNDI, JORGE                     FRANCISCO J. COLÓN PAGÁN    PO BOX 9023255                                                  SAN JUAN        PR      00902‐3355
CAMPUNDI, JORGE                     IRENE REYES DIEZ            PO BOX 365067                                                   SAN JUAN        PR      00936‐5067
CAMPUNDI, JORGE                     MANUEL A. PIETRANTONI       250 AVE. MUÑOZ RIVERA                    SUITE 800              SAN JUAN        PR      00918‐1813
CAMPUNDI, JORGE                     PEDRO SOLER MUÑIZ           1357 ASHFORD AVENUE 2                    PMB 106                SAN JUAN        PR      00907
CAMPUNDI, JORGE                     ROSA L. IRIZARRY MILLAN     PO BOX 364428                                                   SAN JUAN        PR      00936‐4428
CAMPUNDI, JORGE                     SIGRID LOPEZ GONZALEZ       PO BOX 195233                                                   SAN JUAN        PR      00919‐5233
CAMPUNDI, JORGE                     VICENTE A. SEQUEDA TORRES   PO BOX 364428                                                   SAN JUAN        PR      00936‐4428
CAMPUS EYE GRP                      MEDICAL RECORDS             1700 WHITEHORSE HAMILTON SQ RD           SUITE A 1              HAMILTON SQ     NJ      08690
CAMPUSANO DE LA ROSA, JORGE         ADDRESS ON FILE
CAMPUSANO PEGUERO, ARIANNA J        ADDRESS ON FILE
CAMUNAS ALAMEDA, LITZA              ADDRESS ON FILE
CAMUNAS ALAMEDA, SARIMER            ADDRESS ON FILE
CAMUNAS CASTRO, JANICE M            ADDRESS ON FILE
CAMUNAS COLON, CARMEN               ADDRESS ON FILE
CAMUNAS RIVERA, ANA M               ADDRESS ON FILE
CAMUNAS RIVERA, ANA MARIA           ADDRESS ON FILE
CAMUY FELICIANO, PEDRO J.           ADDRESS ON FILE
CAMUY GONZALEZ, IRIS M              ADDRESS ON FILE
CAMUY GONZALEZ, PEDRO               ADDRESS ON FILE
CAMUY HEALTH SERVICES INC           P O BOX 660                 AVE MUNOZ RIVERA 63                                             CAMUY           PR      00627
CAMUY LIBRAN, CARLOS A              ADDRESS ON FILE




                                                                                          Page 1109 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1110 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
CAMUY PEREZ, MARIA                   ADDRESS ON FILE
Camuy Santiago, Angel L              ADDRESS ON FILE
CAMUY SANTIAGO, CARLOS I             ADDRESS ON FILE
Camuy Santiago, Edwin                ADDRESS ON FILE
CAMUY SANTIAGO, EVELYN               ADDRESS ON FILE
Camuy Santiago, Javier               ADDRESS ON FILE
CAMUY TERRON, VICTOR A               ADDRESS ON FILE
CANA ALVAREZ, DOLMARIE               ADDRESS ON FILE
CANA CRUZ, KAREN                     ADDRESS ON FILE
CANA DE JESUS, KELLY M               ADDRESS ON FILE
CANA GONZALEZ, JUAN                  ADDRESS ON FILE
CANA GONZALEZ, JUAN                  ADDRESS ON FILE
CANA ORTIZ, LUIS                     ADDRESS ON FILE
CANA RAMOS, JUAN M                   ADDRESS ON FILE
CANA RIVERA, CARLOS E.               ADDRESS ON FILE
CANA RIVERA, JUAN                    ADDRESS ON FILE
CANA RIVERA, SONIA                   ADDRESS ON FILE
CANA RUIZ, CANELIE                   ADDRESS ON FILE
CANA, FELIPE J                       ADDRESS ON FILE
CANABAL AGRAIT, FABIOLA DEL CARMEN   ADDRESS ON FILE
CANABAL CALDERO, FRANCISCO           ADDRESS ON FILE
CANABAL CORTES, ELDA                 ADDRESS ON FILE
CANABAL ENRIQUE, TIRSA               ADDRESS ON FILE
CANABAL ENRIQUEZ, DOMINGO            ADDRESS ON FILE
CANABAL GERENA, EDWIN                ADDRESS ON FILE
CANABAL GERENA, MARITZA              ADDRESS ON FILE
CANABAL GONZALEZ, HERNANDO           ADDRESS ON FILE
CANABAL LOPEZ, FRANCISCO             ADDRESS ON FILE
CANABAL LOPEZ, FRANCISCO IV          ADDRESS ON FILE
CANABAL LOPEZ, JAIME E.              ADDRESS ON FILE
CANABAL LOPEZ, MARIA C               ADDRESS ON FILE
CANABAL PEREZ, JAIME L               ADDRESS ON FILE
CANABAL PEREZ, JORGE L.              ADDRESS ON FILE
CANABAL TORRES, ANGEL                ADDRESS ON FILE
CANABAL TORRES, MARIA                ADDRESS ON FILE
CANADA RIVERA, ROBERTO               ADDRESS ON FILE
CANADIAN FISH EXPORTERS INC          134 RUMFORD AVE STE 202                                                          AUBURNDALE     MA      02466‐1377
CANAL ATILES, JOAN M.                ADDRESS ON FILE
CANAL MARQUEZ, CHAIRA Z.             ADDRESS ON FILE
CANALES ADORNO, MARIO                ADDRESS ON FILE
CANALES ALAMO, ISABEL                ADDRESS ON FILE
CANALES ALVAREZ, RUBEN               ADDRESS ON FILE
CANALES APONTE, ILEANA               ADDRESS ON FILE
CANALES APONTE, LOURDES              ADDRESS ON FILE
CANALES ARRUFAT, ISABEL              ADDRESS ON FILE
CANALES AYALA, LOURDES               ADDRESS ON FILE
CANALES BAEZ, ANAMARIS               ADDRESS ON FILE
CANALES BAEZ, KENNETH                ADDRESS ON FILE
CANALES BAEZ, KIDANY                 ADDRESS ON FILE
CANALES BAEZ, KIDANY                 ADDRESS ON FILE
CANALES BENITEZ, VICENTE             ADDRESS ON FILE
CANALES BERRIOS, JOSEFINA            ADDRESS ON FILE
CANALES BERRIOS, ROSA I              ADDRESS ON FILE
CANALES BULTRON, JAVIER              ADDRESS ON FILE
CANALES BULTRON, MARIA               ADDRESS ON FILE
CANALES CABRERA, LAURA I             ADDRESS ON FILE
CANALES CANALES, NELLY               ADDRESS ON FILE
CANALES CANALES, TRINIDAD            ADDRESS ON FILE
CANALES CANCEL, LUIS                 ADDRESS ON FILE
CANALES CANDELARIO, ISABEL C         ADDRESS ON FILE




                                                                                 Page 1110 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1111 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CANALES CARABALLO, CELINDA        ADDRESS ON FILE
CANALES CARABALLO, NORMA I        ADDRESS ON FILE
CANALES CARRASQUILLO, DORIS       ADDRESS ON FILE
CANALES CARRASQUILLO, EFRAIN      ADDRESS ON FILE
CANALES CARRASQUILLO, MYRIAM      ADDRESS ON FILE
CANALES CASADO, KATHERINE         ADDRESS ON FILE
CANALES CASTILLO, DAVID G.        ADDRESS ON FILE
CANALES CASTRO, CARMEN I.         ADDRESS ON FILE
CANALES CASTRO, JENNY             ADDRESS ON FILE
CANALES CASTRO, ROLANDO           ADDRESS ON FILE
CANALES CEDENO, CARLOS J          ADDRESS ON FILE
CANALES CINTRON, CARLOS J         ADDRESS ON FILE
CANALES COLON, GENESIS RUBY       ADDRESS ON FILE
CANALES COLON, JOSEFINA           ADDRESS ON FILE
CANALES COLON, MARIA              ADDRESS ON FILE
CANALES CONTRERAS, ISMAEL         ADDRESS ON FILE
CANALES CORTES, LAURA             ADDRESS ON FILE
CANALES COSME, EIRA               ADDRESS ON FILE
CANALES COSME, YAJAIRA            ADDRESS ON FILE
CANALES COTTO, WALESKA            ADDRESS ON FILE
CANALES CRUZ, CARLOS R.           ADDRESS ON FILE
CANALES CRUZ, CARMEN S            ADDRESS ON FILE
CANALES CRUZ, GLADYS              ADDRESS ON FILE
CANALES CRUZ, JUAN                ADDRESS ON FILE
CANALES CRUZ, NESTOR              ADDRESS ON FILE
CANALES CRUZ, ROSA N.             ADDRESS ON FILE
CANALES CURBELO, SONIA I.         ADDRESS ON FILE
CANALES DAVILA, ABIGAIL           ADDRESS ON FILE
CANALES DAVILA, LUIS              ADDRESS ON FILE
CANALES DAVILA, MARIA             ADDRESS ON FILE
CANALES DAVILA, MARIA E           ADDRESS ON FILE
CANALES DAVILA, PRISCILA          ADDRESS ON FILE
CANALES DAVILA, WANDA             ADDRESS ON FILE
CANALES DE JESUS, DIRCIA          ADDRESS ON FILE
CANALES DE JESUS, JORGE           ADDRESS ON FILE
Canales De Jesus, Josban          ADDRESS ON FILE
CANALES DE JESUS, JOSBAN          ADDRESS ON FILE
CANALES DEL VALLE, MAGDA          ADDRESS ON FILE
CANALES DEL VALLE, NORA I         ADDRESS ON FILE
CANALES DIAZ, AMILCAR             ADDRESS ON FILE
CANALES DIAZ, AMILCAR             ADDRESS ON FILE
CANALES DIAZ, JOHNDEE             ADDRESS ON FILE
CANALES DIAZ, MIKHAIL             ADDRESS ON FILE
CANALES DOMENECH, AMILCAR D       ADDRESS ON FILE
CANALES DOMENECH, AMILLAR D       ADDRESS ON FILE
CANALES DOMENECH, MIGDALIA        ADDRESS ON FILE
CANALES DOMINGUEZ, GLADYS         ADDRESS ON FILE
CANALES DOMINGUEZ, LYDIA          ADDRESS ON FILE
CANALES ENCARNACION, ANGEL LUIS   ADDRESS ON FILE
CANALES ENCARNACION, LUISITO      ADDRESS ON FILE
CANALES ENCARNACION, LUISITO      ADDRESS ON FILE
CANALES ESQUILIN, JOAQUIN         ADDRESS ON FILE
CANALES ESTRADA, ALEXANDRA        ADDRESS ON FILE
CANALES ESTRADA, RICARDO L        ADDRESS ON FILE
CANALES FIGUEROA, MARIA           ADDRESS ON FILE
CANALES FONTANEZ, YAINICE         ADDRESS ON FILE
CANALES FRANCESCHINI, GLADYS      ADDRESS ON FILE
CANALES FUENTES, ISABEL           ADDRESS ON FILE
CANALES FUENTES, JOSE A           ADDRESS ON FILE
CANALES FUNERAL HOME INC.         APARTADO 728                                                                     VEGA ALTA     PR      00692




                                                                              Page 1111 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1112 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANALES GARAY, LUZ N            ADDRESS ON FILE
Canales Garcia, Jose A          ADDRESS ON FILE
CANALES GARCIA, LUIS A          ADDRESS ON FILE
CANALES GOITIA, AIXA            ADDRESS ON FILE
CANALES GOITIA, JULIA E         ADDRESS ON FILE
CANALES GOITIA, RUTH N.         ADDRESS ON FILE
CANALES GONZALEZ, JOSE          ADDRESS ON FILE
CANALES GONZALEZ, LUIS          ADDRESS ON FILE
CANALES GONZALEZ, LUIS E.       ADDRESS ON FILE
CANALES GONZALEZ, OLGA N.       ADDRESS ON FILE
CANALES GOTAY, ANA              ADDRESS ON FILE
CANALES GRACIANI, GILBERTO      ADDRESS ON FILE
CANALES GUERRIDO, EVELYN        ADDRESS ON FILE
CANALES GUTIERREZ, MARIA        ADDRESS ON FILE
CANALES HERNANDEZ, DIANA S      ADDRESS ON FILE
CANALES HERNANDEZ, LYDIA E      ADDRESS ON FILE
CANALES HERNANDEZ, MARTA I      ADDRESS ON FILE
CANALES HIRALDO, MAYRA          ADDRESS ON FILE
CANALES JIMENEZ, OSVALDO        ADDRESS ON FILE
CANALES KERCADO, YAJAIRA        ADDRESS ON FILE
CANALES LAW OFFICES             PO BOX270331                                                                     SAN JUAN     PR      00927‐0331
CANALES LOPEZ, CARLOS           ADDRESS ON FILE
CANALES LOPEZ, JOSE R           ADDRESS ON FILE
CANALES LOPEZ, RAQUEL           ADDRESS ON FILE
CANALES LOPEZ, RUTH H           ADDRESS ON FILE
CANALES LOPEZ, WANDA I          ADDRESS ON FILE
CANALES LOPEZ, ZULMA L.         ADDRESS ON FILE
CANALES MALDONADO, VIRZA        ADDRESS ON FILE
CANALES MANSO, HECTOR           ADDRESS ON FILE
CANALES MANZO, JONATHAN         ADDRESS ON FILE
CANALES MARQUEZ, ELIZABETH      ADDRESS ON FILE
CANALES MARRERO, ELVIN          ADDRESS ON FILE
CANALES MARTI, MIGUEL           ADDRESS ON FILE
Canales Martinez, Jose H.       ADDRESS ON FILE
CANALES MARTINEZ, LEIDA         ADDRESS ON FILE
CANALES MARTINEZ, MARIA V       ADDRESS ON FILE
CANALES MARTINEZ, VANESSA M.    ADDRESS ON FILE
CANALES MATOS, JOSE             ADDRESS ON FILE
Canales Matos, Lillian I.       ADDRESS ON FILE
CANALES MAYSONET, EUGENIA       ADDRESS ON FILE
CANALES MEDINA, LAURA M.        ADDRESS ON FILE
CANALES MEDINA, LAURA M.        ADDRESS ON FILE
CANALES MENDEZ, FRANCISCO       ADDRESS ON FILE
CANALES MERCADO, OLGA           ADDRESS ON FILE
CANALES MOJICA, JAVIER          ADDRESS ON FILE
CANALES MOLINA, MIGUEL          ADDRESS ON FILE
CANALES MONTANEZ, CARMEN I.     ADDRESS ON FILE
CANALES MONTANEZ, JORGE TOMAS   ADDRESS ON FILE
CANALES MONTANEZ, MARIO         ADDRESS ON FILE
CANALES MORALES, OMAIRA         ADDRESS ON FILE
CANALES NAZARIO, LUIS           ADDRESS ON FILE
CANALES NOVO, LUZ               ADDRESS ON FILE
Canales Novo, Luz V.            ADDRESS ON FILE
CANALES OCASIO, SARAIMA         ADDRESS ON FILE
CANALES OPPENHEIMER, JASEFT     ADDRESS ON FILE
CANALES ORELLANA, MARIA G.      ADDRESS ON FILE
CANALES ORTEGA, LETICIA         ADDRESS ON FILE
CANALES ORTEGA, VICTOR J        ADDRESS ON FILE
CANALES ORTEGA, YOLANDA         ADDRESS ON FILE
CANALES ORTIZ, KARLA            ADDRESS ON FILE




                                                                            Page 1112 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1113 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANALES ORTIZ, VICTOR J         ADDRESS ON FILE
CANALES ORTIZ, VICTOR M         ADDRESS ON FILE
CANALES OSORIO, OLIMPIA         ADDRESS ON FILE
CANALES OTERO, ARNALDO          ADDRESS ON FILE
CANALES PACHECO, GLORY L        ADDRESS ON FILE
CANALES PACHECO, MIGDALIA       ADDRESS ON FILE
CANALES PANTOJA, HEIDY          ADDRESS ON FILE
CANALES PARRILLA, JEREMIAS      ADDRESS ON FILE
CANALES PARRILLA, JESUS         ADDRESS ON FILE
CANALES PARRILLA, JESUS         ADDRESS ON FILE
CANALES PENA, JONATHAN          ADDRESS ON FILE
Canales Pizarro, Ana P          ADDRESS ON FILE
CANALES PIZARRO, LUZ N          ADDRESS ON FILE
CANALES QUILES, JOSUE           ADDRESS ON FILE
CANALES QUILES, KEREN           ADDRESS ON FILE
CANALES QUINONES, DANIEL        ADDRESS ON FILE
CANALES QUINONES, ELBA I        ADDRESS ON FILE
CANALES QUINONES, MIRTA M.      ADDRESS ON FILE
CANALES RAMOS, DAVID            ADDRESS ON FILE
CANALES RAMOS, DAVID O          ADDRESS ON FILE
CANALES RAMOS, OLGA L           ADDRESS ON FILE
CANALES REBOLLO, MARIA DE LOS   ADDRESS ON FILE
CANALES RESTO, ROSANA           ADDRESS ON FILE
CANALES REYES, MIGUEL R.        ADDRESS ON FILE
CANALES REYES, PEDRO            ADDRESS ON FILE
CANALES RIJOS, LYDIA            ADDRESS ON FILE
CANALES RIJOS, LYDIA M          ADDRESS ON FILE
CANALES RIVERA, ALBA I          ADDRESS ON FILE
CANALES RIVERA, EDWIN           ADDRESS ON FILE
CANALES RIVERA, ELIZABETH       ADDRESS ON FILE
CANALES RIVERA, FRANCISCO       ADDRESS ON FILE
CANALES RIVERA, HECTOR M        ADDRESS ON FILE
CANALES RIVERA, IRIS            ADDRESS ON FILE
CANALES RIVERA, JORGE E         ADDRESS ON FILE
CANALES RIVERA, KAREN M         ADDRESS ON FILE
CANALES RIVERA, KEISHLA         ADDRESS ON FILE
CANALES RIVERA, KIARA M.        ADDRESS ON FILE
CANALES RIVERA, RAFAEL          ADDRESS ON FILE
CANALES RIVERA, VILMARIE        ADDRESS ON FILE
CANALES ROBINSON, DAVID         ADDRESS ON FILE
CANALES ROBLES, EDMYR M         ADDRESS ON FILE
CANALES RODRIGUEZ, MAYRA        ADDRESS ON FILE
CANALES RODRIGUEZ, NANCY        ADDRESS ON FILE
CANALES RODRIGUEZ, SANDRA       ADDRESS ON FILE
CANALES RODRIGUEZ, SANDRA Y     ADDRESS ON FILE
CANALES RODRIGUEZ, SHIRLEY A    ADDRESS ON FILE
Canales Rohena, Lilliam R       ADDRESS ON FILE
Canales Roman, Aaron D          ADDRESS ON FILE
CANALES ROMERO, PABLO           ADDRESS ON FILE
CANALES ROSARIO, MARIBEL        ADDRESS ON FILE
CANALES ROSARIO, MARIBEL        ADDRESS ON FILE
CANALES ROSARIO, MARILUZ        ADDRESS ON FILE
CANALES ROSARIO, ROSA           ADDRESS ON FILE
CANALES ROSARIO, ROSA A         ADDRESS ON FILE
CANALES ROSARIO, WANDA I        ADDRESS ON FILE
CANALES ROSS, ANGEL             ADDRESS ON FILE
CANALES RUIZ, LIZ               ADDRESS ON FILE
CANALES SALDANA, RAFAEL         ADDRESS ON FILE
CANALES SANCHEZ, ROBERTO        ADDRESS ON FILE
CANALES SANCHEZ, ROBERTO        ADDRESS ON FILE




                                                                            Page 1113 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1114 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANALES SANCHEZ, RONALD B        ADDRESS ON FILE
CANALES SANTIAGO, JOSE           ADDRESS ON FILE
CANALES SEIN, REGINO D.          ADDRESS ON FILE
CANALES SOSIA, ISABEL P          ADDRESS ON FILE
CANALES SOTO, CARLOS             ADDRESS ON FILE
Canales Soto, Carlos M.          ADDRESS ON FILE
CANALES SUAREZ, IRVIN            ADDRESS ON FILE
CANALES TORRES, ALEXANDER        ADDRESS ON FILE
CANALES TORRES, EDWIN            ADDRESS ON FILE
CANALES TORRES,ANGEL YAMIL       ADDRESS ON FILE
CANALES ULLOA, ELIZABETH A       ADDRESS ON FILE
CANALES VALENTIN,LIZBETH         ADDRESS ON FILE
CANALES VALLES, JOSE             ADDRESS ON FILE
CANALES VAZQUEZ, MILDRED         ADDRESS ON FILE
CANALES VAZQUEZ, RAUL            ADDRESS ON FILE
CANALES VELAZQUEZ, ROGELIO       ADDRESS ON FILE
CANALES VELEZ, ARNALDO           ADDRESS ON FILE
CANALES VELEZ, OMAR              ADDRESS ON FILE
CANALES VERDEJO, GIANA           ADDRESS ON FILE
CANALES VERDEJO, GIANNA          ADDRESS ON FILE
CANALES VERDEJO, NORMAN HIRAM.   ADDRESS ON FILE
CANALES VILLANUEVA, SHEILA       ADDRESS ON FILE
CANALES WALKER, PEDRO            ADDRESS ON FILE
CANALES WALKER, PEDRO            ADDRESS ON FILE
CANALES YDRACH, EDGARDO          ADDRESS ON FILE
CANALES ZABALA, ANNETTE          ADDRESS ON FILE
CANALES ZABALA, JESUS            ADDRESS ON FILE
CANALES ZAVALA, ZORAIDA          ADDRESS ON FILE
CANALES, JACINTA                 ADDRESS ON FILE
CANALES, MICHELLE                ADDRESS ON FILE
CANALESFALU, RICARDO             ADDRESS ON FILE
CANALEZ MELENDEZ, SHARMALIE      ADDRESS ON FILE
CANALS & ASSOCIATES              PO BOX 1254                                                                      RINCON       PR      00677‐1254
CANALS ASSOC LL                  PO BOX 1254                                                                      RINCON       PR      00677
CANALS BERRIOS, LUIS             ADDRESS ON FILE
CANALS DE COLON, EVELYN          ADDRESS ON FILE
CANALS FILPO, ERASTO             ADDRESS ON FILE
CANALS MARRERO, MILTON I.        ADDRESS ON FILE
CANALS MENDEZ, LUZ M             ADDRESS ON FILE
CANALS MORA, MIGUEL              ADDRESS ON FILE
CANALS PORTALATIN, GLADYS M      ADDRESS ON FILE
CANALS PORTALATIN, GLORIA E      ADDRESS ON FILE
CANALS PORTALATIN, LUIS          ADDRESS ON FILE
CANALS RIVERA, ANGELICA          ADDRESS ON FILE
CANALS RIVERA, LUZ I.            ADDRESS ON FILE
CANALS RIVERA, MARILIAN          ADDRESS ON FILE
CANALS RODRIGUEZ, GLADYS NEMYR   ADDRESS ON FILE
CANALS RODRIGUEZ, JESUS M        ADDRESS ON FILE
CANALS RODRIGUEZ, MARIA M        ADDRESS ON FILE
CANALS TORRES, MARGARITA         ADDRESS ON FILE
CANALS, MIGUEL                   ADDRESS ON FILE
CANAPARO DE ANDREIS, ANNA        ADDRESS ON FILE
CANARIO ACOSTA, SANDI            ADDRESS ON FILE
CANARIO CAEZ, ALEXXA             ADDRESS ON FILE
CANARIO MORALES, JAMILLA         ADDRESS ON FILE
CANARIO RODRIGUEZ, CAMILLE       ADDRESS ON FILE
CANARIO RODRIGUEZ, MARIANA       ADDRESS ON FILE
CANAS GONZALEZ, HUMBERTO         ADDRESS ON FILE
CANAS GONZALEZ, MARCO            ADDRESS ON FILE
CANAS LOPEZ, LUIS                ADDRESS ON FILE




                                                                             Page 1114 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1115 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CANAS MEDICAL                    PO BOX 664                                                                       MERCEDITA     PR      00715
CANAS MEDICAL CENTER             PO BOX 664                                                                       MERCEDITA     PR      00715
CANAS RIVERA, CARLOS R           ADDRESS ON FILE
CANAS SERRANO, PEDRO J           ADDRESS ON FILE
CANAS SIVERIO, CARMEN I          ADDRESS ON FILE
CANAS SIVERIO, WANDA R           ADDRESS ON FILE
CANCEL ACEVEDO, ALICE            ADDRESS ON FILE
CANCEL ACEVEDO, ISRAEL           ADDRESS ON FILE
CANCEL ACEVEDO, JUANA            ADDRESS ON FILE
Cancel Acosta, Guzman            ADDRESS ON FILE
CANCEL ACOSTA, JOSE              ADDRESS ON FILE
Cancel Aldarondo, Santos         ADDRESS ON FILE
CANCEL ALEGRIA, JUAN A.          ADDRESS ON FILE
Cancel Alicea, Francisco M       ADDRESS ON FILE
CANCEL ALMQDQVAR, MAIRA E        ADDRESS ON FILE
CANCEL ALVARADO, CARLOS M        ADDRESS ON FILE
Cancel Alvarado, Carlos Rafael   ADDRESS ON FILE
CANCEL ALVARADO, EVELYN          ADDRESS ON FILE
CANCEL ALVARADO, EVELYN          ADDRESS ON FILE
CANCEL ALVARADO, NILDA I         ADDRESS ON FILE
CANCEL ALVARADO, WILMA L         ADDRESS ON FILE
CANCEL AMBERT, JUAN              ADDRESS ON FILE
CANCEL APONTE, MIRNA             ADDRESS ON FILE
CANCEL ARCE, IVELISSE            ADDRESS ON FILE
CANCEL ARCE, VIDAL               ADDRESS ON FILE
CANCEL ARMAIZ, AXA N             ADDRESS ON FILE
CANCEL AVILES, CARMEN            ADDRESS ON FILE
CANCEL AYALA, ZULMA              ADDRESS ON FILE
CANCEL BAEZ, ELSA                ADDRESS ON FILE
CANCEL BARRETO, ROBERTO          ADDRESS ON FILE
CANCEL BATISTA, RAMON            ADDRESS ON FILE
CANCEL BERMUDEZ, MYRNA           ADDRESS ON FILE
CANCEL BERRIOS, JOSE E           ADDRESS ON FILE
CANCEL BERRIOS, LUIS R.          ADDRESS ON FILE
CANCEL BORRERO, RITA             ADDRESS ON FILE
CANCEL BRUNO, MILTON             ADDRESS ON FILE
CANCEL BURGOS, MIGDALIA          ADDRESS ON FILE
CANCEL CACERES, EFRAIN           ADDRESS ON FILE
Cancel Caceres, Efrain A         ADDRESS ON FILE
CANCEL CALDERON, JUAN            ADDRESS ON FILE
CANCEL CANCEL, MARIA M           ADDRESS ON FILE
CANCEL CANDELARIO, JOSE          ADDRESS ON FILE
CANCEL CANDELARIO, MARIELA       ADDRESS ON FILE
CANCEL CANDELARIO, VIDA A.       ADDRESS ON FILE
CANCEL CANDELARIO, WILFREDO      ADDRESS ON FILE
CANCEL CARABALLO, ELIZABETH      ADDRESS ON FILE
CANCEL CARABALLO, ELIZABETH      ADDRESS ON FILE
CANCEL CARRERO, MARIA DEL C      ADDRESS ON FILE
CANCEL CASIANO, MILLED A         ADDRESS ON FILE
CANCEL CASIANO, YVETTE           ADDRESS ON FILE
CANCEL CASTRO, IVAN              ADDRESS ON FILE
CANCEL CATALA, JOSE E            ADDRESS ON FILE
CANCEL CEDENO, NELSY N           ADDRESS ON FILE
CANCEL CENTENO, VELMY L.         ADDRESS ON FILE
Cancel Cintron, Saraina          ADDRESS ON FILE
Cancel Colon, Rafael A           ADDRESS ON FILE
CANCEL COLON, YADIRA             ADDRESS ON FILE
CANCEL CONCEPCION, ERNESTO       ADDRESS ON FILE
CANCEL CORTES, ORLANDO           ADDRESS ON FILE
CANCEL CRUZ, DINA                ADDRESS ON FILE




                                                                             Page 1115 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1116 of 3500
                                                                               17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                   Address1                    Address2                               Address3               Address4   City            State   PostalCode   Country
CANCEL CRUZ, REBECA             ADDRESS ON FILE
CANCEL CUEVAS, NILBIA E         ADDRESS ON FILE
CANCEL CUEVAS, WILNELIA         ADDRESS ON FILE
CANCEL DARDER, VENUS            ADDRESS ON FILE
CANCEL DE JESUS, JUDITH         ADDRESS ON FILE
CANCEL DE JESUS, OLGA           ADDRESS ON FILE
CANCEL DE LA PAZ, JUAN          ADDRESS ON FILE
CANCEL DE LEON, ADMARIS         ADDRESS ON FILE
CANCEL DELGADO, JOSE            ADDRESS ON FILE
CANCEL DERIEUX, EMILIO          ADDRESS ON FILE
CANCEL DIAZ, CARLOS             ADDRESS ON FILE
CANCEL DIAZ, CARLOS R           ADDRESS ON FILE
CANCEL DIAZ, CARMEN N           ADDRESS ON FILE
CANCEL DIAZ, ROBERTO            ADDRESS ON FILE
CANCEL DIAZ, RUTH N.            ADDRESS ON FILE
CANCEL DWYER, CHRISTINA M.      ADDRESS ON FILE
CANCEL DWYER, MONICA            ADDRESS ON FILE
CANCEL DWYER, MONICA A          ADDRESS ON FILE
CANCEL ESCOBAR, TANIA V         ADDRESS ON FILE
CANCEL ESCOBAR, TANIA VANESSA   EVELYN T. MARQUEZ ESCOBAR   PO BOX 810386                                                            CAROLINA        PR      00981‐0386
CANCEL ESCOBAR, TANIA VANESSA   MARCOS RIVERA ORTIZ         PLAZA ESCORIAL CINEMA                  LOCAL 5829 SUITE 207              CAROLINA        PR      00987
CANCEL ESCOBAR, TANIA VANESSA   RAISAAC G. COLON RIOS       APARTADO 700                                                             PUERTO REAL     PR      00740‐0700
CANCEL ESTRELLA, MARISOL        ADDRESS ON FILE
Cancel Feliciano, Norberto      ADDRESS ON FILE
CANCEL FERNANDEZ, CHRISTIAN     ADDRESS ON FILE
CANCEL FERNANDEZ, JACKELINE     ADDRESS ON FILE
CANCEL FERNANDEZ, TERESITA      ADDRESS ON FILE
CANCEL FERRER, MOISES M         ADDRESS ON FILE
CANCEL FIGUEROA, JEANNIE        ADDRESS ON FILE
CANCEL FIGUEROA, JEANNIE        ADDRESS ON FILE
CANCEL FLORES, MICHAEL A.       ADDRESS ON FILE
CANCEL FLORES, SOFIA S          ADDRESS ON FILE
CANCEL FRANCO, SONIA E          ADDRESS ON FILE
CANCEL GARCIA, DANIEL           ADDRESS ON FILE
Cancel Garcia, Daniel A         ADDRESS ON FILE
Cancel Garcia, David A          ADDRESS ON FILE
CANCEL GARCIA, GILBERTO         ADDRESS ON FILE
CANCEL GARCIA, ISIS S           ADDRESS ON FILE
CANCEL GARCIA, MILDRED E.       ADDRESS ON FILE
CANCEL GARCIA, RAFAEL           ADDRESS ON FILE
CANCEL GARCIA, RAFAEL           ADDRESS ON FILE
CANCEL GARCIA, SONIA            ADDRESS ON FILE
CANCEL GAUD, ANNETTE            ADDRESS ON FILE
CANCEL GOMEZ, GREGORIO          ADDRESS ON FILE
CANCEL GONZALEZ, AMARILIS       ADDRESS ON FILE
CANCEL GONZALEZ, AMARILYS       ADDRESS ON FILE
CANCEL GONZALEZ, CARMEN M       ADDRESS ON FILE
CANCEL GONZALEZ, CHRISTOPHER    ADDRESS ON FILE
CANCEL GONZALEZ, DEBORAH        ADDRESS ON FILE
CANCEL GONZALEZ, DELMARA D      ADDRESS ON FILE
CANCEL GONZALEZ, ELVIS S.       ADDRESS ON FILE
CANCEL GONZALEZ, EMERY L        ADDRESS ON FILE
Cancel Gonzalez, Evelyn         ADDRESS ON FILE
CANCEL GONZALEZ, HEYDALEXA X    ADDRESS ON FILE
CANCEL GONZALEZ, JESUS          ADDRESS ON FILE
Cancel Gonzalez, Luis D.        ADDRESS ON FILE
CANCEL GONZALEZ, LUZ E          ADDRESS ON FILE
CANCEL GONZALEZ, MARIA D        ADDRESS ON FILE
CANCEL GONZALEZ, MARIA L        ADDRESS ON FILE
CANCEL GONZALEZ, SAUDHI V.      ADDRESS ON FILE




                                                                                    Page 1116 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1117 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANCEL GONZALEZ, SAUDHI V.    ADDRESS ON FILE
CANCEL GRACIA, ROSA           ADDRESS ON FILE
CANCEL GUERRA, ANGEL M        ADDRESS ON FILE
CANCEL GUERRA, JAVIER         ADDRESS ON FILE
CANCEL GUERRA, JAVIER         ADDRESS ON FILE
CANCEL GUZMAN, CARMICHLLE     ADDRESS ON FILE
CANCEL GUZMAN, EDNA           ADDRESS ON FILE
CANCEL GUZMAN, JUAN           ADDRESS ON FILE
CANCEL HENRIQUEZ, ROSA I      ADDRESS ON FILE
CANCEL HENRRIQUEZ, PAULA      ADDRESS ON FILE
CANCEL HERNANDEZ, FRANCES     ADDRESS ON FILE
CANCEL HERNANDEZ, LUIS A.     ADDRESS ON FILE
CANCEL HERNANDEZ, MORAIMA     ADDRESS ON FILE
Cancel Hernandez, Ramon       ADDRESS ON FILE
CANCEL HERNANDEZ, TANIA M     ADDRESS ON FILE
CANCEL HIDALGO, ISRAEL        ADDRESS ON FILE
CANCEL HOLQUIN, LINDA         ADDRESS ON FILE
Cancel Horrach, Jose D        ADDRESS ON FILE
CANCEL IRIZARRY, ANGELA M.    ADDRESS ON FILE
CANCEL IRIZARRY, ELBA M.      ADDRESS ON FILE
CANCEL IRIZARRY, MAGALY       ADDRESS ON FILE
CANCEL IRIZARRY, MARIA G      ADDRESS ON FILE
CANCEL IRIZARRY, NELLY O      ADDRESS ON FILE
CANCEL IRIZARRY, RAFAEL A     ADDRESS ON FILE
CANCEL IRIZARRY, WANDA M      ADDRESS ON FILE
CANCEL JIMENEZ, ANTONIO       ADDRESS ON FILE
CANCEL JUSTINIANO, FIDENCIO   ADDRESS ON FILE
CANCEL KENYON, HEIDY J        ADDRESS ON FILE
CANCEL LISBOA, ADAM           ADDRESS ON FILE
CANCEL LLORET, YAHAIRA        ADDRESS ON FILE
CANCEL LOPEZ, ANELIS          ADDRESS ON FILE
CANCEL LOPEZ, BETZAIDA A      ADDRESS ON FILE
CANCEL LOPEZ, CARIDAD         ADDRESS ON FILE
CANCEL LOPEZ, JAYSON J        ADDRESS ON FILE
CANCEL LOPEZ, RAMONA I.       ADDRESS ON FILE
CANCEL LOPEZ, RUBEN           ADDRESS ON FILE
CANCEL LORENZANO, ANNETTE     ADDRESS ON FILE
CANCEL LOUBRIEL, EINNA M      ADDRESS ON FILE
Cancel Loubriel, Wanda Y.     ADDRESS ON FILE
CANCEL LOZADA, DARWIN         ADDRESS ON FILE
CANCEL LUGO, SANDY ANN        ADDRESS ON FILE
CANCEL MACHUCA, FELIX R.      ADDRESS ON FILE
CANCEL MAISONET, JUAN         ADDRESS ON FILE
CANCEL MALAVE, LUIS           ADDRESS ON FILE
CANCEL MALDONADO, BEATRIZ     ADDRESS ON FILE
Cancel Maldonado, Carlos      ADDRESS ON FILE
CANCEL MALDONADO, EDUARDO     ADDRESS ON FILE
CANCEL MALDONADO, JOSE        ADDRESS ON FILE
CANCEL MALDONADO, MAYRA       ADDRESS ON FILE
CANCEL MALDONADO, SUHAIL      ADDRESS ON FILE
CANCEL MALDONADO, VIDA A      ADDRESS ON FILE
CANCEL MARIN, ANNETTE         ADDRESS ON FILE
CANCEL MARIN, FERNANDO        ADDRESS ON FILE
CANCEL MARRERO, BRENDA I      ADDRESS ON FILE
CANCEL MARTINEZ, ANNETTE      ADDRESS ON FILE
CANCEL MARTINEZ, CARMEN J     ADDRESS ON FILE
CANCEL MARTINEZ, JUAN         ADDRESS ON FILE
CANCEL MARTINEZ, MELBA        ADDRESS ON FILE
CANCEL MATEO, JUAN R          ADDRESS ON FILE
CANCEL MATOS, AWILDA M        ADDRESS ON FILE




                                                                          Page 1117 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1118 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANCEL MATOS, JESUS           ADDRESS ON FILE
CANCEL MATOS, MARIA E         ADDRESS ON FILE
CANCEL MEDINA, BEATRIZ        ADDRESS ON FILE
Cancel Medina, Felix          ADDRESS ON FILE
CANCEL MEDINA, ISABEL         ADDRESS ON FILE
CANCEL MEDINA, MARISOL        ADDRESS ON FILE
CANCEL MEDINA, MICHELLE       ADDRESS ON FILE
CANCEL MEDINA, OXALY          ADDRESS ON FILE
CANCEL MENDEZ, LEMUEL         ADDRESS ON FILE
CANCEL MENDEZ, MIGDALIA       ADDRESS ON FILE
CANCEL MERCADO, DIXON         ADDRESS ON FILE
CANCEL MOJICA, LEONEL         ADDRESS ON FILE
CANCEL MONCLOVA, NITZA M      ADDRESS ON FILE
CANCEL MONCLOVA, SONIA        ADDRESS ON FILE
CANCEL MONTALVO, CARMEN       ADDRESS ON FILE
CANCEL MONTALVO, MARIAM       ADDRESS ON FILE
CANCEL MONTES, JUDITH         ADDRESS ON FILE
CANCEL MONTIJO, ALMA          ADDRESS ON FILE
CANCEL MORAN, LUZ M           ADDRESS ON FILE
CANCEL MORENO, WANDA          ADDRESS ON FILE
CANCEL MOUNIER, EDDIE         ADDRESS ON FILE
CANCEL NARVAEZ, JEANNETTE     ADDRESS ON FILE
CANCEL NAZARIO, LUIS          ADDRESS ON FILE
CANCEL NEGRON, CINDALY        ADDRESS ON FILE
CANCEL NEGRON, ROSA E         ADDRESS ON FILE
CANCEL NEGRON, UBALDINA       ADDRESS ON FILE
CANCEL NIEVES, ELADIO         ADDRESS ON FILE
CANCEL NIEVES, ELIZABETH      ADDRESS ON FILE
CANCEL NIEVES, WANDA G        ADDRESS ON FILE
CANCEL NUNEZ, HECTOR J        ADDRESS ON FILE
CANCEL OCASIO, LISETTE        ADDRESS ON FILE
CANCEL OCASIO, MYRNA          ADDRESS ON FILE
CANCEL OLAN, EVER             ADDRESS ON FILE
CANCEL OLMO, PRISCILLA        ADDRESS ON FILE
CANCEL ORSINI, IVETTE         ADDRESS ON FILE
CANCEL ORTIZ, AMNERIS         ADDRESS ON FILE
CANCEL ORTIZ, BLANCA I        ADDRESS ON FILE
CANCEL ORTIZ, CYNTHIA M       ADDRESS ON FILE
Cancel Ortiz, Evangelina      ADDRESS ON FILE
CANCEL ORTIZ, JORGE           ADDRESS ON FILE
CANCEL ORTIZ, MIRELLA         ADDRESS ON FILE
CANCEL ORTIZ, MIRTA E         ADDRESS ON FILE
CANCEL OTERO, JOEL            ADDRESS ON FILE
CANCEL OTERO, VIVIAN          ADDRESS ON FILE
CANCEL PABON, WILFREDO        ADDRESS ON FILE
CANCEL PAGAN, HUGO            ADDRESS ON FILE
CANCEL PAGAN, JOSE R          ADDRESS ON FILE
CANCEL PASTRANA, MARIA A      ADDRESS ON FILE
CANCEL PERAZA, EVELYN         ADDRESS ON FILE
CANCEL PEREZ, ANTHONY         ADDRESS ON FILE
CANCEL PEREZ, CARLOS M        ADDRESS ON FILE
CANCEL PEREZ, CARMEN M        ADDRESS ON FILE
Cancel Perez, Doritza         ADDRESS ON FILE
CANCEL PEREZ, MARIBEL         ADDRESS ON FILE
CANCEL PEREZ, ROCIO           ADDRESS ON FILE
CANCEL PIZARRO, ELIAS III     ADDRESS ON FILE
CANCEL PUJOLS, LIZDACELY      ADDRESS ON FILE
CANCEL QUINONES, JACQUELINE   ADDRESS ON FILE
CANCEL QUINONES, JACQUELINE   ADDRESS ON FILE
Cancel Quinones, Jose A       ADDRESS ON FILE




                                                                          Page 1118 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1119 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cancel Quinones, Juan C        ADDRESS ON FILE
CANCEL RAMIREZ, HECTOR L.      ADDRESS ON FILE
CANCEL RAMIREZ, LUZ M          ADDRESS ON FILE
Cancel Ramirez, Miguel         ADDRESS ON FILE
CANCEL RAMIREZ, MIGUEL         ADDRESS ON FILE
CANCEL RAMOS, JANE             ADDRESS ON FILE
CANCEL RAMOS, LARRY            ADDRESS ON FILE
CANCEL RAMOS, MARTA I          ADDRESS ON FILE
CANCEL RAMOS, RAMON L.         ADDRESS ON FILE
CANCEL RAMOS, VANESSA          ADDRESS ON FILE
CANCEL RENTAS, CRUZ            ADDRESS ON FILE
CANCEL REYES, JOSE             ADDRESS ON FILE
CANCEL REYES, RICARDO          ADDRESS ON FILE
CANCEL RIOS, ADNORIS           ADDRESS ON FILE
CANCEL RIOS, DANIELA           ADDRESS ON FILE
CANCEL RIOS, EPIFANIA          ADDRESS ON FILE
CANCEL RIOS, MARIA DEL C.      ADDRESS ON FILE
CANCEL RIVERA, ALEJA           ADDRESS ON FILE
CANCEL RIVERA, ANGEL           ADDRESS ON FILE
CANCEL RIVERA, ARMANDO         ADDRESS ON FILE
CANCEL RIVERA, CARMEN M        ADDRESS ON FILE
CANCEL RIVERA, CONFESOR        ADDRESS ON FILE
Cancel Rivera, Diane           ADDRESS ON FILE
CANCEL RIVERA, FREDDY          ADDRESS ON FILE
CANCEL RIVERA, GLADYS          ADDRESS ON FILE
CANCEL RIVERA, INDIAN          ADDRESS ON FILE
CANCEL RIVERA, LAURA           ADDRESS ON FILE
CANCEL RIVERA, LOURDES E       ADDRESS ON FILE
CANCEL RIVERA, MYRTA I         ADDRESS ON FILE
CANCEL RIVERA, NIDIA M         ADDRESS ON FILE
CANCEL RIVERA, STEPHANIE       ADDRESS ON FILE
CANCEL RIVERA, SULEIDA E.      ADDRESS ON FILE
CANCEL RIVERA, SYLVIA          ADDRESS ON FILE
CANCEL RIVERA, TYRONE          ADDRESS ON FILE
CANCEL RIVERA, YEIKA           ADDRESS ON FILE
CANCEL ROBLES, JOSE J.         ADDRESS ON FILE
CANCEL RODRIGUEZ, DAMARIS      ADDRESS ON FILE
CANCEL RODRIGUEZ, DAMARIS      ADDRESS ON FILE
CANCEL RODRIGUEZ, DAMASO       ADDRESS ON FILE
CANCEL RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
CANCEL RODRIGUEZ, ENID         ADDRESS ON FILE
CANCEL RODRIGUEZ, GLENDA H     ADDRESS ON FILE
CANCEL RODRIGUEZ, HUGO         ADDRESS ON FILE
Cancel Rodriguez, Hugo L       ADDRESS ON FILE
CANCEL RODRIGUEZ, IRVING       ADDRESS ON FILE
CANCEL RODRIGUEZ, ISABEL       ADDRESS ON FILE
CANCEL RODRIGUEZ, JAVIER       ADDRESS ON FILE
CANCEL RODRIGUEZ, MARIA E      ADDRESS ON FILE
CANCEL RODRIGUEZ, MARIA I      ADDRESS ON FILE
CANCEL RODRIGUEZ, MARILYN      ADDRESS ON FILE
CANCEL RODRIGUEZ, MERCEDES     ADDRESS ON FILE
CANCEL RODRIGUEZ, RAMON        ADDRESS ON FILE
Cancel Rodriguez, Reinaldo M   ADDRESS ON FILE
CANCEL RODRIGUEZ, SIGFREDO     ADDRESS ON FILE
Cancel Rodriguez, Yamary       ADDRESS ON FILE
CANCEL ROHENA, MARIA A.        ADDRESS ON FILE
CANCEL ROMAN, ELDDIES          ADDRESS ON FILE
CANCEL ROMAN, ESTHER J         ADDRESS ON FILE
CANCEL ROMAN, GILBERTO         ADDRESS ON FILE
CANCEL ROMAN, MILAGROS         ADDRESS ON FILE




                                                                           Page 1119 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1120 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANCEL ROSA, VANGIE          ADDRESS ON FILE
CANCEL ROSADO, LILYBETTE     ADDRESS ON FILE
CANCEL ROSADO, MAYRA Z       ADDRESS ON FILE
CANCEL ROSADO, SOL M         ADDRESS ON FILE
CANCEL ROSARIO, ABIGAIL      ADDRESS ON FILE
CANCEL ROSARIO, DANIEL       ADDRESS ON FILE
CANCEL ROSARIO, ELIZABETH    ADDRESS ON FILE
Cancel Rosario, Joel         ADDRESS ON FILE
CANCEL ROSAS, CATHERINE      ADDRESS ON FILE
CANCEL ROSAS, EILEEN         ADDRESS ON FILE
CANCEL ROSAS, EMILY          ADDRESS ON FILE
CANCEL ROSAS, LISSETTE       ADDRESS ON FILE
CANCEL RQDRIGUEZ, ROSA E     ADDRESS ON FILE
CANCEL RUBERTE, CARLOS R     ADDRESS ON FILE
CANCEL RUBERTE, PEDRO M      ADDRESS ON FILE
Cancel Ruiz, Amarilis        ADDRESS ON FILE
Cancel Ruiz, Carlos M.       ADDRESS ON FILE
CANCEL RUIZ, CARLOS M.       ADDRESS ON FILE
CANCEL RUIZ, JOUFFRE         ADDRESS ON FILE
CANCEL SALGADO, ALBERTICO    ADDRESS ON FILE
CANCEL SALGADO, ANA L        ADDRESS ON FILE
CANCEL SAMALOT, JUDITH       ADDRESS ON FILE
CANCEL SANCHEZ, BLANCA I.    ADDRESS ON FILE
CANCEL SANCHEZ, BLANCA I.    ADDRESS ON FILE
CANCEL SANCHEZ, LYDIA        ADDRESS ON FILE
CANCEL SANCHEZ, MAYRA        ADDRESS ON FILE
CANCEL SANTA, EMILY          ADDRESS ON FILE
CANCEL SANTANA, LOURDES M.   ADDRESS ON FILE
CANCEL SANTANA, WILFREDO     ADDRESS ON FILE
CANCEL SANTANA, WILFREDO     ADDRESS ON FILE
CANCEL SANTIAGO, GLADYS      ADDRESS ON FILE
CANCEL SEDA, CARLOS L.       ADDRESS ON FILE
CANCEL SEDA, TOMAS           ADDRESS ON FILE
CANCEL SEDA, TOMAS           ADDRESS ON FILE
CANCEL SEPULVEDA, CARMEN I   ADDRESS ON FILE
CANCEL SEPULVEDA, JORGE L.   ADDRESS ON FILE
CANCEL SERRANO, EDGARDO      ADDRESS ON FILE
CANCEL SERRANO, HECTOR R     ADDRESS ON FILE
CANCEL SERRANO, HECTOR R     ADDRESS ON FILE
CANCEL SERRANO, JOSE         ADDRESS ON FILE
CANCEL SERRANO, PEDRO        ADDRESS ON FILE
CANCEL SIERRA, NANCY         ADDRESS ON FILE
CANCEL SIERRA, SAMUEL        ADDRESS ON FILE
CANCEL SOTO, ALBERTO         ADDRESS ON FILE
CANCEL SOTO, ANNETTE D       ADDRESS ON FILE
CANCEL SOTO, CLOTILDE        ADDRESS ON FILE
CANCEL SOTO, FRANCISCO       ADDRESS ON FILE
CANCEL SOTO, LUIS A          ADDRESS ON FILE
CANCEL SOTO, REINALDO        ADDRESS ON FILE
CANCEL TAVERAS, JOSE         ADDRESS ON FILE
CANCEL TIRADO, DIANA         ADDRESS ON FILE
Cancel Tirado, Diana Y       ADDRESS ON FILE
Cancel Tirado, Elena         ADDRESS ON FILE
CANCEL TIRADO, MILDRED       ADDRESS ON FILE
CANCEL TORRES ANA, E         ADDRESS ON FILE
CANCEL TORRES, ANGENNILIZ    ADDRESS ON FILE
CANCEL TORRES, IRIS Y.       ADDRESS ON FILE
CANCEL TORRES, JAITHZA       ADDRESS ON FILE
CANCEL TORRES, JOSUE         ADDRESS ON FILE
CANCEL TORRES, YADIRA        ADDRESS ON FILE




                                                                         Page 1120 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1121 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                       Address1                  Address2                               Address3   Address4   City          State   PostalCode   Country
CANCEL TROCHE, ANDY                 ADDRESS ON FILE
CANCEL VALENTIN, LOURDES            ADDRESS ON FILE
CANCEL VALLE, IVETTE                ADDRESS ON FILE
Cancel Vargas, Angel L              ADDRESS ON FILE
CANCEL VARGAS, BRENDA L             ADDRESS ON FILE
CANCEL VARGAS, EDGARD               ADDRESS ON FILE
CANCEL VAZQUEZ, ANA M.              ADDRESS ON FILE
CANCEL VAZQUEZ, RAFAEL              ADDRESS ON FILE
CANCEL VEGA, CARMEN M.              ADDRESS ON FILE
CANCEL VEGA, ISMAEL                 ADDRESS ON FILE
CANCEL VELAZQUEZ, DANIEL E          ADDRESS ON FILE
CANCEL VELAZQUEZ, LOURDES           ADDRESS ON FILE
CANCEL VELEZ, ANDY                  ADDRESS ON FILE
CANCEL VELEZ, ANIBAL                ADDRESS ON FILE
CANCEL VELEZ, HECTOR                ADDRESS ON FILE
CANCEL VELEZ, IRIS S.               ADDRESS ON FILE
CANCEL VELEZ, JAMES                 ADDRESS ON FILE
CANCEL VELEZ, LILLIAN M.            ADDRESS ON FILE
CANCEL VELEZ, ROBERT                ADDRESS ON FILE
CANCEL VELEZ, ROLANDO               ADDRESS ON FILE
CANCEL VIENTOS, MADELINE            ADDRESS ON FILE
CANCEL VILA, EVA                    ADDRESS ON FILE
CANCEL VILA, JOSE                   ADDRESS ON FILE
CANCEL VILA, MADELINE               ADDRESS ON FILE
CANCEL VILLAFANEZ, ISMAEL           ADDRESS ON FILE
CANCEL ZAPATA MD, EDGAR             ADDRESS ON FILE
CANCEL, ALEXANDER                   ADDRESS ON FILE
CANCEL, ALFONSO M. CHRISTIAN        ADDRESS ON FILE
CANCEL, ANA                         ADDRESS ON FILE
CANCEL, JOSE A.                     ADDRESS ON FILE
CANCEL, RAFAEL                      ADDRESS ON FILE
CANCELA BERNAL, GISELA I.           ADDRESS ON FILE
CANCELA CRUZ, EMMA                  ADDRESS ON FILE
CANCELA LEBRON, JUANITA             ADDRESS ON FILE
CANCELA LOPEZ, FABIA                ADDRESS ON FILE
CANCELA LOPEZ, SOL A                ADDRESS ON FILE
Cancela Serrano, Ivis J.            ADDRESS ON FILE
Cancela Serrano, Lourdez Y          ADDRESS ON FILE
Cancela Serrano, Sigfredo           ADDRESS ON FILE
CANCELLATION SERVICES INC           PO BOX 3562                                                                            AGUADILLA     PR      00605
CANCELLATION SERVICES INC           PO BOX 367189 652 AVE     MU¥OZ RIVERA STE 2030                                        SAN JUAN      PR      00936‐1890
CANCER CARE CENTER OF BREVARD       ATT MEDICAL RECORDS       1430 S PINE ST                                               MELBOURNE     FL      32901
CANCER TREATMENT OF AMERICA         PO BOX 19072                                                                           GREEN BAY     WI      54307‐9072
CANCHA BAJO TECHO MANSION DEL SUR   PO BOX 51533                                                                           TOA BAJA      PR      00950
Canchani Baez, Alwing L             ADDRESS ON FILE
CANCHANI FRATICELLI, BRENDALIZ      ADDRESS ON FILE
CANCHANI MARTINEZ, PALMIRA          ADDRESS ON FILE
CANCHANI RODRIGUEZ, ELIEZER         ADDRESS ON FILE
CANCHANI RUIZ, HECTOR A             ADDRESS ON FILE
CANCHANIPACHECO, HERNAN             ADDRESS ON FILE
CANCHANY LARO, ARNALDO              ADDRESS ON FILE
CANCHANY MARRERO, RAFAEL L          ADDRESS ON FILE
CANCIO ARCELAY, JENNIFER            ADDRESS ON FILE
CANCIO ARCELAY, JENNIFER            ADDRESS ON FILE
CANCIO BERRIOS MD, JOSE A           ADDRESS ON FILE
CANCIO BIAGGI, JUAN M.              ADDRESS ON FILE
CANCIO BIGAS, MIGUEL                ADDRESS ON FILE
CANCIO COVAS & SANTIAGO LLP         PO BOX 367189                                                                          SAN JUAN      PR      00936‐1890
CANCIO FELIU, ANGELA M              ADDRESS ON FILE
CANCIO GONZALEZ, EDUARDO            ADDRESS ON FILE




                                                                                      Page 1121 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1122 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                          Address1                                  Address2                                     Address3             Address4   City           State   PostalCode   Country
CANCIO GONZALEZ, IRIS                  ADDRESS ON FILE
CANCIO GONZALEZ, IRIS L                ADDRESS ON FILE
CANCIO GONZALEZ, MIGUEL M              ADDRESS ON FILE
CANCIO GONZALEZ, SYLVIA E.             ADDRESS ON FILE
CANCIO JOSE MENDOZA                    COLINA REAL                               AVE LAS CUMBRES APT 704 CUPEY                                                SAN JUAN       PR      00926‐0000
CANCIO LIMA, ANTHONY                   ADDRESS ON FILE
CANCIO LIMA, HUGO                      ADDRESS ON FILE
CANCIO LIMA, JAVIER                    ADDRESS ON FILE
CANCIO LIMA, LAURA                     ADDRESS ON FILE
CANCIO LUGO, CARLOS                    ADDRESS ON FILE
CANCIO LUGO, ELVIRA M                  ADDRESS ON FILE
CANCIO LUGO, MERCEDES                  ADDRESS ON FILE
CANCIO MAYOL, JOSE L                   ADDRESS ON FILE
CANCIO MAYOL, MANUEL A                 ADDRESS ON FILE
CANCIO MEDINA, ANTONIO M               ADDRESS ON FILE
CANCIO MEDINA, YARMILA M.              ADDRESS ON FILE
CANCIO MELENDEZ, MARIA                 ADDRESS ON FILE
CANCIO MELENDEZ, MARIA                 ADDRESS ON FILE
CANCIO MELENDEZ, MARIA CRISTINA        LCDO. EFRAIN MACEIRA ORTIZ ‐ DEMANDANTE   URB. PEREZ MORRIS                            #31 CALLE MAYAGUEZ              SAN JUAN       PR      00917
CANCIO MELENDEZ, MARIA CRISTINA        LCDO. IVAN GARCÍA ZAPATA                  PO BOX 9295                                                                  SAN JUAN       PR      00908
CANCIO MELENDEZ, MARIA ELENA           ADDRESS ON FILE
CANCIO NIEVES, AUREA T                 ADDRESS ON FILE
CANCIO RAMIREZ, MARIA T.               ADDRESS ON FILE
CANCIO REICHARD, PABLO                 ADDRESS ON FILE
CANCIO VALDIVIA, JORGE L.              ADDRESS ON FILE
CANCIO VALDIVIA, LOURDES               ADDRESS ON FILE
CANCIO VAZQUEZ, DEBORAH                ADDRESS ON FILE
CANCIO VAZQUEZ, NINA                   ADDRESS ON FILE
CANCIO, NADAL, RIVERA & DIAZ, P.S.C.   P.O. BOX 364966                                                                                                        SAN JUAN       PR      00936‐4966
CANDE BUS LINE                         PO BOX 489 MERCEDITA                                                                                                   PONCE          PR      00715‐0489
CANDE BUS LINE INC                     PO BOX 489                                                                                                             MERCEDITA      PR      00715
CANDE BUS LINE, INC                    P.O. BOX 489 MERCEDITA PR                                                                                              PONCE          PR      00715‐0000
CANDELA BISBAL, CARIDAD                ADDRESS ON FILE
CANDELA CREATIVE GROUP INC             PO BOX 601                                                                                                             SAN GERMAN     PR      00683
CANDELARI MUNOZ, ONIEL                 ADDRESS ON FILE
CANDELARIA ACEVEDO, ANTHONY            ADDRESS ON FILE
CANDELARIA ACEVEDO, IRVING             ADDRESS ON FILE
CANDELARIA ACEVEDO, JESSICA            ADDRESS ON FILE
CANDELARIA AFANADOR, CARMEN E          ADDRESS ON FILE
CANDELARIA AGRON, DAMIAN               ADDRESS ON FILE
CANDELARIA AGRON, EFRAIN               ADDRESS ON FILE
CANDELARIA AGRON, JAVIER               ADDRESS ON FILE
CANDELARIA AGRON, KEVIN J              ADDRESS ON FILE
CANDELARIA AGRON, MILAGROS             ADDRESS ON FILE
CANDELARIA AGRON, NELSON               ADDRESS ON FILE
CANDELARIA ALERS, JOVINO A.            ADDRESS ON FILE
CANDELARIA ANDUJAR, HECTOR             ADDRESS ON FILE
CANDELARIA APONTE, CARMEN              ADDRESS ON FILE
CANDELARIA ARCE, ISAAC                 ADDRESS ON FILE
CANDELARIA ARCE, ISAAC A               ADDRESS ON FILE
CANDELARIA AROCHO, JOSE A.             ADDRESS ON FILE
CANDELARIA AROCHO, JOSE A.             ADDRESS ON FILE
CANDELARIA AROCHO, WANDA               ADDRESS ON FILE
CANDELARIA ARROYO, DOMINGO             ADDRESS ON FILE
CANDELARIA AVILES, LEYSA M             ADDRESS ON FILE
CANDELARIA AYALA, NELSON               ADDRESS ON FILE
CANDELARIA BETANCOURT, MAGALY I        ADDRESS ON FILE
CANDELARIA BETANCOURT, MARGARITA       ADDRESS ON FILE
CANDELARIA BONET, MADELINE             ADDRESS ON FILE
CANDELARIA BONET, MARITZA              ADDRESS ON FILE




                                                                                                            Page 1122 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1123 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIA BONILLA, ANTONIO          ADDRESS ON FILE
CANDELARIA BONILLA, ANTONIO          ADDRESS ON FILE
CANDELARIA BONILLA, HERIBERTO        ADDRESS ON FILE
CANDELARIA BRUNO, ISAMAR             ADDRESS ON FILE
CANDELARIA BRUNO, ISAMAR             ADDRESS ON FILE
CANDELARIA CAMACHO, HECTOR O.        ADDRESS ON FILE
CANDELARIA CANABALI, WILLIAM         ADDRESS ON FILE
Candelaria Canabali, William L.      ADDRESS ON FILE
CANDELARIA CANDELARIA, CLARISOL      ADDRESS ON FILE
CANDELARIA CANDELARIA, ISAAC         ADDRESS ON FILE
CANDELARIA CANDELARIA, JUAN A.       ADDRESS ON FILE
CANDELARIA CANDELARIA, LUIS E.       ADDRESS ON FILE
CANDELARIA CANDELARIA, MARIA DEL P   ADDRESS ON FILE
CANDELARIA CANDELARIA, MIGDALIA      ADDRESS ON FILE
CANDELARIA CANDELARIA, ROSA A        ADDRESS ON FILE
CANDELARIA CARRASCO, ARLEEN J.       ADDRESS ON FILE
CANDELARIA CARRASCO, EDGAR           ADDRESS ON FILE
CANDELARIA CARRASCO, NORBERTO        ADDRESS ON FILE
Candelaria Carrero, Wilson           ADDRESS ON FILE
CANDELARIA CASANAS, DELIDE           ADDRESS ON FILE
CANDELARIA CASTRO, SHELIZ            ADDRESS ON FILE
CANDELARIA CESANI, CARLOS            ADDRESS ON FILE
CANDELARIA CLASS, DENISSE            ADDRESS ON FILE
CANDELARIA CLASS, ENRIQUE            ADDRESS ON FILE
CANDELARIA CLASS, JUAN               ADDRESS ON FILE
CANDELARIA CLASS, JUAN C             ADDRESS ON FILE
CANDELARIA COLLAZO, JOSUE            ADDRESS ON FILE
CANDELARIA COLON, ANGEL A            ADDRESS ON FILE
CANDELARIA COLON, ZULEYKA            ADDRESS ON FILE
Candelaria Corchado, Edna            ADDRESS ON FILE
CANDELARIA CORCHADO, NITZA S         ADDRESS ON FILE
CANDELARIA CORCHADO, ZULMA           ADDRESS ON FILE
CANDELARIA CORTES SOLANO             ADDRESS ON FILE
CANDELARIA CORTES, ELVIN O           ADDRESS ON FILE
CANDELARIA CORTES, JESSENIA          ADDRESS ON FILE
CANDELARIA COSTA, ALEX               ADDRESS ON FILE
CANDELARIA CRESPO, LUIS O.           ADDRESS ON FILE
CANDELARIA CRUZ, AIDA I              ADDRESS ON FILE
Candelaria Cruz, Alfonso             ADDRESS ON FILE
CANDELARIA CRUZ, ESTHER              ADDRESS ON FILE
CANDELARIA CRUZ, JOSE E              ADDRESS ON FILE
CANDELARIA CUEVAS, CRUZ              ADDRESS ON FILE
CANDELARIA CUEVAS, MARIA M           ADDRESS ON FILE
CANDELARIA CUEVAS, MARTA             ADDRESS ON FILE
Candelaria Curbelo, Jacqueline       ADDRESS ON FILE
CANDELARIA CURBELO, JOSE A.          ADDRESS ON FILE
CANDELARIA CURBELO, JOSEPH S.        ADDRESS ON FILE
Candelaria Curbelo, Luis A           ADDRESS ON FILE
CANDELARIA CURBELO, MARIA DEL C      ADDRESS ON FILE
CANDELARIA DE JESUS, EUNICE          ADDRESS ON FILE
CANDELARIA DE JESUS, MIRELIZ         ADDRESS ON FILE
CANDELARIA DE JESUS, ORLANDO         ADDRESS ON FILE
CANDELARIA DELGADO, CARLOS           ADDRESS ON FILE
CANDELARIA DELGADO, JOSE             ADDRESS ON FILE
CANDELARIA DELGADO, LIZMARIE         ADDRESS ON FILE
CANDELARIA DELGADO, MARICELA         ADDRESS ON FILE
CANDELARIA DEVELOPMENT INC           PO BOX 2522                                                                      BAYAMON      PR      00960‐2522
CANDELARIA DIAZ, DULCILIA            ADDRESS ON FILE
CANDELARIA DIAZ, JOSEFINA            ADDRESS ON FILE
CANDELARIA DIAZ, MADELINE            ADDRESS ON FILE




                                                                                 Page 1123 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1124 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIA ESTRELLA, JOSE J           ADDRESS ON FILE
CANDELARIA ESTRELLA, LUISA Y.         ADDRESS ON FILE
CANDELARIA FARIA, ADALBERTO           ADDRESS ON FILE
CANDELARIA FARRULLA, ERIC             ADDRESS ON FILE
CANDELARIA FELICIANO, LESLIE J        ADDRESS ON FILE
CANDELARIA FERNANDEZ, ERICK           ADDRESS ON FILE
CANDELARIA FIGUEROA, BENNY            ADDRESS ON FILE
CANDELARIA GALAN, MARIA T             ADDRESS ON FILE
CANDELARIA GALINDEZ, JORGE            ADDRESS ON FILE
CANDELARIA GALLETTI, ELSIE            ADDRESS ON FILE
CANDELARIA GALLETTI, FRANCISCO        ADDRESS ON FILE
CANDELARIA GONZALEZ, ARIS D           ADDRESS ON FILE
CANDELARIA GONZALEZ, BRENDA           ADDRESS ON FILE
CANDELARIA GONZALEZ, CARMEN J         ADDRESS ON FILE
CANDELARIA GONZALEZ, DIOMARA I        ADDRESS ON FILE
CANDELARIA GONZALEZ, DIOS             ADDRESS ON FILE
CANDELARIA GONZALEZ, JANETTE I        ADDRESS ON FILE
Candelaria Gonzalez, Jisell I.        ADDRESS ON FILE
CANDELARIA GONZALEZ, JOSE             ADDRESS ON FILE
CANDELARIA GONZALEZ, LISSETTE         ADDRESS ON FILE
CANDELARIA GONZALEZ, MARITZA          ADDRESS ON FILE
CANDELARIA GONZALEZ, NORBERTO         ADDRESS ON FILE
CANDELARIA GONZALEZ, PABLO            ADDRESS ON FILE
CANDELARIA GONZALEZ, ROSA J           ADDRESS ON FILE
CANDELARIA GONZALEZ, SALVADOR         ADDRESS ON FILE
CANDELARIA GONZALEZ, VICENTE          ADDRESS ON FILE
CANDELARIA GOYTIA, HERMINIA           ADDRESS ON FILE
CANDELARIA GUADALUPE, ZAIRA D         ADDRESS ON FILE
CANDELARIA GUALDARRAMA, MARIA DEL C   ADDRESS ON FILE
CANDELARIA GUZMAN, DAMARIS            ADDRESS ON FILE
CANDELARIA GUZMAN, NAIDA              ADDRESS ON FILE
CANDELARIA HERNANDEZ, LESLIE          ADDRESS ON FILE
CANDELARIA HERNANDEZ, RAIZA M         ADDRESS ON FILE
CANDELARIA HERNANDEZ, YANIRA          ADDRESS ON FILE
CANDELARIA IRIZARRY, IVETTE           ADDRESS ON FILE
CANDELARIA JIMENEZ, EMILIA            ADDRESS ON FILE
Candelaria Juarbe, Raul               ADDRESS ON FILE
CANDELARIA JUARBE, RAUL G.            ADDRESS ON FILE
Candelaria Jurado, Alex               ADDRESS ON FILE
CANDELARIA JURADO, ALEX               ADDRESS ON FILE
CANDELARIA LOPEZ, ANA L               ADDRESS ON FILE
CANDELARIA LOPEZ, ANNA                ADDRESS ON FILE
Candelaria Lopez, Jorge A             ADDRESS ON FILE
CANDELARIA LOPEZ, MARLENE             ADDRESS ON FILE
Candelaria Lorenzo, Edwin             ADDRESS ON FILE
CANDELARIA LORENZO, EDWIN             ADDRESS ON FILE
CANDELARIA LUGO, JAVIER               ADDRESS ON FILE
CANDELARIA MALDONADO, DELIANNE        ADDRESS ON FILE
CANDELARIA MALDONADO, MARGARITA       ADDRESS ON FILE
CANDELARIA MARRERO, NEREIDA           ADDRESS ON FILE
CANDELARIA MARTES, NIVIA MARIE        ADDRESS ON FILE
CANDELARIA MARTINEZ, CANDIDO          ADDRESS ON FILE
CANDELARIA MARTINEZ, DAVID            ADDRESS ON FILE
CANDELARIA MARTINEZ, JORGE            ADDRESS ON FILE
CANDELARIA MARTINEZ, JORGE            ADDRESS ON FILE
Candelaria Martinez, Nancy            ADDRESS ON FILE
CANDELARIA MARTINEZ, ROSA I           ADDRESS ON FILE
CANDELARIA MARTINEZ, SELMA            ADDRESS ON FILE
CANDELARIA MEDINA, ASTRID             ADDRESS ON FILE
CANDELARIA MEDINA, BLANCA             ADDRESS ON FILE




                                                                                  Page 1124 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1125 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Candelaria Medina, Daniel        ADDRESS ON FILE
CANDELARIA MEDINA, ENEIDA        ADDRESS ON FILE
CANDELARIA MEDINA, ENRIQUE       ADDRESS ON FILE
CANDELARIA MEDINA, ISMAEL        ADDRESS ON FILE
Candelaria Medina, Jose          ADDRESS ON FILE
CANDELARIA MEDINA, SOL V         ADDRESS ON FILE
Candelaria Medina, Wilson        ADDRESS ON FILE
CANDELARIA MEJIAS, KAREN         ADDRESS ON FILE
Candelaria Melendez, Alvin       ADDRESS ON FILE
CANDELARIA MELENDEZ, JOSE        ADDRESS ON FILE
CANDELARIA MELENDEZ, YOLIMARIS   ADDRESS ON FILE
Candelaria Mercado, Frances M    ADDRESS ON FILE
Candelaria Mercado, Francisco    ADDRESS ON FILE
Candelaria Mercado, Ilka M       ADDRESS ON FILE
CANDELARIA MIRANDA, MIKE         ADDRESS ON FILE
CANDELARIA MONTALVO, DIEGO       ADDRESS ON FILE
CANDELARIA MONTALVO, LUIS A.     ADDRESS ON FILE
CANDELARIA MORA, CARMEN G        ADDRESS ON FILE
CANDELARIA MORALES, ANGEL        ADDRESS ON FILE
CANDELARIA MOYA, MARIA D.        ADDRESS ON FILE
CANDELARIA MOYA, VANESSA         ADDRESS ON FILE
CANDELARIA MUNIZ, LIZULLIS       ADDRESS ON FILE
CANDELARIA MUNOZ, JOSE           ADDRESS ON FILE
CANDELARIA MUNOZ, JOSE G.        ADDRESS ON FILE
CANDELARIA NAZARIO, IRIS D       ADDRESS ON FILE
CANDELARIA NIEVES, KIARA         ADDRESS ON FILE
CANDELARIA OCASIO, LINDA         ADDRESS ON FILE
CANDELARIA OJEDA, FELICITA       ADDRESS ON FILE
CANDELARIA PEREZ, AMMAYAR        ADDRESS ON FILE
CANDELARIA PEREZ, DELMA          ADDRESS ON FILE
CANDELARIA PEREZ, FRANCISCO      ADDRESS ON FILE
CANDELARIA PEREZ, LUZ            ADDRESS ON FILE
CANDELARIA PEREZ, MARIA M.       ADDRESS ON FILE
Candelaria Perez, Maria M.       ADDRESS ON FILE
CANDELARIA PEREZ, MARIVELL       ADDRESS ON FILE
CANDELARIA PEREZ, MELISSA        ADDRESS ON FILE
CANDELARIA PEREZ, MYRTHA I.      ADDRESS ON FILE
Candelaria Perez, Neftali        ADDRESS ON FILE
CANDELARIA PEREZ, NEFTALI        ADDRESS ON FILE
CANDELARIA PEREZ, OLGA L         ADDRESS ON FILE
CANDELARIA PEREZ, OSVALDO        ADDRESS ON FILE
Candelaria Ponce, Esteban        ADDRESS ON FILE
CANDELARIA PONCE, ESTEBAN        ADDRESS ON FILE
CANDELARIA RAMOS, AIDA           ADDRESS ON FILE
CANDELARIA RAMOS, CYNTHIA I.     ADDRESS ON FILE
CANDELARIA RAMOS, DAISY          ADDRESS ON FILE
CANDELARIA RAMOS, HECTOR         ADDRESS ON FILE
CANDELARIA RAMOS, JESSICA        ADDRESS ON FILE
Candelaria Ramos, Leslie         ADDRESS ON FILE
CANDELARIA RAMOS, LESLIE         ADDRESS ON FILE
CANDELARIA RAMOS, MILAGROS       ADDRESS ON FILE
CANDELARIA RAMOS, RAMON          ADDRESS ON FILE
CANDELARIA REEVES, CHRISTIAN     ADDRESS ON FILE
CANDELARIA REEVES, NICOLE        ADDRESS ON FILE
CANDELARIA RESTO, EUGENIO        ADDRESS ON FILE
CANDELARIA REYES, LUISA          ADDRESS ON FILE
CANDELARIA REYES, RAFAEL         ADDRESS ON FILE
CANDELARIA REYES, REYES          ADDRESS ON FILE
Candelaria Rivera, Ana           ADDRESS ON FILE
CANDELARIA RIVERA, CARLOS        ADDRESS ON FILE




                                                                             Page 1125 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1126 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIA RIVERA, GABRIEL        ADDRESS ON FILE
CANDELARIA RIVERA, JAVIER         ADDRESS ON FILE
CANDELARIA RIVERA, JOEL           ADDRESS ON FILE
CANDELARIA RIVERA, JOSE L         ADDRESS ON FILE
CANDELARIA RIVERA, KATHIRIA       ADDRESS ON FILE
CANDELARIA RIVERA, LESLIE         ADDRESS ON FILE
CANDELARIA RIVERA, LIZ MARY       ADDRESS ON FILE
CANDELARIA RIVERA, LIZMARY        ADDRESS ON FILE
CANDELARIA RIVERA, LUIS           ADDRESS ON FILE
CANDELARIA RIVERA, LUIS F         ADDRESS ON FILE
CANDELARIA RIVERA, STEVEN         ADDRESS ON FILE
CANDELARIA RODRIGUEZ, ANA M       ADDRESS ON FILE
CANDELARIA RODRIGUEZ, AURORA      ADDRESS ON FILE
CANDELARIA RODRIGUEZ, CARMEN M.   ADDRESS ON FILE
CANDELARIA RODRIGUEZ, EDGAR       ADDRESS ON FILE
CANDELARIA RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
Candelaria Rodriguez, Jorge E     ADDRESS ON FILE
CANDELARIA RODRIGUEZ, JOSEPH      ADDRESS ON FILE
CANDELARIA ROLDAN, RAFAEL         ADDRESS ON FILE
CANDELARIA ROLON, EMMA I          ADDRESS ON FILE
CANDELARIA ROMAN, KARLA           ADDRESS ON FILE
CANDELARIA ROMAN, RUBEN           ADDRESS ON FILE
CANDELARIA ROMERO, ZULEYKA        ADDRESS ON FILE
CANDELARIA RONDON, JOSE           ADDRESS ON FILE
Candelaria Rosa, Alberto E        ADDRESS ON FILE
CANDELARIA ROSA, CARLOS           ADDRESS ON FILE
CANDELARIA ROSA, EXA E            ADDRESS ON FILE
CANDELARIA ROSA, MARIBELL         ADDRESS ON FILE
Candelaria Rosado, Carlos         ADDRESS ON FILE
CANDELARIA ROSADO, IVAN           ADDRESS ON FILE
CANDELARIA ROSARIO, DAMARIS       ADDRESS ON FILE
CANDELARIA ROSARIO, MARCOS J      ADDRESS ON FILE
CANDELARIA ROSARIO, USHASI        ADDRESS ON FILE
CANDELARIA RUIZ, CARMEN S         ADDRESS ON FILE
CANDELARIA SANABRIA, JOSE D       ADDRESS ON FILE
CANDELARIA SANCHEZ, JUAN A        ADDRESS ON FILE
CANDELARIA SANTANA, CATHERINE     ADDRESS ON FILE
CANDELARIA SANTIAGO, FERNANDO     ADDRESS ON FILE
CANDELARIA SANTIAGO, IRIS B.      ADDRESS ON FILE
CANDELARIA SANTIAGO, OSVALDO      ADDRESS ON FILE
CANDELARIA SANTIAGO, ROBERTO      ADDRESS ON FILE
CANDELARIA SANTIAGO, STEVEN       ADDRESS ON FILE
CANDELARIA SANTOS, FRANKY         ADDRESS ON FILE
CANDELARIA SANTOS, JOSE           ADDRESS ON FILE
CANDELARIA SERRANO, NEFTALI       ADDRESS ON FILE
CANDELARIA SERRANO, YESSENIA      ADDRESS ON FILE
CANDELARIA SILVA, CARMEN          ADDRESS ON FILE
CANDELARIA SOBERAL, GILBERT       ADDRESS ON FILE
CANDELARIA SOTO, DAGMAR L.        ADDRESS ON FILE
Candelaria Soto, Edgard A         ADDRESS ON FILE
CANDELARIA SOTO, ESTEBAN          ADDRESS ON FILE
CANDELARIA SOTO, FRANCES E.       ADDRESS ON FILE
CANDELARIA SOTO, MIGUEL A         ADDRESS ON FILE
CANDELARIA SOTO, PEDRO L          ADDRESS ON FILE
CANDELARIA SOTO, SONIA            ADDRESS ON FILE
CANDELARIA SUAREZ, EVELYN         ADDRESS ON FILE
CANDELARIA SUAREZ, OLIVERTO       ADDRESS ON FILE
CANDELARIA SUAREZ, OLIVERTO       ADDRESS ON FILE
CANDELARIA SURITA CORTES          ADDRESS ON FILE
CANDELARIA THILLE, CARLOS A       ADDRESS ON FILE




                                                                              Page 1126 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1127 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIA TORRES, SAMUEL        ADDRESS ON FILE
CANDELARIA TORRES, SANDRA        ADDRESS ON FILE
CANDELARIA VALENTIN, BETZAIDA    ADDRESS ON FILE
CANDELARIA VALENTIN, EFRAIN      ADDRESS ON FILE
Candelaria Valentin, Efrain A    ADDRESS ON FILE
CANDELARIA VALENTIN, ITZY        ADDRESS ON FILE
CANDELARIA VALENTIN, RAQUEL      ADDRESS ON FILE
CANDELARIA VARGAS, JOLIRIS       ADDRESS ON FILE
CANDELARIA VAZQUEZ, ISRAEL       ADDRESS ON FILE
CANDELARIA VAZQUEZ, MARIBEL      ADDRESS ON FILE
CANDELARIA VAZQUEZ, SHEILA       ADDRESS ON FILE
CANDELARIA VEGA, OFELIA          ADDRESS ON FILE
CANDELARIA VEGA, OFELIA          ADDRESS ON FILE
CANDELARIA VELEZ, BENEDICT       ADDRESS ON FILE
CANDELARIA VELEZ, ENID L.        ADDRESS ON FILE
CANDELARIA VELEZ, ISAMAR         ADDRESS ON FILE
CANDELARIA VELEZ, ISAMAR         ADDRESS ON FILE
Candelaria Velez, Israel         ADDRESS ON FILE
CANDELARIA VELEZ, JEANNETTE      ADDRESS ON FILE
Candelaria Velez, Luis A         ADDRESS ON FILE
CANDELARIA VERGARA, EZEQUIEL     ADDRESS ON FILE
CANDELARIA VICENTY, JULIA        ADDRESS ON FILE
CANDELARIA VILELLA, FERNANDO     ADDRESS ON FILE
CANDELARIA VILELLA, OMAYRA       ADDRESS ON FILE
CANDELARIA VILLAFANE, CANDIDO    ADDRESS ON FILE
CANDELARIA VILLANUEVA, MARTIN    ADDRESS ON FILE
CANDELARIA WALKER, ABIMAEL       ADDRESS ON FILE
CANDELARIA, ALEX A.              ADDRESS ON FILE
CANDELARIA, ERICA ENID           ADDRESS ON FILE
Candelaria, Francisco            ADDRESS ON FILE
CANDELARIA, JUAN A               ADDRESS ON FILE
CANDELARIA, WILFREDO             ADDRESS ON FILE
CANDELARIA, WILLIAM              ADDRESS ON FILE
CANDELARIAMILIAN, JORGE L        ADDRESS ON FILE
CANDELARIARODRIGUEZ, HERMINIO    ADDRESS ON FILE
CANDELARIARODRIGUEZ, JESUS       ADDRESS ON FILE
CANDELARIO ACEVEDO, ANGEL F.     ADDRESS ON FILE
CANDELARIO ACEVEDO, LUIS M       ADDRESS ON FILE
CANDELARIO ACEVEDO, VIVIANA      ADDRESS ON FILE
CANDELARIO ANAYA, EDNA E.        ADDRESS ON FILE
CANDELARIO ANDINO, VILMA E       ADDRESS ON FILE
CANDELARIO ANDUJAR, LUIS A       ADDRESS ON FILE
CANDELARIO ARISTUD, CHRITOPHER   ADDRESS ON FILE
Candelario Arocho, Dorangely     ADDRESS ON FILE
CANDELARIO AROCHO, DORANGELY     ADDRESS ON FILE
CANDELARIO AYALA, ANN MARIE      ADDRESS ON FILE
CANDELARIO BAEZ, IDELIA          ADDRESS ON FILE
CANDELARIO BAEZ, JEFFREY         ADDRESS ON FILE
CANDELARIO BAEZ, VICTOR          ADDRESS ON FILE
CANDELARIO BAEZ, WANDA           ADDRESS ON FILE
CANDELARIO BENEJAN, DAVID        ADDRESS ON FILE
CANDELARIO BERMUDEZ, SAMUEL      ADDRESS ON FILE
CANDELARIO BERNARD, VICTOR M.    ADDRESS ON FILE
CANDELARIO BERRIOS, RUTH D.      ADDRESS ON FILE
CANDELARIO BRAVO, DAMIAN         ADDRESS ON FILE
CANDELARIO BRAVO, DAMIAN         ADDRESS ON FILE
CANDELARIO CABRERA, ELSA M.      ADDRESS ON FILE
CANDELARIO CALDERON, GISELLE     ADDRESS ON FILE
CANDELARIO CALDERON, GISELLE     ADDRESS ON FILE
CANDELARIO CALIZ, ANGEL          ADDRESS ON FILE




                                                                             Page 1127 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1128 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIO CALIZ, ANGEL N.        ADDRESS ON FILE
CANDELARIO CALIZ, ZAIRA           ADDRESS ON FILE
CANDELARIO CANDELARIO, CESAR A.   ADDRESS ON FILE
CANDELARIO CANDELARIO, JAIME      ADDRESS ON FILE
CANDELARIO CANDELARIO, JIMMY      ADDRESS ON FILE
CANDELARIO CANDELARIO, JUAN       ADDRESS ON FILE
CANDELARIO CANDELARIO, LIDELIZ    ADDRESS ON FILE
CANDELARIO CANDELARIO, LIDELIZ    ADDRESS ON FILE
CANDELARIO CANDELARIO, ROSARIO    ADDRESS ON FILE
CANDELARIO CARRASQUILLO CALCANO   ADDRESS ON FILE
CANDELARIO CENTENO, NELLY M       ADDRESS ON FILE
CANDELARIO CLAUDIO, KAREN         ADDRESS ON FILE
CANDELARIO CLAUDIO, RAUL          ADDRESS ON FILE
CANDELARIO COLON, CARMEN M.       ADDRESS ON FILE
CANDELARIO COLON, DELMARIE        ADDRESS ON FILE
CANDELARIO COLON, LORELL          ADDRESS ON FILE
CANDELARIO COLON, ROSE M          ADDRESS ON FILE
CANDELARIO COLON, SHARON M.       ADDRESS ON FILE
CANDELARIO CORA, INES             ADDRESS ON FILE
CANDELARIO CORA, ORVIN            ADDRESS ON FILE
CANDELARIO CORREA, NITZA          ADDRESS ON FILE
CANDELARIO CORREA, NITZA          ADDRESS ON FILE
CANDELARIO COUVERTIER, SARA       ADDRESS ON FILE
CANDELARIO CRUZ, ARNALDO          ADDRESS ON FILE
CANDELARIO CRUZ, IVETTE           ADDRESS ON FILE
CANDELARIO CRUZ, JOSE             ADDRESS ON FILE
CANDELARIO CRUZ, LUCY             ADDRESS ON FILE
CANDELARIO CRUZ, ZULEIKA          ADDRESS ON FILE
CANDELARIO CUEVAS, ANGEL L        ADDRESS ON FILE
CANDELARIO DEL VALLE, SANDRA M    ADDRESS ON FILE
CANDELARIO DELGADO, LILLIAM       ADDRESS ON FILE
CANDELARIO DIAZ, ALEXIS           ADDRESS ON FILE
CANDELARIO DIAZ, DOROTHY          ADDRESS ON FILE
CANDELARIO DIAZ, MILCA            ADDRESS ON FILE
CANDELARIO DUENO, VENUS           ADDRESS ON FILE
CANDELARIO FELICIANO, REYNA       ADDRESS ON FILE
CANDELARIO FERNANDEZ, AGNES       ADDRESS ON FILE
CANDELARIO FERNANDEZ, ANGELA      ADDRESS ON FILE
CANDELARIO FIGUEROA, ALEXIS       ADDRESS ON FILE
CANDELARIO FIGUEROA, ANA M.       ADDRESS ON FILE
CANDELARIO FIGUEROA, GLENDALY     ADDRESS ON FILE
CANDELARIO FONTANEZ HUERTAS       ADDRESS ON FILE
CANDELARIO GALARZA, EVELYN        ADDRESS ON FILE
CANDELARIO GARCIA, NELSON J       ADDRESS ON FILE
CANDELARIO GARCIA, OLGA           ADDRESS ON FILE
CANDELARIO GARUA, YOLANDA         ADDRESS ON FILE
CANDELARIO GONZALEZ, CANDIDA      ADDRESS ON FILE
CANDELARIO GONZALEZ, EVELYN       ADDRESS ON FILE
CANDELARIO GONZALEZ, JUAN JOSE    ADDRESS ON FILE
CANDELARIO GONZALEZ, JUDITH       ADDRESS ON FILE
CANDELARIO GONZALEZ, LUIS         ADDRESS ON FILE
Candelario Gonzalez, Marines      ADDRESS ON FILE
CANDELARIO GONZALEZ, MIGDALIA     ADDRESS ON FILE
CANDELARIO GONZALEZ, SIXTO        ADDRESS ON FILE
CANDELARIO GONZALEZ, VIRGINIA     ADDRESS ON FILE
CANDELARIO GORBEA, CAMILLE        ADDRESS ON FILE
CANDELARIO GUADALUPE, ANNETTE     ADDRESS ON FILE
CANDELARIO GUZMAN, HECTOR         ADDRESS ON FILE
CANDELARIO GUZMAN, NOELIA         ADDRESS ON FILE
CANDELARIO HERNANDEZ, CARLOS      ADDRESS ON FILE




                                                                              Page 1128 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1129 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                       Address2                    Address3   Address4   City             State   PostalCode   Country
CANDELARIO HERNANDEZ, CARLOS A     ADDRESS ON FILE
CANDELARIO HERNANDEZ, CARMEN       ADDRESS ON FILE
CANDELARIO HERNANDEZ, JOSE         ADDRESS ON FILE
CANDELARIO HERNANDEZ, MARILYN      ADDRESS ON FILE
CANDELARIO HERNANDEZ, MARILYN      ADDRESS ON FILE
CANDELARIO HERNANDEZ, SERGIO       ADDRESS ON FILE
CANDELARIO HUERTAS, HENRY          ADDRESS ON FILE
CANDELARIO HUERTAS, RICARDO        ADDRESS ON FILE
CANDELARIO JANEIRO, AURELIANO      ADDRESS ON FILE
CANDELARIO JIMENEZ, JOSE           ADDRESS ON FILE
CANDELARIO LANZA MD, JUAN          ADDRESS ON FILE
CANDELARIO LATIMER, CARMEN M       ADDRESS ON FILE
Candelario Lebron, Ana Maria       ADDRESS ON FILE
CANDELARIO LLANOS, JOSE            ADDRESS ON FILE
CANDELARIO LOPEZ, ALEJANDRO        ADDRESS ON FILE
Candelario Lopez, Ana L.           ADDRESS ON FILE
CANDELARIO LOPEZ, CRISTINA         ADDRESS ON FILE
CANDELARIO LOPEZ, EMILIO           ADDRESS ON FILE
CANDELARIO LOPEZ, MIRNA            ADDRESS ON FILE
CANDELARIO LOPEZ, RAUL A           ADDRESS ON FILE
CANDELARIO LOPEZ, RAUL A.          ADDRESS ON FILE
CANDELARIO LOPEZ, VICTOR M.        ADDRESS ON FILE
CANDELARIO LORENZO, JIMMY          ADDRESS ON FILE
Candelario Lozada, Hector M        ADDRESS ON FILE
CANDELARIO LOZADA, JOSE            ADDRESS ON FILE
CANDELARIO LUCIANO, ANGEL M        ADDRESS ON FILE
CANDELARIO LUGO, LARRY             ADDRESS ON FILE
CANDELARIO LUGO, LORRAINE          ADDRESS ON FILE
CANDELARIO LUGO, MICHAEL           ADDRESS ON FILE
CANDELARIO LUGO, MICHAEL           ADDRESS ON FILE
Candelario Lugo, Michael W.        ADDRESS ON FILE
CANDELARIO MALDONADO, ABNER        ADDRESS ON FILE
CANDELARIO MALDONADO, JOSUE        ADDRESS ON FILE
CANDELARIO MALDONADO, VIVIAM       ADDRESS ON FILE
CANDELARIO MALDONADO, WALKER       ADDRESS ON FILE
CANDELARIO MARQUEZ, FRANCISCO      ADDRESS ON FILE
CANDELARIO MARRERO, KIMBERLY       ADDRESS ON FILE
CANDELARIO MARTIN, FERDINAND       ADDRESS ON FILE
CANDELARIO MARTINEZ, LAHUDYNE M    ADDRESS ON FILE
CANDELARIO MARTINEZ, PROVIDENCIA   ADDRESS ON FILE
CANDELARIO MARTINEZ, RICHARD       ADDRESS ON FILE
CANDELARIO MATOS, HORTENSIA        ADDRESS ON FILE
CANDELARIO MATOS, LIDICE           ADDRESS ON FILE
CANDELARIO MAYSONET, MARISELA      ADDRESS ON FILE
CANDELARIO MELENDEZ, JAVIER        ADDRESS ON FILE
CANDELARIO MELENDEZ, YOMARA        ADDRESS ON FILE
CANDELARIO MENDEZ, MELISSA         ADDRESS ON FILE
CANDELARIO MENDEZ, RAUL            ADDRESS ON FILE
CANDELARIO MILLAN, ANA I.          ADDRESS ON FILE
CANDELARIO MILLAN, OBDULIO         ADDRESS ON FILE
CANDELARIO MONTAS, KATHERINE       ADDRESS ON FILE
CANDELARIO MULERO, ANDRES          ADDRESS ON FILE
CANDELARIO MULERO, LIZA M.         ADDRESS ON FILE
CANDELARIO MUÑIZ LOPEZ Y OTROS     LCDO. JUAN C. VEGA HERNÁNDEZ   PO BOX 470                                        QUEBRADILLAS     PR      00678
CANDELARIO MUNIZ, GLADYS           ADDRESS ON FILE
CANDELARIO NAZARIO, JOSE           ADDRESS ON FILE
CANDELARIO NAZARIO, NELSON         ADDRESS ON FILE
CANDELARIO NAZARIO, NILDA E        ADDRESS ON FILE
CANDELARIO NEGRON, NEREILIS        ADDRESS ON FILE
CANDELARIO NIDO, MARIA C           ADDRESS ON FILE




                                                                               Page 1129 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1130 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIO NIDO, ROSA J            ADDRESS ON FILE
CANDELARIO OLIVIERI, DAMARIS       ADDRESS ON FILE
CANDELARIO OLIVIERI, ELIEZER       ADDRESS ON FILE
CANDELARIO ORTA, LUIS              ADDRESS ON FILE
CANDELARIO ORTIZ, ALBA L.          ADDRESS ON FILE
CANDELARIO ORTIZ, GERARDO A        ADDRESS ON FILE
CANDELARIO ORTIZ, IRAIDA           ADDRESS ON FILE
CANDELARIO OSORIO, LUIS E.         ADDRESS ON FILE
CANDELARIO OTERO, MARIA E          ADDRESS ON FILE
CANDELARIO PABON, JOSE S.          ADDRESS ON FILE
CANDELARIO PABON, YARITZA L        ADDRESS ON FILE
CANDELARIO PACHECO, JAVIER         ADDRESS ON FILE
CANDELARIO PACHECO, JESSICA        ADDRESS ON FILE
Candelario Padilla, Angel A        ADDRESS ON FILE
CANDELARIO PADILLA, EMANUEL        ADDRESS ON FILE
CANDELARIO PADILLA, EMANUEL        ADDRESS ON FILE
CANDELARIO PADILLA, EMANUEL        ADDRESS ON FILE
CANDELARIO PADILLA, MARIA DE LOS   ADDRESS ON FILE
CANDELARIO PAGAN, CARLOS           ADDRESS ON FILE
CANDELARIO PEREZ, EDWIN            ADDRESS ON FILE
CANDELARIO PEREZ, MAYRA L          ADDRESS ON FILE
CANDELARIO PEREZ, OSVALDO          ADDRESS ON FILE
CANDELARIO PEREZ, RAMON            ADDRESS ON FILE
CANDELARIO PEREZ, VICTOR           ADDRESS ON FILE
CANDELARIO PEREZ, VICTOR L.        ADDRESS ON FILE
CANDELARIO PIEVE, LYNNETTE         ADDRESS ON FILE
CANDELARIO PIEVES MD, ALBERTO L    ADDRESS ON FILE
CANDELARIO PINEIRO, MIGUEL         ADDRESS ON FILE
CANDELARIO PIZARRO, CARMEN D       ADDRESS ON FILE
CANDELARIO PIZARRO, JOSEFINA       ADDRESS ON FILE
CANDELARIO PIZARRO, WILLIAM        ADDRESS ON FILE
CANDELARIO POMALES, GUIOMAR        ADDRESS ON FILE
CANDELARIO PORTUGUEZ, ESTEVAN      ADDRESS ON FILE
CANDELARIO PORTUGUEZ, NOEMI        ADDRESS ON FILE
CANDELARIO PORTUGUEZ, NOEMI        ADDRESS ON FILE
CANDELARIO RAMOS, AMILKAR          ADDRESS ON FILE
CANDELARIO RAMOS, ARACELIS         ADDRESS ON FILE
CANDELARIO RAMOS, MANUEL           ADDRESS ON FILE
CANDELARIO RAMOS, NERY             ADDRESS ON FILE
CANDELARIO RAMOS, OMAR             ADDRESS ON FILE
CANDELARIO REYES, CARMEN B         ADDRESS ON FILE
CANDELARIO REYES, MIGUEL           ADDRESS ON FILE
CANDELARIO REYES, VICTOR           ADDRESS ON FILE
Candelario Reyes, Victor M         ADDRESS ON FILE
CANDELARIO RIOS AYALA              ADDRESS ON FILE
CANDELARIO RIVAS, CATHERINE        ADDRESS ON FILE
CANDELARIO RIVERA, AGUEYBANA       ADDRESS ON FILE
CANDELARIO RIVERA, AGUEYBANA       ADDRESS ON FILE
CANDELARIO RIVERA, ALEX            ADDRESS ON FILE
CANDELARIO RIVERA, ANGELICA        ADDRESS ON FILE
Candelario Rivera, Carlos N        ADDRESS ON FILE
CANDELARIO RIVERA, EUFROSINA       ADDRESS ON FILE
Candelario Rivera, Guarionex       ADDRESS ON FILE
CANDELARIO RIVERA, IRIS            ADDRESS ON FILE
Candelario Rivera, Jean Carlos     ADDRESS ON FILE
CANDELARIO RIVERA, NELSON          ADDRESS ON FILE
CANDELARIO RIVERA, XIOMARA         ADDRESS ON FILE
CANDELARIO RIVERA, ZAHIRA          ADDRESS ON FILE
CANDELARIO ROBLES, ANGEL           ADDRESS ON FILE
Candelario Robles, Angel L         ADDRESS ON FILE




                                                                               Page 1130 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1131 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                         Address1                    Address2                               Address3             Address4   City      State   PostalCode   Country
CANDELARIO RODRIGUEZ, ANGEL           ADDRESS ON FILE
CANDELARIO RODRIGUEZ, ANGEL M         ADDRESS ON FILE
Candelario Rodriguez, Angel M         ADDRESS ON FILE
CANDELARIO RODRIGUEZ, CARLOS          ADDRESS ON FILE
CANDELARIO RODRIGUEZ, IRAINES         ADDRESS ON FILE
Candelario Rodriguez, Joel            ADDRESS ON FILE
Candelario Rodriguez, Miguel A        ADDRESS ON FILE
CANDELARIO RODRIGUEZ, MILDRED         ADDRESS ON FILE
CANDELARIO RODRIGUEZ, PETRONA         ADDRESS ON FILE
Candelario Rodriguez, Primitiva       ADDRESS ON FILE
CANDELARIO RODRIGUEZ, WIGBERTO        ADDRESS ON FILE
CANDELARIO ROMAN, ANA R               ADDRESS ON FILE
CANDELARIO ROMAN, LENNY R.            ADDRESS ON FILE
CANDELARIO ROSADO, ESTEBAN            ADDRESS ON FILE
CANDELARIO ROSADO, MARIA R            ADDRESS ON FILE
CANDELARIO ROSADO, NELSON A           ADDRESS ON FILE
CANDELARIO ROSARIO, LUIS              ADDRESS ON FILE
CANDELARIO ROSARIO, NARDIANDRES       ADDRESS ON FILE
CANDELARIO ROSARIO, VICTOR            ADDRESS ON FILE
CANDELARIO ROSAS, ADA I               ADDRESS ON FILE
CANDELARIO ROSAS, NILSA I             ADDRESS ON FILE
CANDELARIO RUIZ, KETTY                ADDRESS ON FILE
CANDELARIO RUIZ, KETTY                ADDRESS ON FILE
CANDELARIO RUPERTO, ROSA I            ADDRESS ON FILE
CANDELARIO SANABRIA, JAYDEE           ADDRESS ON FILE
CANDELARIO SANCHEZ, ABRAHAM           ADDRESS ON FILE
Candelario Sanchez, Abraham           ADDRESS ON FILE
Candelario Sanchez, Juan M            ADDRESS ON FILE
Candelario Santiago, Carlos E         ADDRESS ON FILE
CANDELARIO SANTIAGO, FERNANDO         ADDRESS ON FILE
CANDELARIO SANTIAGO, JOSE M.          ADDRESS ON FILE
CANDELARIO SANTIAGO, NOEMI            ADDRESS ON FILE
Candelario Santo, Alexander           ADDRESS ON FILE
CANDELARIO SANTOS, ALEXANDER          ADDRESS ON FILE
CANDELARIO SANTOS, CARMEN S.          ADDRESS ON FILE
CANDELARIO SANTOS, JOSE DANIEL        ADDRESS ON FILE
CANDELARIO SANTOS, MILAGROS           ADDRESS ON FILE
CANDELARIO SERRANO, ERNESTO           ADDRESS ON FILE
CANDELARIO SERRANO, LEIDA             ADDRESS ON FILE
Candelario Serrano, Mayra I.          ADDRESS ON FILE
CANDELARIO SERRANO, MICHAEL J.        ADDRESS ON FILE
                                                                                                         Ponce: APARTADO
CANDELARIO SERRANO, NANETTE Y OTROS   LCDA. LYDIA GARCÍA MEDINA   MUNICIPIO DE                           331709                          Ponce     PR      00733‐1709
                                                                                                         4990 CANDIDO HOYOS
CANDELARIO SERRANO, NANETTE Y OTROS   LCDO. LUIS ORTIZ GODOY      PONCE MALL LOCAL 10A1                  ST.                  STE 180    PONCE     PR      00717
CANDELARIO SERRANO, NORMAN            ADDRESS ON FILE
CANDELARIO SIERRA, DINORAH            ADDRESS ON FILE
CANDELARIO SILVA, JOHN                ADDRESS ON FILE
CANDELARIO SOTO, ABDIEL A             ADDRESS ON FILE
CANDELARIO SOTO, ALEXIS O             ADDRESS ON FILE
CANDELARIO SOTO, ANDY                 ADDRESS ON FILE
CANDELARIO SOTO, CARLOS M.            ADDRESS ON FILE
CANDELARIO SOTO, EDGAR                ADDRESS ON FILE
CANDELARIO SOTO, ELIEZER              ADDRESS ON FILE
Candelario Tiru, Danny                ADDRESS ON FILE
CANDELARIO TOLEDO, LUZ E              ADDRESS ON FILE
CANDELARIO TORO, OSCAR                ADDRESS ON FILE
CANDELARIO TORRELLAS, JOSE            ADDRESS ON FILE
CANDELARIO TORRELLAS, JOSE            ADDRESS ON FILE
CANDELARIO TORRES, DAMARIS            ADDRESS ON FILE




                                                                                          Page 1131 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1132 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CANDELARIO TORRES, EDWIN          ADDRESS ON FILE
CANDELARIO TORRES, EFRAIN         ADDRESS ON FILE
CANDELARIO TORRES, JOSE           ADDRESS ON FILE
Candelario Torres, Jose A.        ADDRESS ON FILE
Candelario Torres, Otoniel        ADDRESS ON FILE
CANDELARIO TORRES, PRISCILA       ADDRESS ON FILE
CANDELARIO TRINIDAD, DELIRIS      ADDRESS ON FILE
CANDELARIO VAILLANT, YOLANDA      ADDRESS ON FILE
CANDELARIO VALENTI, JOSE          ADDRESS ON FILE
CANDELARIO VALENTIN, HERIBERTO    ADDRESS ON FILE
CANDELARIO VARGAS, RADAMES        ADDRESS ON FILE
CANDELARIO VARGAS, SANTOS         ADDRESS ON FILE
CANDELARIO VAZQUEZ, CARLOS        ADDRESS ON FILE
CANDELARIO VAZQUEZ, CARLOS        ADDRESS ON FILE
CANDELARIO VAZQUEZ, JUANA         ADDRESS ON FILE
CANDELARIO VAZQUEZ, MARITZA       ADDRESS ON FILE
CANDELARIO VAZQUEZ, OBDULIA       ADDRESS ON FILE
CANDELARIO VAZQUEZ, RAUL          ADDRESS ON FILE
CANDELARIO VAZQUEZ, SAMUEL        ADDRESS ON FILE
CANDELARIO VEGA, VICTOR D.        ADDRESS ON FILE
CANDELARIO VELAZQUEZ PEREZ        ADDRESS ON FILE
CANDELARIO VELAZQUEZ, ARIEL       ADDRESS ON FILE
CANDELARIO VELAZQUEZ, MYRNA L     ADDRESS ON FILE
CANDELARIO VELAZQUEZ, NATALIA     ADDRESS ON FILE
CANDELARIO VELEZ, ALEJANDRO       ADDRESS ON FILE
Candelario Velez, Melvin          ADDRESS ON FILE
CANDELARIO VENTURA, FELIX L.      ADDRESS ON FILE
CANDELARIO VIDRO, ARNALDO         ADDRESS ON FILE
CANDELARIO VIDRO, MIGDALIA        ADDRESS ON FILE
CANDELARIO VIDRO, NORMA           ADDRESS ON FILE
Candelario Vidro, Rene            ADDRESS ON FILE
CANDELARIO VIDRO, ZANDRA          ADDRESS ON FILE
CANDELARIO VIDRO, ZENAIDA         ADDRESS ON FILE
CANDELARIO VIERA, WILLIAM         ADDRESS ON FILE
CANDELARIO VIERA, WILLIAM         ADDRESS ON FILE
CANDELARIO VILLANUEVA, AMPARO     ADDRESS ON FILE
CANDELARIO VILLANUEVA, SAMUEL O   ADDRESS ON FILE
CANDELARIO WILLIAMS, ENID         ADDRESS ON FILE
CANDELARIO WILLIAMS, ENID Y       ADDRESS ON FILE
CANDELARIO, JOSE DAVID            ADDRESS ON FILE
CANDELARIO, MARTA                 ADDRESS ON FILE
CANDELARIO‐PEREZ, EDWIN           ADDRESS ON FILE
CANDELAS BAQUERO, HECTOR          ADDRESS ON FILE
Candelas Garcia, Angel            ADDRESS ON FILE
Candelas Garcia, Angel L          ADDRESS ON FILE
CANDELAS ORTEGA, LEITHA Y         ADDRESS ON FILE
CANDELAS PEREZ, NILDA             ADDRESS ON FILE
CANDELAS PEREZ, VERONICA          ADDRESS ON FILE
CANDELAS RODRIGUEZ MD, HECTOR     ADDRESS ON FILE
CANDELAS RODRIGUEZ, ANGEL M.      ADDRESS ON FILE
CANDELAS RODRIGUEZ, CELY ANN      ADDRESS ON FILE
CANDELAS RODRIGUEZ, NACHELI N     ADDRESS ON FILE
CANDELAS SANABRIA, JULIA P        ADDRESS ON FILE
CANDELAS TAMAYO, EVA L.           ADDRESS ON FILE
CANDELAS TAMAYO, SAMUEL G         ADDRESS ON FILE
CANDELAS TORRES, LUIS             ADDRESS ON FILE
CANDELAS TORRES, LUIS             ADDRESS ON FILE
CANDELAS VALDERRAMA, BLANCA M     ADDRESS ON FILE
CANDELAS VAZQUEZ, JOSE            ADDRESS ON FILE
CANDELAS VAZQUEZ, JOSE R.         ADDRESS ON FILE




                                                                              Page 1132 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1133 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                       Address1                         Address2                                    Address3   Address4   City      State   PostalCode   Country
CANDI H HERNANDEZ                   ADDRESS ON FILE
CANDIA RAMOS, ELIZABETH             ADDRESS ON FILE
CANDIDA A RODRIGUEZ CURBELO         ADDRESS ON FILE
CANDIDA ANTONIA GUTIERREZ PAGAN     ADDRESS ON FILE
CANDIDA BAEZ MELO                   ADDRESS ON FILE
CANDIDA CAJIGAS RODRIGUEZ           ADDRESS ON FILE
CANDIDA CANCHANI SANTIAGO           ADDRESS ON FILE
CANDIDA CANDELARIO GONZALEZ         ADDRESS ON FILE
CANDIDA CANDELARIO GONZALEZ         ADDRESS ON FILE
CANDIDA CARRERO                     ADDRESS ON FILE
CANDIDA CARRERO                     ADDRESS ON FILE
CANDIDA COLON OLIVO                 ADDRESS ON FILE
CANDIDA COLON TORRES                ADDRESS ON FILE
CANDIDA GARCIA GARCIA               ADDRESS ON FILE
CANDIDA GONZALEZ ORTIZ              ADDRESS ON FILE
CANDIDA GONZALEZ ORTIZ              ADDRESS ON FILE
CANDIDA GONZALEZ RIVERA             ADDRESS ON FILE
CANDIDA GONZALEZ TRINIDAD           ADDRESS ON FILE
CANDIDA L BOBONIS ROIG              ADDRESS ON FILE
CANDIDA L LEON MORALES              ADDRESS ON FILE
CANDIDA LIRANZO MENDEZ              ADDRESS ON FILE
CANDIDA MARRERO CRUZ                ADDRESS ON FILE
CANDIDA MARTINEZ RIOS               ADDRESS ON FILE
CANDIDA MORALES COLON               ADDRESS ON FILE
CANDIDA MORALES LABOY               ADDRESS ON FILE
CANDIDA NATAL LAUREANO              ADDRESS ON FILE
CANDIDA ORTIZ Y/O LISSETTE DIAZ     ADDRESS ON FILE
CANDIDA PAGAN MATOS                 ADDRESS ON FILE
CANDIDA PEREZ FLORES                ADDRESS ON FILE
CANDIDA QUINONES IRIZARRY           ADDRESS ON FILE
CANDIDA R NEGRON RAMOS              ADDRESS ON FILE
CANDIDA R ORTIZ COLON               ADDRESS ON FILE
CANDIDA R RENTAS ANCIANI            ADDRESS ON FILE
CANDIDA R RODRIGUEZ COLON           ADDRESS ON FILE
CANDIDA R. ORTIZ ZAYAS              ADDRESS ON FILE
CANDIDA RAMOS HERNANDEZ             ADDRESS ON FILE
CANDIDA RAMOS OTERO                 ADDRESS ON FILE
CANDIDA RIVERA                      ADDRESS ON FILE
CANDIDA RIVERA ANTONGEORGI          ADDRESS ON FILE
CANDIDA RODRIGUEZ / LINDA JIMENEZ   ADDRESS ON FILE
CANDIDA RODRIGUEZ PEGUERO           ADDRESS ON FILE
CANDIDA RODRIGUEZ RODRIGUEZ         ADDRESS ON FILE
CANDIDA ROSA BORRERO                LCDO. JUAN A. REYES COLON‐DDO.   CALLE LOLITA TIZOL NUM. 23                                        Ponce     PR      00730
CANDIDA ROSA BORRERO                LCDO. JUAN A. REYES COLON‐DDO.   PO BOX 9028                                                       PONCE     PR      00732‐9028
CANDIDA ROSA BORRERO                LCDO. JUAN O. RODRÍGUEZ‐DTE      CALLE LOLITA TIZOL NUM. 23                                        Ponce     PR      00730
CANDIDA ROSA VAZQUEZ DIAZ           ADDRESS ON FILE
CANDIDA ROSARIO SERRANO             ADDRESS ON FILE
CANDIDA SANTIAGO NUNEZ              ADDRESS ON FILE
CANDIDA SEMIDEI VELEZ               ADDRESS ON FILE
CANDIDA TAVERAS GONZALEZ            ADDRESS ON FILE
CANDIDA TORO Y/O MARIA M TORO       ADDRESS ON FILE
CANDIDA VALDERRAMA PINTO            ADDRESS ON FILE
CANDIDA VALENTIN SANTIAGO           ADDRESS ON FILE
CANDIDA VAZQUEZ                     ADDRESS ON FILE
CANDIDA VAZQUEZ DIAZ                ADDRESS ON FILE
CANDIDA VELEZ MARCANO               ADDRESS ON FILE
CANDIDA VIRUET                      ADDRESS ON FILE
CANDIDA VIRUET                      ADDRESS ON FILE
CANDIDA, COLON                      ADDRESS ON FILE
CANDIDO A FLORES VALLES             ADDRESS ON FILE




                                                                                                  Page 1133 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1134 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                            Address1                             Address2                       Address3   Address4           City            State   PostalCode   Country
CANDIDO A SALVA RODRIGUEZ                ADDRESS ON FILE
CANDIDO ADORNO DIAZ                      ADDRESS ON FILE
CANDIDO ALVARADO COLON                   ADDRESS ON FILE
CANDIDO BONILLA GARCIA                   ADDRESS ON FILE
CANDIDO CARRASQUILLO DBA EBANISTERIA CAN P. O. BOX 715                                                                                     SAN LORENZO     PR      00756‐0000
CANDIDO CARRASQUILLO PEDRAZA             ADDRESS ON FILE
CANDIDO COIMBRE DE JESUS                 ADDRESS ON FILE
CANDIDO COLLAZO RIVERA                   ADDRESS ON FILE
CANDIDO CORDERO CORCHADO                 ADDRESS ON FILE
CANDIDO DIAZ DIAZ                        ADDRESS ON FILE
CANDIDO FLECHA SANTANA                   ADDRESS ON FILE
CANDIDO GONZALEZ GARCIA                  ADDRESS ON FILE
CANDIDO HERNANDEZ MARQUEZ                ADDRESS ON FILE
CANDIDO J POU RIVAS                      ADDRESS ON FILE
CANDIDO L SANTINI COLLAZO                ADDRESS ON FILE
CANDIDO L SANTINI LARACUENTE             ADDRESS ON FILE
CANDIDO LOPEZ                            ADDRESS ON FILE
CANDIDO MALAVE GARCIA                    ADDRESS ON FILE
CANDIDO MALAVE LEBRON                    ADDRESS ON FILE
CANDIDO MALDONADO                        ADDRESS ON FILE
CANDIDO MALDONADO Y NORMA PEREZ          ADDRESS ON FILE
                                                                                                                        PMB 202 201 AVE.
CANDIDO MANUEL RINCON                    LCDO. JORGE L. ARMENTEROS CHERVONI   COND. GALERÍA                  STE. 2     ARTERIAL HOSTOS    SAN JUAN        PR      00917
CANDIDO MARTINEZ                         ADDRESS ON FILE
CANDIDO MARTINEZ                         ADDRESS ON FILE
CANDIDO MARTINEZ                         ADDRESS ON FILE
CANDIDO MERCADO BONETA                   ADDRESS ON FILE
CANDIDO MORALES CINTRON                  ADDRESS ON FILE
CANDIDO ORTIZ RIVERA                     ADDRESS ON FILE
CANDIDO ORTIZ RODRIGUEZ                  ADDRESS ON FILE
CANDIDO PADILLA NIEVES                   ADDRESS ON FILE
CANDIDO PANTOJA VEGA                     ADDRESS ON FILE
CANDIDO PENA                             ADDRESS ON FILE
CANDIDO QUINTANA ACEVEDO                 ADDRESS ON FILE
CANDIDO R MARTINEZ MANGUAL               ADDRESS ON FILE
CANDIDO R RODRIGUEZ CORREA               ADDRESS ON FILE
CANDIDO RODRIGUEZ DIFFUT                 ADDRESS ON FILE
CANDIDO RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
CANDIDO SERRANO CASTRO                   ADDRESS ON FILE
CANDIDO TORRES FIGUEROA                  ADDRESS ON FILE
CANDIDO TORRES GONZALEZ                  ADDRESS ON FILE
CANDIDO TORRES GONZALEZ                  ADDRESS ON FILE
CANDIDO TORRES ORTIZ                     ADDRESS ON FILE
CANDIDO VARGAS                           ADDRESS ON FILE
CANDITA VAZQUEZ PAEZ                     ADDRESS ON FILE
CANDO ROVIRA, CARLOS                     ADDRESS ON FILE
CANDO ROVIRA, KAREM                      ADDRESS ON FILE
CANEDO LABOY, CANDIDA                    ADDRESS ON FILE
CANEDO QUINONES, RAMON                   ADDRESS ON FILE
CANEDO VELEZ, RAMON                      ADDRESS ON FILE
Canel Aviles, Orlando                    ADDRESS ON FILE
CANEL MARIN, ANNETTE                     ADDRESS ON FILE
CANELA ABREU, SEVERO R                   ADDRESS ON FILE
CANELA CASTILLO, KAREN V                 ADDRESS ON FILE
CANELLAS CORREA, ILEANN                  ADDRESS ON FILE
CANELLAS GARCIA, DIONISIO                ADDRESS ON FILE
CANEPAS MD, LUIS                         ADDRESS ON FILE
CANER RUIZ, RAUL O.                      ADDRESS ON FILE
CANERIS MD , ONASSIS A                   ADDRESS ON FILE
CANET CARDONA, GWENDOLYNN                ADDRESS ON FILE




                                                                                              Page 1134 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1135 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                            Address1                      Address2                                   Address3   Address4   City            State   PostalCode   Country
CANET HERNANDEZ, LUIS                    ADDRESS ON FILE
CANET RIVERA, ISMAEL                     ADDRESS ON FILE
CANET SANTOS, NIXIDA                     ADDRESS ON FILE
CANETTI CAPELES, LUIS                    ADDRESS ON FILE
CANETTI MIRABAL, ANGEL A                 ADDRESS ON FILE
CANETTI MIRABAL, SONYA                   ADDRESS ON FILE
CANETTI RODRIGUEZ, MAGDA                 ADDRESS ON FILE
CANETTI TORRES, SUZETTE M.               ADDRESS ON FILE
CANETTY ACEVEDO, CARMEN L                ADDRESS ON FILE
CANETTY RIVERA, LUIS A                   ADDRESS ON FILE
CANEVARO LUGO, NATALIA                   ADDRESS ON FILE
CANGANI CRISTOFORI, CAMILLO              ADDRESS ON FILE
CANGGIANO ROMAN, CARLOS                  ADDRESS ON FILE
CANGIANO LESPIER MD, JOSE A              ADDRESS ON FILE
CANGIANO RIVERA, JOSE E.                 ADDRESS ON FILE
CANI CENTRO DE AYUDA A NIÑOS CON IMPEDIM 133 CALLE DR GONZALEZ                                                                          ISABELA         PR      00662
CANICA LLC                               COND MONTE NORTE              165 AVE DE HOSTOS APT 740                                        SAN JUAN        PR      00918
CANINI ORTIZ, NINOSCHKA                  ADDRESS ON FILE
CANINI SANTIAGO, MILTON                  ADDRESS ON FILE
CANINI TORRES, ANGELICA                  ADDRESS ON FILE
CANINO BAEZ, IRIS                        ADDRESS ON FILE
CANINO BANKS, DAVID                      ADDRESS ON FILE
CANINO CUMINGS MD, ANGEL                 ADDRESS ON FILE
CANINO DISCOUNT                          CALLE JERIZA 651 URB CARIBE                                                                    RIO PIEDRAS     PR      00927
Canino Garcia, Gamalier                  ADDRESS ON FILE
CANINO JORDAN, GLORISA                   ADDRESS ON FILE
CANINO LOMBA, CARLOS                     ADDRESS ON FILE
CANINO LOPEZ, WANDA                      ADDRESS ON FILE
CANINO MARTINEZ, MYRTA DEL C.            ADDRESS ON FILE
CANINO NUNEZ, AIXA                       ADDRESS ON FILE
CANINO ORTIZ, MARIECARMEN                ADDRESS ON FILE
Canino Perez, Eduardo                    ADDRESS ON FILE
CANINO PEREZ, LISA E                     ADDRESS ON FILE
CANINO RIVERA MD, MILITZA                ADDRESS ON FILE
CANINO RIVERA, ALFREDO                   ADDRESS ON FILE
CANINO RIVERA, IVAN                      ADDRESS ON FILE
CANINO RIVERA, TERESA                    ADDRESS ON FILE
CANINO RODRIGUEZ, LUIS                   ADDRESS ON FILE
CANINO ROLON, MARLA                      ADDRESS ON FILE
CANINO ROLON, MARLA I                    ADDRESS ON FILE
CANINO SANCHEZ, SONIA                    ADDRESS ON FILE
CANINO SANTIAGO, SARA I.                 ADDRESS ON FILE
CANINO SANTOS, ENID M                    ADDRESS ON FILE
CANINO SANTOS, JEANETTE E                ADDRESS ON FILE
CANINO SANTOS, JULIO                     ADDRESS ON FILE
CANINO SANTOS, MELIANA E                 ADDRESS ON FILE
CANINO, PABLO ALBERTO                    ADDRESS ON FILE
CANINO, STEPHANIE                        ADDRESS ON FILE
CANIZAL SANTIAGO, JOAQUIN                ADDRESS ON FILE
CAÑIZARES BAQUERO MD, ORLANDO            ADDRESS ON FILE
CANIZARES CINTRON, ADA N.                ADDRESS ON FILE
CANIZARES GONZALEZ, MARIBEL              ADDRESS ON FILE
CANIZARES GONZALEZ, MARICELLE            ADDRESS ON FILE
CANIZARES NIEVES, JUAN                   ADDRESS ON FILE
CANIZARES NIEVES, JUAN J                 ADDRESS ON FILE
CANIZARES ROBLES, JULIO E.               ADDRESS ON FILE
CANIZARES SANTIAGO, PEDRO                ADDRESS ON FILE
CANMAR PRODUCT                           PO BOX 3975                                                                                    GUAYNABO        PR      00970‐3975
CANNIZARO DE JESUS MD, JOSEPH            ADDRESS ON FILE
CANO CANO AUTO AIR CORP                  PO BOX 5254                                                                                    CAROLINA        PR      00984




                                                                                                   Page 1135 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1136 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                          Address1                                Address2                               Address3         Address4       City              State   PostalCode   Country
CANO & CANO AUTO AIR                   PO BOX 5254                                                                                                    CAROLINA          PR      00984
CANO & CANO AUTO AIR CORP              UBR COUNTRY CLUB                        OE‐14 AVE ITURREGUI                                                    CAROLINA          PR      00984
CANO ACEVEDO, GABRIEL                  ADDRESS ON FILE
CANO ACOSTA, WALDEMAR                  ADDRESS ON FILE
CANO AGOSTO, VERONICA E                ADDRESS ON FILE
CANO ALIGMENT & MUFFLERS               HC 01 BOX 21288                                                                                                CAGUAS            PR      00725
CANO AUTO AIR                          1014 AVE JESUS T PINERO PUERTO NUEVO                                                                           SAN JUAN          PR      00921
CANO AUTO GLASS                        ADM DE CORRECCION                       COMPLEJO CORRECCIONAL                  DE RIO PIEDRAS   PO BOX 29086   SAN JUAN          PR      00928‐0086
CANO AUTO GLASS                        GUAYAMA, NUM 210 ESQ. BARBOSA BOX 191742                                                                       SAN JUAN          PR      00919‐1742
CANO AUTO GLASS                        PO BOX 191742                                                                                                  SAN JUAN          PR      00919‐1742
Cano Betancourt, Ruben D               ADDRESS ON FILE
CANO CALDERON, JOSE MANUEL             ADDRESS ON FILE
CANO CANO, LYDZA M                     ADDRESS ON FILE
CANO CASTILLO, LIANA M                 ADDRESS ON FILE
CANO CASTILLO, RAMON                   ADDRESS ON FILE
CANO DAVILA, JOSE                      ADDRESS ON FILE
CANO DIAZ, CARLOS A                    ADDRESS ON FILE
Cano Diaz, Jose                        ADDRESS ON FILE
Cano Diaz, Maximo                      ADDRESS ON FILE
CANO FERIS, SADIA TERESA               ADDRESS ON FILE
CANO GARCIA, MANUEL                    ADDRESS ON FILE
CANO GARCIA, VILMA                     ADDRESS ON FILE
CANO GUERRERO, TAUNY S.                ADDRESS ON FILE
CANO MARTINEZ, EDWIN                   ADDRESS ON FILE
CANO PEREZ, RAMON                      ADDRESS ON FILE
CANO PRECISION TOOL                    PO BOX 1309                                                                                                    JUNCOS            PR      00777
CANO RODRIGUEZ, DIOSDADO               ADDRESS ON FILE
CANO RODRIGUEZ, RENATO                 ADDRESS ON FILE
Cano Rodriguez, Renato                 ADDRESS ON FILE
CANO RODRIGUEZ, ROBERTO                ADDRESS ON FILE
CANO RODRIGUEZ, ROSA M.                ADDRESS ON FILE
CANO SANCHEZ, MILAGROS                 ADDRESS ON FILE
CANO SANCHEZ, REY                      ADDRESS ON FILE
CANO SANCHEZ, SYLVETTE                 ADDRESS ON FILE
CANO SANTIAGO, JAIME                   ADDRESS ON FILE
CANO SIERRA, MYRTA                     ADDRESS ON FILE
CANO TALENO, MARTHA                    ADDRESS ON FILE
CANO VERDE READY MIX CORP              609 AVE TITO CASTRO                     PMB 384 SUITE 102                                                      PONCE             PR      00716‐2232
CANO VIANA, CARMEN                     ADDRESS ON FILE
CANO VICENTE, JOEL                     ADDRESS ON FILE
CANO VILLALOBOS, HILDA                 ADDRESS ON FILE
CANO‐CANO, LYDZA                       ADDRESS ON FILE
CANON GARCIA, JOSE D.                  ADDRESS ON FILE
CANON USA INC                          ONE CANON PLAZA                                                                                                LAKE SUCCESS      NY      11042
CANON, JOSE D                          ADDRESS ON FILE
CANON, JOSE D.                         ADDRESS ON FILE
CANO'S AUTO AIR SERVICES               1041 AVE. JESUS T. PINEIRO                                                                                     SAN JUAN          PR      00921
CANO'S DELIVERY INC                    PO BOX 9682                                                                                                    CIDRA             PR      00739‐8682
CANOS TRUCK LUBE & PARTS               HC 2 BOX 23914                                                                                                 SAN SEBASTIAN     PR      00685
CANOVA DIAZ, CARLOS                    ADDRESS ON FILE
CANOVANAS MEDICAL GROUP CORP           PO BOX 2067                                                                                                    CANOVANAS         PR      00729
CANOVANAS NUEVAS GENERACION BASKETBALL JARD DEL SALMAJO                        V/21 C/ 20                                                             CANOVANAS         PR      00729
CANROD CORPORATION                     PO BOX 4300                                                                                                    MAYAGUEZ          PR      00681‐4300
CANS LOUBRIEL, HECTOR                  ADDRESS ON FILE
CANS MIRANDA, TAHANIE                  ADDRESS ON FILE
CANS RODRIGUEZ, KENNETH                ADDRESS ON FILE
CANSOBRE RIVERA, FLAVIA I              ADDRESS ON FILE
CANSOBRE RIVERA, JUAN                  ADDRESS ON FILE
CANSOBRE RIVERA, MARIA DE L            ADDRESS ON FILE
CANSOBRE RIVERA, MARIA V               ADDRESS ON FILE




                                                                                                       Page 1136 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1137 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CANTELI GIANGRANDE, TERESA      ADDRESS ON FILE
CANTELLOPS FIGUEROA, JOAN       ADDRESS ON FILE
CANTELLOPS SALGADO, MARGARITA   ADDRESS ON FILE
CANTELLOPS URBINA, JULISSA      ADDRESS ON FILE
CANTELLOPS URBINA, STEPHEN      ADDRESS ON FILE
CANTELLOPS, JAIME               ADDRESS ON FILE
CANTER, FRED                    ADDRESS ON FILE
CANTERA CARMELO                 ADDRESS ON FILE
CANTERA CARMELO INC             PO BOX 1052                                                                      TOA BAJA      PR      00952‐1052
CANTERA MEDINA INC              PO BOX 3038                                                                      AGUADILLA     PR      00605
CANTERA MEDINA INC.             P O BOX 2409                                                                     TOA BAJA      PR      00951
CANTERA PEREZ INC               PO BOX 789                                                                       HUMACAO       PR      00792
CANTERO FRAU, RAMON             ADDRESS ON FILE
CANTERO IRIZARRY, ZENAIDA M     ADDRESS ON FILE
CANTERO JIMENEZ, VILMA          ADDRESS ON FILE
CANTERO MARTINEZ, JUAN B.       ADDRESS ON FILE
Cantero Olmo, Edwin             ADDRESS ON FILE
CANTERO OLMO, NORMA             ADDRESS ON FILE
Cantero Olmo, Sonia C           ADDRESS ON FILE
CANTERO ROSA, DAVID BRYAN       ADDRESS ON FILE
CANTILLO GOVANTES, JUAN C       ADDRESS ON FILE
CANTING RODRIGUEZ, PAUL         ADDRESS ON FILE
CANTING VAZQUEZ, ROGER          ADDRESS ON FILE
CANTISANI RAMIREZ, LILLIAN      ADDRESS ON FILE
CANTIZANIZ BALBES, ALFREDO      ADDRESS ON FILE
CANTO                           67 PICTON STREET                                                                 NEWTOWN               00000
CANTO REPETTI MD, EDUARDO       ADDRESS ON FILE
CANTO RUIZ, DELZA               ADDRESS ON FILE
CANTON PEREZ, OLGA              ADDRESS ON FILE
CANTON TERCERO, LUCAS           ADDRESS ON FILE
CANTORE SALDI, EDUARDO          ADDRESS ON FILE
CANTOS ARAUJO, LUISA            ADDRESS ON FILE
CANTRE DIAZ, JUSTO              ADDRESS ON FILE
CANTRE LOPEZ, STEPHANIE         ADDRESS ON FILE
CANTRE SALGADO, JUAN            ADDRESS ON FILE
CANTRE VAZQUEZ, JOHANNYS I      ADDRESS ON FILE
CANTRE VELEZ, NORMA I.          ADDRESS ON FILE
CANTRES ADORNO, GIOVANNIE       ADDRESS ON FILE
CANTRES ADORNO, RICHARD         ADDRESS ON FILE
Cantres Anglero, Giovanni       ADDRESS ON FILE
CANTRES ANGLERO, GIOVANNI       ADDRESS ON FILE
CANTRES ANGLERO, JOHAN          ADDRESS ON FILE
Cantres Anglero, Johan M.       ADDRESS ON FILE
CANTRES BAEZ, JESUS             ADDRESS ON FILE
CANTRES BAEZ, SILMARIE          ADDRESS ON FILE
Cantres Carmona, Emanuel        ADDRESS ON FILE
CANTRES CARMONA, EMANUEL        ADDRESS ON FILE
CANTRES CASIANO, DINELMA S      ADDRESS ON FILE
CANTRES CASTRO, ARTURO          ADDRESS ON FILE
CANTRES CASTRO, EVANGELINA      ADDRESS ON FILE
CANTRES CASTRO, JUANITA         ADDRESS ON FILE
CANTRES CASTRO, JUANITA         ADDRESS ON FILE
Cantres Catala, Israel          ADDRESS ON FILE
CANTRES CORREA, BENITO          ADDRESS ON FILE
CANTRES CORREA, EDUARDO         ADDRESS ON FILE
CANTRES CORREA, EVELYN          ADDRESS ON FILE
CANTRES CORREA, NICOLAS A.      ADDRESS ON FILE
CANTRES CORTES, JORGE           ADDRESS ON FILE
CANTRES CRISPIN, CARMEN M       ADDRESS ON FILE
Cantres Marquez, Emilio         ADDRESS ON FILE




                                                                            Page 1137 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1138 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                     Address2                                Address3   Address4   City            State   PostalCode   Country
Cantres Matias, Vanessa Y               ADDRESS ON FILE
CANTRES MORALES, ROCIO A                ADDRESS ON FILE
Cantres Morales, Rocio Anabel           ADDRESS ON FILE
Cantres Negron, Sara L                  ADDRESS ON FILE
CANTRES NIEVES, MARISOL                 ADDRESS ON FILE
CANTRES NIEVES, WILLIAM                 ADDRESS ON FILE
Cantres Nieves, William                 ADDRESS ON FILE
CANTRES OQUENDO, PEDRO                  ADDRESS ON FILE
CANTRES ORTIZ, MARIA                    ADDRESS ON FILE
CANTRES PADILLA, KATIA                  ADDRESS ON FILE
CANTRES PANTOJA, DIANA                  ADDRESS ON FILE
CANTRES RIVERA, ALEJO                   ADDRESS ON FILE
CANTRES RODRIGUEZ, ANGEL                ADDRESS ON FILE
CANTRES ROSARIO, HECTOR M               ADDRESS ON FILE
CANTRES ROSARIO, JENNIFER               ADDRESS ON FILE
CANTRES SANTIAGO, LUIS R                ADDRESS ON FILE
CANTRES SILVA, WALDEMAR                 ADDRESS ON FILE
CANTRES TORRES, MARIA                   ADDRESS ON FILE
CANTRES VAZQUEZ, ANDRES                 ADDRESS ON FILE
CANTRES VELEZ, ANGEL M.                 ADDRESS ON FILE
CANTRES VELEZ, MARTA L                  ADDRESS ON FILE
CANTRES, MARICEL                        ADDRESS ON FILE
CANTU COLON, CARMEN                     ADDRESS ON FILE
CANTU GONZALEZ, MARIA D                 ADDRESS ON FILE
CANTU GUERRA, ROEL E.                   ADDRESS ON FILE
CANTUTORRES, GRABIEL                    ADDRESS ON FILE
CANTY, KENIKA                           ADDRESS ON FILE
CANUELAS HERNANDEZ, ADAN                ADDRESS ON FILE
CANUELAS HERNANDEZ, AMERICO             ADDRESS ON FILE
CANUELAS MARTINEZ, RICARDO              ADDRESS ON FILE
CANUELAS NECO, YEYCA                    ADDRESS ON FILE
CANUELAS PEREIRA, CARLOS                ADDRESS ON FILE
CANUELAS RODRIGUEZ, LUIS R              ADDRESS ON FILE
CANUELAS ROMAN, CARMEN                  ADDRESS ON FILE
CANUELAS TORRES, JANNETTE               ADDRESS ON FILE
CANUELAS TORRES, LAURA                  ADDRESS ON FILE
CANUELAS VEGA, GERARDO                  ADDRESS ON FILE
CANUELAS ZAMBRANA, ZULMA                ADDRESS ON FILE
CAO ALVIRA, CARLOS                      ADDRESS ON FILE
CAO FOOD SERVICE INC                    CARR 176 KM 5.9 CUPEY ALTO                                                                 SAN JUAN        PR      00926
CAOLO ALVAREZ, HOMAR                    ADDRESS ON FILE
CAOLO DELGADO, CESAR                    ADDRESS ON FILE
CAORCHADO REYES, CARMEN R               ADDRESS ON FILE
CAP ALFA BORINQUEN DE LA FRATERNIDAD    PO BOX 195279                                                                              SAN JUAN        PR      00919
CAP TEC INC                             PO BOX 193130                                                                              SAN JUAN        PR      00919
CAP UNIVERSITARIO DE LA CAMARA DE Y/O   PEDRO FERNANDEZ JEREZ        P O BOX 23332                                                 SAN JUAN        PR      00931‐3332
CAP UNIVERSITARIO DE LA CAMARA DE Y/O   URB PEREZ MORRIS             21 CALLE PONCE                                                SAN JUAN        PR      00917
CAPACETE BELEN, JOSE A                  ADDRESS ON FILE
CAPACETE CASIANO, MARIA                 ADDRESS ON FILE
CAPACETTI CARABALLO, JULIO              ADDRESS ON FILE
CAPACETTI GONZALEZ, DANNY               ADDRESS ON FILE
CAPACETTI MARTINEZ, SINIA J             ADDRESS ON FILE
CAPACETTI NEGRON, KATHLEEN              ADDRESS ON FILE
CAPACITADORES EDUCATIVOS PROVEEDORES II PO BOX 361010                                                                              SAN JUAN        PR      00936‐1010
CAPACITADORES EDUCATIVOS PROVEEDORES, INPO BOX 2320                                                                                BAYAMON         PR      00960‐2320
CAPACITADORES EDUCATIVOS Y MOTIVACIONES RR 3 BOX 3724                                                                              SAN JUAN        PR      00926
CAPACITADORES EDUCATIVOS YMOTIVACIONALERR 3 BOX 3724                                                                               RIO PIEDRAS     PR      00926
CAPACITADORES EDUCATIVOS YMOTIVACIONALEURB. SANTA ROSA               CALLE 25 BLOQUE 51 #12                                        BAYAMON         PR      00959
CAPALBIOART LA PARGUERA                 80 AVE SANTOS ORTIZ                                                                        CABO ROJO       PR      00623
CAPARRA CARBURATORS INC                 18 EXT MARIO BRACHI                                                                        JUANA DIAZ      PR      00795




                                                                                              Page 1138 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1139 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                          Address2                             Address3    Address4   City               State   PostalCode   Country
CAPARRA CARBURATORS INC.                EXTENCION MARIO BRACHI #18                                                                    JUANA DIAZ         PR      00795
CAPARRA CATERING & FINANCO              PO BOX 13026                                                                                  SAN JUAN           PR      00908‐3026
CAPARRA CENTER ASSOCIATE, S.E.          PO BOX 9508                                                                                   SAN JUAN           PR      00908‐9506
CAPARRA CENTER ASSOCIATES LLC           PO BOX 9506                                                                                   SAN JUAN           PR      00908
CAPARRA CENTER ASSOCIATES LLC
CAPARRA CENTER ASSOCIATES, S.E.         PO BOX 9508                                                                                   SAN JUAN           PR      00908‐9506
CAPARRA COUNTRY CLUB                    PO BOX 11994                                                                                  SAN JUAN           PR      00922‐1994
CAPARRA HILLS ASSOCIATES INC.           PO BOX 9506                                                                                   SAN JUAN           PR      00908‐0506
CAPARRA MOTOR SERVICE DBA TARGET RENT   A CAR                             PO BOX 11361                                                SAN JUAN           PR      00922
CAPARRA MOTOR SERVICES INC              AVE ROOSEVELT 1503 ESQ ESCORIAL   CAPARRA HEIGHTS                                             SAN JUAN           PR      00922
CAPARRA OCCUPACIONAL MEDICAL SERVICE    CARR #2 171 ALTOS                 SECTOR JUAN DOMINGO                                         GUAYNABO           PR      00966
CAPARROS CASTRO, STEFAN                 ADDRESS ON FILE
CAPARROS GARCIA, WILFREDO J             ADDRESS ON FILE
CAPARROS GONZALEZ, RAQUEL E             ADDRESS ON FILE
CAPBLANCA SANCHEZ,ARELIS                ADDRESS ON FILE
CAPCON CORP                             1338 AVE FELIX ALDARONDO                                                                      ISABELA            PR      00662
CAPDEVILA DIAZ, ALEJANDRO               ADDRESS ON FILE
CAPDEVILA LOPEZ, VIOLETA                ADDRESS ON FILE
CAPDEVILA LÓPEZ, VIOLETA                ADDRESS ON FILE
CAPDEVILA RODRIGUEZ, FRANCIS            ADDRESS ON FILE
CAPE CANAVERAL HOSPITAL                 PO BOX 19072                                                                                  GREEN BAY          WI      54307‐9072
                                                                                                                                      CAPE MAY COURT
CAPE REGIONAL MEDICAL CENTER INC        CAPE REGIONAL MEDICAL CENTER      2 STONE HARBOR BLVD                                         HOUSE              NJ      08210
CAPE SOFT                               WATER HOUSE                       WATERFORD ROAD                       4TH FLOOR              PUNTS ESTATE                            SOUTH AFRICA
CAPELES BERRIOS, JESSENIA               ADDRESS ON FILE
CAPELES CARRASQUILLO, JOSE              ADDRESS ON FILE
CAPELES DIAZ, CARMEN D                  ADDRESS ON FILE
CAPELES GOMEZ, ERICK                    ADDRESS ON FILE
CAPELES GOMEZ, LESLIE                   ADDRESS ON FILE
CAPELES GONZALEZ, CARLOS R              ADDRESS ON FILE
CAPELES GONZALEZ, RAMON                 ADDRESS ON FILE
CAPELES GONZALEZ, ROSENDO E.            ADDRESS ON FILE
CAPELES HERNANDEZ, FERNANDO             ADDRESS ON FILE
CAPELES HERNANDEZ, JOSE                 ADDRESS ON FILE
CAPELES NAVARO, ANGEL                   ADDRESS ON FILE
CAPELES NAVARRO, EDGARDO                ADDRESS ON FILE
CAPELES PEDRAZA, MARIA                  ADDRESS ON FILE
CAPELES PEREZ, PAOLO                    ADDRESS ON FILE
Capeles Quinones, Juan A                ADDRESS ON FILE
CAPELES RAMOS, CARMEN I                 ADDRESS ON FILE
CAPELES RODRIGUEZ, ANGEL                ADDRESS ON FILE
CAPELES RODRIGUEZ, MARCOS               ADDRESS ON FILE
CAPELES RODRIGUEZ, SANTA HILDA          ADDRESS ON FILE
CAPELES ROMAN, ADELAIDA                 ADDRESS ON FILE
CAPELES SANTIAGO, MIGUEL A.             ADDRESS ON FILE
CAPELES SERRANO, LUIS                   ADDRESS ON FILE
CAPELLA ANGUEIRA, CARMEN                ADDRESS ON FILE
CAPELLA CADIZ, LYDIA                    ADDRESS ON FILE
CAPELLA CAPELLA, MARIA V                ADDRESS ON FILE
CAPELLA COLLAZO, ALEJANDRO A.           ADDRESS ON FILE
CAPELLA CORTES, MIGUEL A                ADDRESS ON FILE
CAPELLA CORTES, WILFREDO                ADDRESS ON FILE
CAPELLA GONZALEZ, HERIBERTO             ADDRESS ON FILE
CAPELLA LOPEZ, ANA M                    ADDRESS ON FILE
CAPELLA LOPEZ, ESTHER                   ADDRESS ON FILE
CAPELLA MEDINA, CARMEN                  ADDRESS ON FILE
CAPELLA MEDINA, MARIELA                 ADDRESS ON FILE
CAPELLA MEDINA, MARIELA                 ADDRESS ON FILE
CAPELLA NOYA, GLADYS                    ADDRESS ON FILE
CAPELLA ORTIZ, JOSE                     ADDRESS ON FILE




                                                                                                Page 1139 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1140 of 3500
                                                                                17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                    Address1                          Address2                       Address3   Address4   City         State   PostalCode   Country
CAPELLA QUINONES, CARLOS         ADDRESS ON FILE
CAPELLA RAMIREZ, JACKELINE       ADDRESS ON FILE
CAPELLA RIOS, IVELISSE           ADDRESS ON FILE
CAPELLA RUIZ MD, AMAURY          ADDRESS ON FILE
CAPELLA SERPA, JOSE              ADDRESS ON FILE
CAPELLA SERPA, MARIA DE LOS A    ADDRESS ON FILE
CAPELLA SERPA, SONIA M.          ADDRESS ON FILE
CAPELLA VALENTIN, MAGALY         ADDRESS ON FILE
CAPELLA VALENTIN, MAGALY         ADDRESS ON FILE
CAPELLA YULFO, JOSEPH            ADDRESS ON FILE
CAPELLAN ACOSTA, GERDRY          ADDRESS ON FILE
CAPELLAN APONTE, NATHALIE        ADDRESS ON FILE
CAPELLAN BATISTA MD, ALEXANDRA   ADDRESS ON FILE
CAPELLAN CABRERA, GREY E         ADDRESS ON FILE
CAPELLAN CRUZ, SHEILA            ADDRESS ON FILE
CAPELLAN GABRIEL, DIORIS         ADDRESS ON FILE
CAPELLAN GILLERMO, DULCE         ADDRESS ON FILE
CAPELLAN HEYER, BERNARDO         ADDRESS ON FILE
CAPELLAN HEYER, BERNARDO         ADDRESS ON FILE
CAPELLAN HEYER, IVELISSE         ADDRESS ON FILE
CAPELLAN PERALTA, ROSA E.        ADDRESS ON FILE
CAPELLAN ROSA                    FRANCISCO J. VIZCARRONDO‐TORRES   PO BOX 195642                                        SAN JUAN     PR      00919‐5642
CAPELLI SANTOS, GIANCARLO        ADDRESS ON FILE
CAPESTANY CASTRO, MARIA I        ADDRESS ON FILE
CAPESTANY DIAZ, ROBERTO          ADDRESS ON FILE
CAPESTANY FIGUEROA, BARBARA      ADDRESS ON FILE
CAPESTANY FIGUEROA, JAVIER       ADDRESS ON FILE
CAPESTANY FIGUEROA, JOSE         ADDRESS ON FILE
CAPESTANY MARTINEZ, LUIS         ADDRESS ON FILE
CAPESTANY MATOS, DAVID           ADDRESS ON FILE
CAPESTANY MATOS, JULIO           ADDRESS ON FILE
CAPESTANY MATOS, JULIO C.        ADDRESS ON FILE
CAPESTANY MATOS, RODOLFO         ADDRESS ON FILE
CAPESTANY PLATTI, MARIA          ADDRESS ON FILE
CAPESTANY QUINONES, ROBERTO      ADDRESS ON FILE
CAPESTANY SANTIAGO, AXEL         ADDRESS ON FILE
CAPESTANY SANTIAGO, AXEL         ADDRESS ON FILE
CAPESTANY SILVA, GLORIA          ADDRESS ON FILE
CAPESTANY VAZQUEZ, MABEL         ADDRESS ON FILE
CAPESTANY VAZQUEZ, MARGARITA     ADDRESS ON FILE
CAPESTANY, MARISSA               ADDRESS ON FILE
Capetillo Arocho, Luis A         ADDRESS ON FILE
CAPETILLO BERMUDEZ, ELENA        ADDRESS ON FILE
CAPETILLO BERMUDEZ, JUDITH       ADDRESS ON FILE
CAPETILLO BERMUDEZ, JULIA        ADDRESS ON FILE
CAPETILLO BERMUDEZ, NERY L       ADDRESS ON FILE
CAPETILLO BERMUDEZ, NIVIA        ADDRESS ON FILE
CAPETILLO CRUZ, ALFONSO          ADDRESS ON FILE
CAPETILLO CRUZ, RODOLFO          ADDRESS ON FILE
CAPETILLO GONZALEZ, AIDA L       ADDRESS ON FILE
CAPETILLO GONZALEZ, INES M.      ADDRESS ON FILE
CAPETILLO GONZALEZ, JOSE R.      ADDRESS ON FILE
CAPETILLO GONZALEZ, MIRIAM E     ADDRESS ON FILE
CAPETILLO GONZALEZ, ZAIDA        ADDRESS ON FILE
CAPETILLO NEGRON, IVAN A         ADDRESS ON FILE
CAPETILLO ROSADO, RAFAEL         ADDRESS ON FILE
CAPETTA SURO, CHRISTINE          ADDRESS ON FILE
CAPICUA MULTIMEDIOS CORP         1394 CALLE GEORGETTI              APT 202                                              SAN JUAN     PR      00909
CAPIELLO CHAMORRO, JESUS         ADDRESS ON FILE
CAPIELLO LEFRANC, CARYLEEN       ADDRESS ON FILE




                                                                                   Page 1140 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1141 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                               Address2                                     Address3   Address4   City             State   PostalCode   Country
CAPIELLO MARTINEZ, JESUS M.              ADDRESS ON FILE
CAPIELO COLON, BIBIA                     ADDRESS ON FILE
CAPIELO COLON, EVELYN                    ADDRESS ON FILE
CAPIELO COLON, JOSEFINA                  ADDRESS ON FILE
CAPIELO DIAZ, GUILLERMO                  ADDRESS ON FILE
CAPIELO MELENDEZ, ABRAHAM                ADDRESS ON FILE
CAPIELO MELENDEZ, ABRAHAM                ADDRESS ON FILE
CAPIELO MELENDEZ, MIGUEL A.              ADDRESS ON FILE
CAPIELO NIEVES, MICHAEL JOSHUA           ADDRESS ON FILE
CAPIELO ORTIZ, JORGE D                   ADDRESS ON FILE
CAPIELO RIOS, IRMARIE                    ADDRESS ON FILE
CAPIELO RIOS, JORGE                      ADDRESS ON FILE
CAPIELO RODRIGUEZ, CARMEN                ADDRESS ON FILE
CAPIELO SIERRA, SUGEILY                  ADDRESS ON FILE
CAPILLA NTRA SENORA DEL ROSARIO          P O BOX 866                                                                                               SALINAS          PR      00751
CAPILLA Y FUNERARIA RIVERA               BOX 236                                                                                                   CIDRA            PR      00739
CAPILLAS BAEZ MEMORIAL INC               145 CALLE MUNOZ RIVERA                                                                                    GUAYANILLA       PR      00656
CAPILLAS YABUCOA STEIDEL MEMORIAL        CALLE CATALINA MORALES #2                                                                                 YABUCOA          PR      00767
CAPIRO INC                               424 CALLE RUISENOR                                                                                        ISABELA          PR      00662
CAPITAL CARRIBEAN PARKING                5900 ISLA VERDE AVE.                   P.B.M. 428                                                         CAROLINA         PR      00979‐4901
CAPITAL CITY ORTHOPEDICS                 12201 RENFERT WAY STE 370                                                                                 AUSTIN           TX      78758
CAPITAL FEDELITY CORP DBA CARLOS ROSSO   PO BOX 4174                                                                                               BAYAMON          PR      00958
CAPITAL HOLDING CORP                     1503 CALLE ASIA                        STE 5 F1                                                           SAN JUAN         PR      00909
CAPITAL HOUSING DIVISION                 CALLE HIRAM GONZALEZ ESQ.AVE COMERIO                                                                      BAYAMON          PR      00961‐0000
CAPITAL ONE COMMERCIAL                   CAROL STREM                                                                                               IL               IL      60197‐5219
CAPITAL PARALEGAL GROUP INC              33 CALLE RESOLUCION                    STE 302                                                            SAN JUAN         PR      00920
CAPITAL PARALEGAL GROUP INC              50 CALLE BOLIVIA                                                                                          SAN JUAN         PR      00917‐2120
CAPITAL PROJECTS CORP.                   RODRIGUEZ ESCUDERO, EMIL               513 JUAN J. JÍMENEZ ST.                                            SAN JUAN         PR      00918
CAPITANES CORP                           URB CAPARRA TERRACE                    768 CALLE 15 SE                                                    SAN JUAN         PR      00921
CAPITANES DE ARECIBO SOFTBALL FEMENINO URB LAS BRISAS                           BUZON 91 CALLE 5                                                   ARECIBO          PR      00612
CAPITANES EVENTS INC                     152 CALLE JOSE RODRIGUEZ IRIZ                                                                             ARECIBO          PR      00612
CAPITANES YOUTH BASEBALL DEVELOPMENT     URB PUERTO NUEVO                       618 CALLE BALEARES                                                 SAN JUAN         PR      00920
CAPITOL ASPHALT PAVING INC               PO BOX 3198                                                                                               CAROLINA         PR      00984
CAPITOL ENVIROMENTAL SERVICE INC.        CARR #140 KM 64.7 CRUCE DAVILA #204                                                                       BARCELONETA      PR      00617
CAPITOL ENVIROMENTAL SERVICES, INC.      CARR 140 KM 64.7                       CRUCE DAVILA                                                       BARCELONETA      PR      00617
CAPITOL ENVIROMENTAL SERVICES, INC.      PO BOX 299                                                                                                BARCELONETA      PR      00617
CAPITOL ENVIRONMENTAL SERVICES INC       CARR 140 KM 64.7                       CRUCE DAVILA 204                                                   BARCELONETA      PR      00617
CAPITOL ENVIRONMENTAL SERVICES INC       P O BOX 79588                                                                                             BALTIMORE        MD      21279‐0588
CAPITOL HILL HEALTH CENTER               40 CANDACE STREET                                                                                         PROVIDENCE       RI      02908
CAPITOL MEDICAL                          URB MUÐOZ RIVERA           ,           3 AVE ESMERALDA SUITE 141 ,                                        UAYNABO ,        PR      00969‐0000
CAPITOL MEDICAL                          URB MUNOZ RIVERA                       53 AVE ESMERALDA SUITE 141                                         GUAYNABO         PR      00969
CAPITOL PARKING                          PO BOX 11157                                                                                              SAN JUAN         PR      00910
CAPITOL SECURITY POLICE INC              P O BOX 11157                                                                                             SAN JUAN         PR      00910
CAPITOL SECURITY POLICE, INC.            APARTADO 9066604                                                                                          SAN JUAN         PR      00906
CAPITULO DE ARBITROS DE BALONCESTO DEL NOPO BOX 389                                                                                                QUEBRADILLAS     PR      00678
CAPLLONCH COLLAZO, BORIS                 ADDRESS ON FILE
CAPLLONCH MALDONADO, RUTH                ADDRESS ON FILE
CAPO BAEZ, IVONNE L.                     ADDRESS ON FILE
CAPO CAPO, EDNA J                        ADDRESS ON FILE
CAPO CARTAGENA, ANA A                    ADDRESS ON FILE
CAPO CARTAGENA, JOSE                     ADDRESS ON FILE
CAPO CHEVERE, FERNANDO                   ADDRESS ON FILE
CAPO COLON, KENNETH J.                   ADDRESS ON FILE
CAPO COLON, WILDA                        ADDRESS ON FILE
CAPO COLON, WILDA                        ADDRESS ON FILE
Capo Cordero, Alberto                    ADDRESS ON FILE
CAPO DELGADO, VIVIAN A                   ADDRESS ON FILE
CAPO DELIVERY INC                        PO BOX 3607                                                                                               CATANO           PR      00963
CAPO DIAZ, JORGE                         ADDRESS ON FILE
CAPO DIAZ, LUIS                          ADDRESS ON FILE




                                                                                                              Page 1141 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1142 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAPO DIAZ, RAYMOND            ADDRESS ON FILE
CAPO DIAZ, RAYMOND            ADDRESS ON FILE
CAPO FRAGOSA, GISELLE         ADDRESS ON FILE
CAPO GARCIA, INES ALEXANDRA   ADDRESS ON FILE
CAPO GARCIA, RAFAEL V         ADDRESS ON FILE
CAPO GOMEZ, BRENDALY          ADDRESS ON FILE
Capo Gonzalez, Miguel A       ADDRESS ON FILE
CAPO HERNANDEZ, FRANCISCO     ADDRESS ON FILE
CAPO HERNANDEZ, GRETCHEN      ADDRESS ON FILE
CAPO HERNANDEZ, MOYCE         ADDRESS ON FILE
CAPO IRIARTE, JOSE            ADDRESS ON FILE
CAPO LOPEZ, MARGARITA S       ADDRESS ON FILE
CAPO MALDONADO, AUREA E       ADDRESS ON FILE
CAPO MALDONADO, MARIA M       ADDRESS ON FILE
CAPO MARTIR, ANTONIO          ADDRESS ON FILE
CAPO MD, WILLIAM              ADDRESS ON FILE
CAPO MELENDEZ, BEULAH         ADDRESS ON FILE
CAPO MENDEZ, EDUARDO          ADDRESS ON FILE
CAPO MENDOZA, CHENIA M        ADDRESS ON FILE
CAPO MENENDEZ, FRANCISCO      ADDRESS ON FILE
CAPO MONTANEZ, CLARA          ADDRESS ON FILE
CAPO PEREZ, OCTAVIO J         ADDRESS ON FILE
CAPO RAMOS, LUIS              ADDRESS ON FILE
CAPO REYES, YANIRA            ADDRESS ON FILE
CAPO RIVERA, JOSE             ADDRESS ON FILE
CAPO RIVERA, JOSE B           ADDRESS ON FILE
CAPO RIVERA, NYDIA            ADDRESS ON FILE
CAPO RIVERA, NYDIA            ADDRESS ON FILE
CAPO RIVERA, WANDA            ADDRESS ON FILE
CAPO RODRIGUEZ, AIDA          ADDRESS ON FILE
CAPO RODRIGUEZ, ANGELICA M    ADDRESS ON FILE
CAPO RODRIGUEZ, BLASINA       ADDRESS ON FILE
CAPO RODRIGUEZ, JORGE         ADDRESS ON FILE
CAPO RODRIGUEZ, YULIANA       ADDRESS ON FILE
CAPO ROMAN, RAISSA            ADDRESS ON FILE
Capo Rosario, Mario I         ADDRESS ON FILE
CAPO ROSSELLO, AMANDA         ADDRESS ON FILE
CAPO SANCHEZ, ALFREDO         ADDRESS ON FILE
CAPO SANCHEZ, MILAGROS        ADDRESS ON FILE
Capo Santiago, Betty O        ADDRESS ON FILE
Capo Santiago, Nelson L       ADDRESS ON FILE
CAPO SANTIAGO, PEDRO F.       ADDRESS ON FILE
CAPO SOTO, YADIRA             ADDRESS ON FILE
CAPO SURIA, DANNETTE          ADDRESS ON FILE
CAPO TORO, LUIS A             ADDRESS ON FILE
CAPO TORRES, JOSE             ADDRESS ON FILE
CAPO VEGA, CHRISTIAN          ADDRESS ON FILE
CAPO VILLAFANEZ, HECTOR L     ADDRESS ON FILE
CAPO, ADA T                   ADDRESS ON FILE
CAPO, DIANA M                 ADDRESS ON FILE
CAPO, HARRY                   ADDRESS ON FILE
CAPOSSIELLO AURIGNAC, JORGE   ADDRESS ON FILE
CAPOTE GONZALEZ, CARLOS       ADDRESS ON FILE
CAPOTE MD , HORACIO A         ADDRESS ON FILE
CAPOTE NAPOLES, CAROLINA      ADDRESS ON FILE
CAPOTE RIVERA, MARILU         ADDRESS ON FILE
CAPOTE RIVERA, MARILYN        ADDRESS ON FILE
CAPPA BAEZ, LILLIAM           ADDRESS ON FILE
CAPPA CERMENO, JENNIFER M     ADDRESS ON FILE
CAPPA COLON, BENJAMIN         ADDRESS ON FILE




                                                                          Page 1142 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1143 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
CAPPA DELGADO, NANCY           ADDRESS ON FILE
CAPPA ROBLES, ALBERTO          ADDRESS ON FILE
CAPPA RODRIGUEZ, CHRISTOPHER   ADDRESS ON FILE
CAPPA ROUBERT, JORGE           ADDRESS ON FILE
CAPPACETTI COTTO, LUIS M       ADDRESS ON FILE
CAPPACETTI COTTO, RAFAEL J     ADDRESS ON FILE
CAPPACETTI COTTO, RAFAEL J.    ADDRESS ON FILE
CAPPACETTI PENA, JOSE L.       ADDRESS ON FILE
CAPPACETTI PENA, LOURDES       ADDRESS ON FILE
Cappacetti Pena, Rafael        ADDRESS ON FILE
CAPPACETTI RIVERA, FRANKLIN    ADDRESS ON FILE
CAPPACETTI RIVERA, FRANKLIN    ADDRESS ON FILE
CAPPAS AYALA, CHARLIE          ADDRESS ON FILE
CAPPAS BONET, JANET            ADDRESS ON FILE
Cappas Cardona, Nelson         ADDRESS ON FILE
CAPPAS CARDONA, NELSON         ADDRESS ON FILE
CAPPAS COLON, BENJAMIN         ADDRESS ON FILE
CAPPAS CORALES, MARILUZ        ADDRESS ON FILE
CAPPAS DE JESUS, ROLANDO       ADDRESS ON FILE
CAPPAS FIGUEROA, AIXA          ADDRESS ON FILE
CAPPAS FIGUEROA, DAMARIS       ADDRESS ON FILE
Cappas Lopez, Juan             ADDRESS ON FILE
Cappas Mateo, Hector L         ADDRESS ON FILE
CAPPAS NEGRON, JESSICA D       ADDRESS ON FILE
CAPPAS ORTIZ, NYDIA            ADDRESS ON FILE
Cappas Perez, Astrid A         ADDRESS ON FILE
CAPPAS RODRIGUEZ, JOSE A       ADDRESS ON FILE
CAPPAS RODRIGUEZ, JOSE L.      ADDRESS ON FILE
CAPPAS RODRIGUEZ, YOLANDA      ADDRESS ON FILE
CAPPAS RODRIGUEZ, YOLANDA      ADDRESS ON FILE
CAPPAS SANTIAGO, JOSE L.       ADDRESS ON FILE
Cappas Toro, Johnny            ADDRESS ON FILE
CAPPAS TORO, JOHNNY            ADDRESS ON FILE
CAPPAS VAZQUEZ, EDWARDS        ADDRESS ON FILE
CAPPAS VAZQUEZ, IVETTE Y       ADDRESS ON FILE
CAPPAS VAZQUEZ, TERESA         ADDRESS ON FILE
Cappas Vega, Jose A            ADDRESS ON FILE
Cappas Vega, Reyes             ADDRESS ON FILE
CAPPAS VILLALOBOS, KIMBERLY    ADDRESS ON FILE
CAPPIELLO MARTINEZ, ANGELIS    ADDRESS ON FILE
CAPPIELLO RIOS, JAHIRO O       ADDRESS ON FILE
Cappiello Santiago, Jonathan   ADDRESS ON FILE
CAPPIELO RIVERA, ANA H         ADDRESS ON FILE
CAPPIELO RODRIGUEZ, LUIS       ADDRESS ON FILE
CAPPONI, LUCCA                 ADDRESS ON FILE
CAPRE FEBUS MD, JOSEPH         ADDRESS ON FILE
CAPRE FRANCESCHI,SHEILA        ADDRESS ON FILE
CAPRE MARTINEZ, LUIS           ADDRESS ON FILE
CAPRICO ROOFING INC            PO BOX 706                                                                       PONCE        PR      00715
CAPRILES MERCADO, MARILYN      ADDRESS ON FILE
CAPRILES MERCADO, NANCY        ADDRESS ON FILE
CAPRILES QUIROS, JOSE          ADDRESS ON FILE
CAPSI INC                      URB SANTA CRUZ             C 3 CALLE 3                                           BAYAMON      PR      00961‐6907
CAPTAIN DUCK TOURS, INC.       176 SAN JORGE SUITE. 1‐B                                                         SAN JUAN     PR      00911‐2037
CAPURRO GONZALES, JUAN         ADDRESS ON FILE
CAPUTIS DE TORRES, HILDA       ADDRESS ON FILE
CAPUTO MD , ANTHONY R          ADDRESS ON FILE
CAPUTTO ESPINOSA, VERONICA M   ADDRESS ON FILE
CAQO DROZ, EVETTE              ADDRESS ON FILE
CAQUIAS ARROYO, NITZA          ADDRESS ON FILE




                                                                           Page 1143 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1144 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CAQUIAS BARBOSA, MARIA V       ADDRESS ON FILE
Caquias Camacho, Barbara       ADDRESS ON FILE
CAQUIAS CASTILLO, NILDA        ADDRESS ON FILE
CAQUIAS CERVONI, DESIREE       ADDRESS ON FILE
CAQUIAS CONCEPCION, DANNY      ADDRESS ON FILE
CAQUIAS CRUZ, FERNANDO         ADDRESS ON FILE
Caquias Cruz, Fernando L       ADDRESS ON FILE
CAQUIAS CRUZ, TYRONE           ADDRESS ON FILE
CAQUIAS CRUZ, WANDA            ADDRESS ON FILE
CAQUIAS DAVILA, ELVIS          ADDRESS ON FILE
CAQUIAS DE JESUS, JOSE R       ADDRESS ON FILE
CAQUIAS DE JESUS,PERFECT       ADDRESS ON FILE
CAQUIAS DUENO, VIVIANA S       ADDRESS ON FILE
CAQUIAS DUENO, ZULMA           ADDRESS ON FILE
CAQUIAS FELICIANO, FRANCISCA   ADDRESS ON FILE
CAQUIAS FELICIANO, NUBIA J     ADDRESS ON FILE
CAQUIAS FLORES, RICARDO        ADDRESS ON FILE
CAQUIAS GALARZA, JESSICA       ADDRESS ON FILE
CAQUIAS GONZALEZ, ROBERTO      ADDRESS ON FILE
CAQUIAS IBARRONDO, JUAN        ADDRESS ON FILE
CAQUIAS LUGO, ANTHONY          ADDRESS ON FILE
CAQUIAS LUGO, ISRAEL           ADDRESS ON FILE
CAQUIAS LUGO, LUIS M.          ADDRESS ON FILE
CAQUIAS LUGO, YARELIS          ADDRESS ON FILE
CAQUIAS MADERA, ITZA           ADDRESS ON FILE
Caquias Matos, Melvin          ADDRESS ON FILE
CAQUIAS MATOS, VIRGEN M        ADDRESS ON FILE
CAQUIAS MORALES, CARMEN        ADDRESS ON FILE
CAQUIAS NARVAEZ, FLORA         ADDRESS ON FILE
CAQUIAS NARVAEZ, FLORA ANNA    ADDRESS ON FILE
CAQUIAS NEGRON, LUPITA         ADDRESS ON FILE
CAQUIAS PACHECO, ROBERTO       ADDRESS ON FILE
Caquias Pagan, Carlos L        ADDRESS ON FILE
CAQUIAS PAGAN, JOSE            ADDRESS ON FILE
CAQUIAS PINEIRO, RUTH          ADDRESS ON FILE
CAQUIAS RAMIREZ, BARBARA       ADDRESS ON FILE
CAQUIAS RIVERA, YASMIN         ADDRESS ON FILE
CAQUIAS ROBLES, ADRIAN         ADDRESS ON FILE
CAQUIAS RODRIGUEZ, CINTHIA     ADDRESS ON FILE
CAQUIAS RODRIGUEZ, FELICITA    ADDRESS ON FILE
CAQUIAS RODRIGUEZ, HILDA M     ADDRESS ON FILE
CAQUIAS RODRIGUEZ, MILTON      ADDRESS ON FILE
CAQUIAS ROSARIO, HECTOR L.     ADDRESS ON FILE
CAQUIAS ROSARIO, JOSE A.       ADDRESS ON FILE
CAQUIAS SANFELIZ, JOSUE        ADDRESS ON FILE
CAQUIAS SANTIAGO, MILAGROS     ADDRESS ON FILE
CAQUIAS SOTO, ELVIS            ADDRESS ON FILE
CAQUIAS TORRES, ANGEL M.       ADDRESS ON FILE
CAQUIAS TORRES, JAVIER         ADDRESS ON FILE
CAQUIAS TORRES, JOSE M.        ADDRESS ON FILE
CAQUIAS TORRES, LUIS           ADDRESS ON FILE
CAQUIAS TORRES, LUIS A         ADDRESS ON FILE
CAQUIAS TORRES, MIGUEL A       ADDRESS ON FILE
CAQUIAS TORRES, VICTOR         ADDRESS ON FILE
Caquias Torres, Victor M       ADDRESS ON FILE
CAQUIAS VEGA, NORKA            ADDRESS ON FILE
CAQUIAS VEGA, VIRGEN M         ADDRESS ON FILE
CAQUIAS VELEZ, MAGDA           ADDRESS ON FILE
CAQUIAS, MAGDA                 ADDRESS ON FILE
CAR & BAR INC                  P O BOX 9021074                                                                  SAN JUAN     PR      00902‐1074




                                                                           Page 1144 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1145 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                       Address1                        Address2                                   Address3   Address4   City            State   PostalCode   Country
CAR ARMOR INC.                      5H4 SANTA TERESITA                                                                               BAYAMON         PR      00961
CAR BEHAVIORAL HEALTH SYSTEMS INC   5110 W SAHARA AVE                                                                                LAS VEGAS       NV      89146‐3406
CAR CARE AUTO                       URB SANTA JUANA 4TA SECC        Z 9 CALLE 12                                                     CAGUAS          PR      00725
CAR CARIBBEAN COOLING SYSTEMS INC   EL SENORIAL                     175 AVE WINSTON CHURCHILL                                        SAN JUAN        PR      00926
CAR CARIBBEAN RADIATORS             W. CHURCHILL #175 EL SENORIAL                                                                    SAN JUAN        PR      00926
CAR CARRIER SERVICE, INC            PO BOX 953                                                                                       SABANA SECA     PR      00952
CAR COLOR MAX INC                   PO BOX 31136                                                                                     SAN JUAN        PR      00929‐2136
CAR CREDIT MANAGEMENT,CORP          DISTRICT VIEW PLZ               644 AVE FERNANDEZ JUNCOS STE 301                                 SAN JUAN        PR      00907‐3183
CAR SPA INC                         URB LA RIVERA                   123 AVE DE DIEGO                                                 SAN JUAN        PR      00921
CARABALLO ABREU, MARIA J.           ADDRESS ON FILE
Caraballo Acevedo, Luis Daniel      ADDRESS ON FILE
CARABALLO ACOSTA, CARMEN L          ADDRESS ON FILE
CARABALLO ACOSTA, GILBERTO          ADDRESS ON FILE
CARABALLO ACOSTA, GLADYS Y.         ADDRESS ON FILE
CARABALLO ACOSTA, MARIA             ADDRESS ON FILE
CARABALLO ACOSTA, MARISOL           ADDRESS ON FILE
CARABALLO AGOSTINI, LUIS M          ADDRESS ON FILE
CARABALLO ALBARRACIN, SYLVIA M      ADDRESS ON FILE
CARABALLO ALBERT, KRISIA            ADDRESS ON FILE
CARABALLO ALBERTORIO, NANCY         ADDRESS ON FILE
CARABALLO ALCARAZ, MARIAN           ADDRESS ON FILE
Caraballo Alejandro, Nestor E       ADDRESS ON FILE
CARABALLO ALEMAN, WILLIAM           ADDRESS ON FILE
CARABALLO ALEMANI, WILLIAM          ADDRESS ON FILE
CARABALLO ALEMANI, WILLIAM          ADDRESS ON FILE
CARABALLO ALEMANY, WILLIAM          ADDRESS ON FILE
CARABALLO ALEMANY, WILLIAM          ADDRESS ON FILE
CARABALLO ALEMANY, WILLIAM          ADDRESS ON FILE
CARABALLO ALEMANY, WILLIAN          ADDRESS ON FILE
CARABALLO ALFONSO, NILKA            ADDRESS ON FILE
CARABALLO ALICEA RADAMES            SHC 1 BOX 8498                                                                                   LAJAS           PR      00667
CARABALLO ALICEA, CARMINE           ADDRESS ON FILE
CARABALLO ALICEA, HILDA             ADDRESS ON FILE
CARABALLO ALICEA, YOLANDA           ADDRESS ON FILE
CARABALLO ALLEN, ANSELMA            ADDRESS ON FILE
CARABALLO ALLEN, MANUEL             ADDRESS ON FILE
CARABALLO ALONSO, LUIS              ADDRESS ON FILE
CARABALLO ALVARADO, DILIA M         ADDRESS ON FILE
CARABALLO ALVAREZ, IRMA             ADDRESS ON FILE
CARABALLO ALVAREZ, JOSE D.          ADDRESS ON FILE
CARABALLO ALVAREZ, KAREN            ADDRESS ON FILE
CARABALLO ALVAREZ, MARIA            ADDRESS ON FILE
CARABALLO ALVAREZ, NILDA            ADDRESS ON FILE
CARABALLO ALVAREZ, NILDA Y          ADDRESS ON FILE
CARABALLO ALVAREZ, NYDIA            ADDRESS ON FILE
CARABALLO ALVAREZ, YADZEL V         ADDRESS ON FILE
CARABALLO APELLANIZ, EDEN           ADDRESS ON FILE
CARABALLO APONTE, ROSALIA           ADDRESS ON FILE
CARABALLO APONTE, ROSALIA           ADDRESS ON FILE
CARABALLO ARIZMENDI, LUIS           ADDRESS ON FILE
CARABALLO AROCHO, DOLORES           ADDRESS ON FILE
CARABALLO AROCHO, LUZ M.            ADDRESS ON FILE
CARABALLO ARRIAGA, CARMEN M         ADDRESS ON FILE
CARABALLO ARRIAGA, MARIA V          ADDRESS ON FILE
CARABALLO ARROYO, ANA D             ADDRESS ON FILE
CARABALLO ARROYO, ANA L             ADDRESS ON FILE
CARABALLO ARROYO, FRANCES           ADDRESS ON FILE
CARABALLO ARROYO, JACKELINE         ADDRESS ON FILE
CARABALLO ARROYO, JACQUELINE        ADDRESS ON FILE
CARABALLO ARROYO, SANDRA            ADDRESS ON FILE




                                                                                                Page 1145 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1146 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO ARZOLA, LOURDES E       ADDRESS ON FILE
CARABALLO ARZOLA, REINALDO        ADDRESS ON FILE
CARABALLO ATILES, IVAN            ADDRESS ON FILE
CARABALLO AYALA, JOSE A           ADDRESS ON FILE
Caraballo Ayuso, Jose             ADDRESS ON FILE
CARABALLO BABA, JOSEFINA          ADDRESS ON FILE
CARABALLO BABA, RUBEN             ADDRESS ON FILE
CARABALLO BAEZ, EZEQUIEL          ADDRESS ON FILE
CARABALLO BAEZ, JOSE              ADDRESS ON FILE
CARABALLO BAEZ, KELVIN            ADDRESS ON FILE
CARABALLO BAEZ, MELISSA           ADDRESS ON FILE
CARABALLO BAEZ, ROSA              ADDRESS ON FILE
Caraballo Barrera, Wilking        ADDRESS ON FILE
Caraballo Bello, Francisco        ADDRESS ON FILE
CARABALLO BENITEZ, ELIESER        ADDRESS ON FILE
CARABALLO BERENGUER, BERNARDO     ADDRESS ON FILE
CARABALLO BERRIOS, EDGARDO        ADDRESS ON FILE
CARABALLO BONILLA MD, SAMMY       ADDRESS ON FILE
CARABALLO BONILLA, MELBA I        ADDRESS ON FILE
CARABALLO BONILLA, SAMALY         ADDRESS ON FILE
CARABALLO BORRERO, AXEL           ADDRESS ON FILE
Caraballo Borrero, Franklin       ADDRESS ON FILE
CARABALLO BORRERO, HECTOR         ADDRESS ON FILE
Caraballo Bracero, Ernesto        ADDRESS ON FILE
CARABALLO BRANA, MARIANELA        ADDRESS ON FILE
CARABALLO BULTED, ROSA A          ADDRESS ON FILE
CARABALLO CALDERON, RAMON D       ADDRESS ON FILE
CARABALLO CALES, EDWIN            ADDRESS ON FILE
CARABALLO CALES, JUAN C           ADDRESS ON FILE
CARABALLO CAMACHO, EDGAR          ADDRESS ON FILE
CARABALLO CAMACHO, OLGA L         ADDRESS ON FILE
CARABALLO CAQUIAS, ALEX           ADDRESS ON FILE
CARABALLO CARABALLO, ADELA        ADDRESS ON FILE
CARABALLO CARABALLO, AMNERIS      ADDRESS ON FILE
CARABALLO CARABALLO, ANA          ADDRESS ON FILE
CARABALLO CARABALLO, ANGEL        ADDRESS ON FILE
Caraballo Caraballo, Angel L.     ADDRESS ON FILE
CARABALLO CARABALLO, AYEISHA      ADDRESS ON FILE
CARABALLO CARABALLO, BENIGNO      ADDRESS ON FILE
CARABALLO CARABALLO, CARMINE      ADDRESS ON FILE
CARABALLO CARABALLO, DAVID        ADDRESS ON FILE
CARABALLO CARABALLO, EDDIE        ADDRESS ON FILE
CARABALLO CARABALLO, EDGARDO      ADDRESS ON FILE
CARABALLO CARABALLO, EDWIN        ADDRESS ON FILE
CARABALLO CARABALLO, ELBA         ADDRESS ON FILE
CARABALLO CARABALLO, ELVIRA       ADDRESS ON FILE
CARABALLO CARABALLO, EXEL         ADDRESS ON FILE
CARABALLO CARABALLO, GLADYS       ADDRESS ON FILE
CARABALLO CARABALLO, IRIS M       ADDRESS ON FILE
CARABALLO CARABALLO, IVAN         ADDRESS ON FILE
Caraballo Caraballo, Joel         ADDRESS ON FILE
CARABALLO CARABALLO, JOSE         ADDRESS ON FILE
CARABALLO CARABALLO, LISSETTE     ADDRESS ON FILE
CARABALLO CARABALLO, MARIA T      ADDRESS ON FILE
CARABALLO CARABALLO, MARY         ADDRESS ON FILE
CARABALLO CARABALLO, MATILDE      ADDRESS ON FILE
CARABALLO CARABALLO, MELANIE      ADDRESS ON FILE
CARABALLO CARABALLO, MONSERRATE   ADDRESS ON FILE
CARABALLO CARABALLO, NESTOR       ADDRESS ON FILE
Caraballo Caraballo, Norberto     ADDRESS ON FILE




                                                                              Page 1146 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1147 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                     Address1                     Address2                                     Address3          Address4       City        State   PostalCode   Country
CARABALLO CARABALLO, RAFAEL       ADDRESS ON FILE
CARABALLO CARABALLO, RAMON        ADDRESS ON FILE
CARABALLO CARABALLO, ROBERT       ADDRESS ON FILE
CARABALLO CARABALLO, RUTH D       ADDRESS ON FILE
CARABALLO CARABALLO, VILMARY      ADDRESS ON FILE
CARABALLO CARABALLO, WANDA I.     ADDRESS ON FILE
CARABALLO CARABALLO, ZAIDA        ADDRESS ON FILE
CARABALLO CARDONA, ISRAEL         ADDRESS ON FILE
CARABALLO CARDONA, RUTH N         ADDRESS ON FILE
Caraballo Carrasqui, Jose R       ADDRESS ON FILE
CARABALLO CARRILLO, HECTOR        ADDRESS ON FILE
CARABALLO CARRION, JULISSA        ADDRESS ON FILE
CARABALLO CARTAGENA, SONIA        ADDRESS ON FILE
Caraballo Casanova, Mari L        ADDRESS ON FILE
CARABALLO CASILLAS, RANDIE        ADDRESS ON FILE
CARABALLO CASILLAS, SUSAN I       ADDRESS ON FILE
CARABALLO CASTAING, WILFREDO      ADDRESS ON FILE
CARABALLO CASTILLO, ANGELA        ADDRESS ON FILE
Caraballo Castillo, Antonia       ADDRESS ON FILE
CARABALLO CASTRO, CARLOS          ADDRESS ON FILE
CARABALLO CASTRO, FERNANDO L      ADDRESS ON FILE
CARABALLO CASTRO, PEDRO           ADDRESS ON FILE
CARABALLO CEDENO, BARTOLO         ADDRESS ON FILE
CARABALLO CEDENO, BARTOLO         ADDRESS ON FILE
CARABALLO CEDENO, CARMEN          ADDRESS ON FILE
CARABALLO CEDENO, GRIMILDA        ADDRESS ON FILE
CARABALLO CEDENO, JEIEL           ADDRESS ON FILE
CARABALLO CEDENO, JOSE M          ADDRESS ON FILE
CARABALLO CEDENO, MYRIAM          ADDRESS ON FILE
CARABALLO CENTENO, SERAFIN        ADDRESS ON FILE
CARABALLO CEPEDA WANAGET          DERECHO PROPIO               INST. ANEXO GUAYAMA 500                      CONTROL BA #128   PO BOX 10005   GUAYAMA     PR      00785
CARABALLO CEPEDA WANAGET          DIEGO LEDEE BAZAAN           PO BOX 891                                                                    GUAYAMA     PR      00785
CARABALLO CEPEDA, WANAGET         AIDA I. FIGUEROA RODRÍGUEZ   49‐51 AVE MAIN URB STA ROSA                                                   BAYAMON     PR      00961
CARABALLO CEPEDA, WANEGET         DIEGO LEDEE BAZAN            PO BOX 891                                                                    GUAYAMA     PR      00785
CARABALLO CEPEDA, WANEGET         MANUEL FUSTER MARTINEZ       APARTADO 1464                                                                 GUAYAMA     PR      00785
CARABALLO CESPEDES, ARGENTINA     ADDRESS ON FILE
CARABALLO CINTRON, FERNANDO       ADDRESS ON FILE
CARABALLO CINTRON, JOEL           ADDRESS ON FILE
CARABALLO CINTRON, LADI S         ADDRESS ON FILE
CARABALLO CINTRON, STEPHANIE      ADDRESS ON FILE
CARABALLO CINTRON, STEPHANIE M.   ADDRESS ON FILE
CARABALLO CINTRON, WILLIAM        ADDRESS ON FILE
CARABALLO CINTRON, ZULEIMA        ADDRESS ON FILE
CARABALLO CLAUDIO, BETSY          ADDRESS ON FILE
CARABALLO CLAUDIO, DENNISSE       ADDRESS ON FILE
CARABALLO CLEMENTE, JULIAN        ADDRESS ON FILE
CARABALLO COLON, AIXA             ADDRESS ON FILE
CARABALLO COLON, BILLY            ADDRESS ON FILE
CARABALLO COLON, CRISTINA         ADDRESS ON FILE
CARABALLO COLON, CRISTINA         ADDRESS ON FILE
CARABALLO COLON, EMMANUEL         ADDRESS ON FILE
CARABALLO COLON, GUSTAVO          ADDRESS ON FILE
Caraballo Colon, Javier           ADDRESS ON FILE
Caraballo Colon, Jimmy            ADDRESS ON FILE
CARABALLO COLON, JOSE             ADDRESS ON FILE
CARABALLO COLON, JOSE             ADDRESS ON FILE
CARABALLO COLON, JOSE H.          ADDRESS ON FILE
CARABALLO COLON, JUANITA          ADDRESS ON FILE
CARABALLO COLON, LUZ              ADDRESS ON FILE
CARABALLO COLON, RAFAEL           ADDRESS ON FILE




                                                                                             Page 1147 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1148 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Caraballo Cora, Jose A             ADDRESS ON FILE
CARABALLO CORA, RAMON              ADDRESS ON FILE
CARABALLO CORALES, VERONICA        ADDRESS ON FILE
CARABALLO CORDERO, YAZAIRA E.      ADDRESS ON FILE
CARABALLO CORNIER, ANACELI         ADDRESS ON FILE
CARABALLO CORNIER, ELIZABETH       ADDRESS ON FILE
CARABALLO CORNIER, HAYDEE          ADDRESS ON FILE
CARABALLO CORNIER, NEWILL          ADDRESS ON FILE
CARABALLO CORREA, ADA M.           ADDRESS ON FILE
CARABALLO CORREA, CARMEN M         ADDRESS ON FILE
CARABALLO CORREA, LUZ M.           ADDRESS ON FILE
CARABALLO CORREA, MILAGROS L.      ADDRESS ON FILE
CARABALLO CORREA, YVETTE           ADDRESS ON FILE
CARABALLO CORTES, GRICEL           ADDRESS ON FILE
CARABALLO COTTO, CARMEN D          ADDRESS ON FILE
CARABALLO COTTO, HECTOR F          ADDRESS ON FILE
CARABALLO COTTO, MARIA             ADDRESS ON FILE
CARABALLO COTTO, MARIA A.          ADDRESS ON FILE
CARABALLO COURET, IRVING L.        ADDRESS ON FILE
CARABALLO COURET, IRVING L.        ADDRESS ON FILE
CARABALLO COURET, VALERIA          ADDRESS ON FILE
CARABALLO CRESPO, CHRISTIAN        ADDRESS ON FILE
CARABALLO CRESPO, FERNANDO         ADDRESS ON FILE
CARABALLO CRUZ, CELIA              ADDRESS ON FILE
CARABALLO CRUZ, CRUZ R             ADDRESS ON FILE
Caraballo Cruz, Dimas              ADDRESS ON FILE
CARABALLO CRUZ, EDWIN              ADDRESS ON FILE
Caraballo Cruz, Frederick          ADDRESS ON FILE
Caraballo Cruz, Herminio           ADDRESS ON FILE
CARABALLO CRUZ, IRAIDA             ADDRESS ON FILE
CARABALLO CRUZ, JOHANA I.          ADDRESS ON FILE
CARABALLO CRUZ, LISANDRA           ADDRESS ON FILE
CARABALLO CRUZ, LUIS A             ADDRESS ON FILE
CARABALLO CRUZ, MARISELA           ADDRESS ON FILE
CARABALLO CRUZ, NITZA G.           ADDRESS ON FILE
CARABALLO CRUZ, RICARDA            ADDRESS ON FILE
CARABALLO CUBA,NOED                ADDRESS ON FILE
CARABALLO CUEVAS, GISSELLE         ADDRESS ON FILE
CARABALLO CUEVAS, GLADYS           ADDRESS ON FILE
CARABALLO CUEVAS, IRIS M           ADDRESS ON FILE
CARABALLO CUEVAS, LUZ L            ADDRESS ON FILE
CARABALLO DASTA, TOMAS             ADDRESS ON FILE
CARABALLO DAVILA, JESUS            ADDRESS ON FILE
CARABALLO DE JESUS, FELICITA       ADDRESS ON FILE
CARABALLO DE JESUS, LUIS           ADDRESS ON FILE
CARABALLO DE JESUS, RICARDO        ADDRESS ON FILE
CARABALLO DE LEON, ALEJANDRO       ADDRESS ON FILE
CARABALLO DE LEON, EVELYN          ADDRESS ON FILE
CARABALLO DE LEON, MILAGROS        ADDRESS ON FILE
CARABALLO DE RIVERA, MARIA DEL C   ADDRESS ON FILE
CARABALLO DEL VALLE, YELISSA       ADDRESS ON FILE
CARABALLO DENISA, ILEANA           ADDRESS ON FILE
Caraballo Denisa, Nilsa            ADDRESS ON FILE
Caraballo Denisa, Ramon            ADDRESS ON FILE
CARABALLO DIAZ, ANA L              ADDRESS ON FILE
Caraballo Diaz, Carlos R           ADDRESS ON FILE
CARABALLO DIAZ, CARMEN L           ADDRESS ON FILE
CARABALLO DIAZ, DEBORA             ADDRESS ON FILE
CARABALLO DIAZ, HECTOR             ADDRESS ON FILE
CARABALLO DIAZ, HECTOR             ADDRESS ON FILE




                                                                               Page 1148 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1149 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO DIAZ, HECTOR R          ADDRESS ON FILE
CARABALLO DIAZ, JISELLY           ADDRESS ON FILE
Caraballo Diaz, Jiselly           ADDRESS ON FILE
CARABALLO DIAZ, JUAN C            ADDRESS ON FILE
CARABALLO DIAZ, KEVIN             ADDRESS ON FILE
CARABALLO DIAZ, MARIA A           ADDRESS ON FILE
CARABALLO DIAZ, OLIMPIA C         ADDRESS ON FILE
CARABALLO DIAZ, RADAMES           ADDRESS ON FILE
CARABALLO DIAZ, RAQUEL            ADDRESS ON FILE
Caraballo Diaz, Ruben             ADDRESS ON FILE
CARABALLO ECHEVARRIA, ANIBAL      ADDRESS ON FILE
CARABALLO ENCARNACION, ELBA       ADDRESS ON FILE
CARABALLO ENCARNACION, ELBA M.    ADDRESS ON FILE
CARABALLO ESCOBAR, ALFREDO        ADDRESS ON FILE
CARABALLO ESCOBAR, JULIO A        ADDRESS ON FILE
CARABALLO ESCOBAR, SHIRLEY        ADDRESS ON FILE
CARABALLO ESPINOSA, WANDA         ADDRESS ON FILE
CARABALLO FABIAN, PAULINO         ADDRESS ON FILE
CARABALLO FANTAUZI, MARIBEL       ADDRESS ON FILE
CARABALLO FARRELL, ROSA M         ADDRESS ON FILE
CARABALLO FELICIANO, ADALMARYS    ADDRESS ON FILE
CARABALLO FELICIANO, ANALY M      ADDRESS ON FILE
CARABALLO FELICIANO, ARACELIO     ADDRESS ON FILE
CARABALLO FELICIANO, BERTA        ADDRESS ON FILE
CARABALLO FELICIANO, CATHY        ADDRESS ON FILE
CARABALLO FELICIANO, ELSIE        ADDRESS ON FILE
CARABALLO FELICIANO, GILBERTO     ADDRESS ON FILE
CARABALLO FELICIANO, IRMA         ADDRESS ON FILE
CARABALLO FELICIANO, IVAN         ADDRESS ON FILE
CARABALLO FELICIANO, LUIS A.      ADDRESS ON FILE
CARABALLO FELICIANO, LUIS A.      ADDRESS ON FILE
CARABALLO FELICIANO, MADELINE     ADDRESS ON FILE
CARABALLO FELICIANO, MIRIAM R     ADDRESS ON FILE
CARABALLO FELICIANO, MIRTELINA    ADDRESS ON FILE
CARABALLO FELICIANO, RAMSEY A     ADDRESS ON FILE
CARABALLO FERNANDEZ, DELIA        ADDRESS ON FILE
CARABALLO FERNANDEZ, GERARDO R.   ADDRESS ON FILE
CARABALLO FERNANDEZ, HAROLD       ADDRESS ON FILE
CARABALLO FERNANDEZ, JAYKA        ADDRESS ON FILE
CARABALLO FERNANDEZ, JUAN         ADDRESS ON FILE
CARABALLO FERNANDEZ, LUZ M        ADDRESS ON FILE
CARABALLO FERNANDEZ, RAMONY       ADDRESS ON FILE
CARABALLO FERNANDEZ, YULIANA      ADDRESS ON FILE
CARABALLO FERRER, JENNIFER        ADDRESS ON FILE
CARABALLO FERRER, MARIO E         ADDRESS ON FILE
CARABALLO FIGUEROA, ADA           ADDRESS ON FILE
CARABALLO FIGUEROA, DIALMA        ADDRESS ON FILE
CARABALLO FIGUEROA, EDDY          ADDRESS ON FILE
CARABALLO FIGUEROA, JOMIRELLIS    ADDRESS ON FILE
CARABALLO FIGUEROA, JOMIRELLIS    ADDRESS ON FILE
CARABALLO FIGUEROA, JOSE          ADDRESS ON FILE
CARABALLO FIGUEROA, NITZA         ADDRESS ON FILE
CARABALLO FIGUEROA, RAMON         ADDRESS ON FILE
CARABALLO FIGUEROA, RICHARD       ADDRESS ON FILE
CARABALLO FIGUEROA, YANIRA        ADDRESS ON FILE
CARABALLO FIGUEROA, YARIANA       ADDRESS ON FILE
CARABALLO FLORAN, YARITZA         ADDRESS ON FILE
CARABALLO FLORES, MARTA           ADDRESS ON FILE
CARABALLO FLORES, MODESTO         ADDRESS ON FILE
CARABALLO FLORES, NATALIE L       ADDRESS ON FILE




                                                                              Page 1149 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1150 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Caraballo Flores, Noel              ADDRESS ON FILE
CARABALLO FLORES, SYLVIA            ADDRESS ON FILE
CARABALLO FLORES, WALTER            ADDRESS ON FILE
CARABALLO FLORES, WALTER            ADDRESS ON FILE
CARABALLO FONSECA, ADA              ADDRESS ON FILE
CARABALLO FRANCO, LUIS              ADDRESS ON FILE
CARABALLO FRATICELLI, FRANCISCO J   ADDRESS ON FILE
CARABALLO FRATICHELLI, ORLANDO      ADDRESS ON FILE
CARABALLO FRED, MIGUEL A            ADDRESS ON FILE
CARABALLO FRONTANEZ, BRENDA         ADDRESS ON FILE
CARABALLO FRONTANEZ, LENNIS         ADDRESS ON FILE
CARABALLO FUENTES, JESUSA           ADDRESS ON FILE
CARABALLO FUSTE, MIRIAM             ADDRESS ON FILE
CARABALLO GALLETTI, ZORAIDA         ADDRESS ON FILE
CARABALLO GARCIA, AIDA I            ADDRESS ON FILE
CARABALLO GARCIA, AIDA L            ADDRESS ON FILE
CARABALLO GARCIA, ALEXIS            ADDRESS ON FILE
CARABALLO GARCIA, CARMEN D          ADDRESS ON FILE
CARABALLO GARCIA, FERMIN            ADDRESS ON FILE
CARABALLO GARCIA, JOSE              ADDRESS ON FILE
CARABALLO GARCIA, LICELIS           ADDRESS ON FILE
CARABALLO GARCIA, LUZ M.            ADDRESS ON FILE
CARABALLO GARCIA, MAGALY            ADDRESS ON FILE
CARABALLO GARCIA, MIGUEL A          ADDRESS ON FILE
CARABALLO GARCIA, NORA A.           ADDRESS ON FILE
CARABALLO GARCIA, ROBERTO           ADDRESS ON FILE
CARABALLO GARCIA, SONIA E           ADDRESS ON FILE
CARABALLO GARCIA, STEPHANY          ADDRESS ON FILE
CARABALLO GARCIA, VIMARIE           ADDRESS ON FILE
CARABALLO GARCIA, WALDEMAR          ADDRESS ON FILE
CARABALLO GARCIA, YAZMIN            ADDRESS ON FILE
CARABALLO GOMEZ, LUIS O             ADDRESS ON FILE
Caraballo Gonzalez, Angel R         ADDRESS ON FILE
CARABALLO GONZALEZ, CARLOS          ADDRESS ON FILE
Caraballo Gonzalez, Carmen          ADDRESS ON FILE
CARABALLO GONZALEZ, EDGAR           ADDRESS ON FILE
Caraballo Gonzalez, Edwardo J.      ADDRESS ON FILE
CARABALLO GONZALEZ, ELBA            ADDRESS ON FILE
CARABALLO GONZALEZ, ELVING          ADDRESS ON FILE
Caraballo Gonzalez, Erick D         ADDRESS ON FILE
CARABALLO GONZALEZ, GRACE G         ADDRESS ON FILE
CARABALLO GONZALEZ, IVAN            ADDRESS ON FILE
CARABALLO GONZALEZ, IVAN            ADDRESS ON FILE
CARABALLO GONZALEZ, IVELISSE        ADDRESS ON FILE
CARABALLO GONZALEZ, JOSE            ADDRESS ON FILE
CARABALLO GONZALEZ, JOSE            ADDRESS ON FILE
CARABALLO GONZALEZ, JOSE L          ADDRESS ON FILE
Caraballo Gonzalez, Marcos G        ADDRESS ON FILE
Caraballo Gonzalez, Milagros        ADDRESS ON FILE
CARABALLO GONZALEZ, MOISES          ADDRESS ON FILE
CARABALLO GONZALEZ, REINALDO        ADDRESS ON FILE
CARABALLO GONZALEZ, RICARDO         ADDRESS ON FILE
Caraballo Gonzalez, Ricardo H       ADDRESS ON FILE
CARABALLO GONZALEZ, WILLIAM         ADDRESS ON FILE
Caraballo Gonzalez, Zoraida         ADDRESS ON FILE
CARABALLO GONZALEZ,JULIA            ADDRESS ON FILE
CARABALLO GRANELL, MARAYNETTE       ADDRESS ON FILE
CARABALLO GRILLASCA, NORMA          ADDRESS ON FILE
CARABALLO GUADALUPE, LISBETH        ADDRESS ON FILE
CARABALLO GUTIERREZ, JOSE A.        ADDRESS ON FILE




                                                                                Page 1150 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1151 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3         Address4   City         State   PostalCode   Country
CARABALLO GUTIERREZ, SONEL       ADDRESS ON FILE
CARABALLO GUZMAN, AMILCAR        ADDRESS ON FILE
CARABALLO GUZMAN, HECTOR         ADDRESS ON FILE
CARABALLO GUZMAN, JARYMEL        ADDRESS ON FILE
CARABALLO GUZMAN, KARIM          ADDRESS ON FILE
CARABALLO GUZMAN, KARIM          ADDRESS ON FILE
CARABALLO GUZMAN, MILKA D        ADDRESS ON FILE
CARABALLO GUZMAN, WANDA          ADDRESS ON FILE
CARABALLO HERNAND, SHEILA L      ADDRESS ON FILE
CARABALLO HERNANDEZ, ALEX M.     ADDRESS ON FILE
CARABALLO HERNANDEZ, ANA M.      ADDRESS ON FILE
Caraballo Hernandez, Angel G     ADDRESS ON FILE
CARABALLO HERNANDEZ, CARMEN R    ADDRESS ON FILE
CARABALLO HERNANDEZ, CATALINA    ADDRESS ON FILE
CARABALLO HERNANDEZ, ELIXIE      ADDRESS ON FILE
CARABALLO HERNANDEZ, ELIZABETH   ADDRESS ON FILE
CARABALLO HERNANDEZ, ESTHER      ADDRESS ON FILE
CARABALLO HERNANDEZ, FABIOLA     ADDRESS ON FILE
CARABALLO HERNANDEZ, HECTOR I.   ADDRESS ON FILE
CARABALLO HERNANDEZ, IRMA I      ADDRESS ON FILE
Caraballo Hernandez, Israel      ADDRESS ON FILE
CARABALLO HERNANDEZ, JESUS       ADDRESS ON FILE
CARABALLO HERNANDEZ, JOSE        ADDRESS ON FILE
CARABALLO HERNANDEZ, JOSE A      ADDRESS ON FILE
                                                                                            1353 AVE. LUIS
CARABALLO HERNANDEZ, JOSE M.     YARLENE JIMENEZ ROSARIO   PMB‐133                          VIGOREAUZ                   GUAYNABO     PR      00966‐2700
CARABALLO HERNANDEZ, LUZ J       ADDRESS ON FILE
CARABALLO HERNANDEZ, LYDIA       ADDRESS ON FILE
CARABALLO HERNANDEZ, MARIA A     ADDRESS ON FILE
CARABALLO HERNANDEZ, MARIA J     ADDRESS ON FILE
CARABALLO HERNANDEZ, MARIA M     ADDRESS ON FILE
CARABALLO HERNANDEZ, SYLVIA      ADDRESS ON FILE
CARABALLO HERNANDEZ, ZULEYKA     ADDRESS ON FILE
CARABALLO HUERTAS, DALYMAR       ADDRESS ON FILE
CARABALLO HYLAND, JESSICA        ADDRESS ON FILE
CARABALLO HYLAND, JESSICA        ADDRESS ON FILE
CARABALLO IRIGOYEN, JUAN         ADDRESS ON FILE
CARABALLO IRIGOYEN, ORPHA E      ADDRESS ON FILE
CARABALLO IRIZARRY, ANGEL        ADDRESS ON FILE
CARABALLO IRIZARRY, DANIEL       ADDRESS ON FILE
CARABALLO IRIZARRY, EDUARDO      ADDRESS ON FILE
CARABALLO IRIZARRY, EDWIN        ADDRESS ON FILE
CARABALLO IRIZARRY, WALDEMAR     ADDRESS ON FILE
CARABALLO IRIZARRY, ZORAIDA      ADDRESS ON FILE
CARABALLO LA SANTA, JEAN         ADDRESS ON FILE
CARABALLO LAMBOY, DOMING         ADDRESS ON FILE
CARABALLO LANDRAU, FLOR DE A     ADDRESS ON FILE
CARABALLO LANDRAU, ROSARIO       ADDRESS ON FILE
CARABALLO LAYER, KRYSTAL         ADDRESS ON FILE
CARABALLO LEANDRY, JOSE C        ADDRESS ON FILE
CARABALLO LEBRON, XAVIER         ADDRESS ON FILE
CARABALLO LEMELL MD, LILLIAM     ADDRESS ON FILE
CARABALLO LLANOS, KARLA M.       ADDRESS ON FILE
CARABALLO LLANOS, OMAYRA         ADDRESS ON FILE
CARABALLO LOPEZ MD, ROSAMAR      ADDRESS ON FILE
CARABALLO LOPEZ, DORIS           ADDRESS ON FILE
CARABALLO LOPEZ, DORIS M.        ADDRESS ON FILE
Caraballo Lopez, Edgar           ADDRESS ON FILE
CARABALLO LOPEZ, EDGARD          ADDRESS ON FILE
CARABALLO LOPEZ, GRETCHEN        ADDRESS ON FILE




                                                                             Page 1151 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1152 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO LOPEZ, HECTOR          ADDRESS ON FILE
Caraballo Lopez, Jeannette       ADDRESS ON FILE
CARABALLO LOPEZ, JESUS A         ADDRESS ON FILE
CARABALLO LOPEZ, JOEL            ADDRESS ON FILE
Caraballo Lopez, Johanna         ADDRESS ON FILE
CARABALLO LOPEZ, JOSE            ADDRESS ON FILE
CARABALLO LOPEZ, JOSE            ADDRESS ON FILE
Caraballo Lopez, Jose A          ADDRESS ON FILE
Caraballo Lopez, Jose J.         ADDRESS ON FILE
CARABALLO LOPEZ, JOYCE           ADDRESS ON FILE
CARABALLO LOPEZ, KENDRA          ADDRESS ON FILE
CARABALLO LOPEZ, LEYDA M         ADDRESS ON FILE
CARABALLO LOPEZ, MAGDA Y         ADDRESS ON FILE
CARABALLO LOPEZ, MARILYN         ADDRESS ON FILE
CARABALLO LOPEZ, MIGUEL          ADDRESS ON FILE
Caraballo Lopez, Mirnaly         ADDRESS ON FILE
CARABALLO LOPEZ, MISAEL          ADDRESS ON FILE
CARABALLO LOPEZ, NATIVIDAD       ADDRESS ON FILE
CARABALLO LOPEZ, RAMONA          ADDRESS ON FILE
CARABALLO LOPEZ, ROSAMAR         ADDRESS ON FILE
CARABALLO LOPEZ, ROSEMARY        ADDRESS ON FILE
CARABALLO LOPEZ, SAHIRA          ADDRESS ON FILE
CARABALLO LOPEZ, SOLIMAR         ADDRESS ON FILE
Caraballo Lopez, Veronica        ADDRESS ON FILE
CARABALLO LOPEZ, VERONICA        ADDRESS ON FILE
Caraballo Lopez, Viadel J        ADDRESS ON FILE
CARABALLO LOPEZ, YAIDIMAR        ADDRESS ON FILE
CARABALLO LOPEZ, YARLENE         ADDRESS ON FILE
CARABALLO LOPEZ, YENDI           ADDRESS ON FILE
CARABALLO LOPEZ, ZULEIMA         ADDRESS ON FILE
CARABALLO LOPEZ,LYMARYS          ADDRESS ON FILE
CARABALLO LUCCA, RAMON           ADDRESS ON FILE
CARABALLO LUCIANO, HERMES        ADDRESS ON FILE
CARABALLO LUCIANO, MARISOL       ADDRESS ON FILE
CARABALLO LUCIANO, MIRIAM E      ADDRESS ON FILE
CARABALLO LUCIANO, MIRTHA        ADDRESS ON FILE
CARABALLO LUGO, ALBERTO          ADDRESS ON FILE
CARABALLO LUGO, ALBERTO A        ADDRESS ON FILE
CARABALLO LUGO, ANA              ADDRESS ON FILE
CARABALLO LUGO, JUAN JOSE        ADDRESS ON FILE
CARABALLO LUGO, MIGUEL           ADDRESS ON FILE
CARABALLO MADERA, CARLOS J.      ADDRESS ON FILE
CARABALLO MADERA, CARLOS J.      ADDRESS ON FILE
CARABALLO MADERA, GLADYS         ADDRESS ON FILE
Caraballo Madera, Noel           ADDRESS ON FILE
CARABALLO MADERA, NOEL           ADDRESS ON FILE
CARABALLO MALDONADO, DARYSABEL   ADDRESS ON FILE
CARABALLO MALDONADO, DAVID       ADDRESS ON FILE
CARABALLO MALDONADO, EIDA        ADDRESS ON FILE
CARABALLO MALDONADO, ELIUD       ADDRESS ON FILE
CARABALLO MALDONADO, JENNIFER    ADDRESS ON FILE
Caraballo Maldonado, Mario       ADDRESS ON FILE
Caraballo Maldonado, Noel        ADDRESS ON FILE
CARABALLO MALDONADO, NOEL        ADDRESS ON FILE
CARABALLO MALDONADO, OSVALDO     ADDRESS ON FILE
Caraballo Maldonado, Ricardo     ADDRESS ON FILE
CARABALLO MALDONADO, VIRGEN      ADDRESS ON FILE
CARABALLO MALDONADO, YEIDI       ADDRESS ON FILE
CARABALLO MALDONADO, YEIDI       ADDRESS ON FILE
CARABALLO MANGUAL, IRMA          ADDRESS ON FILE




                                                                             Page 1152 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1153 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO MARCANO, RAMONA             ADDRESS ON FILE
CARABALLO MARIANI, NORAIDA            ADDRESS ON FILE
Caraballo Marin, Miguel A             ADDRESS ON FILE
CARABALLO MARQUEZ, CARLOS             ADDRESS ON FILE
CARABALLO MARQUEZ, MARIA DEL CARMEN   ADDRESS ON FILE
CARABALLO MARQUEZ, WILMARIE           ADDRESS ON FILE
CARABALLO MARRERO, ELIZABETH          ADDRESS ON FILE
CARABALLO MARRERO, JEAN               ADDRESS ON FILE
CARABALLO MARRERO, NANCY I            ADDRESS ON FILE
CARABALLO MARTINEZ, ANAMARIE          ADDRESS ON FILE
CARABALLO MARTINEZ, ANGEL L           ADDRESS ON FILE
Caraballo Martinez, Bejamin           ADDRESS ON FILE
CARABALLO MARTINEZ, BENJAMIN          ADDRESS ON FILE
CARABALLO MARTINEZ, DARLENE           ADDRESS ON FILE
CARABALLO MARTINEZ, DOMINGO           ADDRESS ON FILE
CARABALLO MARTINEZ, EDWIN             ADDRESS ON FILE
CARABALLO MARTINEZ, ELIRIS            ADDRESS ON FILE
Caraballo Martinez, Elis M            ADDRESS ON FILE
CARABALLO MARTINEZ, EMMA              ADDRESS ON FILE
CARABALLO MARTINEZ, GABRIEL           ADDRESS ON FILE
CARABALLO MARTINEZ, HAYDEE            ADDRESS ON FILE
Caraballo Martinez, Hector L          ADDRESS ON FILE
CARABALLO MARTINEZ, IGXIAVEL          ADDRESS ON FILE
CARABALLO MARTINEZ, JOEL              ADDRESS ON FILE
CARABALLO MARTINEZ, JOSE              ADDRESS ON FILE
CARABALLO MARTINEZ, JOSE              ADDRESS ON FILE
CARABALLO MARTINEZ, JOSE              ADDRESS ON FILE
CARABALLO MARTINEZ, JUBENCIO C        ADDRESS ON FILE
CARABALLO MARTINEZ, KEISHA            ADDRESS ON FILE
CARABALLO MARTINEZ, MARAIDA           ADDRESS ON FILE
CARABALLO MARTINEZ, MILIVETTE         ADDRESS ON FILE
CARABALLO MARTINEZ, NEREIDA           ADDRESS ON FILE
CARABALLO MARTINEZ, RICHARD           ADDRESS ON FILE
CARABALLO MARTINEZ, ROBERTO           ADDRESS ON FILE
CARABALLO MARTINEZ, ROBERTO           ADDRESS ON FILE
CARABALLO MARTINEZ, RODOLFO           ADDRESS ON FILE
CARABALLO MARTINEZ, YANNELIA          ADDRESS ON FILE
CARABALLO MARTINEZ, YOLANDA I         ADDRESS ON FILE
CARABALLO MARTINEZ, ZAYRA             ADDRESS ON FILE
CARABALLO MARTINEZ, ZAYRA ENID        ADDRESS ON FILE
CARABALLO MARTIR, JOSE                ADDRESS ON FILE
CARABALLO MARTIR, JOSE J.             ADDRESS ON FILE
CARABALLO MATIENZO, LUIS J.           ADDRESS ON FILE
CARABALLO MATOS, CHRISTIAN            ADDRESS ON FILE
CARABALLO MATTEI, LUIS                ADDRESS ON FILE
CARABALLO MATTEI, LUIS                ADDRESS ON FILE
Caraballo Mattei, Luis Antonio        ADDRESS ON FILE
CARABALLO MATTEI, MARIA DE LOS        ADDRESS ON FILE
CARABALLO MAYMI, LEYDA                ADDRESS ON FILE
CARABALLO MEDINA, AMNERIS             ADDRESS ON FILE
CARABALLO MEDINA, CESAR O.            ADDRESS ON FILE
Caraballo Medina, Jose A              ADDRESS ON FILE
CARABALLO MEDINA, JUANITA             ADDRESS ON FILE
CARABALLO MELENDEZ, JOSE J            ADDRESS ON FILE
CARABALLO MELENDEZ, KAROLYN           ADDRESS ON FILE
CARABALLO MENDEZ, ANDRES              ADDRESS ON FILE
CARABALLO MENDEZ, JAN                 ADDRESS ON FILE
CARABALLO MENDEZ, JAN                 ADDRESS ON FILE
CARABALLO MENDEZ, LUZ                 ADDRESS ON FILE
CARABALLO MENDOZA, RAFAEL             ADDRESS ON FILE




                                                                                  Page 1153 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1154 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO MENEDEZ, LIGIA         ADDRESS ON FILE
CARABALLO MERCADO, DAISY         ADDRESS ON FILE
Caraballo Mercado, Eliddelia     ADDRESS ON FILE
Caraballo Mercado, Eric E        ADDRESS ON FILE
Caraballo Mercado, Erick         ADDRESS ON FILE
CARABALLO MERCADO, ERICK         ADDRESS ON FILE
CARABALLO MERCADO, ERICK         ADDRESS ON FILE
CARABALLO MERCADO, GUSTAVO       ADDRESS ON FILE
CARABALLO MERCADO, LOURDES       ADDRESS ON FILE
CARABALLO MERCADO, LUIS          ADDRESS ON FILE
CARABALLO MERCADO, RICHARD       ADDRESS ON FILE
CARABALLO MERCADO, TAMARA        ADDRESS ON FILE
CARABALLO MILANES, OMAR          ADDRESS ON FILE
CARABALLO MILLAN, EDGARD         ADDRESS ON FILE
CARABALLO MILLAN, FELIX J        ADDRESS ON FILE
CARABALLO MOLL, BRENDA L         ADDRESS ON FILE
CARABALLO MOLL, YANIRA           ADDRESS ON FILE
CARABALLO MONTALVO, GREGORIO     ADDRESS ON FILE
CARABALLO MORALES, ADALINA       ADDRESS ON FILE
CARABALLO MORALES, AMARILYS      ADDRESS ON FILE
CARABALLO MORALES, ARTURO        ADDRESS ON FILE
Caraballo Morales, Hector L      ADDRESS ON FILE
CARABALLO MORALES, JUAN          ADDRESS ON FILE
Caraballo Morales, Juan A        ADDRESS ON FILE
CARABALLO MORALES, MARTHA J      ADDRESS ON FILE
CARABALLO MORALES, MIGDALIA      ADDRESS ON FILE
CARABALLO MORALES, VICTOR        ADDRESS ON FILE
CARABALLO MORENO, LUZ            ADDRESS ON FILE
CARABALLO MORI, ARMANDO          ADDRESS ON FILE
CARABALLO MORI, EDWIN            ADDRESS ON FILE
CARABALLO MORIS, EDGAR           ADDRESS ON FILE
CARABALLO MORIS, SERAFIN         ADDRESS ON FILE
CARABALLO MOTA, FRANCELIS        ADDRESS ON FILE
CARABALLO MUNIZ, MINO            ADDRESS ON FILE
CARABALLO MUNIZ, PEDRO           ADDRESS ON FILE
CARABALLO MUNOZ, JOSE            ADDRESS ON FILE
CARABALLO MURIEL, JOE            ADDRESS ON FILE
CARABALLO MURIEL, JOE            ADDRESS ON FILE
CARABALLO NATAL, ANABEL          ADDRESS ON FILE
CARABALLO NATAL, ANABELLE        ADDRESS ON FILE
CARABALLO NAZARIO, GLENDA L      ADDRESS ON FILE
CARABALLO NAZARIO,GLENDA L.      ADDRESS ON FILE
CARABALLO NEGRON, JEANETTE       ADDRESS ON FILE
CARABALLO NEGRON, MARIA DE LOS   ADDRESS ON FILE
CARABALLO NEGRON, MARILYN        ADDRESS ON FILE
CARABALLO NEGRON, MOISES         ADDRESS ON FILE
CARABALLO NEGRON, NOEL           ADDRESS ON FILE
CARABALLO NEGRON, SHARON         ADDRESS ON FILE
CARABALLO NICOLAU, BENITO        ADDRESS ON FILE
CARABALLO NIEVES, AMANDA         ADDRESS ON FILE
CARABALLO NIEVES, ANNETTE        ADDRESS ON FILE
CARABALLO NIEVES, JESSICA        ADDRESS ON FILE
CARABALLO NIEVES, JESUS          ADDRESS ON FILE
CARABALLO NIEVES, MIGDALIA       ADDRESS ON FILE
CARABALLO NIEVES, NELSON         ADDRESS ON FILE
CARABALLO NIEVES, ROSA           ADDRESS ON FILE
CARABALLO NIVAL, CRUZ M          ADDRESS ON FILE
CARABALLO NUNEZ, JOSE R          ADDRESS ON FILE
CARABALLO NUSSA, SUHAM J         ADDRESS ON FILE
CARABALLO O FARRIL, LIZVETTE     ADDRESS ON FILE




                                                                             Page 1154 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1155 of 3500
                                                                               17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                   Address1                       Address2                                  Address3        Address4   City        State   PostalCode   Country
CARABALLO OJEDA, ALGEO          ADDRESS ON FILE
Caraballo Ojeda, Eusebio        ADDRESS ON FILE
CARABALLO OJEDA, EUSEBIO        ADDRESS ON FILE
CARABALLO OJEDA, JULIO          ADDRESS ON FILE
CARABALLO OJEDA, MIGDALIA       ADDRESS ON FILE
CARABALLO OJEDA, SANTIAGO       ADDRESS ON FILE
CARABALLO OLIVERAS, EFRAIN      ADDRESS ON FILE
CARABALLO OLIVERAS, HAROLD      ADDRESS ON FILE
CARABALLO OLIVERAS, HARRY       ADDRESS ON FILE
CARABALLO OLIVERAS, MICHAEL A   ADDRESS ON FILE
CARABALLO OLIVERAS, ONELIA      ADDRESS ON FILE
Caraballo Olivero, Edson E      ADDRESS ON FILE
CARABALLO OLIVIERI, BLANCA E.   ADDRESS ON FILE
CARABALLO OLIVIERI, NORALIS     ADDRESS ON FILE
CARABALLO OLIVO, MICHELLE       ADDRESS ON FILE
CARABALLO OQUENDO, JAYSON       ADDRESS ON FILE
CARABALLO ORAMAS, SANDRA        ADDRESS ON FILE
CARABALLO OREGON, SERGIO        ADDRESS ON FILE
CARABALLO ORENGO, ANGELITO      ADDRESS ON FILE
Caraballo Orengo, David         ADDRESS ON FILE
CARABALLO ORENGO, ELMER         ADDRESS ON FILE
CARABALLO ORENGO, EVELYN        ADDRESS ON FILE
CARABALLO ORENGO, IVAN          ADDRESS ON FILE
CARABALLO ORENGO, SAMI          ADDRESS ON FILE
CARABALLO ORENGO, WILLIAM       ADDRESS ON FILE
CARABALLO ORENGO, WILSON        ADDRESS ON FILE
CARABALLO ORTEGA, JONATHAN      ADDRESS ON FILE
CARABALLO ORTIZ FELIX ING.      LCDO. HÉCTOR A. CASTRO PÉREZ   CASTRO‐ PÉREZ & CASTRO CINTRÓN            P. O. BOX 227              YABUCOA     PR      00767
CARABALLO ORTIZ, ALEX           ADDRESS ON FILE
CARABALLO ORTIZ, CARMEN S       ADDRESS ON FILE
CARABALLO ORTIZ, ELISHA K.      ADDRESS ON FILE
CARABALLO ORTIZ, ELIZABETH      ADDRESS ON FILE
CARABALLO ORTIZ, EULOGIO        ADDRESS ON FILE
CARABALLO ORTIZ, GLENDA D       ADDRESS ON FILE
CARABALLO ORTIZ, IVAN J         ADDRESS ON FILE
CARABALLO ORTIZ, JAIME          ADDRESS ON FILE
CARABALLO ORTIZ, JOSE L.        ADDRESS ON FILE
CARABALLO ORTIZ, MARIA T        ADDRESS ON FILE
CARABALLO ORTIZ, MARILYN        ADDRESS ON FILE
CARABALLO ORTIZ, MIGDALIA       ADDRESS ON FILE
CARABALLO ORTIZ, MIRNALY        ADDRESS ON FILE
CARABALLO ORTIZ, NELLY I        ADDRESS ON FILE
CARABALLO ORTIZ, RAUL           ADDRESS ON FILE
CARABALLO ORTIZ, YARIXA         ADDRESS ON FILE
CARABALLO OSORIO, EVALIZ        ADDRESS ON FILE
CARABALLO OSORIO, NYDIA E       ADDRESS ON FILE
CARABALLO OTERO, AMED           ADDRESS ON FILE
CARABALLO OTERO, AMED J.        ADDRESS ON FILE
CARABALLO OTERO, LYDIA          ADDRESS ON FILE
CARABALLO OTERO, LYDIA A        ADDRESS ON FILE
CARABALLO PABON, DAMARIS        ADDRESS ON FILE
CARABALLO PABON, EVELYN         ADDRESS ON FILE
CARABALLO PABON, MARIA IBEL     ADDRESS ON FILE
CARABALLO PABON, RICARDO        ADDRESS ON FILE
CARABALLO PACHECO, ALBA         ADDRESS ON FILE
CARABALLO PACHECO, ALBA N       ADDRESS ON FILE
CARABALLO PACHECO, ECHANDI      ADDRESS ON FILE
CARABALLO PACHECO, ELSA         ADDRESS ON FILE
CARABALLO PACHECO, GABRIEL      ADDRESS ON FILE
CARABALLO PACHECO, LUISA        ADDRESS ON FILE




                                                                                          Page 1155 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1156 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO PACHECO, NORAIDA          ADDRESS ON FILE
CARABALLO PACHECO, RICARDO          ADDRESS ON FILE
CARABALLO PADILLA, AGNNA P          ADDRESS ON FILE
CARABALLO PADILLA, ANA              ADDRESS ON FILE
CARABALLO PADILLA, JACKELINE        ADDRESS ON FILE
CARABALLO PADILLA, JOSE LUIS        ADDRESS ON FILE
CARABALLO PADILLA, VICTOR A         ADDRESS ON FILE
CARABALLO PADUA, DAVID              ADDRESS ON FILE
CARABALLO PAGAN, NILSA E            ADDRESS ON FILE
CARABALLO PAGAN, NYDIA              ADDRESS ON FILE
CARABALLO PAGAN, OMAYRA             ADDRESS ON FILE
CARABALLO PAGAN, ROSA               ADDRESS ON FILE
CARABALLO PAGAN, WANDA I            ADDRESS ON FILE
CARABALLO PAGAN, WILFREDO           ADDRESS ON FILE
CARABALLO PANETO, CARMEN            ADDRESS ON FILE
CARABALLO PANETO, CLARIBEL          ADDRESS ON FILE
CARABALLO PANETO, CLARIBEL          ADDRESS ON FILE
CARABALLO PANETO, JOSE              ADDRESS ON FILE
CARABALLO PANETO, JOSE LUIS         ADDRESS ON FILE
CARABALLO PANETO, MARITZA           ADDRESS ON FILE
CARABALLO PARRILLA, JOSE A.         ADDRESS ON FILE
CARABALLO PARRILLA, RAFAEL          ADDRESS ON FILE
CARABALLO PASTRANA, FELIX CARLOS    ADDRESS ON FILE
CARABALLO PASTRANA, MARTA JANICCE   ADDRESS ON FILE
CARABALLO PEDRAZA, GLADYS           ADDRESS ON FILE
CARABALLO PEDRAZA, ILEANA           ADDRESS ON FILE
CARABALLO PEDRAZA, NILSA            ADDRESS ON FILE
CARABALLO PENA, FRANCISCO X.        ADDRESS ON FILE
CARABALLO PEREZ, ABIGAIL            ADDRESS ON FILE
CARABALLO PEREZ, ALEXIS L.          ADDRESS ON FILE
CARABALLO PEREZ, CARLOS             ADDRESS ON FILE
Caraballo Perez, Carlos J           ADDRESS ON FILE
CARABALLO PEREZ, CARMEN M           ADDRESS ON FILE
CARABALLO PEREZ, CYNTHIA            ADDRESS ON FILE
CARABALLO PEREZ, DAISY              ADDRESS ON FILE
CARABALLO PEREZ, EDGARDO            ADDRESS ON FILE
CARABALLO PEREZ, EDSON              ADDRESS ON FILE
Caraballo Perez, Edson E            ADDRESS ON FILE
CARABALLO PEREZ, EDWIN              ADDRESS ON FILE
CARABALLO PEREZ, FRACIS E           ADDRESS ON FILE
CARABALLO PEREZ, JESUS              ADDRESS ON FILE
CARABALLO PEREZ, JORGE A            ADDRESS ON FILE
CARABALLO PEREZ, JOSUE              ADDRESS ON FILE
CARABALLO PEREZ, LUIS               ADDRESS ON FILE
CARABALLO PEREZ, MARIA C            ADDRESS ON FILE
CARABALLO PEREZ, MARIA DEL C.       ADDRESS ON FILE
CARABALLO PEREZ, MIGUEL             ADDRESS ON FILE
CARABALLO PEREZ, SONIA              ADDRESS ON FILE
CARABALLO PEREZ, SONIA I            ADDRESS ON FILE
CARABALLO PICON, JONATHAN           ADDRESS ON FILE
CARABALLO PIETRI, ARACELIO          ADDRESS ON FILE
CARABALLO PIETRI, JOSE A.           ADDRESS ON FILE
CARABALLO PIETRI, LUIS A.           ADDRESS ON FILE
CARABALLO PLACIDO, RAMON            ADDRESS ON FILE
CARABALLO PONCE, ADELKA             ADDRESS ON FILE
CARABALLO PONCE, ANGELLICA          ADDRESS ON FILE
CARABALLO PUEYO, ILEANA             ADDRESS ON FILE
CARABALLO PUEYO, MADELINE           ADDRESS ON FILE
CARABALLO QUILES, JOSE              ADDRESS ON FILE
CARABALLO QUINONES, ALEXANDER       ADDRESS ON FILE




                                                                                Page 1156 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1157 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO QUINONES, CRISTOBAL       ADDRESS ON FILE
CARABALLO QUINONES, LUIANA          ADDRESS ON FILE
CARABALLO QUINONES, MARIBEL         ADDRESS ON FILE
CARABALLO QUINONES, MARIBEL         ADDRESS ON FILE
CARABALLO QUINONES, MARIEL          ADDRESS ON FILE
CARABALLO QUINONES, NOEL            ADDRESS ON FILE
CARABALLO QUINONES, ZORAIDA         ADDRESS ON FILE
CARABALLO QUINONEZ, MAGALY          ADDRESS ON FILE
CARABALLO QUIROS, EMMANUEL          ADDRESS ON FILE
CARABALLO QUIROS, IVETTE            ADDRESS ON FILE
CARABALLO QUIROS, JEISHA            ADDRESS ON FILE
CARABALLO QUIROS, JELISSA           ADDRESS ON FILE
CARABALLO RAMIREZ, BETTY F          ADDRESS ON FILE
CARABALLO RAMIREZ, CARMELO          ADDRESS ON FILE
CARABALLO RAMIREZ, DANIEL           ADDRESS ON FILE
CARABALLO RAMIREZ, FELIX            ADDRESS ON FILE
Caraballo Ramirez, Marta            ADDRESS ON FILE
CARABALLO RAMIREZ, MICHELLE         ADDRESS ON FILE
CARABALLO RAMIREZ, ROBELYN          ADDRESS ON FILE
CARABALLO RAMIREZ, RUBEN            ADDRESS ON FILE
CARABALLO RAMIREZ, SONIA            ADDRESS ON FILE
CARABALLO RAMOS, ANGEL A.           ADDRESS ON FILE
CARABALLO RAMOS, CARMEN P           ADDRESS ON FILE
CARABALLO RAMOS, FERNANDO           ADDRESS ON FILE
CARABALLO RAMOS, JORGE              ADDRESS ON FILE
CARABALLO RAMOS, JOSE L             ADDRESS ON FILE
CARABALLO RAMOS, JOSE L             ADDRESS ON FILE
CARABALLO RAMOS, JOSEFA             ADDRESS ON FILE
CARABALLO RAMOS, JUANA              ADDRESS ON FILE
CARABALLO RAMOS, MARIBER            ADDRESS ON FILE
CARABALLO RAMOS, OLGA               ADDRESS ON FILE
Caraballo Ramos, Salvi              ADDRESS ON FILE
CARABALLO RAMOS, SYLVIA             ADDRESS ON FILE
CARABALLO RAMOS, YAJAIRA            ADDRESS ON FILE
CARABALLO RESTO, WANDA I            ADDRESS ON FILE
CARABALLO REYES, ANGEL M.           ADDRESS ON FILE
CARABALLO REYES, ANGEL M.           ADDRESS ON FILE
CARABALLO REYES, HECTOR ALEJANDRO   ADDRESS ON FILE
CARABALLO REYES, LEYCI M            ADDRESS ON FILE
CARABALLO REYES, MARGARITA          ADDRESS ON FILE
CARABALLO REYES, VICTOR             ADDRESS ON FILE
CARABALLO REYES, VIRGINIA           ADDRESS ON FILE
CARABALLO RIOS, ANA R               ADDRESS ON FILE
CARABALLO RIOS, JUAN                ADDRESS ON FILE
Caraballo Rivas, David              ADDRESS ON FILE
CARABALLO RIVAS, ERIC               ADDRESS ON FILE
CARABALLO RIVERA, ALEXIS            ADDRESS ON FILE
CARABALLO RIVERA, ANGEL M.          ADDRESS ON FILE
CARABALLO RIVERA, ANTHONY           ADDRESS ON FILE
CARABALLO RIVERA, ANTONIO J.        ADDRESS ON FILE
CARABALLO RIVERA, BLANCA            ADDRESS ON FILE
CARABALLO RIVERA, BRENDA            ADDRESS ON FILE
CARABALLO RIVERA, CARLOS            ADDRESS ON FILE
CARABALLO RIVERA, CARMEN M.         ADDRESS ON FILE
CARABALLO RIVERA, EDWIN             ADDRESS ON FILE
CARABALLO RIVERA, EDWIN             ADDRESS ON FILE
Caraballo Rivera, Efrain            ADDRESS ON FILE
CARABALLO RIVERA, EURANIA           ADDRESS ON FILE
CARABALLO RIVERA, FRANCISCO         ADDRESS ON FILE
CARABALLO RIVERA, FRANKY            ADDRESS ON FILE




                                                                                Page 1157 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1158 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO RIVERA, GREGORY         ADDRESS ON FILE
CARABALLO RIVERA, JADEX           ADDRESS ON FILE
CARABALLO RIVERA, JAVIER          ADDRESS ON FILE
CARABALLO RIVERA, JESSICA M.      ADDRESS ON FILE
CARABALLO RIVERA, JOSE            ADDRESS ON FILE
CARABALLO RIVERA, JOSE A          ADDRESS ON FILE
Caraballo Rivera, Juan C          ADDRESS ON FILE
CARABALLO RIVERA, JULIO           ADDRESS ON FILE
CARABALLO RIVERA, KATHY           ADDRESS ON FILE
CARABALLO RIVERA, KENIA E         ADDRESS ON FILE
CARABALLO RIVERA, LUCILA          ADDRESS ON FILE
CARABALLO RIVERA, LUIS            ADDRESS ON FILE
CARABALLO RIVERA, LUIS D          ADDRESS ON FILE
CARABALLO RIVERA, MARGARITA       ADDRESS ON FILE
CARABALLO RIVERA, MARITZA         ADDRESS ON FILE
CARABALLO RIVERA, MERILYN         ADDRESS ON FILE
CARABALLO RIVERA, MONSERRATE      ADDRESS ON FILE
CARABALLO RIVERA, NELSON E        ADDRESS ON FILE
CARABALLO RIVERA, NILDA           ADDRESS ON FILE
CARABALLO RIVERA, PETRA           ADDRESS ON FILE
CARABALLO RIVERA, RAUL            ADDRESS ON FILE
CARABALLO RIVERA, REINALDO        ADDRESS ON FILE
CARABALLO RIVERA, THOMAS          ADDRESS ON FILE
CARABALLO RIVERA, WANDA           ADDRESS ON FILE
CARABALLO RIVERA, WILFREDO        ADDRESS ON FILE
CARABALLO RIVERO, LUZ A           ADDRESS ON FILE
CARABALLO ROBLES, ABIMAEL         ADDRESS ON FILE
CARABALLO ROBLES, DENISE          ADDRESS ON FILE
CARABALLO ROBLES, EDGARD          ADDRESS ON FILE
Caraballo Robles, Raymond         ADDRESS ON FILE
CARABALLO ROBLES, ROSALIE         ADDRESS ON FILE
CARABALLO RODRIGUEZ, ANA M        ADDRESS ON FILE
CARABALLO RODRIGUEZ, ANDREA       ADDRESS ON FILE
CARABALLO RODRIGUEZ, ANTONIO      ADDRESS ON FILE
CARABALLO RODRIGUEZ, BENIGNO      ADDRESS ON FILE
Caraballo Rodriguez, Bienvenido   ADDRESS ON FILE
CARABALLO RODRIGUEZ, BRENDA       ADDRESS ON FILE
CARABALLO RODRIGUEZ, BRISEIDA     ADDRESS ON FILE
CARABALLO RODRIGUEZ, CARMEN R     ADDRESS ON FILE
CARABALLO RODRIGUEZ, CLARIBEL     ADDRESS ON FILE
CARABALLO RODRIGUEZ, DAVID        ADDRESS ON FILE
CARABALLO RODRIGUEZ, EDMA         ADDRESS ON FILE
CARABALLO RODRIGUEZ, ELBA         ADDRESS ON FILE
CARABALLO RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
Caraballo Rodriguez, Eric         ADDRESS ON FILE
CARABALLO RODRIGUEZ, FRANCISCO    ADDRESS ON FILE
CARABALLO RODRIGUEZ, GARY I       ADDRESS ON FILE
CARABALLO RODRIGUEZ, GELITZA      ADDRESS ON FILE
CARABALLO RODRIGUEZ, GENEROSO     ADDRESS ON FILE
CARABALLO RODRIGUEZ, GLORYANN     ADDRESS ON FILE
CARABALLO RODRIGUEZ, HERIBERTO    ADDRESS ON FILE
CARABALLO RODRIGUEZ, IVAN         ADDRESS ON FILE
CARABALLO RODRIGUEZ, IVETTE       ADDRESS ON FILE
CARABALLO RODRIGUEZ, JACQUELINE   ADDRESS ON FILE
CARABALLO RODRIGUEZ, JAVIER       ADDRESS ON FILE
CARABALLO RODRIGUEZ, JENNIFER     ADDRESS ON FILE
CARABALLO RODRIGUEZ, JOHNATHAN    ADDRESS ON FILE
CARABALLO RODRIGUEZ, JOMIL        ADDRESS ON FILE
CARABALLO RODRIGUEZ, JOSE A       ADDRESS ON FILE
CARABALLO RODRIGUEZ, JOVIAN       ADDRESS ON FILE




                                                                              Page 1158 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1159 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO RODRIGUEZ, JUDITH        ADDRESS ON FILE
CARABALLO RODRIGUEZ, JULIO A       ADDRESS ON FILE
CARABALLO RODRIGUEZ, LILLIAM       ADDRESS ON FILE
CARABALLO RODRIGUEZ, LORENA        ADDRESS ON FILE
CARABALLO RODRIGUEZ, LOURDEMAR     ADDRESS ON FILE
Caraballo Rodriguez, Luis E        ADDRESS ON FILE
CARABALLO RODRIGUEZ, LUZ I         ADDRESS ON FILE
CARABALLO RODRIGUEZ, LYDIA M       ADDRESS ON FILE
CARABALLO RODRIGUEZ, MARIA         ADDRESS ON FILE
CARABALLO RODRIGUEZ, MARIELLIE     ADDRESS ON FILE
CARABALLO RODRIGUEZ, MARISOL       ADDRESS ON FILE
CARABALLO RODRIGUEZ, MAYLENE       ADDRESS ON FILE
CARABALLO RODRIGUEZ, MILAGROS      ADDRESS ON FILE
Caraballo Rodriguez, Osvaldo       ADDRESS ON FILE
CARABALLO RODRIGUEZ, PROVIDENCIA   ADDRESS ON FILE
Caraballo Rodriguez, Ramon         ADDRESS ON FILE
CARABALLO RODRIGUEZ, RICHARD       ADDRESS ON FILE
CARABALLO RODRIGUEZ, ROSA N        ADDRESS ON FILE
CARABALLO RODRIGUEZ, RUDERCINDO    ADDRESS ON FILE
CARABALLO RODRIGUEZ, SAUL          ADDRESS ON FILE
CARABALLO RODRIGUEZ, VIVIAN        ADDRESS ON FILE
CARABALLO RODRIGUEZ, VIVIAN        ADDRESS ON FILE
CARABALLO RODRIGUEZ, WANDA E       ADDRESS ON FILE
CARABALLO RODRIGUEZ, XAVIER        ADDRESS ON FILE
CARABALLO RODRIGUEZ, YOLANDA       ADDRESS ON FILE
CARABALLO ROMAN, EURIPIDES         ADDRESS ON FILE
CARABALLO ROMAN, MAYRA J.          ADDRESS ON FILE
CARABALLO RONDON, JOSUE            ADDRESS ON FILE
CARABALLO RONDON, MARILU           ADDRESS ON FILE
CARABALLO ROSA, AIDA E             ADDRESS ON FILE
CARABALLO ROSA, MARIA E            ADDRESS ON FILE
CARABALLO ROSADO, CARMEN           ADDRESS ON FILE
CARABALLO ROSADO, CARMEN           ADDRESS ON FILE
CARABALLO ROSADO, HECTOR           ADDRESS ON FILE
Caraballo Rosado, Juan C.          ADDRESS ON FILE
CARABALLO ROSADO, LISBET A         ADDRESS ON FILE
CARABALLO ROSADO, SILESIA          ADDRESS ON FILE
CARABALLO ROSARIO, AMALIA          ADDRESS ON FILE
CARABALLO ROSARIO, DIARA           ADDRESS ON FILE
CARABALLO ROSARIO, ELIEZER         ADDRESS ON FILE
CARABALLO ROSARIO, FRANCISCO J     ADDRESS ON FILE
Caraballo Rosario, Hiram           ADDRESS ON FILE
CARABALLO ROSARIO, MARIA           ADDRESS ON FILE
CARABALLO ROSARIO, MARIA A.        ADDRESS ON FILE
Caraballo Rosario, Maria Del C     ADDRESS ON FILE
CARABALLO ROSARIO, RENE            ADDRESS ON FILE
CARABALLO ROSARIO, RENE            ADDRESS ON FILE
CARABALLO ROSARIO, SANTOS          ADDRESS ON FILE
CARABALLO ROSAS, RAMON A           ADDRESS ON FILE
CARABALLO RUIZ, ARACELIS           ADDRESS ON FILE
CARABALLO RUIZ, ARACELIS           ADDRESS ON FILE
CARABALLO RUIZ, AUREA E            ADDRESS ON FILE
CARABALLO RUIZ, DEBORAH            ADDRESS ON FILE
CARABALLO RUIZ, EDNA               ADDRESS ON FILE
CARABALLO RUIZ, EDNA I             ADDRESS ON FILE
CARABALLO RUIZ, JUAN E             ADDRESS ON FILE
CARABALLO RUIZ, LINET M            ADDRESS ON FILE
CARABALLO RUIZ, MARIA              ADDRESS ON FILE
CARABALLO RUIZ, REINALDO           ADDRESS ON FILE
CARABALLO RUIZ, VICTOR             ADDRESS ON FILE




                                                                               Page 1159 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1160 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO RVIERA, JAVIER          ADDRESS ON FILE
CARABALLO SAENZ, HELEN            ADDRESS ON FILE
CARABALLO SAEZ, EDDIE             ADDRESS ON FILE
CARABALLO SAEZ, EVELIO            ADDRESS ON FILE
CARABALLO SAEZ, NEIDY M.          ADDRESS ON FILE
CARABALLO SALCEDO, AIDA           ADDRESS ON FILE
CARABALLO SALCEDO, MICHAEL        ADDRESS ON FILE
CARABALLO SALIVIA, VANESSA        ADDRESS ON FILE
CARABALLO SALOME, MADELINE        ADDRESS ON FILE
CARABALLO SALOME, NOEMI           ADDRESS ON FILE
CARABALLO SANABRIA, NIDZA J.      ADDRESS ON FILE
CARABALLO SANCHEZ, ILDEFONSO      ADDRESS ON FILE
Caraballo Sanchez, Jose A         ADDRESS ON FILE
CARABALLO SANCHEZ, MIRIAM N       ADDRESS ON FILE
CARABALLO SANCHEZ, RAMON          ADDRESS ON FILE
CARABALLO SANCHEZ, SANDRA N       ADDRESS ON FILE
CARABALLO SANTA, KAREM            ADDRESS ON FILE
CARABALLO SANTANA, ROSA L         ADDRESS ON FILE
CARABALLO SANTIAGO, ANA H         ADDRESS ON FILE
CARABALLO SANTIAGO, ANA M.        ADDRESS ON FILE
CARABALLO SANTIAGO, ANGEL         ADDRESS ON FILE
CARABALLO SANTIAGO, ANGELA        ADDRESS ON FILE
CARABALLO SANTIAGO, ANTONIO       ADDRESS ON FILE
CARABALLO SANTIAGO, BETSY E       ADDRESS ON FILE
CARABALLO SANTIAGO, CHRISTOPHER   ADDRESS ON FILE
Caraballo Santiago, Delia         ADDRESS ON FILE
CARABALLO SANTIAGO, DELIA         ADDRESS ON FILE
CARABALLO SANTIAGO, ERIC J.       ADDRESS ON FILE
CARABALLO SANTIAGO, FRANK         ADDRESS ON FILE
CARABALLO SANTIAGO, HAYDEE        ADDRESS ON FILE
CARABALLO SANTIAGO, HIRAM         ADDRESS ON FILE
CARABALLO SANTIAGO, JOSE          ADDRESS ON FILE
CARABALLO SANTIAGO, JOSE          ADDRESS ON FILE
CARABALLO SANTIAGO, JOSE A        ADDRESS ON FILE
CARABALLO SANTIAGO, JUAN C.       ADDRESS ON FILE
CARABALLO SANTIAGO, MARIELA       ADDRESS ON FILE
CARABALLO SANTIAGO, MIGUEL A.     ADDRESS ON FILE
CARABALLO SANTIAGO, MIRNA         ADDRESS ON FILE
CARABALLO SANTIAGO, NELSON        ADDRESS ON FILE
CARABALLO SANTIAGO, RICARDO       ADDRESS ON FILE
CARABALLO SANTIAGO, RICHARD       ADDRESS ON FILE
CARABALLO SANTIAGO, SARA L.       ADDRESS ON FILE
CARABALLO SANTIAGO, SOLIMAR       ADDRESS ON FILE
CARABALLO SANTIAGO, SOLMARIE      ADDRESS ON FILE
CARABALLO SANTIAGO, THERMA        ADDRESS ON FILE
CARABALLO SANTOS, CARLOS J        ADDRESS ON FILE
CARABALLO SANTOS, MANUEL          ADDRESS ON FILE
CARABALLO SANTOS, REYMOND         ADDRESS ON FILE
CARABALLO SEDA, ERIC M            ADDRESS ON FILE
CARABALLO SEGARRA, AIDA           ADDRESS ON FILE
CARABALLO SEGARRA, AIDA           ADDRESS ON FILE
Caraballo Segarra, Alexis         ADDRESS ON FILE
CARABALLO SEGARRA, ALEXIS         ADDRESS ON FILE
CARABALLO SEGARRA, ANIBAL         ADDRESS ON FILE
Caraballo Sepulveda, Elisamuel    ADDRESS ON FILE
CARABALLO SEPULVEDA, JOHNNY       ADDRESS ON FILE
CARABALLO SEPULVEDA, JORGE A      ADDRESS ON FILE
Caraballo Sepulveda, Jose E       ADDRESS ON FILE
CARABALLO SEPULVEDA, JOSE E.      ADDRESS ON FILE
CARABALLO SEPULVEDA, LUIS D.      ADDRESS ON FILE




                                                                              Page 1160 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1161 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO SEPULVEDA, MARIBEL    ADDRESS ON FILE
CARABALLO SEPULVEDA, MIGUEL J   ADDRESS ON FILE
CARABALLO SERRANO, ELIUD        ADDRESS ON FILE
CARABALLO SERRANO, LUCIA        ADDRESS ON FILE
CARABALLO SERRANO, NELLY        ADDRESS ON FILE
CARABALLO SERRANO, NOEL E       ADDRESS ON FILE
CARABALLO SERRANO, REBECCA I.   ADDRESS ON FILE
CARABALLO SIERRA, CARLOS        ADDRESS ON FILE
CARABALLO SILVA, NADIA          ADDRESS ON FILE
CARABALLO SOTO, CARMEN C.       ADDRESS ON FILE
CARABALLO SOTO, EUGENIO         ADDRESS ON FILE
CARABALLO SOTO, FERNANDO        ADDRESS ON FILE
CARABALLO SOTO, LOURDES         ADDRESS ON FILE
CARABALLO SOTO, MAGDALENA       ADDRESS ON FILE
CARABALLO SOTO, MARIBEL         ADDRESS ON FILE
CARABALLO SOTO, ORLANDO         ADDRESS ON FILE
CARABALLO SOTOMAYOR, ELSIE      ADDRESS ON FILE
CARABALLO SUAREZ, HECTOR L      ADDRESS ON FILE
Caraballo Sud, William          ADDRESS ON FILE
Caraballo Suren, Dimas          ADDRESS ON FILE
CARABALLO SUREN, FELICITA       ADDRESS ON FILE
CARABALLO SUSARRET, IRIS M.     ADDRESS ON FILE
CARABALLO TOLLINCHI, ELDA       ADDRESS ON FILE
CARABALLO TOLOSA, VICTOR        ADDRESS ON FILE
Caraballo Tolosa, Victor J.     ADDRESS ON FILE
CARABALLO TORO, ADAH            ADDRESS ON FILE
CARABALLO TORO, JUAN            ADDRESS ON FILE
CARABALLO TORO, LUIS            ADDRESS ON FILE
CARABALLO TORO, ROSA J          ADDRESS ON FILE
CARABALLO TORO, ROSALINDA       ADDRESS ON FILE
CARABALLO TORRADO, DIANA        ADDRESS ON FILE
CARABALLO TORRE, MARYANN        ADDRESS ON FILE
CARABALLO TORRES, AISHA         ADDRESS ON FILE
CARABALLO TORRES, ANA M         ADDRESS ON FILE
CARABALLO TORRES, ANGELA L      ADDRESS ON FILE
CARABALLO TORRES, CARLA         ADDRESS ON FILE
CARABALLO TORRES, CARLOS A.     ADDRESS ON FILE
CARABALLO TORRES, CARMEN        ADDRESS ON FILE
CARABALLO TORRES, DORA          ADDRESS ON FILE
CARABALLO TORRES, ELBA          ADDRESS ON FILE
CARABALLO TORRES, ELVIN         ADDRESS ON FILE
CARABALLO TORRES, EVELYN        ADDRESS ON FILE
CARABALLO TORRES, EVELYN        ADDRESS ON FILE
CARABALLO TORRES, GAMALIER      ADDRESS ON FILE
Caraballo Torres, Hector A      ADDRESS ON FILE
CARABALLO TORRES, IDALIE        ADDRESS ON FILE
CARABALLO TORRES, ISMELIA       ADDRESS ON FILE
CARABALLO TORRES, JESUS A       ADDRESS ON FILE
CARABALLO TORRES, KIARA         ADDRESS ON FILE
CARABALLO TORRES, LIZBETH       ADDRESS ON FILE
CARABALLO TORRES, MARITZA E     ADDRESS ON FILE
CARABALLO TORRES, MIGUEL        ADDRESS ON FILE
CARABALLO TORRES, NILSA         ADDRESS ON FILE
CARABALLO TORRES, NYDIA         ADDRESS ON FILE
CARABALLO TORRES, OSCAR         ADDRESS ON FILE
Caraballo Torres, Oscar E       ADDRESS ON FILE
CARABALLO TORRES, OSVALDO       ADDRESS ON FILE
CARABALLO TORRES, RADAMES       ADDRESS ON FILE
Caraballo Torres, Sorangel      ADDRESS ON FILE
CARABALLO TORRES, SORANGEL      ADDRESS ON FILE




                                                                            Page 1161 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1162 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARABALLO TORRES, WANDA I.        ADDRESS ON FILE
CARABALLO TORRES, WANDA J         ADDRESS ON FILE
CARABALLO TORRES, WILLIAM         ADDRESS ON FILE
CARABALLO TROCHE, EDWIN           ADDRESS ON FILE
CARABALLO UBILES, HULDA           ADDRESS ON FILE
CARABALLO URIZ, FERNANDO L        ADDRESS ON FILE
CARABALLO VALENTIN, ALICIA        ADDRESS ON FILE
CARABALLO VALENTIN, JUAN A        ADDRESS ON FILE
CARABALLO VALENTIN, WANDA         ADDRESS ON FILE
CARABALLO VALLE, CARMEN           ADDRESS ON FILE
CARABALLO VALLE, CARMEN D.        ADDRESS ON FILE
CARABALLO VARGAS, ADRIANA         ADDRESS ON FILE
CARABALLO VARGAS, ANTONIO         ADDRESS ON FILE
CARABALLO VARGAS, JOSE            ADDRESS ON FILE
CARABALLO VARGAS, JULIO E         ADDRESS ON FILE
CARABALLO VARGAS, MARIA I         ADDRESS ON FILE
CARABALLO VARGAS, MIGUEL          ADDRESS ON FILE
CARABALLO VARGAS, RAMONA          ADDRESS ON FILE
Caraballo Vazquez, Anthony        ADDRESS ON FILE
CARABALLO VAZQUEZ, CHRISTIAN      ADDRESS ON FILE
CARABALLO VAZQUEZ, JOSE           ADDRESS ON FILE
Caraballo Vazquez, Jose A         ADDRESS ON FILE
CARABALLO VAZQUEZ, JOSE A         ADDRESS ON FILE
Caraballo Vazquez, Jose E         ADDRESS ON FILE
Caraballo Vazquez, Manuel         ADDRESS ON FILE
CARABALLO VAZQUEZ, MARIA D        ADDRESS ON FILE
CARABALLO VAZQUEZ, MYRNA G.       ADDRESS ON FILE
CARABALLO VAZQUEZ, RAMON          ADDRESS ON FILE
CARABALLO VAZQUEZ, SANDLEY        ADDRESS ON FILE
Caraballo Vazquez, Zulma          ADDRESS ON FILE
Caraballo Vega, Axel              ADDRESS ON FILE
CARABALLO VEGA, CLARA             ADDRESS ON FILE
CARABALLO VEGA, EDWIN             ADDRESS ON FILE
Caraballo Vega, Eliezer           ADDRESS ON FILE
CARABALLO VEGA, ELIEZER           ADDRESS ON FILE
CARABALLO VEGA, ERICK             ADDRESS ON FILE
CARABALLO VEGA, JOHAN             ADDRESS ON FILE
CARABALLO VEGA, SACHA             ADDRESS ON FILE
CARABALLO VEGA, SHEYLA G          ADDRESS ON FILE
Caraballo Vega, Walesca           ADDRESS ON FILE
CARABALLO VELAZQUEZ, ELLEN I      ADDRESS ON FILE
CARABALLO VELAZQUEZ, GABRIEL J.   ADDRESS ON FILE
CARABALLO VELAZQUEZ, LUIS         ADDRESS ON FILE
CARABALLO VELAZQUEZ, RUBY         ADDRESS ON FILE
CARABALLO VELAZQUEZ, VIDAL        ADDRESS ON FILE
CARABALLO VELAZQUEZ, WILSON A     ADDRESS ON FILE
CARABALLO VELEZ MD, JAVIER        ADDRESS ON FILE
CARABALLO VELEZ, AXEL             ADDRESS ON FILE
CARABALLO VELEZ, EDUARDO          ADDRESS ON FILE
CARABALLO VELEZ, EDWIN            ADDRESS ON FILE
Caraballo Velez, Epifanio         ADDRESS ON FILE
CARABALLO VELEZ, EPIFANIO         ADDRESS ON FILE
CARABALLO VELEZ, EPIFANIO         ADDRESS ON FILE
CARABALLO VELEZ, FERNANDO         ADDRESS ON FILE
CARABALLO VELEZ, GLORIMAR         ADDRESS ON FILE
CARABALLO VELEZ, JORGE            ADDRESS ON FILE
CARABALLO VELEZ, JOSE A           ADDRESS ON FILE
CARABALLO VELEZ, JOSUE E.         ADDRESS ON FILE
CARABALLO VELEZ, MARIBEL          ADDRESS ON FILE
CARABALLO VELEZ, NILDA            ADDRESS ON FILE




                                                                              Page 1162 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1163 of 3500
                                                                                17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                    Address1                     Address2                           Address3       Address4   City         State   PostalCode   Country
CARABALLO VELEZ, VIDAL           ADDRESS ON FILE
CARABALLO VELEZ, VIDAL           ADDRESS ON FILE
CARABALLO VENTURA, HENRY         ADDRESS ON FILE
CARABALLO VICARIO, GERSON        ADDRESS ON FILE
CARABALLO VICENS, GLADYS         ADDRESS ON FILE
CARABALLO VICENTE, YARA M        ADDRESS ON FILE
CARABALLO VILA, DICKYRA          ADDRESS ON FILE
Caraballo Villalongo, Miguel A   ADDRESS ON FILE
CARABALLO VILLEGA, MILAGROS      ADDRESS ON FILE
CARABALLO VILLEGAS, VIRGINIA     ADDRESS ON FILE
CARABALLO VIROLA, SAMUEL         ADDRESS ON FILE
CARABALLO WALKER, DAISY J.       ADDRESS ON FILE
CARABALLO, ALEXIS                ADDRESS ON FILE
CARABALLO, ALEXIS                ADDRESS ON FILE
CARABALLO, ANTONIO               ADDRESS ON FILE
CARABALLO, DALIES Y.             ADDRESS ON FILE
CARABALLO, ELIZABETH             ADDRESS ON FILE
CARABALLO, FRANCES               ADDRESS ON FILE
CARABALLO, FRANKIE               ADDRESS ON FILE
CARABALLO, HECTOR                ADDRESS ON FILE
CARABALLO, HERIBERTO             ADDRESS ON FILE
CARABALLO, JERMANE               ADDRESS ON FILE
CARABALLO, KARLA                 ADDRESS ON FILE
CARABALLO, LUIS                  ADDRESS ON FILE
CARABALLO, MARIA DE LOS A.       ADDRESS ON FILE
CARABALLO, MARTHA B              ADDRESS ON FILE
CARABALLO, RAMON                 ADDRESS ON FILE
CARABALLO, RONALD                ADDRESS ON FILE
CARABALLO, UROYOAN               ADDRESS ON FILE
CARABALLO, WILLIAM               ADDRESS ON FILE
CARABALLOBURGOS, HILDA           ADDRESS ON FILE
CARABALLOGARCIA, JOSE DANIEL     ADDRESS ON FILE
Caraballo‐Martínez, José         ADDRESS ON FILE
CARABALLORIVERA, ARMINDA         ADDRESS ON FILE
CARABALLOSRAMOS, ZORAIDA         ADDRESS ON FILE
CARABALLOVEGA, FRANCISCO         ADDRESS ON FILE
CARABALO IRIZARRY, WILFREDO      ADDRESS ON FILE
CARABEL EXPORT AND IMPORT INC    PO BOX 9022562                                                                            SAN JUAN     PR      00902
CARABEL EXPORT AND IMPORT INC    URB PUERTO NUEVO             948 AVE ROOSEVELT                                            SAN JUAN     PR      00920
CARABELLO MD , RITA L            ADDRESS ON FILE
CARABEO ALEMAN, LAZARO           ADDRESS ON FILE
CARADERO MIRANDA, CRISTOFE       ADDRESS ON FILE
CARAFFA LOPEZ, JOSE L.           ADDRESS ON FILE
CARAFFA RODRIGUEZ, JOSEANN       ADDRESS ON FILE
CARAHSOFT TECHNOLOGY CORP        1860 MICHAEL FARADAY DRIVE   SUITE 100                                                    RESTON       VA      20190
CARALI RODRIGUEZ VIZCARRONDO     ADDRESS ON FILE
                                                                                                 URB. ALT. DE
CARALÍ RODRÍGUEZ VIZCARRONDO     JESÚS MIRANDA DÍAZ           3S31 CALLE 44                      BUCARABONES               TOA ALTA     PR      00953
CARAMBOT BERRIOS, MARIA DEL C    ADDRESS ON FILE
Carambot Berrios, Rafael         ADDRESS ON FILE
CARAMBOT BERRIOS, RAFAEL         ADDRESS ON FILE
CARAMBOT CARRION, CARLOS         ADDRESS ON FILE
CARAMBOT CORDERO, CINDY          ADDRESS ON FILE
CARAMBOT GARCIA, NOEMI           ADDRESS ON FILE
CARAMBOT LAGO, SAMUEL            ADDRESS ON FILE
CARAMBOT LEGRAND, HILDA          ADDRESS ON FILE
CARAMBOT MALDONADO, PEDRO        JERRYKA M. ANGLERO SANCHEZ   PO BOX 746                                                   ARROYO       PR      00714
CARAMBOT RUIZ, AIDA M.           ADDRESS ON FILE
CARAMBOT SANTOS, RUBEN           ADDRESS ON FILE
CARAMBOT SERRANO, AGAR           ADDRESS ON FILE




                                                                                  Page 1163 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1164 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARAMBOT, ZOMARIS                 ADDRESS ON FILE
CARAS DE LAS AMERICAS             PO BOX 192386                                                                    SAN JUAN     PR      00919‐2386
CARASQUILLO FREIRE, GUSTAVO       ADDRESS ON FILE
CARASQUILLO MATOS, CARMEN I       ADDRESS ON FILE
CARATINI ALVARADO, ELSA           ADDRESS ON FILE
CARATINI BERMUDEZ, LEILA I        ADDRESS ON FILE
CARATINI BERMUDEZ, MARILYN        ADDRESS ON FILE
CARATINI BERMUDEZ, PEGGY L        ADDRESS ON FILE
Caratini Colon, Tatiana Jeannet   ADDRESS ON FILE
CARATINI GREGORIO, ANAMARI        ADDRESS ON FILE
CARATINI GREGORIO, ANAMARI        ADDRESS ON FILE
CARATINI MARTINEZ, RICARDO        ADDRESS ON FILE
CARATINI RODRIGUEZ, GLORIMAR      ADDRESS ON FILE
Caratini Rolon, Maribel           ADDRESS ON FILE
Caratini Santos, Victor R         ADDRESS ON FILE
CARATINI SERRANO, ISAAC           ADDRESS ON FILE
CARATINI SERRANO, MARGARET        ADDRESS ON FILE
CARATINI SOTO MD, FELIX           ADDRESS ON FILE
CARATINI SOTO, ANGEL              ADDRESS ON FILE
Caratini Soto, Felix A            ADDRESS ON FILE
CARATINILOPEZ, GEORGINA           ADDRESS ON FILE
CARATTINI ALVARADO, CARMEN        ADDRESS ON FILE
CARATTINI ALVARADO, MARIA         ADDRESS ON FILE
CARATTINI ANDINO, ISABEL          ADDRESS ON FILE
CARATTINI APONTE, JOSE            ADDRESS ON FILE
CARATTINI BANOLA, HILDA N.        ADDRESS ON FILE
CARATTINI BERMUDEZ, MAGGIE A      ADDRESS ON FILE
CARATTINI CINTRON, AIDA G         ADDRESS ON FILE
Carattini Colon, Lydia            ADDRESS ON FILE
CARATTINI DIANA, CARMEN DELIA     ADDRESS ON FILE
CARATTINI GALLARDO, VICTOR        ADDRESS ON FILE
CARATTINI GARCIA, GERAILEEN       ADDRESS ON FILE
CARATTINI GONZALEZ, DESERIE M     ADDRESS ON FILE
CARATTINI HERNANDEZ, AMELIA M     ADDRESS ON FILE
CARATTINI HERNANDEZ, CLARIMAR     ADDRESS ON FILE
CARATTINI HERNANDEZ, IRIS V       ADDRESS ON FILE
CARATTINI HERNANDEZ, MABEL        ADDRESS ON FILE
CARATTINI LABOY, ANTONIO          ADDRESS ON FILE
CARATTINI LIZARDI, WALESKA        ADDRESS ON FILE
CARATTINI LOPEZ, ROBERTO          ADDRESS ON FILE
CARATTINI MEJIAS, MIGUEL          ADDRESS ON FILE
CARATTINI MENDOZA, CESAR          ADDRESS ON FILE
CARATTINI OCASIO, JUAN A.         ADDRESS ON FILE
CARATTINI ORTIZ, SANDRA I         ADDRESS ON FILE
CARATTINI QUESTEL, CRISTIAN       ADDRESS ON FILE
CARATTINI RIVERA, CARLOS          ADDRESS ON FILE
CARATTINI RIVERA, ROBERTO         ADDRESS ON FILE
CARATTINI RIVERA, WILLIAM         ADDRESS ON FILE
CARATTINI ROLON, ELIZABETH        ADDRESS ON FILE
Carattini Santiago, Oniel         ADDRESS ON FILE
CARATTINI SERRANO, ESTEBAN        ADDRESS ON FILE
CARATTINI SERRANO, ISAAC          ADDRESS ON FILE
CARATTINI SUAREZ, NEREIDA         ADDRESS ON FILE
CARATTINI ZAPATA, YASENIA         ADDRESS ON FILE
CARATTINI, STEPHANIE              ADDRESS ON FILE
CARATTINO RODRIGUEZ, GLORIMAR     ADDRESS ON FILE
CARAVELLA MD , PETER A            ADDRESS ON FILE
CARAYA CORP                       PO BOX 331661                                                                    PONCE        PR      00733‐1661
CARAZO AYUSO, LUZ S               ADDRESS ON FILE
CARAZO ENCARNACION, MILAGROS      ADDRESS ON FILE




                                                                              Page 1164 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1165 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARAZO GILOT, CARLOS M.           ADDRESS ON FILE
CARAZO GONZALEZ, JORGE            ADDRESS ON FILE
CARAZO GONZALEZ, RANDY J          ADDRESS ON FILE
CARAZO MARCANO, ILEANA            ADDRESS ON FILE
CARAZO QUETGLAS, EDGARDO          ADDRESS ON FILE
CARAZO REYES, KARLA               ADDRESS ON FILE
CARAZO RIVERA, JUAN R             ADDRESS ON FILE
CARAZO RODRIGUEZ MD, JAIME        ADDRESS ON FILE
CARAZO RODRIGUEZ, JAIME           ADDRESS ON FILE
CARAZO RODRIGUEZ, JUAN            ADDRESS ON FILE
CARAZO VAZQUEZ, VIVIANA           ADDRESS ON FILE
CARBAJAL NISTAL, ROLANDO          ADDRESS ON FILE
CARBAJOSAGARCIA, JORGE            ADDRESS ON FILE
CARBALLADA TRUJILLO, LUCIA        ADDRESS ON FILE
CARBALLADA TRUJILLO, LUCIA        ADDRESS ON FILE
CARBALLEIRA ESPINA, SONYA M       ADDRESS ON FILE
CARBALLIDO ARAGON, JAVIER         ADDRESS ON FILE
CARBALLIDO ROMERO, CARIDAD M      ADDRESS ON FILE
CARBALLO BATISTA, SUGEIL          ADDRESS ON FILE
CARBALLO BERRIOS, MARIA A         ADDRESS ON FILE
CARBALLO BETANCORT, MARIEL        ADDRESS ON FILE
CARBALLO BETANCOURT, MARCOS A.    ADDRESS ON FILE
CARBALLO BETANCOURT, MARICARMEN   ADDRESS ON FILE
CARBALLO BETANCOURT, MARTA        ADDRESS ON FILE
CARBALLO CARRASQUILLO, ADA        ADDRESS ON FILE
CARBALLO CASANOVA, MARI           ADDRESS ON FILE
CARBALLO CRESPO, LOURDES          ADDRESS ON FILE
CARBALLO DE LA CRUZ, JORGE        ADDRESS ON FILE
CARBALLO DELGADO, ANGEL           ADDRESS ON FILE
CARBALLO DELGADO, CARLOS I        ADDRESS ON FILE
CARBALLO DINGUIS, ANGELA M        ADDRESS ON FILE
CARBALLO DINGUIS, MANUEL A        ADDRESS ON FILE
CARBALLO DURAN MD, FRANCISCO      ADDRESS ON FILE
CARBALLO FLANDES, MARTHA          ADDRESS ON FILE
CARBALLO LOPEZ, JOSE              ADDRESS ON FILE
CARBALLO LOPEZ, NIDSA I.          ADDRESS ON FILE
CARBALLO MERCED, IVAN             ADDRESS ON FILE
CARBALLO NOGUERAS, SYLKIA         ADDRESS ON FILE
CARBALLO ORTEGA, CARMEN           ADDRESS ON FILE
CARBALLO ORTEGA, CARMEN E         ADDRESS ON FILE
CARBALLO ORTEGA, KAREM            ADDRESS ON FILE
CARBALLO QUESADA, YUNISDELSIS     ADDRESS ON FILE
CARBALLO RIVERA, AIDYVIANET       ADDRESS ON FILE
Carballo Rivera, Jose M.          ADDRESS ON FILE
CARBALLO RIVERA, LOURDES          ADDRESS ON FILE
CARBALLO RODRIGUEZ, ALEXANDRA     ADDRESS ON FILE
CARBALLO RODRIGUEZ, GEISHA        ADDRESS ON FILE
CARBALLO RODRIGUEZ, PAULINA       ADDRESS ON FILE
CARBALLO RODRIGUEZ, RAFAEL        ADDRESS ON FILE
CARBALLO SANTIAGO, CARLOS         ADDRESS ON FILE
CARBALLO TORRES, ARELYS           ADDRESS ON FILE
CARBALLO TRINIDAD, ANA R.         ADDRESS ON FILE
CARBALLO VEGA, WALESKA            ADDRESS ON FILE
CARBALLOSA MD, MARIA              ADDRESS ON FILE
CARBIA FELICES, APELIO            ADDRESS ON FILE
CARBIA FELICES, ORLANDO           ADDRESS ON FILE
CARBIA FERNANDEZ, HECTOR          ADDRESS ON FILE
CARBIA FERNANDEZ, HECTOR          ADDRESS ON FILE
CARBIA GONZALEZ, ROLANDO          ADDRESS ON FILE
CARBIA GUTIERREZ, JORGE           ADDRESS ON FILE




                                                                              Page 1165 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1166 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                      Address1                  Address2                                 Address3   Address4   City         State   PostalCode   Country
CARBIA RODRIGUEZ, VILMARI          ADDRESS ON FILE
CARBO ABBOTT, NYDIA T              ADDRESS ON FILE
CARBO BRAVO, JAMIL                 ADDRESS ON FILE
CARBO CACERES, MILFRED             ADDRESS ON FILE
CARBO FERNANDEZ, AMARILLYS         ADDRESS ON FILE
CARBO FERNANDEZ, ANTONIO           ADDRESS ON FILE
CARBO FUENTES, DENISE A            ADDRESS ON FILE
CARBO FUENTES, DENISE A            ADDRESS ON FILE
CARBO GONZALEZ, LAURA              ADDRESS ON FILE
CARBO LUGO, AGUSTIN                ADDRESS ON FILE
CARBO LUGO, AGUSTIN                ADDRESS ON FILE
CARBO LUGO, RAFAEL                 ADDRESS ON FILE
CARBO MALDONADO, FRANCESCA         ADDRESS ON FILE
Carbo Marty, Francisco             ADDRESS ON FILE
CARBO OTERO, KEISHLA               ADDRESS ON FILE
CARBO RIVERA, JENNIFER             ADDRESS ON FILE
CARBO RIVERA, JESSICA              ADDRESS ON FILE
CARBO RODRIGUEZ, ILKA              ADDRESS ON FILE
CARBO RODRIGUEZ, ROSEMARY          ADDRESS ON FILE
CARBO ROMAN, RADAMES               ADDRESS ON FILE
CARBONE COLON, SAMANTHA            ADDRESS ON FILE
CARBONE COLON, VICTOR J.           ADDRESS ON FILE
CARBONE JIMENEZ, CLARA             ADDRESS ON FILE
CARBONE SANTOS, WANDA I            ADDRESS ON FILE
CARBONE VELAZQUEZ, FRANCES         ADDRESS ON FILE
CARBONE, VICTOR                    ADDRESS ON FILE
Carbonel Garcia, Rolando           ADDRESS ON FILE
CARBONEL LOPEZ, JOSE R.            ADDRESS ON FILE
CARBONEL VARGAS, RAQUEL            ADDRESS ON FILE
CARBONELL AND CO LLP               1654 CALLE TULIPAN        URB SAN FRANCISCO                                              SAN JUAN     PR      00927
CARBONELL AND CO LLP               PO BOX 270010                                                                            SAN JUAN     PR      00927‐0010
CARBONELL AND CO LLP               URB IND MARIO JULIA       262 CALLE 15 NW SUITE B                                        SAN JUAN     PR      00920‐2107
CARBONELL ANTONIO, JORGE           ADDRESS ON FILE
CARBONELL ARCELAY, EVELYN          ADDRESS ON FILE
CARBONELL AYALA, CELSO             ADDRESS ON FILE
CARBONELL AYUSO, DELMA Y           ADDRESS ON FILE
CARBONELL BURGO, AIDA L            ADDRESS ON FILE
CARBONELL BURGOS, BARBARA          ADDRESS ON FILE
CARBONELL BURGOS, MIGUEL           ADDRESS ON FILE
Carbonell Caicoya, Lilliam         ADDRESS ON FILE
Carbonell Caicoya, Raul            ADDRESS ON FILE
Carbonell Caicoya, Saul            ADDRESS ON FILE
CARBONELL CAICOYA, VIVIAN          ADDRESS ON FILE
CARBONELL CALERO, MARISELA         ADDRESS ON FILE
CARBONELL CALERO, MARISELA         ADDRESS ON FILE
CARBONELL CARDONA, MARGARITA       ADDRESS ON FILE
CARBONELL COLON, MARTIN            ADDRESS ON FILE
CARBONELL CORREA, WANDA M          ADDRESS ON FILE
CARBONELL CORTINA, MARTA           ADDRESS ON FILE
Carbonell Cruz, Roberto            ADDRESS ON FILE
CARBONELL DE JESUS, MAYRA LIZ      ADDRESS ON FILE
CARBONELL DIAZ, MARTIN             ADDRESS ON FILE
CARBONELL DONE, SILVERIO ANTONIO   ADDRESS ON FILE
CARBONELL DONES, NAUDY             ADDRESS ON FILE
CARBONELL GALARZA, ARLENE          ADDRESS ON FILE
CARBONELL GALARZA, CELSO           ADDRESS ON FILE
CARBONELL GARCIA, AUGUSTO          ADDRESS ON FILE
CARBONELL GARCIA, YOSEF            ADDRESS ON FILE
CARBONELL GARCIA, YOSEF            ADDRESS ON FILE
CARBONELL GONZALEZ, JUAN R         ADDRESS ON FILE




                                                                                       Page 1166 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1167 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                          Address1                          Address2                       Address3   Address4   City         State   PostalCode   Country
CARBONELL HADAD, VICTORIA              ADDRESS ON FILE
CARBONELL HERNANDEZ ESTEBAN            ADDRESS ON FILE
CARBONELL HERNANDEZ, ESTEBAN           ADDRESS ON FILE
CARBONELL LANUZA, LUIS                 ADDRESS ON FILE
CARBONELL LOPEZ, MARGARITA             ADDRESS ON FILE
CARBONELL MAMERY MD, CARLOS            ADDRESS ON FILE
CARBONELL MARTINEZ, RAFAEL             ADDRESS ON FILE
CARBONELL MORALES, EDGARDO             ADDRESS ON FILE
Carbonell Morales, Jose M              ADDRESS ON FILE
Carbonell Moyet, Carmen R              ADDRESS ON FILE
Carbonell Ortiz, Vanessa E             ADDRESS ON FILE
Carbonell Pacheco, Alex O              ADDRESS ON FILE
CARBONELL PEREZ, LUZ M                 ADDRESS ON FILE
CARBONELL RAMIREZ, ANA L               ADDRESS ON FILE
CARBONELL RAMIREZ, DALILA              ADDRESS ON FILE
CARBONELL RAMIREZ, RAMON M.            ADDRESS ON FILE
CARBONELL RAMIREZ, VICTOR              ADDRESS ON FILE
CARBONELL RAMIREZ, VICTOR M            ADDRESS ON FILE
CARBONELL RIVERA, GRISELLE             ADDRESS ON FILE
CARBONELL ROSARIO, CANDIDO             ADDRESS ON FILE
CARBONELL ROSARIO, MARIA H             ADDRESS ON FILE
CARBONELL ROSARIO, RAUL                ADDRESS ON FILE
CARBONELL SEIJO, MARIA                 ADDRESS ON FILE
Carbonell Torres, Miguel               ADDRESS ON FILE
CARBONELL VARGAS, RICARDO              ADDRESS ON FILE
CARBONELL VELAZQUEZ, MARIA             ADDRESS ON FILE
CARBONELL VILLAFANE, BARBARA P         ADDRESS ON FILE
CARBONELL, RAUL                        ADDRESS ON FILE
CARBONERA BEAUCHAMP, MILAGROS DEL P.   ADDRESS ON FILE
CARBONERA PARDO, PEDRO E               ADDRESS ON FILE
CARBOT ACEVEDO, DAMARYS                ADDRESS ON FILE
CARBOT CALDERON, EVELYN                ADDRESS ON FILE
CARBOT CALDERON, EVELYN                ADDRESS ON FILE
CARBOT DE JESUS, EDWIN                 ADDRESS ON FILE
CARBUCCIA MONTIJO, KATER               ADDRESS ON FILE
CARBWOOD RODRIGUEZ, JORGE              ADDRESS ON FILE
CARCACHE GONZALEZ MD, ELIZABETH        ADDRESS ON FILE
CARCAMO CIENFUEGO, RAFAEL              ADDRESS ON FILE
CARCANA CRUZ, MARTA                    ADDRESS ON FILE
CARCANA JIMENEZ, JOEVANNY              ADDRESS ON FILE
CARCANA SAJONA, WILFREDO               ADDRESS ON FILE
CARCANO FELICIANO, HERIBERTO           ADDRESS ON FILE
Carcano Llano, Bernardino              ADDRESS ON FILE
CARCANO ROMAN, MARIA T.                ADDRESS ON FILE
CARCANO, VIVIAN                        ADDRESS ON FILE
CARCEL REGIONAL DE BAYAMON 1072        ATT RECORDS MEDICOS               PO BOX 60‐075                                        BAYAMON      PR      00960
CARCIA CALCANO, SONIA I                ADDRESS ON FILE
CARCIA TOLEDO, ELIEZER                 ADDRESS ON FILE
CARCO ELECTRIC CORP                    PO BOX 142254                                                                          ARECIBO      PR      00614‐2254
CARCONGROUP ENGINEERING PSC            867 AVE MUNOZ RIVERA SUITE B302                                                        SAN JUAN     PR      00925‐2143
Carcorse Santiago, Jorge L             ADDRESS ON FILE
CARCORZE LOPEZ, RAQUEL I               ADDRESS ON FILE
CARD RADIOLOGY INST                    PO BOX 11792                                                                           SAN JUAN     PR      00910‐2892
CARDACI BRANDAUER, CHRISTOPHER         ADDRESS ON FILE
CARDALDA HERNANDEZ, NELIDA             ADDRESS ON FILE
CARDALDA SANCHEZ, CRISTINA             ADDRESS ON FILE
CARDALDA SOTO, CARMEN                  ADDRESS ON FILE
CARDALDA SOTO, EMMA                    ADDRESS ON FILE
CARDARED CARIBBEAN CORP                PO BOX 3392                                                                            CAROLINA     PR      00984
CARDE ACOSTA, PEDRO                    ADDRESS ON FILE




                                                                                         Page 1167 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1168 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDE ACOSTA, PEDRO A.            ADDRESS ON FILE
CARDE AYALA, ELIZABETH            ADDRESS ON FILE
CARDE CAPELLA MD, PEDRO           ADDRESS ON FILE
CARDE CORREA, LIZ                 ADDRESS ON FILE
CARDE CORREA, LIZ S.              ADDRESS ON FILE
CARDE CORREA, NELIDA              ADDRESS ON FILE
CARDE GOMEZ PHD, JORGE            ADDRESS ON FILE
CARDE GOMEZ, LUIS D               ADDRESS ON FILE
CARDE GOMEZ, ROSA M               ADDRESS ON FILE
CARDE GOMEZ,JORGE                 ADDRESS ON FILE
CARDE GUZMAN, MARIA DEL ROSARIO   ADDRESS ON FILE
CARDE MALDONADO, ARTURO           ADDRESS ON FILE
CARDE MARTINEZ, JOSHUA            ADDRESS ON FILE
CARDE MENDEZ, EVELYN              ADDRESS ON FILE
CARDE NIEVES, MELISSA             ADDRESS ON FILE
CARDE NUNEZ, CATHERINE            ADDRESS ON FILE
Carde Rosado, Kevin E.            ADDRESS ON FILE
CARDE SANCHEZ, MARITZA            ADDRESS ON FILE
CARDE SOTO, MARITZA               ADDRESS ON FILE
CARDE VARGAS, FELIX A.            ADDRESS ON FILE
CARDE VEGA, JUDITH                ADDRESS ON FILE
CARDE VEGA, MIRIAM                ADDRESS ON FILE
CARDE VELEZ, ADALIDES             ADDRESS ON FILE
CARDEC CORREA, GLENDA I.          ADDRESS ON FILE
CARDEC CORREA, GLENDA I.          ADDRESS ON FILE
CARDEC CORREA, ZORAIDA            ADDRESS ON FILE
CARDEC CRUZ, VALERIE              ADDRESS ON FILE
CARDEC GONZALEZ, IVAN             ADDRESS ON FILE
Cardec Grillo, Maria M            ADDRESS ON FILE
CARDEC HERNANDEZ, LILLIAM         ADDRESS ON FILE
CARDEC HERNANDEZ, MARILYN         ADDRESS ON FILE
CARDEC MUNIZ, NILSA I.            ADDRESS ON FILE
CARDEC RAMOS, BLANCA R            ADDRESS ON FILE
CARDEC RAMOS, GLADYS E            ADDRESS ON FILE
CARDEC REYES, SANDRA W.           ADDRESS ON FILE
CARDEC RODRIGUEZ, JUANITA         ADDRESS ON FILE
CARDEC RODRIGUEZ, PRISCILA        ADDRESS ON FILE
CARDEC VELEZ, MAGALI              ADDRESS ON FILE
CARDEL CARBONELL, GLISSETTE I     ADDRESS ON FILE
CARDEL CARBONELL, ZULMA           ADDRESS ON FILE
CARDENA FRANCO, BLANCA M          ADDRESS ON FILE
CARDENALES B LEVITTOWN CORP       PO BOX 279                                                                       TOA BAJA     PR      00951
CARDENALES BERRIOS, KIARAMARIE    ADDRESS ON FILE
Cardenales Colon, Luis A.         ADDRESS ON FILE
CARDENALES ESPADA, JANETTE        ADDRESS ON FILE
CARDENALES ESPADA, JANETTE I.     ADDRESS ON FILE
CARDENALES FIGUEROA, ELISHA M     ADDRESS ON FILE
CARDENALES FIGUEROA, NAT          ADDRESS ON FILE
CARDENALES FIGUEROA, NAT          ADDRESS ON FILE
CARDENALES GONZALEZ, LUIS A.      ADDRESS ON FILE
CARDENALES GUZMAN, LIZ            ADDRESS ON FILE
CARDENALES LOPEZ, NOEL            ADDRESS ON FILE
CARDENALES LOPEZ, NOEL A          ADDRESS ON FILE
CARDENALES LOPEZ, ZULAY           ADDRESS ON FILE
CARDENALES MARTINEZ, ADA          ADDRESS ON FILE
CARDENALES MATEO, MARILYN         ADDRESS ON FILE
CARDENALES MATEO, SHAIRA          ADDRESS ON FILE
CARDENALES MATOS, ANGEL R.        ADDRESS ON FILE
CARDENALES MATOS, JORGE           ADDRESS ON FILE
CARDENALES ORTIZ, ARIEL           ADDRESS ON FILE




                                                                              Page 1168 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1169 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                           Address1                     Address2                                 Address3   Address4   City           State   PostalCode   Country
CARDENALES ORTIZ, LESLIE                ADDRESS ON FILE
CARDENALES ORTIZ, LUIS A                ADDRESS ON FILE
CARDENALES RIVERA, NELSON               ADDRESS ON FILE
CARDENALES RODRIGUEZ, JULIO             ADDRESS ON FILE
CARDENALES RODRIGUEZ, VILMARY           ADDRESS ON FILE
CARDENALES ROLON, JONATHAN              ADDRESS ON FILE
CARDENALES ROLON, JORGE                 ADDRESS ON FILE
Cardenales Rolon, Maria E               ADDRESS ON FILE
CARDENALES ROLON, MARITZA               ADDRESS ON FILE
CARDENALES TORRES, ALEJANDRO            ADDRESS ON FILE
CARDENALES VELAZQUEZ, PATRICIA          ADDRESS ON FILE
CARDENAS AVELAR, SAUL                   ADDRESS ON FILE
CARDENAS BERRIOS, CARLOS                ADDRESS ON FILE
CARDENAS DELUCCA, RAMON                 ADDRESS ON FILE
CARDENAS FRANCO, MILDRED DEL            ADDRESS ON FILE
CARDENAS FRANCO, VIRGEN                 ADDRESS ON FILE
CARDENAS MAXAN, ORLANDO                 ADDRESS ON FILE
CARDENAS NIEVES, MARGARITA              ADDRESS ON FILE
CARDENAS SALCEDO, ISANIA                ADDRESS ON FILE
CARDENAS SURILLO, MARUXA                ADDRESS ON FILE
CARDENAS VARGAS, BETH                   ADDRESS ON FILE
CARDENAS ZAITER, HECTOR                 ADDRESS ON FILE
CARDENAS ZAITER, MILAGNIA Y.            ADDRESS ON FILE
CARDENAS ZAITER, MILAGNIA Y.            ADDRESS ON FILE
CARDENAS, JOSE J.                       ADDRESS ON FILE
CARDERA CANDANEDO, DORIS J              ADDRESS ON FILE
CARDERA CANDANEDO, TERESA               ADDRESS ON FILE
CARDERONIZQUIERDO, LUIS A               ADDRESS ON FILE
CARDIAC ASSOCIATES OF SOUTHERN CONNECTIC2979 MAIN ST                                                                                BRIDGEPORT     CT      06606
CARDIAC CARE CENTER                     RELEASE OF INFO              STE 310 2200 OPITZ BLVD                                        WOODBRIDGE     VA      22191
CARDIAC CLINIC OF SUNIL KAKKAR          ATTN MEDICAL RECODS          311 W OAK ST                                                   KISSIMMEE      FL      34741
CARDIAC DIAGNOSTIC ASSOCS               YORK HOSPITAL HEART CENTER   1001 S GEORGE STREET                                           YORK           PA      17405
CARDIN AJA, MARIBEL                     ADDRESS ON FILE
CARDIN AJA, WANDA                       ADDRESS ON FILE
CARDIN ALVAREZ, NORMA I                 ADDRESS ON FILE
CARDIN BENITEZ, JOSE                    ADDRESS ON FILE
CARDIN CRUZ, AMANDA                     ADDRESS ON FILE
CARDIN HERNANDEZ, MADELINE              ADDRESS ON FILE
CARDIN HERNANDEZ, MADELINE              ADDRESS ON FILE
CARDIN LOPEZ, MELVIN                    ADDRESS ON FILE
CARDIN PAGAN, SOLEDAD                   ADDRESS ON FILE
CARDIN RAMIREZ, MARIA B                 ADDRESS ON FILE
Cardin Ramirez, Maria Brunilda          ADDRESS ON FILE
Cardin Ramirez, Raymond                 ADDRESS ON FILE
CARDIN RIVERA, HELGA                    ADDRESS ON FILE
CARDIN RODRIGUEZ, NANCY                 ADDRESS ON FILE
CARDIN TORRES, EDUARDO                  ADDRESS ON FILE
CARDINAL HEALTH MANUFACTURING SERVICE PO BOX 3000                                                                                                  PR      00972
CARDINAL HEALTH MANUFACTURING SERVICE PO BOX 3000                                                                                   HUMACAO        PR      00972
CARDINAL HEALTH P R 120 INC             PO BOX 366211                                                                               SAN JUAN       PR      00936‐6211
CARDINAL HEALTH PR 120, INC.            PO BOX 70220                                                                                SAN JUAN       PR      00936‐0000
CARDINAL LOGISTICS MANAGEMENT CORP      5333 DAVIDSON HWY                                                                           CONCORD        NC      28027‐8478
CARDINALE MD , JOSEPH P                 ADDRESS ON FILE
CARDIO ANA ‐ MED CONSULTING GROUP       PO BOX 1569                                                                                 RIO GRANDE     PR      00745
CARDIO CARE AND VASCULAR CENTER         PMB 400                      701‐1 AVE PONCE DE LEON                                        SAN JUA        PR      00909
CARDIO COOP                             PO BOX 367328                                                                               SAN JUAN       PR      00936‐7328
CARDIO DYNAMICS INC                     PO BOX 7405                                                                                 PONCE          PR      00732‐7405
CARDIO PREVENT PSC                      RES BAIROA                   AB6 CALLE REINA ISABEL                                         CAGUAS         PR      00725
CARDIO VITA, INC                        URB. RIO CANAS               DANUBIO 3008                                                   PONCE          PR      00728‐1732
CARDIOLOGIA MEDICA INTEGRADA            PO BOX 1731                                                                                 JUNCOS         PR      00777




                                                                                               Page 1169 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1170 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                   Address2                                   Address3   Address4   City              State   PostalCode   Country
CARDIOLOGIA MEDICA INTEGRADA             URB MADRID                                 CALLE MUNOZ RIVERA                                               JUNCOS            PR      00777
CARDIOLOGY CARE CENTER PA                ATTN MEDICAL RECORDS                       1355 S INTL PKWY STE 1481                                        LAKE MARY         FL      32746
CARDIOLOGY CENTER OF TAMPA               13701 BRUCE B DOWNS BLVD                   SUITE 101                                                        TAMPA             FL      33613
Cardiomas International Insurer          440 Sawgrass Corporate Parkway Suite 204                                                                    Sunrise           FL      33325
Cardiomas International Insurer          B7 Tabonuco Street                         Suite 1108                                                       Guaynabo          PR      00968
CARDIOMED                                AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
CARDIOMED SUPPLY CORP                    PO BOX 8239                                                                                                 BAYAMON           PR      00960‐8239
CARDIO‐MUNICIPAL                         PO BOX 70344 PMB 68                                                                                         SAN JUAN          PR      00936‐8344
CARDIOTHORACIC & VASCULAR                SURGEONS OF LANCASTER                      233 COLLEGE AVE SU 101                                           LANCASTER         PA      17603‐0000
CARDIOVASCULAR ANESTESIA                 PMB 899                                    89 AVE DE DIEGO SUITE 105                                        SAN JUAN          PR      00927
CARDIOVASCULAR ANESTHESIA DE PUERTO RICO PMB 488, 89 DWE DIEGO AVE SUITE 105                                                                         SAN JUAN          PR      00927‐6346
CARDIOVASCULAR ASSOC OF P R              PO BOX 6480                                                                                                 BAYAMON           PR      00960
CARDIOVASCULAR ASSOC OF THE VI           4100 SION FARM SHOPPING CTR STE 5                                                                           CHRISTIANSTED     VI      00820‐4475
CARDIOVASCULAR CENTER OF TAMPA           3000 E FLETCHER AVE STE 370                                                                                 TAMPA             FL      33613‐4690
CARDIOVASCULAR ELECTROPHYSIOLOGY PSC     PO BOX 363531                                                                                               SAN JUAN          PR      00936‐3531
CARDIOVASCULAR MEDICINE SERVS PSC        PO BOX 7196                                                                                                 CAGUAS            PR      00726
CARDIOVASCULAR RADIOLOGY INSTITUTE       P. O. BOX 11792                                                                                             SAN JUAN          PR      00910‐0000
CARDIOVASCULAR SURGEONS                  217 E HILLCREST ST                                                                                          ORLANDO           FL      32801
CARDIOVASCULAR SURGERY OF PR             PO BOX 6684                                                                                                 MAYAGUEZ          PR      00681‐6684
CARDONA & MALDONADO LAW OFFICES          PO BOX 366221                                                                                               SAN JUAN          PR      00936‐6221
CARDONA ABRAHAMS, OMAYRA                 ADDRESS ON FILE
CARDONA ABREU, BRADLEY H                 ADDRESS ON FILE
CARDONA ABREU, DEREK                     ADDRESS ON FILE
CARDONA ABREU, WESLEY                    ADDRESS ON FILE
CARDONA ACABA, ARMANDO                   ADDRESS ON FILE
CARDONA ACEVEDO, AIDEE                   ADDRESS ON FILE
CARDONA ACEVEDO, CARLOS                  ADDRESS ON FILE
CARDONA ACEVEDO, CLARIBEL                ADDRESS ON FILE
CARDONA ACEVEDO, GETULIO E               ADDRESS ON FILE
CARDONA ACOSTA, ERIC                     ADDRESS ON FILE
CARDONA ACOSTA, PRIMITIVO                ADDRESS ON FILE
CARDONA ADAMES, FELIX                    ADDRESS ON FILE
CARDONA ADAMES, MIRTA                    ADDRESS ON FILE
CARDONA ALAMO, IDZA                      ADDRESS ON FILE
CARDONA ALAMO, MIRNA                     ADDRESS ON FILE
Cardona Aldarondo, Roberto               ADDRESS ON FILE
CARDONA ALERS, ROSA MILAGRO              ADDRESS ON FILE
CARDONA ALICEA, IRMA                     ADDRESS ON FILE
CARDONA ALICEA, MYRTA                    ADDRESS ON FILE
CARDONA ALMODOVAR, ANGEL                 ADDRESS ON FILE
CARDONA ALONSO, JOSEFINA                 ADDRESS ON FILE
CARDONA ALONZO, JOSE                     ADDRESS ON FILE
CARDONA ALVARADO, ANNETTE                ADDRESS ON FILE
CARDONA ALVARADO, MARTA                  ADDRESS ON FILE
CARDONA ALVARADO, NORMA                  ADDRESS ON FILE
CARDONA ALVAREZ, ELISA                   ADDRESS ON FILE
CARDONA ALVAREZ, FELICITA                ADDRESS ON FILE
CARDONA ALVAREZ, LUIS                    ADDRESS ON FILE
Cardona Alvarez, Nancy                   ADDRESS ON FILE
CARDONA ALVAREZ, WANDA                   ADDRESS ON FILE
CARDONA ALVELO, ELBA                     ADDRESS ON FILE
CARDONA AMARO, JOSE J                    ADDRESS ON FILE
CARDONA AMARO, JUAN L                    ADDRESS ON FILE
CARDONA ANDINO, DANIEL                   ADDRESS ON FILE
CARDONA ANDUJAR, JOSE                    ADDRESS ON FILE
CARDONA ANDUJAR, LUIS A.                 ADDRESS ON FILE
CARDONA APONTE, DAMARIS                  ADDRESS ON FILE
CARDONA APONTE, TAMARA                   ADDRESS ON FILE
CARDONA AQUINO, ANA                      ADDRESS ON FILE
CARDONA AQUINO, CLARIBEL                 ADDRESS ON FILE




                                                                                                                Page 1170 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1171 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA AQUINO, METSY           ADDRESS ON FILE
CARDONA AQUINO, PEDRO           ADDRESS ON FILE
CARDONA ARCE, DENISSE M.        ADDRESS ON FILE
CARDONA ARCE, LIZMARIE          ADDRESS ON FILE
CARDONA AROCHO, LUIS            ADDRESS ON FILE
CARDONA AROCHO, REINALDO        ADDRESS ON FILE
CARDONA ARVELO, IVELINES        ADDRESS ON FILE
CARDONA ARVELO, IVELINES        ADDRESS ON FILE
CARDONA AVILES, CARMEN A        ADDRESS ON FILE
CARDONA AYALA, NELIDA           ADDRESS ON FILE
CARDONA BADILLO MD, CARLOS R    ADDRESS ON FILE
CARDONA BAEZ, MARIA DE LOS A    ADDRESS ON FILE
CARDONA BAHAMUNDI, ASHLEY       ADDRESS ON FILE
CARDONA BALLESTER, NELSON E.    ADDRESS ON FILE
CARDONA BALLESTER, RAUL         ADDRESS ON FILE
CARDONA BARRERO, GAMALIER       ADDRESS ON FILE
CARDONA BARRETO, FERNANDO II    ADDRESS ON FILE
CARDONA BARRIOS, NESTOR G       ADDRESS ON FILE
CARDONA BATISTA, ISAI           ADDRESS ON FILE
CARDONA BATIZ, NYRA I           ADDRESS ON FILE
CARDONA BELTRAN MD, RICARDO     ADDRESS ON FILE
CARDONA BELTRAN, EULOGIO        ADDRESS ON FILE
CARDONA BELTRAN, JORGE          ADDRESS ON FILE
CARDONA BELTRAN, JORGE L        ADDRESS ON FILE
CARDONA BERRIOS, ABDIEL J       ADDRESS ON FILE
CARDONA BERRIOS, ABNER          ADDRESS ON FILE
CARDONA BONILLA, ANA L          ADDRESS ON FILE
CARDONA BONILLA, IVETTE CAMIL   ADDRESS ON FILE
CARDONA BONILLA, JESSICA        ADDRESS ON FILE
CARDONA BONILLA, PHILIP         ADDRESS ON FILE
CARDONA BORGES, NELSON          ADDRESS ON FILE
CARDONA BORRERO, BLANCA I.      ADDRESS ON FILE
CARDONA BORRERO, LUZ E          ADDRESS ON FILE
CARDONA BOSQUES, LETICIA        ADDRESS ON FILE
CARDONA CABAN, HAYDEE Z.        ADDRESS ON FILE
CARDONA CABAN, JOHANNA M        ADDRESS ON FILE
Cardona Cabrera, Edwin          ADDRESS ON FILE
CARDONA CABRERA, FELIX M        ADDRESS ON FILE
CARDONA CABRERA, JORGE          ADDRESS ON FILE
CARDONA CABRERA, LUZ C          ADDRESS ON FILE
CARDONA CACERES, FRANCISCO      ADDRESS ON FILE
CARDONA CADIZ, GLORIA E         ADDRESS ON FILE
CARDONA CAJIGAS, ROSA I.        ADDRESS ON FILE
CARDONA CAJIGAS, SOCORRO G.     ADDRESS ON FILE
CARDONA CALDERON, ANA C         ADDRESS ON FILE
CARDONA CALDERON, WILFREDO      ADDRESS ON FILE
CARDONA CAMARENO, CARMEN G.     ADDRESS ON FILE
CARDONA CAMPOS MD, RENE         ADDRESS ON FILE
CARDONA CANCIO MD, NESTOR M     ADDRESS ON FILE
CARDONA CANDANEDO, JOSE         ADDRESS ON FILE
CARDONA CANINO, IVAN            ADDRESS ON FILE
CARDONA CAPO, SHIRLEY           ADDRESS ON FILE
CARDONA CARABALLO, SONIA E.     ADDRESS ON FILE
CARDONA CARBONELL, VENESSA      ADDRESS ON FILE
CARDONA CARDONA, ADELAIDA       ADDRESS ON FILE
CARDONA CARDONA, AIDA E         ADDRESS ON FILE
CARDONA CARDONA, ANA M          ADDRESS ON FILE
CARDONA CARDONA, ANGEL L.       ADDRESS ON FILE
CARDONA CARDONA, CARMEN         ADDRESS ON FILE
CARDONA CARDONA, CARMEN         ADDRESS ON FILE




                                                                            Page 1171 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1172 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA CARDONA, DIANA           ADDRESS ON FILE
CARDONA CARDONA, ELSA A          ADDRESS ON FILE
CARDONA CARDONA, GISELA          ADDRESS ON FILE
Cardona Cardona, Ivette          ADDRESS ON FILE
CARDONA CARDONA, JORGE           ADDRESS ON FILE
CARDONA CARDONA, JORGE           ADDRESS ON FILE
CARDONA CARDONA, LUIS A          ADDRESS ON FILE
CARDONA CARDONA, OMAR            ADDRESS ON FILE
CARDONA CARDONA, RUTH M.         ADDRESS ON FILE
CARDONA CARMONA, DOMINGO         ADDRESS ON FILE
CARDONA CARTAGENA, MARGARITA     ADDRESS ON FILE
CARDONA CARVAJAL, CARMEN E       ADDRESS ON FILE
CARDONA CARVAJAL, CARMEN M       ADDRESS ON FILE
CARDONA CASANOVA, ELBA           ADDRESS ON FILE
CARDONA CASANOVA, HILDA          ADDRESS ON FILE
CARDONA CASTRO, JUAN             ADDRESS ON FILE
CARDONA CASTRO, JUAN P           ADDRESS ON FILE
CARDONA CASTRO, ROSALIN          ADDRESS ON FILE
CARDONA CASTRO, ZAIDA            ADDRESS ON FILE
CARDONA CEREZO, VICTOR           ADDRESS ON FILE
CARDONA COLL, LUIS A             ADDRESS ON FILE
CARDONA COLL, MARIA              ADDRESS ON FILE
CARDONA COLLAZO, MARITZA         ADDRESS ON FILE
CARDONA COLLAZO, WILMARIE        ADDRESS ON FILE
CARDONA COLON, ALBERTO JOSE      ADDRESS ON FILE
CARDONA COLON, ANGEL             ADDRESS ON FILE
CARDONA COLON, ANGEL L           ADDRESS ON FILE
CARDONA COLON, BETEL             ADDRESS ON FILE
CARDONA COLON, BETEL L           ADDRESS ON FILE
CARDONA COLON, CARMEN S          ADDRESS ON FILE
CARDONA COLON, FLAVIA            ADDRESS ON FILE
CARDONA COLON, JARIELISSE        ADDRESS ON FILE
CARDONA COLON, JESUS             ADDRESS ON FILE
CARDONA COLON, JOSE              ADDRESS ON FILE
CARDONA COLON, KELVIN            ADDRESS ON FILE
CARDONA COLON, LINARY            ADDRESS ON FILE
Cardona Colon, Lirio G           ADDRESS ON FILE
CARDONA COLON, LUZ               ADDRESS ON FILE
CARDONA COLON, MARTA             ADDRESS ON FILE
CARDONA COLON, MILTON            ADDRESS ON FILE
CARDONA COLON, SHEILA LISSETTE   ADDRESS ON FILE
CARDONA COLON, SYLVIA            ADDRESS ON FILE
CARDONA COLON, VICTOR            ADDRESS ON FILE
CARDONA COLON, VICTOR            ADDRESS ON FILE
CARDONA COMULADA, ELIZABETH      ADDRESS ON FILE
CARDONA CONCEPCION, JAVIER       ADDRESS ON FILE
CARDONA CONCEPCION, JUAN J       ADDRESS ON FILE
CARDONA CONCEPCION, NYDIA ENID   ADDRESS ON FILE
CARDONA CORDERO, GLORIA I        ADDRESS ON FILE
CARDONA CORDERO, JENNIFER        ADDRESS ON FILE
CARDONA CORDERO, WHIGOBERTO      ADDRESS ON FILE
CARDONA CORDERO, ZORAIDA         ADDRESS ON FILE
CARDONA COREANO, SANTOS          ADDRESS ON FILE
CARDONA CORREA, ALEXANDER        ADDRESS ON FILE
CARDONA CORTES, ANA LIZ          ADDRESS ON FILE
CARDONA CORTES, CLAUDIO          ADDRESS ON FILE
CARDONA CORTES, EDGAR            ADDRESS ON FILE
CARDONA CORTES, IVELICE          ADDRESS ON FILE
CARDONA CORTES, JEFFREY          ADDRESS ON FILE
CARDONA CORTES, LAURA E.         ADDRESS ON FILE




                                                                             Page 1172 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1173 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA CORTES, MARTA             ADDRESS ON FILE
CARDONA CORTES, MONSERRATE        ADDRESS ON FILE
CARDONA CORTES, NILSA I           ADDRESS ON FILE
CARDONA COSME, YOMARIE            ADDRESS ON FILE
CARDONA COSME, YOMARIE            ADDRESS ON FILE
CARDONA COUVERTIER, JOSUE A       ADDRESS ON FILE
Cardona Couvertier, Josue A       ADDRESS ON FILE
CARDONA CRESPO, ALBERTO           ADDRESS ON FILE
CARDONA CRESPO, ALBERTO           ADDRESS ON FILE
CARDONA CRESPO, ARICELLE          ADDRESS ON FILE
CARDONA CRESPO, CARLOS            ADDRESS ON FILE
CARDONA CRESPO, EDWIN             ADDRESS ON FILE
CARDONA CRESPO, MERCEDES          ADDRESS ON FILE
CARDONA CRESPO, MIGUEL A          ADDRESS ON FILE
CARDONA CRESPO, MILDRED           ADDRESS ON FILE
CARDONA CRUZ, ANGEL M             ADDRESS ON FILE
CARDONA CRUZ, EMILY               ADDRESS ON FILE
CARDONA CRUZ, HECTOR              ADDRESS ON FILE
Cardona Cruz, Israel              ADDRESS ON FILE
CARDONA CRUZ, LUIS                ADDRESS ON FILE
CARDONA CRUZ, LUISA               ADDRESS ON FILE
CARDONA CRUZ, MOISES              ADDRESS ON FILE
CARDONA CRUZ, NORMA B             ADDRESS ON FILE
CARDONA CRUZ, RUBEN               ADDRESS ON FILE
CARDONA CRUZ, WIDALYS             ADDRESS ON FILE
CARDONA CRUZ, YAJAIRA             ADDRESS ON FILE
CARDONA CUADRADO, RAFAEL A        ADDRESS ON FILE
CARDONA CUEVAS, JEANETTE          ADDRESS ON FILE
CARDONA DAVILA, ANGELICA          ADDRESS ON FILE
CARDONA DAVILA, CAROL E.          ADDRESS ON FILE
CARDONA DAVILA, ILEANA            ADDRESS ON FILE
CARDONA DAVILA, JOSE              ADDRESS ON FILE
CARDONA DAVILA, NARCISO           ADDRESS ON FILE
CARDONA DAVILA, YARITZA           ADDRESS ON FILE
CARDONA DE JESUS MIGUEL A.        ADDRESS ON FILE
CARDONA DE JESUS, FELIX           ADDRESS ON FILE
CARDONA DE JESUS, IRENE           ADDRESS ON FILE
CARDONA DE JESUS, JORGE           ADDRESS ON FILE
CARDONA DE JESUS, JOSEFINA        ADDRESS ON FILE
CARDONA DE JESUS, JUAN            ADDRESS ON FILE
CARDONA DE JESUS, KARIN           ADDRESS ON FILE
CARDONA DE JESUS, MIGUEL A.       ADDRESS ON FILE
CARDONA DE JESUS, MIRIAM          ADDRESS ON FILE
CARDONA DE JESUS, NERIDA          ADDRESS ON FILE
CARDONA DE MALDONADO, LILLIAM D   ADDRESS ON FILE
CARDONA DE RODRIGUEZ, LUZ N       ADDRESS ON FILE
CARDONA DE ROSA, TERESA           ADDRESS ON FILE
CARDONA DEL TORO, JESUS           ADDRESS ON FILE
CARDONA DEL VALLE, MERCI          ADDRESS ON FILE
CARDONA DELGADO, JESSICA          ADDRESS ON FILE
Cardona Delgado, Luis Joel        ADDRESS ON FILE
CARDONA DIAZ, CARLOS              ADDRESS ON FILE
CARDONA DIAZ, FRANCISCO J.        ADDRESS ON FILE
Cardona Diaz, Frank T             ADDRESS ON FILE
CARDONA DIAZ, JORGE L             ADDRESS ON FILE
CARDONA DIAZ, LUISA A             ADDRESS ON FILE
CARDONA DIAZ, MIGDALIA            ADDRESS ON FILE
CARDONA DIAZ, RODNEY              ADDRESS ON FILE
CARDONA DIAZ, SARAH               ADDRESS ON FILE
CARDONA DIAZ, WILFREDO            ADDRESS ON FILE




                                                                              Page 1173 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1174 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA DINGUI, OLGA E            ADDRESS ON FILE
CARDONA DOBLE MD, HECTOR          ADDRESS ON FILE
CARDONA DOBLE MD, PABLO           ADDRESS ON FILE
CARDONA DOSAL, LOURDES            ADDRESS ON FILE
CARDONA DOSAL, LUIS               ADDRESS ON FILE
Cardona Dosal, Luis A.            ADDRESS ON FILE
Cardona Dosal, Ramon A            ADDRESS ON FILE
CARDONA DRAGONI, LUIS A           ADDRESS ON FILE
Cardona Encarnacion, Elias R.     ADDRESS ON FILE
CARDONA ENCARNACION, ILIA E       ADDRESS ON FILE
CARDONA ESTRADA, ANGEL            ADDRESS ON FILE
CARDONA FALCONI, ROSELIS Y.       ADDRESS ON FILE
CARDONA FELICIANO, ERIKA          ADDRESS ON FILE
CARDONA FELICIANO, JOEL           ADDRESS ON FILE
CARDONA FELICIANO, JOSE E.        ADDRESS ON FILE
CARDONA FERNANDEZ MD, OSVALDO L   ADDRESS ON FILE
CARDONA FERNANDEZ, DAMARIS        ADDRESS ON FILE
CARDONA FERNANDEZ, OSVALDO        ADDRESS ON FILE
CARDONA FIGUEROA, ANGEL           ADDRESS ON FILE
CARDONA FIGUEROA, EDGARDO         ADDRESS ON FILE
CARDONA FIGUEROA, EDUARDO         ADDRESS ON FILE
CARDONA FIGUEROA, HECTOR          ADDRESS ON FILE
CARDONA FIGUEROA, JOSE            ADDRESS ON FILE
CARDONA FLORES, CARLOS A.         ADDRESS ON FILE
CARDONA FLORES, CHRISTIAN         ADDRESS ON FILE
CARDONA FLORES, CLARIBEL          ADDRESS ON FILE
CARDONA FLORES, JESUS M           ADDRESS ON FILE
CARDONA FLORES, LUIS A            ADDRESS ON FILE
CARDONA FLORES, MAYRA G.          ADDRESS ON FILE
CARDONA FLORES, MAYRA L           ADDRESS ON FILE
CARDONA FLORES, OBED              ADDRESS ON FILE
CARDONA FLORES, ORLANDO           ADDRESS ON FILE
Cardona Flores, Sandra M.         ADDRESS ON FILE
CARDONA FLORES, SANDRA M.         ADDRESS ON FILE
CARDONA FLORES, VIVIAN G.         ADDRESS ON FILE
CARDONA FONSECA, VICTOR FELIX     ADDRESS ON FILE
CARDONA FRONTERA, MARGARITA       ADDRESS ON FILE
CARDONA FRONTERA, NANCY A         ADDRESS ON FILE
CARDONA FUENTES, LUZ D            ADDRESS ON FILE
CARDONA GALARZA, NERY             ADDRESS ON FILE
Cardona Galvan, Jose E            ADDRESS ON FILE
Cardona Galvan, Rosa I            ADDRESS ON FILE
CARDONA GARCIA, ANA HILDA         ADDRESS ON FILE
CARDONA GARCIA, ANGEL             ADDRESS ON FILE
CARDONA GARCIA, BRENDA            ADDRESS ON FILE
CARDONA GARCIA, CARLOS            ADDRESS ON FILE
CARDONA GARCIA, CARLOS D.         ADDRESS ON FILE
CARDONA GARCIA, EMERITA           ADDRESS ON FILE
CARDONA GARCIA, FELIX             ADDRESS ON FILE
CARDONA GARCIA, FELIX             ADDRESS ON FILE
CARDONA GARCIA, JESUS M.          ADDRESS ON FILE
CARDONA GARCIA, JULIO             ADDRESS ON FILE
CARDONA GARCIA, LAURA R.          ADDRESS ON FILE
CARDONA GARCIA, LEILA             ADDRESS ON FILE
CARDONA GARCIA, MARIA DE LOS A    ADDRESS ON FILE
CARDONA GARCIA, MIGUEL A          ADDRESS ON FILE
CARDONA GARCIA, NICOLLE           ADDRESS ON FILE
CARDONA GARCIA, TENSY M           ADDRESS ON FILE
CARDONA GERENA, IRIS R.           ADDRESS ON FILE
CARDONA GERENA, MYRNA             ADDRESS ON FILE




                                                                              Page 1174 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1175 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA GIBOYEAUX, KIRIALIS       ADDRESS ON FILE
CARDONA GOMEZ, BEATRIZ            ADDRESS ON FILE
CARDONA GOMEZ, DAVID              ADDRESS ON FILE
CARDONA GONZALEZ, AMARALIS        ADDRESS ON FILE
CARDONA GONZALEZ, ANA V           ADDRESS ON FILE
CARDONA GONZALEZ, ANGEL L         ADDRESS ON FILE
Cardona Gonzalez, Anibal          ADDRESS ON FILE
CARDONA GONZALEZ, AXAYRA          ADDRESS ON FILE
CARDONA GONZALEZ, CARMEN          ADDRESS ON FILE
CARDONA GONZALEZ, DELFIN          ADDRESS ON FILE
CARDONA GONZALEZ, EVELYN L        ADDRESS ON FILE
CARDONA GONZALEZ, FRACHIE         ADDRESS ON FILE
CARDONA GONZALEZ, IRIS S.         ADDRESS ON FILE
CARDONA GONZALEZ, JENNIFFER       ADDRESS ON FILE
CARDONA GONZALEZ, JOVANSKA        ADDRESS ON FILE
Cardona Gonzalez, Julio C         ADDRESS ON FILE
CARDONA GONZALEZ, JULITZA         ADDRESS ON FILE
CARDONA GONZALEZ, JULITZA         ADDRESS ON FILE
CARDONA GONZALEZ, KELVIN          ADDRESS ON FILE
CARDONA GONZALEZ, LILLIAM         ADDRESS ON FILE
CARDONA GONZALEZ, MILDRED         ADDRESS ON FILE
CARDONA GONZALEZ, MIRIAM          ADDRESS ON FILE
CARDONA GONZALEZ, MIRIAM          ADDRESS ON FILE
CARDONA GONZALEZ, NORMA I         ADDRESS ON FILE
CARDONA GONZALEZ, OSVALDO         ADDRESS ON FILE
CARDONA GONZALEZ, OSVALDO C       ADDRESS ON FILE
CARDONA GONZALEZ, SARA H          ADDRESS ON FILE
CARDONA GONZALEZ, SONIA ZOE       ADDRESS ON FILE
Cardona Gonzalez, Vicente         ADDRESS ON FILE
CARDONA GONZALEZ,ZULMA I.         ADDRESS ON FILE
CARDONA GRAJALES, EDWIN           ADDRESS ON FILE
Cardona Grajales, Hector          ADDRESS ON FILE
Cardona Grajales, Jose E          ADDRESS ON FILE
CARDONA GRAJALES, RAMONA          ADDRESS ON FILE
CARDONA GREGORY, MIRTHA           ADDRESS ON FILE
CARDONA GUEVARA, ORLANDO X        ADDRESS ON FILE
CARDONA GUZMAN, ELSIE             ADDRESS ON FILE
CARDONA GUZMAN, JOSE              ADDRESS ON FILE
CARDONA GUZMAN, XAVIER            ADDRESS ON FILE
CARDONA HANCE, MAGDA A            ADDRESS ON FILE
CARDONA HANCE, MARIA DE L         ADDRESS ON FILE
CARDONA HERNANDEZ MD, FRANCISCO   ADDRESS ON FILE
CARDONA HERNANDEZ, AGNES E        ADDRESS ON FILE
CARDONA HERNANDEZ, ANGEL M        ADDRESS ON FILE
CARDONA HERNANDEZ, AWILDA         ADDRESS ON FILE
CARDONA HERNANDEZ, BENITO         ADDRESS ON FILE
CARDONA HERNANDEZ, CESAR          ADDRESS ON FILE
CARDONA HERNANDEZ, CESAR E        ADDRESS ON FILE
CARDONA HERNANDEZ, HECTOR         ADDRESS ON FILE
CARDONA HERNANDEZ, ISMAEL         ADDRESS ON FILE
CARDONA HERNANDEZ, IVAN           ADDRESS ON FILE
CARDONA HERNANDEZ, JOSUE R.       ADDRESS ON FILE
CARDONA HERNANDEZ, JUANA          ADDRESS ON FILE
CARDONA HERNANDEZ, LESLIE         ADDRESS ON FILE
Cardona Hernandez, Luis D         ADDRESS ON FILE
CARDONA HERNANDEZ, MARIA D.       ADDRESS ON FILE
CARDONA HERNANDEZ, MARIA V        ADDRESS ON FILE
CARDONA HERNANDEZ, MARITZA        ADDRESS ON FILE
CARDONA HERNANDEZ, VALERIE        ADDRESS ON FILE
CARDONA HERNANDEZ, WANDA          ADDRESS ON FILE




                                                                              Page 1175 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1176 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA HERNANDEZ, YASMIN         ADDRESS ON FILE
CARDONA HERRERA, MARIA Z.         ADDRESS ON FILE
CARDONA HUERTAS, JOSE             ADDRESS ON FILE
CARDONA HUERTAS, MADELINE         ADDRESS ON FILE
CARDONA IRIZARRY, DANIEL          ADDRESS ON FILE
CARDONA IRIZARRY, SANTIAGO        ADDRESS ON FILE
CARDONA IRIZARRY, YAMILETTE       ADDRESS ON FILE
CARDONA IRRIZARRY & CO.           PO BOX 25070                                                                     SAN JUAN     PR      00928‐0000
CARDONA JIMENEZ MD, DIANA         ADDRESS ON FILE
Cardona Jimenez, Christian L      ADDRESS ON FILE
CARDONA JIMENEZ, DIANA            ADDRESS ON FILE
CARDONA JIMENEZ, DIANA            ADDRESS ON FILE
CARDONA JIMENEZ, ESTEFANIA        ADDRESS ON FILE
CARDONA JIMENEZ, LUIS E           ADDRESS ON FILE
CARDONA JIMENEZ, MARI             ADDRESS ON FILE
CARDONA JIMENEZ, MARIA DE LOS A   ADDRESS ON FILE
CARDONA JIMENEZ, NESTOR           ADDRESS ON FILE
CARDONA JIMENEZ, XAVIER           ADDRESS ON FILE
CARDONA JIMENEZ, XAVIER A.        ADDRESS ON FILE
CARDONA JIMENEZ, YIRA A           ADDRESS ON FILE
CARDONA JORGE, ERIKNA             ADDRESS ON FILE
CARDONA LAGO, RAUL                ADDRESS ON FILE
CARDONA LAMBOY, IVETTE            ADDRESS ON FILE
CARDONA LAMOURT, LIBERTAD         ADDRESS ON FILE
CARDONA LANDRON, YOMAR S          ADDRESS ON FILE
CARDONA LARRAURI, ANA V.          ADDRESS ON FILE
CARDONA LATONI, RICARDO           ADDRESS ON FILE
CARDONA LATORRE, FRANCES          ADDRESS ON FILE
CARDONA LEBRON, IDALIA            ADDRESS ON FILE
CARDONA LEBRON, MINERVA           ADDRESS ON FILE
CARDONA LEON, DIANA M             ADDRESS ON FILE
CARDONA LIMBERT, LOURDES          ADDRESS ON FILE
CARDONA LIZARDI, NILCA            ADDRESS ON FILE
CARDONA LOPERENA, ESTRELLA        ADDRESS ON FILE
Cardona Loperena, Pablo J         ADDRESS ON FILE
CARDONA LOPEZ, ALEXANDRA          ADDRESS ON FILE
CARDONA LOPEZ, ALEXANDRA          ADDRESS ON FILE
CARDONA LOPEZ, ALEXIS             ADDRESS ON FILE
CARDONA LOPEZ, CARMEN M           ADDRESS ON FILE
Cardona Lopez, Elizabeth          ADDRESS ON FILE
CARDONA LOPEZ, ELIZABETH          ADDRESS ON FILE
CARDONA LOPEZ, EMMANUEL           ADDRESS ON FILE
CARDONA LOPEZ, FRANCISCA          ADDRESS ON FILE
CARDONA LOPEZ, HECTOR             ADDRESS ON FILE
CARDONA LOPEZ, JESSICA            ADDRESS ON FILE
CARDONA LOPEZ, KAREN              ADDRESS ON FILE
CARDONA LOPEZ, LUIS A.            ADDRESS ON FILE
CARDONA LOPEZ, LUZ N              ADDRESS ON FILE
CARDONA LOPEZ, MARIA              ADDRESS ON FILE
CARDONA LOPEZ, NORBERTO           ADDRESS ON FILE
CARDONA LOPEZ, RUBEN              ADDRESS ON FILE
CARDONA LOYOLA, JUAN              ADDRESS ON FILE
CARDONA LOYOLA, JUAN G            ADDRESS ON FILE
CARDONA LOZADA, DAPHNE M          ADDRESS ON FILE
CARDONA LUCIANO, NELLIE           ADDRESS ON FILE
Cardona Lugo, Benjamin            ADDRESS ON FILE
CARDONA LUGO, FRANCIS             ADDRESS ON FILE
CARDONA LUGO, RENE                ADDRESS ON FILE
CARDONA LUQUE, FRANCISCA          ADDRESS ON FILE
CARDONA LUQUE, MARIA C.           ADDRESS ON FILE




                                                                              Page 1176 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1177 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA MACHUCA, GRISEIDA L     ADDRESS ON FILE
CARDONA MACHUCA, GRISEIDA L     ADDRESS ON FILE
CARDONA MALAVE, WILFREDO        ADDRESS ON FILE
CARDONA MALDONAD, IVETTE        ADDRESS ON FILE
Cardona Maldonado, Eneida       ADDRESS ON FILE
CARDONA MALDONADO, KAREN        ADDRESS ON FILE
CARDONA MALDONADO, MAGDIEL E    ADDRESS ON FILE
CARDONA MALDONADO, MARIO        ADDRESS ON FILE
CARDONA MALDONADO, RICARDO      ADDRESS ON FILE
CARDONA MALDONADO, SARAHI       ADDRESS ON FILE
CARDONA MALDONADO, ZULEIKA      ADDRESS ON FILE
Cardona Malpica, Brisceida      ADDRESS ON FILE
CARDONA MALPICA, RUTH M         ADDRESS ON FILE
CARDONA MARCANO, LUZ E          ADDRESS ON FILE
Cardona Marquez, Javier         ADDRESS ON FILE
CARDONA MARQUEZ, JAVIER         ADDRESS ON FILE
CARDONA MARQUEZ, JOSE           ADDRESS ON FILE
CARDONA MARQUEZ, NANCY I        ADDRESS ON FILE
CARDONA MARQUEZ, RICHARD        ADDRESS ON FILE
CARDONA MARQUEZ, YESSENIA       ADDRESS ON FILE
CARDONA MARRERO, ALEXIS         ADDRESS ON FILE
CARDONA MARRERO, ANIBAL J       ADDRESS ON FILE
CARDONA MARRERO, ASTRID J       ADDRESS ON FILE
CARDONA MARRERO, RICHARD        ADDRESS ON FILE
CARDONA MARTINEZ, AMANDA        ADDRESS ON FILE
CARDONA MARTINEZ, CARLOS A      ADDRESS ON FILE
CARDONA MARTINEZ, HUMBERTO      ADDRESS ON FILE
CARDONA MARTINEZ, JAZMIN        ADDRESS ON FILE
CARDONA MARTINEZ, MANUEL        ADDRESS ON FILE
CARDONA MARTINEZ, NEREIDA       ADDRESS ON FILE
CARDONA MARTINEZ, PILAR T       ADDRESS ON FILE
CARDONA MARTINEZ, ROLANDO       ADDRESS ON FILE
CARDONA MARTINEZ, SANDRA        ADDRESS ON FILE
CARDONA MARTINO, FRANCISCO J.   ADDRESS ON FILE
CARDONA MARTINO, FRANCISCO J.   ADDRESS ON FILE
CARDONA MARTIR, CYRMAR          ADDRESS ON FILE
CARDONA MAS, MARIA E            ADDRESS ON FILE
CARDONA MATOS, DAYNESHKA        ADDRESS ON FILE
Cardona Matos, Hector L         ADDRESS ON FILE
CARDONA MATOS, JOSE F.          ADDRESS ON FILE
CARDONA MAYMI, RAMON A          ADDRESS ON FILE
CARDONA MAYSONET, GLORILY       ADDRESS ON FILE
CARDONA MEDINA, BENITO          ADDRESS ON FILE
CARDONA MEDINA, DELSIE          ADDRESS ON FILE
Cardona Medina, Felix S         ADDRESS ON FILE
CARDONA MEDINA, RAUL            ADDRESS ON FILE
CARDONA MENDEZ, EDWIN           ADDRESS ON FILE
CARDONA MENDEZ, JOSE F          ADDRESS ON FILE
CARDONA MENDEZ, WILLIAM         ADDRESS ON FILE
Cardona Mercado, Benjamin       ADDRESS ON FILE
CARDONA MERCADO, BLANCA I       ADDRESS ON FILE
CARDONA MERCADO, IDALIS         ADDRESS ON FILE
CARDONA MERCADO, IDANIA         ADDRESS ON FILE
Cardona Mercado, Iris W         ADDRESS ON FILE
CARDONA MERCADO, ISRAEL         ADDRESS ON FILE
CARDONA MERCADO, JAIME          ADDRESS ON FILE
Cardona Mercado, Milsa          ADDRESS ON FILE
CARDONA MERCADO, NOEVIA         ADDRESS ON FILE
CARDONA MERCED, JORGE L.        ADDRESS ON FILE
CARDONA MERCED, MAYKA L.        ADDRESS ON FILE




                                                                            Page 1177 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1178 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA MERCED, SARA         ADDRESS ON FILE
CARDONA MIELES, JEANETTE     ADDRESS ON FILE
CARDONA MILIAN, MARIA        ADDRESS ON FILE
CARDONA MILLAN, CARLOS A.    ADDRESS ON FILE
CARDONA MIRANDA, ELLIOT      ADDRESS ON FILE
CARDONA MOLINA, EDITH M      ADDRESS ON FILE
CARDONA MOLINA, MARIA        ADDRESS ON FILE
CARDONA MOLINA, MIGUEL A     ADDRESS ON FILE
CARDONA MONTALVO, TANIA E    ADDRESS ON FILE
CARDONA MORALES, CEZANNE     ADDRESS ON FILE
CARDONA MORALES, DALILA      ADDRESS ON FILE
CARDONA MORALES, DALILA      ADDRESS ON FILE
CARDONA MORALES, ERNESTO     ADDRESS ON FILE
CARDONA MORALES, FIDEL       ADDRESS ON FILE
CARDONA MORALES, GLADYS      ADDRESS ON FILE
CARDONA MORALES, ISORA       ADDRESS ON FILE
CARDONA MORALES, LIZZETTE    ADDRESS ON FILE
CARDONA MORALES, LUZ L       ADDRESS ON FILE
CARDONA MORALES, MICHELLE    ADDRESS ON FILE
Cardona Morales, Myrta       ADDRESS ON FILE
CARDONA MORALES, TANIA Y     ADDRESS ON FILE
CARDONA MORALES, YANIRA      ADDRESS ON FILE
CARDONA MORALES,LESLIE ANN   ADDRESS ON FILE
CARDONA MORAN, GERALDO       ADDRESS ON FILE
CARDONA MORENO, CARMEN M     ADDRESS ON FILE
CARDONA MORENO, ELVIA        ADDRESS ON FILE
CARDONA MOREU, ROSA          ADDRESS ON FILE
CARDONA MOREU, ROSA          ADDRESS ON FILE
CARDONA MOYA, AWILDA         ADDRESS ON FILE
CARDONA MUNIZ, ALEIDA        ADDRESS ON FILE
CARDONA MUNIZ, ALEJANDRA     ADDRESS ON FILE
CARDONA MUNIZ, JULIO         ADDRESS ON FILE
CARDONA MUNIZ, JULIO         ADDRESS ON FILE
CARDONA NEGRON, ANGEL        ADDRESS ON FILE
CARDONA NEGRON, ANGEL L      ADDRESS ON FILE
Cardona Negron, Angel L.     ADDRESS ON FILE
CARDONA NEGRON, HERNAN       ADDRESS ON FILE
Cardona Negron, Jessica M    ADDRESS ON FILE
CARDONA NEGRON, LUZ D        ADDRESS ON FILE
Cardona Nieves, Agustin      ADDRESS ON FILE
CARDONA NIEVES, ANGELINA     ADDRESS ON FILE
CARDONA NIEVES, ARMANDO      ADDRESS ON FILE
CARDONA NIEVES, CARLOS       ADDRESS ON FILE
CARDONA NIEVES, CARMEN E.    ADDRESS ON FILE
CARDONA NIEVES, EFRAIN       ADDRESS ON FILE
CARDONA NIEVES, JESSICA      ADDRESS ON FILE
Cardona Nieves, Nelson       ADDRESS ON FILE
CARDONA NIEVES, NIVIA        ADDRESS ON FILE
CARDONA NIEVES, NOEL         ADDRESS ON FILE
CARDONA NORIEGA, LEONARDO    ADDRESS ON FILE
CARDONA NOVALES, ESTRELLA    ADDRESS ON FILE
CARDONA NUNEZ, EFRAIN        ADDRESS ON FILE
Cardona Nunez, Hector M      ADDRESS ON FILE
Cardona Nunez, Ivan          ADDRESS ON FILE
CARDONA NUNEZ, LUIS A.       ADDRESS ON FILE
CARDONA NUNEZ, MARIA D       ADDRESS ON FILE
Cardona Nunez, Salvador      ADDRESS ON FILE
CARDONA OCASIO, MILSA E      ADDRESS ON FILE
CARDONA OJEDA, ELADIO        ADDRESS ON FILE
CARDONA OLIVENCIA, HECTOR    ADDRESS ON FILE




                                                                         Page 1178 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1179 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA OLIVENCIA, LUIS E      ADDRESS ON FILE
CARDONA OLIVERAS, MERGIES L    ADDRESS ON FILE
CARDONA OLMEDA, JOSE           ADDRESS ON FILE
CARDONA OLMO, RAFAEL A.        ADDRESS ON FILE
CARDONA ORDONEZ, OLGA L.       ADDRESS ON FILE
CARDONA ORTIZ, CARMEN L        ADDRESS ON FILE
CARDONA ORTIZ, DINAH E         ADDRESS ON FILE
CARDONA ORTIZ, JUAN C.         ADDRESS ON FILE
CARDONA ORTIZ, MARISEL         ADDRESS ON FILE
CARDONA ORTIZ, VIRGEN          ADDRESS ON FILE
CARDONA ORTIZ, WANDA IVETTE    ADDRESS ON FILE
CARDONA ORTIZ, YAIRA           ADDRESS ON FILE
CARDONA ORTIZ, YAIRA M         ADDRESS ON FILE
Cardona Otero, Gabriel         ADDRESS ON FILE
CARDONA OTERO, GABRIEL         ADDRESS ON FILE
CARDONA OTERO, ISRAEL          ADDRESS ON FILE
CARDONA OTERO, JAVIER          ADDRESS ON FILE
CARDONA OYOLA, GIOVANNIE       ADDRESS ON FILE
CARDONA PADILLA, EDNA J.       ADDRESS ON FILE
CARDONA PADILLA, EMILIO        ADDRESS ON FILE
CARDONA PADILLA, MIRIAM        ADDRESS ON FILE
Cardona Padilla, Miriam J.     ADDRESS ON FILE
CARDONA PADIN, REBECA          ADDRESS ON FILE
CARDONA PAGAN, CARMEN S        ADDRESS ON FILE
CARDONA PAGAN, DAISY           ADDRESS ON FILE
CARDONA PAGAN, DELIA           ADDRESS ON FILE
CARDONA PAGAN, JORGE L         ADDRESS ON FILE
CARDONA PAGAN, LUIS            ADDRESS ON FILE
CARDONA PANTOJAS, MELBA L      ADDRESS ON FILE
CARDONA PANTOJAS, VELIA        ADDRESS ON FILE
CARDONA PANTOJAS, VELIA V      ADDRESS ON FILE
CARDONA PASTRANA, NANCY E      ADDRESS ON FILE
CARDONA PEDROZA, DAISY         ADDRESS ON FILE
CARDONA PEDROZA, NANCY         ADDRESS ON FILE
CARDONA PELLOT, EDWIN          ADDRESS ON FILE
Cardona Pellot, Edwin          ADDRESS ON FILE
CARDONA PELLOT, EVELYN         ADDRESS ON FILE
CARDONA PERALES, LIZ YAHAIRA   ADDRESS ON FILE
CARDONA PERALES, LIZ YAHAIRA   ADDRESS ON FILE
CARDONA PEREZ, ADLIS           ADDRESS ON FILE
CARDONA PEREZ, ANEL            ADDRESS ON FILE
CARDONA PEREZ, AURA D          ADDRESS ON FILE
CARDONA PEREZ, BLANCA C.       ADDRESS ON FILE
CARDONA PEREZ, BLANCA C.       ADDRESS ON FILE
CARDONA PEREZ, BRENDA I.       ADDRESS ON FILE
CARDONA PEREZ, BRYAN           ADDRESS ON FILE
CARDONA PEREZ, CARMELO         ADDRESS ON FILE
Cardona Perez, Cesar L         ADDRESS ON FILE
CARDONA PEREZ, CHRISTIAN E     ADDRESS ON FILE
Cardona Perez, Delvin M        ADDRESS ON FILE
CARDONA PEREZ, ELBA L.         ADDRESS ON FILE
CARDONA PEREZ, ELISA           ADDRESS ON FILE
CARDONA PEREZ, EMERIDO         ADDRESS ON FILE
CARDONA PEREZ, EMERIDO         ADDRESS ON FILE
CARDONA PEREZ, FRANCISCO       ADDRESS ON FILE
CARDONA PEREZ, HUGO            ADDRESS ON FILE
CARDONA PEREZ, IRIS            ADDRESS ON FILE
CARDONA PEREZ, JANNETTE        ADDRESS ON FILE
Cardona Perez, Jorge Milton    ADDRESS ON FILE
CARDONA PEREZ, JOSE            ADDRESS ON FILE




                                                                           Page 1179 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1180 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA PEREZ, LISMARY          ADDRESS ON FILE
CARDONA PEREZ, LUIS A           ADDRESS ON FILE
CARDONA PEREZ, LUIS E           ADDRESS ON FILE
CARDONA PEREZ, LUZ E            ADDRESS ON FILE
CARDONA PEREZ, MARIA            ADDRESS ON FILE
CARDONA PEREZ, MARIELA          ADDRESS ON FILE
CARDONA PEREZ, MARITZA          ADDRESS ON FILE
CARDONA PEREZ, MILTON           ADDRESS ON FILE
CARDONA PEREZ, MONSERRATE       ADDRESS ON FILE
CARDONA PEREZ, MYRIAM           ADDRESS ON FILE
CARDONA PEREZ, PABLO            ADDRESS ON FILE
CARDONA PEREZ, PABLO L          ADDRESS ON FILE
Cardona Perez, Pablo L.         ADDRESS ON FILE
CARDONA PEREZ, RAYNIER          ADDRESS ON FILE
CARDONA PEREZ, RICARDO          ADDRESS ON FILE
CARDONA PEREZ, RICARDO          ADDRESS ON FILE
CARDONA PEREZ, ROSARIO          ADDRESS ON FILE
CARDONA PEREZ, SARILU           ADDRESS ON FILE
CARDONA PEREZ, SONIA L.         ADDRESS ON FILE
CARDONA PEREZ, WILSON           ADDRESS ON FILE
CARDONA PETERSON, BARRY         ADDRESS ON FILE
CARDONA PINEIRO, ALEXANDRA      ADDRESS ON FILE
CARDONA PINEIRO, CARMEN R.      ADDRESS ON FILE
Cardona Pineiro, Joel           ADDRESS ON FILE
CARDONA PINEIRO, MINERVA        ADDRESS ON FILE
CARDONA PINEIRO, ROBERTO        ADDRESS ON FILE
CARDONA PIQERO, JOEL M          ADDRESS ON FILE
CARDONA PLAZA, JULIO            ADDRESS ON FILE
CARDONA POLANCO, IRIS ROSAURA   ADDRESS ON FILE
CARDONA PONCE, JUAN             ADDRESS ON FILE
CARDONA QUILES, ANIBAL          ADDRESS ON FILE
CARDONA QUILES, ARELIS          ADDRESS ON FILE
CARDONA QUILES, CARMEN J        ADDRESS ON FILE
CARDONA QUILES, JEANNETTE       ADDRESS ON FILE
CARDONA QUINONES, JEAN C        ADDRESS ON FILE
CARDONA QUINONES, MARIEM        ADDRESS ON FILE
CARDONA QUINTANA, DAVID         ADDRESS ON FILE
CARDONA QUINTANA, NOEL          ADDRESS ON FILE
CARDONA RAICES, WILLIAM         ADDRESS ON FILE
CARDONA RAICES, WITICIA         ADDRESS ON FILE
CARDONA RAICES, WITICIA         ADDRESS ON FILE
CARDONA RAICES,WILLIAM          ADDRESS ON FILE
CARDONA RAMIREZ MD, JOSE        ADDRESS ON FILE
CARDONA RAMIREZ MD, JOSE M      ADDRESS ON FILE
CARDONA RAMIREZ MD, OSCAR A     ADDRESS ON FILE
CARDONA RAMIREZ, CHARLES A      ADDRESS ON FILE
CARDONA RAMIREZ, DORIS M        ADDRESS ON FILE
CARDONA RAMIREZ, GLADYS E       ADDRESS ON FILE
CARDONA RAMIREZ, ISIDRO         ADDRESS ON FILE
CARDONA RAMIREZ, MARGARITA      ADDRESS ON FILE
CARDONA RAMIREZ, MARIA G        ADDRESS ON FILE
CARDONA RAMIREZ, NELIDA         ADDRESS ON FILE
CARDONA RAMIREZ, RAFAEL         ADDRESS ON FILE
Cardona Ramirez, Richard        ADDRESS ON FILE
CARDONA RAMIREZ, VICTOR A.      ADDRESS ON FILE
CARDONA RAMIREZ, WILSON         ADDRESS ON FILE
CARDONA RAMIREZ, XIOMARA        ADDRESS ON FILE
CARDONA RAMOS, DANIEL A.        ADDRESS ON FILE
CARDONA RAMOS, FRANCHESKA       ADDRESS ON FILE
CARDONA RAMOS, FRANCISCA        ADDRESS ON FILE




                                                                            Page 1180 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1181 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
CARDONA RAMOS, IVETTE          ADDRESS ON FILE
CARDONA RAMOS, JOSE            ADDRESS ON FILE
CARDONA RAMOS, JOSE            ADDRESS ON FILE
Cardona Ramos, Luis A          ADDRESS ON FILE
CARDONA RAMOS, MARIA A         ADDRESS ON FILE
CARDONA RAMOS, MARIA C.        ADDRESS ON FILE
CARDONA RAMOS, NELLIE          ADDRESS ON FILE
CARDONA RAMOS, SANDRA          ADDRESS ON FILE
CARDONA RAMOS, SANTOS          ADDRESS ON FILE
CARDONA RAMOS, SANTOS N.       ADDRESS ON FILE
CARDONA RAMOS, VIVIAN          ADDRESS ON FILE
CARDONA RENTAL                 HC 7 BOX 75900                                                                   SAN SEBASTIAN     PR      00685
CARDONA RESTO, ENRIQUE         ADDRESS ON FILE
CARDONA RESTO, JOSE R          ADDRESS ON FILE
CARDONA REYES, ANTONIA         ADDRESS ON FILE
CARDONA REYES, CARLOS          ADDRESS ON FILE
CARDONA REYES, DAISY           ADDRESS ON FILE
CARDONA REYES, HECTOR L.       ADDRESS ON FILE
Cardona Reyes, Jose L          ADDRESS ON FILE
CARDONA REYEZ,JOSE L.          ADDRESS ON FILE
CARDONA RIERA, CESAR           ADDRESS ON FILE
CARDONA RIOS, ADIARIS          ADDRESS ON FILE
CARDONA RIOS, ADIARIS M.       ADDRESS ON FILE
CARDONA RIOS, CARMEN M         ADDRESS ON FILE
CARDONA RIOS, EFREN A.         ADDRESS ON FILE
CARDONA RIOS, MARGARITA        ADDRESS ON FILE
CARDONA RIOS, MARIA            ADDRESS ON FILE
CARDONA RIOS, MARIANGEL C      ADDRESS ON FILE
CARDONA RIOS, MARIANO          ADDRESS ON FILE
CARDONA RIOS, MILDRED          ADDRESS ON FILE
CARDONA RIVERA, ALEX           ADDRESS ON FILE
CARDONA RIVERA, ALVIN          ADDRESS ON FILE
Cardona Rivera, Antonio        ADDRESS ON FILE
CARDONA RIVERA, AXEL           ADDRESS ON FILE
CARDONA RIVERA, BARBINA        ADDRESS ON FILE
CARDONA RIVERA, BENJAMIN       ADDRESS ON FILE
CARDONA RIVERA, CARLOS         ADDRESS ON FILE
Cardona Rivera, Carlos A       ADDRESS ON FILE
CARDONA RIVERA, CHRISTIAN      ADDRESS ON FILE
CARDONA RIVERA, DARLINE        ADDRESS ON FILE
Cardona Rivera, David          ADDRESS ON FILE
CARDONA RIVERA, EFRAIN         ADDRESS ON FILE
CARDONA RIVERA, EMILIA DEL C   ADDRESS ON FILE
CARDONA RIVERA, FERNANDO       ADDRESS ON FILE
CARDONA RIVERA, GERALDINE M    ADDRESS ON FILE
CARDONA RIVERA, HECTOR         ADDRESS ON FILE
CARDONA RIVERA, HECTOR A       ADDRESS ON FILE
CARDONA RIVERA, HECTOR L       ADDRESS ON FILE
CARDONA RIVERA, HERMINIO J.    ADDRESS ON FILE
CARDONA RIVERA, ISIS           ADDRESS ON FILE
CARDONA RIVERA, IVETTE         ADDRESS ON FILE
Cardona Rivera, Jesus          ADDRESS ON FILE
CARDONA RIVERA, JORGE          ADDRESS ON FILE
CARDONA RIVERA, JOSE           ADDRESS ON FILE
CARDONA RIVERA, JOSE           ADDRESS ON FILE
CARDONA RIVERA, JOSE A         ADDRESS ON FILE
CARDONA RIVERA, JOSE D         ADDRESS ON FILE
CARDONA RIVERA, JUAN           ADDRESS ON FILE
CARDONA RIVERA, JUAN A.        ADDRESS ON FILE
CARDONA RIVERA, LORRAINA I     ADDRESS ON FILE




                                                                           Page 1181 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1182 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cardona Rivera, Lucia A        ADDRESS ON FILE
CARDONA RIVERA, LUIS           ADDRESS ON FILE
CARDONA RIVERA, MARISOL        ADDRESS ON FILE
CARDONA RIVERA, MARTA I        ADDRESS ON FILE
CARDONA RIVERA, MAYRA I        ADDRESS ON FILE
CARDONA RIVERA, MELANI         ADDRESS ON FILE
CARDONA RIVERA, MIGUEL A       ADDRESS ON FILE
CARDONA RIVERA, MILAGROS       ADDRESS ON FILE
CARDONA RIVERA, MYRNA          ADDRESS ON FILE
CARDONA RIVERA, MYRNA Y        ADDRESS ON FILE
CARDONA RIVERA, SILKIA         ADDRESS ON FILE
CARDONA RIVERA, WILMER         ADDRESS ON FILE
CARDONA RIVERA, ZORAIDA        ADDRESS ON FILE
CARDONA ROBLES MD, ALBERTO     ADDRESS ON FILE
CARDONA ROBLES MD, JUAN        ADDRESS ON FILE
CARDONA ROBLES, ANGEL F        ADDRESS ON FILE
CARDONA ROBLES, JOSIE E        ADDRESS ON FILE
CARDONA RODRIGUEZ MD, LEE      ADDRESS ON FILE
CARDONA RODRIGUEZ, ALLEN       ADDRESS ON FILE
CARDONA RODRIGUEZ, CARLOS      ADDRESS ON FILE
CARDONA RODRIGUEZ, CARMEN      ADDRESS ON FILE
CARDONA RODRIGUEZ, CARMEN Z.   ADDRESS ON FILE
CARDONA RODRIGUEZ, EDWIN       ADDRESS ON FILE
CARDONA RODRIGUEZ, JENNELY     ADDRESS ON FILE
CARDONA RODRIGUEZ, JORGE L     ADDRESS ON FILE
CARDONA RODRIGUEZ, JOSE        ADDRESS ON FILE
Cardona Rodriguez, Jose A      ADDRESS ON FILE
CARDONA RODRIGUEZ, JUAN        ADDRESS ON FILE
CARDONA RODRIGUEZ, KEILA       ADDRESS ON FILE
CARDONA RODRIGUEZ, LUIS        ADDRESS ON FILE
CARDONA RODRIGUEZ, MARICELIS   ADDRESS ON FILE
CARDONA RODRIGUEZ, MILDRED     ADDRESS ON FILE
CARDONA RODRIGUEZ, NATASCHA    ADDRESS ON FILE
CARDONA RODRIGUEZ, PEDRO       ADDRESS ON FILE
CARDONA RODRIGUEZ, PURA        ADDRESS ON FILE
CARDONA RODRIGUEZ, RAQUEL      ADDRESS ON FILE
CARDONA RODRIGUEZ, WILFREDO    ADDRESS ON FILE
CARDONA RODRIGUEZ,ZAYDALEE     ADDRESS ON FILE
CARDONA ROHENA, NICHOLE        ADDRESS ON FILE
CARDONA ROHENA, RAFAEL         ADDRESS ON FILE
CARDONA ROIG, PEDRO M          ADDRESS ON FILE
CARDONA ROLDAN MD, CARLOS A    ADDRESS ON FILE
CARDONA ROLDAN, ABIGAIL        ADDRESS ON FILE
Cardona Roldan, Emma G         ADDRESS ON FILE
CARDONA ROMAN, AILEEN          ADDRESS ON FILE
CARDONA ROMAN, ANA             ADDRESS ON FILE
CARDONA ROMAN, ANGEL L.        ADDRESS ON FILE
CARDONA ROMAN, CARLOS          ADDRESS ON FILE
CARDONA ROMAN, CARLOS A        ADDRESS ON FILE
CARDONA ROMAN, CARMEN          ADDRESS ON FILE
CARDONA ROMAN, ELSA            ADDRESS ON FILE
CARDONA ROMAN, ENRIQUE         ADDRESS ON FILE
CARDONA ROMAN, HERIBERTO       ADDRESS ON FILE
CARDONA ROMAN, JEIDDY          ADDRESS ON FILE
CARDONA ROMAN, JOSE R          ADDRESS ON FILE
CARDONA ROMAN, MANUEL          ADDRESS ON FILE
CARDONA ROMAN, MARIA           ADDRESS ON FILE
CARDONA ROMAN, NESTOR          ADDRESS ON FILE
CARDONA ROMAN, NIDIA I         ADDRESS ON FILE
CARDONA ROMAN, OSCAR ENRIQUE   ADDRESS ON FILE




                                                                           Page 1182 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1183 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARDONA ROMERO, GAMALIEL      ADDRESS ON FILE
CARDONA ROMERO, GAMALIS       ADDRESS ON FILE
CARDONA ROSA, CARMELO         ADDRESS ON FILE
CARDONA ROSA, EVELYN          ADDRESS ON FILE
CARDONA ROSA, JOSE A.         ADDRESS ON FILE
CARDONA ROSA, LISSETTE        ADDRESS ON FILE
CARDONA ROSA, MYRTA E         ADDRESS ON FILE
CARDONA ROSA, NILDA M         ADDRESS ON FILE
CARDONA ROSA, PABLO           ADDRESS ON FILE
CARDONA ROSA, YEIDY           ADDRESS ON FILE
CARDONA ROSADO, ALBA          ADDRESS ON FILE
CARDONA ROSADO, BLANCA I      ADDRESS ON FILE
Cardona Rosado, Leticia       ADDRESS ON FILE
CARDONA ROSADO, WILFREDO      ADDRESS ON FILE
CARDONA ROSADO, WILMILI       ADDRESS ON FILE
CARDONA ROSARIO, ALEXIS       ADDRESS ON FILE
Cardona Rosario, Elizabeth    ADDRESS ON FILE
CARDONA ROSARIO, ELSA I       ADDRESS ON FILE
Cardona Rosario, Jesus M      ADDRESS ON FILE
CARDONA ROSARIO, LUIS         ADDRESS ON FILE
Cardona Rosario, Luis J       ADDRESS ON FILE
CARDONA ROSARIO, LUZ M        ADDRESS ON FILE
CARDONA ROSARIO, MARIA V      ADDRESS ON FILE
CARDONA ROSARIO, VICTOR       ADDRESS ON FILE
CARDONA RUBIO, LETICIA        ADDRESS ON FILE
CARDONA RUIZ, ANNETTE         ADDRESS ON FILE
CARDONA RUIZ, BRENDA          ADDRESS ON FILE
CARDONA RUIZ, BRENDA          ADDRESS ON FILE
CARDONA RUIZ, EVELYN          ADDRESS ON FILE
CARDONA RUIZ, GEORGIA Y       ADDRESS ON FILE
CARDONA RUIZ, HERIBERTO       ADDRESS ON FILE
CARDONA RUIZ, IVETTE          ADDRESS ON FILE
CARDONA RUIZ, JUAN            ADDRESS ON FILE
CARDONA RUIZ, LUIS            ADDRESS ON FILE
CARDONA RUIZ, LUIS A          ADDRESS ON FILE
CARDONA RUIZ, MARISEL         ADDRESS ON FILE
CARDONA RUIZ, REGINA          ADDRESS ON FILE
CARDONA SAEZ, ANGEL L.        ADDRESS ON FILE
CARDONA SAEZ, LUIS            ADDRESS ON FILE
CARDONA SALAS, EDWIN          ADDRESS ON FILE
CARDONA SALAS, HECTOR A       ADDRESS ON FILE
CARDONA SALAS, JULIO I        ADDRESS ON FILE
CARDONA SALCEDO, EVELYN       ADDRESS ON FILE
CARDONA SALCEDO, GUILLERMO    ADDRESS ON FILE
CARDONA SALCEDO, SAMUEL       ADDRESS ON FILE
CARDONA SALDANA, NOEMI        ADDRESS ON FILE
Cardona Saltares, Ramon       ADDRESS ON FILE
CARDONA SAMALOT, OMAR E.      ADDRESS ON FILE
Cardona Sampayo, Jose A.      ADDRESS ON FILE
CARDONA SANCHEZ, DELMA        ADDRESS ON FILE
CARDONA SANCHEZ, IRIS         ADDRESS ON FILE
CARDONA SANCHEZ, IRIS DEL C   ADDRESS ON FILE
CARDONA SANCHEZ, LONGINO      ADDRESS ON FILE
CARDONA SANCHEZ, LORRAINE D   ADDRESS ON FILE
CARDONA SANCHEZ, MARIA        ADDRESS ON FILE
CARDONA SANCHEZ, NEREIDA      ADDRESS ON FILE
CARDONA SANTAELLA, MIGUE      ADDRESS ON FILE
CARDONA SANTANA, AIDA E       ADDRESS ON FILE
CARDONA SANTANA, BRUNILDA     ADDRESS ON FILE
CARDONA SANTANA, DAMIGLY      ADDRESS ON FILE




                                                                          Page 1183 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1184 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
CARDONA SANTANA, EFRAIN        ADDRESS ON FILE
CARDONA SANTANA, FERMIN        ADDRESS ON FILE
CARDONA SANTANA, GLENDALIZ     ADDRESS ON FILE
Cardona Santiago, Angel L      ADDRESS ON FILE
CARDONA SANTIAGO, ANGELITA     ADDRESS ON FILE
CARDONA SANTIAGO, CARMELO      ADDRESS ON FILE
CARDONA SANTIAGO, EFRAIN       ADDRESS ON FILE
CARDONA SANTIAGO, GENYVETTE    ADDRESS ON FILE
CARDONA SANTIAGO, IRVIN        ADDRESS ON FILE
CARDONA SANTIAGO, JOSE         ADDRESS ON FILE
CARDONA SANTIAGO, JOSE         ADDRESS ON FILE
CARDONA SANTIAGO, MAYRA        ADDRESS ON FILE
CARDONA SANTIAGO, NESTOR       ADDRESS ON FILE
CARDONA SANTIAGO, NILSA        ADDRESS ON FILE
CARDONA SANTIAGO, ONEIDA       ADDRESS ON FILE
CARDONA SANTIAGO, ONELIA       ADDRESS ON FILE
CARDONA SANTIAGO, ORLANDO      ADDRESS ON FILE
CARDONA SANTOS MD, NELSON R    ADDRESS ON FILE
CARDONA SANTOS, LESLIE         ADDRESS ON FILE
CARDONA SANTOS, NELSON         ADDRESS ON FILE
CARDONA SANTOS, NESTOR         ADDRESS ON FILE
CARDONA SCHOOL OFFICE SUPPLY   32 BETANCES                                                                      SAN SEBASTIAN     PR      00685
CARDONA SECURITY SERVICE INC   PO BOX 1120                                                                      LARES             PR      00669‐1120
CARDONA SEGARRA, VANESSA       ADDRESS ON FILE
CARDONA SEPULVEDA, LUZ E       ADDRESS ON FILE
CARDONA SERBIA, IRMA           ADDRESS ON FILE
CARDONA SERRANO, ANGEL         ADDRESS ON FILE
CARDONA SERRANO, MARIA H.      ADDRESS ON FILE
CARDONA SERRANO, WILLIAM       ADDRESS ON FILE
CARDONA SIERRA, JOSE           ADDRESS ON FILE
CARDONA SIERRA, JOSE A.        ADDRESS ON FILE
CARDONA SIERRA, JULIO          ADDRESS ON FILE
CARDONA SIERRA, MARIA MABEL    ADDRESS ON FILE
CARDONA SOLTERO, MANUEL        ADDRESS ON FILE
CARDONA SOLTERO, NORMA I       ADDRESS ON FILE
CARDONA SONERA, FRANCHESKA M   ADDRESS ON FILE
CARDONA SOSTRE, ARIEL A        ADDRESS ON FILE
CARDONA SOTO, ADELAIDA         ADDRESS ON FILE
CARDONA SOTO, ANTONIO          ADDRESS ON FILE
CARDONA SOTO, ARMANDO          ADDRESS ON FILE
Cardona Soto, Catherine        ADDRESS ON FILE
CARDONA SOTO, DAXEL            ADDRESS ON FILE
CARDONA SOTO, DORIS M          ADDRESS ON FILE
CARDONA SOTO, JORGE L          ADDRESS ON FILE
CARDONA SOTO, MARIA            ADDRESS ON FILE
CARDONA SOTO, NILSA            ADDRESS ON FILE
CARDONA SOTO, ROSA             ADDRESS ON FILE
CARDONA SOTO, VALERIA          ADDRESS ON FILE
CARDONA SOTO, YOLANDA          ADDRESS ON FILE
CARDONA SOTO, YOLANDA          ADDRESS ON FILE
CARDONA SOTOMAYOR, ANGEL       ADDRESS ON FILE
CARDONA SOTOMAYOR, ANGEL N     ADDRESS ON FILE
CARDONA SOTOMAYOR, ENIDZA M    ADDRESS ON FILE
CARDONA TOLEDO, JOSE           ADDRESS ON FILE
CARDONA TOMASSINI, EDGARD      ADDRESS ON FILE
Cardona Tomassini, Edgard L    ADDRESS ON FILE
Cardona Tomassini, Edgard L    ADDRESS ON FILE
CARDONA TOMASSINI, IVAN        ADDRESS ON FILE
CARDONA TOMASSINI, MARIBEL     ADDRESS ON FILE
CARDONA TOMASSINI, NOEMI       ADDRESS ON FILE




                                                                           Page 1184 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1185 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
CARDONA TORRES, AIDA          ADDRESS ON FILE
CARDONA TORRES, AIDA          ADDRESS ON FILE
CARDONA TORRES, CARLOS M      ADDRESS ON FILE
CARDONA TORRES, CARMEN I      ADDRESS ON FILE
CARDONA TORRES, CARMEN N      ADDRESS ON FILE
CARDONA TORRES, DAMARIS       ADDRESS ON FILE
CARDONA TORRES, DANIEL        ADDRESS ON FILE
Cardona Torres, Eduardo E     ADDRESS ON FILE
CARDONA TORRES, GLADYS M      ADDRESS ON FILE
CARDONA TORRES, GLENDA        ADDRESS ON FILE
CARDONA TORRES, ISMAEL        ADDRESS ON FILE
CARDONA TORRES, JAVIER        ADDRESS ON FILE
CARDONA TORRES, JORGE         ADDRESS ON FILE
CARDONA TORRES, LUIS          ADDRESS ON FILE
CARDONA TORRES, MELITZA       ADDRESS ON FILE
CARDONA TORRES, MYRIAM        ADDRESS ON FILE
CARDONA TORRES, SOLIAN        ADDRESS ON FILE
CARDONA TORRES, ZOLANCH       ADDRESS ON FILE
CARDONA TRANSPORT INC         HC 1 BOX 6150                                                                    LAS PIEDRAS     PR      00771‐9713
CARDONA TRINIDAD, WANDA       ADDRESS ON FILE
CARDONA TUBENS, JULIO         ADDRESS ON FILE
CARDONA TUBENS, WANDALIZ      ADDRESS ON FILE
CARDONA URDAZ, ANGEL          ADDRESS ON FILE
CARDONA URDAZ, AZALEA M       ADDRESS ON FILE
CARDONA VALCARCEL, REY        ADDRESS ON FILE
Cardona Vale, Elba I          ADDRESS ON FILE
Cardona Valentin, Alexis      ADDRESS ON FILE
CARDONA VALENTIN, ANGEL L     ADDRESS ON FILE
CARDONA VALENTIN, ELIZABETH   ADDRESS ON FILE
CARDONA VALENTIN, GISELLE     ADDRESS ON FILE
CARDONA VALENTIN, JOE         ADDRESS ON FILE
CARDONA VALENTIN, JOHNY       ADDRESS ON FILE
CARDONA VALENTIN, RAYMOND     ADDRESS ON FILE
CARDONA VALENTIN, VILMARY     ADDRESS ON FILE
CARDONA VALENTIN, YANISE      ADDRESS ON FILE
Cardona Valentin, Yazmira     ADDRESS ON FILE
CARDONA VALLE, NILDA          ADDRESS ON FILE
CARDONA VALLE,ANA             ADDRESS ON FILE
CARDONA VARGAS, CHRISTIAN     ADDRESS ON FILE
CARDONA VARGAS, DAGMAR        ADDRESS ON FILE
CARDONA VARGAS, ELIZABETH     ADDRESS ON FILE
CARDONA VARGAS, LUZ D         ADDRESS ON FILE
CARDONA VAZQUEZ, CYNTHIA      ADDRESS ON FILE
CARDONA VAZQUEZ, EDELMIRA     ADDRESS ON FILE
CARDONA VAZQUEZ, EDELMIRA     ADDRESS ON FILE
CARDONA VAZQUEZ, ENEDIGNA     ADDRESS ON FILE
CARDONA VAZQUEZ, GENOVEVA     ADDRESS ON FILE
CARDONA VAZQUEZ, LILLIAM I    ADDRESS ON FILE
CARDONA VAZQUEZ, NADIA        ADDRESS ON FILE
CARDONA VAZQUEZ, RAYMOND      ADDRESS ON FILE
CARDONA VAZQUEZ, ROSA H.      ADDRESS ON FILE
CARDONA VEGA, EFRAIN          ADDRESS ON FILE
CARDONA VEGA, ELVIS J         ADDRESS ON FILE
CARDONA VEGA, JOSE            ADDRESS ON FILE
CARDONA VEGA, LISANDRA        ADDRESS ON FILE
CARDONA VELAZQUEZ, JOSE L     ADDRESS ON FILE
CARDONA VELAZQUEZ, OSCAR      ADDRESS ON FILE
Cardona Velazquez, Yomara     ADDRESS ON FILE
CARDONA VELEZ MD, VICTOR      ADDRESS ON FILE
CARDONA VELEZ, AMALIA E       ADDRESS ON FILE




                                                                          Page 1185 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1186 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3              Address4   City             State   PostalCode   Country
CARDONA VELEZ, BLANCA                   ADDRESS ON FILE
CARDONA VELEZ, BLANCA                   ADDRESS ON FILE
CARDONA VELEZ, EFRAIN                   ADDRESS ON FILE
CARDONA VELEZ, ERIC G.                  ADDRESS ON FILE
CARDONA VELEZ, HILDA Z                  ADDRESS ON FILE
CARDONA VELEZ, LOYDA                    ADDRESS ON FILE
CARDONA VELEZ, MARILYN                  ADDRESS ON FILE
CARDONA VELEZ, MARILYN                  ADDRESS ON FILE
CARDONA VELEZ, RAMON L.                 ADDRESS ON FILE
CARDONA VERA, JOSMAR                    ADDRESS ON FILE
CARDONA VERA, MOREYMA CRISTIE           ADDRESS ON FILE
CARDONA VICENTE, NAHILA                 ADDRESS ON FILE
Cardona Vidal, Raul                     ADDRESS ON FILE
CARDONA VIDAL, RAUL                     ADDRESS ON FILE
CARDONA VIERA, MELISSA                  ADDRESS ON FILE
CARDONA VIERA, ZULEMA                   ADDRESS ON FILE
CARDONA VILLAFANE, ILEANA               ADDRESS ON FILE
CARDONA VILLANUEVA, MARIA DE L          ADDRESS ON FILE
CARDONA VILLANUEVA, ROBERTO             ADDRESS ON FILE
Cardona Zambrana, Miguel A              ADDRESS ON FILE
CARDONA, ANA                            ADDRESS ON FILE
CARDONA, ARMANDO ALBERTO                ADDRESS ON FILE

CARDONA, EDUCACION CON PROPOSITO, INC   273 PMB 256               URB LA CUMBRE                    CALLE SIERRA MORENA              SAN JUAN         PR      00926
CARDONA, EMMANUEL                       ADDRESS ON FILE
CARDONA, HECTOR                         ADDRESS ON FILE
CARDONA, IRIS                           ADDRESS ON FILE
CARDONA, JUAN                           ADDRESS ON FILE
CARDONA, LEIDA M                        ADDRESS ON FILE
CARDONA, NESTOR G                       ADDRESS ON FILE
CARDONA, RAFAEL A.                      ADDRESS ON FILE
CARDONA, XAVIER                         ADDRESS ON FILE
CARDONAVELAZQUEZ, JACKELINE             ADDRESS ON FILE
CARDONE INDUSTRIES OCC HEALTH           5670 RISING SUN AVE                                                                         PHILADELPHIA     PA      19120
CARDOSA PAGAN, AMERICO                  ADDRESS ON FILE
Cardoza Cardoza, Adrian                 ADDRESS ON FILE
CARDOZA CARDOZA, MARIA V.               ADDRESS ON FILE
CARDOZA DIAZ, NOELIA                    ADDRESS ON FILE
CARDOZA GARCIA, AMELIA                  ADDRESS ON FILE
CARDOZA GARCIA, JUAN E                  ADDRESS ON FILE
CARDOZA GARCIA, NELSON                  ADDRESS ON FILE
CARDOZA GARCIA, NELSON                  ADDRESS ON FILE
CARDOZA HERNANDEZ, MARIA E              ADDRESS ON FILE
CARDOZA IRRIZARRY, YVONNE               ADDRESS ON FILE
CARDOZA LABOY, AMIRCAL                  ADDRESS ON FILE
CARDOZA LOPEZ, CARMEN J                 ADDRESS ON FILE
CARDOZA LOPEZ, ERIC                     ADDRESS ON FILE
CARDOZA LOPEZ, LUIS                     ADDRESS ON FILE
CARDOZA LOPEZ, LUIS R.                  ADDRESS ON FILE
Cardoza Lugo, Jose L                    ADDRESS ON FILE
CARDOZA MARTINEZ, ADAN                  ADDRESS ON FILE
CARDOZA NEGRON, DAMARYS                 ADDRESS ON FILE
CARDOZA PADILLA, MIRIAM                 ADDRESS ON FILE
CARDOZA RIVERA, MAGALY                  ADDRESS ON FILE
CARDOZA ROBLEDO, JOSE R                 ADDRESS ON FILE
CARDOZA SEDA, ELIZABETH                 ADDRESS ON FILE
CARDOZA SEDA, EVER                      ADDRESS ON FILE
CARDOZA SEDA, RAMON                     ADDRESS ON FILE
CARDOZA SORIANO, MANUEL                 ADDRESS ON FILE
CARDOZAGARCIA, PEDRO                    ADDRESS ON FILE




                                                                                    Page 1186 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 1187 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                                     Address1                             Address2                                 Address3                 Address4   City            State   PostalCode   Country
CARDWELL MD, KEVIN                                ADDRESS ON FILE
CARDWOOD CRUZ, HECTOR                             ADDRESS ON FILE
CARDY GARCIA, DINORAH                             ADDRESS ON FILE
CARDY GARCIA, WILFRIDO                            ADDRESS ON FILE
CARE 1 HEALTH SOUTH                               2102 SW 20TH PL 100                                                                                               OCALA           FL      34474
CAREER ACADEMY                                    6 HIGHVIEW STREET                                                                                                 NEEDHAM         MA      002494
CAREER ACADEMY.COM, INC                           6 HIGHVIEW STREET                                                                                                 NEEDHAM         MA      02494
CAREER CONTRACT SERVICES INC                      208 AVE PONCE DE LEON STE 1920                                                                                    SAN JUAN        PR      00918‐1000
CAREER TRACK                                      PO BOX 219468                                                                                                     KANSAS CITY     MO      64121‐9468
CAREER TRANSTIONS INC                             208 BANCO POPULAR CENTER             SUITE 1100                                                                   SAN JUAN        PR      00918‐1036
CAREF CONSTRUCTION AND MAINTENAINCE INC P O BOX 801296                                                                                                              COTO LAUREL     PR      00780
CareFirst BlueCross BlueShield and CareFirst Blue P.O. BOX 79749                                                                                                    BALTIMORE       MD      21279‐0749
CAREFUSION CORPORATION                            22 BLOOMINGDALE DRIVE                                                                                             SCARSDALE       NY      10583
CAREGIVERS DE P R                                 P O BOX 70108                                                                                                     SAN JUAN        PR      00936‐8108
CAREGIVERS SUPPORT GROUP CORP                     PO BOX C 359                                                                                                      DORADO          PR      00646
CAREL GROUP INC                                   PO BOX 1768                                                                                                       BAYAMON         PR      00960‐1768
CAREL ROSADO ROJAS                                ADDRESS ON FILE
CAREL VELAZQUEZ POLA                              ADDRESS ON FILE
CARELA GARCIA, MIGUELINA ZOEY                     ADDRESS ON FILE
CARELA GONZALEZ, YUDELKY                          ADDRESS ON FILE
CARELA RAMOS, RUBEN                               ADDRESS ON FILE
CARELA SANTANA, JOHAN O.                          ADDRESS ON FILE
CARELIS RESTO DAVILA                              ADDRESS ON FILE
CARELY BEAZ SANTIAGO                              ADDRESS ON FILE
CARELYN C CORDERO LUGO                            ADDRESS ON FILE
CARELYN M CINTRON VEGA                            ADDRESS ON FILE
CAREM VEGA RIOS                                   ADDRESS ON FILE
CAREMEDICA                                        2200 WHITNEY AVE STE 200                                                                                          HAMDEN          CT      06518
CAREN L MALDONADO ECHEVARRIA                      ADDRESS ON FILE
CARENIN CORDERO BORRERO                           ADDRESS ON FILE
CARENIN CORDERO BORRERO                           ADDRESS ON FILE
CARENIN CORDERO BORRERO                           ADDRESS ON FILE
CARENS DEVELOPMENT CORP                           URB SAN AGUSTIN                      269 A ROBERTO CLEMENTE                                                       SAN JUAN        PR      00926
CARERO CRESPO, YARELIS                            ADDRESS ON FILE
CAREX TRADING INC                                 URB OASIS GDNS                       F10 CALLE ESPANA                                                             GUAYNABO        PR      00969‐3423
CAREY FELIX, LYNN                                 ADDRESS ON FILE
CAREY FELIX, VINCENT                              ADDRESS ON FILE
CAREY FELIX, VINCENT S                            ADDRESS ON FILE
CAREY SURF SHOP CORP                              PO BOX 518                                                                                                        GURABO          PR      00778
CAREY WATERMARK INVESTOR 2 INCORPORATED5100 N BROOKLINE STE 600                                                                                                     OKLAHOMA        OK      73112
CAREY Y CIA LTDA                                  MIRAFLORES 222 PISO 24                                                                                            SANTIAGO                             CHILE
CARGILL FLAVOR SYSTEMS PUERTO RICO INC            P O BOX 145230                                                                                                    ARECIBO         PR      00614
CARIANGELI LEON MORAZA                            ADDRESS ON FILE
CARIANNA M MATIAS HILARIO                         ADDRESS ON FILE
CARIANNE MORELL / MARITZA RODRIGUEZ               ADDRESS ON FILE
CARIANO RIVERA, JOSE                              ADDRESS ON FILE
CARIB CHRISTIAN SCHOOL INC                        PO BOX 250446                                                                                                     AGUADILLA       PR      00604
CARIB JANITORIAL SUPPLY                           AVE AGUAS BUENAS BLQ 16 SANTA ROSA                                                                                BAYAMON         PR      00100
CARIB TECHNOLOGICAL INSTITUTE                     PMB 407                              UU‐1 CALLE 39                                                                BAYAMON         PR      00956
CARIBBE MERCHANDISER SERVICES                     PO BOX 519                                                                                                        CAGUAS          PR      00726‐0519
CARIBBEA STITCHES                                 PMB 349                              HC 1 BOX 29030                                                               CAGUAS          PR      00725‐8900
CARIBBEAN AIR COOLING ELECTRIC CORP               PO BOX 6974                                                                                                       BAYAMON         PR      00960
CARIBBEAN AIRCRAFT PARTS SUPPLIER CORP            P O BOX 1735                                                                                                      CAROLINA        PR      00984‐1735
CARIBBEAN AIRPORT FACILITIES                      SECTOR CENTRAL                       CARR 150 SUITE 3                                                             CAROLINA        PR      00979
CARIBBEAN ALLIANCE INSURANCE CO. Y BBVA LUIS RIVERA MARTÍNEZ                           RR17 BOX 11358                                                               SAN JUAN        PR      00926‐9499

CARIBBEAN ALLIANCE INSURANCE COMPANY Y B IVAN APONTE FIGUEROA                          650 PLAZA SUITE 204                       650 AVE. MUÑOZ RIVERA              SAN JUAN        PR      00918
                                                                                                                                 SUITE 502 650 AVE.
CARIBBEAN ALLIANCE INSURANCE COMPANY Y B LCDO. IVAN APONTE FIGUEROA Y LCDO. JOSE A. C650 PLAZA BUILDING                          MUNOZ RIVERA                       SAN JUAN        PR      00918
CARIBBEAN ALLIANCE INSURANCE COMPANY Y B LCDO. CARLOS R. PADILLA MONTALVO            URB. PERLA DEL SUR 2435 PASEO PERLA DEL SUR STE 201                            Ponce           PR      00717




                                                                                                                 Page 1187 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                                                           Desc:
                                                                Exhibit A-1 - Creditor     Matrix
                                                                                     Case No.              Page 1188 of 3500
                                                                                              17 BK 3283‐LTS
                                                                                                                                Creditor Matrix

Creditor Name                                 Address1                                      Address2                                         Address3              Address4                City              State   PostalCode   Country

CARIBBEAN ALLIANCE INSURANCE COMPANY Y B LCDO. IVAN APONTE FIGUEROA Y LCDO. JOSE A. C650 PLAZA BUILDING SUITE 502                            650 AVE. MUNOZ RIVERA                         SAN JUAN          PR      00918
CARIBBEAN ALLIANCE INSURANCE COMPANY Y E LCDO. LUIS A. CARRIÓN TAVÁREZ LCDO. IVAN AP Carrión Tavárez Law Offices PSC                         650 Plaza Suite 204   650 Ave. Muñoz Rivera   SAN JUAN          PR      00918
CARIBBEAN ALLIANCE INSURANCE COMPANY Y F LCDO. LUIS A. CARRIÓN TAVÁREZLCDO. IVAN APOCarrión Tavárez Law Offices PSC                          650 Plaza Suite 204   650 Ave. Muñoz Rivera   SAN JUAN          PR      00918
CARIBBEAN ALLIANCE INSURANCE COMPANY Y JELCDA. LISSETTE BONEFONT GONZÁLEZ            PO BOX 8906                                                                                           BAYAMON           PR      00960
                                                                                                                                                                   Suite 204 650 Ave.
CARIBBEAN ALLIANCE INSURANCE COMPANY Y JELCDO. LUIS A. CARRIÓN TAVÁREZLCDO. IVAN APOCarrión Tavárez Law Offices PSC                          650 Plaza             Muñoz Rivera            SAN JUAN          PR      00919
Caribbean American Life Assurance            273 Ponce de Leon                                Plaza Scotiabank Suite 1300                                                                  San Juan          PR      00917‐1838
Caribbean American Life Assurance Company    Attn: Christian Formby, Consumer Complaint ConPO Box 195167                                                                                   San Juan          PR      91951‐919
Caribbean American Life Assurance Company    Attn: Elaine Soto, Circulation of Risk           PO Box 195167                                                                                San Juan          PR      91951‐919
Caribbean American Life Assurance Company    Attn: Federico Grosso, President                 PO Box 195167                                                                                San Juan          PR      91951‐919
Caribbean American Life Assurance Company    Attn: Idalis Rodriguez, Regulatory Compliance Go PO Box 195167                                                                                San Juan          PR      91951‐919
Caribbean American Life Assurance Company    Attn: Jose Ramirez, Premiun Tax Contact          PO Box 195167                                                                                San Juan          PR      91951‐919
Caribbean American Life Assurance Company    Attn: Marta Cortes, Vice President               PO Box 195167                                                                                San Juan          PR      91951‐919
Caribbean American Property Insurance        273 Ponce de Leon Avenue                         Suite 1300                                                                                   San Juan          PR      00917‐1838
Caribbean American Property Insurance CompanyAttn: Federico Grosso, President                 PO Box 195167                                                                                San Juan          PR      91951‐919
Caribbean American Property Insurance CompanyAttn: Marta Cortes, Vice President               PO Box 195167                                                                                San Juan          PR      91951‐919
CARIBBEAN ARCHAELOGIST & ASSN                190 MUNOZ RIVERA AVE                             SUITE 114                                                                                    PONCE             PR      00731
CARIBBEAN ATHLETIC SUPPLIES NINC             URB TORRIMAR                                     2‐2 CALLE MADRID                                                                             GUAYNABO          PR      00966
CARIBBEAN AUTO AUCTIONS                      P O BOX 40102                                                                                                                                 SAN JUAN          PR      00940‐0102
CARIBBEAN AUTO DISTRIBUTORS                  PO BOX 1233                                                                                                                                   FAJARDO           PR      00738
CARIBBEAN AUTO TRUCK SERVICE                 BO ACHIOTE                                       HC 73 BOX 4483                                                                               NARANJITO         PR      00719
CARIBBEAN AVIATION TRAINING INST INC         EDIF CAF BASE MUNIZ                              1 AVE JOSE A SANTANA STE 203                                                                 CAROLINA          PR      00979
CARIBBEAN BASKET CLUB ACADEMY INC            HC 09 BOX 4492                                                                                                                                SABANA GRANDE     PR      00637
CARIBBEAN BEAUTY SUPPLY                      PLAZA OASIS LOCAL B 2                            CARR 153 KM 6 9                                                                              SANTA ISABEL      PR      00757
CARIBBEAN BEAUTY SUPPLY & SALON INC          PLAZA OASIS LOCAL 2                                                                                                                           SANTA ISABEL      PR      00757
CARIBBEAN BODY PARTS INC                     106 AVE JOSE MERCADO                                                                                                                          CAGUAS            PR      00725
CARIBBEAN BROADCAST SUPPLIERS                PO BOX 195539                                                                                                                                 SAN JUAN          PR      00919‐5539
CARIBBEAN BROADCAST SUPPLIERS INC            DOMENECH AVE #211                                                                                                                             SAN JUAN          PR      00918
CARIBBEAN BROADCAST SUPPLIERS INC            PO BOX 190237                                                                                                                                 SAN JUAN          PR      00919‐0237
CARIBBEAN BROADCAST SUPPLIERS INC            PO BOX 195539                                                                                                                                 SAN JUAN          PR      00919‐5539
CARIBBEAN BROADCAST SUPPLIERS INC            REPTO METROPOLITANO                              1115 CALLE 56 SE                                                                             SAN JUAN          PR      00921
CARIBBEAN BUILDING AND REMODELING SERV. AREA DEL TESORO                                       DIVISION DE RECLAMACIONES                                                                    SAN JUAN          PR      00902‐4140
CARIBBEAN BUILDING AND REMODELING SERV. BORI 1504 ANTONSANTI                                                                                                                               SAN JUAN          PR      00927
CARIBBEAN BUSINESS                           PO BOX 12130                                                                                                                                  SAN JUAN          PR      00914‐0130
CARIBBEAN BUSINESS GROUP                     PO BOX 12130                                                                                                                                  SAN JUAN          PR      00914‐0130
CARIBBEAN CARDIO GEN ANESTHESIA SOCIETY TORRE MRDICA SAN LUCAS                                909 AVE TITO CASTRO SUITE 501                                                                PONCE             PR      00716‐4721
CARIBBEAN CARE SERVICE                       PMB 340 UU1 CALLE 39                                                                                                                          BAYAMON           PR      00956
CARIBBEAN CARE SERVICES INC                  UBR SANTA JUANITA                                PBM 340 UU1CALLE 39                                                                          BAYAMON           PR      00956
CARIBBEAN CARE SERVICES, INC                 PMB 340 UU1                                      CALLE 39 SANTA JUANITA                                                                       BAYAMON           PR      00956
CARIBBEAN CARRIERS LOGISTICS CORP            PO BOX 335535                                                                                                                                 PONCE             PR      00733‐5535
CARIBBEAN CAST STONE                         BO ORTIZ                                         CARR 827 KM 3.5                                                                              TOA ALTA          PR      00953‐8700
CARIBBEAN CELULAR UNLOCKS                    URB FLORES 815 CALLE ELIONAI                                                                                                                  ISABELA           PR      00662
CARIBBEAN CHEMICAL SUPPLIES                  AREA DE TESORO                                   DIVISION DE CONCILIACION                                                                     SAN JUAN          PR      00902‐4140
CARIBBEAN CHEMICAL SUPPLIES                  PO BOX 360289                                                                                                                                 SAN JUAN          PR      00936
CARIBBEAN CINEMAS OF GUAYNABO INC            PO BOX 19116                                                                                                                                  SAN JUAN          PR      00910‐9116
CARIBBEAN CLIMBER CORP                       URB LOS ANGELES                                  2024 CALLE CELESTIAL                                                                         CAROLINA          PR      00979‐1760
CARIBBEAN COMMUNICATION                      EL MUNDO NUM 2 CHARDON AVENUE                                                                                                                 HATO REY          PR      00917
CARIBBEAN COMMUNICATION SOLUTIONS            P O BOX 2134                                                                                                                                  SAN JUAN          PR      00922‐2134
CARIBBEAN COMMUNICATION SOLUTIONS            PO BOX 363567                                                                                                                                 SAN JUAN          PR      00936‐3567
CARIBBEAN COMMUNICATION SOLUTIONS INC PMB 338 P.O. BOX 194000                                                                                                                              SAN JUAN          PR      00919‐4000
CARIBBEAN COMMUNICATION SOLUTIONS INC PO BOX 194000 PMB 338                                                                                                                                SAN JUAN          PR      00919‐4000
CARIBBEAN COMMUNICATIONS SOLUTION            PMB 338                                          PO BOX 194000                                                                                SAN JUAN          PR      00919‐4000
CARIBBEAN COMMUNICATIONS SOLUTION            ST 869 EDIF 7                                    LAS PALMAS INDUSTRIAL PARK                                                                   CATANO            PR      00962
CARIBBEAN CONSTRUCTION                       PO BOX 25                                                                                                                                     BAYAMON           PR      00960
CARIBBEAN CONSTRUCTION GROUP INC             960 CALLE LLAUSETINA COUNTRY CLUB                                                                                                             SAN JUAN          PR      00924‐1760
CARIBBEAN CONSTRUCTION PARTNERS, CORP PO BOX 10578                                                                                                                                         SAN JUAN          PR      00922
CARIBBEAN CONSTRUCTION TECHNOLOGIES INC P O BOX 29497                                                                                                                                      SAN JUAN          PR      00929‐0497
CARIBBEAN CONTROLS GROUP INC                 PO BOX 5968 PMB 385 SAN ANTONIO                                                                                                               AGUADILLA         PR      00690
CARIBBEAN COOLING SYSTEMS                    URB EL SENORIAL                                  171 WISTON CHURCHILL                                                                         SAN JUAN          PR      00926




                                                                                                                              Page 1188 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1189 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                           Address1                                      Address2                                     Address3   Address4   City             State   PostalCode   Country
CARIBBEAN COOLING SYSTEMS INC           HC 2 BOX 8157                                                                                                    AIBONITO         PR      00705
CARIBBEAN CO‐OP                         PO BOX 930                                                                                                       HATILLO          PR      00659‐0930
CARIBBEAN CRITICAL CARE SERVICES INC    PO BOX 6794                                                                                                      MAYAGUEZ         PR      00681‐6794
CARIBBEAN CRUISE SERV INC               PO BOX 4026                                                                                                      SAN JUAN         PR      00901
CARIBBEAN CULINARY COSULTING, INC       PO BOX 9388                                                                                                      SAN JUAN         PR      00908
CARIBBEAN CUSTOMS BUSINESS SERVICES     P O BOX 9066613                                                                                                  SAN JUAN         PR      00906‐6613
CARIBBEAN D M S                         873 AVE CAMPO RICO                            COUNTRY CLUB                                                       SAN JUAN         PR      00924
CARIBBEAN DATA SYSTEM                   636 AVENIDA SAN PATRICIO                                                                                         SAN JUAN         PR      00920
CARIBBEAN DATA SYSTEM                   636 SAN PATRICIO AVENUE                                                                                          SAN JUAN         PR      00920
CARIBBEAN DATA SYSTEMS                  636 AVE SAN PATRICIO                                                                                             SAN JUAN         PR      00920
CARIBBEAN DATA SYSTEMS                  636 SAN PATRICIO AVE                                                                                             SAN JUAN         PR      00920
CARIBBEAN DATA SYSTEMS                  636 SAN PATRICIO AVE PISO 3                                                                                      SAN JUAN         PR      00920‐4507
CARIBBEAN DATA SYSTEMS                  PO BOX 9300180                                                                                                   SAN JUAN         PR      00930‐0180
CARIBBEAN DATA SYSTEMS INC              URB SAN PATRICIO                              636 AVE SAN PATRICIO                                               SAN JUAN         PR      00920
CARIBBEAN DC SERVICE                    PO BOX 29590                                                                                                     SAN JUAN         PR      00929‐0590
CARIBBEAN DC SERVICES                   P O BOX 29590                                                                                                    SAN JUAN         PR      00929‐0590
CARIBBEAN DIESEL TECHNOLOGY             PMB 163‐2400                                                                                                     TOA BAJA         PR      00951
CARIBBEAN DIESEL TECHNOLOGY CORP.       P. O. BOX 1712                                                                                                   TOA BAJA         PR      00952‐1712
CARIBBEAN DIESEL TECNOLOGY              PO BOX 1712                                                                                                      SABANA SECA      PR      00952‐1712
CARIBBEAN DIRECT EXPORT                 1000 RIVERSIDE AVE.                           STE 200                                                            JACKSONVILLE     FL      32204
CARIBBEAN DISPLAY & CONSTRUCTION , INC. 453 MARIO JULIA INDUSTRIAL PARK ST. SUITE 3                                                                      SAN JUAN         PR      00920‐0000
CARIBBEAN DISPLAY AND CONSTRUCTION INC 453 MARIA JULIA INDUSTRIAL PARK                ST A STE 3                                                         SAN JUAN         PR      00920
CARIBBEAN EDUCATIONAL SERVICES CONSULTANPO BOX 5000 PMB 841                                                                                              AGUADA           PR      00602‐7003
CARIBBEAN EDUCATIONAL SERVICES INC      CARR 867 KM 6.2 TOAVILLE                                                                                         TOA BAJA         PR      00949
CARIBBEAN EDUCATIONAL SERVICES INC      PO BOX 2341                                                                                                      TOA BAJA         PR      00951
CARIBBEAN ELECTRIC SERVICES INC         PO BOX 3137                                                                                                      MAYAGUEZ         PR      00681
CARIBBEAN EMERGENCY GENERATOR           PO BOX 9022216                                                                                                   SAN JUAN         PR      00902
CARIBBEAN ENERGY SAVINGS INC            URB COLLEGE PARK                              285 CALLE SIENA                                                    SAN JUAN         PR      00921
CARIBBEAN ENERGY SAVINGS INC.           URB COLLEGE PARK 285 SIENA                                                                                       SAN JUAN         PR      00921
CARIBBEAN ENG TECH INC                  D9 VILLA BEATRIZ                                                                                                 MANATI           PR      00674
CARIBBEAN ENGINEERING & TECHNOLOGIES IN D 9 URB VILLA BEATRIZ                                                                                            MANATI           PR      00674‐5547
CARIBBEAN ENV. DEV.INST.                AVE 2ND FL                                                                                                       SAN JUAN         PR      00901
CARIBBEAN ENVIROMARINE SERVICES         P O BOX 362524                                                                                                   SAN JUAN         PR      00936
CARIBBEAN EQUIP DISTR                   PMB 161                                       3071 AVE ALEJANDRINO                                               GUAYNABO         PR      00969‐7035
CARIBBEAN EQUIPMENT                     AVE HOSTOS 502                                                                                                   SAN JUAN         PR      00918
CARIBBEAN EXCLUSIVE SERVICE INC         PO BOX 810290                                                                                                    CAROLINA         PR      00981‐0290
CARIBBEAN EXHIBITS INC                  LOIZA STATION                                 PO BOX 6806                                                        SAN JUAN         PR      00914‐6806
CARIBBEAN FIRE EQUIPMENT CORP           PO BOX 20000 PMB 375                                                                                             CANOVANAS        PR      00729
CARIBBEAN FISHING CO / GEORGE           COND ALTAVISTA I                              CARR 833 APT 13 A                                                  GUAYNABO         PR      00920
CARIBBEAN FLEET SOLUTIONS LLC           P O BOX 13487                                                                                                    SAN JUAN         PR      00908
CARIBBEAN FLEET WASH SERVICES INC       PO BOX 1097                                                                                                      BAYAMON          PR      00960‐1097
CARIBBEAN FORMS MANUACTURES             PO BOX 361042                                                                                                    SAN JUAN         PR      00936‐1042
CARIBBEAN FORMS MANUFACTURERS INC       PO BOX 361042                                                                                                    SAN JUAN         PR      00936‐1042
CARIBBEAN GEOTECHNOLOGY, PSC            URB PUERTO NUEVO                              513 CALLE ASUNCION                                                 SAN JUAN         PR      00920‐4020
CARIBBEAN GLAZE CORP                    PO BOX 366939                                                                                                    SAN JUAN         PR      00936
CARIBBEAN GRAPHICS                      BOX 3034                                                                                                         MAYAGUEZ         PR      00681
CARIBBEAN GREENBIKES, LLC               LA VILLA DE TORRIMAR                          REY GUSTAVO 278                                                    GUAYNABO         PR      00969
CARIBBEAN HEALTHCARE SUPPLY             P.O. BOX 367667                                                                                                  SAN JUAN         PR      00936‐7667
CARIBBEAN HEALTHY ACCIDENT RISK         MANAGEMENT CORP CHARM                         PO BOX 9191                                                        CAROLINA         PR      00988‐9191
CARIBBEAN HELI JETS INC                 PO BOX 366006                                                                                                    SAN JUAN         PR      00936‐6006
CARIBBEAN HELICORP INC                  PO BOX 366006                                                                                                    SAN JUAN         PR      00936‐6006
CARIBBEAN HOME MEDICAID                 8155 CALLE CONCORDIA STE. 104                                                                                    PONCE            PR      00717
CARIBBEAN HOSPICE CORPORATION           CROWN HILLS                                   153 WINSTON CHURCHILL AVE                                          SAN JUAN         PR      00926
CARIBBEAN IMAGING & RADIATION INVESTMENTEDIFICIO PARRA                                2225 PONCE BAY PASS SUITE 103                                      PONCE            PR      00717‐1320
CARIBBEAN IND CONST SE/FONROCHE EN AMERIP O BOX 29726                                                                                                    SAN JUAN         PR      00929‐0726
CARIBBEAN INDUSTRIAL                    PO BOX 609                                                                                                       MAYAGUEZ         PR      00681
CARIBBEAN INSULATION CONTRACTING CO INC PMB 2121                                      PO BOX 4956                                                        CAGUAS           PR      00726‐4956
CARIBBEAN INSURANCE SERVICES INC        PO BOX 4438                                                                                                      VEGA BAJA        PR      00694‐4438
CARIBBEAN INT NEW CORP DBA VOCERO PR    AREA TESORO                                   DIVISION DE RECLAMACIONES                                          SAN JUAN         PR      00902‐4140
CARIBBEAN INT NEW CORP DBA VOCERO PR    PO BOX 270219                                                                                                    SAN JUAN         PR      00927‐2019




                                                                                                                  Page 1189 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1190 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                            Address1                             Address2                                    Address3   Address4   City              State   PostalCode    Country
CARIBBEAN INT NEW CORP DBA VOCERO PR     PO BOX 7515                                                                                            SAN JUAN          PR      00906‐7515
CARIBBEAN INT NEW CORP DBA VOCERO PR     PO BOX 9027515                                                                                         SAN JUAN          PR      00902‐7515
CARIBBEAN INTEGRATED DEVELOPMENT CORP 125 CALLE VILLA STE 101                                                                                   PONCE             PR      00733
CARIBBEAN INTERGRALED DEVELOPMENT, CORP CALLE VILL NO. 125                                                                                      PONCE             PR      00733
CARIBBEAN KAWASAKI CORP                  PO BOX 250                                                                                             ARECIBO           PR      00613
CARIBBEAN LEGAL ADVISORS LLC             112 CALLE URUGUAY                                                                                      HATO REY          PR      00917
CARIBBEAN LIBRARY CONSULTING CORP        PO BOX 362341                                                                                          SAN JUAN          PR      00936‐2341
CARIBBEAN LIFELINE INC                   CENTRO NOVIO PLAZA BLDG              475 HOSTOS AVE SUITE 207                                          MAYAGUEZ          PR      00902
CARIBBEAN LINEN                          PO BOX 111                                                                                             GURABO            PR      00778‐0111
CARIBBEAN LOGISTIC MANAGEMENT            P O BOX 391                                                                                            COROZAL           PR      00783
CARIBBEAN MAIL BOXES & INTERGOM          AREA DEL TESORO                      DIVISION DE RECLAMACIONES                                         SAN JUAN          PR      00902‐4140
CARIBBEAN MAIL BOXES & INTERGOM          BALDORIOTY DE CASTRO                 174 CASTRO VINA                                                   SAN JUAN          PR      00911
CARIBBEAN MAIL BOXES & INTERGOM          PO BOX 13663                                                                                           SAN JUAN          PR      00908
CARIBBEAN MANAGEMENT & CONSULTING GRO DISTRICT VIEW PLAZA                     644 FERNANDEZ JUNCOS STE 301                                      SAN JUAN          PR      000907‐3122
CARIBBEAN MANAGEMENT & CONSULTING GRO PO BOX 22066                                                                                              SAN JUAN          PR      00931‐2066
CARIBBEAN MARINE SUPPLIES C/O ORIENTAL   BANK AND TRUST (BANCO COM)           P O BOX 195115                                                    SAN JUAN          PR      00919‐5115
CARIBBEAN MARITIME EDUC CENTER INC       15 BUENAVENTURA QUINONES ST                                                                            GUANICA           PR      00653‐2645
CARIBBEAN MARTIAL ARTS ACADEMY           P O BOX 95                                                                                             GUAYAMA           PR      00785
CARIBBEAN MECHANICAL SOLUTION LLC        P O BOX 146                                                                                            BAYAMON           PR      00960‐0146
CARIBBEAN MEDICAL CENTER                 ATT MANEJO DE INFORMACION            PO BOX 70006                                                      FAJARDO           PR      00738
CARIBBEAN MEDICAL GROUP                  2000 PMB 229 SUITE 26 CARR.8177                                                                        GUAYNABO          PR      00966
CARIBBEAN MEDICAL TESTING                PO BOX 192071                                                                                          SAN JUAN          PR      00919‐2071
CARIBBEAN MEDICAL TESTING & REFERENCE LA PO BOX 192071                                                                                          SAN JUAN          PR      00919‐2071
CARIBBEAN METAL FABRICATORS, INC.        P.O. BOX 696                                                                                           CAROLINA          PR      00968‐0696
CARIBBEAN MGT & CONSULTING GROUP         252 PONCE DE LEON AVE SUITE 501                                                                        SAN JUAN          PR      00918
CARIBBEAN MICRO SERVICES INC             CENTRO INTL DE MERCADEO TORRE 1      SUITE 702                                                         GUAYNABO          PR      00968
CARIBBEAN MICRO SERVICES INC             PO BOX 275                                                                                             BAYAMON           PR      00960‐0275
Caribbean Network Solutions, Inc.        IF 41 Ave. Lomas Verdes Royal Palm                                                                     Bayamón           PR      00956
CARIBBEAN NEWS PUBLIC RELATIONS INC      PO BOX 1506                                                                                            VEGA BAJA         PR      00694‐1506
CARIBBEAN NEWS & PUBLIC RELATIONS        P O BOX 1506                                                                                           VEGA BAJA         PR      00694
CARIBBEAN NURSERY FARM                   P O BOX 956                                                                                            SABANA GRANDE     PR      00637
CARIBBEAN NURSURY FARM INC               PO BOX 956                                                                                             SABANA GRANDE     PR      00637
CARIBBEAN OFFICE CHAIRS MANUFACTURERS IN 147 TOMAS CARRION MADURO                                                                               JUANA DIAZ        PR      00795‐1640
CARIBBEAN OFFICE CHAIRS MFGTS INC        147 TOMAS C MADURO ST                                                                                  JUANA DIAZ        PR      00795
CARIBBEAN OFFICE DESIGN CONTRACT CORP    EL TUQUE INDUSTRIAL PARK #122                                                                          PONCE             PR      00728
CARIBBEAN ORTHOPEDIC                     PMB 163                              1353 CARR 19                                                      GUAYNABO          PR      00966‐2700
CARIBBEAN ORTHOPEDIC SERV                PMB 163                              1353 CARR 19                                                      GUAYNABO          PR      00968‐2700
CARIBBEAN PHOTO & IMAGING CO INC         24 CALLE MCKINLEY                                                                                      MAYAGUEZ          PR      00681
CARIBBEAN PHOTO & IMAGING CO INC         AREA DE TESORO                       DIVISION DE CONCILIACION                                          SAN JUAN          PR      00902‐4140
CARIBBEAN PHOTO & IMAGING CO INC         ESC DE ARTES PASTICAS                PO BOX 9021112                                                    SAN JUAN          PR      00902‐1112
CARIBBEAN PHOTO & IMAGING CO INC         PO BOX 192273                                                                                          SAN JUAN          PR      00919‐2273
CARIBBEAN PHOTO & IMAGING CO.            ILCA INC                             PO BOX 362211                                                     SAN JUAN          PR      00936‐2211
CARIBBEAN PRAXIS GROUP CORPORATION       URB CAPARRA HEIGHTS                  400 AVE ESCORIAL                                                  SAN JUAN          PR      00920
CARIBBEAN PRESTRESS S E                  BOX 848                                                                                                CATANO            PR      00962
CARIBBEAN PRINTING GROUP INC.            PO BOX 361042                                                                                          SAN JUAN          PR      00936 1042
CARIBBEAN PRINTING INDUSTRIES            PO BOX 36‐1042                                                                                         SAN JUAN          PR      00936
CARIBBEAN PRIVATE POLICE INC             PO BOX 5237                                                                                            YAUCO             PR      00698
CARIBBEAN PRODUCE EXCHANGE INC           PO BOX 11990                                                                                           SAN JUAN          PR      00922
CARIBBEAN PULMONARY SOCIETY              PO BOX 7776                                                                                            PONCE             PR      00732
CARIBBEAN RAIN SOLUTIONS LLC             P O BOX 819 PMB 50                                                                                     LARES             PR      00669
CARIBBEAN REFRESCOS INC                  PO BOX 11999                                                                                           CIDRA             PR      00739‐1999
CARIBBEAN RENEWABLE TECHNOLOGIES         PMB 535 1353                         AVE LUIS VIGOREAUX                                                GUAYNABO          PR      00966
CARIBBEAN RESEARCH AND MEASUREMENT GROPO BOX 9300714                                                                                            SAN JUAN          PR      00928
CARIBBEAN RESTAUNTS , LLC                P. O. BOX 366999                                                                                       SAN JUAN          PR      00936‐6999
CARIBBEAN RESTAURANT INC                 PTO NUEVO DISTRIBUTION CNTR          EDIF 1 CARR 5 KM 27.4                                             CATANO            PR      00962
CARIBBEAN ROLLER, CO.                    URB. VALLE VERDE                     2104 CALLE MONACO                                                 PONCE             PR      00716‐3605
CARIBBEAN ROOFING & WATERPROOFING CORP PO BOX 270108                                                                                            SAN JUAN          PR      00928‐2908
CARIBBEAN S E A SOFTBALL INC             RR 10 BZN 10310                                                                                        SAN JUAN          PR      00926
CARIBBEAN SATELITTE TV                   PO BOX 1165                                                                                            SAN GERMAN        PR      00683
CARIBBEAN SECURITY & INVESTIGATIONS      3480 AVE BOULEVARD                                                                                     LEVITTOWN         PR      00949




                                                                                                          Page 1190 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1191 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                             Address1                            Address2                                  Address3   Address4   City              State   PostalCode   Country
CARIBBEAN SECURITY SPECIALIST INC         GARDENS HILLS PLAZA                 1353 AVE LUIS VIGOREAUX PMB 447                                 GUAYNABO          PR      00966
CARIBBEAN SELF STORAGE                    108 CALLE TRINIDAD                                                                                  SAN JAN           PR      00917
CARIBBEAN SELF STORAGE                    P O BOX 9023206                                                                                     SAN JUAN          PR      00902‐3206
CARIBBEAN SHIPPING SERVICES IN            AMELIA IND PARK                     7 CALLE BEATRIZ                                                 GUAYNABO          PR      00968
CARIBBEAN SIGN SPPLIES MANUFACTURERS      P O BOX 363901                                                                                      SAN JUAN          PR      00968
CARIBBEAN SIGN SUPPLIES MANUFACTURERS PO BOX 363901                                                                                           SAN JUAN          PR      00936‐3901
CARIBBEAN SIGN SUPPLIES MANUFACTURERS, IN PO BOX 363901                                                                                       SAN JUAN          PR      00968
CARIBBEAN SIGN SUPPLIES MANUFACTURES      PO BOX 363901                                                                                       SAN JUAN          PR      00936‐3901
CARIBBEAN SIGN SUPPLY                     PO BOX 363901                                                                                       SAN JUAN          PR      00936‐3901
CARIBBEAN SIGN SUPPLY MANUFACTURERS INC 4 CALLE MUNET COURT                                                                                   GUAYNABO          PR      00971
CARIBBEAN SIGN SUPPLY MANUFACTURERS INC PO BOX 363901                                                                                         SAN JUAN          PR      00936‐3901
CARIBBEAN SIGN SUPPLY MANUFACTURES INC PO BOX 363901                                                                                          SAN JUAN          PR      00936‐3901
CARIBBEAN SMART ENERGY INC.               PO BOX 772                                                                                          BAYAMON           PR      00960
CARIBBEAN SNACKS INC                      PO BOX 11908                                                                                        SAN JUAN          PR      00922‐1908
CARIBBEAN SOUND CENTER                    K‐11 RIO BOTIJAS RIO HONDO I                                                                        BAYAMON           PR      00951
CARIBBEAN STITCHES                        PMB 611 267 CALLE SIERRA MORENA                                                                     SAN JUAN          PR      00926
CARIBBEAN STONE PRODUCTS, INC             PO BOX 86                                                                                           VEGA BAJA         PR      00694
CARIBBEAN STRATEGIC ADVISORS LLC          CIUDAD III                          61 CALLE SAUCO 61                                               TOA ALTA          PR      00953
CARIBBEAN SUAPS                           URB PARADISE HILLS                  H 55 CALLE PARANA                                               SAN JUAN          PR      00926
CARIBBEAN SUPPLIES & EQUIPMENT            PO BOX 3687                                                                                         MAYAGUEZ          PR      00681
CARIBBEAN TANK TECHNOLOGIES CORP          P O BOX 395                                                                                         CATANO            PR      00963‐0395
CARIBBEAN TECH POWER                      P O BOX 29771                                                                                       SAN JUAN          PR      00929‐0771
CARIBBEAN TECHNICAL SERVICES INC          PO BOX 29176                                                                                        SAN JUAN          PR      00929‐0176
CARIBBEAN TECHNOLOGY                      3285 WASHINGTON ST                                                                                  BEVERLY HILLS     FL      34465
CARIBBEAN TELECOMMUNICATIONS UNION        4 MARY                              ST CALIR                                                        PORT SPAIN                12011        DOMINICAN REPUBLIC
CARIBBEAN TEMPORARY SERV LLC              PO BOX 11873                                                                                        SAN JUAN          PR      00910‐3800
CARIBBEAN TEMPORARY SERVICES              PO BOX 11873                                                                                        SAN JUAN          PR      00910‐3800
CARIBBEAN TOMOTHERAPY CENTER              PO BOX 958                                                                                          BAYAMON           PR      00960
CARIBBEAN TRANSPORT REFRIGERATION         PO BOX 507                                                                                          MOROVIS           PR      00687‐0507
CARIBBEAN TROPIC INC                      EL SENORIAL                         2035 CALLE BENITO FEIJOO                                        SAN JUAN          PR      00926
CARIBBEAN TRUCK BODIES & EQUIPMENT CORP PO BOX 56029                                                                                          BAYAMON           PR      00960‐6229
CARIBBEAN UNIVERSITY                      PO BOX 493                                                                                          BAYAMON           PR      00960‐0493
CARIBBEAN UNIVERSITY COLLEGE              PO BOX 493                                                                                          BAYAMON           PR      00960
Caribbean University Inc.                 P O Box 493                                                                                         San Juan          PR      00936
Caribbean University Inc.                 PO BOX 493                                                                                          BAYAMON           PR      00960‐493
CARIBBEAN UNIVERSITY RECINTO DE BAYAMON PO BOX 493                                                                                            BAYAMON           PR      00960‐0493
CARIBBEAN UNLIMITED EVENTS INC            PO BOX 1468                                                                                         LUQUILLO          PR      00773
CARIBBEAN UPDATE                          116 MYTLE AVENUE                                                                                    MILLBURN          NJ      07041
CARIBBEAN VALIDATION SERVICES             PO BOX 19592                                                                                        SAN JUAN          PR      00910‐1592
CARIBBEAN VASCULAR SERVICES,PC            MANS REAL                           604 CALLE FELIPE                                                PONCE             PR      00780
CARIBBEAN WAREHOUSE & LOGISTICS INC       PO BOX 630337                                                                                       CATANO            PR      00962‐9998
CARIBBEAN WASTE TECHNOLOGY INC            PO BOX 522                                                                                          CIDRA             PR      00739
CARIBBEAN WATER SPECIALIST CORP.          PO BOX 1631                                                                                         ARECIBO           PR      00688‐1631
CARIBBEAN WELL & PUMP SERV                FIRM DELIVERY ROUTE                                                                                 PENUELAS          PR      00624
CARIBBEAN WELLNESS CENTER INC             284‐A AVE DR. SUSONI                                                                                HATILLO           PR      00659
CARIBE AGGREGATES INC                     URB PALACIOS DEL PRADO              119 CALLE MAR CARIBE                                            JUANA DIAZ        PR      00795
CARIBE AIR CONDITIONING & SERVICES        BO EMAJAGUA                         226 MARIANI                                                     MAUNABO           PR      00707
CARIBE AIR CONDITIONING & SERVICES        P.O. BOX 1131                                                                                       MAUNABO           PR      00707
CARIBE AUDIO VISUAL INC                   1259 AVE FERNANDEZ JUNCOS           SUITE 101                                                       SAN JUAN          PR      00907
CARIBE AUDIOVISUAL, INC.                  1259 FERNANDEZ JUNCOSSUITE 101                                                                      SAN JUAN          PR      00907
CARIBE AUDIO‐VISUALS, INC.                1259 AVE FERNANDEZ JUNCOS           SUITE 101                                                       SANTURCE          PR      00907
CARIBE AUTO PERFOMANCE INC                URB ANTONSANTI                      1474 MARGINAL BORI                                              SAN JUAN          PR      00927
CARIBE AUTO TECH                          864 CALLE CAMBALACHE                                                                                PONCE             PR      00731
CARIBE AUTOMOTIVE DISTRIBUTORS CORP       PMB 707 AVE DE DIEGO SUITE 105                                                                      SAN JUAN          PR      00927‐6346
CARIBE BAKERY OF PR INC                   COND JARDINES METROPOLITANOS 2      361 GALILEO APT 5E                                              SAN JUAN          PR      00927
CARIBE CANDLE CORP                        128 CALLE MUÑOZ RIVERA                                                                              Peñuelas          PR      00624
CARIBE CANDLE CORP                        PO BOX 120                                                                                          PENUELAS          PR      00624
CARIBE CARTS & EQUIPMENT                  AVE. SIMON MADERA #9 VILLA PRADES                                                                   SAN JUAN          PR      00924
CARIBE CHEM DISTRIBUTORS                  P O BOX 9058                                                                                        CAGUAS            PR      00726‐9058
CARIBE FEDERAL CREDIT UNION               195 CALLE O NEILL HATO REY                                                                          SAN JUAN          PR      00918‐2404




                                                                                                         Page 1191 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1192 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                              Address1                        Address2                                     Address3     Address4   City              State   PostalCode   Country
CARIBE FEDERAL CREDIT UNION                195 ONEILL ST                                                                                        SAN JUAN          PR      00918‐2404
CARIBE FEDERAL CREDIT UNION                CALLE O'NEILL 195                                                                                    SAN JUAN          PR      00918
CARIBE FISHERIES INC                       HC 4 BOX 22972                                                                                       LAJAS             PR      00667
CARIBE FOOD SERVICES                       AS 588 HACIENDA SAN JOSE                                                                             CAGUAS            PR      00727
CARIBE FOOD SERVICES INC                   FARMACEUTICA BAXTER                                                                                  JAYUYA            PR      00664
CARIBE FORMS                               PO BOX 190032                                                                                        SAN JUAN          PR      00919‐0032
CARIBE GE INT'L OF PR INC                  383 AVE FD ROOSEVELT # 209                                                                           SAN JUAN          PR      00918
CARIBE GONZALEZ, CARLOS                    ADDRESS ON FILE
CARIBE GONZALEZ, EDNALIZ                   ADDRESS ON FILE
CARIBE GROLIER , INC.                      CALL BOX 8317                                                                                        SAN JUAN          PR      00909‐0000
CARIBE HYDROBLASTING CORP                  PO BOX 790                                                                                           PENUELAS          PR      00624
CARIBE INDUSTRIAL SYSTEMS, INC             PO BOX 60980                                                                                         BAYAMON           PR      00960
CARIBE MEDICAL SUPPLY                      PAZ GRANELA                     351 ANTONIO ARROYO                                                   SAN JUAN          PR      00921
CARIBE MEDICAL SUPPLY CORP                 URB CAMBRIDGE PARK              A5 CALLE CHESTNUT HL                                                 SAN JUAN          PR      00926
CARIBE MONEY SYSTEM                        PMB SUITE 309 AVE RIO HONDO                                                                          BAYAMON           PR      00961‐3113
CARIBE OLEFINS LLPSP                       PO BOX 776                                                                                           PENUELAS          PR      00624
CARIBE PALLETS & PACKAGING CORP            PO BOX 1886                                                                                          TRUJILLO ALTO     PR      00977‐1886
CARIBE PATHOLOGY,CSP                       PO BOX 3605                                                                                          MAYAGUEZ          PR      00681
CARIBE PHYSICIANS PLAZA CORP               PO BOX 70006                                                                                         FAJARDO           PR      00738
CARIBE PRO SERVICE INC                     P O BOX 116                                                                                          MANATI            PR      00674
CARIBE PRO SERVICES , INC.                 P. O. BOX 116                                                                                        MANATI            PR      00674‐0000
CARIBE RECYCLING CORP                      HC 01 BOX 29030                 PMB 20                                                               CAGUAS            PR      00725‐0900
CARIBE RX SERVICE, INC.                    P.O.BOX 7514                                                                                         PONCE             PR      00725
CARIBE RX SERVICES                         PO BOX 7514                                                                                          PONCE             PR      00732
CARIBE SHELVINGS                           URB. INDUSTRIAL VALLAS TORRES   P.O. BOX 8369                                                        PONCE             PR      00732
CARIBE SHELVINGS INC                       PO BOX 8369                                                                                          PONCE             PR      00732
CARIBE TECH                                PO BOX 10078                                                                                         HUMACAO           PR      00792
CARIBE TECH SUPPORT CORP                   90 AVE. RIO HONDO               PMB SUITE 309                                                        BAYAMON           PR      00961‐3113
CARIBE TECHNO V ELA, DRD                   LCDO. FERNANDO BARNES ROSICH    APARTADO 331031                                                      PONCE             PR      00733
CARIBE TECNO, SE                           FERNANDO BARNES ROSICH          PO BOX 331031                                                        PONCE             PR      00733‐1031
CARIBE TECNO, SE                           PO BOX 36099                                                                                         SAN JUAN          PR      00936‐0099
CARIBE TROPICAL CORP                       P O BOX 1673                                                                                         SAN SEBASTIAN     PR      00685
CARIBE VAN LINES                           PO BOX 1575                                                                                          LAS PIEDRAS       PR      00771‐1575
CARIBE VENTURES INC                        REXVILLE TOWN CENTER            LOCAL H 15 CARR 167                                                  BAYAMON           PR      00957
CARIBE WATER TECHNOLOGY INC                WEST INDUSTRIAL PARK            ST B RD 156 KM 58.2                                                  CAGUAS            PR      00725
CARIBE WATER TECHNOLOGY INC.               PO BOX 6375                                                                                          CAGUAS            PR      00726‐6375
CARIBEAN INC                               GALERIA PASEOS                  100 GRAND PASEO BLVD STE 112 PMB 436                                 SAN JUAN          PR      00926‐5955
CARIBEL F ROHENA                           ADDRESS ON FILE
CARIBESUPPLIES CORP                        PO BOX 16610                                                                                         SAN JUAN          PR      00908‐6610
CARIBE‐TECH                                P.O. BOX 10078                  CUH STATION                                                          HUMACAO           PR      00792
CARICO INTERNATIONAL INC                   SECT CENTRAL AEROPUERTO LMM     EDIF CAF 1 STE 205 CARR 150                                          CAROLINA          PR      00979
CARICO PUERTO RICO LLC                     20 CENTRAL SECTOR BASE MUNIZ    EDIF C 2DO PISO                                                      CAROLINA          PR      00979
CARIDAD ALAMO ROMAN                        ADDRESS ON FILE
CARIDAD ALAMO ROMAN, HOG. SAN GABRIEL      ADDRESS ON FILE
CARIDAD BAEZ MENDIZABAL                    ADDRESS ON FILE
CARIDAD CHEVERE LANDRAU                    ADDRESS ON FILE
CARIDAD FERNANDEZ, MARIA                   ADDRESS ON FILE
CARIDAD M ACOSTA MARTIN                    ADDRESS ON FILE
CARIDAD MARTINEZ RIVERA                    ADDRESS ON FILE
CARIDAD MELISA RAMIREZ AGOSTO              ADDRESS ON FILE
CARIDAD MELISA RAMIREZ AGOSTO              ADDRESS ON FILE
CARIDAD MONTENEGRO DBA                     RR9 BOX 1662                                                                                         SAN JUAN          PR      00926‐9745
Caridad Montenegro DBA Montenegro Covers   RD 176 KM 5.8                   LOS ANDINOS                                  CUPEY ALTO              RIO PIEDRAS       PR      00928‐0000
Caridad Montenegro DBA Montenegro Covers   RR‐9 BOX 1662                   CUPEY ALTO                                                           RIO PIEDRAS       PR      00926‐9745
CARIDAD N GALINDA PORTILLA                 ADDRESS ON FILE
CARIDAD N VELEZ GALARZA                    ADDRESS ON FILE
CARIDAD OLIVER MANFREDY                    ADDRESS ON FILE
CARIDAD RIVERA ESTRADA                     ADDRESS ON FILE
CARIDAD RIVERA ESTRADA                     ADDRESS ON FILE
CARIDAD SANABRIA FERRER                    ADDRESS ON FILE




                                                                                                         Page 1192 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1193 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                        Address1                         Address2                             Address3              Address4   City          State   PostalCode   Country
CARIDAD SANABRIA RIVERA              ADDRESS ON FILE
CARIDAD SANTANA, FIORDA M            ADDRESS ON FILE
                                                                                                           1353 LUIS VIGOREAUX
CARIDAD SANTIAGO V AEP               ERIC QUETGLAS                    QUETGLAS LAW OFFICE                  AVE. PMB 657                     GUAYNABO      PR      00966
CARIDAD SANTIAGO V AEP               LCDA. CARLA ARRAIZA GONZALEZ     POBOX 9023195                                                         SAN JUAN      PR      00902‐3195
CARIDAD SANTIAGO V AEP               LCDO. IVAN F. GONZALEZ CARMONA   PO BOX 9023525                                                        SAN JUAN      PR      00902‐3525
CARIDAD SERBIA YERA                  ADDRESS ON FILE
CARIDAD SOTO TIRADO                  ADDRESS ON FILE
CARIDAD Y AMOR INC                   HC 01 BOX 7264                                                                                         YAUCO         PR      00688
CARIDE GARCIA, MARIA                 ADDRESS ON FILE
CARIDE GONZALEZ, ALEX X              ADDRESS ON FILE
CARIDE RAMOS, BRENDA                 ADDRESS ON FILE
CARIDE SERRANO, SONIA                ADDRESS ON FILE
CARIDES GONZALEZ, FREEDIE            ADDRESS ON FILE
CARIDES GONZALEZ, RADAMES            ADDRESS ON FILE
CARIDES QUINONES, HECTOR             ADDRESS ON FILE
CARIDES RUIZ, JENNIFER               ADDRESS ON FILE
CARIE MEDINA CARDONA                 ADDRESS ON FILE
CARILIANA GONZALEZ SANABRIA          ADDRESS ON FILE
CARILIN I ORTIZ DE JESUS             ADDRESS ON FILE
CARILIN V RODRIGUEZ ORTIZ            ADDRESS ON FILE
CARILION ROANOKE MEMORIAL HOSPITAL   PO BOX 409822                                                                                          ATLANTA       GA      30384‐9822
CARILIZ INC                          PO BOX 1573                                                                                            CABO ROJO     PR      00622‐1573
CARILLO DEL VALLE, ANGEL             ADDRESS ON FILE
CARILLO FILOMENO, ANTHONY            ADDRESS ON FILE
CARILLO LAGUNA, DANIELIS             ADDRESS ON FILE
Carillo Morales, Jose L              ADDRESS ON FILE
CARILLO ORTIZ, GRASE A               ADDRESS ON FILE
CARILYN M COLON CORRERA              ADDRESS ON FILE
CARIMA A MOLL SOMA                   ADDRESS ON FILE
CARIMEL MORALES Y ALEXIS MORALES     ADDRESS ON FILE
CARIN Y PEREZ APONTE                 ADDRESS ON FILE
CARINA PONCE PALABESINO              ADDRESS ON FILE
CARINA QUINONES SANTIAGO             ADDRESS ON FILE
CARINEL GONZALEZ NAZARIO             ADDRESS ON FILE
CARINES LOPEZ ROSA                   ADDRESS ON FILE
CARINETTE PACHECO RIVERA             ADDRESS ON FILE
CARINEZ ANGELS WITH LOVE INC         26 CALLE EL REY                                                                                        ISABELA       PR      00662
CARINO CARMONA, MERALYS              ADDRESS ON FILE
CARINO COLON, WILFREDO               ADDRESS ON FILE
CARINO COLON, WILL                   ADDRESS ON FILE
CARINO ENCARNACION, RAMONA           ADDRESS ON FILE
CARINO ESQUILIN, FRANCISCO           ADDRESS ON FILE
CARINO FILOMENO, JOSELIND            ADDRESS ON FILE
CARINO FURET, ALBERT                 ADDRESS ON FILE
CARINO FURET, PEDRO                  ADDRESS ON FILE
CARINO GONZALEZ, BENITA              ADDRESS ON FILE
Carino Lima, Olga A                  ADDRESS ON FILE
CARINO LOPEZ, JOSE                   ADDRESS ON FILE
CARINO MARTINEZ, RICARDO             ADDRESS ON FILE
CARINO RAMOS, HECTOR                 ADDRESS ON FILE
CARINO RIVERA, DONELYS               ADDRESS ON FILE
CARINO RIVERA, SERGIO                ADDRESS ON FILE
CARINO ROMERO, NAHIR                 ADDRESS ON FILE
CARINO SANIEL, IVELISSE              ADDRESS ON FILE
CARINO SANIEL, IVELISSE              ADDRESS ON FILE
CARINY A NUNEZ                       ADDRESS ON FILE
CARIRE ACEVEDO, MARIA J              ADDRESS ON FILE
CARIRE CRUZ, NOEMI                   ADDRESS ON FILE
CARIRE CUEVAS, EDUARDO               ADDRESS ON FILE




                                                                                            Page 1193 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1194 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARIRE GALLART, BETTY           ADDRESS ON FILE
CARIRE HERNANDEZ, EUFALDO       ADDRESS ON FILE
CARIRE JIMENEZ, JOSE            ADDRESS ON FILE
CARIRE LISBOA, NORMA E          ADDRESS ON FILE
CARIRE LOPEZ, FELIPE            ADDRESS ON FILE
CARIRE MEDINA, MAURA            ADDRESS ON FILE
CARIRE NIEVES, EDWARD           ADDRESS ON FILE
CARIRE NIEVES, GLORIA           ADDRESS ON FILE
CARIRE NIEVES, MARIELISE        ADDRESS ON FILE
CARIRE NIEVES, SEAN             ADDRESS ON FILE
CARIRE PEREZ, DANIEL            ADDRESS ON FILE
CARIRE PEREZ, SUSANA E          ADDRESS ON FILE
Carire Rodriguez, Jose C        ADDRESS ON FILE
CARIRE RODRIGUEZ, SANTOS        ADDRESS ON FILE
CARIRE SANCHEZ, HEROILDO        ADDRESS ON FILE
CARIRE SANCHEZ,HEROILDO         ADDRESS ON FILE
CARIRE TOSADO, ERIC J.          ADDRESS ON FILE
CARIRE TOSADO, MADELINE         ADDRESS ON FILE
CARIRE VEGA, DOMILU             ADDRESS ON FILE
CARIRE, SALVADOR                ADDRESS ON FILE
CARIS M ESTREMERA ROMAN         ADDRESS ON FILE
CARIS NURSERY INC               183 CALLE DELBREY                                                                SAN JUAN     PR      00911‐2007
CARISA MARTINEZ SOTO            ADDRESS ON FILE
CARISSA KINDY BIDOT             ADDRESS ON FILE
CARISSA KINDY BIDOT             ADDRESS ON FILE
CARITA DE ANGEL DE YAUCO INC    176 JUREL SUITE 101                                                              ENSENADA     PR      00647
CARITAS CARNEY HOSPITAL         2100 DORCHESTER AVE                                                              BOSTON       MA      02124
CARITAS DE PUERTO RICO INC      P O BOX 8812                                                                     SAN JUAN     PR      00910‐0812
CARITAS SANAS, INC.             EST. DE ARECIBO           59 CALLE BREVE                                         ARECIBO      PR      00612‐6317
CARITAS SANAS, INC.             P O BOX 2457                                                                     MANATI       PR      00674
CARITE CORP                     PO BOX 362348                                                                    SAN JUAN     PR      00936 2348
CARITZA M. MIRANDA ALBALADEJO   ADDRESS ON FILE
CARITZA M. MIRANDA ALBLADEJO    ADDRESS ON FILE
CARIVETTE TORRES ROMERO         ADDRESS ON FILE
CARIXA FALCON BAEZ              ADDRESS ON FILE
CARL A SOTO VELEZ               ADDRESS ON FILE
CARL ALVAREZ MATTA              ADDRESS ON FILE
CARL DWORMAN                    ADDRESS ON FILE
CARL E SCHUSTER BRAS            ADDRESS ON FILE
CARL FRAILE                     ADDRESS ON FILE
CARL LEYVA ASOCIADOS CORP       PO BOX 172                                                                       LOIZA        PR      00772
CARL ROSENBLOOM                 ADDRESS ON FILE
CARL S BACHE SANTIAGO           ADDRESS ON FILE
CARL W BERGQUIST                ADDRESS ON FILE
CARLA A FAGUNDO FELICIANO       ADDRESS ON FILE
CARLA A SALGADO RAMIREZ         ADDRESS ON FILE
CARLA A TESTANI VAZQUEZ         ADDRESS ON FILE
CARLA A TOMASSINI QUIJANO       ADDRESS ON FILE
CARLA AMUNDARAY GADEA           ADDRESS ON FILE
CARLA ARRAIZA GONZALEZ          ADDRESS ON FILE
CARLA B MERCED GONZALEZ         ADDRESS ON FILE
CARLA B PEREZ DELGADO           ADDRESS ON FILE
CARLA BERAS AULET               ADDRESS ON FILE
CARLA BULTRON RIVERA            ADDRESS ON FILE
CARLA C CINTRON                 ADDRESS ON FILE
CARLA C RAMOS Y MELVIN JORDAN   ADDRESS ON FILE
CARLA CARDONA FIGUEROA          ADDRESS ON FILE
CARLA D SANTIAGO QUIROS         ADDRESS ON FILE
CARLA D. RODRIGUEZ CARO         ADDRESS ON FILE
CARLA DE JESUS RUIZ             ADDRESS ON FILE




                                                                            Page 1194 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1195 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                       Address2                                   Address3        Address4             City         State   PostalCode   Country
CARLA DIAZ SANTANA                       ADDRESS ON FILE
CARLA E LOPEZ PALACIOS                   ADDRESS ON FILE
CARLA F BONES MORALES                    ADDRESS ON FILE
CARLA F RAMOS TORRES                     ADDRESS ON FILE
CARLA FABIAN GONZALEZ                    ADDRESS ON FILE
CARLA FABIAN GONZALEZ                    ADDRESS ON FILE
CARLA FERRARI LUGO                       ADDRESS ON FILE
CARLA FURNITURE                          P O BOX 2524                                                                                                   TOA BAJA     PR      00951‐2524
CARLA HAEUSSLER                          ADDRESS ON FILE
CARLA I PEREZ COLON                      ADDRESS ON FILE
CARLA I. DÍAZ PINTADO                    ALFREDO UMPIERRE               CARR.174 #10                               AGUSTIN STAHL                        Bayamón      PR      00956
CARLA J ORTIZ MARTIR                     ADDRESS ON FILE
CARLA J TORRES JIMENEZ / JUAN C TORRES   ADDRESS ON FILE
CARLA J. QUINTANA NEGRON                 ADDRESS ON FILE
CARLA L. RIVERA MARTINEZ                 ADDRESS ON FILE
CARLA M ALICEA RIOS                      ADDRESS ON FILE
CARLA M AYALA HERNANDEZ                  ADDRESS ON FILE
CARLA M CALDERON CANCIO                  ADDRESS ON FILE
CARLA M CINTRON MORALES                  ADDRESS ON FILE
CARLA M CLAUDIO SANTAELLA                ADDRESS ON FILE
CARLA M COLON LEON                       ADDRESS ON FILE
CARLA M COTTO RIVERA                     ADDRESS ON FILE
CARLA M DEYA QUINONES                    ADDRESS ON FILE
CARLA M DIAZ BARRETO                     ADDRESS ON FILE
CARLA M DIAZ COLON                       ADDRESS ON FILE
CARLA M ESQUILIN LOPEZ                   ADDRESS ON FILE
CARLA M FREYTES CRUTERA                  ADDRESS ON FILE
CARLA M GONZALEZ COBOS                   ADDRESS ON FILE
CARLA M HERNANDEZ MERCADO                ADDRESS ON FILE
CARLA M MALDONADO RODRIGUEZ              ADDRESS ON FILE
CARLA M MONTALVO MARTINEZ                ADDRESS ON FILE
CARLA M MORALES JUSINO                   ADDRESS ON FILE
CARLA M MORALES RODRIGUEZ                ADDRESS ON FILE
CARLA M NEGRON ARRIAGA                   ADDRESS ON FILE
CARLA M NEGRON TORRES                    ADDRESS ON FILE
CARLA M RIVERA CALDERON                  ADDRESS ON FILE
CARLA M RODRIGUEZ MERCADO                ADDRESS ON FILE
CARLA M SAEZ TORRES                      ADDRESS ON FILE
CARLA M SANTIAGO                         ADDRESS ON FILE
CARLA M TIRAGALLO OTERO                  ADDRESS ON FILE
CARLA M. ESCOBAR HERNANDEZ               ADDRESS ON FILE
CARLA M. HERNANDEZ CASTRODAD             ADDRESS ON FILE
CARLA MARIE PEDROGO MATOS                ADDRESS ON FILE
CARLA MARIE RIVERA FONSECA               ADDRESS ON FILE
CARLA MARIS RENTAS                       ADDRESS ON FILE
CARLA MARTORELL COLON                    ADDRESS ON FILE
CARLA MOLINA BARRIOS                     LCDO. JOSÉ CARRERAS PEREZ      ANTIGUO EDIFICIO EL MUNDO                  PISO 3          254 CALLE SAN JOSE   SAN JUAN     PR      00901
CARLA MOLINA BARRIOS                     TERESITA MERCADO VIZCARRONDO   PO BOX 70244                                                                    SAN JUAN     PR      00936‐8244
CARLA MORALES SOSA                       ADDRESS ON FILE
CARLA N VERA CABAN                       ADDRESS ON FILE
CARLA N. DIAZ RIVERA                     ADDRESS ON FILE
CARLA NATALIA COLOMBANI RODRIGUEZ        ADDRESS ON FILE
CARLA NATALIA COLOMBANI RODRIGUEZ        ADDRESS ON FILE
CARLA PAGAN VALENTIN                     ADDRESS ON FILE
CARLA R. GARCIA BONHOMME                 ADDRESS ON FILE
CARLA R. LLAVONA RAMIA                   ADDRESS ON FILE
CARLA RICCITELLI TANNER                  ADDRESS ON FILE
CARLA RIVERA MATOS                       ADDRESS ON FILE
CARLA RIVERA ZAYAS                       ADDRESS ON FILE
CARLA RODRIGUEZ HEREDIA                  ADDRESS ON FILE




                                                                                                    Page 1195 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1196 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                  Address2                          Address3   Address4   City             State   PostalCode   Country
CARLA RODRIGUEZ MARTINEZ                ADDRESS ON FILE
CARLA T BAEZ NIEVES                     ADDRESS ON FILE
CARLA T QUINONES CRUZ                   ADDRESS ON FILE
CARLA V CORREA CEPEDA                   ADDRESS ON FILE
CARLA V SANTIAGO MARTINEZ               ADDRESS ON FILE
CARLA W FLORES LOPEZ                    ADDRESS ON FILE
CARLA WILLIAMS                          ADDRESS ON FILE
CARLA Y VEGA RODRIGUEZ                  ADDRESS ON FILE
CARLAMICHELLE VIDAL RAMIREZ             ADDRESS ON FILE
CARLE COTTE, OMAR                       ADDRESS ON FILE
CARLE GARCIA, ESTEBAN                   ADDRESS ON FILE
CARLE MARTINEZ, ESTEBAN A               ADDRESS ON FILE
CARLE MARTINEZ, GLORISSETTE             ADDRESS ON FILE
CARLE MATOS, FLOR J                     ADDRESS ON FILE
CARLE SANTOS, IRIS C                    ADDRESS ON FILE
CARLENE LOPEZ MELENDEZ                  ADDRESS ON FILE
CARLEQUIN NEWS DELIVERY SERV            PO BOX 361464                                                                     SAN JUAN         PR      00936‐1464
CARLES MENDOZA, MIGUEL                  ADDRESS ON FILE
CARLIER RIVERA MORALES                  ADDRESS ON FILE
CARLINA GARCIA DE REYES                 ADDRESS ON FILE
CARLINE MUNOZ NIEVES                    ADDRESS ON FILE
CARLITA PERDOMO ROJAS                   ADDRESS ON FILE
CARLITOS BAKERY INC                     27 CALLE MUNOZ RIVERA     Y CELIS AGUILERA                                        STA ISABEL       PR      00757
CARLITO'S DIESEL & MACHINE SHOP, CORP   PARC NUEVA VIDA           P35 CALLE GA                                            PONCE            PR      00728
CARLITOS PHOTO & ART FRAMING & AWARDS   51 CALLE MUNOZ RIVERA                                                             CABO ROJO        PR      00623
CARLITOS TOLEDO PONCE                   52 CALEL CONSTITUCION                                                             SANTA ISABEL     PR      00757
CARLMARIE MORELL RODRIGUEZ              ADDRESS ON FILE
CARLO ACEVEDO, DAMARIS                  ADDRESS ON FILE
CARLO ACOSTA, ADA N                     ADDRESS ON FILE
CARLO ACOSTA, EMILIO                    ADDRESS ON FILE
CARLO ACOSTA, YAMIL                     ADDRESS ON FILE
Carlo Alameda, Luis O                   ADDRESS ON FILE
CARLO ANTONETTY, KRISTAL                ADDRESS ON FILE
CARLO APONTE, ONELIA N                  ADDRESS ON FILE
CARLO ARROYO, CARMEN L                  ADDRESS ON FILE
CARLO ASENCIO, VANESSA                  ADDRESS ON FILE
CARLO AYALA, ROSINEA                    ADDRESS ON FILE
CARLO AYBAR, NATACHA                    ADDRESS ON FILE
CARLO BECERRA, PETER                    ADDRESS ON FILE
CARLO BECERRA, PETER L                  ADDRESS ON FILE
CARLO BELEN, EDWIN A                    ADDRESS ON FILE
CARLO BELEN, EVEREDITH                  ADDRESS ON FILE
CARLO BONILLA, RAULIN                   ADDRESS ON FILE
CARLO CAJIGAS, MELINDA                  ADDRESS ON FILE
CARLO CARABALLO, IVAN                   ADDRESS ON FILE
CARLO CHEVERE, VICTOR                   ADDRESS ON FILE
CARLO CHEVERE, VICTOR                   ADDRESS ON FILE
CARLO CLAUDIO, IVONNE                   ADDRESS ON FILE
CARLO COLLAZO, JUNIOR                   ADDRESS ON FILE
CARLO COLLAZO, NOELIA J.                ADDRESS ON FILE
CARLO COLON, MITZARIE                   ADDRESS ON FILE
CARLO CUCHI RADH D                      ADDRESS ON FILE
CARLO CUCHI RADH D                      ADDRESS ON FILE
CARLO DELBREY, XAVIER                   ADDRESS ON FILE
CARLO DELGADO, YOLANDA                  ADDRESS ON FILE
CARLO FLORES, LOURDES M.                ADDRESS ON FILE
CARLO FLORES, MAGDA Z                   ADDRESS ON FILE
CARLO FLORES, MANOLO                    ADDRESS ON FILE
CARLO FONT MD, JORGE L                  ADDRESS ON FILE
CARLO FONT,JORGE L.                     ADDRESS ON FILE




                                                                                     Page 1196 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1197 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLO GARCIA MD, ANIBAL       ADDRESS ON FILE
CARLO GARCIA, ELIZABETH       ADDRESS ON FILE
CARLO GARCIA, IVETTE          ADDRESS ON FILE
CARLO GONZALEZ, WILMARIE      ADDRESS ON FILE
Carlo Gutierrez, Angel        ADDRESS ON FILE
CARLO HERNANDEZ, DEBORAH      ADDRESS ON FILE
CARLO HIDALGO, GRISELLE       ADDRESS ON FILE
CARLO HUERTAS, YANICE         ADDRESS ON FILE
CARLO IRIZARRY, REYNALDO      ADDRESS ON FILE
CARLO JOEL ROBRES RODRIGUEZ   ADDRESS ON FILE
CARLO LAPORTE, RAYMA E        ADDRESS ON FILE
CARLO LEBRON, JOSE            ADDRESS ON FILE
CARLO LOPEZ, LUIS             ADDRESS ON FILE
CARLO LUCIANO, JESSICA        ADDRESS ON FILE
CARLO LUCIANO, OLGA H         ADDRESS ON FILE
CARLO LUGO, FELIX             ADDRESS ON FILE
CARLO LUGO, GLORIA            ADDRESS ON FILE
CARLO M CALOCA MORALES        ADDRESS ON FILE
CARLO M NAVEDO MARRERO        ADDRESS ON FILE
CARLO MARTINEZ, MANUEL        ADDRESS ON FILE
CARLO MENDOZA, STEPHANIE      ADDRESS ON FILE
CARLO MIRABAL, EDNA J.        ADDRESS ON FILE
CARLO MIRABAL, MARIELA        ADDRESS ON FILE
CARLO MIRABAL, MARIELA        ADDRESS ON FILE
CARLO MIRANDA, JOSE           ADDRESS ON FILE
CARLO MONTALVO, LIZETTE       ADDRESS ON FILE
CARLO MONTECARLO, MELANIE     ADDRESS ON FILE
CARLO MONTES, IDALIA          ADDRESS ON FILE
CARLO MORALES, ENRIQUE        ADDRESS ON FILE
CARLO MORALES, WANDA NAHIR    ADDRESS ON FILE
CARLO MUNIZ, PEDRO A.         ADDRESS ON FILE
Carlo Muniz, Pedro J.         ADDRESS ON FILE
CARLO N. MALDONADO SANCHEZ    ADDRESS ON FILE
CARLO OLAN, JORGE             ADDRESS ON FILE
CARLO ORTIZ, VERONICA         ADDRESS ON FILE
CARLO PABON, CLARA E          ADDRESS ON FILE
CARLO PADILLA, FLAVIA Y       ADDRESS ON FILE
CARLO PADILLA, ISMAEL         ADDRESS ON FILE
CARLO PADILLA, LINDA          ADDRESS ON FILE
CARLO PADILLA, POLA M         ADDRESS ON FILE
Carlo Padilla, Wilberto       ADDRESS ON FILE
CARLO PAGAN, AYMED            ADDRESS ON FILE
CARLO PAGAN, SALLY            ADDRESS ON FILE
CARLO PEREZ, MELINA           ADDRESS ON FILE
CARLO RAMOS, JAVIER           ADDRESS ON FILE
CARLO REYES MD, SIMON E       ADDRESS ON FILE
CARLO REYES, FRANCES          ADDRESS ON FILE
CARLO REYES, RODOLFO          ADDRESS ON FILE
CARLO RIOS, ALEXIS J.         ADDRESS ON FILE
Carlo Rivera, Aileen          ADDRESS ON FILE
CARLO RIVERA, ELIZABETH       ADDRESS ON FILE
CARLO RIVERA, ISMAEL          ADDRESS ON FILE
CARLO RIVERA, JIMMY           ADDRESS ON FILE
CARLO RIVERA, KATILKA         ADDRESS ON FILE
Carlo Rivera, Raymond         ADDRESS ON FILE
CARLO RIVERA, ROSA E.         ADDRESS ON FILE
CARLO ROBLES, LIMARIS H       ADDRESS ON FILE
CARLO RODRIGUEZ, ANA L        ADDRESS ON FILE
CARLO RODRIGUEZ, ELVIN        ADDRESS ON FILE
Carlo Rodriguez, Frances      ADDRESS ON FILE




                                                                          Page 1197 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1198 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLO RODRIGUEZ, JAIME                 ADDRESS ON FILE
CARLO RODRIGUEZ, JOSE                  ADDRESS ON FILE
CARLO RODRIGUEZ, KRYSTIAN              ADDRESS ON FILE
CARLO RODRIGUEZ, MAGALY                ADDRESS ON FILE
CARLO RUIZ, MARILYN                    ADDRESS ON FILE
CARLO RUIZ, TOMAS                      ADDRESS ON FILE
Carlo Salcedo, Carlos                  ADDRESS ON FILE
CARLO SALCEDO, EVELYN                  ADDRESS ON FILE
CARLO SALCEDO, EVELYN                  ADDRESS ON FILE
Carlo Sanabria, Rigoberto              ADDRESS ON FILE
CARLO SANCHEZ, WALESKA                 ADDRESS ON FILE
CARLO SEDA, SANTA                      ADDRESS ON FILE
CARLO SEMIDEY, ANGEL L                 ADDRESS ON FILE
CARLO SERNA, IAN                       ADDRESS ON FILE
CARLO SERNA, IAN                       ADDRESS ON FILE
CARLO SOTO, ELSIE                      ADDRESS ON FILE
CARLO TENNANT, DIANA                   ADDRESS ON FILE
CARLO TIRADO, NORMA                    ADDRESS ON FILE
Carlo Toro, Orlando                    ADDRESS ON FILE
CARLO TORO, RUTH E.                    ADDRESS ON FILE
CARLO TORRES MD, SIMON                 ADDRESS ON FILE
CARLO TORRES MD, SIMON E               ADDRESS ON FILE
Carlo Vazquez, Alberto                 ADDRESS ON FILE
CARLO VEGA, CARLOS                     ADDRESS ON FILE
CARLO VELEZ, ANGEL                     ADDRESS ON FILE
CARLO VELEZ, JOSE L.                   ADDRESS ON FILE
CARLO VIERA, BRENDA                    ADDRESS ON FILE
CARLO VIERA, IVONNE                    ADDRESS ON FILE
CARLO VILLALOBO, ALI CRUZ              ADDRESS ON FILE
CARLO VILLALOBO, ALI CRUZ              ADDRESS ON FILE
CARLOMANUEL OSORIO RIVERA              ADDRESS ON FILE
CARLOMANY, MICHAEL                     ADDRESS ON FILE
CARLOMAYA,CARLOS                       ADDRESS ON FILE
CARLOS A ADORNO/ CARMEN L RAMOS        ADDRESS ON FILE
CARLOS A AGOSTO ACEVEDO                ADDRESS ON FILE
CARLOS A AGUAYO CEDENO                 ADDRESS ON FILE
CARLOS A AGUILERA FRANCO               ADDRESS ON FILE
CARLOS A ALGARIN FRAGUADA              ADDRESS ON FILE
CARLOS A ALICEA FIGUEROA               ADDRESS ON FILE
CARLOS A ALMEIDA PALMA                 ADDRESS ON FILE
CARLOS A ALVARADO COLON                ADDRESS ON FILE
CARLOS A ALVARADO FLORES               ADDRESS ON FILE
CARLOS A ALVAREZ FLORES                ADDRESS ON FILE
CARLOS A APONTE ARCHE                  ADDRESS ON FILE
CARLOS A APONTE MELENDEZ               ADDRESS ON FILE
CARLOS A APONTE SILVA Y ANGEL FREIRE   ADDRESS ON FILE
CARLOS A AROCHO RIVERA                 ADDRESS ON FILE
CARLOS A AROCHO RIVERA                 ADDRESS ON FILE
CARLOS A ARROYO CORTES                 ADDRESS ON FILE
CARLOS A AYALA SEGUI                   ADDRESS ON FILE
CARLOS A BAEZ RIVERA                   ADDRESS ON FILE
CARLOS A BASORA FLECHA                 ADDRESS ON FILE
CARLOS A BELAVAL PEREZ                 ADDRESS ON FILE
CARLOS A BENITEZ MONTALVO              ADDRESS ON FILE
CARLOS A BONILLA TORRES                ADDRESS ON FILE
CARLOS A BROWN ACEVEDO                 ADDRESS ON FILE
CARLOS A CABRERA GUZMAN                ADDRESS ON FILE
CARLOS A CALDERA OFERRAL               ADDRESS ON FILE
CARLOS A CALISTO PEREZ                 ADDRESS ON FILE
CARLOS A CAMACHO RODRIGUEZ             ADDRESS ON FILE




                                                                                   Page 1198 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1199 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                           Address1                   Address2                               Address3   Address4   City            State   PostalCode   Country
CARLOS A CANUELAS PEREIRA               ADDRESS ON FILE
CARLOS A CARDONA ROMAN                  ADDRESS ON FILE
CARLOS A CARRILLO PONTON                ADDRESS ON FILE
CARLOS A CARRION BAUZO                  ADDRESS ON FILE
CARLOS A CASANOVA QUINONES              ADDRESS ON FILE
CARLOS A CASTILLO NIEVES                ADDRESS ON FILE
CARLOS A CASTRODAD MELENDEZ             ADDRESS ON FILE
CARLOS A CENTENO SERRANO                ADDRESS ON FILE
CARLOS A CEPERO AYENDE/ BORINTEK INC    PO BOX 1326                                                                             AIBONITO        PR      00705
CARLOS A CERPA CERPA                    ADDRESS ON FILE
CARLOS A CHARNECO PENA                  ADDRESS ON FILE
CARLOS A CHARNECO PENA                  ADDRESS ON FILE
CARLOS A CLAUDIO VELEZ                  ADDRESS ON FILE
CARLOS A COLLAZO VICENTE                ADDRESS ON FILE
CARLOS A COLON BERMUDEZ                 ADDRESS ON FILE
CARLOS A COLON NAZARIO                  ADDRESS ON FILE
CARLOS A COLON VEGA                     ADDRESS ON FILE
CARLOS A CORCHADO MEDINA                ADDRESS ON FILE
CARLOS A CORTIJO MERCADO                ADDRESS ON FILE
CARLOS A COTO RIVAS/GREEN SOLAR PR COM PO BOX 362442                                                                            SAN JUAN        PR      00936‐2442
CARLOS A CRESPO SANTIAGO                ADDRESS ON FILE
CARLOS A CRUZ CARABALLO                 ADDRESS ON FILE
CARLOS A CRUZ ESQUILIN                  ADDRESS ON FILE
CARLOS A CRUZ MARTINEZ                  ADDRESS ON FILE
CARLOS A CRUZ ORTIZ                     ADDRESS ON FILE
CARLOS A CRUZ RODRIGUEZ DBA GARAGE CRUZ VENUS GARDENS              AX‐19 CALLE MONTE REY                                        RIO PIEDRAS     PR      00928
CARLOS A CUBERO FELICIANO               ADDRESS ON FILE
CARLOS A CURUCHET HERNANDEZ             ADDRESS ON FILE
CARLOS A DANDRIDGE MULERO               ADDRESS ON FILE
CARLOS A DANIELS VIGO                   ADDRESS ON FILE
CARLOS A DE JESUS DUPEROY               ADDRESS ON FILE
CARLOS A DE JESUS RODRIGUEZ             ADDRESS ON FILE
CARLOS A DE LEON ORTIZ                  ADDRESS ON FILE
CARLOS A DELANNOY JULIA                 ADDRESS ON FILE
CARLOS A DELERME RIVERA                 ADDRESS ON FILE
CARLOS A DIAZ MUNOZ                     ADDRESS ON FILE
CARLOS A DIAZ OSORIO                    ADDRESS ON FILE
CARLOS A DIAZ RIVERA                    ADDRESS ON FILE
CARLOS A DIAZ RIVERA                    ADDRESS ON FILE
CARLOS A DIAZ VELIZ                     ADDRESS ON FILE
CARLOS A DURAN VALLE                    ADDRESS ON FILE
CARLOS A ECHEVARRIA RAMOS               ADDRESS ON FILE
CARLOS A ESPADA RIVERA                  ADDRESS ON FILE
CARLOS A ESQUILIN MARTINEZ              ADDRESS ON FILE
CARLOS A ESQUILIN RODRIGUEZ             ADDRESS ON FILE
CARLOS A ESTEVES JIMENEZ                ADDRESS ON FILE
CARLOS A FABREGAS MORALES               ADDRESS ON FILE
CARLOS A FALCON Y RAQUEL RIOS           ADDRESS ON FILE
CARLOS A FELICIANO                      ADDRESS ON FILE
CARLOS A FERNANDEZ CRUZ                 ADDRESS ON FILE
CARLOS A FERNANDEZ DIODONET             ADDRESS ON FILE
CARLOS A FIGUEROA FERRER                ADDRESS ON FILE
CARLOS A FIGUEROA PINEDO                ADDRESS ON FILE
CARLOS A FIGUEROA Y RUTH N VAZQUEZ      ADDRESS ON FILE
CARLOS A FIGUEROA/ LYDIA E MORALEZ      ADDRESS ON FILE
CARLOS A FLORES CARBONELL               ADDRESS ON FILE
CARLOS A FONTANEZ GONZALEZ              ADDRESS ON FILE
CARLOS A FONTANEZ PEREZ                 ADDRESS ON FILE
CARLOS A GABRIEL ZENO                   ADDRESS ON FILE
CARLOS A GARCIA PENA                    ADDRESS ON FILE




                                                                                           Page 1199 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1200 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                   Address2                                    Address3   Address4   City         State   PostalCode   Country
CARLOS A GARCIA ROBLES                  ADDRESS ON FILE
CARLOS A GARCIA ROBLES                  ADDRESS ON FILE
CARLOS A GAUDIN DIAZ                    ADDRESS ON FILE
CARLOS A GONZALEZ HERNANDEZ             ADDRESS ON FILE
CARLOS A GONZALEZ LEON                  ADDRESS ON FILE
CARLOS A GONZALEZ VAZQUEZ               ADDRESS ON FILE
CARLOS A GONZALEZ Y LISETTE SANTOS      ADDRESS ON FILE
CARLOS A GUZMAN COLON                   ADDRESS ON FILE
CARLOS A GUZMAN NIEVES                  ADDRESS ON FILE
CARLOS A HANN COMMANDER                 ADDRESS ON FILE
CARLOS A HERNANDEZ AVILES               ADDRESS ON FILE
CARLOS A HOMS ORAMAS                    ADDRESS ON FILE
CARLOS A IRRIZARRY SEDA                 ADDRESS ON FILE
CARLOS A JIMENEZ NIEVES                 ADDRESS ON FILE
CARLOS A JUAN LEON                      ADDRESS ON FILE
CARLOS A LABOY RODRIGUEZ                ADDRESS ON FILE
CARLOS A LAMBOY RIVERA                  ADDRESS ON FILE
CARLOS A LARRACUENTE ORTIZ              ADDRESS ON FILE
CARLOS A LATORRE REVERON                ADDRESS ON FILE
CARLOS A LAZARO LEON/ PV PROPERTIES INC URB EL PILAR               D 21 CALLE QUEBRADA ARENAS                                        SAN JUAN     PR      00926
CARLOS A LEBRON CLAUDIO                 ADDRESS ON FILE
CARLOS A LEON ACOSTA                    ADDRESS ON FILE
CARLOS A LINARES ROSADO                 ADDRESS ON FILE
CARLOS A LLERA RODRIGUEZ                ADDRESS ON FILE
CARLOS A LOPEZ                          ADDRESS ON FILE
CARLOS A LOPEZ CORSINO                  ADDRESS ON FILE
CARLOS A LOPEZ RODRIGUEZ                ADDRESS ON FILE
CARLOS A LUCCIONI COLLAZO               ADDRESS ON FILE
CARLOS A LUGO FOURNIER                  ADDRESS ON FILE
CARLOS A MALAVE RIVERA                  ADDRESS ON FILE
CARLOS A MALDONADO FIGUEROA             ADDRESS ON FILE
CARLOS A MALDONADO NIEVES               ADDRESS ON FILE
CARLOS A MARIN ANDRADES                 ADDRESS ON FILE
CARLOS A MARIN VARGAS                   ADDRESS ON FILE
CARLOS A MARIN VARGAS                   ADDRESS ON FILE
CARLOS A MARRERO MATTEI                 ADDRESS ON FILE
CARLOS A MARRERO SANCHEZ                ADDRESS ON FILE
CARLOS A MARTINEZ                       ADDRESS ON FILE
CARLOS A MARTINEZ ROSARIO               ADDRESS ON FILE
CARLOS A MARTINO                        ADDRESS ON FILE
CARLOS A MATOS RIVERA/DYNAMIC SOLAR     SOLUTIONS INC              PO BOX 29155                                                      SAN JUAN     PR      00929‐0155
CARLOS A MEDINA QUINONEZ                ADDRESS ON FILE
CARLOS A MEJIAS CRUZ                    ADDRESS ON FILE
CARLOS A MELENDEZ                       ADDRESS ON FILE
CARLOS A MELENDEZ /DBA ALMACEN MELENDEZHC 1 BOX 6553                                                                                 COROZAL      PR      00783
CARLOS A MELENDEZ ARROYO                ADDRESS ON FILE
CARLOS A MELENDEZ GARCIA                ADDRESS ON FILE
CARLOS A MELENDEZ RODRIGUEZ             ADDRESS ON FILE
CARLOS A MELENDEZ ROSA                  ADDRESS ON FILE
CARLOS A MENDEZ ACEVEDO                 ADDRESS ON FILE
CARLOS A MENDEZ DAVID                   ADDRESS ON FILE
CARLOS A MENDEZ FRANQUI                 ADDRESS ON FILE
CARLOS A MERCADO DE JESUS               ADDRESS ON FILE
CARLOS A MOLINA RESTO                   ADDRESS ON FILE
CARLOS A MOLINI SANTOS                  ADDRESS ON FILE
CARLOS A MONTANEZ HERNANDEZ             ADDRESS ON FILE
CARLOS A MONTANEZ LOPEZ                 ADDRESS ON FILE
CARLOS A MONTES RIOS                    ADDRESS ON FILE
CARLOS A MORALES ARIAS                  ADDRESS ON FILE
CARLOS A MORALES GONZALEZ               ADDRESS ON FILE




                                                                                                Page 1200 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1201 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                            Address1                  Address2                          Address3   Address4   City           State   PostalCode   Country
CARLOS A MORALES GONZALEZ                ADDRESS ON FILE
CARLOS A MORALES SILVA                   ADDRESS ON FILE
CARLOS A MULERO ORTIZ                    ADDRESS ON FILE
CARLOS A MURILLO RODRIGUEZ               ADDRESS ON FILE
CARLOS A NAVEDO LOPEZ                    ADDRESS ON FILE
CARLOS A NIEVES CASTILLO                 ADDRESS ON FILE
CARLOS A NIEVES RIVERA                   ADDRESS ON FILE
CARLOS A NIEVES VAZQUEZ                  ADDRESS ON FILE
CARLOS A NOGUEIRA Y/O GRACIELA NALLAR    ADDRESS ON FILE
CARLOS A NOLASCO CRUZ                    ADDRESS ON FILE
CARLOS A NOLASCO CRUZ                    ADDRESS ON FILE
CARLOS A NORIEGA CRUZ                    ADDRESS ON FILE
CARLOS A NUNEZ PADILLA                   ADDRESS ON FILE
CARLOS A OCASIO VAZQUEZ                  ADDRESS ON FILE
CARLOS A OPPENHEIMER CAMPOS              ADDRESS ON FILE
CARLOS A ORTIZ                           ADDRESS ON FILE
CARLOS A ORTIZ ALVARADO                  ADDRESS ON FILE
CARLOS A ORTIZ CARMONA                   ADDRESS ON FILE
CARLOS A ORTIZ QUILES                    ADDRESS ON FILE
CARLOS A ORTIZ REYES                     ADDRESS ON FILE
CARLOS A ORTIZ RODRIGUEZ                 ADDRESS ON FILE
CARLOS A ORTIZ RODRIGUEZ                 ADDRESS ON FILE
CARLOS A OTERO HERNANDEZ                 ADDRESS ON FILE
CARLOS A PABON/ IRMA BENITEZ             ADDRESS ON FILE
CARLOS A PACHECO MONTERO                 ADDRESS ON FILE
CARLOS A PADILLA MELENDEZ                ADDRESS ON FILE
CARLOS A PAGAN GONZALEZ                  ADDRESS ON FILE
CARLOS A PAGAN LAUREANO                  ADDRESS ON FILE
CARLOS A PARALITICCI MORALES             ADDRESS ON FILE
CARLOS A PASTRANA CRUZ                   ADDRESS ON FILE
CARLOS A PEIRATS REINA                   ADDRESS ON FILE
CARLOS A PENA                            ADDRESS ON FILE
CARLOS A PENA GONZALEZ                   ADDRESS ON FILE
CARLOS A PEREIRA JIMENEZ                 ADDRESS ON FILE
CARLOS A PEREIRA JIMENEZ                 ADDRESS ON FILE
CARLOS A PEREZ COLON/KILOWATT DEPOT PR   VISTAS DE RIO GRANDE I    153 CALLE LAUREL                                        RIO GRANDE     PR      00745
CARLOS A PEREZ OLAN                      ADDRESS ON FILE
CARLOS A PEREZ RODRIGUEZ                 ADDRESS ON FILE
CARLOS A PEREZ RODRIGUEZ                 ADDRESS ON FILE
CARLOS A PEREZ SOTO                      ADDRESS ON FILE
CARLOS A PERFUME VELAZQUEZ               ADDRESS ON FILE
CARLOS A PIZARRO CRUZ                    ADDRESS ON FILE
CARLOS A PIZARRO OLIVERA                 ADDRESS ON FILE
CARLOS A QUILES PEREZ                    ADDRESS ON FILE
CARLOS A QUILICHINI PAZ                  ADDRESS ON FILE
CARLOS A QUILICHINI PAZ                  ADDRESS ON FILE
CARLOS A QUINONES HERNANDEZ              ADDRESS ON FILE
CARLOS A QUINONES RAMOS                  ADDRESS ON FILE
CARLOS A QUINONES RENTAS                 ADDRESS ON FILE
CARLOS A QUINTANA DELGADO                ADDRESS ON FILE
CARLOS A RAMOS ACEVEDO                   ADDRESS ON FILE
CARLOS A RAMOS CAMILO                    ADDRESS ON FILE
CARLOS A RAMOS CORNIER                   ADDRESS ON FILE
CARLOS A RAMOS DOMENECH                  ADDRESS ON FILE
CARLOS A RAMOS LEBRON                    ADDRESS ON FILE
CARLOS A RAMOS LEBRON                    ADDRESS ON FILE
CARLOS A RAMOS ONEILL                    ADDRESS ON FILE
CARLOS A RENTAS MERCADO                  ADDRESS ON FILE
CARLOS A REYES BERRIOS                   ADDRESS ON FILE
CARLOS A REYES CENTENO                   ADDRESS ON FILE




                                                                                      Page 1201 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1202 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                            Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
CARLOS A REYES RIVERA                    ADDRESS ON FILE
CARLOS A REYMUNDI RODRIGUEZ              ADDRESS ON FILE
CARLOS A RIOS CRUZ                       ADDRESS ON FILE
CARLOS A RIOS CRUZ                       ADDRESS ON FILE
CARLOS A RIOS TORRES                     ADDRESS ON FILE
CARLOS A RIVERA ALONSO                   ADDRESS ON FILE
CARLOS A RIVERA CARABALLO                ADDRESS ON FILE
CARLOS A RIVERA COLLAZO                  ADDRESS ON FILE
CARLOS A RIVERA DIAZ                     ADDRESS ON FILE
CARLOS A RIVERA DIAZ                     ADDRESS ON FILE
CARLOS A RIVERA GUZMAN                   URB SAN PEDRO             E 17 CALLE SAN MATEO                                        TOA BAJA     PR      00949
CARLOS A RIVERA NIEVES                   ADDRESS ON FILE
CARLOS A RIVERA ORTIZ                    ADDRESS ON FILE
CARLOS A RIVERA OTERO                    ADDRESS ON FILE
CARLOS A RIVERA PAGAN                    ADDRESS ON FILE
CARLOS A RIVERA PAGAN                    ADDRESS ON FILE
CARLOS A RIVERA RAMIREZ                  ADDRESS ON FILE
CARLOS A RIVERA RIVERA                   ADDRESS ON FILE
CARLOS A RIVERA RIVERA                   ADDRESS ON FILE
CARLOS A RIVERA SANTANA                  ADDRESS ON FILE
CARLOS A RIVERA SANTIAGO                 ADDRESS ON FILE
CARLOS A RIVERA SILVA                    ADDRESS ON FILE
CARLOS A RIVERA TORRES                   ADDRESS ON FILE
CARLOS A RIVERA VEGA                     ADDRESS ON FILE
CARLOS A RIVERA VILLAFANE                ADDRESS ON FILE
CARLOS A RODRIGUEZ BONILLA               ADDRESS ON FILE
CARLOS A RODRIGUEZ FRANCO                ADDRESS ON FILE
CARLOS A RODRIGUEZ MARTINEZ              ADDRESS ON FILE
CARLOS A RODRIGUEZ MEJIAS                ADDRESS ON FILE
CARLOS A RODRIGUEZ ORTIZ                 ADDRESS ON FILE
CARLOS A RODRIGUEZ ORTIZ                 ADDRESS ON FILE
CARLOS A RODRIGUEZ RIVERA                ADDRESS ON FILE
CARLOS A RODRIGUEZ RIVERA                ADDRESS ON FILE
CARLOS A RODRIGUEZ SOSA                  ADDRESS ON FILE
CARLOS A RODRIGUEZ TORRES                ADDRESS ON FILE
CARLOS A RODRIGUEZ VALENTIN              ADDRESS ON FILE
CARLOS A RODRIGUEZ VELEZ                 ADDRESS ON FILE
CARLOS A ROMAN ROMAN                     ADDRESS ON FILE
CARLOS A ROMERO GAMBOA                   ADDRESS ON FILE
CARLOS A ROMERO Y EVA BONELLI            ADDRESS ON FILE
CARLOS A ROSA RUIZ                       ADDRESS ON FILE
CARLOS A ROSADO MONTALVO                 ADDRESS ON FILE
CARLOS A ROSARIO RIVERA                  ADDRESS ON FILE
CARLOS A RUBIO CANCELA                   ADDRESS ON FILE
CARLOS A RUIZ OBANDO                     ADDRESS ON FILE
CARLOS A RUIZ PACHECO                    ADDRESS ON FILE
CARLOS A RUIZ PACHECO                    ADDRESS ON FILE
CARLOS A RUIZ RIVERA                     ADDRESS ON FILE
CARLOS A RUIZ RODRIGUEZ                  ADDRESS ON FILE
CARLOS A RUIZ RODRIGUEZ                  ADDRESS ON FILE
CARLOS A SALDANA                         ADDRESS ON FILE
CARLOS A SAMBOLIN MATTEI                 ADDRESS ON FILE
CARLOS A SAMBOLIN MATTEI                 ADDRESS ON FILE
CARLOS A SANCHEZ RIVERA                  ADDRESS ON FILE
CARLOS A SANCHEZ SANTIAGO                ADDRESS ON FILE
CARLOS A SANCHEZ SANTIAGO                ADDRESS ON FILE
CARLOS A SANCHEZ SANTIAGO                ADDRESS ON FILE
CARLOS A SANTANA RABELL/JAG ENGINEERS PS URB VALPARAISO            K 48 CALLE 3                                                TOA BAJA     PR      00949
CARLOS A SANTIAGO GONZALEZ               ADDRESS ON FILE
CARLOS A SANTIAGO GUZMAN                 ADDRESS ON FILE




                                                                                          Page 1202 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1203 of 3500
                                                                                17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                    Address1                          Address2                  Address3   Address4   City         State   PostalCode   Country
CARLOS A SANTIAGO RODRIGUEZ      ADDRESS ON FILE
CARLOS A SANTIAGO ROMAN          ADDRESS ON FILE
CARLOS A SANTIAGO ROSARIO        ADDRESS ON FILE
CARLOS A SANTIAGO SOTO           ADDRESS ON FILE
CARLOS A SANTIAGO TORRES         ADDRESS ON FILE
CARLOS A SANTOS PEDRAZA          ADDRESS ON FILE
CARLOS A SAURI CRUZ              ADDRESS ON FILE
CARLOS A SAURI RIVERA            ADDRESS ON FILE
CARLOS A SENERIZ ORTIZ           ADDRESS ON FILE
CARLOS A SENERIZ ORTIZ           ADDRESS ON FILE
CARLOS A SERRANO CHACON          ADDRESS ON FILE
CARLOS A SIERRA MADERA           ADDRESS ON FILE
CARLOS A SONERA CARIRE           ADDRESS ON FILE
CARLOS A SORIANO CLAUDIO         ADDRESS ON FILE
CARLOS A SOTO DE JESUS           ADDRESS ON FILE
CARLOS A SOTO GONZALEZ           ADDRESS ON FILE
CARLOS A SOTO ORTIZ              ADDRESS ON FILE
CARLOS A SUAREZ BERRIOS          ADDRESS ON FILE
CARLOS A SUAREZ SOFTWARE INC     405 AVE ESMERALDA STE 2 PMB 396                                                   GUAYNABO     PR      00969‐4466
CARLOS A SURILLO PUMARADA        ADDRESS ON FILE
CARLOS A TABOAS MIRANDA          ADDRESS ON FILE
CARLOS A TIRADO DE ALBA          ADDRESS ON FILE
CARLOS A TORO COLOME             ADDRESS ON FILE
CARLOS A TORO COLOME             ADDRESS ON FILE
CARLOS A TORRECH‐ DIAZ SANCHEZ   ADDRESS ON FILE
CARLOS A TORRES                  ADDRESS ON FILE
CARLOS A TORRES BADO             ADDRESS ON FILE
CARLOS A TORRES CORREA           ADDRESS ON FILE
CARLOS A TORRES HERRERA          ADDRESS ON FILE
CARLOS A TORRES JIMENEZ          ADDRESS ON FILE
CARLOS A TORRES LEON             ADDRESS ON FILE
CARLOS A TORRES NIEVES           ADDRESS ON FILE
CARLOS A TORRES SERRANO          ADDRESS ON FILE
CARLOS A VALENTIN OLIVIERI       ADDRESS ON FILE
CARLOS A VARGAS BARRETO          ADDRESS ON FILE
CARLOS A VARGAS QUINONES         ADDRESS ON FILE
CARLOS A VARGAS QUINONES         ADDRESS ON FILE
CARLOS A VAZQUEZ                 ADDRESS ON FILE
CARLOS A VAZQUEZ FELICIANO       ADDRESS ON FILE
CARLOS A VAZQUEZ MIELES          ADDRESS ON FILE
CARLOS A VAZQUEZ PERELEZ         ADDRESS ON FILE
CARLOS A VAZQUEZ SANTOS          ADDRESS ON FILE
CARLOS A VEGA MARTINEZ           ADDRESS ON FILE
CARLOS A VEGA RIVERA             ADDRESS ON FILE
CARLOS A VELAZQUEZ MALDONADO     ADDRESS ON FILE
CARLOS A VELEZ CRUZ              ADDRESS ON FILE
CARLOS A VERGNE TORRES           ADDRESS ON FILE
CARLOS A VIGIL DELGADO           ADDRESS ON FILE
CARLOS A VILLEGAS NIEVES         ADDRESS ON FILE
CARLOS A ZAYAS BONILLA           ADDRESS ON FILE
CARLOS A. ANDINO AYALA           ADDRESS ON FILE
CARLOS A. BALDIT SALMON          ADDRESS ON FILE
CARLOS A. BERRIOS                ADDRESS ON FILE
CARLOS A. CALISTO PEREZ          ADDRESS ON FILE
CARLOS A. CANINO LOMBA           ADDRESS ON FILE
CARLOS A. COLON ORTIZ            ADDRESS ON FILE
CARLOS A. CORTES ADAMES          ADDRESS ON FILE
CARLOS A. COSTOSO CLAUSELLS      ADDRESS ON FILE
CARLOS A. CUADRADO BURGOS        ADDRESS ON FILE
CARLOS A. DIAS LABOY             ADDRESS ON FILE




                                                                              Page 1203 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1204 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                           Address1                  Address2                            Address3             Address4             City         State   PostalCode   Country
CARLOS A. DIAZ ALBALADEJO               ADDRESS ON FILE
CARLOS A. DIAZ GARCIA                   ADDRESS ON FILE
CARLOS A. DÍAZ MALDONADO                DENNIS H. NÚÑEZ           PO BOX 1142                                                                   AIBONITO     PR      00705
CARLOS A. ESTRADA DIAZ                  ADDRESS ON FILE
CARLOS A. ESTRADA DIAZ                  ADDRESS ON FILE
CARLOS A. FIGUEROA VAZQUEZ              ADDRESS ON FILE
CARLOS A. FRANQUI PÉREZ                 DERECHO PROPIO            INST. ADULTOS 1000                  3793 Ponce BY PASS   EDIF. 3K CELDA 220   PONCE        PR      00732
CARLOS A. GIL DELGADO                   ADDRESS ON FILE
CARLOS A. HERNANDEZ RUIZ                ADDRESS ON FILE
CARLOS A. HURTADO INFANTE               ADDRESS ON FILE
CARLOS A. LOPEZ RUIZ                    ADDRESS ON FILE
CARLOS A. MIRANDA                       ADDRESS ON FILE
CARLOS A. MIRANDA PEREZ                 ADDRESS ON FILE
CARLOS A. MIRANDA RIVERA                ADDRESS ON FILE
CARLOS A. MIRANDA RIVERA                ADDRESS ON FILE
CARLOS A. ORTIZ ABRAMS                  ADDRESS ON FILE
CARLOS A. ORTIZ OYOLA                   ADDRESS ON FILE
CARLOS A. RIVERA LLUVERAS               ADDRESS ON FILE
Carlos A. Rivera Santos                 ADDRESS ON FILE
CARLOS A. RODRIGUEZ ORTIZ               ADDRESS ON FILE
CARLOS A. RODRIGUEZ RIVERA              ADDRESS ON FILE
CARLOS A. RULLÁN                        AMALIA DURÁN SANTIAGO     PO BOX 897                                                                    ADJUNTAS     PR      00601
CARLOS A. SERRANO VELEZ                 ADDRESS ON FILE
CARLOS A.VELAZQUEZ GARCIA               ADDRESS ON FILE
CARLOS ABRAHAM LEON COLON               ADDRESS ON FILE
CARLOS ACEVEDO COLLAZO                  ADDRESS ON FILE
CARLOS ACEVEDO KUINLAM                  ADDRESS ON FILE
CARLOS ACEVEDO PENALVERT                ADDRESS ON FILE
CARLOS ACOSTA CRESPO                    ADDRESS ON FILE
CARLOS ACOSTA RODRIGUEZ                 ADDRESS ON FILE
CARLOS ACUNA GERENA                     ADDRESS ON FILE
CARLOS ADORNO MALDONADO                 ADDRESS ON FILE
CARLOS ALBERTO AMY ANGULO               ADDRESS ON FILE
CARLOS ALBERTO FUENTES MONTANEZ         ADDRESS ON FILE
CARLOS ALBERTO GARCIA LOPEZ             ADDRESS ON FILE
CARLOS ALBERTO MARRERO                  ADDRESS ON FILE
CARLOS ALBERTO REY COTTO                ADDRESS ON FILE
CARLOS ALBERTO TAMARGO DOMINGUEZ        ADDRESS ON FILE
CARLOS ALBERTO TAMARGO DOMINGUEZ        ADDRESS ON FILE
CARLOS ALBERTO TORRES DAVILA            ADDRESS ON FILE
CARLOS ALBERTO VELAZQUEZ LOPEZ          ADDRESS ON FILE
CARLOS ALBIZU UNIVERSIDAD               ADDRESS ON FILE
CARLOS ALBURQUERQUE MEJIAS              ADDRESS ON FILE
CARLOS ALDARONDO MARTINEZ               ADDRESS ON FILE
CARLOS ALENO BOSCH                      ADDRESS ON FILE
CARLOS ALERS MALDONADO                  ADDRESS ON FILE
CARLOS ALEXIS GARCIA MELENDEZ           ADDRESS ON FILE
CARLOS ALEXIS RODRIGUEZ VILLEGAS        ADDRESS ON FILE
CARLOS ALICEA SANTOS                    ADDRESS ON FILE
CARLOS ALVARADO / CRAE INVESTMENT INC   PO BOX 1364                                                                                             DORADO       PR      00646‐1364
CARLOS ALVARADO DIAZ                    ADDRESS ON FILE
CARLOS ALVARADO SANTIAGO                ADDRESS ON FILE
CARLOS ALVARADO SANTIAGO                ADDRESS ON FILE
CARLOS ALVAREZ BADILLO                  ADDRESS ON FILE
CARLOS ALVAREZ BONETA                   ADDRESS ON FILE
CARLOS ALVAREZ DIAZ                     ADDRESS ON FILE
CARLOS ALVAREZ DIAZ                     ADDRESS ON FILE
CARLOS ALVAREZ GONZALEZ                 ADDRESS ON FILE
CARLOS ALVAREZ MENDEZ / MARCOS SIERRA   ADDRESS ON FILE
CARLOS ALVAREZ MUNIZ                    ADDRESS ON FILE




                                                                                       Page 1204 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1205 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                  Address2                                   Address3   Address4   City            State   PostalCode   Country
CARLOS AMADOR GONZALEZ                  ADDRESS ON FILE
CARLOS ANDRADE RIVERA                   ADDRESS ON FILE
CARLOS ANDRADES JIMENEZ                 ADDRESS ON FILE
CARLOS ANDRES CINTRON PICHARDO          ADDRESS ON FILE
CARLOS ANDUJAR FELICIANO                ADDRESS ON FILE
CARLOS ANER NAVARRO CARRASQUILLO        ADDRESS ON FILE
CARLOS ANIBAL PAGAN VAZQUEZ             ADDRESS ON FILE
CARLOS APONTE MALARRITA                 ADDRESS ON FILE
CARLOS APONTE RAMIREZ                   ADDRESS ON FILE
CARLOS APONTE TORRES                    ADDRESS ON FILE
CARLOS ARCE CABRERA                     ADDRESS ON FILE
CARLOS ARCE CABRERA                     ADDRESS ON FILE
CARLOS ARCELAY FONTANEZ                 ADDRESS ON FILE
CARLOS ARCHULETA MONTOYA                ADDRESS ON FILE
CARLOS ARMANDO MARCIAL TORRES           ADDRESS ON FILE
CARLOS ARROYO ECHEVARRIA                ADDRESS ON FILE
CARLOS ARROYO ROMAN                     ADDRESS ON FILE
CARLOS ARROYO ROMEU                     ADDRESS ON FILE
CARLOS ARTURO RIZIAN                    ADDRESS ON FILE
CARLOS ARZOLA ALBINO                    ADDRESS ON FILE
CARLOS ARZUAGA MARTINEZ                 ADDRESS ON FILE
CARLOS ASTACIO RIVERA                   ADDRESS ON FILE
CARLOS ASTONDOA RIVERA                  ADDRESS ON FILE
CARLOS AVILA DEL PILAR                  ADDRESS ON FILE
CARLOS AVILES AVILES                    ADDRESS ON FILE
CARLOS AVILES SANTOS                    ADDRESS ON FILE
CARLOS AYALA                            ADDRESS ON FILE
CARLOS AYALA MEDINA                     ADDRESS ON FILE
CARLOS AYALA OLIVERA                    ADDRESS ON FILE
CARLOS AYALA RIVERA                     ADDRESS ON FILE
CARLOS AYALA RIVERA                     ADDRESS ON FILE
CARLOS AYARZA REAL                      ADDRESS ON FILE
CARLOS B ACOSTA                         ADDRESS ON FILE
CARLOS B ALVARADO RAMOS                 ADDRESS ON FILE
CARLOS B ESTEVA MERSCH                  ADDRESS ON FILE
CARLOS B MORALES RUIZ                   ADDRESS ON FILE
CARLOS B PAGAN RIVERA                   ADDRESS ON FILE
CARLOS B RAMOS CORTES                   ADDRESS ON FILE
CARLOS BAEZ /JOSE BAEZ/ JAVIER BAEZ     ADDRESS ON FILE
CARLOS BAEZ HERNANDEZ                   ADDRESS ON FILE
CARLOS BAEZ MONTANEZ                    ADDRESS ON FILE
CARLOS BALESTIER RODRIGUEZ              ADDRESS ON FILE
CARLOS BARALT SUAREZ                    ADDRESS ON FILE
CARLOS BARBOSA MERCED                   ADDRESS ON FILE
CARLOS BARRETO SOTO                     ADDRESS ON FILE
CARLOS BARRETO SOTO                     ADDRESS ON FILE
CARLOS BARRIOS RIVERA                   ADDRESS ON FILE
CARLOS BARSY CARMONA                    ADDRESS ON FILE
CARLOS BATISTA IRIZARRY                 ADDRESS ON FILE
CARLOS BATISTA MONTANEZ                 ADDRESS ON FILE
CARLOS BELTRAN BASEBALL ACADEMY, INC.   PO BOX 1115                                                                                FLORIDA         PR      00650
CARLOS BELTRAN COLON                    ADDRESS ON FILE
CARLOS BENTACOURT                       ADDRESS ON FILE
CARLOS BERDECIA CAMACHO                 ADDRESS ON FILE
CARLOS BERMUDEZ                         ADDRESS ON FILE
CARLOS BERMUDEZ DBA KC CHEMICALS        AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN        PR      00902‐4140
CARLOS BERMUDEZ DBA KC CHEMICALS        PO BOX 800596                                                                              COTO LAUREL     PR      00780‐0596
CARLOS BERNARD HERNÁNDEZ                ADDRESS ON FILE
CARLOS BERRIOS BURGOS                   ADDRESS ON FILE
CARLOS BERROCALES ESCUTEL               ADDRESS ON FILE




                                                                                              Page 1205 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1206 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                                Address2                                    Address3   Address4   City          State   PostalCode   Country
Carlos Betance Quiles                   ADDRESS ON FILE
CARLOS BETANCOURT VELEZ                 ADDRESS ON FILE
CARLOS BOCACHICA SALAMO                 ADDRESS ON FILE
CARLOS BOLIVAR GUILLEN                  ADDRESS ON FILE
CARLOS BONET INSURANCE GROUP INC        PO BOX 30000 PMB 571                                                                                      CANOVANAS     PR      00729
CARLOS BONET REAL ESTATE CORP           PO BOX 194000                                                                                             SAN JUAN      PR      00919
CARLOS BONILLA CUERVO                   ADDRESS ON FILE
CARLOS BONILLA ROSADO                   ADDRESS ON FILE
CARLOS BORRERO GARCIA                   ADDRESS ON FILE
CARLOS BRACETE ORTIZ                    ADDRESS ON FILE
CARLOS BRUNO CRUZ                       ADDRESS ON FILE
CARLOS BULTRON ROBLES                   ADDRESS ON FILE
CARLOS BURGOS MARTINEZ                  ADDRESS ON FILE
CARLOS BURGOS SANTOS                    ADDRESS ON FILE
CARLOS BURGOS SERRANO                   LCDO. CARLOS I. RODRÍGUEZ MARÍN         PO BOX 8052                                                       Bayamón       PR      00960‐8052
CARLOS BURGOS SERRANO                   LCDO. FÉLIX O. ALFARO RIVERA            PO BOX70244                                                       SAN JUAN      PR      00936‐8244
CARLOS C ALSINA LOPEZ                   ADDRESS ON FILE
CARLOS C CASTRO TORRES                  ADDRESS ON FILE
CARLOS C MARRERO PLAUD                  ADDRESS ON FILE
CARLOS C RODRIGUEZ Y REBECA DAVILA      ADDRESS ON FILE
CARLOS C SANTIAGO GONZALEZ              ADDRESS ON FILE
CARLOS C VAZQUEZ DIAZ                   ADDRESS ON FILE
CARLOS CABRERA MD, FRANCISCO J          ADDRESS ON FILE
CARLOS CABRERA ORTIZ                    ADDRESS ON FILE
CARLOS CABRERA ORTIZ                    ADDRESS ON FILE
CARLOS CABRERA REYES                    LCDA. MALTA BELTRAN DONES               EDIF. VICK CENTER 867 AVE. MUÑOZ RIVERA STE. 201‐B                SAN JUAN      PR      00925
CARLOS CACCIAMANI PEI                   ADDRESS ON FILE
Carlos Café                             PO Box 6181 Mayagüez                                                                                      Mayagüez      PR      00681
CARLOS CALERO MORALES                   ADDRESS ON FILE
CARLOS CALERO RECIO                     ADDRESS ON FILE
CARLOS CAMACHO GONZALEZ                 ADDRESS ON FILE
CARLOS CAMACHO LANDRON                  ADDRESS ON FILE
CARLOS CAMPOAMOR MENDEZ                 ADDRESS ON FILE
CARLOS CANDELARIO FERNANDEZ             ADDRESS ON FILE
CARLOS CANOVA DIAZ                      ADDRESS ON FILE
CARLOS CANUELAS PEREIRA                 ADDRESS ON FILE
CARLOS CARABALLO RIVERA                 ADDRESS ON FILE
CARLOS CARATINI RIVERA                  ADDRESS ON FILE
CARLOS CARATINI TORRES                  ADDRESS ON FILE
CARLOS CARAZO ROMAN                     ADDRESS ON FILE
CARLOS CARBALLO DURAN                   ADDRESS ON FILE
CARLOS CARDONA SANCHEZ                  ADDRESS ON FILE
CARLOS CARMONA MATOS                    ADDRESS ON FILE
CARLOS CARRASQUILLO CRUZ                ADDRESS ON FILE
CARLOS CARRASQUILLO PIZARRO             ADDRESS ON FILE
Carlos Carrasquillo Serrano             ADDRESS ON FILE
CARLOS CARRIÓN SÁNCHEZ V CARMEN D. MELÉNLIC. MANUEL RIVERA LUGO ‐ ABOGADO DEMAND11 ESTE AVE. PADRE RIVERA                                         HUMACAO       PR      00791
CARLOS CARRION VILLAFANE                ADDRESS ON FILE
CARLOS CARRUCINI DBA CRC ELECTRONICS    PO BOX 1263                                                                                               ARECIBO       PR      00613
CARLOS CARTAGENA GONZALEZ               ADDRESS ON FILE
CARLOS CASALDUC NAZARIO                 ADDRESS ON FILE
CARLOS CASASNOVAS/ NIDIA CASASNOVAS     ADDRESS ON FILE
CARLOS CASIANO PARRILLA                 ADDRESS ON FILE
CARLOS CASIANO PARRILLA                 ADDRESS ON FILE
CARLOS CASTELLON NIGAGLIONI/ JAIME      ADDRESS ON FILE
CARLOS CASTILLO                         ADDRESS ON FILE
CARLOS CASTILLO DOMENA                  ADDRESS ON FILE
CARLOS CASTILLO MATOS                   ADDRESS ON FILE
CARLOS CASTILLO MORALES                 ADDRESS ON FILE
CARLOS CASTILLO MORALES                 ADDRESS ON FILE




                                                                                                              Page 1206 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1207 of 3500
                                                                          17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name              Address1                                   Address2                               Address3     Address4   City        State   PostalCode   Country
CARLOS CASTILLO MORALES    ADDRESS ON FILE
CARLOS CASTILLO SABO       ADDRESS ON FILE
CARLOS CASTRO FONSECA      ADDRESS ON FILE
CARLOS CASTRO MUNIZ        ADDRESS ON FILE
CARLOS CATALA DE JESUS     ADDRESS ON FILE
CARLOS CATALA MORALES      ADDRESS ON FILE
CARLOS CEDENO ROSA         ADDRESS ON FILE
CARLOS CEDENO ROSA         ADDRESS ON FILE
CARLOS CEPERO PAGAN        ADDRESS ON FILE
CARLOS CESPEDES CRUZ       ADDRESS ON FILE
CARLOS CHIPI CASAS         ADDRESS ON FILE
CARLOS CLAUDIO CORTES      ADDRESS ON FILE
CARLOS CLAUDIO LOPEZ       ADDRESS ON FILE
CARLOS CLAUDIO MENDEZ      ADDRESS ON FILE
CARLOS COLON ALVAREZ       ADDRESS ON FILE
CARLOS COLON COLON         ADDRESS ON FILE
CARLOS COLON CRUZ          ADDRESS ON FILE
CARLOS COLON CRUZ          ADDRESS ON FILE
CARLOS COLON DE JESUS      ADDRESS ON FILE
CARLOS COLON DE JESUS      ADDRESS ON FILE
CARLOS COLON FORTUNA       ADDRESS ON FILE
CARLOS COLON GARCIA        ADDRESS ON FILE
CARLOS COLON GOMEZ         ADDRESS ON FILE
CARLOS COLON MOJICA        ADDRESS ON FILE
CARLOS COLON ORTIZ         ADDRESS ON FILE
CARLOS COLON RAMIREZ       LCDO. HÉCTOR A. SOSA GONZÁLEZ              PO BOX 542                                                     AGUADA      PR      00602‐0542
CARLOS COLON RIVERA        ADDRESS ON FILE
CARLOS COLON RIVERA        ADDRESS ON FILE
CARLOS COLON RODRIGUEZ     ADDRESS ON FILE
CARLOS COLON ROSA          ADDRESS ON FILE
CARLOS COLON ROSAS         ADDRESS ON FILE
CARLOS COLON SANTOS        ADDRESS ON FILE
CARLOS CONCEPCION CASTRO   ADDRESS ON FILE
CARLOS CORDERO HERNANDEZ   ADDRESS ON FILE
CARLOS CORDERO MENDEZ      ADDRESS ON FILE
CARLOS CORDERO RIVERA      ADDRESS ON FILE
CARLOS CORDERO SEPULVEDA   ADDRESS ON FILE
CARLOS CORDOVA ITURREGUI   ADDRESS ON FILE
CARLOS CORREA OQUENDO      ADDRESS ON FILE
CARLOS CORREA SERBIA       ADDRESS ON FILE
CARLOS CORTES MEJIAS       ADDRESS ON FILE
CARLOS COSME RODRIGUEZ     ADDRESS ON FILE
CARLOS COTTO LOPEZ         ADDRESS ON FILE
CARLOS CRESPO FIGUEROA     ADDRESS ON FILE
CARLOS CRUZ                ADDRESS ON FILE
CARLOS CRUZ ACEVEDO        ADDRESS ON FILE
CARLOS CRUZ BRACERO        ADDRESS ON FILE
CARLOS CRUZ BUTLER         ADDRESS ON FILE
CARLOS CRUZ CABRERA        LCDO. HÉCTOR SANTIAGO RIVERA Y LCDA. JUDITHCALLE ESTEBAN PADILLA                  60‐E ALTOS              Bayamón     PR      00959
CARLOS CRUZ CORTIJO        ADDRESS ON FILE
CARLOS CRUZ DE JESUS       ADDRESS ON FILE
CARLOS CRUZ DIAZ           ADDRESS ON FILE
CARLOS CRUZ GARCIA         ADDRESS ON FILE
CARLOS CRUZ GARCIA         ADDRESS ON FILE
CARLOS CRUZ GAVILLAN       ADDRESS ON FILE
CARLOS CRUZ GONZALEZ       ADDRESS ON FILE
CARLOS CRUZ OLMEDA         ADDRESS ON FILE
CARLOS CRUZ ORTEGA         ADDRESS ON FILE
CARLOS CRUZ RODRIGUEZ      ADDRESS ON FILE
CARLOS CRUZ VALENTIN       ADDRESS ON FILE




                                                                                              Page 1207 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1208 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                      Address1                                  Address2                       Address3   Address4   City           State   PostalCode   Country
CARLOS CRUZ VALENTIN               ADDRESS ON FILE
CARLOS D AGUAYO FALU               ADDRESS ON FILE
CARLOS D ALVAREZ ESTRADA           ADDRESS ON FILE
CARLOS D ANGUEIRA PENA             ADDRESS ON FILE
CARLOS D APONTE SAURI              ADDRESS ON FILE
CARLOS D APONTE SAURI              ADDRESS ON FILE
CARLOS D ARROYO DIAZ               ADDRESS ON FILE
CARLOS D ATILES SANTANA            ADDRESS ON FILE
CARLOS D AYALA COTTO               ADDRESS ON FILE
CARLOS D AYALA MARQUEZ             ADDRESS ON FILE
CARLOS D BAEZ GONZALEZ             ADDRESS ON FILE
CARLOS D BOLET ALVAREZ             ADDRESS ON FILE
CARLOS D CAMILO OFARRILL           ADDRESS ON FILE
CARLOS D CARDONA GARCIA            ADDRESS ON FILE
CARLOS D CRISPIN LOPEZ             ADDRESS ON FILE
CARLOS D DE JESUS CARABALLO        ADDRESS ON FILE
CARLOS D DELBREY FERNANDEZ         ADDRESS ON FILE
CARLOS D ESCALERA CALDERON         ADDRESS ON FILE
CARLOS D GARCIA RODRIGUEZ          ADDRESS ON FILE
CARLOS D GODREAU CARDONA           ADDRESS ON FILE
CARLOS D GONZALEZ DIAZ             ADDRESS ON FILE
CARLOS D GONZALEZ SOTO             ADDRESS ON FILE
CARLOS D GOTAY LOPEZ               ADDRESS ON FILE
CARLOS D HERNANDEZ DELGADO         ADDRESS ON FILE
CARLOS D MALDONADO COTTO           ADDRESS ON FILE
CARLOS D MEDINA ACOSTA             ADDRESS ON FILE
CARLOS D MIRABAL NAVEIRA           ADDRESS ON FILE
CARLOS D MOJICA RODRIGUEZ          ADDRESS ON FILE
CARLOS D MUNOZ RAMOS               ADDRESS ON FILE
CARLOS D ORTIZ MORALES             ADDRESS ON FILE
CARLOS D PERALES DAVILA            ADDRESS ON FILE
CARLOS D PEREZ MEDINA              ADDRESS ON FILE
CARLOS D PIRALLO RIVERA            ADDRESS ON FILE
CARLOS D RAMOS GONZALEZ            ADDRESS ON FILE
CARLOS D RIVAS QUINONEZ            ADDRESS ON FILE
CARLOS D RIVERA FUENTES            ADDRESS ON FILE
CARLOS D ROJAS DAVIS               ADDRESS ON FILE
CARLOS D ROZADA ALMEIDA            ADDRESS ON FILE
CARLOS D RUIZ ORTIZ                ADDRESS ON FILE
CARLOS D SANTIAGO GARCIA           ADDRESS ON FILE
CARLOS D TOLEDO RAMOS              ADDRESS ON FILE
CARLOS D TORRES MUNOZ              ADDRESS ON FILE
CARLOS D VAZQUEZ PHD               ADDRESS ON FILE
CARLOS D VEGA CARDONA              ADDRESS ON FILE
CARLOS D. AMY VAZQUEZ              ADDRESS ON FILE
CARLOS D. BONET QUILES             LCDO. DAVID O. CORDERO HERNÁNDEZ          PO BOX 1234                                          MOCA           PR      00676
CARLOS D. BONET QUILES             LCDO. MICHAEL RIVERA IRIZARRY             20 CALLE CRUZ                                        SAN GERMÁN     PR      00683‐4070
CARLOS D. BONET QUILES             LCDO. RAFAEL RAMÍREZ VALENTÍN             HC02 BOX 7252                                        HOMIGUEROS     PR      00660
CARLOS D. BONET QUILES             MARÍA D. CALDERÓN MARTÍNEZ; LCDA. MARÍA E PO BOX 192259                                        SAN JUAN       PR      00919‐2259
CARLOS D. RODRIGUEZ DEL VALLE      ADDRESS ON FILE
CARLOS DALMAU NADAL                ADDRESS ON FILE
CARLOS DAVID CARRASQUILLO MUJICA   ADDRESS ON FILE
CARLOS DAVID ORTIZ REYES           ADDRESS ON FILE
CARLOS DAVILA RAMON                ADDRESS ON FILE
CARLOS DAVILA RAMOS                ADDRESS ON FILE
CARLOS DE JESUS ARROYO             ADDRESS ON FILE
CARLOS DE JESUS CABRERA            ADDRESS ON FILE
CARLOS DE JESUS COLON              ADDRESS ON FILE
CARLOS DE JESUS CRUZ               ADDRESS ON FILE
CARLOS DE JESUS DIAZ               ADDRESS ON FILE




                                                                                             Page 1208 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1209 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                         Address2                              Address3   Address4   City         State   PostalCode   Country
CARLOS DE JESUS GONZALEZ                 ADDRESS ON FILE
CARLOS DE JESUS ORTIZ                    ADDRESS ON FILE
CARLOS DE JESUS RODRIGUEZ                ADDRESS ON FILE
CARLOS DE JESUS RODRIGUEZ FLORES         ADDRESS ON FILE
CARLOS DE JESUS SANTIAGO NUNEZ           ADDRESS ON FILE
CARLOS DE LEON Y DAMARIS FIGUEROA        ADDRESS ON FILE
CARLOS DEL VALLE CRUZ                    ADDRESS ON FILE
CARLOS DEL VALLE CRUZ                    ADDRESS ON FILE
CARLOS DELGADO NAZARIO                   ADDRESS ON FILE
CARLOS DELGADO Y CARMEN R TORRES         ADDRESS ON FILE
CARLOS DIAZ APONTE                       ADDRESS ON FILE
CARLOS DIAZ APONTE                       ADDRESS ON FILE
CARLOS DIAZ CABRERA                      ADDRESS ON FILE
CARLOS DIAZ CAMACHO                      ADDRESS ON FILE
CARLOS DIAZ DE JESUS                     ADDRESS ON FILE
CARLOS DIAZ ELECTRICAL & GENERAL CONTRAC URB BRISAS DE MONTE CASINO       558 CALLE SIBONEY                                           TOA ALTA     PR      00953
CARLOS DIAZ FEBUS                        ADDRESS ON FILE
CARLOS DIAZ GONZALEZ                     ADDRESS ON FILE
CARLOS DIAZ MU¥IZ                        ADDRESS ON FILE
CARLOS DIAZ PEREZ                        ADDRESS ON FILE
CARLOS DIAZ RIVERA                       ADDRESS ON FILE
CARLOS DIAZ RIVERA Y JOSE O AYALA PRATTS ADDRESS ON FILE
CARLOS DIAZ VARGAS                       ADDRESS ON FILE
CARLOS DIAZ VARGAS Y OTROS               LCDO LADISLAO VARGAS RODRIGUEZ   RR 01 BUZON 7160                                            MARICAO      PR      00606
CARLOS DIOU ROVIRA                       ADDRESS ON FILE
CARLOS DJOURBAJIAN                       ADDRESS ON FILE
CARLOS DONATE COLON                      ADDRESS ON FILE
CARLOS E ACEVEDO CORDERO                 ADDRESS ON FILE
CARLOS E ALMEYDA CORDERO                 ADDRESS ON FILE
CARLOS E APONTE COLON                    ADDRESS ON FILE
CARLOS E APONTE COTTO                    ADDRESS ON FILE
CARLOS E APONTE TORRES                   ADDRESS ON FILE
CARLOS E AROCHO SALTAR                   ADDRESS ON FILE
CARLOS E ASENCIO COLON                   ADDRESS ON FILE
CARLOS E BAEZ SANTIAGO                   ADDRESS ON FILE
CARLOS E BARRETO NIEVES                  ADDRESS ON FILE
CARLOS E BENITEZ LANDRAU                 ADDRESS ON FILE
CARLOS E BERTRAN NEVE                    ADDRESS ON FILE
CARLOS E BETANCOURT LLAMBIAS ARQUITECT URB EXT ROOSEVELT                  511 CALLE ARRIGOITIA                                        SAN JUAN     PR      00918‐2648
CARLOS E BETANCOURT POSADA               ADDRESS ON FILE
CARLOS E BONET VAZQUEZ                   ADDRESS ON FILE
CARLOS E BRIGNONI PONCE                  ADDRESS ON FILE
CARLOS E BRIGNONI PONCE                  ADDRESS ON FILE
CARLOS E CALVO SILVA                     ADDRESS ON FILE
CARLOS E CANUELAS ECHEVARRIA             ADDRESS ON FILE
CARLOS E CARDONA FERNANDEZ               ADDRESS ON FILE
CARLOS E CASTILLO MAS                    ADDRESS ON FILE
CARLOS E CASTRO GARCIA                   ADDRESS ON FILE
CARLOS E CEDENO RODRIGUEZ                ADDRESS ON FILE
CARLOS E CHEVERE ARROYO                  ADDRESS ON FILE
CARLOS E CINTRON SANTIAGO                ADDRESS ON FILE
CARLOS E COBIAN RODRIGUEZ                ADDRESS ON FILE
CARLOS E COLLAZO COLLAZO                 ADDRESS ON FILE
CARLOS E COLON GONZALEZ                  ADDRESS ON FILE
CARLOS E COLON SANCHEZ                   ADDRESS ON FILE
CARLOS E CRUZ GUZMAN                     ADDRESS ON FILE
CARLOS E CUEVAS TORRES                   ADDRESS ON FILE
CARLOS E DE JESUS VIERA                  ADDRESS ON FILE
CARLOS E DE LEON RODRIGUEZ               ADDRESS ON FILE
CARLOS E DIAZ CRUZ                       ADDRESS ON FILE




                                                                                                 Page 1209 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1210 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                          Address1                  Address2                                      Address3   Address4   City         State   PostalCode   Country
CARLOS E ECHEVARRIA ORTIZ              ADDRESS ON FILE
CARLOS E EMMANUELLI VAZQUEZ            ADDRESS ON FILE
CARLOS E EMMANUELLI VAZQUEZ            ADDRESS ON FILE
CARLOS E FELICIANO AYALA               ADDRESS ON FILE
CARLOS E FIGUEROA RIVERA               ADDRESS ON FILE
CARLOS E FLORES GONZALEZ               ADDRESS ON FILE
CARLOS E FOLCH RAMIREZ                 ADDRESS ON FILE
CARLOS E FOURNIER REBOLLO              ADDRESS ON FILE
CARLOS E FRACESCHI PADILLA             ADDRESS ON FILE
CARLOS E GALAN KERCADO                 ADDRESS ON FILE
CARLOS E GARCIA RIVERA                 ADDRESS ON FILE
CARLOS E GARRIDO Y MARIA GONZALEZ      ADDRESS ON FILE
CARLOS E GAUTHIER RIVERA               ADDRESS ON FILE
CARLOS E GAUTIER LLOVERAS              ADDRESS ON FILE
CARLOS E GAUTIER LLOVERAS              PO BOX 19357                                                                                  SAN JUAN     PR      00910‐1357
CARLOS E GAZTAMBIDE Y ASSOC INC        BANCO POPULAR CENTER      208 AVE PONCE DE LEON STE 1515                                      SAN JUAN     PR      00918‐1006
CARLOS E GONZALEZ FOSTER               ADDRESS ON FILE
CARLOS E GONZALEZ FUENTES              ADDRESS ON FILE
CARLOS E GUZMAN RIVERA                 ADDRESS ON FILE
CARLOS E HERNANDEZ BERRIOS             ADDRESS ON FILE
CARLOS E HERNANDEZ PONCE               ADDRESS ON FILE
CARLOS E HERNANDEZ TRIDAS              ADDRESS ON FILE
CARLOS E HERNANDEZ TRIDAS              ADDRESS ON FILE
CARLOS E HUERTAS FIGUEROA              ADDRESS ON FILE
CARLOS E HUERTAS FIGUEROA              ADDRESS ON FILE
CARLOS E II A CROSAS SAMPAYO           ADDRESS ON FILE
CARLOS E IRIZARRY FIQUEROA             ADDRESS ON FILE
CARLOS E IRIZARRY RIVERA               ADDRESS ON FILE
CARLOS E JUSTINIANO                    ADDRESS ON FILE
CARLOS E KELLY CASTRO                  ADDRESS ON FILE
CARLOS E LABAULT FIOL                  ADDRESS ON FILE
CARLOS E LABAULT FIOL                  ADDRESS ON FILE
CARLOS E LARRACUENTE GIERBOLINI        ADDRESS ON FILE
CARLOS E LARRACUENTE GIERBOLINI        ADDRESS ON FILE
CARLOS E LLAURADOR                     ADDRESS ON FILE
CARLOS E LOPEZ JIMENEZ                 ADDRESS ON FILE
CARLOS E LOPEZ LOPEZ                   ADDRESS ON FILE
CARLOS E LOPEZ MUNOZ                   ADDRESS ON FILE
CARLOS E MALDONADO RIVERA              ADDRESS ON FILE
CARLOS E MARRERO ORTIZ                 ADDRESS ON FILE
CARLOS E MARTINEZ MONTAS               ADDRESS ON FILE
CARLOS E MARTINEZ MUNOZ                ADDRESS ON FILE
CARLOS E MARTINEZ VAZQUEZ              ADDRESS ON FILE
CARLOS E MATOS ORTIZ                   ADDRESS ON FILE
CARLOS E MATOS RAMOS                   ADDRESS ON FILE
CARLOS E MCCONNIE LOVELAND             ADDRESS ON FILE
CARLOS E MERCADO DE LEON               ADDRESS ON FILE
CARLOS E MILLAN AYALA                  ADDRESS ON FILE
CARLOS E MOLINA MENDEZ                 ADDRESS ON FILE
CARLOS E MONTANEZ RIVERA               ADDRESS ON FILE
CARLOS E MORALES ARROYO                ADDRESS ON FILE
CARLOS E MORALES TIRADO DBA FINCA LA   CALIFORNIA                HC 01 BOX 2318                                                      MAUNABO      PR      00707
CARLOS E MORGANTI YULFO                ADDRESS ON FILE
CARLOS E MUNOZ RIVERA                  ADDRESS ON FILE
CARLOS E NUNEZ PEREZ                   ADDRESS ON FILE
CARLOS E OBEN ABREU                    ADDRESS ON FILE
CARLOS E OCHO ROCAFORT                 ADDRESS ON FILE
CARLOS E ORTIZ COLLADO                 ADDRESS ON FILE
CARLOS E ORTIZ COLON                   ADDRESS ON FILE
CARLOS E ORTIZ CORDERO                 ADDRESS ON FILE




                                                                                             Page 1210 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1211 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                              Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
CARLOS E ORTIZ ORTIZ                       ADDRESS ON FILE
CARLOS E ORTIZ ROSARIO                     ADDRESS ON FILE
CARLOS E ORTIZ VAZQUEZ                     ADDRESS ON FILE
CARLOS E ORTIZ VEGA                        ADDRESS ON FILE
CARLOS E OTERO VAZQUEZ                     ADDRESS ON FILE
CARLOS E PACHECO IRIZARRY                  ADDRESS ON FILE
CARLOS E PACHECO RIVERA/ STARCO ELECTRIC   URB LOS ADOQUINES         9 CALLE SOL                                              SAN JUAN     PR      00926‐7352
CARLOS E PADILLA RIVERA                    ADDRESS ON FILE
CARLOS E PENA TORO                         ADDRESS ON FILE
CARLOS E PEREZ CORTES                      ADDRESS ON FILE
CARLOS E PICART CLAVELL                    ADDRESS ON FILE
CARLOS E PICORNELL TORRES                  ADDRESS ON FILE
CARLOS E PICORNELL TORRES                  ADDRESS ON FILE
CARLOS E POLO MARTINEZ/ GVELOP LLC         URB TORRIMAR              6‐24 CALLE OVIEDO                                        GUAYNABO     PR      00966
CARLOS E POWER PIETRANTONI                 ADDRESS ON FILE
CARLOS E QUINONES LOPEZ                    ADDRESS ON FILE
CARLOS E QUINONEZ LUIGGI                   ADDRESS ON FILE
CARLOS E RAMOS                             ADDRESS ON FILE
CARLOS E RAMOS                             ADDRESS ON FILE
CARLOS E RAMOS SANCHEZ                     ADDRESS ON FILE
CARLOS E RAMOS SCHARRON                    ADDRESS ON FILE
CARLOS E REBOLLO MARRERO                   ADDRESS ON FILE
CARLOS E RENTAS GIUSTI                     ADDRESS ON FILE
CARLOS E REYES PEREZ                       ADDRESS ON FILE
CARLOS E REYES TORRES                      ADDRESS ON FILE
CARLOS E RIOS MONTANEZ                     ADDRESS ON FILE
CARLOS E RIVERA BARZANA                    ADDRESS ON FILE
CARLOS E RIVERA CONCEPCION                 ADDRESS ON FILE
CARLOS E RIVERA CONCEPCION                 ADDRESS ON FILE
CARLOS E RIVERA CRUZ                       ADDRESS ON FILE
CARLOS E RIVERA ESCOBALES                  ADDRESS ON FILE
CARLOS E RIVERA GIERBOLINI                 ADDRESS ON FILE
CARLOS E RIVERA PEREZ                      ADDRESS ON FILE
CARLOS E RIVERA REYES                      ADDRESS ON FILE
CARLOS E RIVERA RIVERA                     ADDRESS ON FILE
CARLOS E RIVERA RUIZ                       ADDRESS ON FILE
CARLOS E RIVERA SANCHEZ                    ADDRESS ON FILE
CARLOS E RIVERA SANCHEZ                    ADDRESS ON FILE
CARLOS E RIVERA VIRELLA                    ADDRESS ON FILE
CARLOS E RODRIGUEZ                         ADDRESS ON FILE
CARLOS E RODRIGUEZ CONCEPCION              ADDRESS ON FILE
CARLOS E RODRIGUEZ PAURIEL                 ADDRESS ON FILE
CARLOS E RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
CARLOS E ROMAN GONZALEZ                    ADDRESS ON FILE
CARLOS E ROSARIO                           ADDRESS ON FILE
CARLOS E SANCHEZ PINEIRO                   ADDRESS ON FILE
CARLOS E SANTANA PEREZ                     ADDRESS ON FILE
CARLOS E SANTELL LEBRON                    ADDRESS ON FILE
CARLOS E SENERIZ LONGO                     ADDRESS ON FILE
CARLOS E SERRANO GARCIA                    ADDRESS ON FILE
CARLOS E SERRANO WATERS                    ADDRESS ON FILE
CARLOS E SILVERIO ORTA                     ADDRESS ON FILE
CARLOS E SIMONETTY CARRASCO                ADDRESS ON FILE
CARLOS E SOLTERO RIGAU                     ADDRESS ON FILE
CARLOS E SOSA VILLEGAS                     ADDRESS ON FILE
CARLOS E SOTO FELICIANO                    ADDRESS ON FILE
CARLOS E SOTO GONZALEZ                     ADDRESS ON FILE
CARLOS E SOTO IRIZARRY                     ADDRESS ON FILE
CARLOS E SOTO OCASIO A/C ROSA H OCASIO     ADDRESS ON FILE
CARLOS E TORO VIZCARRONDO                  ADDRESS ON FILE




                                                                                         Page 1211 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1212 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                              Address1                           Address2                           Address3          Address4   City       State   PostalCode   Country
CARLOS E TORRES CANDELARIO                 ADDRESS ON FILE
CARLOS E TORRES RUIZ                       ADDRESS ON FILE
CARLOS E URRUTIA ZEPEDA                    ADDRESS ON FILE
CARLOS E URRUTIA ZEPEDA                    ADDRESS ON FILE
CARLOS E VARGAS CASTILLO                   ADDRESS ON FILE
CARLOS E VAZQUEZ PESQUERA                  ADDRESS ON FILE
CARLOS E VAZQUEZ RODRIGUEZ                 ADDRESS ON FILE
CARLOS E VELEZ TORRES                      ADDRESS ON FILE
CARLOS E VIVES HERNANDEZ                   ADDRESS ON FILE
CARLOS E. ALVARADO RIVERA                  ADDRESS ON FILE
CARLOS E. CABRE                            ADDRESS ON FILE
CARLOS E. FALCON SANCHEZ                   ADDRESS ON FILE
CARLOS E. LASANTA RODRIGUEZ                ADDRESS ON FILE
CARLOS E. LUGO SEPULVEDA                   ADDRESS ON FILE
CARLOS E. NARAVAEZ ALEJANDRO               LIC. CARMEN A. DELGADO SIFUENTES
CARLOS E. PALACIOS RIVERA                  RUBÉN GUZMÁN TORRES                URB. JOSÉ DELGADO                  U‐8 AVE. TROCHE              CAGUAS     PR      00725
CARLOS E. ROSADO MUNOZ                     ADDRESS ON FILE
CARLOS E. SERRANO HERNANDEZ                ADDRESS ON FILE
CARLOS E. SERRANO TERRON                   ADDRESS ON FILE
CARLOS E. VAZQUEZ RODRIGUEZ                ADDRESS ON FILE
CARLOS ELIAS VELAZQUEZ                     ADDRESS ON FILE
CARLOS EMMANUELLI MARRERO                  ADDRESS ON FILE
CARLOS ENCARNACION BONILLA                 ADDRESS ON FILE
CARLOS ENCHAUTEGUI ENCHAUTEGUI             ADDRESS ON FILE
CARLOS ENCHAUTEGUI RIVERA                  ADDRESS ON FILE
CARLOS ENRIQUE MALDONADO RIVERA            ADDRESS ON FILE
CARLOS ENRIQUE SANJURJO ROLDAN             ADDRESS ON FILE
CARLOS ENRIQUE TORRES                      ADDRESS ON FILE
CARLOS ESCRIBA                             ADDRESS ON FILE
CARLOS ESPADA MIRANDA                      ADDRESS ON FILE
CARLOS ESPINOSA GONZALEZ                   ADDRESS ON FILE
CARLOS ESTEBAN CANA RIVERA                 ADDRESS ON FILE
CARLOS ESTEBAN FONSECA RIVERA              ADDRESS ON FILE
CARLOS ESTERA ROZAS                        ADDRESS ON FILE
CARLOS EUGENIO CHARDON LOPEZ               ADDRESS ON FILE
CARLOS F AMY BRUNET                        ADDRESS ON FILE
CARLOS F AVENANCIO LEON                    ADDRESS ON FILE
CARLOS F AYALA ESTEVES                     ADDRESS ON FILE
CARLOS F BENITEZ GERARDINO                 ADDRESS ON FILE
CARLOS F BENITEZ RIOS                      ADDRESS ON FILE
CARLOS F BERRIOS PEREZ                     ADDRESS ON FILE
CARLOS F CASIANO TORRES                    ADDRESS ON FILE
CARLOS F CASTILLO CABRERA                  ADDRESS ON FILE
CARLOS F COLON CORTES                      ADDRESS ON FILE
CARLOS F COLON PAGAN                       ADDRESS ON FILE
CARLOS F COLON RAMIREZ                     ADDRESS ON FILE
CARLOS F DEL RIOS GONZALEZ                 ADDRESS ON FILE
CARLOS F FERNANDEZ CASTILLO                ADDRESS ON FILE
CARLOS F GARCES MORALES                    ADDRESS ON FILE
CARLOS F GARCIA GUBERN                     ADDRESS ON FILE
CARLOS F GONZALEZ MENDEZ                   ADDRESS ON FILE
CARLOS F MARTINEZ JIMENEZ                  ADDRESS ON FILE
CARLOS F MONTALVO MALDONADO                ADDRESS ON FILE
CARLOS F MUNOZ RUIZ                        ADDRESS ON FILE
CARLOS F OLIVER VAZQUEZ                    ADDRESS ON FILE
CARLOS F OTERO/CELESTE OTERO0/IRIS OTERO   ADDRESS ON FILE
CARLOS F PADIN PEREZ                       ADDRESS ON FILE
CARLOS F PEREZ MONROUZEAU                  ADDRESS ON FILE
CARLOS F PORTUGUES Y RUTH L RODRIGUEZ      ADDRESS ON FILE
CARLOS F REYES RIVERA                      ADDRESS ON FILE




                                                                                                  Page 1212 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1213 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                           Address1                        Address2                                  Address3             Address4               City          State   PostalCode   Country
CARLOS F RIVERA BURGOS/ KARLAN GROUP CO URB PRADERAS                    AM 35 CALLE 19                                                                        TOA BAJA      PR      00949
CARLOS F RIVERA PAGAN/ KARLAN GROUP     CORP                            URB VEGA SERENA                           129 CALLE BEATRICE                          VEGA BAJA     PR      00693
CARLOS F RIVERA RIVERA                  ADDRESS ON FILE
CARLOS F RODRIGUEZ ALAMO                ADDRESS ON FILE
CARLOS F RODRIGUEZ MERCADO              ADDRESS ON FILE
CARLOS F RODRIGUEZ TORRES               ADDRESS ON FILE
CARLOS F ROSADO MARTINEZ                ADDRESS ON FILE
CARLOS F SANTIAGO LABOY                 ADDRESS ON FILE
CARLOS F SANTOS VIAS                    ADDRESS ON FILE
CARLOS F SEDA MUNIZ                     ADDRESS ON FILE
CARLOS F TORO RIVERA                    ADDRESS ON FILE
CARLOS F VAZQUEZ CEDENO                 ADDRESS ON FILE
CARLOS F VELEZ CRUZ                     ADDRESS ON FILE
CARLOS F. BENITEZ RIOS                  ADDRESS ON FILE
CARLOS F. CASALDUC                      ADDRESS ON FILE
CARLOS F. PADIN PEREZ                   ADDRESS ON FILE
CARLOS F. VERA MUNOZ                    ADDRESS ON FILE
CARLOS F.DE LEON CALDELARIO             ADDRESS ON FILE
CARLOS FABRE RUIZ                       ADDRESS ON FILE
CARLOS FEBLES BATISTA                   ADDRESS ON FILE
CARLOS FELICIANO CRUZ                   ADDRESS ON FILE
CARLOS FELICIANO MELENDEZ               ADDRESS ON FILE
CARLOS FELICIANO RUIZ                   ADDRESS ON FILE
CARLOS FERNANDEZ BUIL                   ADDRESS ON FILE
CARLOS FERNANDEZ NADAL                  ADDRESS ON FILE
CARLOS FIGARO DESHNEY                   ADDRESS ON FILE
CARLOS FIGUEROA                         ADDRESS ON FILE
CARLOS FIGUEROA ALAMO                   ADDRESS ON FILE
CARLOS FIGUEROA COLLAZO                 ADDRESS ON FILE
CARLOS FIGUEROA MELENDEZ                ADDRESS ON FILE
CARLOS FIGUEROA RIVERA                  ADDRESS ON FILE
CARLOS FIGUEROA RODRIGUEZ               ADDRESS ON FILE
CARLOS FIGUEROA SANTIAGO                ADDRESS ON FILE
CARLOS FLORES ALVARADO                  ADDRESS ON FILE
CARLOS FLORES BAEZ                      ADDRESS ON FILE
CARLOS FLORES CE & L FIRE EXTINGUISHERS PO BOX 3092                                                                                                           BAYAMON       PR      00960
CARLOS FLORES GONZALEZ                  LCDO. ELIS O. POMALES POMALES   AVE. JOSE VILLARES # 21                                                               CAGUAS        PR      00725
CARLOS FLORES PEREZ                     ADDRESS ON FILE
CARLOS FLORES SANTIAGO                  ALBERTO RIVERA RAMOS            Condominio Plaza del Mar                  Apt. 305             3001 Ave. Isla Verde   Carolina      PR      00979
CARLOS FLORES VEGA                      ADDRESS ON FILE
CARLOS FONTANEZ TORRES                  ADDRESS ON FILE
CARLOS FRANCESCHI LUGO                  ADDRESS ON FILE
CARLOS FRANCISCO DE LEON CRUZ           ADDRESS ON FILE
CARLOS FREIRE BORGES                    ADDRESS ON FILE
CARLOS FRONTERA SANTANA                 ADDRESS ON FILE
CARLOS FUENTES FAURA                    ADDRESS ON FILE
CARLOS FUENTES MARTINEZ                 ADDRESS ON FILE
CARLOS G AGUILA DUARTE                  ADDRESS ON FILE
CARLOS G ALICEA JIMENEZ                 ADDRESS ON FILE
CARLOS G APONTE FLORES                  ADDRESS ON FILE
CARLOS G APONTE VEGA                    ADDRESS ON FILE
CARLOS G BONILLA FUENTES                ADDRESS ON FILE
CARLOS G DIAZ MONGE                     ADDRESS ON FILE
CARLOS G ESQUILIN PEREZ                 ADDRESS ON FILE
CARLOS G FIGUEROA GONZALEZ              ADDRESS ON FILE
CARLOS G GOMEZ RIVERA                   ADDRESS ON FILE
CARLOS G GONZALEZ RODRIGUEZ             ADDRESS ON FILE
CARLOS G IRIZARRY AGOSTINI              ADDRESS ON FILE
CARLOS G LOPEZ MELENDEZ /LENNYS MELENDEZADDRESS ON FILE
CARLOS G MALDONADO FEBLES               ADDRESS ON FILE




                                                                                                   Page 1213 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1214 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                           Address1                          Address2                     Address3   Address4   City        State   PostalCode   Country
CARLOS G MALDONADO VELAZQUEZ            ADDRESS ON FILE
CARLOS G MARESTEIN ORNELAS              ADDRESS ON FILE
CARLOS G MARTINEZ VALENTIN              ADDRESS ON FILE
CARLOS G MIRANDA RIOS                   ADDRESS ON FILE
CARLOS G MIRANDA RIOS                   ADDRESS ON FILE
CARLOS G NUNEZ FIGUEROA                 ADDRESS ON FILE
CARLOS G OTERO IRIZARRY                 ADDRESS ON FILE
CARLOS G RIVERA RIVERA                  ADDRESS ON FILE
CARLOS G RODRIGUEZ FLORES               ADDRESS ON FILE
CARLOS G RODRIGUEZ ORTIZ                ADDRESS ON FILE
CARLOS G ROHENA SANTIAGO                ADDRESS ON FILE
CARLOS G ROSA ROSA                      ADDRESS ON FILE
CARLOS G TORRES FEBUS                   ADDRESS ON FILE
CARLOS G TORRES HERNANDEZ               ADDRESS ON FILE
CARLOS G VEGA SUAREZ                    ADDRESS ON FILE
CARLOS G VELEZ CINTRON                  ADDRESS ON FILE
CARLOS G YAMBO MELENDEZ                 ADDRESS ON FILE
CARLOS G. GRANA MORALES                 ADDRESS ON FILE
CARLOS G. SALGADO SCHWARZ               ADDRESS ON FILE
CARLOS G. VAZQUEZ ORTIZ                 ADDRESS ON FILE
CARLOS G. VAZQUEZ ORTIZ                 LIC. WILLIAM MAYSONET RODRIGUEZ   PO BOX 1734                                        BAYAMON     PR      00960‐1734
CARLOS GABRIEL VILLODAS RAMOS           ADDRESS ON FILE
CARLOS GARCIA / EQUIPO LANCHEROS CATANO ADDRESS ON FILE
CARLOS GARCIA FREIRE                    ADDRESS ON FILE
CARLOS GARCIA GONZALEZ                  ADDRESS ON FILE
CARLOS GARCIA HERNANDEZ                 ADDRESS ON FILE
CARLOS GARCIA MARTINEZ                  ADDRESS ON FILE
CARLOS GARCIA Y VANESSA ALBERTAZZI      ADDRESS ON FILE
CARLOS GAUTIER                          ADDRESS ON FILE
CARLOS GAZTAMBIDE/ ECOLOGIC ALL         475 CAMINO DE LA VEGA                                                                DORADO      PR      00646
CARLOS GEIGEL BUNKER                    ADDRESS ON FILE
CARLOS GEIGEL BUNKER                    ADDRESS ON FILE
CARLOS GERENA PACHECO                   ADDRESS ON FILE
CARLOS GERENA, CARLOS                   ADDRESS ON FILE
CARLOS GERMAN CORTES RIVEROS            ADDRESS ON FILE
CARLOS GEROME SANCHEZ DIAZ              ADDRESS ON FILE
CARLOS GIERBOLINI COLON                 ADDRESS ON FILE
CARLOS GIMENEZ BIANCO                   ADDRESS ON FILE
CARLOS GINES PAGAN                      ADDRESS ON FILE
CARLOS GIOVANY NIEVES FIGUEROA          ADDRESS ON FILE
CARLOS GOMEZ MARIAL                     ADDRESS ON FILE
CARLOS GOMEZ MARIAL                     ADDRESS ON FILE
CARLOS GONZALEZ ALMESTICA               ADDRESS ON FILE
CARLOS GONZALEZ BAEZ                    ADDRESS ON FILE
CARLOS GONZALEZ BERDECIA                ADDRESS ON FILE
CARLOS GONZALEZ DAVILA                  ADDRESS ON FILE
CARLOS GONZALEZ DBA TRANSP ESC GONZALEZ PO BOX 1485                                                                          JAYUYA      PR      00664
CARLOS GONZALEZ FANTAUZZY               ADDRESS ON FILE
CARLOS GONZALEZ GONZALEZ                ADDRESS ON FILE
CARLOS GONZALEZ JIMENEZ                 ADDRESS ON FILE
CARLOS GONZÁLEZ LANZA                   ADDRESS ON FILE
CARLOS GONZALEZ LUNA                    ADDRESS ON FILE
CARLOS GONZALEZ LUNAS                   ADDRESS ON FILE
CARLOS GONZALEZ ORIOL                   ADDRESS ON FILE
CARLOS GONZALEZ REYMUNDI                ADDRESS ON FILE
CARLOS GONZALEZ RIVERA                  ADDRESS ON FILE
CARLOS GONZALEZ RODRIGUEZ               ADDRESS ON FILE
CARLOS GONZÁLEZ RUIZ                    ADDRESS ON FILE
CARLOS GONZALEZ SANTIAGO                ADDRESS ON FILE




                                                                                        Page 1214 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1215 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                  Address2                                    Address3              Address4        City         State   PostalCode   Country
                                                                                                              SECTOR LAS CUCHARAS
CARLOS GONZALEZ V AC                    SR. CARLOS GONZÁLEZ       INSTITUCIÓN Ponce PRINCIPAL FASE 5 Q‐ROJA‐123793                  Ponce BY PASS   PONCE        PR      00728‐1504
CARLOS GROVAS BADRENA                   ADDRESS ON FILE
CARLOS GUADALUPE DBA VIVERO DON TEDDY   URB CAMINO DEL SUR        371 GORRION                                                                       PONCE        PR      00716
CARLOS GUSTAVO ÁGUEDA JIMÉNEZ           VICTOR RAMOS RODRIGUEZ    PO BOX 9465                                PLAZA CAROLINA                         CAROLINA     PR      00988‐9465
CARLOS GUSTAVO ARRUA                    ADDRESS ON FILE
CARLOS H ALVARADO AVILES                ADDRESS ON FILE
CARLOS H ALVAREZ ORTIZ                  ADDRESS ON FILE
CARLOS H CAMACHO BARBOSA                ADDRESS ON FILE
CARLOS H CARBINI                        ADDRESS ON FILE
CARLOS H CARLO FAJARDO                  ADDRESS ON FILE
CARLOS H CUEVAS APONTE                  ADDRESS ON FILE
CARLOS H DIAZ RIVERA                    ADDRESS ON FILE
CARLOS H FELICIANO                      ADDRESS ON FILE
CARLOS H FLORES GARCED                  ADDRESS ON FILE
CARLOS H GARCIA GARCIA                  ADDRESS ON FILE
CARLOS H GOMEZ GUZMAN                   ADDRESS ON FILE
CARLOS H JENARO DIAZ                    ADDRESS ON FILE
CARLOS H PACHECO MERCADO                ADDRESS ON FILE
CARLOS H PADILLA                        ADDRESS ON FILE
CARLOS H RAMOS BERRIOS                  ADDRESS ON FILE
CARLOS H RIVERA URRUTIA                 ADDRESS ON FILE
CARLOS H RODRIGUEZ RIVERA               ADDRESS ON FILE
CARLOS H ROLDAN MORALES                 ADDRESS ON FILE
CARLOS H SOTERO MARTINEZ                ADDRESS ON FILE
CARLOS H SOTERO RODRIGUEZ               ADDRESS ON FILE
CARLOS H SOTO COLLAZO                   ADDRESS ON FILE
CARLOS H VAZQUEZ DE JESUS               ADDRESS ON FILE
CARLOS H VAZQUEZ LEBRON                 ADDRESS ON FILE
CARLOS H VAZQUEZ PEREZ                  ADDRESS ON FILE
CARLOS H VEGA MEDINA                    ADDRESS ON FILE
CARLOS HEREDIA MORALES                  ADDRESS ON FILE
CARLOS HERNANDEZ                        ADDRESS ON FILE
CARLOS HERNANDEZ ALVARADO               ADDRESS ON FILE
CARLOS HERNANDEZ BACO                   ADDRESS ON FILE
CARLOS HERNANDEZ CRUZ                   ADDRESS ON FILE
CARLOS HERNANDEZ DIAZ                   ADDRESS ON FILE
CARLOS HERNANDEZ GONZALEZ               ADDRESS ON FILE
CARLOS HERNANDEZ HERNANDEZ              ADDRESS ON FILE
CARLOS HERNANDEZ MENDEZ                 ADDRESS ON FILE
CARLOS HERNANDEZ MINGUELA               ADDRESS ON FILE
CARLOS HERNANDEZ RAMIREZ                ADDRESS ON FILE
CARLOS HERNANDEZ RODRIGUEZ              ADDRESS ON FILE
CARLOS HERNANDEZ SOTO                   ADDRESS ON FILE
CARLOS HERNANDEZ TORRES                 ADDRESS ON FILE
CARLOS HERNANDEZ TORRES                 ADDRESS ON FILE
CARLOS HERNANDEZ VELAZQUEZ              ADDRESS ON FILE
CARLOS HERNANDEZ VIRUET                 ADDRESS ON FILE
CARLOS HERNANDEZ Y EDNA MARTINEZ        ADDRESS ON FILE
CARLOS HERNANEZ                         ADDRESS ON FILE
CARLOS HERRARTE HIDALGO                 ADDRESS ON FILE
CARLOS HUERTAS, JUAN C                  ADDRESS ON FILE
CARLOS HURTADO INFANTE                  ADDRESS ON FILE
CARLOS I ALVARADO ORTIZ                 ADDRESS ON FILE
CARLOS I ARROCHO SANCHEZ                ADDRESS ON FILE
CARLOS I ARROYO GUZMAN                  ADDRESS ON FILE
CARLOS I ARROYO GUZMAN                  ADDRESS ON FILE
CARLOS I ASENCIO TERRON                 ADDRESS ON FILE
CARLOS I BURGOS PINERO                  ADDRESS ON FILE
CARLOS I CABAN POLANCO                  ADDRESS ON FILE




                                                                                              Page 1215 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1216 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS I CAMUY VEGA                ADDRESS ON FILE
CARLOS I CHAPERO PASTORIZA         ADDRESS ON FILE
CARLOS I CHAPERO PASTORIZA         ADDRESS ON FILE
CARLOS I CHAPERO PASTORIZA         ADDRESS ON FILE
CARLOS I CINTRON RIVERA            ADDRESS ON FILE
CARLOS I CLAUDIO RUIZ              ADDRESS ON FILE
CARLOS I CRUZ MEDINA               ADDRESS ON FILE
CARLOS I CUEVAS SERRANO            ADDRESS ON FILE
CARLOS I DIAZ/ WANDA I DEL VALLE   ADDRESS ON FILE
CARLOS I FARRARO PLAUD             ADDRESS ON FILE
CARLOS I FELICIANO RIVERA          ADDRESS ON FILE
CARLOS I FIGUEROA RODRIGUEZ        ADDRESS ON FILE
CARLOS I FORT RIVERA               ADDRESS ON FILE
CARLOS I GARCIA DAVIS              ADDRESS ON FILE
CARLOS I GOMEZ OCASIO              ADDRESS ON FILE
CARLOS I GONZALEZ JUARBE           ADDRESS ON FILE
CARLOS I GONZALEZ JUARBE           ADDRESS ON FILE
CARLOS I GONZALEZ VARGAS           ADDRESS ON FILE
CARLOS I GONZALEZ ZUNIGA           ADDRESS ON FILE
CARLOS I HERNANDEZ RIVERA          ADDRESS ON FILE
CARLOS I IGARTUA VERAY             ADDRESS ON FILE
CARLOS I JERNANDEZ VILLARUBIA      ADDRESS ON FILE
CARLOS I LEON                      ADDRESS ON FILE
CARLOS I LLORENS MARIN             ADDRESS ON FILE
CARLOS I LUGO MARTINEZ             ADDRESS ON FILE
CARLOS I LUGO TIRADO               ADDRESS ON FILE
CARLOS I MALDONADO ACEVEDO         ADDRESS ON FILE
CARLOS I MALDONADO GARCIA          ADDRESS ON FILE
CARLOS I MALDONADO SANTOS          ADDRESS ON FILE
CARLOS I MARQUEZ CEDENO            ADDRESS ON FILE
CARLOS I MARRERO ROSARIO           ADDRESS ON FILE
CARLOS I MARTINEZ LEON             ADDRESS ON FILE
CARLOS I MORALES VARGAS            ADDRESS ON FILE
CARLOS I MULER MELENDEZ            ADDRESS ON FILE
CARLOS I OLIVO ACEVEDO             ADDRESS ON FILE
CARLOS I ORTIZ ALICEA              ADDRESS ON FILE
CARLOS I ORTIZ BERRIOS             ADDRESS ON FILE
CARLOS I ORTIZ PACHOT              ADDRESS ON FILE
CARLOS I ORTIZ SANCHO              ADDRESS ON FILE
CARLOS I ORTIZ VILLODAS            ADDRESS ON FILE
CARLOS I PENA SERRANO              ADDRESS ON FILE
CARLOS I PEREZ PEREZ               ADDRESS ON FILE
CARLOS I RIVERA LOPEZ              ADDRESS ON FILE
CARLOS I RIVERA RIVERA             ADDRESS ON FILE
CARLOS I RUIZ ADORNO               ADDRESS ON FILE
CARLOS I RUIZ SERRANO              ADDRESS ON FILE
CARLOS I SANCHEZ CRUZ              ADDRESS ON FILE
CARLOS I SANTOS DIAZ               ADDRESS ON FILE
CARLOS I SOLLA MARTINEZ            ADDRESS ON FILE
CARLOS I TIRADO ASENCIO            ADDRESS ON FILE
CARLOS I TORRES DOMINICH           ADDRESS ON FILE
CARLOS I TORRES DOMINICH           ADDRESS ON FILE
CARLOS I TORRES QUILES             ADDRESS ON FILE
CARLOS I VAZQUEZ RODRIGUEZ A/C     ADDRESS ON FILE
CARLOS I VEGA CIDRAZ               ADDRESS ON FILE
CARLOS I VELEZ CLASS               ADDRESS ON FILE
CARLOS I VILLAHERMOSA RIVERA       ADDRESS ON FILE
Carlos I. De Jesus Lopez           ADDRESS ON FILE
CARLOS I. DE JESUS SANTOS          ADDRESS ON FILE
CARLOS I. LLORENS MARIN            ADDRESS ON FILE




                                                                               Page 1216 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1217 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                             Address1                  Address2                                Address3   Address4   City      State   PostalCode   Country
CARLOS I.RUIZ SANCHEZ                     ADDRESS ON FILE
CARLOS IBARRA Y BLANCA I DELGADO          ADDRESS ON FILE
CARLOS IBARRONDO GONZALEZ                 ADDRESS ON FILE
CARLOS IRIZARRY MARQUES                   ADDRESS ON FILE
CARLOS IRIZARRY RODRIGUEZ                 ADDRESS ON FILE
CARLOS IRRIZARRY SEDA                     ADDRESS ON FILE
CARLOS IVAN ALCARAZ                       ADDRESS ON FILE
CARLOS IVAN CARABALLO RODRIGUEZ           ADDRESS ON FILE
CARLOS IVAN RODRIGUEZ RIVERA              ADDRESS ON FILE
CARLOS IVAN RUIZ SANCHEZ                  ADDRESS ON FILE
CARLOS J ACEVEDO ALVAREZ                  ADDRESS ON FILE
CARLOS J ACOSTA MARTINEZ                  ADDRESS ON FILE
CARLOS J AGOSTO VIERA                     ADDRESS ON FILE
CARLOS J AJA RIVERA                       ADDRESS ON FILE
CARLOS J ALEJANDRO FEBRES                 ADDRESS ON FILE
CARLOS J ALMODOVAR GALARZA                ADDRESS ON FILE
CARLOS J ALVARADO FELIBERTY               ADDRESS ON FILE
CARLOS J ALVARADO VELAZQUEZ               ADDRESS ON FILE
CARLOS J ARIAS BONETA                     ADDRESS ON FILE
CARLOS J ARROYO FRANCESCHINI              ADDRESS ON FILE
CARLOS J ARROYO RIVERA                    ADDRESS ON FILE
CARLOS J AYALA CLEMENTE                   ADDRESS ON FILE
CARLOS J AYALA CLEMENTE                   ADDRESS ON FILE
CARLOS J AYALA SOTO                       ADDRESS ON FILE
CARLOS J BAEZ RIVERA                      ADDRESS ON FILE
CARLOS J BELTRAN                          ADDRESS ON FILE
CARLOS J BELTRAN RIOS                     ADDRESS ON FILE
CARLOS J BELTRAN/ MFS CONSULTING          ADDRESS ON FILE
CARLOS J BERRIOS RIVERA                   ADDRESS ON FILE
CARLOS J BOBONIS COLORADO DBA DESING IN   PUERTO RICO               94 CALLE COMERIO APT F                                        PONCE     PR      00730
CARLOS J BONILLA GONZALEZ                 ADDRESS ON FILE
CARLOS J BONILLA PEREZ                    ADDRESS ON FILE
CARLOS J BORIA GUANILL                    ADDRESS ON FILE
CARLOS J BULTRON ESCALERA                 ADDRESS ON FILE
CARLOS J BULTRON LACOT                    ADDRESS ON FILE
CARLOS J BUSQUETS ZALDUONDO               ADDRESS ON FILE
CARLOS J BUSQUETS ZALDUONDO               ADDRESS ON FILE
CARLOS J CABAN VAZQUEZ                    ADDRESS ON FILE
CARLOS J CALAF GARCIA                     ADDRESS ON FILE
CARLOS J CALCADOR DIAZ                    ADDRESS ON FILE
CARLOS J CANALES CAMPOS                   ADDRESS ON FILE
CARLOS J CARRASQUILLO COLON               ADDRESS ON FILE
CARLOS J CASABLANCA PAOLETTI              ADDRESS ON FILE
CARLOS J CASIANO PAGAN                    ADDRESS ON FILE
CARLOS J CASTANO                          ADDRESS ON FILE
CARLOS J CENTENO RAMOS                    ADDRESS ON FILE
CARLOS J CESTERO TORRES                   ADDRESS ON FILE
CARLOS J CHAPARRO CHAPARRO                ADDRESS ON FILE
CARLOS J CINTRON RODRIGUEZ                ADDRESS ON FILE
CARLOS J COLON                            ADDRESS ON FILE
CARLOS J COLON ALSINA                     ADDRESS ON FILE
CARLOS J COLON PEREZ                      ADDRESS ON FILE
CARLOS J CORDERO AROCHO                   ADDRESS ON FILE
CARLOS J CORDERO ROSA                     ADDRESS ON FILE
CARLOS J CORNIER PEREIRA                  ADDRESS ON FILE
CARLOS J CORREA RAMOS                     ADDRESS ON FILE
CARLOS J CORTES LUNA                      ADDRESS ON FILE
CARLOS J COSTALES GONZALEZ                ADDRESS ON FILE
CARLOS J COSTAS PEREZ                     ADDRESS ON FILE
CARLOS J COTTO BAEZ                       ADDRESS ON FILE




                                                                                             Page 1217 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1218 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS J CRESPO MASSA            ADDRESS ON FILE
CARLOS J CRESPO RODRIGUEZ        ADDRESS ON FILE
CARLOS J CRESPO TORRES           ADDRESS ON FILE
CARLOS J CRUZ CENTENO            ADDRESS ON FILE
CARLOS J CRUZ CRUZ               ADDRESS ON FILE
CARLOS J CRUZ CRUZ               ADDRESS ON FILE
CARLOS J CRUZ ROMAN              ADDRESS ON FILE
CARLOS J DAVILA ARROYO           ADDRESS ON FILE
CARLOS J DELGADO CORNIER         ADDRESS ON FILE
CARLOS J DELGADO HERNANDEZ       ADDRESS ON FILE
CARLOS J DELGADO MONGE           ADDRESS ON FILE
CARLOS J DIAZ COLON              ADDRESS ON FILE
CARLOS J DIAZ PEREZ              ADDRESS ON FILE
CARLOS J DIAZ PRECUPS            ADDRESS ON FILE
CARLOS J DORTA RUIZ              ADDRESS ON FILE
CARLOS J ENCARNACION MERCADO     ADDRESS ON FILE
CARLOS J ESCOBAR VAZQUEZ         ADDRESS ON FILE
CARLOS J ESCRIBANO RAMALLO       ADDRESS ON FILE
CARLOS J ESTRADA OQUENDO         ADDRESS ON FILE
CARLOS J FANTAUZZI ACEVEDO       ADDRESS ON FILE
CARLOS J FEBLES ORTIZ            ADDRESS ON FILE
CARLOS J FEBUS MONTANEZ          ADDRESS ON FILE
CARLOS J FERRER                  ADDRESS ON FILE
CARLOS J FERRER AGUAYO           ADDRESS ON FILE
CARLOS J FLORES RODRIGUEZ        ADDRESS ON FILE
CARLOS J FONT COLLAZO            ADDRESS ON FILE
CARLOS J FRANCESCHINI GONZALEZ   ADDRESS ON FILE
CARLOS J FRANCESCHINI GONZALEZ   ADDRESS ON FILE
CARLOS J FRANCO LECAROZ          ADDRESS ON FILE
CARLOS J GALVEZ RODRIGUEZ        ADDRESS ON FILE
CARLOS J GARCIA PASTOR           ADDRESS ON FILE
CARLOS J GARCIA RIOS             ADDRESS ON FILE
CARLOS J GARCIA SANTIAGO         ADDRESS ON FILE
CARLOS J GARCIAS RIVERA          ADDRESS ON FILE
CARLOS J GONZALEZ FIGUEROA       ADDRESS ON FILE
CARLOS J GONZALEZ LORENZO        ADDRESS ON FILE
CARLOS J GONZALEZ LORENZO        ADDRESS ON FILE
CARLOS J GONZALEZ MARTINEZ       ADDRESS ON FILE
CARLOS J GONZALEZ MARTINEZ       ADDRESS ON FILE
CARLOS J GONZALEZ MOCTEZUMA      ADDRESS ON FILE
CARLOS J GONZALEZ SOTOMAYOR      ADDRESS ON FILE
CARLOS J GONZALEZ VEGA           ADDRESS ON FILE
CARLOS J GUILLOTY GONZALEZ       ADDRESS ON FILE
CARLOS J GUZMAN ORTIZ            ADDRESS ON FILE
CARLOS J HERNANDEZ ALONSO        ADDRESS ON FILE
CARLOS J HERNANDEZ LATIMER       ADDRESS ON FILE
CARLOS J IRIZARRY GONZALEZ       ADDRESS ON FILE
CARLOS J IRIZARRY LUGO           ADDRESS ON FILE
CARLOS J IRIZARRY LUGO           ADDRESS ON FILE
CARLOS J JIMENEZ MELENDEZ        ADDRESS ON FILE
CARLOS J JUNCOS                  ADDRESS ON FILE
CARLOS J LOPEZ ESQUILIN          ADDRESS ON FILE
CARLOS J LOPEZ HERMINA           ADDRESS ON FILE
CARLOS J LOPEZ MEDINA            ADDRESS ON FILE
CARLOS J LOPEZ NAZARIO           ADDRESS ON FILE
CARLOS J LUGO QUINONEZ           ADDRESS ON FILE
CARLOS J LUIS ROSADO             ADDRESS ON FILE
CARLOS J MALAVE RODRIGUEZ        ADDRESS ON FILE
CARLOS J MANGUAL SANTIAGO        ADDRESS ON FILE
CARLOS J MARRERO SALGADO         ADDRESS ON FILE




                                                                             Page 1218 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1219 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                         Address1                               Address2                            Address3   Address4   City      State   PostalCode   Country
CARLOS J MARTI UBINAS                 ADDRESS ON FILE
CARLOS J MARTINEZ                     ADDRESS ON FILE
CARLOS J MARTINEZ CEDENO              ADDRESS ON FILE
CARLOS J MARTINEZ MADERA              ADDRESS ON FILE
CARLOS J MARTINEZ MELENDEZ            ADDRESS ON FILE
CARLOS J MARTINEZ RIVERA              ADDRESS ON FILE
CARLOS J MARTINEZ ROSADO              ADDRESS ON FILE
CARLOS J MATIAS SEDE/LYNETTE E SEDA   ADDRESS ON FILE
CARLOS J MEDINA RODRIGUEZ             ADDRESS ON FILE
CARLOS J MELENDEZ RIVERA              ADDRESS ON FILE
CARLOS J MELENDEZ TORRES              ADDRESS ON FILE
CARLOS J MENDEZ BARRETO               ADDRESS ON FILE
CARLOS J MENDEZ RODRIGUEZ             ADDRESS ON FILE
CARLOS J MENDOZA ANGULO               ADDRESS ON FILE
CARLOS J MENDOZA REYES                ADDRESS ON FILE
CARLOS J MERCADO RUIZ                 ADDRESS ON FILE
CARLOS J MERCADO RUIZ                 NYDIA GONZÁLEZ‐ORTÍZYOLANDA CAPPAS‐RODR11 BETANCES STREET                                        YAUCO     PR      00698
CARLOS J MERCED DIAZ                  ADDRESS ON FILE
CARLOS J MIER ROMEU                   ADDRESS ON FILE
CARLOS J MIRANDA                      ADDRESS ON FILE
CARLOS J MIRANDA RODRIGUEZ            ADDRESS ON FILE
CARLOS J MOJICA CAMIS                 ADDRESS ON FILE
CARLOS J MOLINA RAMOS                 ADDRESS ON FILE
CARLOS J MONTALVAN MIRO               ADDRESS ON FILE
CARLOS J MONTES MARTINEZ              ADDRESS ON FILE
CARLOS J MORALES ARCE                 ADDRESS ON FILE
CARLOS J MORALES ARCE                 ADDRESS ON FILE
CARLOS J MORALES SOTO                 ADDRESS ON FILE
CARLOS J MOREL PENA                   ADDRESS ON FILE
CARLOS J NAZARIO DIAZ                 ADDRESS ON FILE
CARLOS J NEGRON NEGRON                ADDRESS ON FILE
CARLOS J NEGRON PABON                 ADDRESS ON FILE
CARLOS J NEGRON RIVERA                ADDRESS ON FILE
CARLOS J NIEVES BADILLO               ADDRESS ON FILE
CARLOS J NIEVES GONZALEZ              ADDRESS ON FILE
CARLOS J NIEVES MARRERO               ADDRESS ON FILE
CARLOS J OQUENDO RIVERA               ADDRESS ON FILE
CARLOS J ORTA GONZALEZ                ADDRESS ON FILE
CARLOS J ORTIZ                        ADDRESS ON FILE
CARLOS J ORTIZ ACEVEDO                ADDRESS ON FILE
CARLOS J ORTIZ ALLENDE                ADDRESS ON FILE
CARLOS J ORTIZ BATISTA                ADDRESS ON FILE
CARLOS J ORTIZ PIRIS                  ADDRESS ON FILE
CARLOS J ORTIZ PLUGUEZ                ADDRESS ON FILE
CARLOS J ORTIZ RIOS                   ADDRESS ON FILE
CARLOS J ORTIZ ZAYAS                  ADDRESS ON FILE
CARLOS J OYOLA RIVERA                 ADDRESS ON FILE
CARLOS J OYOLA RIVERA                 ADDRESS ON FILE
CARLOS J OYOLA RIVERA                 ADDRESS ON FILE
CARLOS J PADILLA QUINTANA             ADDRESS ON FILE
CARLOS J PAGAN AMARO                  ADDRESS ON FILE
CARLOS J PAGAN MENDEZ                 ADDRESS ON FILE
CARLOS J PEREZ COLON                  ADDRESS ON FILE
CARLOS J PEREZ GULLON                 ADDRESS ON FILE
CARLOS J PEREZ MORALES                ADDRESS ON FILE
CARLOS J PEREZ PEREZ                  ADDRESS ON FILE
CARLOS J PEREZ ROMAN                  ADDRESS ON FILE
CARLOS J PRATTS VELEZ                 ADDRESS ON FILE
CARLOS J QUILICHINI                   ADDRESS ON FILE
CARLOS J QUINONES DELGADO             ADDRESS ON FILE




                                                                                                  Page 1219 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1220 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS J QUINONES DIAZ                   ADDRESS ON FILE
CARLOS J QUINONES FIGUEROA               ADDRESS ON FILE
CARLOS J QUINONES GONZALEZ               ADDRESS ON FILE
CARLOS J QUINONES PEREZ                  ADDRESS ON FILE
CARLOS J QUINONES RODRIGUEZ              ADDRESS ON FILE
CARLOS J QUINONES SAEZ                   ADDRESS ON FILE
CARLOS J RAFFUCCI                        ADDRESS ON FILE
CARLOS J RAMIREZ DE ARELLANO             ADDRESS ON FILE
CARLOS J RAMOS MUNIZ                     ADDRESS ON FILE
CARLOS J REYES COTTO/DBA/KEY MAN GROUP   PO BOX 52335                                                                     TOA BAJA     PR      00950
CARLOS J REYES RIVERA                    ADDRESS ON FILE
CARLOS J RIOS CRESPO                     ADDRESS ON FILE
CARLOS J RIOS MUNOZ                      ADDRESS ON FILE
CARLOS J RIOS ROSADO                     ADDRESS ON FILE
CARLOS J RIVERA BURGOS                   ADDRESS ON FILE
CARLOS J RIVERA COLON                    ADDRESS ON FILE
CARLOS J RIVERA CORREA                   ADDRESS ON FILE
CARLOS J RIVERA DEL RIO                  ADDRESS ON FILE
CARLOS J RIVERA DIAZ                     ADDRESS ON FILE
CARLOS J RIVERA LOPEZ                    ADDRESS ON FILE
CARLOS J RIVERA MARRERO                  ADDRESS ON FILE
CARLOS J RIVERA MARTE                    ADDRESS ON FILE
CARLOS J RIVERA MARTINEZ                 ADDRESS ON FILE
CARLOS J RIVERA MELO                     ADDRESS ON FILE
CARLOS J RIVERA MELO                     ADDRESS ON FILE
CARLOS J RIVERA MONTALVO                 ADDRESS ON FILE
CARLOS J RIVERA MONTALVO                 ADDRESS ON FILE
CARLOS J RIVERA MORALES                  ADDRESS ON FILE
CARLOS J RIVERA ROSARIO                  ADDRESS ON FILE
CARLOS J RIVERA RUIZ                     ADDRESS ON FILE
CARLOS J RIVERA TIRADO                   ADDRESS ON FILE
CARLOS J ROBLES MATHEWS                  ADDRESS ON FILE
CARLOS J ROBLES MATHEWS                  ADDRESS ON FILE
CARLOS J ROBLES MELENDEZ                 ADDRESS ON FILE
CARLOS J RODRIGUEZ CINTRON               ADDRESS ON FILE
CARLOS J RODRIGUEZ JIMENEZ               ADDRESS ON FILE
CARLOS J RODRIGUEZ MARRERO               ADDRESS ON FILE
CARLOS J RODRIGUEZ MOLINA                ADDRESS ON FILE
CARLOS J RODRIGUEZ MORELL                ADDRESS ON FILE
CARLOS J RODRIGUEZ ORTIZ                 ADDRESS ON FILE
CARLOS J RODRIGUEZ RIOS                  ADDRESS ON FILE
CARLOS J RODRIGUEZ ROSAS                 ADDRESS ON FILE
CARLOS J RODRIGUEZ SILVESTRE             ADDRESS ON FILE
CARLOS J RODRIGUEZ TORRES                ADDRESS ON FILE
CARLOS J ROLON ORTEGA                    ADDRESS ON FILE
CARLOS J ROMAN                           ADDRESS ON FILE
CARLOS J ROMAN ORTIZ                     ADDRESS ON FILE
CARLOS J ROSA ORTIZ                      ADDRESS ON FILE
CARLOS J ROSA ORTIZ                      ADDRESS ON FILE
CARLOS J ROSADO SANTIAGO                 ADDRESS ON FILE
CARLOS J ROSARIO RIVERA                  ADDRESS ON FILE
CARLOS J ROVIRA Y ANA M DUENO            ADDRESS ON FILE
CARLOS J RUIZ BERRIOS                    ADDRESS ON FILE
CARLOS J SAEZ MALDONADO                  ADDRESS ON FILE
CARLOS J SAINZ SERRANO                   ADDRESS ON FILE
CARLOS J SANCHEZ AYALA                   ADDRESS ON FILE
CARLOS J SANCHEZ ROLDAN                  ADDRESS ON FILE
CARLOS J SANDOVAL                        ADDRESS ON FILE
CARLOS J SANTANA ESTRADA                 ADDRESS ON FILE
CARLOS J SANTANA PACHECO                 ADDRESS ON FILE




                                                                                     Page 1220 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1221 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                            Address1                          Address2                              Address3       Address4         City         State   PostalCode   Country
CARLOS J SANTIAGO ECHEVARRIA             ADDRESS ON FILE
CARLOS J SANTIAGO ECHEVARRIA             ADDRESS ON FILE
CARLOS J SANTIAGO LUGO                   ADDRESS ON FILE
CARLOS J SANTIAGO MARTINEZ               ADDRESS ON FILE
CARLOS J SANTIAGO PADUA                  ADDRESS ON FILE
CARLOS J SANTIAGO SOTO                   ADDRESS ON FILE
CARLOS J SANTOS RAMOS                    ADDRESS ON FILE
CARLOS J SERRANO RAMOS                   ADDRESS ON FILE
CARLOS J SOLTERO RIGAU                   ADDRESS ON FILE
CARLOS J SOTO RIVERA                     ADDRESS ON FILE
CARLOS J TAVAREZ SANTIAGO                ADDRESS ON FILE
CARLOS J TEXIDOR QUILES                  ADDRESS ON FILE
CARLOS J TORRES BATIZ                    ADDRESS ON FILE
CARLOS J TORRES FIGUEROA                 ADDRESS ON FILE
CARLOS J TORRES IZQUIERDO                ADDRESS ON FILE
CARLOS J TORRES RODRIGUEZ                ADDRESS ON FILE
CARLOS J TORRES SAEZ                     ADDRESS ON FILE
CARLOS J TORRES SAEZ                     ADDRESS ON FILE
CARLOS J TORRES TORRES                   ADDRESS ON FILE
CARLOS J TORT HERNANDEZ                  ADDRESS ON FILE
CARLOS J ULLOA CABRAL                    ADDRESS ON FILE
CARLOS J VALCARCEL DIAZ                  ADDRESS ON FILE
CARLOS J VALENTIN RAMIREZ                ADDRESS ON FILE
CARLOS J VALLE RIVERA                    ADDRESS ON FILE
CARLOS J VAZQUEZ ALMODOVAR               ADDRESS ON FILE
CARLOS J VAZQUEZ MELENDEZ                ADDRESS ON FILE
CARLOS J VAZQUEZ VAZQUEZ                 ADDRESS ON FILE
CARLOS J VEGA                            ADDRESS ON FILE
CARLOS J VELAZQUEZ PACHECO               ADDRESS ON FILE
CARLOS J VELEZ AYALA                     ADDRESS ON FILE
CARLOS J VELEZ RUIZ                      ADDRESS ON FILE
CARLOS J VILLANUEVA MORALES              ADDRESS ON FILE
CARLOS J VILLANUEVA REYES                ADDRESS ON FILE
CARLOS J ZAYAS PEREZ                     ADDRESS ON FILE
CARLOS J. ALMODOVAR VARGAS               ADDRESS ON FILE
CARLOS J. CAMACHO CORREA                 ADDRESS ON FILE
CARLOS J. CAMACHO DIAZ                   ADDRESS ON FILE
Carlos J. Cruz Colon                     ADDRESS ON FILE
CARLOS J. CRUZ NEGRON                    ADDRESS ON FILE
CARLOS J. DIAZ VELEZ                     ADDRESS ON FILE
CARLOS J. FEBLES MENA                    ADDRESS ON FILE
CARLOS J. FIGUEROA APONTE                ADDRESS ON FILE
CARLOS J. GONZALEZ GARCIA                ADDRESS ON FILE
CARLOS J. LEBRON GARCIA                  ADDRESS ON FILE
CARLOS J. MALDONADO PADUA                ADDRESS ON FILE
CARLOS J. MAYMI MAYSONET                 ADDRESS ON FILE
CARLOS J. MEDINA SOTO                    ADDRESS ON FILE
CARLOS J. MERLE RODRÍGUEZ V CUERPO DE BOMLCDA. CHERIL G. OCASIO GONZÁLEZ   PO BOX 372322                                                         CAYEY        PR      00737‐2322
CARLOS J. NARVAEZ SANCHEZ                ADDRESS ON FILE
CARLOS J. PADILLA VARGAS                 ADDRESS ON FILE
CARLOS J. REYES COTTO D/B/A KEY MAN GROU BOX 52335                                                                                               TOA BAJA     PR      00950
CARLOS J. RIVERA COLON                   ADDRESS ON FILE
CARLOS J. ROSA ORTIZ                     ADDRESS ON FILE
CARLOS J. ROSARIO SOLIS                  LCDA. AICZA PIÑEIRO MORALES
CARLOS J. ROSARIO SOLIS                  LIC ERASMO A REYES PEÑA           221 PLAZA‐ SUITE 802                  221 AVE        Ponce DE LEÓN    SAN JUAN     PR      00917‐1804
CARLOS J. ROSARIO SOLIS                  SR. CARLOS ROSARIO SOLÍS          INST ANEXO 292                        PO BOX 60700   EDIF 8‐A CEL 9   Bayamón      PR      00960
CARLOS J. RUIZ FLORES                    ADDRESS ON FILE
CARLOS J. SOTO PEREZ                     ADDRESS ON FILE
CARLOS J. TORO SANCHEZ                   ADDRESS ON FILE
CARLOS J.BACO ALFARO                     ADDRESS ON FILE




                                                                                                  Page 1221 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1222 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS J.QUILICHINI TEISSONNIERE       ADDRESS ON FILE
CARLOS JAVIER CALAF GARCIA             ADDRESS ON FILE
CARLOS JAVIER CAMACHO DE JESUS         ADDRESS ON FILE
CARLOS JAVIER DAVILA VELAZQUEZ         ADDRESS ON FILE
CARLOS JAVIER LOPEZ COLON              ADDRESS ON FILE
CARLOS JAVIER PENA RIVERA              ADDRESS ON FILE
CARLOS JAVIER PEREZ SANTIAGO           ADDRESS ON FILE
CARLOS JAVIER ROSARIO CRUZ             ADDRESS ON FILE
CARLOS JAVIER SANCHEZ ZAMBRANA         ADDRESS ON FILE
CARLOS JEEP RENTAL                     ADDRESS ON FILE
CARLOS JEEP RENTAL                     ADDRESS ON FILE
CARLOS JESUS ORTIZ RODRIGUEZ           ADDRESS ON FILE
CARLOS JIMENEZ / MARIA L GONZALEZ      ADDRESS ON FILE
CARLOS JIMENEZ CRUZ MD, JUAN           ADDRESS ON FILE
CARLOS JIMENEZ MALDONADO               ADDRESS ON FILE
CARLOS JOEL MARQUEZ RODRIGUEZ          ADDRESS ON FILE
CARLOS JOEL NIEVES ARROYO              ADDRESS ON FILE
CARLOS JOSE MOREL PENA                 ADDRESS ON FILE
CARLOS JOSE NOGUERAS MELENDEZ          ADDRESS ON FILE
CARLOS JOSE ROMAN SANTIAGO             ADDRESS ON FILE
CARLOS JUAN CRUZ QUINONES              ADDRESS ON FILE
CARLOS JUAN GALARZA AGOSTINI           ADDRESS ON FILE
CARLOS JUAN GONZALEZ SANTIAGO          ADDRESS ON FILE
CARLOS JUAN MIRANDA SOTO               ADDRESS ON FILE
CARLOS JUAN MONTALVO OLIVERAS          ADDRESS ON FILE
CARLOS JUAN RIVERA ROIG                ADDRESS ON FILE
CARLOS JUAN TORRES‐HENRIQUEZ           ADDRESS ON FILE
CARLOS JUARBE ROMERO                   ADDRESS ON FILE
CARLOS JUARBE TOLEDO                   ADDRESS ON FILE
CARLOS JUSTINIANO                      ADDRESS ON FILE
CARLOS L APONTE TORRES                 ADDRESS ON FILE
CARLOS L BERRIOS                       ADDRESS ON FILE
CARLOS L CANCEL NEGRON                 ADDRESS ON FILE
CARLOS L CAQUIAS PAGAN                 ADDRESS ON FILE
CARLOS L CARTAGENA BURGOS              ADDRESS ON FILE
CARLOS L COLON LEON`                   ADDRESS ON FILE
CARLOS L COLON ORTEGA                  ADDRESS ON FILE
CARLOS L CORREA TORRES                 ADDRESS ON FILE
CARLOS L CUSNIER ALBRECHT              ADDRESS ON FILE
CARLOS L CUSNIER ALBRECHT              ADDRESS ON FILE
CARLOS L CUSNIER ALBRECHT              ADDRESS ON FILE
CARLOS L DAVILA COCA                   ADDRESS ON FILE
CARLOS L DOMENECH ROSA                 ADDRESS ON FILE
CARLOS L GARCIA AVILES                 ADDRESS ON FILE
CARLOS L GARCIA COLLAZO                ADDRESS ON FILE
CARLOS L GARCIA DOMINGUEZ              ADDRESS ON FILE
CARLOS L GELY RIVERA                   ADDRESS ON FILE
CARLOS L HERNANDEZ CEDENO              ADDRESS ON FILE
CARLOS L LAGARES ROMAN                 ADDRESS ON FILE
CARLOS L LEON MARRERO                  ADDRESS ON FILE
CARLOS L LOPEZ ASENCIO                 ADDRESS ON FILE
CARLOS L LORENZO QUINONES              ADDRESS ON FILE
CARLOS L LORENZO QUINONES              ADDRESS ON FILE
CARLOS L MALAVE / FUN CAPILLA MALAVE   ADDRESS ON FILE
CARLOS L MATOS LEON                    ADDRESS ON FILE
CARLOS L MEDINA OQUENDO                ADDRESS ON FILE
CARLOS L MORALES CASTRO                ADDRESS ON FILE
CARLOS L ORTEGA MARTINEZ               ADDRESS ON FILE
CARLOS L ORTIZ BURGOS                  ADDRESS ON FILE
CARLOS L ORTIZ MARQUEZ                 ADDRESS ON FILE




                                                                                   Page 1222 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1223 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                          Address1                                Address2                                  Address3         Address4        City          State   PostalCode   Country
CARLOS L PEREZ ROSADO                  ADDRESS ON FILE
CARLOS L PEREZ TORRES                  ADDRESS ON FILE
CARLOS L PRESTAMO ACEVEDO              ADDRESS ON FILE
CARLOS L RAMOS MELENDEZ                ADDRESS ON FILE
CARLOS L RESTO Y LUCY RODRIGUEZ        ADDRESS ON FILE
CARLOS L RIOS DE JESUS                 ADDRESS ON FILE
CARLOS L RIVAS DELGADO                 ADDRESS ON FILE
CARLOS L RIVERA BARBOSA                ADDRESS ON FILE
CARLOS L RODRIGUEZ ARCE                ADDRESS ON FILE
CARLOS L RODRIGUEZ SALDANA             ADDRESS ON FILE
CARLOS L RODRIGUEZ TORRES              ADDRESS ON FILE
CARLOS L ROSA RIVERA                   ADDRESS ON FILE
CARLOS L ROSADO SANTIAGO               ADDRESS ON FILE
CARLOS L RUIZ BERMUDEZ                 ADDRESS ON FILE
CARLOS L SANCHEZ JIMENEZ               ADDRESS ON FILE
CARLOS L SANTOS                        ADDRESS ON FILE
CARLOS L SEDA AVILES                   ADDRESS ON FILE
CARLOS L SEGARRA ACOSTA                ADDRESS ON FILE
CARLOS L SEGARRA MATOS                 ADDRESS ON FILE
CARLOS L TORRE VARGAS                  ADDRESS ON FILE
CARLOS L TORRES PICCOLI                ADDRESS ON FILE
CARLOS L TRAVERSO ROMAN                ADDRESS ON FILE
CARLOS L VAZQUEZ LEBRON                ADDRESS ON FILE
CARLOS L VAZQUEZ/ LIZZETTE PEREZ       ADDRESS ON FILE
CARLOS L VELAZQUEZ CARRASQUILLO        ADDRESS ON FILE
CARLOS L VILLA RIVERA                  ADDRESS ON FILE
CARLOS L. FERNANDEZ RAMOS              ADDRESS ON FILE
CARLOS L. FLORES MALDONADO             SR. CARLOS FLORES MALDONADO             BOX 3350                                                                   JUNCOS        PR      00777
CARLOS L. MEDINA VELAZQUEZ             ADDRESS ON FILE
CARLOS L. SARRIA MORALES               ADDRESS ON FILE
CARLOS LABARCA CRUZ                    ADDRESS ON FILE
CARLOS LABAULT COSME                   ADDRESS ON FILE
CARLOS LARRACUENTE GIERBOLINI          ADDRESS ON FILE
CARLOS LAUREANO LOPEZ                  ADDRESS ON FILE
CARLOS LAUREANO RODRÍGUEZ              LCDA. LUZ RÍOS ROSARIO                  CALLE COLL Y TOSTE #54                                                     SAN JUAN      PR      00918
CARLOS LAZARTE FRANCO                  ADDRESS ON FILE
CARLOS LEON MARTINEZ                   ADDRESS ON FILE
                                                                                                                       1353 AVE. LUIS
CARLOS LEÓN VÉLEZ                      LCDA. YARLENE JIMÉNEZ ROSARIO        PMB 133                                    VIGOREAUX                          GUAYNABO      PR      00966‐2700
CARLOS LITOVICH                        ADDRESS ON FILE
CARLOS LLANOS VAZQUEZ                  ADDRESS ON FILE
CARLOS LONGO CARRASQUILLO              ADDRESS ON FILE
CARLOS LOPEZ ALMODOVAR                 ADDRESS ON FILE
CARLOS LOPEZ CHARLES                   DEMANDANTE POR DERECHO PROPIO        INSTITUCIÓN MÁXIMA SEGURIDAD               Ponce: 3793        Ponce BY PASS   PONCE         PR      00728‐1504
CARLOS LOPEZ CHARLES                   LCDA. ISABEL BERRIOS CRUZ            PO BOX 95                                  VICTORIA STATION                   AGUADILLA     PR      00605
CARLOS LÓPEZ CHARLES                   DEMANDANTE POR DERECHO PROPIO ABOGADAPO BOX 95                                                                     AGUADILLA     PR      00605
CARLOS LOPEZ COLON                     ADDRESS ON FILE
CARLOS LOPEZ DE AZUA                   ADDRESS ON FILE
CARLOS LOPEZ GONZALEZ                  ADDRESS ON FILE
CARLOS LOPEZ MARTINEZ                  SR. ANGEL FRANCISCO FERRER CRUZ      UGT PO BOX 29247 ESTACIÓN 65 DE INFANTERIA                                    SAN JUAN      PR      00929
CARLOS LOPEZ MASSO                     ADDRESS ON FILE
CARLOS LOPEZ MONTAS                    ADDRESS ON FILE
CARLOS LOPEZ NIEVES                    ADDRESS ON FILE
CARLOS LOPEZ NIEVES                    ADDRESS ON FILE
CARLOS LÓPEZ RAMOS                     JUAN SOTO BALBAS                     PMB 270 #1353 VIGOREAUX                                                       GUAYNABO      PR      00966
CARLOS LÓPEZ RAMOS                     LUIS ORTIZ SEGURA                    PO BOX 9024098                                                                SAN JUAN      PR      00902
CARLOS LÓPEZ RAMOS                     NILDA RAMON APONTE                   PMB 462 BOX 6400                                                              Cayey         PR      00736
CARLOS LOPEZ RODRIGUEZ                 ADDRESS ON FILE
CARLOS LOPEZ ROVIRA Y/O MARIA GARCIA   ADDRESS ON FILE
CARLOS LOPEZ VILLANUEVA                ADDRESS ON FILE




                                                                                                          Page 1223 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1224 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                              Address1                                  Address2                                    Address3             Address4        City            State   PostalCode   Country
CARLOS LOPEZ Y ANA I MEDINA                ADDRESS ON FILE
CARLOS LORENZO RODIGUEZ BRITO              ADDRESS ON FILE
CARLOS LORENZO RODRIGUEZ                   ADDRESS ON FILE
CARLOS LOZADA SANTIAGO                     LCDO. HÉCTOR I. RAMOS MARTÍNEZ            PO BOX 51                                                                        BARCELONETA     PR      00617
CARLOS LUGO CARABALLO                      ADDRESS ON FILE
Carlos Lugo Rodríguez DBA Sign Solutions   PO Box 765                                                                                                                                 PR      00782‐0765
CARLOS LUIS BURGOS SANTOS                  ADDRESS ON FILE
CARLOS LUIS FLORES‐MALDONADO               ADDRESS ON FILE
                                                                                                                                 CONTROL Q SEC ROJA
CARLOS LUIS GONZALEZ RIVERA                DEMANDANTE POR DERECHO PROPIO              INSTITUCIÓN Ponce PRINCIPAL, FASE 2        129: 3699            Ponce BY PASS   PONCE           PR      00728‐1500
CARLOS LUIS GONZALEZ RIVERA                LIC BLAS MARRERO                           URB SANFELIZ CALLE 5 #2 ALTOS LOCAL #2                                          COROZAL         PR      00783‐3038
CARLOS LUIS GUZMAN NIEVES                  LCDO. JULIO GIL DE LA MADRID (DEMANDANTE); REPARTO ALHAMBRA A 11 CALLE GRANADA                                             Bayamón         PR      00957
CARLOS LUIS PEREZ DBA CASA DE LAS BANDER   URB. CAPARRA TERRACE #812 AVE. DE DIEGO                                                                                    SAN JUAN        PR      00921
CARLOS LUIS VEGA RODRIGUEZ                 ADDRESS ON FILE
CARLOS LUNA FIGUEROA                       ADDRESS ON FILE
CARLOS M ACEVEDO MUNOZ                     ADDRESS ON FILE
CARLOS M AGUILU LOPEZ                      ADDRESS ON FILE
CARLOS M ALBELO QUINONEZ                   ADDRESS ON FILE
CARLOS M ALLENDE SOTO                      ADDRESS ON FILE
CARLOS M ALVARADO COLON                    ADDRESS ON FILE
CARLOS M ALVAREZ ALVAREZ                   ADDRESS ON FILE
CARLOS M AMADOR ACOSTA                     ADDRESS ON FILE
CARLOS M ANDRILLON TOSTE                   ADDRESS ON FILE
CARLOS M ANESES MENDEZ                     ADDRESS ON FILE
CARLOS M APONTE NIEVES                     ADDRESS ON FILE
CARLOS M ARROYO RAMOS                      ADDRESS ON FILE
CARLOS M ARROYO SANCHEZ                    ADDRESS ON FILE
CARLOS M AYALA IRENE                       ADDRESS ON FILE
CARLOS M BADILLO MUNIZ                     ADDRESS ON FILE
CARLOS M BATISTA CRUZ                      ADDRESS ON FILE
CARLOS M BENITEZ INC                       PMB 272                                    PO BOX 194000                                                                   SAN JUAN        PR      00919‐4000
CARLOS M BERMUDEZ HERNANDEZ                ADDRESS ON FILE
CARLOS M BERMUDEZ TORRES                   ADDRESS ON FILE
CARLOS M BERRIOS COLLAZO                   ADDRESS ON FILE
CARLOS M BERRIOS ORTIZ                     ADDRESS ON FILE
CARLOS M BOSCIO GONZALEZ                   ADDRESS ON FILE
CARLOS M BRILLON COLON                     ADDRESS ON FILE
CARLOS M CABRERA GEIGEL                    ADDRESS ON FILE
CARLOS M CAJIGAS JUARBE                    ADDRESS ON FILE
CARLOS M CAJIGAS JUARBE                    ADDRESS ON FILE
CARLOS M CAJIGAS ROSADO                    ADDRESS ON FILE
CARLOS M CALDERON GARNIER                  ADDRESS ON FILE
CARLOS M CALDERON GARNIER                  ADDRESS ON FILE
CARLOS M CANCEL MORENO                     ADDRESS ON FILE
CARLOS M CAO ALVIRA                        ADDRESS ON FILE
CARLOS M CARRASQUILLO SOTO                 ADDRESS ON FILE
CARLOS M CASTRO                            ADDRESS ON FILE
CARLOS M CASTRO                            ADDRESS ON FILE
CARLOS M CHIQUES                           ADDRESS ON FILE
CARLOS M CINTRON CATALA                    ADDRESS ON FILE
CARLOS M COLON ACEVEDO                     ADDRESS ON FILE
CARLOS M COLON GUZMAN                      ADDRESS ON FILE
CARLOS M CONTRERAS APONTE                  ADDRESS ON FILE
CARLOS M COTTO CRUZ                        ADDRESS ON FILE
CARLOS M CRUZ MANGUAL                      ADDRESS ON FILE
CARLOS M CRUZ QUINONES                     ADDRESS ON FILE
CARLOS M DAVILA                            ADDRESS ON FILE
CARLOS M DE JESUS ORTIZ                    ADDRESS ON FILE
CARLOS M DE JESUS VILLEGAS                 ADDRESS ON FILE
CARLOS M DECENE RIVERA                     ADDRESS ON FILE




                                                                                                                  Page 1224 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1225 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS M DECLET JIMENEZ                    ADDRESS ON FILE
CARLOS M DEL VALLE TROCHE                  ADDRESS ON FILE
CARLOS M DELGADO                           ADDRESS ON FILE
CARLOS M DIAZ CUADRADO                     ADDRESS ON FILE
CARLOS M DIAZ CUADRADO                     ADDRESS ON FILE
CARLOS M DIAZ DE JESUS                     ADDRESS ON FILE
CARLOS M DIAZ LLORENS                      ADDRESS ON FILE
CARLOS M DIAZ MARTINEZ DBA D&D MEDIA       SERVICES                  PO BOX 6829                                            BAYAMON      PR      00960
CARLOS M DIAZ VILLEGAS                     ADDRESS ON FILE
CARLOS M ESCUDERO GONZALEZ                 ADDRESS ON FILE
CARLOS M FELICIANO JIMENEZ                 ADDRESS ON FILE
CARLOS M FIGUEROA MORALES                  ADDRESS ON FILE
CARLOS M FIGUEROA RUIZ                     ADDRESS ON FILE
CARLOS M FIGUEROA VEGA                     ADDRESS ON FILE
CARLOS M FLORES CE & L FIRE EXTINGUISHER   PO BOX 3092                                                                      BAYAMON      PR      00960
CARLOS M FLORES SANCHEZ                    ADDRESS ON FILE
CARLOS M FONTAN MELENDEZ                   ADDRESS ON FILE
CARLOS M FRANCO                            ADDRESS ON FILE
CARLOS M FREYTES RIVERA                    ADDRESS ON FILE
CARLOS M FUENTES TORRES                    ADDRESS ON FILE
CARLOS M GARCIA SANTIAGO                   ADDRESS ON FILE
CARLOS M GERENA                            ADDRESS ON FILE
CARLOS M GERENA ARROYO                     ADDRESS ON FILE
CARLOS M GOITIA SANTIAGO                   ADDRESS ON FILE
CARLOS M GONZALEZ GONZALEZ                 ADDRESS ON FILE
CARLOS M GONZALEZ SANTIAGO                 ADDRESS ON FILE
CARLOS M GONZALEZ VERA                     ADDRESS ON FILE
CARLOS M GORDIAN RODRIGUEZ                 LUIS APONTE               PO Box 151                                             YABUCOA      PR      00767
CARLOS M GRACIA RODRIGUEZ                  ADDRESS ON FILE
CARLOS M GUZMAN LLOVERAS                   ADDRESS ON FILE
CARLOS M HIRALDO HUERTAS                   ADDRESS ON FILE
CARLOS M HYLAND MIRANDA                    ADDRESS ON FILE
CARLOS M JIMENEZ VERDEJO                   ADDRESS ON FILE
CARLOS M LEON VAZQUEZ                      ADDRESS ON FILE
CARLOS M LIMARDO ORTIZ                     ADDRESS ON FILE
CARLOS M LIMARDO ORTIZ                     ADDRESS ON FILE
CARLOS M LINARES VEGA                      ADDRESS ON FILE
CARLOS M LOPEZ CARABALLO                   ADDRESS ON FILE
CARLOS M LOPEZ CHERENA                     ADDRESS ON FILE
CARLOS M LOPEZ SANTOS                      ADDRESS ON FILE
CARLOS M LOPEZ VELEZ                       ADDRESS ON FILE
CARLOS M MANGUAL LOPEZ                     ADDRESS ON FILE
CARLOS M MARTINEZ AVILES                   ADDRESS ON FILE
CARLOS M MARTINEZ GRAU                     ADDRESS ON FILE
CARLOS M MARTINEZ GUADALUPE                ADDRESS ON FILE
CARLOS M MARTINEZ VAZQUEZ                  ADDRESS ON FILE
CARLOS M MATEO ALERS                       ADDRESS ON FILE
CARLOS M MEDINA VAZQUEZ                    ADDRESS ON FILE
CARLOS M MELENDEZ VEGA                     ADDRESS ON FILE
CARLOS M MENDEZ GONZALEZ                   ADDRESS ON FILE
CARLOS M MOLINARI GARCIA                   ADDRESS ON FILE
CARLOS M MONGIL                            ADDRESS ON FILE
CARLOS M MONTALVO MONT                     ADDRESS ON FILE
CARLOS M MORALES CONCEPCION                ADDRESS ON FILE
CARLOS M MORALES TORRES                    ADDRESS ON FILE
CARLOS M MORALES TORRES                    ADDRESS ON FILE
CARLOS M MORALES VEGA                      ADDRESS ON FILE
CARLOS M MORALES VELEZ                     ADDRESS ON FILE
CARLOS M MUNOZ CRUZ                        ADDRESS ON FILE
CARLOS M NEGRON CRUZ                       ADDRESS ON FILE




                                                                                       Page 1225 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1226 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
CARLOS M NOLLA OLMO                       ADDRESS ON FILE
CARLOS M OCHOTECO MARVEZ                  ADDRESS ON FILE
CARLOS M ORTIZ                            ADDRESS ON FILE
CARLOS M ORTIZ FLORES DBA ROTULOS OESTE   CARR 345 KM 3.7                                                                  HORMIGUEROS     PR      00660‐0997
CARLOS M ORTIZ LOZADA                     ADDRESS ON FILE
CARLOS M ORTIZ SANTOS                     ADDRESS ON FILE
CARLOS M PALMER RAMOS                     ADDRESS ON FILE
CARLOS M PANTOJAS CARRELO                 ADDRESS ON FILE
CARLOS M PARALITICCI RIVERA               ADDRESS ON FILE
CARLOS M PARLADE VELASCO                  ADDRESS ON FILE
CARLOS M PATINO CHAPARRO                  ADDRESS ON FILE
CARLOS M PELLOT                           ADDRESS ON FILE
CARLOS M PENA CARRION                     ADDRESS ON FILE
CARLOS M PERAZZA PEREZ                    ADDRESS ON FILE
CARLOS M PEREZ GUZMAN                     ADDRESS ON FILE
CARLOS M PEREZ PASTRANA                   ADDRESS ON FILE
CARLOS M PLAYA MIRANDA                    ADDRESS ON FILE
CARLOS M PRIETO RODRIGUEZ                 ADDRESS ON FILE
CARLOS M QUINONES AYENDEZ                 ADDRESS ON FILE
CARLOS M QUINONES BRUSELES                ADDRESS ON FILE
CARLOS M QUINONES CHOUDENS                ADDRESS ON FILE
CARLOS M QUINONES CRUZ                    ADDRESS ON FILE
CARLOS M QUINONES GARCIA                  ADDRESS ON FILE
CARLOS M QUINONES TORO                    ADDRESS ON FILE
CARLOS M QUINONEZ LOPEZ                   ADDRESS ON FILE
CARLOS M QUINONEZ LOPEZ                   ADDRESS ON FILE
CARLOS M RAMIREZ                          ADDRESS ON FILE
CARLOS M RAMIREZ CANCEL                   ADDRESS ON FILE
CARLOS M RAMIREZ CANCEL                   ADDRESS ON FILE
CARLOS M RAMIREZ CANCEL                   ADDRESS ON FILE
CARLOS M RAMOS COLON                      ADDRESS ON FILE
CARLOS M RAMOS DIAZ                       ADDRESS ON FILE
CARLOS M RAMOS RIVERA                     ADDRESS ON FILE
CARLOS M RAMOS RODRIGUEZ                  ADDRESS ON FILE
CARLOS M RAMOS RUIZ                       ADDRESS ON FILE
CARLOS M REMESAL MORALES                  ADDRESS ON FILE
CARLOS M REYES VALLES                     ADDRESS ON FILE
CARLOS M REYES VALLES                     ADDRESS ON FILE
CARLOS M RIOS GUZMAN                      ADDRESS ON FILE
CARLOS M RIVAS HADDOCK                    ADDRESS ON FILE
CARLOS M RIVERA CORUJO                    ADDRESS ON FILE
CARLOS M RIVERA GONZALEZ                  ADDRESS ON FILE
CARLOS M RIVERA IRIZARRY                  ADDRESS ON FILE
CARLOS M RIVERA LATORRE                   ADDRESS ON FILE
CARLOS M RIVERA MONTANEZ                  ADDRESS ON FILE
CARLOS M RIVERA MUNOZ                     ADDRESS ON FILE
CARLOS M RIVERA ORTIZ                     ADDRESS ON FILE
CARLOS M RIVERA RONDON                    ADDRESS ON FILE
CARLOS M RIVERA SANTIAGO                  ADDRESS ON FILE
CARLOS M RIVERA SANTIAGO                  ADDRESS ON FILE
CARLOS M RIVERA Y NELSON D SOTO Y         ADDRESS ON FILE
CARLOS M ROBLES ITHIER                    ADDRESS ON FILE
CARLOS M RODRIGUEZ CABANILLAS             ADDRESS ON FILE
CARLOS M RODRIGUEZ CABANILLAS             ADDRESS ON FILE
CARLOS M RODRIGUEZ GALARZA                ADDRESS ON FILE
CARLOS M RODRIGUEZ GONZALEZ               ADDRESS ON FILE
CARLOS M RODRIGUEZ MUNIZ                  ADDRESS ON FILE
CARLOS M RODRIGUEZ PENA                   ADDRESS ON FILE
CARLOS M RODRIGUEZ PENA                   ADDRESS ON FILE
CARLOS M RODRIGUEZ RIVERA                 ADDRESS ON FILE




                                                                                      Page 1226 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1227 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                            Address2                              Address3               Address4           City          State   PostalCode   Country
CARLOS M RODRIGUEZ RIVERA                ADDRESS ON FILE
CARLOS M RODRIGUEZ SANTIAGO              ADDRESS ON FILE
CARLOS M RONDAN CEREZO                   ADDRESS ON FILE
CARLOS M ROSADO RIVERA                   ADDRESS ON FILE
CARLOS M ROSADO VARGAS                   ADDRESS ON FILE
CARLOS M ROSARIO                         ADDRESS ON FILE
CARLOS M SANCHEZ SANTIAGO                ADDRESS ON FILE
CARLOS M SANTANA SANTA                   ADDRESS ON FILE
CARLOS M SANTIAGO BONILLA                ADDRESS ON FILE
CARLOS M SANTIAGO PRATS                  ADDRESS ON FILE
CARLOS M SANTINI MORALES                 ADDRESS ON FILE
CARLOS M SANTINI RODRIGUEZ               ADDRESS ON FILE
CARLOS M SANTOS COLON                    ADDRESS ON FILE
CARLOS M SERRANO MENDOZA                 ADDRESS ON FILE
CARLOS M SERRANO MENDOZA                 ADDRESS ON FILE
CARLOS M SOTO MORALES                    ADDRESS ON FILE
CARLOS M SOTO MORALES                    ADDRESS ON FILE
CARLOS M SOTO TORRES                     ADDRESS ON FILE
CARLOS M TANG YUI                        ADDRESS ON FILE
CARLOS M TOLEDO REYES                    ADDRESS ON FILE
CARLOS M TORRES CEDENO                   ADDRESS ON FILE
CARLOS M TORRES MATIAS                   ADDRESS ON FILE
CARLOS M TURPO HERNANDEZ                 ADDRESS ON FILE
CARLOS M VELAZQUEZ COTTO                 ADDRESS ON FILE
CARLOS M VELEZ ARZOLA                    ADDRESS ON FILE
CARLOS M VELEZ PEREIRO                   ADDRESS ON FILE
CARLOS M VELEZ RIVERA                    ADDRESS ON FILE
CARLOS M VIERA GARCIA                    ADDRESS ON FILE
CARLOS M VIERA GARCIA                    ADDRESS ON FILE
CARLOS M ZACCHEUS VIZCARRONDO            ADDRESS ON FILE
CARLOS M. CAJIGAS JUARBE                 ADDRESS ON FILE
CARLOS M. CARRASQUILLO RIOS              ADDRESS ON FILE
CARLOS M. CLAUDIO RODRIGUEZ              ADDRESS ON FILE
CARLOS M. DEL VALLE RIVERA               LCDO. FELIX A. LIZASUAIN MARTINEZ   PO Box 3274                                                                     GUAYAMA       PR      00785‐3274
CARLOS M. DEL VALLE RIVERA               LCDO. JOSÉ G. RODRÍGUEZ ROSADO      PO Box 362 Mercadita                                                            MERCEDITA     PR      00715‐0362
CARLOS M. FIGUEROA ROJAS                 ADDRESS ON FILE
CARLOS M. FIGUEROA ROJAS                 ADDRESS ON FILE
CARLOS M. FLORES LABAULT C E & L EXT.    P.O. BOX 3092                                                                                                       BAYAMON       PR      00960‐0000
CARLOS M. FLORES LABAULT DBA             CE & L FIRE EXTINGUISHERS           PO BOX 3092                                                                     BAYAMON       PR      00960
CARLOS M. FLORES LABAULT DBA             HERMANAS DAVILA                     J 5 AVE BETANCES                                                                BAYAMON       PR      00959
CARLOS M. FLORES LABAULT DBA C.E. & L. F P. O. BOX 3092                                                                                                      BAYAMON       PR      00960‐0000
CARLOS M. FLORES LABAULT DBA CE FIRE EXT P.O.BOX 3092                                                                                                        BAYAMON       PR      00960
CARLOS M. GARCIA LOZANO                  ADDRESS ON FILE
CARLOS M. GÓMEZ CRUZ                     LCDO. SIMONE CATILDE MALPICA        ALB PLAZA                             STE. 400 16 CARR.199   AVE. LAS CUMBRES   GUAYNABO      PR      00969
CARLOS M. HERNANDEZ DE jESUS             ADDRESS ON FILE
CARLOS M. LOPEZ SANTOS                   LCDA. ANABEL M. DEL RIO SANTIAGO    PO BOX 64                                                                       VEGA BAJA     PR      00693
CARLOS M. MUNOZ                          ADDRESS ON FILE
CARLOS M. MUNOZ ROVIRA                   ADDRESS ON FILE
CARLOS M. NAVARRO POVEDA                 ADDRESS ON FILE
CARLOS M. PEREZ ESCUDERO                 ADDRESS ON FILE
CARLOS M. PEREZ FELIX                    ADDRESS ON FILE
Carlos M. Plaza Osorio                   ADDRESS ON FILE
CARLOS M. POUERIET CALDERON              ADDRESS ON FILE
CARLOS M. RAMOS RIOS                     ADDRESS ON FILE
CARLOS M. RODRIGUEZ SILVA                ADDRESS ON FILE
CARLOS M. ROMAN CRESPO                   ADDRESS ON FILE
CARLOS M. ROMAN DE JESUS                 ADDRESS ON FILE
CARLOS M. SANCHEZ PEÑA                   LCDA. MARIA I. TORRES ALVARADO      PO BOX 6251                                                                     CAGUAS        PR      00726
CARLOS M. VERGES RODRIGUEZ               ADDRESS ON FILE
CARLOS M. ZAMBRANA, SUCN. CARLOTA ZAMBR LCDA. MARGIE VEGA BRAÑA              RR 8 BOX 1995 PMB 54                                                            Bayamón       PR      00956




                                                                                                    Page 1227 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1228 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                          Address1                          Address2                     Address3   Address4   City      State   PostalCode   Country
CARLOS MALARET FALBE                   ADDRESS ON FILE
CARLOS MALAVE ZAYAS                    ADDRESS ON FILE
CARLOS MALDONADO LUCIANO               ADDRESS ON FILE
CARLOS MALDONADO MALDONADO             ADDRESS ON FILE
CARLOS MALDONADO MALDONADO             ADDRESS ON FILE
CARLOS MALDONADO MALDONADO             ADDRESS ON FILE
CARLOS MALDONADO ROBLES                ADDRESS ON FILE
CARLOS MALDONADO RODRIGUEZ             ADDRESS ON FILE
CARLOS MALDONADO TORRES                ADDRESS ON FILE
CARLOS MANSO FUENTES                   ADDRESS ON FILE
CARLOS MANUEL ALVERIO PARES            ADDRESS ON FILE
CARLOS MANUEL AVILES JIMENEZ           ADDRESS ON FILE
CARLOS MANUEL CRUZ DIAZ                ADDRESS ON FILE
CARLOS MANUEL LOPEZ REYES              ADDRESS ON FILE
CARLOS MANUEL SANCHEZ BLANCO           ADDRESS ON FILE
CARLOS MANUEL ZACCHEUS VIZCARRONDO     ADDRESS ON FILE
CARLOS MANUEL ZACCHEUS VIZCARRONDO     ADDRESS ON FILE
CARLOS MANZANO VELAZQUEZ               ADDRESS ON FILE
CARLOS MARCANO ESPINEL                 ADDRESS ON FILE
CARLOS MARCANO RIOS                    ADDRESS ON FILE
CARLOS MARINA VEGA                     ADDRESS ON FILE
CARLOS MARQUEZ VEGA                    ADDRESS ON FILE
CARLOS MARRERO BRACERO                 ADDRESS ON FILE
CARLOS MARRERO BRACERO                 ADDRESS ON FILE
CARLOS MARRERO CARABALLO               ADDRESS ON FILE
CARLOS MARRERO MALDONADO               ADDRESS ON FILE
CARLOS MARRERO MUNIZ                   ADDRESS ON FILE
CARLOS MARRERO VAZQUEZ                 ADDRESS ON FILE
CARLOS MARRERO VAZQUEZ                 ADDRESS ON FILE
CARLOS MARTELL MORALES                 ADDRESS ON FILE
CARLOS MARTINEZ ARCHILLA               ADDRESS ON FILE
CARLOS MARTINEZ BERMUDEZ               ADDRESS ON FILE
CARLOS MARTINEZ CASTRO                 ADDRESS ON FILE
CARLOS MARTINEZ COLLAZO                ADDRESS ON FILE
CARLOS MARTINEZ COLLAZO                ADDRESS ON FILE
CARLOS MARTINEZ CRUZ                   ADDRESS ON FILE
CARLOS MARTINEZ DE JESUS               ADDRESS ON FILE
CARLOS MARTINEZ E IVELISSE RODRIGUEZ   ADDRESS ON FILE
CARLOS MARTINEZ FIGUEROA               ADDRESS ON FILE
CARLOS MARTINEZ GONZALEZ               ADDRESS ON FILE
CARLOS MARTINEZ GUZMAN                 ADDRESS ON FILE
CARLOS MARTINEZ LABOY                  LCDO. ANGEL LUIS AVILES MERCADO   PO BOX 1254                                        LAJAS     PR      00667
CARLOS MARTINEZ LOPEZ                  ADDRESS ON FILE
CARLOS MARTINEZ OCASIO                 ADDRESS ON FILE
CARLOS MARTINEZ ONEILL                 ADDRESS ON FILE
CARLOS MARTINEZ PENA                   ADDRESS ON FILE
CARLOS MARTINEZ PLAZA                  ADDRESS ON FILE
CARLOS MARTINEZ RODRIGUEZ              ADDRESS ON FILE
CARLOS MARTINEZ RODRIGUEZ              ADDRESS ON FILE
CARLOS MARTINEZ SERRANO                ADDRESS ON FILE
CARLOS MARTINEZ TORRES                 ADDRESS ON FILE
CARLOS MARTINEZ, CARLOS                ADDRESS ON FILE
CARLOS MATIAS ECHEVARIA                ADDRESS ON FILE
CARLOS MATOS TOVAR                     ADDRESS ON FILE
CARLOS MATOS VAZQUEZ                   ADDRESS ON FILE
CARLOS MATOS VEGA                      ADDRESS ON FILE
CARLOS MATTEI NAZARIO                  ADDRESS ON FILE
CARLOS MEDERO APONTE                   ADDRESS ON FILE
CARLOS MEDINA SIERRA                   ADDRESS ON FILE
CARLOS MELENDEZ                        ADDRESS ON FILE




                                                                                       Page 1228 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1229 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                           Address1                            Address2                                  Address3             Address4               City         State   PostalCode   Country
CARLOS MELENDEZ ALOMAR                  ADDRESS ON FILE
CARLOS MENDEZ SEPULVEDA                 ADDRESS ON FILE
CARLOS MENDEZ SEPULVEDA                 ADDRESS ON FILE
CARLOS MERCADO CRUZ                     ADDRESS ON FILE
CARLOS MERCADO CURBELO                  ADDRESS ON FILE
CARLOS MERCADO CURBELO                  ADDRESS ON FILE
CARLOS MERCADO TORRES                   ADDRESS ON FILE
CARLOS MERCADO ZAYAS                    ALBERTO RIVERA RAMOS                Condominio Plaza del Mar                  Apt. 305             3001 Ave. Isla Verde   Carolina     PR      00979
CARLOS MERGAL CARDONA                   ADDRESS ON FILE
CARLOS MICAMES CACERES/ SYNERLUTION INC PASEO LOS ROBLES                    1615 CALLE YAMIL GALIB                                                                MAYAGUEZ     PR      00682‐7903
CARLOS MIGUEL DIAZ TORRES               LCDO. RAMÓN L. RODRÍGUEZ MELÉNDEZ   PO BOX 3858                                                                           GUAYNABO     PR      00970‐3858
CARLOS MIGUELANGEL CASTRO ALVIRA        ADDRESS ON FILE
CARLOS MIRANDA DBA GARAJE MIRANDA TIRE DBA GARAJE MIRANDA TIRE SER          PO BOX 6761                               SANTA ROSA UNIT                             BAYAMON      PR      00960
CARLOS MIRANDA GORDIAN                  ADDRESS ON FILE
CARLOS MIRANDA ORTIZ                    ADDRESS ON FILE
CARLOS MIRANDA SANTIAGO                 ADDRESS ON FILE
CARLOS MOJICAS CAMIS                    ADDRESS ON FILE
CARLOS MOLINA RODRIGUEZ                 ADDRESS ON FILE
CARLOS MOLINA ROMAN                     ADDRESS ON FILE
CARLOS MOLINA/JOSE MOLINA/NYDIA MOLINA ADDRESS ON FILE
CARLOS MONDRIGUEZ TORRES                ADDRESS ON FILE
CARLOS MONGE MONTANEZ/DYNAMIC SOLAR ADDRESS ON FILE
CARLOS MONTAÐEZ                         ADDRESS ON FILE
CARLOS MONTANEZ                         ADDRESS ON FILE
CARLOS MONTANEZ                         ADDRESS ON FILE
CARLOS MONTANEZ C/O NYDIA MARTINEZ      BO CORAZON                          817 CALLE YAGRUMO                                                                     GUAYAMA      PR      00784
CARLOS MORALES ARCE                     ADDRESS ON FILE
CARLOS MORALES BORRERO                  ADDRESS ON FILE
CARLOS MORALES CABAN                    ADDRESS ON FILE
CARLOS MORALES GONZALEZ                 ADDRESS ON FILE
CARLOS MORALES GUZMAN                   ADDRESS ON FILE
CARLOS MORALES LEBRON                   ADDRESS ON FILE
CARLOS MORALES LEBRON                   ADDRESS ON FILE
CARLOS MORALES PIEVE                    ADDRESS ON FILE
CARLOS MORALES RAMOS                    ADDRESS ON FILE
CARLOS MORALES ROLON                    ADDRESS ON FILE
CARLOS MORALES TORRES                   ADDRESS ON FILE
CARLOS MORALES VILLODAS                 ADDRESS ON FILE
CARLOS MORELL VAZQUEZ                   ADDRESS ON FILE
CARLOS MORENO ROSADO                    ADDRESS ON FILE
CARLOS MORENO Y MIRIAM SOTO             ADDRESS ON FILE
CARLOS MOREY SANCHEZ                    ADDRESS ON FILE
CARLOS MOREY VILLANUEVA                 ADDRESS ON FILE
CARLOS MOSQUETE VALENTIN                SR. CARLOS MOSQUETE VALENTÍN        INSTITUCIÓN Ponce ADULTOS 1000            3793 Ponce BY PASS   SEGREGACIÓN 201        PONCE        PR      00728
CARLOS MU¥IZ ROSADO                     ADDRESS ON FILE
CARLOS MUNIZ ALMEYDA                    ADDRESS ON FILE
CARLOS MUNIZ CUCUTA                     ADDRESS ON FILE
CARLOS MUNIZ MOLINERO                   ADDRESS ON FILE
CARLOS MUNIZ TORRES                     ADDRESS ON FILE
CARLOS MUNOZ DAVILA                     ADDRESS ON FILE
CARLOS MUNOZ DAVILA                     ADDRESS ON FILE
CARLOS MUNOZ RAMOS                      ADDRESS ON FILE
CARLOS MUNOZ RODRIGUEZ                  ADDRESS ON FILE
CARLOS N ALMODOVAR                      ADDRESS ON FILE
CARLOS N CABRERA RAMOS                  ADDRESS ON FILE
CARLOS N CANDELARIO RIVERA              ADDRESS ON FILE
CARLOS N GONZALEZ CRESPO                PO BOX 190248                                                                                                             SAN JUAN     PR      00919‐0248
CARLOS N LUGO DEL VALLE                 ADDRESS ON FILE
CARLOS N MERCED COLON                   ADDRESS ON FILE
CARLOS N QUINONES                       ADDRESS ON FILE




                                                                                                       Page 1229 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1230 of 3500
                                                                                17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                    Address1                   Address2                                  Address3    Address4   City          State   PostalCode   Country
CARLOS N QUINONES MORALES        ADDRESS ON FILE
CARLOS N QUINONES MORALES        ADDRESS ON FILE
CARLOS N. MORALES DIAZ           LCDO. SALVADOR LUGO DÍAZ   PO BOX 10007                              SUITE 445              GUAYAMA       PR      00785
CARLOS N. MORALES DÍAZ, ETC.     SR. CARLOS MORALES DIAZ    PO BOX 3025                                                      GUAYAMA       PR      00785‐3025
CARLOS N. MORALES DÍAZ, ETC.     SR. CARLOS MORALES DIAZ    PO BOX 10005                                                     GUAYAMA       PR      00785
CARLOS N. RAMIREZ PI¥A           ADDRESS ON FILE
CARLOS NANEZ KARRY               ADDRESS ON FILE
CARLOS NARVAEZ RODRIGUEZ         ADDRESS ON FILE
Carlos Navarro Vazquez           ADDRESS ON FILE
CARLOS NEGRON FIGUEROA           ADDRESS ON FILE
CARLOS NEGRON MONTESINO          ADDRESS ON FILE
CARLOS NEGRON RODRIGUEZ          ADDRESS ON FILE
CARLOS NIEVES DBA CN INTERIORS   HC 73 BOX 4736                                                                              NARANJITO     PR      00719
CARLOS NIEVES RIVERA             ADDRESS ON FILE
CARLOS NIEVES ROSARIO            ADDRESS ON FILE
CARLOS NIEVES SANABRIA           ADDRESS ON FILE
CARLOS NUNEZ                     ADDRESS ON FILE
CARLOS NUNEZ LOPEZ               ADDRESS ON FILE
CARLOS NUNEZ SANTIAGO            ADDRESS ON FILE
CARLOS O AGOSTO                  ADDRESS ON FILE
CARLOS O CARRASQUILLO CINTRON    ADDRESS ON FILE
CARLOS O CORTEZ VAZQUEZ          ADDRESS ON FILE
CARLOS O CRUZ CABRERA            ADDRESS ON FILE
CARLOS O CRUZ COLON              CARMEN M. QUIÑONES         644 AVE. ANDALICÍA ALTOS                                         SAN JUAN      PR      00920
CARLOS O CRUZ ROSADO             ADDRESS ON FILE
CARLOS O GERENA GARCIA           ADDRESS ON FILE
CARLOS O LOPEZ ROSARIO           ADDRESS ON FILE
CARLOS O MARTINEZ VAZQUEZ        ADDRESS ON FILE
CARLOS O MARTINEZ VEGA           ADDRESS ON FILE
CARLOS O MORALES LOPEZ           ADDRESS ON FILE
CARLOS O NAVARRO VARGAS          ADDRESS ON FILE
CARLOS O NUNEZ FIGUEROA          ADDRESS ON FILE
CARLOS O NUNEZ FIGUEROA          ADDRESS ON FILE
CARLOS O NUNEZ FIGUEROA          ADDRESS ON FILE
CARLOS O POLLOCK ARTIAGA         ADDRESS ON FILE
CARLOS O RIVERA SANTIAGO         ADDRESS ON FILE
CARLOS O RODRIGUEZ SANCHEZ       ADDRESS ON FILE
CARLOS O SANCHEZ BORGES          ADDRESS ON FILE
CARLOS O SANTIAGO                ADDRESS ON FILE
CARLOS O SERRANO HORTA           ADDRESS ON FILE
CARLOS O SOUFFRONT               ADDRESS ON FILE
CARLOS O TORRES CALDERON         ADDRESS ON FILE
CARLOS O TORRES FEBRES           ADDRESS ON FILE
CARLOS O TORRES VAZQUEZ          ADDRESS ON FILE
CARLOS O VEGA RAMOS              ADDRESS ON FILE
CARLOS O. CRUZ ROSADO            ADDRESS ON FILE
CARLOS O. MORALES BORGES         ADDRESS ON FILE
CARLOS O. MORALES BORGES         ADDRESS ON FILE
CARLOS OBED BAERGA ORTIZ         ADDRESS ON FILE
CARLOS OBED VEGA PEREZ           ADDRESS ON FILE
CARLOS OCASIO ROLDAN             ADDRESS ON FILE
CARLOS OLIVER LONGORIA           ADDRESS ON FILE
CARLOS OLIVER MARTINEZ           ADDRESS ON FILE
CARLOS OLIVIERI ITHIER           ADDRESS ON FILE
CARLOS OMAR MONTANEZ FERNANDEZ   ADDRESS ON FILE
CARLOS OMAR NAVARRO VARGAS       ADDRESS ON FILE
CARLOS ORENGO ACEVEDO            ADDRESS ON FILE
CARLOS ORRACA LUGO               ADDRESS ON FILE
CARLOS ORRIA MEDINA              ADDRESS ON FILE
CARLOS ORTA MIRANDA              ADDRESS ON FILE




                                                                                       Page 1230 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1231 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                        Address2                               Address3   Address4   City         State   PostalCode   Country
CARLOS ORTIZ CANDELARIO                 ADDRESS ON FILE
CARLOS ORTÍZ CARRASQUILLO               ADDRESS ON FILE
CARLOS ORTIZ COLLAZO                    ADDRESS ON FILE
CARLOS ORTIZ COTTE                      ADDRESS ON FILE
CARLOS ORTIZ DE HOSTOS                  ADDRESS ON FILE
CARLOS ORTIZ GARCIA                     ADDRESS ON FILE
CARLOS ORTIZ OLAVARRIA                  ADDRESS ON FILE
CARLOS ORTIZ RODRIGUEZ                  ADDRESS ON FILE
CARLOS ORTIZ ROMAN                      ADDRESS ON FILE
CARLOS ORTIZ VEGA                       ADDRESS ON FILE
CARLOS OSORIOS GONZALEZ                 ADDRESS ON FILE
CARLOS OTERO AGOSTO                     ADDRESS ON FILE
CARLOS OTERO BAGUE                      ADDRESS ON FILE
CARLOS OTERO BIRCH                      ADDRESS ON FILE
CARLOS P BERBERENA COLON                ADDRESS ON FILE
CARLOS P MEDINA ACOSTA                  ADDRESS ON FILE
CARLOS PABON BENITEZ / IRMA D BENITEZ   ADDRESS ON FILE
CARLOS PABON VIDAL                      ADDRESS ON FILE
CARLOS PACHECO PACHECO                  ADDRESS ON FILE
CARLOS PACHECO RODRIGUEZ                ADDRESS ON FILE
CARLOS PACHECO TORRES                   ADDRESS ON FILE
CARLOS PADILLA / DORIS BARROSO          ADDRESS ON FILE
CARLOS PADILLA GARCIA                   ADDRESS ON FILE
CARLOS PAGAN DURAN                      ADDRESS ON FILE
CARLOS PAGAN MEDIAVILLA                 ADDRESS ON FILE
CARLOS PAGAN PAGAN                      ADDRESS ON FILE
CARLOS PAGAN ROSADO                     ADDRESS ON FILE
CARLOS PALACIO OROZCO                   ADDRESS ON FILE
CARLOS PANTOJA MATTA                    ADDRESS ON FILE
CARLOS PARALITICI GONZALEZ              ADDRESS ON FILE
CARLOS PASTRANA LIZARDI                 ADDRESS ON FILE
CARLOS PASTRANA PEREZ                   ADDRESS ON FILE
CARLOS PENA LABOY                       ADDRESS ON FILE
CARLOS PENA RAMOS                       ADDRESS ON FILE
CARLOS PENA VAZQUE Z                    ADDRESS ON FILE
CARLOS PERDOMO FERRER                   ADDRESS ON FILE
CARLOS PEREZ AGOSTO                     ADDRESS ON FILE
CARLOS PEREZ ALICEA                     ADDRESS ON FILE
CARLOS PEREZ CARRASCO                   ADDRESS ON FILE
CARLOS PEREZ CASIANO                    ADDRESS ON FILE
CARLOS PÉREZ CASIANO                    LCDO. ARMAND PIETRI TORRES      1225 AVE MUÑOZ RIVERA                                        PONCE        PR      00717
CARLOS PEREZ CRESPO                     ADDRESS ON FILE
CARLOS PEREZ DBA CASA DE LAS BANDERAS   URB CAPARRA TERRACE             812‐AVE DE DIEGO                                             SAN JUAN     PR      00921
CARLOS PEREZ DIAZ                       ADDRESS ON FILE
CARLOS PEREZ FERNANDEZ                  ADDRESS ON FILE
CARLOS PEREZ FIGUEROA                   ADDRESS ON FILE
CARLOS PEREZ HERCE                      ADDRESS ON FILE
CARLOS PEREZ LOPEZ                      ADDRESS ON FILE
CARLOS PEREZ MARTINEZ                   ADDRESS ON FILE
CARLOS PEREZ ORTIZ                      ADDRESS ON FILE
CARLOS PEREZ ORTIZ                      ADDRESS ON FILE
CARLOS PEREZ PAGAN                      ADDRESS ON FILE
CARLOS PEREZ PEREZ                      ADDRESS ON FILE
CARLOS PEREZ QUINONEZ                   ADDRESS ON FILE
CARLOS PEREZ RIVERA                     ADDRESS ON FILE
CARLOS PEREZ RIVERA                     ADDRESS ON FILE
CARLOS PEREZ RODRIGUEZ                  ADDRESS ON FILE
CARLOS PEREZ RUIZ                       ADDRESS ON FILE
CARLOS PILLOT OCASIO, ET. ALS. V ELA    LCDO. ANTONIO ARRAIZA MIRANDA   PO BOX 651                                                   MANATI       PR      00674‐0651




                                                                                                Page 1231 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1232 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                            Address1                      Address2                                     Address3              Address4              City        State   PostalCode   Country
                                                                                                                                          Ponce BY PASS CELDA
CARLOS PILLOT OCASIO, ET. ALS. V ELA     SR. HARRY MARTELL RODRÍGUEZ   FACILIDADES MÉDICAS                          Ponce 500 S.E. 3699   104                   Ponce       PR      00728‐1500
CARLOS PINA COLON                        ADDRESS ON FILE
CARLOS PIOVANETTI RIVERA                 ADDRESS ON FILE
CARLOS PIRES DOS SANTOS,OLGA CALERO      ADDRESS ON FILE
CARLOS PIZARRO                           ADDRESS ON FILE
CARLOS PLACER ROMAN                      ADDRESS ON FILE
CARLOS PLUMEY SANTIAGO                   ADDRESS ON FILE
CARLOS POGGI                             ADDRESS ON FILE
CARLOS POLO CLAUDIO                      ADDRESS ON FILE
CARLOS POMALES MARTINEZ                  ADDRESS ON FILE
CARLOS PORTALATIN ESTEVES                ADDRESS ON FILE
CARLOS PUJALS KURRY                      ADDRESS ON FILE
CARLOS QUINONES                          ADDRESS ON FILE
CARLOS QUINONES BODEGA                   ADDRESS ON FILE
CARLOS QUINONES CASTILLO                 ADDRESS ON FILE
CARLOS QUINONES HERNANDEZ                ADDRESS ON FILE
CARLOS QUINONES ORTIZ                    ADDRESS ON FILE
CARLOS QUINONES PEREZ                    ADDRESS ON FILE
CARLOS QUINONES SEIRULLO                 ADDRESS ON FILE
CARLOS QUINONES TORRES                   ADDRESS ON FILE
CARLOS QUINONEZ CAMACHO                  ADDRESS ON FILE
CARLOS QUINONEZ SILVESTY                 ADDRESS ON FILE
CARLOS R ACEVEDO VELAZQUEZ               ADDRESS ON FILE
CARLOS R ACOSTA SANCHEZ                  ADDRESS ON FILE
CARLOS R AGUIRRE FLORES                  ADDRESS ON FILE
CARLOS R ALGARIN FOSSE                   ADDRESS ON FILE
CARLOS R ALICEA CAMACHO                  ADDRESS ON FILE
CARLOS R ALVARADO MONTES                 ADDRESS ON FILE
CARLOS R ALVAREZ                         ADDRESS ON FILE
CARLOS R ALVAREZ MORALES                 ADDRESS ON FILE
CARLOS R ANDUJAR ORTIZ                   ADDRESS ON FILE
CARLOS R ANGALDA RODRIGUEZ               ADDRESS ON FILE
CARLOS R ARROYO COLON                    ADDRESS ON FILE
CARLOS R ARROYO SERRANO                  ADDRESS ON FILE
CARLOS R AYALA LOPEZ/UNIVERSAL SOLAR     ENERGY                        EXT REXVILLE BLQ J2 19 CALLE 12‐A                                                        BAYAMON     PR      00957
CARLOS R BAERGA COLON                    ADDRESS ON FILE
CARLOS R BARRETO LIMA                    ADDRESS ON FILE
CARLOS R BENITEZ MALDONADO               ADDRESS ON FILE
CARLOS R BERMUDEZ                        ADDRESS ON FILE
CARLOS R BERRIOS DBA PROFESSIONAL AUTO   PO BOX 814                                                                                                             COROZAL     PR      00783
CARLOS R BRAU CRUZ                       ADDRESS ON FILE
CARLOS R CAEZ SIERRA                     ADDRESS ON FILE
CARLOS R CALDERO SANTANA                 ADDRESS ON FILE
CARLOS R CANALES CRUZ                    ADDRESS ON FILE
CARLOS R CANCELA Y DAMARIS CANCELA       ADDRESS ON FILE
CARLOS R CARDONA TORRES                  ADDRESS ON FILE
CARLOS R CARRASQUILLO RIOS               ADDRESS ON FILE
CARLOS R CARRILLO JIMENEZ                ADDRESS ON FILE
CARLOS R CARRUSINI Y/O CRC ELECTRONIC    P O BOX 1263                                                                                                           ARECIBO     PR      00613
CARLOS R CASTILLO CALDERON               ADDRESS ON FILE
CARLOS R CASTILLO MARTINEZ               ADDRESS ON FILE
CARLOS R CEDENO SANABRIA                 ADDRESS ON FILE
CARLOS R CEDENO SANABRIA                 ADDRESS ON FILE
CARLOS R COIRA LUQUIS                    ADDRESS ON FILE
CARLOS R COLLAZO GOTAY                   ADDRESS ON FILE
CARLOS R COLON ORTIZ                     ADDRESS ON FILE
CARLOS R COLON ORTIZ                     ADDRESS ON FILE
CARLOS R CORSINO DIAZ                    ADDRESS ON FILE
CARLOS R COTTO ROBLES                    ADDRESS ON FILE




                                                                                                     Page 1232 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1233 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS R CRUZ DEL VALLE            ADDRESS ON FILE
CARLOS R CRUZ MARTINEZ             ADDRESS ON FILE
CARLOS R CUBERO MANGUAL            ADDRESS ON FILE
CARLOS R DE JESUS VILLAFANE        ADDRESS ON FILE
CARLOS R DEL CORO AMENGUAL         ADDRESS ON FILE
CARLOS R DIAZ ORTIZ                ADDRESS ON FILE
CARLOS R DIEZ MANZANO              ADDRESS ON FILE
CARLOS R ESCALERA ROMERO           ADDRESS ON FILE
CARLOS R ESTEVES CASTILLO          ADDRESS ON FILE
CARLOS R FIGUEROA / ANA L NEGRON   ADDRESS ON FILE
CARLOS R FIGUEROA MUNOZ            ADDRESS ON FILE
CARLOS R FIGUEROA NUNEZ            ADDRESS ON FILE
CARLOS R FONTANEZ NUNEZ            ADDRESS ON FILE
CARLOS R FUENTES                   ADDRESS ON FILE
CARLOS R FUENTES ORTIZ             ADDRESS ON FILE
CARLOS R FUMERO PEREZ              ADDRESS ON FILE
CARLOS R GALLOZA GONZALEZ          ADDRESS ON FILE
CARLOS R GARCIA FIGUEROA           ADDRESS ON FILE
CARLOS R GARCIA REYES              ADDRESS ON FILE
CARLOS R GARCIA RIOS               ADDRESS ON FILE
CARLOS R GONZALEZ MARTINEZ         ADDRESS ON FILE
CARLOS R GONZALEZ PEREZ            ADDRESS ON FILE
CARLOS R GONZALEZ PEREZ            ADDRESS ON FILE
CARLOS R GONZALEZ ROVIRA           ADDRESS ON FILE
CARLOS R GUEIT NUNEZ               ADDRESS ON FILE
CARLOS R GUTIERREZ COLUMBIE        ADDRESS ON FILE
CARLOS R GUTIERREZ GUTIERREZ       ADDRESS ON FILE
CARLOS R HERNANDEZ ALVAREZ         ADDRESS ON FILE
CARLOS R HERNANDEZ LOPEZ           ADDRESS ON FILE
CARLOS R HERRERA VARGAS            ADDRESS ON FILE
CARLOS R HYLAND MIRANDA            ADDRESS ON FILE
CARLOS R ITURRINO CARRILLO         ADDRESS ON FILE
CARLOS R JIRAU VELEZ               ADDRESS ON FILE
CARLOS R LOPEZ COLON               ADDRESS ON FILE
CARLOS R LOPEZ GELIGA              ADDRESS ON FILE
CARLOS R LOPEZ ORTIZ               ADDRESS ON FILE
CARLOS R LOPEZ SANTIAGO            ADDRESS ON FILE
CARLOS R LOZADA COLON              ADDRESS ON FILE
CARLOS R LUNA DE JESUS             ADDRESS ON FILE
CARLOS R MACHADO BARRETO           ADDRESS ON FILE
CARLOS R MALDONADO RIVERA          ADDRESS ON FILE
CARLOS R MARIN OQUENDO             ADDRESS ON FILE
CARLOS R MARIN OQUENDO             ADDRESS ON FILE
CARLOS R MARRERO TORRES            ADDRESS ON FILE
CARLOS R MARTINEZ AGRON            ADDRESS ON FILE
CARLOS R MARTINEZ COLON            ADDRESS ON FILE
CARLOS R MARTINEZ NAZARIO          ADDRESS ON FILE
CARLOS R MARTINEZ RODRIGUEZ        ADDRESS ON FILE
CARLOS R MARTINEZ ROSADO           ADDRESS ON FILE
CARLOS R MARTINEZ VELEZ            ADDRESS ON FILE
CARLOS R MARTINEZ VELEZ            ADDRESS ON FILE
CARLOS R MEDINA MORALES            ADDRESS ON FILE
CARLOS R MEDINA VIDAL              ADDRESS ON FILE
CARLOS R MELECIO GALAY             ADDRESS ON FILE
CARLOS R MELENDEZ CRUZ             ADDRESS ON FILE
CARLOS R MELENDEZ LOPEZ            ADDRESS ON FILE
CARLOS R MELENDEZ RAMIREZ          ADDRESS ON FILE
CARLOS R MERCED BABILONIA          ADDRESS ON FILE
CARLOS R MERCED CRUZ               ADDRESS ON FILE
CARLOS R MONTANEZ FIGUEROA         ADDRESS ON FILE




                                                                               Page 1233 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1234 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS R MONTANEZ LOPEZ                 ADDRESS ON FILE
CARLOS R MONTOTO                        ADDRESS ON FILE
CARLOS R MORENO NAVARRO                 ADDRESS ON FILE
CARLOS R MORENO RUIZ                    ADDRESS ON FILE
CARLOS R NARVAEZ                        ADDRESS ON FILE
CARLOS R NAVARRO MUJICA                 ADDRESS ON FILE
CARLOS R NEGRON LOPEZ/VERA LOPEZ AND    ADDRESS ON FILE
CARLOS R NEGRON ORTIZ                   ADDRESS ON FILE
CARLOS R NEGRON SANTIAGO                ADDRESS ON FILE
CARLOS R NEVAREZ BARCELO                ADDRESS ON FILE
CARLOS R NUNEZ BERDECIA                 ADDRESS ON FILE
CARLOS R OCASIO MALDONADO               ADDRESS ON FILE
CARLOS R OJEDA PENA                     ADDRESS ON FILE
CARLOS R OLIVERAS OLIVERAS              ADDRESS ON FILE
CARLOS R OQUENDO                        ADDRESS ON FILE
CARLOS R ORTEGA NARVAEZ                 ADDRESS ON FILE
CARLOS R ORTIZ ABRAHAM                  ADDRESS ON FILE
CARLOS R ORTIZ FIGUEROA                 ADDRESS ON FILE
CARLOS R ORTIZ NAZARIO                  ADDRESS ON FILE
CARLOS R ORTIZ RIVERA                   ADDRESS ON FILE
CARLOS R ORTIZ RODRIGUEZ                ADDRESS ON FILE
CARLOS R ORTIZ VIVES                    ADDRESS ON FILE
CARLOS R OSORIO BORIA                   ADDRESS ON FILE
CARLOS R OYOLA CRUZ                     ADDRESS ON FILE
CARLOS R PADILLA /NEW ENERGY CONSULTANTSHACIENDA SAN JOSE         715 VIA DEL SOL                                        CAGUAS       PR      00727
CARLOS R PAGAN CRESPO                   ADDRESS ON FILE
CARLOS R PAGAN RAMOS                    ADDRESS ON FILE
CARLOS R PANIZO VALDERRAMA              ADDRESS ON FILE
CARLOS R PENA GARCIA                    ADDRESS ON FILE
CARLOS R PEREIRA ALMESTICA              ADDRESS ON FILE
CARLOS R PEREIRA HUERTAS                ADDRESS ON FILE
CARLOS R PEREZ GONZALEZ                 ADDRESS ON FILE
CARLOS R PEREZ GONZALEZ                 ADDRESS ON FILE
CARLOS R QUINONES                       ADDRESS ON FILE
CARLOS R QUINONES CRUZ                  ADDRESS ON FILE
CARLOS R QUINONES CRUZ                  ADDRESS ON FILE
CARLOS R QUINONES GONZALEZ              ADDRESS ON FILE
CARLOS R RAMOS FONSECA                  ADDRESS ON FILE
CARLOS R RAMOS ORTIZ                    ADDRESS ON FILE
CARLOS R RAMOS SAENZ                    ADDRESS ON FILE
CARLOS R REYES GALINDEZ                 ADDRESS ON FILE
CARLOS R RIOS RODRIGUEZ                 ADDRESS ON FILE
CARLOS R RIVERA MENDOZA                 ADDRESS ON FILE
CARLOS R RIVERA MENDOZA                 ADDRESS ON FILE
CARLOS R RIVERA MENDOZA                 ADDRESS ON FILE
CARLOS R RIVERA ORTIZ                   ADDRESS ON FILE
CARLOS R RIVERA ORTIZ                   ADDRESS ON FILE
CARLOS R RIVERA RIVERA                  ADDRESS ON FILE
CARLOS R RIVERA RUIZ                    ADDRESS ON FILE
CARLOS R ROBERT COLON                   ADDRESS ON FILE
CARLOS R ROBLES NIEVES                  ADDRESS ON FILE
CARLOS R ROBLES RIVERA                  PO BOX 51090                                                                     TOA BAJA     PR      00950‐1090
CARLOS R RODRIGUEZ ACEVEDO              ADDRESS ON FILE
CARLOS R RODRIGUEZ CONSTANTINO          ADDRESS ON FILE
CARLOS R RODRIGUEZ HERNANDEZ            ADDRESS ON FILE
CARLOS R RODRIGUEZ MARTINEZ             ADDRESS ON FILE
CARLOS R RODRIGUEZ TORRES               ADDRESS ON FILE
CARLOS R ROMAN SOTO                     ADDRESS ON FILE
CARLOS R RUIZ GONZALEZ                  ADDRESS ON FILE
CARLOS R RUIZ ORTIZ                     ADDRESS ON FILE




                                                                                    Page 1234 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1235 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                            Address1                       Address2                       Address3   Address4   City         State   PostalCode   Country
CARLOS R SALAS CATALA                    ADDRESS ON FILE
CARLOS R SANTANA MEJIAS                  ADDRESS ON FILE
CARLOS R SANTIAGO CRUZ                   ADDRESS ON FILE
CARLOS R SANTIAGO DIAZ                   ADDRESS ON FILE
CARLOS R SANTIAGO MELENDEZ               ADDRESS ON FILE
CARLOS R SANTIAGO NIEVES                 ADDRESS ON FILE
CARLOS R SANTIAGO SANTAELLA              ADDRESS ON FILE
CARLOS R SANTIAGO TORRES                 ADDRESS ON FILE
CARLOS R SANTOS MERCEDES                 ADDRESS ON FILE
CARLOS R SILVA AYALA                     ADDRESS ON FILE
CARLOS R SOSA PADRO LAW OFFICE           PO BOX 191682                                                                       SAN JUAN     PR      00919
CARLOS R SOTO CARDONA                    ADDRESS ON FILE
CARLOS R SOTO CRUZ                       ADDRESS ON FILE
CARLOS R STELLA UBARRI                   ADDRESS ON FILE
CARLOS R SUAZO BENEGEAT                  ADDRESS ON FILE
Carlos R Teissonniere Leon               ADDRESS ON FILE
CARLOS R TORRES ANAYA                    ADDRESS ON FILE
CARLOS R TORRES ANAYA                    ADDRESS ON FILE
CARLOS R TORRES FIGUEROA                 ADDRESS ON FILE
CARLOS R TORRES RODRIGUEZ                ADDRESS ON FILE
CARLOS R TORRES VELEZ                    ADDRESS ON FILE
CARLOS R VALLE MARRERO                   ADDRESS ON FILE
CARLOS R VALLE MARRERO                   ADDRESS ON FILE
CARLOS R VAZQUEZ AYALA                   ADDRESS ON FILE
CARLOS R VAZQUEZ GOMEZ                   ADDRESS ON FILE
CARLOS R VAZQUEZ OQUENDO                 ADDRESS ON FILE
CARLOS R VEGA PABON                      ADDRESS ON FILE
CARLOS R VEGA SANTOS                     ADDRESS ON FILE
CARLOS R VELAZQUEZ COTTO                 ADDRESS ON FILE
CARLOS R VELAZQUEZ MARTINEZ              ADDRESS ON FILE
CARLOS R VELEZ DUENO                     ADDRESS ON FILE
CARLOS R VILLALOBOS SOLIS                ADDRESS ON FILE
CARLOS R VIZCARRONDO PIMENTEL            ADDRESS ON FILE
CARLOS R WHITE CENTENO                   ADDRESS ON FILE
CARLOS R ZAYAS NUNEZ                     ADDRESS ON FILE
CARLOS R. BENITEZ Y OTROS                LIC CARLOS BELTRAN SVELTI      PO BOX 366126                                        SAN JUAN     PR      00936‐6126
CARLOS R. BENITEZ Y OTROS                LIC CARLOS JOSÉ BELTRAN RIOS   PO BOX 366126                                        SAN JUAN     PR      00936‐6126
CARLOS R. BENITEZ Y OTROS                LIC NELLYMARIE LÓPEZ DÍAZ      PO BOX 11155                                         SAN JUAN     PR      00922‐1155
CARLOS R. CARRUCINI FALCON DBA CRC ELECT P. O. BOX 1263                                                                      ARECIBO      PR      00613‐0000
CARLOS R. COLON NAVARRO                  ADDRESS ON FILE
CARLOS R. COLON PABON                    ADDRESS ON FILE
CARLOS R. GARCIA CAMACHO                 ADDRESS ON FILE
CARLOS R. GIOVANNETTI TEXIDOR            ADDRESS ON FILE
CARLOS R. MARTINEZ ROSADO                ADDRESS ON FILE
CARLOS R. MARTINEZ TORRES                ADDRESS ON FILE
CARLOS R. NUNEZ SALGADO                  ADDRESS ON FILE
CARLOS R. ORTIZ                          ADDRESS ON FILE
CARLOS R. PEREZ GONZALEZ                 ADDRESS ON FILE
CARLOS R. RODRIGUEZ IRIZARRY             ADDRESS ON FILE
CARLOS R.COLON MELENDEZ DBA GALLERY MODP.O. BOX 129                                                                          OROCOVIS     PR      00720
CARLOS RAFAEL LUGO MENDEZ                ADDRESS ON FILE
CARLOS RAFAEL MIRANDA                    ADDRESS ON FILE
CARLOS RAMIREZ CANDELARIA                ADDRESS ON FILE
CARLOS RAMIREZ SANCHEZ                   ADDRESS ON FILE
CARLOS RAMIREZ TORRES                    ADDRESS ON FILE
CARLOS RAMOS BURGOS                      ADDRESS ON FILE
CARLOS RAMOS CANALES                     ADDRESS ON FILE
CARLOS RAMOS CANALES                     ADDRESS ON FILE
CARLOS RAMOS DE JESUS                    ADDRESS ON FILE
CARLOS RAMOS GONZALEZ                    ADDRESS ON FILE




                                                                                        Page 1235 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1236 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                          Address1                  Address2                                 Address3    Address4          City         State   PostalCode   Country
CARLOS RAMOS GONZALEZ                  ADDRESS ON FILE
CARLOS RAMOS MARRERO                   ADDRESS ON FILE
CARLOS RAMOS MOYANO                    ADDRESS ON FILE
CARLOS RAMOS QUILES/ BORINTEK INC      ADDRESS ON FILE
CARLOS RAMOS RAMIREZ                   ADDRESS ON FILE
CARLOS RAMOS ROSARIO                   ADDRESS ON FILE
CARLOS RAMOS SALGADO                   ADDRESS ON FILE
CARLOS RAMOS SALGADO                   ADDRESS ON FILE
CARLOS RAMOS SOTO                      ADDRESS ON FILE
CARLOS RAMOS SOTO                      ADDRESS ON FILE
CARLOS RAMOS SOTO                      ADDRESS ON FILE
CARLOS RAMOS VELEZ                     ADDRESS ON FILE
CARLOS RAPHEL ACEVEDO PENA             ADDRESS ON FILE
CARLOS RENTAL GENERAL CONTRACTOR INC   PO BOX 853                                                                                       CIDRA        PR      00739
CARLOS REYES LEBRON                    ADDRESS ON FILE
CARLOS REYES RIVERA                    ADDRESS ON FILE
CARLOS REYES SOTO                      ADDRESS ON FILE
CARLOS RIOS CHAVES                     ADDRESS ON FILE
CARLOS RIOS LABRADOR                   ADDRESS ON FILE
CARLOS RIOS SAN MIGUEL                 ADDRESS ON FILE
CARLOS RIOS TREVINO                    ADDRESS ON FILE
CARLOS RIVERA                          ADDRESS ON FILE
CARLOS RIVERA                          ADDRESS ON FILE
CARLOS RIVERA AVILA                    ADDRESS ON FILE
CARLOS RIVERA AYALA                    ADDRESS ON FILE
CARLOS RIVERA BONILLA                  ADDRESS ON FILE
CARLOS RIVERA CARTAGENA                ADDRESS ON FILE
CARLOS RIVERA CASANOVA                 ADDRESS ON FILE
CARLOS RIVERA CIANCHINI                ADDRESS ON FILE
CARLOS RIVERA CRUZ                     ADDRESS ON FILE
CARLOS RIVERA CUEVAS                   LANDRÓN VERA, LLC         1606 Ave. Ponce De Leon                  SUITE 501   EDIF. BOGORICIN   SAN JUAN     PR      00909
CARLOS RIVERA DE LA ROSA               ADDRESS ON FILE
CARLOS RIVERA ENCARNACION              ADDRESS ON FILE
CARLOS RIVERA FRANCESCHINI             ADDRESS ON FILE
CARLOS RIVERA FUENTES                  ADDRESS ON FILE
CARLOS RIVERA GALINDO                  ADDRESS ON FILE
CARLOS RIVERA GALINDO                  ADDRESS ON FILE
CARLOS RIVERA GONZALEZ                 ADDRESS ON FILE
CARLOS RIVERA JUSINO                   ADDRESS ON FILE
CARLOS RIVERA LAGO                     ADDRESS ON FILE
CARLOS RIVERA MARTINEZ                 ADDRESS ON FILE
CARLOS RIVERA MELENDEZ                 ADDRESS ON FILE
CARLOS RIVERA MERCADO                  ADDRESS ON FILE
CARLOS RIVERA NIEVES                   ADDRESS ON FILE
CARLOS RIVERA OCASIO                   ADDRESS ON FILE
CARLOS RIVERA OQUENDO                  ADDRESS ON FILE
CARLOS RIVERA PEREZ                    ADDRESS ON FILE
CARLOS RIVERA RIJOS                    ADDRESS ON FILE
CARLOS RIVERA RODRIGUEZ                ADDRESS ON FILE
CARLOS RIVERA VAZQUEZ                  ADDRESS ON FILE
CARLOS RIVERA VELEZ                    ADDRESS ON FILE
Carlos Rivera Villanueva               ADDRESS ON FILE
CARLOS RIVERA Y NORMA TORRES           ADDRESS ON FILE
CARLOS ROBERTO RIVERA PEREZ            ADDRESS ON FILE
CARLOS ROBLES COLON                    ADDRESS ON FILE
CARLOS ROBLES CORDERO                  ADDRESS ON FILE
CARLOS RODRIGUEZ                       ADDRESS ON FILE
CARLOS RODRIGUEZ ACEVEDO               ADDRESS ON FILE
CARLOS RODRIGUEZ ALICEA                ADDRESS ON FILE
CARLOS RODRIGUEZ BONET                 ADDRESS ON FILE




                                                                                           Page 1236 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1237 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                            Address1                       Address2                                           Address3   Address4   City         State   PostalCode   Country
CARLOS RODRIGUEZ CANALES                 ADDRESS ON FILE
CARLOS RODRIGUEZ CAPPA                   ADDRESS ON FILE
CARLOS RODRIGUEZ CAPPA                   ADDRESS ON FILE
CARLOS RODRIGUEZ CAPPA                   ADDRESS ON FILE
CARLOS RODRIGUEZ DELGADO                 ADDRESS ON FILE
CARLOS RODRIGUEZ FRADERA                 ADDRESS ON FILE
CARLOS RODRIGUEZ FRATICELLI              ADDRESS ON FILE
CARLOS RODRIGUEZ GARCIA                  ADDRESS ON FILE
CARLOS RODRIGUEZ GONZALEZ                ADDRESS ON FILE
CARLOS RODRIGUEZ HERNANDEZ               ADDRESS ON FILE
CARLOS RODRIGUEZ LA LUZ                  ADDRESS ON FILE
CARLOS RODRIGUEZ LOZADA                  ADDRESS ON FILE
CARLOS RODRIGUEZ MALDONADO               ADDRESS ON FILE
CARLOS RODRIGUEZ MALDONADO               ADDRESS ON FILE
CARLOS RODRIGUEZ MARIN                   ADDRESS ON FILE
CARLOS RODRIGUEZ MARTINEZ                ADDRESS ON FILE
CARLOS RODRIGUEZ MORALES                 ADDRESS ON FILE
CARLOS RODRIGUEZ MURIEL                  ADDRESS ON FILE
CARLOS RODRIGUEZ NEGRON                  ADDRESS ON FILE
CARLOS RODRIGUEZ ORTIZ                   ADDRESS ON FILE
CARLOS RODRIGUEZ PAGAN                   ADDRESS ON FILE
CARLOS RODRIGUEZ PEREZ                   ADDRESS ON FILE
CARLOS RODRIGUEZ QUINONES                ADDRESS ON FILE
CARLOS RODRIGUEZ RIVERA                  ADDRESS ON FILE
CARLOS RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
CARLOS RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
CARLOS RODRIGUEZ SANCHEZ                 ADDRESS ON FILE
CARLOS RODRIGUEZ SANTIAGO                ADDRESS ON FILE
CARLOS RODRIGUEZ SANTIAGO                ADDRESS ON FILE
CARLOS RODRIGUEZ SANTOS                  ADDRESS ON FILE
CARLOS RODRIGUEZ TORRES                  ADDRESS ON FILE
CARLOS RODRIGUEZ VILLEGAS                ADDRESS ON FILE
CARLOS RODRIGUEZ Y NILZA BAEZ            ADDRESS ON FILE
CARLOS RODRIGUEZSIERRA & NEIRA PEREZSOTO ADDRESS ON FILE
CARLOS ROIG                              ADDRESS ON FILE
CARLOS ROLON VAZQUEZ                     LCDO. ALLAN RIVERA FERNÁNDEZ   Capital Center Building Suite 401                                        HATO REY     PR      00918
CARLOS ROMAN CINTRON                     ADDRESS ON FILE
CARLOS ROMAN GUZMAN                      ADDRESS ON FILE
CARLOS ROMAN MARTINEZ                    ADDRESS ON FILE
CARLOS ROMERO BAEZ                       ADDRESS ON FILE
CARLOS RONDA FELICIANO                   ADDRESS ON FILE
CARLOS ROSA SANTANA                      ADDRESS ON FILE
CARLOS ROSA VILLANUEVA                   ADDRESS ON FILE
CARLOS ROSADO PLAZA                      ADDRESS ON FILE
CARLOS ROSADO PONCE                      ADDRESS ON FILE
CARLOS ROSADO RODRIGUEZ                  ADDRESS ON FILE
CARLOS ROSARIO DBA ENLACES ALL CONSTR.   HC 02 BOX 7659                                                                                          CIALES       PR      00638
CARLOS ROSARIO MARTINEZ                  ADDRESS ON FILE
CARLOS ROSARIO QUINONES                  ADDRESS ON FILE
CARLOS ROSARIO ROMAN                     ADDRESS ON FILE
CARLOS RUBEN ANDUJAR ORTIZ               ADDRESS ON FILE
CARLOS RUBEN COLON MEDINA                ADDRESS ON FILE
CARLOS RUBEN IRIZARRY SANTIAGO           ADDRESS ON FILE
CARLOS RUBEN RAMOS SAENZ                 ADDRESS ON FILE
CARLOS RUBEN RIVERA SANTIAGO             ADDRESS ON FILE
CARLOS RUBEN ROJAS GALAN                 ADDRESS ON FILE
CARLOS RUBEN SANCHEZ GARCIA              ADDRESS ON FILE
CARLOS RUBEN TORRES COLLAZO              ADDRESS ON FILE
CARLOS RUBEN VAZQUEZ                     ADDRESS ON FILE
CARLOS RUEDA LEON                        ADDRESS ON FILE




                                                                                                            Page 1237 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1238 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
Carlos Ruis Cash & Carry     Carr. 101 Km. 15.1                                                               Cabo Rojo     PR      00623
CARLOS RUIZ                  ADDRESS ON FILE
CARLOS RUIZ CABRERA          ADDRESS ON FILE
CARLOS RUIZ GONZALEZ         ADDRESS ON FILE
CARLOS RUIZ RAMIREZ          ADDRESS ON FILE
CARLOS RUIZ ROSA             ADDRESS ON FILE
CARLOS RUIZ TIRADO           ADDRESS ON FILE
CARLOS RUIZ/MARINA RAMOS     ADDRESS ON FILE
CARLOS RULLAN RIOS           ADDRESS ON FILE
CARLOS S CASELLAS BADILLO    ADDRESS ON FILE
CARLOS S CASELLAS BADILLO    ADDRESS ON FILE
CARLOS S FIGUEROA            ADDRESS ON FILE
CARLOS S MELENDEZ SANTIAGO   ADDRESS ON FILE
CARLOS S QUIROS MENDEZ       ADDRESS ON FILE
CARLOS S RAMOS VELEZ         ADDRESS ON FILE
CARLOS S RODRIGUEZ PINA      ADDRESS ON FILE
CARLOS S RODRIGUEZ PINA      ADDRESS ON FILE
CARLOS S SANTIAGO VELEZ      ADDRESS ON FILE
CARLOS S. AYALA ROMAN        ADDRESS ON FILE
CARLOS SALAS RODRIGUEZ       ADDRESS ON FILE
CARLOS SALDANA RIOS          ADDRESS ON FILE
CARLOS SALGADO CLASS         ADDRESS ON FILE
CARLOS SALICO MAXZUD         ADDRESS ON FILE
CARLOS SALTZ BAKALAR         ADDRESS ON FILE
CARLOS SAMOL CRUZ            ADDRESS ON FILE
CARLOS SAMOT BETANCOURT      ADDRESS ON FILE
CARLOS SANCHEZ BASORA        ADDRESS ON FILE
CARLOS SANCHEZ BORRERO       ADDRESS ON FILE
CARLOS SANCHEZ CASTRO        ADDRESS ON FILE
CARLOS SANCHEZ FLORES        ADDRESS ON FILE
CARLOS SANCHEZ MONTANEZ      ADDRESS ON FILE
CARLOS SANCHEZ RODRIGUEZ     ADDRESS ON FILE
CARLOS SANCHEZ TORRES        ADDRESS ON FILE
CARLOS SANDOVAL JIMENEZ      ADDRESS ON FILE
Carlos Sanjurjo Cruz         ADDRESS ON FILE
CARLOS SANTALIZ PORRATA      ADDRESS ON FILE
CARLOS SANTANA ENCARNACION   ADDRESS ON FILE
CARLOS SANTANA GUZMAN        ADDRESS ON FILE
CARLOS SANTANA VEGA          ADDRESS ON FILE
CARLOS SANTIAGO              ADDRESS ON FILE
CARLOS SANTIAGO ACEVEDO      ADDRESS ON FILE
CARLOS SANTIAGO ALICEA       ADDRESS ON FILE
CARLOS SANTIAGO BARBOSA      ADDRESS ON FILE
CARLOS SANTIAGO CALDERON     ADDRESS ON FILE
CARLOS SANTIAGO COLON        ADDRESS ON FILE
CARLOS SANTIAGO LOPEZ        ADDRESS ON FILE
CARLOS SANTIAGO LUGO         ADDRESS ON FILE
CARLOS SANTIAGO MARTINEZ     ADDRESS ON FILE
CARLOS SANTIAGO MEDINA       ADDRESS ON FILE
CARLOS SANTIAGO RAMOS        ADDRESS ON FILE
CARLOS SANTIAGO RESTO        ADDRESS ON FILE
CARLOS SANTIAGO SANTIAGO     ADDRESS ON FILE
Carlos Santiago Tabales      ADDRESS ON FILE
CARLOS SANTIAGO TAVAREZ      ADDRESS ON FILE
CARLOS SANTIAGO VIDRO        ADDRESS ON FILE
CARLOS SANTOS COLON          ADDRESS ON FILE
CARLOS SANTOS GONZALEZ       ADDRESS ON FILE
CARLOS SANTOS RIVERA         ADDRESS ON FILE
CARLOS SANTOS RIVERA         ADDRESS ON FILE
CARLOS SERRANO QUINONES      ADDRESS ON FILE




                                                                         Page 1238 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1239 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARLOS SIERRA LEBRON             ADDRESS ON FILE
CARLOS SIMONS ENCARNACION        ADDRESS ON FILE
CARLOS SOL                       ADDRESS ON FILE
CARLOS SOLERO ROMAN              ADDRESS ON FILE
CARLOS SOLIVAN RODRIGUEZ         ADDRESS ON FILE
CARLOS SOSTRE SANTOS             ADDRESS ON FILE
CARLOS SOTO APONTE               ADDRESS ON FILE
CARLOS SOTO APONTE               ADDRESS ON FILE
CARLOS SOTO DE JESUS             ADDRESS ON FILE
CARLOS SOTO DE JESUS             ADDRESS ON FILE
CARLOS SOTO LARACUENTE           ADDRESS ON FILE
CARLOS SOTO OCASIO               ADDRESS ON FILE
CARLOS SOTO RIVERA               ADDRESS ON FILE
CARLOS SOTO ROMAN                ADDRESS ON FILE
CARLOS SOTOMAYOR ALONSO          ADDRESS ON FILE
CARLOS SUAREZ DE JESUS           ADDRESS ON FILE
CARLOS SUAREZ VAZQUEZ            ADDRESS ON FILE
CARLOS T ORTIZ ARROYO            ADDRESS ON FILE
CARLOS T TOLEDO FIGUEROA         ADDRESS ON FILE
CARLOS TAVAREZ NU¥EZ             ADDRESS ON FILE
CARLOS TIRADO MENDEZ             ADDRESS ON FILE
CARLOS TIRADO SANTOS             ADDRESS ON FILE
CARLOS TORRES & YOLANDA MOJICA   ADDRESS ON FILE
CARLOS TORRES ALGARIN            ADDRESS ON FILE
CARLOS TORRES CASIANO            ADDRESS ON FILE
CARLOS TORRES CORREA             ADDRESS ON FILE
CARLOS TORRES ORTIZ              ADDRESS ON FILE
CARLOS TORRES ORTIZ              ADDRESS ON FILE
CARLOS TORRES PINERO             ADDRESS ON FILE
CARLOS TORRES ROSAS              ADDRESS ON FILE
CARLOS TORRES SANTIAGO           ADDRESS ON FILE
CARLOS TORRES SANTOS             ADDRESS ON FILE
CARLOS TORRUELLAS IGLESIAS       ADDRESS ON FILE
CARLOS TRABAL                    ADDRESS ON FILE
CARLOS TRAVERSO ROSA             ADDRESS ON FILE
CARLOS TRUCKING INC              HC 5 BOX 55695                                                                   CAGUAS       PR      00725
CARLOS UMPIERRE SCHUCK           ADDRESS ON FILE
CARLOS URIARTE GONZALEZ          ADDRESS ON FILE
CARLOS V MORELL BORRERO          ADDRESS ON FILE
CARLOS V PEREZ CARDONA           ADDRESS ON FILE
CARLOS V PEREZ TOLEDO            ADDRESS ON FILE
CARLOS V SANTANA MADERA          ADDRESS ON FILE
CARLOS VALE RUIZ                 ADDRESS ON FILE
CARLOS VALENTIN FLORES           ADDRESS ON FILE
CARLOS VALENTIN MANTILLA         ADDRESS ON FILE
CARLOS VALENTIN TORRES           ADDRESS ON FILE
CARLOS VALENTIN VEGA             ADDRESS ON FILE
CARLOS VALLE ORENGO              ADDRESS ON FILE
CARLOS VALLEJO BENNETT           ADDRESS ON FILE
CARLOS VALLEJO MORALES           ADDRESS ON FILE
CARLOS VALLES MENDEZ             ADDRESS ON FILE
CARLOS VARGAS MARQUEZ            ADDRESS ON FILE
CARLOS VARGAS VARELA             ADDRESS ON FILE
CARLOS VARGAS, WILSON            ADDRESS ON FILE
CARLOS VAZQUEZ                   ADDRESS ON FILE
CARLOS VAZQUEZ CRUZ              ADDRESS ON FILE
CARLOS VAZQUEZ NEVAREZ           ADDRESS ON FILE
CARLOS VAZQUEZ TELLADO           ADDRESS ON FILE
CARLOS VAZQUEZ TORRES            ADDRESS ON FILE
CARLOS VAZQUEZ VIROLA            ADDRESS ON FILE




                                                                             Page 1239 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1240 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                     Address1                      Address2                               Address3   Address4   City         State   PostalCode   Country
CARLOS VEGA GODOY Y MARIA VEGA    ADDRESS ON FILE
CARLOS VEGA LUGO                  ADDRESS ON FILE
CARLOS VEGA MERCADO               ADDRESS ON FILE
CARLOS VEGA MUNIZ                 ADDRESS ON FILE
CARLOS VEGA MUNIZ                 ADDRESS ON FILE
CARLOS VEGA NEGRON                ADDRESS ON FILE
CARLOS VEGA QUINONES              ADDRESS ON FILE
CARLOS VEGA VELEZ                 ADDRESS ON FILE
CARLOS VELAZQUEZ ACEVEDO          ADDRESS ON FILE
CARLOS VELAZQUEZ AGOSTO           ADDRESS ON FILE
CARLOS VELAZQUEZ CEPEDA           ADDRESS ON FILE
CARLOS VELAZQUEZ DIAZ             ADDRESS ON FILE
CARLOS VELAZQUEZ DOBIE            ADDRESS ON FILE
CARLOS VELAZQUEZ GARCIA           ADDRESS ON FILE
CARLOS VELAZQUEZ GARCIA           ADDRESS ON FILE
CARLOS VELAZQUEZ GARCIA           ADDRESS ON FILE
CARLOS VELAZQUEZ QUINONES         ADDRESS ON FILE
CARLOS VELAZQUEZ RODRIGUEZ        ADDRESS ON FILE
CARLOS VELEZ CORREA               ADDRESS ON FILE
CARLOS VELEZ LOPEZ                ADDRESS ON FILE
CARLOS VELEZ MALDONADO            ADDRESS ON FILE
CARLOS VELEZ MALDONADO            ADDRESS ON FILE
CARLOS VELEZ MELENDEZ             ADDRESS ON FILE
CARLOS VELEZ MIRANDA              ADDRESS ON FILE
CARLOS VELEZ PABON                ADDRESS ON FILE
CARLOS VELEZ TORRES               ADDRESS ON FILE
CARLOS VELEZ VAZQUEZ              ADDRESS ON FILE
CARLOS VICENTE SANABRIA SANCHEZ   ADDRESS ON FILE
CARLOS VIDAL RIVERA               ADDRESS ON FILE
CARLOS VIDOT VAZQUEZ              ADDRESS ON FILE
CARLOS VILA /GVELOP LLC           264 CALLE HONDURAS APT PH 1                                                                SAN JUAN     PR      00917
CARLOS VILLAFANE ORTIZ            ADDRESS ON FILE
CARLOS VILLAHERMOSA CORDOVA       ADDRESS ON FILE
CARLOS VILLALOBOS MIRANDA         ADDRESS ON FILE
CARLOS VILLANUEVA FELICIANO       ADDRESS ON FILE
CARLOS VILLANUEVA FELICIANO       LCDA. SAMUEL A. SILVA ROSAS   65 CALLE PH HERNANDEZ                                        HATILLO      PR      00659
CARLOS VILLANUEVA MATIAS          ADDRESS ON FILE
CARLOS VILLARMAN OVIEDO           ADDRESS ON FILE
CARLOS VILLAVERDE VIZCARRONDO     ADDRESS ON FILE
CARLOS VILLEGAS GOMEZ             ADDRESS ON FILE
CARLOS VIVONI GONZALEZ            ADDRESS ON FILE
CARLOS W CANALS VILLANUEVA        ADDRESS ON FILE
CARLOS W CARRION RODRIGUEZ        ADDRESS ON FILE
CARLOS W LAMBOY                   ADDRESS ON FILE
CARLOS W LOPEZ FREYTES            ADDRESS ON FILE
CARLOS W PEREZ MORALES            ADDRESS ON FILE
CARLOS W TORRES VILLAFANE         ADDRESS ON FILE
CARLOS WESTERBAND                 ADDRESS ON FILE
CARLOS X BIGIO LOPEZ              ADDRESS ON FILE
CARLOS X IRIZARRY RIVERA          ADDRESS ON FILE
CARLOS X SANTIAGO RODRIGUEZ       ADDRESS ON FILE
CARLOS X. RIVERA RIVERA           LUIS A. BURGOS RIVERA         APARTADO 2464                                                GUAYAMA      PR      00785
CARLOS XAVIER GARCIA MELENDEZ     ADDRESS ON FILE
CARLOS Y COLON ACEVEDO            ADDRESS ON FILE
CARLOS Y PACHECO SANTIAGO         ADDRESS ON FILE
CARLOS Y SANCHEZ GARCIA           ADDRESS ON FILE
CARLOS Y SANTIAGO NEGRON          ADDRESS ON FILE
CARLOS Y TORRES GOMEZ             ADDRESS ON FILE
CARLOS YANCY CRESPO               ADDRESS ON FILE
CARLOS YUAN RODRIGUEZ COSME       ADDRESS ON FILE




                                                                                        Page 1240 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1241 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                            Address1                      Address2                       Address3             Address4   City           State   PostalCode   Country
CARLOS YUAN RODRIGUEZ COSME              ADDRESS ON FILE
CARLOS ZACCHEUS SOTO                     ADDRESS ON FILE
CARLOS ZACCHEUS SOTO                     ADDRESS ON FILE
CARLOS ZALDOUNDO VILLANUEVA              ADDRESS ON FILE
CARLOS ZAPATA/ NILDA MOLINA              ADDRESS ON FILE
CARLOS ZAYAS ALVARADO                    ADDRESS ON FILE
CARLOS, WILSON JR                        ADDRESS ON FILE
CARLOTA ALFARO COLLEGE INC               1750 CALLE LOIZA                                                                             SAN JUAN       PR      00911
CARLOTA J ACUNA                          ADDRESS ON FILE
CARLOTA PAREDES AMADOR                   ADDRESS ON FILE
CARLSON EMMANUELLI, LOURDES              ADDRESS ON FILE
CARLSON INC                              701 CARLSON PARKWAY MS 8253                                                                  MINNETONKA     MN      55305
CARLSON SOFTWARE                         33 EAST 2DR ST                                                                               MAYSVILLE      KY      41056
CARLTON DEVELOPMENT INC                  PMB 618 P O BOX 29029                                                                        SAN JUAN       PR      00929‐0029
CARMAN CUBINA, SYLVIA                    ADDRESS ON FILE
CARMARY MORALES VILLEGAS                 ADDRESS ON FILE
CARMELA RIVERA CARABALLO                 ADDRESS ON FILE
CARMELIA AVILES SANCHEZ                  ADDRESS ON FILE
CARMELINA FIGUEROA CASTRO                ADDRESS ON FILE
CARMELINA RODRIGUEZ BERMUDEZ             ADDRESS ON FILE
CARMELITA SANCHEZ ABREU                  ADDRESS ON FILE
Carmelito Torres Robles                  ADDRESS ON FILE
CARMELO A GONZALEZ CORRETJER/ ENVISION   ENERGY CORP                   URB MONTEREY                   246 CALLE HIMALAYA              SAN JUAN       PR      00926
CARMELO A OLIVER VAZQUEZ                 ADDRESS ON FILE
CARMELO A PADILLA ORTIZ                  ADDRESS ON FILE
CARMELO ACEVEDO AYENDE                   ADDRESS ON FILE
CARMELO ADORNO FERNANDEZ                 ADDRESS ON FILE
CARMELO ALBARRAN VILLAFANE               ADDRESS ON FILE
CARMELO ALFREDO PIZARRO DAVILA           ADDRESS ON FILE
CARMELO ALOMAR RODRIGUEZ                 ADDRESS ON FILE
CARMELO ALVARADO SANTOS                  ADDRESS ON FILE
CARMELO ANTUNA VALENTIN                  ADDRESS ON FILE
CARMELO ARCE MUNIZ                       ADDRESS ON FILE
CARMELO ARROYO FIGUEROA                  ADDRESS ON FILE
CARMELO ARZOLA RIVERA                    ADDRESS ON FILE
CARMELO AYALA AGOSTO                     ADDRESS ON FILE
CARMELO B ROSARIO AYALA                  ADDRESS ON FILE
CARMELO BAEZ FIGUEROA                    ADDRESS ON FILE
CARMELO BAEZ LAMPON                      ADDRESS ON FILE
CARMELO BATISTA CLASS                    ANTONIO L. ORTIZ GILOT        PO BOX 364503                                                  SAN JUAN       PR      00936
CARMELO BATISTA TORRES                   ADDRESS ON FILE
CARMELO BERRIOS VEGA                     ADDRESS ON FILE
CARMELO BETANCOURT CALO                  ADDRESS ON FILE
CARMELO BRUNO CORTES                     ADDRESS ON FILE
CARMELO BRUNO CORTES                     LCDO. OSVALDO BURGOS PEREZ    PO BOX 194211                                                  SAN JUAN       PR      00919‐4211
CARMELO CALCANO RIVERA                   ADDRESS ON FILE
CARMELO CALDERO PADILLA                  ADDRESS ON FILE
CARMELO CANTRES CRESPO                   ADDRESS ON FILE
CARMELO CARRION NIEVES                   ADDRESS ON FILE
CARMELO CASIANO AYALA                    ADDRESS ON FILE
CARMELO CINTRON VASQUES                  ADDRESS ON FILE
CARMELO CINTRON VAZQUEZ                  ADDRESS ON FILE
CARMELO COLON DE JESUS                   ADDRESS ON FILE
CARMELO COLON PEREZ                      ADDRESS ON FILE
CARMELO CONTRERAS RIVERA                 ADDRESS ON FILE
CARMELO COSME HERNANDEZ                  ADDRESS ON FILE
CARMELO COTTO CANCEL                     ADDRESS ON FILE
CARMELO CRESPO CABAN                     ADDRESS ON FILE
CARMELO CRESPO MARTINEZ                  ADDRESS ON FILE
CARMELO CRUZ FALERO                      ADDRESS ON FILE




                                                                                       Page 1241 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1242 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                    Address2                       Address3            Address4    City         State   PostalCode   Country
CARMELO CRUZ RIJOS                 ADDRESS ON FILE
CARMELO CRUZ ROSA                  ADDRESS ON FILE
CARMELO DAVILA TORRES              ADDRESS ON FILE
CARMELO DEL VALLE BONILLA          ADDRESS ON FILE
CARMELO DIAZ LOPEZ                 ADDRESS ON FILE
CARMELO DIAZ VAZQUEZ JR            ADDRESS ON FILE
CARMELO DIEPPA MENDOZA             ADDRESS ON FILE
CARMELO FELICIANO CRUZ             ADDRESS ON FILE
CARMELO FERNANDEZ GONZALEZ         ADDRESS ON FILE
CARMELO FIGUEROA / ROSA FIGUEROA   ADDRESS ON FILE
CARMELO FIGUEROA MALDONADO         ADDRESS ON FILE
CARMELO FIGUEROA MORALES           ADDRESS ON FILE
Carmelo Fonseca Figueroa           ADDRESS ON FILE
CARMELO FONSECA FIGUEROA           ADDRESS ON FILE
CARMELO GARCIA TORRES              ADDRESS ON FILE
CARMELO GOMEZ TORRES               ADDRESS ON FILE
CARMELO GONZALEZ                   ADDRESS ON FILE
CARMELO GONZALEZ REYES             ADDRESS ON FILE
CARMELO GONZALEZ ROBLES            ADDRESS ON FILE
CARMELO GONZALEZ RODRIGUEZ         ADDRESS ON FILE
CARMELO GONZALEZ TORRES            ADDRESS ON FILE
CARMELO GUZMAN RODRIGUEZ           ADDRESS ON FILE
CARMELO HERNANDEZ ALICEA           ADDRESS ON FILE
CARMELO HERNANDEZ MIRANDA          ADDRESS ON FILE
CARMELO IRIZARRY MALDONADO         ADDRESS ON FILE
CARMELO J RIVERA ROSADO            ADDRESS ON FILE
CARMELO JIMENEZ PEREZ              ADDRESS ON FILE
CARMELO JOEL CINTRON VIVAS         ADDRESS ON FILE
CARMELO LACEN CIRINO               ADDRESS ON FILE
CARMELO LOPEZ MARTINEZ             ADDRESS ON FILE
CARMELO LOPEZ SIERRA               ADDRESS ON FILE
CARMELO LOPEZ SIERRA               ADDRESS ON FILE
CARMELO LORENZANA VILLAFANE        ADDRESS ON FILE
CARMELO LORENZANA VILLAFANE        ADDRESS ON FILE
CARMELO LOUBRIEL LORENZO           ADDRESS ON FILE
CARMELO M AYALA SUARBE             ADDRESS ON FILE
CARMELO MALDONADO MARTINEZ         ADDRESS ON FILE
CARMELO MALDONADO ROSARIO          ADDRESS ON FILE
CARMELO MARQUEZ LOPEZ              ADDRESS ON FILE
CARMELO MARQUEZ LOPEZ              ADDRESS ON FILE
CARMELO MARQUEZ SANCHEZ Y OTROS    LIC YADIRA ADORNO DELGADO                             1605 Ponce DE LEON AVE   SUITE 600   SAN JUAN     PR      00909
CARMELO MARTINEZ ARROYO            ADDRESS ON FILE
CARMELO MARTINEZ ARROYO            ADDRESS ON FILE
CARMELO MARTINEZ GUTIERREZ         ADDRESS ON FILE
CARMELO MARTINEZ MORALES           ADDRESS ON FILE
CARMELO MARZAN CINTRON             ADDRESS ON FILE
CARMELO MEDINA VERGARA             ADDRESS ON FILE
CARMELO MELENDEZ MELENDEZ          ADDRESS ON FILE
CARMELO MENA MEDINA                ADDRESS ON FILE
Carmelo Mercado Lopez              ADDRESS ON FILE
Carmelo Mercado Lopez              ADDRESS ON FILE
CARMELO NEGRON GONZALEZ            ADDRESS ON FILE
CARMELO NEGRON RODRIGUEZ           ADDRESS ON FILE
CARMELO NEGRON RODRIGUEZ           ADDRESS ON FILE
Carmelo Nevarez Rosario            ADDRESS ON FILE
CARMELO NIEVES BONET               ADDRESS ON FILE
CARMELO NIEVES HERNANDEZ           ADDRESS ON FILE
CARMELO NIEVES MONJE               ADDRESS ON FILE
CARMELO NIEVES PEREZ               ADDRESS ON FILE
CARMELO NIEVES SANCHEZ             ADDRESS ON FILE




                                                                               Page 1242 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1243 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                      Address2                     Address3              Address4   City         State   PostalCode   Country
CARMELO NUNEZ GONZALEZ                 ADDRESS ON FILE
CARMELO NUNEZ MORALES                  ADDRESS ON FILE
CARMELO O CALDERAS                     ADDRESS ON FILE
CARMELO O RODRIGUEZ RODRIGUEZ          ADDRESS ON FILE
CARMELO ORTIZ MONTES                   ADDRESS ON FILE
CARMELO ORTIZ MONTES                   ADDRESS ON FILE
CARMELO ORTIZ VALENTIN                 ADDRESS ON FILE
CARMELO ORTIZ VAZQUEZ                  ADDRESS ON FILE
CARMELO PAGAN                          ADDRESS ON FILE
CARMELO PAGAN                          ADDRESS ON FILE
CARMELO PAGAN CARRERO                  ADDRESS ON FILE
CARMELO PAGAN ORTIZ                    ADDRESS ON FILE
CARMELO PAGAN SANTIAGO                 ADDRESS ON FILE
CARMELO PANTOJA OTERO                  ADDRESS ON FILE
CARMELO PARRILLA VELEZ                 ADDRESS ON FILE
CARMELO PASTRANA RAMOS                 ADDRESS ON FILE
CARMELO PEREZ BONILLA                  ADDRESS ON FILE
CARMELO PEREZ HERNANDEZ                ADDRESS ON FILE
                                                                                                  Ponce DE LEÓN AVE
                                                                                                  FIRST FEDERAL BLDG.
CARMELO PEREZ MORALES                  FRANCISCO R. GONZÁLEZ‐COLÓN                           1519 SUITE 805                        SAN JUAN     PR      00909
CARMELO PEREZ VEGA                     ADDRESS ON FILE
CARMELO PEREZ/ AURELIA VELAZQUEZ       ADDRESS ON FILE
CARMELO PINEIRO SANTIAGO               ADDRESS ON FILE
CARMELO PIZARRO DIAZ                   ADDRESS ON FILE
CARMELO PULLIZA DELGADO                ADDRESS ON FILE
CARMELO QUINONEZ DIAZ                  ADDRESS ON FILE
CARMELO QUINTANA LOPEZ                 ADDRESS ON FILE
CARMELO R CASTILLO DE JESUS            ADDRESS ON FILE
CARMELO RAMOS FLORES                   ADDRESS ON FILE
CARMELO RAMOS MORENO                   ADDRESS ON FILE
CARMELO RAMOS ROSAS                    ADDRESS ON FILE
CARMELO REYES VIRUET                   ADDRESS ON FILE
CARMELO RIVERA COLON                   ADDRESS ON FILE
CARMELO RIVERA DOMINGUEZ               ADDRESS ON FILE
CARMELO RIVERA MARTINEZ                ADDRESS ON FILE
CARMELO RIVERA MORALES                 ADDRESS ON FILE
CARMELO RIVERA RIVERA                  ADDRESS ON FILE
CARMELO RIVERA RODRIGUEZ               ADDRESS ON FILE
CARMELO RIVERA VALENTIN                ADDRESS ON FILE
CARMELO RODRIGUEZ ABREU                ADDRESS ON FILE
CARMELO RODRIGUEZ DE JESUS             ADDRESS ON FILE
CARMELO RODRIGUEZ FERNANDEZ            ADDRESS ON FILE
CARMELO RODRIGUEZ GONZALEZ             ADDRESS ON FILE
CARMELO RODRIGUEZ ORTIZ                ADDRESS ON FILE
CARMELO RODRIGUEZ ORTIZ                ADDRESS ON FILE
CARMELO RODRIGUEZ PAGAN                ADDRESS ON FILE
CARMELO RODRIGUEZ RIOS                 ADDRESS ON FILE
CARMELO RODRIGUEZ RIOS                 ADDRESS ON FILE
CARMELO RODRIGUEZ ROSA                 ADDRESS ON FILE
CARMELO ROMAN QUINONEZ                 ADDRESS ON FILE
CARMELO RONDON REYES                   ADDRESS ON FILE
CARMELO ROSA                           ADDRESS ON FILE
CARMELO ROSA CALDERON                  ADDRESS ON FILE
Carmelo Rosado Maldonado               ADDRESS ON FILE
CARMELO ROSARIO VELAZQUEZ              ADDRESS ON FILE
CARMELO ROSARIO VIERA                  ADDRESS ON FILE
CARMELO ROSARIO Y AURELIA ESCALERA     ADDRESS ON FILE
CARMELO RUIZ DELGADO                   ADDRESS ON FILE
CARMELO SALAS PLUMEY Y/O MYRNA SALAS   URB PONCE DE LEON             98 CALLE 20                                                   GUAYNABO     PR      00969




                                                                                   Page 1243 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1244 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                        Address1                               Address2                                     Address3                Address4   City      State   PostalCode   Country
CARMELO SANABRIA BLAS                ADDRESS ON FILE
CARMELO SANCHEZ CAMACHO              ADDRESS ON FILE
CARMELO SANCHEz SOTO                 ADDRESS ON FILE
CARMELO SANCHEZ TORRES               ADDRESS ON FILE
CARMELO SANCHEZ VAZQUEZ              ADDRESS ON FILE
CARMELO SANES RODRIGUEZ              ADDRESS ON FILE
CARMELO SANJURJO MORALES             ADDRESS ON FILE
CARMELO SANTANA LOPEZ                ADDRESS ON FILE
CARMELO SANTANA SEGARRA              ADDRESS ON FILE
CARMELO SANTANA TORRES               ADDRESS ON FILE
Carmelo Santiago Rodriguez           ADDRESS ON FILE
CARMELO SANTOS SANTOS                ADDRESS ON FILE
CARMELO SANTOS SANTOS                ADDRESS ON FILE
CARMELO SILVA COLLAZO                ADDRESS ON FILE
CARMELO SOTO BOSQUE                  ADDRESS ON FILE
CARMELO SOTO REYES                   ADDRESS ON FILE
CARMELO SUAREZ CRUZ                  ADDRESS ON FILE
CARMELO TALAVERA                     ADDRESS ON FILE
CARMELO TIRADO TOLENTINO             ADDRESS ON FILE
CARMELO TORRES MARTINEZ              ADDRESS ON FILE
CARMELO TORRES PABON                 ADDRESS ON FILE
CARMELO TORRES TORRES                ADDRESS ON FILE
CARMELO VALENTIN MERCADO             ADDRESS ON FILE
CARMELO VALENTIN Y/O LUIS VALENTIN   ADDRESS ON FILE
CARMELO VARGAS ALTIERY               ADDRESS ON FILE
CARMELO VAZQUEZ RIVERA               ADDRESS ON FILE
CARMELO VAZQUEZ RODRIGUEZ            ADDRESS ON FILE
                                                                                                                         PO BOX 10786 B‐5 NÚM.
CARMELO VEGA PACHECO                 SR. CARMELO VEGA PACHECO‐ DEMANDANTE SE INSTITUCIÓN MÁXIMA SEGURIDAD                4020                               Ponce     PR      00732
CARMELO VEGA VELEZ                   ADDRESS ON FILE
CARMEN ,JORGE , MARISOL VEGA Y       ADDRESS ON FILE
CARMEN A ACEVEDO                     ADDRESS ON FILE
CARMEN A ACOSTA GARCIA               ADDRESS ON FILE
CARMEN A ACOSTA INFANTE              ADDRESS ON FILE
CARMEN A ALBALADEJO                  ADDRESS ON FILE
CARMEN A ALICEA RESTO                ADDRESS ON FILE
CARMEN A APONTE BERDECIA             ADDRESS ON FILE
CARMEN A ARCE VAZQUEZ                ADDRESS ON FILE
CARMEN A BADILLO MATOS               ADDRESS ON FILE
CARMEN A BARREDA GARCIA              ADDRESS ON FILE
CARMEN A BARREDA GARCIA              ADDRESS ON FILE
CARMEN A BELEN GARRIGA               ADDRESS ON FILE
CARMEN A BENITEZ GONZALEZ            ADDRESS ON FILE
CARMEN A BERRIOS BERRIOS             ADDRESS ON FILE
CARMEN A BERRIOS RODRIGUEZ           ADDRESS ON FILE
CARMEN A BRUNO PADRO                 ADDRESS ON FILE
CARMEN A CABALLERO CARRASQUILLO      ADDRESS ON FILE
CARMEN A CABRERA RODRIGUEZ           ADDRESS ON FILE
CARMEN A CARDONA RIVERA              ADDRESS ON FILE
CARMEN A CARRION MOJICA              ADDRESS ON FILE
CARMEN A CATALA CRUZ                 ADDRESS ON FILE
CARMEN A CHICLANA PIZARRO            ADDRESS ON FILE
CARMEN A CLASS PEREZ                 ADDRESS ON FILE
CARMEN A CORREA CIRINO               ADDRESS ON FILE
CARMEN A COSME RIOS                  ADDRESS ON FILE
CARMEN A CRUZ UBARRI                 ADDRESS ON FILE
CARMEN A DE LEON VELAZQUEZ           ADDRESS ON FILE
CARMEN A DEL VALLE CORTEZ            ADDRESS ON FILE
CARMEN A DELGADO RIVERA              ADDRESS ON FILE
CARMEN A DELGADO VELAZQUEZ           ADDRESS ON FILE




                                                                                                       Page 1244 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1245 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN A DIAZ PENA                    ADDRESS ON FILE
CARMEN A DIAZ REYES                   ADDRESS ON FILE
CARMEN A DUCRET / LUIS LOPEZ          ADDRESS ON FILE
CARMEN A EGIPCIACO FIGUEROA           ADDRESS ON FILE
CARMEN A EMMANUELLE                   ADDRESS ON FILE
CARMEN A ESPADA MATTEI                ADDRESS ON FILE
CARMEN A ESPIET RIOS                  ADDRESS ON FILE
CARMEN A FEBUS RIVERA                 ADDRESS ON FILE
CARMEN A HERNANDEZ RIVERA             ADDRESS ON FILE
CARMEN A JIMENEZ FIGUEROA             ADDRESS ON FILE
CARMEN A LAFUENTE RODRIGUEZ           ADDRESS ON FILE
CARMEN A LEBRON MONTES                ADDRESS ON FILE
CARMEN A LOPEZ ROLON                  ADDRESS ON FILE
CARMEN A LUGO FOURNIER                ADDRESS ON FILE
CARMEN A LUGO FOURNIER                ADDRESS ON FILE
CARMEN A LUGO TORRES                  ADDRESS ON FILE
CARMEN A MARDALES ESCANELLAS          ADDRESS ON FILE
CARMEN A MARRERO MERCADO              ADDRESS ON FILE
CARMEN A MARTIN                       ADDRESS ON FILE
CARMEN A MARTINEZ PRIETO              ADDRESS ON FILE
CARMEN A MERCED ALICEA                ADDRESS ON FILE
CARMEN A MOLINA AYALA                 ADDRESS ON FILE
CARMEN A MONTANEZ MELENDEZ            ADDRESS ON FILE
CARMEN A MORALES DE JESUS             ADDRESS ON FILE
CARMEN A NACER RODRIGUEZ              ADDRESS ON FILE
CARMEN A OLMO REYES                   ADDRESS ON FILE
CARMEN A ORTIZ RESTO                  ADDRESS ON FILE
CARMEN A PENA HERNANDEZ               ADDRESS ON FILE
CARMEN A PENA MEJIA                   ADDRESS ON FILE
CARMEN A PEREZ / GLORIA E RODRIGUEZ   ADDRESS ON FILE
CARMEN A PEREZ PAGAN                  ADDRESS ON FILE
CARMEN A PESANTE MARTINEZ             ADDRESS ON FILE
CARMEN A PINA FRAGOSA                 ADDRESS ON FILE
CARMEN A PINERO CEDRES                ADDRESS ON FILE
CARMEN A QUIJANO FELIX                ADDRESS ON FILE
CARMEN A QUINONES PARILLA             ADDRESS ON FILE
CARMEN A QUINONES RODRIGUEZ           ADDRESS ON FILE
CARMEN A RAMOS PEREZ                  ADDRESS ON FILE
CARMEN A RAMOS ROLON                  ADDRESS ON FILE
CARMEN A REYES CORREA                 ADDRESS ON FILE
CARMEN A REYES HERNANDEZ              ADDRESS ON FILE
CARMEN A REYES OYOLA                  ADDRESS ON FILE
CARMEN A REYES RIVERA                 ADDRESS ON FILE
CARMEN A RIVERA ARCE                  ADDRESS ON FILE
CARMEN A RIVERA ARCE                  ADDRESS ON FILE
CARMEN A RIVERA PAGAN                 ADDRESS ON FILE
CARMEN A RIVERA RIVERA                ADDRESS ON FILE
CARMEN A RIVERA ROSADO                ADDRESS ON FILE
CARMEN A RIVERA TORRES                ADDRESS ON FILE
CARMEN A RODRIGUEZ BALAGUER           ADDRESS ON FILE
CARMEN A RODRIGUEZ BALAGUER           ADDRESS ON FILE
CARMEN A RODRIGUEZ MARTINEZ           ADDRESS ON FILE
CARMEN A RODRIGUEZ PEREZ              ADDRESS ON FILE
CARMEN A RODRIGUEZ RODRIGEZ           ADDRESS ON FILE
CARMEN A ROJAS RIVERA                 ADDRESS ON FILE
CARMEN A ROSARIO NUNEZ                ADDRESS ON FILE
CARMEN A SANCHEZ CABEZUDO             ADDRESS ON FILE
CARMEN A SANCHEZ RAMOS                ADDRESS ON FILE
CARMEN A SANTIAGO ACEVEDO             ADDRESS ON FILE
CARMEN A SANTIAGO PEREZ               ADDRESS ON FILE




                                                                                  Page 1245 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1246 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3             Address4    City         State   PostalCode   Country
CARMEN A SANTOS CRUZ                     ADDRESS ON FILE
CARMEN A SIERRA ALVARADO                 ADDRESS ON FILE
CARMEN A SILVA SANCHEZ                   ADDRESS ON FILE
CARMEN A SOTO FIGUEROA                   ADDRESS ON FILE
CARMEN A SUAREZ OTERO                    ADDRESS ON FILE
CARMEN A SURILLO GUTIERREZ               ADDRESS ON FILE
CARMEN A TIBEN MARTINEZ                  ADDRESS ON FILE
CARMEN A TIRADO CASIANO                  ADDRESS ON FILE
CARMEN A TORRES ESCOBAR                  ADDRESS ON FILE
CARMEN A TORRES SANTIAGO                 ADDRESS ON FILE
CARMEN A VALLES SANTIAGO                 ADDRESS ON FILE
CARMEN A VAZQUEZ VAZQUEZ                 ADDRESS ON FILE
CARMEN A VEGA RUIZ                       ADDRESS ON FILE
CARMEN A VELEZ CARABALLO                 ADDRESS ON FILE
CARMEN A VIDAL ORENGO                    ADDRESS ON FILE
CARMEN A VILLAR PRADOS                   ADDRESS ON FILE
CARMEN A WEBB GUERRA                     ADDRESS ON FILE
CARMEN A WEBB GUERRA                     ADDRESS ON FILE
CARMEN A. ANDINO ORTA                    ADDRESS ON FILE
CARMEN A. APONTE RIVERA                  ADDRESS ON FILE
CARMEN A. COLON MIRANDA                  ADDRESS ON FILE
CARMEN A. CONCEPCION MARTINEZ            ADDRESS ON FILE
CARMEN A. DIAZ ROJAS                     ADDRESS ON FILE
CARMEN A. DOMINGUEZ RUIZ                 ADDRESS ON FILE
CARMEN A. GARCIA                         ADDRESS ON FILE
CARMEN A. HERNAIZ ALVAREZ                ADDRESS ON FILE
CARMEN A. JIMENEZ LOPEZ                  ADDRESS ON FILE
CARMEN A. LUGO TORRES                    ADDRESS ON FILE
CARMEN A. MONTAðEZ ROSA                  ADDRESS ON FILE
CARMEN A. MONTANEZ ROSA                  ADDRESS ON FILE
CARMEN A. RODRIGUEZ PAGAN                ADDRESS ON FILE
CARMEN A. RODRIGUEZ RODRIGUEZ            ADDRESS ON FILE
CARMEN A. ROMEU TORO                     ADDRESS ON FILE
CARMEN A. SANCHEZ RAMOS                  CARMEN A. SANCHEZ RAMOS (DERECHO PROPIO BO. CAMPANILLAS                            CALLE IGLESIAS 172               TOA BAJA     PR      00949
CARMEN A. TORRES CONDE                   ADDRESS ON FILE
CARMEN A. WEBB GUERRA                    ADDRESS ON FILE
CARMEN A. WEBB GUERRA                    ADDRESS ON FILE
CARMEN ABOLAFIA MALDONADO                ADDRESS ON FILE
CARMEN ABREU VALENTIN                    ADDRESS ON FILE
CARMEN ABRIL SAN MIGUEL                  ADDRESS ON FILE
CARMEN ABRIL SAN MIGUEL                  ADDRESS ON FILE
CARMEN ACEVEDO GARCIA                    ADDRESS ON FILE
CARMEN ACEVEDO TRAVERSO                  ADDRESS ON FILE
CARMEN ACEVEDO VELEZ                     ADDRESS ON FILE
CARMEN ACOSTA                            ADDRESS ON FILE
CARMEN ACOSTA RIVERA                     ADDRESS ON FILE
                                                                                                                            1509 CALLE LÓPEZ
CARMEN ACOSTA SANCHEZ                 JUAN M MARTÍNEZ NEVÁREZ                   GONZÁLEZ & MARTÍNEZ                         LANDRÓN              7TH FLOOR   SAN JUAN     PR      00911‐1944
CARMEN ACOSTA SANCHEZ                 LEILA CASTRO MOYA                         555 BUTTERFIELD RD. #116                                                     HOUSTON      TX      77090
CARMEN AGOSTO RIVERA                  ADDRESS ON FILE
CARMEN AGOSTO RIVERA                  ADDRESS ON FILE
CARMEN AGOSTO SERRANO Y OTROS DEPARTAMLCDO. MIGUEL SIMONET SIERRA Y LCDA ALEXAND101 AVE. SAN PATRICIO SUITE 1120                                             GUAYNABO     PR      00968
CARMEN AGUERO JOUBERT                 ADDRESS ON FILE
CARMEN AGUIRRE COLON                  ADDRESS ON FILE
CARMEN AIDA CASTRO                    ADDRESS ON FILE
CARMEN ALAMO                          ADDRESS ON FILE
CARMEN ALBARRAN CRUZ                  ADDRESS ON FILE
CARMEN ALBARRAN VELEZ                 ADDRESS ON FILE
CARMEN ALBURQUERQUE ORTIZ             ADDRESS ON FILE
CARMEN ALICEA CORREA                  ADDRESS ON FILE




                                                                                                             Page 1246 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1247 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                           Address1                              Address2                                  Address3   Address4   City              State   PostalCode   Country
CARMEN ALICEA GARCIA                    ADDRESS ON FILE
CARMEN ALICEA HUACUZ                    ADDRESS ON FILE
CARMEN ALICEA LAFOSSE                   ADDRESS ON FILE
CARMEN ALICEA MERCADO                   ADDRESS ON FILE
CARMEN ALICEA MERCED                    ADDRESS ON FILE
CARMEN ALICEA RODRIGUEZ MEJIAS          ADDRESS ON FILE
CARMEN ALICIA LÓPEZ ROLÓN               LCDO. FREDESWIN PÉREZ CABALLERO       PO BOX 723                                                      CAGUAS            PR      00726‐0723
CARMEN ALLENDE MOJICA                   ADDRESS ON FILE
CARMEN ALMODOVAR COLON                  ADDRESS ON FILE
CARMEN ALMODOVAR GARCIA                 ADDRESS ON FILE
CARMEN ALMODOVAR RODRIGUEZ              ADDRESS ON FILE
CARMEN ALMODOVAR VAZQUEZ                ADDRESS ON FILE
CARMEN ALVARADO                         ADDRESS ON FILE
CARMEN ALVARADO DE JESUS                ADDRESS ON FILE
CARMEN ALVARADO TORRES                  ADDRESS ON FILE
CARMEN ALVAREZ AYALA                    ADDRESS ON FILE
CARMEN ALVAREZ TORRES                   ADDRESS ON FILE
CARMEN ALVERIO SANCHEZ                  ADDRESS ON FILE
CARMEN AMADO BAEZ                       ADDRESS ON FILE
CARMEN AMALIA TRINIDAD MARTINEZ         ADDRESS ON FILE
CARMEN AMERAL                           ADDRESS ON FILE
CARMEN AMERAL, MD                       ADDRESS ON FILE
CARMEN AMPARO RIOS RIVERA               ADDRESS ON FILE
CARMEN ANA ALICEA DE LEON               ADDRESS ON FILE
CARMEN ANA DIAZ APONTE                  ADDRESS ON FILE
CARMEN ANA MELENDEZ MONTANEZ            ADDRESS ON FILE
CARMEN ANA MORALES CORDERO              ADDRESS ON FILE
CARMEN ANA OLIVERA                      ADDRESS ON FILE
CARMEN ANA ORTIZ CRUZ                   ADDRESS ON FILE
CARMEN ANDINO VERGARA                   ADDRESS ON FILE
CARMEN ANNETTE VIDAL SANTIAGO           ADDRESS ON FILE
CARMEN ANTIGUA                          ADDRESS ON FILE
CARMEN ANTONETTY/ JUAN ANTONETTY        ADDRESS ON FILE
CARMEN APONTE MONTALVO                  ADDRESS ON FILE
CARMEN AQUINO CRESPO                    ADDRESS ON FILE
CARMEN AQUINO VENTURA                   ADDRESS ON FILE
CARMEN ARANA BEAUCHAMP                  ADDRESS ON FILE
CARMEN ARANA MARTIR                     ADDRESS ON FILE
CARMEN ARIAS TORRES                     ADDRESS ON FILE
CARMEN AROCHO HERNANDEZ                 ADDRESS ON FILE
CARMEN AROCHO SANCHEZ                   LCDA. ALEXANDRA TERESA NOLLA ACOSTA   3051 AVE. JUAN HERNÁNDEZ ORTIZ            STE. 202              ISABELA           PR      00662
CARMEN AROCHO SANCHEZ                   LCDO. CARLOS CRESPO PENDÁS            PO BOX 5457                                                     SAN SEBASTIÁN     PR      00685
CARMEN AROCHO VEGA                      ADDRESS ON FILE
CARMEN ARROYO ARROYO                    ADDRESS ON FILE
CARMEN ARROYO ARROYO/ MULTI BATTERIES & FORKLIFTS                             HC 6 BOX 2064                                                   PONCE             PR      00731‐9602
CARMEN ASHBY                            ADDRESS ON FILE
CARMEN ASTACIO CARABALLO                ADDRESS ON FILE
CARMEN AUREA NAVARRO SANTO DOMINGO ADDRESS ON FILE
CARMEN AURORA RIVERA                    ADDRESS ON FILE
CARMEN AURORA TORRES RAMIREZ            ADDRESS ON FILE
CARMEN AVILES MALDONADO                 ADDRESS ON FILE
CARMEN AVILES MALDONADO                 ADDRESS ON FILE
CARMEN AVILES MATIAS                    ADDRESS ON FILE
Carmen Aviles Pérez                     ADDRESS ON FILE
CARMEN AVILES QUINONES                  ADDRESS ON FILE
CARMEN AVILES RODRIGUEZ                 ADDRESS ON FILE
CARMEN AVILES ROSARIO                   ADDRESS ON FILE
CARMEN AVINO MIRANDA                    ADDRESS ON FILE
CARMEN AWILDA VAZQUEZ COLON             ADDRESS ON FILE
CARMEN AYALA ACEVEDO                    ADDRESS ON FILE




                                                                                                         Page 1247 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1248 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                             Address1                     Address2                                       Address3   Address4   City      State   PostalCode   Country
CARMEN AYALA FIGUEROA                     ADDRESS ON FILE
CARMEN AYALA FIGUEROA                     ADDRESS ON FILE
CARMEN AYALA MONTIJO                      ADDRESS ON FILE
CARMEN AYALA NATER                        ADDRESS ON FILE
CARMEN AYALA PAGAN                        ADDRESS ON FILE
CARMEN AYALA PAGAN                        ADDRESS ON FILE
CARMEN AYALA PAGAN                        ADDRESS ON FILE
CARMEN AYALA PARA KIARA PERAZA Y ENILEE   ADDRESS ON FILE
CARMEN B ALBINO Y JOSE PENA RIVAS         ADDRESS ON FILE
CARMEN B ARRIETA RIVERA                   ADDRESS ON FILE
CARMEN B GONZALEZ MERCADO                 ADDRESS ON FILE
CARMEN B LOPEZ HERNANDEZ                  ADDRESS ON FILE
CARMEN B LOPEZ LOPEZ                      ADDRESS ON FILE
CARMEN B MORALES VAZQUEZ                  ADDRESS ON FILE
CARMEN B OLIVERAS FERRER                  ADDRESS ON FILE
CARMEN B ORTIZ MEDINA                     ADDRESS ON FILE
CARMEN B PACHECO MARTINEZ                 ADDRESS ON FILE
CARMEN B PAGAN TORRES                     ADDRESS ON FILE
CARMEN B QUINONES VELAZQUEZ               ADDRESS ON FILE
CARMEN B QUINTANA RAMIREZ                 ADDRESS ON FILE
CARMEN B RAMOS/ JASMINE M RODRIGUEZ       ADDRESS ON FILE
CARMEN B ROJAS ESCALANTE                  ADDRESS ON FILE
CARMEN B SAN MIGUEL AYALA                 ADDRESS ON FILE
CARMEN B TORRES PEREZ                     ADDRESS ON FILE
CARMEN B VARGAS IRIZARRY                  ADDRESS ON FILE
CARMEN B VARGAS IRIZARRY                  ADDRESS ON FILE
CARMEN B VELEZ SANCHEZ                    ADDRESS ON FILE
CARMEN BAEZ BARRETO                       ADDRESS ON FILE
CARMEN BAEZ MONTANEZ                      ADDRESS ON FILE
CARMEN BAEZ MORENO                        ADDRESS ON FILE
CARMEN BAEZ ORTIZ                         ADDRESS ON FILE
CARMEN BAEZ QUIðONES                      ADDRESS ON FILE
CARMEN BAEZ QUIðONES                      ADDRESS ON FILE
CARMEN BAEZ QUINONES                      ADDRESS ON FILE
CARMEN BAEZ QUINONES                      ADDRESS ON FILE
CARMEN BAEZ QUINONES                      ADDRESS ON FILE
CARMEN BAEZ QUINONEZ                      ADDRESS ON FILE
CARMEN BATISTA NEGRON                     ADDRESS ON FILE
CARMEN BATISTA ORTIZ                      ADDRESS ON FILE
CARMEN BATISTA ROBLES                     ADDRESS ON FILE
CARMEN BATIZ GIMÉNEZ                      LCDA. SYLVIA M. SOTO MATOS   CALLE 2‐D‐18 URB. LA PLANICIE                                        CAYEY     PR      00736
CARMEN BEATRIZ FERRER FRATICELLI          ADDRESS ON FILE
CARMEN BELEN RUIZ ORTIZ                   ADDRESS ON FILE
CARMEN BELTRAN DONES                      ADDRESS ON FILE
CARMEN BENITEZ VELEZ                      ADDRESS ON FILE
CARMEN BERBERENA CARRION                  ADDRESS ON FILE
CARMEN BERGOLLO CRUZ                      ADDRESS ON FILE
CARMEN BERMUDEZ STEVENS                   ADDRESS ON FILE
CARMEN BERNARDI                           ADDRESS ON FILE
CARMEN BETSY ROJAS ESCALANTE              ADDRESS ON FILE
CARMEN BEZARES RIVERA                     ADDRESS ON FILE
CARMEN BLANCO DOMINGUEZ                   ADDRESS ON FILE
CARMEN BOBADILLA RODRIGUEZ                ADDRESS ON FILE
CARMEN BONILLA MARTINEZ                   ADDRESS ON FILE
CARMEN BONILLA RODRIGUEZ                  ADDRESS ON FILE
CARMEN BRACEY                             ADDRESS ON FILE
CARMEN BRUNO SILVA                        ADDRESS ON FILE
CARMEN BURGOS CONTRERAS                   ADDRESS ON FILE
CARMEN BURGOS MERCADO                     ADDRESS ON FILE
CARMEN BURGOS RIVERA                      ADDRESS ON FILE




                                                                                                       Page 1248 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1249 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                      Address2                     Address3   Address4   City              State   PostalCode   Country
CARMEN BURGOS ROSADO          ADDRESS ON FILE
CARMEN C AVILES LAUSELL       ADDRESS ON FILE
CARMEN C BARRERAS LOPEZ       ADDRESS ON FILE
CARMEN C BARRERAS LOPEZ       ADDRESS ON FILE
CARMEN C COLON SANTIAGO       ADDRESS ON FILE
CARMEN C CORONAS APONTE       ADDRESS ON FILE
CARMEN C CORTES ADORNO        ADDRESS ON FILE
CARMEN C DAVILA BOZA          ADDRESS ON FILE
CARMEN C EGURBIDA AROCHO      ADDRESS ON FILE
CARMEN C ORTIZ DE JESUS       ADDRESS ON FILE
CARMEN C PADILLA MORALES      ADDRESS ON FILE
CARMEN C RIVERA PLAZA         ADDRESS ON FILE
CARMEN C RODRIGUEZ IRIZARRY   ADDRESS ON FILE
CARMEN C RODRIGUEZ MONTALVO   ADDRESS ON FILE
CARMEN C RODRIGUEZ MONTES     ADDRESS ON FILE
CARMEN C RODRIGUEZ MONTES     ADDRESS ON FILE
CARMEN C RUIZ GARCIA          ADDRESS ON FILE
CARMEN C RUIZ REXACH          ADDRESS ON FILE
CARMEN C TANCO RIVERA         ADDRESS ON FILE
CARMEN C. GRAU PICORELLI      ADDRESS ON FILE
CARMEN C. SALAS SERRANO       ADDRESS ON FILE
CARMEN C. WALKER ROMERO       ADDRESS ON FILE
CARMEN CABALLERO              ADDRESS ON FILE
CARMEN CABAN GARCIA           ADDRESS ON FILE
CARMEN CABRERA ARTACHE        ADDRESS ON FILE
CARMEN CABRERA FUENTES        ADDRESS ON FILE
CARMEN CABRERA PENA           ADDRESS ON FILE
CARMEN CAISEDA ACANTILADO     ADDRESS ON FILE
CARMEN CAISEDA ACANTILADO     ADDRESS ON FILE
CARMEN CALLAZO CEDENO         ADDRESS ON FILE
CARMEN CALZADA CARABALLO      ADDRESS ON FILE
CARMEN CAMACHO DELGADO        ADDRESS ON FILE
CARMEN CAMACHO LLANOS         ADDRESS ON FILE
CARMEN CAMACHO SANTIAGO       ADDRESS ON FILE
CARMEN CANALES AYALA          ADDRESS ON FILE
CARMEN CANCEL GONZALEZ        ADDRESS ON FILE
CARMEN CANDELARIA GONZALEZ    ADDRESS ON FILE
CARMEN CARABALLO AQUINO       ADDRESS ON FILE
CARMEN CARDONA CABAN          ADDRESS ON FILE
CARMEN CARDONA GONZALEZ       ADDRESS ON FILE
CARMEN CARDONA OLLER          ADDRESS ON FILE
CARMEN CARDONA OLLER          ADDRESS ON FILE
CARMEN CARMELO ALMEIDA        ADDRESS ON FILE
CARMEN CARRASQUILLO BIGIO     ADDRESS ON FILE
CARMEN CARRASQUILLO GARCIA    ADDRESS ON FILE
CARMEN CARRASQUILLO VICENTE   ADDRESS ON FILE
CARMEN CARRERA MOLINA         ADDRESS ON FILE
CARMEN CARRILLO FRAGUADA      ADDRESS ON FILE
CARMEN CARRION SOSA           ADDRESS ON FILE
CARMEN CARTAGENA DIAZ         ADDRESS ON FILE
CARMEN CASIANO BAEZ           ADDRESS ON FILE
CARMEN CASIANO COLLAZO        ADDRESS ON FILE
CARMEN CASIANO SANCHEZ        ADDRESS ON FILE
CARMEN CASIANO TORRES         LCDO. JOSE R SERVERA RIVERA   PO BOX 234                                         SAN GERMAN        PR      00683
CARMEN CASTILLO CORREA        ADDRESS ON FILE
CARMEN CASTILLO VARGAS        ADDRESS ON FILE
CARMEN CASTRO CASTRO          ADDRESS ON FILE
CARMEN CASTRO COLON           ADDRESS ON FILE
CARMEN CASUL AQUINO           ADDRESS ON FILE
CARMEN CATERING SERVICES      PO BOX 952                                                                       TRUJILLO ALTO     PR      00978




                                                                          Page 1249 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1250 of 3500
                                                                              17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                  Address1                         Address2                                  Address3           Address4   City         State   PostalCode   Country
CARMEN CENTENO DIAZ            ADDRESS ON FILE
CARMEN CEPEDA RAMOS            ADDRESS ON FILE
CARMEN CEPEDA RAMOS            ADDRESS ON FILE
CARMEN CHICO Y SONIA M CHICO   ADDRESS ON FILE
CARMEN CINTRON MERCADO         ADDRESS ON FILE
CARMEN CIRINO CANALES          ADDRESS ON FILE
CARMEN CLASS CLASS             ADDRESS ON FILE
CARMEN CLAUDIO ANDALUZ         ADDRESS ON FILE
CARMEN CLAUDIO VAZQUEZ         ADDRESS ON FILE
CARMEN COLLAZO GONZALEZ        ADDRESS ON FILE
CARMEN COLLAZO RODRIGUEZ       ADDRESS ON FILE
CARMEN COLLAZO ROSARIO         ADDRESS ON FILE
CARMEN COLLAZO SANTOS          ADDRESS ON FILE
CARMEN COLON BAEZ              ADDRESS ON FILE
CARMEN COLON CABAN             ADDRESS ON FILE
CARMEN COLON MARTINEZ          ADDRESS ON FILE
CARMEN COLON MEDINA            ADDRESS ON FILE
CARMEN COLON MUNIZ             ADDRESS ON FILE
CARMEN COLON ORTIZ             ADDRESS ON FILE
CARMEN COLON ORTIZ             ADDRESS ON FILE
CARMEN COLON ORTIZ             ADDRESS ON FILE
CARMEN COLON RESTO             ADDRESS ON FILE
CARMEN COLON SANTOS            ADDRESS ON FILE
CARMEN COLON TORRES            ADDRESS ON FILE
CARMEN COLON VAZQUEZ           ADDRESS ON FILE
CARMEN CONCEPCION RIVERA       ADDRESS ON FILE
CARMEN CORDERO MOLINA          ADDRESS ON FILE
CARMEN CORDERO TORRES          ADDRESS ON FILE
CARMEN CORREA ARROYO           ADDRESS ON FILE
CARMEN CORREA RIVERA           ADDRESS ON FILE
CARMEN CORTES MARQUEZ          LCDA. ALEXANDRA NOLLA ACOSTA     LCDA. ALEXANDRA NOLLA ACOSTA 3051 AVE. JUASTE. 202                      ISABELA      PR      00662
CARMEN CORTES MARQUEZ          LCDO. MIGUEL A. OLMEDO           LCDO. MIGUEL A. OLMEDO PMB 914 AVE. WINSTON CHURCHILL #138              SAN JUAN     PR      00926‐6013
CARMEN COSME                   ADDRESS ON FILE
CARMEN COSTAS APONTE           ADDRESS ON FILE
CARMEN COTTO                   ADDRESS ON FILE
CARMEN COTTO NAVARETTO         ADDRESS ON FILE
CARMEN COTTO ORENGO            ADDRESS ON FILE
CARMEN COTTO RODRIGUEZ         ADDRESS ON FILE
CARMEN COUVERTIER COLLAZO      ADDRESS ON FILE
CARMEN CRESPO SANTOS           ADDRESS ON FILE
CARMEN CRESPO TOLEDO           ADDRESS ON FILE
CARMEN CRUZ ALICEA             ADDRESS ON FILE
CARMEN CRUZ CARINO             ADDRESS ON FILE
CARMEN CRUZ DIAZ               ADDRESS ON FILE
CARMEN CRUZ LOPEZ              ADDRESS ON FILE
CARMEN CRUZ MEDINA             ADDRESS ON FILE
CARMEN CRUZ MEJIAS             ADDRESS ON FILE
CARMEN CRUZ MELENDEZ           ADDRESS ON FILE
CARMEN CRUZ MIRANDA            ADDRESS ON FILE
CARMEN CRUZ MORALES            ADDRESS ON FILE
CARMEN CRUZ NARVAEZ            ADDRESS ON FILE
CARMEN CRUZ RODRIGUEZ          ADDRESS ON FILE
CARMEN CRUZ ROMAN              ADDRESS ON FILE
CARMEN CUADRADO                GILLERMO A. RODRIGUEZ SANTIAGO   PO BOX 3024                                                             CAGUAS       PR      00726
CARMEN CUADRADO ROMAN          ADDRESS ON FILE
CARMEN CUADRADO ROMAN          ADDRESS ON FILE
CARMEN D AGRON RIVERA          ADDRESS ON FILE
CARMEN D AMARO MEDINA          ADDRESS ON FILE
CARMEN D AVILES                ADDRESS ON FILE
CARMEN D BERRIOS MIRANDA       ADDRESS ON FILE




                                                                                           Page 1250 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1251 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN D BERRIOS PINA            ADDRESS ON FILE
CARMEN D BUFFILL                 ADDRESS ON FILE
CARMEN D CABAN HERRERA           ADDRESS ON FILE
CARMEN D CABAN HERRERA           ADDRESS ON FILE
CARMEN D CAMPOS RAMOS            ADDRESS ON FILE
CARMEN D CAMPOS RIVERA           ADDRESS ON FILE
CARMEN D CARABALLO VELEZ         ADDRESS ON FILE
CARMEN D CARMONA CRUZ            ADDRESS ON FILE
CARMEN D CARRASQUILLO GONZALEZ   ADDRESS ON FILE
CARMEN D CARRER NAZARIO          ADDRESS ON FILE
CARMEN D CARRION DIAZ            ADDRESS ON FILE
CARMEN D CASANOVA GONZALEZ       ADDRESS ON FILE
CARMEN D COLON CRUZ              ADDRESS ON FILE
CARMEN D COLON LOPEZ             ADDRESS ON FILE
CARMEN D COLON LOPEZ             ADDRESS ON FILE
CARMEN D CORTON SANCHEZ          ADDRESS ON FILE
CARMEN D CRUZ RIVERA             ADDRESS ON FILE
CARMEN D DE JESUS AMARO          ADDRESS ON FILE
CARMEN D DEL CASTILLO REYES      ADDRESS ON FILE
Carmen D Del Valle Navarrete     ADDRESS ON FILE
CARMEN D DIAZ DIAZ               ADDRESS ON FILE
CARMEN D FIGUEROA                ADDRESS ON FILE
CARMEN D FIGUEROA CRUZ           ADDRESS ON FILE
CARMEN D FIGUEROA FIGUEROA       ADDRESS ON FILE
CARMEN D FRANCESCHINI COLON      ADDRESS ON FILE
CARMEN D GARCIA COLON            ADDRESS ON FILE
CARMEN D GONZALEZ DE RODRIGUEZ   ADDRESS ON FILE
CARMEN D GONZALEZ RODRIGUEZ      ADDRESS ON FILE
CARMEN D GUZMAN                  ADDRESS ON FILE
CARMEN D GUZMAN MORA             ADDRESS ON FILE
CARMEN D GUZMAN VAZQUEZ          ADDRESS ON FILE
CARMEN D HERNANDEZ FELICIANO     ADDRESS ON FILE
CARMEN D LAMEIRO RIVERA          ADDRESS ON FILE
CARMEN D LAMOSO VAZQUEZ          ADDRESS ON FILE
CARMEN D LEON RIBAS              ADDRESS ON FILE
CARMEN D LOPEZ CASTILLO          ADDRESS ON FILE
CARMEN D LOZADA CRUZ             ADDRESS ON FILE
CARMEN D MARQUEZ ROMERO          ADDRESS ON FILE
CARMEN D MARTINEZ NUNEZ          ADDRESS ON FILE
CARMEN D MARTINEZ TORRES         ADDRESS ON FILE
CARMEN D MAYSONET CARRION        ADDRESS ON FILE
CARMEN D MELENDEZ RIVERA         ADDRESS ON FILE
CARMEN D MENDEZ DE JESUS         ADDRESS ON FILE
CARMEN D MERCADO BONANO          ADDRESS ON FILE
CARMEN D MILLAN CINTRON          ADDRESS ON FILE
CARMEN D MOLINA RIVERA           ADDRESS ON FILE
CARMEN D MONZON                  ADDRESS ON FILE
CARMEN D MORALES FEBO            ADDRESS ON FILE
CARMEN D MORALES FRANCO          ADDRESS ON FILE
CARMEN D MORALES RODRIGUEZ       ADDRESS ON FILE
CARMEN D MORAN LAGUNA            ADDRESS ON FILE
CARMEN D NAVEDO                  ADDRESS ON FILE
CARMEN D ORTA FALU               ADDRESS ON FILE
CARMEN D OTERO COLLAZO           ADDRESS ON FILE
CARMEN D OYOLA VAZQUEZ           ADDRESS ON FILE
CARMEN D PADILLA AYALA           ADDRESS ON FILE
CARMEN D PADILLA AYALA           ADDRESS ON FILE
CARMEN D PADIN MARTINEZ          ADDRESS ON FILE
CARMEN D PAGAN ORTIZ             ADDRESS ON FILE
CARMEN D PASTRANA TORRES         ADDRESS ON FILE




                                                                             Page 1251 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1252 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN D PENA / JUAN R RIVERA   ADDRESS ON FILE
CARMEN D PENA FORTY             ADDRESS ON FILE
CARMEN D PEREZ PEREZ            ADDRESS ON FILE
CARMEN D QUILES DELGADO         ADDRESS ON FILE
CARMEN D RAMOS SILVA            ADDRESS ON FILE
CARMEN D RENTAS VARGAS          ADDRESS ON FILE
CARMEN D RIVERA PEREZ           ADDRESS ON FILE
CARMEN D RIVERA PEREZ           ADDRESS ON FILE
CARMEN D RIVERA PEREZ           ADDRESS ON FILE
CARMEN D RIVERA TORRES          ADDRESS ON FILE
CARMEN D RIVERAS CALDERON       ADDRESS ON FILE
CARMEN D RODRIGUEZ CRUZ         ADDRESS ON FILE
CARMEN D RODRIGUEZ MARCANO      ADDRESS ON FILE
CARMEN D RODRIGUEZ PENA         ADDRESS ON FILE
CARMEN D RODRIGUEZ RIVERA       ADDRESS ON FILE
CARMEN D RODRIGUEZ RODRIGUEZ    ADDRESS ON FILE
CARMEN D ROSARIO MORALES        ADDRESS ON FILE
CARMEN D RUIZ BERNARD           ADDRESS ON FILE
CARMEN D RUIZ MARTINEZ          ADDRESS ON FILE
CARMEN D RUIZ MUNIZ             ADDRESS ON FILE
CARMEN D SALVADOR PACHECO       ADDRESS ON FILE
CARMEN D SANTANA GARCIA         ADDRESS ON FILE
CARMEN D SANTIAGO AVILES        ADDRESS ON FILE
CARMEN D SANTIAGO PERALES       ADDRESS ON FILE
CARMEN D SANTIAGO ROMAN         ADDRESS ON FILE
CARMEN D SILVA                  ADDRESS ON FILE
CARMEN D SOTO CUBERO            ADDRESS ON FILE
CARMEN D SURIA HERNANDEZ        ADDRESS ON FILE
CARMEN D TANON SANCHEZ          ADDRESS ON FILE
CARMEN D TANON SANCHEZ          ADDRESS ON FILE
CARMEN D TIRADO RIVERA          ADDRESS ON FILE
CARMEN D TORRES MARCANO         ADDRESS ON FILE
CARMEN D TORRES TORRES          ADDRESS ON FILE
CARMEN D VALDEZ PERALTA         ADDRESS ON FILE
CARMEN D VIERA BURGOS           ADDRESS ON FILE
CARMEN D. ACEVEDO MACHICOTE     ADDRESS ON FILE
CARMEN D. CABRERA PINA          ADDRESS ON FILE
CARMEN D. CINTRON COLON         ADDRESS ON FILE
CARMEN D. COTTO MONTANEZ        ADDRESS ON FILE
CARMEN D. DELGADO MARTINEZ      ADDRESS ON FILE
CARMEN D. DIAZ SANTAELLA        ADDRESS ON FILE
CARMEN D. ENCARNACION DIAZ      ADDRESS ON FILE
Carmen D. Esquilín Robledo      ADDRESS ON FILE
CARMEN D. FIGUEROA SANCHEZ      ADDRESS ON FILE
CARMEN D. GONZALEZ RODRIGUEZ    ADDRESS ON FILE
CARMEN D. LABOY ZABALA          ADDRESS ON FILE
CARMEN D. LIZARDI ORTIZ         ADDRESS ON FILE
CARMEN D. MARRERO MARRERO       ADDRESS ON FILE
CARMEN D. MARTINEZ BETANCOURT   ADDRESS ON FILE
CARMEN D. MARTINEZ RODRIGUEZ    ADDRESS ON FILE
CARMEN D. NIEVES NEGRON         ADDRESS ON FILE
CARMEN D. ORTIZ CRUZ            ADDRESS ON FILE
CARMEN D. ORTIZ KUILAN          ADDRESS ON FILE
CARMEN D. RIVERA GONZALEZ       ADDRESS ON FILE
CARMEN D. RIVERA MARTINEZ       ADDRESS ON FILE
CARMEN D. RODRIGUEZ ELIAS       ADDRESS ON FILE
CARMEN D. ROMAN RODRIGUEZ       ADDRESS ON FILE
CARMEN D. ROSA GONZALEZ         ADDRESS ON FILE
CARMEN D. TORRES DIAZ           ADDRESS ON FILE
CARMEN D. VARGAS MENDEZ         ADDRESS ON FILE




                                                                            Page 1252 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1253 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CARMEN DAISY ORTIZ FELICIANO               ADDRESS ON FILE
CARMEN DAVILA LOARTE                       ADDRESS ON FILE
CARMEN DAVILA PEREZ                        ADDRESS ON FILE
CARMEN DAVILA SALGADO                      ADDRESS ON FILE
CARMEN DAVILA SANCHEZ                      ADDRESS ON FILE
CARMEN DAVILA VAZQUEZ                      ADDRESS ON FILE
CARMEN DE JESUS RIVERA                     ADDRESS ON FILE
CARMEN DE JESUS RIVERA                     ADDRESS ON FILE
CARMEN DE JESUS ROSADO                     ADDRESS ON FILE
CARMEN DE JESUS SIERRA                     ADDRESS ON FILE
CARMEN DE JUAN CUSTODIO                    ADDRESS ON FILE
CARMEN DE LA CRUZ REYES                    ADDRESS ON FILE
CARMEN DE LA ROSA RAMOS                    ADDRESS ON FILE
CARMEN DE LEON ARRIAGA                     ADDRESS ON FILE
CARMEN DE LEON TORRES                      ADDRESS ON FILE
CARMEN DE LOURDES DIAZ MERCADO             ADDRESS ON FILE
CARMEN DECHOUDES RUIZ                      ADDRESS ON FILE
CARMEN DEL P CRUZ RIVERA                   ADDRESS ON FILE
CARMEN DEL PILAR REYES RAMOS               ADDRESS ON FILE
CARMEN DEL PILAR RIVERA FONTANEZ           ADDRESS ON FILE
CARMEN DEL R ZAYAS VAZQUEZ                 ADDRESS ON FILE
CARMEN DEL RIO PINA                        ADDRESS ON FILE
CARMEN DEL VALLE                           ADDRESS ON FILE
CARMEN DELGADO PAGAN                       ADDRESS ON FILE
CARMEN DELGADO PAGAN                       ADDRESS ON FILE
CARMEN DELIA COLLAZO DE LEON               ADDRESS ON FILE
CARMEN DELIA DIAZ ALGARIN                  ADDRESS ON FILE
CARMEN DELIA DIAZ ALVAREZ                  ADDRESS ON FILE
CARMEN DELIA DIAZ COLON                    ADDRESS ON FILE
CARMEN DELIA GONZALEZ MORENO               ADDRESS ON FILE
CARMEN DELIA GUZMAN PEREZ                  ADDRESS ON FILE
CARMEN DELIA LOPEZ SIERRA                  ADDRESS ON FILE
CARMEN DELIA MARTINEZ AVILA                ADDRESS ON FILE
CARMEN DELIA RIVERA COLON                  ADDRESS ON FILE
CARMEN DELIA SANCHEZ SALGADO               ADDRESS ON FILE
CARMEN DELIA TORRES BLANCO                 ADDRESS ON FILE
CARMEN DEMAS MUNOZ                         ADDRESS ON FILE
CARMEN DERIEUX PEREZ                       ADDRESS ON FILE
CARMEN DIAZ                                ADDRESS ON FILE
Carmen Diaz /Hogar Carmen Diaz Santaella   ADDRESS ON FILE
CARMEN DIAZ ALVAREZ                        ADDRESS ON FILE
CARMEN DIAZ BATARD                         ADDRESS ON FILE
CARMEN DIAZ CERICH                         ADDRESS ON FILE
CARMEN DIAZ CERICH                         ADDRESS ON FILE
CARMEN DIAZ COLON                          ADDRESS ON FILE
CARMEN DIAZ JULIAO                         ADDRESS ON FILE
CARMEN DIAZ MEDINA                         ADDRESS ON FILE
CARMEN DIAZ MELENDEZ                       ADDRESS ON FILE
CARMEN DIAZ PAGAN                          ADDRESS ON FILE
CARMEN DIAZ RIVERA                         ADDRESS ON FILE
CARMEN DIAZ RUIZ                           ADDRESS ON FILE
CARMEN DIAZ SANTOS                         ADDRESS ON FILE
CARMEN DIAZ SANTOS                         ADDRESS ON FILE
CARMEN DIAZ SANTOS                         ADDRESS ON FILE
CARMEN DIAZ SANTOS                         ADDRESS ON FILE
CARMEN DIAZ VILLANUEVA                     ADDRESS ON FILE
CARMEN DOLORES SERRANO                     ADDRESS ON FILE
CARMEN DONES RODRIGUEZ                     ADDRESS ON FILE
CARMEN DORA VILA SURO                      ADDRESS ON FILE
CARMEN DRY CLEANING INC                    VILLAS DE LOIZA           RR 7 CALLE 29                                          CANOVANAS     PR      00729




                                                                                       Page 1253 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1254 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN DUENO ROSADO                  ADDRESS ON FILE
CARMEN E ACEVEDO BETANCOURT          ADDRESS ON FILE
CARMEN E ALMESTICA CONCEPCION        PMB 266 5 ARZUAGA                                                                SAN JUAN     PR      00925‐3701
CARMEN E ANDINO                      ADDRESS ON FILE
CARMEN E BARRETO RAMOS               ADDRESS ON FILE
CARMEN E BARRETO RAMOS               ADDRESS ON FILE
CARMEN E BRUNO MORALES               ADDRESS ON FILE
CARMEN E CARIDES PINEIRO             ADDRESS ON FILE
CARMEN E CARRASQUILLO VEGA           ADDRESS ON FILE
CARMEN E CLAUDIO VAZQUEZ             ADDRESS ON FILE
CARMEN E CLAUDIO WATKINS             ADDRESS ON FILE
CARMEN E COLON LEON                  ADDRESS ON FILE
CARMEN E COLON SIERRA                ADDRESS ON FILE
CARMEN E COLON VAZQUEZ               ADDRESS ON FILE
CARMEN E COLON VAZQUEZ               ADDRESS ON FILE
CARMEN E CONCEPCION CORCHADO         ADDRESS ON FILE
CARMEN E CORREA RODRIGUEZ            ADDRESS ON FILE
CARMEN E COSTAS TORRES               ADDRESS ON FILE
CARMEN E CRESPO PORTUGUEZ            ADDRESS ON FILE
CARMEN E CRUZ FIRPO                  ADDRESS ON FILE
CARMEN E CRUZ GALARZA                ADDRESS ON FILE
CARMEN E DE JESUS                    ADDRESS ON FILE
CARMEN E DIAZ FORTIS                 ADDRESS ON FILE
CARMEN E DIAZ RIVERA                 ADDRESS ON FILE
CARMEN E DÍAZ YADIRA DE JESÚS        ADDRESS ON FILE
CARMEN E DIAZ ZAYAS                  ADDRESS ON FILE
CARMEN E FLORES OLIVER               ADDRESS ON FILE
CARMEN E GONZALEZ LOPEZ              ADDRESS ON FILE
CARMEN E GONZALEZ Y EDITH GONZALEZ   ADDRESS ON FILE
CARMEN E GUZMAN RIVERA               ADDRESS ON FILE
CARMEN E GUZMAN RIVERA               ADDRESS ON FILE
CARMEN E HERNANDEZ CRUZ              ADDRESS ON FILE
CARMEN E HERNANDEZ OLIVER            ADDRESS ON FILE
CARMEN E JIMENEZ OTERO               ADDRESS ON FILE
CARMEN E LOPEZ CAMACHO               ADDRESS ON FILE
CARMEN E LOPEZ ESTADA                ADDRESS ON FILE
CARMEN E LOPEZ VELAZQUEZ             ADDRESS ON FILE
CARMEN E LUGO TORRES                 ADDRESS ON FILE
CARMEN E MARTINEZ BARROSO            ADDRESS ON FILE
CARMEN E MARTINEZ DE JESUS           ADDRESS ON FILE
CARMEN E MEDINA VILLAFANE            ADDRESS ON FILE
CARMEN E MONTANEZ ECHEVARRIA         ADDRESS ON FILE
CARMEN E MONTERO FIGUEROA            ADDRESS ON FILE
CARMEN E MORALES RUIZ                ADDRESS ON FILE
CARMEN E MUNOZ HERNANDEZ             ADDRESS ON FILE
CARMEN E NARVAEZ DE JESUS            ADDRESS ON FILE
CARMEN E NAVARRO FIGUEROA            ADDRESS ON FILE
CARMEN E OLVARRIA VARGAS             ADDRESS ON FILE
CARMEN E PABON MORALES               ADDRESS ON FILE
CARMEN E PEREZ ALVARADO              ADDRESS ON FILE
CARMEN E PEREZ GONZALEZ              ADDRESS ON FILE
CARMEN E PEREZ GONZALEZ              ADDRESS ON FILE
CARMEN E PEREZ MEJIAS                ADDRESS ON FILE
CARMEN E PIMENTEL PERALTA            ADDRESS ON FILE
CARMEN E PINERO                      ADDRESS ON FILE
CARMEN E QUINONES MARTINEZ           ADDRESS ON FILE
CARMEN E RAMIREZ FELICIANO           ADDRESS ON FILE
CARMEN E RAMIREZ MORALES             ADDRESS ON FILE
CARMEN E RAMIREZ QUINONES            ADDRESS ON FILE
CARMEN E RAMOS PADILLA               ADDRESS ON FILE




                                                                                 Page 1254 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1255 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                       Address1                          Address2                       Address3   Address4   City         State   PostalCode   Country
CARMEN E RESTO ARROYO               ADDRESS ON FILE
CARMEN E RESTO ARROYO               ADDRESS ON FILE
CARMEN E RIOS VALENTIN              ADDRESS ON FILE
CARMEN E RIVERA ANTIGUA             ADDRESS ON FILE
CARMEN E RIVERA CANDELARIA          ADDRESS ON FILE
CARMEN E RIVERA MARTINEZ            ADDRESS ON FILE
CARMEN E RIVERA ORTEGA              ADDRESS ON FILE
CARMEN E RIVERA VALENTIN            ADDRESS ON FILE
CARMEN E RODRIGUEZ BERRIOS          ADDRESS ON FILE
CARMEN E RODRIGUEZ FERNANDEZ        ADDRESS ON FILE
CARMEN E RODRIGUEZ PARDO            ADDRESS ON FILE
CARMEN E RODRIGUEZ RODRIGUEZ        ADDRESS ON FILE
CARMEN E ROMAN GONZALEZ             ADDRESS ON FILE
CARMEN E SANTAMARIA RODRIGUEZ       ADDRESS ON FILE
CARMEN E SEGARRA BRACERO            ADDRESS ON FILE
CARMEN E SEOANES MARTINEZ           ADDRESS ON FILE
CARMEN E SIERRA RIVERA              ADDRESS ON FILE
CARMEN E SOLIVAN RIVERA             ADDRESS ON FILE
CARMEN E SOTO                       ADDRESS ON FILE
CARMEN E SOTO MIRANDA               ADDRESS ON FILE
CARMEN E TORRES                     ADDRESS ON FILE
CARMEN E TORRES PACHECO             ADDRESS ON FILE
CARMEN E TORRES QUINONES            ADDRESS ON FILE
CARMEN E TORRES SANTIAGO            ADDRESS ON FILE
CARMEN E VAZQUEZ CARMONA            FRANCISCO J. VIZCARRONDO TORRES   PO BOX 195642                                        SAN JUAN     PR      00919‐5642
CARMEN E VEGA QUINONES              ADDRESS ON FILE
CARMEN E VEGA RIVERA                ADDRESS ON FILE
CARMEN E VELAZQUEZ CRUZ             ADDRESS ON FILE
CARMEN E VELAZQUEZ HERNANDEZ        ADDRESS ON FILE
CARMEN E VELEZ RAMIREZ              ADDRESS ON FILE
CARMEN E. ACEVEDO BETANCOURT        ADDRESS ON FILE
CARMEN E. CANDELARIO IRIZARRY       ADDRESS ON FILE
CARMEN E. COLON REYES               ADDRESS ON FILE
CARMEN E. CONCEPCION CORCHADO       ADDRESS ON FILE
CARMEN E. FIGUEROA                  ADDRESS ON FILE
CARMEN E. GARCIA FERRER             ADDRESS ON FILE
CARMEN E. HERNANDEZ ROSARIO         ADDRESS ON FILE
CARMEN E. MALDONADO MELENDEZ        ADDRESS ON FILE
CARMEN E. NUNEZ DE JESUS            ADDRESS ON FILE
CARMEN E. ORTIZ ORTIZ               ADDRESS ON FILE
CARMEN E. RAMIREZ CALDERON          ADDRESS ON FILE
CARMEN E. RIVERA AGOSTO             ADDRESS ON FILE
CARMEN E. VALENTIN CAMACHO          ADDRESS ON FILE
CARMEN E. VAZQUEZ TORRES            ADDRESS ON FILE
CARMEN E. VEGA QUINONEZ             ADDRESS ON FILE
CARMEN ELBA AYALA HERNANDEZ         ADDRESS ON FILE
CARMEN ELIZABETH MARTINEZ BARROSO   ADDRESS ON FILE
CARMEN ELSA RIVERA DOMINGUEZ        ADDRESS ON FILE
CARMEN ELSA RIVERA DOMINGUEZ        ADDRESS ON FILE
CARMEN ENID APONTE BERDEGUEZ        ADDRESS ON FILE
CARMEN ENID MERCADO MUNIZ           ADDRESS ON FILE
CARMEN ESCOBALES RAMIREZ            ADDRESS ON FILE
CARMEN ESTEVES ROQUE                ADDRESS ON FILE
CARMEN ESTRELLA TORRES              ADDRESS ON FILE
CARMEN EVELYN ORTIZ BONILLA         ADDRESS ON FILE
CARMEN F BETANCOURT NIEVES          ADDRESS ON FILE
CARMEN F MARTINEZ SOLANO            ADDRESS ON FILE
CARMEN F PADILLA MARTINEZ           ADDRESS ON FILE
CARMEN F RIVERA COLLAZO             ADDRESS ON FILE
CARMEN F. GARCIA CADIZ              ADDRESS ON FILE




                                                                                      Page 1255 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1256 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN F. TIRADO GARCIA                 ADDRESS ON FILE
CARMEN F. TIRADO GARCIA                 ADDRESS ON FILE
CARMEN F. TIRADO GARCIA                 ADDRESS ON FILE
CARMEN FABERY RODRIGUEZ                 ADDRESS ON FILE
CARMEN FELIBERTI MEDINA                 ADDRESS ON FILE
CARMEN FELICIANO                        ADDRESS ON FILE
CARMEN FELICIANO ALBARRAN               ADDRESS ON FILE
CARMEN FELICIANO GONZALEZ               ADDRESS ON FILE
CARMEN FELICIANO HERNANDEZ              ADDRESS ON FILE
CARMEN FERNANDEZ CANDELARIA             ADDRESS ON FILE
CARMEN FERRER DIAZ                      ADDRESS ON FILE
CARMEN FERRER NIEVES                    ADDRESS ON FILE
CARMEN FERRER RODRIGUEZ                 ADDRESS ON FILE
CARMEN FIGUEROA GOMEZ                   ADDRESS ON FILE
CARMEN FIGUEROA HERNANDEZ               ADDRESS ON FILE
CARMEN FIGUEROA MACHADO                 ADDRESS ON FILE
CARMEN FIGUEROA MARTI                   ADDRESS ON FILE
CARMEN FIGUEROA MILLAN MARIBEL FIGUEROA ADDRESS ON FILE
CARMEN FIGUEROA PEREZ                   ADDRESS ON FILE
CARMEN FIGUEROA PEREZ                   ADDRESS ON FILE
CARMEN FIGUEROA QUINONES                ADDRESS ON FILE
CARMEN FIGUEROA RODRIGUEZ               ADDRESS ON FILE
CARMEN FIGUEROA SEIN                    ADDRESS ON FILE
CARMEN FIGUEROA THOMAS                  ADDRESS ON FILE
CARMEN FIGUEROA VIVAS                   ADDRESS ON FILE
CARMEN FLORES ALVAREZ                   ADDRESS ON FILE
CARMEN FLORES CUADRADO                  ADDRESS ON FILE
CARMEN FLORES RODRIGUEZ                 ADDRESS ON FILE
CARMEN FLORES Y LOUISE D CABEZUDO       ADDRESS ON FILE
CARMEN FONT SELVON                      ADDRESS ON FILE
CARMEN FONTANEZ ORTIZ                   ADDRESS ON FILE
CARMEN FUENTES RAMOS                    ADDRESS ON FILE
CARMEN G ALICEA MILLET                  ADDRESS ON FILE
CARMEN G APONTE BERRIOS /DBA G & A      ADVERTISING SPECIALITY     PO BOX 51676                                           TOA BAJA     PR      00950
CARMEN G ARROYO COLON                   ADDRESS ON FILE
CARMEN G BETANCOURT MARQUEZ             ADDRESS ON FILE
CARMEN G BOBE ORTIZ DE COFRESI          ADDRESS ON FILE
CARMEN G CARRILLO CABAN                 ADDRESS ON FILE
CARMEN G CEBALLOS MOLINA                ADDRESS ON FILE
CARMEN G CEBALLOS MOLINA                ADDRESS ON FILE
CARMEN G CINTRON NUNEZ                  ADDRESS ON FILE
CARMEN G CORREA VIGIER                  ADDRESS ON FILE
CARMEN G COSME CHINEA                   ADDRESS ON FILE
CARMEN G CRUZ CEPEDA                    ADDRESS ON FILE
CARMEN G FEBRES CASELLAS                ADDRESS ON FILE
CARMEN G FELICIANO NIEVES               ADDRESS ON FILE
CARMEN G FIGUEROA / CHRISTIAN SANTOS    ADDRESS ON FILE
CARMEN G FIGUEROA RODRIGUEZ             ADDRESS ON FILE
CARMEN G FIGUEROA SANTIAGO              ADDRESS ON FILE
CARMEN G GARCIA GONZALEZ                ADDRESS ON FILE
CARMEN G GONZALEZ RAMOS                 ADDRESS ON FILE
CARMEN G GUARDIOLA SANCHEZ              ADDRESS ON FILE
CARMEN G HERNANDEZ                      ADDRESS ON FILE
CARMEN G HERNANDEZ SOTO                 ADDRESS ON FILE
CARMEN G LABOY ARES                     ADDRESS ON FILE
CARMEN G LIDIN GOMEZ                    ADDRESS ON FILE
CARMEN G MARTINEZ BERNARD               ADDRESS ON FILE
CARMEN G MARTINEZ KUILAN                ADDRESS ON FILE
CARMEN G MATEO PABON                    ADDRESS ON FILE
CARMEN G MEDINA SERRANO                 ADDRESS ON FILE




                                                                                     Page 1256 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1257 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN G MENDEZ PEREZ                  ADDRESS ON FILE
CARMEN G MIRANDA PINA                  ADDRESS ON FILE
CARMEN G MUNIZ DIAZ                    ADDRESS ON FILE
CARMEN G ONEILL ROMAN                  ADDRESS ON FILE
CARMEN G ORTIZ                         ADDRESS ON FILE
CARMEN G ORTIZ ORTIZ                   ADDRESS ON FILE
CARMEN G ORTIZ SOTO                    ADDRESS ON FILE
CARMEN G PEREZ ALTRECHE                ADDRESS ON FILE
CARMEN G PEREZ MATEO                   ADDRESS ON FILE
CARMEN G PLESSIS                       ADDRESS ON FILE
CARMEN G QUINONES CRUZADO              ADDRESS ON FILE
CARMEN G RAMOS MARRERO                 ADDRESS ON FILE
CARMEN G RIVERA SANTIAGO               ADDRESS ON FILE
CARMEN G RIVERA TORRES                 ADDRESS ON FILE
CARMEN G RODRIGUEZ GONZALEZ            ADDRESS ON FILE
CARMEN G ROSADO ROSARIO                ADDRESS ON FILE
CARMEN G RUIZ RODRIGUEZ                ADDRESS ON FILE
CARMEN G SANJURJO MELENDEZ             ADDRESS ON FILE
CARMEN G SANTANA ORTIZ                 ADDRESS ON FILE
CARMEN G SERRANO SANTIAGO              ADDRESS ON FILE
CARMEN G SOLIS ORTIZ                   ADDRESS ON FILE
CARMEN G TORRECH CABRERO               ADDRESS ON FILE
CARMEN G TORRES FIGUEROA               ADDRESS ON FILE
CARMEN G TORRES TORRES                 ADDRESS ON FILE
CARMEN G VARGAS MALDONADO              ADDRESS ON FILE
CARMEN G VAZQUEZ REYES                 ADDRESS ON FILE
CARMEN G VAZQUEZ REYES                 ADDRESS ON FILE
CARMEN G. ALVAREZ CAMACHO              ADDRESS ON FILE
CARMEN G. BERRIOS VEGA                 ADDRESS ON FILE
CARMEN G. COLON VILLA                  ADDRESS ON FILE
CARMEN G. PROSPER GUZMAN               ADDRESS ON FILE
CARMEN G. QUINONES ALVARADO            ADDRESS ON FILE
CARMEN G. RODRIGUEZ BERRIOS            ADDRESS ON FILE
CARMEN G. RUIZ MATOS                   ADDRESS ON FILE
CARMEN GALARZA GONZALEZ                ADDRESS ON FILE
CARMEN GALARZA ORTIZ                   ADDRESS ON FILE
CARMEN GALARZA RODRÍGUEZ               ADDRESS ON FILE
CARMEN GARCIA                          ADDRESS ON FILE
CARMEN GARCIA AYALA & VICTOR SANCHEZ   ADDRESS ON FILE
CARMEN GARCIA GRAJALES                 ADDRESS ON FILE
CARMEN GARCIA NUNEZ                    ADDRESS ON FILE
CARMEN GARCIA RIVERA                   ADDRESS ON FILE
CARMEN GARCIA ROSADO                   ADDRESS ON FILE
CARMEN GARCIA TALABA                   ADDRESS ON FILE
CARMEN GARCIA Y CARMEN MOLINA          ADDRESS ON FILE
CARMEN GLORIA CRUZ                     ADDRESS ON FILE
CARMEN GLORIA ROMERO FLORES            ADDRESS ON FILE
CARMEN GLORIA SANCHEZ MILLET           ADDRESS ON FILE
CARMEN GLORIA SANTIAGO MARRERO         ADDRESS ON FILE
CARMEN GOMEZ DELGADO                   ADDRESS ON FILE
CARMEN GOMEZ MIRANDA                   ADDRESS ON FILE
CARMEN GONZALEZ                        ADDRESS ON FILE
CARMEN GONZALEZ                        ADDRESS ON FILE
CARMEN GONZALEZ                        ADDRESS ON FILE
CARMEN GONZALEZ ALEJANDRO              ADDRESS ON FILE
CARMEN GONZALEZ ARVELO                 ADDRESS ON FILE
CARMEN GONZALEZ CLAUDIO                ADDRESS ON FILE
CARMEN GONZALEZ COLLAZO                ADDRESS ON FILE
CARMEN GONZALEZ COLON                  ADDRESS ON FILE
CARMEN GONZALEZ CORDERO                ADDRESS ON FILE




                                                                                   Page 1257 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1258 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN GONZALEZ CORDOVA         ADDRESS ON FILE
CARMEN GONZALEZ DEL VALLE       ADDRESS ON FILE
CARMEN GONZALEZ GONZALEZ        ADDRESS ON FILE
CARMEN GONZALEZ GONZALEZ        ADDRESS ON FILE
CARMEN GONZALEZ HERNANDEZ       ADDRESS ON FILE
CARMEN GONZALEZ JIMENEZ         ADDRESS ON FILE
CARMEN GONZALEZ LOPEZ           ADDRESS ON FILE
CARMEN GONZALEZ MUNIZ           ADDRESS ON FILE
CARMEN GONZALEZ NAVARRO         ADDRESS ON FILE
CARMEN GONZALEZ PIZARRO         ADDRESS ON FILE
CARMEN GONZALEZ QUINONES        ADDRESS ON FILE
CARMEN GONZALEZ RIVERA          ADDRESS ON FILE
CARMEN GONZALEZ RODRIGUEZ       ADDRESS ON FILE
CARMEN GONZALEZ RUIZ            ADDRESS ON FILE
CARMEN GONZALEZ SAN MARTIN      ADDRESS ON FILE
CARMEN GONZALEZ TORRES          ADDRESS ON FILE
CARMEN GONZALEZ VARGAS          ADDRESS ON FILE
CARMEN GONZALEZ VDA DE CANCEL   ADDRESS ON FILE
CARMEN GORRITZ FIGUEROA         ADDRESS ON FILE
CARMEN GRACIA CARRASQUILLO      ADDRESS ON FILE
CARMEN GRACIA CARRASQUILLO      ADDRESS ON FILE
CARMEN GRAJALES / JOHN CRUZ     ADDRESS ON FILE
CARMEN GRAJALES HERNANDEZ       ADDRESS ON FILE
CARMEN GUADALUPE PINA           ADDRESS ON FILE
CARMEN GUADALUPE PINA           ADDRESS ON FILE
CARMEN GUEDE LORENZO            ADDRESS ON FILE
CARMEN GUERRERO PEREZ           ADDRESS ON FILE
CARMEN GUZMAN ORTIZ             ADDRESS ON FILE
CARMEN H ALVAREZ                ADDRESS ON FILE
CARMEN H AVILES RIVERA          ADDRESS ON FILE
CARMEN H CABAN CANDELARIA       ADDRESS ON FILE
CARMEN H CARDONA GONZALEZ       ADDRESS ON FILE
CARMEN H CRESPO TORRES          ADDRESS ON FILE
CARMEN H CRESPO TORRES          ADDRESS ON FILE
CARMEN H DELIZ CRESPO           ADDRESS ON FILE
CARMEN H DIAZ VAZQUEZ           ADDRESS ON FILE
CARMEN H ESTEVEZ ALVAREZ        ADDRESS ON FILE
CARMEN H FIGUEROA DE LEON       ADDRESS ON FILE
CARMEN H FIGUEROA ROSADO        ADDRESS ON FILE
CARMEN H MARTINEZ MARTINEZ      ADDRESS ON FILE
CARMEN H NEGRON GONZALEZ        ADDRESS ON FILE
CARMEN H NIEVES CARTAGENA       ADDRESS ON FILE
CARMEN H ORTIZ DE MARTIN        ADDRESS ON FILE
CARMEN H PEREZ RIVERA           ADDRESS ON FILE
CARMEN H RIVERA ACEVEDO         ADDRESS ON FILE
CARMEN H RIVERA MATIAS          ADDRESS ON FILE
CARMEN H ROMERO LUGO            ADDRESS ON FILE
CARMEN H ROSARIO REYES          ADDRESS ON FILE
CARMEN H SOTOMAYOR SALDANA      ADDRESS ON FILE
CARMEN H VILLAFANE DE JESUS     ADDRESS ON FILE
CARMEN H. BERRIOS CRUZ          ADDRESS ON FILE
CARMEN H. CRUZ SANTIAGO         ADDRESS ON FILE
CARMEN H. RIOS DIAZ             ADDRESS ON FILE
CARMEN H. ROSARIO APONTE        ADDRESS ON FILE
CARMEN H. TRAVIESO CASTRO       ADDRESS ON FILE
CARMEN HAYDEE RAMIREZ ROSADO    ADDRESS ON FILE
CARMEN HENRIQUEZ MATIAS         ADDRESS ON FILE
CARMEN HEREDIA MARTINEZ         ADDRESS ON FILE
CARMEN HEREDIA MARTINEZ         ADDRESS ON FILE
CARMEN HERNANDEZ                ADDRESS ON FILE




                                                                            Page 1258 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1259 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN HERNANDEZ ANDINO        ADDRESS ON FILE
CARMEN HERNANDEZ ARROYO        ADDRESS ON FILE
CARMEN HERNANDEZ CATARINEU     ADDRESS ON FILE
CARMEN HERNANDEZ JIMENEZ       ADDRESS ON FILE
CARMEN HERNANDEZ MELENDEZ      ADDRESS ON FILE
CARMEN HERNANDEZ QUILES        ADDRESS ON FILE
CARMEN HERNANDEZ RAMOS         ADDRESS ON FILE
CARMEN HERNANDEZ RAMOS         ADDRESS ON FILE
CARMEN HERNANDEZ RIOS          ADDRESS ON FILE
CARMEN HERNANDEZ ROSARIO       ADDRESS ON FILE
CARMEN HERNANDEZ SERRANO       ADDRESS ON FILE
CARMEN HERNANDEZ VALE          ADDRESS ON FILE
CARMEN HIRALDO FALU            ADDRESS ON FILE
CARMEN HIRALDO RIVERA          ADDRESS ON FILE
CARMEN HUERTAS RIVERA          ADDRESS ON FILE
CARMEN I AGOSTO GARCIA         ADDRESS ON FILE
CARMEN I ALICEA SERRANO        ADDRESS ON FILE
CARMEN I ALMESTICA VEGA        ADDRESS ON FILE
CARMEN I ALVARES GUZMAN        ADDRESS ON FILE
CARMEN I APONTE ORTIZ          ADDRESS ON FILE
CARMEN I APONTE ORTIZ          ADDRESS ON FILE
CARMEN I AYALA VAZQUEZ         ADDRESS ON FILE
CARMEN I BAEZ MORALES          ADDRESS ON FILE
CARMEN I BALLESTE FRANK        ADDRESS ON FILE
CARMEN I BARRIERA SOTO         ADDRESS ON FILE
CARMEN I BONES MORALES         ADDRESS ON FILE
CARMEN I BURGOS                ADDRESS ON FILE
CARMEN I BURGOS                ADDRESS ON FILE
CARMEN I CACHO SERRANO         ADDRESS ON FILE
CARMEN I CAJIGA REYES          ADDRESS ON FILE
CARMEN I CAMACHO CORTES        ADDRESS ON FILE
CARMEN I CARABALLO HERNANDEZ   ADDRESS ON FILE
CARMEN I CARABALLO PACHECO     ADDRESS ON FILE
CARMEN I CASTRO NATAL          ADDRESS ON FILE
CARMEN I CINTRON VEGA          ADDRESS ON FILE
CARMEN I COLON                 ADDRESS ON FILE
CARMEN I COLON DIAZ            ADDRESS ON FILE
CARMEN I COLON SANTIAGO        ADDRESS ON FILE
CARMEN I CORIANO RODRIGUEZ     ADDRESS ON FILE
CARMEN I CORIANO RODRIGUEZ     ADDRESS ON FILE
CARMEN I CORTES MARQUEZ        ADDRESS ON FILE
CARMEN I CRUZ FELIX            ADDRESS ON FILE
CARMEN I CRUZ FIGUEROA         ADDRESS ON FILE
CARMEN I CRUZ RODRIGUEZ        ADDRESS ON FILE
CARMEN I CUEVAS PADILLA        ADDRESS ON FILE
CARMEN I DE LEON MILLAN        ADDRESS ON FILE
CARMEN I DEL VALLE DEL VALLE   ADDRESS ON FILE
CARMEN I DEVIVIE DE LA CRUZ    ADDRESS ON FILE
CARMEN I DIAZ CARTAGENA        ADDRESS ON FILE
CARMEN I DIAZ ROMERO           ADDRESS ON FILE
CARMEN I DIAZ TORRES           ADDRESS ON FILE
CARMEN I DONES SUAREZ          ADDRESS ON FILE
CARMEN I ECHEVARRIA            ADDRESS ON FILE
CARMEN I ESCALERA GUADALUPE    ADDRESS ON FILE
CARMEN I ESCALERA GUADALUPE    ADDRESS ON FILE
CARMEN I ESTREMERA RODRIGUEZ   ADDRESS ON FILE
CARMEN I FIGUEROA DAVILA       ADDRESS ON FILE
CARMEN I FONSECA AYALA         ADDRESS ON FILE
CARMEN I FONT LEBRON           ADDRESS ON FILE
CARMEN I FONTAN CORDERO        ADDRESS ON FILE




                                                                           Page 1259 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1260 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN I FONTANEZ SANTIAGO    ADDRESS ON FILE
CARMEN I GARCIA LOPEZ         ADDRESS ON FILE
CARMEN I GARCIA NARVAEZ       ADDRESS ON FILE
CARMEN I GONZALEZ             ADDRESS ON FILE
CARMEN I GONZALEZ FERNANDEZ   ADDRESS ON FILE
CARMEN I GONZALEZ GONZALEZ    ADDRESS ON FILE
CARMEN I GONZALEZ SOTO        ADDRESS ON FILE
CARMEN I GUZMAN LOPEZ         ADDRESS ON FILE
CARMEN I GUZMAN MUNIZ         ADDRESS ON FILE
CARMEN I GUZMAN SANTIAGO      ADDRESS ON FILE
CARMEN I GUZMAN SANTIAGO      ADDRESS ON FILE
CARMEN I HERNANDEZ RESTO      ADDRESS ON FILE
CARMEN I HIDALDO BRUNO        ADDRESS ON FILE
CARMEN I LEDUC CEPEDA         ADDRESS ON FILE
CARMEN I LISOJO RIVERA        ADDRESS ON FILE
CARMEN I LOPEZ SERRANO        ADDRESS ON FILE
CARMEN I LUNA GONZALEZ        ADDRESS ON FILE
CARMEN I MALDONADO GONZALEZ   ADDRESS ON FILE
CARMEN I MARQUEZ RIVERA       ADDRESS ON FILE
CARMEN I MARTINEZ PACHECO     ADDRESS ON FILE
CARMEN I MENDEZ CORREA        ADDRESS ON FILE
CARMEN I MENDEZ MARRERO       ADDRESS ON FILE
CARMEN I MENDEZ ORTIZ         ADDRESS ON FILE
CARMEN I MERCADO MORALES      ADDRESS ON FILE
CARMEN I MERCED ROLON         ADDRESS ON FILE
CARMEN I MERCED VARGAS        ADDRESS ON FILE
CARMEN I MIRANDA DIAZ         ADDRESS ON FILE
CARMEN I MIRANDA PACHECO      ADDRESS ON FILE
CARMEN I MONTERO MONTERO      ADDRESS ON FILE
CARMEN I MORALES MORALES      ADDRESS ON FILE
CARMEN I MORALES OYOLA        ADDRESS ON FILE
CARMEN I MUNOZ COLON          ADDRESS ON FILE
CARMEN I MUNOZ NOYA           ADDRESS ON FILE
CARMEN I NAVARRO DIAZ         ADDRESS ON FILE
CARMEN I NEGRON ALAMO         ADDRESS ON FILE
CARMEN I NEVAREZ AVILES       ADDRESS ON FILE
CARMEN I OCASIO CEDENO        ADDRESS ON FILE
CARMEN I OLIVENCIA ROSADO     ADDRESS ON FILE
CARMEN I ORAMA ACEVEDO        ADDRESS ON FILE
CARMEN I ORTIZ COLON          ADDRESS ON FILE
CARMEN I ORTIZ FELIX          ADDRESS ON FILE
CARMEN I ORTIZ MARTINEZ       ADDRESS ON FILE
CARMEN I ORTIZ RIVERA         ADDRESS ON FILE
CARMEN I OTERO MALDONADO      ADDRESS ON FILE
CARMEN I PEREZ GONZALEZ       ADDRESS ON FILE
CARMEN I PEREZ MENDEZ         ADDRESS ON FILE
CARMEN I PIZARRO PARRILLA     ADDRESS ON FILE
CARMEN I QUINONES HERNANDEZ   ADDRESS ON FILE
CARMEN I QUINONES LOPEZ       ADDRESS ON FILE
CARMEN I RAMOS NEGRON         ADDRESS ON FILE
CARMEN I RAMOS RIVERA         ADDRESS ON FILE
CARMEN I REYES AYALA          ADDRESS ON FILE
CARMEN I RIVERA CORUJO        ADDRESS ON FILE
CARMEN I RIVERA FEBRES        ADDRESS ON FILE
CARMEN I RIVERA FEBRES        ADDRESS ON FILE
CARMEN I RIVERA MASJUAN       ADDRESS ON FILE
CARMEN I RIVERA PEREZ         ADDRESS ON FILE
CARMEN I RIVERA RIVERA        ADDRESS ON FILE
CARMEN I RIVERA RIVERA        ADDRESS ON FILE
CARMEN I RIVERA SANTIAGO      ADDRESS ON FILE




                                                                          Page 1260 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1261 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                  Address1                                    Address2                                   Address3   Address4   City         State   PostalCode   Country
CARMEN I ROBLES ROSES          ADDRESS ON FILE
CARMEN I RODRIGUEZ ALLENDE     ADDRESS ON FILE
CARMEN I RODRIGUEZ FERNANDEZ   ADDRESS ON FILE
CARMEN I RODRIGUEZ OQUENDO     ADDRESS ON FILE
CARMEN I RODRIGUEZ RIVERA      ADDRESS ON FILE
CARMEN I RODRIGUEZ ROSADO      ADDRESS ON FILE
CARMEN I RODRIGUEZ SANTOS      ADDRESS ON FILE
CARMEN I RODRIGUEZ TORRES      ADDRESS ON FILE
CARMEN I RONDA ROMAN           ADDRESS ON FILE
CARMEN I ROSADO SUAREZ         ADDRESS ON FILE
CARMEN I ROSADO VARGAS         ADDRESS ON FILE
CARMEN I SANCHEZ CRUZ          ADDRESS ON FILE
CARMEN I SANCHEZ MALDONADO     ADDRESS ON FILE
CARMEN I SANCHEZ NUNEZ         ADDRESS ON FILE
CARMEN I SANCHEZ RAMOS         ADDRESS ON FILE
CARMEN I SANCHEZ RAMOS         ADDRESS ON FILE
CARMEN I SANCHEZ RIOS          ADDRESS ON FILE
CARMEN I SANTIAGO FELIX        ADDRESS ON FILE
CARMEN I SANTIAGO LOPEZ        ADDRESS ON FILE
CARMEN I SEPULVEDA DAVILA      ADDRESS ON FILE
CARMEN I SEPULVEDA DELGADO     ADDRESS ON FILE
CARMEN I SERRANO APONTE        ADDRESS ON FILE
CARMEN I TANON SANTOS          ADDRESS ON FILE
CARMEN I TANON SANTOS          ADDRESS ON FILE
CARMEN I TANON SANTOS          ADDRESS ON FILE
CARMEN I TEXEIRA GUEITS        ADDRESS ON FILE
CARMEN I TEXEIRA GUEITS        ADDRESS ON FILE
CARMEN I TEXIDOR SANCHA        ADDRESS ON FILE
CARMEN I TIRADO RODRIGUEZ      ADDRESS ON FILE
CARMEN I TORRES BERRIOS        ADDRESS ON FILE
CARMEN I TORRES RAMIREZ        ADDRESS ON FILE
CARMEN I VARGAS IRIZARRY       ADDRESS ON FILE
CARMEN I VAZQUEZ MARIN         ADDRESS ON FILE
CARMEN I VAZQUEZ PAGAN         ADDRESS ON FILE
CARMEN I VAZQUEZ SANTIAGO      ADDRESS ON FILE
CARMEN I VEGA ALMODOVAR        ADDRESS ON FILE
CARMEN I VEGA MORALES          ADDRESS ON FILE
CARMEN I VELAZQUEZ MELENDEZ    ADDRESS ON FILE
CARMEN I VELAZQUEZ ORTIZ       ADDRESS ON FILE
CARMEN I VELEZ                 ADDRESS ON FILE
CARMEN I VELEZ OLAVARRIA       ADDRESS ON FILE
CARMEN I VIERA ANDINO          ADDRESS ON FILE
CARMEN I ZAYAS MARTINEZ        ADDRESS ON FILE
CARMEN I. ALLENDE OTERO        ADDRESS ON FILE
CARMEN I. CANALES CASTRO       ADDRESS ON FILE
CARMEN I. CARRASQUILLO ORTIZ   ADDRESS ON FILE
CARMEN I. CARRERO PAGAN        ADDRESS ON FILE
CARMEN I. COLON PEREZ          ADDRESS ON FILE
CARMEN I. CORDERO MORALES      ADDRESS ON FILE
CARMEN I. FIGUEROA RAMOS       ADDRESS ON FILE
CARMEN I. FONSECA RIVERA       ADDRESS ON FILE
CARMEN I. GONZALEZ REELAN      ADDRESS ON FILE
CARMEN I. HERNANDEZ CANTRES    LCDA. AMABEL M. ESCALERA RIVERA‐ ABOGADA PO BOX 70244                                                        SAN JUAN     PR      00936‐8244
CARMEN I. HERNANDEZ CANTRES    LCDO. LUIS E. GERVITZ CARBONELL Y LCDO. RENACOND. EL CENTRO I SUITE 220 AVE. MUÑOZ RIVERA #500               HATO REY     PR      00918
CARMEN I. HERNANDEZ VEGA       ADDRESS ON FILE
CARMEN I. JIMENEZ FIGUEROA     ADDRESS ON FILE
CARMEN I. LAFFITTE ROMAN       ADDRESS ON FILE
CARMEN I. LOPEZ RIVERA         ADDRESS ON FILE
CARMEN I. MACHUCA MARTINEZ     ADDRESS ON FILE
CARMEN I. MAISONET ROSADO      ADDRESS ON FILE




                                                                                                       Page 1261 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1262 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN I. MALDONADO CALIMANO    ADDRESS ON FILE
CARMEN I. MARTINEZ              ADDRESS ON FILE
CARMEN I. MEDINA ROSA           ADDRESS ON FILE
CARMEN I. MONTALVAN RUIZ        ADDRESS ON FILE
CARMEN I. ORTIZ COLON           ADDRESS ON FILE
CARMEN I. PROSPERE RIVERA       ADDRESS ON FILE
CARMEN I. RAMIREZ NIEVES        ADDRESS ON FILE
Carmen I. Rios Lebrón           ADDRESS ON FILE
CARMEN I. RIVAS MERCADO         ADDRESS ON FILE
CARMEN I. RIVERA GALARZA        ADDRESS ON FILE
CARMEN I. RODRIGUEZ CARABALLO   ADDRESS ON FILE
CARMEN I. RODRIGUEZ CARABALLO   ADDRESS ON FILE
CARMEN I. RODRIGUEZ PEREZ       ADDRESS ON FILE
CARMEN I. RODRIGUEZ RODRIGUEZ   ADDRESS ON FILE
CARMEN I. TEXIDOR SANCHEZ       ADDRESS ON FILE
CARMEN I. VEGA VELAZQUEZ        ADDRESS ON FILE
CARMEN I. VERDEJO RODRIGUEZ     ADDRESS ON FILE
CARMEN IBANEZ DELGADO           ADDRESS ON FILE
CARMEN IDALISE ORTIZ FELIX      ADDRESS ON FILE
CARMEN IGLESIAS                 ADDRESS ON FILE
CARMEN IRENE COHEN DE JESUS     ADDRESS ON FILE
CARMEN IRIS AGOSTO OTERO        ADDRESS ON FILE
CARMEN IRIS ALICEA FEBRES       ADDRESS ON FILE
CARMEN IRIS CALO BETANCOURT     ADDRESS ON FILE
CARMEN IRIS DE JESUS SANTIAGO   ADDRESS ON FILE
CARMEN IRIS GARCIA DIAZ         ADDRESS ON FILE
CARMEN IRIS LASANTA MIRANDA     ADDRESS ON FILE
CARMEN IRIS RIVERA NORIEGA      ADDRESS ON FILE
Carmen Iris Rosario Collazo     ADDRESS ON FILE
CARMEN IRIZARRY HUERTAS         ADDRESS ON FILE
CARMEN IRIZARRY ROMAN           ADDRESS ON FILE
CARMEN IVETTE NIEVES PEREZ      ADDRESS ON FILE
CARMEN IVETTE VELEZ RIVERA      ADDRESS ON FILE
CARMEN IVONNE MATEO ORTIZ       ADDRESS ON FILE
CARMEN J ARANA BEAUCHAMP        ADDRESS ON FILE
CARMEN J BOSCANA QUINONES       ADDRESS ON FILE
CARMEN J BRETANA RIVERA         ADDRESS ON FILE
CARMEN J CIVIDANES LAGO         ADDRESS ON FILE
CARMEN J COLLAZO PENA           ADDRESS ON FILE
CARMEN J COLLAZO RODRIGUEZ      ADDRESS ON FILE
CARMEN J COLON TORRES           ADDRESS ON FILE
CARMEN J CORREA CASTRO          ADDRESS ON FILE
CARMEN J DEL VALLE VEGA         ADDRESS ON FILE
CARMEN J DIAZ RIVERA            ADDRESS ON FILE
CARMEN J DIAZ RODRIGUEZ         ADDRESS ON FILE
CARMEN J DINGUIS NIEVES         ADDRESS ON FILE
CARMEN J DIODONET ALMODOVAR     ADDRESS ON FILE
CARMEN J DOMINGUEZ PIZARRO      ADDRESS ON FILE
CARMEN J FIGUEROA RIVERA        ADDRESS ON FILE
CARMEN J FRANCO SANTIAGO        ADDRESS ON FILE
CARMEN J GARCIA TORRES          ADDRESS ON FILE
CARMEN J HERNANDEZ MARTINEZ     ADDRESS ON FILE
CARMEN J HERNANDEZ NAZARIO      ADDRESS ON FILE
CARMEN J HERNANDEZ QUINONEZ     ADDRESS ON FILE
CARMEN J IRIZARRY CANCEL        ADDRESS ON FILE
CARMEN J JIMNEZ MORALES         ADDRESS ON FILE
CARMEN J JULIA SANTIAGO         ADDRESS ON FILE
CARMEN J LAGO GUADALUPE         ADDRESS ON FILE
CARMEN J MALDONADO NEGRON       ADDRESS ON FILE
CARMEN J MARRERO VAZQUEZ        ADDRESS ON FILE




                                                                            Page 1262 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1263 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                        Address1                             Address2                                  Address3    Address4   City            State   PostalCode   Country
CARMEN J MARTINEZ GONZALEZ           ADDRESS ON FILE
CARMEN J MARTINEZ TORRES             ADDRESS ON FILE
CARMEN J MELENDEZ PAGAN              ADDRESS ON FILE
CARMEN J MICO NIETO                  ADDRESS ON FILE
CARMEN J MONTALVO QUINONES           ADDRESS ON FILE
CARMEN J NARVAEZ RIVERA              ADDRESS ON FILE
CARMEN J NAVARRO VAZQUEZ             ADDRESS ON FILE
CARMEN J NINE CURT                   616 CALLE ESTUARIO CAPARRA HEIGTHS                                                                    RIO PIEDRAS     PR      00920
CARMEN J NUNEZ                       ADDRESS ON FILE
CARMEN J NUNEZ AQUINO                ADDRESS ON FILE
CARMEN J ORTIZ DELGADO               ADDRESS ON FILE
CARMEN J ORTIZ RODRIGUEZ             ADDRESS ON FILE
CARMEN J OSORIO PARILLA              ADDRESS ON FILE
CARMEN J OSORIO POMAROSA             ADDRESS ON FILE
CARMEN J PADILLA MARTINEZ            ADDRESS ON FILE
CARMEN J PADILLA RIVERA              ADDRESS ON FILE
CARMEN J PARRILLA MARQUEZ            ADDRESS ON FILE
CARMEN J PEREZ ROMERO                ADDRESS ON FILE
CARMEN J PINEIRO FERNANDEZ           ADDRESS ON FILE
CARMEN J QUINONES                    ADDRESS ON FILE
CARMEN J QUINONES JAIME              ADDRESS ON FILE
CARMEN J RIEFHOL                     ADDRESS ON FILE
CARMEN J RIOS RUIZ                   ADDRESS ON FILE
CARMEN J RIVERA / ALEJANDRO OCASIO   ADDRESS ON FILE
CARMEN J RIVERA AGOSTO               ADDRESS ON FILE
CARMEN J RIVERA NIEVES               ADDRESS ON FILE
CARMEN J RIVERA PENA                 ADDRESS ON FILE
CARMEN J RIVERA SANTOS               ADDRESS ON FILE
CARMEN J RIVERA TORRES               ADDRESS ON FILE
CARMEN J RIVERA TORRES               ADDRESS ON FILE
CARMEN J RODRIGUEZ ERAZO             ADDRESS ON FILE
CARMEN J RODRIGUEZ MENDEZ            ADDRESS ON FILE
CARMEN J RODRIGUEZ PABON             ADDRESS ON FILE
CARMEN J RODRIGUEZ RIVERA            ADDRESS ON FILE
CARMEN J ROSA RODRIGUEZ              ADDRESS ON FILE
CARMEN J RUIZ GONZALEZ               ADDRESS ON FILE
CARMEN J SALCEDO CRUZ                ADDRESS ON FILE
CARMEN J SAN MIGUEL COLON            ADDRESS ON FILE
CARMEN J SANCHEZ CRUZ                ADDRESS ON FILE
CARMEN J SANTANA MARTINEZ            ADDRESS ON FILE
CARMEN J SERRANO MARTINEZ            ADDRESS ON FILE
CARMEN J SIERRA GUZMAN               ADDRESS ON FILE
CARMEN J TANON NIEVES                ADDRESS ON FILE
CARMEN J TROCHE MORALES              ADDRESS ON FILE
CARMEN J VARGAS ORTIZ                ADDRESS ON FILE
CARMEN J VEGA QUILES                 ADDRESS ON FILE
CARMEN J VELEZ VEGA                  ADDRESS ON FILE
CARMEN J VILELLA                     ADDRESS ON FILE
CARMEN J VILLALOBOS COLON            ADDRESS ON FILE
CARMEN J VILLEGAS NIEVES             ADDRESS ON FILE
CARMEN J. CAMPOS RIVERA              LIC JOSE RIOS RIOS                   CHIRINO OFFICE PLAZA1802 CARRETERA 8838   SUITE 307              SAN JUAN        PR      00926‐2745
CARMEN J. CEPEDA ALLENDE             ADDRESS ON FILE
CARMEN J. COLON TORRES               ADDRESS ON FILE
CARMEN J. CORTES MEDINA              ADDRESS ON FILE
CARMEN J. DIAZ DIAZ                  ADDRESS ON FILE
CARMEN J. HERNANDEZ QUINONES         ADDRESS ON FILE
CARMEN J. LUGO ORTIZ                 ADDRESS ON FILE
CARMEN J. MASSEY                     ADDRESS ON FILE
CARMEN J. ORTIZ CINTRON              ADDRESS ON FILE
CARMEN J. ORTIZ PEREZ                ADDRESS ON FILE




                                                                                                     Page 1263 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1264 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN J. RODRIGUEZ CAQUIAS      ADDRESS ON FILE
CARMEN J. ROLDÁN ROMÁN           ADDRESS ON FILE
CARMEN J. ROMAN SALDANA          ADDRESS ON FILE
CARMEN J. SALINAS TORRALES       ADDRESS ON FILE
CARMEN J. SANCHEZ RIVERA         ADDRESS ON FILE
CARMEN J. SANTIAGO SANTOS        ADDRESS ON FILE
Carmen J. Urdaz Alvarez          ADDRESS ON FILE
CARMEN J. URRUTIA TORRES         ADDRESS ON FILE
Carmen Jaime Soto                ADDRESS ON FILE
CARMEN JANET COLLAZO FERNANDEZ   ADDRESS ON FILE
CARMEN JIMENEZ ALEMAN            ADDRESS ON FILE
CARMEN JIMENEZ BRITO             ADDRESS ON FILE
CARMEN JIMENEZ CHALAS            ADDRESS ON FILE
CARMEN JIMENEZ MARTES            ADDRESS ON FILE
CARMEN JIMENEZ PENA              ADDRESS ON FILE
CARMEN JIMENEZ RIVERA            ADDRESS ON FILE
CARMEN JIMENEZ ROSA              ADDRESS ON FILE
CARMEN JUDITH RUIZ RODRIGUEZ     ADDRESS ON FILE
CARMEN JULIA ARROYO PREZ         ADDRESS ON FILE
CARMEN JULIA CRESPO ARROYO       ADDRESS ON FILE
CARMEN JULIA DELGADO CRUZ        ADDRESS ON FILE
CARMEN JULIA DELGADO CRUZ        ADDRESS ON FILE
CARMEN JULIA GONZALEZ LOPEZ      ADDRESS ON FILE
CARMEN JULIA MORALES             ADDRESS ON FILE
CARMEN JULIA MORALES FUENTES     ADDRESS ON FILE
CARMEN JULIA MORALES SALAMAN     ADDRESS ON FILE
CARMEN JULIA OTERO OTERO         ADDRESS ON FILE
CARMEN JULIA RIVERA TORRES       ADDRESS ON FILE
CARMEN JULIA TORRES SANTIAGO     ADDRESS ON FILE
CARMEN JURADO                    ADDRESS ON FILE
CARMEN KERCADO COUVERTIER        ADDRESS ON FILE
CARMEN L ACOSTA RODRIGUEZ        ADDRESS ON FILE
CARMEN L ALICEA LA FOSSE         ADDRESS ON FILE
CARMEN L ALINDATO LAVESARY       ADDRESS ON FILE
CARMEN L ALOMAR DELGADO          ADDRESS ON FILE
CARMEN L APONTE BAEZ             ADDRESS ON FILE
CARMEN L ARROYO VELEZ            ADDRESS ON FILE
CARMEN L AVILES ORTIZ            ADDRESS ON FILE
CARMEN L BARRETO PEREZ           ADDRESS ON FILE
CARMEN L BENITEZ                 ADDRESS ON FILE
CARMEN L BERRIOS VIRELLA         ADDRESS ON FILE
CARMEN L BONILLA LAGUER          ADDRESS ON FILE
CARMEN L CABRERA GONZALEZ        ADDRESS ON FILE
CARMEN L CABRERA GONZALEZ        ADDRESS ON FILE
CARMEN L CANALES VAZQUEZ         ADDRESS ON FILE
CARMEN L CARDONA GOMEZ           ADDRESS ON FILE
CARMEN L CASTRO CORDERO          ADDRESS ON FILE
CARMEN L CASTRO DOMINGUEZ        ADDRESS ON FILE
CARMEN L CHACON SANTIAGO         ADDRESS ON FILE
CARMEN L COLLADO RIVERA          ADDRESS ON FILE
CARMEN L COLON FLORES            ADDRESS ON FILE
CARMEN L COLON RUIZ              ADDRESS ON FILE
CARMEN L COLON VEGA              ADDRESS ON FILE
CARMEN L CONCEPCION RIOS         ADDRESS ON FILE
CARMEN L CORCHADO MONROIG        ADDRESS ON FILE
CARMEN L CORTES VAZQUEZ          ADDRESS ON FILE
CARMEN L COSME RODRIGUEZ         ADDRESS ON FILE
CARMEN L CRUZ GONZALEZ           ADDRESS ON FILE
CARMEN L CRUZ MORCIGLIO          ADDRESS ON FILE
CARMEN L CUBANO MUNIZ            ADDRESS ON FILE




                                                                             Page 1264 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1265 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN L CUBANO MUNIZ                ADDRESS ON FILE
CARMEN L DAVID ORTIZ                 ADDRESS ON FILE
CARMEN L DAVID SANTIAGO              ADDRESS ON FILE
CARMEN L DE LEON DEL VALLE           ADDRESS ON FILE
CARMEN L DE LEON ROSARIO             ADDRESS ON FILE
CARMEN L DELGADO ANAYA               ADDRESS ON FILE
CARMEN L DELGADO CRUZ                ADDRESS ON FILE
CARMEN L DELGADO DELGADO             ADDRESS ON FILE
CARMEN L DELGADO RIVERA              ADDRESS ON FILE
CARMEN L DIAZ GARCIA                 ADDRESS ON FILE
CARMEN L DIAZ OYOLA                  ADDRESS ON FILE
CARMEN L DROZ PACHECO                ADDRESS ON FILE
CARMEN L ELIZA ORTIZ                 ADDRESS ON FILE
CARMEN L ESTRADA RODRIGUEZ           ADDRESS ON FILE
CARMEN L FANFAN DIAZ                 ADDRESS ON FILE
CARMEN L FERRERIS LLANTIN            ADDRESS ON FILE
CARMEN L FIGUEROA GUERRA             ADDRESS ON FILE
CARMEN L FIGUEROA ORTIZ              ADDRESS ON FILE
CARMEN L FIGUEROA Y PEDRO O MATOS    ADDRESS ON FILE
CARMEN L FONSECA CHARRIEZ            ADDRESS ON FILE
CARMEN L FONTANEZ RUIZ               ADDRESS ON FILE
CARMEN L FUENTES AYALA               ADDRESS ON FILE
CARMEN L FUENTES AYALA               ADDRESS ON FILE
CARMEN L FUENTES FERNANDEZ           ADDRESS ON FILE
CARMEN L GARCIA COLON                ADDRESS ON FILE
CARMEN L GERENA ROLDAN               ADDRESS ON FILE
CARMEN L GONZALEZ FELICIANO          ADDRESS ON FILE
CARMEN L GONZALEZ MENDEZ             ADDRESS ON FILE
CARMEN L GONZALEZ MUNOZ              ADDRESS ON FILE
CARMEN L GONZALEZ PEREZ              ADDRESS ON FILE
CARMEN L GONZALEZ VELAZQUEZ          ADDRESS ON FILE
CARMEN L GORGAS RIVERA               ADDRESS ON FILE
CARMEN L GRAJALES RODRIGUEZ          ADDRESS ON FILE
CARMEN L GREEN / ELIS D RIOS GREEN   ADDRESS ON FILE
CARMEN L GREEN VEGA                  ADDRESS ON FILE
CARMEN L GREEN VEGA                  ADDRESS ON FILE
CARMEN L HERNANDEZ ACEVEDO           ADDRESS ON FILE
CARMEN L HERNANDEZ DIAZ              ADDRESS ON FILE
CARMEN L HERNANDEZ LAUSELL           ADDRESS ON FILE
CARMEN L HERNANDEZ PALAU             ADDRESS ON FILE
CARMEN L HUERTAS ROSA                ADDRESS ON FILE
CARMEN L IRIZARRY CARABALLO          ADDRESS ON FILE
CARMEN L IRIZARRY JIMENEZ            ADDRESS ON FILE
CARMEN L IRIZARRY JIMENEZ            ADDRESS ON FILE
CARMEN L JAUME                       ADDRESS ON FILE
CARMEN L JIMENEZ NIEVES              ADDRESS ON FILE
CARMEN L JORDAN RIVERA               ADDRESS ON FILE
CARMEN L JORGE MARTINEZ              ADDRESS ON FILE
CARMEN L LASANTA ROBLES              ADDRESS ON FILE
CARMEN L LOPEZ RAMOS                 ADDRESS ON FILE
CARMEN L LORENZO ORAMA               ADDRESS ON FILE
CARMEN L LUNA AMBERT                 ADDRESS ON FILE
CARMEN L MALDONADO COLON             ADDRESS ON FILE
CARMEN L MALDONADO TORRES            ADDRESS ON FILE
CARMEN L MARRERO SERRANO             ADDRESS ON FILE
CARMEN L MARTINEZ                    ADDRESS ON FILE
CARMEN L MARTINEZ TORRENS            ADDRESS ON FILE
CARMEN L MARTINEZ TORRENS            ADDRESS ON FILE
CARMEN L MATOS ORTIZ                 ADDRESS ON FILE
CARMEN L MEJIAS CORDERO              ADDRESS ON FILE




                                                                                 Page 1265 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1266 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN L MELENDEZ SOTO             ADDRESS ON FILE
CARMEN L MENDEZ BABILONIA          ADDRESS ON FILE
CARMEN L MENENDEZ SEPULVEDA        ADDRESS ON FILE
CARMEN L MONTANEZ REYES            ADDRESS ON FILE
CARMEN L MONTANEZ REYES            ADDRESS ON FILE
CARMEN L MONTIJO TOLEDO            ADDRESS ON FILE
CARMEN L MORALES BURGOS            ADDRESS ON FILE
CARMEN L MORALES PEREZ             ADDRESS ON FILE
CARMEN L MORALES QUILES            ADDRESS ON FILE
CARMEN L MORALES TORRES            ADDRESS ON FILE
CARMEN L MORALES Y ANA M MORALES   ADDRESS ON FILE
CARMEN L MORALES Y ANA M MORALES   ADDRESS ON FILE
CARMEN L NEGRON GONZALEZ           ADDRESS ON FILE
CARMEN L NEGRON MARIN              ADDRESS ON FILE
CARMEN L NEGRON RIVERA             ADDRESS ON FILE
CARMEN L NEGRON SANTIAGO           ADDRESS ON FILE
CARMEN L NIEVES HERNANDEZ          ADDRESS ON FILE
CARMEN L NIEVES RAMOS              ADDRESS ON FILE
CARMEN L OCANA ANDRADES            ADDRESS ON FILE
CARMEN L OCASIO MARRERO            ADDRESS ON FILE
CARMEN L OCASIO OCASIO             ADDRESS ON FILE
CARMEN L OLIVERAS RIVERA           ADDRESS ON FILE
CARMEN L OROZCO MOJICA             ADDRESS ON FILE
CARMEN L ORTIZ / ADALBERTO ORTIZ   ADDRESS ON FILE
CARMEN L ORTIZ APONTE              ADDRESS ON FILE
CARMEN L ORTIZ CORALI              ADDRESS ON FILE
CARMEN L ORTIZ DIAZ                ADDRESS ON FILE
CARMEN L ORTIZ TORRES              ADDRESS ON FILE
CARMEN L ORTOLAZA MARTINEZ         ADDRESS ON FILE
CARMEN L PEREZ                     ADDRESS ON FILE
CARMEN L PEREZ CARRASQUILLO        ADDRESS ON FILE
CARMEN L PEREZ GARCIA              ADDRESS ON FILE
CARMEN L PEREZ GOMEZ               ADDRESS ON FILE
CARMEN L PEREZ GONZALEZ            ADDRESS ON FILE
CARMEN L PEREZ GONZALEZ            ADDRESS ON FILE
CARMEN L PEREZ MENDEZ              ADDRESS ON FILE
CARMEN L PINEIRO ROMAN             ADDRESS ON FILE
CARMEN L QUINONES FIGUEROA         ADDRESS ON FILE
CARMEN L QUINONES QUINONES         ADDRESS ON FILE
CARMEN L RAMIREZ GRAJALES          ADDRESS ON FILE
CARMEN L RAMIREZ MOJICA            ADDRESS ON FILE
CARMEN L RAMIREZ SANCHEZ           ADDRESS ON FILE
CARMEN L RAMOS DIAZ                ADDRESS ON FILE
CARMEN L RAMOS MARTINEZ            ADDRESS ON FILE
CARMEN L REDALIEU                  ADDRESS ON FILE
CARMEN L REYES FONTANEZ            ADDRESS ON FILE
CARMEN L REYES OTERO               ADDRESS ON FILE
CARMEN L REYES RIVERA              ADDRESS ON FILE
CARMEN L REYES SANCHEZ             ADDRESS ON FILE
CARMEN L RIOS ARROYO               ADDRESS ON FILE
CARMEN L RIVAS                     ADDRESS ON FILE
CARMEN L RIVERA ALVARADO           ADDRESS ON FILE
CARMEN L RIVERA BRILLON            ADDRESS ON FILE
CARMEN L RIVERA CASANOVA           ADDRESS ON FILE
CARMEN L RIVERA CONCEPCION         ADDRESS ON FILE
CARMEN L RIVERA ESTRADA            ADDRESS ON FILE
CARMEN L RIVERA FERNANDEZ          ADDRESS ON FILE
CARMEN L RIVERA FERRER             ADDRESS ON FILE
CARMEN L RIVERA HADDOCK            ADDRESS ON FILE
CARMEN L RIVERA MEDINA             ADDRESS ON FILE




                                                                               Page 1266 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1267 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN L RIVERA MEDINA            ADDRESS ON FILE
CARMEN L RIVERA OQUENDO           ADDRESS ON FILE
CARMEN L RIVERA PINEIRO           ADDRESS ON FILE
CARMEN L RIVERA SANCHEZ           ADDRESS ON FILE
CARMEN L RODRIGUEZ ALVAREZ        ADDRESS ON FILE
CARMEN L RODRIGUEZ BENITEZ        ADDRESS ON FILE
CARMEN L RODRIGUEZ BLANCO         ADDRESS ON FILE
CARMEN L RODRIGUEZ DIAZ           ADDRESS ON FILE
CARMEN L RODRIGUEZ OLIVENCIA      ADDRESS ON FILE
CARMEN L RODRIGUEZ ROSA           ADDRESS ON FILE
CARMEN L RODRIGUEZ ROSA           ADDRESS ON FILE
CARMEN L RODRIGUEZ VALENTIN       ADDRESS ON FILE
CARMEN L ROMAN AGUILA             ADDRESS ON FILE
CARMEN L ROMAN BARRE              ADDRESS ON FILE
CARMEN L ROMAN RIVERA             ADDRESS ON FILE
CARMEN L ROSA CARRASQUILLO        ADDRESS ON FILE
CARMEN L ROSADO SANTIAGO          ADDRESS ON FILE
CARMEN L ROSARIO CAEZ             ADDRESS ON FILE
CARMEN L ROSARIO GUZMAN           ADDRESS ON FILE
CARMEN L SANCHEZ                  ADDRESS ON FILE
CARMEN L SANCHEZ FERMIN           ADDRESS ON FILE
CARMEN L SANCHEZ RUIZ             ADDRESS ON FILE
CARMEN L SANTA                    ADDRESS ON FILE
CARMEN L SANTIAGO RODRIGUEZ       ADDRESS ON FILE
CARMEN L SANTOS SANTIAGO          ADDRESS ON FILE
CARMEN L SELPA BAEZ               ADDRESS ON FILE
CARMEN L SELPA BAEZ               ADDRESS ON FILE
CARMEN L SERRANO GOMEZ            ADDRESS ON FILE
CARMEN L SERRANO ORTA             ADDRESS ON FILE
CARMEN L SIERRA ORTIZ             ADDRESS ON FILE
CARMEN L SILVA MAISONET           ADDRESS ON FILE
CARMEN L SILVA ROMERO             ADDRESS ON FILE
CARMEN L SOTO GARCIAS             ADDRESS ON FILE
CARMEN L SUAREZ APONTE            ADDRESS ON FILE
CARMEN L SUAREZ CRUZ              ADDRESS ON FILE
CARMEN L TANON CUEVAS             ADDRESS ON FILE
CARMEN L TAPIA MAYSONET           ADDRESS ON FILE
CARMEN L TIRADO SANTOS            ADDRESS ON FILE
CARMEN L TORRES MOLINA            ADDRESS ON FILE
CARMEN L TORRES SOTO              ADDRESS ON FILE
CARMEN L TRAVIESO COLON           ADDRESS ON FILE
CARMEN L TRAVIESO COLON           ADDRESS ON FILE
CARMEN L VALENTIN VARGAS          ADDRESS ON FILE
CARMEN L VAZQUEZ BURGOS           ADDRESS ON FILE
CARMEN L VAZQUEZ MARQUEZ          ADDRESS ON FILE
CARMEN L VAZQUEZ RIVERA           ADDRESS ON FILE
CARMEN L VELAZQUEZ GOMEZ          ADDRESS ON FILE
CARMEN L VELEZ MORALES            ADDRESS ON FILE
CARMEN L VELEZ SANTOS             ADDRESS ON FILE
CARMEN L VENDRELL TORRES          ADDRESS ON FILE
CARMEN L VENEGAS ANDINO           ADDRESS ON FILE
CARMEN L VILLARINI GONZALEZ       ADDRESS ON FILE
CARMEN L. ACEVEDO ORTIZ           ADDRESS ON FILE
CARMEN L. ALICEA COTTO            ADDRESS ON FILE
CARMEN L. CALCANO ALLENDE         ADDRESS ON FILE
CARMEN L. CLEMENTE PLAZA          ADDRESS ON FILE
CARMEN L. COLON COLON             ADDRESS ON FILE
CARMEN L. CONCEPCION RIOS         ADDRESS ON FILE
CARMEN L. ENCARNACION DEL VALLE   ADDRESS ON FILE
CARMEN L. FERNANDEZ MONTANEZ      ADDRESS ON FILE




                                                                              Page 1267 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1268 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                             Address1                                  Address2                            Address3                Address4   City         State   PostalCode   Country
CARMEN L. GARCIA SANTIAGO                 ADDRESS ON FILE
CARMEN L. GONZALEZ LOPEZ                  ADDRESS ON FILE
CARMEN L. GONZALEZ MERCADO                ADDRESS ON FILE
CARMEN L. HERNANDEZ ORTEGA                ADDRESS ON FILE
CARMEN L. HERNANDEZ REYES                 ADDRESS ON FILE
CARMEN L. JIMENEZ NIEVES                  ADDRESS ON FILE
CARMEN L. KUILAN                          ADDRESS ON FILE
CARMEN L. LAMOURT MARTIR                  ADDRESS ON FILE
Carmen L. Lopez Leon                      ADDRESS ON FILE
CARMEN L. LOPEZ RODRIGUEZ                 ADDRESS ON FILE
CARMEN L. MARTINEZ COTTO                  ADDRESS ON FILE
CARMEN L. MARTINEZ MELENDEZ               ADDRESS ON FILE
CARMEN L. MELENDEZ PADILLA                ADDRESS ON FILE
CARMEN L. MIRANDA GONZALEZ                ADDRESS ON FILE
CARMEN L. MURIEL FALCON                   ADDRESS ON FILE
Carmen L. Ocasio Delgado                  ADDRESS ON FILE
CARMEN L. ORTIZ BARTOLOMEI                ADDRESS ON FILE
CARMEN L. OTERO MUðOZ                     ADDRESS ON FILE
CARMEN L. OTERO MUðOZ                     ADDRESS ON FILE
CARMEN L. OTERO MUNOZ                     ADDRESS ON FILE
CARMEN L. OTERO MUNOZ                     ADDRESS ON FILE
CARMEN L. OTERO MUNOZ                     ADDRESS ON FILE
CARMEN L. PADILLA CARRERAS                ADDRESS ON FILE
CARMEN L. PADILLA CARRERAS                ADDRESS ON FILE
CARMEN L. PEARSON HERNAIZ                 ADDRESS ON FILE
CARMEN L. PEREZ CAJIGAS                   ADDRESS ON FILE
CARMEN L. PEREZ CINTRON                   ADDRESS ON FILE
CARMEN L. PEREZ GARCIA                    ADDRESS ON FILE
                                                                                                                        605 AVE. CONDADO STE.
CARMEN L. PÉREZ LÓPEZ                     LCDO. DOMINGO QUILES ROSADO                COND. SAN ALBERTO                  621                                SAN JUAN     PR      00907‐3823
CARMEN L. PÉREZ LÓPEZ                     LCDO. NICOLÁS NOGUERAS CARTAGENA           PO BOX 195386                                                         SAN JUAN     PR      00919‐5386
CARMEN L. PINEDA RIVERA                   ADDRESS ON FILE
CARMEN L. PINET RAMOS                     ADDRESS ON FILE
CARMEN L. RAMIREZ SANCHEZ‐ MILCA RENTAS R LIC. MARICARMEN
CARMEN L. RIVERA HADDOCK                  ADDRESS ON FILE
CARMEN L. RIVERA ORTIZ                    ADDRESS ON FILE
CARMEN L. RODRIGUEZ OLIVERAS              ADDRESS ON FILE
CARMEN L. RODRIGUEZ RIVERA                ADDRESS ON FILE
CARMEN L. SERRANO SERRANO                 LCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                                          SAN JUAN     PR      00908‐3695
                                                                                                                        1353 AVE. LUIS
CARMEN L. SERRANO SERRANO                LCDA. YARLENE JIMENEZ ROSARIO              PMB 133                             VIGOREAUX                          GUAYNABO     PR      00966‐2700
CARMEN L. SIERRA ORTIZ                   ADDRESS ON FILE
CARMEN L. SOLIS FUENTES                  ADDRESS ON FILE
CARMEN L. SOTO CINTRON                   ADDRESS ON FILE
CARMEN L. TORRES ROSARIO                 ADDRESS ON FILE
CARMEN L. UMPIERRE MARTINEZ              ADDRESS ON FILE
CARMEN L. UMPIERRE MARTINEZ              ADDRESS ON FILE
Carmen L. Valentin Orozco                ADDRESS ON FILE
CARMEN L. VAZQUEZ ORTIZ                  ADDRESS ON FILE
CARMEN L. VAZQUEZ RIVERA                 ADDRESS ON FILE
CARMEN L. VAZQUEZ RODRIGUEZ              ADDRESS ON FILE
CARMEN L. VELAZQUEZ ROMERO               ADDRESS ON FILE
CARMEN L. VELEZ BERDECIA                 ADDRESS ON FILE
CARMEN L.DIAZ RIVERA                     ADDRESS ON FILE
CARMEN LAGUER FRANCO                     ADDRESS ON FILE
CARMEN LANTIGUA GONZALEZ                 ADDRESS ON FILE
CARMEN LASSEN QUILES                     ADDRESS ON FILE
CARMEN LAUSELL RODRIGUEZ                 ADDRESS ON FILE
CARMEN LAUZURIQUE GONZALEZ               ADDRESS ON FILE
CARMEN LAZU GARCIA                       ADDRESS ON FILE




                                                                                                         Page 1268 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1269 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                 Address2                                  Address3            Address4             City         State   PostalCode   Country
CARMEN LEBRON CORTES                    ADDRESS ON FILE
CARMEN LEBRON ORTEGA                    ADDRESS ON FILE
CARMEN LEFRANC RODRIGUEZ                ADDRESS ON FILE
                                                                                                                                               1606 Ave. Ponce De
CARMEN LIDIA JORGE                      EILEEN LANDRÓN GUARDIOLA; EDUARDO VERA REDIFICIO JULIO BOGORICÍN                   SUITE 501           LEÓN                 SAN JUAN     PR      00909
CARMEN LISSIETTE ANDUJAR LUNA           ADDRESS ON FILE
CARMEN LLANOS V ADMI REHABILTACION VOCA LCDO. PEDRO J. LANDRAU LOPEZ            AVE. DOMENCH #207                          OFICINA 106                              SAN JUAN     PR      00918
CARMEN LLERA VELAZQUEZ                  ADDRESS ON FILE
CARMEN LOINAZ MEJIAS                    ADDRESS ON FILE
CARMEN LOPEZ / MILTON MONTALVO          ADDRESS ON FILE
CARMEN LOPEZ CARRASQUILLO MD MPH        ADDRESS ON FILE
CARMEN LOPEZ DE LA CRUZ                 ADDRESS ON FILE
CARMEN LOPEZ FEBUS                      ADDRESS ON FILE
CARMEN LOPEZ FEBUS                      ADDRESS ON FILE
CARMEN LOPEZ GUARDARRAMA                ADDRESS ON FILE
CARMEN LOPEZ HERNANDEZ                  ADDRESS ON FILE
CARMEN LOPEZ PINERO                     ADDRESS ON FILE
CARMEN LOPEZ ROSARIO                    ADDRESS ON FILE
CARMEN LOPEZ ROSARIO                    ADDRESS ON FILE
CARMEN LOPEZ RUIZ                       IVONNE CRUZ SERRANO                     PO BOX 11897                                                                        SAN JUAN     PR      00922
CARMEN LOPEZ RUIZ                       JOSE MORALES ARROYO                     EDFI. ASOCIACIÓN DE MAESTROS ELA           452 AVE. PDL        OFIC 514             HARO REY     PR      00918‐3413
CARMEN LOPEZ TORRES                     ADDRESS ON FILE
CARMEN LOPEZ TOSADO                     ADDRESS ON FILE
CARMEN LORENZO FIGUEROA                 ADDRESS ON FILE
CARMEN LOZADA RAMOS                     ADDRESS ON FILE
CARMEN LOZADA RAMOS                     ADDRESS ON FILE
CARMEN LUGO CRUZ                        ADDRESS ON FILE
CARMEN LUGO MORALES                     ADDRESS ON FILE
                                                                                                                           100 GRAN BOULEVAR
CARMEN LUGO SOMOLINOS                   LCDA. SHIRLEY M. MONGE                   GALERÍA PASEOS                            PASEOS              SUITE 207A           SAN JUAN     PR      00926
Carmen Luna Echevarria                  ADDRESS ON FILE
CARMEN LUZ CINTRON CRUZ                 ADDRESS ON FILE
CARMEN LUZ PENA GOMEZ                   ADDRESS ON FILE
CARMEN LUZ SOLIVERA PLAUD               ADDRESS ON FILE
CARMEN LYDIA CINTRON LOPEZ              ADDRESS ON FILE
CARMEN LYDIA COLON PEREZ                ADDRESS ON FILE
CARMEN LYDIA DIAZ DIAZ                  ADDRESS ON FILE
CARMEN LYDIA FELICIANO CLAVELL          ADDRESS ON FILE
CARMEN LYDIA FELICIANO CLAVELL          ADDRESS ON FILE
CARMEN LYDIA MELON BONILLA              ADDRESS ON FILE
CARMEN LYDIA ORTIZ AYALA                ADDRESS ON FILE
CARMEN LYDIA ORTIZ AYALA                ADDRESS ON FILE
CARMEN LYDIA ORTIZ MONTANEZ             ADDRESS ON FILE
CARMEN LYDIA PEREZ RODRIGUEZ            ADDRESS ON FILE
CARMEN LYDIA SANCHEZ LOPEZ              ADDRESS ON FILE
CARMEN M . ORTIZ SERRANO                ADDRESS ON FILE
CARMEN M ACEVEDO SELVA                  ADDRESS ON FILE
CARMEN M ACOSTA DE CORREA               ADDRESS ON FILE
CARMEN M ACOSTA LUGO                    ADDRESS ON FILE
CARMEN M ADORNO ROSADO                  ADDRESS ON FILE
CARMEN M AGUILAR GARCIA                 ADDRESS ON FILE
CARMEN M ALCARAZ MILLAN                 ADDRESS ON FILE
CARMEN M ALMODOVAR RODRIGUEZ            ADDRESS ON FILE
CARMEN M ALMONTES FIGUEROA              ADDRESS ON FILE
CARMEN M ALVARADO NEGRON                ADDRESS ON FILE
CARMEN M ALVARADO RIVERA                ADDRESS ON FILE
CARMEN M ALVARADO VAZQUEZ               ADDRESS ON FILE
CARMEN M ALVAREZ ALAYON                 ADDRESS ON FILE
CARMEN M ALVAREZ GALARZA                ADDRESS ON FILE
CARMEN M ALVAREZ GALARZA                ADDRESS ON FILE




                                                                                                            Page 1269 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1270 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN M ALVAREZ LOPEZ         ADDRESS ON FILE
CARMEN M APONTE                ADDRESS ON FILE
CARMEN M APONTE RIVERA         ADDRESS ON FILE
CARMEN M APONTE RODRIGUEZ      ADDRESS ON FILE
CARMEN M AROCHO NIEVES         ADDRESS ON FILE
CARMEN M AROCHO SERRANO        ADDRESS ON FILE
CARMEN M AVILES INOSTROZA      ADDRESS ON FILE
CARMEN M AVILES VAZQUEZ        ADDRESS ON FILE
CARMEN M AYALA TROCHE          ADDRESS ON FILE
CARMEN M BAJANDA SANCHEZ       ADDRESS ON FILE
CARMEN M BALASQUIDE            ADDRESS ON FILE
CARMEN M BARBOSA ROBLES        ADDRESS ON FILE
CARMEN M BATISTA BORRERO       ADDRESS ON FILE
CARMEN M BELLIDO RODRIGUEZ     ADDRESS ON FILE
CARMEN M BERBERENA MUNIZ       ADDRESS ON FILE
CARMEN M BERRIOS ORTIZ         ADDRESS ON FILE
CARMEN M BERRIOS SOTO          ADDRESS ON FILE
CARMEN M BETANCOURT CEDRES     ADDRESS ON FILE
CARMEN M BOYER CARDOZA         ADDRESS ON FILE
CARMEN M BRUNO PAGAN           ADDRESS ON FILE
CARMEN M BURGOS CRUZ           ADDRESS ON FILE
CARMEN M BURGOS GONZALEZ       ADDRESS ON FILE
CARMEN M BURGOS PICA           ADDRESS ON FILE
CARMEN M CABELLO CRUZ          ADDRESS ON FILE
CARMEN M CADIZ FIGUEROA        ADDRESS ON FILE
CARMEN M CALDERON MONGIL       ADDRESS ON FILE
CARMEN M CAMACHO GONZALEZ      ADDRESS ON FILE
CARMEN M CANALES PENA          ADDRESS ON FILE
CARMEN M CANDELARIA MARTINEZ   ADDRESS ON FILE
CARMEN M CARMONA ALVAREZ       ADDRESS ON FILE
CARMEN M CARRION SALAMAN       ADDRESS ON FILE
CARMEN M CARRO                 ADDRESS ON FILE
CARMEN M CARTAGENA TORRES      ADDRESS ON FILE
CARMEN M CASTELLANO VAZQUEZ    ADDRESS ON FILE
CARMEN M CEFINO                ADDRESS ON FILE
CARMEN M CHEVRES CHEVRES       ADDRESS ON FILE
CARMEN M CINTRON DE ESTEVES    ADDRESS ON FILE
CARMEN M CINTRON DE ESTEVES    ADDRESS ON FILE
CARMEN M CINTRON MEDINA        ADDRESS ON FILE
CARMEN M COLON BAEZ            ADDRESS ON FILE
CARMEN M COLON MARRERO         ADDRESS ON FILE
CARMEN M COLON PABON           ADDRESS ON FILE
CARMEN M COLON QUILES          ADDRESS ON FILE
CARMEN M COLON RODRIGUEZ       ADDRESS ON FILE
CARMEN M CONCEPCION JIMENEZ    ADDRESS ON FILE
CARMEN M CONDE CRUZ            ADDRESS ON FILE
CARMEN M CORDERO OTERO         ADDRESS ON FILE
CARMEN M CORIANO RODRIGUEZ     ADDRESS ON FILE
CARMEN M CORIANO RODRIGUEZ     ADDRESS ON FILE
CARMEN M COTTO COTTO           ADDRESS ON FILE
CARMEN M CRUZ DIAZ             ADDRESS ON FILE
CARMEN M CRUZ FELIX            ADDRESS ON FILE
CARMEN M CRUZ LOPEZ            ADDRESS ON FILE
CARMEN M CRUZ MALAVE           ADDRESS ON FILE
CARMEN M CRUZ NEGRON           ADDRESS ON FILE
CARMEN M CRUZ ROSADO           ADDRESS ON FILE
CARMEN M CRUZ TORRES           ADDRESS ON FILE
CARMEN M CRUZ VAZQUEZ          ADDRESS ON FILE
CARMEN M CULSON PABON          ADDRESS ON FILE
CARMEN M DE JESUS MORALES      ADDRESS ON FILE




                                                                           Page 1270 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1271 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN M DE LA ROSA RODRIGUEZ      ADDRESS ON FILE
CARMEN M DE LEON ROQUE             ADDRESS ON FILE
CARMEN M DELGADO RAMIREZ           ADDRESS ON FILE
CARMEN M DELGADO SERRANO           ADDRESS ON FILE
CARMEN M DELGADO VELAZQUEZ         ADDRESS ON FILE
CARMEN M DIAZ                      ADDRESS ON FILE
CARMEN M DIAZ CARRASQUILLO         ADDRESS ON FILE
CARMEN M DIAZ COLON                ADDRESS ON FILE
CARMEN M DIAZ LABOY                ADDRESS ON FILE
CARMEN M DIAZ ORTIZ                ADDRESS ON FILE
CARMEN M DIAZ PEREZ                ADDRESS ON FILE
CARMEN M DIAZ SANTOS               ADDRESS ON FILE
CARMEN M DIAZ VEGA                 ADDRESS ON FILE
CARMEN M FALCON BELTRAN            ADDRESS ON FILE
CARMEN M FEBRES ENCARNACION        ADDRESS ON FILE
CARMEN M FELICES VARGAS            ADDRESS ON FILE
CARMEN M FELICIANO TORRES          ADDRESS ON FILE
CARMEN M FELIX ESTRADA             ADDRESS ON FILE
CARMEN M FERNANDEZ MEDINA          ADDRESS ON FILE
CARMEN M FERREIRO ORTIZ            ADDRESS ON FILE
CARMEN M FIGUEROA ANDINO           ADDRESS ON FILE
CARMEN M FIGUEROA DONES            ADDRESS ON FILE
CARMEN M FIGUEROA RODRIGUEZ        ADDRESS ON FILE
CARMEN M FLORES BETANCOURT         ADDRESS ON FILE
CARMEN M FONSECA ARROYO            ADDRESS ON FILE
CARMEN M FRANCO DIAZ               ADDRESS ON FILE
CARMEN M FRANCO DIAZ               ADDRESS ON FILE
CARMEN M FUENTES RAMOS             ADDRESS ON FILE
CARMEN M FUENTES RAMOS             ADDRESS ON FILE
CARMEN M GARCIA DAVILA             ADDRESS ON FILE
CARMEN M GARCIA DELGADO            ADDRESS ON FILE
CARMEN M GARCIA MARQUEZ            ADDRESS ON FILE
CARMEN M GARCIA MONTES             ADDRESS ON FILE
CARMEN M GARCIA ROSADO             ADDRESS ON FILE
CARMEN M GERENA Y/O JOEL VARGAS    ADDRESS ON FILE
CARMEN M GONZALEZ CARTAGENA        ADDRESS ON FILE
CARMEN M GONZALEZ CINTRON          ADDRESS ON FILE
CARMEN M GONZALEZ DIAZ             ADDRESS ON FILE
CARMEN M GONZALEZ ESTAVILLO        ADDRESS ON FILE
CARMEN M GONZALEZ GUEVARRA         ADDRESS ON FILE
CARMEN M GONZALEZ MENDOZA          ADDRESS ON FILE
CARMEN M GONZALEZ ORTIZ            ADDRESS ON FILE
CARMEN M GONZALEZ RAMOS            ADDRESS ON FILE
CARMEN M GONZALEZ RIVERA           ADDRESS ON FILE
CARMEN M GONZALEZ RODRIGUEZ        ADDRESS ON FILE
CARMEN M GONZALEZ RODRIGUEZ        ADDRESS ON FILE
CARMEN M GONZALEZ SIFONTE          ADDRESS ON FILE
CARMEN M GONZALEZ TORRES           ADDRESS ON FILE
CARMEN M GONZALEZ VALLE            ADDRESS ON FILE
CARMEN M GRAULAN SERRANO           ADDRESS ON FILE
CARMEN M GUERRA CAPELES            ADDRESS ON FILE
CARMEN M GUIVAS IRRIZARI           ADDRESS ON FILE
CARMEN M GUZMAN GONZALEZ           ADDRESS ON FILE
CARMEN M HERNANDEZ ALICEA          ADDRESS ON FILE
CARMEN M HERNANDEZ GONZALEZ        ADDRESS ON FILE
CARMEN M HERNANDEZ GONZALEZ        ADDRESS ON FILE
CARMEN M HERNANDEZ RODRIGUEZ       ADDRESS ON FILE
CARMEN M HERNANDEZ VALENTIN        ADDRESS ON FILE
CARMEN M HURTADO / JULIO C LOPEZ   ADDRESS ON FILE
CARMEN M IGUINA MARQUEZ            ADDRESS ON FILE




                                                                               Page 1271 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1272 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN M JIMENEZ MALDONADO            ADDRESS ON FILE
CARMEN M LABORDE MENCHACA             ADDRESS ON FILE
CARMEN M LABOY SANTOS                 ADDRESS ON FILE
CARMEN M LEON POMALES                 ADDRESS ON FILE
CARMEN M LEON RIVERA                  ADDRESS ON FILE
CARMEN M LLOPIZ AYALA                 ADDRESS ON FILE
CARMEN M LOPEZ COLON                  ADDRESS ON FILE
CARMEN M LOPEZ DIAZ                   ADDRESS ON FILE
CARMEN M LOPEZ MARTINEZ               ADDRESS ON FILE
CARMEN M LOPEZ RIVERA                 ADDRESS ON FILE
CARMEN M LOPEZ ROCAFORT               ADDRESS ON FILE
CARMEN M LOPEZ VELEZ                  ADDRESS ON FILE
CARMEN M LOZADA CABALLERO             ADDRESS ON FILE
CARMEN M LOZANO TORRES                ADDRESS ON FILE
CARMEN M LUGO COLON                   ADDRESS ON FILE
CARMEN M LUGO MARTINEZ                ADDRESS ON FILE
CARMEN M LUGO VARGAS                  ADDRESS ON FILE
CARMEN M MACHADO RAMOS                ADDRESS ON FILE
CARMEN M MALDONADO                    ADDRESS ON FILE
CARMEN M MALDONADO CABRERA            ADDRESS ON FILE
CARMEN M MALDONADO PEREZ              ADDRESS ON FILE
CARMEN M MARTINEZ GONZALEZ            ADDRESS ON FILE
CARMEN M MARTINEZ LOPEZ               ADDRESS ON FILE
CARMEN M MARTINEZ LOZADA              ADDRESS ON FILE
CARMEN M MARTINEZ RODRIGUEZ           ADDRESS ON FILE
CARMEN M MATTA/ JOSHUA A REYES        ADDRESS ON FILE
CARMEN M MEDINA COLON                 ADDRESS ON FILE
CARMEN M MEDINA ELIZA                 ADDRESS ON FILE
CARMEN M MEDINA RIVERA                ADDRESS ON FILE
CARMEN M MELECIO / CARMEN M SANTANA   ADDRESS ON FILE
CARMEN M MELENDEZ AYALA               ADDRESS ON FILE
CARMEN M MELENDEZ MOLINA              ADDRESS ON FILE
CARMEN M MELENDEZ PEREZ               ADDRESS ON FILE
CARMEN M MELENDEZ RIVERA              ADDRESS ON FILE
CARMEN M MENDOZA HERNANDEZ            ADDRESS ON FILE
CARMEN M MERCADO PENA                 ADDRESS ON FILE
CARMEN M MILLAN DIAZ                  ADDRESS ON FILE
CARMEN M MOLINA ECHEVARIA             ADDRESS ON FILE
CARMEN M MOLINA TORRES                ADDRESS ON FILE
CARMEN M MONJE MARQUEZ                ADDRESS ON FILE
CARMEN M MONROIG MUNIZ                ADDRESS ON FILE
CARMEN M MORALES CONCEPCION           ADDRESS ON FILE
CARMEN M MORALES GONZALEZ             ADDRESS ON FILE
CARMEN M MORALES GONZALEZ             ADDRESS ON FILE
CARMEN M MORALES SANTIAGO             ADDRESS ON FILE
CARMEN M MORALES SANTINI              ADDRESS ON FILE
CARMEN M MORALES SERRANO              ADDRESS ON FILE
CARMEN M MORALES TORRES               ADDRESS ON FILE
CARMEN M MORALES VALENTIN             ADDRESS ON FILE
CARMEN M MORALES Y GLORIA D TORRES    ADDRESS ON FILE
CARMEN M MORANT ROMERO                ADDRESS ON FILE
CARMEN M MUNOZ OCASIO                 ADDRESS ON FILE
CARMEN M MUNOZ SANTIAGO               ADDRESS ON FILE
CARMEN M MUNOZ SANTONI                ADDRESS ON FILE
CARMEN M MUNOZ SANTONI                ADDRESS ON FILE
CARMEN M NARVAEZ FRES                 ADDRESS ON FILE
CARMEN M NAZARIO RAMIREZ              ADDRESS ON FILE
CARMEN M NEGRON MARTINEZ              ADDRESS ON FILE
CARMEN M NEGRON RIVERA                ADDRESS ON FILE
CARMEN M NIEVES                       ADDRESS ON FILE




                                                                                  Page 1272 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1273 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN M NIEVES CIRINO             ADDRESS ON FILE
CARMEN M NIEVES DEYA               ADDRESS ON FILE
CARMEN M NIEVES ORTIZ              ADDRESS ON FILE
CARMEN M NIEVES VAZQUEZ            ADDRESS ON FILE
CARMEN M NIEVES Y/O FELIX NIEVES   ADDRESS ON FILE
CARMEN M NUNEZ COLON               ADDRESS ON FILE
CARMEN M NUNEZ PEREZ               ADDRESS ON FILE
CARMEN M OCASIO COLON              ADDRESS ON FILE
CARMEN M OCASIO COSME              ADDRESS ON FILE
CARMEN M OCASIO LAUREANO           ADDRESS ON FILE
CARMEN M OLIVERA NEGRON            ADDRESS ON FILE
CARMEN M OLIVERO VILLANUEVA        ADDRESS ON FILE
CARMEN M OLIVERO VILLANUEVA        ADDRESS ON FILE
CARMEN M ORTIZ CEDENO              ADDRESS ON FILE
CARMEN M ORTIZ GUZMAN              ADDRESS ON FILE
CARMEN M ORTIZ ILARRAZA            ADDRESS ON FILE
CARMEN M ORTIZ ORTIZ               ADDRESS ON FILE
CARMEN M ORTIZ PIZARRO             ADDRESS ON FILE
CARMEN M ORTIZ QUILES              ADDRESS ON FILE
CARMEN M ORTIZ QUILES              ADDRESS ON FILE
CARMEN M ORTIZ RIVERA              ADDRESS ON FILE
CARMEN M ORTIZ VAZQUEZ             ADDRESS ON FILE
CARMEN M ORTIZ VAZQUEZ             ADDRESS ON FILE
CARMEN M OSORIO                    ADDRESS ON FILE
CARMEN M OTERO CORA                ADDRESS ON FILE
CARMEN M OVERMAN TORRES            ADDRESS ON FILE
CARMEN M PACHECO GARCIA            ADDRESS ON FILE
CARMEN M PACHECO PINEIRO           ADDRESS ON FILE
CARMEN M PADILLA SAEZ              ADDRESS ON FILE
CARMEN M PAGAN ORTIZ               ADDRESS ON FILE
CARMEN M PANTOJA HERNANDEZ         ADDRESS ON FILE
CARMEN M PARILLA DE JESUS          ADDRESS ON FILE
CARMEN M PAZ GONZALEZ              ADDRESS ON FILE
CARMEN M PENA CARRION              ADDRESS ON FILE
CARMEN M PENA ROMAN                ADDRESS ON FILE
CARMEN M PEREIRA HOMS              ADDRESS ON FILE
CARMEN M PEREZ GONZALEZ            ADDRESS ON FILE
CARMEN M PEREZ HERRERA             ADDRESS ON FILE
CARMEN M PEREZ LUGO                ADDRESS ON FILE
CARMEN M PEREZ MALDONADO           ADDRESS ON FILE
CARMEN M PEREZ MIRANDA             ADDRESS ON FILE
CARMEN M PEREZ MONTES              ADDRESS ON FILE
CARMEN M PEREZ NIEVES              ADDRESS ON FILE
CARMEN M PEREZ QUINONES            ADDRESS ON FILE
CARMEN M PEREZ RAMOS               ADDRESS ON FILE
CARMEN M PEREZ RODRIGUEZ           ADDRESS ON FILE
CARMEN M PEREZ RODRIGUEZ           ADDRESS ON FILE
CARMEN M PEREZ ROSADO              ADDRESS ON FILE
CARMEN M PEREZ ROSADO              ADDRESS ON FILE
CARMEN M PEREZ ROSADO              ADDRESS ON FILE
CARMEN M PINERO CORCINO            ADDRESS ON FILE
CARMEN M PINERO VIERA              ADDRESS ON FILE
CARMEN M PINTO LEBRON              ADDRESS ON FILE
CARMEN M PIZARRO ORTIZ             ADDRESS ON FILE
CARMEN M PONCE Y/O RUBEN ORTIZ     ADDRESS ON FILE
CARMEN M PRIETO PRIETO             ADDRESS ON FILE
CARMEN M QUINONES JIMENEZ          ADDRESS ON FILE
CARMEN M QUINONES NIEVES           ADDRESS ON FILE
CARMEN M QUINONES NIEVES           ADDRESS ON FILE
CARMEN M QUINONES NUNEZ            ADDRESS ON FILE




                                                                               Page 1273 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1274 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN M QUINONES PEREZ        ADDRESS ON FILE
CARMEN M QUINONEZ MORALES      ADDRESS ON FILE
CARMEN M RAMIREZ YUMET         ADDRESS ON FILE
CARMEN M RAMOS CALZADA         ADDRESS ON FILE
CARMEN M RAMOS CALZADA         ADDRESS ON FILE
CARMEN M RAMOS MUNDO           ADDRESS ON FILE
CARMEN M RAMOS RIVERA          ADDRESS ON FILE
CARMEN M RAMOS ROLON           ADDRESS ON FILE
CARMEN M RAMOS ROLON           ADDRESS ON FILE
CARMEN M REVERON PADIN         ADDRESS ON FILE
CARMEN M REYES RIVERA          ADDRESS ON FILE
CARMEN M REYES VELAZQUEZ       ADDRESS ON FILE
CARMEN M RIOS CASTRO           ADDRESS ON FILE
CARMEN M RIVERA                ADDRESS ON FILE
CARMEN M RIVERA CINTRON        ADDRESS ON FILE
CARMEN M RIVERA ESCALERA       ADDRESS ON FILE
CARMEN M RIVERA FONSECA        ADDRESS ON FILE
CARMEN M RIVERA FRANCO         ADDRESS ON FILE
CARMEN M RIVERA GARCIA         ADDRESS ON FILE
CARMEN M RIVERA GONZALEZ       ADDRESS ON FILE
CARMEN M RIVERA LOPEZ          ADDRESS ON FILE
CARMEN M RIVERA MILLAN         ADDRESS ON FILE
CARMEN M RIVERA MUNIZ          ADDRESS ON FILE
CARMEN M RIVERA PABON          ADDRESS ON FILE
CARMEN M RIVERA PAGAN          ADDRESS ON FILE
CARMEN M RIVERA RAMIREZ        ADDRESS ON FILE
CARMEN M RIVERA RAMOS          ADDRESS ON FILE
CARMEN M RIVERA REYES          ADDRESS ON FILE
CARMEN M RIVERA ROSADO         ADDRESS ON FILE
CARMEN M RIVERA TORRES         ADDRESS ON FILE
CARMEN M RIVERA VELEZ          ADDRESS ON FILE
CARMEN M RODRIGUEZ             ADDRESS ON FILE
CARMEN M RODRIGUEZ             ADDRESS ON FILE
CARMEN M RODRIGUEZ ALEJANDRO   ADDRESS ON FILE
CARMEN M RODRIGUEZ APONTE      ADDRESS ON FILE
CARMEN M RODRIGUEZ BERMONT     ADDRESS ON FILE
CARMEN M RODRIGUEZ CALDERON    ADDRESS ON FILE
CARMEN M RODRIGUEZ CARO        ADDRESS ON FILE
CARMEN M RODRIGUEZ COTTO       ADDRESS ON FILE
CARMEN M RODRIGUEZ COTTO       ADDRESS ON FILE
CARMEN M RODRIGUEZ CRUZ        ADDRESS ON FILE
CARMEN M RODRIGUEZ DAVILA      ADDRESS ON FILE
CARMEN M RODRIGUEZ FIGUEROA    ADDRESS ON FILE
CARMEN M RODRIGUEZ GARCIA      ADDRESS ON FILE
CARMEN M RODRIGUEZ GARCIA      ADDRESS ON FILE
CARMEN M RODRIGUEZ HERRERA     ADDRESS ON FILE
CARMEN M RODRIGUEZ LAUREANO    ADDRESS ON FILE
CARMEN M RODRIGUEZ MARTINEZ    ADDRESS ON FILE
CARMEN M RODRIGUEZ MORALES     ADDRESS ON FILE
CARMEN M RODRIGUEZ OJEDA       ADDRESS ON FILE
CARMEN M RODRIGUEZ PABON       ADDRESS ON FILE
CARMEN M RODRIGUEZ PRADO       ADDRESS ON FILE
CARMEN M RODRIGUEZ VIERA       ADDRESS ON FILE
CARMEN M ROLON FLORES          ADDRESS ON FILE
CARMEN M ROMAN                 ADDRESS ON FILE
CARMEN M ROMAN GONZALEZ        ADDRESS ON FILE
CARMEN M ROMAN RIVERA          ADDRESS ON FILE
CARMEN M ROSA ROSA             ADDRESS ON FILE
CARMEN M ROSA TORRES           ADDRESS ON FILE
CARMEN M ROSADO AGOSTO         ADDRESS ON FILE




                                                                           Page 1274 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1275 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN M ROSADO CALDERON          ADDRESS ON FILE
CARMEN M ROSADO QUILES            ADDRESS ON FILE
CARMEN M ROSADO VAZQUEZ           ADDRESS ON FILE
CARMEN M ROSARIO FELICIANO        ADDRESS ON FILE
CARMEN M ROSARIO FELICIANO        ADDRESS ON FILE
CARMEN M ROSARIO GONZALEZ         ADDRESS ON FILE
CARMEN M RUIZ GUEVARA             ADDRESS ON FILE
CARMEN M RUIZ PEREZ               ADDRESS ON FILE
CARMEN M RUIZ SUAU                ADDRESS ON FILE
CARMEN M SALDANA CASTRO           ADDRESS ON FILE
CARMEN M SALICRUP TORRES          ADDRESS ON FILE
CARMEN M SANCHEZ / JEAN C REGUS   ADDRESS ON FILE
CARMEN M SANCHEZ MUÐIZ            ADDRESS ON FILE
CARMEN M SANCHEZ MUNIZ            ADDRESS ON FILE
CARMEN M SANTANA OLIVO            ADDRESS ON FILE
CARMEN M SANTIAGO DAVILA          ADDRESS ON FILE
CARMEN M SANTIAGO LOZADA          ADDRESS ON FILE
CARMEN M SANTIAGO PABON           ADDRESS ON FILE
CARMEN M SANTIAGO QUINONES        ADDRESS ON FILE
CARMEN M SANTIAGO QUINONES        ADDRESS ON FILE
CARMEN M SANTIAGO RODRIGUEZ       ADDRESS ON FILE
CARMEN M SANTIAGO SAURI           ADDRESS ON FILE
CARMEN M SANTIAGO VAZQUEZ         ADDRESS ON FILE
CARMEN M SANTOS                   ADDRESS ON FILE
CARMEN M SANTOS RODRIGUEZ         ADDRESS ON FILE
CARMEN M SANTOS SANTIAGO          ADDRESS ON FILE
CARMEN M SEIJO COSTAS             ADDRESS ON FILE
CARMEN M SILVA HERNANDEZ          ADDRESS ON FILE
CARMEN M SISCO GONZALEZ           ADDRESS ON FILE
CARMEN M SOLIS RIVERA             ADDRESS ON FILE
CARMEN M SOLIS RIVERA             ADDRESS ON FILE
CARMEN M SOTO AVILES              ADDRESS ON FILE
CARMEN M SOTO CRUZ                ADDRESS ON FILE
CARMEN M SUAREZ ARISTUD           ADDRESS ON FILE
CARMEN M TANON GONZALEZ           ADDRESS ON FILE
CARMEN M TORES RIVERA             ADDRESS ON FILE
CARMEN M TORRES                   ADDRESS ON FILE
CARMEN M TORRES COLON             ADDRESS ON FILE
CARMEN M TORRES COTTO             ADDRESS ON FILE
CARMEN M TORRES DIAZ              ADDRESS ON FILE
CARMEN M TORRES LOZADA            ADDRESS ON FILE
CARMEN M TORRES LOZADA            ADDRESS ON FILE
CARMEN M TORRES MERCADO           ADDRESS ON FILE
CARMEN M TORRES ORTIZ             ADDRESS ON FILE
CARMEN M TORRES QUINONES          ADDRESS ON FILE
CARMEN M TORRES SANTOS            ADDRESS ON FILE
CARMEN M TORRES SANTOS            ADDRESS ON FILE
CARMEN M TORRES TORRES            ADDRESS ON FILE
CARMEN M TORRES TORRES            ADDRESS ON FILE
CARMEN M TROCHE VARGAS            ADDRESS ON FILE
CARMEN M UBILES ORTIZ             ADDRESS ON FILE
CARMEN M VALENTIN GARCIA          ADDRESS ON FILE
CARMEN M VALENTIN MUNIZ           ADDRESS ON FILE
CARMEN M VALENTIN RUIZ            ADDRESS ON FILE
CARMEN M VARGAS ALVAREZ           ADDRESS ON FILE
CARMEN M VAZQUEZ FORTI            ADDRESS ON FILE
CARMEN M VAZQUEZ OJEDA            ADDRESS ON FILE
CARMEN M VAZQUEZ RIVERA           ADDRESS ON FILE
CARMEN M VAZQUEZ ROMERO           ADDRESS ON FILE
CARMEN M VAZQUEZ TORRES           ADDRESS ON FILE




                                                                              Page 1275 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1276 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                     Address1                         Address2                                     Address3         Address4   City         State   PostalCode   Country
CARMEN M VAZQUEZ VAZQUEZ          ADDRESS ON FILE
CARMEN M VEGA SANTOS              ADDRESS ON FILE
CARMEN M VEGA TORRES              ADDRESS ON FILE
CARMEN M VELEZ ALICEA             ADDRESS ON FILE
CARMEN M VELEZ COTTO              ADDRESS ON FILE
CARMEN M VELEZ PEREZ              ADDRESS ON FILE
CARMEN M VERA PEREZ               ADDRESS ON FILE
CARMEN M VILLAFANE MELENDEZ       ADDRESS ON FILE
CARMEN M VILLALOBOS ALICEA        ADDRESS ON FILE
CARMEN M VILLAMIDES GONZALEZ      ADDRESS ON FILE
CARMEN M VILLANUEVA FELICIANO     ADDRESS ON FILE
CARMEN M. ACOSTA LUGO             ADDRESS ON FILE
CARMEN M. ALICEA MARTINEZ         ADDRESS ON FILE
CARMEN M. ALVAREZ RONDON          ADDRESS ON FILE
CARMEN M. ARROYO ORTIZ            ADDRESS ON FILE
CARMEN M. ARROYO SANCHEZ          ADDRESS ON FILE
CARMEN M. AVILA RODRIGUEZ         ADDRESS ON FILE
Carmen M. Aviles Perez            ADDRESS ON FILE
CARMEN M. CARMONA CRUZ            ADDRESS ON FILE
CARMEN M. CARRASQUILLO SANTIAGO   ADDRESS ON FILE
CARMEN M. CLAUDIO COLÓN           ADDRESS ON FILE
CARMEN M. CLAUDIO TORRES          ADDRESS ON FILE
CARMEN M. COLON ROMERO            ADDRESS ON FILE
CARMEN M. COLON SANTIAGO          ADDRESS ON FILE
CARMEN M. CRIPIN ESCALERA         ADDRESS ON FILE
CARMEN M. DIAZ NIEVES             ADDRESS ON FILE
CARMEN M. FEBUS ALICEA            ADDRESS ON FILE
CARMEN M. FRANQUI CONCEPCION      ADDRESS ON FILE
CARMEN M. GOMEZ VARELA            ADDRESS ON FILE
CARMEN M. HERNANDEZ ALICEA        ADDRESS ON FILE
CARMEN M. HERNANDEZ ROSADO        ADDRESS ON FILE
CARMEN M. LEON NARVAEZ            ADDRESS ON FILE
CARMEN M. MANGUAL MARCUCCI        ADDRESS ON FILE
CARMEN M. MARQUEZ GARCIA          ADDRESS ON FILE
CARMEN M. MARQUEZ PEREZ           ADDRESS ON FILE
CARMEN M. MARRERO RIVERA          ADDRESS ON FILE
CARMEN M. MARTINEZ RODRIGUEZ      ADDRESS ON FILE
CARMEN M. MENDEZ TORRES           ADDRESS ON FILE
CARMEN M. MERCADO                 LCDO. CARLOS G. MARTÍNEZ VIVAS   LCDO. CARLOS G. MARTÍNEZ VIVAS PO BOX 9028                               Ponce        PR      00732‐9028
CARMEN M. MERCADO                 LCDO. ESTEBAN MUJICA COTTO       LCDO. ESTEBAN MUJICA COTTO PO BOX 192062                                 SAN JUAN     PR      00919‐2062
CARMEN M. MERCADO                 LCDO. JUAN A. REYES COLÓN        LCDO. JUAN A. REYES COLÓN APARTADO 9028                                  Ponce        PR      00732
CARMEN M. MERCADO                 LCDO. JUAN E. MEDINA TORRES      LCDO. JUAN E. MEDINA TORRES PO BOX 330904                                Ponce        PR      00733‐0904
CARMEN M. MERCADO CASTILLO        ADDRESS ON FILE
CARMEN M. MONTES RIOS             ADDRESS ON FILE
CARMEN M. NAVARRO NIEVES          ADDRESS ON FILE
CARMEN M. OQUENDO FERRER          ADDRESS ON FILE
CARMEN M. ORTIZ COLON             ADDRESS ON FILE
CARMEN M. ORTIZ MELENDEZ          ADDRESS ON FILE
CARMEN M. ORTIZ VEGAS             ADDRESS ON FILE
CARMEN M. PINEIRO ORTIZ           ADDRESS ON FILE
CARMEN M. PLAUD ACOSTA            ADDRESS ON FILE
CARMEN M. PONCE ABREU             ADDRESS ON FILE
CARMEN M. PONTON REQUENA          ADDRESS ON FILE
CARMEN M. PORTALATÍN ALICEA       LCDO. GABRIEL CALDERON SIERRA    CANCIO NADAL RIVERA DÍAZ PSC                 PO BOX 364966,              SAN JUAN     PR      00936
CARMEN M. QUIðONEZ SILVA          ADDRESS ON FILE
CARMEN M. QUINONEZ SILVA          ADDRESS ON FILE
CARMEN M. QUINONEZ SILVA          ADDRESS ON FILE
CARMEN M. RAMIREZ                 ADDRESS ON FILE
Carmen M. Ramos Ocasio            ADDRESS ON FILE
CARMEN M. RAMOS SANTANA           ADDRESS ON FILE




                                                                                               Page 1276 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1277 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                          Address1                   Address2                                   Address3   Address4   City         State   PostalCode   Country
CARMEN M. RIBAS DE JESUS               ADDRESS ON FILE
CARMEN M. RIJOS NIEVES                 ADDRESS ON FILE
CARMEN M. RIVERA                       ADDRESS ON FILE
CARMEN M. RIVERA CRESPO                ADDRESS ON FILE
CARMEN M. RIVERA FIGUEROA              ADDRESS ON FILE
CARMEN M. RIVERA GARCIA                ADDRESS ON FILE
CARMEN M. RIVERA ROMERO                ADDRESS ON FILE
Carmen M. Rivera Rosa                  ADDRESS ON FILE
CARMEN M. RIVERA VELEZ                 ADDRESS ON FILE
CARMEN M. RODRIGUEZ ORTIZ              ADDRESS ON FILE
CARMEN M. RODRIGUEZ SANTOS             ADDRESS ON FILE
CARMEN M. ROLON CARTAGENA              ADDRESS ON FILE
CARMEN M. ROSADO CALDERON              ADDRESS ON FILE
CARMEN M. SANTIAGO DAVILA              ADDRESS ON FILE
CARMEN M. SANTIAGO VAZQUEZ             ADDRESS ON FILE
CARMEN M. SANTOS MALDONADO             ADDRESS ON FILE
CARMEN M. SOLIS DEL MORAL              ADDRESS ON FILE
CARMEN M. TIRADO FLORES                ADDRESS ON FILE
CARMEN M. TORRES CABRERA               ADDRESS ON FILE
CARMEN M. TORRES DELGADO               ADDRESS ON FILE
CARMEN M. TORRES HERNANDEZ             ADDRESS ON FILE
CARMEN M. TRAVIESO FLORES              ADDRESS ON FILE
CARMEN M. VALCARCEL MARQUEZ            ADDRESS ON FILE
CARMEN M. VIERA RIVERA                 ADDRESS ON FILE
CARMEN MAESTRE GUADARRAMA              ADDRESS ON FILE
CARMEN MAGRINA DE LA CRUZ              ADDRESS ON FILE
CARMEN MAISONET DBA TRANSPORTE ESCOLAR PMB 136                    137 CALLE AMAZONA SUITE 6                                        SAN JUAN     PR      00926
CARMEN MAISONET DBA TRANSPORTE ESCOLAR RR 2 BUZON 1428            CUPEY BAJO                                                       SAN JUAN     PR      00926
CARMEN MAISONET ROSARIO                ADDRESS ON FILE
CARMEN MALAVE                          ADDRESS ON FILE
CARMEN MALDONADO MANTILLA              ADDRESS ON FILE
CARMEN MALDONADO RODRIGUEZ             ADDRESS ON FILE
CARMEN MALDONADO SANTIAGO              ADDRESS ON FILE
CARMEN MALDONADO STELLA                ADDRESS ON FILE
CARMEN MALDONADO VIDOT                 ADDRESS ON FILE
CARMEN MANGUAL BONILLA                 ADDRESS ON FILE
CARMEN MARCANO COLON                   ADDRESS ON FILE
CARMEN MARCANO FIGUEROA                ADDRESS ON FILE
CARMEN MARIA CRUZ COLON                ADDRESS ON FILE
CARMEN MARIA IZQUIERDO RODRIGUEZ       ADDRESS ON FILE
CARMEN MARIA NARVAEZ FRES              ADDRESS ON FILE
CARMEN MARIA PEðA FLORES               ADDRESS ON FILE
CARMEN MARIA PENA FLORES               ADDRESS ON FILE
CARMEN MARIA PENA FLORES               ADDRESS ON FILE
CARMEN MARIA RIOS SANTIAGO             ADDRESS ON FILE
CARMEN MARIA TRELLES HERNANDEZ         ADDRESS ON FILE
CARMEN MARIE MENAY VEGA                ADDRESS ON FILE
CARMEN MARQUEZ HIDALGO                 ADDRESS ON FILE
CARMEN MARQUEZ MORALES                 ADDRESS ON FILE
CARMEN MARQUEZ PEREZ                   ADDRESS ON FILE
CARMEN MARQUEZ VAZQUEZ                 ADDRESS ON FILE
CARMEN MARRERO CINTRON                 ADDRESS ON FILE
CARMEN MARRERO ELIAS                   ADDRESS ON FILE
CARMEN MARRERO ELIAS                   ADDRESS ON FILE
CARMEN MARRERO MUNIZ                   ADDRESS ON FILE
CARMEN MARRERO SOTO                    ADDRESS ON FILE
CARMEN MARRERO TORRES                  ADDRESS ON FILE
CARMEN MARTELL TORRES                  ADDRESS ON FILE
CARMEN MARTINEZ                        ADDRESS ON FILE
CARMEN MARTINEZ ANGEL                  ADDRESS ON FILE




                                                                                              Page 1277 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1278 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN MARTINEZ CALDERON                ADDRESS ON FILE
CARMEN MARTINEZ CORDOVA                 ADDRESS ON FILE
CARMEN MARTINEZ DE CELIS                ADDRESS ON FILE
CARMEN MARTINEZ LATONI                  ADDRESS ON FILE
CARMEN MARTINEZ MOLINA                  ADDRESS ON FILE
CARMEN MARTINEZ MONTANEZ                ADDRESS ON FILE
CARMEN MARTINEZ MORALES                 ADDRESS ON FILE
CARMEN MARTINEZ RAMOS                   ADDRESS ON FILE
CARMEN MARTINEZ RENTAS                  ADDRESS ON FILE
CARMEN MARTINEZ ROSARIO                 ADDRESS ON FILE
CARMEN MARTINEZ TORRES                  ADDRESS ON FILE
CARMEN MATIAS ACEVEDO                   ADDRESS ON FILE
CARMEN MATIAS ACEVEDO                   ADDRESS ON FILE
CARMEN MATIAS MUNIZ                     ADDRESS ON FILE
CARMEN MATILDE MAC LEAN                 ADDRESS ON FILE
CARMEN MATOS MARTINEZ                   ADDRESS ON FILE
CARMEN MATOS PAGAN                      ADDRESS ON FILE
CARMEN MATOS RIVERA                     ADDRESS ON FILE
CARMEN MAYRA RODRIGUEZ RIOS             ADDRESS ON FILE
CARMEN MAYSONET MIRANDA                 ADDRESS ON FILE
CARMEN MEDINA AGRON                     ADDRESS ON FILE
CARMEN MEDINA CARRASQUILLO              ADDRESS ON FILE
CARMEN MEDINA FELIX                     ADDRESS ON FILE
CARMEN MEDINA LOZADA                    ADDRESS ON FILE
CARMEN MEDINA MARTINEZ                  ADDRESS ON FILE
CARMEN MEDINA NEGRON                    ADDRESS ON FILE
CARMEN MEDINA PEREZ                     ADDRESS ON FILE
CARMEN MEDINA REYES                     ADDRESS ON FILE
CARMEN MEJIA/MARANGELI MEJIA/ ANA MEJIA ADDRESS ON FILE
CARMEN MELENCIO RIVERA                  ADDRESS ON FILE
CARMEN MELENDEZ BONILLA                 ADDRESS ON FILE
CARMEN MELENDEZ CARABALLO               ADDRESS ON FILE
CARMEN MELENDEZ CASILLAS                ADDRESS ON FILE
CARMEN MELENDEZ SOLIS                   ADDRESS ON FILE
CARMEN MENDEZ CALERO                    ADDRESS ON FILE
CARMEN MENDEZ MENDEZ                    ADDRESS ON FILE
CARMEN MENDEZ NATAL                     ADDRESS ON FILE
CARMEN MENDEZ SALINAS                   ADDRESS ON FILE
CARMEN MENDOZA RODRIGUEZ                ADDRESS ON FILE
CARMEN MERCADO RODRIGUEZ                ADDRESS ON FILE
CARMEN MERCADO RODRIGUEZ                ADDRESS ON FILE
CARMEN MERCEDES PIMENTEL TORRES         ADDRESS ON FILE
CARMEN MERCEDES ROJAS AYALA             ADDRESS ON FILE
CARMEN MERCEDES VELEZ CRUZ              ADDRESS ON FILE
CARMEN MICOLEN SUREDA                   ADDRESS ON FILE
CARMEN MICOLEN SUREDA                   ADDRESS ON FILE
CARMEN MILAGROS DE JESUS GARCIA         ADDRESS ON FILE
CARMEN MILAGROS LOPEZ ROLON             ADDRESS ON FILE
CARMEN MILAGROS PEREZ                   ADDRESS ON FILE
CARMEN MILAGROS RAMOS SERRANO           ADDRESS ON FILE
CARMEN MIRABAL RIVERA                   ADDRESS ON FILE
CARMEN MIRANDA COLLAZO                  ADDRESS ON FILE
CARMEN MIRANDA ROSARIO                  ADDRESS ON FILE
CARMEN MIRANDA SUAREZ                   ADDRESS ON FILE
CARMEN MIRIAM AYALA                     ADDRESS ON FILE
CARMEN MONGE MARTINEZ                   ADDRESS ON FILE
CARMEN MONTANEZ ALAMO                   ADDRESS ON FILE
CARMEN MONTANEZ MARTINEZ                ADDRESS ON FILE
CARMEN MONTANEZ MARTINEZ                ADDRESS ON FILE
CARMEN MONTANEZ SANTOS                  ADDRESS ON FILE




                                                                                     Page 1278 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1279 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN MONTES CANDELARIA         ADDRESS ON FILE
CARMEN MONTEZUMA                 ADDRESS ON FILE
CARMEN MORA MONTOYO              ADDRESS ON FILE
CARMEN MORALES                   ADDRESS ON FILE
CARMEN MORALES                   ADDRESS ON FILE
CARMEN MORALES CARRASQUILLO      ADDRESS ON FILE
CARMEN MORALES DE JESUS          ADDRESS ON FILE
CARMEN MORALES DE JESUS          ADDRESS ON FILE
CARMEN MORALES DE JESUS          ADDRESS ON FILE
CARMEN MORALES MORALES           ADDRESS ON FILE
CARMEN MORALES ORTIZ             ADDRESS ON FILE
CARMEN MORALES ORTIZ             ADDRESS ON FILE
CARMEN MORALES PABON             ADDRESS ON FILE
CARMEN MORALES RAMIREZ           ADDRESS ON FILE
CARMEN MORALES RAMOS             ADDRESS ON FILE
CARMEN MORALES RIVERA            ADDRESS ON FILE
CARMEN MORALES RODRIGUEZ         ADDRESS ON FILE
CARMEN MORALES ROLON             ADDRESS ON FILE
CARMEN MORALES SAEZ              ADDRESS ON FILE
CARMEN MORALES SANCHEZ           ADDRESS ON FILE
CARMEN MORALES VALDEZ            ADDRESS ON FILE
CARMEN MOYA ROSA                 ADDRESS ON FILE
CARMEN MULERO MELENDEZ           ADDRESS ON FILE
CARMEN MUNIZ COLON               ADDRESS ON FILE
CARMEN MUNIZ MENDEZ              ADDRESS ON FILE
CARMEN MUNIZ RIVERA              ADDRESS ON FILE
CARMEN MUNOZ FIGUEROA            ADDRESS ON FILE
CARMEN MUNOZ MARRERO             ADDRESS ON FILE
CARMEN MUNOZ NARVAEZ             ADDRESS ON FILE
CARMEN MYRAIDA SANTOS GONZALEZ   ADDRESS ON FILE
CARMEN N ADORNO CLAUDIO          ADDRESS ON FILE
CARMEN N AYALA RIOS              ADDRESS ON FILE
CARMEN N BURGOS SANTIAGO         ADDRESS ON FILE
CARMEN N CABAN TORRES            ADDRESS ON FILE
CARMEN N CABRERA NIEVES          ADDRESS ON FILE
CARMEN N CARDONA TORRES          ADDRESS ON FILE
CARMEN N COLON COSME             ADDRESS ON FILE
CARMEN N CORTES MEDERO           ADDRESS ON FILE
CARMEN N COSME OLIVER            ADDRESS ON FILE
CARMEN N CRUZ MARTINEZ           ADDRESS ON FILE
CARMEN N CRUZ MARTINEZ           ADDRESS ON FILE
CARMEN N DIAZ MIRANDA            ADDRESS ON FILE
CARMEN N DIAZ RODRIGUEZ          ADDRESS ON FILE
CARMEN N ESCOBAR FELIX           ADDRESS ON FILE
CARMEN N FELICIANO VARGAS        ADDRESS ON FILE
CARMEN N FIGUEROA COLON          ADDRESS ON FILE
CARMEN N FLORES RIVERA           ADDRESS ON FILE
CARMEN N GALINDO ALEJANDRO       ADDRESS ON FILE
CARMEN N GONZALEZ FUENTES        ADDRESS ON FILE
CARMEN N GUZMAN BURGOS           ADDRESS ON FILE
CARMEN N HERNANDEZ RIVERA        ADDRESS ON FILE
CARMEN N LOPEZ BURGOS            ADDRESS ON FILE
CARMEN N MARRERO DIAZ            ADDRESS ON FILE
CARMEN N NAVARRO ROMERO          ADDRESS ON FILE
CARMEN N NEUMAN ROMAN            ADDRESS ON FILE
CARMEN N ONEILL SUAREZ           ADDRESS ON FILE
CARMEN N ORTIZ HERNANDEZ         ADDRESS ON FILE
CARMEN N PAOLI GARCIA            ADDRESS ON FILE
CARMEN N PEREZ ROJAS             ADDRESS ON FILE
CARMEN N PINEIRO CRESPO          ADDRESS ON FILE




                                                                             Page 1279 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1280 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                     Address1                                  Address2                                   Address3      Address4   City         State   PostalCode   Country
CARMEN N QUINTANA JIMENEZ         ADDRESS ON FILE
CARMEN N RIVERA CORTES            ADDRESS ON FILE
CARMEN N RIVERA MARTINEZ          ADDRESS ON FILE
CARMEN N RIVERA OTERO             ADDRESS ON FILE
CARMEN N RIVERA REYES             ADDRESS ON FILE
CARMEN N ROBLES PARRILLA          ADDRESS ON FILE
CARMEN N RODRIGUEZ MALAVE         ADDRESS ON FILE
CARMEN N SANTIAGO                 ADDRESS ON FILE
CARMEN N SANTIAGO SOSA            ADDRESS ON FILE
CARMEN N TORRES NEGRON            ADDRESS ON FILE
CARMEN N TORRES VELAZQUEZ         ADDRESS ON FILE
CARMEN N TRUJILLO CABRERA         ADDRESS ON FILE
CARMEN N VELEZ RODRIGUEZ          ADDRESS ON FILE
CARMEN N. COSME OLIVER            ADDRESS ON FILE
CARMEN N. DE JESUS FLORES         ADDRESS ON FILE
CARMEN N. ORTIZ ROMAN             ADDRESS ON FILE
CARMEN N. PINEIRO CRESPO          ADDRESS ON FILE
CARMEN N. RODRIGUEZ RODRIGUEZ     ADDRESS ON FILE
CARMEN N. SANTIAGO MORALES        ADDRESS ON FILE
CARMEN N. SERRANO DELGADO         LCDA. MARIBEL RIVERA RUIZ (ABOGADA ASEGUR 100 CARR 165 STE 404                                                GUAYNABO     PR      00968‐8050
                                                                                                                       138 WINSTON
CARMEN N. SERRANO DELGADO         LCDA. YAZMET PÉREZ GIUSTI                 PMB 914                                    CHURCHILL                SAN JUAN     PR      00926
CARMEN N. VELAZQUEZ MARTINEZ      ADDRESS ON FILE
CARMEN NANCY CUEVAS DIAZ          ADDRESS ON FILE
CARMEN NATAL DE JORGE             ADDRESS ON FILE
CARMEN NATAL MARTINEZ             ADDRESS ON FILE
CARMEN NATALIA GARCIA OLLER       ADDRESS ON FILE
CARMEN NAVARRO                    ADDRESS ON FILE
CARMEN NAYDA AREVALO ECHEVARRIA   ADDRESS ON FILE
CARMEN NAZARIO PANETO             ADDRESS ON FILE
CARMEN NEGRON BONILLA             CARMEN I NIEVESLUNA                       531 ST. QK‐2 COUNTRY CLUB                                           CAROLINA     PR      00982
CARMEN NEGRON DE TORRES           ADDRESS ON FILE
CARMEN NEGRON FLORES              ADDRESS ON FILE
CARMEN NEGRON MIRANDA             ADDRESS ON FILE
CARMEN NEGRON SANTIAGO            ADDRESS ON FILE
CARMEN NEVAREZ MOJICA             ADDRESS ON FILE
CARMEN NIEVES                     ADDRESS ON FILE
CARMEN NIEVES GARCIA, ET AL.      LCDO. EMILIO CANCIO BELLO                 CALLE SAN MATEO #1702                                               SANTURCE     PR      00912
CARMEN NIEVES MUNIZ               ADDRESS ON FILE
CARMEN NIEVES PEREZ               ADDRESS ON FILE
CARMEN NIEVES ROSADO              ADDRESS ON FILE
CARMEN NUÐEZ REYES                ADDRESS ON FILE
CARMEN NUNEZ                      ADDRESS ON FILE
CARMEN NUNEZ IGARTUA              ADDRESS ON FILE
Carmen NuNez Matos                ADDRESS ON FILE
CARMEN NUNEZ NUNEZ                ADDRESS ON FILE
CARMEN NUNEZ VELEZ                ADDRESS ON FILE
CARMEN NYDIA ROSA FIGUEROA        ADDRESS ON FILE
CARMEN O BLANCO MALDONADO         ADDRESS ON FILE
CARMEN O FIGUEROA CATALA          ADDRESS ON FILE
CARMEN O MENDEZ CANALES           ADDRESS ON FILE
CARMEN O MORALES RIVERA           ADDRESS ON FILE
CARMEN O MORALES RODRIGUEZ        ADDRESS ON FILE
CARMEN O. ARABIA ROJAS            ADDRESS ON FILE
CARMEN O. CANDELARIO MADERA       ADDRESS ON FILE
CARMEN O. RABELO RIVERA           ADDRESS ON FILE
CARMEN OCASIO FERRAO              ADDRESS ON FILE
CARMEN OCASIO FLORES              ADDRESS ON FILE
CARMEN OCASIO HERNANDEZ           ADDRESS ON FILE
CARMEN OCASIO IRIZARRY            ADDRESS ON FILE




                                                                                                        Page 1280 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1281 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN OCASIO MARTINEZ             ADDRESS ON FILE
CARMEN OFELIA MELENDEZ TORRES      ADDRESS ON FILE
CARMEN OFELIA MELENDEZ TORRES      ADDRESS ON FILE
CARMEN OHARRIZ ARRIAGA             ADDRESS ON FILE
CARMEN OJEDA DIAZ                  ADDRESS ON FILE
CARMEN OLGA MUNIZ                  ADDRESS ON FILE
CARMEN OLGA VILLARD RENTAS         ADDRESS ON FILE
CARMEN OLIVERAS RODRIGUEZ          ADDRESS ON FILE
CARMEN OLIVERAS TORRES             ADDRESS ON FILE
CARMEN OLIVIERI SERRANO            ADDRESS ON FILE
CARMEN OMAYRA MELENDEZ VELAZQUEZ   ADDRESS ON FILE
CARMEN ONEILL ROMAN                ADDRESS ON FILE
CARMEN ONGAY SANTOS                ADDRESS ON FILE
CARMEN OQUENDO VILLAR              ADDRESS ON FILE
CARMEN ORENCE HERMINA              ADDRESS ON FILE
CARMEN ORSINI SANTOS               ADDRESS ON FILE
CARMEN ORTEGA MARRERO              ADDRESS ON FILE
CARMEN ORTIZ ALICEA                ADDRESS ON FILE
CARMEN ORTIZ ALMODOVAR             ADDRESS ON FILE
CARMEN ORTIZ BENITEZ               ADDRESS ON FILE
CARMEN ORTIZ COLON                 ADDRESS ON FILE
CARMEN ORTIZ ESTRADA               ADDRESS ON FILE
CARMEN ORTIZ FERRER                ADDRESS ON FILE
CARMEN ORTIZ GARCIA                ADDRESS ON FILE
CARMEN ORTIZ GONZALEZ              ADDRESS ON FILE
CARMEN ORTIZ LEMOIS                ADDRESS ON FILE
CARMEN ORTIZ LEMOIS                ADDRESS ON FILE
CARMEN ORTIZ MARTINEZ              ADDRESS ON FILE
CARMEN ORTIZ MARTINEZ              ADDRESS ON FILE
CARMEN ORTIZ MARTINEZ              ADDRESS ON FILE
CARMEN ORTIZ MENDOZA               ADDRESS ON FILE
CARMEN ORTIZ MOLINA                ADDRESS ON FILE
CARMEN ORTIZ NIEVES                ADDRESS ON FILE
CARMEN ORTIZ PACHECO               ADDRESS ON FILE
CARMEN ORTIZ PAGAN                 ADDRESS ON FILE
CARMEN ORTIZ PENA                  ADDRESS ON FILE
CARMEN ORTIZ PINEIRO               ADDRESS ON FILE
CARMEN ORTIZ QUINONEZ              ADDRESS ON FILE
CARMEN ORTIZ SANTIAGO              ADDRESS ON FILE
CARMEN ORTIZ SANTIAGO              ADDRESS ON FILE
CARMEN ORTIZ SANTIAGO              ADDRESS ON FILE
CARMEN ORTIZ TORRES                ADDRESS ON FILE
CARMEN ORTIZ VILLAFANE             ADDRESS ON FILE
CARMEN OSORIO GONZALEZ             ADDRESS ON FILE
CARMEN OTERO / GLADYS M RIVERA     ADDRESS ON FILE
CARMEN OTERO MARTINEZ              ADDRESS ON FILE
CARMEN OYOLA QUINONEZ              ADDRESS ON FILE
CARMEN P ANDINO                    ADDRESS ON FILE
CARMEN P CAAMANO SANG              ADDRESS ON FILE
CARMEN P FIGUEROA PEREZ            ADDRESS ON FILE
CARMEN P GONZALEZ GONZALEZ         ADDRESS ON FILE
CARMEN P LUGO CRESPO               ADDRESS ON FILE
CARMEN P LUGO DOMINGUEZ            ADDRESS ON FILE
CARMEN P MIRANDA REYES             ADDRESS ON FILE
CARMEN P PEREZ COLON               ADDRESS ON FILE
CARMEN P QUILES FERNANDEZ          ADDRESS ON FILE
CARMEN P RIVERA MORALES            ADDRESS ON FILE
CARMEN P RODRIGUEZ IRIZARRY        ADDRESS ON FILE
CARMEN P RODRIGUEZ IRIZARRY        ADDRESS ON FILE
CARMEN P RODRIGUEZ IRIZARRY        ADDRESS ON FILE




                                                                               Page 1281 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1282 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
CARMEN P TORRES ROMAN              ADDRESS ON FILE
CARMEN P. NAVARRO RIVERA           ADDRESS ON FILE
CARMEN PABON                       ADDRESS ON FILE
CARMEN PABON VAZQUEZ               ADDRESS ON FILE
CARMEN PACHECO ROLDAN              ADDRESS ON FILE
CARMEN PADILLA CASTILLO            ADDRESS ON FILE
CARMEN PADILLA LAUREANO            ADDRESS ON FILE
CARMEN PADILLA TORRES              ADDRESS ON FILE
CARMEN PAGÁN GONZÁLEZ              CARMEN PAGAN GONZÁLEZ     PO BOX 265                                             SAN LORENZO     PR      00754
CARMEN PAGAN VILA                  ADDRESS ON FILE
CARMEN PAJARIN Y ALICIA M ORTIZ    ADDRESS ON FILE
CARMEN PANIAGUA MILETTE            ADDRESS ON FILE
CARMEN PAPALEO LEON                ADDRESS ON FILE
CARMEN PARRILLA BORGES             ADDRESS ON FILE
CARMEN PENA CARDONA                ADDRESS ON FILE
CARMEN PENA CINTRON                ADDRESS ON FILE
CARMEN PENA JIMENEZ                ADDRESS ON FILE
CARMEN PENA RIVERA                 ADDRESS ON FILE
CARMEN PENA SUAREZ                 ADDRESS ON FILE
CARMEN PENA VALIENTE               ADDRESS ON FILE
CARMEN PERALTA RIVERA              ADDRESS ON FILE
CARMEN PEREA /ANGEL L CORTEGUERA   ADDRESS ON FILE
CARMEN PEREIRA ORTIZ               ADDRESS ON FILE
CARMEN PEREZ ACOSTA                ADDRESS ON FILE
CARMEN PEREZ CASTRO                ADDRESS ON FILE
CARMEN PEREZ CRUZ                  ADDRESS ON FILE
CARMEN PEREZ DIAZ                  ADDRESS ON FILE
CARMEN PEREZ LLADE LMHC            2802 ALOMA AVE            SUITE 102                                              WINTER PARK     FL      32792
CARMEN PEREZ OLAVARRIA             ADDRESS ON FILE
CARMEN PEREZ POU                   ADDRESS ON FILE
CARMEN PEREZ REYES                 ADDRESS ON FILE
CARMEN PEREZ RIVERA                ADDRESS ON FILE
CARMEN PEREZ RODRIGUEZ             ADDRESS ON FILE
CARMEN PEREZ ROSA                  ADDRESS ON FILE
CARMEN PEREZ TORRES                ADDRESS ON FILE
CARMEN PETRA FLORES PANTOJAS       ADDRESS ON FILE
CARMEN PICA ROSA                   ADDRESS ON FILE
CARMEN PILAR RIVERA MORALES        ADDRESS ON FILE
CARMEN PINEIRO CRUZ                ADDRESS ON FILE
CARMEN PLAJA GONZALEZ              ADDRESS ON FILE
CARMEN PLAZA MARTINEZ              ADDRESS ON FILE
CARMEN POLLOCK                     ADDRESS ON FILE
CARMEN POLLOCK AND MELISSA COLON   ADDRESS ON FILE
CARMEN PONS RODRIGUEZ              ADDRESS ON FILE
CARMEN PORTELA WIER                ADDRESS ON FILE
CARMEN PRATTS RIVERA               ADDRESS ON FILE
CARMEN PUIG COLON                  ADDRESS ON FILE
CARMEN Q. RIVERA TORRES            ADDRESS ON FILE
CARMEN QUILES HERNANDEZ            ADDRESS ON FILE
CARMEN QUILES LUGO                 ADDRESS ON FILE
CARMEN QUILES MATOS                ADDRESS ON FILE
CARMEN QUINONES ARROYO             ADDRESS ON FILE
CARMEN QUINONES CARDE              ADDRESS ON FILE
CARMEN QUINONES CARMONA            ADDRESS ON FILE
CARMEN QUINONES CARMONA            ADDRESS ON FILE
CARMEN QUINONES JAIME              ADDRESS ON FILE
CARMEN QUINONES LUGO               ADDRESS ON FILE
CARMEN QUINONES MALDONADO          ADDRESS ON FILE
CARMEN QUINONES PEREZ              ADDRESS ON FILE
CARMEN QUINONEZ                    ADDRESS ON FILE




                                                                               Page 1282 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1283 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN QUINTANA RENTAS                  ADDRESS ON FILE
CARMEN R ARROYO BONILLA                 ADDRESS ON FILE
CARMEN R BACHIER CINTRON                ADDRESS ON FILE
CARMEN R BAEZ BARRETO                   ADDRESS ON FILE
CARMEN R BAEZ MARTINEZ                  ADDRESS ON FILE
CARMEN R BASABE FIGUEROA                ADDRESS ON FILE
CARMEN R CABRERA RODRIGUEZ              ADDRESS ON FILE
CARMEN R CARDONA PINEIRO                ADDRESS ON FILE
CARMEN R CEBOLLERO DE DRAGONI           ADDRESS ON FILE
CARMEN R CHAVES BUTLER                  ADDRESS ON FILE
CARMEN R CHAVES CALES                   ADDRESS ON FILE
CARMEN R CHAVEZ CECILIA                 ADDRESS ON FILE
CARMEN R COLLAZO ROSARIO                ADDRESS ON FILE
CARMEN R COLON AGUIAR                   ADDRESS ON FILE
CARMEN R COSTAS                         ADDRESS ON FILE
CARMEN R COTTE CINTRON                  ADDRESS ON FILE
CARMEN R DE LEON ROSA                   ADDRESS ON FILE
CARMEN R DIAZ ORTIZ                     ADDRESS ON FILE
CARMEN R ENCARNACION CARABALLO          ADDRESS ON FILE
CARMEN R ESTRADA HERNANDEZ              ADDRESS ON FILE
CARMEN R FIGUEROA TORRES                ADDRESS ON FILE
CARMEN R FRATICELLI RIVERA              ADDRESS ON FILE
CARMEN R GOMEZ RIVERA                   ADDRESS ON FILE
CARMEN R GONZALEZ OLIVERAS              ADDRESS ON FILE
CARMEN R GONZALEZ TORRES                ADDRESS ON FILE
CARMEN R GONZALEZ TORRES                ADDRESS ON FILE
CARMEN R GONZALEZ TORRES                ADDRESS ON FILE
CARMEN R GUZMAN SANTIAGO                ADDRESS ON FILE
CARMEN R JIMENEZ QUINONES               ADDRESS ON FILE
CARMEN R LEBRON ANAYA                   ADDRESS ON FILE
CARMEN R LOPEZ MONTANEZ                 ADDRESS ON FILE
CARMEN R MALDONADO MUNOZ                ADDRESS ON FILE
CARMEN R MANGUAL PARA ADRIAN R ESQUILIN ADDRESS ON FILE
CARMEN R MERCADO NIEVES                 ADDRESS ON FILE
CARMEN R MORALES RIVERA                 ADDRESS ON FILE
CARMEN R NIEVES NIEVES                  ADDRESS ON FILE
CARMEN R ORTIZ ALAMEDA                  ADDRESS ON FILE
CARMEN R RAMIREZ / ROSA RAMSTETTER      ADDRESS ON FILE
CARMEN R REYES SUAREZ                   ADDRESS ON FILE
CARMEN R RIVAS RIVERA                   ADDRESS ON FILE
CARMEN R ROBLES FLORES                  ADDRESS ON FILE
CARMEN R RODRIGUEZ GERENA               ADDRESS ON FILE
CARMEN R RODRIGUEZ NIEVES               ADDRESS ON FILE
CARMEN R ROMAN CUEVAS                   ADDRESS ON FILE
CARMEN R ROQUE TORRES                   ADDRESS ON FILE
CARMEN R ROSARIO CRISTOBAL              ADDRESS ON FILE
CARMEN R ROSARIO PEREZ                  ADDRESS ON FILE
CARMEN R SANTIAGO BURGOS                ADDRESS ON FILE
CARMEN R SANTIAGO CORTES                ADDRESS ON FILE
CARMEN R SEPULVEDA LABOY                ADDRESS ON FILE
CARMEN R SERRANO SERRANO                ADDRESS ON FILE
CARMEN R SUAREZ COLON                   ADDRESS ON FILE
CARMEN R VALDEZ PERICLES                ADDRESS ON FILE
CARMEN R,ANA E Y RAFAEL A NEGRON        ADDRESS ON FILE
CARMEN R. BAEZ MARTINEZ                 ADDRESS ON FILE
CARMEN R. BRUSELAS VAZQUEZ              ADDRESS ON FILE
CARMEN R. CRESPO TOLEDO                 ADDRESS ON FILE
CARMEN R. ESCALONA MARRERO              ADDRESS ON FILE
CARMEN R. MARRERO AGOSTO                ADDRESS ON FILE
CARMEN R. MELENDEZ FELIX                ADDRESS ON FILE




                                                                                     Page 1283 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1284 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN R. MELENDEZ FELIX          ADDRESS ON FILE
CARMEN R. MERCADO NIEVES          ADDRESS ON FILE
CARMEN R. MORALES SOTO            ADDRESS ON FILE
CARMEN R. NATAL CORIANO           ADDRESS ON FILE
CARMEN R. NEGRON RIVERA           ADDRESS ON FILE
CARMEN R. RIVERA GARCIA           ADDRESS ON FILE
CARMEN R. RODRIGUEZ CRUZ          ADDRESS ON FILE
CARMEN R. ROSARIO CRISTOBAL       ADDRESS ON FILE
CARMEN RAMIREZ RAMOS              ADDRESS ON FILE
CARMEN RAMIREZ RIVERA             ADDRESS ON FILE
CARMEN RAMIREZ RODRIGUEZ          ADDRESS ON FILE
CARMEN RAMIREZ SANTIAGO           ADDRESS ON FILE
CARMEN RAMIREZ VELEZ              ADDRESS ON FILE
CARMEN RAMIRIEZ SANTANA           ADDRESS ON FILE
CARMEN RAMOS CASTRO               ADDRESS ON FILE
CARMEN RAMOS CINTRON              ADDRESS ON FILE
CARMEN RAMOS FELICIANO            ADDRESS ON FILE
CARMEN RAMOS GARCIA               ADDRESS ON FILE
CARMEN RAMOS GODREAU              ADDRESS ON FILE
CARMEN RAMOS GODREAU              ADDRESS ON FILE
CARMEN RAMOS HERNANDEZ            ADDRESS ON FILE
CARMEN RAMOS MALDONADO            ADDRESS ON FILE
CARMEN RAMOS PEREZ                ADDRESS ON FILE
CARMEN RAMOS RAMOS                ADDRESS ON FILE
CARMEN RAMOS RAMOS                ADDRESS ON FILE
CARMEN RAMOS RODRIGUEZ            ADDRESS ON FILE
CARMEN RAMOS VARGAS               ADDRESS ON FILE
CARMEN RAMOS/ANA RAMOS/EVARISTO   ADDRESS ON FILE
CARMEN REYES FELICIANO            ADDRESS ON FILE
CARMEN REYES FLORES               ADDRESS ON FILE
CARMEN REYES RAMOS                ADDRESS ON FILE
CARMEN REYES REYES                ADDRESS ON FILE
CARMEN REYES VELAZQUEZ            ADDRESS ON FILE
CARMEN RIOS CRUZ                  ADDRESS ON FILE
CARMEN RIOS DELGADO               ADDRESS ON FILE
CARMEN RIOS VILLANUEVA            ADDRESS ON FILE
CARMEN RIOS VILLANUEVA            ADDRESS ON FILE
CARMEN RIOS Y/O ISABEL RIOS       ADDRESS ON FILE
CARMEN RITA HERNANDEZ COLON       ADDRESS ON FILE
CARMEN RITA TORRES SANTIAGO       ADDRESS ON FILE
CARMEN RIVAS DIAZ                 ADDRESS ON FILE
CARMEN RIVERA                     ADDRESS ON FILE
CARMEN RIVERA                     ADDRESS ON FILE
CARMEN RIVERA AGOSTO              ADDRESS ON FILE
CARMEN RIVERA AGOSTO              ADDRESS ON FILE
CARMEN RIVERA AGOSTO              ADDRESS ON FILE
CARMEN RIVERA ALVARADO            ADDRESS ON FILE
CARMEN RIVERA APONTE              ADDRESS ON FILE
CARMEN RIVERA APONTE              ADDRESS ON FILE
CARMEN RIVERA ARREAGA             ADDRESS ON FILE
Carmen Rivera Bodon               ADDRESS ON FILE
CARMEN RIVERA CARTAGENA           ADDRESS ON FILE
CARMEN RIVERA COLON               ADDRESS ON FILE
CARMEN RIVERA DIAZ                ADDRESS ON FILE
CARMEN RIVERA FARIA               ADDRESS ON FILE
CARMEN RIVERA FELICIANO           ADDRESS ON FILE
CARMEN RIVERA FIGUEROA            ADDRESS ON FILE
CARMEN RIVERA LOPEZ               ADDRESS ON FILE
CARMEN RIVERA MALDONADO           ADDRESS ON FILE
CARMEN RIVERA MARCANO             ADDRESS ON FILE




                                                                              Page 1284 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1285 of 3500
                                                                             17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                 Address1                          Address2                                  Address3   Address4   City            State   PostalCode   Country
CARMEN RIVERA MARRERO         ADDRESS ON FILE
CARMEN RIVERA MARTINEZ        ADDRESS ON FILE
CARMEN RIVERA MARTINEZ        ADDRESS ON FILE
CARMEN RIVERA MONTANEZ        ADDRESS ON FILE
CARMEN RIVERA MORALES         ADDRESS ON FILE
CARMEN RIVERA MORALES         ADDRESS ON FILE
CARMEN RIVERA MORALES         ADDRESS ON FILE
CARMEN RIVERA MUNIZ           ADDRESS ON FILE
CARMEN RIVERA ORTIZ           ADDRESS ON FILE
CARMEN RIVERA PAGAN           ADDRESS ON FILE
CARMEN RIVERA PEREZ           ADDRESS ON FILE
CARMEN RIVERA RIOS            ADDRESS ON FILE
CARMEN RIVERA RODRIGUEZ       ADDRESS ON FILE
CARMEN RIVERA RODRIGUEZ       ADDRESS ON FILE
CARMEN RIVERA RODRÍGUEZ       FRANCISCO J. VIZCARRONDO‐TORRES   PO BOX 195642                                                   SAN JUAN        PR      00919‐5642
CARMEN RIVERA ROMERO          ADDRESS ON FILE
CARMEN RIVERA ROSARIO         ADDRESS ON FILE
CARMEN RIVERA ROSARIO         ADDRESS ON FILE
CARMEN RIVERA SERRANO         ADDRESS ON FILE
CARMEN RIVERA TORRES          ADDRESS ON FILE
CARMEN RIVERA TORRES          MOISES ABREU                      454 LUIS MUÑIZ SOUFFRONT                                        RIO PIEDRAS     PR      00923
CARMEN RIVERA VALENTIN        ADDRESS ON FILE
CARMEN RIVERA VILLAFANE       ADDRESS ON FILE
CARMEN RIVERA VILLAFANE       ADDRESS ON FILE
CARMEN RIVERA VILLEDA         ADDRESS ON FILE
CARMEN RIVERA VINCENTI        ADDRESS ON FILE
CARMEN RIVERA ZAYAS           NORMAN VELAZQUEZ TORRES           59 B BARBOSA                                                    SALINAS         PR      00751
CARMEN ROBLES AGOSTO          ADDRESS ON FILE
CARMEN ROBLES GONZALEZ        ADDRESS ON FILE
CARMEN ROBLES GONZALEZ        ADDRESS ON FILE
CARMEN ROBLES HERRERA         ADDRESS ON FILE
CARMEN ROBLES SUAREZ          ADDRESS ON FILE
CARMEN RODRIGUEZ ALMONTE      ADDRESS ON FILE
CARMEN RODRIGUEZ ALVAREZ      ADDRESS ON FILE
CARMEN RODRIGUEZ CABALLERO    ADDRESS ON FILE
CARMEN RODRIGUEZ CARDONA      ADDRESS ON FILE
CARMEN RODRIGUEZ CARDONA      ADDRESS ON FILE
CARMEN RODRIGUEZ CARRERAS     ADDRESS ON FILE
CARMEN RODRIGUEZ CASTRO       ADDRESS ON FILE
CARMEN RODRIGUEZ CASTRO       ADDRESS ON FILE
CARMEN RODRIGUEZ COURET       ADDRESS ON FILE
CARMEN RODRIGUEZ CRUZ         ADDRESS ON FILE
CARMEN RODRIGUEZ DE LEON      ADDRESS ON FILE
CARMEN RODRIGUEZ FIGUEROA     ADDRESS ON FILE
CARMEN RODRIGUEZ GONZALEZ     ADDRESS ON FILE
CARMEN RODRIGUEZ GUZMAN       ADDRESS ON FILE
CARMEN RODRIGUEZ LOPEZ        ADDRESS ON FILE
CARMEN RODRIGUEZ MENDEZ       ADDRESS ON FILE
CARMEN RODRIGUEZ OQUENDO      ADDRESS ON FILE
CARMEN RODRIGUEZ QUINONEZ     ADDRESS ON FILE
CARMEN RODRIGUEZ QUINONEZ     ADDRESS ON FILE
CARMEN RODRIGUEZ RIVERA       ADDRESS ON FILE
CARMEN RODRIGUEZ ROBLEDO      ADDRESS ON FILE
CARMEN RODRIGUEZ RODRIGUEZ    ADDRESS ON FILE
CARMEN RODRIGUEZ RODRIGUEZ    ADDRESS ON FILE
CARMEN RODRIGUEZ SANCHEZ      ADDRESS ON FILE
CARMEN RODRIGUEZ SANTOS       ADDRESS ON FILE
CARMEN RODRIGUEZ TORRES       ADDRESS ON FILE
CARMEN ROJAS LOPEZ            ADDRESS ON FILE
CARMEN ROMAN / MARIA RIVERA   ADDRESS ON FILE




                                                                                           Page 1285 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1286 of 3500
                                                                             17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                 Address1                   Address2                                   Address3   Address4   City         State   PostalCode   Country
CARMEN ROMAN COLON            ADDRESS ON FILE
CARMEN ROMAN ROLDAN           ADDRESS ON FILE
CARMEN RONDA ESTATE           COND PARQ DE LAS FUENTES   690 CALLE CESAR GONZALEZ APT 1506                                SAN JUAN     PR      00918‐3904
CARMEN ROQUE RODRIGUEZ        ADDRESS ON FILE
CARMEN ROSA AGOSTO            ADDRESS ON FILE
CARMEN ROSA CAMACHO DIAZ      ADDRESS ON FILE
CARMEN ROSA HERNANDEZ         ADDRESS ON FILE
CARMEN ROSA LOPEZ             ADDRESS ON FILE
CARMEN ROSA NAZARIO           ADDRESS ON FILE
CARMEN ROSA RAMOS MARTINEZ    ADDRESS ON FILE
CARMEN ROSADO ALMODOVAR       ADDRESS ON FILE
CARMEN ROSADO AQUINO          ADDRESS ON FILE
CARMEN ROSADO CINTRON         ADDRESS ON FILE
CARMEN ROSADO FELICIANO       ADDRESS ON FILE
CARMEN ROSADO RIVERA          ADDRESS ON FILE
CARMEN ROSADO ROSADO          ADDRESS ON FILE
CARMEN ROSADO SALGADO         ADDRESS ON FILE
CARMEN ROSARIO CARTAGENA      ADDRESS ON FILE
CARMEN ROSARIO OSORIO         ADDRESS ON FILE
CARMEN ROSARIO RIVERA         ADDRESS ON FILE
CARMEN ROSARIO RIVERA         ADDRESS ON FILE
CARMEN ROSARIO ROSA           ADDRESS ON FILE
CARMEN ROSSANA RODRIGUEZ      ADDRESS ON FILE
CARMEN RUIZ CORUJO            ADDRESS ON FILE
CARMEN RUIZ MENDEZ            ADDRESS ON FILE
CARMEN RUIZ RIVERA            ADDRESS ON FILE
CARMEN RUIZ ROSADO            ADDRESS ON FILE
CARMEN RUIZ TORRES            ADDRESS ON FILE
CARMEN RUIZ TORRES            ADDRESS ON FILE
CARMEN RUIZ VEGA              ADDRESS ON FILE
CARMEN S AMARO FELIX          ADDRESS ON FILE
CARMEN S AMARO ORTIZ          ADDRESS ON FILE
CARMEN S ARROYO MARTINEZ      ADDRESS ON FILE
CARMEN S BAEZA DECLET         ADDRESS ON FILE
CARMEN S BRANA ARNAU          ADDRESS ON FILE
CARMEN S CANTRES APONTE       ADDRESS ON FILE
CARMEN S CARDONA COLON        ADDRESS ON FILE
CARMEN S CASTRO MONTANEZ      ADDRESS ON FILE
CARMEN S COLON COLLAZO        ADDRESS ON FILE
CARMEN S COLON CRUZ           ADDRESS ON FILE
CARMEN S COLON RIVERA         ADDRESS ON FILE
CARMEN S DE JESUS SANTIAGO    ADDRESS ON FILE
CARMEN S DIAZ CRUZ            ADDRESS ON FILE
CARMEN S DIAZ DIAZ            ADDRESS ON FILE
CARMEN S DIAZ RIVERA          ADDRESS ON FILE
CARMEN S DIAZ ZAYAS           ADDRESS ON FILE
CARMEN S DURAN FRANCISQUINI   ADDRESS ON FILE
CARMEN S ESTRADA SALGADO      ADDRESS ON FILE
CARMEN S ESTRADA SALGADO      ADDRESS ON FILE
CARMEN S FERNANDEZ BENITEZ    ADDRESS ON FILE
CARMEN S FERREIRA ROSARIO     ADDRESS ON FILE
CARMEN S FIGUEROA SANTANA     ADDRESS ON FILE
CARMEN S GARCIA HERNANDEZ     ADDRESS ON FILE
CARMEN S GARCIA REYES         ADDRESS ON FILE
CARMEN S GARCIA RIVERA        ADDRESS ON FILE
CARMEN S GONZALEZ             ADDRESS ON FILE
CARMEN S GONZALEZ RUIZ        ADDRESS ON FILE
CARMEN S HERNANDEZ ORAMA      ADDRESS ON FILE
CARMEN S HERNANDEZ ORTIZ      ADDRESS ON FILE
CARMEN S LABOY PEREZ          ADDRESS ON FILE




                                                                                     Page 1286 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1287 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN S LEBRON LEBRON            ADDRESS ON FILE
CARMEN S LEON ORTIZ               ADDRESS ON FILE
CARMEN S LOPEZ GARCIA             ADDRESS ON FILE
CARMEN S LOPEZ LOPEZ              ADDRESS ON FILE
CARMEN S LOPEZ RIVERA             ADDRESS ON FILE
CARMEN S LORENZO NIEVES           ADDRESS ON FILE
CARMEN S MALDONADO MALDONADO      ADDRESS ON FILE
CARMEN S MARIN SANTOS             ADDRESS ON FILE
CARMEN S MARQUEZ GONZALEZ         ADDRESS ON FILE
CARMEN S MARTINEZ ALVARADO        ADDRESS ON FILE
CARMEN S MARTINEZ FIGUEROA        ADDRESS ON FILE
CARMEN S MARTINEZ MERCED          ADDRESS ON FILE
CARMEN S MATOS CHAPARRO           ADDRESS ON FILE
CARMEN S MEDINA ORTIZ             ADDRESS ON FILE
CARMEN S MIGNUCCI SANTIAGO        ADDRESS ON FILE
CARMEN S MOLINA NEGRON            ADDRESS ON FILE
CARMEN S MONTANEZ DELGADO         ADDRESS ON FILE
CARMEN S MONTANEZ PINEIRO         ADDRESS ON FILE
CARMEN S MORALES MALDONADO        ADDRESS ON FILE
CARMEN S OLIVERAS DIAZ            ADDRESS ON FILE
CARMEN S ORTIZ APONTE             ADDRESS ON FILE
CARMEN S PABON COLON              ADDRESS ON FILE
CARMEN S RAMOS GARCIA             ADDRESS ON FILE
CARMEN S RAMOS TORRES             ADDRESS ON FILE
CARMEN S RIOS VAZQUEZ             ADDRESS ON FILE
CARMEN S RIVERA CASTRELLO         ADDRESS ON FILE
CARMEN S RIVERA FEBUS             ADDRESS ON FILE
CARMEN S RIVERA SOTO              ADDRESS ON FILE
CARMEN S RODRIGUEZ CARRASQUILLO   ADDRESS ON FILE
CARMEN S RODRIGUEZ CRUZ           ADDRESS ON FILE
CARMEN S RODRIGUEZ FIGUEROA       ADDRESS ON FILE
CARMEN S RODRIGUEZ ORTIZ          ADDRESS ON FILE
CARMEN S ROSADO CARMONA           ADDRESS ON FILE
CARMEN S SANTANA NEGRON           ADDRESS ON FILE
CARMEN S SANTIAGO TORRES          ADDRESS ON FILE
CARMEN S VALENTIN BENITEZ         ADDRESS ON FILE
CARMEN S VEGA SANTIAGO            ADDRESS ON FILE
CARMEN S VELEZ RAMOS              ADDRESS ON FILE
CARMEN S. BERNABE TORRES          ADDRESS ON FILE
CARMEN S. DIAZ ZAYAS              ADDRESS ON FILE
CARMEN S. FIGUEROA ALONSO         ADDRESS ON FILE
CARMEN S. GONZALEZ GARCIA         ADDRESS ON FILE
CARMEN S. HERNANDEZ GUTIERREZ     ADDRESS ON FILE
CARMEN S. HERNANDEZ GUTIERREZ     ADDRESS ON FILE
CARMEN S. HERNANDEZ GUTIERREZ     ADDRESS ON FILE
CARMEN S. LASSUS VAZQUEZ          ADDRESS ON FILE
CARMEN S. RAMOS OCASIO            ADDRESS ON FILE
CARMEN S. RIVERA DIAZ             ADDRESS ON FILE
CARMEN S. RODRIGUEZ ORTIZ         ADDRESS ON FILE
CARMEN S. SEPULVEDA SILVA         ADDRESS ON FILE
CARMEN SABALA                     ADDRESS ON FILE
CARMEN SAEZ ALVELO                ADDRESS ON FILE
CARMEN SAEZ GUZMAN                ADDRESS ON FILE
CARMEN SAEZ RIVERA                ADDRESS ON FILE
CARMEN SALAS PEREZ                ADDRESS ON FILE
CARMEN SALCEDO MALDONADO          ADDRESS ON FILE
CARMEN SALDANA RIVERA             ADDRESS ON FILE
CARMEN SALDANA ROSA               ADDRESS ON FILE
CARMEN SALGADO SERRANO            ADDRESS ON FILE
CARMEN SANABRIA RODRIGUEZ         ADDRESS ON FILE




                                                                              Page 1287 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1288 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                     Address1                                   Address2                                Address3   Address4   City        State   PostalCode   Country
CARMEN SANABRIA SANTIAGO          ADDRESS ON FILE
CARMEN SANCHEZ CLAUDIO            ADDRESS ON FILE
CARMEN SANCHEZ COLON              ADDRESS ON FILE
CARMEN SANCHEZ COLON              ADDRESS ON FILE
CARMEN SANCHEZ COSME              ADDRESS ON FILE
CARMEN SANCHEZ GOMEZ              ADDRESS ON FILE
CARMEN SANCHEZ MELENDEZ           ADDRESS ON FILE
CARMEN SANCHEZ MENDEZ             ADDRESS ON FILE
CARMEN SANCHEZ NIEVES             ADDRESS ON FILE
CARMEN SANCHEZ ORTIZ              ADDRESS ON FILE
CARMEN SANCHEZ PAFIN              ADDRESS ON FILE
CARMEN SANCHEZ PAFIN              ADDRESS ON FILE
CARMEN SANCHEZ REYES              ADDRESS ON FILE
CARMEN SANCHEZ RIVERA             ADDRESS ON FILE
CARMEN SANTANA REYES              ADDRESS ON FILE
CARMEN SANTIAGO AGOSTO            ADDRESS ON FILE
CARMEN SANTIAGO ALICEA            LCDO. FRANCISCO RIVERA & LCDO. CARLOS VICKYPO BOX 8247                                                   CAGUAS      PR      00726
CARMEN SANTIAGO BERRIOS           ADDRESS ON FILE
CARMEN SANTIAGO CRUZ              ADDRESS ON FILE
CARMEN SANTIAGO DE SALDANA        ADDRESS ON FILE
CARMEN SANTIAGO DIAZ              ADDRESS ON FILE
CARMEN SANTIAGO ESTRADA           ADDRESS ON FILE
CARMEN SANTIAGO HERNANDEZ         ADDRESS ON FILE
CARMEN SANTIAGO NEGRON            ADDRESS ON FILE
CARMEN SANTIAGO ORTIZ             ADDRESS ON FILE
CARMEN SANTIAGO RIVERA            ADDRESS ON FILE
CARMEN SANTIAGO SANCHEZ           ADDRESS ON FILE
CARMEN SANTOS                     ADDRESS ON FILE
CARMEN SANTOS COLON               ADDRESS ON FILE
CARMEN SANTOS M.D.                ADDRESS ON FILE
CARMEN SANTOS RODRÍGUEZ           CARMEN M. SANTOS RODRÍGUEZ                 URB. QUINTAS DE BOULEVARD 9 AVE. MEMORIAL DRIVE               Bayamón     PR      00961
CARMEN SANTOS ROMERO              ADDRESS ON FILE
CARMEN SANTOS RUIZ                ADDRESS ON FILE
CARMEN SEDA QUINONEZ              ADDRESS ON FILE
CARMEN SEPULVEDA SANTIAGO         ADDRESS ON FILE
CARMEN SERRANO ADORNO             ADDRESS ON FILE
CARMEN SERRANO HERNANDEZ          ADDRESS ON FILE
CARMEN SERRANO NERIS              ADDRESS ON FILE
CARMEN SERRANO RIVERA             ADDRESS ON FILE
CARMEN SERRRANO FIGUEROA          ADDRESS ON FILE
CARMEN SIERRA LUCIANO             ADDRESS ON FILE
CARMEN SIERRA Y ANGEL CARABALLO   ADDRESS ON FILE
CARMEN SILVA RIVERA               ADDRESS ON FILE
CARMEN SOCORRO SANTANA BRACERO    ADDRESS ON FILE
CARMEN SOLERO PENA                ADDRESS ON FILE
CARMEN SOLIS LIMA                 ADDRESS ON FILE
CARMEN SOLIS VELEZ                ADDRESS ON FILE
CARMEN SORAYA DIAZ LUQUIS         ADDRESS ON FILE
CARMEN SOSA LOPEZ                 ADDRESS ON FILE
CARMEN SOSA TELLADO               ADDRESS ON FILE
CARMEN SOTO LOZADA                ADDRESS ON FILE
CARMEN SOTO PEREIRA               ADDRESS ON FILE
CARMEN SOTO PEREZ                 ADDRESS ON FILE
CARMEN SOTOMAYOR ROMAN            ADDRESS ON FILE
CARMEN SUAREZ                     ADDRESS ON FILE
CARMEN SUAREZ NUNEZ               ADDRESS ON FILE
CARMEN SUAREZ ROMAN               ADDRESS ON FILE
CARMEN SURO DE VILA               ADDRESS ON FILE
CARMEN T AMADOR ORTIZ             ADDRESS ON FILE
CARMEN T AMUNDARAY RODRIGUEZ      ADDRESS ON FILE




                                                                                                       Page 1288 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1289 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN T ANADOR ORTIZ                 ADDRESS ON FILE
CARMEN T CRUZ CRUZ                    ADDRESS ON FILE
CARMEN T CRUZ MORALES                 ADDRESS ON FILE
CARMEN T DIAZ FLORES                  ADDRESS ON FILE
CARMEN T DIAZ PADRO                   ADDRESS ON FILE
CARMEN T FULLANA HERNANDEZ            ADDRESS ON FILE
CARMEN T GUERRERO DE LEON             ADDRESS ON FILE
CARMEN T JUAN HERNANDEZ               ADDRESS ON FILE
CARMEN T LARACUENTE/ EDGAR ACEVEDO    ADDRESS ON FILE
CARMEN T MORRIS ZAMORA                ADDRESS ON FILE
CARMEN T NOA SANDS                    ADDRESS ON FILE
CARMEN T OCASIO LAZAGA                ADDRESS ON FILE
CARMEN T OJEDA MORALES                ADDRESS ON FILE
CARMEN T PADILLA SANTIAGO             ADDRESS ON FILE
CARMEN T QUINTERO LOPEZ               ADDRESS ON FILE
CARMEN T RAMIREZ Y SANTIAGO LORENZO   ADDRESS ON FILE
CARMEN T SAEZ ORTIZ                   ADDRESS ON FILE
CARMEN T SANJURJO CASTELLO            ADDRESS ON FILE
CARMEN T. RIVERA RAMIREZ              ADDRESS ON FILE
CARMEN T. SEPULVEDA LABOY             ADDRESS ON FILE
CARMEN T. VELEZ PEREZ                 ADDRESS ON FILE
CARMEN TANON SANCHEZ                  ADDRESS ON FILE
CARMEN TAPIA NUNEZ                    ADDRESS ON FILE
CARMEN TERESA ALBINO RIOS             ADDRESS ON FILE
CARMEN TERESA GUZMAN MORAN            ADDRESS ON FILE
CARMEN TERESA GUZMAN MURAN            ADDRESS ON FILE
CARMEN TERESA MONSERRATE VELEZ        ADDRESS ON FILE
CARMEN TERESA RUSSE RIVERA            ADDRESS ON FILE
CARMEN TERESITA PADILLA SANTIAGO      ADDRESS ON FILE
CARMEN TIRADO GARCIA                  ADDRESS ON FILE
CARMEN TIRADO PINERO                  ADDRESS ON FILE
CARMEN TORO                           ADDRESS ON FILE
CARMEN TORO                           ADDRESS ON FILE
CARMEN TORRES                         ADDRESS ON FILE
CARMEN TORRES                         ADDRESS ON FILE
CARMEN TORRES BONILLA                 ADDRESS ON FILE
CARMEN TORRES COLON                   ADDRESS ON FILE
CARMEN TORRES FERNANDEZ               ADDRESS ON FILE
CARMEN TORRES GONZALEZ                ADDRESS ON FILE
CARMEN TORRES MENENDEZ                ADDRESS ON FILE
CARMEN TORRES MOLINA                  ADDRESS ON FILE
CARMEN TORRES RIVERA                  ADDRESS ON FILE
CARMEN TORRES RIVERA                  ADDRESS ON FILE
CARMEN TORRES TROCHE                  ADDRESS ON FILE
CARMEN TOSADO ROMAN                   ADDRESS ON FILE
CARMEN TOSADO ROMAN                   ADDRESS ON FILE
CARMEN TRINIDAD CORTES                ADDRESS ON FILE
CARMEN TROCHE RIVERA                  ADDRESS ON FILE
CARMEN UBILES REYES                   ADDRESS ON FILE
CARMEN URDANETA LA TORRE              ADDRESS ON FILE
CARMEN URDANETA LA TORRE              ADDRESS ON FILE
CARMEN V ALVIRA NIEVES                ADDRESS ON FILE
CARMEN V CALCANO                      ADDRESS ON FILE
CARMEN V CALDERON MEDINA              ADDRESS ON FILE
CARMEN V CARRASQUILLO DIAZ            ADDRESS ON FILE
CARMEN V CARRION QUINONES             ADDRESS ON FILE
CARMEN V CASTRO DE JESUS              ADDRESS ON FILE
CARMEN V CASTRO DE PINERO             ADDRESS ON FILE
CARMEN V CASTRO MATOS                 ADDRESS ON FILE
CARMEN V CORREA ALAMO                 ADDRESS ON FILE




                                                                                  Page 1289 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1290 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMEN V GUADALUPE FORTUNA          ADDRESS ON FILE
CARMEN V IRIZARRY PEREZ             ADDRESS ON FILE
CARMEN V IRIZARRY PEREZ             ADDRESS ON FILE
CARMEN V IRIZARRY PEREZ             ADDRESS ON FILE
CARMEN V LOPEZ VILLAFANE            ADDRESS ON FILE
CARMEN V LUGO RIOS                  ADDRESS ON FILE
CARMEN V MU¥OZ DE DURAN             ADDRESS ON FILE
CARMEN V RIOS RODRIGUEZ             ADDRESS ON FILE
CARMEN V RIVERA LOPEZ               ADDRESS ON FILE
CARMEN V ROBLES CARDONA             ADDRESS ON FILE
CARMEN V ROBLES CARDONA             ADDRESS ON FILE
CARMEN V RODRIGUEZ CINTRON          ADDRESS ON FILE
CARMEN V RODRIGUEZ OTERO            ADDRESS ON FILE
CARMEN V RODRIGUEZ RIVERA           ADDRESS ON FILE
CARMEN V RODRIGUEZ RODRIGUEZ        ADDRESS ON FILE
CARMEN V SANABRIA RAMOS             ADDRESS ON FILE
CARMEN V. CALDERON MEDINA           ADDRESS ON FILE
CARMEN V. COTTO RODRIGUEZ           ADDRESS ON FILE
CARMEN V. REYES RIVERA              ADDRESS ON FILE
CARMEN V. RODRIGUEZ ORTIZ           ADDRESS ON FILE
CARMEN V. TESADO RODRIGUEZ          ADDRESS ON FILE
CARMEN V. TOSADO RODRIGUEZ          ADDRESS ON FILE
CARMEN VALDES DEL VALLE             ADDRESS ON FILE
CARMEN VALDES FIGUEROA              ADDRESS ON FILE
CARMEN VALENTIN DE ALI              ADDRESS ON FILE
CARMEN VALENTIN SANTELL             ADDRESS ON FILE
CARMEN VALENTIN/NAHIR VALENTIN      ADDRESS ON FILE
CARMEN VALLE FELICIE                ADDRESS ON FILE
CARMEN VARGAS ALEMAN                ADDRESS ON FILE
CARMEN VARGAS ALEMAN                ADDRESS ON FILE
CARMEN VARGAS ALEMAN                ADDRESS ON FILE
CARMEN VARGAS MARTINEZ              ADDRESS ON FILE
CARMEN VARGAS MEDINA                ADDRESS ON FILE
CARMEN VARGAS OCASIO                ADDRESS ON FILE
CARMEN VARGAS ORTIZ                 ADDRESS ON FILE
CARMEN VAZQUEZ                      ADDRESS ON FILE
CARMEN VAZQUEZ                      ADDRESS ON FILE
CARMEN VAZQUEZ LOPEZ                ADDRESS ON FILE
CARMEN VAZQUEZ MERCADO              ADDRESS ON FILE
CARMEN VAZQUEZ MORALES              ADDRESS ON FILE
CARMEN VAZQUEZ PARA                 ADDRESS ON FILE
CARMEN VAZQUEZ RIVERA               ADDRESS ON FILE
CARMEN VAZQUEZ RIVERA               ADDRESS ON FILE
CARMEN VAZQUEZ RIVERA               ADDRESS ON FILE
CARMEN VAZQUEZ ROSA                 ADDRESS ON FILE
CARMEN VEGA CARABALLO               ADDRESS ON FILE
CARMEN VEGA FIGUEROA                ADDRESS ON FILE
CARMEN VEGA HERNANDEZ               ADDRESS ON FILE
CARMEN VEGA NUNEZ                   ADDRESS ON FILE
CARMEN VEGA SOSA                    ADDRESS ON FILE
CARMEN VEGA ZABALA                  ADDRESS ON FILE
CARMEN VELAZQUEZ MARTINEZ           ADDRESS ON FILE
CARMEN VELAZQUEZ RIVERA             ADDRESS ON FILE
CARMEN VELAZQUEZ Y CCD STAR BRITE   ADDRESS ON FILE
CARMEN VELEZ / CARLOS E PAOLI       ADDRESS ON FILE
CARMEN VELEZ MARIN                  ADDRESS ON FILE
CARMEN VELEZ OCASIO                 ADDRESS ON FILE
CARMEN VELEZ RAMIREZ                ADDRESS ON FILE
CARMEN VERA HERNANDEZ               ADDRESS ON FILE
CARMEN VERA HERNANDEZ               ADDRESS ON FILE




                                                                                Page 1290 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1291 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                       Address1                                   Address2                                 Address3            Address4   City         State   PostalCode   Country
CARMEN VICTORIA CARRASQUILLO DIAZ   ADDRESS ON FILE
CARMEN VIERA SOTO                   ADDRESS ON FILE
CARMEN VILANOVA SANTIAGO            ADDRESS ON FILE
CARMEN VILLAFANE                    ADDRESS ON FILE
CARMEN VILLANUEVA ARMAN             ADDRESS ON FILE
CARMEN VINALES                      ADDRESS ON FILE
CARMEN VIRELLA MATIAS               ADDRESS ON FILE
CARMEN W MELENDEZ DELGADO           ADDRESS ON FILE
CARMEN W VALENTIN RIVERA            ADDRESS ON FILE
CARMEN X CASTILLO LOPEZ             ADDRESS ON FILE
CARMEN X VALENTIN COLL              ADDRESS ON FILE
CARMEN Y ALBA CANRO                 ADDRESS ON FILE
CARMEN Y BERMUDEZ TORRES            ADDRESS ON FILE
CARMEN Y CENTENO RIVERA             ADDRESS ON FILE
CARMEN Y COLON DIAZ                 ADDRESS ON FILE
CARMEN Y CORDERO ACEVEDO            ADDRESS ON FILE
CARMEN Y CORDERO NEGRON             ADDRESS ON FILE
CARMEN Y CRUZ SOTO                  ADDRESS ON FILE
CARMEN Y CRUZ SOTO                  ADDRESS ON FILE
CARMEN Y DIAZ GONZALEZ              ADDRESS ON FILE
CARMEN Y DIAZ RODRIGUEZ             ADDRESS ON FILE
CARMEN Y FIGUEROA MARTINEZ          ADDRESS ON FILE
CARMEN Y GARCIA GARCIA              ADDRESS ON FILE
CARMEN Y GONZALEZ DILONE            ADDRESS ON FILE
CARMEN Y GONZALEZ RODRIGUEZ         ADDRESS ON FILE
CARMEN Y HUERTAS MORENO             ADDRESS ON FILE
CARMEN Y MARRERO ROMERO             ADDRESS ON FILE
CARMEN Y MEDINA AYUSO               ADDRESS ON FILE
CARMEN Y MEDINA NAVARRO             ADDRESS ON FILE
CARMEN Y MERCADO MORALES            ADDRESS ON FILE
CARMEN Y NEGRON PEREZ               ADDRESS ON FILE
CARMEN Y ORTEGA FIGUEROA            ADDRESS ON FILE
CARMEN Y ORTIZ ABREU                ADDRESS ON FILE
CARMEN Y ORTIZ ORTIZ                ADDRESS ON FILE
CARMEN Y PAGAN RODRIGUEZ            ADDRESS ON FILE
CARMEN Y PEREZ RIVERA               ADDRESS ON FILE
CARMEN Y RODRIGUEZ MATEO            ADDRESS ON FILE
CARMEN Y RODRIGUEZ MELENDEZ         ADDRESS ON FILE
CARMEN Y RUIZ TORRES                ADDRESS ON FILE
CARMEN Y SAN MIGUEL                 ADDRESS ON FILE
CARMEN Y TIRADO PEREZ               ADDRESS ON FILE
CARMEN Y TIRADO PEREZ               ADDRESS ON FILE
CARMEN Y TORRES CABRERA             ADDRESS ON FILE
CARMEN Y VEGA VELEZ                 ADDRESS ON FILE
CARMEN Y. BERRIOS ORTIZ             ADDRESS ON FILE
CARMEN Y. CRUZ ESPERANZA            ADDRESS ON FILE
CARMEN Y. DELGADO RIVERA            ADDRESS ON FILE
CARMEN Y. DIAZ TORRES               ADDRESS ON FILE
CARMEN Y. PADILLA DIAZ              LCDA. CRISTINA B. MARTÍNEZ GUZMÁN          PO BOX 70244                                                            SAN JUAN     PR      00936‐8244
CARMEN Y. PADILLA DIAZ              LCDA. IVETTE GARCÍA CRUZ                   PO BOX 373151                                                           CAYEY        PR      00737‐3151
                                                                                                                        255 Ponce de León
CARMEN Y. PADILLA DIAZ              LCDA. NELLYMARIE LÓPEZ DÍAZ             Banktrust Plaza 10th Floor                  Avenue                         San Juan     PR      00917
CARMEN Y. PADILLA DIAZ              LCDA. OLGA ALVAREZ GONZÁLEZ(ABOGADA ASEGPO BOX 70244                                                               SAN JUAN     PR      00936‐824
CARMEN Y. ROSARIO                   ADDRESS ON FILE
CARMEN Y. TORRES CINTRON            ADDRESS ON FILE
CARMEN YADIRA AVENDANO AVENDANO     ADDRESS ON FILE
CARMEN YADIRA ORONA FALERO          ADDRESS ON FILE
CARMEN YOLANDA ILARRAZA RIVERA      ADDRESS ON FILE
CARMEN Z CHICO Y SONIA M CHICO      ADDRESS ON FILE
CARMEN Z CLAUDIO                    ADDRESS ON FILE




                                                                                                         Page 1291 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1292 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                    Address2                       Address3   Address4   City         State   PostalCode   Country
CARMEN Z FIGUEROA ROSARIO                 ADDRESS ON FILE
CARMEN Z GONZALEZ MORALES                 ADDRESS ON FILE
CARMEN Z MELENDEZ MARIN                   ADDRESS ON FILE
CARMEN Z PEREZ RODRIGUEZ                  ADDRESS ON FILE
CARMEN Z REYES RAMOS                      ADDRESS ON FILE
CARMEN Z RODRIGUEZ CINTRON                ADDRESS ON FILE
CARMEN Z RODRIGUEZ TORRADO                ADDRESS ON FILE
CARMEN Z SOTO GUZMAN                      ADDRESS ON FILE
CARMEN Z. CLAUDIO DE LEON                 ADDRESS ON FILE
CARMEN Z. REYES RAMOS                     ADDRESS ON FILE
CARMEN Z. SANZ LEBRON                     ADDRESS ON FILE
CARMEN ZAYAS COLON                        ADDRESS ON FILE
CARMEN ZENAIDA MERCED PEREZ               ADDRESS ON FILE
CARMEN ZENAIDA MERCED PEREZ               ADDRESS ON FILE
CARMEN ZOE BROWNE CRESPO                  ADDRESS ON FILE
CARMEN ZORAIDA COLLAZO RIOS               ADDRESS ON FILE
CARMEN, ARROYO                            ADDRESS ON FILE
CARMEN, BETANCOURT                        ADDRESS ON FILE
CARMEN, MARTINEZ                          ADDRESS ON FILE
CARMEN, NUNEZ                             ADDRESS ON FILE
CARMEN, RIVERA                            ADDRESS ON FILE
CARMENATI MEDINA, AVRANDA                 ADDRESS ON FILE
CARMENATTY CUEVAS, JOYCE                  ADDRESS ON FILE
CARMENATTY GONZALEZ, JAVIER               ADDRESS ON FILE
CARMENATTY GONZALEZ, MARILYN              ADDRESS ON FILE
CARMENATTY MARTORELL, SYLVIA              ADDRESS ON FILE
CARMENATTY RODRIGUEZ, JAELIZ              ADDRESS ON FILE
CARMENATTY VARGAS, MILAGROS               ADDRESS ON FILE
CARMENATTY VAZQUEZ, EDIBERTO              ADDRESS ON FILE
CARMENATY CALDERON, VINICIO               ADDRESS ON FILE
CARMENATY CARMONA, MIGUEL A               ADDRESS ON FILE
CARMENATY DECLET, VINICIO F.              ADDRESS ON FILE
CARMENATY DECLET, WANDA I                 ADDRESS ON FILE
CARMENATY NEGRON, OMAR                    ADDRESS ON FILE
CARMENATY RODRIGUEZ, TANAIRI              ADDRESS ON FILE
Carmenaty Santos, David                   ADDRESS ON FILE
CARMENCITA ACEVEDO ROSADO                 ADDRESS ON FILE
CARMENCITA CRUZ MEDINA                    ADDRESS ON FILE
CARMENCITA PAGAN SEPULVEDA                ADDRESS ON FILE
CARMENCITA PAGAN SEPULVEDA                ADDRESS ON FILE
CARMENCITA PEREZ DIAZ                     MIGUEL RANGEL ROSAS         PO BOX 11897                                         SAN JUAN     PR      00922
CARMENCITA SANABRIA RIVERA                ADDRESS ON FILE
CARMENCITA T LANEZ DR                     201 205 NEW BRUNSWICK AVE                                                        HOPELAWN     NJ      08861
CARMENCITA TORRES OLIVIERI                ADDRESS ON FILE
CARMENTTI LOPEZ, JOSE M                   ADDRESS ON FILE
CARMICHAEL LLANIS IRIZARRY                ADDRESS ON FILE
CARMICHELLE CANCEL GUZMAN                 ADDRESS ON FILE
CARMILI MD, DAVID                         ADDRESS ON FILE
CARMIN ACOSTA AVEILLEZ &LCDA RISA TOBIN   ADDRESS ON FILE
CARMIN ACOSTA AVEILLEZ &LCDA RISA TOBIN   ADDRESS ON FILE
CARMIN HERNANDEZ NIEVES                   ADDRESS ON FILE
CARMIN L. RODRIGUEZ TORRES                ADDRESS ON FILE
CARMIN LABOY VEGA                         ADDRESS ON FILE
CARMINA DE LEON MARTINEZ                  ADDRESS ON FILE
CARMINA LEON TABOAS                       ADDRESS ON FILE
CARMINA M. OSORIO APONTE                  ADDRESS ON FILE
CARMINA RIVERA LOZADA                     ADDRESS ON FILE
CARMINA VALIENTE                          ADDRESS ON FILE
CARMINA VEGA GOMEZ                        ADDRESS ON FILE
CARMINELLI JANER, LUIS                    ADDRESS ON FILE




                                                                                      Page 1292 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1293 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMINIA TELLO SANTINI           ADDRESS ON FILE
CARMOEGA BETANCOURT, RAFAEL      ADDRESS ON FILE
CARMOEGA CORRETJER, LUIS         ADDRESS ON FILE
CARMOEGA CRUZ, SHEILA            ADDRESS ON FILE
CARMOEGA HERNANDEZ, MYRA         ADDRESS ON FILE
Carmona Quinones, Juan J         ADDRESS ON FILE
CARMONA ACEVEDO, MARISOL         ADDRESS ON FILE
CARMONA ALAMO, AWILDA            ADDRESS ON FILE
CARMONA ALEJANDRO, CARLOS        ADDRESS ON FILE
CARMONA ALEJANDRO, NORELIS       ADDRESS ON FILE
CARMONA ALEMAN, DANIEL           ADDRESS ON FILE
CARMONA ALEMAN, DANIEL           ADDRESS ON FILE
CARMONA ALEMAN, JORGE            ADDRESS ON FILE
CARMONA ALICEA, AIXA M           ADDRESS ON FILE
CARMONA ALONSO, LYDIA M          ADDRESS ON FILE
Carmona Alvare, Francisco A      ADDRESS ON FILE
CARMONA ALVAREZ, CARMEN M        ADDRESS ON FILE
Carmona Alvarez, Francisco A     ADDRESS ON FILE
CARMONA ALVAREZ, PEDRO           ADDRESS ON FILE
CARMONA ANDINO, ISABEL B         ADDRESS ON FILE
CARMONA APONTE, RUTH Y.          ADDRESS ON FILE
CARMONA AYALA, JANLYN            ADDRESS ON FILE
CARMONA BASORA, NELLY JO         ADDRESS ON FILE
CARMONA BENABE, SHEILA N         ADDRESS ON FILE
CARMONA BENITEZ, GESENIA         ADDRESS ON FILE
CARMONA BENITEZ, NYDIA I         ADDRESS ON FILE
Carmona Benitez, Nydia I.        ADDRESS ON FILE
CARMONA BERNACET, JEAN           ADDRESS ON FILE
CARMONA BERRIOS, JOEL            ADDRESS ON FILE
Carmona Berrios, Luis N          ADDRESS ON FILE
CARMONA BERROCAL, JOSE R.        ADDRESS ON FILE
Carmona Betancourt, Luz M        ADDRESS ON FILE
CARMONA BOSH, CARMELINA          ADDRESS ON FILE
CARMONA BRERRY, DAVID            ADDRESS ON FILE
Carmona Calderon, Aurea E        ADDRESS ON FILE
CARMONA CALDERON, SANDRO         ADDRESS ON FILE
CARMONA CAMACHO, LISSETTE        ADDRESS ON FILE
CARMONA CANCEL, OMAR             ADDRESS ON FILE
CARMONA CANCEL, OMAR             ADDRESS ON FILE
CARMONA CARABALLO, LUIS D        ADDRESS ON FILE
Carmona Carmona, Jose M          ADDRESS ON FILE
CARMONA CARRASQUILLO, GAMALIEL   ADDRESS ON FILE
CARMONA CASADO, SHIRLEY          ADDRESS ON FILE
CARMONA CASTILLO, CANDELARIO     ADDRESS ON FILE
CARMONA CASTRO, LIBERTAD         ADDRESS ON FILE
CARMONA CASTRO, PRISCILLA        ADDRESS ON FILE
CARMONA CERVANTES, JULIO         ADDRESS ON FILE
CARMONA CESAREO, JANETTE         ADDRESS ON FILE
CARMONA CESAREO, JANNETTE        ADDRESS ON FILE
CARMONA CESAREO, RAUL            ADDRESS ON FILE
CARMONA CESAREO, YADIRA          ADDRESS ON FILE
CARMONA CINTRON, LUIS            ADDRESS ON FILE
CARMONA CINTRON, LUIS            ADDRESS ON FILE
CARMONA CLAUDIO, IRMA D.         ADDRESS ON FILE
CARMONA CLAUDIO, LUIS            ADDRESS ON FILE
CARMONA CLAUDIO, LUIS O.         ADDRESS ON FILE
CARMONA COLLAZO, ALBA L          ADDRESS ON FILE
CARMONA COLLAZO, LUISA YARITZA   ADDRESS ON FILE
CARMONA COLLAZO, LUISA YARITZA   ADDRESS ON FILE
CARMONA COLON, ASTRID            ADDRESS ON FILE




                                                                             Page 1293 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1294 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMONA COLON, CARMEN           ADDRESS ON FILE
CARMONA COLON, ELIZABETH        ADDRESS ON FILE
CARMONA COLON, ISABEL           ADDRESS ON FILE
CARMONA COLON, JASMELLY         ADDRESS ON FILE
CARMONA COLON, MARIELY          ADDRESS ON FILE
Carmona Contreras, Luis A       ADDRESS ON FILE
CARMONA CORDOVA, JESSICA M      ADDRESS ON FILE
CARMONA CORREA, CLARA SOLEDAD   ADDRESS ON FILE
CARMONA CORREA, LYDIA           ADDRESS ON FILE
Carmona Cortes, Gil A.          ADDRESS ON FILE
CARMONA COTTO, INGRID Y         ADDRESS ON FILE
CARMONA COTTO, INGRID YANCEL    ADDRESS ON FILE
CARMONA CRUZ, CARMEN            ADDRESS ON FILE
CARMONA CRUZ, GLORIA            ADDRESS ON FILE
CARMONA CRUZ, IRIS              ADDRESS ON FILE
CARMONA CRUZ, JOSHUA            ADDRESS ON FILE
CARMONA CRUZ, LUZ G.            ADDRESS ON FILE
CARMONA CRUZ, ROSA R            ADDRESS ON FILE
CARMONA CRUZ, VICTOR            ADDRESS ON FILE
CARMONA CRUZ, XIAMARA           ADDRESS ON FILE
CARMONA DE JESUS, GILVIC        ADDRESS ON FILE
CARMONA DE JESUS, GILVIC        ADDRESS ON FILE
CARMONA DE JESUS, OTMAR         ADDRESS ON FILE
CARMONA DE OSORIO, JUANA        ADDRESS ON FILE
CARMONA DELGADO, ANA E          ADDRESS ON FILE
CARMONA DELGADO, CARMEN I       ADDRESS ON FILE
CARMONA DIAZ, CARMEN C          ADDRESS ON FILE
CARMONA DIAZ, IVONNE L.         ADDRESS ON FILE
CARMONA DIAZ, OLGA L            ADDRESS ON FILE
CARMONA DOMINGUEZ, CATALINO     ADDRESS ON FILE
CARMONA ENCARNACION, JULIO      ADDRESS ON FILE
CARMONA ENCARNACION, MARIA      ADDRESS ON FILE
CARMONA ESTRADA, ZAIDA E.       ADDRESS ON FILE
CARMONA FALU, SONIA N           ADDRESS ON FILE
CARMONA FIGUEROA, CARLOS        ADDRESS ON FILE
CARMONA FIGUEROA, CYNTHIA       ADDRESS ON FILE
CARMONA FIGUEROA, FELIX A.      ADDRESS ON FILE
Carmona Figueroa, Jose L        ADDRESS ON FILE
CARMONA FIGUEROA, JOSE M        ADDRESS ON FILE
CARMONA FIGUEROA, SONIA N       ADDRESS ON FILE
CARMONA FLORES, EDAMAR          ADDRESS ON FILE
CARMONA FUENTES, MATILDE        ADDRESS ON FILE
CARMONA GALARZA, MANUEL         ADDRESS ON FILE
CARMONA GALARZA, STEPHANIE      ADDRESS ON FILE
CARMONA GARAY, ROBERTO          ADDRESS ON FILE
CARMONA GARCED, ANA D.          ADDRESS ON FILE
CARMONA GARCIA, ALEXANDRA       ADDRESS ON FILE
CARMONA GARCIA, CARLOS R        ADDRESS ON FILE
CARMONA GARCIA, ELIA VICENTA    ADDRESS ON FILE
CARMONA GARCIA, GUSTAVO R       ADDRESS ON FILE
CARMONA GARCIA, IRIS M          ADDRESS ON FILE
CARMONA GARCIA, SARA            ADDRESS ON FILE
CARMONA GARCIA, TIFFANY         ADDRESS ON FILE
CARMONA GARCIA, TIFFANY         ADDRESS ON FILE
CARMONA GOMEZ, SANDRA L         ADDRESS ON FILE
CARMONA GONZALEZ, ALEJANDRO     ADDRESS ON FILE
CARMONA GONZALEZ, ANA A.        ADDRESS ON FILE
CARMONA GONZALEZ, ANA Y         ADDRESS ON FILE
Carmona Gonzalez, Bryan         ADDRESS ON FILE
CARMONA GONZALEZ, BRYAN         ADDRESS ON FILE




                                                                            Page 1294 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1295 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMONA GONZALEZ, ELLIOT          ADDRESS ON FILE
CARMONA GONZALEZ, LUIS            ADDRESS ON FILE
CARMONA GONZALEZ, MARCOS          ADDRESS ON FILE
CARMONA GONZALEZ, MARIA R.        ADDRESS ON FILE
CARMONA GONZALEZ, ORLANDO         ADDRESS ON FILE
CARMONA GONZALEZ, SULMA           ADDRESS ON FILE
CARMONA GONZALEZ, WILMARY         ADDRESS ON FILE
CARMONA GOTAY, JULIA M            ADDRESS ON FILE
CARMONA GOTAY, NYDIA              ADDRESS ON FILE
CARMONA GOYENA, CARLOS            ADDRESS ON FILE
CARMONA GUADALUPE, ANGEL L.       ADDRESS ON FILE
CARMONA GUADALUPE, CARLOS H.      ADDRESS ON FILE
CARMONA GUADALUPE, JIM H.         ADDRESS ON FILE
CARMONA GUERRIDO, ANTONIA D       ADDRESS ON FILE
CARMONA GUERRIDO, LAURA           ADDRESS ON FILE
CARMONA GUERRIDO, LUZ V           ADDRESS ON FILE
CARMONA GUERRIDO, ROSA A          ADDRESS ON FILE
CARMONA GUTIERREZ, JOEL E.        ADDRESS ON FILE
CARMONA GUTIERREZ, JOSE A         ADDRESS ON FILE
CARMONA GUTIERREZ, ROSA D         ADDRESS ON FILE
CARMONA HANCE, DAMASA             ADDRESS ON FILE
CARMONA HERNANDEZ, ALEXANDER      ADDRESS ON FILE
CARMONA HERNANDEZ, DINORAH M      ADDRESS ON FILE
CARMONA HERNANDEZ, IVELISSE       ADDRESS ON FILE
CARMONA HERNANDEZ, IVONNE         ADDRESS ON FILE
CARMONA HERNANDEZ, JAVIER         ADDRESS ON FILE
CARMONA HERNANDEZ, JULIA          ADDRESS ON FILE
Carmona Hernandez, Vanesa         ADDRESS ON FILE
CARMONA HORTA, JUANA E            ADDRESS ON FILE
CARMONA IGLESIAS, BETZAIDA        ADDRESS ON FILE
CARMONA IGLESIAS, NEYSHA MELANY   ADDRESS ON FILE
Carmona Irizarry, Luis D          ADDRESS ON FILE
CARMONA ISAAC, ALEJANDRINA        ADDRESS ON FILE
CARMONA JIMENEZ, EDWIN R          ADDRESS ON FILE
CARMONA JIMENEZ, JOHANNA          ADDRESS ON FILE
CARMONA JOSEPH, ZORAIDA I         ADDRESS ON FILE
CARMONA LABOY, GLADYS ESTHER      ADDRESS ON FILE
CARMONA LABOY, ROSITA             ADDRESS ON FILE
CARMONA LANAUSSE, ALEJANDRO       ADDRESS ON FILE
Carmona Lebron, Claribel          ADDRESS ON FILE
CARMONA LEBRON, GERALDINE         ADDRESS ON FILE
CARMONA LEBRON, JESUS A           ADDRESS ON FILE
CARMONA LEBRON, LOURDES M.        ADDRESS ON FILE
CARMONA LONGO, JOSE F             ADDRESS ON FILE
CARMONA LOPEZ, CAROLINA           ADDRESS ON FILE
CARMONA LOPEZ, ERIC               ADDRESS ON FILE
CARMONA LOPEZ, FRANCISCO          ADDRESS ON FILE
CARMONA LOPEZ, FRANCISCO A.       ADDRESS ON FILE
CARMONA LOPEZ, HERIBERTO          ADDRESS ON FILE
CARMONA LOPEZ, JOSE               ADDRESS ON FILE
Carmona Loubriel, Iris D          ADDRESS ON FILE
CARMONA LUGO, MAYRA L             ADDRESS ON FILE
CARMONA MAISONET, LEOMARY         ADDRESS ON FILE
CARMONA MALDONADO, ALICE          ADDRESS ON FILE
CARMONA MALDONADO, DELIMARI       ADDRESS ON FILE
CARMONA MALDONADO, JORGE L.       ADDRESS ON FILE
CARMONA MALDONADO, JULIO C.       ADDRESS ON FILE
CARMONA MALDONADO, RAUL           ADDRESS ON FILE
CARMONA MARQUEZ, LUIS             ADDRESS ON FILE
CARMONA MARQUEZ, LUZ M            ADDRESS ON FILE




                                                                              Page 1295 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1296 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMONA MARQUEZ, WILLIAM       ADDRESS ON FILE
CARMONA MARRERO, ANIBAL        ADDRESS ON FILE
CARMONA MARRERO, ANIBAL        ADDRESS ON FILE
CARMONA MARRERO, CARMEN SARA   ADDRESS ON FILE
CARMONA MARRERO, LIMARIS       ADDRESS ON FILE
CARMONA MARRERO, MARIA S       ADDRESS ON FILE
Carmona Marrero, Rafael        ADDRESS ON FILE
CARMONA MARTINEZ, ASUNCION     ADDRESS ON FILE
CARMONA MARTINEZ, ASUNCION     ADDRESS ON FILE
CARMONA MARTINEZ, JOSHUA P.    ADDRESS ON FILE
CARMONA MATOS, JORGE I.        ADDRESS ON FILE
CARMONA MATOS, JOSE A          ADDRESS ON FILE
CARMONA MEDINA, LUIS           ADDRESS ON FILE
CARMONA MELENDEZ, MARK         ADDRESS ON FILE
CARMONA MELENDEZ, VICTOR       ADDRESS ON FILE
CARMONA MELENDEZ, WILLIAM      ADDRESS ON FILE
CARMONA MENDEZ, ROBERTO        ADDRESS ON FILE
CARMONA MERCADO, GABRIEL       ADDRESS ON FILE
CARMONA MERCADO, XAVIER        ADDRESS ON FILE
Carmona Miranda, Awilda I      ADDRESS ON FILE
CARMONA MONGE, JOSE            ADDRESS ON FILE
CARMONA MONTANEZ, CRUZ M       ADDRESS ON FILE
CARMONA MONTANEZ, JOSE O       ADDRESS ON FILE
CARMONA MONTANEZ, MINERVA      ADDRESS ON FILE
CARMONA MONTANEZ, ZENAIDA      ADDRESS ON FILE
CARMONA MORALES, AUGUSTO       ADDRESS ON FILE
CARMONA MORALES, CARMEN I      ADDRESS ON FILE
CARMONA MORALES, DIMARIS       ADDRESS ON FILE
CARMONA MORALES, ESTEBAN       ADDRESS ON FILE
CARMONA MORALES, EUGENIO       ADDRESS ON FILE
CARMONA MORALES, MARIBEL       ADDRESS ON FILE
CARMONA MORALES, MIGDALIA      ADDRESS ON FILE
CARMONA MORALES, ORLANDO       ADDRESS ON FILE
CARMONA MULERO, CARMEN L.      ADDRESS ON FILE
CARMONA NAZARIO, LUZ D         ADDRESS ON FILE
CARMONA NEGRON, ANGEL          ADDRESS ON FILE
CARMONA NIEVES, WANDA I        ADDRESS ON FILE
CARMONA OJEDA, CARMI A.        ADDRESS ON FILE
CARMONA OLIVERAS, NANCY        ADDRESS ON FILE
CARMONA OQUENDO, JOSE          ADDRESS ON FILE
CARMONA ORTEGA, DAVID          ADDRESS ON FILE
CARMONA ORTIZ, GLORIMAR        ADDRESS ON FILE
CARMONA ORTIZ, GLORIMAR        ADDRESS ON FILE
CARMONA ORTIZ, POLONIA         ADDRESS ON FILE
CARMONA OSORIO, DYANA          ADDRESS ON FILE
CARMONA OSORIO, DYANA          ADDRESS ON FILE
CARMONA OSORIO, ILEANA         ADDRESS ON FILE
CARMONA OSORIO, OMAR           ADDRESS ON FILE
CARMONA OSORIO, PIERRE A.      ADDRESS ON FILE
CARMONA OSORIO, VICTOR         ADDRESS ON FILE
CARMONA PACHECO, VERONICA      ADDRESS ON FILE
CARMONA PADILLA, IDA           ADDRESS ON FILE
CARMONA PARRILLA, GUILLERMO    ADDRESS ON FILE
CARMONA PEREZ, JOSE A          ADDRESS ON FILE
CARMONA PEREZ, LISANDRA        ADDRESS ON FILE
CARMONA PEREZ, OMAYRA          ADDRESS ON FILE
CARMONA PINERO, VICTOR         ADDRESS ON FILE
CARMONA PIZARRO, MARIA DEL C   ADDRESS ON FILE
CARMONA PRESTON, EDDIA         ADDRESS ON FILE
CARMONA QUINONES, CARMEN J     ADDRESS ON FILE




                                                                           Page 1296 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1297 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARMONA QUINONES, JUAN          ADDRESS ON FILE
CARMONA QUINONES, YANIRA        ADDRESS ON FILE
CARMONA RAMOS, EDGARDO          ADDRESS ON FILE
CARMONA RAMOS, ESTEBAN          ADDRESS ON FILE
CARMONA RESTO, HECTOR L         ADDRESS ON FILE
CARMONA RESTO, LUIS R.          ADDRESS ON FILE
CARMONA REYES, YOEL             ADDRESS ON FILE
CARMONA RIOS, ANGEL LUIS        ADDRESS ON FILE
CARMONA RIOS, IRMARANYELI       ADDRESS ON FILE
CARMONA RIVERA, ADA I           ADDRESS ON FILE
CARMONA RIVERA, ALEX            ADDRESS ON FILE
CARMONA RIVERA, ANA D           ADDRESS ON FILE
CARMONA RIVERA, ANDRES          ADDRESS ON FILE
CARMONA RIVERA, BARBARA J.      ADDRESS ON FILE
Carmona Rivera, Carmelo J.      ADDRESS ON FILE
CARMONA RIVERA, DAYLIN          ADDRESS ON FILE
Carmona Rivera, Francisco       ADDRESS ON FILE
CARMONA RIVERA, GUETZAIDA       ADDRESS ON FILE
CARMONA RIVERA, JACKELINE       ADDRESS ON FILE
CARMONA RIVERA, JAIME           ADDRESS ON FILE
CARMONA RIVERA, JORGE           ADDRESS ON FILE
CARMONA RIVERA, LISANY          ADDRESS ON FILE
CARMONA RIVERA, LISANY          ADDRESS ON FILE
CARMONA RIVERA, LUIS            ADDRESS ON FILE
CARMONA RIVERA, MARIA           ADDRESS ON FILE
CARMONA RIVERA, ORLANDO M       ADDRESS ON FILE
CARMONA RIVERA, RAFAEL          ADDRESS ON FILE
CARMONA RIVERA, WANDA I         ADDRESS ON FILE
CARMONA ROBERTO, IRMA           ADDRESS ON FILE
CARMONA ROCHE, LUIS             ADDRESS ON FILE
CARMONA ROCHE, PROVIDENCIA      ADDRESS ON FILE
CARMONA RODRIGUEZ, ALEJANDRO    ADDRESS ON FILE
CARMONA RODRIGUEZ, CARLOS F.    ADDRESS ON FILE
CARMONA RODRIGUEZ, CARMEN L     ADDRESS ON FILE
Carmona Rodriguez, David R      ADDRESS ON FILE
CARMONA RODRIGUEZ, EDITH Y      ADDRESS ON FILE
Carmona Rodriguez, Fernando     ADDRESS ON FILE
CARMONA RODRIGUEZ, JAVIER       ADDRESS ON FILE
CARMONA RODRIGUEZ, JENNIFER L   ADDRESS ON FILE
CARMONA RODRIGUEZ, JOSE H       ADDRESS ON FILE
CARMONA RODRIGUEZ, JOSE H       ADDRESS ON FILE
CARMONA RODRIGUEZ, JOSEFINA     ADDRESS ON FILE
Carmona Rodriguez, Luis M       ADDRESS ON FILE
CARMONA RODRIGUEZ, MIGDALIA     ADDRESS ON FILE
CARMONA RODRIGUEZ, MILAGROS     ADDRESS ON FILE
CARMONA RODRIGUEZ, NANCY        ADDRESS ON FILE
CARMONA RODRIGUEZ, NAYDA L      ADDRESS ON FILE
CARMONA RODRIGUEZ, RAFAEL A     ADDRESS ON FILE
CARMONA RODRIGUEZ, ROSIE        ADDRESS ON FILE
CARMONA RODRIGUEZ, ROSIE A      ADDRESS ON FILE
CARMONA RODRIGUEZ, SYLVIA       ADDRESS ON FILE
CARMONA ROHENA, JONATHAN        ADDRESS ON FILE
CARMONA ROMAN, KENNY            ADDRESS ON FILE
CARMONA ROMAN, LISANDRA         ADDRESS ON FILE
CARMONA ROSA, MICHEL            ADDRESS ON FILE
CARMONA ROSADO, VICTOR          ADDRESS ON FILE
CARMONA ROSARIO, GUILLERMO      ADDRESS ON FILE
CARMONA ROSARIO, MIGUEL         ADDRESS ON FILE
CARMONA SALAMAN, JOSE           ADDRESS ON FILE
CARMONA SALAMAN, SONIA D.       ADDRESS ON FILE




                                                                            Page 1297 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1298 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
CARMONA SANCHEZ, FELIX           ADDRESS ON FILE
CARMONA SANCHEZ, MARIA I.        ADDRESS ON FILE
CARMONA SANCHEZ, MARIA R         ADDRESS ON FILE
CARMONA SANCHEZ, OMAR            ADDRESS ON FILE
CARMONA SANES, MARIBEL           ADDRESS ON FILE
CARMONA SANTANA, MANUELA I       ADDRESS ON FILE
CARMONA SANTANA, ROBERTO         ADDRESS ON FILE
Carmona Santana, Wilfredo        ADDRESS ON FILE
CARMONA SANTIAGO, CARMEN         ADDRESS ON FILE
CARMONA SANTIAGO, DEBORAH        ADDRESS ON FILE
CARMONA SANTIAGO, FRANCISCO      ADDRESS ON FILE
CARMONA SANTIAGO, IVAN           ADDRESS ON FILE
CARMONA SANTIAGO, IVAN           ADDRESS ON FILE
CARMONA SANTIAGO, NICHOLE M      ADDRESS ON FILE
CARMONA SANTOS, ANGELINA         ADDRESS ON FILE
CARMONA SOTO, IRMA N             ADDRESS ON FILE
CARMONA TANON, KARIMAR           ADDRESS ON FILE
CARMONA TAPIA, ANGEL             ADDRESS ON FILE
CARMONA TEJERA, DAVID            ADDRESS ON FILE
CARMONA TEJERA, EDGARDO          ADDRESS ON FILE
CARMONA TEJERA, NYDIA G          ADDRESS ON FILE
CARMONA TORRES, ANA              ADDRESS ON FILE
CARMONA TORRES, ILIA             ADDRESS ON FILE
CARMONA TORRES, JUAN             ADDRESS ON FILE
CARMONA TORRES, LORRAINE         ADDRESS ON FILE
CARMONA TORRES, LUIS A.          ADDRESS ON FILE
CARMONA TORRES, LUZ S            ADDRESS ON FILE
CARMONA TORRES, LYDIA SAMANTHA   ADDRESS ON FILE
Carmona Torres, Nathanael        ADDRESS ON FILE
CARMONA TORRES, VIRGINIA         ADDRESS ON FILE
CARMONA VAZQUEZ, CELINEL         ADDRESS ON FILE
CARMONA VAZQUEZ, JOSE            ADDRESS ON FILE
CARMONA VAZQUEZ, JULISSA         ADDRESS ON FILE
CARMONA VAZQUEZ, JULISSA         ADDRESS ON FILE
CARMONA VAZQUEZ, LOURDES         ADDRESS ON FILE
CARMONA VAZQUEZ, MYRNA G         ADDRESS ON FILE
CARMONA VAZQUEZ, VIVIAN          ADDRESS ON FILE
CARMONA VAZQUEZ, ZULLYNETT M.    ADDRESS ON FILE
Carmona Velazquez, Moises        ADDRESS ON FILE
CARMONA VELEZ, CARMEN N          ADDRESS ON FILE
CARMONA VELEZ, MARIANO           ADDRESS ON FILE
CARMONA VELEZ, WANDA             ADDRESS ON FILE
CARMONA VELEZ, WANDA I           ADDRESS ON FILE
CARMONA VERA, JORGE              ADDRESS ON FILE
CARMONA VERA, MARILU             ADDRESS ON FILE
CARMONA ZENO, YELITZA W.         ADDRESS ON FILE
CARMONA ZENO, YELITZA WILMARIE   ADDRESS ON FILE
CARMONA, FABIAN                  ADDRESS ON FILE
CARMONA, MANUEL                  ADDRESS ON FILE
CARMONA, PROCOPIO                ADDRESS ON FILE
Carmona‐Lebrón, Carlos           ADDRESS ON FILE
CARN ALVAREZ, JOANNE             ADDRESS ON FILE
CARNEGIE LEARNING, INC.          437 GRANT STREET          SUITE 900                                              PITTSBURGH     PA      15219
CARNEVALE ROSADO, JESUS          ADDRESS ON FILE
CARNIVALI RODRIGUEZ, CYNTHIA     ADDRESS ON FILE
CARNOT BERNAL, JOSE              ADDRESS ON FILE
CARO ACEVEDO, LUIS               ADDRESS ON FILE
Caro Acosta, Emil O              ADDRESS ON FILE
CARO ARCHILLA, ROBERTO           ADDRESS ON FILE
CARO ARROYO, LORETT              ADDRESS ON FILE




                                                                             Page 1298 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1299 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARO BONET, MIGUEL            ADDRESS ON FILE
CARO CABRERA, JOSE L.         ADDRESS ON FILE
Caro Cajigas, Rafael          ADDRESS ON FILE
CARO CARDONA, WILLIAM         ADDRESS ON FILE
CARO CARO MD, WILMA           ADDRESS ON FILE
CARO CARO, AMARALIS           ADDRESS ON FILE
CARO CARO, DAVID              ADDRESS ON FILE
CARO CARO, EDDIE              ADDRESS ON FILE
Caro Caro, Eddie N            ADDRESS ON FILE
CARO CARO, FERNANDO           ADDRESS ON FILE
Caro Caro, Iris M             ADDRESS ON FILE
CARO CARO, JESUS              ADDRESS ON FILE
CARO CARO, MYRNA              ADDRESS ON FILE
CARO CARO, ROBERTO            ADDRESS ON FILE
CARO CARO, YADIRA             ADDRESS ON FILE
Caro Chaparro, Jose           ADDRESS ON FILE
CARO COBB, INGRID SOAMI       ADDRESS ON FILE
CARO COLON, MILDRED           ADDRESS ON FILE
Caro Concepcion, Amilkar A.   ADDRESS ON FILE
Caro Cordero, Messiah         ADDRESS ON FILE
CARO CORTES, ISAMAR           ADDRESS ON FILE
Caro Cruz, Jose A             ADDRESS ON FILE
CARO DE JESUS, PATRICIA       ADDRESS ON FILE
CARO DELGADO, NICANOR         ADDRESS ON FILE
CARO DELGADO, ROBERTO         ADDRESS ON FILE
CARO DELGADO, SANDRA          ADDRESS ON FILE
CARO DOVAL, ISABEL            ADDRESS ON FILE
CARO FELICIANO, EMANUEL       ADDRESS ON FILE
CARO FENQUE, EMILIA T         ADDRESS ON FILE
CARO GARCIA, GRESSEYLIZ       ADDRESS ON FILE
CARO GARCIA, NEYSHA           ADDRESS ON FILE
CARO GAUTIER, CRISTINA        ADDRESS ON FILE
CARO GAUTIER, HUMBERTO        ADDRESS ON FILE
Caro Gimenez, Alejandro       ADDRESS ON FILE
CARO GOMEZ, ROBERTO           ADDRESS ON FILE
CARO GONZALEZ, ERICK          ADDRESS ON FILE
CARO GONZALEZ, EVANGELINA     ADDRESS ON FILE
Caro Gonzalez, Gilberto       ADDRESS ON FILE
CARO GONZALEZ, GILBERTO       ADDRESS ON FILE
CARO GONZALEZ, GLORIA I       ADDRESS ON FILE
CARO GONZALEZ, HECTOR         ADDRESS ON FILE
CARO GONZALEZ, HECTOR         ADDRESS ON FILE
CARO GONZALEZ, KRISTY M       ADDRESS ON FILE
CARO GONZALEZ, MARIA J        ADDRESS ON FILE
CARO GONZALEZ, WILLIAM        ADDRESS ON FILE
CARO LOPEZ, BRENDA            ADDRESS ON FILE
CARO LUGO, ADA                ADDRESS ON FILE
CARO LUGO, JESUS A.           ADDRESS ON FILE
CARO MARTINEZ MD, DENISE      ADDRESS ON FILE
CARO MELENDEZ, ORIALIZ        ADDRESS ON FILE
CARO MENDEZ, HERANDI          ADDRESS ON FILE
CARO MORALES, AUREA           ADDRESS ON FILE
CARO MORALES, DORIS M         ADDRESS ON FILE
CARO MORALES, JOSE            ADDRESS ON FILE
CARO MORALES, MARIBEL         ADDRESS ON FILE
CARO MORALES, ROLANDO         ADDRESS ON FILE
CARO MORENO, CARELYN          ADDRESS ON FILE
CARO MUNIZ, CARLOS M          ADDRESS ON FILE
CARO MUNIZ, YARITZA           ADDRESS ON FILE
Caro Munoz, Fabian            ADDRESS ON FILE




                                                                          Page 1299 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1300 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARO MUNOZ, JESSICA          ADDRESS ON FILE
Caro Munoz, Marcelino        ADDRESS ON FILE
CARO NINO, MARIA             ADDRESS ON FILE
CARO NORIEGA, GILBERTO       ADDRESS ON FILE
CARO NORIEGA, ZORAIDA        ADDRESS ON FILE
CARO ORTIZ, MICHAEL          ADDRESS ON FILE
CARO OTERO, CARMEN E         ADDRESS ON FILE
CARO PADILLA, GLORIA E       ADDRESS ON FILE
CARO PADILLA, JOSE           ADDRESS ON FILE
CARO PEREZ MD, OSVALDO       ADDRESS ON FILE
CARO PEREZ, CARMEN L         ADDRESS ON FILE
CARO PEREZ, ELIER            ADDRESS ON FILE
CARO PEREZ, ELIZABETH        ADDRESS ON FILE
CARO PEREZ, GILDREN S.       ADDRESS ON FILE
CARO PEREZ, ROBERT           ADDRESS ON FILE
CARO RAMOS, CARLA            ADDRESS ON FILE
CARO RAMOS, DAMARIS          ADDRESS ON FILE
CARO RAMOS, DAMARIS          ADDRESS ON FILE
CARO RAMOS, ISABEL           ADDRESS ON FILE
CARO RAMOS, JOAQUIN          ADDRESS ON FILE
CARO RAMOS, KAREN            ADDRESS ON FILE
CARO RAMOS, MARISOL          ADDRESS ON FILE
CARO RAMOS, MILTON           ADDRESS ON FILE
CARO RAMOS, NORMA            ADDRESS ON FILE
CARO RAMOS, OLGA             ADDRESS ON FILE
CARO RAMOS, WANDA            ADDRESS ON FILE
CARO REYES, DOLORES          ADDRESS ON FILE
CARO REYES, ELIZABETH        ADDRESS ON FILE
CARO RIOS, GISELA            ADDRESS ON FILE
CARO RIOS, NYDIA             ADDRESS ON FILE
CARO RIVERA, JOSE A          ADDRESS ON FILE
CARO RIVERA, JOSE ENRIQUE    ADDRESS ON FILE
CARO RIVERA, SONIA           ADDRESS ON FILE
Caro Rivera, Windy           ADDRESS ON FILE
CARO RODRIGUEZ, EVA L.       ADDRESS ON FILE
CARO RODRIGUEZ, ISRAEL       ADDRESS ON FILE
CARO RODRIGUEZ, NORMA        ADDRESS ON FILE
CARO RODRIGUEZ, YOLANDA      ADDRESS ON FILE
CARO ROSADO, SUSANA          ADDRESS ON FILE
CARO RUIZ MD, MILDRED        ADDRESS ON FILE
CARO RUIZ, EDGAR             ADDRESS ON FILE
CARO RUIZ, HUMBERTO          ADDRESS ON FILE
CARO RUIZ, YAJAIRA           ADDRESS ON FILE
CARO SANCHEZ, ALDA B         ADDRESS ON FILE
CARO SANCHEZ, AMILKAR A.     ADDRESS ON FILE
CARO SANCHEZ, CARMEN         ADDRESS ON FILE
CARO SANCHEZ, DAMARIS P      ADDRESS ON FILE
CARO SANCHEZ, VILMARIE       ADDRESS ON FILE
CARO SANTIAGO, GRISSEL       ADDRESS ON FILE
CARO TIRADO, ADA             ADDRESS ON FILE
CARO TIRADO, HILDA E         ADDRESS ON FILE
Caro Tirado, Maria T         ADDRESS ON FILE
CARO TIRADO, RAFAEL          ADDRESS ON FILE
CARO TORRES, CYNTHIA         ADDRESS ON FILE
CARO TORRES, JOSE J          ADDRESS ON FILE
CARO VEGA, ANA               ADDRESS ON FILE
CARO VEGA, ANA C             ADDRESS ON FILE
CARO VEGA, YORNALY           ADDRESS ON FILE
CARO VELAZQUEZ PC, MARITZA   ADDRESS ON FILE
CARO VELAZQUEZ, MARITZA      ADDRESS ON FILE




                                                                         Page 1300 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1301 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                     Address1                              Address2                                  Address3    Address4   City           State   PostalCode   Country
Caro Vendrell, Wilfredo J.        ADDRESS ON FILE
CARO VENDRELL, WILMARY            ADDRESS ON FILE
CAROL A CORDERO FELICIANO         ADDRESS ON FILE
CAROL A MARTINEZ RAMIREZ          ADDRESS ON FILE
CAROL A NICHOLS BONILLA           ADDRESS ON FILE
CAROL A OLIVO SANDOVAL            ADDRESS ON FILE
CAROL AMBULANCE INC.              CITY VIEW PLAZA II                    48 CARR 165 STE 2000                                             GUAYNABO       PR      00968‐8000
CAROL ANN COLON MONTES            ADDRESS ON FILE
CAROL ARROYO MORALES              ADDRESS ON FILE
CAROL B. ALVAREZ FONTNEZ          ADDRESS ON FILE
CAROL BURGOS BERRIOS              ADDRESS ON FILE
CAROL CRUZ                        ADDRESS ON FILE
CAROL D CRUZ PAGAN                ADDRESS ON FILE
CAROL D CRUZ PAGAN                ADDRESS ON FILE
CAROL E LOPEZ VEGA                ADDRESS ON FILE
CAROL E LOPEZ VEGA                ADDRESS ON FILE
CAROL E ROSARIO GUZMAN            ADDRESS ON FILE
Carol E. Johnson                  ADDRESS ON FILE
CAROL E. VILLARINI VELEZ          LCDO. RICARDO L. CASTILLO FILIPETTI   606 AVENIDA TITO CASTRO LA RAMBLA PLAZA   SUITE 125              Ponce          PR      00716‐0205
CAROL FRALEY BOOHER               ADDRESS ON FILE
CAROL IVETTE ESCALERA DAVILA      ADDRESS ON FILE
CAROL J CRESPO KEBLER             ADDRESS ON FILE
CAROL JOAN RIVERA TRENCHE         ADDRESS ON FILE
CAROL JOHNSON                     ADDRESS ON FILE
CAROL K NIEVES OROZCO             ADDRESS ON FILE
CAROL KAVANAGH MARTON             ADDRESS ON FILE
CAROL L CAQUIAS CHAMORRO          ADDRESS ON FILE
CAROL LOPEZ VEGA                  ADDRESS ON FILE
CAROL M LORENZO OLIVERA           ADDRESS ON FILE
CAROL M MEDINA VELEZ              ADDRESS ON FILE
CAROL M MORALES                   ADDRESS ON FILE
CAROL M ORTIZ RIVERA              ADDRESS ON FILE
CAROL M PORTALATIN MENDEZ         ADDRESS ON FILE
CAROL M SANTIAGO FIGUEROA         ADDRESS ON FILE
CAROL M TOLEDO PERAZA             ADDRESS ON FILE
CAROL M TORRES                    ADDRESS ON FILE
CAROL M TORRES GONZALEZ           ADDRESS ON FILE
CAROL M VEGA RIVERA               ADDRESS ON FILE
CAROL M. LORENZO OLIVERA          ADDRESS ON FILE
CAROL MONZON AYALA                ADDRESS ON FILE
CAROL OSORIO ORTIZ                ADDRESS ON FILE
CAROL PERALES VEGA                ADDRESS ON FILE
CAROL PLAUD FIGUEROA              ADDRESS ON FILE
CAROL R IRIZARRY RIVERA           ADDRESS ON FILE
CAROL RIVERA RESTO                ADDRESS ON FILE
CAROL RIVERA VEGA                 ADDRESS ON FILE
CAROL RODRIGUEZ TAYLOR            ADDRESS ON FILE
CAROL SANABRIA MONTIJO            ADDRESS ON FILE
CAROL SERRANO LEBRON              ADDRESS ON FILE
CAROL SKINNER FRISCH              ADDRESS ON FILE
CAROL SOSA SANTIAGO               ADDRESS ON FILE
CAROL V ACOSTA RODRIGUEZ          ADDRESS ON FILE
CAROLA HOME CARE I                P.O. BOX 1663                                                                                          RIO GRANDE     PR      00745
CAROLA LUCIA FERNANDEZ RIVERA     ADDRESS ON FILE
CAROLA LUCIA FERNANDEZ RIVERA     ADDRESS ON FILE
CAROLE L ORIOL                    ADDRESS ON FILE
CAROLINA ADVANCED DIGITAL         PO BOX 318                                                                                             SILER CITY     NC      27344‐0318
CAROLINA BEHAVIORAL CARE          289 OLMSTEAD BLVD 1                                                                                    PINEHURST      NC      28374
CAROLINA BUILDING MATERIALS INC   P O BOX 3570                                                                                           CAROLINA       PR      00984‐3570
CAROLINA CARDIOLOGY CONSULTANTS   3324 SIX FORKS RD                                                                                      RALEIGH        NC      27609‐2426




                                                                                                   Page 1301 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1302 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                       Address2                                Address3   Address4   City              State   PostalCode   Country
CAROLINA CATERING                        PO BOX 38097                                                                                 SAN JUAN          PR      00937
CAROLINA CRUZ GONZALEZ                   ADDRESS ON FILE
CAROLINA CUBEROS FRANCO                  ADDRESS ON FILE
CAROLINA DCR INC                         P O BOX 7757                                                                                 CAROLINA          PR      00986
CAROLINA E REVERON ARIAS                 ADDRESS ON FILE
CAROLINA EAR NOSE THROAT                 304 10TH AVE NE                                                                              HICKORY           NC      28601
CAROLINA GUZMAN TEJADA                   ADDRESS ON FILE
CAROLINA JIMENEZ PEDRAZA                 ADDRESS ON FILE
CAROLINA LIBAPEC (15) HOOP INC           URB JARDINES DE COUNTRU CLUB   AH 12 CALLE 37                                                CAROLINA          PR      00983
CAROLINA LUMBER YARD INC                 PO BOX 7193                                                                                  CAROLINA          PR      00986‐7193
CAROLINA M PEREZ ALMONTE                 ADDRESS ON FILE
CAROLINA MAYMI CARRILLO                  ADDRESS ON FILE
CAROLINA MEDICAL FACILITIES              AVE ROBERTO CLEMENTE           BLOQUE 129 NUM 26                                             CAROLINA          PR      00985
CAROLINA MEJIAS RIVERA                   ADDRESS ON FILE
CAROLINA MURRAY PEGUERO                  ADDRESS ON FILE
CAROLINA NUCLEAR CARDIO INSTITUTE        PO BOX 3457                                                                                  CAROLINA          PR      00984‐3457
CAROLINA OFFICE & SCHOOL                 PO BOX 1199                                                                                  CAROLINA          PR      00986‐1199
CAROLINA OFFICE & SCHOOL SUPPLY INC      AVE ROBERTO CLEMENTE C 2       VILLA CAROLINA                                                CAROLINA          PR      00985
CAROLINA OFFICE & SCHOOL SUPPLY, INC.    PO BOX 1199                                                                                  CAROLINA          PR      00986
CAROLINA ORTIZ DONE                      ADDRESS ON FILE
CAROLINA PIETERSZ, INDRA N               ADDRESS ON FILE
CAROLINA PR DISTRIBUTOR INC.             OCEAN PARK                     1956 CALLE CACIQUE                                            SAN JUAN          PR      00911
CAROLINA RAMIREZ PADILLA                 ADDRESS ON FILE
CAROLINA RATCHFORD                       ADDRESS ON FILE
CAROLINA REALTY / HECTOR RIVERA ARROYO   URB LA VISTA                   M 14 VIA DE VALLE                                             SAN JUAN          PR      00924
CAROLINA RECYCLING, CORP                 APARTADO 1322                                                                                GURABO            PR      00778‐2145
CAROLINA RENTAL                          PMB 2233                       PO BOX 6029                                                   CAROLINA          PR      00984‐6029
CAROLINA RENTAL INC                      PMB 2233                       PO BOX 6029                                                   CAROLINA          PR      00984
CAROLINA RIVERA NARVAEZ                  ADDRESS ON FILE
CAROLINA RIVERA RIVERA                   ADDRESS ON FILE
CAROLINA RODAS                           ADDRESS ON FILE
CAROLINA RODRIGUEZ COLON                 ADDRESS ON FILE
CAROLINA SANTIAGO GONZALEZ               ADDRESS ON FILE
CAROLINA SANTOS FERRER                   ADDRESS ON FILE
CAROLINA SHOPPING COURT INC              PO BOX 29112                                                                                 SAN JUAN          PR      00929‐0112
CAROLINA SPORT CENTER                    JARD DE COUNTRY CLUB           BM 22 AVE LAS GALICIAS                                        CAROLINA          PR      00983
CAROLINA STARS VOLI INC                  COUNTRY CLUB                   OB 13 CALLE 503                                               CAROLINA          PR      00982
CAROLINAS MEDICAL CENTER                 PO BOX 32861                                                                                 CHARLOTTE         NC      28232‐2861
CAROLINAS MEDICAL CENTER                 PO BOX 60671                                                                                 CHARLOTTE         NC      28260‐0671
CAROLINE ALICEA VALENTIN                 ADDRESS ON FILE
CAROLINE ALVARADO DECLET                 ADDRESS ON FILE
CAROLINE ALVARADO DECLET                 ADDRESS ON FILE
CAROLINE FAMILY PRACTICE                 102 W BROADDUS AVE STE 200     PO BOX 1596                                                   BOWLING GREEN     VA      22427
CAROLINE FERNANDEZ TORRES                ADDRESS ON FILE
CAROLINE HERNANDEZ DIAZ                  ADDRESS ON FILE
CAROLINE J CASTILLO DOMENA               ADDRESS ON FILE
CAROLINE J GOMEZ                         ADDRESS ON FILE
CAROLINE J GONZALEZ ROSADO               ADDRESS ON FILE
CAROLINE J MORALES COLON                 ADDRESS ON FILE
Caroline J. Morales Colon                ADDRESS ON FILE
CAROLINE LEON RODRIGUEZ                  ADDRESS ON FILE
CAROLINE LOPEZ BEAUCHAMP                 ADDRESS ON FILE
CAROLINE LOPEZ DIAZ                      ADDRESS ON FILE
CAROLINE LOPEZ DIAZ                      ADDRESS ON FILE
CAROLINE LOPEZ RIVERA                    ADDRESS ON FILE
CAROLINE M CARTAGENA DE JESUS            ADDRESS ON FILE
CAROLINE M GONZALEZ ORTIZ                ADDRESS ON FILE
CAROLINE M TORRES SOLIS                  ADDRESS ON FILE
CAROLINE MIRANDA COLON                   ADDRESS ON FILE
CAROLINE MORALES GONZALEZ                ADDRESS ON FILE




                                                                                                 Page 1302 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1303 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                     Address1                   Address2                                  Address3   Address4   City         State   PostalCode   Country
CAROLINE NIEVES CANCEL            ADDRESS ON FILE
CAROLINE ORTIZ RODRIGUEZ          ADDRESS ON FILE
CAROLINE P. TORO RUIZ             ADDRESS ON FILE
CAROLINE PEREZ PEREZ              ADDRESS ON FILE
CAROLINE RAMOS BAEZ               ADDRESS ON FILE
CAROLINE ROSADO APONTE            ADDRESS ON FILE
CAROLINE RUIZ MEDIN               ADDRESS ON FILE
CAROLINE SANDOVAL FIGUEROA        ADDRESS ON FILE
CAROLINE SANTIAGO ESTELLA         ADDRESS ON FILE
CAROLINE T CASTRO MARTINEZ        ADDRESS ON FILE
CAROLINE T. CASTRO MARTINEZ       ADDRESS ON FILE
CAROLINE T. CASTRO MARTINEZ       ADDRESS ON FILE
CAROLINE T. CASTRO MARTINEZ       ADDRESS ON FILE
CAROLINE TERESA CASTRO MARTINEZ   ADDRESS ON FILE
CAROLINE TORRES LOPEZ             ADDRESS ON FILE
CAROLINE TORRES MALDONADO         ADDRESS ON FILE
CAROLINE VIVAS ALVAREZ            ADDRESS ON FILE
CAROLINE WARD ESTEVES             ADDRESS ON FILE
CAROLL ALVARADO GARCIA            ADDRESS ON FILE
CAROLL CABANAS RIOS               ADDRESS ON FILE
CAROLL RIVERA GONZALEZ            ADDRESS ON FILE
CAROLL Y GONZALEZ                 ADDRESS ON FILE
CAROLY ROSARIO ROSARIO            ADDRESS ON FILE
CAROLYN ALEMAN GONZALEZ           ADDRESS ON FILE
CAROLYN BAEZ NIEVES               ADDRESS ON FILE
CAROLYN BURGOS COLLAZO            ADDRESS ON FILE
CAROLYN CARDONA SOTO              ADDRESS ON FILE
CAROLYN CARDONA SOTO              ADDRESS ON FILE
CAROLYN CHRISTINE UBINAS          ADDRESS ON FILE
CAROLYN D LEON                    ADDRESS ON FILE
CAROLYN DE JESUS COTTO            ADDRESS ON FILE
CAROLYN FONSECA SANTIAGO          ADDRESS ON FILE
CAROLYN GERENA RIOS               ADDRESS ON FILE
CAROLYN H CHAZDON                 ADDRESS ON FILE
CAROLYN HINK Y GLORIA VELAZQUEZ   ADDRESS ON FILE
CAROLYN J VIDAL LABOY             ADDRESS ON FILE
CAROLYN LANDRAU COLLAZO           ADDRESS ON FILE
CAROLYN M PEREZ VELAZQUEZ         ADDRESS ON FILE
CAROLYN M RIVERA MUNIZ            ADDRESS ON FILE
CAROLYN MALDONADO GRIJALBA        ADDRESS ON FILE
CAROLYN MARQUEZ RODRIGUEZ         ADDRESS ON FILE
CAROLYN MARRERO RAMOS             ADDRESS ON FILE
CAROLYN MARTINEZ RODRIGUEZ        ADDRESS ON FILE
CAROLYN MCCADNER SANCHEZ          ADDRESS ON FILE
CAROLYN MELENDEZ RIVERA           ADDRESS ON FILE
CAROLYN MUNIZ NIEVES              ADDRESS ON FILE
CAROLYN PADILLA MARTINEZ          ADDRESS ON FILE
CAROLYN RODRIGUEZ MONTALVO        ADDRESS ON FILE
CAROLYN ROSADO PENA               ADDRESS ON FILE
CAROLYN SANTANA FIGUEROA          ADDRESS ON FILE
CAROLYN SEPULVEDA CABASSA         ADDRESS ON FILE
CAROLYN SOTO LOPEZ                ADDRESS ON FILE
CAROLYN THOMAS WILLIAMS           ADDRESS ON FILE
CAROLYNE OTERO RIVERA             ADDRESS ON FILE
CAROMONT REGIONAL HOSPITAL        2525 COURT DR                                                                              GASTONIA     NC      27054‐2140
CARPAS DURAN CORP                 URB SAN AGUSTIN            422 CALLE SOLDADO LIBRAN                                        SAN JUAN     PR      00923
CARPAS EXPRESS                    PO BOX 364061                                                                              SAN JUAN     PR      00936‐4061
CARPAS TORRESAN                   ADDRESS ON FILE
CARPE DIEM, INC                   40 CALLE MATTEI LLUBERAS                                                                   YAUCO        PR      00698
CARPENA AVILES, JANET T.          ADDRESS ON FILE




                                                                                        Page 1303 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1304 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
CARPENA AVILES, MARIA V.                 ADDRESS ON FILE
CARPENA COLON, JOSE                      ADDRESS ON FILE
CARPENA COLON, WILLIAM                   ADDRESS ON FILE
CARPENA DIAZ, JONATHAN                   ADDRESS ON FILE
CARPENA MARTINEZ, DANIA M.               ADDRESS ON FILE
CARPENA MARTINEZ, RAUL                   ADDRESS ON FILE
CARPENA PEREZ, BELMARIE                  ADDRESS ON FILE
CARPENA PEREZ, LUIS                      ADDRESS ON FILE
CARPENA ROSADO, NIVEA L                  ADDRESS ON FILE
CARPENA TORRES, CELYMAR                  ADDRESS ON FILE
CARPENA TORRES, JAIME E                  ADDRESS ON FILE
CARPENA TORRES, RAMON                    ADDRESS ON FILE
CARPENA TORRES, RAMON                    ADDRESS ON FILE
CARPENA TORRES, ROLANDO                  ADDRESS ON FILE
CARPENA VAZQUEZ, CARMEN M                ADDRESS ON FILE
CARPETS UNLIMITED DIST.DBA CUADRADO ALFO PO BOX 361237                                                                    SAN JUAN          PR      00936‐1237
CARPETS UNLIMITED DISTRIBUTORS CORP      PO BOX 361237                                                                    SAN JUAN          PR      00918
CARPINTERO RECORDS                       PO BOX 674                                                                       MANATI            PR      00674
CARPIO ARCE, CLARYVELL                   ADDRESS ON FILE
CARPIO ARCE, JOSE A                      ADDRESS ON FILE
CARPIO BASTARDO, RAMON                   ADDRESS ON FILE
CARPIO CALDERON, ZULEICA                 ADDRESS ON FILE
CARPIO GARCIA, GERMAN                    ADDRESS ON FILE
CARPIO GARCIA, NURYS                     ADDRESS ON FILE
CARPIO MALDONADO, LUIS                   ADDRESS ON FILE
CARPIO PADILLA SANTIAGO                  ADDRESS ON FILE
CARPIO RIVERA, DUHAMEL                   ADDRESS ON FILE
CARPIO RODRIGUEZ, LUIS                   ADDRESS ON FILE
CARPIO ROVIRA, ALEJANDRO                 ADDRESS ON FILE
CARPIO RUIZ, CHERIBEL                    ADDRESS ON FILE
CARPIO SERRANO, STEFFANY                 ADDRESS ON FILE
CARPIO, JULIANA                          ADDRESS ON FILE
CARPIO, JULIANA                          ADDRESS ON FILE
CARPIO, JULIANA                          ADDRESS ON FILE
CARPIO, MAYELIN                          ADDRESS ON FILE
CARPRO INC                               P O BOX 1393                                                                     SAINT JUST CO     PR      00978
CARR MD , JOHN E                         ADDRESS ON FILE
CARR MD , RONALD E                       ADDRESS ON FILE
CARRABALLO GUZMAN, MILKA D               ADDRESS ON FILE
CARRADERO ACOSTA, JESUS                  ADDRESS ON FILE
CARRADERO BELTRAN, PAOLA J               ADDRESS ON FILE
CARRADERO DIAZ, SANDRA                   ADDRESS ON FILE
CARRADERO GARCIA, MARANGELY              ADDRESS ON FILE
CARRADERO GARCIA, MORAYMA                ADDRESS ON FILE
CARRADERO LOPEZ, SIXTA                   ADDRESS ON FILE
CARRADERO MIRANDA, MICHELLE              ADDRESS ON FILE
CARRADERO MURIEL, JOSE M.                ADDRESS ON FILE
CARRADERO PERALTA, SHAMALE               ADDRESS ON FILE
Carradero Santiago, Luis A               ADDRESS ON FILE
CARRADERO TANON, RICARDO                 ADDRESS ON FILE
CARRADERO TORRES, HECTOR                 ADDRESS ON FILE
CARRADERO VAZQUEZ, IVAN                  ADDRESS ON FILE
CARRADERO VELLON, IVETTE                 ADDRESS ON FILE
CARRADEROCASTRO, HECTOR L                ADDRESS ON FILE
CARRANZA AMADOR, ALBERTO J.              ADDRESS ON FILE
CARRANZA AMADOR, ALBERTO J.              ADDRESS ON FILE
CARRANZA ARRIAGA, VANESSA                ADDRESS ON FILE
CARRANZA ARROYO, RAFAEL A.               ADDRESS ON FILE
CARRANZA COLON, ANGEL                    ADDRESS ON FILE
CARRANZA COLON, MARCOS                   ADDRESS ON FILE




                                                                                     Page 1304 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1305 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Carranza Colon, Richard J         ADDRESS ON FILE
CARRANZA DE LEON, NORMA L         ADDRESS ON FILE
CARRANZA GUZMAN, ABIGAIL          ADDRESS ON FILE
CARRANZA LOAYZA, OLENKA           ADDRESS ON FILE
CARRANZA MENDOZA, JOSEPH          ADDRESS ON FILE
CARRAQUILLO MADELINE, DIAZ        ADDRESS ON FILE
CARRAQUILLO RODRIGUEZ, LUIS O     ADDRESS ON FILE
CARRASCO ALAMO, EDGARDO           ADDRESS ON FILE
CARRASCO ALAMO, JOSE              ADDRESS ON FILE
CARRASCO AMADEO, AGUSTIN          ADDRESS ON FILE
CARRASCO AYALA, MIGUELINA         ADDRESS ON FILE
CARRASCO AYALA, RICHARD           ADDRESS ON FILE
CARRASCO AYALA, RICHARD           ADDRESS ON FILE
CARRASCO AYALA, WALESKA           ADDRESS ON FILE
Carrasco Candelaria, David        ADDRESS ON FILE
CARRASCO CARRASCO, DAVID          ADDRESS ON FILE
CARRASCO CASTILLO, ALEJANDRO      ADDRESS ON FILE
CARRASCO CLAUDIO, JENNIFER        ADDRESS ON FILE
CARRASCO CLAUDIO, MARIA           ADDRESS ON FILE
CARRASCO CLAUDIO, MIGDALIA        ADDRESS ON FILE
Carrasco Collazo, Carlos A.       ADDRESS ON FILE
CARRASCO DAVILA, CARLOS           ADDRESS ON FILE
CARRASCO DE RO, MARIA DEL C       ADDRESS ON FILE
Carrasco Delgado, Victor M        ADDRESS ON FILE
CARRASCO DIAZ, JOSE               ADDRESS ON FILE
CARRASCO DIAZ, MIGUEL A           ADDRESS ON FILE
CARRASCO DIAZ, RAUL               ADDRESS ON FILE
CARRASCO DIAZ, ZENAIDA            ADDRESS ON FILE
CARRASCO ESPINOSA, DANIA          ADDRESS ON FILE
CARRASCO ESPINOSA, IVELISSE       ADDRESS ON FILE
CARRASCO FELIX, RAMON             ADDRESS ON FILE
CARRASCO FLORES, ZULMA            ADDRESS ON FILE
Carrasco Fuentes, Angel L         ADDRESS ON FILE
Carrasco Fuentes, Anthony         ADDRESS ON FILE
Carrasco Garay, Nestor            ADDRESS ON FILE
CARRASCO GARAY, NESTOR            ADDRESS ON FILE
CARRASCO GARCIA, FELIX            ADDRESS ON FILE
CARRASCO GARCIA, MARTA            ADDRESS ON FILE
CARRASCO GONZALEZ, JUAN           ADDRESS ON FILE
CARRASCO GONZALEZ, RAYSHA         ADDRESS ON FILE
CARRASCO GONZALEZ, SAUL           ADDRESS ON FILE
CARRASCO GUERRA, JOSE B.          ADDRESS ON FILE
CARRASCO GUERRA, LORENZO J        ADDRESS ON FILE
CARRASCO LOPEZ FUNERAL HOME LLC   AVE CRUZ ORTIZ STELLA     107 SUR                                                HUMACAO      PR      00791
CARRASCO LUNA, MANUEL             ADDRESS ON FILE
CARRASCO MALDONADO, MAGALY J      ADDRESS ON FILE
CARRASCO MARTINEZ, JOSE L         ADDRESS ON FILE
CARRASCO MELENDEZ, ANABEL         ADDRESS ON FILE
Carrasco Montijo, Luis S          ADDRESS ON FILE
CARRASCO MORALES, JAVIER          ADDRESS ON FILE
CARRASCO MUNOZ, LUCY              ADDRESS ON FILE
CARRASCO MUNOZ, RAFAEL            ADDRESS ON FILE
CARRASCO OLMEDA, EDGARDO J        ADDRESS ON FILE
CARRASCO PENA, CLARA              ADDRESS ON FILE
CARRASCO RAMOS, KELVIN            ADDRESS ON FILE
CARRASCO RIVERA, IRAIDA           ADDRESS ON FILE
CARRASCO RIVERA, NEREIDA          ADDRESS ON FILE
CARRASCO RIVERA, YEISMARELI       ADDRESS ON FILE
CARRASCO RODRIGUEZ, ASTRID        ADDRESS ON FILE
CARRASCO RODRIGUEZ, FRANCISCO     ADDRESS ON FILE




                                                                              Page 1305 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1306 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASCO RODRIGUEZ, HECTOR          ADDRESS ON FILE
CARRASCO SANCHEZ, RAMON             ADDRESS ON FILE
CARRASCO SANTOS, ANGELICA           ADDRESS ON FILE
CARRASCO SERRANO, FELIX             ADDRESS ON FILE
Carrasco Serrano, Roberto           ADDRESS ON FILE
CARRASCO TORRES, ANA M              ADDRESS ON FILE
CARRASCO TORRES, JUAN               ADDRESS ON FILE
Carrasco Vazquez, Wanda I           ADDRESS ON FILE
CARRASCO, MIGUEL A                  ADDRESS ON FILE
CARRASQUERO FERNANDEZ, MAUREEN      ADDRESS ON FILE
CARRASQUILLO ACEVEDO, KATHIRIA      ADDRESS ON FILE
CARRASQUILLO ADORNO, GLORIA         ADDRESS ON FILE
Carrasquillo Adorno, Jose D         ADDRESS ON FILE
CARRASQUILLO ADORNO, JULIO          ADDRESS ON FILE
CARRASQUILLO ADORNO, JULIO          ADDRESS ON FILE
CARRASQUILLO ADORNO, JULIO O.       ADDRESS ON FILE
CARRASQUILLO ADORNO, MARTA          ADDRESS ON FILE
CARRASQUILLO ADORNO, PEDRO          ADDRESS ON FILE
CARRASQUILLO ADORNO, RAFAELA        ADDRESS ON FILE
CARRASQUILLO ADORNO, ZOBEIDA        ADDRESS ON FILE
CARRASQUILLO AGOSTO, ALEX R         ADDRESS ON FILE
CARRASQUILLO AGOSTO, FERNANDO       ADDRESS ON FILE
CARRASQUILLO AGOSTO, LISSETTE       ADDRESS ON FILE
CARRASQUILLO AGOSTO, LISSY          ADDRESS ON FILE
CARRASQUILLO AGOSTO, LYNNETTE       ADDRESS ON FILE
CARRASQUILLO AGUAYO, JANET          ADDRESS ON FILE
CARRASQUILLO ALAMO CARISMELY        ADDRESS ON FILE
CARRASQUILLO ALAMO, LUIS            ADDRESS ON FILE
CARRASQUILLO ALBERTY, HAROLD        ADDRESS ON FILE
CARRASQUILLO ALICEA, CAMILLE        ADDRESS ON FILE
CARRASQUILLO ALICEA, CHARLIRIS      ADDRESS ON FILE
CARRASQUILLO ALICEA, CYNTHIA        ADDRESS ON FILE
CARRASQUILLO ALICEA, NORCARIS       ADDRESS ON FILE
CARRASQUILLO ALMENA, ZULMA          ADDRESS ON FILE
CARRASQUILLO ALMENAS, JANEIDY       ADDRESS ON FILE
CARRASQUILLO ALMENAS, ROSA M        ADDRESS ON FILE
CARRASQUILLO ALVARADO, ANGEL L.     ADDRESS ON FILE
Carrasquillo Alvarado, Diego S.     ADDRESS ON FILE
CARRASQUILLO ALVARADO, LYDIA E.     ADDRESS ON FILE
CARRASQUILLO ALVAREZ, GERARDO       ADDRESS ON FILE
CARRASQUILLO ANDICULA, JOSE L.      ADDRESS ON FILE
CARRASQUILLO ANTONGIORGI, GABRIEL   ADDRESS ON FILE
CARRASQUILLO APONTE, JOSE J         ADDRESS ON FILE
Carrasquillo Aponte, Jose R         ADDRESS ON FILE
CARRASQUILLO APONTE, PAULA I        ADDRESS ON FILE
CARRASQUILLO APONTE, YADIRA         ADDRESS ON FILE
CARRASQUILLO APONTE, YARITZA        ADDRESS ON FILE
CARRASQUILLO APONTE, YARITZA        ADDRESS ON FILE
CARRASQUILLO ARCE, ANGEL L.         ADDRESS ON FILE
CARRASQUILLO ARCE, CARMEN           ADDRESS ON FILE
CARRASQUILLO ARCE, JOSE             ADDRESS ON FILE
CARRASQUILLO ARES, JACOB            ADDRESS ON FILE
CARRASQUILLO AROCHO, YAMARIS        ADDRESS ON FILE
CARRASQUILLO ARROYO, ANGEL          ADDRESS ON FILE
CARRASQUILLO ARROYO, CARMEN L       ADDRESS ON FILE
CARRASQUILLO ARROYO, EDUARDO        ADDRESS ON FILE
CARRASQUILLO ARROYO, JEANETTE       ADDRESS ON FILE
Carrasquillo Arroyo, Maria C.       ADDRESS ON FILE
CARRASQUILLO ARROYO, MARIA M        ADDRESS ON FILE
CARRASQUILLO ARROYO, MAYRA L.       ADDRESS ON FILE




                                                                                Page 1306 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1307 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO ARTURET, RAFAEL            ADDRESS ON FILE
Carrasquillo Asencio, Jose M            ADDRESS ON FILE
CARRASQUILLO ASTACIO, JAMILLE E.        ADDRESS ON FILE
CARRASQUILLO ATILANO, ZULEIMA           ADDRESS ON FILE
CARRASQUILLO AVILES, ADRIAN             ADDRESS ON FILE
CARRASQUILLO AVILES, ALEXANDER          ADDRESS ON FILE
CARRASQUILLO AVILES, IVETTE E.          ADDRESS ON FILE
CARRASQUILLO AVILES, KATHERINE          ADDRESS ON FILE
CARRASQUILLO AVILES, MARILYN            ADDRESS ON FILE
CARRASQUILLO AYALA, ABIGAIL             ADDRESS ON FILE
CARRASQUILLO AYALA, ABIGAIL             ADDRESS ON FILE
CARRASQUILLO AYALA, ABIGAIL             ADDRESS ON FILE
CARRASQUILLO AYALA, HECTOR              ADDRESS ON FILE
CARRASQUILLO AYALA, JAVIER              ADDRESS ON FILE
CARRASQUILLO AYALA, JORGE               ADDRESS ON FILE
CARRASQUILLO AYALA, MADELINE            ADDRESS ON FILE
Carrasquillo Ayala, Nestor M            ADDRESS ON FILE
Carrasquillo Ayala, Obed                ADDRESS ON FILE
CARRASQUILLO AYALA, RAFAEL              ADDRESS ON FILE
CARRASQUILLO AYALA, SARAHI              ADDRESS ON FILE
CARRASQUILLO AYENDE, NITZA M            ADDRESS ON FILE
CARRASQUILLO BAEZ, ANA J                ADDRESS ON FILE
CARRASQUILLO BAEZ, EDILIA               ADDRESS ON FILE
CARRASQUILLO BAEZ, MARIBEL              ADDRESS ON FILE
CARRASQUILLO BAEZ, PEDRO L              ADDRESS ON FILE
CARRASQUILLO BAEZ, ZORILIS              ADDRESS ON FILE
CARRASQUILLO BALDOMERO, SAUL            ADDRESS ON FILE
CARRASQUILLO BAQUELO, JOSE              ADDRESS ON FILE
CARRASQUILLO BAQUERO, ADRIANA           ADDRESS ON FILE
CARRASQUILLO BAQUERO, JOSE              ADDRESS ON FILE
CARRASQUILLO BAQUERO, MANUEL            ADDRESS ON FILE
CARRASQUILLO BEAUCHAMP, THAMAR          ADDRESS ON FILE
CARRASQUILLO BELTRAN, FELIX             ADDRESS ON FILE
CARRASQUILLO BELTRAN, FELIX             ADDRESS ON FILE
CARRASQUILLO BENITEZ, SANDRA R          ADDRESS ON FILE
CARRASQUILLO BENITEZ, SANDRA R.         ADDRESS ON FILE
CARRASQUILLO BERMUDEZ, MODESTO          ADDRESS ON FILE
CARRASQUILLO BERMUDEZ, WANDA            ADDRESS ON FILE
CARRASQUILLO BERRIO, RAQUEL             ADDRESS ON FILE
CARRASQUILLO BETANCOURT, CHRISTOPHER    ADDRESS ON FILE
Carrasquillo Betancourt, Ketty          ADDRESS ON FILE
CARRASQUILLO BETANCOURT, MARY           ADDRESS ON FILE
CARRASQUILLO BIGIO, ANDRES              ADDRESS ON FILE
CARRASQUILLO BIGIO, CARMEN M.           ADDRESS ON FILE
CARRASQUILLO BONANO, OTONIEL            ADDRESS ON FILE
CARRASQUILLO BONILLA, GLORIA M          ADDRESS ON FILE
CARRASQUILLO BONILLA, JORGE             ADDRESS ON FILE
CARRASQUILLO BONILLA, JORGE A.          ADDRESS ON FILE
CARRASQUILLO BONILLA, KARRIE EMMANUEL   ADDRESS ON FILE
CARRASQUILLO BONILLA, LUIS RICARDO      ADDRESS ON FILE
CARRASQUILLO BONILLA, LUZ E             ADDRESS ON FILE
CARRASQUILLO BONILLA, RAMON             ADDRESS ON FILE
CARRASQUILLO BORRERO, NOEL              ADDRESS ON FILE
CARRASQUILLO BRACERO, LUIS              ADDRESS ON FILE
CARRASQUILLO BRAVO, KIMBERLY            ADDRESS ON FILE
CARRASQUILLO BRENES, WILFREDO           ADDRESS ON FILE
CARRASQUILLO BURGOS, ADA R              ADDRESS ON FILE
CARRASQUILLO BURGOS, JOSE J.            ADDRESS ON FILE
CARRASQUILLO BURGOS, MOISES             ADDRESS ON FILE
CARRASQUILLO CACERES, BRENDA            ADDRESS ON FILE




                                                                                    Page 1307 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1308 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO CALCANO, ALEJANDRO          ADDRESS ON FILE
CARRASQUILLO CALCANO, CANDELARIO         ADDRESS ON FILE
CARRASQUILLO CALDERIN, CARMEN            ADDRESS ON FILE
CARRASQUILLO CALDERIN, JOSE F.           ADDRESS ON FILE
Carrasquillo Caldero, Ernie              ADDRESS ON FILE
CARRASQUILLO CALDERON, LISA              ADDRESS ON FILE
CARRASQUILLO CALDERON, MARIO             ADDRESS ON FILE
CARRASQUILLO CALDERON, OMAR              ADDRESS ON FILE
CARRASQUILLO CALO, ALIDA I               ADDRESS ON FILE
CARRASQUILLO CALO, AMARILIS              ADDRESS ON FILE
CARRASQUILLO CALO, BRENDA                ADDRESS ON FILE
CARRASQUILLO CALO, LYNNETTE              ADDRESS ON FILE
CARRASQUILLO CALO, ORLANDO               ADDRESS ON FILE
CARRASQUILLO CAMPO, OLGA                 ADDRESS ON FILE
CARRASQUILLO CAMPOS, OLGA I              ADDRESS ON FILE
CARRASQUILLO CANALES, WALDEMAR           ADDRESS ON FILE
CARRASQUILLO CANCEL, JOSE                ADDRESS ON FILE
CARRASQUILLO CANDELARIA, JOSE            ADDRESS ON FILE
Carrasquillo Candelaria, Julio           ADDRESS ON FILE
CARRASQUILLO CANDELARIA, JULIO           ADDRESS ON FILE
CARRASQUILLO CANDELARIO, MILAGROS        ADDRESS ON FILE
CARRASQUILLO CARABALLO, AIXA M           ADDRESS ON FILE
CARRASQUILLO CARATTINI, YAIMALENIZ       ADDRESS ON FILE
Carrasquillo Cardona, Billy              ADDRESS ON FILE
CARRASQUILLO CARDONA, BILLY              ADDRESS ON FILE
CARRASQUILLO CARDONA, FRANCISCO          ADDRESS ON FILE
CARRASQUILLO CARDONA, PABLO              ADDRESS ON FILE
Carrasquillo Carmona, Edwin              ADDRESS ON FILE
CARRASQUILLO CARMONA, GEORLINE           ADDRESS ON FILE
CARRASQUILLO CARMONA, GEORLINE           ADDRESS ON FILE
CARRASQUILLO CARMONA, JOSE               ADDRESS ON FILE
Carrasquillo Carra, Agustin              ADDRESS ON FILE
CARRASQUILLO CARRASCO, PEDRO             ADDRESS ON FILE
CARRASQUILLO CARRASQ, JOSE               ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, ANGEL         ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, BLANCA IRIS   ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, CARMEN        ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, CARMEN        ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, CARMEN L      ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, DANIEL        ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, HECTOR        ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, JESSICA       ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, JESSICA       ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, JUAN          ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, JUAN          ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, KAIRA         ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, KAIRA         ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, KAIRA         ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, KAREN         ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, LUIS C        ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, SANDRA        ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, STACY         ADDRESS ON FILE
CARRASQUILLO CARRASQUILLO, ZULMA W       ADDRESS ON FILE
CARRASQUILLO CARRILLO, HIRAM             ADDRESS ON FILE
CARRASQUILLO CARRION, KELVIN             ADDRESS ON FILE
CARRASQUILLO CARRION, MARIBEL            ADDRESS ON FILE
Carrasquillo Carrion, Maribel            ADDRESS ON FILE
CARRASQUILLO CARRION, MARIBEL            ADDRESS ON FILE
CARRASQUILLO CASADO, BANGESY             ADDRESS ON FILE
CARRASQUILLO CASADO, BANGIE              ADDRESS ON FILE




                                                                                     Page 1308 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1309 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO CASADO, BANGIE       ADDRESS ON FILE
CARRASQUILLO CASANOVA, NORMA      ADDRESS ON FILE
CARRASQUILLO CASTANEDA, ROSA      ADDRESS ON FILE
Carrasquillo Castillo, Cruz       ADDRESS ON FILE
CARRASQUILLO CASTILLO, EDWIN      ADDRESS ON FILE
CARRASQUILLO CASTILLO, OMAYRA     ADDRESS ON FILE
CARRASQUILLO CASTRO, EDERSON      ADDRESS ON FILE
Carrasquillo Castro, Jose         ADDRESS ON FILE
CARRASQUILLO CASTRO, MINERVA      ADDRESS ON FILE
CARRASQUILLO CASTRO, NOE          ADDRESS ON FILE
CARRASQUILLO CASTRO, ROSANGELA    ADDRESS ON FILE
CARRASQUILLO CASTRO, XIOMARA I.   ADDRESS ON FILE
Carrasquillo Cedres, Jose A       ADDRESS ON FILE
CARRASQUILLO CENTENO, CARMEN I    ADDRESS ON FILE
CARRASQUILLO CEPEDO, LIZA         ADDRESS ON FILE
CARRASQUILLO CHEVRES, JOSE        ADDRESS ON FILE
CARRASQUILLO CHEVRES, JOSE        ADDRESS ON FILE
CARRASQUILLO CINTRON, ADALIA      ADDRESS ON FILE
CARRASQUILLO CINTRON, CARLIANA    ADDRESS ON FILE
CARRASQUILLO CINTRON, CARLOS O    ADDRESS ON FILE
Carrasquillo Cintron, Ivetsy      ADDRESS ON FILE
CARRASQUILLO CINTRON, IVETTSEE    ADDRESS ON FILE
CARRASQUILLO CINTRON, JOSE        ADDRESS ON FILE
CARRASQUILLO CIRINO, CARMEN J     ADDRESS ON FILE
CARRASQUILLO CIRINO, JENNIFER     ADDRESS ON FILE
CARRASQUILLO CIRINO, LIONEL       ADDRESS ON FILE
CARRASQUILLO CLAUDIO, YANICE      ADDRESS ON FILE
CARRASQUILLO COLLAZO, CHALIRA     ADDRESS ON FILE
CARRASQUILLO COLLAZO, MILDRED     ADDRESS ON FILE
CARRASQUILLO COLLAZO, YIRA        ADDRESS ON FILE
Carrasquillo Colon, Angel L       ADDRESS ON FILE
CARRASQUILLO COLON, BRANDO        ADDRESS ON FILE
CARRASQUILLO COLON, BRUNILDA      ADDRESS ON FILE
CARRASQUILLO COLON, CARLOS        ADDRESS ON FILE
CARRASQUILLO COLON, DEBORAH       ADDRESS ON FILE
CARRASQUILLO COLON, EDWIN G.      ADDRESS ON FILE
CARRASQUILLO COLON, FRANKIE       ADDRESS ON FILE
CARRASQUILLO COLON, ISAN          ADDRESS ON FILE
CARRASQUILLO COLON, KATIA         ADDRESS ON FILE
CARRASQUILLO COLON, KEILA         ADDRESS ON FILE
CARRASQUILLO COLON, LUZ E         ADDRESS ON FILE
CARRASQUILLO COLON, LUZ N         ADDRESS ON FILE
CARRASQUILLO COLON, MYRNA         ADDRESS ON FILE
CARRASQUILLO COLON, ROSIBEL       ADDRESS ON FILE
CARRASQUILLO COLON, ROSIBEL       ADDRESS ON FILE
CARRASQUILLO COLON, RUTH E        ADDRESS ON FILE
CARRASQUILLO COLON, WILLIAM       ADDRESS ON FILE
Carrasquillo Colón, Yolanda       ADDRESS ON FILE
CARRASQUILLO COLON, YOLANDA       ADDRESS ON FILE
CARRASQUILLO CONCEPCION, MONICA   ADDRESS ON FILE
CARRASQUILLO CORDERO, JEFFREY     ADDRESS ON FILE
CARRASQUILLO CORDERO, MAYRA       ADDRESS ON FILE
CARRASQUILLO CORDERO, MELISSA     ADDRESS ON FILE
CARRASQUILLO CORDERO, YAMILIS     ADDRESS ON FILE
CARRASQUILLO CORDOVA, ARELIS      ADDRESS ON FILE
CARRASQUILLO CORIANO, AXEL        ADDRESS ON FILE
CARRASQUILLO CORIANO, JAHAIRA     ADDRESS ON FILE
CARRASQUILLO CORREA, ARELIS       ADDRESS ON FILE
CARRASQUILLO CORREA, ARELIS       ADDRESS ON FILE
CARRASQUILLO CORREA, JAIME        ADDRESS ON FILE




                                                                              Page 1309 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1310 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO CORREA, LILLIAM         ADDRESS ON FILE
CARRASQUILLO CORREA, TERESA          ADDRESS ON FILE
CARRASQUILLO CORTES, CARLOS          ADDRESS ON FILE
CARRASQUILLO CORTES, GLORIMILLE      ADDRESS ON FILE
CARRASQUILLO COSME, CARLOS           ADDRESS ON FILE
CARRASQUILLO COTTO, HECTOR           ADDRESS ON FILE
CARRASQUILLO COTTO, JEZIEL A         ADDRESS ON FILE
CARRASQUILLO COTTO, JEZIEL A.        ADDRESS ON FILE
CARRASQUILLO COTTO, MAGDALEE         ADDRESS ON FILE
CARRASQUILLO COTTO, MIGUEL A         ADDRESS ON FILE
CARRASQUILLO COTTO, SONIA            ADDRESS ON FILE
CARRASQUILLO COTTO, SONIA N.         ADDRESS ON FILE
CARRASQUILLO CRESPO, AIDA            ADDRESS ON FILE
CARRASQUILLO CRESPO, CARMEN L.       ADDRESS ON FILE
CARRASQUILLO CRUZ, ALBA N            ADDRESS ON FILE
CARRASQUILLO CRUZ, CARLOS            ADDRESS ON FILE
CARRASQUILLO CRUZ, DAVID             ADDRESS ON FILE
CARRASQUILLO CRUZ, ELIZABETH         ADDRESS ON FILE
CARRASQUILLO CRUZ, JAVIER            ADDRESS ON FILE
CARRASQUILLO CRUZ, JAVIER            ADDRESS ON FILE
CARRASQUILLO CRUZ, JOCELYN M.        ADDRESS ON FILE
CARRASQUILLO CRUZ, LUIS              ADDRESS ON FILE
CARRASQUILLO CRUZ, LUIS              ADDRESS ON FILE
CARRASQUILLO CRUZ, LYNETTE           ADDRESS ON FILE
CARRASQUILLO CRUZ, PAUL J.           ADDRESS ON FILE
CARRASQUILLO CRUZ, PEDRO             ADDRESS ON FILE
Carrasquillo Cruz, Pedro             ADDRESS ON FILE
CARRASQUILLO CUADRA, SHARON M        ADDRESS ON FILE
CARRASQUILLO CUESTA, CARMEN SIDELL   ADDRESS ON FILE
Carrasquillo Cuevas, Oscar A.        ADDRESS ON FILE
CARRASQUILLO CUEVAS, WANDA W.        ADDRESS ON FILE
CARRASQUILLO DAVILA, ENID M          ADDRESS ON FILE
CARRASQUILLO DAVILA, FERDIN          ADDRESS ON FILE
CARRASQUILLO DAVILA, JOSE R          ADDRESS ON FILE
CARRASQUILLO DAVILA, NAOMI           ADDRESS ON FILE
CARRASQUILLO DAVILA, OLGA            ADDRESS ON FILE
CARRASQUILLO DAVIU, SANDRA           ADDRESS ON FILE
CARRASQUILLO DE JESUS, CYNTHIA       ADDRESS ON FILE
CARRASQUILLO DE JESUS, EMILIO        ADDRESS ON FILE
CARRASQUILLO DE JESUS, NELLY         ADDRESS ON FILE
CARRASQUILLO DE JESUS, YARILIZ       ADDRESS ON FILE
CARRASQUILLO DE LEON, BRENDA         ADDRESS ON FILE
CARRASQUILLO DE LEON, VANYA          ADDRESS ON FILE
CARRASQUILLO DEDOS, ORLANDO          ADDRESS ON FILE
CARRASQUILLO DEL VALLE, YAHAIRA      ADDRESS ON FILE
CARRASQUILLO DELGADO, ADA            ADDRESS ON FILE
CARRASQUILLO DELGADO, ADA I          ADDRESS ON FILE
CARRASQUILLO DELGADO, DAIMARI        ADDRESS ON FILE
CARRASQUILLO DELGADO, JO             ADDRESS ON FILE
CARRASQUILLO DELGADO, JOSE           ADDRESS ON FILE
CARRASQUILLO DELGADO, LOURDES        ADDRESS ON FILE
CARRASQUILLO DELGADO, MILAGROS       ADDRESS ON FILE
CARRASQUILLO DELGADO, MIRAN          ADDRESS ON FILE
Carrasquillo Delgado, Moises         ADDRESS ON FILE
CARRASQUILLO DELGADO, MOISES         ADDRESS ON FILE
Carrasquillo Delgado, Roberto        ADDRESS ON FILE
CARRASQUILLO DELGADO, ROBERTO        ADDRESS ON FILE
CARRASQUILLO DELGADO, VIRGINIA       ADDRESS ON FILE
CARRASQUILLO DIAZ, CARLOS            ADDRESS ON FILE
CARRASQUILLO DIAZ, CARMEN M          ADDRESS ON FILE




                                                                                 Page 1310 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1311 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                            Address2                                    Address3   Address4   City         State   PostalCode   Country
Carrasquillo Diaz, Edgar                 ADDRESS ON FILE
CARRASQUILLO DIAZ, EZEQUIEL              ADDRESS ON FILE
Carrasquillo Diaz, Fausto                ADDRESS ON FILE
CARRASQUILLO DIAZ, JORGE                 ADDRESS ON FILE
CARRASQUILLO DIAZ, MARIA M               ADDRESS ON FILE
CARRASQUILLO DIAZ, NOELIA M              ADDRESS ON FILE
Carrasquillo Diaz, Rosailyne             ADDRESS ON FILE
CARRASQUILLO DIAZ, TANIA M               ADDRESS ON FILE
CARRASQUILLO DIAZ, VICTOR                ADDRESS ON FILE
CARRASQUILLO DIAZ, VILMARIE              ADDRESS ON FILE
CARRASQUILLO DIAZ, WILLIAM               ADDRESS ON FILE
CARRASQUILLO DIAZ, WILMA I               ADDRESS ON FILE
CARRASQUILLO DIAZ, YOLANDA               ADDRESS ON FILE
CARRASQUILLO DIEPPA, LUZ ENID            ADDRESS ON FILE
CARRASQUILLO DILAN, JOSE                 ADDRESS ON FILE
CARRASQUILLO DISCOUNT INC.               4 CARR ANGEL MORALES APARTADO 826                                                                     GURABO       PR      00778
CARRASQUILLO DOMINGUEZ, IRIS D           ADDRESS ON FILE
CARRASQUILLO DUCHESNE, VICTOR M          ADDRESS ON FILE
CARRASQUILLO ESCALERA, DIABANY           ADDRESS ON FILE
CARRASQUILLO ESCOBAR, ALEXIS             ADDRESS ON FILE
CARRASQUILLO ESCOBAR, LESLIE             ADDRESS ON FILE
CARRASQUILLO ESPADA, ISMAEL              ADDRESS ON FILE
CARRASQUILLO ESPADA, ISMARO              ADDRESS ON FILE
CARRASQUILLO ESPIET, FLORA L.            ADDRESS ON FILE
CARRASQUILLO ESQUILIN, ADA               ADDRESS ON FILE
CARRASQUILLO ESTRADA, JOSE               ADDRESS ON FILE
CARRASQUILLO ESTRELLA, DEBORA            ADDRESS ON FILE
CARRASQUILLO ESTRELLA, HECTOR            ADDRESS ON FILE
CARRASQUILLO FALCO, RAFAEL               ADDRESS ON FILE
CARRASQUILLO FALCON MD, NELSON           ADDRESS ON FILE
Carrasquillo Falcon, Lila R              ADDRESS ON FILE
CARRASQUILLO FALERO, GEORGINA            ADDRESS ON FILE
CARRASQUILLO FALERO, MARIA               ADDRESS ON FILE
CARRASQUILLO FELICIANO, ARLENE           ADDRESS ON FILE
CARRASQUILLO FELIX, MAYA                 ADDRESS ON FILE
CARRASQUILLO FELIZ, RICHARD              ADDRESS ON FILE
CARRASQUILLO FERNANDEZ BUSINESS ENTERPRI COND PAISAJES DEL ESCORIAL          95 BLVD MEDIA LUNA APT 404                                        CAROLINA     PR      00987‐4884
CARRASQUILLO FERNANDEZ, ALBERT L         ADDRESS ON FILE
CARRASQUILLO FERNANDEZ, BLANCA           ADDRESS ON FILE
CARRASQUILLO FIGUEROA, AXEL              ADDRESS ON FILE
CARRASQUILLO FIGUEROA, CHRISTIAN         ADDRESS ON FILE
CARRASQUILLO FIGUEROA, EMERITA           ADDRESS ON FILE
CARRASQUILLO FIGUEROA, FRANCISCO         ADDRESS ON FILE
CARRASQUILLO FIGUEROA, MELVIN            ADDRESS ON FILE
CARRASQUILLO FLORES, ALEXIS              ADDRESS ON FILE
CARRASQUILLO FLORES, DELIA               ADDRESS ON FILE
CARRASQUILLO FLORES, ELIZABETH           ADDRESS ON FILE
Carrasquillo Flores, Hector O.           ADDRESS ON FILE
Carrasquillo Flores, Jose B              ADDRESS ON FILE
CARRASQUILLO FLORES, LUZ M               ADDRESS ON FILE
CARRASQUILLO FLORES, MIKECOLL            ADDRESS ON FILE
CARRASQUILLO FLORES, TEODORO             ADDRESS ON FILE
CARRASQUILLO FLORES, VANESSA             ADDRESS ON FILE
CARRASQUILLO FONSECA, LEYZA              ADDRESS ON FILE
CARRASQUILLO FONSECA, MARANGELINE        ADDRESS ON FILE
Carrasquillo Fontan, Pedro               ADDRESS ON FILE
CARRASQUILLO FONTANE, IRIS               ADDRESS ON FILE
CARRASQUILLO FONTANEZ, JOSE              ADDRESS ON FILE
CARRASQUILLO FONTANEZ, JOSE              ADDRESS ON FILE
CARRASQUILLO FONTANEZ, JUAN              ADDRESS ON FILE




                                                                                                          Page 1311 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1312 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO FONTANEZ, MARIA R        ADDRESS ON FILE
CARRASQUILLO FONTANEZ, MARISEL        ADDRESS ON FILE
CARRASQUILLO FORTY, HECTOR            ADDRESS ON FILE
CARRASQUILLO FORTY, SAMARY            ADDRESS ON FILE
CARRASQUILLO FORTYS, WILMER S         ADDRESS ON FILE
CARRASQUILLO FRAGUADA, JANET          ADDRESS ON FILE
CARRASQUILLO FRAGUADA, JANET          ADDRESS ON FILE
CARRASQUILLO FUENTES, ANABEL          ADDRESS ON FILE
CARRASQUILLO FUENTES, ARNALDO         ADDRESS ON FILE
CARRASQUILLO FUENTES, LOIDA           ADDRESS ON FILE
CARRASQUILLO FUENTES, OMAR            ADDRESS ON FILE
CARRASQUILLO FUENTES, OMAR            ADDRESS ON FILE
CARRASQUILLO GALLAGA, JORGE           ADDRESS ON FILE
CARRASQUILLO GARCIA MD, EDWIN         ADDRESS ON FILE
CARRASQUILLO GARCIA, EDWIN            ADDRESS ON FILE
CARRASQUILLO GARCIA, EDWIN            ADDRESS ON FILE
CARRASQUILLO GARCIA, EMERSON          ADDRESS ON FILE
CARRASQUILLO GARCIA, JOSE             ADDRESS ON FILE
CARRASQUILLO GARCIA, JOSE             ADDRESS ON FILE
CARRASQUILLO GARCIA, KRIZIA L         ADDRESS ON FILE
CARRASQUILLO GARCIA, MIGUEL A.        ADDRESS ON FILE
CARRASQUILLO GARCIA, NIVIA A          ADDRESS ON FILE
CARRASQUILLO GARCIA, OLGA I           ADDRESS ON FILE
CARRASQUILLO GARCIA, ROSA M           ADDRESS ON FILE
CARRASQUILLO GARCIA, ROSA M           ADDRESS ON FILE
CARRASQUILLO GARCIA, VANEZA           ADDRESS ON FILE
Carrasquillo Garcia, Yolanda          ADDRESS ON FILE
CARRASQUILLO GOMEZ, ANTONIO           ADDRESS ON FILE
CARRASQUILLO GOMEZ, BRENDA            ADDRESS ON FILE
CARRASQUILLO GOMEZ, BRENDA I          ADDRESS ON FILE
CARRASQUILLO GOMEZ, BRENDA I          ADDRESS ON FILE
CARRASQUILLO GOMEZ, CARMEN S          ADDRESS ON FILE
CARRASQUILLO GOMEZ, LOURDES           ADDRESS ON FILE
CARRASQUILLO GOMEZ, MARIA             ADDRESS ON FILE
CARRASQUILLO GOMEZ, ORLANDO           ADDRESS ON FILE
CARRASQUILLO GOMEZ, ORLANDO           ADDRESS ON FILE
CARRASQUILLO GOMEZ, ROBERTO           ADDRESS ON FILE
CARRASQUILLO GOMEZ, SONIA N           ADDRESS ON FILE
CARRASQUILLO GONZALEZ, ANDY           ADDRESS ON FILE
CARRASQUILLO GONZALEZ, CARLOS         ADDRESS ON FILE
CARRASQUILLO GONZALEZ, CLARA L        ADDRESS ON FILE
Carrasquillo Gonzalez, Domingo        ADDRESS ON FILE
CARRASQUILLO GONZALEZ, EDITH          ADDRESS ON FILE
CARRASQUILLO GONZALEZ, EZEQUIEL       ADDRESS ON FILE
CARRASQUILLO GONZALEZ, HECTOR         ADDRESS ON FILE
CARRASQUILLO GONZALEZ, JENIFFER       ADDRESS ON FILE
CARRASQUILLO GONZALEZ, JUAN           ADDRESS ON FILE
CARRASQUILLO GONZALEZ, LUIS A         ADDRESS ON FILE
CARRASQUILLO GONZALEZ, MARIA V        ADDRESS ON FILE
CARRASQUILLO GONZALEZ, MYRNA          ADDRESS ON FILE
CARRASQUILLO GONZALEZ, NORMA I        ADDRESS ON FILE
CARRASQUILLO GONZALEZ, OSWARD         ADDRESS ON FILE
CARRASQUILLO GONZALEZ, RAYMOND        ADDRESS ON FILE
CARRASQUILLO GONZALEZ, SARITA         ADDRESS ON FILE
CARRASQUILLO GUADALUPE, JOSE L        ADDRESS ON FILE
CARRASQUILLO GUIVAS, FREDDIE          ADDRESS ON FILE
CARRASQUILLO GUIVAS, FREDDIE          ADDRESS ON FILE
CARRASQUILLO GUIVAS, RICHARD ANIBAL   ADDRESS ON FILE
CARRASQUILLO GUZMAN, EDU              ADDRESS ON FILE
Carrasquillo Guzman, Eduardo          ADDRESS ON FILE




                                                                                  Page 1312 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1313 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO GUZMAN, JOHN           ADDRESS ON FILE
CARRASQUILLO GUZMAN, MARIA DEL C    ADDRESS ON FILE
CARRASQUILLO GUZMAN, MARIA I        ADDRESS ON FILE
CARRASQUILLO HANCE, INGRID M        ADDRESS ON FILE
CARRASQUILLO HERNAIZ, JAVIER        ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, BELEN       ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, CARLOS      ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, DENNIS      ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, HIPOLITA    ADDRESS ON FILE
Carrasquillo Hernandez, Idelfon     ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, JENISSE     ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, JOSE        ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, JOSE        ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, KATHERINE   ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, LUIS        ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, LUZ M       ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, SANDRA      ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, WANDA I     ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, WILFREDO    ADDRESS ON FILE
CARRASQUILLO HERNANDEZ, YARIS M     ADDRESS ON FILE
CARRASQUILLO HERRERA, JOSE R.       ADDRESS ON FILE
CARRASQUILLO HUERTAS, ANGEL         ADDRESS ON FILE
CARRASQUILLO IGLESIAS, CARLOS       ADDRESS ON FILE
CARRASQUILLO ILARRAZA, JOHN         ADDRESS ON FILE
CARRASQUILLO IRIZARRY, ANGEL        ADDRESS ON FILE
CARRASQUILLO IRIZARRY, IDALIA       ADDRESS ON FILE
CARRASQUILLO JIMENEZ, CARMEN G      ADDRESS ON FILE
CARRASQUILLO JIMENEZ, JORGE         ADDRESS ON FILE
CARRASQUILLO LABOY, MARIA           ADDRESS ON FILE
CARRASQUILLO LABOY, ROSA E          ADDRESS ON FILE
CARRASQUILLO LANZO, JOSE A          ADDRESS ON FILE
CARRASQUILLO LANZO, JUAN            ADDRESS ON FILE
CARRASQUILLO LANZO, LUIS A          ADDRESS ON FILE
Carrasquillo Lanzo, Ricardo         ADDRESS ON FILE
CARRASQUILLO LAZU, SANTIAGO         ADDRESS ON FILE
CARRASQUILLO LEBRON, ANGEL R.       ADDRESS ON FILE
CARRASQUILLO LEBRON, ISMARI         ADDRESS ON FILE
CARRASQUILLO LIZARDI, ANA           ADDRESS ON FILE
CARRASQUILLO LIZARDI, IRKA          ADDRESS ON FILE
CARRASQUILLO LLERA, ISAAC           ADDRESS ON FILE
CARRASQUILLO LOPEZ MD, GUILLERMO    ADDRESS ON FILE
CARRASQUILLO LOPEZ, ALEX D          ADDRESS ON FILE
CARRASQUILLO LOPEZ, ANA D           ADDRESS ON FILE
CARRASQUILLO LOPEZ, ANGEL G.        ADDRESS ON FILE
CARRASQUILLO LOPEZ, ANGEL L         ADDRESS ON FILE
CARRASQUILLO LOPEZ, ANGEL M         ADDRESS ON FILE
CARRASQUILLO LOPEZ, CARMELO         ADDRESS ON FILE
CARRASQUILLO LOPEZ, DARYNESH        ADDRESS ON FILE
CARRASQUILLO LOPEZ, DARYNESH        ADDRESS ON FILE
Carrasquillo Lopez, Efrain          ADDRESS ON FILE
CARRASQUILLO LOPEZ, EFRAIN          ADDRESS ON FILE
CARRASQUILLO LOPEZ, ELIJINET        ADDRESS ON FILE
CARRASQUILLO LOPEZ, GLADYS          ADDRESS ON FILE
CARRASQUILLO LOPEZ, GLORIA          ADDRESS ON FILE
CARRASQUILLO LOPEZ, GRISSEL         ADDRESS ON FILE
Carrasquillo Lopez, Harry           ADDRESS ON FILE
Carrasquillo Lopez, Herminio        ADDRESS ON FILE
CARRASQUILLO LOPEZ, HERMINIO        ADDRESS ON FILE
CARRASQUILLO LOPEZ, JOSE E          ADDRESS ON FILE
CARRASQUILLO LOPEZ, JUAN            ADDRESS ON FILE




                                                                                Page 1313 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1314 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Carrasquillo Lopez, Margarita            ADDRESS ON FILE
CARRASQUILLO LOPEZ, MARICARMEN           ADDRESS ON FILE
Carrasquillo Lopez, Mayra E              ADDRESS ON FILE
CARRASQUILLO LOPEZ, MILDRED              ADDRESS ON FILE
Carrasquillo Lopez, Noemi                ADDRESS ON FILE
CARRASQUILLO LOPEZ, RAMON                ADDRESS ON FILE
CARRASQUILLO LOPEZ, WILDALIS             ADDRESS ON FILE
CARRASQUILLO LOPEZ, WILLIAM              ADDRESS ON FILE
CARRASQUILLO LOZADA, MARGARITA           ADDRESS ON FILE
Carrasquillo Lugo, Luis                  ADDRESS ON FILE
Carrasquillo Lugo, Marcelino             ADDRESS ON FILE
CARRASQUILLO LUNA, CARLA                 ADDRESS ON FILE
CARRASQUILLO LUZUNARIS, ANGELA           ADDRESS ON FILE
CARRASQUILLO MAISONET, REGINALD M        ADDRESS ON FILE
CARRASQUILLO MALDONADO, DAMARIS A        ADDRESS ON FILE
CARRASQUILLO MALDONADO, DIALIS           ADDRESS ON FILE
CARRASQUILLO MALDONADO, FELIPE           ADDRESS ON FILE
CARRASQUILLO MALDONADO, LUIS A           ADDRESS ON FILE
CARRASQUILLO MALDONADO, RAUL             ADDRESS ON FILE
CARRASQUILLO MALDONADO, RISELIA          ADDRESS ON FILE
CARRASQUILLO MALDONADO, SANDRA           ADDRESS ON FILE
CARRASQUILLO MANGUAL, ANGELICA           ADDRESS ON FILE
CARRASQUILLO MARCANO, MILDRED            ADDRESS ON FILE
CARRASQUILLO MARCANO, REBECA             ADDRESS ON FILE
CARRASQUILLO MARIA DE LOS A787, ZABALA   ADDRESS ON FILE
CARRASQUILLO MARQUEZ, DAVID              ADDRESS ON FILE
CARRASQUILLO MARRERO, BLANCA             ADDRESS ON FILE
CARRASQUILLO MARRERO, CARLOS             ADDRESS ON FILE
CARRASQUILLO MARRERO, JUAN               ADDRESS ON FILE
CARRASQUILLO MARRERO, KATINA             ADDRESS ON FILE
CARRASQUILLO MARTIN, LUIS                ADDRESS ON FILE
Carrasquillo Martin, Raul H              ADDRESS ON FILE
CARRASQUILLO MARTINEZ, AIDA I            ADDRESS ON FILE
CARRASQUILLO MARTINEZ, ALEXANDER         ADDRESS ON FILE
CARRASQUILLO MARTINEZ, CARMEN T          ADDRESS ON FILE
CARRASQUILLO MARTINEZ, EDGARDO           ADDRESS ON FILE
CARRASQUILLO MARTINEZ, KEILA Y.          ADDRESS ON FILE
CARRASQUILLO MARTINEZ, LUZ N             ADDRESS ON FILE
CARRASQUILLO MARTINEZ, NANCY             ADDRESS ON FILE
CARRASQUILLO MARTINEZ, NANCY             ADDRESS ON FILE
CARRASQUILLO MARTINEZ, SONIA I           ADDRESS ON FILE
CARRASQUILLO MATEO, GEORGINA             ADDRESS ON FILE
CARRASQUILLO MATOS, CRUZ                 ADDRESS ON FILE
CARRASQUILLO MATOS, ENOELIA              ADDRESS ON FILE
CARRASQUILLO MATOS, GEOVANNY             ADDRESS ON FILE
CARRASQUILLO MATOS, HERMINIO             ADDRESS ON FILE
CARRASQUILLO MATOS, JULIA                ADDRESS ON FILE
CARRASQUILLO MATOS, PEDRO                ADDRESS ON FILE
CARRASQUILLO MATOS, ROSA M               ADDRESS ON FILE
CARRASQUILLO MATTA, JULIA                ADDRESS ON FILE
CARRASQUILLO MEDERO, EMANUEL             ADDRESS ON FILE
CARRASQUILLO MEDINA, ALEX                ADDRESS ON FILE
CARRASQUILLO MEDINA, ANGEL               ADDRESS ON FILE
CARRASQUILLO MEDINA, ELSALYN             ADDRESS ON FILE
Carrasquillo Medina, Elvira              ADDRESS ON FILE
CARRASQUILLO MEDINA, EVELYN              ADDRESS ON FILE
CARRASQUILLO MEDINA, GEORGINO            ADDRESS ON FILE
Carrasquillo Medina, Hector D.           ADDRESS ON FILE
CARRASQUILLO MEDINA, KEISHLA             ADDRESS ON FILE
CARRASQUILLO MEDINA, KERILYS             ADDRESS ON FILE




                                                                                     Page 1314 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1315 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO MEDINA, LUIS O            ADDRESS ON FILE
CARRASQUILLO MEDINA, MILYTZA           ADDRESS ON FILE
CARRASQUILLO MEDINA, NAYDA             ADDRESS ON FILE
CARRASQUILLO MEDRANO, DAVID            ADDRESS ON FILE
CARRASQUILLO MEDRANO, DAVID            ADDRESS ON FILE
CARRASQUILLO MEJIAS, NETNIA            ADDRESS ON FILE
CARRASQUILLO MELENDEZ, ARACELIS        ADDRESS ON FILE
CARRASQUILLO MELENDEZ, CARMELO         ADDRESS ON FILE
CARRASQUILLO MELENDEZ, ELIZANDER       ADDRESS ON FILE
CARRASQUILLO MELENDEZ, IVONNE          ADDRESS ON FILE
CARRASQUILLO MELENDEZ, LISSETTE        ADDRESS ON FILE
CARRASQUILLO MELENDEZ, MARIA S         ADDRESS ON FILE
CARRASQUILLO MENDEZ, CARME             ADDRESS ON FILE
CARRASQUILLO MENDEZ, CARMEN            ADDRESS ON FILE
CARRASQUILLO MENDEZ, JORGE             ADDRESS ON FILE
Carrasquillo Mendez, Juan J            ADDRESS ON FILE
CARRASQUILLO MENDEZ, MARIA             ADDRESS ON FILE
CARRASQUILLO MERCADO, ADRIAN MIGUEL    ADDRESS ON FILE
CARRASQUILLO MERCADO, DOMINGA          ADDRESS ON FILE
CARRASQUILLO MERCADO, MARGARITA        ADDRESS ON FILE
CARRASQUILLO MERCED, JOSE A            ADDRESS ON FILE
CARRASQUILLO MILIAN, CESAR             ADDRESS ON FILE
CARRASQUILLO MILLAN, REINALDO          ADDRESS ON FILE
CARRASQUILLO MILLAN, YOLANDA           ADDRESS ON FILE
CARRASQUILLO MIRANDA, JOSE             ADDRESS ON FILE
CARRASQUILLO MIRANDA, JUAN             ADDRESS ON FILE
CARRASQUILLO MOJICA, ERICA I           ADDRESS ON FILE
CARRASQUILLO MOJICA, FRANCISCA         ADDRESS ON FILE
Carrasquillo Mojica, Maria             ADDRESS ON FILE
CARRASQUILLO MOJICA, NAZARIO           ADDRESS ON FILE
CARRASQUILLO MOJICA, NELSON            ADDRESS ON FILE
CARRASQUILLO MOLINA, JENNIFER          ADDRESS ON FILE
CARRASQUILLO MONSERRATE, GARY          ADDRESS ON FILE
CARRASQUILLO MONSERRATE, JERRY         ADDRESS ON FILE
CARRASQUILLO MONTANEZ, CAROLINE        ADDRESS ON FILE
CARRASQUILLO MONTANEZ, ELBA            ADDRESS ON FILE
CARRASQUILLO MONTAÑEZ, ELBA L          ADDRESS ON FILE
CARRASQUILLO MONTANEZ, ELIZABETH       ADDRESS ON FILE
CARRASQUILLO MONTERO, CRUZ             ADDRESS ON FILE
CARRASQUILLO MONTERO, ERICK            ADDRESS ON FILE
CARRASQUILLO MONTERO, HENRY            ADDRESS ON FILE
CARRASQUILLO MONTES, IRAIDA            ADDRESS ON FILE
CARRASQUILLO MORA, JOSE                ADDRESS ON FILE
CARRASQUILLO MORALES, ANA M            ADDRESS ON FILE
CARRASQUILLO MORALES, BETZAIDA         ADDRESS ON FILE
Carrasquillo Morales, Carmen B         ADDRESS ON FILE
CARRASQUILLO MORALES, DAVID D.         ADDRESS ON FILE
CARRASQUILLO MORALES, ELIMARIS         ADDRESS ON FILE
CARRASQUILLO MORALES, EMMANUEL         ADDRESS ON FILE
CARRASQUILLO MORALES, EVELIS           ADDRESS ON FILE
CARRASQUILLO MORALES, JESUS E          ADDRESS ON FILE
CARRASQUILLO MORALES, LUIS A           ADDRESS ON FILE
Carrasquillo Morales, Luis A           ADDRESS ON FILE
CARRASQUILLO MORALES, LUIS A           ADDRESS ON FILE
CARRASQUILLO MORALES, MICHAEL          ADDRESS ON FILE
CARRASQUILLO MORALES, MIGDALIA         ADDRESS ON FILE
CARRASQUILLO MORALES, MILDRED          ADDRESS ON FILE
CARRASQUILLO MORALES, MIRTA LISSETTE   ADDRESS ON FILE
CARRASQUILLO MORALES, NELLIE           ADDRESS ON FILE
CARRASQUILLO MORALES, WANDA I          ADDRESS ON FILE




                                                                                   Page 1315 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1316 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO MOREIRA, ARNALDO      ADDRESS ON FILE
CARRASQUILLO MULLER, MIGDALIA      ADDRESS ON FILE
CARRASQUILLO MUNIZ, DAMARIS        ADDRESS ON FILE
CARRASQUILLO MUNIZ, MOISES         ADDRESS ON FILE
CARRASQUILLO MUNOZ, BEATRIZ        ADDRESS ON FILE
CARRASQUILLO MUNOZ, CARLOS E.      ADDRESS ON FILE
CARRASQUILLO MUNOZ, FELIPE         ADDRESS ON FILE
CARRASQUILLO MUNOZ, LUIS           ADDRESS ON FILE
CARRASQUILLO MUNOZ, MARIA          ADDRESS ON FILE
CARRASQUILLO MUNOZ, PEDRO          ADDRESS ON FILE
CARRASQUILLO MUNOZ, SONIA N        ADDRESS ON FILE
CARRASQUILLO NAVARRO, LUIS         ADDRESS ON FILE
CARRASQUILLO NAVARRO, LUIS         ADDRESS ON FILE
CARRASQUILLO NAVARRO, LUIS A       ADDRESS ON FILE
CARRASQUILLO NAVARRO, NILZA M      ADDRESS ON FILE
CARRASQUILLO NEGRON, JESSICA       ADDRESS ON FILE
CARRASQUILLO NEGRON, MILITZA       ADDRESS ON FILE
CARRASQUILLO NEGRON, OMAR          ADDRESS ON FILE
CARRASQUILLO NEGRON, RAFAEL W      ADDRESS ON FILE
CARRASQUILLO NEIRA, DANNY          ADDRESS ON FILE
CARRASQUILLO NIETZSCHE, LUIS F.    ADDRESS ON FILE
CARRASQUILLO NIEVES, FRANCIS       ADDRESS ON FILE
CARRASQUILLO NIEVES, FRANCIS       ADDRESS ON FILE
CARRASQUILLO NIEVES, JESUS         ADDRESS ON FILE
CARRASQUILLO NIEVES, JOSE          ADDRESS ON FILE
CARRASQUILLO NIEVES, LUZ D         ADDRESS ON FILE
CARRASQUILLO NIEVES, MIGUEL        ADDRESS ON FILE
CARRASQUILLO NIEVES, SONIA M.      ADDRESS ON FILE
CARRASQUILLO NIEVES, WENDELL       ADDRESS ON FILE
CARRASQUILLO NIEVES, WIDALYS       ADDRESS ON FILE
CARRASQUILLO NIEVES, YUDELKA       ADDRESS ON FILE
CARRASQUILLO NOGUERAS, MARALI      ADDRESS ON FILE
CARRASQUILLO NOLASCO, ELIADIS      ADDRESS ON FILE
CARRASQUILLO NOLASCO, MARTA        ADDRESS ON FILE
CARRASQUILLO OCASIO, EFRAIN        ADDRESS ON FILE
CARRASQUILLO OCASIO, MARIA DEL C   ADDRESS ON FILE
CARRASQUILLO OLIQUE, AMARILIS Z    ADDRESS ON FILE
CARRASQUILLO OLIQUE, SHEILA        ADDRESS ON FILE
CARRASQUILLO OLIVERAS, ELBA        ADDRESS ON FILE
CARRASQUILLO OLMEDO, CEFERINO      ADDRESS ON FILE
CARRASQUILLO OLMEDO, JACOBO        ADDRESS ON FILE
CARRASQUILLO OLMO, ISAAC           ADDRESS ON FILE
CARRASQUILLO ORTA, ANGEL           ADDRESS ON FILE
Carrasquillo Orta, Angel G         ADDRESS ON FILE
CARRASQUILLO ORTIZ, ALBERTO        ADDRESS ON FILE
CARRASQUILLO ORTIZ, CARLOS         ADDRESS ON FILE
CARRASQUILLO ORTIZ, CARMEN I       ADDRESS ON FILE
CARRASQUILLO ORTIZ, FRANCISCO      ADDRESS ON FILE
CARRASQUILLO ORTIZ, HARRY          ADDRESS ON FILE
CARRASQUILLO ORTIZ, HARRY          ADDRESS ON FILE
CARRASQUILLO ORTIZ, HARRY          ADDRESS ON FILE
CARRASQUILLO ORTIZ, HARRY          ADDRESS ON FILE
CARRASQUILLO ORTIZ, IVELISSE       ADDRESS ON FILE
CARRASQUILLO ORTIZ, JORGE          ADDRESS ON FILE
CARRASQUILLO ORTIZ, JUAN           ADDRESS ON FILE
CARRASQUILLO ORTIZ, KEYLA M        ADDRESS ON FILE
CARRASQUILLO ORTIZ, LUZ M.         ADDRESS ON FILE
CARRASQUILLO ORTIZ, LYDIA          ADDRESS ON FILE
CARRASQUILLO ORTIZ, MARIA          ADDRESS ON FILE
CARRASQUILLO ORTIZ, MARIA          ADDRESS ON FILE




                                                                               Page 1316 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1317 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO ORTIZ, MARIA A       ADDRESS ON FILE
CARRASQUILLO ORTIZ, MARIA I       ADDRESS ON FILE
CARRASQUILLO ORTIZ, MARJOURIE     ADDRESS ON FILE
CARRASQUILLO ORTIZ, MERCEDES      ADDRESS ON FILE
CARRASQUILLO ORTIZ, MILTON        ADDRESS ON FILE
CARRASQUILLO ORTIZ, MIRELIS       ADDRESS ON FILE
CARRASQUILLO ORTIZ, RAFAEL        ADDRESS ON FILE
CARRASQUILLO ORTIZ, ROSALINA      ADDRESS ON FILE
CARRASQUILLO ORTIZ, ROSALIND      ADDRESS ON FILE
Carrasquillo Ortiz, Rosalind      ADDRESS ON FILE
CARRASQUILLO ORTIZ, SHEILA M      ADDRESS ON FILE
CARRASQUILLO ORTIZ, SHEILA M      ADDRESS ON FILE
CARRASQUILLO ORTIZ, SOTERO        ADDRESS ON FILE
CARRASQUILLO ORTIZ, TERESITA      ADDRESS ON FILE
CARRASQUILLO ORTIZ, YAZMIN        ADDRESS ON FILE
CARRASQUILLO OSORIO, JAVIER       ADDRESS ON FILE
CARRASQUILLO OSORIO, LUZ          ADDRESS ON FILE
CARRASQUILLO OSORIO, RAFAEL       ADDRESS ON FILE
CARRASQUILLO OSORIO, SANDRA       ADDRESS ON FILE
CARRASQUILLO OSORIO, SANDRA I     ADDRESS ON FILE
CARRASQUILLO OTERO, MIRIAM        ADDRESS ON FILE
CARRASQUILLO OTERO, NALIRKA       ADDRESS ON FILE
CARRASQUILLO PACHECO, LOYDA       ADDRESS ON FILE
CARRASQUILLO PACHECO, WILGBERTO   ADDRESS ON FILE
CARRASQUILLO PADILLA, CECILIO     ADDRESS ON FILE
CARRASQUILLO PADILLA, DAVID       ADDRESS ON FILE
CARRASQUILLO PADRO, GLORIA        ADDRESS ON FILE
CARRASQUILLO PAGAN, ANA M         ADDRESS ON FILE
CARRASQUILLO PAGAN, JESSICA       ADDRESS ON FILE
CARRASQUILLO PAGAN, LISBETH       ADDRESS ON FILE
CARRASQUILLO PAGAN, MIGUEL        ADDRESS ON FILE
CARRASQUILLO PASTRANA, ELIEZER    ADDRESS ON FILE
CARRASQUILLO PASTRANA, IVAN       ADDRESS ON FILE
CARRASQUILLO PASTRANA, JUAN       ADDRESS ON FILE
CARRASQUILLO PASTRANA, JUAN R     ADDRESS ON FILE
Carrasquillo Pedraza, Candido     ADDRESS ON FILE
CARRASQUILLO PEDRAZA, NELIDA      ADDRESS ON FILE
CARRASQUILLO PEDRAZA, VICTOR J    ADDRESS ON FILE
CARRASQUILLO PEDRAZA, YADIEL      ADDRESS ON FILE
Carrasquillo Pena, Orangel        ADDRESS ON FILE
CARRASQUILLO PEREZ, ALBERTO       ADDRESS ON FILE
CARRASQUILLO PEREZ, ANA           ADDRESS ON FILE
CARRASQUILLO PEREZ, ANACLETO      ADDRESS ON FILE
CARRASQUILLO PEREZ, ANGEL         ADDRESS ON FILE
CARRASQUILLO PEREZ, CARMEN        ADDRESS ON FILE
CARRASQUILLO PEREZ, CARMEN L      ADDRESS ON FILE
CARRASQUILLO PEREZ, CHARLIE       ADDRESS ON FILE
CARRASQUILLO PEREZ, CHIARA        ADDRESS ON FILE
CARRASQUILLO PEREZ, CRISTAL       ADDRESS ON FILE
CARRASQUILLO PEREZ, ELVIN         ADDRESS ON FILE
CARRASQUILLO PEREZ, ELVIN         ADDRESS ON FILE
Carrasquillo Perez, Felipe O      ADDRESS ON FILE
CARRASQUILLO PEREZ, IVAN          ADDRESS ON FILE
CARRASQUILLO PEREZ, JEAN          ADDRESS ON FILE
CARRASQUILLO PEREZ, JESUS         ADDRESS ON FILE
CARRASQUILLO PEREZ, JUAN          ADDRESS ON FILE
CARRASQUILLO PEREZ, LAIZA M       ADDRESS ON FILE
CARRASQUILLO PEREZ, LIZ Y         ADDRESS ON FILE
CARRASQUILLO PEREZ, LUIS          ADDRESS ON FILE
CARRASQUILLO PEREZ, MANUEL        ADDRESS ON FILE




                                                                              Page 1317 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1318 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO PEREZ, MARTIN L       ADDRESS ON FILE
CARRASQUILLO PEREZ, MIRELYS        ADDRESS ON FILE
CARRASQUILLO PEREZ, NELLY          ADDRESS ON FILE
CARRASQUILLO PEREZ, ROSA A         ADDRESS ON FILE
CARRASQUILLO PEREZ, ROSA N         ADDRESS ON FILE
Carrasquillo Perez, Rosana         ADDRESS ON FILE
CARRASQUILLO PEREZ, ROSANA         ADDRESS ON FILE
CARRASQUILLO PEREZ, TANJA L        ADDRESS ON FILE
Carrasquillo Perez, Victor         ADDRESS ON FILE
CARRASQUILLO PEREZ, VICTOR         ADDRESS ON FILE
CARRASQUILLO PEREZ, WALESKA        ADDRESS ON FILE
CARRASQUILLO PINERO, CHRISTOPER    ADDRESS ON FILE
CARRASQUILLO PINERO, GILBERT       ADDRESS ON FILE
CARRASQUILLO PIZAROO, FELIX        ADDRESS ON FILE
Carrasquillo Pizarro, Alfredo      ADDRESS ON FILE
CARRASQUILLO PIZARRO, CARLOS       ADDRESS ON FILE
CARRASQUILLO PIZARRO, ERNESTO      ADDRESS ON FILE
CARRASQUILLO PIZARRO, MIGUEL A.    ADDRESS ON FILE
CARRASQUILLO PIZARRO, NATANAEL     ADDRESS ON FILE
CARRASQUILLO PIZARRO, NEFTALI      ADDRESS ON FILE
CARRASQUILLO PIZARRO, RAMON        ADDRESS ON FILE
CARRASQUILLO PLAZA, JAVIER         ADDRESS ON FILE
CARRASQUILLO QUILES, YADIRA        ADDRESS ON FILE
CARRASQUILLO QUINON, LUIS          ADDRESS ON FILE
CARRASQUILLO QUINONES, ANTONIA     ADDRESS ON FILE
CARRASQUILLO QUINONES, EDITH L.    ADDRESS ON FILE
CARRASQUILLO QUINONES, ERIC        ADDRESS ON FILE
CARRASQUILLO QUINONES, LUIS F      ADDRESS ON FILE
CARRASQUILLO QUINONES, MAYRA L     ADDRESS ON FILE
CARRASQUILLO QUINONES, NEFTALI     ADDRESS ON FILE
CARRASQUILLO QUINONES, OLGA        ADDRESS ON FILE
CARRASQUILLO QUINONES, SUEHAILL    ADDRESS ON FILE
CARRASQUILLO QUINONEZ, MAYRA       ADDRESS ON FILE
CARRASQUILLO QUINTANA, BERNALICE   ADDRESS ON FILE
CARRASQUILLO RAMIREZ, CYNTHIA J    ADDRESS ON FILE
CARRASQUILLO RAMIREZ, MAGALI       ADDRESS ON FILE
CARRASQUILLO RAMOS, BERNARDITA     ADDRESS ON FILE
CARRASQUILLO RAMOS, GRETCHEN       ADDRESS ON FILE
CARRASQUILLO RAMOS, JENIFFER       ADDRESS ON FILE
CARRASQUILLO RAMOS, JOSE           ADDRESS ON FILE
CARRASQUILLO RAMOS, LUIS           ADDRESS ON FILE
CARRASQUILLO RAMOS, MADALIS        ADDRESS ON FILE
CARRASQUILLO RAMOS, MARITZA        ADDRESS ON FILE
CARRASQUILLO RAMOS, SARA L         ADDRESS ON FILE
CARRASQUILLO REXACH, LUIS R        ADDRESS ON FILE
Carrasquillo Reyes, Angel D        ADDRESS ON FILE
CARRASQUILLO REYES, ARNALDI        ADDRESS ON FILE
CARRASQUILLO REYES, CARMEN I       ADDRESS ON FILE
CARRASQUILLO REYES, CARMEN L       ADDRESS ON FILE
CARRASQUILLO REYES, CRUZ M         ADDRESS ON FILE
CARRASQUILLO REYES, EDWIN          ADDRESS ON FILE
CARRASQUILLO REYES, EFRAIN         ADDRESS ON FILE
CARRASQUILLO REYES, JOSE R         ADDRESS ON FILE
CARRASQUILLO REYES, LIZNELIA       ADDRESS ON FILE
CARRASQUILLO REYES, LOYDA E        ADDRESS ON FILE
CARRASQUILLO REYES, MARIO          ADDRESS ON FILE
CARRASQUILLO REYES, MARISEL        ADDRESS ON FILE
CARRASQUILLO REYES, MARTA          ADDRESS ON FILE
CARRASQUILLO REYES, PEDRO J        ADDRESS ON FILE
CARRASQUILLO REYES, ROBERTO        ADDRESS ON FILE




                                                                               Page 1318 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1319 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO REYES, ROSA A         ADDRESS ON FILE
CARRASQUILLO REYES, VICTOR         ADDRESS ON FILE
CARRASQUILLO RIBOT, KEISHLA M      ADDRESS ON FILE
CARRASQUILLO RIOS MD, CARLOS R     ADDRESS ON FILE
CARRASQUILLO RIOS, DENIIS          ADDRESS ON FILE
CARRASQUILLO RIOS, EFRAIN          ADDRESS ON FILE
CARRASQUILLO RIOS, JOSE O.         ADDRESS ON FILE
CARRASQUILLO RIOS, ROBERTO         ADDRESS ON FILE
CARRASQUILLO RIOS, TERESA          ADDRESS ON FILE
CARRASQUILLO RIVAS, LUIS           ADDRESS ON FILE
CARRASQUILLO RIVERA, ADAREZER      ADDRESS ON FILE
CARRASQUILLO RIVERA, ANA           ADDRESS ON FILE
CARRASQUILLO RIVERA, ANDY          ADDRESS ON FILE
CARRASQUILLO RIVERA, ANGEL         ADDRESS ON FILE
CARRASQUILLO RIVERA, ASIA          ADDRESS ON FILE
CARRASQUILLO RIVERA, AWILDA        ADDRESS ON FILE
CARRASQUILLO RIVERA, CARMEN V      ADDRESS ON FILE
CARRASQUILLO RIVERA, CHRISTIAN A   ADDRESS ON FILE
CARRASQUILLO RIVERA, DELISEL       ADDRESS ON FILE
CARRASQUILLO RIVERA, DELMA I       ADDRESS ON FILE
CARRASQUILLO RIVERA, DENISE        ADDRESS ON FILE
CARRASQUILLO RIVERA, EDELMIRO      ADDRESS ON FILE
Carrasquillo Rivera, Edna I        ADDRESS ON FILE
Carrasquillo Rivera, Emily         ADDRESS ON FILE
CARRASQUILLO RIVERA, FRANCISCO M   ADDRESS ON FILE
CARRASQUILLO RIVERA, FRANKY        ADDRESS ON FILE
CARRASQUILLO RIVERA, GINARIS       ADDRESS ON FILE
CARRASQUILLO RIVERA, HECTOR        ADDRESS ON FILE
CARRASQUILLO RIVERA, JADHIEL       ADDRESS ON FILE
CARRASQUILLO RIVERA, JEHIELI       ADDRESS ON FILE
CARRASQUILLO RIVERA, JEHIELI       ADDRESS ON FILE
CARRASQUILLO RIVERA, JEHIELI       ADDRESS ON FILE
CARRASQUILLO RIVERA, JOCELYN N     ADDRESS ON FILE
Carrasquillo Rivera, Jonathan M    ADDRESS ON FILE
CARRASQUILLO RIVERA, JORGE         ADDRESS ON FILE
CARRASQUILLO RIVERA, JORGE         ADDRESS ON FILE
CARRASQUILLO RIVERA, JOSE          ADDRESS ON FILE
CARRASQUILLO RIVERA, JOSE          ADDRESS ON FILE
CARRASQUILLO RIVERA, JOSE          ADDRESS ON FILE
CARRASQUILLO RIVERA, JOSELYN       ADDRESS ON FILE
CARRASQUILLO RIVERA, JULIO A       ADDRESS ON FILE
CARRASQUILLO RIVERA, LIZETTE       ADDRESS ON FILE
CARRASQUILLO RIVERA, LUIS          ADDRESS ON FILE
CARRASQUILLO RIVERA, LYMARIE       ADDRESS ON FILE
CARRASQUILLO RIVERA, LYMARIE       ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIA         ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIA         ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIA DEL C   ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIA E       ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIA S       ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIA V       ADDRESS ON FILE
CARRASQUILLO RIVERA, MARIBEL       ADDRESS ON FILE
CARRASQUILLO RIVERA, MARISOL       ADDRESS ON FILE
CARRASQUILLO RIVERA, MARTA         ADDRESS ON FILE
CARRASQUILLO RIVERA, MIGUEL A      ADDRESS ON FILE
CARRASQUILLO RIVERA, MIGUEL A.     ADDRESS ON FILE
CARRASQUILLO RIVERA, MYRNA         ADDRESS ON FILE
CARRASQUILLO RIVERA, NANCY         ADDRESS ON FILE
CARRASQUILLO RIVERA, NANCY         ADDRESS ON FILE
CARRASQUILLO RIVERA, NELIDA        ADDRESS ON FILE




                                                                               Page 1319 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1320 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO RIVERA, OMAR               ADDRESS ON FILE
CARRASQUILLO RIVERA, OSVALDO            ADDRESS ON FILE
CARRASQUILLO RIVERA, PATRIA L           ADDRESS ON FILE
CARRASQUILLO RIVERA, REYNALDO           ADDRESS ON FILE
CARRASQUILLO RIVERA, SANDRA I           ADDRESS ON FILE
CARRASQUILLO RIVERA, SHEYLA             ADDRESS ON FILE
CARRASQUILLO RIVERA, SONIA              ADDRESS ON FILE
CARRASQUILLO RIVERA, SUGEILY            ADDRESS ON FILE
CARRASQUILLO RIVERA, TOMAS              ADDRESS ON FILE
CARRASQUILLO RIVERA, VICTORIA           ADDRESS ON FILE
CARRASQUILLO RIVERA, VICTORIA           ADDRESS ON FILE
CARRASQUILLO RIVERA, WILFREDO           ADDRESS ON FILE
CARRASQUILLO RIVERA, XIOMARA            ADDRESS ON FILE
CARRASQUILLO RIVERA, XIOMARA            ADDRESS ON FILE
CARRASQUILLO RIVERA, YANISSE            ADDRESS ON FILE
CARRASQUILLO RIVERA, ZANDRA N.          ADDRESS ON FILE
CARRASQUILLO ROBERT, KAZELIN            ADDRESS ON FILE
CARRASQUILLO ROBLES, CARMEN J.          ADDRESS ON FILE
CARRASQUILLO ROBLES, JOSE R.            ADDRESS ON FILE
CARRASQUILLO ROBLES, VIMARIS            ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ MD, EFRAIN       ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, ADA W.          ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, ADELAIDA        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, AILYN Y         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, ANDRES          ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, ARCADIO         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, CANDY M.        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, CARMEN D        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, CARMEN L        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, CARMEN M        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, CECILIA         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, FERNANDO LUIS   ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, FREDDIE         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, GIASIRIS        ADDRESS ON FILE
Carrasquillo Rodriguez, Giovann         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, HAIDY           ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, IVELISSE        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, JOSE            ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, JOSE            ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, JOSE            ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, JOSE            ADDRESS ON FILE
Carrasquillo Rodriguez, Jose A.         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, LEONOR          ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, LISANDRA        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, LUIS            ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MARCOS          ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MARIA           ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MARIA L.        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MARIA M         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MARIA S         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MARIANA         ADDRESS ON FILE
Carrasquillo Rodriguez, Maricel         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, MAYRA I         ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, NITZALISE       ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, RAMONITA        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, REINALDO        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, RENE            ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, RONALD          ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, SALVADOR        ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, THELMA          ADDRESS ON FILE




                                                                                    Page 1320 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1321 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO RODRIGUEZ, TIARA       ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, VIRGINIA    ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, WILMARYS    ADDRESS ON FILE
CARRASQUILLO RODRIGUEZ, ZAIDA       ADDRESS ON FILE
CARRASQUILLO RODRIQUEZ, ITSAMARIE   ADDRESS ON FILE
CARRASQUILLO RODZ, RUBEN            ADDRESS ON FILE
CARRASQUILLO ROJAS, RAMONA          ADDRESS ON FILE
CARRASQUILLO ROLDAN, ARTURO         ADDRESS ON FILE
CARRASQUILLO ROLON MD, RICARDO      ADDRESS ON FILE
Carrasquillo Roman, Angel M         ADDRESS ON FILE
CARRASQUILLO ROMAN, ARELIS          ADDRESS ON FILE
CARRASQUILLO ROMAN, JOANNE          ADDRESS ON FILE
CARRASQUILLO ROMAN, MIGUEL          ADDRESS ON FILE
CARRASQUILLO ROSA, ELIZABETH        ADDRESS ON FILE
CARRASQUILLO ROSA, GLORIA           ADDRESS ON FILE
CARRASQUILLO ROSA, JOSE             ADDRESS ON FILE
CARRASQUILLO ROSA, MYRNA            ADDRESS ON FILE
CARRASQUILLO ROSA, NORMA            ADDRESS ON FILE
CARRASQUILLO ROSA, YAMIL            ADDRESS ON FILE
CARRASQUILLO ROSADO, JOSE           ADDRESS ON FILE
CARRASQUILLO ROSADO, KATHY          ADDRESS ON FILE
CARRASQUILLO ROSARIO, AIXA          ADDRESS ON FILE
CARRASQUILLO ROSARIO, JUANITA       ADDRESS ON FILE
CARRASQUILLO ROSARIO, LEIZA         ADDRESS ON FILE
CARRASQUILLO ROSARIO, OSVALDO       ADDRESS ON FILE
CARRASQUILLO ROSARIO, ROSANA        ADDRESS ON FILE
CARRASQUILLO ROSARIO, ROSANA        ADDRESS ON FILE
CARRASQUILLO RUIZ, ADA              ADDRESS ON FILE
CARRASQUILLO RUIZ, RAUL             ADDRESS ON FILE
CARRASQUILLO SALGUEIRO, JUAN        ADDRESS ON FILE
CARRASQUILLO SALIB, JAVIER          ADDRESS ON FILE
Carrasquillo Sanchez, Alexander     ADDRESS ON FILE
CARRASQUILLO SANCHEZ, EDWIN         ADDRESS ON FILE
CARRASQUILLO SANCHEZ, EFRAIN        ADDRESS ON FILE
CARRASQUILLO SANCHEZ, ENEIDA        ADDRESS ON FILE
CARRASQUILLO SANCHEZ, FRANCES       ADDRESS ON FILE
CARRASQUILLO SANCHEZ, GUILLERMINA   ADDRESS ON FILE
CARRASQUILLO SANCHEZ, IRAINY        ADDRESS ON FILE
CARRASQUILLO SANCHEZ, JESUS         ADDRESS ON FILE
CARRASQUILLO SANCHEZ, JOEL          ADDRESS ON FILE
CARRASQUILLO SANCHEZ, JOSE          ADDRESS ON FILE
CARRASQUILLO SANCHEZ, LETICIA       ADDRESS ON FILE
CARRASQUILLO SANCHEZ, LUCRECIA      ADDRESS ON FILE
CARRASQUILLO SANCHEZ, LUIS          ADDRESS ON FILE
CARRASQUILLO SANCHEZ, MARGARITA     ADDRESS ON FILE
CARRASQUILLO SANCHEZ, MARIA         ADDRESS ON FILE
CARRASQUILLO SANCHEZ, NYRMA         ADDRESS ON FILE
CARRASQUILLO SANCHEZ, RAMON I       ADDRESS ON FILE
Carrasquillo Sanchez, Rosa          ADDRESS ON FILE
CARRASQUILLO SANES, JOSE            ADDRESS ON FILE
CARRASQUILLO SANTANA, GRICELIA      ADDRESS ON FILE
CARRASQUILLO SANTANA, JOSE          ADDRESS ON FILE
CARRASQUILLO SANTANA, JOSE          ADDRESS ON FILE
CARRASQUILLO SANTANA, JOSE I        ADDRESS ON FILE
CARRASQUILLO SANTANA, MARANGELY     ADDRESS ON FILE
CARRASQUILLO SANTANA, MARITZA L     ADDRESS ON FILE
Carrasquillo Santiago, Ada          ADDRESS ON FILE
CARRASQUILLO SANTIAGO, AXEL         ADDRESS ON FILE
Carrasquillo Santiago, Blanca I     ADDRESS ON FILE
CARRASQUILLO SANTIAGO, CARMEN M     ADDRESS ON FILE




                                                                                Page 1321 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1322 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                         Address1                  Address2                                 Address3          Address4   City         State   PostalCode   Country
CARRASQUILLO SANTIAGO, ESTEBAN        ADDRESS ON FILE
CARRASQUILLO SANTIAGO, FRANCHESCA I   ADDRESS ON FILE
CARRASQUILLO SANTIAGO, HARLOW         ADDRESS ON FILE
CARRASQUILLO SANTIAGO, IVAN           ADDRESS ON FILE
CARRASQUILLO SANTIAGO, JEISMIN        ADDRESS ON FILE
CARRASQUILLO SANTIAGO, LUIS           ADDRESS ON FILE
CARRASQUILLO SANTIAGO, MARIA M        ADDRESS ON FILE
CARRASQUILLO SANTIAGO, MARIA M.       ADDRESS ON FILE
CARRASQUILLO SANTIAGO, MARIBEL        ADDRESS ON FILE
CARRASQUILLO SANTIAGO, MARK           ADDRESS ON FILE
CARRASQUILLO SANTIAGO, MILAGRO        ADDRESS ON FILE
Carrasquillo Santiago, Milagros       ADDRESS ON FILE
CARRASQUILLO SANTIAGO, NAYDALIE       ADDRESS ON FILE
CARRASQUILLO SANTIAGO, NELSON         ADDRESS ON FILE
CARRASQUILLO SANTIAGO, NEYSHA         ADDRESS ON FILE
CARRASQUILLO SANTIAGO, RUTH E         ADDRESS ON FILE
CARRASQUILLO SANTIAGO, SAMARIS        ADDRESS ON FILE
CARRASQUILLO SANTIAGO, VICTOR         ADDRESS ON FILE
Carrasquillo Santiago, Victor M       ADDRESS ON FILE
CARRASQUILLO SANTIAGO, ZULMA          ADDRESS ON FILE
CARRASQUILLO SANTIAGO, ZULMA          ADDRESS ON FILE
CARRASQUILLO SANTINI, ENRIQUE         ADDRESS ON FILE
CARRASQUILLO SANTOS, CYNTHIA          ADDRESS ON FILE
Carrasquillo Santos, Yaritza          ADDRESS ON FILE
                                                                                                         AMERICA AIRLINE
CARRASQUILLO SEDA, OTTO               KEILA ORTEGA CASALS       1509 CALLE LOPEZ LANDRO                  BUILDING          SUITE 10   SAN JUAN     PR      00911
Carrasquillo Seda, Otto F.            ADDRESS ON FILE
CARRASQUILLO SERRANO, CARLOS          ADDRESS ON FILE
CARRASQUILLO SERRANO, MERCEDES        ADDRESS ON FILE
CARRASQUILLO SERRANO, MILAGROS        ADDRESS ON FILE
CARRASQUILLO SERRANO, VICTOR E        ADDRESS ON FILE
CARRASQUILLO SOEGARD, SONIA           ADDRESS ON FILE
CARRASQUILLO SOLIVAN, JANETTE         ADDRESS ON FILE
Carrasquillo Soto, Angel L            ADDRESS ON FILE
CARRASQUILLO SOTO, CARLOS             ADDRESS ON FILE
CARRASQUILLO SOTO, CARLOS E.          ADDRESS ON FILE
CARRASQUILLO SOTO, DANIEL             ADDRESS ON FILE
CARRASQUILLO SOTO, JANET              ADDRESS ON FILE
CARRASQUILLO SOTO, LIZETTE            ADDRESS ON FILE
CARRASQUILLO SOTO, MARIA D            ADDRESS ON FILE
CARRASQUILLO SUAU, IVELISSE           ADDRESS ON FILE
CARRASQUILLO SURILLO, ISMAEL          ADDRESS ON FILE
CARRASQUILLO TORO, EDGAR              ADDRESS ON FILE
CARRASQUILLO TORO, MARINELLY          ADDRESS ON FILE
CARRASQUILLO TORRES, CARLOS           ADDRESS ON FILE
CARRASQUILLO TORRES, ELIZABETH        ADDRESS ON FILE
CARRASQUILLO TORRES, EMMA             ADDRESS ON FILE
CARRASQUILLO TORRES, GRISEL           ADDRESS ON FILE
CARRASQUILLO TORRES, JOSE             ADDRESS ON FILE
Carrasquillo Torres, Juan C           ADDRESS ON FILE
Carrasquillo Torres, Luis A           ADDRESS ON FILE
CARRASQUILLO TORRES, MARCOS           ADDRESS ON FILE
CARRASQUILLO TRUJILLO, ELISANDER      ADDRESS ON FILE
CARRASQUILLO TURULL, NEIDI            ADDRESS ON FILE
CARRASQUILLO VALDES, JOSE             ADDRESS ON FILE
CARRASQUILLO VALENTIN, LUZ E.         ADDRESS ON FILE
CARRASQUILLO VALENTIN, OMAR           ADDRESS ON FILE
Carrasquillo Valentin, Reynaldo       ADDRESS ON FILE
CARRASQUILLO VALLE, ALEXIS            ADDRESS ON FILE
CARRASQUILLO VALLE, ELBA L            ADDRESS ON FILE




                                                                                          Page 1322 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1323 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO VALLE, ENILDA          ADDRESS ON FILE
CARRASQUILLO VALLE, ERMELINDO       ADDRESS ON FILE
CARRASQUILLO VALLE, OLGA M          ADDRESS ON FILE
CARRASQUILLO VALLE, PRISCILA        ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, BRYAN         ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, CARLA F       ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, CAROLINE      ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, EDWIN         ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, ELIS          ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, ELIS J        ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, GRISEL        ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, GRISEL        ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, JAQUELINE     ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, JOSE M        ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, KENNETH       ADDRESS ON FILE
Carrasquillo Vazquez, Luis S.       ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, MARIADE L.    ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, RAFAEL        ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, RUTH          ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, WILLIAM       ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, YAMIL         ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, ZENAIDA       ADDRESS ON FILE
CARRASQUILLO VAZQUEZ, ZENAIDA       ADDRESS ON FILE
CARRASQUILLO VEGA, ANGEL            ADDRESS ON FILE
CARRASQUILLO VEGA, ANGEL M          ADDRESS ON FILE
CARRASQUILLO VEGA, ARACELIS         ADDRESS ON FILE
CARRASQUILLO VEGA, FRANCES          ADDRESS ON FILE
CARRASQUILLO VEGA, IDIDA            ADDRESS ON FILE
CARRASQUILLO VEGA, LUIMA            ADDRESS ON FILE
CARRASQUILLO VEGA, LUIMA J          ADDRESS ON FILE
CARRASQUILLO VEGA, SAMUEL           ADDRESS ON FILE
CARRASQUILLO VEGERANO, RAUL         ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, ANGEL L     ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, BRENDA L    ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, CARMEN      ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, EVELYN      ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, JOHANNA     ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, JORGE       ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, JOSE        ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, JOSELYN     ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, MADELINE    ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, MARIA       ADDRESS ON FILE
CARRASQUILLO VELAZQUEZ, NEIDA       ADDRESS ON FILE
Carrasquillo Velazquez, Pedro       ADDRESS ON FILE
CARRASQUILLO VELEZ, COLLETTE        ADDRESS ON FILE
CARRASQUILLO VIERA, CARMEN          ADDRESS ON FILE
CARRASQUILLO VILLAFANE, WILFREDO    ADDRESS ON FILE
Carrasquillo Villanueva, Gloria     ADDRESS ON FILE
CARRASQUILLO VILLANUEVA, ISANDER    ADDRESS ON FILE
CARRASQUILLO VILLANUEVA, ISANDER    ADDRESS ON FILE
CARRASQUILLO VILLANUEVA, MERELINE   ADDRESS ON FILE
CARRASQUILLO VILLANUEVA, MERELINE   ADDRESS ON FILE
CARRASQUILLO VILLEGAS, MARISABE     ADDRESS ON FILE
CARRASQUILLO VILLEGAS, MARITZA      ADDRESS ON FILE
CARRASQUILLO VILLEGAS, REINAMARIE   ADDRESS ON FILE
CARRASQUILLO VILLEGAS, WILFREDO     ADDRESS ON FILE
CARRASQUILLO ZAPATA, ANTHONY        ADDRESS ON FILE
CARRASQUILLO ZAVALA, JOSUE          ADDRESS ON FILE
CARRASQUILLO ZAYAS, CARLOS E        ADDRESS ON FILE
CARRASQUILLO ZAYAS, HECTOR          ADDRESS ON FILE




                                                                                Page 1323 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1324 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRASQUILLO ZAYAS, NEYRA L     ADDRESS ON FILE
CARRASQUILLO, ALEJANDRO         ADDRESS ON FILE
CARRASQUILLO, ANGEL             ADDRESS ON FILE
CARRASQUILLO, ANGEL L           ADDRESS ON FILE
CARRASQUILLO, ANTONIA           ADDRESS ON FILE
CARRASQUILLO, CARMEN L.         ADDRESS ON FILE
CARRASQUILLO, CECILIO           ADDRESS ON FILE
CARRASQUILLO, CECILIO           ADDRESS ON FILE
CARRASQUILLO, CRUZ D.           ADDRESS ON FILE
CARRASQUILLO, DENNIS R          ADDRESS ON FILE
CARRASQUILLO, ELIZIEL           ADDRESS ON FILE
CARRASQUILLO, FRANCISCA         ADDRESS ON FILE
CARRASQUILLO, FREDDIE A         ADDRESS ON FILE
CARRASQUILLO, GILBERTO          ADDRESS ON FILE
CARRASQUILLO, GLADYS E          ADDRESS ON FILE
CARRASQUILLO, HECTOR            ADDRESS ON FILE
CARRASQUILLO, HENRY             ADDRESS ON FILE
CARRASQUILLO, JAFF              ADDRESS ON FILE
CARRASQUILLO, JOSE              ADDRESS ON FILE
CARRASQUILLO, JOSE M.           ADDRESS ON FILE
CARRASQUILLO, KAREN             ADDRESS ON FILE
CARRASQUILLO, KAREN             ADDRESS ON FILE
CARRASQUILLO, LUIS F            ADDRESS ON FILE
CARRASQUILLO, LYDIA E           ADDRESS ON FILE
CARRASQUILLO, MARIA DEL C       ADDRESS ON FILE
CARRASQUILLO, NORMA             ADDRESS ON FILE
CARRASQUILLO, OSCAR             ADDRESS ON FILE
CARRASQUILLO, SAMUEL            ADDRESS ON FILE
CARRASQUILLO, WALDEMAR          ADDRESS ON FILE
CARRASQUILLO, WANDA             ADDRESS ON FILE
CARRASQUILLO, WILMA             ADDRESS ON FILE
CARRASQUILLO, YOLANDA           ADDRESS ON FILE
CARRASQUILLO,ALEJANDRO          ADDRESS ON FILE
CARRASQUILLO,HECTOR             ADDRESS ON FILE
CARRASQUILLO,KASANDRA           ADDRESS ON FILE
CARRASQUILLO,LYNETTE            ADDRESS ON FILE
CARRASQUILLO,SANTIAGO J.        ADDRESS ON FILE
CARRASQUILLOFERNANDEZ, ENOE     ADDRESS ON FILE
CARRASQUILLOLOPEZ, JUAN         ADDRESS ON FILE
CARRASQUILLOSERRANO, MANUEL     ADDRESS ON FILE
CARRASQUILLOSOTO, CARLOS M      ADDRESS ON FILE
CARRASQUILO MORALES, DANNETTE   ADDRESS ON FILE
CARRASQUILO REYES, CARMEN R     ADDRESS ON FILE
CARRASQULLO FALCON, SAMUEL      ADDRESS ON FILE
CARRASTEGUI, ANDRES             ADDRESS ON FILE
CARRAU LEBRON, LUIS R.          ADDRESS ON FILE
CARRAU MARTINEZ, INES DEL C     ADDRESS ON FILE
CARRAU RUIZ, RENE               ADDRESS ON FILE
Carrazana Correa, Max           ADDRESS ON FILE
CARRAZANA GONZALEZ, DEBRALI     ADDRESS ON FILE
CARRAZANA GONZALEZ, DEBRALI     ADDRESS ON FILE
CARRAZQUILLO FERNANDEZ, ANGEL   ADDRESS ON FILE
CARREIRA FERNANDEZ, RAUL        ADDRESS ON FILE
CARREIRA ROSARIO, REYNALDO      ADDRESS ON FILE
CARREIRA VELEZ, NEFTALI         ADDRESS ON FILE
CARREIRA VELEZ, NEFTALI         ADDRESS ON FILE
CARRELO BRUNO, YAZMIN           ADDRESS ON FILE
CARRENO DONOSO, JOSE            ADDRESS ON FILE
CARRER BURGOS, KAYSHA           ADDRESS ON FILE
CARRER GONZALEZ, JOSE J         ADDRESS ON FILE




                                                                            Page 1324 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1325 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                            Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
CARRER GONZALEZ, MARIELY                 ADDRESS ON FILE
CARRER MORALES, PEDRO J                  ADDRESS ON FILE
CARRER NAZARIO, ANTONIA                  ADDRESS ON FILE
CARRER NAZARIO, ANTONIA                  ADDRESS ON FILE
CARRER NAZARIO, CARMEN D                 ADDRESS ON FILE
Carrer Rivera, Angel David               ADDRESS ON FILE
CARRER RIVERA, ARMANDO                   ADDRESS ON FILE
CARRER RIVERA, IRIS                      ADDRESS ON FILE
Carrer Rivera, Jose J                    ADDRESS ON FILE
CARRER RIVERA, JUAN                      ADDRESS ON FILE
CARRER RIVERA, MILDRED                   ADDRESS ON FILE
CARRERA 10K DEL CHANGO SOBRE EL PUENTE   ATIRANTADO DE NARANJITO   PMB 342 425 CARR 693                                        DORADO       PR      00646
CARRERA ALVAREZ, AMANDA                  ADDRESS ON FILE
CARRERA ALVAREZ, SEBASTIAN               ADDRESS ON FILE
CARRERA APRAEZ, OLGA M                   ADDRESS ON FILE
CARRERA BAEZ, MIGUEL                     ADDRESS ON FILE
CARRERA BAQUERO MD, MARIA I              ADDRESS ON FILE
CARRERA BAQUERO, MARIA DE                ADDRESS ON FILE
CARRERA BARROSO, IDALMIS                 ADDRESS ON FILE
CARRERA COELLO, RITA M                   ADDRESS ON FILE
CARRERA COLON, AIDA L                    ADDRESS ON FILE
Carrera Diaz, Hector G                   ADDRESS ON FILE
CARRERA GONZALEZ, ELISSA                 ADDRESS ON FILE
CARRERA GONZALEZ, TOMAS                  ADDRESS ON FILE
CARRERA MORALES, MICHELLE M              ADDRESS ON FILE
CARRERA NOBLES, EDWIN                    ADDRESS ON FILE
CARRERA RIVERA, GERALDINA                ADDRESS ON FILE
CARRERA RIVERA, JOSE                     ADDRESS ON FILE
Carrera Rivera, Jose L                   ADDRESS ON FILE
CARRERA RIVERA, PABLO                    ADDRESS ON FILE
CARRERA RODRIGUEZ, YVETTE                ADDRESS ON FILE
CARRERA TIRADO, EVELYN                   ADDRESS ON FILE
CARRERA TIRADO, EVELYN                   ADDRESS ON FILE
CARRERA TORRES, ALEIDA                   ADDRESS ON FILE
CARRERA TORRES, ANIBAL                   ADDRESS ON FILE
CARRERA TORRES, ANIBAL                   ADDRESS ON FILE
CARRERA TORRES, JOSE                     ADDRESS ON FILE
CARRERAS ALOMAR, LAURIE A.               ADDRESS ON FILE
CARRERAS ALVARADO, FREDDY                ADDRESS ON FILE
CARRERAS ARGUELLE, ELIXIONEL             ADDRESS ON FILE
CARRERAS AYALA, TOMAS D                  ADDRESS ON FILE
CARRERAS BACETTY, CARLOS R               ADDRESS ON FILE
CARRERAS BACETTY, YOLANDA                ADDRESS ON FILE
CARRERAS BENITEZ, JUAN L                 ADDRESS ON FILE
CARRERAS BERNABE, MARIA DEL R            ADDRESS ON FILE
CARRERAS BURGOS, JOSE                    ADDRESS ON FILE
CARRERAS CASTRO, ANA M                   ADDRESS ON FILE
CARRERAS CASTRO, SAADIA                  ADDRESS ON FILE
CARRERAS CEDENO, SARAH                   ADDRESS ON FILE
CARRERAS CERPA, LAYZA                    ADDRESS ON FILE
CARRERAS COELLO MD, FERNANDO             ADDRESS ON FILE
CARRERAS COELLO MD, NILDA I              ADDRESS ON FILE
CARRERAS COELLO, JORGE                   ADDRESS ON FILE
CARRERAS COLON, ANA M                    ADDRESS ON FILE
CARRERAS CRUZ, CARLOS R                  ADDRESS ON FILE
CARRERAS CRUZ, CELIDA I                  ADDRESS ON FILE
CARRERAS CRUZ, EDGARDO                   ADDRESS ON FILE
CARRERAS CRUZ, JOSE A                    ADDRESS ON FILE
CARRERAS CRUZ, VICTOR                    ADDRESS ON FILE
CARRERAS DE LOS REYES MAGOS INC          URB LA VEGA               130 CALLE 13                                                VILLALBA     PR      00766




                                                                                          Page 1325 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1326 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRERAS DIAZ, MIGUEL              ADDRESS ON FILE
CARRERAS DIAZ, MIGUEL J.           ADDRESS ON FILE
CARRERAS ECHEVARRIA, GILBERTO      ADDRESS ON FILE
CARRERAS ESCOBAR, MARGARITA        ADDRESS ON FILE
CARRERAS FIGUEROA, CARMEN A.       ADDRESS ON FILE
CARRERAS GARCIA, DAYANARA          ADDRESS ON FILE
CARRERAS GARCIA, WILSAMAR          ADDRESS ON FILE
Carreras Gonzalez, Alberto         ADDRESS ON FILE
CARRERAS GONZALEZ, ALEXIS          ADDRESS ON FILE
CARRERAS GONZALEZ, ELI             ADDRESS ON FILE
CARRERAS GONZALEZ, JAQUELINE M.    ADDRESS ON FILE
Carreras Gonzalez, Juan C          ADDRESS ON FILE
Carreras Gutierrez, Richard        ADDRESS ON FILE
CARRERAS GUZMAN, BETSEY MILAGROS   ADDRESS ON FILE
CARRERAS HERNANDEZ MD, JOSELY      ADDRESS ON FILE
CARRERAS HERNANDEZ, EMILY          ADDRESS ON FILE
CARRERAS HERNANDEZ, JOSELY         ADDRESS ON FILE
CARRERAS HERNANDEZ, MAYRA          ADDRESS ON FILE
CARRERAS IRIZAR, LAURA S.          ADDRESS ON FILE
CARRERAS IRIZARRY, WILLIAM         ADDRESS ON FILE
CARRERAS LA CRUZ, WALDEMAR         ADDRESS ON FILE
CARRERAS LANDRAU, IRIS             ADDRESS ON FILE
CARRERAS LOPEZ, VILMA I            ADDRESS ON FILE
CARRERAS LOUBRIEL, CAROLYN M       ADDRESS ON FILE
CARRERAS MALDONADO, CHRISTIAN      ADDRESS ON FILE
CARRERAS MALDONADO, ELVIN L.       ADDRESS ON FILE
CARRERAS MALDONADO, ESTHER         ADDRESS ON FILE
CARRERAS MARTINEZ MD, JUAN R       ADDRESS ON FILE
CARRERAS MERCADO, HERIBERTO        ADDRESS ON FILE
CARRERAS MERCED, RAUL              ADDRESS ON FILE
CARRERAS MIRANDA, FRANCISCO        ADDRESS ON FILE
CARRERAS MIRANDA, INES             ADDRESS ON FILE
CARRERAS MOJICA, PABLO             ADDRESS ON FILE
CARRERAS MOLINA, RICARDO           ADDRESS ON FILE
CARRERAS NEGRON, INAMARYS M        ADDRESS ON FILE
CARRERAS NEGRON, MADELINE          ADDRESS ON FILE
CARRERAS NEGRON, MAYRA             ADDRESS ON FILE
CARRERAS NEGRON, NADYA Y           ADDRESS ON FILE
CARRERAS NIEVES, GLADYS            ADDRESS ON FILE
CARRERAS NIEVES, VALERIE M.        ADDRESS ON FILE
CARRERAS NOBLE, EVA                ADDRESS ON FILE
CARRERAS O, NEILL, NITZA           ADDRESS ON FILE
CARRERAS ORTIZ, YVETTE             ADDRESS ON FILE
CARRERAS PADILLA, ORLANDO          ADDRESS ON FILE
CARRERAS PADILLA, ORLANDO          ADDRESS ON FILE
CARRERAS PAGAN, LYAN               ADDRESS ON FILE
CARRERAS PERDOMO, WALESKA          ADDRESS ON FILE
CARRERAS PEREZ, JOSE               ADDRESS ON FILE
CARRERAS PEREZ, JOSE               ADDRESS ON FILE
CARRERAS PLAZA, ANA LYDIA DEL      ADDRESS ON FILE
CARRERAS QUIÑONES MD, EMMA L       ADDRESS ON FILE
CARRERAS QUINONES MD, REINALDO J   ADDRESS ON FILE
CARRERAS RIVERA, EDWIN             ADDRESS ON FILE
CARRERAS RIVERA, JOEL              ADDRESS ON FILE
CARRERAS RIVERA, JOSE A.           ADDRESS ON FILE
CARRERAS RIVERA, JOSEPH            ADDRESS ON FILE
CARRERAS RIVERA, MARLIZ            ADDRESS ON FILE
CARRERAS RODRIGUEZ MD, AILEEN      ADDRESS ON FILE
CARRERAS RODRIGUEZ, AILEEN         ADDRESS ON FILE
CARRERAS RODRIGUEZ, CHRISTIAN      ADDRESS ON FILE




                                                                               Page 1326 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1327 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRERAS RODRIGUEZ, EDNA C        ADDRESS ON FILE
CARRERAS RODRIGUEZ, JUAN C.       ADDRESS ON FILE
CARRERAS RODRIGUEZ, RAMIRO        ADDRESS ON FILE
CARRERAS RODRIGUEZ, SONIA E       ADDRESS ON FILE
CARRERAS ROSA, LUIS               ADDRESS ON FILE
CARRERAS ROSARIO, ANA S           ADDRESS ON FILE
CARRERAS SANCHEZ, LAURA           ADDRESS ON FILE
CARRERAS SANCHEZ, LAURA E.        ADDRESS ON FILE
Carreras Santa Maria, Rosa M      ADDRESS ON FILE
CARRERAS SANTIAGO, HECTOR         ADDRESS ON FILE
CARRERAS SANTIAGO, MARILYNE       ADDRESS ON FILE
CARRERAS SANTIAGO, MORAIME        ADDRESS ON FILE
CARRERAS SOSA, NOEMI              ADDRESS ON FILE
CARRERAS TOLEDO, OSCAR A.         ADDRESS ON FILE
CARRERAS TORO, JOSE               ADDRESS ON FILE
CARRERAS TORRES, YASHAIRA         ADDRESS ON FILE
CARRERAS VARGAS, JEANNETTE        ADDRESS ON FILE
Carreras Velez, Gloria J          ADDRESS ON FILE
CARRERAS WARRINGTON, JONATHAN     ADDRESS ON FILE
CARRERAS ZABALA, IRAIDA           ADDRESS ON FILE
CARRERAS, DINORAH                 ADDRESS ON FILE
CARRERAS, RODRIGO M.              ADDRESS ON FILE
CARRERAS,JULIO                    ADDRESS ON FILE
CARRERO ACEVEDO, ZAHYNETTE        ADDRESS ON FILE
CARRERO AGRON, SONIA N            ADDRESS ON FILE
CARRERO ANAYA, LOURDES            ADDRESS ON FILE
CARRERO ARROYO, HECTOR            ADDRESS ON FILE
CARRERO ARROYO, JEANETTE          ADDRESS ON FILE
Carrero Arroyo, Lizaida           ADDRESS ON FILE
CARRERO ARROYO, MIRTA             ADDRESS ON FILE
CARRERO ARROYO, TAMAR             ADDRESS ON FILE
Carrero Arzon, Angel O            ADDRESS ON FILE
CARRERO AVILES, ELIEZER           ADDRESS ON FILE
CARRERO AVILES, LIZANDRA          ADDRESS ON FILE
CARRERO AYALA, MARIO              ADDRESS ON FILE
CARRERO BAUZA, CARMEN             ADDRESS ON FILE
Carrero Blanco, Lilliam           ADDRESS ON FILE
CARRERO BOSCH, MELVIN             ADDRESS ON FILE
CARRERO CAMACHO, LUZ              ADDRESS ON FILE
CARRERO CANDELARIA, AMPARO        ADDRESS ON FILE
CARRERO CANDELARIA, MONSERRATE    ADDRESS ON FILE
CARRERO CARRERO, IRIS M           ADDRESS ON FILE
CARRERO CARRERO, IRIS Y           ADDRESS ON FILE
CARRERO CARRERO, ISMENIA I        ADDRESS ON FILE
CARRERO CARRERO, JUAN             ADDRESS ON FILE
CARRERO CARRERO, NEREIDA          ADDRESS ON FILE
CARRERO CARRERO, PEDRO            ADDRESS ON FILE
CARRERO CARRERO, SYLVIA           ADDRESS ON FILE
CARRERO CARRILLO, IDALIA          ADDRESS ON FILE
CARRERO CASTILLO, MARGARITA       ADDRESS ON FILE
CARRERO CASTILLO, OLGA            ADDRESS ON FILE
CARRERO CHAPARRO, TERESA          ADDRESS ON FILE
CARRERO COLON, ILEANA             ADDRESS ON FILE
Carrero Comulada, Edgar B         ADDRESS ON FILE
CARRERO CONCEPCION, CARLOS A      ADDRESS ON FILE
CARRERO CONCEPCION, JOSLYN        ADDRESS ON FILE
CARRERO CONCEPCION, JOSLYN JOEL   ADDRESS ON FILE
CARRERO CONCEPCION, YESENIA       ADDRESS ON FILE
CARRERO CORDERO, ARACELYS         ADDRESS ON FILE
CARRERO CRESPO, ABISMAEL          ADDRESS ON FILE




                                                                              Page 1327 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1328 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRERO CRESPO, ANGEL          ADDRESS ON FILE
CARRERO CRESPO, DANIEL A       ADDRESS ON FILE
CARRERO CRESPO, LUZ            ADDRESS ON FILE
CARRERO CRESPO, RAUL N.        ADDRESS ON FILE
CARRERO CRESPO, YADIRA         ADDRESS ON FILE
CARRERO CRUZ, AURORA           ADDRESS ON FILE
CARRERO CRUZ, MARIA DE LOS A   ADDRESS ON FILE
CARRERO DE JESUS, CARMEN       ADDRESS ON FILE
CARRERO DE JESUS, ELIAS D      ADDRESS ON FILE
CARRERO DE JESUS, JUAN J       ADDRESS ON FILE
CARRERO DE JESUS, LUIS E       ADDRESS ON FILE
CARRERO DE JESUS, TITO         ADDRESS ON FILE
CARRERO DELGADO, ARSENIO       ADDRESS ON FILE
CARRERO ELIAS, JOSE L          ADDRESS ON FILE
Carrero Febres, Candido R      ADDRESS ON FILE
Carrero Feliciano, Abdon       ADDRESS ON FILE
CARRERO FELICIANO, LUZ E.      ADDRESS ON FILE
CARRERO FELICIANO, RAYMOND     ADDRESS ON FILE
CARRERO FIGUEROA, ALTAGRACIA   ADDRESS ON FILE
CARRERO GALINDO, RAYMOND       ADDRESS ON FILE
CARRERO GALLOZA, IDELISA       ADDRESS ON FILE
CARRERO GALLOZA, NAYRA G       ADDRESS ON FILE
CARRERO GARCIA, DAVID          ADDRESS ON FILE
CARRERO GARCIA, RAYMOND        ADDRESS ON FILE
CARRERO GERENA, DOLORES        ADDRESS ON FILE
CARRERO GIRALD, TERESA         ADDRESS ON FILE
CARRERO GONZALEZ, BRENDA       ADDRESS ON FILE
CARRERO GONZALEZ, IRIS E       ADDRESS ON FILE
Carrero Gonzalez, Jose A       ADDRESS ON FILE
CARRERO GONZALEZ, LUZ          ADDRESS ON FILE
CARRERO GONZALEZ, MAIRYN       ADDRESS ON FILE
CARRERO GONZALEZ, MILAGROS     ADDRESS ON FILE
CARRERO GONZALEZ, ROSA I.      ADDRESS ON FILE
CARRERO GONZALEZ, SANTIAGO     ADDRESS ON FILE
CARRERO GUEITS, DICK           ADDRESS ON FILE
CARRERO GUILLEN, FRANCISCA     ADDRESS ON FILE
CARRERO GUZMAN, CARMEN Y       ADDRESS ON FILE
Carrero Guzman, Hector L.      ADDRESS ON FILE
CARRERO HERNANDEZ, IRVIN       ADDRESS ON FILE
CARRERO HERNANDEZ, JODY        ADDRESS ON FILE
CARRERO HERNANDEZ, JUAN        ADDRESS ON FILE
CARRERO HERNANDEZ, RAFAEL      ADDRESS ON FILE
CARRERO JIMENEZ, EDNA          ADDRESS ON FILE
CARRERO JIMENEZ, GRISSELL Y    ADDRESS ON FILE
CARRERO JIMENEZ, IRIS          ADDRESS ON FILE
CARRERO JIMENEZ, IVAN L        ADDRESS ON FILE
CARRERO JIMENEZ, LOURDES M     ADDRESS ON FILE
CARRERO JORDAN, ELISEO         ADDRESS ON FILE
Carrero Jusino, Antonio        ADDRESS ON FILE
CARRERO JUSINO, NILDA          ADDRESS ON FILE
Carrero Jusino, Raquel         ADDRESS ON FILE
CARRERO JUSINO, RAQUEL         ADDRESS ON FILE
CARRERO LAGUNA, NELSON E       ADDRESS ON FILE
CARRERO LEDUC, JAZMIN L.       ADDRESS ON FILE
CARRERO LEDUC, VIVIAN D.       ADDRESS ON FILE
CARRERO LOPEZ, JOSE L          ADDRESS ON FILE
CARRERO LOPEZ, LISANDRA        ADDRESS ON FILE
CARRERO LOPEZ, MARIA L         ADDRESS ON FILE
CARRERO LOPEZ, NILDA T         ADDRESS ON FILE
CARRERO LOPEZ, WANDA I         ADDRESS ON FILE




                                                                           Page 1328 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1329 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Carrero Lorenzano, Pedro        ADDRESS ON FILE
Carrero Lorenzo, Benjamin       ADDRESS ON FILE
CARRERO LORENZO, EDUARDO        ADDRESS ON FILE
CARRERO LORENZO, MIGDALIA       ADDRESS ON FILE
CARRERO LORENZO, NILSA          ADDRESS ON FILE
CARRERO LORENZO, WANDALIZ       ADDRESS ON FILE
CARRERO LUGO, JORGE             ADDRESS ON FILE
CARRERO LUGO, LORENA            ADDRESS ON FILE
CARRERO MALDONADO, BENITO       ADDRESS ON FILE
CARRERO MARTELL, ENRIQUE        ADDRESS ON FILE
CARRERO MARTELL, MILAGROS       ADDRESS ON FILE
CARRERO MARTINEZ, DAMARYS       ADDRESS ON FILE
CARRERO MARTINEZ, FELICITA      ADDRESS ON FILE
CARRERO MARTINEZ, FELICITA      ADDRESS ON FILE
CARRERO MARTINEZ, IXCHEL I      ADDRESS ON FILE
CARRERO MARTINEZ, JOSE          ADDRESS ON FILE
CARRERO MARTINEZ, NYDIA E.      ADDRESS ON FILE
CARRERO MAURAS, ANGEL           ADDRESS ON FILE
CARRERO MEDINA, JAIME           ADDRESS ON FILE
CARRERO MEJIAS, CARLOS          ADDRESS ON FILE
Carrero Mejias, Manuel          ADDRESS ON FILE
CARRERO MEJIAS, RAFAEL A.       ADDRESS ON FILE
CARRERO MEJIAS, RAFAEL A.       ADDRESS ON FILE
CARRERO MENDEZ, AUREA           ADDRESS ON FILE
CARRERO MENDEZ, CHRISTOPHER     ADDRESS ON FILE
Carrero Mendez, Melvin E        ADDRESS ON FILE
CARRERO MENDOZA, DERLIN N.      ADDRESS ON FILE
CARRERO MERCADO, CLARA          ADDRESS ON FILE
CARRERO MERCADO, LUZ I          ADDRESS ON FILE
CARRERO MERCADO, NILSA          ADDRESS ON FILE
CARRERO MIRO, MARIO             ADDRESS ON FILE
CARRERO MOLINA, MILDRED         ADDRESS ON FILE
CARRERO MORALES, AIVOTH         ADDRESS ON FILE
CARRERO MORALES, CARLOS         ADDRESS ON FILE
CARRERO MORALES, CARLOS J.      ADDRESS ON FILE
CARRERO MORALES, HEYDA          ADDRESS ON FILE
CARRERO MORALES, IVELISSE       ADDRESS ON FILE
CARRERO MORALES, JOSEFINA       ADDRESS ON FILE
Carrero Morales, Melvin         ADDRESS ON FILE
CARRERO MORALES, MERCEDES       ADDRESS ON FILE
CARRERO MORALES, MIRIAM         ADDRESS ON FILE
CARRERO MORALES, YAMIL          ADDRESS ON FILE
CARRERO MORENO, BENJAMIN F.     ADDRESS ON FILE
CARRERO MORENO, MARIA M         ADDRESS ON FILE
CARRERO MUNIZ, EDWIN            ADDRESS ON FILE
CARRERO MUNIZ, LUZ N.           ADDRESS ON FILE
CARRERO MUNOZ, ZAIDA            ADDRESS ON FILE
CARRERO NIEVES, NILDA           ADDRESS ON FILE
CARRERO OJEDA, FRANCISCO A      ADDRESS ON FILE
CARRERO OLMO, BEATRIZ           ADDRESS ON FILE
CARRERO OLMO, BEATRIZ           ADDRESS ON FILE
Carrero Orria, Jaime G          ADDRESS ON FILE
CARRERO ORSINI, FELICITA        ADDRESS ON FILE
CARRERO ORSINI, LUZ M           ADDRESS ON FILE
CARRERO ORSINI, NATIVIDAD       ADDRESS ON FILE
CARRERO ORTIZ, JOSE             ADDRESS ON FILE
Carrero Ortiz, Maria De Los A   ADDRESS ON FILE
CARRERO PAGAN, CARMEN I         ADDRESS ON FILE
CARRERO PARDO, DEBORAH          ADDRESS ON FILE
CARRERO PARRILLA, MARIA D       ADDRESS ON FILE




                                                                            Page 1329 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1330 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRERO PATRON, ROBERTO          ADDRESS ON FILE
CARRERO PATRON, WILLIAM          ADDRESS ON FILE
CARRERO PELLICIER, DANNAEL       ADDRESS ON FILE
CARRERO PEREZ, MYRIAM M          ADDRESS ON FILE
CARRERO QUILES, FELIX            ADDRESS ON FILE
Carrero Quinones, Angela         ADDRESS ON FILE
CARRERO QUINONES, MARIA A.       ADDRESS ON FILE
CARRERO QUINONEZ MD, MILTON D    ADDRESS ON FILE
CARRERO QUINTANA, YARITZA        ADDRESS ON FILE
CARRERO RAMIREZ, JOSE A.         ADDRESS ON FILE
CARRERO RAMIREZ, OLGA I.         ADDRESS ON FILE
Carrero Ramos, Benjamin          ADDRESS ON FILE
Carrero Ramos, Francisco         ADDRESS ON FILE
CARRERO RAMOS, JOSUE             ADDRESS ON FILE
CARRERO RAMOS, LINNETTE          ADDRESS ON FILE
Carrero Ramos, Wilfredo          ADDRESS ON FILE
CARRERO RESTO, GLORIBEL          ADDRESS ON FILE
CARRERO RESTO, GLORIBEL          ADDRESS ON FILE
CARRERO RESTO, GLORIVELISSE      ADDRESS ON FILE
CARRERO REYES, DESIREE           ADDRESS ON FILE
CARRERO RIVERA, CAMILLE          ADDRESS ON FILE
CARRERO RIVERA, CARLOS           ADDRESS ON FILE
CARRERO RIVERA, CARLOS M         ADDRESS ON FILE
CARRERO RIVERA, ESTHER M         ADDRESS ON FILE
CARRERO RIVERA, MARIELA          ADDRESS ON FILE
CARRERO RIVERA, OMAR             ADDRESS ON FILE
CARRERO RIVERA, ROSA M           ADDRESS ON FILE
CARRERO RIVERA, VICTOR           ADDRESS ON FILE
CARRERO RODRIGUEZ MD, CARLOS R   ADDRESS ON FILE
CARRERO RODRIGUEZ, ADELINA       ADDRESS ON FILE
Carrero Rodriguez, Bethzaida     ADDRESS ON FILE
CARRERO RODRIGUEZ, BETHZAIDA     ADDRESS ON FILE
CARRERO RODRIGUEZ, CARMEN        ADDRESS ON FILE
CARRERO RODRIGUEZ, CELIA         ADDRESS ON FILE
Carrero Rodriguez, Eddie N       ADDRESS ON FILE
CARRERO RODRIGUEZ, ELVITA        ADDRESS ON FILE
CARRERO RODRIGUEZ, ESTEBAN       ADDRESS ON FILE
CARRERO RODRIGUEZ, GLADYS I.     ADDRESS ON FILE
CARRERO RODRIGUEZ, GLORIA        ADDRESS ON FILE
CARRERO RODRIGUEZ, MARIA         ADDRESS ON FILE
Carrero Rodriguez, Norberto      ADDRESS ON FILE
CARRERO ROMAN, FRANCES L.        ADDRESS ON FILE
CARRERO ROMAN, FRANK             ADDRESS ON FILE
CARRERO ROMAN, LUCIANO           ADDRESS ON FILE
CARRERO ROMAN, MARIA             ADDRESS ON FILE
Carrero Romero, Luis L           ADDRESS ON FILE
CARRERO ROSADO, EFRAIN           ADDRESS ON FILE
CARRERO RUIZ, ESTRELLA           ADDRESS ON FILE
CARRERO RUIZ, MARIA              ADDRESS ON FILE
CARRERO RUIZ, MARIA D.           ADDRESS ON FILE
CARRERO RUIZ, MIRIAM             ADDRESS ON FILE
CARRERO SANABRIA, ARMANDO        ADDRESS ON FILE
CARRERO SANCHEZ, ANGEL R         ADDRESS ON FILE
CARRERO SANCHEZ, GILBERTO        ADDRESS ON FILE
CARRERO SANTA, DANIEL O          ADDRESS ON FILE
CARRERO SANTIAGO, BRENDA I       ADDRESS ON FILE
CARRERO SANTIAGO, GLENDA E       ADDRESS ON FILE
CARRERO SANTIAGO, LUIS A         ADDRESS ON FILE
CARRERO SEGUI, JONATHAN          ADDRESS ON FILE
CARRERO SOLARES, RAFAEL J.       ADDRESS ON FILE




                                                                             Page 1330 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1331 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRERO SOTO MD, EDRAS                ADDRESS ON FILE
CARRERO SOTO, MARIA                   ADDRESS ON FILE
CARRERO TORRES, BRENDA                ADDRESS ON FILE
CARRERO TORRES, CARMEN MODESTA        ADDRESS ON FILE
CARRERO TORRES, EDGARD                ADDRESS ON FILE
CARRERO TORRES, GLORIA E              ADDRESS ON FILE
Carrero Valentin, Jose                ADDRESS ON FILE
CARRERO VALERA, CESAR D               ADDRESS ON FILE
CARRERO VARGAS, ANTONIO               ADDRESS ON FILE
CARRERO VARGAS, YESENIA               ADDRESS ON FILE
Carrero Vazquez, Jonathan             ADDRESS ON FILE
CARRERO VAZQUEZ, LUZ E                ADDRESS ON FILE
CARRERO VEGA, AIDA                    ADDRESS ON FILE
CARRERO VEGA, AIDA                    ADDRESS ON FILE
CARRERO VEGA, AIDA                    ADDRESS ON FILE
CARRERO VEGA, HAYDEE                  ADDRESS ON FILE
CARRERO VELANTIN, ADRIANA             ADDRESS ON FILE
CARRERO VELEZ, AIDA                   ADDRESS ON FILE
CARRERO VELEZ, ERIK                   ADDRESS ON FILE
Carrero Velez, Eulogio                ADDRESS ON FILE
CARRERO VELEZ, LUIS                   ADDRESS ON FILE
CARRERO VELEZ, MARIA DEL C            ADDRESS ON FILE
CARRERO VIDAL, MAUREEN                ADDRESS ON FILE
CARRERO, CANDIDA                      ADDRESS ON FILE
CARRERO, CANDIDA                      ADDRESS ON FILE
CARRERO, LILLIAN D                    ADDRESS ON FILE
CARRERO, VICTOR M.                    ADDRESS ON FILE
CARRETERO CANNELLA, MANUEL            ADDRESS ON FILE
CARRETERO GUTIERRES, LEONARDO         ADDRESS ON FILE
CARRETERO JIMENEZ, MAXIMO             ADDRESS ON FILE
CARRETERO LOYAGA, VICTOR              ADDRESS ON FILE
CARRETERO MALDONADO, ENRIQUE          ADDRESS ON FILE
CARRETERO MALDONADO, HECTOR A         ADDRESS ON FILE
CARRETERO RODRIGUEZ MD, CARLOS R      ADDRESS ON FILE
CARRETERO RODRIGUEZ, CRISTIAN         ADDRESS ON FILE
CARRETERO ROSADO, SARAHI              ADDRESS ON FILE
CARRETERO ROSADO, SUSANA              ADDRESS ON FILE
CARRETERO SALAS, EMILY L.             ADDRESS ON FILE
CARRETJER CATALAN MD, FRANCISCO J     ADDRESS ON FILE
CARRIBBEAN INDUSTRIAL MECHANICAL SE   PO BOX 8890                                                                      CAROLINA     PR      00988‐8890
CARRIE HOMAR SANABRIA                 ADDRESS ON FILE
CARRIE I IGLESIAS TORRES              ADDRESS ON FILE
CARRIER ( PUERTO RICO ) , INC.        P. O. BOX 9357                                                                   SAN JUAN     PR      00962‐0000
CARRIER ENTERPROSE LLC                PO BOX 71519                                                                     SAN JUAN     PR      00936‐8620
CARRIER P R INC                       PO BOX 71519                                                                     SAN JUAN     PR      00936‐8620
Carrier Puerto Rico                   PO BOX 9357                                                                      SAN JUAN     PR      00908
CARRIER, INC.                         CARR 2 KM 78.5                                                                   ARECIBO      PR      00613
Carril Arocho, Edgardo                ADDRESS ON FILE
Carril Arocho, Evaristo               ADDRESS ON FILE
CARRIL BOSQUES, ANGEL L               ADDRESS ON FILE
CARRIL BOSQUES, RAMONITA              ADDRESS ON FILE
CARRIL CORTES, HECTOR E               ADDRESS ON FILE
CARRIL CRUZ, ELVIS D.                 ADDRESS ON FILE
Carril Gonzalez, William              ADDRESS ON FILE
CARRIL PEREZ, ROBERTO                 ADDRESS ON FILE
CARRIL SANCHEZ, LUIS R                ADDRESS ON FILE
CARRIL SANCHEZ, ROBERTO               ADDRESS ON FILE
CARRIL VELEZ, GREGORIO                ADDRESS ON FILE
CARRILES MEDINA, GISEL                ADDRESS ON FILE
CARRILES ORTIZ, EDITH                 ADDRESS ON FILE




                                                                                  Page 1331 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1332 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CARRILES PEREIRA, ARMANDO J.       ADDRESS ON FILE
CARRILES SEPULVEDA, ANA C          ADDRESS ON FILE
CARRILL RAMOS, SONIA Y             ADDRESS ON FILE
CARRILLO ., JONATHAN               ADDRESS ON FILE
CARRILLO ACEVEDO, ANA I            ADDRESS ON FILE
CARRILLO ACEVEDO, ANEUDI           ADDRESS ON FILE
CARRILLO ACEVEDO, ANEYDI           ADDRESS ON FILE
CARRILLO ACOSTA, DAVID             ADDRESS ON FILE
CARRILLO AGOSTO, MANUEL E          ADDRESS ON FILE
CARRILLO ALMA INC                  PO BOX 517                                                                       AGUADILLA     PR      00605
CARRILLO ALMODOVAR, TRACY          ADDRESS ON FILE
CARRILLO ALVAREZ, BECKY            ADDRESS ON FILE
CARRILLO ALVAREZ, DIANDRA          ADDRESS ON FILE
CARRILLO ALVIRA, FELIX             ADDRESS ON FILE
CARRILLO APONTE, ELISA             ADDRESS ON FILE
CARRILLO ARROYO, ENRIQUE           ADDRESS ON FILE
CARRILLO ARZUAGA, ANGEL            ADDRESS ON FILE
CARRILLO ARZUAGA, ANGEL A.         ADDRESS ON FILE
CARRILLO AVILES, ILIANIS           ADDRESS ON FILE
CARRILLO AYALA, LARYANA            ADDRESS ON FILE
CARRILLO BAERGA, NEDY              ADDRESS ON FILE
CARRILLO BAERGA, NEDY A.           ADDRESS ON FILE
CARRILLO BAERGAS, VIVIANA          ADDRESS ON FILE
CARRILLO BATLLE, MICHAEL ANTHONY   ADDRESS ON FILE
CARRILLO BERMUDEZ, MIGUEL          ADDRESS ON FILE
Carrillo Caban, Hector M           ADDRESS ON FILE
Carrillo Caban, Juan A             ADDRESS ON FILE
CARRILLO CABRERA, LUZ E            ADDRESS ON FILE
CARRILLO CALCANO, AMANDA           ADDRESS ON FILE
CARRILLO CALZADA, VANESSA          ADDRESS ON FILE
CARRILLO CAMACHO, NILDA            ADDRESS ON FILE
CARRILLO CANCEL, ANA M             ADDRESS ON FILE
CARRILLO CANCEL, CARMEN            ADDRESS ON FILE
CARRILLO CANCEL, CARMEN            ADDRESS ON FILE
CARRILLO CANCEL, ELIZABETH         ADDRESS ON FILE
CARRILLO CANCEL, ELIZABETH         ADDRESS ON FILE
CARRILLO CANCEL, IRIS N            ADDRESS ON FILE
CARRILLO CANCEL, LYDIA E           ADDRESS ON FILE
CARRILLO CANCEL, MIGUEL A.         ADDRESS ON FILE
CARRILLO CARAMBOT MD, RAFAEL       ADDRESS ON FILE
CARRILLO CARRASQUILLO, MARIA H     ADDRESS ON FILE
CARRILLO CARRASQUILLO, VICTOR E    ADDRESS ON FILE
CARRILLO CARRION, ERIC             ADDRESS ON FILE
CARRILLO CASIANO, ABIGAIL          ADDRESS ON FILE
CARRILLO CASTILLO, NYDIA L.        ADDRESS ON FILE
Carrillo Castro, Brenda L.         ADDRESS ON FILE
CARRILLO CASTRO, BRENDALIZ         ADDRESS ON FILE
CARRILLO CASTRO, ELSIE             ADDRESS ON FILE
CARRILLO CASTRO, MARIA A           ADDRESS ON FILE
CARRILLO CASTRO, MARIA A.          ADDRESS ON FILE
CARRILLO CHISCUL, PEDRO            ADDRESS ON FILE
CARRILLO CINTRON, GILBERTO         ADDRESS ON FILE
CARRILLO CINTRON, IRMA             ADDRESS ON FILE
CARRILLO CINTRON, MARIA            ADDRESS ON FILE
CARRILLO COLON, HIPOLITO           ADDRESS ON FILE
Carrillo Colon, Jose Noel          ADDRESS ON FILE
CARRILLO CORCINO, RUTH             ADDRESS ON FILE
CARRILLO CORREA, LYDIA E           ADDRESS ON FILE
CARRILLO COTTO, MARIA D            ADDRESS ON FILE
CARRILLO COTTO, MARIO              ADDRESS ON FILE




                                                                               Page 1332 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1333 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRILLO COTTO, MARIO A        ADDRESS ON FILE
CARRILLO CRESPO, DAMARIS       ADDRESS ON FILE
CARRILLO CRESPO, EVELYN        ADDRESS ON FILE
CARRILLO CRUZ, BEATRIZ         ADDRESS ON FILE
CARRILLO CRUZ, CARMEN S        ADDRESS ON FILE
CARRILLO CRUZ, HARRY A.        ADDRESS ON FILE
CARRILLO CRUZ, JORGE           ADDRESS ON FILE
CARRILLO CRUZ, MARIA           ADDRESS ON FILE
CARRILLO CUBANO, IDALIZ        ADDRESS ON FILE
CARRILLO CURSIO, AMPARO        ADDRESS ON FILE
CARRILLO DE JESUS, AIDA        ADDRESS ON FILE
Carrillo De Leon, Edwin        ADDRESS ON FILE
CARRILLO DE LEON, IVELISSE     ADDRESS ON FILE
CARRILLO DE LEON, MARIA D      ADDRESS ON FILE
CARRILLO DEL VALLE, VIMARY     ADDRESS ON FILE
CARRILLO DEL, VALLE ANGEL      ADDRESS ON FILE
CARRILLO DELGADO, AWILDA       ADDRESS ON FILE
CARRILLO DELGADO, AWILDA       ADDRESS ON FILE
CARRILLO DELGADO, BERNARDO     ADDRESS ON FILE
CARRILLO DELGADO, DIMARYS      ADDRESS ON FILE
CARRILLO DELGADO, LIDUVINA     ADDRESS ON FILE
CARRILLO DELGADO, NELSON       ADDRESS ON FILE
CARRILLO DELGADO, SILVIA I     ADDRESS ON FILE
CARRILLO DIAZ, JULIO           ADDRESS ON FILE
CARRILLO DIAZ, ZULMA           ADDRESS ON FILE
CARRILLO DINGUI, ELIZABETH     ADDRESS ON FILE
CARRILLO ESCALERA, MAGALY      ADDRESS ON FILE
CARRILLO FELICIANO, NORMA      ADDRESS ON FILE
CARRILLO FELICIANO, NORMA      ADDRESS ON FILE
CARRILLO FELICIANO, RAFAEL     ADDRESS ON FILE
CARRILLO FERNANDEZ, JUAN       ADDRESS ON FILE
CARRILLO FERRER, CELESTE       ADDRESS ON FILE
CARRILLO FERRER, EDWIN F.      ADDRESS ON FILE
CARRILLO FILOMENO, ANTHONY     ADDRESS ON FILE
CARRILLO FLORES, MARIA         ADDRESS ON FILE
Carrillo Flores, Maribel       ADDRESS ON FILE
CARRILLO FRAGUADA, CARMEN C.   ADDRESS ON FILE
CARRILLO FRONTANES, ALFREDO    ADDRESS ON FILE
CARRILLO FUENTES, EVELYN       ADDRESS ON FILE
CARRILLO FUENTES, MYRNA I      ADDRESS ON FILE
CARRILLO FUENTES, RUBEN        ADDRESS ON FILE
Carrillo Fuentes, Ruben E      ADDRESS ON FILE
CARRILLO GARCIA, ANDRES        ADDRESS ON FILE
CARRILLO GARCIA, EDGARDO       ADDRESS ON FILE
CARRILLO GARCIA, GINA M.       ADDRESS ON FILE
CARRILLO GARCIA, ITZA M        ADDRESS ON FILE
CARRILLO GARCIA, MARIANA       ADDRESS ON FILE
Carrillo Gonzalez, Evelyn      ADDRESS ON FILE
CARRILLO GONZALEZ, EVELYN      ADDRESS ON FILE
CARRILLO GONZALEZ, GLORIA N.   ADDRESS ON FILE
CARRILLO GONZALEZ, JOSE M      ADDRESS ON FILE
CARRILLO GONZALEZ, LUIS        ADDRESS ON FILE
CARRILLO HERNAIZ, FERNANDO     ADDRESS ON FILE
Carrillo Hernandez, Andres     ADDRESS ON FILE
CARRILLO HERNANDEZ, MARIA E    ADDRESS ON FILE
CARRILLO HERNANDEZ, MYRIAM     ADDRESS ON FILE
CARRILLO HERRERA, JOSE         ADDRESS ON FILE
CARRILLO HUMANO, XAIVETTE      ADDRESS ON FILE
Carrillo Humano, Yomar         ADDRESS ON FILE
CARRILLO HUMANO, YOMAR         ADDRESS ON FILE




                                                                           Page 1333 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1334 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Carrillo Irizarry, Yarelis Z          ADDRESS ON FILE
Carrillo Jimenez, Iraida              ADDRESS ON FILE
CARRILLO JIMENEZ, WANDA               ADDRESS ON FILE
CARRILLO JUSTINIANO, MARICARMEN       ADDRESS ON FILE
CARRILLO JUSTINIANO, NANCY M          ADDRESS ON FILE
CARRILLO LLIERAS, NELSON              ADDRESS ON FILE
CARRILLO LONGO, LOURDES A             ADDRESS ON FILE
CARRILLO LOPEZ, ABIMAEL               ADDRESS ON FILE
CARRILLO LOPEZ, DORIS E               ADDRESS ON FILE
CARRILLO LUGO, MIRIAM                 ADDRESS ON FILE
CARRILLO MADERA, ADA M.               ADDRESS ON FILE
CARRILLO MALDONADO, ALEIDA            ADDRESS ON FILE
CARRILLO MALDONADO, ALEVALERIE        ADDRESS ON FILE
CARRILLO MALDONADO, AXEL              ADDRESS ON FILE
CARRILLO MALDONADO, HAROLD            ADDRESS ON FILE
CARRILLO MALDONADO, LORNA             ADDRESS ON FILE
CARRILLO MALDONADO, LOURDES MINERVA   ADDRESS ON FILE
CARRILLO MARTINEZ, JONTHAN            ADDRESS ON FILE
CARRILLO MARTINEZ, LUZ M.             ADDRESS ON FILE
CARRILLO MEDERO, JACKELINE            ADDRESS ON FILE
CARRILLO MEDINA, ZAIDA E              ADDRESS ON FILE
CARRILLO MEDINA, ZULMA DEL C.         ADDRESS ON FILE
CARRILLO MELENDEZ, JORGE              ADDRESS ON FILE
CARRILLO MELENDEZ, RUTH E.            ADDRESS ON FILE
CARRILLO MERCADO, LUCIANNETTE         ADDRESS ON FILE
CARRILLO MILLAN, RAMON                ADDRESS ON FILE
CARRILLO MILLAN, RUBEN O.             ADDRESS ON FILE
CARRILLO MILLAN, SELMA Y              ADDRESS ON FILE
CARRILLO MOJICA, JOSE                 ADDRESS ON FILE
CARRILLO MOJICA, JOSE R.              ADDRESS ON FILE
CARRILLO MOLL, ALFREDO                ADDRESS ON FILE
CARRILLO MONTALVO, SONIA              ADDRESS ON FILE
CARRILLO MONTANEZ, LUIS O             ADDRESS ON FILE
CARRILLO MONTAQEZ, FLORENTINO         ADDRESS ON FILE
CARRILLO MONTES, HECTOR               ADDRESS ON FILE
CARRILLO MORALES, EILEEN              ADDRESS ON FILE
CARRILLO MORALES, ELSIE I             ADDRESS ON FILE
Carrillo Morales, Luis F              ADDRESS ON FILE
CARRILLO MORALES, MARIA DEL C         ADDRESS ON FILE
CARRILLO MORALES, RAMON               ADDRESS ON FILE
CARRILLO MORALES, REINALDO            ADDRESS ON FILE
CARRILLO MORALES, RICARDO A           ADDRESS ON FILE
CARRILLO MORALES, ROBERTO A           ADDRESS ON FILE
CARRILLO MORALES, SOL M.              ADDRESS ON FILE
CARRILLO MORALES, SORIAM              ADDRESS ON FILE
CARRILLO MORALES, SORIAM LIS          ADDRESS ON FILE
CARRILLO MORALES, WANDA E.            ADDRESS ON FILE
CARRILLO MUNOZ, VANESSA C.            ADDRESS ON FILE
CARRILLO NATAL, EDWIN                 ADDRESS ON FILE
CARRILLO NAVAS, JUAN                  ADDRESS ON FILE
CARRILLO NEGRON, ESTEBAN              ADDRESS ON FILE
CARRILLO NEGRON, LOURDES M.           ADDRESS ON FILE
CARRILLO NEGRON, SONIA                ADDRESS ON FILE
CARRILLO NIEVES, DAYRALIZ             ADDRESS ON FILE
CARRILLO NIEVES, STEPHANIE            ADDRESS ON FILE
CARRILLO OJEDA, GELIPZA               ADDRESS ON FILE
CARRILLO OJEDA, MIZRAHIN              ADDRESS ON FILE
CARRILLO ORTIZ, FRANCHESKA M.         ADDRESS ON FILE
CARRILLO ORTIZ, FRANCHESKA M.         ADDRESS ON FILE
CARRILLO ORTIZ, JULIA                 ADDRESS ON FILE




                                                                                  Page 1334 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1335 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRILLO OSTOLAZA, ELIANA              ADDRESS ON FILE
CARRILLO OTERO, ARNOLD                 ADDRESS ON FILE
Carrillo Otero, Maria De A.            ADDRESS ON FILE
CARRILLO OTERO, MARIA DE LOS ANGELES   ADDRESS ON FILE
Carrillo Otero, Ramon                  ADDRESS ON FILE
CARRILLO PADILLA, VICKMARIE L.         ADDRESS ON FILE
CARRILLO PAGAN, JOSE E                 ADDRESS ON FILE
CARRILLO PEREZ, ANA M                  ADDRESS ON FILE
CARRILLO PEREZ, CARMEN M               ADDRESS ON FILE
CARRILLO PEREZ, CARMEN M.              ADDRESS ON FILE
CARRILLO PEREZ, FRANCISCO              ADDRESS ON FILE
CARRILLO PEREZ, FRANCISCO J.           ADDRESS ON FILE
CARRILLO PEREZ, LUIS                   ADDRESS ON FILE
CARRILLO PEREZ, YADIRA                 ADDRESS ON FILE
CARRILLO PICCARD, MELVIN               ADDRESS ON FILE
CARRILLO PIZARRO, JOSE O               ADDRESS ON FILE
CARRILLO QUINONES, ABIMAEL             ADDRESS ON FILE
CARRILLO QUINONES, JOSUE               ADDRESS ON FILE
CARRILLO QUINONES, JOSUE               ADDRESS ON FILE
CARRILLO RAMIREZ, CARMEN E             ADDRESS ON FILE
CARRILLO RAMOS, NAARA                  ADDRESS ON FILE
CARRILLO RAMOS, NORMAN                 ADDRESS ON FILE
CARRILLO RAMOS, SONIA Y                ADDRESS ON FILE
CARRILLO REYES, MARIELIE               ADDRESS ON FILE
Carrillo Reyes, Ruben                  ADDRESS ON FILE
CARRILLO RIVERA MD, RAFAEL O           ADDRESS ON FILE
CARRILLO RIVERA, JUAN E                ADDRESS ON FILE
Carrillo Rivera, Julio A               ADDRESS ON FILE
CARRILLO RIVERA, LORENA E              ADDRESS ON FILE
CARRILLO RODRIGUEZ, CARMEN R           ADDRESS ON FILE
Carrillo Rodriguez, Eric               ADDRESS ON FILE
CARRILLO RODRIGUEZ, JATHIR             ADDRESS ON FILE
CARRILLO RODRIGUEZ, LUZ C              ADDRESS ON FILE
CARRILLO RODRIGUEZ, MAYRA I            ADDRESS ON FILE
CARRILLO RODRIGUEZ, NEFFER             ADDRESS ON FILE
CARRILLO RODRIGUEZ, PAUL A.            ADDRESS ON FILE
CARRILLO RODRIGUEZ, SONIA I            ADDRESS ON FILE
CARRILLO ROMAN, MARIA DEL C            ADDRESS ON FILE
CARRILLO ROSA, JORGE                   ADDRESS ON FILE
CARRILLO ROSARIO, NELLY                ADDRESS ON FILE
CARRILLO ROSARIO, NELLY                ADDRESS ON FILE
CARRILLO ROTGER, FELIX                 ADDRESS ON FILE
CARRILLO RUIZ, DAISY                   ADDRESS ON FILE
CARRILLO SANCHEZ MD, EDWIN             ADDRESS ON FILE
CARRILLO SANCHEZ, EDWIN                ADDRESS ON FILE
Carrillo Sanchez, Francisco            ADDRESS ON FILE
CARRILLO SANCHEZ, LUZ M                ADDRESS ON FILE
CARRILLO SANCHEZ, ROGELIA              ADDRESS ON FILE
CARRILLO SANJURJO, LISA L.             ADDRESS ON FILE
CARRILLO SANJURJO, LUIS                ADDRESS ON FILE
Carrillo Santos, Frankie               ADDRESS ON FILE
Carrillo Segarra, Juan C               ADDRESS ON FILE
CARRILLO SIERRA, FELIX                 ADDRESS ON FILE
CARRILLO SILVA, RITA E                 ADDRESS ON FILE
CARRILLO SOTO, ANTONIO                 ADDRESS ON FILE
CARRILLO SOTO, JULIO                   ADDRESS ON FILE
CARRILLO SOTO, SONIA                   ADDRESS ON FILE
CARRILLO TORRES, CARLA                 ADDRESS ON FILE
CARRILLO TORRES, FELIPE                ADDRESS ON FILE
CARRILLO TORRES, MARIA I               ADDRESS ON FILE




                                                                                   Page 1335 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1336 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRILLO TORRES, MOISES         ADDRESS ON FILE
CARRILLO TORRES, RAMON          ADDRESS ON FILE
CARRILLO TOSTE, ANGELICA        ADDRESS ON FILE
CARRILLO TOSTE, JAIME           ADDRESS ON FILE
CARRILLO VAZQUEZ, ELSIE         ADDRESS ON FILE
CARRILLO VAZQUEZ, LOURDES       ADDRESS ON FILE
CARRILLO VELAZQUEZ, ELISA       ADDRESS ON FILE
CARRILLO VELAZQUEZ, JULIEHANA   ADDRESS ON FILE
Carrillo Velazquez, Miguel A    ADDRESS ON FILE
CARRILLO VELEZ, AXEL            ADDRESS ON FILE
CARRILLO VELEZ, MARIA DE L      ADDRESS ON FILE
CARRILLO ZAYAS, DIANE           ADDRESS ON FILE
CARRILLO ZENO, AGUSTIN          ADDRESS ON FILE
CARRILLO, ALFREDO               ADDRESS ON FILE
CARRILLO, ELIA                  ADDRESS ON FILE
CARRILLO, GREGORIO A.           ADDRESS ON FILE
CARRILLO, KEYBO                 ADDRESS ON FILE
CARRILLO, KEYBO                 ADDRESS ON FILE
CARRILLO, LEONOR                ADDRESS ON FILE
CARRILLO, NEFFER E              ADDRESS ON FILE
CARRILO ALICEA, JOSE            ADDRESS ON FILE
CARRIO DONES, SANTOS            ADDRESS ON FILE
CARRIO ROSARIO, HECTOR          ADDRESS ON FILE
CARRION ABRIL, RICARDO          ADDRESS ON FILE
CARRION ACEVEDO, DAVID          ADDRESS ON FILE
CARRION ACEVEDO, DORCA          ADDRESS ON FILE
CARRION AGOSTO, ANA             ADDRESS ON FILE
CARRION AGOSTO, ANGEL L         ADDRESS ON FILE
CARRION AGOSTO, MARIA S.        ADDRESS ON FILE
CARRION ALBERIO, JULIO          ADDRESS ON FILE
CARRION ALEJANDRO, LIZMARIE     ADDRESS ON FILE
CARRION ALERS, ELIZABETH        ADDRESS ON FILE
CARRION ALICEA, ALEXIS          ADDRESS ON FILE
CARRION ALICEA, ISRAEL          ADDRESS ON FILE
CARRION ALICEA, KALIER          ADDRESS ON FILE
Carrion Alomar, Cecilia         ADDRESS ON FILE
CARRION ANDINO, ANA HILDA       ADDRESS ON FILE
CARRION ANTUNA, SUZETTE         ADDRESS ON FILE
CARRION APONTE, LUZ M           ADDRESS ON FILE
CARRION APONTE, SONIA           ADDRESS ON FILE
CARRION APONTE, TANIA           ADDRESS ON FILE
CARRION AQUINO, JAVIER          ADDRESS ON FILE
CARRION ARGUELLES, ORLANDO      ADDRESS ON FILE
CARRION ARROYO, ANGEL L.        ADDRESS ON FILE
CARRION ARROYO, EDITH           ADDRESS ON FILE
CARRION ARROYO, LILLIAN         ADDRESS ON FILE
CARRION ARROYO, LYDIA           ADDRESS ON FILE
CARRION AYALA, ANTONIO E        ADDRESS ON FILE
CARRION AYALA, VICTOR           ADDRESS ON FILE
CARRION BALDONI, ANGELES        ADDRESS ON FILE
CARRION BALDONI, ANGELES        ADDRESS ON FILE
CARRION BARALT, DAVID           ADDRESS ON FILE
CARRION BARRETO, HECTOR         ADDRESS ON FILE
CARRION BATISTA, DINORAH        ADDRESS ON FILE
CARRION BATISTA, LUIS F.        ADDRESS ON FILE
CARRION BAUZO, LUZ R            ADDRESS ON FILE
CARRION BECERRIL, ITZALIZ       ADDRESS ON FILE
CARRION BENITEZ, JOSE           ADDRESS ON FILE
CARRION BERMUDEZ, JOSE          ADDRESS ON FILE
CARRION BERMUDEZ, YAMILEE       ADDRESS ON FILE




                                                                            Page 1336 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1337 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION BETANCOURT, JOSE A.       ADDRESS ON FILE
CARRION BETANCOURT, JOSE A.       ADDRESS ON FILE
CARRION BETANCOURT, MAYRIN A      ADDRESS ON FILE
CARRION BONANO, CARMEN            ADDRESS ON FILE
CARRION BONANO, EVELYN            ADDRESS ON FILE
CARRION BONANO, LUZ M             ADDRESS ON FILE
CARRION BORIA, EDGARDO            ADDRESS ON FILE
CARRION BORIA, LUIS A             ADDRESS ON FILE
CARRION BORIA, NANCY              ADDRESS ON FILE
CARRION BRUNET, ROSELY            ADDRESS ON FILE
CARRION BURGOS, BETSAIDA          ADDRESS ON FILE
CARRION BURGOS, LORRAINNE         ADDRESS ON FILE
CARRION CACERES, ANGEL            ADDRESS ON FILE
CARRION CACERES, ANGELA           ADDRESS ON FILE
CARRION CACERES, ILEANA           ADDRESS ON FILE
CARRION CACERES, LIBERTAD         ADDRESS ON FILE
CARRION CALDERON, LUIS A          ADDRESS ON FILE
CARRION CALDERON, YAILYNE S       ADDRESS ON FILE
CARRION CALO, MIGDALIA            ADDRESS ON FILE
CARRION CAMACHO, NORBERTO         ADDRESS ON FILE
CARRION CANCEL, ELMY              ADDRESS ON FILE
CARRION CANCEL, ELMY M.           ADDRESS ON FILE
CARRION CANCEL, MARIA             ADDRESS ON FILE
CARRION CANCEL, MARIA DE LOS A.   ADDRESS ON FILE
CARRION CANDELARIA, AULERIANO     ADDRESS ON FILE
CARRION CARMONA, MELISSA L.       ADDRESS ON FILE
CARRION CARRASQUILLO, ADA M.      ADDRESS ON FILE
CARRION CARRASQUILLO, CARMEN L    ADDRESS ON FILE
CARRION CARRASQUILLO, MARIO       ADDRESS ON FILE
CARRION CARRION, EDGARDO          ADDRESS ON FILE
Carrion Carrion, Evelyn           ADDRESS ON FILE
CARRION CARRION, EVELYN           ADDRESS ON FILE
CARRION CARRION, KARLA            ADDRESS ON FILE
CARRION CARRION, MARGARITA        ADDRESS ON FILE
CARRION CARRION, WANDA I          ADDRESS ON FILE
CARRION CASTRO, EVELYN            ADDRESS ON FILE
CARRION CASTRO, MANUEL            ADDRESS ON FILE
CARRION CHAPMAN, EVANGELINA       ADDRESS ON FILE
CARRION CHEVEREZ, CLARIBEL        ADDRESS ON FILE
CARRION CLAS, KATHERINE           ADDRESS ON FILE
CARRION COLLAZO, ABBIARYS         ADDRESS ON FILE
CARRION COLON, CARLOS             ADDRESS ON FILE
CARRION COLON, CARLOS T           ADDRESS ON FILE
CARRION COLON, GLORYMAR           ADDRESS ON FILE
CARRION COLON, GLORYMAR           ADDRESS ON FILE
Carrion Colon, Jose               ADDRESS ON FILE
CARRION COLON, JUAN C.            ADDRESS ON FILE
CARRION COLON, JUAN R.            ADDRESS ON FILE
CARRION COLON, LIA                ADDRESS ON FILE
CARRION COLON, MARIBEL            ADDRESS ON FILE
CARRION COLON, SEVERO             ADDRESS ON FILE
CARRION CONCEPCION, ANACELIS      ADDRESS ON FILE
CARRION CONCEPCION, HIRAM         ADDRESS ON FILE
CARRION CORREA, CARMEN N          ADDRESS ON FILE
CARRION CORREA, FEDERICO          ADDRESS ON FILE
Carrion Correa, Pablo             ADDRESS ON FILE
CARRION COTTO, FELICIANO          ADDRESS ON FILE
CARRION COTTO, MARIA              ADDRESS ON FILE
CARRION COTTO, MARIA              ADDRESS ON FILE
CARRION COTTO, MARIA S            ADDRESS ON FILE




                                                                              Page 1337 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1338 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION CRESPO, CARLOS R.      ADDRESS ON FILE
CARRION CRESPO, SONIA          ADDRESS ON FILE
CARRION CRUZ, EDWARD           ADDRESS ON FILE
CARRION CRUZ, JOSE             ADDRESS ON FILE
CARRION CRUZ, ORLANDO          ADDRESS ON FILE
CARRION CRUZ, OSCAR            ADDRESS ON FILE
CARRION CRUZ, REBECA Y.        ADDRESS ON FILE
CARRION CRUZ, RICARDO          ADDRESS ON FILE
CARRION CRUZ, RICARDO          ADDRESS ON FILE
CARRIÓN CUADRADO, JAIME        LUIS LAGUNA MIMOSO,       PO BOX 1116                                            CAGUAS       PR      00726
CARRIÓN CUADRADO, JAIME        MARIA T. PEREZ ILLADE,    APARTADO 1251                                          CAGUAS       PR      00726
CARRIÓN CUADRADO, JAIME        OFELIA PANDO FUNDORA,     PO BOX 902133                                          SAN JUAN     PR      00902
CARRIÓN CUADRADO, JAIME        RAFAEL DAVILA SEVILLANO
CARRIÓN CUADRADO, JAIME        SIDRIG LOPEZ GONZALEZ,    PO BOX 195233                                          SAN JUAN     PR      00919‐5233
CARRIÓN CUADRADO, JAIME        TERESA M. GARCIA MOLL,    PO BOX 2129                                            SAN JUAN     PR      00922‐2129
CARRION CUSTODIO, JOSE R.      ADDRESS ON FILE
CARRION DAVILA, DEBORAH        ADDRESS ON FILE
CARRION DAVILA, ILDEEMANUEL    ADDRESS ON FILE
CARRION DE JESUS MD, ARTURO    ADDRESS ON FILE
Carrion De Jesus, Carlos J     ADDRESS ON FILE
CARRION DE JESUS, YIVETTE      ADDRESS ON FILE
CARRION DE LEON MD, SALVADOR   ADDRESS ON FILE
CARRION DE PENA, MARIA M       ADDRESS ON FILE
CARRION DE SCHEERER, GLADYS    ADDRESS ON FILE
Carrion De Velez, Iris D       ADDRESS ON FILE
CARRION DEL RIO, ELIZABETH     ADDRESS ON FILE
CARRION DEL TORO, LEILANY      ADDRESS ON FILE
CARRION DEL TORO, LORELEI M.   ADDRESS ON FILE
CARRION DELGADO, ANTONIO       ADDRESS ON FILE
CARRION DELGADO, TANIA         ADDRESS ON FILE
CARRION DENIS, SANDRA I        ADDRESS ON FILE
CARRION DIAZ MD, YOLANDA       ADDRESS ON FILE
CARRION DIAZ, CARMEN           ADDRESS ON FILE
CARRION DIAZ, ELI              ADDRESS ON FILE
CARRION DIAZ, HILARIA          ADDRESS ON FILE
CARRION DIAZ, JOSE             ADDRESS ON FILE
CARRION DIAZ, JOSE A           ADDRESS ON FILE
CARRION DIAZ, JOSE R           ADDRESS ON FILE
CARRION DIAZ, JUAN             ADDRESS ON FILE
CARRION DIAZ, MILDRED          ADDRESS ON FILE
CARRION DIAZ, RAMON            ADDRESS ON FILE
CARRION DIAZ, ROSEMARY         ADDRESS ON FILE
CARRION DIAZ, VICENTE          ADDRESS ON FILE
Carrion Diaz, Vidalis A.       ADDRESS ON FILE
CARRION DIAZ, YADIRA           ADDRESS ON FILE
CARRION DIAZ,ELI               ADDRESS ON FILE
CARRION DISDIER, GYPSA I       ADDRESS ON FILE
CARRION DOMENA, SIGFREDO       ADDRESS ON FILE
CARRION DOMENA, SIGFREDO       ADDRESS ON FILE
CARRION DONATO, MARIA M.       ADDRESS ON FILE
CARRION DONES, MYRIAM          ADDRESS ON FILE
CARRION DONES, ROSA            ADDRESS ON FILE
CARRION ERAZO, JENNIFER        ADDRESS ON FILE
CARRION ESCOBAR, GLORIA E.     ADDRESS ON FILE
CARRION ESCOBAR, LUIS          ADDRESS ON FILE
CARRION ESQUILIN, RUTH         ADDRESS ON FILE
CARRION ESQUILIN, RUTH         ADDRESS ON FILE
CARRION FACUNDO, ALODIA        ADDRESS ON FILE
CARRION FANTAUZZI, LUZ I       ADDRESS ON FILE
CARRION FARRIL, YESENIA        ADDRESS ON FILE




                                                                           Page 1338 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1339 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION FELICIANO, BEATRIZ        ADDRESS ON FILE
CARRION FELICIANO, BEATRIZ        ADDRESS ON FILE
CARRION FELICIANO, RAMON E        ADDRESS ON FILE
CARRION FIGUEROA, BETZAIDA        ADDRESS ON FILE
CARRION FIGUEROA, ROSELINE        ADDRESS ON FILE
CARRION FLORES, LAURO             ADDRESS ON FILE
CARRION FLORES, YAMILKA           ADDRESS ON FILE
CARRION FONTANEZ, AMADO           ADDRESS ON FILE
Carrion Fuentes, Linda J.         ADDRESS ON FILE
CARRION GALARZA, LUIS A           ADDRESS ON FILE
Carrion Garcia, Bionett V         ADDRESS ON FILE
CARRION GARCIA, DANIESKA          ADDRESS ON FILE
Carrion Gaston, Manuel            ADDRESS ON FILE
CARRION GAUTIER, ALMA R           ADDRESS ON FILE
CARRION GAUTIER, GILBERT          ADDRESS ON FILE
CARRION GEIGEL, ANA               ADDRESS ON FILE
CARRION GEIGEL, TERESITA M        ADDRESS ON FILE
CARRION GEIGEL, TERESITA M        ADDRESS ON FILE
CARRION GOMEZ, DANERIS            ADDRESS ON FILE
Carrion Gomez, Jose D.            ADDRESS ON FILE
CARRION GOMEZ, MARIA              ADDRESS ON FILE
CARRION GONZALEZ MD, IBIS         ADDRESS ON FILE
CARRION GONZALEZ, DHELMA          ADDRESS ON FILE
CARRION GONZALEZ, DHELMA I        ADDRESS ON FILE
CARRION GONZALEZ, EFIGENIA        ADDRESS ON FILE
CARRION GONZALEZ, KELVIN          ADDRESS ON FILE
CARRION GONZALEZ, MARIA           ADDRESS ON FILE
CARRION GONZALEZ, MIGDALIA        ADDRESS ON FILE
CARRION GONZALEZ, RAFAEL          ADDRESS ON FILE
CARRION GONZALEZ, RAMON T         ADDRESS ON FILE
CARRION GONZALEZ, RICHARD         ADDRESS ON FILE
CARRION GONZALEZ, ROLANDO         ADDRESS ON FILE
CARRION GONZALEZ, WANDA I         ADDRESS ON FILE
CARRION GONZALEZ, ZENAIDA         ADDRESS ON FILE
Carrion Gorbea, Cynthia Ivette    ADDRESS ON FILE
CARRION GUADALUPE, ROBERTO        ADDRESS ON FILE
CARRION GUADALUPE, YOLANDA        ADDRESS ON FILE
CARRION GUEVARA, HERIBERTO        ADDRESS ON FILE
Carrion Guevara, Juan J           ADDRESS ON FILE
CARRION GUZMAN MD, MICHELLE       ADDRESS ON FILE
CARRION GUZMAN, JAVIER E          ADDRESS ON FILE
CARRION GUZMAN, LUIS              ADDRESS ON FILE
CARRION GUZMAN, LUIS              ADDRESS ON FILE
CARRION GUZMAN, NEFTALI           ADDRESS ON FILE
CARRION GUZMAN, NELLY E.          ADDRESS ON FILE
CARRION GUZMAN, RAQUEL            ADDRESS ON FILE
CARRION GUZMAN, REBECA            ADDRESS ON FILE
CARRION GUZMAN,JULIO              ADDRESS ON FILE
CARRION HERNANDEZ, DANIEL         ADDRESS ON FILE
CARRION HERNANDEZ, DORYEM         ADDRESS ON FILE
CARRION HERNANDEZ, MALVIN         ADDRESS ON FILE
CARRION HERRERA, DENISE           ADDRESS ON FILE
CARRION HUERTAS, MARINA           ADDRESS ON FILE
CARRION JORDAN, FRANCISCO         ADDRESS ON FILE
CARRION JORDAN, SANTOS            ADDRESS ON FILE
CARRION KUILAN, CATALINA          ADDRESS ON FILE
CARRION LAGUER, HILDA I           ADDRESS ON FILE
CARRION LAUREANO, GRISEL          ADDRESS ON FILE
CARRION LAUREANO, OMAYRA L        ADDRESS ON FILE
CARRION LEBRON, EDGARDO JOAQUIN   ADDRESS ON FILE




                                                                              Page 1339 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1340 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION LEBRON, JESSICA       ADDRESS ON FILE
Carrion Lopez, Angelo D       ADDRESS ON FILE
CARRION LOPEZ, CARMEN A       ADDRESS ON FILE
Carrion Lopez, Carmen D       ADDRESS ON FILE
CARRION LOPEZ, GLADYS         ADDRESS ON FILE
Carrion Lopez, Jose M         ADDRESS ON FILE
CARRION LOPEZ, LUIS           ADDRESS ON FILE
CARRION LOPEZ, MEL            ADDRESS ON FILE
CARRION LORENZO MD, CARLOS    ADDRESS ON FILE
CARRION LOZADA, MINERVA       ADDRESS ON FILE
Carrion Lugo, Mayra           ADDRESS ON FILE
CARRION MACEIRA, CARL         ADDRESS ON FILE
Carrion Maldonado, Carlos     ADDRESS ON FILE
CARRION MALDONADO, GRISELLE   ADDRESS ON FILE
CARRION MARCANO, MIRIAM D     ADDRESS ON FILE
CARRION MARRERO, CARLOS       ADDRESS ON FILE
CARRION MARRERO, FERNANDO     ADDRESS ON FILE
CARRION MARTIN, GIOVANNA      ADDRESS ON FILE
CARRION MARTINEZ, ANABELLE    ADDRESS ON FILE
CARRION MARTINEZ, GLORIA M    ADDRESS ON FILE
CARRION MARTINEZ, JULIO       ADDRESS ON FILE
CARRION MARTINEZ, KARINA      ADDRESS ON FILE
CARRION MARTINEZ, MARIA M     ADDRESS ON FILE
CARRION MARTINEZ, NILDA       ADDRESS ON FILE
CARRION MARTINEZ, YOLANDA     ADDRESS ON FILE
CARRION MARTINEZ, ZAMALY      ADDRESS ON FILE
CARRION MARTIR, ANA           ADDRESS ON FILE
Carrion Matias, Jesus L       ADDRESS ON FILE
CARRION MATIAS, MARANGELY     ADDRESS ON FILE
CARRION MATIAS, MARANGELY     ADDRESS ON FILE
CARRION MATIAS, MILAGROS      ADDRESS ON FILE
CARRION MATOS, JAVIER         ADDRESS ON FILE
CARRION MATOS, SANDRA         ADDRESS ON FILE
CARRION MAURAS, JOSE          ADDRESS ON FILE
CARRION MAYMI, ANGEL L.       ADDRESS ON FILE
CARRION MEDINA, HECTOR L      ADDRESS ON FILE
CARRION MELECIO, ARLEEN       ADDRESS ON FILE
CARRION MELENDEZ, DAVID       ADDRESS ON FILE
CARRION MELENDEZ, EDUARDO     ADDRESS ON FILE
Carrion Melendez, Jose A      ADDRESS ON FILE
CARRION MELENDEZ, JULIO       ADDRESS ON FILE
CARRION MELENDEZ, JULIO       ADDRESS ON FILE
CARRION MELENDEZ, LUZ A       ADDRESS ON FILE
CARRION MELENDEZ, ROSALIND    ADDRESS ON FILE
CARRION MELENDEZ, YARA M.     ADDRESS ON FILE
CARRION MENDEZ, AMBROSIA      ADDRESS ON FILE
CARRION MENDEZ, YAZBETH       ADDRESS ON FILE
CARRION MENDOZA, MARIA I.     ADDRESS ON FILE
CARRION MERCADO, ANTONIO      ADDRESS ON FILE
CARRION MERCADO, BLANCA I     ADDRESS ON FILE
CARRION MERCADO, MIGUEL       ADDRESS ON FILE
CARRION MERCED, CARLOS A      ADDRESS ON FILE
CARRION MILLAN, ILEANA M      ADDRESS ON FILE
CARRION MILLAN, WANDA I       ADDRESS ON FILE
Carrion Millet, Manuel A      ADDRESS ON FILE
CARRION MIRANDA, HECTOR S     ADDRESS ON FILE
Carrion Miranda, Ramon        ADDRESS ON FILE
CARRION MOJICA, CHRISTIAN     ADDRESS ON FILE
CARRION MOLINA, MIGUEL A      ADDRESS ON FILE
CARRION MOLINA, MIGUEL A      ADDRESS ON FILE




                                                                          Page 1340 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1341 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION MOLINA, MIRRIAM       ADDRESS ON FILE
CARRION MONSERRATE, FRANCES   ADDRESS ON FILE
CARRION MORALES, DANIEL A     ADDRESS ON FILE
CARRION MORALES, LETTY I.     ADDRESS ON FILE
CARRION MUJICA, CARLOS        ADDRESS ON FILE
CARRION MUNIZ, JOSE L.        ADDRESS ON FILE
CARRION MUÑIZ, JOSE L.        ADDRESS ON FILE
CARRION MUNOZ, DAIBER N       ADDRESS ON FILE
CARRION MUNOZ, DINORAH        ADDRESS ON FILE
CARRION MURGA, LILLIAM        ADDRESS ON FILE
CARRION NAVARRO, IRMA I       ADDRESS ON FILE
CARRION NAVARRO, YOLANDA      ADDRESS ON FILE
CARRION NAVEDO, RAUL E.       ADDRESS ON FILE
CARRION NEGRON, MARIBEL       ADDRESS ON FILE
CARRION NEGRON, MARTA         ADDRESS ON FILE
CARRION NEVAREZ, GUILLERMO    ADDRESS ON FILE
CARRION NEVAREZ, ZULAY        ADDRESS ON FILE
Carrión Nieves, Angel X.      ADDRESS ON FILE
CARRION NIEVES, ATABEY        ADDRESS ON FILE
CARRION NIEVES, BENIGNA       ADDRESS ON FILE
CARRION NIEVES, CARMELO       ADDRESS ON FILE
CARRION NIEVES, JULISSA C     ADDRESS ON FILE
CARRION NIEVES, ULDA          ADDRESS ON FILE
CARRION NIEVES, VERONICA      ADDRESS ON FILE
CARRION OCASIO, JAHAIRA       ADDRESS ON FILE
CARRION OJEDA, FELIX A        ADDRESS ON FILE
CARRION OJEDA, JOSE L         ADDRESS ON FILE
CARRION OLMEDO, KARLA         ADDRESS ON FILE
CARRION ONEILL, LUIS          ADDRESS ON FILE
CARRION ORLANDI, ALFREDO      ADDRESS ON FILE
CARRION ORLANDI, ALFREDO      ADDRESS ON FILE
CARRION ORTEGA, GLADYS        ADDRESS ON FILE
CARRION ORTEGA, MARIA         ADDRESS ON FILE
CARRION ORTEGA, MARIA E.      ADDRESS ON FILE
CARRION ORTIZ, ADA M.         ADDRESS ON FILE
CARRION ORTIZ, DAISY          ADDRESS ON FILE
CARRION ORTIZ, EMILIA         ADDRESS ON FILE
CARRION ORTIZ, GILBERTO       ADDRESS ON FILE
CARRION ORTIZ, NEIDA M        ADDRESS ON FILE
CARRION ORTIZ, PEDRO J.       ADDRESS ON FILE
CARRION ORTIZ, RICARDO        ADDRESS ON FILE
Carrion Ortiz, Rufino         ADDRESS ON FILE
CARRION ORTIZ, RUTH MARIE     ADDRESS ON FILE
CARRION ORTIZ, WILMA R        ADDRESS ON FILE
CARRION OSORIO, ANGEL         ADDRESS ON FILE
CARRION PAGAN, CARLOS J       ADDRESS ON FILE
CARRION PAGAN, LOURDES        ADDRESS ON FILE
CARRION PAGAN, ORLANDO        ADDRESS ON FILE
CARRION PARRILLA, HECTOR      ADDRESS ON FILE
CARRION PELLOT, NOE           ADDRESS ON FILE
CARRION PERAZA, LESBIA I.     ADDRESS ON FILE
CARRION PERAZA, LESBIA I.     ADDRESS ON FILE
CARRION PEREIRA, FELICITA     ADDRESS ON FILE
CARRION PEREZ, BETTY          ADDRESS ON FILE
CARRION PEREZ, EDWIN          ADDRESS ON FILE
CARRION PEREZ, GISELA D.      ADDRESS ON FILE
CARRION PEREZ, GLADYS         ADDRESS ON FILE
CARRION PEREZ, HECTOR         ADDRESS ON FILE
CARRION PEREZ, LUIS           ADDRESS ON FILE
CARRION PEREZ, MIGUEL         ADDRESS ON FILE




                                                                          Page 1341 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1342 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION PEREZ, RUTH           ADDRESS ON FILE
CARRION PIMENTEL, LUZ E       ADDRESS ON FILE
CARRION PINEIRO, HILDA        ADDRESS ON FILE
CARRION PRINCE, CARMEN I.     ADDRESS ON FILE
CARRION PUCHALES, AMILKAR     ADDRESS ON FILE
CARRION PUCHALES, AMIN        ADDRESS ON FILE
CARRION PUCHALES, FELICIANO   ADDRESS ON FILE
CARRION PUCHALES, ZULEYKA     ADDRESS ON FILE
CARRION QUILES, DORIS         ADDRESS ON FILE
CARRION QUINONES, JOSE        ADDRESS ON FILE
CARRION QUINONES, LILYVETTE   ADDRESS ON FILE
CARRION QUINONES, LUZ         ADDRESS ON FILE
CARRION QUINONES, MANUELA     ADDRESS ON FILE
CARRION QUINONES, ODALYS M    ADDRESS ON FILE
CARRION QUINONES, SANDRA      ADDRESS ON FILE
CARRION QUINTANA, JOSE R      ADDRESS ON FILE
CARRION RAMIREZ, ALMA         ADDRESS ON FILE
CARRION RAMIREZ, ALMA I.      ADDRESS ON FILE
CARRION RAMIREZ, ERIC M       ADDRESS ON FILE
CARRION RAMIREZ, ERIC M       ADDRESS ON FILE
Carrion Ramirez, Jumariel     ADDRESS ON FILE
CARRION RAMIREZ, JUMARIEL     ADDRESS ON FILE
CARRION RAMIREZ, KEVIN        ADDRESS ON FILE
CARRION RAMOS, CARLOS         ADDRESS ON FILE
CARRION RAMOS, CARLOS L       ADDRESS ON FILE
CARRION RAMOS, EVELYN         ADDRESS ON FILE
CARRION RAMOS, JORGE          ADDRESS ON FILE
CARRION RAMOS, JORGE E        ADDRESS ON FILE
CARRION RAMOS, RAIZA          ADDRESS ON FILE
CARRION RAMOS, RAQUEL         ADDRESS ON FILE
CARRION RESTO, JOSE A         ADDRESS ON FILE
CARRION REYES, AMPARO         ADDRESS ON FILE
CARRION REYES, JORGE E.       ADDRESS ON FILE
CARRION REYES, LAURA E        ADDRESS ON FILE
Carrion Reyes, Luis E.        ADDRESS ON FILE
CARRION REYES, REY A          ADDRESS ON FILE
CARRION RIOS MD, CARLOS       ADDRESS ON FILE
CARRION RIOS, FRANCISCO       ADDRESS ON FILE
CARRION RIOS, MIZRAIM         ADDRESS ON FILE
CARRION RIVERA, ALBINA        ADDRESS ON FILE
CARRION RIVERA, ANA M         ADDRESS ON FILE
Carrion Rivera, Arcadio       ADDRESS ON FILE
CARRION RIVERA, CARLOS        ADDRESS ON FILE
CARRION RIVERA, EDGARDO       ADDRESS ON FILE
Carrion Rivera, Eduardo       ADDRESS ON FILE
CARRION RIVERA, FRANCIS       ADDRESS ON FILE
CARRION RIVERA, FRANCISCA     ADDRESS ON FILE
CARRION RIVERA, GLADYS        ADDRESS ON FILE
CARRION RIVERA, JAIME         ADDRESS ON FILE
CARRION RIVERA, JESUS         ADDRESS ON FILE
CARRION RIVERA, JOSE          ADDRESS ON FILE
CARRION RIVERA, JOSE A.       ADDRESS ON FILE
Carrion Rivera, Jose L        ADDRESS ON FILE
CARRION RIVERA, JOSIAS        ADDRESS ON FILE
CARRION RIVERA, JULIO         ADDRESS ON FILE
CARRION RIVERA, JULIO         ADDRESS ON FILE
CARRION RIVERA, LUIS A        ADDRESS ON FILE
CARRION RIVERA, MELVIN        ADDRESS ON FILE
CARRION RIVERA, MIRIAM        ADDRESS ON FILE
CARRION RIVERA, NEYSA E       ADDRESS ON FILE




                                                                          Page 1342 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1343 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION RIVERA, STEPHANIE         ADDRESS ON FILE
CARRION RIVERA, WANDA             ADDRESS ON FILE
CARRION RIVERA, YAIDIE M          ADDRESS ON FILE
CARRION ROBLES, CAMELIA           ADDRESS ON FILE
CARRION ROBLES, VERONICA          ADDRESS ON FILE
CARRION RODRIGUEZ, AIDA           ADDRESS ON FILE
CARRION RODRIGUEZ, ALEX           ADDRESS ON FILE
CARRION RODRIGUEZ, ANGEL M.       ADDRESS ON FILE
CARRION RODRIGUEZ, ANGEL R        ADDRESS ON FILE
CARRION RODRIGUEZ, BRUNILDA       ADDRESS ON FILE
Carrion Rodriguez, Carlos         ADDRESS ON FILE
CARRION RODRIGUEZ, CARLOS         ADDRESS ON FILE
CARRION RODRIGUEZ, CARLOS A       ADDRESS ON FILE
CARRION RODRIGUEZ, CARMEN M       ADDRESS ON FILE
CARRION RODRIGUEZ, DAISY          ADDRESS ON FILE
CARRION RODRIGUEZ, EUNICE         ADDRESS ON FILE
CARRION RODRIGUEZ, FELIX J        ADDRESS ON FILE
CARRION RODRIGUEZ, FELIX J        ADDRESS ON FILE
CARRION RODRIGUEZ, GLENDALY       ADDRESS ON FILE
CARRION RODRIGUEZ, HECTOR L       ADDRESS ON FILE
CARRION RODRIGUEZ, ILEANA M       ADDRESS ON FILE
CARRION RODRIGUEZ, JAZMIN         ADDRESS ON FILE
CARRION RODRIGUEZ, JESSICA M.     ADDRESS ON FILE
CARRION RODRIGUEZ, JOSUE          ADDRESS ON FILE
CARRION RODRIGUEZ, JUDITH A       ADDRESS ON FILE
CARRION RODRIGUEZ, JUDITH M       ADDRESS ON FILE
CARRION RODRIGUEZ, KELVIN         ADDRESS ON FILE
CARRION RODRIGUEZ, KELVIN M.      ADDRESS ON FILE
CARRION RODRIGUEZ, LESLIE         ADDRESS ON FILE
CARRION RODRIGUEZ, MARJORIE       ADDRESS ON FILE
CARRION RODRIGUEZ, RACHEL M       ADDRESS ON FILE
CARRION RODRIGUEZ, RAMONITA       ADDRESS ON FILE
CARRION ROMAN, BEATRIZ            ADDRESS ON FILE
CARRION ROMAN, FERNANDO           ADDRESS ON FILE
CARRION ROMAN, HECTOR L           ADDRESS ON FILE
CARRION ROMAN, JESSICA            ADDRESS ON FILE
CARRION ROMAN, MARIA DE LOS       ADDRESS ON FILE
CARRION ROMAN, ODALYS             ADDRESS ON FILE
CARRION ROSA, AMELIA              ADDRESS ON FILE
CARRION ROSA, ARISDELIZ           ADDRESS ON FILE
CARRION ROSA, LUIS A              ADDRESS ON FILE
CARRION ROSA, NOEMI               ADDRESS ON FILE
Carrion Rosa, Victor              ADDRESS ON FILE
CARRION ROSADO, JETZABEL          ADDRESS ON FILE
CARRION ROSARIO, GLORIAL          ADDRESS ON FILE
CARRION ROSARIO, RICARDO          ADDRESS ON FILE
CARRION RUIZ, JULIO               ADDRESS ON FILE
CARRION RUIZ, MAGDA               ADDRESS ON FILE
CARRION RUIZ, MARIA               ADDRESS ON FILE
CARRION RUSSE, CARMEN I           ADDRESS ON FILE
CARRION RUSSE, EDUARDO            ADDRESS ON FILE
CARRION RUSSE, EDUARDO            ADDRESS ON FILE
CARRION SALABARRIA, RAMON C       ADDRESS ON FILE
CARRION SALGADO, JOSE J.          ADDRESS ON FILE
CARRION SANABRIA, JUAN            ADDRESS ON FILE
CARRION SANABRIA, NOEMI           ADDRESS ON FILE
CARRION SANCHEZ, JAVIER ALBERTO   ADDRESS ON FILE
CARRION SANCHEZ, JUAN A           ADDRESS ON FILE
CARRION SANCHEZ, NELSA            ADDRESS ON FILE
CARRION SANCHEZ, NOHEMA           ADDRESS ON FILE




                                                                              Page 1343 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1344 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARRION SANTANA, OLGA            ADDRESS ON FILE
CARRION SANTIAGO, ANA J          ADDRESS ON FILE
CARRION SANTIAGO, ELBA M         ADDRESS ON FILE
CARRION SANTIAGO, ENRIQUE        ADDRESS ON FILE
CARRION SANTIAGO, FRANCISCO      ADDRESS ON FILE
CARRION SANTIAGO, MARGARITA      ADDRESS ON FILE
CARRION SANTIAGO, MARIA          ADDRESS ON FILE
CARRION SANTIAGO, MORAIMA        ADDRESS ON FILE
CARRION SANTIAGO, SANDRA         ADDRESS ON FILE
CARRION SANTOS, CELSO L          ADDRESS ON FILE
CARRION SEGARRA MD, ENRIQUE      ADDRESS ON FILE
CARRION SEGARRA, ENRIQUE         ADDRESS ON FILE
CARRION SERRANO, ANGEL EDGARDO   ADDRESS ON FILE
Carrion Serrano, Felipe          ADDRESS ON FILE
CARRION SERRANO, SANDRA I        ADDRESS ON FILE
CARRION SIAREZ, CYNTHIA A        ADDRESS ON FILE
CARRION SIAREZ, CYNTHIA A.       ADDRESS ON FILE
CARRION SIERRA, RENE             ADDRESS ON FILE
CARRION SOTO, EDWIN              ADDRESS ON FILE
CARRION SOTO, ERNA               ADDRESS ON FILE
CARRION SOTO, MARILLIAM          ADDRESS ON FILE
CARRION SOTO, RICARDO            ADDRESS ON FILE
CARRION SOTO, SAHILY             ADDRESS ON FILE
CARRION SOTO, WILLIAM            ADDRESS ON FILE
CARRION SOTOMAYOR, BRYAN         ADDRESS ON FILE
CARRION SOTOMAYOR, LUIS          ADDRESS ON FILE
CARRION SUAREZ, VICMARI          ADDRESS ON FILE
CARRION TAVAREZ, LUIS A.         ADDRESS ON FILE
CARRION TIRADO, JUAN             ADDRESS ON FILE
CARRION TIRADO, MARISELA         ADDRESS ON FILE
CARRION TIRADO, MARISELA         ADDRESS ON FILE
CARRION TIRADO, OSCAR E          ADDRESS ON FILE
CARRION TIRADO, RAFAEL           ADDRESS ON FILE
CARRION TORRES, FRANCISCO        ADDRESS ON FILE
CARRION TORRES, GABRIEL          ADDRESS ON FILE
CARRION TORRES, GLORIA E         ADDRESS ON FILE
Carrion Torres, Jose F           ADDRESS ON FILE
CARRION TORRES, LEONARDO         ADDRESS ON FILE
CARRION TORRES, ODETTE           ADDRESS ON FILE
CARRION TORRES, OMAR             ADDRESS ON FILE
CARRION TORRES, PABLO R.         ADDRESS ON FILE
Carrion Trinidad, Dinorah        ADDRESS ON FILE
CARRION TROCHE, LOURDES M.       ADDRESS ON FILE
CARRION VALDERRAMA, GILBERTO     ADDRESS ON FILE
CARRION VALENTIN, HENRY          ADDRESS ON FILE
CARRION VARGAS, IDA I            ADDRESS ON FILE
CARRION VARGAS, JOSE             ADDRESS ON FILE
CARRION VARGAS, MARUXA           ADDRESS ON FILE
CARRION VARGAS, RODOLFO          ADDRESS ON FILE
CARRION VAZQUEZ, ALEX            ADDRESS ON FILE
CARRION VAZQUEZ, HECTOR          ADDRESS ON FILE
CARRION VAZQUEZ, LETICIA         ADDRESS ON FILE
CARRION VAZQUEZ, LUIS            ADDRESS ON FILE
CARRION VAZQUEZ, MARIA DEL C     ADDRESS ON FILE
CARRION VAZQUEZ, MARIA M         ADDRESS ON FILE
CARRION VAZQUEZ, MIGUEL          ADDRESS ON FILE
CARRION VAZQUEZ, WANDA LIS       ADDRESS ON FILE
CARRION VEGA, ANGEL L            ADDRESS ON FILE
Carrion Vega, Jose A             ADDRESS ON FILE
CARRION VEGA, LUZ E              ADDRESS ON FILE




                                                                             Page 1344 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1345 of 3500
                                                                               17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                   Address1                              Address2                  Address3   Address4   City           State   PostalCode   Country
CARRION VEGA, MARILYN D.        ADDRESS ON FILE
CARRION VEGA, MARY JULIA        ADDRESS ON FILE
CARRION VEGA, VICTOR            ADDRESS ON FILE
CARRION VELAZQUEZ, IDALIZ       ADDRESS ON FILE
CARRION VELAZQUEZ, JESUS        ADDRESS ON FILE
CARRION VELAZQUEZ, JOEL         ADDRESS ON FILE
CARRION VELAZQUEZ, JOEL D.      ADDRESS ON FILE
CARRION VELAZQUEZ, JUAN         ADDRESS ON FILE
Carrion Velez, Cesar R          ADDRESS ON FILE
CARRION VELEZ, EVELYN           ADDRESS ON FILE
CARRION VELEZ, ISAMARA          ADDRESS ON FILE
CARRION VELEZ, JORGE            ADDRESS ON FILE
CARRION VELEZ, MONSERRATE       ADDRESS ON FILE
CARRION VELEZ, NATALIE          ADDRESS ON FILE
CARRION VELILLA, JOSE           ADDRESS ON FILE
Carrion Vera, Idelfonso         ADDRESS ON FILE
CARRION VERA, ILDEFONSO         ADDRESS ON FILE
CARRION VIERA, GUILLERMO M.     ADDRESS ON FILE
CARRION VIERA, SUGEIL           ADDRESS ON FILE
CARRION VIGO, ERNESTO           ADDRESS ON FILE
CARRION VIGO, JUAN E            ADDRESS ON FILE
CARRION VILLANUEVA, LUIS        ADDRESS ON FILE
CARRION VILLEGAS, MARILYN       ADDRESS ON FILE
CARRION ZAYAS, CAMILO           ADDRESS ON FILE
CARRION ZAYAS, CAMILO           ADDRESS ON FILE
CARRION ZAYAS, CAMILO           ADDRESS ON FILE
CARRION, EDGARDO                ADDRESS ON FILE
CARRION, GADIEL                 ADDRESS ON FILE
CARRION, GERALDO                ADDRESS ON FILE
CARRION, GUILLERMO              ADDRESS ON FILE
CARRION, JUAN MANUEL            ADDRESS ON FILE
CARRION, JULIO LUIS             ADDRESS ON FILE
CARRION, ROXANNE D.             ADDRESS ON FILE
CARRION, WILFREDO               ADDRESS ON FILE
CARRIOTECH INC                  P O BOX 354                                                                           DORADO         PR      00646
CARRO & CARRO STABLE INC        PO BOX 1263                                                                           CIALES         PR      00638
CARRO ANZALOTA MD, FRANCISCO    ADDRESS ON FILE
CARRO ANZALOTTA MD, FRANCISCO   ADDRESS ON FILE
CARRO COLON, FELIPE             ADDRESS ON FILE
CARRO COLON, MAYRA E            ADDRESS ON FILE
CARRO FELICIANO, FRANK          ADDRESS ON FILE
CARRO FELICIANO, JOSE           ADDRESS ON FILE
CARRO FIGUEROA MD, ERICK        ADDRESS ON FILE
CARRO LAHONGRAIS, MARIA         ADDRESS ON FILE
CARRO LAHONGRAIS, MARIA T.      ADDRESS ON FILE
CARRO MATO                      ADDRESS ON FILE
CARRO MIRANDA, JOSE             ADDRESS ON FILE
CARRO MIRANDA, JULIA E          ADDRESS ON FILE
CARRO ORTIZ, ELBA R             ADDRESS ON FILE
CARRO ORTIZ, WANDA E            ADDRESS ON FILE
CARRO PAGAN, PROVIDENCIA        ADDRESS ON FILE
CARRO ROIG, MARIELISA           ADDRESS ON FILE
CARRO SOTO MD, JOSE A           ADDRESS ON FILE
CARRO SOTO, LUIS                ADDRESS ON FILE
Carro‐Mato, Inc.                Urb. Los Arboles, Calle Tulipan #51                                                   Rio Grande     PR      00745
CARROMERO MARCANO, JOSE         ADDRESS ON FILE
CARROMERO RIVERA, NELLY T       ADDRESS ON FILE
CARRON ACOSTA, CLAUDIO E        ADDRESS ON FILE
CARRON ACOSTA, LILLIAM          ADDRESS ON FILE
CARRRASQUILLO FUENTES, JOSE A   ADDRESS ON FILE




                                                                                 Page 1345 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1346 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                     Address1                     Address2                             Address3   Address4   City         State   PostalCode   Country
CARRSQUILLO FUENTES, OLGA         ADDRESS ON FILE
CARRUBBA MCPHERSON, LISAMARIE     ADDRESS ON FILE
CARRUCINI ARREAGA, IVETTE         ADDRESS ON FILE
CARRUCINI ARTACHE, ANNETE G       ADDRESS ON FILE
Carrucini Ayala, Angel R          ADDRESS ON FILE
CARRUCINI BAEZ, JANISSE           ADDRESS ON FILE
CARRUCINI BERMUDE, GLADYS B       ADDRESS ON FILE
Carrucini Bermudez, Hector        ADDRESS ON FILE
CARRUCINI FALCON, ADALBERTO       ADDRESS ON FILE
CARRUCINI FALCON, EDWIN           ADDRESS ON FILE
CARRUCINI GALLARDO, NELSON        ADDRESS ON FILE
CARRUCINI GONZALEZ, JOSE          ADDRESS ON FILE
CARRUCINI HERNANDEZ, EDGARD       ADDRESS ON FILE
CARRUCINI HERNANDEZ, MISHEL       ADDRESS ON FILE
CARRUCINI MENDOZA, YANIRA         ADDRESS ON FILE
CARRUCINI MUNOZ, JORGE            ADDRESS ON FILE
CARRUCINI REYES, ABNERIS          ADDRESS ON FILE
CARRUCINI REYES, ADALBERTO        ADDRESS ON FILE
CARRUCINI REYES, NORMA            ADDRESS ON FILE
CARRUCINI REYES, TERESA           ADDRESS ON FILE
CARRUCINI RODRIGUEZ, MYRIAM A.    ADDRESS ON FILE
CARRUCINI SUAREZ, ANGEL           ADDRESS ON FILE
CARRUCINI TORRES, AIDA            ADDRESS ON FILE
CARRUCINI TORRES, CARMEN L        ADDRESS ON FILE
CARRUCINI TORRES, EFIGENIA        ADDRESS ON FILE
CARRUCINI TORRES, MIGDALIA        ADDRESS ON FILE
CARRUSEL EN LA SEBASTIANA CORP    1353 AVE LUIS VIGOREAUX                                                                 GUAYNABO     PR      00966
CARRUSEL EN LA SEBASTIANA CORP    1353 AVE VIGOROUX PMB 745                                                               GUAYNABO     PR      00966
CARRUSEL EN LA SEBASTIANA CORP.   1553 AVE.VIGOREAUX PMB 745                                                              GUAYNABO     PR      00965
CARRUSINI LUGO, GLORYVI           ADDRESS ON FILE
CARS & TRUCK OUTLET INC           P O BOX 3180                                                                            PONCE        PR      00731
CARTA GERARDINO, MARIA            ADDRESS ON FILE
CARTAGANE COLLAZO, MARIA T        ADDRESS ON FILE
CARTAGENA ACEVEDO, NORMA          ADDRESS ON FILE
CARTAGENA ACEVEDO, SAMUEL         ADDRESS ON FILE
CARTAGENA ACEVEDO, SAVIEL O       ADDRESS ON FILE
CARTAGENA ACOSTA, MYRIAM          ADDRESS ON FILE
CARTAGENA AIELLO, ROBERTO         ADDRESS ON FILE
CARTAGENA ALEJANDRO, JONATHAN     ADDRESS ON FILE
CARTAGENA ALICEA, CARLOS          ADDRESS ON FILE
CARTAGENA ALVARADO, FRANCIS       ADDRESS ON FILE
CARTAGENA ALVARADO, JOSE          ADDRESS ON FILE
Cartagena Alvarado, Jose A.       ADDRESS ON FILE
CARTAGENA ALVAREZ, ALEJANDRO      ADDRESS ON FILE
CARTAGENA ANTONETTI, DAISY        ADDRESS ON FILE
CARTAGENA APONTE, ANGEL M.        ADDRESS ON FILE
CARTAGENA APONTE, BENITA          ADDRESS ON FILE
CARTAGENA APONTE, CARMEN RITA     ADDRESS ON FILE
CARTAGENA APONTE, EDWIN           ADDRESS ON FILE
CARTAGENA APONTE, EMETERIO        ADDRESS ON FILE
CARTAGENA APONTE, JANIRA          ADDRESS ON FILE
CARTAGENA APONTE, JOSE            ADDRESS ON FILE
CARTAGENA APONTE, MARANGELI       ADDRESS ON FILE
CARTAGENA APONTE, MARIA T.        ADDRESS ON FILE
CARTAGENA APONTE, TANIA           ADDRESS ON FILE
CARTAGENA AROCHO, LUIS            ADDRESS ON FILE
CARTAGENA AUTO REPAIR             EXT FOREST HILLS             B 12 CALLE MARGINAL                                        BAYAMON      PR      00959
CARTAGENA AVILES, GIANCARLO       ADDRESS ON FILE
CARTAGENA AYALA MD, EDGARDO F     ADDRESS ON FILE
CARTAGENA AYALA, JAVIER           ADDRESS ON FILE




                                                                                     Page 1346 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1347 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA AYALA, MAYRA            ADDRESS ON FILE
CARTAGENA BAEZ, ANA               ADDRESS ON FILE
CARTAGENA BARNES, MILSIA          ADDRESS ON FILE
CARTAGENA BARRETO, GLENDA L.      ADDRESS ON FILE
CARTAGENA BAUZA, JUAN B.          ADDRESS ON FILE
CARTAGENA BERNARD, AUREA          ADDRESS ON FILE
CARTAGENA BERNARD, NORMA          ADDRESS ON FILE
CARTAGENA BERRIOS, EPIFANIO       ADDRESS ON FILE
CARTAGENA BERRIOS, LILLIAM        ADDRESS ON FILE
CARTAGENA BONES, ALFREDO          ADDRESS ON FILE
CARTAGENA BONES, MARIA I.         ADDRESS ON FILE
CARTAGENA BONES, SANDRA           ADDRESS ON FILE
Cartagena Bonilla, Juan           ADDRESS ON FILE
CARTAGENA BONILLA, LUIS           ADDRESS ON FILE
CARTAGENA BONILLA, LUIS M         ADDRESS ON FILE
CARTAGENA BRACERO, ANGELICA M.    ADDRESS ON FILE
CARTAGENA BRACERO, SALVADOR       ADDRESS ON FILE
CARTAGENA BURGOS, CARMEN DEL      ADDRESS ON FILE
CARTAGENA BURGOS, CARMEN DEL R    ADDRESS ON FILE
CARTAGENA BURGOS, CASANDRA        ADDRESS ON FILE
Cartagena Burgos, Heriberto       ADDRESS ON FILE
CARTAGENA BURGOS, MAYRA L         ADDRESS ON FILE
CARTAGENA BURGOS, NORMA           ADDRESS ON FILE
CARTAGENA BURGOS, NORMA I         ADDRESS ON FILE
CARTAGENA CABRAL, NICOLE          ADDRESS ON FILE
Cartagena Calo, Benigno           ADDRESS ON FILE
Cartagena Camacho, Edwin          ADDRESS ON FILE
CARTAGENA CANCEL, GLADYS V        ADDRESS ON FILE
CARTAGENA CARAMES, GUSTAVO        ADDRESS ON FILE
Cartagena Carattini, Ismael       ADDRESS ON FILE
CARTAGENA CARDONA, LUZ M          ADDRESS ON FILE
CARTAGENA CARRASQUILLO, MARALIZ   ADDRESS ON FILE
CARTAGENA CARRO, YERALY           ADDRESS ON FILE
CARTAGENA CARTAGENA, EDWIN        ADDRESS ON FILE
CARTAGENA CARTAGENA, JEAN         ADDRESS ON FILE
CARTAGENA CARTAGENA, JERRY        ADDRESS ON FILE
CARTAGENA CARTAGENA, LOURDES      ADDRESS ON FILE
CARTAGENA CARTAGENA, LUIS         ADDRESS ON FILE
CARTAGENA CARTAGENA, LUIS         ADDRESS ON FILE
CARTAGENA CARTAGENA, MAYDA I      ADDRESS ON FILE
CARTAGENA CARTAGENA, MERARI       ADDRESS ON FILE
CARTAGENA CARTAGENA, MERCEDES     ADDRESS ON FILE
CARTAGENA CARTAGENA, MONSERRATE   ADDRESS ON FILE
CARTAGENA CARTAGENA, ROSA M.      ADDRESS ON FILE
CARTAGENA CARTAGENA, SHEILA       ADDRESS ON FILE
CARTAGENA CARTAGENA, VICTOR M     ADDRESS ON FILE
Cartagena Casado, Eliezer         ADDRESS ON FILE
CARTAGENA CASADO, ELIEZER         ADDRESS ON FILE
CARTAGENA CASTILLO, GENARO        ADDRESS ON FILE
Cartagena Castillo, Genaro A      ADDRESS ON FILE
CARTAGENA CASTILLO, GENARO A      ADDRESS ON FILE
CARTAGENA CASTILLO, LUCILA        ADDRESS ON FILE
CARTAGENA CASTRO, LILLIAM         ADDRESS ON FILE
CARTAGENA CASTRO, LILLIAM         ADDRESS ON FILE
CARTAGENA CASTRO, YARATZED        ADDRESS ON FILE
CARTAGENA CHUPANY, NYDIA I.       ADDRESS ON FILE
Cartagena Cintron, Cruz B         ADDRESS ON FILE
CARTAGENA COLLAZO, ESMERALDA      ADDRESS ON FILE
CARTAGENA COLLAZO, JOSE           ADDRESS ON FILE
CARTAGENA COLLAZO, NEFTALY        ADDRESS ON FILE




                                                                              Page 1347 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1348 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA COLON, ANA L         ADDRESS ON FILE
Cartagena Colon, Angel M       ADDRESS ON FILE
CARTAGENA COLON, ARISTIDES     ADDRESS ON FILE
CARTAGENA COLON, DAISY         ADDRESS ON FILE
CARTAGENA COLON, DALMA E       ADDRESS ON FILE
CARTAGENA COLON, DIANA         ADDRESS ON FILE
Cartagena Colon, Digno         ADDRESS ON FILE
CARTAGENA COLON, EDGAR         ADDRESS ON FILE
CARTAGENA COLON, EDGAR         ADDRESS ON FILE
CARTAGENA COLON, EDWIN         ADDRESS ON FILE
CARTAGENA COLON, FERNANDO      ADDRESS ON FILE
CARTAGENA COLON, GERARDO       ADDRESS ON FILE
CARTAGENA COLON, GILBERTO      ADDRESS ON FILE
CARTAGENA COLON, HERIBERTO     ADDRESS ON FILE
CARTAGENA COLON, JOHANNA       ADDRESS ON FILE
CARTAGENA COLON, JOSE          ADDRESS ON FILE
CARTAGENA COLON, JUAN E        ADDRESS ON FILE
CARTAGENA COLON, LUZ N         ADDRESS ON FILE
CARTAGENA COLON, MARIA         ADDRESS ON FILE
CARTAGENA COLON, MARIA D       ADDRESS ON FILE
CARTAGENA COLON, MARIA L       ADDRESS ON FILE
CARTAGENA COLON, MOISES        ADDRESS ON FILE
CARTAGENA COLON, MYRTA         ADDRESS ON FILE
CARTAGENA COLON, NORMA         ADDRESS ON FILE
CARTAGENA COLON, NORMA I.      ADDRESS ON FILE
CARTAGENA COLON, OTILIO        ADDRESS ON FILE
CARTAGENA COLON, SANTITA       ADDRESS ON FILE
CARTAGENA COLON, TOMASITA      ADDRESS ON FILE
CARTAGENA COLON, VIRGENMINA    ADDRESS ON FILE
CARTAGENA COLON, XIOMARA       ADDRESS ON FILE
CARTAGENA CORTES, LILLIAN      ADDRESS ON FILE
CARTAGENA CORTIJO, RAFAEL      ADDRESS ON FILE
CARTAGENA COTTO, ANGEL         ADDRESS ON FILE
CARTAGENA COTTO, LUIS A        ADDRESS ON FILE
CARTAGENA COTTO, SAMUEL A.     ADDRESS ON FILE
CARTAGENA CRESPO, JUAN         ADDRESS ON FILE
Cartagena Crespo, Juan C.      ADDRESS ON FILE
CARTAGENA CRUZ, ELBA N         ADDRESS ON FILE
CARTAGENA CRUZ, GRISEL         ADDRESS ON FILE
CARTAGENA CRUZ, IVETTE         ADDRESS ON FILE
CARTAGENA CRUZ, JOSE A         ADDRESS ON FILE
CARTAGENA CRUZ, MAGALI         ADDRESS ON FILE
CARTAGENA CRUZ, MARIBEL        ADDRESS ON FILE
CARTAGENA CRUZ, VICTOR         ADDRESS ON FILE
CARTAGENA DE JESUS, CARLOS     ADDRESS ON FILE
CARTAGENA DE JESUS, CAROLINE   ADDRESS ON FILE
CARTAGENA DE JESUS, JUAN M     ADDRESS ON FILE
CARTAGENA DE LEON, JESSICA     ADDRESS ON FILE
CARTAGENA DEGROS, AMERICA      ADDRESS ON FILE
CARTAGENA DEL VALLE, MARIA     ADDRESS ON FILE
CARTAGENA DEL VALLE, MARIA     ADDRESS ON FILE
CARTAGENA DELGADO, EDGARDO     ADDRESS ON FILE
CARTAGENA DELGADO, MIRIAM      ADDRESS ON FILE
CARTAGENA DIAZ, AGUSTIN        ADDRESS ON FILE
Cartagena Diaz, Agustin        ADDRESS ON FILE
CARTAGENA DIAZ, ANGELICA M.    ADDRESS ON FILE
CARTAGENA DIAZ, CARMEN L.      ADDRESS ON FILE
CARTAGENA DIAZ, EDLYN          ADDRESS ON FILE
CARTAGENA DIAZ, HECTOR L.      ADDRESS ON FILE
CARTAGENA DIAZ, HECTOR L.      ADDRESS ON FILE




                                                                           Page 1348 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1349 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA DIAZ, KEVIN             ADDRESS ON FILE
CARTAGENA DIAZ, MARLINE           ADDRESS ON FILE
CARTAGENA DIAZ, RICHARD           ADDRESS ON FILE
CARTAGENA DIAZ, SANTIAGO          ADDRESS ON FILE
Cartagena Escalera, Ortenio       ADDRESS ON FILE
CARTAGENA ESPADA, GLENDA L        ADDRESS ON FILE
Cartagena Esparra, Dionisio       ADDRESS ON FILE
CARTAGENA ESPARRA, GILBERTO       ADDRESS ON FILE
CARTAGENA ESPARRA, MARIA M        ADDRESS ON FILE
CARTAGENA ESQUILIN, MARIA M       ADDRESS ON FILE
CARTAGENA ESQUILIN, ROSA          ADDRESS ON FILE
CARTAGENA FAGES, VALERIA M        ADDRESS ON FILE
CARTAGENA FELICIANO, EDWIN        ADDRESS ON FILE
CARTAGENA FELICIANO, FEHIDALYS    ADDRESS ON FILE
Cartagena Feliciano, William      ADDRESS ON FILE
CARTAGENA FELICIANO, XIOMARA      ADDRESS ON FILE
CARTAGENA FELIX, MELISSA          ADDRESS ON FILE
CARTAGENA FERNANDEZ, EDNA         ADDRESS ON FILE
CARTAGENA FERNANDEZ, EUGENIA      ADDRESS ON FILE
CARTAGENA FERNANDEZ, FERNANDO     ADDRESS ON FILE
CARTAGENA FERNANDEZ, GIOVANNI     ADDRESS ON FILE
CARTAGENA FERNANDEZ, MYRNA        ADDRESS ON FILE
CARTAGENA FERNANDEZ, NEREIDA      ADDRESS ON FILE
CARTAGENA FERRER, JOSE R          ADDRESS ON FILE
CARTAGENA FIGUEROA, CORAL         ADDRESS ON FILE
Cartagena Figueroa, Francisco L   ADDRESS ON FILE
CARTAGENA FIGUEROA, ISMAEL        ADDRESS ON FILE
CARTAGENA FIGUEROA, JOSELINE      ADDRESS ON FILE
CARTAGENA FIGUEROA, KEISHA        ADDRESS ON FILE
CARTAGENA FIGUEROA, MARIA         ADDRESS ON FILE
CARTAGENA FIGUEROA, PAULETTE D    ADDRESS ON FILE
CARTAGENA FIGUEROA, XIOMARA       ADDRESS ON FILE
Cartagena Flores, Miguel A        ADDRESS ON FILE
Cartagena Flores, Myrna           ADDRESS ON FILE
CARTAGENA FONSECA, JAZMIN         ADDRESS ON FILE
CARTAGENA FUENTES, JOSE L.        ADDRESS ON FILE
CARTAGENA FUENTES, NYDIA M.       ADDRESS ON FILE
CARTAGENA FUENTES, NYDIA M.       ADDRESS ON FILE
CARTAGENA GALLOZA, ELIZABETH      ADDRESS ON FILE
CARTAGENA GALLOZA, MARIA T        ADDRESS ON FILE
CARTAGENA GARCIA, ALMAZORALIS     ADDRESS ON FILE
CARTAGENA GARCIA, AWILDA          ADDRESS ON FILE
CARTAGENA GARCIA, EVELYN          ADDRESS ON FILE
CARTAGENA GARCIA, JONATHAN        ADDRESS ON FILE
CARTAGENA GARCIA, LUIS A          ADDRESS ON FILE
CARTAGENA GARCIA, MARILYN J       ADDRESS ON FILE
CARTAGENA GARCIA, SANDRA L.       ADDRESS ON FILE
CARTAGENA GIMENEZ, OSCAR          ADDRESS ON FILE
Cartagena Gonzalez, Carmen M      ADDRESS ON FILE
Cartagena Gonzalez, Juan D        ADDRESS ON FILE
CARTAGENA GONZALEZ, LUIS E        ADDRESS ON FILE
CARTAGENA GONZALEZ, MIRIAM        ADDRESS ON FILE
CARTAGENA GONZALEZ, SONIA         ADDRESS ON FILE
CARTAGENA GRAU, ANIBAL E          ADDRESS ON FILE
CARTAGENA GRAU, ASUNCION          ADDRESS ON FILE
CARTAGENA GRAU, CARMEN T          ADDRESS ON FILE
CARTAGENA GREEN, MIGUEL           ADDRESS ON FILE
Cartagena Green, William          ADDRESS ON FILE
CARTAGENA GUTIERREZ, ANTONIA      ADDRESS ON FILE
CARTAGENA GUTIERREZ, MIGUEL       ADDRESS ON FILE




                                                                              Page 1349 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1350 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA GUZMAN, AIDA           ADDRESS ON FILE
CARTAGENA GUZMAN, ANGEL          ADDRESS ON FILE
CARTAGENA HADDOCK, FELIPE        ADDRESS ON FILE
CARTAGENA HADDOCK, MILAGROS Y.   ADDRESS ON FILE
CARTAGENA HERNANDEZ, ANGELA      ADDRESS ON FILE
CARTAGENA HERNANDEZ, CARLOS J.   ADDRESS ON FILE
Cartagena Hernandez, Gabriel     ADDRESS ON FILE
CARTAGENA HERNANDEZ, INIABELLE   ADDRESS ON FILE
CARTAGENA HERNANDEZ, INIABELLE   ADDRESS ON FILE
CARTAGENA HERNANDEZ, JORGE V     ADDRESS ON FILE
CARTAGENA HERNANDEZ, ORLANDO     ADDRESS ON FILE
CARTAGENA HERNANDEZ, VICTOR M.   ADDRESS ON FILE
CARTAGENA HNDZ., VIRGINIA        ADDRESS ON FILE
CARTAGENA HUERTAS, EDGARDO R     ADDRESS ON FILE
CARTAGENA JIMENEZ, RAMON         ADDRESS ON FILE
CARTAGENA JUSTINIANO, SAMUEL     ADDRESS ON FILE
CARTAGENA LAUSELL, EMMANUEL      ADDRESS ON FILE
CARTAGENA LAUSELL, GIAN          ADDRESS ON FILE
CARTAGENA LEON, BRENDA           ADDRESS ON FILE
CARTAGENA LEON, EDGARDO          ADDRESS ON FILE
CARTAGENA LOPEZ, DENNISSE        ADDRESS ON FILE
CARTAGENA LOPEZ, ELSA V          ADDRESS ON FILE
CARTAGENA LOPEZ, JEANNETTE       ADDRESS ON FILE
CARTAGENA LOPEZ, NORMA IRIS      ADDRESS ON FILE
CARTAGENA LOPEZ, VICTOR I.       ADDRESS ON FILE
CARTAGENA LUCAS, JUAN A          ADDRESS ON FILE
CARTAGENA LUCAS, MARIA DEL       ADDRESS ON FILE
CARTAGENA LUNA, JOSE             ADDRESS ON FILE
CARTAGENA LUNA, NYDIA            ADDRESS ON FILE
CARTAGENA MALAVE, BEATRIZ        ADDRESS ON FILE
CARTAGENA MALDONADO, CARLOS      ADDRESS ON FILE
CARTAGENA MALDONADO, EMICE S.    ADDRESS ON FILE
CARTAGENA MALDONADO, FRANCISCA   ADDRESS ON FILE
CARTAGENA MALDONADO, MARYLISSE   ADDRESS ON FILE
CARTAGENA MALDONADO, VICTOR L    ADDRESS ON FILE
CARTAGENA MANSO, CARLOS I        ADDRESS ON FILE
CARTAGENA MANSO, MARIA V.        ADDRESS ON FILE
CARTAGENA MARCANO, CARMEN H      ADDRESS ON FILE
CARTAGENA MARTINEZ, ANGEL        ADDRESS ON FILE
Cartagena Martinez, Betsy        ADDRESS ON FILE
CARTAGENA MARTINEZ, CARMEN       ADDRESS ON FILE
CARTAGENA MARTINEZ, CARMEN N     ADDRESS ON FILE
CARTAGENA MARTINEZ, DANIEL       ADDRESS ON FILE
CARTAGENA MARTINEZ, EDUARDO      ADDRESS ON FILE
CARTAGENA MARTINEZ, ERICK        ADDRESS ON FILE
CARTAGENA MARTINEZ, MARLON       ADDRESS ON FILE
CARTAGENA MARTINEZ, PEDRO J      ADDRESS ON FILE
CARTAGENA MARTINEZ, WILBERTO     ADDRESS ON FILE
CARTAGENA MARTINEZ, WILLIAM      ADDRESS ON FILE
CARTAGENA MATEO, BRENDA          ADDRESS ON FILE
CARTAGENA MATEO, MILDRED R       ADDRESS ON FILE
CARTAGENA MATEO, TOMAS           ADDRESS ON FILE
CARTAGENA MATEO, TOMAS           ADDRESS ON FILE
CARTAGENA MATIAS, MARIA M        ADDRESS ON FILE
Cartagena Matos, Eric            ADDRESS ON FILE
CARTAGENA MATOS, ERIC            ADDRESS ON FILE
CARTAGENA MEDINA, CONSUELO A     ADDRESS ON FILE
CARTAGENA MEJIAS, NILMARIE       ADDRESS ON FILE
CARTAGENA MELENDEZ, BRIGCHELLE   ADDRESS ON FILE
CARTAGENA MELENDEZ, DARIEL       ADDRESS ON FILE




                                                                             Page 1350 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1351 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA MELENDEZ, ERIKA R      ADDRESS ON FILE
CARTAGENA MELENDEZ, OSVALDO      ADDRESS ON FILE
Cartagena Mendez, Kennida        ADDRESS ON FILE
CARTAGENA MERCADO, MIGUEL        ADDRESS ON FILE
CARTAGENA MIRANDA, JESENIA I     ADDRESS ON FILE
CARTAGENA MIRANDA, WANDA         ADDRESS ON FILE
Cartagena Molina, Angel M.       ADDRESS ON FILE
CARTAGENA MOLINA, GILBERTO       ADDRESS ON FILE
CARTAGENA MOLINA, ISABEL         ADDRESS ON FILE
CARTAGENA MOLINA, MIGDALIA       ADDRESS ON FILE
CARTAGENA MOLINA, WANDA          ADDRESS ON FILE
CARTAGENA MONTANEZ, GUSTAVO      ADDRESS ON FILE
CARTAGENA MONTES, FELIX D.       ADDRESS ON FILE
CARTAGENA MONTES, JOSE           ADDRESS ON FILE
CARTAGENA MONTES, MIRIAM         ADDRESS ON FILE
CARTAGENA MONTES, ZULMA          ADDRESS ON FILE
CARTAGENA MONTEZUMA, BRENDA      ADDRESS ON FILE
CARTAGENA MORALES, ANA L         ADDRESS ON FILE
CARTAGENA MORALES, ANA R.        ADDRESS ON FILE
CARTAGENA MORALES, AXEL          ADDRESS ON FILE
CARTAGENA MORALES, FRANCISCO     ADDRESS ON FILE
CARTAGENA MORALES, GABRIEL       ADDRESS ON FILE
CARTAGENA MORALES, HILDA         ADDRESS ON FILE
CARTAGENA MORALES, KATHY         ADDRESS ON FILE
CARTAGENA MORALES, YARITZA I     ADDRESS ON FILE
CARTAGENA MORENO, SUSAN T.       ADDRESS ON FILE
CARTAGENA MUNOZ, NANCY E.        ADDRESS ON FILE
CARTAGENA NAVARRO, JUAN          ADDRESS ON FILE
CARTAGENA NAZARIO, IDA L         ADDRESS ON FILE
CARTAGENA NEGRON, JEISA          ADDRESS ON FILE
CARTAGENA NEGRON, LILLIAN        ADDRESS ON FILE
CARTAGENA NEGRON, MIGUEL A.      ADDRESS ON FILE
CARTAGENA NEVAREZ, EDNEL J.      ADDRESS ON FILE
CARTAGENA NUNEZ, YARITZA         ADDRESS ON FILE
CARTAGENA NUNEZ, YARITZA M       ADDRESS ON FILE
CARTAGENA OCASIO, AIXZA          ADDRESS ON FILE
CARTAGENA OLIVERAS, IDAHIZA      ADDRESS ON FILE
CARTAGENA OLIVERAS, IVEHIDALIT   ADDRESS ON FILE
CARTAGENA OLIVIERI, FRANCES      ADDRESS ON FILE
CARTAGENA OLIVIERI, FRANCES      ADDRESS ON FILE
CARTAGENA OLIVIERI, MARIELYS     ADDRESS ON FILE
CARTAGENA ORELLANO, JUAN         ADDRESS ON FILE
CARTAGENA ORTEGA, ROSALIA        ADDRESS ON FILE
CARTAGENA ORTIZ, AGENOR A.       ADDRESS ON FILE
CARTAGENA ORTIZ, AIDA            ADDRESS ON FILE
CARTAGENA ORTIZ, AIDA R          ADDRESS ON FILE
CARTAGENA ORTIZ, ALBERTO         ADDRESS ON FILE
CARTAGENA ORTIZ, ANA L           ADDRESS ON FILE
CARTAGENA ORTIZ, ANGEL L         ADDRESS ON FILE
CARTAGENA ORTIZ, ANGEL M         ADDRESS ON FILE
CARTAGENA ORTIZ, ARACELIS        ADDRESS ON FILE
CARTAGENA ORTIZ, CARMEN D        ADDRESS ON FILE
CARTAGENA ORTIZ, CARMEN R        ADDRESS ON FILE
CARTAGENA ORTIZ, CAROLINE        ADDRESS ON FILE
Cartagena Ortiz, Daniel          ADDRESS ON FILE
CARTAGENA ORTIZ, EDGARDO         ADDRESS ON FILE
CARTAGENA ORTIZ, EDNA L          ADDRESS ON FILE
CARTAGENA ORTIZ, EMANUEL         ADDRESS ON FILE
CARTAGENA ORTIZ, FRANCES         ADDRESS ON FILE
CARTAGENA ORTIZ, HECTOR R        ADDRESS ON FILE




                                                                             Page 1351 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1352 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA ORTIZ, JOSE E         ADDRESS ON FILE
Cartagena Ortiz, Leonardo       ADDRESS ON FILE
CARTAGENA ORTIZ, LIZ            ADDRESS ON FILE
CARTAGENA ORTIZ, LOU            ADDRESS ON FILE
CARTAGENA ORTIZ, LUIS A         ADDRESS ON FILE
CARTAGENA ORTIZ, MANUEL         ADDRESS ON FILE
CARTAGENA ORTIZ, MARCELINO      ADDRESS ON FILE
CARTAGENA ORTIZ, MARIA L        ADDRESS ON FILE
CARTAGENA ORTIZ, MARIA M        ADDRESS ON FILE
CARTAGENA ORTIZ, MILKA          ADDRESS ON FILE
CARTAGENA ORTIZ, NISHIA         ADDRESS ON FILE
Cartagena Ortiz, Nitza G.       ADDRESS ON FILE
CARTAGENA ORTIZ, OLGA           ADDRESS ON FILE
CARTAGENA ORTIZ, RAFAEL         ADDRESS ON FILE
CARTAGENA ORTIZ, REINALDO       ADDRESS ON FILE
CARTAGENA ORTIZ, ROBBY          ADDRESS ON FILE
CARTAGENA ORTIZ, ROBERTO        ADDRESS ON FILE
CARTAGENA ORTIZ, WANDA I        ADDRESS ON FILE
CARTAGENA ORTIZ, YOLANDA        ADDRESS ON FILE
CARTAGENA ORTOLAZA, AUREA M     ADDRESS ON FILE
Cartagena Osorio, Armando       ADDRESS ON FILE
Cartagena Ostolaza, Jesus       ADDRESS ON FILE
CARTAGENA OSTOLAZA, JESUS       ADDRESS ON FILE
CARTAGENA PACHECO, ANNETTE      ADDRESS ON FILE
CARTAGENA PACHECO, ESMERALDA    ADDRESS ON FILE
CARTAGENA PACHECO, MARTA        ADDRESS ON FILE
CARTAGENA PADILLA, KAREN M      ADDRESS ON FILE
CARTAGENA PADILLA, KAREN M.     ADDRESS ON FILE
CARTAGENA PAGAN, CARLOS         ADDRESS ON FILE
CARTAGENA PAGAN, KEILA          ADDRESS ON FILE
CARTAGENA PAGAN, LOURDES E      ADDRESS ON FILE
CARTAGENA PALERMO, CARLOS H     ADDRESS ON FILE
CARTAGENA PALERMO, SERAFIN      ADDRESS ON FILE
CARTAGENA PALMER, MARITZA       ADDRESS ON FILE
CARTAGENA PENA, YAINA           ADDRESS ON FILE
CARTAGENA PENALVERT, GLORIA E   ADDRESS ON FILE
CARTAGENA PEREZ, BENITO         ADDRESS ON FILE
CARTAGENA PEREZ, CRISTOBAL      ADDRESS ON FILE
CARTAGENA PEREZ, GLAMIL         ADDRESS ON FILE
CARTAGENA PEREZ, JOEL           ADDRESS ON FILE
CARTAGENA PEREZ, MARIA M        ADDRESS ON FILE
CARTAGENA PEREZ, ROBERTO        ADDRESS ON FILE
CARTAGENA PEREZ, SARA V         ADDRESS ON FILE
CARTAGENA PEREZ, WILMA          ADDRESS ON FILE
CARTAGENA PEREZ, YARELIS M      ADDRESS ON FILE
CARTAGENA PEREZ, YAVIERLIS      ADDRESS ON FILE
CARTAGENA PEREZ, YILMARIE       ADDRESS ON FILE
CARTAGENA PEREZ, ZAYRA          ADDRESS ON FILE
CARTAGENA PEREZ, ZAYRA M.       ADDRESS ON FILE
CARTAGENA PIZARRO, MEILING      ADDRESS ON FILE
CARTAGENA QUINONES, AIDA L      ADDRESS ON FILE
CARTAGENA QUINONES, ROSALY      ADDRESS ON FILE
CARTAGENA QUINTANA, ADELAIDA    ADDRESS ON FILE
CARTAGENA RAMOS, ADALBERTO      ADDRESS ON FILE
CARTAGENA RAMOS, ANGEL M        ADDRESS ON FILE
CARTAGENA RAMOS, CARLOS         ADDRESS ON FILE
CARTAGENA RAMOS, CRISTOBAL      ADDRESS ON FILE
CARTAGENA RAMOS, HECTOR         ADDRESS ON FILE
CARTAGENA RAMOS, HECTOR G       ADDRESS ON FILE
Cartagena Ramos, Jeniffer       ADDRESS ON FILE




                                                                            Page 1352 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1353 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA RAMOS, JOHANNA          ADDRESS ON FILE
CARTAGENA RAMOS, LARA             ADDRESS ON FILE
CARTAGENA RAMOS, LYDIA M          ADDRESS ON FILE
CARTAGENA RAMOS, ROLANDO          ADDRESS ON FILE
Cartagena Resto, Damaris          ADDRESS ON FILE
CARTAGENA REYES, JUAN             ADDRESS ON FILE
CARTAGENA REYES, MARIAM           ADDRESS ON FILE
CARTAGENA REYES, NYDIA E          ADDRESS ON FILE
CARTAGENA RIOS, DEBORAH           ADDRESS ON FILE
CARTAGENA RIOS, GLORIA            ADDRESS ON FILE
CARTAGENA RIOS, GREISHKA MAITE    ADDRESS ON FILE
CARTAGENA RIOS, JUAN              ADDRESS ON FILE
CARTAGENA RIOS, LUIS A            ADDRESS ON FILE
Cartagena Rios, Zulma I.          ADDRESS ON FILE
CARTAGENA RIVERA, ANA             ADDRESS ON FILE
CARTAGENA RIVERA, ANA LUISA       ADDRESS ON FILE
CARTAGENA RIVERA, ANGEL           ADDRESS ON FILE
CARTAGENA RIVERA, AWILDA          ADDRESS ON FILE
CARTAGENA RIVERA, CARLOS          ADDRESS ON FILE
CARTAGENA RIVERA, CARMEN          ADDRESS ON FILE
CARTAGENA RIVERA, CARMEN Y        ADDRESS ON FILE
CARTAGENA RIVERA, CRISTOBAL       ADDRESS ON FILE
CARTAGENA RIVERA, DENISSE M       ADDRESS ON FILE
Cartagena Rivera, Evelyn          ADDRESS ON FILE
CARTAGENA RIVERA, HECTOR R        ADDRESS ON FILE
Cartagena Rivera, Hector R        ADDRESS ON FILE
CARTAGENA RIVERA, IVETTE M        ADDRESS ON FILE
CARTAGENA RIVERA, JOSE E          ADDRESS ON FILE
CARTAGENA RIVERA, LIZZA M         ADDRESS ON FILE
CARTAGENA RIVERA, LUIS            ADDRESS ON FILE
Cartagena Rivera, Luz E           ADDRESS ON FILE
CARTAGENA RIVERA, MARCOS A.       ADDRESS ON FILE
Cartagena Rivera, Maribel         ADDRESS ON FILE
CARTAGENA RIVERA, MILAGROS        ADDRESS ON FILE
CARTAGENA RIVERA, NEREIDA         ADDRESS ON FILE
CARTAGENA RIVERA, NYDIA           ADDRESS ON FILE
CARTAGENA RIVERA, RAISA I         ADDRESS ON FILE
CARTAGENA RIVERA, RAMON           ADDRESS ON FILE
CARTAGENA RIVERA, RICARDO         ADDRESS ON FILE
CARTAGENA RIVERA, RICARDO I       ADDRESS ON FILE
Cartagena Rivera, Ubaldo          ADDRESS ON FILE
CARTAGENA RIVERA, VICTOR          ADDRESS ON FILE
CARTAGENA ROBERT, CARLOS          ADDRESS ON FILE
CARTAGENA ROBLES, LIZNETTE        ADDRESS ON FILE
CARTAGENA ROBLES, MARILYN         ADDRESS ON FILE
CARTAGENA RODIRGUEZ, RAMON        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, ABEL         ADDRESS ON FILE
CARTAGENA RODRIGUEZ, ALBERTO      ADDRESS ON FILE
CARTAGENA RODRIGUEZ, ANDREA       ADDRESS ON FILE
CARTAGENA RODRIGUEZ, ANGEL LUIS   ADDRESS ON FILE
CARTAGENA RODRIGUEZ, BENEDICTA    ADDRESS ON FILE
CARTAGENA RODRIGUEZ, CANDIDA      ADDRESS ON FILE
CARTAGENA RODRIGUEZ, EFRAIN       ADDRESS ON FILE
CARTAGENA RODRIGUEZ, GILBERTO     ADDRESS ON FILE
CARTAGENA RODRIGUEZ, GLADYS E.    ADDRESS ON FILE
CARTAGENA RODRIGUEZ, HECTOR       ADDRESS ON FILE
CARTAGENA RODRIGUEZ, HERIBERTO    ADDRESS ON FILE
CARTAGENA RODRIGUEZ, JANET        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, JOSE LUIS    ADDRESS ON FILE
Cartagena Rodriguez, Jose R       ADDRESS ON FILE




                                                                              Page 1353 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1354 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CARTAGENA RODRIGUEZ, LUIS           ADDRESS ON FILE
CARTAGENA RODRIGUEZ, MADELINE       ADDRESS ON FILE
CARTAGENA RODRIGUEZ, MARIA D.       ADDRESS ON FILE
Cartagena Rodriguez, Maria I        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, MAYRA          ADDRESS ON FILE
CARTAGENA RODRIGUEZ, MILAGROS       ADDRESS ON FILE
CARTAGENA RODRIGUEZ, NITZA          ADDRESS ON FILE
CARTAGENA RODRIGUEZ, NORIS          ADDRESS ON FILE
CARTAGENA RODRIGUEZ, RICARDO        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, RUPERTA        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, SOCORRO        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, WILLIAM        ADDRESS ON FILE
CARTAGENA RODRIGUEZ, YOLANDA        ADDRESS ON FILE
Cartagena Roman, Elias              ADDRESS ON FILE
CARTAGENA ROSA, JOSE                ADDRESS ON FILE
CARTAGENA ROSA, RAMON               ADDRESS ON FILE
CARTAGENA ROSA, WILLIAM             ADDRESS ON FILE
CARTAGENA ROSADO, JOSE              ADDRESS ON FILE
CARTAGENA ROSARIO, ALBERT           ADDRESS ON FILE
CARTAGENA ROSARIO, MARIA DE LOS A   ADDRESS ON FILE
CARTAGENA RUBET, ANGEL              ADDRESS ON FILE
CARTAGENA RUBIO, HILDA              ADDRESS ON FILE
CARTAGENA RUIZ, GABRIELA            ADDRESS ON FILE
CARTAGENA RUIZ, MIGUEL              ADDRESS ON FILE
CARTAGENA SANCHEZ, ADA E.           ADDRESS ON FILE
CARTAGENA SANCHEZ, EVA L            ADDRESS ON FILE
CARTAGENA SANCHEZ, LUZ D            ADDRESS ON FILE
CARTAGENA SANCHEZ, OSVALDO          ADDRESS ON FILE
CARTAGENA SANCHEZ, WANDA I          ADDRESS ON FILE
CARTAGENA SANTANA, ADAN             ADDRESS ON FILE
CARTAGENA SANTANA, ADAN             ADDRESS ON FILE
CARTAGENA SANTANA, RAUL             ADDRESS ON FILE
Cartagena Santana, Raul E           ADDRESS ON FILE
CARTAGENA SANTIAGO, ABRAHAM         LCDO. RAMÓN L. FIGUEROA   PO BOX 372545                                          CAYEY        PR      00737‐2545
CARTAGENA SANTIAGO, BRENDA          ADDRESS ON FILE
Cartagena Santiago, Cathy           ADDRESS ON FILE
CARTAGENA SANTIAGO, DELIA           ADDRESS ON FILE
CARTAGENA SANTIAGO, EDITH M         ADDRESS ON FILE
CARTAGENA SANTIAGO, EFRAIN          ADDRESS ON FILE
CARTAGENA SANTIAGO, LUZ E           ADDRESS ON FILE
CARTAGENA SANTIAGO, MARIA E         ADDRESS ON FILE
CARTAGENA SANTIAGO, RICHARD         ADDRESS ON FILE
CARTAGENA SANTIAGO, VILMA           ADDRESS ON FILE
CARTAGENA SANTIAGO, WALESKA         ADDRESS ON FILE
CARTAGENA SANTIAGO, WILFREDO        ADDRESS ON FILE
CARTAGENA SANTIAGO, YARITZA M       ADDRESS ON FILE
CARTAGENA SANTIAGO,SUHEILY          ADDRESS ON FILE
Cartagena Santos, Jose A            ADDRESS ON FILE
CARTAGENA SANTOS, MAGDALENA         ADDRESS ON FILE
CARTAGENA SEMIDEY, JULIO            ADDRESS ON FILE
CARTAGENA SERRANO, ESMERALDA        ADDRESS ON FILE
CARTAGENA SERRANO, MARIA H.         ADDRESS ON FILE
CARTAGENA SINGER, LUIS              ADDRESS ON FILE
CARTAGENA SINGER, UNICYS            ADDRESS ON FILE
Cartagena Solivan, Daniel           ADDRESS ON FILE
CARTAGENA SOLIVAN, FELICITA         ADDRESS ON FILE
CARTAGENA SULIVERES, RAFAEL         ADDRESS ON FILE
CARTAGENA SULIVERES, RAFAEL         ADDRESS ON FILE
Cartagena Tapia, Felipe             ADDRESS ON FILE
CARTAGENA TIRADO, IVETTE            ADDRESS ON FILE




                                                                                Page 1354 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1355 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3             Address4             City         State   PostalCode   Country
Cartagena Tirado, Jorge L          ADDRESS ON FILE
CARTAGENA TIRADO, MARYLIN J        ADDRESS ON FILE
CARTAGENA TIRADO, MARYLIN J.       ADDRESS ON FILE
CARTAGENA TORRES, AIDA             ADDRESS ON FILE
CARTAGENA TORRES, CARLOS AGUSTIN   ADDRESS ON FILE
Cartagena Torres, Carlos J         ADDRESS ON FILE
CARTAGENA TORRES, ELISEO           ADDRESS ON FILE
CARTAGENA TORRES, ELSIE Y.         ADDRESS ON FILE
Cartagena Torres, Hector           ADDRESS ON FILE
CARTAGENA TORRES, ISAEL            ADDRESS ON FILE
CARTAGENA TORRES, JOSE M           ADDRESS ON FILE
CARTAGENA TORRES, JUAN CARLOS      ADDRESS ON FILE
CARTAGENA TORRES, JUANA            ADDRESS ON FILE
CARTAGENA TORRES, MARIA            ADDRESS ON FILE
CARTAGENA TORRES, MARIA DE LOS A   ADDRESS ON FILE
CARTAGENA TORRES, MARIA DEL R.     ADDRESS ON FILE
Cartagena Torres, Maribel          ADDRESS ON FILE
CARTAGENA TORRES, MILADY           ADDRESS ON FILE
CARTAGENA TORRES, NYDIA E          ADDRESS ON FILE
CARTAGENA TORRES, PAULA            ADDRESS ON FILE
Cartagena Torres, Ramon L          ADDRESS ON FILE
CARTAGENA TORRES, RICARDO          ADDRESS ON FILE
CARTAGENA TORRES, SUANETTE         ADDRESS ON FILE
CARTAGENA TROCHE, ANDRES           ADDRESS ON FILE
CARTAGENA URBISTONDO, KARLA        ADDRESS ON FILE
CARTAGENA VALLE, YOMARIS           ADDRESS ON FILE
CARTAGENA VARGAS, FRANCES          ADDRESS ON FILE
CARTAGENA VARGAS, IVAN F.          ADDRESS ON FILE
CARTAGENA VAZQUEZ, AMARILYS        ADDRESS ON FILE
CARTAGENA VAZQUEZ, ANGEL           ADDRESS ON FILE
CARTAGENA VAZQUEZ, CARLOS          ADDRESS ON FILE
CARTAGENA VAZQUEZ, DIANA           ADDRESS ON FILE
CARTAGENA VAZQUEZ, ELIZABETH       ADDRESS ON FILE
CARTAGENA VAZQUEZ, EVELYN          ADDRESS ON FILE
CARTAGENA VAZQUEZ, IRMA N          ADDRESS ON FILE
CARTAGENA VAZQUEZ, MARGIE          ADDRESS ON FILE
CARTAGENA VAZQUEZ, MIGUEL          ADDRESS ON FILE
CARTAGENA VAZQUEZ, MIGUEL          ADDRESS ON FILE
CARTAGENA VAZQUEZ, ORLANDO         ADDRESS ON FILE
CARTAGENA VAZQUEZ, WILDALIS        ADDRESS ON FILE
                                                                                              AVE. Ponce DE LEON
CARTAGENA VEGA, ANGEL LUIS         YADIRA ADORNO DELGADO     COND SAN MARTIN                  1605                 PISO 6 OFICINA 600   SAN JUAN     PR      00909
CARTAGENA VEGA, CARLOS             ADDRESS ON FILE
CARTAGENA VEGA, FRANCISCO          ADDRESS ON FILE
CARTAGENA VEGA, LUIS               ADDRESS ON FILE
CARTAGENA VEGA, LUZ E              ADDRESS ON FILE
CARTAGENA VEGA, MARIELY            ADDRESS ON FILE
CARTAGENA VEGA, MAYLEEN            ADDRESS ON FILE
CARTAGENA VEGA, MAYRA              ADDRESS ON FILE
CARTAGENA VEGA, MYRIAM             ADDRESS ON FILE
CARTAGENA VEGA, PEDRO A            ADDRESS ON FILE
Cartagena Velazquez, Jorge J       ADDRESS ON FILE
CARTAGENA VELAZQUEZ, NEFTALI       ADDRESS ON FILE
CARTAGENA VELEZ, ENEILY            ADDRESS ON FILE
CARTAGENA VELEZ, YARIZA            ADDRESS ON FILE
CARTAGENA VERGARA, CANDIDO         ADDRESS ON FILE
CARTAGENA VILLANUEVA, ENID M.      ADDRESS ON FILE
CARTAGENA VILLEGAS, SANDRA I       ADDRESS ON FILE
Cartagena Vives, Albert E          ADDRESS ON FILE
CARTAGENA VIVES, RICHARD E         ADDRESS ON FILE




                                                                               Page 1355 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1356 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                              Address1                        Address2                                  Address3   Address4   City             State   PostalCode   Country
Cartagena Zaragoza, Brenda L               ADDRESS ON FILE
CARTAGENA ZAYAS, RAMON J.                  ADDRESS ON FILE
CARTAGENA, ABIGAIL                         ADDRESS ON FILE
CARTAGENA, ALEJANDRINA                     ADDRESS ON FILE
CARTAGENA, ENEIDA                          ADDRESS ON FILE
CARTAGENA, EPIFANIA                        ADDRESS ON FILE
CARTAGENA, FRANCISCA                       ADDRESS ON FILE
CARTAGENA, JOSE                            ADDRESS ON FILE
CARTAGENA, NORMA                           ADDRESS ON FILE
CARTAGENA, SOR                             ADDRESS ON FILE
CARTAGENA, WILFREDO                        ADDRESS ON FILE
CARTAGENA,FELIPE                           ADDRESS ON FILE
CARTAGENA,TOMAS                            ADDRESS ON FILE
CARTAGENAORTIZ, ROBBY                      ADDRESS ON FILE
CARTAS RAMIREZ, MICHAEL A.                 ADDRESS ON FILE
CARTAYA ALVAREZ, MARIA A                   ADDRESS ON FILE
CARTEK CARIBE INC                          PO BOX 1097                                                                                     GUAYNABO         PR      00970
CARTEK CARIBE INC                          PO BOX 1747                                                                                     VEGA ALTA        PR      00692
CARTER VALIDUS MISSION CRITICAL REIT INC   1600 ATLANTA FINANCIAL CENTER   3343 PEACHTREE ROAD NE                                          ATLANTA          GA      30326‐1044
CARTICHUELA SERRANO, MORILDA               ADDRESS ON FILE
CARTIZ CONSULTING SERVICES INC             THE UPS STORE                   200 AVE RAFAEL CORDERO STE 140 PMB 193                          CAGUAS           PR      00725‐4303
CARTOON AUTO ACCESORIO                     CALLE BARCELO #63                                                                               BARRANQUITAS     PR      00794
CARTRIDGE WORLD                            PO BOX 880                                                                                      BAJADERO         PR      00616
CARTRIDGE WORLD                            URB SAN FELIPE                  APT K6 CALLE 8                                                  ARECIBO          PR      00612
CARTWRIGHT MD , DENISE M                   ADDRESS ON FILE
CARTY ALLENDE, AGNES                       ADDRESS ON FILE
CARUS GONZALEZ, MONICA                     ADDRESS ON FILE
CARUS GONZALEZ, NILSA M                    ADDRESS ON FILE
CARVAJAL BARRETO, JUAN                     ADDRESS ON FILE
CARVAJAL DE ALEMAR, EVELYN T.              ADDRESS ON FILE
CARVAJAL DEL MAZO, NORMA                   ADDRESS ON FILE
CARVAJAL DELGADO, CRISTINA M               ADDRESS ON FILE
CARVAJAL DELGADO, JAIME                    ADDRESS ON FILE
CARVAJAL EDUCACION, INC.                   PO BOX 195040                                                                                   SAN JUAN         PR      00919‐5040
CARVAJAL FLORIAN, CANDELARIO               ADDRESS ON FILE
CARVAJAL MERCADO, RAMON A                  ADDRESS ON FILE
CARVAJAL PAGAN, DARWIN                     ADDRESS ON FILE
Carvajal Pagan, Ledya                      ADDRESS ON FILE
CARVAJAL PALMA, SANDRA Y.                  ADDRESS ON FILE
CARVAJAL PIZARRO, RAMON                    ADDRESS ON FILE
CARVAJAL ROCHA, ARLETTE I.                 ADDRESS ON FILE
CARVAJAL ROSA, JAIME                       ADDRESS ON FILE
CARVAJAL ROSA, JAIME                       ADDRESS ON FILE
CARVAJAL SANABRIA, NORMA                   ADDRESS ON FILE
CARVAJAL SANTANA, YAMILE                   ADDRESS ON FILE
Carvajal Santiago, Luis A.                 ADDRESS ON FILE
CARVAJAL SANTIAGO, WANDA L                 ADDRESS ON FILE
CARVAJAL SILVA, AXEL                       ADDRESS ON FILE
CARVAJAL VELEZ, AUGUSTO                    ADDRESS ON FILE
CARVAJAL VELEZ, JAVIER                     ADDRESS ON FILE
CARVAJAL VELEZ, JUAN                       ADDRESS ON FILE
CARVIC CARMONA DE JESUS                    URB VALLE ALTO                  2382 CALLE LOMA                                                 PONCE            PR      00730
CARVIC SERVICES INC                        PMB 136                         400 CALLE KALAB                                                 SAN JUAN         PR      00918
CARY ANN SUGRANES TEXIDOR                  ADDRESS ON FILE
CARY APONTE HERNANDEZ                      ADDRESS ON FILE
CARY COTTO CEDENO                          ADDRESS ON FILE
CARY MATTOS NUNEZ                          ADDRESS ON FILE
CARY PAGAN RODRIGUEZ                       ADDRESS ON FILE
CARYLEE M ORTIZ VALENTIN                   ADDRESS ON FILE
CARYLU AQUINO MILAN                        ADDRESS ON FILE




                                                                                                      Page 1356 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1357 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                            Address1                           Address2                             Address3   Address4   City                State   PostalCode   Country
CARYMAR PEREZ CINTRON                    ADDRESS ON FILE
CARYMAR PRADO HERNANDEZ                  ADDRESS ON FILE
CARYMAR PRINTING                         ADDRESS ON FILE
CAS ‐ CONTROL AIR SERVICES INC.          P. O. BOX 193018                                                                              SAN JUAN             PR     00919 3018
CAS CORPORACION ADJUNTEÑA DE LA SALUD 20 CALLE RIUS RIVERA                                                                             ADJUNTAS             PR     00761
CASA ‐ HDOPR, INC                        PO BOX 2231                                                                                   ANASCO               PR     00610
CASA ABOY INC                            P O BOX 9568                                                                                  SAN JUAN             PR     00908568
CASA AGRICOLA EL POETA                   AVE. CONQUISTADOR, ESQ. C/4 A1                                                                FAJARDO              PR     00738
CASA AGRICOLA Y COLMADO JC               HC 5 BOX 28864                                                                                CAMUY                PR     00627
CASA ALEGRIA INC INSTITUCION             C/5 #68 VILLAS DE STA OLAYA                                                                   BAYAMON              PR     00956
CASA ALEGRIA INC. HOGAR                  URB VALLE DE SANTA OLAYA #68 C/5                                                              BAYAMON              PR     00956
CASA ANA MEDINA                          14 CALLE ROSCHI                                                                               PONCE                PR     00730
CASA ANTONIO                             CALLE MUNOZ RIVERA Y DEGETAU                                                                  JUANA DIAZ           PR     00795
CASA ANTONIO, INC                        1153 F D ROOSEVELT AVE                                                                        SAN JUAN             PR     00920
CASA BAVARIA RESTAURANT INC              HC 1 BOX 2015                                                                                 MOROVIS              PR     00687
CASA BORGES                              41 CALLE MUNOZ RIVERA                                                                         LARES                PR     00669
CASA CANDINA INC                         702 CALLE CENTRAL                                                                             SAN JUAN             PR     00907
CASA CASTANER INC                        PO BOX 1026                                                                                   CASTANER             PR     00631
CASA COMERCIAL & CASA BILLARES           AVE. JUAN ROSADO 337, CARR. 10                                                                ARECIBO              PR     00612
CASA CRUZ DE LA LUNA INC                 P O BOX 3225                                                                                  LAJAS                PR     00667‐3225
CASA DE AMISTAD GUESTHOUSE               27 CALLE BENITEZ CASTANO                                                                      VIEQUES              PR     00765
CASA DE BURGOS                           32‐A CALLE JOSE I QUINTON                                                                     COAMO                PR     00769
CASA DE CAMPO SITEKINA CORP              PO BOX 7645                                                                                   PONCE                PR     00780
CASA DE ESPANA PR                        PO BOX 9021066                                                                                SAN JUAN             PR     00902‐1066
CASA DE JUBILO ADOREMOS AL REY           PO BOX 4784                                                                                   CAROLINA             PR     00984
CASA DE LA BONDAD INC                    PO BOX 8999                                                                                   HUMACAO              PR     00792‐8999
CASA DE LA CULTURA CABORROJENA INC       SECTOR PARABUEYON                  51‐T CALLE ITALIA                                          CABO ROJO            PR     00623
CASA DE LA FAMILIA INC.                  214 PLAZA III MARGINAL LA CURVA                                                               ISABELA              PR     00662
CASA DE LAS ASPIRADORAS                  CARR. #2 MARGINAL C‐19             SANTA CRUZ                                                 BAYAMON              PR     00959‐0000
CASA DE LAS ASPIRADORAS INC              CARR 2 MARGINAL                    C 19 SANTA CRUZ                                            BAYAMON              PR     00959
CASA DE LAS ASPIRADORAS INC              CARR 2 MARGINAL C‐19               SANTA CRUZ                                                 BAYAMON              PR     00959
CASA DE LAS ASPIRADORAS INC              PO BOX 1151                                                                                   MANATI               PR     00674
CASA DE LAS ASPIRADORAS INC              URB SANTA CRUZ                     C 19 CALLE MARGINAL                                        BAYAMON              PR     00961‐6706
CASA DE LAS ASPIRADORAS INC              URB SANTA CRUZ                                                                                BAYAMON              PR     00961‐6706
CASA DE LAS BANDERAS INC                 791 URB LAS LOMAS 2DA PLANTA       AVE SAN PATRICIA                                           SAN JUAN             PR     00921
CASA DE LAS BANDERAS INC                 CAPARRA TERRACE                    812 AVE DE DIEGO                                           SAN JUAN             PR     00921
CASA DE LAS BANDERAS INC                 CAPARRAS TERRAS                    812 AVE DE DIEGO                                           SAN JUAN             PR     00921
CASA DE LAS BANDERAS INC                 URB LAS LOMAS NUM 791 2DA PLANTA   AVE SAN PATRICIA                                           SAN JUAN             PR     00921
CASA DE LOS ANGELES, INC                 #9 SECTOR SAN JOSE                                                                            CIDRA                PR     00739
CASA DE MODAS Y ALTERACIONES             46 CALLE FRANCISCO M QUINONES                                                                 SABANA GRANDE        PR     00637
CASA DE RESTAURACION Y MAS INC           PO BOX 142877                                                                                 ARECIBO              PR     00614
CASA DE SALUD NATHIAN / ELIZABETH MOLINA ROYAL TOWN C/50A FINAL BLQ 7 #6                                                               BAYAMON              PR     00956‐0000
CASA DE TRANSFORMACION Y RESTAURACION FACALLE PASEO DEL CRISTO #9                                                                      DORADO               PR     00646‐0000
CASA DEL NIÐOS MANUEL F JUNCOS INC       P O BOX 9020163                                                                               SAN JUAN             PR     00902‐0163
CASA DEL NINOS MANUEL F JUNCOS INC       P O BOX 9020163                                                                               SAN JUAN             PR     00902‐0163
CASA DEL PEREGRINO AGUADILLA INC.        CALLE MERCEDES MORENO # 27                                                                    AGUADILLA            PR     00603
CASA DEL VETERANO DE ISABELA             PO BOX 2435                                                                                   ISABELA              PR     00661
CASA DOMENECH INC                        PO BOX 609                                                                                    TOA ALTA             PR     00754
CASA EDUCATIVA MONTESSORI                PO BOX 2203                                                                                   SAN SEBASTIAN        PR     00685
CASA ELMENDORF INC                       P O BOX 9045                       SANTURCE STATION                                           SAN JUAN             PR     00908‐9045
                                                                                                                                       SANTURCE STATION SAN
CASA ELMERDOR INC.                     PO BOX 9045                                                                                     JUAN                 PR     00908‐9045
CASA ESPERANZA                         1821 UNIVERSITY AVENUE WEST          SUITE S 155                                                ST PAUL              MN     55175
CASA FAMILIAR VIRGILIO DAVILA INC      AREA DEL TESORO                      CONTADURIA GENERAL                                         SAN JUAN             PR     00902
CASA FAMILIAR VIRGILIO DAVILA INC      BMS 113                              PO BOX 607061                                              BAYAMON              PR     00961‐7061
CASA FAMILIAR VIRGILIO DAVILA INC      PO BOX 607061                                                                                   BAYAMON              PR     00960‐7061
CASA FEBUS                             CARR. 2 KM. 8.0                                                                                 BAYAMON              PR     00960‐9004
CASA GALGUERA                          APARTADO 4801                                                                                   OLD SAN JUAN         PR     00905
CASA GRANDE INTERACTIVE COMMUNICATIONS 701 AVE PONCE DE LEON                SUITE 403                                                  SAN JUAN             PR     00907
CASA GRANDE INTERACTIVE COMMUNICATIONS 807 AVE. PONCE DE LEON                                                                          SAN JUAN             PR     00907




                                                                                                  Page 1357 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1358 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                          Address1                                      Address2                                 Address3               Address4   City                State   PostalCode    Country
CASA GRANDE INTERACTIVE COMMUNICATIONS CTRO DE BANCA COMERCIAL                       REGION SAN JUAN ATT JULIO ALVAREZ        PO BOX 362708                     SAN JUAN            PR      00936‐2708
CASA GRANDE INTERACTIVE COMMUNICATIONS EDIFICIO CENTRO DE SEGUROS                    701 AVE PONCE DE LEON SUITE 102                                            SAN JUAN            PR      000907‐3248
CASA GRANDE INTERACTIVE COMMUNICATIONS Y SCOTIABANK                                  CBC DEPARTMENT, FL 8                     PO BOX 362394                     SAN JUAN            PR      00936‐2694
CASA GRANDE INTERACTIVE COMMUNICATIONS Y BANCO POPULAR DE PUERTO RICO                CENTRO DE BANCA COMERCIAL REGION DE SAN PO BOX 362808                      SAN JUAN            PR      00936‐2708
CASA GRANDE INTERACTIVE COMMUNICATIONS Y BANCO POPULAR DE PUERTO RICO                CENTRO DE BANCA COMERCIAL REGION RIO PIEDPO BOX 362708                     SAN JUAN            PR      00936‐2708
CASA GRANDE INTERACTIVE COMMUNICATIONS Y BANCO POPULAR DE PUERTO RICO                CENTRO DE BANCA COMERCIAL REGION DE RIO PPO BOX 362708                     SAN JUAN            PR      00936‐2708
CASA GRANDE INTERACTIVE COMMUNICATIONS Y SCOTIABANK DE PR                            PO BOX 362394                            PISO #8                           SAN JUAN            PR      00936‐2394
CASA GRANDE INTERACTIVE COMMUNICATIONS Y SCOTIABANK DE PUERTO RICO                   CBC DEPARTMENT, FL 8                     PO BOX 362394                     SAN JUAN            PR      00936‐2394
CASA GRANDE INTERACTIVE COMMUNICATIONS Y SCOTIABANK TOWER                            CBC DEPARTMENT, FL 8                     PO BOX 362394                     SAN JUAN            PR      00936‐2394
CASA GRANDE INTERACTUVE COMMUNICATIONS701 PONCE DE LEON AVE                          SUITE 102                                                                  SAN JUAN            PR      00907
CASA GUADALUPE CENTER                  VIDA NUEVA CASA FP OBGYN                      218 N 2ND ST                                                               ALLENTOWN           PA      18102
CASA HOGAR INC. FUNDACION              HC 01 BOX 1895                                                                                                           MOROVIS             PR      00687
CASA ISMAEL                            P.O. BOX 51433                                                                                                           TOA BAJA            PR      00950‐1433

CASA ISMAEL INC.                          CARR 865                                   KM 4.0                                    BO CANDELARIA ARENA              TOA BAJA            PR      00950
CASA JARDIN                               PO BOX 1105                                                                                                           COAMO               PR      00769
CASA JOHN LIGHT                           HC‐03 BOX 14119                                                                                                       AGUA BUENAS         PR      00703‐0000
CASA JOVEN DEL CARIBE                     PO BOX 694                                                                                                            DORADO              PR      00646
CASA JUAN BOSCO                           PO BOX 1836                                                                                                           AGUADILLA           PR      00605
CASA JUAN BOSCO INC                       PO BOX 1836                                                                                                           AGUADILLA           PR      00605
CASA JUAN PABLO II                        P.O. BOX 3011                                                                                                         SAN GERMAN          PR      00683
CASA JUPITER                              AVE BARBOSA NUM 21                                                                                                    BAYAMON             PR      00961
CASA JUPITER INC                          BARBOSA #21                                                                                                           BAYAMON             PR      00725
CASA LA LANCHITA                          P .O. BOX 586                              374 NORTH SHORE ROAD                      BRAVOS DE BOSTON                 VIEQUES             PR      00765
CASA LA PROVIDENCIA INC                   PO BOX 90206014                                                                                                       SAN JUAN            PR      00902‐0614
CASA LA PROVIDENCIA INC                   PO BOX 9020614                                                                                                        SAN JUAN            PR      00902‐0614
CASA LAURA VICUNAS INC                    BARRIADA MORALES                           1006 CALLE P                                                               CAGUAS              PR      00725
CASA LAURA VICUNAS INC                    BDA MORALES                                1006 CALLE P                                                               CAGUAS              PR      00725
                                                                                                                                                                CAPARRA HEIGHTS
CASA LEE INC                              PO BOX 11929                                                                                                          STATION+            PR      00922
CASA LINDA DEL SUR                        CARR. 177 LOS FILTROS                                                                                                 BAYAMON             PR      00959‐0000
CASA LOPEZ                                70 CALLE ISABEL                                                                                                       PONCE               PR      00730
CASA LUIFRANJO, INC.                      URC. VILLA RITA CALLE 4 CASA D‐25                                                                                     SAN SEBASTIAN       PR      00685
CASA LUZ Y VIDA                           P.O. BOX 1781                                                                                                         VEGA BAJA           PR      00694‐0000
CASA LUZ Y VIDA INC                       P O BOX 1781                                                                                                          VEGA BAJA           PR      00694
CASA MARIBEL 2 INC                        VALENCIA                                    F 76 CALLE AMAPOLA                                                        BAYAMON             PR      00959
CASA MARIBEL 2, INC.                      NEGO. DE COBRO DE CONTRIBUCIONES            PO BOX 9024140                                                            SAN JUAN            PR      00918
CASA MARIBEL INC                          RR 4 BOX 447                                                                                                          BAYAMON             PR      00956
CASA MARIBEL, INC.                        NEGOCIADO DE COBROS DE CONTRIBUCIONES PO BOX 9024140                                                                  SAN JUAN            PR      00918
CASA MARTIN                               VISTAS DE MONTE CARLO                       500 AVE NORTE APT 2605                                                    TOA ALTA            PR      00953
CASA MISERICORDIA                         P.O. BOX.1039                                                                                                         SABANA SECA         PR      00952‐1039
CASA MISERICORDIA INC                     P O BOX 1039                                                                                                          SABANA SECA         PR      00952
CASA MOJICA, YASHIRA M                    ADDRESS ON FILE
CASA MUEBLES                              CARR. 3 KM. 135.2. LOS VETERANOS                                                                                      GUAYAMA             PR      00784
CASA MUJERES Y NINOS DIANITA MUNOZ INC    PO BOX 1858                                                                                                           BAYAMON             PR      00960‐1858
CASA MUNOZ                                P O BOX 447                                                                                                           YAUCO               PR      00698
CASA MUNOZ SATELLITE                      PO BOX 447                                                                                                            YAUCO               PR      00698
CASA PABLO INC. HOGAR                     APARTADO 511                                                                                                          COROZAL             PR      00783
CASA PITUSA MUEBLES Y ENSERES             APARTADO 1640                                                                                                         CIDRA               PR      00739
CASA PRIMAVERA ( TESAMICA MANAGEMENT )    P O BOX 193549                                                                                                        SAN JUAN            PR      00919‐3549
CASA PRODUCTORA INC                       1357 ASHFORD AVE STE 205                                                                                              SAN JUAN            PR      00907
CASA PRODUCTORA, INC                      1357 AVE ASHFORD SUITE 205                                                                                            SAN JUAN            PR      00907
CASA PROV. RELIG. DEL SAGRADO CORAZON     APARTADO 8418                                                                                                         SAN JUAN            PR      00910‐8418
CASA PUEBLO                               PO BOX 704                                                                                                            ADJUNTAS            PR      00601
CASA PUIG, VIVIANA                        ADDRESS ON FILE
CASA RAYOS DE LUZ INC                     URB ESTANCIAS DE LA FUENTE                  AA 32 ARCHIDUQUE                                                          TOA ALTA            PR      00953
CASA RAYOS DE LUZ, INC                    URB. VEGA SERENA                            404 KATERINE                                                              VEGA BAJA           PR      00963
CASA REAL INC                             EXT SAN AGUSTIN                             B 11 CALLE 10                                                             SAN JUAN            PR      00926
CASA RENUEVO DE AMOR PARA TI MUJER INC.   CARR 905 K 5.0 SECTOR PIEDRA AZUL BO. TEJAS                                                                           YABUCOA             PR      00767‐0000
CASA RIMA CORP                            BOX 1698                                                                                                              BAYAMON             PR      00960‐1698




                                                                                                                Page 1358 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1359 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                    Address1                                Address2                                   Address3   Address4   City         State   PostalCode    Country
CASA RODRIGUEZ                   71 CALLE ACOSTA                                                                                          CAGUAS       PR      00725
CASA ROSA INC.                   1066 FERNANDEZ JUNCOS                                                                                    SAN JUAN     PR      000907‐0000
CASA ROSA, INC.                  1066 AVE. FERNANDEZ JUNCOS PARADA #16                                                                    SAN JUAN     PR      00908‐0000
CASA ROSA, INC.                  360 C/SAN AGUSTIN PUETA DE TIERRA                                                                        SAN JUAN     PR      00936
CASA SAN CLEMENTE INC            P O BOX 9023545                                                                                          SAN JUAN     PR      00902‐3545
CASA SAN GERARDO INC             AREA DEL TESORO                         DIVISION DE RECLAMACIONES                                        SAN JUAN     PR      00902‐4140
CASA SAN GERARDO INC             URB EL VERDE                            37 CALLE LUCERO                                                  CAGUAS       PR      00725
CASA SOFIA FOOD & DELIVERY INC   CAPARRA TERRACE                                                                                          SAN JUAN     PR      00921
CASA SOFIA FOOD & DELIVERY INC   CAPARRA TERRACE                         1268 AVE JESUS T PIÐERO                                          SAN JUAN     PR      00921‐0000
CASA SOFIA FOOD & DELIVERY INC   CAPARRA TERRACE                         1268 AVE JESUS T PINERO                                          SAN JUAN     PR      00921
CASA TUSCANY INC                 PO BOX 16784                                                                                             SAN JUAN     PR      00908‐6784
CASA VIDA ADONAY                 URB FLAMINGO HLS                        261 A CALLE 8                                                    BAYAMON      PR      00957‐1752
CASA VIDA ADONAY, CORP.          C/8 #261‐A URB. FLAMINGO HILLS                                                                           BAYAMON      PR      00957
CASA ZORAIDA                     P O BOX 924                                                                                              CULEBRA      PR      00775
CASABLANCA AYALA, JOEL           ADDRESS ON FILE
CASABLANCA BALDRICH, MARIA A.    ADDRESS ON FILE
CASABLANCA CARRION, JULIO        ADDRESS ON FILE
CASABLANCA ELDERLY HOME CORP     CALLE LOS ANGELES 1025                  URB DEL CARMEN                                                   SAN JUAN     PR      00923
CASABLANCA JIMENEZ, MARTA I      ADDRESS ON FILE
CASABLANCA MARTINEZ, GILBERTO    ADDRESS ON FILE
CASABLANCA MUNOZ, LIZ M          ADDRESS ON FILE
CASABLANCA MUNOZ, RAFAEL A.      ADDRESS ON FILE
Casablanca Rosario, Pedro J.     ADDRESS ON FILE
CASABLANCA SAGARDIA, PEDRO       ADDRESS ON FILE
CASABLANCA TORRES, FERNANDO      ADDRESS ON FILE
CASABLANCA VARGAS, GLORIA        ADDRESS ON FILE
CASABLANCA VILLARAN, ISMAEL      ADDRESS ON FILE
CASADO ACOSTA, MARIA             ADDRESS ON FILE
CASADO ALGARIN, LUIS F           ADDRESS ON FILE
CASADO ARCHIVAL, SANTOS          ADDRESS ON FILE
CASADO ARROYO, HERMINIA          ADDRESS ON FILE
Casado Batista, Michael          ADDRESS ON FILE
CASADO BERRIOS, SANDRA I.        ADDRESS ON FILE
CASADO BERRIOS, WANDA I.         ADDRESS ON FILE
Casado Betancourt, Edwin G       ADDRESS ON FILE
CASADO CASTRO, CARMEN            ADDRESS ON FILE
CASADO CRUZ, JORGE L.            ADDRESS ON FILE
CASADO CRUZ, MAYRA I             ADDRESS ON FILE
CASADO CRUZ, VILMA               ADDRESS ON FILE
CASADO DE QUIQONES, AIDA I       ADDRESS ON FILE
CASADO FERDINAND, LIZBETH        ADDRESS ON FILE
CASADO FIGUEREO, ERIBEL          ADDRESS ON FILE
Casado Fortis, Carlos A          ADDRESS ON FILE
CASADO GARCIA, ENID              ADDRESS ON FILE
CASADO GUZMAN, MARIE             ADDRESS ON FILE
CASADO HERNANDEZ, ELIZABETH      ADDRESS ON FILE
CASADO HERNANDEZ, JACKELINE      ADDRESS ON FILE
CASADO IRIZARRY, ELIZABETH       ADDRESS ON FILE
Casado Jimenez, Wilfredo         ADDRESS ON FILE
CASADO LLANOS, JOSE              ADDRESS ON FILE
Casado Matos, Richard            ADDRESS ON FILE
CASADO ORTIZ, CRUGELIS           ADDRESS ON FILE
CASADO ORTIZ, JORGE              ADDRESS ON FILE
CASADO ORTIZ, JORGE              ADDRESS ON FILE
CASADO PAGAN, LHIZA M            ADDRESS ON FILE
CASADO PARRILLA, WILLIAM         ADDRESS ON FILE
CASADO PEREZ, LINDSAY            ADDRESS ON FILE
CASADO PEREZ, LINDSAY            ADDRESS ON FILE
CASADO PEREZ, LINDSAY            ADDRESS ON FILE
CASADO RIVERA, IGNERIS           ADDRESS ON FILE




                                                                                                     Page 1359 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1360 of 3500
                                                                               17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                   Address1                  Address2                          Address3   Address4   City              State   PostalCode   Country
CASADO RIVERA, IRIS N           ADDRESS ON FILE
CASADO RIVERA, LEE              ADDRESS ON FILE
CASADO RIVERA, LEE              ADDRESS ON FILE
Casado Rivera, Nancy I          ADDRESS ON FILE
CASADO RIVERA, SONIA            ADDRESS ON FILE
CASADO RIVERA, WILBERTO         ADDRESS ON FILE
CASADO RIVERA, WILBERTO         ADDRESS ON FILE
CASADO RODRIGUEZ, CELESTE J     ADDRESS ON FILE
CASADO RODRIGUEZ, DARISSA       ADDRESS ON FILE
CASADO ROMAN, MIGDALIA          ADDRESS ON FILE
CASADO ROSADO, JOSE A.          ADDRESS ON FILE
CASADO SANTANA, GLENDA          ADDRESS ON FILE
CASADO SERRANO, LIRICA M        ADDRESS ON FILE
CASADO ZAYAS, JASMIN            ADDRESS ON FILE
CASADO ZAYAS, JESSICA           ADDRESS ON FILE
CASADO, JORGE L.                ADDRESS ON FILE
CASAIA MD, MARK                 ADDRESS ON FILE
CASAIS GARCIA, BRIAN            ADDRESS ON FILE
Casais Sierra, Francis          ADDRESS ON FILE
CASAL NAVARRO, DEIDRE           ADDRESS ON FILE
CASAL VAZQUEZ, VICTOR           ADDRESS ON FILE
CASALDUC CASALDUC, MARGARITA    ADDRESS ON FILE
CASALDUC CINTRON, KARLA         ADDRESS ON FILE
CASALDUC COCA, FRANCISCO        ADDRESS ON FILE
CASALDUC FIGUEROA, ANGEL L      ADDRESS ON FILE
CASALDUC GONZALEZ, RAMSES       ADDRESS ON FILE
CASALDUC LUJOSA, FRANCISCO      ADDRESS ON FILE
CASALDUC MONTALVO, EDGARDO      ADDRESS ON FILE
CASALDUC MONTALVO, ERNIE        ADDRESS ON FILE
CASALDUC NAZARIO, CARLOS        ADDRESS ON FILE
CASALDUC OTERO, JOSEFINA        ADDRESS ON FILE
CASALDUC RABELL, LETICIA        ADDRESS ON FILE
CASALDUC RABELL, LETICIA M      ADDRESS ON FILE
CASALDUC TORRES, CARLOS F       ADDRESS ON FILE
Casalduc Torres, Fernando       ADDRESS ON FILE
CASALDUC TORRES, FRANCISCO E.   ADDRESS ON FILE
CASALDUC TORRES, SYLVIA M.      ADDRESS ON FILE
CASALDUC TORRES, SYLVIA M.      ADDRESS ON FILE
CASALE VILLANI, SALVATORE       ADDRESS ON FILE
CASALE VILLANI, SALVATORE A.    ADDRESS ON FILE
CASANAS AUTO AIR                PO BOX 141835                                                                     ARECIBO           PR      00614
CASANAS CRUZ, LOURDES G         ADDRESS ON FILE
CASANAS CRUZ, LUIS H            ADDRESS ON FILE
CASANAS CRUZ, VIVIAN            ADDRESS ON FILE
CASANAS CRUZ,LOURDES G.         ADDRESS ON FILE
CASANAS ESTRELLAS, JOSE         ADDRESS ON FILE
CASANAS GARCIA, MARIO           ADDRESS ON FILE
CASANAS MONTES, DWIGHT          ADDRESS ON FILE
CASANAS RAMIR EZ MARIA DEL, R   ADDRESS ON FILE
CASANAS RAMIREZ, SOL J          ADDRESS ON FILE
CASANAS RODRIGUEZ, JANICE       ADDRESS ON FILE
CASANAS SANCHEZ, FRANK R.       ADDRESS ON FILE
CASANDRA A VAZQUEZ              PMB 8068                  PO BOX 30000                                            ARECIBO           PR      00688
CASANDRA M VEGA RIVERA          PO BOX 16435                                                                      SAN JUAN          PR      00908
CASANDRA MAS PAGAN              ADDRESS ON FILE
CASANDRA VOLTAGGIO FIGUEROA     COLINAS DE FAIR VIEW      4 G 21 CALLE 204                                        TRUJILLO ALTO     PR      00976
CASANOVA ADROVER, OLGA          ADDRESS ON FILE
CASANOVA ALICEA, CARMEN L.      ADDRESS ON FILE
CASANOVA ALICEA, MIGDALIA       ADDRESS ON FILE
CASANOVA ALVAREZ, ELIOTT        ADDRESS ON FILE




                                                                             Page 1360 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1361 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                         Address1                  Address2                             Address3              Address4   City         State   PostalCode   Country
CASANOVA ALVAREZ, JOSE                ADDRESS ON FILE
CASANOVA ANZARDO MD, MAGIN            ADDRESS ON FILE
CASANOVA ANZARDO, MAGIN               ADDRESS ON FILE
CASANOVA APONTE, NAHIR T              ADDRESS ON FILE
CASANOVA AYALA, LUIS                  ADDRESS ON FILE
CASANOVA BRUNO, LILLIAM I             ADDRESS ON FILE
CASANOVA CABALLERO, MARIO             ADDRESS ON FILE
CASANOVA CABALLERO, VIRGEN            ADDRESS ON FILE
CASANOVA CABRERA, CARMEN A            ADDRESS ON FILE
CASANOVA CALCERRADA, LUIS             ADDRESS ON FILE
CASANOVA CAMARA, JEANELLYS            ADDRESS ON FILE
CASANOVA CAMARA, ROBERTO              ADDRESS ON FILE
CASANOVA CANDELARIA, SONIA I.         ADDRESS ON FILE
CASANOVA CASTRO, GRACE                ADDRESS ON FILE
CASANOVA CASTRO, INGRID               ADDRESS ON FILE
CASANOVA CHICLANA, IRIS Y             ADDRESS ON FILE
CASANOVA CHICLANA, RAYMUNDO           ADDRESS ON FILE
CASANOVA CLAUDIO, GUILLERMO ALFREDO   ADDRESS ON FILE
CASANOVA CLAUDIO, RAFAEL              ADDRESS ON FILE
CASANOVA COLLAZO, FERNANDO            ADDRESS ON FILE
CASANOVA CRESPO, LUZ                  ADDRESS ON FILE
CASANOVA CRESPO, LUZ E.               ADDRESS ON FILE
CASANOVA CRUZ, ADALBERTO              ADDRESS ON FILE
CASANOVA CRUZ, ANTONIO                ADDRESS ON FILE
CASANOVA CRUZ, CARMEN C               ADDRESS ON FILE
CASANOVA DE JESUS, LUIS R.            ADDRESS ON FILE
CASANOVA DE JESUS, ROBERTO            ADDRESS ON FILE
CASANOVA DE JESUS, TATIANA            ADDRESS ON FILE
CASANOVA DEL MORAL, CLAUDIA M.        ADDRESS ON FILE
Casanova Delgado, Eulogia             ADDRESS ON FILE
CASANOVA DELGADO, JUAN                ADDRESS ON FILE
CASANOVA DELGADO, LUIS                ADDRESS ON FILE
CASANOVA DIAZ, LUZ E.                 ADDRESS ON FILE
CASANOVA ECHERRI, MARIA               ADDRESS ON FILE
CASANOVA ENCARNACION, OLGA I          ADDRESS ON FILE
CASANOVA FELIX, GINIVERE P            ADDRESS ON FILE
CASANOVA FELIX, GWENDOLYN             ADDRESS ON FILE
CASANOVA FERRER, ARLEEN               ADDRESS ON FILE
CASANOVA FIGUEROA, ELENA              ADDRESS ON FILE
CASANOVA FIGUEROA, PEDRO J.           ADDRESS ON FILE
CASANOVA FIGUEROA, ROSARIO            ADDRESS ON FILE
CASANOVA FIGUEROA, ROSARIO I          ADDRESS ON FILE
CASANOVA FUENTES, MARILYN             ADDRESS ON FILE
CASANOVA GARCIA, MARIEN               ADDRESS ON FILE
CASANOVA GARCIA, ZAHIRIS              ADDRESS ON FILE
CASANOVA GONZALEZ, ELOUARD            ADDRESS ON FILE
CASANOVA GONZALEZ, HUMBERTO           ADDRESS ON FILE
CASANOVA GONZALEZ, MIGUEL             ADDRESS ON FILE
CASANOVA GONZALEZ, ROSE               ADDRESS ON FILE
CASANOVA GUADALUPE, DANIEL            ADDRESS ON FILE
CASANOVA GUARDIOLA MD, ROBERTO L      ADDRESS ON FILE
CASANOVA GUEVARA, DAVID               ADDRESS ON FILE
CASANOVA GUZMAN, MARISOL              ADDRESS ON FILE
CASANOVA GUZMAN, MARISOL              MARISOL CASANOVA GUZMAN   URN. BRISAS DEL MAR                  CALLE 7 1‐11                     LUQUILLO     PR      00773
CASANOVA GUZMAN, MARISOL              POR DERECHO PROPIO        CALLE 7 I‐11                         URB. BRISAS DEL MAR              LUQUILLO     PR      00773
CASANOVA HERNANDEZ, ABELARDO          ADDRESS ON FILE
CASANOVA HERNANDEZ, ABELARDO          ADDRESS ON FILE
CASANOVA HERNANDEZ, ANGELA I.         ADDRESS ON FILE
CASANOVA HUERTAS, LUZ E.              ADDRESS ON FILE
CASANOVA HUERTAS, VANESSA             ADDRESS ON FILE




                                                                                      Page 1361 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1362 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                     Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
CASANOVA LA LUZ, ESTHER I         ADDRESS ON FILE
CASANOVA LAGUNA, ANGELICA         ADDRESS ON FILE
CASANOVA LAMOUTTE, JOSE R         ADDRESS ON FILE
CASANOVA LAUREANO, GLENDA         ADDRESS ON FILE
CASANOVA LEBRON, MARCOS A         ADDRESS ON FILE
CASANOVA LEBRON, MARTA            ADDRESS ON FILE
CASANOVA LOPEZ MD, DESIREE        ADDRESS ON FILE
CASANOVA LOPEZ, JOSE              ADDRESS ON FILE
CASANOVA LOPEZ, JOSE              ADDRESS ON FILE
CASANOVA LOZADA, MARISOL          ADDRESS ON FILE
CASANOVA MALDONADO, ANA M         ADDRESS ON FILE
CASANOVA MALDONADO, EDWIN         ADDRESS ON FILE
CASANOVA MALDONADO, FERNANDO      ADDRESS ON FILE
CASANOVA MALDONADO, FERNANDO      ADDRESS ON FILE
CASANOVA MALDONADO, JESSICA       ADDRESS ON FILE
CASANOVA MARQUEZ, JOSE            ADDRESS ON FILE
CASANOVA MARTINEZ, AURORA         ADDRESS ON FILE
CASANOVA MARTINEZ, BRENDA         ADDRESS ON FILE
CASANOVA MARTINEZ, MARIA DE LOS   ADDRESS ON FILE
CASANOVA MELENDEZ, AIDA           ADDRESS ON FILE
CASANOVA MENDEZ, LUIS G           ADDRESS ON FILE
CASANOVA MERCADO, JORGE           ADDRESS ON FILE
CASANOVA MERCADO, LUIS            ADDRESS ON FILE
CASANOVA MERCADO, MARIA DE L      ADDRESS ON FILE
CASANOVA MIELES, RICARDO          ADDRESS ON FILE
CASANOVA MOCTEZUMA, OMAYRA        ADDRESS ON FILE
CASANOVA MONROIG, MARTA A         ADDRESS ON FILE
CASANOVA MONROIG, RAMONITA        ADDRESS ON FILE
CASANOVA MONTALVO, DORAINE        ADDRESS ON FILE
CASANOVA MORALES, JOSE E.         ADDRESS ON FILE
CASANOVA MORALES, JUAN            ADDRESS ON FILE
CASANOVA MORALES, JUAN E.         ADDRESS ON FILE
CASANOVA NATAL, ANGEL             ADDRESS ON FILE
CASANOVA NATAL, JUAN LUIS         ADDRESS ON FILE
CASANOVA NIEVES, GIAN P           ADDRESS ON FILE
CASANOVA NORDELO MD, MAHE G       ADDRESS ON FILE
CASANOVA OCASIO, ALY V            ADDRESS ON FILE
CASANOVA OLMO, RAFAEL             ADDRESS ON FILE
CASANOVA ORTA, MARGARITA          ADDRESS ON FILE
CASANOVA ORTIZ MD, WILLIAM        ADDRESS ON FILE
CASANOVA OSORIO, GREGORIA         ADDRESS ON FILE
CASANOVA PADILLA, EDWIN           ADDRESS ON FILE
CASANOVA PAGAN, JUDITH            ADDRESS ON FILE
CASANOVA PARRILLA, EDWIN          ADDRESS ON FILE
Casanova Peak, Herminio           ADDRESS ON FILE
CASANOVA PELOSI, YVONNE           ADDRESS ON FILE
CASANOVA PINTOR, LOURDES          ADDRESS ON FILE
CASANOVA PINTOR, RAQUEL           ADDRESS ON FILE
CASANOVA POU, RAUL                ADDRESS ON FILE
CASANOVA PUIG, MARIA V            ADDRESS ON FILE
CASANOVA QUINONES ALBERTO         URB MONTE FLORES          502 CALLE SAGRADO CORAZON                                        SAN JUAN     PR      00915
CASANOVA QUINONES, ALBERTO E.     ADDRESS ON FILE
CASANOVA QUINONES, CARLOS A       ADDRESS ON FILE
CASANOVA QUINONEZ, MARIELI        ADDRESS ON FILE
CASANOVA RAMOS, GISSELA DEL A.    ADDRESS ON FILE
CASANOVA RAMOS, SAIDA             ADDRESS ON FILE
CASANOVA RAMOS, YOLANDA           ADDRESS ON FILE
CASANOVA RIVERA, ERICK            ADDRESS ON FILE
CASANOVA RIVERA, ERICK            ADDRESS ON FILE
CASANOVA RIVERA, JOSEFINA         ADDRESS ON FILE




                                                                                        Page 1362 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1363 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASANOVA RIVERA, JUAN M           ADDRESS ON FILE
CASANOVA RIVERA, MANUEL           ADDRESS ON FILE
CASANOVA RIVERA, MARIA            ADDRESS ON FILE
CASANOVA RIVERA, MARIA DE         ADDRESS ON FILE
CASANOVA RIVERA, MARIA DE LOS A   ADDRESS ON FILE
CASANOVA RIVERA, NEISHA M         ADDRESS ON FILE
CASANOVA RIVERA, NELSON           ADDRESS ON FILE
CASANOVA RIVERA, RINA             ADDRESS ON FILE
CASANOVA ROBLES, MARTA            ADDRESS ON FILE
CASANOVA ROBLES, MARTA I          ADDRESS ON FILE
CASANOVA RODRIGUEZ, AWILDA        ADDRESS ON FILE
CASANOVA RODRIGUEZ, CEDELIA       ADDRESS ON FILE
CASANOVA RODRIGUEZ, GRISELA       ADDRESS ON FILE
CASANOVA RODRIGUEZ, JOSE          ADDRESS ON FILE
CASANOVA RODRIGUEZ, LUIS          ADDRESS ON FILE
CASANOVA RODRIGUEZ, LUZ D.        ADDRESS ON FILE
CASANOVA RODRIGUEZ, WILBERTO      ADDRESS ON FILE
CASANOVA ROIG, CARMEN L           ADDRESS ON FILE
CASANOVA ROMERO,IMALAY            ADDRESS ON FILE
CASANOVA ROSA, ABDIER             ADDRESS ON FILE
CASANOVA ROSARIO, JESUS           ADDRESS ON FILE
CASANOVA ROSARIO, VIRGEN M        ADDRESS ON FILE
CASANOVA SALDANA, CARMEN A        ADDRESS ON FILE
CASANOVA SANCHEZ, HERMINIO        ADDRESS ON FILE
CASANOVA SANCHEZ, HERMINIO        ADDRESS ON FILE
CASANOVA SANCHEZ, MERITH          ADDRESS ON FILE
Casanova Sanchez, Merith G.       ADDRESS ON FILE
CASANOVA SANCHEZ, OBDULIA         ADDRESS ON FILE
CASANOVA SANTANA, REYNALDO        ADDRESS ON FILE
CASANOVA SANTIAGO, EDGAR          ADDRESS ON FILE
CASANOVA SANTIAGO, JOSE           ADDRESS ON FILE
CASANOVA SANTIAGO, RUBEN          ADDRESS ON FILE
CASANOVA SANTIAGO, YAILEEN        ADDRESS ON FILE
CASANOVA SARRAU, NURIA            ADDRESS ON FILE
CASANOVA SERRANO, FERNANDO        ADDRESS ON FILE
CASANOVA SERRANO, SONIA           ADDRESS ON FILE
CASANOVA SERRANO, SUHEIL          ADDRESS ON FILE
CASANOVA SILVA, JOSE              ADDRESS ON FILE
CASANOVA SOLIS, ISMAEL            ADDRESS ON FILE
CASANOVA SOTO, ODETTE M           ADDRESS ON FILE
CASANOVA SOTO, VIONETTE           ADDRESS ON FILE
CASANOVA SOTO, VIONNETTE          ADDRESS ON FILE
CASANOVA TIRADO, GERARDO          ADDRESS ON FILE
CASANOVA TOLEDO, MIRIAM I.        ADDRESS ON FILE
CASANOVA TORRES, EDGAR            ADDRESS ON FILE
CASANOVA TORRES, ELIZABETH        ADDRESS ON FILE
CASANOVA TORRES, JEANPIERRE       ADDRESS ON FILE
CASANOVA TORRES, JOSIAN           ADDRESS ON FILE
CASANOVA TOSADO, NELSON           ADDRESS ON FILE
CASANOVA VAZQUEZ, NIDZA M         ADDRESS ON FILE
CASANOVA VEGA, JOSEFINA           ADDRESS ON FILE
CASANOVA VEGA, JULIO              ADDRESS ON FILE
CASANOVA VEGA, LEE                ADDRESS ON FILE
Casanova Velez, Orlando           ADDRESS ON FILE
CASANOVA VIZCAINO, LOURDES        ADDRESS ON FILE
CASANOVA VIZCAINO, SANDRA         ADDRESS ON FILE
CASANOVA VIZCARROND, ISBELA       ADDRESS ON FILE
CASANOVA, JOSE ANTONIO            ADDRESS ON FILE
CASANOVA, JOSE V.                 ADDRESS ON FILE
CASANOVA, JOSE V.                 ADDRESS ON FILE




                                                                              Page 1363 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1364 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                            Address1                          Address2                    Address3   Address4   City         State   PostalCode   Country
CASANOVA, NOEL                           ADDRESS ON FILE
CASANOVAS LOPEZ MD, DESIRRE              ADDRESS ON FILE
CASANOVAS RODRIGUEZ, YARELINE            ADDRESS ON FILE
CASANOVAS TORRES, ORLANDO                ADDRESS ON FILE
CASANOVASAMOT, JORGE L                   ADDRESS ON FILE
CASARES MADURO, LUIS                     ADDRESS ON FILE
CASARES PEREZ, SONIA M                   ADDRESS ON FILE
CASARES RIVERA, ELBA N                   ADDRESS ON FILE
CASAS ALAMO, RAYSA                       ADDRESS ON FILE
Casas Alicea, Carlos G.                  ADDRESS ON FILE
CASAS ALICEA, OSCAR                      ADDRESS ON FILE
CASAS BENABE MD, RENE                    ADDRESS ON FILE
CASAS BERRIOS, GENESIS G                 ADDRESS ON FILE
CASAS BETANCOURT, AIXA ENID              ADDRESS ON FILE
CASAS BURGOS, MARISOL                    ADDRESS ON FILE
CASAS COTTO, JESSICA                     ADDRESS ON FILE
CASAS CRUZ, ANGEL M.                     ADDRESS ON FILE
CASAS CRUZ, ANGEL M.                     ADDRESS ON FILE
CASAS CRUZ, ÁNGEL M. Y MELÉNDEZ FERNÁNDEZLCDA. JOHANNA GILOT OPPENHEIMER   PO BOX 369                                        CATAÑO       PR      00963‐0369
CASAS CRUZ, ANTONIO                      ADDRESS ON FILE
CASAS GALBAN, LISSETTE                   ADDRESS ON FILE
CASAS GONZALEZ, ANGEL                    ADDRESS ON FILE
CASAS GUERNICA, AMERICO                  ADDRESS ON FILE
CASAS IGLESIAS, SANDRA I                 ADDRESS ON FILE
CASAS JR, HECTOR                         ADDRESS ON FILE
CASAS LOPEZ MD, ANGELES                  ADDRESS ON FILE
CASAS LOZANO, ADA I                      ADDRESS ON FILE
CASAS LUGO, LUZ V                        ADDRESS ON FILE
CASAS MELENDEZ, DANIEL                   ADDRESS ON FILE
CASAS MI EDEN INC                        1319 BO SANTANA                                                                     ARECIBO      PR      00612
CASAS MI ESTILO                          CARR 2 PONCE BY PASS                                                                PONCE        PR      00717
CASAS MOJICA, YAHAIRA M                  ADDRESS ON FILE
CASAS OFFICE MACHINES INC                523 DE DIEGO AVE                                                                    SAN JUAN     PR      00920
CASAS ORTIZ, RAUL D                      ADDRESS ON FILE
CASAS OSORIO, ANGELES                    ADDRESS ON FILE
CASAS OSORIO, WANDA B                    ADDRESS ON FILE
CASAS OTERO, RAUL                        ADDRESS ON FILE
Casas Otero, Ricardo                     ADDRESS ON FILE
CASAS PABON, JAVIER A                    ADDRESS ON FILE
CASAS PACHECO, JOSIE                     ADDRESS ON FILE
CASAS PENA, HECTOR                       ADDRESS ON FILE
CASAS REALES S E                         ADDRESS ON FILE
CASAS REYES, ORLANDO                     ADDRESS ON FILE
CASAS RIVERA, IRAD                       ADDRESS ON FILE
CASAS RIVERA, SILMARYS                   ADDRESS ON FILE
CASAS RIVERA, VERONICA                   ADDRESS ON FILE
CASAS RODRIGUEZ, JORGE L                 ADDRESS ON FILE
CASAS RODRIGUEZ, MARIA M                 ADDRESS ON FILE
CASAS RUIZ, LEILA                        ADDRESS ON FILE
CASAS SOTO, GILBERTO                     ADDRESS ON FILE
CASAS TORRES, LUIS F                     ADDRESS ON FILE
CASAS,JORGE L.                           ADDRESS ON FILE
CASASNOVAS BULA, MARYANN                 ADDRESS ON FILE
CASASNOVAS CORTES, RAFAEL J.             ADDRESS ON FILE
CASASNOVAS CUEVAS, EDWIN                 ADDRESS ON FILE
CASASNOVAS CUEVAS, LUZ NEREIDA           ADDRESS ON FILE
CASASNOVAS CUEVAS, NELL M                ADDRESS ON FILE
CASASNOVAS LUIGGI, EDNA                  ADDRESS ON FILE
CASASNOVAS MARTINEZ, MILAGROS            ADDRESS ON FILE
CASASNOVAS ORTEGA, NICOLE                ADDRESS ON FILE




                                                                                        Page 1364 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1365 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                         Address1                                  Address2                           Address3   Address4   City            State   PostalCode   Country
CASASNOVAS RIVERA, LIMARIS            ADDRESS ON FILE
CASASNOVAS RIVERA, MARIELY            ADDRESS ON FILE
CASASNOVAS RODRIGUEZ, JORGE           ADDRESS ON FILE
CASASNOVAS RODRIGUEZ, JORGE HIRAM     ADDRESS ON FILE
Casasnovas Torre, Eddieberto          ADDRESS ON FILE
Casasus Luciano, Pablo R              ADDRESS ON FILE
CASASUS RIOS, SYLVIA R.               ADDRESS ON FILE
CASASUS URRUTIA, MIRIAM J             ADDRESS ON FILE
CASCADA CRYSTAL                       371 AVE 65 INFANTERIA HILLS BROTHER                                                                SAN JUAN        PR      00
CASCADE RADIOLOGY CONSULT             PO BOX 309                                                                                         PICKENS         SC      29671
CASCO QUIROZ, LILIANA                 ADDRESS ON FILE
CASCO RENTAL INC                      PO BOX 366279                                                                                      SAN JUAN        PR      00936‐6279
CASCO SALES COMPANY                   101 AVE. LOS CONQUISTADORES                                                                        CATANO          PR      00962
CASCO SALES COMPANY INC               PO BOX 366279                                                                                      SAN JUAN        PR      00936‐0000
CASE MD, WAYNE                        ADDRESS ON FILE
CASE SOFT                             5000 SAWGRASS VILLAGE CIRCLE                                                                       VEDRA BEACH     FL      32082
CASE SOLUTIONS, LLC                   305 CALLE VIZCARRONDO                     VILLA PALMERAS                                           SAN JUAN        PR      00915
CASE SOLUTIONS, LLC                   P O BOX 7394                                                                                       SAN JUAN        PR      00916
CASEIDA MONSERRATE, JOSE R            ADDRESS ON FILE
CASELLA SOSTRE, REINALDO L            ADDRESS ON FILE
CASELLAS AGOSTO, JAIME                ADDRESS ON FILE
CASELLAS BADILLO, OLGA                ADDRESS ON FILE
CASELLAS BERRIOS, CARMEN              ADDRESS ON FILE
CASELLAS CASTILLO MD, JOSE C          ADDRESS ON FILE
Casellas Dumont, Efrain               ADDRESS ON FILE
CASELLAS MORALES, RICARDO             ADDRESS ON FILE
CASELLAS MORALES, RICARDO JOSE        ADDRESS ON FILE
CASELLAS RAMOS, JORGE I.              ADDRESS ON FILE
CASELLAS RAMOS, NIDIA                 ADDRESS ON FILE
CASELLAS RAMOS, VICENTE               ADDRESS ON FILE
CASELLAS ROSARIO, MAYRA               ADDRESS ON FILE
CASERES NEGRON, JEAN CARLO            ADDRESS ON FILE
CASERIO FILMS INC                     RES MANUEL A PEREZ                        EDIF A 26 APT 300                                        SAN JUAN        PR      00923
CASERO VAZQUEZ, JORGE                 ADDRESS ON FILE
CASES CARRILLO, MAGALI                ADDRESS ON FILE
CASES CRUZ, JOSE A                    ADDRESS ON FILE
CASES DIAZ, MILAGROS                  ADDRESS ON FILE
CASES GALLARDO MD, HECTOR J           ADDRESS ON FILE
CASES GALLARDO, ALBERTO               ADDRESS ON FILE
CASES GALLARDO, ALBERTO               ADDRESS ON FILE
CASES GALLARDO, CARLOS                ADDRESS ON FILE
CASES GALLARDO, RICARDO               ADDRESS ON FILE
CASES HODGE, ANGELES                  ADDRESS ON FILE
CASES MAYORAL MD, HECTOR              ADDRESS ON FILE
CASES RODRIGUEZ, ANTONIO              ADDRESS ON FILE
Cases Rodriguez, Jorge L              ADDRESS ON FILE
CASES ROSARIO, ANTONIO L              ADDRESS ON FILE
CASEY OTERO, FRANCES M                ADDRESS ON FILE
CASH EXPRESS P R INC                  LEVITTOWN S 16                            CALLE LEALTAD                                            TOA BAJA        PR      00949
CASH EXPRESS P R INC                  URB PONCE DE LEON 197                     AVE ESMERALDA                                            GUAYNABO        PR      00969
CASI HEALTH CARE TECHNOLOGIES, INC.   REPARTO AMERICA C/VALCARCEL 521 SUITE 1                                                            SAN JUAN        PR      00923
CASIANO ABRERA MD, FELIX M            ADDRESS ON FILE
Casiano Acevedo, Jose A               ADDRESS ON FILE
CASIANO ACEVEDO, JUAN P               ADDRESS ON FILE
CASIANO ACOSTA, GLENDA L              ADDRESS ON FILE
CASIANO ACOSTA, MIGUELANGEL           ADDRESS ON FILE
CASIANO ACOSTA, MILAGROS              ADDRESS ON FILE
CASIANO ALICEA, ANABELLE              ADDRESS ON FILE
CASIANO ALMODOVAR, MILDRED            ADDRESS ON FILE
Casiano Alvarado, Luis R.             ADDRESS ON FILE




                                                                                                    Page 1365 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1366 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASIANO ALVELO, HELEN           ADDRESS ON FILE
CASIANO ARROYO, MARANGELY       ADDRESS ON FILE
Casiano Arroyo, Noe I           ADDRESS ON FILE
CASIANO AVILES, EDWIN           ADDRESS ON FILE
CASIANO AYALA, ANGGIE           ADDRESS ON FILE
CASIANO AYALA, CARMELO          ADDRESS ON FILE
CASIANO AYALA, EFRAIN           ADDRESS ON FILE
CASIANO AYALA, NESTOR D.        ADDRESS ON FILE
CASIANO AYALA, PEDRO            ADDRESS ON FILE
CASIANO AYALA, RICARDO          ADDRESS ON FILE
CASIANO AYALA, ROLANDO          ADDRESS ON FILE
CASIANO BAEZ, JUANITA           ADDRESS ON FILE
CASIANO BALLESTER, CARMEN       ADDRESS ON FILE
CASIANO BALLESTER, CARMEN Y     ADDRESS ON FILE
CASIANO BALZAC, AITZA           ADDRESS ON FILE
CASIANO BELLO, JAIME            ADDRESS ON FILE
CASIANO BELLO, OLGA M           ADDRESS ON FILE
CASIANO BELTRAN, MILITZA        ADDRESS ON FILE
CASIANO BERDECIA, IRMA          ADDRESS ON FILE
CASIANO BERRIOS, JOSE ALBERTO   ADDRESS ON FILE
CASIANO BETANCOURT MORALES      PO BOX 914                                                                       CAROLINA     PR      00986
CASIANO BLANCO, JAIME           ADDRESS ON FILE
Casiano Bonilla, Jose M         ADDRESS ON FILE
CASIANO BRACERO, DOMINGO        ADDRESS ON FILE
Casiano Bracero, Domingo        ADDRESS ON FILE
CASIANO BRACERO, MIGUEL         ADDRESS ON FILE
CASIANO BURGOS, YAMILLE         ADDRESS ON FILE
CASIANO CAMACHO, CARLOS         ADDRESS ON FILE
CASIANO CAMACHO, ELIZABETH      ADDRESS ON FILE
CASIANO CAMERON, EVELYN R       ADDRESS ON FILE
CASIANO CANCEL, ALEXIS          ADDRESS ON FILE
Casiano Caraballo, Felipe       ADDRESS ON FILE
CASIANO CARABALLO, FELIPE       ADDRESS ON FILE
CASIANO CASANOVA, LOURDES       ADDRESS ON FILE
CASIANO CASIANO, ARELIS         ADDRESS ON FILE
CASIANO CASTRO, GILBERTO        ADDRESS ON FILE
CASIANO CASTRO, GILBERTO        ADDRESS ON FILE
CASIANO CASTRO, JAIME           ADDRESS ON FILE
CASIANO CASTRO, NORMA I         ADDRESS ON FILE
CASIANO CASTRO, ZORAIDA         ADDRESS ON FILE
CASIANO CATALA, JAIME           ADDRESS ON FILE
Casiano Cepeda, Julio A         ADDRESS ON FILE
Casiano Cherena, Angel L        ADDRESS ON FILE
CASIANO CHERENA, MARIA M        ADDRESS ON FILE
CASIANO CHEVERE, JEANICE G      ADDRESS ON FILE
CASIANO CHEVERE, VANESSA        ADDRESS ON FILE
CASIANO CINTRON, CELIA          ADDRESS ON FILE
Casiano Cintron, Lydia E        ADDRESS ON FILE
Casiano Cintron, Maria E        ADDRESS ON FILE
CASIANO CLEMENTE, ROSE M        ADDRESS ON FILE
CASIANO COLLAZO, ANDRES         ADDRESS ON FILE
CASIANO COLLAZO, MABEL          ADDRESS ON FILE
CASIANO COLON, JAYCEE C         ADDRESS ON FILE
CASIANO COLON, JULIO            ADDRESS ON FILE
CASIANO COLON, JULIO C          ADDRESS ON FILE
CASIANO COLON, RAMON            ADDRESS ON FILE
CASIANO COLON, RAMON            ADDRESS ON FILE
CASIANO COLON, TOMAS            ADDRESS ON FILE
CASIANO COMMUNICATIONS INC      P O BOX 12130                                                                    SAN JUAN     PR      00914‐0130
CASIANO CORIANO, HERBERT        ADDRESS ON FILE




                                                                            Page 1366 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1367 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASIANO COSME, VICTOR             ADDRESS ON FILE
CASIANO COSME, VICTOR A.          ADDRESS ON FILE
CASIANO CRESPO, GLADYS N          ADDRESS ON FILE
CASIANO CRUZ, ALVIN               ADDRESS ON FILE
CASIANO CRUZ, DAHIANA             ADDRESS ON FILE
CASIANO CRUZ, HILDA               ADDRESS ON FILE
CASIANO CRUZ, INETTE              ADDRESS ON FILE
CASIANO CRUZ, JOSE                ADDRESS ON FILE
CASIANO CRUZ, LEMUEL              ADDRESS ON FILE
CASIANO CRUZ, MYRNA I             ADDRESS ON FILE
CASIANO CRUZ, VIVIAN              ADDRESS ON FILE
CASIANO CUEVAS, MARIA DE L        ADDRESS ON FILE
CASIANO DAVILA, LUIS              ADDRESS ON FILE
CASIANO DE JESUS, CARLOS          ADDRESS ON FILE
CASIANO DIAZ, INOCENCIA           ADDRESS ON FILE
CASIANO DIAZ, JORGE M.            ADDRESS ON FILE
CASIANO DIAZ, JUAN E              ADDRESS ON FILE
CASIANO DIAZ, MARIA DEL C.        ADDRESS ON FILE
CASIANO DIAZ, MARIA I             ADDRESS ON FILE
CASIANO DIAZ, ROSELYN             ADDRESS ON FILE
CASIANO FELICIANO, ALICIA         ADDRESS ON FILE
CASIANO FELICIANO, JOSE M         ADDRESS ON FILE
CASIANO FELICIANO, LUIS           ADDRESS ON FILE
CASIANO FIGUEROA, ADA I           ADDRESS ON FILE
CASIANO FIGUEROA, MORAIMA         ADDRESS ON FILE
CASIANO FLORES, CHARLOTTE         ADDRESS ON FILE
Casiano Fonrodona, Jey E          ADDRESS ON FILE
Casiano Fonrodona, Joel E         ADDRESS ON FILE
CASIANO GARCIA, JOSE              ADDRESS ON FILE
Casiano Garcia, Jose A            ADDRESS ON FILE
CASIANO GARCIA, JOSE A.           ADDRESS ON FILE
CASIANO GARCIA, JUAN              ADDRESS ON FILE
CASIANO GARCIA, JUAN CARLOS       ADDRESS ON FILE
CASIANO GARCIA, KAREN ENID        ADDRESS ON FILE
CASIANO GONZALEZ, IRMA E          ADDRESS ON FILE
Casiano Gonzalez, Junior O.       ADDRESS ON FILE
Casiano Gracia, Felix             ADDRESS ON FILE
CASIANO GUEVARA, LADIZ R          ADDRESS ON FILE
CASIANO GUEVARA, NYDIA            ADDRESS ON FILE
CASIANO GUIDO, VICTOR M.          ADDRESS ON FILE
CASIANO GUIO, JENIFFER E          ADDRESS ON FILE
CASIANO GUIO, MARLENE L           ADDRESS ON FILE
CASIANO HERNANDEZ, JOSE ROBERTO   ADDRESS ON FILE
CASIANO HERNANDEZ, YARIDSABEL     ADDRESS ON FILE
CASIANO HOMAR, INGRID             ADDRESS ON FILE
Casiano Homar, Orlando R          ADDRESS ON FILE
CASIANO IRIZARRY, ADELAIDA        ADDRESS ON FILE
CASIANO IRIZARRY, ANGEL J         ADDRESS ON FILE
CASIANO IRIZARRY, JUANECTOR A     ADDRESS ON FILE
CASIANO IRIZARRY, MARIELA         ADDRESS ON FILE
CASIANO IRIZARRY, MARIJOES        ADDRESS ON FILE
Casiano Irizarry, Pablo A         ADDRESS ON FILE
Casiano Jimenez, Efrain           ADDRESS ON FILE
CASIANO JUSINO, HAROLD K          ADDRESS ON FILE
CASIANO JUSINO, MARIA L           ADDRESS ON FILE
CASIANO JUSINO, ROBERTO           ADDRESS ON FILE
CASIANO LABRADOR, PABLO           ADDRESS ON FILE
CASIANO LABRADOR, ROSA I.         ADDRESS ON FILE
CASIANO LAMBOY, MINERVA           ADDRESS ON FILE
CASIANO LARA, JOSE                ADDRESS ON FILE




                                                                              Page 1367 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1368 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASIANO LIZARDI, GRACE M         ADDRESS ON FILE
CASIANO LIZARDI, LILLIAN         ADDRESS ON FILE
CASIANO LOPEZ, ELMER LUIS        ADDRESS ON FILE
Casiano Lopez, Ivette            ADDRESS ON FILE
CASIANO LOPEZ, IVETTE            ADDRESS ON FILE
Casiano Lopez, Jessica           ADDRESS ON FILE
CASIANO LOPEZ, JESSICA           ADDRESS ON FILE
CASIANO LOPEZ, JOAN              ADDRESS ON FILE
CASIANO LOPEZ, JULIO A.          ADDRESS ON FILE
CASIANO LOPEZ, RICARDO           ADDRESS ON FILE
CASIANO LOPEZ, ROMUALDO          ADDRESS ON FILE
CASIANO LOPEZ, ROSA E            ADDRESS ON FILE
CASIANO LOPEZ, VICTOR M.         ADDRESS ON FILE
CASIANO LUCIANO, ELENA           ADDRESS ON FILE
Casiano Lugo, Angel              ADDRESS ON FILE
CASIANO LUGO, MARILYN            ADDRESS ON FILE
CASIANO MALDONADO, JEANNETTE M   ADDRESS ON FILE
CASIANO MALDONADO, LIZBETH       ADDRESS ON FILE
CASIANO MALDONADO, ROXANA        ADDRESS ON FILE
CASIANO MARTINEZ, LIZA           ADDRESS ON FILE
CASIANO MATOS, WALESKA           ADDRESS ON FILE
CASIANO MATOS, WALESKA           ADDRESS ON FILE
CASIANO MEDINA, CLARIBEL         ADDRESS ON FILE
CASIANO MEDINA, DOLORES          ADDRESS ON FILE
CASIANO MELENDEZ, MARIA          ADDRESS ON FILE
CASIANO MERCADO, ANA L           ADDRESS ON FILE
CASIANO MERCADO, FELIX           ADDRESS ON FILE
CASIANO MERCADO, MIGDALIA        ADDRESS ON FILE
CASIANO MONTALVO, BRUNELLY       ADDRESS ON FILE
CASIANO MORALES, GLADYS N        ADDRESS ON FILE
CASIANO MORIS, PABLO             ADDRESS ON FILE
CASIANO NAZARIO, JOMAR           ADDRESS ON FILE
CASIANO NAZARIO, JUAN C.         ADDRESS ON FILE
CASIANO NAZARIO, YARISI          ADDRESS ON FILE
CASIANO OCASIO, JOSE             ADDRESS ON FILE
CASIANO OLAN, JESSICA            ADDRESS ON FILE
CASIANO OLIVERA, FRANCISCO       ADDRESS ON FILE
CASIANO OLMEDA, ELIZABETH        ADDRESS ON FILE
CASIANO OLMEDA, LUIS             ADDRESS ON FILE
CASIANO ORTIZ, AIDA L            ADDRESS ON FILE
CASIANO ORTIZ, ARNALDO           ADDRESS ON FILE
CASIANO ORTIZ, CARLOS            ADDRESS ON FILE
CASIANO ORTIZ, ELVIN             ADDRESS ON FILE
CASIANO ORTIZ, ELVIN M           ADDRESS ON FILE
CASIANO ORTIZ, FRANCISCO         ADDRESS ON FILE
CASIANO ORTIZ, JOSE A.           ADDRESS ON FILE
CASIANO ORTIZ, MARILYN           ADDRESS ON FILE
CASIANO ORTIZ, MARISOL           ADDRESS ON FILE
CASIANO ORTIZ, RUPERTO           ADDRESS ON FILE
CASIANO PADILLA, ISIS            ADDRESS ON FILE
CASIANO PAGAN, CARLOS J.         ADDRESS ON FILE
CASIANO PAGAN, MIGUEL A.         ADDRESS ON FILE
CASIANO PARRILLA, CARLOS         ADDRESS ON FILE
CASIANO PARRILLA, CARLOS         ADDRESS ON FILE
CASIANO PARRILLA, LUIS J.        ADDRESS ON FILE
CASIANO PEREZ, EXELIZBETH        ADDRESS ON FILE
CASIANO PEREZ, MARGIEANNE        ADDRESS ON FILE
CASIANO PEREZ, MARION            ADDRESS ON FILE
Casiano Perez, Ramon A           ADDRESS ON FILE
Casiano Perez, Roberto           ADDRESS ON FILE




                                                                             Page 1368 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1369 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASIANO PEREZ, SARI I.          ADDRESS ON FILE
Casiano Pietri, Jesus           ADDRESS ON FILE
Casiano Pietri, Ruben           ADDRESS ON FILE
CASIANO PINO, GRISED            ADDRESS ON FILE
CASIANO PINO, MIRGINIA          ADDRESS ON FILE
CASIANO QUILES MD, WANDA        ADDRESS ON FILE
CASIANO QUILES, IVAN            ADDRESS ON FILE
CASIANO QUILES, IVAN            ADDRESS ON FILE
CASIANO QUILES, YOLANDA         ADDRESS ON FILE
CASIANO RAMIREZ, FRANCISCO      ADDRESS ON FILE
CASIANO RAMIREZ, LUZ S          ADDRESS ON FILE
CASIANO RAMIREZ, RUPERT         ADDRESS ON FILE
CASIANO RAMOS, CARMEN           ADDRESS ON FILE
CASIANO RIVERA, ELSON           ADDRESS ON FILE
CASIANO RIVERA, JESUS           ADDRESS ON FILE
CASIANO RIVERA, JOHANNIE        ADDRESS ON FILE
CASIANO RIVERA, JOHANNIE        ADDRESS ON FILE
CASIANO RIVERA, JORGE           ADDRESS ON FILE
CASIANO RIVERA, JOSE M.         ADDRESS ON FILE
CASIANO RIVERA, JOSUE           ADDRESS ON FILE
CASIANO RIVERA, JULIO           ADDRESS ON FILE
CASIANO RIVERA, LIZMARY         ADDRESS ON FILE
CASIANO RIVERA, MARCELINO       ADDRESS ON FILE
CASIANO RIVERA, MARGARITA       ADDRESS ON FILE
CASIANO RIVERA, MARIBEL         ADDRESS ON FILE
Casiano Rivera, Melvin V        ADDRESS ON FILE
CASIANO RIVERA, MILDRED         ADDRESS ON FILE
CASIANO RIVERA, MIRNA           ADDRESS ON FILE
CASIANO RIVERA, NITZA I.        ADDRESS ON FILE
CASIANO RIVERA, WENDELL L.      ADDRESS ON FILE
CASIANO RIVERA, WENDELL L.      ADDRESS ON FILE
CASIANO RIVERA, YVONNE          ADDRESS ON FILE
CASIANO RIVERA, YVONNE          ADDRESS ON FILE
CASIANO RODRIGUEZ REYES         ADDRESS ON FILE
CASIANO RODRIGUEZ, ANTONIO      ADDRESS ON FILE
CASIANO RODRIGUEZ, ANTONIO L.   ADDRESS ON FILE
CASIANO RODRIGUEZ, ARNALDO J    ADDRESS ON FILE
CASIANO RODRIGUEZ, CARLOS       ADDRESS ON FILE
CASIANO RODRIGUEZ, FELIX        ADDRESS ON FILE
CASIANO RODRIGUEZ, FELIX        ADDRESS ON FILE
CASIANO RODRIGUEZ, HELDA        ADDRESS ON FILE
CASIANO RODRIGUEZ, JAVIER       ADDRESS ON FILE
CASIANO RODRIGUEZ, KAREN        ADDRESS ON FILE
CASIANO RODRIGUEZ, LOURDES      ADDRESS ON FILE
CASIANO RODRIGUEZ, LUIS         ADDRESS ON FILE
CASIANO RODRIGUEZ, LUIS J       ADDRESS ON FILE
CASIANO RODRIGUEZ, MARIBEL      ADDRESS ON FILE
CASIANO RODRIGUEZ, PAULETTE     ADDRESS ON FILE
CASIANO RODRIGUEZ, RENE         ADDRESS ON FILE
Casiano Rodriguez, Salvador     ADDRESS ON FILE
CASIANO RODRIGUEZ, SILVIA       ADDRESS ON FILE
CASIANO RODRIGUEZL, LUZ M       ADDRESS ON FILE
CASIANO ROQUE, EDRIC R.         ADDRESS ON FILE
CASIANO ROVIRA, JOSE            ADDRESS ON FILE
CASIANO RUIZ, ANGEL L           ADDRESS ON FILE
CASIANO RUIZ, MONSERRATE        ADDRESS ON FILE
CASIANO RUTH, A                 ADDRESS ON FILE
CASIANO SAEZ, NOEL              ADDRESS ON FILE
CASIANO SAEZ, NOEL              ADDRESS ON FILE
CASIANO SANCHEZ MD, ARIEL       ADDRESS ON FILE




                                                                            Page 1369 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1370 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASIANO SANCHEZ MD, LUIS A     ADDRESS ON FILE
CASIANO SANCHEZ, CARMEN        ADDRESS ON FILE
CASIANO SANCHEZ, MARIA         ADDRESS ON FILE
CASIANO SANTANA, BETSY         ADDRESS ON FILE
Casiano Santiago, Alinnette    ADDRESS ON FILE
CASIANO SANTIAGO, FRANCISCA    ADDRESS ON FILE
CASIANO SANTIAGO, IRMA E.      ADDRESS ON FILE
CASIANO SANTIAGO, MABEL        ADDRESS ON FILE
CASIANO SANTIAGO, MARCOS       ADDRESS ON FILE
CASIANO SANTIAGO, MIRNA        ADDRESS ON FILE
CASIANO SEMIDEY, WILSON        ADDRESS ON FILE
CASIANO SEPULVEDA, MILAGROS    ADDRESS ON FILE
CASIANO SEPULVEDA, MILAGROS    ADDRESS ON FILE
CASIANO SIERRA, CARMEN R       ADDRESS ON FILE
CASIANO SILVA, ANGEL           ADDRESS ON FILE
CASIANO SILVA, CARLOS          ADDRESS ON FILE
Casiano Simonetti, Miguel A    ADDRESS ON FILE
CASIANO SOSA, WANDA            ADDRESS ON FILE
CASIANO SOTO, MARIA V          ADDRESS ON FILE
CASIANO SUAREZ, MADELINE G     ADDRESS ON FILE
CASIANO SUAREZ, MARILYN I      ADDRESS ON FILE
CASIANO TIRU, EDGAR            ADDRESS ON FILE
CASIANO TORRES, DALVIN         ADDRESS ON FILE
CASIANO TORRES, JAIME          ADDRESS ON FILE
CASIANO TORRES, JAIME E        ADDRESS ON FILE
CASIANO TORRES, JORGE          ADDRESS ON FILE
CASIANO TORRES, JOSE M.        ADDRESS ON FILE
CASIANO TORRES, LUIS           ADDRESS ON FILE
CASIANO TORRES, LUIS           ADDRESS ON FILE
CASIANO TORRES, LUZ M          ADDRESS ON FILE
CASIANO TORRES, MAGALLY        ADDRESS ON FILE
CASIANO TORRES, MARIA L        ADDRESS ON FILE
CASIANO TORRES, MELVIN         ADDRESS ON FILE
CASIANO TORRES, MELVIN         ADDRESS ON FILE
CASIANO TORRES, RAFAEL A       ADDRESS ON FILE
Casiano Torres, Samuel         ADDRESS ON FILE
CASIANO TORRES, SORIMAR        ADDRESS ON FILE
Casiano Valentin, Angel M      ADDRESS ON FILE
CASIANO VAZQUEZ, XIOMARA       ADDRESS ON FILE
Casiano Vega, Efrain           ADDRESS ON FILE
CASIANO VEGA, EFRAIN           ADDRESS ON FILE
CASIANO VEGA, ILUMINADA        ADDRESS ON FILE
Casiano Vega, Janice Nanette   ADDRESS ON FILE
CASIANO VEGA, JUAN             ADDRESS ON FILE
CASIANO VEGA, MARGARITA        ADDRESS ON FILE
Casiano Vega, Maria P.         ADDRESS ON FILE
CASIANO VEGA, RAMON            ADDRESS ON FILE
CASIANO VEGA, ROSA E           ADDRESS ON FILE
CASIANO VELEZ, CARMEN          ADDRESS ON FILE
CASIANO VELEZ, GIOVANNI        ADDRESS ON FILE
CASIANO VELEZ, PABLO           ADDRESS ON FILE
CASIANO WATERCRAFT             VISTAS DEL MORRO          CALLE PITTIRE                                          CATANO       PR      00962
Casiano Zapata, Emilio         ADDRESS ON FILE
CASIANO, JESUS                 ADDRESS ON FILE
CASIANO, LUIS O.               ADDRESS ON FILE
CASIANO, RAMON                 ADDRESS ON FILE
CASIANOBAEZ, CARMELO           ADDRESS ON FILE
CASIANOSANCHEZ, BRUNILDA       ADDRESS ON FILE
CASILDA HERNANDEZ RIVERA       ADDRESS ON FILE
CASILDA MARTINEZ RIVERA        ADDRESS ON FILE




                                                                           Page 1370 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1371 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3         Address4   City       State   PostalCode   Country
CASILDA NUNEZ BRITO             ADDRESS ON FILE
CASILDA PABON RAMON             ADDRESS ON FILE
CASILDA RIVERA MARTINEZ         ADDRESS ON FILE
CASILDA SANCHEZ DE JESUS        ADDRESS ON FILE
CASILDA SANTONI MORENO          ADDRESS ON FILE
CASILDA TORRES VARGAS           ADDRESS ON FILE
CASILLA CARRASQUILLO, LILLIAM   ADDRESS ON FILE
CASILLA COLON, ANA              ADDRESS ON FILE
CASILLA CRUZ, RAMON             ADDRESS ON FILE
Casilla Figueroa, Jonathan      ADDRESS ON FILE
CASILLA GONZALEZ, ELIO          ADDRESS ON FILE
CASILLA PENA, ROBERTO           ADDRESS ON FILE
CASILLA RIVERA, MYRNA L         ADDRESS ON FILE
CASILLAS AGOSTO, MICHAEL        ADDRESS ON FILE
CASILLAS AGOSTO, MYRA           ADDRESS ON FILE
Casillas Alicea, Victor O.      ADDRESS ON FILE
CASILLAS ALVAREZ, ALFREDO       ADDRESS ON FILE
Casillas Alvarez, Alfredo M.    ADDRESS ON FILE
CASILLAS ALVAREZ, MAYRA         ADDRESS ON FILE
CASILLAS ANGLERO, CARMEN V      ADDRESS ON FILE
CASILLAS ANGLERO, NESTOR O.     ADDRESS ON FILE
CASILLAS ARROYO, EDWIN          ADDRESS ON FILE
CASILLAS ARROYO, RUBEN          ADDRESS ON FILE
CASILLAS AVILES, EDGAR          ADDRESS ON FILE
CASILLAS AVILES, GIEZY          ADDRESS ON FILE
CASILLAS AYALA, JUAN J          ADDRESS ON FILE
CASILLAS BARRETO, CRAIG A       ADDRESS ON FILE
CASILLAS BARRETO, KATHLEEN      ADDRESS ON FILE
CASILLAS BARRETO, KATHLEEN      POR DERECHO PROPIO        CALLE 8 AA 16                    URB. LAS VEGAS              CATANO     PR      00963
CASILLAS BELTRAN, LUIS          ADDRESS ON FILE
CASILLAS BERRIOS, EDWIN         ADDRESS ON FILE
CASILLAS BETANCOURT, ABIGAIL    ADDRESS ON FILE
CASILLAS BONANO, EVELYN         ADDRESS ON FILE
CASILLAS BURGOS, RAUL           ADDRESS ON FILE
CASILLAS BURGOS, ROXANNIE       ADDRESS ON FILE
CASILLAS BURGOS, VANESSA        ADDRESS ON FILE
CASILLAS BURGOS, XIOMARA        ADDRESS ON FILE
CASILLAS CANALES, GRETCHEN      ADDRESS ON FILE
CASILLAS CARABALLO, DORSEY      ADDRESS ON FILE
CASILLAS CARDONA, CHARLES       ADDRESS ON FILE
Casillas Carrasquillo, Edward   ADDRESS ON FILE
CASILLAS CASILLAS, JOSE         ADDRESS ON FILE
CASILLAS CASTRO, CLARIBEL       ADDRESS ON FILE
CASILLAS CASTRODAD, SARA I      ADDRESS ON FILE
Casillas Cintron, Victor M      ADDRESS ON FILE
Casillas Colla, Francisco J     ADDRESS ON FILE
CASILLAS COLLAZO, AMARILYS      ADDRESS ON FILE
CASILLAS COLON, ALEXIS          ADDRESS ON FILE
CASILLAS COLON, ANA L           ADDRESS ON FILE
CASILLAS COLON, ANA MIGUELIN    ADDRESS ON FILE
CASILLAS COLON, JEFFREY         ADDRESS ON FILE
CASILLAS CORDERO, ZULMA         ADDRESS ON FILE
CASILLAS CORDOVA, AMBAR Y       ADDRESS ON FILE
CASILLAS CORREA, EDWIN          ADDRESS ON FILE
CASILLAS CORREA, SHIRLEY A.     ADDRESS ON FILE
CASILLAS CORREA, YARIMEL        ADDRESS ON FILE
CASILLAS COSME, LUIS            ADDRESS ON FILE
CASILLAS COTTO, KEYSHLEE        ADDRESS ON FILE
CASILLAS CUADRADO, MINERVA      ADDRESS ON FILE
CASILLAS DE JESUS, LYDIA        ADDRESS ON FILE




                                                                            Page 1371 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1372 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASILLAS DEL VALLE, CARMEN G   ADDRESS ON FILE
CASILLAS DEL VALLE, WANDA I    ADDRESS ON FILE
CASILLAS DELGADO, FRANCISCA    ADDRESS ON FILE
CASILLAS DELGADO, MARIBEL      ADDRESS ON FILE
CASILLAS DIAZ, FREDDY          ADDRESS ON FILE
CASILLAS DIAZ, RICARDO         ADDRESS ON FILE
CASILLAS DIAZ, WILMARIE        ADDRESS ON FILE
CASILLAS DILAN, ROSA M         ADDRESS ON FILE
CASILLAS DUME, NICOLE          ADDRESS ON FILE
CASILLAS ECHEVARRIA, CARLOS    ADDRESS ON FILE
CASILLAS ESCOBAR, LESLIE A     ADDRESS ON FILE
CASILLAS FALCON, IRAIDA        ADDRESS ON FILE
CASILLAS FELICIANO, RAYMAR     ADDRESS ON FILE
CASILLAS FIGUEROA, JAVIER      ADDRESS ON FILE
CASILLAS FIGUEROA, JOANNE      ADDRESS ON FILE
CASILLAS FORTY, YOLANDA        ADDRESS ON FILE
CASILLAS GARCIA, CELINES       ADDRESS ON FILE
CASILLAS GARCIA, ROLANDO       ADDRESS ON FILE
CASILLAS GOMEZ, LYDIA          ADDRESS ON FILE
CASILLAS GONZALEZ, ACDUL       ADDRESS ON FILE
CASILLAS GONZALEZ, ANIBAL      ADDRESS ON FILE
CASILLAS GONZALEZ, BETZAIDA    ADDRESS ON FILE
CASILLAS GONZALEZ, IXZA        ADDRESS ON FILE
CASILLAS GONZALEZ, JESSICA L   ADDRESS ON FILE
CASILLAS GONZALEZ, JOSE        ADDRESS ON FILE
CASILLAS GONZALEZ, JOSE A.     ADDRESS ON FILE
CASILLAS GONZALEZ, LUZ I       ADDRESS ON FILE
CASILLAS GONZALEZ, LUZ I.      ADDRESS ON FILE
CASILLAS GONZALEZ, NELSON      ADDRESS ON FILE
CASILLAS GONZALEZ, REINALDO    ADDRESS ON FILE
CASILLAS GONZALEZ, ROSELYN     ADDRESS ON FILE
CASILLAS GONZALEZ, YAJAIRA     ADDRESS ON FILE
CASILLAS GORDILLO, ARACELIS    ADDRESS ON FILE
CASILLAS GUADALUPE, SANDRA     ADDRESS ON FILE
CASILLAS GUZMAN, ANA H.        ADDRESS ON FILE
CASILLAS HERNANDEZ, EVELYN     ADDRESS ON FILE
CASILLAS HERNANDEZ, LEILANY    ADDRESS ON FILE
CASILLAS HERNANDEZ, NELSON     ADDRESS ON FILE
CASILLAS HERNANDEZ, PABLO      ADDRESS ON FILE
CASILLAS HERNANDEZ, SONIA      ADDRESS ON FILE
CASILLAS HERNANDEZ, YOLANDA    ADDRESS ON FILE
CASILLAS HUERTAS, EDDIE        ADDRESS ON FILE
CASILLAS JORGE, VALERIE        ADDRESS ON FILE
CASILLAS JUSTINIANO, ROBERTO   ADDRESS ON FILE
CASILLAS LOPEZ, GILBERTO       ADDRESS ON FILE
CASILLAS MAISONET, GREGORIO    ADDRESS ON FILE
CASILLAS MALDONADO, JOSE       ADDRESS ON FILE
CASILLAS MALDONADO, VILMARIE   ADDRESS ON FILE
CASILLAS MANGUAL, MYRNA        ADDRESS ON FILE
CASILLAS MARTINEZ, OSVALDO     ADDRESS ON FILE
CASILLAS MARTINEZ, RAFAEL J    ADDRESS ON FILE
CASILLAS MARTINEZ, WANDA I     ADDRESS ON FILE
Casillas Medina, Israel        ADDRESS ON FILE
CASILLAS MEDINA, PRISCILLA     ADDRESS ON FILE
CASILLAS MEDINA, PRISCILLA     ADDRESS ON FILE
CASILLAS MELENDEZ, ALEXANDER   ADDRESS ON FILE
CASILLAS MELENDEZ, BILLIE      ADDRESS ON FILE
CASILLAS MENDEZ, ERICK         ADDRESS ON FILE
CASILLAS MEREJO, MARGARITA     ADDRESS ON FILE
CASILLAS MIRANDA, LUIS S       ADDRESS ON FILE




                                                                           Page 1372 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1373 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASILLAS MIRANDA, MARIA M.       ADDRESS ON FILE
CASILLAS MONTERO, CARLOS         ADDRESS ON FILE
CASILLAS MORALES, ELBA           ADDRESS ON FILE
CASILLAS MORALES, EMILIA         ADDRESS ON FILE
CASILLAS MORALES, RAUL           ADDRESS ON FILE
CASILLAS MUNOZ, RAMON            ADDRESS ON FILE
CASILLAS MURPHY MD, STELLA M     ADDRESS ON FILE
CASILLAS NIEVES, DENISSE         ADDRESS ON FILE
CASILLAS OFFICE MACHINE REPAIR   BOX 5207                                                                         CAGUAS       PR      00726
CASILLAS OJEDA, JOSEAN           ADDRESS ON FILE
CASILLAS ORTIZ, ISABEL           ADDRESS ON FILE
CASILLAS ORTIZ, LINDA            ADDRESS ON FILE
CASILLAS ORTIZ, MARITZA I        ADDRESS ON FILE
CASILLAS ORTIZ, RICARDO          ADDRESS ON FILE
CASILLAS ORTIZ, YURIZAN          ADDRESS ON FILE
CASILLAS PADRO, YOLYMEL          ADDRESS ON FILE
CASILLAS PAGAN, IRIS             ADDRESS ON FILE
Casillas Pagan, Leslie J         ADDRESS ON FILE
CASILLAS PALLENS, ELSIE          ADDRESS ON FILE
CASILLAS PENA, ROXCELL           ADDRESS ON FILE
CASILLAS PEREZ, CARLOS           ADDRESS ON FILE
CASILLAS PEREZ, HILDA            ADDRESS ON FILE
CASILLAS PEREZ, LUZ M            ADDRESS ON FILE
CASILLAS PEREZ, NITZA            ADDRESS ON FILE
CASILLAS PEREZ, PROVIDENCIA      ADDRESS ON FILE
CASILLAS PIZARRO, DULCE M.       ADDRESS ON FILE
CASILLAS POLACO, JOEL            ADDRESS ON FILE
CASILLAS QUIJANO, DULCE          ADDRESS ON FILE
Casillas Quinones, Elsie         ADDRESS ON FILE
CASILLAS RAMOS, KARLA            ADDRESS ON FILE
CASILLAS RESTO, THAMARYS         ADDRESS ON FILE
CASILLAS REYES, FELICITA         ADDRESS ON FILE
CASILLAS REYES, HECTOR           ADDRESS ON FILE
CASILLAS RIOS, ANA M.            ADDRESS ON FILE
CASILLAS RIVERA, ABNER           ADDRESS ON FILE
CASILLAS RIVERA, ANGEL C         ADDRESS ON FILE
Casillas Rivera, Daniel          ADDRESS ON FILE
CASILLAS RIVERA, EDWIN           ADDRESS ON FILE
CASILLAS RIVERA, ESTEBAN         ADDRESS ON FILE
CASILLAS RIVERA, ESTHER          ADDRESS ON FILE
CASILLAS RIVERA, IRAIDA C        ADDRESS ON FILE
CASILLAS RIVERA, ISMAEL          ADDRESS ON FILE
CASILLAS RIVERA, JAVIER          ADDRESS ON FILE
CASILLAS RIVERA, LUIS            ADDRESS ON FILE
CASILLAS RIVERA, MARITZA         ADDRESS ON FILE
CASILLAS RIVERA, MYRNA           ADDRESS ON FILE
CASILLAS RIVERA, NOEL            ADDRESS ON FILE
CASILLAS RIVERA, OTONIEL         ADDRESS ON FILE
CASILLAS RIVERA, PAMELA          ADDRESS ON FILE
CASILLAS RIVERA, ROSA M.         ADDRESS ON FILE
CASILLAS ROBLES, EMANUEL         ADDRESS ON FILE
CASILLAS RODRIGUEZ, CARMEN M     ADDRESS ON FILE
CASILLAS RODRIGUEZ, EDWIN R.     ADDRESS ON FILE
CASILLAS RODRIGUEZ, HEIDY A      ADDRESS ON FILE
CASILLAS RODRIGUEZ, ISRAEL       ADDRESS ON FILE
CASILLAS RODRIGUEZ, LESLIE       ADDRESS ON FILE
CASILLAS RODRIGUEZ, LUISA        ADDRESS ON FILE
CASILLAS RODRIGUEZ, MYRNA        ADDRESS ON FILE
CASILLAS RODRIGUEZ, OMAYRA       ADDRESS ON FILE
CASILLAS RODRIGUEZ, ZORAIDA      ADDRESS ON FILE




                                                                             Page 1373 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1374 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                          Address1                    Address2                                       Address3   Address4   City         State   PostalCode   Country
CASILLAS ROSA, JANNERY                 ADDRESS ON FILE
CASILLAS ROSARIO, JOSE E               ADDRESS ON FILE
CASILLAS RUIZ, MARISSA                 ADDRESS ON FILE
CASILLAS RUIZ, YOLANDA                 ADDRESS ON FILE
CASILLAS SANTANA, IRELYS               ADDRESS ON FILE
CASILLAS SANTIAGO & TORRES LLC         PO BOX 195075                                                                                    SAN JUAN     PR      00919‐5075
CASILLAS SANTIAGO, BENJAMIN            ADDRESS ON FILE
CASILLAS SANTIAGO, FRANCES             ADDRESS ON FILE
CASILLAS SANTIAGO, SUJEIDI             ADDRESS ON FILE
CASILLAS SANTIAGO, SUJEIDI             ADDRESS ON FILE
CASILLAS SANTIAGO, SUJEIDI A           ADDRESS ON FILE
CASILLAS SANTOS MD, GIOVANNI           ADDRESS ON FILE
CASILLAS SANTOS, ANA L                 ADDRESS ON FILE
CASILLAS SANTOS, ANGELA                ADDRESS ON FILE
Casillas Santos, Francisco             ADDRESS ON FILE
CASILLAS SANTOS, MYRNA I               ADDRESS ON FILE
CASILLAS SANTOS, OLGA M                ADDRESS ON FILE
CASILLAS SERRANO, LUIS                 ADDRESS ON FILE
CASILLAS SERRANO, RAMONITA             ADDRESS ON FILE
CASILLAS SMITH, DAVID E.               ADDRESS ON FILE
CASILLAS SMITH, FRANCISCO              ADDRESS ON FILE
CASILLAS SMITH, NORMA V                ADDRESS ON FILE
CASILLAS SUAREZ, LUZ M                 ADDRESS ON FILE
CASILLAS SUAREZ, MILAGROS              ADDRESS ON FILE
CASILLAS TANON, JOANN                  ADDRESS ON FILE
CASILLAS TOLENTINO, CARMELO            ADDRESS ON FILE
CASILLAS TORRES, JOSUE                 ADDRESS ON FILE
CASILLAS TORRES, MOISES C              ADDRESS ON FILE
CASILLAS TORRES, MORAIMA               ADDRESS ON FILE
CASILLAS TORRES, SOL                   ADDRESS ON FILE
CASILLAS TOSADO, MARELIN               ADDRESS ON FILE
CASILLAS VAZQUEZ, JOSE                 ADDRESS ON FILE
CASILLAS VEGA, JOSE R.                 ADDRESS ON FILE
CASILLAS VELAZQUEZ, JUAN               ADDRESS ON FILE
CASILLAS VELAZQUEZ, LUZ S              ADDRESS ON FILE
CASILLAS VICENTE, ANA M.               ADDRESS ON FILE
CASILLAS VICENTE, DAYAMARA             ADDRESS ON FILE
CASILLAS, BRENDA                       ADDRESS ON FILE
CASILLAS, JOSE                         ADDRESS ON FILE
CASILLAS, RICARDO                      ADDRESS ON FILE
CASILLLA VICENT, ELIZABETH             ADDRESS ON FILE
CASILLO NIELSEN, INGA                  ADDRESS ON FILE
CASIMIRA CARABALLO                     ADDRESS ON FILE
CASIMIRA PEREZ BERRIOS                 ADDRESS ON FILE
CASIMIRO ACOSTA, AGUEDA Y              ADDRESS ON FILE
CASIMIRO GONZALEZ RUIZ                 ADDRESS ON FILE
CASINO FIGUEROA, CATHERINE             ADDRESS ON FILE
CASITA DE AMOR CORP / DORA RODRIGUEZ   LA RAMBIA TOWER BUILDING    606 TITO CASTRO AVE SUITE 401                                        PONCE        PR      00716‐0218
CASITA DE ANGEL DE ISABELA INC         SECTOR CANCHA BOX 39                                                                             ISABELA      PR      00662
CASITA DEL ANGEL VEN A JUGAR           ADDRESS ON FILE
CASITA FELIZ EMANUEL INC.              CALLE DANIEL BONILLA # 66   BDA. BUENA VISTA                                                     CAYEY        PR      00736
CASO MARRERO, OLGA                     ADDRESS ON FILE
CASOT LLC                              PO BOX 361732                                                                                    SAN JUAN     PR      00936‐1732
CASSAGNOL CORNIER, JONATAN             ADDRESS ON FILE
CASSAGNOL CORNIER, MAIRIS              ADDRESS ON FILE
CASSAGNOL MARTINEZ, VANESSA            ADDRESS ON FILE
CASSAGNOL RODRIGUEZ, PAMELA            ADDRESS ON FILE
CASSANDRA GARCIA REYES                 ADDRESS ON FILE
CASSANDRA M CARRADERO MIRANDA          ADDRESS ON FILE
CASSANDRA RAMOS CRUZ                   ADDRESS ON FILE




                                                                                                   Page 1374 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1375 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASSANO RAMIREZ, GRACE M          ADDRESS ON FILE
CASSE ECHEANDIA, BRENDA           ADDRESS ON FILE
CASSE, MARIA                      ADDRESS ON FILE
Cassidy Negron, Maria I           ADDRESS ON FILE
CASSIE TORRES HERNANDEZ           ADDRESS ON FILE
CASSIMERE LUYANDO, RICHARD        ADDRESS ON FILE
CASSUL MORALES, ABNER             ADDRESS ON FILE
CASTA BAEZ, CESAR                 ADDRESS ON FILE
CASTA BELLIDO, MALENY A           ADDRESS ON FILE
CASTA CARDONA MD, MAYRA M         ADDRESS ON FILE
CASTA GOMEZ, ROSA M.              ADDRESS ON FILE
CASTA GONZALEZ, MARIA DEL P       ADDRESS ON FILE
CASTA I GARCIA DROZ               ADDRESS ON FILE
CASTA MENDEZ MD, IDA M            ADDRESS ON FILE
CASTA MENDEZ, IDA M.              ADDRESS ON FILE
CASTA MONAGAS, ALFREDO            ADDRESS ON FILE
CASTA PEREZ, CESAR F              ADDRESS ON FILE
CASTA RODRIGUEZ, ELIEZER          ADDRESS ON FILE
CASTA RODRIGUEZ, OVIDIO           ADDRESS ON FILE
CASTA VEGA MD, IVONNE             ADDRESS ON FILE
CASTA VELEZ, ALFREDO              ADDRESS ON FILE
CASTAING LEBRON, CARMEN           ADDRESS ON FILE
CASTAING LESPIER, PATRICIA        ADDRESS ON FILE
CASTAING QUILES, BRUNILDA         ADDRESS ON FILE
CASTAING QUILES, HECTOR           ADDRESS ON FILE
CASTAING SILVA, HAYDEE            ADDRESS ON FILE
CASTAING SILVA, HAYDEE            ADDRESS ON FILE
CASTAING TORRUELLAS, ROSA A       ADDRESS ON FILE
CASTAING VEGA, JESEBEL            ADDRESS ON FILE
CASTAING, ANA MARIA               ADDRESS ON FILE
CASTALDO FRANQUI, LETICIA         ADDRESS ON FILE
CASTANEDA BONILLA, KIRA           ADDRESS ON FILE
CASTANEDA CORDERO, LUCYLLE        ADDRESS ON FILE
CASTANEDA DUQUE, CARMEN           ADDRESS ON FILE
CASTANEDA GARCIA, EDUARDO         ADDRESS ON FILE
CASTANEDA MENENDEZ, RAFAEL        ADDRESS ON FILE
CASTANEDA MERCADO, LUIS R.        ADDRESS ON FILE
CASTANEDA PRIETO, NELSON          ADDRESS ON FILE
CASTANEDA REYES, JULIO            ADDRESS ON FILE
CASTANEDA REYES, MARIA            ADDRESS ON FILE
CASTANEDA RODRIGUEZ, LUIS A.      ADDRESS ON FILE
CASTANEDA SILVA, HECTOR           ADDRESS ON FILE
CASTANEDA VALDES, PABLO           ADDRESS ON FILE
CASTANEDA ZORRILLA, LUZ           ADDRESS ON FILE
CASTANEDA, GLORYSABEL             ADDRESS ON FILE
CASTANER ARREGUI, LOURDES M       ADDRESS ON FILE
CASTANER BARCELO MD, JUAN C       ADDRESS ON FILE
CASTANER CANABAL, FRANCISCO       ADDRESS ON FILE
CASTANER COLON, MARIA O           ADDRESS ON FILE
CASTANER COLON, MIGUEL            ADDRESS ON FILE
CASTANER CUYAR, JAVIER            ADDRESS ON FILE
CASTANER CUYAR, JAVIER A          ADDRESS ON FILE
CASTANER DE MEJIA, IRIS M         ADDRESS ON FILE
CASTANER MARTINEZ, JUAN ANTONIO   ADDRESS ON FILE
CASTANER NAVAS, LIANA             ADDRESS ON FILE
CASTANER NAVAS, MARGARITA         ADDRESS ON FILE
CASTANER NEGRON, NORMA            ADDRESS ON FILE
CASTANER OYOLA, LILY              ADDRESS ON FILE
CASTANER OYOLA, WANDA             ADDRESS ON FILE
Castaner Oyola, Wanda I.          ADDRESS ON FILE




                                                                              Page 1375 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1376 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                            Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
CASTANER QUINONES, DELIA                 ADDRESS ON FILE
CASTANER SERVICE STATION                 PO BOX 12                                                                         CASTANER     PR      00631
CASTANER SUPREMO INC                     P O BOX 1027                                                                      CASTANER     PR      00631
CASTANERA GARCIA, ROSA K                 ADDRESS ON FILE
CASTANEYRA DE LAS, CARLOS                ADDRESS ON FILE
CASTANO DELGADO, JOSE                    ADDRESS ON FILE
Castano Gonzalez, Zoilo                  ADDRESS ON FILE
CASTANO MARTHA PANDO                     ADDRESS ON FILE
Castano Monell, Carlos M                 ADDRESS ON FILE
CASTANO RODRIGUEZ, NADIA                 ADDRESS ON FILE
CASTANO SANTIAGO, ROXANA                 ADDRESS ON FILE
CASTANO SANTIAGO, ROXANA                 ADDRESS ON FILE
CASTANO VELEZ, DAMARIS                   ADDRESS ON FILE
CASTANON CASTILLO, ANA I                 ADDRESS ON FILE
CASTANON GUTIERREZ, MARTA M              ADDRESS ON FILE
CASTANON HERNANDEZ, OLGA                 ADDRESS ON FILE
CASTANON MARTINEZ, MELBA                 ADDRESS ON FILE
CASTANON RIOS, ILIA E.                   ADDRESS ON FILE
CASTANON RIVERA, JEFFREY                 ADDRESS ON FILE
CASTANON RODRIGUEZ, ELIA                 ADDRESS ON FILE
CASTANON RODRIGUEZ, EUGENIO              ADDRESS ON FILE
CASTANON RODRIGUEZ, MARGARITA            ADDRESS ON FILE
CASTANON TORRES, ANGEL                   ADDRESS ON FILE
CASTANON VELEZ,GLORIVEE                  ADDRESS ON FILE
CASTAQEDA ROSADO, LUZ M                  ADDRESS ON FILE
CASTAQER BERMUDEZ, JOSE                  ADDRESS ON FILE
CASTEJON ALBARRAN, MIGUEL                ADDRESS ON FILE
CASTEJON ALBARRAN, MIGUEL A.             ADDRESS ON FILE
CASTEJON CENTENO, HILDA E                ADDRESS ON FILE
CASTEJON HERNANDEZ, PERPETUO S           ADDRESS ON FILE
CASTEJON QUINONES, JANET                 ADDRESS ON FILE
CASTELL DESCARTES, MARIA                 ADDRESS ON FILE
CASTELL DESCARTES, REGINA                ADDRESS ON FILE
CASTELL TORRES, JOSEFINA                 ADDRESS ON FILE
CASTELLANA PANTHERS BASEBALL LEAGUES INC VILLA CAROLINA            106‐16 CALLE 102                                        CAROLINA     PR      00985
CASTELLANO ARROYO, LUZ M                 ADDRESS ON FILE
CASTELLANO ARROYO, NESTOR                ADDRESS ON FILE
CASTELLANO ARROYO, REINA L               ADDRESS ON FILE
CASTELLANO BAEZ, SUANNETTE               ADDRESS ON FILE
CASTELLANO BARRETO, MIRIAM               ADDRESS ON FILE
CASTELLANO CARBENTE, IVELISSE            ADDRESS ON FILE
CASTELLANO CASTELLANO, DELIRIS           ADDRESS ON FILE
Castellano Colon, Wigberto               ADDRESS ON FILE
CASTELLANO CRUZ, ELIZABETH               ADDRESS ON FILE
CASTELLANO DIAZ, CARMEN M                ADDRESS ON FILE
CASTELLANO FERNANDEZ, REINALDO           ADDRESS ON FILE
CASTELLANO FONTANEZ, MARIA A             ADDRESS ON FILE
CASTELLANO LUGO, RUBEN                   ADDRESS ON FILE
CASTELLANO MARTINEZ, ABRAHAM R           ADDRESS ON FILE
CASTELLANO MARTINEZ, DORA                ADDRESS ON FILE
CASTELLANO MARTINEZ, FELIX               ADDRESS ON FILE
Castellano Melendez, Juan R              ADDRESS ON FILE
Castellano Mercado, Juan                 ADDRESS ON FILE
CASTELLANO MORALES, GRISELL              ADDRESS ON FILE
Castellano Munoz, Abel                   ADDRESS ON FILE
CASTELLANO MUNOZ, ANAI                   ADDRESS ON FILE
CASTELLANO MUNOZ, ANAI                   ADDRESS ON FILE
CASTELLANO NARRO, IRIS R                 ADDRESS ON FILE
CASTELLANO NEGRON, AWILDA                ADDRESS ON FILE
CASTELLANO NEGRON, MAYRA E               ADDRESS ON FILE




                                                                                      Page 1376 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1377 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTELLANO NUNEZ, VICTOR J.       ADDRESS ON FILE
CASTELLANO PADILLA, ZORRY M.      ADDRESS ON FILE
CASTELLANO PAGAN, GERMAN          ADDRESS ON FILE
CASTELLANO QUINONES, LESLIE E     ADDRESS ON FILE
CASTELLANO RAMOS, ANGEL           ADDRESS ON FILE
Castellano Rivera, Antonio        ADDRESS ON FILE
CASTELLANO RIVERA, CARMEN         ADDRESS ON FILE
CASTELLANO RIVERA, FRANCISCO      ADDRESS ON FILE
CASTELLANO RIVERA, KARLA          ADDRESS ON FILE
CASTELLANO RIVERA, LIANNE ENID    ADDRESS ON FILE
CASTELLANO RIVERA, WILBERTO       ADDRESS ON FILE
CASTELLANO RODRIGUEZ MD, ORESTE   ADDRESS ON FILE
CASTELLANO RODRIGUEZ, CARMEN O    ADDRESS ON FILE
Castellano Rodriguez, Edgardo     ADDRESS ON FILE
CASTELLANO RODRIGUEZ, EDGARDO     ADDRESS ON FILE
CASTELLANO RODRIGUEZ, IRIS        ADDRESS ON FILE
CASTELLANO RODRIGUEZ, WILFREDO    ADDRESS ON FILE
CASTELLANO RODRIGUEZ, YAMILL I    ADDRESS ON FILE
Castellano Rosado, Mervin         ADDRESS ON FILE
Castellano Rosado, Victor M.      ADDRESS ON FILE
CASTELLANO RUIZ, MARIA            ADDRESS ON FILE
CASTELLANO SALGADO, LUIS M        ADDRESS ON FILE
CASTELLANO SALGADO, WANDA I       ADDRESS ON FILE
CASTELLANO SANTIAGO, DAISY        ADDRESS ON FILE
CASTELLANO SANTIAGO, ISABEL       ADDRESS ON FILE
CASTELLANO SANTIAGO, MARIBEL      ADDRESS ON FILE
Castellano Santiago, Samuel       ADDRESS ON FILE
CASTELLANO SANTOS, MARIA E        ADDRESS ON FILE
CASTELLANO SOSTRE, AILEEN         ADDRESS ON FILE
Castellano Vazquez, Ana M         ADDRESS ON FILE
CASTELLANO VAZQUEZ, BENITA        ADDRESS ON FILE
Castellano Vazquez, Benita        ADDRESS ON FILE
CASTELLANO VAZQUEZ, HERIBERTO     ADDRESS ON FILE
CASTELLANO VEGA, IRIS             ADDRESS ON FILE
CASTELLANO VEGA, MONICA           ADDRESS ON FILE
CASTELLANO VELEZ, ANA             ADDRESS ON FILE
CASTELLANO VELEZ, MADELINE        ADDRESS ON FILE
CASTELLANO VELEZ, MADELINE        ADDRESS ON FILE
CASTELLANO VELEZ, ORLANDO         ADDRESS ON FILE
CASTELLANO VELEZ, RAMON           ADDRESS ON FILE
CASTELLANO VELEZ, WILSON          ADDRESS ON FILE
CASTELLANO ZAYAS, MARGARITA       ADDRESS ON FILE
CASTELLANO, AUREA                 ADDRESS ON FILE
CASTELLANOS ACEVEDO, MARIBEL      ADDRESS ON FILE
CASTELLANOS BORGES, JHOAN         ADDRESS ON FILE
CASTELLANOS BRAN, RAUL G.         ADDRESS ON FILE
Castellanos Cardona, Dayquita     ADDRESS ON FILE
CASTELLANOS CASTRO, MIGUEL        ADDRESS ON FILE
CASTELLANOS CINTRON, EDGARDO      ADDRESS ON FILE
CASTELLANOS CRUZ, CELIA           ADDRESS ON FILE
CASTELLANOS DE JESUS, MAYRA       ADDRESS ON FILE
CASTELLANOS DIAZ, DORIAL          ADDRESS ON FILE
CASTELLANOS DIAZ, JESSICA         ADDRESS ON FILE
CASTELLANOS DILONE, PENELOPE      ADDRESS ON FILE
CASTELLANOS DILONE, PENELOPE      ADDRESS ON FILE
CASTELLANOS ERAZO, LUIS           ADDRESS ON FILE
CASTELLANOS FRET, JOSE            ADDRESS ON FILE
CASTELLANOS GONZALEZ, GRISEL      ADDRESS ON FILE
CASTELLANOS GONZALEZ, GRISEL      ADDRESS ON FILE
CASTELLANOS HAMBLETON, ALFREDO    ADDRESS ON FILE




                                                                              Page 1377 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1378 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTELLANOS HERNANDEZ, EILLYN    ADDRESS ON FILE
CASTELLANOS LA COSTA, EDUARDO    ADDRESS ON FILE
CASTELLANOS LA COSTA, REINALDO   ADDRESS ON FILE
CASTELLANOS MALAVE, CAROLINA     ADDRESS ON FILE
CASTELLANOS MARTIN, MICHELLE     ADDRESS ON FILE
CASTELLANOS MELENDEZ, JAEL       ADDRESS ON FILE
CASTELLANOS NUNEZ, VICTOR        ADDRESS ON FILE
CASTELLANOS ORTIZ, FRANCIS J     ADDRESS ON FILE
CASTELLANOS OTERO, JOSUE         ADDRESS ON FILE
CASTELLANOS PEREZ, EVELYN        ADDRESS ON FILE
CASTELLANOS RAMIREZ, DIEGO       ADDRESS ON FILE
CASTELLANOS RIVERA, EDGARDO      ADDRESS ON FILE
CASTELLANOS RIVERA, LOURDES      ADDRESS ON FILE
CASTELLANOS RODRIGUEZ, GLADYS    ADDRESS ON FILE
CASTELLANOS RODRIGUEZ, ORESTES   ADDRESS ON FILE
CASTELLANOS ROSADO, CARLOS       ADDRESS ON FILE
CASTELLANOS ROSARIO, DAVID       ADDRESS ON FILE
CASTELLANOS SANCHEZ, ONELVIA     ADDRESS ON FILE
CASTELLANOS SANCHEZ, ONELVIA J   ADDRESS ON FILE
CASTELLANOS SOSTRE, RAYMOND      ADDRESS ON FILE
CASTELLANOS SOTO, JUAN           ADDRESS ON FILE
CASTELLAR ARAUD, ADRIAN          ADDRESS ON FILE
CASTELLAR IRIZARRY, NELSON       ADDRESS ON FILE
CASTELLAR IRIZARRY, VIRGEN       ADDRESS ON FILE
CASTELLAR LUGO, NOEL             ADDRESS ON FILE
CASTELLAR MALDONADO, JORGE L     ADDRESS ON FILE
CASTELLAR MALDONADO, LINA        ADDRESS ON FILE
CASTELLAR PACHECO, LUISA I       ADDRESS ON FILE
CASTELLAR RIVERA, GILDA L        ADDRESS ON FILE
CASTELLAR RODRIGUEZ, JORGE       ADDRESS ON FILE
CASTELLAR RODRIGUEZ, MARIA       ADDRESS ON FILE
CASTELLAR VELAZQUEZ, IVETTE L    ADDRESS ON FILE
CASTELLAR VELAZQUEZ, JOSE A      ADDRESS ON FILE
CASTELLO DE NAZARIO, FRANCES     ADDRESS ON FILE
CASTELLO ESPINO, FRANCISCO       ADDRESS ON FILE
CASTELLO FERNANDEZ, RENE         ADDRESS ON FILE
CASTELLO FERNANDEZ, YELISSA      ADDRESS ON FILE
CASTELLO KILLERMMAN, AIDA        ADDRESS ON FILE
Castello Lebron, Rafael          ADDRESS ON FILE
CASTELLO LEBRON, RAFAEL E        ADDRESS ON FILE
CASTELLO LOYOLA, NILSA           ADDRESS ON FILE
CASTELLO MARRERO, ANGELA         ADDRESS ON FILE
CASTELLO ORTIZ, CARMEN           ADDRESS ON FILE
CASTELLO PAGAN, JENNIFER         ADDRESS ON FILE
CASTELLO PARADIZO, MANUEL        ADDRESS ON FILE
CASTELLO SANTIAGO, GABRIEL       ADDRESS ON FILE
CASTELLON ESCUDERO, MIGUEL       ADDRESS ON FILE
CASTELLON LINES, LYNETTE         ADDRESS ON FILE
CASTELLON MERCADO, DAVID         ADDRESS ON FILE
CASTELLON MIRANDA, JOSE          ADDRESS ON FILE
CASTELLON MIRANDA, JULIO         ADDRESS ON FILE
CASTELLON MIRANDA, JULIO A.      ADDRESS ON FILE
CASTELLON MIRANDA, OLGA B        ADDRESS ON FILE
CASTELLON NEGRON, ZORAIDA        ADDRESS ON FILE
CASTELLON PEREZ, CORAL LIZ       ADDRESS ON FILE
CASTELLON PEREZ, JOSE L          ADDRESS ON FILE
CASTELLON PEREZ, REINERIO        ADDRESS ON FILE
CASTELLON, RAQUEL                ADDRESS ON FILE
CASTELLOP VEGA MD, VIRGILIO      ADDRESS ON FILE
CASTEO MALDONADO, RAFAEL A.      ADDRESS ON FILE




                                                                             Page 1378 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1379 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTIEL FOLCH, GABRIELLA        ADDRESS ON FILE
CASTILL O GONZALEZ, JOHANA      ADDRESS ON FILE
CASTILLA RAMOS, EVA E           ADDRESS ON FILE
CASTILLA SABAT, NILDA           ADDRESS ON FILE
CASTILLLO NIEVES, EDGARDO       ADDRESS ON FILE
CASTILLO PALOMINO, RICARDO F.   ADDRESS ON FILE
Castillo Acevedo, Efrain        ADDRESS ON FILE
CASTILLO ACEVEDO, JOSEPH E      ADDRESS ON FILE
CASTILLO ACEVEDO, NELSON        ADDRESS ON FILE
CASTILLO ACOSTA, BOLIBER        ADDRESS ON FILE
CASTILLO ACOSTA, MARIO          ADDRESS ON FILE
CASTILLO ADVERTISING INC        PO BOX 13035                                                                     SAN JUAN     PR      00908
CASTILLO AGOSTO, FRANCISCA      ADDRESS ON FILE
CASTILLO ALAMO, JOSE I          ADDRESS ON FILE
Castillo Aldarondo, Wanda I     ADDRESS ON FILE
CASTILLO ALFARO, FLEMING        ADDRESS ON FILE
CASTILLO ALICEA, HECTOR         ADDRESS ON FILE
Castillo Alicea, Hector L       ADDRESS ON FILE
CASTILLO ALICEA, LEISHA L.      ADDRESS ON FILE
CASTILLO ALICEA, LYANNE         ADDRESS ON FILE
CASTILLO ALICEA, LYANNE         ADDRESS ON FILE
CASTILLO ALICEA, WILFRED        ADDRESS ON FILE
Castillo Alicea, Wilfredo       ADDRESS ON FILE
CASTILLO ALVAREZ, GLORIA        ADDRESS ON FILE
CASTILLO ALVAREZ, VILMA         ADDRESS ON FILE
CASTILLO ANDUJAR, IVETTE        ADDRESS ON FILE
CASTILLO APONTE, ANGEL          ADDRESS ON FILE
CASTILLO APONTE, LUCILA         ADDRESS ON FILE
CASTILLO ARIAS, ADRIAN          ADDRESS ON FILE
CASTILLO ARRILLAGA, HECTOR      ADDRESS ON FILE
CASTILLO ARRILLAGA, MYRTA       ADDRESS ON FILE
CASTILLO ARRILLAGA, MYRTA M     ADDRESS ON FILE
CASTILLO ARROYO, CARLOS         ADDRESS ON FILE
CASTILLO ARROYO, DAVID          ADDRESS ON FILE
CASTILLO ARTIGUEZ, SAMUEL       ADDRESS ON FILE
CASTILLO AYALA, JOSE            ADDRESS ON FILE
CASTILLO AYALA, LUIS            ADDRESS ON FILE
CASTILLO AYALA, MARIBEL         ADDRESS ON FILE
CASTILLO BACO, AXEL A.          ADDRESS ON FILE
CASTILLO BACO, AXEL A.          ADDRESS ON FILE
CASTILLO BACO, MARLENE          ADDRESS ON FILE
CASTILLO BAEZ, TAIRY            ADDRESS ON FILE
Castillo Ballester, Jose L      ADDRESS ON FILE
CASTILLO BARRE, JACKLYN         ADDRESS ON FILE
CASTILLO BARREIRO, ANDRES       ADDRESS ON FILE
Castillo Barreto, Juan B        ADDRESS ON FILE
CASTILLO BATISTA, DANTE         ADDRESS ON FILE
CASTILLO BATISTA, JOSSIE A      ADDRESS ON FILE
CASTILLO BERDECIA, GLORIA       ADDRESS ON FILE
Castillo Berdecia, Gloria E     ADDRESS ON FILE
CASTILLO BERDECIA, LUCILA       ADDRESS ON FILE
Castillo Berdecia, Rosa I       ADDRESS ON FILE
CASTILLO BERRIOS, MARIELYS      ADDRESS ON FILE
Castillo Berrios, Noel A        ADDRESS ON FILE
CASTILLO BESARES, JANET         ADDRESS ON FILE
CASTILLO BETANCOURT, JULIO      ADDRESS ON FILE
CASTILLO BIEL, CARLOS           ADDRESS ON FILE
CASTILLO BONILLA, DAMARIS       ADDRESS ON FILE
CASTILLO BONILLA, ENID          ADDRESS ON FILE
CASTILLO BONILLA, LUIS L        ADDRESS ON FILE




                                                                            Page 1379 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1380 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTILLO BORRERO, WILFREDO           ADDRESS ON FILE
CASTILLO BRACERO, SONIA N            ADDRESS ON FILE
CASTILLO BROCO, MYRNALIS             ADDRESS ON FILE
CASTILLO BRUJAN, LUIS                ADDRESS ON FILE
CASTILLO BURGOS, HAROLD              ADDRESS ON FILE
CASTILLO BURGOS, ZUANETTE            ADDRESS ON FILE
CASTILLO CABAN, MILDRED              ADDRESS ON FILE
CASTILLO CABAN, YAMILED A            ADDRESS ON FILE
CASTILLO CABRERA, CARLOS F.          ADDRESS ON FILE
CASTILLO CABRERA, FRANCISCA          ADDRESS ON FILE
CASTILLO CABRERA, MARIA N            ADDRESS ON FILE
CASTILLO CABRERA, RAFAEL             ADDRESS ON FILE
CASTILLO CABRERA, ROBERT             ADDRESS ON FILE
CASTILLO CALDERON, CARLOS R          ADDRESS ON FILE
CASTILLO CALLEJA, MARTA              ADDRESS ON FILE
CASTILLO CALVETTO, ZULEIMA           ADDRESS ON FILE
CASTILLO CAMACHO, JOSEFA             ADDRESS ON FILE
CASTILLO CAMARENO, JEAN              ADDRESS ON FILE
CASTILLO CAMPOS, FELIX J             ADDRESS ON FILE
CASTILLO CARABALLO, ALEX             ADDRESS ON FILE
CASTILLO CARRANZA, ERIK              ADDRESS ON FILE
CASTILLO CARRASQUILLO, EMANUEL       ADDRESS ON FILE
CASTILLO CASIANO, AMANDA             ADDRESS ON FILE
CASTILLO CASIANO, MAYRA              ADDRESS ON FILE
CASTILLO CASILLAS, CYNTHIA           ADDRESS ON FILE
CASTILLO CASILLAS, JACQUELINE        ADDRESS ON FILE
CASTILLO CASTANEDA, HERNAN           ADDRESS ON FILE
CASTILLO CASTILLO, ANGEL D           ADDRESS ON FILE
CASTILLO CASTILLO, CYNTHIA           ADDRESS ON FILE
CASTILLO CASTILLO, DIANNE C.         ADDRESS ON FILE
CASTILLO CASTILLO, JULIA             ADDRESS ON FILE
CASTILLO CASTILLO, MARISOL           ADDRESS ON FILE
CASTILLO CASTILLO, YESICA Y          ADDRESS ON FILE
CASTILLO CHERVONY, FREDDIE           ADDRESS ON FILE
CASTILLO CHINEA, JOMARY              ADDRESS ON FILE
CASTILLO CINTRON, CHRISTOPHER        ADDRESS ON FILE
Castillo Cintron, Francisco J.       ADDRESS ON FILE
CASTILLO CLAUDIO, YALITZA            ADDRESS ON FILE
CASTILLO CLAUDIO, YAMILETTE A.       ADDRESS ON FILE
CASTILLO CLAUDIO, YASMIN Y           ADDRESS ON FILE
CASTILLO CLEMENTE, NORMA A           ADDRESS ON FILE
CASTILLO CLEMENTE, PEDRO             ADDRESS ON FILE
CASTILLO COLLAZO, EDWIN              ADDRESS ON FILE
CASTILLO COLON, ANGELA               ADDRESS ON FILE
CASTILLO COLON, CRUZ M.              ADDRESS ON FILE
CASTILLO COLON, GLADYS               ADDRESS ON FILE
CASTILLO COLON, HECTOR               ADDRESS ON FILE
CASTILLO COLON, HECTOR               ADDRESS ON FILE
CASTILLO COLON, JESUS M.             ADDRESS ON FILE
CASTILLO COLON, JOSE                 ADDRESS ON FILE
CASTILLO COLON, MAYRA T              ADDRESS ON FILE
CASTILLO COLON, MIGDALIA             ADDRESS ON FILE
CASTILLO COLON, MILAGROS DE LOS A.   ADDRESS ON FILE
CASTILLO COLON, MYRIAM               ADDRESS ON FILE
CASTILLO COLON, ROBERTO              ADDRESS ON FILE
CASTILLO CORDOVA, VIGDALIA           ADDRESS ON FILE
CASTILLO CORPORAN, YURI              ADDRESS ON FILE
CASTILLO CORREA, ABIGAIL             ADDRESS ON FILE
CASTILLO CORREA, ALEXANDRA           ADDRESS ON FILE
CASTILLO CORREA, ALEXANDRA           ADDRESS ON FILE




                                                                                 Page 1380 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1381 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                     Address1                  Address2                            Address3   Address4   City          State   PostalCode   Country
CASTILLO CORTES, AWILDA           ADDRESS ON FILE
CASTILLO CORTES, RACHEL           ADDRESS ON FILE
CASTILLO COSME, JOSE              ADDRESS ON FILE
CASTILLO COTTO, REYNOLD           ADDRESS ON FILE
CASTILLO CRESPO, JUAN A.          ADDRESS ON FILE
CASTILLO CRESPO, MIGUEL A         ADDRESS ON FILE
CASTILLO CRESPO, WALESKA V        ADDRESS ON FILE
CASTILLO CRUZ, ADAN               ADDRESS ON FILE
CASTILLO CRUZ, ARMINDA            ADDRESS ON FILE
CASTILLO CRUZ, ARMINDA            ADDRESS ON FILE
CASTILLO CRUZ, CARMEN A           ADDRESS ON FILE
CASTILLO CRUZ, CARMEN A           ADDRESS ON FILE
CASTILLO CRUZ, CARMEN I           ADDRESS ON FILE
CASTILLO CRUZ, ELBA I             ADDRESS ON FILE
CASTILLO CRUZ, ELIA D             ADDRESS ON FILE
CASTILLO CRUZ, HECTOR M.          ADDRESS ON FILE
CASTILLO CRUZ, IRVING             ADDRESS ON FILE
Castillo Cruz, Jesus G.           ADDRESS ON FILE
CASTILLO CRUZ, JOSE               ADDRESS ON FILE
CASTILLO CRUZ, LYMARI             ADDRESS ON FILE
CASTILLO CRUZ, SIMON              ADDRESS ON FILE
CASTILLO CUADRADO, ASHEY          ADDRESS ON FILE
CASTILLO CUEVAS, ENGELS           ADDRESS ON FILE
CASTILLO CUEVAS, ENGELS           ADDRESS ON FILE
Castillo Cuevas, Glenda L         ADDRESS ON FILE
CASTILLO CUEVAS, SCARLET V.       ADDRESS ON FILE
Castillo Dasta, Felipe A          ADDRESS ON FILE
CASTILLO DAVILA, LISANDRA         ADDRESS ON FILE
CASTILLO DAVILA, LUIS             ADDRESS ON FILE
CASTILLO DE ANGELES INC           BO SAN ISIDRO             262 A CALLE A                                             CANOVANAS     PR      00729
CASTILLO DE ARENA                 LAS HACIENDAS             15055 CAMINO LARGO                                        CANOVANAS     PR      00729
CASTILLO DE COLORADO, DELIA       ADDRESS ON FILE
CASTILLO DE FUENTES, GLORIA       ADDRESS ON FILE
CASTILLO DE JESUS, ARMINDA        ADDRESS ON FILE
CASTILLO DE JESUS, CARMELO        ADDRESS ON FILE
Castillo De Jesus, Julio C        ADDRESS ON FILE
CASTILLO DE LA CRUZ, DOMINGO      ADDRESS ON FILE
CASTILLO DEFILLO, ANA S           ADDRESS ON FILE
CASTILLO DEFILLO, ROSARIO         ADDRESS ON FILE
CASTILLO DEL VALLE, AILED         ADDRESS ON FILE
CASTILLO DELGADO MD, EVELYN E     ADDRESS ON FILE
CASTILLO DELGADO, ANA M.          ADDRESS ON FILE
CASTILLO DIAZ, DEBORAH            ADDRESS ON FILE
CASTILLO DIAZ, FELIPE A.          ADDRESS ON FILE
CASTILLO DIAZ, HIRAM              ADDRESS ON FILE
CASTILLO DIAZ, JANESLISS          ADDRESS ON FILE
CASTILLO DIAZ, JESUS M.           ADDRESS ON FILE
CASTILLO DIAZ, JOSE               ADDRESS ON FILE
CASTILLO DIAZ, MAGDA              ADDRESS ON FILE
CASTILLO DIAZ, NANCY R            ADDRESS ON FILE
CASTILLO DIAZ, ORLANDO            ADDRESS ON FILE
CASTILLO DIAZ, SHADDAI            ADDRESS ON FILE
CASTILLO DIAZ, SUZETTE            ADDRESS ON FILE
CASTILLO DIAZ, YANIRKA            ADDRESS ON FILE
CASTILLO DOMENA, CARLOS RAFAEL    ADDRESS ON FILE
CASTILLO DOMENA, CAROLINE J.      ADDRESS ON FILE
CASTILLO DOMENA, RAFAEL           ADDRESS ON FILE
CASTILLO DOMINGUEZ, NORBERTO      ADDRESS ON FILE
CASTILLO ECHEVARRIA, GUILLERMO    ADDRESS ON FILE
CASTILLO ENCARNACION, ALEXANDER   ADDRESS ON FILE




                                                                                 Page 1381 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1382 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                     Address1                       Address2                                  Address3   Address4   City         State   PostalCode   Country
CASTILLO ESCOBAR, ARMANDO         ADDRESS ON FILE
CASTILLO ESPADA, JOLET            ADDRESS ON FILE
CASTILLO ESPINO, ANTONIO          ADDRESS ON FILE
CASTILLO ESPINOSA, JOSE           ADDRESS ON FILE
CASTILLO ESTRADA, GLENDALISE      ADDRESS ON FILE
CASTILLO EXTERMINATING SERVICES   URB BAIROA PARK                2D8 CALE ANTONIO JIMENEZ                                        CAGUAS       PR      00725
CASTILLO FABRE, BETSY             ADDRESS ON FILE
CASTILLO FABRE, BETSY             ADDRESS ON FILE
Castillo Fabre, Hector            ADDRESS ON FILE
Castillo Fabre, Ivelisse          ADDRESS ON FILE
CASTILLO FELICIANO, ELIZABETH     ADDRESS ON FILE
CASTILLO FELICIANO, HECTOR        ADDRESS ON FILE
CASTILLO FELIX, ELOY              ADDRESS ON FILE
CASTILLO FELIZ, ADALGISA          ADDRESS ON FILE
CASTILLO FELIZ, ADALGISA B        ADDRESS ON FILE
CASTILLO FERNANDEZ, JUAN          ADDRESS ON FILE
CASTILLO FERRER, HECTOR           ADDRESS ON FILE
CASTILLO FILIPPETTI, LUIS E       ADDRESS ON FILE
CASTILLO FILIPPETTI, RICARDO L    ADDRESS ON FILE
Castillo Flebles, Manuel A        ADDRESS ON FILE
CASTILLO FLORES, DALI             ADDRESS ON FILE
CASTILLO FLORES, ELSIA            ADDRESS ON FILE
CASTILLO FLORES, JOSE             ADDRESS ON FILE
CASTILLO FLORES, JOSE RAFAEL      ADDRESS ON FILE
CASTILLO FLORES, LUIS             ADDRESS ON FILE
CASTILLO FLORES, MARITZA          ADDRESS ON FILE
CASTILLO FRATICELLI, ANGELICA     ADDRESS ON FILE
CASTILLO FUENTES, MARIA S         ADDRESS ON FILE
CASTILLO GALLERY ENMARCADO        164 CALLE SAN JORGE                                                                            SAN JUAN     PR      00911
CASTILLO GAMMILL LAW PSC          9 CALLE FRANCISCO CRUZ STE 3                                                                   CIDRA        PR      00739
CASTILLO GARCIA, DAVID            ADDRESS ON FILE
CASTILLO GARCIA, JUAN J.          ADDRESS ON FILE
CASTILLO GARCIA, LEONARDO         ADDRESS ON FILE
CASTILLO GARCIA, NORMA I          ADDRESS ON FILE
CASTILLO GARCIA, YAHAIRA          ADDRESS ON FILE
CASTILLO GINORIO, ILIA M          ADDRESS ON FILE
CASTILLO GOMEZ, DORIS L           ADDRESS ON FILE
CASTILLO GOMEZ, SONIA             ADDRESS ON FILE
Castillo Gonzalez, Antonio E      ADDRESS ON FILE
CASTILLO GONZALEZ, CARLOS E       ADDRESS ON FILE
CASTILLO GONZALEZ, CELIMAR        ADDRESS ON FILE
CASTILLO GONZALEZ, DAMIAN         ADDRESS ON FILE
Castillo Gonzalez, Damian M       ADDRESS ON FILE
CASTILLO GONZALEZ, FERNANDO       ADDRESS ON FILE
CASTILLO GONZALEZ, JAIME          ADDRESS ON FILE
CASTILLO GONZALEZ, JOSE           ADDRESS ON FILE
CASTILLO GONZALEZ, JULIO          ADDRESS ON FILE
CASTILLO GONZALEZ, LIZETTE        ADDRESS ON FILE
CASTILLO GONZALEZ, LUIS           ADDRESS ON FILE
CASTILLO GONZALEZ, MARIELA        ADDRESS ON FILE
Castillo Gonzalez, Melanie        ADDRESS ON FILE
CASTILLO GONZALEZ, MELANIE        ADDRESS ON FILE
CASTILLO GONZALEZ, MIRIAM         ADDRESS ON FILE
CASTILLO GONZALEZ, MOSES          ADDRESS ON FILE
CASTILLO GONZALEZ, TERESA         ADDRESS ON FILE
CASTILLO GONZALEZ, YESENIA        ADDRESS ON FILE
CASTILLO GUILBE, ERNESTO LUIS     ADDRESS ON FILE
CASTILLO GUTIERREZ, MARINES       ADDRESS ON FILE
CASTILLO GUZMAN, ALEJANDRINA      ADDRESS ON FILE
CASTILLO GUZMAN, LUIS             ADDRESS ON FILE




                                                                                            Page 1382 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1383 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTILLO HERNANDEZ, ADAN         ADDRESS ON FILE
CASTILLO HERNANDEZ, ANGEL        ADDRESS ON FILE
CASTILLO HERNANDEZ, ANGEL        ADDRESS ON FILE
Castillo Hernandez, Elving J.    ADDRESS ON FILE
CASTILLO HERNANDEZ, LUIS         ADDRESS ON FILE
CASTILLO HERRERA, GISELA         ADDRESS ON FILE
CASTILLO HERRERA, JUAN           ADDRESS ON FILE
CASTILLO IBANEZ, PEDRO           ADDRESS ON FILE
CASTILLO IGARTUA, MARIA L        ADDRESS ON FILE
CASTILLO INOA, JACKELINE         ADDRESS ON FILE
CASTILLO INOSTROZA, BETTY        ADDRESS ON FILE
CASTILLO IRIZARRY, MYRITZA       ADDRESS ON FILE
CASTILLO JUSTINIANO, WILLIAM     ADDRESS ON FILE
CASTILLO LAMBOY, NORISBER        ADDRESS ON FILE
CASTILLO LANZ, RUBEN             ADDRESS ON FILE
CASTILLO LARANCUENT, LUIS        ADDRESS ON FILE
CASTILLO LEBRON, CARLOS          ADDRESS ON FILE
CASTILLO LEBRON, MILAGROS        ADDRESS ON FILE
CASTILLO LEON, SANTOS            ADDRESS ON FILE
Castillo Limardo, Enrique        ADDRESS ON FILE
Castillo Limbert, Roberto        ADDRESS ON FILE
CASTILLO LOPEZ, BENIGNO          ADDRESS ON FILE
CASTILLO LOPEZ, BENIGNO A        ADDRESS ON FILE
CASTILLO LOPEZ, CARMEN           ADDRESS ON FILE
CASTILLO LOPEZ, JORGE            ADDRESS ON FILE
CASTILLO LOPEZ, MADELYN          ADDRESS ON FILE
Castillo Lopez, Ricardo          ADDRESS ON FILE
CASTILLO LOPEZ, SYLVIA           ADDRESS ON FILE
Castillo Lozano, Esther V        ADDRESS ON FILE
CASTILLO MALDONADO, ALMA         ADDRESS ON FILE
CASTILLO MALDONADO, IVELISE      ADDRESS ON FILE
CASTILLO MALDONADO, MIRIAN       ADDRESS ON FILE
CASTILLO MALDONADO, NORALMA D.   ADDRESS ON FILE
CASTILLO MALDONADO, REYNALDO     ADDRESS ON FILE
CASTILLO MALDONADO, RODOLFO      ADDRESS ON FILE
Castillo Marcial, Joel I         ADDRESS ON FILE
CASTILLO MARCIAL, RAUL           ADDRESS ON FILE
CASTILLO MARQUEZ, ARLENE I       ADDRESS ON FILE
CASTILLO MARQUEZ, NEAL           ADDRESS ON FILE
CASTILLO MARQUEZ, OLGA I         ADDRESS ON FILE
CASTILLO MARRERO, AUREA S        ADDRESS ON FILE
CASTILLO MARRERO, HECTOR         ADDRESS ON FILE
CASTILLO MARRERO, NELDY S.       ADDRESS ON FILE
CASTILLO MARRERO, VILMARIE       ADDRESS ON FILE
CASTILLO MARTE, DINENSSY         ADDRESS ON FILE
CASTILLO MARTELL, LUISA          ADDRESS ON FILE
CASTILLO MARTINEZ, AGNES M       ADDRESS ON FILE
CASTILLO MARTINEZ, CARMEN A      ADDRESS ON FILE
Castillo Martinez, Cesar M       ADDRESS ON FILE
CASTILLO MARTINEZ, ELIGIO        ADDRESS ON FILE
CASTILLO MARTINEZ, JORGE         ADDRESS ON FILE
CASTILLO MARTINEZ, JOSE          ADDRESS ON FILE
CASTILLO MARTINEZ, JUAN          ADDRESS ON FILE
CASTILLO MARTINEZ, JUAN I        ADDRESS ON FILE
CASTILLO MARTINEZ, MONSERRATE    ADDRESS ON FILE
CASTILLO MARTINEZ, MONSERRATE    ADDRESS ON FILE
CASTILLO MARTINEZ, SANTA         ADDRESS ON FILE
CASTILLO MARTIZEZ, SUZANNE K     ADDRESS ON FILE
CASTILLO MASSARI, SONIA I        ADDRESS ON FILE
CASTILLO MATEO, ANA              ADDRESS ON FILE




                                                                             Page 1383 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1384 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                     Address1                  Address2                               Address3               Address4      City         State   PostalCode   Country
CASTILLO MATOS, CARLOS            ADDRESS ON FILE
CASTILLO MATOS, CARLOS O          ADDRESS ON FILE
CASTILLO MAXON, ANTONIO           ADDRESS ON FILE
CASTILLO MELECIO, NAHIRIA         ADDRESS ON FILE
CASTILLO MELENDEZ, CARLOS         ADDRESS ON FILE
CASTILLO MELENDEZ, XIOMARA        ADDRESS ON FILE
CASTILLO MENDEZ, JEICYKA          ADDRESS ON FILE
CASTILLO MENDEZ, LEOCADIO         ADDRESS ON FILE
CASTILLO MENDEZ, LUIS F.          ADDRESS ON FILE
CASTILLO MENDEZ, MYRIAN           ADDRESS ON FILE
CASTILLO MENDEZ, VICTOR           ADDRESS ON FILE
CASTILLO MERCADO, ANA Y.          ADDRESS ON FILE
CASTILLO MERCEDES, LUIS           ADDRESS ON FILE
CASTILLO MILLAN, EDELMA Y         ADDRESS ON FILE
CASTILLO MIRANDA, CHRISTINE M.    ADDRESS ON FILE
CASTILLO MITCHEL, ROBERTO D.      ADDRESS ON FILE
CASTILLO MONTALVO, HECTOR         ADDRESS ON FILE
CASTILLO MONTESINO, ANA L         ADDRESS ON FILE
CASTILLO MONTESINO, JOSE          ADDRESS ON FILE
CASTILLO MONTESINO, JOSE R        ADDRESS ON FILE
CASTILLO MONTESINO, JUAN C.       ADDRESS ON FILE
CASTILLO MONTESINO, RICARDO J     ADDRESS ON FILE
CASTILLO MORALES, AILEEN          ADDRESS ON FILE
CASTILLO MORALES, CARLOS          MARTA T. BELTRAN DONES    867 AVE. MUNOZ RIVERA                  EDIFICIO VICK CENTER   SUITE 201‐B   SAN JUAN     PR      00925
CASTILLO MORALES, CARLOS          ADDRESS ON FILE
CASTILLO MORALES, CARLOS M        ADDRESS ON FILE
CASTILLO MORALES, DAVID           ADDRESS ON FILE
CASTILLO MORALES, FRANCES MARIE   ADDRESS ON FILE
CASTILLO MORALES, KARLA           ADDRESS ON FILE
CASTILLO MORALES, LARRY           ADDRESS ON FILE
CASTILLO MORALES, MARIBEL         ADDRESS ON FILE
CASTILLO MORALES, MARIBEL         ADDRESS ON FILE
CASTILLO MORALES, MARY            ADDRESS ON FILE
Castillo Morales, Mary I          ADDRESS ON FILE
CASTILLO MORALES, SOLYMAR N       ADDRESS ON FILE
CASTILLO MORENO, CHRISTIAN        ADDRESS ON FILE
CASTILLO MORENO, MIGUEL           ADDRESS ON FILE
CASTILLO MUNOZ, JAVIER            ADDRESS ON FILE
CASTILLO NAVARRO, ARIEL           ADDRESS ON FILE
CASTILLO NAVARRO, AWILDA          ADDRESS ON FILE
CASTILLO NAVARRO, AWILDA          ADDRESS ON FILE
CASTILLO NAVARRO, CARLOS J.       ADDRESS ON FILE
CASTILLO NAVARRO, JORGE L         ADDRESS ON FILE
CASTILLO NAVARRO, JUAN            ADDRESS ON FILE
CASTILLO NAVARRO, SONIA           ADDRESS ON FILE
CASTILLO NAVARRO, SONIA           ADDRESS ON FILE
CASTILLO NAVEDO, DAVID            ADDRESS ON FILE
CASTILLO NAVEDO, FRANCISCA        ADDRESS ON FILE
CASTILLO NEGRON, HECTOR           ADDRESS ON FILE
CASTILLO NEGRON, JORGE A.         ADDRESS ON FILE
CASTILLO NIEVES, RAMON            ADDRESS ON FILE
Castillo Ocasio, Daniel           ADDRESS ON FILE
CASTILLO OCASIO, LYDIA E.         ADDRESS ON FILE
CASTILLO OCASIO, TOMAS            ADDRESS ON FILE
CASTILLO OCHART, BLANCA           ADDRESS ON FILE
CASTILLO OLAVARRIA, MIGUEL        ADDRESS ON FILE
CASTILLO OLCKERS MD, EDGARDO      ADDRESS ON FILE
CASTILLO OLIVERA, LUIS            ADDRESS ON FILE
CASTILLO OLIVERAS, KRISTAL        ADDRESS ON FILE
CASTILLO OLIVERAS, MARIA N        ADDRESS ON FILE




                                                                                    Page 1384 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1385 of 3500
                                                                              17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                  Address1                  Address2                                  Address3   Address4              City        State   PostalCode   Country
CASTILLO ORTEGA, MARIA DEL P   ADDRESS ON FILE
CASTILLO ORTIZ, ADA            ADDRESS ON FILE
                                                                                                              CELDA 212 P. O. BOX
CASTILLO ORTIZ, ARTHUR         ARTHUR CASTILLO           INSTITUCIÓN GUAYAMA 1000                  SEC. 1B    10009                 GUAYAMA     PR      00785
CASTILLO ORTIZ, BRENDA         ADDRESS ON FILE
CASTILLO ORTIZ, CARLOS         ADDRESS ON FILE
CASTILLO ORTIZ, ELISA M.       ADDRESS ON FILE
CASTILLO ORTIZ, ENEIDA         ADDRESS ON FILE
CASTILLO ORTIZ, JAVIER E.      ADDRESS ON FILE
Castillo Ortiz, Jean C         ADDRESS ON FILE
CASTILLO ORTIZ, JOSE M         ADDRESS ON FILE
CASTILLO ORTIZ, JULIA          ADDRESS ON FILE
CASTILLO ORTIZ, LIZZETTE       ADDRESS ON FILE
CASTILLO ORTIZ, MARIA E        ADDRESS ON FILE
CASTILLO ORTIZ, NELSON         ADDRESS ON FILE
CASTILLO ORTIZ, WALMARIEL      ADDRESS ON FILE
CASTILLO PABON, LUIS           ADDRESS ON FILE
CASTILLO PACHECO, ELVIN        ADDRESS ON FILE
CASTILLO PACHECO, RENE         ADDRESS ON FILE
CASTILLO PAGAN, ADRIANA        ADDRESS ON FILE
CASTILLO PAGAN, CARLOS R       ADDRESS ON FILE
CASTILLO PAGAN, IRAIDA         ADDRESS ON FILE
CASTILLO PAGAN, LUIS A         ADDRESS ON FILE
CASTILLO PASTRANA, ESPERANZA   ADDRESS ON FILE
CASTILLO PENA, ALIUSKA         ADDRESS ON FILE
CASTILLO PENA, JOEL            ADDRESS ON FILE
CASTILLO PENA, RAUL            ADDRESS ON FILE
CASTILLO PERALTA, REYNEDIZ     ADDRESS ON FILE
CASTILLO PEREZ, ALBA M         ADDRESS ON FILE
CASTILLO PEREZ, CARMEN         ADDRESS ON FILE
CASTILLO PEREZ, GLADYS         ADDRESS ON FILE
CASTILLO PEREZ, ILEANA M       ADDRESS ON FILE
CASTILLO PEREZ, JOSE           ADDRESS ON FILE
CASTILLO PEREZ, REYNALDO       ADDRESS ON FILE
CASTILLO PEREZ, ZUHEILY        ADDRESS ON FILE
CASTILLO PIAZZA, GLADYS        ADDRESS ON FILE
CASTILLO PIAZZA, GLADYS        ADDRESS ON FILE
CASTILLO PICHARDO, ARTURO      ADDRESS ON FILE
CASTILLO PICHARDO, EURELICE    ADDRESS ON FILE
CASTILLO PICHARDO, LINETTE     ADDRESS ON FILE
CASTILLO PIZARRO, ANEUDI       ADDRESS ON FILE
CASTILLO PLATA, JASON          ADDRESS ON FILE
CASTILLO PLAYA, JANIRA         ADDRESS ON FILE
CASTILLO POLANCO, MICHELLE     ADDRESS ON FILE
CASTILLO PORRATA, JOSE         ADDRESS ON FILE
CASTILLO PROSAIS MD, JOSE J    ADDRESS ON FILE
CASTILLO QUINONES, GYSSEL      ADDRESS ON FILE
CASTILLO QUINONES, MAIKOL      ADDRESS ON FILE
CASTILLO QUINONES, OBDULIO     ADDRESS ON FILE
CASTILLO RAMIREZ, JORGE        ADDRESS ON FILE
CASTILLO RAMIREZ, JOSEPH       ADDRESS ON FILE
CASTILLO RAMIREZ, PEDRO        ADDRESS ON FILE
CASTILLO RAMIREZ, RAFAEL       ADDRESS ON FILE
CASTILLO RAMIREZ,BRAULIO S.    ADDRESS ON FILE
CASTILLO RAMOS, AIMEE          ADDRESS ON FILE
CASTILLO RAMOS, AIRIS X        ADDRESS ON FILE
CASTILLO RAMOS, ANA F          ADDRESS ON FILE
CASTILLO RAMOS, ANGEL          ADDRESS ON FILE
CASTILLO RAMOS, ANNETTE        ADDRESS ON FILE
CASTILLO RAMOS, CRUZ A         ADDRESS ON FILE




                                                                                    Page 1385 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1386 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTILLO RAMOS, DESIREE         ADDRESS ON FILE
CASTILLO RAMOS, EVANIL          ADDRESS ON FILE
CASTILLO RAMOS, HECTOR          ADDRESS ON FILE
CASTILLO RAMOS, IRIS            ADDRESS ON FILE
CASTILLO RAMOS, JESENIA         ADDRESS ON FILE
CASTILLO RAMOS, JESUS           ADDRESS ON FILE
CASTILLO RAMOS, LUIS S.         ADDRESS ON FILE
CASTILLO RAMOS, RAMON           ADDRESS ON FILE
CASTILLO RESTO, EDWIN           ADDRESS ON FILE
CASTILLO REYES, ANGEL           ADDRESS ON FILE
CASTILLO REYES, BRIAN           ADDRESS ON FILE
CASTILLO REYES, FLORENCIA       ADDRESS ON FILE
CASTILLO REYES, LOAMMI          ADDRESS ON FILE
CASTILLO RIVERA MD, RUBEN I     ADDRESS ON FILE
CASTILLO RIVERA, CARMEN W       ADDRESS ON FILE
CASTILLO RIVERA, DOLORES        ADDRESS ON FILE
CASTILLO RIVERA, EDGARDO        ADDRESS ON FILE
CASTILLO RIVERA, EDGARDO        ADDRESS ON FILE
CASTILLO RIVERA, ELADIA M.      ADDRESS ON FILE
CASTILLO RIVERA, ELIZABETH      ADDRESS ON FILE
CASTILLO RIVERA, ELIZABETH      ADDRESS ON FILE
CASTILLO RIVERA, FRANCISCO J    ADDRESS ON FILE
CASTILLO RIVERA, GLADYMAR       ADDRESS ON FILE
CASTILLO RIVERA, LESTER         ADDRESS ON FILE
CASTILLO RIVERA, LUIS F         ADDRESS ON FILE
CASTILLO RIVERA, MERALYS        ADDRESS ON FILE
CASTILLO RIVERA, NELSON         ADDRESS ON FILE
CASTILLO RIVERA, NEPHTALI       ADDRESS ON FILE
CASTILLO RIVERA, PAOLA E        ADDRESS ON FILE
Castillo Rivera, Rafael         ADDRESS ON FILE
CASTILLO RIVERA, SHARRILYN      ADDRESS ON FILE
CASTILLO RIVERA, VANESSA        ADDRESS ON FILE
CASTILLO RIVERA, WALTER         ADDRESS ON FILE
CASTILLO RIVERA, YASMIN         ADDRESS ON FILE
CASTILLO RIVERA, YAZMIN         ADDRESS ON FILE
CASTILLO ROBLES, ALBA           ADDRESS ON FILE
CASTILLO ROCA, MARLENE          ADDRESS ON FILE
CASTILLO ROCHE, ALIAN M         ADDRESS ON FILE
CASTILLO RODRIGEZ, MARISEL      ADDRESS ON FILE
CASTILLO RODRIGUE, CARMEN R     ADDRESS ON FILE
CASTILLO RODRIGUEZ, ANGEL       ADDRESS ON FILE
CASTILLO RODRIGUEZ, ANGEL M.    ADDRESS ON FILE
CASTILLO RODRIGUEZ, BEDZAIDA    ADDRESS ON FILE
CASTILLO RODRIGUEZ, CARMELO     ADDRESS ON FILE
Castillo Rodriguez, Edgardo     ADDRESS ON FILE
CASTILLO RODRIGUEZ, EDGARDO     ADDRESS ON FILE
CASTILLO RODRIGUEZ, FRANCISCO   ADDRESS ON FILE
CASTILLO RODRIGUEZ, IDALI       ADDRESS ON FILE
CASTILLO RODRIGUEZ, ISMAEL      ADDRESS ON FILE
CASTILLO RODRIGUEZ, JOSE M.     ADDRESS ON FILE
CASTILLO RODRIGUEZ, JUAN R      ADDRESS ON FILE
CASTILLO RODRIGUEZ, KARLA       ADDRESS ON FILE
CASTILLO RODRIGUEZ, LUIS D.     ADDRESS ON FILE
CASTILLO RODRIGUEZ, MAYRA       ADDRESS ON FILE
CASTILLO RODRIGUEZ, MIGUEL A    ADDRESS ON FILE
CASTILLO RODRIGUEZ, MIRIAM      ADDRESS ON FILE
CASTILLO RODRIGUEZ, MODESTO     ADDRESS ON FILE
CASTILLO RODRIGUEZ, MYRIAM      ADDRESS ON FILE
CASTILLO RODRIGUEZ, PRISCILA    ADDRESS ON FILE
CASTILLO RODRIGUEZ, ROSA        ADDRESS ON FILE




                                                                            Page 1386 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1387 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTILLO ROJAS, ORLANDO A.       ADDRESS ON FILE
CASTILLO ROLDAN, DAMARIS         ADDRESS ON FILE
CASTILLO ROLDOS, DAVID           ADDRESS ON FILE
Castillo Roldos, Gerardo         ADDRESS ON FILE
CASTILLO ROLDOS, GERARDO         ADDRESS ON FILE
CASTILLO ROLDOS, LITZA M         ADDRESS ON FILE
CASTILLO ROMAN, ANGEL L          ADDRESS ON FILE
CASTILLO ROMAN, MISAEL           ADDRESS ON FILE
CASTILLO ROMAN, RUBEN            ADDRESS ON FILE
Castillo Roman, Ruben A          ADDRESS ON FILE
CASTILLO ROSADO, ANTONIO         ADDRESS ON FILE
CASTILLO ROSADO, EMILIO          ADDRESS ON FILE
CASTILLO ROSADO, MARISOL         ADDRESS ON FILE
CASTILLO ROSADO, NELSON          ADDRESS ON FILE
CASTILLO ROSARIO MD, MANUEL H    ADDRESS ON FILE
CASTILLO ROSARIO, ALEJANDRO      ADDRESS ON FILE
CASTILLO RUIZ, ADIANNETTE        ADDRESS ON FILE
CASTILLO RUIZ, LESLIE M.         ADDRESS ON FILE
CASTILLO RUIZ, SANDRA            ADDRESS ON FILE
CASTILLO SABATER, PEDRO J        ADDRESS ON FILE
Castillo Saldana, Ivelisse       ADDRESS ON FILE
CASTILLO SALDANA, MARILYN        ADDRESS ON FILE
CASTILLO SANCHEZ, HECTOR         ADDRESS ON FILE
CASTILLO SANCHEZ, OLIVIA         ADDRESS ON FILE
CASTILLO SANKITTS, ELIZABETH     ADDRESS ON FILE
CASTILLO SANTANA, MARGARITA      ADDRESS ON FILE
CASTILLO SANTIAGO, ALEXANDER     ADDRESS ON FILE
CASTILLO SANTIAGO, AMABEL        ADDRESS ON FILE
CASTILLO SANTIAGO, CARMEN        ADDRESS ON FILE
CASTILLO SANTIAGO, EVANGELISTA   ADDRESS ON FILE
CASTILLO SANTIAGO, GRAHAM A.     ADDRESS ON FILE
CASTILLO SANTIAGO, JONATHAN      ADDRESS ON FILE
CASTILLO SANTIAGO, KEVIN         ADDRESS ON FILE
CASTILLO SANTIAGO, LISMARY       ADDRESS ON FILE
CASTILLO SANTIAGO, MAGALY        ADDRESS ON FILE
CASTILLO SANTIAGO, MAGALY        ADDRESS ON FILE
CASTILLO SANTIAGO, MARIA         ADDRESS ON FILE
CASTILLO SANTIAGO, MARITZA       ADDRESS ON FILE
CASTILLO SANTIAGO, RAMONA        ADDRESS ON FILE
CASTILLO SANTONI, ALEXANDRA      ADDRESS ON FILE
CASTILLO SANTONI, ALEXANDRA      ADDRESS ON FILE
CASTILLO SANTONI, OMAR J         ADDRESS ON FILE
CASTILLO SANTOS, CATHLEEN        ADDRESS ON FILE
CASTILLO SANTOS, LUZ E           ADDRESS ON FILE
CASTILLO SANTOS, WANDA I.        ADDRESS ON FILE
Castillo Serrano, Angel A.       ADDRESS ON FILE
CASTILLO SERRANO, HAROLD         ADDRESS ON FILE
CASTILLO SERRANO, HAROLD         ADDRESS ON FILE
CASTILLO SERRANO, ODIN H.        ADDRESS ON FILE
CASTILLO SHERWOOD, NELSON        ADDRESS ON FILE
CASTILLO SINDO, ALEXIS           ADDRESS ON FILE
CASTILLO SINDO, JEANETTE         ADDRESS ON FILE
CASTILLO SOSTRE, LUIS            ADDRESS ON FILE
CASTILLO SOSTRE, MARIBEL         ADDRESS ON FILE
CASTILLO SOSTRE, MARISOL         ADDRESS ON FILE
CASTILLO SOSTRE, NORMAN L        ADDRESS ON FILE
CASTILLO SOSTRE, RAYMOND         ADDRESS ON FILE
CASTILLO SOTO, ANAIDA C.         ADDRESS ON FILE
CASTILLO SOTO, DIGNA D           ADDRESS ON FILE
CASTILLO SOTO, LORNA K           ADDRESS ON FILE




                                                                             Page 1387 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1388 of 3500
                                                                                17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                    Address1                    Address2                        Address3   Address4   City         State   PostalCode   Country
CASTILLO SOTO, MARIA DANELYS     ADDRESS ON FILE
CASTILLO SUERO, ROSA             ADDRESS ON FILE
CASTILLO TAVAREZ, RAMON          ADDRESS ON FILE
CASTILLO TAVAREZ, RAMON M.       ADDRESS ON FILE
Castillo Tavarez, Reinaldo       ADDRESS ON FILE
CASTILLO TEJEDA, JESUS           ADDRESS ON FILE
CASTILLO TOLENTINO, ANTONIA      ADDRESS ON FILE
CASTILLO TOLENTINO, MARIA EDIE   ADDRESS ON FILE
CASTILLO TORRES, ALEXANDRA       ADDRESS ON FILE
CASTILLO TORRES, ANGEL           ADDRESS ON FILE
CASTILLO TORRES, CARMEN D        ADDRESS ON FILE
Castillo Torres, Carmen Y.       ADDRESS ON FILE
CASTILLO TORRES, LUISA A.        ADDRESS ON FILE
Castillo Torres, Oscar L.        ADDRESS ON FILE
CASTILLO TORRES, SARA            ADDRESS ON FILE
CASTILLO TORRES, VICTOR          ADDRESS ON FILE
CASTILLO TORRES, WARINER O.      ADDRESS ON FILE
CASTILLO TORRES, WILMA           ADDRESS ON FILE
CASTILLO TORRES, WILMA           ADDRESS ON FILE
CASTILLO TROSSI, MARIA J         ADDRESS ON FILE
CASTILLO ULLOA, WINSTON          ADDRESS ON FILE
CASTILLO URCIA, LUIS             ADDRESS ON FILE
CASTILLO VACA MD, ERICK          ADDRESS ON FILE
CASTILLO VARGAS, BETHSAIDA       ADDRESS ON FILE
CASTILLO VARGAS, CARMEN          ADDRESS ON FILE
CASTILLO VARGAS, PATRICIA        ADDRESS ON FILE
CASTILLO VARGAS, RUTH            ADDRESS ON FILE
CASTILLO VARGAS, RUTH            ADDRESS ON FILE
CASTILLO VASALLO, DAMARIS        ADDRESS ON FILE
CASTILLO VAZQUEZ, CINTHIA        ADDRESS ON FILE
CASTILLO VAZQUEZ, IBIS           ADDRESS ON FILE
CASTILLO VAZQUEZ, JUAN           ADDRESS ON FILE
CASTILLO VAZQUEZ, MARIANNE       ADDRESS ON FILE
CASTILLO VAZQUEZ, VIRGEN DEL A   ADDRESS ON FILE
CASTILLO VEGA, BRAULIO           ADDRESS ON FILE
CASTILLO VEGA, FIDEL             ADDRESS ON FILE
CASTILLO VEGA, LUZ S             ADDRESS ON FILE
CASTILLO VEGA, MAYRA I           ADDRESS ON FILE
CASTILLO VEGA, NIVIA             ADDRESS ON FILE
CASTILLO VEGA, SAMUEL            ADDRESS ON FILE
CASTILLO VELEZ, ADOLFO           ADDRESS ON FILE
CASTILLO VELEZ, HECTOR F.        ADDRESS ON FILE
CASTILLO VELEZ, HECTOR S         ADDRESS ON FILE
CASTILLO VELEZ, JACQUELINE       ADDRESS ON FILE
CASTILLO VELEZ, MILDRED          ADDRESS ON FILE
CASTILLO VELEZ, PLUTARCO         ADDRESS ON FILE
CASTILLO VELEZ, RAMONA           ADDRESS ON FILE
CASTILLO VELEZ, YOLANDA          ADDRESS ON FILE
CASTILLO VILLAHERMOSA, EDWIN     ADDRESS ON FILE
CASTILLO VILLANUEVA, LUIS        ADDRESS ON FILE
CASTILLO VILLEGAS, ADRIANA       ADDRESS ON FILE
CASTILLO VILLEGAS, LILI          ADDRESS ON FILE
CASTILLO VILLEGAS, RAFAEL        ADDRESS ON FILE
CASTILLO VIRELLA, VILMARIE       ADDRESS ON FILE
CASTILLO VOLCKERS, EDMUNDO       ADDRESS ON FILE
CASTILLO WATERSPORT SHOP INC     URB PUNTA LAS MARIAS #101   CALLE DONCELLA                                        SAN JUAN     PR      00913
CASTILLO WERT, KAREL             ADDRESS ON FILE
CASTILLO ZAPATA, MAYRA O         ADDRESS ON FILE
CASTILLO, ANA M                  ADDRESS ON FILE
CASTILLO, ANGEL L.               ADDRESS ON FILE




                                                                              Page 1388 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1389 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                       Address2                                Address3   Address4   City            State   PostalCode   Country
CASTILLO, CARLOS                         ADDRESS ON FILE
CASTILLO, EDWARD A.                      ADDRESS ON FILE
Castillo, Jose                           ADDRESS ON FILE
CASTILLO, LEILA M                        ADDRESS ON FILE
CASTILLO, PAUL                           ADDRESS ON FILE
CASTILLO, WILLIAM                        ADDRESS ON FILE
CASTILLOGARCIA, INES                     ADDRESS ON FILE
CASTILLOMONTESINO, JOSE A.               ADDRESS ON FILE
CASTILLON, WILSON                        ADDRESS ON FILE
CASTILLOQUINONEZ, AURORA                 ADDRESS ON FILE
CASTILLOVEISTIA, ALMA                    ADDRESS ON FILE
CASTILLOVEITI GONZALEZ, GLADYS           ADDRESS ON FILE
CASTILLOVEITIA BAEZ, LUIS M.             ADDRESS ON FILE
CASTILLOVEITIA BAEZ, MARIA H             ADDRESS ON FILE
CASTILLOVEITIA CLAVELL, HECTOR           ADDRESS ON FILE
CASTILLOVEITIA GARCIA, JOSE              ADDRESS ON FILE
CASTILLOVEITIA GARCIA, LUIS F            ADDRESS ON FILE
CASTILLOVEITIA GONZALEZ, JULIO C         ADDRESS ON FILE
CASTILLOVEITIA IRIZARRY, PEDRO           ADDRESS ON FILE
CASTILLOVEITIA IRIZARRY, PEDRO D         ADDRESS ON FILE
CASTILLOVEITIA MALDONADO, TIARA L        ADDRESS ON FILE
CASTILLOVEITIA ROSA, SANDRA              ADDRESS ON FILE
Castilloveitia Rosa, Sandra Y            ADDRESS ON FILE
CASTILLOVEITIA VARGAS, YERIKA            ADDRESS ON FILE
CASTILLOVEITIA VELEZ, ARIEL              ADDRESS ON FILE
Castilloveitia Velez, Felix L            ADDRESS ON FILE
CASTILLOVEITIA, EVELYN                   ADDRESS ON FILE
CASTLE BOOKS                             SAN PATRICIO 2NDO NIVEL ST12                                                                 GUAYNABO        PR      00968
CASTLE ENTERPRISES                       P O BOX 2000                                                                                 CATANO          PR      00963
CASTLE ROCK CONTRACTORS/ SANTA ISABEL AS HC 06 BOX 4199                                                                               COTO LAUREL     PR      00780
CASTO M COLL DEL RIO                     PMB 239                        1357 AVE ASHFORD STE 2                                        SAN JUAN        PR      00907
CASTOIRE AYABARRENO, ADALBERTO           ADDRESS ON FILE
CASTOIRE AYABARRENO, ADALBERTO           ADDRESS ON FILE
CASTOIRE BAEZ, PABLO                     ADDRESS ON FILE
CASTOIRE GALARZA, SHARON                 ADDRESS ON FILE
CASTOIRE SANCHEZ, EVELYN                 ADDRESS ON FILE
CASTOIRE,ADALBERTO                       ADDRESS ON FILE
CASTORA HOMS DIAZ                        ADDRESS ON FILE
CASTRELLO MERCED, MARIA LUISA            ADDRESS ON FILE
Castrello Rivera, Luis A                 ADDRESS ON FILE
CASTRELLO, JORGE L                       ADDRESS ON FILE
CASTRERO CORREA, JEAN                    ADDRESS ON FILE
CASTRERO QUINONES, ALTAGRACIA            ADDRESS ON FILE
CASTRESANA BETANCOURT MD, JOSUE          ADDRESS ON FILE
CASTRESANA BETANCOURT MD, JOSUE          ADDRESS ON FILE
CASTRESANA BETANCOURT, EDNA              ADDRESS ON FILE
CASTRILLO BENITEZ, MARIA T               ADDRESS ON FILE
CASTRILLO ORTIZ, EVYMAR                  ADDRESS ON FILE
CASTRILLO ORTIZ, KEILYMAR                ADDRESS ON FILE
CASTRILLO TORRES, DENNISE                ADDRESS ON FILE
CASTRILLON BERRIOS, ALITZA               ADDRESS ON FILE
CASTRILLON CABRERA, OLGA I               ADDRESS ON FILE
CASTRILLON CARDONA, EMILIO J             ADDRESS ON FILE
CASTRILLON CARRION, LAURA R.             ADDRESS ON FILE
CASTRILLON LUNA, OMAR                    ADDRESS ON FILE
CASTRILLON MEJIA, FABIOLA                ADDRESS ON FILE
CASTRILLON RIVERA, KASSANDRA             ADDRESS ON FILE
CASTRO ORLANDI, JOSE                     ADDRESS ON FILE
CASTRO & RIVERA PSYCHOLOGICAL SERVICES L AVE BARBOSA 168                                                                              CATANO          PR      00963
CASTRO , SOL M.                          ADDRESS ON FILE




                                                                                                 Page 1389 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1390 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO ABAD, MARGARITA A     ADDRESS ON FILE
CASTRO ABREU, JESUS          ADDRESS ON FILE
CASTRO ABREU, LIZZETTE       ADDRESS ON FILE
CASTRO ACEVEDO, EDISON       ADDRESS ON FILE
Castro Acevedo, Jose A.      ADDRESS ON FILE
CASTRO ACEVEDO, LUZ M        ADDRESS ON FILE
Castro Acevedo, Roger        ADDRESS ON FILE
CASTRO ACEVEDO, YARIMELL     ADDRESS ON FILE
Castro Acosta, Josue         ADDRESS ON FILE
CASTRO ACOSTA, JOSUE         ADDRESS ON FILE
CASTRO ACOSTA, MAYRA         ADDRESS ON FILE
CASTRO AGIS, LUIS            ADDRESS ON FILE
CASTRO AGIS, LUIS M          ADDRESS ON FILE
CASTRO AGUAYO, MARIA D       ADDRESS ON FILE
CASTRO ALAMEDA, MARIA DEL    ADDRESS ON FILE
CASTRO ALAMEDA, MIGDALIA     ADDRESS ON FILE
CASTRO ALBERTY, ARMANDO E    ADDRESS ON FILE
CASTRO ALCARAZ, GRISEL M.    ADDRESS ON FILE
CASTRO ALFARO, JONATHAN      ADDRESS ON FILE
CASTRO ALGARIN, ELIZABETH    ADDRESS ON FILE
CASTRO ALGARIN, JOEL         ADDRESS ON FILE
CASTRO ALGARIN, LUIS         ADDRESS ON FILE
CASTRO ALGARIN, MARIA L      ADDRESS ON FILE
CASTRO ALGARIN, SANDRA       ADDRESS ON FILE
CASTRO ALICEA, EVEL M        ADDRESS ON FILE
CASTRO ALICEA, EVELYN Y      ADDRESS ON FILE
Castro Alicea, Juan H        ADDRESS ON FILE
CASTRO ALICEA, JUANA T.      ADDRESS ON FILE
CASTRO ALICEA, MARCOS O.     ADDRESS ON FILE
CASTRO ALICEA, MILDRED       ADDRESS ON FILE
CASTRO ALICEA, SYLVIA        ADDRESS ON FILE
CASTRO ALICEA, WILLIAM       ADDRESS ON FILE
CASTRO ALMESTICA, CAMELIA    ADDRESS ON FILE
Castro Alonso, Amancia B     ADDRESS ON FILE
CASTRO ALONSO, GESINA W      ADDRESS ON FILE
CASTRO ALVARADO, CATHERINE   ADDRESS ON FILE
CASTRO ALVAREZ, CARMEN I     ADDRESS ON FILE
Castro Alvarez, Felix A.     ADDRESS ON FILE
CASTRO ALVAREZ, FELIX M.     ADDRESS ON FILE
CASTRO ALVAREZ, GREGORIO     ADDRESS ON FILE
CASTRO ALVERIO, NILDA E      ADDRESS ON FILE
CASTRO AMILIVIA, ANTONIO     ADDRESS ON FILE
CASTRO ANAYA, DAVID J.       ADDRESS ON FILE
CASTRO ANDINO, GLORIVEE      ADDRESS ON FILE
CASTRO ANDUJAR, ZORAYA I     ADDRESS ON FILE
CASTRO APONTE, MARIA L       ADDRESS ON FILE
CASTRO APONTE, RAMONA        ADDRESS ON FILE
CASTRO AQUINO, DANIEL        ADDRESS ON FILE
CASTRO AQUINO, KERVIN        ADDRESS ON FILE
CASTRO AQUINO, KEVIN         ADDRESS ON FILE
Castro Aquino, Luis R        ADDRESS ON FILE
CASTRO AROCHO, JOEL          ADDRESS ON FILE
Castro Arocho, William D     ADDRESS ON FILE
CASTRO ARROYO, AIDA L        ADDRESS ON FILE
CASTRO ARROYO, IVELISSE      ADDRESS ON FILE
CASTRO ARROYO, JOSE A        ADDRESS ON FILE
CASTRO ARROYO, MARI BELLE    ADDRESS ON FILE
CASTRO ARROYO, SYLVIA R      ADDRESS ON FILE
Castro Arzon, Danny          ADDRESS ON FILE
CASTRO ARZON, DANNY          ADDRESS ON FILE




                                                                         Page 1390 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1391 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                     Address1                    Address2                             Address3   Address4   City         State   PostalCode   Country
CASTRO ASCAR, ROSE                ADDRESS ON FILE
CASTRO ASTA, ANA S.               ADDRESS ON FILE
CASTRO AUTO BODY INC              HACIENDA MI QUERIDO VIEJO   131 CALLE FLAMBOYAN                                        DORADO       PR      00646
CASTRO AVILES, CARLOS             ADDRESS ON FILE
CASTRO AVILES, LUCIA              ADDRESS ON FILE
CASTRO AVILES, YISALIA            ADDRESS ON FILE
CASTRO AYALA, CARLOS R            ADDRESS ON FILE
CASTRO AYALA, CARMEN S            ADDRESS ON FILE
CASTRO AYALA, JOSE                ADDRESS ON FILE
CASTRO AYALA, MARIA               ADDRESS ON FILE
CASTRO BADILLO, DAMARIS           ADDRESS ON FILE
CASTRO BADILLO, JAVIER            ADDRESS ON FILE
CASTRO BADILLO, MYRKA L           ADDRESS ON FILE
CASTRO BAEZ, ARTEMIO              ADDRESS ON FILE
CASTRO BAEZ, EMALI                ADDRESS ON FILE
CASTRO BAEZ, FERNANDO             ADDRESS ON FILE
CASTRO BAEZ, HECTOR               ADDRESS ON FILE
CASTRO BAEZ, MARIA M.             ADDRESS ON FILE
CASTRO BAEZ, RICARDO              ADDRESS ON FILE
CASTRO BALANTA, EDWIN             ADDRESS ON FILE
CASTRO BASABE, NORMA              ADDRESS ON FILE
CASTRO BELLO, CARLOS D            ADDRESS ON FILE
CASTRO BELLO, YOLANDA             LCDO. PEDRO VIDAL RÍOS      COLL Y TOSTE 54                                            SAN JUAN     PR      00918
CASTRO BENITEZ, KIOMARA           ADDRESS ON FILE
CASTRO BENITEZ, MARIELI           ADDRESS ON FILE
CASTRO BENITEZ, SANDRA            ADDRESS ON FILE
CASTRO BERASTAIN, FELIPE          ADDRESS ON FILE
CASTRO BERASTAIN, FELIPE          ADDRESS ON FILE
CASTRO BERETA, RAFAEL A.          ADDRESS ON FILE
CASTRO BERETA, RAFAEL A.          ADDRESS ON FILE
CASTRO BERMUDEZ, EDGARDO          ADDRESS ON FILE
CASTRO BERNARD, YAZMIN Y          ADDRESS ON FILE
CASTRO BERRIOS, ALICIA            ADDRESS ON FILE
Castro Berrocales, Abimael        ADDRESS ON FILE
CASTRO BETANCOURT, PEDRO          ADDRESS ON FILE
CASTRO BIRRIEL, CONFESOR          ADDRESS ON FILE
CASTRO BORIA, JOSEFINA            ADDRESS ON FILE
CASTRO BORRERO, JOSE              ADDRESS ON FILE
CASTRO BORRERO, JOSE L            ADDRESS ON FILE
CASTRO BORRERO, YOLANDA I.        ADDRESS ON FILE
CASTRO BOSCH, SUSANA              ADDRESS ON FILE
CASTRO BRACERO, GAMALIER          ADDRESS ON FILE
CASTRO BULTRON, WILMA E           ADDRESS ON FILE
CASTRO BURGOS, ARLLEN             ADDRESS ON FILE
CASTRO BURGOS, ARLLEN             ADDRESS ON FILE
CASTRO BURGOS, EDGARDO            ADDRESS ON FILE
CASTRO BUSINESS ENTERPREISES      LCDO. YUSIF MAFUZ BLANCO    2013 CALLE CACIQUE                                         SAN JUAN     PR      00911
CASTRO BUSINESS ENTERPRICES INC   P O BOX 12266                                                                          SAN JUAN     PR      00914‐0266
CASTRO BUSINESS ENTERPRISES INC   PO BOX 12266                                                                           SAN JUAN     PR      00914‐2266
CASTRO CABAN, EDDIE N             ADDRESS ON FILE
CASTRO CABAN, EDITH N             ADDRESS ON FILE
CASTRO CABAN, JOSE                ADDRESS ON FILE
CASTRO CABRERA, ERIKA I           ADDRESS ON FILE
CASTRO CABRERA, GARY A            ADDRESS ON FILE
CASTRO CALDERON, DENNIS           ADDRESS ON FILE
Castro Calderon, Dennis           ADDRESS ON FILE
CASTRO CALDERON, JOSE R.          ADDRESS ON FILE
CASTRO CALDERON, LINDA M          ADDRESS ON FILE
CASTRO CALDERON, LUISA            ADDRESS ON FILE
CASTRO CALDERON, PAULITA          ADDRESS ON FILE




                                                                                    Page 1391 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1392 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO CALERO, JOSE A.            ADDRESS ON FILE
CASTRO CALLEJO, ARNALDO           ADDRESS ON FILE
CASTRO CALLEJO, JORGE             ADDRESS ON FILE
CASTRO CALO, ZORAIDA              ADDRESS ON FILE
CASTRO CALO, ZULMA                ADDRESS ON FILE
CASTRO CAMACHO, AIDDIE            ADDRESS ON FILE
CASTRO CAMACHO, AIDDIE B.         ADDRESS ON FILE
CASTRO CAMACHO, EUNICE            ADDRESS ON FILE
CASTRO CAMACHO, IVELISSE          ADDRESS ON FILE
CASTRO CAMACHO, JUAN              ADDRESS ON FILE
Castro Camacho, Julio             ADDRESS ON FILE
CASTRO CAMACHO, WILFREDO          ADDRESS ON FILE
CASTRO CAMPOS, CARMEN             ADDRESS ON FILE
CASTRO CANA, CARMEN V             ADDRESS ON FILE
CASTRO CANABAL, ENID              ADDRESS ON FILE
CASTRO CANABAL, ENID M.           ADDRESS ON FILE
CASTRO CANALES, AWILDA            ADDRESS ON FILE
CASTRO CANALES, AWILDA            ADDRESS ON FILE
CASTRO CANCEL, MOISES             ADDRESS ON FILE
CASTRO CANCEL, NOEMI              ADDRESS ON FILE
Castro Candelario, Aida I         ADDRESS ON FILE
CASTRO CARABALLO, ILIA            ADDRESS ON FILE
CASTRO CARABALLO, JUANITA         ADDRESS ON FILE
CASTRO CARABALLO, RONNIE          ADDRESS ON FILE
CASTRO CARABALLO, VIRGEN DEL C.   ADDRESS ON FILE
CASTRO CARBALLO, MONICA M.        ADDRESS ON FILE
CASTRO CARDONA, ANA A             ADDRESS ON FILE
CASTRO CARDONA, ANIBAL            ADDRESS ON FILE
CASTRO CARDONA, AUREA B           ADDRESS ON FILE
CASTRO CARDONA, GRISEL E          ADDRESS ON FILE
CASTRO CARDONA, JONATHAN K        ADDRESS ON FILE
CASTRO CARDONA, LAURA E           ADDRESS ON FILE
CASTRO CARDONA, SANTOS            ADDRESS ON FILE
CASTRO CARMONA, CORALYS           ADDRESS ON FILE
CASTRO CARRASQUILLO, LUIS         ADDRESS ON FILE
CASTRO CARRERA, ADALID            ADDRESS ON FILE
CASTRO CARRERAS, ORVILLE          ADDRESS ON FILE
CASTRO CARRILLO, JETZENIA         ADDRESS ON FILE
CASTRO CARRION, JOSEFA            ADDRESS ON FILE
CASTRO CASARA, ALEXIS L           ADDRESS ON FILE
CASTRO CASILLAS, GLENDA A         ADDRESS ON FILE
CASTRO CASILLAS, MARIBEL          ADDRESS ON FILE
CASTRO CASILLAS, MARIBEL          ADDRESS ON FILE
CASTRO CASTILLO, KATHERINE        ADDRESS ON FILE
CASTRO CASTILLO, KATHERINE        ADDRESS ON FILE
CASTRO CASTRO MD, IRIS            ADDRESS ON FILE
Castro Castro, Americo            ADDRESS ON FILE
CASTRO CASTRO, ANGELO ANIBAL      ADDRESS ON FILE
CASTRO CASTRO, DAVID              ADDRESS ON FILE
CASTRO CASTRO, DAVID              ADDRESS ON FILE
Castro Castro, Edgardo            ADDRESS ON FILE
CASTRO CASTRO, ELSIE              ADDRESS ON FILE
CASTRO CASTRO, GRISSEL A          ADDRESS ON FILE
CASTRO CASTRO, HERIBERTO          ADDRESS ON FILE
CASTRO CASTRO, HIRAM              ADDRESS ON FILE
CASTRO CASTRO, HORTENSIA          ADDRESS ON FILE
CASTRO CASTRO, JAVIER             ADDRESS ON FILE
CASTRO CASTRO, JOAQUIN            ADDRESS ON FILE
Castro Castro, Jose O.            ADDRESS ON FILE
Castro Castro, Juan R.            ADDRESS ON FILE




                                                                              Page 1392 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1393 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
CASTRO CASTRO, MARIA B         ADDRESS ON FILE
CASTRO CASTRO, MARTHA I.       ADDRESS ON FILE
CASTRO CASTRO, MAXIMO          ADDRESS ON FILE
CASTRO CASTRO, MIRIAM          ADDRESS ON FILE
CASTRO CASTRO, NAOMI           ADDRESS ON FILE
CASTRO CASTRO, QUIOMARA        ADDRESS ON FILE
CASTRO CASTRO, SAUL            ADDRESS ON FILE
CASTRO CASTRO, SET M           ADDRESS ON FILE
CASTRO CASTRO, YAREN M         ADDRESS ON FILE
CASTRO CEDENO, MARILIDIA       ADDRESS ON FILE
CASTRO CENTENO, CRUZ           ADDRESS ON FILE
CASTRO CENTENO, PAULA          ADDRESS ON FILE
CASTRO CEPEDA, CARMEN L        ADDRESS ON FILE
CASTRO CEPEDA, ILEANA          ADDRESS ON FILE
CASTRO CEPERO, NORMA I         ADDRESS ON FILE
CASTRO CHACON, LIZ S           ADDRESS ON FILE
CASTRO CHACON, LIZ S.          ADDRESS ON FILE
Castro Chacon, Mayra Beatriz   ADDRESS ON FILE
CASTRO CHAPARRO, ZULEIKA       ADDRESS ON FILE
CASTRO CHEVERE, JACLYN A       ADDRESS ON FILE
CASTRO CINTRON, JOSE           ADDRESS ON FILE
CASTRO CINTRON, WILFREDO       ADDRESS ON FILE
CASTRO CINTRON, YARAMAR        ADDRESS ON FILE
CASTRO CLEMENTE, SILVIA        ADDRESS ON FILE
CASTRO COLLAZO, KEYLA          ADDRESS ON FILE
CASTRO COLLAZO, MICHAEL D      ADDRESS ON FILE
CASTRO COLLAZO, REINALDO L     ADDRESS ON FILE
CASTRO COLON MD, IRIS          ADDRESS ON FILE
CASTRO COLON, AIDA L           ADDRESS ON FILE
CASTRO COLON, ANA I            ADDRESS ON FILE
CASTRO COLON, BRENDA L         ADDRESS ON FILE
CASTRO COLON, CARMEN I.        ADDRESS ON FILE
CASTRO COLON, DOLORES          ADDRESS ON FILE
Castro Colon, Francisco J.     ADDRESS ON FILE
CASTRO COLON, HAYDEE           ADDRESS ON FILE
CASTRO COLON, LISMARY          ADDRESS ON FILE
CASTRO COLON, LOURDES M        ADDRESS ON FILE
Castro Colon, Manuel           ADDRESS ON FILE
CASTRO COLON, MARIBEL          ADDRESS ON FILE
CASTRO COLON, MIGUEL A.        ADDRESS ON FILE
CASTRO COLON, MORAYMA          ADDRESS ON FILE
CASTRO COLON, NYLDA            ADDRESS ON FILE
CASTRO COLON, NYLDA            ADDRESS ON FILE
CASTRO COLON, REYNALDO         ADDRESS ON FILE
CASTRO COLON, VICTOR M.        ADDRESS ON FILE
CASTRO COLON, WANDA I          ADDRESS ON FILE
CASTRO COLON, XIOMARA          ADDRESS ON FILE
CASTRO COLON, YAMILETTE        ADDRESS ON FILE
CASTRO CONCEPCION, MELANEE     ADDRESS ON FILE
CASTRO COOP                    SAN JOSE BUIDING          1250 AVE PONCE DE LEON OFIC 608                                  SAN JUAN     PR      00908
CASTRO CORDERO, ANNETTE M.     ADDRESS ON FILE
CASTRO CORDERO, EDWIN          ADDRESS ON FILE
CASTRO CORDERO, EDWIN          ADDRESS ON FILE
CASTRO CORDERO, FRANCHESKA M   ADDRESS ON FILE
CASTRO CORDERO, FRANCHESKA M   ADDRESS ON FILE
CASTRO CORDERO, PLINIO         ADDRESS ON FILE
CASTRO CORDERO, VICTOR M       ADDRESS ON FILE
CASTRO CORREA, CRYSTAL         ADDRESS ON FILE
CASTRO CORREA, JOSE A.         ADDRESS ON FILE
CASTRO CORREA, LUIS A          ADDRESS ON FILE




                                                                                     Page 1393 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1394 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO CORREA, MARIA N          ADDRESS ON FILE
CASTRO CORREA, MOISES           ADDRESS ON FILE
CASTRO CORREA, NYDIA            ADDRESS ON FILE
CASTRO CORSINO, ALEXIS          ADDRESS ON FILE
CASTRO COSME, MADELINE          ADDRESS ON FILE
CASTRO COTTO, BRENDALIZ         ADDRESS ON FILE
CASTRO COTTO, GLADYS            ADDRESS ON FILE
CASTRO COTTO, JOSE              ADDRESS ON FILE
CASTRO COTTO, JOSE A.           ADDRESS ON FILE
CASTRO COTTO, MIGDALIA          ADDRESS ON FILE
CASTRO COTTO, YESENIA           ADDRESS ON FILE
CASTRO CRESPO, ADAMARIE         ADDRESS ON FILE
CASTRO CRESPO, CARLOS           ADDRESS ON FILE
CASTRO CRESPO, ELISA            ADDRESS ON FILE
CASTRO CRUZ, ALEXA Y.           ADDRESS ON FILE
CASTRO CRUZ, ANA J.             ADDRESS ON FILE
CASTRO CRUZ, ANDREA A           ADDRESS ON FILE
CASTRO CRUZ, ANGELINA           ADDRESS ON FILE
CASTRO CRUZ, ARYSAI             ADDRESS ON FILE
CASTRO CRUZ, CARLOS             ADDRESS ON FILE
CASTRO CRUZ, CARMEN E.          ADDRESS ON FILE
CASTRO CRUZ, CARMEN J.          ADDRESS ON FILE
CASTRO CRUZ, CARMEN L           ADDRESS ON FILE
CASTRO CRUZ, CARMEN R           ADDRESS ON FILE
CASTRO CRUZ, CINTHIA            ADDRESS ON FILE
CASTRO CRUZ, DELYANA            ADDRESS ON FILE
CASTRO CRUZ, EDWIN              ADDRESS ON FILE
CASTRO CRUZ, ESTHER             ADDRESS ON FILE
CASTRO CRUZ, FRANCISCO          ADDRESS ON FILE
CASTRO CRUZ, GLADIMAR           ADDRESS ON FILE
CASTRO CRUZ, HELDA M            ADDRESS ON FILE
CASTRO CRUZ, HILDA              ADDRESS ON FILE
CASTRO CRUZ, IDALYS             ADDRESS ON FILE
CASTRO CRUZ, IRWING             ADDRESS ON FILE
CASTRO CRUZ, JULIO              ADDRESS ON FILE
CASTRO CRUZ, KATHIA Y           ADDRESS ON FILE
CASTRO CRUZ, KEILA              ADDRESS ON FILE
CASTRO CRUZ, LILLIAM            ADDRESS ON FILE
CASTRO CRUZ, LILYANETTE         ADDRESS ON FILE
CASTRO CRUZ, LUCY               ADDRESS ON FILE
Castro Cruz, Luis A             ADDRESS ON FILE
CASTRO CRUZ, MANUEL             ADDRESS ON FILE
CASTRO CRUZ, MARIA DE LOURDES   ADDRESS ON FILE
CASTRO CRUZ, MARIA E            ADDRESS ON FILE
CASTRO CRUZ, MARITZA            ADDRESS ON FILE
CASTRO CRUZ, NILSA              ADDRESS ON FILE
CASTRO CRUZ, ROSEMARY           ADDRESS ON FILE
CASTRO CRUZ, SONIA              ADDRESS ON FILE
CASTRO CRUZ, VIDAL              ADDRESS ON FILE
CASTRO CRUZ, WANDA              ADDRESS ON FILE
CASTRO CRUZ, YOLANDA            ADDRESS ON FILE
CASTRO CUADRADO, JOSE           ADDRESS ON FILE
CASTRO CUADRADO, JUAN DE        ADDRESS ON FILE
CASTRO CUADRADO, KATIRIA        ADDRESS ON FILE
CASTRO CUBERO, JOSE D.          ADDRESS ON FILE
CASTRO CUEVAS, ORLANDO          ADDRESS ON FILE
CASTRO CURBELO, LUIS I          ADDRESS ON FILE
CASTRO CURBELO, PEDRO A.        ADDRESS ON FILE
CASTRO CURET, GRETZA            ADDRESS ON FILE
CASTRO CURET, NIURKA O.         ADDRESS ON FILE




                                                                            Page 1394 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1395 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO DAVILA, AITZA E          ADDRESS ON FILE
CASTRO DAVILA, OCTAVIO          ADDRESS ON FILE
CASTRO DAVILA, OCTAVIO          ADDRESS ON FILE
CASTRO DAVILA, WILLIAM          ADDRESS ON FILE
CASTRO DE ARMAS, FLORIS         ADDRESS ON FILE
CASTRO DE ARMAS, ISABEL         ADDRESS ON FILE
CASTRO DE DUVERGE, ADELA        ADDRESS ON FILE
CASTRO DE JESUS, ELSA           ADDRESS ON FILE
CASTRO DE JESUS, ELSA M         ADDRESS ON FILE
CASTRO DE JESUS, FRANCISCO J.   ADDRESS ON FILE
CASTRO DE JESUS, IDABEL         ADDRESS ON FILE
CASTRO DE JESUS, IVELISSE       ADDRESS ON FILE
CASTRO DE JESUS, JAVIER         ADDRESS ON FILE
Castro De Jesus, Javier V.      ADDRESS ON FILE
CASTRO DE JESUS, JOSE J         ADDRESS ON FILE
CASTRO DE JESUS, SONIA Y.       ADDRESS ON FILE
CASTRO DE LA PAZ, LANNY         ADDRESS ON FILE
CASTRO DE LA PAZ, MARIA T       ADDRESS ON FILE
CASTRO DE LA PAZ, MATGI         ADDRESS ON FILE
CASTRO DE LEON, BRENDA L.       ADDRESS ON FILE
CASTRO DE LEON, CARLOS M        ADDRESS ON FILE
CASTRO DE LEON, CARMEN A.       ADDRESS ON FILE
CASTRO DE LEON, FIDELINA        ADDRESS ON FILE
CASTRO DE LEON, ISABEL          ADDRESS ON FILE
CASTRO DE LEON, JUANA C.        ADDRESS ON FILE
CASTRO DE MATOS, NELLY          ADDRESS ON FILE
CASTRO DE MORA, JULIA           ADDRESS ON FILE
CASTRO DE VAZQUEZ, GISSELL      ADDRESS ON FILE
CASTRO DEL TORO, DIANALIZ       ADDRESS ON FILE
Castro Del Valle, Angel M       ADDRESS ON FILE
CASTRO DEL VALLE, JOSEFINA      ADDRESS ON FILE
CASTRO DELGADO, ENERIS          ADDRESS ON FILE
CASTRO DELGADO, JOSE L.         ADDRESS ON FILE
CASTRO DELGADO, JUAN LUIS       ADDRESS ON FILE
CASTRO DELGADO, NELSON          ADDRESS ON FILE
Castro Deliz, Daniel            ADDRESS ON FILE
CASTRO DENIS, LUIS              ADDRESS ON FILE
CASTRO DESSUS, OSVALDO          ADDRESS ON FILE
CASTRO DEYNES, BLANCA I         ADDRESS ON FILE
CASTRO DEYNES, IRMA I           ADDRESS ON FILE
CASTRO DEYNES, NEREIDA          ADDRESS ON FILE
CASTRO DIAZ, ALBA R.            ADDRESS ON FILE
CASTRO DIAZ, ANGEL              ADDRESS ON FILE
CASTRO DIAZ, CARLOS             ADDRESS ON FILE
CASTRO DIAZ, CARMEN             ADDRESS ON FILE
CASTRO DIAZ, CARMEN S           ADDRESS ON FILE
CASTRO DIAZ, CECILIA            ADDRESS ON FILE
CASTRO DIAZ, DAVID              ADDRESS ON FILE
CASTRO DIAZ, ESTHER M           ADDRESS ON FILE
CASTRO DIAZ, GERARDO            ADDRESS ON FILE
CASTRO DIAZ, IRIS G             ADDRESS ON FILE
CASTRO DIAZ, IRMA L             ADDRESS ON FILE
CASTRO DIAZ, ISABEL             ADDRESS ON FILE
CASTRO DIAZ, JOSE               ADDRESS ON FILE
CASTRO DIAZ, JUAN               ADDRESS ON FILE
CASTRO DIAZ, JUAN               ADDRESS ON FILE
CASTRO DIAZ, JUAN               ADDRESS ON FILE
CASTRO DIAZ, JUAN BAUTISTA      ADDRESS ON FILE
CASTRO DIAZ, MARIA A            ADDRESS ON FILE
Castro Diaz, Mariela            ADDRESS ON FILE




                                                                            Page 1395 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1396 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO DIAZ, MIGUEL A.        ADDRESS ON FILE
CASTRO DIAZ, NYDIA E.         ADDRESS ON FILE
CASTRO DIAZ, ORLANDO          ADDRESS ON FILE
CASTRO DIAZ, RAFAEL           ADDRESS ON FILE
CASTRO DIAZ, SEVERIANA        ADDRESS ON FILE
CASTRO DIAZ, SONIA E          ADDRESS ON FILE
CASTRO DIAZ, TOMASITA         ADDRESS ON FILE
CASTRO DIAZ, WANDA            ADDRESS ON FILE
CASTRO DIAZ,LILLIAM G.        ADDRESS ON FILE
CASTRO DIEPPA, IRMA E         ADDRESS ON FILE
CASTRO DIODONET, EDRID I      ADDRESS ON FILE
CASTRO DIODONET, ELY M        ADDRESS ON FILE
CASTRO DOMINGUEZ, CARMEN L    ADDRESS ON FILE
CASTRO DOMINGUEZ, CARMEN M    ADDRESS ON FILE
CASTRO DOMINGUEZ, FREDDIE     ADDRESS ON FILE
CASTRO DOMINGUEZ, LILLIAN I   ADDRESS ON FILE
CASTRO DOMINGUEZ, LIZBETH     ADDRESS ON FILE
CASTRO DOMINGUEZ, LUIS        ADDRESS ON FILE
Castro Dominguez, Luis R      ADDRESS ON FILE
CASTRO DUCHESNE, JORGE        ADDRESS ON FILE
CASTRO ECHEVARRIA, ALBA       ADDRESS ON FILE
CASTRO ECHEVARRIA, ALBA J     ADDRESS ON FILE
CASTRO ENCARNACION, MARIEL    ADDRESS ON FILE
CASTRO ENCARNACION, MICHAEL   ADDRESS ON FILE
CASTRO ENCARNACION, SONIA     ADDRESS ON FILE
CASTRO ESCOBAR, ANGEL J.      ADDRESS ON FILE
CASTRO ESCOBAR, FREDDY        ADDRESS ON FILE
CASTRO ESCOBAR, NICOLE        ADDRESS ON FILE
CASTRO ESPINOSA, DAISY        ADDRESS ON FILE
CASTRO ESPINOSA, DAVID        ADDRESS ON FILE
CASTRO ESPINOSA, EDWARD       ADDRESS ON FILE
CASTRO ESPINOSA, EDWIN        ADDRESS ON FILE
CASTRO ESPINOSA, LUIS         ADDRESS ON FILE
CASTRO ESQUILIN, DAVID        ADDRESS ON FILE
CASTRO ESTRADA, JOSE          ADDRESS ON FILE
CASTRO ESTRADA, TERESA        ADDRESS ON FILE
Castro Estrella, Fernando     ADDRESS ON FILE
CASTRO ESTRELLA, FERNANDO     ADDRESS ON FILE
CASTRO ESTRELLA, TANIA        ADDRESS ON FILE
CASTRO ESTUPINAN, ARACELIS    ADDRESS ON FILE
CASTRO ESTUPINAN, HAYDEE      ADDRESS ON FILE
CASTRO FAJARDO, CARLOS        ADDRESS ON FILE
CASTRO FALCON, JOSE           ADDRESS ON FILE
CASTRO FALCON, JOSE M.        ADDRESS ON FILE
CASTRO FARGAS, YARIMILLE      ADDRESS ON FILE
CASTRO FARRULLA, JOHANNIE     ADDRESS ON FILE
CASTRO FARRULLA, LISANDRA     ADDRESS ON FILE
CASTRO FEBRES, CARMEN         ADDRESS ON FILE
CASTRO FELICIANO, ANNETTE     ADDRESS ON FILE
CASTRO FELICIANO, JOSE L.     ADDRESS ON FILE
Castro Feliciano, Luis        ADDRESS ON FILE
CASTRO FELICIANO, MOISES      ADDRESS ON FILE
CASTRO FELIN, ALEX G          ADDRESS ON FILE
CASTRO FELIU, ALEX            ADDRESS ON FILE
CASTRO FELIU, DAVID           ADDRESS ON FILE
CASTRO FELIX, ANA E           ADDRESS ON FILE
CASTRO FELIX, TERESA          ADDRESS ON FILE
CASTRO FERNANDEZ, ANA R       ADDRESS ON FILE
CASTRO FERNANDEZ, CARMEN M    ADDRESS ON FILE
CASTRO FERNANDEZ, FELIX A     ADDRESS ON FILE




                                                                          Page 1396 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1397 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO FERNANDEZ, FERDINAND    ADDRESS ON FILE
CASTRO FERNANDEZ, JONATHAN     ADDRESS ON FILE
CASTRO FIGUEROA, ABIGAIL       ADDRESS ON FILE
CASTRO FIGUEROA, ANNETTE       ADDRESS ON FILE
CASTRO FIGUEROA, DAVID         ADDRESS ON FILE
CASTRO FIGUEROA, IVETTE        ADDRESS ON FILE
CASTRO FIGUEROA, JENNIFER      ADDRESS ON FILE
CASTRO FIGUEROA, JENNIFER      ADDRESS ON FILE
CASTRO FIGUEROA, JOSE E        ADDRESS ON FILE
CASTRO FIGUEROA, KENNETH       ADDRESS ON FILE
CASTRO FIGUEROA, MARIANETTE    ADDRESS ON FILE
CASTRO FIGUEROA, MARILYN       ADDRESS ON FILE
CASTRO FIGUEROA, MIGUEL A.     ADDRESS ON FILE
CASTRO FIGUEROA, NILSA         ADDRESS ON FILE
CASTRO FIGUEROA, NILSA M       ADDRESS ON FILE
CASTRO FIGUEROA, OSMARIELIS    ADDRESS ON FILE
CASTRO FIGUEROA, ROSA E        ADDRESS ON FILE
CASTRO FIGUEROA, SERGIO        ADDRESS ON FILE
CASTRO FIGUEROA, SHIRLEY       ADDRESS ON FILE
CASTRO FIGUEROA, YESENIA       ADDRESS ON FILE
CASTRO FLECHA, HIPOLITA        ADDRESS ON FILE
CASTRO FLECHA, YARELIS         ADDRESS ON FILE
CASTRO FLORES, DAMARIS         ADDRESS ON FILE
CASTRO FLORES, JOSE            ADDRESS ON FILE
CASTRO FLORES, KENNETH         ADDRESS ON FILE
CASTRO FLORES, LYDIA N         ADDRESS ON FILE
CASTRO FLORES, ROUCHELY        ADDRESS ON FILE
Castro Flores, Santos M        ADDRESS ON FILE
CASTRO FLORES, VICTOR L.       ADDRESS ON FILE
CASTRO FLORES, XIOMARA         ADDRESS ON FILE
CASTRO FLORES, XIOMARA         ADDRESS ON FILE
Castro Fonseca, Carlos         ADDRESS ON FILE
CASTRO FONSECA, PABLO          ADDRESS ON FILE
CASTRO FONTANEZ, EDWIN         ADDRESS ON FILE
Castro Forastieri, William A   ADDRESS ON FILE
CASTRO FORTUNATO, MILAGROS     ADDRESS ON FILE
Castro Fragoso, Jose           ADDRESS ON FILE
CASTRO FUENTES, ROBERTO C.     ADDRESS ON FILE
CASTRO GAMBEDOTTI, ALEX        ADDRESS ON FILE
CASTRO GANDARILLA, FABIAN      ADDRESS ON FILE
CASTRO GARAY, DOMINGA J        ADDRESS ON FILE
CASTRO GARCIA, ANNIE           ADDRESS ON FILE
CASTRO GARCIA, CARLOS          ADDRESS ON FILE
CASTRO GARCIA, DAMIAN J.       ADDRESS ON FILE
CASTRO GARCIA, ELIZABETH       ADDRESS ON FILE
CASTRO GARCIA, GLORIA M        ADDRESS ON FILE
CASTRO GARCIA, IRIS C          ADDRESS ON FILE
CASTRO GARCIA, IVONNE          ADDRESS ON FILE
CASTRO GARCIA, JORGE           ADDRESS ON FILE
CASTRO GARCIA, JOSE            ADDRESS ON FILE
Castro Garcia, Jose M          ADDRESS ON FILE
CASTRO GARCIA, LILIANE         ADDRESS ON FILE
Castro Garcia, Luis R          ADDRESS ON FILE
CASTRO GARCIA, LUZ D.          ADDRESS ON FILE
CASTRO GARCIA, MARIA           ADDRESS ON FILE
CASTRO GARCIA, MARIANGELI      ADDRESS ON FILE
CASTRO GARCIA, MELISSA         ADDRESS ON FILE
CASTRO GARCIA, MYRTA Z.        ADDRESS ON FILE
Castro Garcia, Omar            ADDRESS ON FILE
CASTRO GARCIA, ROSA            ADDRESS ON FILE




                                                                           Page 1397 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1398 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO GARCIA, ROSA A.         ADDRESS ON FILE
CASTRO GARCIA, ROSALIA A       ADDRESS ON FILE
CASTRO GARCIA, SHEYLA          ADDRESS ON FILE
CASTRO GARCIA, SOL M           ADDRESS ON FILE
CASTRO GELIGA, JOSE            ADDRESS ON FILE
CASTRO GELY, JESUS J.          ADDRESS ON FILE
CASTRO GIBOYEAUX, FELIX        ADDRESS ON FILE
CASTRO GIBOYEAUX, MELVIN       ADDRESS ON FILE
Castro Gil, Eric               ADDRESS ON FILE
CASTRO GOMEZ, NORMA            ADDRESS ON FILE
Castro Gomez, Saida J          ADDRESS ON FILE
CASTRO GOMEZ, WILFREDO         ADDRESS ON FILE
CASTRO GONZALEZ MD, JOYCE      ADDRESS ON FILE
CASTRO GONZALEZ, ANA C         ADDRESS ON FILE
CASTRO GONZALEZ, ANA E         ADDRESS ON FILE
CASTRO GONZALEZ, ANGELO        ADDRESS ON FILE
CASTRO GONZALEZ, ANNETTE M     ADDRESS ON FILE
CASTRO GONZALEZ, ANTHONY       ADDRESS ON FILE
CASTRO GONZALEZ, ARMANDO E.    ADDRESS ON FILE
CASTRO GONZALEZ, ARMANDO E.    ADDRESS ON FILE
CASTRO GONZALEZ, BETZABETH     ADDRESS ON FILE
CASTRO GONZALEZ, DAMIAN        ADDRESS ON FILE
Castro Gonzalez, Edgar         ADDRESS ON FILE
CASTRO GONZALEZ, EDGAR         ADDRESS ON FILE
CASTRO GONZALEZ, ELBA N        ADDRESS ON FILE
CASTRO GONZALEZ, ELEUTERIO     ADDRESS ON FILE
CASTRO GONZALEZ, EVELYN        ADDRESS ON FILE
CASTRO GONZALEZ, EVELYN        ADDRESS ON FILE
CASTRO GONZALEZ, FELIPE N      ADDRESS ON FILE
CASTRO GONZALEZ, FRANCES M     ADDRESS ON FILE
Castro Gonzalez, Jannette      ADDRESS ON FILE
CASTRO GONZALEZ, JANNETTE E.   ADDRESS ON FILE
Castro Gonzalez, Jesus M       ADDRESS ON FILE
CASTRO GONZALEZ, JOCSAN        ADDRESS ON FILE
CASTRO GONZALEZ, JONATHAN      ADDRESS ON FILE
CASTRO GONZALEZ, JONATHAN E    ADDRESS ON FILE
CASTRO GONZALEZ, JOSE          ADDRESS ON FILE
Castro Gonzalez, Jose A        ADDRESS ON FILE
CASTRO GONZALEZ, JOSE M.       ADDRESS ON FILE
CASTRO GONZALEZ, JOSE MANUEL   ADDRESS ON FILE
CASTRO GONZALEZ, JOSE V        ADDRESS ON FILE
CASTRO GONZALEZ, JOSSINETTE    ADDRESS ON FILE
CASTRO GONZALEZ, JUAN          ADDRESS ON FILE
CASTRO GONZALEZ, JUDITH        ADDRESS ON FILE
CASTRO GONZALEZ, KAREN         ADDRESS ON FILE
CASTRO GONZALEZ, LISANDRA      ADDRESS ON FILE
CASTRO GONZALEZ, LORIS N.      ADDRESS ON FILE
CASTRO GONZALEZ, LUIS          ADDRESS ON FILE
Castro Gonzalez, Luis E.       ADDRESS ON FILE
CASTRO GONZALEZ, MARIA E.      ADDRESS ON FILE
CASTRO GONZALEZ, MYRIAM        ADDRESS ON FILE
CASTRO GONZALEZ, NANCY         ADDRESS ON FILE
CASTRO GONZALEZ, NAYMARA       ADDRESS ON FILE
CASTRO GONZALEZ, NICOLAS       ADDRESS ON FILE
CASTRO GONZALEZ, NILSA         ADDRESS ON FILE
CASTRO GONZALEZ, NORAIDA       ADDRESS ON FILE
CASTRO GONZALEZ, ORLANDO       ADDRESS ON FILE
Castro Gonzalez, Orlando A.    ADDRESS ON FILE
CASTRO GONZALEZ, PEDRO         ADDRESS ON FILE
CASTRO GONZALEZ, ROSA H.       ADDRESS ON FILE




                                                                           Page 1398 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1399 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO GONZALEZ, RUBEN          ADDRESS ON FILE
CASTRO GONZALEZ, SAMUEL A.      ADDRESS ON FILE
CASTRO GONZALEZ, TANIA          ADDRESS ON FILE
Castro Gonzalez, Tomas          ADDRESS ON FILE
CASTRO GONZALEZ, VERONICA       ADDRESS ON FILE
CASTRO GONZALEZ, VERONICA       ADDRESS ON FILE
Castro Goytia, Annie I          ADDRESS ON FILE
CASTRO GRACIA, ANA H            ADDRESS ON FILE
CASTRO GRACIA, JULIO O          ADDRESS ON FILE
CASTRO GRACIA, ROSA I           ADDRESS ON FILE
Castro Granado, Lisandro        ADDRESS ON FILE
Castro Guadalupe, Jesus         ADDRESS ON FILE
CASTRO GUADALUPE, PEDRO         ADDRESS ON FILE
CASTRO GUEITS, ASTRID           ADDRESS ON FILE
CASTRO GUERRA, JULIO            ADDRESS ON FILE
CASTRO GUTIERREZ, GLENDA        ADDRESS ON FILE
CASTRO GUTIERREZ, GLENDA        ADDRESS ON FILE
CASTRO GUTIERREZ, RAUL          ADDRESS ON FILE
CASTRO GUZMAN, JOSE             ADDRESS ON FILE
CASTRO GUZMAN, JOSE             ADDRESS ON FILE
CASTRO GUZMAN, WILLIAM          ADDRESS ON FILE
CASTRO HENRIQUEZ, RAFAEL        ADDRESS ON FILE
CASTRO HERNANDEZ, AMARILYS      ADDRESS ON FILE
CASTRO HERNANDEZ, ANA T         ADDRESS ON FILE
CASTRO HERNANDEZ, ANTHONY       ADDRESS ON FILE
CASTRO HERNANDEZ, CARLOS L.     ADDRESS ON FILE
CASTRO HERNANDEZ, CHRISTIAN     ADDRESS ON FILE
Castro Hernandez, Daniel        ADDRESS ON FILE
CASTRO HERNANDEZ, DANIEL        ADDRESS ON FILE
Castro Hernandez, David         ADDRESS ON FILE
CASTRO HERNANDEZ, ERMITANIA     ADDRESS ON FILE
Castro Hernandez, Fernando      ADDRESS ON FILE
Castro Hernandez, Fernando      ADDRESS ON FILE
CASTRO HERNANDEZ, FERNANDO      ADDRESS ON FILE
CASTRO HERNANDEZ, GRACIELA      ADDRESS ON FILE
CASTRO HERNANDEZ, JESUS         ADDRESS ON FILE
Castro Hernandez, Juanita J     ADDRESS ON FILE
CASTRO HERNANDEZ, LEONIDES      ADDRESS ON FILE
CASTRO HERNANDEZ, LUIS          ADDRESS ON FILE
CASTRO HERNANDEZ, LUIS O        ADDRESS ON FILE
Castro Hernandez, Magali        ADDRESS ON FILE
CASTRO HERNANDEZ, MAGALI        ADDRESS ON FILE
CASTRO HERNANDEZ, MARIA         ADDRESS ON FILE
CASTRO HERNANDEZ, MARIA L       ADDRESS ON FILE
CASTRO HERNANDEZ, MARIANO       ADDRESS ON FILE
CASTRO HERNANDEZ, MARINEL       ADDRESS ON FILE
CASTRO HERNANDEZ, MILDRED L     ADDRESS ON FILE
CASTRO HERNANDEZ, MIRIAM        ADDRESS ON FILE
CASTRO HERNANDEZ, NAYDA L       ADDRESS ON FILE
CASTRO HERNANDEZ, ORLANDO       ADDRESS ON FILE
Castro Hernandez, Pedro         ADDRESS ON FILE
CASTRO HERNANDEZ, PEDRO         ADDRESS ON FILE
CASTRO HERNANDEZ, RICARDO L     ADDRESS ON FILE
CASTRO HERNANDEZ, ROBERTO I.    ADDRESS ON FILE
CASTRO HERNANDEZ, SONIA L       ADDRESS ON FILE
CASTRO HERNANDEZ, VILMA DEL C   ADDRESS ON FILE
CASTRO HERNANDEZ, WANDA L       ADDRESS ON FILE
Castro Hernandez, William       ADDRESS ON FILE
Castro Hernandez, Yamil C       ADDRESS ON FILE
CASTRO HERRERA, KENNETH         ADDRESS ON FILE




                                                                            Page 1399 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1400 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CASTRO HERRERA, RONNIE          ADDRESS ON FILE
CASTRO HIRALDO, BENJAMIN        ADDRESS ON FILE
CASTRO HIRALDO, BRISEIDA        ADDRESS ON FILE
CASTRO HIRALDO, BRISEIDA        ADDRESS ON FILE
CASTRO HIRALDO, INAWELL         ADDRESS ON FILE
CASTRO HIRALDO, IVELISSE        ADDRESS ON FILE
CASTRO HIRALDO, LESLIE          ADDRESS ON FILE
CASTRO HRNANDEZ, ANA I          ADDRESS ON FILE
CASTRO HUERTAS, LEILA           ADDRESS ON FILE
CASTRO INO, INGRID E            ADDRESS ON FILE
CASTRO INO, INGRID ELIZABETH    ADDRESS ON FILE
CASTRO INOSTROZA, CESAREA       ADDRESS ON FILE
CASTRO IRIARTE, ELINETTE        ADDRESS ON FILE
CASTRO IRIZARRY MD, EFRAIN      ADDRESS ON FILE
CASTRO IRIZARRY, CARMEN J       ADDRESS ON FILE
CASTRO IRIZARRY, JOSE           ADDRESS ON FILE
CASTRO IRIZARRY, JOSE E         ADDRESS ON FILE
CASTRO IRIZARRY, LEONARDO       ADDRESS ON FILE
CASTRO IRIZARRY, LUIS           ADDRESS ON FILE
Castro Irizarry, Luis E         ADDRESS ON FILE
Castro Irizarry, Luz M          ADDRESS ON FILE
CASTRO IRRIZARRY, VIVIAN        ADDRESS ON FILE
CASTRO JIMENEZ, ANNETTE Y       ADDRESS ON FILE
CASTRO JIMENEZ, CARMEN M.       ADDRESS ON FILE
CASTRO JIMENEZ, JORGE           ADDRESS ON FILE
CASTRO JIMENEZ, JOSE            ADDRESS ON FILE
CASTRO JIMENEZ, YOLANDA         ADDRESS ON FILE
CASTRO JORGE L. DBA EGROJSIUL   APARTADO 1709                                                                    CANOVANAS     PR      00729‐0000
Castro Jorge, Kalicha           ADDRESS ON FILE
CASTRO JURADO, CAROLINE         ADDRESS ON FILE
CASTRO JURADO, JOHN E           ADDRESS ON FILE
CASTRO JURADO, ROBERTO          ADDRESS ON FILE
Castro Jurado, Roberto E        ADDRESS ON FILE
CASTRO JUST, MARIA J            ADDRESS ON FILE
CASTRO KERCADO, ROBERTO         ADDRESS ON FILE
CASTRO LABOY, ALBERTO           ADDRESS ON FILE
CASTRO LABOY, ALBERTO J.        ADDRESS ON FILE
CASTRO LABOY, GRACIELA          ADDRESS ON FILE
CASTRO LABOY, MARIA INES        ADDRESS ON FILE
CASTRO LABOY, ZORAIDA           ADDRESS ON FILE
CASTRO LAFONTAINE, FERNANDO     ADDRESS ON FILE
CASTRO LASSUS, JOSE             ADDRESS ON FILE
CASTRO LASSUS, MODESTO          ADDRESS ON FILE
CASTRO LAUREANO, JULIO J        ADDRESS ON FILE
CASTRO LAUREANO, JULIO J        ADDRESS ON FILE
CASTRO LAZU, WANDY              ADDRESS ON FILE
CASTRO LEBRON, ELBA             ADDRESS ON FILE
CASTRO LEBRON, EVELYN           ADDRESS ON FILE
CASTRO LEBRON, KIARA            ADDRESS ON FILE
CASTRO LEBRON, LISETTE          ADDRESS ON FILE
CASTRO LEBRON, PAOLA            ADDRESS ON FILE
CASTRO LLURIA, ARTURO J         ADDRESS ON FILE
CASTRO LOPERENA, MILDRED        ADDRESS ON FILE
CASTRO LOPEZ, ANTONIO           ADDRESS ON FILE
Castro Lopez, Antonio           ADDRESS ON FILE
CASTRO LOPEZ, DENNIS            ADDRESS ON FILE
CASTRO LOPEZ, JOEL              ADDRESS ON FILE
Castro Lopez, Jorge L           ADDRESS ON FILE
CASTRO LOPEZ, JOSE              ADDRESS ON FILE
CASTRO LOPEZ, JOSE A            ADDRESS ON FILE




                                                                            Page 1400 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1401 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO LOPEZ, JOSE A           ADDRESS ON FILE
CASTRO LOPEZ, JOSE A.          ADDRESS ON FILE
CASTRO LOPEZ, JOSE L           ADDRESS ON FILE
CASTRO LOPEZ, JOSE L           ADDRESS ON FILE
CASTRO LOPEZ, LILLIAM          ADDRESS ON FILE
CASTRO LOPEZ, LIZETTE          ADDRESS ON FILE
CASTRO LOPEZ, LIZETTE          ADDRESS ON FILE
CASTRO LOPEZ, LUIS             ADDRESS ON FILE
CASTRO LOPEZ, LUIS             ADDRESS ON FILE
Castro Lopez, Maria            ADDRESS ON FILE
CASTRO LOPEZ, MIGDALIA         ADDRESS ON FILE
CASTRO LOPEZ, MILDRED          ADDRESS ON FILE
CASTRO LOPEZ, NAOMI            ADDRESS ON FILE
CASTRO LOPEZ, RAMONITA         ADDRESS ON FILE
CASTRO LOPEZ, WAIOMI           ADDRESS ON FILE
Castro Lopez, Wanda E          ADDRESS ON FILE
CASTRO LOPEZ, WILLIAM          ADDRESS ON FILE
CASTRO LOZADA, CHARLIE         ADDRESS ON FILE
CASTRO LOZADA, ELSA I          ADDRESS ON FILE
Castro Lugo, Angel J           ADDRESS ON FILE
CASTRO LUGO, CARMEN M          ADDRESS ON FILE
CASTRO LUZUNARIS, ALMA B       ADDRESS ON FILE
CASTRO LUZUNARIS, ESPERANZA    ADDRESS ON FILE
CASTRO MACHUCA, MILDRED        ADDRESS ON FILE
CASTRO MACHUCA, MILDRED        MANUEL REYES GONZALEZ     PO BOX 8614                                            SAN JUAN     PR      00910‐0614
CASTRO MAISONET, CARMEN        ADDRESS ON FILE
CASTRO MAISONET, FE M          ADDRESS ON FILE
CASTRO MAISONET, ZORAIDA       ADDRESS ON FILE
CASTRO MALAVE, ANA R           ADDRESS ON FILE
CASTRO MALDONADO, ARLENE R     ADDRESS ON FILE
CASTRO MALDONADO, FABIO        ADDRESS ON FILE
CASTRO MALDONADO, HECTOR       ADDRESS ON FILE
CASTRO MALDONADO, JACKELYN     ADDRESS ON FILE
CASTRO MALDONADO, JERRY J      ADDRESS ON FILE
CASTRO MALDONADO, JULIO        ADDRESS ON FILE
CASTRO MALDONADO, LYDIA G      ADDRESS ON FILE
CASTRO MALDONADO, NEFTALI      ADDRESS ON FILE
CASTRO MALDONADO, RAFAEL       ADDRESS ON FILE
Castro Maldonado, Rafael A.    ADDRESS ON FILE
CASTRO MALDONADO, SANDRA B     ADDRESS ON FILE
CASTRO MALDONADO, ZERIBETH M   ADDRESS ON FILE
CASTRO MANGUAL, DAYANA         ADDRESS ON FILE
CASTRO MANGUAL, NORKA          ADDRESS ON FILE
Castro Marcano, Jorge          ADDRESS ON FILE
CASTRO MARCANO, JORGE          ADDRESS ON FILE
CASTRO MARCANO, JOSE           ADDRESS ON FILE
CASTRO MARCHAND, RAFAEL        ADDRESS ON FILE
CASTRO MARIN, LYDIA            ADDRESS ON FILE
CASTRO MARQUES, ELIAS Y.       ADDRESS ON FILE
CASTRO MARQUEZ, ANGELICA       ADDRESS ON FILE
CASTRO MARQUEZ, BERQUIS        ADDRESS ON FILE
CASTRO MARQUEZ, JANICE D       ADDRESS ON FILE
CASTRO MARQUEZ, MARIA          ADDRESS ON FILE
CASTRO MARQUEZ, ROBERTO        ADDRESS ON FILE
CASTRO MARQUEZ, WEILEEN M.     ADDRESS ON FILE
CASTRO MARQUEZ, YAMILET        ADDRESS ON FILE
CASTRO MARRERO, AILEEN         ADDRESS ON FILE
Castro Marrero, Arnaldo        ADDRESS ON FILE
Castro Marrero, Arnaldo        ADDRESS ON FILE
CASTRO MARRERO, FERNANDO       ADDRESS ON FILE




                                                                           Page 1401 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1402 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO MARRERO, HIPOLITA          ADDRESS ON FILE
CASTRO MARRERO, HIPOLITA          ADDRESS ON FILE
CASTRO MARRERO, LUIS              ADDRESS ON FILE
CASTRO MARRERO, LUIS              ADDRESS ON FILE
CASTRO MARTE, MARGARITA           ADDRESS ON FILE
CASTRO MARTELL, JAMIE             ADDRESS ON FILE
CASTRO MARTINEZ, ANABEL           ADDRESS ON FILE
CASTRO MARTINEZ, BENIGNO          ADDRESS ON FILE
CASTRO MARTINEZ, BLANCA R         ADDRESS ON FILE
Castro Martinez, Carmen M         ADDRESS ON FILE
CASTRO MARTINEZ, CAROLINE         ADDRESS ON FILE
CASTRO MARTINEZ, DAMARIS          ADDRESS ON FILE
CASTRO MARTINEZ, EDWIN            ADDRESS ON FILE
CASTRO MARTINEZ, GERALDINE        ADDRESS ON FILE
CASTRO MARTINEZ, HERNAN           ADDRESS ON FILE
CASTRO MARTINEZ, ILMI A           ADDRESS ON FILE
Castro Martinez, Jesus M.         ADDRESS ON FILE
CASTRO MARTINEZ, LAURA MERCEDES   ADDRESS ON FILE
CASTRO MARTINEZ, LILLIBETH        ADDRESS ON FILE
CASTRO MARTINEZ, LILY             ADDRESS ON FILE
CASTRO MARTINEZ, LORNA I.         ADDRESS ON FILE
CASTRO MARTINEZ, LUIS A           ADDRESS ON FILE
Castro Martinez, Luis Armando     ADDRESS ON FILE
CASTRO MARTINEZ, MIGDALIA         ADDRESS ON FILE
CASTRO MARTINEZ, MILAGROS         ADDRESS ON FILE
CASTRO MARTINEZ, MILAGROS S       ADDRESS ON FILE
CASTRO MARTINEZ, MINERVA          ADDRESS ON FILE
Castro Martinez, Modesto          ADDRESS ON FILE
CASTRO MARTINEZ, NATALIE          ADDRESS ON FILE
CASTRO MARTINEZ, NOEMI            ADDRESS ON FILE
CASTRO MARTINEZ, OFELIA           ADDRESS ON FILE
CASTRO MARTINEZ, PROVIDENCIA      ADDRESS ON FILE
CASTRO MARTINEZ, PROVIDENCIA      ADDRESS ON FILE
CASTRO MARTINEZ, RAFAEL           ADDRESS ON FILE
CASTRO MARTINEZ,CAROLINE          ADDRESS ON FILE
CASTRO MARTINEZ,NEMESIS           ADDRESS ON FILE
CASTRO MASA, STEPHANNIE           ADDRESS ON FILE
CASTRO MATEO, VICTOR              ADDRESS ON FILE
CASTRO MATOS, ELIZABETH           ADDRESS ON FILE
CASTRO MATOS, MARIANGIE           ADDRESS ON FILE
CASTRO MD , MANUEL A              ADDRESS ON FILE
CASTRO MEDINA, EILEEN             ADDRESS ON FILE
CASTRO MEDINA, ERIKA              ADDRESS ON FILE
CASTRO MEDINA, JAYSON             ADDRESS ON FILE
CASTRO MEDINA, LAURA              ADDRESS ON FILE
CASTRO MEDINA, MARITZA            ADDRESS ON FILE
CASTRO MEDINA, XIOMARA            ADDRESS ON FILE
CASTRO MEDINA, ZORAIDA            ADDRESS ON FILE
CASTRO MEDINA, ZORAIDA            ADDRESS ON FILE
CASTRO MEJIAS, ALBERTO            ADDRESS ON FILE
CASTRO MEJIAS, EVA M              ADDRESS ON FILE
CASTRO MELENDEZ, EDWARD           ADDRESS ON FILE
CASTRO MELENDEZ, ELSIE M          ADDRESS ON FILE
CASTRO MELENDEZ, IRAIDA           ADDRESS ON FILE
CASTRO MELENDEZ, JORGE            ADDRESS ON FILE
CASTRO MELENDEZ, JOSE             ADDRESS ON FILE
CASTRO MELENDEZ, JOSE J.          ADDRESS ON FILE
CASTRO MELENDEZ, JUAN A           ADDRESS ON FILE
CASTRO MELENDEZ, KAREN G.         ADDRESS ON FILE
CASTRO MELENDEZ, MARISOL          ADDRESS ON FILE




                                                                              Page 1402 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1403 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO MELENDEZ, NIAVELIS        ADDRESS ON FILE
CASTRO MELENDEZ, SAMUEL          ADDRESS ON FILE
CASTRO MELENDEZ, SOL A.          ADDRESS ON FILE
CASTRO MELENDEZ, VICTOR          ADDRESS ON FILE
CASTRO MENDEZ, DAISY A           ADDRESS ON FILE
Castro Mendez, Edwin             ADDRESS ON FILE
CASTRO MENDEZ, HENRY             ADDRESS ON FILE
CASTRO MENDEZ, JOSEPH            ADDRESS ON FILE
CASTRO MENDEZ, ONEIDA            ADDRESS ON FILE
CASTRO MERCADO, GLORIA           ADDRESS ON FILE
CASTRO MERCADO, JOSE L           ADDRESS ON FILE
CASTRO MERCADO, JUANITA          ADDRESS ON FILE
CASTRO MERCADO, KARLA            ADDRESS ON FILE
CASTRO MERCED, RENE              ADDRESS ON FILE
CASTRO MESA, ALFREDO             ADDRESS ON FILE
CASTRO MESTRE, ANTONY            ADDRESS ON FILE
CASTRO METRCADO, ROHAN           ADDRESS ON FILE
CASTRO MIRANDA, ERIC             ADDRESS ON FILE
Castro Miranda, Eric D.          ADDRESS ON FILE
CASTRO MIRANDA, RICHARD          ADDRESS ON FILE
Castro Miranda, Victor           ADDRESS ON FILE
CASTRO MOJICA, ANA M             ADDRESS ON FILE
CASTRO MOJICA, ANGEL             ADDRESS ON FILE
CASTRO MOJICA, GABRIEL           ADDRESS ON FILE
CASTRO MOJICA, GISELLE           ADDRESS ON FILE
CASTRO MOJICA, JESSIENET         ADDRESS ON FILE
CASTRO MOJICA, PETRA             ADDRESS ON FILE
CASTRO MOJICA, ROSALIA           ADDRESS ON FILE
CASTRO MONGE, DANYARIE           ADDRESS ON FILE
CASTRO MONGE, NORMA              ADDRESS ON FILE
CASTRO MONSERRATE, SUEHEIL       ADDRESS ON FILE
CASTRO MONTALVO MD, JUSTINIANO   ADDRESS ON FILE
CASTRO MONTAÑEZ MD, LEONARDO     ADDRESS ON FILE
CASTRO MONTANEZ, BRENDA          ADDRESS ON FILE
CASTRO MONTANEZ, CARMEN          ADDRESS ON FILE
CASTRO MONTES, EDWIN             ADDRESS ON FILE
CASTRO MORA, ELISA               ADDRESS ON FILE
CASTRO MORA, ELISA A             ADDRESS ON FILE
CASTRO MORALES, CARLOS           ADDRESS ON FILE
CASTRO MORALES, CARMEN I         ADDRESS ON FILE
CASTRO MORALES, CARMEN L         ADDRESS ON FILE
CASTRO MORALES, EDUARDO E        ADDRESS ON FILE
CASTRO MORALES, EDWIN            ADDRESS ON FILE
CASTRO MORALES, ELSIE E          ADDRESS ON FILE
CASTRO MORALES, GERARDO          ADDRESS ON FILE
Castro Morales, Idalisse         ADDRESS ON FILE
CASTRO MORALES, JOMINER          ADDRESS ON FILE
CASTRO MORALES, MARIELIS         ADDRESS ON FILE
CASTRO MORALES, MARISOL          ADDRESS ON FILE
CASTRO MORALES, MIOSOTTIZ        ADDRESS ON FILE
CASTRO MORALES, RICHARD          ADDRESS ON FILE
CASTRO MORALES, WISDALIS         ADDRESS ON FILE
CASTRO MORALES, YARIMEL          ADDRESS ON FILE
CASTRO MORENO, JOSE              ADDRESS ON FILE
Castro Moreno, Rosa B            ADDRESS ON FILE
CASTRO MORENO, SARA E            ADDRESS ON FILE
CASTRO MORO, EDWIN               ADDRESS ON FILE
CASTRO MOYA, LEILA S.            ADDRESS ON FILE
CASTRO MOYET, JOSE               ADDRESS ON FILE
CASTRO MOYET, JUANA              ADDRESS ON FILE




                                                                             Page 1403 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1404 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO MULERO, DAMARIS           ADDRESS ON FILE
CASTRO MUNIZ, ARTURO             ADDRESS ON FILE
Castro Muniz, Carlos J           ADDRESS ON FILE
CASTRO MUNIZ, KENNETH            ADDRESS ON FILE
CASTRO MUNIZ, MAYBEL             ADDRESS ON FILE
CASTRO MUNIZ, RAYMOND            ADDRESS ON FILE
CASTRO MUNIZ, WANDA I            ADDRESS ON FILE
CASTRO MUNOZ, ALEJANDRO          ADDRESS ON FILE
CASTRO MUNOZ, CRISTINA           ADDRESS ON FILE
CASTRO MUNOZ, ROSALYN            ADDRESS ON FILE
CASTRO NARVAEZ, JAYK E.          ADDRESS ON FILE
CASTRO NATAL, HECTOR             ADDRESS ON FILE
Castro Natal, Hector M           ADDRESS ON FILE
CASTRO NAVARRO, ARTURO           ADDRESS ON FILE
CASTRO NEGRON, ALICIA            ADDRESS ON FILE
CASTRO NEGRON, DAVID             ADDRESS ON FILE
CASTRO NEGRON, IRIS              ADDRESS ON FILE
CASTRO NEGRON, JUAN JOSE         ADDRESS ON FILE
CASTRO NEGRON, SOLIANY           ADDRESS ON FILE
CASTRO NEVARES, NATALIA          ADDRESS ON FILE
CASTRO NIEVES, ALVIN             ADDRESS ON FILE
CASTRO NIEVES, ELIZAIDA          ADDRESS ON FILE
CASTRO NIEVES, JOCELYN           ADDRESS ON FILE
CASTRO NIEVES, JOEL              ADDRESS ON FILE
CASTRO NIEVES, JUAN              ADDRESS ON FILE
CASTRO NIEVES, JUAN              ADDRESS ON FILE
CASTRO NIEVES, KATIA             ADDRESS ON FILE
CASTRO NIEVES, LUZ G             ADDRESS ON FILE
CASTRO NIEVES, LUZ GRISELLE      ADDRESS ON FILE
Castro Nieves, Nelson            ADDRESS ON FILE
CASTRO NIEVES, SONIA M.          ADDRESS ON FILE
CASTRO NIEVES, YIANNIS           ADDRESS ON FILE
CASTRO NOBLE, RENNY A            ADDRESS ON FILE
CASTRO NOBLE, ROBERT             ADDRESS ON FILE
CASTRO NOBLE, RYAN L             ADDRESS ON FILE
CASTRO OBISPO, JUAN              ADDRESS ON FILE
Castro Ocana, Marilyn            ADDRESS ON FILE
CASTRO OCASIO, CARMEN M.         ADDRESS ON FILE
CASTRO OCASIO, LUIS              ADDRESS ON FILE
CASTRO OLMO, DEBORA              ADDRESS ON FILE
CASTRO OQUENDO, KARLA            ADDRESS ON FILE
CASTRO OQUENDO, KARLA            ADDRESS ON FILE
CASTRO OQUENDO, LILIANA          ADDRESS ON FILE
CASTRO ORLANDI, JOSE E           ADDRESS ON FILE
CASTRO OROZCO, AIDA              ADDRESS ON FILE
CASTRO OROZCO, CARMEN L          ADDRESS ON FILE
CASTRO OROZCO, JUDITH            ADDRESS ON FILE
CASTRO OROZCO, LOURDES I         ADDRESS ON FILE
CASTRO OROZCO, MARIA DEL PILAR   ADDRESS ON FILE
CASTRO OROZCO, MARIA DEL PILAR   ADDRESS ON FILE
CASTRO OROZCO, OMAR E            ADDRESS ON FILE
CASTRO ORTEGA, ALFREDO           ADDRESS ON FILE
CASTRO ORTEGA, JOSE              ADDRESS ON FILE
Castro Ortega, Jose L            ADDRESS ON FILE
Castro Ortega, Ricardo           ADDRESS ON FILE
CASTRO ORTIZ, ADELINO            ADDRESS ON FILE
CASTRO ORTIZ, CARMEN E           ADDRESS ON FILE
CASTRO ORTIZ, CARMEN R           ADDRESS ON FILE
CASTRO ORTIZ, EDWIN              ADDRESS ON FILE
CASTRO ORTIZ, ELIEL              ADDRESS ON FILE




                                                                             Page 1404 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1405 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO ORTIZ, GERARDO         ADDRESS ON FILE
CASTRO ORTIZ, GIOVANNI        ADDRESS ON FILE
Castro Ortiz, Hector          ADDRESS ON FILE
CASTRO ORTIZ, HECTOR          ADDRESS ON FILE
CASTRO ORTIZ, JESSICA         ADDRESS ON FILE
CASTRO ORTIZ, JOSE            ADDRESS ON FILE
CASTRO ORTIZ, JOSE M.         ADDRESS ON FILE
CASTRO ORTIZ, JUAN            ADDRESS ON FILE
CASTRO ORTIZ, LUIS            ADDRESS ON FILE
CASTRO ORTIZ, LUIS R          ADDRESS ON FILE
CASTRO ORTIZ, MARIA D         ADDRESS ON FILE
Castro Ortiz, Mayra R         ADDRESS ON FILE
CASTRO ORTIZ, MIGDALIA        ADDRESS ON FILE
CASTRO ORTIZ, MILAGROS M      ADDRESS ON FILE
CASTRO ORTIZ, NAHOMI MAITEE   ADDRESS ON FILE
CASTRO ORTIZ, NORAIXA         ADDRESS ON FILE
CASTRO ORTIZ, ORLANDO         ADDRESS ON FILE
CASTRO ORTIZ, ORLANDO         ADDRESS ON FILE
CASTRO ORTIZ, ORLANDO         ADDRESS ON FILE
CASTRO ORTIZ, VIRGINIA        ADDRESS ON FILE
CASTRO ORTIZ, YARELIS         ADDRESS ON FILE
CASTRO OTERO, ARNALDO         ADDRESS ON FILE
CASTRO OYOLA, ELVIN           ADDRESS ON FILE
CASTRO OYOLA, MANUEL          ADDRESS ON FILE
CASTRO OYOLA, ROCHELLE        ADDRESS ON FILE
CASTRO OYOLA, SAUL            ADDRESS ON FILE
Castro Pabon, Claribel        ADDRESS ON FILE
Castro Pabon, Elisamuel       ADDRESS ON FILE
Castro Pabon, Josue M         ADDRESS ON FILE
Castro Pabon, Juan M          ADDRESS ON FILE
CASTRO PABON, NILSA           ADDRESS ON FILE
Castro Pabon, Rosa L          ADDRESS ON FILE
Castro Pabon, Sara I          ADDRESS ON FILE
Castro Pabon, Victor A        ADDRESS ON FILE
Castro Pabon, Zoraida         ADDRESS ON FILE
Castro Pacheco, Gerardo L     ADDRESS ON FILE
CASTRO PACHECO, RUBI          ADDRESS ON FILE
CASTRO PACHECO, WIDALYS       ADDRESS ON FILE
CASTRO PACHERO, RUBI          ADDRESS ON FILE
CASTRO PADILLA, ALEX          ADDRESS ON FILE
Castro Padilla, Jose A        ADDRESS ON FILE
CASTRO PADIN, ESTELA          ADDRESS ON FILE
CASTRO PAGAN, ALEXIS          ADDRESS ON FILE
CASTRO PAGAN, FLORENTINO      ADDRESS ON FILE
CASTRO PAGAN, GLADYS Y.       ADDRESS ON FILE
CASTRO PAGAN, JONNATTAN       ADDRESS ON FILE
CASTRO PAGAN, MARIA           ADDRESS ON FILE
CASTRO PAGAN, MARIA L         ADDRESS ON FILE
CASTRO PAGANI, CLARITZA       ADDRESS ON FILE
CASTRO PAGANI, CLARITZA       ADDRESS ON FILE
CASTRO PALMA, ANA             ADDRESS ON FILE
CASTRO PALMA, ANA L           ADDRESS ON FILE
CASTRO PANIAGUA, MIGUEL A.    ADDRESS ON FILE
CASTRO PARRILLA, FRANCES V    ADDRESS ON FILE
CASTRO PARRILLA, JORGE J      ADDRESS ON FILE
CASTRO PARSONS, GRETCHEN H    ADDRESS ON FILE
CASTRO PENA, MARANGELI        ADDRESS ON FILE
CASTRO PENA, MARIA B          ADDRESS ON FILE
CASTRO PERALES, DAMARIS       ADDRESS ON FILE
CASTRO PERALES, MOISES        ADDRESS ON FILE




                                                                          Page 1405 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1406 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO PERAZA, ROBERTO       ADDRESS ON FILE
CASTRO PEREDA, CARLOS        ADDRESS ON FILE
CASTRO PEREDA, IVAN          ADDRESS ON FILE
CASTRO PEREZ, ADALGISA       ADDRESS ON FILE
CASTRO PEREZ, ANTONIA        ADDRESS ON FILE
CASTRO PEREZ, CARLOS         ADDRESS ON FILE
CASTRO PEREZ, GUILLERMINA    ADDRESS ON FILE
CASTRO PEREZ, HAROLD         ADDRESS ON FILE
CASTRO PEREZ, JAVIER         ADDRESS ON FILE
CASTRO PEREZ, JOEL I         ADDRESS ON FILE
CASTRO PEREZ, LOURDES J      ADDRESS ON FILE
CASTRO PEREZ, LUIS A.        ADDRESS ON FILE
Castro Perez, Luis R         ADDRESS ON FILE
CASTRO PEREZ, MARCOS         ADDRESS ON FILE
CASTRO PEREZ, MARGARITA      ADDRESS ON FILE
CASTRO PEREZ, MARIA A        ADDRESS ON FILE
CASTRO PEREZ, MARIED         ADDRESS ON FILE
CASTRO PEREZ, MIRTA          ADDRESS ON FILE
CASTRO PEREZ, NAGGY          ADDRESS ON FILE
CASTRO PEREZ, NICOLAS        ADDRESS ON FILE
Castro Perez, Pedro J        ADDRESS ON FILE
CASTRO PEREZ, VANESSA        ADDRESS ON FILE
CASTRO PEREZ, VICENTE        ADDRESS ON FILE
CASTRO PIERLUISSI, NILKA M   ADDRESS ON FILE
CASTRO PIERLUISSI, ZOE       ADDRESS ON FILE
CASTRO PILARTE, ISABEL O     ADDRESS ON FILE
CASTRO PINEIRO, JOSE         ADDRESS ON FILE
CASTRO PINEIRO, LOURDES E    ADDRESS ON FILE
CASTRO PINEIRO, MARITZA      ADDRESS ON FILE
CASTRO PIÑEIRO, MARITZA      ADDRESS ON FILE
CASTRO PINEIRO, NYDIA E.     ADDRESS ON FILE
CASTRO PINERO, JORGE         ADDRESS ON FILE
CASTRO PINERO, NAZARIO       ADDRESS ON FILE
CASTRO PINERO, ZORAYA E.     ADDRESS ON FILE
CASTRO PINO, JOSE L          ADDRESS ON FILE
CASTRO PINO, MANUEL          ADDRESS ON FILE
CASTRO PINTO, JONATHAN       ADDRESS ON FILE
CASTRO PLAZA, CHRISTIAN      ADDRESS ON FILE
Castro Plumey, Ricardo       ADDRESS ON FILE
CASTRO PLUMEY, WANDA M       ADDRESS ON FILE
CASTRO PONCE MD, TERESA      ADDRESS ON FILE
CASTRO PORTALATIN, DANIEL    ADDRESS ON FILE
CASTRO POU, JOSE A.          ADDRESS ON FILE
CASTRO QUEZADA, ANGIE        ADDRESS ON FILE
CASTRO QUINONES, CARLOS      ADDRESS ON FILE
CASTRO QUINONES, DANNY       ADDRESS ON FILE
CASTRO QUINONES, MIRIAN M.   ADDRESS ON FILE
CASTRO QUINONES, NILDA L.    ADDRESS ON FILE
CASTRO QUINONES, NORMA A     ADDRESS ON FILE
CASTRO QUINONEZ, ANA E       ADDRESS ON FILE
CASTRO QUINONEZ, DENNIS      ADDRESS ON FILE
CASTRO QUINONEZ, GRISELL D   ADDRESS ON FILE
CASTRO QUINTANA, OLMARY      ADDRESS ON FILE
CASTRO QUINTERO, JANETTE     ADDRESS ON FILE
CASTRO RAMIREZ, ALBA M.      ADDRESS ON FILE
CASTRO RAMIREZ, DALMIRIS     ADDRESS ON FILE
CASTRO RAMIREZ, JUAN S       ADDRESS ON FILE
CASTRO RAMIREZ, MARIELYS     ADDRESS ON FILE
CASTRO RAMIREZ, NELLY        ADDRESS ON FILE
CASTRO RAMIREZ, NORIS        ADDRESS ON FILE




                                                                         Page 1406 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1407 of 3500
                                                                           17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name               Address1                       Address2                      Address3      Address4   City         State   PostalCode   Country
CASTRO RAMIREZ, ROBERTO     ADDRESS ON FILE
CASTRO RAMOS, ADELAIDA      ADDRESS ON FILE
Castro Ramos, Angel A       ADDRESS ON FILE
Castro Ramos, Antonio       ADDRESS ON FILE
CASTRO RAMOS, CARLOS        ADDRESS ON FILE
CASTRO RAMOS, CARMELO       ADDRESS ON FILE
CASTRO RAMOS, CARMEN I      ADDRESS ON FILE
CASTRO RAMOS, ELIAS S       ADDRESS ON FILE
CASTRO RAMOS, EVELYN Y      ADDRESS ON FILE
CASTRO RAMOS, FRANCISCO     ADDRESS ON FILE
Castro Ramos, Gilberto      ADDRESS ON FILE
CASTRO RAMOS, GLANIDSA      ADDRESS ON FILE
CASTRO RAMOS, HECTOR M.     ADDRESS ON FILE
CASTRO RAMOS, ISMAEL        ADDRESS ON FILE
CASTRO RAMOS, JOHANNA LIZ   ADDRESS ON FILE
CASTRO RAMOS, JOHN          ADDRESS ON FILE
CASTRO RAMOS, JOSE          ADDRESS ON FILE
CASTRO RAMOS, JOSE G        ADDRESS ON FILE
CASTRO RAMOS, JUAN          ADDRESS ON FILE
CASTRO RAMOS, JUAN C        ADDRESS ON FILE
CASTRO RAMOS, LILLIAM       ADDRESS ON FILE
CASTRO RAMOS, LUZ           ADDRESS ON FILE
CASTRO RAMOS, LUZ S.        ADDRESS ON FILE
CASTRO RAMOS, MARIA L       ADDRESS ON FILE
CASTRO RAMOS, MARIELY       ADDRESS ON FILE
CASTRO RAMOS, MIGDALIA      ADDRESS ON FILE
CASTRO RAMOS, NANNETTE      ADDRESS ON FILE
CASTRO RAMOS, NANNETTE      ADDRESS ON FILE
CASTRO RAMOS, RAMON         ADDRESS ON FILE
Castro Ramos, Rynatan       ADDRESS ON FILE
CASTRO RAMOS, SOLISBET      ADDRESS ON FILE
CASTRO REMIGIO, ELIZABETH   ADDRESS ON FILE
CASTRO RENTAS, LAURA I      ADDRESS ON FILE
CASTRO RESTO, GLADYS        ADDRESS ON FILE
Castro Resto, Noel          ADDRESS ON FILE
CASTRO REYES, BENJAMIN      ADDRESS ON FILE
CASTRO REYES, CARMEN G.     ADDRESS ON FILE
CASTRO REYES, DERVA         ADDRESS ON FILE
Castro Reyes, Harold        ADDRESS ON FILE
CASTRO REYES, JORGE R       ADDRESS ON FILE
CASTRO REYES, JOSE          ADDRESS ON FILE
CASTRO REYES, JOSE          ADDRESS ON FILE
CASTRO REYES, JUAN          ADDRESS ON FILE
CASTRO REYES, LUIS          ADDRESS ON FILE
CASTRO REYES, RUTH A        ADDRESS ON FILE
CASTRO REYES, SERAPIA       ADDRESS ON FILE
CASTRO RIOS JESSICA         AMABEL ESCALERA RIVERA         PO BOX 70244                                           SAN JUAN     PR      00936‐8244
CASTRO RIOS JESSICA         TERESITA MERCADO VIZCARRONDO   PO BOX 70244                                           SAN JUAN     PR      00936‐8244
                                                                                         138 WINSTON
CASTRO RIOS JESSICA         YAZMET PEREZ GIUISTI           PMB 914                       CHURCHILL                SAN JUAN     PR      00926
CASTRO RIOS, ANDRES         ADDRESS ON FILE
CASTRO RIOS, BRENDA L.      ADDRESS ON FILE
CASTRO RIOS, BRUNILDA I     ADDRESS ON FILE
CASTRO RIOS, EDWIN          ADDRESS ON FILE
CASTRO RIOS, EDWIN          ADDRESS ON FILE
Castro Rios, Jesus M        ADDRESS ON FILE
CASTRO RIOS, JOSE L.        ADDRESS ON FILE
CASTRO RIOS, MARIO          ADDRESS ON FILE
CASTRO RIVAS, CARLOS        ADDRESS ON FILE
CASTRO RIVAS, ROSA E        ADDRESS ON FILE




                                                                          Page 1407 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1408 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO RIVERA MD, SAMUEL G             ADDRESS ON FILE
CASTRO RIVERA PSYCHOLOGICAL SERVICES   168 CALLE BARBOSA                                                                CATANO       PR      00962
CASTRO RIVERA, ABEL                    ADDRESS ON FILE
Castro Rivera, Adrian                  ADDRESS ON FILE
CASTRO RIVERA, ALEXIS                  ADDRESS ON FILE
CASTRO RIVERA, ANA                     ADDRESS ON FILE
CASTRO RIVERA, ANA I                   ADDRESS ON FILE
Castro Rivera, Angel                   ADDRESS ON FILE
CASTRO RIVERA, ANGEL DANIEL            ADDRESS ON FILE
CASTRO RIVERA, ARELIS M                ADDRESS ON FILE
CASTRO RIVERA, BETZAIDA                ADDRESS ON FILE
CASTRO RIVERA, BRENDA LIZ              ADDRESS ON FILE
CASTRO RIVERA, CARLOS J.               ADDRESS ON FILE
CASTRO RIVERA, CARLOS J.               ADDRESS ON FILE
CASTRO RIVERA, CARMEN D                ADDRESS ON FILE
CASTRO RIVERA, CARMEN M                ADDRESS ON FILE
CASTRO RIVERA, CARMEN N                ADDRESS ON FILE
Castro Rivera, Edgard Alexan           ADDRESS ON FILE
CASTRO RIVERA, EDGARDO                 ADDRESS ON FILE
CASTRO RIVERA, EDGARDO                 ADDRESS ON FILE
CASTRO RIVERA, EFRAIN                  ADDRESS ON FILE
CASTRO RIVERA, EILEEN                  ADDRESS ON FILE
CASTRO RIVERA, ELIAS                   ADDRESS ON FILE
CASTRO RIVERA, ERIC                    ADDRESS ON FILE
CASTRO RIVERA, EVELYN                  ADDRESS ON FILE
CASTRO RIVERA, GERARDO                 ADDRESS ON FILE
CASTRO RIVERA, HAYDEE M                ADDRESS ON FILE
CASTRO RIVERA, HECTOR I.               ADDRESS ON FILE
CASTRO RIVERA, HECTOR L                ADDRESS ON FILE
CASTRO RIVERA, INDHIRA                 ADDRESS ON FILE
CASTRO RIVERA, IVAN                    ADDRESS ON FILE
CASTRO RIVERA, JACINTA                 ADDRESS ON FILE
CASTRO RIVERA, JAIME                   ADDRESS ON FILE
CASTRO RIVERA, JAN                     ADDRESS ON FILE
CASTRO RIVERA, JANINA                  ADDRESS ON FILE
CASTRO RIVERA, JANNY                   ADDRESS ON FILE
CASTRO RIVERA, JESMARIANNE             ADDRESS ON FILE
CASTRO RIVERA, JOSE                    ADDRESS ON FILE
CASTRO RIVERA, LILLIAM                 ADDRESS ON FILE
CASTRO RIVERA, LILLIAM                 ADDRESS ON FILE
CASTRO RIVERA, LOURDES                 ADDRESS ON FILE
CASTRO RIVERA, LOURDES I               ADDRESS ON FILE
CASTRO RIVERA, LUCAS                   ADDRESS ON FILE
CASTRO RIVERA, LUCIA                   ADDRESS ON FILE
CASTRO RIVERA, LUIS                    ADDRESS ON FILE
CASTRO RIVERA, LUIS A                  ADDRESS ON FILE
Castro Rivera, Luis A                  ADDRESS ON FILE
Castro Rivera, Luis I.                 ADDRESS ON FILE
CASTRO RIVERA, MARIA                   ADDRESS ON FILE
CASTRO RIVERA, MARIA I                 ADDRESS ON FILE
Castro Rivera, Maria J.                ADDRESS ON FILE
CASTRO RIVERA, MARIA S                 ADDRESS ON FILE
CASTRO RIVERA, MARITZA                 ADDRESS ON FILE
CASTRO RIVERA, MARTA I.                ADDRESS ON FILE
CASTRO RIVERA, MELVIN                  ADDRESS ON FILE
CASTRO RIVERA, NELSON                  ADDRESS ON FILE
Castro Rivera, Nestor                  ADDRESS ON FILE
CASTRO RIVERA, NYLMARIS                ADDRESS ON FILE
CASTRO RIVERA, ONEIDA                  ADDRESS ON FILE
CASTRO RIVERA, ORLANDO                 ADDRESS ON FILE




                                                                                   Page 1408 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1409 of 3500
                                                                              17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                  Address1                     Address2                               Address3   Address4   City          State   PostalCode   Country
CASTRO RIVERA, OSVALDO         ADDRESS ON FILE
CASTRO RIVERA, OSVALDO         ADDRESS ON FILE
CASTRO RIVERA, RAQUEL          ADDRESS ON FILE
CASTRO RIVERA, RAQUEL          ADDRESS ON FILE
CASTRO RIVERA, ROSA I.         ADDRESS ON FILE
Castro Rivera, Ruben           ADDRESS ON FILE
CASTRO RIVERA, SANDRA L        ADDRESS ON FILE
CASTRO RIVERA, SARA            ADDRESS ON FILE
CASTRO RIVERA, SONIA Y         ADDRESS ON FILE
CASTRO RIVERA, VICENTE         ADDRESS ON FILE
CASTRO RIVERA, WILMA I         ADDRESS ON FILE
CASTRO RIVERA, YARMA           ADDRESS ON FILE
CASTRO RIVERA, YOMAIRA M       ADDRESS ON FILE
CASTRO ROBLEDO, JULIA M        ADDRESS ON FILE
CASTRO ROBLEDO, LYDIA I        ADDRESS ON FILE
CASTRO ROBLEDO, YAITZA E.      ADDRESS ON FILE
CASTRO ROBLES, GRISELLE        ADDRESS ON FILE
CASTRO RODRIGUEZ MD, MARIA L   ADDRESS ON FILE
CASTRO RODRIGUEZ, ALBERTO      ADDRESS ON FILE
Castro Rodriguez, Americo      ADDRESS ON FILE
CASTRO RODRIGUEZ, ANGEL        ADDRESS ON FILE
CASTRO RODRIGUEZ, BARBARA      LCDO. WILMER RIVERA ACOSTA   2567 CARR 100 STE 102                                        CABO ROJO     PR      00623
CASTRO RODRIGUEZ, BARBARA      ADDRESS ON FILE
CASTRO RODRIGUEZ, BENEDICTA    ADDRESS ON FILE
CASTRO RODRIGUEZ, BENJAMIN     ADDRESS ON FILE
CASTRO RODRIGUEZ, CARMEN L     ADDRESS ON FILE
CASTRO RODRIGUEZ, CINDERELLA   ADDRESS ON FILE
Castro Rodriguez, Digna        ADDRESS ON FILE
CASTRO RODRIGUEZ, EDNA         ADDRESS ON FILE
CASTRO RODRIGUEZ, EDNA L       ADDRESS ON FILE
Castro Rodriguez, Edwin        ADDRESS ON FILE
CASTRO RODRIGUEZ, EDWIN        ADDRESS ON FILE
CASTRO RODRIGUEZ, EFRAIN       ADDRESS ON FILE
CASTRO RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
CASTRO RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
CASTRO RODRIGUEZ, GUSTAVO      ADDRESS ON FILE
CASTRO RODRIGUEZ, HERMINIO     ADDRESS ON FILE
CASTRO RODRIGUEZ, HILDA        ADDRESS ON FILE
CASTRO RODRIGUEZ, IRAIDA M.    ADDRESS ON FILE
CASTRO RODRIGUEZ, IRIS B       ADDRESS ON FILE
CASTRO RODRIGUEZ, IRMA         ADDRESS ON FILE
CASTRO RODRIGUEZ, IVONNE       ADDRESS ON FILE
CASTRO RODRIGUEZ, IVONNE       ADDRESS ON FILE
CASTRO RODRIGUEZ, JANICE       ADDRESS ON FILE
CASTRO RODRIGUEZ, JESSICA J    ADDRESS ON FILE
CASTRO RODRIGUEZ, JESUS        ADDRESS ON FILE
CASTRO RODRIGUEZ, JONATHAN     ADDRESS ON FILE
CASTRO RODRIGUEZ, JORGE O      ADDRESS ON FILE
CASTRO RODRIGUEZ, JOSE         ADDRESS ON FILE
CASTRO RODRIGUEZ, JOSE A       ADDRESS ON FILE
CASTRO RODRIGUEZ, JOSE N       ADDRESS ON FILE
CASTRO RODRIGUEZ, JUANA        ADDRESS ON FILE
CASTRO RODRIGUEZ, KATIRA       ADDRESS ON FILE
CASTRO RODRIGUEZ, KEILA        ADDRESS ON FILE
CASTRO RODRIGUEZ, LEE          ADDRESS ON FILE
CASTRO RODRIGUEZ, LYDIA        ADDRESS ON FILE
CASTRO RODRIGUEZ, MADELINE     ADDRESS ON FILE
CASTRO RODRIGUEZ, MARIA A      ADDRESS ON FILE
CASTRO RODRIGUEZ, MARIA L.     ADDRESS ON FILE
CASTRO RODRIGUEZ, MARIBETH     ADDRESS ON FILE




                                                                                    Page 1409 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1410 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO RODRIGUEZ, NANCY         ADDRESS ON FILE
CASTRO RODRIGUEZ, NELLY         ADDRESS ON FILE
CASTRO RODRIGUEZ, NESTOR E      ADDRESS ON FILE
CASTRO RODRIGUEZ, NOEMI         ADDRESS ON FILE
CASTRO RODRIGUEZ, NORMA I       ADDRESS ON FILE
CASTRO RODRIGUEZ, NYDIA DE      ADDRESS ON FILE
CASTRO RODRIGUEZ, NYDIA M       ADDRESS ON FILE
CASTRO RODRIGUEZ, OMARA         ADDRESS ON FILE
CASTRO RODRIGUEZ, OMARA         ADDRESS ON FILE
CASTRO RODRIGUEZ, OMARIS        ADDRESS ON FILE
CASTRO RODRIGUEZ, ORLANDO       ADDRESS ON FILE
CASTRO RODRIGUEZ, PRINCIPE      ADDRESS ON FILE
CASTRO RODRIGUEZ, ROBERTO       ADDRESS ON FILE
CASTRO RODRIGUEZ, RUBEN         ADDRESS ON FILE
CASTRO RODRIGUEZ, RUBEN         ADDRESS ON FILE
CASTRO RODRIGUEZ, SILIVET       ADDRESS ON FILE
CASTRO RODRIGUEZ, SOCORRO       ADDRESS ON FILE
CASTRO RODRIGUEZ, VIRGENMINA    ADDRESS ON FILE
CASTRO RODRIGUEZ, WALLESCA      ADDRESS ON FILE
CASTRO RODRIGUEZ, XAVIER        ADDRESS ON FILE
CASTRO RODRIGUEZ, YAZMIN        ADDRESS ON FILE
CASTRO ROJAS, EDUARDO           ADDRESS ON FILE
CASTRO ROJAS, MICHAEL           ADDRESS ON FILE
CASTRO ROJAS, NYDIA             ADDRESS ON FILE
Castro Roldan, Christina A.     ADDRESS ON FILE
CASTRO ROLDAN, MARIA V          ADDRESS ON FILE
CASTRO ROMAN, HELGA J           ADDRESS ON FILE
CASTRO ROMAN, LLASCADA          ADDRESS ON FILE
CASTRO ROMAN, MILAGROS          ADDRESS ON FILE
CASTRO ROMAN, PATRICIA          ADDRESS ON FILE
CASTRO ROMAN, VIRGINIA          ADDRESS ON FILE
CASTRO ROMERO, JOSE V           ADDRESS ON FILE
CASTRO RONDON, ELBA L           ADDRESS ON FILE
CASTRO RONDON, JUAN             ADDRESS ON FILE
CASTRO ROQUE, HERIBERTO         ADDRESS ON FILE
CASTRO ROSA, EDDIE N.           ADDRESS ON FILE
CASTRO ROSA, ERNESTO J.         ADDRESS ON FILE
CASTRO ROSA, LILLIAN            ADDRESS ON FILE
CASTRO ROSA, MIGUEL             ADDRESS ON FILE
CASTRO ROSADO, AMARILYS         ADDRESS ON FILE
CASTRO ROSADO, CHRISTIAN        ADDRESS ON FILE
CASTRO ROSADO, CHRISTIAN        ADDRESS ON FILE
CASTRO ROSADO, DENISSE          ADDRESS ON FILE
CASTRO ROSADO, ERIC             ADDRESS ON FILE
CASTRO ROSADO, GLORIA M.        ADDRESS ON FILE
CASTRO ROSADO, IDALYS           ADDRESS ON FILE
CASTRO ROSADO, MIGUEL A         ADDRESS ON FILE
CASTRO ROSADO, PORFIRIO         ADDRESS ON FILE
Castro Rosado, Victor Antonio   ADDRESS ON FILE
CASTRO ROSARIO, CARELYS Y       ADDRESS ON FILE
CASTRO ROSARIO, EFREN           ADDRESS ON FILE
CASTRO ROSARIO, JEANETTE        ADDRESS ON FILE
CASTRO ROSARIO, LEOANISS        ADDRESS ON FILE
CASTRO ROSARIO, LIZA M          ADDRESS ON FILE
CASTRO ROSARIO, LUISA           ADDRESS ON FILE
CASTRO ROSARIO, LUZ A           ADDRESS ON FILE
CASTRO ROSARIO, ROSA M          ADDRESS ON FILE
CASTRO ROSSO, LUIS              ADDRESS ON FILE
CASTRO ROSSO, LUIS O.           ADDRESS ON FILE
CASTRO RUIZ, DAVID              ADDRESS ON FILE




                                                                            Page 1410 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1411 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO RUIZ, ISMAEL            ADDRESS ON FILE
CASTRO RUIZ, LUIS              ADDRESS ON FILE
CASTRO RUIZ, MARGARITA         ADDRESS ON FILE
CASTRO RUIZ, MARIANGELLY       ADDRESS ON FILE
CASTRO RUIZ, MARIELLIE         ADDRESS ON FILE
CASTRO RUIZ, MIGUEL A.         ADDRESS ON FILE
CASTRO RUIZ, PABLO             ADDRESS ON FILE
CASTRO RUIZ, ROSAEL            ADDRESS ON FILE
CASTRO SAAVEDRA, IDAMARIS      ADDRESS ON FILE
CASTRO SABATER, IDELIZA        ADDRESS ON FILE
CASTRO SABATER, VILMA M        ADDRESS ON FILE
CASTRO SAINZ, IVETTE           ADDRESS ON FILE
CASTRO SALAS, ALEX             ADDRESS ON FILE
CASTRO SANCHEZ, DAVID          ADDRESS ON FILE
CASTRO SANCHEZ, DIANA          ADDRESS ON FILE
CASTRO SANCHEZ, DORIAN L       ADDRESS ON FILE
CASTRO SANCHEZ, IRIS J         ADDRESS ON FILE
CASTRO SANCHEZ, LUIS           ADDRESS ON FILE
CASTRO SANCHEZ, LUIS M         ADDRESS ON FILE
CASTRO SANCHEZ, RAMONITA       ADDRESS ON FILE
CASTRO SANCHEZ, SANEYRA        ADDRESS ON FILE
CASTRO SANCHEZ, VIVIAN         ADDRESS ON FILE
CASTRO SANCHEZ, VIVIAN V.      ADDRESS ON FILE
CASTRO SANTA, MELINDA          ADDRESS ON FILE
CASTRO SANTA, MILAGROS         ADDRESS ON FILE
CASTRO SANTA, RAUL             ADDRESS ON FILE
CASTRO SANTANA MD, LESLIANE    ADDRESS ON FILE
Castro Santana, Felix M.       ADDRESS ON FILE
CASTRO SANTANA, OSVALDO        ADDRESS ON FILE
CASTRO SANTANA, SARILYN A      ADDRESS ON FILE
CASTRO SANTANA, SILVETTE M     ADDRESS ON FILE
Castro Santana, William        ADDRESS ON FILE
CASTRO SANTANA,JUAN C.         ADDRESS ON FILE
CASTRO SANTIAGO, AIDA L.       ADDRESS ON FILE
CASTRO SANTIAGO, ALMA          ADDRESS ON FILE
CASTRO SANTIAGO, ANA G         ADDRESS ON FILE
CASTRO SANTIAGO, ANGEL         ADDRESS ON FILE
CASTRO SANTIAGO, ANGEL M       ADDRESS ON FILE
CASTRO SANTIAGO, ANIBAL        ADDRESS ON FILE
CASTRO SANTIAGO, CARLOS        ADDRESS ON FILE
CASTRO SANTIAGO, CELIA         ADDRESS ON FILE
CASTRO SANTIAGO, DOMITILA      ADDRESS ON FILE
CASTRO SANTIAGO, EDWIN D.      ADDRESS ON FILE
CASTRO SANTIAGO, EMERITA       ADDRESS ON FILE
CASTRO SANTIAGO, ERNESTO       ADDRESS ON FILE
CASTRO SANTIAGO, FELIX         ADDRESS ON FILE
CASTRO SANTIAGO, FELIX E.      ADDRESS ON FILE
CASTRO SANTIAGO, GERALDO       ADDRESS ON FILE
CASTRO SANTIAGO, IRIS G        ADDRESS ON FILE
CASTRO SANTIAGO, JAVIER        ADDRESS ON FILE
CASTRO SANTIAGO, JESUS M.      ADDRESS ON FILE
CASTRO SANTIAGO, JOSE A.       ADDRESS ON FILE
CASTRO SANTIAGO, JUAN A.       ADDRESS ON FILE
CASTRO SANTIAGO, JUDITH E      ADDRESS ON FILE
CASTRO SANTIAGO, LIZZIE ENID   ADDRESS ON FILE
CASTRO SANTIAGO, LOURDES F     ADDRESS ON FILE
CASTRO SANTIAGO, LUZ J         ADDRESS ON FILE
CASTRO SANTIAGO, MARIA A       ADDRESS ON FILE
CASTRO SANTIAGO, MARILYN       ADDRESS ON FILE
CASTRO SANTIAGO, NOEMI         ADDRESS ON FILE




                                                                           Page 1411 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1412 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO SANTIAGO, OSVALDO     ADDRESS ON FILE
CASTRO SANTIAGO, SONIA       ADDRESS ON FILE
Castro Santiago, Victor      ADDRESS ON FILE
CASTRO SANTOS, ASTRID        ADDRESS ON FILE
CASTRO SANTOS, CARMEN        ADDRESS ON FILE
CASTRO SANTOS, JOSE          ADDRESS ON FILE
CASTRO SANTOS, LOURDES       ADDRESS ON FILE
CASTRO SANTOS, LYDIA         ADDRESS ON FILE
CASTRO SANTOS, SANDRA I      ADDRESS ON FILE
CASTRO SANTOS, SULAY M       ADDRESS ON FILE
CASTRO SANTOS, SUMARIS       ADDRESS ON FILE
CASTRO SEDA, LUIS            ADDRESS ON FILE
CASTRO SEGARRA, LOURDES M    ADDRESS ON FILE
CASTRO SEPULVEDA, CARLOS M   ADDRESS ON FILE
CASTRO SEPULVEDA, JUAN A     ADDRESS ON FILE
CASTRO SERRANO, CARMEN       ADDRESS ON FILE
CASTRO SERRANO, CARMEN J.    ADDRESS ON FILE
CASTRO SERRANO, IVONNE       ADDRESS ON FILE
CASTRO SERRANO, JOHANY       ADDRESS ON FILE
CASTRO SERRANO, JULIO H      ADDRESS ON FILE
CASTRO SERRANO, WILMA I.     ADDRESS ON FILE
CASTRO SILEN MD, JESUS       ADDRESS ON FILE
CASTRO SILEN, JESUS          ADDRESS ON FILE
CASTRO SILVA, EVELYN         ADDRESS ON FILE
CASTRO SILVA, MARIO R.       ADDRESS ON FILE
CASTRO SIMMONS, DIANABELL    ADDRESS ON FILE
CASTRO SIMMONS, MONICA       ADDRESS ON FILE
CASTRO SIMMONS, VERONICA     ADDRESS ON FILE
CASTRO SOBERAL, LYDIA        ADDRESS ON FILE
CASTRO SOLIS, HILDA          ADDRESS ON FILE
CASTRO SOLIS, HILDA M        ADDRESS ON FILE
CASTRO SOLIS, IDA            ADDRESS ON FILE
CASTRO SOLIS, IRIS N         ADDRESS ON FILE
CASTRO SOLIS, MIRIAM         ADDRESS ON FILE
CASTRO SOTO, AIDALI DE L     ADDRESS ON FILE
CASTRO SOTO, CARLOS          ADDRESS ON FILE
CASTRO SOTO, CARLOS A.       ADDRESS ON FILE
CASTRO SOTO, DAVIS           ADDRESS ON FILE
CASTRO SOTO, EVELYN          ADDRESS ON FILE
CASTRO SOTO, FRANCISCO       ADDRESS ON FILE
CASTRO SOTO, IRAIDA          ADDRESS ON FILE
CASTRO SOTO, JAIME M         ADDRESS ON FILE
CASTRO SOTO, JOSE            ADDRESS ON FILE
CASTRO SOTO, LILLIANA        ADDRESS ON FILE
CASTRO SOTO, MAYRA           ADDRESS ON FILE
CASTRO SOTO, RAFAEL J.       ADDRESS ON FILE
CASTRO SOTO, YEKIN MARIS     ADDRESS ON FILE
CASTRO SOTO, YENILIVETTE     ADDRESS ON FILE
CASTRO SUAREZ, AWILDA        ADDRESS ON FILE
CASTRO SUAREZ, AWILDA        ADDRESS ON FILE
Castro Suarez, Maria I       ADDRESS ON FILE
CASTRO SUAREZ, MARTA         ADDRESS ON FILE
CASTRO SUAREZ, MARTHA        ADDRESS ON FILE
CASTRO TAPIA, GLORIA I       ADDRESS ON FILE
CASTRO TARDI, JOSE           ADDRESS ON FILE
CASTRO TELLES, CARMEN        ADDRESS ON FILE
CASTRO TEXIDOR, KARLA        ADDRESS ON FILE
CASTRO TEXIDOR, KARLA J.     ADDRESS ON FILE
CASTRO TIRADO, GLORIA E      ADDRESS ON FILE
CASTRO TIRADO, MARILYN       ADDRESS ON FILE




                                                                         Page 1412 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1413 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO TIRADO, NYDIA M.       ADDRESS ON FILE
CASTRO TIRADO, VERONICA       ADDRESS ON FILE
CASTRO TOLEDO, DENISSE        ADDRESS ON FILE
CASTRO TOLEDO, DIANA M        ADDRESS ON FILE
CASTRO TOLEDO, JOANDALI       ADDRESS ON FILE
CASTRO TORO, WANDA            ADDRESS ON FILE
CASTRO TORRES, ABRAHIM        ADDRESS ON FILE
CASTRO TORRES, ANDREX         ADDRESS ON FILE
CASTRO TORRES, ANNETTE        ADDRESS ON FILE
CASTRO TORRES, CARMEN R       ADDRESS ON FILE
CASTRO TORRES, CLARIBEL       ADDRESS ON FILE
CASTRO TORRES, DAISY          ADDRESS ON FILE
CASTRO TORRES, DAISY          ADDRESS ON FILE
CASTRO TORRES, DEBORAH I      ADDRESS ON FILE
CASTRO TORRES, DELMALIZ       ADDRESS ON FILE
CASTRO TORRES, DELMALIZ       ADDRESS ON FILE
CASTRO TORRES, DIANA          ADDRESS ON FILE
CASTRO TORRES, DOEL           ADDRESS ON FILE
CASTRO TORRES, EDITH M        ADDRESS ON FILE
CASTRO TORRES, EDWIN          ADDRESS ON FILE
CASTRO TORRES, FABIAN         ADDRESS ON FILE
CASTRO TORRES, FRANCISCO J    ADDRESS ON FILE
CASTRO TORRES, GILBERTO       ADDRESS ON FILE
CASTRO TORRES, ISMAEL         ADDRESS ON FILE
CASTRO TORRES, IVELISSE       ADDRESS ON FILE
CASTRO TORRES, JESUS          ADDRESS ON FILE
CASTRO TORRES, JOANLY         ADDRESS ON FILE
CASTRO TORRES, JOEL           ADDRESS ON FILE
CASTRO TORRES, JOSE           ADDRESS ON FILE
CASTRO TORRES, JOSE           ADDRESS ON FILE
CASTRO TORRES, JOSE A         ADDRESS ON FILE
Castro Torres, Jose L         ADDRESS ON FILE
CASTRO TORRES, JOSE R.        ADDRESS ON FILE
CASTRO TORRES, LUCIANO        ADDRESS ON FILE
CASTRO TORRES, MAGDALIS       ADDRESS ON FILE
CASTRO TORRES, MANUEL         ADDRESS ON FILE
CASTRO TORRES, MANUEL         ADDRESS ON FILE
CASTRO TORRES, MARIA B        ADDRESS ON FILE
CASTRO TORRES, MARIA DEL P    ADDRESS ON FILE
CASTRO TORRES, MARIO          ADDRESS ON FILE
CASTRO TORRES, MARISOL        ADDRESS ON FILE
CASTRO TORRES, MARY           ADDRESS ON FILE
CASTRO TORRES, MICHELLE       ADDRESS ON FILE
CASTRO TORRES, NELSON O       ADDRESS ON FILE
CASTRO TORRES, RAFAEL         ADDRESS ON FILE
CASTRO TORRES, VICTOR M       ADDRESS ON FILE
CASTRO TORRES, VICTOR M.      ADDRESS ON FILE
Castro Torres, Virgen M       ADDRESS ON FILE
CASTRO TRAVIESO, PAOLA M      ADDRESS ON FILE
CASTRO TRINIDAD, EDGARDO L.   ADDRESS ON FILE
CASTRO TRINIDAD, MARCOS       ADDRESS ON FILE
CASTRO TRINIDAD, ROSARIO      ADDRESS ON FILE
CASTRO TULIER, YOLANDA        ADDRESS ON FILE
CASTRO VALDES, JULIO          ADDRESS ON FILE
CASTRO VALENCIA, CARLOS M     ADDRESS ON FILE
Castro Valencia, Carlos M.    ADDRESS ON FILE
CASTRO VALENTIN, VERONICA     ADDRESS ON FILE
CASTRO VALLE, LUIS            ADDRESS ON FILE
CASTRO VALLE, YARILIS         ADDRESS ON FILE
CASTRO VALLEJO, ANGEL D       ADDRESS ON FILE




                                                                          Page 1413 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1414 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CASTRO VALLEJO, CHRISTIAN J.   ADDRESS ON FILE
CASTRO VALLESCORBO, ORLANDO    ADDRESS ON FILE
CASTRO VARGAS, HECTOR IVAN     ADDRESS ON FILE
CASTRO VARGAS, ISABEL          ADDRESS ON FILE
Castro Vargas, Ricardo A       ADDRESS ON FILE
CASTRO VARGAS, SEVERA          ADDRESS ON FILE
CASTRO VARGAS, VICTOR M        ADDRESS ON FILE
CASTRO VAZQUEZ, BLANCA         ADDRESS ON FILE
CASTRO VAZQUEZ, CARMEN M       ADDRESS ON FILE
CASTRO VAZQUEZ, DORA A         ADDRESS ON FILE
CASTRO VAZQUEZ, ESTER          ADDRESS ON FILE
CASTRO VAZQUEZ, GRIMALDI       ADDRESS ON FILE
CASTRO VAZQUEZ, IAM            ADDRESS ON FILE
CASTRO VAZQUEZ, JOSE L.        ADDRESS ON FILE
CASTRO VAZQUEZ, LUIS X         ADDRESS ON FILE
CASTRO VAZQUEZ, MARIA          ADDRESS ON FILE
CASTRO VAZQUEZ, VERONICA       ADDRESS ON FILE
CASTRO VAZQUEZ, VICTOR G.      ADDRESS ON FILE
CASTRO VEGA, AMARILYS          ADDRESS ON FILE
CASTRO VEGA, ANA               ADDRESS ON FILE
CASTRO VEGA, BRYAN             ADDRESS ON FILE
CASTRO VEGA, CHRISTIAN         ADDRESS ON FILE
CASTRO VEGA, ENID              ADDRESS ON FILE
CASTRO VEGA, IRIS D            ADDRESS ON FILE
CASTRO VEGA, JOEL              ADDRESS ON FILE
CASTRO VEGA, JOSE              ADDRESS ON FILE
CASTRO VEGA, LEILA M           ADDRESS ON FILE
CASTRO VEGA, LUIS A            ADDRESS ON FILE
CASTRO VEGA, LUIS A.           ADDRESS ON FILE
CASTRO VEGA, LYDIA             ADDRESS ON FILE
CASTRO VEGA, MIGUEL            ADDRESS ON FILE
CASTRO VEGA, PEDRO             ADDRESS ON FILE
CASTRO VEGA, RAFAEL            ADDRESS ON FILE
CASTRO VEGA, RITA E            ADDRESS ON FILE
CASTRO VEGA, RUTH E            ADDRESS ON FILE
CASTRO VEGA, SARA              ADDRESS ON FILE
CASTRO VEGA, ZAIDA             ADDRESS ON FILE
CASTRO VELAZQUEZ MD, ANA       ADDRESS ON FILE
CASTRO VELAZQUEZ MD, ROBERT    ADDRESS ON FILE
CASTRO VELAZQUEZ, JUAN A       ADDRESS ON FILE
CASTRO VELAZQUEZ, RUTH M       ADDRESS ON FILE
CASTRO VELAZQUEZ, WILMA A.     ADDRESS ON FILE
CASTRO VELAZQUEZ, YOLANISE     ADDRESS ON FILE
CASTRO VELAZQUEZ, ZENAIDA      ADDRESS ON FILE
CASTRO VELEZ MD, CARMEN        ADDRESS ON FILE
CASTRO VELEZ MD, LUIS A        ADDRESS ON FILE
CASTRO VELEZ, ANGELICA M       ADDRESS ON FILE
CASTRO VELEZ, ARACELIS         ADDRESS ON FILE
Castro Velez, Brenda L         ADDRESS ON FILE
CASTRO VELEZ, BRENDA L         ADDRESS ON FILE
CASTRO VELEZ, ISABEL           ADDRESS ON FILE
CASTRO VELEZ, JOSE             ADDRESS ON FILE
CASTRO VELEZ, JOSE             ADDRESS ON FILE
Castro Velez, Jose Angel       ADDRESS ON FILE
CASTRO VELEZ, JUANA            ADDRESS ON FILE
CASTRO VELEZ, MIGUEL           ADDRESS ON FILE
CASTRO VELEZ, MIGUEL E.        ADDRESS ON FILE
CASTRO VELEZ, NEIDA I          ADDRESS ON FILE
CASTRO VELEZ, ROSA             ADDRESS ON FILE
CASTRO VELLON, ARACELIS        ADDRESS ON FILE




                                                                           Page 1414 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1415 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                       Address1                       Address2                       Address3   Address4   City        State   PostalCode   Country
CASTRO VELLON, SOL                  ADDRESS ON FILE
CASTRO VELLON, YOLANDA              ADDRESS ON FILE
CASTRO VERA, CARMEN                 ADDRESS ON FILE
Castro Vicenty, Alexis              ADDRESS ON FILE
CASTRO VIDOT, BRIAN                 ADDRESS ON FILE
CASTRO VILARO, ALMA                 ADDRESS ON FILE
CASTRO VILCHES, GLADYS              ADDRESS ON FILE
CASTRO VILLANUEVA, ADELINCEL        ADDRESS ON FILE
CASTRO VILLANUEVA, JESSICA          ADDRESS ON FILE
Castro Villanueva, Jessica M.       ADDRESS ON FILE
CASTRO VILLANUEVA, JOSE M           ADDRESS ON FILE
CASTRO VILLEGAS, MARANGELI          ADDRESS ON FILE
CASTRO VILLEGAS, VILMA              ADDRESS ON FILE
CASTRO VIRELLA, YOMAR               ADDRESS ON FILE
CASTRO VIZCARRONDO, LOIDA E         ADDRESS ON FILE
CASTRO VOLTAGGIO, BRENDA            ADDRESS ON FILE
CASTRO YAMBO, ARELIS                ADDRESS ON FILE
CASTRO ZAYAS, HIURISAN              ADDRESS ON FILE
CASTRO ZAYAS, RAIZA M               ADDRESS ON FILE
CASTRO, ADELAIDA                    ADDRESS ON FILE
CASTRO, ARNALDO                     ADDRESS ON FILE
CASTRO, CARLOS                      ADDRESS ON FILE
CASTRO, CARMINE                     ADDRESS ON FILE
CASTRO, ELADIO                      ADDRESS ON FILE
CASTRO, EMELY                       ADDRESS ON FILE
CASTRO, ESMERALDA E.                LCDO. CARLOS E. SIVERIO ORTA   APARTADO 2405                                        ARECIBO     PR      00613
CASTRO, FRANCIS                     ADDRESS ON FILE
CASTRO, JOSE                        ADDRESS ON FILE
CASTRO, JOSE                        ADDRESS ON FILE
CASTRO, JOSE L.                     ADDRESS ON FILE
CASTRO, KATY                        ADDRESS ON FILE
CASTRO, LUZ M                       ADDRESS ON FILE
CASTRO, MARCEL                      ADDRESS ON FILE
CASTRO, MARIA DE CARMO              ADDRESS ON FILE
CASTRO, MILAGROS                    ADDRESS ON FILE
CASTRO, NELSON                      ADDRESS ON FILE
CASTRO, RAUL J.                     ADDRESS ON FILE
CASTRO, RUTH                        ADDRESS ON FILE
CASTRO, SOL MARIE                   ADDRESS ON FILE
CASTRO, SOLMARIA                    ADDRESS ON FILE
CASTRO, SONIA                       ADDRESS ON FILE
CASTRO,JOSE L.                      ADDRESS ON FILE
CASTRO,LUIS A.                      ADDRESS ON FILE
CASTRODAD BERRIOS, ADA M            ADDRESS ON FILE
CASTRODAD CASTRODAD, PEDRO L        ADDRESS ON FILE
CASTRODAD DIAZ, ANA L.              ADDRESS ON FILE
CASTRODAD DIAZ, ANA L.              ADDRESS ON FILE
CASTRODAD DIAZ, LUISA A             ADDRESS ON FILE
CASTRODAD DUENO, JANICE             ADDRESS ON FILE
CASTRODAD FERNANDEZ, OSMARIE        ADDRESS ON FILE
CASTRODAD FERNANDEZ, OSVALDO        ADDRESS ON FILE
CASTRODAD GALANES, HORTENSE         ADDRESS ON FILE
CASTRODAD GALANES, MARIA A          ADDRESS ON FILE
CASTRODAD GARCIA, ISAMARI           ADDRESS ON FILE
CASTRODAD HERNANDEZ, GERARDO D.     ADDRESS ON FILE
CASTRODAD HERNANDEZ, MARIAN DEL R   ADDRESS ON FILE
CASTRODAD LOPEZ, AMARYLIS           ADDRESS ON FILE
CASTRODAD LOPEZ, NITZA              ADDRESS ON FILE
CASTRODAD LOPEZ, NITZA              ADDRESS ON FILE
CASTRODAD MANTECON, RICARDO         ADDRESS ON FILE




                                                                                   Page 1415 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1416 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                     Address2                      Address3   Address4   City            State   PostalCode   Country
CASTRODAD MANTECON, RICARDO      ADDRESS ON FILE
Castrodad Melendez, Luis A       ADDRESS ON FILE
CASTRODAD MOLINA, RHAISA         ADDRESS ON FILE
CASTRODAD NIEVES, EVELYN M       ADDRESS ON FILE
CASTRODAD ORTIZ, FELIX           ADDRESS ON FILE
CASTRODAD RESTO, ANA L           ADDRESS ON FILE
CASTRODAD RIVERA, LILI           ADDRESS ON FILE
CASTRODAD RODRIGUEZ, ALEJANDRA   ADDRESS ON FILE
CASTRODAD RODRIGUEZ, ALEJANDRA   ADDRESS ON FILE
CASTRODAD RODRIGUEZ, JOSE        ADDRESS ON FILE
CASTRODAD RODRIGUEZ, LISMARIE    ADDRESS ON FILE
CASTRODAD RODRIGUEZ, PATRICIA    ADDRESS ON FILE
CASTRODAD RODRIGUEZ, TEISHA      ADDRESS ON FILE
CASTRODAD ROVIRA, ALEXANDER      ADDRESS ON FILE
CASTRODAD SANTIAGO, MADELYN      ADDRESS ON FILE
CASTRODAD SANTIAGO, MADELYN      ADDRESS ON FILE
CASTRODAD SANTIAGO, RAUL         ADDRESS ON FILE
CASTRODAD VAZQUEZ, NORMA H       ADDRESS ON FILE
CASTRODAD VELEZ, ELIZABETH       ADDRESS ON FILE
CASTRODELACRUZ, RAFAEL A.        ADDRESS ON FILE
CASTRODELEON, AURELIO            ADDRESS ON FILE
CASTROHERNANDEZ, CARMEN T.       ADDRESS ON FILE
CASTROVELEZ, ELISA               ADDRESS ON FILE
CASTULA SANTIAGO MEDINA          ADDRESS ON FILE
CASTULO AYALA                    ADDRESS ON FILE
CASUL CABEZUDO, MIGUEL A         ADDRESS ON FILE
Casul Claudio, Roberto           ADDRESS ON FILE
CASUL CONCEPCION, JUDITH         ADDRESS ON FILE
CASUL CUADRO, GILDAMIS           ADDRESS ON FILE
CASUL LEAL, ISRAEL               ADDRESS ON FILE
CASUL LOPEZ, KARINA              ADDRESS ON FILE
CASUL MENDEZ, ILIAYKA I          ADDRESS ON FILE
CASUL MONSERRATE, CARLOS         ADDRESS ON FILE
CASUL MORALES, MELBA             ADDRESS ON FILE
CASUL NOGUERAS, ANGEL            ADDRESS ON FILE
CASUL PEREZ, DAMARYS             ADDRESS ON FILE
Casul Quinones, Jose A           ADDRESS ON FILE
CASUL QUINONES, NEREIDA          ADDRESS ON FILE
CASUL RIVERA, CESAR              ADDRESS ON FILE
CASUL SANCHEZ, FRANKLIN          ADDRESS ON FILE
Casul Sanchez, Franklin          ADDRESS ON FILE
CASUL SANCHEZ, JEANNETE          ADDRESS ON FILE
CASUL, ANDEX                     ADDRESS ON FILE
CASULL SANCHEZ, BRUNILDA         ADDRESS ON FILE
CASULL SANCHEZ, FELIPE           ADDRESS ON FILE
CASULL SANCHEZ, JACKELINE        ADDRESS ON FILE
CASULL SANCHEZ, JEANNETTE        ADDRESS ON FILE
CATACHEM LATIN AMERICA           CARR. 140 KM 64.7 INTERIOR                                                       BARCELONETA     PR      00617
CATACHEM LATIN AMERICA           PO BOX 1098                                                                      BARCELONETA     PR      00617
CATACHEM LATIN AMERICAN          CARR 140 KM 64.7 INTERIOR                                                        BARCELONETA     PR      00617
Catala Arlequin, Isaac           ADDRESS ON FILE
CATALA ARLEQUIN, ISAAC           ADDRESS ON FILE
CATALA ARLEQUIN, ROMAN           ADDRESS ON FILE
Catala Barrera, Francisco        ADDRESS ON FILE
CATALA BARRERA, JAIME            ADDRESS ON FILE
CATALA BENITEZ, DELIRIS          ADDRESS ON FILE
CATALA BENITEZ, DELIRIS          ADDRESS ON FILE
CATALA BENITEZ, LIZCELIA         ADDRESS ON FILE
CATALA BERMUDEZ, TAMARA M.       ADDRESS ON FILE
CATALA CABRERA, GRABRIEL         ADDRESS ON FILE




                                                                             Page 1416 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1417 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CATALA CATALA, JOSE M.          ADDRESS ON FILE
CATALA CEPEDA, DORIS M.         ADDRESS ON FILE
CATALA CHINEA, FRANCES M        ADDRESS ON FILE
CATALA CORTES, JULIO            ADDRESS ON FILE
CATALA COTTO, LAURA             ADDRESS ON FILE
CATALA CRUZ, CARMEN A           ADDRESS ON FILE
CATALA CRUZ, PABLO              ADDRESS ON FILE
CATALA CUEVAS, JOSE             ADDRESS ON FILE
CATALA DE JESUS, ANTONIO        ADDRESS ON FILE
CATALA DE JESUS, CARLOS         ADDRESS ON FILE
CATALA DE JESUS, CARLOS A       ADDRESS ON FILE
CATALA DE JESUS, JOHANNY        ADDRESS ON FILE
CATALA DE JESUS, NYDIA          ADDRESS ON FILE
CATALA DIAZ, MADELINE           ADDRESS ON FILE
CATALA DIAZ, VIVIANA E.         ADDRESS ON FILE
CATALA FERNANDEZ, ANGEL         ADDRESS ON FILE
CATALA FERNANDEZ, ANGEL A.      ADDRESS ON FILE
CATALA FERNANDEZ, MARIA         ADDRESS ON FILE
CATALA FERNANDEZ, MARIA M       ADDRESS ON FILE
CATALA FIGUEROA, CARLOS M       ADDRESS ON FILE
CATALA FIGUEROA, ROSA           ADDRESS ON FILE
CATALA FIGUEROA,AIMARI          ADDRESS ON FILE
CATALA FLORES, CHRISTIAN        ADDRESS ON FILE
CATALA FLORES, LOIDA I          ADDRESS ON FILE
CATALA FONFRIAS, LUIS E         ADDRESS ON FILE
CATALA FRANCESCHINI, ANA R      ADDRESS ON FILE
CATALA FUENTES, JUAN            ADDRESS ON FILE
CATALA FUSTER, JAIME            ADDRESS ON FILE
CATALA GARCIA, GILFREDO         ADDRESS ON FILE
CATALA GARCIA, KRISTIE M        ADDRESS ON FILE
CATALA GARCIA, VINCENT          ADDRESS ON FILE
CATALA GONZALEZ, FRANCISCO      ADDRESS ON FILE
CATALA GONZALEZ, KATHIA         ADDRESS ON FILE
CATALA GONZALEZ, KATHIA         ADDRESS ON FILE
CATALA JORGE, CORAL Y           ADDRESS ON FILE
CATALA LEON, MATIAS             ADDRESS ON FILE
Catala Leon, Ruben              ADDRESS ON FILE
CATALA LOPEZ, BELIA             ADDRESS ON FILE
CATALA LOPEZ, EMILIO            ADDRESS ON FILE
CATALA LOPEZ, MARIA L           ADDRESS ON FILE
CATALA LOPEZ, NOELIA            ADDRESS ON FILE
CATALA LOPEZ, RUBEN             ADDRESS ON FILE
CATALA LOPEZ, RUBEN             ADDRESS ON FILE
CATALA LUGO, JUAN               ADDRESS ON FILE
CATALA LUGO, RAFAEL             ADDRESS ON FILE
CATALA MALDONADO, BELMARIE      ADDRESS ON FILE
CATALA MARCANO, NIVIA M         ADDRESS ON FILE
Catala Marrero, Raul            ADDRESS ON FILE
CATALA MARTINEZ MD, RICARDO L   ADDRESS ON FILE
CATALA MD, EDGAR                ADDRESS ON FILE
CATALA MELENDEZ, CLARA          ADDRESS ON FILE
Catala Melendez, Clara L        ADDRESS ON FILE
CATALA MELENDEZ, GENOVEVA       ADDRESS ON FILE
CATALA MELENDEZ, JOKSAN         ADDRESS ON FILE
CATALA MELENDEZ, LOURDES        ADDRESS ON FILE
CATALA MELENDEZ, MARIA M.       ADDRESS ON FILE
CATALA MELENDEZ, ROBERTO        ADDRESS ON FILE
Catala Melendez, Roman          ADDRESS ON FILE
CATALA MIGUEZ, FRANCISCO        ADDRESS ON FILE
CATALA MIGUEZ, FRANCISCO A.     ADDRESS ON FILE




                                                                            Page 1417 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1418 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CATALA MORALES, HECTOR                ADDRESS ON FILE
CATALA MORALES, WANDA                 ADDRESS ON FILE
CATALA MORALES, WANDA                 ADDRESS ON FILE
CATALA MORALES, WANDA                 ADDRESS ON FILE
CATALA OLIVERAS, FRANCISCO            ADDRESS ON FILE
CATALA OTERO, MARGARITA               ADDRESS ON FILE
CATALA PEREZ, MORAIMA                 ADDRESS ON FILE
CATALA PETIT, MIGUEL A                ADDRESS ON FILE
CATALA RAMOS, ANGELES                 ADDRESS ON FILE
CATALA RAMOS, CARMEN                  ADDRESS ON FILE
CATALA RAMOS, JUAN                    ADDRESS ON FILE
CATALA RAMOS, VICTORIA                ADDRESS ON FILE
CATALA RIOS, LINDA M.                 ADDRESS ON FILE
CATALA RIVERA, EDWIN                  ADDRESS ON FILE
CATALA RIVERA, ROSA                   ADDRESS ON FILE
CATALA RIVERA, ROSA I                 ADDRESS ON FILE
CATALA RIVERA, SYLVIA E               ADDRESS ON FILE
CATALA RODRIGUEZ, JANET               ADDRESS ON FILE
CATALA RODRIGUEZ, MAYRA               ADDRESS ON FILE
CATALA ROLDOS, LOURDES                ADDRESS ON FILE
CATALA ROSA, MARIA M                  ADDRESS ON FILE
CATALA SAEZ, ANTONIO                  ADDRESS ON FILE
CATALA SANCHEZ, ARGENIS               ADDRESS ON FILE
CATALA SERRANO, FRANCISCO             ADDRESS ON FILE
CATALA SERRANO, MARETZIE              ADDRESS ON FILE
CATALA SOLA, MAYRA                    ADDRESS ON FILE
CATALA SOTO, LUIS                     ADDRESS ON FILE
CATALA SUAREZ, JUAN                   ADDRESS ON FILE
CATALA TABALES, GIANFRANCO            ADDRESS ON FILE
CATALA TIRE CENTER                    PO BOX 1163                                                                      GUAYNABO     PR      00970
CATALA TORRES, ILKA                   ADDRESS ON FILE
CATALA TORRES, IRIS                   ADDRESS ON FILE
CATALA TORRES, IRIS W.                ADDRESS ON FILE
CATALA VAZQUEZ, FRANK                 ADDRESS ON FILE
CATALA VAZQUEZ, MYRIAM I              ADDRESS ON FILE
CATALA ZAYAS, MARISOL                 ADDRESS ON FILE
CATALA ZAYAS, MARISOL                 ADDRESS ON FILE
CATALA, FRANCISCO                     ADDRESS ON FILE
CATALA, MYRIAM I.                     ADDRESS ON FILE
CATALAN ALVAREZ, ADA M                ADDRESS ON FILE
CATALAN LOZADA, NORMA                 ADDRESS ON FILE
CATALAN MARCHAN, ENCARNITA            ADDRESS ON FILE
CATALAN MEDINA, ANA D                 ADDRESS ON FILE
CATALAN MORALES, OMAYRA               ADDRESS ON FILE
CATALAN QUILES, ANA L                 ADDRESS ON FILE
CATALAN ROMAN, GLENDA DEL C           ADDRESS ON FILE
CATALAN ROMAN, WANDA L                ADDRESS ON FILE
CATALAN ROMAN, WANDA L                ADDRESS ON FILE
CATALAN ROSADO, MARIA I               ADDRESS ON FILE
CATALAN ROSADO, MARIA I.              ADDRESS ON FILE
CATALAN TORRES, NOEL                  ADDRESS ON FILE
Catalano Garcia, Jose J.              ADDRESS ON FILE
CATALANO GARCIA, LOURDES J.           ADDRESS ON FILE
CATALANO GARCIA, MARY J               ADDRESS ON FILE
CATALANO MORALES, JOSEPH              ADDRESS ON FILE
CATALANO VAZQUEZ,LEONARDO N.          ADDRESS ON FILE
CATALDI MALPICA, STEFANO              ADDRESS ON FILE
CATALINA ALVAREZ Y NEYRA A. ALVAREZ   ADDRESS ON FILE
CATALINA BENITEZ ALAMO                ADDRESS ON FILE
CATALINA BOTTILING                    P O BOX 29729                                                                    SAN JUAN     PR      0092900729




                                                                                  Page 1418 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1419 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                      Address1                                 Address2                                    Address3          Address4    City         State   PostalCode   Country
CATALINA BOTTLING CORP             P O BOX 29047                                                                                                      SAN JUAN     PR      00929‐0047
CATALINA BOTTLING CORP.            PO BOX 29047                                                                                                       CAROLINA     PR      00929‐0000
CATALINA BOTTLING, CORP            PO BOX 29729                                                                                                       SAN JUAN     PR      00929‐0729
CATALINA C PANDO Y JOSE R PANDO    ADDRESS ON FILE
CATALINA CRUZ / VICTOR VAZQUEZ     ADDRESS ON FILE
CATALINA CRUZ LOPEZ                ADDRESS ON FILE
CATALINA DE HOYO LAGUERRA          ADDRESS ON FILE
CATALINA FERNANDEZ FONTAN          ADDRESS ON FILE
CATALINA FIGUEROA DIAZ             ADDRESS ON FILE
CATALINA GIL DE LOPEZ              ADDRESS ON FILE
CATALINA GONZALEZ ACOSTA           ADDRESS ON FILE
CATALINA GORDILS ROSARIO           ADDRESS ON FILE
CATALINA GUZMAN                    ADDRESS ON FILE
CATALINA I SIERRA LOPEZ            ADDRESS ON FILE
CATALINA JIMENEZ Y ANGEL JIMENEZ   ADDRESS ON FILE
CATALINA LOPEZ CINTRON             ADDRESS ON FILE
CATALINA LOPEZ TORRES              ADDRESS ON FILE
CATALINA LUGO                      ADDRESS ON FILE
CATALINA M VICENTE DE LA ROSA      ADDRESS ON FILE
CATALINA MICHAEL ESTATE            248 WESTFIELD RD                                                                                                   AMHERST      NY      14226‐3433
CATALINA MUNIZ MENDEZ              ADDRESS ON FILE
CATALINA N LOMBA RIPOLL            ADDRESS ON FILE
CATALINA NAZARIO VAZQUEZ           CARLOS J. ROSARIO SOLIS‐DEMANDANDO EN REBANEXO 296 EDIFICIO 6 SECCIÓN A 259          PO BOX 10005                  GUAYAMA      PR      00785
CATALINA NAZARIO VAZQUEZ           LCDA. GAUDELYN SÁNCHEZ MEJÍAS‐ ABOGADA INPO BOX                                                                    GUAYNABO     PR      00970‐1482
CATALINA NAZARIO VAZQUEZ           LCDO. SANTOS LÓPEZ RODRÍGUEZ‐ABOGADO DE 654 AVE. MUÑOZ RIVERA                        EDIF. PLAZA 654   SUITE 911   SAN JUAN     PR      00918‐4123
CATALINA ORTIZ RIVERA              ADDRESS ON FILE
CATALINA RIVERA PAGAN              ADDRESS ON FILE
CATALINA ROBLES CRUZ               ADDRESS ON FILE
CATALINA SAVIGNON ALVAREZ          ADDRESS ON FILE
CATALINA SAVIGNON ALVAREZ          ADDRESS ON FILE
CATALINA TAPIA DE JESUS            ADDRESS ON FILE
CATALINA VARGAS VELEZ              ADDRESS ON FILE
CATALINA VAZQUEZ VEGA              ADDRESS ON FILE
CATALINAS FC INC                   38 VALLE DEL TESORO                                                                                                GURABO       PR      00778
CATALINO CARMONA RIVERA            ADDRESS ON FILE
CATALINO COLON ALVAREZ             ADDRESS ON FILE
CATALINO DELGADO LOZADA            ADDRESS ON FILE
CATALINO DELGADO LOZADA            ADDRESS ON FILE
CATALINO MUNOZ FLORES              ADDRESS ON FILE
CATALINO NIEVES VAZQUEZ            ADDRESS ON FILE
CATALINO QUINONES TORO             ADDRESS ON FILE
CATALINO REYES SANTIAGO            ADDRESS ON FILE
CATALINO RIVERA RODRIGUEZ          ADDRESS ON FILE
CATALINO ROSADO RODRIGUEZ          ADDRESS ON FILE
CATALINO SALAS QUINTANA            ADDRESS ON FILE
CATALINO SERRANO LUNAS             ADDRESS ON FILE
Catalino Sosa Fonseca              ADDRESS ON FILE
CATALYST CONSULTING PSC            JARD DE MEDITERRANEO                     440 CALLE JARDIN MAGALLANES                                               TOA ALTA     PR      00953‐3648
CATALYST CONSULTING PSC            JDNS DE MEDITERRANEO                     440 PAGALLANES                                                            TOA ALTA     PR      00953
CATANO LAUNCH SERVICES INC         PO BOX 486                                                                                                         CATANO       PR      00963‐0486
CATAQUET CRUZ, JOSE                ADDRESS ON FILE
CATAQUET ROLDAN, WILLIAM           ADDRESS ON FILE
CATAQUET ROSA, DIANA V             ADDRESS ON FILE
CATAQUET ROSA, ELIZABETH           ADDRESS ON FILE
CATAQUET ROSA, ELIZABETH           ADDRESS ON FILE
CATARINEAU SUAREZ, LUZ S           ADDRESS ON FILE
CATARINEAU TROCHE, CAMELIA M       ADDRESS ON FILE
CATARINO, RICARDO                  ADDRESS ON FILE
CATASUS ZAYAS MD, UBALDO A         ADDRESS ON FILE
CATCOR SERVICES INC                PO BOX 270262                                                                                                      SAN JUAN     PR      00928




                                                                                                         Page 1419 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1420 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                           Address1                      Address2                                      Address3           Address4   City         State   PostalCode   Country
CATEC INC                               URB ALTOS DE MIRAFLORES       APT 512                                                                     DORADO       PR      00646
CATEDRAL RODRIGUEZ, ZABDI               ADDRESS ON FILE
CATELLANO TEJEDA, SANDRA                ADDRESS ON FILE
CATHELINE GALARZA, JACK                 ADDRESS ON FILE
CATHELINE GONZALEZ SANTIAGO             ADDRESS ON FILE
CATHER B CALCANO DE JESUS               ADDRESS ON FILE
CATHERINE A CZUBA                       ADDRESS ON FILE
CATHERINE ABREU VARGAS                  ADDRESS ON FILE
CATHERINE ADDERICH RAMOS                GENOVEVA VALENTÍN SOTO        PO BOX 13695                                                                SAN JUAN     PR      00908‐3695
CATHERINE AMADEO RAMOS                  ADDRESS ON FILE
CATHERINE AMARILYS PIMENTEL HERNANDEZ   ADDRESS ON FILE
CATHERINE AQUINO CUBA                   ADDRESS ON FILE
CATHERINE BAEZ VAZQUEZ                  ADDRESS ON FILE
CATHERINE BECKEDORFF                    ADDRESS ON FILE
CATHERINE CANDELARIA SANTANA            ADDRESS ON FILE
CATHERINE CRUZ ORTIZ                    ADDRESS ON FILE
CATHERINE DELGADO                       ADDRESS ON FILE
CATHERINE DELGADO DOMINGUEZ             ADDRESS ON FILE
CATHERINE DIAZ MONTIJO                  ADDRESS ON FILE
CATHERINE ECHEVARRIA DE JESUS           ADDRESS ON FILE
CATHERINE F RODRIGUEZ NUNEZ             ADDRESS ON FILE
CATHERINE FONOLLOSA LUZUNARIS           ADDRESS ON FILE
CATHERINE FRED PEREZ                    ADDRESS ON FILE
CATHERINE GONZALEZ TORRES               ADDRESS ON FILE
CATHERINE I BORRERO                     ADDRESS ON FILE
CATHERINE I FIGUEROA RIVERA             ADDRESS ON FILE
CATHERINE I. OLIVER FRANCO              ADDRESS ON FILE
CATHERINE K MARRERO FLORES              ADDRESS ON FILE
CATHERINE LEON GONZALEZ                 ADDRESS ON FILE
CATHERINE LOPEZ OSORIO                  ADDRESS ON FILE
CATHERINE LOPEZ RODRIGUEZ               ADDRESS ON FILE
CATHERINE M CENTENO CRUZ                ADDRESS ON FILE
CATHERINE M. MOREIRA CLEMENTE           ADDRESS ON FILE
CATHERINE M. RAMOS SOTO                 ADDRESS ON FILE
CATHERINE MARIE ENCARNACION TO          ADDRESS ON FILE
CATHERINE MARIE GARCIA PIEDRAHITA       ADDRESS ON FILE
CATHERINE MEJIA TORRES                  ADDRESS ON FILE
CATHERINE ORTIZ LAPIERRE                ADDRESS ON FILE
CATHERINE ORTIZ MARTINEZ                LCDA. SINIA E. PÉREZ CORREA   CALLE 65 DE INFANTERÍA #78 SUR                                              LAJAS        PR      00667
CATHERINE ORTIZ MARTINEZ                LCDA. SINIA E. PÉREZ CORREA   78 calle 65 de Infantería                                                   LAJAS        PR      00667
CATHERINE QUINONES HERNANDEZ            ADDRESS ON FILE
CATHERINE RIVERA                        ADDRESS ON FILE
CATHERINE RIVERA MATOS                  ADDRESS ON FILE
CATHERINE RIVERA MATOS                  ADDRESS ON FILE
CATHERINE RODRIGUEZ GONZALEZ            ADDRESS ON FILE
CATHERINE RODRIGUEZ SANTIAGO            ADDRESS ON FILE
CATHERINE SALICRUP SANTAELLA            ADDRESS ON FILE
CATHERINE SANTIAGO MUNIZ                ADDRESS ON FILE
CATHERINE TORRES ALVARADO               ADDRESS ON FILE
CATHERINE VAZQUEZ CRESPO                ADDRESS ON FILE
CATHERINE VEGA MORALES                  ADDRESS ON FILE
CATHERINE VELAZQUEZ TORRES              ADDRESS ON FILE
CATHERINE VELAZQUEZ TORRES              ADDRESS ON FILE
CATHIARD ALZOLA, GRETEL                 ADDRESS ON FILE
CATHLEEN MALDONADO VAZQUEZ              ADDRESS ON FILE
                                                                                                                    CARE SERVICES 17
CATHOLIC COMMUNITY SERVICES             MOUNT CARNEL GUILD HOSPITAL   COMMUNITY MENTAL HEALTH                       MULBERRY ST.                  NEWARK       NJ      07102
CATHY VALENTIN MANTILLA                 ADDRESS ON FILE
CATINCHI JAIME, HANS                    ADDRESS ON FILE
CATINCHI JAIME, STEVEN                  ADDRESS ON FILE




                                                                                                   Page 1420 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1421 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                        Address1                                        Address2                           Address3              Address4   City              State   PostalCode   Country
CATINCHI LABORDA, LUIS               ADDRESS ON FILE
CATINCHI PADILLA, ORLANDO            ADDRESS ON FILE
CATINCHI PADILLA, REINALDO           ADDRESS ON FILE
CATINCHI SOLA, JENNIFER              ADDRESS ON FILE
CATINCHI SOLA, JESSICA M.            ADDRESS ON FILE
CATLIN INSURANCE COMPANY INC         3340 PEACHTREE RD NE STE 2950                                                                                       ATLANTA           GA      30326
Catlin Insurance Company, Inc.       Attn: Andrea Bapst, Vice President              3340 Peachtree Rd. NE              Suite 2950                       Atlanta           GA      30326
Catlin Insurance Company, Inc.       Attn: Joseph Anthony Tocco, President           3340 Peachtree Rd. NE              Suite 2950                       Atlanta           GA      30326
Catlin Insurance Company, Inc.       Attn: Toni Perkins, Regulatory Compliance Govern3340 Peachtree Rd. NE              Suite 2950                       Atlanta           GA      30326
Catlin Insurance Company, Inc.       O’Hara House                                    One Bermudiana Road                                                 Hamilton                  HM 08        Bermuda
CATONI CABRERA, MICHELLE             ADDRESS ON FILE
CATONI PRADO, MARIA                  ADDRESS ON FILE
CATONI PRADO, PEDRO                  ADDRESS ON FILE
CATONI ROSARIO, JOSE                 ADDRESS ON FILE
CATONI ROSARIO, MARITZA              ADDRESS ON FILE
CATOR INC                            153 CALLE DE LA CRUZ                                                                                                SAN JUAN          PR      00901‐1624
CATPL INC                            PO BOX 277                                                                                                          PATILLAS          PR      00723
CATSKILL REGIONAL MEDICAL CENTER     PO BOX 800                                                                                                          HARRIS            NY      12742
CAUDAL DE QUIEBRAS KAREN RODRIGUEZ   100 CARR 165 STE 50                                                                                                 GUAYNABO          PR      00968
CAUDALES CEPERO, ROLANDO             ADDRESS ON FILE
CAUDALES RUIZ,ROLANDO                ADDRESS ON FILE
CAUDILL FERNANDEZ, ROGER             ADDRESS ON FILE
CAUSSADE FIGUEROA, HECTOR M          ADDRESS ON FILE
CAUSSADE PEREZ, IVETTE M             ADDRESS ON FILE
CAUSSADE RIVERA, ARMANDO             ADDRESS ON FILE
CAUSSADE RIVERA, CARLOS              ADDRESS ON FILE
CAUSSADE VEGLIO MD, EDUARDO I        ADDRESS ON FILE
CAUSSADE VEGLIO, IRMA                ADDRESS ON FILE
CAUTINO ACABEO, LIZ                  ADDRESS ON FILE
CAUTINO ANTONGIORGI, BEATRICE        ADDRESS ON FILE
CAUTINO ANTONGIORGI, BEATRICE        ADDRESS ON FILE
CAUTINO ORTIZ, ELIZABETH             ADDRESS ON FILE
CAUTINO SEMIDEY, DOMINGO             ADDRESS ON FILE
CAV PRODUCTIONS INC                  COND LAS CARMELITAS                             364 CALLE SAN JORGE APT 2H                                          SAN JUAN          PR      00912‐3336
CAVA CONSTRUCTION INC                PO BOX 3667                                                                                                         SAN SEBASTIAN     PR      00685
CAVALLIN CALANCHE, HUMBERTO          ADDRESS ON FILE
CAVAZOS GUTIERREZ, BLANCA E.         ADDRESS ON FILE
CAVAZOS FIGUEROA, ALEX               ADDRESS ON FILE
CAVE CONSULTING GROUP INC            P O BOX 1510                                                                                                        TRUJILLO ALTO     PR      00977‐1510
CAVERO CONTRERAS, NEVENKA            ADDRESS ON FILE
CAVERO SANCHEZ, JOSE                 ADDRESS ON FILE
CAVO FERNANDEZ, JOSE A.              ADDRESS ON FILE
CAVO FERNANDEZ, MARGARITA            ADDRESS ON FILE
CAY FRANK RIVERA RODRIGUEZ           LCDA. CARMEN AMY ROMÁN Y LCDO. HÉCTOR RIPO BOX 9023954 OLD SAN JUAN STATION                                         SAN JUAN          PR      00902‐3954
CAY FRANK RIVERA RODRIGUEZ           LCDA. LUZ QUIÑONES RIVERA Y LCDA. LESLIE A. HGOBIERNO MUNICIPAL AUTÓNOMO DE CAROLINAPARTADO 8                       CAROLINA          PR      00986
                                                                                                                        30A‐10 AVE. ROBERTO
CAY FRANK RIVERA RODRIGUEZ           LCDO. ERICK E. KOLTHOFF BENNERS‐ABOGADO DURB. VILLA CAROLINA                       CLEMENTE                         CAROLINA          PR      00985
CAY LOPEZ, CARMEN D                  ADDRESS ON FILE
CAY LOPEZ, ISOLINA                   ADDRESS ON FILE
CAY PEREZ, LUIS                      ADDRESS ON FILE
CAY TORRES, ERIKA                    ADDRESS ON FILE
CAY VILA, SONIA                      ADDRESS ON FILE
CAYCE FAMILY HEALTH CARE             617 SOUTH 8TH STREET                                                                                                NASHVILLE         TN      37206
CAYERE JORDAN, LUIS                  ADDRESS ON FILE
CAYERE MORALES, ALEXELENA            ADDRESS ON FILE
CAYETANO CABRERA MALAVE              ADDRESS ON FILE
CAYETANO RIVERA CARABALLO            ADDRESS ON FILE
CAYEY HOSPITAL & MEDICAL SUPLY       109 MUNOZ RIVERA ALTOS                                                                                              CAYEY             PR      00737
CAYEY HOSPITAL & MEDICAL SUPPLY      109 MUNOZ RIVERA ALTOS                                                                                              CAYEY             PR      00737
CAYEY HOSPITAL & MEDICAL SUPPLY      BOX 1088                                                                                                            CAYEY             PR      00737




                                                                                                          Page 1421 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1422 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                           Address1                                 Address2                                     Address3   Address4   City              State   PostalCode   Country
CAYEY HOSPITAL & MEDICAL SUPPLY         MUNOZ RIVERA 109 ALTOS                                                                                      CAYEY             PR      00737
CAYEY OPTICAL OUTLET INC                CALLE JOSE DE DIEGO                      ESQ PALMER 12                                                      CAYEY             PR      00736
CAYEY VISUAL CENTER CORP                URB EL ROCIO                             4 CALLE MADRESELVA                                                 CAYEY             PR      00736
CAYO COCO LLC H/N/C/ SUBWAY             P O BOX 16665                                                                                               SAN JUAN          PR      00908‐6665
CAYO SAN PATRICIO CORP                  P O BOX 12011                                                                                               SAN JUAN          PR      00914
CAYUGA MEDICAL CENTER AT ITHACA         101 DATES DRIVE                                                                                             ITHACA            NY      14850
CAZANO, EMILIO                          ADDRESS ON FILE
CAZARES MD, CARLOS                      ADDRESS ON FILE
CAZUELO CORPORATION                     P O BOX 364588                                                                                              SAN JUAN          PR      00936‐4588
CAZUL GARCIA, MARGARITA                 ADDRESS ON FILE
CB ADVERTISING LLC                      37 CALLE REGINA MEDINA                   COND ATRIUM PARK APT C702                                          GUAYNABO          PR      00969
CB ADVERTISING LLC                      CALLE REGINA MEDINA #37 COND. ATRIUM PARK APT. C702                                                         GUAYNABO          PR      00969
CB OPTICAL SERVICE INC                  167 CALLE COMERIO                                                                                           BAYAMON           PR      00959
CBC BOARDMEN CALLAGHAM
CBC COSTRUCTION SERVICES LLC            URB MACHIN                               A22 CALLE SALUSTIANO COLON                                         CAGUAS            PR      00725
CBC OFFICE PRODUCTS, INC                PO BOX 330645                                                                                               PONCE             PR      00733‐6399
CBC OFFICE PRODUCTS, INC                PO BOX 336399                                                                                               PONCE             PR      00733‐6399
CBC OFFICE PRODUCTS, INC                PO BOX 7202                                                                                                 PONCE             PR      00732‐7202
CBF PEDIATRIC SERVICES CSP              MIRAMAR PLAZA                            101 AVE SAN PATRICIO STE 1060                                      GUAYNABO          PR      00969
CBL REALTY S E                          EDIF POPULAR CENTER                      209 AVE MUNOZ RIVERA STE 1833                                      SAN JUAN          PR      00918
CBL REALTY S E                          POPULAR CENTER                           209 AVE MUNOZ RIVERA STE 1800                                      SAN JUAN          PR      00918
CBM CAPITAL BUILDING MAINTENANCE INC    PUERTO NUEVO                             1310 CALLE DELTA                                                   SAN JUAN          PR      00920
CBM CAPITAL BUILDING MAINTENANCE, INC   1310 CALLE DELTA                         URB PUERTO NUEVO                                                   SAN JUAN          PR      00920
CBOPC CHAMPVA                           ADDRESS ON FILE
CBP CONSTRUCTION & REMODELING           130 WINSTON CHURCHILL AVE STE 1 PMB                                                                         SAN JUAN          PR      00926‐6018
CBRE GCS INC PUERTO RICO                2100 ROSS AVE STE 1600                                                                                      DALLAS            TX      75201‐6714
CBS AUTO PARTS INC                      PO BOX 90                                                                                                   TRUJILLO ALTO     PR      00978‐0090
CBS CORPORATION                         51 WEST 52ND STREET ROOM 17‐22                                                                              NEW YORK          NY      10019
CBS OUTDOOR PUERTO RICO INC             P O BOX 71383                                                                                               SAN JUAN          PR      00936‐8483
CBS OUTDOOR PUERTO RICO, INC            PO BOX 365042                                                                                               SAN JUAN          PR      00936‐5042
CBS PROSERVICES LLC                     PO BOX 327479                                                                                               SAN JUAN          PR      00936‐7479
CC COMERCIAL DEVELOPMENT LLC            MERCANTIL PLAZA                          STE 1602 AVE PONCE DE LEON                                         SAN JUAN          PR      00918‐1621
CC CONTRACTORS CORPORATION              PO BOX 79462                                                                                                CAROLINA          PR      00984‐9462
CC FARM INC                             RR 01 BOX 44907                                                                                             SAN SEBASTIAN     PR      00685
CC FARM INC                             RR 1 BOX 44907                                                                                              SAN SEBASTIAN     PR      00685
CC INVESTIGATION SECURITY GROUPS        VILLA NEVAREZ                            1094 CALLE 1                                                       SAN JUAN          PR      00927‐5129
CC PSYCOLOGICAL & CONSULTING GROUP CORP AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
CC PSYCOLOGICAL & CONSULTING GROUP CORP COND EL MONTE SUR                        APTO 520 B                                                         SAN JUAN          PR      00918
CC PSYCOLOGICAL & CONSULTING GROUP CORP CONDOMINIO EL MONTE SUR                  SECCION 180 APT 520‐B                                              SAN JUAN          PR      00918
CC RECICLAGE DEL NORTE INC              PO BOX 1822                                                                                                 HATILLO           PR      00659‐1822
CC TECH, CORP                           PO BOX 474                                                                                                  MAYAGUEZ          PR      00681
CC1 LIMITED PARTNERSHIP                 AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
CC1 LIMITED PARTNERSHIP                 PO BOX 51885                                                                                                TOA BAJA          PR      00950‐1985
CC1 LIMITED PARTNERSHIP                 PO BOX 51985                                                                                                TOA BAJA          PR      00950
CC1 LIMITED PARTNESHIP                  PO BOX 51985                                                                                                TOA BAJA          PR      00950
CCA CONSULTING GROUP, INC DBA           COMPUTER PRO                                                                                                SAN JUAN          PR      00927‐0283
CCALA CORP                              AVE ROOSEVELT 400 STE 301                                                                                   SAN JUAN          PR      00918‐2162
CCC ELECTRICAL CONTRACTOR               PO BOX 675                                                                                                  COROZAL           PR      00783
CCD ABC EL PRADO                        CALLE ITALIA # 420 URB. EL PRADO                                                                            SAN JUAN          PR      00917
CCD ABRAZO MATERNAL                     4 BRISAS DEL CAMPO                                                                                          CIDRA             PR      00739‐9506
CCD AGARRADITOS DE LA MANO              URB COLINAS DE MARQUEZ C 12 CALLE MONSERRATE                                                                VEGA BAJA         PR      00693
CCD AMIGUITOS INC.                      URB. GARDENS #400 CALLE CAOBA                                                                               FAJARDO           PR      00738
CCD AMOR                                AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
CCD AMOR                                BO QUEBRADA GRANDE                       NC 01 BOX 4333                                                     BARRANQUITAS      PR      00794
CCD ANDARINES DAY CARE INC.             PO BOX 367479                                                                                               SAN JUAN          PR      00936‐7479
CCD ARRULLO MATERNAL INC                PO BOX 1347                                                                                                 OROCOVIS          PR      00720
CCD ASTURIAS LITTLE SCHOOL              PO BOX 8771                                                                                                 CAROLINA          PR      00987
CCD BABIES FIRST STEPS                  CALLE RODRIGUEZ EMA #22 PALMAR NORTE                                                                        CAROLINA          PR      00979
CCD BENJAMINS DAY CARE                  URB. HNAS DAVILA B‐22 CALLE B                                                                               BAYAMON           PR      00957
CCD BORINQUEN BILINGUAL SCHOOL          PO BOX 4044                                                                                                 AGUADILLA         PR      00603




                                                                                                            Page 1422 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1423 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                                   Address2                                  Address3         Address4   City            State   PostalCode   Country
CCD BURBUJITAS INFANTILES INC.          PO BOX 750                                                                                                       JUNCOS          PR      00777
CCD CARITAS FELICES INC.                URB.MARIANI 3008 C ROOSEVELT                                                                                     PONCE           PR      00717‐1229
CCD CARRUSEL                            URB. FOREST VIEW CALLE ESPANA A K‐191                                                                            BAYAMON         PR      00956
CCD Casa Montessori del Verde           HC 5 BOX 8521                                                                                                    RIO GRANDE      PR      00745
CCD CENTRO MET INC.                     PO BOX 7601 BO OBRERO                                                                                            SAN JUAN        PR      00915
CCD CHILDREN ZONE INC.                  URB. FOREST VIEW H‐234 CALLE SOFIA                                                                               BAYAMON         PR      00956
CCD CINDERELLA NURSERY INC              CALLE COQUI 720 MIRADERO GARDENS                                                                                 MAYAGUEZ        PR      00680
CCD COLORIN COLORADO                    349 AVE WINSTON CHURCHILL                                                                                        SAN JUAN        PR      00924
CCD CRISTIANO ARCA DE NOE               URB VILLA AVE ROBERTO CLEMENTE #24 ‐ 5                                                                           CAROLINA        PR      00985
CCD CRISTIANO EL ARCA INFANTIL          URB METROPOLIS G‐12 CALLE 12                                                                                     CAROLINA        PR      00987
CCD DENIKO INC.                         PMB 55 BOX 3504                                                                                                  JUANA DIAZ      PR      00795
CCD DIVERSION Y ENSENANZA               AVENIDA MUNOZ RIVERA 1587                                                                                        PONCE           PR      00717‐0211
CCD DIVINO NINO DAY CARE                116 CALLE ISMAEL RIVERA                                                                                          SAN JUAN        PR      00911‐2314
CCD EL BUEN PASTOR                      PO BOX 50205                                                                                                     TOA BAJA        PR      00950‐0205
CCD EL GUARDIAN DE LOS NINOS            PO BOX 6004 PMB 204                                                                                              VILLALBA        PR      00766
CCD EL PALACIO DE LOS NINOS             VISTAS DE II 562 CALLE ICACO                                                                                     RIO GRANDE      PR      00745
CCD EL PEQUENO PRINCIPE                 VILLA CALLE 82 BLOQ. 108 #22                                                                                     CAROLINA        PR      00985
CCD EL PEQUENO PRINCIPE CORP            AVE ROBERTO CLEMENTE Y                     108‐22 CENTRAL BOULEVARD                  VILLA CAROLINA              CAROLINA        PR      00985
CCD EL QUILLET DE LOS NINOS             URB.SANTA JUANA CALLE 2 K‐26                                                                                     CAGUAS          PR      00725
CCD EL TRIUNFO                          PO BOX 20197                                                                                                     SAN JUAN        PR      00928
CCD ESCUELA CASA BAMBINI                PO BOX 332                                                                                                       VEGA BAJA       PR      00694‐0332
CCD ESQUILIN MANGUAL                    URB.BAIROA CALLE 1 BZ‐4                                                                                          CAGUAS          PR      00725
CCD GALLERY KIDS                        URB. LOMAS VERDES AVE. NOGAL 915 BLQ.2                                                                           BAYAMON         PR      00956
CCD GENERACION FUTURA                   PO BOX 480                                                                                                       YAUCO           PR      00698
CCD GOTITAS DE AMOR INC.                COLINAS DEL OESTE G‐5 CALLE 9                                                                                    HORMIGUEROS     PR      00660
CCD GUAYNABO DAY CARE                   PO BOX 1078                                                                                                      GUAYNABO        PR      00970
CCD HABACUC INC.                        PO BOX 172                                                                                                       ANASCO          PR      00610
CCD HAPPY LITTLE STEP INC.              URB CONSTANCIA AVE LAS AMERICA NUM 2625                                                                          PONCE           PR      00717‐1229
CCD HAPPY WORLD KIDS                    COND PARQUE DE SAN ANTRON #6 CALLE ROMA RIVERA APT. 603                                                          CAROLINA        PR      00987
CCD JARDIN DE LOS DUENDECITOS           PO BOX 574                                                                                                       SAINT JUST      PR      00978
CCD JARDIN INF PACHEQUIN I              EXT.SANTA TERESITA 3431 C SANTA ANASTASIA                                                                        PONCE           PR      00730‐4606
CCD KERUBIN                             4 AVE CALLE MUNOZ RIVERA                                                                                         LAS PIEDRAS     PR      00771
CCD Kid s Planets                       URB. MONTE CARLO #1267 AVE. MONTE CARLO                                                                          SAN JUAN        PR      00924
CCD KIDS FUN HOUSE & SCHOOL             PMB STE 216 90 AVE RIO HONDO                                                                                     BAYAMON         PR      00961‐3105
CCD KOQUIMAR DAY CARE                   URB. VILLA CONTESSA F‐3 CALLE CASTILLA                                                                           BAYAMON         PR      00956
CCD KYP ACADEMY CORP.                   URB HERMANAS DAVILA 287 CALLE 2                                                                                  BAYAMON         PR      00959‐5160
CCD LA CASITA DE MAMI                   URB.BAIROA PARK 2H 44 CALLE PA CONDADO                                                                           CAGUAS          PR      00727‐1121
CCD La Casita Del Saber Inc.            PO BOX 1206                                                                                                      COROZAL         PR      00783
CCD LA ESCUELITA DE ANASTACIA           URB.BRISAS DE #3 CALLE 4                                                                                         CEIBA           PR      00735
CCD LICEO INFANTIL NIEVES               URB. VILLA FONTANA PARK 5X18 PARQUE ASTURIAS                                                                     CAROLINA        PR      00983
CCD LITTLE CITIZENS                     C BETANCES C 186 URB HEMANAS DAVILAS                                                                             BAYAMON         PR      00959
CCD LITTLE IN ACTION DAY CARE           URB. SANTA JUANITA TT‐17 AVE. LOMAS VERDES                                                                       BAYAMON         PR      00956
CCD LITTLE PARADISE SCHOOL              PO BOX 324                                                                                                       MOCA            PR      00676
CCD LITTLE ROCKS DAY CARE               URB. REXVILLE CALLE 57 AJ‐9                                                                                      BAYAMON         PR      00956
CCD LOREVAN DAY CARE& LEARNING CENTER   1 SECC. LEVITTOWN 1447 AVE. BOULEVARD                                                                            TOA BAJA        PR      00949
CCD LOS BEBES DEL MILENIO               URB. LA ROSALEDA CALLE ROSA DE TE #110                                                                           TOA BAJA        PR      00949
CCD MI 1RA ENSENANZA                    PO BOX 886                                                                                                       LAS PIEDRAS     PR      00771
CCD Mi Centro Familiar CREARTE          PO BOX 190969                                                                                                    SAN JUAN        PR      00923
CCD MI NUEVA CASITA INC.                URB. ALTAMESA 1427 AVE. SAN IGNACIO                                                                              SAN JUAN        PR      00921‐4718
CCD MI PARAISO INFANTIL                 CALLE ANTONIO PAOLI HF‐8 URB LEVITTOWN 7MA SECCION                                                               TOA BAJA        PR      00949
CCD MI PEQUENO ANGELITO                 PMB 131 AVE.SAN CLAUDIO #352                                                                                     SAN JUAN        PR      00926
CCD MI PEQUENO CASTILLO INFANT          PO BOX 1427                                                                                                      JUNCOS          PR      00777
CCD MI PEQUENO CORAZON                  URB BRISAS DE MONTECASINO CALLE BATEY APARTADO 452                                                               TOA ALTA        PR      00953‐3834
CCD MI PEQUENO EDEN                     PO BOX 2256                                                                                                      VEGA BAJA       PR      00693
CCD MI REINO INFANTIL                   URB VILLA ANDALUCIA AVE FRONTERA L 4                                                                             SAN JUAN        PR      00926
CCD MI RINCON DE APRENDIZAJE            46 ALTURAS DE LOS PINEIROS                                                                                       CAYEY           PR      00736‐9319
CCD MONTESSORI DE GUAYNABO              VILLA CLEMENTINA G‐20 MARGARITA                                                                                  GUAYNABO        PR      00969
CCD MUNDO INFANTIL INC                  650 AVE TERESA JOURNET                                                                                           MAYAGUEZ        PR      00682
CCD MY LITTLE YOUNGLINGS                URB. SANTA JUANITA V‐25 CALLE LAREDO                                                                             BAYAMON         PR      00956
CCD New Vision Bilingual Sc             VILLA AVE ROBERTO CLEMENTE D 3                                                                                   CAROLINA        PR      00985




                                                                                                              Page 1423 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1424 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                              Address1                                  Address2                             Address3   Address4   City             State   PostalCode   Country
CCD PRECIOUS KIDS INC.                     URB MONTE CLARO PLAZA 30 MN‐31                                                                       BAYAMON          PR      00961
CCD PRE‐ESCOLAR NIM                        URB. LOMAS VERDES AVE. LOMAS VERDES 3 G‐7                                                            BAYAMON          PR      00956
CCD RAICES DE MI TIERRA                    PO BOX 528                                                                                           CIDRA            PR      00739
CCD SONRISITAS DE AMOR INC.                HC‐05 BOX 16910                                                                                      YABUCOA          PR      00767
CCD STEP BY STEP                           PO BOX 4402                                                                                          VEGA BAJA        PR      00693‐4402
CCD STGO.IGLESIAS                          AVE. PAZ GRANELA #1383 SANTIAGO IGLESIAS                                                             SAN JUAN         PR      00921
CCD TITI MILLIE DAY CARE INC.              BDA. ESPERANZA #52 CALLE 2                                                                           GUANICA          PR      00653
CCD VIMAIDY                                LOMAS DE CALLE 53 A BLQ 2 H‐3                                                                        CAROLINA         PR      00987
CCD VIMAYDI DBA CARMEN L CARTAGENA         LOMAS DE CAROLINA                         2H3 CALLE 53A                                              CAROLINA         PR      00987
CCD WALKING KIDS CENTER INC                URB BERWIND ESTATES U‐11 CALLE 18                                                                    SAN JUAN         PR      00924‐5713
CCD WE LOVE KIDS INC.                      HC‐02 BUZON 14181                                                                                    CAROLINA         PR      00984
CCD WINNIES SPECIAL PLACE INC              PO BOX 1497                                                                                          GUAYAMA          PR      00785
CCD WORLD CHILDREN SCHOOL                  URB. VILLA PRADES AVE. JULIO ANDINO 684                                                              SAN JUAN         PR      00924
CCDA UPR                                   P O BOX 22325                                                                                        SAN JUAN         PR      00931‐2325
CCDN ABRAHAM LINCOLN BILINGUAL             PO BOX 5214                                                                                          AGUADILLA        PR      00605
CCDN ACADEMIA DAILEEN                      COLINAS SAN JOSE #1                                                                                  UTUADO           PR      00641
CCDN ADONAI DAY CARE & LEARNIN             URB NORTE I 16 CALLE OSLO                                                                            CAGUAS           PR      00725
CCDN ALITAS DE ANGEL                       PO BOX 3278                                                                                          MANATI           PR      00674
CCDN AMADEL                                URB VILLA BLANCA 13 CALLE RUBI                                                                       CAGUAS           PR      00725
CCDN ARCOIRIS                              PO BOX 1973                                                                                          HATILLO          PR      00659
CCDN BAMBI                                 HC 03 BOX 11215                                                                                      CAMUY            PR      00627
CCDN CHIKITINES                            PO BOX 141957                                                                                        ARECIBO          PR      00614
CCDN CHIQUIMAGICO INC.                     URB VILLA BLANCA 1 CALLE GRANATE                                                                     CAGUAS           PR      00725
CCDN COLEGIO SAN JOSE                      C ROLANDO CABANAS 34 SEC. SAN JOSE                                                                   UTUADO           PR      00641
CCDN CORAZONCITO                           RR 10 BOX 10110                                                                                      SAN JUAN         PR      00926
Ccdn Dejando Huellas                       BUZON 590 BO SANTANA                                                                                 ARECIBO          PR      00612
CCDN DESARROLLO INF LEEMAR                 URB NORTE D‐27 C ESTAMBUL                                                                            CAGUAS           PR      00725
CCDN EL PARAISO                            PO BOX 1272                                                                                          MANATI           PR      00674
CCDN JUST FOR KIDS                         URB. VILLA BLANCA #35 CALLE AMATISTA                                                                 CAGUAS           PR      00725
CCDN LITTLE FRIENDS DAY CARE               URB. COSTA NORTE 142 AVE. LAS OLAS                                                                   HATILLO          PR      00659
CCDN MI PEQUENO MUNDO INFANTIL             PO BOX 1780                                                                                          HATILLO          PR      00659
CCDN MIS QUERUBINES                        PO BOX 5796                                                                                          CAGUAS           PR      00725
CCDN MPJV LEARNING CENTER INC              PO BOX 1354                                                                                          QUEBRADILLAS     PR      00678
CCDN MY LITTLE SCHOOL INC.                 RR‐1 BOX 11951 BO. BOQUILLA                                                                          MANATI           PR      00674
CCDN NINOS EN ACCION DE CIDRA              PO BOX 850                                                                                           CIDRA            PR      00739
CCDN NINOS EXPLORADORES INC.               URB. BAIROA BF‐10 CALLE LA PINTA                                                                     CAGUAS           PR      00725
CCDN PEQUENOS SONADORES                    URB BRISAS DEL NORTE                      503 CALLE ARGENTINA                                        MOROVIS          PR      00682
CCDN RAYITO DE SOL                         PO BOX 141242                                                                                        ARECIBO          PR      00614
CCDN SONRISAS I.TORRES BENITEZ             URB NOTRE DAME C BARTOLOME B‐20                                                                      CAGUAS           PR      00725
CCDV PEQUENOS SONADORES                    BRISAS DEL NORTE                          503 CALLE ARGENTINA                                        MOROVIS          PR      00687
CCH INCORPORATED                           PO BOX 4307                                                                                          CAROL STREAM     IL      60197‐4307
CCH TEAMMATE                               PO BOX 842014                                                                                        BOSTON           MA      02284‐2014
CCHPR HOSPITALITY LLC                      200 CONVENTION BLVD                                                                                  SAN JUAN         PR      00907
CCHPR HOSPITALITY LLC                      200 CONVENTION CENTER                                                                                SAN JUAN         PR      00907
CCHPR HOSPITALITY, INC                     P O BOX 9066526                                                                                      SAN JUAN         PR      00906‐6526
CCHPR HOSPITALITY, INC                     PO BOX 9570                                                                                          SAN JUAN         PR      00908‐9570
CCHPR HOSPITALITY, LLC                     P O BOX 9066526                                                                                      SAN JUAN         PR      00906‐6526
CCHPR HOSPITALITY, LLC                     SHERATON PUERTO RICO HOTEL & CASINO       200 CONVENTIO                                              SAN JUAN         PR      00907
CCI GROUP LLC                              111 W 16TH AVE STE 401                                                                               ANCHORAGE        AK      99501
CCI LIMITED PARTNERSHIP DBA COCA COLA PR BOPO BOX 51985                                                                                         TOA BAJA         PR      00950‐1985
CCPR SERVICES INC H/N/C AT&T MOBILITY      4513 WESTERN AVENUE                                                                                  LISLE            IL      60532
CCPR SERVICES INC H/N/C AT&T MOBILITY      PO BOX 71514                                                                                         SAN JUAN         PR      00936‐8614
CCPR SERVICES INC H/N/C AT&T MOBILITY      PO BOX 192830                                                                                        SAN JUAN         PR      00919 2830
CCPR SERVICES INC H/N/C AT&T MOBILITY      PO BOX 70261                                                                                         SAN JUAN         PR      00936‐8261
CCR GROUP PROJECT MANAGEMENT &             CONSULTING SERVICES                       PO BOX 371                                                 GURABO           PR      00778
CCR GROUP, PROJECT MANAGEMENT              PO BOX 361349                                                                                        SAN JUAN         PR      00936‐1349
CCR TRANSPORT CORP                         PO BOX 1865 AVE D‐2 M‐97                                                                             CAROLINA         PR      00984‐1865
CCR TRANSPORT CORP.                        PO BOX 1865                                                                                          CAROLINA         PR      00984‐1865
CCS , INC                                  P. O. BOX 11956                                                                                      SAN JUAN         PR      00922‐0000
CCS CARIBBEAN COMMUNICATION SOLUTION IN PMB 338                                      PO BOX 194000                                              SAN JUAN         PR      00962




                                                                                                           Page 1424 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1425 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                           Address1                              Address2                                   Address3            Address4   City              State   PostalCode    Country
CCS CARIBBEAN COMMUNICATION SOLUTION IN PO BOX 71330                                                                                                    SAN JUAN          PR      00936‐8430
CCS CARIBBEAN COMMUNICATIONS SOLUTIONS PMB 338 P.O. BOX 194000                                                                                          SAN JUAN          PR      00962‐0000
CCSS                                    405 AVE ESMERALDA                     PMB 130                                                                   GUAYNABO          PR      00969‐4466
CCTV DESIGNERS                          PO BOX 6518                                                                                                     BAYAMON           PR      00960
CCVA INC Y/O VICTOR L GONZALEZ BARAHONA PO BOX 190525                                                                                                   SAN JUAN          PR      00919
CD BUILDERS INC                         PO BOX 1333                                                                                                     GURABO            PR      00778‐1333
CD CONCIERGE SERVICES CORP              URB METROPOLIS                        GI40 CALLE 1                                                              CAROLINA          PR      00987
CD CONSULTANS P S C                     318 AVE DE DIEGO STE 206                                                                                        SAN JUAN          PR      00909
CD CONSULTANTS                          CON JARD DEL PARQUE                   44 BLVD MEDIA LUNA 401                                                    CAROLINA          PR      00987
CD CONSULTING AND MANAGEMENT, CORP      URB METROPOLIS                        GI40 CALLE 1                                                              CAROLINA          PR      00987‐7431
CD SERVICES CORP                        GALERIA PASEOS                        100 GRAND PASEO BLVD STE 112 PMB 412                                      SAN JUAN          PR      00926‐5955
CDA AUTOMOTIVE REPAIRS                  PO BOX 3183                                                                                                     CAROLINA          PR      00985‐3183
CDE DEVELOPMENT INC                     7 CALLE TEODOMIRO DELFARES                                                                                      JUNCOS            PR      00777
CDE DEVELOPMENT INC                     URB MUNOZ RIVERA                      17 CALLE ZAFIRO                                                           GUAYNABO          PR      00969
CDI HEAD START                          9745 E HAMPDEN AVE STE 310                                                                                      DENVER            CO      80231‐4923
CDI HEAD START                          P O BOX 537                                                                                                     CANOVANAS         PR      00729‐0537
CDI HEAD START                          PO BOX 9148                           PLAZA CAROLINA STATION                                                    CAROLINA          PR      00988‐9148
CDI LOS DUENDECILLOS                    URB AMERICO MIRANDA #1420                                                                                       SAN JUAN          PR      00920
CDIR BEAUTY SUPPLY                      PO BOX 8628                                                                                                     BAYAMON           PR      00960
CDJ GRAPHIC                             P O BOX 10080                                                                                                   SAN JUAN          PR      00908
CDM CARIBBEAN ENGINEERRS PSC            VIG TOWER                             1225 PONCE DE LEON AVE SUITE 603                                          SAN JUAN          PR      00907
CDO GROUP PSC                           252 PONCE DE LEON AVE                 CITY TOWERS SUITE 501                                                     SAN JUAN          PR      00918
CDO GROUP, P.S.C.                       644 FERNANDEZ JUNCOS AVE.             DISTRICT VIEW PLAZA SUITE 301                                             SAN JUAN          PR      000907‐3122
                                                                                                                         252 PONCE DE LEON
CDO GROUP, P.S.C.                        CITY TOWER                           SUITE 501                                  AVE.                           SAN JUAN          PR      00918
CDT CENTRO DE SERVICIOS MEDICO           PO BOX 6598                                                                                                    BAYAMON           PR      00960
CDT DR A OLIVERAS GUERRA SABANA LLANA    DEPARTAMENTO DE SALUD                RIO PIEDRAS STA                            PO BOX 21405                   SAN JUAN          PR      00928
CDT DR ARNALDO J GARCIA LLORENS TORRES   RES LLORENS TORRES CALLE ANTILLANA                                                                             SAN JUAN          PR      00914‐9998
CDT DR CAPARROS INC                      2 CALLE BETANCES                                                                                               UTUADO            PR      00641‐2932
CDT DR ENRIQUE KOPPISCH SAN JOSE
CDT DR GUALBERTO RABELL HOARE            RIO PIEDRAS STATION                  PO BOX 21405                                                              SAN JUAN          PR      00928
CDT DR JAVIER ANTON RIO PIEDRAS          RIO PIEDRAS STATION                  PO BOX 21405                                                              SAN JUAN          PR      00928
CDT DR JOSE LOPEZ ANTONGIORGI PUERTO NUEVDEPARTAMENTO DE SALUD                RIO PIEDRAS STA                            PO BOX 21405                   SAN JUAN          PR      00928
CDT DR JOSE S BELAVAL BO OBRERO          BO STATION                           PO BOX 14457                                                              SAN JUAN          PR      00916
CDT DR MANUEL QUEVEDO BAEZ PUERTA DE TIE DEPARTAMENTO DE SALUD                RIO PIEDRAS STA                            PO BOX 21405                   SAN JUAN          PR      00928
CDT DR. MELENDEZ INC.                    PO BOX 1019                                                                                                    MANATI            PR      00674‐1019
CDT G M S P INC                          URB SANTA CRUZ                       B7 CALLE SANTA CRUZ                                                       BAYAMON           PR      00961‐6902
CDT HORMIGUEROS PREVENTIVE MED INC       PO BOX 1550                                                                                                    HORMIGUEROS       PR      00660‐5550
CDT MARICAO MEDICAL CENTER,LLC           AVENIDA LUCHETTI #1                                                                                            MARICAO           PR      00606
CDT PEPINO HEALTH GROUP                  P.O. BOX 1537                                                                                                  SAN SEBASTIAN     PR      00685‐0000
CDT POLICLINICA SAN PEDRO                PO BOX 818                                                                                                     ARROYO            PR      00714
CDT RECORDS INC                          PO BOX 360160                                                                                                  SAN JUAN          PR      00936‐0160
CDT SINGAPUR JUANA DIAZ                  CDT PLAYA PONCE                      PO BOX 220                                                                MERCEDITA         PR      00715‐0220
CDW CORPORATION                          75 RENITTENCE DR SOUTH 1550                                                                                    CHICAGO           IL      60675
CDY MARIE ORTIZ MARRERO                  RR 11 BOX 5764                       BO NUEVO                                                                  BAYAMON           PR      00956
CEARA ALMODOVAR, ILSA D.                 ADDRESS ON FILE
CEARA, ISSA D.                           ADDRESS ON FILE
CEBALLO MARTINEZ, CARMEN L.              ADDRESS ON FILE
CEBALLO MILLAN, JESUS                    ADDRESS ON FILE
CEBALLO PAREDES, NOELIA                  ADDRESS ON FILE
CEBALLO PIZARRO, EULALIA                 ADDRESS ON FILE
CEBALLO, JOSE                            ADDRESS ON FILE
CEBALLOS BELTRAN, MARIA M.               ADDRESS ON FILE
CEBALLOS BELTRAN,SHEILA                  ADDRESS ON FILE
CEBALLOS CALDERON, DEBORAH               ADDRESS ON FILE
CEBALLOS CEPEDA, ERICK                   ADDRESS ON FILE
CEBALLOS CEPEDA, NORA M                  ADDRESS ON FILE
CEBALLOS COLUMNA LAW OFFICES P           PO BOX 82                                                                                                      BAYAMON           PR      00960
CEBALLOS CRUZ, LUREIMY                   ADDRESS ON FILE
CEBALLOS CRUZ, PEDRO                     ADDRESS ON FILE




                                                                                                          Page 1425 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1426 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEBALLOS FUENTES, CARMEN L             ADDRESS ON FILE
CEBALLOS FUENTES, RUTH E.              ADDRESS ON FILE
CEBALLOS GERMOSEN, MAYSA E.            ADDRESS ON FILE
CEBALLOS GERMOSEN, MAYSA E.            ADDRESS ON FILE
CEBALLOS GONZALEZ, DIANA               ADDRESS ON FILE
CEBALLOS GONZALEZ, JUAN A.             ADDRESS ON FILE
CEBALLOS HERNANDEZ, JOSE               ADDRESS ON FILE
CEBALLOS LLANOS, CELIANNE              ADDRESS ON FILE
CEBALLOS LORENZO, GERMAN               ADDRESS ON FILE
CEBALLOS MARCANO, AIDA I               ADDRESS ON FILE
CEBALLOS MARCANO, AIDA I               ADDRESS ON FILE
CEBALLOS MARCANO, JOSE A               ADDRESS ON FILE
CEBALLOS MARTINEZ, PEDRO               ADDRESS ON FILE
CEBALLOS MOLINA, BRENDA L              ADDRESS ON FILE
Ceballos Molina, Carmen G              ADDRESS ON FILE
CEBALLOS MOLINA, MARIA D               ADDRESS ON FILE
CEBALLOS MOLINA, MARIA DE              ADDRESS ON FILE
CEBALLOS OSORIO, RODOLFO               ADDRESS ON FILE
CEBALLOS OSORIO, ZELMA I.              ADDRESS ON FILE
CEBALLOS OSORIO, ZELMA I.              ADDRESS ON FILE
CEBALLOS PEREZ, SONIA E                ADDRESS ON FILE
CEBALLOS PIZARRO, NATHALYS             ADDRESS ON FILE
CEBALLOS QUINONES, HAYDEE              ADDRESS ON FILE
CEBALLOS QUINONES, MIGUEL              ADDRESS ON FILE
CEBALLOS RAMOS, XIOMARA E.             ADDRESS ON FILE
CEBALLOS RODRIGUEZ, JEISA              ADDRESS ON FILE
CEBALLOS ROLDAN, MELCHOR               ADDRESS ON FILE
CEBALLOS TORIBIO, ALEXANDER            ADDRESS ON FILE
CEBALLOS TORIBIO, ALEXIS               ADDRESS ON FILE
CEBALLOS VINAS, MARIA                  ADDRESS ON FILE
CEBOLLERO MARTINEZ, JOHANNA            ADDRESS ON FILE
CEBOLLERO BADILLO, JOSE R.             ADDRESS ON FILE
CEBOLLERO BERMUDEZ, MIREYA             ADDRESS ON FILE
CEBOLLERO CARBONELL, YARI              ADDRESS ON FILE
CEBOLLERO COSME, PEDRO                 ADDRESS ON FILE
CEBOLLERO ESTRADA, JESUS F.            ADDRESS ON FILE
CEBOLLERO HERNANDEZ, IVONNE DEL S      ADDRESS ON FILE
CEBOLLERO HORNEDO, JOSEFINA            ADDRESS ON FILE
Cebollero Maldonado, Victor M          ADDRESS ON FILE
CEBOLLERO MARCUCCI MD, JOSE A          ADDRESS ON FILE
CEBOLLERO MARCUCCI, JAIME              ADDRESS ON FILE
CEBOLLERO MARCUCCI, MIGUEL             ADDRESS ON FILE
CEBOLLERO MARTINEZ, JOHANNA            ADDRESS ON FILE
CEBOLLERO MARTIR, MARTA I.             ADDRESS ON FILE
CEBOLLERO MAYSONET, HECTOR             ADDRESS ON FILE
CEBOLLERO PEREZ MD, JESUS A            ADDRESS ON FILE
CEBOLLERO RIVERA, ROSA M               ADDRESS ON FILE
CEBOLLERO RODRIGUEZ, JOHNNY            ADDRESS ON FILE
CEBOLLERO SANTA MARIA MD, FRANCISCO    ADDRESS ON FILE
CEBOLLERO SANTAMARIA MD, FRANCISCO C   ADDRESS ON FILE
CEBOLLERO SANTINI, HECTOR              ADDRESS ON FILE
CECCHINI CANO, THOMAS J                ADDRESS ON FILE
CECI E. RAMOS MORALES                  ADDRESS ON FILE
CECIL D REGALADO MUNOZ                 ADDRESS ON FILE
CECIL J VALENTIN RODRIGUEZ             ADDRESS ON FILE
CECIL M MALDONADO VILLANUEVA           ADDRESS ON FILE
CECIL MARCANO GERENA                   ADDRESS ON FILE
CECILE FALCONER ALVAREZ                ADDRESS ON FILE
CECILIA ALAMO RIVERA                   ADDRESS ON FILE
CECILIA ARGUELLES RAMOS                ADDRESS ON FILE




                                                                                   Page 1426 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1427 of 3500
                                                                            17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                Address1                       Address2                                   Address3    Address4   City         State   PostalCode   Country
CECILIA ARROYO ZENGOTITA     ADDRESS ON FILE
CECILIA BAEZ SANTANA         ADDRESS ON FILE
CECILIA BARTOLOMEI PEREZ     ADDRESS ON FILE
CECILIA BONET VIVES          ADDRESS ON FILE
CECILIA BONILLA GONZALEZ     ADDRESS ON FILE
CECILIA C. ARIAS INFANTE     ADDRESS ON FILE
CECILIA CARVAJAL MITJA       ADDRESS ON FILE
CECILIA CASTELLANOS KHOURI   ADDRESS ON FILE
CECILIA CEPERO LUGO          ADDRESS ON FILE
CECILIA DELGADO PEREZ        ADDRESS ON FILE
CECILIA DELGADO QUINONEZ     ADDRESS ON FILE
CECILIA DIAZ HERNANDEZ       ADDRESS ON FILE
CECILIA ENJUTO RANGEL        ADDRESS ON FILE
CECILIA ESCRIBANO SANCHEZ    ADDRESS ON FILE
CECILIA FALERO TORRES        ADDRESS ON FILE
CECILIA FIGUEROA VALENTIN    ADDRESS ON FILE
CECILIA GARCIA GONZALEZ      ADDRESS ON FILE
CECILIA GARCIA IRIZARRY      ADDRESS ON FILE
CECILIA HERNANDEZ RIVERA     ADDRESS ON FILE
CECILIA HERNANDEZ RIVERA     LCDO. LUIS APONTE MORALES      APARTADO 1681                                                     CAGUAS       PR      00726
CECILIA LAMBOY SUAREZ        ADDRESS ON FILE
CECILIA M GARCIA RIVERA      ADDRESS ON FILE
CECILIA MALDONADO QUINONES   ADDRESS ON FILE
CECILIA MALDONADO QUINONEZ   ADDRESS ON FILE
CECILIA MARTINEZ ADORNO      ADDRESS ON FILE
CECILIA MONTANEZ CASADO      ADDRESS ON FILE
CECILIA MUNOZ RODRIGUEZ      ADDRESS ON FILE
CECILIA NIEVES RIOS          ADDRESS ON FILE
CECILIA NIEVES RODRIGUEZ     ADDRESS ON FILE
CECILIA ORTA LLC             URB VILLA CONTESSA             DD 16 AVE LOS MILLONES                                            BAYAMON      PR      00956
CECILIA ORTIZ BERAS          ADDRESS ON FILE
CECILIA PASTRANA BONILLA     LCDO. ESTEBAN MUJICA COTTO     PO BOX 192062                                                     SAN JUAN     PR      00919‐2062
CECILIA PASTRANA BONILLA     LCDO. HOSTOS GALLARDO GARCÍA   PO BOX 70244                                                      SAN JUAN     PR      00936‐8244
CECILIA PASTRANA BONILLA     LCDO. JORGE GONZÁLEZ BURGOS    301 CALLE DEL RECINTO SUR                  SUITE 701              SAN JUAN     PR      00901‐1908
CECILIA QUINONES NAZARIO     ADDRESS ON FILE
CECILIA QUINONES, YASHIRA    ADDRESS ON FILE
CECILIA RAMOS RODRIGUEZ      ADDRESS ON FILE
CECILIA RIOS FIGUEROA        ADDRESS ON FILE
CECILIA RIVERA CRUZ          ADDRESS ON FILE
CECILIA RIVERA DE LEON       ADDRESS ON FILE
CECILIA RIVERA MONTERO       ADDRESS ON FILE
CECILIA RIVERA SANCHEZ       ADDRESS ON FILE
CECILIA ROSA, ANGEL L.       ADDRESS ON FILE
CECILIA ROSARIO GONZALEZ     ADDRESS ON FILE
CECILIA ROSARIO, RAMON       ADDRESS ON FILE
CECILIA SALDANA GONZALEZ     ADDRESS ON FILE
CECILIA SAMO PIZARRO         ADDRESS ON FILE
CECILIA SANCHEZ GONZALEZ     ADDRESS ON FILE
CECILIA SANTANA GONZALEZ     ADDRESS ON FILE
CECILIA SOTO SANTIAGO        ADDRESS ON FILE
CECILIA SOTO VAZQUEZ         ADDRESS ON FILE
CECILIA SUÁREZ COLÓN         ADDRESS ON FILE
CECILIA TORRES CAMPO         ADDRESS ON FILE
CECILIA TORRES ORTIZ         ADDRESS ON FILE
CECILIA VALDES GARCIA        ADDRESS ON FILE
CECILIA VALENTIN RODRIGUEZ   ADDRESS ON FILE
CECILIA VAZQUEZ ROMAN        ADDRESS ON FILE
CECILIA ZAMOT, NELIDA        ADDRESS ON FILE
CECILIA, MERCADO             ADDRESS ON FILE
CECILIANA DE ANDINO          ADDRESS ON FILE




                                                                                        Page 1427 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1428 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                                   Address1                     Address2                                    Address3            Address4   City            State   PostalCode   Country
CECILIANA DE ANDINO                             ADDRESS ON FILE
CECILIO APONTE REYES                            ADDRESS ON FILE
CECILIO BAEZ RAMOS                              ADDRESS ON FILE
CECILIO CABRERA RIVERA/ HOGAR GUADALUPE ADDRESS ON FILE
CECILIO CINTRON LABOY                           ADDRESS ON FILE
CECILIO CRESPO                                  ADDRESS ON FILE
CECILIO CRISPIN ROSA                            ADDRESS ON FILE
CECILIO CRUZ DELGADO                            ADDRESS ON FILE
CECILIO DAVILA LABIOSA                          ADDRESS ON FILE
CECILIO DIAZ FIGUEROA                           ADDRESS ON FILE
CECILIO DOMENECH RIVERA                         ADDRESS ON FILE
CECILIO FERNANDEZ ORTIZ                         ADDRESS ON FILE
CECILIO HERNANDEZ PEREZ                         ADDRESS ON FILE
CECILIO HERNANDEZ, STEPHANIE                    ADDRESS ON FILE
CECILIO ITURRINO, ANTONIO                       ADDRESS ON FILE
CECILIO LEBRON ACEVEDO                          ADDRESS ON FILE
CECILIO LOPEZ FONRODONA                         ADDRESS ON FILE
CECILIO MALDONADO, LUIS M                       ADDRESS ON FILE
CECILIO MARTINEZ NARVAEZ                        ADDRESS ON FILE
Cecilio Monell, Angel L                         ADDRESS ON FILE
CECILIO NAZARIO CONCEPCION                      ADDRESS ON FILE
CECILIO NIEVES GONZALEZ                         ADDRESS ON FILE
CECILIO ORTA, PETRA                             ADDRESS ON FILE
CECILIO PEDRAJA                                 ADDRESS ON FILE
CECILIO REYES MATOS                             ADDRESS ON FILE
CECILIO REYES, JONAS                            ADDRESS ON FILE
CECILIO RIVERA, JORGE                           ADDRESS ON FILE
CECILIO RIVERA, MARIA I.                        ADDRESS ON FILE
CECILIO RODRIGUEZ RODRIGUEZ                     ADDRESS ON FILE
CECILIO RODRIGUEZ, IRIS N.                      ADDRESS ON FILE
CECILIO SALCEDO MARRERO                         ADDRESS ON FILE
CECILIO SALCEDO MONTANEZ                        ADDRESS ON FILE
CECILIO SANDOVAL QUINTANA                       LCDO. MOISES ABREU CORDERO   454 AVE. LUIS MÑOZ SOUFFRONT                URB. LOS MAESTROS              RIO PIEDRAS     PR      00923
CECILIO SOTO RAMOS                              ADDRESS ON FILE
CECILIO VALENTIN MU¥OZ                          ADDRESS ON FILE
CECILIO VELEZ PEREZ                             ADDRESS ON FILE
CECILIO, CECILIO                                ADDRESS ON FILE
CECILLE LOPEZ VELAZQUEZ                         ADDRESS ON FILE
CECILLY A MELENDEZ FIGUEROA                     ADDRESS ON FILE
CECILO CRUZ VELEZ                               ADDRESS ON FILE
CECLIA Y LOPEZ CRUZ                             ADDRESS ON FILE
CEDANO CASTILLO, OMAR                           ADDRESS ON FILE
CEDANO DE BARETTY, LEIDA                        ADDRESS ON FILE
CEDANO DEL ROSARIO, FATIMA                      ADDRESS ON FILE
CEDANO GIL, RAMONA                              ADDRESS ON FILE
CEDANO PIMENTEL, ROLANDO                        ADDRESS ON FILE
CEDANO, MARTIN                                  ADDRESS ON FILE
CEDAR SPRINGS BEHAVIORAL HEALTH SYSTEMS PO BOX 19072                                                                                                    GREEN BAY       WI      54307‐9072
Cede & Co., as nominee of the Depositary Trust CBeverly Clarke,              55 Water Street                                                            New York        NY      10041
CEDEC (CENTRO DES COMUNICOLOGICO ARECIBOHC 5 BOX 91500                                                                                                  ARECIBO         PR      00612‐9516
CEDENO ACOSTA, JAVIER                           ADDRESS ON FILE
CEDENO ACOSTA, SONIA DEL C.                     ADDRESS ON FILE
CEDENO ALICEA, ANGEL R                          ADDRESS ON FILE
CEDENO ALMODOVAR, AXEL                          ADDRESS ON FILE
CEDENO ALVAREZ, JESUS                           ADDRESS ON FILE
CEDENO ALVAREZ, REINILDA                        ADDRESS ON FILE
CEDENO AMEZQUITA, MARICRUZ                      ADDRESS ON FILE
CEDENO ANDINO, JOSE                             ADDRESS ON FILE
CEDENO APONTE, MARIA                            ADDRESS ON FILE
CEDENO APONTE, PABLO                            ADDRESS ON FILE




                                                                                                        Page 1428 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1429 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEDENO APONTE, SONIA            ADDRESS ON FILE
CEDENO AQUINO, PEDRO            ADDRESS ON FILE
CEDENO AROCHO, ARMANDO          ADDRESS ON FILE
CEDENO ARROYO, ARLENE           ADDRESS ON FILE
CEDENO AVILES, JEIMARY          ADDRESS ON FILE
CEDENO AVILLAN, ENOX            ADDRESS ON FILE
CEDENO BERRIOS BERRIOS, AMY     ADDRESS ON FILE
CEDENO BERRIOS, AMY D           ADDRESS ON FILE
CEDENO BERRIOS, NICOLE M        ADDRESS ON FILE
CEDENO BIANCHI, BETZALIET       ADDRESS ON FILE
CEDENO BIANCHI, SIUL            ADDRESS ON FILE
CEDENO BIGIO, BELMARY           ADDRESS ON FILE
CEDENO BORG, MIGUEL D.          ADDRESS ON FILE
CEDENO BORRERO, JOEL            ADDRESS ON FILE
CEDENO BURGOS, CARLOS           ADDRESS ON FILE
CEDENO BURGOS, IRMA             ADDRESS ON FILE
CEDENO CALES, HEIDY Y           ADDRESS ON FILE
CEDENO CAMACHO, CARMEN Y        ADDRESS ON FILE
CEDENO CARABALLO, ANA M         ADDRESS ON FILE
CEDENO CARABALLO, ANNETTE       ADDRESS ON FILE
CEDENO CARABALLO, AXIA M.       ADDRESS ON FILE
CEDENO CARABALLO, ILIA M.       ADDRESS ON FILE
CEDENO CARABALLO, NEIDA         ADDRESS ON FILE
CEDENO CARABALLO, NEIDA         ADDRESS ON FILE
CEDENO CARPIO, AURELIA          ADDRESS ON FILE
CEDENO CARRASQUILLO, CARMEN S   ADDRESS ON FILE
CEDENO CARRO, PAOLA             ADDRESS ON FILE
CEDENO CASTRO, CELIA            ADDRESS ON FILE
CEDENO CASTRO, MAYRA E          ADDRESS ON FILE
CEDENO CEDENO, OMAR             ADDRESS ON FILE
CEDEÑO CEDEÑO, SUMAYA           ADDRESS ON FILE
CEDENO CEDENO, SUMAYA M.        ADDRESS ON FILE
CEDENO CEDENO, YADIRA           ADDRESS ON FILE
CEDENO CESTERO, RAQUEL A        ADDRESS ON FILE
CEDENO CIRILO, NATIVIDAD        ADDRESS ON FILE
CEDENO COLON, EDGARDO           ADDRESS ON FILE
CEDENO COLON, EDGARDO           ADDRESS ON FILE
CEDENO COLON, IRIS J            ADDRESS ON FILE
CEDENO COLON, MARISOL           ADDRESS ON FILE
CEDENO CORNIER, ARSENIO         ADDRESS ON FILE
CEDENO CORNIER, MIGUEL          ADDRESS ON FILE
CEDENO COSME, EVELYN            ADDRESS ON FILE
CEDENO COTTI, MILAGROS          ADDRESS ON FILE
CEDENO COTTI, PABLO             ADDRESS ON FILE
CEDENO CRESPO, IDALIS           ADDRESS ON FILE
CEDENO CRUZ, JUAN               ADDRESS ON FILE
CEDENO CRUZ, TERESA             ADDRESS ON FILE
CEDENO CRUZ, ZORAIDA            ADDRESS ON FILE
CEDENO DAVILA, RAUL             ADDRESS ON FILE
CEDENO DE JESUS, EDALIA         ADDRESS ON FILE
CEDENO DE JESUS, IDELYNN        ADDRESS ON FILE
Cedeno De Jesus, Jorge L        ADDRESS ON FILE
CEDENO DE LANDRON, BLANCA L     ADDRESS ON FILE
CEDENO DE LOS SANTOS, MARIA     ADDRESS ON FILE
CEDENO DIAZ, BENJAMIN           ADDRESS ON FILE
CEDENO DIAZ, MARIA L            ADDRESS ON FILE
CEDENO EMMANUELLI, JOSE         ADDRESS ON FILE
CEDENO FELICIANO, CARLO         ADDRESS ON FILE
CEDENO FELICIANO, CESAR         ADDRESS ON FILE
CEDENO FELICIANO, CESAR A       ADDRESS ON FILE




                                                                            Page 1429 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1430 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEDENO FELICIANO, ERICA          ADDRESS ON FILE
CEDENO FELICIANO, ISMAEL         ADDRESS ON FILE
CEDENO FELICIANO, JEANMARIE      ADDRESS ON FILE
CEDENO FELICIANO, KARLA M        ADDRESS ON FILE
CEDENO FELICIANO, RADAME         ADDRESS ON FILE
CEDENO FELICIANO, RUBEN          ADDRESS ON FILE
CEDENO FELIZ, DAMARIS            ADDRESS ON FILE
CEDENO FELIZ, MIRIAM             ADDRESS ON FILE
CEDENO FIGUEROA, ROSAEL          ADDRESS ON FILE
CEDENO FORNIER, JUDITH           ADDRESS ON FILE
CEDENO GALARZA, MARIA            ADDRESS ON FILE
Cedeno Galindez, Antonia         ADDRESS ON FILE
CEDENO GALINDEZ, PEDRO A         ADDRESS ON FILE
CEDENO GARCES, AUSBERTO          ADDRESS ON FILE
CEDENO GARCIA, EDUARDO           ADDRESS ON FILE
CEDENO GARCIA, GERARDO           ADDRESS ON FILE
CEDENO GARRIDO, MIGUEL           ADDRESS ON FILE
CEDENO GARRIDO, MIGUEL           ADDRESS ON FILE
CEDENO GOMEZ, FRANCHESKA         ADDRESS ON FILE
CEDENO GONZALEZ, GARIANN         ADDRESS ON FILE
CEDENO GONZALEZ, MARIANGELI      ADDRESS ON FILE
CEDENO GONZALEZ, NATIVIDAD       ADDRESS ON FILE
CEDENO GONZALEZ, RADAMES         ADDRESS ON FILE
CEDENO GUZMAN, JUAN              ADDRESS ON FILE
CEDENO GUZMAN, RUTH              ADDRESS ON FILE
CEDENO HERNANDEZ, ELIX           ADDRESS ON FILE
CEDENO HERNANDEZ, JACQUELINE     ADDRESS ON FILE
CEDENO HERNANDEZ, JAZMAYRA       ADDRESS ON FILE
CEDENO HERNANDEZ, MARIELA        ADDRESS ON FILE
CEDENO HERNANDEZ, OLGA E.        ADDRESS ON FILE
CEDENO IRIZARRY, NOEL            ADDRESS ON FILE
CEDENO LABOY, CARMEN             ADDRESS ON FILE
CEDENO LACAUSTRA, NANETTE        ADDRESS ON FILE
CEDENO LACLAUSTRA, JOSE A.       ADDRESS ON FILE
CEDENO LARACUENTE, FRANCISCO A   ADDRESS ON FILE
CEDENO LARACUENTE, JOSE L.       ADDRESS ON FILE
CEDEÑO LLORENS MD, ARTURO        ADDRESS ON FILE
CEDENO LOPEZ, GRACE M            ADDRESS ON FILE
CEDENO LOPEZ, MONICA             ADDRESS ON FILE
CEDENO MADERA, EMMANUEL          ADDRESS ON FILE
CEDENO MALDONADO, CELSA          ADDRESS ON FILE
CEDENO MALDONADO, JOSE           ADDRESS ON FILE
CEDENO MALDONADO, ONELIA         ADDRESS ON FILE
CEDENO MARCANO, MARIA            ADDRESS ON FILE
CEDENO MARCANO, MARIA T          ADDRESS ON FILE
CEDENO MARCANO, NIXA I           ADDRESS ON FILE
CEDENO MARCANO, YAJAIRA          ADDRESS ON FILE
CEDENO MARCIAL, MARIBEL          ADDRESS ON FILE
CEDENO MARQUEZ, JAVIER           ADDRESS ON FILE
CEDENO MARRERO, ABIGAEL          ADDRESS ON FILE
CEDENO MARTINEZ, CARLOS          ADDRESS ON FILE
CEDENO MARTINEZ, CHRISTIAN       ADDRESS ON FILE
CEDENO MARTINEZ, CHRYSALIS       ADDRESS ON FILE
CEDENO MARTINEZ, EDDIE           ADDRESS ON FILE
Cedeno Martinez, Eleuterio       ADDRESS ON FILE
CEDENO MARTINEZ, GAMALIN         ADDRESS ON FILE
CEDENO MARTINEZ, KATIANA         ADDRESS ON FILE
CEDENO MARTINEZ, KELIAN          ADDRESS ON FILE
CEDENO MARTINEZ, MIGUEL          ADDRESS ON FILE
CEDENO MARTINEZ, MILTON          ADDRESS ON FILE




                                                                             Page 1430 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1431 of 3500
                                                                             17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                 Address1                                      Address2                                    Address3   Address4   City        State   PostalCode   Country
CEDENO MARTINEZ, MILTON       ADDRESS ON FILE
CEDENO MARTINEZ, OLGA         ADDRESS ON FILE
CEDENO MARTINEZ, SARAHI       ADDRESS ON FILE
CEDENO MARTINEZ, VANESSA      ADDRESS ON FILE
CEDENO MELENDEZ, IVETTE       ADDRESS ON FILE
CEDENO MERCADO, GLORIA        ADDRESS ON FILE
CEDENO MERCADO, JOSE L        ADDRESS ON FILE
CEDENO MERCADO, LISSETTE      ADDRESS ON FILE
CEDENO MORALES, ELVIN J       ADDRESS ON FILE
CEDENO MORALES, ELVIN J.      ADDRESS ON FILE
CEDENO MUNIZ, RICARDO         ADDRESS ON FILE
CEDENO MUNOZ, OMAYRA          ADDRESS ON FILE
CEDENO MUNOZ, OMAYRA          ADDRESS ON FILE
CEDENO MUNOZ, PALMIRA         ADDRESS ON FILE
CEDENO NIEVES, JAVIER         ADDRESS ON FILE
CEDENO NIEVES, LUIS           ADDRESS ON FILE
CEDENO NIEVES, MARIA J.       ADDRESS ON FILE
CEDENO NIEVES, MARIBEL        ADDRESS ON FILE
CEDENO OLIVO, GISELA          ADDRESS ON FILE
CEDENO OQUENDO, ALFONSO       ADDRESS ON FILE
CEDENO ORENGO, BRIAN E        ADDRESS ON FILE
CEDEÑO ORTIZ EDWIN A.         BAY 501 EDIF 3 SEC. J CELDA 208 PO BOX 607073                                                                   Bayamón     PR      00960
CEDENO ORTIZ, EDLYN           ADDRESS ON FILE
CEDEÑO ORTIZ, EDWIN           EDWIN A. CEDEÑO ORTIZ                         BAY 501 EDIF 2 SEC E PO BOX 607073                                Bayamón     PR      00960
CEDENO ORTIZ, GWENDELINA      ADDRESS ON FILE
CEDENO ORTIZ, IVELISSE        ADDRESS ON FILE
CEDENO ORTIZ, PAZ M           ADDRESS ON FILE
CEDENO PABON, WANDA I         ADDRESS ON FILE
CEDENO PABON, WANDA I.        ADDRESS ON FILE
CEDENO PACHE, DARY            ADDRESS ON FILE
CEDENO PACHECO, MOISES        ADDRESS ON FILE
CEDENO PACHECO, ROSA L        ADDRESS ON FILE
Cedeno Padilla, Felix         ADDRESS ON FILE
CEDENO PADILLA, ILEANA        ADDRESS ON FILE
CEDENO PADILLA, TOMAS         ADDRESS ON FILE
CEDENO PAULINO, CASIMIRA      ADDRESS ON FILE
CEDENO PEREZ, DORCA           ADDRESS ON FILE
CEDENO PEREZ, REBECA          ADDRESS ON FILE
CEDENO PEREZ, WILMARIE        ADDRESS ON FILE
CEDENO PIETRI, ANNETTE Y      ADDRESS ON FILE
CEDENO PINERO, RUTH E         ADDRESS ON FILE
CEDENO POMALES, JAVIER        ADDRESS ON FILE
CEDENO QUINONES, DANELYS      ADDRESS ON FILE
CEDENO QUINONES, EMMANUEL     ADDRESS ON FILE
CEDEÑO QUINTERO MD, GUSTAVO   ADDRESS ON FILE
CEDENO RAMOS, ADA E           ADDRESS ON FILE
CEDENO RAMOS, DAVID           ADDRESS ON FILE
CEDENO RAMOS, JOSE A.         ADDRESS ON FILE
CEDENO RAMOS, OMAR            ADDRESS ON FILE
CEDENO RASPALDO, WILMA        ADDRESS ON FILE
CEDENO RENTAS, ALEX           ADDRESS ON FILE
CEDENO REYES, DENISSE         ADDRESS ON FILE
CEDENO REYES, NELSON A        ADDRESS ON FILE
CEDENO RIJO, FELITO           ADDRESS ON FILE
CEDENO RIJOS, MARIA           ADDRESS ON FILE
CEDENO RIOS, IRMA I.          ADDRESS ON FILE
CEDENO RIVERA, ADA            ADDRESS ON FILE
CEDENO RIVERA, ALBERTO        ADDRESS ON FILE
CEDEÑO RIVERA, AMERICA        JOSE CARLOS VELEZ COLON                       PO BOX 2013                                                       BAYAMON     PR      00906
CEDEÑO RIVERA, AMERICA        RUBEN GONZALEZ MARRERO                        SANTA ROSA CARR 174 BLQ 21‐24                                     BAYAMON     PR      00959




                                                                                                         Page 1431 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1432 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEDENO RIVERA, BRENDA L.         ADDRESS ON FILE
CEDENO RIVERA, IDA               ADDRESS ON FILE
CEDENO RIVERA, JONATHAN          ADDRESS ON FILE
CEDENO RIVERA, JUAN              ADDRESS ON FILE
CEDENO RIVERA, JUAN              ADDRESS ON FILE
CEDENO RIVERA, KAREM             ADDRESS ON FILE
CEDENO RIVERA, LUZ M.            ADDRESS ON FILE
CEDENO RIVERA, MARGARITA         ADDRESS ON FILE
CEDENO RIVERA, MARIA             ADDRESS ON FILE
CEDENO RIVERA, PEDRO LUIS        ADDRESS ON FILE
Cedeno Rivera, Reynaldo          ADDRESS ON FILE
CEDENO RIVERA, REYNALDO          ADDRESS ON FILE
CEDENO RIVERA, ROBERTO           ADDRESS ON FILE
CEDENO RODRIGUEZ, ALEX           ADDRESS ON FILE
CEDENO RODRIGUEZ, CARLOS E.      ADDRESS ON FILE
CEDENO RODRIGUEZ, CARMEN Y       ADDRESS ON FILE
CEDENO RODRIGUEZ, ELIMELEC       ADDRESS ON FILE
Cedeno Rodriguez, Genaro M       ADDRESS ON FILE
CEDENO RODRIGUEZ, HECTOR         ADDRESS ON FILE
CEDENO RODRIGUEZ, IVELYS         ADDRESS ON FILE
CEDENO RODRIGUEZ, LEXA           ADDRESS ON FILE
CEDENO RODRIGUEZ, LUIS           ADDRESS ON FILE
CEDENO RODRIGUEZ, MIRTA L        ADDRESS ON FILE
CEDENO RODRIGUEZ, QUETCY ANN     ADDRESS ON FILE
CEDENO RODRIGUEZ, REINALDO       ADDRESS ON FILE
CEDENO RODRIGUEZ, ROSABELMARIE   ADDRESS ON FILE
CEDENO RODRIGUEZ, SONIA          ADDRESS ON FILE
CEDENO RODRIGUEZ, ZAIDA E        ADDRESS ON FILE
CEDENO RODRIGUEZ,CARLOS          ADDRESS ON FILE
CEDENO ROJAS, XIOMARA            ADDRESS ON FILE
CEDENO ROJAS, XIOMARA            ADDRESS ON FILE
CEDENO ROMAN, ALEXIS             ADDRESS ON FILE
CEDENO ROMAN, EDGAR              ADDRESS ON FILE
CEDENO ROMAN, EDWIN              ADDRESS ON FILE
CEDENO ROMAN, MARICELY           ADDRESS ON FILE
CEDENO ROMERO, ALEXIS            ADDRESS ON FILE
CEDENO ROMERO, DORIS             ADDRESS ON FILE
CEDENO ROSA, AURELIS             ADDRESS ON FILE
CEDENO ROSA, CARLOS              ADDRESS ON FILE
CEDENO ROSA, MARANGELI           ADDRESS ON FILE
CEDENO ROSA, MARIO               ADDRESS ON FILE
CEDENO ROSARIO, ADA I            ADDRESS ON FILE
CEDENO ROSARIO, YARITZA          ADDRESS ON FILE
CEDENO ROSAS, GISELLE            ADDRESS ON FILE
CEDENO ROSAS, PAUL R             ADDRESS ON FILE
CEDENO RUIZ, JOSUE               ADDRESS ON FILE
CEDENO RUIZ, JULIA               ADDRESS ON FILE
CEDENO RUIZ, MYRTHA R            ADDRESS ON FILE
CEDENO RUIZ, RAMONA              ADDRESS ON FILE
CEDENO SANABRIA, ALEXANDER       ADDRESS ON FILE
CEDENO SANABRIA, CARLOS R.       ADDRESS ON FILE
CEDENO SANABRIA, RICARDO L.      ADDRESS ON FILE
CEDENO SANTANA, NOEL M.          ADDRESS ON FILE
Cedeno Santiago, Eliezer         ADDRESS ON FILE
CEDENO SANTIAGO, ENOCK           ADDRESS ON FILE
CEDENO SANTIAGO, FRANCISCO       ADDRESS ON FILE
CEDENO SANTIAGO, MELVIN          ADDRESS ON FILE
Cedeno Santiago, Pedro           ADDRESS ON FILE
CEDENO SANTOS, JAVIER            ADDRESS ON FILE
CEDENO SICARDO, MARIA            ADDRESS ON FILE




                                                                             Page 1432 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1433 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEDENO SIERRA, CECILIA           ADDRESS ON FILE
CEDENO SIERRA, PEDRO             ADDRESS ON FILE
CEDENO SIERRA, RICARDO ANTONIO   ADDRESS ON FILE
Cedeno Silva, Nahisin            ADDRESS ON FILE
CEDENO SOTO, MAYRA A             ADDRESS ON FILE
CEDEÑO TERRADES MD, RAFAEL       ADDRESS ON FILE
CEDENO TORRES, DANIEL            ADDRESS ON FILE
CEDENO TORRES, EDISON            ADDRESS ON FILE
CEDENO TORRES, ELLIS             ADDRESS ON FILE
CEDENO TORRES, JASMINE           ADDRESS ON FILE
CEDENO TORRES, JORGE             ADDRESS ON FILE
CEDENO TORRES, JOSE              ADDRESS ON FILE
CEDENO TORRES, LISSANDRA I       ADDRESS ON FILE
CEDENO TORRES, MARIAM I          ADDRESS ON FILE
CEDENO TORRES, MIGDALIA          ADDRESS ON FILE
CEDENO TORRES, MILDRED           ADDRESS ON FILE
CEDENO TORRES, NELLIE            ADDRESS ON FILE
CEDENO TORRES, VIRGEN DE LOS A   ADDRESS ON FILE
CEDENO TORRES, WANDA I           ADDRESS ON FILE
CEDENO VARGAS, BEATRIZ           ADDRESS ON FILE
CEDENO VARGAS, ZORAIDA           ADDRESS ON FILE
CEDENO VAZQUEZ, AURELINA         ADDRESS ON FILE
CEDENO VAZQUEZ, EFIGENIO         ADDRESS ON FILE
CEDENO VAZQUEZ, GYOVANI          ADDRESS ON FILE
CEDENO VAZQUEZ, ORLANDO          ADDRESS ON FILE
CEDENO VAZQUEZ, OSVALDO          ADDRESS ON FILE
CEDENO VAZQUEZ, OSVALDO          ADDRESS ON FILE
CEDENO VAZQUEZ, SARA             ADDRESS ON FILE
CEDENO VEGA, ROSA                ADDRESS ON FILE
CEDENO VELAZQUEZ, MARANGELY      ADDRESS ON FILE
Cedeno Victorino, Carlos         ADDRESS ON FILE
CEDENO VIERA, GILBERTO           ADDRESS ON FILE
CEDENO VILLAVICENCIO, LINDA J    ADDRESS ON FILE
CEDENO, ANGEL                    ADDRESS ON FILE
CEDENO, CHRISTOPHER              ADDRESS ON FILE
CEDENO, DIANA MARIE              ADDRESS ON FILE
CEDENO, EVELYN                   ADDRESS ON FILE
CEDENO, JEAN                     ADDRESS ON FILE
CEDENO, ULISES                   ADDRESS ON FILE
CEDENO, ZULEYKA                  ADDRESS ON FILE
CEDENORIVERA, ANDRES             ADDRESS ON FILE
CEDEO PADILLA, CARMEN G          ADDRESS ON FILE
CEDEP                            1474 AVE SAN IGNACIO      URB ALTAMESA                                           SAN JUAN     PR      00921
CEDEQO LUGO, JAVIER              ADDRESS ON FILE
CEDEQO MARTINEZ, WILSON          ADDRESS ON FILE
CEDEQO MUQOZ, ANABEL             ADDRESS ON FILE
CEDEQO ORENGO, SONIA             ADDRESS ON FILE
CEDESCA, INC                     PO BOX 4951               SUITE 197                                              CAGUAS       PR      00726
CEDESCA, INC                     PO BOX 4961 SUITE 197                                                            CAGUAS       PR      00727
CEDICE                           URB DOS PINOS             823 CALLE LINCE                                        SAN JUAN     PR      00923
CEDILLO FERRER, YANIRA           ADDRESS ON FILE
CEDO ALZAMORA MD, CARLOS         ADDRESS ON FILE
CEDO ALZAMORA, FEDERICO          ADDRESS ON FILE
CEDO CINTRON MD, INGRID          ADDRESS ON FILE
CEDO CINTRON, CARLOS             ADDRESS ON FILE
CEDO CINTRON, LAURA              ADDRESS ON FILE
CEDO MAYA, IVONNE                ADDRESS ON FILE
CEDO TRABAL, JAVIER              ADDRESS ON FILE
CEDRE CORREA, MARTHA             ADDRESS ON FILE
CEDRE NAZARIO, AMANDA            ADDRESS ON FILE




                                                                             Page 1433 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1434 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                        Address2                   Address3   Address4   City            State   PostalCode   Country
CEDRE RIVERA, JOSE E                     ADDRESS ON FILE
Cedres Abarca, Bonifacio                 ADDRESS ON FILE
CEDRES COLON, OMAR                       ADDRESS ON FILE
CEDRES DAVILA, FRANCISCO                 ADDRESS ON FILE
CEDRES DAVILA, FRANCISCO                 ADDRESS ON FILE
CEDRES MALDONADO, KEILA                  ADDRESS ON FILE
CEDRES MALDONADO, MIGUEL A               ADDRESS ON FILE
CEDRES MALDONADO, YANIRA E               ADDRESS ON FILE
CEDRES PIZARRO, MARITZA I.               ADDRESS ON FILE
CEDRES RIOS, ENID                        ADDRESS ON FILE
Cedres Rios, Jesus                       ADDRESS ON FILE
CEDRES ROSA, KATHERINE                   ADDRESS ON FILE
CEDRES ROSA, MABEL                       ADDRESS ON FILE
CEDREZ SOTO, ANA CELIA                   ADDRESS ON FILE
CEDRIC J FIGUEROA CABRERA                ADDRESS ON FILE
CEDRIC J FIGUEROA CABRERA                ADDRESS ON FILE
CEDRIC PAGAN VALENTIN                    ADDRESS ON FILE
CEFERINA ACOSTA MENA                     ADDRESS ON FILE
CEFERINA COLLAZO FIGUEROA                ADDRESS ON FILE
CEFERINA SIERRA                          ADDRESS ON FILE
CEFERINO CARRASQUILLO OLMEDO             ADDRESS ON FILE
CEFERINO LUGO NUNEZ                      ADDRESS ON FILE
CEFERINO MARTINEZ TRINIDAD               ADDRESS ON FILE
CEFERINO MARTINEZ TRINIDAD               ADDRESS ON FILE
CEFERINO OTERO ROSARIO                   ADDRESS ON FILE
CEFERINO SANCHEZ SUAREZ                  ADDRESS ON FILE
CEFERINO TORRES TORRES                   ADDRESS ON FILE
CEFERINO TORRES Y/O DIONISIA TORRES      ADDRESS ON FILE
CEFFIE CRUZ                              ADDRESS ON FILE
CEFFIE M. CRUZ ORTIZ                     ADDRESS ON FILE
CEFFIE M. CRUZ ORTIZ                     ADDRESS ON FILE
CEIBA AUTO REPEIR
CEIDE AYALA, MANUEL                      ADDRESS ON FILE
CEIDE AYALA, MYRNA                       ADDRESS ON FILE
CEINOS RODRIGUEZ, WILLIAM                ADDRESS ON FILE
CEINOS RODRIGUEZ, WILLIAM                ADDRESS ON FILE
CEINOSPORRATA, LUIS                      ADDRESS ON FILE
CELAYA GRIJALVA, RICARDO                 ADDRESS ON FILE
CELEBRATION ORTHO & SPORTS MED INSTITUTE 410 CELEBRATION PL                                                               CELEBRATION     FL      34747‐4970
CELEDONIO CRUZ CRUZ                      ADDRESS ON FILE
CELEDONIO MUNOZ MORALES                  ADDRESS ON FILE
CELEIDA MARTINEZ FERNANDEZ               ADDRESS ON FILE
CELENE SEPULVEDA TORRES                  ADDRESS ON FILE
CELENIA SANCHEZ MATA                     ADDRESS ON FILE
CELENIA VAILLANT FIGUEROA                ADDRESS ON FILE
CELENID CRESPO JIMENEZ                   ADDRESS ON FILE
CELENKO HIRTINGTON, CATHERINE            ADDRESS ON FILE
CELERO AMADOR, ANA M                     ADDRESS ON FILE
CELESIA GARCIA MAISONET                  ADDRESS ON FILE
CELESTE A. FERRER RODRIGUEZ              ADDRESS ON FILE
CELESTE ARANGO FRIAS MS                  BAYAMON MEDICAL PLAZA STE 501                                                    BAYAMON         PR      00959
CELESTE BEVERAGGI DUMONT                 ADDRESS ON FILE
CELESTE CASTRO                           ADDRESS ON FILE
CELESTE DEL MAR REYES                    ADDRESS ON FILE
CELESTE HERNANDEZ RODRIGUEZ              ADDRESS ON FILE
CELESTE HERNANDEZ TALAVERA               ADDRESS ON FILE
CELESTE LIZARRIBAR ACOSTA                ADDRESS ON FILE
CELESTE M ORTIZ MARTINEZ                 ADDRESS ON FILE
CELESTE PENA, DOMINGO                    ADDRESS ON FILE
CELESTE QUESADA RODRIGUEZ                ADDRESS ON FILE




                                                                                     Page 1434 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1435 of 3500
                                                                             17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                 Address1                                  Address2                                   Address3    Address4   City         State   PostalCode   Country
CELESTE ROSARIO MERCADO       ADDRESS ON FILE
CELESTIN PIERRE, YONEL        ADDRESS ON FILE
CELESTINA COLON PAGAN         ADDRESS ON FILE
CELESTINA ORTIZ ORTIZ         ADDRESS ON FILE
CELESTINA PASTORIZA           ADDRESS ON FILE
CELESTINO AGOSTO CIRINO       ADDRESS ON FILE
CELESTINO BORIA SERRANO       ADDRESS ON FILE
CELESTINO CALCANO DE JESUS    ADDRESS ON FILE
CELESTINO FLORES CARMONA      ADDRESS ON FILE
CELESTINO GONZALEZ GONZALEZ   ADDRESS ON FILE
CELESTINO LANZA SEDA          ADDRESS ON FILE
CELESTINO LOPEZ SANABRIA      ADDRESS ON FILE
CELESTINO MONTANEZ SANTIAGO   ADDRESS ON FILE
CELESTINO RODRIGUEZ SERRANO   ADDRESS ON FILE
CELESTINO ROSARIO RUIZ        ADDRESS ON FILE
CELESTINO ROURA SEPULVEDA     ADDRESS ON FILE
CELESTINO ROURA SEPULVEDA     ADDRESS ON FILE
CELESTINO SANTANA ROSADO      ADDRESS ON FILE
CELESTINO VARGAS ESCOBAR      ADDRESS ON FILE
CELESTINO VAZQUEZ QUILES      ADDRESS ON FILE
CELESTIUM CORP                URB INDUSTRIAL CANOVANILLAS               730 DARSENA                                                       CAROLINA     PR      00987
CELI MARIE WILLIAMS           ADDRESS ON FILE
CELI SKERETT DIAZ             ADDRESS ON FILE
CELI SKERETT DIAZ             ADDRESS ON FILE
CELIA A BURGOS RAMIREZ        ADDRESS ON FILE
CELIA A PEREZ ROCHE           ADDRESS ON FILE
CELIA ADAMES ROMERO           ADDRESS ON FILE
CELIA ARROYO MORALES          ADDRESS ON FILE
CELIA AYALA MARTINEZ          ADDRESS ON FILE
CELIA BOTTIA DE SOTELO        ADDRESS ON FILE
CELIA C FIGUEROA POVENTUD     ADDRESS ON FILE
CELIA C VALE LOPEZ            ADDRESS ON FILE
CELIA CAMACHO RODRIGUEZ       ADDRESS ON FILE
CELIA CAPELES GOMEZ           ADDRESS ON FILE
CELIA CASIANO CINTRON         ADDRESS ON FILE
CELIA D GAUTIER DUMOIS        ADDRESS ON FILE
CELIA E DE PEDRO DE JESUS     ADDRESS ON FILE
CELIA E GARCIA VISBAL         ADDRESS ON FILE
CELIA E. BERDECIA CRUZ        ADDRESS ON FILE
CELIA E. CASTELLANOS CRUZ     ADDRESS ON FILE
CELIA E. QUILES CARRERO       ADDRESS ON FILE
CELIA FEBRES NUNEZ            ADDRESS ON FILE
CELIA FEBRES NUNEZ            ADDRESS ON FILE
CELIA FIGUEROA SANTIAGO       ADDRESS ON FILE
CELIA GARCIA CANALES          ADDRESS ON FILE
CELIA I CRESPO CONCEPCION     ADDRESS ON FILE
CELIA I ORTIZ RIVERA          ADDRESS ON FILE
CELIA I PIZARRO LANZO         ADDRESS ON FILE
CELIA I. SANTOS ECHEVARRIA    ADDRESS ON FILE
CELIA INES ACEVEDO VARGAS     ADDRESS ON FILE
CELIA INES ESCAPA FERNANDEZ   ADDRESS ON FILE
CELIA J. CORREA FELIX         ADDRESS ON FILE
CELIA J. MIR FRANQUI          ADDRESS ON FILE
CELIA M COLON LA SANTA        ADDRESS ON FILE
CELIA M PELLOT MOJENA         ADDRESS ON FILE
CELIA M. FRANCIS GALAN        ADDRESS ON FILE
CELIA M. RIVERA TORRES        ADDRESS ON FILE
CELIA MALDONADO CANDELARIA    ADDRESS ON FILE
CELIA MARTINEZ FINALES        ADDRESS ON FILE
CELIA PAGAN BERRIOS           LCDA. IRIS M. MUÑIZ DE MINSAL‐ ABOGADA UPR1110 AVE. AMÉRICO MIRANDA                  1 ER PISO              SAN JUAN     PR      00921




                                                                                                    Page 1435 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1436 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                 Address2                                  Address3            Address4              City         State   PostalCode   Country

                                                                                                                           OFICINA DE
CELIA PAGAN BERRIOS                      LCDA. JOSEFINA PÉREZ SEPULVEDA‐ ABOGADA ASASEM                                    ASESORAMIENTO LEGAL PO BOX 2129           SAN JUAN     PR      00922‐2129
CELIA PAGAN BERRIOS                      LCDO. GERARDO L. SANTIAGO PUIG‐ABOGADO D DORAL BANK PLAZA                         SUITE 801           CALLE RESOLUCION 33   SAN JUAN     PR      00920
CELIA PEREZ CARDONA                      ADDRESS ON FILE
CELIA QUINONEZ PINET                     ADDRESS ON FILE
CELIA R CASTELLANOS CRUZ                 ADDRESS ON FILE
CELIA R COSME MARQUEZ                    ADDRESS ON FILE
CELIA R RODRIGUEZ GOMEZ                  ADDRESS ON FILE
CELIA RIVERA TORRES                      ADDRESS ON FILE
CELIA RODRIGUEZ Y ROSA SANCHEZ           ADDRESS ON FILE
CELIA ROMERO VLAHOGIANNIS                ADDRESS ON FILE
CELIA SANTANA ALVAREZ                    ADDRESS ON FILE
CELIA SANTIAGO GARCIA                    ADDRESS ON FILE
CELIA VERA PEREZ                         ADDRESS ON FILE
CELIA VERA PEREZ                         ADDRESS ON FILE
CELIA Y LLANOS VEGA                      ADDRESS ON FILE
CELIANA MATOS MIRANDA                    ADDRESS ON FILE
CELIANGELY MORALES MELENDEZ              ADDRESS ON FILE
CELIANNY MATOS FEBO                      ADDRESS ON FILE
CELIANNY ZAYAS RIVERA                    ADDRESS ON FILE
CELIBEE MOREIRA SOLERO                   ADDRESS ON FILE
CELIDA MONTANO PEREZ                     ADDRESS ON FILE
CELIENID CRESPO JIMENEZ                  ADDRESS ON FILE
CELIMAR CARDONA/NEREIDA MENDEZ ACEVEDOADDRESS ON FILE
CELIMAR COLLADO HENANDEZ                 ADDRESS ON FILE
CELIMAR DE LA ROSA FELIX                 ADDRESS ON FILE
CELIMAR HERNANDEZ DBA HERNANDEZ SIGNS CALLE C A # 9 JARDINES DE CAROLINA                                                                                             CAROLINA     PR      00987‐0000
CELIMAR HERNANDEZ DBA HERNANDEZ SIGNS JARDINES DE CAROLINA                         9 CALLE C A                                                                       CAROLINA     PR      00987
CELIMAR HERNANDEZ DBA HERNANDEZ SIGNS JARDINES DE CAROLINA                         A 9 CALLE C                                                                       CAROLINA     PR      00987
CELIMAR HERNANDEZ DBA HERNANDEZ SIGNS URB JARDINES DE CAROLINA                     CALLE C A 9                                                                       CAROLINA     PR      00987‐7102
CELIMAR HERNANDEZ DBA HERNANDEZ SINGS JARD DE CAROLINA                             9 CALLE C‐A                                                                       CAROLINA     PR      00985
CELIMAR PENA RIOS                        ADDRESS ON FILE
CELIMAR RAMIREZ VILLEGAS                 ADDRESS ON FILE
CELIMAR SANTIAGO BURGOS V DEPARTAMENTO LCDO HERIBERTO QUINONES ECHEVARRIA          URBANIZACION SABANERA CAMINO DE LOS JARDINES 392                                  CIDRA        PR      00739
CELIMAR TEXIDOR SANTIAGO                 ADDRESS ON FILE
CELIMARIE OYOLA MORALES                  ADDRESS ON FILE
CELINA CUEVAS SILVA                      ADDRESS ON FILE
CELINA DEL ROSARIO RODRIGUEZ APONTE      ADDRESS ON FILE
CELINA FIGUEROA MALDONADO                ADDRESS ON FILE
CELINA GALARZA DE                        ADDRESS ON FILE
CELINA MENDEZ MENDEZ                     ADDRESS ON FILE
CELINA NOGUERAS CUEVAS                   ADDRESS ON FILE
CELINA PINA LOPEZ                        ADDRESS ON FILE
CELINA RAMIREZ LOPEZ                     ADDRESS ON FILE
CELINA RAMIREZ LOPEZ                     ADDRESS ON FILE
CELINA ROMANY                            ADDRESS ON FILE
CELINA ROMANY LAW OFFIES                 15 TAFT STE 402                                                                                                             SAN JUAN     PR      00911
CELINA RUIZ AROCHO,VIDAL GRACIA OLIVERAS ADDRESS ON FILE
CELINAYDA SANTOS SANTIAGO                ADDRESS ON FILE
CELINDA M VAZQUEZ RODRIGUEZ              ADDRESS ON FILE
CELINDA M. VAZQUEZ RODRIGUEZ             ADDRESS ON FILE
CELINE QUEZADA QUINONES                  ADDRESS ON FILE
CELINES ACOSTA CINTRON                   ADDRESS ON FILE
CELINES CABRERA FLORES                   ADDRESS ON FILE
CELINES CALDERON CEPEDA                  ADDRESS ON FILE
CELINES ECHEVARRIA OSORIO                ADDRESS ON FILE
CELINES JUSINO GARCIA                    ADDRESS ON FILE
CELINES MORGES MELENDEZ                  ADDRESS ON FILE
CELINES NIEVES COLON                     ADDRESS ON FILE




                                                                                                            Page 1436 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1437 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                 Address2                                  Address3     Address4             City            State   PostalCode   Country
CELINES ORTIZ OTERO                     ADDRESS ON FILE
CELINES QUINONES ALLENDE                ADDRESS ON FILE
CELINES RAMOS MARRERO                   ADDRESS ON FILE
CELINES RIVERA MATEO                    ADDRESS ON FILE
CELINES VILLEGAS REYES                  ADDRESS ON FILE
CELINES ZAYAS GONZALEZ                  ADDRESS ON FILE
CELINETTE DE JESUS MARQUEZ              ADDRESS ON FILE
CELIO CRUZ CARABALLO                    ADDRESS ON FILE
CELIO CRUZ PASTRANA                     ADDRESS ON FILE
CELIO NUNEZ FIGUEROA                    ADDRESS ON FILE
CELIRIS A MUNIZ COLON                   ADDRESS ON FILE
CELIRIS A MUNIZ COLON                   ADDRESS ON FILE
CELIS B RUIZ SANTIAGO                   ADDRESS ON FILE
CELIVI SANCHEZ TELLADO                  ADDRESS ON FILE
CELIZET TORIBIO ROJAS                   ADDRESS ON FILE
CELLEBRITE USA INC                      7 CAMPUS DR STE 210                                                                                                  PARSIPPANY      NJ      07054
CELLERI ANDRADE, WILSON                 ADDRESS ON FILE
CELLSMART INC                           URB PRADERAS DEL RIO                     3272 CALLE MONTE LA MINA                                                    TOA ALTA        PR      00953
CELLSPOT                                CALLE EQUINOCCIO 139 URB. HACIENDA PRIMA                                                                             CIDRA           PR      00739
CELLSPOT                                URB HACIENDA PRIMAVERA                   139 CALLE EQUINOCCIO                                                        CIDRA           PR      00739
CELLULAR ZONE INC                       PO BOX 1724                                                                                                          OROCOVIS        PR      00720‐1724
CELLULARES NETWORK AND OFFICE SOLUTIONS 39 CALLE JOSE J QUINTANA                                                                                             COAMO           PR      00769
CELPA DE LEON, JULIO                    ADDRESS ON FILE
CELSA G SANTIAGO MERCADO                ADDRESS ON FILE
CELSA M LOPEZ ARGUELLO                  ADDRESS ON FILE
CELSA M TIRADO RODRIGUEZ                ADDRESS ON FILE
CELSA MARTINEZ Y/O NORMA PEREZ          ADDRESS ON FILE
CELSO A IRIZARRY RAMIREZ                ADDRESS ON FILE
CELSO ALICEA                            ADDRESS ON FILE
CELSO E GARCIA DE MARCHENA              2232 SE 76TH AVE                                                                                                     PORTLAND        OR      97215
CELSO E LOPEZ VELEZ                     ADDRESS ON FILE
CELSO GARCIA ESTRADA                    ADDRESS ON FILE
CELSO GARCIA ESTRADA                    ADDRESS ON FILE
CELSO JIMÉNEZ RODRÍGUEZ                 LCDO. HÉCTOR MORENO LUNA Y LCDA. LAURA MAPARTADO 1364                                                                UTUADO          PR      00641
                                                                                                                                        1225 AVE. Ponce DE
CELSO JIMÉNEZ RODRÍGUEZ                 LCDO. NESTOR NAVAS D'ACOSTA Y LCDO. FRED GVIG TOWER                                SUITE 1005   LEÓN                 SAN JUAN        PR      00907
CELSO L GONZALEZ ESCOBAR                ADDRESS ON FILE
CELSO L NATAL MEDINA                    ADDRESS ON FILE
CELSO LORENZO GUITERAS                  ADDRESS ON FILE
CELSO LORENZO ORAMA                     ADDRESS ON FILE
CELSO MUNIZ VELEZ                       ADDRESS ON FILE
CELSO NIEVES ROSARIO                    ADDRESS ON FILE
CELSO R FIGUEROA DIAZ                   ADDRESS ON FILE
CELSO RODRIGUEZ BERMUDEZ                ADDRESS ON FILE
CELSO ROSSY /AZAHARA M ROSSY            ADDRESS ON FILE
CELSO RUPERTO MENDEZ                    ADDRESS ON FILE
CELSO VANDRELL COLON                    ADDRESS ON FILE
CELSO VEGA VAZQUEZ                      ADDRESS ON FILE
CELSO VENDRELL COLON                    ADDRESS ON FILE
CELSY MARI MARRERO SANTANA              ADDRESS ON FILE
CELT CORPORATION                        65 WEST BOSTON POST ROAD                  SUITE 200                                                                  MARLBOROUGH     MA      01752
CELUSAK HERNANDEZ, JOSEPH F.            ADDRESS ON FILE
CELYMAR COLON FIGUEROA                  ADDRESS ON FILE
CELYOMAR ORTIZ                          ADDRESS ON FILE
CEMELUS, JONES                          ADDRESS ON FILE
CEMENTERIO MUNICIPAL VALLE DE PAZ       BOX 68                                                                                                               LAS PIEDRAS     PR      00771
CEMENTERIO PORTA COELI                  PO BOX 11187                                                                                                         SAN JUAN        PR      00910‐2287
CEMEX CONCRETOS INC                     P O BOX 364487                                                                                                       SAN JUAN        PR      00936‐4487
CEMEX CONCRETOS INC                     PO BOX 1386                                                                                                          PONCE           PR      00733‐1386
CEMEX DE PUERTO RICO INC                PO BOX 331349                                                                                                        PONCE           PR      00733‐1349




                                                                                                            Page 1437 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1438 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                   Address2                                  Address3   Address4   City             State   PostalCode   Country
CEMI MEMORIAL                            PO BOX 771                                                                                                 SANTA ISABEL     PR      00757
CEN CUIDO PRESCOLAR MANITAS CREATIVA INC URB VALLE VERDE                            A‐5                                                             SAN GERMAN       PR      00683
CEN WU, CARLOS                           ADDRESS ON FILE
CEN.ESP. EN DOLOR DE CABEZA Y NEUROLOGIA TORRE SAN FRANCISCO CALLE DE DIEGO 365 SUITE 409                                                           SAN JUAN         PR      00923
CENDEJAS RODRIGUEZ, WESLEY IVAN          ADDRESS ON FILE
CENGAGE LEARNING EDITORES S. A.          METRO OFFICE PARK 3 SUITE 210                                                                              GUAYNABO         PR      00968
CENIA S PEREZ FERNANDEZ                  ADDRESS ON FILE
CENNERAZZO MD , ALBERT J                 ADDRESS ON FILE
CENSEO HEALTH LLC                        4055 VALLEY VIEW LN                                                                                        DALLAS           TX      75244
CENT CRIST CIUDAD DE REFUGIO LA MINA INC PO BOX 97                                                                                                  NAGUABO          PR      00718
CENTECH ELECTRONIC SYSTEMS INC           PO BOX 1841                                                                                                CIDRA            PR      00739
CENTEGRA PRIMARY CARE                    3707 DOTY ROAD                                                                                             WOODSTOCK        IL      60098
CENTENA MORALES, MARILU                  ADDRESS ON FILE
CENTENIAL DE P R                         P O BOX 70261                                                                                              SAN JUAN         PR      00936‐8261
CENTENIAL DE P R                         PO BOX 71514                                                                                               SAN JUAN         PR      00936‐8614
CENTENIAL DE P R WIRELINE SERVICES       PO BOX 70261                                                                                               SAN JUAN         PR      00936‐8261
CENTENIAL DE P R WIRELINE SERVICES       PO BOX 71514                                                                                               SAN JUAN         PR      00936‐7514
CENTENIO MOLINA, JOHN                    ADDRESS ON FILE
CENTENNIAL DE P R WIRELINE SERVICES      PO BOX 70261                                                                                               SAN JUAN         PR      00936‐8261
CENTENNIAL DE P R WIRELINE SERVICES      PO BOX 71514                                                                                               SAN JUAN         PR      00936‐7514
CENTENNIAL HILLS HOSPITAL                6900 N DURANGO DR                                                                                          LAS VEGAS        NV      89149
CENTENNIAL PR OPERATIONS, CORP.          P O BOX 71514                                                                                              SAN JUAN         PR      00936‐8614
CENTENO & ASOCIADO                       COND EL SENORIAL OFIC 607                  1326 CALLE SALUD                                                PONCE            PR      00717‐1687
CENTENO & ASSOCIATES INC                 EL SENORIAL PLAZA                          1326 CALLE SALUD STE 402                                        PONCE            PR      00717
CENTENO ACEVEDO, JAVIER                  ADDRESS ON FILE
CENTENO AGOSTO, CARMEN N                 ADDRESS ON FILE
CENTENO ALAYON, ARACELIO                 ADDRESS ON FILE
CENTENO ALAYON, ARACELIO                 ADDRESS ON FILE
CENTENO ALCALA, MARIA Y.                 ADDRESS ON FILE
CENTENO ALOMAR, SACHA                    ADDRESS ON FILE
CENTENO ALVARADO, CARMEN L               ADDRESS ON FILE
CENTENO ALVELO, ENRIQUE                  ADDRESS ON FILE
CENTENO ALVELO, ENRIQUE                  ADDRESS ON FILE
CENTENO ANESES, ILSA                     ADDRESS ON FILE
CENTENO ANESES, MARIA T                  ADDRESS ON FILE
CENTENO ANESES, ROSA E                   ADDRESS ON FILE
CENTENO APONTE, IRIS V                   ADDRESS ON FILE
CENTENO AQUINO, RAFAEL                   ADDRESS ON FILE
CENTENO ARCE, BRENDA                     ADDRESS ON FILE
CENTENO ARCE, EDWIN                      ADDRESS ON FILE
CENTENO ARROYO, NATALIA                  ADDRESS ON FILE
CENTENO AVILES, JOSE                     ADDRESS ON FILE
CENTENO AVILES, KEYLA                    ADDRESS ON FILE
Centeno Ayala, Luis A.                   ADDRESS ON FILE
CENTENO AYALA, LYDIA                     ADDRESS ON FILE
CENTENO AYALA, RAMON                     ADDRESS ON FILE
CENTENO AYALA, ROSA E                    ADDRESS ON FILE
CENTENO AYALA,RAMON                      ADDRESS ON FILE
CENTENO AYENDE, SANDRA                   ADDRESS ON FILE
CENTENO BAEZ, IRMA N                     ADDRESS ON FILE
CENTENO BALLESTER, PEDRO                 ADDRESS ON FILE
Centeno Barreto, Aidymaris               ADDRESS ON FILE
CENTENO BATALLA, LOURDES                 ADDRESS ON FILE
CENTENO BATALLA, MELISSA                 ADDRESS ON FILE
CENTENO BATISTA, YEILEEN                 ADDRESS ON FILE
CENTENO BENERO, FRANCIS M                ADDRESS ON FILE
CENTENO BENERO, VICTOR                   ADDRESS ON FILE
Centeno Benitez, Irma L                  ADDRESS ON FILE
CENTENO BERMUDEZ, PABLO J                ADDRESS ON FILE
CENTENO BERMUDEZ,YOMARIE                 ADDRESS ON FILE




                                                                                                               Page 1438 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1439 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CENTENO BERRIO, ANABELLE           ADDRESS ON FILE
CENTENO BERRIOS, ANABELLE          ADDRESS ON FILE
CENTENO BERRIOS, FREDESWINDA       ADDRESS ON FILE
CENTENO BORRERO, FELIX J.          ADDRESS ON FILE
CENTENO BURGOS, ANGEL              ADDRESS ON FILE
CENTENO BURGOS, CARLOS             ADDRESS ON FILE
CENTENO CACERES, HERIBERTO         ADDRESS ON FILE
CENTENO CAEZ, MARGARITA            ADDRESS ON FILE
CENTENO CALERO, CARMEN             ADDRESS ON FILE
CENTENO CALIZ, FLOR E.             ADDRESS ON FILE
Centeno Caquias, Marisol L         ADDRESS ON FILE
CENTENO CAQUIAS, SONNY             ADDRESS ON FILE
Centeno Caraballo, Angel           ADDRESS ON FILE
CENTENO CARAZO, ALICIA             ADDRESS ON FILE
CENTENO CARRASQUILLO, JOSE L       ADDRESS ON FILE
CENTENO CARRASQUILLO, RENE I       ADDRESS ON FILE
CENTENO CARRERO, JAIME             ADDRESS ON FILE
Centeno Carruccini, Sol I          ADDRESS ON FILE
Centeno Carrucini, Gil             ADDRESS ON FILE
CENTENO CARTAGENA, MARIA M         ADDRESS ON FILE
CENTENO CARTAGENA, MARIA M.        ADDRESS ON FILE
CENTENO CASANOVA, FRANCISCO        ADDRESS ON FILE
CENTENO CASILLAS, KAREN D          ADDRESS ON FILE
CENTENO CASTRO, JORGE L            ADDRESS ON FILE
Centeno Castro, Olga E             ADDRESS ON FILE
CENTENO CASTRO, STEPHANIE          ADDRESS ON FILE
CENTENO CATALA, TANIA              ADDRESS ON FILE
CENTENO CINTRON, YULIMAR           ADDRESS ON FILE
CENTENO COLON, ANIBAL              ADDRESS ON FILE
CENTENO COLON, EVELYN              ADDRESS ON FILE
CENTENO COLON, OSCAR               ADDRESS ON FILE
CENTENO COLON, SANDRA              ADDRESS ON FILE
Centeno Colon, Sandy               ADDRESS ON FILE
CENTENO CONTRERAS, HECTOR          ADDRESS ON FILE
CENTENO CORDOVA, JAFET             ADDRESS ON FILE
CENTENO COSME, BRENDA M            ADDRESS ON FILE
CENTENO COSME, OSCAR               ADDRESS ON FILE
Centeno Cosme, Oscar Orlando       ADDRESS ON FILE
CENTENO CRUZ, ANGEL M              ADDRESS ON FILE
CENTENO CRUZ, CARLOS               ADDRESS ON FILE
CENTENO CRUZ, CARLOS A             ADDRESS ON FILE
CENTENO CRUZ, CARMEN E             ADDRESS ON FILE
CENTENO CRUZ, CARMEN M             ADDRESS ON FILE
CENTENO CRUZ, EILEEN               ADDRESS ON FILE
CENTENO CRUZ, HIGINIO M            ADDRESS ON FILE
Centeno Cruz, Hilario              ADDRESS ON FILE
CENTENO CRUZ, HILARIO              ADDRESS ON FILE
CENTENO CRUZ, LILLIAM              ADDRESS ON FILE
CENTENO CRUZ, LUIS                 ADDRESS ON FILE
CENTENO CRUZ, LUIS D.              ADDRESS ON FILE
CENTENO CRUZ, MARIE I.             ADDRESS ON FILE
CENTENO CRUZ, RAFAEL               ADDRESS ON FILE
CENTENO CRUZ, TAMARA               ADDRESS ON FILE
CENTENO CURBELO, NILSA I           ADDRESS ON FILE
CENTENO DAVILA, MARIA DEL          ADDRESS ON FILE
CENTENO DE ALVARADO, MIGNA I       ADDRESS ON FILE
CENTENO DE JESUS, GLORIA M         ADDRESS ON FILE
CENTENO DE JESUS, MARIA DE LOS A   ADDRESS ON FILE
CENTENO DE SKERRET, NORMA I        ADDRESS ON FILE
CENTENO DELGADO, FRANCISCO         ADDRESS ON FILE




                                                                               Page 1439 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1440 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CENTENO DELGADO, JESABEL J      ADDRESS ON FILE
CENTENO DIAZ, ANGEL             ADDRESS ON FILE
CENTENO DIAZ, EDGARD            ADDRESS ON FILE
CENTENO DIAZ, EDNY M            ADDRESS ON FILE
CENTENO DIAZ, INES M            ADDRESS ON FILE
CENTENO DIAZ, JORGE L           ADDRESS ON FILE
CENTENO DIAZ, JORGE L           ADDRESS ON FILE
CENTENO DIAZ, JORGE L.          ADDRESS ON FILE
CENTENO DIAZ, JUDITH E          ADDRESS ON FILE
CENTENO DIAZ, KEYLA             ADDRESS ON FILE
CENTENO DIAZ, RAMON             ADDRESS ON FILE
CENTENO DIAZ, WILFREDO          ADDRESS ON FILE
CENTENO ECHEVARRIA, AMELIA      ADDRESS ON FILE
Centeno Faria, David            ADDRESS ON FILE
CENTENO FARIA, YESSENIA         ADDRESS ON FILE
CENTENO FELICIANO, EUSEBIA      ADDRESS ON FILE
CENTENO FELICIANO, ROSA E       ADDRESS ON FILE
CENTENO FELIX, TIFFANY          ADDRESS ON FILE
CENTENO FERNANDEZ, ELVIN        ADDRESS ON FILE
CENTENO FERNANDEZ, MARIA        ADDRESS ON FILE
Centeno Fernandez, Maria E      ADDRESS ON FILE
CENTENO FERREIRA, NANCY         ADDRESS ON FILE
CENTENO FIGUEROA, BRENDA L      ADDRESS ON FILE
CENTENO FIGUEROA, JORGE         ADDRESS ON FILE
CENTENO FIGUEROA, JUAN J.       ADDRESS ON FILE
CENTENO FIGUEROA, PEDRO N       ADDRESS ON FILE
CENTENO FLORES, MANUEL          ADDRESS ON FILE
CENTENO FONTANEZ, MARGARITA     ADDRESS ON FILE
CENTENO FONTANEZ, PRISCILLA     ADDRESS ON FILE
CENTENO FONTANEZ, ROSA          ADDRESS ON FILE
CENTENO FRANCIS, EMMA R.        ADDRESS ON FILE
CENTENO FRANCO, ROBERTO         ADDRESS ON FILE
CENTENO GARCIA, AMPARO          ADDRESS ON FILE
CENTENO GARCIA, DIXIE           ADDRESS ON FILE
CENTENO GARCIA, JAY             ADDRESS ON FILE
CENTENO GARCIA, OBDULIO         ADDRESS ON FILE
CENTENO GAUD, ORLANDO           ADDRESS ON FILE
CENTENO GERENA, LILLIAM         ADDRESS ON FILE
CENTENO GONZALEZ, ALEJANDRO     ADDRESS ON FILE
CENTENO GONZALEZ, ANA D         ADDRESS ON FILE
CENTENO GONZALEZ, CARMEN G.     ADDRESS ON FILE
CENTENO GONZALEZ, CARMEN R      ADDRESS ON FILE
CENTENO GONZALEZ, EDWIN         ADDRESS ON FILE
CENTENO GONZALEZ, JESUS M       ADDRESS ON FILE
CENTENO GONZALEZ, JOSE L        ADDRESS ON FILE
CENTENO GONZALEZ, LIZ ZHUGGEY   ADDRESS ON FILE
CENTENO GONZALEZ, MARLENE       ADDRESS ON FILE
CENTENO GONZALEZ, OLGA D        ADDRESS ON FILE
CENTENO GONZALEZ, PERLA M.      ADDRESS ON FILE
CENTENO GONZALEZ, PERLA M.      ADDRESS ON FILE
CENTENO GONZALEZ, RAMON         ADDRESS ON FILE
CENTENO GUZMAN, EVELYN          ADDRESS ON FILE
Centeno Guzman, Leonor          ADDRESS ON FILE
Centeno Hernandez, Carmen S     ADDRESS ON FILE
CENTENO HERNANDEZ, JUAN         ADDRESS ON FILE
CENTENO HERNANDEZ, RAFAEL       ADDRESS ON FILE
CENTENO HERNANDEZ, RAFAEL       ADDRESS ON FILE
CENTENO HERNANDEZ, ROBERTO      ADDRESS ON FILE
CENTENO HERNANDEZ, WILMARY      ADDRESS ON FILE
CENTENO HERNANDEZ, WILMARY      ADDRESS ON FILE




                                                                            Page 1440 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1441 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CENTENO INFANZON, MIREVIC     ADDRESS ON FILE
CENTENO JIMENEZ, DIEGO        ADDRESS ON FILE
CENTENO JIMENEZ, GAMALIEL     ADDRESS ON FILE
CENTENO JIMENEZ, HUMBERTO     ADDRESS ON FILE
CENTENO JORGE, JAIME          ADDRESS ON FILE
Centeno Juarbe, Consuelo      ADDRESS ON FILE
CENTENO JUARBE, MAYRA         ADDRESS ON FILE
CENTENO LAI, ANNIE            ADDRESS ON FILE
CENTENO LANDRON, HECTOR       ADDRESS ON FILE
CENTENO LLOPIZ, CLARIBEL      ADDRESS ON FILE
Centeno Llopiz, Edgardo       ADDRESS ON FILE
CENTENO LOPEZ, AIDA M         ADDRESS ON FILE
CENTENO LOPEZ, ARMANDO        ADDRESS ON FILE
CENTENO LOPEZ, JOSE           ADDRESS ON FILE
Centeno Lopez, Juan C.        ADDRESS ON FILE
CENTENO LOPEZ, LISSETTE       ADDRESS ON FILE
CENTENO LOPEZ, MARIA T.       ADDRESS ON FILE
Centeno Lopez, Veronica       ADDRESS ON FILE
CENTENO LOPEZ, VICTOR         ADDRESS ON FILE
CENTENO LOZADA, ERNESTO       ADDRESS ON FILE
CENTENO LUGO, AIDA I          ADDRESS ON FILE
CENTENO LUGO, AMAURY          ADDRESS ON FILE
CENTENO LUGO, GLENDALY        ADDRESS ON FILE
CENTENO LUNA, IVAN            ADDRESS ON FILE
Centeno Luna, Ivan A          ADDRESS ON FILE
CENTENO LUNA, OLGA I          ADDRESS ON FILE
Centeno Luna, Victor M        ADDRESS ON FILE
Centeno Maldonado, Carmen     ADDRESS ON FILE
CENTENO MALDONADO, JANITZA    ADDRESS ON FILE
CENTENO MALDONADO, JOSE       ADDRESS ON FILE
CENTENO MALDONADO, JOSEFINA   ADDRESS ON FILE
CENTENO MALDONADO, JULIO      ADDRESS ON FILE
CENTENO MALDONADO, KARINA     ADDRESS ON FILE
CENTENO MALDONADO, MARIA C.   ADDRESS ON FILE
CENTENO MARIN, MARIA I        ADDRESS ON FILE
CENTENO MARQUEZ, YOLANDA      ADDRESS ON FILE
CENTENO MARRERO, CARMEN M     ADDRESS ON FILE
CENTENO MARTELL, INGRID       ADDRESS ON FILE
CENTENO MARTINEZ, CARLOS      ADDRESS ON FILE
CENTENO MARTINEZ, GUILLERMO   ADDRESS ON FILE
CENTENO MARTINEZ, GUILLERMO   ADDRESS ON FILE
CENTENO MAYSONET, JENNYFER    ADDRESS ON FILE
CENTENO MEDINA, DAVID         ADDRESS ON FILE
CENTENO MEDINA, DIANA L       ADDRESS ON FILE
CENTENO MEDINA, ESTEBAN       ADDRESS ON FILE
CENTENO MEDINA, JUAN B        ADDRESS ON FILE
CENTENO MELENDEZ, AIDA        ADDRESS ON FILE
CENTENO MELENDEZ, MARTIN      ADDRESS ON FILE
CENTENO MELENDEZ, SONIA M     ADDRESS ON FILE
CENTENO MENDEZ, EDWIN         ADDRESS ON FILE
CENTENO MERCADO, PILAR        ADDRESS ON FILE
CENTENO MERCED, CARLOS        ADDRESS ON FILE
CENTENO MERCED, CARLOS        ADDRESS ON FILE
CENTENO MERCED, JOSUE R.      ADDRESS ON FILE
CENTENO MIRANDA, MELEYRA      ADDRESS ON FILE
CENTENO MIRANDA, WALESKA      ADDRESS ON FILE
CENTENO MOLINA, LUZ N         ADDRESS ON FILE
CENTENO MONTALVO, JOSE        ADDRESS ON FILE
CENTENO MONTANEZ, CARMEN M    ADDRESS ON FILE
CENTENO MONTANEZ, EDWIN       ADDRESS ON FILE




                                                                          Page 1441 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1442 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Centeno Montanez, Jose A         ADDRESS ON FILE
CENTENO MONTANEZ, MAGIN          ADDRESS ON FILE
CENTENO MONTERO, CANDIDA         ADDRESS ON FILE
CENTENO MORALES, AIDA M          ADDRESS ON FILE
CENTENO MORALES, JORGE J         ADDRESS ON FILE
CENTENO MORALES, JOSE G          ADDRESS ON FILE
CENTENO MORALES, LUIS            ADDRESS ON FILE
CENTENO MORALES, MARGARITA       ADDRESS ON FILE
Centeno Morales, Marilu          ADDRESS ON FILE
CENTENO MORALES, MARILU          ADDRESS ON FILE
CENTENO MORENO, KEYSLA           ADDRESS ON FILE
CENTENO MUNIZ, IVONNE            ADDRESS ON FILE
CENTENO MUNOZ, JEFFREY           ADDRESS ON FILE
CENTENO MUNOZ, NICOLE            ADDRESS ON FILE
CENTENO NAVARRO, ARTURO          ADDRESS ON FILE
CENTENO NAVARRO, ERICK           ADDRESS ON FILE
CENTENO NAVARRO, MANUEL          ADDRESS ON FILE
Centeno Navarro, Yamira          ADDRESS ON FILE
CENTENO NAVEDO, KELVIN           ADDRESS ON FILE
CENTENO NEGRON, JOUSEPH          ADDRESS ON FILE
CENTENO NEGRON, MARIA V.         ADDRESS ON FILE
CENTENO NIEVES, JOSE             ADDRESS ON FILE
CENTENO NIEVES, MARIA T.         ADDRESS ON FILE
CENTENO NUNEZ, VICTOR            ADDRESS ON FILE
CENTENO OLMO, DAMARIS            ADDRESS ON FILE
CENTENO OLMO, DILSA E            ADDRESS ON FILE
CENTENO ORTA, LUCILA             ADDRESS ON FILE
CENTENO ORTEGA, CHRISTIAN JOEL   ADDRESS ON FILE
CENTENO ORTIZ, ANGEL             ADDRESS ON FILE
Centeno Ortiz, Angel L           ADDRESS ON FILE
CENTENO ORTIZ, GABRIEL           ADDRESS ON FILE
CENTENO ORTIZ, GRISSELLE         ADDRESS ON FILE
CENTENO ORTIZ, HECTOR            ADDRESS ON FILE
Centeno Ortiz, Jimmy             ADDRESS ON FILE
CENTENO ORTIZ, JORGE             ADDRESS ON FILE
CENTENO ORTIZ, LUIS              ADDRESS ON FILE
Centeno Ortiz, Luis A            ADDRESS ON FILE
CENTENO ORTIZ, LUZ               ADDRESS ON FILE
CENTENO ORTIZ, MARICELA          ADDRESS ON FILE
CENTENO ORTIZ, MYRTA             ADDRESS ON FILE
CENTENO ORTIZ, OSCAR             ADDRESS ON FILE
CENTENO ORTIZ, WILCIDES          ADDRESS ON FILE
CENTENO OTERO, CARMEN A          ADDRESS ON FILE
CENTENO OTERO, LOURDES           ADDRESS ON FILE
CENTENO OTERO, WENDY             ADDRESS ON FILE
CENTENO PADILLA, MILAGROS        ADDRESS ON FILE
CENTENO PAGAN, CARMEN I          ADDRESS ON FILE
Centeno Pagan, Lilibeth          ADDRESS ON FILE
CENTENO PAGAN, LILIBETH          ADDRESS ON FILE
CENTENO PAGAN, SYLMA             ADDRESS ON FILE
CENTENO PAGAN, SYLMA R           ADDRESS ON FILE
CENTENO PANTOJA, LINETT D        ADDRESS ON FILE
CENTENO PENZORT, BETZY           ADDRESS ON FILE
Centeno Perea, Ismael            ADDRESS ON FILE
CENTENO PEREZ, CARMEN G          ADDRESS ON FILE
CENTENO PEREZ, CARMEN G.         ADDRESS ON FILE
CENTENO PEREZ, IRIA              ADDRESS ON FILE
CENTENO PEREZ, LUIS              ADDRESS ON FILE
Centeno Perez, William           ADDRESS ON FILE
CENTENO PEREZ, YENITZA           ADDRESS ON FILE




                                                                             Page 1442 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1443 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CENTENO PRATTS, LUZ D            ADDRESS ON FILE
CENTENO QUILES, EFRAIN           ADDRESS ON FILE
CENTENO QUILES, LUZ E            ADDRESS ON FILE
CENTENO QUINONES, EVELYN         ADDRESS ON FILE
Centeno Quinones, Hector         ADDRESS ON FILE
CENTENO QUINONES, KEISHLA        ADDRESS ON FILE
CENTENO QUINONES, SYLNES         ADDRESS ON FILE
CENTENO QUINONES, SYLNES         ADDRESS ON FILE
CENTENO QUINTANA, LORRAINE       ADDRESS ON FILE
CENTENO RALAT, JAVIER            ADDRESS ON FILE
Centeno Ramos, Amarilys          ADDRESS ON FILE
CENTENO RAMOS, BETZAIDA          ADDRESS ON FILE
CENTENO RAMOS, CHRISTIAN         ADDRESS ON FILE
CENTENO RAMOS, EULALIA           ADDRESS ON FILE
CENTENO RAMOS, JULIA             ADDRESS ON FILE
Centeno Ramos, Julia I           ADDRESS ON FILE
CENTENO RAMOS, MARIA DEL C.      ADDRESS ON FILE
CENTENO RAMOS, MARIA E.          ADDRESS ON FILE
CENTENO RAMOS, MARIA MARGARITA   ADDRESS ON FILE
CENTENO REYES, BLANCA            ADDRESS ON FILE
CENTENO RIOS, EDMARIE            ADDRESS ON FILE
CENTENO RIOS, IRISEL             ADDRESS ON FILE
CENTENO RIOS, IVONNE             ADDRESS ON FILE
CENTENO RIOS, RAIZA              ADDRESS ON FILE
CENTENO RIOS, SECUNDINO          ADDRESS ON FILE
CENTENO RIOS, WILLIAM            ADDRESS ON FILE
CENTENO RIVERA, AITZA N          ADDRESS ON FILE
CENTENO RIVERA, BLANCA           ADDRESS ON FILE
CENTENO RIVERA, CARMEN E         ADDRESS ON FILE
CENTENO RIVERA, CARMEN Y.        ADDRESS ON FILE
CENTENO RIVERA, CAROLINE         ADDRESS ON FILE
CENTENO RIVERA, CATALINA         ADDRESS ON FILE
CENTENO RIVERA, CONSUELO         ADDRESS ON FILE
CENTENO RIVERA, EMILIA           ADDRESS ON FILE
CENTENO RIVERA, ENID MARIE       ADDRESS ON FILE
CENTENO RIVERA, INES M           ADDRESS ON FILE
CENTENO RIVERA, IRMA             ADDRESS ON FILE
Centeno Rivera, Javier           ADDRESS ON FILE
Centeno Rivera, Julian M         ADDRESS ON FILE
CENTENO RIVERA, LUIS             ADDRESS ON FILE
CENTENO RIVERA, LUZ E.           ADDRESS ON FILE
CENTENO RIVERA, LUZ S            ADDRESS ON FILE
CENTENO RIVERA, MARIA            ADDRESS ON FILE
CENTENO RIVERA, MIGDALIA         ADDRESS ON FILE
CENTENO RIVERA, MIGNA            ADDRESS ON FILE
CENTENO RIVERA, MIRIAM           ADDRESS ON FILE
CENTENO RIVERA, OLGA             ADDRESS ON FILE
CENTENO RIVERA, RAFAEL           ADDRESS ON FILE
CENTENO RIVERA, SERGIO           ADDRESS ON FILE
Centeno Rodriguez, Christian J   ADDRESS ON FILE
Centeno Rodriguez, Efrain        ADDRESS ON FILE
CENTENO RODRIGUEZ, HECTOR        ADDRESS ON FILE
Centeno Rodriguez, Jorge M       ADDRESS ON FILE
CENTENO RODRIGUEZ, JOSE          ADDRESS ON FILE
CENTENO RODRIGUEZ, JOSE A        ADDRESS ON FILE
CENTENO RODRIGUEZ, JOSE L        ADDRESS ON FILE
CENTENO RODRIGUEZ, JUAN C        ADDRESS ON FILE
CENTENO RODRIGUEZ, JUANITA       ADDRESS ON FILE
CENTENO RODRIGUEZ, LIZA M        ADDRESS ON FILE
CENTENO RODRIGUEZ, MIGDALIA      ADDRESS ON FILE




                                                                             Page 1443 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1444 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CENTENO RODRIGUEZ, MIGUEL      ADDRESS ON FILE
CENTENO RODRIGUEZ, OMAR        ADDRESS ON FILE
CENTENO RODRIGUEZ, OSCAR       ADDRESS ON FILE
CENTENO RODRIGUEZ, RICHARD     ADDRESS ON FILE
CENTENO RODRIGUEZ, SERGIO D    ADDRESS ON FILE
CENTENO RODRIGUEZ, SONIA I     ADDRESS ON FILE
CENTENO RODRIGUEZ, SONIA I     ADDRESS ON FILE
CENTENO RODRIGUEZ, VICTOR      ADDRESS ON FILE
CENTENO RODRIGUEZ, WANDA I.    ADDRESS ON FILE
CENTENO ROMAN, AWILDA          ADDRESS ON FILE
Centeno Roman, Norberto        ADDRESS ON FILE
CENTENO ROMAN, NORELIS         ADDRESS ON FILE
CENTENO ROSA, ALEXANDRA        ADDRESS ON FILE
CENTENO ROSA, JULIO            ADDRESS ON FILE
CENTENO ROSARIO, CRISTIAN      ADDRESS ON FILE
CENTENO SALGADO, JOSE J        ADDRESS ON FILE
Centeno Sanabria, Adalberto    ADDRESS ON FILE
CENTENO SANCHEZ, EUNICE        ADDRESS ON FILE
CENTENO SANCHEZ, JOSE          ADDRESS ON FILE
Centeno Sanchez, Jose M        ADDRESS ON FILE
Centeno Sanchez, Pedro         ADDRESS ON FILE
Centeno Sandoz, Elba Lydia     ADDRESS ON FILE
CENTENO SANTAGO, DARICE N.     ADDRESS ON FILE
CENTENO SANTIAGO, ANGEL        ADDRESS ON FILE
CENTENO SANTIAGO, ANGEL        ADDRESS ON FILE
CENTENO SANTIAGO, ANGEL D      ADDRESS ON FILE
CENTENO SANTIAGO, CARMEN J     ADDRESS ON FILE
CENTENO SANTIAGO, GIOVANNIE    ADDRESS ON FILE
CENTENO SANTIAGO, GIOVANNIE    ADDRESS ON FILE
CENTENO SANTIAGO, GIOVANNIE    ADDRESS ON FILE
CENTENO SANTIAGO, GLENDALYS    ADDRESS ON FILE
CENTENO SANTIAGO, JANILLE      ADDRESS ON FILE
Centeno Santiago, Joan B       ADDRESS ON FILE
CENTENO SANTIAGO, JULIO        ADDRESS ON FILE
CENTENO SANTIAGO, NIDIA        ADDRESS ON FILE
CENTENO SANTOS, LUIS           ADDRESS ON FILE
Centeno Santos, Luis H         ADDRESS ON FILE
CENTENO SERRANO, CARLOS        ADDRESS ON FILE
CENTENO SIERRA, LUIS           ADDRESS ON FILE
CENTENO SILVA, FERNANDO L      ADDRESS ON FILE
CENTENO SOTO, EDGARDO          ADDRESS ON FILE
CENTENO SOTO, EDGARDO          ADDRESS ON FILE
CENTENO SOTO, ELGA             ADDRESS ON FILE
Centeno Soto, Linda            ADDRESS ON FILE
CENTENO SOTO, ROSA             ADDRESS ON FILE
CENTENO SOTO, TALISSA          ADDRESS ON FILE
CENTENO TORRE, ELIZABETH       ADDRESS ON FILE
Centeno Torres, Carlos E       ADDRESS ON FILE
CENTENO TORRES, DORIS          ADDRESS ON FILE
CENTENO TORRES, ELIZABETH      ADDRESS ON FILE
CENTENO TORRES, FRANCISCO      ADDRESS ON FILE
CENTENO TORRES, IRMA           ADDRESS ON FILE
Centeno Torres, Ivelisse       ADDRESS ON FILE
CENTENO TORRES, JONATHAN       ADDRESS ON FILE
CENTENO TORRES, JOSE           ADDRESS ON FILE
CENTENO TORRES, MARIA DE LOS   ADDRESS ON FILE
CENTENO TORRES, RAMON          ADDRESS ON FILE
CENTENO TORRES, RIGOBERTO      ADDRESS ON FILE
CENTENO TORRES, ROBERTO        ADDRESS ON FILE
CENTENO TORRES, ROSE M.        ADDRESS ON FILE




                                                                           Page 1444 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1445 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                            Address2                                    Address3   Address4   City                State   PostalCode   Country
CENTENO TORRES, YOVANA A                 ADDRESS ON FILE
CENTENO TROCHE, MARIBEL                  ADDRESS ON FILE
CENTENO VAZQUEZ, ERNESTO                 ADDRESS ON FILE
CENTENO VAZQUEZ, ILEANA                  ADDRESS ON FILE
CENTENO VAZQUEZ, MADELINE                ADDRESS ON FILE
CENTENO VAZQUEZ, NICOLAS                 ADDRESS ON FILE
CENTENO VAZQUEZ, ROBERTO                 ADDRESS ON FILE
CENTENO VAZQUEZ, TERESA                  ADDRESS ON FILE
CENTENO VEGA, AHIESHA                    ADDRESS ON FILE
CENTENO VEGA, LIDSAY X                   ADDRESS ON FILE
CENTENO VEGA, SYLVIA                     ADDRESS ON FILE
CENTENO VEGA, VILMA G                    ADDRESS ON FILE
CENTENO VELAZQUEZ, LORNARIS              ADDRESS ON FILE
CENTENO VELEZ, KATHIA                    ADDRESS ON FILE
CENTENO VERA, ANGEL                      ADDRESS ON FILE
CENTENO VIERA, ELSIE                     ADDRESS ON FILE
CENTENO VIERA, FRANCISCA                 ADDRESS ON FILE
CENTENO VILLANUEVA, DENYS                ADDRESS ON FILE
CENTENO VILLEGAS, CARLOS                 ADDRESS ON FILE
CENTENO VILLEGAS, JOSEFA                 ADDRESS ON FILE
CENTENO VIRELLA, SHAKIRA                 ADDRESS ON FILE
CENTENO YORDAN, CONCEPCION               ADDRESS ON FILE
CENTENO YORDAN, MIRTHA L                 ADDRESS ON FILE
CENTENO, ANGEL                           ADDRESS ON FILE
CENTENO, ANGEL                           ADDRESS ON FILE
Centeno, Angel A                         ADDRESS ON FILE
CENTENO, JUAN                            ADDRESS ON FILE
CENTENO, MARIA DE LOS A                  ADDRESS ON FILE
CENTENO, MILDRED                         ADDRESS ON FILE
CENTENO, MINDY                           ADDRESS ON FILE
CENTENO, RUBEN                           ADDRESS ON FILE
CENTER CITY FAMILY PRACTICE              2512 ATLANTIC AVE                                                                                     ATLANTIC CITY       NJ      08401‐6502
CENTER COURT SPORTS                      PO BOX 10400                                                                                          SAN JUAN            PR      00922‐0400
CENTER DIAGNOSTIC LAB INC                REPTO METROPOLITANO                 1251 AVE AMERICO MIRANDA                                          SAN JUAN            PR      00921
CENTER FOR ADDICTIVE DISEASES            479 THOMAS JONES WAY                SUITE 800                                                         EXTON               PA      19341
CENTER FOR AMERICAN PROGRESS             1333 H STREET NW 10TH FLOOR                                                                           WASHINTON           DC      20005
CENTER FOR APPLIED LINGUISTICS           1118 22ND STREET N W                                                                                  WASHINGTON          DC      22037
CENTER FOR APPLIED LINGUISTICS           CAL STORE                           PO BOX 418564                                                     BOSTON              MA      02241‐8564
CENTER FOR BACK PAIN MANAGEMENT          MEDICAL RECORDS                     800 EAST CYPRESS CREEK RD STE 203                                 FOR LAUDERDALE      FL      33334
CENTER FOR BEHAVIORAL HEALTH             ATT MEDICAL RECORDS                 615 E PRINCETON ST STE 3A                                         ORLANDO             FL      32803
CENTER FOR BEHAVORIAL HEALT              PO BOX 409669                                                                                         ATLANTA             GA      30384‐9669
CENTER FOR CHILD DEVELOPMENT             120 BLUEGRASS VALLEY PKWY                                                                             ALPHARETTA          GA      30005
CENTER FOR CLIMATE STRATERGIES INC       1800 K STREET NW STE 714                                                                              WASHINGTON          DC      20006
CENTER FOR CREATIVE HEALING              142 HIGH ST                                                                                           PORTLAND            ME      04101
CENTER FOR DIABETES CONTROL CORP         PO BOX 312                                                                                            CAROLINA            PR      00986
CENTER FOR FAMILY MEDICINE               MEDICAL RECORDS                     1115 E 20TH                                                       SIOUX FALLS         SD      57105
CENTER FOR FAMILY PRACTICE AND SPORTS MEDMEDICAL RECORDS                     720 OAK COMMON BLVD                                               KISSIMEE            FL      34741
CENTER FOR FINANCIAL TRAINING OF PR INC  AVE PONCE DE LEON 208               SUITE 1014                                                        SAN JUAN            PR      00918‐1002
CENTER FOR JUVENILE JUSTICE REFORM       GEORGETOWN UNIVERSITY BOX 571444    3300 WHITEHAVE STREET SUITE 5000                                  WASHINGTON          DC      20057
CENTER FOR MEDICARE AND MEDICAID SERVICESDIVISION OF ACCOUNTIG               PO BOX 7520                                                       BALTIMORE           MD      21207‐0520
CENTER FOR OCCUPATIONAL RESEARCH & DEV P O BOX 21689                                                                                           WAKO                TX      76702‐1689
CENTER FOR ORTHOPEDICS                   5001 TRANSPORTATION DRIVE                                                                             SHEFFIELD VILLAGE   OH      44054‐2849
CENTER FOR PAIN CONTROL                  1235 PENN AVE STE 302                                                                                 READING             PA      19610
CENTER FOR PAIN MANAGEMENT               ATTN MEDICAL RECORDS                1630 MAIN ST STE 215                                              CHESTER             MD      21619
CENTER FOR PSYCHIATRIC REHABILITATION    940 COMMONWEALTH AVENUE WEST                                                                          BOSTON              MA      02215‐0000
CENTER FOR PSYCHOLOGICAL AND FAMILY SERVI130 MAPLE ST STE 205                                                                                  SPRINGFIELD         MA      01103
CENTER FOR WEIGHT MANAGEMENT             8344 CLAIREMONT MESA BLVD STE 201                                                                     SAN DIEGO           CA      92111
CENTER TECH COMUNICATIONS INC.           P.O. BOX 1253                                                                                         CIDRA               PR      00739
CENTER WIRELESS                          AVE PONCE DE LEON                                                                                     SAN JUAN            PR      00917
CENTERPLEX                               PO BOX 8000                                                                                           AGUADA              PR      00602




                                                                                                          Page 1445 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1446 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                                Address1                              Address2                                        Address3           Address4   City              State   PostalCode   Country
CENTERPLEX INC                               CALLE CENTRAL III                                                                                                   AGUADA            PR      00602
CENTERS FOR MEDICARE & MEDICAID SERVICES DIVISION OF ACCOUNTING                    PO BOX 7520                                                                   BALTIMORE         MD      21207‐0520
CENTERS FOR MEDICARE & MEDICAID SERVICES DIVISION OF PREMIUM BILLING & COLLECTIONS PO BOX 7520                                                                   BALTIMORE         MD      21207‐0520
CENTERS FOR MEDICARE & MEDICAID SERVICES PO BOX 33829                                                                                                            DETROIT           MI      48232‐5829
CENTINELAS DE OROCOVIS DOBLE AA INC          PO BOX 1588                                                                                                         OROCOVIS          PR      00720
CENTINELAS RUNNERS CLUB INC                  HC 2 BOX 7450                                                                                                       OROCOVIS          PR      00720
CENTOBENE ORTIZ, JENNIFER                    ADDRESS ON FILE
CENTOFANTI VIQUEIRA, BRENDA                  ADDRESS ON FILE
CENTRA CARE URGENT CARE                      2600 WESTHALL LANE                    BOX 300                                                                       MAITLAND          FL      32751
CENTRA STATE MEDICAL CENTER                  CORRESPONDENCE MANAGEMENT INC/        PO BOX 2110                                                                   CHERRY HILL       NJ      08034‐0152
CENTRAL 12                                   P.O. BOX 195465                                                                                                     SAN JUAN          PR      00919‐5464
CENTRAL 12 INC                               PO BOX 195465                                                                                                       SAN JUAN          PR      00919
CENTRAL ‐12, LLC                             URB. LAS VEGAS MARGINAL               CARR. 869 C‐15                                                                CATANO            PR      00962
Central Auténtica de Trabajadores (CAT)      Vega Vélez, Adalberto                 HC 01 Box 5110                                                                Salinas           PR      00751
Central Auténtica de Trabajadores (CAT)      Vega Vélez, Adalberto                 Edif. La Electrónica 1608 Calle Boris           Ste 329 o 326                 San Juan          PR      00927
CENTRAL BAPTIST HOSPITAL                     MEDICAL RECORDS                       1740 NICHOLASVILLE RD                                                         LEXINGTON         KY      40503‐1499
CENTRAL CARE ADVENTIST HEALTH SYSTEMSUNBATTN MEDICAL RECORDS DEPT                  509 S SEMORAN BLVD                                                            ORLANDO           FL      32807
CENTRAL COMMUNICATIONS AGENCY INC            PO BOX 71350                                                                                                        SAN JUAN          PR      00936
CENTRAL CONNECTICUT CARDIOLOGISTS            21 WOODLAND STREET                    SUITE 211                                                                     HARTFORD          CT      06105‐1770
CENTRAL DEVELOPMENT CORP                     PO BOX 734                                                                                                          CAGUAS            PR      00726‐0734
CENTRAL DRUG J M CO INC                      PO BOX 195639                                                                                                       SAN JUAN          PR      00919
CENTRAL ENG AND CONTRACTORS CORP             PO BOX 420                                                                                                          JAYUYA            PR      00664
CENTRAL FIRE EXTINGUISHER                    HC‐72 BOX 35494                                                                                                     NARANJITO         PR      00719
CENTRAL FL HEALTH CARE                       ATTN MEDICAL RECORDS                  950 COUNTRY RD 17A W                                                          AVON PARK         FL      33825
CENTRAL FLORIDA BEHAVIORAL HOSPITAL          6601 CENTRAL FLORIDA PKWY                                                                                           ORLANDO           FL      32821
CENTRAL FLORIDA EYE INSTITUTE                MEDICAL RECORDS                       3133 SW 32ND AV                                                               OCALA             FL      34474‐4494
CENTRAL FLORIDA FAMILY HEALTH CENTER         8344 CLAIREMONT MESA BLVD             SUITE 201                                                                     SAN DIEGO         CA      92111
CENTRAL FLORIDA GASTROENTEROLOGY NEPHROMEDICAL RECORDS                             9430 TURKEY LAKE RD                             SUITE 206                     ORLANDO           FL      32819
CENTRAL FLORIDA NEUROSURGERY INSTITUTE 8344 CLAIREMONT MESA BLVD                   SUITE 201                                                                     SAN DIEGO         CA      92111
CENTRAL FLORIDA PULMONARY GROUP              MEDICAL RECORDS                       326 N MILLS AVE                                                               ORLANDO           FL      32803
CENTRAL FLORIDA REGIONAL HOSPITAL            ATTN: HEALTH INFORMATION MGMT DEPT    1401 W SEMINOLE BLV                                                           SANFORD           FL      32771
Central General de Trabajadores              López, José Adrian                    PO Box 192901                                                                 San Juan          PR      00919
CENTRAL GROUP ENGINEERING SERVICES, PSC 63 CALLE BARCELO ALTOS                                                                                                   BARRANQUITAS      PR      00794
CENTRAL INDUSTRIAL SERVICES                  PMB 131 BOX 2020                                                                                                    BARCELONETA       PR      00617
CENTRAL NETWORK COMP CENTER                  PO BOX 51821                                                                                                        TOA BAJA          PR      00950
CENTRAL NORTH AL HEALTH                      ATTN MEDICAL RECORS                   PO BOX 18488                                                                  HUNTSVILLE        AL      35804
CENTRAL OFFICE DIST. INC                     STO. DOMINGO                          CARR. 849 # 277‐B                                                             TRUJILLO ALTO     PR      00976‐2932
CENTRAL OFFICE DISTRIBUTORS INC              P.O. BOX 1463                                                                                                       CAROLINA          PR      00984
CENTRAL PALLETS CORP                         PO BOX 4960 PMB 116                                                                                                 CAGUAS            PR      00726
CENTRAL PARKING SYSTEMS OF PR                P.O. BOX 191310                                                                                                     SAN JUAN          PR      00919‐1310
CENTRAL PEDIATRIC GROUP                      PO BOX 6270                                                                                                         CAGUAS            PR      00726
CENTRAL POWER SOLUTION CORP                  PO BOX 1111                                                                                                         COMERIO           PR      00782
CENTRAL PRIMARY CARE GROUP                   PO BOX 1430                                                                                                         JAYUYA            PR      00664‐2430
CENTRAL PROD EL JIBARITO INC/WINDMAR         P O BOX 11909                                                                                                       SAN JUAN          PR      00922‐1909
CENTRAL PROGRAMS , INC.                      GUMDROP BOOKS P.O. BOX 505                                                                                          BETHANY , MO      PR      64424‐0505
CENTRAL PUERTORRIQUEðA DE TRABAJADORES PO BOX 364084                                                                                                             SAN JUAN          PR      00936‐4084
CENTRAL PUERTORRIQUENA DE TRABAJADORES AREA DEL TESORO                             CONTADURIA GENERAL                                                            SAN JUAN          PR      00902
CENTRAL PUERTORRIQUENA DE TRABAJADORES PO BOX 364084                                                                                                             SAN JUAN          PR      00936‐4084
Central Puertorriqueña de Trabajadores (CPT) Irene Maymí, Pedro J.                 Puerto Nuevo                                    1214 Calle Cádiz              San Juan          PR      00920
Central Puertorriqueña de Trabajadores (CPT) Irene Maymí, Pedro J.                 Urb Puerto Nuevo                                1214 Calle Cádiz              San Juan          PR      00920
CENTRAL ROOFING INC                          P O BOX 1117                                                                                                        AIBONITO          PR      00705
Central States Indemnity Co. of Omaha        212 North 96th Street                                                                                               Omaha             NE      68114
Central States Indemnity Co. of Omaha        Attn: John Kizer, President           PO Box 34888                                                                  Omaha             NE      68134
CENTRAL STATES INDEMNITY COMPANYOF OMA P O BOX 34888                                                                                                             OMAHA             NE      68134
CENTRAL WASTE SERVICES INC                   PMB 368                                                                                                             BARCELONETA       PR      00617‐2020
CENTRO DE CUIDADO DIURNO MAYAGUEZANO REPTO SAN JOSE                                28 CALLE DUARTE                                                               MAYAGUEZ          PR      00682
CENTRO PSIQUIATRICO GLOMARISTA, INC          PO BOX 251                                                                                                          CAROLINA          PR      00986‐0251
CENTRO ADIESTRAMIENTO DOCENTE INC            URB DOS PINOS                         775 CALLE VESTA                                                               SAN JUAN          PR      00923‐2325
CENTRO ADIESTRAMIENTO PERSONAS CON IMPEDR ROBIN RAFAEL RIVERA POMALES              PO BOX 1918                                                                   GUAYAMA           PR      00785‐1918
CENTRO ADIESTRAMIENTO Y DESARROLLO EDUC PO BOX 578                                                                                                               MOCA              PR      00676




                                                                                                                    Page 1446 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1447 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                                  Address2                                  Address3   Address4   City              State   PostalCode   Country
CENTRO AGRICOLA PONCENO                  268 B CALLE VILLA ESQ FOGOS                                                                               PONCE             PR      00731
CENTRO AGROPECUARIO DE CATANO            CUARTA SECC LEVITOWN                      X 9 CALLE LADI                                                  TOA BAJA          PR      00949
CENTRO AHORRO ARECIBO                    259 AVE JOSE DE DIEGO                                                                                     ARECIBO           PR      00612
CENTRO AHORROS CONDADO CORNER LLC        AVE CONDADO 67                                                                                            SAN JUAN          PR      00907
CENTRO ALARMAS DE PUERTO RICO            PO BOX 361295                                                                                             SAN JUAN          PR      00936‐1295
CENTRO ALARMAS, INC                      PO BOX 13                                                                                                 TRUJILLO ALTO     PR      00977‐0013
CENTRO AMBULATORIO DE DESINTOXICACION Y PO BOX 2000 PMB 10                                                                                         PONCE             PR      00715‐8000
CENTRO AMBULATORIO HIMA SAN PABLO        A 1 AVE LUIS MUÑOZ RIVERA                 4TO PISO OFIC 402                                               CAGUAS            PR      00725
CENTRO ARARAT                            PO BOX 7793                                                                                               PONCE             PR      00732‐7793
CENTRO ARARAT INC.                       8169 CONCORDIA SUITE 412                                                                                  PONCE             PR      00717
CENTRO ATENCION ESPECIALIZADA E INTEGRAD URB. VILLA CAROLINA                       68‐54 CALLE 56                                                  CAROLINA          PR      00985
CENTRO AUDIOLOGICO DE VILLALBA /         LUZ E RIVERA LOPEZ                        HC 01 BOX 7532                                                  VILLALBA          PR      00766
CENTRO AUDIOLOGICO DEL ESTE              1141 CALLE ANGEL RAMOS                                                                                    CEIBA             PR      00765
CENTRO AUDIOLOGICO DEL ESTE              PO BOX 90                                                                                                 CEIBA             PR      00735
CENTRO AUDIOLOGICO ISAMAR GONZALEZ       HC 2 BOX 16367                                                                                            ARECIBO           PR      00612‐9380
CENTRO AUTOMOTRIZ DE SERVICE I           PO BOX 1804                                                                                               CIDRA             PR      00739
CENTRO AUTOMOTRIZ DON REY                PO BOX 36 AVE SANTOS ORTIZ                                                                                CABO ROJO         PR      00623
CENTRO AUTOMOTRIZ EMMANUEL               HC 7 PO BOX 38968                                                                                         AGUADILLA         PR      00603‐9454
CENTRO AUTOMOTRIZ PUERTORIQUENO          URB VILLA CAROLINA                        33‐19 CALLE 11                                                  CAROLINA          PR      00985
CENTRO AUTOMOTRIZ TORRES                 701 CALLE RIO DE JANEIRO, B.O. SANTURCE                                                                   SAN JUAN          PR      00915‐0000
CENTRO AUTOMOTRIZ VALIENTE               VILLAS DEL MADRIGAL                       D 5 CALLE 2                                                     CAROLINA          PR      00985
CENTRO AVANZADO DE PATOLOGIA Y           TERAPIA DEL HABLA, HC 01 BOX 17126                                                                        HUMACAO           PR      00791
CENTRO AYUDA COM BUENA VISTA CORP        P O BOX 3361                                                                                              BAYAMON           PR      00958
CENTRO AYUDA MENESTEROSO INC             P O BOX 22                                                                                                GUAYAMA           PR      00785
CENTRO AYUDA SOCIAL EMANUEL INC          PO BOX 20968                                                                                              SAN JUAN          PR      00910
CENTRO AYUDA Y TERAPIA AL NINO CON IMP   140 CALLE MONSEÐOR J TORRES                                                                               MOCA              PR      00676
CENTRO AYUDA Y TERAPIA AL NINO CON IMP   140 CALLE MONSENOR J TORRES                                                                               MOCA              PR      00676
CENTRO BAXTER HEALTH CARE                PO BOX 518                                                                                                JAYUYA            PR      00664
CENTRO BELLAS ARTES LUIS FERRE           MINILLAS STATION                          PO BOX 41287                                                    SAN JUAN          PR      00940‐1287
CENTRO BILL KITCHEN                      URB VEVE CALZADA                          17 CALLE N 26                                                   FAJARDO           PR      00738
CENTRO BIOSICOSOCIAL EVANI               CALLE CONDADO #605                        CONDOMINIO SAN ALBERTO 611                                      SAN JUAN          PR      00907
CENTRO BIZCOCHOS Y MAS                   BO COLBRES SECTOR PITAHAYA                CARR 924 KM 2.3                                                 HUMACAO           PR      00791
CENTRO CABALLEROS COLON                  PO BOX 50249                                                                                              LEVITTOWN         PR      00950
CENTRO CAMIONES                          CAPARRA HEIGHTS STATION                   PO BOX 11411                                                    SAN JUAN          PR      00922
CENTRO CARDIOLOGICO DE BAYAMON           PO BOX 2990                                                                                               BAYAMON           PR      00960
CENTRO CARDIOLOGICO DEL NORTE            PO BOX 141929                                                                                             ARECIBO           PR      00614
CENTRO CARDIOLOGICO Y MEDICINA INTERNA 10 CALLE ACOSTA                                                                                             CAGUAS            PR      00725
CENTRO CARDIOVASCULAR ARECIBO            PO BOX 560                                                                                                ARECIBO           PR      00613
CENTRO CARDIOVASCULAR DE CABO ROJO       PO BOX 88                                                                                                 SAN GERMAN        PR      00683
CENTRO CARDIOVASCULAR DE CAROLINA        URB VILLA FONTANA                         4 AS 3 AVENIDA FRAGOSO                                          CAROLINA          PR      00983
CENTRO CARDIOVASCULAR DE PUERTO RICO Y D MANEJO DE INFORMACION                     PO BOX 366528                                                   SAN JUAN          PR      00936‐6528
CENTRO CARDIOVASCULAR DE SAN GERMAN      PO BOX 88                                                                                                 SAN GERMAN        PR      00683
CENTRO CARDIOVASCULAR DE YAUCO           PO BOX 88                                                                                                 SAN GERMAN        PR      00683
CENTRO CARDIOVASCULAR MANATI             PO BOX 1000                                                                                               MANATI            PR      00674
CENTRO CARIBEÑO ESTUDIOS POSTGRADUADOS OLD SAN JUAN STATION                        PO BOX 9023711                                                  SAN JUAN          PR      00902‐3711
CENTRO CESKI                             602 CALLE JOSE V RODRIGUEZ                                                                                PEÑUELAS          PR      00624
CENTRO CESKI GUAYANILLA                  602 CALLE JOSE V RODRIGUEZ                                                                                PEÑUELAS          PR      00624
CENTRO CIEHLO INC                        URB BARALT                                A 49 CALLE MARGINAL                                             FAJARDO           PR      00738
CENTRO CIEHLO, INC.                      URB CASA BELLA                            35 CALLE NAPOLES                                                NAGUABO           PR      00718‐2826
CENTRO CIRUGIA AMB.                      1875 CARR. #2 SUITE 303                                                                                   BAYAMON           PR      00959‐7217
CENTRO CITOPATOLOGICO CARIBE             PO BOX 364747                                                                                             SAN JUAN          PR      00936‐4747
CENTRO CITOPATOLOGICO DEL CARIBE         COND EL CENTRO II STE 21                  500 AVE MUNOZ RIVERA                                            SAN JUAN          PR      00918
CENTRO CITOPATOLOGICO DEL CARIBE         P O BOX 364747                                                                                            SAN JUAN          PR      00936‐4747
CENTRO CLINICO DE VEGA ALTA CORP         URB MONTE VERDE REAL                      56 CALLE VEREDA                                                 SAN JUAN          PR      00926‐5980
CENTRO CLINICO DISTURBIOS                RR 9 BOX 1621B                                                                                            SAN JUAN          PR      00926‐9779
CENTRO CLINICO NUEVAS ACTITUDES          HC 04 BOX 48615                                                                                           CAGUAS            PR      00725‐9635
CENTRO CLINICO NUEVAS ACTITUDES INC      P O BOX 840                                                                                               LUQUILLO          PR      00773
CENTRO CLINICO ROIG                      LAS AMERICA PROF BLDG                     400 AVE DOMENECH STE 701                                        SAN JUAN          PR      00918
CENTRO COAMENO DE MEDICINA AVANZADA P O BOX 1934                                                                                                   COAMO             PR      00769
CENTRO COAMENO PARA LA VEJEZ INC         28 CALLE MARIO BRASCHI                                                                                    COAMO             PR      00769




                                                                                                              Page 1447 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1448 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                                Address2                                Address3   Address4   City              State   PostalCode   Country
CENTRO COAMENO PARA LA VEJEZ INC         28 CALLE MARIO BRASHI                                                                                 COAMO             PR      00769
CENTRO COLEGIAL CRISTIANO INC            BOX 1515                                                                                              ANASCO            PR      00610
CENTRO COLEGIAL CRISTIANO RIO PIEDRAS    CUPEY ALTO                              RR 6 BOX 9239                                                 SAN JUAN          PR      00926
CENTRO COM ENVEJECIENTES ISABELA INC     URB MANUEL CORCHADO                     295 CALLE TRINITARIA                                          ISABELA           PR      00622
CENTRO COMPRENSIVO DE CANCER             ATTN MARCIA CRUZ                        PO BOX 29134                                                  SAN JUAN          PR      00929
CENTRO COMPRENSIVO DE CANCER DE LA U.P.R PO BOX 363027                                                                                         SAN JUAN          PR      00936‐3027
CENTRO COMPRESIVO DE CANCER DE LA UPR    PMB 711 89 DE DIEGO AVE                 SUITE 105                                                     SAN JUAN          PR      00927‐6346
CENTRO COMUNAL VILLA VERDE               VILLA VERDE 635 CALLE 3                                                                               BAYAMON           PR      00955
CENTRO COMUNICOLOGICO DEL ESTE           APARTADO 597                                                                                          RIO GRANDE        PR      00745
CENTRO COMUNITARIO EMAUS INC             PO BOX 26                                                                                             MANATI            PR      00674
CENTRO CORRECCIONAL DE GUAYAMA           DEPARTAMENTO RECORDS MEDICOS            PO BOX 10005                                                  GUAYAMA           PR      00785
CENTRO CRIOLLO DE CIENCIA Y TECNOLOGIA   59 GAUTIER BENITEZ                                                                                    CAGUAS            PR      00725
CENTRO CRIOLLO DE CIENCIA Y TECNOLOGIA   AVE. GAUTIER BENITEZ #59                                                                              CAGUAS            PR      00725
CENTRO CRISTIANO FRUTO DE LA VID, INC    P.O. BOX 8157                                                                                         CAGUAS            PR      00726
CENTRO CRISTIANO GRACIA Y GOZO INC       URB MIRAFLORES                          31037 CALLE AMAPOLA                                           DORADO            PR      00646
CENTRO CRISTIANO RESTAURACION            PO BOX 754                                                                                            CABO ROJO         PR      00623
CENTRO CUIDADO AMOR                      BO QUEBRADA GRANDE                      NC 01 BOX 4333                                                BARRANQUITAS      PR      00794
CENTRO CUIDADO AMOR                      HC 01 BOX 4261                                                                                        BARRANQUITAS      PR      00794
CENTRO CUIDADO DIURNO BARNEY & BOB INC P O BOX 345                                                                                             LAS MARIAS        PR      00670
CENTRO CUIDADO DIURNO GENERACION FUTURAP O BOX 480                                                                                             YAUCO             PR      00698
CENTRO CUIDADO DIURNO VALERIANA INC      BO PINALES ABAJO                        CARR 402 BZN 2455                                             ANASCO            PR      00610
CENTRO CUIDADO NINOS CARITAS FELICES INC URB MARIANI                             3008 AVE F D ROOSEVELT                                        PONCE             PR      00717
CENTRO CUIDADO TITI NORMA INC            P O BOX 4                                                                                             HORMIGUEROS       PR      00660
CENTRO CUIDADO VISUAL                    160 CALLE BARBOSA                                                                                     MOCA              PR      00976
CENTRO CUIDADO Y DES DE NINOS EL MAYORAL PO BOX 441                                                                                            VILLALBA          PR      00766
CENTRO CUIDO DE NINOS‐DYSNYLAND DAY CAREADDRESS ON FILE
CENTRO CUIDO NINOS EL RECREO INC         RES EL RECREO                           CALLE LUNA                                                    SAN GERMAN        PR      00683
CENTRO CUIDO PEQUENIN EN AGUADA          HC 2 BOX 6734                                                                                         RINCON            PR      00677
CENTRO CULTURAL ANDREA RIVERA            PO BOX 1173                                                                                           CIALES            PR      00638
CENTRO CULTURAL BAUDILIO VEGA BERRIOS
CENTRO CULTURAL CIDRENO INC              PO BOX 1695                                                                                           CIDRA             PR      00739
CENTRO CULTURAL GUAYANAES                PO BOX 733                                                                                            GUAYAMA           PR      00785
CENTRO CULTURAL JESUS M MUNOZ            PO BOX 282                                                                                            UTUADO            PR      00641
CENTRO CULTURAL LOLITA ASPIROZ INC       RR01 BUZ 2587                                                                                         ANASCO            PR      00610
CENTRO CULTURAL LUIS MUNOZ RIVERA INC    ESQUINA SUSANO MALDONADO                CALLE MUNOZ RIVERA                                            BARRANQUITAS      PR      00794
CENTRO CULTURAL Y DE SERV CANTERA INC    APARTADO 7152                                                                                         SAN JUAN          PR      00916‐7152
CENTRO CULTURAL Y DE SERV CANTERA INC    AREA DEL TESORO                         CONTADURIA GENERAL                                            SAN JUAN          PR      00902
CENTRO CULTURAL Y DE SERV CANTERA INC    Bo. Obrero Station PO Box 7152                                                                        San Juan          PR      00916‐7152
CENTRO CULTURAL Y DE SERV CANTERA INC    P O BOX 7152                                                                                          SAN JUAN          PR      00915‐7152
CENTRO D I V A                           2830 AVE LSA AMERICAS                                                                                 PONCE             PR      00717
CENTRO DE ACCESO/TRAT PANAMERICANO PON PO BOX 1400                                                                                             CIDRA             PR      00739
CENTRO DE ADIESTRAMIENTO DOCENTE, INC    CALLE VESTA 775                         DOS PINOS                                                     SAN JUAN          PR      00923
CENTRO DE ADIESTRAMIENTO DOCENTE, INC    DOS PINOS                               407 CALLE ARIEL                                               SAN JUAN          PR      00923
CENTRO DE ADIESTRAMIENTO DOCENTE, INC    HACIENDA MARGARITA 179                                                                                LUQUILLO          PR      00773
CENTRO DE ADIESTRAMIENTO JURIDICO (CAJO) PO BOX 511                                                                                            PLUMSTED                  7801         SA
CENTRO DE ADIESTRAMIENTO Y BELLAS ARTES PO BOX 250041                                                                                          AGUADILLA         PR      00604‐0041
CENTRO DE ADIESTRAMIENTO Y SERVICIOS     PO BOX 1918                                                                                           GUAYAMA           PR      00785‐1918
CENTRO DE AMOR EL ELION INC              P O BOX 601                                                                                           CATANO            PR      00963‐0601
CENTRO DE AMOR INC                       CITY VIEW PLAZA II                      48 CARR 165 SUITE 2000                                        GUAYNABO          PR      0096880000
CENTRO DE APRENDIZAJE EDUCATE            C/25 S E #775                           URB CAPARRA TERRACE                                           SAN JUAN          PR      00921
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    CALLE FRONTERA N‐20                     URB VILLA ANDALUCIA                                           SAN JUAN          PR      00926‐2318
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    COND PASEO DE LAS CUMBRES               APT 74 CARR 850                                               TRUJILLO ALTO     PR      00936‐3345
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    LCDA. MICHELLE SILVESTRIZ ALEJANDRO     MSILVESTRIZ@GMAIL.COM
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    VILLA ANDALUCIA N 20                    CALLE FRONTERA                                                SAN JUAN          PR      00926‐2318
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                   SAN JUAN          PR      00922‐2134
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    Y BANCO DE DESARROLLO ECONOMICO PARA PUPO BOX 2134                                                    SAN JUAN          PR      00922‐2134
CENTRO DE APRENDIZAJE INDIVIDUALIZADO    Y BANCO DESARROLLO ECONOMICO PR         PO BOX 2134                                                   SAN JUAN          PR      00922‐2134
CENTRO DE APRENDIZAJE MULTISENSORIAL INT OLIMPIC VILLE 18 CALLE AMSTERDAM                                                                      LAS PIEDRAS       PR      00771
CENTRO DE AVALUACION Y AJUSTE            CALL BOX 40002                                                                                        BAYAMON           PR      00958
CENTRO DE AYUDA COMUNITARIA INC          HC 3 BOX 8404                                                                                         MOCA              PR      00676




                                                                                                          Page 1448 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1449 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                              Address2                                      Address3   Address4   City              State   PostalCode   Country
CENTRO DE BALANCE Y VESTIBULAR           PO BOX 392                                                                                                BAYAMON           PR      00956
CENTRO DE BATERIAS Y EQUIPOS             P O BOX 178                                                                                               ANASCO            PR      00610
CENTRO DE BENDICION INC                  PO BOX 30993                                                                                              SAN JUAN          PR      00920
CENTRO DE CABALLEROS DE COLON            BOX 50249                                                                                                 TOA BAJA          PR      00950
CENTRO DE CALIDAD EDUCATIVA, LLC         URB. SAVANNAH REAL                    BZN 104                                                             SAN LORENZO       PR      00754
CENTRO DE CANCER DE LA MONTAÑA           DR NELSON ROBLES CARDONA              1353 LUIS VIGOREAUX AVE                       PMB 472               GUAYNABO          PR      00966
CENTRO DE CANCER DE LA MONTANA CSP       19‐22 AVE. RAMIREZ DE ARELLANO        ST. 7 PMB 304                                                       GUAYNABO          PR      00966‐3175
CENTRO DE CANCER DE LA MONTANA CSP       304 INSTITUTO SAN PABLO               66 AVE SANTA CRUZ                                                   BAYAMON           PR      00959
CENTRO DE CANCER EN LA MONTANA CSP       304 INSTITUTO SAN PABLO               66 AVE SANTA CRUZ                                                   BAYAMON           PR      00959
CENTRO DE CIRUGIA AMBULATORIA LAS AMERIC EDIF CLINICA LAS AMERICAS SUITE 301   400 ABE FD ROOSEVELT                                                SAN JUAN          PR      00918
CENTRO DE CIRUGIA KENNEDY                PO BOX 3946                                                                                               AGUADILLA         PR      00603
CENTRO DE CIUDADO OPTIMO                 PO BOX 2247                                                                                               COAMO             PR      00769
CENTRO DE CONSULTORIA MEDICA CSP         PO BOX 847                                                                                                GUANICA           PR      00653
CENTRO DE CONVECIONES CAMILDA            HC 1 BOX 4046                                                                                             YABUCOA           PR      00767
CENTRO DE CONVENCIONES EL SEÐORIAL       PO BOX 8621                                                                                               PONCE             PR      00732‐0000
CENTRO DE CONVENCIONES EL SENORIAL       P.O. BOX 8621                                                                                             PONCE             PR      00732
CENTRO DE CONVENCIONES LOS PASEOS, CORP. PASEO LA ALHAMBRA GENERALIFE 38                                                                           CAROLINA          PR      00987‐0000
CENTRO DE CUIDA INFANTIL MAYDA, INC      PO BOX 1185                                                                                               YABUCOA           PR      00767‐1185
CENTRO DE CUIDADO AMOR INC.              HC‐01 BOX 4261                                                                                            BARRANQUITAS      PR      00794
CENTRO DE CUIDADO CHIQUILLOS             URB LOS TAMARINDOS                    B 9 CALLE 2                                                         SAN LORENZO       PR      00754
CENTRO DE CUIDADO DE HERIDAS Y ULCERAS   PO BOX 1379                                                                                               AIBONITO          PR      00705
CENTRO DE CUIDADO DIURNO BILINGUE INC    PO BOX 3144                                                                                               MAYAGUEZ          PR      00610
CENTRO DE CUIDADO DIURNO BILINGUE INC    PO BOX 3144                           MARINA STATION                                                      MAYAGUEZ          PR      00681
CENTRO DE CUIDADO DIURNO BORIQUEN        URB LA RIVIERA                        980 CALLE 3 SO                                                      SAN JUAN          PR      00921
CENTRO DE CUIDADO DIURNO CRISTIANO       EL ARCA INFANTIL                      URB METROPOLIS G 12 CALLE 12                                        CAROLINA          PR      00987
CENTRO DE CUIDADO DIURNO HABACUC         BO POZO HONDO                         137 NICOLAS SOTO RAMOS                                              ANASCO            PR      00610
CENTRO DE CUIDADO DIURNO HABACUC INC     BOX 172                                                                                                   ANASCO            PR      00610
CENTRO DE CUIDADO DIURNO HABACUC INC     CARR 109 KM 1.9 BO POZO HONDO                                                                             ANASCO            PR      00610
CENTRO DE CUIDADO DIURNO HABACUC INC     P O BOX 172                                                                                               ANASCO            PR      00610
CENTRO DE CUIDADO DIURNO HABACUE INC     PO BOX 172                                                                                                ANASCO            PR      00610
CENTRO DE CUIDADO DIURNO NINOS EN ACCIONGOLDEN HILLS                           B 10 C/ ANICETO DIAZ                                                TRUJILLO ALTO     PR      00976
CENTRO DE CUIDADO DIURNO PARA NINOS      CASTILLO INFANTIL INC                 PO BOX 523                                                          ISABELA           PR      00662
CENTRO DE CUIDADO DIURNO TERCERA IGLESIA PRESBITERIANA,CCD‐TIP                 P O BOX 3901                                                        AGUADILLA         PR      00605‐3901
CENTRO DE CUIDADO DUIRNO BILINQUE        PO BOX 3144                                                                                               MAYAGUEZ          PR      00610
CENTRO DE CUIDADO MEDICO AMBULA INC      PO BOX 1347                                                                                               CIALES            PR      00638
CENTRO DE CUIDADO NUBELUZ INC            PO BOX 797                                                                                                MOROVIS           PR      00687
CENTRO DE CUIDADO NUBELUZ INC            URB BRISAS DEL NORTE                  531 CALLE BRASIL                                                    MOROVIS           PR      00687
CENTRO DE CUIDADO RAYITOS DE SOL         URB MUNOZ RIVERA                      23 CALLE CRISALIDA                                                  GUAYNABO          PR      00969
CENTRO DE CUIDADO VISUAL                 160 BARBOSA                                                                                               MOCA              PR      00676
CENTRO DE CUIDADO Y DES DEL NINO MILENID PO BOX 392                                                                                                GUANICA           PR      00653
CENTRO DE CUIDO CHIQUILLADAS             PO BOX 1855                                                                                               YABUCOA           PR      00767
CENTRO DE CUIDO DE NINOS CARITAS FELICES 1575 AVE MUNOZ RIVERA                 PMB 248                                                             PONCE             PR      00717‐0211
CENTRO DE CUIDO DE NINOS CARITAS FELICES URB MARIANI                           3008 AVE. ROOSEVELT                                                 PONCE             PR      00717‐1229
CENTRO DE CUIDO DIURNO AMIGUITOS INC     URB FAJARDO GARDENS                   400 CAOBA                                                           FAJARDO           PR      00738
CENTRO DE CUIDO DIURNO CORAZONCITO       Y/O JOSEFINA MURIEL LIZARDI           RR 10 BOX 10110                                                     SAN JUAN          PR      00926
CENTRO DE CUIDO DIURNO MI SEGUNDA CASITAURB COLINAS DEL MARQUEZ                C‐12 CALLE MONSERRATE                                               VEGA BAJA         PR      00693
CENTRO DE CUIDO DULCE IMPERIO INC        PO BOX 7231                                                                                               SAN JUAN          PR      00915
CENTRO DE CUIDO EL PARAISO               PO BOX 1272                                                                                               MANATI            PR      00674
CENTRO DE CUIDO INFANTIL HUELLITAS INC   HC 08 BOX 300                                                                                             PONCE             PR      00731‐9721
CENTRO DE CUIDO PASITOS                  PO BOX 827                                                                                                SAN GERMAN        PR      00683
CENTRO DE CUIDO PREESCOLAR LOS PITUFOS CUC STATION                             APARTADO 5047                                                       CAYEY             PR      00737
CENTRO DE CUIDO PREESCOLAR LOS PITUFOS P.O. BOX 371787                                                                                             CAYEY             PR      00737
CENTRO DE CUIDO RAYITO DE SOL CORP       URB VISTA AZUL                        A 33 CALLE 6                                                        ARECIBO           PR      00612
CENTRO DE CUIDO RAYITOS DE SOL           URB MUNOZ RIVERA                      23 AVE CRISALIDA                                                    GUAYNABO          PR      00969
CENTRO DE CUIDO REINO INFANTIL, INC.     PO BOX 3144                                                                                               MAYAGUEZ          PR      00681‐3144
CENTRO DE CUIDO SONRISITAS DE AMOR       HC 5 BOX 16910                                                                                            YABUCOA           PR      00767
CENTRO DE CUIDO SONRISITAS DE AMOR INC   HC 5 BOX 16910                                                                                            YABUCOA           PR      00767
CENTRO DE CUIDO SUENOS DE ARCOIRIS       HC 06 12798                                                                                               COROZAL           PR      00783
CENTRO DE DES INTEGRAL MAFALDA INC       ADDRESS ON FILE
CENTRO DE DESARROLLO ACADEMICO INC.      PO BOX 2186                                                                                               BARCELONETA       PR      00617




                                                                                                              Page 1449 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1450 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                             Address1                                Address2                                     Address3   Address4   City              State   PostalCode   Country
CENTRO DE DESARROLLO ACADEMICO INC.       Y BANCO DE DESARROLLO ECONOMICO PARA P.RPO BOX 2134                                                        SAN JUAN          PR      00922‐2134
CENTRO DE DESARROLLO ACADEMICO INC.       Y COOP A/C DE ARECIBO                   PO BOX 1056                                                        ARECIBO           PR      00613
CENTRO DE DESARROLLO COGNITIVO CSP        CALLE BROMELIA 257                      REPARTO SURIS                                                      SAN GERMAN        PR      00683
CENTRO DE DESARROLLO DE DESTRESAS SKILLS 4 LIFE INC                               SECT LINEA CAPO CARR 179 KM 2                                      GUAYAMA           PR      00784
CENTRO DE DESARROLLO EDUCATIVO DEL NINO URB C UNIVERSITARIA                       A 1‐2 AVE PERIFERAL                                                TRUJILLO ALTO     PR      00976
CENTRO DE DESARROLLO HUMANO DE LA MUJERY FAMILIA INC                              400 CARR 698 STE 5                                                 DORADO            PR      00646
CENTRO DE DESARROLLO INFANTIL AEIOU       URB VILLA CAPARRA                       204 CARR 2                                                         GUAYNABO          PR      00966‐1914
CENTRO DE DESARROLLO INTEGRAL LUNA        URB. TORRIMAR                           C/OVIDEO #40                                                       GUAYNABO          PR      00969
CENTRO DE DESARROLLO INTEGRAL LUNA INC URB TORRIMAR                               40 CALLE OVIEDO                                                    GUAYNABO          PR      00966
CENTRO DE DESARROLLO PROFESIONAL MULTIDICOND FLORIMAR GDNS                        D CALLE RONDA APT D402                                             SAN JUAN          PR      00926‐5266
CENTRO DE DESARROLLO Y SERV ESPECIALIZAD CERRO LAS MESAS, CARR 349 KM 3 1                                                                            MAYAGUEZ          PR      00681
CENTRO DE DESARROLLO Y SERV ESPECIALIZAD PO BOX 216                                                                                                  MAYAGUEZ          PR      00681‐0216
CENTRO DE DIABETES PARA PUERTO RICO       AREA DEL TESORO                         CONTADURIA GENERAL                                                 SAN JUAN          PR      00920‐4140
CENTRO DE DIABETES PARA PUERTO RICO       PMB 87 PO BOX 70344                                                                                        SAN JUAN          PR      00936‐8344
CENTRO DE DIAG Y TRATAMIENTO DR CAPARROS2 CALLE BETANCES                                                                                             UTUADO            PR      00641
CENTRO DE DIAGNOSTICO PARA INTELIGENCIAS PO BOX 9023879                                                                                              SAN JUAN          PR      00902‐3879
CENTRO DE DIAGNOSTICO Y TRATAMIENTO       35 CARR 116                                                                                                GUANICA           PR      00653
CENTRO DE DIAGNOSTICO Y TRATAMIENTO       ATT RECORDS MEDICOS                     13 CALLE JOSE DE DIEGO                                             GUAYANILLA        PR      00656
CENTRO DE DIAGNOSTICO Y TRATAMIENTO       URB SANTA CRUZ B 7                      CALLE SANTA CRUZ                                                   BAYAMON           PR      00961‐6902
CENTRO DE DIALISIS SAN MIGUEL ARCANGEL    PO BOX 363891                                                                                              SAN JUAN          PR      00936‐3891
CENTRO DE DISTRIBUCION Y PROVISION SHEKINAPO BOX 2793                                                                                                BAYAMON           PR      00960
CENTRO DE EDUC INTEGRAL SOLES DEL JARDIN 9087 FITO VALLE                                                                                             QUEBRADILLAS      PR      00678
CENTRO DE EDUC INTEGRAL SOLES DEL JARDIN PO BOX 9024275                                                                                              SAN JUAN          PR      00902‐4275
CENTRO DE EDUCACION PROFESIONAL INC       P O BOX 26                                                                                                 UTUADO            PR      00641
CENTRO DE ENFERMEDADES ALERGICAS Y AMBIE24 CALLE CRISTOBAL COLON                                                                                     YABUCOA           PR      00767
CENTRO DE ENSEÐANZA PARA LA FAMILIA INC PO BOX 8052                                                                                                  HUMACAO           PR      00792
CENTRO DE ENSENANZA PARA LA FAMILIA INC PO BOX 8052                                                                                                  HUMACAO           PR      00792
CENTRO DE ENTRENAMIENTO A EMERG. PELIGROHC 02 BUZON 5721                                                                                             RINCON            PR      00627
CENTRO DE ENTRENAMIENTO A EMERGENCIA BUZON 5721 HC‐02                                                                                                RINCON            PR      00677
CENTRO DE ENVEJECIENTES JEHOVA NISSI      P O BOX 141415                                                                                             ARECIBO           PR      00614
CENTRO DE EPIDEMIOLOGIA                   TESORERO MUNICIPAL                      PO BOX 1588                                                        BAYAMON           PR      00960
CENTRO DE ESCLEROSIS MULTIPLE             PO BOX 4980                                                                                                CAGUAS            PR      00726
CENTRO DE ESPECIALIDADES                  PO BOX 428                                                                                                 HUMACAO           PR      00792
CENTRO DE ESPECIALIDADES PEDIATRICA Y ADOLPO BOX 4980                                                                                                CAGUAS            PR      00726
CENTRO DE EST DERECHO COMPARADO DE PR P O BOX 9023445                                                                                                SAN JUAN          PR      00902‐3445
CENTRO DE ESTIMULACION INTEGRAL           AVENIDA NOGAL T‐58                      LOMAS VERDES                                                       BAYAMON           PR      00960
CENTRO DE ESTIMULACION INTEGRAL           CARR 167 MARGINAL EE‐10                 VILLA CONTESSA                                                     BAYAMON           PR      00956
CENTRO DE ESTIMULACION INTEGRAL           MARGINAL CALLE 167 VILLA CONTESSA       EDIF OLLER MEDICAL PLAZA I                                         BAYAMON           PR      00960
CENTRO DE ESTIMULACION INTEGRAL           PO BOX 6467                                                                                                BAYAMON           PR      00960
CENTRO DE ESTUDIANTE Y MAESTRO INVESTIGA 77 CALLE ATENAS                                                                                             MANATI            PR      00674
CENTRO DE ESTUDIANTE Y MAESTRO INVESTIGA P O BOX 937                                                                                                 MANATI            PR      00674
CENTRO DE ESTUDIOS E INVESTIGACIONES DEL SUROESTE DE PR CEISO INC                 PO BOX 384                                                         LAJAS             PR      00667
Centro de Estudios Multidiciplinarios     PO BOX 191317                                                                                              SAN JUAN          PR      00919
CENTRO DE ESTUDIOS MULTIDICIPLINARIOS     URB EXT SAN AGUSTIN                     1206 CALLE 13                                                      SAN JUAN          PR      00926
CENTRO DE ESTUDIOS MULTIDISCIPLINARIOS    25 CALLE DEGETAU                                                                                           BAYAMON           PR      00961
CENTRO DE ESTUDIOS MULTIDISCIPLINARIOS    8 CALLE DR VIDAL                                                                                           HUMACAO           PR      00791
CENTRO DE EVALUACION & INTERVENCION P C URB SAGRADO CORAZON                       421 CALLE SAN JOVINO                                               SAN JUAN          PR      00926
CENTRO DE EVALUACION E INTERVENCION PASO 421 CALLE SAN JOVINO                     URB. SAGRADO CORAZON                                               SAN JUAN          PR      00926
CENTRO DE EVALUACION E INTERVENCIONPASOS421 SAN JOVINO                                                                                               SAN JUAN          PR      00926
CENTRO DE EVALUACION Y TERAPIA            DEL SUR ESTE INC                        P O BOX 1249                                                       GUAYAMA           PR      00785
CENTRO DE EVALUACION Y TERAPIA            PO BOX 1249                                                                                                GUAYAMA           PR      00785
CENTRO DE EVUALUACION Y TERAPIA DE PENUELPO BOX 5                                                                                                    PENUELAS          PR      00624‐0005
CENTRO DE FACTURACION MAGGIE SOTO, INC PO BOX 606                                                                                                    MOROVIS           PR      00687
CENTRO DE FISIOTERAPIA Y REHABILITACION   PO BOX 787                                                                                                 SAN SEBASTIAN     PR      00685
CENTRO DE GINECOLOGIA Y OBSTETRICIADR CAR URB SAN FRANCISCO                       148 CALLE ALELI                                                    SAN JUAN          PR      00927
CENTRO DE HEMATOLOGIA Y ONCOLOGIA         PO BOX 4186                                                                                                PUERTO REAL       PR      00740
CENTRO DE HEMATOLOGIA Y ONCOLOGIA DEL SUPO BOX 937                                                                                                   COAMO             PR      00769
CENTRO DE INSPECCION JJR                  P O BOX 192                                                                                                ANASCO            PR      00610
CENTRO DE INSPECCION YERO NASHA INC       RR 10 BOX 10137                                                                                            SAN JUAN          PR      00926
CENTRO DE INVESTIGACION Y MEDIACION INC PO BOX 1771                                                                                                  MANATI            PR      00674




                                                                                                              Page 1450 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1451 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                              Address1                              Address2                                    Address3      Address4   City              State   PostalCode   Country
CENTRO DE INVESTIGACIONES SOCIALES Y ECO CALLE ANASCO 850                                                                                             SAN JUAN          PR      00925
CENTRO DE INVESTIGACIONES Y DESARROLLO CARR 108 KM 1.0                           PO BOX 9001                                                          MAYAGUEZ          PR      00680‐9001
CENTRO DE JUGUETES Y ALGO MAS INC          BUZON 2092‐2 AVENIDA PEDRO ALBIZU                                                                          AGUADILLA         PR      00605
CENTRO DE KINESIOLOGIA FAMILIAR            JARD DE RIO GRANDE                    AU 61 CALLE 40                                                       RIO GRANDE        PR      00745
CENTRO DE MANEJO LIMPHEDEMA Y FISIOTERAPBOX 167                                                                                                       TRUJILLO ALTO     PR      00977
CENTRO DE MEDICINA DE FAM LAS LOMAS        LAS LOMAS                             Q314 CARR 21                                                         SAN JUAN          PR      00921
CENTRO DE MEDICINA DE FAMILIA              11 CALLE CONDADO                                                                                           SAN LORENZO       PR      00754
CENTRO DE MEDICINA DIGESTIVA               562 CALLE JUAN J JIMENEZ                                                                                   SAN JUAN          PR      00918
CENTRO DE MEDICINA FISICA Y ELECTRODIAGNO PO BOX 9                                                                                                    AGUADILLA         PR      00605
CENTRO DE MEDICINA INTEGRADA               PO BOX 304                                                                                                 GUAYNABO          PR      00970‐0304
CENTRO DE MEDICINA INTERNA                 URB SANTIAGO IGLESIAS                 1791 CALLE ESTEBAN PADILLA                                           SAN JUAN          PR      00921
CENTRO DE MEDICINA PRIMARIA DE VEGA ALTA P.O. BOX 4317                                                                                                VEGA BAJA         PR      00694
CENTRO DE MEJORAMIENTO EMOCIONAL           PO BOX 5027                                                                                                AGUADILLA         PR      00605
CENTRO DE NEUMOLOGIA DE BAYAMON            11 CALLE PALMER                                                                                            BAYAMON           PR      00961‐6341
CENTRO DE NEUMOLOGIA PEDIATRICA CSP        PO BOX 8129                                                                                                CAGUAS            PR      00726
CENTRO DE NIÐOS Y ADULTOS EN MOVIMIENTOSPO BOX 8218                                                                                                   SAN JUAN          PR      00910‐0218
CENTRO DE NINOS Y ADULTOS EN MOVIMIENTOSPO BOX 8218                                                                                                   SAN JUAN          PR      00910‐0218
CENTRO DE ORIENTACION FAM LA CASITA INC PO BOX 9087                                                                                                   HUMACAO           PR      00792
CENTRO DE ORIENTACION Y AYUDA PSIQUIATRIC LOIZA VALLEY SHOPPING CENTER           LOCAL AA6                                                            CANOVANAS         PR      00729
CENTRO DE PATOLOGIA DEL HABLA Y AUDICION P O BOX 579                                                                                                  HUMACAO           PR      00792
CENTRO DE PEDAGOGIA APLICADA A REVALIDAS P O BOX 191841                                                                                               SAN JUAN          PR      00919‐1841
CENTRO DE PERLESIA CEREBRAL                MUNICIPIO DE PONCE                    PO BOX 331709                                                        PONCE             PR      00733‐1709
CENTRO DE PIEZAS DE PATILLAS               PO BOX 362708                                                                                              SAN JUAN          PR      00936‐2708
CENTRO DE PIEZAS, ANGEL L. SANXHEZ SANTIAGOPO BOX 1716                                                                                                AGUADA            PR      00602
CENTRO DE PREVENCION Y CUIDADO, INC        PMB 220 PO BOX 94000                                                                                       COROZAL           PR      00783
CENTRO DE PREVENCION Y TRATAMIENTO DE EN627 AVENIDA SAN LUIS                                                                                          ARECIBO           PR      00612‐3666
CENTRO DE PREVENCION Y TRATAMIENTO DE ENP O BOX 8548                                                                                                  CAGUAS            PR      00726‐8548
CENTRO DE PROG EDUCATIVOS COQUILIBROS PO BOX 13545                                                                                                    SAN JUAN          PR      00908
CENTRO DE PROG EDUCATIVOS COQUILIBROS SANTA ROSA                                 31‐53 AVE MAIN                                                       BAYAMON           PR      00959
CENTRO DE RACUDACIONES ING MUNICIPALES DEPARTAMENTO DE HACIENDA                  RECURSOS HUMANOS                                                     SAN JUAN          PR      00901
CENTRO DE RACUDACIONES ING MUNICIPALES PO BOX 195387                                                                                                  SAN JUAN          PR      00919‐5387
CENTRO DE RADIOTERAPIA LA CONCEPCION       PO BOX 801469                                                                                              COTTO LAUREL      PR      00780
CENTRO DE RECAUDACION DE INGRESOS MUNIC PO BOX 195387                                                                                                 SAN JUAN          PR      00919‐5387
CENTRO DE RECAUDACION INGRESO MUNICIPAL P O BOX 195387                                                                                                SAN JUAN          PR      00919‐5387
CENTRO DE RECAUDACIONES INGRESOS MUNICIPPO BOX 195387                                                                                                 SAN JUAN          PR      00919‐5387
CENTRO DE RECUPERACION DEL CARIBE CORP PMB 091                                   PO BOX 6004                                                          VILLALBA          PR      00766
CENTRO DE REHABILITACION DEL TURABO        SANTA ELENA                           C 3 SANTA CECILIA                                                    CAGUAS            PR      00725
CENTRO DE REHABILITACION FISICA            351 AVE HOSTOS STE 313                                                                                     MAYAGUEZ          PR      00680
CENTRO DE REHABILITACION LA MONTANA        PO BOX 2173                                                                                                MANATI            PR      00674
CENTRO DE REHABILITACION Y TERAPIA FISICA 1136 CALLE MUÑOZ RIVERA                                                                                     PONCE             PR      00731
CENTRO DE REHABILITACION Y TERAPIA FISICA PO BOX 2191                                                                                                 MANATI            PR      00674
CENTRO DE RESPIRO CIDRENO INC              16 CALLE BALDORIOTY                                                                                        CIDRA             PR      00739
CENTRO DE RESTAURACION PARA VARONES        Carretera 874 K.0 H2 Bo Torrecilla                                                                         CAROLINA          PR      00984‐0000
CENTRO DE RESTAURACION PARA VARONES        P O BOX 5057                                                                                               CAROLINA          PR      00984‐5057
CENTRO DE RETINA Y GLAUCOMA DEL OESTE      16 CALLE DR NELSON PEREA                                                                                   MAYAGUEZ          PR      00680
CENTRO DE REUMATOLOGIA DR MENDEZ           EXT ROOSEVELT                         575 CALLE CABO H ALVERIO                                             SAN JUAN          PR      00918
CENTRO DE SALUD DE AÑASCO                  PO BOX 1616                                                                                                AÑASCO            PR      00610
CENTRO DE SALUD DE VILLALBA                82 AVE PONCE DE LEON                                                                                       SAN JUAN          PR      00918
CENTRO DE SALUD FAMILIAR MAUNABO           PO BOX 8                                                                                                   MAUNABO           PR      00707
CENTRO DE SALUD INTEGRAL EN BARRANQUITASPO BOX 728                                                                                                    BARRANQUITAS      PR      00794
CENTRO DE SALUD MARIANO RIVERA RAMOS       PO BOX 372680                                                                                              CAYEY             PR      00737
CENTRO DE SALUD MENTAL DE BAYAMON          PO BOX 21414                                                                                               SAN JUAN          PR      00928‐1414
CENTRO DE SALUD MENTAL DE BAYAMON          PO BOX 4258 BAY GARDENS STA                                                                                BAYAMON           PR      00958
CENTRO DE SALUD RYDER SAN LORENZO          PO BOX 859                                                                                                 HUMACAO           PR      00792
CENTRO DE SERV A LA FAMILIA SHALOM INC     PO BOX 277                                                                                                 LARES             PR      00669
CENTRO DE SERV EDUCATIVOS DE SAN GERMAN PO BOX 1332                                                                                                   HORMIGUEROS       PR      00660
CENTRO DE SERV INTEGRADO SIN LIMITES INC PO BOX 1688                                                                                                  LAJAS             PR      00667
CENTRO DE SERV PARA CAPACITAR Y            Y DESARROLLAR DESTREZA VIDA IND INC   URB MARIA DEL CARMEN                        K 9 CALLE 6              COROZAL           PR      00783
CENTRO DE SERV PRIMARIOS DE SALUD INC      PO BOX 697                                                                                                 PATILLAS          PR      00723
CENTRO DE SERV TERAPEUTICOS                PO BOX 571                                                                                                 LAJAS             PR      00667




                                                                                                              Page 1451 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1452 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                                 Address2                                   Address3              Address4   City              State   PostalCode   Country
CENTRO DE SERV TERAPEUTICOS              Y BANCO DE DESARROLLO ECONOMICO PR       PO BOX 2134                                                                 SAN JUAN          PR      00922

                                                                                                                             CLAVE #412 CTR DE
CENTRO DE SERV TERAPEUTICOS                 Y BANCO POPULAR DE PR                   PO BOX 362708                            BANCA COM REG OESTE              SAN JUAN          PR      00936‐2708
CENTRO DE SERV TERAPEUTICOS                 Y BCO DESARROLLO ECONOMICO              PO BOX 2134                                                               SAN JUAN          PR      00922‐2134
CENTRO DE SERVICIO A LA COMUNIDAD           FUENTE DE AMOR INC PROY CRECE           PO BOX 191694                                                             SAN JUAN          PR      00919
CENTRO DE SERVICIOS A LA COMUNIDAD INC      HC 03 BOX 30362                                                                                                   SAN SEBASTIAN     PR      00685
CENTRO DE SERVICIOS A LA COMUNIDAD INC      HC 3 BOX 16620                                                                                                    QUEBRADILLAS      PR      00678
CENTRO DE SERVICIOS A LA COMUNIDAD INC      HC 8 BOX 87262                                                                                                    SAN SEBASTIAN     PR      00685‐8872
CENTRO DE SERVICIOS A LA JUVENTUD INC       COTTO STATION                           PO BOX 9368                                                               ARECIBO           PR      00613
CENTRO DE SERVICIOS A LA JUVENTUD INC       PO BOX 9368 COTTO STATION                                                                                         ARECIBO           PR      00613
CENTRO DE SERVICIOS A LA JUVENTUD INC       URB REGIONAL M 1 CALLE 3                                                                                          ARECIBO           PR      00612
CENTRO DE SERVICIOS ABRIENDO NUEVOS         P O BOX 93                                                                                                        HUMACAO           PR      00792
CENTRO DE SERVICIOS C.S.T. INC.             URB. RADIOVILLE                         CALLE 1 #23                                                               ARECIBO           PR      00612
CENTRO DE SERVICIOS DE APOYO E              74 URB STA TERESA                                                                                                 MANATI            PR      00674
CENTRO DE SERVICIOS DE APOYO E              INTERVENCION TEMPRANA CRECIENDO JUNTOS, #20 COLINAS DEL MAR                                                       MANATI            PR      00674
CENTRO DE SERVICIOS DEL HABLA Y EDUCATIVOSPO BOX 373184                                                                                                       CAYEY             PR      00737‐3184
CENTRO DE SERVICIOS INTEGRADOS DE RECUPERDEPTO MANEJO DE INFORMACION/ASSMCA         SRA MARIA FATIMA RIVERA NEGRON           PO BOX 372770                    CAYEY             PR      00737‐2770
CENTRO DE SERVICIOS MEDICO INTEGRADOS       59 CALLE SANTA CRUZ 4TO PISO                                                                                      BAYAMON           PR      00961
CENTRO DE SERVICIOS MULTIPLES               HC 01 BOX 4438                                                                                                    JUANA DIAZ        PR      00795
CENTRO DE SERVICIOS PEDIATRICOS             PO BOX 777                                                                                                        AGUAS BUENAS      PR      00703
CENTRO DE SERVICIOS PRIMARIOS DE SALUD      RECORDS MEDICOS                         PO BOX 368                                                                FLORIDA           PR      00650
CENTRO DE SERVICIOS PSICOEDUCATIVO INC      906 VIRGILIO BIAGGI                     URB VILLA GRILLASCA                                                       PONCE             PR      00717
CENTRO DE SERVICIOS PSICOEDUCATIVO, INC. VILLA GRILLASCA 906                        CALLE DR. VIRGILIO BIAGGI                                                 PONCE             PR      00717
CENTRO DE SERVICIOS SOCIO COMUNITARIO       INTEGRALES DE PONCE INC                 PO BOX 7702                                                               PONCE             PR      00732‐7702
CENTRO DE SERVICIOS TERAPEUTICOS Y DESARROPO BOX 571                                                                                                          LAJAS             PR      00667‐0571
CENTRO DE SERVICIOS TERAPÉUTICOS, INC.,     LCDA. NANCY Y. SÁNCHEZ CASIANO          PO BOX 652                                                                HORMIGUEROS       PR      00660
CENTRO DE TERAPIA A NIÑOS IMPEDIDOS         EXT SAN AGUSTIN                         427 CALLE 6                                                               SAN JUAN          PR      00926
CENTRO DE TERAPIA AMOR                      EST DEL GOLF CLUB                       317 CALLE JUAN H CINTRON                                                  PONCE             PR      00730
CENTRO DE TERAPIA AMOR                      ESTANCIAS DEL GOLF CLUB                 JUAN H. CINTRON 317                                                       PONCE             PR      00730‐0515
CENTRO DE TERAPIA AMOR                      PO BOX 7303                                                                                                       PONCE             PR      00732
CENTRO DE TERAPIA BRAZILIA                  URB MONTE CARLOS                        124 MARGINAL                                                              VEGA BAJA         PR      00693
CENTRO DE TERAPIA FISICA AGUADA             PO BOX 206                                                                                                        AGUADA            PR      00602‐0206
CENTRO DE TERAPIA FISICA AYMACO             PO BOX 1661                                                                                                       AGUADA            PR      00602
CENTRO DE TERAPIA FISICA BOAZ               PO BOX 558                                                                                                        GARROCHALES       PR      00652
CENTRO DE TERAPIA FISICA DE BARCELONATA PO BOX 1121                                                                                                           MANATI            PR      00674‐1121
CENTRO DE TERAPIA FISICA DE CATAÑO          PO BOX 192445                                                                                                     SAN JUAN          PR      00919‐2445
CENTRO DE TERAPIA FISICA DE FAJARDO         PO BOX 338                                                                                                        FAJARDO           PR      00738
CENTRO DE TERAPIA FISICA ELMAR INC          PO BOX 144036                                                                                                     ARECIBO           PR      00614‐4036
CENTRO DE TERAPIA FISICA GREEN HILLS        COMMERCE PLAZA LOCAL 101 C              CARRETERA 43                                                              GUAYAMA           PR      00785
CENTRO DE TERAPIA FISICA GREEN HILLS PSC    PO BOX 1380                                                                                                       GUAYAMA           PR      00785‐1380
CENTRO DE TERAPIA FISICA INC                PO BOX 4254                                                                                                       BAYAMON           PR      00958
CENTRO DE TERAPIA FISICA LA MONTANA         ADDRESS ON FILE
CENTRO DE TERAPIA FISICA LA MONTANA         HC 72 BOX 4047                                                                                                    NARANJITO         PR      00719
CENTRO DE TERAPIA FISICA LARES              REPTO MARQUEZ                           G26 CALLE 9                                                               ARECIBO           PR      00612‐3907
CENTRO DE TERAPIA FISICA LAS PIEDRAS        PO BOX 894                                                                                                        LAS PIEDRAS       PR      00771
CENTRO DE TERAPIA FISICA PEDIATRICA         467 REINA DE LAS FLORES                 HACIENDA REAL                                                             CAROLINA          PR      00987
CENTRO DE TERAPIA FISICA PEDIATRICA         HACIENDA REAL                           467 CALLE REINA DE LAS FLORES                                             CAROLINA          PR      00987‐9787
CENTRO DE TERAPIA FISICA SCHALOM            PO BOX 1357                                                                                                       CIALES            PR      00638
CENTRO DE TERAPIA FISICA SHALOM             PO BOX 1357                                                                                                       CIALES            PR      00638‐1357
CENTRO DE TERAPIA FISICA Y                  MEDICINA DEPORTIVA DEL NORTE            PO BOX 621                                                                CAMUY             PR      00627
CENTRO DE TERAPIA FISICA Y ATLETICA NUEVA V PO BOX 141024                                                                                                     ARECIBO           PR      00614
CENTRO DE TERAPIA FISICA Y ELEC INC         PO BOX 1298                                                                                                       AGUADILLA         PR      00605
CENTRO DE TERAPIA FISICA Y REHAB DE RIO GRA PO BOX 2884                                                                                                       RIO GRANDE        PR      00745
CENTRO DE TERAPIA INTEGRAL                  HEALTH SUPPORT SERVICES INC             AVE CAMPO RICO GJ 15                                                      CAROLINA          PR      00982
CENTRO DE TERAPIA INTEGRAL CRECEMOS CSP URB LAS COLINAS                             207 CALLE D                                                               VEGA ALTA         PR      00692
CENTRO DE TERAPIA INTEGRAL CRECEMOS, CSP PO BOX 362708                                                                                                        SAN JUAN          PR      00936‐2708
CENTRO DE TERAPIA JRG                       URB VILLA NEVAREZ                       344 AMERICO MIRANDA                                                       RIO PIEDRAS       PR      00927
CENTRO DE TERAPIA JRG, INC.                 AVE. AMERICO MIRANDA                    #344, URB. VILLA NEVAREZ                                                  RIO PIEDRAS       PR      00927
CENTRO DE TERAPIA LIMAR, INC.               PO BOX 9013                                                                                                       BAYAMON           PR      00960




                                                                                                              Page 1452 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1453 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                  Address2                                    Address3              Address4   City              State   PostalCode   Country
CENTRO DE TERAPIA PSICOEDUCATIVA RETOS URB MANSION DE LOS CEDROS                   149 CALLE CAOBA                                                              CAYEY             PR      00736
CENTRO DE TERAPIA ROOSEVELT INC          311 RODRIGUEZ DE TRIANA                                                                                                SAN JUAN          PR      00918
CENTRO DE TERAPIA ROOSEVELT, INC         C/O AMARILIS DIAZ,COND EL MONTE NORTE A‐611                                                                            SAN JUAN          PR      00918
CENTRO DE TERAPIA ROOSEVELT, INC         COND EL MONTE NORTE PH‐F                  AVE. HOSTOS                                                                  SAN JUAN          PR      00918
CENTRO DE TERAPIA ROOSEVELT, INC         RODRIGO DE TRIANA 311                     URB. ROOSEVELT                                                               SAN JUAN          PR      00918
CENTRO DE TERAPIA Y REHABILITACION       44 CALLE CARAZO STE 1C                                                                                                 GUAYNABO          PR      00969
CENTRO DE TERAPIAS ALIVIO LLC            HC 05 BOX 72261                                                                                                        GUAYNABO          PR      00971
CENTRO DE TERAPIAS CLINICA LAS AMERICAS  CLINICA LAS AMERICAS                      400 AVE ROOSEVELT STE 109                                                    SAN JUAN          PR      00918‐7921
CENTRO DE TERAPIAS CULMINANTE INC        PO BOX 3157                                                                                                            LAJAS             PR      00667
CENTRO DE TERAPIAS HABLA DE COROZAL      PO BOX 529                                                                                                             COROZAL           PR      00783
CENTRO DE TERAPIAS YABISI, PSC           P O BOX 1035                                                                                                           CAMUY             PR      00627
CENTRO DE VACUNACION BUENA FE, INC       PO BOX 1705                                                                                                            JUANA DIAZ        PR      00795‐4705
CENTRO DE VACUNACION DEL OESTE           RR 4 BOX 5043                                                                                                          ANASCO            PR      00610
CENTRO DEL AGRICULTOR INC.               PO BOX 195                                                                                                             SAN SEBASTIAN     PR      00685
CENTRO DEL LEONISMO PUERTORRIQUENO       PO BOX 310                                                                                                             BARRANQUITAS      PR      00974
CENTRO DEL MANEJO DEL DOLOR              PO BOX 364367                                                                                                          SAN JUAN          PR      00936‐4367
CENTRO DENTAL ALTOMAR                    PMB 226                                   1353 CARR LUIS VIGOREUX                                                      GUAYNABO          PR      00966
CENTRO DES COM VILLA ESPANA              LAS LOMAS                                 AVE J PINERO OESTE FINAL                                                     SAN JUAN          PR      00920
CENTRO DES. PSICO‐ORG. Y PSICO‐EDUC.,INC AVE. SAN IGNACIO 1474, URB. ALTAMESA                                                                                   SAN JUAN          PR      00921
CENTRO DESARROLLO EDUC Y DEPORTIVO INC 426 CALLE BARBOSA                                                                                                        MOCA              PR      00676
CENTRO DESARROLLO EDUC Y DEPORTIVO INC PO BOX 1810                                                                                                              MOCA              PR      00676
CENTRO DESARROLLO EVALUACION ( A N D E ) PLAZA MARIEFER ESQ ZENON VAZQUEZ          CALLE E SANCHEZ 151 BOX 2                                                    GURABO            PR      00778
CENTRO DESARROLLO GARBIDALIS             PO BOX 810                                                                                                             AIBONITO          PR      00705
CENTRO DESARROLLO INF EMMANUEL           URB VILLA NEVAREZ 304 CALLE 22                                                                                         SAN JUAN          PR      00927
CENTRO DESARROLLO Y SERV ESPECIALIZADOS P O BOX 216                                                                                                             MAYAGUEZ          PR      00681
CENTRO DIAG INTEGRAL DE PR INC           PO BOX 364367                                                                                                          SAN JUAN          PR      00936‐4367
CENTRO DIAG Y TRAT MARICAO               PO BOX 23                                                                                                              LAS MARIAS        PR      00670
CENTRO DIAG Y TRATAMIENTO SAN SEBASTIAN PO BOX 486                                                                                                              SAN SEBASTIAN     PR      00685
CENTRO DIAGNOSTICO INTEGRAL              PO BOX 364367                                                                                                          SAN JUAN          PR      00936‐4367
CENTRO DIAGNOSTICO OFTALMOLOGICO         MINILLA STATION                           PO BOX 41281                                                                 SAN JUAN          PR      00940‐1281
CENTRO DIAGNOSTICO TRATAMIENTO LUQUILLOPO BOX 1515                                                                                                              RIO GRANDE        PR      00745
CENTRO DIAGNOSTICO Y TRATAMIENTO         DEPARTAMENTO RECORDS MEDICOS              PO BOX 178                                                                   HUMACAO           PR      00792
CENTRO DIAGNOSTICO Y TRATAMIENTO         PO BOX 667                                                                                                             BARCELONETA       PR      00617
CENTRO DIGESTIVO Y HEPATOBILIAR          PO BOX 7948                                                                                                            CAGUAS            PR      00726
CENTRO DIGESTIVO Y HEPATOBILIAR C S P    PO BOX 6569                                                                                                            CAGUAS            PR      00726
CENTRO DIVA                              2830 BLVD LUIS A. FERRE                                                                                                PONCE             PR      00717
CENTRO DIVA INC                          2830 AVE LAS AMERICAS                                                                                                  PONCE             PR      00717
CENTRO EDUC DES INF ANGELES DE ESPERANZA PO BOX 116                                                                                                             SANTA ISABEL      PR      00757‐0116
CENTRO EDUC PARA CIEGOS E IMPEDIDOS      COND. CONDADO TOWER                       30 WASHINGTON APT 5 NORTE                                                    SAN JUAN          PR      00907
CENTRO EDUC PARA CIEGOS E IMPEDIDOS      CONDOMINIO CONDADO TOWER                  30 WASHINGTON APT. 5‐N                                                       SANTURCE          PR      00907
CENTRO EDUCATIVO CEMI                    AVENIDA LOMAS VERDES                      F‐15 ESQ CALLE ALMENDRO                     LOMAS VERDES                     BAYAMON           PR      00957
CENTRO EDUCATIVO DE DESARROLLO INTEGRAL HC‐02 BOX 8829                                                                                                          COROZAL           PR      00783
CENTRO EDUCATIVO DE DESARROLLO INTEGRAL HC 2 BOX 8829                                                                                                           COROZAL           PR      00783‐6122
CENTRO EDUCATIVO DEL OESTE               SP7 JAZMIN                                URB VALLE HERMOSO                                                            HORMIGUERO        PR      00660

CENTRO EDUCATIVO ESPECIALIZADO           URB GARDENVILLE                           D 23 CALLE ARGENTINA                        ESQ BUEN SAMARITANO              GUAYNABO          PR      00966
CENTRO EDUCATIVO HOSPITAL AUXILIO MUTUO P.O.BOX 191227                                                                                                          SAN JUAN          PR      00919‐1227
Centro Educativo Jireh                   RIO HONDO I CALLE RIO CAGUITAS NUM.M‐10                                                                                BAYAMON           PR      00961
CENTRO EDUCATIVO JOAQUINA DE VEDNINA INC2017 CARR 177                                                                                                           GUAYNABO          PR      00969
CENTRO EDUCATIVO JOAQUINA DE VENDRUNA 2017 CARR 177                                                                                                             GUAYNABO          PR      00969‐5120
CENTRO EDUCATIVO SICO SOCIAL DE AYUDA IN PO BOX 248                                                                                                             MAUNABO           PR      00707
CENTRO EDUCATIVO SIEMPRE NINOS INC       PO BOX 40371                                                                                                           SAN JUAN          PR      00940‐0371
CENTRO EDUCATIVO SOCIAL                  PO BOX 225                                                                                                             UTUADO            PR      00611
CENTRO EDUCATIVO SUPERIOR VOCACIONAL     P.O. BOX 70250 SUITE 122                                                                                               SAN JUAN          PR      00739
CENTRO EDUCATIVO Y TERAPEUTICO MI RINCON CAMINO DEL BOSQUE                         20 VEREDAS LOS LAURELES                                                      SAN JUAN          PR      00926‐8900
CENTRO ELEVATOR SERVICE INC              CALLE 3 #1214                             URB. EXTENSION SAN AGUSTIN                                                   SAN JUAN          PR      00926
CENTRO ELEVATOR SERVICE INC              URB EXT SAN AGUSTIN                       1214 CALLE 3                                                                 SAN JUAN          PR      00926
CENTRO ELIM INC                          HC 01 BOX 6883                                                                                                         LAJAS             PR      00667
CENTRO ENVEJECIENTES CUIDADO             DIURNO DE LA AVE HOSTOS INC               PMB 262 819 AVE HOSTOS                                                       PONCE             PR      00716‐1107
CENTRO ENVEJECIENTES JARDIN DORADO       URB VILLA ESPERANZA                       72 CALLE BONANZA                                                             CAGUAS            PR      00727




                                                                                                                Page 1453 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1454 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                 Address2                                    Address3              Address4   City              State   PostalCode   Country
CENTRO EPIDEMIOLOGIA DE BAYAMON          BOX 1588                                                                                                              BAYAMON           PR      00960
CENTRO EQUIPOS INC                       PO BOX 243                                                                                                            MAYAGUEZ          PR      00681
CENTRO ESPECIALISTAS PEDIATRICOS CSP     PO BOX 9442                                                                                                           CAGUAS            PR      00726
CENTRO ESPECIALIZADO DE EDUC AVANZADA    PO BOX 20132                                                                                                          SAN JUAN          PR      00928
CENTRO ESPECIALIZADO DE MEDICINA C S P   PO BOX 9350                                                                                                           HUMACAO           PR      00792

CENTRO ESPECIALIZADO DE SALUD             CESAR VARGAS QUIÑONES                  424 STE 2                                    AVE AMERICO ESTRADA              SAN SEBASTIAN     PR      00685
CENTRO ESPECIALIZADO EN TERAPIA           CAPARRA HEIGHTS                        AVE ESCORIAL 608                                                              SAN JUAN          PR      00920
CENTRO ESPERANZA INC                      PO BOX 482                                                                                                           LOIZA             PR      00772
CENTRO ESPERANZA PARA LA VEJEZ INC        AVE LOS MILLONES                       DD‐16 URB VILLA CONTESA                                                       BAYAMON           PR      00956
CENTRO ESPIBI                             PO BOX 216                                                                                                           MAYAGUEZ          PR      00681‐0216
CENTRO ESTUDIOS AVANZADOS DE P R          52 CALLE CRISTO                                                                                                      SAN JUAN          PR      00902
Centro Estudios Multidisciplinarios CEM   PO Box 191317 San Juan                                                                                               San Juan          PR      00919‐1317
CENTRO EVALUACION Y PSICOTERAPIA          225 CALLE MANUEL PEREZ FREYTES                                                                                       ARECIBO           PR      00612
CENTRO EVALUACION Y TERAPIA ESPECIALIZAD PO BOX 831                                                                                                            NAGUABO           PR      00718
CENTRO FAMILIAR DE SERVICIOS AUDIOLOGIC CALLE 31 31‐1 URB VILLA ASTURIAS                                                                                       CAROLINA          PR      00983
CENTRO FAMILIAR DE SERVICIOS AUDIOLOGICOS 31 1 CALLE 31                          URB VILLA ASTURIAS                                                            CAROLINA          PR      00983
CENTRO FAMILIAR DE SERVICIOS DE DENTALES PO BOX 201                                                                                                            SAN SEBASTIAN     PR      00685
CENTRO FIESTA                             P O BOX 1046                                                                                                         LAS PIEDRAS       PR      00771‐1046
CENTRO FIESTA AIMARIE                     PO BOX 200                                                                                                           HUMACAO           PR      00792
CENTRO FISIATRICO                         PO BOX 506                                                                                                           BAYAMON           PR      00960
CENTRO FISIATRICO AMERICO MIRANDA         CAPARAA HEIGHTS STA                    PO BOX 10973                                                                  SAN JUAN          PR      00922‐0973
CENTRO FISIATRICO CAROLINA                PO BOX 4217                                                                                                          CAROLINA          PR      00984
CENTRO FISIATRICO DE NARANJITO            52 CALLE GEORGETTI                                                                                                   NARANJITO         PR      00960‐2760
CENTRO FISIATRICO DE NARANJITO            PO BOX 2760                                                                                                          BAYAMON           PR      00960
CENTRO FISIATRICO DEL CARIBE              28 CALLE FERNANDEZ GARCIA LOCAL 20                                                                                   LUQUILLO          PR      00773
CENTRO FISIATRICO DEL PLATA               HC‐43 BOX 11854                                                                                                      CAYEY             PR      00736
CENTRO FISIATRICO DEL SUR                 913 CARR 153                           SUITE 5                                                                       SANTA ISABEL      PR      00757
CENTRO FISIATRICO DR ANGEL COLON          PO BOX 141299                                                                                                        ARECIBO           PR      00614‐1299
CENTRO FISIATRICO DR ANGEL F COLON INC    PO BOX 141299                                                                                                        ARECIBO           PR      00614
CENTRO FISIATRICO SAN MARCOS              CALLE SAN MARCOS 399 URB EL COMANDANTE                                                                               CAROLINA          PR      00982
CENTRO FISIATRICO Y MEDICINA DEPORTIVA    CONSOLIDATED MEDICAL PLAZA             201 GAUTIER BENITEZ STE 031                                                   CAGUAS            PR      00725
CENTRO FORTALECIMIENTO FAMILIAR ESCAPE AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                     SAN JUAN          PR      00902‐4140
CENTRO FORTALECIMIENTO FAMILIAR, ESCAPE PO BOX 2598                                                                                                            GUAYNABO          PR      00970
CENTRO FORTALECIMIENTO FAMILIAR, ESCAPE PO BOX 9689                                                                                                            SAN JUAN          PR      00908‐9689
CENTRO GASTRO A VZ DEL NORTE              #377 DORADO BEACH                                                                                                    DORADO            PR      00646‐2217
CENTRO GERIA TRICO PUESTA DEL SOL         HC 03 BOX 36129                                                                                                      SANEBASTIAN       PR      00685
CENTRO GERIATRICO DULCAMAG INC            P.O. BOX 110                                                                                                         BAJADERO          PR      00616
CENTRO GERIATRICO HIGUEY INC              BOX 598 VICTORIA STATION                                                                                             AGUADILLA         PR      00605
CENTRO GERIATRICO SAN RAFAEL              CALLE CERVANTES #49                                                                                                  ARECIBO           PR      00612
CENTRO GINECOLOGICO DEL NORTE CSP         PO BOX 946                                                                                                           ARECIBO           PR      00613‐0946
CENTRO GRAFICO                            PO BOX 10755                                                                                                         SAN JUAN          PR      00922‐0755
CENTRO HERMANAS DEL BUEN PASTOR           HC 01 BOX 22925                                                                                                      CAGUAS            PR      00725‐8915
CENTRO HIELO UTUADO                       HC 01 BOX 3007                                                                                                       UTUADO            PR      00641
CENTRO HIMA HUMACAO                       6 CALLE DUFRESNE                                                                                                     HUMACAO           PR      00792
CENTRO IMAGENES DE MANATI                 URB SAN SALVADOR                       B1 CALLE MARGINAL                                                             MANATI            PR      00674
CENTRO IMAGENES DEL NORESTE               AVE. ROBERTO CLEMENTE                  C‐5 URB. VILLA CAROLINA                                                       CAROLINA          PR      00985
CENTRO IMAGENES DEL NORESTE               URB VILLA FONTANA                      C5 AVE ROBERTO CLEMENTE                                                       CAROLINA          PR      00985
CENTRO IMAGENES DEL NORESTE INC           VILLA CAROLINA                         C5 AVE ROBERTO CLEMENTE                                                       CAROLINA          PR      00985‐5405
CENTRO IMAGENES MANATI                    PO BOX 256                                                                                                           MANATI            PR      00674
CENTRO IMEC INC                           6 C/ JOSE DE DIEGO SUITE 1                                                                                           CIALES            PR      00638
CENTRO INDISCIPLINARIO SAN GERMENO INC PO BOX 2934                                                                                                             SAN GERMAN        PR      00683‐2934
CENTRO INFANTIL EDUCATIVO BAMBI           HC 03 BOX 11215                                                                                                      CAMUY             PR      00627‐9711
CENTRO INFANTIL ESQUILIN MANGUAL          URB BAIROA                             BZ 4 CALLE 1                                                                  CAGUAS            PR      00725
CENTRO INFORMACION S U ASUNCION LUGO INCPO BOX 672                                                                                                             YABUCOA           PR      00767
CENTRO INMUNOLOGIA ETS                    PO BOX 70184                                                                                                         SAN JUAN          PR      00936‐8184
CENTRO INSPECCION J J M INC               HC 61 BOX 4859                                                                                                       TRUJILLO ALTO     PR      00976
CENTRO INSPECCION KEVIN IAN               PO BOX 36                                                                                                            SAN SEBASTIAN     PR      00685
CENTRO INT & INTEGRACION PASO A PASO INC P O BOX 2043                                                                                                          HATILLO           PR      00659
CENTRO INTEGRADO AIBONITO                 52 CALLE BALDORIOTY                                                                                                  AIBONITO          PR      00705




                                                                                                               Page 1454 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1455 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                           Address1                                 Address2                                     Address3                Address4   City              State   PostalCode   Country
CENTRO INTEGRAL BELMAR INC              PO BOX 5150                                                                                                              AGUADILLA         PR      00605
CENTRO INTEGRAL MULTIDICIPLINARIO CIMA  CIMA                                     PO BOX 1379                                                                     AIBONITO          PR      00705
CENTRO INTERDISCIPLINARIO DESERV HUMANOSP O BOX 195529                                                                                                           SAN JUAN          PR      00919
CENTRO INTERDISCIPLINARIO EL SHADDAI    AVE SANCHEZ OSORIO                       5F3 VILLA FONTANA PARK                                                          CAROLINA          PR      00985
CENTRO INTERDISCIPLINARIO EL SHADDAI    VILLA CAROLINA                           C/529 BLQ 196‐40                                                                CAROLINA          PR      00985

CENTRO INTERDISCIPLINARIO PARA EL          DESARROLLO DE LA NINEZ, INC.         AVE. LUIS MUNOZ MARIN                         H‐13 VILLA DEL CARMEN              CAGUAS            PR      00725
CENTRO INTERDISCIPLINARIO PARA EL          URB. ALTURAS DE REMANSO              CALLE CATARATAS N‐22                                                             SAN JUAN          PR      00926
CENTRO INTERDISCIPLINARIO SAN GERMENO IN CALLE DR VEVE 110 ALTOS                                                                                                 SAN GERMAN        PR      00683
CENTRO INTERDISCIPLINARIO SICOTERAPEUTICO URB JACAGUAX                          102 CALLE 1                                                                      JUANA DIAZ        PR      00795
CENTRO INTERNATIONAL DE MERCADEO TORRE CARR 28 ESQUINA A                        LOS CANOS                                     SECTOR PUEBLO VIEJO                GUAYNABO          PR      00968
CENTRO INTERVENCION INT PASO A PASO INC BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                                        SAN JUAN          PR      00922‐2134
CENTRO INTERVENCION INT PASO A PASO INC BCO. DESARROLLO ECONOMICO PR            PO BOX 2134                                                                      SAN JUAN          PR      00922‐2134
CENTRO INTERVENCION INT PASO A PASO INC CARR 129 KM 8.1 BO CAMPO ALEGRE         PLAZA MAZDA 2004                                                                 HATILLO           PR      00659
CENTRO INTERVENCION INT PASO A PASO INC HC 1 BOX 12008                                                                                                           HATILLO           PR      00659
CENTRO INTERVENCION INT PASO A PASO INC PO BOX 2043                                                                                                              HATILLO           PR      00659
CENTRO INTERVENCION INT PASO A PASO INC Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                                      SAN JUAN          PR      00922‐2134
CENTRO INTERVENCION TEMPRANA               SAN IGNACIO #1402                                                                                                     SAN JUAN          PR      00921
CENTRO INVESTIGACION EVALUCACION Y         DESARROLLO HUMANO (CINED)            PO BOX 8892                                                                      SAN JUAN          PR      00910
CENTRO IPA 1004 DISPENSARIO HATO NUEVO PO BOX 7885                                                                                                               GUAYNABO          PR      00971
CENTRO IPA 112 SALUD MIGRANTES             PO BOX 990                                                                                                            MAYAGUEZ          PR      00681
CENTRO IPA 133 PEPINO HEALTH GROUP         PO BOX 1537                                                                                                           SAN SEBASTIAN     PR      00685
CENTRO IPA 144 CORPORACION SERVICIOS MEDI PO BOX 3926                                                                                                            AGUADILLA         PR      00605
CENTRO IPA 17 CLINICA DE CUIDADO MEDICO PO BOX 1347                                                                                                              CIALES            PR      00638
CENTRO IPA 19 CORP SERVICIOS MED PRIMARIOSPO BOX 907                                                                                                             HATILLO           PR      00659
CENTRO IPA 204 HOSTOS MEDICAL SERVICES INC PO BOX 1586                                                                                                           MAYAGUEZ          PR      00681
CENTRO IPA 215 CLINICA MIGRANTES AGRICOLASPO BOX 7128                                                                                                            MAYAGUEZ          PR      00681‐7128
CENTRO IPA 217 SOCIEDAD MEDICA DE SAN GER EDIFICIO OMEGA                        102 CALLE DR VEVE                                                                SAN GERMAN        PR      00683
CENTRO IPA 300 NEW VISION MEDICAL GROUP PO BOX 6350                                                                                                              BAYAMON           PR      00956
CENTRO IPA 302 CLINICA MEDICINA FAMILIAR PMB 186                                35 JUAN BERBON STE 67                                                            GUAYNABO          PR      00969‐5375
CENTRO IPA 305 CONSULTORIO MED FAMILIAR PO BOX 1445                                                                                                              TOA BAJA          PR      00951‐1445
CENTRO IPA 312 BARRIO PALMAS               PO BOX 428                                                                                                            CATAÑO            PR      00963
CENTRO IPA 321 VEGA ALTA COMMUNITY HEALT PO BOX 356                                                                                                              VEGA ALTA         PR      00692
CENTRO IPA 342 CEMPRI CORP SERV INTEGRALESPO BOX 515                                                                                                             NARANJITO         PR      00719
CENTRO IPA 350 GOLDEN MED OPD              PO BOX 419                                                                                                            VEGA ALTA         PR      00692
CENTRO IPA 503 BASIC CLINICAL SERVICES     URB EL VEDADO                        107 CALLE PADRE DE LAS CASAS                                                     SAN JUAN          PR      00918
CENTRO IPA 525 GRUPO MEDICO SAN GERARDO CUPEY PROFESSIONAL MALL                 360 AVE SAN CLAUDIO                                                              SAN JUAN          PR      00926
CENTRO IPA 55 CENTRO MEDICO DE HATILLO INCPO BOX 1688                                                                                                            HATILLO           PR      00659
CENTRO IPA 56 GRUPO MEDICO GENERALISTAS VPO BOX 1733                                                                                                             VEGA BAJA         PR      00694‐1733
CENTRO IPA 585 CENTRO MAS SALUD Y PUERTA EDIF MANUEL DIAZ GARCIA PDA 19         1306 AVE FERNANDEZ JUNCOS                                                        SAN JUAN          PR      00907
CENTRO IPA 610 CLINICO DEL YUNQUE          PO BOX 43001 STE 247                 VILLAS DE RIO GRANDE                                                             RIO GRANDE        PR      00745
CENTRO IPA 621 SUSANA CENTENO              PO BOX 326                                                                                                            VIEQUES           PR      00765
CENTRO IPA 623 GRUPO EMPRESAS DE SALUD CAROLINA MEDICAL PLAZA                   PO BOX 193044                                                                    SAN JUAN          PR      00919‐3044
CENTRO IPA 633 GRUPO MEDICO DEL NORESTE PMB 147                                 PO BOX 1981                                                                      LOIZA             PR      00772
CENTRO IPA 636 INSTITUTO MEDICO FAMILIAR PO BOX 1674                                                                                                             CANOVANAS         PR      00729
CENTRO IPA 636 INSTITUTO MEDICO FAMILIAR C 105 IGNACIO ARZUA PUEBLO                                                                                              CAROLINA          PR      00985
CENTRO IPA 639 DIAGNOSTICO Y TRATAMIENTO PO BOX 694                                                                                                              CULEBRA           PR      00775
CENTRO IPA 644 CONCILIO DE SALUD INTEGRAL DAPTDO 509                            CARR 188 INT 187                                                                 LOIZA             PR      00772
CENTRO IPA 649 CANOVANAS MEDICAL GROUP PO BOX 525                                                                                                                CANOVANAS         PR      00729
CENTRO IPA 650 FAJARDO MEDICAL PRACTICE PO BOX 827                                                                                                               FAJARDO           PR      00738
CENTRO IPA SAN JUAN MED                    312 AVE DE DIEGO                     SUITE 504 PDA 22                                                                 SAN JUAN          PR      00909
CENTRO ISABELINO DE MEDICINA AVANZADA      P O BOX 737                                                                                                           ISABELA           PR      00662
CENTRO JARDIN EILLYM                       1382 SANTANA                                                                                                          ARECIBO           PR      00612
CENTRO JARDIN INC                          PO BOX 1178                                                                                                           MOROVIS           PR      00687
CENTRO JARDIN PRECIOSO INC                 3RA EXT COUNTRY CLUB                 J‐A‐15 C/ 220                                                                    CAROLINA          PR      00983
CENTRO JICMENET DE TERAPIA FISICA CSP      PO BOX 250                                                                                                            OROCOVIS          PR      00720
CENTRO JICMENET SERV. MULTIDISCIPLINARIO PO BOX 658                                                                                                              OROCOVIS          PR      00720
CENTRO MADRE DOMINGA CASA DE BELEN INC AEA DEL TESORO                           DIVISION DE RECLAMACIONES                                                        SAN JUAN          PR      00902‐4140
CENTRO MADRE DOMINGA‐CASA BELEN INC.       CALLE ANDINO #3504                                                                                                    PONCE             PR      00717‐0777
CENTRO MARGARITA INC                       AREA DEL TESORO                      DIVISION DE RECLAMACIONES                                                        SAN JUAN          PR      00902‐4140




                                                                                                               Page 1455 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1456 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                             Address1                                  Address2                                      Address3   Address4   City              State   PostalCode   Country
CENTRO MARGARITA INC                      RR 3 BOX 7260                                                                                                 CIDRA             PR      00739
CENTRO MARGARITA, INC                     PO BOX 1638                                                                                                   CIDRA             PR      00739
CENTRO MARGARITA, INC                     RR 03 BOX 7260                                                                                                CIDRA             PR      00739
CENTRO MARIA MAZZARELLO ALESPI INC        PO BOX 1877                                                                                                   OROCOVIS          PR      00720
CENTRO MASS SALUD                         P O BOX 21405                                                                                                 SAN JUAN          PR      00928
CENTRO MEDICINA DE FAMILIA                PO BOX 5028                                                                                                   SAN SEBASTIAN     PR      00685
CENTRO MEDICINA DE FAMILIA DR CENTER      PO BOX 532                                                                                                    MANATI            PR      00674
CENTRO MEDICINA DE FAMILIA LAS PIEDRAS    PO BOX 1019                                                                                                   LAS PIEDRAS       PR      00771
CENTRO MEDICINA DIGESTIVO                 PO BOX 516                                                                                                    PUERTO REAL       PR      00740
CENTRO MEDICINA ESPECIALIZADA             12 CALLE ANTONIO R BARCELO                                                                                    CIDRA             PR      00739
CENTRO MEDICINA ESPECIALIZADA             PO BOX 50532                                                                                                  MANATI            PR      00674
CENTRO MEDICINA FAMILIAR                  URB LEVITTOWN LAKES                       U11 CALLE LEILA E                                                   TOA BAJA          PR      00949‐4618
CENTRO MEDICINA FAMILIAR Y GERIATRIA      PO BOX 230                                                                                                    PEÑUELAS          PR      00624
CENTRO MEDICINA FISICA Y REHABILITACION   PAVIA II MEDICAL PLAZA                    1449 AMERICO SALAS STE 101                                          SAN JUAN          PR      00909
CENTRO MEDICINA INTEGRAL IPA 20           PO BOX 532                                                                                                    MANATI            PR      00674
CENTRO MEDICO ADAPTOGENO CMA              PO BOX 6181                                                                                                   BAYAMON           PR      00960
CENTRO MEDICO DE HATILLO                  PO BOX 1688                                                                                                   HATILLO           PR      00659
CENTRO MEDICO DEL NORESTE                 PO BOX 2379                                                                                                   CANOVANAS         PR      00729
CENTRO MEDICO DEL TURABO INC              701 AVE PONCE DE LEON                     EDIF CENTRO DE SEGUROS                        OFIC 414              SAN JUAN          PR      00907
CENTRO MEDICO DEL TURABO INC              HIMA SAN PABLO CAGUAS                     PO BOX 4980                                                         CAGUAS            PR      00726
CENTRO MEDICO FAMILIAR                    65 INF ESTATION                           PO BOX 29568                                                        SAN JUAN          PR      00929
CENTRO MEDICO FAMILIAR                    PO BOX 477                                                                                                    ARECIBO           PR      00616
CENTRO MEDICO FAMILIAR SANTA ROSA         HOSPITAL SANTA ROSA 1                     AVE LOS VETERANOS                                                   GUAYAMA           PR      00784
CENTRO MEDICO GUAYNABO                    URB HIGHLAND GARDENS                      C9 MARGINAL ACUARELA                                                GUAYNABO          PR      00969
CENTRO MEDICO LAS AMERICAS                7206 N ARMENIA AVE                                                                                            TAMPA             FL      33604
CENTRO MEDICO MULTIDISCIPLINARIO          2 CALLE SATURNINO RODRIGUEZ                                                                                   YABUCOA           PR      00767
CENTRO MEDICO SALINAS                     25 CALLE UNION                                                                                                SALINAS           PR      00751
CENTRO MEDICO SAN JOSE, C S P             STE 241                                   PO BOX 10000                                                        CAYEY             PR      00737‐9601
CENTRO MEDICO WILMA N VAZQUEZ             DEPARTAMENTO RECORDS MEDICOS              PO BOX 7001                                                         VEGA BAJA         PR      00694
CENTRO MET                                PO BOX 7601                                                                                                   SAN JUAN          PR      00915
CENTRO MICROEMPRESAS Y TECNOLOGIA         AGRICOLA SUSTENTABLES YARE CO INC         PO BOX 475                                                          YAUCO             PR      00698
CENTRO MODA ESC DE DISENO LISA THON       992 AVE MUNOZ RIVERA                      SUITE 1                                                             SAN JUAN          PR      00927
CENTRO MOTORES AUTO CORP                  359 CALLE SAN CLAUDIO APT 126                                                                                 SAN JUAN          PR      00926 9907
Centro Muebles                            Calle de Diego                                                                                                Rio Piedras       PR      00920
CENTRO MUFFLER SHOP                       HC 03 BOX 10501                                                                                               JUANA DIAZ        PR      00795
CENTRO MUJER Y NUEVA FAMILIA INC          AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                           SAN JUAN          PR      00902‐4140
CENTRO MUJER Y NUEVA FAMILIA INC
CENTRO NATURISTA                          131 B CALLE MUNOZ RIVERA                                                                                      GUAYANILLA        PR      00656
CENTRO NEUMOLIGICO DEL OESTE              55 CALLE DE DIEGO E STE 401                                                                                   MAYAGUEZ          PR      00680‐5081
CENTRO NEUMOLOGICO DE PR                  AVE PONCE DE LEON #735                                                                                        HATO REY          PR      00917
CENTRO NEUMOLOGICO DEL OESTE              CPR PROFESSIONAL BUILDING                 55 CALLE DE DIEGO E STE 401                                         MAYAGUEZ          PR      00680
CENTRO NEUROBIOFISIOLOGICO                461 CALLE AMERICA ESQ FRANCIA                                                                                 SAN JUAN          PR      00918
CENTRO NEURODIAGNOSTICO INC               URB LUARCA                                A 2 CALLE LODI                                                      SAN JUAN          PR      00924‐3804
CENTRO NEUROLOGIA AVANZADA                PO BOX 4980                                                                                                   CAGUAS            PR      00726
CENTRO NEUROLOGICO VASCULAR DE PR         MARAMAR PLAZA                             101 AVE SAN PATRICIO STE 870                                        GUAYNABO          PR      00968
CENTRO NEYMAR INC                         PO BOX 504                                                                                                    BAYAMON           PR      00960
CENTRO NEYMAR INC                         URB HERMANAS DAVILAS                      I 7 AVE BETANCES                                                    BAYAMON           PR      00957
CENTRO NOTARIAL DE P R                    EXECUTIVE BUILDING SUITE 1005 B           623 AVE PONCE DE LEON                                               SAN JUAN          PR      00917
CENTRO NUEVOS HORIZONTES                  URB ALTURAS DE FLAMBOYAN                  N 16 CALLE 23                                                       BAYAMON           PR      00959
CENTRO NUEVOS HORIZONTES INC              ALTURAS DE FLAMBOYAN                      N16 CALLE 23                                                        BAYAMON           PR      00959
CENTRO OBSTETRICA Y GINECOLOGIA           PO BOX 785                                                                                                    SAN LORENZO       PR      00754
CENTRO OBSTETRICO AREA SUR ESTE CSP       PO BOX 2157                                                                                                   GUAYAMA           PR      00785‐2157
CENTRO OFTALMICO                          ATT DR JOSE R BENITEZ                     PO BOX 8809                                                         HUMACAO           PR      00792
CENTRO OFTALMOLOGICO DE ARECIBO           PO BOX 140819                                                                                                 ARECIBO           PR      00614‐0819
CENTRO OFTALMOLOGICO DEL ESTE CSP         69 CALLE ULISES MARTINEZ S                                                                                    HUMACAO           PR      00791
CENTRO OFTALMOLOGICO LOPEZ, PSC           PO BOX 250431                                                                                                 AGUADILLA         PR      00604
CENTRO OFTALMOLOGICO METRO                1250 AVE JESUS T PINERO                                                                                       SAN JUAN          PR      00921
CENTRO OFTALMOLOGICO METROPOLITANO        PO BOX 10431                                                                                                  SAN JUAN          PR      00921
CENTRO ORIENTACION AYUDA PSIQ.            LOIZA VALLEY SHOPPING CENTER LOCAL AA‐6                                                                       CANOVANAS         PR      00729
CENTRO ORIENTACION Y AYUDA PSIQUIATRICA   Y/O BANCO POPULAR PR                      P O BOX 362708                                                      SAN JUAN          PR      00936‐2708




                                                                                                                   Page 1456 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1457 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                             Address1                                  Address2                                  Address3      Address4   City            State   PostalCode   Country
CENTRO ORO                                HIRAM GONZALEZ NUM.28                                                                                        BAYAMON         PR      00961
CENTRO ORTOPEDICO                         VILLA FONTANA                             3K S‐9 AVE FRAGOSO                                                 CAROLINA        PR      00983
CENTRO OSTALMOLOGICO METROPOLITANO CSP1250 AVE PINERO                                                                                                  SAN JUAN        PR      00922‐0431
CENTRO PARA DESARROLLO POLITICO           EDUCATIVO Y CULTURAL                      BARRIADA MORALES                          959 CALLE O              CAGUAS          PR      00725
CENTRO PARA EL MANEJO DEL DOLOR           PO BOX 801057                                                                                                COTO LAUREL     PR      00780‐1057
CENTRO PARA EMPRENDEDORES INC             EDP UNIVERSITY                            460 AVE PONCE DE LEON SUITE 1                                      SAN JUAN        PR      00919
CENTRO PARA LA CONSERVACION PAISAJE INC PO BOX 23186                                                                                                   SAN JUAN        PR      00931
CENTRO PARA PUERTO RICO                   URB SANTA RITA                            1012 CALLE GONZALEZ                                                SAN JUAN        PR      00925
CENTRO PEDIATRIA Y FAMILIA                PO BOX 6004                                                                                                  VILLALBA        PR      00766
CENTRO PEDIATRIA Y MEDICINA DE FAMILIA    MSC 247                                   PO BOX 6004                                                        VILLALBA        PR      00766‐6004
CENTRO PEDIATRICO AGC                     14 CALLE BOU                                                                                                 COROZAL         PR      00783
CENTRO PEDIATRICO DE MAYAGUEZ             410 AVE HOSTOS CARR 2 STE 1                                                                                  MAYAGUEZ        PR      00680‐1522
CENTRO PEDIATRICO DEL HOSP HIMA CEPAF     PO BOX 1028                                                                                                  FAJARDO         PR      00738
CENTRO PEDIATRICO LACTANCIA Y CRIANZA IN PO BOX 16554                                                                                                  SAN JUAN        PR      00908‐6554
CENTRO PEDIATRICO SAN PATRICIO            101 AVE SAN PATRICIO                      SUITE 970                                                          GUAYNABO        PR      00966
CENTRO PIEZAS CARINO                      PO BOX 761                                                                                                   HUMACAO         PR      00792
CENTRO PIEZAS HUMACAO                     P O BOX 2010                                                                                                 HUMACAO         PR      00767
CENTRO PIEZAS TOYOTA                      AVE CAMPO RICO #852 URB. COUNTRY CLUB                                                                        RIO PIEDRAS     PR      00922
CENTRO PIEZAS Y SERVICIO AUTOMOTRIZ       PO BOX 1716                                                                                                  AGUADA          PR      00602
CENTRO PIEZAS Y SERVICIOS SANCHEZ &       PO BOX 1716                                                                                                  AGUADA          PR      00602
CENTRO PINTORES Y CONTRATISTAS DEL SUR INCPO BOX 1081                                                                                                  YAUCO           PR      00698‐1081
CENTRO PINTURAS CAROLINA                  PO BOX 29916                                                                                                 SAN JUAN        PR      00929
CENTRO PINTURAS DEL SUR INC               PO BOX 826                                                                                                   GUANICA         PR      00653
CENTRO PLASTICO INC                       EL COMANDANTE                             1210 NICOLAS AGUAYO                                                SAN JUAN        PR      00924
CENTRO POLIMENONITA                       13 CALLE MARIO BRACHI                                                                                        COAMO           PR      00769
CENTRO POLIMENONITA DE COAMO              13 CALLE MARIO BRASCHI                                                                                       COAMO           PR      00769‐2501
CENTRO PRAY THE LORD INC.                 GORRION # 84 PASEO PALMA REAL                                                                                JUNCOS          PR      00777
CENTRO PRE ESCOLAR HAMDELYN INC           BO DAGUEY                                 CARR 404 KM 0.9                                                    ANASCO          PR      00610
CENTRO PRE ESCOLAR WINNIE THE POOH INC REPTO SAN FCO                                5 CALLE EUGENIO CESANI                                             MAYAGUEZ        PR      00682
CENTRO PREESCOLAR BONNY INC               URB LA PROVIDENCIA                        IN 4 CALLE 9 A                                                     TOA ALTA        PR      00953
CENTRO PREESCOLAR ESTUDIOS COMPL NIM INCLOMAS VERDES                                3G‐7 AVE LOMAS VERDES                                              BAYAMON         PR      00956
CENTRO PRE‐ESCOLAR KIDDY                  URB. VENUS GARDENS CALLE ANGUEISES 1772‐1774                                                                 SAN JUAN        PR      00926
CENTRO PREESCOLAR PEQUENOS INC            45 CALLE MATIENZO CINTRON                                                                                    YAUCO           PR      00698‐3506
CENTRO PRESBITERIANO DE SERVICIOS A LA    COMUNIDAD INC                             719 CLALE ESCORIAL CAPARRA TERRACE                                 SAN JUAN        PR      00921
CENTRO PREVENCION Y TRAT ENF TRASMISIBLE HOSP UPR DE CAROLINA                       PO BOX 6021                                                        CAROLINA        PR      00984‐6021
CENTRO PRO VIDA INDEPENDIENTE , INC.      19 CALLE LUNA                                                                                                PONCE           PR      00731
CENTRO PRO VIDA INDEPENDIENTE INC         PO BOX 331903                                                                                                PONCE           PR      00733‐1903
CENTRO PROMOCION ESCOLAR                  AREA DEL TESORO                           DIV DE RECLAMACIONES                                               SAN JUAN        PR      00902‐4140
CENTRO PROMOCION ESCOLAR                  AREA DEL TESORO                           DIV DE RECLAMACIONES                                                               PR      00902‐4140
CENTRO PROMOCION ESCOLAR                  PMB 181                                   PO BOX 2017                                                        LAS PIEDRAS     PR      00771
CENTRO PROMOCION ESCOLAR                  PO BOX 2017 PMB 181                                                                                          LAS PIEDRAS     PR      00771
CENTRO PROVIDENCIA DE LOIZA INC           PO BOX 482                                                                                                   LOIZA           PR      00772
CENTRO PS DE MEJORAMIENTO PERSONAL        131 AVE WINSTON CHURCHILL                                                                                    SAN JUAN        PR      00926‐6023
CENTRO PSICOEDUCATIVO DE LA MONTANA       PO BOX 1674                                                                                                  AIBONITO        PR      00705
CENTRO PSICOLOGICO                        PMB 095                                   PO BOX 4952                                                        CAGUAS          PR      00726‐4952
CENTRO PSICOLOGICO DEL SUR ESTE           CITY VIEW PLAZA II                        48 CARR 165 UITE 2000                                              GUAYNABO        PR      0096880000
CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.    CITY VIEW II                              48 CARR 165 SUITE 2000                                             GUAYNABO        PR      00968‐8000
CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.    PO BOX 9121                                                                                                  HUMACAO         PR      00792
CENTRO PSICOLOGICO DEL SUR ESTE P.S.C.    Y BANCO POPULAR DE PUERTO RICO            PO BOX 362708                                                      SAN JUAN        PR      00936‐2708
CENTRO PSICOLOGICO ILO INC                VILLA BLANCA                              31 CALLE RUBI                                                      CAGUAS          PR      00725
CENTRO PSICOLOGICO LLC                    PO BOX 4245                                                                                                  AGUADILLA       PR      00605‐4245
CENTRO PSICOSOCIAL AVANZADO               PO BOX 66                                                                                                    YAUCO           PR      00968
CENTRO PSICOSOCIAL CAYEY                  RECORDS MEDICO                            PO BOX 372770                                                      CAYEY           PR      00737‐2770
CENTRO PSIQUIATRICO BAYAMON CORP          URB SANTA ROSA                            43‐15 AVE MAIN                                                     BAYAMON         PR      00959‐6501
CENTRO PULMONAR DE LA MONTANA             PO BOX 372647                                                                                                CAYEY           PR      00737
CENTRO PULMONAR DE LA MONTAÑA             PO BOX 372647                                                                                                CAYEY           PR      00737
CENTRO PUMA                               PO BOX 1510                                                                                                  AIBONITO        PR      00705‐1510
CENTRO PUMA C S P                         PO BOX 413                                                                                                   AIBONITO        PR      00705
CENTRO QUIMIOTERAPIA                      PO BOX 4056 SHOPPING CENTER                                                                                  AGUADILLA       PR      00605
CENTRO QUIROPRACTICO                      PMB 121                                   PO BOX 6400                                                        CAYEY           PR      00737




                                                                                                               Page 1457 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1458 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                             Address1                                Address2                                  Address3        Address4   City              State   PostalCode   Country
CENTRO QUIROPRACTICO DE CAYEY P S C       URB MARBELLA                            142 CALLE D                                                          AGUADILLA         PR      00603‐5524
CENTRO QUIROPRACTICO DE RIO GRANDE        CALLE PIMENTEL 52                       BDA LAS FLORES                                                       RIO GRANDE        PR      00745
CENTRO QUIROPRACTICO DEL NOROESTE         CALLE OTERO 1957                                                                                             ISABELA           PR      00662
CENTRO QUIROPRACTICO DEL NOROESTE         PO BOX 1957                                                                                                  ISABELA           PR      00669
CENTRO QUIROPRACTICO DEL NORTE            P O BOX 1015                                                                                                 ARECIBO           PR      00613
CENTRO QUIROPRACTICO DR JUAN M LOPEZ DC PO BOX 366602                                                                                                  SAN JUAN          PR      00936‐6602
CENTRO QUIROPRACTICO DR MELVIN RUIZ       PO BOX 358                                                                                                   ARECIBO           PR      00613
CENTRO QUIROPRACTICO DRA MUNIZ MEDINA CPO BOX 546                                                                                                      ISABELA           PR      00662
CENTRO QUIROPRACTICO FAMILIAR             MARINA STA                              PO BOX 6749                                                          MAYAGUEZ          PR      00681‐6749
CENTRO QUIROPRACTICO FAMILIAR             PMB 79438                               AVE WINSTON CHURCHILL                                                SAN JUAN          PR      00926
CENTRO QUIROPRACTICO LAS CATALINAS        623 HACIENDA SAN JOSE                   VIA DEL GUAYABAL                                                     CAGUAS            PR      00725
CENTRO QUIROPRACTICO LESSEUR SIVERIO      PO BOX 6798                                                                                                  CAGUAS            PR      00725
CENTRO RADIOLOGICO ALONDRA                PO BOX 447                                                                                                   VEGA ALTA         PR      00692‐0447
CENTRO RADIOLOGICO BAYAMON                TORRE DE PLAZA OFIC 403                                                                                      SAN JUAN          PR      00918
CENTRO RADIOLOGICO DE CAGUAS              URB MONTEHIEDRA                         87 CALLE BIENTEVEO                                                   SAN JUAN          PR      00926
CENTRO RADIOLOGICO DE LA MONTANA PSC      HC 72 BOX 3951                                                                                               NARANJITO         PR      00719
CENTRO RADIOLOGICO DEL OESTE              17 NORTE                                CALLE PERAL                                                          MAYAGUEZ          PR      00680
CENTRO RADIOLOGICO GUAYAMA DIAGNOSTICS 1 CALLE ASFORD ESQ                                                                                              GUAYAMA           PR      00785
CENTRO RADIOLOGICO ROLON                  PO BOX 142292                                                                                                ARECIBO           PR      00614‐2292
CENTRO RADIOLOGICO ROLON INC              P O BOX 142292                                                                                               ARECIBO           PR      00614
CENTRO RADIOLOGICO Y SONOGRAFICO DECIDRAPO BOX 1940                                                                                                    CIDRA             PR      00739‐1940
CENTRO RADIOTERAPIA DEL NORTE             PO BOX 142500                                                                                                ARECIBO           PR      00614‐2500
CENTRO RADIOTERAPIAS ‐ AUX. MUTUTO        PO BOX 191227                                                                                                SAN JUAN          PR      00919
CENTRO RADIOTERAPIAS‐ AUX MUTUO           P O BOX 191227                                                                                               SAN JUAN          PR      00919
CENTRO RECAUDACION INGRESOS MUNICIPALES PO BOX 395                                                                                                     LARES             PR      00669
CENTRO RECAUDACION INGRESOS MUNICIPALES PO BOX 70376                                                                                                   SAN JUAN          PR      00936‐8376
CENTRO RECONSTRUCCION ORAL E IMPLANTES PPO BOX 361357                                                                                                  SAN JUAN          PR      00936
CENTRO REHABILITACION FISICA              PO BOX 2934                                                                                                  SAN GERMAN        PR      00683
CENTRO REHABILITACION LA MONTANA          P O BOX 2173                                                                                                 MANATI            PR      00687
CENTRO REHABILITACION ORAL E IMPLANTES DE PO BOX 364623                                                                                                SAN JUAN          PR      00936
CENTRO RENACER                            PO.BOX 3772                                                                                                  GUAYNABO          PR      00970‐0000
CENTRO RENACER ESPIRITUAL                 CALLE COLON # 97 CLAUSELLS                                                                                   PONCE             PR      00730‐0000
CENTRO RENAL BAYAMON CRB                  SANTA JUANITA SHOPPING COURT            CALLE ESPAÑA (CALLE 30 ESQ 41)                                       BAYAMON           PR      00956
CENTRO RENAL BMA                          CENTRO RENAL (BMA)                      1050 AVE LOS CORAZONES STE 101                                       MAYAGUEZ          PR      00680
CENTRO RENAL DE AGUADILLA BMA             PO BOX 5194                                                                                                  AGUADILLA         PR      00605
CENTRO RENAL DE BAYAMON                   BOX 536                                 EL SEÐORIAL MAIL STA                                                 SAN JUAN          PR      00926
CENTRO RENAL DE BAYAMON                   EL SENORIAL MAIL STA                    BOX 536                                                              SAN JUAN          PR      00926
CENTRO RENAL DE BAYAMON BMA               PO BOX 2830                                                                                                  BAYAMON           PR      00960
CENTRO RENAL DE CAGUAS BMA                PO BOX 6659                                                                                                  CAGUAS            PR      00726
CENTRO RENAL DE CAROLINA BMA              FMC CENTRO GOLDEN TOWER                 AVE PONTEZUELA C 8                                                   CAROLINA          PR      00983
CENTRO RENAL DE HUMACAO FMC               PO BOX 9100                                                                                                  HUMACAO           PR      00792
CENTRO RENAL DE VEGA BAJA BMA             416 PONCE DE LEON AVE                                                                                        SAN JUAN          PR      00918
CENTRO RENAL HOSPITAL MENONITA            EDIFICIO PROFESIONAL                    SUITE 102                                                            AIBONITO          PR      00705
CENTRO RENOVACION Y DESARROLLO HUMANO ESPIRITUAL EL BUEN PASTOR INC               HC 1 BOX 22925                                                       CAGUAS            PR      00725‐8915
CENTRO RENOVACION Y DESARROLLO HUMANO HC 01 BOX 22925                                                                                                  CAGUAS            PR      00725
CENTRO RESIDENCIAL DE OPORT EDUC MAYAGU P O BOX 1550                                                                                                   MAYAGUEZ          PR      00681‐1550
CENTRO REUMATOLOGIA ARECIBO               ARECIBO MEDICAL CENTER STE 206                                                                               ARECIBO           PR      00612
CENTRO SALUD FAM UNIDAD II CATANO         PO BOX 428                                                                                                   CATAÑO            PR      00963
CENTRO SALUD FAMILIAR                     85 CALLE HOSTOS FINAL                   CARR 153                                                             SANTA ISABEL      PR      00757
CENTRO SALUD FAMILIAR DR JULIO PALMIERI   PO BOX 450                                                                                                   ARROYO            PR      00714
CENTRO SALUD FAMILIAR MENONITA            PO BOX 1379                                                                                                  AIBONITO          PR      00705
CENTRO SALUD FAMILIAR SAN LORENZO RYDER DEPTO RECORDS MEDICOS                     PO BOX 859                                                           HUMACAO           PR      00791
CENTRO SALUD MARIO CANALES TORRESOLA JAYPO BOX 488                                                                                                     JAYUYA            PR      00664
CENTRO SALUD MENTAL DE LA CAPITAL         PO BOX 21405                                                                                                 SAN JUAN          PR      00928
CENTRO SALUD MENTAL DE NIÑOS Y ADOLECENTSALUD MENTAL NIÑOS Y ADOLECENTES BAYAMOPO BOX 21414                                                            SAN JUAN          PR      00928‐1414
CENTRO SALUD MENTAL DRA MARIA A RODILL P O BOX 6022                                                                                                    CAROLINA          PR      00984‐6022
CENTRO SALUD MENTAL MAYAGUEZ              410 AVE HOSTOS STE 7                                                                                         MAYAGUEZ          PR      00682‐1522
CENTRO SALUD MENTAL MOCA                  OFIC DE CALIDAD‐AREA MANEJO INFORMACION ATTN SRA CINDYBETH FERRER                 PO BOX 607087              BAYAMON           PR      00960‐7087
CENTRO SALUD MIGRANTES                    HC 07 BOX 70001                                                                                              SAN SEBASTIAN     PR      00685
CENTRO SAN FRANCISCO DE PONCE             PO BOX 10479                                                                                                 PONCE             PR      00732




                                                                                                             Page 1458 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1459 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                              Address1                         Address2                                   Address3      Address4   City              State   PostalCode   Country
CENTRO SAN FRANCISCO, INC.                 P.O. BOX 10479                                                                                       PONCE             PR      00732‐0479
CENTRO SERV PROF SALUD MENTAL ESPERANZA 556 MANS DEL ATLANTICO                                                                                  ISABELA           PR      00662
CENTRO SERVICE INTEGRALES DE SALUD DE HUMPO BOX 9121                                                                                            HUMACAO           PR      00792
CENTRO SERVICIO MEDICO MIRAFLORES INC      PO BOX 50142                                                                                         TOA BAJA          PR      00950
CENTRO SERVICIOS APOYO TEMPRANA CRECIENDURB SANTA TERESA                    74 CALLE PANAMA                                                     MANATI            PR      00674
CENTRO SERVICIOS HABLA Y EDUCATIVOS        PO BOX 373184                                                                                        CAYEY             PR      00737
CENTRO SERVICIOS MARIA DELOS ANGELES INC AREA DEL TESORO                    DIVISION DE RECLAMACIONES                                           SAN JUAN          PR      00902‐4140
CENTRO SERVICIOS MARIA DELOS ANGELES INC URB DELICIAS                       1010 GENERAL VALERO                                                 SAN JUAN          PR      00924
CENTRO SERVICIOS PSICOLOGICOS Y            HC 73 BOX 5756                                                                                       NARANJITO         PR      00719
CENTRO SERVICIOS TERAPEUTICO               PO BOX 571                                                                                           LAJAS             PR      00667
CENTRO SICOTERAPEUTICO MULTI INC           URB EL VERDE                     19 CALLE LUCERO                                                     CAGUAS            PR      00725
CENTRO SOLUCION CONFLICTOS DE AGUADILLA P O BOX 4370                                                                                            AGUADILLA         PR      00605‐4370
CENTRO SOLUCION DE CONFLICTOS AGUADILLA BO. CAMASEYES                       CARR 459 KM 2.4                                                     AGUADILLA         PR      00603
CENTRO SOLUCION DE CONFLICTOS AGUADILLA PO BOX 4370                                                                                             AGUADILLA         PR      00605‐4370
CENTRO SONONUCLEAR DE P R                  URB MILAVILLE                    24 ACEROLA ST                                                       SAN JUAN          PR      00926
CENTRO SONONUCLEAR DE RP                   URB. MILAVILLE, 24 ACEROLA ST.                                                                       SAN JUAN          PR      00926
Centro Sor Isolina /Trinity College        P O Box 7313                                                                                         Ponce             PR      00732
CENTRO SOR ISOLINA FERRE INC               P O BOX 7313                                                                                         PONCE             PR      00717‐1111
CENTRO SOR ISOLINA FERRE INC               PO BOX 34360                                                                                         PONCE             PR      00734‐4360
CENTRO SOR ISOLINA FERRE INC               RR 6 BOX 9541                                                                                        SAN JUAN          PR      00926‐9503
CENTRO STRESS OUT                          172 URB SABANERA                 CAMINO POMARROSAS                                                   CIDRA             PR      00739
CENTRO SUBASTAS INC                        3071 AVE ALEJANDRINO PMB 250                                                                         GUAYNABO          PR      00969‐4816
CENTRO TEOLOGICO EL CABALLERO DE LA CRUZ PO BOX 663                                                                                             BAYAMON           PR      00960
CENTRO TERAMAR INC                         AVE. MARIN 5130                  URB. SANTA ROSA                                                     BAYAMON           PR      00956
CENTRO TERAMAR INC                         PO BOX 193921                                                                                        SAN JUAN          PR      00919
CENTRO TERAMAR INC                         URB LAS GAVIOTAS                 CALLE PALOMA                                                        TOA BAJA          PR      00949
CENTRO TERAPEUTICO LOS BRAZOS DE ABUELA AVE, PAZ GRANELA #1388              SANTIAGO IGLESIAS                                                   RIO PIEDRAS       PR      00921
CENTRO TERAPEUTICO NORTE INC               PO BOX 823                                                                                           VEGA BAJA         PR      00694
CENTRO TERAPEUTICO PARA EL DESARROLLO IN P O BOX 360362                                                                                         SAN JUAN          PR      00936
CENTRO TERAPEUTICO VIMAR PSC               PO BOX 2963                                                                                          CAROLINA          PR      00984
CENTRO TERAPEUTICO VOCALIS INC             PRADERA DEL RIO BOX 3055                                                                             TOA ALTA          PR      00955
CENTRO TERAPIA FISICA                      URB FLAMBOYAN                    D15 CALLE 3                                                         MANATI            PR      00674
CENTRO TERAPIA FISICA DE BAYAMON           PO BOX 192767                                                                                        SAN JUAN          PR      00919‐2767
CENTRO TERAPIA FISICA DE ISABELA           PO BOX 127                                                                                           AGUADA            PR      00606
CENTRO TERAPIA FISICA LA MONSERRATE        PO BOX 1381                                                                                          AGUADA            PR      00602‐1381
CENTRO TERAPIA FISICA LA MONTANA           PO BOX 9024275                                                                                       SAN JUAN          PR      00902‐4275
CENTRO TERAPIA FISICA MEDICINA DEPORTIVA SANTA ROSA UNIT                    PO BOX 6515                                                         BAYAMON           PR      00960‐9005
CENTRO TERAPIA FISICA RENACER              PO BOX 69001                     SUITE 280                                                           HATILLO           PR      00659
CENTRO TERAPIA FISICA RENACER INC          PO BOX 69001 STE 280                                                                                 HATILLO           PR      00659
CENTRO TERAPIA FISICA RIO GRANDE           PO BOX 2884                                                                                          RIO GRANDE        PR      00745
CENTRO TERAPIA FISICA RIVERA NIEVES        PO BOX 19                                                                                            DORADO            PR      00646
CENTRO TERAPIA FISICA SANTA MARIA          PO BOX 336149                                                                                        PONCE             PR      00733‐6149
CENTRO TERAPIA FISICA Y ELECTRODIAGNOSTICO2 PROGRESO SUITE 304              APARTADO 1298                                                       AGUADILLA         PR      00605
CENTRO TERAPIA FISICA Y MEDICINA           DEPORTIVA BELLA VISTA INC        PO BOX 6515                                                         BAYAMON           PR      00960‐9005
CENTRO TERAPIA FISICA Y REHABILITACION RENAPO BOX 5093                                                                                          AGUADILLA         PR      00605
CENTRO TERAPIA LIMAR                       PO BOX 9013                                                                                          BAYAMON           PR      00960‐9013
CENTRO TERAPIA MANOS UNIDAS                CALLE 37 TT‐8                    SANTA JUANITA                                                       BAYAMON           PR      00958
CENTRO TERAPIAS ALIVIO                     HC 5 BOX 72261                                                                                       GUAYNABO          PR      00971
CENTRO TERAS INC                           URB ALTAVILLA                    AA 31 CALLE PANORAMICA                                              TRUJILLO ALTO     PR      00976
CENTRO TERAS, INC.                         3702 MONTECILLO COURT                                                                                TRUJILLO ALTO     PR      00976
CENTRO TERAS, INC.                         ITURREGUI PLAZA                  SUITE 220                                                           SAN JUAN          PR      00924
CENTRO TERRAMAR                            URB SANTA ROSA                   5130 AVE MAIN                                                       BAYAMON           PR      00956
CENTRO TOMATIS DE PR                       URB LA RIVIERA                   1273 CALLE 54 SE                                                    SAN JUAN          PR      00921
CENTRO TOYOTA AUTO PARTS SL IN             BDA ROOSEVELT                    301 CALLE 1                                                         SAN LORENZO       PR      00754
CENTRO TRANSFORMACION SOCIAL CRISTIANO PMB 341 P O BOX 2400                                                                                     TOA BAJA          PR      00951‐0000
CENTRO TURISTICO MOJACASABE INC/JOMA       DESING GROUP CORP                PO BOX 1425                                                         BOQUERON          PR      00622‐1425
CENTRO UNIDO DE DETALLISTAS DE PR          501 AVE MUNOZ RIVERA                                                                                 SAN JUAN          PR      00919‐0127
CENTRO UNIVERSITARIO MEDICINA INTEGRAL Y COMPLEMENTARIA DE PUERTO RICO      UNIVERSIDAD DEL CARIBE                     PO BOX 1786              BAYAMON           PR      00960‐1786
CENTRO UROLOGICO                           PO BOX 9689                                                                                          CAGUAS            PR      00726
CENTRO UROLOGICO DEL OESTE INC             PO BOX 6441                                                                                          MAYAGUEZ          PR      00681




                                                                                                        Page 1459 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1460 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                            Address1                              Address2                                   Address3   Address4   City             State   PostalCode   Country
CENTRO VISION                            34 CALLE BARBOSA                                                                                       CABO ROJO        PR      00623
CENTRO VISION                            PLAZA SALCEDO STE 104                                                                                  AÑASCO           PR      00610
CENTRO VISION OPTOMETRICO                PO BOX 7                              28 CALLE MUNOZ RIVERA A                                          AGUAS BUENAS     PR      00703
CENTRO VISUAL DEL SUR                    13 WILLIE ROSARIO                     SUITE 2                                                          COAMO            PR      00769
CENTRO VISUAL EYES FOR YOU               555 CALLE CALAF                       SUITE 104                                                        SAN JUAN         PR      00918
CENTRO VISUAL FLORIDA                    PO BOX 320                                                                                             FLORIDA          PR      00650
CENTRO VISUAL JUNCOS                     29 MARTINEZ                                                                                            JUNCOS           PR      00777
CENTRO VISUAL MIRADA DEL ESTE            PO BOX 1344                                                                                            NAGUABO          PR      00718
CENTRO VISUAL MOROVIS                    26 AVE BUENA VISTA                                                                                     MOROVIS          PR      00687
CENTRO VOCACIONAL DE PR NT               PO BOX 8447                                                                                            BAYAMON          PR      00960
CENTRO VOCACIONAL GABRIEL BIBILONI       PO BOX 2345                                                                                            CAYEY            PR      00737
CENTRO YAERAN                            279 C/47                              VILLAS DE CARRAIZO                                               SAN JUAN         PR      00926
CENTROCAMIONES                           PO BOX 11411 CAPARRA HGTS STATION                                                                      SAN JUAN         PR      00922‐0000
CENTROCAMIONES INC                       P O BOX 11411                         CAPARRA HEIGHTS STATION                                          SAN JUAN         PR      00922
CentroCardiovaculardePuertoRicoYdelCarib P.O. BOX 366528                                                                                        SAN JUAN         PR      00936‐6528
CENTROFICINA DEL SUR INC                 1484 CALLE SALUD                                                                                       PONCE            PR      00730‐5814
CENTROFICINA DEL SUR INC                 PO BOX 330645                                                                                          PONCE            PR      00731
CENTROFISIOTERAPIA AGUADENO              PO BOX 9024275                                                                                         SAN JUAN         PR      00902‐4275
CENTROLIBROS DE PR DBA‐BOOKSHOP          PO BOX 361641                                                                                          SAN JUAN         PR      00936‐1641
CENTROMED WALZEM CLINIC                  5253 WALZEM RD                                                                                         WINDCREST        TX      78218
CENTROMUEBLES                            208 CALLE DE DIEGO                                                                                     RIO PIEDRAS      PR      00920
CENTROMUEBLES                            AVE. FERNANDEZ JUNCOS #1264, PDA 18                                                                    SANTURCE         PR      00917
CENTRONE, PHILLIP                        ADDRESS ON FILE
CENTROVISION                             EDIF EL MONTE MALL                    652 AVE MUNOZ RIVERA SUITE 2000                                  SAN JUAN         PR      00918‐4262
CENTROVISION                             EL MONTE MALL                         SEGUNDO PISO STE 17                                              SAN JUAN         PR      00918
CENTROVISION                             EL MONTE MALL OFICINA 2000                                                                             HATO REY         PR      00918
CENTROVISION INC                         EDIF EL MONTE MALL                    652 AVE MUNOZ RIVERA OFICINA 2000                                SAN JUAN         PR      00918
CENTURY COLLEGE INC                      125 CALLE PROGRESO                                                                                     AGUADILLA        PR      00603
CENTURY DEVELOPMENT & CONTRACTORS INC 1056 AVE MUNOZ RIVERA                    FIRST BANK BLDG SUITE 702                                        SAN JUAN         PR      00927
CENTURY DEVELOPMENT AND CONTRACTORS VERONA # 1191 VILLA CAPRI                                                                                   SAN JUAN         PR      00924‐0000
CENTURY OFFICE EQUIPMENTS CORP‐ NUM      PO BOX 70344                          CMMS314                                                          SAN JUAN         PR      00936‐0000
CENTURY OPTICAL                          66 CALLE DE DIEGO ESTE                                                                                 MAYAGUEZ         PR      00680
CENTURY OPTICAL                          NORMA SANTIAGO GABRIELINI MD          66 ESTE CALLE DE DIEGO                                           MAYAGUEZ         PR      00680
CENTURY PACKING CORP. LLC                PO BOX 1661                                                                                            CANOVANAS        PR      00729
CENTURY PLUMBING & ELECTRICAL SERVICES   3RA COUNTRY CLUB                      CG 1 CALLE 201                                                   CAROLINA         PR      00982
Century Warranty Services, Inc.          8019 Bayberry Rd                                                                                       Jacksonville     FL      32256
CENTURYLINK COMMUNICATIONS, LLC (QWEST) 1801 CALIFORNIA STREET                 10TH FLOOR                                                       DENVER           CO      80202
CEPEDA ACOSTA, ABNER                     ADDRESS ON FILE
Cepeda Agosto, Roberto                   ADDRESS ON FILE
Cepeda Albizu, Carmen                    ADDRESS ON FILE
CEPEDA ALICEA, WALFRED                   ADDRESS ON FILE
CEPEDA ANDINO, DIGNA                     ADDRESS ON FILE
CEPEDA ANDINO, MARIA                     ADDRESS ON FILE
CEPEDA ARCELAY, LISANDRA T.              ADDRESS ON FILE
CEPEDA ARCELAY, SAMUEL                   ADDRESS ON FILE
CEPEDA ARCELAY, SANDRA I                 ADDRESS ON FILE
CEPEDA BARDEGUEZ, MARITZA                ADDRESS ON FILE
CEPEDA BELTRAN, AITZA                    ADDRESS ON FILE
CEPEDA BENAVIDES, JIMMY                  ADDRESS ON FILE
CEPEDA BORIA, ELIAS                      ADDRESS ON FILE
CEPEDA BORIA, VICENTE                    ADDRESS ON FILE
CEPEDA BRENES, JESUS                     ADDRESS ON FILE
CEPEDA BRENES, MARIO                     ADDRESS ON FILE
CEPEDA BRENES, MODESTO                   ADDRESS ON FILE
CEPEDA BULERIN, DENNISE                  ADDRESS ON FILE
CEPEDA BULERIN, TERRY ANN                ADDRESS ON FILE
CEPEDA CABALLERO, ROBERTO                ADDRESS ON FILE
CEPEDA CALCANO, JOHN                     ADDRESS ON FILE
CEPEDA CALDERIN, CARMEN A.               ADDRESS ON FILE
CEPEDA CALDERON, SATURNINO               ADDRESS ON FILE




                                                                                                           Page 1460 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1461 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEPEDA CAMION, JUANA            ADDRESS ON FILE
CEPEDA CARRASQUILLO, MARITZA    ADDRESS ON FILE
CEPEDA CASTRO, JOSE A           ADDRESS ON FILE
CEPEDA CASTRO, JOSE A.          ADDRESS ON FILE
CEPEDA CEBALLOS, JORGE          ADDRESS ON FILE
CEPEDA CHEMBI, ARMANDO          ADDRESS ON FILE
CEPEDA CIRINO, ERCILIO          ADDRESS ON FILE
CEPEDA CIRINO, IRIS             ADDRESS ON FILE
CEPEDA CIRINO, LOIDA            ADDRESS ON FILE
CEPEDA CIRINO, MARCOS           ADDRESS ON FILE
CEPEDA CLEMENTE, JOHN A         ADDRESS ON FILE
CEPEDA CLEMENTE, ROSE           ADDRESS ON FILE
CEPEDA COLON, MARISEL           ADDRESS ON FILE
CEPEDA COLON, MINERVA           ADDRESS ON FILE
CEPEDA CORDERO, LESBIA M        ADDRESS ON FILE
CEPEDA CORDERO, WANDA I         ADDRESS ON FILE
CEPEDA CORREA, MYRIAM           ADDRESS ON FILE
CEPEDA COUVERTIER, LUIS F.      ADDRESS ON FILE
CEPEDA CRUZ, MARIBEL            ADDRESS ON FILE
Cepeda Davila, Haydeeliz        ADDRESS ON FILE
CEPEDA DAVILA, HAYDEELIZ        ADDRESS ON FILE
Cepeda Davila, Luis D.          ADDRESS ON FILE
CEPEDA DE JESUS, CARLOS         ADDRESS ON FILE
CEPEDA DE JESUS, MARCALLY       ADDRESS ON FILE
CEPEDA DE JESUS, MARCALLY       ADDRESS ON FILE
CEPEDA DIAZ PSYD, MAYTE         ADDRESS ON FILE
CEPEDA DIAZ, GABRIEL            ADDRESS ON FILE
CEPEDA DIAZ, JOANNA             ADDRESS ON FILE
CEPEDA DIAZ, JONATHAN           ADDRESS ON FILE
CEPEDA DIAZ, MAURO              ADDRESS ON FILE
CEPEDA DIAZ, MAYTE              ADDRESS ON FILE
CEPEDA DOMENECH, ARELIS         ADDRESS ON FILE
CEPEDA ESCALERA, JANNISCA J.    ADDRESS ON FILE
CEPEDA ESCALERA, MAGALY DEL     ADDRESS ON FILE
CEPEDA ESCOBAR, ANGEL           ADDRESS ON FILE
Cepeda Escobar, Carlos M        ADDRESS ON FILE
CEPEDA ESCOBAR, JORGE L.        ADDRESS ON FILE
CEPEDA ESCOBAR, LUZ             ADDRESS ON FILE
Cepeda Escobar, Manuel A        ADDRESS ON FILE
CEPEDA ESCOBAR, MARIA DE LOS    ADDRESS ON FILE
CEPEDA ESCOBAR, MARIA E.        ADDRESS ON FILE
CEPEDA ESCOBAR, MIGUEL          ADDRESS ON FILE
CEPEDA ESCOBAR, MIGUEL          ADDRESS ON FILE
CEPEDA ESCOBAR, MIGUEL          ADDRESS ON FILE
CEPEDA FALU, ROSA S             ADDRESS ON FILE
CEPEDA FELICIANO, SONIA N       ADDRESS ON FILE
CEPEDA FIGUEROA, JONATHAN       ADDRESS ON FILE
CEPEDA FLORES, ALEXIS           ADDRESS ON FILE
CEPEDA GARCIA, ASTRID I.        ADDRESS ON FILE
CEPEDA GAUTIER, FE              ADDRESS ON FILE
CEPEDA GONZALEZ, CHRISTOPHER    ADDRESS ON FILE
CEPEDA GONZALEZ, CHRISTOPHER    ADDRESS ON FILE
CEPEDA GONZALEZ, RAUL           ADDRESS ON FILE
CEPEDA GUZMAN, DAMASO           ADDRESS ON FILE
CEPEDA HERNADEZ, RAFAEL         ADDRESS ON FILE
CEPEDA HERNANDEZ, IVETTE        ADDRESS ON FILE
CEPEDA HERNANDEZ, LIZ           ADDRESS ON FILE
Cepeda Hernandez, Liz Damaris   ADDRESS ON FILE
CEPEDA HERNANDEZ, MARIANA       ADDRESS ON FILE
CEPEDA HERNANDEZ, SONIA         ADDRESS ON FILE




                                                                            Page 1461 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1462 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEPEDA LACEN, MIGDALIA         ADDRESS ON FILE
CEPEDA LARA MD, RAFAEL         ADDRESS ON FILE
CEPEDA LOPEZ, MARIELY          ADDRESS ON FILE
CEPEDA MALDONADO, CARLOS J     ADDRESS ON FILE
CEPEDA MALDONADO, EDGARDO      ADDRESS ON FILE
CEPEDA MARCANO, TAMARA L       ADDRESS ON FILE
CEPEDA MARQUEZ, NAYDA J        ADDRESS ON FILE
CEPEDA MARTINEZ, JOAN          ADDRESS ON FILE
CEPEDA MARTINEZ, JULIA C.      ADDRESS ON FILE
CEPEDA MARTINEZ, MARCELINA     ADDRESS ON FILE
CEPEDA MARTINEZ, SYDNIA        ADDRESS ON FILE
CEPEDA MELENDEZ, CLARA L       ADDRESS ON FILE
CEPEDA MIRANDA, INES           ADDRESS ON FILE
CEPEDA MIRANDA, INES           ADDRESS ON FILE
CEPEDA MOLINA, GLORIA M        ADDRESS ON FILE
Cepeda Molina, Hector          ADDRESS ON FILE
CEPEDA MONGE, OMAR             ADDRESS ON FILE
CEPEDA MORALES, IRIS N         ADDRESS ON FILE
CEPEDA MORALES, IVAN           ADDRESS ON FILE
CEPEDA MORALES, JESUS          ADDRESS ON FILE
CEPEDA MORALES, JULIO E        ADDRESS ON FILE
CEPEDA NIEVES, ZULEYKA         ADDRESS ON FILE
CEPEDA NINA, LUISA             ADDRESS ON FILE
CEPEDA ONORO, ESPERANZA        ADDRESS ON FILE
CEPEDA ONORO, LUZ M.           ADDRESS ON FILE
CEPEDA ORTIZ, FELIX J          ADDRESS ON FILE
CEPEDA ORTIZ, JANICE M         ADDRESS ON FILE
CEPEDA ORTIZ, LURRIE           ADDRESS ON FILE
CEPEDA OSORIO, EUSEBIO         ADDRESS ON FILE
CEPEDA OSORIO, FELICITA        ADDRESS ON FILE
CEPEDA OSORIO, LIZANDRA        ADDRESS ON FILE
CEPEDA OSORIO, MARIA SOCORRO   ADDRESS ON FILE
CEPEDA OSORIO, MIGUEL A.       ADDRESS ON FILE
CEPEDA OSORIO, ROSA I.         ADDRESS ON FILE
CEPEDA OSORIO, ROSA ISELA      ADDRESS ON FILE
CEPEDA OSORIO, VICTOR L        ADDRESS ON FILE
CEPEDA OTERO, MARIA T.         ADDRESS ON FILE
CEPEDA PARIS, IRAIDA           ADDRESS ON FILE
CEPEDA PARRILLA, NYDIA G       ADDRESS ON FILE
CEPEDA PEREZ, EVELYN           ADDRESS ON FILE
CEPEDA PEREZ, MANUEL           ADDRESS ON FILE
CEPEDA PEREZ, RUBEN            ADDRESS ON FILE
CEPEDA PINA, HELGA             ADDRESS ON FILE
CEPEDA PIZARRO, CARMEN S       ADDRESS ON FILE
CEPEDA PIZARRO, CRUZ M         ADDRESS ON FILE
CEPEDA PIZARRO, EDUARDO        ADDRESS ON FILE
CEPEDA PIZARRO, GABRIEL        ADDRESS ON FILE
CEPEDA PIZARRO, GLADYS         ADDRESS ON FILE
CEPEDA PIZARRO, KEYLA          ADDRESS ON FILE
Cepeda Pizarro, Keyla M.       ADDRESS ON FILE
CEPEDA PIZARRO, MIGUEL         ADDRESS ON FILE
CEPEDA PIZARRO, MIGUEL A       ADDRESS ON FILE
CEPEDA PIZARRO, SILVINO        ADDRESS ON FILE
Cepeda Quinones, Carmen N      ADDRESS ON FILE
CEPEDA QUINONES, EVELYN        ADDRESS ON FILE
CEPEDA QUINONES, GRISEL        ADDRESS ON FILE
CEPEDA QUINONES, LESLIE A      ADDRESS ON FILE
CEPEDA QUINONES, NILSA I       ADDRESS ON FILE
CEPEDA QUINONES, RAFAEL        ADDRESS ON FILE
CEPEDA QUINONES, TAMARA        ADDRESS ON FILE




                                                                           Page 1462 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1463 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CEPEDA RAMOS, ALEXSAIDA      ADDRESS ON FILE
CEPEDA RAMOS, ANNIE M        ADDRESS ON FILE
Cepeda Ramos, Carmelo        ADDRESS ON FILE
CEPEDA RAMOS, CARMEN M       ADDRESS ON FILE
CEPEDA RAMOS, GREGORIA       ADDRESS ON FILE
CEPEDA RAMOS, LUZ            ADDRESS ON FILE
Cepeda Ramos, Luz O          ADDRESS ON FILE
CEPEDA RAMOS, SANDRA         ADDRESS ON FILE
CEPEDA RAMOS, WILMA          ADDRESS ON FILE
CEPEDA REYES, JOSE M         ADDRESS ON FILE
CEPEDA RIVERA, CONFESOR      ADDRESS ON FILE
CEPEDA RIVERA, HECTOR I      ADDRESS ON FILE
CEPEDA RIVERA, IDALY         ADDRESS ON FILE
CEPEDA RIVERA, IDALY         ADDRESS ON FILE
CEPEDA RIVERA, ISABEL        ADDRESS ON FILE
CEPEDA RIVERA, MARIO         ADDRESS ON FILE
CEPEDA RIVERA, SANTOS        ADDRESS ON FILE
CEPEDA RIVERA, ZENAIDA       ADDRESS ON FILE
CEPEDA ROBLES, VICTOR        ADDRESS ON FILE
CEPEDA ROBLES, VICVELYN      ADDRESS ON FILE
CEPEDA RODRIGUEZ, CARMEN R   ADDRESS ON FILE
CEPEDA RODRIGUEZ, ENID       ADDRESS ON FILE
CEPEDA RODRIGUEZ, FELIX      ADDRESS ON FILE
CEPEDA RODRIGUEZ, HECTOR M   ADDRESS ON FILE
CEPEDA RODRIGUEZ, JOSE       ADDRESS ON FILE
CEPEDA RODRIGUEZ, LINO       ADDRESS ON FILE
CEPEDA RODRIGUEZ, LINO J.    ADDRESS ON FILE
CEPEDA RODRIGUEZ, MARINA     ADDRESS ON FILE
CEPEDA RODRIGUEZ, SAMUEL     ADDRESS ON FILE
CEPEDA RODRIGUEZ, VICTOR     ADDRESS ON FILE
CEPEDA ROMAN, JORGE          ADDRESS ON FILE
CEPEDA ROMERO, LUZ           ADDRESS ON FILE
CEPEDA ROMERO, RAFAEL        ADDRESS ON FILE
CEPEDA ROSA, MARIA DE L.     ADDRESS ON FILE
CEPEDA SANTAELLA, ELIAS      ADDRESS ON FILE
CEPEDA SASTRE, ORLANDO       ADDRESS ON FILE
CEPEDA SEGURA, HARLEN        ADDRESS ON FILE
CEPEDA SEGURA, NARDA         ADDRESS ON FILE
CEPEDA SERRANO, AGUSTIN      ADDRESS ON FILE
CEPEDA SOTO, JUAN A          ADDRESS ON FILE
CEPEDA TOLEDO, DORA J.       ADDRESS ON FILE
CEPEDA TORRES, JAIME         ADDRESS ON FILE
CEPEDA TORRES, NORMA I.      ADDRESS ON FILE
CEPEDA TORRES, SONIA I       ADDRESS ON FILE
CEPEDA TORRES, YANIZCA       ADDRESS ON FILE
CEPEDA VAZQUEZ, BENIGNO      ADDRESS ON FILE
CEPEDA VAZQUEZ, HILDA        ADDRESS ON FILE
CEPEDA VAZQUEZ, IVAN         ADDRESS ON FILE
CEPEDA VAZQUEZ, VALERIO I.   ADDRESS ON FILE
CEPEDA VELAZQUEZ, ANGEL      ADDRESS ON FILE
CEPEDA VELAZQUEZ, JOSE       ADDRESS ON FILE
CEPEDA VELAZQUEZ, ZULEYKA    ADDRESS ON FILE
CEPEDA VELLON, CARMEN L      ADDRESS ON FILE
CEPEDA VELLON, JOSEFINA      ADDRESS ON FILE
CEPEDA VIZCARRONDO, VICTOR   ADDRESS ON FILE
CEPEDA, RUBEN                ADDRESS ON FILE
CEPEDAPIZARRO, EVELYN        ADDRESS ON FILE
CEPERO AQUINO, CARMEN G      ADDRESS ON FILE
CEPERO AYENDE MD, CARLOS A   ADDRESS ON FILE
CEPERO CASTRO, MELBA L       ADDRESS ON FILE




                                                                         Page 1463 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1464 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                     Address1                         Address2                                     Address3   Address4   City         State   PostalCode   Country
CEPERO CASTRO, VILMARY            ADDRESS ON FILE
CEPERO CENTENO, BRENDA L          ADDRESS ON FILE
CEPERO CLEMENTE, MARIA            ADDRESS ON FILE
CEPERO CLEMENTE, MARIA DE LOS A   ADDRESS ON FILE
CEPERO COLON, MILAGROS            ADDRESS ON FILE
CEPERO CRUZ, ERIC                 ADDRESS ON FILE
CEPERO DE ARCE, JOSE              ADDRESS ON FILE
CEPERO DUPEROY, YOMAIRA           ADDRESS ON FILE
CEPERO FERNANDEZ, FRANCISCO       ADDRESS ON FILE
CEPERO GONZALEZ, FLORENTINO       ADDRESS ON FILE
CEPERO GONZALEZ, SAMUEL           ADDRESS ON FILE
CEPERO GONZALEZ, SAMUEL           ADDRESS ON FILE
CEPERO GONZALEZ, SAMUELD          ADDRESS ON FILE
CEPERO HERNANDEZ, CARMEN L        ADDRESS ON FILE
CEPERO JIMENEZ, ILEANA            ADDRESS ON FILE
CEPERO MERCADO, RAMON             ADDRESS ON FILE
CEPERO MILLAN, ARNALDO A.         ADDRESS ON FILE
Cepero Miranda, Alexis            ADDRESS ON FILE
CEPERO MONSERRATE, EDWIN          ADDRESS ON FILE
CEPERO MORALES, HECTOR            ADDRESS ON FILE
CEPERO NIEVES, VERONICA           ADDRESS ON FILE
CEPERO PAGAN, ALBA                ADDRESS ON FILE
Cepero Pagan, Carlos L            ADDRESS ON FILE
CEPERO PAGAN, ERICK J             ADDRESS ON FILE
CEPERO PEREZ, LUCAS               ADDRESS ON FILE
CEPERO PEREZ, NELSY               ADDRESS ON FILE
Cepero Rivera, Luis A             ADDRESS ON FILE
Cepero Rivera, Ricardo            ADDRESS ON FILE
CEPERO SANTA, ROSA E              ADDRESS ON FILE
CEPERO TORRES, ADRIANA            ADDRESS ON FILE
CEPERO TRINIDAD, VICTOR           ADDRESS ON FILE
CEPERO ZARAGOZA, BELKIS R.        ADDRESS ON FILE
CEPH INT'L CORP                   PO BOX 8639                                                                                         CAGUAS       PR      00726‐8639
CEPHEID                           PO BOX 49142                                                                                        SAN JOSE     CA      95161
CEPTEM LLC                        PO BOX 70250 PMB 16                                                                                 SAN JUAN     PR      00936
CEPTEM,LLC                        P O BOX 70250‐106                                                                                   SAN JUAN     PR      00936‐8250
CERA BARRETO, BALDOMERA T         ADDRESS ON FILE
CERAME GUILLEN, PEDRO R.          ADDRESS ON FILE
CERAMIC ENTERPRISES INC           PO BOX 2000                                                                                         CATANO       PR      00963
Ceramic Tile Outlet               Carr. 2 Km 83.6                                                                                     Hatillo      PR      00659
CERDA AGUIAR, MARITZA             ADDRESS ON FILE
CERDA CINTRON, BARNEY             ADDRESS ON FILE
CERDA COLON, HECTOR               ADDRESS ON FILE
CERDA COLON, MARK                 ADDRESS ON FILE
CERDA CRUZ, SONIA                 ADDRESS ON FILE
CERDA DURAN, VICTOR J.            ADDRESS ON FILE
Cerda Jimenez, Steve              ADDRESS ON FILE
CERDA MARULANDA, SANDRA           ADDRESS ON FILE
CERDA NIEVES, CARLOS L.           ADDRESS ON FILE
CERDA PLAZA, PEDRO JUAN           ADDRESS ON FILE
CERDA POLANCO, LUIS               ADDRESS ON FILE
Cerda Rivera, Fernando L          ADDRESS ON FILE
CERDA SANTOS, CARLOS              ADDRESS ON FILE
CERDA SANTOS, YANITZA M.          ADDRESS ON FILE
CERDA SOTO, FERNANDO              ADDRESS ON FILE
Cerda Soto, Fernando L.           ADDRESS ON FILE
CERDA TAVAREZ, PEDRO              ADDRESS ON FILE
CERES INC                         EDIF COLGATE PALMOLIVE CALLE 1   SUITE 308 METRO OFFICE PARK                                        GUAYNABO     PR      00968
CEREZO DE JESUS, HIRAM            ADDRESS ON FILE
CEREZO DE JESUS, HIRAM A          ADDRESS ON FILE




                                                                                                 Page 1464 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1465 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                              Address2                                  Address3   Address4   City         State   PostalCode   Country
CEREZO DE JESUS, MYRNA R                  ADDRESS ON FILE
CEREZO DE LA CRUZ, JOAQUIN                ADDRESS ON FILE
CEREZO DE LA CRUZ, RICARDO                ADDRESS ON FILE
CEREZO DE LA ROSA, MIGUEL A               ADDRESS ON FILE
CEREZO DE LA ROSA, MIGUEL A               ADDRESS ON FILE
CEREZO DOMENECH, MARISOL                  ADDRESS ON FILE
CEREZO FAURE MD, IVAN                     ADDRESS ON FILE
CEREZO HERNANDEZ, CARMEN                  ADDRESS ON FILE
CEREZO LOPEZ, CARMEN                      ADDRESS ON FILE
CEREZO MENDEZ, MAYRELIS                   ADDRESS ON FILE
CEREZO RIVERA, JUAN                       ADDRESS ON FILE
CEREZO RODRIGUEZ, MEI LING                ADDRESS ON FILE
CEREZO SANTIAGO, CARLOS R                 ADDRESS ON FILE
CEREZO SANTIAGO, CARLOS R                 ADDRESS ON FILE
CEREZO SANTIAGO, EVELYN                   ADDRESS ON FILE
CEREZO SANTIAGO, VIVIANA                  ADDRESS ON FILE
CEREZO TORRES, IVELISSE                   ADDRESS ON FILE
CEREZO TORRES, KENNETH                    ADDRESS ON FILE
CEREZO VARGAS, ROSANNA                    ADDRESS ON FILE
CEREZO VAZQUEZ, ESTHER                    ADDRESS ON FILE
CEREZO, HIRAM                             ADDRESS ON FILE
CEREZO,MYRNA R.                           ADDRESS ON FILE
CERICH CARRILLO, MARIA DEL C.             ADDRESS ON FILE
Cermeno Gil, Catherine                    ADDRESS ON FILE
CERMENO MARTINEZ, IRAIDA                  ADDRESS ON FILE
CERMENO MATIAS, ALEX                      ADDRESS ON FILE
CERMENO SEGARRA, NATALIA                  ADDRESS ON FILE
CERNA RUIZ, ARACELY                       ADDRESS ON FILE
CERNAS OCASIO, CARLOS                     ADDRESS ON FILE
CERNUDA CASTILLO, CARLOS                  ADDRESS ON FILE
CERO DESIGN & BUILT INC                   1800 CALLE CIALES                                                                                     SAN JUAN     PR      00911
CERO ENTERPRISES INC                      PO BOX 191192                                                                                         SAN JUAN     PR      00919‐1192
CERO SE                                   PO BOX 20868                                                                                          SAN JUAN     PR      00928‐0868
CERON BONILLA, JOSE                       ADDRESS ON FILE
CERON GUZMAN, ARNOLD                      ADDRESS ON FILE
Ceron Guzman, Arnold P.                   ADDRESS ON FILE
CERPA BURGOS, JENNIFER                    ADDRESS ON FILE
CERPA CERPA, CARLOS A                     ADDRESS ON FILE
CERPA CERPA, GIL                          ADDRESS ON FILE
CERPA RIVERA, FERNANDO                    ADDRESS ON FILE
CERPA RIVERA, WANDA M                     ADDRESS ON FILE
CERPA RIVERA, ZORAIDA L                   ADDRESS ON FILE
CERPA RONDON, FERNANDO A.                 ADDRESS ON FILE
CERQUERA DIAZ, GARY B                     ADDRESS ON FILE
CERRA CASTANER, JOSE                      ADDRESS ON FILE
CERRA CASTANER, JOSE J.                   ADDRESS ON FILE
CERRA DIAZ MD, JOSE J                     ADDRESS ON FILE
CERRA FERNANDEZ MD, JAVIER                ADDRESS ON FILE
CERRA FRANCO, ALBERTO                     ADDRESS ON FILE
CERRA FRANCO, ALBERTO                     ADDRESS ON FILE
CERRA FRANCO, JAVIER                      ADDRESS ON FILE
CERRA MALDONADO, MARIA D.                 ADDRESS ON FILE
CERRA ORTIZ, GERARDO R.                   ADDRESS ON FILE
CERRA ORTIZ, MARIA                        ADDRESS ON FILE
CERRA QUINONES, GLORIA M                  ADDRESS ON FILE
CERRO GORDO WELDING                       RR‐11 BOX 3650 CERRO GORDO                                                                            BAYAMON      PR      00956
CERRO LOPEZ, ALBERTO                      ADDRESS ON FILE
CERTIFIED GOLD EXCHANGE INC               1060 AVENIDA ASHFORD                  SUITE 1                                                         SAN JUAN     PR      00907
CERTIFIED TRANSCRIBERS INC                1075 CARR 2 PLAZA SUCHVILLE APT 302                                                                   BAYAMON      PR      00918
CERTIFIED TRANSLATORS AND INTERPRETERS INCCOBIANS PLAZA                         1607 PONCE DE LEON AVENUE SUITE 412                             SAN JUAN     PR      00909




                                                                                                           Page 1465 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1466 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                         Address2                  Address3   Address4   City              State   PostalCode   Country
CERTIFIED TRANSLATORS INTERPRETER   PO BOX 19857                                                                     SAN JUAN          PR      00910
CERTIPORT, INC.                     1276 SOUTH 820 EAST, SUITE 200                                                   AMERICAN FORK     UT      84003
CERVANTES FELIX, ARIEL              ADDRESS ON FILE
CERVANTES GUTIERREZ, OMAYRA L.      ADDRESS ON FILE
Cervantes Mangual, Hector M         ADDRESS ON FILE
Cervantes Ocasio, Juan A            ADDRESS ON FILE
CERVANTES PENA                      ADDRESS ON FILE
CERVANTES REYES, SIXTO J            ADDRESS ON FILE
Cervantes Rivera, Jose A            ADDRESS ON FILE
CERVANTES RIVERA, MAYRA L           ADDRESS ON FILE
Cervantes Vargas, Ladith            ADDRESS ON FILE
CERVANTES VILLAHERMOSA, RAFAEL      ADDRESS ON FILE
CERVANTES, JUAN C.                  ADDRESS ON FILE
CERVECERIA INDIA INC                PO BOX 1690                                                                      MAYAGUEZ          PR      00681
Cervera Cortes, Maria M             ADDRESS ON FILE
CERVERA HERNANDEZ, JORGE            ADDRESS ON FILE
CERVERA HERNANDEZ, MARY I.          ADDRESS ON FILE
CERVERA ROJAS MD, RAQUEL            ADDRESS ON FILE
CERVETECH SOLUTION LLC              PO BOX 70171 PMB 169                                                             SAN JUAN          PR      00936‐8171
CERVONI CHEVALIER, RUBEN A.         ADDRESS ON FILE
CERVONI DE RAMOS, EVA               ADDRESS ON FILE
CERVONI FIGUEROA, HECTOR L          ADDRESS ON FILE
CERVONI FIGUEROA, JUDITH            ADDRESS ON FILE
CERVONI GONZALEZ, JAVIER            ADDRESS ON FILE
CERVONI LOPEZ, CARMEN               ADDRESS ON FILE
CERVONI MENDEZ, LORELLE             ADDRESS ON FILE
CERVONI MENDEZ, LORELLE             ADDRESS ON FILE
CERVONI NEGRON, DANIEL              ADDRESS ON FILE
CERVONI RUIZ, FEDERICO              ADDRESS ON FILE
CERVONI, LUIS A                     ADDRESS ON FILE
CESANI LOPEZ, WANDA                 ADDRESS ON FILE
CESANI LOPEZ, WANDA                 ADDRESS ON FILE
Cesani Santiago, Antonio J          ADDRESS ON FILE
CESAR A ROSARIO PEGUERO             PO BOX 385                                                                       YAUCO             PR      00698
CESAR A ACEVEDO MENDEZ              ADDRESS ON FILE
CESAR A ALICEA                      ADDRESS ON FILE
CESAR A BADILLO GRAJALES            ADDRESS ON FILE
CESAR A BADILLO GRAJALES            ADDRESS ON FILE
CESAR A BARRETO BOSQUES             ADDRESS ON FILE
CESAR A BARRETO MENDEZ              ADDRESS ON FILE
CESAR A BARRETO MENDEZ              ADDRESS ON FILE
CESAR A BERBERENA ROSADO            ADDRESS ON FILE
CESAR A CALVO RIVERA                ADDRESS ON FILE
CESAR A CARDONA MERA                ADDRESS ON FILE
CESAR A CORDERO DEL PILAR           ADDRESS ON FILE
CESAR A CRESPO ORTIZ                ADDRESS ON FILE
CESAR A DIAZ CEBALLOS               ADDRESS ON FILE
CESAR A DIAZ CRUZ                   ADDRESS ON FILE
CESAR A DOMINGUEZ PENA              ADDRESS ON FILE
CESAR A ECHEVARRIA SANTIAGO         ADDRESS ON FILE
CESAR A FIGUEROA ORTIZ              ADDRESS ON FILE
CESAR A GARCIA CINTRON              ADDRESS ON FILE
CESAR A GARCIA CINTRON              ADDRESS ON FILE
CESAR A HERNANDEZ COLON             ADDRESS ON FILE
CESAR A HERNANDEZ GONZALEZ          ADDRESS ON FILE
CESAR A HIDALGO CASTILLO            ADDRESS ON FILE
CESAR A IRIZARRY RIVERA             ADDRESS ON FILE
CESAR A LIND PADRO                  ADDRESS ON FILE
CESAR A MASO BELTRAN                ADDRESS ON FILE
CESAR A MOYA LOPEZ                  ADDRESS ON FILE




                                                                                Page 1466 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1467 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                          Address1                     Address2                                      Address3            Address4   City         State   PostalCode   Country
CESAR A NEGRETTE ANIL                  ADDRESS ON FILE
CESAR A NIEVES FONSECA                 ADDRESS ON FILE
CESAR A ORTIZ SUGRANEZ                 ADDRESS ON FILE
CESAR A PINERO CRUZ                    ADDRESS ON FILE
CESAR A RODRIGUEZ ROMAN Y CARMEN M     ADDRESS ON FILE
CESAR A ROMAN RIVERA                   ADDRESS ON FILE
CESAR A ROMERO PINEIRO                 ADDRESS ON FILE
CESAR A ROMERO RODRIGUEZ               ADDRESS ON FILE
CESAR A ROSADO RAMOS                   ADDRESS ON FILE
CESAR A TORRES BONILLA                 ADDRESS ON FILE
CESAR A TRABAL SANTANA                 ADDRESS ON FILE
CESAR A VINICIO VALERA                 ADDRESS ON FILE
CESAR A. ABREU MENDEZ                  ADDRESS ON FILE
CÉSAR A. OTERO ROSARIO                 ADDRESS ON FILE
CESAR A. VIVALDI RODRIGUEZ             ADDRESS ON FILE
CESAR ACOSTA MADERA                    ADDRESS ON FILE
CESAR ALEX VELEZ ORTIZ                 ADDRESS ON FILE
CESAR ALMANZA MD, AURA                 ADDRESS ON FILE
CESAR ALMODOVAR HERNANDEZ              ADDRESS ON FILE
CESAR ALVALLE COLON                    ADDRESS ON FILE
CESAR ANDREU PEREZ                     ADDRESS ON FILE
CESAR B FELIX                          ADDRESS ON FILE
CÉSAR BADILLO MACHADO, IRMA VICENTE    TORRES VALENTÍN, JOSÉ E      CALLE GEORGETTI 78                                                           SAN JUAN     PR      00925
CESAR BADILLO V ELA, DE                LCDO. JOSE TORRES VALENTIN   54 AVE UNIVERSIDAD STE. 1                                                    SAN JUAN     PR      00925
CESAR BARRETO AGOSTO                   ADDRESS ON FILE
CESAR BARRETO QUINONES                 ADDRESS ON FILE
CESAR BATISTA ESCALERA                 ADDRESS ON FILE
CÉSAR BELTRÁN DE LEÓN
CESAR BERMUDEZ OLIVO                   ADDRESS ON FILE
CESAR BOCACHICA                        ADDRESS ON FILE
CESAR BURGOS DBA CLINICA VETERINARIA   URB SAN AGUSTIN              26 CALLE MARGINAL                                                            SAN JUAN     PR      00923
CESAR C RODRIGUEZ MORALES              ADDRESS ON FILE
CESAR CARABALLO MEDINA                 ADDRESS ON FILE
CESAR CASTILLO MARTINEZ                ADDRESS ON FILE
                                                                                                                  416 Ponce DE LEÓN
CESAR CASTILLO, INC.                   LCDO. DANIEL MOLINA          TOTTI &RODRÍGUEZ DÍAZ P.S.C.                  AVE. SUITE 1200                HATO REY     PR      00918
CESAR CASUL RIVERA                     ADDRESS ON FILE
CESAR COLOMER ORTIZ                    ADDRESS ON FILE
CESAR CORDERO CEDENO                   ADDRESS ON FILE
CESAR CORDERO VERA                     ADDRESS ON FILE
CESAR CORNIER RIVERA                   ADDRESS ON FILE
CESAR COSS ROLDAN                      ADDRESS ON FILE
CESAR CUEVAS ROSA                      ADDRESS ON FILE
CESAR D ALCAUTARA CARDI                ADDRESS ON FILE
CESAR D ALMODOVAR SEGARRA              ADDRESS ON FILE
CESAR D RODRIGUEZ LOPEZ                ADDRESS ON FILE
CESAR D. ALCANTARA CARDI               ADDRESS ON FILE
CESAR DE JESUS PEREZ                   ADDRESS ON FILE
CESAR DE JESUS RODRIGUEZ               ADDRESS ON FILE
CESAR DEL VALLE BAGUE                  ADDRESS ON FILE
CESAR DIAZ INTERIOR CONST              RFD 1 BOX 28                                                                                              CAROLINA     PR      00979
CESAR DIAZ MONTALVO                    ADDRESS ON FILE
CESAR DIAZ TORRES                      ADDRESS ON FILE
CESAR DOMINGUEZ CABALLER               ADDRESS ON FILE
CESAR DOMINGUEZ CUEVAS                 ADDRESS ON FILE
CESAR E CABRERA HUERTAS                ADDRESS ON FILE
CESAR E CUADRADO HERNANDEZ             ADDRESS ON FILE
CESAR E DEL VALLE RIVERA               ADDRESS ON FILE
CESAR E DIAZ RIVERA                    ADDRESS ON FILE
CESAR E FIALLO SANCHEZ                 ADDRESS ON FILE




                                                                                                   Page 1467 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1468 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CESAR E LOPEZ AVELINO                      ADDRESS ON FILE
CESAR E QUINONES AMARO                     ADDRESS ON FILE
CESAR E RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
CESAR E SOTO SOTO                          ADDRESS ON FILE
CESAR E VAZQUEZ SERRA                      ADDRESS ON FILE
CESAR E VAZQUEZ SERRA                      ADDRESS ON FILE
CESAR E VEGA GONZALEZ                      ADDRESS ON FILE
CESAR E. CRUZ CANCEL                       ADDRESS ON FILE
CESAR ECHEVARRIA NARVAEZ                   ADDRESS ON FILE
CESAR EMMANUEL RODRIGUEZ COLLAZO           ADDRESS ON FILE
CESAR ESTRADA ROLON                        ADDRESS ON FILE
CESAR F CORTES CARDONA                     ADDRESS ON FILE
CESAR F FLORES CASTANO                     ADDRESS ON FILE
CESAR F MADERA DEL VALLE                   ADDRESS ON FILE
CESAR FELICIANO TRIPADI                    ADDRESS ON FILE
CESAR FELIX ORENGO                         ADDRESS ON FILE
CESAR FELIX ORENGO                         ADDRESS ON FILE
CESAR FIGUEROA DIEZ                        ADDRESS ON FILE
CESAR G AYALA RIVERA                       ADDRESS ON FILE
CESAR G MARTINEZ OLMEDO                    ADDRESS ON FILE
CESAR GALINDEZ FIGUEROA                    ADDRESS ON FILE
CESAR GARCIA RODRIGUEZ                     ADDRESS ON FILE
CESAR GARCIA/ MILDRED BRETON               ADDRESS ON FILE
CESAR GARCIA/ MILDRED BRETON               ADDRESS ON FILE
CESAR GOMEZ FLORES                         ADDRESS ON FILE
CESAR GONZALEZ MARQUEZ                     ADDRESS ON FILE
CESAR GONZALEZ ORTIZ                       ADDRESS ON FILE
CESAR GUERRERO CUETO                       ADDRESS ON FILE
CESAR GUILLET GONZALEZ                     ADDRESS ON FILE
CESAR GUZMAN                               ADDRESS ON FILE
CESAR H LOPEZ MUNOZ                        ADDRESS ON FILE
CESAR HAMMERSCHMIDT VELAZQUEZ              ADDRESS ON FILE
CESAR HERNANDEZ ARROYO                     ADDRESS ON FILE
CESAR HERNANDEZ CORDOVA                    ADDRESS ON FILE
CESAR HERNANDEZ MENDEZ                     ADDRESS ON FILE
CESAR HERRERA TORRES                       ADDRESS ON FILE
CESAR I ARROYO MALDONADO                   ADDRESS ON FILE
CESAR I CARRION GARCIA                     ADDRESS ON FILE
CESAR I RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
CESAR I ROSARIO ROSARIO                    ADDRESS ON FILE
CESAR I. DIAZ MATOS DBA CESAR DIAZ INTER   RFD # 1 BOX 28                                                                   CAROLINA     PR      00000‐0000
CESAR IRIZARRY CARABALLO                   ADDRESS ON FILE
CESAR IRIZARRY COLON                       ADDRESS ON FILE
CESAR IVAN LOPEZ LOPEZ                     ADDRESS ON FILE
CESAR J ALMODOVAR                          ADDRESS ON FILE
CESAR J BURGOS GURDYS                      ADDRESS ON FILE
CESAR J GARCIA GARCIA                      ADDRESS ON FILE
CESAR J LUGO RIVERA                        ADDRESS ON FILE
CESAR J MARTINEZ QUINONES                  ADDRESS ON FILE
CESAR J MERCADO ROMAN                      ADDRESS ON FILE
CESAR J MUNIZ BADILLO                      ADDRESS ON FILE
CESAR J PABON ORTIZ                        ADDRESS ON FILE
CESAR J RAMIREZ ESTRADA                    ADDRESS ON FILE
CESAR J TORRES ROSARIO                     ADDRESS ON FILE
CESAR J. GONZALEZ ALMODOVAR                ADDRESS ON FILE
CESAR J. GONZALEZ ALMODOVAR                ADDRESS ON FILE
CESAR J. GONZALEZ ALMODOVAR                ADDRESS ON FILE
CESAR L MENDEZ MARENGO                     ADDRESS ON FILE
CESAR L OCASIO RAMIREZ                     ADDRESS ON FILE
CESAR L OCASIO RAMIREZ                     ADDRESS ON FILE




                                                                                       Page 1468 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1469 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                             Address1                 Address2                                Address3      Address4   City         State   PostalCode   Country
CESAR L RIVERA MELENDEZ                   ADDRESS ON FILE
CESAR L SALICRUP VELOUDIS                 ADDRESS ON FILE
CESAR L VELAZQUEZ MALDONADO               ADDRESS ON FILE
CESAR L. VICENS GONZALEZ                  ADDRESS ON FILE
CESAR LACEN REYES                         ADDRESS ON FILE
CESAR LOYOLA ARRAY                        ADDRESS ON FILE
CESAR LUGO RAMIREZ                        ADDRESS ON FILE
CESAR LUIS MELENDEZ RODRIGUEZ             ADDRESS ON FILE
CESAR LUIS SEDA GUTIERREZ                 ADDRESS ON FILE
CESAR M CRUZ SEPULVEDA                    ADDRESS ON FILE
CESAR M GUTIERREZ ROURA                   ADDRESS ON FILE
CESAR M LOZANO PAULINO                    ADDRESS ON FILE
CESAR MALDONADO MELENDEZ                  ADDRESS ON FILE
CESAR MALDONADO RODRIGUEZ                 ADDRESS ON FILE
CESAR MANUEL RODRIGUEZ PEREZ              ADDRESS ON FILE
CESAR MARTINEZ QUINONEZ                   ADDRESS ON FILE
CESAR MARTINEZ QUINONEZ V DEPTO DE JUSTIC IRMA ROSARIO MARTINEZ    APARTADO 190021                                                  SAN JUAN     PR      00919‐0021
CESAR MEDINA FANTAUZZI                    ADDRESS ON FILE
CESAR MELENDEZ RIVERA                     ADDRESS ON FILE
CESAR MENDEZ VARGAS                       ADDRESS ON FILE
CESAR MIRANDA NIEVES                      ADDRESS ON FILE
CESAR MORALES BONILLA / OPE               ADDRESS ON FILE
CESAR MORALES SANTIAGO                    ADDRESS ON FILE
CESAR MORENO FAMILIA                      ADDRESS ON FILE
CESAR MUNIZ & CO PSC                      ADDRESS ON FILE
CESAR O BELTRAN DE LEON                   ADDRESS ON FILE
CESAR O GONZALEZ CORDERO                  ADDRESS ON FILE
CESAR O MONSALVE RIZO                     ADDRESS ON FILE
CESAR O. MEDINA SANTIAGO                  ADDRESS ON FILE
CESAR O. MONSALVE RIZO                    ADDRESS ON FILE
CESAR O. RODRIGUEZ ROMAN                  ADDRESS ON FILE
CESAR OMAR PENALOSA                       ADDRESS ON FILE
CESAR ORTIZ SANCHEZ                       ADDRESS ON FILE
CESAR OSTOLAZA PEREZ                      ADDRESS ON FILE
CESAR OSTOLAZA V ELA                      LIC JESUS JIMENEZ        URB. VILLA ROSA I‐A‐12                  PO BOX 3025              GUAYAMA      PR      00785
CESAR OTERO AMEZAGA                       ADDRESS ON FILE
CESAR PABON NADAL                         ADDRESS ON FILE
CESAR PANTOJAS BENITEZ                    ADDRESS ON FILE
CESAR PENA CORREA                         ADDRESS ON FILE
CESAR PÉREZ CABAN                         ADDRESS ON FILE
CESAR PEREZ LISASUAIN                     ADDRESS ON FILE
CESAR PEREZ LIZASUAIN                     ADDRESS ON FILE
CESAR PEREZ ROBLES                        ADDRESS ON FILE
CESAR PEREZ SOTO Y NELSON SOTO CARDONA Y ADDRESS ON FILE
CESAR PILLOT CASTRO                       ADDRESS ON FILE
CESAR PINA RIVERA                         ADDRESS ON FILE
CESAR PINEIRO                             ADDRESS ON FILE
CESAR PLAZAS GUZMAN                       ADDRESS ON FILE
CESAR PRINCIPE ACOSTA                     ADDRESS ON FILE
CESAR QUINONES CARABALLO                  ADDRESS ON FILE
CESAR R CRUZ MOLINA                       ADDRESS ON FILE
CESAR R GAMERO/ IVONNE CRUZ               ADDRESS ON FILE
CESAR R JIMENEZ PENA                      ADDRESS ON FILE
CESAR R MERCED TORRES                     ADDRESS ON FILE
CESAR R QUINONES LOPEZ                    ADDRESS ON FILE
CESAR R RIOS RIOS                         ADDRESS ON FILE
CESAR R RIVERA VALLES                     ADDRESS ON FILE
CESAR R RODRIGUEZ QUINONES                ADDRESS ON FILE
CESAR R VAZQUEZ DIAZ                      ADDRESS ON FILE
CESAR R VAZQUEZ DIAZ                      ADDRESS ON FILE




                                                                                            Page 1469 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1470 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                          Address2                                    Address3   Address4   City          State   PostalCode   Country
CESAR R. MERCED DIAZ                     ADDRESS ON FILE
CESAR RAMOS CARO                         ADDRESS ON FILE
CESAR RAMOS RIVERA                       ADDRESS ON FILE
CESAR RAMOS RUIZ                         ADDRESS ON FILE
CESAR RIVERA APONTE                      ADDRESS ON FILE
CESAR RIVERA RODRIGUEZ                   ADDRESS ON FILE
CESAR RODRIGUEZ CINTRON                  ADDRESS ON FILE
CESAR RODRIGUEZ GARCIA                   ADDRESS ON FILE
CESAR RODRIGUEZ RAMOS                    ADDRESS ON FILE
CESAR RODRIGUEZ RIVERA                   ADDRESS ON FILE
CESAR RODRIGUEZ ROSA                     ADDRESS ON FILE
CESAR S QUINONES FIGUEROA                ADDRESS ON FILE
CESAR SAINZ, DIANA SAINZ Y NELLY SAINZ   ADDRESS ON FILE
CESAR SANABRIA GOMEZ                     ADDRESS ON FILE
CESAR SANCHEZ SANCHEZ                    ADDRESS ON FILE
CESAR SANTIAGO GROUP                     PO BOX 2072                                                                                         AGUADILLA     PR      00605
CESAR SANTIAGO GUZMAN                    ADDRESS ON FILE
CESAR SANTIAGO SANTIAGO                  ADDRESS ON FILE
CESAR SANTOS PAULINO                     ADDRESS ON FILE
CESAR SERRANO BELEN                      LCDA MARIANA GARCIA GARCIA        LCDA GARCIA‐ PO BOX 365003                                        SAN JUAN      PR      00936‐5003
CESAR SERRANO BELEN                      LCDO MIGUEL CANCIO ARCELAY        LCDO CANCIO‐PO BOX 8414                                           SAN JUAN      PR      00910
CESAR SILVA / AIDA L ROSARIO             ADDRESS ON FILE
CESAR SUAREZ ALMEDINA MD, LUIS           ADDRESS ON FILE
CESAR TORRES RAMIREZ                     ADDRESS ON FILE
CESAR VALENTIN MEDINA                    ADDRESS ON FILE
CESAR VALENTIN REYES                     ADDRESS ON FILE
CESAR VALLE LOPEZ                        ADDRESS ON FILE
CESAR VAZQUEZ                            ADDRESS ON FILE
CESAR VAZQUEZ DE JESUS                   ADDRESS ON FILE
CESAR VAZQUEZ SUNE                       ADDRESS ON FILE
CESAR VELAZQUEZ ROSARIO                  ADDRESS ON FILE
CESAR VELEZ MARTINEZ                     ADDRESS ON FILE
CESAR VILLANUEVA TRAVERSO                LCDA. MILITZA DE JESÚS DE JESÚS   PO BOX 448                                                        CAMUY         PR      00627
CESAR VILORIO SOSA                       ADDRESS ON FILE
CESAR W OSTOLAZA RODRIGUEZ               ADDRESS ON FILE
CESAR W ROMERO COLON                     ADDRESS ON FILE
Cesareo Bultron, Milagros                ADDRESS ON FILE
CESAREO DIAZ, YANICE A.                  ADDRESS ON FILE
CESAREO GONZALEZ, JOSHUA                 ADDRESS ON FILE
CESAREO MARTINEZ, BEATRICE C             ADDRESS ON FILE
CESAREO MARTINEZ, BEATRICE C             ADDRESS ON FILE
CESAREO MARTINEZ, CARMEN L               ADDRESS ON FILE
CESAREO MAYSONET, LYDIA E                ADDRESS ON FILE
CESAREO MAYSONET, MILAGROS               ADDRESS ON FILE
CESAREO MAYSONET, NIXA                   ADDRESS ON FILE
CESAREO MIRANDA, WILFREDO J              ADDRESS ON FILE
CESAREO NAVARRO, ZAIDA                   ADDRESS ON FILE
CESAREO NIEVES, JEANNETTE                ADDRESS ON FILE
CESAREO ORTIZ, EVA                       ADDRESS ON FILE
CESAREO PINTO, ANTONIO                   ADDRESS ON FILE
CESAREO PINTO, ANTONIO                   ADDRESS ON FILE
CESAREO RAMOS, INES                      ADDRESS ON FILE
CESAREO RIVERA, SODARIS                  ADDRESS ON FILE
CESAREO ROMERO, ZAIDA                    ADDRESS ON FILE
CESAREO ROSADO, JUANA                    ADDRESS ON FILE
CESARI ANDUJAR, JOSE                     ADDRESS ON FILE
CESARI DELGADO, JUAN G                   ADDRESS ON FILE
CESARI LOPEZ, NIURKA                     ADDRESS ON FILE
CESARI ROSADO, HAYDEE                    ADDRESS ON FILE
CESARIO LEBRON, VICTOR N                 ADDRESS ON FILE




                                                                                                        Page 1470 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1471 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                   Address1                                 Address2                                    Address3             Address4   City             State   PostalCode   Country
CESARIO TORRES, VICTOR          ADDRESS ON FILE
CESAR'S APPLIANCE PARTS         CARR. 31 KM. 27.4, BO. CEIBA NORTE                                                                                   JUNCOS           PR      00777
CESE RIVERA, MIGUEL A.          ADDRESS ON FILE
Cese Rivera, Sharon D           ADDRESS ON FILE
CESIAN C CASTILLO ROSSY         ADDRESS ON FILE
CESMIL PROMOTIONS               MCS 532                                  5 MUNOZ RIVERA                                                              BARRANQUITAS     PR      00794
CESPED RODRIGUEZ, ANA           ADDRESS ON FILE
CESPEDES ALCANTARA, JOSE R.     ADDRESS ON FILE
CESPEDES BETANCOURT, LEODANIS   ADDRESS ON FILE
CESPEDES DE RIVERA, VERANIA     ADDRESS ON FILE
CESPEDES FERNANDEZ, ZULEMA      ADDRESS ON FILE
CESPEDES GOMEZ, WAYCA           ADDRESS ON FILE
CESPEDES LOPEZ, JUAN C          ADDRESS ON FILE
CESPEDES MARMOLEJO, JUAN        ADDRESS ON FILE
CESPEDES MARTINEZ, AUGUSTO      ADDRESS ON FILE
CESPEDES OPIO, JONATHAN         ADDRESS ON FILE
CESPEDES RODRIGUEZ, TOMAS       ADDRESS ON FILE
CESPEDES RODRIGUEZ, TOMAS R.    ADDRESS ON FILE
CESPEDES VELEZ, EDDY F          ADDRESS ON FILE
CESSNA AIRCRAFT COMPANY         ONE CESSNA BLVD                                                                                                      WICHITA          KS      67215‐1400
                                                                                                                     EDIF. GALENO PLAZA
CEST                            URB. SAGRADO CORAZON                     AVE. SAN CLAUDIO                            #406                            SAN JUAN         PR      00926
CESTARI MORALES, HUMBERTO       ADDRESS ON FILE
CESTARY RODRIGUEZ, ALEXIS       ADDRESS ON FILE
CESTARY RODRIGUEZ, ALEXIS       ADDRESS ON FILE
CESTARY RODRIGUEZ, EVELISSE     ADDRESS ON FILE
CESTERO AGUILAR, DIANA M        ADDRESS ON FILE
CESTERO CASANOVA, JOSE          ADDRESS ON FILE
CESTERO COLON MD, ISABEL        ADDRESS ON FILE
CESTERO DE AYALA, EDDA M        ADDRESS ON FILE
CESTERO DE AYALA, JOSE          ADDRESS ON FILE
CESTERO DE AYALA, RAFAEL        ADDRESS ON FILE
CESTERO DIAZ, PEDRO             ADDRESS ON FILE
CESTERO FONT, CAROLINA          ADDRESS ON FILE
CESTERO FUSTER, LINDA           ADDRESS ON FILE
CESTERO FUSTER, RAMON           ADDRESS ON FILE
CESTERO GONZALEZ, NISHMAR       ADDRESS ON FILE
CESTERO LOPATEGUI, RAFAEL E.    ADDRESS ON FILE
CESTERO LOPEZ, MARIA            ADDRESS ON FILE
CESTERO MEDINA, EDWIN           ADDRESS ON FILE
CESTERO PADILLA, ANAIDA         ADDRESS ON FILE
Cestero Polidura, Carlos A      ADDRESS ON FILE
CESTERO POLIDURA, HILDA M       ADDRESS ON FILE
Cestero Rosario, Cesar A        ADDRESS ON FILE
Cestero Santana, Yaliz Marie    ADDRESS ON FILE
CESTERO VARGAS, CARMEN L        ADDRESS ON FILE
CESTERO,MARIA ESTELA            ADDRESS ON FILE
CET HUELLAS DE ANGEL, INC.      PO BOX 1502                                                                                                          YAUCO            PR      00698
CET HUELLAS DE ANGEL, INC.      URB. ESTANCIAS DE YAUCO                  CALLE ALEJANDRINA K‐8                                                       YAUCO            PR      00698
CET ROMPIENDO BARRERAS, INC.    BDA. ESPERANZA                           CALLE 1 #4                                                                  GUANICA          PR      00653
CET ROMPIENDO BARRERAS, INC.    PO BOX 95                                                                                                            GUANICA          PR      00653
CETI INC                        PO BOX 1800                                                                                                          ARECIBO          PR      00612
CETIS                           AVE. AMERICO MIRANDA #1253                                                                                           SAN JUAN         PR      00921
CETTOUR, FERNANDO               ADDRESS ON FILE
CEVALLOS TOALA, DAVID           ADDRESS ON FILE
CF NORMANDIE                    PO BOX 50059                                                                                                         SAN JUAN         PR      00902
CF NORMANDIE LLC                PO BOX 2129                                                                                                          SAN JUAN         PR      00922‐2129
CF NORMANDIE LLC                PUERTO NUEVO DISTRIBUTION CENTER BLDG. 1 PR#5 KM 27.4                                                                CATANO           PR      00963‐0000
CFR YATCH SALES INC             PO BOX 16816                                                                                                         SAN JUAN         PR      00908
CFS OF PUERTO RICO INC          EDIF BANKERS FINANCE                     654 AVE MUNOZ RIVERA STE 915                                                SAN JUAN         PR      00918




                                                                                                    Page 1471 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1472 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                             Address1                              Address2                                     Address3   Address4   City           State   PostalCode    Country
CGA ENGINEERING GROUP P.S.C               PO BOX 193191                                                                                            SAN JUAN       PR      00919‐3191
CGC CARIBBEAN GENERAL CONTRACTOR , INC.   1367 COND. PLAZZA LUCHETTI APT. 4‐B                                                                      SAN JUAN       PR      000907‐0000
CGC CARIBBEAN GENERAL CONTRACTORS INC     PMB 142                               100 GRAND PASEOS BLVD STE 112                                      SAN JUAN       PR      00926
CGCN GROUP, LLC                           1101 K STREET, NW ‐ SUITE 650                                                                            WASHINGTON     DC      20005
CGP INDUSTRIES CORPORATION                PO BOX 1238                                                                                              CAMUY          PR      00627‐1238
CH JOHSON CONSULTING INC                  6 EAST MONROE SUITE 500                                                                                  CHICAGO        IL      60603
CH NEUROLOGY FOUND                        PO BOX 414738                                                                                            BOSTON         PR      02115
CH NEUROLOGY POUND                        PO BOX 414738                                                                                            BOSTON         MA      02115
CH Y G EDITORES                           PARQUE FORESTAL                       1 CALLE POPPY APT B52                                              SAN JUAN       PR      00926‐6350
CH2MHILL COMPANY                          PO BOX 70350                                                                                             SAN JUAN       PR      00936
CHA CHA INC DBA PTO RICO PORTABLE A/C     PMB 221 SUITE 26                      2000 CARR 8177                                                     GUAYNABO       PR      00966‐3762
CHAAR DAVILA, MIGUEL A.                   ADDRESS ON FILE
CHAAR PADIN, ARMANDO                      ADDRESS ON FILE
CHAAR PADIN, LOURDES                      ADDRESS ON FILE
CHAAR PRADO, MIGUEL A.                    ADDRESS ON FILE
CHAAR SANTANA, SALIM                      ADDRESS ON FILE
CHAAR SANTIAGO, AXEL                      ADDRESS ON FILE
CHAAR TIRADO, NATALIA V                   ADDRESS ON FILE
CHABERT BARRETO, JUAN                     ADDRESS ON FILE
CHABERT BARRETO, JUAN M                   ADDRESS ON FILE
CHABERT LLOMPART, JOSE L.                 ADDRESS ON FILE
CHABRAN AYRA, SONIA                       ADDRESS ON FILE
CHABRIEL BENITEZ, RAMON                   ADDRESS ON FILE
CHABRIEL GONZALEZ, LUZ L                  ADDRESS ON FILE
CHABRIER BEAUCHAMP MD, LIZETTE            ADDRESS ON FILE
CHABRIER CABAN, NORMA                     ADDRESS ON FILE
CHABRIER GONZALEZ, GLORIA                 ADDRESS ON FILE
CHABRIER MENDEZ, JORGE L                  ADDRESS ON FILE
CHABRIER MOLINA, ISMAEL                   ADDRESS ON FILE
CHABRIER MOLINA, YARY E                   ADDRESS ON FILE
CHABRIER PEREZ MD, MARIO                  ADDRESS ON FILE
CHABRIER ROSADO, DAMARIS                  ADDRESS ON FILE
CHABRIER ROSELLO, JORGE O.                ADDRESS ON FILE
CHABRIER SIERRA, ROBERTO                  ADDRESS ON FILE
CHABRIER VERAY, CAMIL M                   ADDRESS ON FILE
CHACON BAIZ, SONIA J                      ADDRESS ON FILE
CHACON COLON, JOSE                        ADDRESS ON FILE
Chacon Colon, Jose L                      ADDRESS ON FILE
CHACON CRESPO, ALFREDO                    ADDRESS ON FILE
CHACON CRUZ, MARCOS E.                    ADDRESS ON FILE
CHACON CRUZ, MIGUEL                       ADDRESS ON FILE
CHACON CRUZ, MIGUEL                       ADDRESS ON FILE
CHACON ENVIROMENTAL OIL CLEANING, INC     711 CALLE MARINA                                                                                         ENSENADA       PR      00647‐9532
CHACON GONZALEZ, AISHA                    ADDRESS ON FILE
CHACON GRAFALS, MARCOS                    ADDRESS ON FILE
CHACON GRAFALS, MARCOS                    ADDRESS ON FILE
CHACON GRAULAU, HECTOR                    ADDRESS ON FILE
CHACON HERNANDEZ, NICOLASA                ADDRESS ON FILE
CHACON LARREGOITY, JULIO A.               ADDRESS ON FILE
CHACON LUGO, NORIENA                      ADDRESS ON FILE
Chacon Maceira, Rafael                    ADDRESS ON FILE
CHACON MENDEZ, ANA M.                     ADDRESS ON FILE
Chacon Mercado, Andres                    ADDRESS ON FILE
CHACON MERCADO, ANDRES                    ADDRESS ON FILE
CHACON MOYA, JOSE D                       ADDRESS ON FILE
CHACON MUNIZ, PEDRO GABRIE                ADDRESS ON FILE
CHACON ORENGO, CARMEN                     ADDRESS ON FILE
CHACON ORENGO, HERIBERTO                  ADDRESS ON FILE
CHACON PABLOS, MILAGROS                   ADDRESS ON FILE
CHACON PEREZ, LYMARIS                     ADDRESS ON FILE




                                                                                                           Page 1472 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1473 of 3500
                                                                               17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                   Address1                  Address2                           Address3         Address4   City            State   PostalCode   Country
CHACON RAMIREZ, JOEL            ADDRESS ON FILE
CHACON RAMOS, MARIA             ADDRESS ON FILE
CHACON RAMOS, ROSA              ADDRESS ON FILE
CHACON RIOS, JAVIER             ADDRESS ON FILE
CHACON RIOS, SUSANA             ADDRESS ON FILE
CHACON RIVERA, ANGEL M          ADDRESS ON FILE
CHACON RIVERA, ETHELDRED        ADDRESS ON FILE
CHACON RIVERA, KATHERINE        ADDRESS ON FILE
CHACON RODRIGUEZ, DIOSA         ADDRESS ON FILE
CHACON RODRIGUEZ, MAYRA I       ADDRESS ON FILE
                                                                                             1353 AVE. LUIS
CHACON RODRIGUEZ, MAYRA I       YARLENE JIMENEZ ROSARIO   PMB‐133                            VIGOREAUZ                   GUAYNABO        PR      00966‐2700
CHACON RODRIGUEZ, OSCAR         ADDRESS ON FILE
CHACON RODRIGUEZ, YOLANDA       ADDRESS ON FILE
CHACON ROSA, JAIME              ADDRESS ON FILE
CHACON ROSA, PEDRO              ADDRESS ON FILE
CHACON ROSARIO, ANGEL           ADDRESS ON FILE
CHACON ROSARIO, JORGE           ADDRESS ON FILE
CHACON ROSARIO, OSCAR           ADDRESS ON FILE
CHACON SANTIAGO, CARMEN L       ADDRESS ON FILE
CHACON SOTO, JOSE               ADDRESS ON FILE
CHACON SOTO, JOSE A.            ADDRESS ON FILE
CHACON SOTO, MARCOS             ADDRESS ON FILE
CHACON SUAREZ, FREDY            ADDRESS ON FILE
CHACON VARGAS, JOSE             ADDRESS ON FILE
CHACON VELEZ, YANIRA            ADDRESS ON FILE
CHACON, ANTONETTE               ADDRESS ON FILE
CHACON, ARTURO                  ADDRESS ON FILE
CHAEZ ABREU, CARMEN I           ADDRESS ON FILE
CHAEZ ABREU, MARILU             ADDRESS ON FILE
CHAEZ ABREU, SONIA              ADDRESS ON FILE
CHAFFEE, ROBERT                 ADDRESS ON FILE
CHAGGAR, JASBIR                 ADDRESS ON FILE
CHAILYN SAMBOLIN                ADDRESS ON FILE
CHAILYN Y. RODRIGUEZ PEREZ      ADDRESS ON FILE
CHAIM MUNIZ, DAVID A            ADDRESS ON FILE
CHAIN MD, PHILIPPE              ADDRESS ON FILE
CHAIN RICART, JESSIKA           ADDRESS ON FILE
CHAIN RICART, KAREN             ADDRESS ON FILE
CHAIRA ARIAS NOLLA              ADDRESS ON FILE
CHAIRMAINE HERNANDEZ PAONESSA   ADDRESS ON FILE
CHAIRS A MORE INC               PO BOX 1306                                                                              HORMIGUEROS     PR      00660
CHAIRS DESIGN OF PUERTO RICO    PO BOX 157                                                                               LAJAS           PR      00667‐0157
CHAISA A ROBLES QUINONES        ADDRESS ON FILE
CHAKIRA M RUIZ GONZALEZ         ADDRESS ON FILE
CHALAS GONZALEZ, FERNANDO J.    ADDRESS ON FILE
CHALAS NUNEZ, FREDDY            ADDRESS ON FILE
CHALAS NUNEZ, IRIS              ADDRESS ON FILE
CHALAS ORTIZ, MARIELA           ADDRESS ON FILE
CHALAS PAREDES, JUAN            ADDRESS ON FILE
CHALAS, MARINA                  ADDRESS ON FILE
CHALASNI MD, PRASAD             ADDRESS ON FILE
CHALCO PESANTEZ, MARTHA         ADDRESS ON FILE
CHALIMAR MIRANDA TRINIDAD       ADDRESS ON FILE
CHALISSA MIRANDA TRINIDAD       RR 6 BUZON 9955                                                                          SAN JUAN        PR      00926
CHALLENGER DELIVERY INC         CIUDAD REAL               251 CALLE ALMAGRO                                              VEGA BAJA       PR      00693‐3645
CHALMERS SOTO, CAROL            ADDRESS ON FILE
CHALUISAN GONZALEZ, JUAN        ADDRESS ON FILE
CHALUISANT CAMACHO, NANETTE     ADDRESS ON FILE
Chaluisant Casiano, Edwin R.    ADDRESS ON FILE




                                                                              Page 1473 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1474 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHALUISANT CORPORAN, YAHAIRA    ADDRESS ON FILE
CHALUISANT DE OLAN, IRIS        ADDRESS ON FILE
CHALUISANT DOMINGUEZ, ILEANA    ADDRESS ON FILE
CHALUISANT DOMINGUEZ, JOSE E    ADDRESS ON FILE
CHALUISANT GARCIA, MARIA I.     ADDRESS ON FILE
CHALUISANT GARCIA, MARIA L      ADDRESS ON FILE
CHALUISANT GARCIA, MARITZA      ADDRESS ON FILE
CHALUISANT MARTIR, ADELINA      ADDRESS ON FILE
CHALUISANT MATOS, JOSE          ADDRESS ON FILE
Chaluisant Medina, Gloria       ADDRESS ON FILE
CHALUISANT MEDINA, JOSE L       ADDRESS ON FILE
CHALUISANT VEGA, SONIA I        ADDRESS ON FILE
CHAM, CHIMING                   ADDRESS ON FILE
CHAMAH MARTINEZ MD, EDUARDO     ADDRESS ON FILE
CHAMARRO RIVERA, EMMANUEL J     ADDRESS ON FILE
CHAMBERS ESTEVES, DORIS         ADDRESS ON FILE
CHAMBERS ESTEVES, LAURA         ADDRESS ON FILE
CHAMBERS MOTTLEY, RANDALL       ADDRESS ON FILE
CHAMBERS RAMIREZ, MAURICE       ADDRESS ON FILE
CHAMBLIN RODRIGUEZ, DAVID J.    ADDRESS ON FILE
CHAMBLIN RODRIGUEZ, EDWARD M.   ADDRESS ON FILE
CHAMBLIN SOLERO, MICHAEL        ADDRESS ON FILE
CHAMIR HIGHLEY                  ADDRESS ON FILE
Chamorro Agosto, Pedro L        ADDRESS ON FILE
CHAMORRO ALICEA, EDWARD         ADDRESS ON FILE
CHAMORRO ALICEA, MIRNA I.       ADDRESS ON FILE
CHAMORRO CHAMORRO, ABIMAEL      ADDRESS ON FILE
CHAMORRO CHAMORRO, JAVIER       ADDRESS ON FILE
CHAMORRO CHAMORRO, SUHAIL       ADDRESS ON FILE
CHAMORRO COLON, GERARDO         ADDRESS ON FILE
CHAMORRO COLON, TUNITER         ADDRESS ON FILE
CHAMORRO FERRER, ENEIDA         ADDRESS ON FILE
CHAMORRO GALLEGO, JOSE A        ADDRESS ON FILE
CHAMORRO GALLEGO, JULIO E       ADDRESS ON FILE
CHAMORRO GARCIA, RUBEN          ADDRESS ON FILE
CHAMORRO GONZALEZ, VICTOR       ADDRESS ON FILE
CHAMORRO IRIZARRY, FRANCISCO    ADDRESS ON FILE
CHAMORRO MALDONADO, ANTONIO     ADDRESS ON FILE
CHAMORRO MALDONADO, VICTOR      ADDRESS ON FILE
CHAMORRO MARTINEZ, JACQUELINE   ADDRESS ON FILE
CHAMORRO MEDINA, SARA           ADDRESS ON FILE
CHAMORRO MELENDEZ, CLARIBEL     ADDRESS ON FILE
CHAMORRO MELENDEZ, CLARIBEL     ADDRESS ON FILE
CHAMORRO MELENDEZ, DIGNA        ADDRESS ON FILE
CHAMORRO MELENDEZ, JANZENITH    ADDRESS ON FILE
CHAMORRO MELENDEZ, VICTOR       ADDRESS ON FILE
CHAMORRO MUNOZ, DANIEL F.       ADDRESS ON FILE
CHAMORRO OSTOLAZA, ANGEL LUIS   ADDRESS ON FILE
CHAMORRO OSTOLAZA, LUIS         ADDRESS ON FILE
CHAMORRO OSTOLAZA, LUZ G        ADDRESS ON FILE
CHAMORRO OSTOLAZA, MARTA I      ADDRESS ON FILE
CHAMORRO OSTOLAZA, MARY L       ADDRESS ON FILE
CHAMORRO PEREZ, ANA I.          ADDRESS ON FILE
CHAMORRO PEREZ, ANGEL           ADDRESS ON FILE
CHAMORRO REYES, JEANNETTE       ADDRESS ON FILE
CHAMORRO RIVERA, CARMEN E       ADDRESS ON FILE
CHAMORRO RIVERA, FERNANDO       ADDRESS ON FILE
CHAMORRO RIVERA, GLORYBELL      ADDRESS ON FILE
CHAMORRO RIVERA, JESUS R        ADDRESS ON FILE
CHAMORRO RIVERA, RICHIE         ADDRESS ON FILE




                                                                            Page 1474 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1475 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                           Address1                          Address2                                    Address3            Address4   City                State   PostalCode   Country
CHAMORRO ROCHE, ALEXIS                  ADDRESS ON FILE
CHAMORRO ROCHE, LUIS                    ADDRESS ON FILE
CHAMORRO RODRIGUEZ, EDWIN               ADDRESS ON FILE
CHAMORRO RODRIGUEZ, ERWIN J             ADDRESS ON FILE
CHAMORRO RODRIGUEZ, FERNANDO            ADDRESS ON FILE
CHAMORRO SANTIAGO, GLORIBELLE           ADDRESS ON FILE
CHAMORRO SANTIAGO, HERIBERTO            ADDRESS ON FILE
CHAMORRO SANTIAGO, IVONNE               ADDRESS ON FILE
Chamorro Santiago, Jorge L.             ADDRESS ON FILE
Chamorro Santiago, Pedro J.             ADDRESS ON FILE
CHAMORRO TOUCET, AWILDA                 ADDRESS ON FILE
CHAMORRO VELAZQUEZ, DOMINGO             ADDRESS ON FILE
CHAMORRO, LIBRADA                       ADDRESS ON FILE
CHAMPS SPORT                            14329 PLAZA LAS AMERICAS                                                                                     HATO REY            PR      00917
CHAN LAU, LEO                           ADDRESS ON FILE
CHAN ROSARIO, KEN                       ADDRESS ON FILE
CHANCELLOR SUPPLEMENTAL EDUC SERV LLC PO BOX 79815                                                                                                   CAROLINA            PR      00984‐9815
CHANCELLOR SUPPLEMENTAL EDUCAT SERVICES 650 AVE. MUNOZ RIVERA SUITE 600                                                                              HATO REY            PR      00918
CHANCELLOR SUPPLEMENTAL EDUCAT SERVICES 654 PLAZA #1050                   AVE. MUNOZ RIVERA 654                                                      SAN JUAN            PR      00918
CHANCELLOR SUPPLEMENTAL EDUCAT SERVICES PO BOX 79815                                                                                                 CAROLINA            PR      00984‐9815
CHANCEY I OLMEDA PEREZ                  ADDRESS ON FILE
CHANDRAN, ARUN                          ADDRESS ON FILE
CHANDY NAVEDO DIAZ                      ADDRESS ON FILE
CHANEL BOTERO GARCIA                    ADDRESS ON FILE
CHANES CERON, LORENA                    ADDRESS ON FILE
CHANG H YI                              ADDRESS ON FILE
CHANG SIERRA, JACQUELINE                ADDRESS ON FILE
CHANG VILLANUEVA, HECTOR                ADDRESS ON FILE
CHANG, WILLIAM                          ADDRESS ON FILE
CHANGELAB LLC                           COND SKY TOWER II                 APT 11 C                                    2 CALLE HORTENSIA              SAN JUAN            PR      00926
CHANGO VARGAS, EDISON                   ADDRESS ON FILE
CHANGOS DE NARANJITO                    PO BOX 165                                                                                                   NARANJITO           PR      00719‐0165
CHANGUITOS BABY FOOD INC                PMB 562                           AVE RAFAEL CORDERO STE 140                                                 CAGUAS              PR      00725
CHANIA L HERNANDEZ MARTINEZ             ADDRESS ON FILE
CHANIS M MERCADO OLAVARRIA              ADDRESS ON FILE
CHANIS MARI MERCADO OLAVARRIA           ADDRESS ON FILE
CHANNING BETE CO                        200 STATE ROAD                                                                                               SOUTH SEERFIELD     MA      01373‐0000
CHANNING BETE CO                        P O BOX 5897                                                                                                 BOSTON              MA      02206‐5897
CHANNING BETE CO                        PO BOX 3538                                                                                                  SOUTH DEERFIELD     MA      01373‐3538
CHANNING BETE CO                        PO BOX 84‐5897                                                                                               BOSTON              MA      02284‐5897
CHANNING BETE CO INC                    200 STATE ROAD                                                                                               SOUTH SEERFIELD     MA      01373
CHANNING BETE CO INC                    AREA DE TESORO                    DIVISION DE RECLAMACIONES                                                  SAN JUAN            PR      00902‐4140
CHANNING BETE CO INC                    P O BOX 5897                                                                                                 BOSTON              MA      02206‐5897
CHANNING BETE CO INC                    PO BOX 3538                       PO BOX 3538                                                                SOUTH DEERFIELD     MA      01373‐3538
CHANNING BETE COMPANY                   PO BOX 3538                                                                                                  SOUTH DEERFIELD     MA      01373‐3538
CHANNING BETE COMPANY, INC.             200 STATE ROAD                                                                                               SOUTH SEERFIELD     MA      01373
CHANNING BETE COMPANY, INC.             AREA DE TESORO                    DIVISION DE RECLAMACIONES                                                  SAN JUAN            PR      00902‐4140
CHANNING BETE COMPANY, INC.             P O BOX 5897                                                                                                 BOSTON              MA      02206‐5897
CHANNING BETE COMPANY, INC.             PO BOX 3538                                                                                                  SOUTH DEERFIELD     MA      01373‐3538
CHANNING BETE COMPANY, INC.             PO BOX 84‐5897                                                                                               BOSTON              MA      02284‐5897
CHANON RODRIGUEZ, VICTORIA R            ADDRESS ON FILE
CHANTAL DELGADO BAERGA                  PO BOX 6752                                                                                                  BAYAMON             PR      00960
CHANTAL M RODRIGUEZ QUINONES            URB VISTAMAR                      B 12 CALLE LAS MARIAS                                                      CAROLINA            PR      00983
CHANTAL MORALES ORTIZ                   URB SANTA CLARA                   P 21 CALLE GUACIMA                                                         GUAYNABO            PR      00969
Chanza Avino, Jose A                    ADDRESS ON FILE
CHANZA GONZALEZ, ADA S                  ADDRESS ON FILE
CHANZA GONZALEZ, EDWIN A                ADDRESS ON FILE
Chanza Gonzalez, Jose M                 ADDRESS ON FILE
CHANZA MADERA, CARLOS R.                ADDRESS ON FILE
CHANZA RAMOS, MARGARITA                 ADDRESS ON FILE




                                                                                                       Page 1475 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1476 of 3500
                                                                               17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                   Address1                      Address2                      Address3            Address4   City         State   PostalCode   Country
CHANZA RODRIGUEZ, WILMARIE      ADDRESS ON FILE
CHAPA JUAN MD, VICENTE          ADDRESS ON FILE
CHAPA JUAN, VICENTE             ADDRESS ON FILE
CHAPARRO ACEVEDO, JOANN         ADDRESS ON FILE
CHAPARRO ACEVEDO, NORIVEL       ADDRESS ON FILE
CHAPARRO ARROYO, BAUDILIO       ADDRESS ON FILE
CHAPARRO ARROYO, ORLANDO        ADDRESS ON FILE
CHAPARRO ARROYO, ROLANDO        ADDRESS ON FILE
CHAPARRO AVILES, JANET          ADDRESS ON FILE
CHAPARRO BADILLO, IVAN Y        ADDRESS ON FILE
Chaparro Barreto, Carlos L.     ADDRESS ON FILE
CHAPARRO BERRIOS, IVONNE        ADDRESS ON FILE
CHAPARRO BERRIOS, IVONNE M      ADDRESS ON FILE
CHAPARRO BONET, BAUDILIO        ADDRESS ON FILE
CHAPARRO BONET, ISMAEL          ADDRESS ON FILE
CHAPARRO BONILLA, JORGE A       ADDRESS ON FILE
CHAPARRO CARRERO, JUAN          ADDRESS ON FILE
CHAPARRO CARRERO, JUAN JR.      ADDRESS ON FILE
CHAPARRO CHAPARRO, CARLOS       ADDRESS ON FILE
Chaparro Chaparro, Carlos J     ADDRESS ON FILE
CHAPARRO CHAPARRO, DAMARIS      ADDRESS ON FILE
CHAPARRO CHAPARRO, JESUS        ADDRESS ON FILE
CHAPARRO CHAPARRO, JOSE         ADDRESS ON FILE
CHAPARRO CHAPARRO, JOSE         ADDRESS ON FILE
CHAPARRO CHAPARRO, MARIA        ADDRESS ON FILE
CHAPARRO CHAPARRO, OSVALDO      ADDRESS ON FILE
CHAPARRO CHAPARRO, WARDIMAN     ADDRESS ON FILE
CHAPARRO CORDERO, MARIA L       ADDRESS ON FILE
CHAPARRO CORDERO, MELVIN        ADDRESS ON FILE
CHAPARRO CORDERO, ROSA          ADDRESS ON FILE
CHAPARRO CORTES, NORMA          ADDRESS ON FILE
CHAPARRO CORTES, RAMON          ADDRESS ON FILE
CHAPARRO CRESPO, CAROLYN        ADDRESS ON FILE
CHAPARRO CRESPO, MARITZA        ADDRESS ON FILE
CHAPARRO CRUZ, FREDDIE          ADDRESS ON FILE
Chaparro Cruz, Raul             ADDRESS ON FILE
CHAPARRO DAMARYS E. Y OTROS     LCDA. DINORAH COLLAZO ORTIZ   PO BOX 70128                                                 SAN JUAN     PR      00936‐8128
                                                                                            #138 AVE. WINSTON
CHAPARRO DAMARYS E. Y OTROS     LCDO. MIGUEL OLMEDO OTERO     PMB 914                       CHURCHILL                      SAN JUAN     PR      00926‐6013
CHAPARRO DELGADO, RAMON A       ADDRESS ON FILE
CHAPARRO ECHEVARRIA, ALBERTO    ADDRESS ON FILE
CHAPARRO ECHEVARRIA, GILBERTO   ADDRESS ON FILE
CHAPARRO ELIAS, LIZ D           ADDRESS ON FILE
CHAPARRO FELICIANO, MARIA       ADDRESS ON FILE
CHAPARRO FELICIANO, SURIEL      ADDRESS ON FILE
CHAPARRO FIGUEROA, JOSEPH       ADDRESS ON FILE
CHAPARRO GALLOZA, AMNERIS       ADDRESS ON FILE
CHAPARRO GALLOZA, JENNIFER      ADDRESS ON FILE
CHAPARRO GALLOZA, MARIA I       ADDRESS ON FILE
Chaparro Galloza, Miguel A      ADDRESS ON FILE
CHAPARRO GALLOZA, WILLIAM       ADDRESS ON FILE
CHAPARRO GAMARRA, DESIREE       ADDRESS ON FILE
CHAPARRO GARDNER, MINOSHKA      ADDRESS ON FILE
CHAPARRO GOMEZ, ANA C.          ADDRESS ON FILE
CHAPARRO GONZALEZ, DAVID        ADDRESS ON FILE
CHAPARRO GONZALEZ, LUIS A       ADDRESS ON FILE
CHAPARRO GONZALEZ, RAMON J      ADDRESS ON FILE
CHAPARRO GONZALEZ, SONIA M      ADDRESS ON FILE
CHAPARRO GONZALEZ, VICTOR L     ADDRESS ON FILE
CHAPARRO GONZALEZ, YARITZA      ADDRESS ON FILE




                                                                             Page 1476 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1477 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHAPARRO GUERRA, JOSHUA         ADDRESS ON FILE
CHAPARRO HERNANDEZ, WILLIAM     ADDRESS ON FILE
CHAPARRO IRIZARRY, GLENDALY     ADDRESS ON FILE
CHAPARRO LOPEZ, JENNIFER        ADDRESS ON FILE
CHAPARRO LOPEZ, MARIELYS        ADDRESS ON FILE
CHAPARRO LORENZO, DANIEL        ADDRESS ON FILE
CHAPARRO LORENZO, GEORGINO      ADDRESS ON FILE
CHAPARRO LORENZO, JAVIER        ADDRESS ON FILE
CHAPARRO LORENZO, JOEL          ADDRESS ON FILE
CHAPARRO MARTINEZ, MARITZA      ADDRESS ON FILE
CHAPARRO MATIAS JONATHAN        ADDRESS ON FILE
CHAPARRO MATIAS, LIDUVINO       ADDRESS ON FILE
CHAPARRO MATTA, ROSITA          ADDRESS ON FILE
CHAPARRO MD , MICHAEL J         ADDRESS ON FILE
CHAPARRO MENDES, MARIA DEL C.   ADDRESS ON FILE
CHAPARRO MENDEZ, TERESA         ADDRESS ON FILE
CHAPARRO MIRANDA, SAUL          ADDRESS ON FILE
CHAPARRO MOLINA, ANTONIO        ADDRESS ON FILE
CHAPARRO MOLINA, RICARDO        ADDRESS ON FILE
CHAPARRO MOLINA, SONIA          ADDRESS ON FILE
CHAPARRO MONELL, IRENE          ADDRESS ON FILE
CHAPARRO MORENO, FABIAN         ADDRESS ON FILE
CHAPARRO MUNEZ, CHARIN          ADDRESS ON FILE
CHAPARRO MUNIZ, NEFTALI         ADDRESS ON FILE
CHAPARRO MUNIZ, OWEN            ADDRESS ON FILE
CHAPARRO MUNOZ, ANGEL           ADDRESS ON FILE
CHAPARRO MUNOZ, LUZ E           ADDRESS ON FILE
Chaparro Munoz, Madelin         ADDRESS ON FILE
CHAPARRO MUNOZ, MADELIN         ADDRESS ON FILE
CHAPARRO MUNOZ, NANCY           ADDRESS ON FILE
CHAPARRO MURPHY, JOSE           ADDRESS ON FILE
CHAPARRO MURPHY, NANCY          ADDRESS ON FILE
CHAPARRO NEGRON, ADIANEZ        ADDRESS ON FILE
CHAPARRO NIEVES, CELINES        ADDRESS ON FILE
CHAPARRO NUNEZ, LUIS            ADDRESS ON FILE
CHAPARRO OQUENDO, LUIS A        ADDRESS ON FILE
CHAPARRO PEREZ, JANET           ADDRESS ON FILE
CHAPARRO PEREZ, MARIA           ADDRESS ON FILE
CHAPARRO PEREZ, MARYLIN         ADDRESS ON FILE
CHAPARRO PEREZ, MELVIN          ADDRESS ON FILE
CHAPARRO RAMIREZ, ELLEN         ADDRESS ON FILE
CHAPARRO RAMIREZ, NYDIA         ADDRESS ON FILE
CHAPARRO RAMOS, ENRIQUE         ADDRESS ON FILE
CHAPARRO RAMOS, ENRIQUE         ADDRESS ON FILE
CHAPARRO REILLO, HECTOR         ADDRESS ON FILE
CHAPARRO RIOS, ADRIELIZ         ADDRESS ON FILE
CHAPARRO RIOS, DORIS L          ADDRESS ON FILE
CHAPARRO RIOS, JOSE E           ADDRESS ON FILE
CHAPARRO RIVERA, BRIAN          ADDRESS ON FILE
Chaparro Rivera, Dessiree       ADDRESS ON FILE
CHAPARRO RIVERA, LUIS           ADDRESS ON FILE
CHAPARRO RIVERA, RAMON          ADDRESS ON FILE
CHAPARRO RIVERA, SHIRLEY E      ADDRESS ON FILE
CHAPARRO ROCHE, JENNIFER        ADDRESS ON FILE
CHAPARRO RODRIGUEZ, ARIEL       ADDRESS ON FILE
Chaparro Roman, Carlos A        ADDRESS ON FILE
CHAPARRO ROMAN, CARMEN I        ADDRESS ON FILE
CHAPARRO ROSA, ANA              ADDRESS ON FILE
Chaparro Rosa, Carlos A         ADDRESS ON FILE
CHAPARRO RUIZ, CARLOS J         ADDRESS ON FILE




                                                                            Page 1477 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1478 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
CHAPARRO RUIZ, JASHIRA          ADDRESS ON FILE
CHAPARRO RUIZ, YOLANDA          ADDRESS ON FILE
CHAPARRO RUIZ, YOLANDA          ADDRESS ON FILE
CHAPARRO SANCHEZ, ELIZABETH     ADDRESS ON FILE
CHAPARRO SANCHEZ, NANCY         ADDRESS ON FILE
Chaparro Santana, Oscar         ADDRESS ON FILE
CHAPARRO SANTIAGO, CARMEN       ADDRESS ON FILE
CHAPARRO SANTIAGO, CARMEN M     ADDRESS ON FILE
CHAPARRO SANTIAGO, JOSE         ADDRESS ON FILE
CHAPARRO SANTIAGO, JOSE         ADDRESS ON FILE
CHAPARRO SANTIAGO, LYNNETTE     ADDRESS ON FILE
CHAPARRO SANTIAGO, ROSA D       ADDRESS ON FILE
CHAPARRO SANTIAGO, XIOMAR       ADDRESS ON FILE
CHAPARRO SERRANO, RUPERTO       ADDRESS ON FILE
CHAPARRO SOTO, CHRISTINA M      ADDRESS ON FILE
CHAPARRO SURILLO BENAJIM        ADDRESS ON FILE
Chaparro Tirado, Jorge          ADDRESS ON FILE
CHAPARRO TORRES, ANGELES        ADDRESS ON FILE
CHAPARRO TORRES, CAROLYN        ADDRESS ON FILE
CHAPARRO TORRES, CAROLYN        ADDRESS ON FILE
CHAPARRO TORRES, JOAN           ADDRESS ON FILE
Chaparro Torres, Jose L         ADDRESS ON FILE
CHAPARRO TORRES, MARIA DE L.    ADDRESS ON FILE
CHAPARRO TRANSPORT CORP         HC 9 BOX 93772                                                                   SAN SEBASTIAN     PR      00685‐6622
CHAPARRO TRAVERSO, NYDIA M      ADDRESS ON FILE
CHAPARRO VALLADARES, ROSA L     ADDRESS ON FILE
CHAPARRO VARELA, KENNETH        ADDRESS ON FILE
CHAPARRO VARELA, LYDIA          ADDRESS ON FILE
CHAPARRO VARGAS, BRENDALIZ      ADDRESS ON FILE
CHAPARRO VAZQUEZ, ALEXIS        ADDRESS ON FILE
CHAPARRO VAZQUEZ, CARMEN        ADDRESS ON FILE
Chaparro Vazquez, Dayraliz      ADDRESS ON FILE
CHAPARRO VAZQUEZ, EDDIE         ADDRESS ON FILE
CHAPARRO VAZQUEZ, ELIZABETH     ADDRESS ON FILE
CHAPARRO VAZQUEZ, FRANCISCO     ADDRESS ON FILE
CHAPARRO VAZQUEZ, GILBERTO      ADDRESS ON FILE
CHAPARRO VAZQUEZ, ROBERTO       ADDRESS ON FILE
CHAPARRO VEGA, OSVALDO          ADDRESS ON FILE
CHAPARRO VELEZ, ALEXIS          ADDRESS ON FILE
Chaparro Velez, Ismael J        ADDRESS ON FILE
CHAPARRO VELEZ, OLGUITA         ADDRESS ON FILE
CHAPARRO VILLANUE, SANDRA I     ADDRESS ON FILE
CHAPARRO VILLANUEVA, JUAN       ADDRESS ON FILE
CHAPARRO VILLANUEVA, MAGDA      ADDRESS ON FILE
CHAPARRO VILLANUEVA, MAGDA      ADDRESS ON FILE
CHAPARRO VILLANUEVA, WIGBERTO   ADDRESS ON FILE
CHAPARRO VILLANUEVA, XIOMARA    ADDRESS ON FILE
CHAPARRO ZAPATA, JOSE           ADDRESS ON FILE
Chaparro Zapata, Jose A.        ADDRESS ON FILE
CHAPARRO, ARLENE                ADDRESS ON FILE
CHAPARRO, EMELY                 ADDRESS ON FILE
CHAPARROS GONZALEZ, CARLOS A    ADDRESS ON FILE
CHAPEL CORTES, GILBERTO         ADDRESS ON FILE
CHAPEL CORTES, JAVIER A         ADDRESS ON FILE
CHAPEL DIAZ, ANA M.             ADDRESS ON FILE
Chapel Feliciano, David R.      ADDRESS ON FILE
CHAPEL VALENTIN, ANA M          ADDRESS ON FILE
CHAPELL GUZMAN, BLANCA E        ADDRESS ON FILE
CHAPERO PASTORIZA, CARLOS I     ADDRESS ON FILE
CHAPERO PASTORIZA, CARLOS I     ADDRESS ON FILE




                                                                            Page 1478 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1479 of 3500
                                                                                17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                    Address1                          Address2                     Address3   Address4   City          State   PostalCode   Country
CHAPERO PASTORIZA, EDUARDO       ADDRESS ON FILE
CHAPMAN ACOSTA, MILDRED          ADDRESS ON FILE
CHAPMAN CRUZ, LIAN               ADDRESS ON FILE
CHAPMAN ECHEVESTRE, EVANGELINA   ADDRESS ON FILE
CHAPMAN FIGUEROA, JUANITA        ADDRESS ON FILE
CHAPMAN FIGUEROA, JUANITA        ADDRESS ON FILE
CHAPMAN GUZMAN, HEIDY            ADDRESS ON FILE
CHAPMAN GUZMAN, HILTON           ADDRESS ON FILE
CHAPMAN GUZMAN, SEELENE          ADDRESS ON FILE
CHAPMAN MARTINEZ, BEATRIZ        ADDRESS ON FILE
CHAPMAN MARTINEZ, MELINDA Y      ADDRESS ON FILE
CHAPMAN SANCHEZ, NILDY           ADDRESS ON FILE
CHAPMAN THOMAS, KAREN            ADDRESS ON FILE
CHAPMAN, MARIA A                 ADDRESS ON FILE
CHAPO LOPEZ, SERGIO              ADDRESS ON FILE
CHAPPEL FAMILY PRACTICE          2711 NORTH ORANGE BLOSSOM TRAIL                                                      KISSIMMEE     FL      34744
CHAPPUIS MD , JAMES L            ADDRESS ON FILE
CHAQUIRA M IRIZARRY NUNEZ        ADDRESS ON FILE
CHARAK STEINBERG, DANIEL         ADDRESS ON FILE
CHARANA VIDAL, FRANCISCO         ADDRESS ON FILE
CHARBONIEL MALDONADO, ADIEL      ADDRESS ON FILE
CHARBONIER AYALA, ANGEL          ADDRESS ON FILE
CHARBONIER CABRERA, EDDIE        ADDRESS ON FILE
CHARBONIER CHINEA, EDDIE         ADDRESS ON FILE
CHARBONIER CRUZ, ALEXIS          ADDRESS ON FILE
CHARBONIER LAUREANO, ROBERTO L   ADDRESS ON FILE
CHARBONIER RIOS, SOLEIMY         ADDRESS ON FILE
CHARBONIER SANTA, JENNIFER       ADDRESS ON FILE
CHARBONIER, NIURKA               ADDRESS ON FILE
CHARBONNIER DELGADO, MARIA I     ADDRESS ON FILE
CHARDLENIS NUÑEZ GONZALEZ        LIC CARLOS RODRIGUEZ MARIN        PO BOX 8052                                        BAYAMON       PR      00960‐8052
CHARDMARY ROSARIO RODRIGUEZ      ADDRESS ON FILE
CHARDON ALCAZAR, EMMA I          ADDRESS ON FILE
CHARDON AVILES, MARIA T.         ADDRESS ON FILE
CHARDON BERMUDEZ, EILEEN R       ADDRESS ON FILE
CHARDON BURGOS MD, RAUL          ADDRESS ON FILE
CHARDON GESUALDO, ALESHA         ADDRESS ON FILE
CHARDON IRIZARRY, DIGNA E        ADDRESS ON FILE
CHARDON LOPEZ, FERNANDO A        ADDRESS ON FILE
CHARDON MORALES, YANIRA M.       ADDRESS ON FILE
CHARDON ORTIZ, DAVID             ADDRESS ON FILE
CHARDON QUINONES, LICEL          ADDRESS ON FILE
CHARDON RAMOS, ALFREDO           ADDRESS ON FILE
CHARDON RIVERA, CLAUDIA M.       ADDRESS ON FILE
CHARDON RIVERA, KEILA M          ADDRESS ON FILE
CHARDON RIVERA, ROSEVELYN        ADDRESS ON FILE
CHARDON RODRIGUEZ, CARMEN        ADDRESS ON FILE
Chardon Sanchez, Edwin           ADDRESS ON FILE
CHARDON SANCHEZ, EDWIN           ADDRESS ON FILE
CHARDON SANTIAGO, CYNDY          ADDRESS ON FILE
CHARDON SIERRA, ELIMAR           ADDRESS ON FILE
CHARDON SILVA, JOSE              ADDRESS ON FILE
CHARDON SILVA, JOSE              ADDRESS ON FILE
CHARDON SOLIVAN, LAURA I         ADDRESS ON FILE
CHARDON TIRADO, EDWIN ROBERTO    ADDRESS ON FILE
CHARDON TIRADO, MERCEDES         ADDRESS ON FILE
CHARDON VERA, SONIA V            ADDRESS ON FILE
CHARDON, MIRNA                   ADDRESS ON FILE
CHARED DE JESUS COLON            ADDRESS ON FILE
CHARED DE JESUS COLON            ADDRESS ON FILE




                                                                                 Page 1479 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1480 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                          Address1                        Address2                                   Address3   Address4   City          State   PostalCode   Country
CHAREHT VAZQUEZ GARCIA                 ADDRESS ON FILE
CHARELYS BERMUDEZ MORALES              ADDRESS ON FILE
CHARENEBRIEL GROWERS CORP              ADDRESS ON FILE
CHARETTE PETERS, MATTHEW               ADDRESS ON FILE
CHARIAN                                PO BOX 9023673                                                                                   SAN JUAN      PR      00902‐3673
CHARIAN TECHNICAL CORP                 P.O. BOX 9023673                                                                                 SAN JUAN      PR      00902‐3673
CHARIBELLE DELGADO RAMOS               ADDRESS ON FILE
CHARIE M MARRERO                       ADDRESS ON FILE
CHARIELISE RIVERA RODRGUEZ             ADDRESS ON FILE
CHARIMAR MUNOZ RIVERA                  ADDRESS ON FILE
CHARIMAR RODRIGUEZ MONTANEZ            ADDRESS ON FILE
CHARIMAR VARGAS QUILES                 ADDRESS ON FILE
CHARINET DIAZ CRUZ                     ADDRESS ON FILE
CHARIS SPECIAL ACADEMY CORP.           CALLE LA NINA BH‐4              URB BAIROA                                                       CAGUAS        PR      00725
CHARIS SPEECH THERAPY                  URB. BAIROA                     CALLE LA NINA BH 4                                               CAGUAS        PR      00725
CHARISSA CRISPIN TORRES                ADDRESS ON FILE
CHARISSA CRISPIN TORRES                ADDRESS ON FILE
CHARIZ M ORTIZ RODRIGUEZ               ADDRESS ON FILE
CHARIZ RODRIGUEZ DEL TORO              ADDRESS ON FILE
CHARIZ RODRIGUEZ DEL TORO              LCDA. NORANA SÁNCHEZ ALVARADO   HC‐01 Box 6187                                                   CABO ROJO     PR      00623
CHARKAS RAMIREZ, BLANCA I              ADDRESS ON FILE
CHARLEE LOPEZ FUENTES                  ADDRESS ON FILE
CHARLEEN M COBIAN CORTES               ADDRESS ON FILE
CHARLEEN VELEZ MORALES                 ADDRESS ON FILE
CHARLEMAGNE SIERRA, ANTONIO A          ADDRESS ON FILE
CHARLEMAN SIMPSON, FRANCES             ADDRESS ON FILE
CHARLENE FERNANDEZ CAMACHO             ADDRESS ON FILE
CHARLENE M CORREA                      ADDRESS ON FILE
CHARLENE POLACO RIOS                   ADDRESS ON FILE
CHARLENE RIVERA AGOSTO                 ADDRESS ON FILE
CHARLENE RIVERA AGOSTO V DEPARTAMENTO DCHARLENE RIVERA AGOSTO          COND. PUERTA REAL 834 CALLE AÑASCO APT. 305                      SAN JUAN      PR      00925‐2491
CHARLENE SILVA                         ADDRESS ON FILE
CHARLENNE C RAMIREZ MALDONADO          ADDRESS ON FILE
CHARLES A ALBERRO PEVERINI             ADDRESS ON FILE
CHARLES A CUPRILL HERNANDEZ            ADDRESS ON FILE
CHARLES A CUPRILL PSC LAW OFFICES      356 FORTALEZA 2DO PISO                                                                           SAN JUAN      PR      00901
CHARLES A DEMIER LE BLANC              ADDRESS ON FILE
CHARLES ACEVEDO VERGARA                ADDRESS ON FILE
CHARLES ANTHONY MARZANT ORTIZ          ADDRESS ON FILE
CHARLES B. ALLEY CRUZ                  ADDRESS ON FILE
CHARLES CANDELARIA FARRULLA            ADDRESS ON FILE
CHARLES COLON, AMIE                    ADDRESS ON FILE
CHARLES COLON, ELLIOT                  ADDRESS ON FILE
CHARLES CORTES CRUZ                    ADDRESS ON FILE
CHARLES CUFF NEGRONI                   ADDRESS ON FILE
CHARLES D PETRILLI CINTRON             ADDRESS ON FILE
CHARLES DE JESUS CRUZ                  ADDRESS ON FILE
CHARLES DILL BAREA                     ADDRESS ON FILE
CHARLES FAUST MD, DONALD               ADDRESS ON FILE
CHARLES HARWOOD HOSPITAL               3500 RICHMOND                                                                                    ST CROIX      VI      00820
CHARLES HILLEBRAND VAZQUEZ             ADDRESS ON FILE
CHARLES J FEQUIERE GARDERE             ADDRESS ON FILE
CHARLES J NEUMAN                       ADDRESS ON FILE
CHARLES J NEUMAN                       ADDRESS ON FILE
CHARLES KENRICK Y CRECENTERA SALANDY   ADDRESS ON FILE
CHARLES KETTERING PANTOJAS             ADDRESS ON FILE
CHARLES L. TORRES TORRES               ADDRESS ON FILE
Charles López Andrews                  ADDRESS ON FILE
CHARLES M OLIVERAS OLIVERAS            ADDRESS ON FILE
CHARLES MC LAUGHLIN                    ADDRESS ON FILE




                                                                                                   Page 1480 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1481 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                         Address1                                Address2                          Address3   Address4   City           State   PostalCode   Country
CHARLES MD , JULIETTE L               ADDRESS ON FILE
CHARLES MELENDEZ ILDELFONSO           ADDRESS ON FILE
CHARLES N KAVANAGH                    ADDRESS ON FILE
CHARLES N RIVERA SALES                ADDRESS ON FILE
CHARLES NELSON, JOAN                  ADDRESS ON FILE
CHARLES R DE JESUS MORALES            ADDRESS ON FILE
CHARLES R RANSLEM ZIMMERMANN          ADDRESS ON FILE
CHARLES RAMOS, MARIA D                ADDRESS ON FILE
CHARLES REYES ALVARADO                ADDRESS ON FILE
CHARLES RIVER LABORATORIES            251 BALLARDVALE STREET                                                                          WILMINGTON     MA      01887‐1096
CHARLES RIVER LABORATORIES INC        251 BALLARDVALE ST                                                                              WILMINGTON     MA      01887‐1096
CHARLES RIVERA, AYLEEN                ADDRESS ON FILE
CHARLES RIVERA, BEATRIZ               ADDRESS ON FILE
CHARLES RIVERA, JULIE                 ADDRESS ON FILE
CHARLES RIVERA, JULIE                 ADDRESS ON FILE
CHARLES RODRIGUEZ IRIZARRY            ADDRESS ON FILE
CHARLES RODRIGUEZ, KATHERINE          ADDRESS ON FILE
CHARLES ROSARIO / ROSALIA RODRIGUEZ   ADDRESS ON FILE
CHARLES S MARTINEZ CASTILLO           ADDRESS ON FILE
CHARLES SUAREZ RODRIGUEZ              ADDRESS ON FILE
CHARLES TORRES MARTINEZ               ADDRESS ON FILE
CHARLES TORRES MD, AGNES L            ADDRESS ON FILE
CHARLES VALENTIN RUIZ                 ADDRESS ON FILE
CHARLES W JOHNSON TORRES              ADDRESS ON FILE
CHARLES W. FISCHLER NIEMIEC           ADDRESS ON FILE
CHARLES, FRANCISCO                    ADDRESS ON FILE
CHARLES, JUAN F.                      ADDRESS ON FILE
CHARLES, JUAN F.                      ADDRESS ON FILE
CHARLEY TORRES VAZQUEZ                ADDRESS ON FILE
CHARLIE A CRUZ NAVARRO                ADDRESS ON FILE
CHARLIE A PAULINO JONHSON             ADDRESS ON FILE
CHARLIE ACOSTA QUINONES               ADDRESS ON FILE
CHARLIE AGOSTINI MEDINA               ADDRESS ON FILE
CHARLIE ARROYO FIGUEROA               ADDRESS ON FILE
CHARLIE BAEZ                          ADDRESS ON FILE
CHARLIE BAEZ RODRIGUEZ                ADDRESS ON FILE
CHARLIE BELTRAN RIVERA                ADDRESS ON FILE
CHARLIE CAMACHO SOTO                  ADDRESS ON FILE
CHARLIE CAMACHO SOTO                  ADDRESS ON FILE
CHARLIE CAR RENTAL                    PO BOX 79286                                                                                    CAROLINA       PR      00984
CHARLIE DE JESUS TORRES               ADDRESS ON FILE
CHARLIE DE JESUS TORRES               ADDRESS ON FILE
CHARLIE E NOGUERAS RIVERA             ADDRESS ON FILE
CHARLIE FEBUS SEPULVEDA               ADDRESS ON FILE
CHARLIE FELIBERTY NUNEZ               ADDRESS ON FILE
CHARLIE FELICIANO QUINONES            ADDRESS ON FILE
CHARLIE GONZALEZ RODRIGUEZ            ADDRESS ON FILE
CHARLIE MARTINEZ SANCHEZ              ADDRESS ON FILE
CHARLIE ORTIZ ORTIZ                   ADDRESS ON FILE
CHARLIE OYOLA COLON                   ADDRESS ON FILE
CHARLIE PENA RIOS                     ADDRESS ON FILE
CHARLIE PEREZ GELABERT                ADDRESS ON FILE
CHARLIE PEREZ RODRIGUEZ               ADDRESS ON FILE
CHARLIE PIERANTONY ACEVEDO            ADDRESS ON FILE
CHARLIE QUILES PEREZ                  ADDRESS ON FILE
CHARLIE RAMIREZ VAZQUEZ               LCDO. GUILLERMO RAMOS LUIÑA‐ ABOGADO DE PO BOX 22763 UPR                  STATION               SAN JUAN       PR      00931‐2763
CHARLIE RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
CHARLIE SANCHEZ CLASS                 ADDRESS ON FILE
CHARLIE SANCHEZ CLASS                 ADDRESS ON FILE
CHARLIE SEPULVEDA RIVERA              ADDRESS ON FILE




                                                                                                 Page 1481 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1482 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                 Address2                                    Address3         Address4             City           State   PostalCode   Country
CHARLIE SILVA RIVERA                   ADDRESS ON FILE
CHARLIE TAWING SERVICE INC             HC 12 BOX 5564                                                                                             HUMACAO        PR      00791‐9205
CHARLIE TOWING SERVICES INC            HC 12 BOX 5664                                                                                             HUMACAO        PR      00791
CHARLIE VARGAS FIGUEROA                ADDRESS ON FILE
CHARLIE VIERA COLON                    ADDRESS ON FILE
CHARLIES GUARD DETECTIVE &BUREAU ACADEMP O BOX 3087                                                                                               AGUADILLA      PR      00605
CHARLINE DAIRENE TORRES SANTIAGO       ADDRESS ON FILE
CHARLINE M JIMENEZ ECHEVARRIA          ADDRESS ON FILE
CHARLOT'T GONZALEZ ACEVEDO             ADDRESS ON FILE
CHARLOTTE K. SANTANA BARBOSA           ADDRESS ON FILE
CHARLOTTE LERINE DIAZ                  ADDRESS ON FILE
CHARLOTTE M RAMIREZ SERRANO            ADDRESS ON FILE
Charlotte M. Ramirez Serrano           ADDRESS ON FILE
CHARLOTTE MELENDEZ COLLAZO             ADDRESS ON FILE
CHARLOTTE NEGRON PABON                 ADDRESS ON FILE
CHARLOTTE S GECK BURRUEL               URB COLINA REAL          200 AVE FELIZA RINCON                                                             SAN JUAN       PR      00926
CHARLOTTEN GALARZA, WEBSTER            ADDRESS ON FILE
CHARLOTTEN MERCADO, MARTA C            ADDRESS ON FILE
CHARLOTTEN RIVERA LAW OFFICE PSC       PO BOX 191701                                                                                              SAN JUAN       PR      00919‐1701
CHARLOTTEN RIVERA, ALLAN E.            ADDRESS ON FILE
CHARLOTTEN VELAZQUEZ, EDWIN            ADDRESS ON FILE
CHARLTON BONILLA                       ADDRESS ON FILE
CHARLTON MEMORIAL HOSPITAL             363 HIGHLAND AVE                                                                                           FALL RIVER     MA      02721
CHARLY MORENO                          MPC CHARLY MORENO        INSTITUCION MAXIMA SEGURIDAD                B‐5 CELDA 5019   3793 Ponce BY PASS   Ponce          PR      00728‐1504
CHARLYN ALOMAR MARTINEZ                ADDRESS ON FILE
CHARLYN M MORALES LUCIANO              ADDRESS ON FILE
CHARMAINE BERRIOS ENCHAUTEGUI          ADDRESS ON FILE
CHARMAINE MERCED LEON                  ADDRESS ON FILE
CHARNECO BARRETO, SAMIR                ADDRESS ON FILE
CHARNECO CRESPO, JOHNATHAN             ADDRESS ON FILE
CHARNECO CRUZ, CHARLES                 ADDRESS ON FILE
CHARNECO JORDAN, MARIA DEL             ADDRESS ON FILE
CHARNECO LLABRES, IVETTE A.            ADDRESS ON FILE
Charneco Lloret, Patria M              ADDRESS ON FILE
CHARNECO MENDEZ, MADELINE P            ADDRESS ON FILE
CHARNECO MORALES, ISAAC                ADDRESS ON FILE
CHARNECO PENA, CARLOS A                ADDRESS ON FILE
CHARNECO RAMIREZ, MARIA                ADDRESS ON FILE
CHARNECO RAMIREZ, MARIEL               ADDRESS ON FILE
CHARNECO TIFAL MD, JERRY               ADDRESS ON FILE
CHARNECO TORRES, LIDUVINA              ADDRESS ON FILE
CHARNECO TORRES, MYRIAM                ADDRESS ON FILE
CHAROL W. FELICIANO CINTRON            ADDRESS ON FILE
CHARON ARROYO, EVELYN                  ADDRESS ON FILE
CHARON GRACIA, LORRAINE                ADDRESS ON FILE
CHARON HERNANDEZ, IBRAHIM              ADDRESS ON FILE
CHARON LOPEZ, LUIS R                   ADDRESS ON FILE
Charon Mendez, Zoraida                 ADDRESS ON FILE
CHARON RAMIREZ, HARRY                  ADDRESS ON FILE
CHARON RIVERA, JOSE                    ADDRESS ON FILE
CHARON RODRIGUEZ, AIDA E               ADDRESS ON FILE
CHARON ROSARIO, CARMEN                 ADDRESS ON FILE
CHARON SANCHEZ, SALVADOR               ADDRESS ON FILE
CHARON SANTANA, WILFREDO               ADDRESS ON FILE
CHARON SANTIAGO, DAISY                 ADDRESS ON FILE
CHARON SANTIAGO, JOSE A                ADDRESS ON FILE
Charon Santiago, Ramon                 ADDRESS ON FILE
CHARON VAZQUEZ, KAREN J                ADDRESS ON FILE
CHARON VELEZ, EVELYN                   ADDRESS ON FILE
CHARRIA, ANDRES                        ADDRESS ON FILE




                                                                                          Page 1482 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1483 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHARRIA, CENAIDA                    ADDRESS ON FILE
CHARRIEZ AVILES, VICMARIE           ADDRESS ON FILE
CHARRIEZ BAEZ, EDWIN R.             ADDRESS ON FILE
CHARRIEZ BAEZ, NELSON               ADDRESS ON FILE
CHARRIEZ BARRETO, MARCOS            ADDRESS ON FILE
CHARRIEZ CABEZA, CARMEN A           ADDRESS ON FILE
CHARRIEZ CLARK, CARLOS              ADDRESS ON FILE
Charriez Clark, Carlos M            ADDRESS ON FILE
CHARRIEZ DAVILA, ROSA M             ADDRESS ON FILE
CHARRIEZ FERRER, OSCAR              ADDRESS ON FILE
CHARRIEZ FERRER, YVONNE             ADDRESS ON FILE
Charriez Figueroa, Carlos M         ADDRESS ON FILE
CHARRIEZ FIGUEROA, WILFREDO         ADDRESS ON FILE
CHARRIEZ GONZALEZ, CARLOS           ADDRESS ON FILE
Charriez Laboy, Luis R.             ADDRESS ON FILE
CHARRIEZ LAZA, LERKA                ADDRESS ON FILE
CHARRIEZ LAZA, LERSY A              ADDRESS ON FILE
CHARRIEZ LOZADA, AMELIA             ADDRESS ON FILE
Charriez Lozada, Miguel             ADDRESS ON FILE
CHARRIEZ LOZADA, OSCAR              ADDRESS ON FILE
CHARRIEZ MARCANO, JOSE              ADDRESS ON FILE
Charriez Marrero, Carlos A          ADDRESS ON FILE
CHARRIEZ MERCADO, HAYDEE            ADDRESS ON FILE
CHARRIEZ MILLET, IDEE B.            ADDRESS ON FILE
CHARRIEZ MORALES, ENIXA             ADDRESS ON FILE
CHARRIEZ NORMANDIA, MAXIMILIANE E   ADDRESS ON FILE
CHARRIEZ ORTEGA, CALOS              ADDRESS ON FILE
CHARRIEZ ORTEGA, SHEYLA MARIE       ADDRESS ON FILE
CHARRIEZ ORTIZ, JANETTE             ADDRESS ON FILE
CHARRIEZ OTERO, VIVIANA             ADDRESS ON FILE
CHARRIEZ PACHECO, PETRA L           ADDRESS ON FILE
CHARRIEZ PEREZ, MARGARITA           ADDRESS ON FILE
CHARRIEZ RAMOS, ANGELA              ADDRESS ON FILE
CHARRIEZ RAMOS, DARLENE             ADDRESS ON FILE
CHARRIEZ RAMOS, DELISSE             ADDRESS ON FILE
CHARRIEZ RIVERA, BRENDA             ADDRESS ON FILE
CHARRIEZ RIVERA, BRENDA L.          ADDRESS ON FILE
CHARRIEZ RIVERA, HAYDEE             ADDRESS ON FILE
CHARRIEZ RIVERA, IRIS               ADDRESS ON FILE
CHARRIEZ RIVERA, JUAN A.            ADDRESS ON FILE
CHARRIEZ RIVERA, JULIO              ADDRESS ON FILE
CHARRIEZ RIVERA, LUIS               ADDRESS ON FILE
CHARRIEZ RODRIGUEZ, CARLOS          ADDRESS ON FILE
CHARRIEZ RODRIGUEZ, CARMEN M        ADDRESS ON FILE
CHARRIEZ RODRIGUEZ, JAVIER          ADDRESS ON FILE
CHARRIEZ RODRIGUEZ, JOSE            ADDRESS ON FILE
CHARRIEZ ROLON, WILFREDO            ADDRESS ON FILE
CHARRIEZ ROSADO, GERARDO            ADDRESS ON FILE
CHARRIEZ ROSARIO, GILBERTO M.       ADDRESS ON FILE
CHARRIEZ SANTOS, JESUSA             ADDRESS ON FILE
CHARRIEZ SERRANO, ANIBAL            ADDRESS ON FILE
CHARRIEZ SERRANO, VIVIAM            ADDRESS ON FILE
CHARRIEZ SERRANO, YEIDY             ADDRESS ON FILE
CHARRIEZ TORRES, LUZ ELBA           ADDRESS ON FILE
CHARRIEZ VAZQUEZ, GERARDO           ADDRESS ON FILE
CHARRIEZ VAZQUEZ, NITZA Y           ADDRESS ON FILE
CHARRIEZ VELEZ, ALEXA               ADDRESS ON FILE
CHARRIEZ VELEZ, ALEXANDER           ADDRESS ON FILE
Charriez, Angela                    ADDRESS ON FILE
CHARRIEZ, ANGELA                    ADDRESS ON FILE




                                                                                Page 1483 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1484 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                         Address1                                Address2                                   Address3        Address4   City           State   PostalCode   Country
CHARRIEZ, CARLOS E.                   ADDRESS ON FILE
CHARRIEZ, MIGUEL A                    ADDRESS ON FILE
CHARRIEZ, TAIRONEX                    ADDRESS ON FILE
CHARRON RAMIREZ, GERARDO              ADDRESS ON FILE
CHARRON WALKER, ABEY                  ADDRESS ON FILE
CHART HOUSE INTERNATIONAL             LEARNING CORP. 221 RIVER RODGE CIRCLE                                                                         BURNSVILLE     MN      55337
CHARTER COACH, INC                    PO BOX 192312                                                                                                 SAN JUAN       PR      00919
CHARTER COPTER OF PR INC              PO BOX 1717                                                                                                   CIALES         PR      00638‐7170
CHARTER OAK HEALTH CENTER             21 GRAND ST STE 4                                                                                             HARTFORD       CT      06106
CHARYLEEN COTTE PEREZ                 ADDRESS ON FILE
CHARYMAR DAVID ESPADA                 ADDRESS ON FILE
CHARYTIN DE JESUS ALEJANDRINO         ADDRESS ON FILE
CHASE BANK USA N A                    ADDRESS ON FILE
CHASE MD, JEFFREY                     ADDRESS ON FILE
CHASITY BOFFIL RODRIGUEZ              ADDRESS ON FILE
CHASTITI HILL VAZQUEZ GUAL            ADDRESS ON FILE
CHASTITY LA LUZ ORTEGA                ADDRESS ON FILE
CHATERINE NEGRON RIVERA               ADDRESS ON FILE
CHATHOLIC CHARITIES CORP PARMADALE    ADDRESS ON FILE
CHATTAHOOCHEE SLEEP CENTER            2410 DOUBLE CHURCHES RD                                                                                       COLUNBUS       GA      31909
CHAUCEY CHING NINO                    ADDRESS ON FILE
CHAUDHERY MD, SHAUKAT                 ADDRESS ON FILE
CHAUDHRY MD, AMAR                     ADDRESS ON FILE
CHAUDHRY MD, IFTIKHAR                 ADDRESS ON FILE
CHAUDHURI MD, SURAJIT                 ADDRESS ON FILE
CHAULIZANT MARTINEZ, RICARDO          ADDRESS ON FILE
CHAUNDHRY MD , MOHAMMAD A             ADDRESS ON FILE
CHAVANIAC, LLC                        LIC. MARCOS VALLS SÁNCHEZ;              LIC. MARCOS VALLS SÁNCHEZ                  PO BOX 363641              SAN JUAN       PR      00936
Chavarria De Leon, Sylvia M           ADDRESS ON FILE
CHAVELI ROSSI CARTAGENA LOPEZ         ADDRESS ON FILE
CHAVES ABRAMS, ERIK                   ADDRESS ON FILE
CHAVES BARRETO, IVELISSE              ADDRESS ON FILE
CHAVES BUTLER, CARMEN R.              ADDRESS ON FILE
CHAVES BUTLER, CARMEN R.              ADDRESS ON FILE
CHAVES BUTLER, GLORIA                 ADDRESS ON FILE
CHAVES BUTLER, GLORIA I.              ADDRESS ON FILE
CHAVES CALERO, JUAN JOSE              ADDRESS ON FILE
CHAVES CALES, CARMEN R                ADDRESS ON FILE
Chaves Canabal, Nestor R              ADDRESS ON FILE
CHAVES CANALS, WANDA I                ADDRESS ON FILE
CHAVES CARABALLO LAW OFFICES P.S.C.   POR BOX 362122                                                                                                SAN JUAN       PR      00936‐2122
Chaves Cardona, Rafael A.             ADDRESS ON FILE
CHAVES CASTELLON, OMAR                ADDRESS ON FILE
Chaves Cecilia, Carmen R              ADDRESS ON FILE
CHAVES CECILIA, ELIZABETH             ADDRESS ON FILE
CHAVES CHAVES, MARIBEL                ADDRESS ON FILE
CHAVES CRUZ, PEDRO L.                 ADDRESS ON FILE
CHAVES DAVILA, YASMIN                 ADDRESS ON FILE
CHAVES DE LA CRUZ, MARIA T            ADDRESS ON FILE
CHAVES GOMEZ, OSCAR                   ADDRESS ON FILE
CHAVES GONZALEZ, JAIME                ADDRESS ON FILE
CHAVES JIMENEZ, DOLORES G             ADDRESS ON FILE
CHAVES JIMENEZ, LUZ E                 ADDRESS ON FILE
CHAVES LUGO, WILLIAM                  ADDRESS ON FILE
CHAVES MALAVE, FELIX R.               ADDRESS ON FILE
Chaves Malave, Jose M                 ADDRESS ON FILE
CHAVES MALAVE, MARGARITA              ADDRESS ON FILE
CHAVES MUNOZ MD, GERMAN               ADDRESS ON FILE
CHAVES NIEVES, MIRIAM Z               ADDRESS ON FILE
CHAVES ORTIZ, JOSE                    ADDRESS ON FILE




                                                                                                          Page 1484 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1485 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHAVES OTERO, OSCAR                    ADDRESS ON FILE
CHAVES PADILLA, VIVIANA                ADDRESS ON FILE
Chaves Perez, Arlene                   ADDRESS ON FILE
CHAVES PEREZ, CAROLINA                 ADDRESS ON FILE
CHAVES PEREZ, KARLA                    ADDRESS ON FILE
CHAVES PRIETO, ULDARICO                ADDRESS ON FILE
CHAVES RENTAS, ELISABETH               ADDRESS ON FILE
CHAVES RIOS, RAFAEL                    ADDRESS ON FILE
CHAVES RODRIGUEZ, IRMA R.              ADDRESS ON FILE
CHAVES RODRIGUEZ, JANIRETTE            ADDRESS ON FILE
CHAVES RODRIGUEZ, JOSE                 ADDRESS ON FILE
CHAVES RODRIGUEZ, LUCILLE              ADDRESS ON FILE
Chaves Ruiz, Jorge L                   ADDRESS ON FILE
CHAVES RUIZ, REINALDO                  ADDRESS ON FILE
CHAVES SEGUI, MARIELA                  ADDRESS ON FILE
CHAVES SEGUI, VICENTE                  ADDRESS ON FILE
CHAVES SOLER, ARNALDO                  ADDRESS ON FILE
CHAVES TORRES, ELAINE                  ADDRESS ON FILE
CHAVES UGARTE, ASTRID                  ADDRESS ON FILE
CHAVES VARGAS, MARISOL                 ADDRESS ON FILE
CHAVES VARGAS, MARISOL                 ADDRESS ON FILE
CHAVEZ BARRETO, HESAEL                 ADDRESS ON FILE
CHAVEZ CAJIGAS, IVAN                   ADDRESS ON FILE
CHAVEZ CARDONA, RAFAEL                 ADDRESS ON FILE
CHAVEZ DE LA CRUZ, CARLOS M            ADDRESS ON FILE
CHAVEZ DIAZ, PEGGY                     ADDRESS ON FILE
CHAVEZ GARCIA, RAFAEL                  ADDRESS ON FILE
CHAVEZ HERNANDEZ,JOSE A.               ADDRESS ON FILE
CHAVEZ JAUREGUI, ROSA                  ADDRESS ON FILE
CHAVEZ LAMBERTY, LILLIAM               ADDRESS ON FILE
CHAVEZ LANDRAU, MAYRA                  ADDRESS ON FILE
CHAVEZ LAPORTE, WILMER A               ADDRESS ON FILE
CHAVEZ LICETTI, MIGUEL A               ADDRESS ON FILE
CHAVEZ MERCADO, JOSE N.                ADDRESS ON FILE
CHAVEZ MILAN, NEREIDA L                ADDRESS ON FILE
CHAVEZ NIEVES, MILDRED                 ADDRESS ON FILE
CHAVEZ OLIVERAS, MARIA E.              ADDRESS ON FILE
CHAVEZ PADILLA, REINALDO               ADDRESS ON FILE
CHAVEZ PADILLA, RODNEY                 ADDRESS ON FILE
CHAVEZ PEREZ, ALBERTO                  ADDRESS ON FILE
CHAVEZ PINEIRO, ALFREDO                ADDRESS ON FILE
CHAVEZ PINEIRO, ROBERTO                ADDRESS ON FILE
CHAVEZ PINERO, GIOVANNI                ADDRESS ON FILE
CHAVEZ QUIROGA, AMPARO                 ADDRESS ON FILE
CHAVEZ REYES, SYLVIA E                 ADDRESS ON FILE
CHAVEZ RIOS, JENNIFER                  ADDRESS ON FILE
CHAVEZ RIVERA, WILLIAM                 ADDRESS ON FILE
CHAVEZ RODRIGUEZ, LIGIA                ADDRESS ON FILE
CHAVEZ ROMAN, JOSE R.                  ADDRESS ON FILE
CHAVEZ SEGUI, OSCAR                    ADDRESS ON FILE
CHAVEZ SOTO, VICTOR M.                 ADDRESS ON FILE
CHAVEZ TRABAL, SANTIAGO                ADDRESS ON FILE
CHAVEZ VEGA, RAFAEL                    ADDRESS ON FILE
CHAVEZ, ELBA                           ADDRESS ON FILE
CHAVIER RAMIREZ DE ARELLANO, LISETTE   ADDRESS ON FILE
CHAVIER ROPER MD, ROLANCE G            ADDRESS ON FILE
CHAYANNE ACEVEDO RODRIGUEZ             ADDRESS ON FILE
CHAYANNE MEDRANO CHAPARRO              ADDRESS ON FILE
CHAYANNE TORRES SANTIAGO               ADDRESS ON FILE
CHAYANNE TORRES SANTIAGO               ADDRESS ON FILE




                                                                                   Page 1485 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1486 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                           Address1                         Address2                                   Address3    Address4   City              State   PostalCode   Country
CHAYKIN CPA REVIEW                      MIDTOWN BUILDING                 420 PONCE DE LEON AVE                      6TH FLOOR              HATO REY          PR      00918
CHC COMUNICACIONES                      PMB 361 100                      GRAND PASEOS BLVD STE 112                                         SAN JUAN          PR      00926‐5955
CHEAS ROLA, SORANGIE                    ADDRESS ON FILE
CHEBAILE CONCEPCION, KARLA E            ADDRESS ON FILE
CHECKER PATY RENTAL                     PO BOX 1498                                                                                        GUAYNABO          PR      00970
CHECKFREEPAY CORPORATION                15 STERLING DRIVE                                                                                  WALLINGFORD       CT      06492
CHECKPOINT CORP                         URB SEVILLA BILTMORE             A8 CALLE SEVILLA BILTMORE                                         GUAYNABO          PR      00966‐4062
CHECO MIESES, YUDERQUI J.               ADDRESS ON FILE
CHED                                    PO BOX 790                                                                                         PENUELAS          PR      00624
CHED SLAIMEN HANNA                      ADDRESS ON FILE
CHEER MATER INC                         URB ALTO APOLO                   2126 CALLE SIRCE                                                  GUAYNABO          PR      00969‐4935
CHEESECAKE SHOPPE INC                   PO BOX 1220                                                                                        ISABELA           PR      00662
CHEETAH COPIERS INC                     URB PINERO                       7 CALLE AMERICA                                                   SAN JUAN          PR      00918
CHEGUI CASH CHECK                       PO BOX 840                                                                                         JUNCOS            PR      00777‐0840
CHEGUIS PUB                             AVE LAUREL Z‐25                  LOMAS VERDES                                                      BAYAMON           PR      00956
CHEHALLY N SOTO MORALES                 ADDRESS ON FILE
CHEHEBAR MD, VICTOR                     ADDRESS ON FILE
CHEIANY LEE RODRIGUEZ GARCIA            ADDRESS ON FILE
CHEILA F DELGADO CARRASQUILLO           ADDRESS ON FILE
CHEILYN MELECIO ACEVEDO                 ADDRESS ON FILE
CHEILYN RIVEIRO VEGA                    ADDRESS ON FILE
CHEITO CORP                             URBANIZACION SAN CRISTOBAL       F3B                                                               BARRANQUITAS      PR      00794
CHELEUITTE NIEVES,ZULEYKA E.            ADDRESS ON FILE
CHELEUITTE SAMUR, DOMINGO               ADDRESS ON FILE
CHELINDA L. TORRES DELGADO              ADDRESS ON FILE
CHELMI MUFFLER                          URB CABRERA                      55 4 CARR 10                                                      UTUADO            PR      00641
Chelo’s Auto Parts                      PO Box 93 Moca                                                                                     Moca              PR      00676
CHELONIA INVESTIGACION CONSERV TORTUGAS PO BOX 360249                                                                                      SAN JUAN          PR      00936‐0249
CHELOS AUTO PARTS                       P.O. BOX 93, CARR. 111, KM. 3.                                                                     MOCA              PR      00676
CHELOS AUTO PARTS                       PO BOX 9024275                                                                                     SAN JUAN          PR      00902‐4275
CHELO'S AUTO PARTS                      PO BOX 93                                                                                          MOCA              PR      00676
CHELSEA M FIGUEROA FLORES               CALLE ANGEL MARTINEZ #119                                                                          SABANA GRANDE     PR      00637
CHELUNE MORALES, KATHLEEN               ADDRESS ON FILE
CHEMA MAQUETAS INC                      VILLA VENECIA                    M 2 CALLE 1                                                       CAROLINA          PR      00983
CHEMICAL CLEANING ENGINERING SPECIALIST P. O. BOX 457                                                                                      TOA BAJA          PR      00949‐0000
CHEMICALS CONTRACTORS DISTRIBUTORINC    PO BOX 366028                                                                                      SAN JUAN          PR      00936
CHEMILLYE SANTIAGO ARZUAGA              ADDRESS ON FILE
CHEMSTRUMENTS SALES & SERVICES INC      PO BOX 1857                                                                                        GUAYNABO          PR      00970‐1857
CHEMTEX CARIBBEAN INC                   EL SENORIAL 354                  138 AVE WINSTN CHRCHL URB CROWN HLS                               SAN JUAN          PR      00926
CHEMTOX                                 4777 LEVY ST LAURENT                                                                               QUEBEC            QC      H4R 2P9      CANADA
CHEN CHEN, GA CHEE                      ADDRESS ON FILE
CHEN CHEN, GA CHEE                      ADDRESS ON FILE
CHEN KWOK, JORGE                        ADDRESS ON FILE
CHEN MD, FRANK                          ADDRESS ON FILE
CHEN MEDICAL CENTER                     ATTN MEDICAL RECORDS DEPT        5961 NW 173 DRIVE                                                 MIAMI LAKES       FL      33015
CHEN QISHENG                            ADDRESS ON FILE
CHEN QISHENG                            ADDRESS ON FILE
CHEN, GA SUN                            ADDRESS ON FILE
CHENAN TRUCKING INC                     PO BOX 5                                                                                           YAUCO             PR      00698
CHENG YIP S                             ADDRESS ON FILE
CHEQUERA BARALT                         ADDRESS ON FILE
CHERBONY QUILES, AYSHKA                 ADDRESS ON FILE
CHERENA ALMODOVAR, MILDRED M            ADDRESS ON FILE
CHERENA CARABALLO, KAYRI                ADDRESS ON FILE
CHERENA CARABALLO, MIGUEL               ADDRESS ON FILE
CHERENA GARCIA, KEICHA                  ADDRESS ON FILE
CHERENA MERCADO, EVA I                  ADDRESS ON FILE
CHERENA MERCADO, LUIS F                 ADDRESS ON FILE
CHERENA MORALES, ENRIQUE                ADDRESS ON FILE
CHERENA MORALES, ROSA M                 ADDRESS ON FILE




                                                                                                     Page 1486 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1487 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                        Address2                             Address3   Address4   City            State   PostalCode   Country
CHERENA PARDO, ELSIE                   ADDRESS ON FILE
CHERENA RIVERA, LUIS J                 ADDRESS ON FILE
CHERENA RODRIGUEZ, IVELISSE            ADDRESS ON FILE
Cherena Serrano, Luis                  ADDRESS ON FILE
CHERENA SOTO, FELICITA                 ADDRESS ON FILE
CHERIBEL CARPIO RUIZ                   ADDRESS ON FILE
CHERIE A BRUSO FIGUEROA                ADDRESS ON FILE
CHERIL GISELA OCASIO GONZALEZ Y OTRO   CHERIL GISELA OCASIO            PO BOX 372322                                              CAYEY           PR      00737
CHERIL GISELA OCASIO GONZALEZ Y OTRO   LCDA. ENID SANTIAGO MELENDEZ    PO BOX 370574                                              CAYEY           PR      00737
CHERISA QIJANO CARDEL                  ADDRESS ON FILE
CHERLY MOJICA ARROYO                   ADDRESS ON FILE
CHERLY MOJICA ARROYO                   ADDRESS ON FILE
CHERMARY GONZALEZ ROQUE                ADDRESS ON FILE
CHEROX INC                             PO BOX 1176                                                                                TOA ALTA        PR      00954
CHERPAK MD, RICHARD                    ADDRESS ON FILE
CHERRY RAMIREZ, ALEXANDER              ADDRESS ON FILE
CHERVONI SANCHEZ, MARIA DEL C          ADDRESS ON FILE
CHERVONY GRACIA, FRANK                 ADDRESS ON FILE
CHERVONY RAMOS, ALMARIS                ADDRESS ON FILE
CHERVONY RODRIGUEZ, JUAN               ADDRESS ON FILE
CHERVONY RODRIGUEZ,JUAN                ADDRESS ON FILE
CHERVONY SUAREZ, GIOVANNI              ADDRESS ON FILE
CHERY M NEGRON ROSARIO                 ADDRESS ON FILE
CHERY NEGRÓN ROSARIO                   POR DERECHO PROPIO              C/24 BLOQUE 15 # 35                  #35                   CAROLINA        PR      00983
CHERYANN HERNANDEZ RIOS                ADDRESS ON FILE
CHERYL LEZCANO LINDSEYMICHAEL          ADDRESS ON FILE
CHERYL N PEREZ CARDOZA                 ADDRESS ON FILE
CHERYL RODRIGUEZ NIEVES                ADDRESS ON FILE
CHERYNIL NEGRON RIVERA                 ADDRESS ON FILE
CHES SERVICE CORP.                     P.O. BOX 193430                                                                            SAN JUAN        PR      00919‐3430
CHESAPEAKE BAY ORTHOPEDICS             1340 MIDDLEFORD RD              STE 403                                                    SEAFORD         DE      19973
CHESAPEAKE GENERAL HOSPITAL            736 N BATTLE FIELD BLVD                                                                    CHESAPEAKE      VA      23320
CHESS ADVERTISING GROUP                PO BOX 140006                                                                              ARECIBO         PR      00614
CHESTEN L GARCIA HERNANDEZ             PO BOX 9873                                                                                CIDRA           PR      00739
CHESTER HILLMAN                        ADDRESS ON FILE
CHESTER HILLMAN                        ADDRESS ON FILE
CHESTER L MEYEROFF                     ADDRESS ON FILE
CHESTNUT HEALTH SYSTEMS LIGHTHOUSE     1003 MARTIN LUTHER KING DRIVE                                                              BLOOMINGTON     IL      61701‐0000
CHEUNG CHONG, SANDY                    ADDRESS ON FILE
CHEUNG MEJIAS, WILSON                  ADDRESS ON FILE
CHEUNG YEE, BARRY                      ADDRESS ON FILE
CHEVAKO, JAY                           ADDRESS ON FILE
CHEVALIER DE JESUS, CARMEN             ADDRESS ON FILE
CHEVALIER GARCIA, HAYDEE N             ADDRESS ON FILE
CHEVALIER HUERTAS, MARCELINA           ADDRESS ON FILE
CHEVALIER MD, STEFAN                   ADDRESS ON FILE
CHEVALIER TORRES, ABRAHAM              ADDRESS ON FILE
Chevalier Torres, Michelle M           ADDRESS ON FILE
CHEVALIER VALDES, MARIA L.             ADDRESS ON FILE
CHEVALIER VILLAVICENSIO, OMAR          ADDRESS ON FILE
CHEVALIER, MYRNA R.                    ADDRESS ON FILE
CHEVERE ALFONSO, JAIME                 ADDRESS ON FILE
Chevere Alfonso, Jaime L               ADDRESS ON FILE
CHEVERE AMUNDARAY, FRANCISCO           ADDRESS ON FILE
CHEVERE AMUNDARAY, HIRAM               ADDRESS ON FILE
CHEVERE AYALA, ANA M                   ADDRESS ON FILE
CHEVERE AYALA, DIMARIS                 ADDRESS ON FILE
CHEVERE AYALA, VILMARI                 ADDRESS ON FILE
CHEVERE AYALA, YADIRA                  ADDRESS ON FILE
CHEVERE AYALA, YANIA                   ADDRESS ON FILE




                                                                                             Page 1487 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1488 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHEVERE AYALA, YANIA          ADDRESS ON FILE
CHEVERE BAEZ, RAMON G         ADDRESS ON FILE
CHEVERE BENITEZ, JOSE         ADDRESS ON FILE
CHEVERE BENITEZ, JOSE R       ADDRESS ON FILE
CHEVERE BORRERO, PEDRO J      ADDRESS ON FILE
CHEVERE CAMACHO, FRANCHEZKA   ADDRESS ON FILE
CHEVERE CHEVERE, RAMONA       ADDRESS ON FILE
CHEVERE COLON, CARMEN         ADDRESS ON FILE
CHEVERE COLON, FELIX          ADDRESS ON FILE
CHEVERE COLON, JESUS          ADDRESS ON FILE
CHEVERE COLON, MARIA M        ADDRESS ON FILE
CHEVERE COLON, RAMON          ADDRESS ON FILE
CHEVERE CONCEPCION, BRIAN     ADDRESS ON FILE
CHEVERE CRUZADO, ROY          ADDRESS ON FILE
CHEVERE DELGADO, JEAYMARIE    ADDRESS ON FILE
CHEVERE DELGADO, NIKOLL E     ADDRESS ON FILE
CHEVERE DIAZ, VIRGEN M.       ADDRESS ON FILE
CHEVERE DOMENECH, MARIBEL     ADDRESS ON FILE
CHEVERE DONES, MIGUEL         ADDRESS ON FILE
CHEVERE ESTRADA, JONAY        ADDRESS ON FILE
CHEVERE FARGAS, GLIZELA       ADDRESS ON FILE
CHEVERE FARGAS, ISAURA        ADDRESS ON FILE
CHEVERE FRASUADA, ZORAIDA     ADDRESS ON FILE
CHEVERE FUENTES, MAYDA        ADDRESS ON FILE
CHEVERE FUENTES, MAYDA L      ADDRESS ON FILE
CHEVERE GOIRE, LEOMARY        ADDRESS ON FILE
CHEVERE GONZALEZ, JANETTE     ADDRESS ON FILE
CHEVERE HERNANDEZ, BLANCA     ADDRESS ON FILE
CHEVERE HERNANDEZ, JOHANNA    ADDRESS ON FILE
CHEVERE IRIZARRY, DENNY       ADDRESS ON FILE
CHEVERE IRIZARRY, NAYDA       ADDRESS ON FILE
CHEVERE JIMENEZ, MARIA        ADDRESS ON FILE
CHEVERE LOPEZ, GRISELLE       ADDRESS ON FILE
CHEVERE LOPEZ, ODALIS         ADDRESS ON FILE
CHEVERE LOZADA, NELLIE        ADDRESS ON FILE
CHEVERE MALDONADO, JESLIE     ADDRESS ON FILE
CHEVERE MARIN, JORGE F        ADDRESS ON FILE
CHEVERE MARRERO, ELBA ROSA    ADDRESS ON FILE
CHEVERE MARRERO, LIZETTE      ADDRESS ON FILE
CHEVERE MEDINA, JEANNETTE     ADDRESS ON FILE
CHEVERE MEDINA, JOSE          ADDRESS ON FILE
Chevere Medina, Jose M.       ADDRESS ON FILE
CHEVERE MEDINA, REY           ADDRESS ON FILE
CHEVERE MOLINA, JOSE R        ADDRESS ON FILE
CHEVERE MORALES, EVELIN       ADDRESS ON FILE
CHEVERE ORTEGA, CARMEN I      ADDRESS ON FILE
CHEVERE ORTEGA, SANTOS        ADDRESS ON FILE
CHEVERE ORTIZ, HECTOR         ADDRESS ON FILE
CHEVERE ORTIZ, HECTOR L       ADDRESS ON FILE
CHEVERE OTERO, ANDREA         ADDRESS ON FILE
CHEVERE OTERO, MORAIMA        ADDRESS ON FILE
CHEVERE PABON, DAVID          ADDRESS ON FILE
CHEVERE PABON, DAVID          ADDRESS ON FILE
CHEVERE PABON, ELISEO         ADDRESS ON FILE
CHEVERE PABON, SAMUEL         ADDRESS ON FILE
CHEVERE PACHECO, JORGE L.     ADDRESS ON FILE
CHEVERE PACHECO, LUISA E      ADDRESS ON FILE
CHEVERE PADILLA, JOSEAM       ADDRESS ON FILE
Chevere Padro, Emmy           ADDRESS ON FILE
CHEVERE PADRO, MIGDALIA       ADDRESS ON FILE




                                                                          Page 1488 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1489 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHEVERE PEREIRA, GABRIEL        ADDRESS ON FILE
CHEVERE RAMOS, JUAN             ADDRESS ON FILE
CHEVERE REYES, GABRIEL          ADDRESS ON FILE
Chevere Reyes, Marcos A         ADDRESS ON FILE
CHEVERE REYES, NILDA E.         ADDRESS ON FILE
CHEVERE REYES, VIRGINIA         ADDRESS ON FILE
CHEVERE RIVAS, ADNERIS          ADDRESS ON FILE
CHEVERE RIVERA, ANGEL           ADDRESS ON FILE
CHEVERE RIVERA, CARMEN M        ADDRESS ON FILE
CHEVERE RIVERA, ELISA           ADDRESS ON FILE
CHEVERE RIVERA, GENNY           ADDRESS ON FILE
CHEVERE RIVERA, KARISOL         ADDRESS ON FILE
CHEVERE RIVERA, MARIA           ADDRESS ON FILE
Chevere Rivera, Maria V.        ADDRESS ON FILE
CHEVERE RIVERA, MARILUZ         ADDRESS ON FILE
CHEVERE RIVERA, MILEYKA         ADDRESS ON FILE
CHEVERE RIVERA, SANDRA          ADDRESS ON FILE
CHEVERE RIVERA, WILLIAM         ADDRESS ON FILE
CHEVERE RIVERA, YARELIS         ADDRESS ON FILE
CHEVERE RIVERA, YARISOL         ADDRESS ON FILE
CHEVERE RIVERA, ZORAIDA         ADDRESS ON FILE
CHEVERE RODRIGUEZ, BRENDA L     ADDRESS ON FILE
CHEVERE RODRIGUEZ, EMMANUEL     ADDRESS ON FILE
CHEVERE ROLON, WANDA            ADDRESS ON FILE
Chevere Rosado, Pedro J         ADDRESS ON FILE
CHEVERE SALGADO, ERNESTO        ADDRESS ON FILE
Chevere Sanchez, Carlos A       ADDRESS ON FILE
CHEVERE SANCHEZ, ERIC           ADDRESS ON FILE
Chevere Sanchez, Juan P         ADDRESS ON FILE
CHEVERE SANCHEZ, LILLIAM        ADDRESS ON FILE
CHEVERE SANCHEZ, NOEMI          ADDRESS ON FILE
CHEVERE SANTIAGO, LAURA G.      ADDRESS ON FILE
CHEVERE SANTOS, GLADYS D        ADDRESS ON FILE
CHEVERE SANTOS, JORGE           ADDRESS ON FILE
CHEVERE SANTOS, KERMEL          ADDRESS ON FILE
CHEVERE SANTOS, LOURDES Y       ADDRESS ON FILE
CHEVERE SANTOS, MARIA I         ADDRESS ON FILE
CHEVERE SANTOS, TERESITA DE J   ADDRESS ON FILE
CHEVERE SIERRA, YELIXA          ADDRESS ON FILE
CHEVERE STUART, EDLYN M         ADDRESS ON FILE
CHEVERE SUAREZ, LEES M          ADDRESS ON FILE
CHEVERE VAZQUEZ, LUIS A         ADDRESS ON FILE
CHEVERE VEGA, BETH              ADDRESS ON FILE
Chevere Virella, Efrain         ADDRESS ON FILE
CHEVERE VIRELLA, ELBA L         ADDRESS ON FILE
Chevere Virella, Hector         ADDRESS ON FILE
CHEVERE ZAYAS, IVELISSE         ADDRESS ON FILE
CHEVERE, CARMEN M               ADDRESS ON FILE
CHEVERES AYALA, DAMARIS         ADDRESS ON FILE
CHEVERES CHEVERES, HECTOR       ADDRESS ON FILE
CHEVERES ESTELA, ROSA M.        ADDRESS ON FILE
CHEVERES FELIU, JULIO           ADDRESS ON FILE
CHEVERES GARCIA, SARA           ADDRESS ON FILE
CHEVERES PACHECO, ALIS S        ADDRESS ON FILE
CHEVERES VAZQUEZ, ANDY          ADDRESS ON FILE
CHEVEREZ ALICEA, PABLO          ADDRESS ON FILE
CHEVEREZ CHEVEREZ, DIANA I      ADDRESS ON FILE
CHEVEREZ COLON, HERIBERTO       ADDRESS ON FILE
CHEVEREZ COLON, MELISSA         ADDRESS ON FILE
CHEVEREZ CONTES, MICHELLE       ADDRESS ON FILE




                                                                            Page 1489 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1490 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHEVEREZ CRUZ, JORGE LUIS               ADDRESS ON FILE
CHEVEREZ DAVILA, DINELIA                ADDRESS ON FILE
CHEVEREZ DAVILA, IRIS B                 ADDRESS ON FILE
CHEVEREZ GONZALEZ, NORMA                ADDRESS ON FILE
CHEVEREZ LAUREANO, IVEANETTE            ADDRESS ON FILE
CHEVEREZ MARRERO, NILDA R               ADDRESS ON FILE
CHEVEREZ MARRERO, OLGA I                ADDRESS ON FILE
CHEVEREZ MOLINA, JULIA                  ADDRESS ON FILE
CHEVEREZ ORTIZ, MAGIN                   ADDRESS ON FILE
CHEVEREZ OTERO, MARIA DEL C             ADDRESS ON FILE
CHEVEREZ PEREZ, HILDA                   ADDRESS ON FILE
CHEVEREZ PEREZ, HILDA M                 ADDRESS ON FILE
CHEVEREZ PEREZ, ILEANA                  ADDRESS ON FILE
CHEVEREZ PEREZ, ROSALBA                 ADDRESS ON FILE
CHEVEREZ QUINONEZ, MARIA DEL R          ADDRESS ON FILE
CHEVEREZ RIVAS, EILEEN                  ADDRESS ON FILE
CHEVEREZ RIVAS, JAVIER                  ADDRESS ON FILE
CHEVEREZ RIVAS, JORGE I                 ADDRESS ON FILE
CHEVEREZ RIVAS, JOSE D                  ADDRESS ON FILE
CHEVEREZ RIVERA, CLARISOL               ADDRESS ON FILE
CHEVEREZ RIVERA, HECTOR                 ADDRESS ON FILE
Cheverez Rodriguez, Jorge L.            ADDRESS ON FILE
CHEVEREZ ROMERO, ELIGIO                 ADDRESS ON FILE
CHEVEREZ SALGADO, HECTOR L.             ADDRESS ON FILE
CHEVEREZ TIRADO, TAMARIS                ADDRESS ON FILE
CHEVERING INDUSTRIAL AIR CONDITIONING   PO BOX 3125                                                                      CATANO       PR      00963
CHEVERREZ ABRIL, LEONARDO               ADDRESS ON FILE
CHEVRE CHEVRE, JOSE                     ADDRESS ON FILE
CHEVRE,JOEL                             ADDRESS ON FILE
CHEVRES AYALA, ZULMA I.                 ADDRESS ON FILE
CHEVRES CHEVRES, CARMEN                 ADDRESS ON FILE
CHEVRES CHEVRES, DIANY C.               ADDRESS ON FILE
CHEVRES CHEVRES, LUZ E.                 ADDRESS ON FILE
CHEVRES CHEVRES, MARISA                 ADDRESS ON FILE
CHEVRES COLON, MICHELLE A               ADDRESS ON FILE
CHEVRES COSME, RAMON                    ADDRESS ON FILE
CHEVRES DESARDE, JOSE                   ADDRESS ON FILE
CHEVRES DESARDEN, GISELLE               ADDRESS ON FILE
CHEVRES DIAZ MD, ITZA D                 ADDRESS ON FILE
CHEVRES DIAZ, ERNESTO                   ADDRESS ON FILE
CHEVRES DIAZ, LARIMAR                   ADDRESS ON FILE
CHEVRES DIAZ, LORNA D                   ADDRESS ON FILE
CHEVRES FERNANDEZ, FRANCISCO            ADDRESS ON FILE
CHEVRES MOTA, ANGEL                     ADDRESS ON FILE
CHEVRES NARVAEZ, CARMEN L               ADDRESS ON FILE
CHEVRES PACHECO, ELBA I                 ADDRESS ON FILE
CHEVRES REYES, ANGEL                    ADDRESS ON FILE
CHEVRES RIVERA, CARMEN G                ADDRESS ON FILE
CHEVRES RIVERA, JOEL F.                 ADDRESS ON FILE
CHEVRES RIVERA, NAYDA E                 ADDRESS ON FILE
CHEVRES RIVERA, VICTOR                  ADDRESS ON FILE
CHEVRES RIVERA, ZAIDA I                 ADDRESS ON FILE
CHEVRES RIVERA, ZULMA I.                ADDRESS ON FILE
CHEVRES SANTIAGO, GIOVANNI              ADDRESS ON FILE
CHEVRES SANTIAGO, JAYSEL DAN            ADDRESS ON FILE
CHEVRON PHILLIPS CHEMICAL PR            CALL BOX 10003                                                                   GUAYAMA      PR      00785
CHEVRON PHILLIPS CHEMICAL PR            PO BOX 10003                                                                     GUAYAMA      PR      00785
CHEVRON PUERTO RICO LLC                 P O BOX 4429                                                                     SAN JUAN     PR      00902‐4920
CHEVRON PUERTO RICO LLC                 P O BOX 9024160                                                                  SAN JUAN     PR      00902
CHEVRON PUERTO RICO LLC                 PO BOX 71315                                                                     SAN JUAN     PR      00968




                                                                                    Page 1490 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1491 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                      Address1                                          Address2                                Address3   Address4   City               State   PostalCode   Country
CHEVRON TEXACO INDUSTRIES LTD      PO BOX 71315                                                                                                    GUAYANILLA         PR      00936
CHEVRONY SUAREZ, EMILY             ADDRESS ON FILE
CHEYCA M SANTIAGO ORTOLAZA         ADDRESS ON FILE
CHEYENNE SOFTWARE
CHEZ MONIQUE                       ADDRESS ON FILE
CHEZ VELEZ, MARIELA                ADDRESS ON FILE
CHHRISTIAN CANCEL, ALFONSO MOIS    ADDRESS ON FILE
CHIA, WAI                          ADDRESS ON FILE
CHIAKIRA GARCIA RIVERA             ADDRESS ON FILE
CHIAPPINELLI, GIUSEPPINA           ADDRESS ON FILE
CHICAGO FAMILY HEALTH CENTER       PO BOX 526259                                                                                                   SALT LAKE CITY     UT      84152
CHICAGO HLTH MED GRP FAM MED       8330 WGRAND AVE                                                                                                 RIVER GROVE        IL      60171
Chicago Title Insurance Company    601 Riverside Avenue                                                                                            Jacksonville       FL      32204
Chicago Title Insurance Company    Attn: Eileen Van, Vice President                    601 Riverside Avenue                                        Jacksonville       FL      32204
Chicago Title Insurance Company    Attn: Jan Wilson, Vice President                    601 Riverside Avenue                                        Jacksonville       FL      32204
Chicago Title Insurance Company    Attn: John Chytraus, Circulation of Risk            601 Riverside Avenue                                        Jacksonville       FL      32204
Chicago Title Insurance Company    Attn: Raymon Randall, President                     601 Riverside Avenue                                        Jacksonville       FL      32204
Chicago Title Insurance Company    Attn: See Rennie, Premiun Tax Contact               601 Riverside Avenue                                        Jacksonville       FL      32204
Chicago Title Insurance Company    c/o Fidelity National Title Group of Puerto Rico, In601 Riverside Avenue                                        Jacksonville       FL      32204
Chicago Title Insurance Company    c/o Regulatory Department, Consumer Complain 601 Riverside Avenue                                               Jacksonville       FL      32204
Chicago Title Insurance Company    c/o Regulatory Department, Regulatory Complian601 Riverside Avenue                                              Jacksonville       FL      32204
CHICAS COLON, AARON                ADDRESS ON FILE
CHICKEN NOW OF PRIME OUTLETS INC   4104 AURORA ST                                                                                                  CORAL GABLES       FL      33146
CHICLANA BARROS, JEANELLY          ADDRESS ON FILE
CHICLANA BURGOS, JUAN              ADDRESS ON FILE
CHICLANA CARLO, JONAS              ADDRESS ON FILE
CHICLANA DEL VALLE, ANA MARIA      ADDRESS ON FILE
CHICLANA DEL VALLE, EDGAR          ADDRESS ON FILE
CHICLANA GONZALEZ, EVELYN          ADDRESS ON FILE
CHICLANA MEDINA, LIBERTAD          ADDRESS ON FILE
CHICLANA MELENDEZ, ALEXIS          ADDRESS ON FILE
CHICLANA MONTANEZ, ANGELICA        ADDRESS ON FILE
CHICLANA NUNEZ, INES M             ADDRESS ON FILE
CHICLANA ORTIZ, JULIA              ADDRESS ON FILE
Chiclana Pagan, Angel A            ADDRESS ON FILE
CHICLANA PASTRANA, ANA L           ADDRESS ON FILE
CHICLANA PIZARRO, WALESKA I        ADDRESS ON FILE
CHICLANA ROLDAN, JOSE E            ADDRESS ON FILE
CHICLANA ROMAN, MANUEL             ADDRESS ON FILE
CHICLANA ROMAN, WILMA              ADDRESS ON FILE
CHICLANA RUIZ, SONIA N             ADDRESS ON FILE
CHICLANA SANTOS, ANGEL             ADDRESS ON FILE
CHICLANA TORRALES, ESTHER          ADDRESS ON FILE
CHICLANA VEGA, BELITZA             ADDRESS ON FILE
CHICLANA VILLEGAS, ANTONIO         ADDRESS ON FILE
CHICO ACEVEDO, CLARIBEL            ADDRESS ON FILE
CHICO ACEVEDO, LUZ M               ADDRESS ON FILE
CHICO ACEVEDO, LUZ N.              ADDRESS ON FILE
CHICO ACEVEDO, MIRIAM              ADDRESS ON FILE
CHICO AVILES, LYDIA                ADDRESS ON FILE
CHICO AVILES, LYDIA                ADDRESS ON FILE
CHICO BARRIS, GUSTAVO              ADDRESS ON FILE
CHICO BRUNO, PEDRO                 ADDRESS ON FILE
CHICO BURGOS, WANDA                ADDRESS ON FILE
CHICO CABRERA, MARIA               ADDRESS ON FILE
CHICO CARDONA, MARIA               ADDRESS ON FILE
CHICO CORDERO, AIDA                ADDRESS ON FILE
CHICO CORDERO, REYNALDO            ADDRESS ON FILE
CHICO FELICIANO, CYNTHIA           ADDRESS ON FILE
CHICO FUENTES, CARMEN              ADDRESS ON FILE




                                                                                                              Page 1491 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1492 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHICO FUERTE MD, FRANCISCO L        ADDRESS ON FILE
CHICO FUERTES, CARMEN               ADDRESS ON FILE
CHICO FUERTES, HERNAN G.            ADDRESS ON FILE
CHICO GARCIA, AUDREY                ADDRESS ON FILE
CHICO GARCIA, NELLIE                ADDRESS ON FILE
CHICO GUZMAN, CARLOS                ADDRESS ON FILE
CHICO GUZMAN, EDDIAM                ADDRESS ON FILE
CHICO GUZMAN, LYDIA                 ADDRESS ON FILE
CHICO GUZMAN, ZSAZSY                ADDRESS ON FILE
CHICO IRIZARRY, IVAN                ADDRESS ON FILE
CHICO JIMENEZ, ORLANDO              ADDRESS ON FILE
CHICO JUARBE, ARIEL                 ADDRESS ON FILE
CHICO JUARBE, ARIEL H               ADDRESS ON FILE
CHICO MARTINEZ, JAVIER              ADDRESS ON FILE
CHICO MATOS, JOSE                   ADDRESS ON FILE
CHICO MATTA, MIGUEL                 ADDRESS ON FILE
CHICO MEDINA, CARMELO               ADDRESS ON FILE
CHICO MEDINA, DAVID                 ADDRESS ON FILE
CHICO MEDINA, JORGE                 ADDRESS ON FILE
CHICO MENDEZ MD, CARLOS             ADDRESS ON FILE
CHICO MONTANEZ, CANDIDA R           ADDRESS ON FILE
CHICO MONTANEZ, SALVADOR            ADDRESS ON FILE
Chico Montijo, Amilcar              ADDRESS ON FILE
CHICO MONTIJO, MIGUEL               ADDRESS ON FILE
Chico Montijo, Miguel A             ADDRESS ON FILE
CHICO MORALES, ANGEL M              ADDRESS ON FILE
CHICO MORALES, EVELYN               ADDRESS ON FILE
CHICO MORALES, KATTIA               ADDRESS ON FILE
CHICO MORALES, KATTIA               ADDRESS ON FILE
CHICO MORALES, TANIA                ADDRESS ON FILE
CHICO MORENO, MIGUEL A              ADDRESS ON FILE
CHICO MOYA, ANNABELLE               ADDRESS ON FILE
CHICO MOYA, BRUNILDA                ADDRESS ON FILE
CHICO MOYA, ISRAEL                  ADDRESS ON FILE
CHICO NEGRON, SANDRA M.             ADDRESS ON FILE
CHICO NOLLA, VYMAGDA                ADDRESS ON FILE
CHICO NOLLA, VYMAGDA L              ADDRESS ON FILE
CHICO OPPENHEIMER, BEATRIZ DEL C.   ADDRESS ON FILE
CHICO OPPENHEIMER, MILAGROS         ADDRESS ON FILE
CHICO PAMIAS, DAMASO                ADDRESS ON FILE
CHICO PEREZ ESLY                    ADDRESS ON FILE
CHICO PEREZ, ALBERTO                ADDRESS ON FILE
CHICO PEREZ, AMARIS Y               ADDRESS ON FILE
CHICO PEREZ, BRENDA                 ADDRESS ON FILE
CHICO PEREZ, ESLY                   ADDRESS ON FILE
Chico Perez, Esly R                 ADDRESS ON FILE
CHICO PEREZ, NILDA G                ADDRESS ON FILE
CHICO PEREZ, ZILMA E                ADDRESS ON FILE
Chico Rios, Luis A                  ADDRESS ON FILE
CHICO RIOS, MIGUEL                  ADDRESS ON FILE
CHICO RODRIGUEZ, ILEANA             ADDRESS ON FILE
CHICO RODRIGUEZ, JUAN               ADDRESS ON FILE
CHICO RODRIGUEZ, JULIA              ADDRESS ON FILE
CHICO RODRIGUEZ, LYDIA              ADDRESS ON FILE
Chico Roman, Kelvin M               ADDRESS ON FILE
Chico Ruiz, Daniel                  ADDRESS ON FILE
Chico Ruiz, Ismael                  ADDRESS ON FILE
CHICO SERRANO, JESSICA              ADDRESS ON FILE
CHICO SERRANO, SAMUEL               ADDRESS ON FILE
CHICO SERVICE STATION INC           P O BOX 11583                                                                    SAN JUAN     PR      00910‐2683




                                                                                Page 1492 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1493 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3   Address4   City              State   PostalCode   Country
CHICO SERVICE STATION INC                PO BOX 9065382                                                                                           SAN JUAN          PR      00906
CHICO VAZQUEZ, MARIA E.                  ADDRESS ON FILE
CHICO VAZQUEZ, ROSE                      ADDRESS ON FILE
CHICO VEGA, JOSE J.                      ADDRESS ON FILE
CHICO VELEZ, FELIX A                     ADDRESS ON FILE
CHICO VELEZ, SONIA                       ADDRESS ON FILE
CHICO WASTE DISPOSAL, INC                PO BOX 1132                                                                                              CAMUY             PR      00627
CHICON DE PENA, DOMINGO E.               ADDRESS ON FILE
CHICON ESTRELLA, HILDA                   ADDRESS ON FILE
CHICON ESTRELLA, HILDA                   ADDRESS ON FILE
CHICON ESTRELLA, ROSARIO                 ADDRESS ON FILE
CHICON RIVERA, JOSE R.                   ADDRESS ON FILE
CHICON VAZQUEZ, MARTIN                   ADDRESS ON FILE
CHICOPEE HEALTH CENTER                   203 EXCHANGE ST                                                                                          CHICOPEE          MA      01013‐1246
CHIDUBEM P DUKE                          ADDRESS ON FILE
CHIECCHIO, ALBERTO                       ADDRESS ON FILE
CHIEFLAND MEDICAL CENTER                 1113 NORTHWEST 23RD AVENUE                                                                               CHIEFLAND         FL      32626
CHIESA APONTE, EVELYN                    ADDRESS ON FILE
CHIESA APONTE, LUIS                      ADDRESS ON FILE
CHIESA CEDO MD, CARLOS J                 ADDRESS ON FILE
CHIESA CHIESA, RICARDO                   ADDRESS ON FILE
CHIESA GONZALEZ, SHEILA YASMIN           ADDRESS ON FILE
CHIESA GONZALEZ, WILLIAM                 ADDRESS ON FILE
CHIJIN ALMONTE, MARGARITA                ADDRESS ON FILE
CHIKITINES EN ACCION INC                 EXT PUNTO ORO CALLE PACIFICO 6                                                                           PONCE             PR      00728
CHIKOS ‐ CENTRO DE TERAPIAS              20 URB VISTA VERDE                                                                                       CAMUY             PR      00627‐3304
CHIKOS CENTRO DE TERAPIAS                CARR #2 KM 96.8                         BO. COCOS                                                        QUEBRADILLAS      PR      00678
CHIKOS EN MOVIMIENTO, INC                VISTAS DE RIO GRANDE II                 C/CEDRO #418                                                     RIO GRANDE        PR      00745
CHILD AND ADOLESCENT SERVICES            430 NIAGARA STREET                                                                                       BUFFALO           NY      14201
CHILD BUITRAGO, DAVID                    ADDRESS ON FILE
CHILD BUITRAGO, VIVIAN L.                ADDRESS ON FILE
CHILD DEVELOPMENT CENTER                 AREA DEL TESORO                         DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
CHILD DEVELOPMENT CENTER                 BUILDING 348 CRANE LOOP                                                                                  FORT BUCHANAN     PR      00934
CHILDHELP USA                            15757 78TH STREET                                                                                        SCOTTSDALE        AZ      85260
CHILDREN & YOUTH PRO                     BROCKTON HOSPITAL                       PO BOX 847472                                                    BROCKTON          MA      02284‐7472
CHILDREN COMMUNITY CENTER                C/50 FINAL BLQ 7 #8 URB. ROYAL TOWN                                                                      BAYAMON           PR      00956
CHILDREN COMMUNITY CENTER                URB ROYAL TOWN                          C 50 A FINAL BLOQ 7 NUM8                                         BAYAMON           PR      00957
CHILDREN COMMUNITY CENTER                URB. ROYAL TOWN C/ FINAL BLOQUE 7 #8                                                                     BAYAMON           PR      00956
CHILDREN COMMUNITY CENTER CORP           C/50 A FINAL BLOQ 7#8 URB ROYAL TOWN                                                                     BAYAMON           PR      00956
CHILDREN COMUINITY CENTER                URB. ROYAL TOWN C/50‐A FIN. BLQ.7‐8                                                                      BAYAMON           PR      00956
CHILDREN LEARNING & DEVELOPMENT CENTER   AVE. ROBERTO CLEMENTE                   #2716 2DO NIVEL                                                  CAROLINA          PR      00984
CHILDREN LEARNING & DEVELOPMENT CENTER   PO BOX 2963                                                                                              CAROLINA          PR      00985
CHILDREN MAGIC INC                       URB COUNTRY CLUB                        935 C/ EIDER                                                     SAN JUAN          PR      00924
CHILDREN PARADISE CPI INC                120 LA BOLERA                                                                                            MAYAGUEZ          PR      00682‐7742
CHILDREN S HOSPITAL FOR PI               3705 FIFTH AVE                                                                                           PITTSBURGH        PA      15213‐2584
CHILDREN S HOSPITAL OF PHILADELPHIA      34TH AND CIVIC CENTER BLVD                                                                               PHILADELPHIA      PA      19104‐4399
CHILDRENS CLINIC OF PASCAGOULA           4105 HOSPITAL ST                        SUITE 103                                                        PASCAGOULA        MS      39581
CHILDRENS COMMUNITY CENTER               CALLE 50 A FINAL BL‐7 #8 ROYAL TOWN                                                                      BAYAMON           PR      00956
CHILDRENS COMMUNITY CENTER C             C/50 A FINAL BLOQ 7 #8 URB ROYAL TOWN                                                                    BAYAMON           PR      00956
CHILDRENS COMMUNITY CENTER CORP.         C/50 A FINAL BLOQ. 7 URB. ROYAL TOWN                                                                     BAYAMON           PR      00956
CHILDRENS FITZONE INC                    EL SECO                                 92 BOULEVARD DEL CARMEN                                          MAYAGUEZ          PR      00680
CHILDRENS HOSPITAL                       300 LONGWOOD AVE                                                                                         BOSTON            MA      02115‐5724
CHILDRENS HOSPITAL                       PO BOX 869102                                                                                            MILTON            MA      02186‐9102
CHILDRENS HOSPITAL LOS ANGELES           4650 SUNSET BLVD MAILSTOP 2                                                                              LOS ANGELES       PR      90027
CHILDREN'S HOSPITAL LOS ANGELES          4650 SUNSET BLVD. MAILSTOP #2                                                                            LOS ANGELES       CA      90027
CHILDRENS HOSPITAL MED CENTER            3337 SOLUTIONS CENTER                                                                                    CHICAGO           IL      60677‐3003
CHILDRENS HOSPITAL MED CENTER            PO BOX 640194                                                                                            CINCINATI         OH      45264
CHILDREN'S HOSPITAL OF PI                PO BOX 360001                                                                                            PITTSBURGH        PA      15251
CHILDRENS HOSPITAL PEDIATRICS            PO BOX 844056                                                                                            BOSTON            PR      02284‐4056
CHILDRENS HOSPITAL PEDIATRICS            PO BOX 844056                                                                                            BOSTON            MA




                                                                                                             Page 1493 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1494 of 3500
                                                                                17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                    Address1                            Address2                           Address3   Address4   City             State   PostalCode   Country
CHILDRENS MEMORIAL HOSPITAL      1701 EAST WOODFIELD ROAD            STE 1100                                                 SCHAUMBURG       IL      60173
CHILDRENS NAT MED ASSOC          PO BOX 37215                                                                                 BALTIMORE        MD      21297‐3215
CHILDRENS ZONE INC               URB FOREST VIEW                     H 234 CALLE SOFIA                                        BAYAMON          PR      00956
CHILDRENS ZONE INC               URB FOREST VIEW H‐234 CALLE SOFIA                                                            BAYAMON          PR      00956
CHILLER EXPERT CORP              PO BOX 1221                                                                                  LAS PIEDRAS      PR      00771‐1221
CHILLING DRINKS INC              ALTO APOLO ESTATE A‐9                                                                        GUAYNABO         PR      00969
CHIMELIS AVILES, RICKY           ADDRESS ON FILE
CHIMELIS CRUZ, MILAGROS          ADDRESS ON FILE
CHIMELIS FIGUEROA, ANA S         ADDRESS ON FILE
CHIMELIS FIGUEROA, MARIA E       ADDRESS ON FILE
CHIMELIS FIGUEROA, MARIA M       ADDRESS ON FILE
CHIMELIS FIGUEROA, STEVEN        ADDRESS ON FILE
CHIMELIS FIGUEROA, SYLVIA        ADDRESS ON FILE
CHIMELIS FIGUEROA, VICTOR L      ADDRESS ON FILE
CHIMELIS ORTEGA, ROSA I          ADDRESS ON FILE
CHIMELIS OTERO, DANNY            ADDRESS ON FILE
CHIMELIS PINEIRO, FRANK          ADDRESS ON FILE
CHIMELIS RIOS, ARELIS            ADDRESS ON FILE
CHIMELIS RIVERA, EVELYN D        ADDRESS ON FILE
CHIMELIS RIVERA, NAYDALIS        ADDRESS ON FILE
CHIN HSIU CHANG                  ADDRESS ON FILE
CHINA GOLDEN CROWN               STE 133 PO BOX 605703                                                                        AGUADILLA        PR      00605 0020
CHINA MAX OF PRIME OUTLETS INC   4104 AURORA ST                                                                               CORAL GABLES     FL      33146
CHINA RED                        PASEO DEL PARQUE                    92 PARQUE MEDICI                                         SAN JUAN         PR      00926
CHINA TOWN                       57 PASEO DE DIEGO                                                                            SAN JUAN         PR      00925
CHINCHILLA JIMENEZ, ZULMA        ADDRESS ON FILE
CHINCHORROSPR.COM                PO BOX 1375                                                                                  ISABELA          PR      00662
CHINEA ALEJANDRO, ELIZABETH      ADDRESS ON FILE
CHINEA ALVAREZ, CARLOS M         ADDRESS ON FILE
CHINEA ALVAREZ, HILDA E          ADDRESS ON FILE
CHINEA ALVAREZ, ROSA             ADDRESS ON FILE
CHINEA ARROYO, ROSA M            ADDRESS ON FILE
CHINEA ATANACIO, ARACELIS        ADDRESS ON FILE
CHINEA CABRERA, MILLIE           ADDRESS ON FILE
CHINEA CABRERA, VILMA            ADDRESS ON FILE
CHINEA CARDIN, LUZ D             ADDRESS ON FILE
CHINEA CINTRON, ANTONIO          ADDRESS ON FILE
CHINEA COLON, RAMON L            ADDRESS ON FILE
CHINEA CORREA, FELIX             ADDRESS ON FILE
CHINEA COTTO, JUAN               ADDRESS ON FILE
CHINEA CRUZ, ANGELICA            ADDRESS ON FILE
CHINEA CRUZ, SULAI               ADDRESS ON FILE
CHINEA CUADRADO, BETSY           ADDRESS ON FILE
CHINEA CUADRADO, BETSY           ADDRESS ON FILE
CHINEA CUADRADO, JOSE            ADDRESS ON FILE
CHINEA ERAZO, EVELYN P           ADDRESS ON FILE
CHINEA FALCON, NELSON            ADDRESS ON FILE
CHINEA FALCON, SOFIA             ADDRESS ON FILE
CHINEA HERNANDEZ, VANESSA        ADDRESS ON FILE
CHINEA JIMENEZ, CARMEN N         ADDRESS ON FILE
CHINEA JIMENEZ, DORIS            ADDRESS ON FILE
CHINEA LOPEZ, JUAN M             ADDRESS ON FILE
CHINEA MARRERO, CRISTINA         ADDRESS ON FILE
CHINEA MARRERO, EULALIA          ADDRESS ON FILE
CHINEA MARRERO, MARIA L          ADDRESS ON FILE
CHINEA MARTINEZ MD, ANGEL R      ADDRESS ON FILE
CHINEA MARTINEZ, GLORIA          ANA LOPEZ PRIETO                    PO BOX 6927                                              SAN JUAN         PR      00908‐1356
CHINEA MARTINEZ, GLORIA E        ADDRESS ON FILE
CHINEA MERCED, JOEL M            ADDRESS ON FILE
CHINEA MIRANDA, LIZA N           ADDRESS ON FILE




                                                                                         Page 1494 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1495 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3        Address4   City            State   PostalCode   Country
CHINEA MIRANDA, MANUEL A                  ADDRESS ON FILE
CHINEA MIRANDA, MANUEL A                  ADDRESS ON FILE
CHINEA MUNOZ, ANOUSHKA                    ADDRESS ON FILE
CHINEA NARVAEZ, HECTOR                    ADDRESS ON FILE
CHINEA NEGRON, LUZ I                      ADDRESS ON FILE
CHINEA NIEVES, DOLORES                    ADDRESS ON FILE
CHINEA NIEVES, ZORAIDA                    ADDRESS ON FILE
CHINEA OLIVO, HADA                        ADDRESS ON FILE
CHINEA ORTIZ, CHERRYLINE                  ADDRESS ON FILE
CHINEA ORTIZ, JUAN                        ADDRESS ON FILE
CHINEA PEREZ, SIRLEY M                    ADDRESS ON FILE
CHINEA PINEDA, MARIA M                    ADDRESS ON FILE
CHINEA QUINONES, IBY                      ADDRESS ON FILE
CHINEA RAMIREZ, ALMA M                    ADDRESS ON FILE
CHINEA RAMIREZ, BELINDA                   ADDRESS ON FILE
CHINEA RAMOS, GLORIA M                    ADDRESS ON FILE
CHINEA REVERON, JOSE                      ADDRESS ON FILE
CHINEA RIVERA MD, LUIS                    ADDRESS ON FILE
CHINEA RIVERA, ANA                        ADDRESS ON FILE
CHINEA RIVERA, ANTONIO                    ADDRESS ON FILE
CHINEA RIVERA, CARLOS                     ADDRESS ON FILE
Chinea Rivera, Merced                     ADDRESS ON FILE
CHINEA RIVERA, NORMA                      ADDRESS ON FILE
CHINEA RIVERA, OLGA S                     ADDRESS ON FILE
CHINEA RODRIGUEZ MD, HECTOR               ADDRESS ON FILE
CHINEA RODRIGUEZ, CHAYDIN                 ADDRESS ON FILE
CHINEA SANCHEZ, LUIS                      ADDRESS ON FILE
CHINEA SANTIAGO, CARMEN L                 ADDRESS ON FILE
CHINEA SANTOS, ERICKA                     ADDRESS ON FILE
CHINEA SANTOS, ERICKA                     ADDRESS ON FILE
CHINEA SANTOS, NERILIZ                    ADDRESS ON FILE
CHINEA SOTO, MIGUEL                       ADDRESS ON FILE
CHINEA SUAREZ, GABRIEL                    ADDRESS ON FILE
CHINEA SUAREZ, LUIS                       ADDRESS ON FILE
CHINEA TORRES, MARICELIS                  ADDRESS ON FILE
CHINEA VAZQUEZ, IMALAY                    ADDRESS ON FILE
Chinea Vazquez, Jesus J                   ADDRESS ON FILE
CHINEA VAZQUEZ, OMAR                      ADDRESS ON FILE
CHINEA VAZQUEZ, ORLANDO                   ADDRESS ON FILE
CHINEA ZAPATA, YANDRA                     ADDRESS ON FILE
CHINERY ENGLAND, LINDA I                  ADDRESS ON FILE
CHING LIO, ANGEL                          ADDRESS ON FILE
CHING OU, SHITUY                          ADDRESS ON FILE
CHINNEN NG CHAN                           ADDRESS ON FILE
CHINNEN NG CHAN NG OFFICE                 AND SCHOOL SUPPLIES       URB LOS SAUCES                   POMARROSA 225              HUMACAO         PR      00791
CHINNERY ENGLAND, CARMEN R                ADDRESS ON FILE
CHINNERY ENGLAND, LUZ B                   ADDRESS ON FILE
CHINNI TRELLES, VIVIANA                   ADDRESS ON FILE
CHIONG WONG, RAFAEL                       ADDRESS ON FILE
CHIONG, JOHNNY                            ADDRESS ON FILE
CHIPI TAPIA, ALEJANDRO                    ADDRESS ON FILE
CHIPI WOLF, MARIA                         ADDRESS ON FILE
CHIPMAN MD , STEPHEN R                    ADDRESS ON FILE
CHIPROUT ROSADO, ELLY                     ADDRESS ON FILE
CHIPS STICK PIZZA CORP                    LA ROSALEDA II            CALLE TLAN TLAN                                             TOA BAJA        PR      00949
CHIQUES AMADOR, MARIA                     ADDRESS ON FILE
CHIQUES RIVERA, ROSARIO                   ADDRESS ON FILE
CHIQUES VELAZQUEZ, JORGE L                ADDRESS ON FILE
CHIQUILINES CORPORATION                   CIUDAD JARDIN             PETUNIA 399                                                 CAROLINA        PR      00983
CHIQUILINES DAY CARE & PRESCHOOL CENTER   PO BOX 1561                                                                           SABANA SECA     PR      00952




                                                                                      Page 1495 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1496 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                            Address1                              Address2                                   Address3         Address4   City          State   PostalCode   Country
CHIQUILLOS DAY CARE AND LEARNING CENTER URB SANTA CRUZ                         D 7 CALLE 1                                                            BAYAMON       PR      00961
CHIQUIMUNDI INC                          SUMMIT HILLS                          629 HILLSIDE                                                           SAN JUAN      PR      00920
CHIQUITINES ABC INC /DBA/ MI ESCUELITA   HAPPY FRIENDS                         URB MANS DE CABO ROJO                      41 CALLE PLAYA              CABO ROJO     PR      00623
CHIQUITINES CENTRO APRENDIZAJE           VALLE BELLO CHALETS 100 HOSTOS A 68                                                                          BAYAMON       PR      00956
CHIQUITOS TERAPIA FISICA PARA TODOS INC  AREA DEL TESORO                       DIV DE RECLAMACIONES                                                   SAN JUAN      PR      00902‐4140
CHIQUITOS TERAPIA FISICA PARA TODOS INC  HC 5 BOX 55207                                                                                               HATILLO       PR      00659
CHIRENO RIVERA, LLEXENIA                 ADDRESS ON FILE
CHIRIPA INC                              927 CALLE JADE                                                                                               HATILLO       PR      00659‐2603
CHIRIVELLA TORRELLA, JOSEPH              ADDRESS ON FILE
CHIROPRACTIC WEST INC                    PO BOX 229                                                                                                   AGUADA        PR      00602
CHIROQUE BENITES, FRANCI                 ADDRESS ON FILE
CHIROQUE BENITES, LUIS I                 ADDRESS ON FILE
CHIROQUE BENITEZ, FRANCI                 ADDRESS ON FILE
CHIRSTIAN COLON MORALES                  ADDRESS ON FILE
CHISSENIA QUINONEZ RIVERA                ADDRESS ON FILE
CHISSENIA QUINONEZ RIVERA                ADDRESS ON FILE
CHISTIAN A FLORES DIAZ                   ADDRESS ON FILE
CHISTIAN CAMACHO GARCIA                  ADDRESS ON FILE
CHISTIAN E MATEO DILONE                  ADDRESS ON FILE
CHISTIAN J PEREZ COLON                   ADDRESS ON FILE
CHISTIAN N GARCIA HERNANDEZ              ADDRESS ON FILE
CHISTOPHER RENE RIVERA COLON             ADDRESS ON FILE
CHITTENDEN RODRIGUEZ, CRISTINE           ADDRESS ON FILE
CHITTENDEN RODRIGUEZ, LISSA M            ADDRESS ON FILE
CHIU TAM, DANIEL                         ADDRESS ON FILE
CHM INGENIEROS Y ARQUITECTOS INC         PO BOX 8230                                                                                                  SAN JUAN      PR      00910
CHOCKALINGAM MD, SELVAKUMAR              ADDRESS ON FILE
CHOCOLARTE INC                           O O BOX 363626                                                                                               SAN JUAN      PR      00936‐3626
CHOICE THERAPIST SERVICES L.L.C.         BO POLVORIN #611                                                                                             MANATI        PR      00674
CHOICE THERAPIST SERVICES L.L.C.         PO BOX 2457                                                                                                  MANATI        PR      00674
CHOLLET BRIGNONI, FERNANDO               ADDRESS ON FILE
CHONG GELABERT, IVAN                     ADDRESS ON FILE
CHONG MARTINEZ, SABRINA                  ADDRESS ON FILE
CHONG TRINIDAD, EMIBELL                  ADDRESS ON FILE
CHONG VALDEZ, RICHARD A                  ADDRESS ON FILE
CHOO CHOO TRAIN DAY CARE                 URB CAMINO DEL MAR 8064 VIA GAVIOTA                                                                          TOA BAJA      PR      00949
CHOOCHOO TRAIN DAY CARE & MORE INC       CAMINO DEL MAR                        8064 VIA GAVIOLAS                                                      TOA BAJA      PR      00949
CHOQUE QUISPE, RUDY C                    ADDRESS ON FILE
CHOROKA GONZALEZ MD, RAYMOND             ADDRESS ON FILE
CHOY NAVARRO, RUTH                       ADDRESS ON FILE
CHRIS A FRANCO LANCARA                   ADDRESS ON FILE
CHRIS C MERRIT YULFO                     ADDRESS ON FILE
CHRIS CH OQUENDO CINTRON                 ADDRESS ON FILE
CHRIS FERNANDEZ VAZQUEZ                  ADDRESS ON FILE
CHRIS FERNANDEZ VAZQUEZ                  ADDRESS ON FILE
CHRIS J CORREA OSORIO                    ADDRESS ON FILE
CHRIS J NAVARRO RAMOS                    ADDRESS ON FILE
CHRIS J NAVARRO RAMOS                    ADDRESS ON FILE
CHRIS M FERRERA TORRES / ARNALDO FIGUERO ADDRESS ON FILE
CHRIS M RIJOS FERNANDEZ                  ADDRESS ON FILE
CHRIS MERCADO MATOS                      ADDRESS ON FILE
CHRIS MICHAEL ROJAS PEREZ                ADDRESS ON FILE
CHRIS RENTAL                             BO SANTANA                            BUZON 5 CALLE LOS ANGELES                                              ARECIBO       PR      00612
CHRIS ROMAN CARTAGENA                    ADDRESS ON FILE
CHRISEL M RUIZ MARTINEZ                  ADDRESS ON FILE
CHRISHAN I MUNIZ PEREZ                   ADDRESS ON FILE
CHRISJOEL LABOY                          ADDRESS ON FILE
CHRISMAN, DAVID                          ADDRESS ON FILE
CHRISMARIE RODRIGUEZ RIVERA              ADDRESS ON FILE
CHRIST COMMUNITY HEALTH SERVICE          127 TELFAIR ST                                                                                               AUGUSTA       GA      30901




                                                                                                           Page 1496 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1497 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                   Address2                        Address3   Address4   City            State   PostalCode   Country
CHRIST HOSPITAL                           176 PALISADE AVE                                                                 JERSEY CITY     NJ      07306
CHRIST HOSPITAL                           PO BOX 19058                                                                     GREEN BAY       WI      54307‐9058
CHRIST, SUSAN T.                          ADDRESS ON FILE
CHRISTA G VON HILLEBRANDT MAYO            ADDRESS ON FILE
CHRISTA M SCHWAN DE BAUZA                 ADDRESS ON FILE
CHRISTABEL ROSARIO MERCADO                ADDRESS ON FILE
CHRISTAKOS MD, CHRIS                      ADDRESS ON FILE
CHRISTAL D SANCHEZ BATISTA                ADDRESS ON FILE
CHRISTAL J LOPEZ NAY                      ADDRESS ON FILE
CHRISTAL L MONTANEZ MONTES                ADDRESS ON FILE
CHRISTAL LACOURT BERNARD                  ADDRESS ON FILE
CHRISTALIA DELGADO RIVERA                 ADDRESS ON FILE
CHRISTAN J QUINONES CAMARGO               ADDRESS ON FILE
CHRISTENSEN ASSOC ENERGY CONSULTING LLC   800 UNIVERSITY BAY DRIVE   SUITE 400                                             MADISON         WI      53705‐2299
CHRISTENSON BRAVO MD, BERNARD             ADDRESS ON FILE
CHRISTENSON COLON, BERNARD                ADDRESS ON FILE
CHRISTENSON COLON, STEPHAN                ADDRESS ON FILE
CHRISTHIAN A MARTINEZ ESPADA              ADDRESS ON FILE
CHRISTHIAN GOGLES                         ADDRESS ON FILE
CHRISTHOPHER MORENO ALMA                  ADDRESS ON FILE
CHRISTIAN 0 GARCIA RODRIGUEZ              ADDRESS ON FILE
CHRISTIAN 0 GARCIA RODRIGUEZ              ADDRESS ON FILE
CHRISTIAN A AGOSTO CRUZ                   ADDRESS ON FILE
CHRISTIAN A AGOSTO MONSANTO               ADDRESS ON FILE
CHRISTIAN A BURGOS BENITEZ                ADDRESS ON FILE
CHRISTIAN A CARLO IRIZARRY                ADDRESS ON FILE
CHRISTIAN A CASTRO PLAZA                  ADDRESS ON FILE
CHRISTIAN A ENCARNACION JIMENEZ           ADDRESS ON FILE
CHRISTIAN A FRANCO BERMUDEZ               ADDRESS ON FILE
CHRISTIAN A GUZMAN CASTRO                 ADDRESS ON FILE
CHRISTIAN A MALDONADO GUZMAN              ADDRESS ON FILE
CHRISTIAN A MORALES                       ADDRESS ON FILE
CHRISTIAN A MUNOZ LUGO                    ADDRESS ON FILE
CHRISTIAN A NUNEZ REVERON                 ADDRESS ON FILE
CHRISTIAN A PEREZ PARRILLA                ADDRESS ON FILE
CHRISTIAN A QUINONEZ /ALBERTO QUINONEZ    ADDRESS ON FILE
CHRISTIAN A RAMIREZ TORRES                ADDRESS ON FILE
CHRISTIAN A RIVERA NEGRON                 ADDRESS ON FILE
CHRISTIAN A RODRIGUEZ VAZQUEZ             ADDRESS ON FILE
CHRISTIAN A SANTIAGO MELENDEZ             ADDRESS ON FILE
CHRISTIAN A SANTIAGO QUIROS               ADDRESS ON FILE
CHRISTIAN A SEPULVEDA CALZADA             ADDRESS ON FILE
CHRISTIAN A SOTO BORGES                   ADDRESS ON FILE
CHRISTIAN A TRAVIESO VILLAFANE            ADDRESS ON FILE
CHRISTIAN ADAMES SANTIAGO                 ADDRESS ON FILE
CHRISTIAN ADAMS AMILL                     ADDRESS ON FILE
CHRISTIAN ALAMO PEREZ                     ADDRESS ON FILE
CHRISTIAN ALBERTO IRIZARRY RIVERA         ADDRESS ON FILE
CHRISTIAN ALBERTO SANCHEZ CANCEL          ADDRESS ON FILE
CHRISTIAN ALCALA MARQUEZ                  ADDRESS ON FILE
CHRISTIAN ALSINA, JASON                   ADDRESS ON FILE
CHRISTIAN ALVARADO COLON                  ADDRESS ON FILE
CHRISTIAN ALVARDO ALVARDO                 ADDRESS ON FILE
CHRISTIAN ALVELO RAMOS                    ADDRESS ON FILE
CHRISTIAN ARROYO ARROYO                   ADDRESS ON FILE
CHRISTIAN AVILES APONTE                   ADDRESS ON FILE
CHRISTIAN AVILES RIVERA                   ADDRESS ON FILE
CHRISTIAN AYALA RIVERA                    ADDRESS ON FILE
CHRISTIAN BACKER BLAS                     ADDRESS ON FILE
CHRISTIAN BAEZ MARTINEZ                   ADDRESS ON FILE




                                                                                      Page 1497 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1498 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                             Address1                                 Address2                                   Address3               Address4   City          State   PostalCode   Country
CHRISTIAN BARBOSA LOPEZ                   ADDRESS ON FILE
CHRISTIAN BAYO PUNTER                     ADDRESS ON FILE
CHRISTIAN BELLIDO SIERRA                  ADDRESS ON FILE
CHRISTIAN BESTARD RIVERA                  ADDRESS ON FILE
CHRISTIAN BILINGUAL DAY CARE CENTER INC   QUINTAS DE CABO ROJO                     201 CALLE CANARIO                                                            CABO ROJO     PR      00623
CHRISTIAN BLANCO MEDINA                   ADDRESS ON FILE
CHRISTIAN BONILLA VAZQUEZ                 ADDRESS ON FILE
CHRISTIAN C HERNANDEZ ROSADO              ADDRESS ON FILE
CHRISTIAN CABAN ADAMES                    ADDRESS ON FILE
CHRISTIAN CABRERA GARCIA                  ADDRESS ON FILE
CHRISTIAN CALDER, GLADYS G                ADDRESS ON FILE
CHRISTIAN CALDER, VILMA                   ADDRESS ON FILE
CHRISTIAN CALDER, VILMA                   ADDRESS ON FILE
CHRISTIAN CAMACHO ORTIZ                   ADDRESS ON FILE
CHRISTIAN CANCEL FERNANDEZ                ADDRESS ON FILE
CHRISTIAN CAQUIAS IBARRONDO               ADDRESS ON FILE
CHRISTIAN CARDONA FELICIANO               ADDRESS ON FILE
CHRISTIAN CARDONA VARGAS                  ADDRESS ON FILE
CHRISTIAN CARMONA PAGAN                   ADDRESS ON FILE
CHRISTIAN CASTILLO MORENO                 ADDRESS ON FILE
CHRISTIAN CASTRO TORRES                   ADDRESS ON FILE
Christian Cepeda, Jesus L                 ADDRESS ON FILE
CHRISTIAN CINTRON LOPEZ                   ADDRESS ON FILE
CHRISTIAN CLASS VAZQUEZ                   ADDRESS ON FILE
CHRISTIAN CLAUDIO CUMBA                   ADDRESS ON FILE
CHRISTIAN COLON FONSECA                   ADDRESS ON FILE
CHRISTIAN COLON MIRANDA                   ADDRESS ON FILE
CHRISTIAN COLON NEGRON Y OTROS            LCDA. KAREN MORALES (DEMANDADO Y DEMAN623 Ponce DE LEÓN AVENUE                                                        HATO REY      PR      00917
CHRISTIAN COLON NEGRON Y OTROS            LCDO. JORGE IZQUIERDO SAN MIGUEL (DEMAND CAPITAL CENTER TORRES SUR PISO 10 239 ARTERIAL HOSTOS STE 205‐B              SAN JUAN      PR      00917
CHRISTIAN COMMUNITY CENTER                SECTOR COREA BO CAIMITO                  CARR 842 KM 1 HM 1                                                           SAN JUAN      PR      00926
CHRISTIAN COMMUNITY CENTER INC            BOX 30024                                                                                                             SAN JUAN      PR      00929
CHRISTIAN CORREA SANTIAGO                 ADDRESS ON FILE
CHRISTIAN COSME MALDONADO                 ADDRESS ON FILE
CHRISTIAN CRUZ GARAYUA                    ADDRESS ON FILE
CHRISTIAN CRUZ, MIGUEL A                  ADDRESS ON FILE
CHRISTIAN CURIEL BATTISTINI               ADDRESS ON FILE
CHRISTIAN D CALDERON COTTO                ADDRESS ON FILE
CHRISTIAN D COSME DE JESUS                ADDRESS ON FILE
CHRISTIAN D FIGUEROA ORTIZ                ADDRESS ON FILE
CHRISTIAN D RAMOS PEREZ                   ADDRESS ON FILE
CHRISTIAN D RAMOS SOTO                    ADDRESS ON FILE
CHRISTIAN D RIVERA BURGOS                 ADDRESS ON FILE
CHRISTIAN D RIVERA PEREZ                  ADDRESS ON FILE
CHRISTIAN DAVILA CENTENO                  ADDRESS ON FILE
CHRISTIAN DAVILA SOTO                     ADDRESS ON FILE
CHRISTIAN DE ARMAS BERNIER                ADDRESS ON FILE
CHRISTIAN DE JESUS CARTAGENA              ADDRESS ON FILE
CHRISTIAN DE LA CRUZ, CARLOS              ADDRESS ON FILE
CHRISTIAN DECLET VELEZ                    ADDRESS ON FILE
CHRISTIAN DEL FRESNO LOPEZ                ADDRESS ON FILE
CHRISTIAN DEL RIO RAMOS                   ADDRESS ON FILE
CHRISTIAN DI NARDO                        ADDRESS ON FILE
CHRISTIAN DIAZ ALVAREZ                    ADDRESS ON FILE
CHRISTIAN DIAZ DELGADO                    ADDRESS ON FILE
CHRISTIAN DIAZ MALDONADO                  ADDRESS ON FILE
CHRISTIAN DIAZ ROSA                       ADDRESS ON FILE
CHRISTIAN DOMINGO LUGO BELEN              ADDRESS ON FILE
CHRISTIAN DUBILL PINERO                   ADDRESS ON FILE
CHRISTIAN E CRUZ CRUZ                     ADDRESS ON FILE
CHRISTIAN E GARCIA REYES                  ADDRESS ON FILE




                                                                                                                Page 1498 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1499 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                      Address2                      Address3   Address4   City         State   PostalCode   Country
CHRISTIAN E HERNANDEZ CUEVAS            ADDRESS ON FILE
CHRISTIAN E HIRALDO DIAZ                ADDRESS ON FILE
CHRISTIAN E LUCIANO RODRIGUEZ           ADDRESS ON FILE
CHRISTIAN E MADERA RUIZ                 ADDRESS ON FILE
CHRISTIAN E MALDONADO PADIN             ADDRESS ON FILE
CHRISTIAN E MARTINEZ ROSARIO            ADDRESS ON FILE
CHRISTIAN E MERCADO CASIANO             ADDRESS ON FILE
CHRISTIAN E PAGAN CORDOLIANI            ADDRESS ON FILE
CHRISTIAN E RODRIGUEZ SANTIAGO          ADDRESS ON FILE
CHRISTIAN E RODRIGUEZ SANTIAGO          ADDRESS ON FILE
CHRISTIAN E SOTO SOTO                   ADDRESS ON FILE
CHRISTIAN E TEJADA MEDINA               ADDRESS ON FILE
CHRISTIAN E. DAVILA MEDINA              ADDRESS ON FILE
CHRISTIAN ELIUD ALMESTICA TORO          ADDRESS ON FILE
CHRISTIAN ESCALERA BORIA                ADDRESS ON FILE
CHRISTIAN ESPARRA MALDONADO             ADDRESS ON FILE
CHRISTIAN FELICIANO PEREZ               ADDRESS ON FILE
CHRISTIAN FERRER SOTO                   ADDRESS ON FILE
CHRISTIAN FIGUEROA ARNEZQUITA           ADDRESS ON FILE
CHRISTIAN FIGUEROA OCASIO               ADDRESS ON FILE
CHRISTIAN FLORENCIANI CRUZ              ADDRESS ON FILE
CHRISTIAN FLORES RAMIREZ                ADDRESS ON FILE
CHRISTIAN FLORES TORRES                 ADDRESS ON FILE
CHRISTIAN FLORES, CORALYS J.            ADDRESS ON FILE
CHRISTIAN FLORES, CORALYS J.            ADDRESS ON FILE
CHRISTIAN FLORES, YAMILIZ               ADDRESS ON FILE
CHRISTIAN G BERNARD MERCADO             ADDRESS ON FILE
CHRISTIAN G DENIS NUNEZ                 ADDRESS ON FILE
CHRISTIAN G DIAZ BLANCO                 ADDRESS ON FILE
CHRISTIAN G PE¥UELA CHACON              ADDRESS ON FILE
CHRISTIAN G TORRES FERIA                ADDRESS ON FILE
CHRISTIAN G. DENNIS NUÑEZ               LCDO. ARAMIL GARCÍA FUENTES   PO BOX 29693                                        SAN JUAN     PR      00929
CHRISTIAN GALARZA BOYRIE                ADDRESS ON FILE
CHRISTIAN GARCIA DIAZ                   ADDRESS ON FILE
CHRISTIAN GARCIA TRINIDAD               ADDRESS ON FILE
CHRISTIAN GEREN0 CRUZ                   ADDRESS ON FILE
CHRISTIAN GERENA, SANDRA                ADDRESS ON FILE
CHRISTIAN GOMEZ MEDINA                  ADDRESS ON FILE
CHRISTIAN GOMEZ RIVERA                  ADDRESS ON FILE
CHRISTIAN GOMEZ RODRIGUEZ               ADDRESS ON FILE
CHRISTIAN GONZALEZ CARDONA              ADDRESS ON FILE
CHRISTIAN GONZALEZ ECHEVARIA / PROBCO   ADDRESS ON FILE
CHRISTIAN GONZALEZ MARRERO              ADDRESS ON FILE
CHRISTIAN GONZALEZ VIRELLA              ADDRESS ON FILE
CHRISTIAN GONZALEZ, JACQUELINE          ADDRESS ON FILE
CHRISTIAN GUZMAN CABRERA                ADDRESS ON FILE
CHRISTIAN H HERRERA PEREZ               ADDRESS ON FILE
CHRISTIAN H VIDAL TORRES                ADDRESS ON FILE
CHRISTIAN HALL MARTINEZ                 ADDRESS ON FILE
CHRISTIAN HERNANDEZ                     ADDRESS ON FILE
CHRISTIAN HERNANDEZ AVILES              ADDRESS ON FILE
CHRISTIAN HERNANDEZ CUBERO              ADDRESS ON FILE
CHRISTIAN I FIGUEROA VEGA               ADDRESS ON FILE
CHRISTIAN I RODRIGUEZ VARGAS            ADDRESS ON FILE
CHRISTIAN IRIZARRY, RAFAEL              ADDRESS ON FILE
CHRISTIAN J BAEZ QUINONES               ADDRESS ON FILE
CHRISTIAN J BOTTENBLEY                  ADDRESS ON FILE
CHRISTIAN J CLAUDIO TIRADO              ADDRESS ON FILE
CHRISTIAN J COLLAZO RIVERA              ADDRESS ON FILE
CHRISTIAN J CORREA RIVERA               ADDRESS ON FILE




                                                                                     Page 1499 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1500 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CHRISTIAN J COTTO PADILLA            ADDRESS ON FILE
CHRISTIAN J DIAZ MALDONADO           ADDRESS ON FILE
CHRISTIAN J FIGUEROA GONZALEZ        ADDRESS ON FILE
CHRISTIAN J FRANCIS MARTINEZ         ADDRESS ON FILE
CHRISTIAN J FUENTES VILLEGAS         ADDRESS ON FILE
CHRISTIAN J GORDILS AVILES           ADDRESS ON FILE
CHRISTIAN J IRIZARRY FEBRES          ADDRESS ON FILE
CHRISTIAN J LAUREANO TORRES          ADDRESS ON FILE
CHRISTIAN J LOPEZ GONZALEZ           ADDRESS ON FILE
CHRISTIAN J LUGO MELENDEZ            ADDRESS ON FILE
CHRISTIAN J MARRERO ALICEA           ADDRESS ON FILE
CHRISTIAN J MIRANDA ROLDAN           ADDRESS ON FILE
CHRISTIAN J MIRANDA TORRES           ADDRESS ON FILE
CHRISTIAN J MIRANDA VELEZ            ADDRESS ON FILE
CHRISTIAN J MUNOZ RAMIREZ            ADDRESS ON FILE
CHRISTIAN J NAVARRO SANTIAGO         ADDRESS ON FILE
CHRISTIAN J NIEVES JUSINO            ADDRESS ON FILE
CHRISTIAN J ORTIZ                    ADDRESS ON FILE
CHRISTIAN J ORTIZ CASTRO             ADDRESS ON FILE
CHRISTIAN J ORTIZ MARTINES           ADDRESS ON FILE
CHRISTIAN J PAGAN GIRONA             ADDRESS ON FILE
CHRISTIAN J RAMIREZ RUIZ             ADDRESS ON FILE
CHRISTIAN J RIVERA RAMOS             ADDRESS ON FILE
CHRISTIAN J RIVERA RIVERA            ADDRESS ON FILE
CHRISTIAN J SANTIAGO GONZALEZ        ADDRESS ON FILE
CHRISTIAN J SANTIAGO MATOS           ADDRESS ON FILE
CHRISTIAN J SANTIAGO OTERO           ADDRESS ON FILE
CHRISTIAN J SOLIS ORTIZ              ADDRESS ON FILE
CHRISTIAN J SOTO OQUENDO             ADDRESS ON FILE
CHRISTIAN J SOTO RAMOS               ADDRESS ON FILE
CHRISTIAN J VARGAS MEDINA & MEDINA   ADDRESS ON FILE
CHRISTIAN J VAZQUEZ MORENO           ADDRESS ON FILE
CHRISTIAN J VILLEGAS RODRIGUEZ       ADDRESS ON FILE
CHRISTIAN J. BÁEZ ORTIZ              RAMÓN DÍAZ GÓMEZ          PO BOX 9786                                            CAROLINA     PR      00988‐9786
CHRISTIAN J. SANTIAGO MATOS          ADDRESS ON FILE
CHRISTIAN JIMENEZ FIGUEROA           ADDRESS ON FILE
CHRISTIAN JOEL FAJARDO CONDE         ADDRESS ON FILE
CHRISTIAN JOEL MEJIAS BABILONIA      ADDRESS ON FILE
CHRISTIAN JOEL PEREZ ADAMS           ADDRESS ON FILE
CHRISTIAN JOEL RIVERA MARRERO        ADDRESS ON FILE
CHRISTIAN JOHN SANTIAGO RIVERA       ADDRESS ON FILE
CHRISTIAN L CALDERON ROJAS           ADDRESS ON FILE
CHRISTIAN L FLORES COLLAZO           ADDRESS ON FILE
CHRISTIAN L GARCIA RIVERA            ADDRESS ON FILE
CHRISTIAN L GONZALEZ GONZALEZ        ADDRESS ON FILE
CHRISTIAN L MEDINA RODRIGUEZ         ADDRESS ON FILE
CHRISTIAN L MORALES FIGUEROA         ADDRESS ON FILE
CHRISTIAN L RAMOS SANTIAGO           ADDRESS ON FILE
CHRISTIAN L REYES COLON              ADDRESS ON FILE
CHRISTIAN L ROSARIO MARTINEZ         ADDRESS ON FILE
CHRISTIAN LABOY SERRANO              ADDRESS ON FILE
CHRISTIAN LEON CARTAGENA             ADDRESS ON FILE
CHRISTIAN LLANES CARRION             ADDRESS ON FILE
CHRISTIAN LOPEZ MUNOZ                ADDRESS ON FILE
CHRISTIAN LOPEZ RIOS                 ADDRESS ON FILE
CHRISTIAN LOPEZ RIVERA               ADDRESS ON FILE
CHRISTIAN LOPEZ SOULTTE              ADDRESS ON FILE
CHRISTIAN LOUBRIEL RIVERA            ADDRESS ON FILE
CHRISTIAN LOZADA MATOS               ADDRESS ON FILE
CHRISTIAN LUNA ZAYAS                 ADDRESS ON FILE




                                                                                 Page 1500 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1501 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                        Address2                                  Address3   Address4   City        State   PostalCode   Country
CHRISTIAN M CARRASQUILLO FONSECA         ADDRESS ON FILE
CHRISTIAN M DROZ MORALES                 ADDRESS ON FILE
CHRISTIAN M ECHEVARRIA JUNCO             ADDRESS ON FILE
CHRISTIAN M ENCARNACION DE GRACIA        ADDRESS ON FILE
CHRISTIAN M MARTINEZ MALDONADO           ADDRESS ON FILE
CHRISTIAN M OCASIO MARTIN                ADDRESS ON FILE
CHRISTIAN M ROJAS ALIAGA                 ADDRESS ON FILE
CHRISTIAN M SIERRA MONTANEZ              ADDRESS ON FILE
CHRISTIAN M. OCASIO MARTIN               ADDRESS ON FILE
CHRISTIAN M. SANTANA SANTANA             ADDRESS ON FILE
CHRISTIAN M. SANTANA SANTANA             ADDRESS ON FILE
CHRISTIAN MADERA ARROYO                  ADDRESS ON FILE
CHRISTIAN MALAVE DEL VALLE               ADDRESS ON FILE
CHRISTIAN MALAVE DEL VALLE               ADDRESS ON FILE
CHRISTIAN MALDONADO ECHEVARRIA           ADDRESS ON FILE
CHRISTIAN MALDONADO LÓPEZ V ELA          DEMANDANTE POR DERECHO PROPIO   GUAYAMA 1000 SEC 1‐E CELDA 114 PO BOX 10009                     GUAYAMA     PR      00785
CHRISTIAN MALDONADO RIVERA               ADDRESS ON FILE
CHRISTIAN MANUEL SANTANA GONZALEZ        ADDRESS ON FILE
CHRISTIAN MARQUEZ FLORES                 ADDRESS ON FILE
CHRISTIAN MARRERO LEBRON                 ADDRESS ON FILE
CHRISTIAN MARRERO ORTIZ                  ADDRESS ON FILE
CHRISTIAN MATIAS GONZALEZ                ADDRESS ON FILE
CHRISTIAN MATOS ROSARIO                  ADDRESS ON FILE
CHRISTIAN MILITARY ACADEMY               ADDRESS ON FILE
CHRISTIAN MIRANDA CRUZ / LIZANDRA CRUZ   ADDRESS ON FILE
CHRISTIAN MOJICA PEREZ                   ADDRESS ON FILE
CHRISTIAN MOJICA RIVERA                  ADDRESS ON FILE
CHRISTIAN MOLANO SOTO                    ADDRESS ON FILE
CHRISTIAN MORALES MENDEZ                 ADDRESS ON FILE
CHRISTIAN MORALES MORALES                ADDRESS ON FILE
CHRISTIAN MOREGOLA FLORES                ADDRESS ON FILE
CHRISTIAN MORO JIMENEZ                   ADDRESS ON FILE
CHRISTIAN N CABAN CRUZ                   ADDRESS ON FILE
CHRISTIAN N MIRANDA RIVERA               ADDRESS ON FILE
CHRISTIAN O CORDERO DANOS                ADDRESS ON FILE
CHRISTIAN O CRUZ GONZALEZ                ADDRESS ON FILE
CHRISTIAN O FIGUEROA FIGUEROA            ADDRESS ON FILE
CHRISTIAN O IRIZARRY RIVERA              ADDRESS ON FILE
CHRISTIAN O MOCTEZUMA BERRIOS            ADDRESS ON FILE
CHRISTIAN O MONTERO VALLE                ADDRESS ON FILE
CHRISTIAN O MORALES LEON                 ADDRESS ON FILE
CHRISTIAN O MORALES MENDEZ               ADDRESS ON FILE
CHRISTIAN O RAMOS ORTIZ                  ADDRESS ON FILE
CHRISTIAN O RIVERA ALAMO                 ADDRESS ON FILE
CHRISTIAN O SANTOS RODRIGUEZ             ADDRESS ON FILE
CHRISTIAN O SOTO RAMOS                   ADDRESS ON FILE
CHRISTIAN O TOLENTINO SANTIAGO           ADDRESS ON FILE
CHRISTIAN O VALENTIN ROSAS               ADDRESS ON FILE
CHRISTIAN OCANA LEBRON                   ADDRESS ON FILE
CHRISTIAN OEJDA MIRANDA                  ADDRESS ON FILE
CHRISTIAN OMAR RODRIGUEZ RODRIGUEZ       ADDRESS ON FILE
CHRISTIAN OMIL RIOS VALLEJO              ADDRESS ON FILE
CHRISTIAN ONEILL FALCON GUZMAN           ADDRESS ON FILE
CHRISTIAN ONEILL MELENDEZ GIERBOLINI     ADDRESS ON FILE
CHRISTIAN ORAMA SEGARRA                  ADDRESS ON FILE
CHRISTIAN ORTEGA SANCHEZ                 ADDRESS ON FILE
CHRISTIAN ORTIZ ALVAREZ                  ADDRESS ON FILE
CHRISTIAN ORTIZ CINTRON                  ADDRESS ON FILE
CHRISTIAN P COLON MARRERO                ADDRESS ON FILE
CHRISTIAN P COLON RIVES                  ADDRESS ON FILE




                                                                                                    Page 1501 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1502 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                       Address1                       Address2                                           Address3   Address4   City         State   PostalCode   Country
CHRISTIAN P ORTIZ SCOTT             ADDRESS ON FILE
CHRISTIAN PADILLA AVILES            ADDRESS ON FILE
CHRISTIAN PADILLA, MAYRA E.         ADDRESS ON FILE
CHRISTIAN PAGAN, ALBERT             ADDRESS ON FILE
CHRISTIAN PAREDES CRUZ              ADDRESS ON FILE
CHRISTIAN PEGUERO ROMAN             ADDRESS ON FILE
CHRISTIAN PEREZ BELLIDO             ADDRESS ON FILE
CHRISTIAN PEREZ, ANAURY             ADDRESS ON FILE
CHRISTIAN QUILES, PETRIZELA         ADDRESS ON FILE
CHRISTIAN QUINONES CRESPO           ADDRESS ON FILE
CHRISTIAN R BASS LARRACUENTE        ADDRESS ON FILE
CHRISTIAN R CORDERO ROSADO          ADDRESS ON FILE
CHRISTIAN R GUIVEN LOPEZ            ADDRESS ON FILE
CHRISTIAN R OJEDA RODRIGUEZ         ADDRESS ON FILE
CHRISTIAN R STELLA VELAZQUEZ        ADDRESS ON FILE
CHRISTIAN R TORRES                  ADDRESS ON FILE
CHRISTIAN RAMOS DIAZ                ADDRESS ON FILE
CHRISTIAN RAMOS ROSARIO             ADDRESS ON FILE
CHRISTIAN RAMOS SOTO                ADDRESS ON FILE
CHRISTIAN RAMOS VELEZ               ADDRESS ON FILE
CHRISTIAN REEVES RIVERA             ADDRESS ON FILE
CHRISTIAN RIOS MARTINEZ             ADDRESS ON FILE
CHRISTIAN RIVERA ALVAREZ            ADDRESS ON FILE
CHRISTIAN RIVERA ANTONETTY          ADDRESS ON FILE
CHRISTIAN RIVERA BLAS               ADDRESS ON FILE
CHRISTIAN RIVERA CLEMENTE           ADDRESS ON FILE
CHRISTIAN RIVERA GONZALEZ           ADDRESS ON FILE
CHRISTIAN RIVERA MERCADO            ADDRESS ON FILE
CHRISTIAN RIVERA QUINONES           ADDRESS ON FILE
CHRISTIAN RIVERA RODRIGUEZ          ADDRESS ON FILE
CHRISTIAN RIVERA ROMAN              ADDRESS ON FILE
CHRISTIAN RIVERA SERPA              ADDRESS ON FILE
CHRISTIAN RIVERA TORRES             ADDRESS ON FILE
CHRISTIAN RIVERA UJAQUE             ADDRESS ON FILE
CHRISTIAN RIVERA Y VIHEMY S BRITO   ADDRESS ON FILE
CHRISTIAN RIVERA Y VIHEMY S BRITO   ADDRESS ON FILE
CHRISTIAN RIVERA, KENNETH           ADDRESS ON FILE
CHRISTIAN RIVERA, KENNETH D.        ADDRESS ON FILE
CHRISTIAN RIVERA, KENNETH P         ADDRESS ON FILE
CHRISTIAN RODRIGUEZ ACEVEDO         ADDRESS ON FILE
CHRISTIAN RODRIGUEZ CINTRON         ADDRESS ON FILE
CHRISTIAN RODRIGUEZ CINTRON         ADDRESS ON FILE
CHRISTIAN RODRIGUEZ DELGADO         ADDRESS ON FILE
CHRISTIAN RODRIGUEZ LEFEBRES        ADDRESS ON FILE
CHRISTIAN RODRIGUEZ LEON            ADDRESS ON FILE
CHRISTIAN RODRIGUEZ MOLINA          ADDRESS ON FILE
CHRISTIAN RODRIGUEZ POLA            ADDRESS ON FILE
CHRISTIAN RODRIGUEZ RODRIGUEZ       ADDRESS ON FILE
CHRISTIAN RODRIGUEZ RODRIGUEZ       ADDRESS ON FILE
CHRISTIAN RODRIGUEZ ROMAN           ADDRESS ON FILE
CHRISTIAN RODRIGUEZ SANCHEZ         ADDRESS ON FILE
CHRISTIAN RODRIGUEZ SIERRA          LCDO. ALLAN RIVERA FERNÁNDEZ   Capital Center Building Suite 401                                        HATO REY     PR      00918
CHRISTIAN RODRIGUEZ, IRIS           ADDRESS ON FILE
Christian Rodriguez, Janneth A      ADDRESS ON FILE
CHRISTIAN ROLON ALMESTICA           ADDRESS ON FILE
CHRISTIAN ROMAN OLMEDO              ADDRESS ON FILE
CHRISTIAN ROMAN, LOURDES            ADDRESS ON FILE
CHRISTIAN ROSA LOPEZ                ADDRESS ON FILE
CHRISTIAN ROSADO RODRIGUEZ          ADDRESS ON FILE
CHRISTIAN ROSARIO CRUZ              ADDRESS ON FILE




                                                                                                       Page 1502 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1503 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                            Address1                    Address2                         Address3     Address4   City          State   PostalCode   Country
CHRISTIAN ROSARIO ROSA                   ADDRESS ON FILE
CHRISTIAN ROSARIO SOLIVAN                ADDRESS ON FILE
CHRISTIAN S CARRION GRULLON              ADDRESS ON FILE
CHRISTIAN S RUIZ REYES                   ADDRESS ON FILE
CHRISTIAN SALINAS CARABALLO              ADDRESS ON FILE
CHRISTIAN SANCHEZ MALDONADO              ADDRESS ON FILE
CHRISTIAN SANTANA SANTANA                ADDRESS ON FILE
CHRISTIAN SANTANA SANTANA                ADDRESS ON FILE
CHRISTIAN SANTANA SANTANA                ADDRESS ON FILE
CHRISTIAN SANTIAGO                       ADDRESS ON FILE
CHRISTIAN SANTIAGO ORTIZ                 ADDRESS ON FILE
CHRISTIAN SANTIAGO PENA                  ADDRESS ON FILE
CHRISTIAN SANTIAGO ROSADO                LCDO. JUAN REGUERO MENDEZ   CALLE KING #102                  BASE RAMEY              AGUADILLA     PR      00603‐1510
CHRISTIAN SANTIAGO RUIZ                  ADDRESS ON FILE
CHRISTIAN SANTIAGO SANTOS                ADDRESS ON FILE
CHRISTIAN SANTOS ROSADO                  ADDRESS ON FILE
CHRISTIAN SEDA ROSARIO                   ADDRESS ON FILE
CHRISTIAN SOTO ARACENA                   ADDRESS ON FILE
CHRISTIAN SOTO LOPEZ                     ADDRESS ON FILE
CHRISTIAN SOTO VAZQUEZ                   ADDRESS ON FILE
CHRISTIAN SURIEL                         ADDRESS ON FILE
CHRISTIAN TALAVERA RODRIGUEZ             ADDRESS ON FILE
CHRISTIAN TORRES ALMODOVAR               ADDRESS ON FILE
CHRISTIAN TORRES BONILLA                 ADDRESS ON FILE
CHRISTIAN TORRES CRUZ                    ADDRESS ON FILE
CHRISTIAN TORRES LLANES                  ADDRESS ON FILE
CHRISTIAN TORRES NEGRON                  ADDRESS ON FILE
CHRISTIAN TORRES RIVERA                  ADDRESS ON FILE
CHRISTIAN TORRES RODRIGUEZ               ADDRESS ON FILE
CHRISTIAN TORRES SANTIAGO                ADDRESS ON FILE
CHRISTIAN TOWING                         PO BOX 2532                                                                          ISABELA       PR      00662
CHRISTIAN VARELA VALENTIN                ADDRESS ON FILE
CHRISTIAN VARELA VALENTIN                ADDRESS ON FILE
CHRISTIAN VAZQUEZ FIGUEROA               ADDRESS ON FILE
CHRISTIAN VEGA RUBIO                     ADDRESS ON FILE
CHRISTIAN VILLEGAS MOJICA                ADDRESS ON FILE
CHRISTIAN VOGELI                         ADDRESS ON FILE
CHRISTIAN X MORALES GAUD                 ADDRESS ON FILE
CHRISTIAN X RAMIREZ PEREZ                ADDRESS ON FILE
CHRISTIAN X RIVERA BATIZ                 ADDRESS ON FILE
CHRISTIAN X RIVERA PEREZ                 ADDRESS ON FILE
CHRISTIAN XAVIER MARTINEZ CARRASQUILLO   ADDRESS ON FILE
CHRISTIAN Y CASTILLO COLON               ADDRESS ON FILE
CHRISTIAN Y FEBLES RODRIGUEZ             ADDRESS ON FILE
CHRISTIAN Y RIVERA SANTIAGO              ADDRESS ON FILE
CHRISTIAN, AURELIO                       ADDRESS ON FILE
CHRISTIANA HOSPITAL                      PO BOX 19072                                                                         GREEN BAY     WI      54307‐9072
CHRISTIANA STEBER, AARON                 ADDRESS ON FILE
CHRISTIANSEN INSURANCE INC               P O BOX 119922                                                                       SAN JUAN      PR      00922‐1992
CHRISTIANSEN TORRES, JONATHAN            ADDRESS ON FILE
CHRISTIE GOMEZ MELENDEZ                  ADDRESS ON FILE
CHRISTIE HIDALGO MARTINEZ                ADDRESS ON FILE
CHRISTIE M ANDINO RODRIGUEZ              ADDRESS ON FILE
CHRISTIE M BERMUDEZ RIVERA               ADDRESS ON FILE
CHRISTIE M FLORES RIVERA                 ADDRESS ON FILE
CHRISTIE M VIDAL PEREZ                   ADDRESS ON FILE
CHRISTIE MACHIN RAMIREZ                  ADDRESS ON FILE
CHRISTIE Y DELIZ RAMOS                   ADDRESS ON FILE
CHRISTIN VEGA VAZQUEZ                    ADDRESS ON FILE
CHRISTINA A MILETE GONZALEZ              ADDRESS ON FILE




                                                                                       Page 1503 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1504 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
CHRISTINA C RHEINGOLD                ADDRESS ON FILE
CHRISTINA CANEDO LATONI              ADDRESS ON FILE
CHRISTINA CASTRO ROLDAN              ADDRESS ON FILE
CHRISTINA D MARTINEZ RIVERA          ADDRESS ON FILE
CHRISTINA DUFFY BURNETT              ADDRESS ON FILE
CHRISTINA FERNANDEZ EGIPCIACO        ADDRESS ON FILE
CHRISTINA G LOPEZ QUIROS             ADDRESS ON FILE
CHRISTINA GAIL WARD MEDINA           ADDRESS ON FILE
CHRISTINA GOUNDIS CONCEPCION         ADDRESS ON FILE
CHRISTINA HERRERA ORTEGA             ADDRESS ON FILE
CHRISTINA MATEO BURGOS               ADDRESS ON FILE
CHRISTINA MENDEZ CASTANER            ADDRESS ON FILE
CHRISTINA PEREZ MALDONADO            ADDRESS ON FILE
CHRISTINA TRUJILLO MORALES           ADDRESS ON FILE
CHRISTINA TRUJILLO MORALES           ADDRESS ON FILE
CHRISTINA TRUMP MULERO               ADDRESS ON FILE
CHRISTINA VILLALBA PEREZ             ADDRESS ON FILE
CHRISTINE A HOPPING CRUSAN           ADDRESS ON FILE
CHRISTINE A ROMERO VALLE             ADDRESS ON FILE
CHRISTINE ARCE SEDA                  ADDRESS ON FILE
CHRISTINE AUGER PINZON               ADDRESS ON FILE
CHRISTINE D RODRIGUEZ FLORES         ADDRESS ON FILE
CHRISTINE DENISE CESANI FELICIANO    ADDRESS ON FILE
CHRISTINE E CASTILLO HERNANDEZ       ADDRESS ON FILE
CHRISTINE ELIAS CORTES               ADDRESS ON FILE
CHRISTINE ESPADA CALDERON            ADDRESS ON FILE
CHRISTINE FAMILIA DEL VALLE          ADDRESS ON FILE
CHRISTINE M GARCIA SANCHEZ           ADDRESS ON FILE
CHRISTINE M NIEVES MUJICA            ADDRESS ON FILE
CHRISTINE M SHERMAN TORRES           ADDRESS ON FILE
CHRISTINE M. CHEVERE                 ADDRESS ON FILE
CHRISTINE MERCHANT FOR SHINIQUA O    ADDRESS ON FILE
CHRISTINE ROSADO TORRES              ADDRESS ON FILE
CHRISTINE SALDANA Y CCD SANTA ROSA   ADDRESS ON FILE
CHRISTINE ZIEBA                      ADDRESS ON FILE
CHRISTINNE Y MARTINEZ TEJADA         ADDRESS ON FILE
CHRISTION DE JESUS ORENGO            ADDRESS ON FILE
CHRISTMAS TREE SERRANO JUNIOR        PLAZA LAS AMERICAS                                                               HATO REY     PR      00918
CHRISTOFHER ROSA AGOSTO              ADDRESS ON FILE
CHRISTOPER CARMONA LOZANO            ADDRESS ON FILE
CHRISTOPHE MARTIN BONSAINTCOME       ADDRESS ON FILE
CHRISTOPHER A ROMAN MERCADO          ADDRESS ON FILE
CHRISTOPHER A RUIZ                   ADDRESS ON FILE
CHRISTOPHER A SANTANA ALVAREZ        ADDRESS ON FILE
CHRISTOPHER A STRATTION              ADDRESS ON FILE
CHRISTOPHER ANDINO ARROYO            ADDRESS ON FILE
CHRISTOPHER ARNAL SANTIAGO           ADDRESS ON FILE
CHRISTOPHER ARROYO ANDRILLON         ADDRESS ON FILE
CHRISTOPHER BERNARD MCKAN            ADDRESS ON FILE
CHRISTOPHER BIDO TORRES              ADDRESS ON FILE
CHRISTOPHER BORRERO, GIL             ADDRESS ON FILE
CHRISTOPHER BURGOS CORTES            ADDRESS ON FILE
CHRISTOPHER CARDONA VARGAS           ADDRESS ON FILE
CHRISTOPHER CASTRO MENDEZ            ADDRESS ON FILE
CHRISTOPHER CHAPARRO PADIN           ADDRESS ON FILE
CHRISTOPHER COLON DIAZ               ADDRESS ON FILE
CHRISTOPHER COLON QUIÑONES           LCDO. DONALD MILÁN GUINDÍN   PO BOX 1565                                         LAJAS        PR      00667
CHRISTOPHER COLON RIVERA             ADDRESS ON FILE
CHRISTOPHER CRUZ ALEJANDRO           ADDRESS ON FILE




                                                                                 Page 1504 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1505 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                            Address1                                 Address2                                 Address3    Address4             City         State   PostalCode   Country
                                                                                                                                       1606 Ave. Ponce De
CHRISTOPHER CRUZ RODRIGUEZ               EILEEN LANDRÓN GUARDIOLA; EDUARDO VERA REDIFICIO JULIO BOGORICÍN                  SUITE 501   LEÓN                 SAN JUAN     PR      00909
CHRISTOPHER D GONZALEZ MARTINEZ          ADDRESS ON FILE
CHRISTOPHER DALE MCCARLEY                ADDRESS ON FILE
CHRISTOPHER DE JESUS TORRES              ADDRESS ON FILE
CHRISTOPHER E MILLAN VEGA                ADDRESS ON FILE
CHRISTOPHER E OTERO ALBERTORIO           ADDRESS ON FILE
CHRISTOPHER ESCOBAR TORRES               ADDRESS ON FILE
CHRISTOPHER F RIOS RIVERA                ADDRESS ON FILE
CHRISTOPHER FELICIANO FELICIANO          LCDO. FÉLIX A. RODRÍGUEZ MEJÍA          253 CALLE CHILE 10‐B                                                       SAN JUAN     PR      00917‐2111
CHRISTOPHER G. CORPORAN COLÓN            ADDRESS ON FILE
CHRISTOPHER GALARZA RAMIREZ              ADDRESS ON FILE
CHRISTOPHER GOMEZ COLLAZO                ADDRESS ON FILE
CHRISTOPHER HERNANDEZ PEREZ              ADDRESS ON FILE
CHRISTOPHER J BURGOS ARROYO              ADDRESS ON FILE
CHRISTOPHER J HERNANDEZ                  ADDRESS ON FILE
CHRISTOPHER J PEREZ LOPEZ                ADDRESS ON FILE
CHRISTOPHER J TAVAREZ / SORIAM LANDRAU   ADDRESS ON FILE
CHRISTOPHER JIMENEZ                      ADDRESS ON FILE
CHRISTOPHER K MARTINEZ VELLON            ADDRESS ON FILE
CHRISTOPHER L COLBERG PEREZ              ADDRESS ON FILE
CHRISTOPHER L DIAZ ROSA                  ADDRESS ON FILE
CHRISTOPHER L HERNANDEZ DAVID            ADDRESS ON FILE
CHRISTOPHER M SANTIAGO                   ADDRESS ON FILE
CHRISTOPHER MARRERO                      ADDRESS ON FILE
CHRISTOPHER MARRERO OCASIO               ADDRESS ON FILE
CHRISTOPHER MARRERO PADILLA              ADDRESS ON FILE
CHRISTOPHER MARTINEZ                     ADDRESS ON FILE
CHRISTOPHER MARTINEZ / ALICIA FIGUEROA   ADDRESS ON FILE
CHRISTOPHER MOLINA VELEZ                 ADDRESS ON FILE
CHRISTOPHER MONTALVO ORTIZ               ADDRESS ON FILE
CHRISTOPHER MULERO ORTIZ                 ADDRESS ON FILE
CHRISTOPHER NUNEZ LLANO                  ADDRESS ON FILE
CHRISTOPHER O REYES LORENZO              ADDRESS ON FILE
CHRISTOPHER O TORRES ORTIZ               ADDRESS ON FILE
CHRISTOPHER ONEILL ARROYO ANDRILLON      ADDRESS ON FILE
CHRISTOPHER ORTIZ RIVERA                 LCDO.GARY M JONES MARTINEZ              PO BOX 209                                                                 CAROLINA     PR      00986
CHRISTOPHER P RODRIGUEZ PEREZ            ADDRESS ON FILE
CHRISTOPHER PADILLA AVILES               ADDRESS ON FILE
CHRISTOPHER PAGAN MOUX                   ADDRESS ON FILE
CHRISTOPHER PAGAN RODRIGUEZ              ADDRESS ON FILE
CHRISTOPHER PATTON                       ADDRESS ON FILE
CHRISTOPHER PEREZ ORTIZ                  ADDRESS ON FILE
CHRISTOPHER PEREZ ORTIZ                  ADDRESS ON FILE
CHRISTOPHER PIMENTEL FERNANDEZ RUBIO     ADDRESS ON FILE
CHRISTOPHER PIZARRO CRUZ                 ADDRESS ON FILE
CHRISTOPHER PUJOLS VARGAS                ADDRESS ON FILE
CHRISTOPHER RESTO JIMENEZ                ADDRESS ON FILE
CHRISTOPHER RIOS APONTE                  ADDRESS ON FILE
CHRISTOPHER RIVE PADILLA                 ADDRESS ON FILE
CHRISTOPHER RIVERA CRESPO                ADDRESS ON FILE
CHRISTOPHER RIVERA LEFEBRE               ADDRESS ON FILE
CHRISTOPHER RIVERA RAKESKY               ADDRESS ON FILE
CHRISTOPHER RIVERA RIVERA                ADDRESS ON FILE
CHRISTOPHER RIVERA RODRIGUEZ             ADDRESS ON FILE
CHRISTOPHER ROCCA NEGRON                 ADDRESS ON FILE
CHRISTOPHER RODRIGUEZ / ANABELLE AYALA   ADDRESS ON FILE
CHRISTOPHER RODRIGUEZ ACEVEDO            ADDRESS ON FILE
CHRISTOPHER RODRIGUEZ IRIZARRY           ADDRESS ON FILE
CHRISTOPHER RODRIGUEZ ORTIZ              ADDRESS ON FILE




                                                                                                            Page 1505 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1506 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                             Creditor Matrix

Creditor Name                              Address1                                       Address2                                        Address3   Address4   City                 State   PostalCode   Country
CHRISTOPHER RODRIGUEZ RODRIGUEZ            ADDRESS ON FILE
CHRISTOPHER ROJAS RAMIREZ                  ADDRESS ON FILE
CHRISTOPHER ROJAS RIVERA                   ADDRESS ON FILE
CHRISTOPHER ROJAS RODRIGUEZ                ADDRESS ON FILE
CHRISTOPHER SANCHEZ COLON                  ADDRESS ON FILE
CHRISTOPHER SEDA PABON                     ADDRESS ON FILE
CHRISTOPHER SOLARES, CHERYL A              ADDRESS ON FILE
CHRISTOPHER TAVAREZ MENENDEZ               ADDRESS ON FILE
CHRISTOPHER TIRADO RODRIGUEZ               ADDRESS ON FILE
CHRISTOPHER VAZQUEZ                        ADDRESS ON FILE
CHRISTOPHER VEGA MARQUEZ                   ADDRESS ON FILE
CHRISTOPHER VEGA SOTO                      ADDRESS ON FILE
CHRISTOPHER VIVAS                          ADDRESS ON FILE
CHRISTOPHER VIVEZ                          ADDRESS ON FILE
CHRISTOPHER W VELEZ RUIZ                   ADDRESS ON FILE
CHRISTOPHER Y SAMANO RUIZ                  ADDRESS ON FILE
CHRISTUS ST CATHERINE HOSPITAL             701 S FRY RD                                                                                                         KATY                 TX      77450‐2255
CHRISTUS ST PATRICK HOSPITAL               MEDICAL RECORDS IOD                            524 MICHAEL DEBAKEY DR                                                LAKE CHARLES         LA      70601
CHRISTY ACOSTA ORENGO                      ADDRESS ON FILE
CHRISTY ANN MUNIZ DAVILA                   ADDRESS ON FILE
CHRISTY M IRIZARRY GARCIA                  ADDRESS ON FILE
CHRISTY M RUIZ OLMEDA                      ADDRESS ON FILE
CHRISTY M. PAGAN MARTINEZ                  ADDRESS ON FILE
CHRITMAS SHOP                              P O BOX 4272                                                                                                         SAN JUAN             PR      00902
CHROMATICA GROUP INC                       URB TORRIMAR                                   849 CALLE MALAGA                                                      GUAYNABO             PR      00966
CHRYSLER FINANCIAL SERVICES AMERICAS LLC   323 1/2 S MAIN ST                                                                                                    ROCHESTER            MI      48307
CHS HIGH MENTAL HEALTH OUTPATIENT SVCS     11 ROBINSON ST                                                                                                       POTTSTOWN            PA      19464
CHSI CARIBBEAN HOTEL SUPPLIES INC          PO BOX 3687 MARINA STATION                                                                                           MAYAGUEZ             PR      00681
CHT ENTERPRISES INC                        URB ALTAMIRA                                   518 C/ SIRIO                                                          SAN JUAN             PR      00920
Chu Acosta, Victor R                       ADDRESS ON FILE
Chu Figueroa, Victor                       ADDRESS ON FILE
Chubb Custom Insurance Company             15 Mountain View Road                                                                                                Warren               NJ      07059
Chubb Custom Insurance Company             202B Hall's Mill Road                                                                                                Whitehouse Station   NJ      08889
CHUBB INSURANCE COMPANY OF PR              PO BOX 191249                                                                                                        SAN JUAN             PR      00919‐1249
Chubb Insurance Company of Puerto Rico     1445 FD Roosevelt Avenue                       33 Resolución Street Floor 5th                                        San Juan             PR      00920‐2717
Chubb Insurance Company of Puerto Rico     Attn: Alejandro Morales, Regulatory Compliance PO Box 191249                                                         San Juan             PR      91912‐919
Chubb Insurance Company of Puerto Rico     Attn: Glorimar Rivero, President               PO Box 191249                                                         San Juan             PR      91912‐919
Chubb Insurance Company of Puerto Rico     Attn: Janice Viera, Vice President             PO Box 191249                                                         San Juan             PR      91912‐919
Chubb Insurance Company of Puerto Rico     Attn: Liliam Ortega, Circulation of Risk       PO Box 191249                                                         San Juan             PR      91912‐919
Chubb Insurance Company of Puerto Rico     Attn: Mary Hernandez, Premiun Tax Contact      PO Box 191249                                                         San Juan             PR      91912‐919
Chubb Insurance Company of Puerto Rico     Attn: Omar Ortiz, Consumer Complaint Contact PO Box 191249                                                           San Juan             PR      91912‐919
Chubb Insurance Company of Puerto Rico     Attn: Sonia Hernandez, Vice President          PO Box 191249                                                         San Juan             PR      91912‐919
Chubb Tempest Reinsurance Ltd.             ACE Building                                   17 Woodbourne Avenue                                                  Hamilton                     HM 08        Bermuda
Chubb Tempest Reinsurance Ltd.             Attn: Carlos Lee, Vice President               P.O. Box HM 2702                                                      Hamilton             UN      HMKX
Chubb Tempest Reinsurance Ltd.             Attn: Erin Skala, President                    P.O. Box HM 2702                                                      Hamilton             UN      HMKX
Chubb Tempest Reinsurance Ltd.             Attn: Tim Mardon, President                    P.O. Box HM 2702                                                      Hamilton             UN      HMKX
CHUN WAI LAU Y/O ADA W AVILES              VISTA DEL CONVENTO                             2H‐23 CALLE 3                                                         FAJARDO              PR      00738‐3204
CHUNG MORALES, MAELING                     ADDRESS ON FILE
CHUPY SOUND INC                            P O BOX 372                                                                                                          BARRANQUITAS         PR      00794
CHUY OLAVARRIA, JOSE                       ADDRESS ON FILE
CI .Raices Inc.                            URB. EL PLANTIO D 30 CALLE CAOBA                                                                                     TOA BAJA             PR      00949‐2238
CI TECHNOLOGIES INC                        113 COMMERCIAL STREET STE 230                                                                                        BELLINGHAM           WA      98225
CI2I MEDIA INC.                            PO BOX 190459                                                                                                        SAN JUAN             PR      00919‐0459
CIA DE FOMENTO INDUSTRIAL                  AREA DEL TESORO                                DIV DE CONTADURIA GENERAL                                             SAN JUAN             PR      00902
CIA URBANIZADORA DEL ATLANTICO INC         EDIF MEDICO SANTA CRUZ                         73 OFICINA 404                                                        BAYAMON              PR      00959
CIALES PRIMARY HEALTH CARE SERVICE DBA     AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                             SAN JUAN             PR      00902‐4140
CIALES PRIMARY HEALTH CARE SERVICE DBA     PRYMED MEDICAL CARE INC                        P O BOX 1427                                                          CIALES               PR      00638
CIAMARA ROMAN PAGAN                        ADDRESS ON FILE
CIAMARA ROMAN PAGAN                        ADDRESS ON FILE
CIANCHINI RODRIGUEZ, ELLIOT                ADDRESS ON FILE




                                                                                                                           Page 1506 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1507 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                             Address1                           Address2                                  Address3   Address4   City              State   PostalCode   Country
CIANCHINI SANZ, FRANCISCO                 ADDRESS ON FILE
CIANCHINI VALCARCEL, CARLOS J.            ADDRESS ON FILE
CIANCHINI VALCARCEL, MARIA DEL CARMEN     ADDRESS ON FILE
CIARA I RIVERA LOPEZ                      ADDRESS ON FILE
CIARA KATWAROO AYUSO                      ADDRESS ON FILE
CIARA M. PEGUERO PEREZ                    ADDRESS ON FILE
CIARA MARIA ALICEA                        ADDRESS ON FILE
CIARA MELENDEZ TORRA                      ADDRESS ON FILE
CIARA ORTIZ ORTIZ                         ADDRESS ON FILE
CIARALLI CIPRIANI, MARIA                  ADDRESS ON FILE
CIARANETTE BEZARES ALVARADO               ADDRESS ON FILE
CIARELIS TORRES FIGUEROA                  ADDRESS ON FILE
CIARES ESQUILIN, HOVIN L                  ADDRESS ON FILE
CIARES ESQUILIN, JANNETTE                 ADDRESS ON FILE
CIARES GARCIA, CRISTOFEL                  ADDRESS ON FILE
CIARES LUGO, OMAR Y.                      ADDRESS ON FILE
CIARES ORTIZ, HECTOR L                    ADDRESS ON FILE
CIARES ORTIZ, MAYRA L.                    ADDRESS ON FILE
CIARES RIVERA CONSULTING ENGINEERS PSC    PO BOX 29833                                                                                       SAN JUAN          PR      00929‐0833
CIARES RIVERA, GISELA                     ADDRESS ON FILE
CIARES RIVERA, GISELA                     ADDRESS ON FILE
CIARY Y PEREZ PENA                        ADDRESS ON FILE
CIBEL ZORBA INC. DBA COMPUTER PRO         P O BOX 270283                                                                                     SAN JUAN          PR      00928
CIBELL CABRERA JIMENEZ                    ADDRESS ON FILE
CIBES ABREU, LAURA                        ADDRESS ON FILE
CIBES SILVA, REGINA                       ADDRESS ON FILE
CIBES SILVA, REGINA D                     ADDRESS ON FILE
CICHOWICZ EMMANUELLI, EDWARD              ADDRESS ON FILE
CID ABRADELO, JOSE A                      ADDRESS ON FILE
CID MANSUR MD, FARES                      ADDRESS ON FILE
CID MARIE MERCADO                         RES PUERTO REAL                    EDIF 17 APT 18                                                  FAJARDO           PR      00740
CID MARTINEZ, NANCY                       ADDRESS ON FILE
CID MOLL, ALBERTO                         ADDRESS ON FILE
CID S QUINTANA                            PO BOX 363134                                                                                      SAN JUAN          PR      00936‐3134
CID TINEO, MARIA A                        ADDRESS ON FILE
CID VARGAS, ROLANDO                       ADDRESS ON FILE
CIDATEC INC                               COND VICK CENTER                   OFICINA 407 D                                                   SAN JUAN          PR      00925
CIDCOM CORP                               EDIF MEDICAL CENTER PLAZA          174 AVE HOSTOS SUITE 204                                        MAYAGUEZ          PR      00680
CIDELY GONZALEZ, JENNETTE                 ADDRESS ON FILE
CIDELY GONZALEZ, LILLIAN J.               ADDRESS ON FILE
CIDIA GUZMAN CRUZ                         ADDRESS ON FILE
CIDIA GUZMAN CRUZ                         URB MASIONES DEL ATLANTCO          530 PASEOS BRISAS                                               ISABELA           PR      00662
CIDIA GUZMAN CRUZ                         URB MASIONES DEL ATLANTICO         530 PASEOS BRISAS                                               ISABELA           PR      00662
CIDRA ESCAVATION S E                      CAPARRA HEIGHTS STA                PO BOX 11218                                                    SAN JUAN          PR      00922‐1218
CIDRA METALLIC CASKET INC                 PO BOX 177                                                                                         CIDRA             PR      00739
CIDRA NURSING HOME                        BOX 884                                                                                            CAYEY             PR      00737
CIDRA OPTICAL / MELVIN ALVAREZ QUINTANA   14 PADILLA EL CARIBE                                                                               CIDRA             PR      00739
CIDRA OPTICAL / MELVIN ALVAREZ QUINTANA   29 CALLE MUNOZ BARRIOS SUITE 101                                                                   CIDRA             PR      00739
CIDRE GARCIA, MANUEL                      ADDRESS ON FILE
CIDRE, JUAN                               ADDRESS ON FILE
CIDRON CARABALLO, ANTONIA                 ADDRESS ON FILE
CIED CLINICA TERAPEUTICA PEDIATRICA       CALLE #14 C‐17                     MOUNTAIN VIEW                                                   CAROLINA          PR      00982
CIED CLINICA TERAPEUTICA PEDIATRICAINC    URB MOUNTAIN VW                    C17 CALLE 14                                                    CAROLINA          PR      00987‐8084
CIELO E FIGUEROLA HERNANDEZ               ADDRESS ON FILE
CIELOMAR PUCCIO MARIN                     P O BOX 1756                                                                                       TRUJILLO ALTO     PR      00977‐1756
CIELOMAR RAMIREZ ZENO                     ADDRESS ON FILE
CIENA MALAVE, PEDRO                       ADDRESS ON FILE
CIENFUEGO VELIZ, SONIA A                  ADDRESS ON FILE
CIENFUEGOS GONZALEZ, MARITZA              ADDRESS ON FILE
CIENFUEGOS SZALAY, MIHALY                 ADDRESS ON FILE




                                                                                                        Page 1507 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1508 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                       Creditor Matrix

Creditor Name                             Address1                                          Address2                                Address3     Address4   City             State   PostalCode    Country
CIENI RODRIGUEZ TROCHE                    ADDRESS ON FILE
CIEZA COLLAS, GLORIA                      ADDRESS ON FILE
CIEZA COLLAS, GLORIA                      ADDRESS ON FILE
CIFELLI MD, JOHN                          ADDRESS ON FILE
CIFG Assurance North America, Inc.        30 Woodbourne Avenue                                                                                              Hamilton                 HM 08         Bermuda
CIFG Assurance North America, Inc.        Attn: Jacques Rolfo, President                    850 Third Avenue                        10th Floor              New York         NY      10022
CIFREDO FONTANEZ, JESSICA                 ADDRESS ON FILE
CIFREDO HERNANDEZ, JOSE                   ADDRESS ON FILE
CIFREDO MARTINEZ, MARIA M                 ADDRESS ON FILE
CIFREDO PABON, DAMARIS                    ADDRESS ON FILE
CIFREDO PABON, DAMARIS                    ADDRESS ON FILE
CIFREDO RIVERA, DOLORES                   ADDRESS ON FILE
Cifredo Rivera, Ismael                    ADDRESS ON FILE
CIFREDOSANCHEZ, MARIA DEL P               ADDRESS ON FILE
CIFRES RIVERA, JUAN                       ADDRESS ON FILE
CIFUENTES DE CASTRO, ENRIQUE J            ADDRESS ON FILE
CIFUENTES DE CASTRO, EVANGELINA           ADDRESS ON FILE
CIFUENTES GOMEZ, FRANCES                  ADDRESS ON FILE
CIFUENTES GOMEZ, JUAN                     ADDRESS ON FILE
CIFUENTES RAMOS, ALEXANDER                ADDRESS ON FILE
CIFUENTES SALINAS, RUBY                   ADDRESS ON FILE
CIG APPAREL GROUP / ALAN SMITH            INDUSTRIA TRES MONJITAS                           207 MANUEL CAMUNAS ST BLDG 102                                  SAN JUAN         PR      00918
CIG APPAREL GROUP, LLC                    207 MANUEL CAMUNAS ST                             MEZZANINE BLDG 102                                              SAN JUAN         PR      00918
CIGNA BEHAVIORAL HEALTH INC               1601 CHESTNUT TL05M                                                                                               PHILADELPHIA     PA      19192
CIGNA CORPORATION                         TREASURY DEPARTMENT                               900 COTTAGE GROVE RD C5TRS                                      HARTFORD         CT      06152
CIGNA Health and Life Insurance Company   900 Cottage Grove Road                                                                                            Bloomfield       CT      06002
CIGNA Health and Life Insurance Company   Attn: Bridgette Combs, Regulatory Compliance Go1601 Chestnut Street                                               Philadelphia     PA      19192
CIGNA Health and Life Insurance Company   Attn: Heather Wegrzyniak, Premiun Tax Contact 1601 Chestnut Street                                                Philadelphia     PA      19192
CIGNA Health and Life Insurance Company   Attn: Matthew Manders, President                  1601 Chestnut Street                                            Philadelphia     PA      19192
CIGNA Health and Life Insurance Company   Attn: Meredith Long, Consumer Complaint Conta 1601 Chestnut Street                                                Philadelphia     PA      19192
CIGNA Health and Life Insurance Company   Attn: Thomas Hixson, Circulation of Risk          1601 Chestnut Street                                            Philadelphia     PA      19192
CIGNA Health and Life Insurance Company   c/o Corporate Creations Puerto Rico Inc., Agent fo1601 Chestnut Street                                            Philadelphia     PA      19192
CIGUENA                                   22 CALLE BARCELO                                                                                                  BARRANQUITAS     PR      00794
CIIPAP,INC.                               HC 01 BOX 12008                                                                                                   HATILLO          PR      00659‐0000
CIJ FOOD & PAPER DISTRIBUTORS             MONTESOL                                          E 16 CALLE 3                                                    TOA ALTA         PR      00953
CILIA REYES CORDERO                       HC 2 BOX 6091                                                                                                     LARES            PR      00669
CILMARIS MONTA¥EZ ROSARIO                 URB. LAS AMERICAS                                 #1020, CALLE MONTEVIDEO                                         SAN JUAN         PR      00921
CIM SPECIALTY INSURANCE AGENCY            CENTRO INTERNATIONAL DE MERCADEO 1                SUITE 506                                                       GUAYNABO         PR      00968‐8052
CIMA DE VILLA MALAVE, NOEL                ADDRESS ON FILE
CIMA DE VILLA ACOSTA, JADY G.             ADDRESS ON FILE
CIMA DE VILLA CRUZ, WALDEMAR              ADDRESS ON FILE
CIMA DE VILLA CRUZ, WALDEMAR              ADDRESS ON FILE
CIMA DE VILLA MALAVE, RUTH                ADDRESS ON FILE
CIMA DE VILLA, HAYDEE                     ADDRESS ON FILE
CIMA HMO IPA 126                          PO BOX 484                                                                                                        ISABELA          PR      00662
CIMA MANUFACTURING CORP                   PO BOX 1428                                                                                                       CIALES           PR      00638‐1428
CIMA PUBLIC RELATION INC
CIMA STRATEGIES LTD                       327 CONGRESS AVE STE 450                                                                                          AUSTIN           TX      78701
CIMADEVILLA MORENO, SERGIO                ADDRESS ON FILE
CIMAR, INC.                               P.O. BOX 4226                                                                                                     CAROLINA         PR      00984
CIMARRON MUSICO TEATRAL INC               URB VILLA BORINQUEN                          405 C/ DARIEN                                                        SAN JUAN         PR      00920
CIMETRIC ENGINEERING AND CONTRACTOR       PO BOX 1009                                                                                                       GURABO           PR      00778
CIN LEGAL CONSULTING PSC                  PO BOX 13713                                                                                                      SAN JUAN         PR      00908‐3713
CINCO LUCES INC                           PMB‐218 PONCE DE LEON 701‐1                                                                                       SAN JUAN         PR      000907‐0000
CINCOR ENGINEERING SERVICES INC           P O BOX 1031                                                                                                      CABO ROJO        PR      00623
CINCOSENTIDOS INC                         103 CALLE SAN JORGE                                                                                               SAN JUAN         PR      00911
CINCOSENTIDOS, INC                        CALLE SAN JORGE #103                                                                                              SAN JUAN         PR      00911
CINDDY C GONZALEZ HERNANDEZ               ADDRESS ON FILE
CINDERELLAS SCHOOL                        500 AVE MUNOZ RIVERA                         EL CENTRO II SUITE 26                                                SAN JUAN         PR      00918 3304
CINDIA MALDONADO RODRIGUEZ                ADDRESS ON FILE




                                                                                                                     Page 1508 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1509 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                       Address2                                   Address3   Address4   City             State   PostalCode   Country
CINDIA RAICES MORALES                    ADDRESS ON FILE
CINDIA RODRIGUEZ AFANADOR                ADDRESS ON FILE
CINDY ALEQUIN                            ADDRESS ON FILE
CINDY CALDERON RODRIGUEZ                 ADDRESS ON FILE
CINDY CASTELLANO COSME                   ADDRESS ON FILE
CINDY COLON TORRES                       ADDRESS ON FILE
CINDY D CRUZ TORRES                      ADDRESS ON FILE
CINDY E CINTRON BONILLA                  ADDRESS ON FILE
CINDY E CRUZADO DOMINGUEZ                ADDRESS ON FILE
CINDY GINES SANCHEZ                      ADDRESS ON FILE
CINDY I RODRIGUEZ TROCHE                 ADDRESS ON FILE
CINDY I SANCHEZ FIGUEROA                 ADDRESS ON FILE
CINDY I SOTO MONTILLA                    ADDRESS ON FILE
CINDY J RAMIREZ PAGAN                    ADDRESS ON FILE
CINDY L RIVERA MARTINEZ                  ADDRESS ON FILE
CINDY L RIVERA MARTINEZ                  ADDRESS ON FILE
CINDY LUGO COLON                         ADDRESS ON FILE
CINDY M BERRIOS TORRES                   ADDRESS ON FILE
CINDY M CRUZ RIVERA                      ADDRESS ON FILE
CINDY M MARTINEZ ALBINO                  ADDRESS ON FILE
CINDY M PALAU ARCE                       ADDRESS ON FILE
CINDY M. ALVARADO MORALES                ADDRESS ON FILE
CINDY MALDONADO MONTES                   ADDRESS ON FILE
CINDY N DIAZ NADAL                       ADDRESS ON FILE
CINDY ORTIZ RIVERA                       ANGELINA MINIER                RR‐4 BOX 500 TOA ALTA                                            TOA ALTA         PR      00953
CINDY ORTIZ RIVERA                       EDUARDO ROIG (ASEG.)           PO BOX 9478                                                      SAN JUAN         PR      00908
CINDY ORTIZ RIVERA                       ORLANDO APONTE                 HC 04 BOX 300                                                    BARRANQUITAS     PR      00794
CINDY RAMOS LOPEZ                        ADDRESS ON FILE
CINDY REMON LAGE                         ADDRESS ON FILE
CINDY RIVERA MADERA                      ADDRESS ON FILE
CINDY RIVERA NIEVES                      ADDRESS ON FILE
CINDY ROSARIO FONSECA                    ADDRESS ON FILE
CINDY SANCHEZ MELENDEZ                   ADDRESS ON FILE
CINDY SOTO CRUZ                          ADDRESS ON FILE
CINDY SUAREZ RIVERA                      ADDRESS ON FILE
CINDY V RODRIGUEZ SANTOS                 ADDRESS ON FILE
CINDY VILLEGAS CORDERO                   ADDRESS ON FILE
CINDY Y. DESPIAU                         ADDRESS ON FILE
CINDYA RODRIGUEZ/ CINDYA M BERRIOS       ADDRESS ON FILE
CINDYBET PEREZ MARTINEZ                  ADDRESS ON FILE
CINDYBETH FERRER ROBLES                  ADDRESS ON FILE
CINDYI MERCADO LOPEZ                     ADDRESS ON FILE
CINE CON ENE LLC                         ALT DE TORRIMAR                2‐14 CALLE 2                                                     GUAYNABO         PR      00969
CINE COOP                                P O BOX 51438                                                                                   TOA BAJA         PR      00950
CINE COOP                                PO BOX 368098                                                                                   SAN JUAN         PR      00936‐8098
CINE DE EXPORTACION S E                  P O BOX 9023659                                                                                 SAN JUAN         PR      00902
CINE FOTO INC                            P.O. BOX 192273                159 AVE PONCE DE LEON                                            SAN JUAN         PR      00917‐0000
CINE MUSICA INC                          OCEAN PARK                     2015 AVE MCLERY SUITE 201                                        SAN JUAN         PR      00911
CINED                                    BOX 8892                                                                                        SAN JUAN         PR      00910‐0000
CINEMA MANAGEMENT OF PR INC              PO BOX 19116                                                                                    SAN JUAN         PR      00909
CINEMA MGT OF PR INC / CARIBBEAN CINEMAS PO BOX 19116                                                                                    SAN JUAN         PR      00909
CINEMA URBANO INC                        CUARTEL BALLAJA IER PIZO       CALLE NORZAGARAY                                                 SAN JUAN         PR      00901
CINEMA VIDEO                             URB SAN FELIPE                 APT K6 CALLE 8                                                   ARECIBO          PR      00612
CINEMANATIVO                             1937 DIEGO PENALOZA FAIRVIEW                                                                    SAN JUAN         PR      00926
CINEMANATIVO INC.                        1937 DIEGO PENALOZA FAIRVIEW                                                                    SAN JUAN         PR      00926‐0000
CINEMOVIDA ENTERTAINMENT INC             PMB 40                         PO BOX 6022                                                      CAROLINA         PR      00984‐6022
CINEPOSIBE LLC                           PO BOX 9268                                                                                     BAYAMON          PR      00960
CINESTESIA INC                           PO BOX 1066                                                                                     VILLALBA         PR      00766‐1066
CINGULAR WIRELESS                        PO BOX 15067                                                                                    SAN JUAN         PR      00902‐8567
CINIA HERRERA SANCHEZ                    BO BUEN CONSEJO                CALLE ALTO 266                                                   SAN JUAN         PR      00926




                                                                                                    Page 1509 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1510 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                           Address1                       Address2                               Address3           Address4    City              State   PostalCode   Country
CINNAMON ROAD                           420 WEST 24TH STREET STE 6F                                                                          NEW YORK CITY     NY      10011
CINTAS CORPORATION                      PO BOX 97627                                                                                         CHICAGO           IL      60678‐7627
CINTHIA ALICEA RODRIGUEZ                ADDRESS ON FILE
CINTHIA CASTILLO VAZQUEZ                ADDRESS ON FILE
CINTHIA CONCEPCION PEREZ                ADDRESS ON FILE
CINTHIA E RIVERA NIEVES                 ADDRESS ON FILE
CINTHIA E. SERRANO DE JESUS             ADDRESS ON FILE
CINTHIA HERNANDEZ AYALA                 ADDRESS ON FILE
CINTHIA I LOZADA SOSA                   ADDRESS ON FILE
CINTHIA L CUEVAS GARCIA                 ADDRESS ON FILE
CINTHIA M GONZALEZ NUNEZ                ADDRESS ON FILE
CINTHIA MOREYMA RODRIGUEZ               LCDA. EVELYN MÁRQUEZ ESCOBAR   PO BOX 810386                                                         CAROLINA          PR      00981‐0386
                                                                                                              LOCAL 5829 PLAZA
CINTHIA MOREYMA RODRIGUEZ                LCDO. MARCOS RIVERA ORTIZ     AVE. 65 DE INFANTERIA                  ESCORIAL CINEMAS   SUITE 207   CAROLINA          PR      00987
CINTHIA REYES DOMINGUEZ                  ADDRESS ON FILE
CINTHIA SANTIAGO DIAZ                    ADDRESS ON FILE
CINTHIA SANTIAGO DIAZ                    ADDRESS ON FILE
CINTHIA VILLANUEVA                       ADDRESS ON FILE
CINTHIA W RIVERA CINTRON                 ADDRESS ON FILE
CINTHY A BENITEZ ANTONY                  ADDRESS ON FILE
CINTHYA RIVERA RODRIGUEZ / VICTOR GARCIA ADDRESS ON FILE
CINTIA CAQUIAS RODRIGUEZ                 ADDRESS ON FILE
CINTRA CHARADAN, REYNIER                 ADDRESS ON FILE
CINTRINI ALVARADO, JOSEPH                ADDRESS ON FILE
CINTRO BARRIOS, KATIRIA                  ADDRESS ON FILE
CINTRO DE LEON, ROSE MAYRA J             ADDRESS ON FILE
CINTRO MORALES, DAISY M                  ADDRESS ON FILE
CINTRON MARQUEZ,JOSE D                   ADDRESS ON FILE
CINTRON & LABOY PSC                      100 GRAND BOULEVARD PASEOS    SUITE 112‐232                                                         SAN JUAN          PR      00926‐5955
CINTRON ABREU, AIDA N                    ADDRESS ON FILE
CINTRON ABREU, CARMEN G                  ADDRESS ON FILE
CINTRON ABREU, EVELYN                    ADDRESS ON FILE
Cintron Abreu, Hector                    ADDRESS ON FILE
CINTRON ABREU, REINALDO                  ADDRESS ON FILE
CINTRON ACCOUNTING AND CONSULTING GROUPO BOX 717                                                                                             SALINAS           PR      00751
CINTRON ACEVEDO, JANICE                  ADDRESS ON FILE
CINTRON ACEVEDO, MARITZA                 ADDRESS ON FILE
Cintron Acosta, Hector                   ADDRESS ON FILE
CINTRON ACOSTA, JUAN                     ADDRESS ON FILE
CINTRON ADORNO, NATIVIDAD                ADDRESS ON FILE
CINTRON ADORNO, NAYDA                    ADDRESS ON FILE
CINTRON AGOSTO, HECTOR                   ADDRESS ON FILE
Cintron Agosto, Jean C                   ADDRESS ON FILE
Cintron Agosto, Jose A                   ADDRESS ON FILE
CINTRON AGOSTO, MARIA I                  ADDRESS ON FILE
CINTRON AGUILAR, CARMEN J                ADDRESS ON FILE
CINTRON ALAM O, ZULMA A                  ADDRESS ON FILE
CINTRON ALAMO, EDWIN OSCAR               ADDRESS ON FILE
CINTRON ALBERTORIO, FELIX J              ADDRESS ON FILE
CINTRON ALBERTORIO, MIRZA E.             ADDRESS ON FILE
CINTRON ALBERTORIO, NICOLAS              ADDRESS ON FILE
CINTRON ALBIZU, ALMA                     ADDRESS ON FILE
CINTRON ALEJANDRO, ALIDA M               ADDRESS ON FILE
CINTRON ALEMANY, MILDRED                 ADDRESS ON FILE
CINTRON ALEMAR, CHEZSABETH               ADDRESS ON FILE
CINTRON ALICEA, BRYAN                    ADDRESS ON FILE
Cintron Alicea, Josue L                  ADDRESS ON FILE
CINTRON ALLENDE, JOHANNA                 ADDRESS ON FILE
CINTRON ALMODOVAR, ANTONIO               ADDRESS ON FILE
CINTRON ALMODOVAR, DELORIS               ADDRESS ON FILE




                                                                                               Page 1510 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1511 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON ALVARADO, CARMEN R.       ADDRESS ON FILE
CINTRON ALVARADO, DAMARIS         ADDRESS ON FILE
Cintron Alvarado, Hector G        ADDRESS ON FILE
CINTRON ALVARADO, IMARIE A        ADDRESS ON FILE
CINTRON ALVARADO, MARIA DEL MAR   ADDRESS ON FILE
CINTRON ALVARADO, NILKA           ADDRESS ON FILE
CINTRON ALVARADO, VILMARIE        ADDRESS ON FILE
CINTRON ALVARADO, YAHAIRA         ADDRESS ON FILE
CINTRON ALVAREZ, EDUARDO          ADDRESS ON FILE
CINTRON ALVAREZ, EDUARDO          ADDRESS ON FILE
CINTRON ALVAREZ, MAGALY           ADDRESS ON FILE
Cintron Alvir, Jacqueline         ADDRESS ON FILE
Cintron Anaya, Hylsa I            ADDRESS ON FILE
CINTRON ANAYA, NANCY              ADDRESS ON FILE
CINTRON ANDINO, MARITZA           ADDRESS ON FILE
Cintron Andino, Marylene          ADDRESS ON FILE
CINTRON ANGLADA, PEDRO            ADDRESS ON FILE
CINTRON ANGLERO, CARMEN S.        ADDRESS ON FILE
CINTRON ANTONMARCHI, ARIEL        ADDRESS ON FILE
CINTRON ANTONMARCHI, MIGUEL       ADDRESS ON FILE
CINTRON ANTUNA, ANESTHER          ADDRESS ON FILE
CINTRON APONTE, EILEEN            ADDRESS ON FILE
Cintron Aponte, Hector            ADDRESS ON FILE
CINTRON APONTE, JENNY I           ADDRESS ON FILE
CINTRON APONTE, LUTGARDA          ADDRESS ON FILE
CINTRON APONTE, MIRIAM            ADDRESS ON FILE
Cintron Aponte, Noel              ADDRESS ON FILE
CINTRON APONTE, RAMIRO            ADDRESS ON FILE
CINTRON APONTE, ROSA MARIA        ADDRESS ON FILE
Cintron Aponte, Victor R          ADDRESS ON FILE
CINTRON AQUINO, GONZALO           ADDRESS ON FILE
CINTRON ARBOLAY, JANICE           ADDRESS ON FILE
CINTRON ARBOLAY, JANICE M         ADDRESS ON FILE
CINTRON ARBOLAY, JUAN             ADDRESS ON FILE
CINTRON ARCE, EFRAIN              ADDRESS ON FILE
CINTRON AROCHO, DEREK             ADDRESS ON FILE
CINTRON ARROYO, DANIEL            ADDRESS ON FILE
CINTRON ARROYO, ROSEMARY          ADDRESS ON FILE
CINTRON ASTACIO, ALBERTO          ADDRESS ON FILE
CINTRON ATANACIO, PABLO           ADDRESS ON FILE
CINTRON AVELLANET, ALEXAND        ADDRESS ON FILE
CINTRON AVILA, LUIS               ADDRESS ON FILE
CINTRON AVILES, ANGEL             ADDRESS ON FILE
CINTRON AYALA, ALEXANDER          ADDRESS ON FILE
CINTRON AYALA, BENY               ADDRESS ON FILE
CINTRON AYALA, DELMA              ADDRESS ON FILE
Cintron Ayala, Elmer I            ADDRESS ON FILE
CINTRON AYALA, JAIDALIZ           ADDRESS ON FILE
CINTRON AYALA, JOSUE              ADDRESS ON FILE
CINTRON AYALA, MIRIAM             ADDRESS ON FILE
CINTRON AYMAT, JOSE L             ADDRESS ON FILE
CINTRON AYMAT, JOSE L.            ADDRESS ON FILE
CINTRON BAERGA, SYLVIA            ADDRESS ON FILE
CINTRON BAEZ, BLANCA              ADDRESS ON FILE
Cintron Baez, Ferdinand           ADDRESS ON FILE
CINTRON BAEZ, IRIS Y              ADDRESS ON FILE
CINTRON BAEZ, IRIS YOLANDA        ADDRESS ON FILE
CINTRON BAEZ, KIMBERLY            ADDRESS ON FILE
CINTRON BAEZ, ONIX                ADDRESS ON FILE
CINTRON BAEZ, ONIX A.             ADDRESS ON FILE




                                                                              Page 1511 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1512 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON BAEZ, SANDRA I                 ADDRESS ON FILE
CINTRON BARBER, EDITH                  ADDRESS ON FILE
CINTRON BARBOSA, DAYLIN DEL R          ADDRESS ON FILE
CINTRON BARDEGUEZ, ROBERTO             ADDRESS ON FILE
CINTRON BARTOLOMEI, RAMON A            ADDRESS ON FILE
CINTRON BELEN, DAVID                   ADDRESS ON FILE
CINTRON BELTRAN, JACKELINE             ADDRESS ON FILE
CINTRON BELTRAN, JACKELINE             ADDRESS ON FILE
CINTRON BELTRAN, MIRIAM D              ADDRESS ON FILE
CINTRON BELTRAN, MIRIAM D              ADDRESS ON FILE
CINTRON BENIQUEZ, MIGUEL               ADDRESS ON FILE
CINTRON BENIQUEZ, OLGA                 ADDRESS ON FILE
CINTRON BENITEZ, BRUNILDA DEL CARMEN   ADDRESS ON FILE
CINTRON BENITEZ, LOURDES Y             ADDRESS ON FILE
CINTRON BENITEZ, MARTA                 ADDRESS ON FILE
CINTRON BERMUDEZ, GLORIA               ADDRESS ON FILE
CINTRON BERNIER, BECKY                 ADDRESS ON FILE
CINTRON BERRIOS, JUAN L                ADDRESS ON FILE
CINTRON BERRIOS, MARIA DE LOS A.       ADDRESS ON FILE
Cintron Berrios, Pablo C               ADDRESS ON FILE
CINTRON BETANCOURT, CARLOS A.          ADDRESS ON FILE
CINTRON BOBE, AIXA                     ADDRESS ON FILE
CINTRON BOBE, AIXA                     ADDRESS ON FILE
CINTRON BONILLA, NANCY                 ADDRESS ON FILE
CINTRON BONILLA, SARAI                 ADDRESS ON FILE
CINTRON BORRERO, MAYRA                 ADDRESS ON FILE
CINTRON BOU, FRANCHESKA                ADDRESS ON FILE
CINTRON BOU, FRANCISCO                 ADDRESS ON FILE
CINTRON BOU, FRANCISCO                 ADDRESS ON FILE
CINTRON BOU, FRANCISCO J               ADDRESS ON FILE
Cintron Bracero, Jose                  ADDRESS ON FILE
CINTRON BREA, ADELAIDA                 ADDRESS ON FILE
CINTRON BREA, DIOSELINA                ADDRESS ON FILE
Cintron Brea, Rafael                   ADDRESS ON FILE
CINTRON BRIALES, CELMIRA               ADDRESS ON FILE
CINTRON BUCCIERI, AMARLYN              ADDRESS ON FILE
CINTRON BUCCIERI, JUDITH Z             ADDRESS ON FILE
CINTRON BUI, MARGARITA                 ADDRESS ON FILE
CINTRON BUI, SERAFIN                   ADDRESS ON FILE
CINTRON BURGOS, ARACELIA               ADDRESS ON FILE
CINTRON BURGOS, ARACELIA               ADDRESS ON FILE
CINTRON BURGOS, LUIS                   ADDRESS ON FILE
CINTRON BURGOS, MARIA A                ADDRESS ON FILE
CINTRON BURGOS, NANCY                  ADDRESS ON FILE
CINTRON BURGOS, PEDRO                  ADDRESS ON FILE
CINTRON BURGOS, SHAKIRA                ADDRESS ON FILE
CINTRON CABRERA, INEABELLE             ADDRESS ON FILE
CINTRON CABRERA, KETTY Y               ADDRESS ON FILE
CINTRON CABRERA, RAMONITA              ADDRESS ON FILE
Cintron Caceres, Zaymara               ADDRESS ON FILE
CINTRON CAMACHO, JESSICA               ADDRESS ON FILE
Cintron Camacho, Jose M.               ADDRESS ON FILE
Cintron Camacho, Miguel A              ADDRESS ON FILE
CINTRON CARABALLO, CARMEN              ADDRESS ON FILE
CINTRON CARABALLO, CARMEN M.           ADDRESS ON FILE
CINTRON CARABALLO, IRIS D              ADDRESS ON FILE
CINTRON CARABALLO, LUZ D.              ADDRESS ON FILE
CINTRON CARABALLO, MARIA I             ADDRESS ON FILE
CINTRON CARATTINI, WILLIAM             ADDRESS ON FILE
CINTRON CARATTINI, WILLNERY            ADDRESS ON FILE




                                                                                   Page 1512 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1513 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON CARBONELL, HAMILTON    ADDRESS ON FILE
CINTRON CARBONELL, JOSUE       ADDRESS ON FILE
CINTRON CARBONELL, JOSUE       ADDRESS ON FILE
CINTRON CARDONA, BRENDA        ADDRESS ON FILE
CINTRON CARDONA, JUAN          ADDRESS ON FILE
CINTRON CARDONA, MODESTA       ADDRESS ON FILE
CINTRON CARRASCO, CARMEN I     ADDRESS ON FILE
CINTRON CASADO, FRANCISCO J    ADDRESS ON FILE
CINTRON CASADO, FRANCISCO J.   ADDRESS ON FILE
CINTRON CASADO, MARILU         ADDRESS ON FILE
CINTRON CASTILLO, YAILIMAR     ADDRESS ON FILE
CINTRON CASTRO, ENID N.        ADDRESS ON FILE
CINTRON CATALA, MELISSA        ADDRESS ON FILE
CINTRON CEDENO, JOSE A.        ADDRESS ON FILE
CINTRON CEDENO, JOSE L.        ADDRESS ON FILE
CINTRON CHEVRES, AMARILIS      ADDRESS ON FILE
CINTRON CHEVRES, EVELYN        ADDRESS ON FILE
CINTRON CHEVRES, MARIA L       ADDRESS ON FILE
CINTRON CHINEA, CARMENCITA     ADDRESS ON FILE
CINTRON CHINEA, CARMENCITA     ADDRESS ON FILE
CINTRON CHINEA, GENARO         ADDRESS ON FILE
CINTRON CINTRON, ADALBERTO     ADDRESS ON FILE
CINTRON CINTRON, ANGEL M.      ADDRESS ON FILE
CINTRON CINTRON, CARLOS        ADDRESS ON FILE
CINTRON CINTRON, EDGARDO       ADDRESS ON FILE
CINTRON CINTRON, ELENA H       ADDRESS ON FILE
CINTRON CINTRON, EVELYN        ADDRESS ON FILE
CINTRON CINTRON, FAUSTINO      ADDRESS ON FILE
CINTRON CINTRON, FRANCISCA     ADDRESS ON FILE
CINTRON CINTRON, GLADYS        ADDRESS ON FILE
CINTRON CINTRON, IRIS N        ADDRESS ON FILE
CINTRON CINTRON, IRMA N        ADDRESS ON FILE
CINTRON CINTRON, ISMAEL        ADDRESS ON FILE
CINTRON CINTRON, JOSE          ADDRESS ON FILE
Cintron Cintron, Jose A        ADDRESS ON FILE
CINTRON CINTRON, JOSE JAVIER   ADDRESS ON FILE
CINTRON CINTRON, LEOCADIO      ADDRESS ON FILE
Cintron Cintron, Luis          ADDRESS ON FILE
CINTRON CINTRON, MAGDA I       ADDRESS ON FILE
CINTRON CINTRON, MARITZA       ADDRESS ON FILE
CINTRON CINTRON, MIGDALIA      ADDRESS ON FILE
CINTRON CINTRON, MIGUEL A      ADDRESS ON FILE
CINTRON CINTRON, NILDA E       ADDRESS ON FILE
CINTRON CINTRON, SOL DE B      ADDRESS ON FILE
CINTRON CINTRON, SORAYA        ADDRESS ON FILE
CINTRON CINTRON, VANESSA M     ADDRESS ON FILE
CINTRON CINTRON, VICTOR M      ADDRESS ON FILE
CINTRON CINTRON, VIRGINIA      ADDRESS ON FILE
Cintron Cisnero, Mario A       ADDRESS ON FILE
CINTRON CLOS, SONIA            ADDRESS ON FILE
CINTRON COCHRAN, CHARYMAR      ADDRESS ON FILE
CINTRON COFINO, JEAN           ADDRESS ON FILE
CINTRON COLLAZO, CHERRY        ADDRESS ON FILE
Cintron Colon, Awilda          ADDRESS ON FILE
CINTRON COLON, CAMILLE         ADDRESS ON FILE
CINTRON COLON, CARELIS         ADDRESS ON FILE
CINTRON COLON, CARMEN D.       ADDRESS ON FILE
CINTRON COLON, CAROLIZ         ADDRESS ON FILE
CINTRON COLON, DENISE          ADDRESS ON FILE
Cintron Colon, Hector L        ADDRESS ON FILE




                                                                           Page 1513 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1514 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON COLON, HUMBERTO         ADDRESS ON FILE
CINTRON COLON, JAIME            ADDRESS ON FILE
CINTRON COLON, JEAN C           ADDRESS ON FILE
CINTRON COLON, JOSE             ADDRESS ON FILE
CINTRON COLON, JOSE A           ADDRESS ON FILE
CINTRON COLON, JULIO A.         ADDRESS ON FILE
CINTRON COLON, LUIS             ADDRESS ON FILE
CINTRON COLON, LUIS             ADDRESS ON FILE
Cintron Colon, Luis A           ADDRESS ON FILE
CINTRON COLON, MANUEL           ADDRESS ON FILE
CINTRON COLON, MARY C           ADDRESS ON FILE
Cintron Colon, Nitza D.         ADDRESS ON FILE
CINTRON COLON, YARILIZ          ADDRESS ON FILE
CINTRON COLON, YOLANDA          ADDRESS ON FILE
CINTRON COMULADA, LUIS          ADDRESS ON FILE
CINTRON CONCEPCION, ANA A       ADDRESS ON FILE
CINTRON CONCEPCION, LORNA LEE   ADDRESS ON FILE
CINTRON COPPIIN, JOSE           ADDRESS ON FILE
Cintron Corcino, Daniel         ADDRESS ON FILE
CINTRON CORDERO, CARLOS J       ADDRESS ON FILE
CINTRON CORDERO, EDDIE          ADDRESS ON FILE
CINTRON CORDERO, EDDIE          ADDRESS ON FILE
CINTRON CORDERO, MYRNA F        ADDRESS ON FILE
CINTRON CORDOVA, YAMILKA        ADDRESS ON FILE
CINTRON CORREA, ARLENE          ADDRESS ON FILE
Cintron Corsino, Eliseo         ADDRESS ON FILE
Cintron Cortes, Andres K        ADDRESS ON FILE
CINTRON CORTES, MIGUEL          ADDRESS ON FILE
CINTRON CORTIJO, DOMINGO        ADDRESS ON FILE
CINTRON CORTIJO, DOMINGO        ADDRESS ON FILE
CINTRON CORTIJO, LUIS O         ADDRESS ON FILE
CINTRON COSME, MERCEDES         ADDRESS ON FILE
CINTRON COTTO, ANA              ADDRESS ON FILE
CINTRON CRESPO, AIDA            ADDRESS ON FILE
CINTRON CRUZ, ANGEL             ADDRESS ON FILE
Cintron Cruz, Angel M           ADDRESS ON FILE
CINTRON CRUZ, CARLOS            ADDRESS ON FILE
CINTRON CRUZ, ELIZABETH         ADDRESS ON FILE
CINTRON CRUZ, HECTOR            ADDRESS ON FILE
Cintron Cruz, Jose F            ADDRESS ON FILE
CINTRON CRUZ, JOSE LUIS         ADDRESS ON FILE
CINTRON CRUZ, JUAN L            ADDRESS ON FILE
CINTRON CRUZ, KELVIN            ADDRESS ON FILE
CINTRON CRUZ, LEILA H           ADDRESS ON FILE
CINTRON CRUZ, MARGARITA         ADDRESS ON FILE
CINTRON CRUZ, MARIA DEL S       ADDRESS ON FILE
CINTRON CRUZ, NELIDA            ADDRESS ON FILE
CINTRON CRUZ, NORMA I           ADDRESS ON FILE
CINTRON CRUZ, OCTAVIA           ADDRESS ON FILE
CINTRON CRUZ, TANIA             ADDRESS ON FILE
CINTRON CUEVAS, EDDIE W         ADDRESS ON FILE
CINTRON CUEVAS, GISELLE D       ADDRESS ON FILE
CINTRON DAVILA, ALEXIS          ADDRESS ON FILE
CINTRON DAVILA, DENISE M        ADDRESS ON FILE
CINTRON DAVILA, FELIX O         ADDRESS ON FILE
CINTRON DAVILA, JOSELINE        ADDRESS ON FILE
CINTRON DAVILA, MARIA I         ADDRESS ON FILE
CINTRON DAVILA, MILTON          ADDRESS ON FILE
CINTRON DAVILA, MILTON JUNIOR   ADDRESS ON FILE
CINTRON DAVILA, VERMONT         ADDRESS ON FILE




                                                                            Page 1514 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1515 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3         Address4   City         State   PostalCode   Country
CINTRON DE ARMAS, ESPERANZA         ADDRESS ON FILE
CINTRON DE ARMAS, LUZ M             ADDRESS ON FILE
CINTRON DE ARMAS, MARGARITA         ADDRESS ON FILE
CINTRON DE BORRALI, LILLIAM         ADDRESS ON FILE
CINTRON DE FIGUEROA, SONIA          ADDRESS ON FILE
CINTRON DE JESUS, ALECXY            ADDRESS ON FILE
CINTRON DE JESUS, ALECXY            ADDRESS ON FILE
CINTRON DE JESUS, CARMEN G          ADDRESS ON FILE
CINTRON DE JESUS, CRUZ DE LOURDES   ADDRESS ON FILE
CINTRON DE JESUS, DANIEL            ADDRESS ON FILE
CINTRON DE JESUS, ELIZABETH         ADDRESS ON FILE
CINTRON DE JESUS, ELSA I            ADDRESS ON FILE
CINTRON DE JESUS, FLOR              ADDRESS ON FILE
CINTRON DE JESUS, FLOR              ADDRESS ON FILE
CINTRON DE JESUS, GLORIBEL          ADDRESS ON FILE
CINTRON DE JESUS, HENRY             ADDRESS ON FILE
CINTRON DE JESUS, JONJOSE E         ADDRESS ON FILE
CINTRON DE JESUS, JOSE L            ADDRESS ON FILE
CINTRON DE JESUS, MAYRA I           ADDRESS ON FILE
CINTRON DE JESUS, MILAGROS          ADDRESS ON FILE
CINTRON DE JESUS, NANCY             ADDRESS ON FILE
CINTRON DE JESUS, ORLANDO L.        ADDRESS ON FILE
CINTRON DE JESUS, VANESSA           ADDRESS ON FILE
CINTRON DE JESUS, VANESSA           ADDRESS ON FILE
CINTRON DE JESUS, VIVIAN D          ADDRESS ON FILE
CINTRON DE LEON, SONIA E            ADDRESS ON FILE
CINTRON DE RAMOS, LETICIA           ADDRESS ON FILE
CINTRON DEJESUS,FLOR                ADDRESS ON FILE
CINTRON DEL VALLE, ESTELA M         ADDRESS ON FILE
CINTRON DEL VALLE, JOSE             ADDRESS ON FILE
                                                                                               1353 AVE. LUIS
CINTRON DEL VALLE, JOSE             YARLENE JIMENEZ ROSARIO   PMB‐133                          VIGOREAUZ                   GUAYNABO     PR      00966‐2700
CINTRON DELFI, LUIS                 ADDRESS ON FILE
Cintron Delgado, Angel L            ADDRESS ON FILE
CINTRON DELGADO, BLANCA I           ADDRESS ON FILE
Cintron Delgado, Carlos             ADDRESS ON FILE
CINTRON DELGADO, CARMEN R           ADDRESS ON FILE
Cintron Delgado, Edgardo            ADDRESS ON FILE
CINTRON DELGADO, EDGARDO            ADDRESS ON FILE
CINTRON DELGADO, JOSE               ADDRESS ON FILE
Cintron Delgado, Jose W             ADDRESS ON FILE
CINTRON DELGADO, MIGUEL             ADDRESS ON FILE
CINTRON DELGADO, SANTIAGO           ADDRESS ON FILE
CINTRON DELIZ, BERGUEDIS            ADDRESS ON FILE
CINTRON DELIZ, NAHILA M             ADDRESS ON FILE
CINTRON DIAZ, ABRAHAM               ADDRESS ON FILE
CINTRON DIAZ, ADELMA DEL C          ADDRESS ON FILE
CINTRON DIAZ, AMNERIS               ADDRESS ON FILE
Cintron Diaz, Arnaldo               ADDRESS ON FILE
CINTRON DIAZ, BENITA                ADDRESS ON FILE
Cintron Diaz, Brenda I              ADDRESS ON FILE
CINTRON DIAZ, CARMEN L              ADDRESS ON FILE
CINTRON DIAZ, CELESTES              ADDRESS ON FILE
CINTRON DIAZ, DIANA                 ADDRESS ON FILE
CINTRON DIAZ, EDGARDO               ADDRESS ON FILE
CINTRON DIAZ, GILVANIA              ADDRESS ON FILE
CINTRON DIAZ, GILVANIA              ADDRESS ON FILE
CINTRON DIAZ, GLADYS                ADDRESS ON FILE
CINTRON DIAZ, HERMINIO              ADDRESS ON FILE
CINTRON DIAZ, IBIS R                ADDRESS ON FILE




                                                                                Page 1515 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1516 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON DIAZ, IRMA L           ADDRESS ON FILE
CINTRON DIAZ, JOSE             ADDRESS ON FILE
CINTRON DIAZ, LEILA V          ADDRESS ON FILE
CINTRON DIAZ, LIZMARIE         ADDRESS ON FILE
CINTRON DIAZ, MARTA            ADDRESS ON FILE
Cintron Diaz, Migdalia         ADDRESS ON FILE
CINTRON DIAZ, MILAGROS         ADDRESS ON FILE
CINTRON DIAZ, MIRTA            ADDRESS ON FILE
CINTRON DIAZ, NELSON I.        ADDRESS ON FILE
CINTRON DIAZ, RAFAEL           ADDRESS ON FILE
CINTRON DIAZ, RAFAEL           ADDRESS ON FILE
CINTRON DIAZ, VANESSA          ADDRESS ON FILE
CINTRON DIAZ, VICTOR M         ADDRESS ON FILE
CINTRON DIAZ, VIVIAN           ADDRESS ON FILE
CINTRON DIAZ, WILMARIE         ADDRESS ON FILE
CINTRON DIAZ, ZAYRA            ADDRESS ON FILE
Cintron Dilan, Iraida          ADDRESS ON FILE
CINTRON DILAN, IRAIDA J.       ADDRESS ON FILE
CINTRON DILAN, JOSE            ADDRESS ON FILE
CINTRON DIPINI, EILLEEN        ADDRESS ON FILE
CINTRON DONATO, NANCY J        ADDRESS ON FILE
CINTRON DROUYN, JOSE           ADDRESS ON FILE
CINTRON ELICIER, DORA          ADDRESS ON FILE
CINTRON ELICIER, MARIA S       ADDRESS ON FILE
CINTRON ESMURIA, GLORIA        ADDRESS ON FILE
CINTRON ESPINELL, JULIO        ADDRESS ON FILE
CINTRON ESPINOSA, AIDA L       ADDRESS ON FILE
CINTRON FAJARDO, MICHELLE      ADDRESS ON FILE
CINTRON FELICIANO, ALMA L      ADDRESS ON FILE
CINTRON FELICIANO, CARLOS A.   ADDRESS ON FILE
CINTRON FELICIANO, DAVID       ADDRESS ON FILE
CINTRON FELICIANO, VICTOR      ADDRESS ON FILE
CINTRON FELIX, LUIS M          ADDRESS ON FILE
CINTRON FERNANDEZ, ARNALDO     ADDRESS ON FILE
Cintron Fernandez, Carlos R    ADDRESS ON FILE
CINTRON FERNANDEZ, GLADYS      ADDRESS ON FILE
Cintron Fernandez, Gladys I    ADDRESS ON FILE
CINTRON FERNANDEZ, IRIS        ADDRESS ON FILE
CINTRON FERRER, JESUS M        ADDRESS ON FILE
CINTRON FIELD, EDUARDO         ADDRESS ON FILE
CINTRON FIGUEROA, ALEXANDER    ADDRESS ON FILE
CINTRON FIGUEROA, ANGEL        ADDRESS ON FILE
Cintron Figueroa, Angel L      ADDRESS ON FILE
CINTRON FIGUEROA, CARMEN T     ADDRESS ON FILE
CINTRON FIGUEROA, FRANCISCO    ADDRESS ON FILE
CINTRON FIGUEROA, FRANCISCO    ADDRESS ON FILE
CINTRON FIGUEROA, GILBERTO     ADDRESS ON FILE
CINTRON FIGUEROA, GLADYS       ADDRESS ON FILE
CINTRON FIGUEROA, HECTOR       ADDRESS ON FILE
CINTRON FIGUEROA, JOSE O.      ADDRESS ON FILE
CINTRON FIGUEROA, JUAN         ADDRESS ON FILE
CINTRON FIGUEROA, JUANA        ADDRESS ON FILE
CINTRON FIGUEROA, LUIS         ADDRESS ON FILE
CINTRON FIGUEROA, LUIS         ADDRESS ON FILE
CINTRON FIGUEROA, PRIMITIVA    ADDRESS ON FILE
CINTRON FIGUEROA, ROSA E       ADDRESS ON FILE
CINTRON FLORES, ALEXANDRA      ADDRESS ON FILE
Cintron Flores, Angeiris       ADDRESS ON FILE
CINTRON FLORES, MARIA          ADDRESS ON FILE
CINTRON FLORES, MARIXSA        ADDRESS ON FILE




                                                                           Page 1516 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1517 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON FLORES, SIRI                ADDRESS ON FILE
CINTRON FONALLEDAS, LUIS O.         ADDRESS ON FILE
CINTRON FONSECA, DALIANA            ADDRESS ON FILE
CINTRON FRANCESCHINI, FRANCISCO A   ADDRESS ON FILE
CINTRON FUENTES, IVAN               ADDRESS ON FILE
CINTRON FUENTES, TERESA             ADDRESS ON FILE
CINTRON FUENTES, WILMA              ADDRESS ON FILE
CINTRON GABRIEL, ROBERTO            ADDRESS ON FILE
CINTRON GADEA, KEYSHA               ADDRESS ON FILE
CINTRON GALARZA, CARMEN D           ADDRESS ON FILE
CINTRON GALARZA, PAULA I            ADDRESS ON FILE
CINTRON GANDIA, EDWIN               ADDRESS ON FILE
CINTRON GARCIA MD, ERICK D          ADDRESS ON FILE
Cintron Garcia, Alba                ADDRESS ON FILE
CINTRON GARCIA, ANGEL               ADDRESS ON FILE
CINTRON GARCIA, ARCADIO             ADDRESS ON FILE
CINTRON GARCIA, DIOLIDIS            ADDRESS ON FILE
CINTRON GARCIA, ELEDINA             ADDRESS ON FILE
CINTRON GARCIA, ERIC                ADDRESS ON FILE
Cintron Garcia, Esteban             ADDRESS ON FILE
CINTRON GARCIA, JORGE               ADDRESS ON FILE
CINTRON GARCIA, JOSE A              ADDRESS ON FILE
CINTRON GARCIA, JOSE M              ADDRESS ON FILE
Cintron Garcia, Jose O              ADDRESS ON FILE
CINTRON GARCIA, JUAN JOSE           ADDRESS ON FILE
CINTRON GARCIA, LUIS R.             ADDRESS ON FILE
CINTRON GARCIA, MARIA               ADDRESS ON FILE
CINTRON GARCIA, MARIA DE LOS A.     ADDRESS ON FILE
CINTRON GARCIA, MARIA E             ADDRESS ON FILE
CINTRON GARCIA, MARITZA             ADDRESS ON FILE
CINTRON GARCIA, MORAIMA             ADDRESS ON FILE
CINTRON GARCIA, NILDA               ADDRESS ON FILE
CINTRON GARCIA, SALVADOR            ADDRESS ON FILE
CINTRON GARCIA, TOMAS               ADDRESS ON FILE
CINTRON GAZTAMBIDE, JEANMARIE       ADDRESS ON FILE
CINTRON GAZTAMBIDE, LUIS            ADDRESS ON FILE
CINTRON GIL, RITA                   ADDRESS ON FILE
CINTRON GOITIA, SANDRA              ADDRESS ON FILE
CINTRON GOMEZ, LOURY                ADDRESS ON FILE
CINTRON GOMEZ, SONIA                ADDRESS ON FILE
CINTRON GONZALEZ, ANA J             ADDRESS ON FILE
CINTRON GONZALEZ, ANGELA L          ADDRESS ON FILE
CINTRON GONZALEZ, ARTURO            ADDRESS ON FILE
Cintrón González, Bárbara M.        ADDRESS ON FILE
CINTRON GONZALEZ, BLANCA            ADDRESS ON FILE
CINTRON GONZALEZ, CARMEN I.         ADDRESS ON FILE
CINTRON GONZALEZ, DORIS             ADDRESS ON FILE
Cintron Gonzalez, Eduardo           ADDRESS ON FILE
CINTRON GONZALEZ, ELIN              ADDRESS ON FILE
CINTRON GONZALEZ, EMMA E.           ADDRESS ON FILE
CINTRON GONZALEZ, GLADYS            ADDRESS ON FILE
CINTRON GONZALEZ, GRABIEL           ADDRESS ON FILE
CINTRON GONZALEZ, IRMA              ADDRESS ON FILE
CINTRON GONZALEZ, JOHANA            ADDRESS ON FILE
CINTRON GONZALEZ, JOSE              ADDRESS ON FILE
CINTRON GONZALEZ, JOSE A.           ADDRESS ON FILE
CINTRON GONZALEZ, LUIS              ADDRESS ON FILE
CINTRON GONZALEZ, LUZ E             ADDRESS ON FILE
CINTRON GONZALEZ, LYDIA             ADDRESS ON FILE
CINTRON GONZALEZ, MARIA             ADDRESS ON FILE




                                                                                Page 1517 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1518 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON GONZALEZ, MARIANO        ADDRESS ON FILE
CINTRON GONZALEZ, MELISSA        ADDRESS ON FILE
CINTRON GONZALEZ, MELISSA M      ADDRESS ON FILE
CINTRON GONZALEZ, MIGDA I        ADDRESS ON FILE
CINTRON GONZALEZ, NILDA          ADDRESS ON FILE
CINTRON GONZALEZ, OLGA           ADDRESS ON FILE
CINTRON GONZALEZ, OMAR J.        ADDRESS ON FILE
CINTRON GONZALEZ, OSVALDO        ADDRESS ON FILE
Cintron Gonzalez, Pedro A.       ADDRESS ON FILE
Cintron Gonzalez, Sergio M       ADDRESS ON FILE
CINTRON GONZALEZ, SONIA          ADDRESS ON FILE
CINTRON GONZALEZ, VANESSA C      ADDRESS ON FILE
CINTRON GONZALEZ, VILMA C        ADDRESS ON FILE
CINTRON GONZALEZ, WANDA          ADDRESS ON FILE
CINTRON GONZALEZ,OMAR J.         ADDRESS ON FILE
CINTRON GREEN, RADAMES           ADDRESS ON FILE
CINTRON GUASP, NINUTCHKA MARIE   ADDRESS ON FILE
CINTRON GUEVARA, OMAYRA          ADDRESS ON FILE
CINTRON GUZMAN, KALY             ADDRESS ON FILE
CINTRON GUZMAN, LEONARDO J.      ADDRESS ON FILE
CINTRON GUZMAN, MARIA P          ADDRESS ON FILE
CINTRON GUZMAN, RHAYZA           ADDRESS ON FILE
Cintron Heredia, Diomara         ADDRESS ON FILE
CINTRON HERNANDEZ, ADANISSE      ADDRESS ON FILE
CINTRON HERNANDEZ, ALEJANDRO     ADDRESS ON FILE
CINTRON HERNANDEZ, ANDY          ADDRESS ON FILE
CINTRON HERNANDEZ, ANGEL         ADDRESS ON FILE
CINTRON HERNANDEZ, BELKIS A      ADDRESS ON FILE
CINTRON HERNANDEZ, CARLOS        ADDRESS ON FILE
CINTRON HERNANDEZ, CYNTHIA L     ADDRESS ON FILE
CINTRON HERNANDEZ, DENIS I.      ADDRESS ON FILE
CINTRON HERNANDEZ, DENNIS        ADDRESS ON FILE
CINTRON HERNANDEZ, GISELA        ADDRESS ON FILE
Cintron Hernandez, Jaime O.      ADDRESS ON FILE
Cintron Hernandez, Julio         ADDRESS ON FILE
CINTRON HERNANDEZ, JULIO         ADDRESS ON FILE
CINTRON HERNANDEZ, MAYRA         ADDRESS ON FILE
CINTRON HERNANDEZ, MAYRA J.      ADDRESS ON FILE
Cintron Hernandez, Mayra J.      ADDRESS ON FILE
CINTRON HERNANDEZ, MIGDALIA      ADDRESS ON FILE
CINTRON HERNANDEZ, MIGDALIA      ADDRESS ON FILE
CINTRON HERNANDEZ, NIXSALIS      ADDRESS ON FILE
CINTRON HERNANDEZ, PEDRO A       ADDRESS ON FILE
CINTRON HERNANDEZ, VICTOR        ADDRESS ON FILE
CINTRON HERNANDEZ, VICTOR L      ADDRESS ON FILE
CINTRON HERNANDEZ, YVETTE        ADDRESS ON FILE
CINTRON HERRERA, MILDRED         ADDRESS ON FILE
CINTRON HERRERA, MILLICENT       ADDRESS ON FILE
CINTRON II AGOSTO, MOISES        ADDRESS ON FILE
Cintron III Marc, Gabriel R      ADDRESS ON FILE
CINTRON III MARCO, GABRIEL       ADDRESS ON FILE
CINTRON INGLES, JOEL             ADDRESS ON FILE
CINTRON IRIZARRY, ANNETTE        ADDRESS ON FILE
CINTRON IRIZARRY, CARLOS         ADDRESS ON FILE
CINTRON IRIZARRY, CHEYRIE M      ADDRESS ON FILE
CINTRON IRIZARRY, CHRISTIAN      ADDRESS ON FILE
CINTRON IRIZARRY, ELLISON        ADDRESS ON FILE
CINTRON IRIZARRY, IRIS           ADDRESS ON FILE
CINTRON IRIZARRY, IRIS           ADDRESS ON FILE
CINTRON IRRIZARY, LUIS           ADDRESS ON FILE




                                                                             Page 1518 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1519 of 3500
                                                                                17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                    Address1                  Address2                           Address3   Address4   City          State   PostalCode   Country
CINTRON JACOME, CARLOS           ADDRESS ON FILE
CINTRON JEREMIAS, MYRIAM         ADDRESS ON FILE
CINTRON JIMENEZ, ANGEL EDUARDO   ADDRESS ON FILE
CINTRON JIMENEZ, ANGEL L         ADDRESS ON FILE
CINTRON JIMENEZ, CARLOS          ADDRESS ON FILE
CINTRON JORGE, GILBERTO          ADDRESS ON FILE
CINTRON JURADO, MARIA            ADDRESS ON FILE
CINTRON JUSINO, JAVIER A.        ADDRESS ON FILE
CINTRON LABOY, CECILIO           ADDRESS ON FILE
CINTRON LAFONTAINE, DAIHANARA    ADDRESS ON FILE
CINTRON LAFONTAINE, ELIZABETH    ADDRESS ON FILE
CINTRON LANDRON, ISRAEL          ADDRESS ON FILE
CINTRON LANDRON, MARIBEL         POR DERECHO PROPIO        URB. LA ESPERANZA                  CALLE 2               VEGA ALTA     PR      00692
Cintron Laureano, Arlene         ADDRESS ON FILE
CINTRON LAUZURIQUE, LAURA        ADDRESS ON FILE
CINTRON LAZU, JAIME              ADDRESS ON FILE
CINTRON LEBRON, JUAN             ADDRESS ON FILE
Cintron Lebron, Lourdes S        ADDRESS ON FILE
CINTRON LEBRON, MARIA DE LOS A   ADDRESS ON FILE
CINTRON LEBRON, ROSELYN          ADDRESS ON FILE
CINTRON LEYVA, MICHAEL           ADDRESS ON FILE
CINTRON LOPEZ MD, JUAN           ADDRESS ON FILE
Cintron Lopez, Angel F           ADDRESS ON FILE
CINTRON LOPEZ, CARLOS            ADDRESS ON FILE
CINTRON LOPEZ, CHRISTIAN         ADDRESS ON FILE
CINTRON LOPEZ, DIANA             ADDRESS ON FILE
CINTRON LOPEZ, DIANA             ADDRESS ON FILE
CINTRON LOPEZ, EDGAR             ADDRESS ON FILE
CINTRON LOPEZ, ELISA             ADDRESS ON FILE
CINTRON LOPEZ, FRANCES M         ADDRESS ON FILE
CINTRON LOPEZ, FRANCISCO         ADDRESS ON FILE
CINTRON LOPEZ, HAYDEE            ADDRESS ON FILE
CINTRON LOPEZ, IVAN              ADDRESS ON FILE
CINTRON LOPEZ, IVETTE            ADDRESS ON FILE
CINTRON LOPEZ, JAVIER            ADDRESS ON FILE
CINTRON LOPEZ, JORGE L.          ADDRESS ON FILE
CINTRON LOPEZ, JOSE A.           ADDRESS ON FILE
CINTRON LOPEZ, JOSE G            ADDRESS ON FILE
CINTRON LOPEZ, JUAN              ADDRESS ON FILE
CINTRON LOPEZ, JUAN A.           ADDRESS ON FILE
CINTRON LOPEZ, LISA MARIEL       ADDRESS ON FILE
CINTRON LOPEZ, MAREM             ADDRESS ON FILE
CINTRON LOPEZ, MARGIE I          ADDRESS ON FILE
CINTRON LOPEZ, MARIA             ADDRESS ON FILE
CINTRON LOPEZ, MARIA             ADDRESS ON FILE
CINTRON LOPEZ, MARIA E           ADDRESS ON FILE
CINTRON LOPEZ, MARITZA           ADDRESS ON FILE
CINTRON LOPEZ, MARITZA           ADDRESS ON FILE
CINTRON LOPEZ, MARITZA           ADDRESS ON FILE
CINTRON LOPEZ, NATALIA D.        ADDRESS ON FILE
CINTRON LOPEZ, SUHEIN            ADDRESS ON FILE
CINTRON LOPEZ, VANESA            ADDRESS ON FILE
CINTRON LOPEZ, WANDA             ADDRESS ON FILE
CINTRON LORENZI, CARLOS R        ADDRESS ON FILE
CINTRON LORENZO, BETHZAIDA       ADDRESS ON FILE
CINTRON LORENZO, BETHZAIDA       ADDRESS ON FILE
CINTRON LORENZO, MARISARA        ADDRESS ON FILE
CINTRON LOZADA, GLADYS           ADDRESS ON FILE
CINTRON LOZADA, ILSA I           ADDRESS ON FILE
CINTRON LOZADA, JESUS            ADDRESS ON FILE




                                                                               Page 1519 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1520 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cintron Lugo, Amilcar             ADDRESS ON FILE
CINTRON LUGO, EDWIN               ADDRESS ON FILE
CINTRON LUGO, EDWIN J             ADDRESS ON FILE
CINTRON LUGO, LYMARI              ADDRESS ON FILE
CINTRON LUGO, MAXIMINO            ADDRESS ON FILE
CINTRON LUGO, SANDRA              ADDRESS ON FILE
CINTRON LUNA, NAYDA               ADDRESS ON FILE
CINTRON MADERA, ISABEL            ADDRESS ON FILE
CINTRON MADERA, MARIA DEL R       ADDRESS ON FILE
CINTRON MADERA, MIGUEL A          ADDRESS ON FILE
CINTRON MAIZ, NOLAN               ADDRESS ON FILE
CINTRON MALAVE, JORGE             ADDRESS ON FILE
CINTRON MALDONADO, ALBERTO        ADDRESS ON FILE
Cintron Maldonado, Alberto C.     ADDRESS ON FILE
CINTRON MALDONADO, ALEXIS         ADDRESS ON FILE
CINTRON MALDONADO, ANNETTE        ADDRESS ON FILE
CINTRON MALDONADO, CANDIDA R      ADDRESS ON FILE
CINTRON MALDONADO, CARMEN I       ADDRESS ON FILE
CINTRON MALDONADO, DIANA          ADDRESS ON FILE
CINTRON MALDONADO, IVETTE         ADDRESS ON FILE
CINTRON MALDONADO, JORGE          ADDRESS ON FILE
CINTRON MALDONADO, LINA D         ADDRESS ON FILE
CINTRON MALDONADO, LUIS           ADDRESS ON FILE
Cintron Maldonado, Luis A         ADDRESS ON FILE
CINTRON MALDONADO, MARCOS C       ADDRESS ON FILE
CINTRON MALDONADO, RAFAEL         ADDRESS ON FILE
CINTRON MALDONADO, RAFAEL         ADDRESS ON FILE
CINTRON MALDONADO, ROBERTO        ADDRESS ON FILE
CINTRON MALDONADO,MARGARITA       ADDRESS ON FILE
CINTRON MANGUAL, GABRIEL F        ADDRESS ON FILE
CINTRON MANGUAL, JESSICA          ADDRESS ON FILE
CINTRON MANGUAL, LUIS             ADDRESS ON FILE
CINTRON MANGUAL, RUBEN            ADDRESS ON FILE
CINTRON MANZANO, JULIA            ADDRESS ON FILE
CINTRON MANZANO, LUZ E            ADDRESS ON FILE
CINTRON MARCANO, WANDA I          ADDRESS ON FILE
CINTRON MARCANO, YAJAIRA E        ADDRESS ON FILE
CINTRON MARQUEZ, GLORIA M         ADDRESS ON FILE
CINTRON MARQUEZ, JOSE D.          ADDRESS ON FILE
CINTRON MARRERO, ALEXANDER        ADDRESS ON FILE
Cintron Marrero, Jose F           ADDRESS ON FILE
CINTRON MARRERO, LEIDA            ADDRESS ON FILE
CINTRON MARRERO, LUIS             ADDRESS ON FILE
CINTRON MARRERO, OLGA             ADDRESS ON FILE
CINTRON MARRERO, ZINNIA           ADDRESS ON FILE
CINTRON MARTINEZ, ANGEL           ADDRESS ON FILE
Cintron Martinez, Apolinar        ADDRESS ON FILE
CINTRON MARTINEZ, DAMARIS         ADDRESS ON FILE
CINTRON MARTINEZ, EDITH           ADDRESS ON FILE
CINTRON MARTINEZ, EDWIN           ADDRESS ON FILE
CINTRON MARTINEZ, JOSE            ADDRESS ON FILE
Cintron Martinez, Jose Manuel     ADDRESS ON FILE
CINTRON MARTINEZ, JUAN            ADDRESS ON FILE
CINTRON MARTINEZ, KAREN NAHIOMY   ADDRESS ON FILE
CINTRON MARTINEZ, KARLA           ADDRESS ON FILE
CINTRON MARTINEZ, MIGNA           ADDRESS ON FILE
CINTRON MARTINEZ, SANDRA          ADDRESS ON FILE
Cintron Martinez, Sandra E        ADDRESS ON FILE
Cintron Martinez, Zaydylyz        ADDRESS ON FILE
CINTRON MARTINEZ, ZAYDYLYZ        ADDRESS ON FILE




                                                                              Page 1520 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1521 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cintron Martinez, Zuhany       ADDRESS ON FILE
CINTRON MARTINEZ, ZUZZAN       ADDRESS ON FILE
CINTRON MARZAN, EVELYN         ADDRESS ON FILE
CINTRON MATEO, CARLOS          ADDRESS ON FILE
CINTRON MATEO, JOSE L.         ADDRESS ON FILE
CINTRON MATEO, ROSA M          ADDRESS ON FILE
CINTRON MATOS, MARICELA        ADDRESS ON FILE
CINTRON MATOS, SANTIAGO        ADDRESS ON FILE
CINTRON MATTEI, WILLIAM        ADDRESS ON FILE
CINTRON MEDINA, CARMEN M       ADDRESS ON FILE
CINTRON MEDINA, CARMEN M       ADDRESS ON FILE
CINTRON MEDINA, ELEUTERIO      ADDRESS ON FILE
Cintron Medina, Evelyn         ADDRESS ON FILE
CINTRON MEDINA, GLADYS M       ADDRESS ON FILE
CINTRON MEDINA, NEIDY          ADDRESS ON FILE
CINTRON MEDINA, PRISCILLA      ADDRESS ON FILE
CINTRON MEDINA, REY            ADDRESS ON FILE
CINTRON MEJIAS, GLORIA         ADDRESS ON FILE
CINTRON MEJIAS, GRISEL         ADDRESS ON FILE
CINTRON MELENDEZ, ALICIA L     ADDRESS ON FILE
CINTRON MELENDEZ, EVELYN       ADDRESS ON FILE
CINTRON MELENDEZ, GINDYMAR     ADDRESS ON FILE
CINTRON MELENDEZ, GINDYMAR     ADDRESS ON FILE
Cintron Melendez, Johnny       ADDRESS ON FILE
CINTRON MELENDEZ, JORGE L.     ADDRESS ON FILE
CINTRON MELENDEZ, JOSE         ADDRESS ON FILE
CINTRON MELENDEZ, JOSE A       ADDRESS ON FILE
CINTRON MELENDEZ, JOSE R       ADDRESS ON FILE
CINTRON MELENDEZ, LIZZETTE M   ADDRESS ON FILE
CINTRON MELENDEZ, MARIAM       ADDRESS ON FILE
CINTRON MELENDEZ, MICHELLE     ADDRESS ON FILE
CINTRON MELENDEZ, NILDA        ADDRESS ON FILE
CINTRON MELENDEZ, OMAYRA       ADDRESS ON FILE
Cintron Mendez, Carlos         ADDRESS ON FILE
CINTRON MENDEZ, DAISY          ADDRESS ON FILE
CINTRON MENDEZ, LAURA          ADDRESS ON FILE
CINTRON MENDEZ, NORA S         ADDRESS ON FILE
CINTRON MENDEZ, YERALDINE      ADDRESS ON FILE
CINTRON MERCADO, ARNALDO       ADDRESS ON FILE
CINTRON MERCADO, ELIZABETH     ADDRESS ON FILE
CINTRON MERCADO, HECTOR A      ADDRESS ON FILE
CINTRON MERCADO, ILUMINADA     ADDRESS ON FILE
CINTRON MERCADO, JOHANNA       ADDRESS ON FILE
CINTRON MERCADO, JOSUE         ADDRESS ON FILE
CINTRON MERCADO, MARIA         ADDRESS ON FILE
CINTRON MERCADO, MARILYN       ADDRESS ON FILE
CINTRON MERCADO, MAYRA         ADDRESS ON FILE
CINTRON MERCADO, MELBA E       ADDRESS ON FILE
CINTRON MERCADO, OLGA DEL      ADDRESS ON FILE
CINTRON MERCADO, RAMON         ADDRESS ON FILE
CINTRON MERCADO, REINALDO      ADDRESS ON FILE
CINTRON MERCADO, WILSON        ADDRESS ON FILE
CINTRON MERCED, CYNTHIA        ADDRESS ON FILE
CINTRON MERCED, LUIS A         ADDRESS ON FILE
CINTRON MERCED, RAMON          ADDRESS ON FILE
CINTRON MESTRE, JENNIFER       ADDRESS ON FILE
CINTRON MILANES, CARMEN        ADDRESS ON FILE
CINTRON MILANES, JUAN          ADDRESS ON FILE
CINTRON MILLAN, ERIC           ADDRESS ON FILE
CINTRON MINGUELA, FELIPE       ADDRESS ON FILE




                                                                           Page 1521 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1522 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON MIRANDA, JOSE          ADDRESS ON FILE
CINTRON MIRANDA, JOSE L        ADDRESS ON FILE
CINTRON MOCTEZUMA, JOSEFINA    ADDRESS ON FILE
CINTRON MOJICA, BETHZAIDA      ADDRESS ON FILE
CINTRON MOJICA, GLORIBELL      ADDRESS ON FILE
CINTRON MOLINA, BETZAIDA       ADDRESS ON FILE
Cintron Molina, Gregorio       ADDRESS ON FILE
CINTRON MOLINA, WANDA          ADDRESS ON FILE
CINTRON MONDRIGUEZ, ELENA      ADDRESS ON FILE
Cintron Monge, Cecilio         ADDRESS ON FILE
Cintron Monge, Fernando        ADDRESS ON FILE
CINTRON MONROIG, LUIS DANIEL   ADDRESS ON FILE
CINTRON MONTALVO, MIRIAM       ADDRESS ON FILE
CINTRON MONTANEZ, IRIS I       ADDRESS ON FILE
CINTRON MONTANEZ, LUIS         ADDRESS ON FILE
CINTRON MONTANEZ, RAYMOND      ADDRESS ON FILE
CINTRON MONTERO, WANDA         ADDRESS ON FILE
CINTRON MONZON, NELIDA         ADDRESS ON FILE
CINTRON MORALES, AHIBEL L.     ADDRESS ON FILE
CINTRON MORALES, ANGEL         ADDRESS ON FILE
CINTRON MORALES, CARLA M       ADDRESS ON FILE
CINTRON MORALES, ELIZABETH     ADDRESS ON FILE
Cintron Morales, Emilio        ADDRESS ON FILE
CINTRON MORALES, GENOVEVA      ADDRESS ON FILE
CINTRON MORALES, JOHNNY        ADDRESS ON FILE
CINTRON MORALES, JOSE A        ADDRESS ON FILE
CINTRON MORALES, JUAN          ADDRESS ON FILE
CINTRON MORALES, LUIS          ADDRESS ON FILE
CINTRON MORALES, MARLENE       ADDRESS ON FILE
Cintron Morales, Radames       ADDRESS ON FILE
CINTRON MORALES, RAYMOND       ADDRESS ON FILE
CINTRON MORALES, WILLIAM       ADDRESS ON FILE
Cintron Morales, Wilson        ADDRESS ON FILE
CINTRON MORALES, YAMILA E      ADDRESS ON FILE
CINTRON MORENO, JOSE A.        ADDRESS ON FILE
CINTRON MOSCOSO, CAROLA        ADDRESS ON FILE
CINTRON MOYA, IAN              ADDRESS ON FILE
CINTRON MULERO, DAISY          ADDRESS ON FILE
CINTRON MULERO, EDWIN          ADDRESS ON FILE
CINTRON MUNIZ, LUIS            ADDRESS ON FILE
CINTRON MUSIGNAC, MARIELA      ADDRESS ON FILE
CINTRON MUSIGNAC, NOELIA       ADDRESS ON FILE
CINTRON NAZARIO, CARMEN T      ADDRESS ON FILE
CINTRON NEGRON, CARMEN M.      ADDRESS ON FILE
Cintron Negron, Hector         ADDRESS ON FILE
CINTRON NEGRON, JOSE ANTONIO   ADDRESS ON FILE
CINTRON NEGRON,EDWIN           ADDRESS ON FILE
CINTRON NIEVES, ADLIN          ADDRESS ON FILE
CINTRON NIEVES, EFRAINA        ADDRESS ON FILE
CINTRON NIEVES, FELIX E.       ADDRESS ON FILE
CINTRON NIEVES, GRACIELA       ADDRESS ON FILE
CINTRON NIEVES, IVELISSA       ADDRESS ON FILE
CINTRON NIEVES, JOSE R         ADDRESS ON FILE
CINTRON NIEVES, LYMARIE        ADDRESS ON FILE
CINTRON NIEVES, MARGARITA      ADDRESS ON FILE
CINTRON NIEVES, MARIA          ADDRESS ON FILE
Cintron Nieves, Miguel         ADDRESS ON FILE
CINTRON NIEVES, MIRTA          ADDRESS ON FILE
CINTRON NIEVES, SAIRA          ADDRESS ON FILE
Cintron Nogueras, Luis D       ADDRESS ON FILE




                                                                           Page 1522 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1523 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON NOGUERAS, SARAI         ADDRESS ON FILE
CINTRON NORIEGA, JOSE M         ADDRESS ON FILE
CINTRON NORIEGA, NELSON         ADDRESS ON FILE
CINTRON NORIEGA, NELSON R       ADDRESS ON FILE
CINTRON NUNEZ, JOSE             ADDRESS ON FILE
CINTRON NUNEZ, LUIS D           ADDRESS ON FILE
CINTRON NUNEZ, LUZ D.           ADDRESS ON FILE
CINTRON NUNEZ, RICARDO          ADDRESS ON FILE
CINTRON NUQEZ, WILMA            ADDRESS ON FILE
CINTRON OCASIO, EDUARDO J       ADDRESS ON FILE
Cintron Ocasio, Javier          ADDRESS ON FILE
CINTRON OCASIO, JEYVIER         ADDRESS ON FILE
CINTRON OCASIO, RAMON           ADDRESS ON FILE
Cintron Ocasio, Yajaira N.      ADDRESS ON FILE
CINTRON OCASIO, YASHIRA         ADDRESS ON FILE
CINTRON OCASIO, YOLANDA         ADDRESS ON FILE
CINTRON OJEDA, JEHIELY Z.       ADDRESS ON FILE
CINTRON OLIVER, JAZMIN          ADDRESS ON FILE
CINTRON OLIVERA, WANCEDYS       ADDRESS ON FILE
CINTRON OLIVERA, WANCEDYS       ADDRESS ON FILE
CINTRON OLIVERAS, BRENDA        ADDRESS ON FILE
CINTRON OLIVIERI, CHRISTOPHER   ADDRESS ON FILE
CINTRON OLIVIERI, MICHELLE      ADDRESS ON FILE
Cintron Olivo, Noemi            ADDRESS ON FILE
CINTRON OLMEDA, VICTOR M.       ADDRESS ON FILE
CINTRON OLMEDO, GLADYS          ADDRESS ON FILE
CINTRON OPIO, PEDRO A.          ADDRESS ON FILE
CINTRON OQUENDO, DAMARIS        ADDRESS ON FILE
CINTRON OQUENDO, ELAINE A       ADDRESS ON FILE
CINTRON OQUENDO, ISMAEL         ADDRESS ON FILE
CINTRON OQUENDO, RUTH M         ADDRESS ON FILE
CINTRON OQUENDO, SANDRALIZ      ADDRESS ON FILE
Cintron Orengo, Isabel          ADDRESS ON FILE
CINTRON ORENGO, MARIA           ADDRESS ON FILE
CINTRON ORTEGA, CARMEN L        ADDRESS ON FILE
CINTRON ORTIZ MD, HERIBERTO     ADDRESS ON FILE
CINTRON ORTIZ, ABRAHAM          ADDRESS ON FILE
CINTRON ORTIZ, ALICE L          ADDRESS ON FILE
CINTRON ORTIZ, ANGEL L.         ADDRESS ON FILE
CINTRON ORTIZ, ANGELICA         ADDRESS ON FILE
Cintron Ortiz, Brenda I         ADDRESS ON FILE
CINTRON ORTIZ, CARMEN           ADDRESS ON FILE
CINTRON ORTIZ, EDGARDO          ADDRESS ON FILE
CINTRON ORTIZ, EDGARDO A        ADDRESS ON FILE
CINTRON ORTIZ, EDUARDO R        ADDRESS ON FILE
CINTRON ORTIZ, GONZALO          ADDRESS ON FILE
CINTRON ORTIZ, HARRY F          ADDRESS ON FILE
CINTRON ORTIZ, IRMA A           ADDRESS ON FILE
CINTRON ORTIZ, IRVIN E.         ADDRESS ON FILE
CINTRON ORTIZ, IVETTE           ADDRESS ON FILE
CINTRON ORTIZ, JAIME            ADDRESS ON FILE
CINTRON ORTIZ, JUANA J          ADDRESS ON FILE
CINTRON ORTIZ, LUIS             ADDRESS ON FILE
CINTRON ORTIZ, LUIS             ADDRESS ON FILE
CINTRON ORTIZ, LUZ D.           ADDRESS ON FILE
CINTRON ORTIZ, LUZ D.           ADDRESS ON FILE
CINTRON ORTIZ, LYNETTE          ADDRESS ON FILE
CINTRON ORTIZ, MABEL DEL C      ADDRESS ON FILE
CINTRON ORTIZ, MARIA C.         ADDRESS ON FILE
CINTRON ORTIZ, MARIA C.         ADDRESS ON FILE




                                                                            Page 1523 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1524 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON ORTIZ, MARIA DE P.     ADDRESS ON FILE
CINTRON ORTIZ, MARIA DE P.     ADDRESS ON FILE
CINTRON ORTIZ, MARIEL          ADDRESS ON FILE
CINTRON ORTIZ, MAYRA           ADDRESS ON FILE
CINTRON ORTIZ, MAYRA           ADDRESS ON FILE
CINTRON ORTIZ, MERIDA          ADDRESS ON FILE
CINTRON ORTIZ, NILDA           ADDRESS ON FILE
CINTRON ORTIZ, NYDIA I         ADDRESS ON FILE
CINTRON ORTIZ, NYDIA J         ADDRESS ON FILE
CINTRON ORTIZ, RAMON           ADDRESS ON FILE
CINTRON ORTIZ, RAYMESH         ADDRESS ON FILE
CINTRON ORTIZ, RICHARD         ADDRESS ON FILE
CINTRON ORTIZ, RUTH            ADDRESS ON FILE
CINTRON ORTIZ, YANITZA         ADDRESS ON FILE
CINTRON ORTIZ, YARELIS M       ADDRESS ON FILE
CINTRON ORTIZ, YARIBETH        ADDRESS ON FILE
CINTRON ORTIZ, YARIBETH        ADDRESS ON FILE
CINTRON ORTIZ, ZENAIDA         ADDRESS ON FILE
CINTRON ORTIZ, ZULMA E         ADDRESS ON FILE
CINTRON OSORIO, JOSUE          ADDRESS ON FILE
CINTRON OSORIO, MARIA G        ADDRESS ON FILE
CINTRON OTERO, BLANCA IRIS     ADDRESS ON FILE
CINTRON OTERO, EFRAIN          ADDRESS ON FILE
CINTRON OTERO, ELENA           ADDRESS ON FILE
CINTRON OTERO, FRANCISCO       ADDRESS ON FILE
CINTRON OTERO, JANETTE         ADDRESS ON FILE
CINTRON OTERO, JOSE            ADDRESS ON FILE
CINTRON OTERO, LILIANA         ADDRESS ON FILE
CINTRON OTERO, NILSA I         ADDRESS ON FILE
CINTRON OTERO, PABLO           ADDRESS ON FILE
CINTRON OTERO, PATRICIA        ADDRESS ON FILE
CINTRON OTERO, ROBERTO         ADDRESS ON FILE
CINTRON OTERO, SONIA           ADDRESS ON FILE
CINTRON OTERO, WILFREDO        ADDRESS ON FILE
CINTRON PACHECO, ABIMAEL       ADDRESS ON FILE
Cintron Pacheco, Angel         ADDRESS ON FILE
CINTRON PACHECO, DANIEL        ADDRESS ON FILE
CINTRON PACHECO, FRANKY        ADDRESS ON FILE
CINTRON PACHECO, ZENAIDA       ADDRESS ON FILE
CINTRON PADILLA, ANGEL         ADDRESS ON FILE
CINTRON PADILLA, ELIZ Y.       ADDRESS ON FILE
CINTRON PADILLA, WILMA         ADDRESS ON FILE
CINTRON PAGAN, DALILA          ADDRESS ON FILE
CINTRON PAGAN, DAVID           ADDRESS ON FILE
CINTRON PAGAN, MARIA DE        ADDRESS ON FILE
CINTRON PAGAN, MARIA DE L      ADDRESS ON FILE
CINTRON PAGAN, ZULMA I         ADDRESS ON FILE
CINTRON PANTOJAS, HIPOLITO     ADDRESS ON FILE
CINTRON PARIS, CLAUDIA         ADDRESS ON FILE
CINTRON PARRILLA, DELMA C      ADDRESS ON FILE
CINTRON PARRILLA, ELIZABETH    ADDRESS ON FILE
CINTRON PASTRANA, MARIELISSE   ADDRESS ON FILE
CINTRON PELLOT, ALVIN          ADDRESS ON FILE
CINTRON PENA, CARMEN V         ADDRESS ON FILE
CINTRON PENA, DOMINGO          ADDRESS ON FILE
CINTRON PENA, DOMINGO          ADDRESS ON FILE
CINTRON PENA, NILSA I          ADDRESS ON FILE
CINTRON PENA, REBECA           ADDRESS ON FILE
CINTRON PERALES, ILEANA        ADDRESS ON FILE
CINTRON PERALES, ILEANA        ADDRESS ON FILE




                                                                           Page 1524 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1525 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON PERALES, RAFAEL        ADDRESS ON FILE
CINTRON PEREZ, ADARGELIA       ADDRESS ON FILE
CINTRON PEREZ, APOLINAR        ADDRESS ON FILE
CINTRON PEREZ, BENJAMIN        ADDRESS ON FILE
CINTRON PEREZ, CARMEN          ADDRESS ON FILE
CINTRON PEREZ, CHRISTIAN O.    ADDRESS ON FILE
CINTRON PEREZ, DORIS J.        ADDRESS ON FILE
CINTRON PEREZ, ELIZABETH       ADDRESS ON FILE
CINTRON PEREZ, ELIZABETH       ADDRESS ON FILE
CINTRON PEREZ, FRANCISCO J     ADDRESS ON FILE
CINTRON PEREZ, GERARDO         ADDRESS ON FILE
CINTRON PEREZ, HILDA I         ADDRESS ON FILE
CINTRON PEREZ, JOSE            ADDRESS ON FILE
CINTRON PEREZ, JUAN            ADDRESS ON FILE
CINTRON PEREZ, LEZMAY          ADDRESS ON FILE
CINTRON PEREZ, LUIS            ADDRESS ON FILE
CINTRON PEREZ, LUIS            ADDRESS ON FILE
CINTRON PEREZ, LUZ A.          ADDRESS ON FILE
CINTRON PEREZ, MAGANY          ADDRESS ON FILE
CINTRON PEREZ, MARITZA         ADDRESS ON FILE
CINTRON PEREZ, MIGUEL          ADDRESS ON FILE
CINTRON PEREZ, MIRIAM          ADDRESS ON FILE
CINTRON PEREZ, NORMA           ADDRESS ON FILE
CINTRON PEREZ, OLGA I          ADDRESS ON FILE
CINTRON PEREZ, ORIANN M        ADDRESS ON FILE
CINTRON PEREZ, OSCAR           ADDRESS ON FILE
CINTRON PEREZ, RAMONA          ADDRESS ON FILE
CINTRON PEREZ, VIVIAN JANET    ADDRESS ON FILE
CINTRON PEREZ, YASHIRA M       ADDRESS ON FILE
CINTRON PEREZ, YOMARIS         ADDRESS ON FILE
Cintron Pineiro, Ingrid Y      ADDRESS ON FILE
CINTRON PINERO MD, ALEX        ADDRESS ON FILE
CINTRON PINERO, ALEX           ADDRESS ON FILE
CINTRON PINERO, MYRTA B        ADDRESS ON FILE
CINTRON PINTADO, JOELIA        ADDRESS ON FILE
CINTRON PINTADO, LUIS J        ADDRESS ON FILE
CINTRON PIZARRO, IVETTE        ADDRESS ON FILE
CINTRON PIZARRO, IVETTE        ADDRESS ON FILE
CINTRON POMALES, ROSA B        ADDRESS ON FILE
CINTRON PONCE, CARLOS R        ADDRESS ON FILE
CINTRON PONCE, GLORIA E        ADDRESS ON FILE
CINTRON PONCE, MARGARET        ADDRESS ON FILE
CINTRON PONTON MD, MARCELINO   ADDRESS ON FILE
CINTRON PONTON, MARIARELI      ADDRESS ON FILE
CINTRON PRADO, ANGEL           ADDRESS ON FILE
CINTRON PRINCIPE MD, HECTOR    ADDRESS ON FILE
CINTRON PRINCIPE, HECTOR       ADDRESS ON FILE
CINTRON QUESADA, CARMEN        ADDRESS ON FILE
CINTRON QUINONES, JAVIER       ADDRESS ON FILE
CINTRON QUINONES, NATANAEL     ADDRESS ON FILE
CINTRON QUINONES, RADAMES      ADDRESS ON FILE
CINTRON QUINONES, RADAMES      ADDRESS ON FILE
CINTRON QUINTANA, LYDIA        ADDRESS ON FILE
CINTRON QUINTANA, LYDIA I.     ADDRESS ON FILE
CINTRON RAMIREZ, ANNETTE       ADDRESS ON FILE
CINTRON RAMIREZ, GIL           ADDRESS ON FILE
CINTRON RAMIREZ, MARIA L       ADDRESS ON FILE
CINTRON RAMOS, ANA R           ADDRESS ON FILE
CINTRON RAMOS, ARIEL           ADDRESS ON FILE
CINTRON RAMOS, DEBORAH         ADDRESS ON FILE




                                                                           Page 1525 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1526 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cintron Ramos, Jaime        ADDRESS ON FILE
CINTRON RAMOS, JAIME        ADDRESS ON FILE
CINTRON RAMOS, JAVIER       ADDRESS ON FILE
CINTRON RAMOS, JESSICA D    ADDRESS ON FILE
CINTRON RAMOS, JOSE         ADDRESS ON FILE
CINTRON RAMOS, JOSE F       ADDRESS ON FILE
CINTRON RAMOS, JUAN         ADDRESS ON FILE
CINTRON RAMOS, JULY         ADDRESS ON FILE
CINTRON RAMOS, MARIA A      ADDRESS ON FILE
CINTRON RAMOS, MARIA I      ADDRESS ON FILE
CINTRON RAMOS, MARITZA      ADDRESS ON FILE
CINTRON RAMOS, MICHELLE N   ADDRESS ON FILE
CINTRON RAMOS, MIGUEL A     ADDRESS ON FILE
CINTRON RAMOS, SOCORRO      ADDRESS ON FILE
CINTRON RAMOS, WANDA        ADDRESS ON FILE
CINTRON RESTO, MARIBEL      ADDRESS ON FILE
Cintron Reyes, Armacelis    ADDRESS ON FILE
CINTRON REYES, CARLOS       ADDRESS ON FILE
CINTRON REYES, CARMEN       ADDRESS ON FILE
CINTRON REYES, EVELYN       ADDRESS ON FILE
CINTRON REYES, GERARDO      ADDRESS ON FILE
CINTRON REYES, JEYMAR       ADDRESS ON FILE
CINTRON REYES, JORGE        ADDRESS ON FILE
CINTRON REYES, MADELINE     ADDRESS ON FILE
CINTRON RIERA, MYRIAM       ADDRESS ON FILE
CINTRON RIOS, CARMEN        ADDRESS ON FILE
CINTRON RIOS, DEBORAH N     ADDRESS ON FILE
CINTRON RIOS, ERIKA I       ADDRESS ON FILE
CINTRON RIOS, IRAYDA        ADDRESS ON FILE
CINTRON RIOS, IRAYDA        ADDRESS ON FILE
CINTRON RIOS, MARIA A       ADDRESS ON FILE
CINTRON RIOS, NILSA I       ADDRESS ON FILE
CINTRON RIOS, ROSA H        ADDRESS ON FILE
CINTRON RIVERA, ADOLFO      ADDRESS ON FILE
CINTRON RIVERA, AIDA        ADDRESS ON FILE
CINTRON RIVERA, AIDA I      ADDRESS ON FILE
CINTRON RIVERA, AIDA L.     ADDRESS ON FILE
CINTRON RIVERA, AILEEN      ADDRESS ON FILE
CINTRON RIVERA, ALEJANDRO   ADDRESS ON FILE
CINTRON RIVERA, ALFREDO     ADDRESS ON FILE
CINTRON RIVERA, ANA HILDA   ADDRESS ON FILE
CINTRON RIVERA, ANGEL       ADDRESS ON FILE
CINTRON RIVERA, ANGEL       ADDRESS ON FILE
CINTRON RIVERA, ANGEL M     ADDRESS ON FILE
Cintron Rivera, Antonio J   ADDRESS ON FILE
CINTRON RIVERA, AUREA       ADDRESS ON FILE
CINTRON RIVERA, CARLA       ADDRESS ON FILE
CINTRON RIVERA, CARLOS      ADDRESS ON FILE
Cintron Rivera, Carmen      ADDRESS ON FILE
CINTRON RIVERA, CARMEN D.   ADDRESS ON FILE
CINTRON RIVERA, CARMEN I    ADDRESS ON FILE
CINTRON RIVERA, CARMEN M.   ADDRESS ON FILE
CINTRON RIVERA, CARMEN P.   ADDRESS ON FILE
CINTRON RIVERA, CARMEN R    ADDRESS ON FILE
CINTRON RIVERA, CARMEN S.   ADDRESS ON FILE
CINTRON RIVERA, DIANA I     ADDRESS ON FILE
CINTRON RIVERA, DIANA T     ADDRESS ON FILE
Cintron Rivera, Edgardo     ADDRESS ON FILE
CINTRON RIVERA, EDGARDO     ADDRESS ON FILE
CINTRON RIVERA, EDNA L      ADDRESS ON FILE




                                                                        Page 1526 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1527 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON RIVERA, ELI           ADDRESS ON FILE
Cintron Rivera, Elizabeth     ADDRESS ON FILE
CINTRON RIVERA, ESTHER        ADDRESS ON FILE
CINTRON RIVERA, GEOVANNY      ADDRESS ON FILE
CINTRON RIVERA, GLISED ENID   ADDRESS ON FILE
CINTRON RIVERA, GLORIBETH     ADDRESS ON FILE
CINTRON RIVERA, GLORIVEE      ADDRESS ON FILE
CINTRON RIVERA, GLORIVEE      ADDRESS ON FILE
CINTRON RIVERA, GREGORIA      ADDRESS ON FILE
CINTRON RIVERA, GRETCHEN      ADDRESS ON FILE
CINTRON RIVERA, GUILLERMO     ADDRESS ON FILE
CINTRON RIVERA, HUMBERTO      ADDRESS ON FILE
CINTRON RIVERA, JAIME L.      ADDRESS ON FILE
CINTRON RIVERA, JANNIS        ADDRESS ON FILE
CINTRON RIVERA, JASON         ADDRESS ON FILE
CINTRON RIVERA, JEANNETTE M   ADDRESS ON FILE
CINTRON RIVERA, JENNIFER      ADDRESS ON FILE
CINTRON RIVERA, JESUS         ADDRESS ON FILE
CINTRON RIVERA, JOEL          ADDRESS ON FILE
CINTRON RIVERA, JOEL          ADDRESS ON FILE
CINTRON RIVERA, JOSE JAVIER   ADDRESS ON FILE
CINTRON RIVERA, JOSE L        ADDRESS ON FILE
CINTRON RIVERA, JOSEFINA      ADDRESS ON FILE
CINTRON RIVERA, JUAN          ADDRESS ON FILE
Cintron Rivera, Juan          ADDRESS ON FILE
CINTRON RIVERA, KAMILLIE      ADDRESS ON FILE
CINTRON RIVERA, KEISALIZ      ADDRESS ON FILE
Cintron Rivera, Kenneth O.    ADDRESS ON FILE
CINTRON RIVERA, KERMIT        ADDRESS ON FILE
Cintron Rivera, Leslie        ADDRESS ON FILE
CINTRON RIVERA, LISHER M.     ADDRESS ON FILE
CINTRON RIVERA, LOURDES I     ADDRESS ON FILE
CINTRON RIVERA, LUIS          ADDRESS ON FILE
Cintron Rivera, Luis E        ADDRESS ON FILE
CINTRON RIVERA, LUIS E.       ADDRESS ON FILE
CINTRON RIVERA, LUIS E.       ADDRESS ON FILE
CINTRON RIVERA, MANUEL        ADDRESS ON FILE
CINTRON RIVERA, MANUEL        ADDRESS ON FILE
CINTRON RIVERA, MARIA         ADDRESS ON FILE
CINTRON RIVERA, MARIA E       ADDRESS ON FILE
CINTRON RIVERA, MAYRA         ADDRESS ON FILE
CINTRON RIVERA, MERCEDES      ADDRESS ON FILE
Cintron Rivera, Miguel A.     ADDRESS ON FILE
CINTRON RIVERA, MILAGROS S.   ADDRESS ON FILE
CINTRON RIVERA, MYRNA I.      ADDRESS ON FILE
CINTRON RIVERA, ORLANDO       ADDRESS ON FILE
CINTRON RIVERA, PEDRO A       ADDRESS ON FILE
CINTRON RIVERA, PEDRO R.      ADDRESS ON FILE
CINTRON RIVERA, PEDRO R.      ADDRESS ON FILE
CINTRON RIVERA, REYNALDO      ADDRESS ON FILE
CINTRON RIVERA, SANDRA        ADDRESS ON FILE
CINTRON RIVERA, SARA          ADDRESS ON FILE
CINTRON RIVERA, SHERLLY       ADDRESS ON FILE
CINTRON RIVERA, TATIANA M     ADDRESS ON FILE
CINTRON RIVERA, TOMAS         ADDRESS ON FILE
CINTRON RIVERA, VERONICA      ADDRESS ON FILE
CINTRON RIVERA, VILMA N       ADDRESS ON FILE
Cintron Rivera, William       ADDRESS ON FILE
Cintron Rivera, Wilmer        ADDRESS ON FILE
CINTRON RIVERA, WILMER        ADDRESS ON FILE




                                                                          Page 1527 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1528 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON RIVERA, YANICES         ADDRESS ON FILE
CINTRON RIVERA, YILMA E         ADDRESS ON FILE
CINTRON RIVERA, YOHAIRA         ADDRESS ON FILE
CINTRON RIVERA, ZORAIDA         ADDRESS ON FILE
CINTRON ROBLES, CATIRIA         ADDRESS ON FILE
CINTRON ROBLES, EDWIN           ADDRESS ON FILE
CINTRON ROBLES, LUZ E           ADDRESS ON FILE
CINTRON ROBLES, NEREIDA         ADDRESS ON FILE
CINTRON RODRIGUEZ, ALEXIS       ADDRESS ON FILE
CINTRON RODRIGUEZ, ALMA N       ADDRESS ON FILE
CINTRON RODRIGUEZ, AMNERYS      ADDRESS ON FILE
CINTRON RODRIGUEZ, ANGEL        ADDRESS ON FILE
CINTRON RODRIGUEZ, ANGEL        ADDRESS ON FILE
Cintron Rodriguez, Angel L      ADDRESS ON FILE
CINTRON RODRIGUEZ, ANTONIA      ADDRESS ON FILE
Cintron Rodriguez, Carlos J     ADDRESS ON FILE
CINTRON RODRIGUEZ, CARMEN       ADDRESS ON FILE
CINTRON RODRIGUEZ, CARMEN A     ADDRESS ON FILE
CINTRON RODRIGUEZ, CARMEN E     ADDRESS ON FILE
CINTRON RODRIGUEZ, CARMEN I     ADDRESS ON FILE
CINTRON RODRIGUEZ, CARMEN L     ADDRESS ON FILE
CINTRON RODRIGUEZ, DEBORAH      ADDRESS ON FILE
CINTRON RODRIGUEZ, DENISSE M.   ADDRESS ON FILE
CINTRON RODRIGUEZ, DOLORES      ADDRESS ON FILE
CINTRON RODRIGUEZ, EDNA         ADDRESS ON FILE
Cintron Rodriguez, Edwin        ADDRESS ON FILE
CINTRON RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
CINTRON RODRIGUEZ, ELYDE        ADDRESS ON FILE
CINTRON RODRIGUEZ, EVELIN       ADDRESS ON FILE
CINTRON RODRIGUEZ, EVELYN       ADDRESS ON FILE
CINTRON RODRIGUEZ, FELICITA     ADDRESS ON FILE
CINTRON RODRIGUEZ, GISELLE      ADDRESS ON FILE
CINTRON RODRIGUEZ, IRMA I       ADDRESS ON FILE
CINTRON RODRIGUEZ, JACKELINE    ADDRESS ON FILE
CINTRON RODRIGUEZ, JORGE        ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE         ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE         ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE         ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE         ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE A       ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE A       ADDRESS ON FILE
Cintron Rodriguez, Jose A       ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE C.      ADDRESS ON FILE
Cintron Rodriguez, Jose D       ADDRESS ON FILE
CINTRON RODRIGUEZ, JOSE G       ADDRESS ON FILE
CINTRON RODRIGUEZ, JUAN         ADDRESS ON FILE
CINTRON RODRIGUEZ, JULIO A      ADDRESS ON FILE
CINTRON RODRIGUEZ, KELVIN       ADDRESS ON FILE
Cintron Rodriguez, Kevin        ADDRESS ON FILE
CINTRON RODRIGUEZ, LINDA I      ADDRESS ON FILE
CINTRON RODRIGUEZ, LOURDES M.   ADDRESS ON FILE
CINTRON RODRIGUEZ, LUIS         ADDRESS ON FILE
CINTRON RODRIGUEZ, LUIS         ADDRESS ON FILE
CINTRON RODRIGUEZ, LUIS         ADDRESS ON FILE
CINTRON RODRIGUEZ, LUIS A       ADDRESS ON FILE
CINTRON RODRIGUEZ, LUZ E        ADDRESS ON FILE
Cintron Rodriguez, Luz O.       ADDRESS ON FILE
CINTRON RODRIGUEZ, LYMARI       ADDRESS ON FILE
CINTRON RODRIGUEZ, MARIA C      ADDRESS ON FILE
CINTRON RODRIGUEZ, MARIA DE L   ADDRESS ON FILE




                                                                            Page 1528 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1529 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON RODRIGUEZ, MARIA I    ADDRESS ON FILE
CINTRON RODRIGUEZ, MARIA I.   ADDRESS ON FILE
CINTRON RODRIGUEZ, MARIA I.   ADDRESS ON FILE
CINTRON RODRIGUEZ, MARIA M    ADDRESS ON FILE
CINTRON RODRIGUEZ, MARINA     ADDRESS ON FILE
CINTRON RODRIGUEZ, MAYLEEN    ADDRESS ON FILE
CINTRON RODRIGUEZ, MIRIAM     ADDRESS ON FILE
CINTRON RODRIGUEZ, MIRIAM     ADDRESS ON FILE
CINTRON RODRIGUEZ, PABLO      ADDRESS ON FILE
CINTRON RODRIGUEZ, PABLO      ADDRESS ON FILE
CINTRON RODRIGUEZ, PEDRO      ADDRESS ON FILE
CINTRON RODRIGUEZ, PEDRO      ADDRESS ON FILE
CINTRON RODRIGUEZ, RAFAEL     ADDRESS ON FILE
CINTRON RODRIGUEZ, RAFAEL     ADDRESS ON FILE
CINTRON RODRIGUEZ, RAFAEL     ADDRESS ON FILE
CINTRON RODRIGUEZ, RAMON      ADDRESS ON FILE
CINTRON RODRIGUEZ, ROBERTO    ADDRESS ON FILE
CINTRON RODRIGUEZ, ROSA       ADDRESS ON FILE
CINTRON RODRIGUEZ, RUBEN      ADDRESS ON FILE
CINTRON RODRIGUEZ, SERGIO     ADDRESS ON FILE
CINTRON RODRIGUEZ, VERONICA   ADDRESS ON FILE
CINTRON RODRIGUEZ, WAINA T    ADDRESS ON FILE
CINTRON RODRIGUEZ, WALESKA    ADDRESS ON FILE
CINTRON RODRIGUEZ, WALESKA    ADDRESS ON FILE
CINTRON RODRIGUEZ, YAHAIRA    ADDRESS ON FILE
CINTRON RODRIGUEZ, YANIRA     ADDRESS ON FILE
CINTRON RODRIGUEZ, YANISA     ADDRESS ON FILE
CINTRON RODRIGUEZ, YOMARA     ADDRESS ON FILE
CINTRON RODRIQUEZ, ROBERTO    ADDRESS ON FILE
CINTRON ROLON, MARIA DEL C    ADDRESS ON FILE
CINTRON ROLON, SADELINE M     ADDRESS ON FILE
CINTRON ROMAN, ANGEL N.       ADDRESS ON FILE
CINTRON ROMAN, ANTHONY        ADDRESS ON FILE
CINTRON ROMAN, JIMMY          ADDRESS ON FILE
CINTRON ROMAN, JOEL           ADDRESS ON FILE
CINTRON ROMAN, LUIS           ADDRESS ON FILE
CINTRON ROMAN, MARITZA        ADDRESS ON FILE
CINTRON ROMAN, MARIXA         ADDRESS ON FILE
CINTRON ROMAN, NILDA M        ADDRESS ON FILE
CINTRON ROMAN, ONEL           ADDRESS ON FILE
CINTRON ROMERO, DANIEL        ADDRESS ON FILE
CINTRON ROMERO, DANIEL        ADDRESS ON FILE
CINTRON ROMERO, HAMILETT      ADDRESS ON FILE
CINTRON ROSA, ANGEL           ADDRESS ON FILE
CINTRON ROSA, ANGEL M         ADDRESS ON FILE
CINTRON ROSA, CARMEN          ADDRESS ON FILE
CINTRON ROSA, JUAN            ADDRESS ON FILE
CINTRON ROSA, JUANA DE ARC    ADDRESS ON FILE
CINTRON ROSA, MABEL           ADDRESS ON FILE
CINTRON ROSA, MYLENE          ADDRESS ON FILE
Cintron Rosa, Victor M        ADDRESS ON FILE
CINTRON ROSA, YOLIMAR         ADDRESS ON FILE
CINTRON ROSADO, CARLOS        ADDRESS ON FILE
CINTRON ROSADO, JOHANNA       ADDRESS ON FILE
CINTRON ROSADO, MARIA         ADDRESS ON FILE
CINTRON ROSADO, MARIA A       ADDRESS ON FILE
CINTRON ROSADO, MIGDALIA      ADDRESS ON FILE
CINTRON ROSADO, MONICA L      ADDRESS ON FILE
CINTRON ROSADO, MYRNA         ADDRESS ON FILE
CINTRON ROSADO, ROSA I        ADDRESS ON FILE




                                                                          Page 1529 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1530 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON ROSARIO, AGATHA        ADDRESS ON FILE
CINTRON ROSARIO, ALBERTO       ADDRESS ON FILE
CINTRON ROSARIO, ALLAN         ADDRESS ON FILE
CINTRON ROSARIO, CARMEN M      ADDRESS ON FILE
CINTRON ROSARIO, DAVID         ADDRESS ON FILE
CINTRON ROSARIO, EDGARDO       ADDRESS ON FILE
CINTRON ROSARIO, GERARDO       ADDRESS ON FILE
CINTRON ROSARIO, ISMAEL        ADDRESS ON FILE
CINTRON ROSARIO, JEANNIE       ADDRESS ON FILE
CINTRON ROSARIO, JOSE L        ADDRESS ON FILE
CINTRON ROSARIO, LEONARDO      ADDRESS ON FILE
CINTRON ROSARIO, LUZ I.        ADDRESS ON FILE
CINTRON ROSARIO, MARIA L       ADDRESS ON FILE
CINTRON ROSARIO, PEDRO         ADDRESS ON FILE
CINTRON ROSARIO, ROLANDO J     ADDRESS ON FILE
CINTRON ROSARIO, ZORAIDA       ADDRESS ON FILE
CINTRON ROSARIO, ZULEIKA       ADDRESS ON FILE
CINTRON ROURA, LUIS            ADDRESS ON FILE
CINTRON ROURA, LUIS            ADDRESS ON FILE
CINTRON RUBERTE, FELICITA      ADDRESS ON FILE
CINTRON RUIZ, ANGEL M          ADDRESS ON FILE
CINTRON RUIZ, BRENDALY         ADDRESS ON FILE
Cintron Ruiz, Edward Alberty   ADDRESS ON FILE
CINTRON RUIZ, ELINES           ADDRESS ON FILE
CINTRON RUIZ, ELVIN            ADDRESS ON FILE
CINTRON RUIZ, ERIC J.          ADDRESS ON FILE
CINTRON RUIZ, ISABEL           ADDRESS ON FILE
CINTRON RUIZ, RAFAEL           ADDRESS ON FILE
CINTRON SAEZ, DAISY E          ADDRESS ON FILE
CINTRON SANCHEZ, AMALIS        ADDRESS ON FILE
CINTRON SANCHEZ, AMI P         ADDRESS ON FILE
CINTRON SANCHEZ, ANGEL L.      ADDRESS ON FILE
CINTRON SANCHEZ, ARMANDO L.    ADDRESS ON FILE
CINTRON SANCHEZ, CARLOS L.     ADDRESS ON FILE
CINTRON SANCHEZ, CARMEN        ADDRESS ON FILE
CINTRON SANCHEZ, ELIACIM       ADDRESS ON FILE
CINTRON SANCHEZ, EVARISTO      ADDRESS ON FILE
CINTRON SANCHEZ, FELIPE        ADDRESS ON FILE
CINTRON SANCHEZ, JORGE J.      ADDRESS ON FILE
CINTRON SANCHEZ, JOSE          ADDRESS ON FILE
CINTRON SANCHEZ, JUAN          ADDRESS ON FILE
CINTRON SANCHEZ, KATHERINE     ADDRESS ON FILE
CINTRON SANCHEZ, MARIA J       ADDRESS ON FILE
CINTRON SANCHEZ, MARILYN       ADDRESS ON FILE
CINTRON SANCHEZ, MARILYN       ADDRESS ON FILE
CINTRON SANCHEZ, MIGUEL A      ADDRESS ON FILE
CINTRON SANCHEZ, NYDIA E       ADDRESS ON FILE
CINTRON SANCHEZ, PRISCILA      ADDRESS ON FILE
CINTRON SANCHEZ, RAUL          ADDRESS ON FILE
CINTRON SANCHEZ, REYES         ADDRESS ON FILE
CINTRON SANDOZ, ANGEL R.       ADDRESS ON FILE
CINTRON SANTANA, DEMETRIA      ADDRESS ON FILE
Cintron Santana, Edwin R       ADDRESS ON FILE
CINTRON SANTANA, JARVIS        ADDRESS ON FILE
CINTRON SANTANA, JORGE         ADDRESS ON FILE
Cintron Santana, Juan R        ADDRESS ON FILE
CINTRON SANTANA, MARGARITA     ADDRESS ON FILE
CINTRON SANTANA, MARIA DEL C   ADDRESS ON FILE
CINTRON SANTANA, MILDRED       ADDRESS ON FILE
CINTRON SANTANA, NORMA I.      ADDRESS ON FILE




                                                                           Page 1530 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1531 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON SANTANA, WILFREDO            ADDRESS ON FILE
CINTRON SANTANA, WILLIAM             ADDRESS ON FILE
Cintron Santiago, Alberto            ADDRESS ON FILE
CINTRON SANTIAGO, ARIEL              ADDRESS ON FILE
CINTRON SANTIAGO, BRAYAN             ADDRESS ON FILE
CINTRON SANTIAGO, CARLOS E.          ADDRESS ON FILE
CINTRON SANTIAGO, CARMEN ELIZABETH   ADDRESS ON FILE
CINTRON SANTIAGO, CARMEN I           ADDRESS ON FILE
Cintron Santiago, Cesar A            ADDRESS ON FILE
CINTRON SANTIAGO, EDWIN O.           ADDRESS ON FILE
CINTRON SANTIAGO, ELIZABETH          ADDRESS ON FILE
CINTRON SANTIAGO, JOSE               ADDRESS ON FILE
CINTRON SANTIAGO, JOSE LUIS          ADDRESS ON FILE
CINTRON SANTIAGO, JOSUE              ADDRESS ON FILE
CINTRON SANTIAGO, JUAN J             ADDRESS ON FILE
CINTRON SANTIAGO, KABIR              ADDRESS ON FILE
CINTRON SANTIAGO, KATIRIA            ADDRESS ON FILE
CINTRON SANTIAGO, LEIDA E            ADDRESS ON FILE
CINTRON SANTIAGO, LIZBETH            ADDRESS ON FILE
CINTRON SANTIAGO, LIZZETTE           ADDRESS ON FILE
CINTRON SANTIAGO, MAGUIE E.          ADDRESS ON FILE
CINTRON SANTIAGO, MARTA B            ADDRESS ON FILE
CINTRON SANTIAGO, MARTA I            ADDRESS ON FILE
CINTRON SANTIAGO, NAISHA             ADDRESS ON FILE
CINTRON SANTIAGO, NILSA I            ADDRESS ON FILE
CINTRON SANTIAGO, NORMA              ADDRESS ON FILE
CINTRON SANTIAGO, RUBEN              ADDRESS ON FILE
CINTRON SANTIAGO, SERAFIN            ADDRESS ON FILE
CINTRON SANTIAGO, WILLIAM            ADDRESS ON FILE
CINTRON SANTIAGO, YESSENIA           ADDRESS ON FILE
CINTRON SANTIAGO, ZAYRHA             ADDRESS ON FILE
CINTRON SANTIAGO, ZYLKIA             ADDRESS ON FILE
CINTRON SANTIAGO,NORMA               ADDRESS ON FILE
CINTRON SANTINI, WILFREDO            ADDRESS ON FILE
CINTRON SANTOS, ANTONIA              ADDRESS ON FILE
CINTRON SANTOS, CARMEN D             ADDRESS ON FILE
CINTRON SANTOS, EDWIN                ADDRESS ON FILE
CINTRON SANTOS, EDWIN A.             ADDRESS ON FILE
CINTRON SANTOS, ELISA                ADDRESS ON FILE
Cintron Santos, Jesus                ADDRESS ON FILE
CINTRON SANTOS, KARLA I              ADDRESS ON FILE
Cintron Santos, Leyda L.             ADDRESS ON FILE
CINTRON SANTOS, LUIS                 ADDRESS ON FILE
CINTRON SANTOS, LUZ N                ADDRESS ON FILE
Cintron Santos, Manolo               ADDRESS ON FILE
CINTRON SANTOS, VIMARINELL           ADDRESS ON FILE
Cintron Sauri, Waldemar              ADDRESS ON FILE
CINTRON SEPULVEDA, JESUS A.          ADDRESS ON FILE
CINTRON SEPULVEDA, LISSETTE          ADDRESS ON FILE
CINTRON SERRANO, AELEEN              ADDRESS ON FILE
CINTRON SERRANO, ALBA I              ADDRESS ON FILE
CINTRON SERRANO, ANA C               ADDRESS ON FILE
CINTRON SERRANO, CHERYL              ADDRESS ON FILE
CINTRON SERRANO, FELIX               ADDRESS ON FILE
CINTRON SERRANO, ITZA                ADDRESS ON FILE
CINTRON SERRANO, JOSE M.             ADDRESS ON FILE
CINTRON SERRANO, JOSEFINA            ADDRESS ON FILE
CINTRON SERRANO, LUZ V               ADDRESS ON FILE
CINTRON SERRANO, MARIAMGELLY         ADDRESS ON FILE
CINTRON SERRANO, MARILYN             ADDRESS ON FILE




                                                                                 Page 1531 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1532 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
CINTRON SERRANO, MILAGROS      ADDRESS ON FILE
CINTRON SERRANO, MILDRED       ADDRESS ON FILE
CINTRON SERRANO, ROSA B        ADDRESS ON FILE
CINTRON SERRANO, SACHIRA       ADDRESS ON FILE
CINTRON SERRANO, VIRGINIA      ADDRESS ON FILE
CINTRON SIERRA, JAVIER A.      ADDRESS ON FILE
CINTRON SILVA, JUAN            ADDRESS ON FILE
CINTRON SILVA, MARTA           ADDRESS ON FILE
CINTRON SOLA, KATHERINE        ADDRESS ON FILE
CINTRON SOLIS, LUIS            ADDRESS ON FILE
CINTRON SOSA, JOCELYN O        ADDRESS ON FILE
CINTRON SOSTRE, ANA M.         ADDRESS ON FILE
CINTRON SOSTRE, DORANI         ADDRESS ON FILE
CINTRON SOSTRE, ILIANA         ADDRESS ON FILE
CINTRON SOSTRE, JANICE         ADDRESS ON FILE
CINTRON SOTO, ALEJANDRINA      ADDRESS ON FILE
CINTRON SOTO, ENRIQUE          ADDRESS ON FILE
CINTRON SOTO, HILDE N          ADDRESS ON FILE
CINTRON SOTO, JACQUELINE M     ADDRESS ON FILE
CINTRON SOTO, LORRAINE C       ADDRESS ON FILE
CINTRON SOTO, MARGARITA        ADDRESS ON FILE
Cintron Soto, Maria De L       ADDRESS ON FILE
CINTRON SOTO, NORIS E          ADDRESS ON FILE
CINTRON SOTO, PABLO            ADDRESS ON FILE
CINTRON SOTO, PEDRO            ADDRESS ON FILE
CINTRON SOTO, SOCORRO DE L A   ADDRESS ON FILE
CINTRON SOTO, TAMARA           ADDRESS ON FILE
CINTRON SOTO, TAMARA           ADDRESS ON FILE
CINTRON SUAREZ, DENNIS I.      ADDRESS ON FILE
CINTRON SUAREZ, EDUARDO        ADDRESS ON FILE
CINTRON SUAREZ, EDUARDO        ADDRESS ON FILE
CINTRON SUAREZ, WILLIE H       ADDRESS ON FILE
CINTRON TALAVERA, CIELO        ADDRESS ON FILE
CINTRON TANON, SANDRA M        ADDRESS ON FILE
CINTRON TELLADO, DENISSE       ADDRESS ON FILE
CINTRON TELLADO, DENISSE       ADDRESS ON FILE
CINTRON TIRADO, CARMEN I.      ADDRESS ON FILE
CINTRON TIRADO, VALENTIN       ADDRESS ON FILE
CINTRON TIRE SERVICE           AVE. SANTA JUANITA BM‐33   ESQ. ALFA                                             BAYAMON      PR      00956
CINTRON TONALLEDAS, OSCAR      ADDRESS ON FILE
CINTRON TORRES, ANA            ADDRESS ON FILE
CINTRON TORRES, ANNA           ADDRESS ON FILE
CINTRON TORRES, ANTONIO        ADDRESS ON FILE
CINTRON TORRES, ARMIN          ADDRESS ON FILE
CINTRON TORRES, ARMIN          ADDRESS ON FILE
CINTRON TORRES, ARTURO         ADDRESS ON FILE
CINTRON TORRES, BIENVENIDO     ADDRESS ON FILE
CINTRON TORRES, BRENDA L       ADDRESS ON FILE
CINTRON TORRES, CARMEN L       ADDRESS ON FILE
CINTRON TORRES, CARMEN S       ADDRESS ON FILE
CINTRON TORRES, CARMEN Z.      ADDRESS ON FILE
CINTRON TORRES, CLARIBEL       ADDRESS ON FILE
CINTRON TORRES, EDALBERTO      ADDRESS ON FILE
CINTRON TORRES, EDELMIRO       ADDRESS ON FILE
Cintron Torres, Edna N         ADDRESS ON FILE
CINTRON TORRES, EDUARDO        ADDRESS ON FILE
CINTRON TORRES, ELBA N.        ADDRESS ON FILE
CINTRON TORRES, ELIZABETH      ADDRESS ON FILE
CINTRON TORRES, ELIZABETH      ADDRESS ON FILE
CINTRON TORRES, ELLIOT         ADDRESS ON FILE




                                                                           Page 1532 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1533 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CINTRON TORRES, ESTHER G          ADDRESS ON FILE
CINTRON TORRES, HECTOR            ADDRESS ON FILE
CINTRON TORRES, JAIME E           ADDRESS ON FILE
CINTRON TORRES, JOSE              ADDRESS ON FILE
CINTRON TORRES, JOSE H            ADDRESS ON FILE
CINTRON TORRES, JOSE I            ADDRESS ON FILE
CINTRON TORRES, JUAN              ADDRESS ON FILE
CINTRON TORRES, JUAN              ADDRESS ON FILE
CINTRON TORRES, KELVIN            ADDRESS ON FILE
CINTRON TORRES, KENNETH           ADDRESS ON FILE
CINTRON TORRES, LEOMARYS          ADDRESS ON FILE
CINTRON TORRES, LUIS              ADDRESS ON FILE
CINTRON TORRES, MAGDA             ADDRESS ON FILE
CINTRON TORRES, MARIA DE LOS A.   ADDRESS ON FILE
CINTRON TORRES, MARISOL           ADDRESS ON FILE
CINTRON TORRES, MARITZA           ADDRESS ON FILE
CINTRON TORRES, MARITZA E.        ADDRESS ON FILE
CINTRON TORRES, MILAGROS          ADDRESS ON FILE
CINTRON TORRES, NILSA M.          ADDRESS ON FILE
CINTRON TORRES, NOEMI             ADDRESS ON FILE
CINTRON TORRES, ONEIDA            ADDRESS ON FILE
CINTRON TORRES, OSVALDO           ADDRESS ON FILE
CINTRON TORRES, RAMON A           ADDRESS ON FILE
CINTRON TORRES, RAMON L.          ADDRESS ON FILE
CINTRON TORRES, ROSITA            ADDRESS ON FILE
CINTRON TORRES, SUSANA            ADDRESS ON FILE
CINTRON TORRES, TERESITA          ADDRESS ON FILE
Cintron Torres, Wilberto          ADDRESS ON FILE
CINTRON TORRES, WILMA             ADDRESS ON FILE
CINTRON TORRES, WILMA             ADDRESS ON FILE
CINTRON TORRES, YOLANDA           ADDRESS ON FILE
CINTRON TORRUELLA, HECTOR W.      ADDRESS ON FILE
CINTRON TRINIDAD, FELIX A         ADDRESS ON FILE
CINTRON VADELL, LAURA             ADDRESS ON FILE
CINTRON VALDES, MARIA T           ADDRESS ON FILE
Cintron Valentin, Esteban         ADDRESS ON FILE
CINTRON VALENTIN, JANETTE         ADDRESS ON FILE
CINTRON VALENTIN, MILAIDA A       ADDRESS ON FILE
CINTRON VALENTIN, WANDA           ADDRESS ON FILE
CINTRON VALLE, WILFREDO           ADDRESS ON FILE
CINTRON VALPAIS, DAPHNE           ADDRESS ON FILE
CINTRON VARGAS, ANGEL             ADDRESS ON FILE
CINTRON VARGAS, CRISTOBAL         ADDRESS ON FILE
CINTRON VARGAS, EVA               ADDRESS ON FILE
CINTRON VARGAS, JEANNETTE         ADDRESS ON FILE
CINTRON VARGAS, REINA             ADDRESS ON FILE
Cintron Vargas, Richard           ADDRESS ON FILE
CINTRON VAZQUEZ, BETZAIDA         ADDRESS ON FILE
CINTRON VAZQUEZ, CARMELO          ADDRESS ON FILE
CINTRON VAZQUEZ, CHRISTIAN        ADDRESS ON FILE
CINTRON VAZQUEZ, EFRAIN           ADDRESS ON FILE
CINTRON VAZQUEZ, ELIZABETH        ADDRESS ON FILE
Cintron Vazquez, Gloria           ADDRESS ON FILE
CINTRON VAZQUEZ, GLORY M          ADDRESS ON FILE
CINTRON VAZQUEZ, HILDA L          ADDRESS ON FILE
Cintron Vazquez, Jorge L          ADDRESS ON FILE
CINTRON VAZQUEZ, JOSE             ADDRESS ON FILE
CINTRON VAZQUEZ, JOSE V.          ADDRESS ON FILE
CINTRON VAZQUEZ, JUAN             ADDRESS ON FILE
CINTRON VAZQUEZ, KAREN            ADDRESS ON FILE




                                                                              Page 1533 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1534 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cintron Vazquez, Luis A          ADDRESS ON FILE
CINTRON VAZQUEZ, PEDRO           ADDRESS ON FILE
CINTRON VAZQUEZ, RUBEN R.        ADDRESS ON FILE
CINTRON VAZQUEZ, VILMA L         ADDRESS ON FILE
CINTRON VEGA, ALMA E             ADDRESS ON FILE
CINTRON VEGA, ANGEL DAVID        ADDRESS ON FILE
CINTRON VEGA, BETSY              ADDRESS ON FILE
CINTRON VEGA, CARLOS M.          ADDRESS ON FILE
CINTRON VEGA, CARMEN             ADDRESS ON FILE
CINTRON VEGA, DANIEL             ADDRESS ON FILE
CINTRON VEGA, ELIZABETH          ADDRESS ON FILE
CINTRON VEGA, HECTOR             ADDRESS ON FILE
CINTRON VEGA, JOAQUIN            ADDRESS ON FILE
CINTRON VEGA, JORGE N.           ADDRESS ON FILE
CINTRON VEGA, LUIS A.            ADDRESS ON FILE
CINTRON VEGA, LUIS MIGUEL        ADDRESS ON FILE
CINTRON VEGA, MARIA              ADDRESS ON FILE
CINTRON VEGA, NANCY              ADDRESS ON FILE
CINTRON VELAZQUEZ MD, KENNETH    ADDRESS ON FILE
CINTRON VELAZQUEZ, ADALYS        ADDRESS ON FILE
CINTRON VELAZQUEZ, ADALYS N      ADDRESS ON FILE
CINTRON VELAZQUEZ, AMELIA        ADDRESS ON FILE
CINTRON VELAZQUEZ, AMELIA M      ADDRESS ON FILE
CINTRON VELAZQUEZ, BRENDA L.     ADDRESS ON FILE
CINTRON VELAZQUEZ, EDNA M.       ADDRESS ON FILE
CINTRON VELAZQUEZ, JOSE          ADDRESS ON FILE
CINTRON VELAZQUEZ, JULIO E       ADDRESS ON FILE
CINTRON VELAZQUEZ, LUIS          ADDRESS ON FILE
CINTRON VELAZQUEZ, LUIS          ADDRESS ON FILE
CINTRON VELAZQUEZ, RAUL          ADDRESS ON FILE
CINTRON VELAZQUEZ, RAUL          ADDRESS ON FILE
CINTRON VELAZQUEZ, WALTER        ADDRESS ON FILE
CINTRON VELEZ, ANA I             ADDRESS ON FILE
CINTRON VELEZ, CARMEN            ADDRESS ON FILE
CINTRON VELEZ, CARMEN F          ADDRESS ON FILE
CINTRON VELEZ, EVELYN            ADDRESS ON FILE
CINTRON VELEZ, FLOR              ADDRESS ON FILE
Cintron Velez, Flor L            ADDRESS ON FILE
CINTRON VELEZ, MARIA DEL C.      ADDRESS ON FILE
CINTRON VELEZ, MARLENE           ADDRESS ON FILE
CINTRON VELEZ, PEDRO M.          ADDRESS ON FILE
CINTRON VELEZ, ROGELIA           ADDRESS ON FILE
CINTRON VELEZ, ZARELDA           ADDRESS ON FILE
CINTRON VELEZ, ZARELDA           ADDRESS ON FILE
CINTRON VELEZ, ZARELDA M         ADDRESS ON FILE
CINTRON VERA, JOSE               ADDRESS ON FILE
CINTRON VILLEGAS, JOSSIAN        ADDRESS ON FILE
Cintron Villegas, Luis Gabriel   ADDRESS ON FILE
CINTRON YORRO, VICTOR            ADDRESS ON FILE
Cintron Zayas, Ramon A           ADDRESS ON FILE
CINTRON, ANTHONY                 ADDRESS ON FILE
CINTRON, CARMEN L                ADDRESS ON FILE
CINTRON, DIGNA                   ADDRESS ON FILE
CINTRON, EMERITA                 ADDRESS ON FILE
CINTRON, EMILIO                  ADDRESS ON FILE
CINTRON, GONZALO E               ADDRESS ON FILE
CINTRON, JOMARR                  ADDRESS ON FILE
CINTRON, LEISHLA                 ADDRESS ON FILE
CINTRON, MADELINE                ADDRESS ON FILE
CINTRON, NELSON                  ADDRESS ON FILE




                                                                             Page 1534 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1535 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                              Address1                        Address2                            Address3        Address4    City              State   PostalCode   Country
CINTRON, RENE                              ADDRESS ON FILE
CINTRON, VICTOR M.                         ADDRESS ON FILE
CINTRON, VILMA I                           ADDRESS ON FILE
CINTRON,JOSUE                              ADDRESS ON FILE
CINTRONBURGOS, MIGUEL A                    ADDRESS ON FILE
CINTRONLUCIANO, JOSE F                     ADDRESS ON FILE
CINTRONRAMOS, LUIS                         ADDRESS ON FILE
CINTRONRODRIGUEZ, MAIZIE                   ADDRESS ON FILE
CINTYA J. CORTIJO VILLEGAS                 ADDRESS ON FILE
CINTYA REY BERRIOS                         ADDRESS ON FILE
CINTYA REY BERRIOS                         ADDRESS ON FILE
CIORAH J. MONTES GILORMINI                 ADDRESS ON FILE
CIORAH J. MONTES GILORMINI                 ADDRESS ON FILE
CIORDIA GONZALEZ MD, JORGE                 ADDRESS ON FILE
CIORDIA GONZALEZ, JAVIER A.                ADDRESS ON FILE
CIORDIA GONZALEZ, JORGE                    ADDRESS ON FILE
CIORDIA GUZMAN, JOHANNA                    ADDRESS ON FILE
CIORDIA GUZMAN, JOHANNA M.                 ADDRESS ON FILE
Ciordia Seda, Rafael A                     ADDRESS ON FILE
CIORDIA, ANGEL M.                          ADDRESS ON FILE
CIPA / ELIGIO ROSADO HERNANDEZ             PO BOX 9326                                                                                     SAN JUAN          PR      00908‐9326
CIPERNI CUADRA, CARLOS                     ADDRESS ON FILE
CIPRENI CUADRA, CARLOS                     ADDRESS ON FILE
CIPRENI CUADRA, LEYLA                      ADDRESS ON FILE
CIPRENI RAMIREZ, NOELIA                    ADDRESS ON FILE
CIPRIAN LIRANZO, PEDRO                     ADDRESS ON FILE
CIPRIAN MELENDEZ MELENDEZ                  LCDO. RUBEN J. LUCENA QUILES    EDIF.ESQUIRE                        #2 CALLE VELA   SUITE 101   SAN JUAN          PR      00918
CIPRIAN MELENDEZ MELENDEZ                  SRA. OLGA VANESSA LOPEZ         APARTADO 7073                                                   SAN JUAN          PR      00936
CIPRIANO LLERENA MARES                     ADDRESS ON FILE
CIPRIANO MUNOZ BURGOS                      ADDRESS ON FILE
CIRA DELIA RIVERA RODRIGUEZ                ADDRESS ON FILE
CIRACET CORP                               PO BOX 8970                                                                                     PONCE             PR      00732
CIRACRUZ ROSA, LESLEY A                    ADDRESS ON FILE
CIRBUS MD , JAMES J                        ADDRESS ON FILE
CIRCLE OF CARE INC OUTPATIENT              MEDICAL RECORDS                 2020 COMMERCE DR                                                MELBOURNE         FL      32904
CIRCLES OF CARE INC                        400 E SHERIDAN RD                                                                               MELBOURNE         FL      32901
CIRCO NACIONAL DE PUERTO RICO INC          77 CALLE KINGS COURT APTO 503                                                                   SAN JUAN          PR      00911
CIRCO NACIONAL DE PUERTO RICO INC          PO BOX 16029                                                                                    SAN JUAN          PR      00908‐6029
CIRCUITO 5 K RESTAURACION CORP             URB LOS JARDINES                340 CALLE OASIS                                                 GARROCHALES       PR      00652
CIRCUITO LIBRE INTERNACIONAL DE            PO BOX 51753                                                                                    TOA BAJA          PR      00950
CIRCUITO NACIONAL DE VOLEIBOL INC          PO BOX 367282                                                                                   SAN JUAN          PR      00936‐7282
CIRCUITO SURENO DE BEISBALL INFANTIL INC   PO BOX 10633                                                                                    PONCE             PR      00732
CIRCULO CUBANO DE P R                      URB BIASCOCHEA                  10 CALLE IRIS                                                   CAROLINA          PR      00981
CIRCULO CUBANO DE PR                       PO BOX 37308                                                                                    SAN JUAN          PR      00937‐0308
CIRCULO CUBANO DE PR                       PO BOX 810409                                                                                   CAROLINA          PR      00981‐0409
CIRCULO DE RECREO DE SAN GERMAN INC        PO BOX 1836                                                                                     SAN GERMAN        PR      00683
CIRCULO FRATERNAL SABANENO INC             PO BOX 1119                                                                                     SABANA GRANDE     PR      00637
CIRCULO FRATERNAL SABANENO INC             PO BOX 9100                                                                                     SAN JUAN          PR      00908‐0163
CIRCULO MAGICO INC                         URB PARKVILLE                   N37 CALLE MCKINLEY                                              GUAYNABO          PR      00969
CIRCUNS DEL CASTILLO, MILAGROS             ADDRESS ON FILE
CIRCUNS, ERIC                              ADDRESS ON FILE
CIRIACO SANCHA HOGAR                       P. O. BOX 1780                                                                                  MOCA              PR      00676
CIRIACRUZ ROSA, KATHERINE D                ADDRESS ON FILE
CIRIANO PIZARRO, SUGEILY                   ADDRESS ON FILE
CIRILA GOMEZ OSIRIS                        ADDRESS ON FILE
CIRILA MORAN RIVERA                        ADDRESS ON FILE
CIRILO A BETANCOURT DELGADO                ADDRESS ON FILE
CIRILO ANGUEIRA, GLORIMAR                  ADDRESS ON FILE
CIRILO CASTRO, GISELA                      ADDRESS ON FILE
CIRILO DE LEON SANCHEZ                     ADDRESS ON FILE




                                                                                                Page 1535 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1536 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CIRILO ENCARNACION KUILAN        ADDRESS ON FILE
CIRILO GARCIA, JULIO             ADDRESS ON FILE
CIRILO GONZALEZ, ALEJANDRO       ADDRESS ON FILE
CIRILO GONZALEZ, ALEJANDRO       ADDRESS ON FILE
CIRILO MANGUAL, MERCEDES         ADDRESS ON FILE
CIRILO MARQUEZ, ROBERTO CARLOS   ADDRESS ON FILE
CIRILO MATOS, LUZ M              ADDRESS ON FILE
CIRILO MEDINA, ALFONSO           ADDRESS ON FILE
CIRILO MELENDEZ, MARIBEL         ADDRESS ON FILE
CIRILO MORALES CARABALLO         ADDRESS ON FILE
CIRILO NAZARIO, AIDA L           ADDRESS ON FILE
CIRILO PARIS, JUANA              ADDRESS ON FILE
CIRILO REYES, CARLOS             ADDRESS ON FILE
CIRILO REYES, CARLOS O.          ADDRESS ON FILE
CIRILO REYES, MYRNA              ADDRESS ON FILE
CIRILO RIVERA RIVERA             ADDRESS ON FILE
Cirilo Soto, Marcelino           ADDRESS ON FILE
CIRILO SOTO, MARCELINO           ADDRESS ON FILE
CIRILO VEGA, YANIRIS             ADDRESS ON FILE
CIRILO VELAZQUEZ, MIGUEL A.      ADDRESS ON FILE
CIRILO YUKAVEISKY, GABRIELA      ADDRESS ON FILE
CIRILO YUKAVETSKY, GABRIELA      ADDRESS ON FILE
CIRINO ADORNO, WILMER            ADDRESS ON FILE
CIRINO ALLENDE, ERNESTO          ADDRESS ON FILE
CIRINO AMADOR, CARMEN R          ADDRESS ON FILE
Cirino Ayala, Bienvenido         ADDRESS ON FILE
CIRINO AYALA, IVETTE             ADDRESS ON FILE
Cirino Ayala, Jimmy              ADDRESS ON FILE
CIRINO AYALA, JUSTINA            ADDRESS ON FILE
CIRINO AYALA, MARIA              ADDRESS ON FILE
CIRINO CALDERON, JOSE            ADDRESS ON FILE
CIRINO CALDERON, OSCAR           ADDRESS ON FILE
CIRINO CANALES, CARMEN LYDIA     ADDRESS ON FILE
CIRINO CARABALLO, ANGEL M        ADDRESS ON FILE
CIRINO CARRASQUILLO, DORCAS      ADDRESS ON FILE
CIRINO CARRASQUILLO, JUSTA       ADDRESS ON FILE
CIRINO CARRASQUILLO, YAJAIRA     ADDRESS ON FILE
CIRINO CEPEDA, LUIS A.           ADDRESS ON FILE
CIRINO CEPEDA, LYDIA E           ADDRESS ON FILE
CIRINO CIRINO, CARMEN J.         ADDRESS ON FILE
CIRINO CIRINO, CAROLINE          ADDRESS ON FILE
CIRINO CIRINO, JIMMY             ADDRESS ON FILE
CIRINO COLON, LUZ M              ADDRESS ON FILE
CIRINO CORDERO, ALBERTO          ADDRESS ON FILE
CIRINO CORDERO, LUIS             ADDRESS ON FILE
CIRINO CORREA, ANGEL L           ADDRESS ON FILE
CIRINO CORREA, ANTHONY           ADDRESS ON FILE
CIRINO CORREA, ANTHONY           ADDRESS ON FILE
Cirino Davila, Victor L.         ADDRESS ON FILE
CIRINO DEL VALLE, JOEL           ADDRESS ON FILE
CIRINO DELGADO, RAMON            ADDRESS ON FILE
CIRINO FUENTES, DARRELL          ADDRESS ON FILE
CIRINO FUENTES, JOSE M           ADDRESS ON FILE
CIRINO FUENTES, LUIS             ADDRESS ON FILE
CIRINO FUENTES, MARIA            ADDRESS ON FILE
CIRINO IGLESIAS, ARIEL           ADDRESS ON FILE
CIRINO LANZOT, WESLEY            ADDRESS ON FILE
CIRINO LOPEZ, RAFAEL             ADDRESS ON FILE
CIRINO LOPEZ, ZUILEIDY           ADDRESS ON FILE
CIRINO MARCANO, MARIOLA          ADDRESS ON FILE




                                                                             Page 1536 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1537 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                                  Address2                        Address3   Address4   City            State   PostalCode   Country
CIRINO MARTINEZ, JUAN                    ADDRESS ON FILE
CIRINO MARTINEZ, JUAN                    ADDRESS ON FILE
CIRINO MATOS, CARMEN L                   ADDRESS ON FILE
CIRINO MATOS, ELIZABETH                  ADDRESS ON FILE
CIRINO MATOS, KISIX                      ADDRESS ON FILE
CIRINO MATOS, YOLANDA                    ADDRESS ON FILE
CIRINO MEDINA, FRANCISCA                 ADDRESS ON FILE
CIRINO MEDINA, LUIS ROMAN                ADDRESS ON FILE
CIRINO MENDEZ, BETTY                     ADDRESS ON FILE
CIRINO MENDEZ, BETTY                     ADDRESS ON FILE
CIRINO MORALES, MARIE O                  ADDRESS ON FILE
CIRINO MORALES, WILFREDO                 ADDRESS ON FILE
CIRINO ORTIZ, ARMANDO                    ADDRESS ON FILE
CIRINO ORTIZ, EVELYN                     ADDRESS ON FILE
CIRINO ORTIZ, LAURA                      ADDRESS ON FILE
CIRINO ORTIZ, REYNALDO                   ADDRESS ON FILE
CIRINO ORTIZ, SUANET                     ADDRESS ON FILE
CIRINO OSORIO, GLENDA LIZ                ADDRESS ON FILE
CIRINO OSORIO, MIGUEL A                  ADDRESS ON FILE
CIRINO OSORIO, RACHEL                    ADDRESS ON FILE
CIRINO OSORIO, REBECA                    ADDRESS ON FILE
CIRINO OSORIO, RUTH M                    ADDRESS ON FILE
CIRINO PARRILLA, JOEL                    ADDRESS ON FILE
CIRINO PARRILLA, JOSE M.                 ADDRESS ON FILE
CIRINO PARRILLA, JULIO                   ADDRESS ON FILE
CIRINO PARRILLA, MYRNA I.                ADDRESS ON FILE
CIRINO PEREZ, JABIENT A                  ADDRESS ON FILE
CIRINO PEREZ, LOIDA                      ADDRESS ON FILE
CIRINO PEREZ, MARIA T                    ADDRESS ON FILE
CIRINO PINET, JORGE                      ADDRESS ON FILE
CIRINO PINET, JULIO                      ADDRESS ON FILE
CIRINO PINET, MILISA                     ADDRESS ON FILE
Cirino Pizarro, Jesus                    ADDRESS ON FILE
CIRINO PIZARRO, JULIO ANGEL              ADDRESS ON FILE
CIRINO PIZARRO, MICHAEL                  ADDRESS ON FILE
CIRINO PIZARRO, MINERVA                  ADDRESS ON FILE
CIRINO PIZARRO, SUGEILY                  ADDRESS ON FILE
CIRINO QUINONES, EDWIN                   ADDRESS ON FILE
CIRINO RIOS, BRENDA I                    ADDRESS ON FILE
CIRINO RIVERA, ELISMAEL                  ADDRESS ON FILE
Cirino Rivera, Jose R.                   ADDRESS ON FILE
CIRINO RIVERA, LUIS                      ADDRESS ON FILE
CIRINO RIVERA, LUIS A                    ADDRESS ON FILE
CIRINO RIVERA, LUIS A.                   LCDO. CHARLES ZENO SANTIAGO               PO BOX 70351                                          SAN JUAN        PR      00936‐8351
CIRINO RIVERA, LUIS A.                   LCDO. SALVADOR F. ROVIRA RODRÍGUEZ, PUERTOPO BOX 800970                                         COTO LAUREL     PR      00780‐0970
CIRINO RODRIGUEZ, JUAN                   ADDRESS ON FILE
CIRINO RODRIGUEZ, JUAN J                 ADDRESS ON FILE
CIRINO ROMERO, JOSUE                     ADDRESS ON FILE
CIRINO ROMERO, OBED                      ADDRESS ON FILE
CIRINO RONDON, OSCAR O                   ADDRESS ON FILE
CIRINO SANCHEZ, OSCAR                    ADDRESS ON FILE
CIRINO SANTIAGO, MARTA                   ADDRESS ON FILE
CIRINO SIMONET, IVAN                     ADDRESS ON FILE
CIRINO VARGAS, VICENTE                   ADDRESS ON FILE
CIRINO VARGAS, VICTOR                    ADDRESS ON FILE
CIRINO VELAZQEZ, IVELISSE                ADDRESS ON FILE
CIRINO VILLANUEVA, DANIEL                ADDRESS ON FILE
CIRINO VILLANUEVA, JOSE                  ADDRESS ON FILE
CIRINO VILLANUEVA, SYLVIA                ADDRESS ON FILE
CIRIO CORPORACION INDUSTRIAS DE CIEGOS   CALLE SAN RAFAEL FINAL PDA.20             APARTADO 13382                                        SAN JUAN        PR      00908‐3382




                                                                                                    Page 1537 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1538 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                        Address1                              Address2                                     Address3   Address4   City                State   PostalCode   Country
CIRIS M GARCIA LOPEZ                 ADDRESS ON FILE
CIRO C CARRILLO RODRIGUEZ            ADDRESS ON FILE
CIRO J MALATRASI                     ADDRESS ON FILE
CIRO M MARTINEZ ALEMAN               ADDRESS ON FILE
CIROLIA KYNOCH, DANIELA              ADDRESS ON FILE
CIRUGIA ORAL Y MAXILOFACIAL,         CLINICA LAS AMERICAS                  400 AVE ROOSEVELT SUITE 503                                        SAN JUAN            PR      00918
CIRUS J MISSAGHIAN VISSEPO           ADDRESS ON FILE
CIS AMERICA INC                      1441 MC CORMICK DRIVE                 SUITE 1050                                                         LARGO               MD      20774
CISNERO GONZALEZ, FRANK              ADDRESS ON FILE
CISNEROS CRUS, MILAGROS              ADDRESS ON FILE
CISNEROS CRUZ, MILAGROS              ADDRESS ON FILE
CIT MARKETING CORP                   URB MARINA BAHIA                      MG‐51 PLAZA 31                                                     CATANO              PR      00962
CITAEPI INC                          PMB 330                               BOX 3500                                                           CAMUY               PR      00627
CITAEPI INC                          PMB‐330                               PO BOX 3500                                                        CAMUY               PR      00627
CITI ASSURANT SERVICES INC           3001 MEACHMAN BLVD SUITE 200                                                                             FORTH WORTH         TX      76137
CITIBANK                             PO BOX 6201                                                                                              SIOUX FALLS         SD      57117‐6201
CITIBANK N A                         1 CITIBANK DRIVE                                                                                         CUPEY               PR      00926‐9632
CITIBANK N A                         270 AVE. MUNOZ RIVERA                 PISO 6                                                             SAN JUAN            PR      00918
CITIBANK N A                         P O BOX 364106                                                                                           SAN JUAN            PR      00936 4106
CITIBANK NA                          1000 TECHNOLOGY DR MS 430                                                                                O FALLON            MO      63368
CITIBANK NA                          270 AVENIDA MUNOZ RIVERA              6TO PISO                                                           SAN JUAN            PR      00918
CITICENTRE, S.P.                     PO BOX 193600                                                                                            SAN JUAN            PR      00919‐3600
CITICORP SERVICES INC                ABANDONED PROPERTY                    3800 CITIGROUP CENTER A1 16                                        TAMPA               FL      33610‐9122
CITIFINANCIAL                        CMO CITIBANK PROMENADE LEV EL NORTH                                                                      SAN JUAN            PR      00926‐9631
CITIGROUP GLOBAL MARKET INC          333 W 34TH ST                                                                                            NEW YORK            NY      10001
CITIGROUP GLOBAL MARKETS INC         PO BOX 958                            WALL STREET STATION                                                NEW YORK            NY      10268‐0958
CITIGROUP SERVICES INC               3800 CITIGROUP CENTER A1‐16                                                                              TAMPA               FL      33610‐9122
CITIMORTGAGE INC.                    5280 CORPORATE DRIVE                                                                                     FREDERICK           MD      21703‐0000
CITRIX SYSTEMS INC                   851 WEST CYPRESS CREEK ROAD                                                                              FORT LAUDERDALE     FL      33309
CITRUS HEALTH NETWORK INC            4175 WEST 20TH AVE                                                                                       HIALEAH             FL      33012
CITY AMBULANCE CORP                  PO BOX 3186                                                                                              CAGUAS              PR      00726‐3186
CITY CASH CASA DE EMPENO             CENTRO COMERCIAL ALTURAS              DE RIO GRANDE LOCAL KK 60                                          RIO GRANDE          PR      00745
CITY GARDENS & EXTERMINATING CORP.   CALLE ARTICO 641 PUERTO NUEVO                                                                            SAN JUAN            PR      00920‐0000
CITY GARDENS AND EXTERMINATING       200 SIERRA ALTA                       BUZON 51 APT. G‐201                                                SAN JUAN            PR      00926
CITY ICE PLANT Y\O LE COGNAC INC     1108 AVE FERNANDEZ JUNCOS                                                                                SAN JUAN            PR      00907
CITY ICE PLANT Y\O LE COGNAC INC     PO BOX 10135                                                                                             SAN JUAN            PR      00908
CITY LIBERTY INLIMITED INC           PO BOX 3645                                                                                              CAROLINA            PR      00984
CITY MUFFLER & FRIO AUTO             PUERTO NUEVO                          1351 AVE ROOSEVELT                                                 SAN JUAN            PR      00920
CITY MUFFLER FRIO AUTO DE PR         AVE. ROOSEVELT 1349                                                                                      PUERTO NUEVO        PR      00625
CITY MUFFLERS FRIO AUTO DE PR        URB PUERTO NUEVO                      1349 AVE ROOSEVELT                                                 SAN JUAN            PR      00920‐0000
CITY MUFFLERS FRIO AUTO DE PR        URB PUERTO NUEVO                      1351 AVE ROOSEVELT                                                 SAN JUAN            PR      00920‐0000
CITY OF ANGELS FOR KIDS              ROYAL TOWN                            CALLE 50 A FINAL BLOQ7 #8                                          BAYAMON             PR      00956
CITY OF KISSIMMEE, FINANCE DEPT      101 N CHURCH ST                                                                                          KISSIMMEE           FL      34741
CITY OFFICE SUPPLIES                 A 2 MARGINAL                                                                                             MANATI              PR      00674
CITY OFFICE SUPPLIES                 APARTADO 1669                                                                                            BAYAMON             PR      00960‐1669
CITY OFFICE SUPPLIES                 D‐42 MARGINAL                         EXT FOREST HILL                                                    BAYAMON             PR      00959
CITY OFFICE SUPPLIES                 PO BOX 1669                                                                                              BAYAMON             PR      00960
CITY OFFICE SUPPLIES                 URB EL SALVADOR                       A 2 MARGINAL CARR #2                                               MANATI              PR      00674
CITY OPTICAL                         CALLE ROBLES #12                                                                                         RIO PIEDRAS         PR      00925
CITY OPTICAL INC                     12 CALLE ROBLES                                                                                          RIO PIEDRAS         PR      00925
CITY PARADISE DEVELOPMENT CORP       252 PONCE DE LEON                     # 904                                                              HATO REY            PR      00918
CITY PARK EQUIPMENT, INC             7055 VIA PLAYERA                      URB CAMINO DEL MAR                                                 TOA BAJA            PR      00949
CITY PROPERTIES INC                  BOX 2399                                                                                                 TOA BAJA            PR      00951‐2399
CITY STATIONARY                      PO BOX 9239                                                                                              CAGUAS              PR      00726
CITY STATIONARY‐ NUM INC VEASE NUM   PO BOX 9239                                                                                              CAGUAS              PR      00726‐0000
CITY STATIONERY                      PO BOX 9239                                                                                              CAGUAS              PR      00726
CITY STATIONERY INC                  PO BOX 9239                                                                                              CAGUAS              PR      00726
CITY VIEW PLAZA S E                  P O BOX 9066590                                                                                          SAN JUAN            PR      00906‐6590
CITYMATTRESS CORP                    P O BOX 4639                                                                                             CAROLINA            PR      00984‐4639
CIUD DEPORTIVA ROBERTO CLEMENT       PO BOX 364571                                                                                            SAN JUAN            PR      00936




                                                                                                         Page 1538 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1539 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                          Address2                                      Address3   Address4   City          State   PostalCode   Country
CIUDAD DEP. ROBERTO CLEMENTE              P O BOX 364571                                                                                        SAN JUAN      PR      00936‐4571
CIUDAD DEPORTIVA ROBERTO CLEMENTE         PO BOX 364571                                                                                         SAN JUAN      PR      00936‐4571
CIUDAD EDUCATIVA DR ROQUE DIAZ/COSEY      PO BOX 428                                                                                            YABUCOA       PR      00767
CIUDAD LUMEN LLC                          PO BOX 192037                                                                                         SAN JUAN      PR      00919‐2037
CIUDAD SENORIAL SE                        206 ELEONOR ROOSEVELT SUITE 203                                                                       SAN JUAN      PR      00918
CIUDADANOS PRO DEFENSA DE LA BELLEZA PR   CAPARRA OFFICE CENTER             22 AVE GONZALEZ GIUSTI STE 214                                      GUAYNABO      PR      00968
CIURO HERNANDEZ, CHRISTIAN                ADDRESS ON FILE
CIURO HERNANDEZ, JUAN                     ADDRESS ON FILE
CIURO HERNANDEZ, OSVALDO                  ADDRESS ON FILE
CIURO MARRERO, MILENI                     ADDRESS ON FILE
CIURO PERAZA, CARLOS                      ADDRESS ON FILE
CIURO PERAZA, CARLOS A                    ADDRESS ON FILE
CIURO PEREIRA, ALBA N                     ADDRESS ON FILE
Ciuro Pereira, Xavier                     ADDRESS ON FILE
CIURO PEREZ, LUIS J.                      ADDRESS ON FILE
CIURO ROMERO, ANA L                       ADDRESS ON FILE
CIURO TORRES, ROBERTO                     ADDRESS ON FILE
CIURO VELAZQUEZ, MIRIAM                   ADDRESS ON FILE
CIVICO REYES, GIOVANNI                    ADDRESS ON FILE
CIVIDANES MARRERO, CARMEN                 ADDRESS ON FILE
CIVIDANES RODRIGUEZ, EMILIA               ADDRESS ON FILE
CIVIDANES ROMERO, OLGA                    ADDRESS ON FILE
CIVIDANES VELEZ, FELIX J.                 ADDRESS ON FILE
CIVIL AIR PATROL                          PO BOX 9066521                                                                                        SAN JUAN      PR      00906‐6521
CIVIL AIR PATROL PR /LUIS A CUBANO ROJA   PO BOX 192460                                                                                         SAN JUAN      PR      00919‐2460
CIVIL AIR PATROL‐PUERTO RICO WING         PO BOX 9066521                                                                                        SAN JUAN      PR      00906‐6521
CIVITAS PLUS, INC                         459 AVE. HOSTOS                                                                                       SAN JUAN      PR      00918
CIZI MEDIA INC                            PUERTO NUEVO                      1006 CALLE ALPES                                                    SAN JUAN      PR      00926
CJ MAINTENANCE, INC,                      PO BOX 1041                                                                                           OROCOVIS      PR      00720
CJ MECHANICAL LLC                         PMB 141 HC 72 BOX 3766                                                                                NARANJITO     PR      00719
CJ REALTY CORP                            GALERIA PASEOS                    100 GRAND PASEO BLVD STE 112 PMB 279                                SAN JUAN      PR      00926‐5955
CJ SURVEYING AND MAPPING,CORP             HC 1 BOX 8044                                                                                         PENUELAS      PR      00624
CJ TRANSPORT SERVICES CORP                PO BOX 774                                                                                            PONCE         PR      00715
CJA CAYEY INC                             PO BOX 373271                                                                                         CAYEY         PR      00737‐3271
CKG GROUP LLC                             PLAZA LAS AMERICAS STE 536                                                                            SAN JUAN      PR      00918
CL ELECTRICAL & GENERAL                   PO BOX 1575                                                                                           CAYEY         PR      00737
CL ELECTRICAL & GENERAL CONTRACTOR INC    PO BOX 1575                                                                                           CAYEY         PR      00737
CL GROUP CONCRETE INC                     PO BOX 698                                                                                            CULEBRA       PR      00775‐0698
CLADD LLC                                 CAMINO DEL SUR 334 CARPINTERO                                                                         PONCE         PR      00716
CLAG PSY CENTER AND CONSULTANT            PO BOX 7891 PMB 349                                                                                   GUAYNABO      PR      00970‐7891
CLAIDYS LANZOT SANTIAGO                   URB SAN JOSE                      455 CALLE CEUTA                                                     SAN JUAN      PR      00923
CLAIMS PLUS INC                           URB LA CUMBRE                     273 CALLE SIERRA MORENA PMB 161                                     SAN JUAN      PR      00926‐5575
CLAIRISSE MENDEZ GARCIA                   ADDRESS ON FILE
CLAITY RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
CLAMOR AL AMOR INC                        PO BOX 201                                                                                            VILLALBA      PR      00756
CLANCY VIZCARRONDO, AMY L                 ADDRESS ON FILE
CLARA ALICEA SANCHEZ                      ADDRESS ON FILE
CLARA APONTE MALDONADO                    ADDRESS ON FILE
CLARA ARROYO ROSARIO                      ADDRESS ON FILE
CLARA C LAUNDESTOY MARTINEZ               ADDRESS ON FILE
CLARA C MERCADO                           ADDRESS ON FILE
CLARA C VIERA GARCIA                      ADDRESS ON FILE
CLARA C. LAUNDESTOY MARTINEZ              ADDRESS ON FILE
CLARA C. STEFANI CRUZ                     ADDRESS ON FILE
CLARA CARRASCO PENA                       ADDRESS ON FILE
CLARA CARRASCO PENA                       ADDRESS ON FILE
CLARA CARRERO MERCADO                     ADDRESS ON FILE
CLARA CORDOVA ORTIZ                       ADDRESS ON FILE
CLARA CORREA/HECTOR CORREA/ WILLIAM       ADDRESS ON FILE
CLARA COTTO                               ADDRESS ON FILE




                                                                                                         Page 1539 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1540 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                            Address1                         Address2                                  Address3   Address4   City           State   PostalCode   Country
CLARA DEL MAR SANCHEZ GARCIA             ADDRESS ON FILE
CLARA ESTEVES LUCIANO                    ADDRESS ON FILE
CLARA FLECHA, MARTA MARIA                ADDRESS ON FILE
CLARA GONZALEZ                           ADDRESS ON FILE
CLARA GUZMAN CALDERON                    ADDRESS ON FILE
CLARA HUERTAS, PEDRO                     ADDRESS ON FILE
CLARA I ARRIAGA CORREA                   ADDRESS ON FILE
CLARA I ARRIAGA CORREA                   ADDRESS ON FILE
CLARA I CAPO MONTANEZ                    ADDRESS ON FILE
CLARA I DIAZ SANTIAGO                    ADDRESS ON FILE
CLARA I GONZALEZ                         ADDRESS ON FILE
CLARA I LAGO TORRES                      ADDRESS ON FILE
CLARA I PEREZ ESCALERA                   ADDRESS ON FILE
CLARA I RIVERA LOPEZ                     ADDRESS ON FILE
CLARA I SANTIAGO VARGAS                  ADDRESS ON FILE
CLARA I TORRES MELENDEZ                  ADDRESS ON FILE
CLARA I VALDERRAMA FUGUEN                ADDRESS ON FILE
CLARA I. ROSARIO RUIZ                    ADDRESS ON FILE
CLARA L RODRIGUEZ DE RABELL              ADDRESS ON FILE
CLARA L TORRES CHAPARRO                  ADDRESS ON FILE
CLARA L. FIGUEROA OTERO                  ADDRESS ON FILE
CLARA LOPEZ OCASIO                       ADDRESS ON FILE
CLARA M CORDERO VELEZ                    ADDRESS ON FILE
CLARA M MONTALVO CEDE¥O                  ADDRESS ON FILE
CLARA M PEREZ                            ADDRESS ON FILE
CLARA M TORRES RIVERA                    ADDRESS ON FILE
CLARA M. QUINONES DIAZ                   ADDRESS ON FILE
CLARA MAASS MED CENTER                   PO BOX 409822                                                                                    ATLANTA        GA      30384‐9822
CLARA MAASS MEDICAL CENTER               ONE CLARA MAASS MEDICAL CENTER                                                                   BELLEVILLE     NJ      07109
CLARA R PERELLO PALMA                    ADDRESS ON FILE
CLARA REYES VARGAS                       ADDRESS ON FILE
CLARA RIVERA / NEFTALIE G ALBE PEREZ     ADDRESS ON FILE
CLARA RIVERA ORTIZ                       ADDRESS ON FILE
CLARA RIVERA SALAMAN                     ADDRESS ON FILE
CLARA RODRIGUEZ DOMINGUEZ                ADDRESS ON FILE
CLARA RUIZ LUCIANO                       ADDRESS ON FILE
CLARA V. GONZALEZ SEDA                   ADDRESS ON FILE
CLARA VAZQUEZ, FERNANDO L.               ADDRESS ON FILE
CLARA VELEZ RAMOS                        ADDRESS ON FILE
CLARA, DELGADO                           ADDRESS ON FILE
CLARENCE HARRIS                          ADDRESS ON FILE
CLARESA OLIVER BERRIOS                   ADDRESS ON FILE
CLARETTE AVILES                          ADDRESS ON FILE
CLARIANNE BENITEZ RIVERA                 ADDRESS ON FILE
CLARIANNE J RODRIGUEZ TORO               ADDRESS ON FILE
CLARIBEL ABREU MORALES                   ADDRESS ON FILE
CLARIBEL ABREU MORALES                   ADDRESS ON FILE
CLARIBEL ACOSTA                          ADDRESS ON FILE
CLARIBEL AFANDOR DE JESUS                ADDRESS ON FILE
CLARIBEL ALMODOVAR GONZALEZ              ADDRESS ON FILE
CLARIBEL ANGUITA RODRIGUEZ               ADDRESS ON FILE
CLARIBEL CAMACHO QUINONES                ADDRESS ON FILE
CLARIBEL CARABALLO CARDONA               ADDRESS ON FILE
CLARIBEL CASILLAS GREEN                  ADDRESS ON FILE
CLARIBEL COLON VELEZ                     ADDRESS ON FILE
CLARIBEL CONTRERAS CHICLANA              ADDRESS ON FILE
CLARIBEL CORREA RIVERA                   ADDRESS ON FILE
CLARIBEL CRESPO CARABALLO                ADDRESS ON FILE
CLARIBEL CRUZ V DEPARTAMENTO EDUCACION   LCDA AMELIA M CINTRON            URB SAN ANTONIO 1939 AVE LAS AMERICAS                           Ponce          PR      00728‐1815
CLARIBEL CUEVAS APONTE                   ADDRESS ON FILE




                                                                                                     Page 1540 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1541 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                       Address1                     Address2                                Address3     Address4             City         State   PostalCode   Country
CLARIBEL DIAZ NEGRON                ADDRESS ON FILE
CLARIBEL DOMINICCI RODRIGUEZ        ADDRESS ON FILE
CLARIBEL ECHEVARRIA RAMOS           ADDRESS ON FILE
CLARIBEL ESPADA VARGAS              ADDRESS ON FILE
CLARIBEL ESTRELLA QUINONES          ADDRESS ON FILE
CLARIBEL ESTRELLA QUINONES          ADDRESS ON FILE
CLARIBEL FERNANDEZ ADORNO           ADDRESS ON FILE
CLARIBEL FERNANDEZ ADORNO           ADDRESS ON FILE
CLARIBEL FIGUEROA BURGOS            ADDRESS ON FILE
CLARIBEL GARCIA RAMOS               ADDRESS ON FILE
CLARIBEL GONZALEZ CRUZ              ADDRESS ON FILE
CLARIBEL GONZALEZ QUINONEZ          ADDRESS ON FILE
CLARIBEL GONZALEZ ROSARIO           ADDRESS ON FILE
CLARIBEL HERNANDEZ LUNA             ADDRESS ON FILE
CLARIBEL HERNANDEZ RIVERA           ADDRESS ON FILE
CLARIBEL JORGE MORALES              ADDRESS ON FILE
CLARIBEL LISBOA                     ADDRESS ON FILE
CLARIBEL LOPEZ CRUZ                 ADDRESS ON FILE
CLARIBEL MARQUEZ QUIANES            ADDRESS ON FILE
CLARIBEL MARQUEZ QUIANES            ADDRESS ON FILE
CLARIBEL MARTINEZ CRUZ              ADDRESS ON FILE
CLARIBEL MARTINEZ RODRIGUEZ         ADDRESS ON FILE
CLARIBEL MATIAS MUNIZ               ADDRESS ON FILE
CLARIBEL MORALES BERMUDEZ           ADDRESS ON FILE
CLARIBEL MORALES CRESPO             ADDRESS ON FILE
CLARIBEL MUNIZ ROLON                ADDRESS ON FILE
CLARIBEL OCASIO PIZARRO             ADDRESS ON FILE
CLARIBEL OCASIO SANTIAGO            ADDRESS ON FILE
CLARIBEL ORTIZ BARRIOS              ADDRESS ON FILE
CLARIBEL PEREZ ACEVEDO              ADDRESS ON FILE
CLARIBEL PIZARRO CARRASQUILLO       ADDRESS ON FILE
CLARIBEL QUINTANA GONZALEZ          ADDRESS ON FILE
CLARIBEL RAMOS NAVARRO              ADDRESS ON FILE
CLARIBEL RIOS MUNOZ                 ADDRESS ON FILE
CLARIBEL RIVERA HERNANDEZ Y OTROS   EDUARDO ORTIZ RIVERA         PO BOX 12233                                                              SAN JUAN     PR      00914‐2233
CLARIBEL RIVERA HERNANDEZ Y OTROS   IRENE REYEZ DIEZ             PO BOX 365067                                                             SAN JUAN     PR      00936‐5067
CLARIBEL RIVERA HERNANDEZ Y OTROS   LIC. GALLART PEREZ, JOSE A   420 AVE. Ponce DE LEÓN                               SUITE 304            SAN JUAN     PR      00918
CLARIBEL RIVERA HERNANDEZ Y OTROS   RAFAEL G. DAVILA SEVILLANO   PO BOX 2129                                                               SAN JUAN     PR      00922‐2129
                                                                                                                      1225 AVENIDA PONCE
CLARIBEL RIVERA HERNANDEZ Y OTROS   RAMON VIÑAS BUESO            VIÑAS LAW OFFICE                        SUITE 1503   DE LEON              SAN JUAN     PR      00907‐3984
CLARIBEL RIVERA JIMÉNEZ
CLARIBEL RIVERA ORTIZ               ADDRESS ON FILE
CLARIBEL RIVERA ROSADO              ADDRESS ON FILE
CLARIBEL RODRIGUEZ CORTES           ADDRESS ON FILE
CLARIBEL RODRIGUEZ GARCIA           ADDRESS ON FILE
CLARIBEL ROSA SANCHEZ               ADDRESS ON FILE
CLARIBEL SANCHEZ FELICIANO          ADDRESS ON FILE
CLARIBEL SANTIAGO GONZALEZ          ADDRESS ON FILE
CLARIBEL SANTIAGO RIVERA            ADDRESS ON FILE
CLARIBEL SILVESTRE DE LA ROSA       ADDRESS ON FILE
CLARIBEL SOTO CENTENO               ADDRESS ON FILE
CLARIBEL TORRES HERNANDEZ           ADDRESS ON FILE
CLARIBEL TORRES PEREZ               ADDRESS ON FILE
CLARIBEL TORRES SANTOS              ADDRESS ON FILE
CLARIBEL VEGA CORTES                ADDRESS ON FILE
CLARIBEL W MERCADO VARGAS           ADDRESS ON FILE
CLARIBELL RIVERA ROMAN              ADDRESS ON FILE
CLARIBELLE NIEVES FLORES            ADDRESS ON FILE
CLARIBELLE ORTIZ VALENTIN           ADDRESS ON FILE
CLARIBETH NUNEZ VAZQUEZ             ADDRESS ON FILE




                                                                                          Page 1541 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1542 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                        Address1                               Address2                                    Address3           Address4   City           State   PostalCode   Country
CLARICIA BARRETO ARCE                ADDRESS ON FILE
CLARIDAD                             57 CALLE BORINQUEN                     URB SANTA RITA                                                            SAN JUAN       PR      00925‐2732
CLARIDAD                             URB SANTA RITA                         57 CALLE BORINQUENA                                                       SAN JUAN       PR      00925‐2732
CLARIDSA M NEGRON GARCIA             ADDRESS ON FILE
CLARIGELL L JAVIER DE LOS SANTOS     ADDRESS ON FILE
CLARIMAR DIAZ RIVERA                 ADDRESS ON FILE
CLARIMAR PAGAN LAMBRIX               ADDRESS ON FILE
CLARIMAR RIVERA MERCADO/ RENEWABLE   SOLUTIONS ENGINEERING INC              MANSIONES DE CIUDAD JARDIN                  530 CALLE ORENSE              CAGUAS         PR      00727
CLARIMAR VEGA PAGAN                  ADDRESS ON FILE
CLARIMARY ANDINO SIERRA              ADDRESS ON FILE
CLARIMARY ANDINO SIERRA              ADDRESS ON FILE
CLARIN FLORES, CLARIBELL             ADDRESS ON FILE
CLARINA REYES PACHECO                ADDRESS ON FILE
CLARION SHOP.COM                     PO BOX 511                                                                                                       PLUMSTED               7801         SA
CLARION STEVENS CHARLES              ADDRESS ON FILE
CLARISA DIEZ MURO                    ADDRESS ON FILE
CLARISA E MUNIZ MUNIZ                ADDRESS ON FILE
CLARISA GONZALEZ LANDRON             ADDRESS ON FILE
CLARISA M MANON MARTINEZ             ADDRESS ON FILE
CLARISA OTERO ORTIZ                  ADDRESS ON FILE
CLARISA RIVERA CRUZ                  ADDRESS ON FILE
CLARISA, MARTINEZ‐VARGAS             ADDRESS ON FILE
CLARISSA CORREA MARQUEZ              ADDRESS ON FILE
CLARISSA FELICIANO FIGUEROA          ADDRESS ON FILE
CLARISSA K ACEVEDO RAMIREZ           ADDRESS ON FILE
CLARISSA L MIRANDA CORTES            ADDRESS ON FILE
CLARISSA MARTINEZ PEREZ              ADDRESS ON FILE
CLARISSA ORTIZ TORRES                ADDRESS ON FILE
CLARISSA PEREZ MONTERO               ADDRESS ON FILE
CLARISSA RODRIGUEZ ESMURRIA          ADDRESS ON FILE
CLARISSA RODRIGUEZ FERRAN            ADDRESS ON FILE
CLARISSIA PEREZ OTERO                FRANCISCO J. VIZCARRONDO‐TORRES        PO BOX 195642                                                             SAN JUAN       PR      00919‐5642
CLARITA MONTANEZ                     ADDRESS ON FILE
CLARITY MEDICAL SYSTEM INC.          5775 W LAS POSITAS BLVD                                                                                          PLEASANTON     PR      94588
CLARITY MEDICAL SYSTEMS              5775 WEST LAS POSITAS BLVD SUITE 200                                                                             PLEASANTON     CA      94588‐1084
CLARITZA CASANOVA RIVERA             ADDRESS ON FILE
CLARITZA FELES RIVERA                ADDRESS ON FILE
CLARITZA GORBEA Y CLARI M GORBEA     ADDRESS ON FILE
CLARITZA LOPEZ FALERO                ADDRESS ON FILE
CLARITZA MEDINA HERNANDEZ            ADDRESS ON FILE
CLARITZA RIVERA TORRES               ADDRESS ON FILE
CLARITZA RODRIGUEZ                   ADDRESS ON FILE
CLARITZA RODRIGUEZ MORALES           ADDRESS ON FILE
CLARIVEL GONZALEZ PEREZ              ADDRESS ON FILE
CLARIVELIS COLLERAN                  ADDRESS ON FILE
CLARIVETT SANCHEZ SALDANA            ADDRESS ON FILE
CLARIVETT SANCHEZ SALDANA            ADDRESS ON FILE
CLARIVETT SANCHEZ SALDANA            ADDRESS ON FILE
CLARIVETTE SANCHEZ SALDANE           ADDRESS ON FILE
CLARIZA A LORA CASTILLO              ADDRESS ON FILE
CLARK CAMACHO, ANA L                 ADDRESS ON FILE
CLARK CAMACHO, IRMA LUZ              ADDRESS ON FILE
CLARK COLON, ORLANDO                 ADDRESS ON FILE
Clark Garcia, Gilberto               ADDRESS ON FILE
CLARK GARCIA, IRMA                   ADDRESS ON FILE
Clark Gomez, Michele L.              ADDRESS ON FILE
CLARK HERBERT, TERRANCIO             ADDRESS ON FILE
CLARK MD, JONATHAN                   ADDRESS ON FILE
CLARK MELBA, SOCORRO                 ADDRESS ON FILE
CLARK MORA, LINDA                    ADDRESS ON FILE




                                                                                                         Page 1542 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1543 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                            Address1                    Address2                                Address3          Address4   City              State   PostalCode   Country
CLARK NIEVES, DENISSE                    ADDRESS ON FILE
CLARK ROMERO, DARLENE                    ADDRESS ON FILE
CLARK TORRES, KIMBERLY B.                ADDRESS ON FILE
CLARKE VIVES, ANDRES                     ADDRESS ON FILE
CLARKE VIVES, ANDRES                     ADDRESS ON FILE
CLARKE VIVES, EGBERT                     ADDRESS ON FILE
CLARKSVILLE SLEEP DISORDER CENTER        311 LANDRUM PLACE STE 800                                                                        CLARKVILLE        TN      37043
CLARO                                    PO BOX 70367                                                                                     SAN JUAN          PR      00936
CLARO                                    PO BOX 70366                                                                                     SAN JUAN          PR      00936‐8367
CLARO DE PUERTO RICO                     CUENTAS DE GOBIERNO         PO BOX 70367                                                         SAN JUAN          PR      00936‐0367
CLARY A. MONTALVO GALIANO                ADDRESS ON FILE
CLARY CABAN ACEVEDO                      ADDRESS ON FILE
CLARY CORP OF PR                         PO BOX 9752                                                                                      SAN JUAN          PR      00908‐9752
CLARY CORPORATION DE PUERTO RICO INC     PO BOX 9752                                                                                      SAN JUAN          PR      00908
CLAS CHEVEREZ, CHABELY                   ADDRESS ON FILE
CLAS CLAS, AIDA                          ADDRESS ON FILE
CLAS CLAS, CARMEN L                      ADDRESS ON FILE
CLAS FERNANDEZ, LUIS                     ADDRESS ON FILE
CLAS MIRANDA, NILSA M.                   ADDRESS ON FILE
CLAS MIRANDA, NILSA M.                   ADDRESS ON FILE
CLAS OTERO, GLADYS L                     ADDRESS ON FILE
CLAS RODRIGUEZ, ANITA                    ADDRESS ON FILE
CLAS WISCOVITCH, LUIS J.                 ADDRESS ON FILE
CLASE 1947 ESC SUP HOSTOS                P O BOX 3546                                                                                     MAYAGUEZ          PR      00681‐3546
CLASE 88                                 EXT ALAMEDA                 D 54 CALLE C                                                         SAN JUAN          PR      00926
CLASE 92 PAPA JUAN XXIII                 ALT DE FLAMBOYAN            E 40 CALLE 6                                                         BAYAMON           PR      00959
CLASE 97 ACADEMIA SAGRADO                JARD DE CASA BLANCA         161 CALLE WASHINGTON                                                 TOA ALTA          PR      00953
CLASE 97 ACADEMIA SAGRADO                URB ALTS DE FLAMBOYAN       Z 16 C/ 14                                                           BAYAMON           PR      00959
CLASE APARTE MUSIC INC                   VILLA UNIVERSITARIA         109 CALLE UC                                                         AGUADILLA         PR      00603‐6716
CLASE DE MEDICINA 2011 RCM INC           EXT VILLA RICA              U 23 CALLE 14                                                        BAYAMON           PR      00959
CLASE DEL 2000 AMA                       URB EST DEL RIO             33 CALLE JACAGUA                                                     AGUAS BUENAS      PR      00703
CLASE DEL 92                             2 BALCONES DEL MONTE REAL   APT 3303                                                             CAROLINA          PR      00987
CLASE FARMACIA 2006                      PO BOX 364109                                                                                    SAN JUAN          PR      00936
CLASE GRAD 2001 ESC NTRA SRA PROVIDENCIA URB SANTA PAULA             M 27 CALLE JUAN RAMOS                                                GUAYNABO          PR      00969
CLASE GRAD 99 FALCULTAD DERECHO EUGENIO ADDRESS ON FILE
CLASE GRADUADA 1954 ARECIBO              P O BOX 1274                                                                                     ARECIBO           PR      00613
CLASE GRADUADA 1966 G MISTRAL            URB MONTE CLARO             PLAZA 3 MA 13                                                        BAYAMON           PR      00961
CLASE GRADUANDA 1983 ELM                 URB VILLA ANDALUCIA         N 52 CALLE ALORA                                                     SAN JUAN          PR      00926
CLASE GRADUANDA 1986                     URB LOIZA VALLEY            K 380 CALLE MADRESELVA                                               CANOVANAS         PR      00729
CLASE GRADUANDA 1987 ANTONIO SARRIERA URB METROPOLIS                 2 P 1 CALLE 43                                                       CAROLINA          PR      00987
CLASE GRADUANDA 2000 ST MARYS SCHOOL     COND COLINAS DE BAYAMON     BOX 1407 APT 14 G                                                    BAYAMON           PR      00956
CLASE GRADUANDA 2001 CLM                 URB ENCANTADA RIO CRISTAL   RB 4 VIA TIGRI                                                       TRUJILLO ALTO     PR      00976
CLASE GRADUANDA 2003 ESC MIGUEL DE       CERVANTES SAAVEDRA          SANTA JUANITA SEC 11                    ED14 CALLE OLMO              BAYAMON           PR      00956
CLASE GRADUANDA 2004 C E S               PO BOX 366815                                                                                    SAN JUAN          PR      00936‐6815
CLASE GRADUANDA 2013‐2014 NEXT GENERATIOPO BOX 1612                                                                                       JUNCOS            PR      00777
CLASE GRADUANDA AKRONIX                  HC 8 BOX 44724                                                                                   AGUADILLA         PR      00603
CLASE GRADUANDA DE 1982                  URB PORTOBELLO 931          PORTO SANTO                                                          TOA ALTA          PR      00953
CLASE GRADUANDA ESC MARG JANER           HC 1 BOX 6656                                                                                    GUAYNABO          PR      00971
CLASE GRADUANDA LUIS MUNOZ MARIN         HC 01 BOX 4688                                                                                   YABUCOA           PR      00767
CLASE GRADUANDA SYDERIX                  HC‐7 BOX 33771                                                                                   CAGUAS            PR      00727
CLASE GRADUANDA UGHS 2001                URB MONTE CASINO HGTS       327 CALLE RIO SIBUCO                                                 TOA ALTA          PR      00953
CLASE GRADUANDA VERTUMNUS 2002           PO BOX 405                                                                                       HATILLO           PR      00659
CLASE GRANDUANDA 1969                    URB VILLA LUISA             204 CALLE AMBAR                                                      CABO ROJO         PR      00623
CLASE MEDICINA 2006 RCM                  2504 MEEK ST                                                                                     GULF BREEZE       PR      32563
CLASICO CICLISMO SAN ANTONIO DE PADUA IN PO BOX 10007 SUITE 281                                                                           GUAYAMA           PR      00784
CLASS ALBINO, HUMBERTO                   ADDRESS ON FILE
CLASS ALVARADO, MARIA E                  ADDRESS ON FILE
Class Arce, Israel                       ADDRESS ON FILE
CLASS AULI, JANICE                       ADDRESS ON FILE
CLASS AUTO TECHNICIAN CORP               CHALETS DE SANTA CLARA      33 CALLE AMBAR                                                       GUAYNABO          PR      00969




                                                                                              Page 1543 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1544 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                                 Address2                    Address3   Address4   City         State   PostalCode   Country
CLASS AVILES, IVETTE A                 ADDRESS ON FILE
CLASS AVILES, YESSENIA                 ADDRESS ON FILE
CLASS BALAGUER, LEIDA                  ADDRESS ON FILE
CLASS BENGOCHEA, VIVIAN A.             ADDRESS ON FILE
Class Camacho, Carmen                  ADDRESS ON FILE
CLASS CAMACHO, CARMEN                  ADDRESS ON FILE
CLASS CAMACHO, MAYRA                   ADDRESS ON FILE
CLASS CANDELARIA, NYDIA                ADDRESS ON FILE
CLASS CASELLAS, IRMA                   ADDRESS ON FILE
CLASS CASELLAS, JUAN                   ADDRESS ON FILE
CLASS CASTRO, DUHAMEL                  ADDRESS ON FILE
CLASS CHEVEREZ, NEREIDA                ADDRESS ON FILE
CLASS CHEVEREZ, YARELIS                ADDRESS ON FILE
CLASS CLASS, AIDA R                    ADDRESS ON FILE
CLASS CONTRACTOR CORP                  URB BRISAS DE CAMUY                      CALLE C 24                                        CAMUY        PR      00627
CLASS CONTRACTOR CORP.                 ATENAS COURT 200 , CARR. 149 , APT.203                                                     MANATI       PR      00674‐0000
Class Corchado, Vicente A.             ADDRESS ON FILE
CLASS CORREA, NEILIS                   ADDRESS ON FILE
CLASS CORREA, YAHAIRA                  ADDRESS ON FILE
CLASS CORREA, YESENIA                  ADDRESS ON FILE
CLASS CRUZ, EXEL AGUSTIN               ADDRESS ON FILE
CLASS DAVILA, ANGEL S                  ADDRESS ON FILE
CLASS DAVILA, MARIA DE LOS A           ADDRESS ON FILE
CLASS DAVILA, SONIA                    ADDRESS ON FILE
CLASS DE VEGA CECILIA 5                DA FERRAN C/ C 31                                                                          PONCE        PR      00731
CLASS DELGADO, MICHELLE                ADDRESS ON FILE
CLASS DIAZ, ANDRES                     ADDRESS ON FILE
Class Diaz, Felix                      ADDRESS ON FILE
CLASS DIAZ, GILBERTO                   ADDRESS ON FILE
CLASS DIAZ, JOSE A                     ADDRESS ON FILE
CLASS DIAZ, MARIELA                    ADDRESS ON FILE
CLASS ESPINOSA, ANGEL                  ADDRESS ON FILE
CLASS ESTEVEZ, JOSE                    ADDRESS ON FILE
CLASS ESTEVEZ, JOSE E                  ADDRESS ON FILE
CLASS ESTEVEZ, JOSE E                  ADDRESS ON FILE
CLASS FELICIANO, DAVID                 ADDRESS ON FILE
Class Feliciano, Jorge L               ADDRESS ON FILE
CLASS FELICIANO, LEONARDO              ADDRESS ON FILE
Class Figueroa, Jeffrey                ADDRESS ON FILE
CLASS FIGUEROA, JEFFREY                ADDRESS ON FILE
CLASS FRONTADO, JAN E.                 ADDRESS ON FILE
CLASS GAGO, LOURDES M.                 ADDRESS ON FILE
CLASS GARCIA, JOSE MIGUEL              ADDRESS ON FILE
CLASS GONZALEZ, ANGEL R.               ADDRESS ON FILE
CLASS GONZALEZ, ELIEZER                ADDRESS ON FILE
CLASS GONZALEZ, ELSA                   ADDRESS ON FILE
CLASS GONZALEZ, JONATHAN               ADDRESS ON FILE
CLASS GONZALEZ, ROCIO L                ADDRESS ON FILE
CLASS GRADUANDA ESC SUP ADOLFO GRANA   P O BOX 761                                                                                PENUELAS     PR      00624
CLASS GUZMAN, LOURDES                  ADDRESS ON FILE
CLASS HERNANDEZ, MARJORIE              ADDRESS ON FILE
CLASS HERNANDEZ, ZAIMARA               ADDRESS ON FILE
CLASS JURADO, BRENDA                   ADDRESS ON FILE
CLASS JURADO, BRENDA I.                ADDRESS ON FILE
CLASS LOPEZ, MARIA A                   ADDRESS ON FILE
CLASS LUGO, LUIS E                     ADDRESS ON FILE
CLASS MALDONADO, CARMEN                ADDRESS ON FILE
CLASS MALDONADO, ELIZABETH             ADDRESS ON FILE
CLASS MALDONADO, JESSICA               ADDRESS ON FILE
CLASS MALDONADO, SALVADOR              ADDRESS ON FILE




                                                                                             Page 1544 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1545 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLASS MARTINEZ, EDGAR       ADDRESS ON FILE
CLASS MARTINEZ, NORA H      ADDRESS ON FILE
CLASS MARTINEZ, YOLANDA     ADDRESS ON FILE
CLASS MEDINA, JUAN R.       ADDRESS ON FILE
CLASS MEDINA, NORMA         ADDRESS ON FILE
Class Miranda, Exio M.      ADDRESS ON FILE
CLASS MIRANDA, IRIS V       ADDRESS ON FILE
CLASS MIRANDA, ZAIDA I      ADDRESS ON FILE
CLASS MUNIZ, JUDITH         ADDRESS ON FILE
CLASS NIEVES, DORIS         ADDRESS ON FILE
CLASS NIEVES, DORIS E       ADDRESS ON FILE
CLASS OCASIO, JOSE          ADDRESS ON FILE
CLASS ORTEGA, ZULIMAR       ADDRESS ON FILE
CLASS ORTIZ, MAGDALIS       ADDRESS ON FILE
CLASS ORTIZ, ROMAN          ADDRESS ON FILE
CLASS OTERO, IRMA E         ADDRESS ON FILE
CLASS OTERO, JOSE V         ADDRESS ON FILE
CLASS OTERO, LUZ            ADDRESS ON FILE
CLASS OTERO, MILAGROS       ADDRESS ON FILE
CLASS OTERO, SYLVIA         ADDRESS ON FILE
CLASS PANTOJAS, CARMEN J    ADDRESS ON FILE
CLASS PEREZ, BRENDDY        ADDRESS ON FILE
CLASS PEREZ, ELICET         ADDRESS ON FILE
CLASS PEREZ, JOSE E         ADDRESS ON FILE
CLASS PEREZ, OLGA M         ADDRESS ON FILE
CLASS QUINONES, LIMARYS     ADDRESS ON FILE
CLASS QUIROS, DELMA         ADDRESS ON FILE
CLASS QUIROS, MANUEL        ADDRESS ON FILE
CLASS QUIROS, MANUEL        ADDRESS ON FILE
CLASS QUIROS, MONSERRATE    ADDRESS ON FILE
CLASS RAMOS, PETRONILA      ADDRESS ON FILE
CLASS REYES, GILBERTO       ADDRESS ON FILE
CLASS REYES, MARIA M        ADDRESS ON FILE
CLASS REYES, ROCIO          ADDRESS ON FILE
CLASS RIOS, EMANUEL         ADDRESS ON FILE
CLASS RIVAS, DINORAH        ADDRESS ON FILE
CLASS RIVERA, AGUEDA        ADDRESS ON FILE
CLASS RIVERA, BETZAIDA      ADDRESS ON FILE
CLASS RIVERA, BRENDA L.     ADDRESS ON FILE
CLASS RIVERA, DORA H        ADDRESS ON FILE
CLASS RIVERA, JOSEFINA      ADDRESS ON FILE
Class Rivera, Luis M        ADDRESS ON FILE
CLASS RIVERA, OLGA I        ADDRESS ON FILE
CLASS RIVERA, RAMONA        ADDRESS ON FILE
CLASS RODRIGUEZ, ARELYS     ADDRESS ON FILE
CLASS RODRIGUEZ, ARELYS     ADDRESS ON FILE
CLASS RODRIGUEZ, CARMEN     ADDRESS ON FILE
CLASS RODRIGUEZ, DENISTOR   ADDRESS ON FILE
CLASS RODRIGUEZ, OLGA       ADDRESS ON FILE
Class Rojas, Angel R        ADDRESS ON FILE
Class Roman, Heriberto      ADDRESS ON FILE
CLASS ROMAN, HERIBERTO      ADDRESS ON FILE
CLASS ROMAN, JOEL           ADDRESS ON FILE
CLASS ROSA, SANDRA          ADDRESS ON FILE
CLASS ROSARIO, ROBERTO      ADDRESS ON FILE
CLASS SALGADO, ANTONIO      ADDRESS ON FILE
CLASS SANCHEZ, GLADYS       ADDRESS ON FILE
CLASS SANCHEZ, MIGUEL       ADDRESS ON FILE
CLASS SEPULVEDA, ELIAS      ADDRESS ON FILE
CLASS SERPA, AIDA E         ADDRESS ON FILE




                                                                        Page 1545 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1546 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                        Address1                             Address2                                     Address3   Address4   City         State   PostalCode   Country
CLASS SOLIVAN, MIGUEL                ADDRESS ON FILE
CLASS SOTO, EDWIN                    ADDRESS ON FILE
CLASS SOTO, JOSE F                   ADDRESS ON FILE
CLASS TORRES, ELLIOT                 ADDRESS ON FILE
CLASS TORRES, JOHNATHAN              ADDRESS ON FILE
CLASS TORRES, MARIELLI               ADDRESS ON FILE
CLASS TORRES, SIULIVETH              ADDRESS ON FILE
CLASS TORRES, WILMARY                ADDRESS ON FILE
CLASS TRINIDAD, FERNANDO             ADDRESS ON FILE
CLASS VARGAS, RENET                  ADDRESS ON FILE
CLASS VEGA, JOHANNA                  ADDRESS ON FILE
CLASS VELEZ, JERMICA N.              ADDRESS ON FILE
CLASS VELEZ, JOSE                    ADDRESS ON FILE
CLASS VELEZ, JOSE M                  ADDRESS ON FILE
Class Vendrell, Luis Angel           ADDRESS ON FILE
CLASS VENDRELL, VICTOR               ADDRESS ON FILE
CLASS VILLANUEVA, ANGEL              ADDRESS ON FILE
CLASS VILLANUEVA, IRENE              ADDRESS ON FILE
CLASS VILLANUEVA, RUTH D.            ADDRESS ON FILE
CLASS, DENNIS                        ADDRESS ON FILE
Classen Concepcion, Maria Del C      ADDRESS ON FILE
CLASSEN CRUZ, JOSELYN E              ADDRESS ON FILE
CLASSEN DE JESUS, GLORIA M           ADDRESS ON FILE
CLASSEN DIAZ, LUIS                   ADDRESS ON FILE
CLASSEN GONZALEZ, ENDER              ADDRESS ON FILE
CLASSEN GONZALEZ, JESSENIA           ADDRESS ON FILE
CLASSEN GONZALEZ, MYRIAM             ADDRESS ON FILE
CLASSEN HERNANDEZ, EFRAIN            ADDRESS ON FILE
CLASSEN MILLET, JENNY                ADDRESS ON FILE
CLASSEN SERRANO, WILLIAM             ADDRESS ON FILE
CLASSEN TORRES, GLORIMAR             ADDRESS ON FILE
Classen Velazquez, Luis A            ADDRESS ON FILE
CLASSENS MARTINEZ, FERNANDO L        ADDRESS ON FILE
CLASSIC PRINTING                     PO BOX 9164                                                                                             BAYAMON      PR      00960
CLASSIC PRINTING PROMOTIONAL PRODS   CAPARRA TERRACE                      722 AVE ESCORIAL                                                   SAN JUAN     PR      00920
CLASSIC RESORT MANAGEMENT CORP       EDIF CENTRO DE SEGUROS               701 AVE PONCE DE LEON STE 309                                      SAN JUAN     PR      00907
CLASSPEREZ, MARIA T                  ADDRESS ON FILE
CLASSQUIROS, BENJAMIN                ADDRESS ON FILE
CLAUDETTE ALVAREZ DALMAU             ADDRESS ON FILE
CLAUDETTE BECERRA DE RODRIGUEZ       ADDRESS ON FILE
CLAUDETTE RAMOS RODRIGUEZ            ADDRESS ON FILE
CLAUDETTE RAMOS RODRIGUEZ            ADDRESS ON FILE
CLAUDIA ARTEAGA JUAREZ               ADDRESS ON FILE
CLAUDIA CAICEDO FUENTES              ADDRESS ON FILE
CLAUDIA CALDERON                     ADDRESS ON FILE
CLAUDIA CAMUNAS PEREZ                ADDRESS ON FILE
CLAUDIA COLON ACOSTA                 ADDRESS ON FILE
CLAUDIA E SOTOMAYOR MERCADO          ADDRESS ON FILE
CLAUDIA E SOTOMAYOR MERCADO          ADDRESS ON FILE
CLAUDIA EDWARDS                      ADDRESS ON FILE
CLAUDIA F MONTOYA LOZADA             ADDRESS ON FILE
CLAUDIA GONZALEZ CRUZ                ADDRESS ON FILE
CLAUDIA GUERRERO POCHE               LCDO. FRANCISCO VIZCARRONDO‐TORRES   PO BOX 195642                                                      SAN JUAN     PR      00919‐5642
CLAUDIA I MONGIL GHIGLIOTTY          ADDRESS ON FILE
CLAUDIA JUAN GARCIA                  ADDRESS ON FILE
CLAUDIA L GONZALEZ                   ADDRESS ON FILE
CLAUDIA L RAMOS RODRIGUEZ            ADDRESS ON FILE
CLAUDIA L VERGARA VEGA               ADDRESS ON FILE
CLAUDIA L. VERGARA VEGA              ADDRESS ON FILE
CLAUDIA LATIMER BENGOA               ADDRESS ON FILE




                                                                                                      Page 1546 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1547 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                   Address1                    Address2                                            Address3   Address4   City      State   PostalCode   Country
CLAUDIA M. DE FERIA MOLINI      ADDRESS ON FILE
CLAUDIA M. IZURIETA BERRIOS     ADDRESS ON FILE
CLAUDIA MARQUEZ LINARES         ADDRESS ON FILE
CLAUDIA OQUENDO, CRISTINA       ADDRESS ON FILE
CLAUDIA ORTIZ ALICEA            ADDRESS ON FILE
CLAUDIA P UFFRE CONTRERAS       ADDRESS ON FILE
CLAUDIA ROBLIOU RAMIREZ         ADDRESS ON FILE
CLAUDIA SANTIAGO HERNANDEZ      ADDRESS ON FILE
CLAUDIA SANTIAGO OLIVERA        ADDRESS ON FILE
CLAUDIA SANTIAGO SANCHEZ        ADDRESS ON FILE
CLAUDIA SIERRA PUPO             ADDRESS ON FILE
CLAUDIA SIERRA PUPO             ADDRESS ON FILE
CLAUDIA SILVA MADERA            ADDRESS ON FILE
CLAUDIA SOTOMAYOR MERCADO       ADDRESS ON FILE
CLAUDIA TIRADO FLORES           ADDRESS ON FILE
CLAUDIA WEEKS GERMANO           ADDRESS ON FILE
CLAUDIA WEEKS GERMANO           ADDRESS ON FILE
CLAUDIN JIMENEZ, ARMANDO        ADDRESS ON FILE
CLAUDINA CLAUDIO MULERO         ADDRESS ON FILE
CLAUDINA DE LA ROSA             ADDRESS ON FILE
CLAUDINA GUERRA GONZALEZ        ADDRESS ON FILE
CLAUDINA MONTALVO ARANZAMENDI   ADDRESS ON FILE
CLAUDIO A LUNA TORRES           ADDRESS ON FILE
CLAUDIO ACEVEDO, MARIA S.       ADDRESS ON FILE
CLAUDIO ADORNO, MARIA           ADDRESS ON FILE
CLAUDIO ADORNO, MIGDALIA        ADDRESS ON FILE
CLAUDIO AGOSTO, JUANITA         ADDRESS ON FILE
CLAUDIO ALAMO, AIDA I           ADDRESS ON FILE
CLAUDIO ALAMO, LUIS             ADDRESS ON FILE
Claudio Ambert, Jorge L         ADDRESS ON FILE
CLAUDIO AMBERT, JORGE L.        ADDRESS ON FILE
CLAUDIO ANDALUZ, CARMEN I       ADDRESS ON FILE
CLAUDIO ANDALUZ, CARMEN I.      ADDRESS ON FILE
CLAUDIO ANDUJAR, FRANCES I.     ADDRESS ON FILE
CLAUDIO APONTE, CAROLYN M       ADDRESS ON FILE
CLAUDIO AQUINO, LUIS            ADDRESS ON FILE
Claudio Arroyo, Francisco       ADDRESS ON FILE
CLAUDIO ARROYO, FRANCISCO       ADDRESS ON FILE
CLAUDIO ARZUAGA, LUIS           ADDRESS ON FILE
CLAUDIO AYALA, SIXNER           ADDRESS ON FILE
CLAUDIO BENITEZ, JONATHAN       ADDRESS ON FILE
CLAUDIO BERNARD, JORGE          ADDRESS ON FILE
CLAUDIO BERNASCHINA             LCDO. ARNALDO RIVERA SEDA   Edif. Maria Isabel 125 Calle Villa (bajos) Ste. 2                         Ponce     PR      00717
CLAUDIO BERRIOS, GUSTAVO        ADDRESS ON FILE
CLAUDIO BERRIOS, KAREN          ADDRESS ON FILE
CLAUDIO BERRIOS, KARLA          ADDRESS ON FILE
CLAUDIO BERRIOS, KARLA M.       ADDRESS ON FILE
Claudio Berrios, Mariano        ADDRESS ON FILE
Claudio Bonilla, Manuel De J.   ADDRESS ON FILE
CLAUDIO BORGES, CARLOS          ADDRESS ON FILE
Claudio Borges, Carlos J.       ADDRESS ON FILE
Claudio Borges, Juan C          ADDRESS ON FILE
Claudio Borges, Luis R          ADDRESS ON FILE
Claudio Borges, Raul L          ADDRESS ON FILE
Claudio Borrero, Victor         ADDRESS ON FILE
CLAUDIO BURGOS Y ASOCIADOS      ADDRESS ON FILE
CLAUDIO BURGOS, ERIC            ADDRESS ON FILE
CLAUDIO CAMACHO, EMANUEL        ADDRESS ON FILE
CLAUDIO CAMPOS, NANETTE         ADDRESS ON FILE
CLAUDIO CANCEL, YIOMARY         ADDRESS ON FILE




                                                                                               Page 1547 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1548 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO CARDONA, ISMERY        ADDRESS ON FILE
CLAUDIO CARRION, ELIZABETH     ADDRESS ON FILE
CLAUDIO CARRION, JUSTO         ADDRESS ON FILE
CLAUDIO CARRION, MIGUEL A      ADDRESS ON FILE
CLAUDIO CARRION, RENE          ADDRESS ON FILE
CLAUDIO CARTAGENA, KRISTAL     ADDRESS ON FILE
CLAUDIO CARTAGENA, VIONETTE    ADDRESS ON FILE
CLAUDIO CASTANON, LAURA        ADDRESS ON FILE
CLAUDIO CASTRO, CARMEN         ADDRESS ON FILE
CLAUDIO CASTRO, CARMEN M.      ADDRESS ON FILE
CLAUDIO CASTRO, EDWIN          ADDRESS ON FILE
CLAUDIO CASTRO, MINERVA        ADDRESS ON FILE
CLAUDIO CASTRO,MYRIAM          ADDRESS ON FILE
CLAUDIO CENTENO, JESSICA       ADDRESS ON FILE
CLAUDIO CINTRON, GLORIMAR      ADDRESS ON FILE
CLAUDIO CINTRON, LUIS          ADDRESS ON FILE
CLAUDIO CINTRON, RAQUEL        ADDRESS ON FILE
CLAUDIO CLAUDIO, ROSA          ADDRESS ON FILE
CLAUDIO CLAUDIO, VALISSA       ADDRESS ON FILE
CLAUDIO COLLAZO, GLIDDEN       ADDRESS ON FILE
CLAUDIO COLLAZO, IVONNE M      ADDRESS ON FILE
CLAUDIO COLON, ABIMAEL         ADDRESS ON FILE
CLAUDIO COLON, ALEJANDRO       ADDRESS ON FILE
CLAUDIO COLON, IVELISSE        ADDRESS ON FILE
CLAUDIO COLON, JAVIER          ADDRESS ON FILE
CLAUDIO COLON, JORGE           ADDRESS ON FILE
CLAUDIO COLON, JORGE L         ADDRESS ON FILE
CLAUDIO COLON, ROSAURA         ADDRESS ON FILE
CLAUDIO COLON, VIRGINIA        ADDRESS ON FILE
CLAUDIO COLTON, NAYDA          ADDRESS ON FILE
CLAUDIO CONCEPCION, IRIS N     ADDRESS ON FILE
CLAUDIO CONTRERAS, ANA I       ADDRESS ON FILE
CLAUDIO CONTRERAS, ELIZABETH   ADDRESS ON FILE
CLAUDIO CONTRERAS, HECTOR E    ADDRESS ON FILE
CLAUDIO CONTRERAS, MARIA       ADDRESS ON FILE
CLAUDIO CONTRERAS, TERESITA    ADDRESS ON FILE
CLAUDIO CORDOVA, JOSE          ADDRESS ON FILE
CLAUDIO CORTES MENDEZ          ADDRESS ON FILE
CLAUDIO CORTES, ANDRES         ADDRESS ON FILE
CLAUDIO CORTES, CARLOS         ADDRESS ON FILE
CLAUDIO COTTO, ROQUE           ADDRESS ON FILE
CLAUDIO CRESPO, JAVIER         ADDRESS ON FILE
CLAUDIO CRESPO, JULIO          ADDRESS ON FILE
CLAUDIO CRUZ HERNANDEZ         ADDRESS ON FILE
CLAUDIO CRUZ, DAVID            ADDRESS ON FILE
CLAUDIO CRUZ, DELMA            ADDRESS ON FILE
CLAUDIO CRUZ, JUAN             ADDRESS ON FILE
CLAUDIO CRUZ, LUIS F           ADDRESS ON FILE
Claudio Cruz, Marcos           ADDRESS ON FILE
CLAUDIO CRUZ, MARILYN          ADDRESS ON FILE
CLAUDIO CRUZ, MIRIAM           ADDRESS ON FILE
CLAUDIO CRUZ, MIRNA            ADDRESS ON FILE
CLAUDIO CRUZ, RAFAEL           ADDRESS ON FILE
CLAUDIO CUADRADO, LINDA        ADDRESS ON FILE
CLAUDIO CUADRADO, LINDA L.     ADDRESS ON FILE
CLAUDIO DAVILA, MAYRA          ADDRESS ON FILE
CLAUDIO DE CRUZ, DIONISIA      ADDRESS ON FILE
Claudio De Irizar, Josefina    ADDRESS ON FILE
CLAUDIO DE JESUS, BRENDA       ADDRESS ON FILE
CLAUDIO DE JESUS, CARLOS M     ADDRESS ON FILE




                                                                           Page 1548 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1549 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO DE JESUS, CATALINA     ADDRESS ON FILE
CLAUDIO DE JESUS, CLOTILDE     ADDRESS ON FILE
CLAUDIO DE JESUS, JUANITA      ADDRESS ON FILE
Claudio De Jesus, Pedro        ADDRESS ON FILE
CLAUDIO DE JESUS, RAMON        ADDRESS ON FILE
CLAUDIO DE JESUS, SATURNINO    ADDRESS ON FILE
Claudio De La Cruz, Elliot     ADDRESS ON FILE
CLAUDIO DE LA CRUZ, ELLIOT     ADDRESS ON FILE
CLAUDIO DE LA ROSA, ZABETRIZ   ADDRESS ON FILE
CLAUDIO DE LEON, CARMEN Z.     ADDRESS ON FILE
CLAUDIO DE LEON, JUAN          ADDRESS ON FILE
CLAUDIO DEL CARMEN             ADDRESS ON FILE
CLAUDIO DEL VALLE, DAVID       ADDRESS ON FILE
CLAUDIO DEL VALLE, MARIA M.    ADDRESS ON FILE
CLAUDIO DEL VALLE, MIGUEL      ADDRESS ON FILE
CLAUDIO DELGADO, CARMEN        ADDRESS ON FILE
CLAUDIO DELGADO, JOSE R        ADDRESS ON FILE
CLAUDIO DELGADO, MARIA L.      ADDRESS ON FILE
CLAUDIO DELGADO, RAUL          ADDRESS ON FILE
CLAUDIO DELGADO, YAILEEN       ADDRESS ON FILE
CLAUDIO DIAZ, FEDERICO         ADDRESS ON FILE
CLAUDIO DIAZ, KEVIN            ADDRESS ON FILE
CLAUDIO DIAZ, MARIA E          ADDRESS ON FILE
CLAUDIO DIAZ, MILAGROS         ADDRESS ON FILE
CLAUDIO DIAZ, RAMONA           ADDRESS ON FILE
CLAUDIO DIAZ, SONIA            ADDRESS ON FILE
CLAUDIO DIAZ, WILLIAM          ADDRESS ON FILE
CLAUDIO FELIX, JOSE A.         ADDRESS ON FILE
CLAUDIO FERNANDEZ, ANGEL       ADDRESS ON FILE
CLAUDIO FERNANDEZ, ANGEL L.    ADDRESS ON FILE
CLAUDIO FERNANDEZ, MARIA J     ADDRESS ON FILE
CLAUDIO FERNANDZ, MELVIN       ADDRESS ON FILE
CLAUDIO FERRER, CARMEN J       ADDRESS ON FILE
CLAUDIO FERRER, MARIA I        ADDRESS ON FILE
CLAUDIO FERRERCASTER           ADDRESS ON FILE
CLAUDIO FIGUEROA RIOS          ADDRESS ON FILE
CLAUDIO FIGUEROA, ANGELINA M   ADDRESS ON FILE
CLAUDIO FIGUEROA, JULIA        ADDRESS ON FILE
CLAUDIO FIGUEROA, NORMA        ADDRESS ON FILE
CLAUDIO FIGUEROA, RAMONA       ADDRESS ON FILE
CLAUDIO FIGUEROA, SEBASTIAN    ADDRESS ON FILE
CLAUDIO FIGUEROA, SEBASTIAN    ADDRESS ON FILE
CLAUDIO FLORES, ANDRES         ADDRESS ON FILE
CLAUDIO FLORES, HECTOR J.      ADDRESS ON FILE
CLAUDIO FLORES, HIRAM          ADDRESS ON FILE
CLAUDIO FLORES, IVAN           ADDRESS ON FILE
CLAUDIO FLORES, MILAGROS       ADDRESS ON FILE
CLAUDIO FLORES, PETRA          ADDRESS ON FILE
CLAUDIO FLORES, RAMONITA       ADDRESS ON FILE
CLAUDIO FOSTER, YESSENIA       ADDRESS ON FILE
CLAUDIO FRYTES JAN             ADDRESS ON FILE
CLAUDIO FUENTES, MANUEL        ADDRESS ON FILE
CLAUDIO FUENTES, VIRGINIA      ADDRESS ON FILE
CLAUDIO GARCIA, ANGEL L.       ADDRESS ON FILE
CLAUDIO GARCIA, GLADYS         ADDRESS ON FILE
CLAUDIO GARCIA, GLADYS         ADDRESS ON FILE
CLAUDIO GARCIA, HECTOR         ADDRESS ON FILE
CLAUDIO GARCIA, IVAN           ADDRESS ON FILE
CLAUDIO GARCIA, JOSE           ADDRESS ON FILE
Claudio Garcia, Jose           ADDRESS ON FILE




                                                                           Page 1549 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1550 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO GARCIA, JOSE             ADDRESS ON FILE
CLAUDIO GARCIA, JOSE M           ADDRESS ON FILE
CLAUDIO GARCIA, MARCIAL          ADDRESS ON FILE
CLAUDIO GARCIA, MARIA E.         ADDRESS ON FILE
CLAUDIO GARCIA, PEDRO            ADDRESS ON FILE
CLAUDIO GARCIA, YELITZA          ADDRESS ON FILE
CLAUDIO GODOY, JESSIKA           ADDRESS ON FILE
CLAUDIO GOMEZ, CLARINES          ADDRESS ON FILE
CLAUDIO GOMEZ, FEDERICO          ADDRESS ON FILE
CLAUDIO GOMEZ, JULIO             ADDRESS ON FILE
Claudio Gonzalez, Adrian M       ADDRESS ON FILE
CLAUDIO GONZALEZ, AUREA E.       ADDRESS ON FILE
CLAUDIO GONZALEZ, CARMEN I       ADDRESS ON FILE
Claudio Gonzalez, Damaris        ADDRESS ON FILE
CLAUDIO GONZALEZ, DHALMA         ADDRESS ON FILE
Claudio Gonzalez, Felix          ADDRESS ON FILE
CLAUDIO GONZALEZ, IVAN           ADDRESS ON FILE
CLAUDIO GONZALEZ, JAVIER         ADDRESS ON FILE
CLAUDIO GONZALEZ, JOSE A         ADDRESS ON FILE
CLAUDIO GONZALEZ, JOSE RAMON     ADDRESS ON FILE
CLAUDIO GONZALEZ, LIZA G.        ADDRESS ON FILE
CLAUDIO GONZALEZ, LOURDES M      ADDRESS ON FILE
CLAUDIO GONZALEZ, MELBA G.       ADDRESS ON FILE
CLAUDIO GONZALEZ, MIGUEL         ADDRESS ON FILE
CLAUDIO GONZALEZ, NILDA L.       ADDRESS ON FILE
CLAUDIO GONZALEZ, NILDA L.       ADDRESS ON FILE
CLAUDIO GONZALEZ, PASCUAL        ADDRESS ON FILE
CLAUDIO GRACIA, MAGDALENA        ADDRESS ON FILE
CLAUDIO GRACIA, MILAGROS         ADDRESS ON FILE
CLAUDIO GUADALUPE, BRYAN         ADDRESS ON FILE
CLAUDIO GUADALUPE, FREDDY        ADDRESS ON FILE
CLAUDIO GUZMAN, ERNESTO          ADDRESS ON FILE
CLAUDIO HERNANDEZ FLORES         ADDRESS ON FILE
CLAUDIO HERNANDEZ, CARMEN S      ADDRESS ON FILE
CLAUDIO HERNANDEZ, CATALINA      ADDRESS ON FILE
Claudio Hernandez, Freddie       ADDRESS ON FILE
CLAUDIO HERNANDEZ, HECTOR        ADDRESS ON FILE
CLAUDIO HERNANDEZ, ULPIANO       ADDRESS ON FILE
CLAUDIO HORTAS, VIRGINIA         ADDRESS ON FILE
CLAUDIO HUERTAS, AIDA R          ADDRESS ON FILE
CLAUDIO HUERTAS, HERIBERTO       ADDRESS ON FILE
CLAUDIO HUERTAS, RAUL            ADDRESS ON FILE
CLAUDIO HUERTAS, TEOFILA         ADDRESS ON FILE
CLAUDIO HUERTAS,RAUL             ADDRESS ON FILE
CLAUDIO IRIZARRY QUILES          ADDRESS ON FILE
CLAUDIO IRIZARRY Y ASOC INC      PO BOX 1307                                                                      ARECIBO      PR      00613‐1307
CLAUDIO IVAN TORO VELEZ          ADDRESS ON FILE
CLAUDIO JIMENEZ, AIXA            ADDRESS ON FILE
CLAUDIO JIMENEZ, JOSE J.         ADDRESS ON FILE
CLAUDIO JIMENEZ, RAMON LUIS      ADDRESS ON FILE
CLAUDIO KUILAN, MARIA DE LOS A   ADDRESS ON FILE
Claudio La Santa, Carlos         ADDRESS ON FILE
CLAUDIO LABOY, ANNETTE           ADDRESS ON FILE
CLAUDIO LAZU, OMAR               ADDRESS ON FILE
CLAUDIO LEBRON, GEOVANY          ADDRESS ON FILE
CLAUDIO LOPEZ, BRENDALY          ADDRESS ON FILE
CLAUDIO LOPEZ, CARLOS J          ADDRESS ON FILE
CLAUDIO LOPEZ, CARMEN            ADDRESS ON FILE
CLAUDIO LOPEZ, CARMEN L          ADDRESS ON FILE
CLAUDIO LOPEZ, EDDIE             ADDRESS ON FILE




                                                                             Page 1550 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1551 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO LOPEZ, GLORIA R           ADDRESS ON FILE
CLAUDIO LOPEZ, IVETTE M.          ADDRESS ON FILE
CLAUDIO LOPEZ, IVETTE M.          ADDRESS ON FILE
CLAUDIO LOPEZ, MARIA I            ADDRESS ON FILE
CLAUDIO LOPEZ, MARIA I            ADDRESS ON FILE
CLAUDIO LUCIANO, RONALD           ADDRESS ON FILE
CLAUDIO LUCIANO, SANDRA           ADDRESS ON FILE
CLAUDIO LUCIANO, SANDRA           ADDRESS ON FILE
CLAUDIO LUGO, ROSA                ADDRESS ON FILE
CLAUDIO M PENA ROSARIO            ADDRESS ON FILE
CLAUDIO MACHADO, RYAN             ADDRESS ON FILE
CLAUDIO MAISONET, ANA             ADDRESS ON FILE
CLAUDIO MALDONADO, JOSE L.        ADDRESS ON FILE
CLAUDIO MALDONADO, MARIA DEL R.   ADDRESS ON FILE
CLAUDIO MARQUEZ, ANGEL            ADDRESS ON FILE
CLAUDIO MARRERO, FREDERICK        ADDRESS ON FILE
Claudio Marrero, Frederick        ADDRESS ON FILE
CLAUDIO MARRERO, FREDERICK        ADDRESS ON FILE
CLAUDIO MARRERO, SACHALY          ADDRESS ON FILE
CLAUDIO MARRERO, YAMIRA           ADDRESS ON FILE
CLAUDIO MARTINEZ, ERICD           ADDRESS ON FILE
CLAUDIO MARTINEZ, HECTOR          ADDRESS ON FILE
CLAUDIO MARTINEZ, INES M.         ADDRESS ON FILE
CLAUDIO MARTINEZ, JOHNATHAN       ADDRESS ON FILE
Claudio Martinez, Jose J          ADDRESS ON FILE
CLAUDIO MARTINEZ, LAURETTE        ADDRESS ON FILE
CLAUDIO MARTINEZ, MINERVA         ADDRESS ON FILE
CLAUDIO MARTINEZ, NIDIA           ADDRESS ON FILE
CLAUDIO MATOS, CARMEN B           ADDRESS ON FILE
CLAUDIO MATOS, WANDA I            ADDRESS ON FILE
CLAUDIO MAYSONET, LILLIAM         ADDRESS ON FILE
CLAUDIO MEDINA, ALFONSO           ADDRESS ON FILE
CLAUDIO MEDINA, DENISSE           ADDRESS ON FILE
Claudio Medina, Rosa M            ADDRESS ON FILE
CLAUDIO MEJIAS, ISIDORO           ADDRESS ON FILE
CLAUDIO MEJIAS, SIXTO             ADDRESS ON FILE
CLAUDIO MELENDEZ, ZIOMARY         ADDRESS ON FILE
CLAUDIO MENDEZ, CARLOS            ADDRESS ON FILE
CLAUDIO MENDEZ, LISSETTE          ADDRESS ON FILE
CLAUDIO MERCADO, MIGUEL A.        ADDRESS ON FILE
CLAUDIO MERCADO, RUTH             ADDRESS ON FILE
CLAUDIO MERCED, SAMUEL            ADDRESS ON FILE
CLAUDIO MOJICA, DELIA             ADDRESS ON FILE
CLAUDIO MOJICA, DELIA E           ADDRESS ON FILE
CLAUDIO MOLINA, JAVIER            ADDRESS ON FILE
CLAUDIO MONROIG, GERTRUDIS        ADDRESS ON FILE
Claudio Montanez, Hipolito        ADDRESS ON FILE
CLAUDIO MONTANEZ, JUAN            ADDRESS ON FILE
CLAUDIO MONTANEZ, MARIA           ADDRESS ON FILE
CLAUDIO MONTANEZ, NAYVETTE M      ADDRESS ON FILE
CLAUDIO MONTANEZ, RAMON           ADDRESS ON FILE
CLAUDIO MORALES, CARLOS           ADDRESS ON FILE
CLAUDIO MORALES, CARMEN YOLANDA   ADDRESS ON FILE
CLAUDIO MORALES, FRANCISCO        ADDRESS ON FILE
Claudio Morales, Francisco        ADDRESS ON FILE
CLAUDIO MORALES, HILDA            ADDRESS ON FILE
CLAUDIO MORALES, JOSE             ADDRESS ON FILE
CLAUDIO MORALES, JUAN JOSE        ADDRESS ON FILE
CLAUDIO MORALES, LUZ M.           ADDRESS ON FILE
CLAUDIO MORALES, WILFREDO         ADDRESS ON FILE




                                                                              Page 1551 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1552 of 3500
                                                                            17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                Address1                                 Address2                                  Address3       Address4   City      State   PostalCode   Country
CLAUDIO MOYET, NASHALI       ADDRESS ON FILE
Claudio Mulero, Rafael       ADDRESS ON FILE
CLAUDIO MUNOZ, JUANA         ADDRESS ON FILE
CLAUDIO MUNOZ, REINA M       ADDRESS ON FILE
CLAUDIO NASSAR, JORGE        ADDRESS ON FILE
CLAUDIO NATER, ROSA M        ADDRESS ON FILE
CLAUDIO NAVARRO, ADA M.      ADDRESS ON FILE
CLAUDIO NAVARRO, KARILYN     ADDRESS ON FILE
CLAUDIO NEGRON, LYNETTE      ADDRESS ON FILE
CLAUDIO NEGRON, MABEL        ADDRESS ON FILE
CLAUDIO NIEVES, EDNA         ADDRESS ON FILE
CLAUDIO NIEVES, IRIS M       ADDRESS ON FILE
CLAUDIO NIEVES, IVETTE       ADDRESS ON FILE
CLAUDIO NIEVES, LEYDIANN     ADDRESS ON FILE
CLAUDIO NIEVES, NANNETTE     ADDRESS ON FILE
CLAUDIO NOGUERAS, RUTH       ADDRESS ON FILE
Claudio Ocasio, Lorenzo      ADDRESS ON FILE
CLAUDIO OCASIO, LOURDES      ADDRESS ON FILE
CLAUDIO OCASIO, LOURDES M    ADDRESS ON FILE
CLAUDIO OCASIO, MARGARITA    ADDRESS ON FILE
CLAUDIO OCASIO, MARIA I      ADDRESS ON FILE
CLAUDIO OLAN SANTIAGO        CLAUDIO OLÁN SANTIAGO (POR DERECHO PROPI INST. MÁXIMA SEGURIDAD                    PO BOX 10786   C‐2 3020   PONCE     PR      00732
CLAUDIO OLAN SANTIAGO        SR. CLAUDIO OLAN SANTIAGO                INST. MÁXIMA SEGURIDAD PO BOX 7185                                  Ponce     PR      00732‐7185
CLAUDIO OLAN SANTIAGO        SR. CLAUDIO OLAN SANTIAGO                INST. MÁXIMA SEGURIDAD PO BOX 10786                                 Ponce     PR      00732
CLAUDIO OLIVERAS, MARITZA    ADDRESS ON FILE
CLAUDIO OQUENDO, ANGEL       ADDRESS ON FILE
CLAUDIO OROZCO, CARMEN L     ADDRESS ON FILE
CLAUDIO ORTIZ, ALANA         ADDRESS ON FILE
CLAUDIO ORTIZ, AMERICA       ADDRESS ON FILE
Claudio Ortiz, Angel L       ADDRESS ON FILE
CLAUDIO ORTIZ, BRUNILDA      ADDRESS ON FILE
CLAUDIO ORTIZ, CARLOS A.     ADDRESS ON FILE
CLAUDIO ORTIZ, MARIA         ADDRESS ON FILE
CLAUDIO ORTIZ, MARIANGELY    ADDRESS ON FILE
CLAUDIO ORTIZ, OLGA          ADDRESS ON FILE
Claudio Ortiz, Pedro A.      ADDRESS ON FILE
CLAUDIO PABON, BENJAMIN U    ADDRESS ON FILE
CLAUDIO PAGAN, IRIS C        ADDRESS ON FILE
CLAUDIO PAGAN, IRIS C        ADDRESS ON FILE
CLAUDIO PAGAN, PABLO J.      ADDRESS ON FILE
CLAUDIO PANTOJA, AURIO       ADDRESS ON FILE
CLAUDIO PANTOJAS, MARISOL    ADDRESS ON FILE
CLAUDIO PENA CORREA          ADDRESS ON FILE
CLAUDIO PEREZ, ELIZABETH     ADDRESS ON FILE
CLAUDIO PEREZ, IMARIE        ADDRESS ON FILE
CLAUDIO PEREZ, WILMARIE      ADDRESS ON FILE
CLAUDIO PINERO, MEILYN       ADDRESS ON FILE
CLAUDIO PIZARRO, ESAUL       ADDRESS ON FILE
CLAUDIO PUCHALES, SANTA T.   ADDRESS ON FILE
CLAUDIO QUINONES, EVELYN     ADDRESS ON FILE
CLAUDIO QUINONES, LOURDES    ADDRESS ON FILE
CLAUDIO QUINONES, YAITZA     ADDRESS ON FILE
CLAUDIO R JAQUEZ URENA       ADDRESS ON FILE
CLAUDIO RAMIREZ, FRANCISCO   ADDRESS ON FILE
CLAUDIO RAMIREZ, HECTOR      ADDRESS ON FILE
CLAUDIO RAMOS, ADALBERTO     ADDRESS ON FILE
CLAUDIO RAMOS, ROBERTO       ADDRESS ON FILE
CLAUDIO REYES, MARIA E       ADDRESS ON FILE
CLAUDIO REYES, VIVIANA       ADDRESS ON FILE
CLAUDIO RIBARTE, IVETTE      ADDRESS ON FILE




                                                                                                 Page 1552 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1553 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO RIOS, ANA M                ADDRESS ON FILE
CLAUDIO RIOS, LUIS                 ADDRESS ON FILE
CLAUDIO RIVERA, ANA N              ADDRESS ON FILE
CLAUDIO RIVERA, ARNALDO            ADDRESS ON FILE
CLAUDIO RIVERA, BIONETTE           ADDRESS ON FILE
CLAUDIO RIVERA, BRAULIO M.         ADDRESS ON FILE
CLAUDIO RIVERA, CYNTHIA I          ADDRESS ON FILE
CLAUDIO RIVERA, DAISY              ADDRESS ON FILE
CLAUDIO RIVERA, DANIEL             ADDRESS ON FILE
CLAUDIO RIVERA, DAVID              ADDRESS ON FILE
CLAUDIO RIVERA, EDNA M             ADDRESS ON FILE
CLAUDIO RIVERA, ERICA              ADDRESS ON FILE
CLAUDIO RIVERA, GERARDO            ADDRESS ON FILE
CLAUDIO RIVERA, IRIS D             ADDRESS ON FILE
CLAUDIO RIVERA, JEANNETTE          ADDRESS ON FILE
CLAUDIO RIVERA, LEISHA J           ADDRESS ON FILE
CLAUDIO RIVERA, LINO               ADDRESS ON FILE
CLAUDIO RIVERA, LUZ N              ADDRESS ON FILE
CLAUDIO RIVERA, MAGDA              ADDRESS ON FILE
CLAUDIO RIVERA, REYNALDO           ADDRESS ON FILE
CLAUDIO RIVERA, RICARDO J.         ADDRESS ON FILE
CLAUDIO RIVERA, ROSA A             ADDRESS ON FILE
CLAUDIO RIVERA, RUBEN              ADDRESS ON FILE
CLAUDIO RIVERA, SONIA M.           ADDRESS ON FILE
CLAUDIO RIVERA, SYLVIA             ADDRESS ON FILE
CLAUDIO RIVERA, TERESA             ADDRESS ON FILE
CLAUDIO RIVERA, WANDA              ADDRESS ON FILE
CLAUDIO RODRIGUEZ MD, REINALDO     ADDRESS ON FILE
CLAUDIO RODRIGUEZ SANTONI          ADDRESS ON FILE
CLAUDIO RODRIGUEZ, AIXARELIS       ADDRESS ON FILE
CLAUDIO RODRIGUEZ, DEBORAH J.      ADDRESS ON FILE
CLAUDIO RODRIGUEZ, JENNELI Y       ADDRESS ON FILE
CLAUDIO RODRIGUEZ, JOSE            ADDRESS ON FILE
CLAUDIO RODRIGUEZ, JULIA           ADDRESS ON FILE
CLAUDIO RODRIGUEZ, LIZETTE         ADDRESS ON FILE
CLAUDIO RODRIGUEZ, MAGALI          ADDRESS ON FILE
CLAUDIO RODRIGUEZ, MANUEL OTILIO   ADDRESS ON FILE
CLAUDIO RODRIGUEZ, MARESSA         ADDRESS ON FILE
CLAUDIO RODRIGUEZ, NOEMI           ADDRESS ON FILE
CLAUDIO RODRIGUEZ, OMAR J          ADDRESS ON FILE
CLAUDIO RODRIGUEZ, PATRIA          ADDRESS ON FILE
CLAUDIO RODRIGUEZ, REINALDO        ADDRESS ON FILE
CLAUDIO RODRIGUEZ, REINALDO        ADDRESS ON FILE
CLAUDIO RODRIGUEZ, RUTH            ADDRESS ON FILE
Claudio Rodriguez, Santos          ADDRESS ON FILE
CLAUDIO RODRIGUEZ, YOLANDA         ADDRESS ON FILE
CLAUDIO ROJAS, JOSE                ADDRESS ON FILE
CLAUDIO ROJAS, KELLY JOAN          ADDRESS ON FILE
CLAUDIO ROLDAN, EGDA               ADDRESS ON FILE
CLAUDIO ROLDAN, FRANCISCO          ADDRESS ON FILE
CLAUDIO ROLDAN, OLGA               ADDRESS ON FILE
CLAUDIO ROLDAN, TERESITA           ADDRESS ON FILE
CLAUDIO ROLON, JEANNETTE           ADDRESS ON FILE
CLAUDIO ROMAN, ANIDSA              ADDRESS ON FILE
CLAUDIO ROMAN, HARRY               ADDRESS ON FILE
CLAUDIO ROSA, ANGELES              ADDRESS ON FILE
CLAUDIO ROSA, CARMEN               ADDRESS ON FILE
CLAUDIO ROSA, TERESA               ADDRESS ON FILE
CLAUDIO ROSADO, DIANA V            ADDRESS ON FILE
CLAUDIO ROSADO, EDUARDO            ADDRESS ON FILE




                                                                               Page 1553 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1554 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO ROSADO, EVELYN        ADDRESS ON FILE
CLAUDIO ROSADO, JOSE          ADDRESS ON FILE
CLAUDIO ROSADO, LUIS A        ADDRESS ON FILE
CLAUDIO ROSADO, RUTHVELY      ADDRESS ON FILE
CLAUDIO ROSARIO, ANA L.       ADDRESS ON FILE
CLAUDIO ROSARIO, DAMARIS      ADDRESS ON FILE
CLAUDIO ROSARIO, HEIDI J.     ADDRESS ON FILE
CLAUDIO ROSARIO, IRMARY       ADDRESS ON FILE
CLAUDIO ROSARIO, MARGARITA    ADDRESS ON FILE
CLAUDIO ROSARIO, NEREIDA      ADDRESS ON FILE
CLAUDIO ROSARIO, SARA         ADDRESS ON FILE
CLAUDIO ROSARIO, SYLVETTE     ADDRESS ON FILE
CLAUDIO RUIZ, FELIX           ADDRESS ON FILE
CLAUDIO SALGADO, ARMINDA      ADDRESS ON FILE
CLAUDIO SANCHEZ, ANGEL        ADDRESS ON FILE
CLAUDIO SANCHEZ, BRENDA L     ADDRESS ON FILE
CLAUDIO SANCHEZ, CARLOS       ADDRESS ON FILE
Claudio Sanchez, Carlos       ADDRESS ON FILE
CLAUDIO SANCHEZ, HECTOR M     ADDRESS ON FILE
CLAUDIO SANCHEZ, JOSE         ADDRESS ON FILE
CLAUDIO SANCHEZ, JUAN         ADDRESS ON FILE
CLAUDIO SANCHEZ, LORNA E      ADDRESS ON FILE
CLAUDIO SANCHEZ, RAUL         ADDRESS ON FILE
CLAUDIO SANDOVAL, ERNESTO V   ADDRESS ON FILE
CLAUDIO SANTANA, LILLIAM      ADDRESS ON FILE
Claudio Santiago, Antonio     ADDRESS ON FILE
CLAUDIO SANTIAGO, CARLOS      ADDRESS ON FILE
CLAUDIO SANTIAGO, JUANA       ADDRESS ON FILE
CLAUDIO SANTIAGO, NANCY       ADDRESS ON FILE
CLAUDIO SANTIAGO, PEDRO       ADDRESS ON FILE
CLAUDIO SANTIAGO, ROSA        ADDRESS ON FILE
CLAUDIO SANTIAGO, ROSA M      ADDRESS ON FILE
CLAUDIO SANTIAGO, XIOMARA     ADDRESS ON FILE
CLAUDIO SANTOS, XIOMARA       ADDRESS ON FILE
CLAUDIO SAURI, DIANA M.       ADDRESS ON FILE
CLAUDIO SAURI, DIANA M.       ADDRESS ON FILE
CLAUDIO SEDA, JESUS M         ADDRESS ON FILE
CLAUDIO SERRANO, CARMEN       ADDRESS ON FILE
CLAUDIO SILVA, FELICITA       ADDRESS ON FILE
CLAUDIO SILVA, LUCIA          ADDRESS ON FILE
CLAUDIO SUAREZ, VICTOR        ADDRESS ON FILE
CLAUDIO TOLEDO, RADIEL        ADDRESS ON FILE
CLAUDIO TORRES, AIDA M        ADDRESS ON FILE
CLAUDIO TORRES, IRMA          ADDRESS ON FILE
CLAUDIO TORRES, IRMA          ADDRESS ON FILE
CLAUDIO TORRES, LUIS          ADDRESS ON FILE
CLAUDIO TORRES, MARIA         ADDRESS ON FILE
CLAUDIO TORRES, MARISOL       ADDRESS ON FILE
CLAUDIO TORRES, MARTA M       ADDRESS ON FILE
CLAUDIO TORRES, MYRIAM        ADDRESS ON FILE
Claudio Torres, Norberto      ADDRESS ON FILE
CLAUDIO TORRES, NORBERTO      ADDRESS ON FILE
CLAUDIO TORRES, PEDRO         ADDRESS ON FILE
CLAUDIO UBILES, JORGE         ADDRESS ON FILE
CLAUDIO VALENTIN, MICHAEL     ADDRESS ON FILE
CLAUDIO VALENTIN, MIGUEL      ADDRESS ON FILE
CLAUDIO VALLELLANE, MARIBEL   ADDRESS ON FILE
CLAUDIO VALLELLANES, JOHANA   ADDRESS ON FILE
CLAUDIO VAZQUEZ MEDINA        ADDRESS ON FILE
CLAUDIO VAZQUEZ, CARMEN       ADDRESS ON FILE




                                                                          Page 1554 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1555 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLAUDIO VAZQUEZ, GLORIVEE         ADDRESS ON FILE
Claudio Vazquez, Hector J         ADDRESS ON FILE
CLAUDIO VAZQUEZ, JUAN             ADDRESS ON FILE
CLAUDIO VAZQUEZ, KAREN            ADDRESS ON FILE
CLAUDIO VAZQUEZ, LIZA M.          ADDRESS ON FILE
CLAUDIO VAZQUEZ, LUIS R.          ADDRESS ON FILE
CLAUDIO VAZQUEZ, MARIA DE LOS     ADDRESS ON FILE
CLAUDIO VAZQUEZ, MARIA S          ADDRESS ON FILE
CLAUDIO VAZQUEZ, NANCY            ADDRESS ON FILE
CLAUDIO VAZQUEZ, SAMUEL           ADDRESS ON FILE
CLAUDIO VAZQUEZ, VALERIANO        ADDRESS ON FILE
CLAUDIO VAZQUEZ, WILSON           ADDRESS ON FILE
CLAUDIO VEGA, MARTHA              ADDRESS ON FILE
CLAUDIO VEGA, ROSALINA            ADDRESS ON FILE
CLAUDIO VEGA, YANICE              ADDRESS ON FILE
CLAUDIO VEGA, YANICE              ADDRESS ON FILE
CLAUDIO VELAZQUEZ, JOSE L         ADDRESS ON FILE
CLAUDIO VELAZQUEZ, LUIS           ADDRESS ON FILE
CLAUDIO VELAZQUEZ, MIGUEL A       ADDRESS ON FILE
CLAUDIO VELEZ, BETZAIDA           ADDRESS ON FILE
CLAUDIO VELEZ, CARLOS A.          ADDRESS ON FILE
CLAUDIO VELEZ, JASON              ADDRESS ON FILE
CLAUDIO VILLAFANE, CARLOS         ADDRESS ON FILE
CLAUDIO VILLAFAQE, NEREIDA        ADDRESS ON FILE
CLAUDIO VILLAMIL MD, JAIME        ADDRESS ON FILE
CLAUDIO VILLAMIL, IVAN            ADDRESS ON FILE
CLAUDIO VILLAMIL, JAIME           ADDRESS ON FILE
CLAUDIO WATKINS, CARMEN           ADDRESS ON FILE
CLAUDIO ZAYAS, RAUL               ADDRESS ON FILE
CLAUDIO ZAYAS, WARITZA            ADDRESS ON FILE
CLAUDIO ZAYAS, ZULMA              ADDRESS ON FILE
Claudio, Claudio Asociados        ADDRESS ON FILE
CLAUDIO, HIPOLITO JR.             ADDRESS ON FILE
CLAUDIO, MARCOS                   ADDRESS ON FILE
CLAUDIO, ORLANDO                  ADDRESS ON FILE
CLAUDIUS MD, HENRY                ADDRESS ON FILE
CLAUSELL CARRION, CARMEN I        ADDRESS ON FILE
CLAUSELL DE LEON, HILDA I.        ADDRESS ON FILE
CLAUSELL DELGADO, MARIA I         ADDRESS ON FILE
CLAUSELL GARCIA, CRUCITA          ADDRESS ON FILE
CLAUSELL GARCIA, MARIA L.         ADDRESS ON FILE
CLAUSELL RIVERA, JOSUE            ADDRESS ON FILE
CLAUSELL RIVERA, ROBERTO          ADDRESS ON FILE
CLAUSELL RIVERA,WILNELIA          ADDRESS ON FILE
CLAUSELLS DE LEON, YESSENIA       ADDRESS ON FILE
CLAUSELLS RODRIGUEZ, TERIANGELY   ADDRESS ON FILE
CLAUSELLS ROSA, PEDRO             ADDRESS ON FILE
CLAUSSEL, MARIA DE LOS A          ADDRESS ON FILE
CLAUSSELL GERENA, IRIS            ADDRESS ON FILE
CLAUSSELL GERENA, IRIS J.         ADDRESS ON FILE
CLAUSSELL RIVERA, JOSE            ADDRESS ON FILE
Claussells Delgado, Rafael        ADDRESS ON FILE
CLAUSSET MORELLES, SANDY I.       ADDRESS ON FILE
CLAUSSET MORELLES,SANDY           ADDRESS ON FILE
CLAVEL LORENZI, MIRTA R           ADDRESS ON FILE
CLAVEL MATIAS, MELVIN             ADDRESS ON FILE
CLAVEL NADAL, NAOMIE              ADDRESS ON FILE
CLAVEL PEREZ, HOMERO              ADDRESS ON FILE
CLAVELL & ASSOCIATES              SABANERA DORADO 396                                                              DORADO       PR      00646
CLAVELL ALICEA, CRISTEL           ADDRESS ON FILE




                                                                              Page 1555 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1556 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                         Address1                  Address2                               Address3   Address4   City            State   PostalCode   Country
CLAVELL ANDRADE, ILIA M               ADDRESS ON FILE
CLAVELL ANDRADE, LILLIA               ADDRESS ON FILE
CLAVELL ANDRADE, LILLIA E             ADDRESS ON FILE
CLAVELL ARIAS, MARIO A.               ADDRESS ON FILE
CLAVELL AYALA, MADELINE               ADDRESS ON FILE
CLAVELL BAEZ, OCTAVIO                 ADDRESS ON FILE
CLAVELL BERRIOS, ADRIA T.             ADDRESS ON FILE
CLAVELL CANDELARIO, LUIS              ADDRESS ON FILE
CLAVELL CARRASQUILLO, MANUEL          ADDRESS ON FILE
CLAVELL CINTRON, MARK A               ADDRESS ON FILE
CLAVELL CRUZ, MARTA M                 ADDRESS ON FILE
CLAVELL GONZALEZ, NAYDA               ADDRESS ON FILE
CLAVELL GONZALEZ, WALTER              ADDRESS ON FILE
Clavell Hernandez, Jose A.            ADDRESS ON FILE
CLAVELL MARRERO, ANA B                ADDRESS ON FILE
CLAVELL MARTI, GABRIEL                ADDRESS ON FILE
CLAVELL MORALES, ORLANDO              ADDRESS ON FILE
CLAVELL ORTIZ, MARIA DEL C.           ADDRESS ON FILE
CLAVELL ORTIZ, TERESA                 ADDRESS ON FILE
CLAVELL PAGAN, DELMARIS               ADDRESS ON FILE
CLAVELL RIVERA, CARLOS M              ADDRESS ON FILE
CLAVELL RIVERA, JAIME                 ADDRESS ON FILE
CLAVELL RIVERA, JEANETTE              ADDRESS ON FILE
CLAVELL RIVERA, MALORIE               ADDRESS ON FILE
CLAVELL RIVERA, ROSELYN               ADDRESS ON FILE
CLAVELL RODRIGUEZ MD, LUIS A          ADDRESS ON FILE
CLAVELL ROSARIO, ANA L                ADDRESS ON FILE
CLAVELL SANTIAGO, JUAN                ADDRESS ON FILE
CLAVELL SPITCHE, MANUEL A             ADDRESS ON FILE
CLAVELL URBAN PARK INTERNATIONAL      URB SAN ANTONIO           2226 CALLE DELTA                                             PONCE           PR      00728
CLAVELO MONTEAGUDO, GILDA             ADDRESS ON FILE
CLAVEROL GIL, PEDRO                   ADDRESS ON FILE
CLAVEROL GIL, PEDRO L                 ADDRESS ON FILE
CLAVEROL MENDOZA, MICHELLE            ADDRESS ON FILE
Claverol Rodriguez, Martin            ADDRESS ON FILE
CLAVEROL RODRIGUEZ, MARTIN            ADDRESS ON FILE
CLAVEROL RUIZ, SANDRA I               ADDRESS ON FILE
CLAVIJO DE JESUS, ESTEBAN             ADDRESS ON FILE
CLAVIJO DE JESUS, YARIRA              ADDRESS ON FILE
CLAVIJO DIAZ, DAMALYN                 ADDRESS ON FILE
CLAVIJO MARRERO, CARMEN I             ADDRESS ON FILE
CLAVIJO RODRIGUEZ, OLGA               ADDRESS ON FILE
CLAXTON MEDICAL CENTER                214 KING STREET                                                                        OGDENSBURG      NY      13669
CLAY CALDERON PIZARRO                 ADDRESS ON FILE
CLAYTON MD , JAMES P                  ADDRESS ON FILE
CLD ENGINEERING, PSC                  PO BOX 2571                                                                            BAYAMON         PR      00960
CLEAN AIR CONTRACTORS CORP            P O BOX 1513                                                                           VEGA BAJA       PR      00694
CLEAN AIR CONTRACTORS CORP            P O BOX 3022                                                                           BAYAMON         PR      00960‐3022
CLEAN AIR CONTRACTORS CORPORATION     P. O. BOX 1513                                                                         VEGA BAJA       PR      00692‐0000
CLEAN AIR TECHNOLOGIES CORP.          P.O. BOX 195394                                                                        SAN JUAN        PR      00919‐0000
CLEAN AND SEAL CORP                   URB MONTE CARLO           1318 CALLE 27                                                SAN JUAN        PR      00924
CLEAN CITY CORP                       PMB 147                   53 AVE ESMERALDA                                             GUAYNABO        PR      00969‐4429
CLEAN ENERGY STATES ALLIANCE          CLENA ENERGY GROUP        50 STATE STREET STE 1                                        MONTPERLIER     VT      05602
CLEAN HARBORS CARIBE INC              P O BOX 361282                                                                         SAN JUAN        PR      00936‐1282
CLEANHARBORS                          PO BOX 190                                                                             BARCELONETA     PR      00617
CLEANING CREW GROUP CORP              PO BOX 11151                                                                           SAN JUAN        PR      00922‐0000
Clearnet                              Carr. 829 k.m. 7.9                                                                     Bayamón         PR      00956
Clearnet                              RR 8 Box 9672                                                                          Bayamón         PR      00956
CLEARSIGHT STRATEGIC MANAGEMENT INC   EST DE CERRO GORDO        K1 CALLE 9                                                   BAYAMON         PR      00957‐6813
Clearwater Select Insurance Company   300 1st Stamford Place                                                                 Stamford        CT      06902




                                                                                        Page 1556 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1557 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                         Address1                                       Address2                            Address3   Address4   City         State   PostalCode   Country
Clearwater Select Insurance Company   Attn: Dennis McGovern, Premiun Tax Contact     300 First Stamford                                        Stamford     CT      06902
Clearwater Select Insurance Company   Attn: James Migliorini, President              300 First Stamford                                        Stamford     CT      06902
Clearwater Select Insurance Company   Attn: Kirk Reicche, Vice President             300 First Stamford                                        Stamford     CT      06902
Clearwater Select Insurance Company   Attn: Penny Ciaston, Circulation of Risk       300 First Stamford                                        Stamford     CT      06902
Clearwater Select Insurance Company   Attn: Penny Ciaston, Consumer Complaint Contac300 First Stamford                                         Stamford     CT      06902
Clearwater Select Insurance Company   Attn: Penny Ciaston, Regulatory Compliance Gove300 First Stamford                                        Stamford     CT      06902
Clearwater Select Insurance Company   Attn: Peter Lovell, Vice President             300 First Stamford                                        Stamford     CT      06902
CLEGG PEREZ, KIMBERLY                 ADDRESS ON FILE
CLEMENTE ALBORS, GISELLE              ADDRESS ON FILE
CLEMENTE ALEJANDRO, RAMON             ADDRESS ON FILE
CLEMENTE ALEMAN, DANI EL              ADDRESS ON FILE
CLEMENTE ALEMAN, DANIEL               ADDRESS ON FILE
CLEMENTE ALEMAN, JULIO                ADDRESS ON FILE
CLEMENTE ANDINO, CARMEN G             ADDRESS ON FILE
CLEMENTE ANDINO, CHARLIE OMAR         ADDRESS ON FILE
CLEMENTE ANDINO, CLARA I              ADDRESS ON FILE
CLEMENTE ANDINO, MAGDA I              ADDRESS ON FILE
CLEMENTE ANDINO, MARIA J              ADDRESS ON FILE
CLEMENTE ANDINO, MARTA                ADDRESS ON FILE
CLEMENTE APONTE, MISAEL J             ADDRESS ON FILE
CLEMENTE APONTE, RAFAEL               ADDRESS ON FILE
CLEMENTE APONTE, RAFAEL J.            ADDRESS ON FILE
CLEMENTE AVILES, LILETTET             ADDRESS ON FILE
CLEMENTE AYALA, GREGORIO              ADDRESS ON FILE
CLEMENTE AYALA, MARCIA                ADDRESS ON FILE
CLEMENTE AYALA, ROBERTO               ADDRESS ON FILE
CLEMENTE BASABE, MARTIN               ADDRESS ON FILE
CLEMENTE BATISTA, JOANA               ADDRESS ON FILE
CLEMENTE BENITEZ, ANDREA              ADDRESS ON FILE
CLEMENTE BERNABE CRUZ                 ADDRESS ON FILE
CLEMENTE BETANCOURT, LUREY            ADDRESS ON FILE
CLEMENTE BETANCOURT, YAITZA           ADDRESS ON FILE
CLEMENTE BRENES, LOURDES              ADDRESS ON FILE
CLEMENTE CACERES, LISBETH             ADDRESS ON FILE
CLEMENTE CALDERON, ANA M              ADDRESS ON FILE
CLEMENTE CALDERON, CARMEN             ADDRESS ON FILE
CLEMENTE CALDERON, JOSE M             ADDRESS ON FILE
CLEMENTE CALDERON, JOSEFINA           ADDRESS ON FILE
CLEMENTE CALDERON, JOSEFINA           ADDRESS ON FILE
CLEMENTE CALDERON, LUZ                ADDRESS ON FILE
CLEMENTE CALDERON, MARIAN C           ADDRESS ON FILE
CLEMENTE CAMACHO, JOSE                ADDRESS ON FILE
CLEMENTE CANDELARIO, JULIO            ADDRESS ON FILE
CLEMENTE CARRASQUILLO, MAYRA I        ADDRESS ON FILE
Clemente Cepeda, Marta J              ADDRESS ON FILE
CLEMENTE CINTRON, JOSE                ADDRESS ON FILE
CLEMENTE CIRINO, GLORYMIR             ADDRESS ON FILE
CLEMENTE CIRINO, LAURELYS             ADDRESS ON FILE
CLEMENTE CLEMENTE, ADAN               ADDRESS ON FILE
CLEMENTE CLEMENTE, ANA D              ADDRESS ON FILE
CLEMENTE CLEMENTE, ESTELA             ADDRESS ON FILE
CLEMENTE CLEMENTE, JOSE A.            ADDRESS ON FILE
CLEMENTE COLON, CANDIDO               ADDRESS ON FILE
CLEMENTE COLON, NOEL                  ADDRESS ON FILE
CLEMENTE CONTRERAS, ANGEL             ADDRESS ON FILE
CLEMENTE CONTRERAS, LOURDES           ADDRESS ON FILE
CLEMENTE CORA, SONIA IVETTE           ADDRESS ON FILE
CLEMENTE CORTON, LAURA E.             ADDRESS ON FILE
Clemente Cotto, Jose L                ADDRESS ON FILE
CLEMENTE CRISPIN, CARMEN S.           ADDRESS ON FILE




                                                                                                          Page 1557 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1558 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                   Address1                                    Address2                                 Address3        Address4   City         State   PostalCode   Country
CLEMENTE CRISPIN, LYDIA         ADDRESS ON FILE
CLEMENTE DELGADO, IVAN          ADDRESS ON FILE
CLEMENTE DIAZ, EVELYN           ADDRESS ON FILE
CLEMENTE DIAZ, EVELYN J.        ADDRESS ON FILE
CLEMENTE ESCALERA, FERMIN       ADDRESS ON FILE
CLEMENTE ESCALERA, LEONARDO     ADDRESS ON FILE
CLEMENTE ESTREMERA, MILTON      ADDRESS ON FILE
CLEMENTE FEBO RODRIGUEZ         ADDRESS ON FILE
CLEMENTE FIGUEROA GARCIA        ADDRESS ON FILE
CLEMENTE FONTANEZ, JESSICA      ADDRESS ON FILE
CLEMENTE FUENTES APONTE         LCDO. JUAN A. MÁRQUEZ DÍAZ Y LCDA. CECILIA MBUFETE MCCONNELL VALDÉS                  PO BOX 364225              SAN JUAN     PR      00936‐4225
CLEMENTE FUENTES APONTE         LCDO. RUBÉN BONILLA MARTÍNEZ, DEMANDANT PO BOX 2758                                                             GUAYAMA      PR      00785‐2758
CLEMENTE FUENTES, MERCEDITA     ADDRESS ON FILE
CLEMENTE GARCIA, JASHOMY        ADDRESS ON FILE
CLEMENTE GARCIA, JOSE           ADDRESS ON FILE
CLEMENTE GOMEZ, MADELYN         ADDRESS ON FILE
CLEMENTE GONZALEZ, ADA          ADDRESS ON FILE
CLEMENTE GONZALEZ, EDUARDO      ADDRESS ON FILE
CLEMENTE GONZALEZ, LOURDES N.   ADDRESS ON FILE
CLEMENTE GONZALEZ, MIGUEL       ADDRESS ON FILE
CLEMENTE GONZALEZ, PABLO J      ADDRESS ON FILE
CLEMENTE GONZALEZ, YANISSE M.   ADDRESS ON FILE
CLEMENTE GUZMAN, IVONNE         ADDRESS ON FILE
CLEMENTE HERNANDEZ BADILLO      ADDRESS ON FILE
CLEMENTE HERNANDEZ SANCHEZ      ADDRESS ON FILE
CLEMENTE HERNANDEZ, ASTRID J    ADDRESS ON FILE
CLEMENTE HERNANDEZ, JULIA       ADDRESS ON FILE
CLEMENTE HERNANDEZ, LYMARIE L   ADDRESS ON FILE
CLEMENTE HERNANDEZ, NERANGELY   ADDRESS ON FILE
CLEMENTE HERNANDEZ, NOLIANI     ADDRESS ON FILE
CLEMENTE HERNANDEZ, PETRA Y     ADDRESS ON FILE
CLEMENTE HERNANDEZ, THAMMARA    ADDRESS ON FILE
CLEMENTE IBANEZ, INGRID MARIE   ADDRESS ON FILE
CLEMENTE IRIZARRY, ZAIDA        ADDRESS ON FILE
CLEMENTE LEBRON, SHEILA         ADDRESS ON FILE
CLEMENTE LOPEZ, JOHEMIL Y       ADDRESS ON FILE
CLEMENTE LUZUNARIS, MIGDIA E    ADDRESS ON FILE
CLEMENTE LUZUNARIS, RUBEN       ADDRESS ON FILE
CLEMENTE MALDONADO, EDWIN       ADDRESS ON FILE
CLEMENTE MALDONADO, IVAN        ADDRESS ON FILE
Clemente Maldonado, Ivan E.     ADDRESS ON FILE
CLEMENTE MARCANO, JOHN          ADDRESS ON FILE
CLEMENTE MARCANO, KATHERINE     ADDRESS ON FILE
CLEMENTE MELENDEZ, GLORIA E     ADDRESS ON FILE
CLEMENTE MERCED, IRIS Y         ADDRESS ON FILE
CLEMENTE MILLAN, PEDRO          ADDRESS ON FILE
CLEMENTE MOJICA DELGADO         ADDRESS ON FILE
CLEMENTE MORALES, PEDRO         ADDRESS ON FILE
CLEMENTE MURIEL, MARTA M        ADDRESS ON FILE
CLEMENTE NELSON, CATALINA       ADDRESS ON FILE
CLEMENTE OJEDA, JORGE           ADDRESS ON FILE
Clemente Ortiz, Abraham         ADDRESS ON FILE
CLEMENTE ORTIZ, CARMEN M        ADDRESS ON FILE
CLEMENTE ORTIZ, EDUARDO         ADDRESS ON FILE
CLEMENTE ORTIZ, JENNIFER        ADDRESS ON FILE
CLEMENTE ORTIZ, MARILUZ         ADDRESS ON FILE
CLEMENTE ORTIZ, MONSERRATE      ADDRESS ON FILE
CLEMENTE ORTIZ, REYNALDO        ADDRESS ON FILE
CLEMENTE OSORIO, RAUL           ADDRESS ON FILE
CLEMENTE OSORIO, WILLIAM A.     ADDRESS ON FILE




                                                                                                      Page 1558 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1559 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CLEMENTE PENA, YARMARYS        ADDRESS ON FILE
CLEMENTE PEREZ, CARMEN S       ADDRESS ON FILE
CLEMENTE PEREZ, DENIS          ADDRESS ON FILE
CLEMENTE PIZARRO, CARLOS J     ADDRESS ON FILE
CLEMENTE PIZARRO, CARMEN       ADDRESS ON FILE
CLEMENTE PIZARRO, JOEL         ADDRESS ON FILE
CLEMENTE PIZARRO, LYDIA E      ADDRESS ON FILE
CLEMENTE PIZARRO, VICTOR J.    ADDRESS ON FILE
CLEMENTE QUINONES, ESPERANZA   ADDRESS ON FILE
Clemente Quinones, Oswaldo     ADDRESS ON FILE
CLEMENTE QUINONES, ROSA M      ADDRESS ON FILE
CLEMENTE QUINONES, VICTORIA    ADDRESS ON FILE
CLEMENTE RAMIREZ, LUCIA        ADDRESS ON FILE
CLEMENTE RAMOS, VIVIAN E       ADDRESS ON FILE
CLEMENTE RIOS, NEHEMIAS        ADDRESS ON FILE
Clemente Rios, Nicanor         ADDRESS ON FILE
CLEMENTE RIOS, NOE             ADDRESS ON FILE
CLEMENTE RIVERA, ADELINA       ADDRESS ON FILE
CLEMENTE RIVERA, ARIEL         ADDRESS ON FILE
CLEMENTE RIVERA, BIENVENIDO    ADDRESS ON FILE
CLEMENTE RIVERA, CARLOS J      ADDRESS ON FILE
CLEMENTE RIVERA, GUALBERTO     ADDRESS ON FILE
CLEMENTE RIVERA, IARA          ADDRESS ON FILE
CLEMENTE RIVERA, INGRID        ADDRESS ON FILE
CLEMENTE RIVERA, JEYSSON       ADDRESS ON FILE
CLEMENTE RIVERA, JOSHUA        ADDRESS ON FILE
CLEMENTE RIVERA, LUIS E        ADDRESS ON FILE
CLEMENTE RIVERA, MARGARITA     ADDRESS ON FILE
CLEMENTE RIVERA, MARGARITA     ADDRESS ON FILE
CLEMENTE RIVERA, RAFAEL        ADDRESS ON FILE
CLEMENTE RIVERA, SONIA         ADDRESS ON FILE
CLEMENTE RIVERA, SONIA I       ADDRESS ON FILE
CLEMENTE RIVERA, WITZENIA      ADDRESS ON FILE
CLEMENTE RIVERA, YARELY        ADDRESS ON FILE
Clemente Rodriguez, Abraham    ADDRESS ON FILE
CLEMENTE RODRIGUEZ, DALIA      ADDRESS ON FILE
CLEMENTE RODRIGUEZ, DALMA E    ADDRESS ON FILE
CLEMENTE RODRIGUEZ, LYMARI     ADDRESS ON FILE
CLEMENTE RODRIGUEZ, RAFAEL     ADDRESS ON FILE
CLEMENTE RODRIGUEZ, SILVIA     ADDRESS ON FILE
CLEMENTE ROJAS, EDGARDO        ADDRESS ON FILE
CLEMENTE ROMERO, FELICITA      ADDRESS ON FILE
CLEMENTE ROMERO, LUIS          ADDRESS ON FILE
CLEMENTE ROMERO, LUIS          ADDRESS ON FILE
CLEMENTE ROMERO, VICTOR LUIS   ADDRESS ON FILE
CLEMENTE ROMERO, ZULMA         ADDRESS ON FILE
CLEMENTE ROQUE, CYNTHIA        ADDRESS ON FILE
CLEMENTE ROSA, MARIA A         ADDRESS ON FILE
CLEMENTE ROSADO, JOHN A        ADDRESS ON FILE
CLEMENTE ROSADO, SANDRA        ADDRESS ON FILE
CLEMENTE ROSADO, SANDRA        ADDRESS ON FILE
Clemente Rosado, Sandra E      ADDRESS ON FILE
CLEMENTE ROSARIO AYALA         ADDRESS ON FILE
Clemente Ruiz, Felix           ADDRESS ON FILE
CLEMENTE RUIZ, NELLY E         ADDRESS ON FILE
CLEMENTE RUIZ, ZOE GLORICELY   ADDRESS ON FILE
CLEMENTE SANCHEZ, MARITZA      ADDRESS ON FILE
CLEMENTE SANJURJO, GERARD      ADDRESS ON FILE
CLEMENTE SERRANO RODRIGUEZ     ADDRESS ON FILE
CLEMENTE SILVA, EDWARD         ADDRESS ON FILE




                                                                           Page 1559 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1560 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                             Address1                         Address2                                       Address3               Address4           City             State   PostalCode   Country
CLEMENTE SOLIS, RUTH N                    ADDRESS ON FILE
CLEMENTE SOSA, HILDA                      ADDRESS ON FILE
CLEMENTE TAPIA, MARGARITA                 ADDRESS ON FILE
CLEMENTE VAZQUEZ, MINERVA                 ADDRESS ON FILE
CLEMENTE VEGA LOPEZ                       ADDRESS ON FILE
Clemente Velez, Mirkalot                  ADDRESS ON FILE

CLEMENTE VÉLEZ, MIRKALOT                 SR. MIRKALOT CLEMENTE VELEZ       NOGAR BE‐9                                     VALLE ARRIBA HEIGHTS                      CAROLINA         PR      00983
CLEMENTE VELEZ, MIRKALOT                 ADDRESS ON FILE
CLEMENTE VIERA, EDGARDO J                ADDRESS ON FILE
CLEMENTE VIZCARRONDO, LUIS R             ADDRESS ON FILE
CLEMENTE,WILLIAM                         ADDRESS ON FILE
CLEMENTECARRION, CARMEN O                ADDRESS ON FILE
CLEMENTEORTIZ, MARIA L                   ADDRESS ON FILE
CLEMENTEOSORIO, ROBERTO                  ADDRESS ON FILE
CLEMENTEPENA, PABLO                      ADDRESS ON FILE
CLEMENTINA HERNANDEZ FIGUEROA            ADDRESS ON FILE
CLEMENTINA MORALES SANTIAGO              ADDRESS ON FILE
CLEMENTS MD, DAVID                       ADDRESS ON FILE
CLEMETE PIZARRO, CLARIBEL                ADDRESS ON FILE
CLEMFENTE, MIRANGEL                      ADDRESS ON FILE
CLENDO INDUSTRIAL LABORATORY INC         PO BOX 549                                                                                                                 BAYAMON          PR      00959
CLENDO INDUSTRIAL LABOTRATORY, INC.      PO BOX 549                                                                                                                 BAYAMON          PR      00959
CLENDO LAB                               PO BOX 549                                                                                                                 BAYAMON          PR      00959
CLENDO OCCUPATIONAL HEALT / CLENDO LAB PO BOX 549                                                                                                                   BAYAMON          PR      00959
CLENDO OCCUPATIONAL HEALTH SERVICES      CITY VIEW PLAZA II                48 CARR 165 SUITE 2000                                                                   GUAYNABO         PR      00968‐8000
CLENDO OCCUPATIONAL HEALTH SERVICES, INC PO BOX 549                                                                                                                 BAYAMON          PR      00960‐0902
CLEORFA I. SANTANA PEREZ                 ADDRESS ON FILE
CLEOTILDE PENA AMNPARO                   ADDRESS ON FILE
CLEOTILDE PENA AMPARO                    ADDRESS ON FILE
CLERK OFFICE US DISTRICT COURT           CLERK' OFFICE                     ROMM 150 FEDERAL BUILDING                      ATT FILE SECTION                          HATO REY         PR      00918‐1767
CLERK US DISTRICT COURT                  AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                                                SAN JUAN         PR      00902‐4140
                                                                                                                          EDWARD J SCHWARTZ      880 FRONT STREET
CLERK US DISTRICT COURT                   U S DISTRICT COURT               SOUTHERN DISTRICT OF CALIFORNIA                FED BLDG.              ROOM 4290          SAN DIEGO        CA      92101‐8900
CLERK US DISTRICT COURT OF THE DISTRICT   150 CLEMENTE RUIZ NAZARIO        COURTHOUSE AVE. CARLOS CHARDON                                                           SAN JUAN         PR      00918
CLERMONT RADIOLOGY                        ATTN MEDICAL RECORDS             871 OAKLEY SEAVER DR                                                                     CLERMONT         FL      34711
CLETO BORBON, MARIA                       ADDRESS ON FILE
CLETO GUILAMO                             ADDRESS ON FILE
CLETO SEVERINO, YESENIA                   ADDRESS ON FILE
CLETS CENTRO LATINOAMERICANO              PO BOX 70184                                                                                                              SAN JUAN         PR      00936
CLEVELAND CLINIC FL HEALTH AND WELLNESS CEMEDICAL RECORDS                  3100 WESTON RD                                                                           WESTON           FL      33331
CLEVELAND CLINIC FLORIDA                  P O BOX 100947                                                                                                            ATLANTA          GA      30384
CLEVELAND CLINIC FLORIDA                  PO BOX 100947                                                                                                             ATLANTA          PR      30384
CLEVELAND CLINIC OF FLORIDA               2950 CLEVELAND CLINIC BLVD                                                                                                WESTON           FL      33331
CLEVELAND CLINICKRUPA CTR                 MEDICAL RECORDS                  3250 MERIDIAN PKWY                                                                       WESTON           FL      33331
CLEVELAND METRO HEALTH CENTER             2500 METRO HEALTH DR                                                                                                      CLEVELAND        OH      44109
CLEVELAND SMITH LOPEZ                     ADDRESS ON FILE
CLEVERBRIDGE AG                           53 WEST JACKSON BLVD SUITE 757                                                                                            CHICAGO          IL      60604‐3468
CLEVERBRIDGE AG                           BRABANTER STR 5‐4                                                       50674                                             COLOGNE                  58900        GERMANY
CLIA LAB PROGRAM                          P O BOX 530882                                                                                                            ATLANTA          GA      30353‐0882
CLIA LABORATORY PROGRAM                   P.O. BOX 530882                                                                                                           ATLANTA          GA      30353‐0882
CLIFFORD BEERS CLINIC                     93 EDWARDS ST                                                                                                             NEW HAVEN        CT      065141
CLIFFORD J JOHNSON BENITEZ                ADDRESS ON FILE
CLIFFORD PERRY INC                        403 OLIMPO PLAZA                 1002 MUNOZ RIVERA                                                                        SAN JUAN         PR      00927 5002
CLIFTON GUNDERSON, LLP                    ATT OFFICE 17                    9339 PRIORITY WAY WEST DRIVE SUITE 2                                                     INDIANAPOLIS     IN      46240
CLIMACTIVA                                PO BOX 366937                                                                                                             SAN JUAN         PR      00936‐6937
CLIMAIRE                                  PO BOX 9511                                                                                                               BAYAMON          PR      00960
CLINCHARD PALMER, EVELYN E.               ADDRESS ON FILE
CLINIC PHYSICIANS SERV                    P O BOX 931608                                                                                                            CLEVELAND        OH      44193
CLINICA CARDIOVASCULAR DE AGUAS BUENAS CALLE JUAN C BORBON                 FTE 67 286                                                                               GUAYNABO         PR      00969




                                                                                                       Page 1560 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1561 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                               Address1                                Address2                                     Address3             Address4   City             State   PostalCode   Country
CLINICA CARDIOVASCULAR DE GUAYNABO          PO BOX 965                                                                                                           GUAYNABO         PR      00970
CLINICA CIRUGIA AMB DR LUIS A VAZQUEZ       DR LUIS A VAZQUEZ                       PO BOX 3748                                                                  MAYAGUEZ         PR      00681‐3748
CLINICA CIRUGIA AMB HOSP SAN LUCAS          PO BOX 336810                                                                                                        PONCE            PR      00733‐6810
CLINICA DE BALONCESTO TONY BABIN INC        112 CALLE LAMELA                                                                                                     QUEBRADILLAS     PR      00678
CLINICA DE CANCER Y ENFERMEDADES DE LA SANPO BOX 5191                                                                                                            AGUADILLA        PR      00605
CLINICA DE LA FAMILIA EAST MESA             MEDICAL RECORDS                         8600 BATAAN MEMORIAL EAST                                                    LAS CRUCES       NM      88012
CLINICA DE MANEJO DEL DOLOR                 PO BOX 1869                                                                                                          AIBONITO         PR      00705
CLINICA DE MANEJO DEL DOLOR ‐ DR JOSE R OLL MANS DE CIUDAD JARDIN BAIROA            558 CALLE BADAJOZ                                                            CAGUAS           PR      00727
CLINICA DE MEDICINA DE FAMILIA DE CAYEY CSP 110 CALLE NUNEZ ROMEU E                                                                                              CAYEY            PR      00736
CLINICA DE MEDICINA DEPORTIVA DEL CARIBE INPO BOX 8600                                                                                                           SAN JUAN         PR      00910
CLINICA DE NEUROLOGIA Y MEDICINA            NEUROMUSCULAR INC                       LOS OLMOS 36 CALLE NEVAREZ APT 8 A                                           SAN JUAN         PR      00927
CLINICA DE OJOS                             FERNANDEZ JUNCOS STATION                PO BOX 8407                                                                  SAN JUAN         PR      00910
CLINICA DE OJOS DEL NORTE                   64 CALLE TRINA PADILLA DE SANZ                                                                                       ARECIBO          PR      00612
CLINICA DE OJOS MALDONADO VAZQUEZ           274 CALLE CONVENTO                                                                                                   SANTURCE         PR      00912
CLINICA DE REHAB AUDITIVA‐AUDIFORMS         PO BOX 6908                                                                                                          BAYAMON          PR      00960‐5908
CLINICA DE SALUD DEL TURABO                 PO BOX 1262                                                                                                          GURABO           PR      00778
CLINICA DE SALUD FAMILIAR                   AVE. JUAN HERNANDEZ 3106                                                                                             ISABELA          PR      00662
CLINICA DE SALUD INTEGRAL                   18 CALLE VICENTE DE LEON                                                                                             LAS PIEDRAS      PR      00771
CLINICA DE SALUD MENTAL DE LA COMUNIDAD PO BOX 9023711                                                                                                           SAN JUAN         PR      00902‐3711
CLINICA DE SALUD OCUPACIONAL                RECINTO DE CIENCIAS MEDICAS             OFIC B 230 PISO 2                            EDIFICIO PRINCIPAL              SAN JUAN         PR      00936
CLINICA DE SERV DE PATOLOGIA DEL HABLA      Y LENGUAJE                              PO BOX 1720                                                                  SAN GERMAN       PR      00683
                                                                                                                                 MARGINAL PONCE
CLINICA DE SUB ESPECIALISTAS PEDIATRICOS   URB INDUSTRIAL REPARADA                  CALLE MONTE REY 291                          BYPASS                          PONCE            PR      00716
CLINICA DE TERAPIA ‐ CHICOS PARLANTES      URB. PLAZA DE LAS FUENTES                # 1162                                                                       TOA ALTA         PR      00953
CLINICA DE TERAPIA DEL HABLA APOLLO INC    11 E COND REINA DEL MAR                  9 CALLE GARDENIA                                                             GUAYNABO         PR      00979
CLINICA DE TERAPIA DEL HABLA APOLLO INC    URB VILLA CLEMENTINA                     B 14 AVE APOLO                                                               GUAYNABO         PR      00969
CLINICA DE TERAPIA FISICA                  CALLE PABLO CASALS NUM 5                                                                                              MAYAGUEZ         PR      00680
CLINICA DE TERAPIA FISICA                  EDIF PONCE DE LEON STE 1                 42 CALLE MATTEI LLUVERAS                                                     YAUCO            PR      00698
CLINICA DE TERAPIA FISICA ACUATICA         718 VILLA FORESTAL                       CALLE CAMBALACHE                                                             MANATI           PR      00674‐6718
CLINICA DE TERAPIA FISICA BAYAMON          URB ROYAL PALM                           IL25 AVE NOGAL                                                               BAYAMON          PR      00956
CLINICA DE TERAPIA FISICA EXPRESO          PO BOX 20897                                                                                                          SAN JUAN         PR      00928‐0897
CLINICA DE TERAPIA HORIZONTE CORP          C/NUEVA #E‐10                            VILLA CLEMENTINA                                                             GUAYNABO         PR      00969
CLINICA DE TERAPIA INTEGRAL CRECEMOS       PO BOX 1446                                                                                                           VEGA ALTA        PR      00692
CLINICA DE TERAPIA INTEGRAL CRECEMOS       URB LAS COLINAS                          207 CALLE D                                                                  VEGA ALTA        PR      00692
CLINICA DE TERAPIA INTEGRAL CRECEMOS       Y BANCO POPULAR DE PUERTO RICO           PO BOX 362708                                                                SAN JUAN         PR      00936‐2708
CLINICA DE TERAPIA INTEGRAL CRECEMOS       Y BANCO POPULAR DE PUERTO RICO (CLAVE ENVPO BOX 362708                                                                SAN JUAN         PR      00936‐2708
CLINICA DE TERAPIA PASITOS DEL SABER CSP   P O BOX 1075                                                                                                          LARES            PR      00669
CLINICA DE TERAPIA TORNASOL                AVE CARLOS J ANDALUZ                     2 G 9 LOMAS VERDES                                                           BAYAMON          PR      00956
CLINICA DE TERAPIAS PEDIATRICA             AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                                    SAN JUAN         PR      00902‐4140
CLINICA DE TERAPIAS PEDIATRICA             VILLA BLANCA, 66 CALLE AGUAMARINA                                                                                     CAGUAS           PR      00725
CLINICA DE TERAPIAS PEDIATRICAS            URB VILLA BLANCA                         66 CALLE AQUAMARINA                                                          CAGUAS           PR      00725
CLINICA DE TERAPIAS PEDIATRICAS FISICA     53 CALLE FLOR GERENA                                                                                                  HUMACAO          PR      00791
CLINICA DEL DOLOR                          PO BOX 1839                                                                                                           MAYAGUEZ         PR      00681
CLINICA DEL JEEP                           21 BO BUCHANAN                                                                                                        MERCEDITA        PR      00715
CLINICA DENTAL AGUIRRE DEL SUR             PO BOX 1499                                                                                                           GUAYAMA          PR      00785‐1499
CLINICA DENTAL BAYANEY C S P               PO BOX 142031                                                                                                         ARECIBO          PR      00614‐2031
Clinica Dental Bravo, Inc.                 PO BOX 20651                                                                                                          San Juan         PR      00928
CLINICA DENTAL DR. FIGUEROA                VALPARAISO                               K ‐ 1 CALLE 1                                                                TOA BAJA         PR      00919
CLINICA DENTAL SR VELAZQUEZ, CSP           PO BOX 301                                                                                                            ARECIBO          PR      00613
CLINICA DENTAL TABOAS PSC                  PO BOX 395                                                                                                            MOROVIS          PR      00687
CLINICA DR MALAVE                          COTO LAUREL                              PO BOX 801504                                                                PONCE            PR      00780‐1504
CLINICA DR MERLOS                          TORRE DE AUXILIO MUTUO                   735 AVE PONCE DE LEON STE 203                                                SAN JUAN         PR      00917‐5024
CLINICA DR ROVIRA                          PO BOX 1520                                                                                                           HORMIGUEROS      PR      00660
CLINICA DR. FONT                           CALLE ELEONOR ROOSEVELT                  #117                                                                         HATO REY         PR      00917
CLINICA ELITE FHC OROCOVIS                 FHC HEALTH SYSTEMS                       METRO OFFICE PARK                            17 CALLE 2 STE 520              GUAYNABO         PR      00968‐1750
CLINICA ELITE FHC PONCE                    FHC HEALTH SYSTEMS                       METRO OFFICE PARK                            17 CALLE 2 STE 520              GUAYNABO         PR      00968‐1750
CLINICA ELITE FHC YAUCO                    FHC HEALTH SYSTEMS                       METRO OFFICE PARK                            17 CALLE 2 STE 520              GUAYNABO         PR      00968‐1750
CLINICA ESPANOLA                           PO BOX 490                                                                                                            MAYAGUEZ         PR      00681
CLINICA ESPECIAL DE LA SALUD               SR CARLOS ORTIZ TORRES                   PO BOX 1409                                                                  JUANA DIAZ       PR      00795
CLINICA ESPECIALIZADA DE CIRCULACION       PO BOX 8973                                                                                                           BAYAMON          PR      00960




                                                                                                                Page 1561 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                         Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1562 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                        Creditor Matrix

Creditor Name                               Address1                                    Address2                                     Address3                 Address4   City              State   PostalCode   Country
CLINICA ESTAB. DE SALUD MENTAL,INC CESMA P.O. BOX 5153                                                                                                                   AGUADILLA         PR      00605‐5153
CLINICA ESTABILIZADORA SALUD MENTAL         PO BOX 5153                                                                                                                  AGUADILLA         PR      00605
CLINICA FAMILIAR COTO LAUREL INC            PO BOX 383                                                                                                                   COTO LAUREL       PR      00780
CLINICA FAMILIAR EL MADRIGAL                CARR 123 KM 9 8 LOCAL 7 CENTRO COMERCIAL    LAS DELICIAS                                                                     PONCE             PR      00729
CLINICA FISIOTERAPIA Y REHABILITACION       PO BOX 101                                                                                                                   UTUADO            PR      00641
CLINICA HERNANDEZ Y MONTALVO LLC            URB MONTE TRUJILLO                          2702 PARQUE TERRALINDA                                                           TRUJILLO ALTO     PR      00976‐4087
CLINICA HERNANDEZ Y MONTALVO LLC            URB MONTE TRUJILLO                          PARQUE TERRALINDA BOX 2702                                                       TRUJILLO ALTO     PR      00976
CLINICA HIMA DEGETAU                        URB SAN ALFONSO                             A17 AVE DEGETAU                                                                  CAGUAS            PR      00725
CLINICA INMUNOLOGIA REGIONAL DE BAYAMONHOSPITAL REGIONAL DE BAYAMON                     AVE LAUREL SANTA JUANITA                                                         BAYAMON           PR      00956
CLINICA INTERDISCIPLINARIA CIPA             PSIQUIATRIA AVANZADA                        EDIF CENTRO PLAZA                            650 LLOVERAS STE 101                SAN JUAN          PR      00909‐2113
CLINICA LA FAMILIA                          13402 N 32ND ST                             SUITE 5                                                                          PHOENIX           AZ      85032
CLINICA LAS AMERICAS OB GYN GROUP           SUITE 402                                   400 RO0SEVELT AVE                                                                SAN JUAN          PR      00918
CLINICA MANEJO DEL DOLOR                    PO BOX 419                                                                                                                   VEGA ALTA         PR      00697
CLINICA MEDICA FISICA Y ELECTRODIAGNOSTI 114 CALLE CENTRAL                                                                                                               AGUADA            PR      00602
CLINICA MEDICA FISICA Y ELECTRODIAGNOSTICO 114 CALLE CENTRAL                                                                                                             AGUADA            PR      00602
CLINICA MEDICAL INC/FONROCHE ENERGY         AMERICA INC                                 PO BOX 3569                                                                      CAROLINA          PR      00984‐3569
CLINICA MEDICINA ALTERNATIVA                PLAZA EL AMAL                               AVE JESUS T PIÑEIRO EDIF 282 STE 20                                              SAN JUAN          PR      00927
CLINICA MEDICINA DEPORTIVA DEL CARIBE       FERNANDEZ JUNCOS STA                        PO BOX 8600                                                                      SAN JUAN          PR      00910
CLINICA MEDICINA FAMILIAR POLICLINICA BELLA 770 AVE HOSTOS                              EDIFICIO POLICLINICA BELLA VISTA SUITE                          306              MAYAGUEZ          PR      00680
CLINICA MEDICINA FISICA                     SOL ABREU SOSA                              114 CALLE CENTRAL                                                                AGUADA            PR      00602
CLINICA MEDICINA PREVENTIVA II              URB PALACIOS DEL RIO II                     766 CALLE CIBUCO                                                                 TOA ALTA          PR      00953‐5116
CLINICA METRO PAVIA CUPEY                   PO BOX 29025                                                                                                                 SAN JUAN          PR      00929‐0025
CLINICA MULTIDISCIPLINARIA DE DESARROLLO 130 C/GEORGETTI                                                                                                                 NARANJITO         PR      00719
CLINICA MULTIDISCIPLINARIA LIBELULA         ESTANCIA C‐27                               VIA SAN JUAN, PLAZA 10                                                           BAYAMON           PR      00961
CLINICA OFTALMICA DE LA MONTANA CSP         BOX 455                                                                                                                      AIBONITO          PR      00705
CLINICA OPTOMETRICA DR MANUEL AGRINSONI EDIF FRONTERA                                   12 ESTE CALLE DE DIEGO                                                           MAYAGUEZ          PR      00680
CLINICA PARA EL CUIDADO Y TRAT DE LA CONDU (ROVICO)                                     PO BOX 880                                                                       MAYAGUEZ          PR      00681‐0880
CLINICA PEDIAMED                            PO BOX 4964                                                                                                                  CAGUAS            PR      00726‐4964
CLINICA PEDIATRICA DE TERAPIA INC           URB LA RIVIERA                              1283 CALLE 54 SE                                                                 SAN JUAN          PR      00927
CLINICA PEDIATRICA DE TERAPIA, INC.         URB LA RIVIERA                              54 SE #1283                                                                      SAN JUAN          PR      00926
CLINICA PEDIATRICA DE TERAPIAS              URB LA RIVERA                               SE 54 1283                                                                       SAN JUAN          PR      00921
CLINICA PODIATRICA AVILES C S P             PO BOX 986                                                                                                                   LAJAS             PR      00667
CLINICA QUIROPRACTICA                       54 CALLE CELIS AGUILERA N                                                                                                    FAJARDO           PR      00738
CLINICA QUIROPRACTICA                       URB SANTA CRUZ                              53 CALLE SANTA CRUZ                                                              BAYAMON           PR      00961
CLINICA QUIROPRACTICA DEL ANGEL             23 CALLE MATIENZO CINTRON SUITE I                                                                                            YAUCO             PR      00698
CLINICA QUIROPRACTICA DEL OESTE             1078 CALLE JOSE E ARRARAS                                                                                                    MAYAGUEZ          PR      00682‐6601
CLINICA QUIROPRACTICA DR DIAZ               508 CESAR GONZALEZ URB ROOSEVELT                                                                                             SAN JUAN          PR      00918
CLINICA QUIROPRACTICA DR FERNANDO HERRER PO BOX 79086                                                                                                                    CAROLINA          PR      00984‐9086
CLINICA QUIROPRACTICA LAGUNA GARDENS        LAGUNA GARDENS SHOPPING CENTER              STE 250 B                                                                        CAROLINA          PR      00979
CLINICA QUIROPRACTICA LUGO MUÑOZ            RAFAEL E LUGO‐MUÑOZ                         URB LA CAMPIÑA                               44 CALLE 1                          SAN JUAN          PR      00926
CLINICA QUIROPRACTICA METROPOLITANA,C S P PO BOX 1193                                                                                                                    TRUJILLO ALTO     PR      00977‐1193
CLINICA SALUD INTEGRAL                      PO BOX 1436                                                                                                                  LAS PIEDRAS       PR      00771‐1436
CLINICA SAN FRANCISCO                       PO BOX 592                                                                                                                   AGUADA            PR      00602
CLINICA SONIDOS Y PALABRAS, INC.            URB. LA ARBOLEDA                            263 CALLE 16                                                                     SALINAS           PR      00751
CLINICA STEP, CSP                           CARR #2 KM 8606                                                                                                              HATILLO           PR      00659
CLINICA TERAPEUTICA ATLETICA LOABI          8 CALLE BARBOSA STE 2                                                                                                        COAMO             PR      00769
CLINICA TERAPEUTICA DEL NORTE               P.O. BOX 1420                                                                                                                MANATI            PR      00674
CLINICA TERAPEUTICA DEL NORTE               VILLAS DEL MANATI                           AVE LAS PALMAS BZN 174                                                           MANATI            PR      00674
CLINICA TERAPEUTICA DEL NORTE               VILLAS DEL MANATI, AVE LAS PALMAS BZN 174   AVE LAS PALMAS BZN 174                                                           MANATI            PR      00674
CLINICA TERAPEUTICA PARA DESARROLLO NINO PMB 707                                        AVE. WINSTON CHURCHILL #138                                                      SAN JUAN          PR      00926
CLINICA TERAPEUTICA PARA EL DESARROLLO DELPMB 707 AVE WINSTON CHURCHILL 138                                                                                              SAN JUAN          PR      00926
                                                                                                                                     300 AVE RAMON L
CLINICA TERAPIA BRAZILIA Y BANCO POPULAR   SUC BAYAMON POPULAR CENTER                   FLAMBOYAN GARDENS                            RODRIGUEZ                           BAYAMON           PR      00959
CLINICA TERAPIA BRAZILIA Y BANCO POPULAR
CLINICA TERAPIA FISICA                     PO BOX 249                                                                                                                    CAGUAS            PR      00726
CLINICA TERAPIA FISICA                     PO BOX 8492                                                                                                                   BAYAMON           PR      00960
CLINICA TERAPIA FISICA FLAMINGO TERRACE    PO BOX 8492                                                                                                                   BAYAMON           PR      00960
CLINICA TERAPIA FISICA GENESIS             PO BOX 430                                                                                                                    BARCELONETA       PR      00617‐0430
CLINICA TERAPIA FISICA NOGAL               URB VALPARAISO                               E1 CALLE 9                                                                       TOA BAJA          PR      00949
CLINICA TERAPIA FISICA Y REHA DEL NORTE    PO BOX 1086                                                                                                                   MANATI            PR      00674




                                                                                                                      Page 1562 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1563 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                          Address2                                    Address3   Address4   City          State   PostalCode   Country
CLINICA TERAPIA FISICA YABRIEL           PMB 510                           PO BOX 819                                                        LARES         PR      00669
CLINICA TERAPIA OCUP GROW AND LEARN SOC PMB 516 P O BOX 819                                                                                  LARES         PR      00669
CLINICA VETERINARIA MARIOLGA             URB MARIOLGA                      W 8 AVE MUNOZ MARIN                                               CAGUAS        PR      00725
CLINICA VETERINARIA SALINAS              PO BOX 336                                                                                          AGUIRRE       PR      00704
CLINICA VETERINARIA SAN AGUSTIN          URB SAN AGUSTIN                   26 CALLE MARGINAL                                                 SAN JUAN      PR      00923
CLINICA VISUAL                           153 AVE SAN RAFAEL                                                                                  AGUADILLA     PR      00603
CLINICA VISUAL COMERIO                   PO BOX 1856                                                                                         MOROVIS       PR      00687
CLINICA VISUAL OUTLET                    153 AVE PEDRO ALBIZU CAMPOS                                                                         AGUADILLA     PR      00603
CLINICA Y LABORATORIO DENTAL BRUNO ASSOCURB. GUARICO                       H8 CALLE C                                                        VEGA BAJA     PR      00693
CLINICA YAGUEZ                           PO BOX 698                                                                                          MAYAGUEZ      PR      00681
CLINICA ZAJORI TERAPIA CREATIVA          CUPEY PROFESSIONAL MALL           AVE. SAN CLAUDIO SUITE 324                                        SAN JUAN      PR      00926
CLINICA ZAJORI TERAPIA CREATIVA          URB. SAGRADO CORAZON              AVE. SAN CLAUDIO 396A                                             SAN JUAN      PR      00926
CLINICAL & LABORATORY STANDARD INSTITUTE 950 WEST VALLEY ROAD              SUITE 2500                                                        WAYNE         PA      19087‐1898
CLINICAL AND LABORATORY STANDARD INST.   950 WEST VALLEY ROAD SUITE 2500                                                                     WAYNE         PA      19087‐1898
CLINICAL ASSOC IN INTERNAL MED           MEDICAL RECORDS                   6707 N 19TH AVE STE 200                                           PHOENIX       AZ      85015‐1106
CLINICAL LABORATORY CAPA INC             PO BOX 1822                                                                                         MOCA          PR      00676
CLINICAL LABORATORY SOLUTIONS PSC        URB MONTEREAL                     339 CALLE ALONDRA                                                 DORADO        PR      00646‐9428
CLINICAL RESEARCH                        359 AVE DE DIEGO STE 501                                                                            SAN JUAN      PR      00909‐1711
CLINICAS EXTERNAS HOSP METROPOLITANO     CAPARRA HEIGHTS                   PO BOX 11981                                                      SAN JUAN      PR      00922
CLINIQUE ABAD, BRENDA S                  ADDRESS ON FILE
CLINTON CROSSINGS CLINIC                 PO BOX 558                                                                                          PUEBLO        CO      81002
CLIP AUDIO VISUAL INC                    VILLAS DE PARANA                  14 CALLE 4‐S 2                                                    SAN JUAN      PR      00926
CLIPPINGS                                BRAULIO DUENO COLON               H 18 CALLE 4                                                      BAYAMON       PR      00959
CLIVE WALTERS GONZALEZ                   ADDRESS ON FILE
CLIVILES RAMIREZ, MILVIO C               ADDRESS ON FILE
Clivilles Ateca, Julio A.                ADDRESS ON FILE
CLIVILLES RIVERA, FELIX                  ADDRESS ON FILE
CLJ ELECTRICAL & GENERAL CONTRACTORS CORPPO BOX 676                                                                                          NARANJITO     PR      00719‐0676
CLM INSURANCE PARTNERS INC               PO BOX 193114                                                                                       SAN JUAN      PR      00919‐3114
CLODOALDO KERKADO OJEDA                  ADDRESS ON FILE
CLODOALDO QUEIPO NAVARRO                 ADDRESS ON FILE
CLODOMIRO CABANAS SANTIAGO               ADDRESS ON FILE
CLON CRUZ, LISICHELY                     ADDRESS ON FILE
CLON SANCHEZ, ANDY                       ADDRESS ON FILE
CLONDALKIN PHARMA & HEALTHCARE           ADDRESS ON FILE
CLORIA A SALDANA/SALON FAMA DEP CAROLINAADDRESS ON FILE
CLORIAM SANTANA RODRIGUEZ                ADDRESS ON FILE
CLORIAM SANTANA RODRIGUEZ                ADDRESS ON FILE
CLORINDA BARRIENTOS CABEZAS              ADDRESS ON FILE
CLOROX MANUFACTURING COMPANY             HC‐05 BOX 56940                                                                                     CAGUAS        PR      00725‐9220
CLOSER LOOK RESEARCH CO                  EST DE YAUCO                      I2 CALLE TURQUESA                                                 YAUCO         PR      00698‐2805
CLOSING ATTORNEY PSC                     RR37 BOX 1838                                                                                       SAN JUAN      PR      00926‐9729
CLOTILDE L RAMIREZ                       ADDRESS ON FILE
CLOTILDE LATONI CUEVAS                   ADDRESS ON FILE
CLOTILDE RIVERA CARDONA                  ADDRESS ON FILE
Cloud Call, inc.                         1595 PEACHTREE PKWY STE 204‐337                                                                     CUMMING       GA      30041‐9584
CLOVIS M ALBELO VARGAS                   ADDRESS ON FILE
CLOVIS W ALBELO CARTAGENA                ADDRESS ON FILE
CLT ENGINEERING CORP                     P O BOX 618                                                                                         ARROYO        PR      00714
CLUB ALIANZA YABUCOENA DE BALOMPIE INC HC 2 BOX 8030                                                                                         YABUCOA       PR      00767
CLUB ALLEGRATO INC                       28 TOMAS TORRES                                                                                     JAYUYA        PR      00664
CLUB AMIGO UNIDO                         HC 3 BOX 33625                                                                                      AGUADA        PR      00602‐9770
CLUB AMIGOS DEL HAPPY CORNER             P O BOX 4654                                                                                        CAROLINA      PR      00984
CLUB ANASQUENO DE BALONCESTO INFANTIL IN PO BOX 612                                                                                          ANASCO        PR      00610
CLUB AUTOS ANTIGUOS Y CLASICOS ARECIBO   URB VILLA TOLEDO                  405 CALLE URUTI                                                   ARECIBO       PR      00612‐9686
CLUB BALONCESTO BAYAMON BLUE DEVIL'S P R MARGOLIA GARDENS                  EDF 5 APT 36                                                      BAYAMON       PR      00956
CLUB CABORROJENO                         PO BOX 818                                                                                          GUAYNABO      PR      00970‐0818
CLUB CASA Y PESCA CASTANER INC           P O BOX 181                                                                                         LARES         PR      00669
CLUB DE ATLETISMO DE BAYAMON INC         URB SIERRA LINDA                  CC 37 CALLE 13                                                    BAYAMON       PR      00959
CLUB DE ATLETISMO OROCOVIX INC           PO BOX 219                                                                                          OROCOVIS      PR      00720




                                                                                                        Page 1563 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1564 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                            Address2                                  Address3   Address4   City              State   PostalCode    Country
CLUB DE AUTOS ANTIGUOS Y CLASICOS        URB ALTURAS DE VEGA BAJA            AA 7 CALLE R                                                    VEGA BAJA         PR      00693
CLUB DE BALONCESTO ENCHUMBAO DE NAGUABURB DIPLO                              G 7 CALLE 14                                                    NAGUABO           PR      00718
CLUB DE DOMINO DE GUANICA                VICK CENTER SUITE B 102             867 AVE MUNOZ RIVERA                                            SAN JUAN          PR      00925
CLUB DE FUTBOL DE VEGA ALTA CORP         STA ANA                             H 6 CALLE 4                                                     VEGA ALTA         PR      00692
CLUB DE LEONES DE FAJARDO                HC 67 BOX 23604                                                                                     FAJARDO           PR      00738‐0268
CLUB DE LEONES DE RIO PIEDRAS JORGE BIRD P O BOX 367344                                                                                      SAN JUAN          PR      00936
CLUB DE LEONES MAYAGUEZ INC              P O BOX 3202                                                                                        MAYAGUEZ          PR      00681
CLUB DE LEONES RAFAEL M CARRILLO INC     505 MUNOZ RIVERA                                                                                    SAN JUAN          PR      00918
CLUB DE OFICIALES DE LA POLICIA DE P. R. P.O. BOX 9881                                                                                       SANTURCE          PR      000907‐0000
CLUB DE TAE KWON DO DE VILLA ESPANA      RES VILLA ESPANA                    CENTRO COMUNAL                                                  SAN JUAN          PR      00921
CLUB DE TENIS BARBOSA INC                PARQUE JOSE CELSO BARBOSA           500 AVE MAIN OESTE                                              BAYAMON           PR      00961
CLUB DE TENIS ISLA VERDE                 11 MAR MEDITERRANEO PALMAR SUR                                                                      CAROLINA          PR      00979
CLUB DE VOLEIBOL PLATANEROS DE COROZAL PO BOX 1368                                                                                           COROZAL           PR      00783
CLUB DE VOLIBOL MASCULINO                PO BOX 1839                                                                                         COROZAL           PR      00783
CLUB DE VOLLEYBALL DEL SUR INC           URB VALLE REAL                      1852 CALLE INFANTA                                              PONCE             PR      00716
CLUB DEL DESARROLLO INTEGRAL             CALLE CARAZO #110                                                                                   GUAYNABO          PR      00969
CLUB DEMONSTRATION SERVICE INC           9555 CHESAPEAKE DR 100                                                                              SAN DIEGO         CA      92123‐6399
CLUB DEPORTIVO BARBOSA INC               PO BOX 193197                                                                                       SAN JUAN          PR      00919‐3197
CLUB DEPORTIVO CAMUY                     116 MUNOZ RIVERA                                                                                    CAMUY             PR      00627
CLUB DEPORTIVO CIDRENO                   URB VILLAS DEL CARMEN               B3 CALLE 1                                                      CIDRA             PR      00739
CLUB DEPORTIVO DE FUTBOL DE GUAYNABO INC GARDEN HILLS                        V 3 CALLE CORTA                                                 GUAYNABO          PR      00969
CLUB DEPORTIVO DE FUTBOL GUAYAMES        PO BOX 3365                                                                                         GUAYAMA           PR      00785
CLUB DEPORTIVO DE PONCE                  PO BOX 7476                         AVE. JOSE DE DIEGO                                              PONCE             PR      00732‐7476
CLUB DEPORTIVO UNION INC                 P O BOX 2088                                                                                        BAYAMON           PR      00960‐2088
CLUB DEPORTIVO Y COMUNITARIO GIGANTE INC P O BOX 11256                       FERNANDEZ JUNCOS STATION                                        SAN JUAN          PR      00910
CLUB ESC BALONCESTO COSTERO DE VEGA ALTA 213 CALLE UNION INTERIOR                                                                            VEGA ALTA         PR      00692
CLUB FUTBOL TORNADOS DE LA CIUDAD GRIS P O BOX 236                                                                                           JUNCOS            PR      00777
CLUB GYMNATIC EN TOA BAJA PR CORP        P O BOX 286                                                                                         SABANA SECA       PR      00952
CLUB HISTORICO COAMENO INC               BO SANTA CATALINA                   PO BOX 962                                                      COAMO             PR      00769
CLUB MARATON DE PR EN VILLALBA CORP      URB VILLA ALBA                      28 CALLE D                                                      VILLALBA          PR      00766
CLUB MJB‐PIRATAS BOQUERON‐DR JIM RIVERA 32 CALLE BARBOSA                                                                                     CABO ROJO         PR      00623
CLUB PATRIOTAS DE LARES INC              HC 01 BOX 5072                                                                                      LARES             PR      00669
CLUB PATRIOTAS DE LARES INC              PO BOX 2889                                                                                         SAN SEBASTIAN     PR      00685
CLUB PESC NUESTRA SENORA DEL CARMEN      DEPTO DE RECREACION Y DEPORTES      PO BOX 9023207                                                  SAN JUAN          PR      00902‐3207
CLUB PESC NUESTRA SENORA DEL CARMEN      URB QUINTO CENTENARIO               808 CALLE DE DIEGO                                              MAYAGUEZ          PR      00680
CLUB PLAYERO DEPORTIVO ISLA VERDE INC    AMF STATION                         PO BOX 810409                                                   CAROLINA          PR      00981
CLUB RECREATIVO CUEVITAS EN ACCION INC   HC 01 BOX 4307                                                                                      JUANA DIAZ        PR      00795
CLUB RECREATIVO VALLE ALTO INC           PMB 009                             PO BOX 200                                                      MERDITA           PR      00715
CLUB ROTARIO DE RIO PIEDRAS              PO BOX 21046                                                                                        SAN JUAN          PR      00928
CLUB ROTARIO DE VEGA ALTA INC            P O BOX 256                                                                                         VEGA ALTA         PR      00692
CLUB SABANA SECA CLASE A INC             HC 5 BOX 11220                                                                                      CORAZAL           PR      00783
CLUB SEABOURNE HOTEL                     P. O. BOX 357                                                                                       CULEBRAS          PR      00075
CLUB TENIS DE MESA AGUILAS DE LA         MONTANA                             PO BOX 675                                                      UTUADO            PR      00641
CLUB TENNIS MESA AGUILAS DE LA MONTANA I 43 URB JESUS M LAGO                                                                                 UTUADO            PR      00641
CLUB UNICICLISTA DE RIO GRANDE           ALTS DE RIO GRANDE                  S 993 CALLE 18                                                  RIO GRANDE        PR      00745
CLUB UNICICLISTAS DEL YUNQUE INC         ALTS DE RIO GRANDE                  R 895 CALLE 16                                                  RIO GRANDE        PR      00745
CLUB VEGA BAJA EL ROSARIO INC            URB EL ROSARIO                      D16 CALLE A                                                     VEGA BAJA         PR      00693
CLUB VILLAS CONDOMINIUM REGIME           295 PALMAS INN WAY STE 130                                                                          HUMACAO           PR      00791‐6252
CLUB VOLEIBOL BORINQUEN COQUI INC        PMB 553 138 AVE WINSTON CHURCHILL                                                                   SAN JUAN          PR      00926‐6023
CLUB VOLIBOL VAQUEROS BAYAMON INC        PO BOX 6755                                                                                         BAYAMON           PR      00960
CLUB YARTAI INC                          HC 2 BOX 7140                                                                                       OROCOVIS          PR      00720
CLUB YAUCANO INC                         PO BOX 29121                                                                                        SAN JUAN          PR      00929‐9121
CLUBLUCHA OLIMPICA JOSE M ALBINANA INC URB VILLA MADRID 2‐18                 CALLE # 4                                                       COAMO             PR      00769
CLUTTEUR SHORT, MATTHEW                  ADDRESS ON FILE
CLYNE HODGE, SAMUEL                      ADDRESS ON FILE
CM ALFA GROUP CORP                       PO BOX 441                                                                                          MAYAGUEZ          PR      00681
CM SERVICES INC Y/O SAMUEL TORRES        PO BOX 19369                                                                                        SAN JUAN          PR      00919
CM TECHNOLOGY GROUP CORP                 MYRNA VAZQUEZ ST H3                 URB. VALLE TOLIMA                                               CAGUAS            PR      00727
CMA ARCHITECTS & ENGINEERS LLP           1509 F. D. ROOSEVELT AVE.           SAN JUAN                                                        SAN JUAN          PR      00920‐0000
CMA ARCHITECTS & ENGINEERS LLP           P O BOX 11490                       SAN JUAN                                                        SAN JUAN          PR      00920‐0000




                                                                                                        Page 1564 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1565 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                        Creditor Matrix

Creditor Name                            Address1                                         Address2                                   Address3   Address4   City            State   PostalCode   Country
CMA CENTRO MEDICO DOCENTE ADAPTOGENO PO BOX 6181                                                                                                           BAYAMON         PR      00960
CMC ENVIRONMENTAL CONSULTANTS CORP       65TH INTANTERIA STATION                          PO BOX 29702                                                     SAN JUAN        PR      00929‐0702
CMC RANDOLPH BEHAVIORAL HEALTH CENTER 501 BILLINGSLEY RD                                                                                                   CHARLOTTE       NC      28211‐1009
CMFG Life Insurance Company              5910 Mineral Point Road                                                                                           Madison         WI      53705
CMFG Life Insurance Company              Attn: Daniel Shinnick, Vice President            PO Box 391                                                       Madison         WI      53701
CMFG Life Insurance Company              Attn: Laurie Carlson, Circulation of Risk        PO Box 391                                                       Madison         WI      53701
CMFG Life Insurance Company              Attn: Laurie Carlson, Regulatory Compliance GovePO Box 391                                                        Madison         WI      53701
CMFG Life Insurance Company              Attn: Lynn Weasner, Consumer Complaint ContacPO Box 391                                                           Madison         WI      53701
CMFG Life Insurance Company              Attn: Robert Trunzo, President                   PO Box 391                                                       Madison         WI      53701
CMFG Life Insurance Company              Attn: Shannon Carpenter, Premiun Tax Contact PO Box 391                                                           Madison         WI      53701
CMFG Life Insurance Company              Attn: Stephen Verhagen, Actuary                  PO Box 391                                                       Madison         WI      53701
CMFG Life Insurance Company              Attn: Thomas Dare, Vice President                PO Box 391                                                       Madison         WI      53701
CMFG Life Insurance Company              Attn: Victor Alamo, Agent for Service of Process PO Box 391                                                       Madison         WI      53701
CMG AMBULANCE SERVICE INC                PO BOX 560178                                                                                                     GUAYANILLA      PR      00656
CMG PRODUCTION INC                       BAYAMON GARDENS                                  V1 CALLE 18                                                      BAYAMON         PR      00957
CMG PRODUCTIONS INC                      BAYAMON GARDENS                                  VI CALLE 18                                                      BAYAMON         PR      00957
CMI HOSPITAL EQUIPMENT CORP              PO BOX 4846                                                                                                       CAROLINA        PR      00986
CMI HOSPITAL EQUIPMENT CORP              PO BOX 4848                                                                                                       CAROLINA        PR      00986
CMIGRA INC                               P O BOX 10067                                                                                                     SAN JUAN        PR      00922‐0067
CMM CLASE 2000 OCTAVO GRADO              RR 36 BOX 8130                                                                                                    SAN JUAN        PR      00926
CMM JANITORIAL SERVICES INC              HC 02 BOX 14367                                                                                                   CAROLINA        PR      00987
CMMR MANAGEMENT CORP                     PO BOX 994                                                                                                        GURABO          PR      00778‐0994
CMR & CO CPA PSC                         400 CALAF PMB 164                                                                                                 HATO REY        PR      00918
CMR INTERIOR CONTRACTORS INC             P O BOX 19472                                                                                                     SAN JUAN        PR      00918
CMRP OFICINA LEGAL CSP                   130 WISNSTON CHURCHILL AVE                       PMB 223                                                          SAN JUAN        PR      00926
CMRS‐PBP                                 P O BOX 7247‐0166                                                                                                 PHILADEPHIA     PA      19170‐0166
CMT GROUP                                P O BOX 192071                                                                                                    SAN JUAN        PR      00919‐2071
CMT GROUP CORP. H                        CLEMSON 300 UNIVERSITY GARDENS                                                                                    HATO REY        PR      00927‐2071
CMT GROUP, CORP.                         PO BOX 51502                                                                                                      TOA BAJA        PR      00950‐1500
CN COMPUTER CENTRE                       PO BOX 51821                                                                                                      TOA BAJA        PR      00950
CN COMPUTER CENTRE LLC                   P O BOX 51821                                                                                                     TOA BAJA        PR      00950
CNA INSURANCE COMPANIES                  URB CAPARRA HLS IND PARK                         B2 CALLE TABONUCO STE 431                                        GUAYNABO        PR      00968‐3003
CNM ENTERPRISE DBA OLD WEST              TOWN RESTAURANT                                  P O BOX 2214                                                     MANATI          PR      00674
CNMC BEST MEDICAL INTERACTIONAL          865 EASTHAGAN DRIVE                                                                                               NASHVILLE       TN      37217
CNMC BEST MEDICAL INTERNATIONAL          865 EASTHAGAN DRIVE                                                                                               NASHVILLE       TN      37217
CNTRO DE TERAPIA FISICA DE LA MONTANA    HC 72 BOX 4047                                                                                                    NARANJITO       PR      00719
CO COOP STA ISABEL                       AREA DEL TESORO                                  CONTADURIA GENERAL                                               SAN JUAN        PR      00902
CO COOP STA ISABEL                       PO BOX 363188                                                                                                     SAN JUAN        PR      00902
CO PRODUCCIONES ARAGUA INC               PO BOX 8154                                                                                                       CAROLINA        PR      00986
COAL PSH SJ                              P O BOX 194590                                                                                                    SAN JUAN        PR      00919‐4590
COALICION ALCANCE JUVENIL INC            PO BOX 1104                                                                                                       SAINT JUST      PR      00978
COALICION CRIOLLA DE CUIDADO CONTINUO A PERSONAS SIN HOGAR INC                            P O BOX 4960 PMB 273                                             CAGUAS          PR      00726
Coalicion De Apoyo Continuo a PSH ‐ SJ   P.O. BOX 194590                                                                                                   SAN JUAN        PR      00919‐4590
COALICION DE APOYO CONTINUO PERSONAS SIN HOGAR DE GUAYNABO INC                            PMB 312 P O BOX 7886                                             GUAYNABO        PR      00970‐7886
COALICION DE ASMA DE PR, INC.            PO BOX 71325 SUITE 286                                                                                            SAN JUAN        PR      00936
COALICION DE COALICIONES                 587PEREIRA LEAL, SUITE 10,                                                                                        SAN JUAN        PR      00923‐0000
COALICION DE COALICIONES PRO PERSONAS    SIN HOGAR DE PR INC                              CALLE ISABEL 44                                                  PONCE           PR      00730
COALICION PARA LA LACTANCIA MATERNA      PO BOX 193151                                                                                                     SAN JUAN        PR      00918‐3151
COALICION PARA LACTANCIA MATERNA         PO BOX 193151                                                                                                     SAN JUAN        PR      00918‐3151
COALITION FOR JUVENILE JUSTICE           1211 CONNECTICUT AVE NW SUITE 414                                                                                 WASHINGTON      DC      20036
COALITION FOR JUVENILE JUSTICE           1710 RHODE ISLAND AVE                            NW 10 TH FLOOR                                                   WASHINGTON      DC      20036
COALITION PRO HOMELESS THE EASTERN AREA HC 2 BOX 72664                                                                                                     LAS PIEDRAS     PR      00771
COALITION PRO‐HOMELESS OF THE EASTERN    CALLE RAFAEL VELAZQUEZ NUM.4                                                                                      YABUCOA         PR      00767‐0000
COAMO AFFORDABLE HOUSING LLC             PLAZA APARTMENTS                                 PO BOX 8425                                                      CAGUAS          PR      00726‐8425
COAMO BUS SERVICE                        PO BOX 1258                                                                                                       AIBONITO        PR      00705
COAMO CELLULAR CORP                      VILLA DEL CARMEN                                 4322 AVE CONSTANCIA                                              PONCE           PR      00716‐2143
COAMO CONCRETE PRODUCTS INC              PO BOX 772                                                                                                        COAMO           PR      00769
COAMO SENIOR HOUSING INVESTORS           PMB 140 AVE ESMERALDA 53                                                                                          GUAYNABO        PR      00969
COAMO SPRINGS GOLF AND TENNIS            PO BOX 9021342                                                                                                    SAN JUAN        PR      00902
COAMO SPRINGS RESORT INC                 PO BOX 87                                                                                                         COAMO           PR      00769




                                                                                                                      Page 1565 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1566 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                        Address2                                        Address3   Address4   City             State   PostalCode   Country
COA‐PSH‐SJ                                CALLE JUAN PENA 977                                                                                   RIO PIEDRAS      PR      00924‐0000
COAST 2 COAST GENERAL CONTRACTORS INC     PMB 442‐2135                                                                                          BAYAMON          PR      00959
COAST 2 COAST GENERAL CONTRACTORS, INC. PMB #442 2135 CARR # 2 SUITE 15                                                                         BAYAMON          PR      00961‐0000
COAST CHEMICALS & SPECIALS PROD INC       PO BOX 7704                                                                                           PONCE            PR      00732‐7704
COAST TO COAST                            7405 VAN MAYS BLVD              SUITE 205                                                             VAN MUYS         CA      91405
COAST TO COAST GENERAL CONTRACTORS, INC. PMB 442 2135 CARR 2 SUITE 15                                                                           BAYAMON          PR      00961
COASTAL ORTHOPEDIC ASSOCIATES             2376 CYPRESS CIRCLE             SUITE 300                                                             CONWAY           SC      29526
COASTAL TRAINING TECHNOLOGIES             PO BOX 846078                                                                                         DALLAS           TX      75284‐6078
COASTAL TRAINING TECHNOLOGIES CORP        P O BOX 846078                                                                                        DALLAS           TX      75284‐6078
COATESVILLE VA HOSPITAL                   DEPT OF VETERANS AFFAIRS ROI    1400 BLACKHORSE HILL RD 136 B                                         COATESVILLE      PA      19320
COAYUCO CONSTRUCTION CORP                 PO BOX 3027                                                                                           YAUCO            PR      00698
COBALT CONSULTING GROUP INC               URB SAN FRANCISCO               1665 CALLE PLAYERA                                                    SAN JUAN         PR      00927‐6241
COBAS RODRIGUEZ, MARCOS A.                ADDRESS ON FILE
Cobb De La Vega, Cheryl M                 ADDRESS ON FILE
COBB GORBEA, HENRY                        ADDRESS ON FILE
COBB VELEZ, JAMES E.                      ADDRESS ON FILE
COBB VELEZ, NICOLE M.                     ADDRESS ON FILE
COBERTURAS MEDICAS CORP                   PO BOX 7589                                                                                           CAGUAS           PR      00726
COBIAN & COBIAN, PSC                      HC 02 BOX 13318                                                                                       AGUAS BUENAS     PR      00703‐9605
COBIAN & COBIAN, PSC                      PO BOX 36657                                                                                          SAN JUAN         PR      00936‐6577
COBIAN & COBIAN, PSC                      PO BOX 366577                                                                                         SAN JUAN         PR      00936‐6577
COBIAN & COBIAN, PSC                      PO BOX 9066522                                                                                        SAN JUAN         PR      00906‐6522
COBIAN & COMP CERTIFIED PUBLIC ACCOUNTAN PO BOX 1202                                                                                            GUAYNABO         PR      00970‐1202
COBIAN & VALLS LAW OFFICE PSC             PO BOX 9066522                                                                                        SAN JUAN         PR      00906‐6522
COBIAN BELAVAL, JOSE A                    ADDRESS ON FILE
COBIAN CONSULTOR INGENIERIA Y PLANIFICACIOPO BOX 10000                                                                                          CAYEY            PR      00737‐9601
COBIAN DE JESUS, DORIS                    ADDRESS ON FILE
COBIAN DELGADO, MYRNA I.                  ADDRESS ON FILE
COBIAN DIAZ, MARIA A                      ADDRESS ON FILE
COBIAN DIAZ, VANESSA E                    ADDRESS ON FILE
COBIAN DIAZ, YOLANDA                      ADDRESS ON FILE
COBIAN EYE CENTER                         EDIFICIO GUAYACAN               204 C/ JULIO CINTRON SUITE 109 B                                      AIBONITO         PR      00705
COBIAN FIGUEROUX, RICARDO                 ADDRESS ON FILE
COBIAN JIMENEZ, ANNABELLE                 ADDRESS ON FILE
COBIAN LUGO, LIMARI                       ADDRESS ON FILE
COBIAN LUGO,JOSE                          ADDRESS ON FILE
COBIAN MEDIA                              CONDADO MANSIONS                1213 LUCHETTI APT 2                                                   SAN JUAN         PR      00907
COBIAN PEREZ, ELBA                        ADDRESS ON FILE
COBIAN RIVERA, CARLOS                     ADDRESS ON FILE
COBIAN RIVERA, MARTIN                     ADDRESS ON FILE
COBIAN RODRIGUEZ, MARIANA                 ADDRESS ON FILE
COBIAN RODRIGUEZ, MARIANA                 ADDRESS ON FILE
COBIAN ROIG, EDUARDO J.                   ADDRESS ON FILE
COBIAN SIERRA, SERIVETTE                  ADDRESS ON FILE
COBIAN TORMOS, JOSE                       ADDRESS ON FILE
COBIAN VEGA, IDALIS                       ADDRESS ON FILE
COBIANS LUGO MD, JOSE L                   ADDRESS ON FILE
COBLES COBLES, LIDIA                      ADDRESS ON FILE
COBO ESTRELLA, HUMBERTO                   ADDRESS ON FILE
COBO LONDONO, JUAN                        ADDRESS ON FILE
COBO MACHADO, JUAN                        ADDRESS ON FILE
COCA DONES, RAFAEL                        ADDRESS ON FILE
COCA DONES, STEPHANIE M                   ADDRESS ON FILE
COCA JOSE, AUDRI                          ADDRESS ON FILE
COCA RIVERA MD, ROSA A                    ADDRESS ON FILE
COCA RIVERA, RAFAEL                       ADDRESS ON FILE
COCA SOTO, FRANCISCO                      ADDRESS ON FILE
COCEPCION RIVERA OLIVERA                  BO AMELIA                       16 CALLE GUILLLERMO SALDANA                                           GUAYNABO         PR      00965
COCHLEAR AMERICAS                         13059 E PECOKVIEW AVE                                                                                 CENTENNIAL       CO      80111
COCHO NEGRON, ANTHONY                     ADDRESS ON FILE




                                                                                                        Page 1566 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1567 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                            Address1                        Address2                                    Address3   Address4   City              State   PostalCode   Country
COCHO NEGRON, KRISTLE                    ADDRESS ON FILE
Cochram Ortiz, Carlos M                  ADDRESS ON FILE
COCHRAN ACOSTA, CARLOS                   ADDRESS ON FILE
Cochran Ortiz, Gaspar                    ADDRESS ON FILE
COCHRAN RIVERA, ENID S                   ADDRESS ON FILE
COCHRAN RIVERA, ESTEBAN                  ADDRESS ON FILE
COCHRAN RIVERA, LAURA E                  ADDRESS ON FILE
COCHRAN ROBLES, LILLIAN H                ADDRESS ON FILE
COCHRAN RODRIGUEZ, ANTONIO               ADDRESS ON FILE
COCHRAN SANTIAGO, NORMA I                ADDRESS ON FILE
COCHRAN VELAZQUEZ, MARIA R               ADDRESS ON FILE
COCHRAN, BENJAMIN                        ADDRESS ON FILE
COCHRAN, JAMES                           ADDRESS ON FILE
COCINA DE YOLY                           URB SUMMIT HILLS                608 CALLE BERWIN                                                  SAN JUAN          PR      00920
COCINA DE YOLY                           URB SUMMIT HILLS                                                                                  SAN JUAN          PR      00920
COCINA PUERTORRIQUENA                    AREA DEL TESORO                 DIVISION DE RECLAMACIONES                                         SAN JUAN          PR      00902‐4140
COCINA PUERTORRIQUENA                    LEVITTOWN                       H 558 CALLE ROSARIO ARUTI                                         TOA BAJA          PR      00949
COCINA SELECTA INC /DBA/ DELI CUISINE    AREA DEL TESORO                 DIVISION DE RECLAMACIONES                                         SAN JUAN          PR      00902‐4140
COCINA SELECTA INC /DBA/ DELI CUISINE    PO BOX 363245                                                                                     SAN JUAN          PR      00936‐3245
COCINA SELECTA INC DBA DELI‐CUISINE      PO BOX 363245                                                                                     SAN JUAN          PR      00936‐3245
COCINAS DISENO INC                       VILLAS DE SAN FRANCISCO         PLAZA 2 # 87 AVEN DE DIEGO SUITE 3                                SAN JUAN          PR      00927
COCKRAN SANCHEZ, JOSE A                  ADDRESS ON FILE
COCKRAN VELAZQUEZ, LIGIA M               ADDRESS ON FILE
COCO BEACH                               PO BOX 21420                                                                                      SAN JUAN          PR      00928‐1420
COCOTEROS LOIZA DOBLE AA BASEBALL CLUB   P O BOX 276                                                                                       LOIZA             PR      00722
COD CONTRACT CORP                        EL TUQUE INDUSTRIAL PARK 22                                                                       PONCE             PR      00728
CODAZZI BENITEZ, HECTOR J.               ADDRESS ON FILE
CODAZZI BENITEZ, HECTORJ                 ADDRESS ON FILE
CODECOM                                  P. O. BOX 11032                                                                                   SAN JUAN          PR      00968‐0000
CODEFIN CTA PARTICIPACION CIUDADANA      REAL STATE DIV POPULAR CENTER   209 MUNOZ RIVERA AVE 9FLOOR                 OFIC 932              SAN JUAN          PR      00918
CODEVYS, INC.                            ADDRESS ON FILE
CODEX VALIDATION GROUP, INC              HC 2 BOX 7915                                                                                     BAJADERO          PR      00616‐9902
CODIAS GONZALEZ, YAQUELINE               ADDRESS ON FILE
CODIENCE CORP                            1258 CALLE CASINO                                                                                 SAN JUAN          PR      00920
CODMAN SQUARE HEALTH                     637 WASHINGTON STREET                                                                             DORCHESTER        MA      02124
CODOVES DIAZ, HAROLD D.                  ADDRESS ON FILE
COEDRO S E                               3203 CARR 351                                                                                     MAYAGUEZ          PR      00682‐7817
Coello De Jesus, Alexis E                ADDRESS ON FILE
COELLO MATIAS, MYRTA                     ADDRESS ON FILE
COELLO SOTO, TANIA                       ADDRESS ON FILE
COELLO SOTO, TANIA A                     ADDRESS ON FILE
COFAN AMARO, RAMON                       ADDRESS ON FILE
COFERENCE OF STATE BANK SUPERVISOR       1155 CONNECTICUT AVENUE         NW SUITE 500                                                      WASHINGTON DC     DC      20036‐4306
COFFEE CUP SOFTWARE                      1905 WOODSTOCK SW 2250                                                                            ROSSWELL          GA      30075
COFFIE RIVERA, JOEHANN B.                ADDRESS ON FILE
COFFIE RODRIGUEZ, HERMOGENES             ADDRESS ON FILE
COFINO ALFOMBRAS                         PO BOX 4041                                                                                       CAROLINA          PR      00984‐4041
COFINO BRACERO, CARLOS E.                ADDRESS ON FILE
COFRESI ACOSTA, LIZBETH                  ADDRESS ON FILE
Cofresi Adames, Jose Antonio             ADDRESS ON FILE
COFRESI CARLO, AIXA                      ADDRESS ON FILE
COFRESI FAGUNDO, LESLIE N.               ADDRESS ON FILE
COFRESI FERRER, OSCAR                    ADDRESS ON FILE
COFRESI IRIZARRY, JAQUELINE              ADDRESS ON FILE
COFRESI MARTINEZ, WILHELM                ADDRESS ON FILE
COFRESI MONTALVO, DIANA                  ADDRESS ON FILE
COFRESI MOTORCYCLE CLUB INC              PO BOX 681                                                                                        BOQUERON          PR      00622
COFRESI NEGRON, CARMEN                   ADDRESS ON FILE
COFRESI NEGRON, ODNIS                    ADDRESS ON FILE
COFRESI ORTIZ, NORMA                     ADDRESS ON FILE




                                                                                                      Page 1567 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1568 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                               Address2                                      Address3            Address4   City                 State   PostalCode   Country
COFRESI PABON, BERNARDO                  ADDRESS ON FILE
COFRESI PABON, HERIBERTO                 ADDRESS ON FILE
COFRESI QUINONES, ISRAEL                 ADDRESS ON FILE
COFRESI SILVA, KARIE A.                  ADDRESS ON FILE
COFRESI TORO, ENELLY                     ADDRESS ON FILE
COFRESI VIZCARRONDO, LESLIE              ADDRESS ON FILE
COFRESI, JONATHAN                        ADDRESS ON FILE
COFRESSI PABON, HERBERTO                 ADDRESS ON FILE
COGAR , INC.                             CALLE DOMINGO DE ANDINO HD‐19 LEVITTOWN                                                                             TOA BAJA             PR      00949‐3621
COGAR INC                                HD 19 CALLE DOMINGO DE ANDINO                                                                                       LEVITTOWN TOA BAJA   PR      00949‐3621
COGHEN TORRES, WALTER                    ADDRESS ON FILE
COGLES GOMEZ, CHRISTIAN J                ADDRESS ON FILE
COGLES GOMEZ, JONATHAN C                 ADDRESS ON FILE
COGLES TORRES, TAMIRIS                   ADDRESS ON FILE
COGNITIVE WELLNESS CLINIC                PO BOX 1307                                                                                                         LAJAS                PR      00667
COGNITIVE WELLNESS CLINIC PSC            346 AVE HOSTOS MEDICAL EMPORIUM II     SUITE A‐31                                                                   MAYAGUEZ             PR      00680
COGNOSANTE CONSULTING, LLC               3157 E. ELWOOD STREET                                                                                               PHOENIX              AZ      85034
COGNOSANTE, LLC                          8200 GREENSBORO DRIVE                  12TH FLOOR                                                                   MCLEAN               VA      22102
COHAN MD, HAL                            ADDRESS ON FILE
COHEN DE JESUS, MARITZA                  ADDRESS ON FILE
COHEN DE JESUS, NYDIA                    ADDRESS ON FILE
COHEN JUSINO, CRISTIAN X                 ADDRESS ON FILE
COHEN JUSINO, KATHERINE                  ADDRESS ON FILE
COHEN, ARIEL                             ADDRESS ON FILE
COHEN, BARUJ                             ADDRESS ON FILE
COHESION HEALTH SERVICES PSC             URB CAMINO DEL SOL II                  85 AVE LUNA                                                                  MANATI               PR      00674
Coimbre Arroyo, Victor                   ADDRESS ON FILE
COIMBRE CARTAGENA MD, EDWIN              ADDRESS ON FILE
COIMBRE DIAZ, EMANUELLE                  ADDRESS ON FILE
COIMBRE MARTINEZ, MILDRED                ADDRESS ON FILE
COIMBRE, DIANA A                         ADDRESS ON FILE
COIMBRE, ROLANDO                         ADDRESS ON FILE
COIMRE DIAZ, EMANUELLE                   ADDRESS ON FILE
COIRA BARDEGUEZ, HECTOR                  ADDRESS ON FILE
COIRA BURGOS, MICHELLE E.                ADDRESS ON FILE
COIRA COIRA, VICTOR                      ADDRESS ON FILE
COIRA GONZALEZ MD, ROBERTO               ADDRESS ON FILE
COIRA GONZALEZ, ARIANNA                  ADDRESS ON FILE
COIRA LIRANZO, MAIRA                     ADDRESS ON FILE
COIRA REPOLLET, MARYLIN                  ADDRESS ON FILE
COJIMAR LLC H/N/C SUBWAY                 P O BOX 16665                                                                                                       SAN JUAN             PR      00908‐6665
Coker Denis, Patsy                       ADDRESS ON FILE
COL . DE TEC. DE REFRIG. Y AIRES ACONDIC 417 AVE. ANDALUCIA                     PUERTO NUEVO                                                                 SAN JUAN             PR      00920‐0000
COL APREND DES EDUC INTEGRADO CORP       PO BOX 578                                                                                                          MOCA                 PR      00676
COL D APRENDIZAJE Y DESARROLLO INTEGRADO EDIF PLAZA SOL                         CARR 111 KM 7.1 BO. VOLADORAS                                                MOCA                 PR      00676
COL D APRENDIZAJE Y DESARROLLO INTEGRADO PO BOX 578                                                                                                          MOCA                 PR      00676
COL DE ENFERMERIA PRACTICA LICENCIADA PR PO BOX 14097 BO OBRERO STA                                                                                          SAN JUAN             PR      00916
COL NTA SENORA DE LA PROVIDENCIA         PO BOX 11610                                                                                                        SAN JUAN             PR      00922
COL NTRA SRA DE LOURDES CLASE GRADUANDA URB VENUS GARDEN                        A W 9 CALLE PIEDRAS NEGRAS                                                   SAN JUAN             PR      00926
COL PRE ESC ELEMENTAL EL MADRIGAL        LA RAMBLA TOWER BUILDING               606 TITO CASTRO AVE SUITE 401                                                PONCE                PR      00716‐0218
                                                                                                                              606 TITO CASTRO
COL PRE ESC Y ELEMENTAL EL MADRIGAL INC   COL PRE ESC Y ELEMENTAL EL MADRIGAL INC   LA RAMBLA TOWER BUILDING                  AVENUE, SUITE 401              PONCE                PR      00716‐0218
COL PRE ESC Y ELEMENTAL EL MADRIGAL INC   URB EL MADRIGAL                           B 4 CALLE 1                                                              PONCE                PR      00730
COL PROFESIONALES DE LA ENFERMERIA        DEPTO DE SALUD                            PO BOX 363647                                                            SAN JUAN             PR      00936
COL RUBI CENTRO EDUC INTEGRAL             HC 05 BOX 4687                                                                                                     LAS PIEDRAS          PR      00771
COL. CARISMATICO PASITO A PASO            PO BOX 1086                                                                                                        QUEBRADILLAS         PR      00678
COL. DE INGERNIEROS Y AGRIMENTSORES PR    PO BOX 363845                                                                                                      SAN JUAN             PR      00936‐3845
COLACIOPPO SAAVEDRA MD, RICARDO           ADDRESS ON FILE
COLAUTTI PEREZ, EDUARDO                   ADDRESS ON FILE
COL‐BER INC                               PO BOX 358                                                                                                         BARRANQUITAS         PR      00794‐0358




                                                                                                               Page 1568 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1569 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                       Address1                            Address2                                   Address3   Address4   City             State   PostalCode   Country
COLBERG ARROYO MD, PEDRO N          ADDRESS ON FILE
COLBERG BIRRIEL, JOAHANN            ADDRESS ON FILE
COLBERG BONILLA, JUAN M             ADDRESS ON FILE
COLBERG CAMACHO, DALIZA             ADDRESS ON FILE
COLBERG DAVILA, GLADYS M            ADDRESS ON FILE
COLBERG FLORES, SANTA M             ADDRESS ON FILE
COLBERG FUERTES, ISABEL             ADDRESS ON FILE
COLBERG GARCIA, CARMEN E.           ADDRESS ON FILE
COLBERG GONZALEZ, ABDIEL            ADDRESS ON FILE
COLBERG GONZALEZ, WALLACE A.        ADDRESS ON FILE
COLBERG GUERRA, MARIA C.            ADDRESS ON FILE
COLBERG IRIZARRY, MICHELLE          ADDRESS ON FILE
COLBERG LOPEZ,CLORINDA              ADDRESS ON FILE
COLBERG LUGO MD, GUSTAVO            ADDRESS ON FILE
COLBERG LUGO MD, JANSEN             ADDRESS ON FILE
COLBERG PEREZ, JORGE H.             ADDRESS ON FILE
COLBERG PEREZ, NANCY                ADDRESS ON FILE
COLBERG PEREZ, NANCY                ADDRESS ON FILE
COLBERG PEREZ, SANTOS               ADDRESS ON FILE
COLBERG RIVERA, OCTAVIO             ADDRESS ON FILE
COLBERG RODRIGUEZ, INGRID           ADDRESS ON FILE
COLBERG SANTANA, AUREA E            ADDRESS ON FILE
COLBERG TORO, JORGE                 ADDRESS ON FILE
COLBERG TORO, SEVERO                ADDRESS ON FILE
COLBERG TORO, YANIRA                ADDRESS ON FILE
COLBERG TRIGO, ANDRES J             ADDRESS ON FILE
COLBERG TRIGO, EDUARDO M.           ADDRESS ON FILE
COLBERG VARGAS, IRVIC               ADDRESS ON FILE
COLBERG VARGAS, IRVING              ADDRESS ON FILE
COLBERG, CLAUDIA                    ADDRESS ON FILE
COLE CASTILLO, CHARIANNE            ADDRESS ON FILE
COLE CHAVEZ, DAVID                  ADDRESS ON FILE
COLE CHAVEZ, DAVID                  ADDRESS ON FILE
COLE CORDERO, CHAD                  ADDRESS ON FILE
COLE GONZALEZ, CHRISTIAN E          ADDRESS ON FILE
COLE MD, GEORGE                     ADDRESS ON FILE
COLE NIEVES, JORGE                  ADDRESS ON FILE
COLE PALMER                         625 E BUNKER CT                                                                                      VERNON HILLS     IL      60061
COLE PARDO, GEORGE D                ADDRESS ON FILE
COLE PARMER                         625 E BUNKER COURT                                                                                   VERNON HILLS     IL      60061
COLE SANCHEZ, ROBERT H.             ADDRESS ON FILE
COLE SIMON, HENRY                   ADDRESS ON FILE
COLE, CHRISTINA                     ADDRESS ON FILE
COLE, SCOTT                         ADDRESS ON FILE
COLECTIVO 84 CORP                   B5 CALLE TABONUCO STE 216 PMB 261                                                                    GUAYNABO         PR      00968‐3022
COLECTIVO DE PERIODISTAS P T        URB ROOSEVET                        479 AVE CESAR GONZALEZ                                           SAN JUAN         PR      00979
COLEGIO ADIANEZ INC                 PO BOX 2210                                                                                          GUAYNABO         PR      00970‐2210
COLEGIO BAUTISTA DE CAGUAS          PO BOX 6565                                                                                          CAGUAS           PR      00726
COLEGIO BAUTISTA DE CAROLINA        PO BOX 76                                                                                            CAROLINA         PR      00986
COLEGIO BUENAS NUEVAS               PO BOX 389                                                                                           MANATI           PR      00674
COLEGIO CAGUAX INC                  URB CAGUAX                          E 23 AVE LUIS MUNOZ MARIN                                        CAGUAS           PR      00725
COLEGIO CALIOPE                     PMB 336                             35JC BORBON, SUITE 67                                            GUAYNABO         PR      00969
COLEGIO CARMEN SOL INC              BOX 2314                                                                                             TOA BAJA         PR      00951‐2314
COLEGIO CATOLICO NOTRE DAME         APARTADO 937                                                                                         CAGUAS           PR      00726‐0937
COLEGIO CATOLICO NOTRE DAME         PO BOX 541                                                                                           CAGUAS           PR      00726
COLEGIO CATOLICO NOTRE DAME         PO BOX 967                                                                                           CAGUAS           PR      00726
COLEGIO CATOLICO NOTRE DAME CORP.   APARTADO 541                                                                                         CAGUAS           PR      00726‐0541
COLEGIO CATOLICO NOTREDAME CORP     PO BOX 937                                                                                           CAGUAS           PR      00726
COLEGIO CORAZON DE MARIA            PMB 266                             P O BOX 7891                                                     GUAYNABO         PR      00970‐7891
COLEGIO CUPEY MARIE MONTESORI       CROWN HILLS                         178 AVE WINSTON CHURCHILL                                        SAN JUAN         PR      00926




                                                                                                    Page 1569 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1570 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                             Address1                                   Address2                               Address3            Address4   City              State   PostalCode   Country
COLEGIO CUPEYVILLE                        DEPTO DE EDUCACION                         P O BOX 190759                                                        SAN JUAN          PR      00919
COLEGIO CUPEYVILLE                        PO BOX 20483                                                                                                     SAN JUAN          PR      00928‐0483
COLEGIO DE ABOGADOS DE P.R.               PO BOX 9021900                                                                                                   SAN JUAN          PR      00902‐1900
COLEGIO DE ABOGADOS DE PR                 ADDRESS ON FILE
COLEGIO DE ACTORES DE PUERTO RICO         P O BOX 190593                                                                                                   SAN JUAN          PR      00919‐0593
COLEGIO DE ADMINISTRADORES DE             SERVS. DE SALUD DE PR                      PO BOX 364846                                                         SAN JUAN          PR      00936‐4846
COLEGIO DE CINEMATOGRAFIA ARTES Y TV      PO BOX 10774                                                                                                     SAN JUAN          PR      00922‐0774
COLEGIO DE CIRUJANOS DENTISTAS DE PR      AVE DOMENECH # 200                                                                                               SAN JUAN          PR      00918
COLEGIO DE CONTADORES PUBLICOS            EDIF CAPITAL CENTER 1 239 AVE ARTERIAL HOSTOS STE                                                                SAN JUAN          PR      00918‐1477
COLEGIO DE DELINEANTES DE P R             P O BOX 361519                                                                                                   SAN JUAN          PR      00936‐1519
COLEGIO DE EDUC ESPECIAL Y REH INTEGRAL   PO BOX 70250                               SUITE 179                                                             SAN JUAN          PR      00936
COLEGIO DE EDUC ESPECIAL Y REH INTEGRAL   URB EL CEREZAL                             1628 CALLE GUADIANA                                                   SAN JUAN          PR      00926
COLEGIO DE INGENIEROS Y AGRIMENSORES      PO BOX 363845                                                                                                    SAN JUAN          PR      00936‐3845
COLEGIO DE INTEGRACION EDUCATIVA INC      PO BOX 296                                                                                                       CAGUAS            PR      00725
COLEGIO DE LA MILAGROSA                   8 NORTE CALLE DR RAMON E BETANCES                                                                                MAYAGUEZ          PR      00680
COLEGIO DE LA VEGA                        URB. SANTA ANA                             CALLE 2 ESQUINA 3                                                     VEGA ALTA         PR      00692
COLEGIO DE LOS PROFESIONALES CONSEJERIA ENBOX 194329                                                                                                       HATO REY          PR      00919‐4329
COLEGIO DE NOTARIOS DE PUERTO RICO        COLEGIO DE NOTARIOS DE PUERTO RICO         PO BOX 363613                                                         SAN JUAN          PR      00936‐3613
COLEGIO DE NUTRICIONISTAS Y DIETISTAS PR  PO BOX 362471                                                                                                    SAN JUAN          PR      00936‐2471
COLEGIO DE PROFESIONALES DE LA ENFERMERIALUIS MANUEL RODRIGUEZ LOPEZ                 PO BOX 70250                           SUITE 279                      SAN JUAN          PR      00936
COLEGIO DE PROFESIONALES DE TERAPIA       OCUPACIONAL DE PUERTO RICO                 P O BOX 361558                                                        SAN JUAN          PR      00936‐1558
COLEGIO DE TEC Y MECANICOS AUTOMOTRIZ PR P O BOX 8148                                                                                                      BAYAMON           PR      00960
COLEGIO DE TRABAJADORES SOCIALES          BO COCO NUEVO                              170 BO COCO NUEVO                                                     SALINAS           PR      00751
COLEGIO DE TRABAJADORES SOCIALES          PO BOX 30382                                                                                                     SAN JUAN          PR      00929
COLEGIO DE TRABAJADORES SOCIALES DE P R   PO BOX 30382                                                                                                     SAN JUAN          PR      00929
COLEGIO DEL CARMEN                        PO BOX 34118                                                                                                     PONCE             PR      00734‐4118
COLEGIO DEL CARMEN                        PO BOX 7760                                                                                                      PONCE             PR      00732‐7760
COLEGIO DISCIPULO DE CRISTO HATO TEJAS    37 CALLE PAJAROS                                                                                                 BAYAMON           PR      00959
COLEGIO DR. ROQUE DIAZ TIZOL              PO BOX 427                                                                                                       YABUCOA           PR      00767
COLEGIO DRA. WILMA CHAVEZ                 BOX 1688                                                                                                         TRUJILLO ALTO     PR      00976
COLEGIO EDUCATIVO TECNOLOGICO INDUSTRIA PO BOX 1800                                                                                                        ARECIBO           PR      00613‐1800
COLEGIO EVANGELICO DEL NAZARENO           PO BOX 69001                               SUITE 199                                                             HATILLO           PR      00659
COLEGIO EVANGELICO FUENTE DE SABIDURIA 110 CALLE LUIS M RIVERA                       BOX 570                                                               SANTA ISABEL      PR      00757
COLEGIO EVANGELICO FUENTE DE SABIDURIA PO BOX 570                                                                                                          SANTA ISABEL      PR      00757
COLEGIO EVANGELICO FUENTE SABIDURIA INC 110 CALLE LUIS M RIVERA                      BOX 570                                                               SANTA ISABEL      PR      00757
COLEGIO HECTOR URDANETA/INTEGRATED        SOLAR OPERATIONS                           PO BOX 427                                                            CEIBA             PR      00735
COLEGIO JANDYGIL INC.                     CALLE FEDERICO GARCIA #211                                                                                       FAJARDO           PR      00738
COLEGIO JARDIN DE LA MERCED               URB. MIRAFLORES CALLE 28 BLQ. 14 #25‐28                                                                          BAYAMON           PR      00957
COLEGIO JOHN F KENNEDY                    PMB 236 PO BOX 80000                                                                                             ISABELA           PR      00662
COLEGIO LA LUZ                            HC‐01 BOX 5092                                                                                                   JUNCOS            PR      00777
COLEGIO LA MONSERRATE INC.                PO BOX 1314                                                                                                      HORMIGUEROS       PR      00660
COLEGIO LA PIEDAD                         PO BOX 6277                                                                                                      SAN JUAN          PR      00914‐6277
COLEGIO LA SAGRADA FAMILIA                URB LOMAS VERDES AVE NOGAL ESQ RUDA                                                                              BAYAMON           PR      00956
COLEGIO LOURDES                           CALLE MAYAGUEZ 87                                                                                                SAN JUAN          PR      00919‐0847
                                                                                                                            3RA WXT URB VILLA
COLEGIO M AUXILIADORA                     AVE SANCHEZ CASTANO                       BLOQ 122‐42A                            CAROLINA                       CAROLINA          PR      00987
COLEGIO MARIA AUXILIADORA                 2273 AVE EDUARDO CONDE                                                                                           SAN JUAN          PR      00915
COLEGIO MARIA AUXILIADORA‐CAROLINA        P O BOX 7770                                                                                                     CAROLINA          PR      00986
COLEGIO MARISTA DE GUAYNABO               ALTURAS DE TORRIMAR                       6 CALLE MARCELINO CHAMPAGNAT                                           GUAYNABO          PR      00969‐3251
COLEGIO MAYOR DE TECNOLOGIA INC           PO BOX 1490                                                                                                      ARROYO            PR      00714
COLEGIO MEDICOS OCUPACIONALES PR CORP     PMB 459 P O BOX 4960                                                                                             CAGUAS            PR      00726‐4960
COLEGIO MERCEDARIO SAN JUDAS TADEO        APARTADO 7046                                                                                                    PONCE             PR      00732‐7046
COLEGIO MERCEDARIO SAN JUDAS TADEO        P O BOX 7046                                                                                                     PONCE             PR      00732‐7046
COLEGIO MI CUIDO Y EDUCACION              BOX 384                                                                                                          LAS PIEDRAS       PR      00071
COLEGIO MI CUIDO Y EDUCACION INC          PO BOX 384                                                                                                       LAS PIEDRAS       PR      00771
COLEGIO MI REINO INFANTIL                 URB VILLA ANDALUCIA                       L 4 AVE FRONTERA                                                       SAN JUAN          PR      00926
COLEGIO NEW GENERATION SCHOOL             CARR 846 KM 0.3                                                                                                  TRUJILLO ALTO     PR      00976
COLEGIO NOTARIO DE PUERTO RICO            P O BOX 363613                                                                                                   SAN JUAN          PR      00936‐3613
COLEGIO NOTRE DAME                        P O BOX 937                                                                                                      CAGUAS            PR      00726
COLEGIO NTRA SENORA DEL CARMEN            RR 2 BUZON 15                                                                                                    SAN JUAN          PR      00928 9701




                                                                                                             Page 1570 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1571 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                 Address2                                  Address3   Address4   City            State   PostalCode    Country
COLEGIO NTRA SRA DEL ROSARIO             PO BOX 1457                                                                                              VEGA BAJA       PR      00694
COLEGIO NUERTRA SENORA DE GUADALUPE      P O BOX 364125                                                                                           SAN JUAN        PR      00920
COLEGIO NUESTA SRA DEL ROSARIO           CALLE MUNOZ RIVERA BOX 1334                                                                              CIALES          PR      00638
COLEGIO NUESTRA SENORA DE ALTAGRACIA     PO BOX 29493 65TH INF STA                                                                                SAN JUAN        PR      00929‐9483
COLEGIO NUESTRA SENORA DE BELEN          CALLE JACINTO BAEZ GALIB FINAL           AVE SAN PATRICIO                                                GUAYNABO        PR      00922
COLEGIO NUESTRA SENORA DE BELEN          P O BOX 10845                                                                                            SAN JUAN        PR      00922
COLEGIO NUESTRA SENORA DE LA CARIDAD     PO BOX 11164                                                                                             SAN JUAN        PR      00922‐1164
COLEGIO NUESTRA SENORA DE LA MERCED      374 CALLE SARGENTO MEDINA                                                                                SAN JUAN        PR      00918
COLEGIO NUESTRA SENORA DE LA MERCED      EXT MORELL CAMPOS                        176 CALLE LUCIA VAZQUEZ                                         CAYEY           PR      00736
COLEGIO NUESTRA SENORA DE LA MERCED      P O BOX 36‐4048                                                                                          SAN JUAN        PR      00936‐4048
COLEGIO NUESTRA SENORA DE LA PROVIDENCIA P O BOX 11610                                                                                            SAN JUAN        PR      00922
COLEGIO NUESTRA SENORA DE LOURDES        789 URB LOS MAESTROS                                                                                     SAN JUAN        PR      00923‐2400
COLEGIO NUESTRA SENORA DE LOURDES        P O BOX 29193                                                                                            SAN JUAN        PR      00929‐0193
COLEGIO NUESTRA SENORA DE LOURDES        URB CONTRY CLUB                          1050 CALLE DEMETRIO O'DALY                                      SAN JUAN        PR      00924
COLEGIO NUESTRA SENORA DEL CARMEN        BOX 845                                                                                                  RIO GRANDE      PR      00745
COLEGIO NUESTRA SENORA DEL CARMEN        P O BOX 1033                                                                                             VILLALBA        PR      00766
COLEGIO NUESTRA SENORA DEL CARMEN        PO BOX 1389                                                                                              RIO GRANDE      PR      00745
COLEGIO NUESTRA SENORA DEL CARMEN        RR 2 BOX 15                                                                                              SAN JUAN        PR      00926
COLEGIO NUESTRA SENORA DEL PILAR         P O BOX 733                                                                                              GURABO          PR      00778
COLEGIO OTOQUI                           PO BOX 465                                                                                               BAYAMON         PR      00960
COLEGIO PADRE BERRIOS CORP               BOX 7717                                 BO OBRERO                                                       SANTURCE        PR      00916
COLEGIO PADRE BERRIOS CORP               PO BOX 7717                                                                                              SAN JUAN        PR      00916
COLEGIO PONCENO                          1900 CARRETERA 14                                                                                        COTO LAUREL     PR      00780‐2147
COLEGIO PROF CONSEJERIA REHABILITACION   PO BOX 194329                                                                                            SAN JUAN        PR      00919‐4329
COLEGIO PUERTORRIQUENO DE NINAS          GOLDEN GATE                              208 CALLE TURQUESA                                              GUAYNABO        PR      00968
COLEGIO PUERTORRIQUENO MARINEL           CALLE JOSE M SCWARTHKOFF                 HG 64 SEPTIMA SECCION LEVITTOWN                                 TOA BAJA        PR      00949
COLEGIO PUERTORRIQUENO MARINEL           URB LEVITTOWN 7MA SECCION HG 64 CALLE JOSE M SWARTHKOFF                                                  TOA BAJA        PR      00949
COLEGIO REGIONAL BAYAMON
COLEGIO ROSA BELL                        PO BOX 1789                              42 CALLE OVIDEO                                                 GUAYNABO        PR      00970‐1789
COLEGIO ROSA BELL                        TORRINAR                                 42 CALLE OVIDEO                                                 GUAYNABO        PR      00966
COLEGIO ROSA BELL                        URB TORRIMAR                             CALLE OVIEDO #42                                                GUAYNABO        PR      00966
COLEGIO RUBI CENTRO EDUCATIVO            HC 5 BOX 4687                                                                                            LAS PIEDRAS     PR      00771
COLEGIO SAINT JOHNS SCHOOL               1454 ASHFORD AVE                                                                                         SAN JUAN        PR      000907‐1560
COLEGIO SAN AGUSTIN                      255 AVENIDA DE LA CONSTITUCION                                                                           SAN JUAN        PR      00901
COLEGIO SAN AGUSTIN                      BOX 4263                                                                                                 BAYAMON         PR      00958
COLEGIO SAN AGUSTIN                      P O BOX 9024078                                                                                          SAN JUAN        PR      00902
COLEGIO SAN AGUSTIN‐24501                APARTADO 4263                                                                                            BAYAMON         PR      00958
COLEGIO SAN FRANCISCO DE ASIS            CITY VIEW PLAZA II                       48 CARR 165 SUITE 2000 WS 2047                                  GUAYNABO        PR      00968‐8000
COLEGIO SAN GABRIEL                      AREA DEL TESORO                          CONTADURIA GENERAL                                              SAN JUAN        PR      00902
COLEGIO SAN GABRIEL                      PO BOX 360347                                                                                            SAN JUAN        PR      00936
COLEGIO SAN GABRIEL PARA NINOS SORDOS    PO BOX 360347                                                                                            SAN JUAN        PR      00936
COLEGIO SAN IGNACIO                      URB SANTA MARIA                          1940 CALLE SAUCO                                                SAN JUAN        PR      00927
COLEGIO SAN IGNACIO DE LOYOLA            URB SANTA MARIA                          1940 CALLE SAUCO                                                SAN JUAN        PR      00927
COLEGIO SAN JOSE DE CAMUY                P O BOX 485                                                                                              CAMUY           PR      00627
COLEGIO SAN JOSE DE CAMUY                PO BOX 435                                                                                               CAMUY           PR      00627
COLEGIO SAN JOSE DE VILLA CAPARRA        VILLA CAPARRA                            215 CARR 2                                                      GUAYNABO        PR      00966
COLEGIO SAN JOSE ELEMENTAL               PO BOX 2005                                                                                              CAGUAS          PR      00726‐2005
COLEGIO SAN JUAN BAUTISTA                P O BOX 2114                                                                                             OROCOVIS        PR      00720
COLEGIO SAN JUAN BAUTISTA                PO BOX 1877                                                                                              OROCOVIS        PR      00720
COLEGIO SAN JUAN BOSCO                   PO BOX 14367                                                                                             SAN JUAN        PR      00916
COLEGIO SAN PEDRO MARTIR                 URB COLIMAR                              CALLE ABIERRE 1                                                 GUAYNABO        PR      00969
COLEGIO SAN PEDRO MARTIR DE VERONA       P.O. BOX 2560                                                                                            GUAYNABO        PR      00970‐2560
COLEGIO SUENO INFANTIL                   PUERTO NUEVO                             1208 CALLE CADIZ                                                SAN JUAN        PR      00920
COLEGIO TECNICO DE ELECTRICIDAD GALLOZA BO LAGUNA                                 HC 03 BOX 32562                                                 AGUADA          PR      00602
COLEGIO TITI LYDIA                       PO BOX 1312                                                                                              CAYEY           PR      00737
COLEGIO UNIV DE BAYAMON                  PARQUE INDUSTRIAL MINILLAS               170 CARR 174                                                    BAYAMON         PR      00959
COLEGIO UNIVER. DE JUSTICIA CRIMINAL     PO BOX 1078                                                                                              GURABO          PR      00778‐1078
COLEGIO UNIVERSITARIO DE ARECIBO         P O BOX 4010                                                                                             ARECIBO         PR      00614‐4010
COLEGIO UNIVERSITARIO DE SAN JUAN        180 CALLE JOSE OLIVER                    URB INDUSTRIAL TRES MONJIT                                      SAN JUAN        PR      00918
COLEGIO UNIVERSITARIO DE SAN JUAN        URB INDUSTRIAL TRES MONJITAS             180 AVE JOSE OLIVER                                             SAN JUAN        PR      00918




                                                                                                             Page 1571 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1572 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                       Address2                    Address3   Address4   City           State   PostalCode   Country
COLEGIO UNIVERSITARIO DEL ESTE            P.O. BOX 2010                                                                    CAROLINA       PR      00984‐2010
COLEGIO UNUV DE JUSTICIA CRIMINAL DE PR   HC 2 BOX 1200                                                                    GURABO         PR      00778
COLEGIO VOCACIONAL PARA ADULTO            79 CALLE COMERIO                                                                 BAYAMON        PR      00959‐0000
COLEMAN‐DAVIS TIO, SALVADOR               ADDRESS ON FILE
COLEN ROGER, ELAN M.                      ADDRESS ON FILE
COLEN, RIUKA                              ADDRESS ON FILE
COLG UNIV DE JUST CRIMINAL / LUZ E CRUZ   HC 02 BOX 12000                                                                  GURABO         PR      00778‐9601
COLGERG‐COMAS GONZALEZ, JOSE              ADDRESS ON FILE
COLICEBA VILLALBA INC                     26 BDA BORINQUEN                                                                 VILLALBA       PR      00766
COLIN BEDOLLA, JOSE                       ADDRESS ON FILE
COLINA PEREZ, JORGE I                     ADDRESS ON FILE
COLISEO DE PUERTO RICO                    500 CALLE ARTERIAL B                                                             HATO REY       PR      00918
COLISEUM PSYCHIATRIC CENTER               925 NORTH POINT PKWY STE 350                                                     ALPHARETTA     GA      30005‐5214
COLL ACEVEDO, ELSA                        ADDRESS ON FILE
COLL BALLESTER, MARIA C                   ADDRESS ON FILE
COLL BALLESTER, RITA                      ADDRESS ON FILE
COLL BARLETTA, ADA M.                     ADDRESS ON FILE
COLL BARLETTA, DIANA J.                   ADDRESS ON FILE
COLL CARTAGENA, AILEEN                    ADDRESS ON FILE
COLL COLON, LOANIS                        ADDRESS ON FILE
COLL CRUZ, MARIA V                        ADDRESS ON FILE
COLL CRUZ, MARIA VICTORIA                 ADDRESS ON FILE
COLL DEL VALLE, MAYRA E                   ADDRESS ON FILE
Coll Escudero, Carlos D.                  ADDRESS ON FILE
COLL GARCIA, LUZ                          ADDRESS ON FILE
COLL GARCIA, MARIA I                      ADDRESS ON FILE
COLL GARCIA, MARIA I.                     ADDRESS ON FILE
COLL GUERRERO, ALEJANDRO                  ADDRESS ON FILE
COLL INFANTE, ABELARDO                    ADDRESS ON FILE
COLL JIMENEZ, JESUS                       ADDRESS ON FILE
COLL LEMES, LUIS                          ADDRESS ON FILE
Coll Martell, Jannette M                  ADDRESS ON FILE
COLL MARTI, GRETCHEN                      ADDRESS ON FILE
COLL MELENDEZ, JOSE                       ADDRESS ON FILE
COLL MOLINA, VIVIAN                       ADDRESS ON FILE
COLL PEREZ, JULIA M                       ADDRESS ON FILE
COLL PEREZ, LOURDES Z                     ADDRESS ON FILE
COLL PEREZ, SONIA I                       ADDRESS ON FILE
COLL RIVERA, LUIS F.                      ADDRESS ON FILE
COLL RODRIGUEZ, CELIA H                   ADDRESS ON FILE
COLL RODRIGUEZ, GRACE                     ADDRESS ON FILE
COLL SAN MIGUEL, DORALEE                  ADDRESS ON FILE
COLL TAVAREZ, DAISY                       ADDRESS ON FILE
COLL VARGAS, NELSON                       ADDRESS ON FILE
Coll Vargas, Nelson J                     ADDRESS ON FILE
COLL VELEZ, HEBER                         ADDRESS ON FILE
COLL VILLAFANE, MARITZA                   ADDRESS ON FILE
COLL VILLAFANE, WILLIAM                   ADDRESS ON FILE
COLLADO ACOSTA, JORGE L.                  ADDRESS ON FILE
COLLADO ALGARIN, MAGDALIZ                 ADDRESS ON FILE
COLLADO ALMODOVAR, DIANA                  ADDRESS ON FILE
COLLADO ALMODOVAR, ENID                   ADDRESS ON FILE
Collado Andujar, Edwin A                  ADDRESS ON FILE
COLLADO ANDUJAR, JULIO ALEJANDRO          ADDRESS ON FILE
COLLADO AVILES, BRENDA                    ADDRESS ON FILE
COLLADO AVILES, ROSA E                    ADDRESS ON FILE
COLLADO BAEZ, HILDA I                     ADDRESS ON FILE
COLLADO CALDERA, SILVIO E                 ADDRESS ON FILE
COLLADO CANCEL, ROSA                      ADDRESS ON FILE
COLLADO CINTRON, FELIX V.                 ADDRESS ON FILE




                                                                                      Page 1572 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1573 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLADO COLLADO, PEDRO B        ADDRESS ON FILE
COLLADO CRUZ, BARBARA K         ADDRESS ON FILE
COLLADO CRUZ, LUZ C             ADDRESS ON FILE
COLLADO FIGUEROA, GINA          ADDRESS ON FILE
COLLADO FLORES, WALDEMAR        ADDRESS ON FILE
COLLADO GONZALEZ, EDWIN         ADDRESS ON FILE
COLLADO GONZALEZ, ILEANA        ADDRESS ON FILE
COLLADO GONZALEZ, LUIS A.       ADDRESS ON FILE
COLLADO GONZALEZ, MARGERIE      ADDRESS ON FILE
COLLADO GONZALEZ, ROSA E        ADDRESS ON FILE
COLLADO GUZMAN, LUCIA           ADDRESS ON FILE
COLLADO HERNANDEZ, CELIMAR      ADDRESS ON FILE
COLLADO JUSTINIANO, SAMUEL      ADDRESS ON FILE
COLLADO LEON, PEDRO             ADDRESS ON FILE
COLLADO LEON, PEDRO             ADDRESS ON FILE
COLLADO LEON, PEDRO J.          ADDRESS ON FILE
COLLADO LONGOLIA,VILMA          ADDRESS ON FILE
COLLADO LOPEZ, FRANCISCA        ADDRESS ON FILE
COLLADO LOPEZ, LYDIA M          ADDRESS ON FILE
COLLADO LUGO, DIANETTE          ADDRESS ON FILE
COLLADO MALTES, VICTOR M        ADDRESS ON FILE
COLLADO MALTES, VICTOR M        ADDRESS ON FILE
COLLADO MARCIAL, JOSE           ADDRESS ON FILE
COLLADO MARTINEZ, AVELINO       ADDRESS ON FILE
COLLADO MARTINEZ, CARMEN N      ADDRESS ON FILE
COLLADO MARTINEZ, DIANA A       ADDRESS ON FILE
COLLADO MARTINEZ, MAGNA E       ADDRESS ON FILE
COLLADO MARTINEZ, MIRTA I       ADDRESS ON FILE
COLLADO MARTINEZ, RAMON         ADDRESS ON FILE
COLLADO MERCADO, ADINEXY        ADDRESS ON FILE
COLLADO MERCADO, MELISSA        ADDRESS ON FILE
COLLADO MONTALVO, ELIZABETH     ADDRESS ON FILE
Collado Montalvo, Elizabeth     ADDRESS ON FILE
COLLADO MORALES, ANGEL L        ADDRESS ON FILE
COLLADO MORALES, BETZAIDA       ADDRESS ON FILE
COLLADO MORALES, JOSE           ADDRESS ON FILE
COLLADO MORALES, MARIA E        ADDRESS ON FILE
COLLADO MORALES, ROBERTO        ADDRESS ON FILE
COLLADO NAZARIO, KERIAN         ADDRESS ON FILE
COLLADO NAZARIO, KERIAN         ADDRESS ON FILE
Collado Negron, Manuel De J     ADDRESS ON FILE
COLLADO NGUYEN, LUIS            ADDRESS ON FILE
Collado Nieves, Efrain          ADDRESS ON FILE
COLLADO NIEVES, EFRAIN          ADDRESS ON FILE
Collado Nieves, Mayra           ADDRESS ON FILE
COLLADO OLIVERAS, ANGEL A       ADDRESS ON FILE
COLLADO ORTA, GUSTAVO           ADDRESS ON FILE
COLLADO ORTIZ, CARLOS           ADDRESS ON FILE
COLLADO PACHECO MD, AURELIO M   ADDRESS ON FILE
COLLADO PAGAN, ZULMA I          ADDRESS ON FILE
COLLADO PEREZ, RAFAEL           ADDRESS ON FILE
COLLADO PEREZ, RUBEN            ADDRESS ON FILE
COLLADO QUINONES, MARINES       ADDRESS ON FILE
COLLADO RAMIREZ, MILDRED G      ADDRESS ON FILE
Collado Ramirez, Roberto        ADDRESS ON FILE
COLLADO RAMOS, MARISOL          ADDRESS ON FILE
COLLADO RIOS, ENRIQUE           ADDRESS ON FILE
COLLADO RIVERA, ARIANA          ADDRESS ON FILE
COLLADO RIVERA, CELIA M         ADDRESS ON FILE
COLLADO RIVERA, HAYDEE          ADDRESS ON FILE




                                                                            Page 1573 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1574 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                   Address2                        Address3   Address4   City           State   PostalCode   Country
Collado Rivera, Javier            ADDRESS ON FILE
COLLADO RIVERA, JUAN              ADDRESS ON FILE
COLLADO RIVERA, JUAN O            ADDRESS ON FILE
COLLADO RIVERA, KARINA            ADDRESS ON FILE
COLLADO RIVERA, MYRNA             ADDRESS ON FILE
COLLADO RIVERA, VERONICA          ADDRESS ON FILE
COLLADO RODRIGUEZ, ALBA R.        ADDRESS ON FILE
COLLADO RODRIGUEZ, JOSE           ADDRESS ON FILE
COLLADO RODRIGUEZ, LUBRIEL        ADDRESS ON FILE
COLLADO RODRIGUEZ, LUBRIEL        ADDRESS ON FILE
COLLADO RODRIGUEZ, SONIA          ADDRESS ON FILE
COLLADO RODRIGUEZ, YAHAIRA E      ADDRESS ON FILE
COLLADO ROMAN, ANGIE              ADDRESS ON FILE
COLLADO ROSAS MD, IRVING          ADDRESS ON FILE
COLLADO RUIZ, AMILCAR             ADDRESS ON FILE
COLLADO SALASAR, ILEANA           ADDRESS ON FILE
COLLADO SANABRIA, LESTER          ADDRESS ON FILE
COLLADO SANCHEZ, DAVID            ADDRESS ON FILE
COLLADO SANCHEZ,MARIAM            ADDRESS ON FILE
COLLADO SANTA, JESSICA            ADDRESS ON FILE
Collado Santiago, Rey M           ADDRESS ON FILE
COLLADO SANTIAGO, SANDRA          ADDRESS ON FILE
COLLADO SANTIAGO, SONIA           ADDRESS ON FILE
COLLADO SEGARRA, GISELDA          ADDRESS ON FILE
COLLADO SEGARRA, JOHN             ADDRESS ON FILE
COLLADO TORO, MICHEL              ADDRESS ON FILE
COLLADO TORRES, CARLOS            ADDRESS ON FILE
COLLADO TORRES, CRISTINA          ADDRESS ON FILE
COLLADO TORRES, GLISOBEL          ADDRESS ON FILE
COLLADO TORRES, MARTA             ADDRESS ON FILE
COLLADO TROCHE, JOSIAN            ADDRESS ON FILE
COLLADO VAZQUEZ, LEYINSKA         ADDRESS ON FILE
COLLADO VEGA, GRETCHENE M         ADDRESS ON FILE
COLLADO VEGA, MAYRA LIMARIS       ADDRESS ON FILE
COLLADO VELEZ, ALICE              ADDRESS ON FILE
Collado Velez, Alice N.           ADDRESS ON FILE
COLLADO VELEZ, ANGEL A            ADDRESS ON FILE
COLLADO YULFO, MARIA C            ADDRESS ON FILE
COLLADO ZAPATA, OLGA              ADDRESS ON FILE
COLLADO ZENO, NATALIA             ADDRESS ON FILE
COLLADO, HECTOR                   ADDRESS ON FILE
COLLANTE RODRIGUEZ, MARINO        ADDRESS ON FILE
COLLANTES RIVERA, AURORA M        ADDRESS ON FILE
COLLANZO LUGO, PEDRO              ADDRESS ON FILE
COLLAZO & COLLAZO                 51 CALLE DEGETAU                                                                 JUANA DIAZ     PR      00795
COLLAZO & SOUTHEN AIR CORP.       10 AVE HOSTOS              PLAYA PONCE                                           PONCE          PR      00734‐0000
COLLAZO & SOUTHEN AIR CORP.       Ave.Hostos10 Playa Ponce                                                         Ponce          PR      00734‐0000
COLLAZO ACEVEDO, RAMON            ADDRESS ON FILE
COLLAZO ACEVEDO, SONIA GISSELLE   ADDRESS ON FILE
COLLAZO ACOSTA, BETHZAIDA         ADDRESS ON FILE
COLLAZO ACOSTA, EFRAIN            ADDRESS ON FILE
COLLAZO ACOSTA, LUZ ENEIDA        ADDRESS ON FILE
COLLAZO ALAYON, ODALIS            ADDRESS ON FILE
COLLAZO ALAYON, ODALIS            ADDRESS ON FILE
COLLAZO ALGARIN, BRENDA E.        ADDRESS ON FILE
COLLAZO ALICEA, BRYAN             ADDRESS ON FILE
COLLAZO ALICEA, FELIX             ADDRESS ON FILE
COLLAZO ALICEA, FELIX             ADDRESS ON FILE
Collazo Alicea, Julio R           ADDRESS ON FILE
COLLAZO ALICEA, MARIA             ADDRESS ON FILE




                                                                              Page 1574 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1575 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO ALICEA, NOELIA           ADDRESS ON FILE
COLLAZO ALICEA, VILMARIE         ADDRESS ON FILE
COLLAZO ALVARADO, NADIA          ADDRESS ON FILE
COLLAZO ALVARADO, NADIA L        ADDRESS ON FILE
COLLAZO ALVARADO, YERALINE       ADDRESS ON FILE
COLLAZO ALVAREZ, JAVIER          ADDRESS ON FILE
COLLAZO ALVAREZ, TERE            ADDRESS ON FILE
COLLAZO AMARO, ANGEL L.          ADDRESS ON FILE
COLLAZO AMOROS, JULIO            ADDRESS ON FILE
COLLAZO ANDINO, CARLOS           ADDRESS ON FILE
COLLAZO ANDINO, GABRIELA         ADDRESS ON FILE
Collazo Andujar, Celis D         ADDRESS ON FILE
COLLAZO ANDUJAR, JOSELINE        ADDRESS ON FILE
COLLAZO ANGUEIRA, IVETTE N       ADDRESS ON FILE
COLLAZO ANZA, MAGALY             ADDRESS ON FILE
Collazo Aponte, Ileana Del C     ADDRESS ON FILE
COLLAZO APONTE, ILEANA DEL C.    ADDRESS ON FILE
COLLAZO APONTE, JOSE             ADDRESS ON FILE
Collazo Aponte, Jose L           ADDRESS ON FILE
COLLAZO APONTE, LENIS            ADDRESS ON FILE
COLLAZO ARCE, GLADYS             ADDRESS ON FILE
COLLAZO ARIAS, JACQUELINE        ADDRESS ON FILE
COLLAZO ARROYO, AIDA             ADDRESS ON FILE
COLLAZO ARROYO, JOSE L.          ADDRESS ON FILE
COLLAZO ARROYO, JOSE M.          ADDRESS ON FILE
COLLAZO ARROYO, JOSEAN           ADDRESS ON FILE
COLLAZO ARROYO, MARIA            ADDRESS ON FILE
COLLAZO ARROYO, MARIA DE LOS A   ADDRESS ON FILE
COLLAZO ARROYO, RAMBI            ADDRESS ON FILE
COLLAZO ARROYO, RAMBI            ADDRESS ON FILE
COLLAZO ARROYO, ROBERTO          ADDRESS ON FILE
COLLAZO ARROYO, WANDA I.         ADDRESS ON FILE
COLLAZO ATANASIO, MARLA R.       ADDRESS ON FILE
COLLAZO ATANASIO, VICTOR         ADDRESS ON FILE
COLLAZO AVILES, ARMALDO          ADDRESS ON FILE
COLLAZO AVILES, CARMEN           ADDRESS ON FILE
COLLAZO AVILES, LOURDES M        ADDRESS ON FILE
COLLAZO AVILES, MARIA            ADDRESS ON FILE
COLLAZO AVILES, RAQUEL           ADDRESS ON FILE
COLLAZO AYALA, CARMEN L          ADDRESS ON FILE
COLLAZO AYALA, HECTOR            ADDRESS ON FILE
COLLAZO AYALA, VIVIAN E          ADDRESS ON FILE
COLLAZO BACO, CARLOS C           ADDRESS ON FILE
COLLAZO BACO, EMMANUEL           ADDRESS ON FILE
COLLAZO BAEZ, BRUNILDA           ADDRESS ON FILE
COLLAZO BARBOSA, JULIO           ADDRESS ON FILE
COLLAZO BARRET, JOSE             ADDRESS ON FILE
COLLAZO BARRET, MARIA            ADDRESS ON FILE
COLLAZO BARRETO, MONSERRATE      ADDRESS ON FILE
COLLAZO BARTOLOMEI, MAYRA        ADDRESS ON FILE
COLLAZO BATTISTINI, LUIS         ADDRESS ON FILE
COLLAZO BENCON, MARIA M.         ADDRESS ON FILE
COLLAZO BENITEZ, MARIA E.        ADDRESS ON FILE
COLLAZO BENNAZAR, ANTONIO LUIS   ADDRESS ON FILE
COLLAZO BERMUDEZ, ANA O          ADDRESS ON FILE
Collazo Bermudez, Beatriz        ADDRESS ON FILE
COLLAZO BERMUDEZ, GRISEL         ADDRESS ON FILE
COLLAZO BERNARD, JOSE            ADDRESS ON FILE
COLLAZO BERRIOS, CARMEN L        ADDRESS ON FILE
COLLAZO BERRIOS, FATIMA          ADDRESS ON FILE




                                                                             Page 1575 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1576 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO BETANCOURT, DARLENE      ADDRESS ON FILE
COLLAZO BEVERAGGI, ENID          ADDRESS ON FILE
COLLAZO BIGLES MD, RAMON L       ADDRESS ON FILE
COLLAZO BIGLES, ROSEMAR          ADDRESS ON FILE
COLLAZO BONES, KATHERINE         ADDRESS ON FILE
COLLAZO BONILLA MD, JOSE A       ADDRESS ON FILE
COLLAZO BONILLA, BERLY           ADDRESS ON FILE
COLLAZO BONILLA, BERZY           ADDRESS ON FILE
COLLAZO BONILLA, LIZETTE         ADDRESS ON FILE
COLLAZO BONILLA, RAMON           ADDRESS ON FILE
COLLAZO BORIA, NORMA             ADDRESS ON FILE
COLLAZO BOSCH, JULIO C.          ADDRESS ON FILE
COLLAZO BURGOS, ERNESTINA        ADDRESS ON FILE
COLLAZO BURGOS, GABRIEL          ADDRESS ON FILE
COLLAZO BURGOS, MARGARITA        ADDRESS ON FILE
COLLAZO BURGOS, MARIA M.         ADDRESS ON FILE
COLLAZO BURGOS, MONICA           ADDRESS ON FILE
COLLAZO BURGOS, OLGA I           ADDRESS ON FILE
COLLAZO BURGOS, WILFREDO         ADDRESS ON FILE
COLLAZO BURGOS, WILMA            ADDRESS ON FILE
COLLAZO CABRERA, DAMARIS         ADDRESS ON FILE
COLLAZO CABRERA, NAVILA          ADDRESS ON FILE
COLLAZO CABRERA, NEIZAN          ADDRESS ON FILE
COLLAZO CABRERA, WALESKA         ADDRESS ON FILE
Collazo Caldero, Nivea E         ADDRESS ON FILE
COLLAZO CALDERON, EDNA           ADDRESS ON FILE
Collazo Calderon, Edna M         ADDRESS ON FILE
COLLAZO CAMACHO, LUZ D           ADDRESS ON FILE
COLLAZO CAMPOS, ANGEL            ADDRESS ON FILE
COLLAZO CAMPOS, GIOVANNI         ADDRESS ON FILE
COLLAZO CAMPOS, NANCY            ADDRESS ON FILE
COLLAZO CANCEL, MADELINE         ADDRESS ON FILE
COLLAZO CANCEL, MARCO A          ADDRESS ON FILE
COLLAZO CARABALLO, CARMEN O      ADDRESS ON FILE
COLLAZO CARABALLO, GLORIA        ADDRESS ON FILE
COLLAZO CARABALLO, ISMAEL        ADDRESS ON FILE
COLLAZO CARABALLO, MARIA DEL C   ADDRESS ON FILE
COLLAZO CARABALLO, NORMA I       ADDRESS ON FILE
COLLAZO CARDONA, FRANCISCO       ADDRESS ON FILE
COLLAZO CARDONA, RAMONITA        ADDRESS ON FILE
COLLAZO CARDONA, WIGBERTO        ADDRESS ON FILE
COLLAZO CARPENA, ANA I           ADDRESS ON FILE
COLLAZO CARRASQUILLO, SAMUEL     ADDRESS ON FILE
COLLAZO CARTAGENA, GLORIA        ADDRESS ON FILE
COLLAZO CARTAGENA, GLORIA        ADDRESS ON FILE
COLLAZO CARTAGENA, KEILA         ADDRESS ON FILE
COLLAZO CARTAGENA, LULIO         ADDRESS ON FILE
COLLAZO CARTAGENA, SALVADOR      ADDRESS ON FILE
COLLAZO CASIANO, MILTON D        ADDRESS ON FILE
Collazo Castaing, Juan           ADDRESS ON FILE
COLLAZO CASTILLO, HAROLD         ADDRESS ON FILE
COLLAZO CASTILLO, WANDA I        ADDRESS ON FILE
COLLAZO CASTRO, LUIS A           ADDRESS ON FILE
COLLAZO CASTRO, SHELCIY          ADDRESS ON FILE
COLLAZO CENTENO, ZULMARI         ADDRESS ON FILE
COLLAZO CEPEDA, MILAGROS         ADDRESS ON FILE
COLLAZO CHARNECO, LOURDES        ADDRESS ON FILE
COLLAZO CHARNECO, MARGARITA      ADDRESS ON FILE
COLLAZO CHARNECO, NORMA M.       ADDRESS ON FILE
COLLAZO CHEVEREZ, AWILDA L.      ADDRESS ON FILE




                                                                             Page 1576 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1577 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO CINTRO, PABLO P       ADDRESS ON FILE
COLLAZO CINTRON, NORMA        ADDRESS ON FILE
COLLAZO CLASS, CARMEN M       ADDRESS ON FILE
COLLAZO CLASS, JESUS          ADDRESS ON FILE
COLLAZO CLASS, JUAN A         ADDRESS ON FILE
COLLAZO CLAUDIO, EMMA J       ADDRESS ON FILE
COLLAZO CLAUDIO, VIRGINIA     ADDRESS ON FILE
COLLAZO COLLAZO, ARACELIS     ADDRESS ON FILE
COLLAZO COLLAZO, CAELI        ADDRESS ON FILE
COLLAZO COLLAZO, CARMEN M     ADDRESS ON FILE
COLLAZO COLLAZO, ENOHELIA     ADDRESS ON FILE
COLLAZO COLLAZO, FERNANDO     ADDRESS ON FILE
Collazo Collazo, Francisco    ADDRESS ON FILE
COLLAZO COLLAZO, HECTOR J.    ADDRESS ON FILE
COLLAZO COLLAZO, IRIS D       ADDRESS ON FILE
COLLAZO COLLAZO, JORGE        ADDRESS ON FILE
COLLAZO COLLAZO, MARIA E      ADDRESS ON FILE
COLLAZO COLLAZO, MARIANA      ADDRESS ON FILE
COLLAZO COLLAZO, MIGUEL A     ADDRESS ON FILE
COLLAZO COLLAZO, NORA H       ADDRESS ON FILE
COLLAZO COLLAZO, ROSA M       ADDRESS ON FILE
COLLAZO COLLAZO, SIXTO M      ADDRESS ON FILE
COLLAZO COLLAZO, VERONICA     ADDRESS ON FILE
COLLAZO COLLAZO, VESPASIANO   ADDRESS ON FILE
COLLAZO COLON, ARLENE         ADDRESS ON FILE
COLLAZO COLON, CARLOS J       ADDRESS ON FILE
COLLAZO COLON, CARMEN S       ADDRESS ON FILE
Collazo Colon, Edwin          ADDRESS ON FILE
COLLAZO COLON, GERMAN         ADDRESS ON FILE
COLLAZO COLON, ILSA           ADDRESS ON FILE
COLLAZO COLON, ILSA M         ADDRESS ON FILE
COLLAZO COLON, JANNISE        ADDRESS ON FILE
COLLAZO COLON, JESSICA        ADDRESS ON FILE
COLLAZO COLON, JOSE           ADDRESS ON FILE
Collazo Colon, Jose           ADDRESS ON FILE
COLLAZO COLON, JOSE           ADDRESS ON FILE
Collazo Colon, Jose A.        ADDRESS ON FILE
COLLAZO COLON, JOSELINE       ADDRESS ON FILE
COLLAZO COLON, LYNEIZA E      ADDRESS ON FILE
COLLAZO COLON, MABEL          ADDRESS ON FILE
COLLAZO COLON, MARIBEL        ADDRESS ON FILE
COLLAZO COLON, MAYRA          ADDRESS ON FILE
COLLAZO COLON, RAUL           ADDRESS ON FILE
COLLAZO COLON, SARA           ADDRESS ON FILE
COLLAZO COLON, SARA N         ADDRESS ON FILE
COLLAZO COLON, SIOMARI        ADDRESS ON FILE
COLLAZO COLON, SONIA IVETTE   ADDRESS ON FILE
Collazo Colon, Victor M       ADDRESS ON FILE
COLLAZO CONCEPCION, EDNA L.   ADDRESS ON FILE
COLLAZO CONCEPCION, KARLA J   ADDRESS ON FILE
COLLAZO CONCHA, FRANCISCO     ADDRESS ON FILE
COLLAZO CONCHA, MILAGROS C    ADDRESS ON FILE
COLLAZO CORDERO, ERNESTO      ADDRESS ON FILE
COLLAZO CORREA, JAVIER A.     ADDRESS ON FILE
COLLAZO CORTES, BARBARA E     ADDRESS ON FILE
COLLAZO CORTES, LOURDES       ADDRESS ON FILE
COLLAZO CORTES, PABLO         ADDRESS ON FILE
COLLAZO COSME, ELIZABETH      ADDRESS ON FILE
COLLAZO COTTO, MOISES         ADDRESS ON FILE
COLLAZO COTTO, RAFAEL         ADDRESS ON FILE




                                                                          Page 1577 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1578 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO CRESPO, JESSICA M     ADDRESS ON FILE
COLLAZO CRESPO, YASHIRA       ADDRESS ON FILE
COLLAZO CRESPO,PATRICIA       ADDRESS ON FILE
COLLAZO CRODOVA, JOSUE        ADDRESS ON FILE
COLLAZO CRUZ, AGUSTIN         ADDRESS ON FILE
COLLAZO CRUZ, CATHERINE       ADDRESS ON FILE
COLLAZO CRUZ, CATHERINE       ADDRESS ON FILE
COLLAZO CRUZ, DAVID           ADDRESS ON FILE
COLLAZO CRUZ, GIL             ADDRESS ON FILE
COLLAZO CRUZ, GLADYS          ADDRESS ON FILE
COLLAZO CRUZ, JOSE            ADDRESS ON FILE
COLLAZO CRUZ, JUAN L          ADDRESS ON FILE
COLLAZO CRUZ, JUANITA         ADDRESS ON FILE
COLLAZO CRUZ, LUIS D.         ADDRESS ON FILE
COLLAZO CRUZ, LUZ C           ADDRESS ON FILE
COLLAZO CRUZ, TOMAS I.        ADDRESS ON FILE
COLLAZO CRUZ, XAVIER          ADDRESS ON FILE
COLLAZO CUADRA, WALDEMAR      ADDRESS ON FILE
COLLAZO CUADRA, WILLIE        ADDRESS ON FILE
COLLAZO CUADRA, WILSON        ADDRESS ON FILE
COLLAZO CUADRADO, RAMONITA    ADDRESS ON FILE
COLLAZO CUADRADO, SONIA       ADDRESS ON FILE
COLLAZO CUEVAS, ABELARDO      ADDRESS ON FILE
COLLAZO CUEVAS, ENNIUS        ADDRESS ON FILE
COLLAZO CUEVAS, ISRAEL        ADDRESS ON FILE
COLLAZO CURET, MARIA L        ADDRESS ON FILE
COLLAZO CUSTODIO, JUAN        ADDRESS ON FILE
Collazo Custodios, Juan A     ADDRESS ON FILE
COLLAZO DAQUIN, DAISY         ADDRESS ON FILE
COLLAZO DAVILA, CARMEN E      ADDRESS ON FILE
COLLAZO DAVILA, EVELYN        ADDRESS ON FILE
COLLAZO DE JESUS, ALEX        ADDRESS ON FILE
COLLAZO DE JESUS, IVAN        ADDRESS ON FILE
COLLAZO DE JESUS, MARTINA     ADDRESS ON FILE
Collazo De Jesus, Rosalia     ADDRESS ON FILE
COLLAZO DE JESUS, SONIA       ADDRESS ON FILE
COLLAZO DE LA ROSA, RAMON A   ADDRESS ON FILE
COLLAZO DE LEON, ANTONIO      ADDRESS ON FILE
COLLAZO DE LEON, LISA A.      ADDRESS ON FILE
COLLAZO DE LEON, LUZ I        ADDRESS ON FILE
COLLAZO DE LEON, LUZ M        ADDRESS ON FILE
Collazo De Leon, Silma D      ADDRESS ON FILE
COLLAZO DE MARZAN, ANDREA     ADDRESS ON FILE
COLLAZO DE RIVERA, NEIDA H    ADDRESS ON FILE
COLLAZO DEBIEN, ARAGEC        ADDRESS ON FILE
COLLAZO DEL VALLE, GONZALO    ADDRESS ON FILE
COLLAZO DEL VALLE, RUBEN A    ADDRESS ON FILE
COLLAZO DELGADO, JORGE        ADDRESS ON FILE
COLLAZO DELGADO, JOSUE        ADDRESS ON FILE
COLLAZO DELGADO, MARIA C      ADDRESS ON FILE
COLLAZO DELGADO, MARILUZ      ADDRESS ON FILE
COLLAZO DIAZ, DIANA E.        ADDRESS ON FILE
COLLAZO DIAZ, DORA E          ADDRESS ON FILE
COLLAZO DIAZ, EDGARD          ADDRESS ON FILE
COLLAZO DIAZ, FRANCISCO       ADDRESS ON FILE
COLLAZO DIAZ, JOSE            ADDRESS ON FILE
COLLAZO DIAZ, LOURDES         ADDRESS ON FILE
Collazo Diaz, Milka Y.        ADDRESS ON FILE
COLLAZO DIAZ, OMAR            ADDRESS ON FILE
COLLAZO DIAZ, SANDRA E        ADDRESS ON FILE




                                                                          Page 1578 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1579 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                           Address1                  Address2                                 Address3   Address4   City         State   PostalCode   Country
COLLAZO DIVERSE, CHRISTIAN              ADDRESS ON FILE
COLLAZO DONATO, MARIA I                 ADDRESS ON FILE
COLLAZO DRAGONI, JEANNETTE              ADDRESS ON FILE
COLLAZO ECHEVARRIA, DAISY               ADDRESS ON FILE
COLLAZO ECHEVARRIA, LEMUEL              ADDRESS ON FILE
COLLAZO ELECTRICAL CONTRACTORS , INC.   P. O. BOX 568                                                                            GUAYNABO     PR      00970‐0568
COLLAZO ESCALERA, PAULA                 ADDRESS ON FILE
COLLAZO ESCALERA, PAULA                 ADDRESS ON FILE
COLLAZO ESPARA, MARIEGLORIE             ADDRESS ON FILE
COLLAZO ESPARRA, BRENDA E.              ADDRESS ON FILE
COLLAZO ESPARRA, FRANCISCO              ADDRESS ON FILE
COLLAZO ESPARRA, FRANCISCO              ADDRESS ON FILE
COLLAZO ESPINA, HECTOR E.               ADDRESS ON FILE
Collazo Estrada, Ada                    ADDRESS ON FILE
COLLAZO ESTRADA, ADA                    ADDRESS ON FILE
COLLAZO EYE CLINICS                     URB MUNOZ RIVERA          53 AVE ESMERALDA PMB 14                                        GUAYNABO     PR      00969‐4483
COLLAZO FALCON, CARLOS M.               ADDRESS ON FILE
COLLAZO FALCON, RAMON L                 ADDRESS ON FILE
COLLAZO FEBUS, MARIA E.                 ADDRESS ON FILE
COLLAZO FEBUS, NELLY                    ADDRESS ON FILE
COLLAZO FELICIANO, JULIO C              ADDRESS ON FILE
COLLAZO FELICIANO, NYDIA Y              ADDRESS ON FILE
COLLAZO FELICIANO, ZORALLA              ADDRESS ON FILE
COLLAZO FELIX, HIPOLITO                 ADDRESS ON FILE
COLLAZO FERNANDEZ, CARMEN               ADDRESS ON FILE
COLLAZO FERNANDEZ, HERMINIA             ADDRESS ON FILE
COLLAZO FERNANDEZ, JAVISH               POR DERECHO PROPIO        URV. VILLA AURORA                        CALLE 3    D‐19       CATANO       PR      00962
COLLAZO FERNANDEZ, JAVISH A.            ADDRESS ON FILE
COLLAZO FERNANDEZ, MARCELINO            ADDRESS ON FILE
COLLAZO FERNANDEZ, WILFREDO             ADDRESS ON FILE
Collazo Figueroa, Angel O               ADDRESS ON FILE
COLLAZO FIGUEROA, ENID                  ADDRESS ON FILE
COLLAZO FIGUEROA, HECTOR A              ADDRESS ON FILE
COLLAZO FIGUEROA, JOSE                  ADDRESS ON FILE
Collazo Figueroa, Jose L                ADDRESS ON FILE
COLLAZO FIGUEROA, JOSE R.               ADDRESS ON FILE
COLLAZO FIGUEROA, JUAN                  ADDRESS ON FILE
COLLAZO FIGUEROA, LUIS                  ADDRESS ON FILE
COLLAZO FIGUEROA, MARITZEL              ADDRESS ON FILE
COLLAZO FIGUEROA, MARTA                 ADDRESS ON FILE
COLLAZO FIGUEROA, RAMONA                ADDRESS ON FILE
COLLAZO FLORES, ANA                     ADDRESS ON FILE
COLLAZO FLORES, EVELYN                  ADDRESS ON FILE
COLLAZO FLORES, JOSE                    ADDRESS ON FILE
COLLAZO FLORES, LUIS E                  ADDRESS ON FILE
COLLAZO FLORES, MARIA DE LOS            ADDRESS ON FILE
COLLAZO FLORES, MIGUEL A                ADDRESS ON FILE
COLLAZO FLORES, VILMARYVELIZ            ADDRESS ON FILE
COLLAZO FRANCESCHINI, HIRAM             ADDRESS ON FILE
COLLAZO FRANCO, YAHAIRA                 ADDRESS ON FILE
COLLAZO FRASQUERI, VICTOR M             ADDRESS ON FILE
COLLAZO FUENTES, DAVID                  ADDRESS ON FILE
COLLAZO FUENTES, GLADYS                 ADDRESS ON FILE
COLLAZO GABRIEL, JOSE L                 ADDRESS ON FILE
COLLAZO GARCIA MD, MARIA A              ADDRESS ON FILE
COLLAZO GARCIA, ANGIE M                 ADDRESS ON FILE
COLLAZO GARCIA, CARLOS                  ADDRESS ON FILE
Collazo Garcia, Diana                   ADDRESS ON FILE
COLLAZO GARCIA, IRIELIZ                 ADDRESS ON FILE
COLLAZO GARCIA, JULIO                   ADDRESS ON FILE




                                                                                            Page 1579 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1580 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Collazo Garcia, Julio          ADDRESS ON FILE
COLLAZO GARCIA, KATHERINE E.   ADDRESS ON FILE
COLLAZO GARCIA, LUZ M          ADDRESS ON FILE
COLLAZO GARCIA, MICHAEL        ADDRESS ON FILE
COLLAZO GARCIA, NEREIDA        ADDRESS ON FILE
COLLAZO GARCIA, ORVIE          ADDRESS ON FILE
COLLAZO GARCIA, RAMON          ADDRESS ON FILE
COLLAZO GARCIA, VANESSA I      ADDRESS ON FILE
COLLAZO GARCIA, WILETSY        ADDRESS ON FILE
COLLAZO GARCIA, YESENIA        ADDRESS ON FILE
COLLAZO GARCIA, ZUHEILI        ADDRESS ON FILE
COLLAZO GASTON, EVELYN         ADDRESS ON FILE
COLLAZO GAYA, MARCOS           ADDRESS ON FILE
COLLAZO GAYOL, GLORIA P        ADDRESS ON FILE
COLLAZO GOMEZ, ERIC            ADDRESS ON FILE
COLLAZO GOMEZ, ISEL M.         ADDRESS ON FILE
COLLAZO GONZALEZ, AIDA E.      ADDRESS ON FILE
COLLAZO GONZALEZ, ANA          ADDRESS ON FILE
COLLAZO GONZALEZ, ANA S.       ADDRESS ON FILE
COLLAZO GONZALEZ, ANGEL L.     ADDRESS ON FILE
COLLAZO GONZALEZ, DALIA        ADDRESS ON FILE
COLLAZO GONZALEZ, DAVID        ADDRESS ON FILE
Collazo Gonzalez, Edwin        ADDRESS ON FILE
COLLAZO GONZALEZ, ELIZABETH    ADDRESS ON FILE
COLLAZO GONZALEZ, ELIZABETH    ADDRESS ON FILE
Collazo Gonzalez, Evelyn       ADDRESS ON FILE
COLLAZO GONZALEZ, FERNANDO     ADDRESS ON FILE
COLLAZO GONZALEZ, GLORIVIE     ADDRESS ON FILE
COLLAZO GONZALEZ, ISAURA M     ADDRESS ON FILE
COLLAZO GONZALEZ, ISRAEL       ADDRESS ON FILE
COLLAZO GONZALEZ, JAIME A.     ADDRESS ON FILE
COLLAZO GONZALEZ, JAMES G.     ADDRESS ON FILE
COLLAZO GONZALEZ, JESUS NOEL   ADDRESS ON FILE
COLLAZO GONZALEZ, JOAN         ADDRESS ON FILE
COLLAZO GONZALEZ, JOEL         ADDRESS ON FILE
Collazo Gonzalez, Jose         ADDRESS ON FILE
COLLAZO GONZALEZ, JOSE E       ADDRESS ON FILE
COLLAZO GONZALEZ, JOSE E       ADDRESS ON FILE
COLLAZO GONZALEZ, LILLIAM      ADDRESS ON FILE
COLLAZO GONZALEZ, LIONEL       ADDRESS ON FILE
COLLAZO GONZALEZ, LUIS         ADDRESS ON FILE
COLLAZO GONZALEZ, LUIS         ADDRESS ON FILE
COLLAZO GONZALEZ, LUIS D.      ADDRESS ON FILE
COLLAZO GONZALEZ, LUIS G.      ADDRESS ON FILE
COLLAZO GONZALEZ, LUIS H       ADDRESS ON FILE
COLLAZO GONZALEZ, LUZ N        ADDRESS ON FILE
COLLAZO GONZALEZ, MARITZA      ADDRESS ON FILE
COLLAZO GONZALEZ, MARIVEL      ADDRESS ON FILE
COLLAZO GONZALEZ, MARTA I      ADDRESS ON FILE
COLLAZO GONZALEZ, NAOMI        ADDRESS ON FILE
COLLAZO GONZALEZ, NORBERTO     ADDRESS ON FILE
COLLAZO GONZALEZ, VERONICA     ADDRESS ON FILE
COLLAZO GONZALEZ, YESENIA I.   ADDRESS ON FILE
COLLAZO GOTAY, ADA N           ADDRESS ON FILE
COLLAZO GOTAY, CARLOS R        ADDRESS ON FILE
COLLAZO GRAU, IRIS Y           ADDRESS ON FILE
COLLAZO GRAU, JAVIER           ADDRESS ON FILE
COLLAZO GREEN, JESUS           ADDRESS ON FILE
Collazo Gutierrez, Jorge       ADDRESS ON FILE
COLLAZO GUTIERREZ, NAOMI       ADDRESS ON FILE




                                                                           Page 1580 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1581 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
COLLAZO GUTIERREZ, SERGIO M      ADDRESS ON FILE
COLLAZO GUTIERREZ, SONIA J       ADDRESS ON FILE
COLLAZO GUZMAN, ANA E.           ADDRESS ON FILE
COLLAZO GUZMAN, JESSENIA         ADDRESS ON FILE
COLLAZO GUZMAN, PEDRO            ADDRESS ON FILE
COLLAZO HEREDIA, CARMEN G        ADDRESS ON FILE
COLLAZO HERNANDEZ, CARMEN        ADDRESS ON FILE
COLLAZO HERNANDEZ, CARMEN V.     ADDRESS ON FILE
COLLAZO HERNANDEZ, DIANA DEL C   ADDRESS ON FILE
Collazo Hernandez, Dicky L       ADDRESS ON FILE
COLLAZO HERNANDEZ, EFREN         ADDRESS ON FILE
COLLAZO HERNANDEZ, EFREN         ADDRESS ON FILE
COLLAZO HERNANDEZ, ELIOTH        ADDRESS ON FILE
COLLAZO HERNANDEZ, HENRY         ADDRESS ON FILE
COLLAZO HERNANDEZ, HERIBERTO     ADDRESS ON FILE
COLLAZO HERNANDEZ, HERMINIO      ADDRESS ON FILE
COLLAZO HERNANDEZ, JOHANNA       ADDRESS ON FILE
COLLAZO HERNANDEZ, MARISOL       ADDRESS ON FILE
COLLAZO HERNANDEZ, MIRIAM        ADDRESS ON FILE
COLLAZO HERNANDEZ, SHARON        ADDRESS ON FILE
COLLAZO HERNANDEZ, WANDA I       ADDRESS ON FILE
COLLAZO HERNANDEZ, WILDALYS      ADDRESS ON FILE
COLLAZO HERNANDEZ,IRMA           ADDRESS ON FILE
COLLAZO HUERTAS, IRIS            ADDRESS ON FILE
COLLAZO HUERTAS, LYDIA E         ADDRESS ON FILE
COLLAZO HUERTAS, MALLIAM         ADDRESS ON FILE
COLLAZO IGUINA, MAYDA I          ADDRESS ON FILE
COLLAZO IND SUPPLY               26 CALLE ROLANDO CABANAS                                                         UTUADO       PR      00641
COLLAZO INVESTMENT CORP          PO BOX 330791                                                                    PONCE        PR      00733‐0791
COLLAZO IRIZARRY, ELIZABETH      ADDRESS ON FILE
COLLAZO IRIZARRY, FRANCHELYN     ADDRESS ON FILE
COLLAZO IRIZARRY, FRANCISCO      ADDRESS ON FILE
COLLAZO IRIZARRY, PAULETTE M.    ADDRESS ON FILE
COLLAZO IRIZARRY, VELIZ M        ADDRESS ON FILE
COLLAZO JAIME, RICHARD           ADDRESS ON FILE
COLLAZO JIMENEZ, MIOSOTIS        ADDRESS ON FILE
COLLAZO JONES, RANDO             ADDRESS ON FILE
COLLAZO LABOY, LUIS              ADDRESS ON FILE
COLLAZO LARACUENTE, MILTA        ADDRESS ON FILE
COLLAZO LARRION, CELIMAR         ADDRESS ON FILE
COLLAZO LEANDRY, EDGARDO         ADDRESS ON FILE
COLLAZO LEANDRY, IVAN            ADDRESS ON FILE
Collazo Leon, Glenda             ADDRESS ON FILE
COLLAZO LEON, LOURDES VANESSA    ADDRESS ON FILE
COLLAZO LEON, MARIELA            ADDRESS ON FILE
COLLAZO LEON, MARIELA            ADDRESS ON FILE
COLLAZO LEON, MARIELA T.         ADDRESS ON FILE
COLLAZO LEON, MARIETTA L.        ADDRESS ON FILE
COLLAZO LIND, LEONIDES           ADDRESS ON FILE
COLLAZO LINDELIE, EFRAIN         ADDRESS ON FILE
COLLAZO LINDELIE, JOSE           ADDRESS ON FILE
Collazo Lindelie, Jose E         ADDRESS ON FILE
COLLAZO LLANTIN, CARMEN D        ADDRESS ON FILE
COLLAZO LOPEZ, AMARILI           ADDRESS ON FILE
COLLAZO LOPEZ, FRANCISCO         ADDRESS ON FILE
COLLAZO LOPEZ, FRANCISCO         ADDRESS ON FILE
COLLAZO LOPEZ, GLORIA            ADDRESS ON FILE
COLLAZO LOPEZ, JESUS             ADDRESS ON FILE
COLLAZO LOPEZ, JESUS M           ADDRESS ON FILE
COLLAZO LOPEZ, MAGALY            ADDRESS ON FILE




                                                                             Page 1581 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1582 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO LOPEZ, MARIA          ADDRESS ON FILE
COLLAZO LOPEZ, MARIA          ADDRESS ON FILE
COLLAZO LOPEZ, MARIA M        ADDRESS ON FILE
COLLAZO LOPEZ, ROSA L.        ADDRESS ON FILE
COLLAZO LOPEZ, STEPHANIE      ADDRESS ON FILE
COLLAZO LOPEZ, WILMER         ADDRESS ON FILE
COLLAZO LOPEZ,FRANCISCO       ADDRESS ON FILE
COLLAZO LORENZO, DAVID        ADDRESS ON FILE
COLLAZO LOUBRIEL, LEIDA       ADDRESS ON FILE
COLLAZO LOUCIL, ARIELY        ADDRESS ON FILE
COLLAZO LUGO, GLORIBEL        ADDRESS ON FILE
COLLAZO LUYANDO, HUMBERTO     ADDRESS ON FILE
COLLAZO MAESTRE, DAMARYS      ADDRESS ON FILE
COLLAZO MAESTRE, DAMARYS      ADDRESS ON FILE
COLLAZO MAESTRE, ODALYS       ADDRESS ON FILE
COLLAZO MAGUIRE, AMANDA       ADDRESS ON FILE
COLLAZO MALAVE, LUIS G        ADDRESS ON FILE
COLLAZO MALDONADO, BRUNILDA   ADDRESS ON FILE
COLLAZO MALDONADO, EDMARIE    ADDRESS ON FILE
COLLAZO MALDONADO, JOAQUIN    ADDRESS ON FILE
COLLAZO MALDONADO, JUANA      ADDRESS ON FILE
COLLAZO MALDONADO, LAURA      ADDRESS ON FILE
COLLAZO MALDONADO, WALESKA    ADDRESS ON FILE
COLLAZO MALDONADO, WILFREDO   ADDRESS ON FILE
COLLAZO MALDONADO, WILFREDO   ADDRESS ON FILE
Collazo Maldonado, William    ADDRESS ON FILE
COLLAZO MANDES, FRANSIS A     ADDRESS ON FILE
COLLAZO MARCANO, AIDA         ADDRESS ON FILE
COLLAZO MARCANO, LYDIA E      ADDRESS ON FILE
COLLAZO MARIN, JOSE B.        ADDRESS ON FILE
COLLAZO MARQUEZ, ALFREDO      ADDRESS ON FILE
COLLAZO MARQUEZ, GERARDO      ADDRESS ON FILE
COLLAZO MARQUEZ, HECTOR A.    ADDRESS ON FILE
COLLAZO MARRERO, ANA M.       ADDRESS ON FILE
COLLAZO MARRERO, GUSTAVO      ADDRESS ON FILE
COLLAZO MARRERO, GUSTAVO      ADDRESS ON FILE
COLLAZO MARRERO, IRIS N       ADDRESS ON FILE
COLLAZO MARRERO, LIBBYBETH    ADDRESS ON FILE
Collazo Marrero, Pablo        ADDRESS ON FILE
COLLAZO MARRERO, WENDY        ADDRESS ON FILE
COLLAZO MARTINEZ, ANGEL       ADDRESS ON FILE
Collazo Martinez, Anibal      ADDRESS ON FILE
COLLAZO MARTINEZ, BETZY       ADDRESS ON FILE
COLLAZO MARTINEZ, CRIS        ADDRESS ON FILE
COLLAZO MARTINEZ, DIANA       ADDRESS ON FILE
Collazo Martinez, Gustavo     ADDRESS ON FILE
COLLAZO MARTINEZ, KAROL       ADDRESS ON FILE
COLLAZO MARTINEZ, MARIA L     ADDRESS ON FILE
COLLAZO MARTINEZ, MICHAE      ADDRESS ON FILE
COLLAZO MARTINEZ, MICHAEL     ADDRESS ON FILE
COLLAZO MARTINEZ, RUTH        ADDRESS ON FILE
COLLAZO MARTINEZ, SANDRA      ADDRESS ON FILE
Collazo Matos, Angel          ADDRESS ON FILE
COLLAZO MATOS, ARISTIDES      ADDRESS ON FILE
COLLAZO MATOS, CECILIA M      ADDRESS ON FILE
COLLAZO MATOS, MOISES         ADDRESS ON FILE
COLLAZO MATTEI, JUAN          ADDRESS ON FILE
COLLAZO MEDINA, ERIC N        ADDRESS ON FILE
COLLAZO MEDINA, ERIC N.       ADDRESS ON FILE
Collazo Medina, Jesus         ADDRESS ON FILE




                                                                          Page 1582 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1583 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO MEDINA, RAMON L         ADDRESS ON FILE
COLLAZO MEJIAS, KEYLA M         ADDRESS ON FILE
COLLAZO MELENDEZ, FRANCHESKA    ADDRESS ON FILE
Collazo Melendez, Francisco     ADDRESS ON FILE
COLLAZO MELENDEZ, LUIS R        ADDRESS ON FILE
COLLAZO MELENDEZ, MARIA J       ADDRESS ON FILE
COLLAZO MELENDEZ, MARIBEL       ADDRESS ON FILE
COLLAZO MELENDEZ, MARIBEL       ADDRESS ON FILE
COLLAZO MELENDEZ, MARIBEL       ADDRESS ON FILE
COLLAZO MELENDEZ, NORMA I       ADDRESS ON FILE
COLLAZO MELENDEZ, NORMA I.      ADDRESS ON FILE
COLLAZO MELENDEZ, ORLANDO       ADDRESS ON FILE
COLLAZO MELENDEZ, PEDRO         ADDRESS ON FILE
Collazo Melendez, Rafael        ADDRESS ON FILE
COLLAZO MELENDEZ, RAMON         ADDRESS ON FILE
COLLAZO MELENDEZ, ZULMA M       ADDRESS ON FILE
COLLAZO MENDEZ, MARIANETTE      ADDRESS ON FILE
COLLAZO MENENDEZ, HERMINIA      ADDRESS ON FILE
COLLAZO MERCADO, ISAIAS         ADDRESS ON FILE
COLLAZO MERCADO, RAMON A        ADDRESS ON FILE
COLLAZO MERCADO, TATIANA        ADDRESS ON FILE
COLLAZO MESTRE, DAMARIS         ADDRESS ON FILE
COLLAZO MESTRE, EVELYN          ADDRESS ON FILE
COLLAZO MILLAN, GILMARY         ADDRESS ON FILE
COLLAZO MOJICA, RICARDO         ADDRESS ON FILE
COLLAZO MOLINA, KERALIA         ADDRESS ON FILE
COLLAZO MOLINA, LYDIA           ADDRESS ON FILE
COLLAZO MOLINA, MILEIDY         ADDRESS ON FILE
COLLAZO MONTESINO, BELEN        ADDRESS ON FILE
COLLAZO MONTESINO, MAYDA R.     ADDRESS ON FILE
COLLAZO MONTESINOS, BELEN       ADDRESS ON FILE
COLLAZO MONTIJO, MARILYN        ADDRESS ON FILE
COLLAZO MORALES, ANA M          ADDRESS ON FILE
COLLAZO MORALES, ANGELICA       ADDRESS ON FILE
COLLAZO MORALES, CARMEN E       ADDRESS ON FILE
COLLAZO MORALES, GILBERTO       ADDRESS ON FILE
COLLAZO MORALES, GISELA I.      ADDRESS ON FILE
COLLAZO MORALES, IRMA           ADDRESS ON FILE
COLLAZO MORALES, JESUS          ADDRESS ON FILE
COLLAZO MORALES, JESUS          ADDRESS ON FILE
COLLAZO MORALES, JOSE           ADDRESS ON FILE
COLLAZO MORALES, JUAN           ADDRESS ON FILE
COLLAZO MORALES, LYANNE         ADDRESS ON FILE
COLLAZO MORALES, MANUEL DE      ADDRESS ON FILE
Collazo Morales, Miguel A       ADDRESS ON FILE
COLLAZO MORALES, NYDIA I        ADDRESS ON FILE
COLLAZO MORALES, RAFAEL A       ADDRESS ON FILE
COLLAZO MORALES, WILLIAM        ADDRESS ON FILE
COLLAZO MORALES,MELVIN          ADDRESS ON FILE
COLLAZO MOREU, JULIO            ADDRESS ON FILE
COLLAZO MOREU, JULIO RAFAEL     ADDRESS ON FILE
COLLAZO MORINGLANE, WILLIAM O   ADDRESS ON FILE
COLLAZO MOURE, LISSEDIA         ADDRESS ON FILE
COLLAZO MUNOZ, ANDRES           ADDRESS ON FILE
COLLAZO MUNOZ, EVY              ADDRESS ON FILE
COLLAZO MUNOZ, ZORAIDA          ADDRESS ON FILE
Collazo Nadal, Hector L.        ADDRESS ON FILE
COLLAZO NARVAEZ, LUZ I          ADDRESS ON FILE
COLLAZO NATAL, ORLANDO          ADDRESS ON FILE
COLLAZO NATAL, ROSA             ADDRESS ON FILE




                                                                            Page 1583 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1584 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO NAVARRO, CARLOS A.    ADDRESS ON FILE
COLLAZO NAVARRO, NATALIA      ADDRESS ON FILE
COLLAZO NAVEDO, JEAN CARLOS   ADDRESS ON FILE
COLLAZO NAZARIO, DARIEL       ADDRESS ON FILE
COLLAZO NAZARIO, IRISEL       ADDRESS ON FILE
COLLAZO NAZARIO, IRISEL       ADDRESS ON FILE
COLLAZO NAZARIO, LEMIL        ADDRESS ON FILE
COLLAZO NEGRON, AIDA KATIA    ADDRESS ON FILE
COLLAZO NEGRON, ANGEL         ADDRESS ON FILE
COLLAZO NEGRON, EMERITO       ADDRESS ON FILE
COLLAZO NEGRON, GERARDO       ADDRESS ON FILE
COLLAZO NEGRON, MARIA M.      ADDRESS ON FILE
COLLAZO NEGRON, MARIA M.      ADDRESS ON FILE
COLLAZO NEGRON, NELIDA E      ADDRESS ON FILE
COLLAZO NIEVES, CARLOS J      ADDRESS ON FILE
COLLAZO NIEVES, CARMEN I      ADDRESS ON FILE
COLLAZO NIEVES, DAVID         ADDRESS ON FILE
COLLAZO NIEVES, JOSE          ADDRESS ON FILE
Collazo Nieves, Jose A        ADDRESS ON FILE
COLLAZO NIEVES, JULIO         ADDRESS ON FILE
COLLAZO NIEVES, LIZBETH       ADDRESS ON FILE
COLLAZO NIEVES, LYDIA E       ADDRESS ON FILE
COLLAZO NIEVES, MARIO         ADDRESS ON FILE
COLLAZO NIEVES, SHEILA        ADDRESS ON FILE
COLLAZO NOLASCO, GERMARY L    ADDRESS ON FILE
COLLAZO OCASIO, AUREA V       ADDRESS ON FILE
COLLAZO OCASIO, EMEREGILDO    ADDRESS ON FILE
COLLAZO OCASIO, ERANIO J      ADDRESS ON FILE
COLLAZO OCASIO, ESPERANZA     ADDRESS ON FILE
COLLAZO OCASIO, RAMON         ADDRESS ON FILE
COLLAZO OJEDA, ELBA           ADDRESS ON FILE
COLLAZO OLIVERAS, ALFREDO     ADDRESS ON FILE
Collazo Oliveras, Edwin       ADDRESS ON FILE
COLLAZO OLIVO, KATIRIA M      ADDRESS ON FILE
COLLAZO OLIVO, RAFAEL         ADDRESS ON FILE
COLLAZO OLIVO, WILNELIA       ADDRESS ON FILE
COLLAZO OLIVO, WILNELIA       ADDRESS ON FILE
COLLAZO OROPEZA, NITZALIS     ADDRESS ON FILE
COLLAZO ORTIZ, ADA ALICIA     ADDRESS ON FILE
COLLAZO ORTIZ, ARMANDO J.     ADDRESS ON FILE
COLLAZO ORTIZ, BETHZAIDA      ADDRESS ON FILE
Collazo Ortiz, Betsy J        ADDRESS ON FILE
COLLAZO ORTIZ, CARMEN         ADDRESS ON FILE
COLLAZO ORTIZ, CARMEN Z       ADDRESS ON FILE
COLLAZO ORTIZ, DERICK         ADDRESS ON FILE
COLLAZO ORTIZ, DINORAH        ADDRESS ON FILE
COLLAZO ORTIZ, DINORAH        ADDRESS ON FILE
COLLAZO ORTIZ, EDGAR          ADDRESS ON FILE
COLLAZO ORTIZ, ELIEZER        ADDRESS ON FILE
COLLAZO ORTIZ, ERIC           ADDRESS ON FILE
COLLAZO ORTIZ, IVETTE         ADDRESS ON FILE
COLLAZO ORTIZ, JAIME          ADDRESS ON FILE
COLLAZO ORTIZ, JEANETTE       ADDRESS ON FILE
COLLAZO ORTIZ, JEANETTE M     ADDRESS ON FILE
COLLAZO ORTIZ, JORGE          ADDRESS ON FILE
COLLAZO ORTIZ, JORGE L.       ADDRESS ON FILE
COLLAZO ORTIZ, KARLA          ADDRESS ON FILE
COLLAZO ORTIZ, KARLA          ADDRESS ON FILE
COLLAZO ORTIZ, KARLA S        ADDRESS ON FILE
Collazo Ortiz, Luis E         ADDRESS ON FILE




                                                                          Page 1584 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1585 of 3500
                                                                             17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                 Address1                          Address2                                  Address3               Address4      City         State   PostalCode   Country
COLLAZO ORTIZ, LYTZA          ADDRESS ON FILE
COLLAZO ORTIZ, LYTZA          ADDRESS ON FILE
COLLAZO ORTIZ, MARA           ADDRESS ON FILE
COLLAZO ORTIZ, MAYRA          ADDRESS ON FILE
COLLAZO ORTIZ, MAYRA          ADDRESS ON FILE
COLLAZO ORTIZ, NYLSA J.       ADDRESS ON FILE
COLLAZO ORTIZ, REBECCA        ADDRESS ON FILE
COLLAZO ORTIZ, RICARDO        ADDRESS ON FILE
COLLAZO ORTIZ, RICARDO        ADDRESS ON FILE
COLLAZO ORTIZ, SHEILA         ADDRESS ON FILE
COLLAZO ORTIZ, SONIA          ADDRESS ON FILE
COLLAZO ORTIZ, SUSANA         ADDRESS ON FILE
COLLAZO ORTIZ, YAMILETTE      ADDRESS ON FILE
COLLAZO ORTIZ, YANISE         ADDRESS ON FILE
COLLAZO ORTIZ, YANISE         ADDRESS ON FILE
COLLAZO ORTIZ, YANISE         ADDRESS ON FILE
COLLAZO ORTOLAZA, JULIA       ADDRESS ON FILE
COLLAZO ORTOLOZA, AMELIA      ADDRESS ON FILE
COLLAZO OSORIO, LETICIA       ADDRESS ON FILE
COLLAZO OSTOLAZA, TERESITA    ADDRESS ON FILE
Collazo Otero, Antonio R      ADDRESS ON FILE
COLLAZO OTERO, CARMEN L       ADDRESS ON FILE
COLLAZO OTERO, JUAN           ADDRESS ON FILE
COLLAZO OTERO, MARIEL         ADDRESS ON FILE
COLLAZO OTERO, MARIEL         ADDRESS ON FILE
COLLAZO PABON, ERIC           ADDRESS ON FILE
COLLAZO PABON, LUIS           ADDRESS ON FILE
COLLAZO PABON, NORMA E        ADDRESS ON FILE
COLLAZO PADIN, PRUDENCIO      ADDRESS ON FILE
COLLAZO PAGAN, CARMEN D       ADDRESS ON FILE
COLLAZO PAGAN, CARMEN L       ADDRESS ON FILE
COLLAZO PAGAN, ERIC J.        ADDRESS ON FILE
Collazo Pagan, Javier         ADDRESS ON FILE
COLLAZO PAGAN, JOSE           ADDRESS ON FILE
COLLAZO PAGAN, JUAN ALBERTO   ADDRESS ON FILE
COLLAZO PAGAN, MARIA E.       ADDRESS ON FILE
COLLAZO PAGAN, NELSON         ADDRESS ON FILE
COLLAZO PAGAN, RAFAEL         ADDRESS ON FILE
COLLAZO PAGAN, RONALD         ADDRESS ON FILE
COLLAZO PANTOJA, GILBERTO     ADDRESS ON FILE
COLLAZO PANTOJAS, JOSE A      ADDRESS ON FILE
COLLAZO PARRILLA, WALESKA M   ADDRESS ON FILE
COLLAZO PAZO, JOSE L          ADDRESS ON FILE
COLLAZO PEDRAJA, ADRIEL       ADDRESS ON FILE
COLLAZO PENA, CARMEN J        ADDRESS ON FILE
COLLAZO PENA, IVETTE          ADDRESS ON FILE
COLLAZO PENA, JOSE A          ADDRESS ON FILE
COLLAZO PENA, JUAN            ADDRESS ON FILE
COLLAZO PERDOMO, EFRAIN       ADDRESS ON FILE
COLLAZO PERDOMO, MARIA T      ADDRESS ON FILE
COLLAZO PEREZ, ALEX           ADDRESS ON FILE
COLLAZO PEREZ, CARMEN L       ADDRESS ON FILE
COLLAZO PEREZ, FELIPE         ADDRESS ON FILE
COLLAZO PEREZ, JEANNETTE      ADDRESS ON FILE
COLLAZO PEREZ, JOSE           ADDRESS ON FILE
COLLAZO PEREZ, JOSE G.        ADDRESS ON FILE
COLLAZO PEREZ, JOSE G.        ADDRESS ON FILE
COLLAZO PEREZ, JULIO          LCDO. JOSÉ E. CARRERAS            LCDO. JOSÉ E. CARRERAS ROVIRA             352 CALLE DEL PARQUE   PRIMER PISO   SAN JUAN     PR      00912
COLLAZO PÉREZ, JULIO          LCDO. MANUEL E. FUSTER MARTÍNEZ   LCDO. MANUEL E. FUSTER MARTÍNEZ           APARTADO 1464                        GUAYAMA      PR      00785
COLLAZO PEREZ, JULIO          ADDRESS ON FILE




                                                                                           Page 1585 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1586 of 3500
                                                                              17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                  Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
COLLAZO PEREZ, LILLIAM M       ADDRESS ON FILE
COLLAZO PEREZ, LOURDES M.      ADDRESS ON FILE
COLLAZO PEREZ, LUIS            ADDRESS ON FILE
COLLAZO PEREZ, LUZ N.          ADDRESS ON FILE
COLLAZO PEREZ, MABEL           ADDRESS ON FILE
COLLAZO PEREZ, MELVIN O        ADDRESS ON FILE
COLLAZO PEREZ, MIGUEL A.       ADDRESS ON FILE
COLLAZO PEREZ, NIURCA          ADDRESS ON FILE
COLLAZO PEREZ, NOEL            ADDRESS ON FILE
Collazo Perez, Omar B.         ADDRESS ON FILE
COLLAZO PEREZ, RAFAELA         ADDRESS ON FILE
COLLAZO PEREZ, SAMER           ADDRESS ON FILE
Collazo Perez, Samer A         ADDRESS ON FILE
COLLAZO PEREZ, WANDA I         ADDRESS ON FILE
COLLAZO PINEIRO, ROBERTO       ADDRESS ON FILE
COLLAZO PLAZA, HAZIEL I        ADDRESS ON FILE
COLLAZO PLAZA, HAZIEL I        ADDRESS ON FILE
COLLAZO PRINCIPE, JOSE         ADDRESS ON FILE
Collazo Principe, Jose A       ADDRESS ON FILE
COLLAZO QUILES, BRUNILDA       ADDRESS ON FILE
COLLAZO QUILES, CONCEPCION M   ADDRESS ON FILE
COLLAZO QUILES, MELVIN         ADDRESS ON FILE
COLLAZO QUINONES, ANTONIO      ADDRESS ON FILE
COLLAZO QUINONES, FERNANDO     ADDRESS ON FILE
COLLAZO QUINONES, MARIA DEL    ADDRESS ON FILE
Collazo Quintana, Rafael       ADDRESS ON FILE
COLLAZO QUINTANA, RAFAEL       LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
COLLAZO QUINTANA, RAFAEL       LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
COLLAZO RAMIREZ, CARMEN A      ADDRESS ON FILE
COLLAZO RAMOS, ALBERTO         ADDRESS ON FILE
COLLAZO RAMOS, CARMEN G.       ADDRESS ON FILE
COLLAZO RAMOS, CRISTINA        ADDRESS ON FILE
COLLAZO RAMOS, GILBERTO        ADDRESS ON FILE
COLLAZO RAMOS, JORGE           ADDRESS ON FILE
Collazo Ramos, Jose A          ADDRESS ON FILE
COLLAZO RAMOS, JOSE A.         ADDRESS ON FILE
COLLAZO RAMOS, JOSE J.         ADDRESS ON FILE
COLLAZO RAMOS, MARINELLIE      ADDRESS ON FILE
COLLAZO RAMOS, MILDRED         ADDRESS ON FILE
COLLAZO RAMOS, MIRTA           ADDRESS ON FILE
COLLAZO RAMOS, NILSA A         ADDRESS ON FILE
COLLAZO RAMOS, PAOLA           ADDRESS ON FILE
COLLAZO RAMOS, RAMON           ADDRESS ON FILE
COLLAZO RAMOS, RICARDO         ADDRESS ON FILE
COLLAZO RAMOS, RICHARD         ADDRESS ON FILE
COLLAZO RAMOS, SYLVIA          ADDRESS ON FILE
COLLAZO REBOLLO, ANGEL L       ADDRESS ON FILE
COLLAZO RENTAS, PEDRO H.       ADDRESS ON FILE
COLLAZO REPOLLET, VICTOR       ADDRESS ON FILE
COLLAZO RESTO, HECTOR          ADDRESS ON FILE
COLLAZO REXACH, MARIA          ADDRESS ON FILE
COLLAZO REYES, CARLOS J.       ADDRESS ON FILE
COLLAZO REYES, CHRISTIAN       ADDRESS ON FILE
Collazo Reyes, Edgar J.        ADDRESS ON FILE
COLLAZO REYES, EDMUNDO         ADDRESS ON FILE
COLLAZO REYES, FRANKIE         ADDRESS ON FILE
COLLAZO REYES, ILIA            ADDRESS ON FILE
COLLAZO REYES, LIDAEL          ADDRESS ON FILE
COLLAZO REYES, LILLIAM E       ADDRESS ON FILE
COLLAZO REYES, LIZZETTE        ADDRESS ON FILE




                                                                                    Page 1586 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1587 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Collazo Reyes, Luis A.      ADDRESS ON FILE
COLLAZO REYES, WANDA I      ADDRESS ON FILE
Collazo Reyez, Jose R       ADDRESS ON FILE
COLLAZO RIOS, MARIA A       ADDRESS ON FILE
COLLAZO RIVAS, ANTONIO      ADDRESS ON FILE
COLLAZO RIVAS, RAMON L.     ADDRESS ON FILE
COLLAZO RIVERA, ADA         ADDRESS ON FILE
COLLAZO RIVERA, AIDA L      ADDRESS ON FILE
COLLAZO RIVERA, ALBERTO     ADDRESS ON FILE
COLLAZO RIVERA, ANA M       ADDRESS ON FILE
COLLAZO RIVERA, ANGELICA    ADDRESS ON FILE
COLLAZO RIVERA, AURELIA     ADDRESS ON FILE
COLLAZO RIVERA, CANDIDO     ADDRESS ON FILE
COLLAZO RIVERA, CARLOS      ADDRESS ON FILE
COLLAZO RIVERA, CARLOS A.   ADDRESS ON FILE
COLLAZO RIVERA, CARMEN      ADDRESS ON FILE
COLLAZO RIVERA, CARMEN      ADDRESS ON FILE
COLLAZO RIVERA, CARMEN A    ADDRESS ON FILE
COLLAZO RIVERA, CARMEN J    ADDRESS ON FILE
COLLAZO RIVERA, CARMEN L    ADDRESS ON FILE
COLLAZO RIVERA, CARMEN L    ADDRESS ON FILE
COLLAZO RIVERA, CARMEN L    ADDRESS ON FILE
COLLAZO RIVERA, CARMEN M.   ADDRESS ON FILE
Collazo Rivera, Carmen M.   ADDRESS ON FILE
COLLAZO RIVERA, CATALINA    ADDRESS ON FILE
COLLAZO RIVERA, CLARA E     ADDRESS ON FILE
COLLAZO RIVERA, DAMARIS     ADDRESS ON FILE
COLLAZO RIVERA, EDGARDO     ADDRESS ON FILE
COLLAZO RIVERA, EMERILDA    ADDRESS ON FILE
COLLAZO RIVERA, EMERILDA    ADDRESS ON FILE
COLLAZO RIVERA, ENID        ADDRESS ON FILE
COLLAZO RIVERA, ENID        ADDRESS ON FILE
COLLAZO RIVERA, ERIC        ADDRESS ON FILE
COLLAZO RIVERA, ESTEBAN     ADDRESS ON FILE
COLLAZO RIVERA, FRANCISCO   ADDRESS ON FILE
COLLAZO RIVERA, FRANCISCO   ADDRESS ON FILE
COLLAZO RIVERA, FRANCISCO   ADDRESS ON FILE
COLLAZO RIVERA, GLENDA L    ADDRESS ON FILE
COLLAZO RIVERA, GLORIA      ADDRESS ON FILE
COLLAZO RIVERA, GUILLERMO   ADDRESS ON FILE
COLLAZO RIVERA, HAROLD      ADDRESS ON FILE
Collazo Rivera, Heriberto   ADDRESS ON FILE
COLLAZO RIVERA, HILDA R     ADDRESS ON FILE
COLLAZO RIVERA, INES        ADDRESS ON FILE
COLLAZO RIVERA, ISIDRO      ADDRESS ON FILE
COLLAZO RIVERA, IVETTE      ADDRESS ON FILE
COLLAZO RIVERA, JADHIRA M   ADDRESS ON FILE
COLLAZO RIVERA, JENARO      ADDRESS ON FILE
COLLAZO RIVERA, JESUS       ADDRESS ON FILE
COLLAZO RIVERA, JESY        ADDRESS ON FILE
COLLAZO RIVERA, JOEL        ADDRESS ON FILE
COLLAZO RIVERA, JOEL        ADDRESS ON FILE
COLLAZO RIVERA, JORGE H.    ADDRESS ON FILE
COLLAZO RIVERA, JOSE        ADDRESS ON FILE
COLLAZO RIVERA, JOSE A      ADDRESS ON FILE
COLLAZO RIVERA, JOSE F      ADDRESS ON FILE
COLLAZO RIVERA, JOSEFINA    ADDRESS ON FILE
COLLAZO RIVERA, JUAN        ADDRESS ON FILE
COLLAZO RIVERA, JULIO       ADDRESS ON FILE
COLLAZO RIVERA, JUSTINO     ADDRESS ON FILE




                                                                        Page 1587 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1588 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO RIVERA, KAREN          ADDRESS ON FILE
COLLAZO RIVERA, LAURA          ADDRESS ON FILE
COLLAZO RIVERA, LAURA J        ADDRESS ON FILE
COLLAZO RIVERA, LINETTE        ADDRESS ON FILE
COLLAZO RIVERA, LINETTE Y      ADDRESS ON FILE
COLLAZO RIVERA, LINETTE Y.     ADDRESS ON FILE
COLLAZO RIVERA, LIZBETH        ADDRESS ON FILE
Collazo Rivera, Luis R         ADDRESS ON FILE
COLLAZO RIVERA, LUZ            ADDRESS ON FILE
COLLAZO RIVERA, MAGDA M        ADDRESS ON FILE
COLLAZO RIVERA, MANUEL         ADDRESS ON FILE
COLLAZO RIVERA, MARIA M        ADDRESS ON FILE
COLLAZO RIVERA, MARIA M        ADDRESS ON FILE
COLLAZO RIVERA, MARITZA        ADDRESS ON FILE
COLLAZO RIVERA, MARY J         ADDRESS ON FILE
COLLAZO RIVERA, MELBA          ADDRESS ON FILE
COLLAZO RIVERA, MIRIAM         ADDRESS ON FILE
COLLAZO RIVERA, MIRIAM         ADDRESS ON FILE
COLLAZO RIVERA, MYRNA R        ADDRESS ON FILE
COLLAZO RIVERA, NIDIA          ADDRESS ON FILE
COLLAZO RIVERA, NOELIA         ADDRESS ON FILE
COLLAZO RIVERA, ORLANDO        ADDRESS ON FILE
COLLAZO RIVERA, ORLANDO        ADDRESS ON FILE
COLLAZO RIVERA, OSCAR          ADDRESS ON FILE
COLLAZO RIVERA, PEDRO          ADDRESS ON FILE
COLLAZO RIVERA, RAFAEL         ADDRESS ON FILE
COLLAZO RIVERA, RAMON L        ADDRESS ON FILE
COLLAZO RIVERA, RICHARD        ADDRESS ON FILE
COLLAZO RIVERA, ROSA M         ADDRESS ON FILE
Collazo Rivera, Ruth V         ADDRESS ON FILE
COLLAZO RIVERA, SANDRA         ADDRESS ON FILE
COLLAZO RIVERA, SONIVELLISSE   ADDRESS ON FILE
COLLAZO RIVERA, SYLVIA I       ADDRESS ON FILE
COLLAZO RIVERA, TERESA         ADDRESS ON FILE
COLLAZO RIVERA, VICTOR L.      ADDRESS ON FILE
COLLAZO RIVERA, WILMER         ADDRESS ON FILE
COLLAZO RIVERA, YECENIA        ADDRESS ON FILE
COLLAZO RIVERA, YECENIA I      ADDRESS ON FILE
COLLAZO RIVERA, YECENIA I.     ADDRESS ON FILE
COLLAZO ROBLEDO, NELLY         ADDRESS ON FILE
COLLAZO ROBLEDO, ROSA H        ADDRESS ON FILE
COLLAZO ROBLES, CARMEN N       ADDRESS ON FILE
COLLAZO ROBLES, MIGDALIA       ADDRESS ON FILE
COLLAZO ROBLES, MIGDALIA       ADDRESS ON FILE
COLLAZO RODRIGUEZ, ABIGAIL     ADDRESS ON FILE
COLLAZO RODRIGUEZ, ANGEL       ADDRESS ON FILE
COLLAZO RODRIGUEZ, ANTONIO M   ADDRESS ON FILE
COLLAZO RODRIGUEZ, ARACELIS    ADDRESS ON FILE
Collazo Rodriguez, Arlene      ADDRESS ON FILE
COLLAZO RODRIGUEZ, AUREA       ADDRESS ON FILE
COLLAZO RODRIGUEZ, BASILIO     ADDRESS ON FILE
COLLAZO RODRIGUEZ, BEATRIZ     ADDRESS ON FILE
COLLAZO RODRIGUEZ, BRAULIO     ADDRESS ON FILE
COLLAZO RODRIGUEZ, CARLOS      ADDRESS ON FILE
COLLAZO RODRIGUEZ, CARLOS R.   ADDRESS ON FILE
Collazo Rodriguez, Carmen J    ADDRESS ON FILE
COLLAZO RODRIGUEZ, CLOTILDA    ADDRESS ON FILE
COLLAZO RODRIGUEZ, DAISY       ADDRESS ON FILE
COLLAZO RODRIGUEZ, DENNIS      ADDRESS ON FILE
COLLAZO RODRIGUEZ, DIANA R     ADDRESS ON FILE




                                                                           Page 1588 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1589 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO RODRIGUEZ, EDNA        ADDRESS ON FILE
COLLAZO RODRIGUEZ, EFRAIN      ADDRESS ON FILE
COLLAZO RODRIGUEZ, FERMIN      ADDRESS ON FILE
COLLAZO RODRIGUEZ, FERNANDO    ADDRESS ON FILE
COLLAZO RODRIGUEZ, FRANCISCO   ADDRESS ON FILE
COLLAZO RODRIGUEZ, GHEISA      ADDRESS ON FILE
COLLAZO RODRIGUEZ, GLADYS      ADDRESS ON FILE
COLLAZO RODRIGUEZ, ISABEL      ADDRESS ON FILE
COLLAZO RODRIGUEZ, JAIME R.    ADDRESS ON FILE
COLLAZO RODRIGUEZ, JENNIFER    ADDRESS ON FILE
COLLAZO RODRIGUEZ, JOHN        ADDRESS ON FILE
COLLAZO RODRIGUEZ, JULIO       ADDRESS ON FILE
Collazo Rodríguez, Lorna M     ADDRESS ON FILE
COLLAZO RODRIGUEZ, LUIS        ADDRESS ON FILE
Collazo Rodriguez, Luis        ADDRESS ON FILE
COLLAZO RODRIGUEZ, LUIS        ADDRESS ON FILE
COLLAZO RODRIGUEZ, LUZ D       ADDRESS ON FILE
COLLAZO RODRIGUEZ, MANUEL      ADDRESS ON FILE
COLLAZO RODRIGUEZ, MARILYN     ADDRESS ON FILE
COLLAZO RODRIGUEZ, MARINA      ADDRESS ON FILE
COLLAZO RODRIGUEZ, MARIO       ADDRESS ON FILE
COLLAZO RODRIGUEZ, MAUREEN     ADDRESS ON FILE
COLLAZO RODRIGUEZ, MILDRED J   ADDRESS ON FILE
COLLAZO RODRIGUEZ, NAILYN      ADDRESS ON FILE
COLLAZO RODRIGUEZ, NELIDA      ADDRESS ON FILE
Collazo Rodriguez, Omar        ADDRESS ON FILE
COLLAZO RODRIGUEZ, OSCAR       ADDRESS ON FILE
COLLAZO RODRIGUEZ, RAFAEL      ADDRESS ON FILE
COLLAZO RODRIGUEZ, RICARDO     ADDRESS ON FILE
COLLAZO RODRIGUEZ, RICARDO A   ADDRESS ON FILE
COLLAZO RODRIGUEZ, SHIRLEY     ADDRESS ON FILE
COLLAZO RODRIGUEZ, SIGFREDO    ADDRESS ON FILE
COLLAZO RODRIGUEZ, SYLVIA      ADDRESS ON FILE
COLLAZO RODRIGUEZ, VALERIE     ADDRESS ON FILE
COLLAZO RODRIGUEZ, VALERIE M   ADDRESS ON FILE
COLLAZO RODRIGUEZ, VICTOR      ADDRESS ON FILE
COLLAZO RODRIGUEZ, WILFREDO    ADDRESS ON FILE
COLLAZO RODRIGUEZ, YALEIKA     ADDRESS ON FILE
COLLAZO RODRIGUEZ, YOLANDA     ADDRESS ON FILE
COLLAZO RODRIGUEZ, ZULMA I.    ADDRESS ON FILE
COLLAZO ROLON, IRIS N.         ADDRESS ON FILE
COLLAZO ROLON, IRIS N.         ADDRESS ON FILE
Collazo Rolon, Juan J.         ADDRESS ON FILE
COLLAZO ROMAN, JOEL A          ADDRESS ON FILE
COLLAZO ROMAN, YANELLY         ADDRESS ON FILE
COLLAZO ROSA, GERALDINE M      ADDRESS ON FILE
COLLAZO ROSA, JENNIFER M.      ADDRESS ON FILE
COLLAZO ROSA, MERILIN          ADDRESS ON FILE
COLLAZO ROSA, MICHELLE         ADDRESS ON FILE
COLLAZO ROSA, MICHELLE         ADDRESS ON FILE
COLLAZO ROSA, RAMON            ADDRESS ON FILE
COLLAZO ROSA, SHEILA           ADDRESS ON FILE
COLLAZO ROSADO, CLARIBEL       ADDRESS ON FILE
COLLAZO ROSADO, ELIS           ADDRESS ON FILE
COLLAZO ROSADO, ELIZABETH      ADDRESS ON FILE
COLLAZO ROSADO, JEAN M         ADDRESS ON FILE
COLLAZO ROSADO, JORGE          ADDRESS ON FILE
Collazo Rosado, Jorge J        ADDRESS ON FILE
COLLAZO ROSADO, LUZ ZENAIDA    ADDRESS ON FILE
COLLAZO ROSADO, MARIA D        ADDRESS ON FILE




                                                                           Page 1589 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1590 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO ROSADO, MONICA          ADDRESS ON FILE
COLLAZO ROSADO, OLGA I          ADDRESS ON FILE
COLLAZO ROSADO, RAYMOND         ADDRESS ON FILE
COLLAZO ROSADO, RUTH            ADDRESS ON FILE
COLLAZO ROSADO, RUTH            ADDRESS ON FILE
Collazo Rosado, Wanda           ADDRESS ON FILE
COLLAZO ROSADO, WILDELY         ADDRESS ON FILE
Collazo Rosales, Alexis A.      ADDRESS ON FILE
COLLAZO ROSARIO, ALICIA         ADDRESS ON FILE
COLLAZO ROSARIO, ANIBAL         ADDRESS ON FILE
COLLAZO ROSARIO, ANTHONY        ADDRESS ON FILE
COLLAZO ROSARIO, AWILDA         ADDRESS ON FILE
COLLAZO ROSARIO, AWILDA         ADDRESS ON FILE
COLLAZO ROSARIO, AWILDA         ADDRESS ON FILE
COLLAZO ROSARIO, CARMEN R       ADDRESS ON FILE
COLLAZO ROSARIO, EDWIN          ADDRESS ON FILE
COLLAZO ROSARIO, GENARO         ADDRESS ON FILE
Collazo Rosario, Javier         ADDRESS ON FILE
COLLAZO ROSARIO, JONATHAN       ADDRESS ON FILE
COLLAZO ROSARIO, LUIS E         ADDRESS ON FILE
COLLAZO ROSARIO, MANUEL         ADDRESS ON FILE
COLLAZO ROSARIO, WILLIAM        ADDRESS ON FILE
COLLAZO ROSARIO, YOLANDA        ADDRESS ON FILE
COLLAZO RUIZ, CELSO             ADDRESS ON FILE
COLLAZO RUIZ, IRIS A            ADDRESS ON FILE
COLLAZO RUIZ, JORGE L           ADDRESS ON FILE
COLLAZO RUIZ, MARTA             ADDRESS ON FILE
COLLAZO SAEZ, ELIZABETH         ADDRESS ON FILE
Collazo Salas, Jose B           ADDRESS ON FILE
COLLAZO SALOME, HERMINIO        ADDRESS ON FILE
COLLAZO SALOME, JOANNA          ADDRESS ON FILE
COLLAZO SALOME, WANDA E         ADDRESS ON FILE
COLLAZO SANCHEZ, ANA            ADDRESS ON FILE
COLLAZO SANCHEZ, GLORIA         ADDRESS ON FILE
COLLAZO SANCHEZ, JENNY          ADDRESS ON FILE
COLLAZO SANCHEZ, JOSE E.        ADDRESS ON FILE
COLLAZO SANCHEZ, KEVIN          ADDRESS ON FILE
COLLAZO SANCHEZ, LUIS           ADDRESS ON FILE
COLLAZO SANCHEZ, MARIBEL        ADDRESS ON FILE
COLLAZO SANCHEZ, MIGUEL         ADDRESS ON FILE
COLLAZO SANCHEZ, ROSA L         ADDRESS ON FILE
COLLAZO SANTANA, HARRY W        ADDRESS ON FILE
COLLAZO SANTANA, HENRY          ADDRESS ON FILE
Collazo Santana, Salomon Jr     ADDRESS ON FILE
COLLAZO SANTIAGO, AMARILYS      ADDRESS ON FILE
COLLAZO SANTIAGO, ANTONIO       ADDRESS ON FILE
COLLAZO SANTIAGO, CLARITZA      ADDRESS ON FILE
COLLAZO SANTIAGO, DIANA         ADDRESS ON FILE
COLLAZO SANTIAGO, DIARIS E      ADDRESS ON FILE
COLLAZO SANTIAGO, ELIZABETH     ADDRESS ON FILE
COLLAZO SANTIAGO, ELLIOTT A     ADDRESS ON FILE
COLLAZO SANTIAGO, EMMANUEL E.   ADDRESS ON FILE
COLLAZO SANTIAGO, FERNANDO      ADDRESS ON FILE
Collazo Santiago, Fidel A       ADDRESS ON FILE
COLLAZO SANTIAGO, FRANCISCO     ADDRESS ON FILE
COLLAZO SANTIAGO, GLENDA L.     ADDRESS ON FILE
COLLAZO SANTIAGO, GLORIA        ADDRESS ON FILE
COLLAZO SANTIAGO, HECTOR        ADDRESS ON FILE
COLLAZO SANTIAGO, JAIME L       ADDRESS ON FILE
COLLAZO SANTIAGO, JOANNE        ADDRESS ON FILE




                                                                            Page 1590 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1591 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Collazo Santiago, Jose A      ADDRESS ON FILE
COLLAZO SANTIAGO, JOSUE       ADDRESS ON FILE
COLLAZO SANTIAGO, JUAN        ADDRESS ON FILE
COLLAZO SANTIAGO, JUAN C      ADDRESS ON FILE
COLLAZO SANTIAGO, LEYDA       ADDRESS ON FILE
COLLAZO SANTIAGO, MARCOS      ADDRESS ON FILE
COLLAZO SANTIAGO, MIGUEL      ADDRESS ON FILE
COLLAZO SANTIAGO, NILDA E     ADDRESS ON FILE
COLLAZO SANTIAGO, OMAR        ADDRESS ON FILE
Collazo Santiago, Raul        ADDRESS ON FILE
COLLAZO SANTIAGO, RAUL        ADDRESS ON FILE
COLLAZO SANTIAGO, ROSA I      ADDRESS ON FILE
COLLAZO SANTIAGO, SAMUEL      ADDRESS ON FILE
COLLAZO SANTIAGO, SANDRA M    ADDRESS ON FILE
COLLAZO SANTIAGO, SERGIO      ADDRESS ON FILE
COLLAZO SANTIAGO, WILLIAM     ADDRESS ON FILE
COLLAZO SANTIAGO, YAMARI      ADDRESS ON FILE
COLLAZO SANTIAGO, ZULMA       ADDRESS ON FILE
COLLAZO SANTINI, GERARDO      ADDRESS ON FILE
COLLAZO SANTINI, LIZ I        ADDRESS ON FILE
COLLAZO SANTINI, LUZ E        ADDRESS ON FILE
COLLAZO SANTOS, BETHZAIDA     ADDRESS ON FILE
COLLAZO SANTOS, DAYANIRA      ADDRESS ON FILE
COLLAZO SANTOS, ESTHER        ADDRESS ON FILE
COLLAZO SANTOS, FELISA        ADDRESS ON FILE
COLLAZO SANTOS, FRANCISCO L   ADDRESS ON FILE
COLLAZO SANTOS, GILBERTO      ADDRESS ON FILE
COLLAZO SANTOS, JOSE          ADDRESS ON FILE
COLLAZO SANTOS, JUDITH        ADDRESS ON FILE
COLLAZO SANTOS, LOURDES J.    ADDRESS ON FILE
COLLAZO SANTOS, LUZ Z         ADDRESS ON FILE
COLLAZO SANTOS, MAILYN        ADDRESS ON FILE
COLLAZO SANTOS, MARIA C       ADDRESS ON FILE
COLLAZO SANTOS, MYRTA L       ADDRESS ON FILE
COLLAZO SANTOS, PAULA         ADDRESS ON FILE
COLLAZO SANTOS, RAMONITA      ADDRESS ON FILE
COLLAZO SANTOS, WANDA I.      ADDRESS ON FILE
COLLAZO SANTOS, YESICA E      ADDRESS ON FILE
COLLAZO SEGARRA, DULIMAR      ADDRESS ON FILE
COLLAZO SEGARRA, HEIDY M      ADDRESS ON FILE
COLLAZO SEGARRA, ZULLIET      ADDRESS ON FILE
COLLAZO SEGUINOT, ERIC        ADDRESS ON FILE
COLLAZO SEGUINOT, MARTA       ADDRESS ON FILE
COLLAZO SEPULVEDA, DANNY      ADDRESS ON FILE
COLLAZO SEPULVEDA, DANNY      ADDRESS ON FILE
COLLAZO SEPULVEDA, JAVIER     ADDRESS ON FILE
COLLAZO SEPULVEDA, JAVIER     ADDRESS ON FILE
COLLAZO SEPULVEDA, JUAN       ADDRESS ON FILE
COLLAZO SERRANO, JACQUELINE   ADDRESS ON FILE
COLLAZO SERRANO, JOEL         ADDRESS ON FILE
COLLAZO SERRANO, JOSE A       ADDRESS ON FILE
Collazo Serrano, Michael      ADDRESS ON FILE
COLLAZO SIERRA, CLAIRE        ADDRESS ON FILE
COLLAZO SIERRA, JOSE          ADDRESS ON FILE
COLLAZO SIERRA, LUIS          ADDRESS ON FILE
COLLAZO SIERRA, MIGUEL        ADDRESS ON FILE
COLLAZO SIERRA, MONICA        ADDRESS ON FILE
COLLAZO SILVA, ASTRID C       ADDRESS ON FILE
COLLAZO SILVA, JOSE           ADDRESS ON FILE
COLLAZO SILVA, KEILA Y        ADDRESS ON FILE




                                                                          Page 1591 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1592 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO SILVA, LUIS E          ADDRESS ON FILE
COLLAZO SOLIS, JOSE CARLOS     ADDRESS ON FILE
Collazo Soto, Jose             ADDRESS ON FILE
COLLAZO SOTO, JOSE J.          ADDRESS ON FILE
COLLAZO SOTO, LINDA R          ADDRESS ON FILE
COLLAZO SOTO, MARIA            ADDRESS ON FILE
COLLAZO SOTO, OSCAR            ADDRESS ON FILE
COLLAZO SOTO, RODOLFO          ADDRESS ON FILE
COLLAZO SOTO, YANISSE M        ADDRESS ON FILE
COLLAZO STHEA, ALAIN           ADDRESS ON FILE
COLLAZO SUAREZ, MADELINE       ADDRESS ON FILE
COLLAZO SUAREZ, MARIA L        ADDRESS ON FILE
COLLAZO SUAREZ, MARIBEL        ADDRESS ON FILE
COLLAZO SUAREZ, MARIBEL        ADDRESS ON FILE
COLLAZO SUEIRAS, JESSICA J     ADDRESS ON FILE
COLLAZO TARRIO, ESTHER M       ADDRESS ON FILE
COLLAZO TIRADO MD, MILTON R    ADDRESS ON FILE
COLLAZO TIRADO, ELBA           ADDRESS ON FILE
COLLAZO TIRADO, MARIA E        ADDRESS ON FILE
COLLAZO TIRADO, OSVALDO        ADDRESS ON FILE
COLLAZO TORO, AGNES            ADDRESS ON FILE
COLLAZO TORRES, ANA M          ADDRESS ON FILE
COLLAZO TORRES, ANDREA         ADDRESS ON FILE
COLLAZO TORRES, ANGEL          ADDRESS ON FILE
COLLAZO TORRES, ANGEL MANUEL   ADDRESS ON FILE
COLLAZO TORRES, ARACELIS       ADDRESS ON FILE
COLLAZO TORRES, BRENDA I       ADDRESS ON FILE
COLLAZO TORRES, EDUARDO        ADDRESS ON FILE
COLLAZO TORRES, ERIC R         ADDRESS ON FILE
COLLAZO TORRES, FELISA         ADDRESS ON FILE
COLLAZO TORRES, FRANCISCA      ADDRESS ON FILE
COLLAZO TORRES, GUDELIA        ADDRESS ON FILE
Collazo Torres, Heriberto      ADDRESS ON FILE
COLLAZO TORRES, IRMA           ADDRESS ON FILE
COLLAZO TORRES, ISRAEL         ADDRESS ON FILE
COLLAZO TORRES, ISRAEL         ADDRESS ON FILE
COLLAZO TORRES, ISRAEL         ADDRESS ON FILE
COLLAZO TORRES, ITSA NOREL     ADDRESS ON FILE
Collazo Torres, Ivan           ADDRESS ON FILE
COLLAZO TORRES, JAKELINE       ADDRESS ON FILE
COLLAZO TORRES, JENNIFFER      ADDRESS ON FILE
COLLAZO TORRES, JORGE L        ADDRESS ON FILE
COLLAZO TORRES, JOSE           ADDRESS ON FILE
COLLAZO TORRES, LIZ            ADDRESS ON FILE
COLLAZO TORRES, LIZ J.         ADDRESS ON FILE
Collazo Torres, Luis E         ADDRESS ON FILE
COLLAZO TORRES, LUZ E          ADDRESS ON FILE
Collazo Torres, Menai          ADDRESS ON FILE
COLLAZO TORRES, MIRNA E        ADDRESS ON FILE
COLLAZO TORRES, NELLIANN       ADDRESS ON FILE
COLLAZO TORRES, OLGA           ADDRESS ON FILE
COLLAZO TORRES, PAOLA          ADDRESS ON FILE
COLLAZO TORRES, PEDRO          ADDRESS ON FILE
COLLAZO TORRES, SALVADOR       ADDRESS ON FILE
COLLAZO TORRES, VICTOR         ADDRESS ON FILE
COLLAZO TORRES, VICTOR M       ADDRESS ON FILE
COLLAZO TORRES, WANDA L.       ADDRESS ON FILE
COLLAZO TORRES, ZAYONARA       ADDRESS ON FILE
COLLAZO TRABAL, BRYAN          ADDRESS ON FILE
Collazo Trevino, Ruben         ADDRESS ON FILE




                                                                           Page 1592 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1593 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLLAZO TREVINO, RUBEN          ADDRESS ON FILE
COLLAZO TROCHE, ELVIN           ADDRESS ON FILE
COLLAZO VALENTIN, MIGUEL        ADDRESS ON FILE
COLLAZO VALENTIN, MIRKA         ADDRESS ON FILE
COLLAZO VALENTIN, MIRKA M.      ADDRESS ON FILE
Collazo Valera, Roberto         ADDRESS ON FILE
COLLAZO VALERA, SONIA           ADDRESS ON FILE
COLLAZO VALES, RICHARD          ADDRESS ON FILE
COLLAZO VALLES, LAURA I         ADDRESS ON FILE
Collazo Vargas, Janet           ADDRESS ON FILE
Collazo Vargas, Luis            ADDRESS ON FILE
COLLAZO VARGAS, MARIA           ADDRESS ON FILE
COLLAZO VARGAS, OSCAR           ADDRESS ON FILE
Collazo Vargas, Victor M        ADDRESS ON FILE
COLLAZO VARGAS, WILMA           ADDRESS ON FILE
COLLAZO VAZQUEZ, CARLOS         ADDRESS ON FILE
COLLAZO VAZQUEZ, CARMEN         ADDRESS ON FILE
COLLAZO VAZQUEZ, CARMEN I       ADDRESS ON FILE
COLLAZO VAZQUEZ, CARMEN I.      ADDRESS ON FILE
COLLAZO VAZQUEZ, EDGARDO        ADDRESS ON FILE
COLLAZO VAZQUEZ, ELIZABETH      ADDRESS ON FILE
COLLAZO VAZQUEZ, ENRIQUE        ADDRESS ON FILE
COLLAZO VAZQUEZ, FRANCES        ADDRESS ON FILE
COLLAZO VAZQUEZ, GENESIS        ADDRESS ON FILE
COLLAZO VAZQUEZ, HECTOR         ADDRESS ON FILE
COLLAZO VAZQUEZ, ILUMINADO      ADDRESS ON FILE
COLLAZO VAZQUEZ, ISABEL         ADDRESS ON FILE
COLLAZO VAZQUEZ, JOSE           ADDRESS ON FILE
Collazo Vazquez, Juan           ADDRESS ON FILE
COLLAZO VAZQUEZ, JUAN A         ADDRESS ON FILE
COLLAZO VAZQUEZ, LISSBELL       ADDRESS ON FILE
COLLAZO VAZQUEZ, LISSBELL       ADDRESS ON FILE
COLLAZO VAZQUEZ, MAGDALY        ADDRESS ON FILE
COLLAZO VAZQUEZ, MELISSA        ADDRESS ON FILE
Collazo Vazquez, Miguel A       ADDRESS ON FILE
COLLAZO VAZQUEZ, MIOSOTIS       ADDRESS ON FILE
COLLAZO VAZQUEZ, MIRIAM         ADDRESS ON FILE
COLLAZO VAZQUEZ, NORMA I        ADDRESS ON FILE
COLLAZO VAZQUEZ, RAMON ARTURO   ADDRESS ON FILE
COLLAZO VAZQUEZ, RAQUEL         ADDRESS ON FILE
COLLAZO VAZQUEZ, RAUL           ADDRESS ON FILE
COLLAZO VAZQUEZ, RAUL A         ADDRESS ON FILE
COLLAZO VAZQUEZ, RITA           ADDRESS ON FILE
Collazo Vazquez, Victor M       ADDRESS ON FILE
COLLAZO VAZQUEZ, YOLANDA        ADDRESS ON FILE
COLLAZO VEGA, EVELYN            ADDRESS ON FILE
COLLAZO VEGA, JORGE A           ADDRESS ON FILE
COLLAZO VEGA, JOSE I            ADDRESS ON FILE
COLLAZO VEGA, MARIELA           ADDRESS ON FILE
COLLAZO VEGA, MARIELI           ADDRESS ON FILE
COLLAZO VEGA, MARISELL          ADDRESS ON FILE
COLLAZO VEGA, VIVIANA N         ADDRESS ON FILE
COLLAZO VELAZQUEZ, JAMES        ADDRESS ON FILE
COLLAZO VELEZ, ANGEL            ADDRESS ON FILE
COLLAZO VELEZ, HECTOR           ADDRESS ON FILE
COLLAZO VELEZ, JONATHAN         ADDRESS ON FILE
COLLAZO VELEZ, JORGE F          ADDRESS ON FILE
COLLAZO VELEZ, LUIS             ADDRESS ON FILE
COLLAZO VELEZ,HECTOR            ADDRESS ON FILE
Collazo Vicente, Carlos A       ADDRESS ON FILE




                                                                            Page 1593 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1594 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                         Address1                  Address2                                   Address3   Address4   City              State   PostalCode   Country
COLLAZO VICENTE, CARLOS E.            ADDRESS ON FILE
COLLAZO VICENTE, HAROLD               ADDRESS ON FILE
COLLAZO VICENTE, JOSE                 ADDRESS ON FILE
COLLAZO VICENTY, JOSE CELSO           ADDRESS ON FILE
COLLAZO VIDOT, ORMARIE                ADDRESS ON FILE
COLLAZO VILLAFANE, JESUS              ADDRESS ON FILE
COLLAZO VILLAFANE, LILLIAN            ADDRESS ON FILE
COLLAZO VILLEGAS, DENISSE             ADDRESS ON FILE
COLLAZO VILLEGAS, NANCY               ADDRESS ON FILE
COLLAZO VIRUET, ABIGAIL               ADDRESS ON FILE
COLLAZO VIRUET, EFRAIN                ADDRESS ON FILE
COLLAZO VIRUET, EFRAIN                ADDRESS ON FILE
COLLAZO WARSCHKUN, ENRIQUE            ADDRESS ON FILE
COLLAZO WARSCHKUN, JESSIKA M          ADDRESS ON FILE
COLLAZO WARSCHKUN, RICARDO            ADDRESS ON FILE
COLLAZO WILLIAM, JOSE                 ADDRESS ON FILE
Collazo Williams, Jose E.             ADDRESS ON FILE
COLLAZO YAMBO, FRANCHESKA             ADDRESS ON FILE
COLLAZO YAMBO, FRANCISCO              ADDRESS ON FILE
COLLAZO YAMBO, LILIALIS               ADDRESS ON FILE
COLLAZO ZAYAS, CARLOS                 ADDRESS ON FILE
COLLAZO ZAYAS, EMERITO                ADDRESS ON FILE
COLLAZO ZENGOTITA, NILSA              ADDRESS ON FILE
COLLAZO, CARLOS E                     ADDRESS ON FILE
COLLAZO, ELIZABETH                    ADDRESS ON FILE
Collazo, Jorge W                      ADDRESS ON FILE
COLLAZO, JOSE                         ADDRESS ON FILE
COLLAZO, JOSE A                       ADDRESS ON FILE
COLLAZO, JOSE I.                      ADDRESS ON FILE
COLLAZO, JOSE L.                      ADDRESS ON FILE
COLLAZO, JUAN                         ADDRESS ON FILE
COLLAZO, KEVIN I                      ADDRESS ON FILE
COLLAZO, LISA ANN                     ADDRESS ON FILE
COLLAZO, LYDIA E                      ADDRESS ON FILE
COLLAZO, MARIA                        ADDRESS ON FILE
COLLAZO, MARIA                        ADDRESS ON FILE
COLLAZO, MARIA DE L.                  ADDRESS ON FILE
COLLAZO, MARTIN                       ADDRESS ON FILE
COLLAZOHUERTAS, DANIEL O.             ADDRESS ON FILE
COLLAZOPADIN, DEBBIEAN                ADDRESS ON FILE
COLLAZORESTO, MIGUEL A                ADDRESS ON FILE
COLLAZOREYES, LUIS A                  ADDRESS ON FILE
COLLAZORIVERA, BENJAMIN               ADDRESS ON FILE
COLLAZORIVERA, CECILIA                ADDRESS ON FILE
COLLAZO‐RODRIGUEZ, RAFAEL A.          ADDRESS ON FILE
COLLAZO‐RODRIGUEZ, RAFAEL A.          ADDRESS ON FILE
COLLAZOS CASTRO, JANETH               ADDRESS ON FILE
COLLAZOS MARRERO, HELI                ADDRESS ON FILE
COLLECT ANDUJAR, ROBERTO              ADDRESS ON FILE
COLLECTA CORPORATION                  89 DE DIEGO, SUITE 105    PMB 719                                                          SAN JUAN          PR      00927‐6370
COLLECTION ADVISEMENT AND ASSOC INC   PO BOX 108                                                                                 TRUJILLO ALTO     PR      00977‐0108
COLLECTION AND MAN ASSISTANCE INC     EDIF CAPITAL CTR I        239 AVE ARTERIAL HOSTOS STE 1102                                 SAN JUAN          PR      00918
COLLECTION GROUP SERVICE INC          VALLE DE ARAMANA          43 CALLE POMARROSA                                               COROZAL           PR      00783
COLLEEN TURRENTINE                    ADDRESS ON FILE
COLLEGE PARK CENTRO PRE ESCOLAR INC   PMB 637                   267 SIERRA MORENA ST                                             SAN JUAN          PR      00926‐5583
COLLET ECHEVARRIA, MARICARMEN         ADDRESS ON FILE
Collet Estremera, Marisol             ADDRESS ON FILE
COLLET ESTREMERA, PEDRO LUIS          ADDRESS ON FILE
COLLET MEDINA, MYRTA                  ADDRESS ON FILE
COLLET MELENDEZ, NORMA                ADDRESS ON FILE




                                                                                            Page 1594 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1595 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                        Address1                    Address2                                   Address3   Address4   City              State   PostalCode   Country
COLLET PADILLA, JUAN D               ADDRESS ON FILE
COLLET RODRIGUEZ, LUIS F             ADDRESS ON FILE
COLLET SANTOS, YESENIA               ADDRESS ON FILE
COLLIER NEUROLOGIC SPECIALIST        8344 CLAIREMONT MESA BLVD   SUITE 201                                                        SAN DIEGO         CA      92111
COLLIER, ANN                         ADDRESS ON FILE
Collier, Ann Marie                   ADDRESS ON FILE
COLLIN BRYAN K                       ADDRESS ON FILE
COLLINA PARODI, LUDOVICA             ADDRESS ON FILE
COLLINS ALMAGUER, ROBERT             ADDRESS ON FILE
COLLINS RIVERA, ANA LUZ              ADDRESS ON FILE
COLLINS SCHRINER, TIMOTHY            ADDRESS ON FILE
COLLINS SURGICAL ASSOCIATES          290 COLLINS ST                                                                               HARTFORD          CT      06105
COLLOSA CORP                         URB TORRIMAR                B31 CALLE RIDGEWOOD                                              GUAYNABO          PR      00966‐3134
COLLS COLON, LIMARIE                 ADDRESS ON FILE
COLLS MELENDEZ, RADECK               ADDRESS ON FILE
COLM CAFETIN LA PALOMA               URB EDUARDO SALDANA         J 28 CALLE RAMON QUINONES                                        CAROLINA          PR      00983
COLM SAN VICENTE FERRER              P O BOX 455                                                                                  CATANO            PR      00962
COLMADO & BAR PADRO                  30 CALLE LUIS QUINONES                                                                       GUANICA           PR      00653
COLMADO BAR EL CACULITO              CALLE ALFREDO MARRERO 52                                                                     AIBONITO          PR      00705
COLMADO CAFETERIA AND DULLERS LUGO   PO BOX 1002                                                                                  SABANA GRANDE     PR      00637‐1002
COLMADO CAFETIN EL CAOBO             CALLE CERRO 8               URB ALTURAS DE MONTECASINO                                       TOA ALTA          PR      00953
COLMADO EMANELLI                     147 CALLE MUNOZ RIVERA                                                                       GUAYANILLA        PR      00626
COLMADO LA DOLORES INC               URB LOS ARBOLES             488 CALLE CAPAPRIETO                                             RIO GRANDE        PR      00745‐5324
COLMADO QUINONES/GREEN SOLAR PR      55 CALLE TENDAL                                                                              YAUCO             PR      00698
COLMADO RIVERA                       AREA DEL TESORO             DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
COLMADO RIVERA                       URB REXVILLE                K 8 CALLE 9                                                      BAYAMON           PR      00957
COLMADO VIRUET                       ESQUINA CONSTITUCION        1183 CALLE CANADA                                                SAN JUAN          PR      00920
COLMADO Y FERR MALDONADO             BO LLANADA                  CARR 446 KM 5 1 BOX 4‐176                                        ISABELA           PR      00662
Colmado Y Ferreteria Ismael Castro   Principal #1                                                                                 Rio Grande        PR      00745
Colmenares Aviles, Milton R          ADDRESS ON FILE
Colmenares Jimenez, Carlos M         ADDRESS ON FILE
Colmenares Jimenez, Marta M          ADDRESS ON FILE
COLMENARES PEREZ, FRANCISCO J.       ADDRESS ON FILE
COLMENARES RAMIREZ, OMAR             ADDRESS ON FILE
COLMENARES RIVERA, SANDRA            ADDRESS ON FILE
COLMENARES SANCHEZ, LUZ              ADDRESS ON FILE
COLMENARES SANCHEZ, LUZ E.           ADDRESS ON FILE
COLMENARES VELAZQUEZ, WALLACE        ADDRESS ON FILE
COLMENARES, WALLESKA                 ADDRESS ON FILE
COLMENERO FERNANDEZ, MIGUEL          ADDRESS ON FILE
COLMENERO MENDEZ, IVONNE             ADDRESS ON FILE
COLMENERO RAMOS, NESTOR              ADDRESS ON FILE
COLMENERO, CARLOS                    ADDRESS ON FILE
COLMORE, TYRONE                      ADDRESS ON FILE
COLOLAZO CASIANO, MILTON             ADDRESS ON FILE
COLOM BAEZ, MARIA DE LOS A.          ADDRESS ON FILE
COLOM BARRETO, MARTA A               ADDRESS ON FILE
COLOM BRANA, GLORIA M.               ADDRESS ON FILE
COLOM COMAS, VICENTE                 ADDRESS ON FILE
COLOM CORDERO, ARLENE                ADDRESS ON FILE
COLOM CORDERO, ARLENE                ADDRESS ON FILE
COLOM CORDERO, ARLENE                ADDRESS ON FILE
COLOM CORDERO, BETSY                 ADDRESS ON FILE
COLOM CRUZ, OSCAR                    ADDRESS ON FILE
COLOM FIGUEROA, JOSE                 ADDRESS ON FILE
COLOM GARCIA, LUISA M.               ADDRESS ON FILE
COLOM GEITZ, ANDRES                  ADDRESS ON FILE
COLOM GEITZ, FERNANDO                ADDRESS ON FILE
COLOM GONZALEZ, CARMEN L.            ADDRESS ON FILE
COLOM GONZALEZ, RAMON                ADDRESS ON FILE




                                                                                             Page 1595 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1596 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                            Address2                              Address3   Address4   City              State   PostalCode   Country
COLOM LEBRON, MIGUEL A.                  ADDRESS ON FILE
COLOM MALDONADO, MIGUEL A                ADDRESS ON FILE
COLOM MEDINA, ESTHER                     ADDRESS ON FILE
Colom Nieves, Ketty M                    ADDRESS ON FILE
COLOM O FERRAL, MARIA                    ADDRESS ON FILE
COLOM O'NEIL, CARMEN M                   ADDRESS ON FILE
COLOM ORTIZ, FERNANDO                    ADDRESS ON FILE
COLOM REYES, MARIA M                     ADDRESS ON FILE
COLOM RIOS, EMMA I                       ADDRESS ON FILE
COLOM RODRIGUEZ, ANTONIO                 ADDRESS ON FILE
Colom Rodriguez, Jaime M.                ADDRESS ON FILE
COLOM SALCEDO, CARMEN                    ADDRESS ON FILE
COLOM SOLIVAN, SANTIAGO                  ADDRESS ON FILE
COLOM USTARIZ, JOSE                      ADDRESS ON FILE
COLOMBA BURGOS, RAFAEL                   ADDRESS ON FILE
COLOMBA LOZADA, ROSA                     ADDRESS ON FILE
COLOMBA RIVERA, JUAN L                   ADDRESS ON FILE
COLOMBA RIVERA, RAFAEL                   ADDRESS ON FILE
COLOMBA SANCHEZ, TAHNIA L                ADDRESS ON FILE
COLOMBA VAZQUEZ, LUIS                    ADDRESS ON FILE
COLOMBANI BERMUDEZ, LESLIE O             ADDRESS ON FILE
COLOMBANI BERMUDEZ, LIZVETTE             ADDRESS ON FILE
COLOMBANI COLOMBANI, GILBERTO            ADDRESS ON FILE
COLOMBANI COLOMBANI, GRACESHA            ADDRESS ON FILE
COLOMBANI FELICIANO, CARLOS              ADDRESS ON FILE
COLOMBANI FENEQUE, NOEMI                 ADDRESS ON FILE
COLOMBANI GONZALEZ, CARLOS               ADDRESS ON FILE
COLOMBANI GONZALEZ, EFRAIN               ADDRESS ON FILE
COLOMBANI LORENZO MD, HECTOR J           ADDRESS ON FILE
COLOMBANI MALDONADO, CARMEN J            ADDRESS ON FILE
COLOMBANI MERCADO, ISMAEL                ADDRESS ON FILE
COLOMBANI MUNOZ, ELIA                    ADDRESS ON FILE
COLOMBANI PAGAN, OMAR I.                 ADDRESS ON FILE
COLOMBANI PEREZ, URAYOAN                 ADDRESS ON FILE
COLOMBANI PIZARRO, ALEXIS                ADDRESS ON FILE
COLOMBANI PIZARRO, ZULEIKA               ADDRESS ON FILE
COLOMBANY LOPEZ, JUANITA I               ADDRESS ON FILE
COLOMBO JIMENEZ, FERNANDO                ADDRESS ON FILE
COLOMBO PEREZ, NANCY P                   ADDRESS ON FILE
COLOMBUS SECURITY GUARD INC              PO BOX 492                                                                                      SAINT JUST        PR      00978
COLOMBUS SECURITY GUARD INC              URB SAGRADO CORAZON                 384 AVE SAN CLAUDIO                                         SAN JUAN          PR      00926
COLOME CANCEL, CHRISTINA                 ADDRESS ON FILE
COLOME FIGUEROA, DORIANNE                ADDRESS ON FILE
COLOME R & SUAREZ INC                    BOX 11351 CAPARRA HEIGHTS STATION                                                               SAN JUAN          PR      00922‐1351
COLOMER & SUAREZ INC                     PO BOX 11351                                                                                    SAN JUAN          PR      00922‐1351
COLOMER COAMAQO, EVELYN                  ADDRESS ON FILE
COLOMER HERNANDEZ, JORGE J.              ADDRESS ON FILE
COLOMER HERNANDEZ, SARAH G               ADDRESS ON FILE
COLOMER MONTES MD, ALBERTO               ADDRESS ON FILE
COLOMER MONTES, JORGE                    ADDRESS ON FILE
COLOMER ORTIZ, CESAR                     ADDRESS ON FILE
COLOMER VIDAL, PEDRO                     ADDRESS ON FILE
COLON LAUREANO, JESSICA C                ADDRESS ON FILE
COLON MAGES, VICTOR M.                   ADDRESS ON FILE
COLON PONCE INC                          URB ALTAMESA                        1307 AVE SAN ALFONSO                                        SAN JUAN          PR      00921‐3622
COLON & COLON PSC                        P O BOX 9023355                                                                                 SAN JUAN          PR      00902‐3355
COLON & FELIX ENGINEERING SERVICES INC   PO BOX 5189                                                                                     CAGUAS            PR      00726‐5189
COLON & RECTAL SPECIALISTS               661 E ALTAMONTE 120                                                                             ALTAMONTE SPRGS   FL      32701
COLON ABOLAFIA, CELESTE AIDA             ADDRESS ON FILE
COLON ABOLAFIA, OSCAR                    ADDRESS ON FILE




                                                                                                    Page 1596 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1597 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ABREU, ROSA E        ADDRESS ON FILE
COLON ABREU, ROSA E.       ADDRESS ON FILE
COLON ACCETTA, ANIBAL      ADDRESS ON FILE
COLON ACEVEDO, ADA M       ADDRESS ON FILE
COLON ACEVEDO, ALBERTO L   ADDRESS ON FILE
COLON ACEVEDO, ARMANDO     ADDRESS ON FILE
Colon Acevedo, Benjamin    ADDRESS ON FILE
COLON ACEVEDO, CARLOS      ADDRESS ON FILE
COLON ACEVEDO, DAMARIS     ADDRESS ON FILE
COLON ACEVEDO, EDWARD      ADDRESS ON FILE
COLON ACEVEDO, ETANISLAO   ADDRESS ON FILE
COLON ACEVEDO, HECTOR M.   ADDRESS ON FILE
COLON ACEVEDO, HERIBERTO   ADDRESS ON FILE
COLON ACEVEDO, HERIBERTO   ADDRESS ON FILE
COLON ACEVEDO, HERIBERTO   ADDRESS ON FILE
COLON ACEVEDO, ISMAEL      ADDRESS ON FILE
COLON ACEVEDO, JEISELA     ADDRESS ON FILE
COLON ACEVEDO, JEISELA     ADDRESS ON FILE
COLON ACEVEDO, JESUS       ADDRESS ON FILE
COLON ACEVEDO, JOSE M.     ADDRESS ON FILE
Colon Acevedo, Marcos A.   ADDRESS ON FILE
COLON ACEVEDO, MARILYN     ADDRESS ON FILE
COLON ACEVEDO, NELSON      ADDRESS ON FILE
COLON ACEVEDO, ROLANDO     ADDRESS ON FILE
COLON ACEVEDO, YOLANDA     ADDRESS ON FILE
COLON ACOSTA, CARMELO      ADDRESS ON FILE
COLON ACOSTA, CLAUDIA      ADDRESS ON FILE
COLON ACOSTA, CLAUDIA E    ADDRESS ON FILE
COLON ACOSTA, FELIX        ADDRESS ON FILE
COLON ACOSTA, GERARDO      ADDRESS ON FILE
COLON ACOSTA, GLENDALY     ADDRESS ON FILE
COLON ACOSTA, MIGDALIA     ADDRESS ON FILE
COLON ACOSTA, VILMA        ADDRESS ON FILE
COLON ACOSTA, YONOUSE      ADDRESS ON FILE
COLON ADORNO, CARMEN       ADDRESS ON FILE
COLON ADORNO, CARMEN M     ADDRESS ON FILE
COLON ADORNO, JOEL         ADDRESS ON FILE
COLON ADORNO, LYMARI       ADDRESS ON FILE
COLON ADORNO, SONIA        ADDRESS ON FILE
COLON ADORNO, YAMARIS      ADDRESS ON FILE
COLON AGOSTO               ADDRESS ON FILE
COLON AGOSTO, ADA L        ADDRESS ON FILE
COLON AGOSTO, ALTAGRACIA   ADDRESS ON FILE
COLON AGOSTO, IRAIDA E     ADDRESS ON FILE
COLON AGOSTO, JAVIER       ADDRESS ON FILE
COLON AGOSTO, LYNETTE      ADDRESS ON FILE
COLON AGOSTO, MARCO A      ADDRESS ON FILE
COLON AGOSTO, NATALIA      ADDRESS ON FILE
COLON AGOSTO, NORMA        ADDRESS ON FILE
COLON AGOSTO, ROSE         ADDRESS ON FILE
COLON AGOSTO, SANDRA       ADDRESS ON FILE
COLON AGOSTO, YOHAN        ADDRESS ON FILE
COLON AGRON, ANGEL         ADDRESS ON FILE
COLON AGUAYO, EDITH M      ADDRESS ON FILE
COLON AGUAYO, JULITA       ADDRESS ON FILE
COLON AGUAYO, MARIA M      ADDRESS ON FILE
COLON AGUIAR, CARMEN R     ADDRESS ON FILE
COLON AGUILA, ANA L        ADDRESS ON FILE
COLON AGUILAR, NANCY       ADDRESS ON FILE
COLON AGUIRRE, ALMA        ADDRESS ON FILE




                                                                       Page 1597 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1598 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                      Address1                  Address2                                  Address3   Address4   City          State   PostalCode   Country
COLON AGUIRRE, ALMA                ADDRESS ON FILE
COLON AGUIRRE, EDGAR               ADDRESS ON FILE
COLON AGUIRRE, LUIS                ADDRESS ON FILE
Colon Aguirre, Marcos              ADDRESS ON FILE
COLON AIR CONDITIONING             MUNOZ RIVERA              163 CALLE BETANCES PARC BETANCES                                CABO ROJO     PR      00623
COLON AIZPRUA, JAVIER              ADDRESS ON FILE
COLON ALAMO, CARLOS                ADDRESS ON FILE
COLON ALAMO, EMANUEL               ADDRESS ON FILE
COLON ALAMO, ESTHER                ADDRESS ON FILE
COLON ALAMO, LYDIA E               ADDRESS ON FILE
COLON ALAMO, MILAGROS J            ADDRESS ON FILE
Colon Alamo, Omar G.               ADDRESS ON FILE
COLON ALAMO, SUHAILL M             ADDRESS ON FILE
COLON ALBALADEJO, LUIS FRANCISCO   ADDRESS ON FILE
COLON ALBERTORIO, EMILY            ADDRESS ON FILE
COLON ALBERTORIO, EMILY            ADDRESS ON FILE
COLON ALBINANA, CARLOS             ADDRESS ON FILE
COLON ALBINO, NILMARIE             ADDRESS ON FILE
COLON ALBINO, ODALIS               ADDRESS ON FILE
COLON ALCANTARA, JOSUE             ADDRESS ON FILE
COLON ALCAZAR, DAMARY              ADDRESS ON FILE
COLON ALDEA, AIDA                  ADDRESS ON FILE
COLON ALDEA, IRMA                  ADDRESS ON FILE
COLON ALEGRAN, IRMA M              ADDRESS ON FILE
COLON ALEGRAN, IRMA M              ADDRESS ON FILE
COLON ALEJANDRO, ANTONIO           ADDRESS ON FILE
Colon Alejandro, Carmen R          ADDRESS ON FILE
COLON ALEJANDRO, LUZ M             ADDRESS ON FILE
COLON ALEMAN, IBRAHIM              ADDRESS ON FILE
COLON ALEMAN, LYDIA                ADDRESS ON FILE
COLON ALEMAN, MIGUEL               ADDRESS ON FILE
COLON ALEMAN, REINALDO             ADDRESS ON FILE
COLON ALERS, GIOVANI               ADDRESS ON FILE
COLON ALERS, MARITZA               ADDRESS ON FILE
COLON ALERS, SORAYA                ADDRESS ON FILE
COLON ALGARIN, MIGDALIA            ADDRESS ON FILE
COLON ALGARIN, PATRIA              ADDRESS ON FILE
COLON ALGARIN, PATRIA Y            ADDRESS ON FILE
COLON ALICEA, ABNER                ADDRESS ON FILE
COLON ALICEA, ALDO                 ADDRESS ON FILE
COLON ALICEA, ALEXIS               ADDRESS ON FILE
COLON ALICEA, ALFREDO              ADDRESS ON FILE
COLON ALICEA, CARMEN L             ADDRESS ON FILE
COLON ALICEA, CONSUELO             ADDRESS ON FILE
Colon Alicea, Edgar De J           ADDRESS ON FILE
COLON ALICEA, ELMER I              ADDRESS ON FILE
COLON ALICEA, HECTOR L             ADDRESS ON FILE
COLON ALICEA, HERIC                ADDRESS ON FILE
COLON ALICEA, HEYDI                ADDRESS ON FILE
COLON ALICEA, HEYDI                ADDRESS ON FILE
COLON ALICEA, LIONEL G             ADDRESS ON FILE
COLON ALICEA, LIZ MELANIE          ADDRESS ON FILE
COLON ALICEA, LORNA                ADDRESS ON FILE
COLON ALICEA, LUIS                 ADDRESS ON FILE
COLON ALICEA, LUIS                 ADDRESS ON FILE
COLON ALICEA, MARIA T.             ADDRESS ON FILE
COLON ALICEA, MARIA T.             ADDRESS ON FILE
COLON ALICEA, MARIBEL              ADDRESS ON FILE
COLON ALICEA, MAYRA E.             ADDRESS ON FILE
COLON ALICEA, MELINDA              ADDRESS ON FILE




                                                                                        Page 1598 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1599 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3         Address4   City         State   PostalCode   Country
COLON ALICEA, NIEVES            ADDRESS ON FILE
COLON ALICEA, OLGA L.           ADDRESS ON FILE
COLON ALICEA, ORLANDO           ADDRESS ON FILE
COLON ALICEA, REINALDO          ADDRESS ON FILE
COLON ALICEA, RICARDO           ADDRESS ON FILE
COLON ALICEA, WANDA I           ADDRESS ON FILE
COLON ALICEA, WILLIAM           ADDRESS ON FILE
COLON ALICEA, YOLANDA           ADDRESS ON FILE
COLON ALLENDE, NANCY            ADDRESS ON FILE
                                                                                           1353 AVE. LUIS
COLON ALMEDA, WANDA             YARLENE JIMENEZ ROSARIO   PMB‐133                          VIGOREAUZ                   GUAYNABO     PR      00966‐2700
COLON ALMENA, WANDA             ADDRESS ON FILE
COLON ALMESTICA, GLENDA         ADDRESS ON FILE
COLON ALMODOVAR, ALEXIS         ADDRESS ON FILE
COLON ALMODOVAR, GIOVANNA       ADDRESS ON FILE
COLON ALMODOVAR, MARIO          ADDRESS ON FILE
COLON ALMODOVAR, MIGUEL         ADDRESS ON FILE
COLON ALMONTE, JUAN             ADDRESS ON FILE
COLON ALOMAR, GAMALIER          ADDRESS ON FILE
COLON ALOMAR, MARIO             ADDRESS ON FILE
COLON ALONSO MD, JOSE A         ADDRESS ON FILE
COLON ALSINA, CARLOS            ADDRESS ON FILE
Colon Alsina, Carlos J          ADDRESS ON FILE
COLON ALSINA, JUANA             ADDRESS ON FILE
COLON ALSINA, LUZ               ADDRESS ON FILE
COLON ALVARADO GERMAN GABRIEL   MIRAMAR HOUSING           EDIF 1 APTO 02                                               PONCE        PR      00728
COLON ALVARADO, AIDA G          ADDRESS ON FILE
COLON ALVARADO, ALBERTO         ADDRESS ON FILE
COLON ALVARADO, ANGEL           ADDRESS ON FILE
Colon Alvarado, Angel E         ADDRESS ON FILE
COLON ALVARADO, ANTONIA         ADDRESS ON FILE
COLON ALVARADO, CARLOS          ADDRESS ON FILE
COLON ALVARADO, CARMEN I        ADDRESS ON FILE
COLON ALVARADO, CARMEN M        ADDRESS ON FILE
COLON ALVARADO, DARVING         ADDRESS ON FILE
COLON ALVARADO, EDWIN           ADDRESS ON FILE
Colon Alvarado, Edwin A         ADDRESS ON FILE
COLON ALVARADO, ELIZAMARIE      ADDRESS ON FILE
COLON ALVARADO, ERIKA A         ADDRESS ON FILE
COLON ALVARADO, FELIPE          ADDRESS ON FILE
COLON ALVARADO, FELIX J         ADDRESS ON FILE
COLON ALVARADO, FERNANDO L      ADDRESS ON FILE
COLON ALVARADO, FERNANDO L      ADDRESS ON FILE
COLON ALVARADO, HIRAM           ADDRESS ON FILE
COLON ALVARADO, IRAN E          ADDRESS ON FILE
COLON ALVARADO, IVAN            ADDRESS ON FILE
Colon Alvarado, Jailyn          ADDRESS ON FILE
Colon Alvarado, Janice          ADDRESS ON FILE
COLON ALVARADO, JANICE          ADDRESS ON FILE
COLON ALVARADO, JEINY A         ADDRESS ON FILE
COLON ALVARADO, JESSICA         ADDRESS ON FILE
COLON ALVARADO, JOSE            ADDRESS ON FILE
Colon Alvarado, Jose I          ADDRESS ON FILE
COLON ALVARADO, JOSE O          ADDRESS ON FILE
COLON ALVARADO, JULIEANNE       ADDRESS ON FILE
COLON ALVARADO, KIRLOS          ADDRESS ON FILE
COLON ALVARADO, KIRSSIS Y       ADDRESS ON FILE
COLON ALVARADO, LESBIA          ADDRESS ON FILE
COLON ALVARADO, LUIS            ADDRESS ON FILE
COLON ALVARADO, LUIS            ADDRESS ON FILE




                                                                            Page 1599 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1600 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                        Address1                  Address2                                  Address3   Address4   City        State   PostalCode   Country
COLON ALVARADO, MAYRA M              ADDRESS ON FILE
COLON ALVARADO, NALIX                ADDRESS ON FILE
COLON ALVARADO, NELSON               ADDRESS ON FILE
COLON ALVARADO, NELSON               ADDRESS ON FILE
COLON ALVARADO, NILDA E              ADDRESS ON FILE
COLON ALVARADO, OLGA I               ADDRESS ON FILE
COLON ALVARADO, ROSALINA             ADDRESS ON FILE
COLON ALVARADO, ROSALINA             ADDRESS ON FILE
COLON ALVARADO, ROSY A               ADDRESS ON FILE
Colon Alvarado, Santos A             ADDRESS ON FILE
COLON ALVARDO, KIRSSIS               ADDRESS ON FILE
COLON ALVAREZ, ANTHONY               ADDRESS ON FILE
COLON ALVAREZ, CRISTINA              ADDRESS ON FILE
COLON ALVAREZ, GLORIA                ADDRESS ON FILE
Colon Alvarez, Ismael J              ADDRESS ON FILE
COLON ALVAREZ, JORGE                 ADDRESS ON FILE
COLON ALVAREZ, JOSE A.               ADDRESS ON FILE
Colon Alvarez, Luis E                ADDRESS ON FILE
COLON ALVAREZ, LUZ M                 ADDRESS ON FILE
COLON ALVAREZ, MARILUZ               ADDRESS ON FILE
COLON ALVAREZ, MARINELL              ADDRESS ON FILE
Colon Alvarez, Oscar                 ADDRESS ON FILE
COLON ALVAREZ, REBECCA               ADDRESS ON FILE
COLON ALVAREZ, REBECCA               ADDRESS ON FILE
COLON ALVAREZ, ROQUE                 ADDRESS ON FILE
COLON ALVAREZ, SHEILYMAR             ADDRESS ON FILE
COLON ALVIRA, ANAIS                  ADDRESS ON FILE
COLON ALVIRA, REYNALDO               ADDRESS ON FILE
COLON AMADEO, ZIANELALIE             ADDRESS ON FILE
COLON AMARAL, ADALESIS               ADDRESS ON FILE
Colon Amaro, Carmen Y                ADDRESS ON FILE
COLON AMARO, CONRADO                 ADDRESS ON FILE
COLON AMARO, DAISYDE                 ADDRESS ON FILE
COLON AMARO, IRMA M                  ADDRESS ON FILE
Colon Amaro, Johanna                 ADDRESS ON FILE
Colon Amaro, Karla M.                ADDRESS ON FILE
COLON AMARO, MILAGROS                ADDRESS ON FILE
COLON AMILL, WILFREDO                ADDRESS ON FILE
COLON ANAYA, EDNA J.                 ADDRESS ON FILE
COLON ANAYA, JOSE C.                 ADDRESS ON FILE
COLON ANAYA, JOSE G.                 ADDRESS ON FILE
COLON ANAYA, LEONARD                 ADDRESS ON FILE
COLON ANAYA, LEONARD                 ADDRESS ON FILE
Colon Anaya, Manuel                  ADDRESS ON FILE
COLON ANAYA, SAMUEL                  ADDRESS ON FILE
COLON AND RECTAL CLINIC OF ORLANDO   MEDICAL RECORDS           110 W UNDERWOOD ST STE A                                        ORLANDO     FL      32806
COLON ANDINO, CHARLES                ADDRESS ON FILE
COLON ANDINO, EDWIN                  ADDRESS ON FILE
COLON ANDINO, LUZ                    ADDRESS ON FILE
COLON ANDINO, REINALDO               ADDRESS ON FILE
COLON ANDINO, VANESSA                ADDRESS ON FILE
COLON ANDREW, VLADIMIR               ADDRESS ON FILE
COLON ANDUJAR, AIDA                  ADDRESS ON FILE
COLON ANDUJAR, EFREN                 ADDRESS ON FILE
COLON ANDUJAR, ENID                  ADDRESS ON FILE
COLON ANDUJAR, ISMAEL                ADDRESS ON FILE
COLON ANDUJAR, ISMAEL                ADDRESS ON FILE
COLON ANDUJAR, LISBEL                ADDRESS ON FILE
COLON ANDUJAR, ROSA JULIA            ADDRESS ON FILE
Colon Andujar, Wanda I.              ADDRESS ON FILE




                                                                                          Page 1600 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1601 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ANGLADA, JOSE A.      ADDRESS ON FILE
COLON ANGLADA, MARTA J      ADDRESS ON FILE
COLON ANGUEIRA, ISMARY      ADDRESS ON FILE
COLON ANGUITA, IVETTE C     ADDRESS ON FILE
COLON ANGUITA, IVETTE DEL   ADDRESS ON FILE
COLON ANGULO, EMERITA       ADDRESS ON FILE
COLON ANGULO, JOSEFINA      ADDRESS ON FILE
COLON ANGULO, YOLANDA       ADDRESS ON FILE
COLON ANGULO, YOLANDA       ADDRESS ON FILE
COLON ANTONETTY, JANICE     ADDRESS ON FILE
COLON APONTE, ADAN          ADDRESS ON FILE
COLON APONTE, ANA           ADDRESS ON FILE
COLON APONTE, ANA M         ADDRESS ON FILE
COLON APONTE, ANA M.        ADDRESS ON FILE
COLON APONTE, ANA M.        ADDRESS ON FILE
COLON APONTE, ANGEL         ADDRESS ON FILE
Colon Aponte, Angel F       ADDRESS ON FILE
Colon Aponte, Angel L       ADDRESS ON FILE
Colon Aponte, Asmil         ADDRESS ON FILE
COLON APONTE, BEATRICE      ADDRESS ON FILE
COLON APONTE, CANDIDA       ADDRESS ON FILE
COLON APONTE, CARLOS        ADDRESS ON FILE
COLON APONTE, CARMEN        ADDRESS ON FILE
COLON APONTE, CARMEN        ADDRESS ON FILE
COLON APONTE, CARMEN E      ADDRESS ON FILE
COLON APONTE, CARMEN L.     ADDRESS ON FILE
COLON APONTE, CELIDA        ADDRESS ON FILE
COLON APONTE, ERIC MIGUEL   ADDRESS ON FILE
COLON APONTE, FLAVIA M      ADDRESS ON FILE
COLON APONTE, GILBERTO      ADDRESS ON FILE
Colon Aponte, Hector A      ADDRESS ON FILE
COLON APONTE, IRIS L        ADDRESS ON FILE
COLON APONTE, JAIME A       ADDRESS ON FILE
COLON APONTE, JAMILETH      ADDRESS ON FILE
Colon Aponte, Jesus         ADDRESS ON FILE
COLON APONTE, JONATHAN B.   ADDRESS ON FILE
COLON APONTE, JOSE          ADDRESS ON FILE
COLON APONTE, JOSE          ADDRESS ON FILE
Colon Aponte, Jose G        ADDRESS ON FILE
COLON APONTE, JOSE M        ADDRESS ON FILE
COLON APONTE, JOSEFINA      ADDRESS ON FILE
COLON APONTE, JOSELYN       ADDRESS ON FILE
COLON APONTE, JUAN          ADDRESS ON FILE
COLON APONTE, JUAN J        ADDRESS ON FILE
COLON APONTE, LAUDA L       ADDRESS ON FILE
COLON APONTE, LEONARDO      ADDRESS ON FILE
COLON APONTE, LOURDES       ADDRESS ON FILE
COLON APONTE, MARIA A.      ADDRESS ON FILE
COLON APONTE, MARIA M       ADDRESS ON FILE
COLON APONTE, MARILY        ADDRESS ON FILE
COLON APONTE, MARISOL       ADDRESS ON FILE
COLON APONTE, MATILDE       ADDRESS ON FILE
COLON APONTE, MAYRA         ADDRESS ON FILE
COLON APONTE, MIGUEL A.     ADDRESS ON FILE
COLON APONTE, MIGUEL A.     ADDRESS ON FILE
COLON APONTE, MINERVA       ADDRESS ON FILE
COLON APONTE, NERY L        ADDRESS ON FILE
COLON APONTE, PEDRO         ADDRESS ON FILE
COLON APONTE, RADAMES       ADDRESS ON FILE
COLON APONTE, RAUL I        ADDRESS ON FILE




                                                                        Page 1601 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1602 of 3500
                                                                             17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                 Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
COLON APONTE, REINALDO        ADDRESS ON FILE
COLON APONTE, RENE I          ADDRESS ON FILE
COLON APONTE, RICARDO         ADDRESS ON FILE
COLON APONTE, RICHARD         ADDRESS ON FILE
COLON APONTE, RUTH            ADDRESS ON FILE
COLON APONTE, SANDRA          ADDRESS ON FILE
Colon Aponte, Tomas I         ADDRESS ON FILE
COLON APONTE, VIRGEN C        ADDRESS ON FILE
COLON APONTE, WANDA T         ADDRESS ON FILE
COLON APONTE, WILLIAM         ADDRESS ON FILE
Colon Aponte, Xiomara         ADDRESS ON FILE
COLON APONTE, XIOMARA         ADDRESS ON FILE
COLON APONTE, YOLANDA         ADDRESS ON FILE
COLON APPLIANCE PARTS         CALLE BETANCES 107                                                                        CAGUAS          PR      00725
COLON AQUINO, JOHARALYS       ADDRESS ON FILE
COLON AQUINO, NANCY I.        ADDRESS ON FILE
COLON AQUINO, RUBEN           ADDRESS ON FILE
COLON AQUINO, SHARON          ADDRESS ON FILE
COLON AQUINO, TANIA           ADDRESS ON FILE
COLON ARANZAMENDI, JADITH     ADDRESS ON FILE
COLON ARBELO MD, CRISTINO R   ADDRESS ON FILE
COLON ARCE, BERNEICE          ADDRESS ON FILE
COLON ARCHILLA, ALFREDO       ADDRESS ON FILE
COLON ARCHILLA, ALFREDO       ADDRESS ON FILE
COLON ARCHILLA, ALFREDO D.    ADDRESS ON FILE
COLON ARCHILLA, JAIME         ADDRESS ON FILE
COLON AREIZAGA, AMANDA        ADDRESS ON FILE
COLON ARES, BEATRIZ           ADDRESS ON FILE
COLON ARMINA, OMAR            ADDRESS ON FILE
COLON AROCHO, MILDRED         ADDRESS ON FILE
COLON AROCHO, NILDA I         ADDRESS ON FILE
COLON AROCHO, NOEL H          ADDRESS ON FILE
COLON AROCHO, RUBEN           ADDRESS ON FILE
COLON AROCHO, WILLIAM         ADDRESS ON FILE
COLON ARRIAGA, LINETTE E      ADDRESS ON FILE
Colon Arroyo, Abimael J       ADDRESS ON FILE
COLON ARROYO, ANGEL           ADDRESS ON FILE
COLON ARROYO, ANGEL           ADDRESS ON FILE
Colon Arroyo, Angel K         ADDRESS ON FILE
COLON ARROYO, CARLOS          ADDRESS ON FILE
COLON ARROYO, CARMEN M.       ADDRESS ON FILE
COLON ARROYO, CESAR           ADDRESS ON FILE
Colon Arroyo, Edgar           ADDRESS ON FILE
COLÓN ARROYO, EDGAR           LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
COLÓN ARROYO, EDGAR           LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
COLON ARROYO, EDGAR           ADDRESS ON FILE
COLON ARROYO, HECTOR          ADDRESS ON FILE
COLON ARROYO, HECTOR L.       ADDRESS ON FILE
COLON ARROYO, JESSE D         ADDRESS ON FILE
COLON ARROYO, JUSTIN S        ADDRESS ON FILE
COLON ARROYO, LISANDRA        ADDRESS ON FILE
COLON ARROYO, LUIS            ADDRESS ON FILE
COLON ARROYO, MADELYN         ADDRESS ON FILE
COLON ARROYO, MANUEL          ADDRESS ON FILE
COLON ARROYO, MARCOS          ADDRESS ON FILE
COLON ARROYO, MARIELY         ADDRESS ON FILE
COLON ARROYO, NANCY           ADDRESS ON FILE
COLON ARROYO, NYDIA           ADDRESS ON FILE
Colon Arroyo, Pablo           ADDRESS ON FILE
COLON ARROYO, RAQUEL          ADDRESS ON FILE




                                                                                   Page 1602 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1603 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ARROYO, SARAIVY         ADDRESS ON FILE
COLON ARROYO, SHEYKA M        ADDRESS ON FILE
COLON ARRUFAT, CARMEN L       ADDRESS ON FILE
COLON ARTURET, CARMEN N       ADDRESS ON FILE
COLON ARVELO, MARIA DEL C     ADDRESS ON FILE
COLON ARVELO, VICTOR K        ADDRESS ON FILE
COLON ARVELO, VICTOR K        ADDRESS ON FILE
COLON ASCENCIO, MARILYN       ADDRESS ON FILE
COLON ASENCIO, DARIN          ADDRESS ON FILE
COLON ASTOL, DIANA            ADDRESS ON FILE
COLON ASTOL, SASHA            ADDRESS ON FILE
COLON ATANACIO, ELSA M.       ADDRESS ON FILE
COLON ATANACIO, MARITZA       ADDRESS ON FILE
COLON ATANACIO, TOMAS         ADDRESS ON FILE
Colon Aulet, Edwin            ADDRESS ON FILE
COLON AULET, GLORIA I.        ADDRESS ON FILE
COLON AULET, MARGARITA        ADDRESS ON FILE
COLON AULET, MARITZA          ADDRESS ON FILE
COLON AULET, NORMA            ADDRESS ON FILE
COLON AULET, WILSON           ADDRESS ON FILE
COLON AVELLANET, KAREN        ADDRESS ON FILE
COLON AVILES, ANA             ADDRESS ON FILE
COLON AVILES, ANA I           ADDRESS ON FILE
COLON AVILES, DAPHNE B        ADDRESS ON FILE
COLON AVILES, DIXIE           ADDRESS ON FILE
COLON AVILES, EDUARDO         ADDRESS ON FILE
COLON AVILES, EVELYN          ADDRESS ON FILE
COLON AVILES, HECTOR          ADDRESS ON FILE
COLON AVILES, JOSE            ADDRESS ON FILE
COLON AVILES, JOSE M.         ADDRESS ON FILE
COLON AVILES, JUAN            ADDRESS ON FILE
Colon Aviles, Juan C.         ADDRESS ON FILE
COLON AVILES, LUIS O          ADDRESS ON FILE
COLON AVILES, MARIA S.        ADDRESS ON FILE
Colon Aviles, Rafael          ADDRESS ON FILE
COLON AVILES, RAUL            ADDRESS ON FILE
COLON AVILES, VERONICA        ADDRESS ON FILE
Colon Aviles, William         ADDRESS ON FILE
COLON AYALA, ANDRES           ADDRESS ON FILE
COLON AYALA, ARISTIDES R      ADDRESS ON FILE
Colon Ayala, Carlitos         ADDRESS ON FILE
COLON AYALA, CARLOS ALBERTO   ADDRESS ON FILE
COLON AYALA, DANIEL           ADDRESS ON FILE
COLON AYALA, EMERITA          ADDRESS ON FILE
COLON AYALA, HERIBERTO        ADDRESS ON FILE
COLON AYALA, IRMA I.          ADDRESS ON FILE
Colon Ayala, Jesus E          ADDRESS ON FILE
Colon Ayala, Josue            ADDRESS ON FILE
COLON AYALA, JUAN             ADDRESS ON FILE
COLON AYALA, JUAN             ADDRESS ON FILE
Colon Ayala, Juan F           ADDRESS ON FILE
COLON AYALA, KEISHLA          ADDRESS ON FILE
COLON AYALA, KENNETH          ADDRESS ON FILE
COLON AYALA, LIGIA E          ADDRESS ON FILE
Colon Ayala, Luis O           ADDRESS ON FILE
COLON AYALA, MARIA E          ADDRESS ON FILE
COLON AYALA, MARISEL          ADDRESS ON FILE
COLON AYALA, MARISOL          ADDRESS ON FILE
COLON AYALA, ROSA             ADDRESS ON FILE
Colon Ayala, Rosa Angelica    ADDRESS ON FILE




                                                                          Page 1603 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1604 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON AYALA, SANTOS         ADDRESS ON FILE
COLON AYUSO, DORCAS         ADDRESS ON FILE
COLON AYUSO, DORIS E        ADDRESS ON FILE
COLON BADILLO, AMARELIS     ADDRESS ON FILE
COLON BADILLO, ANGEL        ADDRESS ON FILE
COLON BADILLO, EVELYN       ADDRESS ON FILE
Colon Badillo, Martin G.    ADDRESS ON FILE
COLON BAERGA, HECTOR        ADDRESS ON FILE
COLON BAERGA, HECTOR        ADDRESS ON FILE
COLON BAERGA, JOSE          ADDRESS ON FILE
COLON BAEZ, ANA             ADDRESS ON FILE
COLON BAEZ, ANA M           ADDRESS ON FILE
COLON BAEZ, ANA Y           ADDRESS ON FILE
COLON BAEZ, ANASTACIO       ADDRESS ON FILE
COLON BAEZ, ANTONIO         ADDRESS ON FILE
COLON BAEZ, ANTONIO         ADDRESS ON FILE
COLON BAEZ, BETZAIDA        ADDRESS ON FILE
COLON BAEZ, CARLOS          ADDRESS ON FILE
COLON BAEZ, CARMEN M        ADDRESS ON FILE
COLON BAEZ, CRUZ            ADDRESS ON FILE
COLON BAEZ, FELIX           ADDRESS ON FILE
COLON BAEZ, FRANCISCA       ADDRESS ON FILE
COLON BAEZ, HECTOR          ADDRESS ON FILE
COLON BAEZ, JOHANNA         ADDRESS ON FILE
Colon Baez, Juan J          ADDRESS ON FILE
COLON BAEZ, KHRISTIAN       ADDRESS ON FILE
COLON BAEZ, LUZ ENEIDA      ADDRESS ON FILE
COLON BAEZ, MAYRA I         ADDRESS ON FILE
COLON BAEZ, MIGDALIA        ADDRESS ON FILE
COLON BAEZ, OSVALDO         ADDRESS ON FILE
COLON BAILLY, SARA          ADDRESS ON FILE
COLON BALAGUER, YARITZA     ADDRESS ON FILE
COLON BANCH, ELVIN          ADDRESS ON FILE
COLON BANOS, CARLOS         ADDRESS ON FILE
COLON BANOS, FELIX E.       ADDRESS ON FILE
COLON BANOS, FELIX E.       ADDRESS ON FILE
COLON BARBOSA, ALBA N.      ADDRESS ON FILE
COLON BARBOSA, ERITZA       ADDRESS ON FILE
Colon Barbosa, Liza         ADDRESS ON FILE
COLON BARBOSA, ORLANDO      ADDRESS ON FILE
COLON BARREIRO, IRMA I      ADDRESS ON FILE
COLON BARRERA, NELLY        ADDRESS ON FILE
COLON BARRETO, BENJAMIN     ADDRESS ON FILE
COLON BARRETO, ELSA         ADDRESS ON FILE
COLON BARRETO, IDAGNE       ADDRESS ON FILE
COLON BARRETO, IDAGNE       ADDRESS ON FILE
COLON BARRETO, IDAGNE       ADDRESS ON FILE
COLON BARRETO, LUIS O       ADDRESS ON FILE
COLON BARRETO, ROSARIO      ADDRESS ON FILE
COLON BARRETO, RUTH I.      ADDRESS ON FILE
COLON BARRETO, VERONICA     ADDRESS ON FILE
COLON BARRIOS, ANGIELY M.   ADDRESS ON FILE
COLON BARRIOS, MIZRAIM      ADDRESS ON FILE
COLON BASCO, LUIS           ADDRESS ON FILE
Colon Batista, Carlos E.    ADDRESS ON FILE
Colon Batista, Carmelo      ADDRESS ON FILE
COLON BEAUCHAMP, LYDIA E    ADDRESS ON FILE
Colon Belen, Edgardo L      ADDRESS ON FILE
COLON BELEN, HEIDI M        ADDRESS ON FILE
COLON BELEN, WILMARIE       ADDRESS ON FILE




                                                                        Page 1604 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1605 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON BELGODERE, GERARDO      ADDRESS ON FILE
COLON BELGODERE, WILLIAM      ADDRESS ON FILE
COLON BELINGERI, LISANDRA     ADDRESS ON FILE
COLON BELTRAM, MARYLIN M.     ADDRESS ON FILE
COLON BELTRAN, FRANCES A      ADDRESS ON FILE
COLON BELTRAN, OLGA I         ADDRESS ON FILE
COLON BELTRAN, RAMON L        ADDRESS ON FILE
COLON BENEDIT, LOURDES        ADDRESS ON FILE
COLON BENGOA, LARISSA M.      ADDRESS ON FILE
COLON BENGOA, LIZA            ADDRESS ON FILE
COLON BENITEZ, CARLOS A       ADDRESS ON FILE
COLON BENITEZ, JOSE           ADDRESS ON FILE
COLON BENITEZ, LISSETTE       ADDRESS ON FILE
COLON BENITEZ, LIZZETTE       ADDRESS ON FILE
COLON BENITEZ, LUIS           ADDRESS ON FILE
COLON BENITEZ, LUIS           ADDRESS ON FILE
COLON BENITEZ, MARITZA        ADDRESS ON FILE
COLON BENITEZ, SILVIA         ADDRESS ON FILE
COLON BENVENUTI, DANIEL       ADDRESS ON FILE
Colon Benvenutti, Daniel A    ADDRESS ON FILE
COLON BERDECIA, ERICK         ADDRESS ON FILE
COLON BERGODERE, AGUSTIN      ADDRESS ON FILE
COLON BERGODERE, DENIS        ADDRESS ON FILE
COLON BERGOLLA, JEAN CARLOS   ADDRESS ON FILE
COLON BERGOLLO, LISANDRO      ADDRESS ON FILE
COLON BERGOLLO, TAINA E.      ADDRESS ON FILE
COLON BERLINGERI, ARNALDO     ADDRESS ON FILE
COLON BERLINGERI, ELIA M      ADDRESS ON FILE
COLON BERLINGERI, NESTOR      ADDRESS ON FILE
COLON BERLINGERI, NESTOR J.   ADDRESS ON FILE
COLON BERMUDEZ, ANGEL LUIS    ADDRESS ON FILE
COLON BERMUDEZ, BENJAMIN      ADDRESS ON FILE
COLON BERMUDEZ, CARLOS A.     ADDRESS ON FILE
COLON BERMUDEZ, HILDA L       ADDRESS ON FILE
COLON BERMUDEZ, JULIO A       ADDRESS ON FILE
COLON BERMUDEZ, LUIS H.       ADDRESS ON FILE
COLON BERMUDEZ, MARIELI       ADDRESS ON FILE
COLON BERMUDEZ, MYRNA J       ADDRESS ON FILE
COLON BERMUDEZ, NATIVIDAD     ADDRESS ON FILE
COLON BERMUDEZ, SANDRA E      ADDRESS ON FILE
COLON BERMUDEZ, SANDRA ENID   ADDRESS ON FILE
COLON BERMUDEZ, SYLVIA M.     ADDRESS ON FILE
COLON BERMUDEZ, YAMILISSA     ADDRESS ON FILE
COLON BERNARD, FELIX          ADDRESS ON FILE
COLON BERNARD, GABRIELA       ADDRESS ON FILE
COLON BERNARD, NATALIA        ADDRESS ON FILE
COLON BERNARD, NATALIA        ADDRESS ON FILE
COLON BERNARDI, ANDREA        ADDRESS ON FILE
COLON BERNARDI, CARLOS        ADDRESS ON FILE
COLON BERNARDI, CARLOS        ADDRESS ON FILE
COLON BERNARDI, MARIA M       ADDRESS ON FILE
COLON BERNAROI, ANDREA        ADDRESS ON FILE
COLON BERNIER, JOSE           ADDRESS ON FILE
COLON BERRIIOS, JOSUE         ADDRESS ON FILE
Colon Berrios, Ana M          ADDRESS ON FILE
COLON BERRIOS, ANALISE        ADDRESS ON FILE
COLON BERRIOS, ANGEL O        ADDRESS ON FILE
Colon Berrios, Benjamin       ADDRESS ON FILE
Colon Berrios, Carmen J       ADDRESS ON FILE
COLON BERRIOS, CHARLENE D.    ADDRESS ON FILE




                                                                          Page 1605 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1606 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON BERRIOS, DAMARIS E     ADDRESS ON FILE
COLON BERRIOS, DAVID         ADDRESS ON FILE
COLON BERRIOS, DIANA         ADDRESS ON FILE
COLON BERRIOS, EDUARDO L     ADDRESS ON FILE
COLON BERRIOS, ERIC OMAR     ADDRESS ON FILE
COLON BERRIOS, FRANCISCO     ADDRESS ON FILE
COLON BERRIOS, FRANCISCO     ADDRESS ON FILE
COLON BERRIOS, FRANCISCO     ADDRESS ON FILE
COLON BERRIOS, GABRIEL       ADDRESS ON FILE
COLON BERRIOS, GLADYS        ADDRESS ON FILE
COLON BERRIOS, HAYDEE R.     ADDRESS ON FILE
COLON BERRIOS, IRIS          ADDRESS ON FILE
COLON BERRIOS, IRIS N.       ADDRESS ON FILE
COLON BERRIOS, IVELISSE      ADDRESS ON FILE
COLON BERRIOS, JACKELINE     ADDRESS ON FILE
COLON BERRIOS, JEAN          ADDRESS ON FILE
COLON BERRIOS, JOSUE         ADDRESS ON FILE
COLON BERRIOS, LAURA E       ADDRESS ON FILE
COLON BERRIOS, LEIDA         ADDRESS ON FILE
COLON BERRIOS, LIZETTE       ADDRESS ON FILE
COLON BERRIOS, LUCILA        ADDRESS ON FILE
COLON BERRIOS, LUZ S         ADDRESS ON FILE
COLON BERRIOS, MABEL C       ADDRESS ON FILE
COLON BERRIOS, MARIA         ADDRESS ON FILE
COLON BERRIOS, MARIA C       ADDRESS ON FILE
COLON BERRIOS, MARIA L       ADDRESS ON FILE
COLON BERRIOS, MERCEDES      ADDRESS ON FILE
COLON BERRIOS, MIRELIS       ADDRESS ON FILE
COLON BERRIOS, NANCY         ADDRESS ON FILE
COLON BERRIOS, RODOLFO       ADDRESS ON FILE
COLON BERRIOS, RUBEN         ADDRESS ON FILE
COLON BERRIOS, SARA M        ADDRESS ON FILE
COLON BERRIOS, VICTOR G      ADDRESS ON FILE
COLON BERRIOS, WANDA I       ADDRESS ON FILE
COLON BERRIOS, YACMET        ADDRESS ON FILE
COLON BERRIOS, YAMILET       ADDRESS ON FILE
COLON BETANCOURT, DELIA      ADDRESS ON FILE
COLON BETANCOURT, GRETCHEN   ADDRESS ON FILE
COLON BETANCOURT, IDXIA      ADDRESS ON FILE
COLON BETANCOURT, MARINA     ADDRESS ON FILE
COLON BETANCOURT, SANDRA     ADDRESS ON FILE
Colon Beveraggi, Faustino    ADDRESS ON FILE
COLON BEVERAGGI, ROSA E      ADDRESS ON FILE
COLON BIASCOECHEA, ANA M     ADDRESS ON FILE
COLON BIASCOECHEA, MAGDA J   ADDRESS ON FILE
COLON BIRD, JORGE            ADDRESS ON FILE
COLON BIRRIEL, MARIA I       ADDRESS ON FILE
COLON BLANCO, BENIGNO        ADDRESS ON FILE
COLON BLANCO, ELLIOT J       ADDRESS ON FILE
COLON BLASINI, EILEEN        ADDRESS ON FILE
COLON BLASINI, SHERRY LIN    ADDRESS ON FILE
COLON BOCACHICA, DELIA I.    ADDRESS ON FILE
COLON BOGDAN, CARLOS         ADDRESS ON FILE
COLON BONES, EFRAIN          ADDRESS ON FILE
COLON BONES, FELIX L         ADDRESS ON FILE
COLON BONES, JESSENIA        ADDRESS ON FILE
COLON BONET, JOSE            ADDRESS ON FILE
COLON BONET, MELVIN          ADDRESS ON FILE
COLON BONILLA, ALICIA        ADDRESS ON FILE
COLON BONILLA, AMARILIS      ADDRESS ON FILE




                                                                         Page 1606 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1607 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON BONILLA, CARLOS      ADDRESS ON FILE
COLON BONILLA, JAIME       ADDRESS ON FILE
COLON BONILLA, JOIBEL      ADDRESS ON FILE
COLON BONILLA, LUIS        ADDRESS ON FILE
COLON BONILLA, LUZ         ADDRESS ON FILE
COLON BONILLA, LUZ M       ADDRESS ON FILE
COLON BONILLA, NILDA M     ADDRESS ON FILE
COLON BONILLA, PEDRO       ADDRESS ON FILE
COLON BONILLA, ROSA        ADDRESS ON FILE
COLON BONILLA, ROSA M      ADDRESS ON FILE
COLON BONILLA, RUBEN       ADDRESS ON FILE
COLON BONILLA, WANDA I.    ADDRESS ON FILE
Colon Borelli, Tomas       ADDRESS ON FILE
COLON BORGES, ADELAIDA     ADDRESS ON FILE
Colon Borges, Reynaldo     ADDRESS ON FILE
COLON BORGES, WILSON       ADDRESS ON FILE
COLON BORGES, WILSON       ADDRESS ON FILE
COLON BORRERO, ADA M.      ADDRESS ON FILE
COLON BORRERO, GERARDO     ADDRESS ON FILE
COLON BORRERO, GUSTAVO E   ADDRESS ON FILE
COLON BORRERO, JOSE        ADDRESS ON FILE
COLON BORRERO, JOSE L.     ADDRESS ON FILE
COLON BOSQUE, AIDA         ADDRESS ON FILE
COLON BOSQUES, EDWIN       ADDRESS ON FILE
COLON BRACERO, EVELYN      ADDRESS ON FILE
COLON BRACERO, JOSE        ADDRESS ON FILE
Colon Bracero, Jose I      ADDRESS ON FILE
Colon Bracero, Karla M     ADDRESS ON FILE
COLON BRACERO, MARITZA     ADDRESS ON FILE
COLON BRACERO, MARITZA     ADDRESS ON FILE
COLON BRANA, FRANCISCO     ADDRESS ON FILE
Colon Brunet, Victor       ADDRESS ON FILE
COLON BURGOS, AIDA L       ADDRESS ON FILE
COLON BURGOS, ANA R        ADDRESS ON FILE
COLON BURGOS, ANGEL        ADDRESS ON FILE
COLON BURGOS, ANGEL J.     ADDRESS ON FILE
COLON BURGOS, ANIBAL       ADDRESS ON FILE
COLON BURGOS, ANIBAL       ADDRESS ON FILE
COLON BURGOS, ANNIE B      ADDRESS ON FILE
COLON BURGOS, AXEL X       ADDRESS ON FILE
COLON BURGOS, CAMILO       ADDRESS ON FILE
Colon Burgos, Camilo       ADDRESS ON FILE
COLON BURGOS, CARLOS       ADDRESS ON FILE
COLON BURGOS, CARLOS M.    ADDRESS ON FILE
COLON BURGOS, CARMEN       ADDRESS ON FILE
COLON BURGOS, CASIMIRO     ADDRESS ON FILE
COLON BURGOS, CLAUDIA      ADDRESS ON FILE
COLON BURGOS, EDWARD       ADDRESS ON FILE
COLON BURGOS, ENOHELIA     ADDRESS ON FILE
COLON BURGOS, ENRIQUE      ADDRESS ON FILE
COLON BURGOS, ENRIQUE      ADDRESS ON FILE
COLON BURGOS, ERICA        ADDRESS ON FILE
COLON BURGOS, ERICA I      ADDRESS ON FILE
Colon Burgos, Faustino     ADDRESS ON FILE
COLON BURGOS, GUILLERMO    ADDRESS ON FILE
COLON BURGOS, HILMARY      ADDRESS ON FILE
COLON BURGOS, IRMA         ADDRESS ON FILE
COLON BURGOS, IVETTE       ADDRESS ON FILE
COLON BURGOS, JANICE       ADDRESS ON FILE
Colon Burgos, Jean P       ADDRESS ON FILE




                                                                       Page 1607 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1608 of 3500
                                                                              17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                  Address1                          Address2                  Address3   Address4   City          State   PostalCode   Country
COLON BURGOS, JOHANNA MARY     ADDRESS ON FILE
COLON BURGOS, JORGE            ADDRESS ON FILE
Colon Burgos, Jose A           ADDRESS ON FILE
COLON BURGOS, JOSE FELIX       ADDRESS ON FILE
COLON BURGOS, JOSE R.          ADDRESS ON FILE
Colon Burgos, Juan             ADDRESS ON FILE
COLON BURGOS, JUAN             ADDRESS ON FILE
Colon Burgos, Juan A           ADDRESS ON FILE
COLON BURGOS, JULIO            ADDRESS ON FILE
COLON BURGOS, KARENLY          ADDRESS ON FILE
COLON BURGOS, LEONIDES         ADDRESS ON FILE
COLON BURGOS, LEONIDES         ADDRESS ON FILE
COLON BURGOS, LETICIA          ADDRESS ON FILE
COLON BURGOS, LIMARY           ADDRESS ON FILE
COLON BURGOS, LISA             ADDRESS ON FILE
COLON BURGOS, LOURDES          ADDRESS ON FILE
COLON BURGOS, LUZ N            ADDRESS ON FILE
COLON BURGOS, MARCELO          ADDRESS ON FILE
COLON BURGOS, MARGARITA        ADDRESS ON FILE
COLON BURGOS, MARGARITA        ADDRESS ON FILE
COLON BURGOS, MARISELL         ADDRESS ON FILE
COLON BURGOS, MARISOL          ADDRESS ON FILE
COLON BURGOS, MIGDALIA         ADDRESS ON FILE
COLON BURGOS, NILDA            ADDRESS ON FILE
COLON BURGOS, ONEIDA           ADDRESS ON FILE
COLON BURGOS, PEDRO            ADDRESS ON FILE
Colon Burgos, Pedro J          ADDRESS ON FILE
COLON BURGOS, ROSALIE          ADDRESS ON FILE
Colon Burgos, Ruben            ADDRESS ON FILE
COLON BURGOS, VICTOR           ADDRESS ON FILE
COLON BURGOS, VIDAL            ADDRESS ON FILE
COLON BUS LINE                 CARR 129 KM 3 3 BO BUENOS AIRES                                                   LARES         PR      00669
COLON BUS LINE                 HC 12 BOX 7063                                                                    HUMACAO       PR      00791‐9210
COLON BUS LINE                 HC 73 BOX 6028                                                                    NARANJITO     PR      00719
COLON BUS LINE, INC            HC 12 BOX 7063                                                                    HUMACAO       PR      00791‐9210
COLON CABALLERO, GABRIEL       ADDRESS ON FILE
COLON CABALLERO, MIGUEL        ADDRESS ON FILE
COLON CABAN, MARGARITA         ADDRESS ON FILE
COLON CABAN, MARGARITA         ADDRESS ON FILE
COLON CABAN, YAMARA M          ADDRESS ON FILE
COLON CABEZA, CARMEN           ADDRESS ON FILE
Colon Cabeza, Efrain           ADDRESS ON FILE
COLON CABEZA, EMILIA           ADDRESS ON FILE
COLON CABEZA, VALENTIN         ADDRESS ON FILE
COLON CABRERA, AGUSTIN         ADDRESS ON FILE
COLON CABRERA, GRISELLE T      ADDRESS ON FILE
COLON CABRERA, JAIRYMAR        ADDRESS ON FILE
COLON CABRERA, KATIRIA         ADDRESS ON FILE
COLON CABRERA, SONIA M         ADDRESS ON FILE
COLON CACHOLA, CORAL           ADDRESS ON FILE
COLON CADIZ, EDRICK A.         ADDRESS ON FILE
COLON CADIZ, YAIZA M.          ADDRESS ON FILE
COLON CAJIGAS, MAYRA           ADDRESS ON FILE
COLON CALDERIN, CARMEN DEL P   ADDRESS ON FILE
COLON CALDERO, BLANCA I.       ADDRESS ON FILE
COLON CALDERO, GRYSELL         ADDRESS ON FILE
COLON CALDERO, SANDRA I.       ADDRESS ON FILE
COLON CALDERON MD, ISMAEL      ADDRESS ON FILE
COLON CALDERON, ELSA           ADDRESS ON FILE
Colon Calderon, Juana          ADDRESS ON FILE




                                                                            Page 1608 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1609 of 3500
                                                                             17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                 Address1                             Address2                     Address3   Address4   City        State   PostalCode   Country
COLON CALDERON, WILFREDO      ADDRESS ON FILE
COLON CALZADA, FERNANDO       ADDRESS ON FILE
COLON CALZADA, LUCIA M        ADDRESS ON FILE
COLON CAMACHO, ADA            ADDRESS ON FILE
COLON CAMACHO, CARMEN E       ADDRESS ON FILE
COLON CAMACHO, DANIEL ELIAS   ADDRESS ON FILE
COLON CAMACHO, DESIREE        ADDRESS ON FILE
COLON CAMACHO, JENNY          ADDRESS ON FILE
COLON CAMACHO, JOSE M.        ADDRESS ON FILE
COLON CAMACHO, JULIO          ADDRESS ON FILE
COLON CAMACHO, MADELINE       ADDRESS ON FILE
COLON CAMACHO, MARCIAL        ADDRESS ON FILE
COLON CAMACHO, MICHELLE M     ADDRESS ON FILE
COLON CAMACHO, NASHA          ADDRESS ON FILE
COLON CAMACHO, PEDRO          ADDRESS ON FILE
COLON CAMACHO, VICTOR         ADDRESS ON FILE
COLON CAMARENO, HILDA T       ADDRESS ON FILE
COLON CAMARENO, PABLO E.      ADDRESS ON FILE
COLON CAMARGO, SANDRA         ADDRESS ON FILE
COLON CAMILO, MARITZA         ADDRESS ON FILE
COLON CAMPOS, MARIA           ADDRESS ON FILE
COLON CANALES, JAKELINE       ADDRESS ON FILE
COLÓN CANALES, NORBERTO       LCDO. FRANCIS EMANUEL RUIZ RAMÍREZ   PO BOX 6416                                        Bayamón     PR      00960
COLON CANCEL, MARICELIA       ADDRESS ON FILE
COLON CANCEL, MARYBETH        ADDRESS ON FILE
COLON CANDELARIA, JUAN        ADDRESS ON FILE
Colon Candelaria, Juan L      ADDRESS ON FILE
COLON CANDELARIA, NOELIA      ADDRESS ON FILE
COLON CANDELARIO, NORMA I.    ADDRESS ON FILE
COLON CANTERO, CARMEN E       ADDRESS ON FILE
COLON CAPO, DOMIZORAIDA       ADDRESS ON FILE
COLON CARABALLO, EDITH        ADDRESS ON FILE
COLON CARABALLO, JAVIER       ADDRESS ON FILE
COLON CARABALLO, JEANNETTE    ADDRESS ON FILE
COLON CARABALLO, MARIANO      ADDRESS ON FILE
COLON CARABALLO, MODESTO      ADDRESS ON FILE
Colon Caraballo, Richard      ADDRESS ON FILE
Colon Caraballo, Willian      ADDRESS ON FILE
COLON CARBALLO, RAMON         ADDRESS ON FILE
COLON CARBALLO, RAMON         ADDRESS ON FILE
COLON CARDEL, JEANNETTE       ADDRESS ON FILE
Colon Cardona, Adalberto      ADDRESS ON FILE
COLON CARDONA, INES           ADDRESS ON FILE
COLON CARDONA, JESUS A.       ADDRESS ON FILE
COLON CARDONA, LUISA M        ADDRESS ON FILE
COLON CARDONA, MARANGELIE     ADDRESS ON FILE
COLON CARDONA, ROSANGELIE     ADDRESS ON FILE
Colon Cardona, William        ADDRESS ON FILE
COLON CARINO, RONNIE          ADDRESS ON FILE
COLON CARMONA, ISAMARIE       ADDRESS ON FILE
COLON CARMONA, JASON          ADDRESS ON FILE
COLON CARMONA, JUAN ENRIQUE   ADDRESS ON FILE
COLON CARMONA, MANUEL         ADDRESS ON FILE
COLON CARMONA, MICHAEL        ADDRESS ON FILE
COLON CARMONA, VERONICA       ADDRESS ON FILE
COLON CARO, SANDRA J.         ADDRESS ON FILE
COLON CARO, WANDA I           ADDRESS ON FILE
COLON CARPENA, CARMEN A       ADDRESS ON FILE
COLON CARPENA, GLORIA M       ADDRESS ON FILE
COLON CARRASQUILLO, ALMA I.   ADDRESS ON FILE




                                                                                 Page 1609 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1610 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CARRASQUILLO, BRENDA      ADDRESS ON FILE
COLON CARRASQUILLO, ELIUD       ADDRESS ON FILE
Colon Carrasquillo, Eugenio H   ADDRESS ON FILE
Colon Carrasquillo, Joel        ADDRESS ON FILE
COLON CARRASQUILLO, MARILYN     ADDRESS ON FILE
COLON CARRASQUILLO, NOELIA      ADDRESS ON FILE
Colon Carrasquillo, Orlando     ADDRESS ON FILE
COLON CARRASQUILLO, SYLVIA      ADDRESS ON FILE
COLON CARRERAS, LUIS            ADDRESS ON FILE
COLON CARRERO, EVELISSE         ADDRESS ON FILE
COLON CARRERO, MIGDALIA         ADDRESS ON FILE
COLON CARRERO, ZENAIDA          ADDRESS ON FILE
COLON CARRION, MARIELIS         ADDRESS ON FILE
COLON CARRION, MARISOL          ADDRESS ON FILE
COLON CARRION, SHEILA           ADDRESS ON FILE
COLON CARTAGENA, ALICIA         ADDRESS ON FILE
COLON CARTAGENA, ANDRES         ADDRESS ON FILE
Colon Cartagena, Angel          ADDRESS ON FILE
COLON CARTAGENA, ANGEL          ADDRESS ON FILE
COLON CARTAGENA, ANGEL          ADDRESS ON FILE
COLON CARTAGENA, DIMAS          ADDRESS ON FILE
COLON CARTAGENA, EDUARDO        ADDRESS ON FILE
COLON CARTAGENA, GLORIA         ADDRESS ON FILE
COLON CARTAGENA, GLORIA N       ADDRESS ON FILE
COLON CARTAGENA, HILDA          ADDRESS ON FILE
COLON CARTAGENA, MARIA M        ADDRESS ON FILE
COLON CARTAGENA, MARITZA        ADDRESS ON FILE
COLON CARTAGENA, MIGUEL A       ADDRESS ON FILE
COLON CARTAGENA, NANCY A        ADDRESS ON FILE
COLON CARTAGENA, NEIDA          ADDRESS ON FILE
COLON CARTAGENA, NILSA M        ADDRESS ON FILE
COLON CARTAGENA, RUTH           ADDRESS ON FILE
COLON CARTAGENA, RUTH N.        ADDRESS ON FILE
COLON CARTAGENA, SAMUEL         ADDRESS ON FILE
COLON CARTAGENA, VICTOR         ADDRESS ON FILE
COLON CARTAGENA, ZORAIDA        ADDRESS ON FILE
COLON CASADO, DAFNEY B          ADDRESS ON FILE
COLON CASADO, JUAN R.           ADDRESS ON FILE
COLON CASANOVA, LEISHLA M.      ADDRESS ON FILE
COLON CASANOVAS, JAIME          ADDRESS ON FILE
COLON CASASNOVAS, MARIETTA      ADDRESS ON FILE
COLON CASIANO, HECTOR           ADDRESS ON FILE
COLON CASIANO, JOSE             ADDRESS ON FILE
COLON CASIANO, LUIS             ADDRESS ON FILE
COLON CASIANO, MARY LUISA       ADDRESS ON FILE
COLON CASIANO, MICHELLE         ADDRESS ON FILE
COLON CASIANO, MIRIAM           ADDRESS ON FILE
COLON CASIANO, ROSA             ADDRESS ON FILE
COLON CASIANO, VIVIAN M.        ADDRESS ON FILE
COLON CASILLAS, EDGAR           ADDRESS ON FILE
COLON CASILLAS, LUIS ANGEL      ADDRESS ON FILE
COLON CASTANEDA, IRIS           ADDRESS ON FILE
COLON CASTELLANO, JANET         ADDRESS ON FILE
COLON CASTELLANOS, RICHARD      ADDRESS ON FILE
COLON CASTILLO, ANNETTE         ADDRESS ON FILE
COLON CASTILLO, BOLIVAR         ADDRESS ON FILE
Colon Castillo, David           ADDRESS ON FILE
Colon Castillo, Eduardo         ADDRESS ON FILE
COLON CASTILLO, HECTOR          ADDRESS ON FILE
COLON CASTILLO, IVONNE          ADDRESS ON FILE




                                                                            Page 1610 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1611 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CASTILLO, JORGE       ADDRESS ON FILE
COLON CASTILLO, JORGE       ADDRESS ON FILE
COLON CASTILLO, JOSE        ADDRESS ON FILE
Colon Castillo, Jose L      ADDRESS ON FILE
COLON CASTILLO, MIGUEL      ADDRESS ON FILE
COLON CASTILLO, MILDRE      ADDRESS ON FILE
COLON CASTILLO, MIRIAM M.   ADDRESS ON FILE
COLON CASTILLO, RAFAEL      ADDRESS ON FILE
COLON CASTILLO, VIRGEN      ADDRESS ON FILE
Colon Castro, Carlos        ADDRESS ON FILE
COLON CASTRO, CARLOS        ADDRESS ON FILE
COLON CASTRO, HECTOR        ADDRESS ON FILE
COLON CASTRO, IRIS D        ADDRESS ON FILE
COLON CASTRO, JUANITA       ADDRESS ON FILE
COLON CASTRO, LAWRENCE      ADDRESS ON FILE
COLON CASTRO, LUIS M        ADDRESS ON FILE
Colon Castro, Luis M        ADDRESS ON FILE
COLON CASTRO, LUIS M.       ADDRESS ON FILE
COLON CASTRO, MANUEL        ADDRESS ON FILE
COLON CASTRO, MARIA DEL C   ADDRESS ON FILE
COLON CASTRO, MAYRA E       ADDRESS ON FILE
Colon Castro, Merwin        ADDRESS ON FILE
COLON CASTRO, PEDRO         ADDRESS ON FILE
COLON CASTRO, YANIEL        ADDRESS ON FILE
COLON CASTRO, YAZMIN        ADDRESS ON FILE
COLON CASTRO, ZORAIDA       ADDRESS ON FILE
COLON CASTRO, ZORAIDA       ADDRESS ON FILE
COLON CEBOLLERO, LUISA I    ADDRESS ON FILE
COLON CEDENO, ENUDIO A.     ADDRESS ON FILE
COLON CEDENO, JOEL          ADDRESS ON FILE
COLON CEDENO, JOSE N.       ADDRESS ON FILE
COLON CENTENO, EMMA I       ADDRESS ON FILE
COLON CENTENO, JUAN         ADDRESS ON FILE
COLON CENTENO, LESLY V.     ADDRESS ON FILE
COLON CENTENO, MARIA M      ADDRESS ON FILE
COLON CENTENO, YARELLY      ADDRESS ON FILE
COLON CEPEDA, RAMONA        ADDRESS ON FILE
COLON CEREZO MD, FELIX L    ADDRESS ON FILE
COLON CERMENO, CARLOS       ADDRESS ON FILE
COLON CESAREO, JIMMY        ADDRESS ON FILE
COLON CESARIO, MELISSA      ADDRESS ON FILE
COLON CHAMORRO, ROBERTO     ADDRESS ON FILE
COLON CHAPARRO, DEIXTER     ADDRESS ON FILE
COLON CHARRIEZ, HILDA S     ADDRESS ON FILE
COLON CHEVERE, FELIX        ADDRESS ON FILE
COLON CHEVERE, WILMARIE     ADDRESS ON FILE
COLON CHEVERES, ZORAIDA     ADDRESS ON FILE
COLON CHINEA, GLORIMAR      ADDRESS ON FILE
COLON CHINEA, LORIEAN Y     ADDRESS ON FILE
COLON CINTRON, ALFIE        ADDRESS ON FILE
COLON CINTRON, GRISELLE     ADDRESS ON FILE
COLON CINTRON, HECTOR M     ADDRESS ON FILE
COLON CINTRON, HECTOR M     ADDRESS ON FILE
COLON CINTRON, JOSE         ADDRESS ON FILE
COLON CINTRON, LILLIAM      ADDRESS ON FILE
COLON CINTRON, LUZ M        ADDRESS ON FILE
COLON CINTRON, MARGARET     ADDRESS ON FILE
COLON CINTRON, MARIA I.     ADDRESS ON FILE
COLON CINTRON, NELSON       ADDRESS ON FILE
COLON CINTRON, SONIA M      ADDRESS ON FILE




                                                                        Page 1611 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1612 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CINTRON, VICTOR G     ADDRESS ON FILE
COLON CINTRON, ZORAIDA      ADDRESS ON FILE
COLON CIRINO, ANGEL         ADDRESS ON FILE
COLON CIRINO, JEXCENIA      ADDRESS ON FILE
COLON CLASS, CARLOS         ADDRESS ON FILE
COLON CLASS, JULIA          ADDRESS ON FILE
COLON CLASS, JULIA          ADDRESS ON FILE
COLON CLASS, LUZ            ADDRESS ON FILE
COLON CLASS, LUZ            ADDRESS ON FILE
COLON CLASS, MARITZA        ADDRESS ON FILE
COLON CLAUDIO, ARACELIS     ADDRESS ON FILE
COLON CLAUSELL, ANGIE       ADDRESS ON FILE
COLON CLAUSELL, KELVIN      ADDRESS ON FILE
COLON CLAUSSELLI, ELIEZER   ADDRESS ON FILE
COLON CLAVEL, ARIEL         ADDRESS ON FILE
COLON COLL MD, RAMON M      ADDRESS ON FILE
COLON COLLAZO, ANGEL        ADDRESS ON FILE
COLON COLLAZO, ARMINDA      ADDRESS ON FILE
COLON COLLAZO, BRAULIO      ADDRESS ON FILE
COLON COLLAZO, CARLOS       ADDRESS ON FILE
COLON COLLAZO, CARMEN S.    ADDRESS ON FILE
COLON COLLAZO, DENISSE      ADDRESS ON FILE
COLON COLLAZO, FRANCISCO    ADDRESS ON FILE
COLON COLLAZO, FRANCISCO    ADDRESS ON FILE
COLON COLLAZO, GERARDO J    ADDRESS ON FILE
COLON COLLAZO, HARRY        ADDRESS ON FILE
COLON COLLAZO, JORGE        ADDRESS ON FILE
COLON COLLAZO, JORGE        ADDRESS ON FILE
Colon Collazo, Julio        ADDRESS ON FILE
COLON COLLAZO, LOURDES Y    ADDRESS ON FILE
COLON COLLAZO, LUZ M        ADDRESS ON FILE
COLON COLLAZO, MYRIAM M     ADDRESS ON FILE
COLON COLLAZO, RAFAEL       ADDRESS ON FILE
COLON COLLAZO, RAMON A.     ADDRESS ON FILE
COLON COLLAZO, REY          ADDRESS ON FILE
COLON COLLAZO, ROBERTO      ADDRESS ON FILE
COLON COLMENERO, TAMARA     ADDRESS ON FILE
COLON COLMENERO, TAMARA I   ADDRESS ON FILE
COLON COLON MD, FELIX       ADDRESS ON FILE
COLON COLON, ADA S          ADDRESS ON FILE
COLON COLON, ADABEL         ADDRESS ON FILE
COLON COLON, ADALBERTO      ADDRESS ON FILE
COLON COLON, ADANEF         ADDRESS ON FILE
COLON COLON, AILEEN         ADDRESS ON FILE
COLON COLON, ALBERTO        ADDRESS ON FILE
COLON COLON, ALEXANDER      ADDRESS ON FILE
COLON COLON, ANA E          ADDRESS ON FILE
COLON COLON, ANA L          ADDRESS ON FILE
COLON COLON, ANABELLE       ADDRESS ON FILE
COLON COLON, ANDREA         ADDRESS ON FILE
COLON COLON, ANDRES         ADDRESS ON FILE
COLON COLON, ANGEL          ADDRESS ON FILE
COLON COLON, ANGEL          ADDRESS ON FILE
COLON COLON, ANGEL          ADDRESS ON FILE
COLON COLON, ANGEL          ADDRESS ON FILE
COLON COLON, ANGEL L        ADDRESS ON FILE
COLON COLON, ANGEL R        ADDRESS ON FILE
COLON COLON, ANGELA         ADDRESS ON FILE
COLON COLON, ANGELINE       ADDRESS ON FILE
COLON COLON, ANTONIA        ADDRESS ON FILE




                                                                        Page 1612 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1613 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON COLON, ARIEL           ADDRESS ON FILE
COLON COLON, ARINDA I        ADDRESS ON FILE
COLON COLON, ARLAINE         ADDRESS ON FILE
COLON COLON, ARLENE J        ADDRESS ON FILE
COLON COLON, ARMANDO         ADDRESS ON FILE
COLON COLON, ARMANDO         ADDRESS ON FILE
COLON COLON, ARNALDO         ADDRESS ON FILE
COLON COLON, AURORA M        ADDRESS ON FILE
COLON COLON, AWILDA          ADDRESS ON FILE
COLON COLON, BEN             ADDRESS ON FILE
COLON COLON, BEN             ADDRESS ON FILE
COLON COLON, BENNIE LUZ      ADDRESS ON FILE
COLON COLON, BERNABE         ADDRESS ON FILE
COLON COLON, BETZAIDA        ADDRESS ON FILE
COLON COLON, BETZAIDA        ADDRESS ON FILE
COLON COLON, BIENVENIDO      ADDRESS ON FILE
COLON COLON, BRENDA          ADDRESS ON FILE
COLON COLON, CARLOS          ADDRESS ON FILE
COLON COLON, CARLOS          ADDRESS ON FILE
COLON COLON, CARLOS          ADDRESS ON FILE
COLON COLON, CARLOS J.       ADDRESS ON FILE
Colon Colon, Carmen          ADDRESS ON FILE
COLON COLON, CARMEN J        ADDRESS ON FILE
COLON COLON, CARMEN N        ADDRESS ON FILE
COLON COLON, CRISTIAN        ADDRESS ON FILE
COLON COLON, CRISTOBAL       ADDRESS ON FILE
COLON COLON, DAISY           ADDRESS ON FILE
COLON COLON, DAMARIS         ADDRESS ON FILE
COLON COLON, DAMARIS DEL C   ADDRESS ON FILE
COLON COLON, DAVID           ADDRESS ON FILE
COLON COLON, DELIA           ADDRESS ON FILE
COLON COLON, DINORAH         ADDRESS ON FILE
COLON COLON, DINORAH         ADDRESS ON FILE
COLON COLON, EDITH           ADDRESS ON FILE
COLON COLON, EDUARDO         ADDRESS ON FILE
Colon Colon, Edwin           ADDRESS ON FILE
COLON COLON, EDWIN           ADDRESS ON FILE
COLON COLON, EDWIN R.        ADDRESS ON FILE
COLON COLON, ELBA M          ADDRESS ON FILE
COLON COLON, ELBA R          ADDRESS ON FILE
COLON COLON, ELIZABETH       ADDRESS ON FILE
COLON COLON, ELMER S         ADDRESS ON FILE
COLON COLON, ELSA V          ADDRESS ON FILE
Colon Colon, Elvin Wilmer    ADDRESS ON FILE
COLON COLON, EMILIO          ADDRESS ON FILE
COLON COLON, EMILLIE         ADDRESS ON FILE
COLON COLON, EMMA I          ADDRESS ON FILE
COLON COLON, ERIC D.         ADDRESS ON FILE
Colon Colon, Ernesto         ADDRESS ON FILE
COLON COLON, FELIX           ADDRESS ON FILE
COLON COLON, FELIX M.        ADDRESS ON FILE
COLON COLON, FERMIN          ADDRESS ON FILE
COLON COLON, FERNANDO        ADDRESS ON FILE
COLON COLON, FININ           ADDRESS ON FILE
COLON COLON, FRANK M.        ADDRESS ON FILE
COLON COLON, FREDDY A        ADDRESS ON FILE
COLON COLON, GERARDO         ADDRESS ON FILE
COLON COLON, GIANMANUEL      ADDRESS ON FILE
COLON COLON, GLENDA IVETTE   ADDRESS ON FILE
COLON COLON, GLORIA          ADDRESS ON FILE




                                                                         Page 1613 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1614 of 3500
                                                                           17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name               Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
COLON COLON, GLORIA         ADDRESS ON FILE
Colon Colon, Gloria I       ADDRESS ON FILE
COLON COLON, GLORYMARIE     ADDRESS ON FILE
COLON COLON, GUILLERMO      ADDRESS ON FILE
COLON COLON, GUILLERMO J    ADDRESS ON FILE
COLON COLON, GUILLERMO J.   ADDRESS ON FILE
COLON COLON, HAROLD L.      ADDRESS ON FILE
Colon Colon, Hector         ADDRESS ON FILE
Colon Colon, Hector         ADDRESS ON FILE
COLÓN COLÓN, HÉCTOR E.      LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
COLÓN COLÓN, HÉCTOR E.      LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
COLON COLON, HECTOR J       ADDRESS ON FILE
Colon Colon, Hector M.      ADDRESS ON FILE
Colon Colon, Hector S.      ADDRESS ON FILE
COLON COLON, HELGA E        ADDRESS ON FILE
COLON COLON, ILMARY         ADDRESS ON FILE
COLON COLON, IRIS N         ADDRESS ON FILE
COLON COLON, IRMA N         ADDRESS ON FILE
COLON COLON, IRVING         ADDRESS ON FILE
COLON COLON, ISIDRO A       ADDRESS ON FILE
COLON COLON, ISMAEL         ADDRESS ON FILE
COLON COLON, IVELYAM        ADDRESS ON FILE
Colon Colon, Jaime E        ADDRESS ON FILE
COLON COLON, JANICE         ADDRESS ON FILE
COLON COLON, JANNICE        ADDRESS ON FILE
COLON COLON, JEAN           ADDRESS ON FILE
COLON COLON, JOANNA         ADDRESS ON FILE
COLON COLON, JOEL           ADDRESS ON FILE
COLON COLON, JORGE          ADDRESS ON FILE
COLON COLON, JOSE           ADDRESS ON FILE
COLON COLON, JOSE           ADDRESS ON FILE
COLON COLON, JOSE           ADDRESS ON FILE
COLON COLON, JOSE           ADDRESS ON FILE
COLON COLON, JOSE A.        ADDRESS ON FILE
COLON COLON, JOSE A.        ADDRESS ON FILE
Colon Colon, Jose E         ADDRESS ON FILE
COLON COLON, JOSEFA         ADDRESS ON FILE
COLON COLON, JOSEFINA       ADDRESS ON FILE
COLON COLON, JUAN           ADDRESS ON FILE
COLON COLON, JUAN           ADDRESS ON FILE
COLON COLON, JUAN           ADDRESS ON FILE
Colon Colon, Juan M         ADDRESS ON FILE
Colon Colon, Julio A        ADDRESS ON FILE
COLON COLON, KAROLYN        ADDRESS ON FILE
COLON COLON, KATIA          ADDRESS ON FILE
COLON COLON, KENNET         ADDRESS ON FILE
COLON COLON, LESBY W.       ADDRESS ON FILE
COLON COLON, LILLIAM        ADDRESS ON FILE
COLON COLON, LINNETTE       ADDRESS ON FILE
COLON COLON, LIZETTE        ADDRESS ON FILE
COLON COLON, LIZZA I        ADDRESS ON FILE
COLON COLON, LLIRALY        ADDRESS ON FILE
COLON COLON, LOUISE M       ADDRESS ON FILE
COLON COLON, LUIS           ADDRESS ON FILE
COLON COLON, LUIS           ADDRESS ON FILE
COLON COLON, LUIS           ADDRESS ON FILE
COLON COLON, LUIS           ADDRESS ON FILE
COLON COLON, LUIS A         ADDRESS ON FILE
COLON COLON, LUIS A         ADDRESS ON FILE
COLON COLON, LUIS D.        ADDRESS ON FILE




                                                                                 Page 1614 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1615 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON COLON, LUIS DANIEL      ADDRESS ON FILE
COLON COLON, LUZ C            ADDRESS ON FILE
Colon Colon, Luz C            ADDRESS ON FILE
COLON COLON, LUZ C            ADDRESS ON FILE
COLON COLON, LUZ M            ADDRESS ON FILE
COLON COLON, LUZ V            ADDRESS ON FILE
COLON COLON, LYDIA E.         ADDRESS ON FILE
COLON COLON, LYDIA M          ADDRESS ON FILE
COLON COLON, LYMARI           ADDRESS ON FILE
COLON COLON, LYMARIE V.       ADDRESS ON FILE
COLON COLON, LYMARIS          ADDRESS ON FILE
Colon Colon, Manuel           ADDRESS ON FILE
COLON COLON, MANUEL           ADDRESS ON FILE
COLON COLON, MARIA            ADDRESS ON FILE
COLON COLON, MARIA DE L       ADDRESS ON FILE
COLON COLON, MARIA DE LOS A   ADDRESS ON FILE
COLON COLON, MARIA DEL R      ADDRESS ON FILE
COLON COLON, MARIA J.         ADDRESS ON FILE
COLON COLON, MARIA JUDITH     ADDRESS ON FILE
COLON COLON, MARIANITO        ADDRESS ON FILE
COLON COLON, MARIANO          ADDRESS ON FILE
COLON COLON, MARICARMEN       ADDRESS ON FILE
COLON COLON, MARILU           ADDRESS ON FILE
COLON COLON, MARLENE          ADDRESS ON FILE
COLON COLON, MARTA            ADDRESS ON FILE
COLON COLON, MARY L.          ADDRESS ON FILE
COLON COLON, MARYORY          ADDRESS ON FILE
COLON COLON, MELISSA A        ADDRESS ON FILE
COLON COLON, MERVIN A         ADDRESS ON FILE
COLON COLON, MIGUEL A.        ADDRESS ON FILE
COLON COLON, MILAGROS         ADDRESS ON FILE
COLON COLON, MILAGROS         ADDRESS ON FILE
COLON COLON, MINERVA          ADDRESS ON FILE
COLON COLON, MIRIAM           ADDRESS ON FILE
COLON COLON, MIRIAM           ADDRESS ON FILE
COLON COLON, MIRTA B          ADDRESS ON FILE
COLON COLON, NATACHA          ADDRESS ON FILE
COLON COLON, NATHANIA         ADDRESS ON FILE
COLON COLON, NELIDA E         ADDRESS ON FILE
COLON COLON, NITZA            SRA. NITZA COLON COLON    HC 1 BOX 5123                                          SALINAS      PR      00751
COLON COLON, NITZA M          ADDRESS ON FILE
Colon Colon, Nitza V          ADDRESS ON FILE
COLON COLON, NORBERTO         ADDRESS ON FILE
COLON COLON, NORBERTO         ADDRESS ON FILE
Colon Colon, Norma I          ADDRESS ON FILE
COLON COLON, NYLSA E          ADDRESS ON FILE
COLON COLON, ORLANDO          ADDRESS ON FILE
COLON COLON, OSCAR            ADDRESS ON FILE
Colon Colon, Oscar A          ADDRESS ON FILE
Colon Colon, Pablo            ADDRESS ON FILE
COLON COLON, RAFAEL           ADDRESS ON FILE
COLON COLON, RAMON            ADDRESS ON FILE
Colon Colon, Ramon            ADDRESS ON FILE
COLON COLON, RAQUEL           ADDRESS ON FILE
COLON COLON, RAUL             ADDRESS ON FILE
COLON COLON, REINEIDA         ADDRESS ON FILE
COLON COLON, RICARDO          ADDRESS ON FILE
COLON COLON, ROBERTO          ADDRESS ON FILE
COLON COLON, ROBERTO CARLOS   ADDRESS ON FILE
COLON COLON, ROSA A.          ADDRESS ON FILE




                                                                          Page 1615 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1616 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode    Country
COLON COLON, RUBEN                ADDRESS ON FILE
COLON COLON, RUMARIE              ADDRESS ON FILE
COLON COLON, RUTH MADELINE        ADDRESS ON FILE
COLON COLON, SANDRA               ADDRESS ON FILE
Colon Colon, Sixto                ADDRESS ON FILE
COLON COLON, SONIA                ADDRESS ON FILE
COLON COLON, SONIA I              ADDRESS ON FILE
COLON COLON, SONIA N.             ADDRESS ON FILE
COLON COLON, SYLMA                ADDRESS ON FILE
COLON COLON, TOMAS                ADDRESS ON FILE
COLON COLON, VALERIE              ADDRESS ON FILE
COLON COLON, VICTOR               ADDRESS ON FILE
COLON COLON, VICTOR L             ADDRESS ON FILE
Colon Colon, Victor M             ADDRESS ON FILE
COLON COLON, VILMARIE             ADDRESS ON FILE
COLON COLON, VIRGEN               ADDRESS ON FILE
COLON COLON, WANDA L              ADDRESS ON FILE
COLON COLON, WILFREDO             ADDRESS ON FILE
Colon Colon, William              ADDRESS ON FILE
COLON COLON, WILMA                ADDRESS ON FILE
COLON COLON, WILMARI              ADDRESS ON FILE
COLON COLON, XIOMARA              ADDRESS ON FILE
COLON COLON, YADIRA               ADDRESS ON FILE
COLON COLON, YAMIL                ADDRESS ON FILE
COLON COLON, YOLIMAR              ADDRESS ON FILE
COLON COLON, YOMAIDA              ADDRESS ON FILE
COLON COLON, YOMAIDA              ADDRESS ON FILE
COLON COLON, ZOYTIA E             ADDRESS ON FILE
COLON COLON, ZULMA                ADDRESS ON FILE
COLON COLON,RUBEN                 ADDRESS ON FILE
COLON CONCEPCION, ANGIE           ADDRESS ON FILE
Colon Concepcion, Daniel          ADDRESS ON FILE
COLON CONCEPCION, EDWIN           ADDRESS ON FILE
COLON CONCEPCION, ERIC            ADDRESS ON FILE
COLON CONCEPCION, HERNAN          ADDRESS ON FILE
COLON CONCEPCION, ISABELITA       ADDRESS ON FILE
Colon Concepcion, Jose M          ADDRESS ON FILE
COLON CONCEPCION, LESLIAN         ADDRESS ON FILE
COLON CONCEPCION, LUCIANN         ADDRESS ON FILE
COLON CONCEPCION, LYDIA DEL C     ADDRESS ON FILE
COLON CONCEPCION, MARIBEL         ADDRESS ON FILE
COLON CONCEPCION, WILFREDO        ADDRESS ON FILE
COLON CONCEPCION, WILVIA          ADDRESS ON FILE
COLON CONDE & MIRANDES LLC        1431 PONCE DE LEON AVE    SUITE 401                                              SAN JUAN     PR      000907‐4033
COLON CONDE, CARLOS               ADDRESS ON FILE
COLON CONDE, MARIA DE LOS A.      ADDRESS ON FILE
Colon Conde, Maria De Los Angel   ADDRESS ON FILE
COLON CONTRERAS, EDWARD           ADDRESS ON FILE
Colon Contreras, Eric O           ADDRESS ON FILE
COLON CORA, BETHZAIDA             ADDRESS ON FILE
COLON CORA, GERALD                ADDRESS ON FILE
COLON CORA, HECTOR                ADDRESS ON FILE
COLON CORA, ILEANATALIA           ADDRESS ON FILE
COLON CORA, ILEANATALIA           ADDRESS ON FILE
Colon Cora, Luis S                ADDRESS ON FILE
COLON CORA, LUIS S.               ADDRESS ON FILE
COLON CORA, LUISA                 ADDRESS ON FILE
COLON CORA, MARIA DE LOS A.       ADDRESS ON FILE
COLON CORA, WENDY                 ADDRESS ON FILE
COLON CORCHADO, REINALDO          ADDRESS ON FILE




                                                                              Page 1616 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1617 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CORCHADO, REINALDO    ADDRESS ON FILE
COLON CORCHADO, REINALDO    ADDRESS ON FILE
COLON CORDERO, CARMEN L     ADDRESS ON FILE
COLON CORDERO, EVIER R.     ADDRESS ON FILE
COLON CORDERO, FELIX A      ADDRESS ON FILE
COLON CORDERO, GILDA        ADDRESS ON FILE
COLON CORDERO, HERIBERTO    ADDRESS ON FILE
COLON CORDERO, JENNIFER     ADDRESS ON FILE
COLON CORDERO, JOSE         ADDRESS ON FILE
Colon Cordero, Marcos       ADDRESS ON FILE
COLON CORDERO, ORLANDO      ADDRESS ON FILE
COLON CORDERO, OSVALDO      ADDRESS ON FILE
COLON CORDERO, RAFAEL       ADDRESS ON FILE
COLON CORDOVA, CARLOS       ADDRESS ON FILE
COLON CORDOVA, YALESKA      ADDRESS ON FILE
COLON CORDOVA, YALESKA      ADDRESS ON FILE
COLON CORDOVA, YALESKA      ADDRESS ON FILE
COLON CORREA MD, LUIS F     ADDRESS ON FILE
Colon Correa, Angel         ADDRESS ON FILE
COLON CORREA, CAMILLE       ADDRESS ON FILE
COLON CORREA, CARILYN       ADDRESS ON FILE
COLON CORREA, ELIZABETH     ADDRESS ON FILE
COLON CORREA, GLORIMAR      ADDRESS ON FILE
COLON CORREA, GUILLERMO     ADDRESS ON FILE
COLON CORREA, HECTOR        ADDRESS ON FILE
Colon Correa, Ismael        ADDRESS ON FILE
COLON CORREA, LILLIAN I     ADDRESS ON FILE
COLON CORREA, LUZ D         ADDRESS ON FILE
COLON CORREA, MAGDA         ADDRESS ON FILE
COLON CORREA, MANUEL        ADDRESS ON FILE
COLON CORREA, MARANGELLY    ADDRESS ON FILE
COLON CORREA, MILAGROS      ADDRESS ON FILE
Colon Correa, Miriam        ADDRESS ON FILE
COLON CORREA, NILMARIE      ADDRESS ON FILE
COLON CORREA, YOLANDA       ADDRESS ON FILE
Colon Correa, Yolanda       ADDRESS ON FILE
COLON CORREA, ZAIDA         ADDRESS ON FILE
COLON CORREA, ZULMA         ADDRESS ON FILE
COLON CORRETJER, LISSETTE   ADDRESS ON FILE
COLON CORTES, AMILCAR       ADDRESS ON FILE
COLON CORTES, AMILCAR       ADDRESS ON FILE
COLON CORTES, ARIEDWIN      ADDRESS ON FILE
COLON CORTES, ARIEDWIN      ADDRESS ON FILE
COLON CORTES, CARLOS F.     ADDRESS ON FILE
COLON CORTES, CARMELO       ADDRESS ON FILE
COLON CORTES, CARMEN N      ADDRESS ON FILE
COLON CORTES, DORIS         ADDRESS ON FILE
COLON CORTES, DORIS I       ADDRESS ON FILE
Colon Cortes, Edward        ADDRESS ON FILE
COLON CORTES, FELIX L       ADDRESS ON FILE
Colon Cortes, Giselle M.    ADDRESS ON FILE
COLON CORTES, HARRY         ADDRESS ON FILE
COLON CORTES, HILDA I       ADDRESS ON FILE
COLON CORTES, JANNETTE      ADDRESS ON FILE
COLON CORTES, JANNETTE      ADDRESS ON FILE
COLON CORTES, JUANITA       ADDRESS ON FILE
COLON CORTES, LUIS E        ADDRESS ON FILE
COLON CORTES, MAGDA J       ADDRESS ON FILE
COLON CORTES, MARISOL       ADDRESS ON FILE
COLON CORTES, MYRNA         ADDRESS ON FILE




                                                                        Page 1617 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1618 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CORTES, NELSON             ADDRESS ON FILE
COLON CORTES, NEREIDA            ADDRESS ON FILE
COLON CORTES, NICOLE             ADDRESS ON FILE
Colon Cortes, Vanessa M.         ADDRESS ON FILE
COLON CORTES, YANERYS            ADDRESS ON FILE
COLON CORTES, YOLANDA            ADDRESS ON FILE
COLON CORTIJO, ALEJANDRO         ADDRESS ON FILE
COLON CORTIJO, ALEYDA            ADDRESS ON FILE
COLON CORTIJO, MARIA DE LOS A.   ADDRESS ON FILE
COLON CORTIJO, MARIA DE LOS A.   ADDRESS ON FILE
COLON COSME, AGUSTIN             ADDRESS ON FILE
COLON COSME, AIDA L              ADDRESS ON FILE
COLON COSME, ANGEL L.            ADDRESS ON FILE
COLON COSME, CARLOS              ADDRESS ON FILE
COLON COSME, EVELYN              ADDRESS ON FILE
COLON COSME, JANET               ADDRESS ON FILE
COLON COSME, JESUS               ADDRESS ON FILE
COLON COSME, JUNIOR              ADDRESS ON FILE
COLON COSME, JUNIOR A.           ADDRESS ON FILE
COLON COSME, LIZBETH             ADDRESS ON FILE
COLON COSME, LYDANNETT           ADDRESS ON FILE
COLON COSME, LYDANNETT           ADDRESS ON FILE
COLON COSME, LYDIA E             ADDRESS ON FILE
COLON COSME, MARIA               ADDRESS ON FILE
COLON COSME, MARILYN             ADDRESS ON FILE
COLON COSME, NATHALIA            ADDRESS ON FILE
COLON COSME, NATHALIA            ADDRESS ON FILE
COLON COSME, ODEMARIS            ADDRESS ON FILE
COLON COSME, OLGA J.             ADDRESS ON FILE
COLON COSME, OLGA J.             ADDRESS ON FILE
COLON COSME, PABLO S             ADDRESS ON FILE
COLON COSTAS, ELIZABETH          ADDRESS ON FILE
COLON COTTO, CHRISTIAN           ADDRESS ON FILE
COLON COTTO, EDLIN M             ADDRESS ON FILE
COLON COTTO, ERIKA               ADDRESS ON FILE
COLON COTTO, JAVIER              ADDRESS ON FILE
COLON COTTO, JOSE                ADDRESS ON FILE
COLON COTTO, JOSE A              ADDRESS ON FILE
COLON COTTO, MIGUEL              ADDRESS ON FILE
COLON COTTO, RICHARD             ADDRESS ON FILE
COLON CRESPO, AGNES              ADDRESS ON FILE
Colon Crespo, Billy              ADDRESS ON FILE
COLON CRESPO, CARLOS             ADDRESS ON FILE
COLON CRESPO, CARMEN C           ADDRESS ON FILE
COLON CRESPO, EDUARDO            ADDRESS ON FILE
COLON CRESPO, MARISOL            ADDRESS ON FILE
COLON CRESPO, NEYSHA             ADDRESS ON FILE
COLON CRESPO, TOMAS              ADDRESS ON FILE
COLON CRESPO,CATHYRIA            ADDRESS ON FILE
COLON CRESTO, NATIVIDAD          ADDRESS ON FILE
COLON CRUZ, ADALBERTO            ADDRESS ON FILE
COLON CRUZ, AISSA M              ADDRESS ON FILE
Colon Cruz, Alexis               ADDRESS ON FILE
COLON CRUZ, ANA                  ADDRESS ON FILE
COLON CRUZ, ANA                  ADDRESS ON FILE
COLON CRUZ, ANA M                ADDRESS ON FILE
COLON CRUZ, ANGEL M              ADDRESS ON FILE
COLON CRUZ, ANGEL S.             ADDRESS ON FILE
COLON CRUZ, ANGIE M              ADDRESS ON FILE
COLON CRUZ, ANTONIO              ADDRESS ON FILE




                                                                             Page 1618 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1619 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CRUZ, ASTRID E       ADDRESS ON FILE
COLON CRUZ, BARBARA        ADDRESS ON FILE
COLON CRUZ, BARBARA M      ADDRESS ON FILE
COLON CRUZ, BENJAMIN       ADDRESS ON FILE
COLON CRUZ, BERNARDO       ADDRESS ON FILE
COLON CRUZ, BRENMALIS N    ADDRESS ON FILE
COLON CRUZ, CARLOS         ADDRESS ON FILE
COLON CRUZ, CARLOS         ADDRESS ON FILE
COLON CRUZ, CARLOS J.      ADDRESS ON FILE
COLON CRUZ, CARMEN L       ADDRESS ON FILE
COLON CRUZ, CARMEN Z       ADDRESS ON FILE
COLON CRUZ, DAMARIS        ADDRESS ON FILE
COLON CRUZ, DAMARIS        ADDRESS ON FILE
COLON CRUZ, DAMASO         ADDRESS ON FILE
COLON CRUZ, DAVID          ADDRESS ON FILE
COLON CRUZ, DENNIS F.      ADDRESS ON FILE
COLON CRUZ, EDGARDO        ADDRESS ON FILE
COLON CRUZ, EFRAIN         ADDRESS ON FILE
COLON CRUZ, ELBA M         ADDRESS ON FILE
COLON CRUZ, ELDRA          ADDRESS ON FILE
COLON CRUZ, ELSA D         ADDRESS ON FILE
COLON CRUZ, ELVIN          ADDRESS ON FILE
COLON CRUZ, ENEIDA I       ADDRESS ON FILE
COLON CRUZ, ENID           ADDRESS ON FILE
COLON CRUZ, EUSEBIO        ADDRESS ON FILE
COLON CRUZ, FRANCELIS E    ADDRESS ON FILE
COLON CRUZ, FRANCES        ADDRESS ON FILE
COLON CRUZ, FRANCISCO      ADDRESS ON FILE
COLON CRUZ, GENARO         ADDRESS ON FILE
COLON CRUZ, GINET M        ADDRESS ON FILE
COLON CRUZ, GRISELLE       ADDRESS ON FILE
COLON CRUZ, HECTOR         ADDRESS ON FILE
COLON CRUZ, HERBERGHT      ADDRESS ON FILE
COLON CRUZ, IRIS           ADDRESS ON FILE
COLON CRUZ, IRIS           ADDRESS ON FILE
COLON CRUZ, IRIS D         ADDRESS ON FILE
COLON CRUZ, IRIS M.        ADDRESS ON FILE
COLON CRUZ, IRIS Y         ADDRESS ON FILE
COLON CRUZ, ISAMAR         ADDRESS ON FILE
COLON CRUZ, IVELISSE       ADDRESS ON FILE
COLON CRUZ, JAIME          ADDRESS ON FILE
COLON CRUZ, JANNIRA        ADDRESS ON FILE
COLON CRUZ, JESUS          ADDRESS ON FILE
COLON CRUZ, JOCELYN        ADDRESS ON FILE
COLON CRUZ, JOHANNA        ADDRESS ON FILE
Colon Cruz, Jorge L        ADDRESS ON FILE
COLON CRUZ, JOSE           ADDRESS ON FILE
COLON CRUZ, JOSE           ADDRESS ON FILE
COLON CRUZ, JOSE A.        ADDRESS ON FILE
COLON CRUZ, JOSE ANTONIO   ADDRESS ON FILE
COLON CRUZ, JOSE ISMAEL    ADDRESS ON FILE
COLON CRUZ, JOSE RODOLFO   ADDRESS ON FILE
COLON CRUZ, JOSUE          ADDRESS ON FILE
COLON CRUZ, JOSUE D        ADDRESS ON FILE
COLON CRUZ, JUAN           ADDRESS ON FILE
COLON CRUZ, JUAN           ADDRESS ON FILE
COLON CRUZ, JUANA          ADDRESS ON FILE
COLON CRUZ, JUDITH         ADDRESS ON FILE
COLON CRUZ, JULIA R.       ADDRESS ON FILE
COLON CRUZ, JULIO          ADDRESS ON FILE




                                                                       Page 1619 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1620 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON CRUZ, JULIO         ADDRESS ON FILE
COLON CRUZ, JULIO C       ADDRESS ON FILE
COLON CRUZ, KEILA         ADDRESS ON FILE
COLON CRUZ, LEONOR        ADDRESS ON FILE
COLON CRUZ, LIZ           ADDRESS ON FILE
COLON CRUZ, LORRAINE      ADDRESS ON FILE
COLON CRUZ, LOURDES A     ADDRESS ON FILE
COLON CRUZ, LUIS          ADDRESS ON FILE
Colon Cruz, Luis A        ADDRESS ON FILE
COLON CRUZ, LUZ           ADDRESS ON FILE
COLON CRUZ, LUZ           ADDRESS ON FILE
COLON CRUZ, MARIA         ADDRESS ON FILE
COLON CRUZ, MARIA         ADDRESS ON FILE
COLON CRUZ, MARIA         ADDRESS ON FILE
COLON CRUZ, MARIA C.      ADDRESS ON FILE
COLON CRUZ, MARIA DE LO   ADDRESS ON FILE
COLON CRUZ, MARIA E       ADDRESS ON FILE
COLON CRUZ, MARIA M       ADDRESS ON FILE
COLON CRUZ, MARIA V       ADDRESS ON FILE
COLON CRUZ, MARIROSA      ADDRESS ON FILE
COLON CRUZ, MARTA         ADDRESS ON FILE
Colon Cruz, Martin J      ADDRESS ON FILE
COLON CRUZ, MIGUEL        ADDRESS ON FILE
COLON CRUZ, MIGUEL        ADDRESS ON FILE
Colon Cruz, Mildred       ADDRESS ON FILE
COLON CRUZ, MIRIAM        ADDRESS ON FILE
COLON CRUZ, NYDIA M       ADDRESS ON FILE
COLON CRUZ, OBED          ADDRESS ON FILE
COLON CRUZ, OLGA E        ADDRESS ON FILE
COLON CRUZ, OLGA I        ADDRESS ON FILE
COLON CRUZ, PATRICIA      ADDRESS ON FILE
COLON CRUZ, PEDRO         ADDRESS ON FILE
COLON CRUZ, PEDRO         ADDRESS ON FILE
COLON CRUZ, PEDRO L.      ADDRESS ON FILE
COLON CRUZ, RAFAELA       ADDRESS ON FILE
COLON CRUZ, RAMON         ADDRESS ON FILE
Colon Cruz, Ramon A       ADDRESS ON FILE
COLON CRUZ, ROBERTO       ADDRESS ON FILE
COLON CRUZ, ROGELIO       ADDRESS ON FILE
COLON CRUZ, ROSA M        ADDRESS ON FILE
COLON CRUZ, SHERLEYA      ADDRESS ON FILE
COLON CRUZ, SHIRLEY A     ADDRESS ON FILE
COLON CRUZ, SONIA         ADDRESS ON FILE
COLON CRUZ, STEPHANIE     ADDRESS ON FILE
COLON CRUZ, TANISHKA      ADDRESS ON FILE
COLON CRUZ, WANDA         ADDRESS ON FILE
COLON CRUZ, WANDA M       ADDRESS ON FILE
COLON CRUZ, WILFREDO      ADDRESS ON FILE
COLON CRUZ, WILLIAM       ADDRESS ON FILE
COLON CRUZ, WILLIAM       ADDRESS ON FILE
COLON CRUZ, WILLIAM G     ADDRESS ON FILE
COLON CRUZ, YESENIA       ADDRESS ON FILE
COLON CRUZ,WANDA          ADDRESS ON FILE
COLON CRUZ,WILLIAM        ADDRESS ON FILE
COLON CRUZADO, RIGEL A    ADDRESS ON FILE
COLON CUADRADO, YADIL     ADDRESS ON FILE
COLON CUADRADO, YAMIL     ADDRESS ON FILE
COLON CUASCAT, ANA        ADDRESS ON FILE
COLON CUESTA, JOSE A      ADDRESS ON FILE
COLON CUESTA, MARITERE    ADDRESS ON FILE




                                                                      Page 1620 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1621 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Colon Cuevas, Amado            ADDRESS ON FILE
COLON CUEVAS, JANET            ADDRESS ON FILE
COLON CUEVAS, JANETTSSE        ADDRESS ON FILE
COLON CUEVAS, MIGUEL A.        ADDRESS ON FILE
COLON CUEVAS, MIRIAM           ADDRESS ON FILE
COLON CUEVAS, REBECA           ADDRESS ON FILE
COLON CUEVAS, REBECCA          ADDRESS ON FILE
COLON CUEVAS, VANESSA          ADDRESS ON FILE
COLON CUMBA, MARIA DE LOS A    ADDRESS ON FILE
COLON CUPELES, ARAZELIS        ADDRESS ON FILE
COLON CUSTODIO, FIOL D         ADDRESS ON FILE
COLON CUSTODIO, JOSE D         ADDRESS ON FILE
COLON CUSTODIO, JUANITA        ADDRESS ON FILE
COLON DAMIANI, ONASSIS         ADDRESS ON FILE
COLON DAVILA, ADA              ADDRESS ON FILE
COLON DAVILA, AMANDA M.        ADDRESS ON FILE
COLON DAVILA, ANGEL            ADDRESS ON FILE
Colon Davila, Aracelis         ADDRESS ON FILE
COLON DAVILA, BETHZAIDA        ADDRESS ON FILE
Colon Davila, Edwin J          ADDRESS ON FILE
Colon Davila, Erier E          ADDRESS ON FILE
COLON DAVILA, ERIKA            ADDRESS ON FILE
COLON DAVILA, FRANCIS          ADDRESS ON FILE
COLON DAVILA, GERMAN           ADDRESS ON FILE
COLON DAVILA, GLADIELYS        ADDRESS ON FILE
COLON DAVILA, HIDELISSE        ADDRESS ON FILE
COLON DAVILA, JAVIER           ADDRESS ON FILE
COLON DAVILA, JOHANNA          ADDRESS ON FILE
COLON DAVILA, JORGE A          ADDRESS ON FILE
COLON DAVILA, JOSE             ADDRESS ON FILE
Colon Davila, Melanys          ADDRESS ON FILE
Colon Davila, Miguel           ADDRESS ON FILE
COLON DAVILA, MIRELIS          ADDRESS ON FILE
COLON DAVILA, MIRTA I          ADDRESS ON FILE
COLON DAVILA, NASHARY          ADDRESS ON FILE
Colon Davila, Omar             ADDRESS ON FILE
COLON DAVILA, OMAR             ADDRESS ON FILE
Colon Davila, Pablo L          ADDRESS ON FILE
COLON DAVILA, PEDRO            ADDRESS ON FILE
Colon Davila, Pedro Jr.        ADDRESS ON FILE
COLON DE ALBA, RUBEN           ADDRESS ON FILE
COLON DE ARMAS, CARMEN M.      ADDRESS ON FILE
COLON DE CALDERON, CARMEN L.   ADDRESS ON FILE
COLON DE CRUZ, AIXA M          ADDRESS ON FILE
COLON DE JESUS, ABRAHAM        ADDRESS ON FILE
COLON DE JESUS, ALICIA         ADDRESS ON FILE
COLON DE JESUS, ANA L          ADDRESS ON FILE
COLON DE JESUS, ANGEL M        ADDRESS ON FILE
COLON DE JESUS, BENEDICTA      ADDRESS ON FILE
COLON DE JESUS, BENJAMIN       ADDRESS ON FILE
COLON DE JESUS, CARLOS S.      ADDRESS ON FILE
COLON DE JESUS, CARMELO        ADDRESS ON FILE
COLON DE JESUS, CARMEN I       ADDRESS ON FILE
Colon De Jesus, Dennis         ADDRESS ON FILE
COLON DE JESUS, EDGAR          ADDRESS ON FILE
COLON DE JESUS, EDGARDO        ADDRESS ON FILE
COLON DE JESUS, EDNA M         ADDRESS ON FILE
COLON DE JESUS, ELIEZER        ADDRESS ON FILE
COLON DE JESUS, ELIZABETH      ADDRESS ON FILE
COLON DE JESUS, EMILIO         ADDRESS ON FILE




                                                                           Page 1621 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1622 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4    City         State   PostalCode   Country
Colon De Jesus, Enrique          ADDRESS ON FILE
COLON DE JESUS, ENRIQUE          ADDRESS ON FILE
COLON DE JESUS, GENESIS          ADDRESS ON FILE
COLON DE JESUS, GLADYS           ADDRESS ON FILE
COLON DE JESUS, GLENDA L         ADDRESS ON FILE
COLON DE JESUS, GLORIA           ADDRESS ON FILE
COLON DE JESUS, GUILLERMO        ADDRESS ON FILE
COLON DE JESUS, IVELISSE         ADDRESS ON FILE
COLON DE JESUS, JANICE           ADDRESS ON FILE
COLON DE JESUS, JESUS            ADDRESS ON FILE
COLON DE JESUS, JOANA            ADDRESS ON FILE
COLON DE JESUS, JOSE             ADDRESS ON FILE
COLON DE JESUS, JOSE             ADDRESS ON FILE
COLON DE JESUS, JOSE C.          ADDRESS ON FILE
COLON DE JESUS, JOSE C.          ADDRESS ON FILE
COLÓN DE JESÚS, JOSÉ C.          POR DERECHO PROPIO        URB. LADERAS DE                  SAN JUAN   COBANA 27   SAN JUAN     PR      00926
COLON DE JESUS, JUAN             ADDRESS ON FILE
COLON DE JESUS, JUAN A           ADDRESS ON FILE
COLON DE JESUS, JUAN A.          ADDRESS ON FILE
COLON DE JESUS, JULIO M          ADDRESS ON FILE
Colon De Jesus, Kevin            ADDRESS ON FILE
COLON DE JESUS, LEIDA            ADDRESS ON FILE
COLON DE JESUS, LUIS             ADDRESS ON FILE
Colon De Jesus, Luis A           ADDRESS ON FILE
COLON DE JESUS, LUIS ANTONIO     ADDRESS ON FILE
COLON DE JESUS, LUZ D            ADDRESS ON FILE
COLON DE JESUS, LYDIA E          ADDRESS ON FILE
COLON DE JESUS, MANUEL           ADDRESS ON FILE
COLON DE JESUS, MANUEL ANTONIO   ADDRESS ON FILE
COLON DE JESUS, MARIA M          ADDRESS ON FILE
COLON DE JESUS, MARTA L          ADDRESS ON FILE
Colon De Jesus, Nancy            ADDRESS ON FILE
COLON DE JESUS, NYDDIAN I        ADDRESS ON FILE
COLON DE JESUS, OLGA L.          ADDRESS ON FILE
COLON DE JESUS, OMAR A           ADDRESS ON FILE
COLON DE JESUS, PETRA            ADDRESS ON FILE
Colon De Jesus, Ramonita         ADDRESS ON FILE
COLON DE JESUS, SAMELYN          ADDRESS ON FILE
COLON DE JESUS, SANDRA I         ADDRESS ON FILE
COLON DE JESUS, SANDRA I         ADDRESS ON FILE
COLON DE JESUS, SOLEDAD          ADDRESS ON FILE
COLON DE JESUS, SONIA            ADDRESS ON FILE
COLON DE JESUS, SONIA N.         ADDRESS ON FILE
COLON DE JESUS, VILMA            ADDRESS ON FILE
COLON DE JESUS, VIRGEN           ADDRESS ON FILE
COLON DE JESUS, VIRGINIA         ADDRESS ON FILE
COLON DE JESUS, WILLIAM          ADDRESS ON FILE
COLON DE JESUS, YANID DEL C.     ADDRESS ON FILE
COLON DE JIMENEZ, ANA L          ADDRESS ON FILE
COLON DE LA CRUZ, LEICHLA        ADDRESS ON FILE
COLON DE LA MATTA, CARMEN V      ADDRESS ON FILE
COLON DE LA ROSA, EFRAIN         ADDRESS ON FILE
COLON DE LA ROSA, KARIMAR        ADDRESS ON FILE
COLON DE LA ROSA, LUIS           ADDRESS ON FILE
COLON DE LA ROSA, SAMUEL         ADDRESS ON FILE
COLON DE LATORRE, MARIA S        ADDRESS ON FILE
COLON DE LEON, ANEX              ADDRESS ON FILE
COLON DE LEON, RAMONA            ADDRESS ON FILE
COLON DE LEON, WILFRED           ADDRESS ON FILE
COLON DE NAVAS, EVA L            ADDRESS ON FILE




                                                                             Page 1622 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1623 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON DE NAZARIO, AUREA E   ADDRESS ON FILE
COLON DE PENA, BLANCA N.    ADDRESS ON FILE
COLON DE PERFECTO, ANA N    ADDRESS ON FILE
COLON DE RIVERA, ANA M.     ADDRESS ON FILE
COLON DE SANCHEZ, SONIA M   ADDRESS ON FILE
COLON DE TORRENT, SONIA     ADDRESS ON FILE
COLON DECLET, JOMAR         ADDRESS ON FILE
COLON DECLET, JOSE          ADDRESS ON FILE
COLON DECLET, LUCIANO       ADDRESS ON FILE
COLON DECLET, MARCOS        ADDRESS ON FILE
COLON DECLET, SUSANA        ADDRESS ON FILE
COLON DEGLANS, REGIS        ADDRESS ON FILE
COLON DEL HOYO, ARNALDO     ADDRESS ON FILE
COLON DEL HOYO, ILEANA      ADDRESS ON FILE
COLON DEL MORAL, NYDIA N.   ADDRESS ON FILE
COLON DEL POZO, CARLOS      ADDRESS ON FILE
COLON DEL RIO, LUZ N        ADDRESS ON FILE
COLON DEL TORO, CRISTINA    ADDRESS ON FILE
COLON DEL VALLE, ALBA G     ADDRESS ON FILE
COLON DEL VALLE, ALBERTO    ADDRESS ON FILE
COLON DEL VALLE, CARMEN D   ADDRESS ON FILE
COLON DEL VALLE, GLADYS     ADDRESS ON FILE
COLON DEL VALLE, HILDE      ADDRESS ON FILE
COLON DEL VALLE, LUIS       ADDRESS ON FILE
COLON DEL VALLE, MADELINE   ADDRESS ON FILE
COLON DEL VALLE, MADELINE   ADDRESS ON FILE
Colon Del Valle, Modesto    ADDRESS ON FILE
COLON DEL VALLE, NILSA E    ADDRESS ON FILE
COLON DEL VALLE, NORMA I    ADDRESS ON FILE
COLON DEL VALLE, RUBEN      ADDRESS ON FILE
COLON DEL VALLE, YESENIA    ADDRESS ON FILE
COLON DEL VALLE, ZUGEILY    ADDRESS ON FILE
COLON DELGADO, ALFREDO      ADDRESS ON FILE
COLON DELGADO, BRENDA       ADDRESS ON FILE
COLON DELGADO, BRENDA       ADDRESS ON FILE
Colon Delgado, Carmen       ADDRESS ON FILE
COLON DELGADO, CARMEN A     ADDRESS ON FILE
COLON DELGADO, EDILBERTO    ADDRESS ON FILE
Colon Delgado, Elizabeth    ADDRESS ON FILE
COLON DELGADO, ENRIQUE      ADDRESS ON FILE
COLON DELGADO, EVALINA      ADDRESS ON FILE
COLON DELGADO, JADIRA       ADDRESS ON FILE
COLON DELGADO, JAVIER       ADDRESS ON FILE
COLON DELGADO, JOSE A       ADDRESS ON FILE
COLON DELGADO, LYDIA        ADDRESS ON FILE
COLON DELGADO, LYDIA        ADDRESS ON FILE
COLON DELGADO, LYDIA E      ADDRESS ON FILE
COLON DELGADO, MAYDA        ADDRESS ON FILE
COLON DELGADO, MELBA Y      ADDRESS ON FILE
COLON DELGADO, MIGNALY      ADDRESS ON FILE
COLON DELGADO, OLGA         ADDRESS ON FILE
COLON DELGADO, REINALDO     ADDRESS ON FILE
COLON DELGADO, SAMUEL       ADDRESS ON FILE
COLON DELGADO, SUSANE J.    ADDRESS ON FILE
COLON DIAZ MD, RAFAEL A     ADDRESS ON FILE
COLON DIAZ, ADIANEZ         ADDRESS ON FILE
COLON DIAZ, AIXA            ADDRESS ON FILE
COLON DIAZ, ANGEL           ADDRESS ON FILE
COLON DIAZ, ANGEL L         ADDRESS ON FILE
COLON DIAZ, ANGEL M         ADDRESS ON FILE




                                                                        Page 1623 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1624 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
COLON DIAZ, ANGEL T.           ADDRESS ON FILE
COLON DIAZ, ANIBEL             ADDRESS ON FILE
COLON DIAZ, ANTONIO L.         ADDRESS ON FILE
COLON DIAZ, BEATRIZ            ADDRESS ON FILE
COLON DIAZ, CARMEN E           ADDRESS ON FILE
COLON DIAZ, CARMEN M.          ADDRESS ON FILE
COLON DIAZ, CARMEN S           ADDRESS ON FILE
COLON DIAZ, CARMEN S           ADDRESS ON FILE
COLON DIAZ, CARMEN Y.          ADDRESS ON FILE
COLON DIAZ, CATHERINE          ADDRESS ON FILE
COLON DIAZ, CELESTINO          ADDRESS ON FILE
COLON DIAZ, CLARYVELL          ADDRESS ON FILE
COLON DIAZ, CRISTOBAL          ADDRESS ON FILE
COLON DIAZ, DAISY              ADDRESS ON FILE
Colon Diaz, Daniel             ADDRESS ON FILE
COLON DIAZ, DAVID J.           ADDRESS ON FILE
COLON DIAZ, DIANA IVETTE       ADDRESS ON FILE
COLON DIAZ, ELAINE             ADDRESS ON FILE
COLON DIAZ, ELBA L.            ADDRESS ON FILE
Colon Diaz, Elia M             ADDRESS ON FILE
COLON DIAZ, ELSA B             ADDRESS ON FILE
COLON DIAZ, ERIC               ADDRESS ON FILE
Colon Diaz, Fernando           ADDRESS ON FILE
COLON DIAZ, FRANCISCO J        ADDRESS ON FILE
COLON DIAZ, GAMALIEL           ADDRESS ON FILE
COLON DIAZ, GIANNINA           ADDRESS ON FILE
COLON DIAZ, HIRAM              ADDRESS ON FILE
COLON DIAZ, ISABEL             ADDRESS ON FILE
Colon Diaz, Ivan               ADDRESS ON FILE
COLON DIAZ, IVIA N             ADDRESS ON FILE
COLON DIAZ, JANNETTE           ADDRESS ON FILE
COLON DIAZ, JAVIER             ADDRESS ON FILE
COLON DIAZ, JESSICA            ADDRESS ON FILE
COLON DIAZ, JOEL               ADDRESS ON FILE
COLON DIAZ, JOHAN              ADDRESS ON FILE
COLON DIAZ, JOHANNYS           ADDRESS ON FILE
COLON DIAZ, JORGE A            ADDRESS ON FILE
COLON DIAZ, JOSE               ADDRESS ON FILE
COLON DIAZ, JOSE               ADDRESS ON FILE
COLON DIAZ, JOSE R             ADDRESS ON FILE
COLON DIAZ, JOSELITO           ADDRESS ON FILE
COLON DIAZ, JUAN               ADDRESS ON FILE
Colon Diaz, Juan B             ADDRESS ON FILE
COLON DIAZ, KAREN              ADDRESS ON FILE
COLON DIAZ, KARLA MARY         ADDRESS ON FILE
COLON DIAZ, KELVIN             ADDRESS ON FILE
COLON DIAZ, KENIA              ADDRESS ON FILE
COLON DIAZ, LIZBETH            ADDRESS ON FILE
COLON DIAZ, LUIS A.            ADDRESS ON FILE
COLON DIAZ, LUIS A.            ADDRESS ON FILE
COLON DIAZ, LUIS G             ADDRESS ON FILE
COLON DIAZ, LUZ J.             ADDRESS ON FILE
COLON DIAZ, LUZ M              ADDRESS ON FILE
COLON DIAZ, MAITE              ADDRESS ON FILE
COLON DIAZ, MARI L             ADDRESS ON FILE
COLON DIAZ, MARIA              ADDRESS ON FILE
COLON DIAZ, MARIA              ADDRESS ON FILE
COLÓN DÍAZ, MARÍA DEL C.       LCDO. WILLIAM MARINI ROMÁN   PO BOX 1688                                         LARES        PR      00669
COLON DIAZ, MARIA DEL CARMEN   ADDRESS ON FILE
COLON DIAZ, MARIA P            ADDRESS ON FILE




                                                                           Page 1624 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1625 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON DIAZ, MARIA P                ADDRESS ON FILE
COLON DIAZ, MARIA V                ADDRESS ON FILE
COLON DIAZ, MARIAM L               ADDRESS ON FILE
COLON DIAZ, MARIAN                 ADDRESS ON FILE
COLON DIAZ, MARISOL                ADDRESS ON FILE
COLON DIAZ, MARITZA                ADDRESS ON FILE
COLON DIAZ, MELISSA                ADDRESS ON FILE
COLON DIAZ, MELIZA                 ADDRESS ON FILE
COLON DIAZ, MIGDALIA               ADDRESS ON FILE
COLON DIAZ, MIGUEL                 ADDRESS ON FILE
COLON DIAZ, MILAGROS               ADDRESS ON FILE
COLON DIAZ, MILTON                 ADDRESS ON FILE
COLON DIAZ, NATALIA                ADDRESS ON FILE
COLON DIAZ, NATALIA A.             ADDRESS ON FILE
COLON DIAZ, NILDA V                ADDRESS ON FILE
COLON DIAZ, OSVALDO                ADDRESS ON FILE
COLON DIAZ, PEDRO                  ADDRESS ON FILE
COLON DIAZ, RAFAEL A               ADDRESS ON FILE
COLON DIAZ, RAMON                  ADDRESS ON FILE
Colon Diaz, Reynaldo               ADDRESS ON FILE
COLON DIAZ, ROBERTO                ADDRESS ON FILE
COLON DIAZ, SACHA M                ADDRESS ON FILE
COLON DIAZ, SINTHIA                ADDRESS ON FILE
COLON DIAZ, VERONICA               ADDRESS ON FILE
COLON DIAZ, VICTOR                 ADDRESS ON FILE
COLON DIAZ, VICTOR                 ADDRESS ON FILE
COLON DIAZ, WANDA                  ADDRESS ON FILE
COLON DIAZ, WILLIAM                ADDRESS ON FILE
COLON DIAZ, WILLIAM JESUS          ADDRESS ON FILE
COLON DIAZ, YARA L                 ADDRESS ON FILE
COLON DIAZ, YEMELLY                ADDRESS ON FILE
COLON DIAZ, YESENIA                ADDRESS ON FILE
Colon Dieppa, Juan A               ADDRESS ON FILE
COLON DIEPPA, RICARDO              ADDRESS ON FILE
COLON DOELTER, VIVIENNE M          ADDRESS ON FILE
COLON DOMENA, NEFTALI              ADDRESS ON FILE
COLON DOMENECH, ANA J.             ADDRESS ON FILE
COLON DOMINGUEZ, ANEUDY            ADDRESS ON FILE
COLON DOMINGUEZ, ELIZABETH         ADDRESS ON FILE
Colon Dominguez, Jose A            ADDRESS ON FILE
COLON DOMINGUEZ, JUAN              ADDRESS ON FILE
Colon Dominguez, Juan M            ADDRESS ON FILE
COLON DOMINGUEZ, MARITERE          ADDRESS ON FILE
COLON DOMINGUEZ, YASHIRA           ADDRESS ON FILE
COLON DONATE, MIGUEL               ADDRESS ON FILE
COLON DORDAL, GRETCHEN             ADDRESS ON FILE
COLON DORTA, TOMAS                 ADDRESS ON FILE
COLON DORTA, TOMAS                 ADDRESS ON FILE
COLON DREVON, ANGEL L              ADDRESS ON FILE
COLON DREVON, JOSE                 ADDRESS ON FILE
COLON DROZ, IRIS V                 ADDRESS ON FILE
COLON DUEÑO MD, JOSE L             ADDRESS ON FILE
COLON DUENO, LUIS                  ADDRESS ON FILE
COLON DURAND, NELSON S.            ADDRESS ON FILE
COLON ECHEVARRIA, CARMEN NEREIDA   ADDRESS ON FILE
COLON ECHEVARRIA, CLAUDIA          ADDRESS ON FILE
COLON ECHEVARRIA, FILOMENO         ADDRESS ON FILE
COLON ECHEVARRIA, JORGE            ADDRESS ON FILE
COLON ECHEVARRIA, JOSE E           ADDRESS ON FILE
COLON ECHEVARRIA, KATHIA P.        ADDRESS ON FILE




                                                                               Page 1625 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1626 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ECHEVARRIA, LUSINA      ADDRESS ON FILE
COLON ECHEVARRIA, LUZ M       ADDRESS ON FILE
COLON ECHEVARRIA, MARISOL     ADDRESS ON FILE
COLON ECHEVARRIA, ROBERTO     ADDRESS ON FILE
COLON ECHEVARRIA, ROBERTO     ADDRESS ON FILE
COLON EMANUELLI, HECTOR M     ADDRESS ON FILE
COLON EMMANUELLI, ADA         ADDRESS ON FILE
COLON ENCARNACION, MIGDALIA   ADDRESS ON FILE
COLON ENCARNACION, ORLANDO    ADDRESS ON FILE
Colon Escalante, Miguel       ADDRESS ON FILE
COLON ESCARFULLERY, ANGEL     ADDRESS ON FILE
COLON ESCOBAR, JOSELYN        ADDRESS ON FILE
COLON ESCOBAR, MAIRA L        ADDRESS ON FILE
COLON ESCUDERO, ROBERTO       ADDRESS ON FILE
COLON ESCUDERO, YANINA        ADDRESS ON FILE
COLON ESMURRIA, ILIANA        ADDRESS ON FILE
COLON ESPADA, JORGE           ADDRESS ON FILE
COLON ESPADA, RAFAEL A.       ADDRESS ON FILE
COLON ESPADA, SIXTO           ADDRESS ON FILE
COLON ESPARRA, LUIS           ADDRESS ON FILE
COLON ESPINET, MARITZA        ADDRESS ON FILE
COLON ESPINOSA, ALBERT K.     ADDRESS ON FILE
COLON ESPINOSA, FRANCISCO     ADDRESS ON FILE
COLON ESPINOSA, JUAN          ADDRESS ON FILE
COLON ESTELA, GLORIA          ADDRESS ON FILE
COLON ESTEVES, RAQUEL Y.      ADDRESS ON FILE
COLON ESTRADA, SOAN M         ADDRESS ON FILE
COLON ESTRADA, YACHIRA M      ADDRESS ON FILE
COLON ESTRADA, YANIRIS S      ADDRESS ON FILE
COLON ESTRELLA, REGNIER       ADDRESS ON FILE
COLON ESTRELLA, SARA          ADDRESS ON FILE
COLON FALCON, FRANCISCO       ADDRESS ON FILE
COLON FALCON, MARIA I.        ADDRESS ON FILE
Colon Falcon, Maximina        ADDRESS ON FILE
COLON FALCON, RAMON           ADDRESS ON FILE
COLON FALCON, SANTA           ADDRESS ON FILE
COLON FALCON, VERONICA        ADDRESS ON FILE
COLON FALCON, XALIA           ADDRESS ON FILE
COLON FALU, SUGEIDI           ADDRESS ON FILE
COLON FARIA, ALICIA           ADDRESS ON FILE
COLON FARIA, LESLIE I         ADDRESS ON FILE
COLON FEBLES, XIOMAR Y        ADDRESS ON FILE
Colon Febo, Cynthia I         ADDRESS ON FILE
COLON FEBO, ISMAEL            ADDRESS ON FILE
COLON FEBO, LUZ I             ADDRESS ON FILE
COLON FEBO, WALESKA           ADDRESS ON FILE
COLON FEBUS, ANA              ADDRESS ON FILE
COLON FEBUS, NORMA            ADDRESS ON FILE
COLON FEBUS,JOSE I.           ADDRESS ON FILE
COLON FEBUS,LUIS D.           ADDRESS ON FILE
COLON FELICIANO, ANA O        ADDRESS ON FILE
COLON FELICIANO, BEATRIZ      ADDRESS ON FILE
COLON FELICIANO, CARMEN       ADDRESS ON FILE
COLON FELICIANO, DARIANA      ADDRESS ON FILE
COLON FELICIANO, DIANA        ADDRESS ON FILE
COLON FELICIANO, DORIS W      ADDRESS ON FILE
COLON FELICIANO, EDWARD       ADDRESS ON FILE
COLON FELICIANO, EVELYN       ADDRESS ON FILE
Colon Feliciano, Gloria E     ADDRESS ON FILE
COLON FELICIANO, HILDANIES    ADDRESS ON FILE




                                                                          Page 1626 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1627 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON FELICIANO, IGNACIO      ADDRESS ON FILE
COLON FELICIANO, INGRID M     ADDRESS ON FILE
COLON FELICIANO, IRIS C       ADDRESS ON FILE
COLON FELICIANO, IRIS I       ADDRESS ON FILE
COLON FELICIANO, IRIS R.      ADDRESS ON FILE
COLON FELICIANO, JORGE        ADDRESS ON FILE
COLON FELICIANO, JORGE S.     ADDRESS ON FILE
COLON FELICIANO, LUIS A       ADDRESS ON FILE
COLON FELICIANO, LUIS A       ADDRESS ON FILE
COLON FELICIANO, MYRNA L.     ADDRESS ON FILE
COLON FELICIANO, NADYA        ADDRESS ON FILE
COLON FELICIANO, NEFTALI      ADDRESS ON FILE
COLON FELICIANO, NILDA A      ADDRESS ON FILE
COLON FELICIANO, OMAYRA       ADDRESS ON FILE
Colon Feliciano, Rafael       ADDRESS ON FILE
COLON FELICIANO, WILFREDO     ADDRESS ON FILE
COLON FELIX, AIDA L           ADDRESS ON FILE
COLON FELIX, ALEJANDRO        ADDRESS ON FILE
COLON FELIX, ANGEL L.         ADDRESS ON FILE
COLON FELIX, HECTOR           ADDRESS ON FILE
COLON FELIX, IRAIDA           ADDRESS ON FILE
COLON FELIX, JESUS            ADDRESS ON FILE
COLON FELIX, LUIS E.          ADDRESS ON FILE
COLON FELIX, LUZ I            ADDRESS ON FILE
COLON FELIX, MARGARITA        ADDRESS ON FILE
COLON FELIX, MARIANO          ADDRESS ON FILE
COLON FELIX, MIGUEL A         ADDRESS ON FILE
COLON FELIX, VANESSA          ADDRESS ON FILE
COLON FERNANDEZ, ANA          ADDRESS ON FILE
COLON FERNANDEZ, ANGEL L.     ADDRESS ON FILE
COLON FERNANDEZ, ARNALDO      ADDRESS ON FILE
COLON FERNANDEZ, BASILIA M    ADDRESS ON FILE
COLON FERNANDEZ, BETZILIA     ADDRESS ON FILE
COLON FERNANDEZ, CHARLES      ADDRESS ON FILE
COLON FERNANDEZ, HIGINIO      ADDRESS ON FILE
COLON FERNANDEZ, IGNACIO      ADDRESS ON FILE
COLON FERNANDEZ, ISMAEL       ADDRESS ON FILE
COLON FERNANDEZ, JOSE         ADDRESS ON FILE
COLON FERNANDEZ, JOSE B       ADDRESS ON FILE
COLON FERNANDEZ, JOSE B.      ADDRESS ON FILE
COLON FERNANDEZ, JOSE E       ADDRESS ON FILE
COLON FERNANDEZ, JOSUE OMAR   ADDRESS ON FILE
COLON FERNANDEZ, LILIBETZ     ADDRESS ON FILE
COLON FERNANDEZ, LUIS R       ADDRESS ON FILE
COLON FERNANDEZ, LUZ          ADDRESS ON FILE
COLON FERNANDEZ, MARCOS A     ADDRESS ON FILE
COLON FERNANDEZ, NANCY        ADDRESS ON FILE
COLON FERNANDEZ, ORLANDO      ADDRESS ON FILE
Colon Fernandez, Ramon        ADDRESS ON FILE
COLON FERNANDEZ, RICARDO      ADDRESS ON FILE
COLON FERRER, CARMEN E        ADDRESS ON FILE
COLON FERRER, ENRIQUE         ADDRESS ON FILE
COLON FERRER, FRANCISCO       ADDRESS ON FILE
COLON FERRER, IDALISSE        ADDRESS ON FILE
COLON FERRER, JOEL            ADDRESS ON FILE
COLON FERRER, JUAN            ADDRESS ON FILE
COLON FERRER, JUAN A.         ADDRESS ON FILE
COLON FIGUEROA, ALBITH        ADDRESS ON FILE
COLON FIGUEROA, ANGEL         ADDRESS ON FILE
COLON FIGUEROA, ANGEL         ADDRESS ON FILE




                                                                          Page 1627 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1628 of 3500
                                                                             17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                 Address1                          Address2                            Address3              Address4   City         State   PostalCode   Country
COLON FIGUEROA, ANTONIO J     ADDRESS ON FILE
COLON FIGUEROA, ARAMIS        ADDRESS ON FILE
COLON FIGUEROA, CARLOS        ADDRESS ON FILE
COLON FIGUEROA, CARLOS        ADDRESS ON FILE
Colon Figueroa, Carmelo       ADDRESS ON FILE
COLON FIGUEROA, CARMEN C      ADDRESS ON FILE
COLON FIGUEROA, CELESTINO     ADDRESS ON FILE
COLON FIGUEROA, DANIEL        ADDRESS ON FILE
COLON FIGUEROA, DAONIER       ADDRESS ON FILE
COLON FIGUEROA, DESIREE L     ADDRESS ON FILE
COLON FIGUEROA, DIONEL        ADDRESS ON FILE
COLON FIGUEROA, DOMINGO       ADDRESS ON FILE
COLON FIGUEROA, EDDIE R       ADDRESS ON FILE
COLON FIGUEROA, EDGAR         ADDRESS ON FILE
COLON FIGUEROA, EDWIN         ADDRESS ON FILE
COLON FIGUEROA, EDWIN         ADDRESS ON FILE
COLON FIGUEROA, ELBA A        ADDRESS ON FILE
COLON FIGUEROA, EMMA          ADDRESS ON FILE
COLON FIGUEROA, EVELYN        ADDRESS ON FILE
COLON FIGUEROA, EVELYN        ADDRESS ON FILE
COLON FIGUEROA, FRANCISCO R   ADDRESS ON FILE
COLON FIGUEROA, GILBERTO      ADDRESS ON FILE
                                                                                                    AVE. LUIS VIGOREAUX
COLÓN FIGUEROA, GLENDA        LCDA. GISELLE LÓPEZ SOLER         PMB 257                             1353                             GUAYNABO     PR      00966‐2715
COLÓN FIGUEROA, GLENDA        LCDA. MARÍA C. CARTAGENA CANCEL   PO BOX 364225                                                        SAN JUAN     PR      00936‐4225
COLÓN FIGUEROA, GLENDA        LCDO. JUAN R. DÁVILA DÍAZ         134 CALLE MAYAGÜEZ                                                   SAN JUAN     PR      00917
COLON FIGUEROA, GLENDALY      ADDRESS ON FILE
COLON FIGUEROA, GRISELLE      ADDRESS ON FILE
COLON FIGUEROA, HECTOR        ADDRESS ON FILE
COLON FIGUEROA, HECTOR        ADDRESS ON FILE
COLON FIGUEROA, IVELISSE      ADDRESS ON FILE
COLON FIGUEROA, JACKELINE     ADDRESS ON FILE
COLON FIGUEROA, JANNETTE      ADDRESS ON FILE
Colon Figueroa, Jesus M       ADDRESS ON FILE
COLON FIGUEROA, JOEL A.       ADDRESS ON FILE
COLON FIGUEROA, JORGE A       ADDRESS ON FILE
COLON FIGUEROA, JOSE A        ADDRESS ON FILE
COLON FIGUEROA, JOSUE         ADDRESS ON FILE
COLON FIGUEROA, JOSUE         ADDRESS ON FILE
Colon Figueroa, Juan A        ADDRESS ON FILE
Colon Figueroa, Juan J        ADDRESS ON FILE
COLON FIGUEROA, JUAN J.       ADDRESS ON FILE
COLON FIGUEROA, JULIO         ADDRESS ON FILE
COLON FIGUEROA, KEVIN         ADDRESS ON FILE
COLON FIGUEROA, LIANYBELLE    ADDRESS ON FILE
COLON FIGUEROA, LOURDES       ADDRESS ON FILE
COLON FIGUEROA, MARIA         ADDRESS ON FILE
COLON FIGUEROA, MARIBEL       ADDRESS ON FILE
COLON FIGUEROA, MARILYN       ADDRESS ON FILE
COLON FIGUEROA, MIGUEL        ADDRESS ON FILE
COLON FIGUEROA, MIRIAM        ADDRESS ON FILE
COLON FIGUEROA, NAYDA         ADDRESS ON FILE
COLON FIGUEROA, OLGA          ADDRESS ON FILE
COLON FIGUEROA, OLGA          ADDRESS ON FILE
COLON FIGUEROA, OLGA L        ADDRESS ON FILE
Colon Figueroa, Pablo M       ADDRESS ON FILE
COLON FIGUEROA, RAFAEL        ADDRESS ON FILE
COLON FIGUEROA, RAMONITA      ADDRESS ON FILE
Colon Figueroa, Roberto       ADDRESS ON FILE
COLON FIGUEROA, RUBEN         ADDRESS ON FILE




                                                                                     Page 1628 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1629 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON FIGUEROA, SANTOS R     ADDRESS ON FILE
COLON FIGUEROA, STEVEN       ADDRESS ON FILE
COLON FIGUEROA, WANDA I      ADDRESS ON FILE
COLON FIGUEROA, WILFREDO     ADDRESS ON FILE
COLON FIGUEROA, WILLIAM      ADDRESS ON FILE
COLON FIGUEROA, XIOMARA      ADDRESS ON FILE
COLON FIGUEROA,AWILDA        ADDRESS ON FILE
COLON FLORES, CARMEN M.      ADDRESS ON FILE
COLON FLORES, DAMASO         ADDRESS ON FILE
COLON FLORES, DAMASO         ADDRESS ON FILE
COLON FLORES, DAVID          ADDRESS ON FILE
Colon Flores, Eliezer        ADDRESS ON FILE
Colon Flores, Francisco      ADDRESS ON FILE
COLON FLORES, GENESIS        ADDRESS ON FILE
COLON FLORES, JENNIFER       ADDRESS ON FILE
COLON FLORES, JORGE A        ADDRESS ON FILE
COLON FLORES, JOSE A         ADDRESS ON FILE
COLON FLORES, LIZA           ADDRESS ON FILE
COLON FLORES, LYDIA          ADDRESS ON FILE
COLON FLORES, LYDIA E        ADDRESS ON FILE
Colon Flores, Maria De L     ADDRESS ON FILE
COLON FLORES, MARITZA        ADDRESS ON FILE
COLON FLORES, PAULITA        ADDRESS ON FILE
COLON FLORES, RAFAEL         ADDRESS ON FILE
COLON FLORES, SONIA S.       ADDRESS ON FILE
COLON FLORES, XIOMARALIZ     ADDRESS ON FILE
COLON FLORES, YARITZA        ADDRESS ON FILE
COLON FONSECA, KRISTAL       ADDRESS ON FILE
COLON FONSECA, MICHAEL       ADDRESS ON FILE
COLON FONSECA,RAMON          ADDRESS ON FILE
COLON FONT, WANDA I.         ADDRESS ON FILE
COLON FONTAN, BETZAIDA       ADDRESS ON FILE
COLON FONTANEZ, LUZ E        ADDRESS ON FILE
COLON FONTANEZ, VANESSA      ADDRESS ON FILE
COLON FORST, MELVIN          ADDRESS ON FILE
COLON FORST, MELVIN          ADDRESS ON FILE
COLON FORTI, EVELYN          ADDRESS ON FILE
COLON FORTUNA, XAVIER        ADDRESS ON FILE
COLON FRAGOSA, IRIS          ADDRESS ON FILE
Colon Franceschi, Moises     ADDRESS ON FILE
COLON FRANCESCHI, VICTORIA   ADDRESS ON FILE
COLON FRANCESCHI, ZAIDA      ADDRESS ON FILE
COLON FRANCIS, JOSE          ADDRESS ON FILE
COLON FRANCIS, JOSE          ADDRESS ON FILE
COLON FRANCO, MARIA DEL C    ADDRESS ON FILE
COLON FRANCO, MARIBEL        ADDRESS ON FILE
COLON FRED, CARLOS A.        ADDRESS ON FILE
COLON FREYRE MD, LESLIE      ADDRESS ON FILE
COLON FREYRE, LESLIE         ADDRESS ON FILE
COLON FREYTES, OSCAR         ADDRESS ON FILE
COLON FUENTES, ALEXIE        ADDRESS ON FILE
COLON FUENTES, BRENDA        ADDRESS ON FILE
COLON FUENTES, CARLOS A      ADDRESS ON FILE
COLON FUENTES, CESAR G.      ADDRESS ON FILE
COLON FUENTES, DALIE D       ADDRESS ON FILE
COLON FUENTES, DWIGHT        ADDRESS ON FILE
Colon Fuentes, Emilio        ADDRESS ON FILE
COLON FUENTES, GLORIA N      ADDRESS ON FILE
COLON FUENTES, JANET         ADDRESS ON FILE
COLON FUENTES, JANNETTE      ADDRESS ON FILE




                                                                         Page 1629 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1630 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON FUENTES, JOSE             ADDRESS ON FILE
COLON FUENTES, JOSE             ADDRESS ON FILE
COLON FUENTES, LIZBETH          ADDRESS ON FILE
COLON FUENTES, MARIA            ADDRESS ON FILE
COLON FUENTES, MARIA DE LOS A   ADDRESS ON FILE
COLON FUENTES, OMAYRA           ADDRESS ON FILE
COLON FUENTES, ROBERTO          ADDRESS ON FILE
COLON FUENTES, SYLVIA M         ADDRESS ON FILE
COLON FUENTES, VICTOR W         ADDRESS ON FILE
COLON FUENTES, WILFREDO         ADDRESS ON FILE
Colon Fuentes, Wilfredo         ADDRESS ON FILE
COLON FUMERO, RICARDO           ADDRESS ON FILE
COLON GABRIEL, MISAEL           ADDRESS ON FILE
COLON GALARZA, ANTHONY          ADDRESS ON FILE
COLON GALINDEZ, JOSE            ADDRESS ON FILE
COLON GALINDEZ, REYMOND         ADDRESS ON FILE
COLON GALIO, CARMEN             ADDRESS ON FILE
COLON GALLARDO, CATALINA        ADDRESS ON FILE
COLON GALLEGO, ANIBAL           ADDRESS ON FILE
COLON GALLEGO, MARIA I          ADDRESS ON FILE
COLON GALLEGO, MELVIN           ADDRESS ON FILE
COLON GANDELL, JUAN             ADDRESS ON FILE
COLON GANDIA, LEMUEL            ADDRESS ON FILE
COLON GANDIA, LEMUEL            ADDRESS ON FILE
COLON GARAY, IRIS               ADDRESS ON FILE
COLON GARAY, JOSE               ADDRESS ON FILE
COLON GARCIA, ADELAIDA          ADDRESS ON FILE
COLON GARCIA, ALBERTO L         ADDRESS ON FILE
COLON GARCIA, ALEX O            ADDRESS ON FILE
COLON GARCIA, ALEXIE            ADDRESS ON FILE
COLON GARCIA, ALEXIS            ADDRESS ON FILE
Colon Garcia, Alexis Javier     ADDRESS ON FILE
COLON GARCIA, AMERICA           ADDRESS ON FILE
COLON GARCIA, ANGEL             ADDRESS ON FILE
COLON GARCIA, ANGEL M           ADDRESS ON FILE
COLON GARCIA, ANTHONY           ADDRESS ON FILE
COLON GARCIA, AUREA E           ADDRESS ON FILE
COLON GARCIA, BRENDA            ADDRESS ON FILE
Colon Garcia, Carlos M          ADDRESS ON FILE
COLON GARCIA, CARMEN O          ADDRESS ON FILE
COLON GARCIA, CRISANTA          ADDRESS ON FILE
COLON GARCIA, DANAIDES          ADDRESS ON FILE
COLON GARCIA, DANISBEL          ADDRESS ON FILE
COLON GARCIA, EDWIN             ADDRESS ON FILE
COLON GARCIA, EDWIN             ADDRESS ON FILE
COLON GARCIA, EDWIN             ADDRESS ON FILE
COLON GARCIA, EMMANUEL          ADDRESS ON FILE
COLON GARCIA, ENAIDA            ADDRESS ON FILE
COLON GARCIA, ENGRACIA          ADDRESS ON FILE
COLON GARCIA, FELICITA          ADDRESS ON FILE
COLON GARCIA, FERNANDO          ADDRESS ON FILE
COLON GARCIA, FRANCISCA         ADDRESS ON FILE
COLON GARCIA, GLADYS            ADDRESS ON FILE
COLON GARCIA, GLADYS ESTHER     ADDRESS ON FILE
COLON GARCIA, GLORIA            ADDRESS ON FILE
COLON GARCIA, GRISELLYS         ADDRESS ON FILE
COLON GARCIA, HECTOR            ADDRESS ON FILE
COLON GARCIA, HERNAN            ADDRESS ON FILE
COLON GARCIA, HERNAN            ADDRESS ON FILE
COLON GARCIA, ISABEL            ADDRESS ON FILE




                                                                            Page 1630 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1631 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                   Address2                                  Address3   Address4   City         State   PostalCode    Country
COLON GARCÍA, JAVIER           EDGARDO SANTIAGO LLORÉNS   URB. SAN ANTONIO 1925 AVE. LAS AMÉRICAS                         Ponce        PR      00728‐18185
COLON GARCÍA, JAVIER           GRETCHEN HEYKE             PO BOX 3898                                                     MAYAGUEZ     PR      00681
COLON GARCÍA, JAVIER           HUMBERTO RIVERA TORRES     AAPARTADO 9035                                                  Ponce        PR      00732‐9035
COLON GARCÍA, JAVIER           JOSÉ HÉCTOR VIVAS          APARTADO 330951                                                 Ponce        PR      00733‐0951
COLON GARCÍA, JAVIER           JOSÉ R. GOYCO AMADOR       2116 AVE. LAS AMÉRICAS                                          Ponce        PR      00017‐0722
COLON GARCÍA, JAVIER           SAMUEL TORRES CORTÉS       PO BOX 335072                                                   Ponce        PR      00733‐5072
COLON GARCIA, JAVIER           ADDRESS ON FILE
COLON GARCIA, JOEL             ADDRESS ON FILE
COLON GARCIA, JOSE             ADDRESS ON FILE
COLON GARCIA, JOSE             ADDRESS ON FILE
COLON GARCIA, JOSE             ADDRESS ON FILE
COLON GARCIA, JOSE A.          ADDRESS ON FILE
COLON GARCIA, JOSE D           ADDRESS ON FILE
COLON GARCIA, JOSE M           ADDRESS ON FILE
COLON GARCIA, JUAN E.          ADDRESS ON FILE
COLON GARCIA, JUAN OSCAR       ADDRESS ON FILE
COLON GARCIA, JUDITH           ADDRESS ON FILE
Colon Garcia, Judith R         ADDRESS ON FILE
COLON GARCIA, LUIS             ADDRESS ON FILE
COLON GARCIA, LUIS A           ADDRESS ON FILE
Colon Garcia, Luis E           ADDRESS ON FILE
Colon Garcia, Luis M           ADDRESS ON FILE
COLON GARCIA, MANUEL           ADDRESS ON FILE
COLON GARCIA, MARIA C          ADDRESS ON FILE
COLON GARCIA, MARIA DE L       ADDRESS ON FILE
COLON GARCIA, MARIA DE LOS A   ADDRESS ON FILE
COLON GARCIA, MARIE            ADDRESS ON FILE
COLON GARCIA, MARIELLY         ADDRESS ON FILE
COLON GARCIA, MARTA I.         ADDRESS ON FILE
COLON GARCIA, MAYRA A          ADDRESS ON FILE
COLON GARCIA, MAYRA L          ADDRESS ON FILE
COLON GARCIA, MELVIN I.        ADDRESS ON FILE
COLON GARCIA, MICHELE          ADDRESS ON FILE
COLON GARCIA, MICHELLE         ADDRESS ON FILE
COLON GARCIA, MIGDALIA         ADDRESS ON FILE
COLON GARCIA, MINERVA          ADDRESS ON FILE
COLON GARCIA, MIRELSA          ADDRESS ON FILE
COLON GARCIA, PEDRO            ADDRESS ON FILE
COLON GARCIA, RAMON            ADDRESS ON FILE
COLON GARCIA, ROBERTO          ADDRESS ON FILE
COLON GARCIA, ROSA             ADDRESS ON FILE
COLON GARCIA, ROSALIA          ADDRESS ON FILE
COLON GARCIA, RUTH L.          ADDRESS ON FILE
COLON GARCIA, SEVERO           ADDRESS ON FILE
COLON GARCIA, STEPHANIA        ADDRESS ON FILE
COLON GARCIA, STEPHANIE M      ADDRESS ON FILE
COLON GARCIA, SUJEHILY         ADDRESS ON FILE
COLON GARCIA, VANESSA          ADDRESS ON FILE
COLON GARCIA, VILMA I.         ADDRESS ON FILE
COLON GARCIA, YAMIRA R         ADDRESS ON FILE
COLON GARCIA, YANIRA           ADDRESS ON FILE
COLON GARCIA, YARITZA          ADDRESS ON FILE
COLON GARCIA,JUAN E.           ADDRESS ON FILE
COLON GASCOT, LUCIBETH         ADDRESS ON FILE
COLON GASTON, JOSE L           ADDRESS ON FILE
COLON GAUDINO, ROBERTO         ADDRESS ON FILE
COLON GIERBOLINI, FELIX        ADDRESS ON FILE
COLON GIERBOLINI, GLADYS       ADDRESS ON FILE
COLON GIMBERNARD, INES         ADDRESS ON FILE
COLON GINEL, CARLOS            ADDRESS ON FILE




                                                                                     Page 1631 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1632 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON GLORIA, RODRÍGUEZ        ADDRESS ON FILE
COLON GOLDEROS MD, DAVID       ADDRESS ON FILE
COLON GOLDILLA, RICELY         ADDRESS ON FILE
COLON GOMEZ MD, CARLOS         ADDRESS ON FILE
COLON GOMEZ, AINED             ADDRESS ON FILE
COLON GOMEZ, ALEXIS            ADDRESS ON FILE
COLON GOMEZ, ANA               ADDRESS ON FILE
COLON GOMEZ, DANIEL A.         ADDRESS ON FILE
COLON GOMEZ, EFRAIN            ADDRESS ON FILE
COLON GOMEZ, JOHNY             ADDRESS ON FILE
COLON GOMEZ, JORGE             ADDRESS ON FILE
COLON GOMEZ, LORNA I           ADDRESS ON FILE
COLON GOMEZ, LORNA I           ADDRESS ON FILE
COLON GOMEZ, MARIA DE LOS A    ADDRESS ON FILE
COLON GOMEZ, MICHELLE          ADDRESS ON FILE
COLON GOMEZ, PEDRO L           ADDRESS ON FILE
COLON GOMEZ, YAMILKA           ADDRESS ON FILE
Colon Gonzales, Maricely       ADDRESS ON FILE
COLON GONZALEZ MD, GLORIA      ADDRESS ON FILE
COLON GONZALEZ, ADRIAN         ADDRESS ON FILE
COLON GONZALEZ, AGUSTIN        ADDRESS ON FILE
COLON GONZALEZ, ALBA I         ADDRESS ON FILE
COLON GONZALEZ, ALEXANDER      ADDRESS ON FILE
COLON GONZALEZ, ALEXANDRA      ADDRESS ON FILE
COLON GONZALEZ, ALEXIS M       ADDRESS ON FILE
Colon Gonzalez, Alfonso        ADDRESS ON FILE
Colon Gonzalez, Alfredo        ADDRESS ON FILE
COLON GONZALEZ, ANA M          ADDRESS ON FILE
COLON GONZALEZ, ANA R          ADDRESS ON FILE
COLON GONZALEZ, ANGEL          ADDRESS ON FILE
COLON GONZALEZ, ANGEL          ADDRESS ON FILE
Colon Gonzalez, Angel L.       ADDRESS ON FILE
COLON GONZALEZ, ANGEL M        ADDRESS ON FILE
COLON GONZALEZ, ANGIE          ADDRESS ON FILE
COLON GONZALEZ, ANSELMO        ADDRESS ON FILE
COLON GONZALEZ, ARHLENE        ADDRESS ON FILE
COLON GONZALEZ, ARLENE         ADDRESS ON FILE
COLON GONZALEZ, BENJAMIN       ADDRESS ON FILE
COLON GONZALEZ, BLANCA I       ADDRESS ON FILE
COLON GONZALEZ, BLANCA I       ADDRESS ON FILE
COLON GONZALEZ, BLANCA I       ADDRESS ON FILE
COLON GONZALEZ, BRAYAN O       ADDRESS ON FILE
COLON GONZALEZ, CARLOS         ADDRESS ON FILE
COLON GONZALEZ, CARLOS         ADDRESS ON FILE
Colon Gonzalez, Carlos R.      ADDRESS ON FILE
COLON GONZALEZ, CARMEN         ADDRESS ON FILE
COLON GONZALEZ, CARMEN A       ADDRESS ON FILE
COLON GONZALEZ, CARMEN D       ADDRESS ON FILE
COLON GONZALEZ, CARMEN E       ADDRESS ON FILE
Colon Gonzalez, Carmen J       ADDRESS ON FILE
COLON GONZALEZ, CELIMARIE      ADDRESS ON FILE
COLON GONZALEZ, CHARLENE       ADDRESS ON FILE
COLON GONZALEZ, CHRISTIAN      ADDRESS ON FILE
COLON GONZALEZ, CHRISTIAN      ADDRESS ON FILE
COLON GONZALEZ, CHRISTIAN E.   ADDRESS ON FILE
Colon Gonzalez, Clemente       ADDRESS ON FILE
COLON GONZALEZ, CYNDIA E.      ADDRESS ON FILE
COLON GONZALEZ, DAGMAR         ADDRESS ON FILE
COLON GONZALEZ, DAVID          ADDRESS ON FILE
COLON GONZALEZ, DIANA          ADDRESS ON FILE




                                                                           Page 1632 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1633 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON GONZALEZ, DICKY          ADDRESS ON FILE
COLON GONZALEZ, DORIS          ADDRESS ON FILE
COLON GONZALEZ, EDITH Z        ADDRESS ON FILE
COLON GONZALEZ, EDWIN          ADDRESS ON FILE
COLON GONZALEZ, EFRAIN         ADDRESS ON FILE
COLON GONZALEZ, EFRAIN         ADDRESS ON FILE
Colon Gonzalez, Elaine         ADDRESS ON FILE
COLON GONZALEZ, ELBA I         ADDRESS ON FILE
COLON GONZALEZ, ELISA          ADDRESS ON FILE
COLON GONZALEZ, ELIZABETH      ADDRESS ON FILE
COLON GONZALEZ, EMANUEL        ADDRESS ON FILE
COLON GONZALEZ, EMMA           ADDRESS ON FILE
COLON GONZALEZ, FELIX M.       ADDRESS ON FILE
COLON GONZALEZ, FERNANDO       ADDRESS ON FILE
Colon Gonzalez, Froilan        ADDRESS ON FILE
COLON GONZALEZ, GLENDA         ADDRESS ON FILE
COLON GONZALEZ, GLENDALYS E    ADDRESS ON FILE
COLON GONZALEZ, GLORIA         ADDRESS ON FILE
COLON GONZALEZ, GLORIA E       ADDRESS ON FILE
COLON GONZALEZ, GRISSELLE      ADDRESS ON FILE
COLON GONZALEZ, HECTOR         ADDRESS ON FILE
COLON GONZALEZ, HECTOR         ADDRESS ON FILE
COLON GONZALEZ, HECTOR         ADDRESS ON FILE
COLON GONZALEZ, IRIS           ADDRESS ON FILE
COLON GONZALEZ, IRIS E         ADDRESS ON FILE
COLON GONZALEZ, IRIS N         ADDRESS ON FILE
COLON GONZALEZ, ISMAEL         ADDRESS ON FILE
COLON GONZALEZ, IVETTE         ADDRESS ON FILE
COLON GONZALEZ, IVETTE D       ADDRESS ON FILE
COLON GONZALEZ, IZAIRA         ADDRESS ON FILE
COLON GONZALEZ, JANETTE        ADDRESS ON FILE
COLON GONZALEZ, JANETTE        ADDRESS ON FILE
COLON GONZALEZ, JAVIER         ADDRESS ON FILE
COLON GONZALEZ, JESSENIA       ADDRESS ON FILE
COLON GONZALEZ, JOEL           ADDRESS ON FILE
COLON GONZALEZ, JOHNNY         ADDRESS ON FILE
COLON GONZALEZ, JOHNNY         ADDRESS ON FILE
COLON GONZALEZ, JORGE L        ADDRESS ON FILE
Colon Gonzalez, Jorge L        ADDRESS ON FILE
COLON GONZALEZ, JORGE L        ADDRESS ON FILE
COLON GONZALEZ, JOSE           ADDRESS ON FILE
COLON GONZALEZ, JOSE           ADDRESS ON FILE
COLON GONZALEZ, JOSE           ADDRESS ON FILE
COLON GONZALEZ, JOSE A         ADDRESS ON FILE
COLON GONZALEZ, JOSE A         ADDRESS ON FILE
COLON GONZALEZ, JOSE A         ADDRESS ON FILE
COLON GONZALEZ, JOSE A         ADDRESS ON FILE
COLON GONZALEZ, JOSE A.        ADDRESS ON FILE
COLON GONZALEZ, JOSE ANIBAL    ADDRESS ON FILE
COLON GONZALEZ, JOSE GABRIEL   ADDRESS ON FILE
Colon Gonzalez, Jose L         ADDRESS ON FILE
Colon Gonzalez, Jose L         ADDRESS ON FILE
COLON GONZALEZ, JOSE L         ADDRESS ON FILE
COLON GONZALEZ, JOSUE          ADDRESS ON FILE
COLON GONZALEZ, JUAN           ADDRESS ON FILE
COLON GONZALEZ, JUANITA        ADDRESS ON FILE
COLON GONZALEZ, JUDY           ADDRESS ON FILE
Colon Gonzalez, Julio I        ADDRESS ON FILE
COLON GONZALEZ, KARLA          ADDRESS ON FILE
COLON GONZALEZ, KATHERINE J.   ADDRESS ON FILE




                                                                           Page 1633 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1634 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON GONZALEZ, KENNY               ADDRESS ON FILE
COLON GONZALEZ, LESLY A             ADDRESS ON FILE
COLON GONZALEZ, LILLIAM             ADDRESS ON FILE
COLON GONZALEZ, LISSETTE            ADDRESS ON FILE
COLON GONZALEZ, LORNA               ADDRESS ON FILE
COLON GONZALEZ, LUIS                ADDRESS ON FILE
COLON GONZALEZ, LUIS                ADDRESS ON FILE
COLON GONZALEZ, LUIS                ADDRESS ON FILE
COLON GONZALEZ, LUIS A              ADDRESS ON FILE
COLON GONZALEZ, LUIS E              ADDRESS ON FILE
COLON GONZALEZ, LUIS E              ADDRESS ON FILE
COLON GONZALEZ, LUZ N.              ADDRESS ON FILE
COLON GONZALEZ, LUZ Z.              ADDRESS ON FILE
COLON GONZALEZ, LUZ ZORAIDA         ADDRESS ON FILE
COLON GONZALEZ, MAGDA               ADDRESS ON FILE
COLON GONZALEZ, MAGDALENA           ADDRESS ON FILE
COLON GONZALEZ, MANUEL              ADDRESS ON FILE
Colon Gonzalez, Marcos H            ADDRESS ON FILE
COLON GONZALEZ, MARIA               ADDRESS ON FILE
COLON GONZALEZ, MARIA D             ADDRESS ON FILE
COLON GONZALEZ, MARIA D             ADDRESS ON FILE
COLON GONZALEZ, MARIA DEL ROSARIO   ADDRESS ON FILE
COLON GONZALEZ, MARIA E             ADDRESS ON FILE
COLON GONZALEZ, MARIA J             ADDRESS ON FILE
COLON GONZALEZ, MARIA J             ADDRESS ON FILE
COLON GONZALEZ, MARIA L             ADDRESS ON FILE
COLON GONZALEZ, MARIA S.            ADDRESS ON FILE
COLON GONZALEZ, MARIANA             ADDRESS ON FILE
COLON GONZALEZ, MARIBEL             ADDRESS ON FILE
COLON GONZALEZ, MARIBEL             ADDRESS ON FILE
COLON GONZALEZ, MARJORIE A          ADDRESS ON FILE
COLON GONZALEZ, MAYRA               ADDRESS ON FILE
COLON GONZALEZ, MELVIN              ADDRESS ON FILE
COLON GONZALEZ, MIGDELINA           ADDRESS ON FILE
COLON GONZALEZ, MIGUEL A.           ADDRESS ON FILE
COLON GONZALEZ, MILAGROS            ADDRESS ON FILE
COLON GONZALEZ, MIRIAM              ADDRESS ON FILE
COLON GONZALEZ, MONICA E            ADDRESS ON FILE
COLON GONZALEZ, NANCY               ADDRESS ON FILE
Colon Gonzalez, Noel                ADDRESS ON FILE
COLON GONZALEZ, NOEMI               ADDRESS ON FILE
COLON GONZALEZ, NORA I.             ADDRESS ON FILE
COLON GONZALEZ, NORMA               ADDRESS ON FILE
COLON GONZALEZ, NORMA M.            ADDRESS ON FILE
COLON GONZALEZ, OBED                ADDRESS ON FILE
COLON GONZALEZ, OLGA                ADDRESS ON FILE
COLON GONZALEZ, OLGA L.             ADDRESS ON FILE
COLON GONZALEZ, PATRICIA            ADDRESS ON FILE
COLON GONZALEZ, PEDRO               ADDRESS ON FILE
COLON GONZALEZ, RADAMES             ADDRESS ON FILE
Colon Gonzalez, Rafael              ADDRESS ON FILE
COLON GONZALEZ, RAFAEL              ADDRESS ON FILE
COLON GONZALEZ, RAMON               ADDRESS ON FILE
COLON GONZALEZ, RAMON               ADDRESS ON FILE
COLON GONZALEZ, REINA               ADDRESS ON FILE
COLON GONZALEZ, ROSA I              ADDRESS ON FILE
COLON GONZALEZ, ROSA M              ADDRESS ON FILE
COLON GONZALEZ, ROSA NILDA          ADDRESS ON FILE
COLON GONZALEZ, RUTH D.             ADDRESS ON FILE
COLON GONZALEZ, RUTTY               ADDRESS ON FILE




                                                                                Page 1634 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1635 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON GONZALEZ, SAMUEL          ADDRESS ON FILE
COLON GONZALEZ, SANTOS          ADDRESS ON FILE
COLON GONZALEZ, SARA ESTHER     ADDRESS ON FILE
COLON GONZALEZ, STEVE G.        ADDRESS ON FILE
COLON GONZALEZ, SULAI           ADDRESS ON FILE
COLON GONZALEZ, SYBELLE         ADDRESS ON FILE
Colon Gonzalez, Tomas           ADDRESS ON FILE
COLON GONZALEZ, TOMAS           ADDRESS ON FILE
COLON GONZALEZ, URSULA A        ADDRESS ON FILE
COLON GONZALEZ, VANESSA         ADDRESS ON FILE
COLON GONZALEZ, VIRGEN DEL S.   ADDRESS ON FILE
COLON GONZALEZ, WANDA E.        ADDRESS ON FILE
COLON GONZALEZ, WANDA I         ADDRESS ON FILE
COLON GONZALEZ, WILFREDO        ADDRESS ON FILE
Colon Gonzalez, Wilfredo F      ADDRESS ON FILE
COLON GONZALEZ, YAHAIRA L       ADDRESS ON FILE
COLON GONZALEZ, YOLANDA         ADDRESS ON FILE
COLON GONZALEZ, YOMAIRA         ADDRESS ON FILE
COLON GONZALEZ, YOMARA G        ADDRESS ON FILE
COLON GORBEA MD, DIANA M        ADDRESS ON FILE
COLON GOSS, CHRISTIAN           ADDRESS ON FILE
COLON GOYCOCHEA, JOSE A         ADDRESS ON FILE
COLON GOZALEZ, MARINES          ADDRESS ON FILE
COLON GRACIA, MIRIAM            ADDRESS ON FILE
COLON GRACIANI, IRIS D          ADDRESS ON FILE
COLON GRAU, GERARDO             ADDRESS ON FILE
COLON GREEN, VANESSA            ADDRESS ON FILE
Colon Green, Yasmin V           ADDRESS ON FILE
COLON GRUNEIRO, PABLO           ADDRESS ON FILE
COLON GUADALUPE, RUTH E         ADDRESS ON FILE
COLON GUEITS, BENJAMIN          ADDRESS ON FILE
COLON GUEITS, JUAN LUIS         ADDRESS ON FILE
COLON GUEITS, JULIO C.          ADDRESS ON FILE
COLON GUEITS, MERCEDES          ADDRESS ON FILE
COLON GUERRA, ROSA              ADDRESS ON FILE
COLON GUERRA, ROSA A            ADDRESS ON FILE
COLON GUERRERO, MORAINA         ADDRESS ON FILE
Colon Guervara, Angel Luis      ADDRESS ON FILE
COLON GUTIERREZ, CARLOS H.      ADDRESS ON FILE
COLON GUTIERREZ, EDNA DEL R     ADDRESS ON FILE
COLON GUTIERREZ, EMMA           ADDRESS ON FILE
COLON GUTIERREZ, JAIME Y        ADDRESS ON FILE
COLON GUTIERREZ, JESUS          ADDRESS ON FILE
COLON GUTIERREZ, LORENZA        ADDRESS ON FILE
COLON GUTIERREZ, LUIS           ADDRESS ON FILE
COLON GUTIERREZ, OMAR A.        ADDRESS ON FILE
COLON GUTIERREZ, WILLIAM        ADDRESS ON FILE
COLON GUZMAN, BRIAN             ADDRESS ON FILE
COLON GUZMAN, CARLOS            ADDRESS ON FILE
COLON GUZMAN, CARLOS A          ADDRESS ON FILE
COLON GUZMAN, CARLOS E.         ADDRESS ON FILE
COLON GUZMAN, DANIEL            ADDRESS ON FILE
COLON GUZMAN, EDWIN             ADDRESS ON FILE
COLON GUZMAN, EVELYN            ADDRESS ON FILE
COLON GUZMAN, GEORGE            ADDRESS ON FILE
COLON GUZMAN, GISELLE           ADDRESS ON FILE
COLON GUZMAN, INIABELLE         ADDRESS ON FILE
COLON GUZMAN, IRIS              ADDRESS ON FILE
COLON GUZMAN, ISMAEL            ADDRESS ON FILE
COLON GUZMAN, IVELISSE          ADDRESS ON FILE




                                                                            Page 1635 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1636 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON GUZMAN, IVONNE          ADDRESS ON FILE
COLON GUZMAN, JOSE            ADDRESS ON FILE
COLON GUZMAN, JOSE E.         ADDRESS ON FILE
COLON GUZMAN, JOSE L          ADDRESS ON FILE
COLON GUZMAN, JUAN L          ADDRESS ON FILE
COLON GUZMAN, NILMA E         ADDRESS ON FILE
COLON GUZMAN, ORLANDO         ADDRESS ON FILE
COLON GUZMAN, ORLANDO         ADDRESS ON FILE
COLON GUZMAN, RITA L          ADDRESS ON FILE
COLON GUZMAN, SAMUEL          ADDRESS ON FILE
COLON GUZMAN, SANDRA          ADDRESS ON FILE
COLON GUZMAN, SANDRA          ADDRESS ON FILE
Colon Guzman, Sandra Mariel   ADDRESS ON FILE
COLON GUZMAN, WANDA I         ADDRESS ON FILE
COLON GUZMAN, WANDA I         ADDRESS ON FILE
COLON GUZMAN, ZULMA I         ADDRESS ON FILE
COLON HAVER, DANIEL           ADDRESS ON FILE
COLON HERNANDEZ MD, PEDRO J   ADDRESS ON FILE
COLON HERNANDEZ MD, PEDRO J   ADDRESS ON FILE
COLON HERNANDEZ, AIZANETTE    ADDRESS ON FILE
Colon Hernandez, Alma R       ADDRESS ON FILE
COLON HERNANDEZ, ANA J.       ADDRESS ON FILE
COLON HERNANDEZ, ANGEL        ADDRESS ON FILE
COLON HERNANDEZ, ANGEL M.     ADDRESS ON FILE
COLON HERNANDEZ, ANGEL M.     ADDRESS ON FILE
COLON HERNANDEZ, CARMEN D     ADDRESS ON FILE
COLON HERNANDEZ, CARMEN M     ADDRESS ON FILE
COLON HERNANDEZ, CARMEN S.    ADDRESS ON FILE
Colon Hernandez, David        ADDRESS ON FILE
Colon Hernandez, Eddie O      ADDRESS ON FILE
Colon Hernandez, Eduardo      ADDRESS ON FILE
COLON HERNANDEZ, EDWIN        ADDRESS ON FILE
COLON HERNANDEZ, EILEEN       ADDRESS ON FILE
COLON HERNANDEZ, EVA          ADDRESS ON FILE
COLON HERNANDEZ, EVA M        ADDRESS ON FILE
COLON HERNANDEZ, EVELYN       ADDRESS ON FILE
COLON HERNANDEZ, EVELYN V     ADDRESS ON FILE
COLON HERNANDEZ, FERNANDO     ADDRESS ON FILE
COLON HERNANDEZ, FRANCISCA    ADDRESS ON FILE
COLON HERNANDEZ, GABRIEL      ADDRESS ON FILE
COLON HERNANDEZ, GILBERTO     ADDRESS ON FILE
COLON HERNANDEZ, GILBERTO     ADDRESS ON FILE
COLON HERNANDEZ, HAIONY A.    ADDRESS ON FILE
Colon Hernandez, Harry        ADDRESS ON FILE
COLON HERNANDEZ, HECTOR       ADDRESS ON FILE
COLON HERNANDEZ, IRENE        ADDRESS ON FILE
COLON HERNANDEZ, IRIELIS P    ADDRESS ON FILE
COLON HERNANDEZ, IRMA         ADDRESS ON FILE
COLON HERNANDEZ, ISMAEL       ADDRESS ON FILE
COLON HERNANDEZ, JACQUELINE   ADDRESS ON FILE
COLON HERNANDEZ, JESUS        ADDRESS ON FILE
COLON HERNANDEZ, JHISLAINE    ADDRESS ON FILE
COLON HERNANDEZ, JOEL         ADDRESS ON FILE
COLON HERNANDEZ, JOEL         ADDRESS ON FILE
COLON HERNANDEZ, JOEL         ADDRESS ON FILE
COLON HERNANDEZ, JOEL ELI     ADDRESS ON FILE
COLON HERNANDEZ, JORGE        ADDRESS ON FILE
COLON HERNANDEZ, JOSE         ADDRESS ON FILE
COLON HERNANDEZ, JOSE         ADDRESS ON FILE
COLON HERNANDEZ, JOSE         ADDRESS ON FILE




                                                                          Page 1636 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1637 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON HERNANDEZ, JOSE A.        ADDRESS ON FILE
COLON HERNANDEZ, KEILA          ADDRESS ON FILE
COLON HERNANDEZ, KELVIN         ADDRESS ON FILE
Colon Hernandez, Kenneth        ADDRESS ON FILE
Colon Hernandez, Luis           ADDRESS ON FILE
COLON HERNANDEZ, LUIS           ADDRESS ON FILE
COLON HERNANDEZ, LUIS           ADDRESS ON FILE
COLON HERNANDEZ, LUZ N          ADDRESS ON FILE
COLON HERNANDEZ, LYDIA          ADDRESS ON FILE
COLON HERNANDEZ, LYDIA M        ADDRESS ON FILE
COLON HERNANDEZ, MARA           ADDRESS ON FILE
COLON HERNANDEZ, MARGARITA      ADDRESS ON FILE
COLON HERNANDEZ, MARGARITA      ADDRESS ON FILE
COLON HERNANDEZ, MARIA          ADDRESS ON FILE
COLON HERNANDEZ, MARIA          ADDRESS ON FILE
COLON HERNANDEZ, MARIA A        ADDRESS ON FILE
COLON HERNANDEZ, MARIA DEL      ADDRESS ON FILE
COLON HERNANDEZ, MARIA DEL C.   ADDRESS ON FILE
COLON HERNANDEZ, MARIA E        ADDRESS ON FILE
COLON HERNANDEZ, MARIELA        ADDRESS ON FILE
COLON HERNANDEZ, MARILYN        ADDRESS ON FILE
COLON HERNANDEZ, MARIONELIA     ADDRESS ON FILE
COLON HERNANDEZ, MELISSA        ADDRESS ON FILE
COLON HERNANDEZ, MYRIAM         ADDRESS ON FILE
COLON HERNANDEZ, MYRNA C        ADDRESS ON FILE
COLON HERNANDEZ, MYRNA Z.       ADDRESS ON FILE
COLON HERNANDEZ, NANCY          ADDRESS ON FILE
COLON HERNANDEZ, NELSON         ADDRESS ON FILE
COLON HERNANDEZ, NEREIDA        ADDRESS ON FILE
COLON HERNANDEZ, NEREIDA        ADDRESS ON FILE
COLON HERNANDEZ, OLGA           ADDRESS ON FILE
COLON HERNANDEZ, RAFAEL         ADDRESS ON FILE
COLON HERNANDEZ, RAUL           ADDRESS ON FILE
COLON HERNANDEZ, RAUL           ADDRESS ON FILE
COLON HERNANDEZ, RUBEN          ADDRESS ON FILE
COLON HERNANDEZ, SENAIDA        ADDRESS ON FILE
COLON HERNANDEZ, SILVIA M       ADDRESS ON FILE
COLON HERNANDEZ, SONIA MARIA    ADDRESS ON FILE
COLON HERNANDEZ, VICTOR         ADDRESS ON FILE
COLON HERNANDEZ, WILLIAM        ADDRESS ON FILE
COLON HERNANDEZ, YOLANDA I      ADDRESS ON FILE
COLON HERNANDEZ, ZULMA          ADDRESS ON FILE
Colon Herrera, Ariel D          ADDRESS ON FILE
COLON HINOA, CHISTOPHER         ADDRESS ON FILE
COLON HINOA, CHRISTHOPHER       ADDRESS ON FILE
COLON HUERTAS, ANTONIO R        ADDRESS ON FILE
COLON HUERTAS, BELISSA          ADDRESS ON FILE
COLON HUERTAS, EDWIN            ADDRESS ON FILE
COLON HUERTAS, LUIS R.          ADDRESS ON FILE
COLON HUERTAS, MARCELO          ADDRESS ON FILE
Colon Huertas, Miosottiz        ADDRESS ON FILE
COLON HYMER, LUIS E             ADDRESS ON FILE
COLON IBAÑEZ MD, RICARDO L      ADDRESS ON FILE
COLON IBARRA, YARISBEL          ADDRESS ON FILE
COLON IBARRONDO, JASON          ADDRESS ON FILE
COLON ILDEFONSO, ELIZABETH      ADDRESS ON FILE
COLON INFANTE, JOSE F.          ADDRESS ON FILE
COLON INFANTE, VERONICA         ADDRESS ON FILE
COLON INGLES, ORLANDO           ADDRESS ON FILE
COLON INGLES, SYLVIA            ADDRESS ON FILE




                                                                            Page 1637 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1638 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON IRIZARRY, ABIGAIL         ADDRESS ON FILE
COLON IRIZARRY, CLAUDIMAR       ADDRESS ON FILE
COLON IRIZARRY, EMERENCIANA     ADDRESS ON FILE
COLON IRIZARRY, EMILIA          ADDRESS ON FILE
COLON IRIZARRY, FARRAH J        ADDRESS ON FILE
COLON IRIZARRY, GABRIELLE       ADDRESS ON FILE
Colon Irizarry, Ignacio         ADDRESS ON FILE
COLON IRIZARRY, MARIA DEL       ADDRESS ON FILE
COLON IRIZARRY, RAUL            ADDRESS ON FILE
COLON IRIZARRY, YESENIA         ADDRESS ON FILE
COLON JANEIRO, SONIA            ADDRESS ON FILE
COLON JANEIRO, WALESKA          ADDRESS ON FILE
COLON JEREZ, MARIA DEL C        ADDRESS ON FILE
COLON JIMENEZ, ALMAIDA          ADDRESS ON FILE
Colon Jimenez, Cesar            ADDRESS ON FILE
COLON JIMENEZ, ELBA             ADDRESS ON FILE
COLON JIMENEZ, EMMELINE         ADDRESS ON FILE
Colon Jimenez, Evaristo         ADDRESS ON FILE
COLON JIMENEZ, EVELYN           ADDRESS ON FILE
COLON JIMENEZ, GRACE GEOVANNA   ADDRESS ON FILE
COLON JIMENEZ, GREDMARIE        ADDRESS ON FILE
COLON JIMENEZ, JOANNE           ADDRESS ON FILE
COLON JIMENEZ, JOCELYN          ADDRESS ON FILE
COLON JIMENEZ, JOCELYN          ADDRESS ON FILE
COLON JIMENEZ, JORGE E.         ADDRESS ON FILE
COLON JIMENEZ, JOSE MANUEL      ADDRESS ON FILE
COLON JIMENEZ, JUAN             ADDRESS ON FILE
COLON JIMENEZ, JUAN A           ADDRESS ON FILE
COLON JIMENEZ, LIMARY           ADDRESS ON FILE
COLON JIMENEZ, LOURDES M        ADDRESS ON FILE
COLON JIMENEZ, LOYDA            ADDRESS ON FILE
COLON JIMENEZ, MANEIDA          ADDRESS ON FILE
COLON JIMENEZ, MARIA E          ADDRESS ON FILE
COLON JIMENEZ, MARIA VIRGINIA   ADDRESS ON FILE
COLON JIMENEZ, MELVIN           ADDRESS ON FILE
COLON JIMENEZ, MILAGROS         ADDRESS ON FILE
COLON JIMENEZ, NEREIDA          ADDRESS ON FILE
COLON JIMENEZ, NOELIA           ADDRESS ON FILE
COLON JIMENEZ, TEOFILO          ADDRESS ON FILE
COLON JIMENEZ,MARIA             ADDRESS ON FILE
COLON JORDAN, CARLA             ADDRESS ON FILE
COLON JUMENEZ, MAYRICHEL        ADDRESS ON FILE
COLON JUSINO, VIRGENMINA        ADDRESS ON FILE
COLON JUSTINIANO, FRANCISCO     ADDRESS ON FILE
COLON JUSTINIANO, HEIDI         ADDRESS ON FILE
Colon Justiniano, Joel          ADDRESS ON FILE
COLON JUSTINIANO, JOEL          ADDRESS ON FILE
COLON JUSTINIANO, VICTOR        ADDRESS ON FILE
COLON LA SANTA, JANIMAR         ADDRESS ON FILE
COLON LA SANTA, LUIS            ADDRESS ON FILE
COLON LABORDE, LARA             ADDRESS ON FILE
COLON LABOY, ANDREA             ADDRESS ON FILE
COLON LABOY, ANGEL              ADDRESS ON FILE
COLON LABOY, ANNSONIA           ADDRESS ON FILE
COLON LABOY, BENITA             ADDRESS ON FILE
COLON LABOY, CARLOS             ADDRESS ON FILE
COLON LABOY, FELIX              ADDRESS ON FILE
COLON LABOY, GERARDO            ADDRESS ON FILE
COLON LABOY, GLADYS E           ADDRESS ON FILE
Colon Laboy, Hector L           ADDRESS ON FILE




                                                                            Page 1638 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1639 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON LABOY, ISIDORA          ADDRESS ON FILE
COLON LABOY, JEANETTE M       ADDRESS ON FILE
COLON LABOY, JUAN C.          ADDRESS ON FILE
COLON LABOY, LUIS             ADDRESS ON FILE
COLON LABOY, LUIS             ADDRESS ON FILE
COLON LABOY, MYRNA L          ADDRESS ON FILE
COLON LABOY, PABLO            ADDRESS ON FILE
COLON LABOY,ANNSONIA          ADDRESS ON FILE
COLON LABRADOR, EDWIN         ADDRESS ON FILE
COLON LABRADOR, EDWIN         ADDRESS ON FILE
COLON LABRADOR, MARITZA       ADDRESS ON FILE
COLON LABRADOR, MARTA         ADDRESS ON FILE
COLON LAJARA, CARMEN M        ADDRESS ON FILE
COLON LAMB, HECTOR R          ADDRESS ON FILE
COLON LAMB, KEREN             ADDRESS ON FILE
COLON LAMPLEY, RAMON          ADDRESS ON FILE
COLON LANCARA, BERENICE M     ADDRESS ON FILE
COLON LANCARA, EDGAR          ADDRESS ON FILE
COLON LANCARA, MARISOL        ADDRESS ON FILE
COLON LANDRAU, LYNETTE M      ADDRESS ON FILE
Colon Landrau, Nestor I       ADDRESS ON FILE
COLON LANGE, HECTOR           ADDRESS ON FILE
COLON LARA, BENJAMIN          ADDRESS ON FILE
COLON LARA, CANDIDA           ADDRESS ON FILE
COLON LARACUENTE MD, ADRIAN   ADDRESS ON FILE
COLON LARACUENTE, EMILY       ADDRESS ON FILE
COLON LARACUENTE, JOSE        ADDRESS ON FILE
Colon Larrauri, Concepcion    ADDRESS ON FILE
COLON LARRAURI, IRMA          ADDRESS ON FILE
COLON LARREGUI, JULIO L       ADDRESS ON FILE
COLON LARREGUI, PEDRO L       ADDRESS ON FILE
Colon Lasalle, Hector M       ADDRESS ON FILE
COLON LASALLE, HENRY          ADDRESS ON FILE
COLON LASSALLE, ADA L.        ADDRESS ON FILE
COLON LAUREANO, CARMEN        ADDRESS ON FILE
COLON LAUREANO, JESUS         ADDRESS ON FILE
COLON LAUREANO, KARIANE       ADDRESS ON FILE
Colon Laureano, Ruben         ADDRESS ON FILE
COLON LAUREANO, RUBEN         ADDRESS ON FILE
COLON LAZU, JAVIER            ADDRESS ON FILE
COLON LEBRON, ANGEL           ADDRESS ON FILE
COLON LEBRON, ANGEL           ADDRESS ON FILE
COLON LEBRON, ANGELES         ADDRESS ON FILE
COLON LEBRON, CARLOS          ADDRESS ON FILE
COLON LEBRON, CARMEN          ADDRESS ON FILE
COLON LEBRON, CARMEN I        ADDRESS ON FILE
COLON LEBRON, DANIEL          ADDRESS ON FILE
COLON LEBRON, DANIEL          ADDRESS ON FILE
COLON LEBRON, DAVID           ADDRESS ON FILE
COLON LEBRON, DORIS M         ADDRESS ON FILE
COLON LEBRON, EDGARDO         ADDRESS ON FILE
Colon Lebron, Evaristo        ADDRESS ON FILE
Colon Lebron, Felix A.        ADDRESS ON FILE
COLON LEBRON, GILBERTO        ADDRESS ON FILE
COLON LEBRON, GILBERTO        ADDRESS ON FILE
COLON LEBRON, HECTOR J        ADDRESS ON FILE
COLON LEBRON, JACQUELINE      ADDRESS ON FILE
COLON LEBRON, JAIME           ADDRESS ON FILE
COLON LEBRON, JOSE L          ADDRESS ON FILE
COLON LEBRON, LUIS            ADDRESS ON FILE




                                                                          Page 1639 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1640 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON LEBRON, MIGUEL             ADDRESS ON FILE
COLON LEBRON, NELIDA             ADDRESS ON FILE
COLON LEBRON, OLGA               ADDRESS ON FILE
COLON LEBRON, OLGA M             ADDRESS ON FILE
COLON LEBRON, PABLO C            ADDRESS ON FILE
COLON LEBRON, SHEILA             ADDRESS ON FILE
COLON LEBRON, YANITZA            ADDRESS ON FILE
COLON LEDEE, ASTRID A.           ADDRESS ON FILE
COLON LEFEBRE, CARLOS            ADDRESS ON FILE
COLON LEFEBRE, ELSA M            ADDRESS ON FILE
COLON LEFEBRE, MARINEL           ADDRESS ON FILE
COLON LEON, AMARILYS             ADDRESS ON FILE
COLON LEON, CARLA M.             ADDRESS ON FILE
COLON LEON, CARLOS               ADDRESS ON FILE
Colon Leon, Carlos L             ADDRESS ON FILE
COLON LEON, GERALIS              ADDRESS ON FILE
COLON LEON, GIANINA              ADDRESS ON FILE
Colon Leon, Gilberto             ADDRESS ON FILE
COLON LEON, HERMINIA             ADDRESS ON FILE
COLON LEON, HERNAN               ADDRESS ON FILE
COLON LEON, JOSEFINA             ADDRESS ON FILE
COLON LEON, MAYRA Y              ADDRESS ON FILE
COLON LEON, PABLO                ADDRESS ON FILE
COLON LEON, REINALDO             ADDRESS ON FILE
COLON LEON, ROBERTO              ADDRESS ON FILE
COLON LEON, VIRGINIA             ADDRESS ON FILE
COLON LEON, YAMAIRA              ADDRESS ON FILE
COLON LEON, ZULMA                ADDRESS ON FILE
COLON LIBOY, ESTEBAN             ADDRESS ON FILE
COLON LILLEY, WALTER             ADDRESS ON FILE
COLON LIND, GLORYMAR             ADDRESS ON FILE
COLON LIND, LUIS                 ADDRESS ON FILE
COLON LIND, MARIA I              ADDRESS ON FILE
COLON LINERO, AMBAR T            ADDRESS ON FILE
COLON LLANOS, RICARDO            ADDRESS ON FILE
COLON LLANOS, RUBEN              ADDRESS ON FILE
COLON LOIZ, MARLENE              ADDRESS ON FILE
COLON LOPEZ DE VICTORIA, RAMON   ADDRESS ON FILE
COLON LOPEZ MD, DERICK           ADDRESS ON FILE
COLON LOPEZ MD, DERICK E         ADDRESS ON FILE
COLON LOPEZ, ADA S               ADDRESS ON FILE
COLON LOPEZ, ADALISE             ADDRESS ON FILE
COLON LOPEZ, ADRIAN              ADDRESS ON FILE
COLON LOPEZ, ALEJANDRO           ADDRESS ON FILE
COLON LOPEZ, AMERICO             ADDRESS ON FILE
COLON LOPEZ, ANGEL               ADDRESS ON FILE
COLON LOPEZ, ANGEL               ADDRESS ON FILE
COLON LOPEZ, ANIBAL              ADDRESS ON FILE
COLON LOPEZ, ANIBAL              ADDRESS ON FILE
COLON LOPEZ, BARTOLA             ADDRESS ON FILE
Colon Lopez, Benjamin            ADDRESS ON FILE
COLON LOPEZ, BENJAMIN            ADDRESS ON FILE
COLON LOPEZ, BERNALDA            ADDRESS ON FILE
Colon Lopez, Carlos              ADDRESS ON FILE
COLON LOPEZ, CARLOS              ADDRESS ON FILE
COLON LOPEZ, CARLOS J.           ADDRESS ON FILE
COLON LOPEZ, CHARIMAR            ADDRESS ON FILE
COLON LOPEZ, CRISTOBAL           ADDRESS ON FILE
COLON LOPEZ, CRISTOBAL           ADDRESS ON FILE
COLON LOPEZ, DAHARA              ADDRESS ON FILE




                                                                             Page 1640 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1641 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Colon Lopez, David           ADDRESS ON FILE
COLON LOPEZ, DORILIZ         ADDRESS ON FILE
COLON LOPEZ, ELSIE           ADDRESS ON FILE
COLON LOPEZ, ENERY           ADDRESS ON FILE
COLON LOPEZ, ENRIQUE         ADDRESS ON FILE
COLON LOPEZ, EVY M           ADDRESS ON FILE
Colon Lopez, Felipe          ADDRESS ON FILE
COLON LOPEZ, FERNANDO LUIS   ADDRESS ON FILE
COLON LOPEZ, FIDELA          ADDRESS ON FILE
COLON LOPEZ, FRANCIS JUAN    ADDRESS ON FILE
COLON LOPEZ, FRANCISCO       ADDRESS ON FILE
COLON LOPEZ, GERMAN          ADDRESS ON FILE
COLON LOPEZ, GLORIA E        ADDRESS ON FILE
Colon Lopez, Hassan L        ADDRESS ON FILE
COLON LOPEZ, HECTOR          ADDRESS ON FILE
COLON LOPEZ, HECTOR M.       ADDRESS ON FILE
COLON LOPEZ, ILEANA          ADDRESS ON FILE
COLON LOPEZ, IRAIDA          ADDRESS ON FILE
COLON LOPEZ, IRIS N          ADDRESS ON FILE
COLON LOPEZ, IRMA            ADDRESS ON FILE
COLON LOPEZ, ISABEL          ADDRESS ON FILE
Colon Lopez, Ivette          ADDRESS ON FILE
COLON LOPEZ, IVETTE          ADDRESS ON FILE
COLON LOPEZ, JAIME           ADDRESS ON FILE
COLON LOPEZ, JAIME           ADDRESS ON FILE
COLON LOPEZ, JANET G         ADDRESS ON FILE
COLON LOPEZ, JOAN M          ADDRESS ON FILE
COLON LOPEZ, JONATHAN        ADDRESS ON FILE
COLON LOPEZ, JOSE            ADDRESS ON FILE
COLON LOPEZ, JOSE F.         ADDRESS ON FILE
Colon Lopez, Jose L.         ADDRESS ON FILE
COLON LOPEZ, JULIO           ADDRESS ON FILE
Colon Lopez, Julio A         ADDRESS ON FILE
COLON LOPEZ, KAREN E.        ADDRESS ON FILE
COLON LOPEZ, KELISHA         ADDRESS ON FILE
COLON LOPEZ, LAURA           ADDRESS ON FILE
COLON LOPEZ, LEILA           ADDRESS ON FILE
COLON LOPEZ, LILLIAN         ADDRESS ON FILE
COLON LOPEZ, LIZBETH         ADDRESS ON FILE
COLON LOPEZ, LIZETTE         ADDRESS ON FILE
COLON LOPEZ, LUANN           ADDRESS ON FILE
Colon Lopez, Luis            ADDRESS ON FILE
COLON LOPEZ, LUIS            ADDRESS ON FILE
COLON LOPEZ, LUIS            ADDRESS ON FILE
Colon Lopez, Luis A          ADDRESS ON FILE
COLON LOPEZ, LUIS D          ADDRESS ON FILE
COLON LOPEZ, LYDIA M         ADDRESS ON FILE
COLON LOPEZ, MABEL           ADDRESS ON FILE
COLON LOPEZ, MADELINE        ADDRESS ON FILE
COLON LOPEZ, MANUEL          ADDRESS ON FILE
COLON LOPEZ, MANUEL          ADDRESS ON FILE
COLON LOPEZ, MARIANGIE       ADDRESS ON FILE
COLON LOPEZ, MARIBEL         ADDRESS ON FILE
COLON LOPEZ, MARITZA I       ADDRESS ON FILE
COLON LOPEZ, MIGDALIA        ADDRESS ON FILE
COLON LOPEZ, MIGDALIA        ADDRESS ON FILE
COLON LOPEZ, MIGDALIA        ADDRESS ON FILE
Colon Lopez, Miguel A        ADDRESS ON FILE
COLON LOPEZ, MILDRED         ADDRESS ON FILE
COLON LOPEZ, MYRIAM          ADDRESS ON FILE




                                                                         Page 1641 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1642 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON LOPEZ, MYRNA Y      ADDRESS ON FILE
COLON LOPEZ, NANCY        ADDRESS ON FILE
COLON LOPEZ, NILKA L      ADDRESS ON FILE
COLON LOPEZ, NITZA        ADDRESS ON FILE
COLON LOPEZ, NORIEL I.    ADDRESS ON FILE
COLON LOPEZ, OMAYRA       ADDRESS ON FILE
COLON LOPEZ, RAMON        ADDRESS ON FILE
COLON LOPEZ, RAUL         ADDRESS ON FILE
COLON LOPEZ, REYNALDO     ADDRESS ON FILE
COLON LOPEZ, REYNALDO     ADDRESS ON FILE
COLON LOPEZ, REYNALDO     ADDRESS ON FILE
COLON LOPEZ, ROBERTO      ADDRESS ON FILE
COLON LOPEZ, ROSA I       ADDRESS ON FILE
COLON LOPEZ, ROSSANA      ADDRESS ON FILE
COLON LOPEZ, ROSSANA      ADDRESS ON FILE
COLON LOPEZ, RUBEN        ADDRESS ON FILE
COLON LOPEZ, SABINO       ADDRESS ON FILE
COLON LOPEZ, SANDRA       ADDRESS ON FILE
COLON LOPEZ, SARA         ADDRESS ON FILE
COLON LOPEZ, SERGIO       ADDRESS ON FILE
COLON LOPEZ, SILVIA       ADDRESS ON FILE
COLON LOPEZ, SONIA        ADDRESS ON FILE
COLON LOPEZ, STEPHANIE    ADDRESS ON FILE
COLON LOPEZ, STEPHANIE    ADDRESS ON FILE
COLON LOPEZ, TANIA M      ADDRESS ON FILE
COLON LOPEZ, VANESSA Y    ADDRESS ON FILE
COLON LOPEZ, VICTOR       ADDRESS ON FILE
COLON LOPEZ, VICTOR       ADDRESS ON FILE
Colon Lopez, Victor L     ADDRESS ON FILE
Colon Lopez, Victor M     ADDRESS ON FILE
COLON LOPEZ, WALESKA      ADDRESS ON FILE
COLON LOPEZ, WILDALYS     ADDRESS ON FILE
Colon Lopez, Wilfredo L   ADDRESS ON FILE
COLON LOPEZ, WILLIAM      ADDRESS ON FILE
COLON LOPEZ, YADIRA       ADDRESS ON FILE
COLON LORENZI, ANA        ADDRESS ON FILE
COLON LORENZI, ANA B      ADDRESS ON FILE
COLON LORENZI, GLORIA I   ADDRESS ON FILE
COLON LORENZI, LUISA Y    ADDRESS ON FILE
COLON LORENZO, ELSIE      ADDRESS ON FILE
COLON LORENZO, ENID       ADDRESS ON FILE
COLON LORENZO, WILMARIS   ADDRESS ON FILE
COLON LOURIDO, JEARIM     ADDRESS ON FILE
COLON LOURIDO, NERMARIS   ADDRESS ON FILE
COLON LOYOLA MD, ANGEL    ADDRESS ON FILE
COLON LOZADA, ANA         ADDRESS ON FILE
COLON LOZADA, ANDREA      ADDRESS ON FILE
COLON LOZADA, ANGEL L     ADDRESS ON FILE
COLON LOZADA, ELADIO      ADDRESS ON FILE
COLON LOZADA, EMILY       ADDRESS ON FILE
COLON LOZADA, GLADYS      ADDRESS ON FILE
COLON LOZADA, GLADYS M    ADDRESS ON FILE
COLON LOZADA, IRMA I      ADDRESS ON FILE
COLON LOZADA, VIVIANNY    ADDRESS ON FILE
COLON LOZADA, WILLIAM     ADDRESS ON FILE
COLON LUCCA MD, HECTOR    ADDRESS ON FILE
COLON LUCCA, ERIC N       ADDRESS ON FILE
COLON LUCCA, ERIC N       ADDRESS ON FILE
COLON LUCCA, OLGA N       ADDRESS ON FILE
COLON LUCIANO, ABIGAIL    ADDRESS ON FILE




                                                                      Page 1642 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1643 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON LUCIANO, ALICIA      ADDRESS ON FILE
COLON LUCIANO, MARTIN      ADDRESS ON FILE
COLON LUCIANO, MARTIN      ADDRESS ON FILE
COLON LUCIANO, NELLY D     ADDRESS ON FILE
COLON LUCIANO, RUTH        ADDRESS ON FILE
COLON LUCIANO, WALESKA     ADDRESS ON FILE
COLON LUCIANO, WALESKA     ADDRESS ON FILE
COLON LUGARDO, MIGUEL      ADDRESS ON FILE
COLON LUGO, AMNERIS        ADDRESS ON FILE
COLON LUGO, ANTONIO        ADDRESS ON FILE
COLON LUGO, AWILDA         ADDRESS ON FILE
COLON LUGO, BRENDA I       ADDRESS ON FILE
COLON LUGO, DAISY          ADDRESS ON FILE
COLON LUGO, DENYSE         ADDRESS ON FILE
COLON LUGO, FRANK          ADDRESS ON FILE
COLON LUGO, GIOVANNI       ADDRESS ON FILE
COLON LUGO, GIOVANNI       ADDRESS ON FILE
COLON LUGO, HECTOR         ADDRESS ON FILE
COLON LUGO, HEIDY          ADDRESS ON FILE
COLON LUGO, HEIDY          ADDRESS ON FILE
COLON LUGO, LIMARY         ADDRESS ON FILE
COLON LUGO, MARIA M.       ADDRESS ON FILE
COLON LUGO, MIGUEL A       ADDRESS ON FILE
COLON LUGO, MONSERRATE     ADDRESS ON FILE
COLON LUGO, RAMON          ADDRESS ON FILE
COLON LUGO, ROBERTO        ADDRESS ON FILE
COLON LUGO, ROBERTO        ADDRESS ON FILE
COLON LUGO, RUTH           ADDRESS ON FILE
Colon Lugo, Vilma M        ADDRESS ON FILE
COLON LUNA, DHALMA         ADDRESS ON FILE
COLON LUNA, EVELYN         ADDRESS ON FILE
COLON LUNA, FELICITA       ADDRESS ON FILE
COLON LUNA, IRIS Y         ADDRESS ON FILE
COLON LUNA, ISIDRO         ADDRESS ON FILE
COLON LUNA, JORGE          ADDRESS ON FILE
COLON LUNA, JOSE           ADDRESS ON FILE
COLON LUNA, RAMON          ADDRESS ON FILE
COLON LUNA, VICTOR         ADDRESS ON FILE
COLON MACHADO, ANTHONY     ADDRESS ON FILE
COLON MACHARGO, ANA        ADDRESS ON FILE
COLON MACHUCA, MERCEDES    ADDRESS ON FILE
COLON MACHUCA, MYRIAM      ADDRESS ON FILE
COLON MADERA, ANGELA L     ADDRESS ON FILE
COLON MADERA, EDWIN        ADDRESS ON FILE
COLON MADERA, LUIS         ADDRESS ON FILE
COLON MADERA, MADELINE     ADDRESS ON FILE
COLON MADERA, MARIA I      ADDRESS ON FILE
COLON MADRIGAL, DULCE M.   ADDRESS ON FILE
COLON MAGE, ADA E          ADDRESS ON FILE
COLON MAGE, ANA J          ADDRESS ON FILE
COLON MAGE, VICTOR M       ADDRESS ON FILE
Colon Malave, Antonio      ADDRESS ON FILE
COLON MALAVE, CARMEN       ADDRESS ON FILE
COLON MALAVE, CARMEN G     ADDRESS ON FILE
Colon Malave, Cristobal    ADDRESS ON FILE
COLON MALAVE, EMINEE       ADDRESS ON FILE
COLON MALAVE, JAIME        ADDRESS ON FILE
Colon Malave, Jose M       ADDRESS ON FILE
Colon Malave, Leticia      ADDRESS ON FILE
COLON MALAVE, MICHELLE     ADDRESS ON FILE




                                                                       Page 1643 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1644 of 3500
                                                                               17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                   Address1                           Address2                                 Address3        Address4            City          State   PostalCode   Country
Colon Malave, Roberto           ADDRESS ON FILE
Colon Malave, Santos            ADDRESS ON FILE
COLON MALAVE, WILFREDO          ADDRESS ON FILE
COLON MALDONADO MD, EVA         ADDRESS ON FILE
COLON MALDONADO MD, ROTCEH      ADDRESS ON FILE
COLON MALDONADO, ADELAIDA       ADDRESS ON FILE
COLON MALDONADO, ANA H          ADDRESS ON FILE
COLON MALDONADO, ANGEL          ADDRESS ON FILE
COLON MALDONADO, ANGEL M        ADDRESS ON FILE
Colon Maldonado, Antonio        ADDRESS ON FILE
COLON MALDONADO, ARMANDO        ADDRESS ON FILE
COLON MALDONADO, BETSAMARIES    ADDRESS ON FILE
COLON MALDONADO, BETSAMARIES    ADDRESS ON FILE
COLON MALDONADO, CARELYN        ADDRESS ON FILE
COLON MALDONADO, CARLOS X.      ADDRESS ON FILE
COLON MALDONADO, CARMEN         ADDRESS ON FILE
COLÓN MALDONADO, CARMEN         LCDO. HERIBERTO COLÓN ROSARIO      LCDO. HERIBERTO COLÓN ROSARIO            APARTADO 2065                       GUAYAMA       PR      00785
COLÓN MALDONADO, CARMEN         LCDO. JUAN C. MARTÍN MELÉNDEZ      LCDO. JUAN C. MARTÍN MELÉNDEZ            PO BOX 809                          GUAYAMA       PR      00785

                                                                                                                            1353 AVE. LUIS
COLÓN MALDONADO, CARMEN         LCDO. RICARDO PASCUAL VILLARONGA   LCDO. RICARDO PASCUAL VILLARONGA         PMB 479         VIGOREAUX (CARR.#19) GUAYNABO     PR      00966
COLON MALDONADO, CARMEN G       ADDRESS ON FILE
Colon Maldonado, Cristobal      ADDRESS ON FILE
COLON MALDONADO, CRISTOBAL      ADDRESS ON FILE
COLON MALDONADO, DAVID          ADDRESS ON FILE
COLON MALDONADO, DELMA          ADDRESS ON FILE
COLON MALDONADO, DENISSI        ADDRESS ON FILE
COLON MALDONADO, DIGNA I.       ADDRESS ON FILE
COLON MALDONADO, DOLLY          ADDRESS ON FILE
COLON MALDONADO, EDWIN          NORA CRUZ MOLINA                   PO BOX 2795                                                                  ARECIBO       PR      00613‐2795
COLON MALDONADO, EDWIN          ADDRESS ON FILE
Colon Maldonado, Edwin D        ADDRESS ON FILE
COLON MALDONADO, ELIA E         ADDRESS ON FILE
COLON MALDONADO, ERIKA          ADDRESS ON FILE
COLON MALDONADO, FRANCISCO      ADDRESS ON FILE
COLON MALDONADO, GERARDO        ADDRESS ON FILE
Colon Maldonado, Germain        ADDRESS ON FILE
Colon Maldonado, German         ADDRESS ON FILE
COLON MALDONADO, GERMAN         ADDRESS ON FILE
COLON MALDONADO, GLADYS         ADDRESS ON FILE
COLON MALDONADO, GUILLERMO      ADDRESS ON FILE
COLON MALDONADO, HECTOR         ADDRESS ON FILE
COLON MALDONADO, HECTOR I.      ADDRESS ON FILE
COLON MALDONADO, IRIS L         ADDRESS ON FILE
COLON MALDONADO, JACQUELINE N   ADDRESS ON FILE
Colon Maldonado, Javier         ADDRESS ON FILE
COLON MALDONADO, JAVIER         ADDRESS ON FILE
Colon Maldonado, Javier I       ADDRESS ON FILE
COLON MALDONADO, JAZMIN         ADDRESS ON FILE
COLON MALDONADO, JESSICA        ADDRESS ON FILE
COLON MALDONADO, JOSE           ADDRESS ON FILE
COLON MALDONADO, JOSE           ADDRESS ON FILE
COLON MALDONADO, JUAN           ADDRESS ON FILE
Colon Maldonado, Juan R         ADDRESS ON FILE
COLON MALDONADO, JULIO          ADDRESS ON FILE
COLON MALDONADO, LEFANNY M      ADDRESS ON FILE
COLON MALDONADO, LEONARDO       ADDRESS ON FILE
COLON MALDONADO, LIDYLIA I      ADDRESS ON FILE
COLON MALDONADO, LIZ            ADDRESS ON FILE
COLON MALDONADO, LUCILA         ADDRESS ON FILE




                                                                                             Page 1644 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1645 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MALDONADO, LUIS        ADDRESS ON FILE
COLON MALDONADO, LUZ E.      ADDRESS ON FILE
COLON MALDONADO, LYDIA       ADDRESS ON FILE
COLON MALDONADO, MANUEL A.   ADDRESS ON FILE
COLON MALDONADO, MIGDALIA    ADDRESS ON FILE
COLON MALDONADO, MILAGROS    ADDRESS ON FILE
COLON MALDONADO, NEIDA       ADDRESS ON FILE
COLON MALDONADO, NORMA I.    ADDRESS ON FILE
COLON MALDONADO, OLGA        ADDRESS ON FILE
COLON MALDONADO, OMAYRA      ADDRESS ON FILE
Colon Maldonado, Orlando     ADDRESS ON FILE
COLON MALDONADO, ROSALIA     ADDRESS ON FILE
COLON MALDONADO, ROSALINA    ADDRESS ON FILE
COLON MALDONADO, ROSALINA    ADDRESS ON FILE
COLON MALDONADO, TAMMY L     ADDRESS ON FILE
COLON MALDONADO, WILSON      ADDRESS ON FILE
COLON MALTES, JOSEFA         ADDRESS ON FILE
COLON MANDRY, LOURDES M      ADDRESS ON FILE
COLON MANDRY, MARITZA        ADDRESS ON FILE
COLON MANDRY, SONIA          ADDRESS ON FILE
COLON MANGUAL, LIMARIS       ADDRESS ON FILE
COLON MANZANO, GENOVEVA      ADDRESS ON FILE
COLON MAPLES, CHRISTINA      ADDRESS ON FILE
COLON MARCANO MD, JOSE       ADDRESS ON FILE
COLON MARCANO, CREDENCIO     ADDRESS ON FILE
COLON MARCANO, DENIZ         ADDRESS ON FILE
COLON MARCANO, HERIBERTO     ADDRESS ON FILE
COLON MARCANO, JESSICA       ADDRESS ON FILE
Colon Marcano, Julio         ADDRESS ON FILE
COLON MARCANO, LIZMARIE      ADDRESS ON FILE
COLON MARCANO, NORBERTO      ADDRESS ON FILE
COLON MARCH, MIGUEL          ADDRESS ON FILE
Colon March, Miguel A        ADDRESS ON FILE
Colon Marengo, Bryan         ADDRESS ON FILE
COLON MARERO, WILFREDO       ADDRESS ON FILE
COLON MARFISSI, RAMON        ADDRESS ON FILE
COLON MARIN, CARLOS          ADDRESS ON FILE
COLON MARIN, DANIEL          ADDRESS ON FILE
Colon Marin, Edgar E         ADDRESS ON FILE
Colon Marin, Elizabeth       ADDRESS ON FILE
COLON MARIN, ELIZABETH       ADDRESS ON FILE
Colon Marin, Evelyn          ADDRESS ON FILE
COLON MARIN, JEANNETTE       ADDRESS ON FILE
COLON MARIN, OLGA I.         ADDRESS ON FILE
COLON MARKOVITCH, LUIS       ADDRESS ON FILE
COLON MARQUEZ, ALEJA         ADDRESS ON FILE
Colon Marquez, Angel L       ADDRESS ON FILE
COLON MARQUEZ, ANGELINA      ADDRESS ON FILE
Colon Marquez, Elsa Iris     ADDRESS ON FILE
COLON MARQUEZ, FERNANDO      ADDRESS ON FILE
Colon Marquez, Hector L      ADDRESS ON FILE
COLON MARQUEZ, JOSE M.       ADDRESS ON FILE
COLON MARRERO, ANA D         ADDRESS ON FILE
COLON MARRERO, ANGEL S       ADDRESS ON FILE
COLON MARRERO, ARAMIS        ADDRESS ON FILE
Colon Marrero, Aramis        ADDRESS ON FILE
COLON MARRERO, CARLOS        ADDRESS ON FILE
COLON MARRERO, CARMEN M.     ADDRESS ON FILE
COLON MARRERO, CARMEN S      ADDRESS ON FILE
COLON MARRERO, ELIZABETH     ADDRESS ON FILE




                                                                         Page 1645 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1646 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MARRERO, ESTELLE            ADDRESS ON FILE
COLON MARRERO, FELIX M.           ADDRESS ON FILE
COLON MARRERO, GUELMIS            ADDRESS ON FILE
COLON MARRERO, INDIRA             ADDRESS ON FILE
COLON MARRERO, INES DE            ADDRESS ON FILE
COLON MARRERO, JEANNETTE          ADDRESS ON FILE
COLON MARRERO, JOSE               ADDRESS ON FILE
COLON MARRERO, JOSE               ADDRESS ON FILE
COLON MARRERO, JUAN               ADDRESS ON FILE
COLON MARRERO, LESLIE             ADDRESS ON FILE
COLON MARRERO, LESTER M.          ADDRESS ON FILE
COLON MARRERO, LEYSABELLE         ADDRESS ON FILE
COLON MARRERO, MARIELI            ADDRESS ON FILE
COLON MARRERO, MYRNA I            ADDRESS ON FILE
COLON MARRERO, REINALDO           ADDRESS ON FILE
COLON MARRERO, VALERIE A.         ADDRESS ON FILE
COLON MARRERO, WILMARIE           ADDRESS ON FILE
COLON MARRERO, YANIRA             ADDRESS ON FILE
Colon Marrero, Yolanda            ADDRESS ON FILE
COLON MARRERO, YOLANDA            ADDRESS ON FILE
COLON MARRETO, LESTER M           ADDRESS ON FILE
COLON MARSHALL, HEIZEL J          ADDRESS ON FILE
COLON MARTE, JUAN                 ADDRESS ON FILE
COLON MARTE, ROMULO               ADDRESS ON FILE
COLON MARTELL, JOSE               ADDRESS ON FILE
COLON MARTELL, ROLANDO            ADDRESS ON FILE
COLON MARTI, CARMEN N             ADDRESS ON FILE
Colon Marti, Evelyn               ADDRESS ON FILE
COLON MARTIN, CARLA E.            ADDRESS ON FILE
COLON MARTINEZ MD, ALFREDO        ADDRESS ON FILE
COLON MARTINEZ MD, GLORIA         ADDRESS ON FILE
COLON MARTINEZ MD, JORGE          ADDRESS ON FILE
COLON MARTINEZ MD, MIRYLSA        ADDRESS ON FILE
COLON MARTINEZ MD, ROLANDO        ADDRESS ON FILE
COLON MARTINEZ, ABRAHAM           ADDRESS ON FILE
COLON MARTINEZ, ADLIN             ADDRESS ON FILE
COLON MARTINEZ, ADRIZ S.          ADDRESS ON FILE
COLON MARTINEZ, AGNES             ADDRESS ON FILE
COLON MARTINEZ, ALEX              ADDRESS ON FILE
COLON MARTINEZ, ALFRED            ADDRESS ON FILE
COLON MARTINEZ, ALFREDO           ADDRESS ON FILE
Colon Martinez, Alfredo Enrique   ADDRESS ON FILE
COLON MARTINEZ, ANA L             ADDRESS ON FILE
COLON MARTINEZ, ANGEL             ADDRESS ON FILE
COLON MARTINEZ, ANGEL             ADDRESS ON FILE
COLON MARTINEZ, ANGEL L.          ADDRESS ON FILE
Colon Martinez, Angel M           ADDRESS ON FILE
COLON MARTINEZ, BETTY             ADDRESS ON FILE
COLON MARTINEZ, BLANCA M.         ADDRESS ON FILE
COLON MARTINEZ, BRENDA            ADDRESS ON FILE
COLON MARTINEZ, CARLOS A.         ADDRESS ON FILE
COLON MARTINEZ, CARLOS I          ADDRESS ON FILE
COLON MARTINEZ, CARMEN            ADDRESS ON FILE
COLON MARTINEZ, CARMEN A          ADDRESS ON FILE
COLON MARTINEZ, CARMEN J          ADDRESS ON FILE
COLON MARTINEZ, CHRISTIAN G       ADDRESS ON FILE
COLON MARTINEZ, CRISTOBAL         ADDRESS ON FILE
COLON MARTINEZ, DAISY Y           ADDRESS ON FILE
COLON MARTINEZ, DAMARYS           ADDRESS ON FILE
Colon Martinez, Daniel            ADDRESS ON FILE




                                                                              Page 1646 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1647 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Colon Martinez, David A      ADDRESS ON FILE
COLON MARTINEZ, DESIREE      ADDRESS ON FILE
COLON MARTINEZ, DOEL         ADDRESS ON FILE
COLON MARTINEZ, EDDA         ADDRESS ON FILE
COLON MARTINEZ, EDWIN        ADDRESS ON FILE
COLON MARTINEZ, EMMA D       ADDRESS ON FILE
COLON MARTINEZ, EMMANUEL     ADDRESS ON FILE
COLON MARTINEZ, ENEIDA       ADDRESS ON FILE
COLON MARTINEZ, ENID         ADDRESS ON FILE
COLON MARTINEZ, ERIKA E      ADDRESS ON FILE
COLON MARTINEZ, ERISBED      ADDRESS ON FILE
COLON MARTINEZ, ERNESTINA    ADDRESS ON FILE
COLON MARTINEZ, EUFEMIA      ADDRESS ON FILE
COLON MARTINEZ, FABIOLA      ADDRESS ON FILE
COLON MARTINEZ, GIOVANNI     ADDRESS ON FILE
COLON MARTINEZ, GLORIA M     ADDRESS ON FILE
COLON MARTINEZ, GLORIA M     ADDRESS ON FILE
COLON MARTINEZ, GLORIANN     ADDRESS ON FILE
COLON MARTINEZ, ILEANEXIS    ADDRESS ON FILE
Colon Martinez, Ileanexis    ADDRESS ON FILE
COLON MARTINEZ, INIABEL      ADDRESS ON FILE
COLON MARTINEZ, IRIS         ADDRESS ON FILE
COLON MARTINEZ, IRVIN        ADDRESS ON FILE
COLON MARTINEZ, IVAN         ADDRESS ON FILE
COLON MARTINEZ, IVELISSE     ADDRESS ON FILE
COLON MARTINEZ, JANE M       ADDRESS ON FILE
COLON MARTINEZ, JANNISS L.   ADDRESS ON FILE
COLON MARTINEZ, JOEL         ADDRESS ON FILE
COLON MARTINEZ, JORGE        ADDRESS ON FILE
COLON MARTINEZ, JORGE        ADDRESS ON FILE
COLON MARTINEZ, JORGE L      ADDRESS ON FILE
COLON MARTINEZ, JOSE         ADDRESS ON FILE
COLON MARTINEZ, JOSE         ADDRESS ON FILE
COLON MARTINEZ, JOSE         ADDRESS ON FILE
COLON MARTINEZ, JOSE         ADDRESS ON FILE
COLON MARTINEZ, JOSE         ADDRESS ON FILE
COLON MARTINEZ, JOSE A       ADDRESS ON FILE
COLON MARTINEZ, JOSE E.      ADDRESS ON FILE
COLON MARTINEZ, JOSE L       ADDRESS ON FILE
Colon Martinez, Jose R       ADDRESS ON FILE
COLON MARTINEZ, KAREN        ADDRESS ON FILE
COLON MARTINEZ, LILLIAM      ADDRESS ON FILE
COLON MARTINEZ, LINDA        ADDRESS ON FILE
COLON MARTINEZ, LIZMARI      ADDRESS ON FILE
COLON MARTINEZ, LOURDES      ADDRESS ON FILE
COLON MARTINEZ, LUCY         ADDRESS ON FILE
COLON MARTINEZ, LUIS         ADDRESS ON FILE
COLON MARTINEZ, LUIS A       ADDRESS ON FILE
COLON MARTINEZ, MAGDALIS     ADDRESS ON FILE
COLON MARTINEZ, MARCOS       ADDRESS ON FILE
COLON MARTINEZ, MARIA        ADDRESS ON FILE
COLON MARTINEZ, MARIA        ADDRESS ON FILE
COLON MARTINEZ, MARIA E      ADDRESS ON FILE
COLON MARTINEZ, MARIA J.     ADDRESS ON FILE
COLON MARTINEZ, MARIA S      ADDRESS ON FILE
COLON MARTINEZ, MARIBEL      ADDRESS ON FILE
COLON MARTINEZ, MARIBEL      ADDRESS ON FILE
COLON MARTINEZ, MARISOL      ADDRESS ON FILE
COLON MARTINEZ, MARTA E      ADDRESS ON FILE
COLON MARTINEZ, MAYRA        ADDRESS ON FILE




                                                                         Page 1647 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1648 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MARTINEZ, MIGUEL       ADDRESS ON FILE
COLON MARTINEZ, MIGUEL       ADDRESS ON FILE
COLON MARTINEZ, MILDRED J.   ADDRESS ON FILE
COLON MARTINEZ, MYRIAM J     ADDRESS ON FILE
COLON MARTINEZ, MYRNA        ADDRESS ON FILE
COLON MARTINEZ, NELVIN       ADDRESS ON FILE
COLON MARTINEZ, NORAIMA      ADDRESS ON FILE
COLON MARTINEZ, OMAR         ADDRESS ON FILE
COLON MARTINEZ, PEDRO A      ADDRESS ON FILE
COLON MARTINEZ, PETRONILA    ADDRESS ON FILE
COLON MARTINEZ, RAFAEL       ADDRESS ON FILE
COLON MARTINEZ, REISAAC      ADDRESS ON FILE
COLON MARTINEZ, ROBERTO      ADDRESS ON FILE
Colon Martinez, Rolando      ADDRESS ON FILE
COLON MARTINEZ, ROSA M       ADDRESS ON FILE
COLON MARTINEZ, RUBIAN       ADDRESS ON FILE
COLON MARTINEZ, RUTH D       ADDRESS ON FILE
COLON MARTINEZ, SANDRA E     ADDRESS ON FILE
Colon Martinez, Sandra I     ADDRESS ON FILE
COLON MARTINEZ, SONIA        ADDRESS ON FILE
COLON MARTINEZ, SONIA        ADDRESS ON FILE
COLON MARTINEZ, SONIA        ADDRESS ON FILE
COLON MARTINEZ, SUHEIL A     ADDRESS ON FILE
COLON MARTINEZ, UBALDINO     ADDRESS ON FILE
COLON MARTINEZ, VANESSA      ADDRESS ON FILE
COLON MARTINEZ, VANESSA      ADDRESS ON FILE
Colon Martinez, Victor       ADDRESS ON FILE
COLON MARTINEZ, WANDA I      ADDRESS ON FILE
Colon Martinez, Wanda I      ADDRESS ON FILE
COLON MARTINEZ, WENDDY L     ADDRESS ON FILE
COLON MARTINEZ, YAHAIRA      ADDRESS ON FILE
COLON MARTINEZ, YANIRA       ADDRESS ON FILE
COLON MARTINEZ, ZULMA        ADDRESS ON FILE
COLON MARTORELL, ALICIA      ADDRESS ON FILE
COLON MAS, EDUARDO           ADDRESS ON FILE
COLON MASSA, OMAR            ADDRESS ON FILE
COLON MASSO, IRMARIE         ADDRESS ON FILE
COLON MASSO, JOHNNY L        ADDRESS ON FILE
COLON MATEO, ANTONIO         ADDRESS ON FILE
COLON MATEO, ARLEEN          ADDRESS ON FILE
COLON MATEO, CARLOS J.       ADDRESS ON FILE
COLON MATEO, DEBRA L         ADDRESS ON FILE
COLON MATEO, EDWIN           ADDRESS ON FILE
COLON MATEO, GLORYCELIE      ADDRESS ON FILE
COLON MATEO, HAYDEE          ADDRESS ON FILE
Colon Mateo, Hector M        ADDRESS ON FILE
Colon Mateo, Jennifer J.     ADDRESS ON FILE
COLON MATEO, JOABNER         ADDRESS ON FILE
COLON MATEO, JORGE           ADDRESS ON FILE
COLON MATEO, KEYLA           ADDRESS ON FILE
COLON MATEO, LOURDES         ADDRESS ON FILE
COLON MATEO, LUZ C           ADDRESS ON FILE
COLON MATEO, MARIA Y.        ADDRESS ON FILE
COLON MATEO, MIGUEL E        ADDRESS ON FILE
COLON MATEO, RAFAEL A        ADDRESS ON FILE
COLON MATEO, RUTH J          ADDRESS ON FILE
COLON MATEO, YARITZA         ADDRESS ON FILE
COLON MATIAS, ALICIA         ADDRESS ON FILE
COLON MATIAS, DAMARIS        ADDRESS ON FILE
COLON MATOS, ABIGAIL         ADDRESS ON FILE




                                                                         Page 1648 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1649 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MATOS, ANIBAL         ADDRESS ON FILE
Colon Matos, Anibal         ADDRESS ON FILE
COLON MATOS, ANIBAL         ADDRESS ON FILE
Colon Matos, Carlos         ADDRESS ON FILE
COLON MATOS, CELIA          ADDRESS ON FILE
COLON MATOS, DAVID          ADDRESS ON FILE
COLON MATOS, DORIANY        ADDRESS ON FILE
COLON MATOS, EDUARDO        ADDRESS ON FILE
COLON MATOS, ELBA M         ADDRESS ON FILE
COLON MATOS, HECTOR L       ADDRESS ON FILE
COLON MATOS, JARRELYS       ADDRESS ON FILE
COLON MATOS, KARLA          ADDRESS ON FILE
COLON MATOS, KARLA          ADDRESS ON FILE
COLON MATOS, LUIS           ADDRESS ON FILE
COLON MATOS, MARIA L        ADDRESS ON FILE
COLON MATOS, MARIE          ADDRESS ON FILE
COLON MATOS, MARISEL        ADDRESS ON FILE
COLON MATOS, MOISES         ADDRESS ON FILE
COLON MATOS, MONICA         ADDRESS ON FILE
COLON MATOS, NARDA LUZ      ADDRESS ON FILE
COLON MATOS, NIXIDA         ADDRESS ON FILE
Colon Matos, Obed           ADDRESS ON FILE
COLON MATOS, RICHARD        ADDRESS ON FILE
COLON MATOS, SAINT          ADDRESS ON FILE
COLON MATOS, VERONICA       ADDRESS ON FILE
COLON MATOS,GLORIMAR        ADDRESS ON FILE
COLON MATTA, ISMAEL         ADDRESS ON FILE
COLON MATTA, WESLEY         ADDRESS ON FILE
COLON MAYSONET, EDWIN       ADDRESS ON FILE
COLON MAYSONET, JANET       ADDRESS ON FILE
COLON MCKISSEN, MORAIMA I   ADDRESS ON FILE
COLON MEDERO, NITZA         ADDRESS ON FILE
COLON MEDERO, SAMUEL        ADDRESS ON FILE
COLON MEDIAVILLA, DORIS J   ADDRESS ON FILE
COLON MEDINA, ALICIA        ADDRESS ON FILE
COLON MEDINA, ANGEL         ADDRESS ON FILE
COLON MEDINA, ANTONIO       ADDRESS ON FILE
COLON MEDINA, BRUNILDA      ADDRESS ON FILE
COLON MEDINA, CARLOS        ADDRESS ON FILE
COLON MEDINA, CARLOS        ADDRESS ON FILE
COLON MEDINA, CARLOS R.     ADDRESS ON FILE
COLON MEDINA, CARMEN J      ADDRESS ON FILE
COLON MEDINA, CHRISTIAN     ADDRESS ON FILE
COLON MEDINA, DANIEL        ADDRESS ON FILE
Colon Medina, Danny         ADDRESS ON FILE
COLON MEDINA, DANNY         ADDRESS ON FILE
COLON MEDINA, DAVID         ADDRESS ON FILE
COLON MEDINA, ELBA I        ADDRESS ON FILE
COLON MEDINA, GRACIELA      ADDRESS ON FILE
COLON MEDINA, HECTOR        ADDRESS ON FILE
COLON MEDINA, ISABEL        ADDRESS ON FILE
COLON MEDINA, JACQUELINE    ADDRESS ON FILE
COLON MEDINA, JOSE          ADDRESS ON FILE
COLON MEDINA, JOSUE R.      ADDRESS ON FILE
COLON MEDINA, LAURA         ADDRESS ON FILE
COLON MEDINA, LIMARI        ADDRESS ON FILE
COLON MEDINA, LUCILA        ADDRESS ON FILE
COLON MEDINA, LUCILA        ADDRESS ON FILE
COLON MEDINA, LUIS A        ADDRESS ON FILE
COLON MEDINA, LUIS A        ADDRESS ON FILE




                                                                        Page 1649 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1650 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3         Address4   City         State   PostalCode   Country
COLON MEDINA, LUZ N N        ADDRESS ON FILE
COLON MEDINA, MANUEL         ADDRESS ON FILE
Colon Medina, Melvin         ADDRESS ON FILE
COLON MEDINA, MICHELLE       ADDRESS ON FILE
Colon Medina, Miguel A       ADDRESS ON FILE
COLON MEDINA, MIGUELINA      ADDRESS ON FILE
COLON MEDINA, NILSA I        ADDRESS ON FILE
COLON MEDINA, OLGA E         ADDRESS ON FILE
COLON MEDINA, OLGA L         ADDRESS ON FILE
COLON MEDINA, OSCAR          ADDRESS ON FILE
COLON MEDINA, RAUL           ADDRESS ON FILE
COLON MEDINA, RIGOBERTO      ADDRESS ON FILE
COLON MEDINA, ROSA           ADDRESS ON FILE
COLON MEDINA, SECUNDINA      ADDRESS ON FILE
COLON MEDINA, SONIA          ADDRESS ON FILE
COLON MEDINA, SYLVIA         ADDRESS ON FILE
COLON MEDINA, WANDA          ADDRESS ON FILE
COLON MEDINA, WILFREDO       ADDRESS ON FILE
COLON MEDINA, WILLIAM        ADDRESS ON FILE
COLON MEDINA, WILLIAM        ADDRESS ON FILE
COLON MEDINA, WILLIAM        ADDRESS ON FILE
COLON MEJIAS, JULIO M.       ADDRESS ON FILE
COLON MELECIO, LYMARI        ADDRESS ON FILE
COLON MELECIO, MIGDALIA E    ADDRESS ON FILE
COLON MELEMDEZ, CARMEN       ADDRESS ON FILE
COLON MELENDEZ, ABDIEL       ADDRESS ON FILE
COLON MELENDEZ, ADA L        ADDRESS ON FILE
                                                                                        1353 AVE. LUIS
COLON MELENDEZ, ADA L.       YARLENE JIMENEZ ROSARIO   PMB‐133                          VIGOREAUZ                   GUAYNABO     PR      00966‐2700
COLON MELENDEZ, ANGEL J.     ADDRESS ON FILE
COLON MELENDEZ, AUDI J       ADDRESS ON FILE
Colon Melendez, Carlos M     ADDRESS ON FILE
COLON MELENDEZ, CARMEN D     ADDRESS ON FILE
COLON MELENDEZ, CARMEN D     ADDRESS ON FILE
COLON MELENDEZ, CARMEN I     ADDRESS ON FILE
COLON MELENDEZ, CARMEN L     ADDRESS ON FILE
COLON MELENDEZ, CHARLENE     ADDRESS ON FILE
COLON MELENDEZ, CHARLENE     ADDRESS ON FILE
COLON MELENDEZ, CRUZ M       ADDRESS ON FILE
COLON MELENDEZ, DAISY        ADDRESS ON FILE
COLON MELENDEZ, EDGAR        ADDRESS ON FILE
COLON MELENDEZ, ELIXANDRA    ADDRESS ON FILE
COLON MELENDEZ, ELIZANDRA    ADDRESS ON FILE
Colon Melendez, Fernando J   ADDRESS ON FILE
Colon Melendez, Heidy J.     ADDRESS ON FILE
Colon Melendez, Hiram        ADDRESS ON FILE
COLON MELENDEZ, IDA E        ADDRESS ON FILE
COLON MELENDEZ, IRIS         ADDRESS ON FILE
COLON MELENDEZ, JACKELINE    ADDRESS ON FILE
COLON MELENDEZ, JAIME        ADDRESS ON FILE
COLON MELENDEZ, JAIME        ADDRESS ON FILE
COLON MELENDEZ, JAY J.       ADDRESS ON FILE
COLON MELENDEZ, JOSE A       ADDRESS ON FILE
Colon Melendez, Jose D       ADDRESS ON FILE
COLON MELENDEZ, LILY I       ADDRESS ON FILE
COLON MELENDEZ, LISSA Y.     ADDRESS ON FILE
COLON MELENDEZ, LUZ M        ADDRESS ON FILE
COLON MELENDEZ, LUZ M        ADDRESS ON FILE
COLON MELENDEZ, MARIA G      ADDRESS ON FILE
COLON MELENDEZ, MARIA S      ADDRESS ON FILE




                                                                         Page 1650 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1651 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MELENDEZ, MARIANELA   ADDRESS ON FILE
COLON MELENDEZ, MARTIN      ADDRESS ON FILE
COLON MELENDEZ, MELVIN      ADDRESS ON FILE
Colon Melendez, Miguel A    ADDRESS ON FILE
COLON MELENDEZ, MILKA       ADDRESS ON FILE
COLON MELENDEZ, MINERLIZ    ADDRESS ON FILE
COLON MELENDEZ, NANCY       ADDRESS ON FILE
COLON MELENDEZ, NANCY       ADDRESS ON FILE
COLON MELENDEZ, NOEMI       ADDRESS ON FILE
COLON MELENDEZ, OSVALDO     ADDRESS ON FILE
COLON MELENDEZ, PEDRO       ADDRESS ON FILE
COLON MELENDEZ, RAMONITA    ADDRESS ON FILE
COLON MELENDEZ, RENE A      ADDRESS ON FILE
COLON MELENDEZ, RENNIER     ADDRESS ON FILE
COLON MELENDEZ, RICARDO     ADDRESS ON FILE
COLON MELENDEZ, ROSALINA    ADDRESS ON FILE
COLON MELENDEZ, ROXANA      ADDRESS ON FILE
COLON MELENDEZ, RUBEN       ADDRESS ON FILE
COLON MELENDEZ, RUBEN       ADDRESS ON FILE
COLON MELENDEZ, SANDRA      ADDRESS ON FILE
COLON MELENDEZ, SONIA       ADDRESS ON FILE
COLON MELENDEZ, SONIA       ADDRESS ON FILE
COLON MELENDEZ, VICTOR      ADDRESS ON FILE
COLON MELENDEZ, VICTOR L    ADDRESS ON FILE
COLON MELENDEZ, VILNERY     ADDRESS ON FILE
COLON MELENDEZ, YARITZA     ADDRESS ON FILE
COLON MELENDEZ, YOLANDA     ADDRESS ON FILE
COLON MELENDEZ,MARIE .      ADDRESS ON FILE
COLON MELO, ROBERTO         ADDRESS ON FILE
COLON MENA, SONIA N         ADDRESS ON FILE
COLON MENDEZ, ANGEL         ADDRESS ON FILE
COLON MENDEZ, CARMELO       ADDRESS ON FILE
COLON MENDEZ, EDNA M        ADDRESS ON FILE
COLON MENDEZ, ELADIO        ADDRESS ON FILE
COLON MENDEZ, ENID          ADDRESS ON FILE
COLON MENDEZ, GLADYSSA      ADDRESS ON FILE
COLON MENDEZ, HECTOR L      ADDRESS ON FILE
COLON MENDEZ, JULIO         ADDRESS ON FILE
COLON MENDEZ, MARGARITA C   ADDRESS ON FILE
COLON MENDEZ, MARY ANN      ADDRESS ON FILE
COLON MENDEZ, ORLANDO       ADDRESS ON FILE
Colon Mendez, Rafael M      ADDRESS ON FILE
COLON MENDEZ, ROBERTO       ADDRESS ON FILE
COLON MENDEZ, ROBERTO       ADDRESS ON FILE
COLON MENDEZ, YOLANDA       ADDRESS ON FILE
COLON MENDOZA, AIDA         ADDRESS ON FILE
COLON MENDOZA, ALBERTO      ADDRESS ON FILE
COLON MENDOZA, BEATRIZ      ADDRESS ON FILE
COLON MENDOZA, DEBORAH      ADDRESS ON FILE
Colon Mendoza, Efrain       ADDRESS ON FILE
COLON MENDOZA, MAGALY       ADDRESS ON FILE
COLON MENDOZA, MIRIAM A     ADDRESS ON FILE
COLON MENDOZA, NORELYS      ADDRESS ON FILE
COLON MERCADO, ANA J        ADDRESS ON FILE
COLON MERCADO, CARLOS       ADDRESS ON FILE
COLON MERCADO, CARMEN       ADDRESS ON FILE
COLON MERCADO, CARMEN M     ADDRESS ON FILE
COLON MERCADO, CAROL        ADDRESS ON FILE
COLON MERCADO, CRISTOBAL    ADDRESS ON FILE
Colon Mercado, Damaris      ADDRESS ON FILE




                                                                        Page 1651 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1652 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MERCADO, DAMARIS       ADDRESS ON FILE
COLON MERCADO, EDIBERTO      ADDRESS ON FILE
COLON MERCADO, ELBA N        ADDRESS ON FILE
COLON MERCADO, ELSA E        ADDRESS ON FILE
COLON MERCADO, EVELISSE S    ADDRESS ON FILE
COLON MERCADO, FERNANDO      ADDRESS ON FILE
Colon Mercado, Israel        ADDRESS ON FILE
COLON MERCADO, JORGE E       ADDRESS ON FILE
COLON MERCADO, JOSE          ADDRESS ON FILE
Colon Mercado, Jose A        ADDRESS ON FILE
Colon Mercado, Jose D        ADDRESS ON FILE
COLON MERCADO, LUIS A        ADDRESS ON FILE
COLON MERCADO, MARIA DEL C   ADDRESS ON FILE
COLON MERCADO, MARIBEL       ADDRESS ON FILE
Colon Mercado, Modesto       ADDRESS ON FILE
COLON MERCADO, MYRIAM        ADDRESS ON FILE
COLON MERCADO, NADJA M       ADDRESS ON FILE
Colon Mercado, Ramon         ADDRESS ON FILE
COLON MERCADO, RUTH E        ADDRESS ON FILE
COLON MERCADO, SANTIAGO      ADDRESS ON FILE
COLON MERCADO, SONIA I.      ADDRESS ON FILE
COLON MERCADO, ZYNDIA        ADDRESS ON FILE
COLON MERCADO,JOSE A.        ADDRESS ON FILE
COLON MERCED, ALEJANDRO      ADDRESS ON FILE
COLON MERCED, ANGEL          ADDRESS ON FILE
COLON MERCED, GLORIA Y       ADDRESS ON FILE
COLON MERCED, IRIS M         ADDRESS ON FILE
COLON MERCED, MARIA E        ADDRESS ON FILE
COLON MERCED, MARILUZ        ADDRESS ON FILE
COLON MERCED, MAXIMO         ADDRESS ON FILE
Colon Merced, Miguel A.      ADDRESS ON FILE
COLON MERCED, NOELIA         ADDRESS ON FILE
COLON MERCED, RICARDO        ADDRESS ON FILE
COLON MICHERI, LAURA         ADDRESS ON FILE
COLON MIGUEL, JAVIER         ADDRESS ON FILE
COLON MILAN, JUAN            ADDRESS ON FILE
COLON MILLAN, AZALIA L       ADDRESS ON FILE
COLON MILLAN, BLANCA         ADDRESS ON FILE
COLON MILLAN, DAMIAN         ADDRESS ON FILE
COLON MILLAN, GLADYS E.      ADDRESS ON FILE
COLON MILLAN, JORGE A        ADDRESS ON FILE
COLON MILLAN, LETICIA        ADDRESS ON FILE
COLON MILLAN, LIZZIE         ADDRESS ON FILE
COLON MILLAN, MARIA L        ADDRESS ON FILE
COLON MILLAN, ROSARIO L      ADDRESS ON FILE
COLON MILLAN, SYLVIA         ADDRESS ON FILE
COLON MILLAN, YARELIS        ADDRESS ON FILE
COLON MILLER, GUILLERMO      ADDRESS ON FILE
COLON MIRANDA, AIDA          ADDRESS ON FILE
COLON MIRANDA, ANGEL         ADDRESS ON FILE
COLON MIRANDA, CARLOS J      ADDRESS ON FILE
COLON MIRANDA, CARMEN A.     ADDRESS ON FILE
COLON MIRANDA, CARMEN D.     ADDRESS ON FILE
COLON MIRANDA, CONSUELO      ADDRESS ON FILE
COLON MIRANDA, ELIZABETH     ADDRESS ON FILE
Colon Miranda, Heriberto     ADDRESS ON FILE
COLON MIRANDA, HERNAN        ADDRESS ON FILE
COLON MIRANDA, JOSE A        ADDRESS ON FILE
COLON MIRANDA, JOSE L        ADDRESS ON FILE
COLON MIRANDA, JOSE L        ADDRESS ON FILE




                                                                         Page 1652 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1653 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON MIRANDA, LILLIE         ADDRESS ON FILE
COLON MIRANDA, LOIDA          ADDRESS ON FILE
COLON MIRANDA, MARIBEL        ADDRESS ON FILE
COLON MIRANDA, MILDRED E      ADDRESS ON FILE
COLON MIRANDA, MILKA          ADDRESS ON FILE
COLON MIRANDA, MYRNALI        ADDRESS ON FILE
COLON MIRANDA, NELSON         ADDRESS ON FILE
COLON MIRANDA, NILSA          ADDRESS ON FILE
COLON MIRANDA, REYNALDO       ADDRESS ON FILE
COLON MIRANDA, VALERY         ADDRESS ON FILE
COLON MIRANDA, WILMA          ADDRESS ON FILE
COLON MIRAY, CARLOS           ADDRESS ON FILE
COLON MIRAY, ELIANETTE        ADDRESS ON FILE
COLON MIRAY, LUIS             ADDRESS ON FILE
COLON MIRO, FELIX             ADDRESS ON FILE
COLON MIRO, SANDRA            ADDRESS ON FILE
COLON MOCTEZUMA, JOSE         ADDRESS ON FILE
COLON MOJICA, JAIME           ADDRESS ON FILE
COLON MOJICA, RAFAEL          ADDRESS ON FILE
COLON MOJICA, ROSITA          ADDRESS ON FILE
COLON MOJICA, VICTOR          ADDRESS ON FILE
COLON MOLINA, CARMEN L        ADDRESS ON FILE
COLON MOLINA, DIONEY Y        ADDRESS ON FILE
COLON MOLINA, ELIZABETH       ADDRESS ON FILE
Colon Molina, Louis           ADDRESS ON FILE
COLON MOLINA, MICHELLE        ADDRESS ON FILE
COLON MOLINA, NANCY           ADDRESS ON FILE
COLON MOLINA, NAOMI           ADDRESS ON FILE
COLON MOLINA, OSCAR           ADDRESS ON FILE
COLON MOLINA, ROBERTA         ADDRESS ON FILE
COLON MOLINA, ROBERTA         ADDRESS ON FILE
Colon Molina, Roberto C.      ADDRESS ON FILE
COLON MONCLOVA, ROSENIL       ADDRESS ON FILE
COLON MONGE, NILDA            ADDRESS ON FILE
COLON MONGE, RUBEN            ADDRESS ON FILE
COLON MONJE, REYNALDO         ADDRESS ON FILE
COLON MONROIG, CATHERINE D.   ADDRESS ON FILE
COLON MONROIG, EMELY E        ADDRESS ON FILE
COLON MONTALVO GIULIANO       LA LULA CALLE 9 3‐15                                                             PONCE        PR      00730
COLON MONTALVO, BEATRIZ       ADDRESS ON FILE
COLON MONTALVO, GIOVANNA      ADDRESS ON FILE
COLON MONTALVO, GISELLE       ADDRESS ON FILE
COLON MONTALVO, JESSICA       ADDRESS ON FILE
COLON MONTALVO, LUCY          ADDRESS ON FILE
COLON MONTALVO, MARIA V       ADDRESS ON FILE
COLON MONTALVO, PABLO A       ADDRESS ON FILE
COLON MONTANEZ, ALEXIS        ADDRESS ON FILE
COLON MONTANEZ, ANDREA N.     ADDRESS ON FILE
COLON MONTANEZ, BLASINA       ADDRESS ON FILE
COLON MONTANEZ, DAISY         ADDRESS ON FILE
COLON MONTANEZ, FELIX C       ADDRESS ON FILE
COLON MONTANEZ, IRIS          ADDRESS ON FILE
COLON MONTANEZ, JUAN          ADDRESS ON FILE
COLON MONTANEZ, JUAN          ADDRESS ON FILE
COLON MONTANEZ, JUAN          ADDRESS ON FILE
COLON MONTANEZ, LUIS          ADDRESS ON FILE
COLON MONTANEZ, LUIS O.       ADDRESS ON FILE
COLON MONTANEZ, MARGARITA     ADDRESS ON FILE
COLON MONTANEZ, MARIA A.      ADDRESS ON FILE
COLON MONTANEZ, MARIA E.      ADDRESS ON FILE




                                                                          Page 1653 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1654 of 3500
                                                                            17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name               Address1                              Address2                  Address3   Address4   City         State   PostalCode   Country
COLON MONTANEZ, OMAR        ADDRESS ON FILE
COLON MONTANEZ, REINALDO    ADDRESS ON FILE
COLON MONTANEZ, ROLANDO     ADDRESS ON FILE
COLON MONTANEZ, RUSHEEL     ADDRESS ON FILE
Colon Montanez, Yessenia    ADDRESS ON FILE
COLON MONTANEZ, YESSENIA    ADDRESS ON FILE
COLON MONTES, ALMA          ADDRESS ON FILE
COLON MONTES, ALMA V        ADDRESS ON FILE
COLON MONTES, DAVID         ADDRESS ON FILE
Colon Montes, Gilberto      ADDRESS ON FILE
COLON MONTES, RAFAEL        ADDRESS ON FILE
COLON MONTES, YESENIA       ADDRESS ON FILE
COLON MONTIJO, EMILIO       ADDRESS ON FILE
COLON MONTIJO, EMILIO       ADDRESS ON FILE
COLON MONTIJO, ERICK E.     ADDRESS ON FILE
COLON MONTILLA, ERIC        ADDRESS ON FILE
COLON MORALEAS, MARIBEL     ADDRESS ON FILE
COLON MORALES & PADIAL      Edificio Esquire #2 Vela, Suite 101                                                   SAN JUAN     PR      00918
COLON MORALES MD, JORGE A   ADDRESS ON FILE
COLON MORALES, ADA          ADDRESS ON FILE
COLON MORALES, AIXSA        ADDRESS ON FILE
COLON MORALES, ALBERTO      ADDRESS ON FILE
Colon Morales, Alberto L    ADDRESS ON FILE
COLON MORALES, ANA I.       ADDRESS ON FILE
COLON MORALES, ANDREA       ADDRESS ON FILE
COLON MORALES, ANIBAL       ADDRESS ON FILE
COLON MORALES, ARTURO       ADDRESS ON FILE
COLON MORALES, BRENDA       ADDRESS ON FILE
COLON MORALES, CANDIDO      ADDRESS ON FILE
COLON MORALES, CARLOS M     ADDRESS ON FILE
COLON MORALES, EDNA L.      ADDRESS ON FILE
COLON MORALES, ELBA R       ADDRESS ON FILE
COLON MORALES, ESTHER       ADDRESS ON FILE
COLON MORALES, FILIBERTO    ADDRESS ON FILE
COLON MORALES, FILIBERTO    ADDRESS ON FILE
Colon Morales, Francisco    ADDRESS ON FILE
Colon Morales, Freddie      ADDRESS ON FILE
COLON MORALES, GEIDY M      ADDRESS ON FILE
COLON MORALES, HECTOR       ADDRESS ON FILE
COLON MORALES, ILEANA       ADDRESS ON FILE
COLON MORALES, INES         ADDRESS ON FILE
Colon Morales, Iris M       ADDRESS ON FILE
COLON MORALES, IRIS M       ADDRESS ON FILE
COLON MORALES, IXAIRA C     ADDRESS ON FILE
COLON MORALES, JANE         ADDRESS ON FILE
COLON MORALES, JOHN LOUIS   ADDRESS ON FILE
Colon Morales, Johnie       ADDRESS ON FILE
COLON MORALES, JORGE        ADDRESS ON FILE
COLON MORALES, JORGE A      ADDRESS ON FILE
COLON MORALES, JOSE         ADDRESS ON FILE
COLON MORALES, JOSE A.      ADDRESS ON FILE
COLON MORALES, JOSE A.      ADDRESS ON FILE
COLON MORALES, JOSE M       ADDRESS ON FILE
Colon Morales, Jose R.      ADDRESS ON FILE
COLON MORALES, JUAN         ADDRESS ON FILE
Colon Morales, Juan P       ADDRESS ON FILE
COLON MORALES, JULIO C      ADDRESS ON FILE
COLON MORALES, KEILYMARI    ADDRESS ON FILE
COLON MORALES, KEYSHLA      ADDRESS ON FILE
COLON MORALES, LEYDA E      ADDRESS ON FILE




                                                                             Page 1654 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1655 of 3500
                                                                             17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                 Address1                  Address2                                    Address3   Address4   City          State   PostalCode   Country
COLON MORALES, LILLIAN        ADDRESS ON FILE
COLON MORALES, LIZAIRA        ADDRESS ON FILE
COLON MORALES, LOURDES        ADDRESS ON FILE
COLON MORALES, LOURDES        ADDRESS ON FILE
COLON MORALES, LUIS           ADDRESS ON FILE
COLON MORALES, LUIS ANTONIO   ADDRESS ON FILE
COLON MORALES, LUIS F.        ADDRESS ON FILE
COLON MORALES, LUIS O.        ADDRESS ON FILE
COLON MORALES, LYDIA T.       ADDRESS ON FILE
COLON MORALES, LYDIA T.       ADDRESS ON FILE
COLON MORALES, MALENY         ADDRESS ON FILE
Colon Morales, Manuel         ADDRESS ON FILE
COLON MORALES, MARIA Y        ADDRESS ON FILE
COLON MORALES, MARIBEL        ADDRESS ON FILE
COLON MORALES, MARIBEL        ADDRESS ON FILE
COLON MORALES, MARITZA        ADDRESS ON FILE
COLON MORALES, MIGUEL         ADDRESS ON FILE
COLON MORALES, MIGUEL A       ADDRESS ON FILE
COLON MORALES, NAIDA M        ADDRESS ON FILE
COLON MORALES, NATALIA        ADDRESS ON FILE
Colon Morales, Neftali        ADDRESS ON FILE
COLON MORALES, NEREIDA        ADDRESS ON FILE
COLON MORALES, NYDIA E.       ADDRESS ON FILE
COLON MORALES, NYDIA I.       ADDRESS ON FILE
COLON MORALES, ORLANDO        ADDRESS ON FILE
COLON MORALES, PORFIRIA       ADDRESS ON FILE
COLON MORALES, RAMONA         ADDRESS ON FILE
COLON MORALES, RICARDO        ADDRESS ON FILE
COLON MORALES, RICARDO        ADDRESS ON FILE
COLON MORALES, RITA           ADDRESS ON FILE
COLON MORALES, RUBEN          ADDRESS ON FILE
COLON MORALES, SULIANNE       ADDRESS ON FILE
COLON MORALES, TANIA          ADDRESS ON FILE
COLON MORALES, TANIA          ADDRESS ON FILE
COLON MORALES, URSULA         ADDRESS ON FILE
COLON MORALES, VICTOR         ADDRESS ON FILE
COLON MORALES, VICTOR M.      ADDRESS ON FILE
COLON MORALES, WANDA M        ADDRESS ON FILE
COLON MORALES, ZAIDA          ADDRESS ON FILE
COLON MORALEZ, ERICK A.       ADDRESS ON FILE
COLON MORALS, TOMASA          ADDRESS ON FILE
COLON MORAN, GILBERT          ADDRESS ON FILE
COLON MORAN, NEFTALI          ADDRESS ON FILE
COLON MORAN, NEFTALI          ADDRESS ON FILE
COLON MORCIGLIO, HENRY        ADDRESS ON FILE
COLON MORCIGLIO, RICARDO      ADDRESS ON FILE
Colon Morciglio, Walter       ADDRESS ON FILE
COLON MORELLES, DALIALIS      ADDRESS ON FILE
COLON MORENA, ODALIS M        ADDRESS ON FILE
COLON MORENO RAUL V AC‐ELA    MARIA E ROSAS SALGADO     PO BOX 95 VICTORIA STA                                            AGUADILLA     PR      00605
COLON MORENO RAUL V AC‐ELA    NILDA RAMON APONTE        PMB 462 PO BOX 6400                                               Cayey         PR      00737
COLON MORENO RAUL V AC‐ELA    POR DERECHO PROPIO        INST 1000 2I CELDA 112 PO BOX 10009                               GUAYAMA       PR      00785
COLON MORENO, ANABEL          ADDRESS ON FILE
COLON MORENO, FREDDIE         ADDRESS ON FILE
COLON MORENO, GRACE M         ADDRESS ON FILE
COLON MORENO, IRVIN           ADDRESS ON FILE
COLON MORENO, JUAN            ADDRESS ON FILE
COLON MORENO, MARIA L         ADDRESS ON FILE
COLON MORENO, MIGUEL          ADDRESS ON FILE
COLON MORENO, MILTON R        ADDRESS ON FILE




                                                                                     Page 1655 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1656 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Colon Moreno, William        ADDRESS ON FILE
COLON MORENO, YETZENIA       ADDRESS ON FILE
COLON MORENO,IRVIN           ADDRESS ON FILE
COLON MORERA, ANA            ADDRESS ON FILE
COLON MORERA, JOSE           ADDRESS ON FILE
COLON MORET, JACKELINE       ADDRESS ON FILE
COLON MORGADO, IVAN          ADDRESS ON FILE
COLON MOTOR AUTO SALES INC   PO BOX 1828                                                                      MOCA         PR      00676
Colón Moya, Aureliz          ADDRESS ON FILE
COLON MOYA, KEILA            ADDRESS ON FILE
COLON MOYA, MARIA C.         ADDRESS ON FILE
COLON MOYA, MARIELY          ADDRESS ON FILE
COLON MOYA, MARILYN          ADDRESS ON FILE
COLON MOYENO, CARMEN M.      ADDRESS ON FILE
COLON MOYENO, JULIO E.       ADDRESS ON FILE
COLON MULERO, ALFRED         ADDRESS ON FILE
COLON MULERO, JONATHAN       ADDRESS ON FILE
COLON MULERO, LYDIA R.       ADDRESS ON FILE
COLON MULERO, NESTOR         ADDRESS ON FILE
COLON MULLER, ALEXANDRA      ADDRESS ON FILE
Colon Munet, Sixto           ADDRESS ON FILE
COLON MUNIZ, ALFREDO         ADDRESS ON FILE
COLON MUNIZ, CARMEN E        ADDRESS ON FILE
COLON MUNIZ, DAVID OMAR      ADDRESS ON FILE
COLON MUNIZ, DIANALIZ        ADDRESS ON FILE
COLON MUNIZ, EMMA            ADDRESS ON FILE
Colon Muniz, Joel A          ADDRESS ON FILE
COLON MUNIZ, JORGE D         ADDRESS ON FILE
COLON MUNIZ, JOSE            ADDRESS ON FILE
COLON MUNIZ, JOSE            ADDRESS ON FILE
COLON MUNIZ, KATIANA         ADDRESS ON FILE
Colon Muniz, Manuel          ADDRESS ON FILE
COLON MUNIZ, RAMONITA        ADDRESS ON FILE
COLON MUNOZ, CRISTOBAL       ADDRESS ON FILE
COLON MUNOZ, DELIA Z         ADDRESS ON FILE
Colon Munoz, Isaac           ADDRESS ON FILE
COLON MUNOZ, ISAAC           ADDRESS ON FILE
COLON MUNOZ, LUZ J           ADDRESS ON FILE
Colon Munoz, Mariel          ADDRESS ON FILE
COLON MUNOZ, MARILYN         ADDRESS ON FILE
COLON MUNOZ, NELSON          ADDRESS ON FILE
COLON MUNOZ, SHAMILEEN       ADDRESS ON FILE
COLON MURRIA, VICTOR M       ADDRESS ON FILE
COLON MURRIG, VICTOR         ADDRESS ON FILE
COLON MUSSEB, ROSNELY        ADDRESS ON FILE
COLON NARVAEZ, ALEXANDER     ADDRESS ON FILE
COLON NARVAEZ, ALEXANDER     ADDRESS ON FILE
COLON NARVAEZ, CARMEN G      ADDRESS ON FILE
COLON NARVAEZ, CARMEN L      ADDRESS ON FILE
COLON NARVAEZ, JOAN          ADDRESS ON FILE
COLON NARVAEZ, MARIA         ADDRESS ON FILE
COLON NARVAREZ, HOWARD       ADDRESS ON FILE
COLON NAVARRO, ALEJANDRO     ADDRESS ON FILE
COLON NAVARRO, HILDA         ADDRESS ON FILE
COLON NAVARRO, LUIS A        ADDRESS ON FILE
COLON NAVARRO, MARGARET      ADDRESS ON FILE
COLON NAVARRO, MARITZA I     ADDRESS ON FILE
COLON NAVARRO, NIDIA J       ADDRESS ON FILE
COLON NAVARRO, VIRGILIO      ADDRESS ON FILE
COLON NAVEDO, RAMON          ADDRESS ON FILE




                                                                         Page 1656 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1657 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON NAZARIO, ALEXIS      ADDRESS ON FILE
COLON NAZARIO, ANA L       ADDRESS ON FILE
COLON NAZARIO, CARLOS      ADDRESS ON FILE
COLON NAZARIO, CARLOS      ADDRESS ON FILE
COLON NAZARIO, ELIZABETH   ADDRESS ON FILE
COLON NAZARIO, GLORIMAR    ADDRESS ON FILE
COLON NAZARIO, IRIS M      ADDRESS ON FILE
COLON NAZARIO, JESUS       ADDRESS ON FILE
COLON NAZARIO, JUAN        ADDRESS ON FILE
COLON NAZARIO, LUIS        ADDRESS ON FILE
COLON NAZARIO, MARGARITA   ADDRESS ON FILE
COLON NAZARIO, MARIA I     ADDRESS ON FILE
COLON NAZARIO, VIVIAN J    ADDRESS ON FILE
COLON NEBOT MD, ROLANDO    ADDRESS ON FILE
COLON NEGRON, ANA          ADDRESS ON FILE
COLON NEGRON, ANA MARIA    ADDRESS ON FILE
COLON NEGRON, ANGELA       ADDRESS ON FILE
COLON NEGRON, ANGELICA     ADDRESS ON FILE
COLON NEGRON, CARLOS J     ADDRESS ON FILE
COLON NEGRON, CARLOTA      ADDRESS ON FILE
COLON NEGRON, CARMEN E     ADDRESS ON FILE
COLON NEGRON, CLARIBEL     ADDRESS ON FILE
COLON NEGRON, DAVID        ADDRESS ON FILE
COLON NEGRON, EDGARDO      ADDRESS ON FILE
COLON NEGRON, EDWARD       ADDRESS ON FILE
COLON NEGRON, EDWARD       ADDRESS ON FILE
COLON NEGRON, EVELYS       ADDRESS ON FILE
COLON NEGRON, F            ADDRESS ON FILE
COLON NEGRON, FELIX        ADDRESS ON FILE
COLON NEGRON, FELIX L      ADDRESS ON FILE
COLON NEGRON, GRISELL      ADDRESS ON FILE
Colon Negron, Humberto L   ADDRESS ON FILE
COLON NEGRON, INES         ADDRESS ON FILE
COLON NEGRON, ISRAEL       ADDRESS ON FILE
COLON NEGRON, JACKELINE    ADDRESS ON FILE
COLON NEGRON, JAVIER       ADDRESS ON FILE
COLON NEGRON, JOSE         ADDRESS ON FILE
Colon Negron, Jose D       ADDRESS ON FILE
COLON NEGRON, JOSE J.      ADDRESS ON FILE
Colon Negron, Jose L       ADDRESS ON FILE
Colon Negron, Jose O       ADDRESS ON FILE
Colon Negron, Jose O       ADDRESS ON FILE
COLON NEGRON, JOSE R       ADDRESS ON FILE
COLON NEGRON, JOSEFINA     ADDRESS ON FILE
COLON NEGRON, JOSIE        ADDRESS ON FILE
COLON NEGRON, JUAN C       ADDRESS ON FILE
COLON NEGRON, JUAN P       ADDRESS ON FILE
COLON NEGRON, KEYLA I      ADDRESS ON FILE
COLON NEGRON, LAURA        ADDRESS ON FILE
COLON NEGRON, LUIS A       ADDRESS ON FILE
COLON NEGRON, LUZ T        ADDRESS ON FILE
COLON NEGRON, MARILYN      ADDRESS ON FILE
COLON NEGRON, MARISOL      ADDRESS ON FILE
COLON NEGRON, MIGUEL       ADDRESS ON FILE
COLON NEGRON, MIREYA       ADDRESS ON FILE
COLON NEGRON, MYRTA        ADDRESS ON FILE
COLON NEGRON, NILDA        ADDRESS ON FILE
Colon Negron, Noel E       ADDRESS ON FILE
COLON NEGRON, ROSAEL       ADDRESS ON FILE
Colon Negron, Santos       ADDRESS ON FILE




                                                                       Page 1657 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1658 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON NEGRON, SUTHBEIDA    ADDRESS ON FILE
Colon Negron, Wandaliz     ADDRESS ON FILE
COLON NEGRON, WILFREDO     ADDRESS ON FILE
COLON NEGRON, WILMARYS     ADDRESS ON FILE
COLON NEGRON, YAMILY       ADDRESS ON FILE
COLON NEGRON, YARILIZ Y.   ADDRESS ON FILE
COLON NELSON, ELIEZER O.   ADDRESS ON FILE
COLON NELSON, GERSON       ADDRESS ON FILE
COLON NELSON, GERSON J     ADDRESS ON FILE
COLON NELSON, JUAN         ADDRESS ON FILE
Colon Nery, Elba Yamira    ADDRESS ON FILE
COLON NEVAREZ, MARCOS      ADDRESS ON FILE
COLON NICOLAU, BENITO      ADDRESS ON FILE
COLON NIEVES, ALFONSO      ADDRESS ON FILE
COLON NIEVES, ANA L        ADDRESS ON FILE
Colon Nieves, Angel L      ADDRESS ON FILE
COLON NIEVES, BRENDA       ADDRESS ON FILE
COLON NIEVES, CARMEN       ADDRESS ON FILE
COLON NIEVES, CARMEN M     ADDRESS ON FILE
COLON NIEVES, ESPERANZA    ADDRESS ON FILE
COLON NIEVES, FLOIRAN      ADDRESS ON FILE
COLON NIEVES, FLOR         ADDRESS ON FILE
COLON NIEVES, FLOR A       ADDRESS ON FILE
COLON NIEVES, IVELISSE     ADDRESS ON FILE
COLON NIEVES, JESSENITH    ADDRESS ON FILE
COLON NIEVES, JESUS        ADDRESS ON FILE
Colon Nieves, Jesus M      ADDRESS ON FILE
COLON NIEVES, JOHANNA      ADDRESS ON FILE
COLON NIEVES, JORGE L      ADDRESS ON FILE
COLON NIEVES, JORGE L.     ADDRESS ON FILE
COLON NIEVES, JOSE A.      ADDRESS ON FILE
COLON NIEVES, JOSE A.      ADDRESS ON FILE
COLON NIEVES, JUAN         ADDRESS ON FILE
COLON NIEVES, KARLA M.     ADDRESS ON FILE
COLON NIEVES, LIZANDRA     ADDRESS ON FILE
COLON NIEVES, LUCINDA      ADDRESS ON FILE
COLON NIEVES, LUIS         ADDRESS ON FILE
COLON NIEVES, LUIS O       ADDRESS ON FILE
COLON NIEVES, LUZ V        ADDRESS ON FILE
COLON NIEVES, MAGDALENA    ADDRESS ON FILE
COLON NIEVES, MARIA M      ADDRESS ON FILE
COLON NIEVES, MARIA S      ADDRESS ON FILE
COLON NIEVES, MARIE LUZ    ADDRESS ON FILE
COLON NIEVES, MILTON       ADDRESS ON FILE
COLON NIEVES, MILTON J     ADDRESS ON FILE
COLON NIEVES, MINERVA      ADDRESS ON FILE
COLON NIEVES, MONICA       ADDRESS ON FILE
COLON NIEVES, NILSA        ADDRESS ON FILE
COLON NIEVES, NYDIA M      ADDRESS ON FILE
COLON NIEVES, OMAR         ADDRESS ON FILE
Colon Nieves, Omar         ADDRESS ON FILE
Colon Nieves, Roberto E    ADDRESS ON FILE
COLON NIEVES, RUDECINDO    ADDRESS ON FILE
COLON NIEVES, STEVEN       ADDRESS ON FILE
COLON NIEVES, TERESA       ADDRESS ON FILE
COLON NIEVES, WALESKA      ADDRESS ON FILE
COLON NIEVES, WALESKA      ADDRESS ON FILE
COLON NIEVES, WENDY        ADDRESS ON FILE
COLON NIEVES, WILMA M      ADDRESS ON FILE
COLON NIEVES, YAHAIRA      ADDRESS ON FILE




                                                                       Page 1658 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1659 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON NIEVES,JUAN           ADDRESS ON FILE
COLON NOGUE, AIDA           ADDRESS ON FILE
COLON NOGUERAS, JOSE R.     ADDRESS ON FILE
COLON NOGUERAS, JOSE R.     ADDRESS ON FILE
COLON NOGUERAS, STEVEN      ADDRESS ON FILE
COLON NOLASCO, ALEX         ADDRESS ON FILE
COLON NOLASCO, ANNETTE      ADDRESS ON FILE
COLON NOVOA, AXEL ISRAEL    ADDRESS ON FILE
COLON NOVOA, JOSE           ADDRESS ON FILE
COLON NUNCCI, ANGEL         ADDRESS ON FILE
COLON NUNCCI, ELIZABETH     ADDRESS ON FILE
COLON NUNCCI, JOSE          ADDRESS ON FILE
COLON NUNCCI, MARIA V       ADDRESS ON FILE
Colon Nuncci, Sandra I.     ADDRESS ON FILE
COLON NUNEZ, ANGEL          ADDRESS ON FILE
COLON NUNEZ, ANTONIA        ADDRESS ON FILE
COLON NUNEZ, DIANA          ADDRESS ON FILE
COLON NUNEZ, EVELYN         ADDRESS ON FILE
COLON NUNEZ, HECTOR         ADDRESS ON FILE
COLON NUNEZ, IVETTE M       ADDRESS ON FILE
COLON NUNEZ, IVETTE M.      ADDRESS ON FILE
COLON NUNEZ, JOSE           ADDRESS ON FILE
COLON NUNEZ, JUAN           ADDRESS ON FILE
COLON NUNEZ, JUAN R         ADDRESS ON FILE
COLON NUNEZ, LISANDRA       ADDRESS ON FILE
COLON NUNEZ, MARIA S        ADDRESS ON FILE
COLON NUNEZ, NANCY E.       ADDRESS ON FILE
Colon Nunez, Orlando D.     ADDRESS ON FILE
COLON NUNEZ, RAFAEL         ADDRESS ON FILE
COLON NUNEZ, RAMON          ADDRESS ON FILE
COLON NUNEZ, SEVERINO       ADDRESS ON FILE
COLON OCASIO, ADA           ADDRESS ON FILE
COLON OCASIO, ANDRES        ADDRESS ON FILE
COLON OCASIO, CARME T       ADDRESS ON FILE
COLON OCASIO, CARMEN I      ADDRESS ON FILE
COLON OCASIO, CARMEN M      ADDRESS ON FILE
COLON OCASIO, DAISY         ADDRESS ON FILE
COLON OCASIO, EFRAIN        ADDRESS ON FILE
COLON OCASIO, JESUS         ADDRESS ON FILE
COLON OCASIO, MAGALY        ADDRESS ON FILE
COLON OCASIO, MARTA M       ADDRESS ON FILE
COLON OCASIO, MIRIAM Y      ADDRESS ON FILE
COLON OCASIO, RAMON         ADDRESS ON FILE
COLON OCASIO, SANDRA        ADDRESS ON FILE
COLON OCASIO, SOLYMAR       ADDRESS ON FILE
COLON OCASIO, TEREANN A     ADDRESS ON FILE
COLON OJEDA, ANGEL          ADDRESS ON FILE
COLON OJEDA, ELIZABETH      ADDRESS ON FILE
COLON OJEDA, LUCY E         ADDRESS ON FILE
COLON OLAVARRIA, JESUS      ADDRESS ON FILE
COLON OLAZAGASTI, ALEXIS    ADDRESS ON FILE
COLON OLIVARES, MARIA I     ADDRESS ON FILE
COLON OLIVENCIA, ADELAIDA   ADDRESS ON FILE
COLON OLIVENCIA, ANTONIO    ADDRESS ON FILE
COLON OLIVENCIA, RAMON A    ADDRESS ON FILE
COLON OLIVERA, CARMEN       ADDRESS ON FILE
COLON OLIVERAS, CARMEN      ADDRESS ON FILE
COLON OLIVERAS, GABRIELA    ADDRESS ON FILE
COLON OLIVERAS, LIZBETH     ADDRESS ON FILE
COLON OLIVERAS, MELVA       ADDRESS ON FILE




                                                                        Page 1659 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1660 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON OLIVERAS, NILDA R.     ADDRESS ON FILE
COLON OLIVERAS, YOLANDA      ADDRESS ON FILE
COLON OLIVIERI, ANGEL        ADDRESS ON FILE
COLON OLIVIERI, JOSE A.      ADDRESS ON FILE
Colon Olivieri, Lourdes M.   ADDRESS ON FILE
COLON OLMEDA, DAYRA A.       ADDRESS ON FILE
COLON OLMEDA, SONIA L.       ADDRESS ON FILE
COLON OLMO, MARIA D          ADDRESS ON FILE
Colon Oneill, Wilfredo       ADDRESS ON FILE
COLON OPPENHEIMER, CARIDAD   ADDRESS ON FILE
COLON OQUENDO, CARMEN M      ADDRESS ON FILE
COLON OQUENDO, EILEEN Y      ADDRESS ON FILE
COLON OQUENDO, HECTOR        ADDRESS ON FILE
COLON OQUENDO, JONATHAN      ADDRESS ON FILE
COLON ORAMA, ANGEL M         ADDRESS ON FILE
COLON ORAMAS, LUZ M          ADDRESS ON FILE
COLON ORDONEZ, CLARA         ADDRESS ON FILE
COLON ORDONEZ, CLARA         ADDRESS ON FILE
Colon Orozco, Virginia M     ADDRESS ON FILE
COLON ORTALAZA, RUBEN        ADDRESS ON FILE
COLON ORTEGA, ANGEL          ADDRESS ON FILE
COLON ORTEGA, ANGELINA       ADDRESS ON FILE
Colon Ortega, Felix A        ADDRESS ON FILE
COLON ORTEGA, JOSE A         ADDRESS ON FILE
COLON ORTEGA, JUDITH         ADDRESS ON FILE
Colon Ortega, Kandy A        ADDRESS ON FILE
COLON ORTEGA, MANUEL         ADDRESS ON FILE
COLON ORTEGA, MARIA          ADDRESS ON FILE
COLON ORTEGA, OTHONIEL       ADDRESS ON FILE
COLON ORTEGA, YITZA          ADDRESS ON FILE
COLON ORTEGA, ZORELIZ        ADDRESS ON FILE
COLON ORTIZ MD, PEDRO J      ADDRESS ON FILE
COLON ORTIZ, AGUSTIN         ADDRESS ON FILE
COLON ORTIZ, AIDA L.         ADDRESS ON FILE
COLON ORTIZ, ALBERTO         ADDRESS ON FILE
COLON ORTIZ, ALBERTO A       ADDRESS ON FILE
COLON ORTIZ, ALDRIN          ADDRESS ON FILE
COLON ORTIZ, ALEX JOEL       ADDRESS ON FILE
COLON ORTIZ, ALEXANDER       ADDRESS ON FILE
COLON ORTIZ, ANA A           ADDRESS ON FILE
COLON ORTIZ, ANA H           ADDRESS ON FILE
COLON ORTIZ, ANDRES          ADDRESS ON FILE
COLON ORTIZ, ANGEL           ADDRESS ON FILE
COLON ORTIZ, ANGEL A         ADDRESS ON FILE
COLON ORTIZ, ANGEL A         ADDRESS ON FILE
COLON ORTIZ, ANGEL L.        ADDRESS ON FILE
COLON ORTIZ, ANTONIO J.      ADDRESS ON FILE
COLON ORTIZ, ARECIO          ADDRESS ON FILE
COLON ORTIZ, ARNALDO A.      ADDRESS ON FILE
COLON ORTIZ, BENITO          ADDRESS ON FILE
COLON ORTIZ, BETZAIDA        ADDRESS ON FILE
COLON ORTIZ, BETZAIDA        ADDRESS ON FILE
COLON ORTIZ, BRENDA          ADDRESS ON FILE
COLON ORTIZ, BRENDA I        ADDRESS ON FILE
COLON ORTIZ, CARLOS          ADDRESS ON FILE
COLON ORTIZ, CARLOS          ADDRESS ON FILE
COLON ORTIZ, CARLOS          ADDRESS ON FILE
COLON ORTIZ, CARLOS          ADDRESS ON FILE
COLON ORTIZ, CARLOS A.       ADDRESS ON FILE
Colon Ortiz, Carlos R        ADDRESS ON FILE




                                                                         Page 1660 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1661 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ORTIZ, CARMEN          ADDRESS ON FILE
COLON ORTIZ, CARMEN          ADDRESS ON FILE
COLON ORTIZ, CARMEN G        ADDRESS ON FILE
COLON ORTIZ, CARMEN G        ADDRESS ON FILE
Colon Ortiz, Carmen G.       ADDRESS ON FILE
COLON ORTIZ, CARMEN M.       ADDRESS ON FILE
COLON ORTIZ, CARMEN P        ADDRESS ON FILE
COLON ORTIZ, CARYCHEILEEN    ADDRESS ON FILE
COLON ORTIZ, CHELAY          ADDRESS ON FILE
COLON ORTIZ, CLARYBEL        ADDRESS ON FILE
COLON ORTIZ, CRISTINA        ADDRESS ON FILE
COLON ORTIZ, DALITZA E       ADDRESS ON FILE
COLON ORTIZ, DEBORAH         ADDRESS ON FILE
COLON ORTIZ, EDGAR ANTONIO   ADDRESS ON FILE
COLON ORTIZ, EDUARDO         ADDRESS ON FILE
COLON ORTIZ, EDUARDO         ADDRESS ON FILE
COLON ORTIZ, EDWIN           ADDRESS ON FILE
COLON ORTIZ, EDWIN           ADDRESS ON FILE
COLON ORTIZ, ELBA            ADDRESS ON FILE
COLON ORTIZ, ELIZABETH       ADDRESS ON FILE
COLON ORTIZ, ELVIN           ADDRESS ON FILE
COLON ORTIZ, EMERITA         ADDRESS ON FILE
COLON ORTIZ, ENUDIO          ADDRESS ON FILE
Colon Ortiz, Esteban         ADDRESS ON FILE
Colon Ortiz, Evelinda        ADDRESS ON FILE
COLON ORTIZ, EVELYN          ADDRESS ON FILE
COLON ORTIZ, EVELYN          ADDRESS ON FILE
COLON ORTIZ, FELIBERTO       ADDRESS ON FILE
COLON ORTIZ, FELICITA        ADDRESS ON FILE
COLON ORTIZ, FELIPE          ADDRESS ON FILE
COLON ORTIZ, FELISA          ADDRESS ON FILE
COLON ORTIZ, FELISA          ADDRESS ON FILE
COLON ORTIZ, FERNANDO        ADDRESS ON FILE
COLON ORTIZ, FRANCES         ADDRESS ON FILE
COLON ORTIZ, FRANCISCO       ADDRESS ON FILE
COLON ORTIZ, FREDESWINDA     ADDRESS ON FILE
COLON ORTIZ, GABRIELA N.     ADDRESS ON FILE
COLON ORTIZ, GERMAN          ADDRESS ON FILE
COLON ORTIZ, GINNY ANN       ADDRESS ON FILE
COLON ORTIZ, GINNY ANN       ADDRESS ON FILE
COLON ORTIZ, GLENDA          ADDRESS ON FILE
COLON ORTIZ, GLORIBELIZ      ADDRESS ON FILE
COLON ORTIZ, GLORYBEL        ADDRESS ON FILE
COLON ORTIZ, GUILLERMO       ADDRESS ON FILE
COLON ORTIZ, HECTOR L        ADDRESS ON FILE
COLON ORTIZ, HECTOR L        ADDRESS ON FILE
COLON ORTIZ, HECTOR LUIS     ADDRESS ON FILE
COLON ORTIZ, HILARYS         ADDRESS ON FILE
COLON ORTIZ, HILDA I         ADDRESS ON FILE
COLON ORTIZ, HIRAM           ADDRESS ON FILE
COLON ORTIZ, IVANIENITH      ADDRESS ON FILE
COLON ORTIZ, JANETTE M       ADDRESS ON FILE
COLON ORTIZ, JANSEL          ADDRESS ON FILE
COLON ORTIZ, JEANELLY        ADDRESS ON FILE
COLON ORTIZ, JETMANIEL       ADDRESS ON FILE
COLON ORTIZ, JOEL            ADDRESS ON FILE
COLON ORTIZ, JOEL            ADDRESS ON FILE
COLON ORTIZ, JOEL W          ADDRESS ON FILE
COLON ORTIZ, JOHANNA         ADDRESS ON FILE
COLON ORTIZ, JOHN            ADDRESS ON FILE




                                                                         Page 1661 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1662 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE         ADDRESS ON FILE
COLON ORTIZ, JOSE A       ADDRESS ON FILE
COLON ORTIZ, JOSE A       ADDRESS ON FILE
Colon Ortiz, Jose A       ADDRESS ON FILE
COLÓN ORTIZ, JOSÉ A.      LIC. JESÚS M. JIMENEZ     PO BOX 3025                                            GUYAMA       PR      00785
COLON ORTIZ, JOSE E.      ADDRESS ON FILE
COLON ORTIZ, JOSE L       ADDRESS ON FILE
COLON ORTIZ, JOSE M       ADDRESS ON FILE
Colon Ortiz, Jose M       ADDRESS ON FILE
COLON ORTIZ, JOSE R       ADDRESS ON FILE
Colon Ortiz, Josefina     ADDRESS ON FILE
COLON ORTIZ, JOSELITO     ADDRESS ON FILE
COLON ORTIZ, JOSIAN       ADDRESS ON FILE
COLON ORTIZ, JOSSELYN     ADDRESS ON FILE
COLON ORTIZ, JOSSELYN     ADDRESS ON FILE
COLON ORTIZ, JOSUE        ADDRESS ON FILE
COLON ORTIZ, JOSUE        ADDRESS ON FILE
COLON ORTIZ, JUAN         ADDRESS ON FILE
COLON ORTIZ, JUAN         ADDRESS ON FILE
Colon Ortiz, Juan A       ADDRESS ON FILE
COLON ORTIZ, JUDITH       ADDRESS ON FILE
COLON ORTIZ, JUDITH M     ADDRESS ON FILE
COLON ORTIZ, JULIA M      ADDRESS ON FILE
COLON ORTIZ, KAREN J      ADDRESS ON FILE
COLON ORTIZ, LAURA        ADDRESS ON FILE
COLON ORTIZ, LENNY        ADDRESS ON FILE
COLON ORTIZ, LEOMARIS     ADDRESS ON FILE
COLON ORTIZ, LINEDSA      ADDRESS ON FILE
COLON ORTIZ, LISA         ADDRESS ON FILE
COLON ORTIZ, LISSETTE     ADDRESS ON FILE
COLON ORTIZ, LORENZO      ADDRESS ON FILE
Colon Ortiz, Lourdes      ADDRESS ON FILE
COLON ORTIZ, LOURDES I    ADDRESS ON FILE
COLON ORTIZ, LOURDES I.   ADDRESS ON FILE
COLON ORTIZ, LUIS         ADDRESS ON FILE
COLON ORTIZ, LUIS         ADDRESS ON FILE
COLON ORTIZ, LUIS         ADDRESS ON FILE
COLON ORTIZ, LUIS         ADDRESS ON FILE
COLON ORTIZ, LUIS         ADDRESS ON FILE
COLON ORTIZ, LUIS A       ADDRESS ON FILE
COLON ORTIZ, LUIS A.      ADDRESS ON FILE
COLON ORTIZ, LUIS A.      ADDRESS ON FILE
Colon Ortiz, Luis M       ADDRESS ON FILE
Colon Ortiz, Luis O       ADDRESS ON FILE
COLON ORTIZ, LUIS Q       ADDRESS ON FILE
COLON ORTIZ, LUZ          ADDRESS ON FILE
COLON ORTIZ, LUZ C        ADDRESS ON FILE
COLON ORTIZ, LUZ C        ADDRESS ON FILE
COLON ORTIZ, LUZ S        ADDRESS ON FILE
COLON ORTIZ, LYDIA        ADDRESS ON FILE
COLON ORTIZ, LYDIA E      ADDRESS ON FILE
COLON ORTIZ, MAGDALIZ     ADDRESS ON FILE
COLON ORTIZ, MANUEL       ADDRESS ON FILE




                                                                      Page 1662 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1663 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Colon Ortiz, Margarita         ADDRESS ON FILE
COLON ORTIZ, MARIA             ADDRESS ON FILE
COLON ORTIZ, MARIA             ADDRESS ON FILE
COLON ORTIZ, MARIA             ADDRESS ON FILE
COLON ORTIZ, MARIA DE LOS A.   ADDRESS ON FILE
Colon Ortiz, Maria Del C       ADDRESS ON FILE
COLON ORTIZ, MARIA I           ADDRESS ON FILE
COLON ORTIZ, MARIA M           ADDRESS ON FILE
COLON ORTIZ, MARIA M           ADDRESS ON FILE
COLON ORTIZ, MARIA Y.          ADDRESS ON FILE
COLON ORTIZ, MARIBEL           ADDRESS ON FILE
COLON ORTIZ, MARICELY          ADDRESS ON FILE
COLON ORTIZ, MAYRA             ADDRESS ON FILE
Colon Ortiz, Melissa           ADDRESS ON FILE
COLON ORTIZ, MICHAEL A.        ADDRESS ON FILE
COLON ORTIZ, MICHELLE          ADDRESS ON FILE
COLON ORTIZ, MICHELLE          ADDRESS ON FILE
COLON ORTIZ, MIGUEL            ADDRESS ON FILE
COLON ORTIZ, MIGUEL            ADDRESS ON FILE
COLON ORTIZ, MIGUEL            ADDRESS ON FILE
Colon Ortiz, Miguel A          ADDRESS ON FILE
COLON ORTIZ, MIRELLY           ADDRESS ON FILE
COLON ORTIZ, MIRELLY           ADDRESS ON FILE
COLON ORTIZ, MIRTALISSA        ADDRESS ON FILE
COLON ORTIZ, NADENE            ADDRESS ON FILE
COLON ORTIZ, NEIZZETTE         ADDRESS ON FILE
COLON ORTIZ, NELLY J           ADDRESS ON FILE
COLON ORTIZ, NELSON            ADDRESS ON FILE
COLON ORTIZ, NELSON            ADDRESS ON FILE
COLON ORTIZ, NEREYDA           ADDRESS ON FILE
Colon Ortiz, Nestor            ADDRESS ON FILE
COLON ORTIZ, NIDIA L.          ADDRESS ON FILE
COLON ORTIZ, NIDIA LUZ         ADDRESS ON FILE
COLON ORTIZ, NOEMI             ADDRESS ON FILE
COLON ORTIZ, NORMA             ADDRESS ON FILE
COLON ORTIZ, NORMA I           ADDRESS ON FILE
COLON ORTIZ, NORMA I           ADDRESS ON FILE
COLON ORTIZ, ONEL              ADDRESS ON FILE
COLON ORTIZ, OSWALDO           ADDRESS ON FILE
COLON ORTIZ, PASCUAL           ADDRESS ON FILE
COLON ORTIZ, PEDRO             ADDRESS ON FILE
COLON ORTIZ, RAFAEL            ADDRESS ON FILE
COLON ORTIZ, RAFAEL            ADDRESS ON FILE
COLON ORTIZ, RAMON             ADDRESS ON FILE
COLON ORTIZ, RAMON             ADDRESS ON FILE
COLON ORTIZ, RANDOLFO          ADDRESS ON FILE
COLON ORTIZ, RAYMOND           ADDRESS ON FILE
Colon Ortiz, Ricardo           ADDRESS ON FILE
Colon Ortiz, Richard           ADDRESS ON FILE
COLON ORTIZ, ROBERT            ADDRESS ON FILE
COLON ORTIZ, ROBERT            ADDRESS ON FILE
COLON ORTIZ, ROBERTO L.        ADDRESS ON FILE
COLON ORTIZ, ROSA A.           ADDRESS ON FILE
COLON ORTIZ, ROSALIN           ADDRESS ON FILE
Colon Ortiz, Ruben             ADDRESS ON FILE
COLON ORTIZ, RUTH              ADDRESS ON FILE
COLON ORTIZ, SHEYLA M          ADDRESS ON FILE
COLON ORTIZ, SHEYRA J.         ADDRESS ON FILE
COLON ORTIZ, SONIA             ADDRESS ON FILE
COLON ORTIZ, SOR Y.            ADDRESS ON FILE




                                                                           Page 1663 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1664 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ORTIZ, SUE V          ADDRESS ON FILE
COLON ORTIZ, TAINA          ADDRESS ON FILE
COLON ORTIZ, TOMASA         ADDRESS ON FILE
COLON ORTIZ, VANESSA        ADDRESS ON FILE
Colon Ortiz, Vanessa        ADDRESS ON FILE
COLON ORTIZ, VICTOR         ADDRESS ON FILE
COLON ORTIZ, VIRNA L        ADDRESS ON FILE
COLON ORTIZ, WILFREDO       ADDRESS ON FILE
COLON ORTIZ, WILMARY        ADDRESS ON FILE
COLON ORTIZ, WILSON         ADDRESS ON FILE
COLON ORTIZ, WILVELYS       ADDRESS ON FILE
COLON ORTIZ, YADIRA I       ADDRESS ON FILE
COLON ORTIZ, YALECH M.      ADDRESS ON FILE
COLON ORTIZ, ZILKIA L.      ADDRESS ON FILE
COLON ORTIZ, ZOEL           ADDRESS ON FILE
COLON ORTIZ, ZOILO          ADDRESS ON FILE
COLON ORTIZ, ZORYBELL       ADDRESS ON FILE
COLON OSORIO, ALEX          ADDRESS ON FILE
COLON OSORIO, LUIS          ADDRESS ON FILE
COLON OSORIO, RAMON         ADDRESS ON FILE
COLON OSORIO, RAMON         ADDRESS ON FILE
COLON OSORIO, ZWELKYS       ADDRESS ON FILE
COLON OSTOLAZA, ALMA L      ADDRESS ON FILE
COLON OSTOLAZA, JOSLY       ADDRESS ON FILE
COLON OTERO, ALBERTO        ADDRESS ON FILE
Colon Otero, Alberto        ADDRESS ON FILE
COLON OTERO, ANA M          ADDRESS ON FILE
COLON OTERO, ANGEL          ADDRESS ON FILE
COLON OTERO, ANGEL J.       ADDRESS ON FILE
COLON OTERO, BRENDA         ADDRESS ON FILE
COLON OTERO, CARLOS A       ADDRESS ON FILE
COLON OTERO, DEBORAH        ADDRESS ON FILE
COLON OTERO, EDGAR          ADDRESS ON FILE
COLON OTERO, ELIZABETH      ADDRESS ON FILE
COLON OTERO, FRANCES        ADDRESS ON FILE
COLON OTERO, GILBERTO       ADDRESS ON FILE
COLON OTERO, HERIBERTO      ADDRESS ON FILE
COLON OTERO, IVAN           ADDRESS ON FILE
COLON OTERO, JESSICA        ADDRESS ON FILE
COLON OTERO, JOAN           ADDRESS ON FILE
COLON OTERO, JOANNIE        ADDRESS ON FILE
COLON OTERO, JOHANNA        ADDRESS ON FILE
COLON OTERO, JOSE           ADDRESS ON FILE
COLON OTERO, JUAN C.        ADDRESS ON FILE
COLON OTERO, JULIO          ADDRESS ON FILE
COLON OTERO, LUIS J         ADDRESS ON FILE
COLON OTERO, MARGARITA      ADDRESS ON FILE
COLON OTERO, MARGIE         ADDRESS ON FILE
COLON OTERO, MARIA          ADDRESS ON FILE
COLON OTERO, MARIA          ADDRESS ON FILE
COLON OTERO, MARIA A.       ADDRESS ON FILE
COLON OTERO, MAYRA INES     ADDRESS ON FILE
COLON OTERO, MAYRA IVETTE   ADDRESS ON FILE
COLON OTERO, MIRNA          ADDRESS ON FILE
COLON OTERO, MOISES         ADDRESS ON FILE
COLON OTERO, MYRNA L        ADDRESS ON FILE
COLON OTERO, NILDA R        ADDRESS ON FILE
COLON OTERO, NILSA Y        ADDRESS ON FILE
COLON OTERO, ROLANDO        ADDRESS ON FILE
COLON OTERO, ROSA           ADDRESS ON FILE




                                                                        Page 1664 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1665 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON OTERO, TERESA        ADDRESS ON FILE
COLON OTERO, TERESA        ADDRESS ON FILE
COLON OTERO, VICTOR        ADDRESS ON FILE
COLON OTERO, VICTOR        ADDRESS ON FILE
COLON OTERO, WILLA A       ADDRESS ON FILE
COLON OYOLA, DESIRRE       ADDRESS ON FILE
COLON OYOLA, JENNETTE V    ADDRESS ON FILE
COLON OYOLA, MYRIAM D      ADDRESS ON FILE
COLON OYOLA, NILSA I       ADDRESS ON FILE
COLON PABON, ANA M         ADDRESS ON FILE
COLON PABON, DIANNE        ADDRESS ON FILE
Colon Pabon, Efrain        ADDRESS ON FILE
COLON PABON, LESLIE        ADDRESS ON FILE
COLON PABON, LILLIAN D     ADDRESS ON FILE
COLON PABON, LUDGERIA J    ADDRESS ON FILE
COLON PABON, NORBERTO      ADDRESS ON FILE
COLON PABON, RHODIAH D     ADDRESS ON FILE
COLON PABON,CARLOS R.      ADDRESS ON FILE
COLON PACHECO, MIGUEL      ADDRESS ON FILE
COLON PADILLA MD, JUAN     ADDRESS ON FILE
COLON PADILLA, ARCIDES     ADDRESS ON FILE
COLON PADILLA, BETSY       ADDRESS ON FILE
COLON PADILLA, CARLOS      ADDRESS ON FILE
COLON PADILLA, CARMEN      ADDRESS ON FILE
COLON PADILLA, CARMEN L    ADDRESS ON FILE
COLON PADILLA, FELIX       ADDRESS ON FILE
COLON PADILLA, GLADYS M    ADDRESS ON FILE
COLON PADILLA, IRIS N.     ADDRESS ON FILE
COLON PADILLA, LUCIA A     ADDRESS ON FILE
COLON PADILLA, LUIS        ADDRESS ON FILE
COLON PADILLA, MARITZA     ADDRESS ON FILE
COLON PADILLA, OLGA        ADDRESS ON FILE
COLON PADILLA, ROSA M      ADDRESS ON FILE
COLON PADIN, NILSA         ADDRESS ON FILE
COLON PADRO, MARILIA       ADDRESS ON FILE
COLON PAGAN MD, JUAN R     ADDRESS ON FILE
COLON PAGAN, AIDA          ADDRESS ON FILE
COLON PAGAN, AIDA          ADDRESS ON FILE
COLON PAGAN, ANABELLE      ADDRESS ON FILE
COLON PAGAN, ANGIE         ADDRESS ON FILE
Colon Pagan, Brenda M      ADDRESS ON FILE
COLON PAGAN, CARLOS        ADDRESS ON FILE
COLON PAGAN, CARMEN D      ADDRESS ON FILE
COLON PAGAN, CHRISTOPHER   ADDRESS ON FILE
COLON PAGAN, CRISTIAN      ADDRESS ON FILE
COLON PAGAN, CRUZ M.       ADDRESS ON FILE
COLON PAGAN, CYNTHIA       ADDRESS ON FILE
Colon Pagan, Damaris       ADDRESS ON FILE
COLON PAGAN, DELIA         ADDRESS ON FILE
COLON PAGAN, DENISSE M     ADDRESS ON FILE
COLON PAGAN, EDGAR         ADDRESS ON FILE
COLON PAGAN, EDWIN         ADDRESS ON FILE
COLON PAGAN, ERICK         ADDRESS ON FILE
COLON PAGAN, GUILLERMO     ADDRESS ON FILE
COLON PAGAN, HERIBERTO     ADDRESS ON FILE
COLON PAGAN, HILDA E       ADDRESS ON FILE
COLON PAGAN, HUMBERTO      ADDRESS ON FILE
COLON PAGAN, INGRID        ADDRESS ON FILE
COLON PAGAN, INGRID Y      ADDRESS ON FILE
COLON PAGAN, ISABEL        ADDRESS ON FILE




                                                                       Page 1665 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1666 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON PAGAN, JAYSON           ADDRESS ON FILE
COLON PAGAN, JENNIE           ADDRESS ON FILE
COLON PAGAN, JENNIFER         ADDRESS ON FILE
COLON PAGAN, JESUS            ADDRESS ON FILE
COLON PAGAN, JESUS A          ADDRESS ON FILE
COLON PAGAN, JOSUE            ADDRESS ON FILE
COLON PAGAN, JUAN C           ADDRESS ON FILE
COLON PAGAN, JULIO            ADDRESS ON FILE
COLON PAGAN, KAREN M          ADDRESS ON FILE
COLON PAGAN, LEONARDO         ADDRESS ON FILE
COLON PAGAN, LUIS A           ADDRESS ON FILE
COLON PAGAN, LUZ M            ADDRESS ON FILE
COLON PAGAN, MARIA N          ADDRESS ON FILE
COLON PAGAN, MARIBEL          ADDRESS ON FILE
COLON PAGAN, MARTIN           ADDRESS ON FILE
COLON PAGAN, NOE              ADDRESS ON FILE
COLON PAGAN, NOEMY            ADDRESS ON FILE
COLON PAGAN, ONIX             ADDRESS ON FILE
COLON PAGAN, RAY              ADDRESS ON FILE
COLON PAGAN, ROSALINA         ADDRESS ON FILE
COLON PAGAN, SARAHI           ADDRESS ON FILE
COLON PAGAN, VIVIANA          ADDRESS ON FILE
COLON PAGAN, VIVIANA          ADDRESS ON FILE
COLON PAGAN, WILBERTO         ADDRESS ON FILE
COLON PAGAN, ZULEIKA EUNICE   ADDRESS ON FILE
COLON PAK, JORGE              ADDRESS ON FILE
COLON PAK, NELIDA             ADDRESS ON FILE
COLON PANETO, FRANCHESKA      ADDRESS ON FILE
COLON PARES, IVELISE          ADDRESS ON FILE
COLON PARES, JUAN             ADDRESS ON FILE
COLON PARRILLA, FORTUNATO     ADDRESS ON FILE
COLON PARRILLA, FORTUNATO     ADDRESS ON FILE
COLON PARRILLA, OMAR          ADDRESS ON FILE
COLON PARRILLA, ROSA V        ADDRESS ON FILE
COLON PARSON, BARBARA         ADDRESS ON FILE
COLON PASARELL, RENE A.       ADDRESS ON FILE
Colon Pastrana, Angel M       ADDRESS ON FILE
COLON PASTRANA, IVANETTE      ADDRESS ON FILE
COLON PAUNETO, JAIRENNE       ADDRESS ON FILE
COLON PAUNETO, JAIRENNE B     ADDRESS ON FILE
COLON PAUNETO, JANEIMEE       ADDRESS ON FILE
COLON PEDRAZA, MYRNA          ADDRESS ON FILE
COLON PEDRAZA, RAFAEL         ADDRESS ON FILE
Colon Pedrogo, Julio Juan     ADDRESS ON FILE
Colon Pellot, Luis A          ADDRESS ON FILE
COLON PELLOT, SILVIA          ADDRESS ON FILE
COLON PENA & ASSOCIATE INC    PO BOX 52238                                                                     TOA BAJA     PR      00950‐2238
COLON PEÑA MD, ARISTIDES      ADDRESS ON FILE
COLON PENA, ARISTIDES         ADDRESS ON FILE
COLON PENA, ARISTIDES         ADDRESS ON FILE
Colon Pena, Arlene Indira     ADDRESS ON FILE
COLON PENA, BENJAMIN          ADDRESS ON FILE
COLON PENA, CHRISTIA          ADDRESS ON FILE
COLON PENA, EDUARDO           ADDRESS ON FILE
COLON PENA, FELIX M           ADDRESS ON FILE
COLON PENA, FERNANDO V        ADDRESS ON FILE
COLON PENA, IVELISSE          ADDRESS ON FILE
COLON PENA, JESSELLE          ADDRESS ON FILE
Colon Pena, Juan A            ADDRESS ON FILE
COLON PENA, KEILA             ADDRESS ON FILE




                                                                          Page 1666 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1667 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON PENA, OBIE            ADDRESS ON FILE
COLON PENALBERT, MARIBEL    ADDRESS ON FILE
COLON PENALBERT, ROSAEL     ADDRESS ON FILE
COLON PENALBERT, ROSAEL     ADDRESS ON FILE
COLON PERALES, LUIS A       ADDRESS ON FILE
COLON PEREIDA,JORGE L.      ADDRESS ON FILE
COLON PEREIRA, CARLOS       ADDRESS ON FILE
COLON PEREIRA, CARLOS       ADDRESS ON FILE
COLON PEREIRA, FAUSTINA     ADDRESS ON FILE
COLON PEREZ MD, ANDRES      ADDRESS ON FILE
COLON PEREZ MD, BENEDICTO   ADDRESS ON FILE
COLON PEREZ MD, ROLANDO     ADDRESS ON FILE
COLON PEREZ, ALBA I         ADDRESS ON FILE
COLON PEREZ, ALBERTO        ADDRESS ON FILE
Colon Perez, Alberto L      ADDRESS ON FILE
COLON PEREZ, ALMA R         ADDRESS ON FILE
COLON PEREZ, AMERICO        ADDRESS ON FILE
COLON PEREZ, ANA DEL        ADDRESS ON FILE
COLON PEREZ, ANA R          ADDRESS ON FILE
COLON PEREZ, ANDRES         ADDRESS ON FILE
COLON PEREZ, ANGEL          ADDRESS ON FILE
COLON PEREZ, ANGEL A.       ADDRESS ON FILE
COLON PEREZ, ANGEL L        ADDRESS ON FILE
Colon Perez, Angel L        ADDRESS ON FILE
COLON PEREZ, ANTONIA        ADDRESS ON FILE
COLON PEREZ, AXEL           ADDRESS ON FILE
COLON PEREZ, BELITZA Y      ADDRESS ON FILE
COLON PEREZ, CARLOS A.      ADDRESS ON FILE
COLON PEREZ, CARMELO        ADDRESS ON FILE
COLON PEREZ, CARMEN         ADDRESS ON FILE
COLON PEREZ, CARMEN         ADDRESS ON FILE
COLON PEREZ, CARMEN C.      ADDRESS ON FILE
COLON PEREZ, CARMEN M.      ADDRESS ON FILE
COLON PEREZ, DIALITZA       ADDRESS ON FILE
COLON PEREZ, DIEGO          ADDRESS ON FILE
COLON PEREZ, EDDA I         ADDRESS ON FILE
COLON PEREZ, EDWIN          ADDRESS ON FILE
Colon Perez, Edwin J.       ADDRESS ON FILE
COLON PEREZ, ELIDES         ADDRESS ON FILE
COLON PEREZ, ELIEZER        ADDRESS ON FILE
COLON PEREZ, ELVIN          ADDRESS ON FILE
COLON PEREZ, EMELYS         ADDRESS ON FILE
COLON PEREZ, EMMA M         ADDRESS ON FILE
COLON PEREZ, ERIDANIA       ADDRESS ON FILE
Colon Perez, Ernesto        ADDRESS ON FILE
COLON PEREZ, ESTEBAN        ADDRESS ON FILE
COLON PEREZ, FERNANDO       ADDRESS ON FILE
COLON PEREZ, FRANCESCA      ADDRESS ON FILE
COLON PEREZ, GRACE M        ADDRESS ON FILE
COLON PEREZ, GUILLERMO      ADDRESS ON FILE
COLON PEREZ, GUILLERMO      ADDRESS ON FILE
COLON PEREZ, GUILLERMO      ADDRESS ON FILE
COLON PEREZ, HILDA          ADDRESS ON FILE
COLON PEREZ, INES           ADDRESS ON FILE
COLON PEREZ, IRIS M.        ADDRESS ON FILE
COLON PEREZ, IRMA N         ADDRESS ON FILE
COLON PEREZ, IVETTE         ADDRESS ON FILE
COLON PEREZ, JAIME          ADDRESS ON FILE
COLON PEREZ, JAMIR          ADDRESS ON FILE
COLON PEREZ, JANET          ADDRESS ON FILE




                                                                        Page 1667 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1668 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON PEREZ, JESSENIA            ADDRESS ON FILE
COLON PEREZ, JESSENIA            ADDRESS ON FILE
COLON PEREZ, JESUS               ADDRESS ON FILE
COLON PEREZ, JORGE               ADDRESS ON FILE
COLON PEREZ, JORGE               ADDRESS ON FILE
COLON PEREZ, JORGE A.            ADDRESS ON FILE
COLON PEREZ, JOSE                ADDRESS ON FILE
COLON PEREZ, JOSE                ADDRESS ON FILE
COLON PEREZ, JOSE                ADDRESS ON FILE
COLON PEREZ, JOSE                ADDRESS ON FILE
Colon Perez, Jose A              ADDRESS ON FILE
COLON PEREZ, JOSE E              ADDRESS ON FILE
Colon Perez, Jose M              ADDRESS ON FILE
COLON PEREZ, JOSE R              ADDRESS ON FILE
COLON PEREZ, JUAN                ADDRESS ON FILE
COLON PEREZ, JUAN                ADDRESS ON FILE
COLON PEREZ, JUAN                ADDRESS ON FILE
COLON PEREZ, JUAN                ADDRESS ON FILE
Colon Perez, Juan F              ADDRESS ON FILE
COLON PEREZ, JUAN F.             ADDRESS ON FILE
Colon Perez, Juan L.             ADDRESS ON FILE
COLON PEREZ, JUAN M              ADDRESS ON FILE
COLON PEREZ, JULIO A             ADDRESS ON FILE
COLON PEREZ, JUSTINA             ADDRESS ON FILE
COLON PEREZ, KEYLA               ADDRESS ON FILE
COLON PEREZ, LETICIA             ADDRESS ON FILE
COLON PEREZ, LILLY I             ADDRESS ON FILE
COLON PEREZ, LISAMINELLY         ADDRESS ON FILE
COLON PEREZ, LYMARIE             ADDRESS ON FILE
COLON PEREZ, MANUEL              ADDRESS ON FILE
COLON PEREZ, MANUEL              ADDRESS ON FILE
COLON PEREZ, MANUEL E.           ADDRESS ON FILE
COLON PEREZ, MARIA A             ADDRESS ON FILE
COLON PEREZ, MARIA DE L          ADDRESS ON FILE
Colon Perez, Maria Socorro       ADDRESS ON FILE
COLON PEREZ, MARIBEL             ADDRESS ON FILE
COLON PEREZ, MARIELIS            ADDRESS ON FILE
COLON PEREZ, MARISSA DE LOS A.   ADDRESS ON FILE
COLON PEREZ, MAYRA L             ADDRESS ON FILE
Colon Perez, Melvin              ADDRESS ON FILE
COLON PEREZ, MELVIN              ADDRESS ON FILE
COLON PEREZ, MICHELLE            ADDRESS ON FILE
COLON PEREZ, MICHELLE            ADDRESS ON FILE
COLON PEREZ, MICHELLE            ADDRESS ON FILE
COLON PEREZ, MIGUEL              ADDRESS ON FILE
Colon Perez, Milton              ADDRESS ON FILE
COLON PEREZ, MIRIAM              ADDRESS ON FILE
COLON PEREZ, MIRIAM              ADDRESS ON FILE
COLON PEREZ, NITZA D             ADDRESS ON FILE
COLON PEREZ, NOEL                ADDRESS ON FILE
COLON PEREZ, NOELYS              ADDRESS ON FILE
COLON PEREZ, NOEMI               ADDRESS ON FILE
COLON PEREZ, NORMA I             ADDRESS ON FILE
COLON PEREZ, OLGA                ADDRESS ON FILE
COLON PEREZ, PEDRO               ADDRESS ON FILE
COLON PEREZ, RAFAEL              ADDRESS ON FILE
COLON PEREZ, RAFAEL              ADDRESS ON FILE
COLON PEREZ, RAMON A             ADDRESS ON FILE
COLON PEREZ, REBECA M            ADDRESS ON FILE
COLON PEREZ, REBECA MILAGROS     ADDRESS ON FILE




                                                                             Page 1668 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1669 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
Colon Perez, Ricardo          ADDRESS ON FILE
COLON PEREZ, RICARDO          ADDRESS ON FILE
COLON PEREZ, ROSA             ADDRESS ON FILE
COLON PEREZ, ROSANY           ADDRESS ON FILE
COLON PEREZ, ROSE M.          ADDRESS ON FILE
Colon Perez, Ruben A          ADDRESS ON FILE
COLON PEREZ, SHEILA           ADDRESS ON FILE
COLON PEREZ, VICTOR F         ADDRESS ON FILE
COLON PEREZ, VICTOR M         ADDRESS ON FILE
COLON PEREZ, VIVIANA          ADDRESS ON FILE
COLON PEREZ, WILFREDO         ADDRESS ON FILE
COLON PEREZ, WILSON           ADDRESS ON FILE
COLON PEREZ, YAILIENNE        ADDRESS ON FILE
COLON PEREZ,NEPHTALI          ADDRESS ON FILE
COLON PICA, CARLOS            ADDRESS ON FILE
COLON PICA, LUIS              ADDRESS ON FILE
COLON PICA, LUIS D            ADDRESS ON FILE
COLON PICART, BENJAMIN        ADDRESS ON FILE
COLON PIERETTI, DALIDIA       ADDRESS ON FILE
COLON PIMENTEL, CARMEN M      ADDRESS ON FILE
COLON PINEDA, NEYSHLA         ADDRESS ON FILE
Colon Pineiro, Francisco      ADDRESS ON FILE
COLON PINEIRO, MARTA A        ADDRESS ON FILE
COLON PINEIRO, ROBERTO        ADDRESS ON FILE
COLON PINO, NILDA ROSA        ADDRESS ON FILE
COLON PINTADO, DALILA         ADDRESS ON FILE
COLON PINTADO, GLADYS         ADDRESS ON FILE
COLON PIQEIRO, WILFREDO       ADDRESS ON FILE
COLON PITRE, MARIBEL          ADDRESS ON FILE
COLON PIZARRO, IVELISSE       ADDRESS ON FILE
COLON PIZARRO, LUZ M          ADDRESS ON FILE
Colon Pizarro, Rafael         ADDRESS ON FILE
COLON PIZARRO, SAMUEL         ADDRESS ON FILE
COLON PIZARRO, YARITZA        ADDRESS ON FILE
COLON PIZZINI, NORAIDA        ADDRESS ON FILE
COLON PLACERES, SONIA         ADDRESS ON FILE
COLON PLATA, MILAGROS         ADDRESS ON FILE
COLON PLAZA, IRIS V.          ADDRESS ON FILE
COLON PLAZA, NELIDA           ADDRESS ON FILE
COLON POL, ANGEL J            ADDRESS ON FILE
COLON POL, YANICE             ADDRESS ON FILE
COLON POLANCO, EMMANUEL       ADDRESS ON FILE
COLON POMALES, JUAN           ADDRESS ON FILE
COLON POMALES, MARIA DEL CA   ADDRESS ON FILE
COLON POMALES, NEISHLA        ADDRESS ON FILE
COLON POMALES, WITREMUNDO     ADDRESS ON FILE
COLON PONCE, JOSE             ADDRESS ON FILE
COLON PONCE, ROSSAEL          ADDRESS ON FILE
COLON PONS, JEAN PAUL         ADDRESS ON FILE
COLON PORTALATIN, HECTOR L    ADDRESS ON FILE
COLON POSADA, ANADELL         ADDRESS ON FILE
COLON POVENTUD, MARGARITA     ADDRESS ON FILE
COLON PRATS, ANGEL L          ADDRESS ON FILE
COLON PRATTAS & ASOCIADOS     PO BOX 498                                                                       SAN SEBASTIAN     PR      00685
COLON QUESADA, ALEXIS         ADDRESS ON FILE
COLON QUETGLAS MD, EDWARD W   ADDRESS ON FILE
COLON QUILES, CARMEM          ADDRESS ON FILE
COLON QUILES, GABRIEL         ADDRESS ON FILE
COLON QUILES, JACOB           ADDRESS ON FILE
COLON QUILES, KATHERINE       ADDRESS ON FILE




                                                                          Page 1669 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1670 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON QUILES, MARLENE              ADDRESS ON FILE
COLON QUILES, MIGUELINA            ADDRESS ON FILE
COLON QUILES, RAFAEL               ADDRESS ON FILE
COLON QUILES,JUDITH E.             ADDRESS ON FILE
COLON QUINONES LEGAL SERVICE PSC   HILL MANSIONS             BA 19 CALLE 60                                         SAN JUAN     PR      00926
COLON QUINONES, AIDA L             ADDRESS ON FILE
Colon Quinones, Alfredo            ADDRESS ON FILE
COLON QUINONES, BRENDA I.          ADDRESS ON FILE
COLON QUINONES, CARLOS             ADDRESS ON FILE
COLON QUINONES, HRIDAYA            ADDRESS ON FILE
COLON QUINONES, LUIS E.            ADDRESS ON FILE
COLON QUINONES, LUIS E.            ADDRESS ON FILE
COLON QUINONES, MARIA              ADDRESS ON FILE
COLON QUINONES, MARINELI           ADDRESS ON FILE
COLON QUINONES, MIRIAM             ADDRESS ON FILE
COLON QUINONES, ROBERTO            ADDRESS ON FILE
COLON QUINONES, SANTOS             ADDRESS ON FILE
COLON QUINONES, SONIA N            ADDRESS ON FILE
COLON QUINONES, TOMASA             ADDRESS ON FILE
COLON QUINONES, VIKLYA             ADDRESS ON FILE
COLON QUINONES, WILLIAM J.         ADDRESS ON FILE
COLON QUINONEZ, ANA                ADDRESS ON FILE
COLON QUINONEZ, CARLOS             ADDRESS ON FILE
COLON QUINONEZ, LUIS A.            ADDRESS ON FILE
COLON QUINONEZ, ROBERTO            ADDRESS ON FILE
COLON QUINONEZ, SHANTY             ADDRESS ON FILE
COLON QUINTANA, CARLOS             ADDRESS ON FILE
COLON QUINTANA, DEILIS             ADDRESS ON FILE
COLON QUINTANA, IVELISSE C.        ADDRESS ON FILE
Colon Quintana, Juan M.            ADDRESS ON FILE
COLON QUINTANA, MELBA              ADDRESS ON FILE
COLON QUINTERO, JAIME              ADDRESS ON FILE
COLON QUINTERO, NEREIDA            ADDRESS ON FILE
COLON QUIROS, HECTOR               ADDRESS ON FILE
COLON RAICES, AXEL                 ADDRESS ON FILE
COLON RAICES, GLORIA I             ADDRESS ON FILE
COLON RAMIREZ, AIDA                ADDRESS ON FILE
COLON RAMIREZ, ANGEL R             ADDRESS ON FILE
COLON RAMIREZ, ANTONIO             ADDRESS ON FILE
COLON RAMIREZ, CARLOS F            ADDRESS ON FILE
COLON RAMIREZ, CHRISTIAN           ADDRESS ON FILE
COLON RAMIREZ, CRUZ E              ADDRESS ON FILE
COLON RAMIREZ, DIANE               ADDRESS ON FILE
COLON RAMIREZ, EDGARDO             ADDRESS ON FILE
COLON RAMIREZ, EDWIN               ADDRESS ON FILE
COLON RAMIREZ, EMETERIO            ADDRESS ON FILE
COLON RAMIREZ, HECTOR              ADDRESS ON FILE
COLON RAMIREZ, HECTOR S            ADDRESS ON FILE
COLON RAMIREZ, HILDA               ADDRESS ON FILE
COLON RAMIREZ, JESSICA M           ADDRESS ON FILE
COLON RAMIREZ, JOSEPH              ADDRESS ON FILE
COLON RAMIREZ, LEOCADIA            ADDRESS ON FILE
Colón Ramírez, Lesiram             ADDRESS ON FILE
COLON RAMIREZ, LUIS                ADDRESS ON FILE
COLON RAMIREZ, LUIS A              ADDRESS ON FILE
COLON RAMIREZ, LUZ I               ADDRESS ON FILE
COLON RAMIREZ, LUZ M               ADDRESS ON FILE
COLON RAMIREZ, LYDIA I             ADDRESS ON FILE
COLON RAMIREZ, MADELINE            ADDRESS ON FILE
COLON RAMIREZ, MARIA L             ADDRESS ON FILE




                                                                               Page 1670 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1671 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RAMIREZ, NORBERTO     ADDRESS ON FILE
COLON RAMIREZ, NORBERTO     ADDRESS ON FILE
COLON RAMIREZ, OSVALDO      ADDRESS ON FILE
COLON RAMIREZ, ROSA M       ADDRESS ON FILE
COLON RAMIREZ, WALDEMAR     ADDRESS ON FILE
COLON RAMOS MD, SIMON       ADDRESS ON FILE
COLON RAMOS, AIDA E         ADDRESS ON FILE
COLON RAMOS, AIXA I         ADDRESS ON FILE
COLON RAMOS, ALBERT         ADDRESS ON FILE
COLON RAMOS, ANA FELICITA   ADDRESS ON FILE
COLON RAMOS, ANA M          ADDRESS ON FILE
Colon Ramos, Ana R          ADDRESS ON FILE
COLON RAMOS, ANGEL JOEL     ADDRESS ON FILE
COLON RAMOS, ANGEL M        ADDRESS ON FILE
COLON RAMOS, ANTONIA        ADDRESS ON FILE
COLON RAMOS, ARACELIS       ADDRESS ON FILE
COLON RAMOS, ASTRID         ADDRESS ON FILE
COLON RAMOS, ASTRID         ADDRESS ON FILE
COLON RAMOS, ASUNCION       ADDRESS ON FILE
COLON RAMOS, BARBARA        ADDRESS ON FILE
COLON RAMOS, BRENDA         ADDRESS ON FILE
COLON RAMOS, CARLOS         ADDRESS ON FILE
COLON RAMOS, CARLOS         ADDRESS ON FILE
COLON RAMOS, CARMEN D       ADDRESS ON FILE
COLON RAMOS, CARMEN I       ADDRESS ON FILE
COLON RAMOS, CARMEN L       ADDRESS ON FILE
COLON RAMOS, CARMEN N.      ADDRESS ON FILE
COLON RAMOS, CELESTINA      ADDRESS ON FILE
COLON RAMOS, CLARIBEL       ADDRESS ON FILE
COLON RAMOS, DAISY E        ADDRESS ON FILE
COLON RAMOS, EDGARDO        ADDRESS ON FILE
COLON RAMOS, EDNA R         ADDRESS ON FILE
COLON RAMOS, EDWARD         ADDRESS ON FILE
COLON RAMOS, EDWARD         ADDRESS ON FILE
COLON RAMOS, EMELYN         ADDRESS ON FILE
COLON RAMOS, EVA            ADDRESS ON FILE
COLON RAMOS, EVA E          ADDRESS ON FILE
COLON RAMOS, EVELYN         ADDRESS ON FILE
COLON RAMOS, FELICIANA      ADDRESS ON FILE
Colon Ramos, Felix          ADDRESS ON FILE
COLON RAMOS, GLORIA         ADDRESS ON FILE
COLON RAMOS, GLORIA         ADDRESS ON FILE
COLON RAMOS, IRIS D         ADDRESS ON FILE
COLON RAMOS, IRIS Y         ADDRESS ON FILE
COLON RAMOS, JANNET         ADDRESS ON FILE
COLON RAMOS, JAVIER         ADDRESS ON FILE
COLON RAMOS, JENNY          ADDRESS ON FILE
COLON RAMOS, JODETH D       ADDRESS ON FILE
COLON RAMOS, JOHARY         ADDRESS ON FILE
COLON RAMOS, JORGE          ADDRESS ON FILE
COLON RAMOS, JORGE          ADDRESS ON FILE
COLON RAMOS, JORGE L        ADDRESS ON FILE
COLON RAMOS, JOSE           ADDRESS ON FILE
COLON RAMOS, JOSE           ADDRESS ON FILE
COLON RAMOS, JUDITH         ADDRESS ON FILE
COLON RAMOS, KAREN          ADDRESS ON FILE
COLON RAMOS, LYDIA E.       ADDRESS ON FILE
COLON RAMOS, MADELINE       ADDRESS ON FILE
COLON RAMOS, MARGARITA      ADDRESS ON FILE
COLON RAMOS, MARIA          ADDRESS ON FILE




                                                                        Page 1671 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1672 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                       Address2                    Address3   Address4   City         State   PostalCode   Country
COLON RAMOS, MARIA DE         ADDRESS ON FILE
Colon Ramos, Maria De L       ADDRESS ON FILE
COLON RAMOS, MARIBEL          ADDRESS ON FILE
COLON RAMOS, MARIELIS         ADDRESS ON FILE
COLON RAMOS, MARILYN          ADDRESS ON FILE
COLON RAMOS, MAYRA            ADDRESS ON FILE
COLON RAMOS, MERCEDES         ADDRESS ON FILE
COLON RAMOS, MIGUEL           ADDRESS ON FILE
COLON RAMOS, MIRTA            ADDRESS ON FILE
COLON RAMOS, NELSON           ADDRESS ON FILE
Colon Ramos, Noel             ADDRESS ON FILE
COLON RAMOS, NYDIA MILAGROS   ADDRESS ON FILE
COLON RAMOS, ORLANDO          ADDRESS ON FILE
COLON RAMOS, ORLANDO          ADDRESS ON FILE
COLON RAMOS, PABLO            ADDRESS ON FILE
COLON RAMOS, RUBEN            ADDRESS ON FILE
COLON RAMOS, SAMUEL           ADDRESS ON FILE
COLON RAMOS, SANDRA N.        ADDRESS ON FILE
COLON RAMOS, TITO             ADDRESS ON FILE
COLON RAMOS, WILFREDO         ADDRESS ON FILE
COLON RAMOS, WILLIAM          ADDRESS ON FILE
COLON RAMOS, YAIRA            ADDRESS ON FILE
COLON RAMOS, YARITZA          ADDRESS ON FILE
COLON RAPALES, JOHANNA        ADDRESS ON FILE
COLON RAPALES, JOHANNA L      ADDRESS ON FILE
COLON RENTAS, DORCA           ADDRESS ON FILE
COLON RENTAS, ELBA N          ADDRESS ON FILE
COLON RENTAS, HECTOR          ADDRESS ON FILE
COLON RENTAS, ILEANA          ADDRESS ON FILE
COLON RENTAS, IRIS E          ADDRESS ON FILE
COLON RENTAS, ISMAEL          ADDRESS ON FILE
COLON RENTAS, ISMAEL          ADDRESS ON FILE
COLON RENTAS, JORGE           ADDRESS ON FILE
COLON RENTAS, LOURDES         ADDRESS ON FILE
COLON RENTAS, VICTOR          ADDRESS ON FILE
COLON REPOLLET, VIRGEN C.     ADDRESS ON FILE
COLON REQUEJO, MARANGELI      ADDRESS ON FILE
COLON REQUEJO, MARANYELI      ADDRESS ON FILE
COLON REQUEJO, WILFREDO       ADDRESS ON FILE
COLON RESTAURANT SUPPLIES     4007 CALLEL CARLOS CARTAGENA                                                     PONCE        PR      00717
COLON RESTO, CARMEN           ADDRESS ON FILE
Colon Resto, Emanuel          ADDRESS ON FILE
COLON RESTO, MARIEL I         ADDRESS ON FILE
Colon Resto, Natividad        ADDRESS ON FILE
COLON RESTO, NELSON           ADDRESS ON FILE
COLON RESTO, ROSA M           ADDRESS ON FILE
COLON REXACH, DHARMA A        ADDRESS ON FILE
COLON REXACH, LOURDES         ADDRESS ON FILE
COLON REYES, ALBERTO          ADDRESS ON FILE
COLON REYES, ALBERTO          ADDRESS ON FILE
COLON REYES, ANA L            ADDRESS ON FILE
COLON REYES, ANGEL            ADDRESS ON FILE
COLON REYES, CARMEN ANA       ADDRESS ON FILE
COLON REYES, CARMEN E         ADDRESS ON FILE
COLON REYES, CARMEN E.        ADDRESS ON FILE
COLON REYES, CARMEN L         ADDRESS ON FILE
COLON REYES, CARMEN L.        ADDRESS ON FILE
COLON REYES, CAROL J          ADDRESS ON FILE
COLON REYES, DALVIN           ADDRESS ON FILE
COLON REYES, DIANA            ADDRESS ON FILE




                                                                          Page 1672 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1673 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON REYES, EDWIN        ADDRESS ON FILE
COLON REYES, ELBA L       ADDRESS ON FILE
COLON REYES, ELMO         ADDRESS ON FILE
COLON REYES, EMANUEL      ADDRESS ON FILE
COLON REYES, FELIPA       ADDRESS ON FILE
COLON REYES, FLORENCIO    ADDRESS ON FILE
COLON REYES, FRANCISCO    ADDRESS ON FILE
COLON REYES, FRANCISCO    ADDRESS ON FILE
COLON REYES, GERARDO      ADDRESS ON FILE
COLON REYES, GERONIMO     ADDRESS ON FILE
COLON REYES, GLADYS I     ADDRESS ON FILE
COLON REYES, HECTOR       ADDRESS ON FILE
COLON REYES, HECTOR       ADDRESS ON FILE
COLON REYES, HILDA L      ADDRESS ON FILE
COLON REYES, IRIS         ADDRESS ON FILE
COLON REYES, IRIS J       ADDRESS ON FILE
COLON REYES, JACQUELINE   ADDRESS ON FILE
COLON REYES, JOSE E       ADDRESS ON FILE
COLON REYES, JOSE M.      ADDRESS ON FILE
COLON REYES, JUANA        ADDRESS ON FILE
COLON REYES, JUDITH       ADDRESS ON FILE
COLON REYES, KALIL        ADDRESS ON FILE
COLON REYES, LINDA I.     ADDRESS ON FILE
COLON REYES, LUIS         ADDRESS ON FILE
COLON REYES, LUIS A.      ADDRESS ON FILE
COLON REYES, LUZ M        ADDRESS ON FILE
COLON REYES, MARIBEL      ADDRESS ON FILE
COLON REYES, MAXIMO       ADDRESS ON FILE
COLON REYES, MIGUEL       ADDRESS ON FILE
COLON REYES, MIRIAM       ADDRESS ON FILE
COLON REYES, NOEL         ADDRESS ON FILE
COLON REYES, NOEL         ADDRESS ON FILE
COLON REYES, NOEL         ADDRESS ON FILE
COLON REYES, NORMA I      ADDRESS ON FILE
COLON REYES, OSVALDO      ADDRESS ON FILE
COLON REYES, PABLO        ADDRESS ON FILE
COLON REYES, PEDRO        ADDRESS ON FILE
COLON REYES, REYNALDO     ADDRESS ON FILE
COLON REYES, RODNEY       ADDRESS ON FILE
COLON REYES, SAIN         ADDRESS ON FILE
COLON REYES, SALVADOR     ADDRESS ON FILE
COLON REYES, SANDRA       ADDRESS ON FILE
COLON REYES, VANESSA      ADDRESS ON FILE
COLON REYES, WAYRA        ADDRESS ON FILE
COLON REYES, WILMARIE     ADDRESS ON FILE
COLON REYES, YALIER       ADDRESS ON FILE
COLON REYES, YARITZA      ADDRESS ON FILE
COLON RIOLLANO, CARLOS    ADDRESS ON FILE
COLON RIOS, ALEJANDRO     ADDRESS ON FILE
COLON RIOS, ANGEL M.      ADDRESS ON FILE
COLON RIOS, BLANCA        ADDRESS ON FILE
COLON RIOS, CARISSA       ADDRESS ON FILE
COLON RIOS, CARLOS R.     ADDRESS ON FILE
COLON RIOS, DEIBELLINE    ADDRESS ON FILE
COLON RIOS, EDGARDO       ADDRESS ON FILE
COLON RIOS, EDWIN         ADDRESS ON FILE
COLON RIOS, EVELYN        ADDRESS ON FILE
COLON RIOS, GABRIELA N    ADDRESS ON FILE
COLON RIOS, HECTOR        ADDRESS ON FILE
Colon Rios, Ivan N        ADDRESS ON FILE




                                                                      Page 1673 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1674 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RIOS, JAYSON         ADDRESS ON FILE
COLON RIOS, JOEGETTE       ADDRESS ON FILE
COLON RIOS, JOEL           ADDRESS ON FILE
COLON RIOS, JUAN           ADDRESS ON FILE
Colon Rios, Juan E         ADDRESS ON FILE
COLON RIOS, JULIO E        ADDRESS ON FILE
COLON RIOS, LUZ E          ADDRESS ON FILE
Colon Rios, Pedro A        ADDRESS ON FILE
COLON RIOS, RAUL H         ADDRESS ON FILE
COLON RIOS, RICARDO A.     ADDRESS ON FILE
COLON RIOS, SONIA          ADDRESS ON FILE
COLON RIOS, XAVIER         ADDRESS ON FILE
COLON RIVAS, DANIEL        ADDRESS ON FILE
COLON RIVAS, GLORIA M      ADDRESS ON FILE
COLON RIVAS, IVAN          ADDRESS ON FILE
COLON RIVAS, JOSELITO      ADDRESS ON FILE
COLON RIVAS, MARGARITA     ADDRESS ON FILE
Colon Rivas, Victor        ADDRESS ON FILE
COLON RIVAS, ZUHEIL        ADDRESS ON FILE
COLON RIVERA MD, JOSE E    ADDRESS ON FILE
COLON RIVERA MD, JOSE E    ADDRESS ON FILE
COLON RIVERA MD, JUAN M    ADDRESS ON FILE
COLON RIVERA, ABNER        ADDRESS ON FILE
COLON RIVERA, ADA I        ADDRESS ON FILE
Colon Rivera, Ada Iris     ADDRESS ON FILE
COLON RIVERA, AIDA         ADDRESS ON FILE
COLON RIVERA, AIDA M       ADDRESS ON FILE
COLON RIVERA, ALBERTO      ADDRESS ON FILE
Colon Rivera, Alberto J.   ADDRESS ON FILE
COLON RIVERA, ALEX         ADDRESS ON FILE
COLON RIVERA, ALMA R.      ADDRESS ON FILE
COLON RIVERA, AMELIA       ADDRESS ON FILE
COLON RIVERA, ANA          ADDRESS ON FILE
COLON RIVERA, ANA DELIA    ADDRESS ON FILE
COLON RIVERA, ANA M        ADDRESS ON FILE
COLON RIVERA, ANDREA       ADDRESS ON FILE
COLON RIVERA, ANGEL        ADDRESS ON FILE
COLON RIVERA, ANGEL        ADDRESS ON FILE
COLON RIVERA, ANGEL        ADDRESS ON FILE
Colon Rivera, Angel M      ADDRESS ON FILE
COLON RIVERA, ANGELA       ADDRESS ON FILE
COLON RIVERA, ANGELA R.    ADDRESS ON FILE
COLON RIVERA, ANGELICA     ADDRESS ON FILE
COLON RIVERA, ANGELICA     ADDRESS ON FILE
COLON RIVERA, ANGELINA     ADDRESS ON FILE
COLON RIVERA, ANTHONY      ADDRESS ON FILE
COLON RIVERA, ARACELIS     ADDRESS ON FILE
COLON RIVERA, ARNALDO      ADDRESS ON FILE
COLON RIVERA, ARQUELIO     ADDRESS ON FILE
Colon Rivera, Arturo       ADDRESS ON FILE
COLON RIVERA, BASILISA     ADDRESS ON FILE
COLON RIVERA, BELIANIS     ADDRESS ON FILE
COLON RIVERA, BELINDA      ADDRESS ON FILE
COLON RIVERA, BELINDA      ADDRESS ON FILE
COLON RIVERA, BETHZAIDA    ADDRESS ON FILE
COLON RIVERA, BIADNEY A    ADDRESS ON FILE
COLON RIVERA, BIBIANO      ADDRESS ON FILE
COLON RIVERA, BLANCA E.    ADDRESS ON FILE
COLON RIVERA, CARELIS      ADDRESS ON FILE
COLON RIVERA, CARLOS       ADDRESS ON FILE




                                                                       Page 1674 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1675 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RIVERA, CARLOS         ADDRESS ON FILE
COLON RIVERA, CARLOS J       ADDRESS ON FILE
COLON RIVERA, CARLOS M       ADDRESS ON FILE
COLON RIVERA, CARLOS R.      ADDRESS ON FILE
COLON RIVERA, CARMEN         ADDRESS ON FILE
COLON RIVERA, CARMEN A       ADDRESS ON FILE
COLON RIVERA, CARMEN D       ADDRESS ON FILE
COLON RIVERA, CARMEN G       ADDRESS ON FILE
COLON RIVERA, CARMEN M       ADDRESS ON FILE
COLON RIVERA, CARMEN M       ADDRESS ON FILE
COLON RIVERA, CARMEN M       ADDRESS ON FILE
COLON RIVERA, CARMEN N       ADDRESS ON FILE
COLON RIVERA, CARMEN R       ADDRESS ON FILE
COLON RIVERA, CARMEN R       ADDRESS ON FILE
COLON RIVERA, CESAR          ADDRESS ON FILE
COLON RIVERA, CHRISTIAN      ADDRESS ON FILE
COLON RIVERA, CHRISTIAN      ADDRESS ON FILE
COLON RIVERA, CHRISTIAN P.   ADDRESS ON FILE
COLON RIVERA, CLAUDIA        ADDRESS ON FILE
COLON RIVERA, CORALIS        ADDRESS ON FILE
COLON RIVERA, CRISTIAN       ADDRESS ON FILE
COLON RIVERA, CRISTIAN S.    ADDRESS ON FILE
COLON RIVERA, CRISTINA       ADDRESS ON FILE
COLON RIVERA, CRUZ M         ADDRESS ON FILE
COLON RIVERA, DAISY          ADDRESS ON FILE
COLON RIVERA, DALIA          ADDRESS ON FILE
COLON RIVERA, DAMARIS        ADDRESS ON FILE
COLON RIVERA, DANIA          ADDRESS ON FILE
Colon Rivera, Danny          ADDRESS ON FILE
COLON RIVERA, DELLIS         ADDRESS ON FILE
COLON RIVERA, DENISSE        ADDRESS ON FILE
COLON RIVERA, DENISSE        ADDRESS ON FILE
COLON RIVERA, DIANA          ADDRESS ON FILE
COLON RIVERA, DIANA I        ADDRESS ON FILE
COLON RIVERA, DIGNORA        ADDRESS ON FILE
COLON RIVERA, DIXIE J        ADDRESS ON FILE
COLON RIVERA, EDDY R         ADDRESS ON FILE
Colon Rivera, Edgardo J.     ADDRESS ON FILE
COLON RIVERA, EDNA A         ADDRESS ON FILE
COLON RIVERA, EDNILDA        ADDRESS ON FILE
COLON RIVERA, EDUARDO        ADDRESS ON FILE
Colon Rivera, Edwin          ADDRESS ON FILE
COLON RIVERA, EDWIN          ADDRESS ON FILE
COLON RIVERA, EFRAIN         ADDRESS ON FILE
COLON RIVERA, EFRAIN         ADDRESS ON FILE
COLON RIVERA, ELAINE         ADDRESS ON FILE
COLON RIVERA, ELIEZER        ADDRESS ON FILE
COLON RIVERA, ELIZABETH      ADDRESS ON FILE
COLON RIVERA, ELMER          ADDRESS ON FILE
Colon Rivera, Elmer E        ADDRESS ON FILE
COLON RIVERA, ELMER E        ADDRESS ON FILE
COLON RIVERA, ELSA M         ADDRESS ON FILE
COLON RIVERA, ELVIA E        ADDRESS ON FILE
Colon Rivera, Elvin R        ADDRESS ON FILE
COLON RIVERA, EMILY          ADDRESS ON FILE
COLON RIVERA, EMMA L         ADDRESS ON FILE
COLON RIVERA, EMMANUELLE     ADDRESS ON FILE
COLON RIVERA, ENILDA         ADDRESS ON FILE
COLON RIVERA, ENSOR          ADDRESS ON FILE
COLON RIVERA, ERASMO         ADDRESS ON FILE




                                                                         Page 1675 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1676 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Colon Rivera, Eric J         ADDRESS ON FILE
COLON RIVERA, ERICA          ADDRESS ON FILE
COLON RIVERA, ERICK          ADDRESS ON FILE
COLON RIVERA, ERICK          ADDRESS ON FILE
COLON RIVERA, ERICK          ADDRESS ON FILE
Colon Rivera, Erick R        ADDRESS ON FILE
COLON RIVERA, EVELYN         ADDRESS ON FILE
COLON RIVERA, EVELYN         ADDRESS ON FILE
COLON RIVERA, EVELYN         ADDRESS ON FILE
COLON RIVERA, EVELYN         ADDRESS ON FILE
COLON RIVERA, FELIPE         ADDRESS ON FILE
COLON RIVERA, FELIX          ADDRESS ON FILE
Colon Rivera, Felix          ADDRESS ON FILE
COLON RIVERA, FELIX          ADDRESS ON FILE
COLON RIVERA, FELIX          ADDRESS ON FILE
COLON RIVERA, FELIX          ADDRESS ON FILE
COLON RIVERA, FRANCES        ADDRESS ON FILE
COLON RIVERA, FRANCES Y      ADDRESS ON FILE
COLON RIVERA, FRANCISCO      ADDRESS ON FILE
COLON RIVERA, FRANCISCO      ADDRESS ON FILE
COLON RIVERA, FRANCISCO      ADDRESS ON FILE
COLON RIVERA, FRANCISCO E    ADDRESS ON FILE
COLON RIVERA, FRANCISCO J    ADDRESS ON FILE
COLON RIVERA, FRANCISCO J.   ADDRESS ON FILE
COLON RIVERA, FRANCISCO J.   ADDRESS ON FILE
COLON RIVERA, GASPAR         ADDRESS ON FILE
Colon Rivera, Gerardo        ADDRESS ON FILE
COLON RIVERA, GERONIMO       ADDRESS ON FILE
COLON RIVERA, GILBERTA       ADDRESS ON FILE
COLON RIVERA, GILDA X.       ADDRESS ON FILE
COLON RIVERA, GINA M         ADDRESS ON FILE
COLON RIVERA, GLADYS         ADDRESS ON FILE
COLON RIVERA, GLORIA M       ADDRESS ON FILE
COLON RIVERA, GLORIBEL       ADDRESS ON FILE
COLON RIVERA, HECTOR         ADDRESS ON FILE
COLON RIVERA, HECTOR         ADDRESS ON FILE
COLON RIVERA, HECTOR         ADDRESS ON FILE
COLON RIVERA, HECTOR         ADDRESS ON FILE
COLON RIVERA, HECTOR         ADDRESS ON FILE
COLON RIVERA, HECTOR J       ADDRESS ON FILE
Colon Rivera, Henry          ADDRESS ON FILE
Colon Rivera, Hernan         ADDRESS ON FILE
COLON RIVERA, HUMBERTO J     ADDRESS ON FILE
COLON RIVERA, ILKA           ADDRESS ON FILE
COLON RIVERA, INDIRA         ADDRESS ON FILE
COLON RIVERA, IRCA I         ADDRESS ON FILE
COLON RIVERA, IRIS C         ADDRESS ON FILE
COLON RIVERA, IRIS M         ADDRESS ON FILE
Colon Rivera, Iris N         ADDRESS ON FILE
COLON RIVERA, ISABEL         ADDRESS ON FILE
COLON RIVERA, ISABEL         ADDRESS ON FILE
COLON RIVERA, ISMAEL         ADDRESS ON FILE
COLON RIVERA, ISMAEL         ADDRESS ON FILE
COLON RIVERA, ISRAEL         ADDRESS ON FILE
COLON RIVERA, IVAN           ADDRESS ON FILE
COLON RIVERA, IVAN H         ADDRESS ON FILE
COLON RIVERA, IVELISSE       ADDRESS ON FILE
COLON RIVERA, IVETTE         ADDRESS ON FILE
COLON RIVERA, JAVIER         ADDRESS ON FILE
COLON RIVERA, JEAN CARLOS    ADDRESS ON FILE




                                                                         Page 1676 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1677 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RIVERA, JEANMARIE     ADDRESS ON FILE
COLON RIVERA, JENNIFFER     ADDRESS ON FILE
COLON RIVERA, JESSICA       ADDRESS ON FILE
COLON RIVERA, JESSICA       ADDRESS ON FILE
Colon Rivera, Jesus A       ADDRESS ON FILE
COLON RIVERA, JIMMEY        ADDRESS ON FILE
COLON RIVERA, JIMMEY        ADDRESS ON FILE
COLON RIVERA, JOANNE        ADDRESS ON FILE
COLON RIVERA, JOANNE        ADDRESS ON FILE
COLON RIVERA, JOANNE        ADDRESS ON FILE
COLON RIVERA, JOANNE        ADDRESS ON FILE
Colon Rivera, Joel A.       ADDRESS ON FILE
COLON RIVERA, JOHANNA       ADDRESS ON FILE
COLON RIVERA, JONATHAN      ADDRESS ON FILE
COLON RIVERA, JONATHAN      ADDRESS ON FILE
COLON RIVERA, JONATHAN A.   ADDRESS ON FILE
COLON RIVERA, JORGE         ADDRESS ON FILE
COLON RIVERA, JORGE         ADDRESS ON FILE
COLON RIVERA, JORGE         ADDRESS ON FILE
COLON RIVERA, JORGE         ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE          ADDRESS ON FILE
COLON RIVERA, JOSE A        ADDRESS ON FILE
COLON RIVERA, JOSE A.       ADDRESS ON FILE
COLON RIVERA, JOSE ANGEL    ADDRESS ON FILE
COLON RIVERA, JOSE C.       ADDRESS ON FILE
COLON RIVERA, JOSE E        ADDRESS ON FILE
Colon Rivera, Jose I.       ADDRESS ON FILE
COLON RIVERA, JOSE J        ADDRESS ON FILE
COLON RIVERA, JOSE J.       ADDRESS ON FILE
COLON RIVERA, JOSE L        ADDRESS ON FILE
COLON RIVERA, JOSE L.       ADDRESS ON FILE
COLON RIVERA, JOSE M        ADDRESS ON FILE
COLON RIVERA, JOSE M.       ADDRESS ON FILE
COLON RIVERA, JOSE R        ADDRESS ON FILE
Colon Rivera, Jose R.       ADDRESS ON FILE
Colon Rivera, Jose R.       ADDRESS ON FILE
COLON RIVERA, JOSE V.       ADDRESS ON FILE
COLON RIVERA, JOSEFINA      ADDRESS ON FILE
COLON RIVERA, JOSELITO      ADDRESS ON FILE
COLON RIVERA, JUAN          ADDRESS ON FILE
COLON RIVERA, JUAN          ADDRESS ON FILE
COLON RIVERA, JUAN          ADDRESS ON FILE
COLON RIVERA, JUAN          ADDRESS ON FILE
COLON RIVERA, JUAN          ADDRESS ON FILE
COLON RIVERA, JUAN          ADDRESS ON FILE
COLON RIVERA, JUAN A        ADDRESS ON FILE
COLON RIVERA, JUAN A        ADDRESS ON FILE
COLON RIVERA, JUAN A.       ADDRESS ON FILE
Colon Rivera, Juan B        ADDRESS ON FILE




                                                                        Page 1677 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1678 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RIVERA, JUAN B.         ADDRESS ON FILE
COLON RIVERA, JUAN C          ADDRESS ON FILE
COLON RIVERA, JUAN C          ADDRESS ON FILE
COLON RIVERA, JUAN E          ADDRESS ON FILE
COLON RIVERA, JUAN E          ADDRESS ON FILE
COLON RIVERA, JUAN E.         ADDRESS ON FILE
COLON RIVERA, JUANA M         ADDRESS ON FILE
COLON RIVERA, JUANITA         ADDRESS ON FILE
COLON RIVERA, JUANITA DEL C   ADDRESS ON FILE
COLON RIVERA, JUDITH          ADDRESS ON FILE
COLON RIVERA, JUDITH          ADDRESS ON FILE
COLON RIVERA, JUDITH E        ADDRESS ON FILE
COLON RIVERA, JULIA I         ADDRESS ON FILE
Colon Rivera, Julio           ADDRESS ON FILE
Colon Rivera, Julio E         ADDRESS ON FILE
Colon Rivera, Julio M         ADDRESS ON FILE
COLON RIVERA, JULIO V         ADDRESS ON FILE
COLON RIVERA, JULIO V         ADDRESS ON FILE
COLON RIVERA, JULIO V.        ADDRESS ON FILE
COLON RIVERA, JUMARY          ADDRESS ON FILE
COLON RIVERA, KAREM N.        ADDRESS ON FILE
COLON RIVERA, KAREN           ADDRESS ON FILE
COLON RIVERA, KATHIA Y        ADDRESS ON FILE
COLON RIVERA, KATTY           ADDRESS ON FILE
COLON RIVERA, KENNETH         ADDRESS ON FILE
COLON RIVERA, LEISHLA         ADDRESS ON FILE
Colon Rivera, Lenda M.        ADDRESS ON FILE
COLON RIVERA, LEO             ADDRESS ON FILE
COLON RIVERA, LEYCA MARIE     ADDRESS ON FILE
COLON RIVERA, LILLIAM E       ADDRESS ON FILE
COLON RIVERA, LIMARIE         ADDRESS ON FILE
COLON RIVERA, LIMARYS         ADDRESS ON FILE
COLON RIVERA, LINNETTE        ADDRESS ON FILE
COLON RIVERA, LORNA           ADDRESS ON FILE
COLON RIVERA, LOURDES         ADDRESS ON FILE
COLON RIVERA, LUCILA          ADDRESS ON FILE
COLON RIVERA, LUCY I          ADDRESS ON FILE
COLON RIVERA, LUHARI          ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS            ADDRESS ON FILE
COLON RIVERA, LUIS A          ADDRESS ON FILE
COLON RIVERA, LUIS A.         ADDRESS ON FILE
COLON RIVERA, LUIS A.         ADDRESS ON FILE
COLON RIVERA, LUIS E          ADDRESS ON FILE
COLON RIVERA, LUIS G.         ADDRESS ON FILE
COLON RIVERA, LUIS M          ADDRESS ON FILE
Colon Rivera, Luisa           ADDRESS ON FILE
COLON RIVERA, LUSMARI         ADDRESS ON FILE
COLON RIVERA, LUZ             ADDRESS ON FILE
COLON RIVERA, LUZ M           ADDRESS ON FILE
COLON RIVERA, LUZ S           ADDRESS ON FILE
COLON RIVERA, LYSDIEL         ADDRESS ON FILE
COLON RIVERA, MADELYN         ADDRESS ON FILE
COLON RIVERA, MAGALI          ADDRESS ON FILE




                                                                          Page 1678 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1679 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RIVERA, MALIERI                ADDRESS ON FILE
COLON RIVERA, MANUEL                 ADDRESS ON FILE
COLON RIVERA, MANUEL A.              ADDRESS ON FILE
COLON RIVERA, MARAGELINE             ADDRESS ON FILE
COLON RIVERA, MARCOS                 ADDRESS ON FILE
COLON RIVERA, MARGARITA              ADDRESS ON FILE
Colon Rivera, Margarita              ADDRESS ON FILE
COLON RIVERA, MARGARITA              ADDRESS ON FILE
COLON RIVERA, MARIA                  ADDRESS ON FILE
COLON RIVERA, MARIA                  ADDRESS ON FILE
COLON RIVERA, MARIA A                ADDRESS ON FILE
COLON RIVERA, MARIA DE LOS           ADDRESS ON FILE
COLON RIVERA, MARIA DE LOS ANGELES   ADDRESS ON FILE
COLON RIVERA, MARIA E                ADDRESS ON FILE
COLON RIVERA, MARIA ISABEL           ADDRESS ON FILE
COLON RIVERA, MARIA M                ADDRESS ON FILE
COLON RIVERA, MARIA T                ADDRESS ON FILE
COLON RIVERA, MARIALIANY             ADDRESS ON FILE
COLON RIVERA, MARIBEL                ADDRESS ON FILE
COLON RIVERA, MARIBEL                ADDRESS ON FILE
COLON RIVERA, MARIBEL                ADDRESS ON FILE
COLON RIVERA, MARIBELLE              ADDRESS ON FILE
COLON RIVERA, MARIE                  ADDRESS ON FILE
COLON RIVERA, MARIECARMEN            ADDRESS ON FILE
COLON RIVERA, MARIELI                ADDRESS ON FILE
COLON RIVERA, MARIO RAFAEL           ADDRESS ON FILE
COLON RIVERA, MARISOL                ADDRESS ON FILE
COLON RIVERA, MARTA                  ADDRESS ON FILE
COLON RIVERA, MARTA                  ADDRESS ON FILE
COLON RIVERA, MARTA I                ADDRESS ON FILE
COLON RIVERA, MARTA M                ADDRESS ON FILE
COLON RIVERA, MARTIN                 ADDRESS ON FILE
COLON RIVERA, MAYDA                  ADDRESS ON FILE
COLON RIVERA, MICHAEL                ADDRESS ON FILE
COLON RIVERA, MICHELLE M.            ADDRESS ON FILE
COLON RIVERA, MIGDALIA S.            ADDRESS ON FILE
COLON RIVERA, MIGUEL A               ADDRESS ON FILE
COLON RIVERA, MILAGROS               ADDRESS ON FILE
COLON RIVERA, MILDRED                ADDRESS ON FILE
COLON RIVERA, MINERVA                ADDRESS ON FILE
COLON RIVERA, MIRIAM                 ADDRESS ON FILE
COLON RIVERA, MOISES                 ADDRESS ON FILE
Colon Rivera, Moises L               ADDRESS ON FILE
COLON RIVERA, MYRNA                  ADDRESS ON FILE
COLON RIVERA, MYRNA                  ADDRESS ON FILE
COLON RIVERA, MYRNA                  ADDRESS ON FILE
COLON RIVERA, MYRNA E                ADDRESS ON FILE
COLON RIVERA, MYRVIC M               ADDRESS ON FILE
COLON RIVERA, NATALIA I              ADDRESS ON FILE
COLON RIVERA, NEIDY C                ADDRESS ON FILE
COLON RIVERA, NEISHA                 ADDRESS ON FILE
COLON RIVERA, NELSON                 ADDRESS ON FILE
COLON RIVERA, NELSON A               ADDRESS ON FILE
COLON RIVERA, NEREIDA                ADDRESS ON FILE
Colón Rivera, Nichole Y              ADDRESS ON FILE
COLON RIVERA, NILDA                  ADDRESS ON FILE
COLON RIVERA, NILDA                  ADDRESS ON FILE
COLON RIVERA, NILDA M                ADDRESS ON FILE
COLON RIVERA, NILDA R                ADDRESS ON FILE
COLON RIVERA, NOELIA                 ADDRESS ON FILE




                                                                                 Page 1679 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1680 of 3500
                                                                         17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name             Address1                        Address2                     Address3   Address4   City         State   PostalCode   Country
COLON RIVERA, NYDIA       ADDRESS ON FILE
COLON RIVERA, NYDIA       ADDRESS ON FILE
COLON RIVERA, OCTAVIO     ADDRESS ON FILE
COLON RIVERA, OLGA        ADDRESS ON FILE
COLON RIVERA, OLGA        ADDRESS ON FILE
COLON RIVERA, OLGA M      ADDRESS ON FILE
COLON RIVERA, OLGA R      ADDRESS ON FILE
Colon Rivera, Omar        ADDRESS ON FILE
COLON RIVERA, OMAR        ADDRESS ON FILE
COLON RIVERA, ORLANDO     ADDRESS ON FILE
COLON RIVERA, OSCAR       ADDRESS ON FILE
COLON RIVERA, OSWALDO     ADDRESS ON FILE
COLON RIVERA, PAMELA      ADDRESS ON FILE
COLON RIVERA, PAOLA       ADDRESS ON FILE
COLON RIVERA, PEDRO       ADDRESS ON FILE
COLON RIVERA, PEDRO A.    ADDRESS ON FILE
COLON RIVERA, PERFECTO    ADDRESS ON FILE
COLON RIVERA, PRIMITIVO   ADDRESS ON FILE
COLON RIVERA, RAFAEL      ADDRESS ON FILE
COLON RIVERA, RAFAEL      ADDRESS ON FILE
COLON RIVERA, RAFAEL      ADDRESS ON FILE
COLON RIVERA, RAMONA      ADDRESS ON FILE
COLON RIVERA, RAMONITA    ADDRESS ON FILE
COLON RIVERA, RAQUEL      ADDRESS ON FILE
COLÓN RIVERA, RAÚL        LCDO. MIGUEL M. CANCIO ARCELA   PO BOX 8414                                        SAN JUAN     PR      00910
COLÓN RIVERA, RAÚL        LCDO. ORLANDO CAMACHO PADILLA   PO BOX 879                                         COAMO        PR      00769‐0879
COLON RIVERA, RAUL E      ADDRESS ON FILE
Colon Rivera, Reinaldo    ADDRESS ON FILE
COLON RIVERA, REY         ADDRESS ON FILE
COLON RIVERA, RICARDO     ADDRESS ON FILE
COLON RIVERA, RITA I      ADDRESS ON FILE
COLON RIVERA, ROBERTO     ADDRESS ON FILE
COLON RIVERA, ROBERTO     ADDRESS ON FILE
COLON RIVERA, ROSA        ADDRESS ON FILE
Colon Rivera, Rosa M      ADDRESS ON FILE
COLON RIVERA, ROSA M      ADDRESS ON FILE
COLON RIVERA, ROSA M.     ADDRESS ON FILE
COLON RIVERA, ROSA P      ADDRESS ON FILE
COLON RIVERA, ROSALBA     ADDRESS ON FILE
COLON RIVERA, ROSALIA     ADDRESS ON FILE
COLON RIVERA, ROSALINA    ADDRESS ON FILE
COLON RIVERA, ROYMI       ADDRESS ON FILE
Colon Rivera, Ruben       ADDRESS ON FILE
COLON RIVERA, RUBEN       ADDRESS ON FILE
COLON RIVERA, RUTH E.     ADDRESS ON FILE
COLON RIVERA, SANDRA      ADDRESS ON FILE
COLON RIVERA, SANDRA      ADDRESS ON FILE
COLON RIVERA, SARA M      ADDRESS ON FILE
COLON RIVERA, SHAIRA A.   ADDRESS ON FILE
COLON RIVERA, SILVANA     ADDRESS ON FILE
COLON RIVERA, SILVANA     ADDRESS ON FILE
COLON RIVERA, SOL B       ADDRESS ON FILE
COLON RIVERA, SONIA       ADDRESS ON FILE
COLON RIVERA, SONIA       ADDRESS ON FILE
COLON RIVERA, STEPHANIE   ADDRESS ON FILE
COLON RIVERA, SUHEILIE    ADDRESS ON FILE
COLON RIVERA, SUREYMA E   ADDRESS ON FILE
COLON RIVERA, SUSANA      ADDRESS ON FILE
COLON RIVERA, SYBARIS     ADDRESS ON FILE
COLON RIVERA, SYLVIA E    ADDRESS ON FILE




                                                                        Page 1680 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1681 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RIVERA, TALIA          ADDRESS ON FILE
COLON RIVERA, TANIA          ADDRESS ON FILE
COLON RIVERA, TANIA M        ADDRESS ON FILE
COLON RIVERA, TEODORO        ADDRESS ON FILE
COLON RIVERA, URIEL          ADDRESS ON FILE
COLON RIVERA, VANESSA C.     ADDRESS ON FILE
COLON RIVERA, VANESSA C.     ADDRESS ON FILE
COLON RIVERA, VICTOR M       ADDRESS ON FILE
Colon Rivera, Victor M       ADDRESS ON FILE
COLON RIVERA, VICTOR M       ADDRESS ON FILE
COLON RIVERA, VIVIANA        ADDRESS ON FILE
COLON RIVERA, WALDIMARIS     ADDRESS ON FILE
COLON RIVERA, WANDA          ADDRESS ON FILE
COLON RIVERA, WANDA E        ADDRESS ON FILE
COLON RIVERA, WANDA ENID     ADDRESS ON FILE
COLON RIVERA, WANDA I        ADDRESS ON FILE
COLON RIVERA, WANDA M        ADDRESS ON FILE
COLON RIVERA, WILFREDO       ADDRESS ON FILE
COLON RIVERA, WILLIAM        ADDRESS ON FILE
Colon Rivera, Wilma Ivette   ADDRESS ON FILE
COLON RIVERA, YAMILLE        ADDRESS ON FILE
COLON RIVERA, YANISE A.      ADDRESS ON FILE
COLON RIVERA, YELITZA        ADDRESS ON FILE
COLON RIVERA, YELITZA        ADDRESS ON FILE
COLON RIVERA, YISHAY         ADDRESS ON FILE
COLON RIVERA, YOLANDA        ADDRESS ON FILE
COLON RIVERA, YOLANDA        ADDRESS ON FILE
COLON RIVERA, YUMARIS        ADDRESS ON FILE
COLON RIVERA, ZAHIRA Z       ADDRESS ON FILE
COLON RIVERA, ZAIDA J.       ADDRESS ON FILE
COLON RIVERA, ZORAIDA        ADDRESS ON FILE
COLON RIVERA, ZULMA          ADDRESS ON FILE
COLON RIVERA,RADAMES         ADDRESS ON FILE
COLON RIVERO, GILDA          ADDRESS ON FILE
COLON ROBLES, AIDA E.        ADDRESS ON FILE
COLON ROBLES, ANA            ADDRESS ON FILE
COLON ROBLES, ANGEL M        ADDRESS ON FILE
COLON ROBLES, DAMARIS        ADDRESS ON FILE
COLON ROBLES, DAMARIS        ADDRESS ON FILE
COLON ROBLES, ELIAS I        ADDRESS ON FILE
COLON ROBLES, HECTOR         ADDRESS ON FILE
COLON ROBLES, IRIS R.        ADDRESS ON FILE
COLON ROBLES, JUAN           ADDRESS ON FILE
COLON ROBLES, LIZZA M        ADDRESS ON FILE
COLON ROBLES, LUIS A.        ADDRESS ON FILE
COLON ROBLES, LUIS A.        ADDRESS ON FILE
COLON ROBLES, MARIA          ADDRESS ON FILE
COLON ROBLES, MIGUEL         ADDRESS ON FILE
COLON ROBLES, NORMA          ADDRESS ON FILE
COLON ROBLES, PEDRO F        ADDRESS ON FILE
COLON ROBLES, SANDRA S       ADDRESS ON FILE
COLON ROBLES, SONIA          ADDRESS ON FILE
COLON ROBLES, VALERIE        ADDRESS ON FILE
COLON ROBLES, WANELI         ADDRESS ON FILE
COLON ROBLES, YASMINA        ADDRESS ON FILE
COLON ROCHE, ARLEEN          ADDRESS ON FILE
COLON ROCHE, EDUARDO         ADDRESS ON FILE
COLON ROCHE, JOSE            ADDRESS ON FILE
COLON ROCHE, MAGALY          ADDRESS ON FILE
COLON ROCHE, SILVERIO        ADDRESS ON FILE




                                                                         Page 1681 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1682 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ROCHER, ALBERTO            ADDRESS ON FILE
COLON ROCHER, NICOLE             ADDRESS ON FILE
COLON RODRIEGUEZ,JOSE A.         ADDRESS ON FILE
COLON RODRIGTUEZ, REIMARIE       ADDRESS ON FILE
COLON RODRIGUEZ MD, DIEGO        ADDRESS ON FILE
COLON RODRIGUEZ MD, JUAN C       ADDRESS ON FILE
COLON RODRIGUEZ, ABRAHAM         ADDRESS ON FILE
COLON RODRIGUEZ, ABRAHAM M       ADDRESS ON FILE
COLON RODRIGUEZ, ADRIAN          ADDRESS ON FILE
COLON RODRIGUEZ, ADRIANA         ADDRESS ON FILE
COLON RODRIGUEZ, AGUSTIN         ADDRESS ON FILE
COLON RODRIGUEZ, ALBERT          ADDRESS ON FILE
COLON RODRIGUEZ, ALEF            ADDRESS ON FILE
COLON RODRIGUEZ, ALEJANDRO       ADDRESS ON FILE
COLON RODRIGUEZ, ALEXANDER       ADDRESS ON FILE
COLON RODRIGUEZ, ALEXANDER       ADDRESS ON FILE
COLON RODRIGUEZ, ALEXIS          ADDRESS ON FILE
COLON RODRIGUEZ, ALFONSO         ADDRESS ON FILE
COLON RODRIGUEZ, ALVIN           ADDRESS ON FILE
COLON RODRIGUEZ, AMARIVYS        ADDRESS ON FILE
COLON RODRIGUEZ, ANA             ADDRESS ON FILE
COLON RODRIGUEZ, ANA C           ADDRESS ON FILE
COLON RODRIGUEZ, ANA D           ADDRESS ON FILE
Colon Rodriguez, Ana H           ADDRESS ON FILE
COLON RODRIGUEZ, ANA H.          ADDRESS ON FILE
COLON RODRIGUEZ, ANA L           ADDRESS ON FILE
COLON RODRIGUEZ, ANDREA          ADDRESS ON FILE
COLON RODRIGUEZ, ANDREA M        ADDRESS ON FILE
COLON RODRIGUEZ, ANDRES          ADDRESS ON FILE
COLON RODRIGUEZ, ANGEL A         ADDRESS ON FILE
COLON RODRIGUEZ, ANGEL A.        ADDRESS ON FILE
COLON RODRIGUEZ, ANGEL L         ADDRESS ON FILE
Colon Rodriguez, Angel L.        ADDRESS ON FILE
COLON RODRIGUEZ, ANGEL L.        ADDRESS ON FILE
Colon Rodriguez, Angel L.        ADDRESS ON FILE
COLON RODRIGUEZ, ANGEL M         ADDRESS ON FILE
COLON RODRIGUEZ, ANIBAL          ADDRESS ON FILE
COLON RODRIGUEZ, ANTONIO         ADDRESS ON FILE
COLON RODRIGUEZ, ANTONIO J.      ADDRESS ON FILE
COLON RODRIGUEZ, ARIEL           ADDRESS ON FILE
COLON RODRIGUEZ, ARIEL           ADDRESS ON FILE
COLON RODRIGUEZ, ARIEL           ADDRESS ON FILE
COLON RODRIGUEZ, ARLEEN DEL C.   ADDRESS ON FILE
COLON RODRIGUEZ, ARNALDO         ADDRESS ON FILE
COLON RODRIGUEZ, ARTURO          ADDRESS ON FILE
COLON RODRIGUEZ, AWILDA          ADDRESS ON FILE
COLON RODRIGUEZ, BARBARA I       ADDRESS ON FILE
COLON RODRIGUEZ, BEBERLIMAR      ADDRESS ON FILE
COLON RODRIGUEZ, BENJAMIN        ADDRESS ON FILE
COLON RODRIGUEZ, BERNIZ L        ADDRESS ON FILE
COLON RODRIGUEZ, BONITA          ADDRESS ON FILE
COLON RODRIGUEZ, BRENDA I        ADDRESS ON FILE
COLON RODRIGUEZ, CALEB           ADDRESS ON FILE
COLON RODRIGUEZ, CARLOS          ADDRESS ON FILE
COLON RODRIGUEZ, CARLOS          ADDRESS ON FILE
COLON RODRIGUEZ, CARLOS JAVIER   ADDRESS ON FILE
Colon Rodriguez, Carlos L        ADDRESS ON FILE
Colon Rodriguez, Carlos R.       ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN          ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN B        ADDRESS ON FILE




                                                                             Page 1682 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1683 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RODRIGUEZ, CARMEN H         ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN I         ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN L         ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN M         ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN M         ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN SOCORRO   ADDRESS ON FILE
COLON RODRIGUEZ, CARMEN V.        ADDRESS ON FILE
COLON RODRIGUEZ, CAROLINE         ADDRESS ON FILE
COLON RODRIGUEZ, CESAR            ADDRESS ON FILE
COLON RODRIGUEZ, CHARLYL          ADDRESS ON FILE
COLON RODRIGUEZ, CHRISTIAN        ADDRESS ON FILE
COLON RODRIGUEZ, CHRISTINE        ADDRESS ON FILE
COLON RODRIGUEZ, CLAUDINA         ADDRESS ON FILE
COLON RODRIGUEZ, DAISY            ADDRESS ON FILE
COLON RODRIGUEZ, DAPHNE           ADDRESS ON FILE
Colon Rodriguez, Darma L          ADDRESS ON FILE
Colon Rodriguez, David            ADDRESS ON FILE
COLON RODRIGUEZ, DAVID            ADDRESS ON FILE
COLON RODRIGUEZ, DAYMELIZ         ADDRESS ON FILE
COLON RODRIGUEZ, DEBORAH          ADDRESS ON FILE
COLON RODRIGUEZ, DENISSE L        ADDRESS ON FILE
COLON RODRIGUEZ, DENNIS           ADDRESS ON FILE
COLON RODRIGUEZ, DOMINGO          ADDRESS ON FILE
COLON RODRIGUEZ, DOMINGO          ADDRESS ON FILE
COLON RODRIGUEZ, DORIMAR          ADDRESS ON FILE
COLON RODRIGUEZ, DORIS            ADDRESS ON FILE
COLON RODRIGUEZ, DORIS ENID       ADDRESS ON FILE
COLON RODRIGUEZ, DORYANN          ADDRESS ON FILE
COLON RODRIGUEZ, EDGARDO J.       ADDRESS ON FILE
COLON RODRIGUEZ, EDWIN            ADDRESS ON FILE
COLON RODRIGUEZ, EFRAIN           ADDRESS ON FILE
COLON RODRIGUEZ, ELBA L           ADDRESS ON FILE
Colon Rodriguez, Elga J           ADDRESS ON FILE
COLON RODRIGUEZ, ELI              ADDRESS ON FILE
COLON RODRIGUEZ, ELISA            ADDRESS ON FILE
COLON RODRIGUEZ, ELIZABETH        ADDRESS ON FILE
COLON RODRIGUEZ, ELIZABETH        ADDRESS ON FILE
COLON RODRIGUEZ, ERIC             ADDRESS ON FILE
COLON RODRIGUEZ, ESTHER NOELIA    ADDRESS ON FILE
COLON RODRIGUEZ, ETHEL            ADDRESS ON FILE
COLON RODRIGUEZ, EVELYN           ADDRESS ON FILE
COLON RODRIGUEZ, EVELYN           ADDRESS ON FILE
COLON RODRIGUEZ, FELICITA DEL C   ADDRESS ON FILE
COLON RODRIGUEZ, FELIPE           ADDRESS ON FILE
COLON RODRIGUEZ, FELIX L          ADDRESS ON FILE
COLON RODRIGUEZ, FRANCISCO        ADDRESS ON FILE
COLON RODRIGUEZ, FRANCISCO        ADDRESS ON FILE
COLON RODRIGUEZ, FRANCISCO        ADDRESS ON FILE
Colon Rodriguez, Francisco J.     ADDRESS ON FILE
COLON RODRIGUEZ, GERALDO          ADDRESS ON FILE
COLON RODRIGUEZ, GERARDO          ADDRESS ON FILE
COLON RODRIGUEZ, GILBERTO         ADDRESS ON FILE
COLON RODRIGUEZ, GLENDALY         ADDRESS ON FILE
COLON RODRIGUEZ, GRICEL           ADDRESS ON FILE
COLON RODRIGUEZ, GRISSEL          ADDRESS ON FILE
COLON RODRIGUEZ, HAYDEE           ADDRESS ON FILE
COLON RODRIGUEZ, HECTOR           ADDRESS ON FILE
COLON RODRIGUEZ, HECTOR A.        ADDRESS ON FILE
Colon Rodriguez, Hector L         ADDRESS ON FILE
Colon Rodriguez, Hector M         ADDRESS ON FILE




                                                                              Page 1683 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1684 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RODRIGUEZ, HENRY XAVIER     ADDRESS ON FILE
COLON RODRIGUEZ, HERBERT          ADDRESS ON FILE
COLON RODRIGUEZ, IRIS             ADDRESS ON FILE
COLON RODRIGUEZ, IRIS E           ADDRESS ON FILE
COLON RODRIGUEZ, ISABEL           ADDRESS ON FILE
COLON RODRIGUEZ, ITZIA C          ADDRESS ON FILE
COLON RODRIGUEZ, IVAN             ADDRESS ON FILE
COLON RODRIGUEZ, IVAN             ADDRESS ON FILE
COLON RODRIGUEZ, IVAN J.          ADDRESS ON FILE
COLON RODRIGUEZ, JAEL L           ADDRESS ON FILE
Colon Rodriguez, Jamyr            ADDRESS ON FILE
COLON RODRIGUEZ, JAN              ADDRESS ON FILE
COLON RODRIGUEZ, JAN M.           ADDRESS ON FILE
COLON RODRIGUEZ, JANICE           ADDRESS ON FILE
Colon Rodriguez, Janiris          ADDRESS ON FILE
COLON RODRIGUEZ, JANITZIA         ADDRESS ON FILE
COLON RODRIGUEZ, JANIXA           ADDRESS ON FILE
COLON RODRIGUEZ, JAQUELINE        ADDRESS ON FILE
COLON RODRIGUEZ, JAVIER           ADDRESS ON FILE
COLON RODRIGUEZ, JEANETTE         ADDRESS ON FILE
COLON RODRIGUEZ, JENNIFER M       ADDRESS ON FILE
COLON RODRIGUEZ, JESSICA          ADDRESS ON FILE
Colon Rodriguez, Jesus Emmanuel   ADDRESS ON FILE
COLON RODRIGUEZ, JESUS M.         ADDRESS ON FILE
Colon Rodriguez, Jimmy            ADDRESS ON FILE
COLON RODRIGUEZ, JOCELYN          ADDRESS ON FILE
Colon Rodriguez, Joe              ADDRESS ON FILE
COLON RODRIGUEZ, JOHANNA          ADDRESS ON FILE
COLON RODRIGUEZ, JOHNNY           ADDRESS ON FILE
Colon Rodriguez, Jonathan Luis    ADDRESS ON FILE
COLON RODRIGUEZ, JORGE            ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE             ADDRESS ON FILE
COLON RODRIGUEZ, JOSE A.          ADDRESS ON FILE
COLON RODRIGUEZ, JOSE A.          ADDRESS ON FILE
COLON RODRIGUEZ, JOSE B           ADDRESS ON FILE
COLON RODRIGUEZ, JOSE C           ADDRESS ON FILE
COLON RODRIGUEZ, JOSE J           ADDRESS ON FILE
COLON RODRIGUEZ, JOSE J.          ADDRESS ON FILE
Colon Rodriguez, Jose L           ADDRESS ON FILE
COLON RODRIGUEZ, JOSE L.          ADDRESS ON FILE
Colon Rodriguez, Jose M           ADDRESS ON FILE
Colon Rodriguez, Jose R           ADDRESS ON FILE
COLON RODRIGUEZ, JOSEFINA         ADDRESS ON FILE
COLON RODRIGUEZ, JOSEFINA         ADDRESS ON FILE
COLON RODRIGUEZ, JOSEFINA         ADDRESS ON FILE
COLON RODRIGUEZ, JOSSELYNE        ADDRESS ON FILE
Colon Rodriguez, Josue            ADDRESS ON FILE
COLON RODRIGUEZ, JUAN             ADDRESS ON FILE
COLON RODRIGUEZ, JULITT           ADDRESS ON FILE
Colon Rodriguez, Karilyn          ADDRESS ON FILE
COLON RODRIGUEZ, KARLA            ADDRESS ON FILE
COLON RODRIGUEZ, KEISHA A.        ADDRESS ON FILE




                                                                              Page 1684 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1685 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RODRIGUEZ, KRISTYN            ADDRESS ON FILE
COLON RODRIGUEZ, LEIDA B            ADDRESS ON FILE
COLON RODRIGUEZ, LEONARDO           ADDRESS ON FILE
COLON RODRIGUEZ, LIDA I             ADDRESS ON FILE
COLON RODRIGUEZ, LINETTE            ADDRESS ON FILE
COLON RODRIGUEZ, LIZZIE E.          ADDRESS ON FILE
COLON RODRIGUEZ, LORRAINE           ADDRESS ON FILE
COLON RODRIGUEZ, LUCIANNE           ADDRESS ON FILE
COLON RODRIGUEZ, LUCILA             ADDRESS ON FILE
COLON RODRIGUEZ, LUIS               ADDRESS ON FILE
COLON RODRIGUEZ, LUIS               ADDRESS ON FILE
COLON RODRIGUEZ, LUIS A             ADDRESS ON FILE
Colon Rodriguez, Luis A             ADDRESS ON FILE
COLON RODRIGUEZ, LUIS A             ADDRESS ON FILE
COLON RODRIGUEZ, LUIS A             ADDRESS ON FILE
COLON RODRIGUEZ, LUIS A.            ADDRESS ON FILE
COLON RODRIGUEZ, LUIS A.            ADDRESS ON FILE
COLON RODRIGUEZ, LUIS ANTONIO       ADDRESS ON FILE
COLON RODRIGUEZ, LUIS I             ADDRESS ON FILE
COLON RODRIGUEZ, LUIS MANUEL        ADDRESS ON FILE
COLON RODRIGUEZ, LUZ                ADDRESS ON FILE
COLON RODRIGUEZ, LUZ B              ADDRESS ON FILE
COLON RODRIGUEZ, LUZ D              ADDRESS ON FILE
COLON RODRIGUEZ, LUZ S              ADDRESS ON FILE
COLON RODRIGUEZ, LYMARIE            ADDRESS ON FILE
COLON RODRIGUEZ, LYMARIE            ADDRESS ON FILE
COLON RODRIGUEZ, LYNNETTE           ADDRESS ON FILE
COLON RODRIGUEZ, MADELINE           ADDRESS ON FILE
COLON RODRIGUEZ, MADELINE           ADDRESS ON FILE
COLON RODRIGUEZ, MADELYN            ADDRESS ON FILE
COLON RODRIGUEZ, MAGDALENA          ADDRESS ON FILE
Colon Rodriguez, Manuel             ADDRESS ON FILE
COLON RODRIGUEZ, MARGARITA          ADDRESS ON FILE
COLON RODRIGUEZ, MARGARITA          ADDRESS ON FILE
COLON RODRIGUEZ, MARGARITA          ADDRESS ON FILE
COLON RODRIGUEZ, MARIA              ADDRESS ON FILE
COLON RODRIGUEZ, MARIA M            ADDRESS ON FILE
COLON RODRIGUEZ, MARIA V            ADDRESS ON FILE
COLON RODRIGUEZ, MARIA V.           ADDRESS ON FILE
COLON RODRIGUEZ, MARIBEL            ADDRESS ON FILE
COLON RODRIGUEZ, MARIBEL M.         ADDRESS ON FILE
COLON RODRIGUEZ, MARICELLY          ADDRESS ON FILE
COLON RODRIGUEZ, MARILYN            ADDRESS ON FILE
COLON RODRIGUEZ, MARINES            ADDRESS ON FILE
COLON RODRIGUEZ, MARISEL            ADDRESS ON FILE
COLON RODRIGUEZ, MARISEL            ADDRESS ON FILE
COLON RODRIGUEZ, MARISEL MILAGROS   ADDRESS ON FILE
COLON RODRIGUEZ, MARJORIE           ADDRESS ON FILE
COLON RODRIGUEZ, MARTA I.           ADDRESS ON FILE
COLON RODRIGUEZ, MARYLIZ            ADDRESS ON FILE
COLON RODRIGUEZ, MATHEWS            ADDRESS ON FILE
COLON RODRIGUEZ, MAYRA I.           ADDRESS ON FILE
COLON RODRIGUEZ, MAYRA M            ADDRESS ON FILE
COLON RODRIGUEZ, MIGUEL             ADDRESS ON FILE
COLON RODRIGUEZ, MIGUEL             ADDRESS ON FILE
COLON RODRIGUEZ, MIRELY             ADDRESS ON FILE
COLON RODRIGUEZ, MYRANGELY          ADDRESS ON FILE
COLON RODRIGUEZ, MYRIAM             ADDRESS ON FILE
COLON RODRIGUEZ, MYRNALIZ           ADDRESS ON FILE
Colon Rodriguez, Neftali            ADDRESS ON FILE




                                                                                Page 1685 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1686 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RODRIGUEZ, NEISHA      ADDRESS ON FILE
COLON RODRIGUEZ, NELSON      ADDRESS ON FILE
COLON RODRIGUEZ, NICK N      ADDRESS ON FILE
COLON RODRIGUEZ, NILDA M     ADDRESS ON FILE
COLON RODRIGUEZ, NILMARIE    ADDRESS ON FILE
COLON RODRIGUEZ, NILSA L     ADDRESS ON FILE
COLON RODRIGUEZ, NITZA       ADDRESS ON FILE
COLON RODRIGUEZ, NIXIDA      ADDRESS ON FILE
COLON RODRIGUEZ, NOEL        ADDRESS ON FILE
COLON RODRIGUEZ, NOEMI       ADDRESS ON FILE
Colon Rodriguez, Normaly     ADDRESS ON FILE
COLON RODRIGUEZ, NYDIA       ADDRESS ON FILE
COLON RODRIGUEZ, NYDIA A     ADDRESS ON FILE
COLON RODRIGUEZ, ODELL       ADDRESS ON FILE
COLON RODRIGUEZ, OLGA        ADDRESS ON FILE
COLON RODRIGUEZ, OLGA I      ADDRESS ON FILE
COLON RODRIGUEZ, OMAYRA      ADDRESS ON FILE
COLON RODRIGUEZ, ORLANDO     ADDRESS ON FILE
COLON RODRIGUEZ, OSCAR       ADDRESS ON FILE
COLON RODRIGUEZ, OSCAR J.    ADDRESS ON FILE
COLON RODRIGUEZ, PABLO       ADDRESS ON FILE
COLON RODRIGUEZ, PEDRO       ADDRESS ON FILE
COLON RODRIGUEZ, PEDRO       ADDRESS ON FILE
COLON RODRIGUEZ, PEDRO L     ADDRESS ON FILE
COLON RODRIGUEZ, RAFAEL      ADDRESS ON FILE
Colon Rodriguez, Rafael A    ADDRESS ON FILE
Colon Rodriguez, Ramon       ADDRESS ON FILE
COLON RODRIGUEZ, RAMON       ADDRESS ON FILE
Colon Rodriguez, Ramon E     ADDRESS ON FILE
COLON RODRIGUEZ, RAMONITA    ADDRESS ON FILE
COLON RODRIGUEZ, RAQUEL M.   ADDRESS ON FILE
COLON RODRIGUEZ, RAUL        ADDRESS ON FILE
COLON RODRIGUEZ, RICHARD     ADDRESS ON FILE
COLON RODRIGUEZ, ROBERTO     ADDRESS ON FILE
COLON RODRIGUEZ, ROBERTO     ADDRESS ON FILE
COLON RODRIGUEZ, ROBERTO     ADDRESS ON FILE
COLON RODRIGUEZ, ROCHELLY    ADDRESS ON FILE
COLON RODRIGUEZ, ROSA H      ADDRESS ON FILE
COLON RODRIGUEZ, ROSA M      ADDRESS ON FILE
COLON RODRIGUEZ, ROSA M.     ADDRESS ON FILE
COLON RODRIGUEZ, ROSELYN     ADDRESS ON FILE
COLON RODRIGUEZ, RUFINO      ADDRESS ON FILE
COLON RODRIGUEZ, SAHILY      ADDRESS ON FILE
Colon Rodriguez, Samuel      ADDRESS ON FILE
COLON RODRIGUEZ, SANDRA      ADDRESS ON FILE
COLON RODRIGUEZ, SANDRA L    ADDRESS ON FILE
COLON RODRIGUEZ, SATURNINO   ADDRESS ON FILE
COLON RODRIGUEZ, SHEILA M    ADDRESS ON FILE
COLON RODRIGUEZ, SILVIA      ADDRESS ON FILE
COLON RODRIGUEZ, SINDIA M    ADDRESS ON FILE
COLON RODRIGUEZ, SONIA       ADDRESS ON FILE
Colon Rodriguez, Sonia I     ADDRESS ON FILE
COLON RODRIGUEZ, SONIA I     ADDRESS ON FILE
COLON RODRIGUEZ, SVETLAM     ADDRESS ON FILE
COLON RODRIGUEZ, SYLVETTE    ADDRESS ON FILE
COLON RODRIGUEZ, TAINA M.    ADDRESS ON FILE
COLON RODRIGUEZ, VANESSA     ADDRESS ON FILE
COLON RODRIGUEZ, VICTOR M    ADDRESS ON FILE
COLON RODRIGUEZ, VIMARIE     ADDRESS ON FILE
COLON RODRIGUEZ, VIRGEN B    ADDRESS ON FILE




                                                                         Page 1686 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1687 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RODRIGUEZ, VIRGEN M        ADDRESS ON FILE
COLON RODRIGUEZ, WANDA           ADDRESS ON FILE
COLON RODRIGUEZ, WANDA L.        ADDRESS ON FILE
COLON RODRIGUEZ, WENDEL          ADDRESS ON FILE
COLON RODRIGUEZ, WILFREDO        ADDRESS ON FILE
COLON RODRIGUEZ, WILLIAM         ADDRESS ON FILE
COLON RODRIGUEZ, WILLIAM         ADDRESS ON FILE
COLON RODRIGUEZ, WILMA           ADDRESS ON FILE
COLON RODRIGUEZ, XAVIER          ADDRESS ON FILE
COLON RODRIGUEZ, XIOMARA         ADDRESS ON FILE
Colon Rodriguez, Xiomara         ADDRESS ON FILE
COLON RODRIGUEZ, XIOMARA         ADDRESS ON FILE
Colon Rodriguez, Yazmin          ADDRESS ON FILE
COLON RODRIGUEZ, YENIMAR E.      ADDRESS ON FILE
COLON RODRIGUEZ, YESENIA         ADDRESS ON FILE
COLON RODRIGUEZ, YESSENIA        ADDRESS ON FILE
COLON RODRIGUEZ, YESSENIA        ADDRESS ON FILE
COLON RODRIGUEZ, ZAHIRA          ADDRESS ON FILE
COLON RODRIGUEZ, ZAHIRA          ADDRESS ON FILE
COLON RODRIGUEZ, ZAIMARIE        ADDRESS ON FILE
COLON RODRIGUEZ, ZORAIDA         ADDRESS ON FILE
COLON RODRIGUEZ, ZORAIDA         ADDRESS ON FILE
COLON RODRIGUEZ, ZULEYKA         ADDRESS ON FILE
COLON RODRIGUEZ, ZULEYKA EDMEE   ADDRESS ON FILE
COLON RODRIGUEZ,MAYRA            ADDRESS ON FILE
COLON RODRIGUEZ,YAMIL            ADDRESS ON FILE
COLON ROIG MD, MARIA D           ADDRESS ON FILE
COLON ROJAS, DEWELL              ADDRESS ON FILE
COLON ROJAS, ISAURA              ADDRESS ON FILE
COLON ROJAS, SAMARI              ADDRESS ON FILE
COLON ROLDAN, ELVIN              ADDRESS ON FILE
COLON ROLDAN, JOEL               ADDRESS ON FILE
COLON ROLDAN, MARIA              ADDRESS ON FILE
COLON ROLDAN, ROSA               ADDRESS ON FILE
COLON ROLDAN, WILMARIE           ADDRESS ON FILE
COLON ROLON, ALEXANDER           ADDRESS ON FILE
COLON ROLON, CARMEN D            ADDRESS ON FILE
COLON ROLON, JOSE                ADDRESS ON FILE
COLON ROLON, KARINA              ADDRESS ON FILE
COLON ROLON, LUIS A              ADDRESS ON FILE
COLON ROLON, MARITZA             ADDRESS ON FILE
COLON ROLON, NYDIA M.            ADDRESS ON FILE
COLON ROLON, NYDIA M.            ADDRESS ON FILE
COLON ROLON, OBDULIA             ADDRESS ON FILE
COLON ROLON, OBDULIA             ADDRESS ON FILE
COLON ROLON, SAMUEL              ADDRESS ON FILE
COLON ROLON, SAMUEL              ADDRESS ON FILE
COLON ROLON, SONIA               ADDRESS ON FILE
COLON ROLON, TERESA              ADDRESS ON FILE
COLON ROLON, YADIRA IVETTE       ADDRESS ON FILE
COLON ROLON, YADITZA ESTHER      ADDRESS ON FILE
COLON ROMAN, ADALBERTO           ADDRESS ON FILE
COLON ROMAN, ANA D               ADDRESS ON FILE
COLON ROMAN, BALDUINO            ADDRESS ON FILE
COLON ROMAN, CARMELO             ADDRESS ON FILE
COLON ROMAN, CARMELO             ADDRESS ON FILE
COLON ROMAN, CARMEN              ADDRESS ON FILE
COLON ROMAN, CARMEN              ADDRESS ON FILE
COLON ROMAN, DAMARY              ADDRESS ON FILE
COLON ROMAN, DIANA M.            ADDRESS ON FILE




                                                                             Page 1687 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1688 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ROMAN, EGNIS            ADDRESS ON FILE
COLON ROMAN, ELISETTE         ADDRESS ON FILE
COLON ROMAN, EVILA            ADDRESS ON FILE
COLON ROMAN, GABRIEL          ADDRESS ON FILE
COLON ROMAN, GABRIEL          ADDRESS ON FILE
COLON ROMAN, HUMBERTO         ADDRESS ON FILE
COLON ROMAN, JOSE             ADDRESS ON FILE
Colon Roman, Juan P.          ADDRESS ON FILE
COLON ROMAN, JULIO            ADDRESS ON FILE
COLON ROMAN, LYNETTE          ADDRESS ON FILE
COLON ROMAN, MARIA            ADDRESS ON FILE
Colon Roman, Reynaldo         ADDRESS ON FILE
COLON ROMAN, ROBERTO M        ADDRESS ON FILE
COLON ROMAN, TEODORO          ADDRESS ON FILE
COLON ROMAN, WANDA I          ADDRESS ON FILE
COLON ROMAN, ZACHA            ADDRESS ON FILE
COLON ROMAN, ZAYRAH E.        ADDRESS ON FILE
COLON ROMAN, ZORYSTHER T      ADDRESS ON FILE
COLON ROMERO, ADELAIDA        ADDRESS ON FILE
COLON ROMERO, ANGEL           ADDRESS ON FILE
COLON ROMERO, CARMEN M.       ADDRESS ON FILE
COLON ROMERO, DAVID           ADDRESS ON FILE
COLON ROMERO, EDGARDO         ADDRESS ON FILE
COLON ROMERO, EMMANUEL        ADDRESS ON FILE
COLON ROMERO, HECTOR I.       ADDRESS ON FILE
COLON ROMERO, JACQUELINE      ADDRESS ON FILE
Colon Romero, Jose D          ADDRESS ON FILE
COLON ROMERO, KARLA C.        ADDRESS ON FILE
COLON ROMERO, SONIA           ADDRESS ON FILE
COLON ROMEU, LUIS             ADDRESS ON FILE
COLON RONDON, CARMEN IDALIA   ADDRESS ON FILE
COLON ROQUE, JORGE            ADDRESS ON FILE
COLON ROQUE, JORGE L.         ADDRESS ON FILE
COLON ROQUE, JOSE R.          ADDRESS ON FILE
Colon Roque, Luis Andrew      ADDRESS ON FILE
COLON ROQUE, MARIA V          ADDRESS ON FILE
COLON ROQUE, PEDRO            ADDRESS ON FILE
COLON ROSA, ADALBERTO         ADDRESS ON FILE
COLON ROSA, AIDA E            ADDRESS ON FILE
COLON ROSA, ALICE S           ADDRESS ON FILE
COLON ROSA, ALMA L.           ADDRESS ON FILE
Colon Rosa, Ana L             ADDRESS ON FILE
COLON ROSA, ANGEL             ADDRESS ON FILE
COLON ROSA, BLANCA M.         ADDRESS ON FILE
Colon Rosa, Carlos            ADDRESS ON FILE
COLON ROSA, CAROL E           ADDRESS ON FILE
COLON ROSA, DAVID             ADDRESS ON FILE
COLON ROSA, EMMA R.           ADDRESS ON FILE
COLON ROSA, IVELISSE          ADDRESS ON FILE
COLON ROSA, JENNY             ADDRESS ON FILE
Colon Rosa, Lizzette          ADDRESS ON FILE
COLON ROSA, LOURDES I         ADDRESS ON FILE
COLON ROSA, MARIA E           ADDRESS ON FILE
COLON ROSA, MARITZA E.        ADDRESS ON FILE
COLON ROSA, MAYRA             ADDRESS ON FILE
COLON ROSA, MIRIAM            ADDRESS ON FILE
COLON ROSA, MYRIAM E          ADDRESS ON FILE
COLON ROSA, PEDRO             ADDRESS ON FILE
COLON ROSA, RAFAEL            ADDRESS ON FILE
COLON ROSA, RAFAEL            ADDRESS ON FILE




                                                                          Page 1688 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1689 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ROSA, RICARDO        ADDRESS ON FILE
Colon Rosa, Tirsa M        ADDRESS ON FILE
COLON ROSA, VANESSA        ADDRESS ON FILE
COLON ROSA, WANDA          ADDRESS ON FILE
COLON ROSA, WILDA          ADDRESS ON FILE
COLON ROSA, WILFREDO       ADDRESS ON FILE
COLON ROSA, YAMIRA         ADDRESS ON FILE
COLON ROSADO, ALBERT       ADDRESS ON FILE
COLON ROSADO, ANGEL B      ADDRESS ON FILE
COLON ROSADO, ANGEL L      ADDRESS ON FILE
COLON ROSADO, ANGELA M.    ADDRESS ON FILE
COLON ROSADO, ANIBAL       ADDRESS ON FILE
COLON ROSADO, BENJAMIN     ADDRESS ON FILE
Colon Rosado, Carlos       ADDRESS ON FILE
COLON ROSADO, CARLOS       ADDRESS ON FILE
COLON ROSADO, CARMEN       ADDRESS ON FILE
COLON ROSADO, CARMEN L     ADDRESS ON FILE
COLON ROSADO, DAVID        ADDRESS ON FILE
COLON ROSADO, EDGARDO      ADDRESS ON FILE
COLON ROSADO, EDWIN        ADDRESS ON FILE
COLON ROSADO, ELIZABETH    ADDRESS ON FILE
COLON ROSADO, ELSIE        ADDRESS ON FILE
COLON ROSADO, ELSO         ADDRESS ON FILE
COLON ROSADO, ENRIQUE      ADDRESS ON FILE
COLON ROSADO, ESTHER       ADDRESS ON FILE
COLON ROSADO, EVELYN       ADDRESS ON FILE
COLON ROSADO, FERNANDO     ADDRESS ON FILE
Colon Rosado, Generosa     ADDRESS ON FILE
COLON ROSADO, GLENDA L     ADDRESS ON FILE
COLON ROSADO, GLENDA L     ADDRESS ON FILE
COLON ROSADO, GLENDALIZ    ADDRESS ON FILE
COLON ROSADO, JANNICE M    ADDRESS ON FILE
COLON ROSADO, JOAN M       ADDRESS ON FILE
COLON ROSADO, JORGE        ADDRESS ON FILE
COLON ROSADO, JOSE         ADDRESS ON FILE
COLON ROSADO, JOSE         ADDRESS ON FILE
COLON ROSADO, LUCAS        ADDRESS ON FILE
COLON ROSADO, LUISA        ADDRESS ON FILE
COLON ROSADO, MAILA K.     ADDRESS ON FILE
COLON ROSADO, MARITZA      ADDRESS ON FILE
COLON ROSADO, MEI          ADDRESS ON FILE
COLON ROSADO, MEI LYN      ADDRESS ON FILE
COLON ROSADO, MIGDALIA     ADDRESS ON FILE
Colon Rosado, Migdalia     ADDRESS ON FILE
COLON ROSADO, MILDRED      ADDRESS ON FILE
COLON ROSADO, MILLY        ADDRESS ON FILE
COLON ROSADO, NATALIA      ADDRESS ON FILE
COLON ROSADO, NELSON       ADDRESS ON FILE
COLON ROSADO, ORLANDO      ADDRESS ON FILE
Colon Rosado, Orlando      ADDRESS ON FILE
COLON ROSADO, ORLANDO      ADDRESS ON FILE
COLON ROSADO, RAFAEL       ADDRESS ON FILE
Colon Rosado, Ricardo      ADDRESS ON FILE
Colon Rosado, Rosendo      ADDRESS ON FILE
COLON ROSADO, SILVERIO     ADDRESS ON FILE
COLON ROSADO, WALTER       ADDRESS ON FILE
COLON ROSADO, WIDALIS      ADDRESS ON FILE
COLON ROSADO, WILDA        ADDRESS ON FILE
COLON ROSARIO, ALEXANDRA   ADDRESS ON FILE
Colon Rosario, Angel R     ADDRESS ON FILE




                                                                       Page 1689 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1690 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON ROSARIO, ANTONIA       ADDRESS ON FILE
COLON ROSARIO, CARMEN M      ADDRESS ON FILE
COLON ROSARIO, CORAIMA       ADDRESS ON FILE
COLON ROSARIO, CRISTIAN      ADDRESS ON FILE
Colon Rosario, Daniel        ADDRESS ON FILE
COLON ROSARIO, DAVID         ADDRESS ON FILE
COLON ROSARIO, DAVID         ADDRESS ON FILE
Colon Rosario, Elias         ADDRESS ON FILE
COLON ROSARIO, ELIEZER       ADDRESS ON FILE
COLON ROSARIO, ENRIQUE       ADDRESS ON FILE
COLON ROSARIO, FERNANDO A    ADDRESS ON FILE
COLON ROSARIO, GABRIELA      ADDRESS ON FILE
COLON ROSARIO, GLORYMAR      ADDRESS ON FILE
COLON ROSARIO, HECTOR        ADDRESS ON FILE
COLON ROSARIO, HECTOR J      ADDRESS ON FILE
COLON ROSARIO, HECTOR OMAR   ADDRESS ON FILE
COLON ROSARIO, IRIS A        ADDRESS ON FILE
COLON ROSARIO, IRNERIE L     ADDRESS ON FILE
COLON ROSARIO, JOHANA        ADDRESS ON FILE
COLON ROSARIO, JONATHAN      ADDRESS ON FILE
Colon Rosario, Jose A.       ADDRESS ON FILE
COLON ROSARIO, JOSE C.       ADDRESS ON FILE
COLON ROSARIO, KARLA M       ADDRESS ON FILE
COLON ROSARIO, LILLIAN       ADDRESS ON FILE
COLON ROSARIO, LISANDRA      ADDRESS ON FILE
COLON ROSARIO, LUIS          ADDRESS ON FILE
COLON ROSARIO, LYDIA         ADDRESS ON FILE
COLON ROSARIO, MARIELISA     ADDRESS ON FILE
COLON ROSARIO, MARILIE       ADDRESS ON FILE
COLON ROSARIO, MARITZA       ADDRESS ON FILE
COLON ROSARIO, MYRNA         ADDRESS ON FILE
COLON ROSARIO, MYRNA I       ADDRESS ON FILE
COLON ROSARIO, OLGA E.       ADDRESS ON FILE
COLON ROSARIO, OMAYRA        ADDRESS ON FILE
COLON ROSARIO, RAUL          ADDRESS ON FILE
COLON ROSARIO, REINALDO      ADDRESS ON FILE
COLON ROSARIO, RICARDO       ADDRESS ON FILE
COLON ROSARIO, ROLANDO       ADDRESS ON FILE
COLON ROSARIO, SONIA         ADDRESS ON FILE
COLON ROSARIO,MARCELO        ADDRESS ON FILE
Colon Rosas, Carlos E        ADDRESS ON FILE
COLON ROSAS, IVETTE          ADDRESS ON FILE
COLON ROSAS, JORGE           ADDRESS ON FILE
COLON ROSELL, CHANTAL        ADDRESS ON FILE
COLON ROSELLO, CARMEN S      ADDRESS ON FILE
COLON ROSELLO, LUZ C.        ADDRESS ON FILE
COLON ROURE, CARMEN          ADDRESS ON FILE
COLON RUBERT, JEANNETTE      ADDRESS ON FILE
COLON RUIZ, ADALBERTO        ADDRESS ON FILE
COLON RUIZ, ALEX             ADDRESS ON FILE
COLON RUIZ, AMARILIS         ADDRESS ON FILE
COLON RUIZ, ANGEL            ADDRESS ON FILE
COLON RUIZ, ARMANDO A.       ADDRESS ON FILE
COLON RUIZ, CANDIDO          ADDRESS ON FILE
COLON RUIZ, CRISTOBAL        ADDRESS ON FILE
COLON RUIZ, DAMARIS          ADDRESS ON FILE
COLON RUIZ, DAMARIS          ADDRESS ON FILE
COLON RUIZ, DAVID            ADDRESS ON FILE
COLON RUIZ, DAVID M.         ADDRESS ON FILE
COLON RUIZ, EVELYN           ADDRESS ON FILE




                                                                         Page 1690 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1691 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON RUIZ, FELIX              ADDRESS ON FILE
COLON RUIZ, FRANCISCO          ADDRESS ON FILE
COLON RUIZ, GENESIS            ADDRESS ON FILE
COLON RUIZ, JANESSE            ADDRESS ON FILE
COLON RUIZ, JASON              ADDRESS ON FILE
COLON RUIZ, JESUS A.           ADDRESS ON FILE
COLON RUIZ, JORGE              ADDRESS ON FILE
COLON RUIZ, JOSE               ADDRESS ON FILE
COLON RUIZ, JOSHUA             ADDRESS ON FILE
COLON RUIZ, JULIA              ADDRESS ON FILE
COLON RUIZ, LEANDRO            ADDRESS ON FILE
COLON RUIZ, LOURDES            ADDRESS ON FILE
COLON RUIZ, LUZ M              ADDRESS ON FILE
COLON RUIZ, MANUEL             ADDRESS ON FILE
Colon Ruiz, Manuel             ADDRESS ON FILE
COLON RUIZ, MILAGROS           ADDRESS ON FILE
COLON RUIZ, MIRIAM             ADDRESS ON FILE
COLON RUIZ, MORAIMA            ADDRESS ON FILE
COLON RUIZ, NORMA I            ADDRESS ON FILE
Colon Ruiz, Pedro              ADDRESS ON FILE
COLON RUIZ, RAFAEL             ADDRESS ON FILE
COLON RUIZ, SANTOS             ADDRESS ON FILE
COLON RUIZ, TOMAS              ADDRESS ON FILE
COLON RUIZ, WANDA E.           ADDRESS ON FILE
COLON RUIZ, YAHAIRA            ADDRESS ON FILE
COLON RUIZ, YAMIL              ADDRESS ON FILE
COLON RUIZ, YARELIS            ADDRESS ON FILE
COLON SABCHEZ, LISAVETTE       ADDRESS ON FILE
COLON SAEZ, JANET              ADDRESS ON FILE
Colon Saez, Jose               ADDRESS ON FILE
COLON SAEZ, JOSE O.            ADDRESS ON FILE
COLON SAEZ, LUIS A.            ADDRESS ON FILE
COLON SAEZ, NORMA I            ADDRESS ON FILE
COLON SAEZ, RAIZA              ADDRESS ON FILE
COLON SAEZ, VICTOR M           ADDRESS ON FILE
COLON SALAS, CLARA J           ADDRESS ON FILE
COLON SALAS, NEYSHA            ADDRESS ON FILE
COLON SALAS, VICTOR L.         ADDRESS ON FILE
COLON SALGADO, AIDA            ADDRESS ON FILE
COLON SALGADO, ANTONIO         ADDRESS ON FILE
COLON SALGADO, CARMEN DEL R.   ADDRESS ON FILE
COLON SALGADO, LUZ S.          ADDRESS ON FILE
COLON SALGADO, MARIA M.        ADDRESS ON FILE
COLON SALGADO, NORMA I         ADDRESS ON FILE
COLON SALGADO, ROSA            ADDRESS ON FILE
COLON SALICHS, JAIME L.        ADDRESS ON FILE
COLON SANABRIA, ANA C          ADDRESS ON FILE
COLON SANABRIA, LOURDES        ADDRESS ON FILE
COLON SANCHEZ MD, NESTOR A     ADDRESS ON FILE
COLON SANCHEZ, AIDA L          ADDRESS ON FILE
Colon Sanchez, Alexander       ADDRESS ON FILE
COLON SANCHEZ, ALEXANDER       ADDRESS ON FILE
COLON SANCHEZ, ANA L.          ADDRESS ON FILE
COLON SANCHEZ, ANGEL           ADDRESS ON FILE
COLON SANCHEZ, ANGEL LUIS      ADDRESS ON FILE
COLON SANCHEZ, ANGELITA        ADDRESS ON FILE
COLON SANCHEZ, ANTONIO         ADDRESS ON FILE
Colon Sanchez, Antonio J.      ADDRESS ON FILE
COLON SANCHEZ, ARNOLD          ADDRESS ON FILE
COLON SANCHEZ, BARBARA I       ADDRESS ON FILE




                                                                           Page 1691 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1692 of 3500
                                                                            17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
COLON SANCHEZ, CANDIMAR      ADDRESS ON FILE
COLON SANCHEZ, CANDIMAR      ADDRESS ON FILE
COLON SANCHEZ, CARLOS        ADDRESS ON FILE
COLON SANCHEZ, CARLOS        ADDRESS ON FILE
COLON SANCHEZ, CARMEN M      ADDRESS ON FILE
COLON SANCHEZ, CRISTINA      ADDRESS ON FILE
COLON SANCHEZ, DAVID         ADDRESS ON FILE
COLON SANCHEZ, DEBORAH       ADDRESS ON FILE
COLON SANCHEZ, DIEGO         ADDRESS ON FILE
COLON SANCHEZ, DIGNA         ADDRESS ON FILE
COLON SANCHEZ, ELIZABETH     ADDRESS ON FILE
COLON SANCHEZ, EMILIO        ADDRESS ON FILE
COLON SANCHEZ, ESMIRNA       ADDRESS ON FILE
COLON SANCHEZ, FELIX A.      ADDRESS ON FILE
COLON SANCHEZ, GILBERTO      ADDRESS ON FILE
COLON SANCHEZ, GLORIA M      ADDRESS ON FILE
COLON SANCHEZ, HERMINIO      ADDRESS ON FILE
COLON SANCHEZ, ISMAEL        ADDRESS ON FILE
Colon Sanchez, Ivan          ADDRESS ON FILE
COLON SANCHEZ, IVAN R        ADDRESS ON FILE
COLON SANCHEZ, IVONNE L      ADDRESS ON FILE
COLON SANCHEZ, JACQUELINE    ADDRESS ON FILE
COLON SANCHEZ, JEIREN        ADDRESS ON FILE
Colon Sanchez, Jeisa J       ADDRESS ON FILE
COLON SANCHEZ, JEYMARIE      ADDRESS ON FILE
COLON SANCHEZ, JOSE          ADDRESS ON FILE
COLON SANCHEZ, JOSE          ADDRESS ON FILE
Colon Sanchez, Jose A        ADDRESS ON FILE
COLÓN SÁNCHEZ, JOSÉ A.       LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
COLÓN SÁNCHEZ, JOSÉ A.       LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
COLON SANCHEZ, JUAN C        ADDRESS ON FILE
COLON SANCHEZ, JULIO OSCAR   ADDRESS ON FILE
COLON SANCHEZ, KEISHA        ADDRESS ON FILE
COLON SANCHEZ, LADY          ADDRESS ON FILE
Colon Sanchez, Letza A       ADDRESS ON FILE
COLON SANCHEZ, LIANI         ADDRESS ON FILE
COLON SANCHEZ, LILLIAM N     ADDRESS ON FILE
COLON SANCHEZ, LILLIANA      ADDRESS ON FILE
COLON SANCHEZ, LIZETTE       ADDRESS ON FILE
COLON SANCHEZ, MADELINE      ADDRESS ON FILE
COLON SANCHEZ, MARIA         ADDRESS ON FILE
COLON SANCHEZ, MARIA DEL C   ADDRESS ON FILE
COLON SANCHEZ, MARIA L.      ADDRESS ON FILE
COLON SANCHEZ, MARIANA       ADDRESS ON FILE
COLON SANCHEZ, MARTA         ADDRESS ON FILE
COLON SANCHEZ, MARTA I       ADDRESS ON FILE
COLON SANCHEZ, MARTA L       ADDRESS ON FILE
COLON SANCHEZ, MARVIN        ADDRESS ON FILE
Colon Sanchez, Marvin L      ADDRESS ON FILE
COLON SANCHEZ, MIGDALIA      ADDRESS ON FILE
COLON SANCHEZ, MIGDALIA      ADDRESS ON FILE
COLON SANCHEZ, MILCA         ADDRESS ON FILE
COLON SANCHEZ, MYRNA         ADDRESS ON FILE
COLON SANCHEZ, MYRNA S       ADDRESS ON FILE
COLON SANCHEZ, NEREIDA       ADDRESS ON FILE
COLON SANCHEZ, NEREIDA       ADDRESS ON FILE
COLON SANCHEZ, NESTOR        ADDRESS ON FILE
COLON SANCHEZ, PABLO         ADDRESS ON FILE
COLON SANCHEZ, PABLO         ADDRESS ON FILE
COLON SANCHEZ, RAFAEL        ADDRESS ON FILE




                                                                                  Page 1692 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1693 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                        Address2                   Address3   Address4   City         State   PostalCode   Country
Colon Sanchez, Rafael           ADDRESS ON FILE
COLON SANCHEZ, REYNALDO J       ADDRESS ON FILE
COLON SANCHEZ, RICHARD          ADDRESS ON FILE
COLON SANCHEZ, RUBEN O.         ADDRESS ON FILE
COLON SANCHEZ, SACHA M          ADDRESS ON FILE
COLON SANCHEZ, SORYMAR          ADDRESS ON FILE
COLON SANCHEZ, VELMARY          ADDRESS ON FILE
COLON SANCHEZ, WANDA I          ADDRESS ON FILE
COLON SANCHEZ, WILFREDO         ADDRESS ON FILE
COLON SANCHEZ, YANIRA DEL C     ADDRESS ON FILE
COLON SANCHEZ, YOLANDA          ADDRESS ON FILE
COLON SANCHEZ, YULISSA          ADDRESS ON FILE
COLON SANCHEZ, YVELISSE         ADDRESS ON FILE
COLON SANCHEZ,MAITEE            ADDRESS ON FILE
COLON SANDELL, LEOPOLDO         ADDRESS ON FILE
COLON SANDELL, PAULA            ADDRESS ON FILE
COLON SANDOVAL, HECTOR          ADDRESS ON FILE
COLON SANES, JAHAYRA            ADDRESS ON FILE
COLON SANES, LEONIDES           ADDRESS ON FILE
COLON SANES, LORNA G.           ADDRESS ON FILE
COLON SANTA, ELBA               ADDRESS ON FILE
COLON SANTAELLA, CARMEN         ADDRESS ON FILE
COLON SANTANA Y ASOCIADOS CSP   URB BALDRICH 315 COLL Y TOSTE                                                    SAN JUAN     PR      00918
COLON SANTANA, ANGEL L.         ADDRESS ON FILE
COLON SANTANA, ANGIE            ADDRESS ON FILE
COLON SANTANA, AUREA            ADDRESS ON FILE
Colon Santana, Carmen D         ADDRESS ON FILE
COLON SANTANA, EFRAIN           ADDRESS ON FILE
COLON SANTANA, EILEEN           ADDRESS ON FILE
COLON SANTANA, ESTHER           ADDRESS ON FILE
COLON SANTANA, FELIX            ADDRESS ON FILE
COLON SANTANA, JINNA            ADDRESS ON FILE
COLON SANTANA, JONEL            ADDRESS ON FILE
Colon Santana, Maranyely        ADDRESS ON FILE
COLON SANTANA, MARTHA M.        ADDRESS ON FILE
COLON SANTANA, NANCY            ADDRESS ON FILE
COLON SANTANA, NELSON           ADDRESS ON FILE
COLON SANTANA, RODOLFO          ADDRESS ON FILE
COLON SANTANA, SHEILA M         ADDRESS ON FILE
COLON SANTANA, TINNA M          ADDRESS ON FILE
COLON SANTANA, YOLANDA          ADDRESS ON FILE
COLON SANTANA,FELIX             ADDRESS ON FILE
COLON SANTANA,YAMILE            ADDRESS ON FILE
COLON SANTIAGO, ADA M           ADDRESS ON FILE
COLON SANTIAGO, ADALBERTO       ADDRESS ON FILE
COLON SANTIAGO, AIDA E          ADDRESS ON FILE
COLON SANTIAGO, ALEX            ADDRESS ON FILE
COLON SANTIAGO, ALEXANDRA       ADDRESS ON FILE
COLON SANTIAGO, ALEXIS          ADDRESS ON FILE
COLON SANTIAGO, ALMA            ADDRESS ON FILE
COLON SANTIAGO, ALVIN           ADDRESS ON FILE
COLON SANTIAGO, AMADO           ADDRESS ON FILE
COLON SANTIAGO, AMARELIS        ADDRESS ON FILE
COLON SANTIAGO, ANA L           ADDRESS ON FILE
Colon Santiago, Ana M           ADDRESS ON FILE
COLON SANTIAGO, ANABELIZ        ADDRESS ON FILE
COLON SANTIAGO, ANGEL           ADDRESS ON FILE
COLON SANTIAGO, ANGEL           ADDRESS ON FILE
COLON SANTIAGO, ANGEL C         ADDRESS ON FILE
COLON SANTIAGO, ANGEL F.        ADDRESS ON FILE




                                                                            Page 1693 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1694 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SANTIAGO, ANGEL L       ADDRESS ON FILE
COLON SANTIAGO, ANGELA        ADDRESS ON FILE
COLON SANTIAGO, ANIBAL        ADDRESS ON FILE
COLON SANTIAGO, ANIBAL        ADDRESS ON FILE
COLON SANTIAGO, ARLEEN A      ADDRESS ON FILE
COLON SANTIAGO, ARNALDO       ADDRESS ON FILE
COLON SANTIAGO, AURELIO       ADDRESS ON FILE
COLON SANTIAGO, BEATRIZ       ADDRESS ON FILE
COLON SANTIAGO, BEMELYSS      ADDRESS ON FILE
COLON SANTIAGO, BENIGNO       ADDRESS ON FILE
COLON SANTIAGO, BRENDA        ADDRESS ON FILE
COLON SANTIAGO, BRENDA L      ADDRESS ON FILE
COLON SANTIAGO, BRENDA L.     ADDRESS ON FILE
COLON SANTIAGO, BRENDA L.     ADDRESS ON FILE
COLON SANTIAGO, BRENDALI      ADDRESS ON FILE
COLON SANTIAGO, CARLOS        ADDRESS ON FILE
Colon Santiago, Carlos M      ADDRESS ON FILE
COLON SANTIAGO, CARMEN        ADDRESS ON FILE
COLON SANTIAGO, CARMEN D      ADDRESS ON FILE
COLON SANTIAGO, CARMEN J      ADDRESS ON FILE
COLON SANTIAGO, CARMEN M.     ADDRESS ON FILE
COLON SANTIAGO, CARMEN M.     ADDRESS ON FILE
COLON SANTIAGO, CECY ANN      ADDRESS ON FILE
COLON SANTIAGO, CHRISTIAN     ADDRESS ON FILE
COLON SANTIAGO, CLIFFORD      ADDRESS ON FILE
COLON SANTIAGO, DAISY         ADDRESS ON FILE
COLON SANTIAGO, DANIEL        ADDRESS ON FILE
Colon Santiago, Daniel F      ADDRESS ON FILE
COLON SANTIAGO, DARLENE G     ADDRESS ON FILE
COLON SANTIAGO, DEISON        ADDRESS ON FILE
COLON SANTIAGO, DELIZ M       ADDRESS ON FILE
Colon Santiago, Ed Benjamin   ADDRESS ON FILE
COLON SANTIAGO, EDDIE S       ADDRESS ON FILE
COLON SANTIAGO, EDEL          ADDRESS ON FILE
COLON SANTIAGO, EDGAR         ADDRESS ON FILE
COLON SANTIAGO, EDGARDO       ADDRESS ON FILE
Colon Santiago, Edilberto     ADDRESS ON FILE
Colon Santiago, Eliezer L.    ADDRESS ON FILE
COLON SANTIAGO, ELIEZER L.    ADDRESS ON FILE
COLON SANTIAGO, ELSA D        ADDRESS ON FILE
COLON SANTIAGO, ELVIRA        ADDRESS ON FILE
COLON SANTIAGO, EMMA          ADDRESS ON FILE
COLON SANTIAGO, EMMANUEL      ADDRESS ON FILE
COLON SANTIAGO, ENEIDA        ADDRESS ON FILE
COLON SANTIAGO, ERMELINDA     ADDRESS ON FILE
COLON SANTIAGO, EVANGELISTA   ADDRESS ON FILE
COLON SANTIAGO, FELIX J       ADDRESS ON FILE
Colon Santiago, Felix J       ADDRESS ON FILE
COLON SANTIAGO, FERDIN        ADDRESS ON FILE
COLON SANTIAGO, FLOR          ADDRESS ON FILE
COLON SANTIAGO, FLOR          ADDRESS ON FILE
COLON SANTIAGO, FRANCISCO     ADDRESS ON FILE
COLON SANTIAGO, GAMALIER      ADDRESS ON FILE
Colon Santiago, Genaro        ADDRESS ON FILE
COLON SANTIAGO, GERARDO       ADDRESS ON FILE
COLON SANTIAGO, GLADYS        ADDRESS ON FILE
COLON SANTIAGO, GLADYS I      ADDRESS ON FILE
COLON SANTIAGO, GLORIA A.     ADDRESS ON FILE
COLON SANTIAGO, GLORIA M      ADDRESS ON FILE
COLON SANTIAGO, GLORIA M      ADDRESS ON FILE




                                                                          Page 1694 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1695 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SANTIAGO, GLORYCELI        ADDRESS ON FILE
COLON SANTIAGO, GUILLERMO J      ADDRESS ON FILE
COLON SANTIAGO, HECTOR           ADDRESS ON FILE
COLON SANTIAGO, HECTOR D.        ADDRESS ON FILE
Colon Santiago, Hector L         ADDRESS ON FILE
Colon Santiago, Hector L         ADDRESS ON FILE
COLON SANTIAGO, HECTOR L.        ADDRESS ON FILE
COLON SANTIAGO, HECTOR M.        ADDRESS ON FILE
COLON SANTIAGO, HELDA L.         ADDRESS ON FILE
COLON SANTIAGO, HENRY            ADDRESS ON FILE
COLON SANTIAGO, IDA              ADDRESS ON FILE
COLON SANTIAGO, INOCENCIA        ADDRESS ON FILE
COLON SANTIAGO, IRIS I           ADDRESS ON FILE
Colon Santiago, Iris J           ADDRESS ON FILE
COLON SANTIAGO, IRIS J.          ADDRESS ON FILE
COLON SANTIAGO, IRMA N           ADDRESS ON FILE
COLON SANTIAGO, IVELISSE         ADDRESS ON FILE
COLON SANTIAGO, JACQUELINE       ADDRESS ON FILE
COLON SANTIAGO, JAIME            ADDRESS ON FILE
COLON SANTIAGO, JANET            ADDRESS ON FILE
COLON SANTIAGO, JEAN CARLOS      ADDRESS ON FILE
COLON SANTIAGO, JESSICA I.       ADDRESS ON FILE
COLON SANTIAGO, JESSICA I.       ADDRESS ON FILE
COLON SANTIAGO, JESSIKA M        ADDRESS ON FILE
COLON SANTIAGO, JESUS            ADDRESS ON FILE
COLON SANTIAGO, JOAN             ADDRESS ON FILE
COLON SANTIAGO, JOHN             ADDRESS ON FILE
COLON SANTIAGO, JONATHAN         ADDRESS ON FILE
COLON SANTIAGO, JONATHAN         ADDRESS ON FILE
Colon Santiago, Jorge L          ADDRESS ON FILE
Colon Santiago, Jose             ADDRESS ON FILE
COLON SANTIAGO, JOSE             ADDRESS ON FILE
COLON SANTIAGO, JOSE             ADDRESS ON FILE
COLON SANTIAGO, JOSE A           ADDRESS ON FILE
COLON SANTIAGO, JOSUE A.         ADDRESS ON FILE
COLON SANTIAGO, JOVANY           ADDRESS ON FILE
COLON SANTIAGO, JUAN A           ADDRESS ON FILE
Colon Santiago, Juan E           ADDRESS ON FILE
COLON SANTIAGO, JULIO            ADDRESS ON FILE
COLON SANTIAGO, JULIO VICTOR     ADDRESS ON FILE
COLON SANTIAGO, KAREN M          ADDRESS ON FILE
COLON SANTIAGO, KARLAMARIELYZA   ADDRESS ON FILE
COLON SANTIAGO, KENNETH          ADDRESS ON FILE
COLON SANTIAGO, LIANESA          ADDRESS ON FILE
COLON SANTIAGO, LINA             ADDRESS ON FILE
COLON SANTIAGO, LINETTE MARIE    ADDRESS ON FILE
COLON SANTIAGO, LIZZIE           ADDRESS ON FILE
COLON SANTIAGO, LUIS             ADDRESS ON FILE
COLON SANTIAGO, LUIS             ADDRESS ON FILE
COLON SANTIAGO, LUIS             ADDRESS ON FILE
COLON SANTIAGO, LUIS             ADDRESS ON FILE
Colon Santiago, Luis A           ADDRESS ON FILE
COLON SANTIAGO, LUIS A.          ADDRESS ON FILE
COLON SANTIAGO, LUIS D.          ADDRESS ON FILE
COLON SANTIAGO, LUZ              ADDRESS ON FILE
COLON SANTIAGO, LUZ A            ADDRESS ON FILE
COLON SANTIAGO, LUZ CELENIA      ADDRESS ON FILE
COLON SANTIAGO, LUZ E            ADDRESS ON FILE
COLON SANTIAGO, LUZ I            ADDRESS ON FILE
COLON SANTIAGO, LYNES M          ADDRESS ON FILE




                                                                             Page 1695 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1696 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SANTIAGO, MADELINE      ADDRESS ON FILE
COLON SANTIAGO, MADELLIN      ADDRESS ON FILE
COLON SANTIAGO, MANUEL        ADDRESS ON FILE
Colon Santiago, Manuel A.     ADDRESS ON FILE
COLON SANTIAGO, MARGARITA     ADDRESS ON FILE
COLON SANTIAGO, MARGARITA     ADDRESS ON FILE
COLON SANTIAGO, MARIA         ADDRESS ON FILE
COLON SANTIAGO, MARIA C.      ADDRESS ON FILE
COLON SANTIAGO, MARIA DEL C   ADDRESS ON FILE
COLON SANTIAGO, MARIA E       ADDRESS ON FILE
COLON SANTIAGO, MARIA I       ADDRESS ON FILE
COLON SANTIAGO, MARIA I       ADDRESS ON FILE
Colon Santiago, Maria I.      ADDRESS ON FILE
COLON SANTIAGO, MARIA L       ADDRESS ON FILE
COLON SANTIAGO, MARIA L       ADDRESS ON FILE
COLON SANTIAGO, MARIA M       ADDRESS ON FILE
COLON SANTIAGO, MARIA M       ADDRESS ON FILE
COLON SANTIAGO, MARIA M       ADDRESS ON FILE
COLON SANTIAGO, MARIBEL       ADDRESS ON FILE
COLON SANTIAGO, MARIEL        ADDRESS ON FILE
COLON SANTIAGO, MARILYN       ADDRESS ON FILE
COLON SANTIAGO, MARIO         ADDRESS ON FILE
COLON SANTIAGO, MARITZA       ADDRESS ON FILE
COLON SANTIAGO, MARLENE       ADDRESS ON FILE
COLON SANTIAGO, MARTA I       ADDRESS ON FILE
COLON SANTIAGO, MELISSA       ADDRESS ON FILE
COLON SANTIAGO, MELVIN        ADDRESS ON FILE
Colon Santiago, Michelle      ADDRESS ON FILE
COLON SANTIAGO, MIGUEL        ADDRESS ON FILE
COLON SANTIAGO, MIGUEL A      ADDRESS ON FILE
Colon Santiago, Miguel A      ADDRESS ON FILE
COLON SANTIAGO, MIGUEL A.     ADDRESS ON FILE
COLON SANTIAGO, MIRTA         ADDRESS ON FILE
COLON SANTIAGO, NELIDA B      ADDRESS ON FILE
COLON SANTIAGO, NELSON        ADDRESS ON FILE
COLON SANTIAGO, NELSON        ADDRESS ON FILE
COLON SANTIAGO, NEREIDA       ADDRESS ON FILE
Colon Santiago, Nidia         ADDRESS ON FILE
COLON SANTIAGO, NILDA J.      ADDRESS ON FILE
COLON SANTIAGO, NILDA M       ADDRESS ON FILE
COLON SANTIAGO, NILMA         ADDRESS ON FILE
COLON SANTIAGO, NILSA         ADDRESS ON FILE
COLON SANTIAGO, NILSA         ADDRESS ON FILE
COLON SANTIAGO, NIVIA E       ADDRESS ON FILE
COLON SANTIAGO, NOEMI         ADDRESS ON FILE
COLON SANTIAGO, NORBERTO      ADDRESS ON FILE
COLON SANTIAGO, NORMA I       ADDRESS ON FILE
COLON SANTIAGO, NORMA I       ADDRESS ON FILE
COLON SANTIAGO, NYDIA C.      ADDRESS ON FILE
COLON SANTIAGO, OLGA L        ADDRESS ON FILE
COLON SANTIAGO, OLGA M        ADDRESS ON FILE
COLON SANTIAGO, OLGA M        ADDRESS ON FILE
COLON SANTIAGO, OLGA ROCIO    ADDRESS ON FILE
COLON SANTIAGO, ORLANDO       ADDRESS ON FILE
COLON SANTIAGO, PABLO         ADDRESS ON FILE
COLON SANTIAGO, PILAR A.      ADDRESS ON FILE
COLON SANTIAGO, PRISNELLY M   ADDRESS ON FILE
COLON SANTIAGO, RAFAEL        ADDRESS ON FILE
COLON SANTIAGO, RAMON         ADDRESS ON FILE
COLON SANTIAGO, RAQUEL        ADDRESS ON FILE




                                                                          Page 1696 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1697 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SANTIAGO, REINALDO     ADDRESS ON FILE
COLON SANTIAGO, RICARDO      ADDRESS ON FILE
COLON SANTIAGO, RICARDO      ADDRESS ON FILE
COLON SANTIAGO, ROBERTO      ADDRESS ON FILE
COLON SANTIAGO, SANDRA M.    ADDRESS ON FILE
COLON SANTIAGO, SONIA        ADDRESS ON FILE
COLON SANTIAGO, SONIA N      ADDRESS ON FILE
COLON SANTIAGO, TEODORO      ADDRESS ON FILE
COLON SANTIAGO, VICTOR       ADDRESS ON FILE
COLON SANTIAGO, VILMARY      ADDRESS ON FILE
Colon Santiago, Wanda I.     ADDRESS ON FILE
COLON SANTIAGO, WILFREDO     ADDRESS ON FILE
COLON SANTIAGO, WILLIAM      ADDRESS ON FILE
COLON SANTIAGO, YAIXA        ADDRESS ON FILE
COLON SANTIAGO, YAZMIN       ADDRESS ON FILE
COLON SANTIAGO, YISELA DEL   ADDRESS ON FILE
COLON SANTIAGO, ZAIDA        ADDRESS ON FILE
COLON SANTIAGO, ZAIDA M.     ADDRESS ON FILE
COLON SANTIAGO, ZORIMAR      ADDRESS ON FILE
COLON SANTIAGO, ZULEIMA      ADDRESS ON FILE
COLON SANTINI, ANA C         ADDRESS ON FILE
COLON SANTINI, CLARA         ADDRESS ON FILE
COLON SANTINI, FERDINAND     ADDRESS ON FILE
Colon Santini, Flor I        ADDRESS ON FILE
Colon Santini, Hilda E       ADDRESS ON FILE
COLON SANTINI, RAMON L       ADDRESS ON FILE
Colon Santos, Alexis         ADDRESS ON FILE
COLON SANTOS, ALEXIS         ADDRESS ON FILE
COLON SANTOS, ALICIA         ADDRESS ON FILE
COLON SANTOS, BENITO         ADDRESS ON FILE
COLON SANTOS, CARMEN J       ADDRESS ON FILE
COLON SANTOS, CARMEN L       ADDRESS ON FILE
COLON SANTOS, DANNY          ADDRESS ON FILE
COLON SANTOS, DELIA          ADDRESS ON FILE
COLON SANTOS, DORELIS        ADDRESS ON FILE
COLON SANTOS, DORIS          ADDRESS ON FILE
COLON SANTOS, EDGAR          ADDRESS ON FILE
COLON SANTOS, EDGAR          ADDRESS ON FILE
COLON SANTOS, EILEEN         ADDRESS ON FILE
COLON SANTOS, EMMANUEL       ADDRESS ON FILE
COLON SANTOS, ERICA          ADDRESS ON FILE
COLON SANTOS, JOEL           ADDRESS ON FILE
COLON SANTOS, JOEL           ADDRESS ON FILE
COLON SANTOS, JOSE           ADDRESS ON FILE
Colon Santos, Jose D         ADDRESS ON FILE
COLON SANTOS, JULIO A        ADDRESS ON FILE
COLON SANTOS, JULIO A.       ADDRESS ON FILE
COLON SANTOS, KAREN          ADDRESS ON FILE
COLON SANTOS, KARITZA        ADDRESS ON FILE
COLON SANTOS, KARLA M.       ADDRESS ON FILE
COLON SANTOS, KEVIN          ADDRESS ON FILE
COLON SANTOS, LILIANA        ADDRESS ON FILE
COLON SANTOS, LUIS           ADDRESS ON FILE
COLON SANTOS, LUIS           ADDRESS ON FILE
COLON SANTOS, MARIA          ADDRESS ON FILE
COLON SANTOS, MARIA          ADDRESS ON FILE
COLON SANTOS, MARIA V        ADDRESS ON FILE
COLON SANTOS, MARIA Z        ADDRESS ON FILE
COLON SANTOS, MILAGROS       ADDRESS ON FILE
COLON SANTOS, MYRIAM         ADDRESS ON FILE




                                                                         Page 1697 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1698 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SANTOS, NYDIA           ADDRESS ON FILE
COLON SANTOS, ROXANNE         ADDRESS ON FILE
COLON SANTOS, SONIA           ADDRESS ON FILE
COLON SANTOS, STEFANY         ADDRESS ON FILE
Colon Santos, Xiomara M.      ADDRESS ON FILE
Colon Santos, Yesika          ADDRESS ON FILE
COLON SANTOS, ZAIDDEL         ADDRESS ON FILE
COLON SANTOS, ZORAIDA         ADDRESS ON FILE
COLON SANYET, EDWIN R.        ADDRESS ON FILE
COLON SANYET, MARANGELY       ADDRESS ON FILE
COLON SASTRE, LINETTE         ADDRESS ON FILE
COLON SAUZO, JOSUE            ADDRESS ON FILE
COLON SCARANO MD, MARIA M     ADDRESS ON FILE
COLON SCARANO, LIDIA          ADDRESS ON FILE
COLON SCARANO, RAUL           ADDRESS ON FILE
COLON SEDA, CARMEN M          ADDRESS ON FILE
COLON SEDA, DEBORAH           ADDRESS ON FILE
COLON SEDA, ELIZABETH         ADDRESS ON FILE
COLON SEDA, EVELYN            ADDRESS ON FILE
COLON SEDA, JORGE             ADDRESS ON FILE
Colon Seda, Jorge L.          ADDRESS ON FILE
COLON SEDA, JUANA             ADDRESS ON FILE
COLON SEGARRA, AGUEDA M       ADDRESS ON FILE
COLON SEGARRA, CONSUELO       ADDRESS ON FILE
COLON SEGARRA, ELBA           ADDRESS ON FILE
COLON SEGARRA, RINACCELIE     ADDRESS ON FILE
Colon Sein, Angel             ADDRESS ON FILE
COLON SELLES, FRANCISCO       ADDRESS ON FILE
COLON SELLES, RITA A          ADDRESS ON FILE
COLON SEMIDEY MD, ANGEL       ADDRESS ON FILE
Colon Semidey, Ana J          ADDRESS ON FILE
Colon Senquiz, Flor De Liz    ADDRESS ON FILE
COLON SEPULVEDA, ANGEL        ADDRESS ON FILE
COLON SEPULVEDA, ANGEL L.     ADDRESS ON FILE
COLON SEPULVEDA, EVELYN       ADDRESS ON FILE
COLON SEPULVEDA, JUAN         ADDRESS ON FILE
COLON SEPULVEDA, RAFAEL       ADDRESS ON FILE
COLON SERRA, ANA E            ADDRESS ON FILE
COLON SERRA, MARIA DE LOS A   ADDRESS ON FILE
COLON SERRA, MARIA M          ADDRESS ON FILE
COLON SERRA, ROBERTO          ADDRESS ON FILE
COLON SERRANO, AIXA           ADDRESS ON FILE
COLON SERRANO, ALEXIS         ADDRESS ON FILE
COLON SERRANO, ANA            ADDRESS ON FILE
COLON SERRANO, ANABELLE       ADDRESS ON FILE
COLON SERRANO, ANGEL T        ADDRESS ON FILE
COLON SERRANO, ANTONIO        ADDRESS ON FILE
COLON SERRANO, CARLOS M       ADDRESS ON FILE
COLON SERRANO, CARMEN         ADDRESS ON FILE
Colon Serrano, Carmen J.      ADDRESS ON FILE
COLON SERRANO, CESAR          ADDRESS ON FILE
COLON SERRANO, CESAR          ADDRESS ON FILE
COLON SERRANO, EFRAIN         ADDRESS ON FILE
COLON SERRANO, ELSA M         ADDRESS ON FILE
COLON SERRANO, FELIX          ADDRESS ON FILE
COLON SERRANO, FERNANDO       ADDRESS ON FILE
COLON SERRANO, FERNANDO       ADDRESS ON FILE
COLON SERRANO, GENOVEVA       ADDRESS ON FILE
Colon Serrano, Gerardo        ADDRESS ON FILE
COLON SERRANO, GERARDO        ADDRESS ON FILE




                                                                          Page 1698 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1699 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SERRANO, HAYDEE       ADDRESS ON FILE
COLON SERRANO, HECTOR       ADDRESS ON FILE
COLON SERRANO, INEZ         ADDRESS ON FILE
Colon Serrano, Jorge L      ADDRESS ON FILE
COLON SERRANO, JOSE A       ADDRESS ON FILE
COLON SERRANO, JOSE M.      ADDRESS ON FILE
Colon Serrano, Luis         ADDRESS ON FILE
COLON SERRANO, LUZ D.       ADDRESS ON FILE
COLON SERRANO, LUZ M.       ADDRESS ON FILE
COLON SERRANO, LUZ N        ADDRESS ON FILE
COLON SERRANO, MARILYN      ADDRESS ON FILE
Colon Serrano, Melvin J     ADDRESS ON FILE
COLON SERRANO, NELSON       ADDRESS ON FILE
Colon Serrano, Rafael E.    ADDRESS ON FILE
COLON SERRANO, RAIZA        ADDRESS ON FILE
COLON SERRANO, RAMFIS       ADDRESS ON FILE
COLON SERRANO, ROSALINDA    ADDRESS ON FILE
COLON SERRANO, SANTOS       ADDRESS ON FILE
COLON SERRANO, TERESA       ADDRESS ON FILE
COLON SERRANO, VALENTINA    ADDRESS ON FILE
COLON SERRANO, WALTER J     ADDRESS ON FILE
COLON SERRANO, XIOMARA      ADDRESS ON FILE
Colon Serrant, Jose A       ADDRESS ON FILE
COLON SIEMER, GLENDA        ADDRESS ON FILE
COLON SIEMER, NICOLE        ADDRESS ON FILE
COLON SIERRA, AIDA          ADDRESS ON FILE
COLON SIERRA, ALBERTO       ADDRESS ON FILE
COLON SIERRA, ANA R         ADDRESS ON FILE
COLON SIERRA, JENNIFFER     ADDRESS ON FILE
COLON SIERRA, JOSE A        ADDRESS ON FILE
COLON SIERRA, LAUCE         ADDRESS ON FILE
COLON SIERRA, MARCOS D.     ADDRESS ON FILE
COLON SIERRA, MARIA M       ADDRESS ON FILE
COLON SIERRA, RAUL          ADDRESS ON FILE
COLON SIFONTE, MARISABEL    ADDRESS ON FILE
COLON SILVA, BERNICE        ADDRESS ON FILE
COLON SILVA, CARMEN I       ADDRESS ON FILE
COLON SILVA, CHRISTIAN D.   ADDRESS ON FILE
COLON SILVA, DENISSE        ADDRESS ON FILE
COLON SILVA, ESTEBAN        ADDRESS ON FILE
Colon Silva, Marielena      ADDRESS ON FILE
COLON SOJO, MARIA C.        ADDRESS ON FILE
COLON SOJO, MARIA C.        ADDRESS ON FILE
COLON SOJO, SARA DE L       ADDRESS ON FILE
COLON SOLA, BERNARDO        ADDRESS ON FILE
COLON SOLA, ROGER J         ADDRESS ON FILE
COLON SOLER, BRENDA L       ADDRESS ON FILE
COLON SOLER, LUIS           ADDRESS ON FILE
COLON SOLER, RICARDO        ADDRESS ON FILE
COLON SOLERO, MIZRRAIN      ADDRESS ON FILE
COLON SOLIS, JOSE           ADDRESS ON FILE
Colon Solivan, Roberto      ADDRESS ON FILE
COLON SOLIVAN, ROBERTO      ADDRESS ON FILE
COLON SOLIVAN, YAZMIN       ADDRESS ON FILE
COLON SOMOHANO, LAURA       ADDRESS ON FILE
COLON SOMOHANO, RUBEN       ADDRESS ON FILE
COLON SOSA, JAYSON A        ADDRESS ON FILE
COLON SOSA, LUIS M          ADDRESS ON FILE
COLON SOSTRE, ILIANA        ADDRESS ON FILE
COLON SOTO MD, MARILU       ADDRESS ON FILE




                                                                        Page 1699 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1700 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SOTO, ADAMARIS        ADDRESS ON FILE
COLON SOTO, AIDA L          ADDRESS ON FILE
COLON SOTO, AIMEE P         ADDRESS ON FILE
COLON SOTO, ANA             ADDRESS ON FILE
COLON SOTO, ANA M.          ADDRESS ON FILE
COLON SOTO, ANALIA          ADDRESS ON FILE
COLON SOTO, ANGEL LUIS      ADDRESS ON FILE
COLON SOTO, ANGEL M         ADDRESS ON FILE
COLON SOTO, BENNY RICHARD   ADDRESS ON FILE
Colon Soto, Carlos          ADDRESS ON FILE
COLON SOTO, CARLOS          ADDRESS ON FILE
COLON SOTO, CARLOS          ADDRESS ON FILE
Colon Soto, Carlos A.       ADDRESS ON FILE
COLON SOTO, CARLOS J        ADDRESS ON FILE
COLON SOTO, CARLOS R.       ADDRESS ON FILE
COLON SOTO, CESAR           ADDRESS ON FILE
COLON SOTO, CYNTHIA         ADDRESS ON FILE
COLON SOTO, DAMARY          ADDRESS ON FILE
Colon Soto, Eliseo          ADDRESS ON FILE
COLON SOTO, ELSIE M.        ADDRESS ON FILE
COLON SOTO, FELIX           ADDRESS ON FILE
COLON SOTO, FELIX           ADDRESS ON FILE
COLON SOTO, FRANSHESKA      ADDRESS ON FILE
COLON SOTO, GILBERT         ADDRESS ON FILE
COLON SOTO, ILEIM           ADDRESS ON FILE
COLON SOTO, IRIS A          ADDRESS ON FILE
COLON SOTO, IVAN            ADDRESS ON FILE
COLON SOTO, IVAN            ADDRESS ON FILE
COLON SOTO, JOEL J          ADDRESS ON FILE
COLON SOTO, JOHANNA         ADDRESS ON FILE
COLON SOTO, JUAN A          ADDRESS ON FILE
COLON SOTO, JUAN CARLOS     ADDRESS ON FILE
COLON SOTO, KAREN           ADDRESS ON FILE
COLON SOTO, KAREN           ADDRESS ON FILE
COLON SOTO, KENIA           ADDRESS ON FILE
COLON SOTO, LOURDES J       ADDRESS ON FILE
COLON SOTO, LOURDES J.      ADDRESS ON FILE
COLON SOTO, LUIS            ADDRESS ON FILE
COLON SOTO, LUIS A          ADDRESS ON FILE
COLON SOTO, LUZ             ADDRESS ON FILE
COLON SOTO, LUZ I           ADDRESS ON FILE
COLON SOTO, MADELINE        ADDRESS ON FILE
COLON SOTO, MARIA           ADDRESS ON FILE
COLON SOTO, MIRIAM          ADDRESS ON FILE
COLON SOTO, NILMARIE        ADDRESS ON FILE
COLON SOTO, NOEL            ADDRESS ON FILE
COLON SOTO, OLIVIA          ADDRESS ON FILE
COLON SOTO, OMAYRA          ADDRESS ON FILE
COLON SOTO, PABLO J         ADDRESS ON FILE
COLON SOTO, REINALDO        ADDRESS ON FILE
COLON SOTO, RICHARD         ADDRESS ON FILE
COLON SOTO, ROGELIO         ADDRESS ON FILE
COLON SOTO, SANDRA M        ADDRESS ON FILE
COLON SOTO, SEGUNDA         ADDRESS ON FILE
COLON SOTO, SHEILA L        ADDRESS ON FILE
COLON SOTO, SHIRLEY         ADDRESS ON FILE
COLON SOTO, SILKIA          ADDRESS ON FILE
COLON SOTO, STEPHANIE       ADDRESS ON FILE
COLON SOTO, TOMAS           ADDRESS ON FILE
COLON SOTO, VERONICA        ADDRESS ON FILE




                                                                        Page 1700 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1701 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON SOTO, VILMARIS         ADDRESS ON FILE
COLON SOTO, YAMILETTE        ADDRESS ON FILE
COLON SOTO, YANEL            ADDRESS ON FILE
COLON SOTO,TOMAS             ADDRESS ON FILE
COLON SOTOMAYOR, ELIZABETH   ADDRESS ON FILE
COLON SOTOMAYOR, JUSTO       ADDRESS ON FILE
COLON SOTOMAYOR, MARIA M     ADDRESS ON FILE
COLON SUAREZ, ANGELICA       ADDRESS ON FILE
COLON SUAREZ, ANGELICA       ADDRESS ON FILE
COLON SUAREZ, ARACELIS       ADDRESS ON FILE
COLON SUAREZ, CARLOS R       ADDRESS ON FILE
COLON SUAREZ, DORIS M        ADDRESS ON FILE
COLON SUAREZ, DORIS M.       ADDRESS ON FILE
COLON SUAREZ, EDNA           ADDRESS ON FILE
COLON SUAREZ, ESTHER M       ADDRESS ON FILE
COLON SUAREZ, FERNANDO       ADDRESS ON FILE
COLON SUAREZ, HILDA          ADDRESS ON FILE
COLON SUAREZ, HILDA M        ADDRESS ON FILE
COLON SUAREZ, IVETTE         ADDRESS ON FILE
COLON SUAREZ, JACKELINE      ADDRESS ON FILE
COLON SUAREZ, JOMARIE        ADDRESS ON FILE
COLON SUAREZ, JOSE L.        ADDRESS ON FILE
COLON SUAREZ, JUAN           ADDRESS ON FILE
COLON SUAREZ, JUAN           ADDRESS ON FILE
COLON SUAREZ, JUDITH         ADDRESS ON FILE
COLON SUAREZ, JULIO          ADDRESS ON FILE
COLON SUAREZ, LUIS           ADDRESS ON FILE
COLON SUAREZ, MILARIS        ADDRESS ON FILE
COLON SUAREZ, RADAMES        ADDRESS ON FILE
COLON SUAREZ, SONIA DE L     ADDRESS ON FILE
COLON SUAREZ, YAHAIRI        ADDRESS ON FILE
COLON TAPIA, CARLOS L        ADDRESS ON FILE
COLON TAPIA, ELAINE C        ADDRESS ON FILE
COLON TAPIA, JESSICA         ADDRESS ON FILE
COLON TAPIA, WANDA           ADDRESS ON FILE
COLON TAPIA, WANDA           ADDRESS ON FILE
COLON TARRATS, DORIMAR       ADDRESS ON FILE
COLON TARRATS, NORMA I       ADDRESS ON FILE
COLON TARRATS, RUBEN         ADDRESS ON FILE
COLON TELLA, CARLOS          ADDRESS ON FILE
COLON TELLADO, MARILYN       ADDRESS ON FILE
COLON TERRA, RICARDO         ADDRESS ON FILE
Colon Texidor, Brenda I      ADDRESS ON FILE
COLON THILLET, ADELAIDA      ADDRESS ON FILE
Colon Thomas, Domingo        ADDRESS ON FILE
COLON THOMAS, JUANA M        ADDRESS ON FILE
Colon Tirado, Erika          ADDRESS ON FILE
COLON TIRADO, IRIS M.        ADDRESS ON FILE
COLON TOLEDO, CARMEN L.      ADDRESS ON FILE
COLON TOLEDO, EMMANUEL       ADDRESS ON FILE
COLON TOLEDO, ERILEX         ADDRESS ON FILE
COLON TOLEDO, JAVIER         ADDRESS ON FILE
COLON TOLEDO, LUIS A         ADDRESS ON FILE
COLON TOLEDO, MAYRA C.       ADDRESS ON FILE
COLON TOLEDO, YAMIL          ADDRESS ON FILE
COLON TOLENTINO, JUANITA     ADDRESS ON FILE
COLON TORO, GERARDO          ADDRESS ON FILE
COLON TORO, IVONNE M.        ADDRESS ON FILE
COLON TORRADO, EDRIAN        ADDRESS ON FILE
COLON TORRE, RAUL            ADDRESS ON FILE




                                                                         Page 1701 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1702 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON TORREGROSA, ALEJANDRO   ADDRESS ON FILE
Colon Torres, Ada A.          ADDRESS ON FILE
COLON TORRES, ALBERTO L       ADDRESS ON FILE
COLON TORRES, ANA             ADDRESS ON FILE
COLON TORRES, ANA D           ADDRESS ON FILE
COLON TORRES, ANA F           ADDRESS ON FILE
COLON TORRES, ANA N           ADDRESS ON FILE
COLON TORRES, ANDREA          ADDRESS ON FILE
COLON TORRES, ANGEL           ADDRESS ON FILE
COLON TORRES, ANNETTE         ADDRESS ON FILE
COLON TORRES, ANTONIO         ADDRESS ON FILE
COLON TORRES, ARMANDO         ADDRESS ON FILE
COLON TORRES, AURORA          ADDRESS ON FILE
COLON TORRES, BETHAIDA        ADDRESS ON FILE
COLON TORRES, BIAJANI N.      ADDRESS ON FILE
COLON TORRES, BIENVENIDO      ADDRESS ON FILE
COLON TORRES, BIENVENIDO      ADDRESS ON FILE
Colon Torres, Billy           ADDRESS ON FILE
COLON TORRES, BILLY           ADDRESS ON FILE
COLON TORRES, CANDY           ADDRESS ON FILE
COLON TORRES, CARLOS          ADDRESS ON FILE
COLON TORRES, CARLOS          ADDRESS ON FILE
COLON TORRES, CARLOS          ADDRESS ON FILE
COLON TORRES, CARLOS M        ADDRESS ON FILE
COLON TORRES, CARMEN          ADDRESS ON FILE
COLON TORRES, CARMEN          ADDRESS ON FILE
COLON TORRES, CARMEN G        ADDRESS ON FILE
COLON TORRES, CARMEN J.       ADDRESS ON FILE
COLON TORRES, CARMEN J.       ADDRESS ON FILE
Colon Torres, Carol           ADDRESS ON FILE
COLON TORRES, CEREIDA         ADDRESS ON FILE
COLON TORRES, CRUZ_VIRGINI    ADDRESS ON FILE
COLON TORRES, DAISY           ADDRESS ON FILE
COLON TORRES, DALIMAR         ADDRESS ON FILE
COLON TORRES, DAMARIS         ADDRESS ON FILE
COLON TORRES, DANIA A         ADDRESS ON FILE
COLON TORRES, DANISHA         ADDRESS ON FILE
COLON TORRES, DORKA I         ADDRESS ON FILE
COLON TORRES, ELBA I          ADDRESS ON FILE
COLON TORRES, ELBA M          ADDRESS ON FILE
COLON TORRES, ELIEZER         ADDRESS ON FILE
COLON TORRES, ELISA           ADDRESS ON FILE
COLON TORRES, ELIZABETH       ADDRESS ON FILE
COLON TORRES, EMILIE N.       ADDRESS ON FILE
Colon Torres, Emmanuel        ADDRESS ON FILE
COLON TORRES, ENID            ADDRESS ON FILE
COLON TORRES, EVANGELINA      ADDRESS ON FILE
Colon Torres, Felix           ADDRESS ON FILE
COLON TORRES, FELIX           ADDRESS ON FILE
COLON TORRES, FERNANDO        ADDRESS ON FILE
COLON TORRES, FRANCES G       ADDRESS ON FILE
COLON TORRES, FRANCISCA       ADDRESS ON FILE
COLON TORRES, FRANCISCO       ADDRESS ON FILE
COLON TORRES, FRANCISCO       ADDRESS ON FILE
COLON TORRES, FRANCISCO       ADDRESS ON FILE
COLON TORRES, FRANCISCO       ADDRESS ON FILE
COLON TORRES, GERALD J        ADDRESS ON FILE
Colon Torres, Gerardo         ADDRESS ON FILE
COLON TORRES, GLORIA M        ADDRESS ON FILE
COLON TORRES, GUILLERMINA     ADDRESS ON FILE




                                                                          Page 1702 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1703 of 3500
                                                                             17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                 Address1                  Address2                            Address3          Address4           City         State   PostalCode   Country
COLON TORRES, GUILLERMO       ADDRESS ON FILE
COLON TORRES, HARRY           ADDRESS ON FILE
COLON TORRES, HECTOR          ADDRESS ON FILE
COLON TORRES, HECTOR          ADDRESS ON FILE
COLON TORRES, HECTOR L        ADDRESS ON FILE
COLON TORRES, HECTOR L        ADDRESS ON FILE
COLON TORRES, HILDA C.        ADDRESS ON FILE
COLON TORRES, IRIS            ADDRESS ON FILE
COLON TORRES, IVETTE          ADDRESS ON FILE
COLON TORRES, JESSICA         ADDRESS ON FILE
COLON TORRES, JESSICA         ADDRESS ON FILE
COLON TORRES, JESUS           ADDRESS ON FILE
COLON TORRES, JOEL            ADDRESS ON FILE
COLON TORRES, JORGE           ADDRESS ON FILE
COLON TORRES, JOSE            ADDRESS ON FILE
COLON TORRES, JOSE            ADDRESS ON FILE
COLON TORRES, JOSE            ADDRESS ON FILE
COLON TORRES, JOSE            ADDRESS ON FILE
COLON TORRES, JOSE            ADDRESS ON FILE
COLON TORRES, JOSE            ADDRESS ON FILE
COLON TORRES, JOSE A          ADDRESS ON FILE
COLON TORRES, JOSE A.         ADDRESS ON FILE
COLON TORRES, JOSE GABRIEL    ADDRESS ON FILE
Colon Torres, Jose M          ADDRESS ON FILE
COLON TORRES, JOSE M          ADDRESS ON FILE
COLON TORRES, JOSE O          ADDRESS ON FILE
COLON TORRES, JOSE R          ADDRESS ON FILE
Colon Torres, Joyce Denisse   ADDRESS ON FILE
COLON TORRES, JUAN            ADDRESS ON FILE
COLON TORRES, JUAN            ADDRESS ON FILE
COLON TORRES, JUAN            ADDRESS ON FILE
COLON TORRES, JUAN G          ADDRESS ON FILE
COLON TORRES, KARIN           ADDRESS ON FILE
COLON TORRES, KARLA           ADDRESS ON FILE
COLON TORRES, KARLA DEL MAR   ADDRESS ON FILE
COLON TORRES, KERBY           ADDRESS ON FILE
COLON TORRES, KEYLA           ADDRESS ON FILE
COLON TORRES, LEIDA           ADDRESS ON FILE
                                                                                            URB RIO PIEDRAS
COLON TORRES, LEIDA           COLON TORRES LEIDA        COLON TORRES LEIDA                  HEIGHTS           1693 CALLE PURUS   SAN JUAN     PR      00926
COLON TORRES, LEIDA I.        ADDRESS ON FILE
COLON TORRES, LILLIAM         ADDRESS ON FILE
COLON TORRES, LILLIAM         ADDRESS ON FILE
COLON TORRES, LILLIAN         ADDRESS ON FILE
COLON TORRES, LIS             ADDRESS ON FILE
COLON TORRES, LIS M           ADDRESS ON FILE
COLON TORRES, LIZ M.          ADDRESS ON FILE
COLON TORRES, LOURDES         ADDRESS ON FILE
COLON TORRES, LUCIA           ADDRESS ON FILE
COLON TORRES, LUIS            ADDRESS ON FILE
COLON TORRES, LUIS            ADDRESS ON FILE
COLON TORRES, LUIS            ADDRESS ON FILE
COLON TORRES, LUIS            ADDRESS ON FILE
COLON TORRES, LUIS            ADDRESS ON FILE
Colon Torres, Luis A          ADDRESS ON FILE
COLON TORRES, LUIS G          ADDRESS ON FILE
COLON TORRES, LUIS G.         ADDRESS ON FILE
COLON TORRES, LUIS N          ADDRESS ON FILE
COLON TORRES, LUMARIES        ADDRESS ON FILE
COLON TORRES, LYDIA           ADDRESS ON FILE




                                                                             Page 1703 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1704 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON TORRES, LYDIA            ADDRESS ON FILE
COLON TORRES, LYDIA A          ADDRESS ON FILE
COLON TORRES, MAGDALENA        ADDRESS ON FILE
COLON TORRES, MANUEL J         ADDRESS ON FILE
COLON TORRES, MARIA            ADDRESS ON FILE
COLON TORRES, MARIA            ADDRESS ON FILE
COLON TORRES, MARIA DEL L      ADDRESS ON FILE
COLON TORRES, MARIA M          ADDRESS ON FILE
COLON TORRES, MARIA M          ADDRESS ON FILE
COLON TORRES, MARIA T          ADDRESS ON FILE
COLON TORRES, MARIBEL          ADDRESS ON FILE
COLON TORRES, MARIE JOSEFINA   ADDRESS ON FILE
COLON TORRES, MARIELY          ADDRESS ON FILE
COLON TORRES, MARIELY          ADDRESS ON FILE
COLON TORRES, MARILYN          ADDRESS ON FILE
COLON TORRES, MARITZA          ADDRESS ON FILE
COLON TORRES, MARITZA          ADDRESS ON FILE
COLON TORRES, MARLENE J.       ADDRESS ON FILE
COLON TORRES, MARTA R          ADDRESS ON FILE
COLON TORRES, MERCEDES         ADDRESS ON FILE
COLON TORRES, MICHELLE         ADDRESS ON FILE
Colon Torres, Miguel           ADDRESS ON FILE
COLON TORRES, MILAGROS         ADDRESS ON FILE
COLON TORRES, MILAGROS         ADDRESS ON FILE
Colon Torres, Miriam H.        ADDRESS ON FILE
COLON TORRES, NEREIDA          ADDRESS ON FILE
Colon Torres, Nicomedes        ADDRESS ON FILE
COLON TORRES, NIDIA            ADDRESS ON FILE
COLON TORRES, NOEMI            ADDRESS ON FILE
COLON TORRES, NORMA            ADDRESS ON FILE
COLON TORRES, NORMA I          ADDRESS ON FILE
COLON TORRES, OLGA E           ADDRESS ON FILE
COLON TORRES, OLGA I           ADDRESS ON FILE
COLON TORRES, OLGA M           ADDRESS ON FILE
COLON TORRES, ORLANDO          ADDRESS ON FILE
COLON TORRES, PABLO            ADDRESS ON FILE
COLON TORRES, PEDRO            ADDRESS ON FILE
COLON TORRES, PEDRO M          ADDRESS ON FILE
COLON TORRES, PEDRO M.         ADDRESS ON FILE
COLON TORRES, RADAMES          ADDRESS ON FILE
COLON TORRES, RAFAEL           ADDRESS ON FILE
COLON TORRES, RAFAEL           ADDRESS ON FILE
COLON TORRES, RAFAEL           ADDRESS ON FILE
COLON TORRES, RAFAEL A         ADDRESS ON FILE
COLON TORRES, RAFAEL E.        ADDRESS ON FILE
COLON TORRES, RAQUEL           ADDRESS ON FILE
COLON TORRES, RAUL             ADDRESS ON FILE
COLON TORRES, RAUL E           ADDRESS ON FILE
COLON TORRES, ROLANDO          ADDRESS ON FILE
COLON TORRES, ROSA             ADDRESS ON FILE
COLON TORRES, ROSA E           ADDRESS ON FILE
COLON TORRES, ROSA I.          ADDRESS ON FILE
COLON TORRES, ROSA M           ADDRESS ON FILE
COLON TORRES, ROSALIMARY       ADDRESS ON FILE
COLON TORRES, ROSARITO         ADDRESS ON FILE
COLON TORRES, RUDY             ADDRESS ON FILE
COLON TORRES, RUTH             ADDRESS ON FILE
COLON TORRES, RUTH             ADDRESS ON FILE
COLON TORRES, SAMUEL           ADDRESS ON FILE
COLON TORRES, SANTIAGO         ADDRESS ON FILE




                                                                           Page 1704 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1705 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON TORRES, SHEILA          ADDRESS ON FILE
COLON TORRES, SONIA E.        ADDRESS ON FILE
COLON TORRES, SONIA M         ADDRESS ON FILE
COLON TORRES, TAMARA          ADDRESS ON FILE
COLON TORRES, TERESA          ADDRESS ON FILE
COLON TORRES, TERESITA        ADDRESS ON FILE
COLON TORRES, TOMAS           ADDRESS ON FILE
COLON TORRES, VELISSA         ADDRESS ON FILE
COLON TORRES, VICTOR          ADDRESS ON FILE
COLON TORRES, WANDA N         ADDRESS ON FILE
Colon Torres, Wilberto        ADDRESS ON FILE
Colon Torres, William         ADDRESS ON FILE
COLON TORRES, WILLIAM         ADDRESS ON FILE
COLON TORRES, WILNILDA        ADDRESS ON FILE
COLON TORRES, XIOMARY         ADDRESS ON FILE
COLON TORRES, YAIRA M         ADDRESS ON FILE
COLON TORRES, YANITZIA I      ADDRESS ON FILE
COLON TORRES, YARI            ADDRESS ON FILE
COLON TORRES, YARISA          ADDRESS ON FILE
COLON TORRES, YARITZA E       ADDRESS ON FILE
COLON TORRES, YESIA M         ADDRESS ON FILE
COLON TORRES, YOLANDA         ADDRESS ON FILE
COLON TORRES, YOVAN           ADDRESS ON FILE
COLON TORRES, ZILMARIE        ADDRESS ON FILE
COLON TORRES,CONSUELO         ADDRESS ON FILE
COLON TORRES,MARI CONCHITA    ADDRESS ON FILE
COLON TOSADO, LUIS            ADDRESS ON FILE
COLON TOSADO, MAYRA I         ADDRESS ON FILE
COLON TRILLO, BEATRIZ         ADDRESS ON FILE
COLON TRILLO, CARLOS          ADDRESS ON FILE
COLON TRINIDAD, CARMELO       ADDRESS ON FILE
COLON TRINIDAD, CARMELO A.    ADDRESS ON FILE
Colon Trinidad, Fernando J.   ADDRESS ON FILE
COLON TRINIDAD, MARIA D       ADDRESS ON FILE
COLON TRINIDAD, NOEL          ADDRESS ON FILE
COLON TRINIDAD, PEDRO         ADDRESS ON FILE
COLON TRUJILLO, JONATHAN      ADDRESS ON FILE
COLON TURPEAU, KARLA J        ADDRESS ON FILE
COLON TYSON, EDWIN DAVID      ADDRESS ON FILE
COLON UGARTE, MADELINE I      ADDRESS ON FILE
COLON URENA, JORGE            ADDRESS ON FILE
COLON VALCARCEL, CANDIDA      ADDRESS ON FILE
COLON VALDEZ, EUSEBIO         ADDRESS ON FILE
COLON VALE, LAYLA             ADDRESS ON FILE
COLON VALENTIN, ANGEL         ADDRESS ON FILE
COLON VALENTIN, BEATRICE      ADDRESS ON FILE
COLON VALENTIN, FLORA A       ADDRESS ON FILE
COLON VALENTIN, JOSE          ADDRESS ON FILE
COLON VALENTIN, LUIS O        ADDRESS ON FILE
COLON VALENTIN, LUZ M         ADDRESS ON FILE
COLON VALENTIN, MIGUEL        ADDRESS ON FILE
Colon Valentin, Miguel A      ADDRESS ON FILE
COLON VALENTIN, NYDIA         ADDRESS ON FILE
COLON VALENTIN, SONIA         ADDRESS ON FILE
COLON VALENTIN, YAMILIS       ADDRESS ON FILE
Colon Valera, Alberto         ADDRESS ON FILE
COLON VALLE, JOSE M.          ADDRESS ON FILE
COLON VALLE, MARISEL          ADDRESS ON FILE
Colon Valle, Ramon            ADDRESS ON FILE
Colon Valle, Ramon            ADDRESS ON FILE




                                                                          Page 1705 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1706 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                              Address1                           Address2                                  Address3   Address4   City        State   PostalCode   Country
COLON VALLE, RAMON                         ADDRESS ON FILE
COLON VALLEJO, IRIS                        ADDRESS ON FILE
COLON VALLEJO, YAZAIRA                     ADDRESS ON FILE
COLON VANGA, EDNA                          ADDRESS ON FILE
COLON VAQUER MD, JOSE M                    ADDRESS ON FILE
COLON VARGAS, CARMEN                       ADDRESS ON FILE
COLON VARGAS, DENISSE                      ADDRESS ON FILE
COLON VARGAS, EDWIN                        ADDRESS ON FILE
COLÓN VARGAS, EDWIN Y OTROS, REPS. POR SIN LCDA. LEONOR RODRIGUEZ RODRIGUEZ   URB. CIUDAD INTERAMERICANA 684 CALLE MARILIN                    Bayamón     PR      00956
COLON VARGAS, EDZAIDA                      ADDRESS ON FILE
COLON VARGAS, EVANGELISTA                  ADDRESS ON FILE
COLON VARGAS, FRANCIS                      ADDRESS ON FILE
COLON VARGAS, HERMINIA                     ADDRESS ON FILE
COLON VARGAS, JOHN                         ADDRESS ON FILE
COLON VARGAS, KEISHLA                      ADDRESS ON FILE
COLON VARGAS, KENNETH                      ADDRESS ON FILE
COLON VARGAS, LUIS A.                      ADDRESS ON FILE
Colon Vargas, Luis M                       ADDRESS ON FILE
COLON VARGAS, MARTA                        ADDRESS ON FILE
COLON VARGAS, MILAGROS                     ADDRESS ON FILE
COLON VARGAS, NALLIENE M                   ADDRESS ON FILE
COLON VARGAS, NICHOLLE                     ADDRESS ON FILE
COLON VARGAS, NOHELIA                      ADDRESS ON FILE
COLON VARGAS, NOHELIA                      ADDRESS ON FILE
COLON VARGAS, ROSA M                       ADDRESS ON FILE
Colon Vargas, Vivian                       ADDRESS ON FILE
COLON VAZQUEZ MD, VICTOR J                 ADDRESS ON FILE
COLON VAZQUEZ, AGNES B                     ADDRESS ON FILE
COLON VAZQUEZ, AGNES B                     ADDRESS ON FILE
COLON VAZQUEZ, AIDA L                      ADDRESS ON FILE
COLON VAZQUEZ, ALBA                        ADDRESS ON FILE
COLON VAZQUEZ, ANDREA B                    ADDRESS ON FILE
COLON VAZQUEZ, ANGEL                       ADDRESS ON FILE
COLON VAZQUEZ, ANGEL                       ADDRESS ON FILE
COLON VAZQUEZ, ANGEL                       ADDRESS ON FILE
Colon Vazquez, Angel A.                    ADDRESS ON FILE
COLON VAZQUEZ, BARBARA                     ADDRESS ON FILE
COLON VAZQUEZ, BELITZA                     ADDRESS ON FILE
COLON VAZQUEZ, BENJAMIN                    ADDRESS ON FILE
COLON VAZQUEZ, BRENDA                      ADDRESS ON FILE
COLON VAZQUEZ, CARMEN                      ADDRESS ON FILE
COLON VAZQUEZ, CARMEN E                    ADDRESS ON FILE
COLON VAZQUEZ, CRISTOPHER                  ADDRESS ON FILE
COLON VAZQUEZ, DARLENE                     ADDRESS ON FILE
Colon Vazquez, Dayra                       ADDRESS ON FILE
COLON VAZQUEZ, DINEIDA                     ADDRESS ON FILE
COLON VAZQUEZ, EDNALYS                     ADDRESS ON FILE
Colon Vazquez, Edwin                       ADDRESS ON FILE
COLON VAZQUEZ, ELBA A.                     ADDRESS ON FILE
COLON VAZQUEZ, ELIZABETH                   ADDRESS ON FILE
COLON VAZQUEZ, EMMA L                      ADDRESS ON FILE
COLON VAZQUEZ, ESPERANZA                   ADDRESS ON FILE
COLON VAZQUEZ, EUGENIA                     ADDRESS ON FILE
COLON VAZQUEZ, EUGENIO                     ADDRESS ON FILE
COLON VAZQUEZ, EVELYN                      ADDRESS ON FILE
COLON VAZQUEZ, EVELYN                      ADDRESS ON FILE
COLON VAZQUEZ, FLORENTINA                  ADDRESS ON FILE
COLON VAZQUEZ, FRANCISCO                   ADDRESS ON FILE
COLON VAZQUEZ, GLENDA                      ADDRESS ON FILE
COLON VAZQUEZ, GLENDA                      ADDRESS ON FILE




                                                                                                         Page 1706 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1707 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON VAZQUEZ, GRISELLE          ADDRESS ON FILE
COLON VAZQUEZ, HAYDEE            ADDRESS ON FILE
COLON VAZQUEZ, HECTOR            ADDRESS ON FILE
COLON VAZQUEZ, HECTOR L          ADDRESS ON FILE
COLON VAZQUEZ, HECTOR M          ADDRESS ON FILE
COLON VAZQUEZ, HENRY             ADDRESS ON FILE
COLON VAZQUEZ, IRVING            ADDRESS ON FILE
COLON VAZQUEZ, IVETTE            ADDRESS ON FILE
COLON VAZQUEZ, JACQUELINE        ADDRESS ON FILE
COLON VAZQUEZ, JAVIER            ADDRESS ON FILE
COLON VAZQUEZ, JESSEMAR          ADDRESS ON FILE
COLON VAZQUEZ, JORGE A           ADDRESS ON FILE
COLON VAZQUEZ, JOSE              ADDRESS ON FILE
Colon Vazquez, Jose Luis         ADDRESS ON FILE
COLON VAZQUEZ, JUAN              ADDRESS ON FILE
COLON VAZQUEZ, JUANA             ADDRESS ON FILE
COLON VAZQUEZ, JULIA M.          ADDRESS ON FILE
COLON VAZQUEZ, KARLA             ADDRESS ON FILE
COLON VAZQUEZ, KATHIA            ADDRESS ON FILE
COLON VAZQUEZ, LESLIE A          ADDRESS ON FILE
COLON VAZQUEZ, LOURDES I         ADDRESS ON FILE
COLON VAZQUEZ, MANUEL            ADDRESS ON FILE
COLON VAZQUEZ, MARGARITA         ADDRESS ON FILE
COLON VAZQUEZ, MARIA             ADDRESS ON FILE
COLON VAZQUEZ, MARIA I           ADDRESS ON FILE
COLON VAZQUEZ, MARIA V           ADDRESS ON FILE
COLON VAZQUEZ, MARIANO           ADDRESS ON FILE
COLON VAZQUEZ, MARIELY           ADDRESS ON FILE
COLON VAZQUEZ, MAYRA             ADDRESS ON FILE
COLON VAZQUEZ, MELITZA           ADDRESS ON FILE
COLON VAZQUEZ, MILADYS           ADDRESS ON FILE
COLON VAZQUEZ, MIRIAM            ADDRESS ON FILE
COLON VAZQUEZ, NANCY R           ADDRESS ON FILE
COLON VAZQUEZ, NELSON            ADDRESS ON FILE
COLON VAZQUEZ, NILSA             ADDRESS ON FILE
COLON VAZQUEZ, NIVIA             ADDRESS ON FILE
COLON VAZQUEZ, NOELIA M          ADDRESS ON FILE
COLON VAZQUEZ, NOEMI             ADDRESS ON FILE
COLON VAZQUEZ, OMAYRA            ADDRESS ON FILE
COLON VAZQUEZ, ORLANDO           ADDRESS ON FILE
COLON VAZQUEZ, OSVALDO           ADDRESS ON FILE
COLON VAZQUEZ, PEDRO             ADDRESS ON FILE
COLON VAZQUEZ, RAFAEL            ADDRESS ON FILE
COLON VAZQUEZ, RAUL M            ADDRESS ON FILE
Colon Vazquez, Raul M            ADDRESS ON FILE
Colon Vazquez, Rochelle          ADDRESS ON FILE
COLON VAZQUEZ, SERGIO DE JESUS   ADDRESS ON FILE
COLON VAZQUEZ, SONIA             ADDRESS ON FILE
COLON VAZQUEZ, SONIA E           ADDRESS ON FILE
COLON VAZQUEZ, TOMAS             ADDRESS ON FILE
COLON VAZQUEZ, VICTORIA          ADDRESS ON FILE
COLON VAZQUEZ, WILDA             ADDRESS ON FILE
COLON VAZQUEZ, WILFREDO          ADDRESS ON FILE
COLON VAZQUEZ, WILFREDO          ADDRESS ON FILE
COLON VAZQUEZ, WILLIAM           ADDRESS ON FILE
Colon Vazquez, William           ADDRESS ON FILE
COLON VAZQUEZTELL, MARTA         ADDRESS ON FILE
COLON VDA DE GARCIA, SONIA       ADDRESS ON FILE
COLON VEGA MD, GILDRED E         ADDRESS ON FILE
COLON VEGA, ALEIXA               ADDRESS ON FILE




                                                                             Page 1707 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1708 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON VEGA, ALEXANDER           ADDRESS ON FILE
COLON VEGA, ALICIA              ADDRESS ON FILE
COLON VEGA, ANGEL               ADDRESS ON FILE
COLON VEGA, ANNETTE             ADDRESS ON FILE
COLON VEGA, CARLOS              ADDRESS ON FILE
COLON VEGA, CARLOS              ADDRESS ON FILE
COLON VEGA, CARLOS M.           ADDRESS ON FILE
COLON VEGA, CARMEN              ADDRESS ON FILE
COLON VEGA, CARMEN DE LOURDES   ADDRESS ON FILE
COLON VEGA, EDWARD              ADDRESS ON FILE
COLON VEGA, ELIZABETH           ADDRESS ON FILE
COLON VEGA, ELIZABETH           ADDRESS ON FILE
COLON VEGA, ELLEN               ADDRESS ON FILE
COLON VEGA, ENID                ADDRESS ON FILE
COLON VEGA, ENID                ADDRESS ON FILE
Colon Vega, Eunisis             ADDRESS ON FILE
COLON VEGA, FRANCES             ADDRESS ON FILE
COLON VEGA, GERARDO             ADDRESS ON FILE
COLON VEGA, GILBERTO            ADDRESS ON FILE
COLON VEGA, HECTOR LUIS         ADDRESS ON FILE
COLON VEGA, ISABEL R.           ADDRESS ON FILE
COLON VEGA, ISMAEL              ADDRESS ON FILE
COLON VEGA, IVETTE              ADDRESS ON FILE
COLON VEGA, JOHANNA             ADDRESS ON FILE
COLON VEGA, JOSE D              ADDRESS ON FILE
COLON VEGA, LAURA               ADDRESS ON FILE
COLON VEGA, LEMUEL              ADDRESS ON FILE
COLON VEGA, LOUIS               ADDRESS ON FILE
Colon Vega, Luana A             ADDRESS ON FILE
COLON VEGA, LUIS                ADDRESS ON FILE
Colon Vega, Luis A              ADDRESS ON FILE
COLON VEGA, LUIS A.             ADDRESS ON FILE
COLON VEGA, MARIA               ADDRESS ON FILE
COLON VEGA, MARIA L             ADDRESS ON FILE
COLON VEGA, MARIA M             ADDRESS ON FILE
COLON VEGA, MARTA M             ADDRESS ON FILE
COLON VEGA, NELSON              ADDRESS ON FILE
COLON VEGA, NOEL                ADDRESS ON FILE
COLON VEGA, RAMON               ADDRESS ON FILE
COLON VEGA, REINALDO            ADDRESS ON FILE
COLON VEGA, REISHALY            ADDRESS ON FILE
COLON VEGA, ROSA M              ADDRESS ON FILE
COLON VEGA, VICTOR M            ADDRESS ON FILE
COLON VEGA, VICTOR M            ADDRESS ON FILE
COLON VEGA, VIVIAN L.           ADDRESS ON FILE
COLON VEGA, WALICIA             ADDRESS ON FILE
COLON VEGA, WANDA               ADDRESS ON FILE
COLON VEGA, WANDA I             ADDRESS ON FILE
COLON VEGA, WILLIAM             ADDRESS ON FILE
Colon Vega, Yamile              ADDRESS ON FILE
COLON VEGA, YARAMACIE           ADDRESS ON FILE
COLON VELAZQUE, ALEXTALI        ADDRESS ON FILE
COLON VELAZQUEZ, ALEJANDRO      ADDRESS ON FILE
COLON VELAZQUEZ, ANA            ADDRESS ON FILE
COLON VELAZQUEZ, ANA            ADDRESS ON FILE
COLON VELAZQUEZ, ANTONIO        ADDRESS ON FILE
COLON VELAZQUEZ, CARLOS         ADDRESS ON FILE
COLON VELAZQUEZ, CARLOS         ADDRESS ON FILE
COLON VELAZQUEZ, CARMEN E       ADDRESS ON FILE
COLON VELAZQUEZ, FAUSTINO       ADDRESS ON FILE




                                                                            Page 1708 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1709 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON VELAZQUEZ, GABRIEL        ADDRESS ON FILE
COLON VELAZQUEZ, GABRIEL        ADDRESS ON FILE
Colon Velazquez, Gerardo        ADDRESS ON FILE
COLON VELAZQUEZ, INEABELLE      ADDRESS ON FILE
COLON VELAZQUEZ, JACQUELINE     ADDRESS ON FILE
COLON VELAZQUEZ, JESSENNIA      ADDRESS ON FILE
COLON VELAZQUEZ, JUAN C         ADDRESS ON FILE
COLON VELAZQUEZ, LADY           ADDRESS ON FILE
Colon Velazquez, Lester         ADDRESS ON FILE
COLON VELAZQUEZ, LOURDES        ADDRESS ON FILE
COLON VELAZQUEZ, MARIBEL        ADDRESS ON FILE
COLON VELAZQUEZ, MARITZA        ADDRESS ON FILE
COLON VELAZQUEZ, MIGUEL         ADDRESS ON FILE
Colon Velazquez, Nivia M        ADDRESS ON FILE
COLON VELAZQUEZ, NYDIA          ADDRESS ON FILE
COLON VELAZQUEZ, NYDIA ESTHER   ADDRESS ON FILE
COLON VELAZQUEZ, PAULA          ADDRESS ON FILE
COLON VELAZQUEZ, PRIMITIVO      ADDRESS ON FILE
COLON VELAZQUEZ, PRIMITIVO      ADDRESS ON FILE
COLON VELAZQUEZ, RAUL           ADDRESS ON FILE
COLON VELAZQUEZ, ROBERTO        ADDRESS ON FILE
COLON VELAZQUEZ, ROSAURA        ADDRESS ON FILE
COLON VELAZQUEZ, VICTOR         ADDRESS ON FILE
COLON VELAZQUEZ, VICTOR         ADDRESS ON FILE
COLON VELAZQUEZ, WANDA          ADDRESS ON FILE
COLON VELAZQUEZ, YANIRA         ADDRESS ON FILE
COLON VELAZQUEZ, YOLANDA        ADDRESS ON FILE
COLON VELAZQUEZ, ZILMA          ADDRESS ON FILE
COLON VELEZ MD, ENID            ADDRESS ON FILE
COLON VELEZ MD, HELGA T         ADDRESS ON FILE
Colon Velez, Alejandro          ADDRESS ON FILE
COLON VELEZ, ALEXANDER          ADDRESS ON FILE
COLON VELEZ, ANGEL              ADDRESS ON FILE
COLON VELEZ, ANGEL              ADDRESS ON FILE
COLON VELEZ, ANILU              ADDRESS ON FILE
COLON VELEZ, DEMETRIA           ADDRESS ON FILE
COLON VELEZ, EDWIN              ADDRESS ON FILE
COLON VELEZ, FELIPE G           ADDRESS ON FILE
COLON VELEZ, FRANCES            ADDRESS ON FILE
COLON VELEZ, GLORICELA          ADDRESS ON FILE
COLON VELEZ, HELGA              ADDRESS ON FILE
COLON VELEZ, JAVIER             ADDRESS ON FILE
COLON VELEZ, JOANNY             ADDRESS ON FILE
COLON VELEZ, JORGE              ADDRESS ON FILE
Colon Velez, Jose E             ADDRESS ON FILE
Colon Velez, Jose E             ADDRESS ON FILE
COLON VELEZ, LILLIAN            ADDRESS ON FILE
COLON VELEZ, LILLYBETH          ADDRESS ON FILE
COLON VELEZ, LOURDES            ADDRESS ON FILE
Colon Velez, Luis A             ADDRESS ON FILE
COLON VELEZ, MAGALI             ADDRESS ON FILE
COLON VELEZ, MARISOL            ADDRESS ON FILE
COLON VELEZ, MEILEEN            ADDRESS ON FILE
COLON VELEZ, MELVIN             ADDRESS ON FILE
COLON VELEZ, MELVIN             ADDRESS ON FILE
COLON VELEZ, MIGUEL             ADDRESS ON FILE
Colon Velez, Milagros           ADDRESS ON FILE
Colon Velez, Ramon L            ADDRESS ON FILE
COLON VELEZ, VIRGINIA           ADDRESS ON FILE
COLON VELEZ, VIRGINIA           ADDRESS ON FILE




                                                                            Page 1709 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1710 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON VELEZ, WILLIAM           ADDRESS ON FILE
COLON VELEZ, WILSON            ADDRESS ON FILE
COLON VELEZ, YOLMASSIEL S      ADDRESS ON FILE
COLON VELEZ, ZWINDA            ADDRESS ON FILE
COLON VELEZQUEZ, MIGUEL A      ADDRESS ON FILE
COLON VELLON, AIRELIS          ADDRESS ON FILE
COLON VERA, ARMANDO            ADDRESS ON FILE
Colon Vera, Melisa             ADDRESS ON FILE
COLON VERA, MERCEDES           ADDRESS ON FILE
COLON VERA, WANDA M            ADDRESS ON FILE
COLON VERAS, MARIA             ADDRESS ON FILE
COLON VERDEJO, EDITH           ADDRESS ON FILE
COLON VERDEJO, JUAN C          ADDRESS ON FILE
COLON VIADER, LYMARIE          ADDRESS ON FILE
COLON VIADER, MARIVETTE        ADDRESS ON FILE
COLON VICENTE, GERARDO         ADDRESS ON FILE
COLON VICENTE, LUZ HAYDEE      ADDRESS ON FILE
COLON VIDAL, JORGE             ADDRESS ON FILE
COLON VIERA, ALBERTO           ADDRESS ON FILE
COLON VIERA, BEATRIZ M         ADDRESS ON FILE
COLON VIERA, ESTEBAN           ADDRESS ON FILE
COLON VIERA, ESTEBAN           ADDRESS ON FILE
COLON VIERA, JOSE A.           ADDRESS ON FILE
COLON VIERA, LETICIA           ADDRESS ON FILE
COLON VIGO, ABDIAS             ADDRESS ON FILE
COLON VIGO, HECTOR             ADDRESS ON FILE
COLON VILAR, FABIOLA           ADDRESS ON FILE
COLON VILCHES, JUAN            ADDRESS ON FILE
COLON VILCHES, MARIBEL         ADDRESS ON FILE
COLON VILCHES, MIGDALIA        ADDRESS ON FILE
COLON VILELLA, ALEXANDER       ADDRESS ON FILE
COLON VILELLA, RICHARD         ADDRESS ON FILE
COLON VILLA, CARMEN G          ADDRESS ON FILE
COLON VILLA, CARMEN G.         ADDRESS ON FILE
COLON VILLAD, NAII L           ADDRESS ON FILE
COLON VILLAFAÑE MD, JOSE       ADDRESS ON FILE
COLON VILLAFANE, ANA CAMILA    ADDRESS ON FILE
COLON VILLAFANE, GLORIA        ADDRESS ON FILE
Colon Villafane, Jorge L       ADDRESS ON FILE
COLON VILLAFANE, KEVEN         ADDRESS ON FILE
Colon Villafane, Luis A.       ADDRESS ON FILE
COLON VILLAFANE, LYDIA E.      ADDRESS ON FILE
COLON VILLAFANE, LYDIA E.      ADDRESS ON FILE
COLON VILLALOBOS, JOSE         ADDRESS ON FILE
COLON VILLALOBOS, RAUL         ADDRESS ON FILE
Colon Villalon, Francisco J    ADDRESS ON FILE
COLON VILLAMIL, LUIS A.        ADDRESS ON FILE
COLON VILLANUEVA, CARLOS       ADDRESS ON FILE
COLON VILLANUEVA, DANIEL       ADDRESS ON FILE
COLON VILLANUEVA, INIABELLE    ADDRESS ON FILE
COLON VILLANUEVA, JOSE E       ADDRESS ON FILE
Colon Villanueva, Karlos       ADDRESS ON FILE
COLON VILLANUEVA, LILLIAM      ADDRESS ON FILE
COLON VILLANUEVA, LILLIAM I.   ADDRESS ON FILE
COLON VILLANUEVA, WILLIAM      ADDRESS ON FILE
COLON VILLANUEVA, WILMARIE     ADDRESS ON FILE
COLON VILLAR, JANICE O         ADDRESS ON FILE
COLON VILLARRUBIA, DENNIS      ADDRESS ON FILE
COLON VILLARRUBIAS, DENNIS     ADDRESS ON FILE
COLON VILLARUBIA, SHEILA       ADDRESS ON FILE




                                                                           Page 1710 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1711 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON VILLEGAS, CLARIBEL   ADDRESS ON FILE
COLON VILLEGAS, CRISTINA   ADDRESS ON FILE
COLON VILLEGAS, DAVID      ADDRESS ON FILE
COLON VILLEGAS, KEILA      ADDRESS ON FILE
COLON VILLEGAS, WILFREDO   ADDRESS ON FILE
COLON VILLOT, ROSA I       ADDRESS ON FILE
COLON WEBBER, KARINA M     ADDRESS ON FILE
COLON WILLIANS, YOLANDA    ADDRESS ON FILE
COLON WRIGHT, KAREN        ADDRESS ON FILE
COLON YERA, ALICIA         ADDRESS ON FILE
COLON YERA, FELICITA       ADDRESS ON FILE
COLON YERA, IRIS N         ADDRESS ON FILE
COLON YERA, IVETTE         ADDRESS ON FILE
COLON YERA, MARIA A.       ADDRESS ON FILE
COLON YEYE, NESTOR I.      ADDRESS ON FILE
COLON YOSHIURA, LUZ M.     ADDRESS ON FILE
COLON ZABALA, IRIA M       ADDRESS ON FILE
COLON ZAMBRANA, AZALEA     ADDRESS ON FILE
COLON ZAMBRANA, FELIX      ADDRESS ON FILE
COLON ZARAGOZA, EDMARIE    ADDRESS ON FILE
COLON ZAVALA, EDUARDO      ADDRESS ON FILE
COLON ZAYAS, ADA           ADDRESS ON FILE
COLON ZAYAS, ADA E.        ADDRESS ON FILE
COLON ZAYAS, ANA M         ADDRESS ON FILE
COLON ZAYAS, BENJAMIN      ADDRESS ON FILE
Colon Zayas, Benjamin J    ADDRESS ON FILE
COLON ZAYAS, CARLOS        ADDRESS ON FILE
COLON ZAYAS, CARMEN        ADDRESS ON FILE
COLON ZAYAS, ELISEO        ADDRESS ON FILE
COLON ZAYAS, EMMA L        ADDRESS ON FILE
Colon Zayas, Federico      ADDRESS ON FILE
COLON ZAYAS, FEDERICO      ADDRESS ON FILE
COLON ZAYAS, GISELA        ADDRESS ON FILE
Colon Zayas, Johnny        ADDRESS ON FILE
Colon Zayas, Jorge Q       ADDRESS ON FILE
COLON ZAYAS, JUAN          ADDRESS ON FILE
COLON ZAYAS, MANUEL        ADDRESS ON FILE
COLON ZAYAS, MIGDALIA      ADDRESS ON FILE
COLON ZAYAS, NOELIA        ADDRESS ON FILE
COLON ZAYAS, RICARDO       ADDRESS ON FILE
COLON ZAYAS, VICTOR        ADDRESS ON FILE
COLON ZAYAS, VICTOR M      ADDRESS ON FILE
COLON ZAYAS,FEDERICO       ADDRESS ON FILE
COLON, ALMACENES           ADDRESS ON FILE
COLON, ANA D.              ADDRESS ON FILE
COLON, ANGEL               ADDRESS ON FILE
COLON, ANGEL R             ADDRESS ON FILE
COLON, ARACELIS            ADDRESS ON FILE
COLON, BIENVENIDA          ADDRESS ON FILE
COLON, CARLOS              ADDRESS ON FILE
COLON, CARLOS IGNACIO      ADDRESS ON FILE
COLON, CARMEN A            ADDRESS ON FILE
COLON, COSME A.            ADDRESS ON FILE
COLON, CRISTINA A          ADDRESS ON FILE
COLON, DANIEL              ADDRESS ON FILE
COLON, DIANE RIVERA        ADDRESS ON FILE
COLON, EDWIN               ADDRESS ON FILE
COLON, EDWIN               ADDRESS ON FILE
COLON, EFRAIN              ADDRESS ON FILE
COLON, ELBA                ADDRESS ON FILE




                                                                       Page 1711 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1712 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COLON, ELVING                    ADDRESS ON FILE
COLON, EMMA                      ADDRESS ON FILE
COLON, ERICK                     ADDRESS ON FILE
Colon, Erick Alexis              ADDRESS ON FILE
COLON, ESAU                      ADDRESS ON FILE
COLON, GUILLERMO                 ADDRESS ON FILE
COLON, HECTOR                    ADDRESS ON FILE
COLON, HECTOR                    ADDRESS ON FILE
COLON, HECTOR                    ADDRESS ON FILE
COLON, IRVING                    ADDRESS ON FILE
COLON, JESUS A.                  ADDRESS ON FILE
COLON, JOEL D.                   ADDRESS ON FILE
COLON, JOSE                      ADDRESS ON FILE
COLON, JOSE                      ADDRESS ON FILE
COLON, JOSE A.                   ADDRESS ON FILE
COLON, JOSUE                     ADDRESS ON FILE
COLON, JUAN                      ADDRESS ON FILE
Colon, Lilian Cruz               ADDRESS ON FILE
COLON, LUCIA                     ADDRESS ON FILE
COLON, LUIS                      ADDRESS ON FILE
COLON, LUIS D.                   ADDRESS ON FILE
COLON, MARGARITA                 ADDRESS ON FILE
COLON, MARIA                     ADDRESS ON FILE
COLON, MARIA DE                  ADDRESS ON FILE
COLON, MARIA I                   ADDRESS ON FILE
COLON, MARISOL                   ADDRESS ON FILE
COLON, NALIX                     ADDRESS ON FILE
COLON, NELSON                    ADDRESS ON FILE
Colon, Orlando                   ADDRESS ON FILE
COLON, PABLO F                   ADDRESS ON FILE
Colon, Pedro A. Rivera           ADDRESS ON FILE
COLÓN, QUIÑONES, FRANCISCO
COLON, RAQUEL                    ADDRESS ON FILE
COLON, REYNALDO                  ADDRESS ON FILE
COLON, ROBERTO                   ADDRESS ON FILE
COLON, SONIA                     ADDRESS ON FILE
COLON, VANESSA                   ADDRESS ON FILE
COLON, VICTOR M                  ADDRESS ON FILE
COLON, VILMARIE                  ADDRESS ON FILE
COLON, WILFREDO                  ADDRESS ON FILE
COLON, WILFREDO A.               ADDRESS ON FILE
COLON, YAHAIRA M                 ADDRESS ON FILE
COLON,ANGEL L.                   ADDRESS ON FILE
COLON,CARMEN                     ADDRESS ON FILE
COLON,MANUEL A.                  ADDRESS ON FILE
COLON,WILFREDO                   ADDRESS ON FILE
COLONCOLON, JORGE                ADDRESS ON FILE
COLONCORDOVA, ANGEL D.           ADDRESS ON FILE
Colón‐De Jesús, Felicia          ADDRESS ON FILE
Colondres Cornier, Carmen        ADDRESS ON FILE
COLONDRES CRUZ, CHRISTIAN        ADDRESS ON FILE
COLONDRES CRUZ, JOAN             ADDRESS ON FILE
COLONDRES CRUZ, JOSE H.          ADDRESS ON FILE
COLONDRES GOMEZ, YOLANDA         ADDRESS ON FILE
COLONDRES MEDINA, FERNANDO L     ADDRESS ON FILE
COLONDRES NELSON, CARLOS         ADDRESS ON FILE
COLONDRES RIVERA, VIVIANA ENID   ADDRESS ON FILE
COLONDRES RUBET, JIMMY           ADDRESS ON FILE
COLONDRES RUBET, JUAN J          ADDRESS ON FILE
COLONDRES SANCHEZ, MAGDA         ADDRESS ON FILE




                                                                             Page 1712 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                                     Desc:
                                                                Exhibit A-1 - Creditor     Matrix
                                                                                     Case No.              Page 1713 of 3500
                                                                                              17 BK 3283‐LTS
                                                                                                                                Creditor Matrix

Creditor Name                                  Address1                                          Address2                                    Address3    Address4   City                State   PostalCode   Country
COLONDRES SIERRA, CARMEN                       ADDRESS ON FILE
COLONDRES VELEZ, LINETTE                       ADDRESS ON FILE
COLONDRES VELEZ, MYRNA.                        ADDRESS ON FILE
COLONFLORES, JUSTO                             ADDRESS ON FILE
COLON‐HERNANDEZ, JOSE A.                       ADDRESS ON FILE
COLONIAL BEHAVIORAL HEALTH                     1657 MERRIMAC TRAIL                                                                                                  WILLIAMSBURG        VA      23185
COLONIAL INSURANCE AGENCY                      PO BOX 192511                                                                                                        SAN JUAN            PR      00919
COLONIAL INSURANCE AGENCY                      PO BOX 6630                                                                                                          CAGUAS              PR      00726‐6630
COLONIAL INSURANCE AGENCY INC                  PO BOX 195500                                                                                                        SAN JUAN            PR      00919‐5500
COLONIAL LIFE & ACCIDENT INS. CO.              PO BOX 1365                                                                                                          SOUTH CAROLINA      SC      29202
COLONIAL LIFE ACC INS CO                       CONDOMINIO TORRELINDA SUITE 903                   85 CALLE MAYAGUEZ                                                  SAN JUAN            PR      00917
Colonial Life And Accident Insurance           1200 Colonial Life Blvd                                                                                              Columbia            SC      29210‐7670
Colonial Life And Accident Insurance Company   Attn: Jose Rosario Rosado, Agent for Service of PrOne Fountain Square                                                Chattanooga         TN      37402‐1330
Colonial Life And Accident Insurance Company   Attn: M. Catheryn Konsavage, Vice President       One Fountain Square                                                Chattanooga         TN      37402‐1330
Colonial Life And Accident Insurance Company   Attn: Randy Horn, President                       One Fountain Square                                                Chattanooga         TN      37402‐1330
Colonial Life And Accident Insurance Company   Attn: Roger Vancleave, Vice President             One Fountain Square                                                Chattanooga         TN      37402‐1330
Colonial Life And Accident Insurance Company   Attn: Vicki Corbett, Vice President               One Fountain Square                                                Chattanooga         TN      37402‐1330
Colonial Life And Accident Insurance Company   Attn: Wendy Nesmith, Regulatory Compliance GoOne Fountain Square                                                     Chattanooga         TN      37402‐1330
COLONIAL PARKING CORPORATION                   PO BOX 192239                                                                                                        SAN JUAN            PR      00919‐2239
COLONIAL PENN LIFE INSURANCE CO                11825 N PENNSYLVANIA ST                                                                                              CARMEL              IN      46032
Colonial Penn Life Insurance Company           399 Market Street                                                                                                    Philadelphia        PA      19181
Colonial Penn Life Insurance Company           Attn: David Humm, Premiun Tax Contact             11825 N. Pennsylvania Street, J1J                                  Carmel              IN      46032
Colonial Penn Life Insurance Company           Attn: karl Kindig, Vice President                 11825 N. Pennsylvania Street, J1J                                  Carmel              IN      46032
Colonial Penn Life Insurance Company           Attn: Nancy Sweet, Circulation of Risk            11825 N. Pennsylvania Street, J1J                                  Carmel              IN      46032
Colonial Penn Life Insurance Company           Attn: Nancy Sweet, Consumer Complaint Contact 11825 N. Pennsylvania Street, J1J                                      Carmel              IN      46032
Colonial Penn Life Insurance Company           Attn: William Fritts, Regulatory Compliance Gove 11825 N. Pennsylvania Street, J1J                                   Carmel              IN      46032
Colonial Penn Life Insurance Company           Attn: William Shea, President                     11825 N. Pennsylvania Street, J1J                                  Carmel              IN      46032
Colonial Penn Life Insurance Company           c/o The Prentice Hall Corporation, Agent for Serv 11825 N. Pennsylvania Street, J1J                                  Carmel              IN      46032
Colonial Surety Company                        123 Tice Boulevard                                                                                                   Woodcliff Lake      NJ      07677
Colonial Surety Company                        Attn: Audie Murphy, Circulation of Risk           50 Chestnut Ridge Road                      Suite 108              Montvale            NJ      07645
Colonial Surety Company                        Attn: Audie Murphy, Consumer Complaint Contac50 Chestnut Ridge Road                           Suite 108              Montvale            NJ      07645
Colonial Surety Company                        Attn: Audie Murphy, Premiun Tax Contact           50 Chestnut Ridge Road                      Suite 108              Montvale            NJ      07645
Colonial Surety Company                        Attn: Audie Murphy, Regulatory Compliance Gove50 Chestnut Ridge Road                          Suite 108              Montvale            NJ      07645
Colonial Surety Company                        Attn: Wayne Nunziata, President                   50 Chestnut Ridge Road                      Suite 108              Montvale            NJ      07645
Colonial Surety Company                        c/o The Prentice Hall Corporation System of Puer 50 Chestnut Ridge Road                       Suite 108              Montvale            NJ      07645
COLONIAS MEDICAL MANAGEMENT                    PO BOX 1438                                                                                                          RINCON              PR      00677
COLONLEDESMA, HERNAN                           ADDRESS ON FILE
COLONLOPEZ, JULIA                              ADDRESS ON FILE
COLONLUGO, JOSE A                              ADDRESS ON FILE
COLONMARRERO, CRISTOBAL                        ADDRESS ON FILE
COLONMARTINEZ, JOSEFINA                        ADDRESS ON FILE
COLONMORALES, LILLIAM                          ADDRESS ON FILE
COLONNOGUERAS, BERNARDO                        ADDRESS ON FILE
COLONPEREZ, GRACIANO                           ADDRESS ON FILE
COLONRAMOS, ANGEL L                            ADDRESS ON FILE
COLON‐RENTAS, MADELINE                         ADDRESS ON FILE
COLONREYES, LINDA I.                           ADDRESS ON FILE
COLONRIVERA, ISRAEL                            ADDRESS ON FILE
COLONRIVERA, SONIA M                           ADDRESS ON FILE
COLONROMAN, ANDRES                             ADDRESS ON FILE
COLONTORRES, GLORIA L                          ADDRESS ON FILE
COLONTRINIDAD, PEDRO                           ADDRESS ON FILE
COLOR IMAGE                                    AVE. ROOSEVELT 1254                                                                                                  PUERTO NUEVO        PR      00920
COLOR IMAGES                                   MONTEMAR PLAZA                                    31 CALLE CALAF                                                     SAN JUAN            PR      00918
COLOR IMAGES                                   P O BOX 56264                                                                                                        HOUSTON             TX      77256
COLOR TAAL INC.                                PO BOX 9983                                                                                                          SAN JUAN            PR      00908
COLOR TILE LLC                                 PMP 221 #35 JUAN C BORBON                                                                                            GUAYNABO            PR      00969
COLORADO BANKERS LIFE INS CO                   5990 GREENWOOD PLAZA                              BLVD STE 325                                                       GREENWOOD VILLAGE   CO      80111
Colorado Bankers Life Insurance Company        2327 Englert Drive                                                                                                   Durham              NC      27713
Colorado Bankers Life Insurance Company        Attn: Patricia Wells, Vice President              5990 Greenwood Plaza Boulevard Suite 325                           Greenwood Village   CO      80111




                                                                                                                              Page 1713 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1714 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                           Address1                                     Address2                                   Address3   Address4   City                State   PostalCode   Country
COLORADO CASTILLO, ANTONIO              ADDRESS ON FILE
COLORADO CRUZ, DAVID                    ADDRESS ON FILE
COLORADO ESCRIBANO, JOSE A              ADDRESS ON FILE
COLORADO ESPADA, JULIETTE M.            ADDRESS ON FILE
COLORADO FAMILY SUPPORT REGISTRY        PO BOX 2171                                                                                                   DENVER              CO      80201‐2171
COLORADO FIGUEROA, JESUS                ADDRESS ON FILE
COLORADO HERNANDEZ, LUIS                ADDRESS ON FILE
COLORADO MALAVE, CARLOS                 ADDRESS ON FILE
COLORADO ORTEGA, NORMA                  ADDRESS ON FILE
COLORADO ORTIZ, SAIBEL                  ADDRESS ON FILE
COLORADO PEREZ, OLGA I                  ADDRESS ON FILE
COLORADO PINERO & VELEZ C S P           268 AVE PONCE DE LEON OFIC 1403                                                                               SAN JUAN            PR      00918
COLORADO PINERO & VELEZ C S P           HOME MORTGAGE PLAZA                          268 PONCE DE LEON SUITE 1403                                     SAN JUAN            PR      00918
COLORADO RODRIGUEZ, ANA C               ADDRESS ON FILE
COLORADO SPGS ORTHOPAEDIC GROUP         4110 BRIARGATE PKWY STE 300                                                                                   COLORDO SPGS        CO      80920
COLORADO SUAREZ, ANNETTE M              ADDRESS ON FILE
COLORADO SUAREZ, ANNETTE, UNION         EDWIN RIVERA CINTRON                         PO BOX 1098                                                      LAS PIEDRAS         PR      00771
COLORAMA PAINTS & EQUIPMENT             HC 01 BOX 9060                                                                                                TOA BAJA            PR      00949
COLORAO RADIATOR SERVICE INC            PO BOX 51956                                                                                                  TOA BAJA            PR      00950
COLOSO FOODS INC                        PO BOX 363013                                                                                                 SAN JUAN            PR      00936‐3013
Coloso Mix                              Carr. 111 km. 0.2                                                                                             Aguadilla           PR      00603
COLOSO MIX INC                          PO BOX 2085                                                                                                   SAN SEBASTIAN       PR      00685
COLPRICO INC                            CONDOMINIO MUNDO FELIX                       APT 1907                                                         CAROLINA            PR      00979
COLPRINTER CORP                         500 AVE MUNOZ RIVERA CENTRO I                OFIC 209                                                         SAN JUAN            PR      00918
COLSN MIRANDA, ABIGAIL                  ADDRESS ON FILE
COLSTON, MAYA R                         ADDRESS ON FILE
COLTON COLON, JAVIER                    ADDRESS ON FILE
COLTON CUESTA, IDA                      ADDRESS ON FILE
COLTON RIVERA, MARIA M                  ADDRESS ON FILE
COLTON RIVERA, MILDRED                  ADDRESS ON FILE
COLTON VERGE MD, PEDRO                  ADDRESS ON FILE
COLUMBIA BOOKS, INC.                    4340 EAST‐WEST HIGHWAY, STE 300                                                                               BETHESDA            MD      20814
Columbia Casualty Company               333 South Wabash Avenue                                                                                       Chicago             IL      60604
Columbia Casualty Company               Attn: Stephen Wright, President              333 S. Wabash Avenue                                             Chicago             IL      60604
Columbia Casualty Company               Attn: Thomas Corcoran, Circulation of Risk   333 S. Wabash Avenue                                             Chicago             IL      60604
Columbia Casualty Company               Attn: Thomas Corcoran, Consumer Complaint Con333 S. Wabash Avenue                                             Chicago             IL      60604
COLUMBIA COLLEGE
COLUMBIA COLLEGE CORP                   PO BOX 8517                                                                                                   CAGUAS              PR      00726‐8517
COLUMBIA COLLEGE CORPORATION            PO BOX 8517                                                                                                   CAGUAS              PR      00726
COLUMBIA MEMORIAL HOSPITAL JACKSONVILLE PO BOX 152472                                                                                                 IRVING              TX      75015‐2472
COLUMBIA ST MARY S HOSPITAL             PO BOX 19072                                                                                                  GREEN BAY           WI      54307‐9072
COLUMBIA UNIVERSITY MEDICAL CENTER      PO BOX 19072                                                                                                  GREEN BAY           WI      54307‐9072
COLUMBUS COLLEGE                        AREA DE TESORO                               DIVISION DE RECLAMACIONES                                        SAN JUAN            PR      00902‐4140
COLUMBUS COLLEGE                        PO BOX 8517                                                                                                   CAGUAS              PR      00726
COLUMBUS HOSPITAL                       PO BOX 19058                                                                                                  GREEN BAY           WI      54307‐9058
COLUMBUS NETWORKS OF PUERTO RICO        48 CARR 165 STE 515                                                                                           GUAYNABO            PR      00968
COLUMBUS NETWORKS PUERTO RICO, INC.     City View Plaza, Suite 515 #48 Carr. 165     Km. 1.2                                                          SAN JUAN            PR      00936‐4225
COLUMBUS NETWORKS PUERTO RICO, INC.     PO BOX 364225                                                                                                 SAN JUAN            PR      00936‐4225
COLUMBUS REGIONAL BREAST CARE CTR       PO BOX 6410                                                                                                   SOUTHEASTERN        PA      19398‐6410
COLUMBUS REGIONAL MEDICAL CENTER        PO BOX 61507                                                                                                  KING OF PRUSSIA     PA      19406
COLUMNA SEVERINO, LUIS A                ADDRESS ON FILE
COLUMNA TARNOWSKI, ERIKA H.             ADDRESS ON FILE
COLUMNA VILLAMAN, RAFAELA               ADDRESS ON FILE
COM CABORROJENO PRO SALUD Y AMBIENTE INCADDRESS ON FILE
COM CIVICO REC DEL BO NARANJO SAN PEDRO P O BOX 4189                                                                                                  PUERTO REAL         PR      00740
COM DE COMUNICACIONES Y DES HUMANO INC HC 3 BOX 13636                                                                                                 JUANA DIAZ          PR      00795
COM DE COMUNICACIONES Y DES HUMANO INC HC 5 BOX 13636                                                                                                 JUANA DIAZ          PR      00795‐9516
COM DESARROLLO SOCIAL Y CULTURAL DAGUAOBO DAGUAO                                     PR 3 KM 60.3 BUZOZ 125                                           NAGUABO             PR      00718‐2955
COM DONATIVOS LEG / ISRAEL TORRES RUIZ  151 PASEO COVADONGA                          EDIF MEDICAL ARTS PTA DE TIERRA                                  SAN JUAN            PR      00902‐2228
COM ESPECIALES / JUAN APONTE PIZARRO    635 FERNANDEZ JUNCOS                                                                                          SAN JUAN            PR      00907




                                                                                                                 Page 1714 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1715 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                         Address2                                 Address3             Address4   City             State   PostalCode   Country
COM EST ELEC Y/O FRANCHESKA ORTIZ BONNET P O BOX 195552                                                                                            SAN JUAN         PR      00919‐5552
COM EST ELECCIONE/ LILLIAM FALERO RIVERA P O BOX 195552                                                                                            SAN JUAN         PR      00919‐5552
COM ESTATAL ELECCIONES/FRANCHESKA E      ORTIZ BONNET                     PO BOX 195552                                                            SAN JUAN         PR      00919‐5552
COM INICIATIVAS DR. VICTOR BERRIOS INC   RES DR VICTOR BERRIOS            EDIF 3 APT 22                                                            YABUCOA          PR      00767
COM INICIATIVAS DR. VICTOR BERRIOS INC   RESIDENCIAL DR. VICTOR BERRIOS   EDIF 11 APTO. 82                                                         YABUCOA          PR      00767
COM INICIATIVOS VICTOR BERRIOS INC       RES DR VICTOR BERRIOS            EDIF 3 APT 22                                                            YABUCOA          PR      00767
COM INT FINANCIERA Y PEDRO J MERCADO     PO BOX 11855                                                                                              SAN JUAN         PR      00910‐3855
COM RESTAURACION MONUMENTO HISTORICO CALLE SAN MATEO Y SAN JORGE                                                                                   SAN JUAN         PR      00912
COMAS AYALA, OCTAVIO                     ADDRESS ON FILE
COMAS AYALA, WILLIAM                     ADDRESS ON FILE
COMAS BERROCALES, EDNA                   ADDRESS ON FILE
COMAS BERROCALES, FUNDADOR               ADDRESS ON FILE
COMAS BETANCOURT, ZANDRA I               ADDRESS ON FILE
COMAS DIAZ, ELVIRA DEL C                 ADDRESS ON FILE
COMAS DIAZ, JUANA DEL C                  ADDRESS ON FILE
COMAS DIAZ, LUCEMILLE                    ADDRESS ON FILE
COMAS FERRER, STANLEY                    ADDRESS ON FILE
COMAS FLORES, FLOREMIL                   ADDRESS ON FILE
COMAS GOMEZ, LILLIAM                     ADDRESS ON FILE
COMAS HORTA, RAFAEL A.                   ADDRESS ON FILE
COMAS IRIZARRY, EFREN                    ADDRESS ON FILE
COMAS IRIZARRY, NOEL                     ADDRESS ON FILE
Comas Irizarry, Rodolfo                  ADDRESS ON FILE
COMAS JUSTINIANO, ZORALYS                ADDRESS ON FILE
COMAS JUSTINIANO, ZULEIKA P              ADDRESS ON FILE
COMAS LOPEZ, ARLENE                      ADDRESS ON FILE
COMAS MATOS MD, MARIA                    ADDRESS ON FILE
COMAS MATOS, MARIA DEL C                 ADDRESS ON FILE
Comas Morales, Albert                    ADDRESS ON FILE
COMAS NAZARIO, FRANCES M                 ADDRESS ON FILE
COMAS ORTIZ, JOEL                        ADDRESS ON FILE
COMAS ORTIZ, JUAN                        ADDRESS ON FILE
COMAS PAGAN, MYRNA                       ADDRESS ON FILE
COMAS PEREZ, RENE A.                     ADDRESS ON FILE
COMAS REBOIRA, JESUS M                   ADDRESS ON FILE
COMAS RIVERA, EDNA                       ADDRESS ON FILE
COMAS RIVERA, FRANCISCO                  ADDRESS ON FILE
Comas Rivera, Jesus                      ADDRESS ON FILE
Comas Rivera, John A                     ADDRESS ON FILE
COMAS RIVERA, JORGE L                    ADDRESS ON FILE
COMAS RIVERA, MARCOS                     ADDRESS ON FILE
COMAS TORRES, MARINE LINX                ADDRESS ON FILE
COMAS TORRES, RAFAEL A.                  ADDRESS ON FILE
COMAS TORRES, YANNESKA                   ADDRESS ON FILE
Comas Valle, Juan                        ADDRESS ON FILE
COMAS VAZQUEZ, DOMINGO                   ADDRESS ON FILE
COMAS VELEZ, WALESKA                     ADDRESS ON FILE
COMAS VERDEJO, KENIAMARIE                ADDRESS ON FILE
COMAS VERDEJO, LUIS                      ADDRESS ON FILE
COMAS,ANGEL K.                           ADDRESS ON FILE
COMAS,DOMINGO                            ADDRESS ON FILE
COMBE ORMENO, KATIA                      ADDRESS ON FILE
COMBINED CHEMICAL GROUP                  PMB 563                          1353 AVE LUIS VIGOREAUX                                                  GUAYNABO         PR      00966
COMBINED ENGINEERING SERVICES PSC        PO BOX 366236                                                                                             SAN JUAN         PR      00936‐6236
Combined Insurance Company of America    8750 Bryn Mawr Avenue                                                                                     Chicago          IL      60631
Combined Insurance Company of America    Attn: Douglas Wendt, President   436 Walnut Street                        PO Box 1000, WB12A              Philadelphia     PA      19106
COMBUSTION ENGINEERING CARIBE INC        268 MUNOZ RIVERA SUITE 1601                                                                               SAN JUAN         PR      00918‐1918
COMCAST                                  PO BOX 3005                                                                                               SOUTHEASTERN     PA      19398‐3005
COMCAST CORP                             ONE COMCAST CENTER                                                                                        PHILADELPHIA     PA      19103
COMCORCO INC/ANGEL D DELGADO SAN MIGUE PO BOX 981                                                                                                  MANATI           PR      00674




                                                                                                    Page 1715 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1716 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                            Address1                        Address2                            Address3   Address4   City              State   PostalCode   Country
COMEA ROSA, ALFONSO                      ADDRESS ON FILE
COMECO INC                               PO BOX 364652                                                                             SAN JUAN          PR      00936
COMELLAS PEDROZA, ALFONSO H.             ADDRESS ON FILE
COMELLAS QUINONES, GERARDO               ADDRESS ON FILE
Comercial & Ferreteria Los Amigos        Carr. #2 KM 1.9,                                                                          Camuy             PR      00627
Comercial Babby                          Bo. Cocos, Sector Arca de Noe                                                             Quebradillas      PR      00678
COMERCIAL BERRIOS INC                    APARTADO 1824                                                                             CIDRA             PR      00639
COMERCIAL BERRIOS INC                    PO BOX 1822                                                                               CIDRA             PR      00739
COMERCIAL COLLAZO                        PO BOX 254                                                                                NAGUABO           PR      00718
COMERCIAL CRESPO                         CARR.134 KM29.5                                                                           HATILLO           PR      00659
COMERCIAL CUESTA DEL GUAMA               KM 2.5 BO CAPAEZ                                                                          HATILLO           PR      00659
COMERCIAL DON BENJA INC/ PURA ENERGIA IN HC 03 BOX 27150                                                                           LAJAS             PR      00667
COMERCIAL DUNSCOMBE INC                  183 AVE DUNSCOMBE                                                                         MAYAGUEZ          PR      00682
COMERCIAL EL EXPRESO INC                 P O BOX 1332                                                                              CIALES            PR      00638
COMERCIAL FELLO IRIZARRY                 PO BOX 117                                                                                LAJAS             PR      00667
COMERCIAL GC, LLC DBA FERR AMADOR INC    BUZON 94 CARR #2 KM 88.3                                                                  HATILLO           PR      00659
Comercial Gonzalez III                   Carr.2 Km. 82.1, Membrillo                                                                Camuy             PR      00627
COMERCIAL GONZALEZ‐ NUM INC VEASE        AVE DESVIO                      BOX 1273                                                  AGUADA            PR      00602‐0000
COMERCIAL GONZALEZ‐ NUM INC VEASE        BOX 174                                                                                   AÐASCO ,          PR      00610‐0000
COMERCIAL GONZALEZ VEGA                  7485 AVE AGUSTIN RAMOS CALERO                                                             ISABELA           PR      00662
COMERCIAL GONZALEZ VEGA                  BOX 174                                                                                   ANASCO P R        PR      00610‐0000
COMERCIAL GONZALEZ VEGA                  PO BOX 1275                                                                               AGUADA            PR      00602
COMERCIAL GONZALEZ VEGA                  PO BOX 1275 AVE DESVIO SUR                                                                AGUADA            PR      00602‐1275
COMERCIAL GONZALEZ VEGA                  PO BOX 174                                                                                ANASCO            PR      00610‐0174
Comercial Hermanos Barreto               PO BOX 140328                                                                             Arecibo           PR      00614
COMERCIAL HERMANOS BARRETO III           P O BOX 140328                                                                            ARECIBO           PR      00614
COMERCIAL HERMANOS NIEVES INC            HC 6 BOX 12050                                                                            SAN SEBASTIAN     PR      00685
COMERCIAL HNOS. BARRETO                  P. O. BOX 140328                                                                          ARECIBO           PR      00614‐0000
COMERCIAL HOSTOS , INC.                  BOX 7276                                                                                  PONCE             PR      00732‐0000
Comercial JJ, Inc.                       Carr.492 Km. 0.1 Bo. Lechuga                                                              Hatillo           PR      00678
COMERCIAL JUAN DIAZ                      4 CALLE COSTA                                                                             JUNCO             PR      00777
COMERCIAL JUAN DIAZ                      BO 400TAS CARR 185 KM 15.8                                                                JUNCOS            PR      00777
Comercial Juana Diaz #2                  Calle Costa #4                                                                            Juncos            PR      00777
COMERCIAL LOS CUNADOS                    BOX 1743 CARR 129 INT 111                                                                 LARES             PR      00669
COMERCIAL LOS CUNADOS                    PO BOX 1743                                                                               LARES             PR      00669
COMERCIAL MAINEL                         PO BOX 363854                                                                             SAN JUAN          PR      00936‐3854
COMERCIAL MENDEZ INC                     PO BOX 1390                                                                               AGUADA            PR      00602
COMERCIAL MENDOZA                        12000 AVE. JESUS T. PINERO                                                                CAYEY             PR      00737‐3430
COMERCIAL MENDOZA                        12000 JESUS T PINERO                                                                      CAYEY             PR      00736‐5574
COMERCIAL MENDOZA                        203 AVE. DE DIEGO                                                                         SAN JUAN          PR      00928‐0000
COMERCIAL MENDOZA                        P O BOX 373430                                                                            CAYEY             PR      00737‐3430
COMERCIAL MENDOZA                        PO BOX 1277                                                                               GUAYAMA           PR      00785‐0000
COMERCIAL MENDOZA                        PO BOX 1277                                                                               CAYEY             PR      00737‐0000
COMERCIAL MENDOZA DBA COMERCIAL MENDO12000 AVE JESUS T PIÐERO                                                                      CAMUY             PR      00627
COMERCIAL MENDOZA DBA COMERCIAL MENDO12000 AVE JESUS T PIÐERO                                                                      CAYEY             PR      00736‐5574
COMERCIAL MENDOZA DBA COMERCIAL MENDO12000 AVE JESUS T PINERO                                                                      CAMUY             PR      00627
COMERCIAL MENDOZA DBA COMERCIAL MENDO12000 AVE JESUS T PINERO                                                                      CAYEY             PR      00736‐5574
COMERCIAL MENDOZA DBA COMERCIAL MENDO203 AVE DE DIEGO                                                                              SAN JUAN          PR      00928
COMERCIAL MENDOZA DBA COMERCIAL MENDOP O BOX 373430                                                                                CAYEY             PR      00737‐3430
COMERCIAL MENDOZA DBA COMERCIAL MENDOPO BOX 1277                                                                                   CAYEY             PR      00737
COMERCIAL MENDOZA INC                    12000 AVE JESUS T PIÐEIRO                                                                 CAYEY             PR      00736‐5574
COMERCIAL MENDOZA INC                    12000 AVE JESUS T PINEIRO                                                                 CAYEY             PR      00736 5574
COMERCIAL MENDOZA INC                    PO BOX 1277                                                                               CAYEY             PR      00737
COMERCIAL MENDOZA INC                    PO BOX 373430                                                                             CAYEY             PR      00737
COMERCIAL MENDOZA INC                    URB SAN FRANCISCO               203 AVE DE DIEGO                                          SAN JUAN          PR      00927
COMERCIAL METROPOLITANA CO INC (COMECO) PO BOX 364652                                                                              SAN JUAN          PR      00936‐4652
COMERCIAL NEVAREZ/CARLOS NEVAREZ         64 CALLE IGNACIO MORALES                                                                  NARANJITO         PR      00719
COMERCIAL PADRO ‐ NIEVES                 PO BOX 8                                                                                  PENUELAS          PR      00624
COMERCIAL PITAHAYA                       HC 12 BOX 5610                                                                            HUMACAO           PR      00791
COMERCIAL RENE TORRES                    4985 CALLE CANDIDO HOYOS        URB. PERLA DEL SUR                                        PONCE             PR      00717‐0000




                                                                                              Page 1716 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 1717 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                                    Address1                         Address2                                    Address3       Address4   City              State   PostalCode   Country
COMERCIAL RENE TORRES                            APARTADO 7221                                                                                          PONCE             PR      00717‐0000
COMERCIAL SABANENO                               48 AVE QUILINCHINI                                                                                     SABANA GRANDE     PR      00637
COMERCIAL SAN FRANCISCO                          # 41 CALLE DR. VEVE, BOX 1259                                                                          BAYAMON           PR      00960
COMERCIAL SOLA DEL LLANO                         HC ‐ 09 BOX 12607                                                                                      AGUADILLA         PR      00603‐0000
COMERCIAL SOLA DEL LLANO                         HC 1 BOX 12607                                                                                         AGUADILLA         PR      00605‐9325
COMERCIAL SOLA DEL LLANO                         HC 9 BOX 12607                                                                                         AGUADILLA         PR      00605‐9325
COMERCIAL SOLA DEL LLANO INC                     HC 09 BOX 12607                                                                                        AGUADILLA         PR      00603‐9325
COMERCIAL TOLEDO INC                             P O BOX 253                                                                                            CIDRA             PR      00739
COMERCIAL TORTUGUERO/ PURA ENERGIA INC PO BOX 4040                                                                                                      VEGA BAJA         PR      00694
COMERCIAL YAMIL                                  CARR 684 KM 0 HM 7 PICHE BOCA                                                                          BARCELONETA       PR      00617
COMERCIALIZADORA GENERAL EN PR                   PO BOX 9021802                                                                                         SAN JUAN          PR      00902‐1802
COMERCIO CASH & CARRY                            CALLE COMERCIO # 41                                                                                    PONCE             PR      00731
COMERCIO, BIENES Y SERVICIOS                     P.O. BOX 190127                                                                                        SAN JUAN          PR      00919‐0127
COMERIO DATA SYSTEMS INC                         HC 1 BOX 4955                                                                                          COMERIO           PR      00782‐9725
COMERIO E INC                                    RR 1 BOX 11611                                                                                         MANATI            PR      00674‐9710
COMERIO HOUSING LIMITED PARTNERSHIP SE P O BOX 9009                                                                                                     PONCE             PR      00732‐9009
COMERIO MEDICAL CENTER                           PO BOX 1103                                                                                            COMERIO           PR      00782
COMERIO MEDICAL HOSP INC                         PO BOX 1103                                                                                            COMERIO           PR      00782‐1103
COMERIO SCHOOL BUS CORP                          PO BOX 352                                                                                             COMERIO           PR      00782‐0352
COMFORD JR MD, JOSEPH A                          ADDRESS ON FILE
COMFORT AYALA, JOHANNA                           ADDRESS ON FILE
COMFORT LIFT CHAIR                               PO BOX 4142                                                                                            BAYAMON           PR      00958
COMFORT PEDIC CORP                               PO BOX 4142                                                                                            BAYAMON           PR      00958
COMFORT PLANNERS MECHANICAL INC                  PO BOX 140803                                                                                          ARECIBO           PR      00614‐0803
COMFORT SYSTEMS USA                              PMB 1134                         PO BOX 4956                                                           CAGUAS            PR      00726
COMFORT SYSTEMS USA PUERTO RICO                  PMB 1134                         PO BOX 4956                                                           CAGUAS            PR      00726
COMFORT SYSTEMS USA PUERTO RICO INC              PMB 1134 P O BOX 4956                                                                                  CAGUAS            PR      00726‐4956
COMING SOON                                      ROYAL TOWN                       8 BLQ 7 CALLE 50 A FINAL                                              BAYAMON           PR      00956
COMISION ACREDITADORA DE INTS EDUCATIVAS 150 AVE CONSTITUCION STE 1                                                                                     SAN JUAN          PR      00901‐2101
COMISION AUDITOR INTEGRAL CREDIT PUBLICO APARTADO 9023431                         SENADO DE PR                                EL CAPITOLIO              SAN JUAN          PR      00680
COMISION CERTIFICADORA                           PO BOX 60327                                                                                           BAYAMON           PR      00960‐6032
COMISION DE ENERGIA DE PUERTO RICO               AREA DEL TESORO                  DIVISION CONTADURIA GENERAL                                           SAN JUAN          PR      00902‐4140
COMISION DE ENERGIA DE PUERTO RICO               EDIFICIO WORLD PLAZA             268 AVE MUNOZ RIVERA STE 400                                          SAN JUAN          PR      00918
COMISION ESPECIAL CONJUNTA                       EL CAPITOLIO                     APARTADO 9022228                                                      SAN JUAN          PR      00902‐2228
COMISION INDUSTRIAL Y ANGEL L MORALES            PO BOX 364466                                                                                          SAN JUAN          PR      00936‐4466
COMISION INDUSTRIALY/O WILFREDO CORREA MALDONADO                                  PO BOX 364466                                                         SAN JUAN          PR      00936‐4466
COMISION PARA LA SEGURIDAD ENEL TRANSITO PO BOX 41289 MINILLAS STA                                                                                      SAN JUAN          PR      00940
COMISION PUERTO DE MAYAGUEZ                      80 CARR 3341 SUITE 102                                                                                 MAYAGUEZ          PR      00682‐5769
COMISIONADO DE SEGUROS DE PR                     LCDO. JUAN CARLOS GARAY MASSEY   PMB 347 #5900 ISLA VERDE AVE. L‐2                                     CAROLINA          PR      00979‐4901
COMISSIONG MENDEZ, EVELYN                        ADDRESS ON FILE
COMITE ARECIBENO POR LA CONSERVACION             DE LAS TORTUGAS MARINAS          HC 1 BOX 10885                                                        ARECIBO           PR      00612
COMITE BICENTENARIO DE JUNCOS INC                6 CALLE ALGARIN                                                                                        JUNCOS            PR      00777
COMITE CABOROJENOS PRO SALUD AMB INC             CALLE BARBOSA                    ESQUINA BETANCES                                                      CABO ROJO         PR      00623
COMITE CABORROJENOS PRO SALUD Y AMBIENT 55 CALLE BARBOSA ESQ BETANCES                                                                                   CABO ROJO         PR      00623
COMITE CABORROJENOS PRO SALUD Y AMBIENT PO BOX 1789                                                                                                     CABO ROJO         PR      00623‐1789
COMITE CENT RECREATIVO LA MARGARITA INC URB LA MARGARITA                          C 3 CALLE B BOX 518                                                   SALINAS           PR      00751‐0518
COMITE CIVICO LOS FILTROS INC                    PO BOX 3275                                                                                            CATANO            PR      00963
COMITE CLASE GRADUANDA 1979                      129 CALLE SONICO                                                                                       ISABELA           PR      00662
COMITE COMUNAL DE CORCOVADA INC                  RR 4 BUZON 16013                                                                                       ANASCO            PR      00610
COMITE COMUNIDAD CORCOVADA INC                   RR 04 BZN 16013                                                                                        ANASCO            PR      00610
COMITE COORDINADOR DE ENF                        PO BOX 3662112                                                                                         SAN JUAN          PR      00936
COMITÉ DE AMIGOS DE LOS ÁRBOLES (COAMAR) LCDO. MARTIN G GONZALEZ VELEZ            PO BOX                                                                MERCEDITA         PR      00715'0591
COMITE DE DESARROLLO Y CONSERVACION DE LA COMUNIDAD LAS CAROLINAS INC             HC 4 BOX 13015                                                        SAN GERMAN        PR      00683
COMITE DE GRADUACION ESC SANCHEZ HIDALGOHC 2 BOX 23981                                                                                                  SAN SEBASTIAN     PR      00685
Comité de Internos y Residentes ‐ Capítulo de PR Inc.
COMITE DE PADRES ESTUDIANTES DE ECEDAO PO BOX 2004                                                                                                      SALINAS           PR      00751
COMITE DE PATRONOS DEL SERV EMPLEO               P O BOX 191765                                                                                         SAN JUAN          PR      00919‐1765
COMITE DE PATRONOS DEL SERVICIO EMPLEO AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                             SAN JUAN          PR      00902‐4140
COMITE DEPORTIVO OROCOVENO INC                   PO BOX 645                                                                                             OROCOVIS          PR      00720
COMITE DEPORTIVO OROCOVENO INC                   PO BOX 687                                                                                             OROCOVIS          PR      00720




                                                                                                               Page 1717 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 1718 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                             Creditor Matrix

Creditor Name                             Address1                                           Address2                                     Address3   Address4   City              State   PostalCode   Country
COMITE DESARROLLO INTEGRAL COMUNITARIO CARR 743 BO LAS VEGAS                                                                                                    CAYEY             PR      00736
COMITE ESTATAL DE PATRONOS                PO BOX 5381                                                                                                           SAN JUAN          PR      00919‐5381
COMITE FIESTA DE CRUZ CANTERA INC         125 CALLE MAYOR CANTERA                                                                                               PONCE             PR      00730
COMITE FIESTA DE REYES COMUNIDADES ESP    44 AVE BETANCES                                                                                                       PONCE             PR      00730
COMITE LIQUIDADOR PLATA SUGAR INC         P O BOX 566                                                                                                           CATANO            PR      00963
COMITE LOCAL PARA LA PLANIFICACION DE     RESPUESTAS A EMERGENCIAS AMBIENTALE                PO BOX 143971                                                      ARECIBO           PR      00614‐3971
COMITE ORG MUNDIAL MAXIBASKET 2007 INC 1217 AVE AMERICO MIRANDA                                                                                                 SAN JUAN          PR      00921
COMITE ORGANIZACIONES SINDICALES          505 AVE MUNOZ RIVERA                                                                                                  SAN JUAN          PR      00918
COMITE ORGANIZACIONES SINDICALES          505 MUNOZ RIVERA                                                                                                      SAN JUAN          PR      00918
COMITE PARALIMPICO DE P R INC             ADDRESS ON FILE
COMITE PIP BAYAMON                        URB CAMPO ALEGRE                                   D 11 CALLE ROBLES                                                  BAYAMON           PR      00956‐4434
COMITE PRO AYUDA BALONCESTO LOPABI        PO BOX 1382                                                                                                           ISABELA           PR      00662
COMITE PRO DEFENSA DE LA SALUD Y DEL      AMBIENTE DE VEGA BAJA                              BDA SANDIN 86 A CALLE JUPITER                                      VEGA BAJA         PR      00693
COMITE PRO DESARROLLO DE MAUNABO          9 CALLE CESAR ORTIZ                                                                                                   MAUNABO           PR      00707
COMITE PRO DESARROLLO DE MAUNABO          PO BOX 1411                                                                                                           MAUNABO           PR      00707
COMITE PRO DESARROLLO DE VILLA CANONA     VILLA CANONA 2 HC 01 BOX 8948                                                                                         LOIZA             PR      00772
COMITE PRO DESARROLLO VILLA CANONA INC VILLA CANONA II                                       HC 01 BOX 8948                                                     LOIZA             PR      00772
COMITE PRO SERIE LATINOAMERICANO 2008INC BDA LLUBERAS REPARTO ESPERANZA                      H 2 CALLE 6                                                        YAUCO             PR      00698
COMITE PRO. DEFENSA DE LA SALUD Y DEL     CALLE JUPITER #86 A BDA. SANDIN                                                                                       VEGA BAJA         PR      00693
COMITE VECINAL PRO BO CRUZ                BO CRUZ                                            HC 1 BOX 5855                                                      MOCA              PR      00676
COMITEPRO RECREACION DEPORTES JUANA DIAZHC 05 BOX 13084                                                                                                         JUANA DIAZ        PR      00795‐9511
COMM KITCHEN EXHAUST CLEANING INC         2465 SAINT JOHNS BLUFF RD S                                                                                           JACKSONVILLE      FL      32246‐2329
COMM LEASING & INDUSTRIAL ELEC            PO BOX 362526                                                                                                         SAN JUAN          PR      00936
COMMANDER DEL VALLE, JULIO R              ADDRESS ON FILE
COMMANDER MORALES, MILAGROS               ADDRESS ON FILE
COMMERCIAL APPLIANCE DISTRIBUTORS         P O BOX 7731                                                                                                          CAGUAS            PR      00726
COMMERCIAL BERRIOS, INC.                  APARTADO 1822                                                                                                         CIDRA             PR      00739
COMMERCIAL GRAPHICS PRINTING              PO BOX 191919                                                                                                         SAN JUAN          PR      00919
COMMERCIAL INCINERATIN CORP               PO BOX 9086                                                                                                           CAROLINA          PR      00988
COMMERCIAL INCINERATION CORP              PLAZA CAROLINA STATION                             PO BOX 9086                                                        CAROLINA          PR      00988‐9086
COMMERCIAL INCINERATION CORP              PO BOX 9086                                        PLAZA CAROLINA STATION                                             CAROLINA          PR      00988
COMMERCIAL INCINERATION CORP              PO BOX 9088                                                                                                           CAROLINA          PR      00988
COMMERCIAL KITCHEN SERVICES, INC          URB FAIRVIEW                                       1890 CALLE FRANCISCO QUINDOS                                       SAN JUAN          PR      00926‐7734
COMMERCIAL LANDSCAPE & LAW CARE SERVICE PO BOX 1282                                                                                                             MOROVIS           PR      00687‐1282
COMMERCIAL PLASTIC & SUPPLY               CALL BOX 11893 CAPARRA HEIGHTS                                                                                        SAN JUAN          PR      00922‐1893
COMMERCIAL RENE TORRES                    APT 7271                                                                                                              PONCE             PR      00731‐7221
COMMERCIAL RENE TORRES                    AREA DE TESORO                                     DIVISION DE CONCILIACION                                           SAN JUAN          PR      00902‐4140
COMMERCIAL RENE TORRES                    PO BOX 7221                                                                                                           PONCE             PR      00732‐7221
COMMERCIAL RENT                           PO BOX 366713                                                                                                         SAN JUAN          PR      00936
COMMERCIAL SATELLITE COMMUNICATIONSINC PO BOX 659                                                                                                               SABANA GRANDE     PR      00637
COMMERCIAL SOUND AND VIDEO SOLUTIONS IN URB CIUDAD JARDIN III                                162 CALLE LOS COROZOS                                              CANOVANAS         PR      00729
COMMERCIAL VEHICLE SAFETY ALLIANCE        6303 IVY LN STE 310                                                                                                   GREENBELT         MD      20770
COMMINGS CARTAGENA INC                    909 AVE TITO CASTRO STE 501                                                                                           PONCE             PR      00716‐4721
COMMMUNITY INSURANCE AGENCY OF PUERTO ARBOLES DE MONTEHIEDRA                                 465 CALLE BAHUINIA                                                 SAN JUAN          PR      00926
COMMOLOCO INC                             17 CALLE 2 STE 420                                                                                                    GUAYNABO          PR      00968‐1745
COMMOLOCO INC                             PO BOX 548                                                                                                            ISABELA           PR      00662
COMMON GROUND ALLIANCE                    2300 WILSON BLVD STE 400                                                                                              ARLINGTON         VA      22201
Commonwealth Land Title Insurance         601 Riverside Avenue                                                                                                  Jacksonville      FL      32204
Commonwealth Land Title Insurance Company Attn: jan Wilson, Vice President                   601 Riverside Avenue                                               Jacksonville      FL      32204
Commonwealth Land Title Insurance Company Attn: John Chytraus, Circulation of Risk           601 Riverside Avenue                                               Jacksonville      FL      32204
Commonwealth Land Title Insurance Company Attn: Pamela Beckner, Vice President               601 Riverside Avenue                                               Jacksonville      FL      32204
Commonwealth Land Title Insurance Company Attn: See Rennie, Premiun Tax Contact              601 Riverside Avenue                                               Jacksonville      FL      32204
Commonwealth Land Title Insurance Company c/o Fidelity National Title Group of Pueto Rico, Ag601 Riverside Avenue                                               Jacksonville      FL      32204
Commonwealth Land Title Insurance Company c/o Regulatory Deparment, Regulatory Complianc601 Riverside Avenue                                                    Jacksonville      FL      32204
Commonwealth Land Title Insurance Company c/o Regulatory Department, Consumer Complain 601 Riverside Avenue                                                     Jacksonville      FL      32204
COMMONWEALTH ORTHOPAEDICS AND REHAB F8344 CLAIREMONT MESA BLVD                               SUITE 201                                                          SAN DIEGO         CA      92111
Commonwealth Risk Transfer I.I.           530 Avnue De La Cnsttucin                                                                                             San Juan          PR      00901‐2304
COMMTEK, INC                              MANS DE CIUDAD JARDIN BAIROA                       379 CALLE MONTEAGUADO                                              CAGUAS            PR      00727‐1412
COMMUNICATION & CORROSION CONTROL, CORPO BOX 981                                                                                                                MANATI            PR      00674
COMMUNICATION BREAFINGS                   1101 KINGS STREET                                  SUITE 110                                                          ALEXANDRIA        VA      22314




                                                                                                                         Page 1718 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1719 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                               Address1                               Address2                                    Address3                 Address4   City               State   PostalCode   Country
COMMUNICATION BRIEFINGS                     PO BOX 25467                                                                                                           ALEXANDRIA         VA      22313‐9936
COMMUNICATION SOLUTIONS                     PO BOX 70250                                                                                                           SAN JUAN           PR      00936‐8250
Communication Workers of America (CWA)‐LocalCastro, Rafael                         PO Box 366297                                                                   San Juan           PR      00936
                                                                                                                               Ste. 506 Ave. Ponce de
Communication Workers of America (CWA)‐LocalCastro, Rafael                         Edif. Mercantil Plaza 2                     León                                San Juan           PR      00918‐1609
COMMUNICATIONS INDUSTRIAL ELECTRONICS C PO BOX 362526                                                                                                              SAN JUAN           PR      00936‐2526
COMMUNICATIONS & INSUSTRIAL                 P.O. BOX 362526                                                                                                        SAN JUAN           PR      00936
COMMUNICATIONS COUNCEL GROUP INC            PO BOX 193779                                                                                                          SAN JUAN           PR      00919‐3779
COMMUNICATIONS ENGINEERING INC              PO BOX 12006                                                                                                           SAN JUAN           PR      00922
COMMUNICATIONS LABORATORIES INC             ADDRESS ON FILE
COMMUNICATIONS LEASING CORP                 PO BOX 362526                                                                                                          SAN JUAN           PR      00936‐2526
COMMUNICATIONS SOLUTIONS, CORP.             PO BOX 70250 PMB127                                                                                                    SAN JUAN           PR      00936‐8250
COMMUNITY ACTION FOR SOCIAL AFFAIRS         & HOUSING DEVELOPMENT ORGANIZATION     PO BOX 2231                                                                     ANASCO             PR      00610
COMMUNITY ACTION OF PENNSYLVANIA            222 PINE ST                                                                                                            HARRISBURG         PA      17101
COMMUNITY ANESTHESIA SERVICES INC           P O BOX 68                                                                                                             NAGUABO            PR      00718
COMMUNITY CENTER CORP CHILDRENS             URB MIRA FLORES C/2 BLOQUE 2 PMB 133                                                                                   BAYAMON            PR      00957
COMMUNITY CHIROPRACTIC                      16 CANALVIEW MALL                                                                                                      FULTON             NY      13069
COMMUNITY COUNSELING CENTER                 2801 C COURT                                                                                                           ASHTABULA          OH      44004
COMMUNITY COUNSELING CENTERS OF CHICAGO4740 N CLARK STREET                                                                                                         CHICAGO            IL      60640
COMMUNITY DEV EDUCATION CORPORATION P O BOX 22841                                                                                                                  SAN JUAN           PR      00931‐2841
COMMUNITY DEV INSTITUTE HEAD START          PO BOX 646                                                                                                             CANOVANAS          PR      00729
COMMUNITY HEALTH CARE                       ATTN MEDICAL RECODS                    319 LANDIS AVE                                                                  VINELAN            NJ      08360
COMMUNITY HEALTH CARE INC                   105 MANHEIM AVE                                                                                                        BRIDGETON          NJ      08302
COMMUNITY HEALTH CENTER                     134 STATE ST                                                                                                           MERIDEN            CT      06450
COMMUNITY HEALTH CENTER                     500 ALBANY AVE                                                                                                         HARTFORD           CT      06120
COMMUNITY HEALTH CENTER                     CALLE MORSE ESQ VALENTINA                                                                                              ARROYO             PR      00714
COMMUNITY HEALTH CENTER                     PO BOX 19058                                                                                                           GREEN BAY          WI      54307
COMMUNITY HEALTH CENTER OF NEW BRITAIN 1 WASHINGTON SQUARE                                                                                                         NEW BRITAIN        CT      06051
COMMUNITY HEALTH CENTERS EATONVILLE         MEDICAL RECORDS                        434 W KENNEDY BLVD STE D                                                        ORLANDO            FL      32810‐6272
COMMUNITY HEALTH CLINIC                     ROY L SCHNEIDER HOSPITAL               9048 SUGAR ESTATE                                                               ST THOMAS          VI      00802
COMMUNITY HEALTH CONNECTIONS FAMILY HEA326 NICHOLS RD                                                                                                              FITCHBURG          MA      01420
COMMUNITY HEALTH DENTAL                     11 ROBINSON STREET                     SUITE 100                                                                       POTTSTOWN          PA      19464
COMMUNITY HEALTH RESOURCES                  587 EAST MIDDLE TURNPIKE                                                                                               MANCHESTER         CT      06040
COMMUNITY MENTAL HEALTH                     150 CALLE TOUS SOTO                                                                                                    SAN LORENZO        PR      00754
COMMUNITY NEEDS AND FAMILY INTEGRATION PO BOX 1717                                                                                                                 CAROLINA           PR      00984‐1717
COMMUNITY NETWORK CLINICAL RESEARCH         P O BOX 20850                                                                                                          SAN JUAN           PR      00928‐0850
COMP PARA EL DES INT PEN DE CANTERA         AREA DEL TESORO                        CONTADURIA GENERAL                                                              SAN JUAN           PR      00902
COMP PARA EL DES INT PEN DE CANTERA         P O BOX 7187                                                                                                           SAN JUAN           PR      00916‐7187
COMP USA                                    PLAZA RIO HONDO                        AVE RIO HONDO                                                                   BAYAMON            PR      00961
COMP USA                                    PLAZA RIO HONDO                                                                                                        BAYAMON            PR      00961
COMP USA & SYSTEMAX PUERTO RICO             1498 AVE ROOSEVELT PLAZA CAPARRA                                                                                       GUAYNABO           PR      00968
COMP USA C/O AMS INC                        190 SYLVAN AVENUE                                                                                                      ENGLEWOOD CLIFFS   NJ      07632
COMP USA OF PUERTO RICO INC                 PMB 130 COMP USA OR PR INC             P O BOX 11850                                                                   SAN JUAN           PR      00922‐1850
COMP USA PR INC                             VILLA CRIOLLOS SULLIVAN                A O AVE LUIS MUNOZ MARIN                                                        CAGUAS             PR      00725
COMPA&IA DE CIMIENTOS DE P R                PO BOX 7625                                                                                                            SAN JUAN           PR      00916‐7625
COMPAC DISC TECHNOLOGIES CORP.              421 MUNOZ RIVERA AVE. MIDTOWN PLAZA    SUITE 106                                                                       HATO REY           PR      00918
COMPAÐIA DE FOMENTO INDUSTRIAL              A/C ADM. DE TESORO                     DIV. DE CONTADURIA GEN                                                          SAN JUAN           PR      00936
COMPAÐIA DE FOMENTO INDUSTRIAL              A/C AREA DE TESORO                     DIV. DE CONTADURIA GENERAL                                                      SAN JUAN           PR      00902
COMPAÐIA DE FOMENTO INDUSTRIAL              APARTADO 1385                                                                                                          ANASCO             PR      00610
COMPAÐIA DE FOMENTO INDUSTRIAL              C/O BANCO GUB. DE FOMENTO              A/C AREA DE TESORO                                                              SAN JUAN           PR      00902
COMPAÐIA DE FOMENTO INDUSTRIAL              P O BOX 362350                                                                                                         SAN JUAN           PR      00936
COMPAÐIA DE PARQUES NACIONALES              CAVERNAS DE RIO CAMUY                  HC 2 BOX 33504                                                                  CAMUY              PR      00627‐0000
COMPAÐIA DE PARQUES NACIONALES              HC 02 BOX 7865 A                                                                                                       CAMUY              PR      00627‐0000
COMPAÐIA DE PARQUES NACIONALES              OFICINA REGIONAL                       PO BOX 2030                                                                     HUMACAO            PR      00792‐0000
COMPAÐIA DE PARQUES NACIONALES              PO BOX 363332                                                                                                          SAN JUAN           PR      00936‐0000
COMPAÐIA DE TURISMO DE PUERTO RICO          PO BOX 4435 SAN JUAN STATION                                                                                           SAN JUAN           PR      00902
COMPAÐIA DE TURISMO DE PUERTO RICO          PO BOX 9023960                                                                                                         SAN JUAN           PR      00902‐3960
COMPAÐIA FOMENTO INDUSTRIAL                 P O BOX 262350                                                                                                         SAN JUAN           PR      00936
COMPANEROS OCPR‐FONDO ESPECIAL




                                                                                                                Page 1719 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1720 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                             Address1                                Address2                                      Address3             Address4   City                 State   PostalCode   Country
                                                                                                                                SAN PATRICIO PLAZA
COMPANIA APELCO DEL CARIBE               POSTAL CENTER CARIBEAN                   SUITE 502                                     PMC                             GUAYNABO             PR      00908‐2615
COMPANIA CARIBENA DE LIBROS INC          ARZUAGA 5 R P M 572                                                                                                    SAN JUAN             PR      00925
COMPANIA CIMIENTO DE PUERTO RICO INC     PO BOX 7625                                                                                                            SAN JUAN             PR      00916
COMPANIA DE AGUAS DE P.R.                P.O. BOX 2087                                                                                                          BARCELONETA          PR      00617
COMPANIA DE BAILE BALLET SENORIAL INC    PO BOX 7738                                                                                                            PONCE                PR      00732
COMPANIA DE COMERCIO EXPORTACION DE PR AREA DEL TESORO                            CONTADURIA GENERAL                                                            SAN JUAN             PR      00902
COMPANIA DE COMERCIO EXPORTACION DE PR P O BOX 195009                                                                                                           SAN JUAN             PR      00919‐5009
COMPANIA DE COMERCIO EXPORTACION DE PR PO BOX 9024275                                                                                                           SAN JUAN             PR      00902‐2475
COMPANIA DE COMERCIO Y EXPORTACION DE PRP. O. BOX 195009                                                                                                        SAN JUAN             PR      00919‐5009
COMPANIA DE DANZA SIGLO XX1              MONTE ALVANIA                            F 9 CALLE SAN PAOLO                                                           GUAYNABO             PR      00969
COMPANIA DE DESARROLLO COM               PO BOX 4943                                                                                                            SAN JUAN             PR      00936
COMPANIA DE FOMENTO INDUSTRIAL           A/C ADM. DE TESORO                       DIV. DE CONTADURIA GEN                                                        SAN JUAN             PR      00936
COMPANIA DE FOMENTO INDUSTRIAL           A/C AREA DE TESORO                       DIV. DE CONTADURIA GENERAL                                                    SAN JUAN             PR      00902
COMPANIA DE FOMENTO INDUSTRIAL           APARTADO 1385                                                                                                          ANASCO               PR      00610
COMPANIA DE FOMENTO INDUSTRIAL           C/O BANCO GUB. DE FOMENTO                A/C AREA DE TESORO                                                            SAN JUAN             PR      00902
COMPANIA DE FOMENTO INDUSTRIAL           P O BOX 362350                                                                                                         SAN JUAN             PR      00936
COMPANIA DE JESUS EN PUERTO RICO INC     URB SANTA MARIA                          1940 SAUCO                                                                    SAN JUAN             PR      00927‐6718
COMPANIA DE PARQUES NACIONALES           APARTADO 2089                                                                                                          SAN JUAN             PR      00902‐2089
COMPANIA DE PARQUES NACIONALES           AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                                     SAN JUAN             PR      00902‐4140
COMPANIA DE PARQUES NACIONALES           AREA DEL TESORO                          CONTADURIA GENERAL                                                            SAN JUAN             PR      00902
COMPANIA DE PARQUES NACIONALES           CAVERNAS DE RIO CAMUY                    HC 2 BOX 33504                                                                CAMUY                PR      00627
COMPANIA DE PARQUES NACIONALES           HC 02 BOX 7865 A                                                                                                       CAMUY                PR      00627
COMPANIA DE PARQUES NACIONALES           OFICINA REGIONAL                         PO BOX 2030                                                                   HUMACAO              PR      00792
COMPANIA DE PARQUES NACIONALES           P O BOX 9022089                                                                                                        SAN JUAN             PR      00918‐2089
COMPANIA DE PARQUES NACIONALES           PO BOX 1085                                                                                                            MAYAGUEZ             PR      00681
COMPANIA DE PARQUES NACIONALES           PO BOX 363332                                                                                                          SAN JUAN             PR      00936
COMPAÑÍA DE PARQUES NACIONALES           GUERRERO TAMAYO, CÉSAR                   PO BOX 9022089                                                                SAN JUAN             PR      00902‐2089
COMPAÑÍA DE PARQUES NACIONALES           LCDO. ARIEL FÉLIX CINTRÓN                ACT                                           PO BOX 42007                    SAN JUAN             PR      00940
COMPAÑÍA DE PARQUES NACIONALES           LCDO. LUIS R. PÉREZ GIUSTI               PO BOX 70294                                                                  SAN JUAN             PR      00936‐8294
COMPAÑÍA DE PARQUES NACIONALES           LCDO. RUBÉN T. NIGALIONI                 PO BOX 9023865                                                                SAN JUAN             PR      00902‐3865
COMPANIA DE PARQUES NACIONALES DE PR     AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                                     SAN JUAN             PR      00902‐4140
COMPANIA DE PARQUES NACIONALES DE PR     AREA DEL TESORO                          CONTADURIA GENERAL                                                            SAN JUAN             PR      00902
COMPANIA DE PARQUES NACIONALES DE PR     P O BOX 9022089                                                                                                        SAN JUAN             PR      00902‐2089
COMPANIA DE PARQUES NACIONALES DE PR     PO BOX 1085                                                                                                            MAYAGUEZ             PR      00681
COMPANIA DE TEATRO CORIBANTES            PO BOX 22998                                                                                                           SAN JUAN             PR      00931‐2998
COMPANIA DE TEATRO CORIBANTES INC        PO BOX 190832                                                                                                          SAN JUAN             PR      00919‐0832
COMPANIA DE TURISMO                      PO BOX 9023960                                                                                                         SAN JUAN             PR      00902‐3960
COMPANIA DE TURISMO DE PR                A/C ADM. DE TESORO                       DIV. DE CONTADURIA GENERAL.                                                   DEPTO DE HACIENDA.   PR      00636
COMPANIA DE TURISMO DE PR                A/C BANCO POPULAR                        A/C AREA DEL TESORO                                                           DEPTO DE HACIENDA.   PR      00636
COMPANIA DE TURISMO DE PR                P.O. BOX 9023960                         OLD SAN JUAN                                                                  SAN JUAN             PR      00902
COMPANIA DE TURISMO DE PUERTO RICO       PASEO DE LA PRINCESA #2 VIEJO SAN JUAN                                                                                 SAN JUAN             PR      00901‐0000
COMPANIA DE TURISMO DE PUERTO RICO       PO BOX 902396475                                                                                                       SAN JUAN             PR      00902‐3960
COMPANIA EVENT PLANNERS                  P O BOX 29574                                                                                                          SAN JUAN             PR      00929
COMPANIA FOMENTO INDUSTRIAL              P O BOX 262350                                                                                                         SAN JUAN             PR      00936
COMPANIA PETROLERA CARIBE                PO BOX 1650                                                                                                            SAN SEBASTIAN        PR      00685
COMPANIA PETROLERA CARIBE RET            PO BOX 1650                                                                                                            SAN SEBASTIAN        PR      00685
COMPANIA TEATRAL PONCENA INC             APARTADO 6                                                                                                             CIDRA                PR      00739
COMPANIA TEATRAL PONCENA INC             PO BOX 10343                                                                                                           SAN JUAN             PR      00922‐0343
COMPANIA TRES RIOS INC                   27 AVE GONZALEZ GIUSTI SUITE 300                                                                                       GUAYNABO             PR      00968
COMPANIA TRES RIOS INC                   EDIF TRES RIOS STE 300                   27 AVE JORGE GONZALEZ GUISTI                                                  GUAYNABO             PR      00968
COMPANIAS DE PARQUES NACIONALES DE P. R. P O BOX 9022089                                                                                                        SAN JUAN             PR      00902‐2089
COMPARX INC                              APARTADO 1827                                                                                                          MOCA                 PR      00676
COMPAS LLC                               P O BOX 363421                                                                                                         SAN JUAN             PR      00936
COMPAS, LLC                              PO BOX 3305                                                                                                            CAGUAS               PR      00726‐3305
COMPASS COUNSELING SERVICES              1400 N SEMORAN BLVD STE E                                                                                              ORLANDO              FL      32807
COMPASS LEARNING                         7878 N 16TH ST                           SUITE 100                                                                     PHONIX               AZ      85020
COMPASS LEARNING                         CALLE CALAF #400                         SUITE 288                                                                     SAN JUAN             PR      00918
COMPASS LEARNING                         PO BOX 360694                                                                                                          SAN JUAN             PR      00936‐0694
COMPASSIONATE FAMILY MEDICINE            311 GREEN ST                                                                                                           SYRACUSE             NY      13203




                                                                                                                 Page 1720 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1721 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                          Address1                           Address2                                     Address3    Address4   City               State   PostalCode   Country
COMPATIBLES INC % VICTOR M ARECES      GARDEN HLS PLAZA                   1353 AVE LUIS VIGOREAUX PMB 141                                     GUAYNABO           PR      00966‐2715
COMPETITEVE EDGE INC                   PLAZA DE LA FUENTES                1013 CALLE ITALIA                                                   TOA ALTA           PR      00953‐3800
COMPETITIVE EDGE INC                   URB PLAZA DE LA FUENTE             1013 CALLE ITALIA                                                   TOA ALTA           PR      00953‐3800
COMPLEJO CORRECCIONAL GUERRERO         DEPARTAMENTO RECORD MEDICO         PO BOX 3999                                                         AGUADILLA          PR      00603
COMPLEJO CORRECCIONAL SABANA HOYOS     DEPARTAMENTO RECORD MEDICO         PO BOX 31000 STE 1                                                  SABANA HOYOS       PR      00688
COMPLEJO MEDICO SOCIAL ANTILLAS        PO ROX 21405                                                                                           SAN JUAN           PR      00928
COMPLETE AIR SYSTEM CORP               AVE DOS PALMAS                     2822 2DA SECCION LEVITTOWN                                          TOA BAJA           PR      00949
COMPLETE AIR SYSTEM CORP               URB LEVITTOWN                      2822 AVE DOS PALMAS                                                 TOA BAJA           PR      00949‐4106
COMPLETE BUILDING SERV INC             PO BOX 367479                                                                                          SAN JUAN           PR      00936‐7479
                                                                                                                                              CAPE MAY COURT
COMPLETE CARE                            410 NORTH ROUTE 9                                                                                    HOUSE              NJ      08210
COMPLETE PAINT SERVICES, INC             PO BOX 1211                                                                                          GUANICA            PR      00653
COMPLETE SYSTEMS AUTOMATION              2801 BUFORD HWY NE STE 330                                                                           BROOKHAVEN         GA      30329
COMPLIANCE INTEGRATED SOLUTIONS          PO BOX 30500 PMB 294                                                                                 MANATI             PR      00674
COMPLIANCE RESOURCE INC                  COND LA LOMA EN FAJARDO          180 CARR 194 APT 223                                                FAJARDO            PR      00738‐3505
COMPOSITE FAN TECHNOLOGY OF PR INC       HC 1 BOX 29030 PMB 446                                                                               CAGUAS             PR      00725‐8900
COMPPREHENSIVE CARE CENTER OF CENTRAL FL 6001 VINELAND RD STE 116                                                                             ORLANDO            FL      32819
COMPRAC INC                              CONTER 26 UPTOR DR                                                                                   WILMTAW            MA      001887
COMPRAS EXPRESS                          2256 NW 82 AVE                                                                                       MIAMI              FL      33122‐1509
COMPRAS EXPRESS INC                      2256 NW 82 AVE                                                                                       MIAMI              FL      33122‐1509
COMPRAS EXPRESS INC                      2256 NW 82nd AVENUE                                                                                  DORAL              FL      33122‐1509
COMPRAS EXPRESS INC                      8117NW 33RD STREET                                                                                   MIAMI              FL      33122‐1005
COMPRAS EXPRESS INC
COMPRE CRUZ, JULIO                       ADDRESS ON FILE
COMPREHENSIVE CENTER OF BEHAVIOR AND     NEUROSCIENCE, INC.               1605 AVE PONCE DE LEON                       SUITE 111              SAN JUAN           PR      00909
COMPREHENSIVE FAMILY                     120 MAPLE ST STE 203                                                                                 SPRINGFIELD        MA      01103
COMPREHENSIVE HEALTH SERVICE INC         PO BOX 3670067                                                                                       SAN JUAN           PR      00936
COMPREHENSIVE HEALTH SERVICE INC.        PO BOX 367067                                                                                        SAN JUAN           PR      00936‐7067
COMPREHENSIVE ORTHOPAEDICS MUSCULOSKEL455 LEWIS AVE STE 201                                                                                   MERIDEN            CT      06451
COMPREHENSIVE ORTHOPEDIC GLOBAL          MEDICAL RECORDS                  9151 ESTATES THOMAS STE 206                                         ST THOMAS          VI      00802
COMPREHENSIVE RADIOLOGICAL SERVICES      EDIF CADILLA                     100 PASEO SAN PABLO STE 407                                         BAYAMON            PR      00961‐7028
COMPREHENSIVE RHEUMATOLOGY CAR           SUITE 201 A                      353 NEW SHACKLE ISLAND RD                                           HENDERSONVILLE     TN      37075‐0000
COMPRESORES & EQUIPO INC                 PO BOX 85                                                                                            SAN JUAN           PR      00919
COMPRESSION HEALTH CARE,INC              8185 CALLE CONCORDIA STE.2                                                                           PONCE              PR      00717
COMPTON, LAURA                           ADDRESS ON FILE
COMPU AUTO                               64 BRISAS DEL NORTE                                                                                  MANATI             PR      00674
COMPU AUTO                               PO BOX 11668                                                                                         MANATI             PR      00674
COMPU AUTO                               RR 01 BOX 11668                                                                                      MANATI             PR      00674
COMPU CLERK, INC                         350 AVE CHARDON STE 1238                                                                             SAN JUAN           PR      00918‐2154
COMPU CLERK, INC                         P O BOX 6292                                                                                         CAROL STREAM       IL      60197‐6292
COMPU CLERK, INC                         WEST PAYMENT CENTER              P O BOX 6292                                                        CAROL STREAM       IL      60197‐6292
COMPU CLERK, INC d/b/a WESTLAW           PO BOX 6292                                                                                          CAROL STREAM       IL      60197‐6292
COMPU CURSOS DE PUERTO RICO              CENTRO COMERCIAL LAGUNA GARDEN   SUITE 212‐B                                                         CAROLINA           PR      00979
COMPU MAC                                CUARTA SECC VILLA CAROLINA       156‐11 CALLE 429                                                    CAROLINA           PR      00985
COMPU MAILING SYSTEMS INC                PO BOX 363985                                                                                        SAN JUAN           PR      00936
COMPU MAILING SYSTEMS INC                PO BOX 3985                                                                                          SAN JUAN           PR      00936
COMPU SERVICE INC                        PO BOX 3151                                                                                          GUAYNABO           PR      00970
COMPU SIGNS                              AVE. BOULEVARD 2679                                                                                  LEVITTOWN          PR      00949
COMPU SIGNS INC                          AA 80 CERVANTES LEVITTOWN                                                                            TOA BAJA           PR      00949
COMPU SIGNS INC                          LEVITTWON                        AA 80 CALLE CERVANTES                                               TOA BAJA           PR      00949
COMPU SIGNS, INC.                        LEVITTOWN                        AA80 CALLE CERVANTES                                                TOA BAJA           PR      00949
COMPU TRAINING DE PUERTO RICO            P O BOX 308                                                                                          SAN JUAN           PR      00919‐4000
COMPU TRAINING, INC.                     1127 AVE. MUNOZ RIVERA                                                                               RIO PIEDRAS        PR      00925
COMPU TRAINING, INC.                     281 AVE DOMENECH                                                                                     SAN JUAN           PR      00918
COMPU TRAINING, INC.                     AREA DEL TESORO                  DIVISION DE RECLAMACIONES                                           SAN JUAN           PR      00902‐4140
COMPU TRAINING, INC.                     PMB 308 PO BOX 194000                                                                                SAN JUAN           PR      00919‐4000
COMPUCLERK INC                           350 CHARDON AVENUE ESTE # 1238                                                                       SAN JUAN           PR      00918
COMPUKAR                                 PO BOX 8089                                                                                          BAYAMON            PR      00960
COMPUL INC                               D 1 URB SAN JOSE                                                                                     AIBONITO           PR      00705
COMPUMASTER                              6900 SQUIBB ROAD                 PO BOX 2973                                                         MISSION            KS      66201‐1373




                                                                                                        Page 1721 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1722 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                              Address2                                     Address3   Address4   City               State   PostalCode   Country
COMPURED                                1139A AVE JESUS T PINERO                                                                                 SAN JUAN           PR      00920
COMPUSA                                 PO BOX 200670                                                                                            DALLAS             TX      753200670
COMPUTABILITY                           PO BOX 17882                                                                                             MILWAUKEE          WI      53217
COMPUTEK OFFICE MACHINE                 P.O. BOX 361808                                                                                          SAN JUAN           PR      00936‐1808
COMPUTER ACCESORIES                     URB MARIANI                           2326 CALLE DR SANTAELLA                                            PONCE              PR      00717
COMPUTER ACCESORIES DISCOUNT            2 CALLE FERROCARIL                                                                                       PONCE              PR      00731
COMPUTER ACCESORIES DISCOUNT, INC       URB MARIANI                           #2326 CALLE DR SANTAELLA                                           PONCE              PR      00717‐0210
COMPUTER ADVANTANGE INC                 CARR 167                              B 5 MARGINAL FOREST HILL                                           BAYAMON            PR      00959
COMPUTER ALL INC C/O BANCO POPULAR      REGION HATO REY                       PO BOX 362708                                                      SAN JUAN           PR      00936‐2708
COMPUTER AND DIGITAL SOLUTIONS INC      URB SAN IGNACIO                       15 CALLE SAN ROBERTO                                               SAN JUAN           PR      00927‐6801
COMPUTER AND REPAIR SERVICES            URB LEVITTOWN LAKE 7MA SECC           JS 13 CALLE CARMEN SANABRIA                                        TOA BAJA           PR      00949
COMPUTER AND SOFTWARE PROFESSIONALS INCPO BOX 361778                                                                                             SAN JUAN           PR      00936
COMPUTER ART & PRINT                    FUTURE PUBLIC LTD                                                                                        LEICESTERSHIRE             LE16 9EF     UK
COMPUTER ASSOCIATES                     PO BOX 360355                                                                                            PITHSBURG          PA      15251‐6355
COMPUTER ASSOCIATES                     THE ATRIUM OFFICE CENTER              530 PONCE DE LEON AVE                                              SAN JUAN           PR      00901‐2304
COMPUTER ASSOCIATES                     WESTERN BANK PLAZA                    268 MUNOZ RIVERA SUITE 807                                         SAN JUAN           PR      00918
COMPUTER ASSOCIATES
COMPUTER ASSOCIATES CARIBBEAN           530 PONCE DE LEON AVE                                                                                    SAN JUAN           PR      00901‐0000
COMPUTER ASSOCIATES CARIBBEAN           WESTERNBANK WORLD PLAZA SUITE 807     268 MUNOZ RIVERA AVENUE                                            SAN JUAN           PR      00918
COMPUTER AUTOMATION SYSTEMS INC         PO BOX 590                                                                                               MOUNTAIN HOME      AR      72654
COMPUTER BOOK & MAGAZINE                264 A AVE PI¨ERO ALTOS                                                                                   SAN JUAN           PR      00927
COMPUTER BOOK & MAGAZINE                264 A AVE PINERO ALTOS                                                                                   SAN JUAN           PR      00927
COMPUTER BOOKS AND MAGAZINES            264A ALTOS AVE PINERO                                                                                    SAN JUAN           PR      00927
COMPUTER BOX , INC                      419 AVE. ANDALUCIA                    URB PUERTO NUEVO                                                   SAN JUAN           PR      00920
COMPUTER BOX INC                        419 AVE ANDULUCIA                                                                                        PUERTO NUEVO       PR      00920
COMPUTER CARE CENTER                    LEVITOWN STATION                      BOX 51473                                                          TOA BAJA           PR      00950‐1473
COMPUTER CENTRE                         PO BOX 51821                                                                                             TOA BAJA           PR      00950
COMPUTER CENTRE / SANDRA DAVILA         P O BOX 51821                                                                                            TOA BAJA           PR      00950
COMPUTER CONTROLLED CARS                4108 CARR 2 KM 4.1                    BO. ALGARROBO                                                      VEGA BAJA          PR      00693
COMPUTER CONTROLLED CARS                BO ALGARROBO                          2 CARRETERA 4110                                                   VEGA BAJA          PR      00693
COMPUTER CRIME CENTER                   255 PONCE DE LEON SUITE 75            PMB 195                                                            SAN JUAN           PR      00917‐1919
COMPUTER EDUCATIONAL SERVICES           G‐10 CALLE O'NEILL                                                                                       SAN JUAN           PR      00918
COMPUTER EXPERT GROUP INC               PO BOX 70198                                                                                             SAN JUAN           PR      00936‐8198
COMPUTER EXTERMINATING                  URB FOREST VIEW                       L58 CALLE FRESNO                                                   BAYAMON            PR      00956‐2816
COMPUTER EXTERMINATING INC              CITY VIEW PLAZA II                    48 CARR 165 SUITE 2000                                             GUAYNABO           PR      0096880000
COMPUTER EXTERMINATING INC              URB FOREST VIEW CALLE FRESNO L58                                                                         BAYAMON            PR      00956
COMPUTER FORENSIC SERVICES              PO BOX 00902‐3037                                                                                        SAN JUAN           PR      00902
COMPUTER GALLERY                        202 CALLE FEDERICO COSTA                                                                                 SAN JUAN           PR      00918‐1311
COMPUTER GALLERY INC                    202 CALLE FEDERICO COSTA                                                                                 SAN JUAN           PR      00918‐1311
COMPUTER HARDWARE DISTRIBUTOR           90 AVE ARTERIAL HOSTOS ATRIUM PLAZA                                                                      HATO REY           PR      00918
COMPUTER HOUSE                          PO BOX 5040                                                                                              CAROLINA           PR      00984‐5040
COMPUTER HOUSE INC                      1174 AVE JESUS T PIðERO                                                                                  SAN JUAN           PR      00920
COMPUTER HOUSE INC                      1575 AVE JESUS T PINERO                                                                                  SAN JUAN           PR      00920
COMPUTER HOUSE INC                      1577 AVE JESUS T PIðERO                                                                                  SAN JUAN           PR      00920
COMPUTER HOUSE INC                      1577 AVE JESUS T PINERO                                                                                  SAN JUAN           PR      00920
COMPUTER HOUSE INC                      PO BOX 5040                                                                                              CAROLINA           PR      00984
COMPUTER INN                            145 FD ROOSEVELT AVE                                                                                     SAN JUAN           PR      00918
COMPUTER INN                            AVE FD ROOSEVELT 145                                                                                     SAN JUAN           PR      00918
COMPUTER INTEGRATION OF QUALITY         ASSURANCE INC                         HC02 BOX 3135                                                      HoRMIGUEROS        PR      00660
COMPUTER LEARNING CENTER DBA EUROBANK EURO BANK SUC HUMACAO                   CALL BOX 191009                                                    SAN JUAN           PR      00919‐1009
COMPUTER LEARNING CENTER DBA EUROBANK EUROBANK                                PO BOX 191009                                                      SAN JUAN           PR      0091911009
COMPUTER LEARNING CENTERS               CALLE AMARILLO 738 BOX 3 EDIF BBVA    SUITE 201                                                          SAN JUAN           PR      00926
COMPUTER LEARNING CENTERS, INC.         3009 AVE ALEJANDRINO                                                                                     GUAYNABO           PR      00969‐7008
COMPUTER LEARNING CENTERS, INC.         EURO BANK SUC HUMACAO                 CALL BOX 191009                                                    SAN JUAN           PR      00919‐1009
COMPUTER LEARNING CENTERS, INC.         SUMMIT BLD BOX 3, SUITE 206,          CALLE AMARILLO #1738                                               SAN JUAN           PR      00926
COMPUTER LEARNING CENTERS, INC.         Y ORIENTAL BANK                       PO BOX 364745                                                      SAN JUAN           PR      00936‐4745
COMPUTER LEARNING CENTERS, INC.         Y ORIENTAL BANK                       PO BOX 195115                                                      SAN JUAN           PR      00919‐5115
COMPUTER LINK                           ALTAGRACIA BUILDING                   262 URUGUAY ST SUITE C 2                                           SAN JUAN           PR      00919
COMPUTER LINK                           PO BOX 193724                                                                                            HATO REY           PR      00919‐3724
COMPUTER MAINTENANCE SERV / LUIS CENTENOP O BOX 2092                                                                                             ISABELA            PR      00662




                                                                                                            Page 1722 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1723 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                            Address1                                Address2                                  Address3             Address4   City              State   PostalCode   Country
COMPUTER NETWORK SYSTEMS CORP            ALTAGRACIA BUILDING, SUITE C‐2          262 URUGUAY STREET                                                        SAN JUAN          PR      00917
COMPUTER NETWORK SYSTEMS CORP            C 2 COND ALTAGRACIA                     262 URUGUAY                                                               SAN JUAN          PR      00918
COMPUTER NETWORK SYSTEMS CORP            DARLINTON BUILDING GF10                 1007 AVE MUNOZ RIVER URB SANTA RITA                                       SAN JUAN          PR      00925
COMPUTER NETWORK SYSTEMS CORP            PO BOX 193724                                                                                                     SAN JUAN          PR      00919‐3724
COMPUTER NETWORK SYSTEMS CORP            Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                               SAN JUAN          PR      00922‐2134
COMPUTER NETWORK SYSTEMS CORP            Y SCOTIABANK TOWER DE PUERTO RICO       ALTAGRACIA BUILDING, SUITE C‐2            262 URUGUAY STREET              SAN JUAN          PR      00917
COMPUTER NETWORK SYSTEMS CORP DBA        COMPUTERLINK                            COND ALTAGRACIA 262 URUGUAY STE C2                                        SAN JUAN          PR      00917
COMPUTER NETWORK SYSTEMS CORP DBA        DARLINTON BUILDING GF10                 1007 AVE MUNOZ RIVER URB SANTA RITA                                       SAN JUAN          PR      00925
COMPUTER NETWORK SYSTEMS CORP DBA        PO BOX 193724                                                                                                     SAN JUAN          PR      00919‐3724
COMPUTER OUTLET ELECTRONIC               CARR 2 KM 123                                                                                                     AGUADILLA         PR      00603
COMPUTER PARADISE                        P O BOX 8039                                                                                                      CAGUAS            PR      00726‐8039
COMPUTER PARADISE INC                    PO BOX 8039                                                                                                       CAGUAS            PR      00726‐8039
COMPUTER PHONE INC.                      1250 PONCE DE LEON AVE.                 SUITE 600                                                                 SAN JUAN          PR      00907
COMPUTER PRINTER SOLUTION DBA EDGARDO BOBE                                       154 EXT VILLA MILAGROS 4454                                               CABO ROJO         PR      00623
COMPUTER PRO INSTITUTE                   PMC SAN PATRICIO PLAZA                  BOX 302                                                                   GUAYNABO          PR      00968‐2615
COMPUTER PROFESSIONAL TECHN              P. O. BOX 270283                                                                                                  SAN JUAN          PR      00927‐0283
COMPUTER RESCUE LLC                      PO BOX 10786                                                                                                      SAN JUAN          PR      00922‐0786
COMPUTER SECURITY INSTITUTE              600 HARNISON STREET                                                                                               SAN FRANCISCO     CA      94107
COMPUTER SERV AND SUPPORT INC            G‐5 CALLE O`NEILL                                                                                                 SAN JUAN          PR      00917
COMPUTER SERV AND SUPPORT INC            PO BOX 195324                                                                                                     SAN JUAN          PR      00919‐5324
COMPUTER SERVICE & SUPPORT, INC.         P O BOX 195324                                                                                                    SAN JUAN          PR      00918
COMPUTER SERVICES                        PO BOX 195324                                                                                                     SAN JUAN          PR      00919‐5324
COMPUTER SERVICES & SUPPORT, INC         AVE ARTERIAL HOSTOS #201                                                                                          HATO REY          PR      00918
COMPUTER SERVICES & SUPPORT, INC         PO BOX 195324                                                                                                     SAN JUAN          PR      00919‐5324
COMPUTER SERVICES NETWORK                1048 AVE JESUS T PINERO                                                                                           SAN JUAN          PR      00920
COMPUTER SHOP P.R.                       PO BOX 191430                                                                                                     SAN JUAN          PR      00919‐1430
COMPUTER SHOP PR INC                     PO BOX 191430                                                                                                     SAN JUAN          PR      00919‐1430
COMPUTER SOFTWARE PROFESSIONALS IN       400 CALLE CALAF PMB 136                                                                                           SAN JUAN          PR      00918‐1314
COMPUTER SPECIALTIES OF PR INC           CAPARRA HEIGHTS STATION                 BOX 11683                                                                 PUERTO NUEVO      PR      00922
COMPUTER STOP                            MERCANTIL PLAZA BLDG                    GROUND FLOOR                                                              HATO REY          PR      00918
COMPUTER STOP INC                        AVE DE DIEGO 165                        URB SAN FRANCISCO                                                         SAN JUAN          PR      00927‐0000
COMPUTER TECHNOLOGY & SUPPLIES INC       COND VISTAS DEL RIO                     8 CALLE I SUITE 12B                                                       BAYAMON           PR      00959
COMPUTER TRAINING CENTER Y/O ANGEL M PES PO BOX 191031                                                                                                     SAN JUAN          PR      00919
COMPUTER TRAINING CORP                   654 AVE MUðOZ RIVERA STE 1906                                                                                     SAN JUAN          PR      00918
COMPUTER TRAINING CORP                   654 AVE MUNOZ RIVERA STE 1906                                                                                     SAN JUAN          PR      00918
COMPUTER TRANSMISSION CENTER             URB PUERTO NUEVO                        NE 1200 CALLE 10                                                          SAN JUAN          PR      00920
COMPUTER TREND                           GPO BOX 1667                                                                                                      SAN JUAN          PR      00936
COMPUTER VILLAGE                         14951 SOUTH DIXIE HIGHWAY MIAMI FL                                                                                MIAMI             FL      33176
COMPUTERIED ELEVATOR CONTROL             PMB 212 PO BOX 6017                                                                                               CAROLINA          PR      00985‐0000
COMPUTERLAND                             PO BOX 191692                                                                                                     SAN JUAN          PR      00919
COMPUTERLAND OF P.R.                     P O BOX 191692                                                                                                    SAN JUAN          PR      00919‐1692
COMPUTERSHARE                            250 ROYALL STREET                                                                                                 CANTON            MA      02021
COMPUTERSHARE SHAREHOLDERS SERV          250 ROYAL STREET                                                                                                  CANTON            MA      02021
COMPUTRONICS INC                         1590 AVE PONCE DE LEON                                                                                            SAN JUAN          PR      00926
COMPUTRONICS INC                         URB EL ROSARIO                          8 CALLE 4                                                                 YAUCO             PR      00698
COMPUTYPE INC                            P O BOX 194004                                                                                                    SAN JUAN          PR      00919‐4004
COMT EDUC BIENEST NIÐOS Y ADOLE DIABETE P O BOX 9103                                                                                                       HUMACAO           PR      00792‐9103
COMT EDUC BIENEST NINOS Y ADOLE DIABETES P O BOX 9103                                                                                                      HUMACAO           PR      00792‐9103
COMTEC INC                               ROYAL INDUSTRIAL PARK                   EDIF E 1                                                                  CATANO            PR      00962
COMTEC MANAGEMENT                        BO PALMAS                               E 1 ROYAL INDUSTRIAL PARK                                                 CATAO             PR      00962
COMULADA AYALA, JORGE A.                 ADDRESS ON FILE
COMULADA AYALA, JUDITH M                 ADDRESS ON FILE
COMULADA GARCIA, NELLY                   ADDRESS ON FILE
Comulada Lugo, Kelvin A.                 ADDRESS ON FILE
COMULADA LUGO, VALERIE                   ADDRESS ON FILE
COMULADA OTERO, JOSUE                    ADDRESS ON FILE
COMULADA SANTINI, JOSE L.                ADDRESS ON FILE
COMULADA TEISSONNIER, LORNA              ADDRESS ON FILE
COMULADA TEISSONNIERE, AMARILYS D        ADDRESS ON FILE
COMULADA TEISSONNIERE, JOANNE M          ADDRESS ON FILE




                                                                                                            Page 1723 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1724 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                        Address1                          Address2                                    Address3   Address4   City             State   PostalCode   Country
COMULADA TEISSONNIERE, VANESSA       ADDRESS ON FILE
COMULADA TORRES, JUAN                ADDRESS ON FILE
COMUNICACIONES VICEVERSA             GM PLAZA SUITE 102                BOX 30 PONCE DE LEON 1590                                         SAN JUAN         PR      00926
COMUNICADORA NEXUS INC               EDIF DORAL                        650 AVE MUNOZ RIVERA STE 400                                      SAN JUAN         PR      00918
COMUNICADORA NEXUS INC               EDIF DORAL BANK PLAZA SUITE 602   CALLE RESOLUCION #33                                              SAN JUAN         PR      00920‐0000
COMUNICADORES GRAFICOS INC           CALL BOX 30000 SUITE 566                                                                            CANOVANAS        PR      00729
COMUNIDAD ASOMANTE INC               HC 2 BOX 6990                                                                                       LAS PIEDRAS      PR      00771‐9774
COMUNIDAD BO MARIN SECT LOS BARROS   BO MARIN BAJO SECT LOS BARROS     HC 65 BOX 4147                                                    PATILLAS         PR      00723
COMUNIDAD ESPECIAL STELLA INC        CALLE 8 BUZON 2766                COMUNIDAD ESTELLA                                                 RINCON           PR      00677
COMUNIDAD GUARAGUAO INC              HC‐03 BOX 12101                                                                                     JUANA DIAZ       PR      00795
COMUNIDAD LAS CORUJAS INC            HC 04 BOX 8209                                                                                      AGUAS BUENAS     PR      00703
COMUNIDAD LIMONES INC                HC 02 BOX 8350                                                                                      OROCOVIS         PR      00720
COMUNIDAD MAR AZUL INC               URB LOMAS VERDES                  ZU‐9 AVE LAUREL LOCAL 4                                           BAYAMON          PR      00956
COMUNIDAD MISIONERA VILLAREGIA INC   PO BOX 667                                                                                          SABANA HOYOS     PR      00688
COMUNIDAD MULITAS CENTRO, INC.       HC 05 BOX 6796                                                                                      AGUAS BUENAS     PR      00703
COMUNIDAD NUEVO RENACER              P O BOX 1995                                                                                        CANOVANAS        PR      00729
COMUNIDAD OROCOVENA MIRAFLORES INC   PO BOX 1196                                                                                         OROCOVIS         PR      00720
COMUNIDAD RIO GRANDE ANASCO INC      RR 4 BOX 16322                                                                                      ANASCO           PR      00610
COMUNIDAD RIVERA INC                 HC 5 BOX 6235                                                                                       AGUAS BUENAS     PR      00703
COMUNIDAD VILLA SIN MIEDO INC        P O BOX 3500 PMB 20156                                                                              CANOVANAS        PR      00729‐0014
COMUNITARIA RECICLAJE DEL NORTE      P.O. BOX 1822                                                                                                        PR      00659
COMUNNITY HEALTH FOUNDATION OF PR    URB SANTA CRUZ                    C 17 CALLE MARGINAL                                               BAYAMON          PR      00961
CON AGGREGATES SUPPLIES INC          EDIF LA TORRE                     709 CALLE MIRAMAR PH 9A                                           SAN JUAN         PR      00907
CONAGRA FOODS INC                    AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                         SAN JUAN         PR      00902‐4140
CONAGRA FOODS INC                    ENTERPRISE PROCUREMENT            9 CONAGRA DRIVE MS 9 260                                          OMAHA            NE      68102
CONAWAY MEDIAVILLA, CARMEN LUISA     ADDRESS ON FILE
CONCECIONARIOS LAS CASCADAS          PO BOX 89                                                                                           MOCA             PR      00676‐0000
CONCENTRA MED CTR                    ATTENTION MEDICAL RECORDS         135 RARITAN CENTER PARKWAY                                        EDISON           NJ      08837‐0000
CONCENTRA MEDICAL CENTER             1150 NORTHMEADOW PARKWAY          SUITE 100                                                         ROSWELL          GA      30076
CONCENTRA MEDICAL CENTER             MEDICAL RECORDS DEPT              3145 S ASHLAND AVE STE 110                                        CHICAGO          IL      60608
CONCEPCION ‐ CARDONA, INC            #304 RUISENOR                     HACIENDA MONSERRATE                                               MANATI           PR      00674
CONCEPCION ABALOS, EVELYN            ADDRESS ON FILE
CONCEPCION ABREU, JOSE               ADDRESS ON FILE
CONCEPCION ACEVEDO, ANN              ADDRESS ON FILE
CONCEPCION ACEVEDO, EDWIN            ADDRESS ON FILE
CONCEPCION ACOSTA, AXELL             ADDRESS ON FILE
CONCEPCION ACOSTA, EDMANUEL          ADDRESS ON FILE
CONCEPCION ACOSTA, JOSE              ADDRESS ON FILE
CONCEPCION ACOSTA, TERESITA          ADDRESS ON FILE
CONCEPCION ALAMO, DANIEL             ADDRESS ON FILE
CONCEPCION ALAMO, ZULEIKA            ADDRESS ON FILE
CONCEPCION ALEJANDRO, RAMON          ADDRESS ON FILE
CONCEPCION ALERS, LUIS               ADDRESS ON FILE
CONCEPCION ALERS, RAFAEL A           ADDRESS ON FILE
CONCEPCION ALICEA, JIMMY             ADDRESS ON FILE
CONCEPCION ALICEA, KATERINE          ADDRESS ON FILE
CONCEPCION ALICEA, PEDRO J           ADDRESS ON FILE
CONCEPCION ALMESTICA, LUZILL         ADDRESS ON FILE
CONCEPCION ALMESTICA, LUZILL C.      ADDRESS ON FILE
CONCEPCION ALMEYDA, GLADYS           ADDRESS ON FILE
CONCEPCION ALVARADO, RAFAEL A        ADDRESS ON FILE
CONCEPCION ALVAREZ, ANTONIA          ADDRESS ON FILE
CONCEPCION ALVAREZ, CARMEN           ADDRESS ON FILE
CONCEPCION ALVAREZ, HECTOR           ADDRESS ON FILE
CONCEPCION ALVAREZ, ZULEYSKA         ADDRESS ON FILE
CONCEPCION AMBERT, MAYRA             ADDRESS ON FILE
CONCEPCION ANDINO, HILDA             ADDRESS ON FILE
CONCEPCION ANDRADES, HUMBERTO        ADDRESS ON FILE
CONCEPCION ANDRADES, HUMBERTO A.     ADDRESS ON FILE
CONCEPCION ANGUITA, NINOSHKA         ADDRESS ON FILE




                                                                                                    Page 1724 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1725 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION ANGUITA, SANYRA          ADDRESS ON FILE
CONCEPCION APONTE, EVIT             ADDRESS ON FILE
CONCEPCION AQUINO, ISAURA           ADDRESS ON FILE
CONCEPCION ARCE, WILLIAM            ADDRESS ON FILE
CONCEPCION ARROYO, ABNER            ADDRESS ON FILE
CONCEPCION AVILES, DIANA V          ADDRESS ON FILE
CONCEPCION AVILES, FELUIX           ADDRESS ON FILE
CONCEPCION AVILES, GRICEL           ADDRESS ON FILE
CONCEPCION AVILES, MARISOL          ADDRESS ON FILE
CONCEPCION AYALA, SHEILA E          ADDRESS ON FILE
CONCEPCION BAEZ, CARMELO            ADDRESS ON FILE
CONCEPCION BAEZ, FRANCISCO          ADDRESS ON FILE
CONCEPCION BAEZ, MARIA E            ADDRESS ON FILE
CONCEPCION BAEZ, MIGDALIA           ADDRESS ON FILE
CONCEPCION BAEZ, RAMON              ADDRESS ON FILE
CONCEPCION BARROSO, JOSE            ADDRESS ON FILE
CONCEPCION BAYON, YAHAIRA           ADDRESS ON FILE
CONCEPCION BELAVAL, SHARON          ADDRESS ON FILE
CONCEPCION BENITEZ, JAIM            ADDRESS ON FILE
CONCEPCION BENITEZ, JAIME           ADDRESS ON FILE
CONCEPCION BENITEZ, ZORAIDA         ADDRESS ON FILE
CONCEPCION BERRIOS, AIDA            ADDRESS ON FILE
CONCEPCION BERRIOS, ALIDA           ADDRESS ON FILE
CONCEPCION BERRIOS, CARLOS          ADDRESS ON FILE
CONCEPCION BERRIOS, ELIZABETH       ADDRESS ON FILE
CONCEPCION BERRIOS, LAURA           ADDRESS ON FILE
CONCEPCION BLANCO, SARAHI           ADDRESS ON FILE
CONCEPCION BLANCO, SARAHI           ADDRESS ON FILE
Concepcion Bonilla, Joel            ADDRESS ON FILE
CONCEPCION BONILLA, MARIEL          ADDRESS ON FILE
CONCEPCION BULERIN, SOL             ADDRESS ON FILE
CONCEPCION BULERIN, SOL B           ADDRESS ON FILE
CONCEPCION CALDERON, JUANA          ADDRESS ON FILE
CONCEPCION CAMACHO, ENDIKA I        ADDRESS ON FILE
CONCEPCION CAMACHO, ISMAEL          ADDRESS ON FILE
CONCEPCION CANCEL, VEROUSHKA        ADDRESS ON FILE
CONCEPCION CANINO, CYNTHIA E        ADDRESS ON FILE
CONCEPCION CARDONA, DAMARIS         ADDRESS ON FILE
CONCEPCION CARDONA, JACOBO          ADDRESS ON FILE
CONCEPCION CARDONA, JAVIER          ADDRESS ON FILE
CONCEPCION CARDONA, JENNIFER        ADDRESS ON FILE
CONCEPCION CARMONA ROHENA           ADDRESS ON FILE
CONCEPCION CARRASQUILLO HERNANDEZ   ADDRESS ON FILE
CONCEPCION CARRERO, ANA             ADDRESS ON FILE
Concepcion Cartagena, Damaris       ADDRESS ON FILE
CONCEPCION CASTILLO, ENA            ADDRESS ON FILE
CONCEPCION CASTILLO, SAMUEL         ADDRESS ON FILE
CONCEPCION CASTRO, CARLOS           ADDRESS ON FILE
CONCEPCION CASTRO, SOLEDAD M        ADDRESS ON FILE
CONCEPCION CHAPARRO, JUAN           ADDRESS ON FILE
CONCEPCION CHAPARRO, WILLIAM        ADDRESS ON FILE
CONCEPCION CINTRON, VALERIE         ADDRESS ON FILE
CONCEPCION CINTRON, WILFREDO        ADDRESS ON FILE
CONCEPCION CLASS, BETTSY            ADDRESS ON FILE
CONCEPCION CLAUDIO, JUANITA         ADDRESS ON FILE
CONCEPCION CLEMENTE, GEORGINA       ADDRESS ON FILE
CONCEPCION COLLAZO, JUAN            ADDRESS ON FILE
CONCEPCION COLLAZO, NAHARA          ADDRESS ON FILE
CONCEPCION COLLAZO, NAHARA          ADDRESS ON FILE
CONCEPCION COLLAZO, NILDA           ADDRESS ON FILE




                                                                                Page 1725 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1726 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION COLON, ANA A          ADDRESS ON FILE
CONCEPCION COLON, HECTOR         ADDRESS ON FILE
CONCEPCION COLON, JOSEFA         ADDRESS ON FILE
CONCEPCION COLON, LUIS           ADDRESS ON FILE
CONCEPCION COLON, NACHA          ADDRESS ON FILE
CONCEPCION COLON, TERESA         ADDRESS ON FILE
CONCEPCION CONCEPCION, ANA D     ADDRESS ON FILE
CONCEPCION CONCEPCION, REYMI     ADDRESS ON FILE
CONCEPCION CORCHADO, CARMEN      ADDRESS ON FILE
CONCEPCION CORCHADO, ELINETTE    ADDRESS ON FILE
Concepcion Corchado, Juan M      ADDRESS ON FILE
CONCEPCION CORCHADO, PRISCILLA   ADDRESS ON FILE
CONCEPCION CORDERO, BETSY        ADDRESS ON FILE
CONCEPCION CORDERO, JOSE E       ADDRESS ON FILE
CONCEPCION COREANO, JOSE         ADDRESS ON FILE
CONCEPCION COREANO, OBED         ADDRESS ON FILE
CONCEPCION CORREA, SANDRA        ADDRESS ON FILE
CONCEPCION COSME, MARIA L        ADDRESS ON FILE
CONCEPCION COSME, SHEILA M       ADDRESS ON FILE
CONCEPCION COTTO, LILLIAM        ADDRESS ON FILE
Concepcion Cotto, Roberto L      ADDRESS ON FILE
Concepcion Crespo, Jaime         ADDRESS ON FILE
CONCEPCION CRUZ, ERINDORAMIS     ADDRESS ON FILE
CONCEPCION CRUZ, MARIA S.        ADDRESS ON FILE
CONCEPCION CRUZ, MIGDALIA        ADDRESS ON FILE
CONCEPCION CRUZ, MIRIAM I        ADDRESS ON FILE
CONCEPCION CRUZ, NITZA J         ADDRESS ON FILE
CONCEPCION CRUZ, ROBERTO         ADDRESS ON FILE
CONCEPCION CRUZ, WILLIAM         ADDRESS ON FILE
CONCEPCION CUMBA, MARIBEL        ADDRESS ON FILE
CONCEPCION DE CONINCK, FRANCES   ADDRESS ON FILE
CONCEPCION DE JESUS GARCIA       ADDRESS ON FILE
CONCEPCION DE JESUS, ANNETT      ADDRESS ON FILE
CONCEPCION DE JESUS, ISMAEL      ADDRESS ON FILE
CONCEPCION DE JESUS, LINETH      ADDRESS ON FILE
CONCEPCION DE JESUS, MARIA       ADDRESS ON FILE
CONCEPCION DE JESUS, RAQUEL      ADDRESS ON FILE
Concepcion De Jesus, Reinaldo    ADDRESS ON FILE
CONCEPCION DE JESUS, SABINA      ADDRESS ON FILE
CONCEPCION DE JESUS, VICTOR M    ADDRESS ON FILE
CONCEPCION DE LA ROSA, LUIS      ADDRESS ON FILE
CONCEPCION DE LA ROSA, LUIS      ADDRESS ON FILE
CONCEPCION DE LEON, JONNALY      ADDRESS ON FILE
CONCEPCION DE LEON, NEFTALI      ADDRESS ON FILE
CONCEPCION DE LEON, OLGA         ADDRESS ON FILE
CONCEPCION DE MAYMI, YOLANDA     ADDRESS ON FILE
CONCEPCION DEBORA, VARGAS        ADDRESS ON FILE
CONCEPCION DECLET, MERCEDES      ADDRESS ON FILE
Concepcion Del Valle, Jennifer   ADDRESS ON FILE
CONCEPCION DELERME, CARLOS F     ADDRESS ON FILE
CONCEPCION DELGADO, JUAN         ADDRESS ON FILE
CONCEPCION DELGADO, NILDA        ADDRESS ON FILE
Concepcion Delgado, Norma I      ADDRESS ON FILE
CONCEPCION DIAZ VEGA             ADDRESS ON FILE
CONCEPCION DIAZ, CERBULO         ADDRESS ON FILE
CONCEPCION DIAZ, ROBERT          ADDRESS ON FILE
CONCEPCION DIAZ, SONIA           ADDRESS ON FILE
CONCEPCION DOMENECH, AIDA L      ADDRESS ON FILE
CONCEPCION ELIAS, SONIA          ADDRESS ON FILE
Concepcion Elias, Sonia N        ADDRESS ON FILE




                                                                             Page 1726 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1727 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION ESCALERA, ODETTE M.    ADDRESS ON FILE
CONCEPCION ESCOBAR, EVA N         ADDRESS ON FILE
Concepcion Febus, Carlos A        ADDRESS ON FILE
CONCEPCION FEBUS, MARIA M         ADDRESS ON FILE
CONCEPCION FELICIANO, ANIBAL      ADDRESS ON FILE
CONCEPCION FELICIANO, ELSIE       ADDRESS ON FILE
CONCEPCION FERNANDEZ, GLADYSMIR   ADDRESS ON FILE
CONCEPCION FERNANDEZ, GLADYSMIR   ADDRESS ON FILE
CONCEPCION FERREIRA, JUDITH       ADDRESS ON FILE
CONCEPCION FERRER RODRIGUEZ       ADDRESS ON FILE
CONCEPCION FIGUEROA SOTO          ADDRESS ON FILE
CONCEPCION FIGUEROA, ANGEL M      ADDRESS ON FILE
CONCEPCION FIGUEROA, ISMAEL       ADDRESS ON FILE
CONCEPCION FIGUEROA, JONATHAN     ADDRESS ON FILE
CONCEPCION FIGUEROA, MICHAEL      ADDRESS ON FILE
CONCEPCION FIGUEROA, MILAGROS     ADDRESS ON FILE
CONCEPCION FIGUEROA, WANDA        ADDRESS ON FILE
Concepcion Flores, Angel L        ADDRESS ON FILE
CONCEPCION FLORES, ROSA E.        ADDRESS ON FILE
CONCEPCION FONTANEZ, ALEXIS       ADDRESS ON FILE
CONCEPCION FONTANEZ, JAN A.       ADDRESS ON FILE
CONCEPCION FONTANEZ, JUVENAL      ADDRESS ON FILE
CONCEPCION FONTANEZ, LUIS         ADDRESS ON FILE
CONCEPCION FRANCO, CARMEN         ADDRESS ON FILE
CONCEPCION FRANCO, RAFAEL         ADDRESS ON FILE
CONCEPCION FRANCO, SARAHI         ADDRESS ON FILE
CONCEPCION FUENTES, JOSE I.       ADDRESS ON FILE
Concepcion Fuentes, Josue         ADDRESS ON FILE
CONCEPCION FUENTES, JUAN          ADDRESS ON FILE
Concepcion Fuentes, Victor        ADDRESS ON FILE
CONCEPCION GAETAN, CARMEN         ADDRESS ON FILE
CONCEPCION GALAY, MARIA           ADDRESS ON FILE
CONCEPCION GARCIA VIERA           ADDRESS ON FILE
CONCEPCION GARCIA, EDUARDO J      ADDRESS ON FILE
CONCEPCION GARCIA, MONICA         ADDRESS ON FILE
Concepcion Garcia, Nelson         ADDRESS ON FILE
CONCEPCION GIRON, MARY            ADDRESS ON FILE
CONCEPCION GOMEZ, ENITZA          ADDRESS ON FILE
CONCEPCION GONZALEZ BENITEZ       ADDRESS ON FILE
CONCEPCION GONZALEZ, ALEX         ADDRESS ON FILE
CONCEPCION GONZALEZ, ERIKA        ADDRESS ON FILE
Concepcion Gonzalez, Hector       ADDRESS ON FILE
CONCEPCION GONZALEZ, JENNIFER     ADDRESS ON FILE
CONCEPCION GONZALEZ, JOSE         ADDRESS ON FILE
CONCEPCION GONZALEZ, JUAN         ADDRESS ON FILE
CONCEPCION GONZALEZ, LOIDA R      ADDRESS ON FILE
CONCEPCION GONZALEZ, LOIDA R      ADDRESS ON FILE
CONCEPCION GONZALEZ, OLGA I       ADDRESS ON FILE
CONCEPCION GONZALEZ, SONIA I      ADDRESS ON FILE
CONCEPCION GONZALEZ, VIVIAN       ADDRESS ON FILE
CONCEPCION GORDIAN, ROSARIO       ADDRESS ON FILE
CONCEPCION GUZMAN COLON           ADDRESS ON FILE
CONCEPCION GUZMAN, CARMEN T.      ADDRESS ON FILE
CONCEPCION GUZMAN, DIANA          ADDRESS ON FILE
CONCEPCION GUZMAN, SONIA N        ADDRESS ON FILE
CONCEPCION GUZMAN, WILFREDO       ADDRESS ON FILE
CONCEPCION HERNANDEZ, ERNESTO     ADDRESS ON FILE
CONCEPCION HERNANDEZ, FELIX       ADDRESS ON FILE
CONCEPCION HERNANDEZ, IRIS N      ADDRESS ON FILE
Concepcion Hernandez, Jimmy       ADDRESS ON FILE




                                                                              Page 1727 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1728 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION HERNANDEZ, JOSE       ADDRESS ON FILE
Concepcion Hernandez, Jose L     ADDRESS ON FILE
CONCEPCION HERNANDEZ, MARIANE    ADDRESS ON FILE
CONCEPCION HERNANDEZ, ONIX       ADDRESS ON FILE
CONCEPCION HERNANDEZ, YANIRA     ADDRESS ON FILE
CONCEPCION HOLGUIN, JOSE         ADDRESS ON FILE
CONCEPCION HOLGUIN, JOSE         ADDRESS ON FILE
CONCEPCION IGLESIAS, LUZ M       ADDRESS ON FILE
CONCEPCION ISERN, BETZAIDA       ADDRESS ON FILE
CONCEPCION ISERN, CARMEN E       ADDRESS ON FILE
CONCEPCION ISERN, FERNANDO       ADDRESS ON FILE
CONCEPCION ISERN, OMAR           ADDRESS ON FILE
CONCEPCION JAMES, ARACELIS       ADDRESS ON FILE
CONCEPCION JIMENEZ DE DUPREY     ADDRESS ON FILE
CONCEPCION JIMENEZ, CARMEN M     ADDRESS ON FILE
CONCEPCION JIMENEZ, EDGARDO      ADDRESS ON FILE
CONCEPCION JIMENEZ, EVARISTO     ADDRESS ON FILE
CONCEPCION JIMENEZ, JESSICA      ADDRESS ON FILE
CONCEPCION JIMENEZ, LETICIA I.   ADDRESS ON FILE
CONCEPCION JIMENEZ, MELVIN       ADDRESS ON FILE
CONCEPCION JIMENEZ, SAUL         ADDRESS ON FILE
CONCEPCION JIMENEZ, VICTOR O     ADDRESS ON FILE
CONCEPCION KUILAN, EDDA L        ADDRESS ON FILE
CONCEPCION LAGUER, ELIZABETH     ADDRESS ON FILE
CONCEPCION LAGUER, GERONIMO      ADDRESS ON FILE
CONCEPCION LAGUNA, CARMEN N      ADDRESS ON FILE
CONCEPCION LAGUNA, OLGA I        ADDRESS ON FILE
CONCEPCION LANDRON, JORGE        ADDRESS ON FILE
CONCEPCION LEBRON, SAMUEL N      ADDRESS ON FILE
CONCEPCION LIZARDI, AISHA        ADDRESS ON FILE
CONCEPCION LIZARDI, EIRA         ADDRESS ON FILE
CONCEPCION LOPEZ, AIXA           ADDRESS ON FILE
CONCEPCION LOPEZ, ANA I          ADDRESS ON FILE
CONCEPCION LOPEZ, ANIBAL Y       ADDRESS ON FILE
CONCEPCION LOPEZ, AUREA          ADDRESS ON FILE
CONCEPCION LOPEZ, CHRISTOPHER    ADDRESS ON FILE
CONCEPCION LOPEZ, KENDRA L.      ADDRESS ON FILE
CONCEPCION LOPEZ, KRYSTLE        ADDRESS ON FILE
CONCEPCION LOPEZ, LINDSAY        ADDRESS ON FILE
CONCEPCION LOPEZ, MARIANELA      ADDRESS ON FILE
CONCEPCION LOPEZ, MICHEL         ADDRESS ON FILE
CONCEPCION LOPEZ, VICTOR         ADDRESS ON FILE
CONCEPCION LOPEZ, YADIRA         ADDRESS ON FILE
CONCEPCION LOUBRIEL, PEDRO       ADDRESS ON FILE
CONCEPCION LOZADA, AMAURY        ADDRESS ON FILE
CONCEPCION LOZADA, GLORIA E      ADDRESS ON FILE
CONCEPCION LOZADA, GLORIA E.     ADDRESS ON FILE
CONCEPCION LOZADA, JOSE L        ADDRESS ON FILE
CONCEPCION LOZADA, LUIS          ADDRESS ON FILE
CONCEPCION LUGO, LYNNETTE Y      ADDRESS ON FILE
CONCEPCION MAISONET GALARZA      ADDRESS ON FILE
CONCEPCION MALDONADO, DORIS      ADDRESS ON FILE
CONCEPCION MALDONADO, EDUARDO    ADDRESS ON FILE
Concepcion Maldonado, Ivan       ADDRESS ON FILE
CONCEPCION MALDONADO, JOEL       ADDRESS ON FILE
CONCEPCION MALDONADO, NOEMI      ADDRESS ON FILE
CONCEPCION MALDONADO, ROSAURO    ADDRESS ON FILE
CONCEPCION MALDONADO, YARITZA    ADDRESS ON FILE
CONCEPCION MARCANO, MARISOL      ADDRESS ON FILE
CONCEPCION MARIN, KARLA          ADDRESS ON FILE




                                                                             Page 1728 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1729 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION MARQUEZ, LEYDA          ADDRESS ON FILE
CONCEPCION MARRERO, LARRY          ADDRESS ON FILE
CONCEPCION MARRERO, LIZANDRA       ADDRESS ON FILE
CONCEPCION MARRERO, NATIVIDAD      ADDRESS ON FILE
Concepcion Martine, Freddie        ADDRESS ON FILE
CONCEPCION MARTINEZ, CARMEN        ADDRESS ON FILE
CONCEPCION MARTINEZ, DAMARIS       ADDRESS ON FILE
CONCEPCION MARTINEZ, DAMARIS B     ADDRESS ON FILE
CONCEPCION MARTINEZ, EILEEN        ADDRESS ON FILE
CONCEPCION MARTINEZ, IVAN A        ADDRESS ON FILE
CONCEPCION MARTINEZ, JOSE          ADDRESS ON FILE
Concepcion Martinez, Jose E        ADDRESS ON FILE
CONCEPCION MARTINEZ, JOSE F        ADDRESS ON FILE
CONCEPCION MARTINEZ, LUIS          ADDRESS ON FILE
CONCEPCION MARTINEZ, LUZ           ADDRESS ON FILE
CONCEPCION MARTINEZ, MARIA DEL P   ADDRESS ON FILE
Concepcion Martinez, Milagros      ADDRESS ON FILE
CONCEPCION MARTINEZ, ROBERTO       ADDRESS ON FILE
CONCEPCION MARTINEZ, ROLANDO       ADDRESS ON FILE
CONCEPCION MATOS, CARLOS           ADDRESS ON FILE
CONCEPCION MATOS, CARLOS MANUEL    ADDRESS ON FILE
Concepcion Matos, Jennifer         ADDRESS ON FILE
CONCEPCION MATOS, JENNIFER         ADDRESS ON FILE
CONCEPCION MAYSONET, FELIX         ADDRESS ON FILE
CONCEPCION MAYSONET, FREDDIE       ADDRESS ON FILE
CONCEPCION MEDINA, INGRID          ADDRESS ON FILE
CONCEPCION MEDINA, JOSE            ADDRESS ON FILE
CONCEPCION MEJIAS, ROSA B          ADDRESS ON FILE
CONCEPCION MELENDEZ, ALBERTO       ADDRESS ON FILE
CONCEPCION MELENDEZ, BARBARA       ADDRESS ON FILE
CONCEPCION MELENDEZ, BARBARA A     ADDRESS ON FILE
CONCEPCION MELENDEZ, FELIX J       ADDRESS ON FILE
CONCEPCION MELENDEZ, JESENIA       ADDRESS ON FILE
CONCEPCION MELENDEZ, LUIS          ADDRESS ON FILE
CONCEPCION MELENDEZ, YESENIA       ADDRESS ON FILE
CONCEPCION MENDEZ, AXE G.          ADDRESS ON FILE
CONCEPCION MENDEZ, IVAN            ADDRESS ON FILE
Concepcion Mendez, Ivan G          ADDRESS ON FILE
CONCEPCION MENDIZABAL, LUZ D       ADDRESS ON FILE
CONCEPCION MENDOZA, JUAN           ADDRESS ON FILE
CONCEPCION MENDOZA, LUZ M          ADDRESS ON FILE
CONCEPCION MERCED, MARY            ADDRESS ON FILE
CONCEPCION MERCED, ZULMA           ADDRESS ON FILE
CONCEPCION MIRANDA, ANA            ADDRESS ON FILE
CONCEPCION MIRANDA, ANA V          ADDRESS ON FILE
CONCEPCION MIRANDA, BLANCA         ADDRESS ON FILE
CONCEPCION MOJICA, CARMELO         ADDRESS ON FILE
CONCEPCION MOLINA, CLARITZA        ADDRESS ON FILE
CONCEPCION MOLINA, KARILYN D.      ADDRESS ON FILE
CONCEPCION MOLINARI, SIXTA         ADDRESS ON FILE
CONCEPCION MONELL, EVELYN          ADDRESS ON FILE
CONCEPCION MONTEROLA, NAHIR        ADDRESS ON FILE
CONCEPCION MONTEROLA, NAHIR M.     ADDRESS ON FILE
CONCEPCION MONTEROLA, PAOLA        ADDRESS ON FILE
CONCEPCION MORALES, KIMIRIS        ADDRESS ON FILE
CONCEPCION MORALES, KIMIRIS        ADDRESS ON FILE
CONCEPCION MORALES, KOREINY        ADDRESS ON FILE
CONCEPCION MORALES, LUIS           ADDRESS ON FILE
CONCEPCION MORALES, MILAGROS       ADDRESS ON FILE
CONCEPCION MORALES, VIVIAN I       ADDRESS ON FILE




                                                                               Page 1729 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1730 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                         Address1                            Address2                                   Address3               Address4   City         State   PostalCode   Country
CONCEPCION MORAN, VICTOR              ADDRESS ON FILE
CONCEPCION MOREDA, MARYLIN            ADDRESS ON FILE
CONCEPCION MOREDA, NAYDA I            ADDRESS ON FILE
CONCEPCION NATAL, YIRIS               ADDRESS ON FILE
CONCEPCION NAVARRO, LUIS              ADDRESS ON FILE
CONCEPCION NAVEDO, EVELYN             ADDRESS ON FILE
CONCEPCION NAVEDO, IRAIDA             ADDRESS ON FILE
CONCEPCION NAVEDO, LIZJAIRA           ADDRESS ON FILE
CONCEPCION NEGRON, MARIA A            ADDRESS ON FILE
CONCEPCION NEGRON, XAVIER             ADDRESS ON FILE
CONCEPCION NEVAREZ, BARBARA R         ADDRESS ON FILE
CONCEPCION NIEVES, AGUSTIN            ADDRESS ON FILE
CONCEPCION NIEVES, BRENDA L           ADDRESS ON FILE
CONCEPCION NIEVES, LOIDA              ADDRESS ON FILE
CONCEPCION NIEVES, LUZ V              ADDRESS ON FILE
CONCEPCION NIEVES, MARITZA            ADDRESS ON FILE
CONCEPCION NIEVES, SUSANA             ADDRESS ON FILE
CONCEPCION NIEVES, TAMAHARA E.        ADDRESS ON FILE
CONCEPCION NUNEZ, JOSE                ADDRESS ON FILE
Concepcion Nunez, Luis E              ADDRESS ON FILE
CONCEPCION NUNEZ, YISELA              ADDRESS ON FILE
CONCEPCION OCASIO, IRIS N             ADDRESS ON FILE
Concepcion Ocasio, Salomon            ADDRESS ON FILE
CONCEPCION OLIVO, CARLOS              ADDRESS ON FILE
CONCEPCION OLIVO, CARLOS              ADDRESS ON FILE
CONCEPCION OLIVO, MADELINE            ADDRESS ON FILE
CONCEPCION OLMO, YOMAYRA              ADDRESS ON FILE
CONCEPCION OLMO, YOMAYRA              ADDRESS ON FILE
CONCEPCION OQUENDO OQUENDO            ADDRESS ON FILE
CONCEPCION OQUENDO, MILAGROS          ADDRESS ON FILE
CONCEPCION OROZCO, YAZMIN             ADDRESS ON FILE
CONCEPCION ORTEGA, JEAN P             ADDRESS ON FILE
CONCEPCION ORTEGA, KELMESSA           ADDRESS ON FILE
CONCEPCION ORTIZ, ABY                 ADDRESS ON FILE
CONCEPCION ORTIZ, ANDREA              ADDRESS ON FILE
CONCEPCION ORTIZ, ANDRES              ADDRESS ON FILE
CONCEPCION ORTIZ, CAROLINA            ADDRESS ON FILE
CONCEPCION ORTIZ, EDGARDO             ADDRESS ON FILE
CONCEPCION ORTIZ, ENID YADIRA         ADDRESS ON FILE
CONCEPCION ORTIZ, JOSE A.             ADDRESS ON FILE
CONCEPCION ORTIZ, MARIBEL             ADDRESS ON FILE
CONCEPCION ORTIZ, MIGUEL A            ADDRESS ON FILE
CONCEPCION ORTIZ, ORLANDO             ADDRESS ON FILE
CONCEPCION ORTIZ, SANDRA I            ADDRESS ON FILE
CONCEPCION ORTIZ, SHEILA M.           ADDRESS ON FILE
CONCEPCION ORTIZ, SHEILA M.           ADDRESS ON FILE
CONCEPCION ORTIZ, SHEILA M.           ADDRESS ON FILE
Concepcion Ortiz, William             ADDRESS ON FILE
CONCEPCION ORTIZ, YARELIS             ADDRESS ON FILE
CONCEPCION ORTOLAZA, NADIOSKA I       ADDRESS ON FILE
CONCEPCION ORTTIZ / JORGE L MARRERO   ADDRESS ON FILE
CONCEPCION OSORIO, MIRIAM             ADDRESS ON FILE
CONCEPCIÓN OSORIO, MIRIAM             RAFAEL HUMBERTO MARCHAND            AVE. PONCE DE LEON 623 BANCO COOP OFIC 502‐B                                 HATO REY     PR      00918
                                                                                                                    623 AVE Ponce DE LEON
CONCEPCIÓN OSORIO, MIRIAM A.          LCDO. RAFAEL H MARCHAND RODRIGUEZ   BANCO COOPERATIVO PLAZA                   STE 502B                           SAN JUAN     PR      00917
CONCEPCION OTERO, VICTOR              ADDRESS ON FILE
CONCEPCION OYOLA, EMMANUEL            ADDRESS ON FILE
CONCEPCION OYOLA, TYANN D.            ADDRESS ON FILE
CONCEPCION PABON, JOSE                ADDRESS ON FILE
CONCEPCION PABON, MARICELA            ADDRESS ON FILE




                                                                                                      Page 1730 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1731 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION PACHECO, DORIS        ADDRESS ON FILE
CONCEPCION PACHECO, ERLINDA      ADDRESS ON FILE
CONCEPCION PACHECO, LUZ N        ADDRESS ON FILE
CONCEPCION PADILLA, DESIREE      ADDRESS ON FILE
CONCEPCION PADILLA, MIZRAIM      ADDRESS ON FILE
CONCEPCION PAGAN, MELISSA        ADDRESS ON FILE
CONCEPCION PAGAN, RAMON          ADDRESS ON FILE
CONCEPCION PAGAN, REINALDO       ADDRESS ON FILE
CONCEPCION PAINE, ESTER          ADDRESS ON FILE
CONCEPCION PANTOJA, AIDA L       ADDRESS ON FILE
CONCEPCION PANTOJAS, FIDI A      ADDRESS ON FILE
CONCEPCION PARIS, DHARMA         ADDRESS ON FILE
CONCEPCION PASTRANA, ESPERANZA   ADDRESS ON FILE
CONCEPCION PEDRAZA, ANA          ADDRESS ON FILE
CONCEPCION PEDRAZA, ANA R        ADDRESS ON FILE
CONCEPCION PEDRAZA, MARTA        ADDRESS ON FILE
CONCEPCION PENA, ANA G           ADDRESS ON FILE
CONCEPCION PEREZ, CINTHIA I      ADDRESS ON FILE
CONCEPCION PEREZ, DAMIAN         ADDRESS ON FILE
CONCEPCION PEREZ, DEBBIE         ADDRESS ON FILE
Concepcion Perez, Debbie J       ADDRESS ON FILE
CONCEPCION PEREZ, ELDA L         ADDRESS ON FILE
CONCEPCION PEREZ, ESTEPHANIE     ADDRESS ON FILE
CONCEPCION PEREZ, IRIS           ADDRESS ON FILE
CONCEPCION PEREZ, JOSE           ADDRESS ON FILE
Concepcion Perez, Jose           ADDRESS ON FILE
CONCEPCION PEREZ, JOSE           ADDRESS ON FILE
Concepcion Perez, Jose A         ADDRESS ON FILE
CONCEPCION PEREZ, JOSE A.        ADDRESS ON FILE
CONCEPCION PEREZ, JUAN           ADDRESS ON FILE
Concepcion Perez, Juana M        ADDRESS ON FILE
CONCEPCION PEREZ, LUZ N          ADDRESS ON FILE
CONCEPCION PEREZ, MILAGROS       ADDRESS ON FILE
CONCEPCION PEREZ, NAYDA L        ADDRESS ON FILE
CONCEPCION PEREZ, ROSA E         ADDRESS ON FILE
CONCEPCION PEREZ, ROSA I         ADDRESS ON FILE
CONCEPCION PEREZ, RUTH E         ADDRESS ON FILE
CONCEPCION PEREZ, SHEILA         ADDRESS ON FILE
CONCEPCION PEREZ, SHEYLA         ADDRESS ON FILE
CONCEPCION PEREZ, VILMA I        ADDRESS ON FILE
CONCEPCION PEREZ, XIOMARA        ADDRESS ON FILE
CONCEPCION PIMENTEL, JOSE        ADDRESS ON FILE
CONCEPCION PINEIRO GARCIA        ADDRESS ON FILE
CONCEPCION PRIETO, JOSE          ADDRESS ON FILE
CONCEPCION QUILES, LUZ A         ADDRESS ON FILE
CONCEPCION QUINONES DE LONGO     ADDRESS ON FILE
Concepcion Quinones, Carlos O    ADDRESS ON FILE
CONCEPCION QUINONES, ELSIE       ADDRESS ON FILE
CONCEPCION QUINONES, JOSE A      ADDRESS ON FILE
CONCEPCION QUINONES, LUIS A.     ADDRESS ON FILE
CONCEPCION QUINONES, MIGDALIA    ADDRESS ON FILE
CONCEPCION QUINTERO, LYDIA M     ADDRESS ON FILE
CONCEPCION RAMIREZ, NORMA I      ADDRESS ON FILE
CONCEPCION RAMOS, ALBERTO        ADDRESS ON FILE
Concepcion Ramos, Carlos         ADDRESS ON FILE
Concepcion Ramos, Francisco      ADDRESS ON FILE
CONCEPCION RAMOS, GILMARIE       ADDRESS ON FILE
CONCEPCION RAMOS, JOSE A         ADDRESS ON FILE
CONCEPCION RAMOS, JULIO          ADDRESS ON FILE
Concepcion Ramos, Julio C        ADDRESS ON FILE




                                                                             Page 1731 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1732 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION RAMOS, LOURDES            ADDRESS ON FILE
CONCEPCION RAMOS, RAFAEL             ADDRESS ON FILE
CONCEPCION RAMOS, RAUL IVAN          ADDRESS ON FILE
CONCEPCION RAMOS, SANTIAGO           ADDRESS ON FILE
CONCEPCION RAMOS, WALESKA            ADDRESS ON FILE
CONCEPCION RAMOS, XAVIER             ADDRESS ON FILE
CONCEPCION RESTO, LEONARDO           ADDRESS ON FILE
CONCEPCION REYES RIVERA              ADDRESS ON FILE
CONCEPCION REYES, ISIDRO             ADDRESS ON FILE
CONCEPCION REYES, KAMIR              ADDRESS ON FILE
CONCEPCION REYES, MARHELIS           ADDRESS ON FILE
CONCEPCION REYES, MARIA B.           ADDRESS ON FILE
Concepcion Reyes, Maria V            ADDRESS ON FILE
CONCEPCION RIOS, CARMEN L.           ADDRESS ON FILE
CONCEPCION RIOS, CARMEN L.           ADDRESS ON FILE
CONCEPCION RIOS, EDWIN A             ADDRESS ON FILE
CONCEPCION RIOS, GLORIA E.           ADDRESS ON FILE
CONCEPCION RIOS, JESUS               ADDRESS ON FILE
CONCEPCION RIOS, JORGE L             ADDRESS ON FILE
CONCEPCION RIOS, JOSE L.             ADDRESS ON FILE
CONCEPCION RIVAS, SHAMILLE           ADDRESS ON FILE
CONCEPCION RIVERA OLIVERA            ADDRESS ON FILE
CONCEPCION RIVERA, ANGEL A           ADDRESS ON FILE
CONCEPCION RIVERA, ANGELICA          ADDRESS ON FILE
CONCEPCION RIVERA, CARMEN            ADDRESS ON FILE
CONCEPCION RIVERA, CARMEN            ADDRESS ON FILE
CONCEPCION RIVERA, CINDY             ADDRESS ON FILE
Concepcion Rivera, Earlyn            ADDRESS ON FILE
CONCEPCION RIVERA, EDWIN             ADDRESS ON FILE
CONCEPCION RIVERA, GLORIA M          ADDRESS ON FILE
CONCEPCION RIVERA, HECTOR            ADDRESS ON FILE
CONCEPCION RIVERA, HECTOR D.         ADDRESS ON FILE
Concepcion Rivera, Jose A            ADDRESS ON FILE
CONCEPCION RIVERA, JOSE L            ADDRESS ON FILE
CONCEPCION RIVERA, JUAN              ADDRESS ON FILE
CONCEPCION RIVERA, LUZ E             ADDRESS ON FILE
CONCEPCION RIVERA, MADELINE          ADDRESS ON FILE
CONCEPCION RIVERA, MIGDALIA          ADDRESS ON FILE
CONCEPCION RIVERA, NATALIE           ADDRESS ON FILE
CONCEPCION RIVERA, RUTH              ADDRESS ON FILE
CONCEPCION ROBLEDO, ISRAEL           ADDRESS ON FILE
CONCEPCION ROBLEDO, ISRAEL           ADDRESS ON FILE
CONCEPCION ROBLES, CARMIN            ADDRESS ON FILE
CONCEPCION ROBLES, GLENDA E          ADDRESS ON FILE
CONCEPCION ROBLES, VICTOR M          ADDRESS ON FILE
CONCEPCION ROBLES, VIRGINIA          ADDRESS ON FILE
CONCEPCION RODRIGUEZ DE PAGE         ADDRESS ON FILE
CONCEPCION RODRIGUEZ, AIDA L         ADDRESS ON FILE
CONCEPCION RODRIGUEZ, ANA R          ADDRESS ON FILE
CONCEPCION RODRIGUEZ, EVERIDYS       ADDRESS ON FILE
CONCEPCION RODRIGUEZ, FRANCISCO      ADDRESS ON FILE
CONCEPCION RODRIGUEZ, IDALYS         ADDRESS ON FILE
CONCEPCION RODRIGUEZ, JESUS          ADDRESS ON FILE
CONCEPCION RODRIGUEZ, JORGE          ADDRESS ON FILE
CONCEPCION RODRIGUEZ, JORGE          ADDRESS ON FILE
CONCEPCION RODRIGUEZ, MARIA DEL C.   ADDRESS ON FILE
Concepcion Rodriguez, Milton         ADDRESS ON FILE
CONCEPCION RODRIGUEZ, NILDA          ADDRESS ON FILE
CONCEPCION RODRIGUEZ, ONIX           ADDRESS ON FILE
Concepcion Rodriguez, Victor M.      ADDRESS ON FILE




                                                                                 Page 1732 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1733 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Concepcion Rodriguez, William      ADDRESS ON FILE
CONCEPCION RODRIGUEZ, XAVIER       ADDRESS ON FILE
CONCEPCION RODRIGUEZ, YEZZID       ADDRESS ON FILE
CONCEPCION ROJAS, ALTAGRACIA       ADDRESS ON FILE
CONCEPCION ROLON, NORA             ADDRESS ON FILE
CONCEPCION ROMAN, ARLENE           ADDRESS ON FILE
CONCEPCION ROMAN, MIRIAM           ADDRESS ON FILE
CONCEPCION ROMAN, NORMA            ADDRESS ON FILE
CONCEPCION ROMERO, ELIZABETH       ADDRESS ON FILE
CONCEPCION ROQUE, LUCY             ADDRESS ON FILE
CONCEPCION ROQUE, YULENDY          ADDRESS ON FILE
CONCEPCION ROSA ECHEVARRIA         ADDRESS ON FILE
CONCEPCION ROSA, ADALINA           ADDRESS ON FILE
CONCEPCION ROSA, JUAN              ADDRESS ON FILE
Concepcion Rosa, William           ADDRESS ON FILE
CONCEPCION ROSADO MD, RODOLFO A    ADDRESS ON FILE
Concepcion Rosado, Jacinto         ADDRESS ON FILE
Concepcion Rosado, Luis J          ADDRESS ON FILE
CONCEPCION ROSADO, MARIA D         ADDRESS ON FILE
CONCEPCION ROSADO, ORLANDO         ADDRESS ON FILE
CONCEPCION ROSADO, REYNALDO        ADDRESS ON FILE
CONCEPCION ROSADO, RODOLFO         ADDRESS ON FILE
CONCEPCION ROSARIO LUGO            ADDRESS ON FILE
CONCEPCION ROSARIO ORTIZ           ADDRESS ON FILE
CONCEPCION ROSARIO, CANDIDA        ADDRESS ON FILE
CONCEPCION ROSARIO, JUAN           ADDRESS ON FILE
CONCEPCION ROSARIO, JUAN           ADDRESS ON FILE
CONCEPCION ROSARIO, JUAN           ADDRESS ON FILE
CONCEPCION RUBIO, CARMEN J         ADDRESS ON FILE
CONCEPCION RUBIO, ENID             ADDRESS ON FILE
CONCEPCION RUBIO, RAFAEL           ADDRESS ON FILE
CONCEPCION RUIZ, NIVIA E           ADDRESS ON FILE
CONCEPCION SANCHEZ, ANGEL          ADDRESS ON FILE
CONCEPCION SANCHEZ, CARMEN         ADDRESS ON FILE
CONCEPCION SANCHEZ, CRISTINA       ADDRESS ON FILE
CONCEPCION SANCHEZ, CRISTOFER      ADDRESS ON FILE
CONCEPCION SANCHEZ, LUZ M          ADDRESS ON FILE
CONCEPCION SANCHEZ, MINA E         ADDRESS ON FILE
Concepcion Sanchez, Rafael         ADDRESS ON FILE
CONCEPCION SANCHEZ, RAFAEL         ADDRESS ON FILE
CONCEPCION SANCHEZ, VICTOR         ADDRESS ON FILE
CONCEPCION SANCHEZ, VICTOR         ADDRESS ON FILE
CONCEPCION SANTA, LINETTE          ADDRESS ON FILE
Concepcion Santa, Linette M        ADDRESS ON FILE
CONCEPCION SANTANA, AMARILYS       ADDRESS ON FILE
CONCEPCION SANTANA, ANGELA         ADDRESS ON FILE
CONCEPCION SANTANA, ANGELICA       ADDRESS ON FILE
CONCEPCION SANTANA, LINNETTE       ADDRESS ON FILE
CONCEPCION SANTANA, LIVETTE M      ADDRESS ON FILE
CONCEPCION SANTANA, RITZA          ADDRESS ON FILE
CONCEPCION SANTANA, RITZA          ADDRESS ON FILE
CONCEPCION SANTANA, YADIRA E       ADDRESS ON FILE
CONCEPCION SANTANA, YANIRA I       ADDRESS ON FILE
CONCEPCION SANTIAGO, CHRISTOPHER   ADDRESS ON FILE
CONCEPCION SANTIAGO, EMANUEL       ADDRESS ON FILE
CONCEPCION SANTIAGO, GRACIELA      ADDRESS ON FILE
CONCEPCION SANTOS MUNOZ            ADDRESS ON FILE
CONCEPCION SANTOS, ELIA            ADDRESS ON FILE
CONCEPCION SANTOS, JONATHAN        ADDRESS ON FILE
CONCEPCION SANTOS, MILDRED         ADDRESS ON FILE




                                                                               Page 1733 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1734 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONCEPCION SANTOS, MILDRED       ADDRESS ON FILE
CONCEPCION SERRANO, ANTONIA      ADDRESS ON FILE
Concepcion Serrano, Beatriz      ADDRESS ON FILE
CONCEPCION SERRANO, BRENDA J     ADDRESS ON FILE
CONCEPCION SERRANO, BRENDA J.    ADDRESS ON FILE
Concepcion Serrano, Gabriel      ADDRESS ON FILE
Concepcion Serrano, Isabel       ADDRESS ON FILE
CONCEPCION SERRANO, JOHANNA      ADDRESS ON FILE
CONCEPCION SIERRA, BERNARDINA    ADDRESS ON FILE
CONCEPCION SIERRA, MARTA         ADDRESS ON FILE
CONCEPCION SIERRA, MILITZA       ADDRESS ON FILE
CONCEPCION SIERRA, SASHA         ADDRESS ON FILE
CONCEPCION SIERRA, VIRGILIO      ADDRESS ON FILE
CONCEPCION SOLER, AUREA E        ADDRESS ON FILE
CONCEPCION SOLER, JOHNNY         ADDRESS ON FILE
CONCEPCION SOLER, LUZ            ADDRESS ON FILE
CONCEPCION SOLER, MARIBEL        ADDRESS ON FILE
CONCEPCION SOTO, ADA LINETTE     ADDRESS ON FILE
CONCEPCION SOTO, GLENDALIZ       ADDRESS ON FILE
CONCEPCION SOTO, IRIS M          ADDRESS ON FILE
CONCEPCION SOTO, JUANC.          ADDRESS ON FILE
CONCEPCION TANCO, IRMA           ADDRESS ON FILE
CONCEPCION TAVERAS, JOAQUIN      ADDRESS ON FILE
CONCEPCION TIRADO, MARCOS A.     ADDRESS ON FILE
CONCEPCION TIRADO, NOEMI         ADDRESS ON FILE
CONCEPCION TORRES, ABIMAEL       ADDRESS ON FILE
CONCEPCION TORRES, AIXAMARIE     ADDRESS ON FILE
CONCEPCION TORRES, CARMEN E      ADDRESS ON FILE
CONCEPCION TORRES, EDWIN         ADDRESS ON FILE
CONCEPCION TORRES, ELIEZER       ADDRESS ON FILE
CONCEPCION TORRES, MARA          ADDRESS ON FILE
CONCEPCION TORRES, MAYRA         ADDRESS ON FILE
Concepcion Torres, Nilsa         ADDRESS ON FILE
CONCEPCION TORRES, SOLEDAD       ADDRESS ON FILE
CONCEPCION TORRES, SONIA         ADDRESS ON FILE
CONCEPCION TORRES, VANESSA       ADDRESS ON FILE
CONCEPCION TORRES, VIDA L        ADDRESS ON FILE
CONCEPCION TORRES, WANDA         ADDRESS ON FILE
CONCEPCION TORRES, WILFREDO A    ADDRESS ON FILE
CONCEPCION TOSADO, BETZAIDA      ADDRESS ON FILE
CONCEPCION TOSADO, CARMEN I.     ADDRESS ON FILE
Concepcion Tosado, Lisandra      ADDRESS ON FILE
CONCEPCION UJAQUE MARTINEZ       ADDRESS ON FILE
CONCEPCION VALENTIN, FRANCISCO   ADDRESS ON FILE
CONCEPCION VALENTIN, JULIO       ADDRESS ON FILE
CONCEPCION VARGAS, ANGEL         ADDRESS ON FILE
CONCEPCION VARGAS, DAMARIS       ADDRESS ON FILE
CONCEPCION VARGAS, FRANK         ADDRESS ON FILE
CONCEPCION VARGAS, IDALIS        ADDRESS ON FILE
CONCEPCION VARGAS, IRIS          ADDRESS ON FILE
CONCEPCION VARGAS, MONICA J      ADDRESS ON FILE
CONCEPCION VAZQUEZ VEGA          ADDRESS ON FILE
Concepcion Vazquez, Angel L      ADDRESS ON FILE
CONCEPCION VAZQUEZ, JACINTO      ADDRESS ON FILE
Concepcion Vazquez, Jose A       ADDRESS ON FILE
CONCEPCION VAZQUEZ, LUIS         ADDRESS ON FILE
CONCEPCION VAZQUEZ, MAXIMINO     ADDRESS ON FILE
Concepcion Vazquez, Victor       ADDRESS ON FILE
CONCEPCION VAZQUEZ, VIRGINIA     ADDRESS ON FILE
CONCEPCION VEGA, ADA I           ADDRESS ON FILE




                                                                             Page 1734 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1735 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                            Address1                           Address2                                    Address3   Address4   City            State   PostalCode    Country
CONCEPCION VEGA, BRENDALIZ               ADDRESS ON FILE
CONCEPCION VEGA, CARMEN M                ADDRESS ON FILE
CONCEPCION VEGA, IRIS A                  ADDRESS ON FILE
CONCEPCION VEGA, SANTANA                 ADDRESS ON FILE
CONCEPCION VELEZ ARROYO                  ADDRESS ON FILE
CONCEPCION VELEZ, MARIA DE LOS A         ADDRESS ON FILE
CONCEPCION VELEZ, MIGUEL                 ADDRESS ON FILE
CONCEPCION VILLAL, LUCIANO               ADDRESS ON FILE
CONCEPCION VILLALOBOS, ERNESTO           ADDRESS ON FILE
CONCEPCION VILLALOBOS, LEONARDO          ADDRESS ON FILE
CONCEPCION VILLANUEVA, EVELYN            ADDRESS ON FILE
CONCEPCION WICHY, BRUNILDA               ADDRESS ON FILE
CONCEPCION WINCLAIR MARIA                P.M.B. 558 P.O. BOX 30000                                                                            CANOVANAS       PR      00729
CONCEPCION WINCLAIR, MARIA               ADDRESS ON FILE
CONCEPCION ZAYAS, CARLOS                 ADDRESS ON FILE
Concepcion Zayas, Carlos                 ADDRESS ON FILE
CONCEPCION ZAYAS, KARLA M                ADDRESS ON FILE
CONCEPCION ZAYAS, ZONAIDA                ADDRESS ON FILE
CONCEPCION, EDUARDO                      ADDRESS ON FILE
CONCEPCION, ELIZABETH                    ADDRESS ON FILE
CONCEPCION, FERNANDO                     ADDRESS ON FILE
CONCEPCION, GEORGINA                     ADDRESS ON FILE
CONCEPCION, JOSE L                       ADDRESS ON FILE
CONCEPCION, MARGARITA                    ADDRESS ON FILE
CONCEPCION, NIEVES                       ADDRESS ON FILE
CONCEPCION, SIXTA M.                     ADDRESS ON FILE
CONCEPCION, SONIA J                      ADDRESS ON FILE
CONCEPCIONJIMENEZ, JESSICA               ADDRESS ON FILE
CONCEPCIONLOZADA, GLORIA                 ADDRESS ON FILE
CONCEPCIONNEVAREZ, MARIADELC             ADDRESS ON FILE
CONCEPCIONVAZQUEZ, ENRIQUE               ADDRESS ON FILE
CONCEPSION QUINONES, MOISES              ADDRESS ON FILE
CONCEPTO FISICO                          PO BOX 900                                                                                           GUAYAMA         PR      00785
CONCEPTO FISICO INC                      PO BOX 900                                                                                           GUAYAMA         PR      00785
CONCERN COUNSELING SERVICES              90 S COMMERCE WAY SU 300                                                                             BETHLEHEM       PA      18017
CONCERNED RESIDENTS FOR IMPROVEMENT INCPO BOX 97                                                                                              VIEQUES         PR      00765
CONCESIONARIO IOH LLC                    P O BOX 2569                                                                                         RIO GRANDE      PR      00745
CONCHA MORALES, SACHA L.                 ADDRESS ON FILE
CONCHA MORALES, SANDRO                   ADDRESS ON FILE
CONCHA SOSA, LEONARDO                    ADDRESS ON FILE
CONCHA, ABEL L                           ADDRESS ON FILE
CONCHITA ARENAS ALVAREZ                  ADDRESS ON FILE
CONCHITA DOMINGUEZ PAGAN                 ADDRESS ON FILE
CONCHITA IGARTUA DE SUAREZ               ADDRESS ON FILE
CONCHITA MONTES AVILES                   ADDRESS ON FILE
CONCHITA ORTIZ CLAUDIO                   ADDRESS ON FILE
CONCHITA SANTIAGO MENDEZ                 ADDRESS ON FILE
CONCHITA SEVILLANO FLORIDO               LAKE SHORE MIRAMAR                 1 CALLE MADRID APT 7C                                             SAN JUAN        PR      00907‐2417
CONCHITA TORRES VINA                     ADDRESS ON FILE
CONCHO CORP/ COPAMARINA BEACH RESORT SPPO BOX 805                                                                                             GUANICA         PR      00653
CONCILIO CARIBE DE GIRLS SCOUTS          500 CALLE ELISA COLBERTG                                                                             SAN JUAN        PR      000907‐9908
CONCILIO CARIBE DE GIRLS SCOUTS          500 ELISA COLBERG STREET STOP 15                                                                     SAN JUAN        PR      00907
CONCILIO CARIBE DE GIRLS SCOUTS          CONDOMINIO ARCOS DE CUPEY          650 AVE CECILIANA APT 1401                                        SAN JUAN        PR      00926
CONCILIO DE IGLESIAS DE P R              ADDRESS ON FILE
CONCILIO DE IGLESIAS DE PR               PO BOX 21343                                                                                         SAN JUAN        PR      00928
CONCILIO IGLESIAS CRISTIANAS PENTECOSTAL PO BOX 1775                                                                                          BARCELONETA     PR      00617
CONCILIO INTENACIONAL DE IGLESIAS        P O BOX 1972                                                                                         CAROLINA        PR      00984‐0000
CONCILIO MENONITA DE PR INC              PO BOX 719                                                                                           ANASCO          PR      00610‐0719
CONCILIO NACIONAL DE POLICAS INC         COUNTRY CLUB                       797 AVE ITURREGUI                                                 SAN JUAN        PR      00924
CONCILIO NACIONAL DE POLICAS INC         PO BOX 8700                        PMB 120                                                           CAROLINA        PR      00988‐8700




                                                                                                         Page 1735 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1736 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                    Address2                                   Address3            Address4   City              State   PostalCode    Country
Concilio Nacional de Policías (CONAPOL) Robles López, Sgto. Edwin   PO Box 8700                                PMB 120                        Carolina          PR      00988‐8700
Concilio Nacional de Policías (CONAPOL) Robles López, Sgto. Edwin   Country Club                               797 Calle Molucas              Río Piedras       PR      00929
CONCILIO NACIONAL DE POLICIAS INC       DEPARTAMENTO DE HACIENDA                                                                              SAN JUAN          PR      00902
CONCILIO NACIONAL DE POLICIAS INC       PO BOX 8700                 PMB120                                                                    CAROLINA          PR      00988
CONCILIO NACIONAL DE POLICIAS INC       PO BOX 87010 PMB 120                                                                                  CAROLINA          PR      00988‐8700
CONCILIO PUERTORRIQUENO CONTRA EL RACISMPO BOX 3257                                                                                           CAROLINA          PR      00984‐3257
CONCRETE AND MARERIAL TESTING           URB GARDENVILLE             D15 CALLE BUEN SAMARITANO                                                 GUAYNABO          PR      00966‐2025
CONCRE‐TECH INC.                        PO BOX 370                                                                                            BARRANQUITAS      PR      00794
CONCRETERA HORIZONTE INC                HC 22 BOX 8696                                                                                        JUNCOS            PR      00777
CONCRETOS DEL PEPINO CORP               PO BOX 7000 STE 127                                                                                   SAN SEBASTIAN     PR      00685
COND BRISAS DE BORINQUEN I              PO BOX 1276                                                                                           CAROLINA          PR      00986‐1276
COND LOS LIRIOS                         1100 CALLE LAS FLORES                                                                                 SAN JUAN          PR      00907
COND PORTICOS DE CUPEY                  100 CARR 845 APTO 14305                                                                               SAN JUAN          PR      00926
CONDADO DOU LA CONCHA SPV LLC           PO BOX 6545                                                                                           SAN JUAN          PR      00914
CONDADO DUO LA CONCHA SPV LLC           1077 ASHFORD AVENUE                                                                                   SAN JUAN          PR      00907
CONDADO MOTORS, INC.                    P.O. BOX 9962                                                                                         SANTURCE          PR      00908
CONDADO OTOLARYNGOLOGY                  COND ADA LIGIA              1452 AVE ASHFORD STE 407                                                  SAN JUAN          PR      00907‐1563
CONDADO PLAZA HOTEL & CASINO            929 AVE ASHFORD                                                                                       SAN JUAN          PR      000907‐0000
CONDADO PLAZA HOTEL & CASINO            999 AVE ASHFORD                                                                                       SAN JUAN          PR      000907‐0000
CONDADO PLAZA HOTEL & CASINO            999 AVE ASHFORD AVENUE                                                                                SAN JUAN          PR      00907
CONDADO PLAZA HOTEL & CASINO            PO BOX 9021270                                                                                        SAN JUAN          PR      00902‐0000
CONDADO PLAZA HOTEL & CASINO            PO BOX 9022872                                                                                        SAN JUAN          PR      00902‐2872
CONDADO SALES & RENTAL INC              PO BOX 195417                                                                                         SAN JUAN          PR      00919‐5417
CONDADO TRAVEL                          PO BOX 364806                                                                                         SAN JUAN          PR      00936‐4806
CONDADO TRAVEL INC                      544 ALDEBARAN ST            1ST FLOOR                                  ALTAMIRA                       SAN JUAN          PR      00920
CONDADO WINDOW                          P.O. BOX 13847                                                                                        SAN JUAN          PR      00908‐3847
CONDE ADORNO, JAHAIRA LIZ               ADDRESS ON FILE
CONDE ADORNO, JULIANNA                  ADDRESS ON FILE
CONDE AGUIAR, AILEEN                    ADDRESS ON FILE
CONDE ALICEA, YANID M                   ADDRESS ON FILE
CONDE ALMONTE, CHEMIELLY                ADDRESS ON FILE
CONDE ALMONTES, CARMEN                  ADDRESS ON FILE
CONDE ANDALUZ, ANGEL                    ADDRESS ON FILE
CONDE ARES, CARMEN M                    ADDRESS ON FILE
CONDE BATIZ, MARITZA M                  ADDRESS ON FILE
CONDE CALDERON, DANIEL                  ADDRESS ON FILE
CONDE CAMACHO, DARWIN J                 ADDRESS ON FILE
CONDE CARDONA, MILDRED E                ADDRESS ON FILE
CONDE CASIANO, KRIZIA M                 ADDRESS ON FILE
CONDE CHANDRY, NILDA                    ADDRESS ON FILE
CONDE COLON, OMAR                       ADDRESS ON FILE
CONDE COLON, RICARDO                    ADDRESS ON FILE
CONDE COLON, ZIDNIA                     ADDRESS ON FILE
CONDE CORREA, ROSA L.                   ADDRESS ON FILE
CONDE CRISPIN, CARLOS                   ADDRESS ON FILE
CONDE CRUZ, ANA D                       ADDRESS ON FILE
Conde Cruz, Javier H                    ADDRESS ON FILE
CONDE CRUZ, LUIS D.                     ADDRESS ON FILE
CONDE CRUZ, MARGARITA                   ADDRESS ON FILE
CONDE CRUZ, RAFAEL                      ADDRESS ON FILE
CONDE CRUZ, ROSITA                      ADDRESS ON FILE
CONDE DAVILA, CARMEN I.                 ADDRESS ON FILE
CONDE DAVILA, SOLEDAD                   ADDRESS ON FILE
CONDE DE JESUS, ROSAURA DEL             ADDRESS ON FILE
CONDE DE LEON, DESIREE                  ADDRESS ON FILE
CONDE DE PABLO, CARMEN                  ADDRESS ON FILE
CONDE DE PABLO, JULIO C.                ADDRESS ON FILE
CONDE DELGADO, CARMEN I                 ADDRESS ON FILE
CONDE DELGADO, MARILU                   ADDRESS ON FILE
CONDE DELGADO, MARILU                   ADDRESS ON FILE




                                                                                                Page 1736 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1737 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONDE DELGADO, ORLANDO       ADDRESS ON FILE
CONDE DELGADO, PEDRO         ADDRESS ON FILE
CONDE ESTRADA, PABLO         ADDRESS ON FILE
CONDE FELICIANO, DAMARIS     ADDRESS ON FILE
CONDE FELICIANO, NOEMI       ADDRESS ON FILE
CONDE FELIU, NANCY           ADDRESS ON FILE
CONDE FERNANDEZ, FELIX       ADDRESS ON FILE
CONDE FIGUEROA, ARMANDO      ADDRESS ON FILE
CONDE FLORES, ROSA           ADDRESS ON FILE
CONDE GARCIA, EVERYDITH      ADDRESS ON FILE
CONDE GARCIA, EVERYDITH      ADDRESS ON FILE
CONDE GONZALEZ, ANGEL        ADDRESS ON FILE
CONDE GONZALEZ, ANNETTE M    ADDRESS ON FILE
CONDE GONZALEZ, ARIANTHONY   ADDRESS ON FILE
CONDE GONZALEZ, BARBARO L    ADDRESS ON FILE
CONDE GONZALEZ, EDWIN        ADDRESS ON FILE
CONDE GONZALEZ, HECTOR       ADDRESS ON FILE
CONDE GONZALEZ, JAYSON       ADDRESS ON FILE
CONDE GONZALEZ, JAYSON L     ADDRESS ON FILE
CONDE GONZALEZ, MARIA V      ADDRESS ON FILE
Conde Gonzalez, Marvin L     ADDRESS ON FILE
CONDE GONZALEZ, WILLIAM      ADDRESS ON FILE
CONDE HERNANDEZ, ANETTE      ADDRESS ON FILE
CONDE HERNANDEZ, LIZETTE     ADDRESS ON FILE
CONDE INSURANCE INC          P O BOX 364952                                                                   SAN JUAN     PR      00936‐4952
CONDE IRIZARRY, JORGE        ADDRESS ON FILE
CONDE IRIZARRY, JOSE         ADDRESS ON FILE
CONDE IRIZARRY, YOHANNIE E   ADDRESS ON FILE
CONDE LOPEZ, CARLOS J.       ADDRESS ON FILE
CONDE LOPEZ, CARLOSJ         ADDRESS ON FILE
CONDE LOPEZ, RUBEN           ADDRESS ON FILE
CONDE LOPEZ,RUBEN            ADDRESS ON FILE
CONDE LOUBRIEL, JUAN         ADDRESS ON FILE
Conde Lugo, Anibal Y         ADDRESS ON FILE
CONDE LUGO, MARIFELY         ADDRESS ON FILE
CONDE LUGO, MARIFELY         ADDRESS ON FILE
CONDE MALDONADO, EDUARDO     ADDRESS ON FILE
CONDE MALDONADO, FERNANDO    ADDRESS ON FILE
CONDE MALDONADO, ILIA G      ADDRESS ON FILE
CONDE MATOS, ERIC Y          ADDRESS ON FILE
CONDE MELENDEZ, DIONISIO     ADDRESS ON FILE
CONDE MELENDEZ, LISA         ADDRESS ON FILE
CONDE MELENDEZ, MARIA A.     ADDRESS ON FILE
CONDE MELENDEZ, MARIA M.     ADDRESS ON FILE
CONDE MELENDEZ, MARIANELA    ADDRESS ON FILE
CONDE MELENDEZ, MARYLOU      ADDRESS ON FILE
CONDE MONTERO, KEVIN         ADDRESS ON FILE
CONDE NAVARRO, ALEXANDER     ADDRESS ON FILE
CONDE NAVARRO, SANTOS        ADDRESS ON FILE
CONDE NEGRONI, SIXTO         ADDRESS ON FILE
CONDE NIEVES, AMANDA         ADDRESS ON FILE
CONDE OCASIO, JAVIER         ADDRESS ON FILE
CONDE OCASIO, JOEL           ADDRESS ON FILE
CONDE OCASIO, LUIS A         ADDRESS ON FILE
CONDE ORAMA, DIEGO           ADDRESS ON FILE
CONDE ORTIZ, CARLOS          ADDRESS ON FILE
Conde Ortiz, Joefre          ADDRESS ON FILE
CONDE PACHECO, JUAN F        ADDRESS ON FILE
CONDE PAGAN, SIGRID          ADDRESS ON FILE
CONDE PAZ, ROSA              ADDRESS ON FILE




                                                                         Page 1737 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1738 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                              Address1                             Address2                                   Address3   Address4   City         State   PostalCode   Country
Conde Perez, Julie H                       ADDRESS ON FILE
CONDE PEREZ, NICASIO                       ADDRESS ON FILE
CONDE PLERQUI, ANGEL S                     ADDRESS ON FILE
CONDE QUINONES, ISMAEL                     ADDRESS ON FILE
CONDE QUINONES, LINNETTE                   ADDRESS ON FILE
CONDE QUINONES, SAMUEL                     ADDRESS ON FILE
CONDE QUINTANA, JOSE                       ADDRESS ON FILE
CONDE RAMOS, MARIA                         ADDRESS ON FILE
CONDE RAMOS, MARIA M                       ADDRESS ON FILE
CONDE REYES, JUAN D.                       ADDRESS ON FILE
CONDE REYES, MAYRA                         ADDRESS ON FILE
CONDE RIVERA, BRINESKA                     ADDRESS ON FILE
CONDE RIVERA, GLENDA                       ADDRESS ON FILE
CONDE RIVERA, SANDRA                       ADDRESS ON FILE
CONDE ROBLES, ANDREA                       ADDRESS ON FILE
CONDE RODRIGUEZ, DIANA I.                  ADDRESS ON FILE
CONDE RODRIGUEZ, GLARIA                    ADDRESS ON FILE
CONDE RODRIGUEZ, SAMUEL                    ADDRESS ON FILE
CONDE RODRIGUEZ, YVONNE                    ADDRESS ON FILE
CONDE ROSA, LUIS G                         ADDRESS ON FILE
CONDE SANCHEZ, GRISELLE                    ADDRESS ON FILE
CONDE SAN‐MIGUEL, JUAN C.                  ADDRESS ON FILE
CONDE SANTIAGO, CARMEN                     ADDRESS ON FILE
CONDE SANTIAGO, IDALY                      ADDRESS ON FILE
CONDE SANTOS, RICHARD                      ADDRESS ON FILE
CONDE SILVA, WANDA                         ADDRESS ON FILE
CONDE SOTO, MARIBEL                        ADDRESS ON FILE
CONDE TORRES, AGNES                        ADDRESS ON FILE
CONDE TORRES, ALVIN S                      ADDRESS ON FILE
CONDE TORRES, JORGE L                      ADDRESS ON FILE
CONDE TORRES, MIRTA H                      ADDRESS ON FILE
CONDE TORRES, ROBERTO                      ADDRESS ON FILE
CONDE VALENTIN, VICENTE                    ADDRESS ON FILE
CONDE VALENTIN, VICTOR                     ADDRESS ON FILE
CONDE VALLE, SONIA                         ADDRESS ON FILE
CONDE VAZQUEZ, BEATRIZ                     ADDRESS ON FILE
CONDE VEGA, MINERVA                        ADDRESS ON FILE
CONDE VELEZ, JERIOTH                       ADDRESS ON FILE
Conde Velez, Jerioth R                     ADDRESS ON FILE
Conde Vellon, Miguel                       ADDRESS ON FILE
CONDE VIDAL, ADA                           ADDRESS ON FILE
CONDE VIDAL, ILIANA L                      ADDRESS ON FILE
CONDE VIERA, JUAN                          ADDRESS ON FILE
CONDE WHALTON, RAMONA                      ADDRESS ON FILE
CONDE YAMBO, CINDY O.                      ADDRESS ON FILE
CONDE, MARIA E                             ADDRESS ON FILE
CONDE, MERALDA                             ADDRESS ON FILE
CONDIS ESCALA, MARIO                       ADDRESS ON FILE
CONDOMINIO ATLANTICO                       P O BOX 362159                                                                                        SAN JUAN     PR      00936
CONDOMINIO BALCONES LAS CATALINAS          218 AVE. BOULEVARD                                                                                    CAGUAS       PR      00725‐0000
CONDOMINIO EGIDA ASOC MIEMBROS DE LA       AREA DEL TESORO                      DIVISION DE RECLAMACIONES                                        SAN JUAN     PR      00902‐4140
CONDOMINIO EGIDA ASOC MIEMBROS DE LA       POLICIA DE MAUNABO                   RR 3 BOX 3724                                                    SAN JUAN     PR      00926‐3724
CONDOMINIO GOLDEN TOWER                    MARGINAL BALDORIOTY ESQ PONTEZUELA                                                                    CAROLINA     PR      00983
CONDOMINIO JARDIN DE LAS CATALINAS, INC.   2009 CALLE F                                                                                          CAGUAS       PR      00926‐0000
CONDOMINIO JARDINES DE COUNTRY CLUB        CALLE 8 APT. 108 #100                                                                                 CAROLINA     PR      00983‐1644
CONDOMINIO LOS ALMENDROS PLAZA             COND LOS ALMENDROS PLAZA             701 CALLE EIDER                                                  SAN JUAN     PR      00924
CONDOMINIO PARQUE DE LAS FLORES            25 MEDIA LUNA BLVD                   PARQUE ESCORIAL APTO ADM                                         CAROLINA     PR      00987
CONDOMINIO PLAZA MAYOR INC                 P O BOX 19397                                                                                         SAN JUAN     PR      00919‐3497
CONDOMINIO SAN FRANCISCO DE ASIS INC       P O BOX 11506                                                                                         SAN JUAN     PR      00922‐1506
CONDOMINIO SAN IGNACIO                     1325 AVE SAN IGNACIO                                                                                  SAN JUAN     PR      00921




                                                                                                            Page 1738 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1739 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                 Address2                                    Address3          Address4   City           State   PostalCode   Country
CONDOMINIO TORRECILLAS                   BOX A 13                                                                                                          CAROLINA       PR      00983
CONDOMINIO TORRES DE CERVANTES           240 CALLE 49                                                                                                      SAN JUAN       PR      00924
CONDOMINIO TOWN HOUSE                    500 FINAL CALLE GUAYANILLA                                                                                        SAN JUAN       PR      00923
CONDOMINIO VIERA                         54 AVE UNIVERSIDAD STE 1                                                                                          SAN JUAN       PR      00925‐2439
CONDOMINIO VILLAS DE MONTECARLO          COND VILLAS DE MONTE CARLO 2             CALLE B APT 1808                                                         SAN JUAN       PR      00923
CONDOMINIO WASHINGTON                    COND WASHINGTON                                                                                                   CONDADO        PR      00911
CONDOMINIOPR COM INC                     URB BAY VIEW                             55 CALLE PRINCIPAL                                                       CATANO         PR      00962‐4214
CONDOMINIUM ECO RESORTS                  P O BOX 399                                                                                                       MAYAGUEZ       PR      00681
CONDORI MAMANI, MIRIAM                   ADDRESS ON FILE
CONEJO HERNANDEZ, MAIRICIO               ADDRESS ON FILE
CONEJO HERNANDEZ, MAURICIO               ADDRESS ON FILE
CONESA CALDER, VIANNE                    ADDRESS ON FILE
CONESA CONESA, KARINA                    ADDRESS ON FILE
CONESA CORTES, ARNALDO J                 ADDRESS ON FILE
CONESA MUNOZ, ALICIA R                   ADDRESS ON FILE
CONESA MUNOZ, EDUARDO                    ADDRESS ON FILE
CONESA NAZARIO, WALTER                   ADDRESS ON FILE
CONESA SOTO, SHEILA K                    ADDRESS ON FILE
CONEXICS LOGICAL SOLUTIONS               PO BOX 16513                                                                                                      SAN JUAN       PR      00908
CONEXION EDUCATIVA                       PO BOX 9300881                                                                                                    SAN JUAN       PR      00930‐0881
CONEXRED CARIBE, INC                     PO BOX 70250                                                                                                      SAN JUAN       PR      00936
CONEXUS LLC                              1131 AVE JESUS T PINERO                                                                                           SAN JUAN       PR      00920‐5605
CONEY ISLAND HOSPITAL                    2601 OCEAN PARKWAY                                                                                                BROOKLYN       NY      11235‐7795
CONF CENTROAMERICANA Y DEL CARIBE AFICIO URB LAS LOMAS 1724                       CALLE 34 SO                                                              SAN JUAN       PR      00921
CONF DE LA LIGA CENT DE BEISBOL AFIC INC PO BOX 51354                                                                                                      TOA ALTA       PR      00950
CONFASE INC                              URB SAN FRANCISCO 1663 CALLE VIOLETA                                                                              SAN JUAN       PR      00927
Confederación de Organizaciones de PR    Cancel, Zaida                            PO Box 14114                                                             San Juan       PR      00916
Confederación Laborista de Puerto Rico   Vélez Mangual, Román                     225 Ave. González Clemente                                               Mayagüez       PR      00682
CONFEDERACION PUERTORRIQUENA DE VOLIBOLP O BOX 1321                                                                                                        BAYAMON        PR      00960
CONFERENCE FOR FOOD PROTECTION           6469 FITZ LANE                                                                                                    TALAHASSEE     FL      32311
CONFERENCE OF STATE BANK SUPERVISORS     PO BOX 791272                                                                                                     BALTIMORE      MD      21279‐1272
CONFERENCIA DE SEGURIDAD Y SALUD         DEPT. TRABAJO Y REC HUM ADM. DE SEGURIDAD Y SALUD                                                                 SAN JUAN       PR      00919‐5540
CONFERENCIA DE SEGURIDAD Y SALUD OCUP. DEPARTAMENTO DEL TRABAJO Y                 RECURSOS HUMANOS‐PISO 20                    P.O. BOX 195540              SAN JUAN       PR      00919‐5540
CONFERENCIA DE SEGURIDAD Y SALUD OCUPACI DEPTO. TRABAJO/REC HUMANOS PISO 20 ADM S PO BOX                                                                   SAN JUAN       PR      00919‐554
CONFERENCIA SEGURIDAD SALUD OCUPACIONALEDIF PRUDENCIO RIVERA MARTINEZ             505 AVE MUNOZ RIVERA PISO 20                                             SAN JUAN       PR      00918
CONFERENCIA SEGURIDAD SALUD OCUPACIONALEDIF PRUDENCIO RIVERA MARTINEZ             505 AVE MUNOZ RIVERA                                                     SAN JUAN       PR      00918
CONFESOR CLAUDIO GARCIA                  ADDRESS ON FILE
CONFESOR CLEMENTE MORALES                ADDRESS ON FILE
CONFESOR CORTES VARGAS                   ADDRESS ON FILE
CONFESOR DELGADO QUIÐONES                ADDRESS ON FILE
CONFESOR DELGADO QUINONES                ADDRESS ON FILE
CONFESOR GONZALEZ ACEVEDO                ADDRESS ON FILE
CONFESOR LOPEZ DIAZ                      ADDRESS ON FILE
CONFESOR LUCENA GARCIA                   ADDRESS ON FILE
CONFESOR MEDINA CANDELARIA               ADDRESS ON FILE
CONFESOR MEDINA MORALES                  ADDRESS ON FILE
CONFESOR MORALES RODRIGUEZ               ADDRESS ON FILE
CONFESOR NUNEZ TORRES                    ADDRESS ON FILE
CONFESOR REYES PELUYERA                  ADDRESS ON FILE
CONFESOR SANCHEZ PABON                   ADDRESS ON FILE
CONFESOR SANTIAGO CANCEL                 ADDRESS ON FILE
CONFESOR SOTO FLORES                     ADDRESS ON FILE
CONFESORA BAEZ RAMOS                     ADDRESS ON FILE
CONFESORA CORTES RAIZ                    ADDRESS ON FILE
CONFESORA LOPEZ SANCHEZ                  ADDRESS ON FILE
CONFESORA MATIAS ROSARIO                 ADDRESS ON FILE
CONFESORA MATOS                          ADDRESS ON FILE
CONFESORA RIVERA LANDRAU                 ADDRESS ON FILE
CONFESORA RIVERA LANDRAU                 ADDRESS ON FILE
CONFESORA RIVERA LANDRAU                 ADDRESS ON FILE




                                                                                                             Page 1739 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1740 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                              Address1                                       Address2                                 Address3   Address4   City              State   PostalCode   Country
CONFFESORA MATOS                           ADDRESS ON FILE
CONFIA                                     P O BOX 1717                                                                                                  CAROLINA          PR      00984‐1717
CONFIDENTIAL TRUST CORP                    PO BOX 268                                                                                                    LARES             PR      00669‐0268
CONFORT PLANNERS                           PO BOX 140                                                                                                    ARECIBO           PR      00614
CONFRATERNIDAD IGLESIAS Y MISI             HC 01 BOX 5926                                                                                                GUAYNABO          PR      00971
CONG JARDINES DE COAMO TESTIGOSDE JEHOVAPO BOX 3980                                                                                                      GUAYNABO          PR      00970‐3980
CONGAR INTERNATIONAL CORP                  PO BOX 373100                                                                                                 CAYEY             PR      00737‐3100
CONGELADOS SALUD DAR INC/ ALMACENES        KIKUET                                         ZONA INDUSTRIAL CARR 185 KM 0.2                                CANOVANAS         PR      00729
CONGO BLUE STAGE LIGHTING                  HC 03 BOX 4332                                                                                                FLORIDA           PR      00650
CONGR MADR DESAMP SAN JOSE DE LA MONTANP O BOX 11164                                                                                                     SAN JUAN          PR      00922‐1164
CONGREGACION DE YAHWEH INC                 HC 61 BOX 4508                                                                                                TRUJILLO ALTO     PR      00976‐9717
CONGREGACION MITA INC                      AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                      SAN JUAN          PR      00902‐4140
CONGRESO CRUSADA                           APARTADO 9039                                  RECINTO UNIVERSITARIO DE MAYAGUEZ                              MAYAGUEZ          PR      00981‐9039
CONGRESO DE LIDERES DE PR                  AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                      SAN JUAN          PR      00902‐4140
Congreso de Uniones Industriales           Figueroa Ríos, José A.                         PO Box 344                                                     Cataño            PR      00962
CONGRESO DERECHO DE FAMILIA INC            PO BOX 4356                                                                                                   AGUADILLA         PR      00605
CONGRESO S I P D 2014 CORPORATION          CIUDAD UNIVERSITARIA                           V 15 CALLE 28                                                  TRUJILLO ALTO     PR      00976
CONGRESSIONAL STAFF DIRECTORY              P.O. BOX 62                                                                                                   MT VERNON         VA      22121‐0062
CONGRETABERNACULO DE SION CENTRO D CUID P O BOX 5391                                                                                                     CAGUAS            PR      00726
CONINTEL DE P R INC                        MAIL BOXES ETC                                 1363 AVE LUIS VIGOREAUX PMB 554                                GUAYNABO          PR      00966‐2700
CONJSUELO A ACEVEDO CASIANO                ADDRESS ON FILE
CONJUNTO DE CUERDAS DE PR                  MARINA BAHIA                                   MP 54 PLAZA 25                                                 CATANO            PR      00968
Connect Home Services, LLC                 3291 S Thompson ST                                                                                            Springdale        AR      72764
Connect Home Services, LLC                 P.O. Box 192354                                                                                               San Juan          PR      00919
CONNECT PUERTO RICO LLC                    1020 COLLEGE STREET                                                                                           BOWLING GREEN     KY      42101
CONNECT PUERTO RICO LLC                    AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                      SAN JUAN          PR      00902‐4140
CONNECT ROAD ASSIST                        PO BOX 192354                                                                                                 SAN JUAN          PR      00919
Connect Road Assist, LLC                   Attn: Ortiz Marti, President                   PO Box 192354                                                  San Juan          PR      00919
Connect Road Assist, LLC                   PO BOX 192354                                                                                                 San Juan          PR      00919‐2354
CONNECTED CONSULTING SERVICES LLC          708 S. RACINE AVENUE, UNIT #B                                                                                 CHICAGO           IL      60607
CONNECTICUT CHILDRENS MEDICAL CENTER       282 WASHINGTON ST                                                                                             HARTFORD          CT      06106
CONNECTICUT GEN LIFE INS CO                900 COTTAGE GROVE RD # C6TAX                                                                                  HARTFORD          CT      06152‐0001
Connecticut General Life Insurance         900 Cottage Grove Road                         A‐136                                                          Hartford          CT      06152‐1038
Connecticut General Life Insurance Company Attn: Barry McHale, Vice President             1601 Chestnut Street                                           Philadelphia      PA      19192
Connecticut General Life Insurance Company Attn: David Cordani, President                 1601 Chestnut Street                                           Philadelphia      PA      19192
Connecticut General Life Insurance Company Attn: Heather Wegrzyiak, Premiun Tax Contact 1601 Chestnut Street                                             Philadelphia      PA      19192
Connecticut General Life Insurance Company Attn: Jonathan Rubin, Vice President           1601 Chestnut Street                                           Philadelphia      PA      19192
Connecticut General Life Insurance Company Attn: Karen Rohan, Vice President              1601 Chestnut Street                                           Philadelphia      PA      19192
Connecticut General Life Insurance Company Attn: Shirley Boston, Consumer Complaint Contac1601 Chestnut Street                                           Philadelphia      PA      19192
Connecticut General Life Insurance Company Attn: Thomas Hixson, Circulation of Risk       1601 Chestnut Street                                           Philadelphia      PA      19192
CONNECTICUT MULTISPECIALTY GROUP           85 SEYMOUR ST                                  SUITE 1019                                                     HARTFORD          CT      06106
CONNECTICUT STATE TREASURER                AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                      SAN JUAN          PR      00902‐4140
CONNECTICUT STATE TREASURER                UNCLAIMED PROPERTY DIVISION                    55 ELM STREET 5TH FLOOR                                        HARTFORD          CT      06106
CONNECTION TRAVEL INC                      P.O. BOX 9023877                                                                                              SAN JUAN          PR      00901‐3877
CONNECTIONS TRAVEL INC                     BOX 9023877                                                                                                   SAN JUAN          PR      00902‐3877
CONNECTIONS TRAVEL, INC.                   PO BOX 9023877                                                                                                SAN JUAN          PR      00902‐3877
CONNELLY PAGAN, CARLOS                     ADDRESS ON FILE
CONNER ESCOBAR, IVETTE                     ADDRESS ON FILE
CONNIE OTERO GARCIA                        ADDRESS ON FILE
CONNIE ROSARIO PENA                        ADDRESS ON FILE
CONNOLLY MD, PHILLIP                       ADDRESS ON FILE
CONNOLLY, DERMONT                          ADDRESS ON FILE
CONNOR CEREZO, CHRISTINA                   ADDRESS ON FILE
CONNOR CEREZO, ROBERT D                    ADDRESS ON FILE
CONNOVER COLON, TANIA                      ADDRESS ON FILE
CONPROMETIDOS                              LA CUIDADELA                                   1511 AVE PONCE DE LEON STE K                                   SAN JUAN          PR      00909
CONRAD CLAUDIO, DEBBY                      ADDRESS ON FILE
CONRAD CLAUDIO, WENDY L                    ADDRESS ON FILE
CONRAD MONTALVO SERRANO                    ADDRESS ON FILE
CONRADO BASULTO                            ADDRESS ON FILE




                                                                                                                    Page 1740 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1741 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                       Creditor Matrix

Creditor Name                            Address1                                      Address2                                     Address3                 Address4        City            State   PostalCode   Country
CONRADO HERNANDEZ ORTIZ                  ADDRESS ON FILE
CONRADO MARRERO MARTINEZ                 ADDRESS ON FILE
CONRADO ORTIZ ARROYO                     ADDRESS ON FILE
CONRADO R RAMIREZ OLIVER/ ECO ENERGY AGE ADDRESS ON FILE
CONS MEDICO GINECOLOGIA Y OBSTETRICIA    PO BOX 10000                                  PMB 445                                                                               CANOVANAS       PR      00729‐0011
CONSALIDATED RADIOLOGY MANAGEMENT INC 201 CALLE GAUTIER BENITEZ                        STE 4                                                                                 CAGUAS          PR      00725
CONSCIOUS LEADERS I & O INC              PMB 357                                       2135 CARR 2 DRIVE IN PLAZA SUITE 15                                                   BAYAMON         PR      00959
CONSE MENA, GREGORIO                     ADDRESS ON FILE
CONSECIONARIOIDH LLC                     PO BOX 2569                                                                                                                         RIO GRANDE      PR      00745
CONSECO INSURANCE CO.                    430 CALLE ISMAEL RIVERA                                                                                                             SAN JUAN        PR      00915
CONSECO INSURANCE CO.                    CALLE ELEONOR ROOSEVELT                       232 SUITE 108                                                                         SAN JUAN        PR      00918
CONSECO INSURANCE CO.                    PO BOX 113                                                                                                                          SAN LORENZO     PR      00754
CONSECO INSURANCE CO.                    PO BOX 223355                                                                                                                       PITTSBURGH      PA      15251‐2355
CONSECO INSURANCE CO.                    RR 10 BOX 5235                                                                                                                      SAN JUAN        PR      00926
CONSECO INSURANCE COMPANY                11825 NORTH PENSILVANIA ST                                                                                                          CARMEL          IN      46032
CONSECO INSURANCE COMPANY                PO BOX 113                                                                                                                          SAN LORENZO     PR      00754
CONSEJO ARTISTICO DE PUERTO RICO INC     P O BOX 9020498                                                                                                                     SAN JUAN        PR      00902‐0498
CONSEJO COMUNIDAD DE VILLAS DEL REY INC 2DA SECCION VILLAS DEL REY                     EDIF 8 APT 63                                                                         CAGUAS          PR      00725
CONSEJO DE EDUCACION DE PR               AREA DEL TESORO                               CONTADURIA GENERAL                                                                    SAN JUAN        PR      00902
CONSEJO DE EDUCACION DE PR               PO BOX 19900                                                                                                                        SAN JUAN        PR      00910‐1900
CONSEJO DE EDUCACION DE PUERTO RICO      PO BOX 19900                                                                                                                        SAN JUAN        PR      00910‐1900
CONSEJO DE EDUCACION SUPERIOR DE P R     AREA DEL TESORO                               CONTADURIA GENERAL                                                                    SAN JUAN        PR      00902
CONSEJO DE EDUCACION SUPERIOR DE P R     PO BOX 19900                                                                                                                        SAN JUAN        PR      00910‐1900
CONSEJO DE PADRES / BANDAS YAUCO         P O BOX 464                                                                                                                         YAUCO           PR      00698
CONSEJO DE PADRES / BANDAS YAUCO         URB. ROOSEVELT #36                                                                                                                  YAUCO           PR      00698
CONSEJO DE RESIDENTES DE MONTE ISLENO IN 200 CALLE SAN PEDRO                           SUITE 187                                                                             MAYAGUEZ        PR      0068257487
CONSEJO DE RESIDENTES SECTOR EL MEDIO    1519 EDIF 80                                                                                                                        SAN JUAN        PR      00926
CONSEJO DE SALUD DE PUERTO RICO          PO BOX 220                                                                                                                          MERCEDITA       PR      00715
CONSEJO DE SALUD DE PUERTO RICO          PO BOX 220 MERCEDITA                                                                                                                PONCE           PR      00715‐0220
CONSEJO DE TITULARES                     LIC. PEDRO J. SAADE LLORENS Y LIC. OMAR SAAD EDIFICIO ESQUIRE                              OFICINA 402              2 CALLE VELA.   SAN JUAN        PR      00918‐3622
CONSEJO DE TITULARES CARIMED PLAZA       CALLE SANTA CRUZ                              SUITE 101                                                                             BAYAMON         PR      00961
CONSEJO DE TITULARES COND REINA CASTILLA COND REINA DE CASTILLA                                                                                                              SAN JUAN        PR      00901
CONSEJO DE TITULARES CONDOMINIO BAHIA A COND BAHIA A                                   1048 AVE LAS PALMAS STE ADM                                                           SAN JUAN        PR      00907
CONSEJO DE TITULARES DEL CONDOMINIO      FOUNTAINEBLEU VILLAGE                         17 CALLE SAN JOSE OFC                                                                 GUAYNABO        PR      00969
CONSEJO DEPORTIVO RECREATIVO CIVICO Y    CULTURAL URB LOS CAOBOS INC                   URB LOS CAOBOS                               2457 CALLE PALMA                         PONCE           PR      00716
CONSEJO DES SOCIOECONOMICO COM MILAGRORR 1 BOX 2493                                                                                                                          CIDRA           PR      00739
CONSEJO IBERO AMERICANO DEPORTE          CALLE MARTIN FIERRO S/N                                                                                                             MADRID                  28040        SPAIN
CONSEJO INTEGRAL COMUNITARIO BDA MORALEP O BOX 6064                                                                                                                          CAGUAS          PR      00726
CONSEJO PARA GERENCIA RECURSOS DEL ELA PMB 393                                         PO BOX 70344                                                                          SAN JUAN        PR      00936‐8344
CONSEJO PARA GERENCIA RECURSOS DEL ELA PMB 393                                                                                                                               SAN JUAN        PR      00936‐8344
CONSEJO PARA LA GERENCIA DE LOS R.M.     PMB 8393 PO BOX 70344                                                                                                               SAN JUAN        PR      00936‐8344
CONSEJO PARA LA GERENCIA DE LOS RECURSOS PMB 393 PO BOX 70344                                                                                                                SAN JUAN        PR      00936‐8344
CONSEJO RECREATIVO DE VILLA HUMACAO INC URB VILLA HUMACAO                              H33 CALLE 6                                                                           HUMACAO         PR      00971
CONSEJO RECREO DEPORTIVO Y EDUCATIVO PR URB VILLA HUMACAO                              CALLE 6 H33                                                                           HUMACAO         PR      00791
CONSEJO REFORESTACION URB COMUNIDADES PO BOX 195672                                                                                                                          SAN JUAN        PR      00919
CONSEJO RENAL DE PUERTO RICO             P.O.BOX 10542                                                                                                                       SAN JUAN        PR      00922‐0000
CONSEJO RENAL DE PUERTO RICO INC         117 ELEAVOR ROOSELVELT OFICINA 100 A 1er PISO                                                                                       SAN JUAN        PR      00918
CONSEJO RESIDENTE COM ESPECIAL ESPINO    RR 3 BOX 11834                                                                                                                      ANASCO          PR      00610
CONSEJO TITULARES COND MONTE SOL V ELA LCDO. DANIEL GARABITO MEDINA                    PO BOX 13741                                                                          SAN JUAN        PR      00908‐3741
CONSEJO TITULARES WESTERN LAKE VILLAGE   AVE ALGARROBO                                 177 SUITE ADM                                                                         MAYAGUEZ        PR      00682
CONSEJO VEC PRO DES PENINSULA CANTERA    2459 CALLE LOS PADRES                                                                                                               SAN JUAN        PR      00916
CONSEJO VEC PRO DES PENINSULA CANTERA    AREA DEL TESORO                               CONTADURIA GENERAL                                                                    SAN JUAN        PR      00902
CONSEJO VEC PRO DES PENINSULA CANTERA    CALLE SANTA ELENA #2423                       CANTERA                                                                               SAN JUAN        PR      00915
CONSEJO VEC PRO DES PENINSULA CANTERA    PO BOX 14384                                  BARRIO OBRERO STATION                                                                 SAN JUAN        PR      00916
CONSEJO VEC PRO DES PENINSULA CANTERA    PO BOX 14384                                                                                                                        SAN JUAN        PR      00916‐4384
CONSEJO VIEQUES PRO NINOS IMPEDIDOS INC PO BOX 368                                                                                                                           VIEQUES         PR      00765
CONSER MD, HANS                          ADDRESS ON FILE
Consero, A.I.                            802 Ave Fernández Juncos Esquina La Paz, Miramar                                                                                    San Juan        PR      00907
Consero, A.I.                            Attn: Robert Bullard, President               802 Fernandez Juncos Ave.                    Corner la Paz, Miramar                   San Juan        PR      00907
Consero, A.I.                            Attn: Walter Haner, Actuary                   802 Fernandez Juncos Ave.                    Corner la Paz, Miramar                   San Juan        PR      00907




                                                                                                                     Page 1741 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                             Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1742 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                           Creditor Matrix

Creditor Name                             Address1                                        Address2                                      Address3                 Address4   City               State   PostalCode    Country
Consero, A.I.                             c/o RSM ROC & Company, External Auditor         802 Fernandez Juncos Ave.                     Corner la Paz, Miramar              San Juan           PR      00907
Consero, A.I.                             c/o Servicios de Apoyo Miramar, Principal Repres802 Fernandez Juncos Ave.                     Corner la Paz, Miramar              San Juan           PR      00907
CONSERVATORIO DE MUSICA                   951 AVE PONCE DE LEON                                                                                                             SAN JUAN           PR      000907‐3373
CONSERVATORIO DE MUSICA DE PUERTO RICO 350 CALLE RAFAEL LAMAR                                                                                                               SAN JUAN           PR      00918
CONSERVATORIO DE MUSICA DE PUERTO RICO 951 AVE. PONCE DE LEON                                                                                                               SAN JUAN           PR      000907‐3373
CONSERVATORIO DE MUSICA DE PUERTO RICO AREA DEL TESORO                                    CONTADURIA GENERAL                                                                SAN JUAN           PR      00902
CONSERVATORIO DE MUSICA DE PUERTO RICO AREA DEL TESORO                                    CONTUDARIA GENERAL                                                                SAN JUAN           PR      00902
CONSERVATORIO DE MUSICA DE PUERTO RICO MIRAMAR                                            951 AVE PONCE DE LEON                                                             SAN JUAN           PR      000907‐3373
CONSERVATORIO DE MUSICA DE PUERTO RICO Y BANCO GUBERNAMENTAL DE FOMENTO DE PR PO BOX 42001                                                                                  SAN JUAN           PR      00940‐2001
CONSERVATORIO DE MUSICA DE PUERTO RICO Y BANCO GUBERNAMENTAL DE FOMENTO PARA OBLIGACIONES DE RENTA                                      PO BOX 42001                        SAN JUAN           PR      00940‐2001
CONSILIUM GRAPHIC INC                     PO BOX 1157                                                                                                                       CIALES             PR      00638‐1157
CONSO TEL OF PR LLC                       PO BOX 195600                                                                                                                     SAN JUAN           PR      00919‐5600
CONSO TEL OF PUERTO RICO, LLC             48 CITY VIEW PLAZA SUITE 803                                                                                                      GUAYNABO           PR      00968
CONSO TEL OF PUERTO RICO, LLC             PO BOX 195600                                                                                                                     SAN JUAN           PR      00919‐5600
CONSOCRCIO SURESTE                        PO BOX 1036                                                                                                                       SAN LORENZO        PR      00754
CONSOL GROUP                              P O BOX 894                                                                                                                       PUNTA SANTIAGO     PR      00741‐0894
CONSOL GROUP LLC                          PO BOX 894                                                                                                                        HUMACAO            PR      00741
CONSOL GROUP LLC                          PO BOX 894                                                                                                                        PUNTA SANTIAGO     PR      00741
CONSOLACION CONSTRUCTION CORP             1785 CALLE FERRER Y FERRER                      COND MILLENIA PARK I APT 305                                                      SAN JUAN           PR      00921
CONSOLACION O ESTRELLA PT                 787 LYDIG AVE                                                                                                                     BRONX              NY      10462
CONSOLACION RODRIGUEZ RIVERA              HC‐04, BOX 21996                                                                                                                  LAJAS              PR      00667
CONSOLIDATED FACILITY SERVICES            PMB 118                                         PO BOX 5968                                                                       AGUADILLA          PR      00605
CONSOLIDATED FELECOM OF PUERTO RICO       48 CARR 165 STE 803                                                                                                               GUAYNABO           PR      00968‐8065
CONSOLIDATED PLASTICS, CO                 8181 DARROW RD                                                                                                                    TWINSBURG          OH      44087
CONSOLIDATED PROPERTY MANAGEMENT INC 16 URB MONTEMAR                                                                                                                        AGUADA             PR      00602
CONSOLIDATED RADIOLOGY COMPLEX            CONSOLIDATED MEDICAL PLAZA                      202 AVE GAUTIER BENITEZ 004                                                       CAGUAS             PR      00725
CONSOLIDATED TELECOM INC                  VILLA ESPANA                                    K14 CALLE ZARAGOZA                                                                BAYAMON            PR      00961‐7308
CONSOLIDATED TELECOM OF PUERTO RICO, LLC 48 Munoz Rivera Ave Aquablue At The Golden Mile Fl 4                                                                               SAN JUAN           PR      00918
CONSOLIDATED TELECOM OF PUERTO RICO, LLC PO BOX 195600                                                                                                                      SAN JUAN           PR      00919‐5600
CONSOLIDATED TRAILERS INC                 1851 EDISON HIGHWAY                             BALTIMORE                                                                         BALTIMORE          MD      21213
CONSOLIDATED WASTE SERVICES CORP          P O BOX 1322                                                                                                                      GURABO             PR      00778
CONSOLIDATED WASTE SERVICES CORP          PO BOX 13487                                                                                                                      SAN JUAN           PR      00908
CONSOLIDATED WASTE SERVICES CORP          PO BOX 366518                                                                                                                     SAN JUAN           PR      00936‐0000
Consolidated Waste Services, Corp.        BO. MAMEY, CARRETERA 189 KM 9.0                                                                                                   Gurabo             PR      00778
CONSORCIO DE CENTROS CRISTIANOS DE P R    P O BOX 56083                                                                                                                     BAYAMON            PR      00960
CONSORCIO DE INGENIEROS CIVILES Y ESTRUCTUURB MONTE TRUJILLO                              810 PARQUE TERRALINDA                                                             TRUJILLO ALTO      PR      00976‐4069
CONSORCIO DE LA MONTANA                   CALLE JOSE DE DIEGO FINAL                                                                                                         CIDRA              PR      00739
CONSORCIO DE LA MONTANA                   PO BOX 2004                                                                                                                       CIDRA              PR      00739
Consorcio de Recursos Universitarios      APARTADO 9000 DEPARTAMENTO DE SERVICIOS MEDICOS                                                                                   MAYAGUEZ           PR      00681‐9000
CONSORCIO DEL NOROESTE                    PO BOX 992                                                                                                                        AGUADILLA          PR      00605
CONSORCIO DEL SURESTE                     ALOL ALSURESTE                                  APT 478                                                                           HUMACAO            PR      00791
CONSORCIO DEL SUROESTE                    P O BOX 246                                                                                                                       SAN GERMAN         PR      00683
CONSORCIO MAYAGUEZ LAS MARIAS             CALLE DR RAMOS E BETANCES 5 SUR                                                                                                   MAYAGUEZ           PR      00680
CONSORCIO REGION SUR DE PR                COND. BUENA VISTA                               OFICINA 101                                                                       PONCE              PR      00732
CONSPRO CORP                              PO BOX 361628                                                                                                                     SAN JUAN           PR      00936‐1628
CONSTANCE GUMBS LINE GUMBS GUY GUMBS ADDRESS ON FILE
CONSTANCE J CHAIM MUNIZ                   ADDRESS ON FILE
CONSTANCE KERCADO, YANIRA                 ADDRESS ON FILE
CONSTANCIA CORTES LOPEZ                   ADDRESS ON FILE
CONSTANCIA PEREZ CORDERO                  ADDRESS ON FILE
CONSTANT CONTAC INC                       1601 TRAPELO ROAD SUITE 329                                                                                                       WALTHAM            MA      02451
CONSTANTINO BONILLA, FRA                  ADDRESS ON FILE
CONSTANTINO DOMINGUEZ, LUIS               ADDRESS ON FILE
CONSTANTINO DOMINGUEZ, YOMARYS            ADDRESS ON FILE
CONSTANTINO GARCIA, EFRAIN                ADDRESS ON FILE
CONSTANTINO GARCIA, MERCEDES              ADDRESS ON FILE
CONSTANTINO PETRU GERENA                  ADDRESS ON FILE
CONSTANTINO SANCHEZ, ANGEL M.             ADDRESS ON FILE
CONSTANTINO, ARNALDA                      ADDRESS ON FILE
CONSTANTINO, CARMEN I                     ADDRESS ON FILE




                                                                                                                         Page 1742 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                                  Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 1743 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                         Creditor Matrix

Creditor Name                           Address1                                       Address2                                       Address3              Address4              City              State   PostalCode   Country
CONSTANTINO, NEREIDA                    ADDRESS ON FILE
CONSTANZA SANTANA, DIGNA                ADDRESS ON FILE
CONSTELLATION HEALTH                    PO BOX 364547                                                                                                                             SAN JUAN          PR      00936‐4547
Constellation Health, LLC               14 Westport Ave.                                                                                                                          Norwalk           CT      06851
Constellation Health, LLC               Attn: Erika Lynn, Consumer Complaint Contact P. O. Box 364547                                                                             San Juan          PR      00936
Constellation Health, LLC               Attn: Erika Lynn, Regulatory Compliance GovernmP. O. Box 364547                                                                           San Juan          PR      00936
Constellation Health, LLC               Attn: Ivan Colon Perez, President              P. O. Box 364547                                                                           San Juan          PR      00936
Constellation Health, LLC               Attn: Marisol Piquer, Premiun Tax Contact      P. O. Box 364547                                                                           San Juan          PR      00936
Constellation Health, LLC               Attn: Nilma Ramirez, Circulation of Risk       P. O. Box 364547                                                                           San Juan          PR      00936
CONSTRUCCION LOPEZ SOLER                PO BOX 1331                                                                                                                               QUEBRADILLAS      PR      00678
CONSTRUCCIONES APONTE INC               PO BOX 361989                                                                                                                             SAN JUAN          PR      00936
CONSTRUCCIONES COMAZO INC               FINANZAS AL DIA CALLE DELBREY #185                                                                                                        SAN JUAN          PR      00911
CONSTRUCCIONES DEL VIVI                 PO BOX 472                                                                                                                                UTUADO            PR      00641
CONSTRUCCIONES JAICOA INC               PO BOX 154                                                                                                                                AGUADILLA         PR      00690
CONSTRUCCIONES JFR CRL                  395 PASCUA                                                                                                                                YAUCO             PR      00698
CONSTRUCCIONES JOSE CARRO , S . E.      P. O. BOX 800508 COTO LAUREL                                                                                                              PONCE             PR      00780‐0508
CONSTRUCCIONES LOPEZ & LOPEZ            PO BOX 152                                                                                                                                LARES             PR      00669‐0000
CONSTRUCCIONES LOPEZ Y LOPEZ INC        PO BOX 152                                                                                                                                LARES             PR      00669
CONSTRUCCIONES ROALCA S E               AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                                                  SAN JUAN          PR      00902‐4140
CONSTRUCCIONES ROALCA S E               SEC. PRIM. INSTANCIA SALA SUPERIOR SJ          PO BOX 191879                                                                              SAN JUAN          PR      00919‐1879
CONSTRUCCIONES ROALCA S E               URB STGO IGLESIAS                              AVE FRANCISCO PAZ GRANELA 1762                                                             SAN JUAN          PR      00921
CONSTRUCCIONES ROALCA/SOCIEDAD ESPECIAL PAZ GANELA 1762 UR SANTIAGO IGLESIAS                                                                                                      SAN JUAN          PR      00921
CONSTRUCCIONES VALENTIN                 RR 01 BUZON 2022                                                                                                                          ANASCO            PR      00610
CONSTRUCCIONES VIRELLA INC              PMB 134 P O BOX 30500                                                                                                                     MANATI            PR      00674
CONSTRUCCIONES Y REMODELACIONES EFRAIN &HC 03 BOX 5819                                                                                                                            HUMACAO           PR      00791
CONSTRUCIONES NATIVAS INC               MERCANTIL PLAZA BUILDING                       2 PONCE DE LEON AVE 9TH FLOOR                                                              SAN JUAN          PR      00918‐1693
                                                                                                                                                            239 ARTERIAL HOSTOS
CONSTRUCTION CONTROL                     LIC. ARIADNE C. BERRIOS FEBLES Y LIC. EDILBERTOCAPITAL CENTER BUILDING                       TORRE SUR SUITE 900   AVE.                  SAN JUAN          PR      00918‐1400
CONSTRUCTION CONTROL CONSULTANTS         PMB 12 P O BOX 2500                                                                                                                      TRUJILLO ALTO     PR      00977‐2500
CONSTRUCTION CONTROL CORP                PO BOX 2500 PMB 12                                                                                                                       TRUJILLO ALTO     PR      00977‐2500
CONSTRUCTION DESIGNERS                   P.O. BOX 52166                                                                                                                           TOA BAJA          PR      00949
CONSTRUCTION HISTORY SOCIETY OF AMERICA 3817 N HAMLIN AVE                                                                                                                         CHICAGO           IL      60618
CONSTRUCTION HOME RENTALS INC            PLAZA CAROLINA STATION                         PO BOX 9348                                                                               CAROLINA          PR      00988
CONSTRUCTION MANAG & PLANNING            P.O. BOX 29348                                 65TH INF.                                                                                 RIO PIEDRAS       PR      00929‐0348
CONSTRUCTION PROJECTS ADVISORS CORP      THE EXECUTIVE SUITE 1001 B                     623 PONCE DE LEON AVE                                                                     SAN JUAN          PR      00917
CONSTRUCTION ZONE INC                    P O BOX 9687                                                                                                                             SAN JUAN          PR      00908‐9687
CONSTRUCTORA ALEM                        BOX 9                                                                                                                                    LAS MARIAS        PR      00670
CONSTRUCTORA ARGO INC                    PO BOX 3497                                                                                                                              CAROLINA          PR      00984
CONSTRUCTORA AZARIA, INC                 PO BOX 188                                                                                                                               NARANJITO         PR      00719
CONSTRUCTORA BJNP INC                    HC 1 BOX 4912                                                                                                                            NAGUABO           PR      00718‐9748
CONSTRUCTORA C E T INC                   PO BOX 55014                                                                                                                             BAYAMON           PR      00960
CONSTRUCTORA CDT INC / BCO SANTANDER P R CENTRO DEL SUR MALL                            1485 MIGUEL POU BLVD STE 227                                                              PONCE             PR      00717‐2719
CONSTRUCTORA DE HATO REY INC             PO BOX 364226                                                                                                                            SAN JUAN          PR      00936 4226
CONSTRUCTORA DEL PLATA                   CORREO GENERAL BO LA PLATA                                                                                                               LA PLATA          PR      00786
CONSTRUCTORA DEL REY INC                 P O BOX 190525                                                                                                                           SAN JUAN          PR      00919‐0525
CONSTRUCTORA DEL VIVI INC                HC 02 BOX 6081                                                                                                                           UTUADO            PR      00641
CONSTRUCTORA ESTELAR                     LIC. MARIO R. ORONOZ RODRIGUEZ                 PO BOX 195473                                                                             SAN JUAN          PR      00919‐5473
CONSTRUCTORA FL & H                      PO BOX 366482                                                                                                                            SAN JUAN          PR      00936
CONSTRUCTORA LA MONTANA                  HC 02 BOX 6502                                                                                                                           LARES             PR      00669
CONSTRUCTORA LOPEZ Y RIVERA              RR 4 BOX 27262                                                                                                                           TOA ALTA          PR      00953
CONSTRUCTORA LOS MAGNIFICOS INC          CALLE 7 CASA B‐24                              PUERTO REAL                                                                               CABO ROJO         PR      00623
CONSTRUCTORA MANAN                       PO BOX 1313                                                                                                                              GURABO            PR      00778
CONSTRUCTORA MINILLAS                    HC 67 BOX 13610                                                                                                                          BAYAMON           PR      00956
CONSTRUCTORA NABORIA, INC.               P O BOX 191394                                                                                                                                             PR      00927
CONSTRUCTORA NIEVES INC                  HC 71 BOX 2121                                                                                                                           NARANJITO         PR      00719
CONSTRUCTORA R.T.G.                      P.O. BOX 982                                                                                                                             CAMUY             PR      00936
CONSTRUCTORA RIVAS INC                   MERCANTIL PLAZA BUILDING                       2 PONCE DE LEON 9TH FLOOR                                                                 SAN JUAN          PR      00918‐1693
CONSTRUCTORA ROALCA, S.E.                PAZ GRANELA 1762 URB., SANTIAGO IGLESIA                                                                                                  SAN JUAN          PR      00921‐0000
CONSTRUCTORA RODRIGUEZ SEVILLA           URB OASIS GARDENS                              L 2 CALLE BOLIVIA                                                                         GUAYNABO          PR      00969
CONSTRUCTORA RURAL URBANA LLC            PO BOX 190249                                                                                                                            SAN JUAN          PR      00919‐0249




                                                                                                                       Page 1743 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1744 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                                  Address2                                 Address3   Address4   City            State   PostalCode   Country
CONSTRUCTORA SK                          P O BOX 161                                                                                              ARECIBO         PR      00613
CONSTRUCTORA TAVAREZ                     P O BOX 553                                                                                              ISABELA         PR      00662
CONSTRUCTORA TRESGALLO INC               PMB 192 1353 RD 19                                                                                       GUAYNABO        PR      00966‐2700
CONSTRUCTORA Y EBANISTERIA OROCOVIX      LIC. AURELIO GRACIA MORALES               LIC. AURELIO GRACIA MORALES              HC‐72      BOX 3694   NARANJITO       PR      00719
CONSTRUCTORA Y EBANISTERIA OROCOVIX, COR PO BOX 959                                                                                               OROCOVIS        PR      00720‐0959
CONSTRUCTORA Y EBANISTERIA OROCOVOX CORLIC. AURELIO GRACIA MORALES ‐ DEMANDANTE LIC. AURELIO GRACIA MORALES ‐ HC 72 BOX 3694                      NARANJITO       PR      00719
CONSTRUCTORA Y EBANISTERIA OROCOVOX CORLIC. EFRAIN TORRES RIVERA H15‐ CO DEMANDADPO BOX 1238                                                      OROCOVIS        PR      00720
CONSTRUCTORA Y EBANISTERIA OROCOVOX CORLIC. LUIS M. PAVIA VIDAL ‐ CO DEMANDADO TRIPLIC. LUIS M. PAVIA VIDAL ‐ PO BOX 363325                       SAN JUAN        PR      00936‐3325
CONSTRUCTORES DEL ESTE , S.E.            P. O. BOX 1232                                                                                           LAS PIEDRAS     PR      00771‐0000
CONSTRUCTORES GILMAR                     BO HATO NUEVO CARR 173 KM 5.1                                                                            GUAYNABO        PR      00970‐3152
CONSTRUCTORES GILMAR INC                 PO BOX 3152                                                                                              GUAYNABO        PR      00970
CONSTRUYENDO NUEVOS HORIZONTES CAMBIJABDA SANTA BARBARA                            SECTOR LA CAMBIJA # 17                                         BAYAMON         PR      00961
CONSUEGRA BARQUIN, LILLIAM               ADDRESS ON FILE
CONSUEGRA CORIANO, CYNTHIA               ADDRESS ON FILE
CONSUEGRA CORIANO, MELISSA               ADDRESS ON FILE
CONSUEGRA ORTAL, DIOSDADO                ADDRESS ON FILE
CONSUELO ARROYO RIVERA                   ADDRESS ON FILE
CONSUELO CENTENO JUARBE                  ADDRESS ON FILE
CONSUELO COLLAZO LOPEZ                   ADDRESS ON FILE
CONSUELO CRESPO VALENTIN                 ADDRESS ON FILE
CONSUELO CRUZ MARRERO                    ADDRESS ON FILE
CONSUELO FIGUERAS                        ADDRESS ON FILE
CONSUELO FIGUEROA                        ADDRESS ON FILE
CONSUELO H CARDONA                       ADDRESS ON FILE
CONSUELO J RUIZ RODRIGUEZ                ADDRESS ON FILE
CONSUELO LOPEZ MENDEZ                    ADDRESS ON FILE
CONSUELO OCASIO SERRANO                  ADDRESS ON FILE
CONSUELO ORTIZ CONCEPCION                ADDRESS ON FILE
CONSUELO ORTIZ RIVERA                    ADDRESS ON FILE
CONSUELO PENA PAULINO                    ADDRESS ON FILE
CONSUELO PEREZ TORRES                    ADDRESS ON FILE
CONSUELO PEREZ VALDIVIESO MONSANTO       ADDRESS ON FILE
CONSUELO PONCE VELEZ                     ADDRESS ON FILE
CONSUELO QUEZADA VILORIA                 ADDRESS ON FILE
CONSUELO R MUNIZ GADEA                   ADDRESS ON FILE
CONSUELO REVUELTA INSURANCE BROKER INC MINILLAS STATION                            PO BOX 40168                                                   SAN JUAN        PR      00940‐0168
CONSUELO SANCHEZ                         ADDRESS ON FILE
CONSUELO SANTIAGO CENTENO                ADDRESS ON FILE
CONSUELO SERRANO RUIZ                    ADDRESS ON FILE
CONSUELO SOLDEVILA PICO                  ADDRESS ON FILE
CONSUELO TIRADO RIVERA                   ADDRESS ON FILE
CONSUELO TIRADO RODRIGUEZ                ADDRESS ON FILE
CONSUELO TRABAL HERNANDEZ                ADDRESS ON FILE
CONSUELO VERA NEGRON                     ADDRESS ON FILE
CONSUELO VERA NEGRON                     ADDRESS ON FILE
CONSUELO VERA NEGRON                     ADDRESS ON FILE
CONSUELO VERA NEGRON                     ADDRESS ON FILE
CONSUELO VILLAFANE                       ADDRESS ON FILE
CONSULTA LEGISLATIVA                     P O BOX 5095                                                                                             SAN JUAN        PR      00906
CONSULTA LEGISLATIVA INC                 PO BOX 5095                                                                                              SAN JUAN        PR      00906
CONSULTA LEGISLATIVA INC                 PO BOX 9020248                                                                                           SAN JUAN        PR      00902‐0248
CONSULTA LEGISLATIVA INC                 PO BOX 9066555                                                                                           SAN JUAN        PR      00906‐6555
CONSULTANTS PARTNERSHIP ALLIANCE FOR EXC URB SAN ANTONIO                           409 CALLE VILLA                                                PONCE           PR      00728 4577
CONSULTANTS & RESOURCES INTERNATIONAL INCONDADO                                    1452 AVE ASHFORD STE 409‐A                                     SAN JUAN        PR      00907
CONSULTECH GROUP, CORP                   PO BOX 349                                                                                               PUERTO REAL     PR      00740‐0349
CONSULTING & GENERAL MANAGEMENT, LLC CIUDAD JARDIN III                             102 REINA DE LAS FLORES                                        TOA ALTA        PR      00953
CONSULTING CPA GROUP                     PO BOX 4846                                                                                              CAROLINA        PR      00984‐4846
CONSULTING EMPLOYMENT SOLUTIONS INC      AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                      SAN JUAN        PR      00902‐4140
CONSULTING EMPLOYMENT SOLUTIONS INC      P O BOX 70250 SUITE 342                                                                                  SAN JUAN        PR      00936‐8250
CONSULTING EMPLYEE SOLUTIONS INC         PO BOX 70250                                                                                             SAN JUAN        PR      00936‐8250




                                                                                                              Page 1744 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1745 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                            Address1                                     Address2                                   Address3   Address4   City              State   PostalCode   Country
CONSULTING RESOURCES GROUP INC           PO BOX 192615                                                                                                 SAN JUAN          PR      00919‐2615
CONSULTING RESOURCES GROUP INC
CONSULTIVA INTERNACIONAL INC             273 PONCE DE LEON AVENUE SCOTIACKBANK PALZA                                                                   HATO REY          PR      00917
CONSULTORES DE JESUS INC                 P O BOX 1469                                                                                                  DORADO            PR      00646
CONSULTORES EDUC Y EVALUATIVOS CORP      DORADO DEL MAR, K 17 CALLE COSTA BRAVA                                                                        DORADO            PR      00646
CONSULTORES EDUCATIVOS                   SENORIAL MAIL STATION AVE WINSTON CHURCHBOX 842                                                               RIO PIEDRAS       PR      00926
CONSULTORES EDUCATIVOS AMBIENTALES CSP PO BOX 8747                                                                                                     HUMACAO           PR      00792‐8747
CONSULTORES EDUCATIVOS DEL ESTE INC      PO BOX 409                                                                                                    LUQUILLO          PR      00773
CONSULTORES EDUCATIVOS TECNOLOGICOS INC PMB 132                                       35 CALLE JUAN C BORBON STE 67                                    GUAYNABO          PR      00969‐5375
CONSULTORES EDUCATIVOS Y PSICOLOGICOS    BANCO POPULAR APARTADO 362708                SUCURSAL PLAZA CAROLINA 227                                      SAN JUAN          PR      00936
CONSULTORES EDUCATIVOS Y PSICOLOGICOS    COND LAS TORRES SUR PISO 3 APT D                                                                              BAYAMON           PR      00960
CONSULTORES EDUCATIVOS Y PSICOLOGICOS    P O BOX 191029                                                                                                SAN JUAN          PR      00919‐1029
CONSULTORES LEGALES ASOC C S P           61 AVE DE DIEGO SUITE 2 A                                                                                     SAN JUAN          PR      00911
CONSULTORES OFTALMICOS DEL SUR           5 CALLE BALDORIOTY ESQ HOSTOS                                                                                 GUAYAMA           PR      00784
CONSULTORES ORG EDUCATIVOS Y TECNOLOGIC EDIFICIO MERCANTIL PLAZA                      SUITE 917, AVE. PONCE DE LEON                                    SAN JUAN          PR      00918
CONSULTORES ORG EDUCATIVOS Y TECNOLOGIC P O BOX 9651 PLAZA CAROLINA STA                                                                                CAROLINA          PR      00988
CONSULTORES ORG EDUCATIVOS Y TECNOLOGIC PO BOX 191688                                                                                                  SAN JUAN          PR      00919
CONSULTORES PSICOLOGICOS ASOCIADOS INC PO BOX 2188                                                                                                     SAN GERMAN        PR      00683
CONSULTORES SICOLOGICOS DE P R           403 CALLE DEL PARQUE 5TO PISO                                                                                 SAN JUAN          PR      00912
CONSULTORIA CULTURAL E HISTORICA CORP    VILLA BLANCA                                 4 CALLE TURMALINA                                                CAGUAS            PR      00725‐2063
CONSULTORIA DE NEGOCIOS INC              130 WINSTON CHURCHILL AVE                    SUITE 1 PMB 210                                                  SAN JUAN          PR      00926
CONSULTORIA S A INC                      PO BOX 9023286                                                                                                SAN JUAN          PR      00902‐3286
CONSULTORIO MEDICO DOCTORES VIERA        PO BOX 6735                                                                                                   CAGUAS            PR      00726
CONSULTORIO MEDICO DR JOSE A ACEVEDO     10 VILLA HAYDEE                                                                                               AGUADILLA         PR      00603
CONSULTORIO MEDICO DR OBED R GARCIA ACEVPO BOX 69001                                  PMB 195                                                          HATILLO           PR      00659
CONSULTORIO MEDICO DRA ANGELA NU&EZ      RES BAIROA                                   AX15 CALLE 26                                                    CAGUAS            PR      00725
CONSULTORIO MEDICO LOS PINOS             PO BOX 1256                                                                                                   MAUNABO           PR      00707
CONSULTORIO OTO‐ CCC PSC                 P O BOX 1435                                                                                                  JUANA DIAZ        PR      00795
CONSULTORIO VILLA TURABO                 PO BOX 1794                                                                                                   CAGUAS            PR      00727
CONSULTORIO VISUAL                       2 CALLE B STE 1                                                                                               BARRANQUITAS      PR      00794
CONSULTORIO VISUAL/ DRA. AURILISSE COLON 2 CALLE B SUITE 1                                                                                             BARRANQUITAS      PR      00794
CONSULTORIO VISUAL/ DRA. AURILISSE COLON 68 CALLE BARCELO B                                                                                            BARRANQUITAS      PR      00794
CONSUMER CREDIT COUNSELING SERV OF PR    EDIFICIO COBIAN PLAZA                        1607 PONCE DE LEON STE GM9                                       SAN JUAN          PR      00909
CONTACT EDUCATION LEARNING INC.          855 AVE. PONCE DE LEAON                                                                                       SAN JUAN          PR      00907
CONTACT GROUP INC                        268 AVE MUNOZ RIVERA STE 1601                                                                                 SAN JUAN          PR      00918
CONTACT SECURITY INC                     PMB 612                                      1353 RD 19                                                       GUAYNABO          PR      00966
CONTADOR ROSADO, MANUEL                  ADDRESS ON FILE
CONTAK AGRO CORP                         BOX 1190                                                                                                      HATILLO           PR      00659
CONTE GORGAS, YAZMIN                     ADDRESS ON FILE
CONTE SCHMIDT, NELLY                     ADDRESS ON FILE
CONTENT DRIVEN LLC                       COND MAR AZUL                                8 CALLE LIRIO APT 4A                                             CAROLINA          PR      00979
CONTERAS PEREZ, ANGEL                    ADDRESS ON FILE
CONTES BELTRAN, CRUZ M                   ADDRESS ON FILE
CONTES NEGRON, MIGUEL                    ADDRESS ON FILE
CONTES QUILES, MARIVETTE                 ADDRESS ON FILE
CONTES SANTIAGO, MARIBEL                 ADDRESS ON FILE
CONTES SANTIAGO, RAFAEL                  ADDRESS ON FILE
CONTIN CONCEPCION, TERESITA              ADDRESS ON FILE
CONTINENTAL AIRLINES INC                 600 JEFFERSON HQJCM                                                                                           HOUSTON           TX      77002
CONTINENTAL AMATEUR BASEBALL ASOC        PMB 415                                      SANTA JUANITA MAIL STA UU1 CALLE 39                              BAYAMON           PR      00956
CONTINENTAL BUSSINESS MACHINE CORP.      A‐201 AVE ARTERIAL HOSTOS GALERIA 1          LOCAL 9                                                          SAN JUAN          PR      00918
Continental Casualty Company             333 South Wabash Avenue                                                                                       Chicago           IL      60604
Continental Casualty Company             Attn: Lawrence Boysen, Vice President        333 S. Wabash Ave.                                               Chicago           IL      60604
Continental Casualty Company             Attn: OJ Magana, Vice President              333 S. Wabash Ave.                                               Chicago           IL      60604
Continental Casualty Company             Attn: Stephen Lilienthal, President          333 S. Wabash Ave.                                               Chicago           IL      60604
Continental Casualty Company             Attn: Thomas Corcoran, Circulation of Risk   333 S. Wabash Ave.                                               Chicago           IL      60604
Continental Casualty Company             Attn: Thomas Corcoran, Consumer Complaint Con333 S. Wabash Ave.                                               Chicago           IL      60604
CONTINENTAL EXCHANGE SOLUTIONS INC       7001 VILLAGE DRIVE                                                                                            BUANA PARK CA     CA      90621
CONTINENTAL FRAMES                       CALLE GUAYAMA #215                                                                                            HATO REY          PR      00917
CONTINENTAL GASOLINE RETAILERS INC       PO BOX 1832                                                                                                   CAROLINA          PR      00984




                                                                                                                  Page 1745 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1746 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONTINENTAL GLASS, CORP                 PO BOX 51532                                                                     TOA BAJA     PR      00950
CONTINENTAL LORD                        PO BOX 363408                                                                    SAN JUAN     PR      00936‐3408
CONTINENTAL MARBLE & STONE WORKS CORP   PO BOX 7891 PMB 223                                                              GUAYNABO     PR      00970‐7891
CONTINENTAL TILES INC                   PO BOX 70118                                                                     SAN JUAN     PR      00936‐8118
CONTINUE EDUCATION SERVICES INC         BDA LA MAYOR              16 CALLE AMADOR                                        ISABELA      PR      00662‐3274
CONTINUING EDUCATION WIZARD             374 LAMAR ST.                                                                    HATO REY     PR      00918‐0000
CONTINUING EDUCATION WIZARDS INC        374 RAFAEL LAMAR STREET                                                          SAN JUAN     PR      00918
CONTRACT DESIGN GROUP LLC               305 AVE ROOSEVELT                                                                SAN JUAN     PR      00918
CONTRACT DESIGN MANAGEMENT INC          PO BOX 144000 PMB 417                                                            SAN JUAN     PR      00919
CONTRACT DESIGNS MANAGEMENT INC         305 AVE FD ROOSEVELT                                                             SAN JUAN     PR      00919
CONTRACT DESING MANAGEMENT INC.         AVE. MUNOZ RIVERA         #81 LOCAL 1‐B                                          SAN JUAN     PR      00918
CONTRACT DISGN MANAGMENT INC.           305 AVE. ROSEVELT                                                                HATO REY     PR      00919‐0000
CONTRAPUNTO, INC.                       PO BOX 12212                                                                     SAN JUAN     PR      00914‐0212
CONTRERA CABRAL, FELICIA                ADDRESS ON FILE
CONTRERA DE JESUS, REBECA               ADDRESS ON FILE
CONTRERAS ALICEA, JOSE                  ADDRESS ON FILE
CONTRERAS AMADOR, MIRIAM                ADDRESS ON FILE
CONTRERAS AMADOR, MIRIAM T.             ADDRESS ON FILE
CONTRERAS APONTE, CARLOS                ADDRESS ON FILE
CONTRERAS APONTE, CARLOS                ADDRESS ON FILE
CONTRERAS ARROYO, HECTOR                ADDRESS ON FILE
CONTRERAS AYALA, CARMEN M               ADDRESS ON FILE
CONTRERAS BARRIOS, ANTONIO L.           ADDRESS ON FILE
CONTRERAS BARRIOS, JANNETTE             ADDRESS ON FILE
CONTRERAS BAUTISTA, DIORIS A            ADDRESS ON FILE
CONTRERAS BENITEZ, AIDA R               ADDRESS ON FILE
CONTRERAS BENITEZ, JOSE                 ADDRESS ON FILE
CONTRERAS BENITEZ, SHEILA               ADDRESS ON FILE
CONTRERAS BERRIOS, PERSIDA              ADDRESS ON FILE
Contreras Caez, Juan A                  ADDRESS ON FILE
CONTRERAS CALDERON, MIGUEL A            ADDRESS ON FILE
CONTRERAS CALDERON, SHARILY             ADDRESS ON FILE
CONTRERAS CALDERON, SHEILA L            ADDRESS ON FILE
CONTRERAS CALDERON, SHERRI              ADDRESS ON FILE
CONTRERAS CALDERON, SHIRLEY V           ADDRESS ON FILE
CONTRERAS CAPO, VANESA                  ADDRESS ON FILE
CONTRERAS CARABALLO, MARIA              ADDRESS ON FILE
CONTRERAS CARRASQUILLO, JUAN            ADDRESS ON FILE
CONTRERAS CASILLAS, LUIS                ADDRESS ON FILE
CONTRERAS CASTRO, JOSE M                ADDRESS ON FILE
CONTRERAS CHICLANA, CLARIBEL            ADDRESS ON FILE
CONTRERAS COLON, EFRAIN                 ADDRESS ON FILE
CONTRERAS COLON, JAVIER                 ADDRESS ON FILE
CONTRERAS COLON, THAIRO                 ADDRESS ON FILE
CONTRERAS CORREA, HECTOR M.             ADDRESS ON FILE
CONTRERAS CUEVAS, AIDE                  ADDRESS ON FILE
CONTRERAS DAVILA, ERICK                 ADDRESS ON FILE
CONTRERAS DAVILA, HAROLD                ADDRESS ON FILE
CONTRERAS DAVILA, HAROLD                ADDRESS ON FILE
CONTRERAS DE JESUS, ANGEL               ADDRESS ON FILE
CONTRERAS DE JESUS, SIMPRONIANA         ADDRESS ON FILE
CONTRERAS DIAZ, CARMEN S                ADDRESS ON FILE
CONTRERAS ESTEVEZ, ELIEZER              ADDRESS ON FILE
CONTRERAS FALCON, MARTA S.              ADDRESS ON FILE
CONTRERAS FALCON, SUSETTE               ADDRESS ON FILE
CONTRERAS FERNANDEZ, JASMINE            ADDRESS ON FILE
CONTRERAS FIGUEROA, EVELYN              ADDRESS ON FILE
CONTRERAS FIGUEROA, RITA                ADDRESS ON FILE
CONTRERAS FLORES, BENITA                ADDRESS ON FILE
CONTRERAS FLORES, GLADYS                ADDRESS ON FILE




                                                                                    Page 1746 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1747 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CONTRERAS FLORES, HARRISON         ADDRESS ON FILE
CONTRERAS FLORES, JESUS M.         ADDRESS ON FILE
CONTRERAS FLORES, JESUSA           ADDRESS ON FILE
CONTRERAS FLORES, MARGARITA        ADDRESS ON FILE
CONTRERAS FLORES, MARITZA          ADDRESS ON FILE
CONTRERAS FLORES, SHANEYDA         ADDRESS ON FILE
CONTRERAS FLORES, ZULMA            ADDRESS ON FILE
CONTRERAS GARCIA, GERARDO          ADDRESS ON FILE
CONTRERAS GARCIA, RUBEN            ADDRESS ON FILE
CONTRERAS GOMEZ, CHRISTOPHER       ADDRESS ON FILE
CONTRERAS GOMEZ, FERMIN M.         ADDRESS ON FILE
CONTRERAS GOMEZ, MARIANA M         ADDRESS ON FILE
CONTRERAS GONZALEZ, YESENIA        ADDRESS ON FILE
CONTRERAS GUTIERREZ, GLADYS        ADDRESS ON FILE
CONTRERAS GUTIERREZ, JOSE          ADDRESS ON FILE
CONTRERAS HERNANDEZ, ANGEL         ADDRESS ON FILE
CONTRERAS HERNANDEZ, GLADYS        ADDRESS ON FILE
CONTRERAS HERNANDEZ, GLORIA E      ADDRESS ON FILE
CONTRERAS HERNANDEZ, HERIBERTO     ADDRESS ON FILE
CONTRERAS HERNANDEZ, JOSE A        ADDRESS ON FILE
CONTRERAS HERNANDEZ, MARIA DE L    ADDRESS ON FILE
CONTRERAS HOMS, CARMEN             ADDRESS ON FILE
CONTRERAS HURTADO, GREGORIO        ADDRESS ON FILE
CONTRERAS INFANTE, JUSTO           ADDRESS ON FILE
Contreras Lasalle, Juan J.         ADDRESS ON FILE
CONTRERAS LASALLE, JUAN JOSE       ADDRESS ON FILE
CONTRERAS LASSALLE, EMMA           ADDRESS ON FILE
CONTRERAS LASSALLES, MYRNA         ADDRESS ON FILE
CONTRERAS LATORRE, ELIZABETH       ADDRESS ON FILE
CONTRERAS LAUREANO, IVETTE         ADDRESS ON FILE
CONTRERAS LEON, LUIS               ADDRESS ON FILE
CONTRERAS LOPEZ, CARLOS            ADDRESS ON FILE
CONTRERAS LOPEZ, CARMEN            ADDRESS ON FILE
CONTRERAS LOPEZ, DIOGENES          ADDRESS ON FILE
CONTRERAS LOPEZ, JUSTINA           ADDRESS ON FILE
CONTRERAS LOPEZ, ZORAIDA           ADDRESS ON FILE
CONTRERAS LOZADA, MARIA DE LOS A   ADDRESS ON FILE
CONTRERAS LOZANO, NESTOR J.        ADDRESS ON FILE
CONTRERAS LUGO, RAIZA              ADDRESS ON FILE
CONTRERAS MARTINEZ, ALBERT         ADDRESS ON FILE
CONTRERAS MARTINEZ, MARIA          ADDRESS ON FILE
CONTRERAS MASSA, JOANELIS          ADDRESS ON FILE
CONTRERAS MASSA, LOURDES           ADDRESS ON FILE
CONTRERAS MASSA, LOURDES           ADDRESS ON FILE
CONTRERAS MEDINA, LADYS D          ADDRESS ON FILE
CONTRERAS MEDINA, URIEL            ADDRESS ON FILE
CONTRERAS MELENDEZ, JORGE          ADDRESS ON FILE
CONTRERAS MELENDEZ, LUIS           ADDRESS ON FILE
CONTRERAS MENENDEZ, HECTOR         ADDRESS ON FILE
CONTRERAS MERCED, MAYRA I.         ADDRESS ON FILE
CONTRERAS MOLINA, ANA I.           ADDRESS ON FILE
CONTRERAS MORALES, DALISHA         ADDRESS ON FILE
CONTRERAS MORALES, JANICE          ADDRESS ON FILE
CONTRERAS MOYET, MELBA L           ADDRESS ON FILE
CONTRERAS MUNOS, HAYNA E           ADDRESS ON FILE
CONTRERAS MUNOZ, ADA M             ADDRESS ON FILE
CONTRERAS MUNOZ, AMARILIS          ADDRESS ON FILE
CONTRERAS MUNOZ, JESUS M.          ADDRESS ON FILE
CONTRERAS NEAL, CHRISTOPHER        ADDRESS ON FILE
CONTRERAS OCASIO, DAMARIS          ADDRESS ON FILE




                                                                               Page 1747 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1748 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                      Address2                      Address3   Address4   City         State   PostalCode   Country
CONTRERAS OCASIO, MARIA                 ADDRESS ON FILE
CONTRERAS OJEDA, NEURIS                 ADDRESS ON FILE
CONTRERAS OJEDA, NEURIS                 ADDRESS ON FILE
CONTRERAS ORTIZ, JESSICA                ADDRESS ON FILE
CONTRERAS ORTIZ, JESSICA                ADDRESS ON FILE
CONTRERAS ORTIZ, YAHELY M.              ADDRESS ON FILE
CONTRERAS PABON, PAULA                  ADDRESS ON FILE
CONTRERAS PACHECO,JOEL                  ADDRESS ON FILE
CONTRERAS PADILLA, CHRISTIAN M          ADDRESS ON FILE
CONTRERAS PADILLA, CRISTINA             ADDRESS ON FILE
CONTRERAS PAGAN, ISABEL                 ADDRESS ON FILE
CONTRERAS PEREZ, VERONICA LORRAINE      ADDRESS ON FILE
CONTRERAS PIZARRO, BEATRIZ              ADDRESS ON FILE
CONTRERAS QUINONES, JENNIFER            ADDRESS ON FILE
CONTRERAS RAMIREZ, ALEJANDRO            ADDRESS ON FILE
CONTRERAS RAMIREZ, MARIBEL              ADDRESS ON FILE
CONTRERAS RAMIREZ, MARLENE              ADDRESS ON FILE
Contreras Rios, Elsa L                  ADDRESS ON FILE
CONTRERAS RIVAS, CHRISTOPHER            ADDRESS ON FILE
CONTRERAS RIVERA, CARMELO               ADDRESS ON FILE
CONTRERAS RIVERA, CARMELO               ADDRESS ON FILE
CONTRERAS RIVERA, JESUS                 ADDRESS ON FILE
CONTRERAS RIVERA, JESUS M.              ADDRESS ON FILE
CONTRERAS RIVERA, JOSE                  ADDRESS ON FILE
CONTRERAS RIVERA, LIBRADA               ADDRESS ON FILE
CONTRERAS RIVERA, MIGUEL                ADDRESS ON FILE
CONTRERAS RIVERA, NORBERTO              ADDRESS ON FILE
CONTRERAS RODRGUEZ, ORLANMARITHZ        ADDRESS ON FILE
CONTRERAS RODRIGUEZ, GENESIS            ADDRESS ON FILE
CONTRERAS RODRIGUEZ, HECTOR             ADDRESS ON FILE
CONTRERAS RODRIGUEZ, JUDY I             ADDRESS ON FILE
CONTRERAS RODRIGUEZ, MARIA T            ADDRESS ON FILE
CONTRERAS RODRIGUEZ, MIGUEL A.          ADDRESS ON FILE
CONTRERAS RODRIGUEZ, RICARDO            ADDRESS ON FILE
CONTRERAS ROQUE, JULIO                  ADDRESS ON FILE
CONTRERAS ROSARIO,CHRISTIAN O.          ADDRESS ON FILE
CONTRERAS RUIZ, IVIS                    ADDRESS ON FILE
CONTRERAS RUIZ, NICHOLE                 ADDRESS ON FILE
CONTRERAS SANTANA, CARLOS               ADDRESS ON FILE
CONTRERAS SANTANA, JOSE L.              ADDRESS ON FILE
CONTRERAS SANTIAGO, JOSE                ADDRESS ON FILE
CONTRERAS SANTIAGO, NITZI               ADDRESS ON FILE
CONTRERAS SANTOS, MARITERE              ADDRESS ON FILE
CONTRERAS SANTOS, MARY A.               ADDRESS ON FILE
CONTRERAS SERRANO, ARIEL                ADDRESS ON FILE
CONTRERAS SILVERIO, HENRY               ADDRESS ON FILE
CONTRERAS SILVERIO, RUBEN               ADDRESS ON FILE
Contreras Velazquez, Johanna            ADDRESS ON FILE
Contreras Wys, Victor                   ADDRESS ON FILE
CONTRERAS, ISAYVETTE                    ADDRESS ON FILE
CONTROL AIR CONDITIONING SERVICES       PO BOX 193018                                                                     SAN JUAN     PR      00919‐3018
CONTROL AND INSTRUMENTS CONTRACTOR      PO BOX 192079                                                                     SAN JUAN     PR      00919‐2079
CONTROL CLEANING AND HANDYMAN SERVICE ICVILLA CAROLINA                1‐5 CALLE 29                                        CAROLINA     PR      00985
CONTROL DE PLAGAS JIMMY BO, LLC         HC 2 BOX 6046                                                                     SALINAS      PR      00751‐9609
CONTROL MANAGEMENT SOLUTION K E INC     563 CALLE MIRAMAR                                                                 SAN JUAN     PR      00907
CONTROL POWER SOLUTIONS INC             HC 45 BOX 14236                                                                   CAYEY        PR      00736
CONTRUCTORA DIROVI CORP                 71 CALLE LUIS MUNOZ RIVERA                                                        YABUCOA      PR      00767
CONTRUCTORA DIROVI CORP                 CALLE LUIS MUNOZ RIVERA #71                                                       YABUCOA      PR      00767
CONTRUCTORA MARISOL INC                 PO BOX 967                                                                        MAYAGUEZ     PR      00681‐0967
CONTU HERNANDEZ, PAOLA                  ADDRESS ON FILE




                                                                                     Page 1748 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1749 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                             Address1                                 Address2                                     Address3   Address4   City                State   PostalCode   Country
CONTY BARBOSA, DEYANIRA                   ADDRESS ON FILE
Conty Caban, Angel                        ADDRESS ON FILE
CONTY CABAN, HECTOR                       ADDRESS ON FILE
Conty Caban, Hiram                        ADDRESS ON FILE
CONTY CASTAING, GEORGE L                  ADDRESS ON FILE
CONTY CRUZ, ANA E                         ADDRESS ON FILE
CONTY GONZALEZ, RICHARD                   ADDRESS ON FILE
Conty Hernandez, Abelardo                 ADDRESS ON FILE
CONTY LOPERENA, ABELARDO                  ADDRESS ON FILE
Conty Marcial, Hector                     ADDRESS ON FILE
CONTY MARCIAL, HECTOR                     ADDRESS ON FILE
CONTY PEREZ, HECTOR                       ADDRESS ON FILE
CONTY PEREZ, LUIS                         ADDRESS ON FILE
CONTY RAMOS, MARTA                        ADDRESS ON FILE
CONTY ROMAN, MAGDA                        ADDRESS ON FILE
CONTY ROMAN, MIGUEL A.                    ADDRESS ON FILE
CONTY SOTO, LIZA M                        ADDRESS ON FILE
CONTY VAZQUEZ, MARY                       ADDRESS ON FILE
CONTY VAZQUEZ, NELSON                     ADDRESS ON FILE
CONUCO DEL MONTE CORP                     PO BOX 176                                                                                                  ANASCO              PR      00610‐0176
CONVATEC                                  PMB 303 PO BOX 70344                                                                                        SAN JUAN            PR      00936‐8344
CONVENCION IGLESIAS MENONITAS DE PR       PO BOX 2016                                                                                                 AIBONITO            PR      00705
CONVENTION CENTER PARKING INC             600 AVE MANUEL FERNANDEZ JUNCOS                                                                             SAN JUAN            PR      00907
CONWAY CONSULTING GROUP                   MERCANTIL PLAZA BUILDING                 2 PONCE DE LEON AVE 9TH FLOOR                                      SAN JUAN            PR      00918‐1693
CONWAY COSTAS, DANIELLE                   ADDRESS ON FILE
COOK MD , STEPHEN S                       ADDRESS ON FILE
COOK, EDWIN                               ADDRESS ON FILE
COOKE, JASON PAUL                         ADDRESS ON FILE
COOKS                                     277725 W DIEH ROAD                                                                                          WARRENVILLE III     IL      60555
Cool West                                 Calle Benigno Contreras #265             Bo. Dulces Labios Mayagüez                                         Mayagüez            PR      00682
COOL ZONE CORP                            200 AVE RAFAEL CORDERO STE 140 PMB 356                                                                      CAGUAS              PR      00725‐4303
COOLEY DICKINSON HOSPITAL                 30 LOCUST ST                                                                                                NORTHAMPTON         MA      01060
COOLING SYSTEM CARIBE INC                 PO BOX 8157                                                                                                 AIBONITO            PR      00705
COOLING SYSTEMS CARIBE INC                PO BOX 8157                                                                                                 AIBONITO            PR      00705
COOLING ZONE AIR CONDITIONER INC          PO BOX 801399                                                                                               PONCE               PR      00780‐1399
COOL‐TECH AIR CONDITIONING, INC.          AVE. CONQUISTADOR                        M‐1 VALLE VERDE                                                    FAJARDO             PR      00738
COONS CRUZ, DAVID A.                      ADDRESS ON FILE
COONS CRUZ, DAVID A.                      ADDRESS ON FILE
COONTY PEREZ, JORGE L                     ADDRESS ON FILE
COOP A / C AGUADILLA                      PO BOX 541                                                                                                  AGUADILLA           PR      00605
COOP A / C UNION TRABAJADORES IND. PR     PO BOX 22014                             UPR STATION                                                        SAN JUAN            PR      00931‐2014
COOP A C                                  PO BOX 11398 MINILLAS STATION                                                                               SAN JUAN            PR      00910
COOP A ROSA                               AREA DEL TESORO                          DIV DE PAGADURIA                                                   SAN JUAN            PR      00902
COOP A/C AGUAS BUENAS                     14 CALLE RAFAEL LASA                                                                                        AGUAS BUENAS        PR      00703
COOP A/C AGUAS BUENAS                     PO BOX 5                                                                                                    AGUAS BUENAS        PR      00703‐0005
COOP A/C BARRANQUITAS                     P O BOX 686                                                                                                 BARRANQUITAS        PR      00794‐0686
COOP A/C CAPARRA                          100 AVE SAN PATRICIO SUITE F 16                                                                             GUAYNABO            PR      00968‐2635
COOP A/C CRISTOBAL RODRIGUEZ HIDALGO      CARRETERA 150 KM 20.5                                                                                       COAMO               PR      00769
COOP A/C CRISTOBAL RODRIGUEZ HIDALGO      PO BOX 438                                                                                                  COAMO               PR      00769
COOP A/C DE AGUADILLA                     PO BOX 541                                                                                                  AGUADILLA           PR      00650‐0541
COOP A/C DE CABO ROJO                     AREA DEL TESORO                          DIV. DE PAGADURIA                                                  SAN JUAN            PR      00902
COOP A/C DE CAMUY                         PO BOX 540                                                                                                  CAMUY               PR      00627
COOP A/C DE CIALES                        AREA DEL TESORO                          PAGADURIA                                                          SAN JUAN            PR      00902
COOP A/C DE CIALES                        P O BOX 1438                                                                                                CIALES              PR      00638
COOP A/C DE LA CASA DEL TRABAJADOR        DIVISION DE PAGADURIA                    AREA DEL TESORO                                                    SAN JUAN            PR      00936
COOP A/C DE LA CASA DEL TRABAJADOR        PO BOX 21346                                                                                                SAN JUAN            PR      00928
COOP A/C DE LOS EMP DEPTO HACIENDA        AREA DEL TESORO                          CONTADURIA GENERAL                                                 SAN JUAN            PR      00902
COOP A/C DE LOS EMP DEPTO HACIENDA        PO BOX 9023492                                                                                              SAN JUAN            PR      00902‐4140
COOP A/C DE LOS EMPLEADOS DE LA A.E.E.    1058 AVENIDA PONCE DE LEON                                                                                  SAN JUAN            PR      00908
COOP A/C DEL PERSONAL DE BALLESTER HNOS   PO BOX 364548                                                                                               SAN JUAN            PR      00936‐4548




                                                                                                                Page 1749 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1750 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                             Address2                                   Address3               Address4   City             State   PostalCode   Country
COOP A/C DEL VALENCIANO                  AREA DEL TESORO                      DIV. DE PAGADURIA                                                            SAN JUAN         PR      00902
COOP A/C EDUCADORES PUERTORRIQUENOS      66 OESTE CALLE MCKINLEY              BOX 1139                                                                     MAYAGUEZ         PR      00681
COOP A/C ELECTRO‐COOP                    COND SAN ALBERTO 605 SUITE 307       AVE CONDADO                                                                  SAN JUAN         PR      00907
COOP A/C EMPLEADOS AEE                   AREA DEL TESORO                      DIV DE RECLAMACIONES                                                         SAN JUAN         PR      00902‐4140
COOP A/C EMPLEADOS AEE                   AREA DEL TESORO                      DIVISION DE PAGADURIA                                                        SAN JUAN         PR      00902
COOP A/C EMPLEADOS AEE                   PO BOX 9061                                                                                                       SAN JUAN         PR      00908‐9061
COOP A/C EMPLEADOS DE CENTRO MEDICOS     PO BOX 2129                                                                                                       SAN JUAN         PR      00922‐2129
COOP A/C FAMILIAR PROGRESISTA            479 AVENIDA DE DIEGO                 PUERTO NUEVO                                                                 SAN JUA          PR      00920
COOP A/C FEDERACION DE MAESTROS DE P R   P O BOX 270‐275                                                                                                   SAN JUAN         PR      00928
COOP A/C HORMIGUEROS                     P O BOX 87                                                                                                        HORMIGUEROS      PR      00660
COOP A/C LA COMERIENA                    64 CALLE GEORGETTI                                                                                                COMERIO          PR      00782
COOP A/C LA PUERTORRIQUENA               82 CALLE GEORGETTI                                                                                                SAN JUAN         PR      00925
COOP A/C LA PUERTORRIQUENA               ÁREA DEL TESORO                      DIVISIÓN DE PAGADURIA                                                        SAN JUAN         PR      00902‐4140
COOP A/C LA PUERTORRIQUENA               PO BOX 20645                                                                                                      SAN JUAN         PR      00928‐0645
COOP A/C LARES                           Calle Perez Soto 3                                                                                                Utuado           PR      00641
COOP A/C LARES                           PO BOX 362                                                                                                        LARES            PR      00669
COOP A/C LOMAS VERDES                    AREA DEL TESORO                      DIV. DE PAGADURIA                                                            SAN JUAN         PR      00902
COOP A/C LOMAS VERDES                    P O BOX 1142                                                                                                      BAYAMON          PR      00960
COOP A/C LOS HERMANOS                    P O BOX 21410                                                                                                     SAN JUAN         PR      00928‐1410
COOP A/C NAGUABENA                       PO BOX 69                                                                                                         NAGUABO          PR      00718
COOP A/C ORIENTAL                        ADDRESS ON FILE
COOP A/C QUEBRADILLA                     PO BOX 1561                                                                                                       QUEBRADILLAS     PR      00678
COOP A/C RICO DAIRI INC                  PO BOX 363207                                                                                                     SAN JUAN         PR      00936‐3207
COOP A/C SAN JOSE                        2800 AVE. JESUS T PINERO                                                                                          CAYEY            PR      00736
COOP A/C SAN RAFAEL                      AREA DEL TESORO                      DIV. DE PAGADURIA                                                            SAN JUAN         PR      00902
COOP A/C SAN RAFAEL                      PO BOX 1531                                                                                                       QUEBRADILLAS     PR      00678
COOP A/C SAULO D RODRIGUEZ               APARTADO 678                                                                                                      GURABO           PR      00778
COOP A/C VEGA ALTA                       DIV DE PAGADURIA                     AREA DEL TESORO                                                              SAN JUAN         PR      00902
COOP A/C VEGABAJENA INC                  PO BOX 4622                                                                                                       VEGA BAJA        PR      00694
COOP A/C YABUCOENA                       PO BOX 1                                                                                                          YABUCOA          PR      00767
COOP ABRAHAM ROSA                        HC 01 BOX 6032                                                                                                    TOA BAJA         PR      00949
                                                                                                                         EDIF JULIO HERNANDEZ
COOP AC COMUNAL OFICIALES CUSTODIA       URB. REPARTO METROPOLITANO           1100 CALLE 54 SE                           SERRANO                           SAN JUAN         PR      00921‐2371
COOP AC DEL TRIBUNAL GENERAL DE JUSTICIA PO BOX 190887                                                                                                     SAN JUAN         PR      00918‐0887
COOP ADJUNTAS                            APARTADO 5                                                                                                        ADJUNTAS         PR      00601
COOP AEE                                 APARTADO 9061                                                                                                     SAN JUAN         PR      00908‐9061
COOP AGR‐AUT TIERRA                      DEPARTAMENTO DE HACIENDA             RECURSOS HUMANOS                                                             SAN JUAN         PR      00901
COOP AGR‐AUT TIERRA                      PO BOX 13583                                                                                                      SAN JUAN         PR      00908‐3583
COOP AGROCOMERCIAL DE P R                PO BOX 364542                                                                                                     SAN JUAN         PR      00936‐4542
COOP AGUADILLA                           P O BOX 541                                                                                                       AGUADILLA        PR      00605
COOP AGUAS BUENAS                        APARTADO 5                                                                                                        AGUAS BUENAS     PR      00703
COOP AH CREDITO HATILLO                  AREA DEL TESORO                      DIVISION DE PAGADURIA                                                        SAN JUAN         PR      00902
COOP AH CREDITO HATILLO                  PO BOX 95                                                                                                         HATILLO          PR      00659
COOP AH MAYAGUEZ                         DEPARTAMENTO DE HACIENDA                                                                                          SAN JUAN         PR      00901
COOP AH Y CR EMPL I I A                  PO BOX 5100                                                                                                       SAN GERMAN       PR      00683
COOP AH Y CR HERMANOS UNIDOS/ CARIBBEAN 243 CALLE PARIS                       STE 1888                                                                     SAN JUAN         PR      00917
COOP AH Y CR JUANA DIAZ                  P O BOX 1439                                                                                                      JUANA DIAZ       PR      00795
COOP AH Y CRED DEL COLEGIO DE INGENIEROS AREA DEL TESORO                      DIVISION DE RECLAMACIONES                                                    SAN JUAN         PR      00902‐4140
COOP AH/CR DE ARECIBO COOPACA            CALLE CAPITÁN ABREU ESQ. J. ADORNO                                                                                ARECIBO          PR      00612
COOP AH/CR LARES Y REGION CENTRAL        P O BOX 362                                                                                                       LARES            PR      00669‐0362
COOP AH/Y CRE DEL TRIBUNAL GEN JUSTICIA  AREA DEL TESORO                      DIV DE PAGADURIA                                                             SAN JUAN         PR      00902
COOP AH/Y CRE DEL TRIBUNAL GEN JUSTICIA  PO BOX 190887                                                                                                     SAN JUAN         PR      00919‐0887
COOP AHORRO CREDITO SAN BLAS ILLESCAS    PO BOX 319                                                                                                        COAMO            PR      00769
COOP AHORRO CREDITO UNIV PR              PO BOX 22325                                                                                                      SAN JUAN         PR      00931
COOP AHORRO Y CRED FED DE MAESTROS PR    PO BOX 270 275                                                                                                    SAN JUAN         PR      00928
COOP AHORRO Y CREDITO ANA G MENDEZ       P O BOX 21150                                                                                                     SAN JUAN         PR      00928‐1150
COOP AHORRO Y CREDITO CAGUAS             P O BOX 1252                                                                                                      CAGUAS           PR      00726
COOP AHORRO Y CREDITO CFSE               APARTADO 42006 MILLAS ST                                                                                          SAN JUAN         PR      00940‐2006
COOP AHORRO Y CREDITO COOPAC             PO BOX 41087                                                                                                      SAN JUAN         PR      00940‐1087
COOP AHORRO Y CREDITO DE CAMUY           300 AVE. BALTAZAR JIMENEZ MENDEZ                                                                                  CAMUY            PR      00627




                                                                                                          Page 1750 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1751 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                            Address1                          Address2                                   Address3   Address4   City             State   PostalCode   Country
COOP AHORRO Y CREDITO DE CAMUY           PO BOX 540                                                                                         CAMUY            PR      00627‐0540
COOP AHORRO Y CREDITO DE CIALES          PO BOX 1438                                                                                        CIALES           PR      00638‐1438
COOP AHORRO Y CREDITO DE JUANA DIAZ      113 CALLE COMERIO                                                                                  JUANA DIAZ       PR      00795
COOP AHORRO Y CREDITO DE LAJAS           14 CALLE JOSE M TORO BASORA                                                                        LAJAS            PR      00667
COOP AHORRO Y CREDITO DE LAJAS           CALLE JOSE M. TORO BASORA # 14                                                                     LAJAS            PR      00667
COOP AHORRO Y CREDITO DE MAYAGUEZ        PO BOX 416                                                                                         MAYAGUEZ         PR      00681‐0416
COOP AHORRO Y CREDITO DE RINCON          PO BOX 608                                                                                         RINCON           PR      00677‐0608
COOP AHORRO Y CREDITO DE SALINAS         PO BOX 1169                                                                                        SALINAS          PR      00751‐1169
COOP AHORRO Y CREDITO DE YAUCO           AREA DEL TESORO                   DIVISION DE PAGADURIA                                            SAN JUAN         PR      00902
COOP AHORRO Y CREDITO DE YAUCO           P O BOX 3010                                                                                       YAUCO            PR      00698
COOP AHORRO Y CREDITO DEPT AGRICULTURA PO BOX 13583                                                                                         SAN JUAN         PR      00908‐3583
COOP AHORRO Y CREDITO HOLSUM DE PTO RICOP O BOX 8282                                                                                        TOA BAJA         PR      00951‐8282
COOP AHORRO Y CREDITO LAS PIEDRAS        P O BOX 414                                                                                        LAS PIEDRAS      PR      00771‐0414
COOP AHORRO Y CREDITO NAGUABENA          P O BOX 69                                                                                         NAGUABO          PR      00718
COOP AHORRO Y CREDITO ORIENTAL           P O BOX 876                                                                                        HUMACAO          PR      00792‐0876
COOP AHORRO Y CRÉDITO ORIENTAL/NATIONAL LCDO. MANUEL U. RIVERA GIMENEZ     URB. DELGADO O‐10 AVENIDA JOSE VILLARES                          CAGUAS           PR      00725
COOP AHORRO Y CREDITO ROOSEVELT ROADS PO BOX 31                                                                                             FAJARDO          PR      00738‐0031
COOP AMPI                                PO BOX 195449                                                                                      SAN JUAN         PR      00919‐5459
COOP AUT CARRETERAS                      PO BOX 41087                                                                                       SAN JUAN         PR      00940‐1087
COOP AUXILIARES DEL HOGAR DE COAMO       HC 3 BOX 17345                                                                                     COAMO            PR      00769
COOP BARRANQUITA                         APARTADO 686                                                                                       BARRANQUITAS     PR      00794
COOP BARRANQUITA CREDICENTRO‐COOP        PO BOX 686                                                                                         BARRANQUITAS     PR      00794‐0686
COOP BORIQUEN SUR FEDERAL CREDIT UNION 620 CARR 127                                                                                         PENUELAS         PR      00624‐9802
COOP C I A P R                           PO BOX 363845                                                                                      SAN JUAN         PR      00936‐3845
COOP CABO ROJO                           20 CALLE RUIZ RIVERA              APARTADO 99                                                      CABO ROJO        PR      00623
COOP CABO ROJO                           PO BOX 99                                                                                          CABO ROJO        PR      00623
COOP CAGUAS                              PO BOX 1252                                                                                        CAGUAS           PR      00726
COOP CAMUY                               167 AVE MUNOZ RIVERA                                                                               CAMUY            PR      00627
COOP CENTRO MEDICO                       PO BOX 2129                                                                                        SAN JUAN         PR      00922
COOP CIALES                              PO BOX 1438                                                                                        CIALES           PR      00638
COOP COM SERV PUBL                       DEPARTAMENTO DE HACIENDA                                                                           SAN JUAN         PR      00901
COOP COMERIENA                           64 CALLE GEORGETTI                                                                                 COMERIO          PR      00782
COOP COMUNAL SAN MIGUEL DE NARANJITO PO BOX 925                                                                                             NARANJITO        PR      00719‐0925
COOP COOPAC                              PO BOX 41087                                                                                       SAN JUAN         PR      00940‐1087
COOP CRE MAUNABO                         BOX 127                                                                                            MAUNABO          PR      00707
COOP CREDITO DEPTO EDUCACION             AREA DEL TESORO                   DIVISION DE PAGADURIA                                            SAN JUAN         PR      00902
COOP CREDITO DEPTO EDUCACION             C/O ERNESTO VELAZQUEZ             PO BOX 190759                                                    SAN JUAN         PR      00919‐0759
COOP DE A /C AGUAS BUENAS                PO BOX 5                                                                                           AGUAS BUENAS     PR      00703‐0005
COOP DE A /C DE LA ASOC DE MAESTRO DE PR PO BOX 192770                                                                                      SAN JUAN         PR      00919‐2770
COOP DE A/C AGUAS BUENA                  14 CALLE RAFAEL LASA                                                                               AGUAS BUENAS     PR      00703
COOP DE A/C AGUAS BUENA                  PO BOX 5                                                                                           AGUAS BUENAS     PR      00703
COOP DE A/C DE HATILLO                   PO BOX 95                                                                                          HATILLO          PR      00659
COOP DE A/C FAMILIAR PROGRESISTA         AVE DE DIEGO #479, PUERTO NUEVO                                                                    SAN JUAN         PR      00920
COOP DE A/C LA SAGRADA FAMILIA           AREA DEL TESORO                   DIV. DE PAGADURIA                                                SAN JUAN         PR      00902
COOP DE A/C LA SAGRADA FAMILIA           PO BOX 102                        CALLE BOU 38                                                     COROZAL          PR      00783
COOP DE A/C MAESTROS ASOC DE P R         AREA DEL TESORO                   DIV CONTADURIA GENERAL                                           SAN JUAN         PR      00902‐4140
COOP DE A/C MAESTROS ASOC DE P R         AVE PONCE LEON 501                                                                                 HATO REY         PR      00918
COOP DE A/C MOROVENA                     PO BOX 577                                                                                         MOROVIS          PR      00687
COOP DE A/C SAULO D RODRIGUEZ, GURACOOP PO BOX 678                                                                                          GURABO           PR      00778‐0678
COOP DE A/CR CENTRO GUB MINILLAS         AREA DEL TESORO                   DIVISION DE PAGADURIA                                            SAN JUAN         PR      00902
COOP DE A/CR CENTRO GUB MINILLAS         P O BOX 41235                                                                                      SAN JUAN         PR      00940
COOP DE A/CR DE LAS ASOC PARROQUIALES    PO BOX 1553                       57 CALLE MUNOZ RIVERA                                            VILLALBA         PR      00766
COOP DE AH Y CR CARIBE COOP              AREA DEL TESORO                   DIVISION DE PAGADURIA                                            SAN JUAN         PR      00902
COOP DE AH Y CR CARIBE COOP              P O BOX 560547                                                                                     GUAYANILLA       PR      00656‐0547
COOP DE AH Y CR DE ADJUNTAS              PO BOX 5                                                                                           ADJUNTAS         PR      00601‐0005
COOP DE AH/CR INGENIEROS Y AGRIMENSORES P O BOX 363845                                                                                      SAN JUAN         PR      00936‐3845
COOP DE AHORRO Y CR DE MANATI INC        P O BOX 30562                                                                                      MANATI           PR      00674‐0562
COOP DE AHORRO Y CRED RAFAEL CARRION JR P O BOX 362708                                                                                      SAN JUAN         PR      00936‐2708
COOP DE AHORRO Y CREDITO AGENTES LOTERIA P O BOX 1832                                                                                       SAN JUAN         PR      00919‐1832
COOP DE AHORRO Y CREDITO COOPAC          P O BOX 41087                                                                                      SAN JUAN         PR      00940




                                                                                                       Page 1751 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1752 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                            Address1                            Address2                                     Address3    Address4   City             State   PostalCode   Country
COOP DE AHORRO Y CREDITO CUPEY ALTO      RR 17 BOX 11100                                                                                         SAN JUAN         PR      00926
COOP DE AHORRO Y CREDITO CUPEY ALTO      RR 6 BOX 11100                                                                                          SAN JUAN         PR      00926
COOP DE AHORRO Y CREDITO DE ADJUNTAS     P O BOX 5                                                                                               ADJUNTAS         PR      00601
COOP DE AHORRO Y CREDITO DE AGUADA       PO BOX 543                                                                                              AGUADA           PR      00602‐0543
COOP DE AHORRO Y CREDITO DE JAYUYA       P O BOX 338                                                                                             JAYUYA           PR      00664
COOP DE AHORRO Y CREDITO EDE COOP        G5 CALLE ONEILL                                                                                         SAN JUAN         PR      00918‐2301
COOP DE AHORRO Y CREDITO SABANENA        ADDRESS ON FILE
COOP DE AHORRO Y CREDITO SABANENA        ADDRESS ON FILE
COOP DE AHORRO Y CREDITO TRES MONJITAS PO BOX 366757                                                                                             SAN JUAN         PR      00936‐6757
COOP DE AHORROS Y CREDITO PUERTO NUEVO PO BOX 1078                                                                                               VEGA ALTA        PR      00692
COOP DE ARTESANOS TRAB DE LA TIERRA ALTA PO BOX 618                                                                                              JAYUYA           PR      00664
COOP DE BIENES RAICES BIRACOOP           PO BOX 363163                                                                                           SAN JUAN         PR      00936
COOP DE GOMAS DE PTO RICO                P O BOX 1807                                                                                            SABANA SECA      PR      00952‐1807
COOP DE GUAYNABO                         PO BOX 1299                                                                                             GUAYNABO         PR      00970
COOP DE HATILLO                          PO BOX 95                                                                                               HATILLO          PR      00659
COOP DE SEG. MULTIPLES                   ARMANDO FRANCESCHI                  B‐5 CALLE TABONUCO                           SUITE 216   PMB 360    GUAYNABO         PR      00968‐3029
COOP DE SEGROS MULTIPLES DE PR           LCDO. ARMANDO FRANCESCHI FIGUEROA   B‐5 CALLE TABONUCO SUITE 216 PMB 360                                GUAYNABO         PR      00968‐3029
COOP DE SEGURO DE VIDA DE PUERTO RICO    PO BOX 363428                                                                                           SAN JUAN         PR      00936‐3428
COOP DE SEGUROS MÚLTIPLES Y POPULAR AUTOARMANDO FRANCESCHI FIGUEROA          B‐5 CALLE TABONUCO                           SUITE 216   PMB 360    GUAYNABO         PR      00968‐3029
COOP DE SERVCOMUNITARIOS EL FAMILISTERIO P.O. BOX 371781                                                                                         CAYEY            PR      00737
COOP DE SERVICIOS ARIGOS                 PO BOX 10005                                                                                            GUAYAMA          PR      00785
COOP DE SERVICIOS DE LOS EMP DEL DTRH    505 AVE MUNOZ RIVERA                                                                                    SAN JUAN         PR      00918
COOP DE SERVICIOS DE LOS EMP DEL DTRH    P O BOX 195540                                                                                          SAN JUAN         PR      00919‐5540
COOP DE SERVICIOS FUNEBRES DE PR         320 CALLE SEVILLA PDA 30                                                                                SAN JUAN         PR      00917‐3098
COOP DE SERVICIOS FUNEBRES DE PR         33 WILSON                                                                                               CATANO           PR      00962
COOP DE SERVICIOS INTEGRADOS A LA NINEZ  PO BOX 969                                                                                              SAINT JUST       PR      00978‐0969
COOP DE SERVICIOS MULTIPLES CONVERGENCIA PO BOX 2755                                                                                             BAYAMON          PR      00960
COOP DE SERVICIOS SUPLEMENTARIOS         PO BOX 11226                                                                                            SAN JUAN         PR      00922
COOP DE SERVICIOS TECNOLOGICOS           PMB 191                             267 SIERRA MORENA                                                   SAN JUAN         PR      00926‐5583
COOP DE TRANSPORTE CENTRAL               PO BOX 214577                                                                                           CAYEY            PR      00736
COOP DE VILLALBA                         DEPT. DE HACIENDA                   RECURSOS HUMANOS                                                    SAN JUAN         PR      00901
COOP DE VILLALBA                         PO BOX 1554                                                                                             VILLALBA         PR      00766
COOP DE YABUCOA                          DEPARTAMENTO DE HACIENDA            EDIFICIO INTENDENTE RAMIREZ                                         SAN JUAN         PR      00901
COOP DEPT INSTR                          DEPARTAMENTO DE HACIENDA                                                                                SAN JUAN         PR      00901
COOP DPTO SALUD                          P O BOX 102                                                                                             COROZAL          PR      00783
COOP DPTO TRABAJO                        PO BOX 195540                                                                                           SAN JUAN         PR      00919‐5540
COOP DPTO TRABAJO                        PRUDENCIO RIVERA MARTINEZ           AVE MUNOZ RIVERA 505 PISO 16                                        SAN JUAN         PR      00918
COOP EDU PARA LA REINVENCION Y LA        ACCION COOPER                       PMB 18 267 CALLE SIERRA MORENA                                      SAN JUAN         PR      00926
COOP EDUCATIVA PARA REINVENCION ACCION #30 LAS CROABAS                       LA CUMBRE I                                                         SAN JUAN         PR      00926
COOP EMP ACUEDUCTOS                      P O BOX 194500                                                                                          SAN JUAN         PR      00919‐4500
COOP EMP AGEN AGRICOLA UPR               APARTADO 25039                                                                                          SAN JUAN         PR      00928
COOP EMPL UPR                            PO BOX 22325                                                                                            SAN JUAN         PR      00931‐2325
COOP EMPLEADOS UPR                       PO BOX 22325                                                                                            SAN JUAN         PR      00931‐2325
COOP FAM PRO                             479 AVE DE DIEGO                                                                                        PUERTO NUEVO     PR      00920
COOP FAMILIAR PROGRESISTA                URB PUERTO NUEVO                    479 AVE DE DIEGO                                                    SAN JUAN         PR      00920
COOP FED MAESTRO                         PMB 709 89 AVE DE DIEGO STE 105                                                                         SAN JUAN         PR      00927‐6346
COOP FEDERACION DE MAESTROS              DEPARTAMENTO DE HACIENDA            AREA DEL TESORO                                                     SAN JUAN         PR      00902‐4140
COOP GAS CAYEYANA                        PO BOX 451                                                                                              CAYEY            PR      00737
COOP GUAYAMA                             PO BOX 127                                                                                              MAUNABO          PR      00707
COOP GUAYANILLA                          DEPARTAMENTO DE HACIENDA                                                                                SAN JUAN         PR      00902
COOP GUAYANILLA                          PO BOX 560464                                                                                           GUAYANILLA       PR      00656
COOP GUB MINILLA                         PDA 22 EDIF MINILLAS                                                                                    SAN JUAN         PR      00940
COOP GUB MINILLAS                        PO BOX 41235                        MINILLAS STATION                                                    SAN JUAN         PR      00940
COOP HACIENDA                            DEPARTAMENTO DE HACIENDA                                                                                SAN JUAN         PR      00902
COOP HNOS UNIDOS                         229 CALLE DUARTE                                                                                        SAN JUAN         PR      00917
COOP IND LA OROCOVENA BISCUIT CORP       BARRIO GATO                         CARR155 K M 30.9                                                    OROCOVIS         PR      00720
COOP INDUSTRIA CREACION DE LA MONTANA PO BOX 1527                                                                                                UTUADO           PR      00641 1527
COOP INDUSTRIAL CREACION DE LA MONTANA P O BOX 1527                                                                                              UTUADO           PR      00641
COOP INDUSTRIAL CREACIONES DE LA MONTAÐ P O BOX 1527                         CARR 111 KM 01                                                      UTUADO           PR      00641‐0000
COOP JARDINES DE VALENCIA                ESQ NAVANA                                                                                              SAN JUAN         PR      00925




                                                                                                           Page 1752 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1753 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                             Address1                                   Address2                                   Address3              Address4   City              State   PostalCode    Country
COOP JARDINES DE VALENCIA                 ESQ NAVANA                                 CALLE PEREIRA LEAL                                                          SAN JUAN          PR      00925
COOP JUVENIL ESC LA SUPERIOS              HC 1 BUZON 8112                                                                                                        MARICAO           PR      00606
COOP JUVENIL ESCOLAR ARTURIN              RR 6 BOX 9822                                                                                                          SAN JUAN          PR      00926
COOP JUVENIL MANUEL MENDEZ LICIAGA        PO BOX 1277                                                                                                            SAN SEBASTIAN     PR      00685
COOP LA MERCED                            APARTADO 1294                                                                                                          SAN LORENZO       PR      00754
COOP LA SAG FAMILIA                       DEPARTAMENTO DE HACIENDA                                                                                               SAN JUAN          PR      00901
COOP LARES                                APARTADO 362                                                                                                           LARES             PR      00669
COOP LAS PIEDRAS INSURANCE INC            PO BOX 100                                                                                                             LAS PIEDRAS       PR      00771
COOP LOMAS VERDE                          DEPARTAMENTO DE HACIENDA                                                                                               SAN JUAN          PR      00901
COOP MAESTRO PR                           P O BOX 192770                                                                                                         SAN JUAN          PR      00919‐2770
COOP MANATI                               68 CALLE MCKINLEY                                                                                                      MANATI            PR      00674
COOP MAYAGUEZ                             PO BOX 416                                                                                                             MAYAGUEZ          PR      00618
COOP MIEMBRO CR. UNION TRONQUISTAS        357 DEL PARQUE                                                                                                         SAN JUAN          PR      00912
COOP MOROVENA                             PO BOX 577                                                                                                             MOROVIS           PR      00687
COOP OBRAS PUBLICAS                       P O BOX 41087                                                                                                          SAN JUAN          PR      00940
COOP OFIC CONTRALOR                       105 AVE PONCE DE LEON                                                                                                  SAN JUAN          PR      00936
COOP OFIC CUST PR                         DEPARTAMENTO DE HACIENDA                                                                                               SAN JUAN          PR      00901

COOP OFIC CUST PR                            EDIF JULIO HERNANDEZ SERRANO             54 CALLE S E 1100                         REPTO METROPOLITANO              SAN JUAN          PR      00921
COOP PENUELAS                                PO BOX 598                                                                                                          PENUELAS          PR      00624
COOP PEPINIANA                               PO BOX 572                                                                                                          SAN SEBASTÍAN     PR      00685
COOP PRENSA UNIDA                            PO BOX 195604                                                                                                       SAN JUAN          PR      00919‐5604
COOP PUERTORRIQUENA                          82 CALLE GEORGETTI                                                                                                  SAN JUAN          PR      00925
COOP PUERTORRIQUENA                          PO BOX 20645                                                                                                        SAN JUAN          PR      00928
COOP QUEBRADILLAS                            APARTADO 1561                                                                                                       QUEBRADILLAS      PR      00678‐1561
COOP REP. METRO.                             BOX 102                                                                                                             COROZAL           PR      00783
COOP SAN JOSE                                PO BOX 373518                                                                                                       CAYEY             PR      00737‐3518
COOP SAN MIGUEL                              PO BOX 925                                                                                                          NARANGITO         PR      00719
COOP SANTA ISABEL                            51 CALLE CELIS AGUILERA CAC              ESQUINA BALDORIOTY                                                         SANTA ISABEL      PR      00757
COOP SEGUROS MULTIPLES PR & POPULAR AUTOLCDO. ARMANDO FRANCESCHI FIGUEROA             B‐5 CALLE TABONUCO SUITE 216 PMB 360                                       GUAYNABO          PR      00968‐3029
COOP SERV COMUNITARIOS EL FAMILISTERIO       PO BOX 371781                                                                                                       CAYEY             PR      00737
COOP SERV POLICIA PR                         DEPARTAMENTO DE HACIENDA                                                                                            SAN JUAN          PR      00901
COOP SERV SOC                                PO BOX 11398                                                                                                        SAN JUAN          PR      00910
COOP SERVICIOS EQUIPAJE                      P O BOX 37548                                                                                                       SAN JUAN          PR      00937
COOP SERVICIOS EVALUACION INVESTIGACION P O BOX 363024                                                                                                           SAN JUAN          PR      00936
COOP STGO ANDRADES                           PO BOX 21408                                                                                                        SAN JUAN          PR      00928‐1408
COOP TRIB GEN JUST                           P O BOX 190887                                                                                                      SAN JUAN          PR      00919‐0887
COOP UNION TRAB INDUS DE PR                  UTI DE PUERTO RICO                       PO BOX 22014 STATION                                                       SAN JUAN          PR      00931
COOP VEGA ALTA                               91 AVENIDA BETANCES                                                                                                 BAYAMON           PR      00959
COOP VEGA ALTA                               PO BOX 1078                                                                                                         VEGA ALTA         PR      00692‐1078
COOP VILLACOOP AGUSTÍN BURGOS RIVERA         PO BOX 1554                                                                                                         VILLALBA          PR      00766‐1554
COOP YANES                                   PO BOX 1162                                                                                                         FLORIDA           PR      00650‐1162
COOP ZENO GANDIA                             PO BOX 1865                                                                                                         ARECIBO           PR      00613
COOP. A/C CABO ROJO                          PO BOX 99                                                                                                           CABO ROJO         PR      00623
COOP. A/C DE GERENCIALES DE LA AEE           1200 AVE PONCE DE LEON                                                                                                                PR      000907‐0540
COOP. A/C DE LOS EMP. ANGE. AGRICOLA UPR PO BOX 25039                                                                                                            SAN JUAN          PR      00970
COOP. A/C DEPT. DEL TRABAJO                  EDIFICIO PRUDENCIO RIVERA MARTINEZ MUNOZ RIVERA 505                                                                 HATO REY          PR      00919‐5540
COOP. A/C DEPT. DEL TRABAJO                  PO BOX 195540                                                                                                       SAN JUAN          PR      00919‐5540
COOP. A/C EMPLEADOS AEE                      AVENIDA PONCE DE LEON 1058 PDA 16¿                                                                                  SAN JUAN          PR      00908‐9061
COOP. AHORRO Y CRÉDITO LARES Y REGIÓN CE PO BOX 362                                                                                                              LARES             PR      00669‐0362
COOP. AHORRO Y CREDITO OFICINA               OFICINA DEL CONTRALOR                                                                                               HATO REY          PR      00936
COOP. DE AHORRO Y CREDITO CARIBE COOP        PO BOX 560464                                                                                                       GUAYANILLA        PR      00656‐0464
COOP. DE AHORRO Y CREDITO ELECTRO‐COOP COND. SAN ALBERTO 605 AVE. CONDADO OFC. 307                                                                               SAN JUAN          PR      000907‐3811
COOP. DE SEG. MULTIPLES DE P.R. / LAURA E FERARMANDO FRANCESCHI FIGUEROA              B5 CALLE TABONUCO                         SUITE 216             PMB 360    Bayamón           PR      00968‐3029
COOP. DE SEG. MULTIPLES DE P.R. / LAURA E FERLUIS A. BURGOS RIVERA                    Apartado 2464                                                              Guayama           PR      00785
COOP. DE SEGUROS MULTIPLES                   LCDO. ARMANDO FRANCESCHI FIGUEROA        B5 CALLE TABONUCO                         SUITE 216             PMB 360    GUAYNABO          PR      00968‐3029
COOP. DE SEGUROS MULTIPLES DE P.R.           ARMANDO FRANCESCHI FIGUEROA              B5 Calle Tabonuco                         Suite 216             PMB 360    Bayamón           PR      00968‐3029
COOP. DE SEGUROS MULTIPLES DE P.R. / ANGEL ARMANDO FRANCESCHI FIGUEROA                B5 CALLE TABONUCO                         SUITE 216             PMB 360    Bayamón           PR      00968‐3029
COOP. DE SEGUROS MULTIPLES DE P.R. Y RELIABLLCDO. ARMANDO FRANCESCHI FIGUEROA         B‐5 CALLE TABONUCO SUITE 216 PMB 360                                       GUAYNABO          PR      00968‐3029
COOP. DE SEGUROS MULTIPLES DE P.R., ET.ALS. LIC. ARMANDO FRANCESCHI FIGUEROA          PMB 360 SUITE 216 CALLE TABONUCO B‐5                                       GUAYNABO          PR      00968‐3029




                                                                                                                 Page 1753 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1754 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                              Address1                               Address2                                  Address3               Address4            City           State   PostalCode   Country
COOP. DE SEGUROS MULTIPLES DE PR           LIC. ARMANDO FRANCESCHI FIGUEROA       PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES DE PUERTO RICO LCDO. ARMANDO FRANCESCHI FIGUEROA       B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                 GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES Y POULAR AUTO,ARMANDO FRANCESCHI FIGUEROA              PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES Y RELIABLE FINANLCDO. ARMANDO FRANCESCHI FIGUEROA      B5 CALLE TABONUCO                         SUITE 216              PMB 360             GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES Y RELIABLE FINANARMANDO FRANCESCHI FIGUEROA            PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES Y SCOTIABANK CAARMANDO FRANCESCHI FIGUEROA             PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES Y SCOTIABANK CAIVONNE M. GARCÍA TORRES                 PO BOX 7608                                                                          PONCE          PR      00732‐7608
COOP. DE SEGUROS MULTIPLES Y SCOTIABANK MARMANDO FRANCESCHI FIGUEROA              PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTIPLES Y VAPR FEDERAL ARMANDO FRANCESCHI FIGUEROA             PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029

                                                                                                                            BANCO COOPERATIVO
COOP. DE SEGUROS MULTIPLES Y VAPR FEDERAL JUAN R. ACEVEDO CRUZ                    SUITE 501‐A                               PLAZA 623 AVE.         Ponce DE LEON       SAN JUAN       PR      00917
COOP. DE SEGUROS MÚLTIPLES, BANSANDER LEAARMANDO FRANCESCHI FIGUEROA              PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MÚLTIPLES, RELIABLE FINAN ARMANDO FRANCESCHI FIGUEROA            PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTPLES DE P.R., ET.ALS. LIC. ARMANDO FRANCESCHI FIGUEROA       PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. DE SEGUROS MULTPLES DE P.R., ET.ALS. //LIC. ARMANDO FRANCESCHI FIGUEROA     PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. DE TERAPEUTAS ASOCIADOS DE PR          HC 63 BOX 3984                                                                                                            PATILLAS       PR      00723
COOP. SEGUROS DE MÚLTIPLES DE PR             LCDO. ARMANDO FRANCESCHI FIGUEROA    B‐5 CALLE                                 TABONUCO               SUITE 216 PMB 360   GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES                      ARMANDO FRANCESCHI                   B‐5 CALLE TABONUCO                        SUITE 216              PMB 360             GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES                      ARMANDO FRANCESCHI FIGUEROA          B5 CALLE TABONUCO                         SUITE 216              PMB 360             Bayamón        PR      00968‐3029
COOP. SEGUROS MULTIPLES / POPULAR AUTO ARMANDO FRANCESCHI FIGUEROA                B5 CALLE TABONUCO                         SUITE 216              PMB 360             Bayamón        PR      00968‐3029

                                                                                                                            SUITE 801 AVE. MUÑOZ
COOP. SEGUROS MULTIPLES DE P.R., ET. ALS. ENELIC. ALEJANDRO BELVERS ESPINOSA      COND. CENTRO 1                            RIVERA NUM. 500                            SAN JUAN       PR      00918
COOP. SEGUROS MULTIPLES DE P.R., ET. ALS.; HIPLIC. ARMANDO FRANCESCHI FIGUEROA    PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES DE P.R., ET.ALS.      LIC. ARMANDO FRANCESCHI FIGUEROA    PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES DE P.R., ET.ALS. // MLIC. ARMANDO FRANCESCHI FIGUEROA     PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                 GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES DE PR                 LCDO. ARMANDO FRANCESCHI FIGUEROA   B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                 GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES DE PR Y POPULAR AUARMANDO FRANCESCHI FIGUEROA             PMB 360 SUITE 216                         CALLE TABONUCO B‐5                         GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES POPULAR AUTO          LCDO. ARMANDO FRANCESCHI FIGUEROA   B5 CALLE TABONUCO                         SUITE 216              PMB 360             GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES PR & RELIABLE FINA LCDO. ARMANDO FRANCESCHI FIGUEROA      B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                 GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES Y ORIENTAL BANK D LCDO. ARMANDO FRANCESCHI FIGUEROA       B5 CALLE TABONUCO                         SUITE 216              PMB 360             GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES Y RELIABLE FINANCIALCDO. ARMANDO FRANCESCHI FIGUEROA      B5 CALLE TABONUCO                         SUITE 216              PMB 360             GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES Y RELIABLE FINANCIALCDO. ARMANDO FRENCESCHI FIGUEROA      B5 CALLE TABONUCO                         SUITE 216              PMB 360             GUAYNABO       PR      00968‐3029
COOP. SEGUROS MULTIPLES Y RELIABLE FINANCIALCDO. JORGE L. ANGLERO FIGUEROA        PO BOX 3240                                                                          CAGUAS         PR      00726‐3240
COOP. SEGUROS Y RELIABLE                      LCDO. ARMANDO FRANCESCHI FIGUEROA   B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                 GUAYNABO       PR      00968‐3029
COOP.AHORRO/CREDITO EMP DEPTO.EDUCACIO APARTADO 11359 CAPARRA HEIGHTS                                                                                                  SAN JUAN       PR      00922‐1359
COOP.DE AHORRO Y CREDITO DE ARECIBO           APARTADO 1056                                                                                                            ARECIBO        PR      00613‐1056
COOPACA                                       1056 CALLE CAPITAN ABREU            ESQ. J. ADORNO                                                                       ARECIBO        PR      00613
COOPACA                                       AREA DEL TESORO                     DIV DE PAGADURIA                                                                     SAN JUAN       PR      00902‐4140
COOPACA                                       Call Box 1056                                                                                                            ARECIBO        PR      00613‐1056
COOPACA                                       PO BOX 1056                                                                                                              ARECIBO        PR      00613
COOPAN                                        P O BOX 297                                                                                                              MOCA           PR      00676
COOPEEM                                       MINILLAS STATION                    PO BOX 40039                                                                         SAN JUAN       PR      00940‐0039
COOPER FAMILY MEDICAL                         ATTN MEDICAL RECORDS                5123 4TH AVE CIR E                                                                   BRADENTON      FL      34208
COOPER FAMILY MEDICINE                        PO BOX 4356                                                                                                              WILMINGTON     DE      19807
COOPER HOSPITAL UNIVERSITY MED CENTER         PO BOX 3017                                                                                                              MALVERN        PA      19355
COOPER UNIVERSITY HOSPITAL                    PO BOX 4356                                                                                                              WILMINGTON     DE      19807
COOPER, TIMOTHY                               ADDRESS ON FILE
COOPERATIVA                                   LCDO. ARMANDO FRANCESCHI FIGUEROA   B‐5 CALLE                                 TABONUCO               SUITE 216 PMB 360   GUAYNABO       PR      00968‐3029
COOPERATIVA OFFICOOP                          PO BOX 3373                                                                                                              ARECIBO        PR      00613
COOPERATIVA A /C DE FLORIDA                   PO BOX 1172                                                                                                              FLORIDA        PR      00650
COOPERATIVA A/C AUTORIDAD DE ACUEDUCTO PO BOX 194500                                                                                                                   SAN JUAN       PR      00919‐4500
COOPERATIVA A/C AUTORIDAD DE ACUEDUCTO PO BOX 876                                                                                                                      HUMACAO        PR      00792
COOPERATIVA A/C AUTORIDAD DE ENERGIA ELECPO BOX 9061                                                                                                                   SAN JUAN       PR      00908‐9061
COOPERATIVA A/C CAMUY                         300 AVE BALTAZAR JIMENEZ MENDEZ                                                                                          CAMUY          PR      00627
COOPERATIVA A/C COOPAC                        P.O. BOX 41087                                                                                                           SAN JUAN       PR      00940‐1087
COOPERATIVA A/C DE ISABELA                    PO BOX 552                                                                                                               ISABELA        PR      00662
COOPERATIVA A/C DE LA CASA DEL TRABAJADORAPARTADO 21346                                                                                                                SAN JUAN       PR      00928
COOPERATIVA A/C DE LA CASA DEL TRABAJADORAVE. MUÑOZ RIVERA 505                                                                                                         SAN JUAN       PR      00918‐3514




                                                                                                             Page 1754 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1755 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3   Address4   City             State   PostalCode   Country
COOPERATIVA A/C DE LARES                 PO BOX 362                                                                                               LARES            PR      00669
COOPERATIVA A/C EMPLEADOS MUNICIPALES DEPO BOX 1118                                                                                               GUAYNABO         PR      00970‐1118
COOPERATIVA A/C EMPRESAS DIAZ EMDI       PO BOX 21420                                                                                             SAN JUAN         PR      00928‐1420
COOPERATIVA A/C HERMANOS UNIDOS          229 CALLE DUARTE                                                                                         SAN JUAN         PR      00917
COOPERATIVA A/C HERMANOS UNIDOS          P O BOX 195245                                                                                           SAN JUAN         PR      00919‐5245
COOPERATIVA A/C JESUS OBRERO             PMB 159 HC 01                           BOX 29030                                                        CAGUAS           PR      00725
COOPERATIVA A/C LA COMERIENA             9 CARR 775                                                                                               COMERIO          PR      00782
COOPERATIVA A/C LA PUERTORRIQUENA        APARTADO 20645                                                                                           SAN JUAN         PR      00928‐0645
COOPERATIVA A/C LA PUERTORRIQUENA        CALLE GEORGETTI 82                                                                                       RIO PIEDRAS      PR      00925
COOPERATIVA A/C LOMAS VERDES             APARTADO 1142                                                                                            BAYAMON          PR      00960
COOPERATIVA A/C OFICIALES DE CUSTODIA    URB REPARTO METROPOLITANO               1100 CALLE 54 SE                                                 SAN JUAN         PR      00921‐2731
COOPERATIVA A/C PADRE MAC DONALD         APARTADO 7022                                                                                            PONCE            PR      00732
COOPERATIVA A/C RINCON                   PO BOX 608                                                                                               RINCON           PR      00677‐0608
COOPERATIVA A/C YABUCOENA                PO BOX 0001                                                                                              YABUCOA          PR      00767‐0001
COOPERATIVA ABRAHAN ROSA                 HC 01 BOX 6032                                                                                           TOA BAJA         PR      00949‐9707
COOPERATIVA AC LOMAS VERDES              PO BOX 1142                                                                                              BAYAMON          PR      00960
COOPERATIVA AC SAN JOSE                  2800 CALLE JESUS T. PINERO                                                                               CAYEY            PR      00736
COOPERATIVA AHORO Y CREDITO CAPARRA      100 AVE SAN PATRICIO STE F16                                                                             GUAYNABO         PR      00968‐2635
COOPERATIVA AHORRO Y CREDITO ADJUNTAS PO BOX 5                                                                                                    ADJUNTAS         PR      00601
COOPERATIVA AHORRO Y CREDITO CAPARRA     100 AVE SAN PATRICIO                    STE F16                                                          GUAYNABO         PR      00968‐2635
COOPERATIVA AHORRO Y CREDITO COOPAC      P.O. BOX 41087                                                                                           SAN JUAN         PR      00940‐1087
COOPERATIVA AHORRO Y CREDITO DE YAUCO PO BOX 3010                                                                                                 YAUCO            PR      00698‐3010
COOPERATIVA AHORRO Y CREDITO LAS PIEDRAS APARTADO 414                                                                                             LAS PIEDRAS      PR      00671
COOPERATIVA AHORRO Y CREDITO VEGABAJEÑA APARTADO 4622                                                                                             VEGA BAJA        PR      00694
COOPERATIVA AHORRO Y CREDITODE ANASCO PO BOX 489                                                                                                  ANASCO           PR      00610‐0489
COOPERATIVA AHORRO/CREDITO AGUAS BUENA BARRIO MULA CARR. 174                                                                                      AGUA BUENAS      PR      00703
COOPERATIVA AHORRO/CREDITO AGUAS BUENA PO BOX 5                                                                                                   AGUAS BUENAS     PR      00703
COOPERATIVA AHORRO/CREDITO DE ARECIBO APARTADO 1056                                                                                               ARECIBO          PR      00613‐1056
COOPERATIVA AHORRO/CREDITO DE ARECIBO CALLE CAPITAN ABREU ESQ J ADORNO                                                                            ARECIBO          PR      00613‐1056
COOPERATIVA AHORRO/CREDITO DE MAYAGUEZDOCTOR BASORA #52                                                                                           MAYAGUEZ         PR      00681
COOPERATIVA AHORRO/CREDITO DE MAYAGUEZPO BOX 416                                                                                                  MAYAGUEZ         PR      00681‐0416
COOPERATIVA AHORRO/CREDITO MAESTROS DE 501 PONCE DE LEON                                                                                          HATO REY         PR      00919
COOPERATIVA AHORRO/CREDITO MAESTROS DE APARTADO POSTAL 192700                                                                                     SAN JUAN         PR      00919
COOPERATIVA AHORRO/CREDITO MOROVENA APARTADO 577                                                                                                  MOROVIS          PR      00687
COOPERATIVA AHORRO/CREDITO MOROVENA AVE. A BUENA VISTA CARR. 155                                                                                  MOROVIS          PR      00687
COOPERATIVA AHORRO/CREDITO VEGA ALTA     APARTADO 1078                                                                                            VEGA ALTA        PR      00692
COOPERATIVA AHORRO/CREDITO VEGA ALTA     CALLE GEORGETTI #61                                                                                      VEGA ALTA        PR      00692
COOPERATIVA AMOR A LA TERCERA EDAD       PO BOX 8932                                                                                              BAYAMON          PR      00960
COOPERATIVA CAGUAS                       PO BOX 1252                                                                                              SAN JUAN         PR      00726
COOPERATIVA CENTRO GUB MINILLAS ,        APARTADO 41235 ESTACION MINILLAS                                                                         SAN JUAN         PR      00940
COOPERATIVA CENTRO GUB MINILLAS ,        AVE. DE DIEGO PDA. 22 CENTRO            GUBERNAMENTAL MINILLAS                                           SANTURCE         PR      00940
COOPERATIVA CENTRO MEDICO                PO BOX 2129                                                                                              SAN JUAN         PR      00922‐2129
COOPERATIVA COMUNAL AHORRO/CREDITO       REPTO. METROPOLITANO 1100 CALLE 54 SE                                                                    SAN JUAN         PR      00921
COOPERATIVA CORPORACION CENTRO MEDICO P.O. BOX 2129                                                                                               SAN JUAN         PR      00922‐2129
COOPERATIVA CULTURA COOP                 PO BOX 505                                                                                               AIBONITO         PR      00705
COOPERATIVA CUPEY ALTO                   RR 17 BOX 11100                                                                                          SAN JUAN         PR      00926‐9483
COOPERATIVA DE A / C DE MAUNABO          PO BOX 127                                                                                               MAUNABO          PR      00707
COOPERATIVA DE A / C LA SAGRADA FAMILIA  PO BOX 102                                                                                               COROZAL          PR      00687
COOPERATIVA DE A / C YABUCOENA           PO BOX 1                                                                                                 YABUCOA          PR      00767‐0001
COOPERATIVA DE A/C AIBONITENA            PO BOX 422                                                                                               AIBONITO         PR      00705
COOPERATIVA DE A/C DE HACIENDA           PO BOX 9024140                                                                                           SAN JUAN         PR      00902‐4140
COOPERATIVA DE A/C DE JUANA DIAZ         PO BOX 1439                                                                                              JUANA DIAZ       PR      00795‐1439
COOPERATIVA DE A/C DE MANATI INC.        PO BOX 30562                                                                                             MANATI           PR      00674
COOPERATIVA DE A/C DE SANTA ISABEL       3 CALLE CELIS AGUILERA                                                                                   SANTA ISABEL     PR      00757
COOPERATIVA DE A/C ELECTROCOOP           CONDOMINO SAN ALBERTO                   605 AVE CONDADO SUITE 307                                        SAN JUAN         PR      00907
COOPERATIVA DE A/C EMPLEADOS DEPARTAMENPO BOX 9024140                                                                                             SAN JUAN         PR      00902‐4140
COOPERATIVA DE A/C FEDERACION PR POLICIA 352 AVE. SAN CLAUDIO                    PMB 183                                                          SAN JUAN         PR      00926
COOPERATIVA DE A/C FEDERACION PR POLICIA PO BOX 190684                                                                                            SAN JUAN         PR      00919‐0684
COOPERATIVA DE A/C LA SAGREDA FAMILIA    PO BOX 102                                                                                               COROZAL          PR      00687
COOPERATIVA DE A/C NAGUABENA             PO BOX 69                                                                                                NAGUABO          PR      00718




                                                                                                             Page 1755 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                                     Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 1756 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                             Creditor Matrix

Creditor Name                                   Address1                                        Address2                                     Address3             Address4             City            State   PostalCode    Country
COOPERATIVA DE A/C VEGA ALTA                    APARTADO 1078                                                                                                                          VEGA ALTA       PR      00692
COOPERATIVA DE A/C VEGABAJENA                   APARTADO 4622                                                                                                                          VEGA BAJA       PR      00694
COOPERATIVA DE AC VEGABAJENA INC                PO BOX 4622                                                                                                                            VEGA BAJA       PR      00694
COOPERATIVA DE AGRICULTURA DE PR                P.O. BOX 13583                                                                                                                         SAN JUAN        PR      00908‐ 3583
COOPERATIVA DE AHORRO Y CREDITO                 DE RINCON                                       PO BOX 608                                                                             RINCON          PR      00677
COOPERATIVA DE AHORRO Y CREDITO CIDRA           SOLARGEN CORP                                   PO BOX 1490                                                                            CIDRA           PR      00739
COOPERATIVA DE AHORRO Y CREDITO CIDRENA PO BOX 1490                                                                                                                                    CIDRA           PR      00739
COOPERATIVA DE AHORRO Y CREDITO COOPAC PO BOX 41087                                                                                                                                    SAN JUAN        PR      00940‐1087
COOPERATIVA DE AHORRO Y CREDITO DE AGUASLIC. MANUEL U. RIVERA GIMÉNEZ, ABOGADO DE PACHECO CAMACHO & RIVERA GIMÉNEZ ESTUDI URB. DELGADO O‐10                       AVE. JOSÉ VILLARES   CAGUAS          PR      00725
COOPERATIVA DE AHORRO Y CREDITO DE CAMUYPO BOX 540                                                                                                                                     CAMUY           PR      00627‐0540
COOPERATIVA DE AHORRO Y CREDITO MAESTRO P.O. BOX 1061                                                                                                                                  GUAYAMA         PR      00785‐1061
COOPERATIVA DE AHORRO Y CREDITO NAGUABE LCDO. JOSE A. CANDELARIO LAJARA                         PO BOZ 70250 SUITE 306                                                                 SAN JUAN        PR      00936
COOPERATIVA DE AHORRO/CREDITO EMPLEADO 54 CALLE MATADERO ESQUINA AVE ROOSELVELT                                                                                                        HATO REY        PR      00936
COOPERATIVA DE AHORRO/CREDITO EMPLEADO P O BOX 361735                                                                                                                                  SAN JUAN        PR      00936
COOPERATIVA DE AHORRO/CREDITO U.T.I.            APARTADO POSTAL 22014 UPR STATION                                                                                                      SAN JUAN        PR      00931
COOPERATIVA DE AHORRO/CREDITO U.T.I.            URB. CARIBE 1550 AVE PONCE DE LEON SUITE 1 CUPEY                                                                                       RIO PIEDRAS     PR      00925
COOPERATIVA DE COMERCIOS                        PO BOX 581                                                                                                                             AGUADA          PR      00602
COOPERATIVA DE CONTRATISTAS GENERALES PR URB EL PALMAR                                          108 CALLE 2A                                                                           GUAYNABO        PR      00969
COOPERATIVA DE EMPLEADOS POSTALES               PO BOX 361735                                                                                                                          SAN JUAN        PR      00936‐1735
COOPERATIVA DE GUAYNABO                         PO BOX 1299                                                                                                                            GUAYNABO        PR      00970‐1299
COOPERATIVA DE LAS ARTES REPRESENTATIVAS PO BOX 366207                                                                                                                                 SAN JUAN        PR      00936‐6207
COOPERATIVA DE SEGUROS DE VIDA                  PO BOX 3428                                                                                                                            SAN JUAN        PR      00936
COOPERATIVA DE SEGUROS DE VIDA DE PR            AREA DEL TESORO                                 DIV CONTADURIA GENERAL                                                                 SAN JUAN        PR      00902
COOPERATIVA DE SEGUROS DE VIDA DE PR            AVE AMERICO MIRANDA 400                         URB VILLA NEVAREZ                                                                      RIO PIEDRAS     PR      00927
COOPERATIVA DE SEGUROS DE VIDA DE PR            P.O. BOX 363428                                                                                                                        SAN JUAN        PR      00936‐3428
Cooperativa de Seguros de Vida de Puerto        Expreso Las Américas Esq. Ave. Américo Miranda #400 Villa Nevárez                                                                      Río Piedras     PR      02844
COOPERATIVA DE SEGUROS DE VIDA DE PUERTO PO BOX 363428                                                                                                                                 SAN JUAN        PR      00936‐3428
Cooperativa de Seguros de Vida de Puerto Rico, CAttn: Alejandrina Burgos, Circulation of Risk   PO Box 363428                                                                          San Juan        PR      93634‐936
Cooperativa de Seguros de Vida de Puerto Rico, CAttn: Gretel Gonzalez, Consumer Complaint Cont PO Box 363428                                                                           San Juan        PR      93634‐936
Cooperativa de Seguros de Vida de Puerto Rico, CAttn: Gretel Gonzalez, Regulatory Compliance Go PO Box 363428                                                                          San Juan        PR      93634‐936
Cooperativa de Seguros de Vida de Puerto Rico, CAttn: Julio VillafaÃ±e, President               PO Box 363428                                                                          San Juan        PR      93634‐936
COOPERATIVA DE SEGUROS MULTIPLES                ARMANDO FRANCESCHI                              B‐5 Calle Tabonuco                           Suite 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                ARMANDO FRANCESCHI FIGUEROA                     PMB 360 SUITE 216                            CALLE TABONUCO B‐5                        GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                ARMANDO FRANCESCHI MARIA                        PO BOX 365072                                                                          SAN JUAN        PR      00936‐5072
COOPERATIVA DE SEGUROS MULTIPLES                CELESTE RODRIGUEZ‐MIRANDA                       B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                LCDO. ARMANDO FRANCESCHI FIGUEROA               B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                LCDO. ARMANDO FRANCESCHI FIGUEROA               B5 CALLE TABONUCO                            SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                LCDO. ARMANDO FRANCESCHI FIGUEROA               B‐5 CALLE                                    TABONUCO             SUITE 216 PMB 360    GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                LCDO. IVANDELUIS MIRANDA VELEZ                  APARTADO 565                                                                           AGUADILLA       PR      00605
COOPERATIVA DE SEGUROS MULTIPLES                LIC. ANGEL R. COLLZO MATOS                      EXT. FORST HILLS F419 CALLE LIMA ESQ. ATENAS                                           BAYAMON         PR      00959‐5618
COOPERATIVA DE SEGUROS MULTIPLES                LIC. ARMANDO FRANCESCHI FIGUEROA                PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES                PO BOX 363846                                                                                                                          SAN JUAN        PR      00936‐3846
COOPERATIVA DE SEGUROS MÚLTIPLES                LCDO. ARMANDO FRANCESCHI FIGUEROA               B5 CALLE TABONUCO                            SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES , POPULALIC. ANGEL RODRIGUEZ GARALLARDE                        PMB 170 PO BOX 194000                                                                  SAN JUAN        PR      00919‐4000
COOPERATIVA DE SEGUROS MULTIPLES , POPULALIC. JOSE M. DIAZ HASSSIN                              URB. JARDINES DE                             Cayey I CALLE I      A‐11                 Cayey           PR      00936
COOPERATIVA DE SEGUROS MULTIPLES AMERICAARMANDO FRANCESCHI                                      B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES D EPUERTARMANDO FRANCESCHI                                     PO BOX 365072                                                                          SAN JUAN        PR      00936‐5072
COOPERATIVA DE SEGUROS MULTIPLES D EPUERTMARIA CELESTE RODRIGUEZ‐MIRANDA                        B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P. R. YLCDO. ARMANDO FRANCESCHI FIGUEROA                    B5 CALLE TABONUCO                            SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. ARMANDO FRANCESCHI FIGUEROA                            B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3030
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. &LCDO. ARMANDO FRANCESCHI FIGUEROA                     B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. E LIC. ARMANDO FRANCESCHI FIGUEROA                     PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. P LCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y LCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y LCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y ARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y ARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y LCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y ARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y ARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                           SUITE 216            PMB 360              GUAYNABO        PR      00968‐3029




                                                                                                                          Page 1756 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                                 Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 1757 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                            Creditor Matrix

Creditor Name                                   Address1                                       Address2                                  Address3              Address4            City            State   PostalCode   Country
COOPERATIVA DE SEGUROS MULTIPLES DE P.R. Y LCDO. ARMANDO FRANCESCHI FIGUEROA                   B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R., ELCDO. ARMANDO FRANCESCHI FIGUEROA                   B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE P.R.,E LCDO. ARMANDO FRANCESCHI FIGUEROA                   B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR ARMANDO FRANCESCHI                                      B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR ARMANDO FRANCESCHI FIGUEROA                             B5 CALLE TABONUCO                         SUITE 216             PMB 360             Bayamón         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR ARMANDO FRANCESCHI FIGUEROA                             B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR LCDO. ARMANDO FRANCESCHI FIGUEROA                       B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR PO BOX 363846                                                                                                                               SAN JUAN        PR      00936
COOPERATIVA DE SEGUROS MÚLTIPLES DE PR LCDO. ARMANDO FRANCESCHI FIGUEROA                       B‐5 CALLE                                 TABONUCO              SUITE 216 PMB 360   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR & LCDO. ARMANDO FRANCESCHI FIGUEROA                     B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR & LCDO. ARMANDO FRANCESCHI FIGUEROA                     B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y BLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y CLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y FLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y OARMANDO FRANCESCHI FIGUEROA                          PMB 360 SUITE 216                         CALLE TABONUCO B‐5                        GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y OARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y OLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES DE PR Y OARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y OLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE                                 TABONUCO              SUITE 216 PMB 360   GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y PARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y PLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES DE PR Y RARMANDO FRANCESCHI FIGUEROA                          PMB 360 SUITE 216                         CALLE TABONUCO B‐5                        GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y RARMANDO FRANCESCHI FIGUEROA                          PMB 360 SUITE 216                         CALLE TABONUCO B‐5                        GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y RARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y RLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES DE PR Y RARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y RLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y SLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES DE PR Y TARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y TLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR Y VLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR, COLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES DE PR, COLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR, O LCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR, POARMANDO FRANCESCHI FIGUEROA                          B‐5 CALLE TABONUCO                        SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR, RELCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PR, SCLCDO. ARMANDO FRANCESCHI FIGUEROA                    B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
Cooperativa de Seguros Multiples de Puerto      38 Calle Nevárez                                                                                                                   San Juan        PR      00927‐4608
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTARMANDO FRANCESCHI MARIA RODRIGUEZ MIRAPO BOX 365072                                                                                      SAN JUAN        PR      00936‐5072
Cooperativa de Seguros Multiples de Puerto Rico Attn: Cathleen Feliciano, Circulation of Risk  PO Box 363846                                                                       San Juan        PR      93638‐936
Cooperativa de Seguros Multiples de Puerto Rico Attn: Cathleen Feliciano, Consumer Complaint CoPO Box 363846                                                                       San Juan        PR      93638‐936
Cooperativa de Seguros Multiples de Puerto Rico Attn: Oscar Medrano, Vice President            PO Box 363846                                                                       San Juan        PR      93638‐936
Cooperativa de Seguros Multiples de Puerto Rico Attn: Roberto Castro, President                PO Box 363846                                                                       San Juan        PR      93638‐936
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO.ARMANDO FRANCESCHI FIGUEROA                      B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                     B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                     B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                GUAYNABO        PR      00968‐3029
                                                                                                                                         EDIF. VILLA NEVAREZ
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. CARLOS RIVERA MATOS                         RIVERA‐MATOS & ASOC.                          PROF. OFICINA 307                         RÍO PIEDRAS     PR      00927
COOPERATIVA DE SEGUROS MÚLTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                 B5 CALLE TABONUCO                             STE. 216              PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                    GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTARMANDO FRANCESCHI FIGUEROA                       PMB 360 SUITE 216                             CALLE TABONUCO B‐5                        GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                    GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTARMANDO FRANCESCHI FIGUEROA                       PMB 360 SUITE 216                             CALLE TABONUCO B‐5                        GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                    GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTARMANDO FRANCESCHI                                B‐5 CALLE TABONUCO                            SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                 B5 CALLE TABONUCO                             STE. 216              PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTLCDO. ARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                    GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUERTARMANDO FRANCESCHI                                B‐5 CALLE TABONUCO                            SUITE 216             PMB 360             GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES DE PUERTLIC. ARMANDO FRANCESCHI FIGUEROA                  PMB 360 SUITE 216 CALLE TABONUCO B‐5                                                    GUAYNABO        PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES DE PUJERLCDO. ARMANDO FRENCESCHI FIGUEROA                 B‐5 CALLE TABONUCO SUITE 216 PMB 360                                                    GUAYNABO        PR      00968‐3029




                                                                                                                          Page 1757 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1758 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                              Address1                                  Address2                                  Address3             Address4            City             State   PostalCode   Country
COOPERATIVA DE SEGUROS MULTIPLES PR /FIRSTLCDO. ARMANDO FRANCESCHI FIGUEROA          B‐5 CALLE TABONUCO SUITE 216 PMB 360                                               GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES Y         LCDO. ARMANDO FRANCESCHI FIGUEROA         B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES Y COOP. ARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO                        SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y COOPE ARMANDO FRANCESCHI FIGUEROA                 PMB 360 SUITE 216                         CALLE TABONUCO B‐5                       GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y COOPE LCDO. ARMANDO FRANCESCHI FIGUEROA           B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y ORIENTARMANDO FRANCESCHI FIGUEROA                 PMB 360 SUITE 216                         CALLE TABONUCO B‐5                       GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y POPULAARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO                        SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y POPULAARMANDO FRANCESCHI FIGUEROA                 PMB 360 SUITE 216                         CALLE TABONUCO B‐5                       GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y POPULALCDO. ARMANDO FRANCESCHI FIGUEROA           B‐5 CALLE TABONUCO SUITE 216 PMB 360                                               GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y POPULALCDO. ARMANDO FRANCESCHI FIGUEROA           B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES Y POPULAARMANDO FRANCESCHI FIGUEROA                 B‐5 CALLE TABONUCO                        SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y POPULALCDO. ARMANDO FRANCESCHI FIGUEROA           B‐5 CALLE TABONUCO SUITE 216 PMB 360                                               GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y POPULALCDO. ARMANDO FRANCESCHI FIGUEROA           B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y RELIAB ARMANDO FRANCESCHI FIGUEROA                PMB 360 SUITE 216                         CALLE TABONUCO B‐5                       GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y RELIAB ARMANDO FRANCESCHI FIGUEROA                B‐5 CALLE TABONUCO                        SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y RELIAB LCDO. ARMANDO FRANCESCHI FIGUEROA          B‐5 CALLE TABONUCO SUITE 216 PMB 360                                               GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y RELIAB LCDO. ARMANDO FRANCESCHI FIGUEROA          B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MULTIPLES Y RELIAB LCDO. ARMANDO FRANCESCHI FIGUEROA          B‐5 CALLE                                 TABONUCO             SUITE 216 PMB 360   GUAYNABO         PR      00968‐3029
COOPERATIVA DE SEGUROS MÚLTIPLES Y RELIAB ARMANDO FRANCESCHI FIGUEROA                B‐5 CALLE TABONUCO                        SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA DE SERV PROFESIONALES          PO BOX 194597                                                                                                                SAN JUAN         PR      00919
COOPERATIVA DE SERVICIOS LEGALES COSEL     URB RAMBLA                                1160 AVILA                                                                         PONCE            PR      00730
COOPERATIVA DE TERAPISTAS FISICOS PR       PLAZA DEL MERCADO                         1000 AVE RAFAEL CORDERO STE 23                                                     CAGUAS           PR      00725
COOPERATIVA DE VAGA ALTA                   P.O. BOX 1078                                                                                                                VEGA ALTA        PR      00692
COOPERATIVA DE VIVIENDA EL ALCAZAR         URBANIZACION SAN LUIS APT GG              500 CALLE VALCARCER                                                                SAN JUAN         PR      00923
COOPERATIVA DE YAUCO                       P.O. BOX 3010                                                                                                                YAUCO            PR      00698
COOPERATIVA DEPARTAMENTO DE AGRICULTUR EDIFICIO 1309 PADA 19 FDES. JUNCOS                                                                                               SAN JUAN         PR      00908
COOPERATIVA DEPARTAMENTO DE AGRICULTUR PO BOX 13583                                                                                                                     SAN JUAN         PR      00908‐3583
COOPERATIVA FAMILIAR PROGRESISTA           URB PUERTO NUEVO                          479 AVE DE DIEGO                                                                   SAN JUAN         PR      00920
COOPERATIVA FEDERACION DE MAESTROS         P.O. BOX 270‐275                                                                                                             SAN JUAN         PR      00928
COOPERATIVA FEDERACION DE MAESTROS DE PUFEDECOOP                                     P O BOX 270‐275                                                                    SAN JUAN         PR      00928
COOPERATIVA GASOLINERA Y SERVICIOS         BUENA VISTA                               RR 5 BOX 8418                                                                      BAYAMON          PR      00956
COOPERATIVA JARDINES DE SAN IGNACIO        1690 CALLE SAN GUILLERMO OFIC 112 A                                                                                          SAN JUAN         PR      00927
COOPERATIVA JARDINES DE VALENCIA           ESQ NAVANA                                CALLE PEREIRA LEAL                                                                 SAN JUAN         PR      00925
COOPERATIVA JARDINES DE VALENCIA           URB VALENCIA                              631 CALLE PERREIRA LEAL                   ESQUINA NAVARRA                          RIO PIEDRAS      PR      00923
COOPERATIVA JESUS OBRERO                   PMB 159‐HC01                                                                                                                 CAGUAS           PR      00725
COOPERATIVA JESUS OBRERO                   PO BOX 29030                                                                                                                 CAGUAS           PR      00725‐8900
COOPERATIVA JOSE CORTES CORDERO            2250 AVE LAS AMERICAS SUITE 596                                                                                              PONCE            PR      00717‐9997
COOPERATIVA LA PUERTORRIQUENA              ATT: SRA. LILLIAM RIVERA                  PO BOX 20645                                                                       SAN JUAN         PR      00928‐0645
COOPERATIVA LA PUERTORRIQUEÑA              APARTADO 20645                                                                                                               SAN JUAN         PR      00928‐0645
COOPERATIVA LA SAGRADA FAMILIA             AVENIDA AMERICO MIRANDA 1125                                                                                                 SAN JUAN         PR      00921
COOPERATIVA LA SAGRADA FAMILIA             AVENIDA AMERICO MIRANDA 1125 CAPARRA TERRACE                                                                                 SAN JUAN         PR      00921
COOPERATIVA LA SAGRADA FAMILIA             P.O. BOX 102                                                                                                                 COROZAL          PR      00783‐0102
COOPERATIVA OFFICOOP                       SUPPLY                                    PO BOX 3373                                                                        ARECIBO          PR      00613‐3373
COOPERATIVA OFICIALES DE CUSTODIA          CALLE 54 SE #1100                         REPARTO METROPOLITANO                                                              SAN JUAN         PR      00921
COOPERATIVA PRENSA UNIDA D/B/A             PO BOX 364302                                                                                                                SAN JUAN         PR      00936‐4302
COOPERATIVA REGLA DE ORO                   RR05 BOX 8755                                                                                                                BAYAMON          PR      00956
COOPERATIVA ROOSEVELT ROADS                PO BOX 31                                                                                                                    FAJARDO          PR      00738
COOPERATIVA SAN JOSE                       BOX MONTE LLANO CARRETERA 1 2800 JESUS T PINEIRO                                                                             SAN JUAN         PR      00736
COOPERATIVA SAN JOSE                       PO BOX 2020                                                                                                                  AIBONITO         PR      00705‐2020
COOPERATIVA SAN RAFAEL                     PO BOX 1531                                                                                                                  QUEBRADILLA      PR      00678
COOPERATIVA SAN RAFAEL                     PO BOX 1531                                                                                                                  QUEBRADILLAS     PR      00678
COOPERATIVA SEGUROS MULTIPLES              LCDO. ARMANDO FRANCESCHI FIGUEROA         B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA SEGUROS MULTIPLES & FIRST BANLCDO. ARMANDO FRANCESCHI FIGUEROA           B‐5 CALLE TABONUCO SUITE 216 PMB 360                                               GUAYNABO         PR      00968‐3029
COOPERATIVA SEGUROS MULTIPLES DE PUERTO LCDO. ARMANDO FRENCESCHI FIGUEROA            B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA SEGUROS MULTIPLES Y RELIABLE FLCDO. ARMANDO FRANCESCHI FIGUEROA          B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA SEGUROS MÚLTIPLES Y RELIABLE FLCDO. ARMANDO FRANCESCHI FIGUEROA          B5 CALLE TABONUCO                         STE. 216             PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA SEGUROS MULTIPLES, RELIABLE FI LCDO. ARMANDO FRENCESCHI FIGUEROA         B5 CALLE TABONUCO                         SUITE 216            PMB 360             GUAYNABO         PR      00968‐3029
COOPERATIVA SEGUROS Y LUIS O. RODRIGUEZ VELCDO. ARMANDO FRANCESCHI FIGUEROA          B‐5 CALLE TABONUCO SUITE 216 PMB 360                                               GUAYNABO         PR      00968‐3029
COOPERATIVA SERV. INTEGRADOS A LA NINEZ AVE. SAN CLAUDIO 366                         URB SAGRADO CORAZON                                                                CUPEY            PR      00926
COOPERATIVA SERV. INTEGRADOS A LA NINEZ PO BOX 969                                                                                                                      SAINT JUST       PR      00978‐0969




                                                                                                                Page 1758 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1759 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                                   Address1                               Address2                                  Address3           Address4   City                State   PostalCode   Country
COOPERATIVA ZENO GANDIA                         AVE. DOMECNECH 353 SUITE 1                                                                                     HATO REY S,J.       PR      00918
COOPERATIVA ZENO GANDIA                         PO BOX 1865                                                                                                    ARECIBO             PR      00613‐1865
COOPERATIVA. DE SEGUROS MULTIPLES DE P.R. YLCDO. ARMANDO FRANCESCHI FIGUEROA           B‐5 CALLE TABONUCO SUITE 216 PMB 360                                    GUAYNABO            PR      00968‐3029
COOPERATIVAS DE A/C SAN RAFAEL                  PO BOX 1531                                                                                                    QUEBRADILLAS        PR      00678‐1531
COOPERATIVAS DE A/C SAN RAFAEL                  PO BOX 598                                                                                                     PENUELAS            PR      00624
COOPERS & LYBRAND                               PO BOX 363929                                                                                                  SAN JUAN            PR      00936‐3929
COOPERSTOWN & COOPERSONS DEVELOPER              PO BOX 993                                                                                                     CAMUY               PR      00627
COOPERTIVA A/C PADRE RUFFOLO                    PO BOX 1553                                                                                                    VILLALBA            PR      00766
COOPERVISION CARIBBEAN CORP.                    500 CARR 584                           AMUELAS INDUSTRIAL PARK                                                 JUANA DIAZ          PR      00795
Coordinadora Unitaria de Trabajadores del EstadoTorres Montalvo, Federico              Urb Puerto Nuevo                          1214 Calle Cádiz              San Juan            PR      00920
COORDINATED HEALTH SYSTEMS                      PO BOX 61507                                                                                                   KING OF PRUSSIA     PA      19406
COOTS IGLESIAS, ASTOR                           ADDRESS ON FILE
COPA AIR LINE                                   MILENNIUM PARK PLAZA                   102 METRO OFFICE PARK 15 CALLE 2                                        GUAYNABO            PR      00968
COPA COQUI TENIS INC                            PO BOX 9203                                                                                                    SAN JUAN            PR      00908
COPA LEGISLADOR DE FUTBOL INC                   P O BOX 9693                                                                                                   CAGUAS              PR      00726‐9693
COPAMARINA BEACH RESORT,CONCHO                  Y/O SAPO CORP.                         P. O. BOX 805                                                           GUANICA             PR      00653
Cope Garcia, James                              ADDRESS ON FILE
COPE GARCIA, JAMES                              ADDRESS ON FILE
COPE LLITERAS, JOAN I                           ADDRESS ON FILE
COPECA INC                                      PO BOX 250456                          RAMEY                                                                   AGUADILLA           PR      00604
COPEK SCHOOL INC                                33 CALLE PALMER                                                                                                SALINAS             PR      00751
COPELAND GARCIA, LYNNETTE                       ADDRESS ON FILE
COPELAND, KIMIE                                 ADDRESS ON FILE
COPELIZ PASTRY SHOP                             125 AVE WINSTON CHURCHULL                                                                                      SAN JUAN            PR      00926‐6018
COPIADORA DOUBLEDEY INC                         53 CALLE QUISQUEYA                                                                                             SAN JUAN            PR      00917‐1202
COPIADORAS DOUBLEDEY                            53 CALLE QUISQUEYA                                                                                             SAN JUAN            PR      00917‐1202
COPIER BUSTER SERVICES CORP                     AVENIDA ROBERTO CLEMENTE 115 A‐2       VILLA CAROLINA                                                          CAROLINA            PR      00985
COPIER DEPOT CORP                               CAPARRA TERRACE                        1525 AVE JESUS T PINEIRO                                                SAN JUAN            PR      00921
COPIERS AND PRINTERS SOLUTIONS                  PO BOX 0113                                                                                                    COAMO               PR      00769
COPLIN ACOSTA, ANDRES                           ADDRESS ON FILE
COPLIN FLORIMON, YOEL                           ADDRESS ON FILE
COPLIN GUERRERO, MARILYN                        ADDRESS ON FILE
COPPIN BALD, ANNETTE M                          ADDRESS ON FILE
COPPIN MIRANDA, ANN M                           ADDRESS ON FILE
COPPIN RIVERA, SONIA                            ADDRESS ON FILE
COPPOLA MUÑOZ MD, ANGELO                        ADDRESS ON FILE
COPRA MONTALVO, ANGEL                           ADDRESS ON FILE
COPY AVENUE                                     252 N RAMON E BETANCES MAYAGUEZ TOWN CENTER 2DO PISO                                                           MAYAGUEZ            PR      00680
COPY COLOR                                      P O BOX 90                                                                                                     MERCEDITA           PR      00715‐0090
COPY DU                                         CAMPO RICO 757 COUNTRY CLUB                                                                                    RIO PIEDRAS         PR      00924
COPY DU SERVICES                                PO BOX 29768                                                                                                   SAN JUAN            PR      00929‐9768
COPY TECH                                       371‐C CALLE POST SUR                                                                                           MAYAGUEZ            PR      00680
COPY TECH                                       P O BOX 890                                                                                                    MAYAGUEZ            PR      00681
COPY TECH                                       PO BOX 4399                                                                                                    MAYAGUEZ            PR      00681
COQUI AUTO PARTS                                HC 72 BOX COQUI 2                                                                                              NARANJITO           PR      00719
COQUI BLOOD SALVAGE INC                         URB BOSQUE VERDE                       112 CALLE AGUILA                                                        CAGUAS              PR      00727‐6985
COQUI CATERING & RENTAL SERVICE                 PO BOX 6017                            PMB 420                                                                 CAROLINA            PR      00771‐9715
COQUI GRAMS                                     EDIF DARLINTON                         AVE MUNOZ RIVERA SUITE 1106                                             SAN JUAN            PR      00926
COQUI MEDICAL EQUIPMENT , INC.                  HC 02 BOX 8155                                                                                                 AIBONITO            PR      00705‐0000
COQUI YOGA INC                                  PO BOX 16101                                                                                                   SAN JUAN            PR      00908‐6101
COQUI.NET CORP                                  PO BOX 71483                                                                                                   SAN JUAN            PR      00936‐8583
COQUINTERACTIVE INC                             URB PEREZ MORIS 96                     CALLE MAYAGUEZ                                                          SAN JUAN            PR      00917‐5116
COQUITEL, LLC                                   PO BOX 496                                                                                                     OROCOVIS            PR      00720
Cora Acosta, Jimmy                              ADDRESS ON FILE
CORA ALICEA, NORMA L                            ADDRESS ON FILE
CORA ALVAREZ, AMELIA                            ADDRESS ON FILE
CORA AMARO, ANGELICA M                          ADDRESS ON FILE
CORA AMARO, JOSE                                ADDRESS ON FILE
CORA AMARO, ROSELLE E                           ADDRESS ON FILE
CORA AMARO, YADIRA DAMARIS                      ADDRESS ON FILE




                                                                                                                  Page 1759 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1760 of 3500
                                                                            17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                Address1                  Address2                                 Address3           Address4   City         State   PostalCode   Country
CORA ANAYA, LITZY M.         ADDRESS ON FILE
CORA ANTUNA, EDUARDO         ADDRESS ON FILE
Cora Ayala, Betzaida         ADDRESS ON FILE
CORA AYALA, BETZAIDA         ADDRESS ON FILE
CORA AYALA, CASERINE         ADDRESS ON FILE
CORA BENITEZ, PEDRO JORGE    ADDRESS ON FILE
CORA BONES, ANA M            ADDRESS ON FILE
CORA BONES, CAROL            ADDRESS ON FILE
CORA BONES, CAROL R          ADDRESS ON FILE
CORA BONET, VIVIANA          ADDRESS ON FILE
CORA CADIZ, HECTOR N.        ADDRESS ON FILE
CORA CAMACHO, LIZETTE E.     ADDRESS ON FILE
CORA CAMACHO, MAYRA A        ADDRESS ON FILE
CORA CANDELARIO, YOLANDA I   ADDRESS ON FILE
CORA CASADO, FRANCISCO       ADDRESS ON FILE
CORA CINTRON, MARIA          ADDRESS ON FILE
CORA COCHRAM, MADELINE       ADDRESS ON FILE
CORA COLLAZO, JOSE           ADDRESS ON FILE
CORA COLON, LIZA             ADDRESS ON FILE
CORA CORA, ANA PETRA         ADDRESS ON FILE
CORA CORA, CARMEN D          ADDRESS ON FILE
CORA CORA, LYDIA             ADDRESS ON FILE
Cora Cora, Zoraida           ADDRESS ON FILE
Cora Corcino, Carlos M       ADDRESS ON FILE
CORA CRUZ, FELIPE            ADDRESS ON FILE
Cora Cruz, Francisco         ADDRESS ON FILE
CORA DELGADO, ELSA Y         ADDRESS ON FILE
CORA DELGADO, LILLIAN        ADDRESS ON FILE
CORA DELGADO, LUZ            ADDRESS ON FILE
CORA DELGADO, RAFAELINA      ADDRESS ON FILE
CORA DIAZ, LEONARD           ADDRESS ON FILE
CORA DIAZ, LUZ L             ADDRESS ON FILE
CORA FERREIRA, ROBERTO       ADDRESS ON FILE
CORA FERREIRA, SHARON        ADDRESS ON FILE
CORA FIGUEROA, EDNA I        ADDRESS ON FILE
CORA FIGUEROA, EFRAIN        ADDRESS ON FILE
CORA FIGUEROA, HELEN P       ADDRESS ON FILE
CORA FIGUEROA, LUIS          ADDRESS ON FILE
CORA FIGUEROA, MARIBEL       ADDRESS ON FILE
CORA FLORES, ALBERTO         ADDRESS ON FILE
CORA FUENTES, KELVIN J.      ADDRESS ON FILE
CORA GARCIA, ADELA           ADDRESS ON FILE
CORA GARRAFA, CARMEN Z       ADDRESS ON FILE
CORA GOMEZ, CARLOS M.        ADDRESS ON FILE
CORA GOMEZ, IDEL             ADDRESS ON FILE
CORA GOMEZ, LENNY            ADDRESS ON FILE
CORA GOMEZ, LENNY            ADDRESS ON FILE
CORA GOMEZ, WIGBERTO         ADDRESS ON FILE
CORA GONZALEZ, CORALIS       ADDRESS ON FILE
CORA GONZALEZ, JOSE          ADDRESS ON FILE
CORA GONZALEZ, YOLANDA       ADDRESS ON FILE
CORA GUAL, CARMEN            ADDRESS ON FILE
CORA GUILFU, JOSE M          ADDRESS ON FILE
CORA H ARCE RIVERA           ADDRESS ON FILE
CORA H. ARCE RIVERA          CALLE DE DIEGO            CONDIMUNIO DE DIEGO 444                  APARTAMENTO 1707              SAN JUAN     PR      00923
CORA HERNANDEZ, LESLIE       ADDRESS ON FILE
CORA HERNANDEZ, MARIA        ADDRESS ON FILE
CORA HUERTAS, ADA I          ADDRESS ON FILE
CORA HUERTAS, ERNESTO J      ADDRESS ON FILE
CORA HUERTAS, LUCILA         ADDRESS ON FILE




                                                                                 Page 1760 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1761 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
CORA IRAOLA, MARIA DEL C     ADDRESS ON FILE
CORA LIND, MARIA DE LOS M    ADDRESS ON FILE
Cora Lopez, Juanita          ADDRESS ON FILE
CORA LOPEZ, ROXANNY          ADDRESS ON FILE
CORA LUGO, LYDIA E           ADDRESS ON FILE
CORA MANAGEMENT GROUP INC    18 CALLE RUFINO                                                                  GUAYANILLA     PR      00656
CORA MARRERO, MARILYN        ADDRESS ON FILE
CORA MARTINEZ, ANGEL         ADDRESS ON FILE
CORA MARTINEZ, LYMARIE       ADDRESS ON FILE
CORA MARTINEZ, MARIALICES    ADDRESS ON FILE
CORA MAURAS, ANIBAL          ADDRESS ON FILE
CORA MAYSONET, KATHERINE     ADDRESS ON FILE
CORA MEDERO, ORLANDO A       ADDRESS ON FILE
CORA MEDINA, NILMA           ADDRESS ON FILE
CORA MENDEZ, JACQUELINE      ADDRESS ON FILE
CORA MONTANEZ, GUILLERMINA   ADDRESS ON FILE
Cora Montanez, Jimmy         ADDRESS ON FILE
CORA MORALES, IRMA           ADDRESS ON FILE
CORA MORALES, LOURDES        ADDRESS ON FILE
CORA MORALES, PEDRO          ADDRESS ON FILE
CORA MORALES, ROSELYN        ADDRESS ON FILE
CORA MORALES, YADELINE       ADDRESS ON FILE
CORA NAVARRO, JESUS A        ADDRESS ON FILE
Cora Negron, Elvin R         ADDRESS ON FILE
CORA NEGRON, RAFAEL          ADDRESS ON FILE
CORA NIEVES, MAYRA L         ADDRESS ON FILE
CORA OCASIO, GLADYS E.       ADDRESS ON FILE
CORA OCASIO, MARLENE         ADDRESS ON FILE
CORA OCASIO, RAQUEL          ADDRESS ON FILE
CORA OCASIO, WANDA I         ADDRESS ON FILE
CORA ORTIZ, CARMEN L         ADDRESS ON FILE
CORA ORTIZ, ENID             ADDRESS ON FILE
CORA ORTIZ, EVELYN I         ADDRESS ON FILE
CORA ORTIZ, JUAN P.          ADDRESS ON FILE
Cora Ortiz, Laureano         ADDRESS ON FILE
CORA ORTIZ, LAUREANO         ADDRESS ON FILE
Cora Ortiz, Maria Del C.     ADDRESS ON FILE
CORA PABON, JENNIE           ADDRESS ON FILE
CORA PAGAN, NORMARIE         ADDRESS ON FILE
CORA PAGAN, ROSA             ADDRESS ON FILE
CORA PENA, JEAN DE L         ADDRESS ON FILE
CORA PENA, LIVIA E           ADDRESS ON FILE
CORA PENA, MARIA DEL C       ADDRESS ON FILE
CORA PENA, MARIA S           ADDRESS ON FILE
CORA PENA, RUBEN             ADDRESS ON FILE
CORA PEREZ, AMINDA           ADDRESS ON FILE
CORA PEREZ, MICHELLE         ADDRESS ON FILE
CORA PEREZ, PEDRO            ADDRESS ON FILE
CORA PINTO, ZULMA            ADDRESS ON FILE
CORA PLANADEBALL, MIGUEL     ADDRESS ON FILE
CORA POLANCO, VALERIE        ADDRESS ON FILE
CORA QUINTERO, IRIS Y.       ADDRESS ON FILE
CORA RAMOS, ADRIAN B         ADDRESS ON FILE
CORA RAMOS, CARLOS M         ADDRESS ON FILE
Cora Ramos, Jose M           ADDRESS ON FILE
CORA RAMOS, MARIA M          ADDRESS ON FILE
CORA RAMOS, MAYRA T          ADDRESS ON FILE
CORA RAMSEY, ELVIRA          ADDRESS ON FILE
CORA RAMSEY, LAURA           ADDRESS ON FILE
CORA REYES, ADA L            ADDRESS ON FILE




                                                                         Page 1761 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1762 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORA REYES, ITZAMARIE           ADDRESS ON FILE
CORA RIVERA MD, VILMA           ADDRESS ON FILE
CORA RIVERA, BETSY E            ADDRESS ON FILE
CORA RIVERA, DIANILU            ADDRESS ON FILE
Cora Rivera, Francisco J        ADDRESS ON FILE
CORA RIVERA, JESSICA I.         ADDRESS ON FILE
CORA RIVERA, LESLIE             ADDRESS ON FILE
CORA RIVERA, MARIA DE LOS       ADDRESS ON FILE
CORA RIVERA, MARIA DEL C        ADDRESS ON FILE
CORA RIVERA, MARITZA            ADDRESS ON FILE
Cora Rivera, Pedro Rafael III   ADDRESS ON FILE
CORA RIVERA, ROBERTO            ADDRESS ON FILE
CORA ROBLES, NIVIA E            ADDRESS ON FILE
CORA RODRIGUEZ, CLARIBEL        ADDRESS ON FILE
CORA RODRIGUEZ, JESUS M         ADDRESS ON FILE
CORA RODRIGUEZ, JOSE            ADDRESS ON FILE
CORA RODRIGUEZ, MARICELIS       ADDRESS ON FILE
CORA RODRIGUEZ, MILAGROS        ADDRESS ON FILE
CORA RODRIUEZ, DAMARIS          ADDRESS ON FILE
CORA ROLON, LUZ M               ADDRESS ON FILE
CORA ROMAN, CARLOS E            ADDRESS ON FILE
CORA ROMERO, JESUS              ADDRESS ON FILE
CORA ROMERO, RAMON              ADDRESS ON FILE
CORA ROSA, ANGEL O.             ADDRESS ON FILE
CORA ROSA, BALOIS               ADDRESS ON FILE
CORA ROSA, JOSE J               ADDRESS ON FILE
CORA ROSA, MARITZA              ADDRESS ON FILE
CORA ROSA, MARITZA              ADDRESS ON FILE
CORA ROSA, OSCAR R              ADDRESS ON FILE
CORA SALDANA, GERARDO           ADDRESS ON FILE
CORA SALGADO, HORACIO           ADDRESS ON FILE
CORA SANABRIA, VERONICA         ADDRESS ON FILE
CORA SANCHEZ, JOSE              ADDRESS ON FILE
CORA SANTIAGO, BRENDA L         ADDRESS ON FILE
CORA SANTIAGO, JENNY            ADDRESS ON FILE
CORA SANTIAGO, KORA             ADDRESS ON FILE
CORA SANTIAGO, LORENZA          ADDRESS ON FILE
CORA SANTIAGO, LORENZA E        ADDRESS ON FILE
CORA SANTIAGO, LUIS             ADDRESS ON FILE
CORA SANTIAGO, ROSA E           ADDRESS ON FILE
CORA SERRANO, JUAN              ADDRESS ON FILE
Cora Silva, Roquecora           ADDRESS ON FILE
CORA SOTO, SIARIS M             ADDRESS ON FILE
CORA SUAREZ, NICOLASA           ADDRESS ON FILE
CORA SUAREZ, NICOLASA           ADDRESS ON FILE
CORA SUAREZ, WANDA I            ADDRESS ON FILE
CORA TEXIDOR, IXIA              ADDRESS ON FILE
CORA TEXIDOR, IXIA              ADDRESS ON FILE
CORA TIRADO, ANDRES             ADDRESS ON FILE
CORA TIRADO, MARIA DEL C        ADDRESS ON FILE
CORA TIRADO, OSVALDO            ADDRESS ON FILE
CORA TIRADO, RAMON L            ADDRESS ON FILE
CORA TORRES, CERMA C            ADDRESS ON FILE
CORA VEGA, ANGEL L.             ADDRESS ON FILE
CORA VEGA, EDGAR                ADDRESS ON FILE
Cora Velazquez, Carmelo         ADDRESS ON FILE
CORA VELAZQUEZ, LUZ             ADDRESS ON FILE
CORA YEYE, JOSUE M              ADDRESS ON FILE
CORA ZAMBRANA, LISMARI          ADDRESS ON FILE
CORA ZEPPENFELDT, CARMEN J      ADDRESS ON FILE




                                                                            Page 1762 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1763 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                            Address1                       Address2                      Address3   Address4   City                  State   PostalCode   Country
CORA, ANGEL                              ADDRESS ON FILE
CORA, ANIBAL                             ADDRESS ON FILE
CORA, BRUNILDA                           ADDRESS ON FILE
CORA, LUIS                               ADDRESS ON FILE
CORA, LYDIA E                            ADDRESS ON FILE
CORA, LYDIA ESTHER                       SPT ‐ SPU                      PO BOX 25160                                        RIO PIEDRAS STATION   PR      00925‐5160
CORA, LYDIA M                            ADDRESS ON FILE
CORADIN RUIZ, RAFAEL I                   ADDRESS ON FILE
CORAHANIS VELEZ, DINORAH                 ADDRESS ON FILE
CORAHANIS VELEZ, MIGUEL                  ADDRESS ON FILE
Corahanis Velez, Miguel A.               ADDRESS ON FILE
CORAHANIS VELEZ, PATRICIA                ADDRESS ON FILE
CORAIMA NIEVES PEREZ                     HC 6 BOX 13931                                                                     COROZAL               PR      00783
CORAL APONTE RIVERA                      ADDRESS ON FILE
CORAL BRAVO RAMIREZ                      ADDRESS ON FILE
CORAL BY THE SEA HOTEL/DYNAMIC SOLAR SOL ISLA VERDE                     2 CALLE ROSA                                        CAROLINA              PR      00979
CORAL CUMMINGS PINO                      ADDRESS ON FILE
CORAL CUMMINGS PINO                      ADDRESS ON FILE
CORAL D TORRES SANTANA                   ADDRESS ON FILE
CORAL DEL MAR FONTANEZ CASTILLO          ADDRESS ON FILE
CORAL DEL MAR RIVERA MORALES             ADDRESS ON FILE
CORAL GABLES HOSPITAL                    PO BOX 19058                                                                       GREEN BAY             WI      54307
CORAL HERNANDEZ FELICIANO                ADDRESS ON FILE
CORAL I ROMAN MARTINEZ                   ADDRESS ON FILE
CORAL I SALDANA ROBLES                   ADDRESS ON FILE
CORAL ISRAEL                             ADDRESS ON FILE
CORAL KITCHEN                            #16 CALLE E JARDINES ARECIBO                                                       ARECIBO               PR      00612
CORAL L CARTAGENA FIGUEROA               ADDRESS ON FILE
CORAL LEE BEAUCHAMP NIEVES               ADDRESS ON FILE
CORAL LONGO RIVERA                       ADDRESS ON FILE
CORAL M GOMEZ MORET                      ADDRESS ON FILE
CORAL M RIVERA TORRES                    ADDRESS ON FILE
CORAL M RODRIGUEZ PLAUD                  ADDRESS ON FILE
CORAL M SANTIAGO SANTIAGO                ADDRESS ON FILE
CORAL M. NUNEZ DENNIS                    ADDRESS ON FILE
CORAL MORALES CAMACHO                    ADDRESS ON FILE
CORAL PAGAN MIRANDA                      ADDRESS ON FILE
CORAL REEF ALLIANCE CORAL                ADDRESS ON FILE
Coral Rental Special Events, Inc.        39 Betances St                                                                     Vega Baja             PR      00693
CORAL RIVERA COLLAZO                     ADDRESS ON FILE
CORAL SPRINGS MEDICAL CENTER             3000 CORAL HILLS DRIVE                                                             CORAL SPRINGS         FL      33065
CORAL V CARABALLO SANTIAGO               ADDRESS ON FILE
CORAL V GONZALEZ SANCHEZ                 ADDRESS ON FILE
CORAL VALE VARGAS                        ADDRESS ON FILE
CORAL VAZQUEZ MINONDO                    ADDRESS ON FILE
CORAL X RUIZ BERGOLLO                    ADDRESS ON FILE
CORALAIDEE JIMENEZ BURGOS                ADDRESS ON FILE
CORALAIDEE JIMENEZ BURGOS                ADDRESS ON FILE
Corales Alameda, Gloria E                ADDRESS ON FILE
CORALES CABRERA, JOAN                    ADDRESS ON FILE
CORALES CABRERA, JOHN                    ADDRESS ON FILE
Corales Casiano, Neftali                 ADDRESS ON FILE
CORALES CLETO, FELIX                     ADDRESS ON FILE
CORALES ESPINOSA, LILLIAN V              ADDRESS ON FILE
CORALES GARCIA, CANDIDA E                ADDRESS ON FILE
CORALES GARCIA, ZENAIDA                  ADDRESS ON FILE
CORALES HERNANDEZ, MARY                  ADDRESS ON FILE
CORALES ORENGO, JUAN                     ADDRESS ON FILE
CORALES ORENGO, JUAN R                   ADDRESS ON FILE
CORALES PAGAN, FRANCISCO J.              ADDRESS ON FILE




                                                                                       Page 1763 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1764 of 3500
                                                                                17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                    Address1                           Address2                        Address3   Address4   City         State   PostalCode   Country
CORALES PAGAN, IVIS A            ADDRESS ON FILE
CORALES PAGAN, JOSE              ADDRESS ON FILE
CORALES PAGAN, RODOLFO           ADDRESS ON FILE
CORALES RAMOS, EVELYN A          ADDRESS ON FILE
Corales Ramos, Luis A            ADDRESS ON FILE
CORALES RAMOS, RAUL              ADDRESS ON FILE
CORALES RIVERA, DAMARIS E        ADDRESS ON FILE
CORALES RIVERA, DIANNE           ADDRESS ON FILE
CORALES TORRES, HIPOLITA A       ADDRESS ON FILE
CORALES VALLE, GIOVANNI          ADDRESS ON FILE
CORALES, CASA                    ADDRESS ON FILE
CORALET D VELAZQUEZ CLEMENTE     ADDRESS ON FILE
CORALI A VEGA LARACUENTE         ADDRESS ON FILE
CORALI CASTRO FONT               ADDRESS ON FILE
CORALI GARCIA ACABA              ADDRESS ON FILE
CORALI L CHAVES DAVILA           ADDRESS ON FILE
CORALI MUSSE YOUNIS              ADDRESS ON FILE
CORALI NAMAR LOPEZ CASTRO        ADDRESS ON FILE
CORALIE MORALES MATOS            ADDRESS ON FILE
CORALIE MORALES MATOS            ADDRESS ON FILE
CORALIN SANCHEZ, GRACIELA I.     ADDRESS ON FILE
CORALIS CAMACHO IRIZARRY         ADDRESS ON FILE
CORALIS DEL M RODRIGUEZ GARCIA   ADDRESS ON FILE
CORALIS DOMINGUEZ OYOLA          ADDRESS ON FILE
CORALIS E FELICIANO LOPEZ        ADDRESS ON FILE
CORALIS E. ROSARIO GUZMAN        ADDRESS ON FILE
CORALIS GARCIA MARTINEZ          ADDRESS ON FILE
CORALIS GARCIA MARTINEZ          ADDRESS ON FILE
CORALIS GONZALEZ AGUIRRE         ADDRESS ON FILE
CORALIS JIMENEZ GOMEZ            ADDRESS ON FILE
CORALIS M MORALES TORRES         ADDRESS ON FILE
CORALIS MALDONADO RIVERA         ADDRESS ON FILE
CORALIS MELENDEZ PANTOJAS        ADDRESS ON FILE
CORALIS MENENDEZ ROSARIO         ADDRESS ON FILE
CORALIS N GONZALEZ BOSQUE        ADDRESS ON FILE
CORALIS RIVERA ANDUJAR           ADDRESS ON FILE
CORALIS SANCHEZ LAPORTE          ADDRESS ON FILE
CORALIS SANTEL MELENDEZ          ADDRESS ON FILE
CORALIS Y BONILLA AVILES         ADDRESS ON FILE
CORALIZ FERNANDEZ, ISRAEL I      ADDRESS ON FILE
CORALIZ ORTIZ, MAGDA E           ADDRESS ON FILE
CORALIZ PEREZ PEREZ              ADDRESS ON FILE
CORALIZ SESENTON, VIRGINIA       ADDRESS ON FILE
CORALLY SANCHEZ ROSADO           ADDRESS ON FILE
CORALLY VEGUILLA TORRES          ADDRESS ON FILE
CORALY ALBINO RIVERA             ADDRESS ON FILE
CORALY ANTONGIORGI DIAZ          ADDRESS ON FILE
CORALY B ORTIZ NIEVES            ADDRESS ON FILE
CORALY BETANCOURT PARET          ADDRESS ON FILE
CORALY DIAZ VAZQUEZ              ADDRESS ON FILE
CORALY ESCORIAZA                 ADDRESS ON FILE
CORALY I SOTOMAYOR DELESTRE      ADDRESS ON FILE
CORALY JIMENEZ                   LCDA. JELKA L. DUCHESNE SANABRIA   PO BOX 9020703                                        SAN JUAN     PR      00902‐0703
Coraly Torres Rosas              ADDRESS ON FILE
Coraly Torres Rosas              ADDRESS ON FILE
CORALYS CASTRO CARMONA           ADDRESS ON FILE
CORALYS E LOPEZ RIVERA           ADDRESS ON FILE
CORALYS FERNANDEZ GAUD           ADDRESS ON FILE
CORALYS GUZMAN RIVERA            ADDRESS ON FILE
CORALYS J ROSA BONILLA           ADDRESS ON FILE




                                                                                     Page 1764 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1765 of 3500
                                                                              17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                  Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
CORALYS MALDONADO DE JESUS     ADDRESS ON FILE
CORALYS MELENDEZ LEBRON        ADDRESS ON FILE
CORALYS N COLON ROSARIO        ADDRESS ON FILE
CORALYS SANTIAGO, GALARZA      ADDRESS ON FILE
CORALYS Y. TORRES COLLAZO      ADDRESS ON FILE
CORAMAURAS, ANIBAL             ADDRESS ON FILE
CORASILVA RIVERA, PEDRO        ADDRESS ON FILE
CORATEX CONSTRUCTION           HC 71 BOX 7711                                                                     CAYEY        PR      00736
CORAZON CARMONA, MIGUEL        ADDRESS ON FILE
CORAZON ORTIZ, CLARYAM         ADDRESS ON FILE
CORAZON ORTIZ, SOFIA N         ADDRESS ON FILE
CORAZON ORTIZ, YARIMAR         ADDRESS ON FILE
CORAZON RIVERA, JACKELINE      ADDRESS ON FILE
CORAZON RIVERA, JANET          ADDRESS ON FILE
Corazon Rivera, Raymond        ADDRESS ON FILE
CORAZON RIVERA, RAYMOND        ADDRESS ON FILE
CORAZON ROSADO, JULIO H.       ADDRESS ON FILE
CORAZON TORRES, CARMEN I       ADDRESS ON FILE
CORAZON TORRES, JUAN           ADDRESS ON FILE
CORAZON VICENTY, REY           ADDRESS ON FILE
CORBAN DELIVERY SERVICES       URB LEVITTOWN             6 MUNOZ RIVERA EV                                        TOA BAJA     PR      00950
CORBET MARRERO, IVETTE         ADDRESS ON FILE
CORBET NIEVES, MANUEL A.       ADDRESS ON FILE
CORBET RIVERA, DELIA M.        ADDRESS ON FILE
CORCHADO AGOSTINI, GREGORIO    ADDRESS ON FILE
CORCHADO AGOSTINI, SUZENNE     ADDRESS ON FILE
Corchado Alago, Juan A         ADDRESS ON FILE
CORCHADO ALERS, DARIS I        ADDRESS ON FILE
CORCHADO AROCHO, ARLENE        ADDRESS ON FILE
CORCHADO AROCHO, MARLENE       ADDRESS ON FILE
Corchado Badillo, Ricardo      ADDRESS ON FILE
CORCHADO BARRETO MD, MARCOS    ADDRESS ON FILE
CORCHADO BARRETO, LUIS         ADDRESS ON FILE
CORCHADO CABAN, CESAR          ADDRESS ON FILE
CORCHADO CABAN, CESAR          ADDRESS ON FILE
CORCHADO CARIDES, ANGEL        ADDRESS ON FILE
Corchado Carides, Angel M      ADDRESS ON FILE
CORCHADO CARRION, YASMANI      ADDRESS ON FILE
CORCHADO CASTRO, CARMEN Z      ADDRESS ON FILE
Corchado Castro, Felix         ADDRESS ON FILE
CORCHADO CASTRO, FELIX         ADDRESS ON FILE
CORCHADO COLON, ALBERTO        ADDRESS ON FILE
CORCHADO COLON, ANA D          ADDRESS ON FILE
CORCHADO COLON, JORGE L        ADDRESS ON FILE
CORCHADO COLON, LUIS A.        ADDRESS ON FILE
CORCHADO COLON, NILDA          ADDRESS ON FILE
CORCHADO CORCHADO, CRUZ D.     ADDRESS ON FILE
CORCHADO CORCHADO, JEYSON      ADDRESS ON FILE
CORCHADO CORCHADO, ROLANDO O   ADDRESS ON FILE
CORCHADO CORCHADO,EFRAIN       ADDRESS ON FILE
Corchado Cordero, Cecilio      ADDRESS ON FILE
CORCHADO CRUS, LISBETH         ADDRESS ON FILE
CORCHADO CRUZ, MILAGROS        ADDRESS ON FILE
Corchado Cruz, Pablo           ADDRESS ON FILE
CORCHADO CRUZ, YELITZA         ADDRESS ON FILE
CORCHADO CUBANO, ROLANDO       ADDRESS ON FILE
CORCHADO CUBERO, ELSA          ADDRESS ON FILE
CORCHADO CUBERO, MIGDALIA      ADDRESS ON FILE
CORCHADO CUBERO, NOEL          ADDRESS ON FILE
CORCHADO CUEVAS, ANNETTE M.    ADDRESS ON FILE




                                                                             Page 1765 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1766 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORCHADO CUEVAS, ANNETTE M.       ADDRESS ON FILE
CORCHADO CUEVAS, JUAN C           ADDRESS ON FILE
CORCHADO CURBELO, CARMEN A        ADDRESS ON FILE
CORCHADO CURBELO, LYDIA           ADDRESS ON FILE
CORCHADO DAVILA, MARIA M          ADDRESS ON FILE
Corchado De Rivera, Elizabeth     ADDRESS ON FILE
CORCHADO ECHEVARRIA, LUIS A.      ADDRESS ON FILE
CORCHADO ESTRADA, ALBA J          ADDRESS ON FILE
CORCHADO ESTRADA, FELIX           ADDRESS ON FILE
CORCHADO ESTRADA, WILLY           ADDRESS ON FILE
CORCHADO FERNANDEZ, CARMEN I      ADDRESS ON FILE
CORCHADO FERNANDEZ, JUAN          ADDRESS ON FILE
CORCHADO FRONTANEZ, JOSE          ADDRESS ON FILE
CORCHADO GONZALEZ, ASLIN M        ADDRESS ON FILE
CORCHADO GONZALEZ, GLORIA         ADDRESS ON FILE
CORCHADO GONZALEZ, IRMA           ADDRESS ON FILE
CORCHADO GONZALEZ, NELSON M       ADDRESS ON FILE
CORCHADO GUZMAN, ARIANA           ADDRESS ON FILE
CORCHADO JUARBE, JENARO           ADDRESS ON FILE
CORCHADO JUARBE, JUAN             ADDRESS ON FILE
CORCHADO JUARBE, JUAN             ADDRESS ON FILE
CORCHADO JUARBE, JULISA A.        ADDRESS ON FILE
CORCHADO JUARBE, LISA TATIANA     ADDRESS ON FILE
Corchado Juarbe, Luis             ADDRESS ON FILE
CORCHADO JUARBE, OCTAVIA          ADDRESS ON FILE
CORCHADO LANDRAU, EDITH           ADDRESS ON FILE
CORCHADO LLANOS, JONATHAN         ADDRESS ON FILE
CORCHADO LOPEZ, ADLIN             ADDRESS ON FILE
CORCHADO LOPEZ, MARIA             ADDRESS ON FILE
CORCHADO MALDONADO, CARMEN A      ADDRESS ON FILE
CORCHADO MARCANO, MARIA L         ADDRESS ON FILE
CORCHADO MEDINA, ANGEL            ADDRESS ON FILE
CORCHADO MEDINA, ARIS             ADDRESS ON FILE
CORCHADO MEDINA, CARLOS ANTONIO   ADDRESS ON FILE
CORCHADO MEDINA, MIRIAM           ADDRESS ON FILE
CORCHADO MENDEZ, GABRIEL E.       ADDRESS ON FILE
CORCHADO MONROIG, CARMEN L        ADDRESS ON FILE
CORCHADO NIEVES, ABIGAIL          ADDRESS ON FILE
CORCHADO NIEVES, JOSE D.          ADDRESS ON FILE
CORCHADO OTERO, ANGEL             ADDRESS ON FILE
CORCHADO OTERO, ELBA I.           ADDRESS ON FILE
CORCHADO OTERO, MARIA DE LOS A.   ADDRESS ON FILE
CORCHADO OTERO, MILDRED           ADDRESS ON FILE
CORCHADO PAGAN, JESUS A.          ADDRESS ON FILE
CORCHADO PAREDES, KELVIN          ADDRESS ON FILE
CORCHADO PEREZ MD, AMARILIS       ADDRESS ON FILE
CORCHADO PEREZ, ALBERTO           ADDRESS ON FILE
CORCHADO PEREZ, ALBERTO H         ADDRESS ON FILE
CORCHADO PEREZ, ASHER             ADDRESS ON FILE
CORCHADO PEREZ, ASTRID            ADDRESS ON FILE
CORCHADO PEREZ, GABRIEL           ADDRESS ON FILE
CORCHADO PEREZ, MARIA M           ADDRESS ON FILE
CORCHADO PEREZ, NORMA I           ADDRESS ON FILE
CORCHADO PEREZ, RAFAEL            ADDRESS ON FILE
CORCHADO PONCE, AURA E            ADDRESS ON FILE
CORCHADO QUINONES, PRISCILLA      ADDRESS ON FILE
CORCHADO QUINONES, TIRSA L        ADDRESS ON FILE
CORCHADO RAMOS, PATRIA E          ADDRESS ON FILE
CORCHADO REYES, ANGEL             ADDRESS ON FILE
CORCHADO REYES, CARMEN R          ADDRESS ON FILE




                                                                              Page 1766 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1767 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORCHADO RIVERA, CARMEN            ADDRESS ON FILE
CORCHADO ROBLES, BRENDA L          ADDRESS ON FILE
CORCHADO ROBLES, DAMARIS           ADDRESS ON FILE
CORCHADO RODRIGUEZ, MARIO          ADDRESS ON FILE
CORCHADO RODRIGUEZ, SAMUEL         ADDRESS ON FILE
CORCHADO ROMAN, MARIA              ADDRESS ON FILE
CORCHADO ROMERO, ASHLIN M          ADDRESS ON FILE
CORCHADO SANTIAGO                  ADDRESS ON FILE
CORCHADO SANTIAGO, MOISES          ADDRESS ON FILE
CORCHADO SANTIAGO, MOISES          ADDRESS ON FILE
CORCHADO SANTIAGO, ROSA M          ADDRESS ON FILE
Corchado Sierra, Carlos A          ADDRESS ON FILE
CORCHADO SIERRA, GREGORIO          ADDRESS ON FILE
Corchado Suro, Francis Annete      ADDRESS ON FILE
CORCHADO TORRES, WILDA             ADDRESS ON FILE
Corchado Vargas, Carlos            ADDRESS ON FILE
CORCHADO VARGAS, DANILO            ADDRESS ON FILE
CORCHADO VARGAS, DANILO            ADDRESS ON FILE
Corchado Vargas, Juan A            ADDRESS ON FILE
CORCHADO VEGA, LUIS A              ADDRESS ON FILE
CORCHADO VELAZQUEZ, OSCAR          ADDRESS ON FILE
CORCHADO VILLAFANE, YADIRA V       ADDRESS ON FILE
Corcino Acevedo, Jose A            ADDRESS ON FILE
CORCINO CAMACHO, JUSTINA           ADDRESS ON FILE
CORCINO COLON, ROBERTO             ADDRESS ON FILE
CORCINO COLON, VANESSA             ADDRESS ON FILE
CORCINO FONT, CORAL                ADDRESS ON FILE
CORCINO GIL, ROSA                  ADDRESS ON FILE
CORCINO HERNANDEZ, OBED            ADDRESS ON FILE
CORCINO MARTINEZ, MARIA DE LOS A   ADDRESS ON FILE
CORCINO MARTINEZ, MARIO            ADDRESS ON FILE
CORCINO MARTINEZ, VERONICA         ADDRESS ON FILE
CORCINO MATTA, CARMEN              ADDRESS ON FILE
CORCINO MEDINA, GERLYMAR           ADDRESS ON FILE
CORCINO MEDINA, GERMAN             ADDRESS ON FILE
CORCINO MELENDEZ, LYDIA            ADDRESS ON FILE
CORCINO MERCADO, WANDA I           ADDRESS ON FILE
CORCINO ORTEGA, MARCOS             ADDRESS ON FILE
CORCINO ORTIZ, GILBERTO            ADDRESS ON FILE
CORCINO ORTIZ, GILBERTO            ADDRESS ON FILE
Corcino Osorio, Santiago           ADDRESS ON FILE
CORCINO PENA, JOSE                 ADDRESS ON FILE
CORCINO PENA, JOSE J.              ADDRESS ON FILE
CORCINO QUINONES, MARIA M          ADDRESS ON FILE
CORCINO QUINONES, RAFAEL           ADDRESS ON FILE
CORCINO RAMOS, JULIO               ADDRESS ON FILE
Corcino Rivera, Ligni              ADDRESS ON FILE
CORCINO RIVERA, WILFREDO           ADDRESS ON FILE
CORCINO RODRIGUEZ, ALICIA          ADDRESS ON FILE
CORCINO ROSA, ELIZABETH            ADDRESS ON FILE
CORCINO ROSA, MOISES               ADDRESS ON FILE
Corcino Rosa, Moises               ADDRESS ON FILE
CORCINO ROSA, WILFREDO             ADDRESS ON FILE
CORCINO SALABARRIA, FCO.           ADDRESS ON FILE
CORCINO SANTOS,OBED G.             ADDRESS ON FILE
CORCINO TIRADO, JANET              ADDRESS ON FILE
CORCINO TORRES, JUAN CARLOS        ADDRESS ON FILE
CORCUERA RODRIGUEZ, FERMIN         ADDRESS ON FILE
CORD´S LANDLORD & INVEST CORP      PO BOX 994                                                                       ARECIBO      PR      00613
CORDECO NORTHWEST CORP             PO BOX 610                                                                       AGUADA       PR      00602




                                                                               Page 1767 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1768 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                  Address1                              Address2                                  Address3   Address4   City          State   PostalCode   Country
CORDELIA GONZALEZ BUITRAGO     ADDRESS ON FILE
CORDERO ASOCIADOS INC          3623 AVE MILITAR                      PMB 258                                                         ISABELA       PR      00662
CORDERO & ASSOCIATES LAW LLC   THE HATO REY CENTER                   268 PONCE DE LEON AVE SUITE1402                                 SAN JUAN      PR      00918
CORDERO & ASSOCIATES LAW LLC   THE UPS STORE PMB 236                 STE 140 200 AVE RAFAEL CORDERO                                  CAGUAS        PR      00725‐4303
CORDERO &FRONTERRA             LCDA. MARGARITA MILAGROS FRONTERA MUÑOOLIMPO PLAZA SUITE 203 1002 AVE MUÑOZ RIVERA                    SAN JUAN      PR      00927
CORDERO &FRONTERRA             LCDO. EDGARDO ZAPATA TORRES Y         PO BOX 1216                                                     CABO ROJO     PR      00623‐1216
CORDERO ACABA, BRENDA L.       ADDRESS ON FILE
CORDERO ACEVEDO, ANGELICA      ADDRESS ON FILE
CORDERO ACEVEDO, CARMEN O      ADDRESS ON FILE
CORDERO ACEVEDO, EDUARDO       ADDRESS ON FILE
CORDERO ACEVEDO, ELSIE         ADDRESS ON FILE
CORDERO ACEVEDO, EMMANUEL      ADDRESS ON FILE
CORDERO ACEVEDO, EVELYN        ADDRESS ON FILE
CORDERO ACEVEDO, GLORIA E      ADDRESS ON FILE
CORDERO ACEVEDO, JOHANNYS      ADDRESS ON FILE
CORDERO ACEVEDO, JOSE M.       ADDRESS ON FILE
CORDERO ACEVEDO, JOSEAN L.     ADDRESS ON FILE
CORDERO ACEVEDO, MARIBEL       ADDRESS ON FILE
CORDERO ACEVEDO, NORMA         ADDRESS ON FILE
CORDERO ACEVEDO, RAMONITA      ADDRESS ON FILE
CORDERO ACEVEDO, REYSAM        ADDRESS ON FILE
CORDERO ADORNO, JORGE A.       ADDRESS ON FILE
CORDERO ADORNO, JOSEPH         ADDRESS ON FILE
CORDERO ADORNO, PAULA R        ADDRESS ON FILE
CORDERO ADORNO, ZULMARIE       ADDRESS ON FILE
CORDERO AGOSTO, ANA            ADDRESS ON FILE
CORDERO AGRAIT, LAURA          ADDRESS ON FILE
CORDERO AGUILAR, LYDIA         ADDRESS ON FILE
CORDERO AGUILU, JACKELINE      ADDRESS ON FILE
CORDERO ALERS, JOSE J.         ADDRESS ON FILE
CORDERO ALFONZO, ERIC          ADDRESS ON FILE
CORDERO ALFONZO, ERIC A.       ADDRESS ON FILE
CORDERO ALICEA, ESTERVINA      ADDRESS ON FILE
CORDERO ALICEA, MARIA E        ADDRESS ON FILE
CORDERO ALMODOVAR, IVELISSE    ADDRESS ON FILE
CORDERO ALMODOVAR, LEISHLA     ADDRESS ON FILE
CORDERO ALMODOVAR, OLGA        ADDRESS ON FILE
Cordero Alonso, Tomas          ADDRESS ON FILE
Cordero Alonzo, Jose M.        ADDRESS ON FILE
Cordero Alvarado, Jessica      ADDRESS ON FILE
CORDERO ALVARADO, JOMARIE      ADDRESS ON FILE
CORDERO ALVARADO, LUIS         ADDRESS ON FILE
CORDERO ALVAREZ, JUAN A.       ADDRESS ON FILE
CORDERO ANAYA, LUCY            ADDRESS ON FILE
CORDERO ANDINO, ZAIDA I.       ADDRESS ON FILE
CORDERO ANGLERAU, ANTONIO      ADDRESS ON FILE
CORDERO ANGLERO, SHIRLEY       ADDRESS ON FILE
CORDERO ANTONGIOGI, JOHANNA    ADDRESS ON FILE
CORDERO APONTE, ESTHER         ADDRESS ON FILE
CORDERO APONTE, MARILU         ADDRESS ON FILE
CORDERO APONTE, PABLO          ADDRESS ON FILE
CORDERO ARBELO, ELVIN E.       ADDRESS ON FILE
CORDERO ARIAS, CARMEN M        ADDRESS ON FILE
CORDERO ARILL, RAFAEL A.       ADDRESS ON FILE
CORDERO ARROYO, JULIA S.       ADDRESS ON FILE
CORDERO ARROYO, WALESKA        ADDRESS ON FILE
CORDERO ARROYO, WALESKA R      ADDRESS ON FILE
CORDERO AVILES, ARTERIO        ADDRESS ON FILE
CORDERO AVILES, CYNTHIA        ADDRESS ON FILE
CORDERO AVILES, HARRY          ADDRESS ON FILE




                                                                                                 Page 1768 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1769 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO AVILES, JERRY             ADDRESS ON FILE
CORDERO AVILES, JOSE A            ADDRESS ON FILE
CORDERO AVILES, WALDEMAR          ADDRESS ON FILE
CORDERO AVILES, WILFREDO          ADDRESS ON FILE
Cordero Aviles, Zullimar          ADDRESS ON FILE
CORDERO AYALA, CARLOS             ADDRESS ON FILE
CORDERO AYALA, DORIS              ADDRESS ON FILE
CORDERO AYALA, LESLEY             ADDRESS ON FILE
CORDERO AYALA, WILSON             ADDRESS ON FILE
CORDERO BAEZ, FEDERICO            ADDRESS ON FILE
CORDERO BAEZ, FERNANDO L          ADDRESS ON FILE
CORDERO BAEZ, GISETTE             ADDRESS ON FILE
CORDERO BAEZ, MANUEL              ADDRESS ON FILE
CORDERO BAEZ, MANUEL              ADDRESS ON FILE
CORDERO BAEZ, MANUEL              ADDRESS ON FILE
CORDERO BAEZ, MANUEL              ADDRESS ON FILE
CORDERO BAEZ, MANUEL              ADDRESS ON FILE
CORDERO BAEZ, MANUEL              ADDRESS ON FILE
CORDERO BAEZ, MANUEL A            ADDRESS ON FILE
CORDERO BAEZ, NIDZA               ADDRESS ON FILE
CORDERO BAEZ, RICHARD             ADDRESS ON FILE
CORDERO BAEZ, SILMARIE            ADDRESS ON FILE
CORDERO BARREIRO, LIZ J           ADDRESS ON FILE
CORDERO BARRETO, DALILA           ADDRESS ON FILE
CORDERO BELLO, JESUS L.           ADDRESS ON FILE
CORDERO BENITEZ, CARMEN I.        ADDRESS ON FILE
CORDERO BENITEZ, ROSARIO          ADDRESS ON FILE
CORDERO BERNIER, PEDRO L          ADDRESS ON FILE
CORDERO BERRIOS, ERICK A.         ADDRESS ON FILE
CORDERO BERRIOS, MANDY            ADDRESS ON FILE
CORDERO BERRIOS, MARIANIS         ADDRESS ON FILE
CORDERO BERRIOS, SAMARIE          ADDRESS ON FILE
Cordero Bonilla, Javier           ADDRESS ON FILE
CORDERO BORGES, EDGAR             ADDRESS ON FILE
CORDERO BORGES, SARA Y            ADDRESS ON FILE
CORDERO BORRERO, CARENIN          ADDRESS ON FILE
CORDERO BOUCHARD, VAUGHN          ADDRESS ON FILE
CORDERO BRANA, NILDA              ADDRESS ON FILE
CORDERO BRENES, ANA D             ADDRESS ON FILE
Cordero Caban, Jonathan           ADDRESS ON FILE
CORDERO CABAN, NATHANIEL          ADDRESS ON FILE
CORDERO CABRERA, BENJAMIN         ADDRESS ON FILE
CORDERO CABRERA, GLORISA          ADDRESS ON FILE
CORDERO CALDERON, RICARDO J       ADDRESS ON FILE
CORDERO CALERO, DANIEL            ADDRESS ON FILE
CORDERO CALERO, JUAN              ADDRESS ON FILE
CORDERO CALERO, LUZ C.            ADDRESS ON FILE
CORDERO CAMACHO, MARTA            ADDRESS ON FILE
CORDERO CANCEL, JUAN              ADDRESS ON FILE
CORDERO CANCEL, OLGA A            ADDRESS ON FILE
CORDERO CANCIO, CARLOS            ADDRESS ON FILE
Cordero Caraballo, Edgar          ADDRESS ON FILE
CORDERO CARABALLO, JOSE ANTONIO   ADDRESS ON FILE
CORDERO CARDONA, GLORIBEL         ADDRESS ON FILE
CORDERO CARINO, LESLIE ANN        ADDRESS ON FILE
CORDERO CARO, NELDYS A            ADDRESS ON FILE
CORDERO CARO, NELDYS A            ADDRESS ON FILE
CORDERO CARRASQUILLO, MAGALI      ADDRESS ON FILE
CORDERO CARRILLO, VICTOR          ADDRESS ON FILE
CORDERO CARRION, EMMA             ADDRESS ON FILE




                                                                              Page 1769 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1770 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO CARRION, LOURDES             ADDRESS ON FILE
CORDERO CARTAGENA, JOEL              ADDRESS ON FILE
CORDERO CARTAGENA, MINERVA           ADDRESS ON FILE
CORDERO CASALDUC, FELIPE             ADDRESS ON FILE
CORDERO CASIANO, GESHICA             ADDRESS ON FILE
CORDERO CASIANO, GINESIA             ADDRESS ON FILE
CORDERO CASILLAS MD, JOSE            ADDRESS ON FILE
CORDERO CASTILLO, JAVIER             ADDRESS ON FILE
CORDERO CASTILLO, SALLY              ADDRESS ON FILE
CORDERO CASTRO, EDUARDO              ADDRESS ON FILE
CORDERO CASTRO, LUZ E                ADDRESS ON FILE
CORDERO CASTRO, LUZ N                ADDRESS ON FILE
CORDERO CASTRO, MARTA I              ADDRESS ON FILE
CORDERO CASTRO, RAYMOND              ADDRESS ON FILE
CORDERO CATAQUET, JESSICA            ADDRESS ON FILE
CORDERO CEBALLOS, OMAR               ADDRESS ON FILE
Cordero Chaparro, Evelyn             ADDRESS ON FILE
CORDERO CHAPARRO, HECTOR             ADDRESS ON FILE
CORDERO CHARNECO, ARMANDO            ADDRESS ON FILE
CORDERO CHARON, REINALDO             ADDRESS ON FILE
Cordero Chavez, Gregorio             ADDRESS ON FILE
CORDERO CHICO, IRIS                  ADDRESS ON FILE
CORDERO CHICO, IRIS B                ADDRESS ON FILE
Cordero Cintron, Felix               ADDRESS ON FILE
CORDERO CINTRON, JOSE A              ADDRESS ON FILE
CORDERO CIRILO, ERIC                 ADDRESS ON FILE
CORDERO CLASS, ELBA                  ADDRESS ON FILE
CORDERO CLASS, YAHAIRA               ADDRESS ON FILE
CORDERO CLAUDIO, DAMARY              ADDRESS ON FILE
CORDERO CLEMENTE, ISAURA             ADDRESS ON FILE
CORDERO COBIAN, JOSE L               ADDRESS ON FILE
CORDERO COBIAN, LISETTE              ADDRESS ON FILE
CORDERO COLON, ANGEL L               ADDRESS ON FILE
CORDERO COLON, DAMAYRA               ADDRESS ON FILE
CORDERO COLON, FRANCIS               ADDRESS ON FILE
CORDERO COLON, GIOVAN                ADDRESS ON FILE
CORDERO COLON, HIPOLITO              ADDRESS ON FILE
CORDERO COLON, JAIME                 ADDRESS ON FILE
CORDERO COLON, JOSE                  ADDRESS ON FILE
CORDERO COLON, LUZ M                 ADDRESS ON FILE
CORDERO COLON, MIGUEL A              ADDRESS ON FILE
Cordero Colon, Nellibelle            ADDRESS ON FILE
CORDERO CONTY, SHARO K               ADDRESS ON FILE
CORDERO CORDERO ASOCIADOS ASESORES   PO BOX 994                                                                       ARECIBO      PR      00613
CORDERO CORDERO, AIDA L.             ADDRESS ON FILE
CORDERO CORDERO, ALFREDO             ADDRESS ON FILE
CORDERO CORDERO, ANA T.              ADDRESS ON FILE
CORDERO CORDERO, ARIEL               ADDRESS ON FILE
CORDERO CORDERO, EDUARDO             ADDRESS ON FILE
CORDERO CORDERO, GISELLE             ADDRESS ON FILE
CORDERO CORDERO, GLORIA L            ADDRESS ON FILE
CORDERO CORDERO, GRISELL             ADDRESS ON FILE
CORDERO CORDERO, JUAN                ADDRESS ON FILE
CORDERO CORDERO, LIZ                 ADDRESS ON FILE
CORDERO CORDERO, LUZ E.              ADDRESS ON FILE
CORDERO CORDERO, MONSERRATE          ADDRESS ON FILE
CORDERO CORDERO, PEDRO               ADDRESS ON FILE
Cordero Cordero, Ramon A.            ADDRESS ON FILE
CORDERO CORDERO, ROSA                ADDRESS ON FILE
CORDERO CORDERO, SONIA               ADDRESS ON FILE




                                                                                 Page 1770 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1771 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
CORDERO CORDERO, WILFREDO      ADDRESS ON FILE
CORDERO CORDERO, ZENAIDA       ADDRESS ON FILE
CORDERO CORDERO, ZORAIDA       ADDRESS ON FILE
CORDERO CORDES, SANTIAGA       ADDRESS ON FILE
CORDERO CORTES, HECTOR F.      ADDRESS ON FILE
CORDERO CORTES, JOSE           ADDRESS ON FILE
CORDERO CORTES, LILLIAM        ADDRESS ON FILE
Cordero Cortes, Maria Del S    ADDRESS ON FILE
CORDERO CORTES, MINERVA        ADDRESS ON FILE
CORDERO COSME, ANDRES          ADDRESS ON FILE
CORDERO CPA & CO. PSC          PMB 681                   138 AVE WINSTON CHURCHILL                                        SAN JUAN     PR      00926‐6023
CORDERO CRESPO, ARSENIO        ADDRESS ON FILE
CORDERO CRESPO, CARMEN M.      ADDRESS ON FILE
Cordero Crespo, Jose M         ADDRESS ON FILE
CORDERO CRESPO, MIGDALIA       ADDRESS ON FILE
Cordero Crespo, Wilfredo       ADDRESS ON FILE
CORDERO CRUZ, AIDA M           ADDRESS ON FILE
CORDERO CRUZ, CORALYS          ADDRESS ON FILE
CORDERO CRUZ, ELVIN            ADDRESS ON FILE
CORDERO CRUZ, ESTHER           ADDRESS ON FILE
CORDERO CRUZ, FRANCISCA D      ADDRESS ON FILE
Cordero Cruz, Israel D         ADDRESS ON FILE
CORDERO CRUZ, JULIANNE         ADDRESS ON FILE
CORDERO CRUZ, RAFAEL           ADDRESS ON FILE
CORDERO CRUZ, RUBEN            ADDRESS ON FILE
Cordero Cruz, Ruben A          ADDRESS ON FILE
CORDERO CRUZ, SANDRA           ADDRESS ON FILE
CORDERO CRUZ, VIRGINIA         ADDRESS ON FILE
CORDERO CRUZ, WILFREDO         ADDRESS ON FILE
CORDERO CRUZ, YAZMIN           ADDRESS ON FILE
CORDERO CUADRADO, ARACELIS     ADDRESS ON FILE
CORDERO CUADRADO, PEDRO        ADDRESS ON FILE
CORDERO CURET, ARMANDO O       ADDRESS ON FILE
CORDERO CURET,ARMANDO          ADDRESS ON FILE
CORDERO DANOIS, LYSHA M.       ADDRESS ON FILE
CORDERO DAVILA, ANGEL A        ADDRESS ON FILE
Cordero Davila, Daniel         ADDRESS ON FILE
CORDERO DAVILA, JORGE          ADDRESS ON FILE
CORDERO DE JESUS, ANGEL        ADDRESS ON FILE
CORDERO DE JESUS, JOSE I       ADDRESS ON FILE
CORDERO DE JESUS, LYDIA E      ADDRESS ON FILE
CORDERO DE JESUS, MARIA E      ADDRESS ON FILE
CORDERO DE LA CRUZ, ERIC B     ADDRESS ON FILE
CORDERO DE LA CRUZ, RAFAEL     ADDRESS ON FILE
CORDERO DE TORO, NILDA         ADDRESS ON FILE
CORDERO DE VIDAL, PILAR        ADDRESS ON FILE
CORDERO DE_JESUS, BERNARDINO   ADDRESS ON FILE
CORDERO DELGADO, GLORIA A      ADDRESS ON FILE
CORDERO DELGADO, JOHANNA       ADDRESS ON FILE
CORDERO DELGADO, KIRIAM        ADDRESS ON FILE
CORDERO DELGADO, LUISA         ADDRESS ON FILE
CORDERO DELGADO, YADIRA        ADDRESS ON FILE
CORDERO DELIZ, SIXTO           ADDRESS ON FILE
Cordero Diaz, Angel D          ADDRESS ON FILE
CORDERO DIAZ, ASHMEND          ADDRESS ON FILE
CORDERO DIAZ, DIANA            ADDRESS ON FILE
CORDERO DIAZ, JAVIER           ADDRESS ON FILE
CORDERO DIAZ, JOAN             ADDRESS ON FILE
CORDERO DIAZ, JOSE I           ADDRESS ON FILE
CORDERO DIAZ, JOSE L.          ADDRESS ON FILE




                                                                                     Page 1771 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1772 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                      Address1                  Address2                                     Address3   Address4   City         State   PostalCode   Country
CORDERO DIAZ, MARILYN              ADDRESS ON FILE
CORDERO DIAZ, ROSA C.              ADDRESS ON FILE
CORDERO DUARTE, ALBERTO C.         ADDRESS ON FILE
CORDERO ECHEVARRIA, EVELYN         ADDRESS ON FILE
CORDERO EMMANUELLI, ELIEZER        ADDRESS ON FILE
CORDERO ERAU, JOSE                 ADDRESS ON FILE
CORDERO ESCOBAR, WILFREDO          ADDRESS ON FILE
CORDERO ESCOBAR, YARITZA           ADDRESS ON FILE
CORDERO ESCRIBANO, KARLA           ADDRESS ON FILE
CORDERO ESPINOSA, ZORAIDA          ADDRESS ON FILE
CORDERO ESPINOSA, ZORAIDA          ADDRESS ON FILE
CORDERO ESQUERETE, DIANA V         ADDRESS ON FILE
CORDERO ESQUERETE, JESUS           ADDRESS ON FILE
CORDERO ESTRADA, VICTOR            ADDRESS ON FILE
CORDERO ESTRELLA, HARLENE C        ADDRESS ON FILE
CORDERO FELICIANO, CARLOS          ADDRESS ON FILE
CORDERO FELICIANO, CARMENL.        ADDRESS ON FILE
CORDERO FELICIANO, CAROL           ADDRESS ON FILE
CORDERO FELICICANO, CAROL A        ADDRESS ON FILE
CORDERO FERNANDEZ, NOEL            ADDRESS ON FILE
CORDERO FERNANDEZ, NOEL            ADDRESS ON FILE
CORDERO FERNANDEZ, TERESITA        ADDRESS ON FILE
CORDERO FERNANDEZ, YAHAIRA M       ADDRESS ON FILE
CORDERO FERRER, JOSE               ADDRESS ON FILE
CORDERO FIGUEROA, JAMILET          ADDRESS ON FILE
CORDERO FIGUEROA, JORGE            ADDRESS ON FILE
CORDERO FIGUEROA, JUAN             ADDRESS ON FILE
CORDERO FIGUEROA, LUIS             ADDRESS ON FILE
CORDERO FIGUEROA, MILAGROS         ADDRESS ON FILE
CORDERO FIGUEROA, PIER             ADDRESS ON FILE
CORDERO FLORES, ANA M              ADDRESS ON FILE
CORDERO FLORES, CARMEN             ADDRESS ON FILE
CORDERO FLORES, JOEL               ADDRESS ON FILE
CORDERO FLORES, MILTON M           ADDRESS ON FILE
CORDERO FORTUNA, MADELINE          ADDRESS ON FILE
CORDERO FORTUNA, MADELINE          ADDRESS ON FILE
CORDERO FORTUNA, MADELINE          ADDRESS ON FILE
CORDERO FRED, MARISOL              ADDRESS ON FILE
CORDERO FRONTERA ARQUITECTOS PSC   COND OLIMPO PLZ           1002 AVE MUNOZ RIVERA APT 203                                      SAN JUAN     PR      00927‐5006
CORDERO GALARZA, ELIZABETH         ADDRESS ON FILE
CORDERO GALARZA, HATTIE H          ADDRESS ON FILE
CORDERO GALLOZA, ARLEEN            ADDRESS ON FILE
CORDERO GARCIA MD, GUSTAVO A       ADDRESS ON FILE
CORDERO GARCIA, ALBERTO            ADDRESS ON FILE
CORDERO GARCIA, ALBERTO            ADDRESS ON FILE
CORDERO GARCIA, ALBERTO            ADDRESS ON FILE
CORDERO GARCIA, ANGELA M           ADDRESS ON FILE
CORDERO GARCIA, ASHLEY             ADDRESS ON FILE
CORDERO GARCIA, EDWIN              ADDRESS ON FILE
CORDERO GARCIA, ELBAMARIS          ADDRESS ON FILE
CORDERO GARCIA, ELBAMARIS          ADDRESS ON FILE
CORDERO GARCIA, GERMAN             ADDRESS ON FILE
CORDERO GARCIA, GRICEL M           ADDRESS ON FILE
CORDERO GARCIA, HERIBERTO          ADDRESS ON FILE
CORDERO GARCIA, IRMA I             ADDRESS ON FILE
CORDERO GARCIA, JUANITA            ADDRESS ON FILE
CORDERO GARCIA, MARCO              ADDRESS ON FILE
CORDERO GARCIA, MARCO              ADDRESS ON FILE
CORDERO GARCIA, RAMONA             ADDRESS ON FILE
CORDERO GILLOTY, DAPHNE            ADDRESS ON FILE




                                                                                        Page 1772 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1773 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO GOAD, CARMEN             ADDRESS ON FILE
CORDERO GOAD, ELIZABETH M        ADDRESS ON FILE
CORDERO GOMEZ, ARELIS            ADDRESS ON FILE
CORDERO GOMEZ, ELIEZER R.        ADDRESS ON FILE
CORDERO GONZALEZ MD, IDA         ADDRESS ON FILE
CORDERO GONZALEZ, ALBERTO C      ADDRESS ON FILE
CORDERO GONZALEZ, ALEXIS         ADDRESS ON FILE
Cordero Gonzalez, Amarilis       ADDRESS ON FILE
CORDERO GONZALEZ, ANGEL          ADDRESS ON FILE
Cordero Gonzalez, Angel L        ADDRESS ON FILE
CORDERO GONZALEZ, BLANCA         ADDRESS ON FILE
CORDERO GONZALEZ, CARMEN M       ADDRESS ON FILE
CORDERO GONZALEZ, CRYSTAL M      ADDRESS ON FILE
Cordero Gonzalez, David          ADDRESS ON FILE
CORDERO GONZALEZ, DAVID D        ADDRESS ON FILE
CORDERO GONZALEZ, EFRAIN         ADDRESS ON FILE
CORDERO GONZALEZ, GRISELLE       ADDRESS ON FILE
CORDERO GONZALEZ, INES J         ADDRESS ON FILE
CORDERO GONZALEZ, JESUS F        ADDRESS ON FILE
CORDERO GONZALEZ, JESUS N        ADDRESS ON FILE
CORDERO GONZALEZ, JOSSE          ADDRESS ON FILE
CORDERO GONZALEZ, JUAN M         ADDRESS ON FILE
CORDERO GONZALEZ, LUZ M.         ADDRESS ON FILE
CORDERO GONZALEZ, MARCOS         ADDRESS ON FILE
Cordero Gonzalez, Maria C        ADDRESS ON FILE
CORDERO GONZALEZ, MARIELA        ADDRESS ON FILE
CORDERO GONZALEZ, MARIELA        ADDRESS ON FILE
CORDERO GONZALEZ, MARINA M       ADDRESS ON FILE
CORDERO GONZALEZ, MAYRA          ADDRESS ON FILE
CORDERO GONZALEZ, MIGUEL         ADDRESS ON FILE
CORDERO GONZALEZ, MIGUEL         ADDRESS ON FILE
CORDERO GONZALEZ, MIGUEL         ADDRESS ON FILE
CORDERO GONZALEZ, MIGUEL         ADDRESS ON FILE
Cordero Gonzalez, Miguel A.      ADDRESS ON FILE
Cordero Gonzalez, Olga I         ADDRESS ON FILE
CORDERO GONZALEZ, ORMARIE        ADDRESS ON FILE
CORDERO GONZALEZ, RAMON L        ADDRESS ON FILE
CORDERO GONZALEZ, REY N          ADDRESS ON FILE
CORDERO GONZALEZ, SAMUEL ANGEL   ADDRESS ON FILE
CORDERO GONZALEZ, SANTA          ADDRESS ON FILE
CORDERO GONZALEZ, SONIA          ADDRESS ON FILE
CORDERO GONZALEZ, WANDALIZ       ADDRESS ON FILE
CORDERO GONZALEZ, WANDALIZ       ADDRESS ON FILE
CORDERO GONZALEZ, YAJAIRA        ADDRESS ON FILE
CORDERO GONZALEZ, YAMILY         ADDRESS ON FILE
CORDERO GONZALEZ, ZENAIDA        ADDRESS ON FILE
CORDERO GRAJALES, VIVIANA        ADDRESS ON FILE
CORDERO GUILLOTY, CHRISTIAN      ADDRESS ON FILE
CORDERO GUILLOTY, DAPHNE         ADDRESS ON FILE
CORDERO GUTIERREZ, ANTONIO       ADDRESS ON FILE
CORDERO GUTIERREZ, EDWIN         ADDRESS ON FILE
Cordero Gutierrez, Edwin F       ADDRESS ON FILE
CORDERO GUZMAN, NILDA            ADDRESS ON FILE
CORDERO HADDOCK, DORIS           ADDRESS ON FILE
CORDERO HERNANDEZ, CANDIDA M     ADDRESS ON FILE
Cordero Hernandez, Edwin O       ADDRESS ON FILE
CORDERO HERNANDEZ, FRANCISCO     ADDRESS ON FILE
CORDERO HERNANDEZ, FRANCISCO     ADDRESS ON FILE
CORDERO HERNANDEZ, GENOVEVA      ADDRESS ON FILE
CORDERO HERNANDEZ, GILBERTO      ADDRESS ON FILE




                                                                             Page 1773 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1774 of 3500
                                                                              17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                  Address1                  Address2                                 Address3   Address4   City         State   PostalCode   Country
CORDERO HERNANDEZ, GLADYS      ADDRESS ON FILE
CORDERO HERNANDEZ, HERIBERTO   ADDRESS ON FILE
Cordero Hernandez, Heriberto   ADDRESS ON FILE
CORDERO HERNANDEZ, HERIBERTO   ADDRESS ON FILE
CORDERO HERNANDEZ, IRMA V      ADDRESS ON FILE
CORDERO HERNANDEZ, JENNIE      ADDRESS ON FILE
CORDERO HERNANDEZ, JORGE W     ADDRESS ON FILE
CORDERO HERNANDEZ, JOSE        ADDRESS ON FILE
CORDERO HERNANDEZ, JOSE A      ADDRESS ON FILE
CORDERO HERNANDEZ, JOSE A.     ADDRESS ON FILE
Cordero Hernandez, Jose M      ADDRESS ON FILE
Cordero Hernandez, Julio A     ADDRESS ON FILE
CORDERO HERNANDEZ, KEISHLA     ADDRESS ON FILE
CORDERO HERNANDEZ, LEONEL      ADDRESS ON FILE
Cordero Hernandez, Linetsy     ADDRESS ON FILE
Cordero Hernandez, Luis        ADDRESS ON FILE
CORDERO HERNANDEZ, LUIS        ADDRESS ON FILE
CORDERO HERNANDEZ, LUIS        ADDRESS ON FILE
CORDERO HERNANDEZ, LUIS A      ADDRESS ON FILE
Cordero Hernandez, Luis A      ADDRESS ON FILE
CORDERO HERNANDEZ, MOISES      ADDRESS ON FILE
CORDERO HERNANDEZ, NELSON      ADDRESS ON FILE
Cordero Hernandez, Oscar R     ADDRESS ON FILE
CORDERO HERNANDEZ, SONIA E     ADDRESS ON FILE
CORDERO HERNANDEZ, SUSANA      ADDRESS ON FILE
CORDERO HERNANDEZ, WANDA I     ADDRESS ON FILE
Cordero Hernandez, Windy L.    ADDRESS ON FILE
CORDERO HILERIO, BLANCA        ADDRESS ON FILE
CORDERO HILERIO, NANCY         ADDRESS ON FILE
CORDERO HUERTAS, CARMEN M      ADDRESS ON FILE
CORDERO HUERTAS, ZAIDA         ADDRESS ON FILE
CORDERO HUERTAS, ZAIDA Y       ADDRESS ON FILE
Cordero Irizarry, Carlos       ADDRESS ON FILE
CORDERO IRIZARRY, ESTEBAN      ADDRESS ON FILE
Cordero Irizarry, Hector       ADDRESS ON FILE
CORDERO IRIZARRY, LORRAYNE     ADDRESS ON FILE
CORDERO IRIZARRY, LUIS         ADDRESS ON FILE
CORDERO IRIZARRY, LYDIA I      ADDRESS ON FILE
CORDERO IRIZARRY, MILERNA      ADDRESS ON FILE
CORDERO IRIZARRY, TAYRA        ADDRESS ON FILE
CORDERO JAIMAN, MARIA T        ADDRESS ON FILE
CORDERO JAIMAN, MIGDALIA       ADDRESS ON FILE
CORDERO JAVIER, CRISTINA       NELLYMARIE LOPEZ DIAZ     POBOX 11155                                                    SAN JUAN     PR      00922‐1155
CORDERO JAVIER, CRISTINA       YAZMET PEREZ GIUSTI       MCS914,AVE WINSTON CHURCHILL#138                               SAN JUAN     PR      00926
CORDERO JIMENEZ MD, HECTOR M   ADDRESS ON FILE
CORDERO JIMENEZ, ANA           ADDRESS ON FILE
CORDERO JIMENEZ, CRUCITO       ADDRESS ON FILE
CORDERO JIMENEZ, EDGAR         ADDRESS ON FILE
CORDERO JIMENEZ, GLADYS E      ADDRESS ON FILE
CORDERO JIMENEZ, PABLO         ADDRESS ON FILE
CORDERO JIMENEZ, WILLIAM A.    ADDRESS ON FILE
CORDERO LA TORRE, MADELINE     ADDRESS ON FILE
CORDERO LADNER, JOSE           ADDRESS ON FILE
CORDERO LAGUERRE, MARISOL      ADDRESS ON FILE
CORDERO LASALLE, JUAN          ADDRESS ON FILE
CORDERO LAUREANO, RUTH M       ADDRESS ON FILE
CORDERO LEBRON, YESEF Y.       ADDRESS ON FILE
CORDERO LEON, NAYRA            ADDRESS ON FILE
CORDERO LOPEZ DAVID J          ADDRESS ON FILE
CORDERO LOPEZ, ADOLFO          ADDRESS ON FILE




                                                                                   Page 1774 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1775 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO LOPEZ, ALBA M.           ADDRESS ON FILE
CORDERO LOPEZ, ANTHONY           ADDRESS ON FILE
CORDERO LOPEZ, CARMEN            ADDRESS ON FILE
CORDERO LOPEZ, CLARA             ADDRESS ON FILE
Cordero Lopez, David J           ADDRESS ON FILE
CORDERO LOPEZ, DIANA             ADDRESS ON FILE
CORDERO LOPEZ, ELIEZER           ADDRESS ON FILE
CORDERO LOPEZ, ELSIE             ADDRESS ON FILE
CORDERO LOPEZ, GUSTAVO           ADDRESS ON FILE
Cordero Lopez, Ivette            ADDRESS ON FILE
CORDERO LOPEZ, JAHAJAYRA         ADDRESS ON FILE
Cordero Lopez, Jorge             ADDRESS ON FILE
CORDERO LOPEZ, JOSE              ADDRESS ON FILE
CORDERO LOPEZ, MARIA             ADDRESS ON FILE
Cordero Lopez, Misael            ADDRESS ON FILE
CORDERO LOPEZ, PABLO             ADDRESS ON FILE
CORDERO LOPEZ, RAINIERO          ADDRESS ON FILE
CORDERO LOPEZ, ROSARIO C         ADDRESS ON FILE
CORDERO LOPEZ, SHERRY            ADDRESS ON FILE
CORDERO LOPEZ, ZAIDA             ADDRESS ON FILE
CORDERO LORENZANA, EVELYN        ADDRESS ON FILE
CORDERO LORENZO, ALEJANDRO       ADDRESS ON FILE
CORDERO LORENZO, ANTONIA         ADDRESS ON FILE
Cordero Lorenzo, Heriberto       ADDRESS ON FILE
CORDERO LORENZO, MIGUEL A.       ADDRESS ON FILE
CORDERO LORENZO, WILLIAM         ADDRESS ON FILE
CORDERO LORENZO, WILSON          ADDRESS ON FILE
CORDERO LORENZO, ZAIDA           ADDRESS ON FILE
CORDERO LUGO, ANIXSA             ADDRESS ON FILE
CORDERO LUGO, EDGARD             ADDRESS ON FILE
CORDERO LUGO, FRANK              ADDRESS ON FILE
CORDERO LUGO, FRANK R.           ADDRESS ON FILE
Cordero Lugo, Jose B.            ADDRESS ON FILE
CORDERO LUGO, NICOLE             ADDRESS ON FILE
CORDERO MACHADO, LOURDES J       ADDRESS ON FILE
CORDERO MACHADO, RAFAEL A.       ADDRESS ON FILE
Cordero Machado, Wanda L.        ADDRESS ON FILE
CORDERO MALAVE, DEBORAH          ADDRESS ON FILE
CORDERO MALAVE, DEBORAH          ADDRESS ON FILE
CORDERO MALAVE, FRANCISCO        ADDRESS ON FILE
CORDERO MALAVE, JOSE             ADDRESS ON FILE
CORDERO MALAVE, PEDRO            ADDRESS ON FILE
CORDERO MALAVE, PETRA M          ADDRESS ON FILE
CORDERO MALDONADO, EDERLIDIS     ADDRESS ON FILE
CORDERO MALDONADO, ELIZABETH     ADDRESS ON FILE
CORDERO MALDONADO, LORENA A      ADDRESS ON FILE
Cordero Maldonado, Maria Del C   ADDRESS ON FILE
CORDERO MALDONADO, PAOLA         ADDRESS ON FILE
CORDERO MALDONADO, PEDRO LUIS    ADDRESS ON FILE
CORDERO MANGUAL, JOSUE           ADDRESS ON FILE
CORDERO MANGUAL, NYDIA E.        ADDRESS ON FILE
CORDERO MANZANO, RAMON           ADDRESS ON FILE
CORDERO MARCANO, EDGARDO         ADDRESS ON FILE
CORDERO MARQUEZ, DAVID           ADDRESS ON FILE
CORDERO MARQUEZ, EUSTILDE        ADDRESS ON FILE
CORDERO MARQUEZ, EUSTILDE        ADDRESS ON FILE
CORDERO MARQUEZ, FELICITA        ADDRESS ON FILE
CORDERO MARQUEZ, IRAIDA          ADDRESS ON FILE
CORDERO MARQUEZ, JAIME L.        ADDRESS ON FILE
CORDERO MARQUEZ, MARIA M         ADDRESS ON FILE




                                                                             Page 1775 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1776 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO MARQUEZ, MARIBEL       ADDRESS ON FILE
CORDERO MARQUEZ, WALDEMAR      ADDRESS ON FILE
CORDERO MARRERO, CARMINE       ADDRESS ON FILE
CORDERO MARRERO, MARCO         ADDRESS ON FILE
CORDERO MARRERO, SHIRLEY       ADDRESS ON FILE
CORDERO MARTINEZ, AIDA         ADDRESS ON FILE
CORDERO MARTINEZ, ANTONIA      ADDRESS ON FILE
CORDERO MARTINEZ, ARACELIS     ADDRESS ON FILE
CORDERO MARTINEZ, BETHZAIDA    ADDRESS ON FILE
CORDERO MARTINEZ, CARLOS       ADDRESS ON FILE
Cordero Martinez, Eddie F      ADDRESS ON FILE
CORDERO MARTINEZ, EDWIN R.     ADDRESS ON FILE
CORDERO MARTINEZ, EVADILIA     ADDRESS ON FILE
CORDERO MARTINEZ, FELIX        ADDRESS ON FILE
Cordero Martinez, Hamilton     ADDRESS ON FILE
Cordero Martinez, Harry H      ADDRESS ON FILE
CORDERO MARTINEZ, HECTOR       ADDRESS ON FILE
CORDERO MARTINEZ, IVETTE M     ADDRESS ON FILE
CORDERO MARTINEZ, JOEL         ADDRESS ON FILE
CORDERO MARTINEZ, JUAN         ADDRESS ON FILE
CORDERO MARTINEZ, LILLIAM J    ADDRESS ON FILE
CORDERO MARTINEZ, LOURDES M.   ADDRESS ON FILE
CORDERO MARTINEZ, MILAGROS     ADDRESS ON FILE
CORDERO MARTINEZ, NYDIA        ADDRESS ON FILE
CORDERO MARTINEZ, OLGA I       ADDRESS ON FILE
CORDERO MARTINEZ, ROSA E       ADDRESS ON FILE
Cordero Martinez, Victor A     ADDRESS ON FILE
CORDERO MARTINEZ, ZULMA        ADDRESS ON FILE
CORDERO MARTINO, RAMON L       ADDRESS ON FILE
CORDERO MARTIR, MARIA DEL C.   ADDRESS ON FILE
CORDERO MARTIR, ROBERTO E      ADDRESS ON FILE
Cordero Matias, Doris I        ADDRESS ON FILE
Cordero Matias, Felix          ADDRESS ON FILE
CORDERO MATIAS, JEANETTE       ADDRESS ON FILE
CORDERO MATIAS, ROSA N         ADDRESS ON FILE
Cordero Matos, Carlos E.       ADDRESS ON FILE
CORDERO MATOS, EDWIN           ADDRESS ON FILE
CORDERO MATOS, ESTEBAN         ADDRESS ON FILE
CORDERO MATOS, SANTOS          ADDRESS ON FILE
CORDERO MATOS, SONIA           ADDRESS ON FILE
CORDERO MATTA, JOSE A          ADDRESS ON FILE
CORDERO MCLAT, NYDIA E         ADDRESS ON FILE
CORDERO MEDINA, AUREA E.       ADDRESS ON FILE
CORDERO MEDINA, CARLA          ADDRESS ON FILE
CORDERO MEDINA, CLARA A        ADDRESS ON FILE
CORDERO MEDINA, EDUARDO        ADDRESS ON FILE
CORDERO MEDINA, FRANCIS        ADDRESS ON FILE
CORDERO MEDINA, GLORIA M.      ADDRESS ON FILE
CORDERO MEDINA, JOSE R.        ADDRESS ON FILE
CORDERO MEDINA, LISANDRA       ADDRESS ON FILE
CORDERO MELENDEZ, ERIC         ADDRESS ON FILE
CORDERO MELENDEZ, FELIX        ADDRESS ON FILE
CORDERO MELENDEZ, SHEILA       ADDRESS ON FILE
CORDERO MELENDEZ,FELIX L.      ADDRESS ON FILE
CORDERO MENDEZ MD, GRISSELLE   ADDRESS ON FILE
CORDERO MENDEZ, GISELA J.      ADDRESS ON FILE
CORDERO MENDEZ, MANUEL R       ADDRESS ON FILE
CORDERO MENDEZ, MIRSA Y.       ADDRESS ON FILE
CORDERO MENDEZ, VICENTE        ADDRESS ON FILE
CORDERO MERCADO, EDNA          ADDRESS ON FILE




                                                                           Page 1776 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1777 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO MERCADO, JOSE           ADDRESS ON FILE
CORDERO MERCADO, VILMARY        ADDRESS ON FILE
CORDERO MILAN, AIDA M           ADDRESS ON FILE
CORDERO MILLAN, MARA            ADDRESS ON FILE
CORDERO MILLAN, MARIELLY        ADDRESS ON FILE
CORDERO MILLAN, WANDA           ADDRESS ON FILE
CORDERO MIRANDA, LUIS           ADDRESS ON FILE
CORDERO MOLINA, ELIZABETH       ADDRESS ON FILE
CORDERO MOLINA, LOURDES         ADDRESS ON FILE
CORDERO MOLINA, LOURDES M.      ADDRESS ON FILE
CORDERO MOLINA, LOURDES M.      ADDRESS ON FILE
CORDERO MONROIG, EMELINA        ADDRESS ON FILE
CORDERO MONTALVO, ANA           ADDRESS ON FILE
CORDERO MONTALVO, HOMERO        ADDRESS ON FILE
CORDERO MONTALVO, IRMA B        ADDRESS ON FILE
CORDERO MONTALVO, MOISES        ADDRESS ON FILE
CORDERO MONTALVO, NILSA         ADDRESS ON FILE
CORDERO MONTALVO, PRAGMACIO     ADDRESS ON FILE
CORDERO MONTALVO, SANDRA        ADDRESS ON FILE
CORDERO MONTALVO, WANDA T.      ADDRESS ON FILE
CORDERO MONTANEZ, MAYRA         ADDRESS ON FILE
CORDERO MONTESINO, CELIMAR      ADDRESS ON FILE
CORDERO MONTESINO, MAYRA        ADDRESS ON FILE
CORDERO MORALES, ANNETTE        ADDRESS ON FILE
CORDERO MORALES, CARMEN         ADDRESS ON FILE
CORDERO MORALES, DAMARIS        ADDRESS ON FILE
CORDERO MORALES, DAMARIS        ADDRESS ON FILE
CORDERO MORALES, IBRAHIM        ADDRESS ON FILE
Cordero Morales, Jose           ADDRESS ON FILE
CORDERO MORALES, JOSE A         ADDRESS ON FILE
CORDERO MORALES, JUAN M.        ADDRESS ON FILE
CORDERO MORALES, KHEILA J       ADDRESS ON FILE
CORDERO MORALES, LILLIAN        ADDRESS ON FILE
CORDERO MORALES, MABEL          ADDRESS ON FILE
CORDERO MORALES, MARISOL        ADDRESS ON FILE
CORDERO MORALES, MIGDALIA       ADDRESS ON FILE
CORDERO MORALES, MIGUEL         ADDRESS ON FILE
CORDERO MORALES, MIKE           ADDRESS ON FILE
CORDERO MORALES, RICARDO        ADDRESS ON FILE
CORDERO MORALES, WALESKA        ADDRESS ON FILE
CORDERO MORALES, WILMA          ADDRESS ON FILE
CORDERO MORALES, YAZMIN         ADDRESS ON FILE
CORDERO MORALES, YESENIA        ADDRESS ON FILE
CORDERO MUNIZ, MARIA E.         ADDRESS ON FILE
CORDERO MUNOZ,NAHIRAMY          ADDRESS ON FILE
CORDERO MUNOZ,NIURKA JANELLY    ADDRESS ON FILE
CORDERO NATAL, DAMARIS          ADDRESS ON FILE
CORDERO NATAL, DORCAS           ADDRESS ON FILE
CORDERO NATAL, YANIRA           ADDRESS ON FILE
Cordero Nazario, Ariel          ADDRESS ON FILE
CORDERO NAZARIO, HERMINIA       ADDRESS ON FILE
CORDERO NAZARIO, WETSY I.       ADDRESS ON FILE
CORDERO NEGRON, JOSE            ADDRESS ON FILE
CORDERO NEGRON, LOURDES         ADDRESS ON FILE
Cordero Negron, Raul            ADDRESS ON FILE
CORDERO NEVAREZ, ORLANDO        ADDRESS ON FILE
Cordero Nieves, Carlos Efrain   ADDRESS ON FILE
CORDERO NIEVES, GLADYS M        ADDRESS ON FILE
CORDERO NIEVES, HECTOR          ADDRESS ON FILE
CORDERO NIEVES, IRVING          ADDRESS ON FILE




                                                                            Page 1777 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1778 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO NIEVES, IVAN J           ADDRESS ON FILE
CORDERO NIEVES, LISANDRA         ADDRESS ON FILE
CORDERO NIEVES, LISANDRA         ADDRESS ON FILE
Cordero Nieves, Manuel           ADDRESS ON FILE
CORDERO NIEVES, MARITZA          ADDRESS ON FILE
CORDERO NIEVES, NAYDA G          ADDRESS ON FILE
CORDERO NIEVES, NAYDA GRISELLE   ADDRESS ON FILE
CORDERO NIEVES, VICTOR L         ADDRESS ON FILE
CORDERO NIEVES, YARITZA          ADDRESS ON FILE
CORDERO NIEVES, YOLANDA          ADDRESS ON FILE
CORDERO OCASIO, JULIE            ADDRESS ON FILE
CORDERO OCASIO, LOURDES M        ADDRESS ON FILE
CORDERO OCASIO, LOURDES M.       ADDRESS ON FILE
CORDERO OCASIO, LUIS A.          ADDRESS ON FILE
CORDERO OJEDA, ANGEL             ADDRESS ON FILE
CORDERO OLAVARRIA, NATALIE       ADDRESS ON FILE
CORDERO ORSINI, KATTIE V         ADDRESS ON FILE
CORDERO ORTA, EILEEN             ADDRESS ON FILE
CORDERO ORTIZ, ANA A             ADDRESS ON FILE
CORDERO ORTIZ, ANIBAL O          ADDRESS ON FILE
CORDERO ORTIZ, CARLA             ADDRESS ON FILE
CORDERO ORTIZ, CARMEN H          ADDRESS ON FILE
Cordero Ortiz, Eduardo J         ADDRESS ON FILE
CORDERO ORTIZ, ERNESTO           ADDRESS ON FILE
CORDERO ORTIZ, JORGE             ADDRESS ON FILE
CORDERO ORTIZ, JOSE              ADDRESS ON FILE
CORDERO ORTIZ, MARGARITA         ADDRESS ON FILE
CORDERO ORTIZ, YANITZA           ADDRESS ON FILE
CORDERO OSORIO, SANTIAGO         ADDRESS ON FILE
CORDERO OTERO, ANA               ADDRESS ON FILE
CORDERO OYOLA, SANDRA I          ADDRESS ON FILE
CORDERO PABON, FERNANDO          ADDRESS ON FILE
CORDERO PABON, GRICELDA          ADDRESS ON FILE
CORDERO PABON, JESUS M           ADDRESS ON FILE
CORDERO PABON, MYRA              ADDRESS ON FILE
CORDERO PACHECO, ANGEL L         ADDRESS ON FILE
CORDERO PACHECO, FERNANDO        ADDRESS ON FILE
CORDERO PACHECO, JACKELINE I.    ADDRESS ON FILE
CORDERO PADILLA, FELIBERTO       ADDRESS ON FILE
CORDERO PADILLA, JORGE           ADDRESS ON FILE
CORDERO PADILLA, LEODANEL        ADDRESS ON FILE
CORDERO PADILLA, NORMA           ADDRESS ON FILE
CORDERO PADILLA, NORMA           ADDRESS ON FILE
CORDERO PAGAN, EDWIN             ADDRESS ON FILE
CORDERO PAGAN, GILBERTO          ADDRESS ON FILE
CORDERO PAGAN, LORENA            ADDRESS ON FILE
Cordero Pagan, Sandra G          ADDRESS ON FILE
Cordero Pantojas, Sofia          ADDRESS ON FILE
CORDERO PARRILLA, ARTURO         ADDRESS ON FILE
CORDERO PARRILLA, ARTURO         ADDRESS ON FILE
CORDERO PARRILLA, MYRIAM         ADDRESS ON FILE
CORDERO PASTOR, CRUZ B.          ADDRESS ON FILE
CORDERO PASTOR, DIGNA            ADDRESS ON FILE
CORDERO PASTORIZA, MORAIMA       ADDRESS ON FILE
CORDERO PEQA, MERCEDES           ADDRESS ON FILE
Cordero Perez, Adam              ADDRESS ON FILE
Cordero Perez, Alvin Josue       ADDRESS ON FILE
CORDERO PEREZ, ANA M             ADDRESS ON FILE
CORDERO PEREZ, CARMEN G.         ADDRESS ON FILE
CORDERO PEREZ, CARMEN G.         ADDRESS ON FILE




                                                                             Page 1778 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1779 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO PEREZ, ELIONEL          ADDRESS ON FILE
CORDERO PEREZ, EMILIO           ADDRESS ON FILE
CORDERO PEREZ, ERICK            ADDRESS ON FILE
Cordero Perez, Erick Joel       ADDRESS ON FILE
CORDERO PEREZ, JOEL             ADDRESS ON FILE
CORDERO PEREZ, JOSE A.          ADDRESS ON FILE
CORDERO PEREZ, JULIO C.         ADDRESS ON FILE
CORDERO PEREZ, KAVIER           ADDRESS ON FILE
CORDERO PEREZ, LOURDES          ADDRESS ON FILE
CORDERO PEREZ, MANOLIN          ADDRESS ON FILE
CORDERO PEREZ, MARIA M          ADDRESS ON FILE
CORDERO PEREZ, NOEL             ADDRESS ON FILE
Cordero Perez, Roberto          ADDRESS ON FILE
CORDERO PEREZ, ROBERTO          ADDRESS ON FILE
CORDERO PEREZ, ROSA             ADDRESS ON FILE
CORDERO PEREZ, SONIA            ADDRESS ON FILE
CORDERO PEREZ, WANDA I.         ADDRESS ON FILE
CORDERO PEREZ, WILLIAM          ADDRESS ON FILE
CORDERO PIMENTEL, MARTHA S.     ADDRESS ON FILE
CORDERO PITRE, NELSON J.        ADDRESS ON FILE
CORDERO PLANAS, MAYRA           ADDRESS ON FILE
CORDERO PLAZA, IRMA             ADDRESS ON FILE
CORDERO PLAZA, SONIA            ADDRESS ON FILE
CORDERO PLUGEZ, JOSE            ADDRESS ON FILE
CORDERO POLANCO MD, ENEROLISA   ADDRESS ON FILE
CORDERO POLIDURA, FERDINAND     ADDRESS ON FILE
CORDERO POMALES, JUAN___JR      ADDRESS ON FILE
CORDERO PONCE, MARIA D.         ADDRESS ON FILE
CORDERO PUEYO, ELSIE            ADDRESS ON FILE
CORDERO QUILES, ESTEBAN         ADDRESS ON FILE
CORDERO QUINONES, ALEX          ADDRESS ON FILE
CORDERO QUINONES, CELSA I       ADDRESS ON FILE
CORDERO QUINONES, EDWIN         ADDRESS ON FILE
CORDERO QUINONES, EMMA M        ADDRESS ON FILE
CORDERO QUINONES, ILIANA        ADDRESS ON FILE
Cordero Quinones, Luis A        ADDRESS ON FILE
Cordero Quinonez, Jose D.       ADDRESS ON FILE
CORDERO RAMOS, ABNER            ADDRESS ON FILE
Cordero Ramos, Adalberto        ADDRESS ON FILE
Cordero Ramos, Angel L          ADDRESS ON FILE
CORDERO RAMOS, JAIME            ADDRESS ON FILE
CORDERO RAMOS, JAVIER           ADDRESS ON FILE
CORDERO RAMOS, JORGE L          ADDRESS ON FILE
CORDERO RAMOS, LIZA             ADDRESS ON FILE
CORDERO RAMOS, MARIA C          ADDRESS ON FILE
CORDERO RAMOS, NORMA I          ADDRESS ON FILE
CORDERO RAMOS, OSVALDO          ADDRESS ON FILE
CORDERO RENTAS, CARMEN T        ADDRESS ON FILE
CORDERO RENTAS, ROSALINDA       ADDRESS ON FILE
CORDERO RESTO, ANTONIO          ADDRESS ON FILE
CORDERO RESTO, ERICK            ADDRESS ON FILE
CORDERO RESTO, MARIA DE L.      ADDRESS ON FILE
CORDERO REYES, CAROL            ADDRESS ON FILE
CORDERO REYES, FELIX            ADDRESS ON FILE
CORDERO REYES, JANET            ADDRESS ON FILE
CORDERO REYES, RAMONITA         ADDRESS ON FILE
CORDERO RIOS, ANGEL R.          ADDRESS ON FILE
CORDERO RIOS, ARSENIO           ADDRESS ON FILE
CORDERO RIOS, DAMARY            ADDRESS ON FILE
CORDERO RIOS, EDNA B            ADDRESS ON FILE




                                                                            Page 1779 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1780 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO RIOS, EMMA             ADDRESS ON FILE
Cordero Rios, Pedro R.         ADDRESS ON FILE
CORDERO RIVAS, KEVIN           ADDRESS ON FILE
CORDERO RIVERA MD, DOMINGO     ADDRESS ON FILE
CORDERO RIVERA, ADOLFO         ADDRESS ON FILE
CORDERO RIVERA, ALBAMARIE      ADDRESS ON FILE
CORDERO RIVERA, ALMA R         ADDRESS ON FILE
CORDERO RIVERA, ANGEL M.       ADDRESS ON FILE
CORDERO RIVERA, AUDBERTO       ADDRESS ON FILE
CORDERO RIVERA, CARLOS         ADDRESS ON FILE
Cordero Rivera, Carlos J       ADDRESS ON FILE
CORDERO RIVERA, CAROLYN        ADDRESS ON FILE
CORDERO RIVERA, DANIEL         ADDRESS ON FILE
CORDERO RIVERA, DORIS M        ADDRESS ON FILE
CORDERO RIVERA, FRANCIS        ADDRESS ON FILE
Cordero Rivera, Hector A.      ADDRESS ON FILE
CORDERO RIVERA, HERMAN         ADDRESS ON FILE
CORDERO RIVERA, HIRAM          ADDRESS ON FILE
CORDERO RIVERA, HIRAM          ADDRESS ON FILE
CORDERO RIVERA, ILSA           ADDRESS ON FILE
CORDERO RIVERA, IVONNE         ADDRESS ON FILE
CORDERO RIVERA, JOEL           ADDRESS ON FILE
CORDERO RIVERA, JOSE           ADDRESS ON FILE
CORDERO RIVERA, JOSE A         ADDRESS ON FILE
CORDERO RIVERA, JUAN           ADDRESS ON FILE
CORDERO RIVERA, LORNA D        ADDRESS ON FILE
CORDERO RIVERA, LUIS           ADDRESS ON FILE
CORDERO RIVERA, LUZ C          ADDRESS ON FILE
CORDERO RIVERA, LYZBETH A.     ADDRESS ON FILE
CORDERO RIVERA, LYZBETH A.     ADDRESS ON FILE
CORDERO RIVERA, MAGDALENA      ADDRESS ON FILE
CORDERO RIVERA, MARIA          ADDRESS ON FILE
Cordero Rivera, Maria C        ADDRESS ON FILE
CORDERO RIVERA, MARIA DEL CA   ADDRESS ON FILE
CORDERO RIVERA, MARIA M        ADDRESS ON FILE
CORDERO RIVERA, MARIA M        ADDRESS ON FILE
CORDERO RIVERA, MIGDALIA       ADDRESS ON FILE
CORDERO RIVERA, MONICA         ADDRESS ON FILE
CORDERO RIVERA, MONICA B       ADDRESS ON FILE
CORDERO RIVERA, MONICA B.      ADDRESS ON FILE
CORDERO RIVERA, NILKA          ADDRESS ON FILE
CORDERO RIVERA, RAFAEL         ADDRESS ON FILE
CORDERO RIVERA, ROSA N         ADDRESS ON FILE
CORDERO RIVERA, VERONICA Y     ADDRESS ON FILE
CORDERO RIVERA, WALDEMAR       ADDRESS ON FILE
CORDERO RIVERA, WEXCYN         ADDRESS ON FILE
CORDERO ROBLES, ABIGAIL        ADDRESS ON FILE
CORDERO ROBLES, SAMUEL         ADDRESS ON FILE
CORDERO ROCA, FELIX            ADDRESS ON FILE
CORDERO RODRIGUEZ, AIDA L      ADDRESS ON FILE
CORDERO RODRIGUEZ, ANA M       ADDRESS ON FILE
CORDERO RODRIGUEZ, ANGEL       ADDRESS ON FILE
CORDERO RODRIGUEZ, BLANCA N    ADDRESS ON FILE
CORDERO RODRIGUEZ, CARMEN M.   ADDRESS ON FILE
CORDERO RODRIGUEZ, EDGAR       ADDRESS ON FILE
CORDERO RODRIGUEZ, EDWARD      ADDRESS ON FILE
CORDERO RODRIGUEZ, EDWIN P     ADDRESS ON FILE
CORDERO RODRIGUEZ, EDWIN X     ADDRESS ON FILE
Cordero Rodriguez, Elvin O     ADDRESS ON FILE
CORDERO RODRIGUEZ, FRANCISCA   ADDRESS ON FILE




                                                                           Page 1780 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1781 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO RODRIGUEZ, FRANCISCO    ADDRESS ON FILE
CORDERO RODRIGUEZ, FRANKLIN     ADDRESS ON FILE
CORDERO RODRIGUEZ, GABRIEL      ADDRESS ON FILE
CORDERO RODRIGUEZ, GERMAN       ADDRESS ON FILE
CORDERO RODRIGUEZ, GRETCHEN     ADDRESS ON FILE
CORDERO RODRIGUEZ, JESSICA      ADDRESS ON FILE
CORDERO RODRIGUEZ, JOSE         ADDRESS ON FILE
CORDERO RODRIGUEZ, JOSELITO     ADDRESS ON FILE
CORDERO RODRIGUEZ, JOSELITO     ADDRESS ON FILE
CORDERO RODRIGUEZ, JUAN         ADDRESS ON FILE
CORDERO RODRIGUEZ, JUAN         ADDRESS ON FILE
CORDERO RODRIGUEZ, JUAN         ADDRESS ON FILE
CORDERO RODRIGUEZ, KEILA M      ADDRESS ON FILE
CORDERO RODRIGUEZ, LUCIA        ADDRESS ON FILE
CORDERO RODRIGUEZ, LUIS R       ADDRESS ON FILE
CORDERO RODRIGUEZ, MADELINE     ADDRESS ON FILE
CORDERO RODRIGUEZ, MAGALY       ADDRESS ON FILE
CORDERO RODRIGUEZ, MAGALY       ADDRESS ON FILE
CORDERO RODRIGUEZ, MARGARITA    ADDRESS ON FILE
CORDERO RODRIGUEZ, MARGARITA    ADDRESS ON FILE
CORDERO RODRIGUEZ, MILAGROS     ADDRESS ON FILE
CORDERO RODRIGUEZ, MOISES       ADDRESS ON FILE
CORDERO RODRIGUEZ, NILDA        ADDRESS ON FILE
CORDERO RODRIGUEZ, OLGA E       ADDRESS ON FILE
Cordero Rodriguez, Omar         ADDRESS ON FILE
CORDERO RODRIGUEZ, RAFAEL       ADDRESS ON FILE
CORDERO RODRIGUEZ, RAFAEL A     ADDRESS ON FILE
CORDERO RODRIGUEZ, REGINA       ADDRESS ON FILE
CORDERO RODRIGUEZ, ROCHELLE     ADDRESS ON FILE
CORDERO RODRIGUEZ, RUTH D       ADDRESS ON FILE
CORDERO RODRIGUEZ, SANTA        ADDRESS ON FILE
CORDERO RODRIGUEZ, VANESSA      ADDRESS ON FILE
CORDERO RODRIGUEZ, VIVIANA M.   ADDRESS ON FILE
Cordero Rodriguez, Wilson       ADDRESS ON FILE
CORDERO RODRIGUEZ, ZANDRA       ADDRESS ON FILE
CORDERO RODRIGUEZ, ZULMA        ADDRESS ON FILE
CORDERO ROJAS, DAVID            ADDRESS ON FILE
CORDERO ROLDAN, ENIDSA          ADDRESS ON FILE
CORDERO ROLDAN, JOEL            ADDRESS ON FILE
CORDERO ROMAN, AILEEN           ADDRESS ON FILE
CORDERO ROMAN, AMILCAR          ADDRESS ON FILE
CORDERO ROMAN, ANGEL R.         ADDRESS ON FILE
CORDERO ROMAN, GRISELLE M       ADDRESS ON FILE
Cordero Roman, Heriberto        ADDRESS ON FILE
CORDERO ROMAN, IRIS             ADDRESS ON FILE
CORDERO ROMAN, JAIME            ADDRESS ON FILE
CORDERO ROMAN, JORGE A          ADDRESS ON FILE
CORDERO ROMAN, JULIO            ADDRESS ON FILE
CORDERO ROMAN, LUIS             ADDRESS ON FILE
CORDERO ROMAN, LUIS             ADDRESS ON FILE
CORDERO ROMAN, MARIA M          ADDRESS ON FILE
CORDERO ROMAN, MARITZA          ADDRESS ON FILE
Cordero Roman, Mayra            ADDRESS ON FILE
CORDERO ROMAN, NILDA I          ADDRESS ON FILE
CORDERO ROMAN, PURA             ADDRESS ON FILE
Cordero Roman, Rafael           ADDRESS ON FILE
CORDERO ROMAN, WILFREDO         ADDRESS ON FILE
CORDERO ROMERO, ALBERTO         ADDRESS ON FILE
CORDERO ROMERO, MAYRA           ADDRESS ON FILE
CORDERO ROMERO, MAYRA E.        ADDRESS ON FILE




                                                                            Page 1781 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1782 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO ROMERO, SAVIDELIZ     ADDRESS ON FILE
CORDERO ROQUE, AGNERIS        ADDRESS ON FILE
CORDERO ROQUE, LYNET          ADDRESS ON FILE
CORDERO ROSA, CARLOS          ADDRESS ON FILE
CORDERO ROSA, CARLOS J.       ADDRESS ON FILE
CORDERO ROSA, DAISY           ADDRESS ON FILE
CORDERO ROSA, EDUARDO J       ADDRESS ON FILE
CORDERO ROSA, ELIZABETH       ADDRESS ON FILE
CORDERO ROSA, MILDRED         ADDRESS ON FILE
CORDERO ROSA, SANDRA I        ADDRESS ON FILE
CORDERO ROSADO, AMILDA        ADDRESS ON FILE
CORDERO ROSADO, DANELYS       ADDRESS ON FILE
CORDERO ROSADO, DORIS I       ADDRESS ON FILE
CORDERO ROSADO, EDWIN         ADDRESS ON FILE
Cordero Rosado, Edwin S       ADDRESS ON FILE
CORDERO ROSADO, HENRY         ADDRESS ON FILE
CORDERO ROSADO, HENRY M.      ADDRESS ON FILE
CORDERO ROSADO, JESUS         ADDRESS ON FILE
CORDERO ROSADO, NICHOLE Y     ADDRESS ON FILE
CORDERO ROSADO, WANDA I.      ADDRESS ON FILE
CORDERO ROSADO, WANDA M.      ADDRESS ON FILE
CORDERO ROSARIO, DANELIX      ADDRESS ON FILE
CORDERO ROSARIO, DARIELYS     ADDRESS ON FILE
CORDERO ROSARIO, EMANUEL      ADDRESS ON FILE
Cordero Rosario, Hilton A     ADDRESS ON FILE
Cordero Rosario, Manuel A     ADDRESS ON FILE
CORDERO ROSARIO, NOEMI        ADDRESS ON FILE
CORDERO ROSARIO, OCTAVIO      ADDRESS ON FILE
CORDERO ROSARIO, YIPSE G      ADDRESS ON FILE
CORDERO RUIZ, ANA L.          ADDRESS ON FILE
CORDERO RUIZ, ISABEL          ADDRESS ON FILE
CORDERO SABATER, LAURY        ADDRESS ON FILE
CORDERO SAEZ, WILFREDO        ADDRESS ON FILE
CORDERO SALAMAN, YARIMAR      ADDRESS ON FILE
CORDERO SALDANA, JOSE         ADDRESS ON FILE
CORDERO SALINAS, EFRAIN       ADDRESS ON FILE
CORDERO SALINAS, YANIRA       ADDRESS ON FILE
CORDERO SALVA, FIOL D         ADDRESS ON FILE
CORDERO SANABRIA, RAMON       ADDRESS ON FILE
CORDERO SANABRIA, YOLANDA     ADDRESS ON FILE
CORDERO SANCHEZ, ADOLFO M     ADDRESS ON FILE
CORDERO SANCHEZ, ALICE        ADDRESS ON FILE
CORDERO SANCHEZ, BRENDA       ADDRESS ON FILE
Cordero Sanchez, Elizabeth    ADDRESS ON FILE
CORDERO SANCHEZ, GLADYS V     ADDRESS ON FILE
CORDERO SANCHEZ, IVAN         ADDRESS ON FILE
CORDERO SANCHEZ, JACKELINE    ADDRESS ON FILE
CORDERO SANCHEZ, JOXUAN       ADDRESS ON FILE
CORDERO SANCHEZ, LUIS         ADDRESS ON FILE
CORDERO SANCHEZ, LYDIA E      ADDRESS ON FILE
CORDERO SANCHEZ, RAFAEL       ADDRESS ON FILE
CORDERO SANCHEZ, RAUL         ADDRESS ON FILE
CORDERO SANCHEZ, SYLVETTE R   ADDRESS ON FILE
Cordero Sanchez, Wanda L      ADDRESS ON FILE
CORDERO SANTA, HILTON A.      ADDRESS ON FILE
CORDERO SANTA, MIGUEL         ADDRESS ON FILE
CORDERO SANTANA, ARTURO E.    ADDRESS ON FILE
CORDERO SANTANA, ENRIQUE      ADDRESS ON FILE
CORDERO SANTANA, ENRIQUE A.   ADDRESS ON FILE
CORDERO SANTANA, JONATHAN     ADDRESS ON FILE




                                                                          Page 1782 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1783 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                      Address1                       Address2                                     Address3              Address4   City         State   PostalCode   Country
Cordero Santana, Nelson J.         ADDRESS ON FILE
CORDERO SANTANA, SUE HELLEN        ADDRESS ON FILE
CORDERO SANTANA, WILMARIE          ADDRESS ON FILE
CORDERO SANTIAGO, ANGELITA         ADDRESS ON FILE
CORDERO SANTIAGO, ARMANDO J        ADDRESS ON FILE
CORDERO SANTIAGO, CARMEN R         ADDRESS ON FILE
CORDERO SANTIAGO, EDWIN            ADDRESS ON FILE
CORDERO SANTIAGO, EDWIN            ADDRESS ON FILE
CORDERO SANTIAGO, JINNETTE         ADDRESS ON FILE
CORDERO SANTIAGO, JOEL F.          ADDRESS ON FILE
CORDERO SANTIAGO, JONATHAN         ADDRESS ON FILE
Cordero Santiago, Jose A           ADDRESS ON FILE
CORDERO SANTIAGO, JUAN             ADDRESS ON FILE
CORDERO SANTIAGO, KENNETH          ADDRESS ON FILE
CORDERO SANTIAGO, LISANDRA         ADDRESS ON FILE
CORDERO SANTIAGO, LUIS A.          ADDRESS ON FILE
CORDERO SANTIAGO, MYRTA            ADDRESS ON FILE
CORDERO SANTIAGO, MYRTA IVELISSE   ADDRESS ON FILE
CORDERO SANTIAGO, ZAIDA            ADDRESS ON FILE
CORDERO SANTOS, ANGEL L            ADDRESS ON FILE
CORDERO SANTOS, CARLOS             ADDRESS ON FILE
CORDERO SANTOS, CARMEN L           ADDRESS ON FILE
Cordero Santos, Hernan             ADDRESS ON FILE
CORDERO SANTOS, NILDA M            ADDRESS ON FILE
CORDERO SANTOS, OLGA I             ADDRESS ON FILE
CORDERO SANTOS, SONIA I            ADDRESS ON FILE
CORDERO SANTOS, TERESA             ADDRESS ON FILE
CORDERO SEDA, JULISSA              ADDRESS ON FILE
CORDERO SEGUINOT, RITA J           ADDRESS ON FILE
CORDERO SEMPRIT, CRISTAL I         ADDRESS ON FILE
CORDERO SENIOR, PIERINA            ADDRESS ON FILE
CORDERO SEPULVEDA MD, JULIO        ADDRESS ON FILE
CORDERO SEPULVEDA, ALEJANDRO       ADDRESS ON FILE
CORDERO SEPULVEDA, CARMEN          ADDRESS ON FILE
CORDERO SEPULVEDA, JULIO           ADDRESS ON FILE
CORDERO SEPULVEDA, JULIO O         ADDRESS ON FILE
CORDERO SEPULVEDA, LUCIA           ADDRESS ON FILE
CORDERO SERRANO, GLADYS            ADDRESS ON FILE
CORDERO SERRANO, JOSE A.           ADDRESS ON FILE
CORDERO SERRANO, JOSE A.           ADDRESS ON FILE
CORDERO SIERRA, NORMA IVETTE       ADDRESS ON FILE
CORDERO SILVA, GREGORIO            ADDRESS ON FILE
CORDERO SILVA, RAMONA              ADDRESS ON FILE
CORDERO SILVA, RAMONA              ADDRESS ON FILE
CORDERO SILVA, RICARDO             ADDRESS ON FILE
CORDERO SISO, ANA M                ADDRESS ON FILE
Cordero Soriano, Carmen M.         ADDRESS ON FILE
CORDERO SOSA, ISMAEL               ADDRESS ON FILE
Cordero Sosa, Ismael A.            ADDRESS ON FILE
CORDERO SOSA, MONICA               ADDRESS ON FILE
CORDERO SOTO MD, JORGE L           ADDRESS ON FILE
CORDERO SOTO, AILEEN               ADDRESS ON FILE
CORDERO SOTO, ANGEL                ADDRESS ON FILE
CORDERO SOTO, ELBA I               ADDRESS ON FILE
CORDERO SOTO, ELIEZER              ADDRESS ON FILE
CORDERO SOTO, ELIZABETH            ADDRESS ON FILE
CORDERO SOTO, ELIZABETH            LCDO. LUIS A. BURGOS RIVERA    LCDO. LUIS A. BURGOS RIVERA                  PO BOX 2464                      GUAYAMA      PR      00785
                                                                                                               AVENIDA WILSON NÚM.
CORDERO SOTO, ELIZABETH            LCDO. RAMIRO RODRÍGUEZ RAMOS   LCDO. RAMIRO RODRÍGUEZ RAMOS                 1210                             SAN JUAN     PR      00907‐2819
CORDERO SOTO, JEYLIN               ADDRESS ON FILE




                                                                                                Page 1783 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1784 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO SOTO, LISANDRA I     ADDRESS ON FILE
CORDERO SOTO, LUIS           ADDRESS ON FILE
CORDERO SOTO, LUIS A         ADDRESS ON FILE
CORDERO SOTO, NATHANAEL      ADDRESS ON FILE
CORDERO SOTO, NELSON         ADDRESS ON FILE
CORDERO SOTO, NOEL M         ADDRESS ON FILE
CORDERO SOTO, PETER          ADDRESS ON FILE
CORDERO SOTO, PETER JR.      ADDRESS ON FILE
CORDERO SOTO, SUSANA         ADDRESS ON FILE
CORDERO SOTO, ZAIDA          ADDRESS ON FILE
CORDERO SUAREZ, MARIA A      ADDRESS ON FILE
CORDERO SUAREZ, WANDA I.     ADDRESS ON FILE
CORDERO SUAREZ, WANDA I.     ADDRESS ON FILE
CORDERO TELLADO, LUIS M.     ADDRESS ON FILE
CORDERO TIRADO, NINOSCHKA    ADDRESS ON FILE
CORDERO TISHER, VIRGILIO     ADDRESS ON FILE
CORDERO TORRENS, BENJAMIN    ADDRESS ON FILE
CORDERO TORRES, ALEXIS       ADDRESS ON FILE
CORDERO TORRES, ANA D        ADDRESS ON FILE
CORDERO TORRES, CARMEN E     ADDRESS ON FILE
CORDERO TORRES, CARMEN M     ADDRESS ON FILE
CORDERO TORRES, FERDINAND    ADDRESS ON FILE
CORDERO TORRES, JOHANY       ADDRESS ON FILE
CORDERO TORRES, JOSE         ADDRESS ON FILE
Cordero Torres, Jose V       ADDRESS ON FILE
CORDERO TORRES, JUAN         ADDRESS ON FILE
CORDERO TORRES, JUAN         ADDRESS ON FILE
CORDERO TORRES, JUAN J.      ADDRESS ON FILE
CORDERO TORRES, LYMARI       ADDRESS ON FILE
CORDERO TORRES, MARIA        ADDRESS ON FILE
CORDERO TORRES, MARIA D      ADDRESS ON FILE
CORDERO TORRES, MARIA E.     ADDRESS ON FILE
CORDERO TORRES, MARIA E.     ADDRESS ON FILE
CORDERO TORRES, MIGUEL A.    ADDRESS ON FILE
CORDERO TORRES, RAFAEL       ADDRESS ON FILE
CORDERO TORRES, RAMON        ADDRESS ON FILE
CORDERO TORRES, RAMON A.     ADDRESS ON FILE
CORDERO TORRES, RUTH N       ADDRESS ON FILE
CORDERO TORRES, STEPHANIE    ADDRESS ON FILE
CORDERO TORRES, XAVIER A.    ADDRESS ON FILE
CORDERO TOSADO, DELMA L      ADDRESS ON FILE
CORDERO TOSADO, IVAN         ADDRESS ON FILE
CORDERO TOSADO, LUZ H        ADDRESS ON FILE
CORDERO TRINIDAD, HALLYN M   ADDRESS ON FILE
CORDERO UGARTE, LEOMARDIS    ADDRESS ON FILE
CORDERO UGARTE, MARIO G.     ADDRESS ON FILE
CORDERO ULMO, NINDRA         ADDRESS ON FILE
CORDERO ULMO, NINDRA         ADDRESS ON FILE
CORDERO URBINA, RAFAEL       ADDRESS ON FILE
CORDERO VALENTIN, GERMAN     ADDRESS ON FILE
CORDERO VALERA, LILINETTE    ADDRESS ON FILE
CORDERO VALERA, SAMUEL       ADDRESS ON FILE
CORDERO VALLE MD, ISRAEL A   ADDRESS ON FILE
CORDERO VALLE, EUGENIO       ADDRESS ON FILE
CORDERO VARELA, EDDIE        ADDRESS ON FILE
CORDERO VARELA, ELVIS L      ADDRESS ON FILE
CORDERO VARGAS & CO CORP     P O BOX 836                                                                      CAGUAS       PR      00726
CORDERO VARGAS, ARMANDO      ADDRESS ON FILE
CORDERO VARGAS, CAMELIA      ADDRESS ON FILE
CORDERO VARGAS, EDGARD       ADDRESS ON FILE




                                                                         Page 1784 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1785 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cordero Vargas, Giovanni       ADDRESS ON FILE
CORDERO VARGAS, LOREL          ADDRESS ON FILE
CORDERO VARGAS, RICARDO        ADDRESS ON FILE
CORDERO VARGAS, SANDRA M       ADDRESS ON FILE
CORDERO VARGAS, VIRGINIA       ADDRESS ON FILE
Cordero Vargas, Wilfredo       ADDRESS ON FILE
CORDERO VASSALLO, CARMEN R     ADDRESS ON FILE
CORDERO VAZQUEZ, ABDIEL        ADDRESS ON FILE
CORDERO VAZQUEZ, DEREK Y       ADDRESS ON FILE
CORDERO VAZQUEZ, DIANA B.      ADDRESS ON FILE
CORDERO VAZQUEZ, GLADYS        ADDRESS ON FILE
CORDERO VAZQUEZ, JOSE          ADDRESS ON FILE
CORDERO VAZQUEZ, JUAN          ADDRESS ON FILE
Cordero Vazquez, Katyria       ADDRESS ON FILE
CORDERO VAZQUEZ, MARIA         ADDRESS ON FILE
CORDERO VAZQUEZ, MILAGROS      ADDRESS ON FILE
CORDERO VAZQUEZ, MONICA        ADDRESS ON FILE
CORDERO VEGA, AXWINE           ADDRESS ON FILE
CORDERO VEGA, DANNY            ADDRESS ON FILE
CORDERO VEGA, GABRIEL          ADDRESS ON FILE
CORDERO VEGA, GUILLERMO        ADDRESS ON FILE
CORDERO VEGA, JACKELINE        ADDRESS ON FILE
CORDERO VEGA, JAVIER F.        ADDRESS ON FILE
CORDERO VEGA, JEFFREY          ADDRESS ON FILE
CORDERO VEGA, LIRIO B          ADDRESS ON FILE
CORDERO VEGA, LUIS             ADDRESS ON FILE
CORDERO VEGA, LUZ              ADDRESS ON FILE
CORDERO VEGA, LUZ M.           ADDRESS ON FILE
CORDERO VEGA, MARIA            ADDRESS ON FILE
CORDERO VEGA, MYRTA            ADDRESS ON FILE
CORDERO VEGA, NORMA            ADDRESS ON FILE
CORDERO VEGA, PAOLA M.         ADDRESS ON FILE
CORDERO VEGA, RAFAEL           ADDRESS ON FILE
CORDERO VEGA, RAFAEL           ADDRESS ON FILE
CORDERO VEGA, RAMON A.         ADDRESS ON FILE
CORDERO VEGA, YESMARI          ADDRESS ON FILE
CORDERO VEGA, ZULMA I          ADDRESS ON FILE
CORDERO VELAZQUEZ, FREIDY      ADDRESS ON FILE
CORDERO VELAZQUEZ, MARICELYS   ADDRESS ON FILE
CORDERO VELAZQUEZ, ONEIDA      ADDRESS ON FILE
CORDERO VELEZ, CLARA M         ADDRESS ON FILE
CORDERO VELEZ, EMMANUEL        ADDRESS ON FILE
CORDERO VELEZ, IVAN F.         ADDRESS ON FILE
CORDERO VELEZ, JOHANNA         ADDRESS ON FILE
CORDERO VELEZ, JOSE            ADDRESS ON FILE
CORDERO VELEZ, LUZ N           ADDRESS ON FILE
CORDERO VELEZ, MARITZA         ADDRESS ON FILE
CORDERO VELEZ, SAMUEL          ADDRESS ON FILE
CORDERO VELEZ, SAMUEL M        ADDRESS ON FILE
CORDERO VELEZ, SONIA I         ADDRESS ON FILE
CORDERO VELEZ, TERESA          ADDRESS ON FILE
CORDERO VELEZ, ZULEIKA         ADDRESS ON FILE
Cordero Ventura, Jean G        ADDRESS ON FILE
CORDERO VERA, ANA C.           ADDRESS ON FILE
CORDERO VERA, CESAR            ADDRESS ON FILE
CORDERO VERA, EDWIN            ADDRESS ON FILE
CORDERO VERA, HERIBERTO        ADDRESS ON FILE
CORDERO VERA, IRIS A           ADDRESS ON FILE
CORDERO VERA, IRIS J           ADDRESS ON FILE
CORDERO VIERA, OTILIA          ADDRESS ON FILE




                                                                           Page 1785 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1786 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDERO YULFO, ALFONSO          ADDRESS ON FILE
CORDERO, BENJAMIN               ADDRESS ON FILE
CORDERO, CARLOS R               ADDRESS ON FILE
CORDERO, CESAR                  ADDRESS ON FILE
CORDERO, FELIX M                ADDRESS ON FILE
CORDERO, GUILLERMO JOSE         ADDRESS ON FILE
CORDERO, HARRY                  ADDRESS ON FILE
CORDERO, HEYDSHA RAQUEL         ADDRESS ON FILE
CORDERO, PEDRO                  ADDRESS ON FILE
CORDERO, RAQUEL                 ADDRESS ON FILE
CORDERO, RAUL A                 ADDRESS ON FILE
CORDERO, YARIBETTE              ADDRESS ON FILE
CORDERO,WILFREDO                ADDRESS ON FILE
CORDEROCANCIO, CARLOS M         ADDRESS ON FILE
CORDEROPEREZ, IVAN              ADDRESS ON FILE
CORDERORODRIGUEZ, HECTOR B      ADDRESS ON FILE
CORDERO‐RODRIGUEZ, TERESA       ADDRESS ON FILE
CORDOBA BONILLA, ANDRES         ADDRESS ON FILE
CORDOBA RODRIGUEZ, JHON J       ADDRESS ON FILE
CORDOLIANI PEREZ, MARCOS        ADDRESS ON FILE
CORDOVA ABREU, ENRIQUE          ADDRESS ON FILE
CORDOVA ACOSTA, JAIME           ADDRESS ON FILE
CORDOVA ALBINO, ROSA L          ADDRESS ON FILE
CORDOVA ALVARADO, HUGO          ADDRESS ON FILE
CORDOVA ALVAREZ, MANUEL         ADDRESS ON FILE
CORDOVA ALVIRA, FRANCES M       ADDRESS ON FILE
CORDOVA ALVIRA, RAMON           ADDRESS ON FILE
CORDOVA AMY,MAYRA L.            ADDRESS ON FILE
CORDOVA APONTE, DANALEE         ADDRESS ON FILE
CORDOVA APONTE,DANELLY E.       ADDRESS ON FILE
CORDOVA AVILES, JOHANNA         ADDRESS ON FILE
CORDOVA AYALA, LILLIAM          ADDRESS ON FILE
CORDOVA AYUSO, HUGO F           ADDRESS ON FILE
CORDOVA AYUSO, HUGO F.          ADDRESS ON FILE
CORDOVA BAYRON, CARMEN J.       ADDRESS ON FILE
CORDOVA BELTRAN, JUAN A.        ADDRESS ON FILE
CORDOVA BETANCOURT, DENISE E.   ADDRESS ON FILE
CORDOVA BURGOS, RODOLFO         ADDRESS ON FILE
CORDOVA CAMPOS, RITA            ADDRESS ON FILE
CORDOVA CARDONA, LUIS           ADDRESS ON FILE
CORDOVA CASTRO, JOESMARI        ADDRESS ON FILE
CORDOVA CENTENO, NELLY          ADDRESS ON FILE
CORDOVA CHINEA, IXIA B.         ADDRESS ON FILE
CORDOVA CINTRON, CARLOS         ADDRESS ON FILE
CORDOVA CINTRON, PABLO          ADDRESS ON FILE
Cordova Cirino, Gamalier        ADDRESS ON FILE
CORDOVA CLAUDIO, MARIO          ADDRESS ON FILE
CORDOVA COMAS, PRISCILLA        ADDRESS ON FILE
CORDOVA CORDERO, JUAN           ADDRESS ON FILE
CORDOVA CRUZ, MARIA             ADDRESS ON FILE
CORDOVA DAVILA, DAINA           ADDRESS ON FILE
CORDOVA DAVILA, DAINA B         ADDRESS ON FILE
CORDOVA DAVILA, DAMARIS Y       ADDRESS ON FILE
CORDOVA DAVILA, IRIS M          ADDRESS ON FILE
CORDOVA DAVILA, JOSEFINA        ADDRESS ON FILE
CORDOVA DE JESUS, HELEN         ADDRESS ON FILE
CORDOVA DE LEON, EVELYN         ADDRESS ON FILE
CORDOVA DE LEON, VIDAL          ADDRESS ON FILE
CORDOVA DIAZ, ANGEL             ADDRESS ON FILE
CORDOVA DIAZ, BLANCA I          ADDRESS ON FILE




                                                                            Page 1786 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1787 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDOVA DIAZ, HENRY           ADDRESS ON FILE
CORDOVA DIAZ, MARCOS          ADDRESS ON FILE
CORDOVA DIAZ, MARIA C         ADDRESS ON FILE
CORDOVA DIAZ, RICARDO         ADDRESS ON FILE
CORDOVA DIAZ, YAINELLYS       ADDRESS ON FILE
CORDOVA ESCALERA, ANGELITA    ADDRESS ON FILE
CORDOVA ESCALERA, CARMEN      ADDRESS ON FILE
CORDOVA ESCALERA, PAXIE       ADDRESS ON FILE
CORDOVA ESCALERA, RAYMOND     ADDRESS ON FILE
CORDOVA ESQUILIN, MAYRA       ADDRESS ON FILE
CORDOVA ESQUILIN, MILDRED     ADDRESS ON FILE
CORDOVA FERRER, ELENA         ADDRESS ON FILE
CORDOVA FERRER, HIRAM J.      ADDRESS ON FILE
CORDOVA FERRER, HIRAM J.      ADDRESS ON FILE
CORDOVA FIGUEROA, IRIS N      ADDRESS ON FILE
CORDOVA FIGUEROA, LUIS        ADDRESS ON FILE
CORDOVA FLORES, DAISY         ADDRESS ON FILE
CORDOVA FLORES, JOSE          ADDRESS ON FILE
CORDOVA FLORES, JOSE          ADDRESS ON FILE
CORDOVA GARCIA, DALIS         ADDRESS ON FILE
CORDOVA GARCIA, DALIS I       ADDRESS ON FILE
CORDOVA GARCIA, GYPSY         ADDRESS ON FILE
Cordova Garcia, Gypsy I       ADDRESS ON FILE
CORDOVA GARCIA, ILVIA J       ADDRESS ON FILE
CORDOVA GONZALE Z, VILMA I    ADDRESS ON FILE
CORDOVA GONZALEZ, DIANA       ADDRESS ON FILE
CORDOVA GONZALEZ, GILDA I     ADDRESS ON FILE
CORDOVA GONZALEZ, JOSE LUIS   ADDRESS ON FILE
CORDOVA GONZALEZ, MARIA C.    ADDRESS ON FILE
CORDOVA GUZMAN, MAGDALIS      ADDRESS ON FILE
CORDOVA GUZMAN, WILLIAM       ADDRESS ON FILE
CORDOVA HERNANDEZ, OCTAVIO    ADDRESS ON FILE
CORDOVA HIRALDO, FRANCISCO    ADDRESS ON FILE
CORDOVA IBANEZ, GISELLE M.    ADDRESS ON FILE
CORDOVA ITURREGUI, JOSE       ADDRESS ON FILE
CORDOVA ITURREGUI, JOSE       ADDRESS ON FILE
CORDOVA ITURREGUI, MARIA      ADDRESS ON FILE
Cordova Laboy, Johnnie        ADDRESS ON FILE
CORDOVA LANDRAU, SHELLAR      ADDRESS ON FILE
CORDOVA LEBRON, CARLOS        ADDRESS ON FILE
CORDOVA LOPEZ MD, ARTURO R    ADDRESS ON FILE
CORDOVA LOPEZ, FRANCISCO      ADDRESS ON FILE
CORDOVA LOZADA, MARANGELY     ADDRESS ON FILE
CORDOVA MADERA, ELIA          ADDRESS ON FILE
CORDOVA MANSO, NORMA          ADDRESS ON FILE
CORDOVA MANZANO, DAGMAR       ADDRESS ON FILE
CORDOVA MARRERO, LUZ M        ADDRESS ON FILE
CORDOVA MARTINEZ, ROXANA A    ADDRESS ON FILE
CORDOVA MARTINEZ, YOMARIE     ADDRESS ON FILE
CORDOVA MARTINEZ,AIXA         ADDRESS ON FILE
CORDOVA MAYSONET, ADA L       ADDRESS ON FILE
CORDOVA MAYSONET, JULIA       ADDRESS ON FILE
CORDOVA MAYSONET, JULIA D     ADDRESS ON FILE
Cordova Maysonet, Pablo       ADDRESS ON FILE
CORDOVA MCCLOSKEY, KATHRYN    ADDRESS ON FILE
CORDOVA MCFALINE, GONZALO     ADDRESS ON FILE
CORDOVA MEDINA, NELMARIE      ADDRESS ON FILE
CORDOVA MEDINA, NORMA         ADDRESS ON FILE
CORDOVA MEDINA, NORMA I.      ADDRESS ON FILE
CORDOVA MELENDEZ, JESUS       ADDRESS ON FILE




                                                                          Page 1787 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1788 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDOVA MELENDEZ, OCTAVIO         ADDRESS ON FILE
CORDOVA MIRANDA, CHRISTIAN        ADDRESS ON FILE
CORDOVA MIRANDA, LUIS A.          ADDRESS ON FILE
CORDOVA MIRANDA, LUIS O           ADDRESS ON FILE
CORDOVA MOLINA, ROBERTO           ADDRESS ON FILE
CORDOVA MOLINA, ROBERTO C         ADDRESS ON FILE
CORDOVA MONSERRATE, JUAN          ADDRESS ON FILE
CORDOVA MONSERRATE, LUZ NEREIDA   ADDRESS ON FILE
CORDOVA MONSERRATE, NORMA I       ADDRESS ON FILE
CORDOVA MONTALVO, CARMEN M        ADDRESS ON FILE
Cordova Montanez, Jose A          ADDRESS ON FILE
Cordova Montezuma, Jaime          ADDRESS ON FILE
CORDOVA MORALES, IVETTE           ADDRESS ON FILE
CORDOVA MORALES, LAURA            ADDRESS ON FILE
CORDOVA MORALES, LAURA            ADDRESS ON FILE
CORDOVA MORALES, MARIBEL          ADDRESS ON FILE
CORDOVA MORAN, ROBERTO            ADDRESS ON FILE
Cordova Munoz, Janeiris           ADDRESS ON FILE
CORDOVA NARVAEZ, NELLY            ADDRESS ON FILE
CORDOVA NIEVES, ILIA G.           ADDRESS ON FILE
CORDOVA NIEVES, JULIO             ADDRESS ON FILE
CORDOVA NOVOA, LUIS ORLANDO       ADDRESS ON FILE
CORDOVA OCASIO, BARBARA           ADDRESS ON FILE
CORDOVA OCASIO, HEBE DE LOS A     ADDRESS ON FILE
CORDOVA OLIVO, FEDERICO           ADDRESS ON FILE
CORDOVA ORTEGA, CARMEN M          ADDRESS ON FILE
CORDOVA ORTEGA, LOURDES M         ADDRESS ON FILE
CORDOVA ORTIZ, ANA H              ADDRESS ON FILE
CORDOVA ORTIZ, LORENA             ADDRESS ON FILE
CORDOVA ORTIZ, MARIO              ADDRESS ON FILE
CORDOVA OTERO, CARMEN L           ADDRESS ON FILE
CORDOVA OTERO, DAVID              ADDRESS ON FILE
CORDOVA OTERO, JOSE A.            ADDRESS ON FILE
CORDOVA OTERO, YOLANDA            ADDRESS ON FILE
CORDOVA OTERO, YOLANDA I.         ADDRESS ON FILE
Cordova Pabon, Efrain             ADDRESS ON FILE
CORDOVA PAGAN, PATRICIA           ADDRESS ON FILE
CORDOVA PAGAN, PATRICIA           ADDRESS ON FILE
CORDOVA PASTRANA, FROYLAN         ADDRESS ON FILE
CORDOVA PASTRANA, MILITZA         ADDRESS ON FILE
CORDOVA PEREZ, CARLOS E.          ADDRESS ON FILE
CORDOVA PEREZ, JUAN R             ADDRESS ON FILE
CORDOVA PINTOR, KATHIA            ADDRESS ON FILE
CORDOVA PIZARRO, DALIA M          ADDRESS ON FILE
CORDOVA PIZARRO, LESBIA           ADDRESS ON FILE
CORDOVA PIZARRO, MARIA            ADDRESS ON FILE
CORDOVA PONCE, CRISTINA           ADDRESS ON FILE
CORDOVA QUINTERO, DAVID           ADDRESS ON FILE
CORDOVA QUINTERO, ELSA            ADDRESS ON FILE
CORDOVA RAMIREZ, NANETTE          ADDRESS ON FILE
CORDOVA RESTO, ORAN               ADDRESS ON FILE
CORDOVA RIOS, CARMEN R            ADDRESS ON FILE
CORDOVA RIOS, EDDIE               ADDRESS ON FILE
CORDOVA RIVERA, ALEXANDER         ADDRESS ON FILE
CORDOVA RIVERA, ANGEL R           ADDRESS ON FILE
CORDOVA RIVERA, CELIA I           ADDRESS ON FILE
CORDOVA RIVERA, CELIA I           ADDRESS ON FILE
CORDOVA RIVERA, FROILAN           ADDRESS ON FILE
CORDOVA RIVERA, GRISSELLE         ADDRESS ON FILE
CORDOVA RIVERA, LUIS              ADDRESS ON FILE




                                                                              Page 1788 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1789 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORDOVA RIVERA, MARITZA        ADDRESS ON FILE
CORDOVA RIVERA, MIGUEL         ADDRESS ON FILE
CORDOVA RIVERA, MIRIAM         ADDRESS ON FILE
CORDOVA RIVERA, MIRIAM Y       ADDRESS ON FILE
CORDOVA RIVERA, REINALDO       ADDRESS ON FILE
CORDOVA RIVERA, RICARDO        ADDRESS ON FILE
Cordova Rivera, Rosa M         ADDRESS ON FILE
Cordova Robles, Heidi R        ADDRESS ON FILE
CORDOVA RODRIGUEZ, JERRY       ADDRESS ON FILE
CORDOVA RODRIGUEZ, JUAN        ADDRESS ON FILE
CORDOVA RODRIGUEZ, JUDITH      ADDRESS ON FILE
CORDOVA RODRIGUEZ, MAXIMO      ADDRESS ON FILE
CORDOVA RODRIGUEZ, ROSALEE     ADDRESS ON FILE
CORDOVA RODRIGUEZ, VIRGINIA    ADDRESS ON FILE
CORDOVA ROLON, CARLOS          ADDRESS ON FILE
CORDOVA ROLON, MARTA I         ADDRESS ON FILE
CORDOVA ROLON, NITZA I         ADDRESS ON FILE
CORDOVA ROLON, ORLANDO         ADDRESS ON FILE
CORDOVA ROSADO, ELIZABETH      ADDRESS ON FILE
CORDOVA ROSADO, JOEL           ADDRESS ON FILE
CORDOVA ROSADO, ROSA           ADDRESS ON FILE
CORDOVA ROSARIO, KIARA         ADDRESS ON FILE
CORDOVA RUNDLE, DANIEL         ADDRESS ON FILE
CORDOVA RUSSE, ELIZABETH M     ADDRESS ON FILE
Cordova Salas, Jose A          ADDRESS ON FILE
CORDOVA SALAS, LILLIAM         ADDRESS ON FILE
CORDOVA SANCHEZ, DENNISE O     ADDRESS ON FILE
CORDOVA SANCHEZ, IRIS N        ADDRESS ON FILE
CORDOVA SANCHEZ, JIMMY         ADDRESS ON FILE
CORDOVA SANCHEZ, LUIS          ADDRESS ON FILE
CORDOVA SANCHEZ, LUIS A.       ADDRESS ON FILE
CORDOVA SANJURJO, IVAN R       ADDRESS ON FILE
CORDOVA SANTANA, EVEXMIN       ADDRESS ON FILE
CORDOVA SANTANA, KEVIN         ADDRESS ON FILE
CORDOVA SANTANA, MINDRELYN     ADDRESS ON FILE
CORDOVA SANTIAGO, FRANCISCO    ADDRESS ON FILE
CORDOVA SANTIAGO, JESUS        ADDRESS ON FILE
CORDOVA SANTIAGO, LUIS         ADDRESS ON FILE
CORDOVA SANTIAGO, MARGARITA    ADDRESS ON FILE
CORDOVA SANTIAGO, OSVALDO      ADDRESS ON FILE
CORDOVA SANTIAGO, VANESSA      ADDRESS ON FILE
CORDOVA SANTOS, JESUS          ADDRESS ON FILE
CORDOVA SANTOS, NAOMI          ADDRESS ON FILE
CORDOVA SARMIENTO, CARLOS      ADDRESS ON FILE
Cordova Sarmiento, Carlos A.   ADDRESS ON FILE
Cordova Serrano, Alfredo       ADDRESS ON FILE
CORDOVA SERRANO, ANDREA        ADDRESS ON FILE
CORDOVA SOTO, NILDA E          ADDRESS ON FILE
CORDOVA SOTO, YAZMIN           ADDRESS ON FILE
CORDOVA SUAREZ, ISABEL M       ADDRESS ON FILE
CORDOVA TORRES, LUIS C         ADDRESS ON FILE
CORDOVA TORRES, NELIDA         ADDRESS ON FILE
CORDOVA UMPIERRE, MYRNA        ADDRESS ON FILE
CORDOVA VAZQUEZ, ANA L         ADDRESS ON FILE
CORDOVA VAZQUEZ, BRENDA        ADDRESS ON FILE
Cordova Vazquez, Marcos        ADDRESS ON FILE
CORDOVA VELEZ, CARLOS          ADDRESS ON FILE
CORDOVA VELEZ, MARIA L         ADDRESS ON FILE
CORDOVA VELEZ, NILDA           ADDRESS ON FILE
CORDOVA VELEZ, SCARLETE M      ADDRESS ON FILE




                                                                           Page 1789 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1790 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                       Address1                           Address2                                  Address3              Address4   City         State   PostalCode   Country
CORDOVA VENDRELL, GABRIEL           ADDRESS ON FILE
CORDOVA ZAYAS, PATRIA               ADDRESS ON FILE
CORDOVA, MARIA DE                   ADDRESS ON FILE
CORDOVES APONTE, ELIZABETH          ADDRESS ON FILE
CORDOVES APONTE, RAFAEL             ADDRESS ON FILE
CORDOVES AVILES, JOSE L             ADDRESS ON FILE
CORDOVES BAEZ, JAVIER               ADDRESS ON FILE
CORDOVES CABASSA, MARIA DEL C       ADDRESS ON FILE
CORDOVES CONCEPCION, HAROLD         ADDRESS ON FILE
Cordoves Concepcion, Jeanette       ADDRESS ON FILE
Cordoves Diaz, Harold S             ADDRESS ON FILE
CORDOVES FIGUEROA, LOURDES          ADDRESS ON FILE
CORDOVES FIGUEROA, LOURDES          ADDRESS ON FILE
CORDOVES INFANTE, ANTONIO           ADDRESS ON FILE
CORDOVES MERCED, MIGUEL             ADDRESS ON FILE
CORDOVES MORALES, SEBASTIAN         ADDRESS ON FILE
CORDOVES PEREZ, ILEANA              ADDRESS ON FILE
CORDOVEZ CONCEPCION, HAROLD         ADDRESS ON FILE
CORDOVEZ ORTIZ, ANA                 ADDRESS ON FILE
CORDRO PEREZ, ALEXANDER             ADDRESS ON FILE
CORE AYALA, ELBA I                  ADDRESS ON FILE
CORE AYALA, NELSON                  ADDRESS ON FILE
CORE BONILLA, YESSENIA              ADDRESS ON FILE
CORE COLON, ARMANDO                 ADDRESS ON FILE
CORE COLON, CARLOS                  ADDRESS ON FILE
CORE CRUZ, JOEL O.                  ADDRESS ON FILE
CORE FIGUEROA, NELIDA               ADDRESS ON FILE
Core Figueroa, Tomas E              ADDRESS ON FILE
CORE INSURANCE BROKERS CORP         PMB 120                            PO BOX 194000                                                              SAN JUAN     PR      00919
CORE MEDIA INC                      PO BOX 270010                                                                                                 SAN JUAN     PR      00927‐0010
Core Nieves, Darlin                 ADDRESS ON FILE
CORE PALOMO, ULISES                 ADDRESS ON FILE
CORE TECH SERVICES INC              PO BOX 8579                                                                                                   SAN JUAN     PR      00910
CORE TECHNOLOGIES CONSULTING, LLC   7058‐B THORNHILL DRIVE                                                                                        OAKLAND      CA      94611
CORE VELEZ, ANGEL                   ADDRESS ON FILE
CORE VELEZ, LOURDES                 ADDRESS ON FILE
CORE WELDING REPAIR                 P O BOX 2400 PMB 177                                                                                          TOA BAJA     PR      00951‐2400
COREA AMBULANCE SERVICE INC         HC 3 BOX 4295                                                                                                 GURABO       PR      00778
COREANO ALICEA, BELMARIE            ADDRESS ON FILE
COREANO ANDALUZ, MARGARITA          ADDRESS ON FILE
COREANO ANDUJAR, ISRAEL             ADDRESS ON FILE

COREANO APONTE, MADELINE            LCDA. CARMEN T. RODRÍGUEZ ALICEA   LCDA. CARMEN T. RODRÍGUEZ ALICEA          APARTADO POSTAL 312              GURABO       PR      00778
COREANO AYALA, DAISY                ADDRESS ON FILE
COREANO AYALA, DAISY                ADDRESS ON FILE
COREANO AYALA, DAISY                ADDRESS ON FILE
COREANO BERMUDEZ, SAMUEL            ADDRESS ON FILE
Coreano Burgos, Jessica             ADDRESS ON FILE
COREANO BURGOS, JESSICA             ADDRESS ON FILE
COREANO CASIANO, JOSEFINA           ADDRESS ON FILE
COREANO COLON, ISMAEL               ADDRESS ON FILE
Coreano Coreano, Roberto            ADDRESS ON FILE
COREANO CRUZ, JIMMY J.              ADDRESS ON FILE
COREANO GONZALEZ, HAYDEE            ADDRESS ON FILE
COREANO GONZALEZ, RAUL              ADDRESS ON FILE
COREANO GUZMAN, CARLOS A            ADDRESS ON FILE
COREANO GUZMAN, MARIA               ADDRESS ON FILE
COREANO GUZMAN, MARIA E             ADDRESS ON FILE
Coreano Layes, Norberto             ADDRESS ON FILE
Coreano Lopez, Dariely              ADDRESS ON FILE




                                                                                                  Page 1790 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1791 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                    Address2                       Address3   Address4   City          State   PostalCode   Country
COREANO MARTINEZ, MARIA                   ADDRESS ON FILE
COREANO MARTINFZ, PAULA                   ADDRESS ON FILE
COREANO MORALES, ROSA M                   ADDRESS ON FILE
COREANO MORENO, RUTH N.                   ADDRESS ON FILE
COREANO MULERO, ROSA                      ADDRESS ON FILE
Coreano Rivera, Felicita                  ADDRESS ON FILE
COREANO RIVERA, GABRIEL                   ADDRESS ON FILE
COREANO RIVERA, IVETTE                    ADDRESS ON FILE
COREANO ROSA, GLADYS                      ADDRESS ON FILE
COREANO ROSA, JOSE                        ADDRESS ON FILE
COREANO SALCEDO, AUREA                    ADDRESS ON FILE
COREANO SANCHEZ, CARMEN                   ADDRESS ON FILE
COREANO SANCHEZ, DENNIS                   ADDRESS ON FILE
COREANO SANTANA, KENIA                    ADDRESS ON FILE
Coreano Santana, Kenia Z.                 ADDRESS ON FILE
COREANO TORRES, GLORANDA                  ADDRESS ON FILE
COREANO VAELLO, IRIS                      ADDRESS ON FILE
COREANO,PEDRO J.                          ADDRESS ON FILE
CORELIS RIOS BAEZ                         ADDRESS ON FILE
COREPLUS SERVICIOS CLINICOS YPATOLOGICOS LPO BOX 3376                                                                      CAROLINA      PR      00984‐3376
CORES AYALA, JOSÉ                         LCDA. YADIRA COLÓN ALICEA   PO BOX 618                                           COROZAL       PR      00783
CORES LORAN, LISA C                       ADDRESS ON FILE
CORES NIEVES, LLESIRIS                    ADDRESS ON FILE
CORES REVERON, JAYSON                     ADDRESS ON FILE
CORES RODRIGUEZ, ISMAEL                   ADDRESS ON FILE
COREX TECHNOLOGIES                        810 MEMORIAL DRIVE                                                               CAMBRIDGE     MA      02139
Corez‐Figueroa, Enrique                   ADDRESS ON FILE
CORIANO ALVELO, RAMON                     ADDRESS ON FILE
CORIANO ANDALUZ, EVELYN                   ADDRESS ON FILE
CORIANO ARROYO, ANGEL                     ADDRESS ON FILE
CORIANO AYALA, RAFAELA                    ADDRESS ON FILE
CORIANO BAEZ, CARMEN I                    ADDRESS ON FILE
CORIANO BAEZ, DORALDINA                   ADDRESS ON FILE
CORIANO BAEZ, OLGA R                      ADDRESS ON FILE
CORIANO CASIANO, MARGARITA                ADDRESS ON FILE
CORIANO CASTRO, REBECCA                   ADDRESS ON FILE
Coriano Colon, Luis                       ADDRESS ON FILE
CORIANO CRUZ, ANGEL T                     ADDRESS ON FILE
CORIANO CRUZ, JHOSUE                      ADDRESS ON FILE
CORIANO CUADRADO, JOSE                    ADDRESS ON FILE
CORIANO CUEVA, LESLIE                     ADDRESS ON FILE
CORIANO DE JESUS, HECTOR                  ADDRESS ON FILE
CORIANO DEL VALLE, RAFAEL                 ADDRESS ON FILE
CORIANO DIAZ, LESLIE                      ADDRESS ON FILE
CORIANO FELICIANO, DANNY                  ADDRESS ON FILE
CORIANO FELICIANO, NANCY                  ADDRESS ON FILE
CORIANO FERNANDEZ, ORLANDO                ADDRESS ON FILE
CORIANO GARCIA, JOSE DAVID                ADDRESS ON FILE
CORIANO GONZALEZ, DAMARIS                 ADDRESS ON FILE
CORIANO GONZALEZ, GLENDA                  ADDRESS ON FILE
CORIANO GONZALEZ, JOSE                    ADDRESS ON FILE
CORIANO GONZALEZ, LIDIANET                ADDRESS ON FILE
CORIANO GUZMAN, JOSE C                    ADDRESS ON FILE
Coriano Guzman, Nindian                   ADDRESS ON FILE
CORIANO LOPEZ, NORMA I                    ADDRESS ON FILE
CORIANO MARTINEZ, ALEJANDRO               ADDRESS ON FILE
CORIANO MARTINEZ, EDELMIRO                ADDRESS ON FILE
CORIANO MEDINA, LUIS R                    ADDRESS ON FILE
CORIANO MOLINA, NELA                      ADDRESS ON FILE
CORIANO MORALES, ARACELIS                 ADDRESS ON FILE




                                                                                      Page 1791 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1792 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                          Address1                    Address2                            Address3   Address4   City           State   PostalCode   Country
CORIANO NEGRON, RUBEN                  ADDRESS ON FILE
CORIANO PIZARRO, LESLIANIE M.          ADDRESS ON FILE
CORIANO RAMIREZ, SHERLY                ADDRESS ON FILE
CORIANO REYES, ERIKA Y                 ADDRESS ON FILE
CORIANO REYES, ERIKA Y                 ADDRESS ON FILE
CORIANO REYES, JESUS M.                ADDRESS ON FILE
CORIANO RIVERA, DAMARIS                ADDRESS ON FILE
CORIANO RIVERA, HECTOR                 ADDRESS ON FILE
CORIANO RIVERA, JOSE                   ADDRESS ON FILE
CORIANO RODRIGUEZ, CARMEN              ADDRESS ON FILE
CORIANO RODRIGUEZ, CARMEN M            ADDRESS ON FILE
CORIANO RODRIGUEZ, HECTOR              ADDRESS ON FILE
CORIANO RODRIGUEZ, MILAGROS            ADDRESS ON FILE
CORIANO RODRIGUEZ, TATIANA             ADDRESS ON FILE
CORIANO RODRIGUEZ, WANDA I             ADDRESS ON FILE
CORIANO SANCHEZ, ANGEL                 ADDRESS ON FILE
CORIANO SANCHEZ, AWILDA                ADDRESS ON FILE
CORIANO SANCHEZ, PABLO                 ADDRESS ON FILE
CORIANO SANTOS, ELIZABETH              ADDRESS ON FILE
CORIANO SANTOS, JOSUE                  ADDRESS ON FILE
CORIANO SIERRA, ZACHA                  ADDRESS ON FILE
CORIANO TORRES, JESUS J                ADDRESS ON FILE
CORIANO TORRES, VICTOR L               ADDRESS ON FILE
CORIANO VAZQUEZ, JORGE J               ADDRESS ON FILE
Coriano Velazquez, Roddy Y             ADDRESS ON FILE
CORIANO VELAZQUEZ, YAMILET             ADDRESS ON FILE
CORIANO VELAZQUEZ, YAMILET             ADDRESS ON FILE
CORIANO VILLA, ELSIE S                 ADDRESS ON FILE
CORIANO VILLA, LUIS                    ADDRESS ON FILE
CORIANO VILLA, MARIA M                 ADDRESS ON FILE
CORIANO VILLA, NILDA A                 ADDRESS ON FILE
Coriano Villegas, Felix J              ADDRESS ON FILE
CORIANO VILLEGAS, LUZ M                ADDRESS ON FILE
CORIANOGUTIERREZ, EVARISTO             ADDRESS ON FILE
CORICA GUINLE MD, ALBERTO              ADDRESS ON FILE
CORINA DELFINO BLANCO                  ADDRESS ON FILE
Coris Arzuaga, Rafael                  ADDRESS ON FILE
CORIS GUZMAN, VIRGINIA                 ADDRESS ON FILE
CORIS HERNANDEZ, CARLOS                ADDRESS ON FILE
CORIS MORAN, IDALLYS                   ADDRESS ON FILE
Coris Orria, Rafael                    ADDRESS ON FILE
CORIS OYOLA, ELIZABETH                 ADDRESS ON FILE
CORLISS O CAMACHO ALMESTICA            ADDRESS ON FILE
CORLISS PEREZ, RICHARD                 ADDRESS ON FILE
CORMAS INC. Y BANCO POPULAR DE P R     P.O. BOX 362708                                                                       SAN JUAN       PR      00936‐2708
CORMENATTY OLIVERAS, CARMEN I          ADDRESS ON FILE
CORNEAL CONSULTANTS OF COLORADO PC     8381 SOUTHPARK LN                                                                     LITTLETON      CO      80120
CORNEJO ALVARADO, MARTHA               ADDRESS ON FILE
CORNELIA AGOSTINI SANCHEZ              ADDRESS ON FILE
CORNELIO CASTILLO GUERRERO             ADDRESS ON FILE
CORNELIO SANCHEZ, MARIA F              ADDRESS ON FILE
CORNELIO SANTOS                        ADDRESS ON FILE
CORNELIUS MILLAN, PEDRO                ADDRESS ON FILE
CORNER STONE IMAGENES SONIDO, INC      BOSQUE DORADO               60021 CALLE BUCARE                                        DORADO         PR      00646‐9671
CORNERSTONE GOVERNMENT AFFAIRS, INC.   300 INDEPENDENCE AVE., SE                                                             WASHINGTON     DC      20003
CORNIEL PEREZ, ELICIEL                 ADDRESS ON FILE
CORNIEL PEREZ, ORLANDO                 ADDRESS ON FILE
CORNIELLE MESA, ALBERT                 ADDRESS ON FILE
CORNIER ALBARRAN, LUIS                 ADDRESS ON FILE
Cornier Albarran, Rosa L               ADDRESS ON FILE




                                                                                        Page 1792 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1793 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
CORNIER BALASQUIDE, ROBERTO               ADDRESS ON FILE
CORNIER CARABALLO, JOHANIS                ADDRESS ON FILE
CORNIER CASABLANCA, HUMBERTO              ADDRESS ON FILE
CORNIER CEDENO, HERNAN                    ADDRESS ON FILE
Cornier Crespo, Edgardo                   ADDRESS ON FILE
CORNIER CRESPO, EDGARDO                   ADDRESS ON FILE
CORNIER CRUZ, BENJAMIN                    ADDRESS ON FILE
CORNIER CRUZ, NORMA I.                    ADDRESS ON FILE
CORNIER CRUZ, OMAYRA                      ADDRESS ON FILE
CORNIER ECHEVARRIA, WILLIAM               ADDRESS ON FILE
CORNIER FELICIANO, BRUNILDA               ADDRESS ON FILE
CORNIER FIGUEROA, VICENTE                 ADDRESS ON FILE
CORNIER GONZALEZ, JOSE A.                 ADDRESS ON FILE
CORNIER GRACIA, ARIEL                     ADDRESS ON FILE
Cornier Gracia, Joen                      ADDRESS ON FILE
CORNIER HERNANDEZ, WILFREDO               ADDRESS ON FILE
CORNIER LANCARA, BLANCA                   ADDRESS ON FILE
CORNIER LOPEZ, CANTALIZ                   ADDRESS ON FILE
CORNIER LOPEZ, CARLOS                     ADDRESS ON FILE
CORNIER MALDONADO, ABNER L                ADDRESS ON FILE
CORNIER MALDONADO, ANGEL                  ADDRESS ON FILE
CORNIER MANDONADO, ABNER                  ADDRESS ON FILE
CORNIER MARRERO, JOSE                     ADDRESS ON FILE
CORNIER MEJIAS, ILEANA                    ADDRESS ON FILE
CORNIER MERCADO, ANNA                     ADDRESS ON FILE
CORNIER MERCADO, JULITZA                  ADDRESS ON FILE
CORNIER MERCADO, SHIRLEY ANN              ADDRESS ON FILE
CORNIER MOLINA, RUTH                      ADDRESS ON FILE
CORNIER MOLINA, RUTH                      ADDRESS ON FILE
CORNIER MOLINA, YELIXA                    ADDRESS ON FILE
CORNIER MORALES, AL                       ADDRESS ON FILE
Cornier Morales, Al Kristoffer            ADDRESS ON FILE
CORNIER MORALES, ANGEL                    ADDRESS ON FILE
CORNIER MORALES, YANITZA                  ADDRESS ON FILE
CORNIER NIEVES, EDUARDO                   ADDRESS ON FILE
CORNIER OLIVERAS, VERONICA                ADDRESS ON FILE
CORNIER PARTY RENTAL                      PO BOX 52                                                                        MERCEDITA     PR      00715
CORNIER PARTY RENTAL INC                  PO BOX 52                                                                        PONCE         PR      00715‐0052
CORNIER PEREZ, MARIBEL                    ADDRESS ON FILE
CORNIER PEREZ, RONNIE                     ADDRESS ON FILE
CORNIER PEREZ, VICTOR                     ADDRESS ON FILE
CORNIER QUINTANA, MARIA                   ADDRESS ON FILE
CORNIER QUINTANA, SONIA                   ADDRESS ON FILE
CORNIER RIOS, RAISHA                      ADDRESS ON FILE
CORNIER RODRIGUEZ, ADALBERTO              ADDRESS ON FILE
CORNIER RODRIGUEZ, SAUL                   ADDRESS ON FILE
CORNIER ROSARIO, LISMARIS                 ADDRESS ON FILE
CORNIER SOTOMAYOR, FREDDY W.              ADDRESS ON FILE
CORNIER TORRES, JUAN LUIS                 ADDRESS ON FILE
CORNIER VAZQUEZ, NICOLE                   ADDRESS ON FILE
CORNIER, MARCIAL                          ADDRESS ON FILE
CORO AUGUSTO RODRIGUEZ                    ADDRESS ON FILE
CORO DE NINOS DE PONCE INC                P O BOX 34300                                                                    PONCE         PR      00734 0300
CORO DE NINOS DE SAN JUAN INC             PO BOX 19049                                                                     SAN JUAN      PR      00910‐1049
CORO MAGNIFICAT INC                       PO BOX 69001 SUITE 290                                                           HATILLO       PR      00659
CORO POLIFONICO JUVENIL DE CAMPANAS INC   URB LITHEDA HEIGHTS       569 CALLE CAMUS                                        SAN JUAN      PR      00926
CORO RINCON, REGINA                       ADDRESS ON FILE
CORONA AMARO MD, JUAN M                   ADDRESS ON FILE
CORONA INSURANCE GROUP INC                PO BOX 16600                                                                     SAN JUAN      PR      00908
CORONA MICHEL, MANUEL                     ADDRESS ON FILE




                                                                                      Page 1793 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1794 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                            Address1                          Address2                                   Address3        Address4   City         State   PostalCode   Country
CORONA NIEVES, SHAYRA A                  ADDRESS ON FILE
CORONA PERALES, BRIGITTE                 ADDRESS ON FILE
CORONA PEREZ, JESUS                      ADDRESS ON FILE
CORONA RODRIGUEZ, SONIA                  ADDRESS ON FILE
CORONA VEGA, SERGIO                      ADDRESS ON FILE
CORONA WISCOVITCH, DAVID                 ADDRESS ON FILE
CORONADO ALIES, NOEMI                    ADDRESS ON FILE
CORONADO BACA, MARIA                     ADDRESS ON FILE
CORONADO BACA, MARIA AZUCENA             ADDRESS ON FILE
CORONADO DOMINGUEZ, GABRIELA             ADDRESS ON FILE
CORONADO GARCIA, OMAR                    ADDRESS ON FILE
CORONADO MARTINEZ, BERTA A.              ADDRESS ON FILE
CORONADO PACORA, ENNA                    ADDRESS ON FILE
CORONADO PORTORREAL, FRANCISCA           ADDRESS ON FILE
CORONADO SANTIAGO, DAVID                 ADDRESS ON FILE
CORONADO SOLIVAN                         ADDRESS ON FILE
CORONAS APONTE, CARMEN                   ADDRESS ON FILE
CORONAS APONTE, CARMEN C.                ADDRESS ON FILE
CORONAS APONTE, JOSE E.                  ADDRESS ON FILE
CORONAS APONTE, MARISOL DEL C            ADDRESS ON FILE
COROZAL CONCRETE SERVICE INC             HC 05 BOX 11482                                                                                         COROZAL      PR      00783
COROZAL MENTAL HOME AND HEALTH SERVICESP.O. BOX 209                                                                                              COROZAL      PR      00783‐0000
COROZAL STRUCTURE SERVICES, INC.         47 CALLE BOV                                                                                            COROZAL      PR      00783
COROZAL STRUCTURE SERVICES, INC.         CALLE BOU #47                                                                                           COROZAL      PR      00783
COROZAL/MENTAL HOME                      PO BOX 209                                                                                              COROZAL      PR      00783
CORP ACADEMICA CONDEJERIA Y EDUCACION JARD METROPOLITANO                   960 VOLTA                                                             SAN JUAN     PR      00927
CORP AGRICOLA SAN GERMENA                URB SANTA MARIA                   104 CALLE MIMOSA                                                      SAN JUAN     PR      00927‐6239
CORP ALIANZA TEATRAL PUERTORRIQUENA      AREA DEL TESORO                   CONTADURIA GENERAL                                                    SAN JUAN     PR      00902
CORP ALIANZA TEATRAL PUERTORRIQUENA      PO BOX 22524                                                                                            SAN JUAN     PR      00931‐2524
CORP AZUCARERA DE PR                     PO BOX 9477                                                                                             SANTURCE     PR      00908‐0000
CORP BEBOS TOWING                        URB PONCE DE LEON                 19 CALLE BIMINI                                                       MAYAGUEZ     PR      00680
CORP CENTRO BELLAS ARTES DE PR           AVE. PONCE DE LEON ‐PDA. 22                                                                             SANTURCE     PR      00940
CORP CENTRO CARDIOVASCULAR DE P.R.       AREA DEL TESORO                   DIV. CONTADURIA GENERAL                                               SAN JUAN     PR      00902
CORP CENTRO CARDIOVASCULAR DE P.R.       P O BOX 366528                                                                                          SAN JUAN     PR      00936
CORP CENTRO DE BELLAS ARTES              APARTADO 41287 MINILLAS STATION                                                                         SANTURCE     PR      00940‐1287
CORP CENTRO DE BELLAS ARTES LUIS A FERRE AREA DEL TESORO                   CONTADURIA GENERAL                                                    SAN JUAN     PR      00936
CORP CENTRO DE BELLAS ARTES LUIS A FERRE AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                             SAN JUAN     PR      00902‐4140
CORP CENTRO DE BELLAS ARTES LUIS A FERRE MINILLA STATION                   PO BOX 41287                                                          SAN JUAN     PR      00940‐1287
CORP CESAR CALDERON                      PO BOX 192223                                                                                           SAN JUAN     PR      00919
CORP CIVICA UTUADENA                     PO BOX 128                                                                                              UTUADO       PR      00641
CORP COAMENA DELA SALUD                  21 CALLE BALDORIOTY                                                                                     COAMO        PR      00769‐2412
CORP COMUNITARIA RECICLAJE DEL NORTE     PO BOX 1822                                                                                             HATILLO      PR      00659
CORP COMUNITARIA RECICLAJE DEL NORTE INC PO BOX 1822                                                                                             HATILLO      PR      00659‐1822
CORP CONS ETNOECOLOGICA CRIOLLA INC      APARTADO 907                                                                                            CAGUAS       PR      00726
CORP CONS ETNOECOLOGICA CRIOLLA INC      BOX 115‐4956                                                                                            CAGUAS       PR      00726
CORP DE APOYO A PROGRAMAS EDUC Y COM AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                             SAN JUAN     PR      09024140
CORP DE APOYO A PROGRAMAS EDUC Y COM PMB 106                               PO BOX 4956                                                           CAGUAS       PR      00726‐4956
CORP DE CINE COLLECTION ACCOUNT CAYO     P O BOX 9067515                                                                                         SAN JUAN     PR      00906‐7515
Corp de Cons Etnoecológica Criolla, Inc. PMB 115 BOX 4956                                                                                        CAGUAS       PR      00726
CORP DE LAS ARTES MUSICALES              AREA DEL TESORO                   CONTADURIA GENERAL                                                    SAN JUAN     PR      00902
CORP DE LAS ARTES MUSICALES              AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                             SAN JUAN     PR      00902‐4140
CORP DE LAS ARTES MUSICALES              PO BOX 41227                                                                                            SAN JUAN     PR      00940‐1227
CORP DE P R PARA LA DIFUSION PUBLICA     AREA DEL TESORO                   CONTADURIA GENERAL                                                    SAN JUAN     PR      00902
CORP DE P R PARA LA DIFUSION PUBLICA     PO BOX 190909                                                                                           SAN JUAN     PR      00919‐0909
CORP DE SERV DE SALUD MED AVEANZADA      AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                             SAN JUAN     PR      00902‐4140
CORP DE SERV MED PRIMARIOS Y PREV        DE HATILLO                        PO BOX 907                                                            HATILLO      PR      00659
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA PO BOX 1093                                                                                              YABUCOA      PR      00767
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA PO BOX 428                                                                                               YABUCOA      PR      00767
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA SCOTIABANK TOWER                   CBC DEPARTMENT, FL 8                       PO BOX 362394              SAN JUAN     PR      00936‐2394
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA Y ORIENTAL BANK AND TRUST          PO BOX 195606                                                         SAN JUAN     PR      00919‐5606




                                                                                                       Page 1794 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1795 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3        Address4   City              State   PostalCode   Country
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA Y ORIENTAL BANK AND TRUST                PO BOX 364745                                                         SAN JUAN          PR      00936‐4745
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA Y SCOTIABANK DE PR                       PO BOX 362394                                                         SAN JUAN          PR      00936‐2394
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA Y SCOTIABANK DE PUERTO RICO              CBC DEPARTMENT, FL 8                       PO BOX 362394              SAN JUAN          PR      00936‐2394
CORP DE SERVICIOS EDUCATIVOS DE YABUCOA Y SCOTIABANK TOWER                       CBC DEPARTMENT, FL 8                       PO BOX 362394              SAN JUAN          PR      00936‐2394
CORP DESARR DE BELLAS ARTES ADJUNTENAS 10 CALLE ANTONIO CONDE                                                                                          ADJUNTAS          PR      00601
CORP DESARROLLO DEL DEPORTE EN CAGUAS P O BOX 7416                                                                                                     CAGUAS            PR      00726‐7416
CORP DESARROLLO ECONOMICO TRUJILLO ALTO P O BOX 1685                                                                                                   TRUJILLO ALTO     PR      00977
CORP DESARROLLO ECONOMICO VIVIENDA SALU 175 CALLE EUGENIA MARIA DE HOSTOS                                                                              ARECIBO           PR      00612
CORP EMPRESAS ADIEST Y TRABAJO           ADM DE CORRECCION                       PO BOX 71308                                                          SAN JUAN          PR      00936
CORP EMPRESAS ADIEST Y TRABAJO           PO BOX 15074                                                                                                  SAN JUAN          PR      00902
CORP EMPRESAS ADIEST Y TRABAJO           PO BOX 20898                                                                                                  RIO PIEDRAS       PR      00928
CORP EMPRESAS ADIEST Y TRABAJO           PO BOX 366505                                                                                                 SAN JUAN          PR      00936‐6505
CORP FOODSERVICE CONC DBA ACAA FOODCOU LOBBY IBM TOWER                           AVE. MUðOZ RIVERA #654                                                HATO REY          PR      00917
CORP FOODSERVICE CONC DBA ACAA FOODCOU LOBBY IBM TOWER                           654 AVE MUNOZ RIVERA                                                  SAN JUAN          PR      00917
CORP FOR LA IND REL PER MGT              PO BOX 7891 PMB 386                                                                                           SAN JUAN          PR      00916‐7891
CORP FOR NATIONAL & COMMUNITY SERVICES 150 AVE CARLOS CHARDON                                                                                          SAN JUAN          PR      00918‐1703
CORP FOR NATIONAL & COMMUNITY SERVICES AFMS /AR/ COST SHARE                      1201 NEW YORK AVENUE N W                                              WASHINGTON DC     WA      20525
CORP GD & ORFEON SAN JUAN BAUTISTA       P O BOX 363884                                                                                                SAN JUAN          PR      00936
CORP GONZALEZ QUINONES INC               HC 58 BOX 14748                                                                                               AGUADA            PR      00602
CORP HOGAR SAN AGUSTIN Y TERESA          P O BOX 29023                                                                                                 SAN JUAN          PR      00929‐0023
CORP IMPACTO ARTISTICO JUVENI            EDF JULIO BEGORICIN OFC L 06            1606 AVE PONCE DE LEON                                                SAN JUAN          PR      00909
CORP INDEPENDIENTE DESTREZAS EL DESARROL EDIF MONTE MALL OFIC 16                 650 AVE MU¨OZ RIVERA                                                  SAN JUAN          PR      00918
CORP LA FONDITA DE JESUS INC             PO BOX 19384                                                                                                  SAN JUAN          PR      00910‐1384
CORP LIGA PQUENA IMPROVISACION TEATRAL URB PEREZ MORIS                           54 CALLE ARECIBO APT 2                                                SAN JUAN          PR      00917
CORP ORGANIZADA DE POLICIAS Y SEGURIDAD AVE TENIENTE NELSON MARTINEZ             L‐32 ALTURAS DE FLAMBOYAN                                             BAYAMON           PR      00962
CORP PADRES BANDA ESCOLAR DE JUANA DIAZ PO BOX 442                                                                                                     JUANA DIAZ        PR      00795
CORP PARA EL DES DEL DEPORTE COAMENO     PO BOX 668                                                                                                    COAMO             PR      00769
CORP PARA EL DES ECO DE TRUJILLO ALTO    P.O. BOX 1685                                                                                                 TRUJILLO ALTO     PR      00976
CORP PARA EL DESARROLLO DEL CENTRO       PONCENO DE AUTISMO INC                  120 CALLE SOL                                                         PONCE             PR      00730
CORP PARA EL DESARROLLO DEL MUSEO DE     LA TRANS MUN AUTONOMO GUAYNABO          PO BOX 3474                                                           GUAYNABO          PR      00970
CORP PARA EL FOMENTO EMPRESARIAL DEL     COMERCIO Y DE LA COMUNIDAD              PO BOX 191791                                                         SAN JUAN          PR      00919‐1791
CORP PARA LA CAPACITACION APOYO TECNICO E INVESTIGACION                          VILLA NEVAREZ                              1087 CALLE 15              SAN JUAN          PR      00927
CORP PARA LA DIFUNSION DE LA MUSICA      PO BOX 191599                                                                                                 SAN JUAN          PR      00919‐1599
CORP PARA LA DIFUSION PUBLICA            AREA DEL TESORO                         CONTADURIA GENERAL                                                    SAN JUAN          PR      00902
CORP PARA LA DIFUSION PUBLICA            PO BOX 190909                                                                                                 SAN JUAN          PR      00919
CORP PARA LA INTEGRACION DE LAS ARTES ED HC 01 BOX 8482                                                                                                AGUAS BUENAS      PR      00703
CORP PESQUERA HENARES                    PO BOX 9021125                                                                                                SAN JUAN          PR      00902‐1125
CORP PROF SALUD FEM EN EXCELENCIA        PO BOX 9190                                                                                                   HUMACAO           PR      00792‐9190
CORP PROFESIONAL SERVICIOS CLINICOS      AVE. EMILIANO POL # 265 LA CUMBRE       265 AVE EMILIANO POL                                                  SAN JUAN          PR      00926‐0000
CORP PROYECTO ENLACE CANO MARTIN PENA PO BOX 41308                                                                                                     SAN JUAN          PR      00940‐1308
CORP PUB IND DE CIEGOS PERSONAS CON      RETARDO MENTAL                          PO BOX 13382                                                          SAN JUAN          PR      00908‐3382
CORP PUBLICA INDUSTRIAS DE CIEGOS        AREA DE TESORO                          CONTADURIA GENERAL                                                    SAN JUAN          PR      00902
CORP PUBLICA INDUSTRIAS DE CIEGOS        PO BOX 13382                                                                                                  SAN JUAN          PR      00908
CORP PUERTO RICO JOB SEARCH INST         EDIF MONTE MALL PISO 3 OFIC 16          AVE MUNOZ RIVERA                                                      SAN JUAN          PR      00918
CORP PUERTORRIQUENA DE SALUD INTEGRAL HC 1 BOX 10835                                                                                                   ARECIBO           PR      00612
CORP SANTOS & NOVOA INC                  42 CALLE MUNOS RIVERA                                                                                         AGUADILLA         PR      00603
CORP SEP DE SERVICIOS EDUCATIVOS DE P R  PO BOX 140592                                                                                                 ARECIBO           PR      00612
CORP SERVICIOS AMA DE LLAVES             BOX 892                                                                                                       TRUJILLO ALTO     PR      00977‐0892
CORP SERVICIOS AMA DE LLAVES INC         ORIENTAL BANK                           P O BOX 1858                                                          TRUJILLO ALTO     PR      00977‐1858
CORP SOCIEDAD PRO HOSPITAL DEL NIÐO      PO BOX 2124                                                                                                   SAN JUAN          PR      00922
CORP SOCIEDAD PRO HOSPITAL DEL NINO      PO BOX 2124                                                                                                   SAN JUAN          PR      00922
CORP VETERANOS VIEQUENSES UNIDOS INC     PO BOX 1121                                                                                                   VIEQUES           PR      00765
CORP. DE SERV.DE SALUD A                 C/FRANCS.CRUZ HADDOCK #2 P.O BOX 1330                                                                         CIDRA             PR      00739
CORP. FONDO DEL SEGURO DEL ESTADO        POLIZA 35‐3‐20‐70079                    PO BOX 365028                                                         SAN JUAN          PR      00936‐5028
CORP. FOR NATIONAL AND COMMUNITY SERVICE8TH FLOOR 1201 NEW YORK AVENUE                                                                                 NEW YORK          WA      20525‐0000
CORP. FOR THE CONSER THE SAN JUAN BAY    PO BOX 9509                                                                                                   SAN JUAN          PR      00908
CORP. LOS HERMAMNOS D/B/A DUARTE WASTE 243 PMB 1820 CALLE PARIS                                                                                        SAN JUAN          PR      00917
CORP. ORGANIZADA DE POLICIAS Y SEGURIDAD AVE TNTE NELSON MARTINEZ L‐32           ALTURAS DE FLAMBOYAN                                                  BAYAMON           PR      00962
CORP. PARA EL DESARROLLO DEL CENTRO      CALLE SOL NUM. 120                                                                                            PONCE             PR      00730
CORP. SERVICIOS MEDICOS PRIMARIOS        PO BOX 907                                                                                                    HATILLO           PR      00659




                                                                                                             Page 1795 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                         Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1796 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                         Creditor Matrix

Creditor Name                           Address1                                         Address2                                     Address3                Address4   City              State   PostalCode   Country
CORP.FONDO SEG. DEL ESTADO              PO BOX 365028                                                                                                                    SAN JUAN          PR      00936‐5028
CORP.SOCIEDAD PRO HOSPITAL DEL NINO     BCO. DESARROLLO ECONOMICO PARA PR                PO BOX 2134                                                                     SAN JUAN          PR      00922‐2134
CORPARACION FLORES RIVERA               HC 1 BOX 5393                                                                                                                    BARRANQUITAS      PR      00794
CORPAS SANCHEZ, MAIKEL                  ADDRESS ON FILE
CORPAS SANCHEZ, MAIKEL                  ADDRESS ON FILE
CORPES CRUZ, DEBORAH                    ADDRESS ON FILE
CORPES MELENDEZ, JACQUELINE             ADDRESS ON FILE
CORPEZ PEREZ, ALEXANDER                 ADDRESS ON FILE
CORPORACION ACCION COMUNITARIA EMANUE CARR. 486, KM 2.2                                  INT. PARCELAS ESPIET #110 B                                                     CAMUY             PR      00627
CORPORACION AGUADENA DE BALONCESTO      P O BOX 348                                                                                                                      AGUADA            PR      00602
CORPORACION ARTESI‐PROYECTO TAITA       RR 2 Box 6439                                                                                                                    Cidra             PR      00739‐0000
CORPORACION AZUCARERA DE PR.‐ NUM INC   PO BOX 116                                                                                                                       PONCE             PR      00715‐0000
CORPORACION AZUCARERA DE PR.‐ NUM INC   PO BOX 9477                                                                                                                      SAN JUAN          PR      00906‐0000
CORPORACION CARRERA DE KMPEONES EL VALLEEL VALLE PEPINIANO                               URB EL CULEBRINA                             P7 CALLE CAMASEY                   SAN SEBASTIAN     PR      00685
CORPORACION CENTRO REGIONAL DEL         ESTADO LIBRE ASOC DE PR                          PO BOX 362350                                                                   SAN JUAN          PR      00936‐2350
CORPORACION COMUNITARIA RECICLAJE DEL   PO BOX 1822,                                                                                                                                       PR      00659
CORPORACION COMUNITARIA RECICLAJE DEL NOPO BOX 1822                                                                                                                      HATILLO           PR      00659‐1822
CORPORACION CR CONSULTOR                PO BOX 1572                                                                                                                      CABO ROJO         PR      00623‐1572
CORPORACION CRECIENDO JUNTOS INC        PO BOX 449                                                                                                                       BARCELONETA       PR      00617
                                                                                                                                        AVE HOSTOS 175 APTO
CORPORACION DE ASESORES PARA DESARROLLO Y LA AUTOGESTION                                 COND MONTE NORTE                               407                              SAN JUAN          PR      00918
CORPORACION DE CUMPLIMIENTO LEGAL         PO BOX 194743                                                                                                                  SAN JUAN          PR      00919
CORPORACION DE DESARROLLO EDUCATIVO FAMPO BOX 2959                                                                                                                       GUAYNABO          PR      00970‐2959
CORPORACION DE EMPRESAS DE ADIESTRAMIEN AREA DEL TESORO                                  DIVISION DE RECLAMACIONES                                                       SAN JUAN          PR      00902‐4140
CORPORACION DE SERVICIOS DE SALUD MARLET 5 E CALLE IGNACIO ARZUAGA                                                                                                       CAROLINA          PR      00985
CORPORACION DE SERVICIOS EDUCATIVOS INC. HC‐3 12918                                                                                                                      YABUCOA           PR      00767
CORPORACION DE SERVICIOS EDUCATIVOS INC. PO BOX 70                                                                                                                       YABUCOA           PR      00767
CORPORACION DE SERVICIOS EDUCATIVOS INC. Y SCOTIABANK DE PUERTO RICO                     PO BOX 362394                                                                   SAN JUAN          PR      00936‐2394
CORPORACION DE SERVICIOS EDUCATIVOS INC. Y SCOTIABANK TOWER                              CBC DEPARTMENT, FL. 8                          PO BOX 362394                    SAN JUAN          PR      00936‐2394
CORPORACION DE SERVICIOS INTEGRALES DE SALLIC. AURELIO GRACIA MORALES                    LIC. AURELIO GRACIA MORALES                    HC‐72                 BOX 3694   NARANJITO         PR      00719
CORPORACION DE SERVICIOS INTEGRALES DE SALLIC. BENJAMÍN MORALES DEL VALLE                LIC. BENJAMÍN MORALES DEL VALLE                A‐1 MARGINAL 181                 SAN JUAN          PR      00924
CORPORACION DE SERVICIOS INTEGRALES DE SALLIC. JOEL O. ORTIZ SANTIAGO Y LIC. ENRIQUE R. ALIC. JOEL O. ORTIZ SANTIAGO Y LIC. ENRIQUE R. A434 AVE. HOSTOS                  SAN JUAN          PR      00918
CORPORACION DEL CINE DE PR                PO BOX 362350                                                                                                                  SAN JUAN          PR      00936
CORPORACION DEL FONDO DEL SEGURO DEL ESTP.O. BOX 365028                                                                                                                  SAN JUAN          PR      00936‐5028
CORPORACION DEL FSE                       POLIZA #3532070079                             PO BOX 365028                                                                   SAN JUAN          PR      00936‐5028
CORPORACION ESCUELA SANTO DOMINGO SAVIOP O BOX 14125                                                                                                                     SAN JUAN          PR      00916
CORPORACION FAMILIAS CAPACES              P.O. BOX 9021115                                                                                                               SAN JUAN          PR      00902‐1115
CORPORACION FONDO DEL SEGURO DEL ESTADOAPARTADO 362829                                                                                                                   SAN JUAN          PR      00936‐2829
CORPORACION FONDO DEL SEGURO DEL ESTADOESC ERNESTO VALDERAS                                                                                                              CIALES            PR      00638
CORPORACION FONDO DEL SEGURO DEL ESTADOHC 01 BOX 5563                                                                                                                    CIALES            PR      00638
CORPORACION FONDO DEL SEGURO DEL ESTADOPO BOX 362829                                                                                                                     SAN JUAN          PR      00936‐2829
CORPORACION FONDO DEL SEGURO DEL ESTADOPO BOX 365028                                                                                                                     SAN JUAN          PR      00936‐5028
CORPORACION FONDO DEL SEGURO DEL ESTADOPO BOX 3979 BAYAMON GARDENS STA                                                                                                   BAYAMON           PR      00958‐1979
CORPORACION FONDO DEL SEGURO DEL ESTADOSANDRA C MALAVE HERNANDEZ                         PO BOX 365028                                                                   SAN JUAN          PR      00936‐5028
CORPORACION GUAYNABO HEALTH PROVAIRERSMANEJO DE INFORMACION DE SALUD                     PMB 205                                        PO BOX 70344                     SAN JUAN          PR      00936‐8344
CORPORACION KILMES                        11 THST FF1 VILLA DEL REY 4TA SECC                                                                                             CAGUAS            PR      00727
CORPORACION KILMES                        11 THST. FF1                                   VILLA DEL REY 4TA SECCION                                                       CAGUAS            PR      00727
CORPORACION LAS VEGAS INC                 P O BOX 1086                                                                                                                   MANATI            PR      00674‐1086
CORPORACION LOS HERMAMNOS                 239 CALLE DUARTE                                                                                                               SAN JUAN          PR      00917
CORPORACION LOS HERMAMNOS                 243 CALLE PARIS                                                                                                                SAN JUAN          PR      00917‐3632
CORPORACION LOS HERMAMNOS                 243 PMB 1820 CALLE PARIS                                                                                                       SAN JUAN          PR      00917‐3632
CORPORACION LOS HERMANOS                  1820 CALLE PARIS PMB 243                                                                                                       SAN JUAN          PR      00917
CORPORACION LOS HERMANOS , INC.           CALLE PARIS 243 PMB 1820                                                                                                       SAN JUAN          PR      00917‐0000
CORPORACION LOS HERMANOS INC              CALLE PARIS #243                               PMB 1820                                                                        HATO REY          PR      00917
CORPORACION MARCARIBE INVESTMENT V ELA LIC. BAUZA TORRES ANTONIO                         COND LEMANS 602 AVE MUÑOZ RIVERA STE 402                                        SAN JUAN          PR      00918‐3612
CORPORACION MARCARIBE INVESTMENT V ELA LIC. SARRIERA REQUENA BIBIANA                     PO BOX 9146                                                                     SAN JUAN          PR      00908‐0146
CORPORACION MARCARIBE INVESTMENT V ELA LIC. SEGARRA MATOS CARLOS L                       PO BOX 582                                                                      BOQUERÓN          PR      00622
CORPORACION MAYARI INC                    SANTA ROSA MALL                                OFICINA 202B                                                                    BAYAMON           PR      00961‐8590
CORPORACION MEDICA JUANA DIAZ             PO BOX 1422                                                                                                                    JUANA DIAZ        PR      00795
CORPORACION MEDICA ORIENTAL               PO BOX 548                                                                                                                     NAGUABO           PR      00718




                                                                                                                       Page 1796 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1797 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                                    Address1                          Address2                                   Address3      Address4           City            State   PostalCode   Country
CORPORACION MILAGROS DEL AMOR                    PO BOX 6445                                                                                                   CAGUAS          PR      00726
CORPORACION NACIONAL DE DESARROLLO               PO BOX 1250                                                                                                   MAYAQUEZ        PR      00681
CORPORACION ORGANIZADA DE POLICIAS Y SEG AVE, TENIENTE NELSON MARTINEZ L‐ 32 ALTURAS DE FLAMBOYA                                                               BAYAMON         PR      00962
Corporación Organizada de Policías y Seguridad (CMorales Rodríguez, Carlos         PO Box 1649                                                                 Bayamón         PR      00960‐1649
                                                                                                                                            Ave. Tnt. Nelson
Corporación Organizada de Policías y Seguridad (CMorales Rodríguez, Carlos        Urb Alturas de Flamboyán                    L32 Calle 2   Martínez           Bayamón         PR      00959
CORPORACIÓN ORGANIZADA POLICÍA Y SEGURID LCDO. ROGER A. LEYBA RODRIGUEZ           PO BOX 873                                                                   HORMIQUEROS     PR      00660‐0873
CORPORACIÓN ORGANIZADA POLICÍA Y SEGURID LIC. NORBERTO COLON ALVARADO             46 CALLE CASTILLO                                                            PONCE           PR      00731
CORPORACION ORTIZ NEGRON                         PO BOX 1117                                                                                                   COROZAL         PR      00783
CORPORACION PARA EL DESARROLL0 OESTE INC AREA DEL TESORO                          DIV. CONTADURIA GENERAL                                                      SAN JUAN        PR      00902
CORPORACION PARA EL DESARROLLO DE LA VIV PO BOX 6309                                                                                                           BAYAMON         PR      00960‐0000
CORPORACION PASO A PASO                          PMB 507                          PO BOX 789                                                                   GUAYNABO        PR      00970
CORPORACION PINONES SE INTEGRA                   AREA DEL TESORO                  CONTADURIA GENERAL                                                           SAN JUAN        PR      00902
CORPORACION PINONES SE INTEGRA                   HC 01 BOX 7631                                                                                                LOIZA           PR      00772
CORPORACION PRODUCTORA DE LAS ARTES              P O BOX 1656                                                                                                  MANATI          PR      00674
CORPORACION PROFECIONAL DE SERVICIOS DE S URB LOS PINOS                           244 CALLE PINO TANYOSHO                                                      ARECIBO         PR      00612‐5930
CORPORACION PSICOMETRICA                         BANCO COOPERATIVO PLAZA          623 PONCE DE LEON SUITE 12                                                   SAN JUAN        PR      00917
CORPORACION PUBLICA IND DE IEGOS                 PO BOX 13382                                                                                                  SAN JUAN        PR      00908‐3382
CORPORACION PUERTORRIQUENA DE LA SALUD 51 CALLE MANUEL CORCHADO                                                                                                CAYEY           PR      00736
CORPORACION PUERTORRIQUEÑA DE SALUD CP PO BOX 789                                                                                                              CAGUAS          PR      00726
CORPORACION PUERTORRIQUEÑA DE SALUD IPA URB SAN ALFONSO                           A 17 AVE DEGETAU                                                             CAGUAS          PR      00726
CORPORACION RODUM                                OLD SAN JUAN STATIONS            P O BOX 3422                                                                 SAN JUAN        PR      00902‐3422
CORPORACION RODUM                                PO BOX 9023422                                                                                                SAN JUAN        PR      00902
CORPORACION RODUM                                PO O BOX 9023422                                                                                              SAN JUAN        PR      00913
CORPORACION SANOS                                APARTADO 1025                                                                                                 CAGUAS          PR      00726‐1025
CORPORACION SERVICIOS DE SALUD COSSMA PO BOX 1330                                                                                                              CIDRA           PR      00739
CORPORACION SIDIF DEL CARIBE                     262 CALLE URUGUAY OFIC C 5                                                                                    SAN JUAN        PR      00917
CORPORACION SIDIF DEL CARIBE                     262 CALLE URUGUAY OFICINA C‐5                                                                                 SAN JUAN        PR      00917
CORPORACION SIDIF DEL CARIBE                     262 CALLE URUGUAY STE C 5                                                                                     SAN JUAN        PR      00917
CORPORACION SIDIF DEL CARIBE                     AREA DEL TESORO                  DIV DE RECLAMACIONES                                                         SAN JUAN        PR      00917
CORPORACION SUBLISTATICA SA                      PO BOX 222                                                                                                    ISABELA         PR      00662
CORPORACION SUVIAL                               PO BOX 270118                                                                                                 SAN JUAN        PR      00927
CORPORACION TEATRO LATINO                        502 BLVD MEDIA LUNA              BZ 205                                                                       CAROLINA        PR      00987‐4979
CORPORACION TILIA INC                            URB RIBERAS DEL RIO              B39 CALLE 8                                                                  BAYAMON         PR      00959
CORPORACION TRES EN UN ZAPATO                    URB CROWN HLS                    195 CALLE GUAYANES                                                           SAN JUAN        PR      00926‐6002
CORPORACIONE PROPIEDADES DEL NORTE               P. O. BOX 30562                                                                                               MANATI          PR      00674
CORPORACIONES NOVA INC                           PO BOX 360038                                                                                                 SAN JUAN        PR      00936‐0038
CORPORAN CEDENO, NOEMI                           ADDRESS ON FILE
CORPORAN COLON, EDGARDO                          ADDRESS ON FILE
CORPORAN GUERRERO, ELVIN                         ADDRESS ON FILE
CORPORAN GUERRERO, JOSE M.                       ADDRESS ON FILE
CORPORAN MARTINEZ, EDGARDO                       ADDRESS ON FILE
CORPORATE CAPITAL TRUST II‐A                     450 S ORANGE AVENUE                                                                                           ORLANDO         FL      32801
CORPORATE CONSULTRANTS GROUP, CORP               PO BOX 1531                                                                                                   VILLALBA        PR      00766
CORPORATE IMAGE GROUP                            1357 AVE ASHFORD                 SUITE 218                                                                    SAN JUAN        PR      00907
CORPORATE RESEARCH & TRAINING                    111 AVE DOMENECH                                                                                              SAN JUAN        PR      00918
CORPORATE RESEARCH & TRAINING                    276 ELEONOR ROOSEVELT                                                                                         SAN JUAN        PR      00918
CORPORATE RESEARCH & TRAINING                    400 CALLE CALAF                  SUITE 376                                                                    SAN JUAN        PR      00918
CORPORATE RESEARCH & TRAINING                    Y BANCO SANTANDER PUERTO RICO    PO BOX 362589                                                                SAN JUAN        PR      00936‐2589
CORPORATION FOR NATIONAL SERVICE                 US FEDERAL BUILDING              ROOM 662 150 CHARDON AVE                                                     SAN JUAN        PR      00917
CORPORATION FOR PUBLIC MANAGEMENT INC 11‐13 HAMPDEN STREET                                                                                                     SPRINGFIELD     MA      00113
CORPORATION III, INC.                            FERNANDEZ JUNCOS STATION         PO BOX 8621                                                                  SAN JUAN        PR      00910
CORPORATION SOUTHERN BASEBALL INC                PO BOX 363148                                                                                                 SAN JUAN        PR      00936‐3148
CORPORINA AVILA GIL                              URB COUNTRY CLUB                 OA 26 CALLE 500                                                              CAROLINA        PR      00982
CORPORITA RAMOS LUCIANO                          ADDRESS ON FILE
CORPS RIVERA, MARILYN                            ADDRESS ON FILE
CORPS RIVERA, WILFREDO                           ADDRESS ON FILE
CORPTACTICS AUDIT GROUP PSC                      PO BOX 13399                                                                                                  SAN JUAN        PR      00908‐3399
CORPTACTICS INC.                                 954 AVE PONCE DE LEON                                                                                         SAN JUAN        PR      00908
CORPUS CRUZ                                      ADDRESS ON FILE




                                                                                                               Page 1797 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1798 of 3500
                                                                                17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                    Address1                     Address2                             Address3   Address4   City         State   PostalCode   Country
CORPUS FELICIANO HERNANDEZ       ADDRESS ON FILE
CORPUS REYES MENDEZ              ADDRESS ON FILE
CORPUS SALAS MORALES             ADDRESS ON FILE
Corra Gomez, Allison             ADDRESS ON FILE
CORRADA ALMARAZ, JOSE MANUEL     ADDRESS ON FILE
Corrada Bonilla, Ana V           ADDRESS ON FILE
CORRADA BONILLA, SOFIA M.        ADDRESS ON FILE
CORRADA COLON, ROSA              ADDRESS ON FILE
CORRADA COLON, ROSA              ADDRESS ON FILE
CORRADA DEL RIO, ROMULO          ADDRESS ON FILE
CORRADA EMMANUEL, CRISTINA       ADDRESS ON FILE
CORRADA MARQUEZ, ANA             ADDRESS ON FILE
CORRADA MEJIA, MARGARITA         ADDRESS ON FILE
CORRADA RIVERA, ROSA             ADDRESS ON FILE
CORRADINO MD, CHRISTINE          ADDRESS ON FILE
CORRAL GONZALEZ, DIEGO           ADDRESS ON FILE
CORRAL LIZARDI, ILEANA           ADDRESS ON FILE
CORRALES BAFFE, JUAN             ADDRESS ON FILE
CORRALES HIGUERA MD, EDUARDO Y   ADDRESS ON FILE
CORRALES HIGUERA, YURI           ADDRESS ON FILE
CORRALES PEREZ, YVETTE           ADDRESS ON FILE
CORRALIZA ALVAREZ, JOSE          ADDRESS ON FILE
CORRALIZA GONZALEZ, NORYEM G     ADDRESS ON FILE
CORRALIZA MALDONADO, CARMEN S    ADDRESS ON FILE
Corraliza Maldonado, Jose A      ADDRESS ON FILE
CORRALIZA MARTINEZ, SHEILA       ADDRESS ON FILE
CORRALIZA MEDINA, ANA M          ADDRESS ON FILE
CORRALIZA MIRANDA, EMANUEL       ADDRESS ON FILE
CORRALIZA MONTERO, HECTOR J      ADDRESS ON FILE
CORRALIZA MONTERO, KEILA J       ADDRESS ON FILE
CORRALIZA MONTERO, OMAR A        ADDRESS ON FILE
CORRALIZA RIVERA, MAYRA          ADDRESS ON FILE
CORRALIZA ROQUE, SIGFREDO        ADDRESS ON FILE
CORRALIZA SOTO, ROSA             ADDRESS ON FILE
CORRALIZA TORRES, ALANA          ADDRESS ON FILE
Corraliza Torres, Maribel        ADDRESS ON FILE
CORRALLY M RAMOS PRADO           ADDRESS ON FILE
CORRE SANCHEZ, MARIA             ADDRESS ON FILE
CORREA ABREGO, JULIA             ADDRESS ON FILE
CORREA ABREGO, JULIA E           ADDRESS ON FILE
CORREA ABREU, EDDIE              ADDRESS ON FILE
CORREA ACEVEDO LAW OFFICES       CENTRO INTL DE MERCADEO II   90 CARR 165 STE 407                                        GUAYNABO     PR      00968
CORREA ACEVEDO LAW OFFICES       COND. VILLA CAPARRA CT       APT 8A 49 CALLE A                                          GUAYNABO     PR      00966
CORREA ACEVEDO, ANA              ADDRESS ON FILE
CORREA ACEVEDO, JHANN            ADDRESS ON FILE
CORREA ACEVEDO, OMAR             ADDRESS ON FILE
CORREA ACEVEDO, ORLANDO A.       ADDRESS ON FILE
CORREA ACOSTA MD, CARLOS A       ADDRESS ON FILE
CORREA ACOSTA, ADOLFO            ADDRESS ON FILE
CORREA AGOSTO, EDGARDO           ADDRESS ON FILE
CORREA AGUILA, ELIZABETH         ADDRESS ON FILE
CORREA AGUILAR, ABIGAIL          ADDRESS ON FILE
CORREA AGUILAR, ADALBERTO        ADDRESS ON FILE
CORREA AGUILAR, HIPOLITO         ADDRESS ON FILE
CORREA AGUILAR, IRIS             ADDRESS ON FILE
CORREA AGUILAR, JOSE A.          ADDRESS ON FILE
CORREA AGUILAR, ROSA             ADDRESS ON FILE
CORREA ALAMO, CARMEN             ADDRESS ON FILE
CORREA ALEJANDRO, ALEJANDRINA    ADDRESS ON FILE
CORREA ALEJANDRO, CARMEN R       ADDRESS ON FILE




                                                                                    Page 1798 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1799 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA ALEJANDRO, JUAN R     ADDRESS ON FILE
CORREA ALICEA, AIDA I.       ADDRESS ON FILE
CORREA ALICEA, ROSA A        ADDRESS ON FILE
CORREA ALLENDE, ALEXIS       ADDRESS ON FILE
CORREA ALLENDE, MILAGROS     ADDRESS ON FILE
CORREA ALOMAR, ESTEBAN       ADDRESS ON FILE
CORREA ALONZO, GABRIEL       ADDRESS ON FILE
CORREA ALVARADO, HERY JOEL   ADDRESS ON FILE
CORREA ALVARADO, JOSE        ADDRESS ON FILE
CORREA ALVARADO, JOSE        ADDRESS ON FILE
CORREA ALVARADO, JOSE M      ADDRESS ON FILE
CORREA ALVARADO, MAXIMINA    ADDRESS ON FILE
CORREA ALVARADO, MIRZA       ADDRESS ON FILE
CORREA ALVARADO, REBECCA     ADDRESS ON FILE
CORREA ALVAREZ, IRIS         ADDRESS ON FILE
CORREA ALVAREZ, LORNA        ADDRESS ON FILE
CORREA ALVAREZ, OLGA         ADDRESS ON FILE
CORREA AMADOR, JOHANNA       ADDRESS ON FILE
CORREA ANDALUZ, BENNY        ADDRESS ON FILE
CORREA ANDINO, EDWIN         ADDRESS ON FILE
CORREA ANDINO, MIDORI        ADDRESS ON FILE
CORREA ANDINO, VICTOR        ADDRESS ON FILE
CORREA ANGLERO, SANTIAGO     ADDRESS ON FILE
CORREA ANGULO, GINGGER       ADDRESS ON FILE
CORREA ANGULO, KEYRA L       ADDRESS ON FILE
CORREA APONTE MD, JOSE N     ADDRESS ON FILE
CORREA APONTE, DIANA I       ADDRESS ON FILE
CORREA APONTE, FRANCISCO     ADDRESS ON FILE
CORREA APONTE, LAWRENCE      ADDRESS ON FILE
CORREA APONTE, NAYDA         ADDRESS ON FILE
CORREA APONTE, RACHEL        ADDRESS ON FILE
CORREA AQUINO, MARIELY       ADDRESS ON FILE
CORREA ARIAS, FRANCISCO      ADDRESS ON FILE
CORREA ARIAS, FRANCISCO I    ADDRESS ON FILE
CORREA ARIAS, FRANCISCO J    ADDRESS ON FILE
CORREA ARROYO MD, ALICIA     ADDRESS ON FILE
CORREA ARROYO, ALICIA        ADDRESS ON FILE
CORREA ARROYO, CARLA M       ADDRESS ON FILE
CORREA ARROYO, CARMELO       ADDRESS ON FILE
CORREA ARROYO, CARMEN L      ADDRESS ON FILE
CORREA ARROYO, LUIS A        ADDRESS ON FILE
CORREA ARROYO, MANUEL A.     ADDRESS ON FILE
CORREA ARROYO, RAFAEL        ADDRESS ON FILE
CORREA ATILANO, RONNY        ADDRESS ON FILE
CORREA AUSUA, WILMER A.      ADDRESS ON FILE
Correa Avezuela, Placido     ADDRESS ON FILE
CORREA AYALA MD, ROBERTO     ADDRESS ON FILE
CORREA AYALA, EDGAR          ADDRESS ON FILE
CORREA AYALA, IRIS L.        ADDRESS ON FILE
CORREA AYALA, JULIO E.       ADDRESS ON FILE
CORREA AYALA, LUZ E          ADDRESS ON FILE
CORREA AYALA, MIRIAM         ADDRESS ON FILE
CORREA AYALA, NEIDA E        ADDRESS ON FILE
Correa Ayuso, Viena          ADDRESS ON FILE
CORREA BACHILLER, AIXA E     ADDRESS ON FILE
CORREA BAEZ, ALEX            ADDRESS ON FILE
CORREA BAEZ, ANGEL LUIS      ADDRESS ON FILE
CORREA BAEZ, MIGUEL A.       ADDRESS ON FILE
Correa Ballester, Juan R     ADDRESS ON FILE
Correa Bastell, Luis R       ADDRESS ON FILE




                                                                         Page 1799 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1800 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA BATISTA, MARITZA          ADDRESS ON FILE
CORREA BENITEZ, JANNET           ADDRESS ON FILE
CORREA BERMUDEZ, EDUARDO         ADDRESS ON FILE
CORREA BERMUDEZ, FERNANDO        ADDRESS ON FILE
CORREA BERMUDEZ, JOSE            ADDRESS ON FILE
CORREA BERMUDEZ, ROBERTO L       ADDRESS ON FILE
CORREA BERRIOS, BIANCA           ADDRESS ON FILE
CORREA BERRIOS, JOSE R           ADDRESS ON FILE
CORREA BETANCOURT, KATHERINE     ADDRESS ON FILE
CORREA BIRRIEL, JEANNETTE        ADDRESS ON FILE
CORREA BIRRIEL, NILDA R.         ADDRESS ON FILE
CORREA BONANO, ELBA              ADDRESS ON FILE
CORREA BONANO, ELBA              ADDRESS ON FILE
CORREA BONILLA, MILAGROS         ADDRESS ON FILE
CORREA BORGES, CARMEN            ADDRESS ON FILE
Correa Borrero, Carlos I         ADDRESS ON FILE
CORREA BORRERO, VIVIAN           ADDRESS ON FILE
CORREA BOSQUE, CASIMIRO          ADDRESS ON FILE
CORREA BOSQUE, ENRIQUE           ADDRESS ON FILE
CORREA BOSQUE, MARIA ROSA        ADDRESS ON FILE
CORREA BURGOS, JUAN              ADDRESS ON FILE
CORREA CABALLERO, DESIREE        ADDRESS ON FILE
CORREA CABALLERO, SILVIA M       ADDRESS ON FILE
CORREA CABEZUDO, VIRGEN          ADDRESS ON FILE
CORREA CABRERA, AUDA             ADDRESS ON FILE
CORREA CABRERA, JOSE E.          ADDRESS ON FILE
CORREA CALDERON, NATHALIE        ADDRESS ON FILE
CORREA CALDERON, NEPHTALY        ADDRESS ON FILE
CORREA CAMACHO, EDWIN            ADDRESS ON FILE
CORREA CAMACHO, NANCY            ADDRESS ON FILE
CORREA CAMACHO,EDWIN             ADDRESS ON FILE
CORREA CANALES, ELSIE G          ADDRESS ON FILE
CORREA CANALES, JOSE             ADDRESS ON FILE
CORREA CANALES, OLGA             ADDRESS ON FILE
CORREA CANALES, YOLIMAR          ADDRESS ON FILE
CORREA CANALES, YOLIMAR M        ADDRESS ON FILE
CORREA CANCEL, FROILAN           ADDRESS ON FILE
CORREA CANCEL, ZULEIKA           ADDRESS ON FILE
CORREA CANDELARIO, CARMEN N      ADDRESS ON FILE
CORREA CANDELARIO, CHRISTIAN M   ADDRESS ON FILE
CORREA CANDELARIO, JAN PAUL      ADDRESS ON FILE
CORREA CANDELARIO, LUIS          ADDRESS ON FILE
CORREA CANDELARIO, YAMIL         ADDRESS ON FILE
CORREA CANTRE, CARMEN            ADDRESS ON FILE
CORREA CAPO, IVAN                ADDRESS ON FILE
CORREA CARABALLO, LORRAINE       ADDRESS ON FILE
CORREA CARBONELL, KITSIE         ADDRESS ON FILE
CORREA CARDONA, ENID             ADDRESS ON FILE
CORREA CARDONA, ROSA             ADDRESS ON FILE
CORREA CARLO, LOURDES            ADDRESS ON FILE
CORREA CARMONA, DYMAR            ADDRESS ON FILE
CORREA CARRASQUILLO, CARMEN G    ADDRESS ON FILE
CORREA CARRASQUILLO, GLENDALIZ   ADDRESS ON FILE
CORREA CARRASQUILLO, IRENE       ADDRESS ON FILE
CORREA CARRASQUILLO, REINALDO    ADDRESS ON FILE
CORREA CARRASQUILLO, YAMIL       ADDRESS ON FILE
CORREA CARRERA, CARIDAD          ADDRESS ON FILE
CORREA CARRERAS, CARIDAD         ADDRESS ON FILE
CORREA CARRERAS, OLGA I          ADDRESS ON FILE
CORREA CARRION, JOSE CARMELO     ADDRESS ON FILE




                                                                             Page 1800 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1801 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA CARRION, ORLANDO                 ADDRESS ON FILE
CORREA CASADO, JUANA                    ADDRESS ON FILE
CORREA CASTRO, EMANUELL                 ADDRESS ON FILE
CORREA CASTRO, GLENDA E.                ADDRESS ON FILE
CORREA CASTRO, JOSE                     ADDRESS ON FILE
CORREA CASTRO, MARIBEL                  ADDRESS ON FILE
CORREA CASTRO, MARIBEL                  ADDRESS ON FILE
CORREA CASTRO, NAOMI                    ADDRESS ON FILE
CORREA CASTRO, ZOARAID                  ADDRESS ON FILE
CORREA CENTENO, CYNTHIA                 ADDRESS ON FILE
CORREA CENTENO, CYNTHIA                 ADDRESS ON FILE
CORREA CENTENO, VICTOR                  ADDRESS ON FILE
CORREA CEPEDA, CARLA V.                 ADDRESS ON FILE
CORREA CERRO, MARTIN                    ADDRESS ON FILE
CORREA CHAPARRO, WARRINER               ADDRESS ON FILE
CORREA CHARLES, ANGEL L                 ADDRESS ON FILE
CORREA CINTRON MD, JAVIER               ADDRESS ON FILE
CORREA CIRINO, LOYDA                    ADDRESS ON FILE
CORREA COLLAZO & HERRERO JIMENEZ FORTUNOADDRESS ON FILE
CORREA COLLAZO, ANA I                   ADDRESS ON FILE
CORREA COLOMBA, NANCY                   ADDRESS ON FILE
CORREA COLON MD, HECTOR A               ADDRESS ON FILE
CORREA COLON, ANGELA                    ADDRESS ON FILE
CORREA COLON, CARLOS B                  ADDRESS ON FILE
CORREA COLON, CYNTHIA M.                ADDRESS ON FILE
CORREA COLON, EDGAR R                   ADDRESS ON FILE
CORREA COLON, ELIZABETH                 ADDRESS ON FILE
Correa Colon, Emilia                    ADDRESS ON FILE
CORREA COLON, EMILIANA                  ADDRESS ON FILE
CORREA COLON, GABRIEL                   ADDRESS ON FILE
CORREA COLON, GISSELLE M.               ADDRESS ON FILE
CORREA COLON, HECTOR D.                 ADDRESS ON FILE
CORREA COLON, HECTOR I.                 ADDRESS ON FILE
CORREA COLON, JOSUE                     ADDRESS ON FILE
CORREA COLON, JOSUETH                   ADDRESS ON FILE
CORREA COLON, LUIS ARNALDO              ADDRESS ON FILE
CORREA COLON, MARTA I                   ADDRESS ON FILE
CORREA COLON, MELVIN                    ADDRESS ON FILE
CORREA COLON, MIRIAM                    ADDRESS ON FILE
CORREA CORCINO, LUIS A.                 ADDRESS ON FILE
CORREA CORCINO, MARIA D                 ADDRESS ON FILE
CORREA CORDERO, LUISA A                 ADDRESS ON FILE
CORREA COREANO, ZAIDA                   ADDRESS ON FILE
CORREA CORIANO, JANET                   ADDRESS ON FILE
CORREA CORIANO, MYRIAM                  ADDRESS ON FILE
Correa Coriano, Wanda Luz               ADDRESS ON FILE
CORREA CORREA, ANA M                    ADDRESS ON FILE
CORREA CORREA, DILIA                    ADDRESS ON FILE
Correa Correa, Gilberto                 ADDRESS ON FILE
CORREA CORREA, JOSE                     ADDRESS ON FILE
CORREA CORREA, JUAN A                   ADDRESS ON FILE
CORREA CORREA, MYONER                   ADDRESS ON FILE
CORREA CORREA, MYONER                   ADDRESS ON FILE
CORREA CORREA, RICHIE                   ADDRESS ON FILE
CORREA CORREA, ROBERTO                  ADDRESS ON FILE
CORREA CORTES, LUIS NOEL                ADDRESS ON FILE
CORREA CORTES, MARIA                    ADDRESS ON FILE
CORREA COUVERTIER, JOHANA L             ADDRESS ON FILE
CORREA COX, GABRIEL                     ADDRESS ON FILE
CORREA CRESPO, ALEXAVIER                ADDRESS ON FILE




                                                                                     Page 1801 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1802 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Correa Crespo, Ivan J        ADDRESS ON FILE
CORREA CRISPIN, FELIX        ADDRESS ON FILE
CORREA CRUZ, AIDA I          ADDRESS ON FILE
CORREA CRUZ, AMELIA          ADDRESS ON FILE
CORREA CRUZ, CARMEN          ADDRESS ON FILE
CORREA CRUZ, CARMEN M.       ADDRESS ON FILE
CORREA CRUZ, JESUS           ADDRESS ON FILE
CORREA CRUZ, LESLIE          ADDRESS ON FILE
CORREA CRUZ, LESLIE Y        ADDRESS ON FILE
CORREA CRUZ, MARIA J         ADDRESS ON FILE
CORREA CRUZ, RAFAEL          ADDRESS ON FILE
Correa Cruz, Tamaris         ADDRESS ON FILE
CORREA CRUZ, VIRGINIA        ADDRESS ON FILE
CORREA CRUZ, YARITZYA M      ADDRESS ON FILE
CORREA CRUZ, ZULEYKA         ADDRESS ON FILE
CORREA CRUZADO, NESTOR       ADDRESS ON FILE
Correa Cruzado, Rosa J.      ADDRESS ON FILE
CORREA DAVID, LUIS           ADDRESS ON FILE
CORREA DAVILA, FERNANDO      ADDRESS ON FILE
CORREA DAVILA, LAVINIA       ADDRESS ON FILE
CORREA DAVILA, LUZ E         ADDRESS ON FILE
CORREA DAVILA, YANIRA        ADDRESS ON FILE
CORREA DE CRUZ, CARMEN       ADDRESS ON FILE
CORREA DE JESUS, GLADYS      ADDRESS ON FILE
CORREA DE JESUS, JOSE        ADDRESS ON FILE
CORREA DE JESUS, LUIS        ADDRESS ON FILE
CORREA DE JESUS, MARIA L     ADDRESS ON FILE
CORREA DE JESUS, MYRNA L     ADDRESS ON FILE
CORREA DE JESUS, NYDZA       ADDRESS ON FILE
CORREA DE JESUS, OCTAVIO     ADDRESS ON FILE
CORREA DE JESUS, VILMA R.    ADDRESS ON FILE
CORREA DE JESUS, WYRIE I     ADDRESS ON FILE
CORREA DEL VALLE, JOSEPH     ADDRESS ON FILE
CORREA DEL VALLE, LUZ E      ADDRESS ON FILE
CORREA DEL VALLE, YOLANDA    ADDRESS ON FILE
CORREA DELGADO, CARMELINA    ADDRESS ON FILE
CORREA DELGADO, HAYDEE       ADDRESS ON FILE
CORREA DELGADO, MAYRA        ADDRESS ON FILE
Correa Delgado, Richie       ADDRESS ON FILE
CORREA DELGADO, SYLVIA       ADDRESS ON FILE
CORREA DIAZ, ANTONIA         ADDRESS ON FILE
CORREA DIAZ, DANNIERIS       ADDRESS ON FILE
CORREA DIAZ, EDGARDO         ADDRESS ON FILE
CORREA DIAZ, IRMA            ADDRESS ON FILE
CORREA DIAZ, MILLIE          ADDRESS ON FILE
CORREA DIAZ, MILTON          ADDRESS ON FILE
CORREA DIAZ, RAMON           ADDRESS ON FILE
Correa Diaz, Willie          ADDRESS ON FILE
CORREA DIAZ, WILLIE          ADDRESS ON FILE
CORREA DIAZ, WILNELIA        ADDRESS ON FILE
CORREA ECHEVARRIA, LUISA     ADDRESS ON FILE
CORREA ECHEVARRIA, YARITZA   ADDRESS ON FILE
Correa Encarnacion, Luis     ADDRESS ON FILE
CORREA ERAZO, HELEN E        ADDRESS ON FILE
CORREA ESCALANTE, JEAN       ADDRESS ON FILE
Correa Escalante, Jean M.    ADDRESS ON FILE
CORREA ESCRIBANO, CESAR      ADDRESS ON FILE
CORREA ESCUDERO, NEFTALI     ADDRESS ON FILE
CORREA ESTRADA, ERNESTO      ADDRESS ON FILE
CORREA ESTRELLA, CARMEN M    ADDRESS ON FILE




                                                                         Page 1802 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1803 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA FALCON, JOSE              ADDRESS ON FILE
CORREA FALCON, JOSE L.           ADDRESS ON FILE
Correa Feliciano, Angel M        ADDRESS ON FILE
CORREA FELICIANO, JORGE          ADDRESS ON FILE
CORREA FELICIANO, KARLA M        ADDRESS ON FILE
CORREA FELICIANO, NORMAN         ADDRESS ON FILE
CORREA FELICIER, ANGEL L         ADDRESS ON FILE
CORREA FELIX, CELIA              ADDRESS ON FILE
CORREA FELIX, ERICA E            ADDRESS ON FILE
CORREA FELIX, MARINETTE          ADDRESS ON FILE
CORREA FERNANDEZ, JUAN A         ADDRESS ON FILE
CORREA FERNANDEZ, MARIA DEL C    ADDRESS ON FILE
CORREA FERRER, CHRISTIAN         ADDRESS ON FILE
CORREA FERRER, MIGUEL            ADDRESS ON FILE
CORREA FERRERA, PEDRO J          ADDRESS ON FILE
CORREA FIGUEROA, CARMEN M        ADDRESS ON FILE
CORREA FIGUEROA, CHRISTIAN D.    ADDRESS ON FILE
CORREA FIGUEROA, JOSE            ADDRESS ON FILE
CORREA FIGUEROA, JUANITA B       ADDRESS ON FILE
Correa Figueroa, Julio           ADDRESS ON FILE
CORREA FIGUEROA, LUIS            ADDRESS ON FILE
CORREA FIGUEROA, LUIS D.         ADDRESS ON FILE
Correa Figueroa, Luis G          ADDRESS ON FILE
CORREA FIGUEROA, LUIS J          ADDRESS ON FILE
CORREA FIGUEROA, LYDIA           ADDRESS ON FILE
CORREA FIGUEROA, MARIA P         ADDRESS ON FILE
CORREA FIGUEROA, PHILIX          ADDRESS ON FILE
CORREA FIGUEROA, REINA I.        ADDRESS ON FILE
CORREA FIGUEROA, ROSALIND        ADDRESS ON FILE
CORREA FIGUEROA, ROSALIND        ADDRESS ON FILE
CORREA FIGUEROA, WANDA           ADDRESS ON FILE
CORREA FIGUEROA, YAMIL           ADDRESS ON FILE
Correa Figueroa, Yamil M.        ADDRESS ON FILE
CORREA FILOMENO, ANETTE          ADDRESS ON FILE
CORREA FILOMENO, LINNETTE        ADDRESS ON FILE
CORREA FILOMENO, LUZ S.          ADDRESS ON FILE
CORREA FILOMENO, NINO            ADDRESS ON FILE
CORREA FILOMENO, ZAE             ADDRESS ON FILE
CORREA FILOMENO, ZUE             ADDRESS ON FILE
CORREA FLORES MD, MARIA D        ADDRESS ON FILE
CORREA FLORES, DANIEL E.         ADDRESS ON FILE
CORREA FLORES, EDUARDO           ADDRESS ON FILE
CORREA FLORES, EDUARDO E.        ADDRESS ON FILE
CORREA FLORES, FERNANDO L        ADDRESS ON FILE
CORREA FLORES, KEYSHA M          ADDRESS ON FILE
CORREA FLORES, LUIS G            ADDRESS ON FILE
CORREA FLORES, YUMARIE           ADDRESS ON FILE
CORREA FLORES, YUMARIE           ADDRESS ON FILE
CORREA FONSECA, AMALIA           ADDRESS ON FILE
CORREA FONSECA, YOLANDA I        ADDRESS ON FILE
CORREA FONSECA, ZAIDA            ADDRESS ON FILE
CORREA FONSECA, ZAIDA            ADDRESS ON FILE
CORREA FONTANEZ, NEREIDA         ADDRESS ON FILE
CORREA FRANCESCHINI, HEISEL N    ADDRESS ON FILE
CORREA FRANCESCHINI, LISSIE L.   ADDRESS ON FILE
CORREA FRANCESCHINI, RICKY J     ADDRESS ON FILE
CORREA FUENTES, CARLOS           ADDRESS ON FILE
CORREA FUENTES, ILEANA           ADDRESS ON FILE
CORREA FUENTES, MARIA            ADDRESS ON FILE
CORREA GALINDO, FRANCISCO        ADDRESS ON FILE




                                                                             Page 1803 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1804 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA GALINDO, MELVIN        ADDRESS ON FILE
CORREA GARAY, VERONICA        ADDRESS ON FILE
CORREA GARCIA, ANA M          ADDRESS ON FILE
CORREA GARCIA, ANGEL          ADDRESS ON FILE
CORREA GARCIA, ARTURO         ADDRESS ON FILE
CORREA GARCIA, CARMEN         ADDRESS ON FILE
CORREA GARCIA, EZEQUIEL       ADDRESS ON FILE
CORREA GARCIA, GLADYS         ADDRESS ON FILE
CORREA GARCIA, ISMAEL         ADDRESS ON FILE
CORREA GARCIA, ISMAEL         ADDRESS ON FILE
CORREA GARCIA, LIZANDRO       ADDRESS ON FILE
CORREA GARCIA, LUIS           ADDRESS ON FILE
CORREA GARCIA, MARCELINO      ADDRESS ON FILE
CORREA GARCIA, MARCELINO      ADDRESS ON FILE
CORREA GARCIA, MARION         ADDRESS ON FILE
CORREA GARCIA, MILDRED A      ADDRESS ON FILE
CORREA GARCIA, NOELIA         ADDRESS ON FILE
CORREA GARCIA, SONIA N        ADDRESS ON FILE
CORREA GARCIA, SULLY I        ADDRESS ON FILE
CORREA GARCIA, SYLVIA         ADDRESS ON FILE
CORREA GARCIA, SYLVIA         ADDRESS ON FILE
CORREA GARCIA, WILDA I.       ADDRESS ON FILE
CORREA GARCIA, ZORAIDA        ADDRESS ON FILE
CORREA GARCIA, ZULMA          ADDRESS ON FILE
CORREA GEIGEL, AGUSTIN        ADDRESS ON FILE
CORREA GERENA, ALEX           ADDRESS ON FILE
CORREA GOMEZ, ERIKA           ADDRESS ON FILE
CORREA GOMEZ, JONATHAN        ADDRESS ON FILE
CORREA GOMEZ, JOSE            ADDRESS ON FILE
CORREA GOMEZ, JOSE ALBERTO    ADDRESS ON FILE
CORREA GOMEZ, MARIA M         ADDRESS ON FILE
CORREA GONZALEZ, ANA D        ADDRESS ON FILE
CORREA GONZALEZ, ANIBAL       ADDRESS ON FILE
CORREA GONZALEZ, EDUARDINO    ADDRESS ON FILE
CORREA GONZALEZ, EDWARD       ADDRESS ON FILE
CORREA GONZALEZ, ELIZABETH    ADDRESS ON FILE
CORREA GONZALEZ, INDO A       ADDRESS ON FILE
CORREA GONZALEZ, JESSIKA I.   ADDRESS ON FILE
CORREA GONZALEZ, JUANA        ADDRESS ON FILE
CORREA GONZALEZ, LUIS A       ADDRESS ON FILE
CORREA GONZALEZ, MADELINE     ADDRESS ON FILE
CORREA GONZALEZ, MARIA I      ADDRESS ON FILE
CORREA GONZALEZ, MIGNA M      ADDRESS ON FILE
CORREA GONZALEZ, NAIL         ADDRESS ON FILE
CORREA GONZALEZ, NELSON       ADDRESS ON FILE
CORREA GONZALEZ, RITA         ADDRESS ON FILE
CORREA GONZALEZ, WILLIAM      ADDRESS ON FILE
CORREA GORITZ, SANDRA I       ADDRESS ON FILE
CORREA GORRITZ, LUZ E         ADDRESS ON FILE
CORREA GUALDARAMA, CARMEN     ADDRESS ON FILE
CORREA GUALDARRAMA, RENE      ADDRESS ON FILE
CORREA GUARDARAMA, RAFAEL     ADDRESS ON FILE
Correa Guardarrama, Julio A   ADDRESS ON FILE
CORREA GUERRA, LUZ            ADDRESS ON FILE
CORREA GUTIERREZ, JULIAN      ADDRESS ON FILE
CORREA GUTIERREZ, LUIS E.     ADDRESS ON FILE
CORREA GUTIERRZ, FULGENCIO    ADDRESS ON FILE
CORREA HENRIQUEZ, NILDA N.    ADDRESS ON FILE
CORREA HERNANDEZ, HECTOR      ADDRESS ON FILE
CORREA HERNANDEZ, IBIS        ADDRESS ON FILE




                                                                          Page 1804 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1805 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA HERNANDEZ, IDA         ADDRESS ON FILE
CORREA HERNANDEZ, JEANNETTE   ADDRESS ON FILE
CORREA HERNANDEZ, JESUS       ADDRESS ON FILE
Correa Hernandez, Julia       ADDRESS ON FILE
CORREA HERNANDEZ, NANCY       ADDRESS ON FILE
CORREA HERNANDEZ, SANDRA I    ADDRESS ON FILE
CORREA HERNANDEZ, WILMARY     ADDRESS ON FILE
CORREA HERRERA, ALFREDO       ADDRESS ON FILE
Correa Hiraldo, Sheila N.     ADDRESS ON FILE
CORREA IGUINA, ANGELES C      ADDRESS ON FILE
CORREA IRIZARRY, CARLOS       ADDRESS ON FILE
CORREA IRIZARRY, ELI          ADDRESS ON FILE
CORREA IRIZARRY, HELGA M      ADDRESS ON FILE
CORREA IRIZARRY, IVANISE      ADDRESS ON FILE
CORREA IRIZARRY, MARGIE       ADDRESS ON FILE
CORREA IRIZARRY, NAMHIR       ADDRESS ON FILE
CORREA IRIZARRY, RAMON        ADDRESS ON FILE
CORREA IZQUIERDO, BETZAIDA    ADDRESS ON FILE
CORREA JAIME, ARLIN           ADDRESS ON FILE
CORREA JIMENEZ, CARMEN M      ADDRESS ON FILE
CORREA JIMENEZ, FELIPE        ADDRESS ON FILE
CORREA JIMENEZ, GISELA        ADDRESS ON FILE
CORREA JUSINO, FRANK          ADDRESS ON FILE
CORREA LABOY, JOAN            ADDRESS ON FILE
CORREA LABOY, LUAN            ADDRESS ON FILE
CORREA LAVIERA, RAMON         ADDRESS ON FILE
Correa Lebron, Ivan           ADDRESS ON FILE
CORREA LEBRON, SANDRA         ADDRESS ON FILE
CORREA LEON, FEDERICO         ADDRESS ON FILE
CORREA LEON, MIULCAELI        ADDRESS ON FILE
CORREA LLANA, RAFAEL          ADDRESS ON FILE
CORREA LLERAS, RUTH E         ADDRESS ON FILE
CORREA LONDONO, LUIS          ADDRESS ON FILE
CORREA LOPEZ, CESAR           ADDRESS ON FILE
CORREA LOPEZ, DELIA E.        ADDRESS ON FILE
CORREA LOPEZ, EDWARDO         ADDRESS ON FILE
CORREA LOPEZ, JESSY           ADDRESS ON FILE
CORREA LOPEZ, JULIO A         ADDRESS ON FILE
CORREA LOPEZ, LUZ E.          ADDRESS ON FILE
CORREA LOPEZ, MARILYN         ADDRESS ON FILE
CORREA LOPEZ, MARTA H         ADDRESS ON FILE
Correa Lopez, Marta M         ADDRESS ON FILE
CORREA LOPEZ, MIGDALIA        ADDRESS ON FILE
CORREA LOPEZ, ROBERTO         ADDRESS ON FILE
CORREA LOZANO, IRIS Z         ADDRESS ON FILE
CORREA LUGO, MARIA            ADDRESS ON FILE
CORREA LUGO, RENE             ADDRESS ON FILE
CORREA LUNA, LUIS D.          ADDRESS ON FILE
CORREA MACHUCA, JANETTE       ADDRESS ON FILE
Correa Malave, Carlos R       ADDRESS ON FILE
CORREA MALAVE, EMERITA        ADDRESS ON FILE
Correa Malave, Jose A         ADDRESS ON FILE
CORREA MALDONADO, CARMEN M    ADDRESS ON FILE
CORREA MALDONADO, ERICK A     ADDRESS ON FILE
CORREA MALDONADO, LUIS        ADDRESS ON FILE
Correa Maldonado, Luis F.     ADDRESS ON FILE
CORREA MALDONADO, SOFIA       ADDRESS ON FILE
CORREA MALDONADO, WILFREDO    ADDRESS ON FILE
CORREA MALDONAO, DANIEL       ADDRESS ON FILE
CORREA MARCANO, LEONARDO      ADDRESS ON FILE




                                                                          Page 1805 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1806 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA MARCANO, NESTOR RAPHAEL   ADDRESS ON FILE
CORREA MARQUEZ, LUIS             ADDRESS ON FILE
CORREA MARRA MD, SONIA           ADDRESS ON FILE
CORREA MARTE, MIGDALIA           ADDRESS ON FILE
CORREA MARTINEZ, AKYAM D         ADDRESS ON FILE
CORREA MARTINEZ, AURORA          ADDRESS ON FILE
CORREA MARTINEZ, EFRAIN          ADDRESS ON FILE
CORREA MARTINEZ, EILEEN          ADDRESS ON FILE
CORREA MARTINEZ, ERNESTO         ADDRESS ON FILE
Correa Martinez, Harry           ADDRESS ON FILE
CORREA MARTINEZ, HERMINIA        ADDRESS ON FILE
CORREA MARTINEZ, JOSE            ADDRESS ON FILE
CORREA MARTINEZ, LUIS            ADDRESS ON FILE
CORREA MARTINEZ, LUIS            ADDRESS ON FILE
CORREA MARTINEZ, MARIA           ADDRESS ON FILE
CORREA MARTINEZ, MARIA DE LOS    ADDRESS ON FILE
CORREA MARTINEZ, MARIA L         ADDRESS ON FILE
CORREA MARTINEZ, NANCY           ADDRESS ON FILE
CORREA MARTINEZ, NORMA           ADDRESS ON FILE
CORREA MARTINEZ, NORMA I         ADDRESS ON FILE
CORREA MARTINEZ, OLGA M          ADDRESS ON FILE
CORREA MARTINEZ, OLGA M.         ADDRESS ON FILE
CORREA MARTINEZ, PERSEVERANDO    ADDRESS ON FILE
CORREA MARTORELL, EDYLIZ         ADDRESS ON FILE
CORREA MATOS, CARMEN A           ADDRESS ON FILE
CORREA MATOS, CHARMAINE          ADDRESS ON FILE
CORREA MATTEI, RAMON A           ADDRESS ON FILE
CORREA MAYSONET, MARIANELA       ADDRESS ON FILE
CORREA MEDINA, ALESHKA           ADDRESS ON FILE
CORREA MEDINA, BRENDA I          ADDRESS ON FILE
CORREA MEDINA, CARLOS            ADDRESS ON FILE
Correa Medina, Danny             ADDRESS ON FILE
CORREA MEDINA, EDDIE             ADDRESS ON FILE
CORREA MEDINA, JORGE A.          ADDRESS ON FILE
CORREA MEJIAS, ADA               ADDRESS ON FILE
CORREA MEJIAS, BETHZAMARIE       ADDRESS ON FILE
CORREA MEJIAS, IVETTE            ADDRESS ON FILE
CORREA MEJIAS, RAMONITA          ADDRESS ON FILE
CORREA MELECIO, ANA M            ADDRESS ON FILE
CORREA MELECIO, ANA M            ADDRESS ON FILE
CORREA MELECIO, NEFTALI          ADDRESS ON FILE
CORREA MELECIO, NORBERTO         ADDRESS ON FILE
CORREA MELENDEZ, CARLOS          ADDRESS ON FILE
CORREA MELENDEZ, JORGE           ADDRESS ON FILE
CORREA MELENDEZ, NICOLE          ADDRESS ON FILE
CORREA MELENDEZ, YESENIA         ADDRESS ON FILE
CORREA MERCADO, ELI A.           ADDRESS ON FILE
CORREA MERCADO, LUIS             ADDRESS ON FILE
Correa Mercado, William          ADDRESS ON FILE
CORREA MOJICA, ORLANDO           ADDRESS ON FILE
CORREA MOLINA, JOSE              ADDRESS ON FILE
CORREA MOLINA, LUIS              ADDRESS ON FILE
CORREA MOLINA, PROVIDENCIA       ADDRESS ON FILE
CORREA MOLINARI, AWILMARIE       ADDRESS ON FILE
CORREA MOLINARI, JOSE L          ADDRESS ON FILE
CORREA MONCLOVA, MIGUEL A        ADDRESS ON FILE
CORREA MONTALVO, JASMINE         ADDRESS ON FILE
CORREA MONTANEZ, NORMA I         ADDRESS ON FILE
CORREA MONTFORT, WANDA           ADDRESS ON FILE
Correa Montoya, Sol B.           ADDRESS ON FILE




                                                                             Page 1806 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1807 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA MORALES, AVIS         ADDRESS ON FILE
CORREA MORALES, CATHERINE    ADDRESS ON FILE
CORREA MORALES, DENNIS       ADDRESS ON FILE
Correa Morales, Hector L.    ADDRESS ON FILE
CORREA MORALES, JORGE        ADDRESS ON FILE
CORREA MORALES, LAVIGNIA R   ADDRESS ON FILE
CORREA MORALES, LUIS         ADDRESS ON FILE
CORREA MORALES, LUIS         ADDRESS ON FILE
CORREA MORALES, MARIA D      ADDRESS ON FILE
CORREA MORALES, MIGDALIA     ADDRESS ON FILE
CORREA MORALES, NESTOR       ADDRESS ON FILE
CORREA MORALES, SHIOMARY     ADDRESS ON FILE
CORREA MORALES, SHIOMARY     ADDRESS ON FILE
CORREA MORALES, WILBERTO     ADDRESS ON FILE
CORREA MORALEZ, LEYDA E      ADDRESS ON FILE
CORREA MUNIZ, IVAN           ADDRESS ON FILE
CORREA MUNIZ, IVAN           ADDRESS ON FILE
CORREA NARVAEZ, ADLIN L      ADDRESS ON FILE
CORREA NARVAEZ, IRMA         ADDRESS ON FILE
CORREA NAVARRO, MARIA        ADDRESS ON FILE
CORREA NAVARRO, RANDALL      ADDRESS ON FILE
CORREA NAVARRO, RANDALL      ADDRESS ON FILE
CORREA NAVARRO, SONIA M.     ADDRESS ON FILE
Correa Nazario, Irving       ADDRESS ON FILE
CORREA NEGRON, ABIAS         ADDRESS ON FILE
CORREA NEGRON, EULOGIO       ADDRESS ON FILE
CORREA NEGRON, HARRY         ADDRESS ON FILE
Correa Negron, Jaime         ADDRESS ON FILE
CORREA NEGRON, JOSE          ADDRESS ON FILE
CORREA NEGRON, JOSE J        ADDRESS ON FILE
CORREA NEGRON, LUIS          ADDRESS ON FILE
CORREA NEGRON, MANUEL        ADDRESS ON FILE
CORREA NEGRON, MARIA I.      ADDRESS ON FILE
CORREA NEGRON, MELBA         ADDRESS ON FILE
CORREA NEGRON, NELSON        ADDRESS ON FILE
CORREA NEGRON, YASMIN        ADDRESS ON FILE
Correa Nevarez, Yolanda      ADDRESS ON FILE
CORREA NIEVES, LUZ I.        ADDRESS ON FILE
CORREA NIVAR, MIGUEL         ADDRESS ON FILE
CORREA OCANA, MANUEL         ADDRESS ON FILE
Correa Ocasio, Elias         ADDRESS ON FILE
CORREA OCASIO, JOSE A        ADDRESS ON FILE
CORREA OCASIO, LUIS E        ADDRESS ON FILE
CORREA OLIVERO, ELBA M.      ADDRESS ON FILE
CORREA OLMO, MAGDA E.        ADDRESS ON FILE
CORREA OLMO, NITZA           ADDRESS ON FILE
CORREA OLMO, ORPHA           ADDRESS ON FILE
CORREA OLMO, RAMON           ADDRESS ON FILE
CORREA OQUENDO, ALEXIS J     ADDRESS ON FILE
CORREA OQUENDO, CARLOS       ADDRESS ON FILE
CORREA OQUENDO, CARLOS       ADDRESS ON FILE
CORREA OQUENDO, CARLOS       ADDRESS ON FILE
CORREA OQUENDO, HECTOR       ADDRESS ON FILE
CORREA OQUENDO, HECTOR C     ADDRESS ON FILE
CORREA OQUENDO, MIRIAM       ADDRESS ON FILE
Correa Orengo, Edwin R       ADDRESS ON FILE
CORREA ORENGO, IDALI         ADDRESS ON FILE
Correa Ortega, Joaquin       ADDRESS ON FILE
CORREA ORTEGA, MARIELYS      ADDRESS ON FILE
CORREA ORTIZ, ANA M          ADDRESS ON FILE




                                                                         Page 1807 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1808 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA ORTIZ, BENJAMIN         ADDRESS ON FILE
CORREA ORTIZ, CARMEN H.        ADDRESS ON FILE
CORREA ORTIZ, CESAR            ADDRESS ON FILE
Correa Ortiz, Cesar F          ADDRESS ON FILE
CORREA ORTIZ, CORAL            ADDRESS ON FILE
CORREA ORTIZ, DALILA           ADDRESS ON FILE
CORREA ORTIZ, ENID             ADDRESS ON FILE
CORREA ORTIZ, FRANCISCO F.     ADDRESS ON FILE
CORREA ORTIZ, IRIS             ADDRESS ON FILE
CORREA ORTIZ, JUSTINA          ADDRESS ON FILE
CORREA ORTIZ, LEONARDO         ADDRESS ON FILE
CORREA ORTIZ, LISANDRA         ADDRESS ON FILE
CORREA ORTIZ, LORNA Z          ADDRESS ON FILE
CORREA ORTIZ, LUIS A           ADDRESS ON FILE
CORREA ORTIZ, MANUEL           ADDRESS ON FILE
CORREA ORTIZ, ROBERTO          ADDRESS ON FILE
CORREA ORTIZ, ROLANDO          ADDRESS ON FILE
CORREA ORTIZ, ROSA             ADDRESS ON FILE
Correa Ortiz, Waldemar         ADDRESS ON FILE
CORREA ORTIZ, WINDANY          ADDRESS ON FILE
CORREA ORTIZ, YAZMIN           ADDRESS ON FILE
CORREA OSORIO, ANIXA           ADDRESS ON FILE
CORREA OSORIO, ARACELIS        ADDRESS ON FILE
CORREA OSORIO, EMMANUEL        ADDRESS ON FILE
CORREA OSORIO, JORGE           ADDRESS ON FILE
CORREA OSORIO, ORVILLE         ADDRESS ON FILE
CORREA OSORIO, ZAIDA           ADDRESS ON FILE
CORREA OTERO, FELIX            ADDRESS ON FILE
CORREA PABON, EDWIN            ADDRESS ON FILE
CORREA PACHECO DIANA           ADDRESS ON FILE
CORREA PACHECO, DIANA          ADDRESS ON FILE
CORREA PADILLA, ENRIQUE        ADDRESS ON FILE
Correa Padilla, Glenda L.      ADDRESS ON FILE
CORREA PADILLA, JOANNY         ADDRESS ON FILE
CORREA PADILLA, SUSAN L.       ADDRESS ON FILE
CORREA PAGAN, CARLOS           ADDRESS ON FILE
CORREA PAGAN, ERNESTO          ADDRESS ON FILE
CORREA PAGAN, GRELIA           ADDRESS ON FILE
CORREA PAGAN, HECTOR A.        ADDRESS ON FILE
CORREA PAGAN, JUAN R           ADDRESS ON FILE
CORREA PAGAN, KATIANA          ADDRESS ON FILE
CORREA PAGAN, NEREIDA          ADDRESS ON FILE
CORREA PASTOR, NYDIA L         ADDRESS ON FILE
CORREA PATINO, JESMAR          ADDRESS ON FILE
CORREA PEDROGO, NOEMI          ADDRESS ON FILE
CORREA PEREZ, ALAI             ADDRESS ON FILE
CORREA PEREZ, FELICITA         ADDRESS ON FILE
Correa Perez, Joel             ADDRESS ON FILE
CORREA PEREZ, JUAN             ADDRESS ON FILE
Correa Perez, Luis O           ADDRESS ON FILE
CORREA PEREZ, LYDIA            ADDRESS ON FILE
CORREA PEREZ, MARIA DE LOS A   ADDRESS ON FILE
CORREA PEREZ, MARILYN          ADDRESS ON FILE
CORREA PEREZ, RAMON L          ADDRESS ON FILE
CORREA PEREZ, RAUL             ADDRESS ON FILE
CORREA PEREZ, RUTH M           ADDRESS ON FILE
CORREA PEREZ, YAILIN M         ADDRESS ON FILE
CORREA PEREZ, YARILY           ADDRESS ON FILE
Correa Pina, Samuel A.         ADDRESS ON FILE
CORREA PINTOR, ALBA N          ADDRESS ON FILE




                                                                           Page 1808 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1809 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA PINTOR, JAYSON       ADDRESS ON FILE
Correa Pintor, Jayson O     ADDRESS ON FILE
CORREA PINTOR, MIGUEL       ADDRESS ON FILE
CORREA PIZARRO, GILBERTO    ADDRESS ON FILE
CORREA POL, DIANA LUZ       ADDRESS ON FILE
CORREA POMALES, KAREN       ADDRESS ON FILE
CORREA QUINONES, ERMIDES    ADDRESS ON FILE
CORREA QUINONES, ERMIDES    ADDRESS ON FILE
CORREA QUINONES, GLORIMAR   ADDRESS ON FILE
CORREA QUINONES, GLORIMAR   ADDRESS ON FILE
CORREA QUINONES, IDALIA     ADDRESS ON FILE
CORREA QUINONES, SARA       ADDRESS ON FILE
CORREA QUINONEZ, ADA L      ADDRESS ON FILE
CORREA QUIROS, EMMANUEL     ADDRESS ON FILE
CORREA RAMIREZ, CHRISTIAN   ADDRESS ON FILE
CORREA RAMOS, JANDARA       ADDRESS ON FILE
CORREA RAMOS, JUAN D.       ADDRESS ON FILE
CORREA RAMOS, KARINA M      ADDRESS ON FILE
CORREA RAMOS, LISANDRA      ADDRESS ON FILE
CORREA RAMOS, LIZBETH       ADDRESS ON FILE
CORREA RAMOS, NELIZA        ADDRESS ON FILE
CORREA RAMOS, NIDIA         ADDRESS ON FILE
CORREA RAMOS, VICTOR M      ADDRESS ON FILE
CORREA RAMOS, WANDA         ADDRESS ON FILE
CORREA RAMOS, WENDA         ADDRESS ON FILE
CORREA RESTO, MARIA D       ADDRESS ON FILE
CORREA REYES, DOMINGA       ADDRESS ON FILE
CORREA REYES, KARLA         ADDRESS ON FILE
CORREA REYES, MIRENA        ADDRESS ON FILE
CORREA REYES, MIRENA        ADDRESS ON FILE
Correa Reyes, Samuel        ADDRESS ON FILE
CORREA RIOS, ALLISON        ADDRESS ON FILE
CORREA RIOS, ROBERTO J      ADDRESS ON FILE
CORREA RIVAS, ROSALY        ADDRESS ON FILE
CORREA RIVAS, ROSALY        ADDRESS ON FILE
CORREA RIVERA, ABIMAEL      ADDRESS ON FILE
CORREA RIVERA, ABNIEL       ADDRESS ON FILE
CORREA RIVERA, ALEX         ADDRESS ON FILE
Correa Rivera, Alexie       ADDRESS ON FILE
CORREA RIVERA, ANA I        ADDRESS ON FILE
CORREA RIVERA, ANGEL        ADDRESS ON FILE
CORREA RIVERA, ANGEL L.     ADDRESS ON FILE
CORREA RIVERA, ANGEL L.     ADDRESS ON FILE
CORREA RIVERA, ANGELES C    ADDRESS ON FILE
CORREA RIVERA, ANGELICA     ADDRESS ON FILE
CORREA RIVERA, ARACELIS     ADDRESS ON FILE
CORREA RIVERA, BERTA        ADDRESS ON FILE
CORREA RIVERA, CANDIDA R.   ADDRESS ON FILE
CORREA RIVERA, CARMEN       ADDRESS ON FILE
CORREA RIVERA, CARMEN M     ADDRESS ON FILE
CORREA RIVERA, DANIEL       ADDRESS ON FILE
CORREA RIVERA, DENNIS B.    ADDRESS ON FILE
CORREA RIVERA, DORIS        ADDRESS ON FILE
CORREA RIVERA, EDMANUEL     ADDRESS ON FILE
CORREA RIVERA, ELEUTERIO    ADDRESS ON FILE
CORREA RIVERA, ENID         ADDRESS ON FILE
CORREA RIVERA, ERIC         ADDRESS ON FILE
CORREA RIVERA, ERIC         ADDRESS ON FILE
CORREA RIVERA, ERIC         ADDRESS ON FILE
CORREA RIVERA, EVELYN       ADDRESS ON FILE




                                                                        Page 1809 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1810 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA RIVERA, GEORGINA           ADDRESS ON FILE
CORREA RIVERA, GILBERTO           ADDRESS ON FILE
CORREA RIVERA, GILBERTO           ADDRESS ON FILE
CORREA RIVERA, HAROLD             ADDRESS ON FILE
CORREA RIVERA, HECTOR             ADDRESS ON FILE
CORREA RIVERA, IVAN D             ADDRESS ON FILE
CORREA RIVERA, JANICE             ADDRESS ON FILE
CORREA RIVERA, JOSE               ADDRESS ON FILE
CORREA RIVERA, JOSE               ADDRESS ON FILE
CORREA RIVERA, JOSE A.            ADDRESS ON FILE
Correa Rivera, Jose A.            ADDRESS ON FILE
CORREA RIVERA, JUANA              ADDRESS ON FILE
CORREA RIVERA, JUANA              ADDRESS ON FILE
CORREA RIVERA, LAURA L            ADDRESS ON FILE
CORREA RIVERA, LESLIE             ADDRESS ON FILE
CORREA RIVERA, LUIS               ADDRESS ON FILE
CORREA RIVERA, LUIS               ADDRESS ON FILE
CORREA RIVERA, LUZ N              ADDRESS ON FILE
CORREA RIVERA, MARIA              ADDRESS ON FILE
CORREA RIVERA, MARIA DE LOURDES   ADDRESS ON FILE
CORREA RIVERA, MARIA DEL C.       ADDRESS ON FILE
CORREA RIVERA, MICHAEL            ADDRESS ON FILE
CORREA RIVERA, MICHAEL            ADDRESS ON FILE
CORREA RIVERA, MIGUEL A.          ADDRESS ON FILE
CORREA RIVERA, MILDRED            ADDRESS ON FILE
CORREA RIVERA, MODESTA            ADDRESS ON FILE
CORREA RIVERA, NEIDA              ADDRESS ON FILE
CORREA RIVERA, NELLYBER A         ADDRESS ON FILE
CORREA RIVERA, NELSON F.          ADDRESS ON FILE
CORREA RIVERA, NORMA              ADDRESS ON FILE
CORREA RIVERA, PROVIDENCIA        ADDRESS ON FILE
CORREA RIVERA, RENE O             ADDRESS ON FILE
CORREA RIVERA, ROSA E             ADDRESS ON FILE
CORREA RIVERA, ROXANN             ADDRESS ON FILE
CORREA RIVERA, ROXANN             ADDRESS ON FILE
CORREA RIVERA, WILFREDO           ADDRESS ON FILE
CORREA RIVERA, ZAIRA N            ADDRESS ON FILE
CORREA ROBLES, DADVA DORIS        ADDRESS ON FILE
CORREA ROBLES, LIDUVINA           ADDRESS ON FILE
CORREA ROBLES, NERISSA            ADDRESS ON FILE
Correa Robles, Samuel             ADDRESS ON FILE
Correa Rodriguez, Acisclo         ADDRESS ON FILE
CORREA RODRIGUEZ, ALEX            ADDRESS ON FILE
CORREA RODRIGUEZ, ALEX            ADDRESS ON FILE
CORREA RODRIGUEZ, ALEXIS          ADDRESS ON FILE
CORREA RODRIGUEZ, ANDREA          ADDRESS ON FILE
CORREA RODRIGUEZ, CARLOS          ADDRESS ON FILE
CORREA RODRIGUEZ, CARMEN E        ADDRESS ON FILE
CORREA RODRIGUEZ, CARMEN M        ADDRESS ON FILE
CORREA RODRIGUEZ, CARMEN Z        ADDRESS ON FILE
CORREA RODRIGUEZ, EDGAR           ADDRESS ON FILE
CORREA RODRIGUEZ, EDWARD          ADDRESS ON FILE
CORREA RODRIGUEZ, FLORINDA        ADDRESS ON FILE
Correa Rodriguez, Franklin        ADDRESS ON FILE
CORREA RODRIGUEZ, GILBERTO        ADDRESS ON FILE
CORREA RODRIGUEZ, HERENIO         ADDRESS ON FILE
CORREA RODRIGUEZ, IVONNE          ADDRESS ON FILE
CORREA RODRIGUEZ, JOSE            ADDRESS ON FILE
CORREA RODRIGUEZ, JOSE            ADDRESS ON FILE
CORREA RODRIGUEZ, JOSE            ADDRESS ON FILE




                                                                              Page 1810 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1811 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Correa Rodriguez, Jose E         ADDRESS ON FILE
Correa Rodriguez, Juan           ADDRESS ON FILE
CORREA RODRIGUEZ, JUANITA        ADDRESS ON FILE
CORREA RODRIGUEZ, KELVIN         ADDRESS ON FILE
CORREA RODRIGUEZ, LILLIAM L      ADDRESS ON FILE
CORREA RODRIGUEZ, LOURDES M      ADDRESS ON FILE
CORREA RODRIGUEZ, LUIS           ADDRESS ON FILE
Correa Rodriguez, Luis I         ADDRESS ON FILE
CORREA RODRIGUEZ, MARIA          ADDRESS ON FILE
CORREA RODRIGUEZ, MARIA DEL R.   ADDRESS ON FILE
CORREA RODRIGUEZ, MARIELY        ADDRESS ON FILE
CORREA RODRIGUEZ, MIGUEL         ADDRESS ON FILE
CORREA RODRIGUEZ, MIGUEL         ADDRESS ON FILE
CORREA RODRIGUEZ, MILTON         ADDRESS ON FILE
CORREA RODRIGUEZ, MIRTA E        ADDRESS ON FILE
CORREA RODRIGUEZ, MONICA         ADDRESS ON FILE
Correa Rodriguez, Osvaldo        ADDRESS ON FILE
CORREA RODRIGUEZ, OSVALDO        ADDRESS ON FILE
CORREA RODRIGUEZ, PEDRO          ADDRESS ON FILE
CORREA RODRIGUEZ, RAFAEL         ADDRESS ON FILE
CORREA RODRIGUEZ, REINALDO       ADDRESS ON FILE
CORREA RODRIGUEZ, ROLANDO        ADDRESS ON FILE
CORREA RODRIGUEZ, ROSALIA        ADDRESS ON FILE
Correa Rodriguez, Sonia          ADDRESS ON FILE
CORREA RODRIGUEZ, THAISA         ADDRESS ON FILE
CORREA RODRIGUEZ, VIVIANETTE     ADDRESS ON FILE
CORREA RODRIGUEZ, ZAIDA L        ADDRESS ON FILE
CORREA ROLDAN, OSVALDO           ADDRESS ON FILE
CORREA ROMAN, AGRIPINO           ADDRESS ON FILE
CORREA ROMAN, FRANCISCA          ADDRESS ON FILE
CORREA ROMAN, HARRY              ADDRESS ON FILE
CORREA ROMERO, ANGEL L.          ADDRESS ON FILE
CORREA ROMERO, FELIX             ADDRESS ON FILE
Correa Romero, Ivette L          ADDRESS ON FILE
CORREA ROMERO, JUANITA           ADDRESS ON FILE
CORREA ROMERO, PEDRO             ADDRESS ON FILE
Correa Romero, Wilfredo          ADDRESS ON FILE
CORREA ROSA, CANDIDO             ADDRESS ON FILE
CORREA ROSA, EMANUEL             ADDRESS ON FILE
Correa Rosa, Hector              ADDRESS ON FILE
CORREA ROSA, LUZ E               ADDRESS ON FILE
Correa Rosa, Manuel              ADDRESS ON FILE
CORREA ROSA, RAFAEL              ADDRESS ON FILE
CORREA ROSA, REINA M             ADDRESS ON FILE
CORREA ROSADO, FRANCISCO         ADDRESS ON FILE
CORREA ROSADO, FRANCISCO JOSE    ADDRESS ON FILE
CORREA ROSADO, JORGE             ADDRESS ON FILE
CORREA ROSADO, LUIS              ADDRESS ON FILE
CORREA ROSADO, PABLO             ADDRESS ON FILE
CORREA ROSADO, TOMASA            ADDRESS ON FILE
CORREA ROSADO, VICTOR A.         ADDRESS ON FILE
CORREA ROSADO,SAMUEL             ADDRESS ON FILE
CORREA ROSARIO, ANTONIA          ADDRESS ON FILE
CORREA ROSARIO, CHARLOTTE        ADDRESS ON FILE
CORREA ROSARIO, DIANA            ADDRESS ON FILE
CORREA ROSARIO, LIRIO            ADDRESS ON FILE
CORREA ROSARIO, RAUL             ADDRESS ON FILE
CORREA ROSARIO, RICARDO          ADDRESS ON FILE
CORREA ROSARIO, SIRILO           ADDRESS ON FILE
CORREA ROSARIO, WALESKA          ADDRESS ON FILE




                                                                             Page 1811 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1812 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORREA ROSERO, SANDRA         ADDRESS ON FILE
CORREA RUBERT, NICOLAS        ADDRESS ON FILE
CORREA RUIZ, ANTONIA          ADDRESS ON FILE
CORREA RUIZ, BEATRICE         ADDRESS ON FILE
Correa Ruiz, Carmelo          ADDRESS ON FILE
CORREA RUIZ, EFRAIN           ADDRESS ON FILE
CORREA RUIZ, FRANCHESKA       ADDRESS ON FILE
CORREA RUIZ, ISAMAR           ADDRESS ON FILE
CORREA RUIZ, JAVIER           ADDRESS ON FILE
CORREA RUIZ, JUAN             ADDRESS ON FILE
CORREA RUIZ, MAYRA E.         ADDRESS ON FILE
CORREA RUIZ, SONIA            ADDRESS ON FILE
CORREA RUIZ, WALQUIRIA        ADDRESS ON FILE
Correa Ruiz, Wilfredo         ADDRESS ON FILE
CORREA RUSSE, MAYKANGELIS     ADDRESS ON FILE
CORREA SALCEDO, AMY           ADDRESS ON FILE
CORREA SALGADO, EDGAR         ADDRESS ON FILE
CORREA SALGADO, MARION D.     ADDRESS ON FILE
CORREA SALGADO, YAJAIRA       ADDRESS ON FILE
Correa Sanabria, Joann        ADDRESS ON FILE
CORREA SANCHEZ, ANTONIA       ADDRESS ON FILE
CORREA SANCHEZ, CONCEPCION    ADDRESS ON FILE
CORREA SANCHEZ, ERIKA         ADDRESS ON FILE
CORREA SANCHEZ, JOSE          ADDRESS ON FILE
CORREA SANCHEZ, MARIA DE L.   ADDRESS ON FILE
CORREA SANCHEZ, MILDRED       ADDRESS ON FILE
CORREA SANJURJO, WANDA A      ADDRESS ON FILE
CORREA SANTANA, CARLOS        ADDRESS ON FILE
Correa Santana, Carlos A      ADDRESS ON FILE
CORREA SANTANA, CARMEN S.     ADDRESS ON FILE
CORREA SANTANA, NYDIA         ADDRESS ON FILE
CORREA SANTI, BRENDA          ADDRESS ON FILE
CORREA SANTIAGO, ALICIA       ADDRESS ON FILE
CORREA SANTIAGO, ANA M        ADDRESS ON FILE
CORREA SANTIAGO, ANGEL J      ADDRESS ON FILE
Correa Santiago, Angel L      ADDRESS ON FILE
CORREA SANTIAGO, BLANCA E     ADDRESS ON FILE
Correa Santiago, Calixto      ADDRESS ON FILE
CORREA SANTIAGO, FERMIN       ADDRESS ON FILE
CORREA SANTIAGO, FERNANDO     ADDRESS ON FILE
CORREA SANTIAGO, GEYDEE       ADDRESS ON FILE
CORREA SANTIAGO, HECTOR       ADDRESS ON FILE
Correa Santiago, Ivan J       ADDRESS ON FILE
CORREA SANTIAGO, JESSICA      ADDRESS ON FILE
CORREA SANTIAGO, JOSE A.      ADDRESS ON FILE
CORREA SANTIAGO, JOSHUA       ADDRESS ON FILE
CORREA SANTIAGO, JUAN A       ADDRESS ON FILE
CORREA SANTIAGO, JUDITH       ADDRESS ON FILE
CORREA SANTIAGO, LUIS         ADDRESS ON FILE
CORREA SANTIAGO, LUIS         ADDRESS ON FILE
CORREA SANTIAGO, LUZ M        ADDRESS ON FILE
CORREA SANTIAGO, LUZ P        ADDRESS ON FILE
CORREA SANTIAGO, MARITZA      ADDRESS ON FILE
CORREA SANTIAGO, MARY A       ADDRESS ON FILE
Correa Santiago, Miguel A     ADDRESS ON FILE
CORREA SANTIAGO, RAFAEL       ADDRESS ON FILE
CORREA SANTIAGO, RAUL         ADDRESS ON FILE
CORREA SANTIAGO, VANESSA      ADDRESS ON FILE
CORREA SANTIAGO, VICTORIA     ADDRESS ON FILE
CORREA SANTIAGO, WALDY        ADDRESS ON FILE




                                                                          Page 1812 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1813 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                  Address2                                   Address3   Address4   City          State   PostalCode   Country
CORREA SANTOS, HERBERT         ADDRESS ON FILE
CORREA SANTOS, HILDA M         ADDRESS ON FILE
CORREA SANTOS, HILDA M.        ADDRESS ON FILE
CORREA SANTOS, LEEMEN          ADDRESS ON FILE
CORREA SANTOS, ROSA            ADDRESS ON FILE
CORREA SEPULVEDA, GLADYS       ADDRESS ON FILE
Correa Sepulveda, Gladys A     ADDRESS ON FILE
CORREA SERRA, AIDA M           ADDRESS ON FILE
CORREA SERRANO, DARLENE A.     ADDRESS ON FILE
CORREA SERRANO, EILEEN J       ADDRESS ON FILE
CORREA SERRANO, EMELY          ADDRESS ON FILE
CORREA SERRANO, ISAEL          ADDRESS ON FILE
Correa Serrano, Luis A         ADDRESS ON FILE
CORREA SERRANO, PEDRO J.       ADDRESS ON FILE
CORREA SIERRA, CRISTINA LEE    ADDRESS ON FILE
CORREA SIERRA, CRISTINA LEE    ADDRESS ON FILE
CORREA SIERRA, CRISTINA LEE    ADDRESS ON FILE
CORREA SIERRA, EDWARD D        ADDRESS ON FILE
Correa Sierra, Elena I         ADDRESS ON FILE
CORREA SIERRA, ELIA            ADDRESS ON FILE
CORREA SIERRA, JESUS EDUARDO   ADDRESS ON FILE
CORREA SILVAGNOLI, GUSTAVO     ADDRESS ON FILE
CORREA SOSA, AMNERIS           ADDRESS ON FILE
Correa Sosa, Luis D            ADDRESS ON FILE
CORREA SOTO, EDITH             ADDRESS ON FILE
CORREA SOTO, EDWIN             ADDRESS ON FILE
CORREA SOTO, ELI E.            ADDRESS ON FILE
CORREA SOTO, ELIZABETH         ADDRESS ON FILE
CORREA SOTO, MILCA N           ADDRESS ON FILE
CORREA SOTO, NIMIA E           ADDRESS ON FILE
CORREA SOTO, OLGA L            ADDRESS ON FILE
CORREA SOTO, RAUL              ADDRESS ON FILE
CORREA SOTO, WENDYVETTE        ADDRESS ON FILE
CORREA SOTO, ZORIMAR           ADDRESS ON FILE
CORREA SOTOMAYOR, HUGO         ADDRESS ON FILE
CORREA SOTOMAYOR, ROSA         ADDRESS ON FILE
CORREA SUAREZ, CARMEN H        ADDRESS ON FILE
Correa Suarez, Fernando L      ADDRESS ON FILE
CORREA SUAREZ, FRANCHESKA      ADDRESS ON FILE
CORREA SUAREZ, JOEL            ADDRESS ON FILE
CORREA TIRE DISTRIBUTOR INC.   PO BOX 850                                                                                 VEGA ALTA     PR      00692
CORREA TIRE DISTRIBUTORS       PO BOX 850                                                                                 VEGA ALTA     PR      00692
CORREA TIRE DISTRIBUTORS INC   AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN      PR      00902‐4140
CORREA TIRE DISTRIBUTORS INC   PO BOX 850                                                                                 VEGA ALTA     PR      00692
CORREA TORRE, SILVIA M.        ADDRESS ON FILE
CORREA TORRES, ALEJANDRO A     ADDRESS ON FILE
CORREA TORRES, CARLOS          ADDRESS ON FILE
CORREA TORRES, CARMEN D        ADDRESS ON FILE
CORREA TORRES, CHRISTIAN J     ADDRESS ON FILE
CORREA TORRES, DANNY           ADDRESS ON FILE
CORREA TORRES, FELICITA        ADDRESS ON FILE
CORREA TORRES, GLADYS          ADDRESS ON FILE
CORREA TORRES, GLADYS D        ADDRESS ON FILE
CORREA TORRES, GUSTAVO         ADDRESS ON FILE
CORREA TORRES, HECTOR          ADDRESS ON FILE
Correa Torres, Joel            ADDRESS ON FILE
CORREA TORRES, JOSE A.         ADDRESS ON FILE
CORREA TORRES, JOSE A.         ADDRESS ON FILE
CORREA TORRES, LINETTE M       ADDRESS ON FILE
CORREA TORRES, LUIS A.         ADDRESS ON FILE




                                                                                     Page 1813 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1814 of 3500
                                                                               17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                   Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
CORREA TORRES, LUIS A.          ADDRESS ON FILE
CORREA TORRES, MARGARITA        ADDRESS ON FILE
CORREA TORRES, MELISSA          ADDRESS ON FILE
CORREA TORRES, RAYMOND          ADDRESS ON FILE
CORREA TORRES, RUMAEL           ADDRESS ON FILE
CORREA TORRES, YANIRA           ADDRESS ON FILE
CORREA TORRES,MIGDALIA          ADDRESS ON FILE
CORREA TOYENS, DORIS E          ADDRESS ON FILE
CORREA TRANSPORT                URB LOS MAESTROS          806 CALLE JOSE B ACEVEDO                                        SAN JUAN     PR      00923‐2423
CORREA TRINIDAD, LIVIA E        ADDRESS ON FILE
CORREA VALDEZ, GERARDO          ADDRESS ON FILE
CORREA VALENTIN, LUIS           ADDRESS ON FILE
CORREA VALES, GIOVANNI          ADDRESS ON FILE
CORREA VALES, JUAN J.           ADDRESS ON FILE
CORREA VALES, YAEL              ADDRESS ON FILE
CORREA VALLE, BERENICE          ADDRESS ON FILE
CORREA VALLE, JUAN              ADDRESS ON FILE
CORREA VALLE, JUAN G            ADDRESS ON FILE
CORREA VALLE, PEDRO             ADDRESS ON FILE
CORREA VARELA, IVAN             ADDRESS ON FILE
CORREA VAZQUEZ, EMMANUEL        ADDRESS ON FILE
CORREA VAZQUEZ, HECBEL          ADDRESS ON FILE
CORREA VAZQUEZ, LIBIA           ADDRESS ON FILE
CORREA VAZQUEZ, MARTA Y         ADDRESS ON FILE
CORREA VAZQUEZ, MERCEDES        ADDRESS ON FILE
CORREA VEGA, EDUARDO            ADDRESS ON FILE
CORREA VEGA, JAVIER             ADDRESS ON FILE
CORREA VELAZQUEZ, HECTOR LUIS   ADDRESS ON FILE
CORREA VELAZQUEZ, JOSE L.       ADDRESS ON FILE
CORREA VELAZQUEZ, MELISSA       ADDRESS ON FILE
CORREA VELAZQUEZ, OBDULIO       ADDRESS ON FILE
CORREA VELAZQUEZ, SARELL M      ADDRESS ON FILE
CORREA VELAZQUEZ, SHIRLEY       ADDRESS ON FILE
CORREA VELAZQUEZ, YARELIS       ADDRESS ON FILE
CORREA VELEZ, ARACELIS          ADDRESS ON FILE
CORREA VELEZ, IRMA J            ADDRESS ON FILE
CORREA VELEZ, JORGE L.          ADDRESS ON FILE
CORREA VELEZ, JOSE              ADDRESS ON FILE
Correa Velez, Juan              ADDRESS ON FILE
CORREA VELEZ, LORNA M           ADDRESS ON FILE
CORREA VELEZ,ANGEL              ADDRESS ON FILE
CORREA VELOZ, PABLO             ADDRESS ON FILE
CORREA VERA, ERIK               ADDRESS ON FILE
CORREA VERA, JOSE R             ADDRESS ON FILE
CORREA VIERA, BRENDA L.         ADDRESS ON FILE
CORREA VILARINO, NELLY J.       ADDRESS ON FILE
CORREA VILLAFANE, MADELEINE     ADDRESS ON FILE
CORREA VILLAFANEZ, NYLLIAN H    ADDRESS ON FILE
CORREA VILLANUEVA, BENITO       ADDRESS ON FILE
CORREA VILLARIN, FELIX          ADDRESS ON FILE
CORREA VILLARIN, MELISA         ADDRESS ON FILE
CORREA VILLEGAS, CARMEN M       ADDRESS ON FILE
CORREA VILLOCH, GLORIMAR        ADDRESS ON FILE
CORREA VILLOCH, PEDRO           ADDRESS ON FILE
CORREA ZAMBRANA, HECTOR         ADDRESS ON FILE
Correa Zayas, David             ADDRESS ON FILE
CORREA ZAYAS, DAVID             ADDRESS ON FILE
CORREA ZAYAS, HELGA E           ADDRESS ON FILE
CORREA ZAYAS, NOEL              ADDRESS ON FILE
CORREA ZENO, RIGO J.            ADDRESS ON FILE




                                                                                     Page 1814 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1815 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                       Address1                                    Address2                                   Address3   Address4   City         State   PostalCode   Country
CORREA, ENRIQUE                     ADDRESS ON FILE
CORREA, ERIC J.                     ADDRESS ON FILE
CORREA, FRANCISCO                   ADDRESS ON FILE
CORREA, GERARDO                     ADDRESS ON FILE
CORREA, GLENDA                      ADDRESS ON FILE
CORREA, GUMERSINDA                  ADDRESS ON FILE
CORREA, HECBEL                      ADDRESS ON FILE
CORREA, JOES J.                     ADDRESS ON FILE
Correa, Julio C.                    ADDRESS ON FILE
CORREA, MARIA E                     ADDRESS ON FILE
CORREA, MIGUEL A.                   ADDRESS ON FILE
CORREA, RAMON A.                    ADDRESS ON FILE
CORREA, WANDA                       ADDRESS ON FILE
CORREAS FONT, JESUS R               ADDRESS ON FILE
CORRECTIONAL HEALTH SERVICES        18 CALLE 1 SUITE 400                        METRO OFFICE PARK                                                GUAYNABO     PR      00968
CORRECTIONAL HEALTH SERVICES CO.    CALLE 1 LOTE 18 SUITE 400, METRO OFICE PARK                                                                  GUAYNABO     PR      00968‐1748
CORRECTIONAL HEALTH SERVICES CORP   METRO OFFICE PARK                           CALLE 1 LOTE 18 SUITE 400                                        GUAYNABO     PR      00968
CORREDOIRA CRUZ, TATIANA            ADDRESS ON FILE
CORREDOIRA RIVERO, JACQUELINE       ADDRESS ON FILE
CORREDOR DEL VALLE, JOSEPH R.       ADDRESS ON FILE
CORREDOR DEL VALLE, TIMOTHY         ADDRESS ON FILE
CORREDOR GARCIA, NERIEDA            ADDRESS ON FILE
CORREDOR ROMERO, JOSE L             ADDRESS ON FILE
CORREDOR ROMERO, PABLO              ADDRESS ON FILE
CORREDORES PROYECTISTAS CORP        PO BOX 456                                                                                                   CATANO       PR      00963
CORREDORES Y CONTRATISTAS CORP      P O BOX 456                                                                                                  CATANO       PR      00063
CORRENO ALEMAN, NORMAN              ADDRESS ON FILE
Correra De Jesus, Maria D           ADDRESS ON FILE
CORRES SOTO, MORAYMA                ADDRESS ON FILE
CORRES UBINAS, NORMA                ADDRESS ON FILE
CORRES UBINAS, VILMA                ADDRESS ON FILE
Corretjer Arce, Nelson              ADDRESS ON FILE
CORRETJER CARBIA, LISSETTE          ADDRESS ON FILE
Corretjer Cruz, Henoch A            ADDRESS ON FILE
CORRETJER DOMENA, BLANCA            ADDRESS ON FILE
CORRETJER DOMENA, CARLOS A          ADDRESS ON FILE
CORRETJER FARINACCI, OTTO           ADDRESS ON FILE
CORRETJER FARINACCI, SONIA          ADDRESS ON FILE
Corretjer Figueroa, Angel R         ADDRESS ON FILE
CORRETJER GOMEZ, JOSE               ADDRESS ON FILE
CORRETJER GOMEZ, JOSE               ADDRESS ON FILE
CORRETJER LLORENS, ANNETTE          ADDRESS ON FILE
CORRETJER MALDONADO, ARTURO         ADDRESS ON FILE
CORRETJER OCASIO, RAMON             ADDRESS ON FILE
CORRETJER PORRATA, ISABEL           ADDRESS ON FILE
CORRETJER REYES, HECTOR             ADDRESS ON FILE
CORRETJER REYES, VANESSA            ADDRESS ON FILE
CORRETJER RIVERA, ANGEL L           ADDRESS ON FILE
CORRETJER RIVERA, JOSE E            ADDRESS ON FILE
CORRETJER ROBLES, SHEYRALIE         ADDRESS ON FILE
CORRETJER RODRIGUFZ, SONNIA I       ADDRESS ON FILE
CORRETJER RUIZ, ADA N               ADDRESS ON FILE
CORRETJER RUIZ, AURORA S.           ADDRESS ON FILE
CORRETJER RUIZ, NILSA F             ADDRESS ON FILE
CORRETJER VELAZQUEZ, RAFAEL         ADDRESS ON FILE
CORRETJERLLORENS, WALTER            ADDRESS ON FILE
CORREZ ALCALA, CATHERINE            ADDRESS ON FILE
CORRIE ANN HANSON                   ADDRESS ON FILE
CORRUJO RIVERA, SONIA               ADDRESS ON FILE
CORSAS SAMPAYO, CARLOS              ADDRESS ON FILE




                                                                                                            Page 1815 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1816 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                        Address1                         Address2                                         Address3                  Address4   City         State   PostalCode   Country
CORSI BRACETTI, JULIO                ADDRESS ON FILE
CORSI BRACETTI, RAFAEL               ADDRESS ON FILE
CORSI CABRERA, ADA M                 ADDRESS ON FILE
CORSI CABRERA, MARIA A               ADDRESS ON FILE
Corsi Lopez, Julio A                 ADDRESS ON FILE
CORSI RAMIREZ, BRENDA M              ADDRESS ON FILE
CORSIDIAN CARIBBEAN TECHNOLOGY INC   1473 WILSON STREET               SUITE 501 LITTLE TOWER                                                                SAN JUAN     PR      00907
CORSINO CARRO, ISABEL                ADDRESS ON FILE
CORSINO DE JESUS, MARIA E.           ADDRESS ON FILE
CORSINO DIAZ, CARLOS R.              ADDRESS ON FILE
CORSINO DIAZ, CARLOS R.              ADDRESS ON FILE
CORSINO FELIX, ANGEL                 ADDRESS ON FILE
CORSINO HEREDIA, MARISOL             ADDRESS ON FILE
CORSINO MARQUEZ, YELITZA             ADDRESS ON FILE
CORSINO MARTINEZ, JOSE E             ADDRESS ON FILE
CORSINO OSORIO, YVONNE               ADDRESS ON FILE
CORSINO POMALES, DANIEL P.           ADDRESS ON FILE
CORSINO POMALES, DANIEL P.           ADDRESS ON FILE
CORSINO ROSA, BRENDA                 ADDRESS ON FILE
CORSINO ROTGER, INGRID A             ADDRESS ON FILE
CORSINO SANCHEZ, FRANCISCO           ADDRESS ON FILE
CORSINO SOLERO, AURELIO              ADDRESS ON FILE
CORSINO VEGA, MIGUEL                 ADDRESS ON FILE
CORTADA CAPPA, JOSE                  ADDRESS ON FILE
CORTADA CAPPA, XAVIER A              ADDRESS ON FILE
CORTADA CAPPA, YOLYVETH              ADDRESS ON FILE
Corte Dominicci, Herminio            ADDRESS ON FILE
CORTELCO PUERTO RICO INC             1703 SAWYER ROAD                                                                                                       CORINTH      MS      38834
CORTELCO SYSTEMS PUERTO RICO         P.O. BOX 363665                                                                                                        SAN JUAN     PR      00913‐0000
CORTELCO SYSTEMS PUERTO RICO INC     P O BOX 5249                                                                                                           CAGUAS       PR      00726‐5249
CORTELCO SYSTEMS PUERTO RICO, INC    PO BOX 7076                                                                                                            CAGUAS       PR      00726‐7076
                                                                                                                       Carr. 156 Km 58.2 Valle
CORTELCO SYSTEMS PUERTO RICO, INC.   Parque Industrial Caguas Oeste   Edificio M‐1384‐8‐86 Sección 04                  Tolima                               CAGUAS       PR      00727
CORTES SANCHEZ, BRENDA L             ADDRESS ON FILE
CORTES ABRANTES, ROSALYN             ADDRESS ON FILE
CORTES ABREU, IVAN                   ADDRESS ON FILE
CORTES ACEVEDO, ALFREDO              ADDRESS ON FILE
CORTES ACEVEDO, ANA L                ADDRESS ON FILE
CORTES ACEVEDO, ANGEL                ADDRESS ON FILE
CORTES ACEVEDO, ANIDEL               ADDRESS ON FILE
Cortes Acevedo, Emanuel              ADDRESS ON FILE
CORTES ACEVEDO, IRIS N               ADDRESS ON FILE
CORTES ACEVEDO, JOSUE                ADDRESS ON FILE
Cortes Acevedo, Juan                 ADDRESS ON FILE
CORTES ACEVEDO, MARGARITA            ADDRESS ON FILE
CORTES ACEVEDO, MIGUEL               ADDRESS ON FILE
CORTES ACEVEDO, NEREIDA              ADDRESS ON FILE
CORTES ACEVEDO, OLGA                 ADDRESS ON FILE
CORTES ACEVEDO, OLGA I               ADDRESS ON FILE
CORTES ACEVEDO, PEDRO J              ADDRESS ON FILE
CORTES ACEVEDO, PRIMITIVO            ADDRESS ON FILE
CORTES ADAMES, CARLOS                ADDRESS ON FILE
CORTES ADAMES, CARLOS A              ADDRESS ON FILE
CORTES ADAMES, CARLOS A.             ADDRESS ON FILE
CORTES AGOSTINI, CYNTHIA             ADDRESS ON FILE
CORTES AGOSTINI, JESSICA             ADDRESS ON FILE
CORTES AGOSTINI, RAMON A.            ADDRESS ON FILE
CORTES AGOSTO, ANGEL                 ADDRESS ON FILE
CORTES AGUAYO, EDGAR                 ADDRESS ON FILE
CORTES AGUAYO, EDGAR                 ADDRESS ON FILE




                                                                                                        Page 1816 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 1817 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES AGUILAR, HECTOR                ADDRESS ON FILE
CORTES ALAGO, REBECCA                 ADDRESS ON FILE
CORTES ALBARRAN, VIVIAN I.            ADDRESS ON FILE
CORTES ALBERTORIO, BIANCA             ADDRESS ON FILE
CORTES ALDAHONDO, GLORIA I            ADDRESS ON FILE
CORTES ALDAHONDO, VANESSA DEL PILAR   ADDRESS ON FILE
CORTES ALEJANDRO, LUZ E.              ADDRESS ON FILE
CORTES ALICEA, ENEIDA E               ADDRESS ON FILE
CORTES ALTORY, SONIA                  ADDRESS ON FILE
CORTES ALVARADO, JOSUE                ADDRESS ON FILE
CORTES ALVARADO, YARITZA              ADDRESS ON FILE
CORTES ALVAREZ, ADA                   ADDRESS ON FILE
CORTES ALVAREZ, BENJAMIN              ADDRESS ON FILE
Cortes Alvarez, Catherine             ADDRESS ON FILE
CORTES ALVAREZ, JULIAN                ADDRESS ON FILE
CORTES ALVAREZ, LUIS                  ADDRESS ON FILE
CORTES ALVAREZ, LUIS                  ADDRESS ON FILE
CORTES ALVAREZ, RICARDO J             ADDRESS ON FILE
CORTES ALVELO, CASSANDRA              ADDRESS ON FILE
CORTES AMARAL, JIMMY                  ADDRESS ON FILE
CORTES AMARAL, JIMMY                  ADDRESS ON FILE
CORTES ANDINO, PEDRO                  ADDRESS ON FILE
Cortes Aponte, Angel M.               ADDRESS ON FILE
CORTES APONTE, LYSED                  ADDRESS ON FILE
CORTES APONTE, SERGIO                 ADDRESS ON FILE
CORTES APONTE, ZOLIMARIE              ADDRESS ON FILE
CORTES AQUINO, ALEXIS                 ADDRESS ON FILE
CORTES AQUINO, JAVIER                 ADDRESS ON FILE
Cortes Aquino, Joel                   ADDRESS ON FILE
CORTES ARCE, ELSA                     ADDRESS ON FILE
CORTES ARCE, ELSA                     ADDRESS ON FILE
CORTES ARCELAY, ANNETTE               ADDRESS ON FILE
CORTES AREIZAGA, GLORYMAR             ADDRESS ON FILE
CORTES AROCHO, MARTA I                ADDRESS ON FILE
CORTES ARROYO, CARMEN                 ADDRESS ON FILE
CORTES ARROYO, DORIS D.               ADDRESS ON FILE
CORTES ARROYO, FLORIDALIA             ADDRESS ON FILE
CORTES ARROYO, LISSETTE               ADDRESS ON FILE
CORTES ARROYO, MARGARET               ADDRESS ON FILE
CORTES ARROYO, ORLANDO                ADDRESS ON FILE
CORTES ARROYO, SONIA N                ADDRESS ON FILE
CORTES ARTEAGA, YADIRA                ADDRESS ON FILE
CORTES ARTES, NILIA                   ADDRESS ON FILE
CORTES ARVELO, MAXIMINA               ADDRESS ON FILE
CORTES ARZOLA, YARELIS                ADDRESS ON FILE
CORTES AVEILLEZ, ROSA E               ADDRESS ON FILE
CORTES AVILES, CARMEN E               ADDRESS ON FILE
CORTES AVILES, MARIA DEL              ADDRESS ON FILE
CORTES AYALA, ARTURO                  ADDRESS ON FILE
CORTES BABILONIA, ANGEL               ADDRESS ON FILE
CORTES BABILONIA, LUIS A              ADDRESS ON FILE
CORTES BABILONIA, LYNEISHA            ADDRESS ON FILE
CORTES BABILONIA, MARIBEL             ADDRESS ON FILE
Cortes Babilonia, Marilyn             ADDRESS ON FILE
CORTES BABILONIA, SHARON J            ADDRESS ON FILE
CORTES BADILLO, AIDA I                ADDRESS ON FILE
CORTES BADILLO, ARIEL                 ADDRESS ON FILE
CORTES BADILLO, CARMEN A              ADDRESS ON FILE
CORTES BADILLO, GLADYS                ADDRESS ON FILE
CORTES BADILLO, IVAN                  ADDRESS ON FILE




                                                                                  Page 1817 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1818 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES BADILLO, NANCY           ADDRESS ON FILE
CORTES BADILLO, VICTOR          ADDRESS ON FILE
CORTES BAEZ, CARLINA            ADDRESS ON FILE
CORTES BAEZ, KARINA             ADDRESS ON FILE
CORTES BAEZ, VICTOR             ADDRESS ON FILE
CORTES BAILEY PINEIRO, IVETTE   ADDRESS ON FILE
CORTES BARRETO, MARILYN         ADDRESS ON FILE
CORTES BARRETO, NELSON          ADDRESS ON FILE
CORTES BARTOLOMEI, RAFAEL A.    ADDRESS ON FILE
CORTES BARTOLOMEI,RAFAEL        ADDRESS ON FILE
CORTES BATISTA, ADA R           ADDRESS ON FILE
CORTES BELLO, NARCISO           ADDRESS ON FILE
CORTES BELTRAN, MAYRA E         ADDRESS ON FILE
CORTES BENITEZ, ALEXIS          ADDRESS ON FILE
CORTES BERBERENA, DAVID         ADDRESS ON FILE
CORTES BERBERENA, DAVID         ADDRESS ON FILE
CORTES BERNACET, AXEL           ADDRESS ON FILE
Cortes Bonilla, Alfredo         ADDRESS ON FILE
CORTES BONILLA, JONATHAN        ADDRESS ON FILE
CORTES BONILLA, RAFAEL          ADDRESS ON FILE
CORTES BONNIN, EDUARDO          ADDRESS ON FILE
CORTES BOSQUES, RAMONA          ADDRESS ON FILE
Cortes Brignoni, Carlos J       ADDRESS ON FILE
CORTES BROCCO, WALDO            ADDRESS ON FILE
CORTES BURGOS, ALFREDO          ADDRESS ON FILE
CORTES BURGOS, CARMEN           ADDRESS ON FILE
CORTES BURGOS, GLENDA L         ADDRESS ON FILE
CORTES BURGOS, ILEANA           ADDRESS ON FILE
CORTES BURGOS, IVAN J           ADDRESS ON FILE
CORTES BURGOS, JESUS            ADDRESS ON FILE
CORTES BURGOS, LAURA DEL SO     ADDRESS ON FILE
CORTES BURGOS, RAYZEL           ADDRESS ON FILE
CORTES CAAMANO, JOSE            ADDRESS ON FILE
CORTES CABAN, GLORIMAR          ADDRESS ON FILE
Cortes Caban, Victor G.         ADDRESS ON FILE
CORTES CABASQUINI, JUAN         ADDRESS ON FILE
CORTES CACERES, VILMARIE        ADDRESS ON FILE
CORTES CAMACHO, JUAN H          ADDRESS ON FILE
CORTES CAMERON, ANGEL           ADDRESS ON FILE
Cortes Cameron, Angel G.        ADDRESS ON FILE
Cortes Cameron, Jaime           ADDRESS ON FILE
CORTES CAMERON, JAIME           ADDRESS ON FILE
CORTES CAMERON, LESMAS          ADDRESS ON FILE
Cortes Cameron, Neysa L         ADDRESS ON FILE
CORTES CANDELARIA, MAYRA I      ADDRESS ON FILE
CORTES CARABALLO, LUIS A        ADDRESS ON FILE
CORTES CARABALLO, LUZ E         ADDRESS ON FILE
CORTES CARAMBOT, NYDIA          ADDRESS ON FILE
CORTES CARDONA, BETZAIDA        ADDRESS ON FILE
CORTES CARDONA, HECTOR          ADDRESS ON FILE
CORTES CARDONA, MARANGELYS      ADDRESS ON FILE
CORTES CARDONA, OLIVA           ADDRESS ON FILE
CORTES CARDONA, YAMALIS         ADDRESS ON FILE
CORTES CARERO, ALBERTO          ADDRESS ON FILE
CORTES CARRASCO, NORMA          ADDRESS ON FILE
CORTES CARRASCO, NORMA L        ADDRESS ON FILE
CORTES CARRASQUELLO, GER        ADDRESS ON FILE
CORTES CARRASQUILLO, YARELIS    ADDRESS ON FILE
CORTES CARRERO, EMERITO         ADDRESS ON FILE
CORTES CARRERO, NOEL O.         ADDRESS ON FILE




                                                                            Page 1818 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1819 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES CARRION, ANA            ADDRESS ON FILE
Cortes Carrion, Carlos I       ADDRESS ON FILE
CORTES CARRION, MIGUEL         ADDRESS ON FILE
CORTES CARTAGENA, GLENDALYS    ADDRESS ON FILE
CORTES CARTAGENA, JENISSE      ADDRESS ON FILE
CORTES CARTAGENA, SHARON       ADDRESS ON FILE
CORTES CASIANO, ALEXANDRO      ADDRESS ON FILE
CORTES CASIANO, FRANCICO       ADDRESS ON FILE
CORTES CASIANO, ILEANA         ADDRESS ON FILE
CORTES CASILLAS, MARINA        ADDRESS ON FILE
CORTES CASTELLANO, FRANCISCO   ADDRESS ON FILE
Cortes Castellano, Jose E      ADDRESS ON FILE
CORTES CASTILLO, RAYMOND J.    ADDRESS ON FILE
Cortes Castro, Daniel          ADDRESS ON FILE
CORTES CASTRO, EVELYN          ADDRESS ON FILE
CORTES CASTRO, EVELYN          ADDRESS ON FILE
CORTES CASTRO, FERNANDO        ADDRESS ON FILE
CORTES CASTRO, JOSE            ADDRESS ON FILE
CORTES CASTRO, MIGUEL          ADDRESS ON FILE
CORTES CASTRO, MILTON J.       ADDRESS ON FILE
CORTES CENTENO, JORGE          ADDRESS ON FILE
CORTES CHAMORRO, RUTH          ADDRESS ON FILE
CORTES CHAPARRO, STEVEN        ADDRESS ON FILE
CORTES CINTRON, ANGEL          ADDRESS ON FILE
Cortes Cintron, Angel          ADDRESS ON FILE
CORTES CINTRON, ERIC J.        ADDRESS ON FILE
CORTES CINTRON, EVA            ADDRESS ON FILE
Cortes Classen, Israel         ADDRESS ON FILE
CORTES CLAUDIO, MAYRA          ADDRESS ON FILE
CORTES COLLAZO, CARMEN L       ADDRESS ON FILE
CORTES COLLAZO, EDIXA          ADDRESS ON FILE
CORTES COLLAZO, EDNA L         ADDRESS ON FILE
CORTES COLLAZO, GLORIA         ADDRESS ON FILE
CORTES COLLAZO, LUIS           ADDRESS ON FILE
CORTES COLLAZO, NESTOR         ADDRESS ON FILE
CORTES COLON, ADAMIDES         ADDRESS ON FILE
CORTES COLON, AIXA M           ADDRESS ON FILE
CORTES COLON, AMARILIS         ADDRESS ON FILE
CORTES COLON, ANGEL            ADDRESS ON FILE
CORTES COLON, ANGEL N.         ADDRESS ON FILE
CORTES COLON, ARABY            ADDRESS ON FILE
CORTES COLON, DOEL             ADDRESS ON FILE
CORTES COLON, DORIANN          ADDRESS ON FILE
Cortes Colon, Franchezka       ADDRESS ON FILE
CORTES COLON, FRANCISCO        ADDRESS ON FILE
CORTES COLON, IRIS MARIE       ADDRESS ON FILE
CORTES COLON, IVETTE           ADDRESS ON FILE
CORTES COLON, JANET            ADDRESS ON FILE
CORTES COLON, JOSE             ADDRESS ON FILE
CORTES COLON, JOSE             ADDRESS ON FILE
CORTES COLON, LILLIAN          ADDRESS ON FILE
CORTES COLON, MARYANN          ADDRESS ON FILE
CORTES COLON, MELQUIADES       ADDRESS ON FILE
CORTES COLON, PILAR            ADDRESS ON FILE
CORTES COLON, REY E            ADDRESS ON FILE
Cortes Colon, William          ADDRESS ON FILE
CORTES COLON, WILLIAM A        ADDRESS ON FILE
CORTES CONCEPCION, ANALYZ      ADDRESS ON FILE
CORTES CONCEPCION, DAVID       ADDRESS ON FILE
CORTES CORCHADO, JUAN CARLOS   ADDRESS ON FILE




                                                                           Page 1819 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1820 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES CORDERO, CLAUDIO     ADDRESS ON FILE
CORTES CORDERO, ELIZABETH   ADDRESS ON FILE
CORTES CORDERO, FELIX       ADDRESS ON FILE
CORTES CORDERO, GEORGINA    ADDRESS ON FILE
CORTES CORDERO, HECTOR      ADDRESS ON FILE
CORTES CORDERO, IVETTE      ADDRESS ON FILE
CORTES CORDERO, JULIO A     ADDRESS ON FILE
CORTES CORDERO, LUZ         ADDRESS ON FILE
CORTES CORDERO, LUZ N       ADDRESS ON FILE
CORTES CORDERO, MARLENE     ADDRESS ON FILE
CORTES CORDERO, MARLENE     ADDRESS ON FILE
CORTES CORDERO, NOELIA      ADDRESS ON FILE
CORTES CORDERO, PEDRO       ADDRESS ON FILE
CORTES CORDERO, VIVIANA     ADDRESS ON FILE
CORTES CORDERO, VIVIANA V   ADDRESS ON FILE
Cortes Coriano, Hector L.   ADDRESS ON FILE
CORTES CORREA, EDUARDO      ADDRESS ON FILE
CORTES CORREA, ISAMER       ADDRESS ON FILE
CORTES CORREA, JOSE         ADDRESS ON FILE
Cortes Correa, Manuel       ADDRESS ON FILE
CORTES CORREA, MIGUEL       ADDRESS ON FILE
CORTES CORREA, SARA H.      ADDRESS ON FILE
Cortes Correa, Tania E      ADDRESS ON FILE
CORTES CORTES, ANGEL        ADDRESS ON FILE
CORTES CORTES, ANNETTE      ADDRESS ON FILE
CORTES CORTES, DAIANA       ADDRESS ON FILE
CORTES CORTES, DAIANE       ADDRESS ON FILE
CORTES CORTES, ELISA        ADDRESS ON FILE
CORTES CORTES, FEDERICO     ADDRESS ON FILE
CORTES CORTES, FLORES       ADDRESS ON FILE
CORTES CORTES, ISRAEL       ADDRESS ON FILE
CORTES CORTES, ISRAEL       ADDRESS ON FILE
CORTES CORTES, JESSICA      ADDRESS ON FILE
CORTES CORTES, JOSE E.      ADDRESS ON FILE
CORTES CORTES, LESLIE       ADDRESS ON FILE
CORTES CORTES, MARIBEL      ADDRESS ON FILE
CORTES CORTES, MARIE L      ADDRESS ON FILE
CORTES CORTES, NELIDA       ADDRESS ON FILE
CORTES CORTES, YANIRA T     ADDRESS ON FILE
CORTES CORUJO, KRISTINA     ADDRESS ON FILE
CORTES COSS, EVA            ADDRESS ON FILE
CORTES COTTO, LUIS O.       ADDRESS ON FILE
CORTES CRESPO, AIDA L       ADDRESS ON FILE
CORTES CRESPO, ANA L        ADDRESS ON FILE
CORTES CRESPO, CARMEN L     ADDRESS ON FILE
CORTES CRESPO, JOSE A.      ADDRESS ON FILE
CORTES CRUZ, CARMEN M       ADDRESS ON FILE
CORTES CRUZ, DANIEL         ADDRESS ON FILE
CORTES CRUZ, DIANA          ADDRESS ON FILE
CORTES CRUZ, IVELISSE       ADDRESS ON FILE
CORTES CRUZ, JAIME          ADDRESS ON FILE
CORTES CRUZ, JENNIFER       ADDRESS ON FILE
Cortes Cruz, Juan L         ADDRESS ON FILE
CORTES CRUZ, JULIA M        ADDRESS ON FILE
CORTES CRUZ, LYDIA          ADDRESS ON FILE
CORTES CRUZ, MANUEL         ADDRESS ON FILE
CORTES CRUZ, MARIA A        ADDRESS ON FILE
CORTES CRUZ, MARITZA        ADDRESS ON FILE
CORTES CRUZ, MAYRA          ADDRESS ON FILE
CORTES CRUZ, MODESTO        ADDRESS ON FILE




                                                                        Page 1820 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1821 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES CRUZ, MYRIAM E           ADDRESS ON FILE
CORTES CRUZ, RAMON L            ADDRESS ON FILE
CORTES CRUZ, RUBEN              ADDRESS ON FILE
CORTES CRUZ, SARA M             ADDRESS ON FILE
CORTES CRUZ, VIMARY             ADDRESS ON FILE
Cortes Cuevas, Gloryvee         ADDRESS ON FILE
CORTES CUEVAS, JOSE             ADDRESS ON FILE
CORTES CUEVAS, KATHERINE        ADDRESS ON FILE
CORTES CUEVAS, MARIA A          ADDRESS ON FILE
CORTES CUEVAS, MIRIAM           ADDRESS ON FILE
CORTES DAPENA, ARTURO           ADDRESS ON FILE
CORTES DAVILA, AIDA VARYS       ADDRESS ON FILE
CORTES DAVILA, MARTA            ADDRESS ON FILE
Cortes Davila, Oscar            ADDRESS ON FILE
CORTES DE BRUNO, OLGA I         ADDRESS ON FILE
Cortes De Hernandez, Carmen M   ADDRESS ON FILE
CORTES DE JESUS, ENID           ADDRESS ON FILE
CORTES DE JESUS, ENID           ADDRESS ON FILE
CORTES DE JESUS, EVELYN         ADDRESS ON FILE
CORTES DE JESUS, IRMA           ADDRESS ON FILE
Cortes De Jesus, Juan Pedro     ADDRESS ON FILE
CORTES DE JESUS, LEONOR         ADDRESS ON FILE
Cortes De Jesus, Maribel        ADDRESS ON FILE
CORTES DE JESUS, MIANEL         ADDRESS ON FILE
CORTES DE LA CRUZ, JOSE         ADDRESS ON FILE
CORTES DE LA ROSA, ELIA         ADDRESS ON FILE
CORTES DE LEON, BLANCA I        ADDRESS ON FILE
CORTES DE QUINONEZ, REBECA      ADDRESS ON FILE
CORTES DECLET, LEILANI          ADDRESS ON FILE
CORTES DELGADO, EMILIA          ADDRESS ON FILE
CORTES DELGADO, EVELYN          ADDRESS ON FILE
CORTES DELGADO, JESUS           ADDRESS ON FILE
CORTES DELGADO, LUIS            ADDRESS ON FILE
CORTES DELGADO, MARIA           ADDRESS ON FILE
CORTES DELGADO, ZULMA           ADDRESS ON FILE
CORTES DIAZ, ANTONIO            ADDRESS ON FILE
CORTES DIAZ, CARLOS ENRIQUE     ADDRESS ON FILE
CORTES DIAZ, DINA S             ADDRESS ON FILE
CORTES DIAZ, JUAN               ADDRESS ON FILE
CORTES DIAZ, JUAN               ADDRESS ON FILE
CORTES DIAZ, LUZ E.             ADDRESS ON FILE
CORTES DIAZ, MANASES            ADDRESS ON FILE
CORTES DIAZ, MARIEL             ADDRESS ON FILE
CORTES DIAZ, NILDA              ADDRESS ON FILE
CORTES DIAZ, SAMUEL             ADDRESS ON FILE
CORTES DIAZ, SIMARA M           ADDRESS ON FILE
CORTES DIOSES, DARIO            ADDRESS ON FILE
CORTES ECHEVARRIA, DESEADO      ADDRESS ON FILE
CORTES ECHEVARRIA, MILCA        ADDRESS ON FILE
CORTES ECHEVARRIA, ZABDIEL      ADDRESS ON FILE
CORTES ERNANDEZ MD, HECTOR R    ADDRESS ON FILE
CORTES ESCRIBANO, FRANCHESCA    ADDRESS ON FILE
CORTES ESTELA, CARMEN L         ADDRESS ON FILE
Cortes Estela, Orlando          ADDRESS ON FILE
CORTES ESTREMERA, EDWIN         ADDRESS ON FILE
CORTES FANTAUZZI, JULIO         ADDRESS ON FILE
CORTES FANTAUZZI, JULIO         ADDRESS ON FILE
CORTES FANTAUZZI, LAURA M       ADDRESS ON FILE
CORTES FELICIANO, ANGEL L.      ADDRESS ON FILE
CORTES FELICIANO, DIOMAR        ADDRESS ON FILE




                                                                            Page 1821 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1822 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES FELICIANO, EUGENIO    ADDRESS ON FILE
CORTES FELICIANO, JUAN E     ADDRESS ON FILE
CORTES FELICIANO, LUIS       ADDRESS ON FILE
CORTES FELICIANO, ROSA       ADDRESS ON FILE
CORTES FERNANDEZ, ANGEL      ADDRESS ON FILE
CORTES FERNANDEZ, IRIS N     ADDRESS ON FILE
CORTES FERNANDEZ, MARISOL    ADDRESS ON FILE
CORTES FERNANDEZ, RAFAEL     ADDRESS ON FILE
CORTES FIGUEROA, ANGELA      ADDRESS ON FILE
CORTES FIGUEROA, GILBERTO    ADDRESS ON FILE
CORTES FIGUEROA, HILDA       ADDRESS ON FILE
CORTES FIGUEROA, HILDA       ADDRESS ON FILE
CORTES FIGUEROA, JONATHAN    ADDRESS ON FILE
CORTES FIGUEROA, JOSE        ADDRESS ON FILE
CORTES FIGUEROA, MARTA       ADDRESS ON FILE
CORTES FIGUEROA, RUFINO      ADDRESS ON FILE
CORTES FIGUEROA, SYLVIA      ADDRESS ON FILE
CORTES FLORES, ADELA M       ADDRESS ON FILE
CORTES FLORES, ANA L         ADDRESS ON FILE
CORTES FLORES, JUAN CARLOS   ADDRESS ON FILE
CORTES FLORES, MARIA         ADDRESS ON FILE
CORTES FLORES, OCTAVIO       ADDRESS ON FILE
CORTES FLORES, RICHARD       ADDRESS ON FILE
Cortes Flores, Wilfredo      ADDRESS ON FILE
CORTES FLORES, WILFREDO      LIBARDO HERNANDEZ PEREZ   PO BOX 2764                                            BAYAMON      PR      00960‐2764
CORTES FONSECA, MIRTA S      ADDRESS ON FILE
CORTES FONTANEZ, AUREA       ADDRESS ON FILE
CORTES FONTANEZ, ELISSONED   ADDRESS ON FILE
CORTES FUENTES, EDGARDO      ADDRESS ON FILE
CORTES FUENTES, LEIDA        ADDRESS ON FILE
CORTES FUENTES, LILLIAM      ADDRESS ON FILE
CORTES FUENTES, WILLIAM      ADDRESS ON FILE
CORTES GALAN, SANDRA I.      ADDRESS ON FILE
CORTES GALARZA, JORGE L      ADDRESS ON FILE
CORTES GALARZA, MORAIMA      ADDRESS ON FILE
CORTES GALARZA, RAFAEL       ADDRESS ON FILE
CORTES GALVAN, JUDITH        ADDRESS ON FILE
CORTES GARCIA, CARMEN        ADDRESS ON FILE
CORTES GARCIA, EMMANUEL      ADDRESS ON FILE
Cortes Garcia, Joel          ADDRESS ON FILE
CORTES GARCIA, LUNILDA       ADDRESS ON FILE
CORTES GARCIA, NYDIA E.      ADDRESS ON FILE
CORTES GARCIA, OLGA I        ADDRESS ON FILE
CORTES GARCIA, ROBERTO       ADDRESS ON FILE
CORTES GARCIA, SONIA         ADDRESS ON FILE
CORTES GAVINO, ELIA          ADDRESS ON FILE
CORTES GELI, RUBEN           ADDRESS ON FILE
CORTES GINES, MARIA          ADDRESS ON FILE
CORTES GOMEZ, ADA I          ADDRESS ON FILE
CORTES GOMEZ, MARIA J        ADDRESS ON FILE
Cortes Gomez, Norbert        ADDRESS ON FILE
Cortes Gomez, Rafael A       ADDRESS ON FILE
CORTES GOMEZ, WILFREDO       ADDRESS ON FILE
CORTES GONZALES, IRVIN       ADDRESS ON FILE
Cortes Gonzalez, Abel        ADDRESS ON FILE
CORTES GONZALEZ, ADOLFO      ADDRESS ON FILE
CORTES GONZALEZ, ALFRED      ADDRESS ON FILE
CORTES GONZALEZ, ANA         ADDRESS ON FILE
CORTES GONZALEZ, ANA M       ADDRESS ON FILE
CORTES GONZALEZ, ANTONIO     ADDRESS ON FILE




                                                                         Page 1822 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1823 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES GONZALEZ, ARMANDO        ADDRESS ON FILE
CORTES GONZALEZ, AWILDA V.      ADDRESS ON FILE
CORTES GONZALEZ, BEATRIZ        ADDRESS ON FILE
CORTES GONZALEZ, BETMARIE       ADDRESS ON FILE
CORTES GONZALEZ, BONIFACIO      ADDRESS ON FILE
CORTES GONZALEZ, CARLOS A.      ADDRESS ON FILE
CORTES GONZALEZ, CESAR          ADDRESS ON FILE
CORTES GONZALEZ, DARLINE        ADDRESS ON FILE
CORTES GONZALEZ, DORIS          ADDRESS ON FILE
Cortes Gonzalez, Ernesto L      ADDRESS ON FILE
CORTES GONZALEZ, EVELYN         ADDRESS ON FILE
CORTES GONZALEZ, FRANCIS        ADDRESS ON FILE
CORTES GONZALEZ, FRANCISCO      ADDRESS ON FILE
CORTES GONZALEZ, FREDDY         ADDRESS ON FILE
CORTES GONZALEZ, IRVIN          ADDRESS ON FILE
CORTES GONZALEZ, ISIS M         ADDRESS ON FILE
CORTES GONZALEZ, JAVIER         ADDRESS ON FILE
CORTES GONZALEZ, LIZ A          ADDRESS ON FILE
CORTES GONZALEZ, LYDIA          ADDRESS ON FILE
CORTES GONZALEZ, MARIA I.       ADDRESS ON FILE
CORTES GONZALEZ, MELVIN         ADDRESS ON FILE
CORTES GONZALEZ, MILAGROS       ADDRESS ON FILE
CORTES GONZALEZ, MINERVA        ADDRESS ON FILE
CORTES GONZALEZ, MYRIAM         ADDRESS ON FILE
CORTES GONZALEZ, NEREIDA        ADDRESS ON FILE
CORTES GONZALEZ, ORLANDO        ADDRESS ON FILE
CORTES GONZALEZ, ROSAMALI       ADDRESS ON FILE
CORTES GONZALEZ, SONIA Y        ADDRESS ON FILE
CORTES GONZALEZ, SONIA Y.       ADDRESS ON FILE
CORTES GONZALEZ, VIVIAN A       ADDRESS ON FILE
CORTES GONZALEZ, WENDELYN       ADDRESS ON FILE
CORTES GONZALEZ, WENDELYN       ADDRESS ON FILE
CORTES GONZALEZ, WILDA          ADDRESS ON FILE
CORTES GONZALEZ, ZAHIRA         ADDRESS ON FILE
CORTES GONZALEZ, ZUJEIDY        ADDRESS ON FILE
CORTES GONZALEZ, ZULMA          ADDRESS ON FILE
CORTES GORDIAN, CAMILLE         ADDRESS ON FILE
CORTES GORDIAN, NATALIE         ADDRESS ON FILE
CORTES GUADALUPE, FRANCHESKA    ADDRESS ON FILE
Cortes Guadalupe, Miguel A      ADDRESS ON FILE
CORTES GUZMAN, AIDA L           ADDRESS ON FILE
CORTES GUZMAN, DAVID            ADDRESS ON FILE
CORTES GUZMAN, JAVIER           ADDRESS ON FILE
CORTES GUZMAN, LUZ M            ADDRESS ON FILE
CORTES GUZMAN, ROSA             ADDRESS ON FILE
Cortes Hernandez, Alfredo       ADDRESS ON FILE
Cortes Hernandez, Aneudi        ADDRESS ON FILE
CORTES HERNANDEZ, ANGELA        ADDRESS ON FILE
CORTES HERNANDEZ, CARELY        ADDRESS ON FILE
Cortes Hernandez, Carlos J      ADDRESS ON FILE
CORTES HERNANDEZ, EDGARD E      ADDRESS ON FILE
Cortes Hernandez, Ednardo       ADDRESS ON FILE
CORTES HERNANDEZ, GABRIEL       ADDRESS ON FILE
CORTES HERNANDEZ, GEYRAMAYRIS   ADDRESS ON FILE
CORTES HERNANDEZ, GLADYS E      ADDRESS ON FILE
CORTES HERNANDEZ, JOSE G        ADDRESS ON FILE
CORTES HERNANDEZ, JOVAN E       ADDRESS ON FILE
CORTES HERNANDEZ, JUAN          ADDRESS ON FILE
CORTES HERNANDEZ, JULIO         ADDRESS ON FILE
Cortes Hernandez, Julio         ADDRESS ON FILE




                                                                            Page 1823 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 1824 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                        Address1                      Address2                                   Address3   Address4   City         State   PostalCode   Country
CORTES HERNANDEZ, KENNETH            ADDRESS ON FILE
CORTES HERNANDEZ, LUIS               ADDRESS ON FILE
Cortes Hernandez, Luis A             ADDRESS ON FILE
Cortes Hernandez, Luis O             ADDRESS ON FILE
CORTES HERNANDEZ, MARTA              ADDRESS ON FILE
CORTES HERNANDEZ, MARTA I            ADDRESS ON FILE
Cortes Hernandez, Mileksy            ADDRESS ON FILE
CORTES HERNANDEZ, NOEMI              ADDRESS ON FILE
Cortes Hernandez, Osvaldo            ADDRESS ON FILE
CORTES HERNANDEZ, SALVADOR           ADDRESS ON FILE
CORTES HERNANDEZ, SAMUEL             ADDRESS ON FILE
CORTES HERNANDEZ, SONIA              ADDRESS ON FILE
CORTES HERRERA, LUIS A.              ADDRESS ON FILE
CORTES HIDALGO, EFRAIN               ADDRESS ON FILE
CORTES HIDALGO, VANELLY L            ADDRESS ON FILE
CORTES HIDALGO, VANELLY L.           ADDRESS ON FILE
CORTES IGARTUA, ARTURO               ADDRESS ON FILE
CORTES IGARTUA, BRUNILDA             ADDRESS ON FILE
CORTES IGARTUA, MODESTA              ADDRESS ON FILE
CORTES IGARTUA, ROBERTA              ADDRESS ON FILE
CORTES INDUSTRIAL ORGANIZATION       PARQUE INSUSTRIAL RIO CANAS   CALLE CENTRAL ESQUINA NORTE                                      CAGUAS       PR      00725
CORTES INDUSTRIAL ORGANIZATION INC   PO BOX 41264                                                                                   San Juan     PR      00940
CORTES IRIZARRY CARLOS               LUIS LUGO EMANUELLI           PO BOX 34                                                        FAJARDO      PR      00738
CORTES IRIZARRY, AGNES               ADDRESS ON FILE
CORTES IRIZARRY, ALBERTO             ADDRESS ON FILE
CORTES IRIZARRY, CARMEN              ADDRESS ON FILE
CORTES IRIZARRY, NOEMI               ADDRESS ON FILE
CORTES IRIZARRY, RICARDO             ADDRESS ON FILE
CORTES IRIZARRY, YENITZA             ADDRESS ON FILE
Cortes Jaime, Edwin                  ADDRESS ON FILE
CORTES JAIME, MIGDALIA               ADDRESS ON FILE
CORTES JIMENEZ, ANGEL                ADDRESS ON FILE
CORTES JIMENEZ, FELIX A              ADDRESS ON FILE
CORTES JIMENEZ, GILBERTO J.          ADDRESS ON FILE
CORTES JIMENEZ, JOSE                 ADDRESS ON FILE
CORTES JOBETH CUBERO                 HC 4 BOX 43010                                                                                 HATILLO      PR      00659
CORTES JUARBE, BRENDA LIZ            ADDRESS ON FILE
CORTES KATELNIKOFF, CARLOS           ADDRESS ON FILE
CORTES KEISER, DENNIS                ADDRESS ON FILE
CORTES KEISER, MELVIN                ADDRESS ON FILE
CORTES KOCH, MIRTHA G                ADDRESS ON FILE
CORTES KUILAN, JOSE                  ADDRESS ON FILE
Cortes Laboy, Evelyn                 ADDRESS ON FILE
CORTES LACLAUSTRA, WANDA             ADDRESS ON FILE
CORTES LAJARA, FRANCIS               ADDRESS ON FILE
CORTES LANZA, DIANA                  ADDRESS ON FILE
CORTES LANZO, ZUANET                 ADDRESS ON FILE
CORTES LARREGUI, MIGDALIA            ADDRESS ON FILE
CORTES LEBRON, HECTOR                ADDRESS ON FILE
CORTES LEBRON, SERAFIN               ADDRESS ON FILE
CORTES LEDESMA, ANGEL L.             ADDRESS ON FILE
CORTES LOPEZ, BRENDALIZ              ADDRESS ON FILE
CORTES LOPEZ, CESAR                  ADDRESS ON FILE
CORTES LOPEZ, ELVIRA                 ADDRESS ON FILE
CORTES LOPEZ, ENRIQUE                ADDRESS ON FILE
CORTES LOPEZ, FELIX                  ADDRESS ON FILE
CORTES LOPEZ, FERNANDO               ADDRESS ON FILE
CORTES LOPEZ, HAYDEE                 ADDRESS ON FILE
CORTES LOPEZ, JACQUELINE             ADDRESS ON FILE
Cortes Lopez, Jobeth                 ADDRESS ON FILE




                                                                                             Page 1824 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1825 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES LOPEZ, JOBETH             ADDRESS ON FILE
CORTES LOPEZ, JUAN LUIS          ADDRESS ON FILE
CORTES LOPEZ, LUZ N              ADDRESS ON FILE
CORTES LOPEZ, MARIA V            ADDRESS ON FILE
CORTES LOPEZ, MILEXY Y           ADDRESS ON FILE
CORTES LOPEZ, MIRELI ANN         ADDRESS ON FILE
CORTES LOPEZ, MISAEL             ADDRESS ON FILE
CORTES LOPEZ, MISRAEL            ADDRESS ON FILE
CORTES LOPEZ, NATANAEL           ADDRESS ON FILE
CORTES LOPEZ, RAMONITA           ADDRESS ON FILE
CORTES LORENZO, EDWIN            ADDRESS ON FILE
CORTES LORENZO, ELIZABETH        ADDRESS ON FILE
CORTES LORENZO, ELIZABETH        ADDRESS ON FILE
CORTES LORENZO, ELIZABETH        ADDRESS ON FILE
CORTES LORENZO, REINALDO         ADDRESS ON FILE
CORTES LORENZO, ZULEIRA          ADDRESS ON FILE
CORTES LUCIANO, ILEANA           ADDRESS ON FILE
CORTES LUGO, FRANCISCO           ADDRESS ON FILE
CORTES LUGO, JOSEPH LOUIS        ADDRESS ON FILE
CORTES LUGO, WILLIAM             ADDRESS ON FILE
CORTES MAISONET MD, GREGORIO A   ADDRESS ON FILE
CORTES MAISONET, MELBA R         ADDRESS ON FILE
CORTES MALDONADO, ALFREDO        ADDRESS ON FILE
CORTES MALDONADO, BLANCA R       ADDRESS ON FILE
CORTES MALDONADO, FRANCISCO E    ADDRESS ON FILE
CORTES MALDONADO, JOHN           ADDRESS ON FILE
Cortes Maldonado, Jose L         ADDRESS ON FILE
CORTES MALDONADO, LEIDA M        ADDRESS ON FILE
CORTES MALDONADO, MARIA DEL C    ADDRESS ON FILE
CORTES MALDONADO, MIGDALIA       ADDRESS ON FILE
CORTES MALDONADO, MONSERRATE     ADDRESS ON FILE
CORTES MALDONADO, RAQUEL         ADDRESS ON FILE
CORTES MALDONADO, REBECA         ADDRESS ON FILE
CORTES MALDONADO, WILLIAM        ADDRESS ON FILE
CORTES MARCIAL, MICHAEL          ADDRESS ON FILE
CORTES MARQUEZ, JESUS            ADDRESS ON FILE
CORTES MARTINEZ, ARNALDO         ADDRESS ON FILE
Cortes Martinez, Felix           ADDRESS ON FILE
CORTES MARTINEZ, HECTOR          ADDRESS ON FILE
CORTES MARTINEZ, JEAN CARLOS     ADDRESS ON FILE
CORTES MARTINEZ, JOE E           ADDRESS ON FILE
CORTES MARTINEZ, KEVIN           ADDRESS ON FILE
Cortes Martinez, Luis A          ADDRESS ON FILE
CORTES MARTINEZ, MARIA           ADDRESS ON FILE
CORTES MARTINEZ, MARILYN         ADDRESS ON FILE
Cortes Martinez, Marilyn J       ADDRESS ON FILE
CORTES MARTINEZ, MYRIAM          ADDRESS ON FILE
CORTES MARTINEZ, ROCHELLIE       ADDRESS ON FILE
CORTES MARTINEZ, SHEYLIANN       ADDRESS ON FILE
CORTES MATIAS, MARISEL           ADDRESS ON FILE
CORTES MATIAS, TERESA            ADDRESS ON FILE
CORTES MAXAN, BRENDA I           ADDRESS ON FILE
CORTES MAXAN, JOSE               ADDRESS ON FILE
CORTES MEDERO, MARIA E.          ADDRESS ON FILE
CORTES MEDERO, MARIA E.          ADDRESS ON FILE
CORTES MEDERO, MARIA M           ADDRESS ON FILE
CORTES MEDERO, WILFREDO          ADDRESS ON FILE
CORTES MEDINA, ADALIS A          ADDRESS ON FILE
CORTES MEDINA, ANGEL L           ADDRESS ON FILE
CORTES MEDINA, CARMEN            ADDRESS ON FILE




                                                                             Page 1825 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1826 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES MEDINA, LUIS R         ADDRESS ON FILE
CORTES MEDINA, MYRIAM         ADDRESS ON FILE
CORTES MEDINA, ROBERTO        ADDRESS ON FILE
CORTES MEDINA, SONIA          ADDRESS ON FILE
Cortes Mejias, Carlos         ADDRESS ON FILE
Cortes Mejias, Frank R        ADDRESS ON FILE
CORTES MEJIAS, LUZ M          ADDRESS ON FILE
Cortes Mejias, Wilfredo       ADDRESS ON FILE
CORTES MELENDEZ, MAGALI       ADDRESS ON FILE
CORTES MELENDEZ, MARISOL      ADDRESS ON FILE
CORTES MENDEZ, CLAUDIO        ADDRESS ON FILE
CORTES MENDEZ, HECTOR         ADDRESS ON FILE
CORTES MENDEZ, ISMAEL         ADDRESS ON FILE
CORTES MENDEZ, JOSELYNE       ADDRESS ON FILE
CORTES MENDEZ, LENNY J        ADDRESS ON FILE
CORTES MENDEZ, LUZ E          ADDRESS ON FILE
CORTES MENDEZ, MARIBEL        ADDRESS ON FILE
CORTES MENDEZ, MARTHA         ADDRESS ON FILE
CORTES MENDEZ, ZELMA          ADDRESS ON FILE
CORTES MENDEZ, ZELMA M.       ADDRESS ON FILE
CORTES MENDEZ, ZELMA M.       ADDRESS ON FILE
CORTES MENDOZA, ARNALDO       ADDRESS ON FILE
CORTES MENDOZA, ARNALDO       ADDRESS ON FILE
CORTES MENDOZA, RUBEN         ADDRESS ON FILE
CORTES MERCADO MD, MILAGROS   ADDRESS ON FILE
CORTES MERCADO, CRISTINA      ADDRESS ON FILE
CORTES MERCADO, LINA          ADDRESS ON FILE
CORTES MERCADO, VILMA         ADDRESS ON FILE
CORTES MERCADQ, HAYDEE        ADDRESS ON FILE
CORTES MERCED, DAVID          ADDRESS ON FILE
CORTES MIJON, DORCAS J        ADDRESS ON FILE
CORTES MILLAN, ALEISA         ADDRESS ON FILE
CORTES MILLAN, HERIBERTO      ADDRESS ON FILE
CORTES MILLAN, NELSON         ADDRESS ON FILE
CORTES MILLAN, REINALDO       ADDRESS ON FILE
CORTES MIRANDA, MAGALI        ADDRESS ON FILE
CORTES MIRO, ZULAIMA          ADDRESS ON FILE
CORTES MOLINA, HERALDA        ADDRESS ON FILE
CORTES MOLINA, JOSE R.        ADDRESS ON FILE
CORTES MOLINA, RAQUEL         ADDRESS ON FILE
Cortes Monsanto, Jose L       ADDRESS ON FILE
CORTES MONTALVO, MYRNA        ADDRESS ON FILE
CORTES MONTES, LUIS           ADDRESS ON FILE
CORTES MONTIJO, ORLANDO       ADDRESS ON FILE
CORTES MORA, ANGEL            ADDRESS ON FILE
CORTES MORALES MD, CARMEN     ADDRESS ON FILE
CORTES MORALES MD, LUZ N      ADDRESS ON FILE
Cortes Morales, Alfredo       ADDRESS ON FILE
CORTES MORALES, ANA           ADDRESS ON FILE
CORTES MORALES, ANA C         ADDRESS ON FILE
CORTES MORALES, CARMEN        ADDRESS ON FILE
CORTES MORALES, EDDIE         ADDRESS ON FILE
CORTES MORALES, ELICEO        ADDRESS ON FILE
CORTES MORALES, FLOR M        ADDRESS ON FILE
CORTES MORALES, GUAIRY        ADDRESS ON FILE
CORTES MORALES, ISABEL        ADDRESS ON FILE
CORTES MORALES, JOSE          ADDRESS ON FILE
CORTES MORALES, LUIS          ADDRESS ON FILE
CORTES MORALES, RAQUEL        ADDRESS ON FILE
Cortes Morales, Restituto     ADDRESS ON FILE




                                                                          Page 1826 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1827 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES MORALES, ROBERTO         ADDRESS ON FILE
CORTES MORALES, YARIVELISSE     ADDRESS ON FILE
CORTES MOREIRA, ELSA            ADDRESS ON FILE
CORTES MORENO, ROBERTO          ADDRESS ON FILE
CORTES MUNIZ, MARIA A           ADDRESS ON FILE
CORTES MUNIZ, OVIDIO            ADDRESS ON FILE
CORTES MUNOZ, MYRNA A           ADDRESS ON FILE
CORTES NAVARRO, MARIA M         ADDRESS ON FILE
CORTES NAZARIO, IVAN            ADDRESS ON FILE
CORTES NEGRON, ANGEL L          ADDRESS ON FILE
CORTES NEGRON, RAMON LUIS       ADDRESS ON FILE
CORTES NIEVES, AIDA             ADDRESS ON FILE
CORTES NIEVES, AIDA L           ADDRESS ON FILE
CORTES NIEVES, MIGDALIA         ADDRESS ON FILE
CORTES NIEVES, MYRNA            ADDRESS ON FILE
Cortes Nieves, Raymond          ADDRESS ON FILE
CORTES NIEVES, YOLANDA          ADDRESS ON FILE
CORTES NIVAL, JOSE CARLOS       ADDRESS ON FILE
CORTES NIVAL, JOSE CARLOS       ADDRESS ON FILE
CORTES NOVOA, ERICK             ADDRESS ON FILE
Cortes Novoa, Erick             ADDRESS ON FILE
CORTES NUNEZ, CARMEN I.         ADDRESS ON FILE
CORTES NUNEZ, GUILLERMO         ADDRESS ON FILE
CORTES NUNEZ, JOSHUA            ADDRESS ON FILE
CORTES NUNEZ, TERESA            ADDRESS ON FILE
CORTES OCASIO, JUAN J.          ADDRESS ON FILE
CORTES O'FARRILL, AMNERIS       ADDRESS ON FILE
CORTES OLABARRIETA, MIREILY G   ADDRESS ON FILE
CORTES OLIVERAS, JORGE          ADDRESS ON FILE
CORTES OLIVERAS, MARILYN        ADDRESS ON FILE
CORTES OLMO, YADIRA             ADDRESS ON FILE
CORTES OLMO, YANIXA             ADDRESS ON FILE
CORTES OQUENDO, BRENDA          ADDRESS ON FILE
CORTES ORONA, MARILYN           ADDRESS ON FILE
Cortes Orta, Eliezel            ADDRESS ON FILE
CORTES ORTEGA, MARLENE          ADDRESS ON FILE
CORTES ORTIZ MD, WALTER         ADDRESS ON FILE
CORTES ORTIZ, BRYAN             ADDRESS ON FILE
CORTES ORTIZ, DANILKA           ADDRESS ON FILE
CORTES ORTIZ, DAVID             ADDRESS ON FILE
CORTES ORTIZ, DAVID             ADDRESS ON FILE
CORTES ORTIZ, EDMUNDO E         ADDRESS ON FILE
CORTES ORTIZ, ISRAEL            ADDRESS ON FILE
CORTES ORTIZ, JOSE              ADDRESS ON FILE
CORTES ORTIZ, JOSE A            ADDRESS ON FILE
CORTES ORTIZ, MAGDIEL           ADDRESS ON FILE
CORTES ORTIZ, MARGARITA         ADDRESS ON FILE
CORTES ORTIZ, NOEMI N.          ADDRESS ON FILE
CORTES ORTIZ, ORESTE            ADDRESS ON FILE
CORTES ORTIZ, ORESTE            ADDRESS ON FILE
CORTES ORTIZ, SANDRA            ADDRESS ON FILE
CORTES ORTIZ, ZAIDA             ADDRESS ON FILE
CORTES OSORIO, OSCAR            ADDRESS ON FILE
CORTES OYOLA, JUANA             ADDRESS ON FILE
CORTES OZOA, RADAMES            ADDRESS ON FILE
CORTES PABON, ELIEZER           ADDRESS ON FILE
CORTES PABON, KENNETH           ADDRESS ON FILE
CORTES PABON, LUIS A            ADDRESS ON FILE
CORTES PABON, YASHIRA           ADDRESS ON FILE
CORTES PACHECO, FELIX           ADDRESS ON FILE




                                                                            Page 1827 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1828 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES PACHECO, FRANCISCA          ADDRESS ON FILE
CORTES PACHECO, VICTOR             ADDRESS ON FILE
CORTES PADRO, MARIA                ADDRESS ON FILE
CORTES PAGAN, DOEL                 ADDRESS ON FILE
Cortes Pagan, Juan A               ADDRESS ON FILE
CORTES PAGAN, LIZETTE DEL CARMEN   ADDRESS ON FILE
CORTES PAGAN, LUIS                 ADDRESS ON FILE
CORTES PAGAN, REYNALDO             ADDRESS ON FILE
CORTES PARDO, WILFREDO             ADDRESS ON FILE
CORTES PARKINSON, JENNIFER         ADDRESS ON FILE
CORTES PARZONS, AIDA I             ADDRESS ON FILE
CORTES PASTOR, DANIEL              ADDRESS ON FILE
CORTES PELLOT, ANA ELISA           ADDRESS ON FILE
CORTES PELLOT, JAIME               ADDRESS ON FILE
CORTES PEREZ, ADA N                ADDRESS ON FILE
CORTES PEREZ, ADELA                ADDRESS ON FILE
CORTES PEREZ, ADRIAN               ADDRESS ON FILE
CORTES PEREZ, AGUSTIN              ADDRESS ON FILE
CORTES PEREZ, ANA I                ADDRESS ON FILE
Cortes Perez, Arnaldo              ADDRESS ON FILE
CORTES PEREZ, ARNALDO              ADDRESS ON FILE
CORTES PEREZ, ELIZABETH            ADDRESS ON FILE
CORTES PEREZ, ESTEBAN              ADDRESS ON FILE
Cortes Perez, Esteban J            ADDRESS ON FILE
CORTES PEREZ, FLOR I               ADDRESS ON FILE
CORTES PEREZ, FLORIBEL             ADDRESS ON FILE
CORTES PEREZ, FRANCISCO            ADDRESS ON FILE
CORTES PEREZ, GILBERTO             ADDRESS ON FILE
CORTES PEREZ, GIOVANNY             ADDRESS ON FILE
CORTES PEREZ, GLENDALYS            ADDRESS ON FILE
CORTES PEREZ, ISRAEL               ADDRESS ON FILE
CORTES PEREZ, JUDITH B             ADDRESS ON FILE
CORTES PEREZ, LADY                 ADDRESS ON FILE
CORTES PEREZ, LUIS                 ADDRESS ON FILE
CORTES PEREZ, LUIS A.              ADDRESS ON FILE
CORTES PEREZ, LUIS J               ADDRESS ON FILE
Cortes Perez, Mariluz              ADDRESS ON FILE
CORTES PEREZ, NELIDA               ADDRESS ON FILE
CORTES PEREZ, NELKY                ADDRESS ON FILE
Cortes Perez, Nelson               ADDRESS ON FILE
CORTES PEREZ, ORLANDO              ADDRESS ON FILE
CORTES PEREZ, REYNALDO             ADDRESS ON FILE
CORTES PEREZ, SAMUEL               ADDRESS ON FILE
CORTES PEREZ, TERESITA             ADDRESS ON FILE
CORTES PEREZ, VICTOR M             ADDRESS ON FILE
CORTES PEREZ, YANIRA               ADDRESS ON FILE
CORTES PEREZ, YAZMIN               ADDRESS ON FILE
CORTES PEREZ, ZORAIDA              ADDRESS ON FILE
CORTES PINEIRO, BELIA              ADDRESS ON FILE
CORTES PINEIRO, MAYRA              ADDRESS ON FILE
CORTES PINERO, CYNTHIA N           ADDRESS ON FILE
CORTES PLAZA, JOAQUIN              ADDRESS ON FILE
CORTES PLAZA, MARITZA              ADDRESS ON FILE
Cortes Portalatin, Hector O        ADDRESS ON FILE
CORTES PORTALATIN, LUIS M          ADDRESS ON FILE
CORTES PUJOLS, FRANCIS             ADDRESS ON FILE
CORTES QUIJANO, ANGEL M            ADDRESS ON FILE
CORTES QUILES, FELISA              ADDRESS ON FILE
CORTES QUILES, GILBERTO            ADDRESS ON FILE
CORTES QUILES, HERNAN              ADDRESS ON FILE




                                                                               Page 1828 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1829 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES QUILES, NEIDA           ADDRESS ON FILE
Cortes Quiles, Wilfredo        ADDRESS ON FILE
CORTES QUINONES, JOSELITO      ADDRESS ON FILE
CORTES QUINONES, KAREN         ADDRESS ON FILE
CORTES QUIÑONES, KAREN MARIE   ADDRESS ON FILE
CORTES QUINONES, MARIANO       ADDRESS ON FILE
CORTES QUINONES, ZELMARI       ADDRESS ON FILE
CORTES QUINONEZ, OLGA          ADDRESS ON FILE
CORTES QUINTANA, JUAN          ADDRESS ON FILE
CORTES QUINTANA, MILTON R.     ADDRESS ON FILE
CORTES RAMIREZ, HECTOR M.      ADDRESS ON FILE
CORTES RAMIREZ, IRVIN          ADDRESS ON FILE
CORTES RAMIREZ, MARIA M        ADDRESS ON FILE
CORTES RAMIREZ, MARIE A        ADDRESS ON FILE
CORTES RAMIREZ, PEDRO F.       ADDRESS ON FILE
CORTES RAMOS, CARLOS           ADDRESS ON FILE
CORTES RAMOS, GUADALUPE        ADDRESS ON FILE
CORTES RAMOS, HECTOR           ADDRESS ON FILE
CORTES RAMOS, JAVIER           ADDRESS ON FILE
CORTES RAMOS, JESUS            ADDRESS ON FILE
CORTES RAMOS, JOSE             ADDRESS ON FILE
CORTES RAMOS, JOSEPH L         ADDRESS ON FILE
Cortes Ramos, Josue            ADDRESS ON FILE
CORTES RAMOS, JUAN             ADDRESS ON FILE
CORTES RAMOS, JUAN             ADDRESS ON FILE
CORTES RAMOS, MARIANGELY       ADDRESS ON FILE
CORTES RAMOS, MIRIAM           ADDRESS ON FILE
CORTES RAMOS, NEREIDA          ADDRESS ON FILE
CORTES RAMOS, NILSA M.         ADDRESS ON FILE
CORTES RAMOS, ROBERTO          ADDRESS ON FILE
CORTES RAMOS, SUZANNE M        ADDRESS ON FILE
CORTES RAMOS, YAMIL            ADDRESS ON FILE
CORTES RANCEL, MELITZA         ADDRESS ON FILE
CORTES REMIGIO, CHARLNY        ADDRESS ON FILE
CORTES REMIGIO, LUIS           ADDRESS ON FILE
Cortes Repollet, Carmen A      ADDRESS ON FILE
CORTES RESTO, WILLIAM          ADDRESS ON FILE
CORTES REYES, AIDYL E          ADDRESS ON FILE
CORTES REYES, ANA M            ADDRESS ON FILE
CORTES REYES, CESAR            ADDRESS ON FILE
CORTES REYES, CHRIS            ADDRESS ON FILE
CORTES REYES, GILBERTO         ADDRESS ON FILE
Cortes Reyes, Juan A           ADDRESS ON FILE
CORTES REYES, JULISHA L        ADDRESS ON FILE
CORTES REYES, LEYSHA           ADDRESS ON FILE
CORTES REYES, MARCOS           ADDRESS ON FILE
CORTES REYES, SASHA            ADDRESS ON FILE
Cortes Rios, Andres            ADDRESS ON FILE
CORTES RIOS, CARMEN            ADDRESS ON FILE
CORTES RIOS, DELIA             ADDRESS ON FILE
CORTES RIOS, ENILDA            ADDRESS ON FILE
CORTES RIOS, RONALDO           ADDRESS ON FILE
CORTES RIVALTA, DORIS          ADDRESS ON FILE
CORTES RIVAS, ANGIEMEL         ADDRESS ON FILE
CORTES RIVERA, AIDA L          ADDRESS ON FILE
CORTES RIVERA, ALBERTO         ADDRESS ON FILE
CORTES RIVERA, ANA             ADDRESS ON FILE
CORTES RIVERA, ANGEL           ADDRESS ON FILE
CORTES RIVERA, ANTONIA         ADDRESS ON FILE
CORTES RIVERA, BETHZAIDA       ADDRESS ON FILE




                                                                           Page 1829 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1830 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES RIVERA, BRUNILDA         ADDRESS ON FILE
CORTES RIVERA, CARLOS           ADDRESS ON FILE
CORTES RIVERA, CARLOS J.        ADDRESS ON FILE
CORTES RIVERA, CARMEN           ADDRESS ON FILE
CORTES RIVERA, CHARLES          ADDRESS ON FILE
CORTES RIVERA, DAVID            ADDRESS ON FILE
CORTES RIVERA, DAVID            ADDRESS ON FILE
CORTES RIVERA, DOLORES          ADDRESS ON FILE
CORTES RIVERA, DOMINGO          ADDRESS ON FILE
CORTES RIVERA, DOMINGO          ADDRESS ON FILE
CORTES RIVERA, ELIE             ADDRESS ON FILE
CORTES RIVERA, ELISA M.         ADDRESS ON FILE
CORTES RIVERA, ENRIQUE          ADDRESS ON FILE
CORTES RIVERA, FLORENCE         ADDRESS ON FILE
CORTES RIVERA, GLADYS L         ADDRESS ON FILE
CORTES RIVERA, HECTOR           ADDRESS ON FILE
CORTES RIVERA, HECTOR           ADDRESS ON FILE
CORTES RIVERA, HIRAM            ADDRESS ON FILE
CORTES RIVERA, IVETTE           ADDRESS ON FILE
CORTES RIVERA, JACKELINE        ADDRESS ON FILE
CORTES RIVERA, JENISSA          ADDRESS ON FILE
CORTES RIVERA, JOSE             ADDRESS ON FILE
CORTES RIVERA, JOSE             ADDRESS ON FILE
CORTES RIVERA, JOSE J           ADDRESS ON FILE
Cortes Rivera, Jose L           ADDRESS ON FILE
CORTES RIVERA, LORENA           ADDRESS ON FILE
CORTES RIVERA, LOURDES J        ADDRESS ON FILE
CORTES RIVERA, LUCY             ADDRESS ON FILE
CORTES RIVERA, LUIS             ADDRESS ON FILE
CORTES RIVERA, LUIS D           ADDRESS ON FILE
CORTES RIVERA, LYDIA I.         ADDRESS ON FILE
CORTES RIVERA, MARIA            ADDRESS ON FILE
CORTES RIVERA, MARIA DE LOS A   ADDRESS ON FILE
CORTES RIVERA, MARIA I          ADDRESS ON FILE
CORTES RIVERA, MARIELA          ADDRESS ON FILE
CORTES RIVERA, MARIERY          ADDRESS ON FILE
CORTES RIVERA, NAYSHA           ADDRESS ON FILE
CORTES RIVERA, RICARDO          ADDRESS ON FILE
CORTES RIVERA, ROBERTO          ADDRESS ON FILE
CORTES RIVERA, SAMUEL           ADDRESS ON FILE
CORTES RIVERA, SANDRA L         ADDRESS ON FILE
CORTES RIVERA, SHEYLA MARIE     ADDRESS ON FILE
CORTES RIVERA, ULVIA            ADDRESS ON FILE
CORTES RIVERA, VANESSA A        ADDRESS ON FILE
CORTES RIVERA, YOLANDA          ADDRESS ON FILE
CORTES RIVERA, YOLANDA          ADDRESS ON FILE
CORTES ROBLES, ANA M            ADDRESS ON FILE
CORTES ROBLES, ANGEL M          ADDRESS ON FILE
CORTES ROBLES, HILDA            ADDRESS ON FILE
CORTES ROBLES, KHIARA           ADDRESS ON FILE
CORTES ROBLES, SHEILA           ADDRESS ON FILE
CORTES RODRIGUEZ, ABDIEL D      ADDRESS ON FILE
CORTES RODRIGUEZ, ADA MARIE     ADDRESS ON FILE
CORTES RODRIGUEZ, AIDA I        ADDRESS ON FILE
Cortes Rodriguez, Aida I        ADDRESS ON FILE
CORTES RODRIGUEZ, AIDA I.       ADDRESS ON FILE
CORTES RODRIGUEZ, ANA           ADDRESS ON FILE
CORTES RODRIGUEZ, ANA E         ADDRESS ON FILE
CORTES RODRIGUEZ, ANGELICA      ADDRESS ON FILE
CORTES RODRIGUEZ, DAISY         ADDRESS ON FILE




                                                                            Page 1830 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1831 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES RODRIGUEZ, ENEIDA        ADDRESS ON FILE
CORTES RODRIGUEZ, EVELYN        ADDRESS ON FILE
CORTES RODRIGUEZ, FELIX         ADDRESS ON FILE
CORTES RODRIGUEZ, FELIX         ADDRESS ON FILE
CORTES RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
CORTES RODRIGUEZ, GLADYS        ADDRESS ON FILE
CORTES RODRIGUEZ, GLADYS E.     ADDRESS ON FILE
CORTES RODRIGUEZ, GLENDALIZ     ADDRESS ON FILE
CORTES RODRIGUEZ, GLORIMAR      ADDRESS ON FILE
CORTES RODRIGUEZ, HECTOR L      ADDRESS ON FILE
CORTES RODRIGUEZ, HECTOR M      ADDRESS ON FILE
CORTES RODRIGUEZ, JACQUELINE    ADDRESS ON FILE
CORTES RODRIGUEZ, JAVIER        ADDRESS ON FILE
Cortes Rodriguez, Jesus M.      ADDRESS ON FILE
CORTES RODRIGUEZ, JUAN          ADDRESS ON FILE
CORTES RODRIGUEZ, KEVIN         ADDRESS ON FILE
CORTES RODRIGUEZ, LAURA NILSA   ADDRESS ON FILE
Cortes Rodriguez, Linda B.      ADDRESS ON FILE
CORTES RODRIGUEZ, LOYDA         ADDRESS ON FILE
CORTES RODRIGUEZ, LUCELILA      ADDRESS ON FILE
CORTES RODRIGUEZ, LUIS M        ADDRESS ON FILE
CORTES RODRIGUEZ, LUZ T         ADDRESS ON FILE
CORTES RODRIGUEZ, MAITE M       ADDRESS ON FILE
CORTES RODRIGUEZ, MARIA DE      ADDRESS ON FILE
CORTES RODRIGUEZ, MARIO         ADDRESS ON FILE
CORTES RODRIGUEZ, MIGUEL        ADDRESS ON FILE
CORTES RODRIGUEZ, MILDRED       ADDRESS ON FILE
CORTES RODRIGUEZ, NIXSA         ADDRESS ON FILE
CORTES RODRIGUEZ, PEDRO         ADDRESS ON FILE
CORTES RODRIGUEZ, ROSE A        ADDRESS ON FILE
CORTES RODRIGUEZ, RUDY E        ADDRESS ON FILE
CORTES RODRIGUEZ, RUTH          ADDRESS ON FILE
Cortes Rodriguez, Ruth N        ADDRESS ON FILE
CORTES RODRIGUEZ, SANDRA        ADDRESS ON FILE
CORTES RODRIGUEZ, SANDRA        ADDRESS ON FILE
CORTES RODRIGUEZ, SANDRA L.     ADDRESS ON FILE
CORTES RODRIGUEZ, VICTOR M      ADDRESS ON FILE
CORTES RODRIGUEZ, WILFREDO      ADDRESS ON FILE
CORTES RODRIGUEZ, WILFREDO      ADDRESS ON FILE
CORTES RODRIGUEZ, WILLIAM       ADDRESS ON FILE
CORTES RODRIGUEZ, WILLIAM       ADDRESS ON FILE
CORTES RODRIGUEZ, YESENIA       ADDRESS ON FILE
CORTES RODRIGUEZ, ZULENA        ADDRESS ON FILE
CORTES ROJAS, YAILEEN           ADDRESS ON FILE
CORTES ROLDAN, JUAN A           ADDRESS ON FILE
CORTES ROLON, ANTONIO           ADDRESS ON FILE
CORTES ROLON, GREGORIO          ADDRESS ON FILE
CORTES ROMAN, AIDA              ADDRESS ON FILE
CORTES ROMAN, ANA I             ADDRESS ON FILE
CORTES ROMAN, ANGEL             ADDRESS ON FILE
CORTES ROMAN, ANGEL M.          ADDRESS ON FILE
CORTES ROMAN, DANIEL            ADDRESS ON FILE
CORTES ROMAN, EFRAIN            ADDRESS ON FILE
CORTES ROMAN, EVELYN            ADDRESS ON FILE
CORTES ROMAN, GAMALIEL          ADDRESS ON FILE
CORTES ROMAN, JAIME L           ADDRESS ON FILE
CORTES ROMAN, JOHNNY            ADDRESS ON FILE
CORTES ROMAN, LUIS              ADDRESS ON FILE
CORTES ROMAN, LUIS              ADDRESS ON FILE
CORTES ROMAN, MARIA E.          ADDRESS ON FILE




                                                                            Page 1831 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1832 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES ROMAN, MARILYN        ADDRESS ON FILE
CORTES ROMAN, MILDRED G      ADDRESS ON FILE
CORTES ROMAN, MOISES         ADDRESS ON FILE
CORTES ROMAN, NOEMI          ADDRESS ON FILE
CORTES ROMAN, TERESA         ADDRESS ON FILE
Cortes Roman, Victor M       ADDRESS ON FILE
CORTES ROMAN, YILLIAN        ADDRESS ON FILE
CORTES ROMERO, EDWIN         ADDRESS ON FILE
CORTES ROSA, ELVIS           ADDRESS ON FILE
CORTES ROSA, ELVIS           ADDRESS ON FILE
CORTES ROSA, JORGE L.        ADDRESS ON FILE
CORTES ROSA, LUZ E.          ADDRESS ON FILE
CORTES ROSADO, CARLOS        ADDRESS ON FILE
CORTES ROSADO, EVELYN        ADDRESS ON FILE
CORTES ROSADO, GIOVANNI      ADDRESS ON FILE
CORTES ROSADO, ISIDRO        ADDRESS ON FILE
CORTES ROSADO, MANUEL A      ADDRESS ON FILE
CORTES ROSADO, MARIBEL       ADDRESS ON FILE
Cortes Rosado, Orlando       ADDRESS ON FILE
CORTES ROSADO, SANDRA M      ADDRESS ON FILE
CORTES ROSARIO, DARITZA      ADDRESS ON FILE
Cortes Rosario, Elba I       ADDRESS ON FILE
CORTES ROSARIO, FREDDY       ADDRESS ON FILE
CORTES ROSARIO, GUIMEL       ADDRESS ON FILE
CORTES ROSARIO, LORENA       ADDRESS ON FILE
CORTES ROSERO, JAMES         ADDRESS ON FILE
CORTES RUIZ, DAVID           ADDRESS ON FILE
CORTES RUIZ, JONATHAN        ADDRESS ON FILE
CORTES RUIZ, LOURDES         ADDRESS ON FILE
CORTES RUIZ, LUIS            ADDRESS ON FILE
CORTES RUIZ, MYRIAM          ADDRESS ON FILE
CORTES RUIZ, NOEMI           ADDRESS ON FILE
CORTES RUIZ, ROSAYME         ADDRESS ON FILE
Cortes Ruiz, Vivianette      ADDRESS ON FILE
CORTES SAAVEDRA, MERCEDES    ADDRESS ON FILE
CORTES SAEZ, CARMEN          ADDRESS ON FILE
CORTES SAEZ, JUAN            ADDRESS ON FILE
Cortes Sala, Samuel          ADDRESS ON FILE
CORTES SALAS, ELIZABETH      ADDRESS ON FILE
Cortes Salas, Reinaldo       ADDRESS ON FILE
CORTES SALDANA, ALBERTO      ADDRESS ON FILE
CORTES SALGADO, CESAR        ADDRESS ON FILE
CORTES SALINAS, MIRIAM       ADDRESS ON FILE
CORTES SALVA, LUIS           ADDRESS ON FILE
Cortes Sanchez, Jose A       ADDRESS ON FILE
Cortes Sanchez, Juan C       ADDRESS ON FILE
CORTES SANCHEZ, JUAN C.      ADDRESS ON FILE
CORTES SANCHEZ, MADELINE     ADDRESS ON FILE
CORTES SANCHEZ, RAFAEL A.    ADDRESS ON FILE
CORTES SANCHEZ, RAMON        ADDRESS ON FILE
CORTES SANCHEZ, WANDA        ADDRESS ON FILE
CORTES SANCHEZ, WANDA I      ADDRESS ON FILE
CORTES SANDOZ, NYDIA I       ADDRESS ON FILE
CORTES SANTANA, ANNIE        ADDRESS ON FILE
CORTES SANTANA, LILLIAM L    ADDRESS ON FILE
CORTES SANTANA, LUIS M       ADDRESS ON FILE
CORTES SANTANA, RAMON        ADDRESS ON FILE
CORTES SANTIAGO MD, JOSE A   ADDRESS ON FILE
CORTES SANTIAGO, CARMEN C    ADDRESS ON FILE
CORTES SANTIAGO, HEBER D.    ADDRESS ON FILE




                                                                         Page 1832 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1833 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES SANTIAGO, ILIA M       ADDRESS ON FILE
CORTES SANTIAGO, JENNIFER     ADDRESS ON FILE
Cortes Santiago, Joel         ADDRESS ON FILE
CORTES SANTIAGO, JORGE        ADDRESS ON FILE
CORTES SANTIAGO, JUAN A       ADDRESS ON FILE
CORTES SANTIAGO, JUANA E      ADDRESS ON FILE
Cortes Santiago, Miguel       ADDRESS ON FILE
CORTES SANTIAGO, MIGUEL       ADDRESS ON FILE
CORTES SANTIAGO, OSCAR        ADDRESS ON FILE
Cortes Santiago, Oscar M      ADDRESS ON FILE
CORTES SANTIAGO, PEDRO        ADDRESS ON FILE
CORTES SANTIAGO, RAFAEL       ADDRESS ON FILE
CORTES SANTIAGO, RAMONA       ADDRESS ON FILE
CORTES SANTIAGO, ROBERTO      ADDRESS ON FILE
Cortes Santiago, Tomas        ADDRESS ON FILE
CORTES SANTIAGO, VICTOR       ADDRESS ON FILE
CORTES SANTOS MD, HECTOR M    ADDRESS ON FILE
Cortes Santos, Fidel A.       ADDRESS ON FILE
CORTES SANTOS, JOSE L.        ADDRESS ON FILE
CORTES SANTOS, JUAN P         ADDRESS ON FILE
CORTES SANTOS, MARIA D        ADDRESS ON FILE
CORTES SANTOS, MILAGROS       ADDRESS ON FILE
CORTES SANTOS, NITZA E.       ADDRESS ON FILE
CORTES SEGARRA, DIEGO         ADDRESS ON FILE
CORTES SEGARRA, PEDRO         ADDRESS ON FILE
CORTES SEGUI, ENRIQUE         ADDRESS ON FILE
Cortes Sein, Carlos I.        ADDRESS ON FILE
Cortes Sein, Frances Janet    ADDRESS ON FILE
Cortes Sein, Juan C           ADDRESS ON FILE
CORTES SERBIA, GLADYS         ADDRESS ON FILE
CORTES SERRANO, CARMEN        ADDRESS ON FILE
CORTES SERRANO, ENRIQUE       ADDRESS ON FILE
CORTES SIERRA, OMAR           ADDRESS ON FILE
CORTES SILVA, LUIS            ADDRESS ON FILE
CORTES SILVA, ROSARIO         ADDRESS ON FILE
CORTES SITIARICHE, JAMES      ADDRESS ON FILE
CORTES SOLIS, ADA A           ADDRESS ON FILE
CORTES SOLIS, DENNIS          ADDRESS ON FILE
CORTES SOLTREN, MARISEL       ADDRESS ON FILE
CORTES SOTO MD, GREGORIO A    ADDRESS ON FILE
CORTES SOTO, ALBA             ADDRESS ON FILE
Cortes Soto, Aracelio         ADDRESS ON FILE
CORTES SOTO, BIENVENIDO       ADDRESS ON FILE
CORTES SOTO, DIANA            ADDRESS ON FILE
CORTES SOTO, GERINELDO        ADDRESS ON FILE
CORTES SOTO, HECTOR           ADDRESS ON FILE
CORTES SOTO, JAVIER ERNESTO   ADDRESS ON FILE
CORTES SOTO, JORGE LUIS       ADDRESS ON FILE
CORTES SOTO, JOSE R           ADDRESS ON FILE
CORTES SOTO, MARIA            ADDRESS ON FILE
CORTES SOTO, RAFAEL E.        ADDRESS ON FILE
Cortes Soto, Roberto          ADDRESS ON FILE
CORTES SUAREZ, ELENA          ADDRESS ON FILE
CORTES SUAREZ, HECTOR         ADDRESS ON FILE
CORTES SUAREZ, MARITZA        ADDRESS ON FILE
CORTES SYLVESTER, CHRISTIAN   ADDRESS ON FILE
CORTES TIRADO, ALIDA          ADDRESS ON FILE
CORTES TIRADO, CARLOS         ADDRESS ON FILE
Cortes Tirado, Carlos J       ADDRESS ON FILE
Cortes Torres, Ana Delia      ADDRESS ON FILE




                                                                          Page 1833 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1834 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTES TORRES, ARIEL          ADDRESS ON FILE
CORTES TORRES, CARMEN N       ADDRESS ON FILE
CORTES TORRES, DANERYS M      ADDRESS ON FILE
Cortes Torres, David          ADDRESS ON FILE
CORTES TORRES, GREYHTON       ADDRESS ON FILE
CORTES TORRES, GUILLERMO      ADDRESS ON FILE
Cortes Torres, Heriberto      ADDRESS ON FILE
CORTES TORRES, HERIBERTO      ADDRESS ON FILE
CORTES TORRES, JOBAN          ADDRESS ON FILE
CORTES TORRES, JORGE I        ADDRESS ON FILE
CORTES TORRES, JOSE           ADDRESS ON FILE
CORTES TORRES, JOSE A.        ADDRESS ON FILE
CORTES TORRES, MARIELI        ADDRESS ON FILE
CORTES TORRES, MAXIMINA       ADDRESS ON FILE
CORTES TORRES, MIGUEL         ADDRESS ON FILE
CORTES TORRES, NATHANIEL      ADDRESS ON FILE
CORTES TORRES, NORMA I        ADDRESS ON FILE
CORTES TORRES, SHEILLA M      ADDRESS ON FILE
CORTES TORRES, WILSON         ADDRESS ON FILE
CORTES TORRES, ZORAIDA        ADDRESS ON FILE
CORTES TORRES,LUIS            ADDRESS ON FILE
CORTES TORREZ, WANDA          ADDRESS ON FILE
CORTES TRINIDAD, SONIA        ADDRESS ON FILE
CORTES VALENCIA, SONIA M      ADDRESS ON FILE
Cortes Valenti, Francisco J   ADDRESS ON FILE
CORTES VALENTIN, FRANCISCO    ADDRESS ON FILE
CORTES VALENTIN, JACQUELINE   ADDRESS ON FILE
CORTES VALENTIN, LUIS E       ADDRESS ON FILE
CORTES VALEST, JOHN           ADDRESS ON FILE
CORTES VALLE, EVELYN          ADDRESS ON FILE
CORTES VALLE, JOSE GILBERTO   ADDRESS ON FILE
CORTES VALLE, JUAN            ADDRESS ON FILE
CORTES VARELA, KARELIS        ADDRESS ON FILE
CORTES VARGAS, ANA E.         ADDRESS ON FILE
CORTES VARGAS, ERNESTO L      ADDRESS ON FILE
CORTES VARGAS, EVA N          ADDRESS ON FILE
CORTES VARGAS, FELIX          ADDRESS ON FILE
CORTES VARGAS, JORGE          ADDRESS ON FILE
CORTES VARGAS, OVIDIO         ADDRESS ON FILE
Cortes Vargas, Raul           ADDRESS ON FILE
CORTES VARGAS, TEOFILO        ADDRESS ON FILE
CORTES VARGAS, ZORAIDA        ADDRESS ON FILE
CORTES VAZQUEZ, ABIGAIL       ADDRESS ON FILE
CORTES VAZQUEZ, ABIGAIL       ADDRESS ON FILE
CORTES VAZQUEZ, ANA L         ADDRESS ON FILE
CORTES VAZQUEZ, ANDRES        ADDRESS ON FILE
CORTES VAZQUEZ, CARMEN L      ADDRESS ON FILE
CORTES VAZQUEZ, FELIX M.      ADDRESS ON FILE
CORTES VAZQUEZ, FERNANDO      ADDRESS ON FILE
CORTES VAZQUEZ, HERMER        ADDRESS ON FILE
CORTES VAZQUEZ, IVETTE        ADDRESS ON FILE
CORTES VAZQUEZ, JAQUELINE     ADDRESS ON FILE
CORTES VAZQUEZ, JAVIER        ADDRESS ON FILE
CORTES VAZQUEZ, JEANNETTE     ADDRESS ON FILE
CORTES VAZQUEZ, JOY           ADDRESS ON FILE
CORTES VAZQUEZ, KARLA         ADDRESS ON FILE
CORTES VAZQUEZ, MYRIAM        ADDRESS ON FILE
CORTES VAZQUEZ, NITZA I       ADDRESS ON FILE
CORTES VAZQUEZ, PEDRO M       ADDRESS ON FILE
CORTES VAZQUEZ, RAFAEL        ADDRESS ON FILE




                                                                          Page 1834 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1835 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cortes Vazquez, Wanda I       ADDRESS ON FILE
CORTES VAZQUEZ, ZAYBETTE      ADDRESS ON FILE
CORTES VEGA, ADELAIDA         ADDRESS ON FILE
CORTES VEGA, ESTHER           ADDRESS ON FILE
CORTES VEGA, FRANCISCO        ADDRESS ON FILE
CORTES VEGA, JOICE            ADDRESS ON FILE
Cortes Vega, Juan R           ADDRESS ON FILE
CORTES VELAZQUEZ, DANIEL      ADDRESS ON FILE
CORTES VELAZQUEZ, EFRAIN      ADDRESS ON FILE
CORTES VELAZQUEZ, HEIDI       ADDRESS ON FILE
CORTES VELAZQUEZ, LUZ D       ADDRESS ON FILE
CORTES VELAZQUEZ, MARCOS J    ADDRESS ON FILE
CORTES VELAZQUEZ,VIVIANETTE   ADDRESS ON FILE
CORTES VELEZ, AMPARITO        ADDRESS ON FILE
CORTES VELEZ, ANGELICA M      ADDRESS ON FILE
CORTES VELEZ, IVELISSE W      ADDRESS ON FILE
Cortes Velez, Jose R          ADDRESS ON FILE
CORTES VELEZ, JUAN A          ADDRESS ON FILE
CORTES VELEZ, LOURDES         ADDRESS ON FILE
CORTES VELEZ, LUIS A          ADDRESS ON FILE
CORTES VELEZ, MELVIN          ADDRESS ON FILE
CORTES VELEZ, NANCY           ADDRESS ON FILE
CORTES VELEZ, NANCY           ADDRESS ON FILE
CORTES VERA, BRENDA           ADDRESS ON FILE
Cortes Vera, Jose             ADDRESS ON FILE
CORTES VILLALOBOS, KATIRIA    ADDRESS ON FILE
CORTES VILLANUEVA, GIOVANNI   ADDRESS ON FILE
CORTES VILLANUEVA, IZAIDA     ADDRESS ON FILE
CORTES VILLANUEVA, JUAN G     ADDRESS ON FILE
CORTES VIRELLA, JENNIFER      ADDRESS ON FILE
CORTES VIRUET, RAUL           ADDRESS ON FILE
CORTES WALKER, DALIA          ADDRESS ON FILE
Cortes Zea, Wilfredo          ADDRESS ON FILE
CORTES ZENO, JULIO C          ADDRESS ON FILE
CORTES, HERMENEGILDO          ADDRESS ON FILE
CORTES, JAIME L.              ADDRESS ON FILE
CORTES, NORMA I               ADDRESS ON FILE
CORTES, RAYZEL                ADDRESS ON FILE
CORTES, SUHAIL                ADDRESS ON FILE
CORTES, WILFREDO              ADDRESS ON FILE
CORTES,ELIEZER                ADDRESS ON FILE
CORTESBELGODERYS, ANGEL       ADDRESS ON FILE
CORTESCABAN, RICARDO          ADDRESS ON FILE
CORTEVILLE HICKNER, BRIAN F   ADDRESS ON FILE
CORTEZ COLON, SHIRLEY M       ADDRESS ON FILE
CORTEZ DAVILA, MICHELLE       ADDRESS ON FILE
CORTEZ DIAZ, MARIAM           ADDRESS ON FILE
CORTEZ GOMEZ, WILFREDO        ADDRESS ON FILE
CORTEZ HERNANDEZ, EVELIN      ADDRESS ON FILE
CORTEZ HERNANDEZ, YAIRA       ADDRESS ON FILE
CORTEZ ORTIZ, NANCY J         ADDRESS ON FILE
CORTEZ ORTIZ, RICARDO         ADDRESS ON FILE
CORTEZ QUILES, VIRGILIO       ADDRESS ON FILE
CORTEZ RAMOS, IVELISSE        ADDRESS ON FILE
CORTEZ RIVERA, MARITZA        ADDRESS ON FILE
CORTEZ RIVERO, JEMIMAH        ADDRESS ON FILE
CORTEZ RODRIGUEZ, ARNALDO     ADDRESS ON FILE
CORTEZ RODRIGUEZ, DAVID       ADDRESS ON FILE
CORTEZ RODRIGUEZ, JOHN        ADDRESS ON FILE
CORTEZ RUIZ, MILDRED          ADDRESS ON FILE




                                                                          Page 1835 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1836 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CORTEZ SALDANA, ANGEL          ADDRESS ON FILE
CORTEZ VELEZ, CARLOS           ADDRESS ON FILE
CORTEZ VILLANUEVA, JESSICA     ADDRESS ON FILE
CORTI GARCIA, JULIA A          ADDRESS ON FILE
CORTI MORALES, MIGUEL ANGEL    ADDRESS ON FILE
CORTI SOTO, MIGUEL             ADDRESS ON FILE
CORTIJO ALVARADO, JONATHAN A   ADDRESS ON FILE
CORTIJO ANDINO, VILMA          ADDRESS ON FILE
CORTIJO APOLINARIS, RICARDO    ADDRESS ON FILE
CORTIJO APOLINARIS, RICARDO    ADDRESS ON FILE
CORTIJO APOLINARIS, ROSA M.    ADDRESS ON FILE
CORTIJO CALDERON, ANGEL        ADDRESS ON FILE
CORTIJO CONCEPCION, ANTONIO    ADDRESS ON FILE
CORTIJO CONCEPCION, VILMA      ADDRESS ON FILE
CORTIJO COTTO, WILDALIZ        ADDRESS ON FILE
CORTIJO CRUZ, MISAEL           ADDRESS ON FILE
CORTIJO DE JESUS, MARTIN       ADDRESS ON FILE
CORTIJO FIGUEROA, AIDA L       ADDRESS ON FILE
CORTIJO FIGUEROA, SONIA        ADDRESS ON FILE
CORTIJO FLORES KEYLA           URB MONTECARLO            1350 CALLE 8                                           SAN JUAN     PR      00924
CORTIJO FLORES, KEYLA M        ADDRESS ON FILE
CORTIJO GARCIA, HIPOLITA       ADDRESS ON FILE
CORTIJO GARCIA, JUSTINA        ADDRESS ON FILE
CORTIJO GARCIA, MATILDE        ADDRESS ON FILE
CORTIJO GARCIA, SERGIO         ADDRESS ON FILE
CORTIJO GONZALEZ, MARITZA      ADDRESS ON FILE
CORTIJO GOYENA, CARMEN M.      ADDRESS ON FILE
CORTIJO GOYENA, LUZ            ADDRESS ON FILE
CORTIJO GOYENA, LUZ M.         ADDRESS ON FILE
CORTIJO GOYENA, RAMON J        ADDRESS ON FILE
Cortijo Jorge, Ana D.          ADDRESS ON FILE
CORTIJO JORGE, ANA D.          ADDRESS ON FILE
CORTIJO LAMAR, IRMA M          ADDRESS ON FILE
CORTIJO MANSO, AXEL U          ADDRESS ON FILE
CORTIJO MANSO, HAROLD          ADDRESS ON FILE
CORTIJO MANSO, IVETTE M        ADDRESS ON FILE
CORTIJO MANSO, NYVIA           ADDRESS ON FILE
CORTIJO MARQUEZ, JEANNETTE I   ADDRESS ON FILE
CORTIJO MARRERO, JUAN A        ADDRESS ON FILE
CORTIJO MARRERO, MARIMAR       ADDRESS ON FILE
CORTIJO MEDINA, CARLOS A.      ADDRESS ON FILE
CORTIJO MITCHELL, MARIA DE L   ADDRESS ON FILE
CORTIJO MUNOZ, ESMERALDA       ADDRESS ON FILE
CORTIJO ORTIZ, ELSIE A.        ADDRESS ON FILE
CORTIJO ORTIZ, MARIVELIZ       ADDRESS ON FILE
CORTIJO OSORIO, LUIS           ADDRESS ON FILE
CORTIJO PADILLA, IVAN          ADDRESS ON FILE
CORTIJO PADILLA, IVAN          ADDRESS ON FILE
CORTIJO PAGAN, ABIMAEL         ADDRESS ON FILE
CORTIJO PENALOZA, DAVID        ADDRESS ON FILE
CORTIJO PEREZ, MARY            ADDRESS ON FILE
CORTIJO PIZARRO, HECTOR E.     ADDRESS ON FILE
CORTIJO PIZARRO, HECTOR E.     ADDRESS ON FILE
CORTIJO RIVERA, GLORIBEL       ADDRESS ON FILE
CORTIJO RIVERA, LILLIAM        ADDRESS ON FILE
CORTIJO RIVERA, MARIA DEL      ADDRESS ON FILE
CORTIJO RIVERA, MARIA E        ADDRESS ON FILE
CORTIJO RIVERA, SARAHI         ADDRESS ON FILE
CORTIJO RIVERA, SONIA          ADDRESS ON FILE
CORTIJO ROMAN, LIZETTIE        ADDRESS ON FILE




                                                                           Page 1836 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1837 of 3500
                                                                               17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                   Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
CORTIJO ROMAN, YOLANDA          ADDRESS ON FILE
CORTIJO ROSARIO, JAVIER         ADDRESS ON FILE
CORTIJO ROSARIO, MARIA L        ADDRESS ON FILE
CORTIJO SANCHEZ, AIDA E.        ADDRESS ON FILE
CORTIJO SANCHEZ, MILDRED        ADDRESS ON FILE
CORTIJO SANTIAGO, ERNESTO       ADDRESS ON FILE
CORTIJO SANTIAGO, NIZI A        ADDRESS ON FILE
CORTIJO SERRANO, BARBARA A.     ADDRESS ON FILE
CORTIJO SERRANO, MIGUEL         ADDRESS ON FILE
CORTIJO SERRANO, MIGUEL A.      ADDRESS ON FILE
CORTIJO SOSA, FRANKLIN          ADDRESS ON FILE
CORTIJO SUAREZ, YAHAIRA         ADDRESS ON FILE
CORTIJO VERGES, GREGORIA        ADDRESS ON FILE
CORTIJO VILLEGAS, CINTHYA J     ADDRESS ON FILE
CORTIJO VILLEGAS, CINTYA J.     ADDRESS ON FILE
CORTIJO VILLOCK, LOURDELY       ADDRESS ON FILE
CORTIJO, EDWIN                  ADDRESS ON FILE
CORTINA ALDEBOL, MARIANNE       ADDRESS ON FILE
CORTINA CRUZ, JEANETTE          ADDRESS ON FILE
CORTINA CRUZ, RAFAEL            ADDRESS ON FILE
CORTINA MARTINEZ, ADRIANA       ADDRESS ON FILE
CORTINA RODRIGUEZ, DAVID        ADDRESS ON FILE
CORTINA RODRIGUEZ, NESTOR R     ADDRESS ON FILE
CORTINAS DELICIAS               BO MAGUAYO                219 CALLE RIVERA                                        LAJAS        PR      00667
CORTINAS SERRANO, BARBARA       ADDRESS ON FILE
CORTINOVIS SMIKOFF, CARLOS      ADDRESS ON FILE
CORTNEY LYNN MCCORMICK          ADDRESS ON FILE
CORTON SANCHEZ, CARMEN          ADDRESS ON FILE
CORTORREAL SOTO, FREDDIE O.     ADDRESS ON FILE
CORUJO CASTRO, CARMEN           ADDRESS ON FILE
CORUJO COLLAZO, JUAN            ADDRESS ON FILE
CORUJO COLLAZO, LUIS F          ADDRESS ON FILE
CORUJO CRUZ, ROSA               ADDRESS ON FILE
CORUJO DELGADO, NEYDA I.        ADDRESS ON FILE
CORUJO DIAZ, YAMILET            ADDRESS ON FILE
CORUJO ESPADA, JOHAN            ADDRESS ON FILE
CORUJO ESQUILIN, ENRIQUE        ADDRESS ON FILE
CORUJO ESQUILIN, ENRIQUE        ADDRESS ON FILE
CORUJO ESQUILIN, NIKOLE         ADDRESS ON FILE
CORUJO FIGUEROA, EFREN          ADDRESS ON FILE
CORUJO FIGUEROA, JOSE           ADDRESS ON FILE
CORUJO FIGUEROA, JOSE E         ADDRESS ON FILE
CORUJO FIGUEROA, RAY            ADDRESS ON FILE
CORUJO FINANCIAL SERVICES INC   654 PLAZA STE 915                                                                 SAN JUAN     PR      00918
CORUJO FLORES, IRIS N.          ADDRESS ON FILE
CORUJO GELABERT, CARLOS         ADDRESS ON FILE
CORUJO GONZALEZ, DAVID          ADDRESS ON FILE
CORUJO JUAN, CLARISSA           ADDRESS ON FILE
CORUJO JUAN, JORGE L.           ADDRESS ON FILE
CORUJO LOPEZ, MARY A            ADDRESS ON FILE
CORUJO MALDONADO, ZELIDETH      ADDRESS ON FILE
CORUJO MARTINEZ, ADELE          ADDRESS ON FILE
CORUJO MOJICA, HILDA            ADDRESS ON FILE
Corujo Molina, Pedro L.         ADDRESS ON FILE
CORUJO OYOLA, JANICE            ADDRESS ON FILE
CORUJO PENA, GILBERTO           ADDRESS ON FILE
CORUJO PENA, SONIA I            ADDRESS ON FILE
CORUJO PEREZ, JULISSA           ADDRESS ON FILE
CORUJO PEREZ, LUIS              ADDRESS ON FILE
CORUJO RIVERA, RAYSSA           ADDRESS ON FILE




                                                                             Page 1837 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1838 of 3500
                                                                               17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                   Address1                     Address2                         Address3   Address4   City           State   PostalCode   Country
CORUJO RIVERA, SHERI M          ADDRESS ON FILE
CORUJO RUIZ, CARLOS             ADDRESS ON FILE
CORUJO SANCHEZ MD, JAZMIN       ADDRESS ON FILE
CORUJO SOTO, CESAR              ADDRESS ON FILE
Corujo Soto, Sergio A           ADDRESS ON FILE
CORUJO TORRES, MIGDALIA         ADDRESS ON FILE
CORUJO VARGAS, YARITZA          ADDRESS ON FILE
CORUJO VAZQUEZ, JOVAN           ADDRESS ON FILE
CORUJO VAZQUEZ, SHALIMAR        ADDRESS ON FILE
CORUJO VELAZQUEZ, ENRIQUE       ADDRESS ON FILE
CORUJO VELEZ, LUIS              ADDRESS ON FILE
CORUJO VILLA, SANDRA            ADDRESS ON FILE
CORVINGTON VERGE, IRENE M.      ADDRESS ON FILE
CORVINGTON VERGE, SYBIL B       ADDRESS ON FILE
CORVISON IGLESIAS, MARICARMEN   ADDRESS ON FILE
CORWIN JAMES, BERTRAM           ADDRESS ON FILE
CORWIN MD, DAVID                ADDRESS ON FILE
CORZO AVILA, PATRICIA C         ADDRESS ON FILE
CORZO MELENDEZ MD, JORGE E      ADDRESS ON FILE
COS INSURANCE AGENCY INC        PO BOX 9948                                                                         ARECIBO        PR      00613
COSA BUENA, INC                 B5 TABONUCO                  STE 216 PMB 261                                        GUAYNABO       PR      00968
CO‐SANTA CRUZ                   DEPARTAMENTO DE HACIENDA                                                            SAN JUAN       PR      00901
COSBY ESQUILIN, YADIRA          ADDRESS ON FILE
COSCDA                          1825 K STREET NW SUITE 515                                                          WASHINGTON     DC      20006
COSME A SANTIAGO SANCHEZ        ADDRESS ON FILE
COSME ABDEL, EDJOSEPH           ADDRESS ON FILE
COSME ACOSTA, VONMARIE          ADDRESS ON FILE
COSME ADORNO, PEDRO             ADDRESS ON FILE
COSME AIR CONDITION INC         PO BOX 4265                                                                         BAYAMON        PR      00958
COSME ALBINO, ELIZABETH         ADDRESS ON FILE
COSME ALBINO, SANDRA I          ADDRESS ON FILE
COSME ALEJANDRO, FLOR           ADDRESS ON FILE
COSME ALEJANDRO, MARILUZ        ADDRESS ON FILE
COSME ALICEA, MARIA DEL C       ADDRESS ON FILE
COSME ANDINO, FABIAN            ADDRESS ON FILE
COSME ANDINO, FABIAN L          ADDRESS ON FILE
COSME ANDINO, GABRIEL           ADDRESS ON FILE
COSME ANDINO, LUIS              ADDRESS ON FILE
COSME ANDINO, OMAR              ADDRESS ON FILE
COSME ANDRADES, YARHAIRA        ADDRESS ON FILE
COSME APONTE, JESSICA           ADDRESS ON FILE
COSME ARBELO, JOSE              ADDRESS ON FILE
COSME ARCHILLA, YOLIMAR         ADDRESS ON FILE
COSME AVILES, IGNACIO           ADDRESS ON FILE
COSME BAEZ, DAISY M             ADDRESS ON FILE
COSME BAEZ, ELIEZER             ADDRESS ON FILE
Cosme Baldrich, Heriberto       ADDRESS ON FILE
COSME BALDRICH, HERIBERTO       ADDRESS ON FILE
COSME BARBOSA, NANCY            ADDRESS ON FILE
COSME BENITEZ, CARMEN           ADDRESS ON FILE
COSME BERBERENA, MADELINE       ADDRESS ON FILE
COSME BERNARD, SULIMAR          ADDRESS ON FILE
COSME BLANCO, INES A.           ADDRESS ON FILE
COSME BONILLA, CARLOS           ADDRESS ON FILE
Cosme Bonilla, Carlos E         ADDRESS ON FILE
COSME BONILLA, IRIS D           ADDRESS ON FILE
COSME BORRAS, ANGELINA          ADDRESS ON FILE
COSME BORRAS, MILAGROS          ADDRESS ON FILE
COSME BORRAS, SARAI             ADDRESS ON FILE
COSME BOU, ISABEL               ADDRESS ON FILE




                                                                               Page 1838 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1839 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COSME BURGOS, CARMEN M       ADDRESS ON FILE
COSME BURGOS, KELVIN         ADDRESS ON FILE
COSME CABALLERO, FELIX       ADDRESS ON FILE
COSME CABALLERO, MARIA DEL   ADDRESS ON FILE
COSME CABEZA, ANTONIO        ADDRESS ON FILE
COSME CABRERA, ESTEBAN       ADDRESS ON FILE
COSME CALDERO, GUILLERMINA   ADDRESS ON FILE
COSME CALDERON, ANTONIO      ADDRESS ON FILE
COSME CALDERON, CARMEN L     ADDRESS ON FILE
COSME CALDERON, MIGUEL       ADDRESS ON FILE
COSME CAMACHO, CARLOS        ADDRESS ON FILE
COSME CAMACHO, CARLOS        ADDRESS ON FILE
COSME CANCEL, LYDIA E.       ADDRESS ON FILE
COSME CANDELARIO, ROSA       ADDRESS ON FILE
COSME CAPO, JUAN B           ADDRESS ON FILE
COSME CASTILLO, CYNTHIA      ADDRESS ON FILE
COSME CEPEDA, GILBERTO       ADDRESS ON FILE
COSME CHINEA, CARMEN G       ADDRESS ON FILE
Cosme Cintron, Angel H       ADDRESS ON FILE
COSME CINTRON, CARMEN J.     ADDRESS ON FILE
COSME CINTRON, HERMINIA      ADDRESS ON FILE
COSME CINTRON, JULIO         ADDRESS ON FILE
COSME CINTRON, MARIBEL       ADDRESS ON FILE
COSME CINTRON, RICARDO R     ADDRESS ON FILE
COSME COLLAZO, CARLOS        ADDRESS ON FILE
COSME COLON, FLOR A          ADDRESS ON FILE
COSME COLON, IRIS            ADDRESS ON FILE
COSME COLON, IRIS N          ADDRESS ON FILE
COSME CONDIT, NELLY M        ADDRESS ON FILE
COSME CONDIT, NILDA          ADDRESS ON FILE
COSME CORDERO, EDITH M       ADDRESS ON FILE
COSME CORDERO, JORGE         ADDRESS ON FILE
COSME CORDERO, MARTIN        ADDRESS ON FILE
COSME CORDERO, MARTIN        ADDRESS ON FILE
COSME CORREA, OLGA M         ADDRESS ON FILE
COSME COSME, ANGEL           ADDRESS ON FILE
COSME COSME, EVELYN          ADDRESS ON FILE
COSME COSME, FRANCISCO       ADDRESS ON FILE
COSME COSME, JULIA C.        ADDRESS ON FILE
COSME COSME, LUZ             ADDRESS ON FILE
COSME COSME, MARIA I.        ADDRESS ON FILE
COSME COSME, TOMASA          ADDRESS ON FILE
COSME COSME, WANDA           ADDRESS ON FILE
COSME COSME, YOMARIS         ADDRESS ON FILE
COSME CRESPO, KARIMAR        ADDRESS ON FILE
COSME CRESPO, WILLIAM        ADDRESS ON FILE
COSME CRISPIN, WILFREDO      ADDRESS ON FILE
COSME CRUZ, DOMINGO          ADDRESS ON FILE
COSME CRUZ, ISRAEL           ADDRESS ON FILE
COSME CRUZ, SERGIO           ADDRESS ON FILE
COSME CRUZ, WANDA            ADDRESS ON FILE
COSME CUADRADO, AMALIA       ADDRESS ON FILE
COSME CUADRADO, JUAN         ADDRESS ON FILE
COSME DE LA PAZ, ALEIDA      ADDRESS ON FILE
COSME DELGADO, ANA L         ADDRESS ON FILE
COSME DELGADO, BRENDA L      ADDRESS ON FILE
COSME DIAZ, DONEL            ADDRESS ON FILE
COSME DIAZ, EDWIN            ADDRESS ON FILE
COSME DIAZ, ISABELITA        ADDRESS ON FILE
COSME DIAZ, JOEL             ADDRESS ON FILE




                                                                         Page 1839 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1840 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COSME DIAZ, NILDA L         ADDRESS ON FILE
COSME DIAZ, VIRGINIA        ADDRESS ON FILE
COSME DIAZ, WENDELIS        ADDRESS ON FILE
Cosme Diaz, Wilberto        ADDRESS ON FILE
COSME DOMENECH, DAMIAN      ADDRESS ON FILE
COSME DOMENECH, DIANA M     ADDRESS ON FILE
COSME DURAN, OLGA           ADDRESS ON FILE
COSME ESPADA, ADRIANA       ADDRESS ON FILE
COSME ESPADA, BENITA        ADDRESS ON FILE
COSME ESPADA, LETICIA       ADDRESS ON FILE
COSME ESPADA, LETICIA       ADDRESS ON FILE
COSME ESPADA, LUIS A        ADDRESS ON FILE
COSME ESTRELLA, ELBA N      ADDRESS ON FILE
COSME FARIA, CARMEN M       ADDRESS ON FILE
COSME FARIA, EDWIN OMAR     ADDRESS ON FILE
COSME FARIA, WILFREDO       ADDRESS ON FILE
COSME FEBUS, AXEL R.        ADDRESS ON FILE
Cosme Feliciano, Luis A.    ADDRESS ON FILE
COSME FERNANDEZ, HECTOR L   ADDRESS ON FILE
COSME FERNANDEZ, MARIA      ADDRESS ON FILE
COSME FERRER, ANGEL         ADDRESS ON FILE
COSME FERRER, MIRIAM        ADDRESS ON FILE
COSME FERRER, SHAROL P      ADDRESS ON FILE
Cosme Figueroa, Ana J       ADDRESS ON FILE
COSME FIGUEROA, CARMEN T    ADDRESS ON FILE
COSME FIGUEROA, JOSE        ADDRESS ON FILE
COSME FIGUEROA, LUIS E      ADDRESS ON FILE
COSME FIGUEROA, LYDIA E     ADDRESS ON FILE
COSME FIGUEROA, RAMON       ADDRESS ON FILE
COSME FONTANEZ, IRMA L.     ADDRESS ON FILE
COSME FRED, GLEDALIS        ADDRESS ON FILE
COSME FRED, SHEILA          ADDRESS ON FILE
COSME GABRIEL, IVELISSE     ADDRESS ON FILE
COSME GARCIA, ALEXANDRIA    ADDRESS ON FILE
COSME GARCIA, GERARDO       ADDRESS ON FILE
COSME GARCIA, IVONNE M      ADDRESS ON FILE
COSME GARCIA, MARIA P       ADDRESS ON FILE
COSME GARCIA, MYRIAM        ADDRESS ON FILE
COSME GARCIA, ORLANDO       ADDRESS ON FILE
COSME GARCIA, PEDRO J       ADDRESS ON FILE
COSME GARCIA, REYES A       ADDRESS ON FILE
Cosme Gonzalez, Alexis      ADDRESS ON FILE
COSME GONZALEZ, ALEXIS      ADDRESS ON FILE
Cosme Gonzalez, Daniel      ADDRESS ON FILE
COSME GONZALEZ, DANIEL      ADDRESS ON FILE
Cosme Gonzalez, Eliezer     ADDRESS ON FILE
COSME GONZALEZ, JEAN        ADDRESS ON FILE
COSME GONZALEZ, JORGE A     ADDRESS ON FILE
COSME GONZALEZ, NILDA Z     ADDRESS ON FILE
COSME GONZALEZ, ZORAIDA     ADDRESS ON FILE
COSME GRULLON, JOSE         ADDRESS ON FILE
COSME GUADALUPE, AUREA      ADDRESS ON FILE
COSME GUZMAN, EMMANUEL      ADDRESS ON FILE
COSME GUZMAN, JUAN          ADDRESS ON FILE
COSME GUZMAN, LUZ M.        ADDRESS ON FILE
COSME HERNANDEZ, EDUARDO    ADDRESS ON FILE
COSME HERNANDEZ, GERMAN     ADDRESS ON FILE
COSME HERNANDEZ, MARTA I    ADDRESS ON FILE
COSME HERNANDEZ, ROSA       ADDRESS ON FILE
COSME HERNANDEZ, VICTORIA   ADDRESS ON FILE




                                                                        Page 1840 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1841 of 3500
                                                                            17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                Address1                        Address2                    Address3   Address4   City        State   PostalCode   Country
COSME HERNANDEZ, YOLISSETE   ADDRESS ON FILE
COSME JIMENEZ, CARLOS        ADDRESS ON FILE
COSME JIMENEZ, OMAR          ADDRESS ON FILE
COSME LABOY, JUAN            ADDRESS ON FILE
COSME LOPEZ, EDITH E.        ADDRESS ON FILE
COSME LOPEZ, EDUARDO         ADDRESS ON FILE
COSME LOPEZ, JORGE L         ADDRESS ON FILE
COSME LOPEZ, JOSE            ADDRESS ON FILE
COSME LOPEZ, MARIA L         ADDRESS ON FILE
COSME LOPEZ, MARYANNE        ADDRESS ON FILE
COSME LOPEZ, NORMA I         ADDRESS ON FILE
COSME LOPEZ, ROSEANY         ADDRESS ON FILE
COSME LOPEZ, SHARON          ADDRESS ON FILE
COSME LOPEZ, YOLANDA I.      ADDRESS ON FILE
COSME LOZADA, EVIAN L        ADDRESS ON FILE
Cosme Lozada, Jorge          ADDRESS ON FILE
COSME LOZADA, MARIA E        ADDRESS ON FILE
COSME LUCIANO, GABRIEL       ADDRESS ON FILE
COSME LUCIANO, GILBERT       ADDRESS ON FILE
COSME LUCIANO, GIOVANNI      ADDRESS ON FILE
COSME LUINA, MARIA V.        ADDRESS ON FILE
COSME LUIS RIVERA LOPEZ      FRANCIS & GUEIT'S LAW OFFICES   PO BOX 267                                        CAGUAS      PR      00726
COSME MALDONADO, ALBERTO     ADDRESS ON FILE
COSME MALDONADO, ANER        ADDRESS ON FILE
COSME MALDONADO, CARLOS      ADDRESS ON FILE
Cosme Maldonado, Carlos V    ADDRESS ON FILE
COSME MALDONADO, EMER        ADDRESS ON FILE
COSME MALDONADO, EMER        ADDRESS ON FILE
COSME MARCANO, ARACELIS      ADDRESS ON FILE
COSME MARCANO, ROSALIA       ADDRESS ON FILE
COSME MARQUEZ, CELIA R.      ADDRESS ON FILE
COSME MARRERO, ALEXANDER     ADDRESS ON FILE
COSME MARRERO, AUREA         ADDRESS ON FILE
COSME MARRERO, CRISTINA J    ADDRESS ON FILE
COSME MARRERO, GLADYS I      ADDRESS ON FILE
COSME MARRERO, MARIA DEL C   ADDRESS ON FILE
COSME MARTIN, JAVIER         ADDRESS ON FILE
COSME MARTINEZ, ANGEL E      ADDRESS ON FILE
COSME MARTINEZ, ELISEO       ADDRESS ON FILE
COSME MARTINEZ, ELISEO       ADDRESS ON FILE
COSME MARTINEZ, ENEIDA       ADDRESS ON FILE
COSME MARTINEZ, JORGE L      ADDRESS ON FILE
COSME MARTINEZ, NANCY        ADDRESS ON FILE
COSME MARTINEZ, ROSA M       ADDRESS ON FILE
COSME MATOS, NANCY IVETTE    ADDRESS ON FILE
COSME MATOS, SOL A           ADDRESS ON FILE
COSME MELENDEZ, FERNANDO     ADDRESS ON FILE
COSME MENDEZ, EDUARDO        ADDRESS ON FILE
COSME MERCADO, ROSA M        ADDRESS ON FILE
COSME MINTANEZ, SHIRLEY      ADDRESS ON FILE
COSME MIRANDA, MARIA         ADDRESS ON FILE
COSME MIRANDA, MARIA DEL C   ADDRESS ON FILE
COSME MOJICA, GLISEL         ADDRESS ON FILE
Cosme Mojica, Jose W.        ADDRESS ON FILE
COSME MOLINA, JOHANNA        ADDRESS ON FILE
COSME MONTALVO, WANDA        ADDRESS ON FILE
COSME MONTANEZ, YANIRIS      ADDRESS ON FILE
COSME MORALES, ANA M         ADDRESS ON FILE
COSME MORALES, ANDRES        ADDRESS ON FILE
COSME MORALES, CARMEN I      ADDRESS ON FILE




                                                                          Page 1841 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1842 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COSME MORALES, JAVIER         ADDRESS ON FILE
COSME MORALES, MARIA M.       ADDRESS ON FILE
COSME MORALES, MIGDALIA       ADDRESS ON FILE
COSME MORALES, OSCAR          ADDRESS ON FILE
COSME MUNIZ, JOSE             ADDRESS ON FILE
COSME NATER, EDRIK            ADDRESS ON FILE
COSME NAZARIO, ROSAMIL        ADDRESS ON FILE
COSME NEGRON, JORGE           ADDRESS ON FILE
COSME NEGRON, JOSE            ADDRESS ON FILE
Cosme Negron, Jose Anibal     ADDRESS ON FILE
COSME NEGRON, LIZZETTE        ADDRESS ON FILE
COSME NEGRON, YAMIL           ADDRESS ON FILE
COSME NIEVES, ANA             ADDRESS ON FILE
COSME NIEVES, ANA Y.          ADDRESS ON FILE
COSME NIEVES, EDWARD          ADDRESS ON FILE
COSME NIEVES, EDWIN           ADDRESS ON FILE
COSME NIEVES, LISANIA         ADDRESS ON FILE
COSME NIEVES, MARICELY        ADDRESS ON FILE
COSME NIEVES, MOISES          ADDRESS ON FILE
COSME NIEVES, XAYMARA         ADDRESS ON FILE
COSME NORMANDIA, AIDA         ADDRESS ON FILE
COSME NORMANDIA, ERIC         ADDRESS ON FILE
COSME OJEDA, JOSUE            ADDRESS ON FILE
COSME OJEDA, JOSUE            ADDRESS ON FILE
COSME OLIVER, EDWIN           ADDRESS ON FILE
Cosme Oliver, Jaime           ADDRESS ON FILE
COSME OLIVER, JAIME           ADDRESS ON FILE
COSME OLIVERAS, ANGEL         ADDRESS ON FILE
COSME OQUENDO, NEFTALI        ADDRESS ON FILE
COSME ORTEGA, DIANA M         ADDRESS ON FILE
COSME ORTEGA, MARIA T         ADDRESS ON FILE
COSME ORTIZ, ARNALDO          ADDRESS ON FILE
COSME ORTIZ, CELINES          ADDRESS ON FILE
COSME ORTIZ, INES             ADDRESS ON FILE
COSME ORTIZ, JOSE             ADDRESS ON FILE
COSME ORTIZ, MANUEL ANTONIO   ADDRESS ON FILE
COSME ORTIZ, MARIA            ADDRESS ON FILE
Cosme Ortiz, Porfirio         ADDRESS ON FILE
COSME ORTIZ, ROSA E           ADDRESS ON FILE
COSME ORTIZ, ROSA E.          ADDRESS ON FILE
COSME ORTIZ, YARMARIS         ADDRESS ON FILE
COSME OTERO, EDGARDO          ADDRESS ON FILE
COSME OYOLA, EDGARDO          ADDRESS ON FILE
COSME OYOLA, EDJOEL           ADDRESS ON FILE
COSME OYOLA, SONIA J          ADDRESS ON FILE
COSME PACHECO, GLORIA M       ADDRESS ON FILE
COSME PACHECO, MARIA A        ADDRESS ON FILE
COSME PADILLA, ALEJANDRA      ADDRESS ON FILE
COSME PADRO, RUBEN            ADDRESS ON FILE
COSME PAGAN, LUIS             ADDRESS ON FILE
Cosme Pantoja, Juan L         ADDRESS ON FILE
COSME PASTRANA, ARMANDO       ADDRESS ON FILE
COSME PASTRANA, JOSE A.       ADDRESS ON FILE
COSME PEREZ, CARLOS M.        ADDRESS ON FILE
COSME PINTO, ALEXIS           ADDRESS ON FILE
COSME PITRE, IVETTE Y         ADDRESS ON FILE
COSME PITRE, MARISOL          ADDRESS ON FILE
COSME POMALES, JONATHAN       ADDRESS ON FILE
COSME QUILES, LUIS            ADDRESS ON FILE
COSME QUILES, OLGA            ADDRESS ON FILE




                                                                          Page 1842 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1843 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COSME QUINONES, CARLOS        ADDRESS ON FILE
COSME R LANTIGUA MARTINEZ     ADDRESS ON FILE
COSME R LANTIGUA MARTINEZ     ADDRESS ON FILE
COSME RAMOS, JALISSA          ADDRESS ON FILE
COSME REFRIGERATION INC       ADDRESS ON FILE
COSME RENTAS, NYDIA I         ADDRESS ON FILE
COSME RESTO, JOSE RENE        ADDRESS ON FILE
COSME REYES, IVELISSE         ADDRESS ON FILE
COSME REYES, JOSE OMAR        ADDRESS ON FILE
COSME RIOS, EDWIN             ADDRESS ON FILE
COSME RIOS, HECTOR            ADDRESS ON FILE
COSME RIOS, HECTOR A          ADDRESS ON FILE
COSME RIOS, WILLIAM           ADDRESS ON FILE
COSME RIVERA, ADA I           ADDRESS ON FILE
Cosme Rivera, Alejandro L.    ADDRESS ON FILE
Cosme Rivera, Alexie          ADDRESS ON FILE
COSME RIVERA, DANIEL          ADDRESS ON FILE
COSME RIVERA, DANIEL          ADDRESS ON FILE
COSME RIVERA, DINELIA         ADDRESS ON FILE
COSME RIVERA, ELIANED         ADDRESS ON FILE
COSME RIVERA, ERNESTO         ADDRESS ON FILE
COSME RIVERA, EVA A.          ADDRESS ON FILE
COSME RIVERA, EVELYN          ADDRESS ON FILE
COSME RIVERA, EVELYN          ADDRESS ON FILE
COSME RIVERA, GABRIEL         ADDRESS ON FILE
COSME RIVERA, GLORIVETTE      ADDRESS ON FILE
COSME RIVERA, HECTOR L        ADDRESS ON FILE
COSME RIVERA, ISMAEL          ADDRESS ON FILE
COSME RIVERA, JAVIER          ADDRESS ON FILE
COSME RIVERA, JAVISH          ADDRESS ON FILE
Cosme Rivera, Lourdes I       ADDRESS ON FILE
COSME RIVERA, LUIS            ADDRESS ON FILE
COSME RIVERA, LUIS A          ADDRESS ON FILE
COSME RIVERA, LUIS A          ADDRESS ON FILE
COSME RIVERA, LUZ N           ADDRESS ON FILE
COSME RIVERA, MARGARITA       ADDRESS ON FILE
COSME RIVERA, MARIA M         ADDRESS ON FILE
COSME RIVERA, MIGDALIA        ADDRESS ON FILE
COSME RIVERA, MILAGROS        ADDRESS ON FILE
COSME RIVERA, OLGA I.         ADDRESS ON FILE
COSME RIVERA, ROSA            ADDRESS ON FILE
COSME RIVERA, SANTA           ADDRESS ON FILE
COSME RIVERA, YASMIN          ADDRESS ON FILE
COSME RIVERA, ZULEIKA         ADDRESS ON FILE
COSME ROBLES, LOIDA           ADDRESS ON FILE
COSME ROCHE, EVELYN           ADDRESS ON FILE
COSME RODRIGUEZ, ANA TERESA   ADDRESS ON FILE
COSME RODRIGUEZ, ANGEL        ADDRESS ON FILE
COSME RODRIGUEZ, ANGEL L      ADDRESS ON FILE
Cosme Rodriguez, Brenda L.    ADDRESS ON FILE
COSME RODRIGUEZ, CHRISTIAN    ADDRESS ON FILE
COSME RODRIGUEZ, DIANA I      ADDRESS ON FILE
COSME RODRIGUEZ, ERIC         ADDRESS ON FILE
COSME RODRIGUEZ, GRISEL       ADDRESS ON FILE
COSME RODRIGUEZ, JANET E.     ADDRESS ON FILE
COSME RODRIGUEZ, JANIRES      ADDRESS ON FILE
COSME RODRIGUEZ, JESUS        ADDRESS ON FILE
COSME RODRIGUEZ, JOSE A       ADDRESS ON FILE
COSME RODRIGUEZ, KAREM        ADDRESS ON FILE
COSME RODRIGUEZ, LORRAINE     ADDRESS ON FILE




                                                                          Page 1843 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1844 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COSME RODRIGUEZ, LUIS         ADDRESS ON FILE
Cosme Rodriguez, Luis A.      ADDRESS ON FILE
COSME RODRIGUEZ, MANUEL       ADDRESS ON FILE
COSME RODRIGUEZ, MARIELY      ADDRESS ON FILE
COSME RODRIGUEZ, NITZA        ADDRESS ON FILE
COSME RODRIGUEZ, PEDRO O      ADDRESS ON FILE
COSME RODRIGUEZ, RUTH N.      ADDRESS ON FILE
COSME RODRIGUEZ, WIDNA D      ADDRESS ON FILE
COSME RODRIGUEZ, ZAIDA        ADDRESS ON FILE
COSME RODRIGUEZ, ZIOMARIE     ADDRESS ON FILE
COSME RODRIGUEZ,FABIAN        ADDRESS ON FILE
COSME RODRIGUEZ,PEDRO         ADDRESS ON FILE
COSME ROJAS, JORGE            ADDRESS ON FILE
COSME ROJAS, JOSE             ADDRESS ON FILE
COSME ROQUE, BETZAIDA         ADDRESS ON FILE
COSME ROSA, GLADYS            ADDRESS ON FILE
Cosme Rosa, Josue             ADDRESS ON FILE
COSME ROSA, JOSUE             ADDRESS ON FILE
COSME ROSADO, CARLOS          ADDRESS ON FILE
COSME ROSADO, EDNITA          ADDRESS ON FILE
COSME ROSADO, JAIME           ADDRESS ON FILE
COSME ROSADO, JANNETTE        ADDRESS ON FILE
COSME ROSADO, MARIA T         ADDRESS ON FILE
COSME ROSADO, MILAGROS        ADDRESS ON FILE
COSME ROSADO, MILAGROS        ADDRESS ON FILE
Cosme Rosado, Omar            ADDRESS ON FILE
COSME ROSADO, OMAYRA          ADDRESS ON FILE
COSME ROSADO, OSVALDO         ADDRESS ON FILE
COSME ROSARIO, DOLORES        ADDRESS ON FILE
COSME ROSARIO, MARIA M        ADDRESS ON FILE
Cosme Ruiz, Jose A            ADDRESS ON FILE
COSME SAMUDIO, XOREL          ADDRESS ON FILE
COSME SANCHEZ, CARLOS         ADDRESS ON FILE
COSME SANCHEZ, DIANA I        ADDRESS ON FILE
COSME SANCHEZ, JUAN           ADDRESS ON FILE
COSME SANCHEZ, LAURA M        ADDRESS ON FILE
COSME SANCHEZ, LUZ            ADDRESS ON FILE
COSME SANCHEZ, MILAGROS       ADDRESS ON FILE
COSME SANCHEZ, MYRNA          ADDRESS ON FILE
COSME SANTANA, ISMAEL         ADDRESS ON FILE
COSME SANTANA, MILKA Y        ADDRESS ON FILE
COSME SANTANA, YADIRA         ADDRESS ON FILE
COSME SANTIAGO, ALBERTO J     ADDRESS ON FILE
COSME SANTIAGO, ALBERTO L     ADDRESS ON FILE
COSME SANTIAGO, ANGIE N       ADDRESS ON FILE
COSME SANTIAGO, ESTHER        ADDRESS ON FILE
COSME SANTIAGO, FRANCISCO C   ADDRESS ON FILE
COSME SANTIAGO, FRANKEL       ADDRESS ON FILE
COSME SANTIAGO, JOSE          ADDRESS ON FILE
COSME SANTIAGO, JOSELITO      ADDRESS ON FILE
Cosme Santiago, Luis E        ADDRESS ON FILE
COSME SANTIAGO, MARIA         ADDRESS ON FILE
COSME SANTOS, LUZ C           ADDRESS ON FILE
COSME SANTOS, MILGROS         ADDRESS ON FILE
COSME SERRANO, LISANDRA       ADDRESS ON FILE
COSME SOLANO, JOSE            ADDRESS ON FILE
COSME TANON, JOSE A.          ADDRESS ON FILE
Cosme Thillet, Carlos A       ADDRESS ON FILE
COSME THILLET, MARIA J        ADDRESS ON FILE
COSME TORRES, ANGEL           ADDRESS ON FILE




                                                                          Page 1844 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1845 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                          Address1                     Address2                              Address3   Address4   City           State   PostalCode   Country
COSME TORRES, CARLOS J.                ADDRESS ON FILE
COSME TORRES, DEBORAH                  ADDRESS ON FILE
COSME TORRES, DWIGHT A.                ADDRESS ON FILE
COSME TORRES, GRACIANO                 ADDRESS ON FILE
COSME TORRES, HAROLD                   ADDRESS ON FILE
COSME TORRES, JEAN M.                  ADDRESS ON FILE
COSME TORRES, KEYLA M                  ADDRESS ON FILE
COSME TORRES, LOURDES M                ADDRESS ON FILE
COSME TORRES, MAYRA                    ADDRESS ON FILE
COSME TORRES, NORMARYS                 ADDRESS ON FILE
COSME TORRES, OMAYRA                   ADDRESS ON FILE
COSME TORRES, RUBEN                    ADDRESS ON FILE
COSME TORRES, YANITZA                  ADDRESS ON FILE
COSME TRITINGER, KIMBERLY              ADDRESS ON FILE
COSME TRITINGER, KIMBERLY A            ADDRESS ON FILE
COSME VARGAS, GAMALIER                 ADDRESS ON FILE
COSME VARGAS, JOSE                     ADDRESS ON FILE
COSME VARGAS, SARA                     ADDRESS ON FILE
COSME VAZQUEZ, ANDRES                  ADDRESS ON FILE
COSME VAZQUEZ, DORIS E                 ADDRESS ON FILE
COSME VAZQUEZ, ISABEL                  ADDRESS ON FILE
COSME VAZQUEZ, JOSMARY                 ADDRESS ON FILE
COSME VAZQUEZ, JUAN                    ADDRESS ON FILE
COSME VAZQUEZ, MARY BELL               ADDRESS ON FILE
COSME VAZQUEZ, SONIANGELIES            ADDRESS ON FILE
COSME VELEZ, BETSABE                   ADDRESS ON FILE
COSME VELEZ, CONCEPCION                ADDRESS ON FILE
COSME VELEZ, JUDITH                    ADDRESS ON FILE
COSME VELEZ, MICHELLE                  ADDRESS ON FILE
COSME VICENTE, JESUS                   ADDRESS ON FILE
COSME VIRELLA, JOEL                    ADDRESS ON FILE
COSME VIRELLA, JONATHAN                ADDRESS ON FILE
Cosme Virella, Noel                    ADDRESS ON FILE
COSME YAMBO, SONIA                     ADDRESS ON FILE
COSME, ANTONIO                         ADDRESS ON FILE
COSME, CARLOS M.                       ADDRESS ON FILE
COSME, JESSICA                         ADDRESS ON FILE
COSME, SANDRA A.                       ADDRESS ON FILE
COSMETIC AND RECONTRUCTIVE SURGERY OPHTOF LA JOLLA                  9850 GENESEE AVE                      STE 310               LA JOLLA       CA      92037
COSMIC WORK PRODUCTS INC               VILLA NEVAREZ PROF. CENTER   SUITE 307                                                   SAN JUAN       PR      00927
COSMO MUSICAL                          SANTIAGO IGLESIAS            1463 AVE PAZ GRANELA                                        SAN JUAN       PR      00921
COSOTNET, INC                          Carr. 3 Km 23.5                                                                          RIO GRANDE     PR      00745
COSOTNET, INC                          PO BOX 270200                                                                            RIO GRANDE     PR      00745
COSS ALVERIO, ILEANA                   ADDRESS ON FILE
COSS CHARRIEZ, JOSE                    ADDRESS ON FILE
COSS CRESPO, YAHER                     ADDRESS ON FILE
COSS CRESPO, YALITZA                   ADDRESS ON FILE
COSS CRESPO, YAMIL                     ADDRESS ON FILE
COSS CRESPO, YAMUEL                    ADDRESS ON FILE
COSS CUADRADO, JORETSI                 ADDRESS ON FILE
COSS CUADRADO, NARBELT                 ADDRESS ON FILE
COSS DIAZ, MARCUS                      ADDRESS ON FILE
COSS DIAZ, NAYDIANN                    ADDRESS ON FILE
COSS FELICIANO, MARIA R                ADDRESS ON FILE
COSS FELICIANO, MIRTA I                ADDRESS ON FILE
Coss Figueroa, Edward                  ADDRESS ON FILE
COSS FIGUEROA, EDWARD                  ADDRESS ON FILE
Coss Flores, Feliciano                 ADDRESS ON FILE
COSS FLORES, JUAN                      ADDRESS ON FILE
COSS FLORES, JUANA                     ADDRESS ON FILE




                                                                                           Page 1845 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1846 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                      Address1                           Address2                  Address3   Address4   City            State   PostalCode   Country
Coss Flores, Lydia                 ADDRESS ON FILE
COSS FLORES, MARGARITA             ADDRESS ON FILE
Coss Flores, Marilu                ADDRESS ON FILE
COSS FONSECA, ALEXIS               ADDRESS ON FILE
COSS GOMEZ, NATANAEL               ADDRESS ON FILE
COSS GOMEZ, NATANAEL               ADDRESS ON FILE
COSS GONZALEZ, CESAR               ADDRESS ON FILE
COSS GONZALEZ, JENNIFER            ADDRESS ON FILE
COSS GONZALEZ, MARCOS A.           ADDRESS ON FILE
COSS GONZALEZ, ZULEIKA M           ADDRESS ON FILE
COSS GUZMAN, MARIA                 ADDRESS ON FILE
COSS GUZMAN, MARIA                 ADDRESS ON FILE
COSS LOPEZ, ETELEEN                ADDRESS ON FILE
COSS MARTINEZ, CARMEN G            ADDRESS ON FILE
COSS MARTINEZ, CARMEN I            ADDRESS ON FILE
COSS MARTINEZ, MANUEL              ADDRESS ON FILE
COSS MARTINEZ, MARIA M             ADDRESS ON FILE
COSS MARTINEZ, MIGUEL A            ADDRESS ON FILE
COSS MEDINA, MIGUEL O              ADDRESS ON FILE
COSS MEDINA, YAHVED                ADDRESS ON FILE
COSS NEGRON, AXEL                  ADDRESS ON FILE
COSS NUNEZ, ANGEL                  ADDRESS ON FILE
COSS NUNEZ, ARSENIO                ADDRESS ON FILE
COSS NUNEZ, ROSALIA                ADDRESS ON FILE
COSS PABELLON, ADAMS               ADDRESS ON FILE
COSS REYES, ANGEL                  ADDRESS ON FILE
COSS REYES, IBIS L.                ADDRESS ON FILE
COSS REYES, MARISOL                ADDRESS ON FILE
Coss Rivera, Eddie A.              ADDRESS ON FILE
COSS RIVERA, ELSA                  ADDRESS ON FILE
COSS RIVERA, GLORIA E              ADDRESS ON FILE
COSS RIVERA, LUIS                  ADDRESS ON FILE
COSS RIVERA, VICTOR M              ADDRESS ON FILE
COSS RODRIGUEZ, JOSE               ADDRESS ON FILE
COSS ROMAN, ALICIA                 ADDRESS ON FILE
COSS ROMAN, ANGELA                 ADDRESS ON FILE
COSS ROSA, ARACELIS                ADDRESS ON FILE
COSS ROSA, GEOVANIE                ADDRESS ON FILE
COSS ROSA, LUIS A.                 ADDRESS ON FILE
COSS SANCHEZ, CESAR                ADDRESS ON FILE
COSS SANCHEZ, MARITZA M            ADDRESS ON FILE
COSS SANTIAGO, ALMA D.             ADDRESS ON FILE
COSS SANTIAGO, GRISELL             ADDRESS ON FILE
COSS SANTIAGO, GRISELLE            ADDRESS ON FILE
COSS SANTIAGO, JORGE               ADDRESS ON FILE
COSS SANTIAGO, LUIS A              ADDRESS ON FILE
COSS SANTIAGO, MARIBEL Y.          ADDRESS ON FILE
COSS SANTIAGO, REINALDO            ADDRESS ON FILE
COSS SERVICE STATION INC           HC 70 BOX 25999                                                                    SAN LORENZO     PR      00754
COSS TORRES, NANCY                 ADDRESS ON FILE
COSS TORRES, NILDA E               ADDRESS ON FILE
COSS TORRES, NORMA I               ADDRESS ON FILE
COSS VARGAS, LUIS A.               ADDRESS ON FILE
COSS VARGAS, WILFREDO              ADDRESS ON FILE
COSS VAZQUEZ, MELITZA              ADDRESS ON FILE
COSS VAZQUEZ, WILSON               ADDRESS ON FILE
COSS VELAZQUEZ, VILMA              ADDRESS ON FILE
COSSEC                             P O BOX 195449                                                                     SAN JUAN        PR      00919‐5449
COSSELTE M. GONZALEZ BUENTROSTRO   CALLE 6 G‐1 # 16 URB. METROPOLIS                                                   CAROLINA        PR      00987
COSSETTE BARRETO / JOSE BARRETO    ADDRESS ON FILE




                                                                                 Page 1846 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1847 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                                   Address2                  Address3   Address4   City             State   PostalCode   Country
COSSETTE BARRETO MENDEZ                 ADDRESS ON FILE
COSSETTE GONZALEZ BUENROSTRO            ADDRESS ON FILE
COSSIO ARMAIZ, CARMEN L                 ADDRESS ON FILE
COSSIO GALLETTI, ALEJO                  ADDRESS ON FILE
COSSMA                                  PO BOX 1330                                                                                CIDRA            PR      00739‐1330
COST CONTROL COMPANY INC.               AVE PINEIRO1772                                                                            SAN JUAN         PR      00921‐0000
COST CONTROL COMPANY INC.               AVE. PONCE DE LEON ESQ. CALLE VELA ESQUIRE PISO                                            HATO REY         PR      00918‐0000
COSTA ACEVEDO, MARIO                    ADDRESS ON FILE
COSTA ALFARO, OLGA                      ADDRESS ON FILE
COSTA BAHIA HOTEL & CONVENTION CENTER   P O BOX 560115                                                                             GUAYANILLA       PR      00656
COSTA BERRIOS, ALBERTO                  ADDRESS ON FILE
COSTA BURGOS, AXCIADES                  ADDRESS ON FILE
COSTA CASES, MAGDALIZ                   ADDRESS ON FILE
COSTA CASES, SHEILA TAINA               ADDRESS ON FILE
COSTA CASTELLO, CARMEN A                ADDRESS ON FILE
COSTA CASTRO, LUIS                      ADDRESS ON FILE
COSTA COTTO, JOSEPH                     ADDRESS ON FILE
COSTA DE ORO VILLAGE                    C/A‐B 29 URB COSTA DE ORO                                                                  DORADO           PR      00646
COSTA DE ORO VILLAGE                    P O BOX 359                                                                                DORADO           PR      00646
COSTA DE ORO VILLAGE HOGAR              PO BOX 359                                                                                 DORADO           PR      00646
COSTA DE ORO, VILLAGE                   ADDRESS ON FILE
COSTA DIAZ, MARILYN                     ADDRESS ON FILE
COSTA DORADA BEACH RESORT               900 EMILIO GONZALEZ                                                                        ISABELA          PR      00662
COSTA DORADO, VILLAGE                   ADDRESS ON FILE
Costa Feliciano, Jose                   ADDRESS ON FILE
COSTA FELICIANO, JOSE A.                ADDRESS ON FILE
COSTA GABRIEL, ESTHER M                 ADDRESS ON FILE
COSTA GONZALEZ, BRENDA                  ADDRESS ON FILE
COSTA HERNANDEZ, ALBA                   ADDRESS ON FILE
COSTA HERNANDEZ, IRMA                   ADDRESS ON FILE
COSTA KERCADO, FERNANDO                 ADDRESS ON FILE
COSTA LEBRON, JOSE J                    ADDRESS ON FILE
COSTA MADERA, ANGELICA                  ADDRESS ON FILE
COSTA MADERA, HECTOR                    ADDRESS ON FILE
COSTA MALARET, JOSE                     ADDRESS ON FILE
COSTA MALARET, MYRIAM                   ADDRESS ON FILE
COSTA MALARET, MYRIAM L                 ADDRESS ON FILE
COSTA MAR CONSTRUCTION INC              PO BOX 623                                                                                 QUEBRADILLAS     PR      00678
COSTA MARALET, JOSE F.                  ADDRESS ON FILE
COSTA MARCUCCI, NAIDA                   ADDRESS ON FILE
COSTA MARCUCCI, SARANNETTE              ADDRESS ON FILE
COSTA MARTINEZ, GLADYS ZULMIRA          ADDRESS ON FILE
COSTA MARUCCI, CRYSTAL                  ADDRESS ON FILE
COSTA MELENDEZ, ZAHIRA                  ADDRESS ON FILE
COSTA MERCADO, MARIA V                  ADDRESS ON FILE
Costa Mercado, Susan                    ADDRESS ON FILE
COSTA MUNDO, DANIEL                     ADDRESS ON FILE
COSTA NEGRON, ASTRID                    ADDRESS ON FILE
Costa Nieves, Fernando                  ADDRESS ON FILE
COSTA NORTE SE                          PO BOX 195353                                                                              SAN JUAN         PR      00919‐5353
COSTA OLIVERAS, GLORYNETTE              ADDRESS ON FILE
Costa Oliveras, Hedwill                 ADDRESS ON FILE
COSTA PACHECO, DENNIS A.                ADDRESS ON FILE
COSTA PERELES, JUAN B                   ADDRESS ON FILE
COSTA PEREZ, HIPOLITO                   ADDRESS ON FILE
COSTA PEREZ, MINERVA                    ADDRESS ON FILE
COSTA RIVERA, ESTHER O.                 ADDRESS ON FILE
Costa Rivera, Francisco                 ADDRESS ON FILE
COSTA RIVERA, JOSE E                    ADDRESS ON FILE
COSTA RIVERA, JUAN                      ADDRESS ON FILE




                                                                                              Page 1847 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1848 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                       Address1                         Address2                           Address3   Address4   City         State   PostalCode   Country
COSTA RIVERA, JUAN                  ADDRESS ON FILE
COSTA RIVERA, LAURA                 ADDRESS ON FILE
COSTA RIVERA, LAURA E.              ADDRESS ON FILE
COSTA RIVERA, LIESL                 ADDRESS ON FILE
Costa Rosa, Fred                    ADDRESS ON FILE
COSTA SANDIN, KAREN                 ADDRESS ON FILE
COSTA SANTIAGO, CARLOS              ADDRESS ON FILE
COSTA SANTIAGO, RAFAEL              ADDRESS ON FILE
COSTA SANTOS, RUI                   ADDRESS ON FILE
COSTA SIERRA, LETICIA               ADDRESS ON FILE
COSTA SIERRA, LETICIA A.            ADDRESS ON FILE
COSTA SUR ENTERPRISES               PO BOX 1043                                                                               LUQUILLO     PR      00773
COSTA TORRES, CARMEN E              ADDRESS ON FILE
COSTA TORRES, RICHARD               ADDRESS ON FILE
COSTA TORRES, RICHARD               ADDRESS ON FILE
COSTA VEGA, DENNIS J                ADDRESS ON FILE
COSTA VERA, MAGDA L.                ADDRESS ON FILE
COSTA WOOD, JUAN R.                 ADDRESS ON FILE
COSTA YUSTE, JUAN C.                ADDRESS ON FILE
COSTA, LARISSA                      ADDRESS ON FILE
COSTACAMPS RIVERA, KEVIN            ADDRESS ON FILE
COSTACAMPS RIVERA, RAFAEL           ADDRESS ON FILE
COSTALES GONZALEZ, CARLOS           ADDRESS ON FILE
COSTALES GONZALEZ, CARLOS J.        ADDRESS ON FILE
COSTALES GONZALEZ, IVETTE           ADDRESS ON FILE
COSTALES GONZALEZ, JOSE             ADDRESS ON FILE
COSTALES GONZALEZ, JOSE             ADDRESS ON FILE
Costales Gonzalez, Ricardo          ADDRESS ON FILE
COSTALES LOPEZ, TOMAS               ADDRESS ON FILE
COSTALES MEJIAS, JOANNIE            ADDRESS ON FILE
COSTALES ORTIZ, ETIEL               ADDRESS ON FILE
COSTALES ORTIZ, HEBER               ADDRESS ON FILE
COSTALES ORTIZ, HEINELYN            ADDRESS ON FILE
COSTALES ORTIZ, WANDA               ADDRESS ON FILE
COSTALES PEREZ, JOSE J.             ADDRESS ON FILE
COSTALES RAMOS, ERIC                ADDRESS ON FILE
COSTALES RODRIGUEZ, ANTONIO         ADDRESS ON FILE
COSTALES ROJAS, CARLOS              ADDRESS ON FILE
COSTALES ROJAS, DAISY               ADDRESS ON FILE
COSTALES ROJAS, REINALDO            ADDRESS ON FILE
Costales Santiago, Alfredo          ADDRESS ON FILE
COSTALES SOTO, MISAEL               ADDRESS ON FILE
COSTAN LAWRENCE, JASON J            ADDRESS ON FILE
COSTANZA LUGO, LUCY                 ADDRESS ON FILE
COSTANZO COLON, DIANE G             ADDRESS ON FILE
COSTAS ARROYO, PETRA                ADDRESS ON FILE
COSTAS ARROYO, RUBEN D.             ADDRESS ON FILE
COSTAS ARROYO, RUBÉN D.             LCDA. YOLANDA CAPPAS RODRIGUEZ   11 CALLE BETANCES                                        YAUCO        PR      00698
COSTAS BORRAS, SONIA L              ADDRESS ON FILE
COSTAS BURGOS, SONIA M              ADDRESS ON FILE
COSTAS CABRERA, ENEIDA              ADDRESS ON FILE
COSTAS CASTANER, MARIA D.           ADDRESS ON FILE
COSTAS CRUZ, WALDER L               ADDRESS ON FILE
COSTAS DIAZ, CARLOS                 ADDRESS ON FILE
COSTAS DIAZ, JOAQUIN                ADDRESS ON FILE
COSTAS GONZALEZ, ANTONIO L.         ADDRESS ON FILE
COSTAS GONZALEZ, FRANCISCO JAVIER   ADDRESS ON FILE
COSTAS GONZALEZ, NEYDA LUZ          ADDRESS ON FILE
COSTAS JIMENEZ, ELIZABETH           ADDRESS ON FILE
COSTAS LATONI, LUIS E.              ADDRESS ON FILE




                                                                                         Page 1848 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1849 of 3500
                                                                              17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                  Address1                    Address2                              Address3   Address4   City             State   PostalCode   Country
COSTAS LOPEZ, AHMED            ADDRESS ON FILE
COSTAS LUGO, CARLOS            ADDRESS ON FILE
COSTAS MARALET, JOSE           ADDRESS ON FILE
COSTAS MARTINEZ, CARMEN        ADDRESS ON FILE
COSTAS MATIAS, BLANCA A.       ADDRESS ON FILE
COSTAS NIEVES, FERNANDO        ADDRESS ON FILE
COSTAS NIEVES, NATALIVETTE     ADDRESS ON FILE
COSTAS OCASIO, GISELA          ADDRESS ON FILE
COSTAS ORTIZ, ANNETTE M        ADDRESS ON FILE
COSTAS PEREZ, CARLOS J.        ADDRESS ON FILE
COSTAS PEREZ, JESUS M          ADDRESS ON FILE
COSTAS PEREZ, MARTA M.         ADDRESS ON FILE
COSTAS PEREZ, RICARDO          ADDRESS ON FILE
COSTAS RIVERA, SUHAIL T        ADDRESS ON FILE
COSTAS RODRIGUEZ, IVONNE T     ADDRESS ON FILE
COSTAS RODRIGUEZ, LYDIA        ADDRESS ON FILE
COSTAS RODRIGUEZ, SONIA I      ADDRESS ON FILE
COSTAS SANTIAGO, CARMEN J      ADDRESS ON FILE
COSTAS SANTIAGO, ELGA M        ADDRESS ON FILE
COSTAS SANTIAGO, EMMA          ADDRESS ON FILE
COSTAS SANTIAGO, FERNANDO      ADDRESS ON FILE
COSTAS SANTIAGO, FERNANDO      ADDRESS ON FILE
COSTAS SANTIAGO, JAVIER R      ADDRESS ON FILE
COSTAS SANTIAGO, LYDIA R       ADDRESS ON FILE
COSTAS SANTIAGO, RAMONITA      ADDRESS ON FILE
COSTAS SANTIAGO, RAUL          ADDRESS ON FILE
COSTAS SOTO, JOSE              ADDRESS ON FILE
COSTAS SOTO, SONIA             ADDRESS ON FILE
COSTAS SUAREZ MD, HAYDEE       ADDRESS ON FILE
COSTAS TORRES, ALBERTO         ADDRESS ON FILE
COSTAS TORRES, ALBERTO         ADDRESS ON FILE
COSTAS TORRES, ERNESTO         ADDRESS ON FILE
COSTAS TORRES, JESUS           ADDRESS ON FILE
COSTAS TORRES, LISANDRA        ADDRESS ON FILE
COSTAS TORRES, MYRIANLEE       ADDRESS ON FILE
COSTAS TORRES, NESTOR J        ADDRESS ON FILE
COSTAS TORRES, ROSADEL         ADDRESS ON FILE
COSTAS VAZQUEZ, DELIA C.       ADDRESS ON FILE
COSTAS VAZQUEZ, EDDA           ADDRESS ON FILE
COSTAS VAZQUEZ, JOANNA         ADDRESS ON FILE
COSTCO                         1185 AVE 65 DE INFANTERIA                                                               SAN JUAN         PR      00924
COSTCO WHOLESALE CORP          2399 CARR 2 HATO REY                                                                    BAYAMON          PR      00961
COSTCO WHOLESALE CORPORATION   999 LAKE DR                                                                             ISSAQUAH         WA      98027
COSTCO WHOLESALE CORPORATION   PO BOX 5219                 CAROL STREAM                                                CAROL STREAM     IL      60197‐5219
COSTE PEREZ, SANTIAGO          ADDRESS ON FILE
COSTE PEREZ, SANTIAGO          ADDRESS ON FILE
COSTE RAMIREZ, JOSE            ADDRESS ON FILE
COSTE SIBILIA, MELODY          ADDRESS ON FILE
COSTE SIBILIA, SANTIAGO        ADDRESS ON FILE
COSTECORONADO, DOMINGO         ADDRESS ON FILE
COSTELLO EXTERMINATING CO      PMB 486                     PO BOX 4952                                                 CAGUAS           PR      00726‐4952
COSTELLO EXTERMINATING CO      URB BONNEVILLE HGTS         10 CALLE LAS PIEDRAS                                        CAGUAS           PR      00725
COSTELLO EXTERMINATING, INC.   BONNEVILLE HEIGHTS          10 CALLE LAS PIEDRAS                                        CAGUAS           PR      00727
COSTOSO CLAUSELLS, CARLOS      ADDRESS ON FILE
COSTOSO CLAUSELLS, CARLOS A.   ADDRESS ON FILE
COSTOSO CRUZ, IDAN             ADDRESS ON FILE
COSTOSO CRUZ, LUIS             ADDRESS ON FILE
COSTOSO LOPEZ, DIMAS           ADDRESS ON FILE
COSTOSO LOPEZ, RAMON           ADDRESS ON FILE
COSTOSO MERCED, IRIS D         ADDRESS ON FILE




                                                                                  Page 1849 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1850 of 3500
                                                                             17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                 Address1                      Address2                                      Address3             Address4   City            State   PostalCode   Country
COSTOSO ORTIZ, MARJORIE       ADDRESS ON FILE
COSTOSO RODRIGUEZ, ANTHONY    ADDRESS ON FILE
COSTOSO VEGA, CARMEN J        ADDRESS ON FILE
COSTOSO VILLARAN, SONIA N.    ADDRESS ON FILE
COSTOSOLLANOS, LOURDES V.     ADDRESS ON FILE
COSVI                         AVENIDA AMERICO MIRANDA 400                                                                                 RIO PIEDRAS     PR      00936
COSVI                         Expreso Las Américas          Esq. Avenida Américo Miranda                  #400 Villa Nevárez              Río Piedras     PR      00926‐0000
COSVI                         P O BOX 363428                                                                                              SAN JUAN        PR      00936
COSVI ASSET MANAGEMENT CORP   PO BOX 367729                                                                                               SAN JUAN        PR      00936‐7729
COT APONTE, CARMEN DEL R      ADDRESS ON FILE
COTAL COPPIN, MAGDA           ADDRESS ON FILE
COTAL COPPIN, YAMEL E         ADDRESS ON FILE
COTAL LUCCIONI, EDILIA        ADDRESS ON FILE
COTAL LUCCIONI, MARA          ADDRESS ON FILE
COTAL NEGRON, ZULEYKA         ADDRESS ON FILE
COTAL TORRES, MARIA I         ADDRESS ON FILE
COTARELO SANCHEZ, JOSE        ADDRESS ON FILE
COTE, JOSEPH                  ADDRESS ON FILE
COTES VEGA, WILFREDO          ADDRESS ON FILE
COTES VELEZ, DAPHNE           ADDRESS ON FILE
COTIJO ROMAN, LISSETTE        ADDRESS ON FILE
COTO BORGES, RENE             ADDRESS ON FILE
COTO FONSECA, MARIA           ADDRESS ON FILE
COTO MEDINA, ENRIQUE          ADDRESS ON FILE
COTO SHORAK, DANICA           ADDRESS ON FILE
COTO, JUAN C                  ADDRESS ON FILE
COTO, LILLIAM                 ADDRESS ON FILE
COTRINO SAMUDIO, VIVIANN      ADDRESS ON FILE
COTT DORTA MD, HECTOR         ADDRESS ON FILE
COTT DORTA, KARLA A           ADDRESS ON FILE
COTT DORTA, KARLA A.          ADDRESS ON FILE
COTT GUZMAN, LYDIANA IRIS     ADDRESS ON FILE
COTT RODRIGUEZ, MILKA         ADDRESS ON FILE
COTT ROSARIO MD, HECTOR M     ADDRESS ON FILE
COTT ROSARIO, HECTOR M        ADDRESS ON FILE
COTTE ALVARADO,EFRAIN         ADDRESS ON FILE
COTTE APONTE, LUIS            ADDRESS ON FILE
COTTE AYALA, OSCA M.          ADDRESS ON FILE
COTTE BRACERO, MARIA          ADDRESS ON FILE
COTTE BRACERO, NELSA          ADDRESS ON FILE
COTTE CANCEL, CARMEN E.       ADDRESS ON FILE
COTTE CASTRO, GISELA          ADDRESS ON FILE
COTTE CINTRON, JUAN           ADDRESS ON FILE
COTTE CINTRON, TERESITA       ADDRESS ON FILE
COTTE COTTE, DAIANA           ADDRESS ON FILE
COTTE COTTE, ISMAEL           ADDRESS ON FILE
COTTE DIAZ, ERIC              ADDRESS ON FILE
COTTE EMMANUELLI, LAURA       ADDRESS ON FILE
COTTE EMMANUELLI, RICARDO     ADDRESS ON FILE
COTTE FUENTES, VICTOR M       ADDRESS ON FILE
COTTE JUSINO, ROSA            ADDRESS ON FILE
COTTE LEON, MARTA M           ADDRESS ON FILE
COTTE LOPEZ, JULIO            ADDRESS ON FILE
COTTE LOPEZ, MAYDA E          ADDRESS ON FILE
COTTE MARTINEZ, LUIS          ADDRESS ON FILE
COTTE MARTINEZ, MARIA M       ADDRESS ON FILE
COTTE MORALES, ALEJANDRO      ADDRESS ON FILE
COTTE MORALES, ALEX G.        ADDRESS ON FILE
COTTE MORALES, ZULEYRIS       ADDRESS ON FILE
COTTE NIEVES, ANGEL           ADDRESS ON FILE




                                                                                           Page 1850 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1851 of 3500
                                                                           17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name               Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
COTTE NIEVES, ANGEL         ADDRESS ON FILE
COTTE NUNEZ, ARNALDO        ADDRESS ON FILE
COTTE ORTIZ, ANGEL J        ADDRESS ON FILE
COTTE ORTIZ, IVAN A         ADDRESS ON FILE
COTTE ORTIZ, SHEILA L       ADDRESS ON FILE
COTTE PEREZ, CHARLEEN       ADDRESS ON FILE
COTTE RAMIREZ, CATALINA     ADDRESS ON FILE
COTTE RAMIREZ, VICTOR D     ADDRESS ON FILE
COTTE RIVERA, NORALIZ       ADDRESS ON FILE
Cotte Saquedo, Enrique      ADDRESS ON FILE
COTTE TORES, NORMA          ADDRESS ON FILE
COTTE TORO, GLENDA          ADDRESS ON FILE
COTTE TORRES, JOSE          ADDRESS ON FILE
COTTE TORRES, LEOVIGILDO    ADDRESS ON FILE
COTTES CORTES, MILDRED      ADDRESS ON FILE
Cottes Gonzalez, Betzaida   ADDRESS ON FILE
Cottes Vega, Jose L         ADDRESS ON FILE
COTTES VEGA, JOSÉ L.        LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
COTTES VEGA, JOSÉ L.        LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
COTTEZ ALBINO, ESTEBAN      ADDRESS ON FILE
COTTO , NEREIDA             ADDRESS ON FILE
COTTO ABREU, IVONNE         ADDRESS ON FILE
COTTO ABREU, JUSTINA        ADDRESS ON FILE
COTTO ABREU, LYDIA E        ADDRESS ON FILE
COTTO ACEVEDO, CARMEN       ADDRESS ON FILE
COTTO ACEVEDO, CARMEN R.    ADDRESS ON FILE
COTTO ACEVEDO, JUAN         ADDRESS ON FILE
COTTO ACEVEDO, NASHKA I.    ADDRESS ON FILE
COTTO ACOSTA, AURELYS       ADDRESS ON FILE
COTTO ACOSTA, MARIO E       ADDRESS ON FILE
COTTO ADORNO, ABIEZER       ADDRESS ON FILE
COTTO ADORNO, ANA M         ADDRESS ON FILE
COTTO ADORNO, BRENDA        ADDRESS ON FILE
COTTO ADORNO, ERISON        ADDRESS ON FILE
COTTO ADORNO, HECTOR M.     ADDRESS ON FILE
COTTO ADORNO, WALESKA       ADDRESS ON FILE
COTTO AGOSTO, MADELINE      ADDRESS ON FILE
COTTO AGOSTO, MADELINE      ADDRESS ON FILE
COTTO AGUIAR, GLADYS M      ADDRESS ON FILE
COTTO ALAMO, ANGEL          ADDRESS ON FILE
COTTO ALICEA, ANTONIO       ADDRESS ON FILE
COTTO ALICEA, AWILDA        ADDRESS ON FILE
COTTO ALICEA, GUILLERMINA   ADDRESS ON FILE
COTTO ALICEA, LAURA E       ADDRESS ON FILE
Cotto Alicea, Manuel        ADDRESS ON FILE
COTTO ALICEA, MANUEL        ADDRESS ON FILE
COTTO ALICEA, MARIBEL       ADDRESS ON FILE
COTTO ALICEA, MINERVA       ADDRESS ON FILE
Cotto Alicea, Yamil         ADDRESS ON FILE
COTTO ALVAREZ, ALFREDO      ADDRESS ON FILE
COTTO ALVAREZ, JUAN         ADDRESS ON FILE
COTTO ALVAREZ, KEYLA        ADDRESS ON FILE
COTTO ALVAREZ, LYDIA E.     ADDRESS ON FILE
COTTO ALVELO, JUAN          ADDRESS ON FILE
COTTO ALVELO, MARIA L       ADDRESS ON FILE
COTTO AMARO, ANA            ADDRESS ON FILE
COTTO AMARO, ANA C          ADDRESS ON FILE
COTTO AMARO, MARIA          ADDRESS ON FILE
COTTO AMARO, SONIA I        ADDRESS ON FILE
Cotto Andino, Ana E         ADDRESS ON FILE




                                                                                 Page 1851 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1852 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                            Address1                        Address2                                    Address3         Address4   City         State   PostalCode   Country
Cotto Andino, Ana L                      ADDRESS ON FILE
COTTO ANDINO, GILBERTO A                 ADDRESS ON FILE
COTTO ANDINO, GILBERTO A                 ADDRESS ON FILE
COTTO ANDINO, SHIRLEY R.                 ADDRESS ON FILE
COTTO APONTE, ERICBERTO                  ADDRESS ON FILE
COTTO APONTE, JACKELINE                  ADDRESS ON FILE
COTTO APONTE, LIZ                        ADDRESS ON FILE
COTTO APONTE, MELVA                      ADDRESS ON FILE
COTTO APONTE, MIREYA                     ADDRESS ON FILE
COTTO APONTE, NELSON                     ADDRESS ON FILE
COTTO APONTE, NILDA I                    ADDRESS ON FILE
COTTO APONTE, ORLANDO                    ADDRESS ON FILE
COTTO APONTE, RAMON                      ADDRESS ON FILE
COTTO APONTE, VELIA D                    ADDRESS ON FILE
COTTO ARAUJO, IVETTE                     ADDRESS ON FILE
COTTO ARROYO, ALEXIS                     ADDRESS ON FILE
COTTO ARROYO, ALEXIS                     ADDRESS ON FILE
COTTO ARROYO, EMILIO                     ADDRESS ON FILE
COTTO ARROYO, IRAIDA                     ADDRESS ON FILE
COTTO ARROYO, JEANETTE                   ADDRESS ON FILE
COTTO AVILES, BETTY                      ADDRESS ON FILE
COTTO AVILES, MARIA E.                   ADDRESS ON FILE
COTTO AVILES, MARIA E.                   ADDRESS ON FILE
COTTO AVILES, MARIA I                    ADDRESS ON FILE
COTTO AVILES, RUTH                       ADDRESS ON FILE
COTTO AYALA, JOHANNA                     ADDRESS ON FILE
COTTO AYALA, MARGARITA                   ADDRESS ON FILE
COTTO AYALA, MARIA                       ADDRESS ON FILE
COTTO AYALA, RAMONITA                    ADDRESS ON FILE
COTTO AYALA, YOLANDA                     ADDRESS ON FILE
COTTO BENITEZ, JOSE                      ADDRESS ON FILE
COTTO BENITEZ, RICARDO                   ADDRESS ON FILE
COTTO BERMUDEZ, YARITZA                  ADDRESS ON FILE
COTTO BERNIER, OSVALDO                   ADDRESS ON FILE
COTTO BERNIER, VILMARIE                  ADDRESS ON FILE
COTTO BERRIOS, CHARLOTTE I               ADDRESS ON FILE
COTTO BERRIOS, HAYDEE                    ADDRESS ON FILE
COTTO BERRIOS, IDALID                    ADDRESS ON FILE
COTTO BLOISE, MARIA DEL C.               ADDRESS ON FILE
COTTO BONILLA, MIGUEL                    ADDRESS ON FILE
COTTO BORIA, SONIA N                     ADDRESS ON FILE
Cotto Burgos, Carlos R                   ADDRESS ON FILE
COTTO BURGOS, MILAGROS                   ADDRESS ON FILE
COTTO BUS LINE CORP.                     URB FRONTERAS                   101 JUAN LINES RAMOS                                                    BAYAMON      PR      00961
COTTO BUS LINE, CORP                     URB FRONTERAS                   101 CALLE JUAN LINES RAMOS                                              BAYAMON      PR      00961
COTTO CABRERA, ALEXANDER                 ADDRESS ON FILE
COTTO CABRERA, ANGEL                     ADDRESS ON FILE
COTTO CABRERA, PEDRO                     ADDRESS ON FILE
COTTO CALO, VANLLA D.                    ADDRESS ON FILE
COTTO CALO, VANLLA DAMARIS               ADDRESS ON FILE
COTTO CAMACHO, CARMELO                   ADDRESS ON FILE
COTTO CAMACHO, CLARA I                   ADDRESS ON FILE
COTTO CAMARA, DAIMARY                    ADDRESS ON FILE
                                                                                                                     1353 AVE. LUIS
COTTO CÁMARA, DAIMARY Y/O 19 EMPLS DEL PRLCDA. YARLENE JIMENEZ ROSARIO   PMB 133                                     VIGOREAUX                   GUAYNABO     PR      00966‐2700
COTTO CANALES, DOMINGA                   ADDRESS ON FILE
COTTO CANALES, GLORIA                    ADDRESS ON FILE
COTTO CANALES, LUIS                      ADDRESS ON FILE
COTTO CARABALLO, LUIS VICENTE            ADDRESS ON FILE
COTTO CARDONA, LAURA                     ADDRESS ON FILE




                                                                                                      Page 1852 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1853 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO CARDONA, ZAIDA E         ADDRESS ON FILE
COTTO CARRASCO, JUAN           ADDRESS ON FILE
COTTO CARRASCO, JUAN L.        ADDRESS ON FILE
COTTO CARRASQUILLO, DOMINGO    ADDRESS ON FILE
COTTO CARRASQUILLO, EUFEMIA    ADDRESS ON FILE
COTTO CARRASQUILLO, IDELISSE   ADDRESS ON FILE
COTTO CARRASQUILLO, PEDRO      ADDRESS ON FILE
COTTO CARRUCINI, ALEXANDRA     ADDRESS ON FILE
COTTO CARTAGENA, ADA           ADDRESS ON FILE
COTTO CARTAGENA, AGUSTIN       ADDRESS ON FILE
COTTO CARTAGENA, CARLOS J.     ADDRESS ON FILE
COTTO CARTAGENA, MARIA INES    ADDRESS ON FILE
COTTO CARTAGENA, RICARDO L.    ADDRESS ON FILE
COTTO CASTRO, ANGEL            ADDRESS ON FILE
COTTO CASTRO, ANGELA M.        ADDRESS ON FILE
COTTO CASTRO, ATEICHA          ADDRESS ON FILE
COTTO CASTRO, FRANCHESKA       ADDRESS ON FILE
COTTO CASTRO, JORGE            ADDRESS ON FILE
COTTO CASTRO, MARIA E          ADDRESS ON FILE
COTTO CASTRO, PABLO J.         ADDRESS ON FILE
COTTO CATALA, IRMA N.          ADDRESS ON FILE
Cotto Centeno, Ramon L         ADDRESS ON FILE
COTTO CHEVERE, CARMELO         ADDRESS ON FILE
COTTO CHEVERE, LILLIAM         ADDRESS ON FILE
COTTO CHINA, MANUEL            ADDRESS ON FILE
COTTO CINTRON, MYRIAM E        ADDRESS ON FILE
COTTO CINTRON, PEDRO           ADDRESS ON FILE
COTTO CIRILO, MIGUEL           ADDRESS ON FILE
COTTO CLAUDIO, GLORIANYS       ADDRESS ON FILE
COTTO CLAUDIO, RAFAEL          ADDRESS ON FILE
COTTO CLAUDIO, YARITZA M       ADDRESS ON FILE
COTTO CLEMENTE, EDUARDO        ADDRESS ON FILE
COTTO COLLAZO, ALEXAMUEL       ADDRESS ON FILE
COTTO COLON, ALFONSO           ADDRESS ON FILE
COTTO COLON, AMELIA            ADDRESS ON FILE
COTTO COLON, ANGEL R           ADDRESS ON FILE
COTTO COLON, BETTY             ADDRESS ON FILE
COTTO COLON, CARLOS            ADDRESS ON FILE
COTTO COLON, IRMA              ADDRESS ON FILE
COTTO COLON, JEANETE           ADDRESS ON FILE
COTTO COLON, JORGE             ADDRESS ON FILE
COTTO COLON, JOSE              ADDRESS ON FILE
COTTO COLON, JOSE              ADDRESS ON FILE
COTTO COLON, JUANITA           ADDRESS ON FILE
COTTO COLON, MARIA L.          ADDRESS ON FILE
COTTO COLON, NILDA R           ADDRESS ON FILE
COTTO COLON, ROSA DEL P        ADDRESS ON FILE
Cotto Concepcion, Carlos E     ADDRESS ON FILE
COTTO CONCEPCION, CRISTIVANI   ADDRESS ON FILE
COTTO CONCEPCION, EDRICK       ADDRESS ON FILE
COTTO CONCEPCION, JOSE         ADDRESS ON FILE
COTTO CONCEPCION, LUIS         ADDRESS ON FILE
COTTO CONCEPCION, MARITZA      ADDRESS ON FILE
COTTO CORREA, DENNIS           ADDRESS ON FILE
COTTO CORREA, PEDRO J.         ADDRESS ON FILE
COTTO CORREAS, BERNICE         ADDRESS ON FILE
COTTO CORTES, ANTONIO          ADDRESS ON FILE
COTTO COSME, DANIEL J          ADDRESS ON FILE
Cotto Cosme, Jose M.           ADDRESS ON FILE
COTTO COSME, LUIS              ADDRESS ON FILE




                                                                           Page 1853 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1854 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
COTTO COSS, JENNIE            ADDRESS ON FILE
COTTO COTTO, DANIEL           ADDRESS ON FILE
COTTO COTTO, FELIX            ADDRESS ON FILE
COTTO COTTO, HECTOR           ADDRESS ON FILE
COTTO COTTO, JOHN             ADDRESS ON FILE
COTTO COTTO, JUAN             ADDRESS ON FILE
COTTO COTTO, JUANA            ADDRESS ON FILE
COTTO COTTO, KEVIN L.         ADDRESS ON FILE
COTTO COTTO, MARGARITA        ADDRESS ON FILE
COTTO COTTO, MARGARITA        ADDRESS ON FILE
COTTO COTTO, NOEMI            ADDRESS ON FILE
COTTO COTTO, ONESIMA          ADDRESS ON FILE
COTTO CRUZ, DAVID             ADDRESS ON FILE
COTTO CRUZ, ERIC              ADDRESS ON FILE
COTTO CRUZ, JAMES             ADDRESS ON FILE
COTTO CRUZ, JOSE              ADDRESS ON FILE
COTTO CRUZ, JOSE              ADDRESS ON FILE
COTTO CRUZ, KRISTEL           ADDRESS ON FILE
COTTO CRUZ, MARANGELY         ADDRESS ON FILE
COTTO CRUZ, MIGUEL            ADDRESS ON FILE
COTTO CRUZ, RAMONITA          ADDRESS ON FILE
COTTO CRUZ, ROSA M            ADDRESS ON FILE
COTTO CUBERO, JOSE            ADDRESS ON FILE
COTTO DE CRUZ, MARIA DEL C    ADDRESS ON FILE
COTTO DE JESUS ,RAMONA        ADDRESS ON FILE
COTTO DE JESUS, ELISEO        ADDRESS ON FILE
COTTO DE JESUS, JOHANNA       ADDRESS ON FILE
COTTO DE JESUS, LIZAIDA       ADDRESS ON FILE
COTTO DE JESUS, MARIA DEL     ADDRESS ON FILE
COTTO DE JESUS, TERESA DE J   ADDRESS ON FILE
COTTO DE LA PAZ               P.O.BOX 810                                                                      TRUJILLO ALTO     PR      00977
COTTO DE LA PAZ, DAMASO       ADDRESS ON FILE
COTTO DE LA PAZ, JUDITH       ADDRESS ON FILE
COTTO DE RIVERA, NYLSA        ADDRESS ON FILE
COTTO DELGADO, JULIO A        ADDRESS ON FILE
COTTO DELGADO, KARLA M.       ADDRESS ON FILE
COTTO DELGADO, THYFANIE       ADDRESS ON FILE
COTTO DIAZ, ANGELINA          ADDRESS ON FILE
COTTO DIAZ, ANTONIO           ADDRESS ON FILE
COTTO DIAZ, BRENDA            ADDRESS ON FILE
COTTO DIAZ, CARMEN            ADDRESS ON FILE
COTTO DIAZ, CARMEN I.         ADDRESS ON FILE
COTTO DIAZ, ELADIA            ADDRESS ON FILE
COTTO DIAZ, HECTOR            ADDRESS ON FILE
Cotto Diaz, Jaime             ADDRESS ON FILE
COTTO DIAZ, JAIME             ADDRESS ON FILE
COTTO DIAZ, JESHLEEN          ADDRESS ON FILE
Cotto Diaz, Joel              ADDRESS ON FILE
COTTO DIAZ, LISA              ADDRESS ON FILE
COTTO DIAZ, LUZ M             ADDRESS ON FILE
COTTO DIAZ, MARIA C           ADDRESS ON FILE
COTTO DIAZ, MARVIN            ADDRESS ON FILE
COTTO DIAZ, OMAR              ADDRESS ON FILE
COTTO DIAZ, VICTOR            ADDRESS ON FILE
COTTO DIEPPA, JOSE A          ADDRESS ON FILE
COTTO ENCARNACION,ANA L.      ADDRESS ON FILE
COTTO ESCALERA, ANA           ADDRESS ON FILE
COTTO ESCALERA, EMITZA        ADDRESS ON FILE
COTTO ESQUILIN, MARTA         ADDRESS ON FILE
COTTO ESTRADA, SALLY          ADDRESS ON FILE




                                                                          Page 1854 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1855 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO FEBLES, TAYRA            ADDRESS ON FILE
COTTO FEBO, FELIX A.           ADDRESS ON FILE
COTTO FEBO, SONIA I            ADDRESS ON FILE
COTTO FEBUS, EMILIO            ADDRESS ON FILE
COTTO FEBUS, WANDA M           ADDRESS ON FILE
COTTO FERNANDEZ, CARLOS        ADDRESS ON FILE
COTTO FERNANDEZ, JUAN J        ADDRESS ON FILE
COTTO FERNANDEZ, LUIS          ADDRESS ON FILE
COTTO FERNANDEZ, MARIA E.      ADDRESS ON FILE
COTTO FERNANDEZ,CARMELO        ADDRESS ON FILE
Cotto Ferrer, Delma I          ADDRESS ON FILE
COTTO FIGUEROA, ANGEL L        ADDRESS ON FILE
COTTO FIGUEROA, CARMEN M.      ADDRESS ON FILE
COTTO FIGUEROA, CHRISTIAN M.   ADDRESS ON FILE
COTTO FIGUEROA, DESIREE        ADDRESS ON FILE
COTTO FIGUEROA, ENGRACIA       ADDRESS ON FILE
COTTO FIGUEROA, FELIPE         ADDRESS ON FILE
COTTO FIGUEROA, LIONEL         ADDRESS ON FILE
COTTO FIGUEROA, LIZ D          ADDRESS ON FILE
COTTO FIGUEROA, SAMIA L        ADDRESS ON FILE
COTTO FLECHA, LUZ              ADDRESS ON FILE
COTTO FLECHA, RICARDA          ADDRESS ON FILE
COTTO FLORES, ANLLA Y          ADDRESS ON FILE
COTTO FLORES, TAYRA            ADDRESS ON FILE
COTTO FLORES, YAIRA T          ADDRESS ON FILE
COTTO FLORES,LEFBIA            ADDRESS ON FILE
COTTO FONTANEZ, WILFREDO       ADDRESS ON FILE
COTTO FRANCO, IRIS E           ADDRESS ON FILE
COTTO FUENTES, FRANCES         ADDRESS ON FILE
COTTO GARCIA, ANA H            ADDRESS ON FILE
Cotto Garcia, Edwin            ADDRESS ON FILE
COTTO GARCIA, GISELA           ADDRESS ON FILE
COTTO GARCIA, WILFREDO         ADDRESS ON FILE
COTTO GOMEZ, BALAAN            ADDRESS ON FILE
COTTO GOMEZ, EDGARDO           ADDRESS ON FILE
COTTO GOMEZ, JOEL              ADDRESS ON FILE
COTTO GOMEZ, JOSE              ADDRESS ON FILE
COTTO GONZALEZ, AITZA          ADDRESS ON FILE
COTTO GONZALEZ, ALEX           ADDRESS ON FILE
COTTO GONZALEZ, ANGEL L.       ADDRESS ON FILE
COTTO GONZALEZ, ARACELIS       ADDRESS ON FILE
COTTO GONZALEZ, BASILIO        ADDRESS ON FILE
COTTO GONZALEZ, BENJAMIN       ADDRESS ON FILE
COTTO GONZALEZ, DAGMA          ADDRESS ON FILE
COTTO GONZALEZ, DUCHESKA       ADDRESS ON FILE
COTTO GONZALEZ, EDGAR          ADDRESS ON FILE
COTTO GONZALEZ, FELICITA       ADDRESS ON FILE
COTTO GONZALEZ, FELIX          ADDRESS ON FILE
COTTO GONZALEZ, GAMALIER       ADDRESS ON FILE
COTTO GONZALEZ, ILEANA         ADDRESS ON FILE
COTTO GONZALEZ, ISMAEL         ADDRESS ON FILE
COTTO GONZALEZ, JACKELINE      ADDRESS ON FILE
COTTO GONZALEZ, JACKELINE      ADDRESS ON FILE
COTTO GONZALEZ, JAHAIRA        ADDRESS ON FILE
COTTO GONZALEZ, LUZ Y          ADDRESS ON FILE
COTTO GONZALEZ, MARTIN A.      ADDRESS ON FILE
COTTO GONZALEZ, MARY ANN       ADDRESS ON FILE
COTTO GONZALEZ, ROBERTO        ADDRESS ON FILE
COTTO GONZALEZ, ROSA M         ADDRESS ON FILE
COTTO GONZALEZ, ROSA M.        ADDRESS ON FILE




                                                                           Page 1855 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1856 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO GONZALEZ, VICTOR I     ADDRESS ON FILE
COTTO GONZALEZ, YESENIA      ADDRESS ON FILE
COTTO GORDIAN, JOSE          ADDRESS ON FILE
Cotto Gotay, David           ADDRESS ON FILE
COTTO GUADALUPE, GUILLERMO   ADDRESS ON FILE
COTTO GUERRA, OBDULIA M      ADDRESS ON FILE
COTTO GUZMAN, CARMEN L       ADDRESS ON FILE
COTTO GUZMAN, IRIS           ADDRESS ON FILE
COTTO GUZMAN, IRIS           ADDRESS ON FILE
COTTO GUZMAN, JULIA          ADDRESS ON FILE
COTTO GUZMAN, MIRIAM         ADDRESS ON FILE
COTTO GUZMAN, ROBERTO        ADDRESS ON FILE
COTTO GUZMAN, SANDRA         ADDRESS ON FILE
COTTO HERNANDEZ, ALFREDO     ADDRESS ON FILE
COTTO HERNANDEZ, ANA I.      ADDRESS ON FILE
COTTO HERNANDEZ, ANDRES      ADDRESS ON FILE
COTTO HERNANDEZ, ANGEL       ADDRESS ON FILE
COTTO HERNANDEZ, BRENDA      ADDRESS ON FILE
COTTO HERNANDEZ, EVELYN      ADDRESS ON FILE
COTTO HERNANDEZ, FERNANDO    ADDRESS ON FILE
COTTO HERNANDEZ, GLORIA M    ADDRESS ON FILE
COTTO HERNANDEZ, HERMINIO    ADDRESS ON FILE
Cotto Hernandez, Joaquin     ADDRESS ON FILE
COTTO HERNANDEZ, JOAQUIN     ADDRESS ON FILE
COTTO HERNANDEZ, JORGE       ADDRESS ON FILE
COTTO HERNANDEZ, JOSE M      ADDRESS ON FILE
COTTO HERNANDEZ, KATHERINE   ADDRESS ON FILE
COTTO HERNANDEZ, MARIA       ADDRESS ON FILE
COTTO HERNANDEZ, MARIA S     ADDRESS ON FILE
COTTO HERNANDEZ, MIGDALIA    ADDRESS ON FILE
COTTO HERNANDEZ, MODESTO     ADDRESS ON FILE
Cotto Hernandez, Omar D      ADDRESS ON FILE
Cotto Hernandez, Saribel     ADDRESS ON FILE
COTTO HUERTAS, JULIO D.      ADDRESS ON FILE
COTTO HUERTAS, LUIS A        ADDRESS ON FILE
COTTO HUERTAS, PABLO         ADDRESS ON FILE
COTTO HUYKE, MARIELYS        ADDRESS ON FILE
COTTO IBARRA MD, LUIS        ADDRESS ON FILE
COTTO IBARRA, BRUNILDA       ADDRESS ON FILE
COTTO IBARRA, CARMEN         ADDRESS ON FILE
COTTO IRIZARRY, DAYSY        ADDRESS ON FILE
COTTO JIMENEZ, ALEJANDRO     ADDRESS ON FILE
COTTO JIMENEZ, ALEJANDRO     ADDRESS ON FILE
COTTO JIMENEZ, GLORIA E      ADDRESS ON FILE
COTTO JIMENEZ, NINETTE       ADDRESS ON FILE
COTTO JUSINO, ZOE            ADDRESS ON FILE
COTTO LABOY, CANDIDO         ADDRESS ON FILE
COTTO LAGO, LILLIAM          ADDRESS ON FILE
Cotto Lara, Tomas            ADDRESS ON FILE
Cotto Latorre, Jose R        ADDRESS ON FILE
COTTO LEBRON, JUAN           ADDRESS ON FILE
COTTO LEBRON, WANDA I        ADDRESS ON FILE
COTTO LEON, DENISSE          ADDRESS ON FILE
COTTO LEON, HECTOR           ADDRESS ON FILE
COTTO LEON, MAGALY           ADDRESS ON FILE
COTTO LLERA, LUZ M           ADDRESS ON FILE
COTTO LLERAS, ABIGAIL        ADDRESS ON FILE
COTTO LOPEZ, BENITO          ADDRESS ON FILE
COTTO LOPEZ, EDNA            ADDRESS ON FILE
COTTO LOPEZ, EDWIN           ADDRESS ON FILE




                                                                         Page 1856 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1857 of 3500
                                                                             17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                 Address1                    Address2                                 Address3            Address4   City       State   PostalCode   Country
COTTO LOPEZ, EDWIN            ADDRESS ON FILE
COTTO LOPEZ, ESTEFANY L       ADDRESS ON FILE
COTTO LOPEZ, GARDELIZ         ADDRESS ON FILE
COTTO LOPEZ, GILBERTO         ADDRESS ON FILE
COTTO LOPEZ, JAVIER           ADDRESS ON FILE
COTTO LOPEZ, JULIO E.         ADDRESS ON FILE
COTTO LOPEZ, LIZETTE          ADDRESS ON FILE
COTTO LOPEZ, MADELINE         ADDRESS ON FILE
COTTO LOPEZ, MIGDALIA         ADDRESS ON FILE
COTTO LÓPEZ, MIGUEL           MICHELLE M. SILVA MARRERO   200 RAFAEL CORDERO AVE.                  SUITE 140 PMB 263              CAGUAS     PR      00725‐4303
COTTO LOPEZ, NATALIE          ADDRESS ON FILE
COTTO LOPEZ, PURA             ADDRESS ON FILE
COTTO LOPEZ, ROSA             ADDRESS ON FILE
COTTO LOPEZ, WANDA            ADDRESS ON FILE
COTTO LOPEZ, WANDA I.         ADDRESS ON FILE
Cotto Lopez, Wilfredo         ADDRESS ON FILE
COTTO LOPEZ, YANIRANET        ADDRESS ON FILE
COTTO LOZADA, ANGEL           ADDRESS ON FILE
COTTO LOZADA, YADIRA          ADDRESS ON FILE
COTTO LOZANO, CARMEN D        ADDRESS ON FILE
COTTO LUCIANO, FERDINAND      ADDRESS ON FILE
COTTO LUGO, ALMA              ADDRESS ON FILE
COTTO LUNA, LIDA M            ADDRESS ON FILE
COTTO LUNA, LUIS A.           ADDRESS ON FILE
COTTO LUQUE, LEONED J         ADDRESS ON FILE
COTTO MACHADO, MARIAM         ADDRESS ON FILE
COTTO MACHUCA, CALIXTO        ADDRESS ON FILE
COTTO MAISONET, FRANCES       ADDRESS ON FILE
COTTO MALAVE, YADIEL          ADDRESS ON FILE
COTTO MALDONADO, IVETTE       ADDRESS ON FILE
Cotto Maldonado, Jessica      ADDRESS ON FILE
COTTO MALDONADO, MARCOS       ADDRESS ON FILE
COTTO MALDONADO, MARIA DEL    ADDRESS ON FILE
COTTO MALDONADO, MARIA DEL    ADDRESS ON FILE
COTTO MALDONADO, ROLANDO      ADDRESS ON FILE
COTTO MANGUAL, KENNY          ADDRESS ON FILE
COTTO MARCANO, IRMA Z.        ADDRESS ON FILE
COTTO MARIN, AIDA L           ADDRESS ON FILE
COTTO MARIN, ERMELINDA        ADDRESS ON FILE
COTTO MARIN, MARIA DE LOS M   ADDRESS ON FILE
Cotto Marrero, Carlos E       ADDRESS ON FILE
COTTO MARRERO, HELGA          ADDRESS ON FILE
Cotto Marti, Angel L          ADDRESS ON FILE
COTTO MARTINEZ, ELIAS         ADDRESS ON FILE
Cotto Martinez, Hector        ADDRESS ON FILE
COTTO MARTINEZ, JAVIER        ADDRESS ON FILE
COTTO MARTINEZ, JUAN          ADDRESS ON FILE
Cotto Martinez, Manuel        ADDRESS ON FILE
COTTO MARTINEZ, MARIA DEL     ADDRESS ON FILE
COTTO MARTINEZ, MAYRA A       ADDRESS ON FILE
COTTO MARTINEZ, RAFAEL        ADDRESS ON FILE
Cotto Martinez, William       ADDRESS ON FILE
COTTO MARTIR, YOLIHET         ADDRESS ON FILE
COTTO MARTIR,YOLIHET          ADDRESS ON FILE
COTTO MATEO, KAREN            ADDRESS ON FILE
COTTO MATOS, ALEJANDRO        ADDRESS ON FILE
COTTO MATOS, EDGARDO          ADDRESS ON FILE
Cotto Matos, Eric J           ADDRESS ON FILE
COTTO MATOS, ERICK            ADDRESS ON FILE
COTTO MATOS, LUZAIDA          ADDRESS ON FILE




                                                                                    Page 1857 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1858 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO MATOS, MARIA            ADDRESS ON FILE
Cotto Matos, Wilfredo         ADDRESS ON FILE
COTTO MEDINA, AIDA I          ADDRESS ON FILE
Cotto Medina, Jose Omar       ADDRESS ON FILE
COTTO MELENDEZ, ERIC          ADDRESS ON FILE
COTTO MELENDEZ, LUIS          ADDRESS ON FILE
COTTO MELENDEZ, LUZ           ADDRESS ON FILE
COTTO MELENDEZ, MIGUEL A      ADDRESS ON FILE
COTTO MELENDEZ, REINALDO      ADDRESS ON FILE
COTTO MELENDEZ, YARITZA       ADDRESS ON FILE
COTTO MERCED, ANGEL           ADDRESS ON FILE
Cotto Merced, Luis F.         ADDRESS ON FILE
COTTO MERCED, MIRTA L         ADDRESS ON FILE
COTTO MILLAN, REINA M         ADDRESS ON FILE
COTTO MIRANDA, CARLOS         ADDRESS ON FILE
COTTO MIRANDA, TOMASA         ADDRESS ON FILE
COTTO MOLINA, CARLOS          ADDRESS ON FILE
COTTO MOLINA, MARILYN         ADDRESS ON FILE
COTTO MONTANEZ, ANTONIA       ADDRESS ON FILE
COTTO MONTANEZ, CARMEN D.     ADDRESS ON FILE
COTTO MONTANEZ, CARMEN Z      ADDRESS ON FILE
COTTO MONTANEZ, EDWIN         ADDRESS ON FILE
COTTO MONTANEZ, IRMA          ADDRESS ON FILE
COTTO MONTANEZ, MARIA S       ADDRESS ON FILE
COTTO MONTANEZ, MILLI         ADDRESS ON FILE
COTTO MONTANEZ, PORFIRIA      ADDRESS ON FILE
COTTO MONTANEZ, WILFREDO      ADDRESS ON FILE
COTTO MORALES, CARMEN         ADDRESS ON FILE
COTTO MORALES, DAMARIS        ADDRESS ON FILE
COTTO MORALES, JOSE F         ADDRESS ON FILE
COTTO MORALES, LUZMARIS       ADDRESS ON FILE
COTTO MORALES, MANUELA        ADDRESS ON FILE
COTTO MORALES, MIGUEL ANGEL   ADDRESS ON FILE
COTTO MORALES, NOEMI          ADDRESS ON FILE
COTTO MORALES, STEPHANIE      ADDRESS ON FILE
COTTO MORAN, AIXA             ADDRESS ON FILE
COTTO MORAN, AIXA M.          ADDRESS ON FILE
COTTO MULERO, LUZ ZORAIDA     ADDRESS ON FILE
COTTO MUNIZ, ANGEL            ADDRESS ON FILE
COTTO MUNOZ, AVALIZ           ADDRESS ON FILE
COTTO MUNOZ, IDALIZ           ADDRESS ON FILE
COTTO NAVARRO, EVA L          ADDRESS ON FILE
COTTO NAVARRO, FELIX          ADDRESS ON FILE
COTTO NAVARRO, ZENAIDA        ADDRESS ON FILE
COTTO NEGRON, ANALDA          ADDRESS ON FILE
COTTO NEGRON, JUAN            ADDRESS ON FILE
COTTO NEGRON, LUZ M           ADDRESS ON FILE
COTTO NEVAREZ, EFRAIN         ADDRESS ON FILE
COTTO NIEVES, ANGEL D.        ADDRESS ON FILE
COTTO NIEVES, ARACELIS        ADDRESS ON FILE
COTTO NIEVES, BLANCA E        ADDRESS ON FILE
COTTO NIEVES, CARMEN          ADDRESS ON FILE
Cotto Nieves, Carmen D.       ADDRESS ON FILE
COTTO NIEVES, EDWIN           ADDRESS ON FILE
Cotto Nieves, Heriberto       ADDRESS ON FILE
COTTO NIEVES, HERIBERTO       ADDRESS ON FILE
COTTO NIEVES, JOSE A.         ADDRESS ON FILE
COTTO NIEVES, LIZABETH        ADDRESS ON FILE
COTTO NIEVES, MARIA H         ADDRESS ON FILE
COTTO NIEVES, MARIA M         ADDRESS ON FILE




                                                                          Page 1858 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1859 of 3500
                                                                           17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name               Address1                        Address2                                       Address3        Address4   City         State   PostalCode   Country
COTTO NIEVES, MARISEL       ADDRESS ON FILE
COTTO NIEVES, MARISOL       ADDRESS ON FILE
COTTO NIEVES, VIRGEN M.     ADDRESS ON FILE
COTTO NUNEZ, FRANCISCO      ADDRESS ON FILE
COTTO O FARRIL, MARIA E     ADDRESS ON FILE
COTTO OCASIO, JEREMY        ADDRESS ON FILE
COTTO OCASIO, MILLYNESS     ADDRESS ON FILE
COTTO OLIQUE, HILCA J.      ADDRESS ON FILE
COTTO ONEILL, GLORIA        ADDRESS ON FILE
COTTO ORAMA, LILLIAM M      ADDRESS ON FILE
COTTO ORTIZ                 ADDRESS ON FILE
COTTO ORTIZ, ANA L          ADDRESS ON FILE
COTTO ORTIZ, ANGELICA       ADDRESS ON FILE
COTTO ORTIZ, CONSORCIO E    ADDRESS ON FILE
Cotto Ortiz, Edwin          ADDRESS ON FILE
COTTO ORTIZ, EFRAIN         ADDRESS ON FILE
COTTO ORTIZ, FELICITA       ADDRESS ON FILE
COTTO ORTIZ, GERALD         ADDRESS ON FILE
COTTO ORTIZ, JOSE           ADDRESS ON FILE
COTTO ORTIZ, JOSE A.        ADDRESS ON FILE
COTTO ORTIZ, JULIA E        ADDRESS ON FILE
COTTO ORTIZ, LIS D.         ADDRESS ON FILE
COTTO ORTIZ, LORRAINE       ADDRESS ON FILE
COTTO ORTIZ, MARIA S        ADDRESS ON FILE
COTTO ORTIZ, NATIVIDAD      ADDRESS ON FILE
COTTO ORTIZ, OLGA           ADDRESS ON FILE
COTTO ORTIZ, RAFAEL         ADDRESS ON FILE
COTTO ORTIZ, RAMON          ADDRESS ON FILE
COTTO ORTIZ, VIRGEN         ADDRESS ON FILE
Cotto Ortiz, Winso          ADDRESS ON FILE
COTTO ORTIZ, WINSO          ADDRESS ON FILE
COTTO OSORIO, MAGALY        ADDRESS ON FILE
COTTO OTERO, JOSE           ADDRESS ON FILE
COTTO OYOLA, GUILLERMO      ADDRESS ON FILE
COTTO OYOLA, GUILLERMO A.   ADDRESS ON FILE
COTTO OYOLA, GUILLERMO A.   ADDRESS ON FILE
COTTO OYOLA, ISRAEL         ADDRESS ON FILE
Cotto Padilla, Rolando      ADDRESS ON FILE
COTTO PADRO, EVA            ADDRESS ON FILE
COTTO PADRO, EVELYN M.      ADDRESS ON FILE
COTTO PAGAN, ABRAHAM        ADDRESS ON FILE
COTTO PAGAN, YANITZA        ADDRESS ON FILE
COTTO PALMER, JOANNE        ADDRESS ON FILE
COTTO PEREIRA, SOFIA        ADDRESS ON FILE
COTTO PEREZ LYXANDRA        LCDA. NIVIA E. MILLIAN FALERO   LCDA. NIVIA E. MILLIAN FALERO                  PO BOX 19400    NÚM.212    SAN JUAN     PR      00919‐4000
COTTO PEREZ LYXANDRA        LCDO. DANNY LÓPEZ PUJALS        LCDO. DANNY LÓPEZ PUJALS                       PO BOX 368102              SAN JUAN     PR      00936
COTTO PEREZ LYXANDRA        LCDO. HOSTOS GARALLADO          LCDO. HOSTOS GARALLADO                         POBOX 70244                SAN JUAN     PR      00936‐8244
COTTO PEREZ, AMARYLLIS      ADDRESS ON FILE
COTTO PEREZ, CANDIDA        ADDRESS ON FILE
COTTO PEREZ, CARMEN M.      ADDRESS ON FILE
COTTO PEREZ, CLARIBEL       ADDRESS ON FILE
COTTO PEREZ, ILUMINADA V    ADDRESS ON FILE
COTTO PEREZ, JORGE L        ADDRESS ON FILE
COTTO PEREZ, LENITZA Y      ADDRESS ON FILE
COTTO PEREZ, LEONARDO       ADDRESS ON FILE
COTTO PEREZ, LUIS M         ADDRESS ON FILE
COTTO PEREZ, LUZ E          ADDRESS ON FILE
COTTO PEREZ, NESTOR         ADDRESS ON FILE
COTTO PEREZ, NITZA          ADDRESS ON FILE
COTTO PEREZ, PEDRO          ADDRESS ON FILE




                                                                                            Page 1859 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1860 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO PEREZ, RAUL            ADDRESS ON FILE
COTTO PIZARRO, CHRISTOPHER   ADDRESS ON FILE
Cotto Pomales, Carlos        ADDRESS ON FILE
COTTO POMALES, MARIA V       ADDRESS ON FILE
COTTO PRIETO, ELIGIA         ADDRESS ON FILE
COTTO PUESAN, INES           ADDRESS ON FILE
COTTO QUIJANO, EVALUZ        ADDRESS ON FILE
COTTO QUIJANO, MELVIN        ADDRESS ON FILE
COTTO QUIJANO, MELVIN JUAN   ADDRESS ON FILE
COTTO QUILES, CARLOS         ADDRESS ON FILE
COTTO QUINONES, ENIL         ADDRESS ON FILE
COTTO QUINONES, FRANCES      ADDRESS ON FILE
Cotto Quinones, Frances      ADDRESS ON FILE
COTTO QUINONES, IAN          ADDRESS ON FILE
COTTO QUINONES, IVETTE Z.    ADDRESS ON FILE
COTTO QUINONEZ, CHARY        ADDRESS ON FILE
COTTO QUINONEZ, ORLANDO      ADDRESS ON FILE
COTTO RAMIREZ, CRYSTAL       ADDRESS ON FILE
COTTO RAMIREZ, LILLIAN       ADDRESS ON FILE
COTTO RAMIREZ, SAMUEL        ADDRESS ON FILE
COTTO RAMOS, ADA E           ADDRESS ON FILE
COTTO RAMOS, CARMEN D        ADDRESS ON FILE
COTTO RAMOS, JOSE            ADDRESS ON FILE
COTTO RAMOS, JOSSELIS        ADDRESS ON FILE
COTTO RAMOS, JULIO           ADDRESS ON FILE
COTTO RAMOS, LUIS R          ADDRESS ON FILE
COTTO RAMOS, MARIBEL         ADDRESS ON FILE
COTTO RAMOS, MARIO           ADDRESS ON FILE
COTTO RAMOS, OMARA           ADDRESS ON FILE
COTTO RAMOS, PEDRO           ADDRESS ON FILE
COTTO RAMOS, VICTOR M        ADDRESS ON FILE
Cotto Reguero, Ramonita      ADDRESS ON FILE
COTTO REYES, GERMINAL        ADDRESS ON FILE
COTTO REYES, HECTOR L        ADDRESS ON FILE
Cotto Reyes, Juan            ADDRESS ON FILE
COTTO REYES, MANUEL          ADDRESS ON FILE
Cotto Reyes, Marisol         ADDRESS ON FILE
COTTO REYES, PABLO J.        ADDRESS ON FILE
COTTO REYES, RICHARD         ADDRESS ON FILE
COTTO REYES, SARITZA         ADDRESS ON FILE
COTTO REYES, WANDA           ADDRESS ON FILE
COTTO REYES,MARIA I.         ADDRESS ON FILE
COTTO RIOS, AWILDA           ADDRESS ON FILE
COTTO RIOS, DORALIA          ADDRESS ON FILE
COTTO RIOS, ENID M.          ADDRESS ON FILE
COTTO RIOS, ERIC M           ADDRESS ON FILE
COTTO RIOS, GILBERTO         ADDRESS ON FILE
COTTO RIOS, HECTOR           ADDRESS ON FILE
COTTO RIOS, JUAN             ADDRESS ON FILE
COTTO RIOS, LIZ M            ADDRESS ON FILE
COTTO RIOS, MARCEL           ADDRESS ON FILE
COTTO RIOS, MIGUEL           ADDRESS ON FILE
COTTO RIOS, REBECCA          ADDRESS ON FILE
COTTO RIOS, SAMUEL           ADDRESS ON FILE
Cotto Rivera, Alexis         ADDRESS ON FILE
COTTO RIVERA, ANA H.         ADDRESS ON FILE
COTTO RIVERA, ANGEL          ADDRESS ON FILE
COTTO RIVERA, ANTONIO        ADDRESS ON FILE
COTTO RIVERA, DIEGO          ADDRESS ON FILE
COTTO RIVERA, ELIZABETH      ADDRESS ON FILE




                                                                         Page 1860 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1861 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO RIVERA, ELIZABETH       ADDRESS ON FILE
Cotto Rivera, Eric D          ADDRESS ON FILE
COTTO RIVERA, FELIX           ADDRESS ON FILE
Cotto Rivera, Fernando        ADDRESS ON FILE
COTTO RIVERA, GLADYS          ADDRESS ON FILE
COTTO RIVERA, GLADYS          ADDRESS ON FILE
Cotto Rivera, Hector M        ADDRESS ON FILE
COTTO RIVERA, IDA L           ADDRESS ON FILE
COTTO RIVERA, IDALIA          ADDRESS ON FILE
COTTO RIVERA, IRMA L          ADDRESS ON FILE
COTTO RIVERA, IVETTE          ADDRESS ON FILE
COTTO RIVERA, JAVIER          ADDRESS ON FILE
COTTO RIVERA, JEAN CARLOS     ADDRESS ON FILE
COTTO RIVERA, JORGE           ADDRESS ON FILE
COTTO RIVERA, JORGE N         ADDRESS ON FILE
COTTO RIVERA, JOSE            ADDRESS ON FILE
COTTO RIVERA, JOSE            ADDRESS ON FILE
COTTO RIVERA, JOSE F.         ADDRESS ON FILE
COTTO RIVERA, JOSEFINA        ADDRESS ON FILE
COTTO RIVERA, JOSELYN         ADDRESS ON FILE
COTTO RIVERA, JOSELYN F       ADDRESS ON FILE
COTTO RIVERA, JULIO           ADDRESS ON FILE
COTTO RIVERA, LETICIA         ADDRESS ON FILE
COTTO RIVERA, LUIS A          ADDRESS ON FILE
COTTO RIVERA, LUZ A           ADDRESS ON FILE
COTTO RIVERA, LUZ E           ADDRESS ON FILE
COTTO RIVERA, MAGDALENA       ADDRESS ON FILE
COTTO RIVERA, MARANGELY       ADDRESS ON FILE
COTTO RIVERA, MARIA           ADDRESS ON FILE
COTTO RIVERA, MARIA J         ADDRESS ON FILE
COTTO RIVERA, MARIA M.        ADDRESS ON FILE
COTTO RIVERA, MARIA S         ADDRESS ON FILE
COTTO RIVERA, MAYRA I         ADDRESS ON FILE
COTTO RIVERA, MIGUEL A.       ADDRESS ON FILE
COTTO RIVERA, MOISES          ADDRESS ON FILE
COTTO RIVERA, PEDRO           ADDRESS ON FILE
COTTO RIVERA, RAFAELA         ADDRESS ON FILE
COTTO RIVERA, REIMUNDO        ADDRESS ON FILE
COTTO RIVERA, VIRGEN Z        ADDRESS ON FILE
COTTO RIVERA, VIRGINIA        ADDRESS ON FILE
COTTO RIVERA, WANDA           ADDRESS ON FILE
Cotto Rivera, Xaymara         ADDRESS ON FILE
COTTO RIVERA, XYOMARA         ADDRESS ON FILE
COTTO RIVERA, YARELIS         ADDRESS ON FILE
COTTO RIVERA, YOLANDA         ADDRESS ON FILE
COTTO ROBLES, ALEXIS          ADDRESS ON FILE
COTTO ROBLES, CARLOS R.       ADDRESS ON FILE
COTTO ROBLES, MARIANELA       ADDRESS ON FILE
COTTO RODRIGUEZ, ADERMAN      ADDRESS ON FILE
COTTO RODRIGUEZ, ALEX         ADDRESS ON FILE
COTTO RODRIGUEZ, ALICIA       ADDRESS ON FILE
COTTO RODRIGUEZ, ANGEL        ADDRESS ON FILE
Cotto Rodriguez, Bentio A     ADDRESS ON FILE
COTTO RODRIGUEZ, CARMEN M     ADDRESS ON FILE
COTTO RODRIGUEZ, CARMEN V.    ADDRESS ON FILE
COTTO RODRIGUEZ, DORIMAR      ADDRESS ON FILE
COTTO RODRIGUEZ, DORIS        ADDRESS ON FILE
COTTO RODRIGUEZ, EDWIN        ADDRESS ON FILE
COTTO RODRIGUEZ, GENESIS M.   ADDRESS ON FILE
COTTO RODRIGUEZ, ILEANA       ADDRESS ON FILE




                                                                          Page 1861 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1862 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO RODRIGUEZ, JANET            ADDRESS ON FILE
COTTO RODRIGUEZ, JOSE             ADDRESS ON FILE
COTTO RODRIGUEZ, JOSE             ADDRESS ON FILE
Cotto Rodriguez, Juan J           ADDRESS ON FILE
COTTO RODRIGUEZ, JUANITA          ADDRESS ON FILE
COTTO RODRIGUEZ, KAREN            ADDRESS ON FILE
COTTO RODRIGUEZ, MADELINE         ADDRESS ON FILE
COTTO RODRIGUEZ, MARIA E          ADDRESS ON FILE
COTTO RODRIGUEZ, MARIA T          ADDRESS ON FILE
COTTO RODRIGUEZ, MARITZA          ADDRESS ON FILE
COTTO RODRIGUEZ, MARTA            ADDRESS ON FILE
COTTO RODRIGUEZ, MICHAEL          ADDRESS ON FILE
COTTO RODRIGUEZ, NITZA J.         ADDRESS ON FILE
COTTO RODRIGUEZ, RAFAEL R         ADDRESS ON FILE
Cotto Rodriguez, Rafael Roberto   ADDRESS ON FILE
COTTO RODRIGUEZ, RAUL             ADDRESS ON FILE
COTTO RODRIGUEZ, RUALBA           ADDRESS ON FILE
COTTO RODRIGUEZ, RUTH M           ADDRESS ON FILE
COTTO RODRIGUEZ, SOCORRO          ADDRESS ON FILE
COTTO RODRIGUEZ, VALERIA          ADDRESS ON FILE
COTTO RODRIGUEZ, WILDALIS         ADDRESS ON FILE
COTTO ROMAN, ALEXIS               ADDRESS ON FILE
Cotto Roman, Eduardo              ADDRESS ON FILE
COTTO ROMAN, JANNIES              ADDRESS ON FILE
COTTO ROMAN, LUIS                 ADDRESS ON FILE
COTTO ROMAN, MICHEL ABDIAS        ADDRESS ON FILE
COTTO ROMAN, SHEILA               ADDRESS ON FILE
COTTO ROMERO, ANNET J.            ADDRESS ON FILE
COTTO ROMERO, OMAYRA ESTHER       ADDRESS ON FILE
COTTO ROQUE, GRICEL               ADDRESS ON FILE
COTTO ROQUE, GRICEL               ADDRESS ON FILE
COTTO ROSA, GREGORIA              ADDRESS ON FILE
COTTO ROSA, LUIS                  ADDRESS ON FILE
COTTO ROSA, LUZ                   ADDRESS ON FILE
COTTO ROSA, LUZ R                 ADDRESS ON FILE
COTTO ROSA, RAMON L.              ADDRESS ON FILE
COTTO ROSADO, ANGEL L             ADDRESS ON FILE
COTTO ROSADO, JULIA               ADDRESS ON FILE
COTTO ROSARIO, ADLIN              ADDRESS ON FILE
COTTO ROSARIO, ANGELICA           ADDRESS ON FILE
COTTO ROSARIO, CARLOS             ADDRESS ON FILE
COTTO ROSARIO, JUANITA            ADDRESS ON FILE
COTTO ROSARIO, LAZARO             ADDRESS ON FILE
COTTO ROSARIO, LUIS               ADDRESS ON FILE
Cotto Rosario, Luis A.            ADDRESS ON FILE
COTTO ROSARIO, SORIVETTE          ADDRESS ON FILE
COTTO RUIZ, JORGE                 ADDRESS ON FILE
COTTO RUIZ, LIZVETTE M            ADDRESS ON FILE
COTTO SALAS, CARLOS               ADDRESS ON FILE
COTTO SALGADO, ANA                ADDRESS ON FILE
COTTO SANCHEZ, ANA C              ADDRESS ON FILE
COTTO SANCHEZ, ANGEL              ADDRESS ON FILE
COTTO SANCHEZ, ANTHONY            ADDRESS ON FILE
Cotto Sanchez, Carmen             ADDRESS ON FILE
COTTO SANCHEZ, CARMEN L.          ADDRESS ON FILE
COTTO SANCHEZ, LUIS N             ADDRESS ON FILE
COTTO SANCHEZ, MARIA              ADDRESS ON FILE
COTTO SANCHEZ, MIGUEL             ADDRESS ON FILE
COTTO SANCHEZ, RONALD             ADDRESS ON FILE
COTTO SANCHEZ, VICTOR M           ADDRESS ON FILE




                                                                              Page 1862 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1863 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO SANTANA, GLORIA M.      ADDRESS ON FILE
COTTO SANTANA, JEARLENE I.    ADDRESS ON FILE
Cotto Santana, Joaquin        ADDRESS ON FILE
Cotto Santana, Juan           ADDRESS ON FILE
COTTO SANTANA, MARIA          ADDRESS ON FILE
Cotto Santana, Miguel Elias   ADDRESS ON FILE
COTTO SANTANA, MIRIAM E       ADDRESS ON FILE
COTTO SANTANA, PEDRO J        ADDRESS ON FILE
COTTO SANTANA, ROSA           ADDRESS ON FILE
COTTO SANTIAGO, ELIZABETH     ADDRESS ON FILE
COTTO SANTIAGO, GLENDALY      ADDRESS ON FILE
COTTO SANTIAGO, JOSE G        ADDRESS ON FILE
COTTO SANTIAGO, LOURDES       ADDRESS ON FILE
COTTO SANTIAGO, LUIS M.       ADDRESS ON FILE
COTTO SANTIAGO, MARCIAL       ADDRESS ON FILE
COTTO SANTIAGO, NORMA         ADDRESS ON FILE
COTTO SANTIAGO, VIRGINIA      ADDRESS ON FILE
COTTO SANTOS JESUS            ADDRESS ON FILE
COTTO SANTOS, ARACELIS        ADDRESS ON FILE
COTTO SANTOS, CIBELES         ADDRESS ON FILE
COTTO SANTOS, DANIEL          ADDRESS ON FILE
COTTO SANTOS, DANIEL          ADDRESS ON FILE
COTTO SANTOS, DORCA           ADDRESS ON FILE
Cotto Santos, Efrain          ADDRESS ON FILE
COTTO SANTOS, ELSA            ADDRESS ON FILE
COTTO SANTOS, HECTOR          ADDRESS ON FILE
COTTO SANTOS, NEPHTALI        ADDRESS ON FILE
COTTO SANTOS, RAYDA           ADDRESS ON FILE
COTTO SANTOS, SAMUEL          ADDRESS ON FILE
COTTO SANTOS, WILFREDO        ADDRESS ON FILE
COTTO SEDA, SARAIT            ADDRESS ON FILE
COTTO SEJUELA, JOSE L         ADDRESS ON FILE
COTTO SERRANO, ANA C          ADDRESS ON FILE
COTTO SERRANO, CARMEN L.      ADDRESS ON FILE
COTTO SERRANO, LUCAS J.       ADDRESS ON FILE
COTTO SIERRA, BRENDA          ADDRESS ON FILE
COTTO SIERRA, WANDA           ADDRESS ON FILE
COTTO SILVA, ELIANID          ADDRESS ON FILE
COTTO SILVA, ROSANGELA        ADDRESS ON FILE
COTTO SILVA, VERONICA         ADDRESS ON FILE
COTTO SOTO, MARISOL           ADDRESS ON FILE
COTTO SOTO, NILDA L           ADDRESS ON FILE
COTTO SOTO, RAFAEL            ADDRESS ON FILE
COTTO SUAREZ, JOSE A          ADDRESS ON FILE
COTTO SUAREZ, LUIS J          ADDRESS ON FILE
COTTO SURIEL, BETSY           ADDRESS ON FILE
Cotto Tirado, Denise          ADDRESS ON FILE
COTTO TORRELLAS, IVETTE       ADDRESS ON FILE
COTTO TORRENT, ANGEL L        ADDRESS ON FILE
COTTO TORRES MD, HECTOR L     ADDRESS ON FILE
COTTO TORRES, AWILDA          ADDRESS ON FILE
COTTO TORRES, CHRISTINA       ADDRESS ON FILE
COTTO TORRES, DIANA Y.        ADDRESS ON FILE
COTTO TORRES, DIANA Y.        ADDRESS ON FILE
COTTO TORRES, EDNER           ADDRESS ON FILE
COTTO TORRES, JESUS           ADDRESS ON FILE
COTTO TORRES, JORGE           ADDRESS ON FILE
COTTO TORRES, JUAN A.         ADDRESS ON FILE
COTTO TORRES, LEODASKY        ADDRESS ON FILE
COTTO TORRES, MARGARITA       ADDRESS ON FILE




                                                                          Page 1863 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1864 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
COTTO TORRES, MARIA DEL C.    ADDRESS ON FILE
COTTO TORRES, NOEMI           ADDRESS ON FILE
COTTO TORRES, ROSIBEL         ADDRESS ON FILE
COTTO TORRES, RUBEN           ADDRESS ON FILE
COTTO TORRES, RUBEN           ADDRESS ON FILE
COTTO TORRES, TRINIDAD        ADDRESS ON FILE
COTTO TORRES, VICTOR          ADDRESS ON FILE
COTTO TORRES, VICTOR M.       ADDRESS ON FILE
COTTO VALENTIN, LUIS R.       ADDRESS ON FILE
COTTO VARGAS, CARMEN          ADDRESS ON FILE
COTTO VARGAS, JESUS           ADDRESS ON FILE
COTTO VARGAS, MARISEL DE L    ADDRESS ON FILE
COTTO VARGAS, MARLIN          ADDRESS ON FILE
COTTO VARGAS, NEREIDA         ADDRESS ON FILE
COTTO VAZQUEZ, AIDA M         ADDRESS ON FILE
COTTO VAZQUEZ, ALFREDO        ADDRESS ON FILE
COTTO VAZQUEZ, ANGEL          ADDRESS ON FILE
Cotto Vazquez, Carmen L       ADDRESS ON FILE
COTTO VAZQUEZ, DIEGO          ADDRESS ON FILE
COTTO VAZQUEZ, DILCA          ADDRESS ON FILE
COTTO VAZQUEZ, ENID           ADDRESS ON FILE
COTTO VAZQUEZ, FELIX J.       ADDRESS ON FILE
COTTO VAZQUEZ, HARRY          ADDRESS ON FILE
COTTO VAZQUEZ, HECTOR         ADDRESS ON FILE
COTTO VAZQUEZ, JOSE           ADDRESS ON FILE
COTTO VAZQUEZ, JOSE R         ADDRESS ON FILE
COTTO VAZQUEZ, JUAN C.        ADDRESS ON FILE
COTTO VAZQUEZ, JUAN C.        ADDRESS ON FILE
COTTO VAZQUEZ, LEISHLA        ADDRESS ON FILE
COTTO VAZQUEZ, LIMARIE        ADDRESS ON FILE
COTTO VAZQUEZ, MANUEL A.      ADDRESS ON FILE
COTTO VAZQUEZ, RAFAEL J.      ADDRESS ON FILE
COTTO VAZQUEZ, ROSA           ADDRESS ON FILE
COTTO VAZQUEZ, VIVIAN         ADDRESS ON FILE
COTTO VAZQUEZ, VIVIAN         ADDRESS ON FILE
COTTO VEGA, JOSE              ADDRESS ON FILE
COTTO VEGA, WIGBERTO          ADDRESS ON FILE
COTTO VELAZQUEZ, GUILLERMO    ADDRESS ON FILE
COTTO VELAZQUEZ, INES         ADDRESS ON FILE
COTTO VELAZQUEZ, YARILIZ      ADDRESS ON FILE
COTTO VELEZ, DOMINGA          ADDRESS ON FILE
COTTO VELEZ, RICARDO          ADDRESS ON FILE
COTTO VELEZ, ROSIMAR          ADDRESS ON FILE
COTTO VELLON, MAYRAH          ADDRESS ON FILE
COTTO VERGARA, WILBERTO       ADDRESS ON FILE
Cotto Villanueva, Alexander   ADDRESS ON FILE
COTTO VILLEGA, GLORIA         ADDRESS ON FILE
COTTO VINCENTI, EVELIZ        ADDRESS ON FILE
Cotto Vincenty, Angel L       ADDRESS ON FILE
COTTO VIVES, JUAN R.          ADDRESS ON FILE
COTTO ZAVALA, MILAGROS        ADDRESS ON FILE
COTTO ZAVALA, MILAGROS        ADDRESS ON FILE
Cotto Zayas, Melba            ADDRESS ON FILE
COTTO, BRYAN                  ADDRESS ON FILE
COTTO, CARMEN L.              ADDRESS ON FILE
COTTO, CARMEN S               ADDRESS ON FILE
COTTO, HECTOR                 ADDRESS ON FILE
COTTO, JOSE                   ADDRESS ON FILE
COTTO, RICHARD                ADDRESS ON FILE
COTTO, ROBERTO                ADDRESS ON FILE




                                                                          Page 1864 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 1865 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                           Address1                                       Address2                                   Address3   Address4   City                State   PostalCode   Country
COTTOACOSTA, FELIPE                     ADDRESS ON FILE
COTTOMARCANO, JOSE A                    ADDRESS ON FILE
COTTON LOPEZ, HECTOR                    ADDRESS ON FILE
COTTON SANTIAGO, IRMARIAM               ADDRESS ON FILE
COTTON SANTIAGO, IRMARIAM               ADDRESS ON FILE
COTTOPANELL, ANDRES                     ADDRESS ON FILE
Cotts Perez, Ruben                      ADDRESS ON FILE
COTTY ALICEA, VICTOR                    ADDRESS ON FILE
Cotty Arroyo, Jorge L                   ADDRESS ON FILE
COTTY MELENDEZ, ROSA                    ADDRESS ON FILE
COTTY PABON, CARMEN                     ADDRESS ON FILE
COTTY PABON, CARMEN R                   ADDRESS ON FILE
COTTY RIVERA, ILDEFONSO                 ADDRESS ON FILE
Coubertier Morales, Giovany             ADDRESS ON FILE
COUCEIRO ANGULO, LISA                   ADDRESS ON FILE
COUNCIL FOR PRESCHOOL HEAD START        PO BOX 21428                                                                                                    SAN JUAN            PR      00928‐1428
COUNCIL FOR PROFESSIONAL RECOGNITION    2460 16TH ST NW                                                                                                 WASHINGTON DC       DC      20009‐3547
COUNCIL LANSCAPE ARCHITECTURAL REG BOARD1840 MICHAEL FARADAY DRIVE                     SUITE 200                                                        RESTON              VA      20190
COUNCIL OF STATE ADMINISTRATOR OF VOCA AREA DEL TESORO                                 DIVISION DE RECLAMACIONES                                        SAN JUAN            PR      00902‐4140
COUNCIL OF STATE AND TERRITORIAL EPIDE. 2872 WOODCOCK BLVD. STE 303                                                                                     ATLANTA             GA      30341‐4015
COUNCIL ON GOVERNMENTAL ETHICS LAWS     PO BOX 81237                                                                                                    ATHENS              CA      30608
COUNTRY CLUB XRAY CENTER                PMB 350                                        405 AVE ESMERALDA STE 2                                          GUAYNABO            PR      00969‐4427
COUNTRY SWEETS INC                      PMB 276                                        2 MUNOZ RIVERA                                                   LARES               PR      00669
COUNTRY VERTICAL                        2835 AVE DOS PALMAS                                                                                             LEVITTOWN           PR      00949
COUNTRY VERTICALS                       AVE. DOS PALMAS 2835                                                                                            LEVITTOWN           PR      00949
COUNTRYSIDE VILLAGES INC                P O BOX 408                                                                                                     MANATI              PR      00674
COUNTY SQUARE LLC                       PO BOX 16619                                                                                                    SAN JUAN            PR      00908‐6619
COURET ARROYO, ANGEL                    ADDRESS ON FILE
COURET BURGOS, YOLANDA                  ADDRESS ON FILE
COURET CARABALLO, BRENDA I              ADDRESS ON FILE
COURET CARABALLO, MARISEL               ADDRESS ON FILE
COURET COURET, MIRSA                    ADDRESS ON FILE
COURET COURET, NEIDA                    ADDRESS ON FILE
COURET FUENTES, ALBENIZ                 ADDRESS ON FILE
COURET GONZALEZ, LESLIE                 ADDRESS ON FILE
COURET GONZALEZ, LESLIE M               ADDRESS ON FILE
COURET LABOY, LUIS R                    ADDRESS ON FILE
COURET ORENGO, ALICIA                   ADDRESS ON FILE
COURET ORENGO, RODDY                    ADDRESS ON FILE
Couret Rios, Carlos                     ADDRESS ON FILE
Couret Rios, Erick                      ADDRESS ON FILE
COURET RODRIGUEZ, JESSICA M             ADDRESS ON FILE
COURET RUIZ, ANGEL                      ADDRESS ON FILE
COURET VAZQUEZ, ARMINDITA               ADDRESS ON FILE
COURET VAZQUEZ, TATIANA                 ADDRESS ON FILE
COURET VAZQUEZ, TATIANA                 ADDRESS ON FILE
COURET VEGA, MINERVA                    ADDRESS ON FILE
COURET VELAZQUEZ, ROSA                  ADDRESS ON FILE
COURET VELAZQUEZ, ROSA N                ADDRESS ON FILE
COURT ROMERO, JAIME                     ADDRESS ON FILE
Court Vazquez, Hans                     ADDRESS ON FILE
COURT VAZQUEZ, RUTH M.                  ADDRESS ON FILE
COURT, MILLIE                           ADDRESS ON FILE
COURTCALL TELEPHONIC COURT APPEARANCES 6383 ARIZONA CIRCLE                                                                                              LOS ANGELES         CA      90045
COURTESY INSURANCE COMPANY              500 JIM MORAN BOULEVARD                                                                                         DEERFIELD BEACH     FL      33442
Courtesy Insurance Company              Attn: Donna McWilliams, Vice President         500 Jim Moran Blvd.                                              Deerfield Beach     FL      33442
Courtesy Insurance Company              Attn: Holli Manstandrea, Regulatory Compliance 500 Jim Moran Blvd.                                              Deerfield Beach     FL      33442
Courtesy Insurance Company              Attn: Holli Mastandrea, Circulation of Risk    500 Jim Moran Blvd.                                              Deerfield Beach     FL      33442
Courtesy Insurance Company              Attn: Katia Lynch, Premiun Tax Contact         500 Jim Moran Blvd.                                              Deerfield Beach     FL      33442
Courtesy Insurance Company              Attn: Nancy Beausejour, Consumer Complaint Co 500 Jim Moran Blvd.                                               Deerfield Beach     FL      33442




                                                                                                                   Page 1865 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1866 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                         Address2                         Address3     Address4   City                State   PostalCode   Country
Courtesy Insurance Company              c/o CT Corporation System, Agent for Service of P500 Jim Moran Blvd.                                      Deerfield Beach     FL      33442
Courtesy Insurance Company              P.O. Box 13130                                                                                            OKC                 OK      73113‐1130
COURTYARD BY MARRIOTT HOTEL & OCEAN CAS PO BOX 250461                                                                                             AGUADILLA           PR      00604
COUSO ALICEA, ANTONIO                   ADDRESS ON FILE
Couso Diaz, Diana                       ADDRESS ON FILE
COUSO DIAZ, FERNANDO                    ADDRESS ON FILE
COUTIN RODICIO, RICARDO                 ADDRESS ON FILE
COUTO CORDERO, JOSE                     ADDRESS ON FILE
COUTO CORDERO, NORMA                    ADDRESS ON FILE
COUTO DE JESUS, AMAURY R.               ADDRESS ON FILE
COUTO DE JESUS, MARIEL E                ADDRESS ON FILE
Couto Garcia, Roberto M.                ADDRESS ON FILE
COUTO LLINAS, MARIAN                    ADDRESS ON FILE
COUTO LUGO, MARIADEL P                  ADDRESS ON FILE
COUTO LUGO, NOEL                        ADDRESS ON FILE
COUTO MARRERO, RUTH                     ADDRESS ON FILE
COUTO PANCORBO, YOLIMAR                 ADDRESS ON FILE
COUTO SALGADO, JOSE                     ADDRESS ON FILE
COUTO SALGADO, YESENIA                  ADDRESS ON FILE
COUTO SOTO, JOSE G.                     ADDRESS ON FILE
COUTO TROSSI, RAMON                     ADDRESS ON FILE
COUVERTHIE PEREZ, MANUEL                ADDRESS ON FILE
COUVERTIER ALVARADO, VICTOR             ADDRESS ON FILE
COUVERTIER AYALA, JOSE                  ADDRESS ON FILE
COUVERTIER AYALA, SOLYELITZA            ADDRESS ON FILE
COUVERTIER BETANCOURT, KENNETH          ADDRESS ON FILE
COUVERTIER BETANCOURT, LESVIA           ADDRESS ON FILE
COUVERTIER CARRASQUILLO, YALITZA        ADDRESS ON FILE
Couvertier Castro, Jose M               ADDRESS ON FILE
COUVERTIER CEREZO, CARMEN E             ADDRESS ON FILE
COUVERTIER COLON, ONIR                  ADDRESS ON FILE
COUVERTIER CRUZ, CARLOS                 ADDRESS ON FILE
COUVERTIER CRUZ, MARIA                  ADDRESS ON FILE
COUVERTIER CRUZ, SANDRA                 ADDRESS ON FILE
COUVERTIER CRUZ, VIMARY                 ADDRESS ON FILE
COUVERTIER DE LA PAZ, BRENDA L          ADDRESS ON FILE
COUVERTIER DOMINGUEZ, MANUEL            ADDRESS ON FILE
COUVERTIER ENCARNACION, JORGE           ADDRESS ON FILE
COUVERTIER FUENTES, JACKELINE           ADDRESS ON FILE
COUVERTIER GARCIA, FELIX N              ADDRESS ON FILE
COUVERTIER GARCIA, MAIDA E.             ADDRESS ON FILE
COUVERTIER GONZALEZ, GLORIA E           ADDRESS ON FILE
COUVERTIER JIMENEZ, WANDA               ADDRESS ON FILE
Couvertier Jones, Ignacio               ADDRESS ON FILE
COUVERTIER JUSINO, JORGE                ADDRESS ON FILE
COUVERTIER JUSINO, JUAN C.              ADDRESS ON FILE
COUVERTIER JUSINO, KARLA M.             ADDRESS ON FILE
COUVERTIER LACEN, NILDA                 ADDRESS ON FILE
Couvertier Lasen, Nilda M               ADDRESS ON FILE
COUVERTIER LOPEZ, ANGEL                 ADDRESS ON FILE
Couvertier Lopez, Jose L                ADDRESS ON FILE
COUVERTIER LUCIANO, HECTOR              ADDRESS ON FILE
COUVERTIER MARQUEZ, BRENDA L.           ADDRESS ON FILE
COUVERTIER MARQUEZ, BRENDA L.           ADDRESS ON FILE
COUVERTIER MARTINEZ, OVIR               ADDRESS ON FILE
COUVERTIER MATIAS, GLADYNEL             ADDRESS ON FILE
Couvertier Morale, Gilberto             ADDRESS ON FILE
Couvertier Nieves, Aura                 ADDRESS ON FILE
COUVERTIER OTERO CARLA                  DEMANDANTE: LCDO. RAMÓN ENRIQUE SEGARR DEMANDANTE: PO BOX 9023853                                         SAN JUAN            PR      00902‐3853
COUVERTIER OTERO CARLA                  ELA POR LA ASEGURADORA INTEGRAND: BUFETE ELA POR LA ASEGURADORA INTEGRAND: BUFETE PO BOX 827              MANATI              PR      00674




                                                                                                            Page 1866 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1867 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                              Address2                                Address3                  Address4   City           State   PostalCode   Country
COUVERTIER OTERO, SONIA I                ADDRESS ON FILE
COUVERTIER REYES, CAYETANO               ADDRESS ON FILE
COUVERTIER REYES, ELOISA                 ADDRESS ON FILE
COUVERTIER REYES, LOYDA M.               ADDRESS ON FILE
COUVERTIER REYES, RUTH O.                ADDRESS ON FILE
COUVERTIER RIVERA, EDITH H.              ADDRESS ON FILE
COUVERTIER RIVERA, MADELYN               ADDRESS ON FILE
COUVERTIER RIVERA, MARIA                 ADDRESS ON FILE
COUVERTIER RIVERA, MARTIN                ADDRESS ON FILE
COUVERTIER RIVERA, MYRNA L               ADDRESS ON FILE
COUVERTIER RIVERA, NORA M                ADDRESS ON FILE
COUVERTIER RIVERA, PEDRO                 ADDRESS ON FILE
COUVERTIER RIVERA, VILMA                 ADDRESS ON FILE
Couvertier Rivera, Virgilio              ADDRESS ON FILE
COUVERTIER RODRIGUEZ, KARYLAINE          ADDRESS ON FILE
COUVERTIER RODRIGUEZ, MIGUEL             ADDRESS ON FILE
Couvertier Rodriguez, Miguel A.          ADDRESS ON FILE
COUVERTIER ROMAN, HECTOR L.              ADDRESS ON FILE
COUVERTIER SALABARRIA, AUREA E.          ADDRESS ON FILE
COUVERTIER SANCHEZ, LUIS                 ADDRESS ON FILE
COUVERTIER SANTIAGO, JUAN                ADDRESS ON FILE
COUVERTIER SANTIAGO, MELISSA             ADDRESS ON FILE
COUVERTIER SANTIAGO, MELISSA             ADDRESS ON FILE
Couvertier Sosa, Orlando                 ADDRESS ON FILE
COUVERTIER VAZQUEZ, MANUEL               ADDRESS ON FILE
COUVERTIER, PAULA                        ADDRESS ON FILE
COVADONGA PROPERTIES INC                 104 COVADONGA                                                                                                      SAN JUAN       PR      00910
COVAS ALVAREZ, EDNA                      ADDRESS ON FILE
COVAS DE LEON, JEAN L                    ADDRESS ON FILE
COVAS DE LEON, SARA                      ADDRESS ON FILE
COVAS MALDONADO, CARLOS                  ADDRESS ON FILE
COVAS QUINONES, OSCAR                    ADDRESS ON FILE
COVAS RIVERA, EDWIN                      ADDRESS ON FILE
COVAS RIVERA, RAMON                      ADDRESS ON FILE
COVAS RIVERA, WILLIAM                    ADDRESS ON FILE
Covas Rivera, William J                  ADDRESS ON FILE
COVAS SALINAS, SANDRA                    ADDRESS ON FILE
COVAS VEGA, LOURDES                      ADDRESS ON FILE
COVAS VEGA, MARIA                        ADDRESS ON FILE
COVAS VILLEGAS, BRYAN                    ADDRESS ON FILE
COVENANT COMMUNITY CARE CLINIC           559 WEST GRAND BOULEVARD                                                                                           DETROIT        MI      48216
COVENANT FAMILY MEDICINE                 2098 TERON TRACE                      SUITE 150                                                                    DACULA         GA      30019
COVER Y MAS COVER                        HC 05 BOX 55212                                                                                                    HATILLO        PR      00659
                                                                                                                       206 Tetuan Street Suite
CoverageHQ Insurance I.I., Corporation   Attn: Fahad Missmar, Vice President   Banco Popular Building                  703                                  San Juan       PR      00902
CoverageHQ Insurance I.I., Corporation
COVERMAN MD , RANDALL B                  ADDRESS ON FILE
COVERTOUR A GROUP INC                    P O BOX 9396                                                                                                       CAROLINA       PR      00988‐9396
COVEY, FRANKLIN                          ADDRESS ON FILE
COVIDIEN CARIBBEAN, INC                  PO BOX 71416                                                                                                       SAN JUAN       PR      00936
COVINGTON & BURLING LLP                  1201 PENNSYLVANIA AVE NW                                                                                           WASHINTON      DC      20042‐2401
COVINGTON & BURLING LLP                  1201 PENSILVANIA AVENUE NW                                                                                         WASHINGTON     DC      20004‐2401
COVINGTON ROLDAN, BRIAN                  ADDRESS ON FILE
COWAN, STEPHEN                           ADDRESS ON FILE
COX ALOMAR, MARIA DE LOURDES             ADDRESS ON FILE
COX ALOMAR, PEDRO R                      ADDRESS ON FILE
COX CAMACHO, JOSEFINA                    ADDRESS ON FILE
COX LEBRON, RAFAEL ANGELO                ADDRESS ON FILE
COX MARRERO, JANICE                      ADDRESS ON FILE
COX PARRILLA, CARMEN E                   ADDRESS ON FILE




                                                                                                        Page 1867 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1868 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                             Address1                                   Address2                                   Address3   Address4   City              State   PostalCode   Country
COX PARRILLA, JOSE A                      ADDRESS ON FILE
COX PARRILLA, JULIO A                     ADDRESS ON FILE
COX RODRIGUEZ, WILLIS                     ADDRESS ON FILE
COX ROSADO, JUAN                          ADDRESS ON FILE
COX SANCHEZ, NANCY                        ADDRESS ON FILE
COX SANTIAGO, NEYREE                      ADDRESS ON FILE
COX SCHUCK, CONCHITA E                    ADDRESS ON FILE
COX SCHUCK, WALTER                        ADDRESS ON FILE
COYA DE TIRADO, AMARIS                    ADDRESS ON FILE
COZIEN MD, DOMINIQUE                      ADDRESS ON FILE
COZY LIGHT PICTURES CORP                  COND MIRAMAR TOWERS                        721 HERNANDEZ APTO 3 B                                           SAN JUAN          PR      00907
CP & ASSOCIATES, INC                      PO BOX 51567                                                                                                TOA ALTA          PR      00950‐1567
CP CORP INC                               PO BOX 8039                                                                                                 CAGUAS            PR      00726‐8039
CP FITNESS CONSULTANT INC.                CALLE FLANBOYAN # 22 PARC MANARES                                                                           MANATI            PR      00674‐0000
CP FITNESS CONSULTNTS OF PR INC           PARC MARQUEZ                               22 CALLE FLAMBOYAN                                               MANATI            PR      00674
CPA ELISAMUEL RIVERA RIVERA CSP           PO BOX 1643                                                                                                 SAN SEBASTIAN     PR      00685
CPA EXAMINATION SERVICES                  PO BOX 198469                                                                                               NASHVILLE         TN      37219
CPA GILBERTO DEL VALLE                    C/O OFICINA DEL CONTRALOR DE P. R.                                                                          HATO REY          PR      00936
CPA ISMAEL SANCHEZ MIRANDA                MIEMBRO ASOCIADO                           PO BOX 366875                                                    SAN JUAN          PR      00936‐6875
CPA MED P S C                             PMB 504                                    89 AVE DE DIEGO STE 105                                          SAN JUAN          PR      00927
CPA MIRIAM C INESTA CPS                   PO BOX 3547                                                                                                 MAYAGUEZ          PR      00681
CPA NELLY VAZQUEZ MERCED                  VILLAS DEL SENORIAL WINSTON CHURCHILL AV   APTO 1209                                                        SAN JUAN          PR      00926
CPA RAMON E. HILERA CORTADA               VALLE ARRIBA HEIGHTS STATIO                POSTAL OFFICE BOX 2936                                           CAROLINA          PR      00984‐2936
CPA RAMON J VELEZ GARCIA P S C            PO BOX 28                                                                                                   MANATI            PR      00674
CPALUISROD LLC                            PO BOX 610                                                                                                  YABUCOA           PR      00767‐0610
CPC CLINICA DEL OESTE                     RR 2 BOX 11                                                                                                 SAN JUAN          PR      00926
CPC PRINTING CONSULTANT                   METRO OFFICE PARK OFFICE                   304 COLGATE PALMOLIVE BUI                                        GUAYNABO          PR      00968‐1705
CPG/ GS PR NPL LLC                        270 MUNOZ RIVERA                           SUITE 201                                                        SAN JUAN          PR      00918
CPI ENTERPRISE INC                        PMB 469                                    1353 RD 19                                                       GUAYNABO          PR      00966‐2700
CPI HOSPITALITY INC                       SARDINERA BEACH BLDG                       C3 CALLE MARGINAL STE 3                                          DORADO            PR      00646
CPM BUILDERS LLC                          PO BOX 9024051                                                                                              SAN JUAN          PR      00902‐4051
CPM ENGINEERING SERVICES PSC              URB LOS MAESTROS                           135 HIJAS DEL CARIBE ST                                          SAN JUAN          PR      00918‐3204
CPM SERVICES INC                          352 CALLE SAN CLAUDIO STE 1 PMB 265                                                                         SAN JUAN          PR      00926
CPS TAX & ACCOUNTING SERVICES, CORP       7 REPARTO BORINQUEN                                                                                         MANATI            PR      00674
CPSC LLC                                  864 AVE ASHFORD                            APTO 210                                                         SAN JUAN          PR      00907
CQ PRESS                                  2300 N STREET NEW, SUITE 800                                                                                WASHINGTON        DC      20037
CQ STAFF DIRECTORIES                      815 SLATERS LANE                                                                                            ALEXANDRIZ        VA      22314
CQLBERG PEREZ, CONSUELO                   ADDRESS ON FILE
CQ‐ROLL CALL, INC.                        77 K STREET NE 8th FLOOR                                                                                    WASHINGTON        DC      20002
CR ACQUISITIONS CORP                      5732 BUCKINGHAM PKWY                                                                                        CULVER CITY       CA      90230
CR ADVERTISING SPECIALTIES INC            FOREST HILLS                               R 147 CALLE ATENAS                                               BAYAMON           PR      00959
CR ASSOCIATES PSC                         PMB 349 405 AVE ESMERALDA                                                                                   GUAYNABO          PR      00969
CR CONSULTANT PANNERT GROUP INC           HC 03 BOX 20490                                                                                             RIO GRANDE        PR      00745
CR CONSULTANT PANNERT GROUP INC           PO BOX 9065224                                                                                              SAN JUAN          PR      00906‐5224
CR EMERGENCY SERVICES, C P                URBANIZACION HILLVIEW                      CALLE PARK 611                                                   YAUCO             PR      00698
CR ENVIRONMENTAL, INC.                    MSC 217 AVE. WINSTON CHURCHILL #138                                                                         SAN JUAN          PR      00926‐6023
CR INTERIORS CONSTRUCTION CORP            LA PLANICIE                                CALLE 2 D 12                                                     CAYEY             PR      00736
CR INVESTMENTS SOLUTIONS INC/ EP ENERGY   1310 CALLE DALMACIA                                                                                         SAN JUAN          PR      00920
CR ORTHODONTICS AND DENTOFACIAL           93 AVE DON SANTOS ORTIZ MONTALV                                                                             CABO ROJO         PR      00623
CR QUALITY ROOFING OF PR INC              PO BOX 334458                                                                                               PONCE             PR      00733‐4458
CRA GROUP CORP                            URB EL CONQUISTADOR                        L16 AVE DIEGO VELAZQUEZ                                          TRUJILLO ALTO     PR      00976
CRABBERS BASKETBALL CLUB INC              CENTRO INT DE MERCADEO                     100 CARR 165 SUITE 207                                           GUAYNABO          PR      00968‐8049
CRABBERS BASKETBALL CLUB INC              PO BOX 8319                                                                                                 SAN JUAN          PR      00910
CRAIG GRAHAM BARNES                       URB PARK GARDENS                           CALLE KINGS CANYON U 22                                          SAN JUAN          PR      00926
CRAIG GUILBAUD, EDWARD                    ADDRESS ON FILE
CRAIG LILYESTROMS JOBERG                  ADDRESS ON FILE
CRAIG MD, MICHAEL                         ADDRESS ON FILE
CRAIG MENDEZ, NEAL                        ADDRESS ON FILE
CRAIG STUTSMAN, STEVEN                    ADDRESS ON FILE
Cram Rivera, Strelnikov                   ADDRESS ON FILE




                                                                                                                 Page 1868 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1869 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                              Address1                              Address2                                    Address3   Address4   City              State   PostalCode    Country
CRANBURY INTERNATIONAL                     7CLAREDON AVE SUITE 2                                                                                   MONTPELIER        VT      05602
CRAVE VILLEGAS, NATIVIDAD                  ADDRESS ON FILE
CRAVEY, RANDOLPH                           ADDRESS ON FILE
CRAWFORD & COMPANY                         CAPARRA TERRACE                       1612 AVE JESUS T PINEIRO                                          SAN JUAN          PR      00922
CRC CONTRACTIRS SE                         3071 AVE ALEJANDRINO PMB 145                                                                            GUAYNABO          PR      00969
CRCPD                                      1030 BURLINGTON LANE                  SUITE 4B                                                          FRANKFORT         KY      40601
CREACIONES HOLISTICA INC                   PO BOX 9300487                                                                                          SAN JUAN          PR      00928‐0487
CREACIONES PARAISO                         CALLE MARIE                                                                                             YAUCO             PR      00698
CREADORES DE EFECTIVIDAD INC               VILLA BLANCA SAN ANTONIO              L 21 CALLE 11                                                     CAGUAS            PR      00725
CREALES CESE, MIGUEL                       ADDRESS ON FILE
CREALES TORRES, CAONABO                    ADDRESS ON FILE
CREALESCESE, MIGUEL                        ADDRESS ON FILE
CREAMIPAGINA COM INC                       HC 02 BOX 5181                                                                                          COMERIO           PR      00782
CREARE MEDIA GROUP, LLC                    HACIENDA REAL                         539 CALLE COQUI BLANCO                                            CAROLINA          PR      00987
CREARTE INC                                CALLE SICILIA ESQ BERMONTE SAN JOSE                                                                     SAN JUAN          PR      00923
CREARTE INC                                PO BOX 190969                                                                                           SAN JUAN          PR      00919‐0969
CREARTE INC                                Y BANCO DE DESARROLLO ECONOMICO PR    PO BOX 2134                                                       SAN JUAN          PR      00922‐2134
CREARTE INC                                Y BANCO DESARROLLO ECONOMICO PR       PO BOX 2134                                                       SAN JUAN          PR      00922‐2134
CREATIVA INTERACTIVO                       CIUDAD UNIVERSITARIA                  B1‐6 AVE PERIFERAL                                                SAN JUAN          PR      00976
CREATIVA INTERACTIVO INC                   URB VENUS GDNS NORTE                  1672 CALLE CUERNAVACA                                             SAN JUAN          PR      00926‐4728
CREATIVE COMMUNITY SERVICES INC            EXT MIRA FLORES                       BLQ 44‐26 CALLE 53                                                BAYAMON           PR      00956
CREATIVE COMMUNITY SERVICES INC            P.O. BOX 9146                         SANTURCE                                                          SAN JUAN          PR      00936‐2708
CREATIVE COMMUNITY SERVICES INC            PO BOX 4193                                                                                             BAYAMON           PR      00958
CREATIVE CORPORATE CONCEPTS LLC            LITTLE TOWER AT CONDADO               1473 AVENUE WILSON STE 304                                        SAN JUAN          PR      00907‐2364
CREATIVE EDITING                           CORPORATE OFFICE PARK                 36 RR 20 SUITE 705                                                GUAYNABO          PR      00966
CREATIVE EDUCATION INC                     P O BOX 36‐4786                                                                                         SAN JUAN          PR      00936
CREATIVE EDUCATIONAL & PSYCHOLOGICAL SER EXT MIRAFLORES                          CALLE 53 44‐26                                                    BAYAMON           PR      00956
CREATIVE EDUCATIONAL & PSYCHOLOGICAL SER PO BOX 4193                                                                                               BAYAMON           PR      00958
CREATIVE EDUCATIONAL & PSYCHOLOGICAL SER TRIBUNAL DE PRIMERA INSTANCIA DE BAYAMONPO BOX 60619                                                      BAYAMON           PR      00960
CREATIVE EDUCATIONAL & PSYCHOLOGICAL SER Y BANCO DE DESARROLLO ECONOMICO         PO BOX 2134                                                       SAN JUAN          PR      00922‐2134
CREATIVE EDUCATIONAL & PSYCHOLOGICAL SER Y BCO DE DESARROLLO ECONOMICO           PO BOX 2134                                                       SAN JUAN          PR      00922‐2134
CREATIVE FULL STAFFING OF PUERTO RICO CORP PO BOX 21476                                                                                            SAN JUAN          PR      00928‐1476
CREATIVE GRAPHICS GROUP                    AREA DEL TESORO                       DIV DE RECLAMACIONES                                              SAN JUAN          PR      00902‐4140
CREATIVE GRAPHICS GROUP                    PO BOX 245                                                                                              TRUJILLO ALTO     PR      00978
CREATIVE HANDBOOK                          10152 RIVERSIDE DR. TOLUKA                                                                              CALIFORNIA        CA      91602
CREATIVE LIFESTYLE EVENTS ORG              PO BOX 4441                                                                                             AGUADILLA         PR      00605‐4441
CREATIVE LINK INC                          P O BOX 194388                                                                                          SAN JUAN          PR      00919
CREATIVE MEDIA COMMUNICATIONS              PO BOX 363088                                                                                           SAN JUAN          PR      00936‐3088
CREATIVE SOUL CORP                         CALLE PARANA 1570 EL PARAISO                                                                            SAN JUAN          PR      00926
CREATIVE TACTILE SOLUTIONS INC             PO BOX 372737                                                                                           CAYEY             PR      00737‐2737
CREATIVE THERAPY CENTER                    PO BOX 4193                                                                                             BAYAMON           PR      00958
CREATIVE THINKING CONSULTANTS LLC          URB MONTECASINO                       381 CALLE ROSA                                                    TOA ALTA          PR      00953
CREATIVELINK INC                           165 MADISON AVE SUITE 501                                                                               NEW YORK          NY      10016
CREATIVO CARIBENO INC                      PO BOX 50536 LEVITTOWN STATION                                                                          TOA BAJA          PR      00950
CRECER INC                                 PO BOX 173                                                                                              YAUCO             PR      00698
CRECIENDO JUNTOS                           HC 02                                 BOX 5273                                                          LUQUILLO          PR      00773‐9728
CRECIENDO JUNTOS DAY CARE                  URB VILLA DEL CARMEN                  CALLE SEGOVIA #206                                                PONCE             PR      00716
CRECIENDO JUNTOS DAY CARE CORP             URB VILLA DEL CARMEN CALLE SEG 206                                                                      PONCE             PR      00716
CRECIENDO JUNTOS INC                       HC 2 BOX 5273                                                                                           LUQUILLO          PR      00773
CRECIENDO JUNTOS INC                       PO BOX 449                                                                                              BARCELONETA       PR      00617
CREDIT INTERNACIONAL CORP                  CALLE CERRA 913 PDA. 15                                                                                 SANTURCE          PR      000907‐0000
CREDIT NOW ARECIBO CORP                    11085 AVE MIRAMAR                     CARR 2 SUITE 5                                                    ARECIBO           PR      00612
CREDIT NOW ARECIBO CORP                    PMB 455                               PO BOX 30400                                                      MANATI            PR      00654
CREDIT NOW MANATIENSE INC                  PMB 455                               PO BOX 30400                                                      MANATI            PR      00654
Credit Suisse Life Settlements LLC         11 Madison Avenue                     Ninth Floor                                                       New York          NY      10010
CREISE CORPORATION                         P O BOX 192314                                                                                          SAN JUAN          PR      00919‐2314
CREITOFF ACOSTA, BRUNILDA                  ADDRESS ON FILE
CREITOFF CINTRON, PAOLA                    ADDRESS ON FILE
CREITOFF VARGAS, JAIME                     ADDRESS ON FILE
CREM DEL CARIBE INC                        185 CALLE BLANCO CHICO                                                                                  MOCA              PR      00676




                                                                                                              Page 1869 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1870 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                             Address1                                   Address2                         Address3   Address4   City         State   PostalCode   Country
CREMATION SOCIETY                         P O BOX 6376                                                                                      CAGUAS       PR      00726
CREQUE CANO, MIGUEL                       ADDRESS ON FILE
CREQUE TORRES, NELSON                     ADDRESS ON FILE
CREQUE TORRES, NELSON                     ADDRESS ON FILE
CREQUE TORRES, NICOLE                     ADDRESS ON FILE
CRESCA CORP                               REPTO METROPOLITANO                        1017 CALLE 9 SE                                        SAN JUAN     PR      00921
CRESCENCIA GARRIGA PARA DANIELY ESTRADA   ADDRESS ON FILE
CRESCENCIA MORALES                        ADDRESS ON FILE
CRESCENTE TAMARIS, AIDA                   ADDRESS ON FILE
CRESCIONI BENITEZ, GLORIA M               ADDRESS ON FILE
CRESCIONI BENITEZ, JOSE A.                ADDRESS ON FILE
CRESCIONI BENITEZ, MABEL                  ADDRESS ON FILE
CRESCIONI CINTRON, IVONNE J               ADDRESS ON FILE
CRESCIONI CINTRON, WANDA                  ADDRESS ON FILE
CRESCIONI CINTRON, WANDA I                ADDRESS ON FILE
CRESCIONI CUEBAS, SONIA                   ADDRESS ON FILE
CRESCIONI CUEVAS, MARIA                   ADDRESS ON FILE
CRESCIONI RIVERA, MARIA M.                ADDRESS ON FILE
CRESCIONI SANTIAGO, YVETTE                ADDRESS ON FILE
CRESO SOTO, IVETTE M                      ADDRESS ON FILE
CRESPI BORRAS, CARMEN                     ADDRESS ON FILE
CRESPI FIGUEROA, HECTOR                   ADDRESS ON FILE
CRESPI GONZALEZ, JOSE                     ADDRESS ON FILE
CRESPI MATOS, XIOMARA                     ADDRESS ON FILE
CRESPI OLIVERAS, ANNIELIS                 ADDRESS ON FILE
CRESPI OYOLA, LUISA ENID                  ADDRESS ON FILE
CRESPI OYOLA, RAMON L                     ADDRESS ON FILE
CRESPI RODRIGUEZ, MELANIE                 ADDRESS ON FILE
CRESPI ROSA, GLORIA                       ADDRESS ON FILE
CRESPI SANTIAGO, LUIS RAMON               ADDRESS ON FILE
Crespi Varela, Melvin                     ADDRESS ON FILE
CRESPI, JOSE RAMON                        ADDRESS ON FILE
CRESPIN CREDI, ESTHER                     ADDRESS ON FILE
CRESPO & RODRIGUEZ INC.                   A6 CALLE YALE URB SANTA ANA                                                                       SAN JUAN     PR      00927
CRESPO & RODRIGUEZ, INC.                  AVE/ 65 DE INFANTERIA NÚM. 714 EDIFICIO NORTE, SUI                                                SAN JUAN     PR      00924
CRESPO ABREU, EVELYN                      ADDRESS ON FILE
CRESPO ACEVEDO, ANA D                     ADDRESS ON FILE
CRESPO ACEVEDO, ANDY                      ADDRESS ON FILE
CRESPO ACEVEDO, ARACELIS                  ADDRESS ON FILE
CRESPO ACEVEDO, BRUNILDA                  ADDRESS ON FILE
CRESPO ACEVEDO, CANDIDO                   ADDRESS ON FILE
CRESPO ACEVEDO, ELVIRA                    ADDRESS ON FILE
CRESPO ACEVEDO, EMMA I                    ADDRESS ON FILE
CRESPO ACEVEDO, JOSE L.                   ADDRESS ON FILE
CRESPO ACEVEDO, JULIO                     ADDRESS ON FILE
CRESPO ACEVEDO, JULIO A.                  ADDRESS ON FILE
CRESPO ACEVEDO, JUSTINO                   ADDRESS ON FILE
CRESPO ACEVEDO, NORMA                     ADDRESS ON FILE
CRESPO ACEVEDO, OLGA I                    ADDRESS ON FILE
CRESPO ADAMES, MARITZA                    ADDRESS ON FILE
CRESPO ADORNO, DAYANAMAR                  ADDRESS ON FILE
CRESPO ADORNO, NELLY B                    ADDRESS ON FILE
CRESPO AGOSTO, TAHIRIS YOMAIRA            ADDRESS ON FILE
CRESPO ALAMEDA, WALTER                    ADDRESS ON FILE
CRESPO ALBELO, CARMEN J                   ADDRESS ON FILE
CRESPO ALEJANDRO, JOSE                    ADDRESS ON FILE
CRESPO ALEQUIN, GLADYS L                  ADDRESS ON FILE
Crespo Alicea, Delio                      ADDRESS ON FILE
CRESPO ALICEA, JOEL                       ADDRESS ON FILE
CRESPO ALMODOVAR, EMANUEL                 ADDRESS ON FILE




                                                                                                       Page 1870 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1871 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                             Address1                         Address2                              Address3      Address4   City         State   PostalCode   Country
CRESPO ALMODOVAR, MANUEL                  ADDRESS ON FILE
CRESPO ALONSO, JESSICA                    ADDRESS ON FILE
CRESPO ALVARADO, EDWIN                    ADDRESS ON FILE
CRESPO ALVARADO, MARVIN                   ADDRESS ON FILE
CRESPO ALVAREZ, SAMUEL A.                 ADDRESS ON FILE
CRESPO AMADOR, THAIS                      ADDRESS ON FILE
CRESPO APONTE, MARICELYS                  ADDRESS ON FILE
CRESPO APONTE, PROVIDENCIA                ADDRESS ON FILE
CRESPO AQUINO, ISABEL                     ADDRESS ON FILE
CRESPO AQUINO, JOSE A.                    ADDRESS ON FILE
CRESPO AQUINO, SANDRA I                   ADDRESS ON FILE
CRESPO ARANA, JOSE R.                     ADDRESS ON FILE
CRESPO ARMAIZ, JORGE                      ADDRESS ON FILE
CRESPO ARMENTEROS, ULPIANO                ADDRESS ON FILE
CRESPO ARROYO, IVAN                       ADDRESS ON FILE
Crespo Arroyo, Juan A                     ADDRESS ON FILE
CRESPO ARROYO, MARIELLIE                  ADDRESS ON FILE
CRESPO ARROYO, ROLANDO                    ADDRESS ON FILE
CRESPO ARVELO, EDGARDO                    ADDRESS ON FILE
CRESPO ARVELO, ELBA N                     ADDRESS ON FILE
CRESPO ARVELO, MARIA M                    ADDRESS ON FILE
CRESPO ARVELO, WILSON                     ADDRESS ON FILE
CRESPO AVILA, IRIS M                      ADDRESS ON FILE
CRESPO AVILA, MYRNA                       ADDRESS ON FILE
CRESPO AVILES, ALBERTO                    ADDRESS ON FILE
CRESPO AVILES, JESUS                      ADDRESS ON FILE
CRESPO AVILES, JESUS                      ADDRESS ON FILE
CRESPO AVILES, JORGE                      ADDRESS ON FILE
Crespo Aviles, Maria A                    ADDRESS ON FILE
CRESPO AYALA, JENNIFER                    ADDRESS ON FILE
Crespo Ayala, Jose R                      ADDRESS ON FILE
CRESPO BABILONIA, DARWIN                  ADDRESS ON FILE
CRESPO BADILLO, ADAIR                     ADDRESS ON FILE
Crespo Badillo, Anibal J.                 ADDRESS ON FILE
CRESPO BADILLO, ARNOLD                    ADDRESS ON FILE
CRESPO BADILLO, ISRAEL                    ADDRESS ON FILE
CRESPO BADILLO, LUZ E                     ADDRESS ON FILE
CRESPO BADILLO, YAMIL                     ADDRESS ON FILE
CRESPO BAEZ, CARMEN C                     ADDRESS ON FILE
CRESPO BAEZ, ELBA I                       ADDRESS ON FILE
CRESPO BAEZ, OMAR                         ADDRESS ON FILE
Crespo Baez, William                      ADDRESS ON FILE
CRESPO BALTAR, EDUARDO                    ADDRESS ON FILE
CRESPO BARRETO, SONIA                     ADDRESS ON FILE
CRESPO BARRETO, SONIA N.                  ADDRESS ON FILE
CRESPO BARRETO, TAMARA                    ADDRESS ON FILE
CRESPO BAZAN, SONIA                       ADDRESS ON FILE
CRESPO BAZAN, TIBERIO                     ADDRESS ON FILE
CRESPO BENABE, JOEL                       ADDRESS ON FILE
CRESPO BENJAMIN, TAIMY                    ADDRESS ON FILE
CRESPO BERMUDEZ, EDWIN                    ADDRESS ON FILE
CRESPO BERMUDEZ, GLORIA E                 ADDRESS ON FILE
CRESPO BERMUDEZ, PERFECTO                 ADDRESS ON FILE
CRESPO BERMÚDEZ, PERFECTO, ESPOSA JANICE VLCDO. PEDRO JOEL LANDRAU LÓPEZ   AVENIDA DOMENECH 207                  OFICINA 106              SAN JUAN     PR      00918
CRESPO BERMUDEZ, RAYMOND E                ADDRESS ON FILE
Crespo Bonet, Evelyn                      ADDRESS ON FILE
CRESPO BONET, EVELYN                      ADDRESS ON FILE
CRESPO BONILLA, JESUS                     ADDRESS ON FILE
CRESPO BURGOS MD, ANA                     ADDRESS ON FILE
CRESPO BURGOS, CARLOS                     ADDRESS ON FILE




                                                                                                  Page 1871 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1872 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO BURGOS, LUISA E          ADDRESS ON FILE
CRESPO BURGOS, LUISA E          ADDRESS ON FILE
CRESPO CABAN, CARMELO           ADDRESS ON FILE
CRESPO CABAN, JOSE              ADDRESS ON FILE
CRESPO CABRERA, SONIA I         ADDRESS ON FILE
CRESPO CAJIGAS, NOEL H          ADDRESS ON FILE
Crespo Candelaria, Yovanny      ADDRESS ON FILE
CRESPO CARABALLO, CLARIBEL      ADDRESS ON FILE
CRESPO CARABALLO, CLARIBEL      ADDRESS ON FILE
CRESPO CARBONE, CARLOS          ADDRESS ON FILE
CRESPO CARDONA, CARLOS          ADDRESS ON FILE
CRESPO CARDONA, CARMEN L        ADDRESS ON FILE
CRESPO CARDONA, EDWARD          ADDRESS ON FILE
CRESPO CARDONA, ESTEBAN         ADDRESS ON FILE
CRESPO CARDONA, LUIS M.         ADDRESS ON FILE
CRESPO CARDONA, MARIA DEL       ADDRESS ON FILE
CRESPO CARDONA, MARIO           ADDRESS ON FILE
CRESPO CARDONA, WANDA           ADDRESS ON FILE
CRESPO CARDONA, WILLIAM         ADDRESS ON FILE
CRESPO CARDONA, XIOMARA         ADDRESS ON FILE
CRESPO CARRASQUILLO, NANCY      ADDRESS ON FILE
Crespo Carrero, Jose J          ADDRESS ON FILE
CRESPO CARRILLO MD, JORGE       ADDRESS ON FILE
CRESPO CASTILLO, LUIS           ADDRESS ON FILE
CRESPO CASTRO, IRIS Y           ADDRESS ON FILE
CRESPO CASTRO, JOSE             ADDRESS ON FILE
Crespo Castro, Lisandra         ADDRESS ON FILE
CRESPO CASTRO, LISANDRA         ADDRESS ON FILE
CRESPO CASTRO, MARISHKA L.      ADDRESS ON FILE
CRESPO CASTRO, MARITZA          ADDRESS ON FILE
CRESPO CASTRO, NEYDA            ADDRESS ON FILE
CRESPO CENTENO, MARIBEL         ADDRESS ON FILE
CRESPO CERUTO, ELVIS            ADDRESS ON FILE
Crespo Chaparro, Elvis R        ADDRESS ON FILE
CRESPO CHUY, YANET              ADDRESS ON FILE
CRESPO CINTRON, RAFAEL          ADDRESS ON FILE
CRESPO CLASS, GLORIA E          ADDRESS ON FILE
CRESPO CLASSEN, AGNES Y         ADDRESS ON FILE
CRESPO CLASSEN, RAMON           ADDRESS ON FILE
Crespo Claudio, Andy            ADDRESS ON FILE
CRESPO COLLAZO, YIRAN O         ADDRESS ON FILE
Crespo Colon, Agustin           ADDRESS ON FILE
CRESPO COLON, ALFREDO           ADDRESS ON FILE
CRESPO COLON, CARMEN N          ADDRESS ON FILE
CRESPO COLON, DEBORA            ADDRESS ON FILE
CRESPO COLON, DIANA             ADDRESS ON FILE
CRESPO COLON, FELIX             ADDRESS ON FILE
CRESPO COLON, JACQUELINE        ADDRESS ON FILE
CRESPO COLON, JAZMIN            ADDRESS ON FILE
Crespo Colon, Jose              ADDRESS ON FILE
CRESPO COLON, JOSE M            ADDRESS ON FILE
CRESPO COLON, LILLIAM           ADDRESS ON FILE
Crespo Colon, Luis H.           ADDRESS ON FILE
CRESPO COLON, MANUEL            ADDRESS ON FILE
CRESPO COLON, MARIBEL           ADDRESS ON FILE
CRESPO COLON, MICHELLE          ADDRESS ON FILE
CRESPO COLON, RAPHAEL           ADDRESS ON FILE
CRESPO COLON, SARAI             ADDRESS ON FILE
Crespo Colon, Urbano            ADDRESS ON FILE
CRESPO CONCEPCION, ALTAGRACIA   ADDRESS ON FILE




                                                                            Page 1872 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1873 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO CONCEPCION, ANTONIO     ADDRESS ON FILE
CRESPO CONCEPCION, CARMEN      ADDRESS ON FILE
Crespo Concepcion, Celia I     ADDRESS ON FILE
CRESPO CONCEPCION, IVELISE     ADDRESS ON FILE
CRESPO CONCEPCION, ROSAURA     ADDRESS ON FILE
CRESPO CORDERO, GLENDA M.      ADDRESS ON FILE
CRESPO CORDERO, HECTOR         ADDRESS ON FILE
CRESPO CORDERO, JORGE          ADDRESS ON FILE
CRESPO CORDERO, JORGE          ADDRESS ON FILE
Crespo Cordero, Jose R         ADDRESS ON FILE
CRESPO CORDERO, PEGGY          ADDRESS ON FILE
CRESPO CORREA, GLORILUZ        ADDRESS ON FILE
CRESPO CORREA, HECTOR          ADDRESS ON FILE
CRESPO CORREA, HECTOR          ADDRESS ON FILE
CRESPO CORREA, YADIRA          ADDRESS ON FILE
CRESPO CORTES, CARMEN L        ADDRESS ON FILE
Crespo Cortes, Gamaliel        ADDRESS ON FILE
CRESPO CORTES, JOSE A          ADDRESS ON FILE
CRESPO CORTES, MARITZA         ADDRESS ON FILE
CRESPO CORTES, OMARYS          ADDRESS ON FILE
CRESPO COUTO, RAUL             ADDRESS ON FILE
CRESPO COX, LINDA R            ADDRESS ON FILE
CRESPO CRESPO, ANA L.          ADDRESS ON FILE
CRESPO CRESPO, ANTONIO         ADDRESS ON FILE
CRESPO CRESPO, CARLOS          ADDRESS ON FILE
CRESPO CRESPO, CRISTINA        ADDRESS ON FILE
CRESPO CRESPO, DAVIS           ADDRESS ON FILE
CRESPO CRESPO, DEBORAH         ADDRESS ON FILE
CRESPO CRESPO, DEBORAH         ADDRESS ON FILE
CRESPO CRESPO, ELSA I          ADDRESS ON FILE
CRESPO CRESPO, GLADYS          ADDRESS ON FILE
CRESPO CRESPO, HAROLD          ADDRESS ON FILE
CRESPO CRESPO, HAYDEE          ADDRESS ON FILE
CRESPO CRESPO, HERIBERTO       ADDRESS ON FILE
CRESPO CRESPO, JAIME           ADDRESS ON FILE
CRESPO CRESPO, JAVIER          ADDRESS ON FILE
CRESPO CRESPO, MARIBELLE       ADDRESS ON FILE
CRESPO CRESPO, ORLANDO         ADDRESS ON FILE
CRESPO CRESPO, RESTITUTO       ADDRESS ON FILE
CRESPO CRESPO, WIDALYS         ADDRESS ON FILE
CRESPO CRUZ MD, RAFAEL A       ADDRESS ON FILE
CRESPO CRUZ, CANDIDO           ADDRESS ON FILE
CRESPO CRUZ, CARLOS M.         ADDRESS ON FILE
CRESPO CRUZ, ELISA             ADDRESS ON FILE
CRESPO CRUZ, IRANYS C          ADDRESS ON FILE
CRESPO CRUZ, IRENE             ADDRESS ON FILE
CRESPO CRUZ, JOSUE             ADDRESS ON FILE
CRESPO CRUZ, LUZ B             ADDRESS ON FILE
CRESPO CRUZ, RAFAEL            ADDRESS ON FILE
CRESPO CRUZ, SHEILA P          ADDRESS ON FILE
CRESPO CRUZ, ZENAIDA           ADDRESS ON FILE
CRESPO CUADRADO, DIANA I.      ADDRESS ON FILE
CRESPO CUADRADO, JANICE        ADDRESS ON FILE
CRESPO CUEVAS, VICTOR          ADDRESS ON FILE
CRESPO CUEVAS, YOLANDA         ADDRESS ON FILE
CRESPO DE JESUS, DAVID         ADDRESS ON FILE
CRESPO DE JESUS, FELIX         ADDRESS ON FILE
CRESPO DE JESUS, HAYDEE E.     ADDRESS ON FILE
CRESPO DE JESUS, JOSE A        ADDRESS ON FILE
CRESPO DE LA CRUZ, DELIASHKA   ADDRESS ON FILE




                                                                           Page 1873 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1874 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO DE LA CRUZ, JOSE          ADDRESS ON FILE
CRESPO DE LA CRUZ, JOSE A        ADDRESS ON FILE
CRESPO DE LEON, JUAN F           ADDRESS ON FILE
Crespo De Leon, Miguel A.        ADDRESS ON FILE
CRESPO DE LOS RIOS, JOSE A       ADDRESS ON FILE
Crespo Del Valle, Jaime          ADDRESS ON FILE
Crespo Del Valle, Jeffrey J      ADDRESS ON FILE
CRESPO DEL VALLE, MIGDALIA       ADDRESS ON FILE
CRESPO DELGADO, ABDIEL           ADDRESS ON FILE
CRESPO DELGADO, CESAR A          ADDRESS ON FILE
CRESPO DELGADO, EDGAR N          ADDRESS ON FILE
CRESPO DELGADO, MARIA DEL C      ADDRESS ON FILE
CRESPO DELGADO, WILMARI          ADDRESS ON FILE
CRESPO DIAZ, DAISY               ADDRESS ON FILE
CRESPO DIAZ, DAISY               ADDRESS ON FILE
CRESPO DIAZ, NESTOR              ADDRESS ON FILE
CRESPO DIAZ, OMAR                ADDRESS ON FILE
CRESPO DOLZ, DIANA               ADDRESS ON FILE
Crespo Dones, Pedro A            ADDRESS ON FILE
CRESPO ECHEVARRIA, ISABEL        ADDRESS ON FILE
CRESPO ECHEVARRIA, JAIME         ADDRESS ON FILE
CRESPO ECHEVARRIA, JOSE          ADDRESS ON FILE
CRESPO ECHEVARRIA, MANUEL        ADDRESS ON FILE
CRESPO ECHEVARRIA, MOISES        ADDRESS ON FILE
CRESPO ELLIN, ENOC               ADDRESS ON FILE
CRESPO ENRIQUEZ, JOSE            ADDRESS ON FILE
CRESPO ESCOBAR, NELLY D          ADDRESS ON FILE
CRESPO FEBUS, WILFREDO           ADDRESS ON FILE
CRESPO FELICIANO, ANNA L         ADDRESS ON FILE
CRESPO FELICIANO, EVELYN         ADDRESS ON FILE
CRESPO FELICIANO, HECTOR         ADDRESS ON FILE
CRESPO FELICIANO, IVAN           ADDRESS ON FILE
CRESPO FELICIANO, JENNIFER       ADDRESS ON FILE
CRESPO FELICIANO, LEONIDES       ADDRESS ON FILE
Crespo Feliciano, Luis A         ADDRESS ON FILE
CRESPO FELIX, JOSE               ADDRESS ON FILE
CRESPO FERNANDEZ, CLARIBEL       ADDRESS ON FILE
CRESPO FERRER, JUAN R            ADDRESS ON FILE
CRESPO FIGUEROA, AMELIA          ADDRESS ON FILE
CRESPO FIGUEROA, AMELIA          ADDRESS ON FILE
CRESPO FIGUEROA, FRANCHESKA      ADDRESS ON FILE
CRESPO FIGUEROA, FRANCHESKA J.   ADDRESS ON FILE
CRESPO FIGUEROA, GLORIMAR        ADDRESS ON FILE
CRESPO FIGUEROA, ISMAEL          ADDRESS ON FILE
CRESPO FIGUEROA, JUAN            ADDRESS ON FILE
CRESPO FIGUEROA, LUZ M           ADDRESS ON FILE
CRESPO FIGUEROA, MOISES          ADDRESS ON FILE
CRESPO FIGUEROA, NOELIA          ADDRESS ON FILE
CRESPO FIGUEROA, VALERIE         ADDRESS ON FILE
Crespo Flores, Angel S           ADDRESS ON FILE
CRESPO FLORES, ELSIE             ADDRESS ON FILE
CRESPO FLORES, ENRIQUE           ADDRESS ON FILE
CRESPO FLORES, JOSE              ADDRESS ON FILE
CRESPO FLORES, WILFREDO          ADDRESS ON FILE
Crespo Flores, Zequiel           ADDRESS ON FILE
CRESPO FLORES, ZORAIDA           ADDRESS ON FILE
CRESPO FONTANEZ, MIGUEL          ADDRESS ON FILE
CRESPO FUENTES, MARITSALLY       ADDRESS ON FILE
CRESPO FUENTES, RAUL             ADDRESS ON FILE
CRESPO GABRIEL, IRMA L.          ADDRESS ON FILE




                                                                             Page 1874 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1875 of 3500
                                                                              17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                  Address1                  Address2                           Address3   Address4   City            State   PostalCode   Country
CRESPO GALAN, JORGE L          ADDRESS ON FILE
CRESPO GALLOZA, ANA I          ADDRESS ON FILE
CRESPO GARAY, CORALIA          ADDRESS ON FILE
CRESPO GARCIA, ANTONIO         ADDRESS ON FILE
CRESPO GARCIA, CARLOS          ADDRESS ON FILE
CRESPO GARCIA, CARMEN M        ADDRESS ON FILE
CRESPO GARCIA, DAISY N         ADDRESS ON FILE
CRESPO GARCIA, HILDA           ADDRESS ON FILE
CRESPO GARCIA, ISABEL          ADDRESS ON FILE
CRESPO GARCIA, LUZ M           ADDRESS ON FILE
CRESPO GARCIA, MAYRA A         ADDRESS ON FILE
CRESPO GARCIA, NELSON          ADDRESS ON FILE
CRESPO GARCIA, RICARDO         ADDRESS ON FILE
CRESPO GARCIA, WILLIAM         ADDRESS ON FILE
CRESPO GOMEZ, JOSE             ADDRESS ON FILE
CRESPO GOMEZ, LUIS             ADDRESS ON FILE
CRESPO GONZALEZ, ADRIAN        ADDRESS ON FILE
CRESPO GONZALEZ, AGUSTIN       ADDRESS ON FILE
CRESPO GONZALEZ, ANA L         ADDRESS ON FILE
CRESPO GONZALEZ, ANGEL         ADDRESS ON FILE
CRESPO GONZALEZ, BARBARA       ADDRESS ON FILE
CRESPO GONZALEZ, DERLING       ADDRESS ON FILE
CRESPO GONZALEZ, ENRIQUE       ADDRESS ON FILE
CRESPO GONZALEZ, EWMMANUEL     ADDRESS ON FILE
Crespo Gonzalez, Francisco     ADDRESS ON FILE
Crespo Gonzalez, Frankie       ADDRESS ON FILE
CRESPO GONZALEZ, GENESIS       ADDRESS ON FILE
CRESPO GONZALEZ, GUSTAVO       ADDRESS ON FILE
CRESPO GONZALEZ, JENISMAR      ADDRESS ON FILE
CRESPO GONZALEZ, JENNIFER      ADDRESS ON FILE
CRESPO GONZALEZ, JESSICA       ADDRESS ON FILE
CRESPO GONZALEZ, JUAN M        ADDRESS ON FILE
CRESPO GONZALEZ, LESBIA        ADDRESS ON FILE
CRESPO GONZALEZ, LUIS          ADDRESS ON FILE
CRESPO GONZALEZ, LUIS M        ADDRESS ON FILE
CRESPO GONZALEZ, MAJORIE       ADDRESS ON FILE
CRESPO GONZALEZ, MANUEL        ADDRESS ON FILE
Crespo Gonzalez, Marcelino     ADDRESS ON FILE
CRESPO GONZALEZ, MARGARITA     ADDRESS ON FILE
CRESPO GONZALEZ, NEREIDA       ADDRESS ON FILE
CRESPO GONZALEZ, PEDRO         ADDRESS ON FILE
CRESPO GONZALEZ, PROVIDENCIA   ADDRESS ON FILE
CRESPO GONZALEZ, RAFAEL        ADDRESS ON FILE
CRESPO GONZALEZ, ROBERTO       ADDRESS ON FILE
CRESPO GONZALEZ, ROSA I        ADDRESS ON FILE
Crespo Gonzalez, Ruben         ADDRESS ON FILE
CRESPO GONZALEZ, SHEYMARA      ADDRESS ON FILE
CRESPO GONZALEZ, TERESITA      ADDRESS ON FILE
CRESPO GRACIA, DENISSE         ADDRESS ON FILE
CRESPO GRACIA, IDALYS          ADDRESS ON FILE
CRESPO GRACIA, OMAYRA          ADDRESS ON FILE
CRESPO GUILLEN, ESPERANZA      ADDRESS ON FILE
CRESPO GUTIERREZ               ADDRESS ON FILE
CRESPO GUZMAN, AIDA            ADDRESS ON FILE
Crespo Guzman, Edward          ADDRESS ON FILE
CRESPO GUZMAN, FRANCISCO       ADDRESS ON FILE
CRESPO GUZMAN, HERIBERTO       ADDRESS ON FILE
Crespo Guzman, Jose A          ADDRESS ON FILE
CRESPO HENDRICHS, ORLANDO      ADDRESS ON FILE
CRESPO HERNANDEZ WILFREDO      CARR 181 KM 1.0           BO QUEBRADA HONDA                                        SAN LORENZO     PR      00754




                                                                             Page 1875 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1876 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO HERNANDEZ, CADIA P      ADDRESS ON FILE
CRESPO HERNANDEZ, DERICK       ADDRESS ON FILE
CRESPO HERNANDEZ, DIONEL       ADDRESS ON FILE
CRESPO HERNANDEZ, DORIS N      ADDRESS ON FILE
CRESPO HERNANDEZ, ERICO        ADDRESS ON FILE
CRESPO HERNANDEZ, ESTHER       ADDRESS ON FILE
CRESPO HERNANDEZ, EVELYN Y     ADDRESS ON FILE
CRESPO HERNANDEZ, JANICK       ADDRESS ON FILE
CRESPO HERNANDEZ, JOANN        ADDRESS ON FILE
CRESPO HERNANDEZ, MAYRA        ADDRESS ON FILE
CRESPO HERNANDEZ, NILSA        ADDRESS ON FILE
CRESPO HERNANDEZ, OBDULIO      ADDRESS ON FILE
CRESPO HERNANDEZ, ROSA I       ADDRESS ON FILE
CRESPO HERNANDEZ, SALVADOR     ADDRESS ON FILE
CRESPO HERNANDEZ, SANDRA       ADDRESS ON FILE
CRESPO HERNANDEZ, WANDA I.     ADDRESS ON FILE
Crespo Hernández, William E.   ADDRESS ON FILE
CRESPO HERNANDEZ, YAIMI        ADDRESS ON FILE
CRESPO HERNNADEZ, GUSTAVO      ADDRESS ON FILE
CRESPO HUERTAS, BRENDA         ADDRESS ON FILE
Crespo Hyman, Lisa M           ADDRESS ON FILE
CRESPO HYMAN, LISA M.          ADDRESS ON FILE
CRESPO IGARTUA, PAULINA        ADDRESS ON FILE
CRESPO ILLA, ELBA I            ADDRESS ON FILE
CRESPO IRIZARRY, EVELYN        ADDRESS ON FILE
Crespo Irizarry, Jaime O       ADDRESS ON FILE
CRESPO IRIZARRY, MADELAINE     ADDRESS ON FILE
CRESPO IRIZARRY, VIVIAN        ADDRESS ON FILE
CRESPO JAIME, ALEXIS           ADDRESS ON FILE
CRESPO JIMENEZ, GERARDO        ADDRESS ON FILE
CRESPO JIMENEZ, JUANA          ADDRESS ON FILE
CRESPO JIMENEZ, MARCELINO      ADDRESS ON FILE
CRESPO JIMENEZ, MARITZA        ADDRESS ON FILE
CRESPO JIMENEZ, MIGDALIA       ADDRESS ON FILE
CRESPO JIMENEZ, TEOFILA        ADDRESS ON FILE
CRESPO JORDAN, CELESTE         ADDRESS ON FILE
CRESPO JORGE, VICTOR           ADDRESS ON FILE
CRESPO JUAN, D                 ADDRESS ON FILE
CRESPO JUSTINIANO, EDITH       ADDRESS ON FILE
CRESPO KEBLER, ELIZABETH       ADDRESS ON FILE
CRESPO KEBLER, JUDITH A        ADDRESS ON FILE
CRESPO LA LUZ, JORGE           ADDRESS ON FILE
CRESPO LAGARES, ELBA           ADDRESS ON FILE
CRESPO LANDRON, GLORIA         ADDRESS ON FILE
CRESPO LASALLE, BRENDA I       ADDRESS ON FILE
CRESPO LEBRON, ANGELICA        ADDRESS ON FILE
CRESPO LEBRON, HERIBERTO       ADDRESS ON FILE
CRESPO LEBRON, JORGE           ADDRESS ON FILE
CRESPO LEON, JORGE A.          ADDRESS ON FILE
CRESPO LEON, MARIBEL           ADDRESS ON FILE
CRESPO LLADO, NADJA            ADDRESS ON FILE
CRESPO LLADO, NADJA I          ADDRESS ON FILE
CRESPO LLAMAS, PIERRE          ADDRESS ON FILE
CRESPO LLORENS, GLORIA E       ADDRESS ON FILE
CRESPO LOIZ, JOSE              ADDRESS ON FILE
CRESPO LOPEZ, ARMANDO          ADDRESS ON FILE
CRESPO LOPEZ, JOHANNA          ADDRESS ON FILE
CRESPO LOPEZ, JOSE             ADDRESS ON FILE
Crespo Lopez, Julian J.        ADDRESS ON FILE
CRESPO LOPEZ, NILMARIS         ADDRESS ON FILE




                                                                           Page 1876 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1877 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO LOPEZ, PEDRO             ADDRESS ON FILE
CRESPO LOPEZ, RAMONITA          ADDRESS ON FILE
CRESPO LOPEZ, VIRGINIA          ADDRESS ON FILE
CRESPO LOPEZ, YOLANDA           ADDRESS ON FILE
CRESPO LORENZO, EVELYN          ADDRESS ON FILE
Crespo Lorenzo, Javier          ADDRESS ON FILE
CRESPO LORENZO, MARIA L         ADDRESS ON FILE
CRESPO LORENZO, NOEL            ADDRESS ON FILE
Crespo Lorenzo, Ramon           ADDRESS ON FILE
CRESPO LUGO, ANA                ADDRESS ON FILE
CRESPO LUGO, EDELFINDA          ADDRESS ON FILE
CRESPO LUGO, EDWIN D            ADDRESS ON FILE
CRESPO LUGO, HILDA N            ADDRESS ON FILE
CRESPO LUGO, JOSE F.            ADDRESS ON FILE
CRESPO LUGO, JUAN C             ADDRESS ON FILE
CRESPO LUGO, LIBERTAD           ADDRESS ON FILE
Crespo Lugo, Luis A             ADDRESS ON FILE
CRESPO LUGO, MARIA ROSA         ADDRESS ON FILE
CRESPO LUGO, ROBERTO A          ADDRESS ON FILE
CRESPO MACHADO, EFRAIN          ADDRESS ON FILE
CRESPO MAISONET, JOSE D.        LCDO. FELIPE SOTO ORTIZ   PO BOX 4556                                            MAYAGUEZ     PR      00681
CRESPO MALAVE, BRYAN L          ADDRESS ON FILE
CRESPO MALDONADO, JOSE          ADDRESS ON FILE
CRESPO MALDONADO, LUIS F        ADDRESS ON FILE
CRESPO MALDONADO, LUIS M.       ADDRESS ON FILE
CRESPO MALDONADO, MARISELIS     ADDRESS ON FILE
CRESPO MALPICA, MIRIAM          ADDRESS ON FILE
CRESPO MANDRY, CARLOS           ADDRESS ON FILE
Crespo Mandry, Carlos M         ADDRESS ON FILE
Crespo Mandry, Francis A        ADDRESS ON FILE
CRESPO MANDRY, JORGE            ADDRESS ON FILE
Crespo Mandry, Jorge L.         ADDRESS ON FILE
Crespo Mandry, Mayra D          ADDRESS ON FILE
CRESPO MARCIAL, JAIME           ADDRESS ON FILE
CRESPO MARRERO, CARMEN L        ADDRESS ON FILE
CRESPO MARRERO, LUIS            ADDRESS ON FILE
Crespo Martinez, Angel R        ADDRESS ON FILE
CRESPO MARTINEZ, CARLOS         ADDRESS ON FILE
CRESPO MARTINEZ, CARMEN I       ADDRESS ON FILE
CRESPO MARTINEZ, CRUZ           ADDRESS ON FILE
CRESPO MARTINEZ, CRUZ           ADDRESS ON FILE
CRESPO MARTINEZ, EDWIN          ADDRESS ON FILE
CRESPO MARTINEZ, EVELYN         ADDRESS ON FILE
CRESPO MARTINEZ, FRANCIS I.     ADDRESS ON FILE
Crespo Martinez, Francisco J.   ADDRESS ON FILE
CRESPO MARTINEZ, IRMA           ADDRESS ON FILE
CRESPO MARTINEZ, ISABEL         ADDRESS ON FILE
CRESPO MARTINEZ, JEANNETTE      ADDRESS ON FILE
CRESPO MARTINEZ, JUAN           ADDRESS ON FILE
CRESPO MARTINEZ, LIMARYS        ADDRESS ON FILE
CRESPO MARTINEZ, LUIS           ADDRESS ON FILE
CRESPO MARTINEZ, SORYDSEE       ADDRESS ON FILE
CRESPO MARTINEZ, TERESA         ADDRESS ON FILE
CRESPO MARTINEZ, XAVIER         ADDRESS ON FILE
CRESPO MARTIZ, ANNALORENA       ADDRESS ON FILE
CRESPO MASSA, JOSE C.           ADDRESS ON FILE
Crespo Matias, Israel           ADDRESS ON FILE
CRESPO MATIAS, JENNIFER O       ADDRESS ON FILE
CRESPO MATIAS, JUAN             ADDRESS ON FILE
CRESPO MATOS, ANA R             ADDRESS ON FILE




                                                                            Page 1877 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1878 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO MATOS, JENNIFER           ADDRESS ON FILE
CRESPO MATOS, MANUEL             ADDRESS ON FILE
CRESPO MAYSONET, JOSE D.         ADDRESS ON FILE
CRESPO MEDICAL CARE              HC 6 BOX 65403                                                                   CAMUY        PR      00627
CRESPO MEDICAL CARE INC          HC 6 BOX 65403                                                                   CAMUY        PR      00627
CRESPO MEDINA, AMELIA            ADDRESS ON FILE
CRESPO MEDINA, CHALESKYVELISES   ADDRESS ON FILE
CRESPO MEDINA, FRANKIE           ADDRESS ON FILE
CRESPO MEDINA, GERSON            ADDRESS ON FILE
CRESPO MEDINA, IVAN A.           ADDRESS ON FILE
CRESPO MEDINA, JESUS             ADDRESS ON FILE
Crespo Medina, Jose C            ADDRESS ON FILE
CRESPO MEDINA, JUAN              ADDRESS ON FILE
CRESPO MEDINA, JUAN              ADDRESS ON FILE
CRESPO MEDINA, JUAN              ADDRESS ON FILE
CRESPO MEDINA, KARLA X           ADDRESS ON FILE
CRESPO MEDINA, LIMARIE           ADDRESS ON FILE
CRESPO MEDINA, MAYRA             ADDRESS ON FILE
CRESPO MEDINA, MAYRA I           ADDRESS ON FILE
CRESPO MEDINA, MYRTA M.          ADDRESS ON FILE
CRESPO MEDINA, VIVIAN            ADDRESS ON FILE
CRESPO MEDINA, WILLIAM           ADDRESS ON FILE
CRESPO MEJIAS, YOMARY            ADDRESS ON FILE
CRESPO MELENDEZ, ARLENE          ADDRESS ON FILE
CRESPO MELENDEZ, MANUEL          ADDRESS ON FILE
CRESPO MELENDEZ, OLGA            ADDRESS ON FILE
CRESPO MENA, AIDA                ADDRESS ON FILE
CRESPO MENDEZ, AWILDA E          ADDRESS ON FILE
CRESPO MENDEZ, CLARA L           ADDRESS ON FILE
CRESPO MENDEZ, ELVIN             ADDRESS ON FILE
CRESPO MENDEZ, ENRIQUE           ADDRESS ON FILE
CRESPO MENDEZ, EVELYN            ADDRESS ON FILE
CRESPO MENDEZ, ILEANA            ADDRESS ON FILE
CRESPO MENDEZ, ISRAEL            ADDRESS ON FILE
CRESPO MENDEZ, JEANNETTE         ADDRESS ON FILE
CRESPO MENDEZ, JOSE              ADDRESS ON FILE
CRESPO MENDEZ, JOSE M            ADDRESS ON FILE
CRESPO MENDEZ, LAURENTINO        ADDRESS ON FILE
CRESPO MENDEZ, LILLIAM           ADDRESS ON FILE
CRESPO MENDEZ, SANDRA            ADDRESS ON FILE
CRESPO MERCADO, CRUZ M           ADDRESS ON FILE
CRESPO MERCADO, ISABEL           ADDRESS ON FILE
Crespo Mercado, Mabel            ADDRESS ON FILE
CRESPO MERCADO, MARIBEL          ADDRESS ON FILE
CRESPO MERCADO, MIGUEL A         ADDRESS ON FILE
CRESPO MERCADO, PEDRO            ADDRESS ON FILE
Crespo Mercado, Sonia            ADDRESS ON FILE
CRESPO MERCED, ARLENE            ADDRESS ON FILE
CRESPO MIRANDA, DANIEL           ADDRESS ON FILE
CRESPO MIRANDA, DAVID            ADDRESS ON FILE
CRESPO MIRANDA, EDWIN            ADDRESS ON FILE
CRESPO MIRANDA, JOSE             ADDRESS ON FILE
CRESPO MIRANDA, MARISOL          ADDRESS ON FILE
CRESPO MIRANDA, NELSON           ADDRESS ON FILE
CRESPO MIRANDA, SHARON           ADDRESS ON FILE
CRESPO MIRANDA, VIVIAN           ADDRESS ON FILE
CRESPO MIRANDA, VIVIAN M         ADDRESS ON FILE
CRESPO MISLA, JAIME              ADDRESS ON FILE
CRESPO MISLA, LUIS               ADDRESS ON FILE
Crespo Misla, Luis D             ADDRESS ON FILE




                                                                             Page 1878 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1879 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO MITCHELL, ANA E       ADDRESS ON FILE
CRESPO MOJICA, MARIA D       ADDRESS ON FILE
CRESPO MOLINA, AWILDA        ADDRESS ON FILE
CRESPO MOLINA, GENEROSA      ADDRESS ON FILE
CRESPO MOLINA, JESSICA       ADDRESS ON FILE
CRESPO MONT, WILLIAM         ADDRESS ON FILE
CRESPO MONTERO, LUZ M        ADDRESS ON FILE
CRESPO MONTOLLA MD, JUAN M   ADDRESS ON FILE
CRESPO MONTOYA, DELFIN       ADDRESS ON FILE
CRESPO MONTOYA, SANDRA M     ADDRESS ON FILE
CRESPO MOON, GLADYS          ADDRESS ON FILE
CRESPO MORALES, CARMELA      ADDRESS ON FILE
CRESPO MORALES, ELIANA       ADDRESS ON FILE
CRESPO MORALES, LUIS A       ADDRESS ON FILE
CRESPO MORALES, LUIS O.      ADDRESS ON FILE
CRESPO MORALES, MARGARITA    ADDRESS ON FILE
CRESPO MORALES, MILTON L     ADDRESS ON FILE
Crespo Morales, Roberto      ADDRESS ON FILE
CRESPO MORALES, ROBERTO      ADDRESS ON FILE
CRESPO MORALES, ROXANA       ADDRESS ON FILE
CRESPO MORELL, HECTOR L      ADDRESS ON FILE
CRESPO MORELL, NORMA I.      ADDRESS ON FILE
CRESPO MORENO, ARMANDO       ADDRESS ON FILE
Crespo Moya, Edwin           ADDRESS ON FILE
Crespo Moya, Holvin          ADDRESS ON FILE
CRESPO MOYET, MARIA A        ADDRESS ON FILE
CRESPO MOYET, TERESA         ADDRESS ON FILE
CRESPO MULERO, ANASTACIA     LCDA. JOSEFINA PANTOJAS   PO BOX 21370                                           SAN JUAN     PR      00928‐1370
CRESPO MULERO, MARIA A       ADDRESS ON FILE
CRESPO MULERO, TERESA        ADDRESS ON FILE
CRESPO MULLER, CARLOS        ADDRESS ON FILE
CRESPO MUNIZ, BLANCA I       ADDRESS ON FILE
CRESPO MUNIZ, ILIANA         ADDRESS ON FILE
CRESPO MUNOZ, ARCENETTE      ADDRESS ON FILE
CRESPO MUNOZ, CARLOS         ADDRESS ON FILE
CRESPO MUNOZ, EDWIN          ADDRESS ON FILE
CRESPO NATER, GLORIA I       ADDRESS ON FILE
CRESPO NATER, LUIS           ADDRESS ON FILE
CRESPO NAZARIO, ALEXIS       ADDRESS ON FILE
CRESPO NAZARIO, EDGAR        ADDRESS ON FILE
CRESPO NAZARIO, JOSE M.      ADDRESS ON FILE
CRESPO NAZARIO, LYLIANA      ADDRESS ON FILE
CRESPO NEGRON, GISELA A.     ADDRESS ON FILE
CRESPO NEGRON, JOSAICHA      ADDRESS ON FILE
Crespo Negron, Luis A.       ADDRESS ON FILE
CRESPO NEVAREZ, WILFREDO     ADDRESS ON FILE
CRESPO NEVAREZ, WILFREDO     ADDRESS ON FILE
CRESPO NIEVES, ALEJANDRO     ADDRESS ON FILE
CRESPO NIEVES, EDGAR         ADDRESS ON FILE
CRESPO NIEVES, ELIZABETH     ADDRESS ON FILE
CRESPO NIEVES, HERIBERTO     ADDRESS ON FILE
CRESPO NIEVES, LOURDES E     ADDRESS ON FILE
CRESPO NIEVES, OMAR          ADDRESS ON FILE
CRESPO NIEVES, OSCAR A       ADDRESS ON FILE
CRESPO NIEVES, RODOLFO       ADDRESS ON FILE
CRESPO OCASIO, JANETTE       ADDRESS ON FILE
CRESPO OCASIO, MILDRED       ADDRESS ON FILE
CRESPO OJEDA, ELIUT          ADDRESS ON FILE
CRESPO OMS, HENRY            ADDRESS ON FILE
CRESPO OQUENDO, LAURA        ADDRESS ON FILE




                                                                         Page 1879 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1880 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO ORAMAS, ARMANDO      ADDRESS ON FILE
CRESPO ORTEGA, MARITZA      ADDRESS ON FILE
CRESPO ORTEGA, MARITZA      ADDRESS ON FILE
CRESPO ORTIZ, ANA M.        ADDRESS ON FILE
CRESPO ORTIZ, ANGEL A.      ADDRESS ON FILE
CRESPO ORTIZ, AYESHAH       ADDRESS ON FILE
Crespo Ortiz, Cesar         ADDRESS ON FILE
CRESPO ORTIZ, DAVID I.      ADDRESS ON FILE
CRESPO ORTIZ, EVELYN        ADDRESS ON FILE
CRESPO ORTIZ, JOEL          ADDRESS ON FILE
CRESPO ORTIZ, JOSE M        ADDRESS ON FILE
Crespo Ortiz, Leonel        ADDRESS ON FILE
CRESPO ORTIZ, LUIS M        ADDRESS ON FILE
CRESPO ORTIZ, MICHAEL       ADDRESS ON FILE
CRESPO ORTIZ, MYRNA         ADDRESS ON FILE
CRESPO ORTIZ, PAULITA       ADDRESS ON FILE
CRESPO ORTIZ, SALVADOR      ADDRESS ON FILE
Crespo Osorio, Carlos       ADDRESS ON FILE
CRESPO OTERO, DAIRA D       ADDRESS ON FILE
CRESPO OTERO, NITZA         ADDRESS ON FILE
CRESPO PADILLA, LUZ E       ADDRESS ON FILE
CRESPO PADILLA, RAFAEL A.   ADDRESS ON FILE
CRESPO PAGAN, ALICIA        ADDRESS ON FILE
CRESPO PAGAN, GERARDO       ADDRESS ON FILE
CRESPO PAGAN, JOSE L        ADDRESS ON FILE
CRESPO PAGAN, MARIA V.      ADDRESS ON FILE
CRESPO PAGAN, MILDRED       ADDRESS ON FILE
CRESPO PANTOJA, LUIS        ADDRESS ON FILE
CRESPO PAYA, JOSE F         ADDRESS ON FILE
CRESPO PELLOT, CHAMARY      ADDRESS ON FILE
CRESPO PENA, BRENDA J.      ADDRESS ON FILE
CRESPO PENA, GLENDA J       ADDRESS ON FILE
CRESPO PENA, YAIRA S        ADDRESS ON FILE
CRESPO PENDAS, CARLOS       ADDRESS ON FILE
CRESPO PENDAS, GLADYS C     ADDRESS ON FILE
CRESPO PEREA, MIGUEL        ADDRESS ON FILE
CRESPO PEREZ, ALEXIS        ADDRESS ON FILE
CRESPO PEREZ, BENJAMIN      ADDRESS ON FILE
CRESPO PEREZ, BIANCA        ADDRESS ON FILE
CRESPO PEREZ, CARMEN        ADDRESS ON FILE
CRESPO PEREZ, EDITH         ADDRESS ON FILE
CRESPO PEREZ, EFRAIN        ADDRESS ON FILE
CRESPO PEREZ, ELMER         ADDRESS ON FILE
CRESPO PEREZ, GLORICELLY    ADDRESS ON FILE
CRESPO PEREZ, HECTOR        ADDRESS ON FILE
CRESPO PEREZ, JORGE         ADDRESS ON FILE
CRESPO PEREZ, JORGE L.      ADDRESS ON FILE
CRESPO PEREZ, JOSE A.       ADDRESS ON FILE
CRESPO PEREZ, JUAN          ADDRESS ON FILE
CRESPO PEREZ, LISSETTE      ADDRESS ON FILE
CRESPO PEREZ, LUIS          ADDRESS ON FILE
CRESPO PEREZ, LUIS          ADDRESS ON FILE
CRESPO PEREZ, LUIS F.       ADDRESS ON FILE
CRESPO PEREZ, LUIS S.       ADDRESS ON FILE
CRESPO PEREZ, MARTIN        ADDRESS ON FILE
CRESPO PEREZ, OMAYRA        ADDRESS ON FILE
CRESPO PEREZ, OSVALDO       ADDRESS ON FILE
CRESPO PEREZ, PABLO         ADDRESS ON FILE
CRESPO PEREZ, PROVIDENCIA   ADDRESS ON FILE
CRESPO PEREZ, RAMONITA      ADDRESS ON FILE




                                                                        Page 1880 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1881 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO PINTO, JOSE               ADDRESS ON FILE
CRESPO QUILES, ASTRID M          ADDRESS ON FILE
CRESPO QUILES, JULIO             ADDRESS ON FILE
CRESPO QUILES, LIZ E             ADDRESS ON FILE
CRESPO QUILES, MARI              ADDRESS ON FILE
CRESPO QUILES, RUBEN             ADDRESS ON FILE
CRESPO QUINONES, CANDELARIO      ADDRESS ON FILE
CRESPO QUINONES, DAMARYS         ADDRESS ON FILE
CRESPO QUINONES, FELIX           ADDRESS ON FILE
CRESPO QUINONES, FRANCISCO       ADDRESS ON FILE
CRESPO QUINONES, FRANCISCO J.    ADDRESS ON FILE
CRESPO QUINONES, JOSE            ADDRESS ON FILE
CRESPO QUINONES, LUIS J          ADDRESS ON FILE
CRESPO QUINONES, XAVIER          ADDRESS ON FILE
CRESPO QUINTANA, AGNES MORAIMA   ADDRESS ON FILE
CRESPO QUINTERO, JESSE JOE       ADDRESS ON FILE
CRESPO RAFOLS, JOSE              ADDRESS ON FILE
CRESPO RAICES, JONATHAN          ADDRESS ON FILE
CRESPO RAMIREZ, AMARILYS         ADDRESS ON FILE
CRESPO RAMIREZ, IRIS             ADDRESS ON FILE
Crespo Ramos, Cesar E            ADDRESS ON FILE
CRESPO RAMOS, DAISY              ADDRESS ON FILE
CRESPO RAMOS, EFRAIN             ADDRESS ON FILE
CRESPO RAMOS, FRANCISCO          ADDRESS ON FILE
CRESPO RAMOS, GLORIA M           ADDRESS ON FILE
CRESPO RAMOS, HECTOR             ADDRESS ON FILE
CRESPO RAMOS, JANNETTE           ADDRESS ON FILE
CRESPO RAMOS, JANNETTE           ADDRESS ON FILE
CRESPO RAMOS, JESUS F            ADDRESS ON FILE
CRESPO RAMOS, LESLIE M           ADDRESS ON FILE
Crespo Ramos, Luis               ADDRESS ON FILE
CRESPO RAMOS, LUIS               ADDRESS ON FILE
CRESPO RAMOS, LUIS A             ADDRESS ON FILE
Crespo Ramos, Ramon              ADDRESS ON FILE
CRESPO RAMOS, REBECCA            ADDRESS ON FILE
CRESPO RAMOS,GLORICELA           ADDRESS ON FILE
Crespo Reices, Luis J            ADDRESS ON FILE
CRESPO RESTO, AMARILIS           ADDRESS ON FILE
CRESPO RESTO, LUIS               ADDRESS ON FILE
CRESPO REY, MARILYN              ADDRESS ON FILE
CRESPO REYES, ANTONIO            ADDRESS ON FILE
Crespo Reyes, Ivis J             ADDRESS ON FILE
CRESPO REYES, JOSE               ADDRESS ON FILE
CRESPO REYES, LORENS             ADDRESS ON FILE
CRESPO RIOS, BRUNILDA S          ADDRESS ON FILE
CRESPO RIOS, ELSA N              ADDRESS ON FILE
CRESPO RIOS, GLADYS              ADDRESS ON FILE
CRESPO RIOS, HAYDEE              ADDRESS ON FILE
CRESPO RIOS, JOSE                ADDRESS ON FILE
CRESPO RIOS, JOSE                ADDRESS ON FILE
CRESPO RIOS, VANESA Y.           ADDRESS ON FILE
CRESPO RIVERA, ALEJANDRO         ADDRESS ON FILE
CRESPO RIVERA, AMELIA            ADDRESS ON FILE
CRESPO RIVERA, ANDY              ADDRESS ON FILE
CRESPO RIVERA, ANTHONY           ADDRESS ON FILE
Crespo Rivera, Antonio           ADDRESS ON FILE
CRESPO RIVERA, CARLOS            ADDRESS ON FILE
CRESPO RIVERA, CARMEN            ADDRESS ON FILE
CRESPO RIVERA, CARMEN D          ADDRESS ON FILE
CRESPO RIVERA, DAMARYS           ADDRESS ON FILE




                                                                             Page 1881 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1882 of 3500
                                                                              17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                  Address1                        Address2                                     Address3       Address4   City         State   PostalCode   Country
CRESPO RIVERA, DARLYN          ADDRESS ON FILE
CRESPO RIVERA, EVELIZA         ADDRESS ON FILE
CRESPO RIVERA, EVELYZA         ADDRESS ON FILE
CRESPO RIVERA, FABIAN          ADDRESS ON FILE
CRESPO RIVERA, FABIAN          ADDRESS ON FILE
CRESPO RIVERA, GLORIA          ADDRESS ON FILE
CRESPO RIVERA, HECTOR M        ADDRESS ON FILE
CRESPO RIVERA, HEDRICK         ADDRESS ON FILE
CRESPO RIVERA, HIPOLITO        ADDRESS ON FILE
CRESPO RIVERA, JESSICA         ADDRESS ON FILE
CRESPO RIVERA, JESSICA         L CDA. GENOVEVA VALENTIN SOTO   SERVIDORES PÚBLICOS UNIDOS DE                PO BOX 13695              SAN JUAN     PR      00908‐3695
CRESPO RIVERA, JOSE            ADDRESS ON FILE
CRESPO RIVERA, JOSE ANTONIO    ADDRESS ON FILE
CRESPO RIVERA, JULIO           ADDRESS ON FILE
CRESPO RIVERA, LEOMAR          ADDRESS ON FILE
CRESPO RIVERA, LEOMAR          ADDRESS ON FILE
CRESPO RIVERA, LEONEL M        ADDRESS ON FILE
CRESPO RIVERA, MARIA           ADDRESS ON FILE
CRESPO RIVERA, MARIA M         ADDRESS ON FILE
CRESPO RIVERA, MARIO           ADDRESS ON FILE
CRESPO RIVERA, MARISNELLY      ADDRESS ON FILE
CRESPO RIVERA, MILTON E        ADDRESS ON FILE
CRESPO RIVERA, NOEMI Y         ADDRESS ON FILE
CRESPO RIVERA, OBDULIO         ADDRESS ON FILE
CRESPO RIVERA, OLGA C          ADDRESS ON FILE
CRESPO RIVERA, SONIA           ADDRESS ON FILE
CRESPO RIVERA, VIVIANETTE      ADDRESS ON FILE
CRESPO RIVERA, YAMIL           ADDRESS ON FILE
CRESPO RIVERA, YAMIL A         ADDRESS ON FILE
Crespo Rivera, Yamil A.        ADDRESS ON FILE
CRESPO RIVERA, YANELY          ADDRESS ON FILE
CRESPO RIVERA, YARITZA         ADDRESS ON FILE
CRESPO ROBLEDO, JERRY          ADDRESS ON FILE
CRESPO ROBLEDO, MYRNA          ADDRESS ON FILE
CRESPO ROBLES, JANILYS         ADDRESS ON FILE
CRESPO RODRIGUEZ, AMARILIS     ADDRESS ON FILE
CRESPO RODRIGUEZ, ANA          ADDRESS ON FILE
CRESPO RODRIGUEZ, ANA D        ADDRESS ON FILE
CRESPO RODRIGUEZ, BLANCA I     ADDRESS ON FILE
CRESPO RODRIGUEZ, BRUNILDA     ADDRESS ON FILE
CRESPO RODRIGUEZ, BRUNILDA     ADDRESS ON FILE
CRESPO RODRIGUEZ, CARMEN       ADDRESS ON FILE
CRESPO RODRIGUEZ, CARMEN M     ADDRESS ON FILE
CRESPO RODRIGUEZ, DANIEL       ADDRESS ON FILE
CRESPO RODRIGUEZ, EDDIE        ADDRESS ON FILE
CRESPO RODRIGUEZ, EDRID        ADDRESS ON FILE
CRESPO RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
CRESPO RODRIGUEZ, ELVIRA       ADDRESS ON FILE
CRESPO RODRIGUEZ, EVELYN       ADDRESS ON FILE
CRESPO RODRIGUEZ, GABRIELA     ADDRESS ON FILE
CRESPO RODRIGUEZ, GISELA       ADDRESS ON FILE
CRESPO RODRIGUEZ, HECTOR       ADDRESS ON FILE
CRESPO RODRIGUEZ, HERIBERTO    ADDRESS ON FILE
CRESPO RODRIGUEZ, HERIBERTO    ADDRESS ON FILE
CRESPO RODRIGUEZ, HILDA        ADDRESS ON FILE
CRESPO RODRIGUEZ, HILDA L      ADDRESS ON FILE
CRESPO RODRIGUEZ, IRIS Y       ADDRESS ON FILE
CRESPO RODRIGUEZ, JACQUELINE   ADDRESS ON FILE
CRESPO RODRIGUEZ, JENNIFER     ADDRESS ON FILE
CRESPO RODRIGUEZ, JENNIFER M   ADDRESS ON FILE




                                                                                          Page 1882 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1883 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO RODRIGUEZ, JOSE          ADDRESS ON FILE
CRESPO RODRIGUEZ, JOSE          ADDRESS ON FILE
CRESPO RODRIGUEZ, JULIA         ADDRESS ON FILE
CRESPO RODRIGUEZ, LESLIE        ADDRESS ON FILE
CRESPO RODRIGUEZ, LORENZA       ADDRESS ON FILE
CRESPO RODRIGUEZ, MANUEL A      ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA         ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA         ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA         ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA         ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA DE L    ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA DEL C   ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA L       ADDRESS ON FILE
CRESPO RODRIGUEZ, MARIA T       ADDRESS ON FILE
CRESPO RODRIGUEZ, MARTINA J     ADDRESS ON FILE
CRESPO RODRIGUEZ, MIGUEL A      ADDRESS ON FILE
CRESPO RODRIGUEZ, MYRNA         ADDRESS ON FILE
CRESPO RODRIGUEZ, MYRNA M       ADDRESS ON FILE
CRESPO RODRIGUEZ, NELSON        ADDRESS ON FILE
CRESPO RODRIGUEZ, ORLISA        ADDRESS ON FILE
CRESPO RODRIGUEZ, PIA           ADDRESS ON FILE
CRESPO RODRIGUEZ, RAMON         ADDRESS ON FILE
CRESPO RODRIGUEZ, RAYMOND       ADDRESS ON FILE
CRESPO RODRIGUEZ, RENE          ADDRESS ON FILE
CRESPO RODRIGUEZ, RINA C        ADDRESS ON FILE
CRESPO RODRIGUEZ, ROBERTO       ADDRESS ON FILE
CRESPO RODRIGUEZ, WANDA         ADDRESS ON FILE
CRESPO ROLDAN, EDWIN            ADDRESS ON FILE
CRESPO ROLDAN, FRANCES J        ADDRESS ON FILE
Crespo Roldan, Rafael           ADDRESS ON FILE
CRESPO ROMAN MD, CARMELO A      ADDRESS ON FILE
CRESPO ROMAN, ANGEL             ADDRESS ON FILE
CRESPO ROMAN, CLARIBEL          ADDRESS ON FILE
CRESPO ROMAN, DIANE             ADDRESS ON FILE
CRESPO ROMAN, ELBA L            ADDRESS ON FILE
CRESPO ROMAN, HECTOR            ADDRESS ON FILE
Crespo Roman, Jose Manuel       ADDRESS ON FILE
CRESPO ROMAN, MIGUEL            ADDRESS ON FILE
Crespo Roman, Pedro A           ADDRESS ON FILE
CRESPO ROMAN,HECTOR J.          ADDRESS ON FILE
CRESPO ROMERO, MARIA DE L       ADDRESS ON FILE
CRESPO ROSA MD, MARGARITA       ADDRESS ON FILE
CRESPO ROSA, MARGARITA          ADDRESS ON FILE
CRESPO ROSA, WILFREDO           ADDRESS ON FILE
CRESPO ROSADO, EDITH            ADDRESS ON FILE
CRESPO ROSADO, IDA              ADDRESS ON FILE
CRESPO ROSADO, JOSE A           ADDRESS ON FILE
CRESPO ROSADO, LOURDES          ADDRESS ON FILE
CRESPO ROSADO, LOURDES          ADDRESS ON FILE
CRESPO ROSADO, MARIA A          ADDRESS ON FILE
CRESPO ROSADO, SIGRID A         ADDRESS ON FILE
CRESPO ROSARIO, CARLOS M.       ADDRESS ON FILE
CRESPO ROSARIO, ILEANYELIS      ADDRESS ON FILE
CRESPO ROSARIO, JEANETTE        ADDRESS ON FILE
CRESPO ROSARIO, JORGE           ADDRESS ON FILE
CRESPO ROSAS, FLORIA            ADDRESS ON FILE
CRESPO ROSAS, RAMON             ADDRESS ON FILE
CRESPO ROSENDO, CARMEN L.       ADDRESS ON FILE
CRESPO RUIZ, DAMARIS            ADDRESS ON FILE
CRESPO RUIZ, ELSIE              ADDRESS ON FILE




                                                                            Page 1883 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1884 of 3500
                                                                                17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                    Address1                  Address2                           Address3    Address4            City         State   PostalCode   Country
CRESPO RUIZ, FABIAN              ADDRESS ON FILE
Crespo Ruiz, Fernando            ADDRESS ON FILE
CRESPO RUIZ, FRANKLIN            ADDRESS ON FILE
CRESPO RUIZ, JESSENIA            ADDRESS ON FILE
CRESPO RUIZ, KRISTAL             ADDRESS ON FILE
CRESPO RUIZ, MANUEL              ADDRESS ON FILE
CRESPO RUIZ, MARIELLE            ADDRESS ON FILE
CRESPO RUIZ, MONSERRATE          ADDRESS ON FILE
CRESPO RUIZ, OSVALDO DE JESUS    ADDRESS ON FILE
CRESPO RUIZ, RAMONITA            ADDRESS ON FILE
CRESPO RUIZ, ULISES              ADDRESS ON FILE
CRESPO SAAVEDRA, MYRNA I.        ADDRESS ON FILE
Crespo Saavedra, Neftali         ADDRESS ON FILE
CRESPO SAGARDIA, TEODORO         ADDRESS ON FILE
CRESPO SALCEDO, MARIA DEL C      ADDRESS ON FILE
CRESPO SANABRIA, DAVID           ADDRESS ON FILE
CRESPO SANCHEZ, ALBERTO          ADDRESS ON FILE
CRESPO SANCHEZ, CARMEN           ADDRESS ON FILE
CRESPO SANCHEZ, CARMEN M.        ADDRESS ON FILE
Crespo Sánchez, Carmen M.        ADDRESS ON FILE
CRESPO SANCHEZ, CATHERINE        ADDRESS ON FILE
CRESPO SANCHEZ, IRIS N           ADDRESS ON FILE
CRESPO SANCHEZ, JULIO            ADDRESS ON FILE
CRESPO SANCHEZ, LORENZO          ADDRESS ON FILE
CRESPO SANCHEZ, LUCY             ADDRESS ON FILE
CRESPO SANCHEZ, NELIDA           ADDRESS ON FILE
CRESPO SANCHEZ, PEDRO            ADDRESS ON FILE
CRESPO SANCHEZ, ROSAURA          ADDRESS ON FILE
CRESPO SANCHEZ, TERESITA         ADDRESS ON FILE
CRESPO SANDOVAL, EVELYN          ADDRESS ON FILE
CRESPO SANFELIZ, JUAN            ADDRESS ON FILE
CRESPO SANTANA, GLORIA A         ADDRESS ON FILE
CRESPO SANTIAGO, ANTONIO         ADDRESS ON FILE
CRESPO SANTIAGO, CARLOS A        ADDRESS ON FILE
CRESPO SANTIAGO, CRISTAL M       ADDRESS ON FILE
CRESPO SANTIAGO, CRISTINA        ADDRESS ON FILE
CRESPO SANTIAGO, DIMNA M         ADDRESS ON FILE
CRESPO SANTIAGO, EDUARDO         ADDRESS ON FILE
CRESPO SANTIAGO, GLORIA          ADDRESS ON FILE
CRESPO SANTIAGO, JORGE J         ADDRESS ON FILE
CRESPO SANTIAGO, JUAN            ADDRESS ON FILE
CRESPO SANTIAGO, MARIA           ADDRESS ON FILE
CRESPO SANTIAGO, NEFTALI         ADDRESS ON FILE
CRESPO SANTIAGO, PABLO           ADDRESS ON FILE
CRESPO SANTONI, ADELAIDA         ADDRESS ON FILE
CRESPO SANTONI, BIENVENIDO       ADDRESS ON FILE
CRESPO SANTONI, FRANCISCO        ADDRESS ON FILE
CRESPO SANTONI, MANUEL A         ADDRESS ON FILE
CRESPO SANTOS, ANGEL L           ADDRESS ON FILE
                                                                                                          AVE. MUÑOZ RIVERA
CRESPO SANTOS, FELICITA          LCDO. IVAN GARAU DIAZ     COND. EL CENTRO I                  SUITE 219   #500                HATO REY     PR      00918
CRESPO SANTOS, FRANCES           ADDRESS ON FILE
CRESPO SANTOS, JOSE              ADDRESS ON FILE
CRESPO SANTOS, ZORAIDA           ADDRESS ON FILE
CRESPO SEDA, ANTONIO             ADDRESS ON FILE
CRESPO SEDA, ISRAEL              ADDRESS ON FILE
Crespo Sepulveda, Celedonio      ADDRESS ON FILE
CRESPO SEPULVEDA, CELEDONIO T.   ADDRESS ON FILE
CRESPO SEPULVEDA, EDUARDO        ADDRESS ON FILE
CRESPO SEPULVEDA, EDWIN          ADDRESS ON FILE




                                                                               Page 1884 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1885 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO SERRANO, AURELIO         ADDRESS ON FILE
CRESPO SERRANO, CARMEN M        ADDRESS ON FILE
CRESPO SERRANO, MYRIAM          ADDRESS ON FILE
CRESPO SOLANO, CARMEN E.        ADDRESS ON FILE
CRESPO SOLER, EDWIN             ADDRESS ON FILE
CRESPO SOLIS, YAHAIRA           ADDRESS ON FILE
Crespo Sosa, Jesus M            ADDRESS ON FILE
CRESPO SOTO, ANTONIO            ADDRESS ON FILE
CRESPO SOTO, ARNALDO            ADDRESS ON FILE
CRESPO SOTO, JOSE M.            ADDRESS ON FILE
CRESPO SOTO, NESTOR             ADDRESS ON FILE
Crespo Soto, Pedro Rafael       ADDRESS ON FILE
CRESPO SOTO, ROSA               ADDRESS ON FILE
CRESPO SOTO, SOL A              ADDRESS ON FILE
Crespo Soto, Walter             ADDRESS ON FILE
CRESPO SOTO, ZULEMIA            ADDRESS ON FILE
CRESPO SUAREZ, MARIA            ADDRESS ON FILE
CRESPO TALAVERA, DILIANA        ADDRESS ON FILE
CRESPO TARDY, NELSON            ADDRESS ON FILE
CRESPO TARDY,NELSON             ADDRESS ON FILE
CRESPO TEJADA, ELIAS.           ADDRESS ON FILE
CRESPO TIRADO, NELIDA           ADDRESS ON FILE
CRESPO TIZOL, REINALDO E        ADDRESS ON FILE
CRESPO TOLEDO, NORMA I          ADDRESS ON FILE
CRESPO TORRES, AIDA E           ADDRESS ON FILE
CRESPO TORRES, ALFONSO          ADDRESS ON FILE
Crespo Torres, Annette          ADDRESS ON FILE
CRESPO TORRES, CARLOS J.        ADDRESS ON FILE
CRESPO TORRES, EDIA             ADDRESS ON FILE
CRESPO TORRES, HILDA M          ADDRESS ON FILE
CRESPO TORRES, JOSE             ADDRESS ON FILE
CRESPO TORRES, JUAN             ADDRESS ON FILE
CRESPO TORRES, KEYLA            ADDRESS ON FILE
CRESPO TORRES, LORRAINE M       ADDRESS ON FILE
CRESPO TORRES, LUZ M            ADDRESS ON FILE
CRESPO TORRES, LUZ Y.           ADDRESS ON FILE
CRESPO TORRES, MARIA S          ADDRESS ON FILE
CRESPO TORRES, MYRIAM N         ADDRESS ON FILE
CRESPO TORRES, NILDA M          ADDRESS ON FILE
CRESPO TORRES, NITZA            ADDRESS ON FILE
CRESPO TORRES, RUBEN            ADDRESS ON FILE
CRESPO TORRES, SABRINA          ADDRESS ON FILE
CRESPO TORRES, WALLESCA         ADDRESS ON FILE
Crespo Tosado, Julio E.         ADDRESS ON FILE
CRESPO TOSADO, ZAIDA I          ADDRESS ON FILE
CRESPO TRAVERSO,MARIBEL         ADDRESS ON FILE
CRESPO TRAVERZO, EVELIO         ADDRESS ON FILE
CRESPO TRINIDAD, AIDA L         ADDRESS ON FILE
CRESPO TRINIDAD, NANCY          ADDRESS ON FILE
CRESPO TRUJILLO, MELISSA        ADDRESS ON FILE
CRESPO UGARTE, CASIMIRO         ADDRESS ON FILE
CRESPO VADI, EVELYN I           ADDRESS ON FILE
CRESPO VALEDON, DAMARIS         ADDRESS ON FILE
CRESPO VALENTIN, ANA            ADDRESS ON FILE
CRESPO VALENTIN, ANCIS J.       ADDRESS ON FILE
Crespo Valentin, Aurea          ADDRESS ON FILE
CRESPO VALENTIN, AWILDA         ADDRESS ON FILE
Crespo Valentin, Eddie Rafael   ADDRESS ON FILE
CRESPO VALENTIN, ELIAS          ADDRESS ON FILE
CRESPO VALENTIN, ELIZABETH      ADDRESS ON FILE




                                                                            Page 1885 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1886 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRESPO VALENTIN, RAQUEL        ADDRESS ON FILE
CRESPO VALENTIN, SANDRA        ADDRESS ON FILE
CRESPO VALLE, JIMMIE           ADDRESS ON FILE
CRESPO VARELA, CARMEN M.       ADDRESS ON FILE
CRESPO VARGAS, ABEL            ADDRESS ON FILE
CRESPO VARGAS, BLANCA R        ADDRESS ON FILE
CRESPO VARGAS, CARMEN          ADDRESS ON FILE
CRESPO VARGAS, DENNY I.        ADDRESS ON FILE
Crespo Vargas, Glorivette      ADDRESS ON FILE
CRESPO VARGAS, HECTOR M.       ADDRESS ON FILE
CRESPO VARGAS, JAVIER          ADDRESS ON FILE
CRESPO VARGAS, KENNETH         ADDRESS ON FILE
CRESPO VARGAS, LUIS A          ADDRESS ON FILE
CRESPO VARGAS, LUZ             ADDRESS ON FILE
CRESPO VARGAS, MADELINE        ADDRESS ON FILE
CRESPO VARGAS, MIGUEL A.       ADDRESS ON FILE
CRESPO VARGAS, PABLO L         ADDRESS ON FILE
CRESPO VARGAS, PABLO L         ADDRESS ON FILE
CRESPO VARGAS, RAMONITA        ADDRESS ON FILE
Crespo Vazquez, Adalino        ADDRESS ON FILE
CRESPO VAZQUEZ, ANGEL          ADDRESS ON FILE
CRESPO VAZQUEZ, ANTONIO        ADDRESS ON FILE
CRESPO VAZQUEZ, AUGUSTO        ADDRESS ON FILE
CRESPO VAZQUEZ, EDWIN          ADDRESS ON FILE
CRESPO VAZQUEZ, JOSE L         ADDRESS ON FILE
CRESPO VAZQUEZ, JOSUE          ADDRESS ON FILE
CRESPO VAZQUEZ, MAGALI         ADDRESS ON FILE
CRESPO VAZQUEZ, MARIA DE LOS   ADDRESS ON FILE
CRESPO VEGA, ANANISSIE         ADDRESS ON FILE
CRESPO VEGA, ANGELICA          ADDRESS ON FILE
CRESPO VEGA, JOSE              ADDRESS ON FILE
CRESPO VEGA, NORALISSIE        ADDRESS ON FILE
CRESPO VEGA, RAFAEL            ADDRESS ON FILE
CRESPO VEGA, VICTOR A          ADDRESS ON FILE
CRESPO VELAZQUEZ, ANTONIO      ADDRESS ON FILE
Crespo Velez, Jeremias         ADDRESS ON FILE
CRESPO VELEZ, JOSE D.          ADDRESS ON FILE
CRESPO VELEZ, YARITZA          ADDRESS ON FILE
CRESPO VELEZ, ZIRAIDA          ADDRESS ON FILE
CRESPO VENDRELL, CARMEN G      ADDRESS ON FILE
CRESPO VENDRELL, PEDRO J.      ADDRESS ON FILE
CRESPO VENDRELL, SAMUEL        ADDRESS ON FILE
CRESPO VICENS, GERARDO         ADDRESS ON FILE
CRESPO VIERA, BRYANT           ADDRESS ON FILE
CRESPO VIGIO, MAGDA            ADDRESS ON FILE
CRESPO VILLALOBOS, NIDZA       ADDRESS ON FILE
CRESPO VILLANUEVA, ALLAN       ADDRESS ON FILE
CRESPO VILLARRUBIA, NOEL       ADDRESS ON FILE
CRESPO VILLARRUBIA, YAMIRY     ADDRESS ON FILE
CRESPO VILLEGAS, REYNALDI      ADDRESS ON FILE
CRESPO VILLEGAS, REYNARDI      ADDRESS ON FILE
CRESPO VILLEGAS, zuleyma       ADDRESS ON FILE
CRESPO VIRELLA, MARIA E        ADDRESS ON FILE
CRESPO VIRELLA, NAYDA M        ADDRESS ON FILE
Crespo Virella, Nayda M        ADDRESS ON FILE
CRESPO YULFO, NELIS M          ADDRESS ON FILE
CRESPO ZAMORA MD, ROLANDO      ADDRESS ON FILE
CRESPO ZAPATA, MAYRA           ADDRESS ON FILE
CRESPO ZAYAS, KATHIA M         ADDRESS ON FILE
CRESPO, ALEJANDRO              ADDRESS ON FILE




                                                                           Page 1886 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 1887 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                           Address1                         Address2                                    Address3            Address4   City           State   PostalCode   Country
CRESPO, ANDRES                          ADDRESS ON FILE
CRESPO, ANGEL                           ADDRESS ON FILE
CRESPO, JAIME                           ADDRESS ON FILE
CRESPO, JOHANNA                         ADDRESS ON FILE
CRESPO, JOSE A.                         ADDRESS ON FILE
CRESPO, JOSE M.                         ADDRESS ON FILE
CRESPO, SANTIAGO                        ADDRESS ON FILE
CRESPO, WANDA I                         ADDRESS ON FILE
CRESPO, ZOBEIDA                         ADDRESS ON FILE
CRESPO,LUIS E.                          ADDRESS ON FILE
CRESPO,LUIS O.                          ADDRESS ON FILE
CRESPOROMAN, HECTOR J                   ADDRESS ON FILE
CRESPOSANTIAGO, CIRILO                  ADDRESS ON FILE
CRESPOSANTIAGO, PABLO                   ADDRESS ON FILE
CRESTCON INTERNATIONAL P R CORP         276 ELEONOR ROOSEVELT STATION                                                                               SAN JUAN       PR      00918
CRESTLINE                               70 MT. HOPE AVENUE               PO BOX 2027                                                                LEWISTON       ME      04241
CRESTLINE CO INC                        PO BOX 712151                                                                                               CINCINNATI     OH      45271‐2151
CRESTVIEW HEALTH CENTER                 MEDICAL RECORDS                  4100 S FERDON BLVD STE C 5                                                 CRESTVIEW      FL      32536
CREUS DEL VALLE, ANTONIO                ADDRESS ON FILE
CREW 919                                HC 01 BOX 13490                                                                                             RIO GRANDE     PR      00745
CREXENDO BUSINESS SOLUTIONS, INC.       1502 MARTIN TRAVIESO ST.                                                                                    SAN JUAN       PR      00911‐1938
                                                                                                                     920 CARR 175 APTO
CREZCO CON AMOR CLINICA ESPECIALIZADA   EN EL DESARROLLO                 COND VISTA SERENA                           1501                           SAN JUAN       PR      00926
CRG INTERNATIONAL CORP                  P O BOX 755                                                                                                 TOA BAJA       PR      00951
CRIADERO DE FLOR DE MAGA                171 AVE MUNOZ RIVERA             W STE 1                                                                    CAMUY          PR      00627
Criado Bonilla, Dolybeth                ADDRESS ON FILE
CRIADO BONILLA, DOLYBETH                ADDRESS ON FILE
CRIADO COLON, DOEL                      ADDRESS ON FILE
CRIADO COLON, MARJORIE                  ADDRESS ON FILE
CRIADO CRIADO, CARMEN N.                ADDRESS ON FILE
CRIADO CRIADO, MANUEL                   ADDRESS ON FILE
CRIADO CRIADO, VICTOR M                 ADDRESS ON FILE
CRIADO GARCIA, HIRAM J                  ADDRESS ON FILE
CRIADO GRACIA, FRANCISCO J.             ADDRESS ON FILE
CRIADO LUNA, JOSE A                     ADDRESS ON FILE
CRIADO MARRERO, GEORGINA                ADDRESS ON FILE
CRIADO MARRERO, HAYDEE                  ADDRESS ON FILE
CRIADO MARRERO, MARANGELIE              ADDRESS ON FILE
CRIADO MEDINA, EDGARDO                  ADDRESS ON FILE
Criado Ortiz, Juan C                    ADDRESS ON FILE
CRIADO SANTIAGO, AUREA E                ADDRESS ON FILE
CRIADO VALLADARES, JOSE                 ADDRESS ON FILE
CRICKEE GONZALEZ, ANTHONY A.            ADDRESS ON FILE
CRIM V ELA, OGP, HACIENDA               LCDO. ROBERTO BONANO RODRIGUEZ   AVE.INCIPAL                                 URB. BARALT I‐31               FAJARDO        PR      00738
CRIMAVI , INC.                          P.O. BOX 29759                                                                                              SAN JUAN       PR      00924‐0000
CRIME SCENE ENVIROCLEAN                 PO BOX 3846                                                                                                 MAYAGUEZ       PR      00681
CRIMILDA MUNIZ RAMOS                    ISABELA PUERTO RICO              CALLE CANARIO BZN #130                      SECTOR CAPIRO                  ISABELA        PR      00662
CRIMILDA SOTO LERON                     PO BOX 627                                                                                                  AGUADILLA      PR      00605
CRIMILDA TOLEDO TOLEDO                  PO BOX 70184                                                                                                SAN JUAN       PR      00936
CRIMILDA TORRES SANDOVAL                CALLE SAN RAFAEL 225             BO LA SALUD                                                                MAYAGUEZ       PR      00680
CRIOLLO HERRERA, RHUDY                  ADDRESS ON FILE
CRIOLLO OQUENDO, AGUSTIN                ADDRESS ON FILE
CRIOLLO READY MIX INC                   PO BOX 1305                                                                                                 GURABO         PR      00778‐1305
CRIOLLOS BUFFET / ANGEL ALICEA          PO BOX 774                                                                                                  LARES          PR      00669
CRIOLLOS DE CAGUAS F C INC              PO BOX 6868                                                                                                 CAGUAS         PR      00726‐6868
CRIOLLOS DE PUERTO RICO INC             LA SIERRA ALTA                   8 GAVIOTA                                                                  SAN JUAN       PR      00926
CRIPSIN ESCALERA, ESTHER                ADDRESS ON FILE
CRISALLY COLLADO MIRANDA                URB VISTA DEL RIO                C 17                                                                       ANASCO         PR      00610
CRISANTA COLON GARCIA                   ADDRESS ON FILE
CRISANTA DAVILA RAMOS                   ADDRESS ON FILE




                                                                                                      Page 1887 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1888 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                     Address1                        Address2                     Address3   Address4   City              State   PostalCode   Country
CRISANTA GONZALEZ SEDA            ADDRESS ON FILE
CRISCUOLO CARLE, RODOLFO          ADDRESS ON FILE
CRISDAL, INC                      PO BOX 810180                                                                      CAROLINA          PR      00981
CRISDEL VELAZQUEZ                 ADDRESS ON FILE
CRISEM CORP                       262 CATALUNA                                                                       SAN JUAN          PR      00920
CRISIS PREVENTION INSTITUTE INC   10850 W. PARK PLACE SUITE 600                                                      MILWAUKEE         WI      53224
CRISMELI HERNANDEZ ROSARIO        ADDRESS ON FILE
CRISNA INC                        RR 1 BOX 37209                                                                     SAN SEBASTIAN     PR      00685‐9102
CRISOL INC                        URB RIBERAS DEL RIO             B48 CALLE 8                                        BAYAMON           PR      00959‐8818
CRISOPTIMO DIAZ, EMILIO           ADDRESS ON FILE
CRISOPTIMO MEDINA, EUDUWIGIS      ADDRESS ON FILE
CRISOSTOMO REVERON, ARGENTINA     ADDRESS ON FILE
CRISOSTOMO W CRUZ RAMOS           ADDRESS ON FILE
CRISPIN ALVAREZ, IRIS V           ADDRESS ON FILE
CRISPIN CABELLO, ZORAIDA          ADDRESS ON FILE
CRISPIN DE JESUS, EVA             ADDRESS ON FILE
CRISPIN DIAZ, KENIA               ADDRESS ON FILE
Crispin Diaz, Marcos              ADDRESS ON FILE
CRISPIN ESCALERA, DAVID           ADDRESS ON FILE
CRISPIN ESCALERA, MIGUEL A.       ADDRESS ON FILE
CRISPIN ESCALERA, NOEMI           ADDRESS ON FILE
CRISPIN ESCALERA, RITA            ADDRESS ON FILE
CRISPIN FELIX, IRMA I             ADDRESS ON FILE
CRISPIN FRANQUI, MARIA A          ADDRESS ON FILE
CRISPIN FRANQUIS, SARA            ADDRESS ON FILE
Crispin Lopez, Abimael            ADDRESS ON FILE
Crispin Lopez, Carlos Damian      ADDRESS ON FILE
CRISPIN LOPEZ, MADELINE           ADDRESS ON FILE
CRISPIN LOPEZ, MADELINE           ADDRESS ON FILE
CRISPIN MELENDEZ, MARIA M         ADDRESS ON FILE
CRISPIN MOJICA, LIZVETTE          ADDRESS ON FILE
CRISPIN MORALES, ANA L.           ADDRESS ON FILE
CRISPIN MORALES, NEFTALI          ADDRESS ON FILE
CRISPIN PACHECO, CYNTHIA D        ADDRESS ON FILE
CRISPIN PARRILLA, AWILDA          ADDRESS ON FILE
CRISPIN RAMIREZ, JUAN J           ADDRESS ON FILE
CRISPIN RAMIREZ, LESBIA M         ADDRESS ON FILE
Crispin Reyes, Diana              ADDRESS ON FILE
CRISPIN REYES, DIANA              ADDRESS ON FILE
CRISPIN REYES, MARISOL            ADDRESS ON FILE
CRISPIN REYES, NANCY              ADDRESS ON FILE
CRISPIN RIVERA, CARLOS            ADDRESS ON FILE
CRISPIN RIVERA, MARISOL           ADDRESS ON FILE
CRISPIN RODRIGUEZ, DAISY          ADDRESS ON FILE
CRISPIN SAMBOLIN, NAYKA           ADDRESS ON FILE
CRISPIN SANBOLIN, ADELAIDA        ADDRESS ON FILE
CRISPIN TORRES, CHARISSA          ADDRESS ON FILE
CRISPIN TORRES, CHARISSA          ADDRESS ON FILE
CRISPIN TORRES, MARITZA           ADDRESS ON FILE
CRISPIN, GILLINETTE               ADDRESS ON FILE
CRISPULO PACHECO ROSADO           ADDRESS ON FILE
CRISSY Z ZORRILLA MALDONADO       ADDRESS ON FILE
CRIST & JOHN RECYCLERS,INC.       PO.BOX 1208                                                                        AGUADA            PR      00120
CRISTAL DEL MAR SANTOS ROSA       ADDRESS ON FILE
CRISTAL FELIX ROJAS               ADDRESS ON FILE
CRISTAL GOMEZ MILIAM              ADDRESS ON FILE
CRISTAL M FAS IZQUIERDO           ADDRESS ON FILE
CRISTAL M ROSADO SANTIAGO         ADDRESS ON FILE
CRISTAL RUIZ FUSTER               ADDRESS ON FILE
CRISTAL S. CRUZ PEREZ             ADDRESS ON FILE




                                                                                Page 1888 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1889 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                                 Address2                                    Address3   Address4   City                State   PostalCode   Country
CRISTAL SOTO MUJICA                     ADDRESS ON FILE
CRISTALERIA AMERICANA                   BOX 8925                                                                                                   BAYAMON             PR      00621
CRISTALERIA BORINQUEN                   AVE. BORINQUEN 2022 BO. OBRERO                                                                             SANTURCE            PR      00915
CRISTALERIA CAMPO RICO                  COUNTRY CLUB                             AVE CAMPO RICO 789                                                SAN JUAN            PR      00924
CRISTALERIA CHEVRES                     AVE LOMAS VERDES IF 49 URB. ROYAL PALM                                                                     BAYAMON             PR      00956
CRISTALERIA CORSINO                     52 CALLE MUNOZ RIVERA                                                                                      NAGUABO             PR      00718
CRISTALERIA DEL ESTE                    CALLE DIEPPA 355                                                                                           CAPARRA TERRACE     PR      00921
CRISTALERIA DEL SUR, INC.               CALLE VILLA #153                                                                                           PONCE               PR      00731‐0000
CRISTALERIA MI PUEBLO                   579 PONTEZUELA AVE                                                                                         VISTA MAR           PR      00983
CRISTALERIA NITO JR                     CC 19 AVE SANTA JUANITA                                                                                    BAYAMON             PR      00956
CRISTALERIA PINERO                      CAPARRA TERRACE                          1560 A AVE AMERICO MIRANDA                                        SAN JUAN            PR      00921
CRISTALEX INC                           PO BOX 2654                                                                                                BAYAMON             PR      00960‐2654
CRISTALI AYALA PAGAN                    ADDRESS ON FILE
CRISTALIA                               CALL BOX 51989                                                                                             TOA BAJA            PR      00950‐1989
CRISTALIA ACQUISITION CORP              P O BOX 9046                                                                                               CAROLINA            PR      00988
CRISTALIA ACQUISITION, CORP             PO BOX 815002                                                                                              CAROLINA            PR      00981‐5002
CRISTALIA PREMIUM WATER                 PO BOX 9046                                                                                                CAROLINA            PR      00988‐0000
CRISTALUM                               PO. BOX 361780                                                                                             SAN JUAN            PR      00936‐1780
CRISTANA CRESPO                         ADDRESS ON FILE
CRISTHIAN A RIVERA                      ADDRESS ON FILE
CRISTHIAN DE LEON PRIETO                ADDRESS ON FILE
CRISTHIAN M FIGUEROA VELEZ              ADDRESS ON FILE
CRISTHIAN MARCIAL HERNANDEZ             ADDRESS ON FILE
CRISTHIAN MORALES GONZALEZ              ADDRESS ON FILE
CRISTHOPHER MATIAS SERRANO              ADDRESS ON FILE
CRISTIAN A CARRETERO RODRIGUEZ          ADDRESS ON FILE
CRISTIAN A SANCHEZ RIVERA               ADDRESS ON FILE
CRISTIAN A TORRES VARGAS                ADDRESS ON FILE
CRISTIAN A VEGA COLON                   ADDRESS ON FILE
CRISTIAN ADAMOWICH DBA PRIXMA ADVERTISINTREASURE POINT                           42 JASPER ST                                                      VEGA ALTA           PR      00692
CRISTIAN ALEXIS VILLAFANE SANTIAGO      ADDRESS ON FILE
CRISTIAN ALVARADO INGLES                ADDRESS ON FILE
CRISTIAN ALVAREZ PEREZ                  ADDRESS ON FILE
CRISTIAN AYALA CENTENO                  ADDRESS ON FILE
CRISTIAN CORDERO PEREZ                  ADDRESS ON FILE
CRISTIAN CRESPO                         ADDRESS ON FILE
CRISTIAN D SANTIAGO TORRES              ADDRESS ON FILE
CRISTIAN DIAZ ALAMO                     ADDRESS ON FILE
CRISTIAN E COLON SANTIAGO               ADDRESS ON FILE
CRISTIAN E MARRERO VAZQUEZ              ADDRESS ON FILE
CRISTIAN E. MARREEO VAZQUEZ             ADDRESS ON FILE
CRISTIAN ECHEVARRIA DAMIAN              ADDRESS ON FILE
CRISTIAN G SANTIAGO ROSADO              ADDRESS ON FILE
CRISTIAN GONZALEZ LOPEZ                 ADDRESS ON FILE
CRISTIAN I GUZMAN CORTES                ADDRESS ON FILE
CRISTIAN J AVILES BOSQUES               ADDRESS ON FILE
CRISTIAN J BAEZ RIVERA                  ADDRESS ON FILE
CRISTIAN J HERNANDEZ RIVERA             ADDRESS ON FILE
CRISTIAN J NIEVES BARROS                ADDRESS ON FILE
CRISTIAN J PEREZ CORTES                 ADDRESS ON FILE
CRISTIAN J RAMOS SANTIAGO               ADDRESS ON FILE
CRISTIAN J RODRIGUEZ PACHECO            ADDRESS ON FILE
CRISTIAN J TORRES LOPEZ                 ADDRESS ON FILE
CRISTIAN J VALENTIN MERCADO             ADDRESS ON FILE
CRISTIAN JORGE OLIVERAS                 ADDRESS ON FILE
CRISTIAN L NEGRON ACEVEDO               ADDRESS ON FILE
CRISTIAN MANUEL CARABALLO GARCIA        ADDRESS ON FILE
CRISTIAN MELENDEZ COLLAZO               ADDRESS ON FILE
CRISTIAN MIRANDA VELEZ                  ADDRESS ON FILE
CRISTIAN O CARRERO COLON                ADDRESS ON FILE




                                                                                                              Page 1889 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1890 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRISTIAN O COLLAZO VEGA                   ADDRESS ON FILE
CRISTIAN O CORCINO GONZALEZ               ADDRESS ON FILE
CRISTIAN O VELEZ CASTRO                   ADDRESS ON FILE
CRISTIAN OMAR GUZMAN CRUZ                 ADDRESS ON FILE
CRISTIAN OMAR ROJAS PENA                  ADDRESS ON FILE
CRISTIAN PAGAN COLON                      ADDRESS ON FILE
CRISTIAN QUINONES FIGUEROA                ADDRESS ON FILE
CRISTIAN R CINTRON FERNANDEZ              ADDRESS ON FILE
CRISTIAN R MARRERO DIAZ                   ADDRESS ON FILE
CRISTIAN R MERCADO QUINONES               ADDRESS ON FILE
CRISTIAN R ROMERO CASADO                  ADDRESS ON FILE
CRISTIAN RIVERA GONZALEZ                  ADDRESS ON FILE
CRISTIAN RIVERA SANTIAGO                  ADDRESS ON FILE
CRISTIAN RODRIGUEZ ALBIZU                 ADDRESS ON FILE
CRISTIAN SEBASTIAN RIOS OCASIO            ADDRESS ON FILE
CRISTIAN SEBASTIAN RIOS OCASIO            ADDRESS ON FILE
CRISTIAN SEDA RODRIGUEZ                   ADDRESS ON FILE
CRISTIAN SERRANO CANCEL                   ADDRESS ON FILE
CRISTIAN SIMON COLON RIVERA               ADDRESS ON FILE
CRISTIAN SIMON COLON RIVERA               ADDRESS ON FILE
CRISTIAN TORRES GONZALEZ                  ADDRESS ON FILE
CRISTIAN VARGAS QUINONEZ                  ADDRESS ON FILE
CRISTIAN VELAZQUEZ FERNANDEZ              ADDRESS ON FILE
CRISTIAN VERA MERCADO                     ADDRESS ON FILE
CRISTIAN W VARGAS SUAREZ                  ADDRESS ON FILE
CRISTIAN X ALONSO GARCIA                  ADDRESS ON FILE
CRISTIAN X RIVERA ORTIZ                   ADDRESS ON FILE
CRISTIAN, CASTELLANO                      ADDRESS ON FILE
CRISTIANO RIVERA COLLAZO                  ADDRESS ON FILE
CRISTIE M. PEREZ RODRIGUEZ                ADDRESS ON FILE
CRISTIE ONEILL ALICEA                     ADDRESS ON FILE
CRISTIN GONZALEZ SANTIAGO                 ADDRESS ON FILE
CRISTINA A CASTILLO ORTIZ                 ADDRESS ON FILE
CRISTINA ABREU JIMENEZ                    ADDRESS ON FILE
CRISTINA ALEXANDRA FRONTERA VICENTE       ADDRESS ON FILE
CRISTINA ALVARADO NIEVES                  ADDRESS ON FILE
CRISTINA AQUINO QUINONEZ                  ADDRESS ON FILE
CRISTINA AVALO / RICARDO SERRANO          ADDRESS ON FILE
CRISTINA BADIAS DIEZMURO                  ADDRESS ON FILE
CRISTINA BADIAS DIEZMURO                  ADDRESS ON FILE
CRISTINA BEATRIZ MUNOZ ALONSO             ADDRESS ON FILE
CRISTINA BLANCOVICH RAMOS                 ADDRESS ON FILE
CRISTINA BORRERO RAMOS,FELIX A SANCHEZ,   ADDRESS ON FILE
CRISTINA C SENA PEREZ                     ADDRESS ON FILE
CRISTINA C. SENA PEREZ                    ADDRESS ON FILE
CRISTINA CARABALLO COLON                  ADDRESS ON FILE
CRISTINA CARRION BANUCHI                  ADDRESS ON FILE
CRISTINA CASTILLO MATOS                   ADDRESS ON FILE
CRISTINA COLON DEL TORO                   ADDRESS ON FILE
CRISTINA COLON NUNEZ                      ADDRESS ON FILE
CRISTINA COLON VILLEGAS                   ADDRESS ON FILE
CRISTINA CORDOVA PONCE                    ADDRESS ON FILE
CRISTINA COSTA NAZARIO                    ADDRESS ON FILE
CRISTINA CUBERO SAMOT                     ADDRESS ON FILE
CRISTINA CUEVAS ROSADO                    ADDRESS ON FILE
CRISTINA D TORRES CINTRON                 ADDRESS ON FILE
CRISTINA DE JESUS MARQUEZ                 ADDRESS ON FILE
CRISTINA DEL MAR HEREDIA ANDUJAR          ADDRESS ON FILE
CRISTINA DEL R RAMIREZ PADILLA            ADDRESS ON FILE
CRISTINA DEL VALLE                        ADDRESS ON FILE




                                                                                      Page 1890 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1891 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRISTINA DEL VALLE OLIVERAS            ADDRESS ON FILE
CRISTINA DEL VALLE SAEZ                ADDRESS ON FILE
CRISTINA DELGADO MARTINEZ              ADDRESS ON FILE
CRISTINA DIAZ CURBELO                  ADDRESS ON FILE
CRISTINA DIAZ MARRERO                  ADDRESS ON FILE
CRISTINA DOMINICCI BERMUDEZ            ADDRESS ON FILE
CRISTINA E FEBUS COLON                 ADDRESS ON FILE
CRISTINA E MALDONADO VAZQUEZ           ADDRESS ON FILE
CRISTINA E NUNEZ PELLOT                ADDRESS ON FILE
CRISTINA E PINEIRO ARANDA              ADDRESS ON FILE
CRISTINA E. LORENZO PUESAN             ADDRESS ON FILE
CRISTINA FELICIANO MATOS               ADDRESS ON FILE
CRISTINA FELICIANO MATOS               ADDRESS ON FILE
CRISTINA FIGUEROA ORTIZ                ADDRESS ON FILE
CRISTINA FIGUEROA ORTIZ                ADDRESS ON FILE
CRISTINA FIGUEROA QUEVEDO              ADDRESS ON FILE
CRISTINA FLORES FELICIANO              ADDRESS ON FILE
CRISTINA FLORES GARCIA                 ADDRESS ON FILE
CRISTINA G PELLOT CELICIA / TEEFRANS   PO BOX 141601                                                                    ARECIBO      PR      0064141601
CRISTINA G VEGA VELEZ                  ADDRESS ON FILE
CRISTINA GERVACHO SANTANA              ADDRESS ON FILE
CRISTINA GOMEZ MALDONADO               ADDRESS ON FILE
CRISTINA GONZALEZ LOPEZ                ADDRESS ON FILE
CRISTINA GONZALEZ RODRIGUEZ            ADDRESS ON FILE
CRISTINA GUZMAN APELLANIZ              ADDRESS ON FILE
CRISTINA GUZMAN APELLANIZ              ADDRESS ON FILE
CRISTINA HERNANDEZ CARTAGENA           ADDRESS ON FILE
CRISTINA HERNANDEZ GONZALEZ            ADDRESS ON FILE
CRISTINA I SERRANO TORRES              ADDRESS ON FILE
CRISTINA I SERRANO TORRES              ADDRESS ON FILE
CRISTINA I. ORTIZ GARCIA               ADDRESS ON FILE
CRISTINA I. SANTIAGO RAMIREZ           ADDRESS ON FILE
CRISTINA J GALARZA AYALA               ADDRESS ON FILE
CRISTINA JIMENEZ APONTE                ADDRESS ON FILE
CRISTINA L ALVAREZ AQUINO              ADDRESS ON FILE
CRISTINA L MARTINEZ GONZALEZ           ADDRESS ON FILE
CRISTINA L MOLINA JORGE                ADDRESS ON FILE
CRISTINA L RODRIGUEZ JIRAU             ADDRESS ON FILE
CRISTINA L VILLAFANE VILLALOBOS        ADDRESS ON FILE
CRISTINA L. ALVAREZ AQUINO             ADDRESS ON FILE
CRISTINA LEE CORREA SIERRA             ADDRESS ON FILE
CRISTINA LOPEZ GONZALEZ                ADDRESS ON FILE
CRISTINA LORENZO PUESAN                ADDRESS ON FILE
CRISTINA M ABELLA DIAZ                 ADDRESS ON FILE
CRISTINA M DELIZ GONZALEZ              ADDRESS ON FILE
CRISTINA M GONZALEZ BARRETO            ADDRESS ON FILE
CRISTINA M GONZALEZ MENDEZ             ADDRESS ON FILE
CRISTINA M LOPEZ                       ADDRESS ON FILE
CRISTINA M MALDONADO MORALES           ADDRESS ON FILE
CRISTINA M MASSA ORTIZ                 ADDRESS ON FILE
CRISTINA M MORALES BARROSO             ADDRESS ON FILE
CRISTINA M MORALES CRUZ                ADDRESS ON FILE
CRISTINA M MOREIRA FONTANEZ            ADDRESS ON FILE
CRISTINA M ORTIZ GOMEZ                 ADDRESS ON FILE
CRISTINA M PEREZ BRUGMAN               ADDRESS ON FILE
CRISTINA M RIVERA                      ADDRESS ON FILE
CRISTINA M. MIRANDA PALACIOS           ADDRESS ON FILE
Cristina Macosay Mendez                ADDRESS ON FILE
CRISTINA MACOSSAY MENDEZ/H. BETZAEL    ADDRESS ON FILE
CRISTINA MANANA HIDALGO                ADDRESS ON FILE




                                                                                   Page 1891 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1892 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRISTINA MARTINEZ Y MIRTA M. RODRIGUEZ   ADDRESS ON FILE
CRISTINA MENDEZ BONILLA                  ADDRESS ON FILE
CRISTINA MENDEZ RUIZ                     ADDRESS ON FILE
CRISTINA MUNDO TORRES                    ADDRESS ON FILE
CRISTINA N HERNANDEZ ALVARADO            ADDRESS ON FILE
CRISTINA NIEVES NU¥EZ                    ADDRESS ON FILE
CRISTINA OROZCO GONZALEZ                 ADDRESS ON FILE
CRISTINA ORTEGA PINEIRO                  ADDRESS ON FILE
CRISTINA ORTIZ ESFERAS                   ADDRESS ON FILE
CRISTINA ORTIZ FUENTES                   ADDRESS ON FILE
CRISTINA ORTIZ GERENA                    ADDRESS ON FILE
CRISTINA ORTIZ ORTIZ                     ADDRESS ON FILE
CRISTINA P CABRERA JUSINO                ADDRESS ON FILE
CRISTINA P COLON GUTIERREZ               ADDRESS ON FILE
CRISTINA PAGAN ADAMES                    ADDRESS ON FILE
CRISTINA PEREA NIEVES                    ADDRESS ON FILE
CRISTINA PEREZ AVILES                    ADDRESS ON FILE
CRISTINA PEREZ MARTINEZ                  ADDRESS ON FILE
CRISTINA PEREZ NERIS                     ADDRESS ON FILE
CRISTINA PINTO / VICENTE A QUINONEZ      ADDRESS ON FILE
CRISTINA R. CARMENATTU RODRIGUEZ         ADDRESS ON FILE
CRISTINA RIOS MENA                       ADDRESS ON FILE
CRISTINA RIVERA FIGUEROA                 ADDRESS ON FILE
CRISTINA RIVERA MALDONADO                ADDRESS ON FILE
CRISTINA RIVERA RIVERA                   ADDRESS ON FILE
CRISTINA RODRIGUEZ NATALI                ADDRESS ON FILE
CRISTINA ROSARIO IRIZARRY                ADDRESS ON FILE
CRISTINA S DOMENECH SOSA                 ADDRESS ON FILE
CRISTINA S VAZQUEZ RIVERA                ADDRESS ON FILE
CRISTINA SANCHEZ GALLARDO                ADDRESS ON FILE
CRISTINA SANCHEZ TORRES                  ADDRESS ON FILE
CRISTINA SANTIAGO, IRAIDA                ADDRESS ON FILE
CRISTINA SANTOS, MARIA                   ADDRESS ON FILE
CRISTINA SEPULVEDA                       ADDRESS ON FILE
CRISTINA SOLER FONTANEZ                  ADDRESS ON FILE
CRISTINA SOLIVAN SANCHEZ                 ADDRESS ON FILE
CRISTINA T CABRERA BARROS                ADDRESS ON FILE
CRISTINA TAVALES LOPEZ                   ADDRESS ON FILE
CRISTINA TORRES AYALA                    ADDRESS ON FILE
CRISTINA TORRES AYALA                    ADDRESS ON FILE
CRISTINA TORRES DIAZ                     ADDRESS ON FILE
CRISTINA TORRES FIGUEROA                 ADDRESS ON FILE
CRISTINA TORRES LEBRON                   ADDRESS ON FILE
CRISTINA V LEBRON ARROYO Y SANTOS A      ADDRESS ON FILE
CRISTINA V RAMIREZ SOTO                  ADDRESS ON FILE
CRISTINA VALCARCEL DIAZ                  ADDRESS ON FILE
CRISTINA VÁZQUEZ GARAY                   LCDA. YARLENE JIMENEZ     PMB 291 #1353                    RD. 19                GUAYNABO     PR      00966‐2700
CRISTINA VEGA NIEVES                     ADDRESS ON FILE
CRISTINA VELAZQUEZ PACHECO               ADDRESS ON FILE
CRISTINE I MATOS PAGAN                   ADDRESS ON FILE
CRISTINE MARIE SANTIAGO MONTALVO         ADDRESS ON FILE
CRISTINE MENDEZ CASTANER                 ADDRESS ON FILE
CRISTINE RAMOS MARTINEZ                  ADDRESS ON FILE
CRISTINE RODRIGUEZ SANTANA               ADDRESS ON FILE
CRISTINO AGOSTO REYES                    ADDRESS ON FILE
CRISTINO ALCANTARA                       ADDRESS ON FILE
CRISTINO CRUZ COTTO                      ADDRESS ON FILE
CRISTINO D VERAS FONTAL                  ADDRESS ON FILE
CRISTINO GUZMAN CRUZ                     ADDRESS ON FILE
CRISTINO LOPEZ HANCE                     ADDRESS ON FILE




                                                                                     Page 1892 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1893 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                      Address1                                 Address2                      Address3   Address4        City      State   PostalCode   Country
CRISTINO MONTANEZ RODRIGUEZ        ADDRESS ON FILE
CRISTINO MUNIZ HERNANDEZ           ADDRESS ON FILE
CRISTINO PADILLA BERNARD           ADDRESS ON FILE
CRISTINO RIVERA GONZALEZ           ADDRESS ON FILE
CRISTINO RUIZ RIVERA               ADDRESS ON FILE
CRISTINO SANCHEZ ACEVEDO           ADDRESS ON FILE
CRISTINO TORRES DIAZ               ADDRESS ON FILE
CRISTIVANI COTTO CONCEPCION        ADDRESS ON FILE
CRISTO GUERRERO ORTIZ              ADDRESS ON FILE
CRISTO POBRE INC                   QUERELLANTE: JUAN DE DIOS VIDEAU‐SOLER   CRISTO POBRE                  INC.       PO BOX 334651   PONCE     PR      00733
CRISTOBAL A RAMOS GALVES           ADDRESS ON FILE
CRISTOBAL B LOMBA RIPOLL           ADDRESS ON FILE
CRISTOBAL BALAY, ALIXMARIE         ADDRESS ON FILE
CRISTOBAL BERRIOS DAVILA           ADDRESS ON FILE
CRISTOBAL BERRIOS, ENRIQUE         ADDRESS ON FILE
CRISTOBAL BRUNO                    ADDRESS ON FILE
CRISTOBAL CARTAGENA APONTE         ADDRESS ON FILE
CRISTOBAL CARTAGENA RAMOS          ADDRESS ON FILE
Cristobal Castillo, Ana M          ADDRESS ON FILE
CRISTOBAL CASTILLO, ELIGIO         ADDRESS ON FILE
CRISTOBAL CINTRON MALDONADO        ADDRESS ON FILE
CRISTOBAL COLLAZO ORTIZ            ADDRESS ON FILE
CRISTOBAL COLON FLORES             ADDRESS ON FILE
CRISTOBAL CRESPO, YARITZA          ADDRESS ON FILE
CRISTOBAL CRESPO, YARITZA          ADDRESS ON FILE
CRISTOBAL CUADRADO, GRISEL         ADDRESS ON FILE
CRISTOBAL DE JESUS BERRIOS         ADDRESS ON FILE
CRISTOBAL DE JESUS RAMOS           ADDRESS ON FILE
CRISTOBAL E ROUBERT OCASIO         ADDRESS ON FILE
CRISTOBAL FLORES CRUZ              ADDRESS ON FILE
CRISTOBAL FRANQUIZ, MANUEL         ADDRESS ON FILE
CRISTOBAL GONZALEZ, EFRAIN         ADDRESS ON FILE
CRISTOBAL JIMENEZ GONZALEZ         ADDRESS ON FILE
CRISTOBAL JIMENEZ VIDAL            ADDRESS ON FILE
CRISTOBAL LEON FORES               ADDRESS ON FILE
CRISTOBAL LLANOS NADAL             ADDRESS ON FILE
CRISTOBAL LUCIANO RODRIGUEZ        ADDRESS ON FILE
CRISTOBAL LUGO CAMACHO             ADDRESS ON FILE
CRISTOBAL MANGUAL SABALIER         ADDRESS ON FILE
CRISTOBAL MANSO SANTIAGO           ADDRESS ON FILE
CRISTOBAL MARTINEZ, SAIDETH        ADDRESS ON FILE
CRISTOBAL MARTINEZ, SAIDETH        ADDRESS ON FILE
CRISTOBAL MATOS, JOSE A            ADDRESS ON FILE
CRISTOBAL MATOS, JOSE AGUSTIN      ADDRESS ON FILE
CRISTOBAL MENDEZ                   ADDRESS ON FILE
CRISTOBAL MENDEZ, JOSE L.          ADDRESS ON FILE
CRISTOBAL MONTOYO, ENRIQUE         ADDRESS ON FILE
CRISTOBAL MONTOYO, ENRIQUE         ADDRESS ON FILE
CRISTOBAL MUNOZ                    ADDRESS ON FILE
CRISTOBAL ORTIZ ROMAN              ADDRESS ON FILE
CRISTOBAL ORTIZ, JOSE              ADDRESS ON FILE
CRISTOBAL ORTIZ, JOSE R.           ADDRESS ON FILE
CRISTOBAL PEREZ PEREZ              ADDRESS ON FILE
CRISTOBAL QUINONES BORRERO         ADDRESS ON FILE
CRISTOBAL RAMOS COLON              ADDRESS ON FILE
CRISTOBAL RAMOS SANCHEZ            ADDRESS ON FILE
CRISTOBAL RESTO / GLORIA ANDUJAR   ADDRESS ON FILE
CRISTOBAL RIVERA COLON             ADDRESS ON FILE
CRISTOBAL RIVERA RAMOS             ADDRESS ON FILE
CRISTOBAL RIVERA RAMOS             ADDRESS ON FILE




                                                                                           Page 1893 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 1894 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                            Address1                         Address2                                      Address3   Address4   City          State   PostalCode   Country
CRISTOBAL ROBLES RIVERA                  ADDRESS ON FILE
CRISTOBAL RODRIGUEZ PEREZ                ADDRESS ON FILE
CRISTOBAL RODRIGUEZ, KEVIN               ADDRESS ON FILE
CRISTOBAL RUIZ MARTINEZ                  ADDRESS ON FILE
CRISTOBAL SANCHEZ CARABALLO              ADDRESS ON FILE
CRISTOBAL SANCHEZ PAGAN                  ADDRESS ON FILE
CRISTOBAL SANTIAGO BERRIOS               ADDRESS ON FILE
CRISTOBAL SOTO GARCIA                    ADDRESS ON FILE
CRISTOBAL TIRADO PACHECO                 ADDRESS ON FILE
CRISTOBAL TORRES VAZQUEZ                 ADDRESS ON FILE
CRISTOBAL TORRES, ROSA                   ADDRESS ON FILE
CRISTOBAL VEGA ADORNO                    ADDRESS ON FILE
CRISTOBAL VELEZ GONZALEZ                 ADDRESS ON FILE
CRISTOBAL VELEZ LUGO                     ADDRESS ON FILE
CRISTOBAL ZAMORA VAZQUEZ                 ADDRESS ON FILE
CRISTOBAL ZAYAS RIVERA                   ADDRESS ON FILE
CRISTOFF MIRANDA, ELIZABETH              ADDRESS ON FILE
CRISTOPHER ACEVEDO RIVERA                ADDRESS ON FILE
CRISTOPHER H CAJIGAS SANTIAGO A/C        ADDRESS ON FILE
CRISTOPHER MEDINA CASTRO                 ADDRESS ON FILE
CRISTOPHER MIRANDA RIVERA                ADDRESS ON FILE
CRISTOPHER N MOJICA GONZALEZ             ADDRESS ON FILE
CRISTOPHER RESTO SANTOS                  ADDRESS ON FILE
CRISTOPHER RIVERA TORRES                 ADDRESS ON FILE
CRISTOPHER RODRIGUEZ MALDONADO           ADDRESS ON FILE
CRISTOPHER RUIZ SERRANO                  ADDRESS ON FILE
CRISTY COTTO, YOLANDA                    ADDRESS ON FILE
CRISTY G MARTINEZ LOPEZ                  ADDRESS ON FILE
CRITANA RAMOS RAMOS                      ADDRESS ON FILE
CRITERIA CONSULTING CSP                  PO BOX 9020145                                                                                       SAN JUAN      PR      00902‐0145
CRITERION CHILD                          LCDO. HECTOR R. DIAZ VANGA       PO BOX 2398                                                         MANATI        PR      00674
CRITERION CHILD AND FAMILY ENRICHMENT CO URB. ATENAS J‐27                 CALLE ELLIOT VELEZ                                                  MANATI        PR      00674
CRITICAL HUB NETWORKS                    P O BOX 11278                                                                                        SAN JUAN      PR      00910‐2378
CRITICAL HUB NETWORKS, INC.              1314 Ave Ponce De Leon Ste 400                                                                       SAN JUAN      PR      00907
CRITICAL HUB NETWORKS, INC.              PO BOX 11278                                                                                         SAN JUAN      PR      00910
CRITICAL MANAGEMENT SERVICE LLC          PO BOX 365066                                                                                        SAN JUAN      PR      00936‐5066
CRITTENDEN CRUZ, PHILLIP                 ADDRESS ON FILE
CRIVELLONE CICCHINO, PATRICIA            ADDRESS ON FILE
CROBERTO SOLER RODRIGUEZ                 ADDRESS ON FILE
CROIRE ENTRETAINMENT GROUP CORP          53 CALLE COLTON                                                                                      GUAYNABO      PR      00969
CROM TECHNOLOGIES SERVICES CORP          PO BOX 1933                                                                                          MOCA          PR      00676
CROOKE JIMENEZ, JAIME                    ADDRESS ON FILE
CROOKE PADRO, ALFREDO                    ADDRESS ON FILE
CROOKE VALES, NILDA                      ADDRESS ON FILE
CROS VAZQUEZ, YURIEL                     ADDRESS ON FILE
CROSAS DIAZ, CARMEN E.                   ADDRESS ON FILE
CROSAS PICO, CARLOS E                    ADDRESS ON FILE
CROSAS SAMPAYO, CARLOS                   ADDRESS ON FILE
CROSAS SAMPAYO, CARLOS E                 ADDRESS ON FILE
CROSS BORDER LEASIN C/O WILMINGTON TRUSTTRIB DE PRI INST SALA SAN JUAN    SALA 506 CASO / K CD 2000‐0367                                      SAN JUAN      PR      00902
CROSS ROADS ORTHOPEDICS                  196 PARKWAY SO                   SUITE 201                                                           WATERFORD     CT      06385
CROSSLEY, ROBERTO                        ADDRESS ON FILE
CROSSTOWN EXPRESS DELIVERY INC           URB SIERRA BAYAMON               27‐8 CALLE 26                                                       BAYAMON       PR      00961
CROSTELLI, CRISTIAN                      ADDRESS ON FILE
CROUCH SANTOS, ALBERT                    ADDRESS ON FILE
CROUCH TORRES, HERBERT                   ADDRESS ON FILE
CROUSE GUZMAN, JUAN                      ADDRESS ON FILE
CROUSE HOSPITAL                          736 IRVING AVE                   ECG LAB                                                             SYRACUSE      NY      13210‐1699
CROWD CONTROL COMPANY                    370 FERNANDO PRIMERO STREET                                                                          SAN JUAN      PR      00918‐2423
CROWD CONTROL COMPANY INC                370 FERNANDO PRIMERO ST.                                                                             SAN JUAN      PR      00918‐2423




                                                                                                       Page 1894 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 1895 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                                Address1                            Address2                                    Address3   Address4   City                State   PostalCode   Country
CROWD CONTROL COMPANY INC                    CROWD COMPANY, INC                  370 FERNANDO PRIMERO ST                                           SAN JUAN            PR      00918‐2423
CROWD CONTROL COMPANY INC                    PO BOX 193047                                                                                         SAN JUAN            PR      00919‐3047
CROWD CONTROL COMPANY INC                    URB HUYKE                           370 FERNANDO PRIMERO                                              SAN JUAN            PR      00918‐2423
CROWD CONTROL COMPANY INC                    URB VEDADO                          370 CALLE FERNANDO PRIMERO                                        SAN JUAN            PR      00918‐2423
CROWE FIGUEROA, SYLVIA                       ADDRESS ON FILE
CROWE HORWATH LLP                            6750 NORTH ANDREWS                  SUITE 200                                                         FORT LAUDERDALE     FL      33309‐2180
CROWE HORWATH LLP                            6750 NORTH ANDREWS AVE              SUITE 200                                                         FORT LAUDERDALE     FL      33309‐2180
CROWLEY LINER SERVICES                       PO BOX 9023921                                                                                        SAN JUAN            PR      00902‐3921
CROWN CASTLE INTERNATIONAL CORP OF PR        ADDRESS ON FILE
Crown Castle PR Solutions, LLC               2000 Corporate Drive                                                                                  Canonsburg          PA      15217
Crown Castle PR Solutions, LLC               2600 Maitland Center Parkway        Suite 300                                                         Canonsburg          PA      15217
CROWN CLINIC                                 4500 SOUTH TRAYON ST                                                                                  CHARLOTTE           NC      28217
CROWNE PLAZA P R INC                         AMERICAN INTENATIONAL PLAZA         250 MUÐOZ RIVERA AVE                                              SAN JUAN            PR      00918
CROWNE PLAZA P R INC                         AMERICAN INTENATIONAL PLAZA         250 MUNOZ RIVERA AVE                                              SAN JUAN            PR      00918
CRS CONSULTING GROUP CORP                    URB ROUND HILLS                     185 CALLE GARDENIA                                                TRUJILLO ALTO       PR      00976‐2747
CRS LAW OFFICE LLC                           PO BOX 9023898                                                                                        SAN JUAN            PR      00902
CRUA ALDECOA, PSC                            2000 CARR 8177 SUITE 26 PMB 235                                                                       GUAYNABO            PR      00966‐3762
CRUA MONGE, VERONICA                         ADDRESS ON FILE
CRUAZ LAUREANO, LUZ                          ADDRESS ON FILE
CRUCE A NADO INC.                            BOX 800570                                                                                            COTO LAUREL         PR      00780
CRUCELINA RODRIGUEZ ALDARONDO                ADDRESS ON FILE
CRUCIAL TECHNOLOGY                           3475 EAST COMMERCIAL CT                                                                               MERIDIAN            ID      83642
CRUCITA COLON GARCIA                         ADDRESS ON FILE
CRUCITA CRUZ OLIVO                           ADDRESS ON FILE
CRUCITA DIAZ CASTRO                          ADDRESS ON FILE
CRUCITA FERNANDEZ APONTE                     ADDRESS ON FILE
CRUCITA GONZALEZ                             ADDRESS ON FILE
CRUCITA MARTINEZ                             ADDRESS ON FILE
CRUCITA RIVERA SUAREZ                        ADDRESS ON FILE
CRUCITA SANTIAGO RIOS                        ADDRESS ON FILE
CRUCITA VILLANUEVA ATANACIO                  ADDRESS ON FILE
CRUCITA VILLANUEVA ATANACIO                  ADDRESS ON FILE
CRUCITO HEREDIA                              ADDRESS ON FILE
CRUCITO MARRERO ROSA                         ADDRESS ON FILE
CRUCITO RIVERA RIVERA                        ADDRESS ON FILE
CRUDUP MASSEY, KEITH                         ADDRESS ON FILE
CRUET GONZALEZ, BRUNILDA                     ADDRESS ON FILE
CRUET GONZALEZ, LIONEL                       ADDRESS ON FILE
CRUET GORDILS, GLENDA I                      ADDRESS ON FILE
CRUET GORDILS, NANCY G                       ADDRESS ON FILE
CRUET MORALES, JUAN                          ADDRESS ON FILE
CRUET MORALES, LIONEL                        ADDRESS ON FILE
CRUET OQUENDO, MADY                          ADDRESS ON FILE
CRUET PEREZ, CARMEN Y.                       ADDRESS ON FILE
CRUET QUINONES, ROMARY                       ADDRESS ON FILE
CRUET SANCHEZ, GUILLERMO                     ADDRESS ON FILE
CRUET TORRES, JOANEL                         ADDRESS ON FILE
CRUET, HORTENSIA                             ADDRESS ON FILE
CRUHIGGER BONILLA, LUIS                      ADDRESS ON FILE
CRUHIGGER IRIZARRY, JUAN                     ADDRESS ON FILE
Cruhigger Olmeda, Jessica                    ADDRESS ON FILE
Cruhigger Pagan, Luis R.                     ADDRESS ON FILE
CRUHIGGER, JOSE N                            ADDRESS ON FILE
Crum & Forster Specialty Insurance           305 Madison Avenue                                                                                    Morristown          NJ      07960
Crum & Forster Specialty Insurance Company   Attn: Gerald Lee Radke, President   305 Madison Avenue                                                Morristown          NJ      07962
CRUMLEY ALVAREZ, PATRICIA A.                 ADDRESS ON FILE
CRUSEMIRE, JOSEPH                            ADDRESS ON FILE
CRUSOTO INC                                  PO BOX 1662                                                                                           MANATI              PR      00674
CRUX MARTINEZ, DEXTERA                       ADDRESS ON FILE
CRUZ TORRES, JOSE R.                         ADDRESS ON FILE




                                                                                                              Page 1895 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 1896 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3                Address4   City            State   PostalCode   Country
CRUZ A MATOS                             ADDRESS ON FILE
CRUZ A PEREZ MIRANDA                     ADDRESS ON FILE
                                                                                                    AVE. 65 DE INFANTERÍA
CRUZ A RIVERA QUIÑONES                   HÉCTOR FIGUEROA VICENTY   EDIF. NORFE 201                  714                                RIO PIEDRAS     PR      00924
CRUZ A TROCHE MEJIA Y ZORAIDA GONZALEZ   ADDRESS ON FILE
CRUZ A VALDES VAZQUEZ                    ADDRESS ON FILE
CRUZ ABRAHAMS, JOSE A.                   ADDRESS ON FILE
CRUZ ABRAMS, ROSANGELA                   ADDRESS ON FILE
CRUZ ABREU, AMARIS                       ADDRESS ON FILE
CRUZ ABREU, LYNEL                        ADDRESS ON FILE
CRUZ ABREU, NELSON                       ADDRESS ON FILE
CRUZ ABREU, RAMON                        ADDRESS ON FILE
CRUZ ACEVEDO CRUZ                        ADDRESS ON FILE
CRUZ ACEVEDO CRUZ                        ADDRESS ON FILE
CRUZ ACEVEDO MD, VILMARIE                ADDRESS ON FILE
CRUZ ACEVEDO, ALEXANDER                  ADDRESS ON FILE
CRUZ ACEVEDO, AMARILYS                   ADDRESS ON FILE
CRUZ ACEVEDO, ANGEL E.                   ADDRESS ON FILE
CRUZ ACEVEDO, ANGEL L.                   ADDRESS ON FILE
CRUZ ACEVEDO, ANTONIO                    ADDRESS ON FILE
CRUZ ACEVEDO, CARLOS                     ADDRESS ON FILE
CRUZ ACEVEDO, CARMEN                     ADDRESS ON FILE
CRUZ ACEVEDO, CARMEN M                   ADDRESS ON FILE
CRUZ ACEVEDO, CRUZ                       ADDRESS ON FILE
CRUZ ACEVEDO, DALIMAR                    ADDRESS ON FILE
CRUZ ACEVEDO, EDWIN                      ADDRESS ON FILE
CRUZ ACEVEDO, FRANCIS A                  ADDRESS ON FILE
CRUZ ACEVEDO, HECTOR                     ADDRESS ON FILE
CRUZ ACEVEDO, ISABELITA                  ADDRESS ON FILE
CRUZ ACEVEDO, JENNIFER                   ADDRESS ON FILE
Cruz Acevedo, Jerry                      ADDRESS ON FILE
CRUZ ACEVEDO, JOHNNY                     ADDRESS ON FILE
Cruz Acevedo, Jorge L                    ADDRESS ON FILE
CRUZ ACEVEDO, JORMA                      ADDRESS ON FILE
Cruz Acevedo, Jose J                     ADDRESS ON FILE
Cruz Acevedo, Jose J                     ADDRESS ON FILE
CRUZ ACEVEDO, JOSUE                      ADDRESS ON FILE
CRUZ ACEVEDO, JUAN                       ADDRESS ON FILE
CRUZ ACEVEDO, LILLIAM                    ADDRESS ON FILE
CRUZ ACEVEDO, LUIS E                     ADDRESS ON FILE
CRUZ ACEVEDO, LUIS F                     ADDRESS ON FILE
CRUZ ACEVEDO, MARIBEL                    ADDRESS ON FILE
CRUZ ACEVEDO, MIGDALIA                   ADDRESS ON FILE
CRUZ ACEVEDO, MIGUEL A                   ADDRESS ON FILE
CRUZ ACEVEDO, NEBIN                      ADDRESS ON FILE
CRUZ ACEVEDO, NELSIE I                   ADDRESS ON FILE
CRUZ ACEVEDO, NIXZALIZ                   ADDRESS ON FILE
CRUZ ACEVEDO, PABLO F.                   ADDRESS ON FILE
CRUZ ACEVEDO, PATRICIA                   ADDRESS ON FILE
CRUZ ACEVEDO, RAFAEL                     ADDRESS ON FILE
CRUZ ACEVEDO, RAFAEL                     ADDRESS ON FILE
CRUZ ACEVEDO, RANDY                      ADDRESS ON FILE
CRUZ ACEVEDO, ROBERTO                    ADDRESS ON FILE
CRUZ ACEVEDO, ROBERTO M.                 ADDRESS ON FILE
CRUZ ACEVEDO, SIGFREDO                   ADDRESS ON FILE
CRUZ ACEVEDO, VERONICA                   ADDRESS ON FILE
CRUZ ACEVEDO, VILMARIS                   ADDRESS ON FILE
CRUZ ACOSTA, ADA M                       ADDRESS ON FILE
Cruz Acosta, Ana Delia                   ADDRESS ON FILE
CRUZ ACOSTA, AONERI                      ADDRESS ON FILE




                                                                                     Page 1896 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1897 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                   Address1                              Address2                                 Address3   Address4   City         State   PostalCode   Country
CRUZ ACOSTA, CARMEN M           ADDRESS ON FILE
CRUZ ACOSTA, EDWIN              ADDRESS ON FILE
CRUZ ACOSTA, EMMA M             ADDRESS ON FILE
Cruz Acosta, Francelis          ADDRESS ON FILE
CRUZ ACOSTA, GIANCARLO          ADDRESS ON FILE
CRUZ ACOSTA, ILEANA             ADDRESS ON FILE
CRUZ ACOSTA, LUIS               ADDRESS ON FILE
CRUZ ACOSTA, LYDIA A            ADDRESS ON FILE
CRUZ ACOSTA, RICARDO            ADDRESS ON FILE
CRUZ ACOSTA, ROBINSON           ADDRESS ON FILE
CRUZ ACOSTA, YAMILA             ADDRESS ON FILE
CRUZ ACOSTA, YELIN              ADDRESS ON FILE
CRUZ ACUNA, JAIME               ADDRESS ON FILE
CRUZ ADAMES, IMAGDA             ADDRESS ON FILE
CRUZ ADAMES, KATY E             ADDRESS ON FILE
CRUZ ADAMES, RAMONA             ADDRESS ON FILE
CRUZ ADAMES, VICTOR M           ADDRESS ON FILE
Cruz Adorno, Addiel             ADDRESS ON FILE
CRUZ ADORNO, HECTOR M.          ADDRESS ON FILE
CRUZ ADORNO, MARCOS A           ADDRESS ON FILE
CRUZ ADVANCE MEDICINE           527 CALLE S CUEVAS BUSTAMANTE STE 1                                                                  SAN JUAN     PR      00918
CRUZ ADVANCE MEDICINE LLC       PARQ CENTRAL                          527 CALLA SERGIO CUEVAS                                        SAN JUAN     PR      00918‐2642
CRUZ AFANADOR, ANGEL            ADDRESS ON FILE
CRUZ AFANADOR, CARLOS           ADDRESS ON FILE
CRUZ AFANADOR, HIRAM            ADDRESS ON FILE
CRUZ AFANADOR, KARLA P          ADDRESS ON FILE
CRUZ AFANADOR, RAFAEL           ADDRESS ON FILE
CRUZ AFANADOR, WILFREDO         ADDRESS ON FILE
CRUZ AGOSTINI, ALEJANDRO        ADDRESS ON FILE
CRUZ AGOSTNI, VICTOR            ADDRESS ON FILE
CRUZ AGOSTO, EDUARDO            ADDRESS ON FILE
CRUZ AGOSTO, IRIS N             ADDRESS ON FILE
CRUZ AGOSTO, IVAN               ADDRESS ON FILE
Cruz Agosto, Leticia            ADDRESS ON FILE
CRUZ AGOSTO, MARISOL            ADDRESS ON FILE
CRUZ AGOSTO, MIGUEL OMAR        ADDRESS ON FILE
CRUZ AGOSTO, PAOLA E            ADDRESS ON FILE
Cruz Agosto, Rafael             ADDRESS ON FILE
CRUZ AGOSTO, TERESA             ADDRESS ON FILE
CRUZ AGOSTO, VIRGEN             ADDRESS ON FILE
CRUZ AGOSTO, YARELIS            ADDRESS ON FILE
CRUZ AGRINSONI, LUIS            ADDRESS ON FILE
CRUZ AGRIZONI, MARIA T.         ADDRESS ON FILE
CRUZ AGUAYO, LUIS A             ADDRESS ON FILE
CRUZ AGUAYO, MODESTA            ADDRESS ON FILE
CRUZ AGUILA, NELIDA             ADDRESS ON FILE
CRUZ AGUILAR, FELICITA          ADDRESS ON FILE
CRUZ AGUILAR, FRANCISCO J.      ADDRESS ON FILE
CRUZ AGUILAR, JUAN A            ADDRESS ON FILE
CRUZ AGUILAR, RUTH D            ADDRESS ON FILE
CRUZ AGUILU, YVONNE DE LOS A.   ADDRESS ON FILE
CRUZ AGUIRRE, ELIZABETH         ADDRESS ON FILE
CRUZ ALAMEDA, HECTOR            ADDRESS ON FILE
Cruz Alameda, Hector D          ADDRESS ON FILE
Cruz Alameda, Lauro             ADDRESS ON FILE
Cruz Alameda, Roberto           ADDRESS ON FILE
CRUZ ALAMO, ANGEL               ADDRESS ON FILE
CRUZ ALAMO, CEFERINO            ADDRESS ON FILE
CRUZ ALBALADEJO, JOSHWA         ADDRESS ON FILE
CRUZ ALBARRAN, ALBERTO          ADDRESS ON FILE




                                                                                                Page 1897 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1898 of 3500
                                                                          17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name              Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
CRUZ ALBARRAN, JASMIN      ADDRESS ON FILE
CRUZ ALBINO, ALBA N        ADDRESS ON FILE
CRUZ ALBINO, ARLENE        ADDRESS ON FILE
CRUZ ALBINO, CARLOS        ADDRESS ON FILE
CRUZ ALBINO, IRMARIS       ADDRESS ON FILE
CRUZ ALBINO, JAVIER        ADDRESS ON FILE
CRUZ ALBINO, LUIS F        ADDRESS ON FILE
CRUZ ALBINO, MANUEL DE J   ADDRESS ON FILE
CRUZ ALBIZU, FRANCISCO R   ADDRESS ON FILE
CRUZ ALCALA, FRANCISCA     ADDRESS ON FILE
CRUZ ALCALA, MARIA F.      ADDRESS ON FILE
CRUZ ALCALA, RITA M        ADDRESS ON FILE
CRUZ ALCOCER, NOHELIA M    ADDRESS ON FILE
Cruz Aldahondo, Roberto    ADDRESS ON FILE
CRUZ ALDECOA, PSC          2000 CARR. 8177           SUITE 26 PMB 235                                        GUAYNABO     PR      00966‐3762
CRUZ ALEJANDRO, ALEYDA     ADDRESS ON FILE
CRUZ ALEJANDRO, AXEL       ADDRESS ON FILE
CRUZ ALEMAN, DAMARIS       ADDRESS ON FILE
CRUZ ALEMAN, REBECA        ADDRESS ON FILE
CRUZ ALFARO, ENID M.       ADDRESS ON FILE
CRUZ ALFONSO, CARLOS M.    ADDRESS ON FILE
CRUZ ALFONSO, LORIEN       ADDRESS ON FILE
CRUZ ALFONSO, SOLIMAR      ADDRESS ON FILE
CRUZ ALGARIN, JUANA        ADDRESS ON FILE
CRUZ ALGARIN, LYDIA E      ADDRESS ON FILE
CRUZ ALGARIN, NEREIDA      ADDRESS ON FILE
CRUZ ALICEA, AIDA I.       ADDRESS ON FILE
CRUZ ALICEA, BRIAN         ADDRESS ON FILE
CRUZ ALICEA, CARLOS W      ADDRESS ON FILE
CRUZ ALICEA, CARMEN        ADDRESS ON FILE
Cruz Alicea, Cary I        ADDRESS ON FILE
CRUZ ALICEA, DANIEL        ADDRESS ON FILE
CRUZ ALICEA, EDDIE         ADDRESS ON FILE
CRUZ ALICEA, GLADYS A.     ADDRESS ON FILE
CRUZ ALICEA, HECTOR J      ADDRESS ON FILE
CRUZ ALICEA, JERAYLIS      ADDRESS ON FILE
CRUZ ALICEA, JOSE EDISON   ADDRESS ON FILE
CRUZ ALICEA, MAGALY        ADDRESS ON FILE
Cruz Alicea, Manuel        ADDRESS ON FILE
Cruz Alicea, Maria T       ADDRESS ON FILE
CRUZ ALICEA, MARITZA       ADDRESS ON FILE
CRUZ ALICEA, NANCY I       ADDRESS ON FILE
CRUZ ALICEA, OSVALDO       ADDRESS ON FILE
CRUZ ALICEA, RAFAEL        ADDRESS ON FILE
CRUZ ALICEA, RAFAEL        ADDRESS ON FILE
CRUZ ALICEA, RAQUEL        ADDRESS ON FILE
CRUZ ALICEA, RAUL          ADDRESS ON FILE
CRUZ ALICEA, VICTOR        ADDRESS ON FILE
CRUZ ALICEA, VICTOR        ADDRESS ON FILE
CRUZ ALICEA, VIRGEN M      ADDRESS ON FILE
CRUZ ALICEA, WANDA I       ADDRESS ON FILE
CRUZ ALICEA, YESENIA       ADDRESS ON FILE
CRUZ ALINA ORTIZ           ADDRESS ON FILE
CRUZ ALLENDE, JAVIER       ADDRESS ON FILE
CRUZ ALLENDE, OSVALDO      ADDRESS ON FILE
CRUZ ALLENDE, OSVALDO      ADDRESS ON FILE
CRUZ ALMANZAR, JUAN        ADDRESS ON FILE
CRUZ ALMEDA, LINETTE       ADDRESS ON FILE
CRUZ ALMEYDA, BRENDA L.    ADDRESS ON FILE
CRUZ ALMODOVAR, JUANA      ADDRESS ON FILE




                                                                        Page 1898 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1899 of 3500
                                                                                17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                    Address1                       Address2                                   Address3                Address4   City         State   PostalCode   Country
CRUZ ALMODOVAR, MIGDALIA         ADDRESS ON FILE
CRUZ ALMODOVAR, NANCY E          ADDRESS ON FILE
CRUZ ALONSO, DEBORAH             ADDRESS ON FILE
CRUZ ALONSO, IDARIS              ADDRESS ON FILE
CRUZ ALONSO, MARAH               ADDRESS ON FILE
CRUZ ALONSO, MAYRA G             ADDRESS ON FILE
CRUZ ALONSO, SHEILA              ADDRESS ON FILE
CRUZ ALONZO, MARIA A.            ADDRESS ON FILE
CRUZ ALTRECHE, JOHANNA           ADDRESS ON FILE
CRUZ ALTRECHE, JOHANNA           ADDRESS ON FILE
Cruz Alturet, Jose L.            ADDRESS ON FILE
CRUZ ALTURET, RUTH               ADDRESS ON FILE
CRUZ ALVARADO, BETSYNIDIA        ADDRESS ON FILE
CRUZ ALVARADO, HECTOR            ADDRESS ON FILE
CRUZ ALVARADO, JUAN E            ADDRESS ON FILE
CRUZ ALVARADO, JULIO A           ADDRESS ON FILE
Cruz Alvarado, Luis A.           ADDRESS ON FILE
CRUZ ALVARADO, WANDA             ADDRESS ON FILE
Cruz Alvarado, Wanda I           ADDRESS ON FILE
CRUZ ALVAREZ, ADRIAN             ADDRESS ON FILE
CRUZ ALVAREZ, ANIBEL             ADDRESS ON FILE
Cruz Alvarez, Awilda             ADDRESS ON FILE
CRUZ ALVAREZ, BEATRIZ            ADDRESS ON FILE
CRUZ ALVAREZ, BELINDA            ADDRESS ON FILE
CRUZ ALVAREZ, CARMEN D.          ADDRESS ON FILE
CRUZ ALVAREZ, DELIA              ADDRESS ON FILE
CRUZ ALVAREZ, HECTOR             ADDRESS ON FILE
Cruz Alvarez, Hiram R            ADDRESS ON FILE
CRUZ ALVAREZ, JOSE               ADDRESS ON FILE
CRUZ ALVAREZ, JUAN FRANCISCO A   ADDRESS ON FILE
CRUZ ALVAREZ, MARIA L            ADDRESS ON FILE
Cruz Alvarez, Miguel A           ADDRESS ON FILE
CRUZ ALVAREZ, NOEL I             ADDRESS ON FILE
Cruz Alvarez, Orlando            ADDRESS ON FILE
Cruz Alvarez, Roberto            ADDRESS ON FILE
CRUZ ALVAREZ, SEVERIANO          ADDRESS ON FILE
CRUZ ALVAREZ, YAHAIRA            ADDRESS ON FILE
CRUZ ALVAREZ,MELVIN              ADDRESS ON FILE
CRUZ ALVELO, EVA                 ADDRESS ON FILE
CRUZ ALVELO, HAYDEE              ADDRESS ON FILE
CRUZ ALVELO, MILAGROS D          ADDRESS ON FILE
CRUZ ALVERIO, JOSE               ADDRESS ON FILE
CRUZ ALVERIO, LUIS               ADDRESS ON FILE
CRUZ ALVIRA, AURY A.             ADDRESS ON FILE
CRUZ ALVIRA, WILFREDO            ADDRESS ON FILE
CRUZ AMADOR, ABRAHAM             ADDRESS ON FILE
CRUZ AMADOR, CRISTINA            ADDRESS ON FILE
CRUZ AMADOR, ISABELO             ADDRESS ON FILE
CRUZ AMEZQUITA, ADOLFO           ADDRESS ON FILE
CRUZ AMEZQUITA, YASMIN           ADDRESS ON FILE
CRUZ AMY, MARIELA                ADDRESS ON FILE
CRUZ AMY, MARINELY               ADDRESS ON FILE
CRUZ ANAYA, HERIBERTO            ADDRESS ON FILE
CRUZ ANAYA, PEDRO                ADDRESS ON FILE
Cruz Anaya, Pedro Aneudi         ADDRESS ON FILE
Cruz Andaluz, Luis A             ADDRESS ON FILE

CRUZ ANDALUZ, LUIS A.            LCDO. JOSE R. OLMO RODRIGUEZ   OLMO Y RODRIGUEZ MATIAS LAW OFFICES PSC EDIF. CENTRO I OFI. 215,              HATO REY     PR      00918
Cruz Andaluz, Rafael A           ADDRESS ON FILE
CRUZ ANDALUZ, VIDAL              ADDRESS ON FILE




                                                                                            Page 1899 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1900 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                    Address2                       Address3   Address4   City         State   PostalCode   Country
CRUZ ANDINO, AIDA L           ADDRESS ON FILE
CRUZ ANDINO, ARNILDO          ADDRESS ON FILE
CRUZ ANDINO, IRIS D           ADDRESS ON FILE
CRUZ ANDINO, JACQUELINE       ADDRESS ON FILE
CRUZ ANDREU, DAMARIS          ADDRESS ON FILE
CRUZ ANDUJAR, CHAIRA LIZ      ADDRESS ON FILE
CRUZ ANDUJAR, DIMARIE M       ADDRESS ON FILE
CRUZ ANDUJAR, LUZ S           ADDRESS ON FILE
CRUZ ANDUJAR, NANCY           ADDRESS ON FILE
CRUZ ANDUJAR, VIMARIE L.      ADDRESS ON FILE
CRUZ ANGULO, ELIEZER          ADDRESS ON FILE
CRUZ ANGULO, LESLIE J         ADDRESS ON FILE
CRUZ ANTEQUERA, WILLIAM       ADDRESS ON FILE
CRUZ ANTONETTI, IVELISSE      ADDRESS ON FILE
CRUZ ANTONGIORGI, LYDIA       ADDRESS ON FILE
CRUZ ANTONSANTI, YAMARI       ADDRESS ON FILE
Cruz Aponte, Ada R            ADDRESS ON FILE
CRUZ APONTE, ANA L            ADDRESS ON FILE
CRUZ APONTE, ANA M            ADDRESS ON FILE
CRUZ APONTE, ARMANDO          ADDRESS ON FILE
CRUZ APONTE, ELENA            ADDRESS ON FILE
CRUZ APONTE, EMMA N           ADDRESS ON FILE
CRUZ APONTE, EVELYN           ADDRESS ON FILE
CRUZ APONTE, EVELYN           ADDRESS ON FILE
CRUZ APONTE, GRISEL           ADDRESS ON FILE
CRUZ APONTE, HECTOR           ADDRESS ON FILE
CRUZ APONTE, JAVIER D.        ADDRESS ON FILE
CRUZ APONTE, JORGE            ADDRESS ON FILE
CRUZ APONTE, JORGE L.         ADDRESS ON FILE
CRUZ APONTE, JOSE             ADDRESS ON FILE
CRUZ APONTE, JOSE R           ADDRESS ON FILE
CRUZ APONTE, JUAN             ADDRESS ON FILE
CRUZ APONTE, JUAN C.          ADDRESS ON FILE
CRUZ APONTE, JULIA E          ADDRESS ON FILE
CRUZ APONTE, KARLA            ADDRESS ON FILE
CRUZ APONTE, LILLIAM          ADDRESS ON FILE
CRUZ APONTE, MARGIE           ADDRESS ON FILE
CRUZ APONTE, MARIBEL          ADDRESS ON FILE
CRUZ APONTE, MARIBEL          ADDRESS ON FILE
CRUZ APONTE, MARTA            ADDRESS ON FILE
CRUZ APONTE, NILDA I.         ADDRESS ON FILE
CRUZ APONTE, OMAYRA           ADDRESS ON FILE
CRUZ APONTE, RICARDO          ADDRESS ON FILE
CRUZ APONTE, VICTOR           ADDRESS ON FILE
CRUZ APONTE, VICTOR A         ADDRESS ON FILE
CRUZ AQUILINO, ORLANDO        ADDRESS ON FILE
CRUZ AQUINO, JOSE             ADDRESS ON FILE
Cruz Aquino, Jose J.          ADDRESS ON FILE
CRUZ AQUINO, LAURA E          ADDRESS ON FILE
CRUZ AQUINO, LAURA E.         ADDRESS ON FILE
CRUZ AQUINO, LEIREN           ADDRESS ON FILE
Cruz Aquino, Maria De Los A   ADDRESS ON FILE
CRUZ AQUINO, MARIA T.         ADDRESS ON FILE
CRUZ AQUINO, MARITZA          ADDRESS ON FILE
CRUZ AQUINO, PEDRO            ADDRESS ON FILE
CRUZ AQUINO, PEDRO            ADDRESS ON FILE
CRUZ ARAN, JULIO              ADDRESS ON FILE
CRUZ ARCE, EVELYN             ADDRESS ON FILE
CRUZ ARCE, JOSÉ A.            LCDA. YANIRA BELÉN CRUZ     PO BOX 367346                                        SAN JUAN     PR      00936‐7346
CRUZ ARCE, JOSÉ A.            LCDO. CARLOS ROSADO MUÑOZ   PO BOX 191192                                        SAN JUAN     PR      00919‐1192




                                                                          Page 1900 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1901 of 3500
                                                                               17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                   Address1                       Address2                       Address3   Address4   City         State   PostalCode   Country
CRUZ ARCE, JOSÉ A.              LCDO. MARIO ORONOZ RODRÍGUEZ   PO BOX 195473                                        SAN JUAN     PR      00919‐5473
CRUZ ARCE, LUZ S.               ADDRESS ON FILE
CRUZ ARCE, MARGARITA            ADDRESS ON FILE
CRUZ ARCE, SYNTHIA L            ADDRESS ON FILE
CRUZ ARCE, YANIRA E             ADDRESS ON FILE
CRUZ ARCE,FRANCISCO             ADDRESS ON FILE
CRUZ ARCELAY, BETZAIDA          ADDRESS ON FILE
CRUZ ARGUINZONI, MARIA          ADDRESS ON FILE
CRUZ ARIAS, JOSEFINA            ADDRESS ON FILE
CRUZ ARIGOITIA MD, ELISA        ADDRESS ON FILE
CRUZ ARMINA, MOISES             ADDRESS ON FILE
CRUZ AROCHO, GISELLE E          ADDRESS ON FILE
Cruz Arocho, Rafael             ADDRESS ON FILE
CRUZ ARRAY, CARMEN              ADDRESS ON FILE
CRUZ ARRAY, LUZ E               ADDRESS ON FILE
CRUZ ARRAY, NILDA               ADDRESS ON FILE
CRUZ ARRIAGA, EMILIO            ADDRESS ON FILE
CRUZ ARROCHO, ROLANDO           ADDRESS ON FILE
CRUZ ARROYO, ANTONIO            ADDRESS ON FILE
CRUZ ARROYO, ARMANDO            ADDRESS ON FILE
CRUZ ARROYO, AWILDA             ADDRESS ON FILE
CRUZ ARROYO, HIRAM              ADDRESS ON FILE
CRUZ ARROYO, JESUS M.           ADDRESS ON FILE
CRUZ ARROYO, JOEL               ADDRESS ON FILE
CRUZ ARROYO, JOSE               ADDRESS ON FILE
CRUZ ARROYO, JOSE               ADDRESS ON FILE
CRUZ ARROYO, JOSE G.            ADDRESS ON FILE
CRUZ ARROYO, JOSE L             ADDRESS ON FILE
CRUZ ARROYO, JUAN FRANCISCO     ADDRESS ON FILE
CRUZ ARROYO, KATIA Y            ADDRESS ON FILE
CRUZ ARROYO, LIDIA M            ADDRESS ON FILE
CRUZ ARROYO, LOIDA              ADDRESS ON FILE
CRUZ ARROYO, LUIS               ADDRESS ON FILE
CRUZ ARROYO, LUIS               ADDRESS ON FILE
CRUZ ARROYO, LUIS O.            ADDRESS ON FILE
CRUZ ARROYO, MARGARITA          ADDRESS ON FILE
CRUZ ARROYO, MARIA DE           ADDRESS ON FILE
CRUZ ARROYO, MARIA DE LOURDES   ADDRESS ON FILE
CRUZ ARROYO, MARISABEL          ADDRESS ON FILE
CRUZ ARROYO, MARYBEL            ADDRESS ON FILE
CRUZ ARROYO, MAYRA              ADDRESS ON FILE
CRUZ ARROYO, MILAGROS           ADDRESS ON FILE
CRUZ ARROYO, NORIEL             ADDRESS ON FILE
CRUZ ARROYO, PABLO              ADDRESS ON FILE
CRUZ ARROYO, SANDRA             ADDRESS ON FILE
CRUZ ARROYO, SANDRA             ADDRESS ON FILE
CRUZ ARROYO, SANTOS             ADDRESS ON FILE
CRUZ ARROYO, YUAN J             ADDRESS ON FILE
CRUZ ARTEAGA, JORGE L           ADDRESS ON FILE
CRUZ ARZUAGA, EDWIN             ADDRESS ON FILE
CRUZ ASTACIO, EVELYN            ADDRESS ON FILE
CRUZ ATILES, GRETCHENN V        ADDRESS ON FILE
CRUZ AUDIFFRED, HILDA E         ADDRESS ON FILE
CRUZ AUFFANT, JOSE              ADDRESS ON FILE
CRUZ AUFFANT, JOSE R            ADDRESS ON FILE
CRUZ AVILA, IVIS M.             ADDRESS ON FILE
Cruz Avila, Jonathan            ADDRESS ON FILE
CRUZ AVILA, JONATHAN            ADDRESS ON FILE
CRUZ AVILA, KARLHA N            ADDRESS ON FILE
Cruz Avila, Luis A.             ADDRESS ON FILE




                                                                               Page 1901 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1902 of 3500
                                                                           17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name               Address1                  Address2                          Address3   Address4   City        State   PostalCode   Country
CRUZ AVILES, ANIBAL         ADDRESS ON FILE
CRUZ AVILES, EDGAR A        ADDRESS ON FILE
Cruz Aviles, Edwin O        ADDRESS ON FILE
CRUZ AVILES, FRANCISCO      ADDRESS ON FILE
Cruz Aviles, Gualberto      ADDRESS ON FILE
CRUZ AVILES, LIONEL         ADDRESS ON FILE
CRUZ AVILES, LUZ YANIRE     ADDRESS ON FILE
CRUZ AVILES, MARGARITA      ADDRESS ON FILE
CRUZ AVILES, MIREYA         ADDRESS ON FILE
CRUZ AVILES, NILDA          ADDRESS ON FILE
CRUZ AVILES, OFELIA         ADDRESS ON FILE
CRUZ AVILES, PATRICIA       ADDRESS ON FILE
CRUZ AVILES, SANDY          ADDRESS ON FILE
CRUZ AVILES, SANDY          ADDRESS ON FILE
CRUZ AVILES, ZORAIDA        ADDRESS ON FILE
CRUZ AYALA, ALFREDO         ADDRESS ON FILE
CRUZ AYALA, ANGEL           ADDRESS ON FILE
CRUZ AYALA, ANTHONY         ADDRESS ON FILE
CRUZ AYALA, ANTONIO J       ADDRESS ON FILE
CRUZ AYALA, CARLOS          ADDRESS ON FILE
CRUZ AYALA, CARLOS R.       ADDRESS ON FILE
CRUZ AYALA, CARMEN G        ADDRESS ON FILE
CRUZ AYALA, CARMEN I        ADDRESS ON FILE
CRUZ AYALA, DANIEL          ADDRESS ON FILE
CRUZ AYALA, DAVID           ADDRESS ON FILE
CRUZ AYALA, EDILIS          ADDRESS ON FILE
CRUZ AYALA, EDWIN           ADDRESS ON FILE
CRUZ AYALA, EDWIN RODOLFO   ADDRESS ON FILE
CRUZ AYALA, EFRAIN          ADDRESS ON FILE
CRUZ AYALA, ELI             ADDRESS ON FILE
CRUZ AYALA, EVELYN          ADDRESS ON FILE
CRUZ AYALA, FRANK           ADDRESS ON FILE
CRUZ AYALA, GREGORIO        ADDRESS ON FILE
CRUZ AYALA, HERIBERTO       ADDRESS ON FILE
CRUZ AYALA, HERMINIA        ADDRESS ON FILE
CRUZ AYALA, HILDA M         ADDRESS ON FILE
CRUZ AYALA, HILDELISE       ADDRESS ON FILE
Cruz Ayala, Ivan            ADDRESS ON FILE
CRUZ AYALA, IVETTE          ADDRESS ON FILE
CRUZ AYALA, JORGE           ADDRESS ON FILE
CRUZ AYALA, JOSE            ADDRESS ON FILE
CRUZ AYALA, JOSE            ADDRESS ON FILE
CRUZ AYALA, JOSE A.         ADDRESS ON FILE
CRUZ AYALA, JOSE I.         ADDRESS ON FILE
CRUZ AYALA, JOSE L.         ADDRESS ON FILE
CRUZ AYALA, JOSE W          ADDRESS ON FILE
CRUZ AYALA, LILLIAM         ADDRESS ON FILE
CRUZ AYALA, LILLIAM         POR DERECHO PROPIO        CALLEINCIPAL N‐4                  VAN SCOY              BAYAMO      PR      00957
CRUZ AYALA, MARGARITA       ADDRESS ON FILE
CRUZ AYALA, MARILYN         ADDRESS ON FILE
CRUZ AYALA, MIGUEL          ADDRESS ON FILE
CRUZ AYALA, MILIXA          ADDRESS ON FILE
CRUZ AYALA, MYRNA L         ADDRESS ON FILE
CRUZ AYALA, NAYSA M         ADDRESS ON FILE
CRUZ AYALA, NELIA M         ADDRESS ON FILE
CRUZ AYALA, NOEMI           ADDRESS ON FILE
CRUZ AYALA, OBETH           ADDRESS ON FILE
CRUZ AYALA, PEDRO J         ADDRESS ON FILE
CRUZ AYALA, ROSALID         ADDRESS ON FILE
CRUZ AYALA, WANDA           ADDRESS ON FILE




                                                                         Page 1902 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1903 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ AYALA, WILMALYS                ADDRESS ON FILE
CRUZ AYALA, WILSON OMAR             ADDRESS ON FILE
CRUZ AYALA, YOLANDA                 ADDRESS ON FILE
CRUZ AYALA, ZORAIDA                 ADDRESS ON FILE
CRUZ AYALA,EDWIN R.                 ADDRESS ON FILE
CRUZ AYENDE, JOAN F.                ADDRESS ON FILE
CRUZ AZUL DE PR                     ADDRESS ON FILE
CRUZ B VALENTIN Y OMAR B VALENTIN   ADDRESS ON FILE
CRUZ BADIA, MICHELLE                ADDRESS ON FILE
CRUZ BADIA, PATRICIA                ADDRESS ON FILE
CRUZ BAEZ MD, EDGARD A              ADDRESS ON FILE
CRUZ BAEZ, ADAM                     ADDRESS ON FILE
CRUZ BAEZ, ANA L                    ADDRESS ON FILE
Cruz Baez, Antonio                  ADDRESS ON FILE
CRUZ BAEZ, AUREA E                  ADDRESS ON FILE
CRUZ BAEZ, BEATRIZ                  ADDRESS ON FILE
CRUZ BAEZ, CLARIBEL                 ADDRESS ON FILE
CRUZ BAEZ, EDRICK                   ADDRESS ON FILE
CRUZ BAEZ, EVANGELINE               ADDRESS ON FILE
CRUZ BAEZ, GLORIBELL                ADDRESS ON FILE
CRUZ BAEZ, HORACIO A                ADDRESS ON FILE
CRUZ BAEZ, JOSEFINO                 ADDRESS ON FILE
Cruz Baez, Luis G                   ADDRESS ON FILE
Cruz Baez, Marggie                  ADDRESS ON FILE
CRUZ BAEZ, MARLENE                  ADDRESS ON FILE
CRUZ BAEZ, MAYRA I                  ADDRESS ON FILE
CRUZ BAEZ, MAYRA I.                 ADDRESS ON FILE
CRUZ BAEZ, NOELIA                   ADDRESS ON FILE
CRUZ BAEZ, NORMA R                  ADDRESS ON FILE
CRUZ BAEZ, NYDIA E                  ADDRESS ON FILE
CRUZ BAEZ, SAMUEL                   ADDRESS ON FILE
CRUZ BAEZ, SILKIA N                 ADDRESS ON FILE
CRUZ BAEZ, VILMA J.                 ADDRESS ON FILE
CRUZ BAEZ, WANDA I.                 ADDRESS ON FILE
CRUZ BAEZ, YIMARIE                  ADDRESS ON FILE
CRUZ BALLESTER, ALEXIS M            ADDRESS ON FILE
Cruz Banks, Jamani Ramon            ADDRESS ON FILE
CRUZ BARBOSA, KATIRA                ADDRESS ON FILE
CRUZ BAREA, PEDRO O                 ADDRESS ON FILE
CRUZ BARRERA,DONNA                  ADDRESS ON FILE
CRUZ BARRETO, ANA M                 ADDRESS ON FILE
CRUZ BARRETO, CARMEN                ADDRESS ON FILE
CRUZ BARRETO, JORGE                 ADDRESS ON FILE
CRUZ BARRETO, OLGA                  ADDRESS ON FILE
CRUZ BARRETO, ROBERTO               ADDRESS ON FILE
Cruz Barreto, Victor M              ADDRESS ON FILE
CRUZ BARRIENTOS, MORAIMA L          ADDRESS ON FILE
CRUZ BARRIOS, LUISA A               ADDRESS ON FILE
CRUZ BARROS, DAMARA MAE             ADDRESS ON FILE
CRUZ BARROSO, MARIA E               ADDRESS ON FILE
CRUZ BARROSO, PABLO                 ADDRESS ON FILE
CRUZ BARTOLA, CARMEN                ADDRESS ON FILE
CRUZ BARTOLOMEI, WILMARIE           ADDRESS ON FILE
CRUZ BATISTA, ANTONIO               ADDRESS ON FILE
CRUZ BATISTA, ANTONIO               ADDRESS ON FILE
CRUZ BATISTA, EDNA G.               ADDRESS ON FILE
CRUZ BATISTA, MARIBEL               ADDRESS ON FILE
CRUZ BATISTA, VANESSA               ADDRESS ON FILE
CRUZ BATISTA, WILMA A               ADDRESS ON FILE
CRUZ BAUZA, MARIA D                 ADDRESS ON FILE




                                                                                Page 1903 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1904 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ BAYRON, CARLOS          ADDRESS ON FILE
Cruz Belardo, Ian X          ADDRESS ON FILE
CRUZ BELARDO, JAN            ADDRESS ON FILE
CRUZ BELBRU, JENNY           ADDRESS ON FILE
CRUZ BELBRU, MILAGROS        ADDRESS ON FILE
CRUZ BELEN, DIANA I          ADDRESS ON FILE
CRUZ BELEN, IRIS D.          ADDRESS ON FILE
CRUZ BELEN, PILAR            ADDRESS ON FILE
CRUZ BELLO, ZULMA            ADDRESS ON FILE
CRUZ BELTRAN, ANA D          ADDRESS ON FILE
CRUZ BELTRAN, ARIEL A        ADDRESS ON FILE
CRUZ BELTRAN, JESSENIA       ADDRESS ON FILE
CRUZ BELTRAN, JOSE           ADDRESS ON FILE
CRUZ BELTRAN, MARITZA        ADDRESS ON FILE
CRUZ BELTRAN, NICOLAS        ADDRESS ON FILE
CRUZ BELTRAN, PEDRO          ADDRESS ON FILE
CRUZ BELTRAN, WILLIAM        ADDRESS ON FILE
CRUZ BENITEZ, ALEXANDER      ADDRESS ON FILE
CRUZ BENITEZ, ANGEL M        ADDRESS ON FILE
Cruz Benitez, Brenda I.      ADDRESS ON FILE
CRUZ BENITEZ, CARLOS R.      ADDRESS ON FILE
Cruz Benitez, Efrain         ADDRESS ON FILE
CRUZ BENITEZ, JOSE A         ADDRESS ON FILE
CRUZ BENITEZ, JULIO          ADDRESS ON FILE
CRUZ BENITEZ, JULIO          ADDRESS ON FILE
CRUZ BENITEZ, JULIO CESAR    ADDRESS ON FILE
CRUZ BENITEZ, LUIS           ADDRESS ON FILE
CRUZ BENITEZ, LUIS A         ADDRESS ON FILE
CRUZ BENITEZ, MIRIAM C       ADDRESS ON FILE
CRUZ BENITEZ, MYRNA E        ADDRESS ON FILE
CRUZ BENITEZ, NAYDA J        ADDRESS ON FILE
CRUZ BENITEZ, NYDIA          ADDRESS ON FILE
CRUZ BENITEZ, RALPH          ADDRESS ON FILE
CRUZ BENITEZ, SONIA          ADDRESS ON FILE
CRUZ BENITEZ, SONIA          ADDRESS ON FILE
Cruz Benitez, Virgen M       ADDRESS ON FILE
CRUZ BERMUDEZ, AIDA L        ADDRESS ON FILE
CRUZ BERMUDEZ, ALIDA M       ADDRESS ON FILE
CRUZ BERMUDEZ, FLOR M        ADDRESS ON FILE
CRUZ BERMUDEZ, IVAN          ADDRESS ON FILE
CRUZ BERNARD, LYNNETTE       ADDRESS ON FILE
CRUZ BERNIER, LILIA P        ADDRESS ON FILE
CRUZ BERRIOS MD, CARINA      ADDRESS ON FILE
CRUZ BERRIOS, ANDRES         ADDRESS ON FILE
CRUZ BERRIOS, AXEL M.        ADDRESS ON FILE
CRUZ BERRIOS, EFIGENIA       ADDRESS ON FILE
CRUZ BERRIOS, ELSA           ADDRESS ON FILE
CRUZ BERRIOS, ELSA JOHANNA   ADDRESS ON FILE
CRUZ BERRIOS, ENID I         ADDRESS ON FILE
CRUZ BERRIOS, EVELYN         ADDRESS ON FILE
CRUZ BERRIOS, GERARDO A.     ADDRESS ON FILE
Cruz Berrios, Janet          ADDRESS ON FILE
CRUZ BERRIOS, JUAN           ADDRESS ON FILE
CRUZ BERRIOS, JULIO          ADDRESS ON FILE
CRUZ BERRIOS, KATHYA         ADDRESS ON FILE
CRUZ BERRIOS, LEYDA          ADDRESS ON FILE
CRUZ BERRIOS, LEYDA E        ADDRESS ON FILE
CRUZ BERRIOS, MAGDA          ADDRESS ON FILE
CRUZ BERRIOS, MARGARITA      ADDRESS ON FILE
CRUZ BERRIOS, NILKA D        ADDRESS ON FILE




                                                                         Page 1904 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1905 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ BERRIOS, ODALYS        ADDRESS ON FILE
CRUZ BERRIOS, SHEILA        ADDRESS ON FILE
CRUZ BERRIOS, YANIRA        ADDRESS ON FILE
CRUZ BERRIOS, ZORAIDA       ADDRESS ON FILE
CRUZ BERROCALES, VIRGEN     ADDRESS ON FILE
CRUZ BERROCALES, VIRGEN     ADDRESS ON FILE
CRUZ BETANCOURT, AIRAM J    ADDRESS ON FILE
CRUZ BETANCOURT, JOHAN      ADDRESS ON FILE
CRUZ BETANCOURT, LIZZETTE   ADDRESS ON FILE
CRUZ BETANCOURT, MARIA      ADDRESS ON FILE
CRUZ BETANCOURT, MARIBEL    ADDRESS ON FILE
Cruz Betancourt, Pablo      ADDRESS ON FILE
CRUZ BETANCOURT, PABLO      ADDRESS ON FILE
CRUZ BETANCOURT, PABLO      ADDRESS ON FILE
CRUZ BIDOT, NORMA P         ADDRESS ON FILE
CRUZ BIRRIEL, MARGARITA     ADDRESS ON FILE
CRUZ BLANC, ARTURO          ADDRESS ON FILE
CRUZ BLANCO, ORLANDO        ADDRESS ON FILE
CRUZ BLANCO, PETRA M        ADDRESS ON FILE
CRUZ BLANCO, SAMILISSE      ADDRESS ON FILE
CRUZ BLANDON, BAYARDO       ADDRESS ON FILE
CRUZ BLAZQUEZ, GABRIEL      ADDRESS ON FILE
CRUZ BOISON, REYES          ADDRESS ON FILE
CRUZ BONANO, LINNETE        ADDRESS ON FILE
CRUZ BONILLA, ANDRES        ADDRESS ON FILE
CRUZ BONILLA, ANDRES        ADDRESS ON FILE
CRUZ BONILLA, ANDRES M.     ADDRESS ON FILE
CRUZ BONILLA, CARLOS A      ADDRESS ON FILE
CRUZ BONILLA, CARMEN M.     ADDRESS ON FILE
CRUZ BONILLA, GLORIA E      ADDRESS ON FILE
CRUZ BONILLA, ISMARIS       ADDRESS ON FILE
CRUZ BONILLA, ISRAEL        ADDRESS ON FILE
CRUZ BONILLA, ISRAEL        ADDRESS ON FILE
Cruz Bonilla, Javier        ADDRESS ON FILE
CRUZ BONILLA, JEANETTE      ADDRESS ON FILE
CRUZ BONILLA, JOHNNY        ADDRESS ON FILE
CRUZ BONILLA, LESBIA        ADDRESS ON FILE
CRUZ BONILLA, LESBIA        ADDRESS ON FILE
CRUZ BONILLA, MYRNA N       ADDRESS ON FILE
CRUZ BONILLA, ROSA A        ADDRESS ON FILE
CRUZ BONILLA, WANDA         ADDRESS ON FILE
Cruz Bonilla, Wanda I       ADDRESS ON FILE
CRUZ BONILLA, ZAIDA G       ADDRESS ON FILE
CRUZ BORIA, MIGUEL          ADDRESS ON FILE
CRUZ BORRERO, DAGMARIS      ADDRESS ON FILE
CRUZ BORRERO, MICHELLE      ADDRESS ON FILE
Cruz Bosch, Luis A          ADDRESS ON FILE
CRUZ BOSQUES, MARTIN        ADDRESS ON FILE
CRUZ BOYRIE, GABRIEL        ADDRESS ON FILE
Cruz Bracero, Carlos        ADDRESS ON FILE
CRUZ BRACERO, MARIA M.      ADDRESS ON FILE
CRUZ BRACERO, XIOMARA       ADDRESS ON FILE
CRUZ BRACERO, XIOMARA       ADDRESS ON FILE
CRUZ BRAVO, MARITZA         ADDRESS ON FILE
CRUZ BRAVO, NELSON          ADDRESS ON FILE
CRUZ BRITO, CARMEN S        ADDRESS ON FILE
CRUZ BROWNELL, MARIE F.     ADDRESS ON FILE
CRUZ BRUNO, RICARDO         ADDRESS ON FILE
CRUZ BUCH, FERNANDO         ADDRESS ON FILE
Cruz Bujosa, Jorge A        ADDRESS ON FILE




                                                                        Page 1905 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1906 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                    Address2                       Address3   Address4   City         State   PostalCode   Country
CRUZ BUJOSA, JOSE A          ADDRESS ON FILE
Cruz Burgos, Ana L           ADDRESS ON FILE
Cruz Burgos, Carlos H        ADDRESS ON FILE
CRUZ BURGOS, DIANA           ADDRESS ON FILE
Cruz Burgos, Felix J         ADDRESS ON FILE
CRUZ BURGOS, FRANCISCA       ADDRESS ON FILE
CRUZ BURGOS, JORGE A         ADDRESS ON FILE
CRUZ BURGOS, JOSE            ADDRESS ON FILE
CRUZ BURGOS, JOSE            ADDRESS ON FILE
CRUZ BURGOS, JOSE A.         ADDRESS ON FILE
CRUZ BURGOS, JOSE RAMON      ADDRESS ON FILE
CRUZ BURGOS, JUAN            ADDRESS ON FILE
CRUZ BURGOS, JUAN RAFAEL     ADDRESS ON FILE
CRUZ BURGOS, JUANITA         ADDRESS ON FILE
CRUZ BURGOS, KARELY          ADDRESS ON FILE
CRUZ BURGOS, MARIA           ADDRESS ON FILE
CRUZ BURGOS, MELVIN          ADDRESS ON FILE
CRUZ BURGOS, NANCY           ADDRESS ON FILE
CRUZ BURGOS, NORMA           ADDRESS ON FILE
CRUZ BURGOS, OMAYRA L        ADDRESS ON FILE
CRUZ BURGOS, PAULA           ADDRESS ON FILE
CRUZ BURGOS, PEDRO           ADDRESS ON FILE
CRUZ BURGOS, RAMON           ADDRESS ON FILE
CRUZ BURGOS, RAMON           ADDRESS ON FILE
CRUZ BURGOS, SERAPIA         ADDRESS ON FILE
CRUZ BURGOS, SOL E           ADDRESS ON FILE
CRUZ BURGOS, VICTOR R        ADDRESS ON FILE
CRUZ BURGOS, VIOLETA         ADDRESS ON FILE
CRUZ BURGOS, YOLANDA         ADDRESS ON FILE
CRUZ BURGOS, ZORAIDA         ADDRESS ON FILE
CRUZ BUS LINE CORP           37 CALLE JOSE N ARZUAGA                                                          JUNCOS       PR      00777‐3254
CRUZ BUS LINE CORP.          CALLE JOSE N. ARZUAGA #37                                                        JUNCOS       PR      00777
CRUZ BUSQUETS, NEFTALI       ADDRESS ON FILE
CRUZ BUSSHER, MIRIAM Y       ADDRESS ON FILE
CRUZ CABALLERO, ANA E.       ADDRESS ON FILE
Cruz Caballero, Jose         ADDRESS ON FILE
CRUZ CABALLERO, MAGALY       ADDRESS ON FILE
CRUZ CABALLERO, MARISEL      ADDRESS ON FILE
CRUZ CABALLERO, WANDA I      ADDRESS ON FILE
CRUZ CABAN, JOEL             ADDRESS ON FILE
CRUZ CABAN, MARGARITA        ADDRESS ON FILE
CRUZ CABAN, MARILIA D        ADDRESS ON FILE
CRUZ CABAN, SAMAI E          ADDRESS ON FILE
CRUZ CABAÑA MD, GRIMANESSA   ADDRESS ON FILE
CRUZ CABEZA, LAURIANN        ADDRESS ON FILE
CRUZ CABEZA, RICKY           ADDRESS ON FILE
CRUZ CABEZA, VERONICA        ADDRESS ON FILE
CRUZ CABEZUDO, MIRIAM        ADDRESS ON FILE
CRUZ CABRERA, AIDA           ADDRESS ON FILE
CRUZ CABRERA, ANA            ADDRESS ON FILE
CRUZ CABRERA, CARLOS         ADDRESS ON FILE
CRUZ CABRERA, GRICELIS       ADDRESS ON FILE
CRUZ CABRERA, LIZETTE        ADDRESS ON FILE
CRUZ CABRERA, MARIA DE L.    ADDRESS ON FILE
CRUZ CABRERA, MARILYN        ADDRESS ON FILE
CRUZ CABRERA, MIRTHIA        ADDRESS ON FILE
CRUZ CABRERA, PIERETTE       ADDRESS ON FILE
CRUZ CACERES, ALLAN          ADDRESS ON FILE
Cruz Caceres, Reinaldo       ADDRESS ON FILE
CRUZ CAJIGAS, ADA A.         ADDRESS ON FILE




                                                                         Page 1906 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1907 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CAJIGAS, IRMA I              ADDRESS ON FILE
CRUZ CAJIGAS, OSCAR               ADDRESS ON FILE
CRUZ CAJIGAS, WILHEM DEL CARMEN   ADDRESS ON FILE
CRUZ CALDERAS, ANGEL              ADDRESS ON FILE
CRUZ CALDERAS, ANGEL L            ADDRESS ON FILE
CRUZ CALDERAS, CARMEN A           ADDRESS ON FILE
CRUZ CALDERAS, DANIEL             ADDRESS ON FILE
CRUZ CALDERON, CARMEN             ADDRESS ON FILE
CRUZ CALDERON, CYNTHIA            ADDRESS ON FILE
CRUZ CALDERON, EDWIN              ADDRESS ON FILE
CRUZ CALDERON, EUGENIO            ADDRESS ON FILE
CRUZ CALDERON, JESSICA C          ADDRESS ON FILE
Cruz Calderon, Luis J.            ADDRESS ON FILE
CRUZ CALDERON, MARITZA            ADDRESS ON FILE
CRUZ CALDERON, MYRIAM             ADDRESS ON FILE
CRUZ CALDERON, SAMUEL             ADDRESS ON FILE
CRUZ CALDERON, VANESSA            ADDRESS ON FILE
CRUZ CALES, GLADYS M              ADDRESS ON FILE
CRUZ CALIMANO, MARIA E            ADDRESS ON FILE
CRUZ CALIZ, JOSE L.               ADDRESS ON FILE
Cruz Calo, Carmen M               ADDRESS ON FILE
CRUZ CALO, IVELISSE               ADDRESS ON FILE
CRUZ CALO, MANUEL                 ADDRESS ON FILE
Cruz Calo, Nelson                 ADDRESS ON FILE
CRUZ CALO, WILMA                  ADDRESS ON FILE
CRUZ CALO, WILMA                  ADDRESS ON FILE
CRUZ CALO, WILMA                  ADDRESS ON FILE
Cruz Calvente, Angel              ADDRESS ON FILE
CRUZ CALZADA, JULIO L             ADDRESS ON FILE
CRUZ CAMACHO, ARGELIS             ADDRESS ON FILE
Cruz Camacho, Carlos I            ADDRESS ON FILE
CRUZ CAMACHO, ESTRELLA            ADDRESS ON FILE
CRUZ CAMACHO, GLORIA E.           ADDRESS ON FILE
CRUZ CAMACHO, INOCENCIA           ADDRESS ON FILE
Cruz Camacho, Jesus               ADDRESS ON FILE
Cruz Camacho, Jose                ADDRESS ON FILE
CRUZ CAMACHO, JOSE                ADDRESS ON FILE
CRUZ CAMACHO, MARANLLELYS         ADDRESS ON FILE
CRUZ CAMACHO, MARIAN              ADDRESS ON FILE
CRUZ CAMACHO, MILDRED             ADDRESS ON FILE
CRUZ CAMACHO, NELSON              ADDRESS ON FILE
CRUZ CAMACHO, OMAYRA              ADDRESS ON FILE
CRUZ CAMACHO, REINA I             ADDRESS ON FILE
CRUZ CAMERON, MIGUEL              ADDRESS ON FILE
CRUZ CANALES, GABRIEL             ADDRESS ON FILE
CRUZ CANALES, JANNETTE            ADDRESS ON FILE
CRUZ CANALES, LUZ A               ADDRESS ON FILE
CRUZ CANALES, MIGUEL A.           ADDRESS ON FILE
CRUZ CANALES, NILDA               ADDRESS ON FILE
CRUZ CANALES, ROSENDO             ADDRESS ON FILE
CRUZ CANALES, SANDRA              ADDRESS ON FILE
CRUZ CANALS, NAELIA               ADDRESS ON FILE
CRUZ CANALS, NYDIA                ADDRESS ON FILE
Cruz Cancel, Alberto              ADDRESS ON FILE
CRUZ CANCEL, AWILDA               ADDRESS ON FILE
CRUZ CANCEL, AWILDA               ADDRESS ON FILE
CRUZ CANCEL, CARLOS               ADDRESS ON FILE
CRUZ CANCEL, CELIA E              ADDRESS ON FILE
CRUZ CANCEL, ELSA N               ADDRESS ON FILE
CRUZ CANCEL, JENNIFER             ADDRESS ON FILE




                                                                              Page 1907 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1908 of 3500
                                                                            17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                Address1                         Address2                   Address3   Address4   City        State   PostalCode   Country
Cruz Cancel, Louis H         ADDRESS ON FILE
CRUZ CANCEL, MARIA M.        ADDRESS ON FILE
CRUZ CANCEL, MARIA M.        ADDRESS ON FILE
CRUZ CANDELARIA, ABIMAEL     ADDRESS ON FILE
CRUZ CANDELARIA, AIDA I      ADDRESS ON FILE
CRUZ CANDELARIA, FRANCISCO   ADDRESS ON FILE
CRUZ CANDELARIA, IVETTE      ADDRESS ON FILE
CRUZ CANDELARIA, JANIEL      ADDRESS ON FILE
CRUZ CANDELARIA, JORGE       ADDRESS ON FILE
CRUZ CANDELARIA, JOSE        ADDRESS ON FILE
CRUZ CANDELARIA, KARLA M     ADDRESS ON FILE
CRUZ CANDELARIA, LUIS        ADDRESS ON FILE
CRUZ CANDELARIA, MARIE       ADDRESS ON FILE
CRUZ CANDELARIA, MARIE C.    ADDRESS ON FILE
CRUZ CANDELARIA, NILSA E.    ADDRESS ON FILE
CRUZ CANDELARIA, SONIA       ADDRESS ON FILE
Cruz Candelaria, Tomas       ADDRESS ON FILE
CRUZ CANDELARIA, ZENAIDA     ADDRESS ON FILE
CRUZ CANDELARIO, LOURDES     ADDRESS ON FILE
Cruz Candelario, Octavio     ADDRESS ON FILE
CRUZ CANDELARIO, RICARDO     ADDRESS ON FILE
CRUZ CANDELARIO, RICARDO A   ADDRESS ON FILE
CRUZ CANO, LARISSA           ADDRESS ON FILE
CRUZ CANO, MAHONRI           ADDRESS ON FILE
CRUZ CANTRES, EDNA           ADDRESS ON FILE
Cruz Cantres, Otoniel        ADDRESS ON FILE
CRUZ CAPELLA, ORLANDO        ADDRESS ON FILE
CRUZ CAPO, ANTONIO F         ADDRESS ON FILE
CRUZ CARABALLO, AIDA M       ADDRESS ON FILE
CRUZ CARABALLO, ANGEL        ADDRESS ON FILE
CRUZ CARABALLO, ARACELIS     ADDRESS ON FILE
CRUZ CARABALLO, ARDY         ADDRESS ON FILE
CRUZ CARABALLO, CARLOS I.    ADDRESS ON FILE
CRUZ CARABALLO, DEBORAH      ADDRESS ON FILE
CRUZ CARABALLO, ELBA I       ADDRESS ON FILE
CRUZ CARABALLO, FAUSTINO     ADDRESS ON FILE
CRUZ CARABALLO, FAUSTINO     ADDRESS ON FILE
CRUZ CARABALLO, HILDA C.     ADDRESS ON FILE
CRUZ CARABALLO, ISABEL       ADDRESS ON FILE
CRUZ CARABALLO, ITZAIRA M.   ADDRESS ON FILE
CRUZ CARABALLO, JACQUELINE   ADDRESS ON FILE
CRUZ CARABALLO, JAVIER       LCDO. ERASMO RODRÍGUEZ VÁZQUEZ   APT. 1468                                        GUAYAMA     PR      00785
CRUZ CARABALLO, JESUS        ADDRESS ON FILE
CRUZ CARABALLO, LUZ          ADDRESS ON FILE
Cruz Caraballo, Manuel A     ADDRESS ON FILE
CRUZ CARABALLO, MARA S       ADDRESS ON FILE
CRUZ CARABALLO, SANTOS       ADDRESS ON FILE
CRUZ CARABALLO, VANESSA      ADDRESS ON FILE
CRUZ CARDONA, AMADOR         ADDRESS ON FILE
CRUZ CARDONA, ANGEL L        ADDRESS ON FILE
CRUZ CARDONA, EGDA I.        ADDRESS ON FILE
CRUZ CARDONA, ENEIDA         ADDRESS ON FILE
CRUZ CARDONA, ERIC           ADDRESS ON FILE
CRUZ CARDONA, ILUMINADO      ADDRESS ON FILE
CRUZ CARDONA, INGRID         ADDRESS ON FILE
CRUZ CARDONA, JESUS N.       ADDRESS ON FILE
CRUZ CARDONA, JULIO R        ADDRESS ON FILE
CRUZ CARDONA, LUIS H         ADDRESS ON FILE
CRUZ CARDONA, TAYSHA         ADDRESS ON FILE
CRUZ CARLO, DAMARIS          ADDRESS ON FILE




                                                                          Page 1908 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 1909 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CARLO, DAMARYS               ADDRESS ON FILE
CRUZ CARLO, JOSE M.               ADDRESS ON FILE
Cruz Carlo, Manuel J              ADDRESS ON FILE
CRUZ CARMOEGA, PEDRO              ADDRESS ON FILE
CRUZ CARMOEGA, PEDRO E.           ADDRESS ON FILE
CRUZ CARMONA, AMPARO J            ADDRESS ON FILE
CRUZ CARMONA, ANA                 ADDRESS ON FILE
CRUZ CARMONA, ANA                 ADDRESS ON FILE
CRUZ CARO, ANA G                  ADDRESS ON FILE
CRUZ CARRADERO, DAVID             ADDRESS ON FILE
Cruz Carrasco, Antonio            ADDRESS ON FILE
CRUZ CARRASCO, DIANA I            ADDRESS ON FILE
CRUZ CARRASCO, LARRY              ADDRESS ON FILE
CRUZ CARRASQUILLO, ABIGAIL        ADDRESS ON FILE
Cruz Carrasquillo, Edwin          ADDRESS ON FILE
CRUZ CARRASQUILLO, ELISMARIE      ADDRESS ON FILE
CRUZ CARRASQUILLO, FELIX          ADDRESS ON FILE
CRUZ CARRASQUILLO, FLORY          ADDRESS ON FILE
CRUZ CARRASQUILLO, HECTOR         ADDRESS ON FILE
CRUZ CARRASQUILLO, HERIBERTO      ADDRESS ON FILE
CRUZ CARRASQUILLO, IVELISSE       ADDRESS ON FILE
CRUZ CARRASQUILLO, JAN MARIE      ADDRESS ON FILE
CRUZ CARRASQUILLO, JANET          ADDRESS ON FILE
CRUZ CARRASQUILLO, JANISE         ADDRESS ON FILE
CRUZ CARRASQUILLO, JERRY D.       ADDRESS ON FILE
CRUZ CARRASQUILLO, JOSE J.        ADDRESS ON FILE
CRUZ CARRASQUILLO, JOSE LUIS      ADDRESS ON FILE
CRUZ CARRASQUILLO, JOSUE          ADDRESS ON FILE
CRUZ CARRASQUILLO, JUAN           ADDRESS ON FILE
CRUZ CARRASQUILLO, KRISTOPHER     ADDRESS ON FILE
CRUZ CARRASQUILLO, LOURDES        ADDRESS ON FILE
CRUZ CARRASQUILLO, LUIS           ADDRESS ON FILE
CRUZ CARRASQUILLO, LUIS           ADDRESS ON FILE
CRUZ CARRASQUILLO, LUIS A         ADDRESS ON FILE
CRUZ CARRASQUILLO, MARIA B        ADDRESS ON FILE
CRUZ CARRASQUILLO, MIKE           ADDRESS ON FILE
CRUZ CARRASQUILLO, NORMA          ADDRESS ON FILE
CRUZ CARRASQUILLO, ROBERTO LUIS   ADDRESS ON FILE
CRUZ CARRASQUILLO, TAIRY L        ADDRESS ON FILE
CRUZ CARRERA, LAWRENCE            ADDRESS ON FILE
CRUZ CARRERO, OSCAR               ADDRESS ON FILE
CRUZ CARRILLO, ALEXIS J           ADDRESS ON FILE
CRUZ CARRILLO, CARLOS J           ADDRESS ON FILE
CRUZ CARRILLO, DAVID              ADDRESS ON FILE
Cruz Carrillo, Javier             ADDRESS ON FILE
CRUZ CARRILLO, JAVIER             ADDRESS ON FILE
CRUZ CARRILLO, JULIO E            ADDRESS ON FILE
CRUZ CARRILLO, LEILA R            ADDRESS ON FILE
CRUZ CARRILLO, LEILA R.           ADDRESS ON FILE
CRUZ CARRILLO, MIROSLAVA          ADDRESS ON FILE
CRUZ CARRION, ANGEL E             ADDRESS ON FILE
CRUZ CARRION, CARIB               ADDRESS ON FILE
CRUZ CARRION, CARLOS R            ADDRESS ON FILE
Cruz Carrion, Cynthia             ADDRESS ON FILE
CRUZ CARRION, FRANCISCO           ADDRESS ON FILE
CRUZ CARRION, MARIANNE            ADDRESS ON FILE
CRUZ CARRION, MILAGROS R          ADDRESS ON FILE
CRUZ CARRION, NADIA M             ADDRESS ON FILE
CRUZ CARRION, PEDRO               ADDRESS ON FILE
CRUZ CARRION, SANTA V.            ADDRESS ON FILE




                                                                              Page 1909 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1910 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CARRION, VICTORIA        ADDRESS ON FILE
CRUZ CARRION, ZORAIDA         ADDRESS ON FILE
CRUZ CARTAGENA, ANGEL L       ADDRESS ON FILE
CRUZ CARTAGENA, ANNETTE       ADDRESS ON FILE
CRUZ CARTAGENA, ELIZABETH     ADDRESS ON FILE
CRUZ CARTAGENA, ESTRELLITA    ADDRESS ON FILE
CRUZ CARTAGENA, ISYADIEL      ADDRESS ON FILE
Cruz Cartagena, Jose M        ADDRESS ON FILE
Cruz Cartagena, Lorenzo       ADDRESS ON FILE
CRUZ CARTAGENA, LUIS J        ADDRESS ON FILE
CRUZ CARTAGENA, MARIA DEL C   ADDRESS ON FILE
CRUZ CARTAGENA, MARIA DEL C   ADDRESS ON FILE
CRUZ CARTAGENA, MAYRA         ADDRESS ON FILE
CRUZ CARTAGENA, REBECA        ADDRESS ON FILE
CRUZ CARTAGENA, ROSA          ADDRESS ON FILE
CRUZ CARTAGENA, YURILU        ADDRESS ON FILE
CRUZ CASADO, SONIA I          ADDRESS ON FILE
CRUZ CASANAS, YADIRA O        ADDRESS ON FILE
CRUZ CASANOVA, BLANCA I       ADDRESS ON FILE
CRUZ CASANOVA, DENNYLLIAM     ADDRESS ON FILE
Cruz Casanova, Henry J        ADDRESS ON FILE
CRUZ CASANOVA, JUANITA        ADDRESS ON FILE
CRUZ CASANOVA, MAYRA I.       ADDRESS ON FILE
CRUZ CASANOVA, NAYDA          ADDRESS ON FILE
CRUZ CASIANO, AMARILIZ        ADDRESS ON FILE
CRUZ CASIANO, EDWIN           ADDRESS ON FILE
CRUZ CASIANO, JOSE            ADDRESS ON FILE
CRUZ CASIANO, JOSE A          ADDRESS ON FILE
CRUZ CASIANO, JUAN            ADDRESS ON FILE
CRUZ CASIANO, MARGARITA       ADDRESS ON FILE
CRUZ CASIANO, MARILYN         ADDRESS ON FILE
CRUZ CASILLAS, LUIS           ADDRESS ON FILE
CRUZ CASILLAS, SHIRLEY        ADDRESS ON FILE
CRUZ CASILLAS, SHIRLEY M.     ADDRESS ON FILE
CRUZ CASTELLANOS, MIGUEL DE   ADDRESS ON FILE
CRUZ CASTILLLO, MELISSA       ADDRESS ON FILE
CRUZ CASTILLO, BERNARDO       ADDRESS ON FILE
CRUZ CASTILLO, CARMEN M       ADDRESS ON FILE
CRUZ CASTILLO, EDWIN A.       ADDRESS ON FILE
CRUZ CASTILLO, LUZ N          ADDRESS ON FILE
CRUZ CASTILLO, MARLYN L.      ADDRESS ON FILE
CRUZ CASTILLO, MARLYN L.      ADDRESS ON FILE
CRUZ CASTILLO, OSCAR          ADDRESS ON FILE
CRUZ CASTILLO, RAMONA         ADDRESS ON FILE
CRUZ CASTILLO, RAQUEL         ADDRESS ON FILE
CRUZ CASTILLO, SAMUEL         ADDRESS ON FILE
CRUZ CASTILLO, YEDI           ADDRESS ON FILE
CRUZ CASTRO, AMARILIS         ADDRESS ON FILE
CRUZ CASTRO, ANA R            ADDRESS ON FILE
CRUZ CASTRO, ANNEL            ADDRESS ON FILE
Cruz Castro, Armando          ADDRESS ON FILE
CRUZ CASTRO, ARSENIA          ADDRESS ON FILE
Cruz Castro, Carlos M         ADDRESS ON FILE
CRUZ CASTRO, CINDIA Y.        ADDRESS ON FILE
CRUZ CASTRO, DELIA            ADDRESS ON FILE
CRUZ CASTRO, EDGAR            ADDRESS ON FILE
CRUZ CASTRO, EDUARDO          ADDRESS ON FILE
CRUZ CASTRO, EDWIN            ADDRESS ON FILE
CRUZ CASTRO, ENEIDA           ADDRESS ON FILE
CRUZ CASTRO, FELIX            ADDRESS ON FILE




                                                                          Page 1910 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1911 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CASTRO, FELIX         ADDRESS ON FILE
CRUZ CASTRO, FELIX         ADDRESS ON FILE
CRUZ CASTRO, GABRIEL       ADDRESS ON FILE
CRUZ CASTRO, GRACIELA      ADDRESS ON FILE
CRUZ CASTRO, GRACIELA      ADDRESS ON FILE
CRUZ CASTRO, JOHANNA       ADDRESS ON FILE
Cruz Castro, Jose A        ADDRESS ON FILE
CRUZ CASTRO, JOSE O        ADDRESS ON FILE
CRUZ CASTRO, LEONOR        ADDRESS ON FILE
CRUZ CASTRO, LUIS          ADDRESS ON FILE
CRUZ CASTRO, MARGARITA     ADDRESS ON FILE
CRUZ CASTRO, MARIANO       ADDRESS ON FILE
CRUZ CASTRO, MARISOL       ADDRESS ON FILE
CRUZ CASTRO, MIRIAM        ADDRESS ON FILE
Cruz Castro, Pablo         ADDRESS ON FILE
CRUZ CASTRO, RAMON A.      ADDRESS ON FILE
CRUZ CASTRO, ROBERTO       ADDRESS ON FILE
CRUZ CASTRO, SARAI         ADDRESS ON FILE
Cruz Castro, Veronica      ADDRESS ON FILE
CRUZ CASTRO, ZORAIDA       ADDRESS ON FILE
CRUZ CATALA, PEDRO R.      ADDRESS ON FILE
CRUZ CEBALLOS, NILDA E     ADDRESS ON FILE
Cruz Ceballos, Pedro       ADDRESS ON FILE
CRUZ CEDENO MD, EURIDICE   ADDRESS ON FILE
CRUZ CEDENO, ABNER A.      ADDRESS ON FILE
CRUZ CEDENO, AVID          ADDRESS ON FILE
CRUZ CEDENO, EURIDICE      ADDRESS ON FILE
CRUZ CEDENO, NEYZA         ADDRESS ON FILE
CRUZ CEDENO, RAFAEL        ADDRESS ON FILE
CRUZ CEDENO, ROLANDO       ADDRESS ON FILE
CRUZ CEDENO, ROSA E        ADDRESS ON FILE
Cruz Centeno, Awilda       ADDRESS ON FILE
CRUZ CENTENO, DOMINGO      ADDRESS ON FILE
CRUZ CENTENO, LILLIANA     ADDRESS ON FILE
CRUZ CENTENO, MARIA L      ADDRESS ON FILE
CRUZ CENTENO, MARIBEL      ADDRESS ON FILE
CRUZ CENTENO, SANDRA       ADDRESS ON FILE
CRUZ CENTENO, SOLEONOR     ADDRESS ON FILE
CRUZ CEPEDA, ANGELICA      ADDRESS ON FILE
CRUZ CEPEDA, JOSE M.       ADDRESS ON FILE
CRUZ CEPEDA, KIMBERLY      ADDRESS ON FILE
CRUZ CEPEDA, WILFREDO      ADDRESS ON FILE
CRUZ CEREZO, CHAUDELIN     ADDRESS ON FILE
Cruz Cerezo, Swinda L.     ADDRESS ON FILE
Cruz Cervera, Jose         ADDRESS ON FILE
CRUZ CERVERA, JOSE         ADDRESS ON FILE
Cruz Cervera, Jose M.      ADDRESS ON FILE
CRUZ CESTERO MD, JOSE R    ADDRESS ON FILE
CRUZ CHACON, JUAN          ADDRESS ON FILE
CRUZ CHAMORRO, CARMEN L    ADDRESS ON FILE
CRUZ CHAPEL, MARIA P       ADDRESS ON FILE
CRUZ CHEVERE, RAFAEL       ADDRESS ON FILE
CRUZ CHEVEREZ, FRANCES     ADDRESS ON FILE
CRUZ CHICLANA, RAMON L     ADDRESS ON FILE
CRUZ CHICO, FERNANDO       ADDRESS ON FILE
Cruz Chico, Jose E         ADDRESS ON FILE
CRUZ CHICO, KENNETH        ADDRESS ON FILE
Cruz Chico, Luis           ADDRESS ON FILE
CRUZ CHIESA, LAURA I.      ADDRESS ON FILE
CRUZ CHINEA, ADRIEL        ADDRESS ON FILE




                                                                       Page 1911 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1912 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CHINEA, JOSE A        ADDRESS ON FILE
CRUZ CHRISTIAN, DAISY      ADDRESS ON FILE
CRUZ CHRISTIAN, GRISELLE   ADDRESS ON FILE
CRUZ CHRISTIAN, GRISELLE   ADDRESS ON FILE
Cruz Cintron, Angel L      ADDRESS ON FILE
CRUZ CINTRON, CARMEN       ADDRESS ON FILE
CRUZ CINTRON, DANIEL       ADDRESS ON FILE
CRUZ CINTRON, EDDIE        ADDRESS ON FILE
CRUZ CINTRON, EILEEN       ADDRESS ON FILE
CRUZ CINTRON, ELSIE        ADDRESS ON FILE
CRUZ CINTRON, ENA E        ADDRESS ON FILE
CRUZ CINTRON, ESDRAS       ADDRESS ON FILE
CRUZ CINTRON, FRANCELYS    ADDRESS ON FILE
CRUZ CINTRON, GLENDA J     ADDRESS ON FILE
CRUZ CINTRON, JOSE A.      ADDRESS ON FILE
CRUZ CINTRON, JOSE A.      ADDRESS ON FILE
CRUZ CINTRON, JOSE ANGEL   ADDRESS ON FILE
CRUZ CINTRON, JOSEPHINE    ADDRESS ON FILE
CRUZ CINTRON, JUAN C       ADDRESS ON FILE
CRUZ CINTRON, JUAN F       ADDRESS ON FILE
CRUZ CINTRON, JUAN J       ADDRESS ON FILE
CRUZ CINTRON, JUANITA      ADDRESS ON FILE
CRUZ CINTRON, KAREN I      ADDRESS ON FILE
CRUZ CINTRON, LUIS G.      ADDRESS ON FILE
CRUZ CINTRON, LUISANA      ADDRESS ON FILE
CRUZ CINTRON, MARIA        ADDRESS ON FILE
CRUZ CINTRON, MARIA        ADDRESS ON FILE
CRUZ CINTRON, MARIBELLA    ADDRESS ON FILE
CRUZ CINTRON, MIANSEL      ADDRESS ON FILE
CRUZ CINTRON, MIRIAM       ADDRESS ON FILE
CRUZ CINTRON, RAUL         ADDRESS ON FILE
CRUZ CINTRON, RICARDO      ADDRESS ON FILE
CRUZ CINTRON, SILVERIO     ADDRESS ON FILE
CRUZ CIRINO, LIZ M.        ADDRESS ON FILE
CRUZ CIRINO, MARTA L       ADDRESS ON FILE
CRUZ CIRINO, MEYLIANIS     ADDRESS ON FILE
CRUZ CLAS, JOSE A          ADDRESS ON FILE
CRUZ CLASS, JAIME          ADDRESS ON FILE
CRUZ CLASS, JOANNY         ADDRESS ON FILE
CRUZ CLAUDIO, ANDRES       ADDRESS ON FILE
CRUZ CLAUDIO, DORIS        ADDRESS ON FILE
CRUZ CLAUDIO, EDDIE        ADDRESS ON FILE
CRUZ CLAUDIO, IVELISSE     ADDRESS ON FILE
CRUZ CLAUDIO, JOSE         ADDRESS ON FILE
CRUZ CLAUDIO, JOSE         ADDRESS ON FILE
CRUZ CLAUDIO, MARIA        ADDRESS ON FILE
CRUZ CLAUDIO, ORLANDO      ADDRESS ON FILE
CRUZ CLEMENTE, ANDRES      ADDRESS ON FILE
CRUZ CLEMENTE, GRACIELA    ADDRESS ON FILE
CRUZ COCHRAN, FRANCISCO    ADDRESS ON FILE
CRUZ COLLAZO GONZALEZ      ADDRESS ON FILE
CRUZ COLLAZO, ADA M        ADDRESS ON FILE
CRUZ COLLAZO, ANAYRIS      ADDRESS ON FILE
CRUZ COLLAZO, ANGEL        ADDRESS ON FILE
CRUZ COLLAZO, ANGEL        ADDRESS ON FILE
CRUZ COLLAZO, ARNALDO      ADDRESS ON FILE
CRUZ COLLAZO, CARMEN M     ADDRESS ON FILE
CRUZ COLLAZO, CARMEN N     ADDRESS ON FILE
CRUZ COLLAZO, DAISY I      ADDRESS ON FILE
CRUZ COLLAZO, EDUARDO      ADDRESS ON FILE




                                                                       Page 1912 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1913 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ COLLAZO, GENESIS N    ADDRESS ON FILE
CRUZ COLLAZO, JORGE        ADDRESS ON FILE
CRUZ COLLAZO, JUAN L       ADDRESS ON FILE
CRUZ COLLAZO, JULIO        ADDRESS ON FILE
CRUZ COLLAZO, JULIO A      ADDRESS ON FILE
CRUZ COLLAZO, LUIS A       ADDRESS ON FILE
CRUZ COLLAZO, LYCELIS      ADDRESS ON FILE
CRUZ COLLAZO, MANUELA      ADDRESS ON FILE
CRUZ COLLAZO, MARIA E      ADDRESS ON FILE
CRUZ COLLAZO, MARIA S.     ADDRESS ON FILE
CRUZ COLLAZO, MARIA T      ADDRESS ON FILE
CRUZ COLLAZO, MILAGROS     ADDRESS ON FILE
CRUZ COLLAZO, NOEMI        ADDRESS ON FILE
CRUZ COLLAZO, OLGA         ADDRESS ON FILE
Cruz Collazo, Olga L       ADDRESS ON FILE
CRUZ COLLAZO, SAMMY        ADDRESS ON FILE
CRUZ COLLAZO, SIRI A.      ADDRESS ON FILE
CRUZ COLLAZO, SIRI ASLIN   ADDRESS ON FILE
CRUZ COLLAZO, YASMIN M     ADDRESS ON FILE
CRUZ COLON, ADALINA        ADDRESS ON FILE
CRUZ COLON, ADALJISA       ADDRESS ON FILE
CRUZ COLON, ALEXANDER      ADDRESS ON FILE
CRUZ COLON, ALFREDO        ADDRESS ON FILE
CRUZ COLON, ALFREDO        ADDRESS ON FILE
CRUZ COLON, ANA            ADDRESS ON FILE
CRUZ COLON, ANA C          ADDRESS ON FILE
CRUZ COLON, ANA C.         ADDRESS ON FILE
CRUZ COLON, ANA I          ADDRESS ON FILE
CRUZ COLON, ANA M          ADDRESS ON FILE
CRUZ COLON, ANA M.         ADDRESS ON FILE
CRUZ COLON, ANGEL          ADDRESS ON FILE
CRUZ COLON, ANGEL M.       ADDRESS ON FILE
CRUZ COLON, ANNA Y         ADDRESS ON FILE
CRUZ COLON, ANTONIA        ADDRESS ON FILE
CRUZ COLON, ANTONIO        ADDRESS ON FILE
CRUZ COLON, BALTAZAR       ADDRESS ON FILE
CRUZ COLON, BETZAIDA       ADDRESS ON FILE
CRUZ COLON, BETZAIDA       ADDRESS ON FILE
CRUZ COLON, BLANCA I       ADDRESS ON FILE
CRUZ COLON, BLANCA I.      ADDRESS ON FILE
CRUZ COLON, BRUNILDA       ADDRESS ON FILE
CRUZ COLON, CARLOS         ADDRESS ON FILE
CRUZ COLON, CARLOS         ADDRESS ON FILE
CRUZ COLON, CARLOS M       ADDRESS ON FILE
CRUZ COLON, CARLOS O       ADDRESS ON FILE
Cruz Colon, Carlos R       ADDRESS ON FILE
CRUZ COLON, CARMEN         ADDRESS ON FILE
Cruz Colon, Carmen I       ADDRESS ON FILE
CRUZ COLON, CARMEN L       ADDRESS ON FILE
CRUZ COLON, CAROLINE       ADDRESS ON FILE
CRUZ COLON, CRISTIAN E     ADDRESS ON FILE
CRUZ COLON, CYNTHIA        ADDRESS ON FILE
Cruz Colon, Daniel         ADDRESS ON FILE
CRUZ COLON, DORIMAR        ADDRESS ON FILE
CRUZ COLON, EDWIN          ADDRESS ON FILE
Cruz Colon, Eliezer        ADDRESS ON FILE
CRUZ COLON, ERIC J         ADDRESS ON FILE
Cruz Colon, Evaristo       ADDRESS ON FILE
CRUZ COLON, EVELYN         ADDRESS ON FILE
CRUZ COLON, EVELYN         ADDRESS ON FILE




                                                                       Page 1913 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1914 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ COLON, FRANCISCO J      ADDRESS ON FILE
CRUZ COLON, FRANCISCO J      ADDRESS ON FILE
CRUZ COLON, GEORGINA         ADDRESS ON FILE
CRUZ COLON, GLORIA E.        ADDRESS ON FILE
CRUZ COLON, GRACIELA         ADDRESS ON FILE
CRUZ COLON, HECTOR L.        ADDRESS ON FILE
Cruz Colon, Hector M         ADDRESS ON FILE
CRUZ COLON, ILEANA           ADDRESS ON FILE
CRUZ COLON, IRIS H           ADDRESS ON FILE
CRUZ COLON, ISRAEL           ADDRESS ON FILE
CRUZ COLON, IVELISSE         ADDRESS ON FILE
CRUZ COLON, JACQUELINE       ADDRESS ON FILE
Cruz Colon, Jaime            ADDRESS ON FILE
Cruz Colon, Joan M.          ADDRESS ON FILE
CRUZ COLON, JOAQUIN          ADDRESS ON FILE
CRUZ COLON, JOCELYN          ADDRESS ON FILE
CRUZ COLON, JONATHAN         ADDRESS ON FILE
CRUZ COLON, JONATHAN         ADDRESS ON FILE
CRUZ COLON, JONATHAN A       ADDRESS ON FILE
CRUZ COLON, JORGE L          ADDRESS ON FILE
CRUZ COLON, JORGE L.         ADDRESS ON FILE
CRUZ COLON, JOSE             ADDRESS ON FILE
CRUZ COLON, JOSE             ADDRESS ON FILE
CRUZ COLON, JOSE             ADDRESS ON FILE
CRUZ COLON, JOSE             ADDRESS ON FILE
CRUZ COLON, JOSE M.          ADDRESS ON FILE
CRUZ COLON, JOSE O.          ADDRESS ON FILE
Cruz Colon, Juan Francisco   ADDRESS ON FILE
CRUZ COLON, JUAN M           ADDRESS ON FILE
CRUZ COLON, LUIS             ADDRESS ON FILE
CRUZ COLON, LUIS R           ADDRESS ON FILE
CRUZ COLON, MAGDA N          ADDRESS ON FILE
CRUZ COLON, MANUEL           ADDRESS ON FILE
CRUZ COLON, MARA R           ADDRESS ON FILE
CRUZ COLON, MARIA DE L       ADDRESS ON FILE
Cruz Colon, Maria Del R      ADDRESS ON FILE
CRUZ COLON, MARIA H          ADDRESS ON FILE
CRUZ COLON, MARIA J          ADDRESS ON FILE
CRUZ COLON, MARICELY         ADDRESS ON FILE
CRUZ COLON, MAYRA            ADDRESS ON FILE
CRUZ COLON, MAYRA            ADDRESS ON FILE
CRUZ COLON, MERARI           ADDRESS ON FILE
CRUZ COLON, MICHELLE         ADDRESS ON FILE
CRUZ COLON, MIGUEL           ADDRESS ON FILE
CRUZ COLON, MIGUEL           ADDRESS ON FILE
Cruz Colon, Miguel A         ADDRESS ON FILE
CRUZ COLON, MIRIAM           ADDRESS ON FILE
CRUZ COLON, MYRNA E.         ADDRESS ON FILE
CRUZ COLON, NELSON           ADDRESS ON FILE
CRUZ COLON, NEREIDA          ADDRESS ON FILE
CRUZ COLON, NITZA            ADDRESS ON FILE
CRUZ COLON, NORMA            ADDRESS ON FILE
CRUZ COLON, NORMA I          ADDRESS ON FILE
CRUZ COLON, NYDIA            ADDRESS ON FILE
CRUZ COLON, ORLANDO          ADDRESS ON FILE
CRUZ COLON, ORLANDO          ADDRESS ON FILE
CRUZ COLON, RAMON L.         ADDRESS ON FILE
CRUZ COLON, RENE             ADDRESS ON FILE
Cruz Colon, Ricardo          ADDRESS ON FILE
CRUZ COLON, RICARDO          ADDRESS ON FILE




                                                                         Page 1914 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1915 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ COLON, RICARDO           ADDRESS ON FILE
CRUZ COLON, RITA              ADDRESS ON FILE
CRUZ COLON, ROSA M            ADDRESS ON FILE
CRUZ COLON, SAMANTHA O        ADDRESS ON FILE
CRUZ COLON, SAMUEL            ADDRESS ON FILE
CRUZ COLON, SANTOS            ADDRESS ON FILE
CRUZ COLON, SANTOS            ADDRESS ON FILE
CRUZ COLON, SHARLENE          ADDRESS ON FILE
CRUZ COLON, SHARLENE          ADDRESS ON FILE
CRUZ COLON, SONIA M           ADDRESS ON FILE
CRUZ COLON, SULEYKA           ADDRESS ON FILE
CRUZ COLON, VILMARY           ADDRESS ON FILE
CRUZ COLON, WILFREDO          ADDRESS ON FILE
CRUZ COLON, WILMARI           ADDRESS ON FILE
CRUZ COLON, YAHAIRA M         ADDRESS ON FILE
CRUZ COLON, YAZMIN            ADDRESS ON FILE
CRUZ COLON, YULIEL            ADDRESS ON FILE
CRUZ COLON, ZORAIDA           ADDRESS ON FILE
CRUZ COLON,MIRIAM             ADDRESS ON FILE
CRUZ COLON,SANTOS             ADDRESS ON FILE
CRUZ COLUMNA, NANETTE         ADDRESS ON FILE
CRUZ COLUMNA, NANETTE         ADDRESS ON FILE
CRUZ COLUMNA, NELSON          ADDRESS ON FILE
CRUZ CONCEPCION, ALEXANDRA    ADDRESS ON FILE
CRUZ CONCEPCION, CARMEN       ADDRESS ON FILE
CRUZ CONCEPCION, ERICK        ADDRESS ON FILE
CRUZ CONCEPCION, GUILLERMO    ADDRESS ON FILE
CRUZ CONCEPCION, JORGE A      ADDRESS ON FILE
CRUZ CONCEPCION, JUDITH M.    ADDRESS ON FILE
CRUZ CONCEPCION, MARIDIA      ADDRESS ON FILE
CRUZ CONCEPCION, MARIO        ADDRESS ON FILE
Cruz Concepcion, Yahaira      ADDRESS ON FILE
CRUZ CONDE, JUAN              ADDRESS ON FILE
CRUZ CONDE, MARIBEL           ADDRESS ON FILE
CRUZ CONSULTING GROUP CORP    PO BOX 749                                                                       CAGUAS       PR      00725
CRUZ CONTRERAS, NILSON        ADDRESS ON FILE
Cruz Contreras, Pedro         ADDRESS ON FILE
CRUZ CORALES, ANGEL           ADDRESS ON FILE
CRUZ CORALES, YOMAR           ADDRESS ON FILE
Cruz Corales, Yomar S         ADDRESS ON FILE
CRUZ CORCHADO, SANDRA         ADDRESS ON FILE
CRUZ CORCHADO, WALESCA        ADDRESS ON FILE
CRUZ CORCHADO, WANDA I        ADDRESS ON FILE
CRUZ CORCHADO, ZORAIDA        ADDRESS ON FILE
CRUZ CORDERO, AIDA            ADDRESS ON FILE
CRUZ CORDERO, ANTONIO         ADDRESS ON FILE
Cruz Cordero, Aurelio         ADDRESS ON FILE
CRUZ CORDERO, EDWIN           ADDRESS ON FILE
CRUZ CORDERO, EMMA I          ADDRESS ON FILE
CRUZ CORDERO, FELIPE          ADDRESS ON FILE
CRUZ CORDERO, GRISSEL         ADDRESS ON FILE
CRUZ CORDERO, HILDA N.        ADDRESS ON FILE
CRUZ CORDERO, JORGE ALBERTO   ADDRESS ON FILE
Cruz Cordero, Juan            ADDRESS ON FILE
CRUZ CORDERO, JULIO A.        ADDRESS ON FILE
CRUZ CORDERO, MIGUEL          ADDRESS ON FILE
Cruz Cordero, Rolando         ADDRESS ON FILE
CRUZ CORDERO, SANDRA I        ADDRESS ON FILE
CRUZ CORDERO, SANDRA J.       ADDRESS ON FILE
CRUZ CORDERO, YANIRA          ADDRESS ON FILE




                                                                          Page 1915 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1916 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CORDERO, YANIRA M     ADDRESS ON FILE
CRUZ CORDOVA, EMMANUEL     ADDRESS ON FILE
CRUZ CORDOVA, JUAN         ADDRESS ON FILE
CRUZ CORDOVA, KAREM E      ADDRESS ON FILE
CRUZ CORDOVA, NORBERTO     ADDRESS ON FILE
CRUZ CORDOVA, RAMONA       ADDRESS ON FILE
CRUZ CORDOVA, SONIA        ADDRESS ON FILE
CRUZ CORE, ROSA I          ADDRESS ON FILE
CRUZ CORES, TOMAS          ADDRESS ON FILE
CRUZ CORREA MD, JESUS      ADDRESS ON FILE
CRUZ CORREA, BENJAMIN      ADDRESS ON FILE
CRUZ CORREA, DEBBIE ANN    ADDRESS ON FILE
CRUZ CORREA, HEIDI E       ADDRESS ON FILE
CRUZ CORREA, HOMAR         ADDRESS ON FILE
CRUZ CORREA, IVAN          ADDRESS ON FILE
CRUZ CORREA, JUAN          ADDRESS ON FILE
CRUZ CORREA, MARY ANN      ADDRESS ON FILE
CRUZ CORREA, MARYANN       ADDRESS ON FILE
CRUZ CORREA, MIGUEL A      ADDRESS ON FILE
CRUZ CORREA, NELSON O      ADDRESS ON FILE
CRUZ CORREA, NOEL          ADDRESS ON FILE
CRUZ CORREA, RAYMOND       ADDRESS ON FILE
CRUZ CORREA, ROSEANNA      ADDRESS ON FILE
CRUZ CORREA, SHIRLEY       ADDRESS ON FILE
CRUZ CORREA,KRISMARIE K.   ADDRESS ON FILE
CRUZ CORREDOR, ADALBERTO   ADDRESS ON FILE
CRUZ CORSINO, JOSE F.      ADDRESS ON FILE
CRUZ CORSINO, MIRIAM I     ADDRESS ON FILE
CRUZ CORTES, ALICIA        ADDRESS ON FILE
Cruz Cortes, Angel O       ADDRESS ON FILE
Cruz Cortes, Brunilda      ADDRESS ON FILE
CRUZ CORTES, BRUNILDA      ADDRESS ON FILE
CRUZ CORTES, ESTHER        ADDRESS ON FILE
CRUZ CORTES, GILBERTO      ADDRESS ON FILE
CRUZ CORTES, HECTOR        ADDRESS ON FILE
CRUZ CORTES, HILDA         ADDRESS ON FILE
CRUZ CORTES, IRIS          ADDRESS ON FILE
CRUZ CORTES, IRMARIE       ADDRESS ON FILE
CRUZ CORTES, JUAN          ADDRESS ON FILE
CRUZ CORTES, JUAN H.       ADDRESS ON FILE
CRUZ CORTES, LURIMAR       ADDRESS ON FILE
CRUZ CORTES, MARIA         ADDRESS ON FILE
CRUZ CORTES, MARIA M       ADDRESS ON FILE
CRUZ CORTES, MARITZA       ADDRESS ON FILE
CRUZ CORTES, MARITZA       ADDRESS ON FILE
CRUZ CORTES, MARK          ADDRESS ON FILE
CRUZ CORTES, MIGUEL        ADDRESS ON FILE
CRUZ CORTES, MIRELYS       ADDRESS ON FILE
CRUZ CORTES, NILSA E       ADDRESS ON FILE
CRUZ CORTES, NOEL          ADDRESS ON FILE
CRUZ CORTES, RADAMES       ADDRESS ON FILE
CRUZ CORTES, ROBERTO       ADDRESS ON FILE
CRUZ CORTES, SANDRA I.     ADDRESS ON FILE
Cruz Cortes, William       ADDRESS ON FILE
Cruz Cortez, Joe L         ADDRESS ON FILE
CRUZ CORTIJO, EMANUEL      ADDRESS ON FILE
Cruz Cortijo, Mario        ADDRESS ON FILE
CRUZ CORTIJO, NANCY        ADDRESS ON FILE
Cruz Cortijo, Oreste       ADDRESS ON FILE
Cruz Cortijo, Victor       ADDRESS ON FILE




                                                                       Page 1916 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1917 of 3500
                                                                           17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name               Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
CRUZ CORUJO, JUANA          ADDRESS ON FILE
CRUZ CORUJO, ROSA E         ADDRESS ON FILE
CRUZ COSME, FRANCISCO       ADDRESS ON FILE
Cruz Cosme, Gilberto        ADDRESS ON FILE
CRUZ COSME, LILLIAM         ADDRESS ON FILE
CRUZ COSME, MIGUEL A.       ADDRESS ON FILE
CRUZ COSME, RAMON           ADDRESS ON FILE
CRUZ COSS, LUIS             ADDRESS ON FILE
CRUZ COTTE, CARMEN A.       ADDRESS ON FILE
CRUZ COTTE, CARMEN A.       ADDRESS ON FILE
CRUZ COTTO, ARTURO          ADDRESS ON FILE
CRUZ COTTO, CARLOS          ADDRESS ON FILE
Cruz Cotto, Dolores         ADDRESS ON FILE
Cruz Cotto, Dolores         ADDRESS ON FILE
CRUZ COTTO, IRIS O          ADDRESS ON FILE
CRUZ COTTO, JOSE            ADDRESS ON FILE
Cruz Cotto, Julissa M.      ADDRESS ON FILE
CRUZ COTTO, MIGDALIA        ADDRESS ON FILE
CRUZ COTTO, MILAGROS        ADDRESS ON FILE
CRUZ COTTO, NELIDA          ADDRESS ON FILE
CRUZ COTTO, ROOSEVELT       ADDRESS ON FILE
CRUZ COTTO, SHERLEY ANN     ADDRESS ON FILE
CRUZ COTTO, WALDEMAR        ADDRESS ON FILE
CRUZ COTTO, YAIDY N.        ADDRESS ON FILE
CRUZ COUTO, GILBERTO E      ADDRESS ON FILE
CRUZ CRES PO, JANNETTE      ADDRESS ON FILE
CRUZ CRESPO, ANGEL L.       ADDRESS ON FILE
CRUZ CRESPO, GERAN          ADDRESS ON FILE
CRUZ CRESPO, IRIS M         ADDRESS ON FILE
CRUZ CRESPO, JESUS          ADDRESS ON FILE
Cruz Crespo, Jose A.        ADDRESS ON FILE
Cruz Crespo, Juan Luis      ADDRESS ON FILE
CRUZ CRESPO, KENIA Y        ADDRESS ON FILE
Cruz Crespo, Manuel         ADDRESS ON FILE
CRUZ CRESPO, MANUEL         LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
CRUZ CRESPO, MANUEL         LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
CRUZ CRESPO, MERCEDES       ADDRESS ON FILE
CRUZ CRESPO, ORLANDO        ADDRESS ON FILE
CRUZ CRESPO, REINALDO       ADDRESS ON FILE
CRUZ CRESPO, ROLANDO        ADDRESS ON FILE
CRUZ CRESPO, SIGFREDO       ADDRESS ON FILE
CRUZ CRESPO, TATIANA I      ADDRESS ON FILE
Cruz Crespo, William        ADDRESS ON FILE
CRUZ CRESPO, YANIRA         ADDRESS ON FILE
Cruz Criado, Antonio J      ADDRESS ON FILE
CRUZ CRIADO, LIGIA          ADDRESS ON FILE
CRUZ CRIADO, NIVIA M.       ADDRESS ON FILE
CRUZ CRISOSTOMO, MAGDA DE   ADDRESS ON FILE
CRUZ CRISTOBAL, MARILYN     ADDRESS ON FILE
CRUZ CRUZ ,ANA MARIA        ADDRESS ON FILE
CRUZ CRUZ MD, LUIS M        ADDRESS ON FILE
CRUZ CRUZ MD, MIGUEL        ADDRESS ON FILE
CRUZ CRUZ MD, TERESA        ADDRESS ON FILE
CRUZ CRUZ, ADA HILDA        ADDRESS ON FILE
CRUZ CRUZ, ADALIS           ADDRESS ON FILE
CRUZ CRUZ, ADALIZ           ADDRESS ON FILE
CRUZ CRUZ, ADIANEZ          ADDRESS ON FILE
CRUZ CRUZ, ADOLFO           ADDRESS ON FILE
CRUZ CRUZ, ADRIA            ADDRESS ON FILE
CRUZ CRUZ, ADRIA            ADDRESS ON FILE




                                                                                 Page 1917 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 1918 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CRUZ, ALBERTO       ADDRESS ON FILE
CRUZ CRUZ, ALEXIS        ADDRESS ON FILE
CRUZ CRUZ, ANA           ADDRESS ON FILE
CRUZ CRUZ, ANA           ADDRESS ON FILE
CRUZ CRUZ, ANA           ADDRESS ON FILE
CRUZ CRUZ, ANA C         ADDRESS ON FILE
CRUZ CRUZ, ANA E         ADDRESS ON FILE
CRUZ CRUZ, ANA M         ADDRESS ON FILE
CRUZ CRUZ, ANA R         ADDRESS ON FILE
CRUZ CRUZ, ANASTACIA     ADDRESS ON FILE
CRUZ CRUZ, ANGEL         ADDRESS ON FILE
CRUZ CRUZ, ANGEL A.      ADDRESS ON FILE
CRUZ CRUZ, ANGEL L       ADDRESS ON FILE
CRUZ CRUZ, ANGEL L.      ADDRESS ON FILE
Cruz Cruz, Angel M.      ADDRESS ON FILE
CRUZ CRUZ, ANGELICA      ADDRESS ON FILE
CRUZ CRUZ, ANGELICA M.   ADDRESS ON FILE
CRUZ CRUZ, ANGELINA      ADDRESS ON FILE
CRUZ CRUZ, ANGELITA      ADDRESS ON FILE
CRUZ CRUZ, ANGELITA      ADDRESS ON FILE
Cruz Cruz, Anibal        ADDRESS ON FILE
CRUZ CRUZ, ANIBAL        ADDRESS ON FILE
Cruz Cruz, Anthony       ADDRESS ON FILE
CRUZ CRUZ, ANTHONY       ADDRESS ON FILE
CRUZ CRUZ, ANTONIA       ADDRESS ON FILE
CRUZ CRUZ, ANTONIA       ADDRESS ON FILE
CRUZ CRUZ, ANTONIO       ADDRESS ON FILE
Cruz Cruz, Atanacio      ADDRESS ON FILE
CRUZ CRUZ, AWILDA        ADDRESS ON FILE
CRUZ CRUZ, BETZAIDA      ADDRESS ON FILE
CRUZ CRUZ, BIENVENIDO    ADDRESS ON FILE
CRUZ CRUZ, BLANCA        ADDRESS ON FILE
Cruz Cruz, Bonifacio     ADDRESS ON FILE
CRUZ CRUZ, CARLOS        ADDRESS ON FILE
CRUZ CRUZ, CARLOS        ADDRESS ON FILE
CRUZ CRUZ, CARLOS        ADDRESS ON FILE
CRUZ CRUZ, CARLOS        ADDRESS ON FILE
CRUZ CRUZ, CARLOS A      ADDRESS ON FILE
Cruz Cruz, Carlos J      ADDRESS ON FILE
CRUZ CRUZ, CARLOS M      ADDRESS ON FILE
CRUZ CRUZ, CARMEN        ADDRESS ON FILE
CRUZ CRUZ, CARMEN A      ADDRESS ON FILE
CRUZ CRUZ, CARMEN I      ADDRESS ON FILE
CRUZ CRUZ, CARMEN I      ADDRESS ON FILE
CRUZ CRUZ, CARMEN L      ADDRESS ON FILE
CRUZ CRUZ, CARMEN L.     ADDRESS ON FILE
CRUZ CRUZ, CARMEN M      ADDRESS ON FILE
CRUZ CRUZ, CARMEN N      ADDRESS ON FILE
Cruz Cruz, Carmen T      ADDRESS ON FILE
CRUZ CRUZ, CELEDONIO     ADDRESS ON FILE
CRUZ CRUZ, CINTHYA E     ADDRESS ON FILE
CRUZ CRUZ, CORALIZ       ADDRESS ON FILE
CRUZ CRUZ, CYNTHIA       ADDRESS ON FILE
CRUZ CRUZ, DAISY E       ADDRESS ON FILE
CRUZ CRUZ, DALIANISE     ADDRESS ON FILE
CRUZ CRUZ, DAMARIS       ADDRESS ON FILE
CRUZ CRUZ, DAVID         ADDRESS ON FILE
CRUZ CRUZ, DAVID         ADDRESS ON FILE
CRUZ CRUZ, DENNIZAYRA    ADDRESS ON FILE
CRUZ CRUZ, DIANA         ADDRESS ON FILE




                                                                     Page 1918 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1919 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CRUZ, DIANA J            ADDRESS ON FILE
CRUZ CRUZ, DORCA              ADDRESS ON FILE
CRUZ CRUZ, DORIS E            ADDRESS ON FILE
CRUZ CRUZ, DYRAM              ADDRESS ON FILE
CRUZ CRUZ, EBEL L             ADDRESS ON FILE
CRUZ CRUZ, EDGARDO            ADDRESS ON FILE
CRUZ CRUZ, EDUARD             ADDRESS ON FILE
CRUZ CRUZ, EDWARD             ADDRESS ON FILE
CRUZ CRUZ, EDWARD             ADDRESS ON FILE
CRUZ CRUZ, EDWIN              ADDRESS ON FILE
CRUZ CRUZ, EDWIN              ADDRESS ON FILE
CRUZ CRUZ, ELBA I             ADDRESS ON FILE
CRUZ CRUZ, ELBA N             ADDRESS ON FILE
CRUZ CRUZ, ELEUTERIA          ADDRESS ON FILE
CRUZ CRUZ, ELIEZER            ADDRESS ON FILE
Cruz Cruz, Elizabeth          ADDRESS ON FILE
CRUZ CRUZ, ELIZABETH          ADDRESS ON FILE
CRUZ CRUZ, ELSA M             ADDRESS ON FILE
CRUZ CRUZ, EMMA I             ADDRESS ON FILE
CRUZ CRUZ, EPIFANIO           ADDRESS ON FILE
CRUZ CRUZ, ESTHER             ADDRESS ON FILE
CRUZ CRUZ, EVELYN             ADDRESS ON FILE
CRUZ CRUZ, FELIX E.           ADDRESS ON FILE
CRUZ CRUZ, FLOR               ADDRESS ON FILE
CRUZ CRUZ, FRANCISCA          ADDRESS ON FILE
CRUZ CRUZ, FRANCISCO          ADDRESS ON FILE
CRUZ CRUZ, FRANCISCO JAVIER   ADDRESS ON FILE
CRUZ CRUZ, FREDESWINDA        ADDRESS ON FILE
CRUZ CRUZ, GABRIEL            ADDRESS ON FILE
CRUZ CRUZ, GERYN              ADDRESS ON FILE
CRUZ CRUZ, GLADYS L           ADDRESS ON FILE
CRUZ CRUZ, GLORIANE           ADDRESS ON FILE
CRUZ CRUZ, GLORY M            ADDRESS ON FILE
CRUZ CRUZ, HECTOR             ADDRESS ON FILE
CRUZ CRUZ, HECTOR             ADDRESS ON FILE
CRUZ CRUZ, HECTOR A           ADDRESS ON FILE
CRUZ CRUZ, HECTOR A.          ADDRESS ON FILE
CRUZ CRUZ, HECTOR LUIS        ADDRESS ON FILE
CRUZ CRUZ, HUGO F.            ADDRESS ON FILE
CRUZ CRUZ, IRENE              ADDRESS ON FILE
CRUZ CRUZ, IRMA               ADDRESS ON FILE
CRUZ CRUZ, ISMAEL             ADDRESS ON FILE
CRUZ CRUZ, ISRAEL             ADDRESS ON FILE
CRUZ CRUZ, JAIME              ADDRESS ON FILE
Cruz Cruz, Javier A           ADDRESS ON FILE
CRUZ CRUZ, JESUS              ADDRESS ON FILE
CRUZ CRUZ, JESUS              ADDRESS ON FILE
CRUZ CRUZ, JESUS              ADDRESS ON FILE
CRUZ CRUZ, JESUS M            ADDRESS ON FILE
CRUZ CRUZ, JORGE              ADDRESS ON FILE
CRUZ CRUZ, JORGE L            ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
CRUZ CRUZ, JOSE               ADDRESS ON FILE
Cruz Cruz, Jose A             ADDRESS ON FILE




                                                                          Page 1919 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1920 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CRUZ, JOSE A           ADDRESS ON FILE
Cruz Cruz, Jose L           ADDRESS ON FILE
CRUZ CRUZ, JOSE O           ADDRESS ON FILE
CRUZ CRUZ, JOSE O.          ADDRESS ON FILE
CRUZ CRUZ, JOSE R           ADDRESS ON FILE
CRUZ CRUZ, JOSE R           ADDRESS ON FILE
Cruz Cruz, Jose R.          ADDRESS ON FILE
CRUZ CRUZ, JUAN A           ADDRESS ON FILE
CRUZ CRUZ, JUAN A.          ADDRESS ON FILE
CRUZ CRUZ, JUAN F           ADDRESS ON FILE
CRUZ CRUZ, JUANITA          ADDRESS ON FILE
CRUZ CRUZ, JUDITH           ADDRESS ON FILE
CRUZ CRUZ, JUDITH M         ADDRESS ON FILE
CRUZ CRUZ, KATHERINE        ADDRESS ON FILE
CRUZ CRUZ, LAUREANO         ADDRESS ON FILE
CRUZ CRUZ, LEIDA            ADDRESS ON FILE
CRUZ CRUZ, LESLIE           ADDRESS ON FILE
CRUZ CRUZ, LEYDA            ADDRESS ON FILE
CRUZ CRUZ, LISANDRA         ADDRESS ON FILE
CRUZ CRUZ, LIUMARIE         ADDRESS ON FILE
CRUZ CRUZ, LOURDES S        ADDRESS ON FILE
CRUZ CRUZ, LUIS             ADDRESS ON FILE
CRUZ CRUZ, LUIS             ADDRESS ON FILE
CRUZ CRUZ, LUZ              ADDRESS ON FILE
CRUZ CRUZ, LUZ              ADDRESS ON FILE
CRUZ CRUZ, LUZ D.           ADDRESS ON FILE
CRUZ CRUZ, LUZ F            ADDRESS ON FILE
CRUZ CRUZ, LUZ M            ADDRESS ON FILE
Cruz Cruz, Luz Selenia      ADDRESS ON FILE
CRUZ CRUZ, LYDIA            ADDRESS ON FILE
Cruz Cruz, Manuel R         ADDRESS ON FILE
CRUZ CRUZ, MARELYS          ADDRESS ON FILE
CRUZ CRUZ, MARIA            ADDRESS ON FILE
CRUZ CRUZ, MARIA DE LOS A   ADDRESS ON FILE
CRUZ CRUZ, MARIA G          ADDRESS ON FILE
CRUZ CRUZ, MARIA L          ADDRESS ON FILE
CRUZ CRUZ, MARIA NITZA      ADDRESS ON FILE
CRUZ CRUZ, MARIA R.         ADDRESS ON FILE
CRUZ CRUZ, MARIA T          ADDRESS ON FILE
CRUZ CRUZ, MARIANGEL        ADDRESS ON FILE
CRUZ CRUZ, MARIBEL          ADDRESS ON FILE
CRUZ CRUZ, MARIE L          ADDRESS ON FILE
CRUZ CRUZ, MARINE           ADDRESS ON FILE
CRUZ CRUZ, MARISOL          ADDRESS ON FILE
CRUZ CRUZ, MARITZA          ADDRESS ON FILE
CRUZ CRUZ, MARLENE R        ADDRESS ON FILE
CRUZ CRUZ, MARTA M          ADDRESS ON FILE
CRUZ CRUZ, MERVIN           ADDRESS ON FILE
CRUZ CRUZ, MEYLI            ADDRESS ON FILE
CRUZ CRUZ, MIGDALIA         ADDRESS ON FILE
CRUZ CRUZ, MIGDALIS         ADDRESS ON FILE
CRUZ CRUZ, MIGUEL           ADDRESS ON FILE
CRUZ CRUZ, MIGUEL           ADDRESS ON FILE
CRUZ CRUZ, MILDRED          ADDRESS ON FILE
CRUZ CRUZ, MIOSOTIS         ADDRESS ON FILE
CRUZ CRUZ, NEFTALI          ADDRESS ON FILE
CRUZ CRUZ, NELSON           ADDRESS ON FILE
CRUZ CRUZ, NEREIDA          ADDRESS ON FILE
CRUZ CRUZ, NESTOR           ADDRESS ON FILE
CRUZ CRUZ, NETZY L.         ADDRESS ON FILE




                                                                        Page 1920 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1921 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CRUZ, NITZA           ADDRESS ON FILE
CRUZ CRUZ, NORBERTO        ADDRESS ON FILE
Cruz Cruz, Odelitza        ADDRESS ON FILE
Cruz Cruz, Olga V.         ADDRESS ON FILE
CRUZ CRUZ, ORLANDO         ADDRESS ON FILE
CRUZ CRUZ, ORLANDO         ADDRESS ON FILE
CRUZ CRUZ, OSVALDO         ADDRESS ON FILE
Cruz Cruz, Othoniel        ADDRESS ON FILE
CRUZ CRUZ, OVED            ADDRESS ON FILE
CRUZ CRUZ, PABLO           ADDRESS ON FILE
CRUZ CRUZ, PATRIA          ADDRESS ON FILE
CRUZ CRUZ, PEDRO           ADDRESS ON FILE
CRUZ CRUZ, PEDRO           ADDRESS ON FILE
Cruz Cruz, Pedro J         ADDRESS ON FILE
CRUZ CRUZ, PEDRO J         ADDRESS ON FILE
CRUZ CRUZ, RAFAEL          ADDRESS ON FILE
CRUZ CRUZ, RAFAEL          ADDRESS ON FILE
CRUZ CRUZ, RAMON E         ADDRESS ON FILE
CRUZ CRUZ, RAYMOND A.      ADDRESS ON FILE
CRUZ CRUZ, REINALDO        ADDRESS ON FILE
CRUZ CRUZ, RICARDO         ADDRESS ON FILE
Cruz Cruz, Ricardo         ADDRESS ON FILE
CRUZ CRUZ, ROBERTO E       ADDRESS ON FILE
CRUZ CRUZ, ROSE M          ADDRESS ON FILE
CRUZ CRUZ, ROSITA          ADDRESS ON FILE
CRUZ CRUZ, RUFINO          ADDRESS ON FILE
CRUZ CRUZ, RUTH D          ADDRESS ON FILE
CRUZ CRUZ, SANDRA          ADDRESS ON FILE
CRUZ CRUZ, SANTA I         ADDRESS ON FILE
CRUZ CRUZ, SARA            ADDRESS ON FILE
CRUZ CRUZ, SARA            ADDRESS ON FILE
CRUZ CRUZ, SARA E          ADDRESS ON FILE
CRUZ CRUZ, SARA E          ADDRESS ON FILE
CRUZ CRUZ, SOLIMAR A       ADDRESS ON FILE
CRUZ CRUZ, SONIA           ADDRESS ON FILE
CRUZ CRUZ, SONIA I.        ADDRESS ON FILE
CRUZ CRUZ, SUZETTE         ADDRESS ON FILE
CRUZ CRUZ, TAISHA D        ADDRESS ON FILE
CRUZ CRUZ, TOMAS           ADDRESS ON FILE
CRUZ CRUZ, VICTOR          ADDRESS ON FILE
CRUZ CRUZ, VICTOR          ADDRESS ON FILE
CRUZ CRUZ, VICTOR          ADDRESS ON FILE
CRUZ CRUZ, VIMALIZ         ADDRESS ON FILE
CRUZ CRUZ, VIRGINIA        ADDRESS ON FILE
CRUZ CRUZ, WANDA I         ADDRESS ON FILE
CRUZ CRUZ, WILFREDO        ADDRESS ON FILE
CRUZ CRUZ, WILFREDO        ADDRESS ON FILE
Cruz Cruz, William         ADDRESS ON FILE
CRUZ CRUZ, WILLIAM         ADDRESS ON FILE
CRUZ CRUZ, YAIRELLYS       ADDRESS ON FILE
CRUZ CRUZ, YANIRA          ADDRESS ON FILE
CRUZ CRUZ, YOLANDA         ADDRESS ON FILE
CRUZ CRUZ, YOLANDA         ADDRESS ON FILE
CRUZ CRUZ, YVETTE          ADDRESS ON FILE
CRUZ CRUZ, ZORAIDA         ADDRESS ON FILE
CRUZ CUADRADO, AMARILYS    ADDRESS ON FILE
CRUZ CUADRADO, ANGEL M     ADDRESS ON FILE
CRUZ CUADRADO, LOURDES     ADDRESS ON FILE
CRUZ CUADRADO, MARGEORIE   ADDRESS ON FILE
CRUZ CUADRADO, MELVIN      ADDRESS ON FILE




                                                                       Page 1921 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1922 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ CUADRADO, WANDA        ADDRESS ON FILE
CRUZ CUBERO, JOSE           ADDRESS ON FILE
Cruz Cubero, Luis A         ADDRESS ON FILE
CRUZ CUCHI, JOSE A          ADDRESS ON FILE
CRUZ CUEBAS, GILBERTO       ADDRESS ON FILE
CRUZ CUEVAS MD, ELSIE I     ADDRESS ON FILE
CRUZ CUEVAS, ANA C          ADDRESS ON FILE
Cruz Cuevas, Dellanil       ADDRESS ON FILE
CRUZ CUEVAS, JONATHAN       ADDRESS ON FILE
CRUZ CUEVAS, LEONEL         ADDRESS ON FILE
CRUZ CUEVAS, LOYDA          ADDRESS ON FILE
CRUZ CUEVAS, OSCAR          ADDRESS ON FILE
CRUZ CUEVAS, PABLO J.       ADDRESS ON FILE
CRUZ CUEVAS, SANDRA I       ADDRESS ON FILE
CRUZ CUEVAS, SYLVIO         ADDRESS ON FILE
CRUZ CUEVAS, YADIRA         ADDRESS ON FILE
CRUZ CUMBA, CEFERINO        ADDRESS ON FILE
CRUZ CUMBA, GISELA T        ADDRESS ON FILE
CRUZ CUMBA, JULIO           ADDRESS ON FILE
CRUZ CUMBA, NIVEA           ADDRESS ON FILE
CRUZ CUSTODIO, EMILIA M     ADDRESS ON FILE
CRUZ CUSTODIO, FELIX M      ADDRESS ON FILE
Cruz Custodio, Maria M      ADDRESS ON FILE
CRUZ D RAMIREZ MEDRANO      ADDRESS ON FILE
CRUZ D RAMIREZ MEDRANO      ADDRESS ON FILE
CRUZ DAVILA, ADA V          ADDRESS ON FILE
CRUZ DAVILA, ALFREDO        ADDRESS ON FILE
CRUZ DAVILA, CANDIDA        ADDRESS ON FILE
CRUZ DAVILA, CANDIDA        ADDRESS ON FILE
CRUZ DAVILA, CARLOS         ADDRESS ON FILE
CRUZ DAVILA, CARLOS J       ADDRESS ON FILE
CRUZ DAVILA, ENRIQUE        ADDRESS ON FILE
CRUZ DAVILA, JESUS M        ADDRESS ON FILE
CRUZ DAVILA, JOANMARIE      ADDRESS ON FILE
CRUZ DAVILA, JOHNNY         ADDRESS ON FILE
CRUZ DAVILA, MARIA DEL C.   ADDRESS ON FILE
CRUZ DAVILA, ROBERTO        ADDRESS ON FILE
CRUZ DAVILA, RUBEN          ADDRESS ON FILE
CRUZ DE ALBA, FELIX M.      ADDRESS ON FILE
CRUZ DE ALBA, JOSE          ADDRESS ON FILE
CRUZ DE ARMAS, JUAN M       ADDRESS ON FILE
CRUZ DE CHOUDENS, HECTOR    ADDRESS ON FILE
CRUZ DE CHOUDENS, JOEL      ADDRESS ON FILE
CRUZ DE FERNANDEZ, MIRTA    ADDRESS ON FILE
CRUZ DE GROVAS MD, LINDA    ADDRESS ON FILE
CRUZ DE HERNANDEZ, DENIA    ADDRESS ON FILE
CRUZ DE JESUS FIGUEROA      ADDRESS ON FILE
CRUZ DE JESUS FIGUEROA      ADDRESS ON FILE
CRUZ DE JESUS, AIDA M       ADDRESS ON FILE
CRUZ DE JESUS, ALBERTO      ADDRESS ON FILE
CRUZ DE JESUS, ALEJANDRO    ADDRESS ON FILE
CRUZ DE JESUS, ANA MARIA    ADDRESS ON FILE
CRUZ DE JESUS, CARLOS       ADDRESS ON FILE
CRUZ DE JESUS, CATHERINE    ADDRESS ON FILE
CRUZ DE JESUS, DEBORAH      ADDRESS ON FILE
Cruz De Jesus, Efrain       ADDRESS ON FILE
CRUZ DE JESUS, ENEIDA       ADDRESS ON FILE
CRUZ DE JESUS, GIGRAM       ADDRESS ON FILE
CRUZ DE JESUS, GIGRAM       ADDRESS ON FILE
CRUZ DE JESUS, GLORIA       ADDRESS ON FILE




                                                                        Page 1922 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1923 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
CRUZ DE JESUS, GRISELLE D           ADDRESS ON FILE
CRUZ DE JESUS, JORGE JOEL           ADDRESS ON FILE
CRUZ DE JESUS, JORGE JOEL           ADDRESS ON FILE
CRUZ DE JESUS, JOSE C               ADDRESS ON FILE
CRUZ DE JESUS, JULIAN A.            ADDRESS ON FILE
CRUZ DE JESUS, JULIO                ADDRESS ON FILE
CRUZ DE JESUS, KARLA                ADDRESS ON FILE
CRUZ DE JESUS, LUCIA                ADDRESS ON FILE
CRUZ DE JESUS, LUIS                 ADDRESS ON FILE
CRUZ DE JESUS, LUIS A               ADDRESS ON FILE
CRUZ DE JESUS, LUZ                  ADDRESS ON FILE
CRUZ DE JESUS, MARGARITA            ADDRESS ON FILE
CRUZ DE JESUS, MARIBEL              ADDRESS ON FILE
CRUZ DE JESUS, MARITZA              ADDRESS ON FILE
CRUZ DE JESUS, MARITZA              ADDRESS ON FILE
Cruz De Jesus, Mercedes             ADDRESS ON FILE
CRUZ DE JESUS, NANCY                ADDRESS ON FILE
CRUZ DE JESUS, NIVEA                ADDRESS ON FILE
CRUZ DE JESUS, NIVEA                ADDRESS ON FILE
CRUZ DE JESUS, ROSE                 ADDRESS ON FILE
CRUZ DE JESUS, SAMUEL               ADDRESS ON FILE
CRUZ DE JESUS, SANDRA               ADDRESS ON FILE
CRUZ DE JESUS, SUSAN                ADDRESS ON FILE
CRUZ DE JESUS, TERESA               ADDRESS ON FILE
CRUZ DE JESUS, VICTOR               ADDRESS ON FILE
CRUZ DE JESUS, VICTOR               ADDRESS ON FILE
CRUZ DE JESUS, VILMARY              ADDRESS ON FILE
CRUZ DE JESUS, YADIRA E.            ADDRESS ON FILE
CRUZ DE LA PAZ, WANDA I.            ADDRESS ON FILE
CRUZ DE LA ROSA, HECTOR             ADDRESS ON FILE
CRUZ DE LEON, CARMEN                ADDRESS ON FILE
CRUZ DE LEON, CARMEN M              ADDRESS ON FILE
CRUZ DE LEON, JENICA Y.             ADDRESS ON FILE
CRUZ DE LEON, JESUS                 ADDRESS ON FILE
CRUZ DE LEON, MARCOS RUBEN          ADDRESS ON FILE
CRUZ DE LEON, MARIBEL               ADDRESS ON FILE
CRUZ DE LEON, MARIBEL               ADDRESS ON FILE
CRUZ DE LEON, RAQUEL                ADDRESS ON FILE
CRUZ DE LEON, RUBEN A.              ADDRESS ON FILE
CRUZ DE LEON, WALDEMAR              ADDRESS ON FILE
CRUZ DE LOURDES CINTRON DE JESUS    ADDRESS ON FILE
CRUZ DE MALTA INC                   146 BOSQUE DEL RIO                                                               TRUJILLO ALTO     PR      00976
CRUZ DE ORTIZ, JUSTA                ADDRESS ON FILE
CRUZ DE RODRIGUEZ, JUANITA          ADDRESS ON FILE
CRUZ DE TABOAS MD, CARMEN LILIANA   ADDRESS ON FILE
CRUZ DE TORRES, ANA DAISY           ADDRESS ON FILE
CRUZ DE VAZQUEZ, ALMA M             ADDRESS ON FILE
CRUZ DEJESUS, JORGE L               ADDRESS ON FILE
CRUZ DEL HOYO, ANGEL L              ADDRESS ON FILE
CRUZ DEL ORBE, FELICITA             ADDRESS ON FILE
CRUZ DEL PILAR, EVELYN              ADDRESS ON FILE
Cruz Del Pilar, Jorge               ADDRESS ON FILE
CRUZ DEL PILAR, YADIEL              ADDRESS ON FILE
CRUZ DEL RIO, CARLOS                ADDRESS ON FILE
CRUZ DEL RIO, JOSE                  ADDRESS ON FILE
CRUZ DEL VALLE, CAMILE              ADDRESS ON FILE
CRUZ DEL VALLE, EUFEMIO             ADDRESS ON FILE
CRUZ DEL VALLE, HECTOR              ADDRESS ON FILE
CRUZ DEL VALLE, HECTOR              ADDRESS ON FILE
CRUZ DEL VALLE, HECTOR M            ADDRESS ON FILE




                                                                                Page 1923 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1924 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Del Valle, Joaquin      ADDRESS ON FILE
CRUZ DEL VALLE, JOAQUIN      ADDRESS ON FILE
CRUZ DEL VALLE, MARIA DE L   ADDRESS ON FILE
CRUZ DEL VALLE, PEDRO        ADDRESS ON FILE
CRUZ DEL VALLE, STEPHANIE    ADDRESS ON FILE
CRUZ DELGADO, AIDA           ADDRESS ON FILE
CRUZ DELGADO, ANA LYDIA      ADDRESS ON FILE
CRUZ DELGADO, ANGEL          ADDRESS ON FILE
CRUZ DELGADO, ANTOLIANO      ADDRESS ON FILE
CRUZ DELGADO, BELKYS J       ADDRESS ON FILE
CRUZ DELGADO, CARMEN I.      ADDRESS ON FILE
CRUZ DELGADO, CARMEN M       ADDRESS ON FILE
CRUZ DELGADO, CHERYL         ADDRESS ON FILE
CRUZ DELGADO, ELIESEL        ADDRESS ON FILE
CRUZ DELGADO, ESTHER A       ADDRESS ON FILE
CRUZ DELGADO, GILBERTO       ADDRESS ON FILE
CRUZ DELGADO, HERIBERTO      ADDRESS ON FILE
CRUZ DELGADO, JAIME H        ADDRESS ON FILE
CRUZ DELGADO, JAVIER         ADDRESS ON FILE
CRUZ DELGADO, JEANIE A       ADDRESS ON FILE
CRUZ DELGADO, JOSE           ADDRESS ON FILE
CRUZ DELGADO, JOSE           ADDRESS ON FILE
Cruz Delgado, Jose L         ADDRESS ON FILE
CRUZ DELGADO, JOSELINO       ADDRESS ON FILE
CRUZ DELGADO, JOSEPH         ADDRESS ON FILE
CRUZ DELGADO, MARGARITA      ADDRESS ON FILE
CRUZ DELGADO, MARIA          ADDRESS ON FILE
CRUZ DELGADO, MARIA          ADDRESS ON FILE
CRUZ DELGADO, MARIA          ADDRESS ON FILE
CRUZ DELGADO, MARIA M        ADDRESS ON FILE
CRUZ DELGADO, MARIANY        ADDRESS ON FILE
CRUZ DELGADO, MORAIMA        ADDRESS ON FILE
CRUZ DELGADO, MORAIMA        ADDRESS ON FILE
CRUZ DELGADO, NITZA          ADDRESS ON FILE
CRUZ DELGADO, RAMONITA       ADDRESS ON FILE
CRUZ DELGADO, SARA           ADDRESS ON FILE
CRUZ DELGADO, VICTOR M.      ADDRESS ON FILE
Cruz Delgado, Walter R       ADDRESS ON FILE
CRUZ DELGADO, WILLIAM        ADDRESS ON FILE
CRUZ DELGADO, YOLANDA        ADDRESS ON FILE
CRUZ DEPINTADO, CARMEN       ADDRESS ON FILE
CRUZ DIAZ SANCHEZ            ADDRESS ON FILE
CRUZ DIAZ, AGUSTINA          ADDRESS ON FILE
CRUZ DIAZ, ALFREDO           ADDRESS ON FILE
CRUZ DIAZ, ANA DEL           ADDRESS ON FILE
CRUZ DIAZ, ANDRES            ADDRESS ON FILE
CRUZ DIAZ, ANGEL A           ADDRESS ON FILE
CRUZ DIAZ, ANTONIO           ADDRESS ON FILE
CRUZ DIAZ, ARACELIS          ADDRESS ON FILE
CRUZ DIAZ, ARIEL             ADDRESS ON FILE
CRUZ DIAZ, ARISTIDES         ADDRESS ON FILE
CRUZ DIAZ, ARTURO            ADDRESS ON FILE
CRUZ DIAZ, BOLIVAR           ADDRESS ON FILE
CRUZ DIAZ, BRENDA            ADDRESS ON FILE
Cruz Diaz, Brenda L.         ADDRESS ON FILE
CRUZ DIAZ, CARLIA            ADDRESS ON FILE
CRUZ DIAZ, CARLIA            ADDRESS ON FILE
CRUZ DIAZ, CARLOS            ADDRESS ON FILE
CRUZ DIAZ, CARLOS            ADDRESS ON FILE
CRUZ DIAZ, CARMEN G          ADDRESS ON FILE




                                                                         Page 1924 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1925 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ DIAZ, CHISTINE R       ADDRESS ON FILE
CRUZ DIAZ, DIANA            ADDRESS ON FILE
CRUZ DIAZ, EDGARDO          ADDRESS ON FILE
CRUZ DIAZ, EDGARDO J        ADDRESS ON FILE
CRUZ DIAZ, EDWIN            ADDRESS ON FILE
CRUZ DIAZ, EDWIN            ADDRESS ON FILE
CRUZ DIAZ, EMANUEL          ADDRESS ON FILE
CRUZ DIAZ, ENID M           ADDRESS ON FILE
CRUZ DIAZ, EUGENIO          ADDRESS ON FILE
CRUZ DIAZ, FELIX M.         ADDRESS ON FILE
Cruz Diaz, Gabriel          ADDRESS ON FILE
CRUZ DIAZ, GABRIEL          ADDRESS ON FILE
CRUZ DIAZ, GILBERTO         ADDRESS ON FILE
CRUZ DIAZ, GLADYS           ADDRESS ON FILE
CRUZ DIAZ, GLADYS           ADDRESS ON FILE
CRUZ DIAZ, GLENDALIS        ADDRESS ON FILE
CRUZ DIAZ, GLORIA           ADDRESS ON FILE
CRUZ DIAZ, HANS             ADDRESS ON FILE
CRUZ DIAZ, HECTOR L.        ADDRESS ON FILE
CRUZ DIAZ, HERIBERTO        ADDRESS ON FILE
CRUZ DIAZ, IDALIA           ADDRESS ON FILE
CRUZ DIAZ, ISABEL           ADDRESS ON FILE
CRUZ DIAZ, ISABEL H         ADDRESS ON FILE
CRUZ DIAZ, ISAEL            ADDRESS ON FILE
CRUZ DIAZ, IVAN             ADDRESS ON FILE
CRUZ DIAZ, IVETTE           ADDRESS ON FILE
CRUZ DIAZ, JACQUELINE       ADDRESS ON FILE
CRUZ DIAZ, JENNIFFER L      ADDRESS ON FILE
CRUZ DIAZ, JOEL             ADDRESS ON FILE
CRUZ DIAZ, JOSE             ADDRESS ON FILE
CRUZ DIAZ, JOSE             ADDRESS ON FILE
CRUZ DIAZ, JOSE             ADDRESS ON FILE
Cruz Diaz, Jose A           ADDRESS ON FILE
CRUZ DIAZ, JOSE L.          ADDRESS ON FILE
Cruz Diaz, Jose R           ADDRESS ON FILE
CRUZ DIAZ, JOSEFA           ADDRESS ON FILE
CRUZ DIAZ, JUAN             ADDRESS ON FILE
CRUZ DIAZ, JUAN A           ADDRESS ON FILE
CRUZ DIAZ, KEILA            ADDRESS ON FILE
CRUZ DIAZ, KELVIN           ADDRESS ON FILE
CRUZ DIAZ, LAURA M          ADDRESS ON FILE
Cruz Diaz, Lesby W.         ADDRESS ON FILE
CRUZ DIAZ, LIANETTE         ADDRESS ON FILE
CRUZ DIAZ, LISANDRA         ADDRESS ON FILE
CRUZ DIAZ, LISELIE          ADDRESS ON FILE
CRUZ DIAZ, LIZETTE          ADDRESS ON FILE
CRUZ DIAZ, LIZMALIE         ADDRESS ON FILE
CRUZ DIAZ, LUIS             ADDRESS ON FILE
CRUZ DIAZ, LUIS             ADDRESS ON FILE
CRUZ DIAZ, LUIS             ADDRESS ON FILE
CRUZ DIAZ, LUIS             ADDRESS ON FILE
Cruz Diaz, Luis D.          ADDRESS ON FILE
CRUZ DIAZ, LUIS M.          ADDRESS ON FILE
CRUZ DIAZ, LUZ M            ADDRESS ON FILE
CRUZ DIAZ, MANUEL O         ADDRESS ON FILE
CRUZ DIAZ, MANUEL ORLANDO   ADDRESS ON FILE
CRUZ DIAZ, MARCOS G.        ADDRESS ON FILE
CRUZ DIAZ, MARIA M          ADDRESS ON FILE
Cruz Diaz, Marilyn          ADDRESS ON FILE
Cruz Diaz, Marilyn          ADDRESS ON FILE




                                                                        Page 1925 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1926 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ DIAZ, MARLYN           ADDRESS ON FILE
CRUZ DIAZ, MARVIN           ADDRESS ON FILE
CRUZ DIAZ, MIGDALIA         ADDRESS ON FILE
CRUZ DIAZ, MIGUEL A.        ADDRESS ON FILE
CRUZ DIAZ, MILTON           ADDRESS ON FILE
CRUZ DIAZ, MONICA           ADDRESS ON FILE
CRUZ DIAZ, NOEMI            ADDRESS ON FILE
CRUZ DIAZ, NORMA            ADDRESS ON FILE
CRUZ DIAZ, ORLANDO          ADDRESS ON FILE
Cruz Diaz, Orlando          ADDRESS ON FILE
CRUZ DIAZ, ORLANDO          ADDRESS ON FILE
CRUZ DIAZ, OSVALDO          ADDRESS ON FILE
Cruz Diaz, Pablo            ADDRESS ON FILE
CRUZ DIAZ, RAFAEL           ADDRESS ON FILE
CRUZ DIAZ, RAFAEL I.        ADDRESS ON FILE
CRUZ DIAZ, RAMON J.         ADDRESS ON FILE
CRUZ DIAZ, ROBERT           ADDRESS ON FILE
Cruz Diaz, Roberto          ADDRESS ON FILE
CRUZ DIAZ, RUTH D.          ADDRESS ON FILE
CRUZ DIAZ, SANDRA           ADDRESS ON FILE
CRUZ DIAZ, SANDRA M         ADDRESS ON FILE
CRUZ DIAZ, SANTA            ADDRESS ON FILE
CRUZ DIAZ, SHARON L         ADDRESS ON FILE
CRUZ DIAZ, SHARON L         ADDRESS ON FILE
CRUZ DIAZ, VILMA M          ADDRESS ON FILE
CRUZ DIAZ, VIVIAN           ADDRESS ON FILE
CRUZ DIAZ, WILDANA          ADDRESS ON FILE
CRUZ DIAZ, WILLIAM          ADDRESS ON FILE
CRUZ DIAZ, WILLIAM          ADDRESS ON FILE
CRUZ DIAZ, YARELIS          ADDRESS ON FILE
CRUZ DIAZ, YELIXA           ADDRESS ON FILE
Cruz Diaz, Yirmar           ADDRESS ON FILE
CRUZ DIAZ, YIRMAR           ADDRESS ON FILE
CRUZ DIAZ, YOMAYRA          ADDRESS ON FILE
CRUZ DIAZ, ZULMA M          ADDRESS ON FILE
CRUZ DIAZ, ZURIMA K         ADDRESS ON FILE
CRUZ DILAN, JOSE            ADDRESS ON FILE
CRUZ DINGUI, JUAN           ADDRESS ON FILE
CRUZ DIPINI, SAMUEL         ADDRESS ON FILE
CRUZ DOMENECH, ALBERTO L    ADDRESS ON FILE
Cruz Domenech, Antonio      ADDRESS ON FILE
CRUZ DOMENECH, WALESKA      ADDRESS ON FILE
CRUZ DOMINGUEZ, ANTHONY     ADDRESS ON FILE
CRUZ DOMINGUEZ, ERIKA       ADDRESS ON FILE
CRUZ DOMINGUEZ, JAVIER      ADDRESS ON FILE
CRUZ DOMINGUEZ, MARIA       ADDRESS ON FILE
Cruz Dominguez, Ricardo     ADDRESS ON FILE
CRUZ DOMINGUEZ, YAHAIRA M   ADDRESS ON FILE
CRUZ DOMINICCI, ANA H       ADDRESS ON FILE
CRUZ DONATE, JACKELINE      ADDRESS ON FILE
CRUZ DONATO, ARCADIA        ADDRESS ON FILE
Cruz Donato, Daniel         ADDRESS ON FILE
CRUZ DONATO, DESIDERIO      ADDRESS ON FILE
Cruz Done, Edward F         ADDRESS ON FILE
CRUZ DONE, EVA J            ADDRESS ON FILE
Cruz Dones, Carlos A        ADDRESS ON FILE
CRUZ DONES, CARMEN          ADDRESS ON FILE
CRUZ DONES, IVELIZ          ADDRESS ON FILE
CRUZ DONES, LUIS G          ADDRESS ON FILE
CRUZ DONES, YESIALIS        ADDRESS ON FILE




                                                                        Page 1926 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1927 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ DOWNS, ANIBAL               ADDRESS ON FILE
CRUZ DROZ, JULIA L               ADDRESS ON FILE
Cruz Droz, Vasti                 ADDRESS ON FILE
CRUZ DURAN, IRMA L.              ADDRESS ON FILE
CRUZ DURAN, SONIA H              ADDRESS ON FILE
CRUZ DURECUT, CARLOS             ADDRESS ON FILE
CRUZ E LOPEZ ZAYAS               ADDRESS ON FILE
CRUZ E RAMIREZ VAZQUEZ           ADDRESS ON FILE
CRUZ E. LOPEZ ZAYAS              ADDRESS ON FILE
CRUZ ECHEVARRIA, ALEC            ADDRESS ON FILE
CRUZ ECHEVARRIA, BENNY           ADDRESS ON FILE
CRUZ ECHEVARRIA, CELIA P         ADDRESS ON FILE
CRUZ ECHEVARRIA, DAVID           ADDRESS ON FILE
CRUZ ECHEVARRIA, ELIZABETH       ADDRESS ON FILE
CRUZ ECHEVARRIA, EMMA            ADDRESS ON FILE
CRUZ ECHEVARRIA, EVETTE          ADDRESS ON FILE
CRUZ ECHEVARRIA, GLADYS          ADDRESS ON FILE
CRUZ ECHEVARRIA, JOSE            ADDRESS ON FILE
Cruz Echevarria, Juan            ADDRESS ON FILE
CRUZ ECHEVARRIA, NILDA           ADDRESS ON FILE
CRUZ ECHEVARRIA, NORMA I         ADDRESS ON FILE
CRUZ ECHEVARRIA, WANDA E.        ADDRESS ON FILE
CRUZ ELIAS, NATASHA              ADDRESS ON FILE
CRUZ ELLIS, JOSE                 ADDRESS ON FILE
CRUZ EMANNUELLI, IVONNE          ADDRESS ON FILE
CRUZ EMERIC, LIDIANA             ADDRESS ON FILE
CRUZ EMERIC, ORLANDO L           ADDRESS ON FILE
CRUZ EMMANUELLI, NADJA           ADDRESS ON FILE
CRUZ EMMANUELLI, NADJA           ADDRESS ON FILE
CRUZ ENCARNACION, LYDIA          ADDRESS ON FILE
CRUZ ENCARNACION, MARIA A        ADDRESS ON FILE
CRUZ ENCARNACION, NYDIA TERESA   ADDRESS ON FILE
CRUZ ENCHAUSTEGUI, CARLOS        ADDRESS ON FILE
CRUZ ENTERPRISES INC             HC 3 BOX 12800                                                                   CAMUY        PR      00627
CRUZ ERAZO, ANGEL F.             ADDRESS ON FILE
CRUZ ERAZO, ASTRID D.            ADDRESS ON FILE
CRUZ ERAZO, LYNNETTE             ADDRESS ON FILE
Cruz Erazo, Maritza              ADDRESS ON FILE
CRUZ ESCALERA, VICTOR A.         ADDRESS ON FILE
CRUZ ESCOBAR, MITZI              ADDRESS ON FILE
CRUZ ESCRIBANO, ANGEL            ADDRESS ON FILE
Cruz Escribano, Ernesto          ADDRESS ON FILE
CRUZ ESCRIBANO, JOSE E           ADDRESS ON FILE
CRUZ ESCRIBANO, NILDA            ADDRESS ON FILE
CRUZ ESCRIBANO, NILDA L.         ADDRESS ON FILE
CRUZ ESCUTE, CARMEN N            ADDRESS ON FILE
CRUZ ESCUTE, ILEANA E.           ADDRESS ON FILE
CRUZ ESPADA, LUIS                ADDRESS ON FILE
CRUZ ESPARRA, BELSY              ADDRESS ON FILE
CRUZ ESPERANZA, CARMEN Y.        ADDRESS ON FILE
CRUZ ESPINEL, VICTOR M           ADDRESS ON FILE
CRUZ ESPINOSA, AIRELL            ADDRESS ON FILE
Cruz Espinosa, Airell A          ADDRESS ON FILE
CRUZ ESPINOSA, JOHN              ADDRESS ON FILE
CRUZ ESPINOSA, JOHN              ADDRESS ON FILE
CRUZ ESPINOSA, TERESA I          ADDRESS ON FILE
CRUZ ESTEVES, ELIEZER            ADDRESS ON FILE
CRUZ ESTEVES, MICHELLE           ADDRESS ON FILE
CRUZ ESTRADA, BENNITA            ADDRESS ON FILE
CRUZ ESTRADA, EDNA I.            ADDRESS ON FILE




                                                                             Page 1927 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1928 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ESTRADA, EILEEN             ADDRESS ON FILE
CRUZ ESTRADA, EVELYN             ADDRESS ON FILE
CRUZ ESTRADA, FIANNIE            ADDRESS ON FILE
CRUZ ESTRADA, LILLIAN            ADDRESS ON FILE
Cruz Estrada, Luis M             ADDRESS ON FILE
CRUZ ESTRADA, MISAEL             ADDRESS ON FILE
CRUZ ESTRELLA, AIDA I            ADDRESS ON FILE
CRUZ ESTRELLA, ELIEZER           ADDRESS ON FILE
CRUZ ESTRELLA, ELOY A            ADDRESS ON FILE
CRUZ ESTRELLA, LYDIA A           ADDRESS ON FILE
CRUZ ESTREMERA, ANA M            ADDRESS ON FILE
CRUZ ESTREMERA, BLADIMIR         ADDRESS ON FILE
CRUZ ESTREMERA, DALILA           ADDRESS ON FILE
CRUZ ESTREMERA, MARIA D          ADDRESS ON FILE
CRUZ FABRE, ALEX                 ADDRESS ON FILE
CRUZ FADUL, VIARDA               ADDRESS ON FILE
CRUZ FALCON, ANGEL               ADDRESS ON FILE
CRUZ FALCON, HECTOR M            ADDRESS ON FILE
CRUZ FALCON, LOURDES I           ADDRESS ON FILE
CRUZ FALCON, OSVALDO             ADDRESS ON FILE
CRUZ FALCON, YASHIRA K           ADDRESS ON FILE
CRUZ FALERO, CARMELO             ADDRESS ON FILE
Cruz Falero, Dorcar              ADDRESS ON FILE
CRUZ FALERO, DORIS               ADDRESS ON FILE
CRUZ FALERO, MYRIAM              ADDRESS ON FILE
CRUZ FALU, ANGELITA              ADDRESS ON FILE
CRUZ FANFAN, YANIRA              ADDRESS ON FILE
CRUZ FANTAUZZI, DENISE           ADDRESS ON FILE
CRUZ FANTAUZZI, SONIA N          ADDRESS ON FILE
CRUZ FARGAS, LEROY               ADDRESS ON FILE
CRUZ FARIA, IVONNE               ADDRESS ON FILE
CRUZ FAZZINO, ANGELINA           ADDRESS ON FILE
CRUZ FAZZINO, NEFTALI            ADDRESS ON FILE
CRUZ FEBLES, MARIA Y             ADDRESS ON FILE
CRUZ FEBO, CAROLINE              ADDRESS ON FILE
CRUZ FEBO, DARYBEL               ADDRESS ON FILE
Cruz Febo, Pedro                 ADDRESS ON FILE
CRUZ FEBO, PEDRO                 ADDRESS ON FILE
CRUZ FEBRES, MILDRED             ADDRESS ON FILE
CRUZ FEBUS, FRANCISCO            ADDRESS ON FILE
CRUZ FEBUS, FRANCISCO E          ADDRESS ON FILE
CRUZ FEBUS, IRIS N               ADDRESS ON FILE
CRUZ FEBUS, NOEMI                ADDRESS ON FILE
CRUZ FEBUS, YAREIDA              ADDRESS ON FILE
CRUZ FELICIANO, ABIGAIL          ADDRESS ON FILE
Cruz Feliciano, Adan             ADDRESS ON FILE
CRUZ FELICIANO, AIDA I.          ADDRESS ON FILE
CRUZ FELICIANO, ARNOLD           ADDRESS ON FILE
CRUZ FELICIANO, CANDIDO          ADDRESS ON FILE
CRUZ FELICIANO, CARMEN D         ADDRESS ON FILE
CRUZ FELICIANO, DAMARIS          ADDRESS ON FILE
CRUZ FELICIANO, EVELYN           ADDRESS ON FILE
CRUZ FELICIANO, FELIX            ADDRESS ON FILE
Cruz Feliciano, Francisco J      ADDRESS ON FILE
CRUZ FELICIANO, GABRIELA         ADDRESS ON FILE
CRUZ FELICIANO, JOHANA           ADDRESS ON FILE
Cruz Feliciano, Jose             ADDRESS ON FILE
Cruz Feliciano, Jose Francisco   ADDRESS ON FILE
CRUZ FELICIANO, JULIO A.         ADDRESS ON FILE
CRUZ FELICIANO, KEDWIN D         ADDRESS ON FILE




                                                                             Page 1928 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1929 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ FELICIANO, LOURDES MILAGROS   ADDRESS ON FILE
CRUZ FELICIANO, LUIS               ADDRESS ON FILE
CRUZ FELICIANO, MARILYN            ADDRESS ON FILE
CRUZ FELICIANO, MARISOL            ADDRESS ON FILE
CRUZ FELICIANO, MILDRED            ADDRESS ON FILE
CRUZ FELICIANO, MILTON             ADDRESS ON FILE
CRUZ FELICIANO, NELIDA             ADDRESS ON FILE
CRUZ FELICIANO, REBECCA            ADDRESS ON FILE
CRUZ FELICIANO, RENE               ADDRESS ON FILE
CRUZ FELICIANO, RUDERSINDO         ADDRESS ON FILE
CRUZ FELICIANO, RUDERSINDO         ADDRESS ON FILE
CRUZ FELICIANO, SAMUEL             ADDRESS ON FILE
CRUZ FELICIANO, VERONICA           ADDRESS ON FILE
CRUZ FELICIANO, WILSON             ADDRESS ON FILE
CRUZ FELICIANO,MARIA M.            ADDRESS ON FILE
CRUZ FELIX, CARMEN I.              ADDRESS ON FILE
CRUZ FELIX, EDNA                   ADDRESS ON FILE
CRUZ FELIX, ELIODORA               ADDRESS ON FILE
CRUZ FELIX, GABRIEL                ADDRESS ON FILE
CRUZ FEO, JESUS                    ADDRESS ON FILE
CRUZ FERNANDEZ, ALIDA Z            ADDRESS ON FILE
CRUZ FERNANDEZ, CONCEPCION         ADDRESS ON FILE
CRUZ FERNANDEZ, IBSEN S            ADDRESS ON FILE
CRUZ FERNANDEZ, JAVIER             ADDRESS ON FILE
CRUZ FERNANDEZ, JOSE               ADDRESS ON FILE
Cruz Fernandez, Jose A             ADDRESS ON FILE
CRUZ FERNANDEZ, MARIA L            ADDRESS ON FILE
CRUZ FERNANDEZ, MARIBEL            ADDRESS ON FILE
CRUZ FERNANDEZ, MIGUEL             ADDRESS ON FILE
CRUZ FERNANDEZ, MILENA             ADDRESS ON FILE
CRUZ FERNANDEZ, NIXIDIA            ADDRESS ON FILE
Cruz Fernandez, Roberto            ADDRESS ON FILE
CRUZ FERNANDEZ, SANDRA             ADDRESS ON FILE
CRUZ FERNANDEZ, TATIANA            ADDRESS ON FILE
CRUZ FERNANDEZ, VICTOR             ADDRESS ON FILE
CRUZ FERNANDEZ, VIRGINIA           ADDRESS ON FILE
CRUZ FERNANDEZ, ZOE MARIE          ADDRESS ON FILE
CRUZ FERNANDINI, WILLIAM           ADDRESS ON FILE
CRUZ FERRER, CARMEN L              ADDRESS ON FILE
CRUZ FERRER, IRMA                  ADDRESS ON FILE
CRUZ FERRER, LUZ E                 ADDRESS ON FILE
CRUZ FERRER, MARIA TERESA          ADDRESS ON FILE
CRUZ FIDALGO, RAFAEL               ADDRESS ON FILE
CRUZ FIGUEROA, ADA I               ADDRESS ON FILE
CRUZ FIGUEROA, ADIEL               ADDRESS ON FILE
CRUZ FIGUEROA, ALBA D              ADDRESS ON FILE
CRUZ FIGUEROA, ALEXIS              ADDRESS ON FILE
CRUZ FIGUEROA, ANEIDA              ADDRESS ON FILE
CRUZ FIGUEROA, ANTONIA             ADDRESS ON FILE
CRUZ FIGUEROA, ARIEL               ADDRESS ON FILE
CRUZ FIGUEROA, ARLENE              ADDRESS ON FILE
CRUZ FIGUEROA, BRUNILDA            ADDRESS ON FILE
CRUZ FIGUEROA, CARMEN              ADDRESS ON FILE
CRUZ FIGUEROA, CARMEN A            ADDRESS ON FILE
CRUZ FIGUEROA, CARMEN G.           ADDRESS ON FILE
CRUZ FIGUEROA, CARMEN G.           ADDRESS ON FILE
CRUZ FIGUEROA, CARMEN M.           ADDRESS ON FILE
CRUZ FIGUEROA, DELIA               ADDRESS ON FILE
CRUZ FIGUEROA, DIEGO               ADDRESS ON FILE
CRUZ FIGUEROA, EDGARDO             ADDRESS ON FILE




                                                                               Page 1929 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1930 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ FIGUEROA, ELIZABETH     ADDRESS ON FILE
CRUZ FIGUEROA, ELIZABETH     ADDRESS ON FILE
CRUZ FIGUEROA, ENRIQUE       ADDRESS ON FILE
CRUZ FIGUEROA, EVA T.        ADDRESS ON FILE
CRUZ FIGUEROA, FANNY A.      ADDRESS ON FILE
CRUZ FIGUEROA, FERNANDO      ADDRESS ON FILE
Cruz Figueroa, Genaro A      ADDRESS ON FILE
CRUZ FIGUEROA, GERARDO       ADDRESS ON FILE
CRUZ FIGUEROA, GILBERTO      ADDRESS ON FILE
CRUZ FIGUEROA, GILBERTO      ADDRESS ON FILE
Cruz Figueroa, Greg J        ADDRESS ON FILE
CRUZ FIGUEROA, GREGORI       ADDRESS ON FILE
CRUZ FIGUEROA, GRISELLE      ADDRESS ON FILE
CRUZ FIGUEROA, HECTOR        ADDRESS ON FILE
CRUZ FIGUEROA, HECTOR        ADDRESS ON FILE
Cruz Figueroa, Hector L.     ADDRESS ON FILE
CRUZ FIGUEROA, HENRY         ADDRESS ON FILE
CRUZ FIGUEROA, HILDA B.      ADDRESS ON FILE
CRUZ FIGUEROA, IRAIDA        ADDRESS ON FILE
CRUZ FIGUEROA, ISABEL        ADDRESS ON FILE
CRUZ FIGUEROA, IVAN          ADDRESS ON FILE
CRUZ FIGUEROA, IVONNE DE L   ADDRESS ON FILE
CRUZ FIGUEROA, JACQUELINE    ADDRESS ON FILE
CRUZ FIGUEROA, JAN C.        ADDRESS ON FILE
CRUZ FIGUEROA, JEANETTE      ADDRESS ON FILE
CRUZ FIGUEROA, JERLLY        ADDRESS ON FILE
CRUZ FIGUEROA, JERRY         ADDRESS ON FILE
CRUZ FIGUEROA, JERYKA N      ADDRESS ON FILE
CRUZ FIGUEROA, JOAN          ADDRESS ON FILE
CRUZ FIGUEROA, JORGE         ADDRESS ON FILE
CRUZ FIGUEROA, JORGE L.      ADDRESS ON FILE
CRUZ FIGUEROA, JOSE          ADDRESS ON FILE
CRUZ FIGUEROA, JOSE          ADDRESS ON FILE
CRUZ FIGUEROA, JOSE          ADDRESS ON FILE
CRUZ FIGUEROA, JOSE          ADDRESS ON FILE
CRUZ FIGUEROA, JOSE          ADDRESS ON FILE
CRUZ FIGUEROA, JOSE E        ADDRESS ON FILE
Cruz Figueroa, Jose J        ADDRESS ON FILE
CRUZ FIGUEROA, JUAN          ADDRESS ON FILE
CRUZ FIGUEROA, JUAN          ADDRESS ON FILE
CRUZ FIGUEROA, LUCELY        ADDRESS ON FILE
CRUZ FIGUEROA, LUIS A.       ADDRESS ON FILE
Cruz Figueroa, Luis F        ADDRESS ON FILE
CRUZ FIGUEROA, LUIS O.       ADDRESS ON FILE
CRUZ FIGUEROA, LUZ           ADDRESS ON FILE
CRUZ FIGUEROA, LUZ N.        ADDRESS ON FILE
CRUZ FIGUEROA, MABEL         ADDRESS ON FILE
CRUZ FIGUEROA, MARIA         ADDRESS ON FILE
CRUZ FIGUEROA, MARIA M       ADDRESS ON FILE
CRUZ FIGUEROA, MARIBEL       ADDRESS ON FILE
CRUZ FIGUEROA, MARTA         ADDRESS ON FILE
CRUZ FIGUEROA, MERCEDES      ADDRESS ON FILE
CRUZ FIGUEROA, MIGUEL        ADDRESS ON FILE
CRUZ FIGUEROA, MIGUEL A.     ADDRESS ON FILE
CRUZ FIGUEROA, MONICA Y      ADDRESS ON FILE
CRUZ FIGUEROA, MYRA          ADDRESS ON FILE
CRUZ FIGUEROA, MYRIAM E.     ADDRESS ON FILE
CRUZ FIGUEROA, NANCY G       ADDRESS ON FILE
CRUZ FIGUEROA, NELDYS E      ADDRESS ON FILE
CRUZ FIGUEROA, NILDA         ADDRESS ON FILE




                                                                         Page 1930 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1931 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ FIGUEROA, NITZA          ADDRESS ON FILE
CRUZ FIGUEROA, NORMA          ADDRESS ON FILE
CRUZ FIGUEROA, NORMA I.       ADDRESS ON FILE
CRUZ FIGUEROA, RAMON          ADDRESS ON FILE
CRUZ FIGUEROA, SONIA          ADDRESS ON FILE
CRUZ FIGUEROA, SONIA NOEMI    ADDRESS ON FILE
CRUZ FIGUEROA, SUNYAMARIS     ADDRESS ON FILE
CRUZ FIGUEROA, VANESSA        ADDRESS ON FILE
CRUZ FIGUEROA, VICTOR         ADDRESS ON FILE
Cruz Figueroa, Vilma          ADDRESS ON FILE
CRUZ FIGUEROA, VIVIAN E       ADDRESS ON FILE
CRUZ FIGUEROA, WANDA          ADDRESS ON FILE
CRUZ FIGUEROA, XIOARA         ADDRESS ON FILE
CRUZ FIGUEROA, ZORAIDA        ADDRESS ON FILE
CRUZ FIRE SPRINKLER SYSTEMS   PO BOX 5403                                                                      CAGUAS       PR      00726
CRUZ FLECHA, CARMEN           ADDRESS ON FILE
CRUZ FLORES, BRENDA           ADDRESS ON FILE
Cruz Flores, Carlos Juan      ADDRESS ON FILE
CRUZ FLORES, ERNESTO          ADDRESS ON FILE
CRUZ FLORES, EVELYN           ADDRESS ON FILE
CRUZ FLORES, GABRIEL          ADDRESS ON FILE
Cruz Flores, Iris             ADDRESS ON FILE
CRUZ FLORES, IRIS             ADDRESS ON FILE
CRUZ FLORES, IRMA R           ADDRESS ON FILE
CRUZ FLORES, JOSE L.          ADDRESS ON FILE
Cruz Flores, Julio C          ADDRESS ON FILE
CRUZ FLORES, KARLA M          ADDRESS ON FILE
CRUZ FLORES, LYDIA M          ADDRESS ON FILE
CRUZ FLORES, MADELIN          ADDRESS ON FILE
CRUZ FLORES, MADELINE         ADDRESS ON FILE
CRUZ FLORES, MAGGY            ADDRESS ON FILE
CRUZ FLORES, MARIELY          ADDRESS ON FILE
Cruz Flores, Mayra            ADDRESS ON FILE
CRUZ FLORES, MELAINE          ADDRESS ON FILE
CRUZ FLORES, MELANIE          ADDRESS ON FILE
CRUZ FLORES, MIRIAM V         ADDRESS ON FILE
CRUZ FLORES, PAULA C.         ADDRESS ON FILE
CRUZ FLORES, RICARDO          ADDRESS ON FILE
CRUZ FLORES, ROBERTO          ADDRESS ON FILE
CRUZ FLORES, VERONICA         ADDRESS ON FILE
CRUZ FLORES, YARIS N          ADDRESS ON FILE
CRUZ FONSECA, ANA             ADDRESS ON FILE
CRUZ FONSECA, DAVID           ADDRESS ON FILE
CRUZ FONSECA, DORIMAR         ADDRESS ON FILE
Cruz Fonseca, Freddy          ADDRESS ON FILE
CRUZ FONSECA, FREDDY          ADDRESS ON FILE
CRUZ FONSECA, JAIME           ADDRESS ON FILE
CRUZ FONSECA, JAIME           ADDRESS ON FILE
CRUZ FONSECA, JAVIER          ADDRESS ON FILE
CRUZ FONSECA, LUIS            ADDRESS ON FILE
CRUZ FONSECA, MARIA           ADDRESS ON FILE
CRUZ FONSECA, PROVIMAR        ADDRESS ON FILE
CRUZ FONSECA, RAFAEL          ADDRESS ON FILE
CRUZ FONSECA, YOLANDA         ADDRESS ON FILE
CRUZ FONTAN, RAFAEL           ADDRESS ON FILE
CRUZ FONTANEZ, CARLOS         ADDRESS ON FILE
Cruz Fontanez, Hector         ADDRESS ON FILE
CRUZ FONTANEZ, JULYVETTE      ADDRESS ON FILE
CRUZ FONTANEZ, LUIS           ADDRESS ON FILE
CRUZ FONTANEZ, MARIA I        ADDRESS ON FILE




                                                                          Page 1931 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1932 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Fontanez, Rafael          ADDRESS ON FILE
CRUZ FONTANEZ, VINILISA        ADDRESS ON FILE
CRUZ FRANCESCHI, EDWIN         ADDRESS ON FILE
CRUZ FRANCO, AMYONILL          ADDRESS ON FILE
CRUZ FRANCO, MARIA DE FATIMA   ADDRESS ON FILE
CRUZ FRANCO, OMAYRA            ADDRESS ON FILE
Cruz Franqui, Luis O.          ADDRESS ON FILE
CRUZ FRANQUI, RAUL A           ADDRESS ON FILE
CRUZ FRANQUI, RAUL ALBERTO     ADDRESS ON FILE
CRUZ FRANQUI, RICHARD W        ADDRESS ON FILE
Cruz Franqui, Rolando          ADDRESS ON FILE
CRUZ FRATICELLI, NITLIANN      ADDRESS ON FILE
Cruz Fred, Wilfredo            ADDRESS ON FILE
CRUZ FRED, WILFREDO            ADDRESS ON FILE
CRUZ FRET, NAOMI               ADDRESS ON FILE
CRUZ FREYRE, CARMEN            ADDRESS ON FILE
CRUZ FREYRER, CARMEN M         ADDRESS ON FILE
CRUZ FREYTES, GABRIEL          ADDRESS ON FILE
CRUZ FRIAS, CAROL              ADDRESS ON FILE
CRUZ FRONTERA, JOSE            ADDRESS ON FILE
CRUZ FRONTERA, MARGARITA       ADDRESS ON FILE
Cruz Fuentes, Danixa           ADDRESS ON FILE
CRUZ FUENTES, DORIS N          ADDRESS ON FILE
CRUZ FUENTES, ELIZABETH        ADDRESS ON FILE
CRUZ FUENTES, ENID             ADDRESS ON FILE
CRUZ FUENTES, EVELIO           ADDRESS ON FILE
CRUZ FUENTES, JOSE L           ADDRESS ON FILE
CRUZ FUENTES, LETICIA          ADDRESS ON FILE
CRUZ FUENTES, LILLIAM          ADDRESS ON FILE
CRUZ FUENTES, MARIA T.         ADDRESS ON FILE
Cruz Fuentes, Wilfredo         ADDRESS ON FILE
Cruz Funes, Grechen            ADDRESS ON FILE
CRUZ G DIAZ DUPREY             ADDRESS ON FILE
CRUZ GABINO, GILBERTO          ADDRESS ON FILE
CRUZ GAETAN, RICARDO           ADDRESS ON FILE
CRUZ GAETAN, RICARDO           ADDRESS ON FILE
CRUZ GALAN, MANUEL             ADDRESS ON FILE
CRUZ GALAN, MARITZA            ADDRESS ON FILE
CRUZ GALARZA, ALEXANDRO        ADDRESS ON FILE
CRUZ GALARZA, ALEXIS           ADDRESS ON FILE
CRUZ GALARZA, ANGEL            ADDRESS ON FILE
CRUZ GALARZA, ANTONIO          ADDRESS ON FILE
CRUZ GALARZA, DANESKY          ADDRESS ON FILE
CRUZ GALARZA, DANESKY          ADDRESS ON FILE
CRUZ GALARZA, DANESKY          ADDRESS ON FILE
CRUZ GALARZA, DANIEL           ADDRESS ON FILE
CRUZ GALARZA, HECTOR J         ADDRESS ON FILE
CRUZ GALARZA, KEMUEL           ADDRESS ON FILE
CRUZ GALARZA, KEMUEL           ADDRESS ON FILE
CRUZ GALARZA, KEMUEL           ADDRESS ON FILE
CRUZ GALARZA, LUIS A.          ADDRESS ON FILE
CRUZ GALARZA, MADELINE         ADDRESS ON FILE
CRUZ GALARZA, MARIA            ADDRESS ON FILE
CRUZ GALARZA, MIRIAN           ADDRESS ON FILE
CRUZ GALARZA, OMAYRA           ADDRESS ON FILE
CRUZ GALARZA, ORLANDO          ADDRESS ON FILE
CRUZ GALARZA, PABLO            ADDRESS ON FILE
CRUZ GALARZA, RAMON            ADDRESS ON FILE
CRUZ GALARZA, RUTH             ADDRESS ON FILE
CRUZ GALIMDEZ, MARIA L         ADDRESS ON FILE




                                                                           Page 1932 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1933 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GALINDEZ, JOSE E     ADDRESS ON FILE
Cruz Galindo, Dalia L     ADDRESS ON FILE
Cruz Galindo, Eddie E.    ADDRESS ON FILE
CRUZ GALVAN, ALAN W       ADDRESS ON FILE
CRUZ GANDIA, KEMELY       ADDRESS ON FILE
CRUZ GARAY, ANA I         ADDRESS ON FILE
CRUZ GARAY, GLORIA        ADDRESS ON FILE
CRUZ GARAY, MARGARO       ADDRESS ON FILE
CRUZ GARAY, MARGARO       ADDRESS ON FILE
CRUZ GARAY, MARIA         ADDRESS ON FILE
CRUZ GARCIA MD, CESAR P   ADDRESS ON FILE
CRUZ GARCIA MD, JOANNY    ADDRESS ON FILE
CRUZ GARCIA, ADVILDA      ADDRESS ON FILE
CRUZ GARCIA, ALBERTO R.   ADDRESS ON FILE
CRUZ GARCIA, ALIANESA     ADDRESS ON FILE
CRUZ GARCIA, ANA E        ADDRESS ON FILE
CRUZ GARCIA, ANA L        ADDRESS ON FILE
CRUZ GARCIA, ANA L.       ADDRESS ON FILE
CRUZ GARCIA, ANGEL        ADDRESS ON FILE
CRUZ GARCIA, ANGEL        ADDRESS ON FILE
CRUZ GARCIA, ANGEL A      ADDRESS ON FILE
Cruz Garcia, Angel L      ADDRESS ON FILE
Cruz Garcia, Betsy        ADDRESS ON FILE
CRUZ GARCIA, BIANCA       ADDRESS ON FILE
CRUZ GARCIA, BRENDA       ADDRESS ON FILE
CRUZ GARCIA, BRUNILDA     ADDRESS ON FILE
CRUZ GARCIA, CARLOS       ADDRESS ON FILE
CRUZ GARCIA, CARLOS       ADDRESS ON FILE
Cruz Garcia, Carmelo      ADDRESS ON FILE
CRUZ GARCIA, CARMEN B     ADDRESS ON FILE
CRUZ GARCIA, CARMEN E     ADDRESS ON FILE
CRUZ GARCIA, CARMEN I.    ADDRESS ON FILE
CRUZ GARCIA, CARMEN I.    ADDRESS ON FILE
Cruz Garcia, Cheyenne     ADDRESS ON FILE
CRUZ GARCIA, CLARIBEL     ADDRESS ON FILE
CRUZ GARCIA, CORALIE      ADDRESS ON FILE
CRUZ GARCIA, DANIEL       ADDRESS ON FILE
CRUZ GARCIA, DANNY        ADDRESS ON FILE
CRUZ GARCIA, DAVID        ADDRESS ON FILE
CRUZ GARCIA, DOEL         ADDRESS ON FILE
CRUZ GARCIA, DORCA        ADDRESS ON FILE
CRUZ GARCIA, EDGAR M      ADDRESS ON FILE
CRUZ GARCIA, EDWIN        ADDRESS ON FILE
CRUZ GARCIA, EDWIN        ADDRESS ON FILE
CRUZ GARCIA, ELIZABETH    ADDRESS ON FILE
CRUZ GARCIA, ERIKA        ADDRESS ON FILE
CRUZ GARCIA, ERNESTO E    ADDRESS ON FILE
CRUZ GARCIA, EVELYN       ADDRESS ON FILE
CRUZ GARCIA, EVELYN       ADDRESS ON FILE
CRUZ GARCIA, FELICITA     ADDRESS ON FILE
CRUZ GARCIA, FELIX        ADDRESS ON FILE
CRUZ GARCIA, FRANKIE      ADDRESS ON FILE
CRUZ GARCIA, HECTOR J     ADDRESS ON FILE
CRUZ GARCIA, ILDEFONSO    ADDRESS ON FILE
CRUZ GARCIA, JAVIER E.    ADDRESS ON FILE
CRUZ GARCIA, JAVIER E.    ADDRESS ON FILE
CRUZ GARCIA, JOANY A.     ADDRESS ON FILE
CRUZ GARCIA, JOSE         ADDRESS ON FILE
CRUZ GARCIA, JOSE         ADDRESS ON FILE
CRUZ GARCIA, JOSE         ADDRESS ON FILE




                                                                      Page 1933 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1934 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GARCIA, JOSE          ADDRESS ON FILE
CRUZ GARCIA, JOSE          ADDRESS ON FILE
CRUZ GARCIA, JOSE A        ADDRESS ON FILE
CRUZ GARCIA, JOSE J        ADDRESS ON FILE
CRUZ GARCIA, JOSE LUIS     ADDRESS ON FILE
CRUZ GARCIA, JOSE M.       ADDRESS ON FILE
CRUZ GARCIA, JOSEFINA      ADDRESS ON FILE
CRUZ GARCIA, JUAN F        ADDRESS ON FILE
CRUZ GARCIA, JUAN R        ADDRESS ON FILE
CRUZ GARCIA, JUDITH        ADDRESS ON FILE
CRUZ GARCIA, JULIO         ADDRESS ON FILE
CRUZ GARCIA, KEYLA         ADDRESS ON FILE
CRUZ GARCIA, LENIN         ADDRESS ON FILE
CRUZ GARCIA, LERCY J       ADDRESS ON FILE
CRUZ GARCIA, LESLIEWINDA   ADDRESS ON FILE
CRUZ GARCIA, LILLIAM       ADDRESS ON FILE
CRUZ GARCIA, LILLIAM       ADDRESS ON FILE
CRUZ GARCIA, LISSY I       ADDRESS ON FILE
CRUZ GARCIA, LUIS          ADDRESS ON FILE
CRUZ GARCIA, LUIS          ADDRESS ON FILE
CRUZ GARCIA, LUIS A.       ADDRESS ON FILE
CRUZ GARCIA, LUIS RAUL     ADDRESS ON FILE
CRUZ GARCIA, LUZ C.        ADDRESS ON FILE
CRUZ GARCIA, LUZ M         ADDRESS ON FILE
CRUZ GARCIA, LYDIA         ADDRESS ON FILE
CRUZ GARCIA, MADELINE      ADDRESS ON FILE
CRUZ GARCIA, MANUEL A      ADDRESS ON FILE
CRUZ GARCIA, MARCOS        ADDRESS ON FILE
CRUZ GARCIA, MARIA A       ADDRESS ON FILE
CRUZ GARCIA, MARIA DEL C   ADDRESS ON FILE
CRUZ GARCIA, MARIA H       ADDRESS ON FILE
CRUZ GARCIA, MARIA M       ADDRESS ON FILE
Cruz Garcia, Marie D       ADDRESS ON FILE
CRUZ GARCIA, MARILYN       ADDRESS ON FILE
CRUZ GARCIA, MARY          ADDRESS ON FILE
CRUZ GARCIA, MELLANIE      ADDRESS ON FILE
CRUZ GARCIA, MELLANIE      ADDRESS ON FILE
CRUZ GARCIA, MERCEDES      ADDRESS ON FILE
CRUZ GARCIA, MERY A        ADDRESS ON FILE
CRUZ GARCIA, MICHELLE      ADDRESS ON FILE
CRUZ GARCIA, MICHELLE      ADDRESS ON FILE
CRUZ GARCIA, MILDRED       ADDRESS ON FILE
CRUZ GARCIA, MILSA         ADDRESS ON FILE
Cruz Garcia, Nancy         ADDRESS ON FILE
CRUZ GARCIA, NANCY         ADDRESS ON FILE
CRUZ GARCIA, NANCY N       ADDRESS ON FILE
Cruz Garcia, Nehemias      ADDRESS ON FILE
Cruz Garcia, Nelson        ADDRESS ON FILE
CRUZ GARCIA, NIXZALIZ      ADDRESS ON FILE
CRUZ GARCIA, NORMA I       ADDRESS ON FILE
CRUZ GARCIA, ORLANDO       ADDRESS ON FILE
CRUZ GARCIA, PABLO         ADDRESS ON FILE
CRUZ GARCIA, RADAMES       ADDRESS ON FILE
CRUZ GARCIA, RAFAEL        ADDRESS ON FILE
CRUZ GARCIA, RAFAEL        ADDRESS ON FILE
Cruz Garcia, Rafael A      ADDRESS ON FILE
Cruz Garcia, Rafael A.     ADDRESS ON FILE
Cruz Garcia, Ramon L       ADDRESS ON FILE
CRUZ GARCIA, RAUL          ADDRESS ON FILE
CRUZ GARCIA, RAUL          ADDRESS ON FILE




                                                                       Page 1934 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1935 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GARCIA, RICARDO         ADDRESS ON FILE
CRUZ GARCIA, ROBERTO C.      ADDRESS ON FILE
CRUZ GARCIA, ROSA I          ADDRESS ON FILE
CRUZ GARCIA, ROSA M.         ADDRESS ON FILE
CRUZ GARCIA, SANDRA          ADDRESS ON FILE
CRUZ GARCIA, SHARON          ADDRESS ON FILE
CRUZ GARCIA, SONIA           ADDRESS ON FILE
CRUZ GARCIA, TRINIDAD        ADDRESS ON FILE
Cruz Garcia, Victor O        ADDRESS ON FILE
CRUZ GARCIA, VIRGINIA        ADDRESS ON FILE
CRUZ GARCIA, WALESKA         ADDRESS ON FILE
CRUZ GARCIA, WALESKA         ADDRESS ON FILE
CRUZ GARCIA, WALESKA         ADDRESS ON FILE
Cruz Garcia, Wilfredo        ADDRESS ON FILE
CRUZ GARCIA, WILFREDO        ADDRESS ON FILE
CRUZ GARCIA, YAMILETTE       ADDRESS ON FILE
CRUZ GARCIA, YAZMIN          ADDRESS ON FILE
CRUZ GARCIA, YUANDIE         ADDRESS ON FILE
CRUZ GARCIA, ZULMA           ADDRESS ON FILE
CRUZ GARCIA,FERNANDO         ADDRESS ON FILE
CRUZ GARCIA,OSVALDO JAVIER   ADDRESS ON FILE
CRUZ GARRASTEGUI, ONIXOMAR   ADDRESS ON FILE
CRUZ GAUTIER, ADRIA          ADDRESS ON FILE
CRUZ GAUTIER, NISSI A        ADDRESS ON FILE
CRUZ GELABERT, ANDREA        ADDRESS ON FILE
CRUZ GENARO, MILAGROS        ADDRESS ON FILE
CRUZ GENOVAL, MADELINE       ADDRESS ON FILE
CRUZ GERENA, CHRISTOPHER     ADDRESS ON FILE
CRUZ GERENA, JAYSON          ADDRESS ON FILE
CRUZ GERENA, JUAN F.         ADDRESS ON FILE
CRUZ GERENA, LUANA E         ADDRESS ON FILE
CRUZ GERENA, WALESKA         ADDRESS ON FILE
CRUZ GINEL, NATANAEL         ADDRESS ON FILE
CRUZ GINEL, NIXON            ADDRESS ON FILE
CRUZ GINES, JOSUE            ADDRESS ON FILE
CRUZ GINES, PEDRO R          ADDRESS ON FILE
CRUZ GOMEZ, ADALBERTO        ADDRESS ON FILE
CRUZ GOMEZ, ANGEL M.         ADDRESS ON FILE
CRUZ GOMEZ, AWILDA           ADDRESS ON FILE
CRUZ GOMEZ, CARLOS           ADDRESS ON FILE
CRUZ GOMEZ, CARLOS           ADDRESS ON FILE
CRUZ GOMEZ, CARLOS W.        ADDRESS ON FILE
CRUZ GOMEZ, CLARIBEL         ADDRESS ON FILE
CRUZ GOMEZ, EDNA             ADDRESS ON FILE
CRUZ GOMEZ, EDWIN J.         ADDRESS ON FILE
CRUZ GOMEZ, EVELYN           ADDRESS ON FILE
CRUZ GOMEZ, GIAN             ADDRESS ON FILE
Cruz Gomez, Joel             ADDRESS ON FILE
CRUZ GOMEZ, LLAMARA          ADDRESS ON FILE
CRUZ GOMEZ, LUIS             ADDRESS ON FILE
CRUZ GOMEZ, LUZ P            ADDRESS ON FILE
CRUZ GOMEZ, MAYRA            ADDRESS ON FILE
CRUZ GOMEZ, NELIA            ADDRESS ON FILE
CRUZ GOMEZ, ORLANDO          ADDRESS ON FILE
CRUZ GOMEZ, PAULA            ADDRESS ON FILE
CRUZ GOMEZ, RAMON E          ADDRESS ON FILE
Cruz Gomez, Samuel           ADDRESS ON FILE
CRUZ GOMEZ, SANDRA I         ADDRESS ON FILE
CRUZ GOMEZ, SONIA            ADDRESS ON FILE
CRUZ GOMEZ, ZULAIRAM         ADDRESS ON FILE




                                                                         Page 1935 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1936 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GONZALEZ, ABRAHAM       ADDRESS ON FILE
CRUZ GONZALEZ, ABRAHAMS      ADDRESS ON FILE
CRUZ GONZALEZ, ADALBERTO     ADDRESS ON FILE
CRUZ GONZALEZ, ADDEL J       ADDRESS ON FILE
CRUZ GONZALEZ, AIXA          ADDRESS ON FILE
CRUZ GONZALEZ, AIXA          ADDRESS ON FILE
CRUZ GONZALEZ, ALEJANDRINA   ADDRESS ON FILE
CRUZ GONZALEZ, ALEJANDRO     ADDRESS ON FILE
CRUZ GONZALEZ, ALEXANDRA     ADDRESS ON FILE
CRUZ GONZALEZ, ALMA N        ADDRESS ON FILE
CRUZ GONZALEZ, AMY           ADDRESS ON FILE
CRUZ GONZALEZ, ANA           ADDRESS ON FILE
CRUZ GONZALEZ, ANA           ADDRESS ON FILE
CRUZ GONZALEZ, ANA E         ADDRESS ON FILE
CRUZ GONZALEZ, ANABEL        ADDRESS ON FILE
CRUZ GONZALEZ, ANGEL         ADDRESS ON FILE
CRUZ GONZALEZ, ANGEL         ADDRESS ON FILE
CRUZ GONZALEZ, ANGEL         ADDRESS ON FILE
CRUZ GONZALEZ, ANGEL A.      ADDRESS ON FILE
CRUZ GONZALEZ, ANGEL L       ADDRESS ON FILE
Cruz Gonzalez, Angel L       ADDRESS ON FILE
CRUZ GONZALEZ, ANGEL M.      ADDRESS ON FILE
CRUZ GONZALEZ, BEATRIZ       ADDRESS ON FILE
Cruz Gonzalez, Betsy         ADDRESS ON FILE
CRUZ GONZALEZ, BETTY         ADDRESS ON FILE
CRUZ GONZALEZ, BONNIE E.     ADDRESS ON FILE
CRUZ GONZALEZ, CARLOS        ADDRESS ON FILE
CRUZ GONZALEZ, CARLOS        ADDRESS ON FILE
CRUZ GONZALEZ, CARLOS        ADDRESS ON FILE
Cruz Gonzalez, Carlos J      ADDRESS ON FILE
CRUZ GONZALEZ, CARMELO       ADDRESS ON FILE
CRUZ GONZALEZ, CARMEN        ADDRESS ON FILE
CRUZ GONZALEZ, CARMEN L.     ADDRESS ON FILE
CRUZ GONZALEZ, CARMEN L.     ADDRESS ON FILE
CRUZ GONZALEZ, CESAR         ADDRESS ON FILE
CRUZ GONZALEZ, CHRISALYS     ADDRESS ON FILE
CRUZ GONZALEZ, CHRISTIAN     ADDRESS ON FILE
Cruz Gonzalez, Concepcion    ADDRESS ON FILE
CRUZ GONZALEZ, DAIANA        ADDRESS ON FILE
CRUZ GONZALEZ, DALIANA       ADDRESS ON FILE
CRUZ GONZALEZ, DAMARIS       ADDRESS ON FILE
CRUZ GONZALEZ, DANIRCA       ADDRESS ON FILE
CRUZ GONZALEZ, DENISE M      ADDRESS ON FILE
CRUZ GONZALEZ, DIAMILDE      ADDRESS ON FILE
CRUZ GONZALEZ, DILIA M       ADDRESS ON FILE
CRUZ GONZALEZ, EDGARDO       ADDRESS ON FILE
CRUZ GONZALEZ, EDUARDO       ADDRESS ON FILE
CRUZ GONZALEZ, EDWIN F       ADDRESS ON FILE
CRUZ GONZALEZ, ELADIA        ADDRESS ON FILE
CRUZ GONZALEZ, ELAINE        ADDRESS ON FILE
CRUZ GONZALEZ, ELBA L        ADDRESS ON FILE
CRUZ GONZALEZ, ELIZABETH     ADDRESS ON FILE
CRUZ GONZALEZ, ELLIOTT       ADDRESS ON FILE
CRUZ GONZALEZ, ELSIE E       ADDRESS ON FILE
CRUZ GONZALEZ, EMERALDO      ADDRESS ON FILE
CRUZ GONZALEZ, EMERALDO      ADDRESS ON FILE
CRUZ GONZALEZ, ENRIQUE       ADDRESS ON FILE
CRUZ GONZALEZ, EVELYN        ADDRESS ON FILE
CRUZ GONZALEZ, EVELYN        ADDRESS ON FILE
CRUZ GONZALEZ, EVELYN        ADDRESS ON FILE




                                                                         Page 1936 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1937 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GONZALEZ, FERNANDO        ADDRESS ON FILE
CRUZ GONZALEZ, FILIBERTO C     ADDRESS ON FILE
CRUZ GONZALEZ, FLAVIA          ADDRESS ON FILE
CRUZ GONZALEZ, FLOR            ADDRESS ON FILE
Cruz Gonzalez, Francisco       ADDRESS ON FILE
CRUZ GONZALEZ, FRANCISCO       ADDRESS ON FILE
CRUZ GONZALEZ, FRANCISCO       ADDRESS ON FILE
CRUZ GONZALEZ, GERARDO         ADDRESS ON FILE
CRUZ GONZALEZ, GLORIA          ADDRESS ON FILE
CRUZ GONZALEZ, GLORIA E        ADDRESS ON FILE
CRUZ GONZALEZ, GUANINA         ADDRESS ON FILE
CRUZ GONZALEZ, HECTOR          ADDRESS ON FILE
CRUZ GONZALEZ, HERIBERTO       ADDRESS ON FILE
Cruz Gonzalez, Heriberto       ADDRESS ON FILE
CRUZ GONZALEZ, IRIS M.         ADDRESS ON FILE
Cruz Gonzalez, Ismael A        ADDRESS ON FILE
CRUZ GONZALEZ, ISRAEL          ADDRESS ON FILE
Cruz Gonzalez, Ivette          ADDRESS ON FILE
Cruz Gonzalez, Jaime           ADDRESS ON FILE
CRUZ GONZALEZ, JAIME           ADDRESS ON FILE
CRUZ GONZALEZ, JAIME           ADDRESS ON FILE
CRUZ GONZALEZ, JANET           ADDRESS ON FILE
CRUZ GONZALEZ, JANET           ADDRESS ON FILE
CRUZ GONZALEZ, JAVIER ANIBAL   ADDRESS ON FILE
Cruz Gonzalez, Javier Ivan     ADDRESS ON FILE
CRUZ GONZALEZ, JEAN            ADDRESS ON FILE
CRUZ GONZALEZ, JESUS           ADDRESS ON FILE
CRUZ GONZALEZ, JESUS           ADDRESS ON FILE
CRUZ GONZALEZ, JESUS           ADDRESS ON FILE
Cruz Gonzalez, Jesus M         ADDRESS ON FILE
CRUZ GONZALEZ, JOEL            ADDRESS ON FILE
CRUZ GONZALEZ, JOHNNY          ADDRESS ON FILE
CRUZ GONZALEZ, JONATHAN        ADDRESS ON FILE
Cruz Gonzalez, Jorge A         ADDRESS ON FILE
CRUZ GONZALEZ, JORGE L         ADDRESS ON FILE
CRUZ GONZALEZ, JOSE            ADDRESS ON FILE
CRUZ GONZALEZ, JOSE            ADDRESS ON FILE
CRUZ GONZALEZ, JOSE            ADDRESS ON FILE
CRUZ GONZALEZ, JOSE            ADDRESS ON FILE
CRUZ GONZALEZ, JOSE            ADDRESS ON FILE
CRUZ GONZALEZ, JOSE            ADDRESS ON FILE
CRUZ GONZALEZ, JOSE A.         ADDRESS ON FILE
CRUZ GONZALEZ, JOSE A.         ADDRESS ON FILE
CRUZ GONZALEZ, JOSE R          ADDRESS ON FILE
CRUZ GONZALEZ, JOSEFA          ADDRESS ON FILE
CRUZ GONZALEZ, JOSEFINA        ADDRESS ON FILE
Cruz Gonzalez, Juan            ADDRESS ON FILE
CRUZ GONZALEZ, JUAN            ADDRESS ON FILE
CRUZ GONZALEZ, JUAN            ADDRESS ON FILE
CRUZ GONZALEZ, JUAN G          ADDRESS ON FILE
CRUZ GONZALEZ, JUANITA         ADDRESS ON FILE
CRUZ GONZALEZ, KEILA           ADDRESS ON FILE
CRUZ GONZALEZ, LETICIA         ADDRESS ON FILE
CRUZ GONZALEZ, LETICIA         ADDRESS ON FILE
CRUZ GONZALEZ, LUIS            ADDRESS ON FILE
CRUZ GONZALEZ, LUZ             ADDRESS ON FILE
CRUZ GONZALEZ, LUZ M.          ADDRESS ON FILE
CRUZ GONZALEZ, LYDIA           ADDRESS ON FILE
CRUZ GONZALEZ, MAGALY          ADDRESS ON FILE
CRUZ GONZALEZ, MAGALY          ADDRESS ON FILE




                                                                           Page 1937 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1938 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GONZALEZ, MARCOS         ADDRESS ON FILE
CRUZ GONZALEZ, MARGARITA      ADDRESS ON FILE
CRUZ GONZALEZ, MARIA          ADDRESS ON FILE
CRUZ GONZALEZ, MARIA          ADDRESS ON FILE
CRUZ GONZALEZ, MARIA DEL C.   ADDRESS ON FILE
CRUZ GONZALEZ, MARIA L        ADDRESS ON FILE
CRUZ GONZALEZ, MARIA M        ADDRESS ON FILE
CRUZ GONZALEZ, MARIA M        ADDRESS ON FILE
CRUZ GONZALEZ, MARILYN        ADDRESS ON FILE
CRUZ GONZALEZ, MARISOL        ADDRESS ON FILE
CRUZ GONZALEZ, MARTHA         ADDRESS ON FILE
CRUZ GONZALEZ, MAYRA E.       ADDRESS ON FILE
CRUZ GONZALEZ, MELANI         ADDRESS ON FILE
Cruz Gonzalez, Michelle       ADDRESS ON FILE
CRUZ GONZALEZ, MIGDALIA       ADDRESS ON FILE
CRUZ GONZALEZ, MIGUEL         ADDRESS ON FILE
CRUZ GONZALEZ, MIGUEL A       ADDRESS ON FILE
CRUZ GONZALEZ, MILBET         ADDRESS ON FILE
CRUZ GONZALEZ, MISAEL         ADDRESS ON FILE
CRUZ GONZALEZ, MONSERRATE     ADDRESS ON FILE
CRUZ GONZALEZ, MYRIAM         ADDRESS ON FILE
CRUZ GONZALEZ, MYRNA          ADDRESS ON FILE
CRUZ GONZALEZ, NATIVIDAD      ADDRESS ON FILE
CRUZ GONZALEZ, NEFTALI        ADDRESS ON FILE
CRUZ GONZALEZ, NELLIETTE      ADDRESS ON FILE
CRUZ GONZALEZ, NESTALY        ADDRESS ON FILE
CRUZ GONZALEZ, NICOLAS        ADDRESS ON FILE
CRUZ GONZALEZ, NOELIA         ADDRESS ON FILE
CRUZ GONZALEZ, NORA           ADDRESS ON FILE
Cruz Gonzalez, Obed           ADDRESS ON FILE
CRUZ GONZALEZ, OLGA I         ADDRESS ON FILE
CRUZ GONZALEZ, ONEIDA         ADDRESS ON FILE
CRUZ GONZALEZ, PABLO          ADDRESS ON FILE
CRUZ GONZALEZ, PABLO          ADDRESS ON FILE
CRUZ GONZALEZ, PEDRO          ADDRESS ON FILE
CRUZ GONZALEZ, PEDRO          ADDRESS ON FILE
CRUZ GONZALEZ, PEDRO          ADDRESS ON FILE
CRUZ GONZALEZ, RAMONA         ADDRESS ON FILE
CRUZ GONZALEZ, RENE           ADDRESS ON FILE
CRUZ GONZALEZ, RIGOBERTO      ADDRESS ON FILE
CRUZ GONZALEZ, ROSELYN        ADDRESS ON FILE
CRUZ GONZALEZ, RUBEN          ADDRESS ON FILE
CRUZ GONZALEZ, SAMUEL D       ADDRESS ON FILE
CRUZ GONZALEZ, SEGUNDO        ADDRESS ON FILE
CRUZ GONZALEZ, SONIA I.       ADDRESS ON FILE
CRUZ GONZALEZ, STEVEN         ADDRESS ON FILE
CRUZ GONZALEZ, TATIANA        ADDRESS ON FILE
Cruz Gonzalez, Ulpiano        ADDRESS ON FILE
CRUZ GONZALEZ, VALERIA        ADDRESS ON FILE
CRUZ GONZALEZ, VERONICA       ADDRESS ON FILE
CRUZ GONZALEZ, VICTOR         ADDRESS ON FILE
CRUZ GONZALEZ, VICTORIA       ADDRESS ON FILE
CRUZ GONZALEZ, WANDA          ADDRESS ON FILE
CRUZ GONZALEZ, WANDA          ADDRESS ON FILE
CRUZ GONZALEZ, WILLIAM        ADDRESS ON FILE
CRUZ GONZALEZ, YASIEL M       ADDRESS ON FILE
CRUZ GONZALEZ, ZORAIDA        ADDRESS ON FILE
CRUZ GONZALEZ,ARAMIS          ADDRESS ON FILE
CRUZ GONZALEZ,JUDITH          ADDRESS ON FILE
CRUZ GORRITZ, ANTONIO         ADDRESS ON FILE




                                                                          Page 1938 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1939 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ GORRITZ, GLADYS        ADDRESS ON FILE
Cruz Gotay, Ivan            ADDRESS ON FILE
CRUZ GOTAY, IVAN            ADDRESS ON FILE
CRUZ GOTAY, JOSE            ADDRESS ON FILE
CRUZ GOTAY, MARJORIE        ADDRESS ON FILE
Cruz Goytia, Jesus J        ADDRESS ON FILE
CRUZ GRACIA, LINDA          ADDRESS ON FILE
Cruz Graciani, Rolando      ADDRESS ON FILE
CRUZ GRANADO, ERIC          ADDRESS ON FILE
CRUZ GRANELL, EDITH         ADDRESS ON FILE
CRUZ GUADALUPE, LUZ M       ADDRESS ON FILE
CRUZ GUADALUPE, WILLIAM     ADDRESS ON FILE
CRUZ GUAY, GERARDO          ADDRESS ON FILE
CRUZ GUERRA, JERMAINE       ADDRESS ON FILE
CRUZ GUERRA, MAYRA I.       ADDRESS ON FILE
Cruz Guerra, Miguel A       ADDRESS ON FILE
Cruz Guilbert, Orlando      ADDRESS ON FILE
CRUZ GUILFUCHI, PORFIRIO    ADDRESS ON FILE
CRUZ GUILLOTY, MARIA        ADDRESS ON FILE
CRUZ GUILLOTY, MARIA M.     ADDRESS ON FILE
CRUZ GUINDIN, DALIASEL      ADDRESS ON FILE
CRUZ GUINDIN, DALIASEL      ADDRESS ON FILE
CRUZ GUINDIN, LIONEL        ADDRESS ON FILE
CRUZ GUINDIN, MARCOS        ADDRESS ON FILE
CRUZ GUINDIN,DALIRIS        ADDRESS ON FILE
CRUZ GUTIEREZ, ORLANDO      ADDRESS ON FILE
CRUZ GUTIERREZ, ELIDUVINA   ADDRESS ON FILE
CRUZ GUTIERREZ, GLADYS E    ADDRESS ON FILE
CRUZ GUTIERREZ, HECTOR      ADDRESS ON FILE
CRUZ GUTIERREZ, LUIS        ADDRESS ON FILE
CRUZ GUTIERREZ, MARANGELY   ADDRESS ON FILE
CRUZ GUTIERREZ, MARIEMMA    ADDRESS ON FILE
CRUZ GUTIERREZ, MILANGIE    ADDRESS ON FILE
CRUZ GUTIERREZ, MILANGIE    ADDRESS ON FILE
CRUZ GUTIERREZ, NILMARY     ADDRESS ON FILE
CRUZ GUZMAN, ALEJANDRO      ADDRESS ON FILE
CRUZ GUZMAN, ANGEL          ADDRESS ON FILE
Cruz Guzman, Artemio        ADDRESS ON FILE
CRUZ GUZMAN, CARLOS         ADDRESS ON FILE
CRUZ GUZMAN, CARLOS R       ADDRESS ON FILE
CRUZ GUZMAN, DANIEL         ADDRESS ON FILE
CRUZ GUZMAN, DANMARIS       ADDRESS ON FILE
CRUZ GUZMAN, EVELYN         ADDRESS ON FILE
CRUZ GUZMAN, FELIPE         ADDRESS ON FILE
CRUZ GUZMAN, GLENDALY       ADDRESS ON FILE
CRUZ GUZMAN, ISAMAR         ADDRESS ON FILE
CRUZ GUZMAN, JENNIFER       ADDRESS ON FILE
CRUZ GUZMAN, JENNIFFER      ADDRESS ON FILE
CRUZ GUZMAN, JOSE           ADDRESS ON FILE
CRUZ GUZMAN, JOSE A.        ADDRESS ON FILE
CRUZ GUZMAN, JOSHUA         ADDRESS ON FILE
CRUZ GUZMAN, KENIA          ADDRESS ON FILE
CRUZ GUZMAN, LAURA M.       ADDRESS ON FILE
CRUZ GUZMAN, LILLIAM        ADDRESS ON FILE
CRUZ GUZMAN, LOURDES M.     ADDRESS ON FILE
CRUZ GUZMAN, LUIS G.        ADDRESS ON FILE
CRUZ GUZMAN, LYDIA Y.       ADDRESS ON FILE
CRUZ GUZMAN, MARIA DEL P.   ADDRESS ON FILE
CRUZ GUZMAN, MARITZA        ADDRESS ON FILE
CRUZ GUZMAN, REYNALDO       ADDRESS ON FILE




                                                                        Page 1939 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1940 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                          Address1                        Address2                                Address3           Address4   City         State   PostalCode   Country
CRUZ GUZMAN, REYNALDO                  ADDRESS ON FILE
Cruz Guzman, San Miguel                ADDRESS ON FILE
CRUZ GUZMAN, SANTA T                   ADDRESS ON FILE
Cruz Guzman, Teodoro                   ADDRESS ON FILE
CRUZ GUZMAN, WALESKA                   ADDRESS ON FILE
CRUZ GUZMAN, YESENIA                   ADDRESS ON FILE
CRUZ GUZMAN, YOLANDA                   ADDRESS ON FILE
CRUZ H JIMENEZ RIVERA                  ADDRESS ON FILE
CRUZ HANCE, EUSTAQUIA                  ADDRESS ON FILE
CRUZ HANCE, GREGORIO                   ADDRESS ON FILE
CRUZ HANCE, JESUS M.                   ADDRESS ON FILE
CRUZ HANCE, LYDIA                      ADDRESS ON FILE
CRUZ HANCE, MARIA                      ADDRESS ON FILE
CRUZ HANCE, RAQUEL                     ADDRESS ON FILE
CRUZ HANCE, VIRGINIA                   ADDRESS ON FILE
CRUZ HENRIQUEZ, VICTOR                 ADDRESS ON FILE
Cruz Heredia, Mayra L                  ADDRESS ON FILE
CRUZ HEREDIA, ORLANDO                  ADDRESS ON FILE
Cruz Heredia, Wanda                    ADDRESS ON FILE
CRUZ HERNADEZ, CESAR                   ADDRESS ON FILE
CRUZ HERNANDEZ GUTIERREZ               ADDRESS ON FILE
CRUZ HERNANDEZ MD, ROLANDO             ADDRESS ON FILE
CRUZ HERNANDEZ, AMARILYS               ADDRESS ON FILE
CRUZ HERNANDEZ, ANA                    ADDRESS ON FILE
CRUZ HERNANDEZ, ANGEL JAVIER           ADDRESS ON FILE
Cruz Hernandez, Angel L                ADDRESS ON FILE
CRUZ HERNANDEZ, ANTHONY                ADDRESS ON FILE
CRUZ HERNANDEZ, ANTONIO                ADDRESS ON FILE
Cruz Hernandez, Aurora                 ADDRESS ON FILE
CRUZ HERNANDEZ, AZARIA I               ADDRESS ON FILE
CRUZ HERNANDEZ, BLANCA I.              ADDRESS ON FILE
CRUZ HERNANDEZ, BRENDA L               ADDRESS ON FILE
CRUZ HERNANDEZ, CARLOS                 ADDRESS ON FILE
CRUZ HERNÁNDEZ, CARMEN S (361 DTES.)   LCDA. IVONNE GONZALEZ MORALES   PO BOX 9021828                                                        SAN JUAN     PR      00902‐1828
                                                                                                               2000 AVE. FELISA
CRUZ HERNÁNDEZ, CARMEN S (361 DTES.)   LCDA. MILAGROS ACEVEDO COLON    CONDOMINIO COLINA REAL                  RINCÓN             BOX 1405   SAN JUAN     PR      00926
CRUZ HERNANDEZ, CAROL J                ADDRESS ON FILE
CRUZ HERNANDEZ, CLARISSA               ADDRESS ON FILE
CRUZ HERNANDEZ, CLAUDIO A              ADDRESS ON FILE
CRUZ HERNANDEZ, CLAUDIO A              ADDRESS ON FILE
CRUZ HERNANDEZ, DAISY                  ADDRESS ON FILE
CRUZ HERNANDEZ, DAVID M.               ADDRESS ON FILE
CRUZ HERNANDEZ, DEBORA L               ADDRESS ON FILE
CRUZ HERNANDEZ, DEBORAH M              ADDRESS ON FILE
CRUZ HERNÁNDEZ, DEBORAH M.             ADDRESS ON FILE
CRUZ HERNANDEZ, EDILBERTO              ADDRESS ON FILE
CRUZ HERNANDEZ, EDUARDO J              ADDRESS ON FILE
CRUZ HERNANDEZ, ELVIN                  ADDRESS ON FILE
CRUZ HERNANDEZ, EMILIA A               ADDRESS ON FILE
CRUZ HERNANDEZ, ESPERANZA I.           ADDRESS ON FILE
CRUZ HERNANDEZ, FELIPE                 ADDRESS ON FILE
CRUZ HERNANDEZ, FRANCISCO              ADDRESS ON FILE
CRUZ HERNANDEZ, GERARDO                ADDRESS ON FILE
CRUZ HERNANDEZ, GILDA M                ADDRESS ON FILE
CRUZ HERNANDEZ, GIOVANNY               ADDRESS ON FILE
CRUZ HERNANDEZ, GLADYS C               ADDRESS ON FILE
CRUZ HERNANDEZ, HECTOR L               ADDRESS ON FILE
CRUZ HERNANDEZ, HILDA                  ADDRESS ON FILE
CRUZ HERNANDEZ, JAIME O.               ADDRESS ON FILE
CRUZ HERNANDEZ, JANICE                 ADDRESS ON FILE




                                                                                                Page 1940 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1941 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ HERNANDEZ, JANNET       ADDRESS ON FILE
CRUZ HERNANDEZ, JESSENIA     ADDRESS ON FILE
CRUZ HERNANDEZ, JORGE        ADDRESS ON FILE
CRUZ HERNANDEZ, JOSE         ADDRESS ON FILE
CRUZ HERNANDEZ, JOSE         ADDRESS ON FILE
CRUZ HERNANDEZ, JOSE         ADDRESS ON FILE
Cruz Hernandez, Jose A.      ADDRESS ON FILE
CRUZ HERNANDEZ, JOSE L       ADDRESS ON FILE
CRUZ HERNANDEZ, JUAN         ADDRESS ON FILE
CRUZ HERNANDEZ, JUAN         ADDRESS ON FILE
CRUZ HERNANDEZ, JUAN S.      ADDRESS ON FILE
CRUZ HERNANDEZ, JULIO        ADDRESS ON FILE
CRUZ HERNANDEZ, KELVIN       ADDRESS ON FILE
CRUZ HERNANDEZ, KERVIN       ADDRESS ON FILE
CRUZ HERNANDEZ, LADIS        ADDRESS ON FILE
CRUZ HERNANDEZ, LESLIE       ADDRESS ON FILE
CRUZ HERNANDEZ, LISMARY      ADDRESS ON FILE
CRUZ HERNANDEZ, LOURDES      ADDRESS ON FILE
Cruz Hernandez, Luis         ADDRESS ON FILE
CRUZ HERNANDEZ, LUIS C       ADDRESS ON FILE
Cruz Hernandez, Luis F       ADDRESS ON FILE
CRUZ HERNANDEZ, LUZ          ADDRESS ON FILE
CRUZ HERNANDEZ, LUZ          ADDRESS ON FILE
CRUZ HERNANDEZ, LYDIA        ADDRESS ON FILE
CRUZ HERNANDEZ, MARIA E      ADDRESS ON FILE
CRUZ HERNANDEZ, MARIA E.     ADDRESS ON FILE
CRUZ HERNANDEZ, MARIA M      ADDRESS ON FILE
CRUZ HERNANDEZ, MARIBEL      ADDRESS ON FILE
CRUZ HERNANDEZ, MARIEL       ADDRESS ON FILE
CRUZ HERNANDEZ, MARISOL      ADDRESS ON FILE
CRUZ HERNANDEZ, MARISOL      ADDRESS ON FILE
CRUZ HERNANDEZ, MARISOL      ADDRESS ON FILE
CRUZ HERNANDEZ, MAYDA L      ADDRESS ON FILE
CRUZ HERNANDEZ, MONICA       ADDRESS ON FILE
CRUZ HERNANDEZ, NELSON       ADDRESS ON FILE
CRUZ HERNANDEZ, NIXAIRA      ADDRESS ON FILE
CRUZ HERNANDEZ, NORMA        ADDRESS ON FILE
CRUZ HERNANDEZ, PEDRO        ADDRESS ON FILE
CRUZ HERNANDEZ, RAMON        ADDRESS ON FILE
CRUZ HERNANDEZ, RAMON        ADDRESS ON FILE
CRUZ HERNANDEZ, RAMON A      ADDRESS ON FILE
CRUZ HERNANDEZ, RAYMOND      ADDRESS ON FILE
CRUZ HERNANDEZ, RICARDO      ADDRESS ON FILE
CRUZ HERNANDEZ, ROBERTO      ADDRESS ON FILE
CRUZ HERNANDEZ, ROLANDO J.   ADDRESS ON FILE
CRUZ HERNANDEZ, ROSA N       ADDRESS ON FILE
CRUZ HERNANDEZ, SARA E       ADDRESS ON FILE
CRUZ HERNANDEZ, TATIANA      ADDRESS ON FILE
CRUZ HERNANDEZ, VANESSA      ADDRESS ON FILE
CRUZ HERNANDEZ, VILMARIE     ADDRESS ON FILE
CRUZ HERNANDEZ, WILFREDO     ADDRESS ON FILE
CRUZ HERNANDEZ, YARELIS      ADDRESS ON FILE
CRUZ HERNANDEZ, YARITZA      ADDRESS ON FILE
CRUZ HERNANDEZ, YOMAYRA      ADDRESS ON FILE
CRUZ HERNANDEZ, YOMAYRA      ADDRESS ON FILE
CRUZ HERNANDEZ, ZENAIDA      ADDRESS ON FILE
CRUZ HERNANDEZ, ZULEIKA      ADDRESS ON FILE
CRUZ HERNANEZ, JOSE          ADDRESS ON FILE
CRUZ HERRERA, ENERY          ADDRESS ON FILE
CRUZ HERRERA, FERNANDO       ADDRESS ON FILE




                                                                         Page 1941 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 1942 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ HERRERA, JUAN T.              ADDRESS ON FILE
CRUZ HERRERA, TANIA                ADDRESS ON FILE
CRUZ HERRERA, VERONICA             ADDRESS ON FILE
CRUZ HERRERO,VICTOR D.             ADDRESS ON FILE
CRUZ HIRALDO, DEBORAH              ADDRESS ON FILE
CRUZ HIRALDO, HARRY                ADDRESS ON FILE
CRUZ HIRALDO, JAVIER A             ADDRESS ON FILE
CRUZ HIRALDO, JOEL                 ADDRESS ON FILE
CRUZ HIRALDO, NORMA                ADDRESS ON FILE
CRUZ HUERTA, IBIS C                ADDRESS ON FILE
CRUZ HUERTA, MARIA DEL C           ADDRESS ON FILE
CRUZ HUERTAS, IRMA Z               ADDRESS ON FILE
Cruz Huertas, Jose E               ADDRESS ON FILE
CRUZ HUERTAS, RAYMMAR              ADDRESS ON FILE
CRUZ HUERTAS, TITO A.              ADDRESS ON FILE
CRUZ HURT, MIGUEL                  ADDRESS ON FILE
CRUZ HURTADO, JORGE                ADDRESS ON FILE
CRUZ HURTADO, SONIA I              ADDRESS ON FILE
CRUZ I RODRIGUEZ LOPEZ             ADDRESS ON FILE
CRUZ I ROMAN JIMENEZ               ADDRESS ON FILE
CRUZ IGARTUA MD, ARIEL             ADDRESS ON FILE
CRUZ IGARTUA MD, ARNALDO           ADDRESS ON FILE
CRUZ IGLESIAS OLIVERAS, LIBERTAD   ADDRESS ON FILE
CRUZ II DARDIZ, NICOLAS            ADDRESS ON FILE
CRUZ ILARRAZA, TIARA               ADDRESS ON FILE
CRUZ INCHAUTEGUI, RICARDO J.       ADDRESS ON FILE
CRUZ INFANTE, ELIZABETH            ADDRESS ON FILE
CRUZ INFANTE, IVELISSE             ADDRESS ON FILE
CRUZ INFANTE, LUIS                 ADDRESS ON FILE
CRUZ INOA, CLARA E                 ADDRESS ON FILE
CRUZ INOA, MICHELLE E              ADDRESS ON FILE
CRUZ INOA, VANESSA M               ADDRESS ON FILE
Cruz Iraola, Celines               ADDRESS ON FILE
CRUZ IRAOLA, JOSE B.               ADDRESS ON FILE
CRUZ IRAOLA, LUIS                  ADDRESS ON FILE
Cruz Iraola, Maria De L            ADDRESS ON FILE
CRUZ IRAOLA, MARILUZ               ADDRESS ON FILE
CRUZ IRIZARRY, CARMEN D            ADDRESS ON FILE
CRUZ IRIZARRY, CARMEN J            ADDRESS ON FILE
CRUZ IRIZARRY, GISSELLE A          ADDRESS ON FILE
Cruz Irizarry, Jaime               ADDRESS ON FILE
CRUZ IRIZARRY, JAYSON              ADDRESS ON FILE
CRUZ IRIZARRY, JORGE               ADDRESS ON FILE
CRUZ IRIZARRY, MICHAEL             ADDRESS ON FILE
CRUZ IRIZARRY, ONELIA              ADDRESS ON FILE
CRUZ IRIZARRY, RICHARD             ADDRESS ON FILE
Cruz Irizarry, Zulma I             ADDRESS ON FILE
CRUZ IRIZARRY,KARLA M.             ADDRESS ON FILE
Cruz Izquierdo, Gabriel            ADDRESS ON FILE
Cruz Izquierdo, Julia V            ADDRESS ON FILE
CRUZ JAIME, NELINETTE              ADDRESS ON FILE
Cruz Jaime, Nelson A               ADDRESS ON FILE
CRUZ JANEIRO, CARMEN A             ADDRESS ON FILE
Cruz Jimenez, Anderson             ADDRESS ON FILE
CRUZ JIMENEZ, ANGEL                ADDRESS ON FILE
Cruz Jimenez, Angel E              ADDRESS ON FILE
CRUZ JIMENEZ, ELIEZER              ADDRESS ON FILE
CRUZ JIMENEZ, ELIEZER              ADDRESS ON FILE
CRUZ JIMENEZ, EMMANUEL             ADDRESS ON FILE
CRUZ JIMENEZ, FRANCISCO            ADDRESS ON FILE




                                                                               Page 1942 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1943 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ JIMENEZ, GILBERTO       ADDRESS ON FILE
CRUZ JIMENEZ, GIOVANNA       ADDRESS ON FILE
CRUZ JIMENEZ, HECTOR         ADDRESS ON FILE
CRUZ JIMENEZ, HILDA J        ADDRESS ON FILE
CRUZ JIMENEZ, HILDA M        ADDRESS ON FILE
CRUZ JIMENEZ, ITZAMARIE      ADDRESS ON FILE
CRUZ JIMENEZ, JOSE           ADDRESS ON FILE
CRUZ JIMENEZ, JOSE           ADDRESS ON FILE
CRUZ JIMENEZ, JOSE A.        ADDRESS ON FILE
Cruz Jimenez, Jose I         ADDRESS ON FILE
CRUZ JIMENEZ, JOSUE          ADDRESS ON FILE
CRUZ JIMENEZ, JOSUE C.       ADDRESS ON FILE
CRUZ JIMENEZ, LIZ            ADDRESS ON FILE
CRUZ JIMENEZ, LYDIA E        ADDRESS ON FILE
CRUZ JIMENEZ, LYDIA M        ADDRESS ON FILE
CRUZ JIMENEZ, MARIA DEL C    ADDRESS ON FILE
CRUZ JIMENEZ, MAYRA I        ADDRESS ON FILE
CRUZ JIMENEZ, NATALIA        ADDRESS ON FILE
CRUZ JIMENEZ, NATALIA        ADDRESS ON FILE
CRUZ JIMENEZ, PEDRO R.       ADDRESS ON FILE
CRUZ JIMENEZ, RAUL           ADDRESS ON FILE
CRUZ JIMENEZ, ROSELYN        ADDRESS ON FILE
CRUZ JIMENEZ, ROSELYN M.     ADDRESS ON FILE
CRUZ JIMENEZ, SAMANTHA       ADDRESS ON FILE
Cruz Jimenez, Saribelle      ADDRESS ON FILE
CRUZ JIMENEZ, SYLVIA E       ADDRESS ON FILE
CRUZ JIMENEZ, VENERANDA      ADDRESS ON FILE
CRUZ JIMENEZ, VILMARIE       ADDRESS ON FILE
CRUZ JIMENEZ, WALLACE S.     ADDRESS ON FILE
CRUZ JIMENEZ, XAVIER         ADDRESS ON FILE
CRUZ JIMENEZ, YARITZA        ADDRESS ON FILE
CRUZ JIMENEZ, YELITZA        ADDRESS ON FILE
CRUZ JIMENEZ,JOSUE C.        ADDRESS ON FILE
CRUZ JOHNSON, CARLOS         ADDRESS ON FILE
CRUZ JOSE OROZCO RIVERA      ADDRESS ON FILE
CRUZ JOSE OROZCO RIVERA      ADDRESS ON FILE
CRUZ JUARBE JOSE O.          AMABEL ESCALERA           PO BOX 70244                                           SAN JUAN     PR      00936‐8244
CRUZ JUARBE JOSE O.          GLENIZ TORRES             BOX 11155                                              SAN JUAN     PR      00922‐1155
CRUZ JUARBE JOSE O.          MIGUEL CANCIO             PO BOX 8414                                            SAN JUAN     PR      00910
CRUZ JULIO, VEGA             ADDRESS ON FILE
CRUZ JURADO, ISMAEL          ADDRESS ON FILE
CRUZ JURADO, JACKELINE       ADDRESS ON FILE
CRUZ JURADO, VILMARIE        ADDRESS ON FILE
Cruz Jusino, Moises          ADDRESS ON FILE
CRUZ JUSINO, PEDRO L         ADDRESS ON FILE
CRUZ JUSTINIANO, ELAINE      ADDRESS ON FILE
CRUZ JUSTINIANO, ELIZABETH   ADDRESS ON FILE
CRUZ JUSTINIANO, FLORA       ADDRESS ON FILE
CRUZ KEEN, JOSE              ADDRESS ON FILE
CRUZ KRESHECK, NICOLE        ADDRESS ON FILE
CRUZ KUILAN, OLGA            ADDRESS ON FILE
CRUZ LA MENZA, NADJA         ADDRESS ON FILE
CRUZ LABOY, EDITH A.         ADDRESS ON FILE
CRUZ LABOY, JOSE M           ADDRESS ON FILE
CRUZ LABOY, MANUEL           ADDRESS ON FILE
CRUZ LABOY, MARICELY         ADDRESS ON FILE
CRUZ LABOY, MARITZA D.       ADDRESS ON FILE
CRUZ LABOY, MYRNA I          ADDRESS ON FILE
Cruz Laboy, Orlando          ADDRESS ON FILE
CRUZ LABOY, ORLANDO          ADDRESS ON FILE




                                                                         Page 1943 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1944 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ LAFONTAINE, JUAN      ADDRESS ON FILE
Cruz Lafuente, Angel D     ADDRESS ON FILE
CRUZ LAFUENTE, MARICELY    ADDRESS ON FILE
CRUZ LAGUER, BETZAIDA      ADDRESS ON FILE
CRUZ LAGUER, FELIX         ADDRESS ON FILE
CRUZ LAGUER, FELIX         ADDRESS ON FILE
CRUZ LAGUNA, ADA I         ADDRESS ON FILE
CRUZ LAGUNA, MARIA E       ADDRESS ON FILE
CRUZ LAMBOY, KARLA Y       ADDRESS ON FILE
CRUZ LAMENZA, ANDRES       ADDRESS ON FILE
CRUZ LAMOUTTE, JUAN        ADDRESS ON FILE
Cruz Lanzo, Carol          ADDRESS ON FILE
CRUZ LARACUENTE, ANA M     ADDRESS ON FILE
CRUZ LARACUENTE, JUANA     ADDRESS ON FILE
CRUZ LARTIGAUT MD, MARIA   ADDRESS ON FILE
CRUZ LASALLE, VIVIANA      ADDRESS ON FILE
CRUZ LATORRE, MILTON       ADDRESS ON FILE
CRUZ LAUREANO, CESAR       ADDRESS ON FILE
CRUZ LAUREANO, EFRAIN      ADDRESS ON FILE
CRUZ LAUREANO, FRANCISCO   ADDRESS ON FILE
Cruz Laureano, Maria A     ADDRESS ON FILE
CRUZ LAUREANO, MARILYN E   ADDRESS ON FILE
CRUZ LAUREANO, NILDA E     ADDRESS ON FILE
CRUZ LAUREANO, OSVALDO     ADDRESS ON FILE
CRUZ LAUREANO, RUTH M      ADDRESS ON FILE
CRUZ LAZU, WANDA I.        ADDRESS ON FILE
CRUZ LEBRON, ANA M.        ADDRESS ON FILE
CRUZ LEBRON, CHRISTIAN     ADDRESS ON FILE
CRUZ LEBRON, CHRISTIAN     ADDRESS ON FILE
CRUZ LEBRON, EILEEN        ADDRESS ON FILE
Cruz Lebron, Eyleen        ADDRESS ON FILE
CRUZ LEBRON, EZEQUIEL      ADDRESS ON FILE
CRUZ LEBRON, GLADYS        ADDRESS ON FILE
CRUZ LEBRON, GLADYS        ADDRESS ON FILE
CRUZ LEBRON, GONZALO       ADDRESS ON FILE
CRUZ LEBRON, IVELISSE      ADDRESS ON FILE
CRUZ LEBRON, JAVIER        ADDRESS ON FILE
Cruz Lebron, Jemilys       ADDRESS ON FILE
CRUZ LEBRON, JESUS         ADDRESS ON FILE
CRUZ LEBRON, JESUS         ADDRESS ON FILE
Cruz Lebron, Joel          ADDRESS ON FILE
CRUZ LEBRON, JOHANA        ADDRESS ON FILE
CRUZ LEBRON, JOSE M.       ADDRESS ON FILE
Cruz Lebron, Juan J        ADDRESS ON FILE
CRUZ LEBRON, JUSTINA       ADDRESS ON FILE
CRUZ LEBRON, KAREN J       ADDRESS ON FILE
CRUZ LEBRON, LUZ N         ADDRESS ON FILE
CRUZ LEBRON, LYDIA         ADDRESS ON FILE
CRUZ LEBRON, LYDIA         ADDRESS ON FILE
CRUZ LEBRON, MARIA DEL C   ADDRESS ON FILE
Cruz Lebron, Martin        ADDRESS ON FILE
CRUZ LEBRON, MARY ANN      ADDRESS ON FILE
CRUZ LEBRON, MIGDALIA      ADDRESS ON FILE
CRUZ LEBRON, PEDRO         ADDRESS ON FILE
CRUZ LEBRON, RAQUEL        ADDRESS ON FILE
CRUZ LEBRON, ROSE M        ADDRESS ON FILE
CRUZ LEBRON, SANTOS        ADDRESS ON FILE
CRUZ LEBRON, TOMAS         ADDRESS ON FILE
CRUZ LEDESMA, ARLENE       ADDRESS ON FILE
CRUZ LEDESMA, ARLENE       ADDRESS ON FILE




                                                                       Page 1944 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1945 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ LENGAL, ROBERTO        ADDRESS ON FILE
CRUZ LEON, DORISWIL         ADDRESS ON FILE
CRUZ LEON, IRAIDA M         ADDRESS ON FILE
CRUZ LEON, JAVIER           ADDRESS ON FILE
CRUZ LEON, MARIA L          ADDRESS ON FILE
CRUZ LEON, MARIE            ADDRESS ON FILE
CRUZ LEON, NYDIA            ADDRESS ON FILE
CRUZ LEON, NYDIA I          ADDRESS ON FILE
CRUZ LEON, RICARDO          ADDRESS ON FILE
CRUZ LEON, ROY              ADDRESS ON FILE
CRUZ LEON, RUBEN            ADDRESS ON FILE
CRUZ LEON, WANDA            ADDRESS ON FILE
CRUZ LERGIER, CLARIMAR      ADDRESS ON FILE
CRUZ LICIAGA, WILFREDO      ADDRESS ON FILE
CRUZ LINARES, FRANKLIN      ADDRESS ON FILE
CRUZ LINARES, NORBERTO      ADDRESS ON FILE
CRUZ LINARES, ORLANDO       ADDRESS ON FILE
CRUZ LINARES, RAQUEL        ADDRESS ON FILE
CRUZ LIND, LUZ Y            ADDRESS ON FILE
CRUZ LINDERMAN, CHRISTIAN   ADDRESS ON FILE
CRUZ LIRIANO, CARLOS        ADDRESS ON FILE
CRUZ LIZARDI, ALEXANDRA     ADDRESS ON FILE
CRUZ LLANES, ANNETTE        ADDRESS ON FILE
CRUZ LLANOS, NATANAEL       ADDRESS ON FILE
CRUZ LLERANDEZ, LINDA       ADDRESS ON FILE
CRUZ LLERANDEZ, LINDA       ADDRESS ON FILE
CRUZ LLORENS, MAGDA         ADDRESS ON FILE
CRUZ LLORET, GLORIA E       ADDRESS ON FILE
CRUZ LONGORIA, LIZBERANIE   ADDRESS ON FILE
CRUZ LOPEZ MD, MIGUEL       ADDRESS ON FILE
CRUZ LOPEZ, ABDIEL          ADDRESS ON FILE
CRUZ LOPEZ, ABRAMS          ADDRESS ON FILE
CRUZ LOPEZ, ADAM            ADDRESS ON FILE
CRUZ LOPEZ, ADAM O          ADDRESS ON FILE
CRUZ LOPEZ, ALBERTO         ADDRESS ON FILE
Cruz Lopez, Alberto         ADDRESS ON FILE
Cruz Lopez, Alejandro       ADDRESS ON FILE
CRUZ LOPEZ, ANA             ADDRESS ON FILE
CRUZ LOPEZ, ANA             ADDRESS ON FILE
CRUZ LOPEZ, ANGEL           ADDRESS ON FILE
CRUZ LOPEZ, BOBBY           ADDRESS ON FILE
CRUZ LOPEZ, BOBBY M.        ADDRESS ON FILE
Cruz Lopez, Carlos          ADDRESS ON FILE
CRUZ LOPEZ, CARLOS          ADDRESS ON FILE
CRUZ LOPEZ, CARLOS          ADDRESS ON FILE
Cruz Lopez, Carlos D.       ADDRESS ON FILE
CRUZ LOPEZ, CARLOS J        ADDRESS ON FILE
CRUZ LOPEZ, CARMEN A        ADDRESS ON FILE
CRUZ LOPEZ, CARMEN M        ADDRESS ON FILE
CRUZ LOPEZ, CEFERINO        ADDRESS ON FILE
CRUZ LOPEZ, CELSO           ADDRESS ON FILE
CRUZ LOPEZ, CHRISTIAN       ADDRESS ON FILE
CRUZ LOPEZ, CONCEPCION      ADDRESS ON FILE
CRUZ LOPEZ, DAIUDY          ADDRESS ON FILE
CRUZ LOPEZ, EDWIN           ADDRESS ON FILE
CRUZ LOPEZ, ELISEO          ADDRESS ON FILE
CRUZ LOPEZ, ELIZABETH       ADDRESS ON FILE
CRUZ LOPEZ, ELVIN           ADDRESS ON FILE
CRUZ LOPEZ, ELVIN E         ADDRESS ON FILE
CRUZ LOPEZ, ERICELIA        ADDRESS ON FILE




                                                                        Page 1945 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1946 of 3500
                                                                          17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name              Address1                  Address2                                 Address3          Address4    City         State   PostalCode   Country
CRUZ LOPEZ, ESTHER         ADDRESS ON FILE
CRUZ LOPEZ, EVELYN         ADDRESS ON FILE
CRUZ LOPEZ, EZEQUIEL       ADDRESS ON FILE
CRUZ LOPEZ, FABIOLA        ADDRESS ON FILE
CRUZ LOPEZ, FELIX          ADDRESS ON FILE
CRUZ LOPEZ, FELIX          ADDRESS ON FILE
CRUZ LOPEZ, GABRIEL        ADDRESS ON FILE
CRUZ LOPEZ, GEORGINA       ADDRESS ON FILE
CRUZ LOPEZ, GERARDO J      ADDRESS ON FILE
CRUZ LOPEZ, GERMAN         ADDRESS ON FILE
CRUZ LOPEZ, GISELLE M      ADDRESS ON FILE
CRUZ LOPEZ, GLORIMEY       ADDRESS ON FILE
CRUZ LOPEZ, GLORITZA       ADDRESS ON FILE
CRUZ LOPEZ, GRISEL         ADDRESS ON FILE
CRUZ LOPEZ, HECTOR         ADDRESS ON FILE
CRUZ LOPEZ, HECTOR AMADO   ADDRESS ON FILE
CRUZ LOPEZ, HECTOR AMADO   ADDRESS ON FILE
CRUZ LOPEZ, HECTOR R       ADDRESS ON FILE
CRUZ LOPEZ, HERBERT L.     ADDRESS ON FILE
CRUZ LOPEZ, HILDA          ADDRESS ON FILE
CRUZ LOPEZ, HILDA          ADDRESS ON FILE
Cruz Lopez, Hipolito       ADDRESS ON FILE
CRUZ LOPEZ, IRIS           ADDRESS ON FILE
CRUZ LOPEZ, IRIS M         ADDRESS ON FILE
CRUZ LOPEZ, ISA            ADDRESS ON FILE
CRUZ LOPEZ, ITZA           ADDRESS ON FILE
CRUZ LOPEZ, IVONNE         ADDRESS ON FILE
CRUZ LOPEZ, JANETTE        ADDRESS ON FILE
CRUZ LOPEZ, JANICHKA       ADDRESS ON FILE
CRUZ LOPEZ, JENNIFER       ADDRESS ON FILE
CRUZ LOPEZ, JERONIMO       ADDRESS ON FILE
CRUZ LOPEZ, JESUS NOEL     ADDRESS ON FILE
CRUZ LOPEZ, JORGE          ADDRESS ON FILE
CRUZ LOPEZ, JOSE           ADDRESS ON FILE
CRUZ LOPEZ, JOSE           ADDRESS ON FILE
CRUZ LOPEZ, JOSE           ADDRESS ON FILE
CRUZ LOPEZ, JOSE           ADDRESS ON FILE
CRUZ LOPEZ, JOSE A.        ADDRESS ON FILE
CRUZ LOPEZ, JOSE F         ADDRESS ON FILE
CRUZ LOPEZ, JOSE F.        ADDRESS ON FILE
CRUZ LOPEZ, JOSE M         ADDRESS ON FILE
CRUZ LOPEZ, JOSE R         ADDRESS ON FILE
CRUZ LOPEZ, JOSUE          ADDRESS ON FILE
Cruz Lopez, Juan E         ADDRESS ON FILE
CRUZ LOPEZ, JUAN M         ADDRESS ON FILE
CRUZ LOPEZ, JULIA          ADDRESS ON FILE
CRUZ LOPEZ, KEVIN          ADDRESS ON FILE
CRUZ LOPEZ, KEYSHLA        ADDRESS ON FILE
CRUZ LOPEZ, LIONEL         ADDRESS ON FILE
CRUZ LOPEZ, LIZBEL         ADDRESS ON FILE
CRUZ LOPEZ, LIZBENET       ADDRESS ON FILE
CRUZ LOPEZ, LIZNALLYS      ADDRESS ON FILE
CRUZ LOPEZ, LIZNALLYS J.   ADDRESS ON FILE
CRUZ LOPEZ, LUIS           ADDRESS ON FILE
CRUZ LOPEZ, LUIS           ADDRESS ON FILE
CRUZ LOPEZ, LUIS F         ADDRESS ON FILE
CRUZ LOPEZ, LUIS MIGUEL    ADDRESS ON FILE
CRUZ LOPEZ, LUIS MIGUEL    POR DERECHO PROPIO        151 AVE. CESAR GONZALEZ                  PLAZA ANTILLANA   APT. 4502   SAN JUAN     PR      00918
CRUZ LOPEZ, LUZ M          ADDRESS ON FILE
CRUZ LOPEZ, LUZ M          ADDRESS ON FILE




                                                                               Page 1946 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1947 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ LOPEZ, MARIA E       ADDRESS ON FILE
CRUZ LOPEZ, MARIA J.      ADDRESS ON FILE
CRUZ LOPEZ, MARIJULIA     ADDRESS ON FILE
CRUZ LOPEZ, MARIJULIA     ADDRESS ON FILE
CRUZ LOPEZ, MARISOL       ADDRESS ON FILE
CRUZ LOPEZ, MARITZA       ADDRESS ON FILE
CRUZ LOPEZ, MARTA M       ADDRESS ON FILE
CRUZ LOPEZ, MIGUEL        ADDRESS ON FILE
CRUZ LOPEZ, MIGUEL        ADDRESS ON FILE
CRUZ LOPEZ, MINERVA       ADDRESS ON FILE
CRUZ LOPEZ, MIRIAM        ADDRESS ON FILE
CRUZ LOPEZ, MYRNA         ADDRESS ON FILE
CRUZ LOPEZ, NICOLE M      ADDRESS ON FILE
CRUZ LOPEZ, NILDA L       ADDRESS ON FILE
CRUZ LOPEZ, OMAR          ADDRESS ON FILE
CRUZ LOPEZ, ORLANDO       ADDRESS ON FILE
CRUZ LOPEZ, ORLANDO       ADDRESS ON FILE
CRUZ LOPEZ, PABLO         ADDRESS ON FILE
CRUZ LOPEZ, RAFAEL        ADDRESS ON FILE
CRUZ LOPEZ, RAFAEL        ADDRESS ON FILE
CRUZ LOPEZ, RAFAEL        ADDRESS ON FILE
CRUZ LOPEZ, RAISA         ADDRESS ON FILE
CRUZ LOPEZ, ROBERTO       ADDRESS ON FILE
CRUZ LOPEZ, SANTOS A.     ADDRESS ON FILE
CRUZ LOPEZ, TOMAS R.      ADDRESS ON FILE
Cruz Lopez, Victor        ADDRESS ON FILE
CRUZ LOPEZ, VICTOR        ADDRESS ON FILE
CRUZ LOPEZ, VICTOR        ADDRESS ON FILE
CRUZ LOPEZ, WILMA         ADDRESS ON FILE
CRUZ LOPEZ,PABLO JOSE     ADDRESS ON FILE
CRUZ LORENZANA, SAMUEL    ADDRESS ON FILE
CRUZ LORENZO, DANIEL      ADDRESS ON FILE
CRUZ LORENZO, EMILY       ADDRESS ON FILE
CRUZ LORENZO, RAYMOND     ADDRESS ON FILE
CRUZ LOZADA, AIDA I       ADDRESS ON FILE
CRUZ LOZADA, CARMEN J     ADDRESS ON FILE
Cruz Lozada, Eduardo      ADDRESS ON FILE
Cruz Lozada, Edwin        ADDRESS ON FILE
CRUZ LOZADA, ELENA        ADDRESS ON FILE
Cruz Lozada, Jesse        ADDRESS ON FILE
CRUZ LOZADA, LILLIAM      ADDRESS ON FILE
CRUZ LOZADA, LIZEIDA M    ADDRESS ON FILE
CRUZ LOZADA, LYDIA E      ADDRESS ON FILE
CRUZ LOZADA, MARIA V      ADDRESS ON FILE
CRUZ LOZADA, MINELY       ADDRESS ON FILE
CRUZ LOZADA, ROSA         ADDRESS ON FILE
CRUZ LOZANO MD, JOSE J    ADDRESS ON FILE
CRUZ LOZANO PSYD, MARIA   ADDRESS ON FILE
CRUZ LOZANO, MARIA        ADDRESS ON FILE
CRUZ LOZANO, MARIA C      ADDRESS ON FILE
CRUZ LUCENA, RUBEN        ADDRESS ON FILE
CRUZ LUCIANO, HECTOR      ADDRESS ON FILE
CRUZ LUCIANO, MARGARITA   ADDRESS ON FILE
CRUZ LUGO MELENDEZ        ADDRESS ON FILE
CRUZ LUGO, ARAMIS A       ADDRESS ON FILE
CRUZ LUGO, BENJAMIN       ADDRESS ON FILE
CRUZ LUGO, BLANCA I.      ADDRESS ON FILE
CRUZ LUGO, CARMEN L       ADDRESS ON FILE
CRUZ LUGO, CLARISA        ADDRESS ON FILE
CRUZ LUGO, GILBERTO       ADDRESS ON FILE




                                                                      Page 1947 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1948 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ LUGO, IRIS               ADDRESS ON FILE
CRUZ LUGO, JAHAIRA            ADDRESS ON FILE
CRUZ LUGO, JANNETTE           ADDRESS ON FILE
Cruz Lugo, Jorge              ADDRESS ON FILE
Cruz Lugo, Jose A             ADDRESS ON FILE
CRUZ LUGO, JOSEPHINE          ADDRESS ON FILE
CRUZ LUGO, KEYLA              ADDRESS ON FILE
CRUZ LUGO, LIGIA A            ADDRESS ON FILE
CRUZ LUGO, LYDIA E            ADDRESS ON FILE
CRUZ LUGO, MAGDA E            ADDRESS ON FILE
CRUZ LUGO, MARIA              ADDRESS ON FILE
CRUZ LUGO, MARIA S            ADDRESS ON FILE
CRUZ LUGO, MARIANGELIZ        ADDRESS ON FILE
Cruz Lugo, Milton W           ADDRESS ON FILE
CRUZ LUGO, MIRIAM             ADDRESS ON FILE
CRUZ LUGO, MIRIAM             ADDRESS ON FILE
CRUZ LUGO, OSCAR              ADDRESS ON FILE
CRUZ LUGO, SANDRA             ADDRESS ON FILE
CRUZ LUNA, ALEXANDER          ADDRESS ON FILE
CRUZ LUNA, ANGEL K            ADDRESS ON FILE
CRUZ LUNA, GILBERTO           ADDRESS ON FILE
CRUZ LUNA, JOSE O.            ADDRESS ON FILE
CRUZ LUNA, LUIS ANGEL         ADDRESS ON FILE
Cruz Luna, Wanda I            ADDRESS ON FILE
CRUZ M CARMONA MONTANEZ       ADDRESS ON FILE
CRUZ M CASTILLO SINDO         ADDRESS ON FILE
CRUZ M CRUZ PEREZ             ADDRESS ON FILE
CRUZ M CRUZ QUIRINDONGO       ADDRESS ON FILE
CRUZ M LOPEZ CIRILO           ADDRESS ON FILE
CRUZ M MARTINEZ SANTANA       ADDRESS ON FILE
CRUZ M MOREL REYES            ADDRESS ON FILE
CRUZ M ORTIZ RIVERA           ADDRESS ON FILE
CRUZ M PEREZ RINCON           ADDRESS ON FILE
CRUZ M QUINONES CABRERA       ADDRESS ON FILE
CRUZ M RAMOS CANDELARIA       ADDRESS ON FILE
CRUZ M REYES BATISTA          ADDRESS ON FILE
CRUZ M RIVERA RODRIGUEZ       ADDRESS ON FILE
CRUZ M ROSARIO ROSARIO        ADDRESS ON FILE
CRUZ MA LOPEZ REYES           ADDRESS ON FILE
CRUZ MACHADO, CLARISSA        ADDRESS ON FILE
CRUZ MACHADO, IVALMY          ADDRESS ON FILE
CRUZ MACHADO, IVALMY G        ADDRESS ON FILE
CRUZ MACHADO, JORGE           ADDRESS ON FILE
CRUZ MACHADO, LUIS            ADDRESS ON FILE
CRUZ MACHADO, NONISHKA        ADDRESS ON FILE
CRUZ MACHADO, VICTORIA        ADDRESS ON FILE
CRUZ MACHIN, ALEXANDRA        ADDRESS ON FILE
CRUZ MACLARA, ZULMA           ADDRESS ON FILE
CRUZ MADERA, EDGARDO          ADDRESS ON FILE
CRUZ MADERA, ELSA M           ADDRESS ON FILE
CRUZ MADERA, KETTY            ADDRESS ON FILE
CRUZ MADERA, LUZ N.           ADDRESS ON FILE
CRUZ MADERA, SANDY            ADDRESS ON FILE
CRUZ MAISONAVE, LIZ           ADDRESS ON FILE
CRUZ MAISONAVE, LIZ ARELIS    ADDRESS ON FILE
CRUZ MAISONET, VIVIAN E       ADDRESS ON FILE
CRUZ MAISSONET, ASUNCION E.   ADDRESS ON FILE
CRUZ MALAVE, ANGEL F.         ADDRESS ON FILE
CRUZ MALAVE, ARCHIE           ADDRESS ON FILE
CRUZ MALAVE, CARLOS E.        ADDRESS ON FILE




                                                                          Page 1948 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1949 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MALAVE, CARMEN M            ADDRESS ON FILE
CRUZ MALAVE, FREDDIE N.          ADDRESS ON FILE
CRUZ MALAVE, JOAN                ADDRESS ON FILE
CRUZ MALAVE, MILAGROS            ADDRESS ON FILE
CRUZ MALAVE, NATIVIDAD           ADDRESS ON FILE
CRUZ MALDONADO, ABIMAEL          ADDRESS ON FILE
CRUZ MALDONADO, AIDA             ADDRESS ON FILE
CRUZ MALDONADO, AILEEN M.        ADDRESS ON FILE
CRUZ MALDONADO, ALEXANDER        ADDRESS ON FILE
CRUZ MALDONADO, ALEXANDER        ADDRESS ON FILE
CRUZ MALDONADO, ALEXANDER        ADDRESS ON FILE
CRUZ MALDONADO, ALEXIS           ADDRESS ON FILE
CRUZ MALDONADO, ALEXIS J         ADDRESS ON FILE
CRUZ MALDONADO, ALFREDO          ADDRESS ON FILE
CRUZ MALDONADO, AMILCAR          ADDRESS ON FILE
CRUZ MALDONADO, ANA A.           ADDRESS ON FILE
Cruz Maldonado, Angel G          ADDRESS ON FILE
CRUZ MALDONADO, ANGEL L          ADDRESS ON FILE
CRUZ MALDONADO, ANTHONY          ADDRESS ON FILE
Cruz Maldonado, Brenda A         ADDRESS ON FILE
CRUZ MALDONADO, BRENDA M         ADDRESS ON FILE
CRUZ MALDONADO, CARLOS D         ADDRESS ON FILE
CRUZ MALDONADO, CARMEN E         ADDRESS ON FILE
CRUZ MALDONADO, CARMEN I         ADDRESS ON FILE
CRUZ MALDONADO, CARMEN L         ADDRESS ON FILE
CRUZ MALDONADO, DENNY            ADDRESS ON FILE
CRUZ MALDONADO, EDLEEN X         ADDRESS ON FILE
CRUZ MALDONADO, ELVIRA           ADDRESS ON FILE
CRUZ MALDONADO, ERIC             ADDRESS ON FILE
CRUZ MALDONADO, ERIK             ADDRESS ON FILE
CRUZ MALDONADO, EUGENIO M        ADDRESS ON FILE
CRUZ MALDONADO, FRANCES M        ADDRESS ON FILE
CRUZ MALDONADO, FRANCISCO        ADDRESS ON FILE
Cruz Maldonado, Francisco        ADDRESS ON FILE
CRUZ MALDONADO, GAMALIER         ADDRESS ON FILE
CRUZ MALDONADO, GLORIA M         ADDRESS ON FILE
CRUZ MALDONADO, GLORIMAR         ADDRESS ON FILE
CRUZ MALDONADO, HAYDEE           ADDRESS ON FILE
CRUZ MALDONADO, HEIDIMAR         ADDRESS ON FILE
CRUZ MALDONADO, IRIS D.          ADDRESS ON FILE
CRUZ MALDONADO, IVAN FRANCISCO   ADDRESS ON FILE
CRUZ MALDONADO, IVETTE           ADDRESS ON FILE
CRUZ MALDONADO, JEFFREY          ADDRESS ON FILE
CRUZ MALDONADO, JOSE             ADDRESS ON FILE
CRUZ MALDONADO, JOSE             ADDRESS ON FILE
CRUZ MALDONADO, JOSE M.          ADDRESS ON FILE
CRUZ MALDONADO, JUAN E           ADDRESS ON FILE
CRUZ MALDONADO, JULIO C          ADDRESS ON FILE
CRUZ MALDONADO, JULIO C          ADDRESS ON FILE
CRUZ MALDONADO, LEONARDO         ADDRESS ON FILE
CRUZ MALDONADO, LUIS E           ADDRESS ON FILE
CRUZ MALDONADO, MARIA            ADDRESS ON FILE
CRUZ MALDONADO, MARIA            ADDRESS ON FILE
CRUZ MALDONADO, MARIA E.         ADDRESS ON FILE
CRUZ MALDONADO, MARIELA          ADDRESS ON FILE
CRUZ MALDONADO, MARISSA          ADDRESS ON FILE
CRUZ MALDONADO, MARITZA          ADDRESS ON FILE
CRUZ MALDONADO, MARITZA          ADDRESS ON FILE
CRUZ MALDONADO, MICHAEL          ADDRESS ON FILE
CRUZ MALDONADO, MIGUEL E.        ADDRESS ON FILE




                                                                             Page 1949 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1950 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MALDONADO, NEREIDA        ADDRESS ON FILE
CRUZ MALDONADO, NILSA          ADDRESS ON FILE
Cruz Maldonado, Rafael A       ADDRESS ON FILE
CRUZ MALDONADO, RICARDO        ADDRESS ON FILE
CRUZ MALDONADO, SANTOS         ADDRESS ON FILE
CRUZ MALDONADO, SHEILA M       ADDRESS ON FILE
CRUZ MALDONADO, SHELIMAR       ADDRESS ON FILE
CRUZ MALDONADO, SONIA I        ADDRESS ON FILE
CRUZ MALDONADO, SONIA M.       ADDRESS ON FILE
CRUZ MALDONADO, SUELYNG        ADDRESS ON FILE
CRUZ MALDONADO, TERESA DEL C   ADDRESS ON FILE
CRUZ MALDONADO, VIVIAN         ADDRESS ON FILE
Cruz Maldonado, Walter         ADDRESS ON FILE
CRUZ MALDONADO, WALTER         ADDRESS ON FILE
CRUZ MALDONADO, WANDA          ADDRESS ON FILE
CRUZ MALDONADO, YARITZA        ADDRESS ON FILE
CRUZ MALDONADO, YOUNG M        ADDRESS ON FILE
Cruz Maldonado, Zandra M       ADDRESS ON FILE
CRUZ MALETICHE, ADELMARIE      ADDRESS ON FILE
Cruz Mangual, Israel           ADDRESS ON FILE
CRUZ MANGUAL, JOSE             ADDRESS ON FILE
CRUZ MANGUAL, LIZZIE           ADDRESS ON FILE
CRUZ MANGUAL, NOEMI            ADDRESS ON FILE
CRUZ MANGUAL, PROVIDENCIA      ADDRESS ON FILE
CRUZ MANGUAL, YADIRIS          ADDRESS ON FILE
CRUZ MANNING, KELLY D          ADDRESS ON FILE
CRUZ MANON, FERNANDO           ADDRESS ON FILE
CRUZ MANUEL TORRES DE JESUS    ADDRESS ON FILE
CRUZ MANZANET, MIRNA           ADDRESS ON FILE
CRUZ MARCANO, BIANCA L.        ADDRESS ON FILE
CRUZ MARCANO, EDDIE            ADDRESS ON FILE
CRUZ MARCANO, EDGARDO          ADDRESS ON FILE
CRUZ MARCANO, GLORIA E         ADDRESS ON FILE
CRUZ MARCANO, ISALES J         ADDRESS ON FILE
CRUZ MARCANO, IVONNE           ADDRESS ON FILE
CRUZ MARCANO, JULIO            ADDRESS ON FILE
CRUZ MARCANO, MAGDA            ADDRESS ON FILE
CRUZ MARCANO, MARILYN          ADDRESS ON FILE
CRUZ MARCHANY, MARTA L         ADDRESS ON FILE
CRUZ MARCHARD, CESAR M.        ADDRESS ON FILE
Cruz Marcial, Barbara M        ADDRESS ON FILE
CRUZ MARCIAL, WILLIAM          ADDRESS ON FILE
CRUZ MARCUCCI, ANGEL M         ADDRESS ON FILE
CRUZ MARCUCCI, GRACIELA        ADDRESS ON FILE
CRUZ MARIA CALDERA DEL VELLE   ADDRESS ON FILE
CRUZ MARIA GONZALEZ            ADDRESS ON FILE
Cruz Mariani, Alfredo          ADDRESS ON FILE
CRUZ MARIANI, HECTOR           ADDRESS ON FILE
CRUZ MARIN, CARMEN L.          ADDRESS ON FILE
CRUZ MARIN, ROSA E             ADDRESS ON FILE
CRUZ MARQUEZ, ANA              ADDRESS ON FILE
CRUZ MARQUEZ, LUZ              ADDRESS ON FILE
CRUZ MARQUEZ, LUZ I            ADDRESS ON FILE
Cruz Marquez, Maritza          ADDRESS ON FILE
CRUZ MARQUEZ, RUTH             ADDRESS ON FILE
CRUZ MARQUEZ,IRBA              ADDRESS ON FILE
CRUZ MARRERO, ANGELIQUE T      ADDRESS ON FILE
CRUZ MARRERO, CATHERINE        ADDRESS ON FILE
Cruz Marrero, Daniel           ADDRESS ON FILE
Cruz Marrero, Edwin            ADDRESS ON FILE




                                                                           Page 1950 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1951 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MARRERO, EFRAIN         ADDRESS ON FILE
CRUZ MARRERO, EMILIO         ADDRESS ON FILE
CRUZ MARRERO, FABIOLA        ADDRESS ON FILE
CRUZ MARRERO, FABIOLA        ADDRESS ON FILE
Cruz Marrero, Francisco      ADDRESS ON FILE
CRUZ MARRERO, GLORIMAR       ADDRESS ON FILE
CRUZ MARRERO, HECTOR         ADDRESS ON FILE
CRUZ MARRERO, HENRY JAVIER   ADDRESS ON FILE
CRUZ MARRERO, ISRAEL         ADDRESS ON FILE
CRUZ MARRERO, JENNIFFER      ADDRESS ON FILE
CRUZ MARRERO, JOSE A         ADDRESS ON FILE
Cruz Marrero, Jose A         ADDRESS ON FILE
Cruz Marrero, Jose R         ADDRESS ON FILE
CRUZ MARRERO, JOSEYMI        ADDRESS ON FILE
CRUZ MARRERO, JUAN           ADDRESS ON FILE
CRUZ MARRERO, JUANA M        ADDRESS ON FILE
CRUZ MARRERO, JUANA M        ADDRESS ON FILE
CRUZ MARRERO, REINA I        ADDRESS ON FILE
CRUZ MARRERO, WILDALIE       ADDRESS ON FILE
CRUZ MARRERO, WILMELIE       ADDRESS ON FILE
CRUZ MARRERO, YAHAIRA        ADDRESS ON FILE
CRUZ MARRERO, YAHAIRA        ADDRESS ON FILE
CRUZ MARTE, GUIMARY          ADDRESS ON FILE
CRUZ MARTE, JEANNIE          ADDRESS ON FILE
CRUZ MARTELL, ANDY           ADDRESS ON FILE
CRUZ MARTELL, IRIS M         ADDRESS ON FILE
CRUZ MARTELL, VERONICA       ADDRESS ON FILE
CRUZ MARTES, FERNANDO        ADDRESS ON FILE
CRUZ MARTES, FERNANDO L.     ADDRESS ON FILE
CRUZ MARTI, CARMEN M         ADDRESS ON FILE
CRUZ MARTI, JAZMIN           ADDRESS ON FILE
CRUZ MARTIN, CLARA I         ADDRESS ON FILE
CRUZ MARTINEZ MD, PEDRO J    ADDRESS ON FILE
CRUZ MARTINEZ SANABRIA       ADDRESS ON FILE
CRUZ MARTINEZ VEGA           ADDRESS ON FILE
CRUZ MARTINEZ, ADA           ADDRESS ON FILE
Cruz Martinez, Amilcar       ADDRESS ON FILE
CRUZ MARTINEZ, ANA L         ADDRESS ON FILE
CRUZ MARTINEZ, ANA L         ADDRESS ON FILE
CRUZ MARTINEZ, ANA M         ADDRESS ON FILE
CRUZ MARTINEZ, ANGEL         ADDRESS ON FILE
CRUZ MARTINEZ, ANGEL         ADDRESS ON FILE
CRUZ MARTINEZ, ANGEL         ADDRESS ON FILE
CRUZ MARTINEZ, ANGEL         ADDRESS ON FILE
CRUZ MARTINEZ, ANGEL A.      ADDRESS ON FILE
CRUZ MARTINEZ, ANGRL         ADDRESS ON FILE
CRUZ MARTINEZ, ANIBAL        ADDRESS ON FILE
Cruz Martinez, Anthony       ADDRESS ON FILE
CRUZ MARTINEZ, ANTHONY       ADDRESS ON FILE
CRUZ MARTINEZ, ANTONIA       ADDRESS ON FILE
CRUZ MARTINEZ, AURELIN       ADDRESS ON FILE
CRUZ MARTINEZ, BIBIANA       ADDRESS ON FILE
CRUZ MARTINEZ, BRENDA        ADDRESS ON FILE
CRUZ MARTINEZ, BRENDA M.     ADDRESS ON FILE
Cruz Martinez, Carlos        ADDRESS ON FILE
CRUZ MARTINEZ, CARLOS        ADDRESS ON FILE
CRUZ MARTINEZ, CARLOS        ADDRESS ON FILE
CRUZ MARTINEZ, CARMELO J     ADDRESS ON FILE
CRUZ MARTINEZ, CARMEN        ADDRESS ON FILE
CRUZ MARTINEZ, CHARLES       ADDRESS ON FILE




                                                                         Page 1951 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1952 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MARTINEZ, CLARIBEL          ADDRESS ON FILE
CRUZ MARTINEZ, CONCEPCION        ADDRESS ON FILE
CRUZ MARTINEZ, DALNILIZ          ADDRESS ON FILE
CRUZ MARTINEZ, DARIK Y.          ADDRESS ON FILE
Cruz Martinez, David             ADDRESS ON FILE
CRUZ MARTINEZ, DIANA M           ADDRESS ON FILE
CRUZ MARTINEZ, DRISDE            ADDRESS ON FILE
CRUZ MARTINEZ, EDWIN             ADDRESS ON FILE
CRUZ MARTINEZ, EMILIO            ADDRESS ON FILE
CRUZ MARTINEZ, EMMANUEL          ADDRESS ON FILE
CRUZ MARTINEZ, ENID              ADDRESS ON FILE
CRUZ MARTINEZ, EVELYN            ADDRESS ON FILE
CRUZ MARTINEZ, FELICITA          ADDRESS ON FILE
Cruz Martinez, Georgina          ADDRESS ON FILE
CRUZ MARTINEZ, GERARDO           ADDRESS ON FILE
Cruz Martinez, Gladys            ADDRESS ON FILE
CRUZ MARTINEZ, GLADYS            ADDRESS ON FILE
CRUZ MARTINEZ, GUILLERMINA       ADDRESS ON FILE
CRUZ MARTINEZ, HECTOR            ADDRESS ON FILE
CRUZ MARTINEZ, HUMBERTO          ADDRESS ON FILE
CRUZ MARTINEZ, IRIS              ADDRESS ON FILE
CRUZ MARTINEZ, ISMAEL            ADDRESS ON FILE
CRUZ MARTINEZ, JAIME             ADDRESS ON FILE
CRUZ MARTINEZ, JENNIFER          ADDRESS ON FILE
CRUZ MARTINEZ, JESUS M           ADDRESS ON FILE
CRUZ MARTINEZ, JESUS M.          ADDRESS ON FILE
CRUZ MARTINEZ, JORGE             ADDRESS ON FILE
CRUZ MARTINEZ, JOSE              ADDRESS ON FILE
CRUZ MARTINEZ, JOSE              ADDRESS ON FILE
CRUZ MARTINEZ, JOSE              ADDRESS ON FILE
CRUZ MARTINEZ, JOSE A            ADDRESS ON FILE
Cruz Martinez, Jose E            ADDRESS ON FILE
CRUZ MARTINEZ, JOSE J.           ADDRESS ON FILE
Cruz Martinez, Jose Manuel       ADDRESS ON FILE
CRUZ MARTINEZ, JUAN              ADDRESS ON FILE
CRUZ MARTINEZ, JUAN              ADDRESS ON FILE
CRUZ MARTINEZ, JUAN C            ADDRESS ON FILE
Cruz Martinez, Juan R.           ADDRESS ON FILE
CRUZ MARTINEZ, JUANA F           ADDRESS ON FILE
CRUZ MARTINEZ, KARLA M           ADDRESS ON FILE
CRUZ MARTINEZ, KEIRY MICHELL     ADDRESS ON FILE
CRUZ MARTINEZ, LAURA             ADDRESS ON FILE
CRUZ MARTINEZ, LAURA E           ADDRESS ON FILE
CRUZ MARTINEZ, LAURY             ADDRESS ON FILE
CRUZ MARTINEZ, LILLIAN           ADDRESS ON FILE
CRUZ MARTINEZ, LISANDRA          ADDRESS ON FILE
CRUZ MARTINEZ, LUCILA            ADDRESS ON FILE
CRUZ MARTINEZ, LUIS              ADDRESS ON FILE
Cruz Martinez, Luis A.           ADDRESS ON FILE
CRUZ MARTINEZ, LUIS A.           ADDRESS ON FILE
Cruz Martinez, Luis F            ADDRESS ON FILE
CRUZ MARTINEZ, LUZ I             ADDRESS ON FILE
CRUZ MARTINEZ, MADELINE          ADDRESS ON FILE
CRUZ MARTINEZ, MANUEL            ADDRESS ON FILE
CRUZ MARTINEZ, MARIA DE LOS A.   ADDRESS ON FILE
CRUZ MARTINEZ, MARIELA           ADDRESS ON FILE
CRUZ MARTINEZ, MARITZA           ADDRESS ON FILE
CRUZ MARTINEZ, MAYRA E           ADDRESS ON FILE
CRUZ MARTINEZ, MIGDALIA          ADDRESS ON FILE
CRUZ MARTINEZ, MIGUEL            ADDRESS ON FILE




                                                                             Page 1952 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1953 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MARTINEZ, MIGUEL A      ADDRESS ON FILE
CRUZ MARTINEZ, MIGUEL A      ADDRESS ON FILE
CRUZ MARTINEZ, MIRIAM        ADDRESS ON FILE
CRUZ MARTINEZ, NEFTALI       ADDRESS ON FILE
Cruz Martinez, Nestor        ADDRESS ON FILE
CRUZ MARTINEZ, NILKA E       ADDRESS ON FILE
CRUZ MARTINEZ, NILSA E.      ADDRESS ON FILE
CRUZ MARTINEZ, NIXA A        ADDRESS ON FILE
CRUZ MARTINEZ, NORA          ADDRESS ON FILE
CRUZ MARTINEZ, NORMA         ADDRESS ON FILE
CRUZ MARTINEZ, NORY          ADDRESS ON FILE
CRUZ MARTINEZ, ODETTE        ADDRESS ON FILE
CRUZ MARTINEZ, PEDRO J.      ADDRESS ON FILE
CRUZ MARTINEZ, PROVIDENCIA   ADDRESS ON FILE
CRUZ MARTINEZ, RAFAEL        ADDRESS ON FILE
CRUZ MARTINEZ, RENE          ADDRESS ON FILE
CRUZ MARTINEZ, RICARDO       ADDRESS ON FILE
CRUZ MARTINEZ, RICASOL       ADDRESS ON FILE
CRUZ MARTINEZ, RODOLFO       ADDRESS ON FILE
CRUZ MARTINEZ, ROLANDO       ADDRESS ON FILE
CRUZ MARTINEZ, ROLANDO E     ADDRESS ON FILE
CRUZ MARTINEZ, ROSA I        ADDRESS ON FILE
Cruz Martinez, Rosa J        ADDRESS ON FILE
CRUZ MARTINEZ, ROSANA        ADDRESS ON FILE
CRUZ MARTINEZ, SHANARA       ADDRESS ON FILE
Cruz Martinez, Shanara I     ADDRESS ON FILE
Cruz Martinez, Sigfredo      ADDRESS ON FILE
CRUZ MARTINEZ, SONIA         ADDRESS ON FILE
CRUZ MARTINEZ, TOMAS O       ADDRESS ON FILE
CRUZ MARTINEZ, VANESA        ADDRESS ON FILE
CRUZ MARTINEZ, VIOLETA       ADDRESS ON FILE
CRUZ MARTINEZ, VIRGENMINA    ADDRESS ON FILE
Cruz Martinez, Virgilio      ADDRESS ON FILE
CRUZ MARTINEZ, VIVIAN        ADDRESS ON FILE
CRUZ MARTINEZ, VIVIAN        ADDRESS ON FILE
CRUZ MARTINEZ, WANDA I.      ADDRESS ON FILE
CRUZ MARTINEZ, WILBERTO      ADDRESS ON FILE
CRUZ MARTINEZ, WILNERY       ADDRESS ON FILE
CRUZ MARTINEZ, YADIRA        ADDRESS ON FILE
CRUZ MARTINEZ, ZULMARIE      ADDRESS ON FILE
CRUZ MARTIR, LUZ L           ADDRESS ON FILE
CRUZ MARZAN, ARMANDO         ADDRESS ON FILE
CRUZ MAS, AMANDA             ADDRESS ON FILE
CRUZ MASSAS, JOSE C          ADDRESS ON FILE
CRUZ MATEO, IRIS             ADDRESS ON FILE
CRUZ MATEO, IRIS V           ADDRESS ON FILE
CRUZ MATEO, ROBERTO          ADDRESS ON FILE
CRUZ MATEU, MARIA M          ADDRESS ON FILE
CRUZ MATIAS, FRANCISCO       ADDRESS ON FILE
CRUZ MATIAS, JESUS           ADDRESS ON FILE
CRUZ MATIAS, JESUS           ADDRESS ON FILE
CRUZ MATIAS, KARLA           ADDRESS ON FILE
CRUZ MATIAS, MICHELLE        ADDRESS ON FILE
CRUZ MATIAS, NILDA           ADDRESS ON FILE
CRUZ MATOS, ANA J            ADDRESS ON FILE
CRUZ MATOS, ARAMINTO         ADDRESS ON FILE
CRUZ MATOS, ARNALDO          ADDRESS ON FILE
CRUZ MATOS, BIANCA           ADDRESS ON FILE
CRUZ MATOS, CARMEN A         ADDRESS ON FILE
CRUZ MATOS, CARMEN I         ADDRESS ON FILE




                                                                         Page 1953 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1954 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Matos, Carmen I          ADDRESS ON FILE
CRUZ MATOS, CARMEN R          ADDRESS ON FILE
CRUZ MATOS, ENID              ADDRESS ON FILE
CRUZ MATOS, FRANCISCO         ADDRESS ON FILE
CRUZ MATOS, GEISHLY           ADDRESS ON FILE
CRUZ MATOS, GLORIA V          ADDRESS ON FILE
CRUZ MATOS, HECTOR            ADDRESS ON FILE
CRUZ MATOS, JESUS M           ADDRESS ON FILE
CRUZ MATOS, JOSE              ADDRESS ON FILE
CRUZ MATOS, JOSE L.           ADDRESS ON FILE
CRUZ MATOS, KARMARYS          ADDRESS ON FILE
CRUZ MATOS, LOURDES           ADDRESS ON FILE
CRUZ MATOS, LYDIA E           ADDRESS ON FILE
CRUZ MATOS, MARCIA            ADDRESS ON FILE
CRUZ MATOS, MARIA DE          ADDRESS ON FILE
CRUZ MATOS, MARIA DEL C       ADDRESS ON FILE
CRUZ MATOS, MARIA E           ADDRESS ON FILE
CRUZ MATOS, MARIA L           ADDRESS ON FILE
CRUZ MATOS, MIGUEL A.         ADDRESS ON FILE
CRUZ MATOS, NILSA             ADDRESS ON FILE
CRUZ MATOS, NORMAN P.         ADDRESS ON FILE
Cruz Matos, Rafael            ADDRESS ON FILE
CRUZ MATOS, RAFAEL            ADDRESS ON FILE
CRUZ MATOS, RAFAEL ANTON      ADDRESS ON FILE
CRUZ MATOS, ROSA E            ADDRESS ON FILE
CRUZ MATOS, WILBERTO          ADDRESS ON FILE
CRUZ MATTA, ADELYN            ADDRESS ON FILE
CRUZ MATTA, MILAGROS          ADDRESS ON FILE
CRUZ MAURA, JEAN              ADDRESS ON FILE
CRUZ MAURAS, CATHERINE        ADDRESS ON FILE
CRUZ MAYSONET, AMNERIS        ADDRESS ON FILE
CRUZ MAYSONET, JAVIER         ADDRESS ON FILE
CRUZ MAYSONET, WENDY          ADDRESS ON FILE
CRUZ MAYSONET, ZULEYKA        ADDRESS ON FILE
CRUZ MCDOUGALL, VIVIANA       ADDRESS ON FILE
CRUZ MD , ERICK G             ADDRESS ON FILE
CRUZ MD , LUIS R              ADDRESS ON FILE
CRUZ MD, HUMBERTO             ADDRESS ON FILE
CRUZ MEDERO, CONNIE ANN       ADDRESS ON FILE
CRUZ MEDERO, JESUS            ADDRESS ON FILE
CRUZ MEDERO, SACHA            ADDRESS ON FILE
CRUZ MEDINA, AIDA L           ADDRESS ON FILE
CRUZ MEDINA, ALEXANDER        ADDRESS ON FILE
CRUZ MEDINA, ALWIN            ADDRESS ON FILE
CRUZ MEDINA, ANA M.           ADDRESS ON FILE
CRUZ MEDINA, ANGEL            ADDRESS ON FILE
CRUZ MEDINA, ANGELA CECILIA   ADDRESS ON FILE
CRUZ MEDINA, ANTONIO          ADDRESS ON FILE
CRUZ MEDINA, ASTRID           ADDRESS ON FILE
CRUZ MEDINA, BRUNILDA         ADDRESS ON FILE
CRUZ MEDINA, CARMELO          ADDRESS ON FILE
CRUZ MEDINA, CARMEN           ADDRESS ON FILE
CRUZ MEDINA, CARMEN A         ADDRESS ON FILE
Cruz Medina, Concepcion       ADDRESS ON FILE
CRUZ MEDINA, DELIA            ADDRESS ON FILE
CRUZ MEDINA, DENNISE          ADDRESS ON FILE
Cruz Medina, Edward           ADDRESS ON FILE
CRUZ MEDINA, ELIAS            ADDRESS ON FILE
CRUZ MEDINA, ELIEZER          ADDRESS ON FILE
CRUZ MEDINA, ENITZA           ADDRESS ON FILE




                                                                          Page 1954 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1955 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MEDINA, ERNESTO       ADDRESS ON FILE
CRUZ MEDINA, ESPERANZO     ADDRESS ON FILE
CRUZ MEDINA, EVELYN        ADDRESS ON FILE
CRUZ MEDINA, GERARDO       ADDRESS ON FILE
CRUZ MEDINA, HECTOR        ADDRESS ON FILE
CRUZ MEDINA, ISRAEL        ADDRESS ON FILE
CRUZ MEDINA, JAIME         ADDRESS ON FILE
CRUZ MEDINA, JANNETTE      ADDRESS ON FILE
CRUZ MEDINA, JESSICA       ADDRESS ON FILE
CRUZ MEDINA, JORGE         ADDRESS ON FILE
CRUZ MEDINA, JOSE          ADDRESS ON FILE
CRUZ MEDINA, JUAN          ADDRESS ON FILE
CRUZ MEDINA, JULISSA E.    ADDRESS ON FILE
CRUZ MEDINA, LUIS          ADDRESS ON FILE
CRUZ MEDINA, MARCELINA     ADDRESS ON FILE
Cruz Medina, Maria E       ADDRESS ON FILE
CRUZ MEDINA, MARICELLY     ADDRESS ON FILE
CRUZ MEDINA, RAMON A       ADDRESS ON FILE
CRUZ MEDINA, ROSA I        ADDRESS ON FILE
CRUZ MEDINA, ROSALINA      ADDRESS ON FILE
CRUZ MEDINA, TAMARA        ADDRESS ON FILE
CRUZ MEDINA, TAYNA M       ADDRESS ON FILE
CRUZ MEDINA, VERONICA      ADDRESS ON FILE
CRUZ MEDINA, WANDA         ADDRESS ON FILE
CRUZ MEDINA, YARITZA       ADDRESS ON FILE
CRUZ MEJIA, ALEXANDER      ADDRESS ON FILE
CRUZ MEJIA, ALEXANDER      ADDRESS ON FILE
CRUZ MEJIAS SANCHEZ        ADDRESS ON FILE
CRUZ MEJIAS, CARMEN        ADDRESS ON FILE
CRUZ MEJIAS, CARMEN I      ADDRESS ON FILE
Cruz Mejias, Jorge         ADDRESS ON FILE
CRUZ MEJIAS, JUANA         ADDRESS ON FILE
Cruz Mejias, Manuel        ADDRESS ON FILE
CRUZ MEJIAS, MANUEL        ADDRESS ON FILE
CRUZ MEJIAS, MARGARITA     ADDRESS ON FILE
CRUZ MEJIAS, MARTA I.      ADDRESS ON FILE
CRUZ MEJIAS, NEIDIBER      ADDRESS ON FILE
CRUZ MEJIAS, RANDY X       ADDRESS ON FILE
CRUZ MEJIAS, YARITZA M     ADDRESS ON FILE
CRUZ MEJIAS, ZORALYZ       ADDRESS ON FILE
CRUZ MELECIO, JUAN         ADDRESS ON FILE
CRUZ MELENDEZ MD, JOSE L   ADDRESS ON FILE
CRUZ MELENDEZ, ADA E       ADDRESS ON FILE
CRUZ MELENDEZ, ANTONIA M   ADDRESS ON FILE
CRUZ MELENDEZ, ANTONIO     ADDRESS ON FILE
Cruz Melendez, Catherine   ADDRESS ON FILE
CRUZ MELENDEZ, CLARA M     ADDRESS ON FILE
Cruz Melendez, Delia I     ADDRESS ON FILE
CRUZ MELENDEZ, EDWAR       ADDRESS ON FILE
CRUZ MELENDEZ, EMMA R      ADDRESS ON FILE
CRUZ MELENDEZ, ESTEBAN     ADDRESS ON FILE
CRUZ MELENDEZ, EVARISTO    ADDRESS ON FILE
CRUZ MELENDEZ, GABINO      ADDRESS ON FILE
CRUZ MELENDEZ, GRISELL     ADDRESS ON FILE
CRUZ MELENDEZ, HERNAN      ADDRESS ON FILE
Cruz Melendez, Ileana C    ADDRESS ON FILE
CRUZ MELENDEZ, INEABELLE   ADDRESS ON FILE
CRUZ MELENDEZ, IRAIDA      ADDRESS ON FILE
CRUZ MELENDEZ, IRIS        ADDRESS ON FILE
CRUZ MELENDEZ, JOSE L      ADDRESS ON FILE




                                                                       Page 1955 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1956 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MELENDEZ, JOSE L           ADDRESS ON FILE
CRUZ MELENDEZ, JOSEFINA         ADDRESS ON FILE
CRUZ MELENDEZ, JOSUE            ADDRESS ON FILE
CRUZ MELENDEZ, JUAN             ADDRESS ON FILE
CRUZ MELENDEZ, JUAN             ADDRESS ON FILE
CRUZ MELENDEZ, KELIMAR          ADDRESS ON FILE
CRUZ MELENDEZ, KERSTIN J        ADDRESS ON FILE
CRUZ MELENDEZ, LAURA J.         ADDRESS ON FILE
CRUZ MELENDEZ, LILLIAM I        ADDRESS ON FILE
CRUZ MELENDEZ, LUIS A           ADDRESS ON FILE
CRUZ MELENDEZ, MADELINE         ADDRESS ON FILE
CRUZ MELENDEZ, MARGARITA        ADDRESS ON FILE
CRUZ MELENDEZ, MARIA DE LOS A   ADDRESS ON FILE
CRUZ MELENDEZ, MARIA I          ADDRESS ON FILE
CRUZ MELENDEZ, MARIA I.         ADDRESS ON FILE
CRUZ MELENDEZ, MARIA M          ADDRESS ON FILE
CRUZ MELENDEZ, MARIA V          ADDRESS ON FILE
CRUZ MELENDEZ, MARIBEL          ADDRESS ON FILE
CRUZ MELENDEZ, MARLYN           ADDRESS ON FILE
CRUZ MELENDEZ, MARY E           ADDRESS ON FILE
CRUZ MELENDEZ, MERCEDITA        ADDRESS ON FILE
CRUZ MELENDEZ, MERCEDITA        ADDRESS ON FILE
CRUZ MELENDEZ, MICHELLE M       ADDRESS ON FILE
Cruz Melendez, Neyron           ADDRESS ON FILE
CRUZ MELENDEZ, NICOLE           ADDRESS ON FILE
Cruz Melendez, Nilsa I          ADDRESS ON FILE
CRUZ MELENDEZ, OLGA             ADDRESS ON FILE
CRUZ MELENDEZ, OLGA M           ADDRESS ON FILE
CRUZ MELENDEZ, PABLO            ADDRESS ON FILE
CRUZ MELENDEZ, RICARDO          ADDRESS ON FILE
CRUZ MELENDEZ, STEPHANIE        ADDRESS ON FILE
CRUZ MELENDEZ, YARITZA          ADDRESS ON FILE
CRUZ MELENDEZ, ZAYMARA          ADDRESS ON FILE
CRUZ MELENEZ, CANDIDA           ADDRESS ON FILE
CRUZ MELO, GABRIEL              ADDRESS ON FILE
CRUZ MENA MD, RAFAEL            ADDRESS ON FILE
CRUZ MENA MD, RAFAEL A          ADDRESS ON FILE
CRUZ MENA, ROBERTO              ADDRESS ON FILE
Cruz Mendez, Agustin            ADDRESS ON FILE
CRUZ MENDEZ, ALEXIS             ADDRESS ON FILE
CRUZ MENDEZ, ANA L.             ADDRESS ON FILE
CRUZ MENDEZ, CARMEN M           ADDRESS ON FILE
CRUZ MENDEZ, DOMINGO            ADDRESS ON FILE
CRUZ MENDEZ, EDWIN              ADDRESS ON FILE
CRUZ MENDEZ, EDWIN              ADDRESS ON FILE
CRUZ MENDEZ, ELISA              ADDRESS ON FILE
CRUZ MENDEZ, GUILLERMO          ADDRESS ON FILE
CRUZ MENDEZ, GUILLERMO          ADDRESS ON FILE
CRUZ MENDEZ, JENNIFER           ADDRESS ON FILE
CRUZ MENDEZ, JOSE               ADDRESS ON FILE
CRUZ MENDEZ, JOSE A.            ADDRESS ON FILE
Cruz Mendez, Jose L             ADDRESS ON FILE
CRUZ MENDEZ, JULIO E.           ADDRESS ON FILE
Cruz Mendez, Leo Daniel         ADDRESS ON FILE
CRUZ MENDEZ, LIVIA I.           ADDRESS ON FILE
CRUZ MENDEZ, LIZANDRA           ADDRESS ON FILE
CRUZ MENDEZ, LUIS               ADDRESS ON FILE
CRUZ MENDEZ, LUZ N              ADDRESS ON FILE
CRUZ MENDEZ, MARISOL            ADDRESS ON FILE
CRUZ MENDEZ, MAXIMINO           ADDRESS ON FILE




                                                                            Page 1956 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1957 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MENDEZ, MILAGROS         ADDRESS ON FILE
CRUZ MENDEZ, NOEL             ADDRESS ON FILE
CRUZ MENDEZ, NORIS            ADDRESS ON FILE
CRUZ MENDEZ, OLGA             ADDRESS ON FILE
CRUZ MENDEZ, ROSA L           ADDRESS ON FILE
CRUZ MENDEZ, SONIA            ADDRESS ON FILE
CRUZ MENDEZ, VIRGENMINA       ADDRESS ON FILE
CRUZ MENDEZ, WALESKA          ADDRESS ON FILE
CRUZ MENDEZ, YOLANDA          ADDRESS ON FILE
Cruz Mendoza, Domingo         ADDRESS ON FILE
CRUZ MENDOZA, HECTOR A        ADDRESS ON FILE
CRUZ MENDOZA, REINALDO        ADDRESS ON FILE
Cruz Mendrez, Angel M         ADDRESS ON FILE
CRUZ MENENDEZ, JOSE M         ADDRESS ON FILE
CRUZ MERCADER, JANICE MARIE   ADDRESS ON FILE
CRUZ MERCADO, ALMA N          ADDRESS ON FILE
CRUZ MERCADO, AMADOR          ADDRESS ON FILE
CRUZ MERCADO, ANA C           ADDRESS ON FILE
CRUZ MERCADO, CARLOS          ADDRESS ON FILE
Cruz Mercado, Carlos F        ADDRESS ON FILE
CRUZ MERCADO, CARMEN I        ADDRESS ON FILE
CRUZ MERCADO, CARMEN J        ADDRESS ON FILE
Cruz Mercado, Deborah         ADDRESS ON FILE
CRUZ MERCADO, DOLORES         ADDRESS ON FILE
CRUZ MERCADO, GERTRUDIS       ADDRESS ON FILE
CRUZ MERCADO, GLORIMAR        ADDRESS ON FILE
CRUZ MERCADO, JOSE            ADDRESS ON FILE
CRUZ MERCADO, JOSE O          ADDRESS ON FILE
CRUZ MERCADO, JUANITA         ADDRESS ON FILE
CRUZ MERCADO, JULIO           ADDRESS ON FILE
CRUZ MERCADO, LUZ N           ADDRESS ON FILE
CRUZ MERCADO, MANUEL          ADDRESS ON FILE
CRUZ MERCADO, MARGARITA       ADDRESS ON FILE
CRUZ MERCADO, NELSON          ADDRESS ON FILE
CRUZ MERCADO, NILSA I         ADDRESS ON FILE
CRUZ MERCADO, PERLA S         ADDRESS ON FILE
CRUZ MERCADO, ROSA N          ADDRESS ON FILE
CRUZ MERCADO, ROSA N          ADDRESS ON FILE
CRUZ MERCADO, SANDRA          ADDRESS ON FILE
CRUZ MERCADO, SONIA           ADDRESS ON FILE
CRUZ MERCADO, TAMARIS         ADDRESS ON FILE
CRUZ MERCADO, TANIA           ADDRESS ON FILE
CRUZ MERCADO, VANESSA         ADDRESS ON FILE
CRUZ MERCADO, YESENIA         ADDRESS ON FILE
CRUZ MERCADO, ZULEYKA         ADDRESS ON FILE
CRUZ MERCADO,DEBORAH          ADDRESS ON FILE
CRUZ MERCED, ALEXANDRA M      ADDRESS ON FILE
CRUZ MERCED, ANA L            ADDRESS ON FILE
CRUZ MERCED, ARTURO           ADDRESS ON FILE
CRUZ MERCED, EDGARDO X        ADDRESS ON FILE
CRUZ MERCED, ENID             ADDRESS ON FILE
CRUZ MERCED, FELIX            ADDRESS ON FILE
CRUZ MERCED, GLORIVEE         ADDRESS ON FILE
CRUZ MERCED, GLORIVEE         ADDRESS ON FILE
CRUZ MERCED, JESUS            ADDRESS ON FILE
CRUZ MERCED, LUCIA            ADDRESS ON FILE
CRUZ MERCED, LUZ E            ADDRESS ON FILE
CRUZ MERCED, RAMON            ADDRESS ON FILE
CRUZ MERCED, ROSA             ADDRESS ON FILE
CRUZ MERCED, SECUNDINA        ADDRESS ON FILE




                                                                          Page 1957 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1958 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MERCEDES, YALCONIN    ADDRESS ON FILE
CRUZ MILETE, JESSICA       ADDRESS ON FILE
CRUZ MILLAN, DORIS M       ADDRESS ON FILE
CRUZ MILLAN, IDA E.        ADDRESS ON FILE
CRUZ MILLAN, LEIGH V       ADDRESS ON FILE
CRUZ MILLAN, LETICIA       ADDRESS ON FILE
CRUZ MILLAN, LYDIA         ADDRESS ON FILE
CRUZ MILLAN, MAGDALENA     ADDRESS ON FILE
CRUZ MILLER, EDWIN M.      ADDRESS ON FILE
CRUZ MINERVA ORTIZ CABAN   ADDRESS ON FILE
CRUZ MIRABAL, ENID         ADDRESS ON FILE
CRUZ MIRABAL, ENID MARIA   ADDRESS ON FILE
CRUZ MIRANDA, ADELINA      ADDRESS ON FILE
CRUZ MIRANDA, ALFONSO      ADDRESS ON FILE
CRUZ MIRANDA, ANA D        ADDRESS ON FILE
CRUZ MIRANDA, ANA M        ADDRESS ON FILE
CRUZ MIRANDA, BLANCA L     ADDRESS ON FILE
CRUZ MIRANDA, CARLOS       ADDRESS ON FILE
CRUZ MIRANDA, CARMEN E.    ADDRESS ON FILE
CRUZ MIRANDA, EDGAR        ADDRESS ON FILE
CRUZ MIRANDA, HECTOR       ADDRESS ON FILE
CRUZ MIRANDA, HECTOR M     ADDRESS ON FILE
CRUZ MIRANDA, JOSE         ADDRESS ON FILE
Cruz Miranda, Jose L.      ADDRESS ON FILE
CRUZ MIRANDA, JUAN E       ADDRESS ON FILE
CRUZ MIRANDA, JULIO        ADDRESS ON FILE
Cruz Miranda, Julio A      ADDRESS ON FILE
CRUZ MIRANDA, KARLA        ADDRESS ON FILE
CRUZ MIRANDA, LUIS F       ADDRESS ON FILE
CRUZ MIRANDA, MARIA C      ADDRESS ON FILE
CRUZ MIRANDA, MARIELYS M   ADDRESS ON FILE
CRUZ MIRANDA, MIRIAM       ADDRESS ON FILE
CRUZ MIRANDA, NATALIE M    ADDRESS ON FILE
CRUZ MIRANDA, NELIDA       ADDRESS ON FILE
CRUZ MIRANDA, NORMA I.     ADDRESS ON FILE
CRUZ MIRANDA, RAMIRO       ADDRESS ON FILE
CRUZ MIRANDA, RAMIRO       ADDRESS ON FILE
CRUZ MIRANDA, RAMON        ADDRESS ON FILE
CRUZ MIRANDA, SILMARIE     ADDRESS ON FILE
CRUZ MIRANDA, STEPHANIE    ADDRESS ON FILE
CRUZ MIRO, NATALIA         ADDRESS ON FILE
CRUZ MOCTEZUMA, EDWIN      ADDRESS ON FILE
CRUZ MOJICA, ALBERTO       ADDRESS ON FILE
CRUZ MOJICA, ANGEL L       ADDRESS ON FILE
CRUZ MOJICA, CARMEN I      ADDRESS ON FILE
CRUZ MOJICA, EVELYN        ADDRESS ON FILE
CRUZ MOJICA, LIBRADA       ADDRESS ON FILE
CRUZ MOJICA, WILFREDO      ADDRESS ON FILE
CRUZ MOJICA, WILFREDO      ADDRESS ON FILE
CRUZ MOLINA, CARMEN M      ADDRESS ON FILE
Cruz Molina, Cesar Rasec   ADDRESS ON FILE
Cruz Molina, Elisandra     ADDRESS ON FILE
CRUZ MOLINA, ENRIQUE       ADDRESS ON FILE
CRUZ MOLINA, EVELYN        ADDRESS ON FILE
CRUZ MOLINA, HAYDEE        ADDRESS ON FILE
CRUZ MOLINA, JOSE E.       ADDRESS ON FILE
Cruz Molina, Jose M        ADDRESS ON FILE
CRUZ MOLINA, LUIS          ADDRESS ON FILE
CRUZ MOLINA, LUIS F.       ADDRESS ON FILE
CRUZ MOLINA, MARCOS        ADDRESS ON FILE




                                                                       Page 1958 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1959 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MOLINA, MIOSOTIS          ADDRESS ON FILE
CRUZ MOLINA, NORA              ADDRESS ON FILE
CRUZ MOLINA, SILMA             ADDRESS ON FILE
CRUZ MONELL, MARIA             ADDRESS ON FILE
CRUZ MONGE, CARMEN             ADDRESS ON FILE
CRUZ MONGE, EMMA               ADDRESS ON FILE
CRUZ MONGE, PAUL               ADDRESS ON FILE
CRUZ MONGE, RAMON              ADDRESS ON FILE
CRUZ MONROIG, MARIBEL          ADDRESS ON FILE
CRUZ MONROIG, MARISOL          ADDRESS ON FILE
CRUZ MONROIG, RITA             ADDRESS ON FILE
CRUZ MONSERRATE, SONIA M.      ADDRESS ON FILE
CRUZ MONSERRATE, VANESSA       ADDRESS ON FILE
CRUZ MONTALBAN, MARIA DE LOS   ADDRESS ON FILE
CRUZ MONTALVO, ALEXANDRA       ADDRESS ON FILE
Cruz Montalvo, Bienvenido      ADDRESS ON FILE
CRUZ MONTALVO, CESAR A.        ADDRESS ON FILE
CRUZ MONTALVO, DAVID           ADDRESS ON FILE
CRUZ MONTALVO, ELIZABETH       ADDRESS ON FILE
CRUZ MONTALVO, IRMA I          ADDRESS ON FILE
CRUZ MONTALVO, JULIA J         ADDRESS ON FILE
CRUZ MONTALVO, MARIA           ADDRESS ON FILE
CRUZ MONTALVO, NELSON          ADDRESS ON FILE
CRUZ MONTANEZ, ALEXIS          ADDRESS ON FILE
CRUZ MONTANEZ, ANA M           ADDRESS ON FILE
CRUZ MONTANEZ, CARMEN V        ADDRESS ON FILE
CRUZ MONTANEZ, DAMARIS         ADDRESS ON FILE
CRUZ MONTANEZ, DARLENE         ADDRESS ON FILE
CRUZ MONTANEZ, DENISE M        ADDRESS ON FILE
CRUZ MONTANEZ, EDGARDO         ADDRESS ON FILE
Cruz Montanez, Johanna         ADDRESS ON FILE
CRUZ MONTANEZ, JOSE A          ADDRESS ON FILE
CRUZ MONTANEZ, JOSE A.         ADDRESS ON FILE
CRUZ MONTANEZ, YAMIL           ADDRESS ON FILE
CRUZ MONTANEZ, ZAIDA G.        ADDRESS ON FILE
CRUZ MONTAQEZ, MARIANO         ADDRESS ON FILE
CRUZ MONTERO, JOSE             ADDRESS ON FILE
CRUZ MONTERO, JOSE             ADDRESS ON FILE
CRUZ MONTERO, LIZAILLIE A      ADDRESS ON FILE
CRUZ MONTERO, NORMA I          ADDRESS ON FILE
Cruz Montero, Raul E.          ADDRESS ON FILE
CRUZ MONTERO, WANDA LIZETTE    ADDRESS ON FILE
CRUZ MONTES, ANGEL R           ADDRESS ON FILE
CRUZ MONTES, CARLA I.          ADDRESS ON FILE
CRUZ MONTES, CESAR             ADDRESS ON FILE
CRUZ MONTES, GLORIA I          ADDRESS ON FILE
CRUZ MONTES, JORGE A.          ADDRESS ON FILE
CRUZ MONTES, REBECCA           ADDRESS ON FILE
CRUZ MONTOSA, ISRAEL           ADDRESS ON FILE
CRUZ MONTOSO, LUIS E           ADDRESS ON FILE
CRUZ MONTOYO, ANA M            ADDRESS ON FILE
CRUZ MONTOYO, LYDIA E          ADDRESS ON FILE
CRUZ MORALES BORRERO           ADDRESS ON FILE
CRUZ MORALES MD, YESENIA       ADDRESS ON FILE
CRUZ MORALES, ADA              ADDRESS ON FILE
CRUZ MORALES, ADA A            ADDRESS ON FILE
CRUZ MORALES, AILISY           ADDRESS ON FILE
CRUZ MORALES, ANA M            ADDRESS ON FILE
CRUZ MORALES, ANA M.           ADDRESS ON FILE
CRUZ MORALES, ANA M.           ADDRESS ON FILE




                                                                           Page 1959 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1960 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MORALES, ANABEL           ADDRESS ON FILE
CRUZ MORALES, ANGEL            ADDRESS ON FILE
CRUZ MORALES, ANGELICA M.      ADDRESS ON FILE
CRUZ MORALES, ANTONIO          ADDRESS ON FILE
CRUZ MORALES, ARACELIS         ADDRESS ON FILE
CRUZ MORALES, CARLOS M         ADDRESS ON FILE
CRUZ MORALES, CARMEN           ADDRESS ON FILE
CRUZ MORALES, CAROLINE J       ADDRESS ON FILE
CRUZ MORALES, CEFERINO         ADDRESS ON FILE
CRUZ MORALES, DAISY            ADDRESS ON FILE
CRUZ MORALES, DANIEL           ADDRESS ON FILE
CRUZ MORALES, DOLORES M        ADDRESS ON FILE
CRUZ MORALES, EDGARDO          ADDRESS ON FILE
CRUZ MORALES, EMMANUEL         ADDRESS ON FILE
CRUZ MORALES, ERIC             ADDRESS ON FILE
CRUZ MORALES, ERICK M          ADDRESS ON FILE
CRUZ MORALES, EVARISTO         ADDRESS ON FILE
CRUZ MORALES, FABIAN           ADDRESS ON FILE
CRUZ MORALES, FELMARIE DEL C   ADDRESS ON FILE
CRUZ MORALES, GLORIA E         ADDRESS ON FILE
CRUZ MORALES, GRISEL           ADDRESS ON FILE
CRUZ MORALES, HERIBERTO        ADDRESS ON FILE
CRUZ MORALES, HERMINIO         ADDRESS ON FILE
CRUZ MORALES, HERMINIO         ADDRESS ON FILE
Cruz Morales, Hilda L          ADDRESS ON FILE
CRUZ MORALES, INGRID L         ADDRESS ON FILE
CRUZ MORALES, ISABEL           ADDRESS ON FILE
Cruz Morales, Ivan             ADDRESS ON FILE
CRUZ MORALES, IVAN             ADDRESS ON FILE
CRUZ MORALES, JAVIER           ADDRESS ON FILE
Cruz Morales, Jenifer M.       ADDRESS ON FILE
CRUZ MORALES, JESSICA          ADDRESS ON FILE
CRUZ MORALES, JESSICA M        ADDRESS ON FILE
CRUZ MORALES, JESUS            ADDRESS ON FILE
Cruz Morales, Jesus A          ADDRESS ON FILE
CRUZ MORALES, JESUS A.         ADDRESS ON FILE
Cruz Morales, Johanna          ADDRESS ON FILE
CRUZ MORALES, JONATHAN         ADDRESS ON FILE
CRUZ MORALES, JORGE            ADDRESS ON FILE
CRUZ MORALES, JOSE             ADDRESS ON FILE
CRUZ MORALES, JOSE             ADDRESS ON FILE
Cruz Morales, Jose A           ADDRESS ON FILE
Cruz Morales, Jose J           ADDRESS ON FILE
CRUZ MORALES, JOSE M           ADDRESS ON FILE
CRUZ MORALES, JOSEFINA         ADDRESS ON FILE
CRUZ MORALES, JOSUE            ADDRESS ON FILE
CRUZ MORALES, JUAN             ADDRESS ON FILE
CRUZ MORALES, JUAN E.          ADDRESS ON FILE
CRUZ MORALES, JUAN I           ADDRESS ON FILE
CRUZ MORALES, KEILLY           ADDRESS ON FILE
CRUZ MORALES, LESLIE           ADDRESS ON FILE
CRUZ MORALES, LILIABEL         ADDRESS ON FILE
CRUZ MORALES, LILLIAM          ADDRESS ON FILE
CRUZ MORALES, LIONEL M         ADDRESS ON FILE
CRUZ MORALES, LIZETTE          ADDRESS ON FILE
CRUZ MORALES, LUIS             ADDRESS ON FILE
CRUZ MORALES, LUIS             ADDRESS ON FILE
CRUZ MORALES, LUIS A           ADDRESS ON FILE
CRUZ MORALES, LUZ M            ADDRESS ON FILE
CRUZ MORALES, LYNNETTE         ADDRESS ON FILE




                                                                           Page 1960 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 1961 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MORALES, MARGARITA          ADDRESS ON FILE
CRUZ MORALES, MARIA S.           ADDRESS ON FILE
CRUZ MORALES, MARILUZ            ADDRESS ON FILE
CRUZ MORALES, MARILUZ            ADDRESS ON FILE
Cruz Morales, Miguel A           ADDRESS ON FILE
CRUZ MORALES, MILAGROS           ADDRESS ON FILE
CRUZ MORALES, MIRIAM             ADDRESS ON FILE
CRUZ MORALES, MONICA             ADDRESS ON FILE
CRUZ MORALES, NANCY              ADDRESS ON FILE
CRUZ MORALES, NITZA              ADDRESS ON FILE
CRUZ MORALES, OLGA J             ADDRESS ON FILE
Cruz Morales, Pascual            ADDRESS ON FILE
CRUZ MORALES, PEDRO              ADDRESS ON FILE
Cruz Morales, Ramon L            ADDRESS ON FILE
CRUZ MORALES, RAMONA             ADDRESS ON FILE
CRUZ MORALES, RAMONA M           ADDRESS ON FILE
CRUZ MORALES, REINALDO           ADDRESS ON FILE
CRUZ MORALES, ROBERT             ADDRESS ON FILE
CRUZ MORALES, ROSA               ADDRESS ON FILE
CRUZ MORALES, ROSA E             ADDRESS ON FILE
CRUZ MORALES, SONIA E.           ADDRESS ON FILE
CRUZ MORALES, SORIEL             ADDRESS ON FILE
CRUZ MORALES, STEVEN             ADDRESS ON FILE
Cruz Morales, Sylvia             ADDRESS ON FILE
CRUZ MORALES, TANIA              ADDRESS ON FILE
Cruz Morales, Victor M.          ADDRESS ON FILE
CRUZ MORALES, VIRGEN             ADDRESS ON FILE
CRUZ MORALES, XAVIER             ADDRESS ON FILE
CRUZ MORALES, YANILLE            ADDRESS ON FILE
CRUZ MORALES, YANIRA             ADDRESS ON FILE
CRUZ MORALES, YESENIA            ADDRESS ON FILE
CRUZ MORALES, YOMAYRA            ADDRESS ON FILE
CRUZ MORALES,JUAN C.             ADDRESS ON FILE
Cruz Moralez, Pablo              ADDRESS ON FILE
CRUZ MORALEZ, SONIA              ADDRESS ON FILE
CRUZ MORAN, GUSTAVO              ADDRESS ON FILE
Cruz Moran, Jose Victor          ADDRESS ON FILE
Cruz Moran, Maria De Los A       ADDRESS ON FILE
CRUZ MORCIGLIO, CARMEN L         ADDRESS ON FILE
CRUZ MORELL, BRYANT              ADDRESS ON FILE
CRUZ MORENO SANCHEZ              ADDRESS ON FILE
CRUZ MORENO, BARBARA J           ADDRESS ON FILE
CRUZ MORENO, MIDAYMA             ADDRESS ON FILE
CRUZ MORETA, GILBERT             ADDRESS ON FILE
CRUZ MORI, RICARDO A.            ADDRESS ON FILE
Cruz Moris, Carlos J.            ADDRESS ON FILE
CRUZ MOTOS, GREGORIO             ADDRESS ON FILE
CRUZ MOYA ELEVATOR CONSULTANTS   PMB 173‐B P.O. 194000                                                            SAN JUAN     PR      00919‐4000
CRUZ MOYA ELEVATOR CONSULTANTS   PMB NO. 173B              PO BOX 194000                                          SAN JUAN     PR      00919‐4000
CRUZ MOYA ELEVATOR CONSULTANTS   PO BOX 191007                                                                    SAN JUAN     PR      00919‐1007
CRUZ MOYENO, LUIS A              ADDRESS ON FILE
CRUZ MOYENO, MIGDALIA            ADDRESS ON FILE
CRUZ MOYETT, FELIXAVIER          ADDRESS ON FILE
CRUZ MULERO, JUAN                ADDRESS ON FILE
CRUZ MULERRO, RAUL               ADDRESS ON FILE
CRUZ MUNDO, RODOLFO              ADDRESS ON FILE
CRUZ MUNIZ ELLIN                 ADDRESS ON FILE
CRUZ MUNIZ, ANAIS                ADDRESS ON FILE
CRUZ MUNIZ, ARMANDO              ADDRESS ON FILE
CRUZ MUNIZ, ASHLEY A             ADDRESS ON FILE




                                                                             Page 1961 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1962 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ MUNIZ, BARBARA         ADDRESS ON FILE
CRUZ MUNIZ, CARLOS          ADDRESS ON FILE
CRUZ MUNIZ, HERIBERTO       ADDRESS ON FILE
CRUZ MUNIZ, JOSHUA          ADDRESS ON FILE
CRUZ MUNIZ, KEVIN           ADDRESS ON FILE
Cruz Muniz, Moises          ADDRESS ON FILE
CRUZ MUNIZ, WANDA           ADDRESS ON FILE
CRUZ MUNOZ, AUDREY          ADDRESS ON FILE
CRUZ MUNOZ, EFRAIN          ADDRESS ON FILE
CRUZ MUNOZ, HILDA T         ADDRESS ON FILE
CRUZ MUNOZ, IVAN            ADDRESS ON FILE
CRUZ MUNOZ, LUZ             ADDRESS ON FILE
CRUZ MUNOZ, LUZ M           ADDRESS ON FILE
CRUZ MUNOZ, MARIDAIRA       ADDRESS ON FILE
CRUZ MUNOZ, MARTA           ADDRESS ON FILE
CRUZ MUNOZ, MIGDALIA        ADDRESS ON FILE
CRUZ MURATI, NATALIA        ADDRESS ON FILE
CRUZ MURPHY, GLORIA         ADDRESS ON FILE
CRUZ N QUINONES SERPA       ADDRESS ON FILE
CRUZ N ROSADO RODRIGUEZ     ADDRESS ON FILE
CRUZ N TORRES ACEVEDO       ADDRESS ON FILE
CRUZ NARVAEZ, CARMEN        ADDRESS ON FILE
CRUZ NARVAEZ, ENRIQUE A     ADDRESS ON FILE
Cruz Narvaez, Jose R        ADDRESS ON FILE
CRUZ NARVAEZ, LUZ Z.        ADDRESS ON FILE
CRUZ NARVAEZ, ROBERTO       ADDRESS ON FILE
CRUZ NAVARRETE, ADRIAN      ADDRESS ON FILE
CRUZ NAVARRO, CARMELO       ADDRESS ON FILE
CRUZ NAVARRO, IRIS          ADDRESS ON FILE
CRUZ NAVARRO, LUIS          ADDRESS ON FILE
CRUZ NAVARRO, MIGDALIA      ADDRESS ON FILE
CRUZ NAVARRO, MIGDALIA      ADDRESS ON FILE
CRUZ NAVARRO, MYRTA         ADDRESS ON FILE
CRUZ NAVARRO, WENDOLY       ADDRESS ON FILE
CRUZ NAVARRO, YAMIL         ADDRESS ON FILE
CRUZ NAVARRO, YOLANDA       ADDRESS ON FILE
CRUZ NAZARIO, AIDA N.       ADDRESS ON FILE
CRUZ NAZARIO, BEATRIZ       ADDRESS ON FILE
CRUZ NAZARIO, BEATRIZ       ADDRESS ON FILE
CRUZ NAZARIO, CARMEN        ADDRESS ON FILE
CRUZ NAZARIO, CESAR         ADDRESS ON FILE
CRUZ NAZARIO, ELIUD         ADDRESS ON FILE
CRUZ NAZARIO, HERIBERTO     ADDRESS ON FILE
CRUZ NAZARIO, RUTH E        ADDRESS ON FILE
Cruz Negron, Alex           ADDRESS ON FILE
CRUZ NEGRON, ANA            ADDRESS ON FILE
CRUZ NEGRON, ARCADIO        ADDRESS ON FILE
CRUZ NEGRON, ASTRID R       ADDRESS ON FILE
Cruz Negron, Benjamin       ADDRESS ON FILE
CRUZ NEGRON, CARMEN V       ADDRESS ON FILE
CRUZ NEGRON, DAMIAN L       ADDRESS ON FILE
CRUZ NEGRON, ENOEL          ADDRESS ON FILE
CRUZ NEGRON, IRIS           ADDRESS ON FILE
CRUZ NEGRON, ISETTE         ADDRESS ON FILE
CRUZ NEGRON, IVELISSE       ADDRESS ON FILE
CRUZ NEGRON, JESUS E        ADDRESS ON FILE
CRUZ NEGRON, JORGE          ADDRESS ON FILE
CRUZ NEGRON, JORGE          ADDRESS ON FILE
CRUZ NEGRON, JORGE          ADDRESS ON FILE
Cruz Negron, Jose Antonio   ADDRESS ON FILE




                                                                        Page 1962 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 1963 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Negron, Juan        ADDRESS ON FILE
CRUZ NEGRON, JUAN F      ADDRESS ON FILE
CRUZ NEGRON, KIRIA T     ADDRESS ON FILE
CRUZ NEGRON, LOURDES D   ADDRESS ON FILE
CRUZ NEGRON, LUIS A      ADDRESS ON FILE
CRUZ NEGRON, MARIA D     ADDRESS ON FILE
CRUZ NEGRON, MARISETTE   ADDRESS ON FILE
CRUZ NEGRON, MARITZA I   ADDRESS ON FILE
CRUZ NEGRON, MIGUEL A    ADDRESS ON FILE
CRUZ NEGRON, MIGUEL A.   ADDRESS ON FILE
CRUZ NEGRON, MILAGROS    ADDRESS ON FILE
CRUZ NEGRON, NANCY       ADDRESS ON FILE
CRUZ NEGRON, NEFTALI     ADDRESS ON FILE
CRUZ NEGRON, NIXSALIS    ADDRESS ON FILE
CRUZ NEGRON, OLGA I      ADDRESS ON FILE
CRUZ NEGRON, RAMON       ADDRESS ON FILE
CRUZ NEGRON, REYNALDO    ADDRESS ON FILE
CRUZ NEGRON, RICARDO     ADDRESS ON FILE
CRUZ NEGRON, SONIA       ADDRESS ON FILE
CRUZ NEGRON, SONIA       ADDRESS ON FILE
CRUZ NEGRON, VICTOR      ADDRESS ON FILE
CRUZ NEGRON,ELIZABETH    ADDRESS ON FILE
CRUZ NIEMIEC, RICARDO    ADDRESS ON FILE
CRUZ NIEMIEC, ROSALIA    ADDRESS ON FILE
CRUZ NIEVES RIVERA       ADDRESS ON FILE
CRUZ NIEVES RIVERA       ADDRESS ON FILE
CRUZ NIEVES, ADINES      ADDRESS ON FILE
CRUZ NIEVES, ALAN M      ADDRESS ON FILE
CRUZ NIEVES, ALEXANDER   ADDRESS ON FILE
CRUZ NIEVES, AMARILYS    ADDRESS ON FILE
CRUZ NIEVES, ANGEL       ADDRESS ON FILE
CRUZ NIEVES, ANIBAL      ADDRESS ON FILE
CRUZ NIEVES, ANIBAL J    ADDRESS ON FILE
CRUZ NIEVES, ANTHONY     ADDRESS ON FILE
Cruz Nieves, Baudilio    ADDRESS ON FILE
CRUZ NIEVES, CARMEN I    ADDRESS ON FILE
CRUZ NIEVES, CARMEN J.   ADDRESS ON FILE
CRUZ NIEVES, CARMEN L    ADDRESS ON FILE
CRUZ NIEVES, DELIA       ADDRESS ON FILE
CRUZ NIEVES, DELIA I.    ADDRESS ON FILE
CRUZ NIEVES, EDWIN       ADDRESS ON FILE
CRUZ NIEVES, EDWIN A     ADDRESS ON FILE
CRUZ NIEVES, ENID        ADDRESS ON FILE
CRUZ NIEVES, ENRIQUE     ADDRESS ON FILE
CRUZ NIEVES, ENRIQUE     ADDRESS ON FILE
CRUZ NIEVES, ERNESTO     ADDRESS ON FILE
CRUZ NIEVES, EUNICE      ADDRESS ON FILE
CRUZ NIEVES, FERMIN      ADDRESS ON FILE
CRUZ NIEVES, HECTOR      ADDRESS ON FILE
CRUZ NIEVES, HILDA       ADDRESS ON FILE
CRUZ NIEVES, IRIS Y      ADDRESS ON FILE
CRUZ NIEVES, IVAN        ADDRESS ON FILE
CRUZ NIEVES, IVELISSE    ADDRESS ON FILE
CRUZ NIEVES, IZMARY      ADDRESS ON FILE
CRUZ NIEVES, JESUS       ADDRESS ON FILE
CRUZ NIEVES, JORANNIE    ADDRESS ON FILE
CRUZ NIEVES, JUANA       ADDRESS ON FILE
CRUZ NIEVES, JUANITA     ADDRESS ON FILE
CRUZ NIEVES, LIDUVINA    ADDRESS ON FILE
CRUZ NIEVES, LISANDRA    ADDRESS ON FILE




                                                                     Page 1963 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1964 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Nieves, Lisandra Liz   ADDRESS ON FILE
CRUZ NIEVES, LUIS           ADDRESS ON FILE
CRUZ NIEVES, LUIS           ADDRESS ON FILE
CRUZ NIEVES, LUZ B          ADDRESS ON FILE
CRUZ NIEVES, MARIA I        ADDRESS ON FILE
CRUZ NIEVES, MARIBELLA      ADDRESS ON FILE
CRUZ NIEVES, MARILYN        ADDRESS ON FILE
Cruz Nieves, Marisol        ADDRESS ON FILE
Cruz Nieves, Martin O.      ADDRESS ON FILE
CRUZ NIEVES, MOISES         ADDRESS ON FILE
Cruz Nieves, Neldys G       ADDRESS ON FILE
CRUZ NIEVES, PABLO          ADDRESS ON FILE
CRUZ NIEVES, REBECA         ADDRESS ON FILE
CRUZ NIEVES, REYNALDO       ADDRESS ON FILE
CRUZ NIEVES, RICARDO        ADDRESS ON FILE
CRUZ NIEVES, ROMALIA        ADDRESS ON FILE
CRUZ NIEVES, ROSA E         ADDRESS ON FILE
CRUZ NIEVES, SANDRA         ADDRESS ON FILE
CRUZ NIEVES, SONIA          ADDRESS ON FILE
CRUZ NIEVES, TALIA          ADDRESS ON FILE
CRUZ NIEVES, WILLIAM        ADDRESS ON FILE
CRUZ NIEVES, YANITZA        ADDRESS ON FILE
CRUZ NIEVES, ZULEYKA        ADDRESS ON FILE
CRUZ NIEVES,ERNESTO         ADDRESS ON FILE
CRUZ NIGAGLIONI, ALEX       ADDRESS ON FILE
CRUZ NOEL, JOSE A.          ADDRESS ON FILE
CRUZ NOGUE, KARMARY         ADDRESS ON FILE
CRUZ NOLASCO, ANGEL         ADDRESS ON FILE
CRUZ NOLLA, ISABEL          ADDRESS ON FILE
CRUZ NUNEZ, AMARILYS        ADDRESS ON FILE
CRUZ NUNEZ, BARBARA E       ADDRESS ON FILE
CRUZ NUNEZ, FREDERICK       ADDRESS ON FILE
CRUZ NUNEZ, GLORIA          ADDRESS ON FILE
CRUZ NUNEZ, JUAN R          ADDRESS ON FILE
CRUZ NUNEZ, KESIA           ADDRESS ON FILE
CRUZ NUNEZ, LUIS            ADDRESS ON FILE
Cruz Nunez, Luis A          ADDRESS ON FILE
CRUZ NUNEZ, MANUEL          ADDRESS ON FILE
CRUZ NUNEZ, MARIO           ADDRESS ON FILE
CRUZ NUNEZ, NORA L          ADDRESS ON FILE
CRUZ NUNEZ, NYDIA L         ADDRESS ON FILE
Cruz Nunez, Rene            ADDRESS ON FILE
CRUZ NUNEZ, RENE            ADDRESS ON FILE
CRUZ NUNEZ, VILLIN          ADDRESS ON FILE
CRUZ OCASIO, ANGEL          ADDRESS ON FILE
CRUZ OCASIO, ARMANDO        ADDRESS ON FILE
CRUZ OCASIO, DESIREE        ADDRESS ON FILE
CRUZ OCASIO, FERNANDO       ADDRESS ON FILE
Cruz Ocasio, Frankie        ADDRESS ON FILE
CRUZ OCASIO, FRANKIE        ADDRESS ON FILE
CRUZ OCASIO, FRED           ADDRESS ON FILE
CRUZ OCASIO, FRED           ADDRESS ON FILE
CRUZ OCASIO, GLORIAN        ADDRESS ON FILE
CRUZ OCASIO, IVELISSE       ADDRESS ON FILE
CRUZ OCASIO, IVELISSE       ADDRESS ON FILE
Cruz Ocasio, Juan A         ADDRESS ON FILE
CRUZ OCASIO, LUCAS S        ADDRESS ON FILE
CRUZ OCASIO, MARIA J        ADDRESS ON FILE
Cruz Ocasio, Maritza        ADDRESS ON FILE
CRUZ OCASIO, YAMIL          ADDRESS ON FILE




                                                                        Page 1964 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1965 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ OCASIO, YAMIL A.          ADDRESS ON FILE
CRUZ OJEDA, ANIBAL             ADDRESS ON FILE
CRUZ OJEDA, CHRISTOPHER        ADDRESS ON FILE
CRUZ OJEDA, VICENTE            ADDRESS ON FILE
CRUZ OLAN, LORRAINE            ADDRESS ON FILE
CRUZ OLAN, NELLIE I            ADDRESS ON FILE
CRUZ OLAVARRIA, NERICHNA A     ADDRESS ON FILE
CRUZ OLAVARRIA, RAFAEL         ADDRESS ON FILE
CRUZ OLGUIN, JAEL              ADDRESS ON FILE
CRUZ OLIVARES, LUIS            ADDRESS ON FILE
CRUZ OLIVENCIA, DANIEL         ADDRESS ON FILE
CRUZ OLIVENCIA, JOEL G         ADDRESS ON FILE
CRUZ OLIVENCIA, MARIA DEL      ADDRESS ON FILE
CRUZ OLIVER, ANA               ADDRESS ON FILE
CRUZ OLIVER, ANA M             ADDRESS ON FILE
CRUZ OLIVER, ANTONIO           ADDRESS ON FILE
CRUZ OLIVER, NILMARI           ADDRESS ON FILE
CRUZ OLIVER, SANDRA            ADDRESS ON FILE
CRUZ OLIVER, SANDRA I          ADDRESS ON FILE
CRUZ OLIVERA, ANGELA           ADDRESS ON FILE
CRUZ OLIVERA, EDUARDO          ADDRESS ON FILE
CRUZ OLIVERA, EMANUEL          ADDRESS ON FILE
CRUZ OLIVERAS, ARAMITA         ADDRESS ON FILE
CRUZ OLIVERAS, BRENDA L        ADDRESS ON FILE
CRUZ OLIVERAS, JOEL            ADDRESS ON FILE
CRUZ OLIVERAS, KELITZA         ADDRESS ON FILE
Cruz Oliveras, Maria Del C     ADDRESS ON FILE
CRUZ OLIVERAS, NEREIDA         ADDRESS ON FILE
CRUZ OLIVERAS, SANDRA I        ADDRESS ON FILE
CRUZ OLIVERAS, SONIA I         ADDRESS ON FILE
CRUZ OLIVERAS, YAMIL ANTONIO   ADDRESS ON FILE
CRUZ OLIVERAS, YARITZA         ADDRESS ON FILE
CRUZ OLIVERAS, YARITZA E.      ADDRESS ON FILE
CRUZ OLIVERI, ERIKA            ADDRESS ON FILE
CRUZ OLIVERO, ANGEL            ADDRESS ON FILE
CRUZ OLIVERO, DAISY M.         ADDRESS ON FILE
CRUZ OLIVIER, ERIKA            ADDRESS ON FILE
CRUZ OLIVO, ERIKA I            ADDRESS ON FILE
CRUZ OLIVO, RUBI Y             ADDRESS ON FILE
Cruz Olivo, Victor M           ADDRESS ON FILE
Cruz Olivo, Yamira             ADDRESS ON FILE
CRUZ OLIVO, YAMIRA             ADDRESS ON FILE
CRUZ OLIVO, YESENIA            ADDRESS ON FILE
CRUZ OLMEDA, CARLOS            ADDRESS ON FILE
CRUZ OLMO, ANGEL               ADDRESS ON FILE
CRUZ OLMO, ASHELY              ADDRESS ON FILE
CRUZ OLMO, DANIEL              ADDRESS ON FILE
CRUZ OLMO, EDUARDO             ADDRESS ON FILE
CRUZ OLMO, EMANNUEL            ADDRESS ON FILE
CRUZ OLMO, GLORIA M            ADDRESS ON FILE
CRUZ OLMO, KESHIA              ADDRESS ON FILE
CRUZ OLMO, ROBERTO             ADDRESS ON FILE
CRUZ OLMO, ROTCIV              ADDRESS ON FILE
CRUZ OMS, AWILDA               ADDRESS ON FILE
CRUZ OMS, MARIA E              ADDRESS ON FILE
CRUZ OQUENDO RIVERA            ADDRESS ON FILE
CRUZ OQUENDO, ABEL             ADDRESS ON FILE
CRUZ OQUENDO, AIDA L           ADDRESS ON FILE
CRUZ OQUENDO, ANA J            ADDRESS ON FILE
CRUZ OQUENDO, AWILDA           ADDRESS ON FILE




                                                                           Page 1965 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1966 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ OQUENDO, CARLOS      ADDRESS ON FILE
CRUZ OQUENDO, KEVIN       ADDRESS ON FILE
CRUZ OQUENDO, LOURIEL     ADDRESS ON FILE
Cruz Oquendo, Luis A      ADDRESS ON FILE
CRUZ OQUENDO, MIRIAM      ADDRESS ON FILE
CRUZ OQUENDO, WILLIAM     ADDRESS ON FILE
CRUZ ORELLANA, LUIS       ADDRESS ON FILE
CRUZ ORELLANA, MARIA      ADDRESS ON FILE
CRUZ ORELLANA, MARIA M    ADDRESS ON FILE
CRUZ ORELLANA, VICTOR M   ADDRESS ON FILE
CRUZ ORENGO, ELBA I       ADDRESS ON FILE
CRUZ ORTA, JORGE          ADDRESS ON FILE
CRUZ ORTEGA, ADAMARIS     ADDRESS ON FILE
CRUZ ORTEGA, BRENDA       ADDRESS ON FILE
CRUZ ORTEGA, EDWIN        ADDRESS ON FILE
CRUZ ORTEGA, MADELINE     ADDRESS ON FILE
CRUZ ORTEGA, YOLANDA      ADDRESS ON FILE
CRUZ ORTIZ LOPEZ          ADDRESS ON FILE
CRUZ ORTIZ, AIDA          ADDRESS ON FILE
CRUZ ORTIZ, AIDA IVETTE   ADDRESS ON FILE
CRUZ ORTIZ, ALEJA         ADDRESS ON FILE
CRUZ ORTIZ, ALICIA        ADDRESS ON FILE
CRUZ ORTIZ, AMARILIS      ADDRESS ON FILE
CRUZ ORTIZ, AMARYLIS      ADDRESS ON FILE
CRUZ ORTIZ, ANA B         ADDRESS ON FILE
CRUZ ORTIZ, ANA D         ADDRESS ON FILE
CRUZ ORTIZ, ANABELLE      ADDRESS ON FILE
CRUZ ORTIZ, ANGEL         ADDRESS ON FILE
CRUZ ORTIZ, ANGEL R       ADDRESS ON FILE
Cruz Ortiz, Antonio       ADDRESS ON FILE
CRUZ ORTIZ, ARACELIS      ADDRESS ON FILE
CRUZ ORTIZ, ARNALDO       ADDRESS ON FILE
CRUZ ORTIZ, ARNALDO       ADDRESS ON FILE
CRUZ ORTIZ, AWILDA        ADDRESS ON FILE
CRUZ ORTIZ, AWILDA        ADDRESS ON FILE
CRUZ ORTIZ, BETTY         ADDRESS ON FILE
CRUZ ORTIZ, BLANCA        ADDRESS ON FILE
CRUZ ORTIZ, CANDELARIO    ADDRESS ON FILE
CRUZ ORTIZ, CARLOS        ADDRESS ON FILE
CRUZ ORTIZ, CARLOS        ADDRESS ON FILE
CRUZ ORTIZ, CARLOS H      ADDRESS ON FILE
CRUZ ORTIZ, CARLOS M      ADDRESS ON FILE
CRUZ ORTIZ, CARMEN        ADDRESS ON FILE
CRUZ ORTIZ, CARMEN D      ADDRESS ON FILE
CRUZ ORTIZ, CAROLYNE      ADDRESS ON FILE
CRUZ ORTIZ, CEFFIE        ADDRESS ON FILE
CRUZ ORTIZ, CHRISTOPHER   ADDRESS ON FILE
CRUZ ORTIZ, CHRISTOPHER   ADDRESS ON FILE
CRUZ ORTIZ, CRUCITA       ADDRESS ON FILE
CRUZ ORTIZ, CYNTHIA       ADDRESS ON FILE
CRUZ ORTIZ, D ALMA        ADDRESS ON FILE
Cruz Ortiz, Damian        ADDRESS ON FILE
CRUZ ORTIZ, DANIEL        ADDRESS ON FILE
CRUZ ORTIZ, ELISA         ADDRESS ON FILE
CRUZ ORTIZ, ELIZABETH     ADDRESS ON FILE
CRUZ ORTIZ, ELIZABETH     ADDRESS ON FILE
CRUZ ORTIZ, ELSIE I       ADDRESS ON FILE
CRUZ ORTIZ, ELVIRA        ADDRESS ON FILE
CRUZ ORTIZ, EMILIO        ADDRESS ON FILE
CRUZ ORTIZ, EMMA          ADDRESS ON FILE




                                                                      Page 1966 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1967 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ORTIZ, ENRIQUE        ADDRESS ON FILE
CRUZ ORTIZ, ERNESTO        ADDRESS ON FILE
CRUZ ORTIZ, ESMERALDA      ADDRESS ON FILE
CRUZ ORTIZ, ESTHER         ADDRESS ON FILE
CRUZ ORTIZ, EUNICE         ADDRESS ON FILE
CRUZ ORTIZ, EUSEBIO        ADDRESS ON FILE
CRUZ ORTIZ, EVA            ADDRESS ON FILE
CRUZ ORTIZ, EVANGELINA     ADDRESS ON FILE
CRUZ ORTIZ, FELIX          ADDRESS ON FILE
CRUZ ORTIZ, FELIX          ADDRESS ON FILE
CRUZ ORTIZ, FERNANDO       ADDRESS ON FILE
CRUZ ORTIZ, FRANCHESCA     ADDRESS ON FILE
CRUZ ORTIZ, FRANCISCO      ADDRESS ON FILE
CRUZ ORTIZ, FRANCISCO      ADDRESS ON FILE
CRUZ ORTIZ, FREDDY O       ADDRESS ON FILE
CRUZ ORTIZ, FROILAN        ADDRESS ON FILE
CRUZ ORTIZ, GILDA I        ADDRESS ON FILE
CRUZ ORTIZ, GISELA         ADDRESS ON FILE
CRUZ ORTIZ, GLORIA E       ADDRESS ON FILE
CRUZ ORTIZ, HECTOR         ADDRESS ON FILE
CRUZ ORTIZ, HECTOR         ADDRESS ON FILE
CRUZ ORTIZ, HECTOR         ADDRESS ON FILE
Cruz Ortiz, Hector L       ADDRESS ON FILE
CRUZ ORTIZ, HILDA          ADDRESS ON FILE
CRUZ ORTIZ, IDALISSE       ADDRESS ON FILE
CRUZ ORTIZ, IRIS           ADDRESS ON FILE
CRUZ ORTIZ, IRIS           ADDRESS ON FILE
CRUZ ORTIZ, IRIS B         ADDRESS ON FILE
CRUZ ORTIZ, IRIS J         ADDRESS ON FILE
Cruz Ortiz, Ivan           ADDRESS ON FILE
CRUZ ORTIZ, JACQUELINE     ADDRESS ON FILE
CRUZ ORTIZ, JADISIE        ADDRESS ON FILE
CRUZ ORTIZ, JANET          ADDRESS ON FILE
CRUZ ORTIZ, JEANNETTE      ADDRESS ON FILE
CRUZ ORTIZ, JEFFREY        ADDRESS ON FILE
CRUZ ORTIZ, JEIMILEE       ADDRESS ON FILE
CRUZ ORTIZ, JENNIFER       ADDRESS ON FILE
CRUZ ORTIZ, JENNIFER       ADDRESS ON FILE
CRUZ ORTIZ, JESSICA        ADDRESS ON FILE
Cruz Ortiz, Jesus          ADDRESS ON FILE
CRUZ ORTIZ, JOCELYN        ADDRESS ON FILE
CRUZ ORTIZ, JOSE           ADDRESS ON FILE
CRUZ ORTIZ, JOSE           ADDRESS ON FILE
CRUZ ORTIZ, JOSE           ADDRESS ON FILE
CRUZ ORTIZ, JOSE A         ADDRESS ON FILE
CRUZ ORTIZ, JOSE A         ADDRESS ON FILE
CRUZ ORTIZ, JOSE A.        ADDRESS ON FILE
CRUZ ORTIZ, JOSE ALBERTO   ADDRESS ON FILE
Cruz Ortiz, Josue          ADDRESS ON FILE
CRUZ ORTIZ, JUAN           ADDRESS ON FILE
CRUZ ORTIZ, JUAN           ADDRESS ON FILE
CRUZ ORTIZ, JUAN           ADDRESS ON FILE
CRUZ ORTIZ, JUANA M        ADDRESS ON FILE
CRUZ ORTIZ, KAROLINE       ADDRESS ON FILE
CRUZ ORTIZ, LARISSA        ADDRESS ON FILE
CRUZ ORTIZ, LAURA          ADDRESS ON FILE
CRUZ ORTIZ, LAURENLEE      ADDRESS ON FILE
Cruz Ortiz, Leonardo       ADDRESS ON FILE
CRUZ ORTIZ, LINA M         ADDRESS ON FILE
CRUZ ORTIZ, LIZAIDA        ADDRESS ON FILE




                                                                       Page 1967 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1968 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ORTIZ, LOURDES M.     ADDRESS ON FILE
CRUZ ORTIZ, LUIS           ADDRESS ON FILE
CRUZ ORTIZ, LUIS           ADDRESS ON FILE
CRUZ ORTIZ, LUIS A         ADDRESS ON FILE
CRUZ ORTIZ, MANOEL         ADDRESS ON FILE
CRUZ ORTIZ, MANUEL DE J    ADDRESS ON FILE
CRUZ ORTIZ, MARCIALA       ADDRESS ON FILE
CRUZ ORTIZ, MARGARITA      ADDRESS ON FILE
CRUZ ORTIZ, MARIA I.       ADDRESS ON FILE
CRUZ ORTIZ, MARIA M        ADDRESS ON FILE
Cruz Ortiz, Maria V        ADDRESS ON FILE
CRUZ ORTIZ, MARIANO        ADDRESS ON FILE
CRUZ ORTIZ, MARIELY        ADDRESS ON FILE
CRUZ ORTIZ, MARILYN        ADDRESS ON FILE
CRUZ ORTIZ, MARISELY       ADDRESS ON FILE
CRUZ ORTIZ, MARISELY       ADDRESS ON FILE
CRUZ ORTIZ, MARITZA        ADDRESS ON FILE
CRUZ ORTIZ, MARITZA        ADDRESS ON FILE
CRUZ ORTIZ, MIGUEL         ADDRESS ON FILE
Cruz Ortiz, Miguel Angel   ADDRESS ON FILE
CRUZ ORTIZ, MILAGROS       ADDRESS ON FILE
CRUZ ORTIZ, MILAGROS M     ADDRESS ON FILE
CRUZ ORTIZ, MIRNA I        ADDRESS ON FILE
CRUZ ORTIZ, MYRIAM         ADDRESS ON FILE
Cruz Ortiz, Nancy I        ADDRESS ON FILE
CRUZ ORTIZ, NANCY M        ADDRESS ON FILE
CRUZ ORTIZ, NEIDA          ADDRESS ON FILE
CRUZ ORTIZ, NELBA D        ADDRESS ON FILE
CRUZ ORTIZ, NELIDA         ADDRESS ON FILE
CRUZ ORTIZ, NELLYANN       ADDRESS ON FILE
CRUZ ORTIZ, NILSA E        ADDRESS ON FILE
CRUZ ORTIZ, NOEL ANGEL     ADDRESS ON FILE
CRUZ ORTIZ, NOELIA         ADDRESS ON FILE
CRUZ ORTIZ, NORBERTO E     ADDRESS ON FILE
CRUZ ORTIZ, NORIELA        ADDRESS ON FILE
CRUZ ORTIZ, OMAYRA         ADDRESS ON FILE
CRUZ ORTIZ, OMAYRA         ADDRESS ON FILE
CRUZ ORTIZ, OMAYRA         ADDRESS ON FILE
CRUZ ORTIZ, OMAYRA         ADDRESS ON FILE
CRUZ ORTIZ, PABLO          ADDRESS ON FILE
CRUZ ORTIZ, PATRICIA       ADDRESS ON FILE
CRUZ ORTIZ, PEDRO G.       ADDRESS ON FILE
Cruz Ortiz, Rafael         ADDRESS ON FILE
CRUZ ORTIZ, RAMON          ADDRESS ON FILE
CRUZ ORTIZ, RAMON          ADDRESS ON FILE
CRUZ ORTIZ, REBECCA        ADDRESS ON FILE
CRUZ ORTIZ, RICARDO J      ADDRESS ON FILE
CRUZ ORTIZ, RICHARD        ADDRESS ON FILE
CRUZ ORTIZ, ROBERTO        ADDRESS ON FILE
CRUZ ORTIZ, ROBERTO        ADDRESS ON FILE
Cruz Ortiz, Roberto L      ADDRESS ON FILE
CRUZ ORTIZ, RUTH           ADDRESS ON FILE
CRUZ ORTIZ, SAMUEL         ADDRESS ON FILE
CRUZ ORTIZ, SAUL A         ADDRESS ON FILE
CRUZ ORTIZ, SECUNDINO      ADDRESS ON FILE
CRUZ ORTIZ, SHEILA         ADDRESS ON FILE
CRUZ ORTIZ, SHIRLEY        ADDRESS ON FILE
CRUZ ORTIZ, SOAN G.        ADDRESS ON FILE
CRUZ ORTIZ, SONIA          ADDRESS ON FILE
CRUZ ORTIZ, SONIA I        ADDRESS ON FILE




                                                                       Page 1968 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1969 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ORTIZ, TERESA              ADDRESS ON FILE
CRUZ ORTIZ, TERESA              ADDRESS ON FILE
CRUZ ORTIZ, TERESA              ADDRESS ON FILE
Cruz Ortiz, Tomas               ADDRESS ON FILE
CRUZ ORTIZ, TOMAS               ADDRESS ON FILE
CRUZ ORTIZ, TOMAS               ADDRESS ON FILE
CRUZ ORTIZ, VICTOR              ADDRESS ON FILE
CRUZ ORTIZ, VICTOR              ADDRESS ON FILE
CRUZ ORTIZ, VICTOR              ADDRESS ON FILE
CRUZ ORTIZ, VICTOR              ADDRESS ON FILE
CRUZ ORTIZ, VICTOR E            ADDRESS ON FILE
CRUZ ORTIZ, VILMA               ADDRESS ON FILE
CRUZ ORTIZ, VILMA L             ADDRESS ON FILE
CRUZ ORTIZ, WANDA               ADDRESS ON FILE
CRUZ ORTIZ, WANDA I             ADDRESS ON FILE
CRUZ ORTIZ, XIOMARA             ADDRESS ON FILE
CRUZ ORTIZ, YADIRA              ADDRESS ON FILE
Cruz Ortiz, Yahaira Y.          ADDRESS ON FILE
CRUZ ORTIZ, YAMIL               ADDRESS ON FILE
CRUZ ORTIZ, YAMIRA M            ADDRESS ON FILE
CRUZ ORTIZ, ZULEMA              ADDRESS ON FILE
CRUZ ORTIZ,ADRIANA              ADDRESS ON FILE
CRUZ ORTIZ,EVELYN J.            ADDRESS ON FILE
CRUZ ORTIZ,MICHAEL              ADDRESS ON FILE
CRUZ ORTIZ,ZOELYS               ADDRESS ON FILE
CRUZ OSORIO, AMARILYS           ADDRESS ON FILE
CRUZ OSORIO, AMPARO             ADDRESS ON FILE
CRUZ OSORIO, CARMEN N           ADDRESS ON FILE
CRUZ OSORIO, EDDIE              ADDRESS ON FILE
CRUZ OSORIO, LEONIDA            ADDRESS ON FILE
CRUZ OSORIO, MARIA DE LOURDES   ADDRESS ON FILE
CRUZ OSORIO, VILNA L            ADDRESS ON FILE
CRUZ OTERO, BRENDA LIZ          ADDRESS ON FILE
CRUZ OTERO, DAISSY              ADDRESS ON FILE
CRUZ OTERO, DOMINGO             ADDRESS ON FILE
CRUZ OTERO, EDNA                ADDRESS ON FILE
CRUZ OTERO, EDWIN               ADDRESS ON FILE
CRUZ OTERO, EMILIO              ADDRESS ON FILE
CRUZ OTERO, FARUDI              ADDRESS ON FILE
CRUZ OTERO, FELICITA            ADDRESS ON FILE
CRUZ OTERO, HAYDEE              ADDRESS ON FILE
CRUZ OTERO, JANZEL E            ADDRESS ON FILE
CRUZ OTERO, JOMAYRA L           ADDRESS ON FILE
CRUZ OTERO, LAURA               ADDRESS ON FILE
CRUZ OTERO, MARIA L             ADDRESS ON FILE
CRUZ OTERO, NORMA I             ADDRESS ON FILE
CRUZ OTERO, ROCHELY             ADDRESS ON FILE
Cruz Otero, Tayronex            ADDRESS ON FILE
CRUZ OYOLA, EILEEN              ADDRESS ON FILE
CRUZ OYOLA, EMMA IRIS           ADDRESS ON FILE
CRUZ OYOLA, EMMA IRIS           ADDRESS ON FILE
CRUZ OYOLA, ERNA                ADDRESS ON FILE
CRUZ OYOLA, JAVIER F            ADDRESS ON FILE
CRUZ OYOLA, JOSEFA              ADDRESS ON FILE
CRUZ OYOLA, MAGALY              ADDRESS ON FILE
CRUZ OYOLA,PEDRO J.             ADDRESS ON FILE
CRUZ PABON, ANGEL L             ADDRESS ON FILE
CRUZ PABON, CARMEN L            ADDRESS ON FILE
CRUZ PABON, DEBORAH             ADDRESS ON FILE
CRUZ PABON, IVELISSE            ADDRESS ON FILE




                                                                            Page 1969 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1970 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ PABON, JOSE                ADDRESS ON FILE
CRUZ PABON, JOSE A.             ADDRESS ON FILE
CRUZ PABON, JUDITH              ADDRESS ON FILE
CRUZ PABON, LILA                ADDRESS ON FILE
CRUZ PABON, NILDA               ADDRESS ON FILE
CRUZ PABON, OLGA                ADDRESS ON FILE
CRUZ PABON, PROSPERO            ADDRESS ON FILE
CRUZ PACHECO, ANGEL             ADDRESS ON FILE
CRUZ PACHECO, CARLOS            ADDRESS ON FILE
CRUZ PACHECO, FABIOLA           ADDRESS ON FILE
CRUZ PACHECO, FRANCES F.        ADDRESS ON FILE
CRUZ PACHECO, JOVAN             ADDRESS ON FILE
CRUZ PACHECO, LESLIE V          ADDRESS ON FILE
CRUZ PACHECO, MARIA Z           ADDRESS ON FILE
CRUZ PACHECO, MIRTA             ADDRESS ON FILE
CRUZ PACHECO, NESTOR            ADDRESS ON FILE
CRUZ PACHECO, OLGA              ADDRESS ON FILE
Cruz Pacheco, Rafael            ADDRESS ON FILE
CRUZ PACHECO, RAFAEL            ADDRESS ON FILE
Cruz Pacheco, Samuel            ADDRESS ON FILE
CRUZ PACHECO, SAMUEL            ADDRESS ON FILE
CRUZ PACHECO, WANDA I           ADDRESS ON FILE
CRUZ PACHECO, WILLIAM           ADDRESS ON FILE
CRUZ PACHECO,RICHARD A.         ADDRESS ON FILE
CRUZ PADILLA, BRUNILDA          ADDRESS ON FILE
CRUZ PADILLA, ELIZABETH         ADDRESS ON FILE
CRUZ PADILLA, EUGENIO           ADDRESS ON FILE
CRUZ PADILLA, GILBERTO          ADDRESS ON FILE
CRUZ PADILLA, GISELL            ADDRESS ON FILE
CRUZ PADILLA, GLENDALLY         ADDRESS ON FILE
CRUZ PADILLA, HECTOR            ADDRESS ON FILE
CRUZ PADILLA, JOSE              ADDRESS ON FILE
CRUZ PADILLA, JOSEFINA          ADDRESS ON FILE
CRUZ PADILLA, MANUEL DE LOS A   ADDRESS ON FILE
CRUZ PADILLA, MARIA DEL A       ADDRESS ON FILE
CRUZ PADILLA, OMAR              ADDRESS ON FILE
CRUZ PADILLA, RAFAEL            ADDRESS ON FILE
CRUZ PADILLA, RAFAELA           ADDRESS ON FILE
CRUZ PADILLA, YOLYMAR           ADDRESS ON FILE
CRUZ PADIN, LUIS A.             ADDRESS ON FILE
CRUZ PADUA, CHARLIE             ADDRESS ON FILE
CRUZ PADUA, MARIBEL             ADDRESS ON FILE
CRUZ PAGAN MD, MARCELLE E       ADDRESS ON FILE
CRUZ PAGAN, BRIAN O.            ADDRESS ON FILE
CRUZ PAGAN, CARMEN              ADDRESS ON FILE
CRUZ PAGAN, CARMEN M            ADDRESS ON FILE
CRUZ PAGAN, CAROL D.            ADDRESS ON FILE
Cruz Pagan, David               ADDRESS ON FILE
CRUZ PAGAN, EDNA                ADDRESS ON FILE
CRUZ PAGAN, EFRAIN              ADDRESS ON FILE
Cruz Pagan, Eliezer             ADDRESS ON FILE
CRUZ PAGAN, ELIZABETH           ADDRESS ON FILE
CRUZ PAGAN, ELIZABETH           ADDRESS ON FILE
CRUZ PAGAN, ELIZABETH           ADDRESS ON FILE
CRUZ PAGAN, EMELDA              ADDRESS ON FILE
CRUZ PAGAN, ERIC                ADDRESS ON FILE
CRUZ PAGAN, EVELYN M            ADDRESS ON FILE
CRUZ PAGAN, GILBERTO            ADDRESS ON FILE
CRUZ PAGAN, GLORIA E            ADDRESS ON FILE
CRUZ PAGAN, HERIBERTO           ADDRESS ON FILE




                                                                            Page 1970 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1971 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Pagan, Heriberto       ADDRESS ON FILE
CRUZ PAGAN, IRAIDA          ADDRESS ON FILE
CRUZ PAGAN, IRIS Y.         ADDRESS ON FILE
CRUZ PAGAN, JENNYMAR        ADDRESS ON FILE
CRUZ PAGAN, JUAN            ADDRESS ON FILE
CRUZ PAGAN, JUAN A.         ADDRESS ON FILE
CRUZ PAGAN, JUAN A.         ADDRESS ON FILE
CRUZ PAGAN, JUAN C          ADDRESS ON FILE
CRUZ PAGAN, LEELANY         ADDRESS ON FILE
CRUZ PAGAN, LIZ             ADDRESS ON FILE
CRUZ PAGAN, LIZ I           ADDRESS ON FILE
CRUZ PAGAN, LUIS            ADDRESS ON FILE
CRUZ PAGAN, MARCIAL         ADDRESS ON FILE
CRUZ PAGAN, MARGARITA       ADDRESS ON FILE
CRUZ PAGAN, MARIA E         ADDRESS ON FILE
CRUZ PAGAN, MARILYN         ADDRESS ON FILE
CRUZ PAGAN, MARTA           ADDRESS ON FILE
CRUZ PAGAN, MIGUEL          ADDRESS ON FILE
Cruz Pagan, Miguel Angel    ADDRESS ON FILE
CRUZ PAGAN, MILDRED         ADDRESS ON FILE
CRUZ PAGAN, MILDRED E       ADDRESS ON FILE
CRUZ PAGAN, PEDRO           ADDRESS ON FILE
CRUZ PAGAN, ROSA            ADDRESS ON FILE
CRUZ PAGAN, RUTH            ADDRESS ON FILE
CRUZ PAGAN, SHARON          ADDRESS ON FILE
Cruz Pagan, Vidmarie        ADDRESS ON FILE
CRUZ PAGAN, VILMARYS        ADDRESS ON FILE
CRUZ PAGAN, ZITA            ADDRESS ON FILE
CRUZ PALACIOS, ISORA        ADDRESS ON FILE
Cruz Palmer, Melvin J       ADDRESS ON FILE
CRUZ PALOMO MD, GUILLERMO   ADDRESS ON FILE
CRUZ PANTOJA, SARAI         ADDRESS ON FILE
CRUZ PANTOJA, VIRGINIA      ADDRESS ON FILE
CRUZ PANTOJAAS, OSMAL       ADDRESS ON FILE
CRUZ PANTOJAS, RAMON        ADDRESS ON FILE
CRUZ PARDO, YUNILKA         ADDRESS ON FILE
CRUZ PAREDES, PABLO         ADDRESS ON FILE
CRUZ PARILLA, MARIANELA     ADDRESS ON FILE
CRUZ PARRA, ENYER           ADDRESS ON FILE
CRUZ PARRILLA, ROSA BELEN   ADDRESS ON FILE
CRUZ PASTORIZA, LUCRECIA    ADDRESS ON FILE
CRUZ PASTRANA, EDWIN        ADDRESS ON FILE
CRUZ PASTRANA, ROSA         ADDRESS ON FILE
CRUZ PASTRANA, VICTOR       ADDRESS ON FILE
CRUZ PASTRANA, XIOMARA      ADDRESS ON FILE
CRUZ PASTRANA, XIOMARA      ADDRESS ON FILE
CRUZ PASTRANA, XIOMARA I.   ADDRESS ON FILE
CRUZ PATO, LUIS A.          ADDRESS ON FILE
CRUZ PAULINO, RUTH E        ADDRESS ON FILE
CRUZ PEDRAZA, CARMEN        ADDRESS ON FILE
CRUZ PEDRAZA, GILBERTO      ADDRESS ON FILE
CRUZ PEDRAZA, MARIA         ADDRESS ON FILE
CRUZ PEDRERO, ENMANUEL      ADDRESS ON FILE
CRUZ PEDRERO, ENMANUEL      ADDRESS ON FILE
CRUZ PEDRERO, JESUS         ADDRESS ON FILE
CRUZ PEDRERO, JESUS         ADDRESS ON FILE
CRUZ PELLOT, CARMEN G.      ADDRESS ON FILE
CRUZ PELLOT, DERENISSE      ADDRESS ON FILE
CRUZ PENA, ANGEL G.         ADDRESS ON FILE
CRUZ PENA, JESSICA E        ADDRESS ON FILE




                                                                        Page 1971 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1972 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Pena, Julio E             ADDRESS ON FILE
CRUZ PENA, LISBEL              ADDRESS ON FILE
CRUZ PENA, LUIS                ADDRESS ON FILE
Cruz Pena, Luis R.             ADDRESS ON FILE
CRUZ PENA, NADGIE E.           ADDRESS ON FILE
CRUZ PENA, NIVEA LIZ           ADDRESS ON FILE
CRUZ PENA, OLGA T              ADDRESS ON FILE
CRUZ PENA, SANTOS              ADDRESS ON FILE
CRUZ PENALOZA, FRANCISCA       ADDRESS ON FILE
CRUZ PERALES, JUANA            ADDRESS ON FILE
CRUZ PERALES, MELANIE          ADDRESS ON FILE
CRUZ PERALTA, ARTURO           ADDRESS ON FILE
Cruz Peraza, Damaris           ADDRESS ON FILE
CRUZ PEREA, ELVA H.            ADDRESS ON FILE
CRUZ PEREA, ELVA H.            ADDRESS ON FILE
CRUZ PEREA, JORGE              ADDRESS ON FILE
CRUZ PEREIRA, INEABEL          ADDRESS ON FILE
CRUZ PEREZ & ASOCIADOS L L C   PO BOX 10720                                                                     PONCE        PR      00732
CRUZ PEREZ DE CRUZ             ADDRESS ON FILE
CRUZ PEREZ FIGUEROA            ADDRESS ON FILE
CRUZ PEREZ MD, HILDA           ADDRESS ON FILE
CRUZ PEREZ, ABNER              ADDRESS ON FILE
CRUZ PEREZ, AIXA L             ADDRESS ON FILE
CRUZ PEREZ, ALEJANDRO          ADDRESS ON FILE
CRUZ PEREZ, ALEX               ADDRESS ON FILE
CRUZ PEREZ, ANA I              ADDRESS ON FILE
CRUZ PEREZ, ANA L              ADDRESS ON FILE
CRUZ PEREZ, ANDRES             ADDRESS ON FILE
CRUZ PEREZ, ANGEL              ADDRESS ON FILE
CRUZ PEREZ, ANGEL              ADDRESS ON FILE
CRUZ PEREZ, ANGEL L.           ADDRESS ON FILE
CRUZ PEREZ, ANGEL LUIS         ADDRESS ON FILE
CRUZ PEREZ, ANGELA             ADDRESS ON FILE
CRUZ PEREZ, ANIVAL             ADDRESS ON FILE
CRUZ PEREZ, ANTONIO            ADDRESS ON FILE
CRUZ PEREZ, ARLEEN G.          ADDRESS ON FILE
CRUZ PEREZ, AWILDA             ADDRESS ON FILE
CRUZ PEREZ, AXEL               ADDRESS ON FILE
CRUZ PEREZ, BELEN M            ADDRESS ON FILE
CRUZ PEREZ, BETZAIDA           ADDRESS ON FILE
CRUZ PEREZ, CARLOS             ADDRESS ON FILE
CRUZ PEREZ, CARLOS             ADDRESS ON FILE
CRUZ PEREZ, CARLOS J           ADDRESS ON FILE
CRUZ PEREZ, CARMEN             ADDRESS ON FILE
CRUZ PEREZ, CARMEN I           ADDRESS ON FILE
CRUZ PEREZ, CARMEN J           ADDRESS ON FILE
CRUZ PEREZ, CRISTAL S          ADDRESS ON FILE
CRUZ PEREZ, DAMARIS            ADDRESS ON FILE
CRUZ PEREZ, DAMARIS            ADDRESS ON FILE
CRUZ PEREZ, DAVID              ADDRESS ON FILE
CRUZ PEREZ, DAVID              ADDRESS ON FILE
CRUZ PEREZ, DAVID              ADDRESS ON FILE
CRUZ PEREZ, DELMARIE           ADDRESS ON FILE
CRUZ PEREZ, DOLORES            ADDRESS ON FILE
CRUZ PEREZ, EDILBERTO          ADDRESS ON FILE
Cruz Perez, Eduardo            ADDRESS ON FILE
CRUZ PEREZ, EDWIN              ADDRESS ON FILE
CRUZ PEREZ, ELBA I             ADDRESS ON FILE
CRUZ PEREZ, ELESIDA            ADDRESS ON FILE
CRUZ PEREZ, ELIZA              ADDRESS ON FILE




                                                                           Page 1972 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1973 of 3500
                                                                         17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name             Address1                         Address2                                      Address3     Address4   City        State   PostalCode   Country
CRUZ PEREZ, ELIZABETH     ADDRESS ON FILE
CRUZ PEREZ, ELIZABETH     ADDRESS ON FILE
CRUZ PEREZ, ENEIDA        ADDRESS ON FILE
CRUZ PEREZ, ERIKA I.      ADDRESS ON FILE
CRUZ PEREZ, EVELYN        ADDRESS ON FILE
CRUZ PEREZ, EVELYN        ADDRESS ON FILE
CRUZ PEREZ, EVELYN        ADDRESS ON FILE
CRUZ PEREZ, FRANCHESKA    ADDRESS ON FILE
CRUZ PEREZ, FRANCISCA     ADDRESS ON FILE
CRUZ PEREZ, FRANCISCO     ADDRESS ON FILE
CRUZ PEREZ, FRANCISCO     ADDRESS ON FILE
CRUZ PEREZ, FRANCO        ADDRESS ON FILE
CRUZ PEREZ, GILBERTO      ADDRESS ON FILE
CRUZ PEREZ, GLADISA       ADDRESS ON FILE
CRUZ PEREZ, GLADYS        ADDRESS ON FILE
CRUZ PEREZ, GLADYS M      ADDRESS ON FILE
CRUZ PEREZ, GLORIA        ADDRESS ON FILE
CRUZ PEREZ, GYNAIRA L     ADDRESS ON FILE
CRUZ PEREZ, HILDA         ADDRESS ON FILE
CRUZ PÉREZ, HORACIO       LCDA. SIZZETTE NIEVES CAUSSADE   LCDA. SIZZETTE NIEVES CAUSSADE                PO BOX 779              GUAYAMA     PR      00785
CRUZ PEREZ, HUMBERTO      ADDRESS ON FILE
CRUZ PEREZ, IVELISSE      ADDRESS ON FILE
CRUZ PEREZ, JAIME         ADDRESS ON FILE
CRUZ PEREZ, JAIME         ADDRESS ON FILE
CRUZ PEREZ, JAINEZ        ADDRESS ON FILE
CRUZ PEREZ, JAYSON        ADDRESS ON FILE
CRUZ PEREZ, JONATHAN      ADDRESS ON FILE
CRUZ PEREZ, JORGE         ADDRESS ON FILE
CRUZ PEREZ, JORGE L.      ADDRESS ON FILE
CRUZ PEREZ, JOSE          ADDRESS ON FILE
CRUZ PEREZ, JOSE D        ADDRESS ON FILE
CRUZ PEREZ, JOSE N.       ADDRESS ON FILE
CRUZ PEREZ, JOSE V.       ADDRESS ON FILE
CRUZ PEREZ, JUAN          ADDRESS ON FILE
CRUZ PEREZ, JUAN          ADDRESS ON FILE
CRUZ PEREZ, JUAN MANUEL   ADDRESS ON FILE
CRUZ PEREZ, JULIO         ADDRESS ON FILE
CRUZ PEREZ, JULIO C       ADDRESS ON FILE
CRUZ PEREZ, JUSTINA       ADDRESS ON FILE
CRUZ PEREZ, LAURA E       ADDRESS ON FILE
CRUZ PEREZ, LOURDES E     ADDRESS ON FILE
CRUZ PEREZ, LUIS          ADDRESS ON FILE
CRUZ PEREZ, LUIS          ADDRESS ON FILE
CRUZ PEREZ, LUZ           ADDRESS ON FILE
CRUZ PEREZ, MANUEL        ADDRESS ON FILE
CRUZ PEREZ, MANUEL A      ADDRESS ON FILE
CRUZ PEREZ, MARANGELI     ADDRESS ON FILE
CRUZ PEREZ, MARGARITA     ADDRESS ON FILE
CRUZ PEREZ, MARIA DE      ADDRESS ON FILE
CRUZ PEREZ, MARIA L       ADDRESS ON FILE
CRUZ PEREZ, MARIA N       ADDRESS ON FILE
CRUZ PEREZ, MARIA S       ADDRESS ON FILE
CRUZ PEREZ, MARIANELA     ADDRESS ON FILE
CRUZ PEREZ, MARICELA      ADDRESS ON FILE
CRUZ PEREZ, MARILYN       ADDRESS ON FILE
CRUZ PEREZ, MARITZA       ADDRESS ON FILE
CRUZ PEREZ, MARYLIN       ADDRESS ON FILE
CRUZ PEREZ, MAYRA         ADDRESS ON FILE
CRUZ PEREZ, MICHAEL       ADDRESS ON FILE
CRUZ PEREZ, MIREYLIS      ADDRESS ON FILE




                                                                                       Page 1973 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1974 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Perez, Moises           ADDRESS ON FILE
CRUZ PEREZ, NANCY            ADDRESS ON FILE
Cruz Perez, Nayda M          ADDRESS ON FILE
CRUZ PEREZ, NEIL J.          ADDRESS ON FILE
CRUZ PEREZ, NILDA            ADDRESS ON FILE
CRUZ PEREZ, NILDA L          ADDRESS ON FILE
CRUZ PEREZ, NOELIA           ADDRESS ON FILE
CRUZ PEREZ, OMAR             ADDRESS ON FILE
CRUZ PEREZ, ORLANDO          ADDRESS ON FILE
CRUZ PEREZ, PEDRO            ADDRESS ON FILE
Cruz Perez, Pedro J          ADDRESS ON FILE
CRUZ PEREZ, PEDRO JOSE       ADDRESS ON FILE
CRUZ PEREZ, PEDRO L.         ADDRESS ON FILE
CRUZ PEREZ, RAFAEL           ADDRESS ON FILE
CRUZ PEREZ, RAMON            ADDRESS ON FILE
CRUZ PEREZ, RAMON            ADDRESS ON FILE
CRUZ PEREZ, RICARDO          ADDRESS ON FILE
CRUZ PEREZ, RICHARD          ADDRESS ON FILE
Cruz Perez, Roberto          ADDRESS ON FILE
CRUZ PEREZ, ROBERTO          ADDRESS ON FILE
Cruz Perez, Rolando          ADDRESS ON FILE
CRUZ PEREZ, ROLANDO          ADDRESS ON FILE
CRUZ PEREZ, ROXANNA V.       ADDRESS ON FILE
CRUZ PEREZ, RUBEN            ADDRESS ON FILE
CRUZ PEREZ, RUTH E           ADDRESS ON FILE
CRUZ PEREZ, SANDRA           ADDRESS ON FILE
Cruz Perez, Sharon           ADDRESS ON FILE
CRUZ PEREZ, SIDNEY           ADDRESS ON FILE
CRUZ PEREZ, SONIA E          ADDRESS ON FILE
CRUZ PEREZ, VALENTIN         ADDRESS ON FILE
CRUZ PEREZ, VICTOR           ADDRESS ON FILE
CRUZ PEREZ, VICTOR           ADDRESS ON FILE
CRUZ PEREZ, VICTOR M         ADDRESS ON FILE
CRUZ PEREZ, VIMARIS          ADDRESS ON FILE
CRUZ PEREZ, VIMARIS          ADDRESS ON FILE
CRUZ PEREZ, WALDEMAR         ADDRESS ON FILE
CRUZ PEREZ, WILFREDO JESUS   ADDRESS ON FILE
Cruz Perez, William          ADDRESS ON FILE
CRUZ PEREZ, WILSON           ADDRESS ON FILE
CRUZ PEREZ, WIRLESKA M.      ADDRESS ON FILE
Cruz Perez, Yamaris          ADDRESS ON FILE
CRUZ PEREZ, YANIRIS          ADDRESS ON FILE
CRUZ PEREZ, YARITZA          ADDRESS ON FILE
Cruz Perez, Yaritza          ADDRESS ON FILE
CRUZ PEREZ, YARITZA          ADDRESS ON FILE
CRUZ PEREZ, YESENIA          ADDRESS ON FILE
CRUZ PEREZ, ZENAIDA          ADDRESS ON FILE
CRUZ PEREZ, ZULEIKA          ADDRESS ON FILE
CRUZ PEREZ, ZULEIKA NAHIR    ADDRESS ON FILE
CRUZ PEREZ,LUIS R            ADDRESS ON FILE
CRUZ PEROCIER, JOHENID       ADDRESS ON FILE
CRUZ PICON, JORGE A          ADDRESS ON FILE
Cruz Picon, Migdalis         ADDRESS ON FILE
CRUZ PILLOT, CARMEN M        ADDRESS ON FILE
CRUZ PIMENTEL, ELADIO        ADDRESS ON FILE
CRUZ PINA, LUZ DE PAZ        ADDRESS ON FILE
CRUZ PINEIRO, JOSE           ADDRESS ON FILE
CRUZ PINERO, HIGINIO         ADDRESS ON FILE
CRUZ PINERO, JOSE M          ADDRESS ON FILE
CRUZ PINERO, PEDRO           ADDRESS ON FILE




                                                                         Page 1974 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1975 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Pino, Miriam              ADDRESS ON FILE
CRUZ PINO, MIRIAM              ADDRESS ON FILE
Cruz Pinto, Arnaldo            ADDRESS ON FILE
CRUZ PINTO, AWILDA             ADDRESS ON FILE
CRUZ PINTO, EDWIN              ADDRESS ON FILE
CRUZ PINTO, EDWIN              ADDRESS ON FILE
CRUZ PINTO, LUIS               ADDRESS ON FILE
CRUZ PIRIS, ROSELIND           ADDRESS ON FILE
CRUZ PITRE, ANTUANETTE M       ADDRESS ON FILE
CRUZ PITRE, HEROILDA           ADDRESS ON FILE
CRUZ PITRE, MARIA              ADDRESS ON FILE
CRUZ PITRE, MARIA M.           ADDRESS ON FILE
CRUZ PIZARRO, EMMA I           ADDRESS ON FILE
CRUZ PIZARRO, EUSEBIA          ADDRESS ON FILE
CRUZ PIZARRO, IVELISSE         ADDRESS ON FILE
CRUZ PIZARRO, JOAQUINA         ADDRESS ON FILE
CRUZ PIZARRO, JOSE             ADDRESS ON FILE
Cruz Pizarro, Jose I           ADDRESS ON FILE
CRUZ PIZARRO, JOSE M.          ADDRESS ON FILE
CRUZ PIZARRO, JUANITA          ADDRESS ON FILE
CRUZ PIZARRO, MYRNA            ADDRESS ON FILE
CRUZ PIZARRO, PEDRO            ADDRESS ON FILE
CRUZ PIZARRO, VICTOR M         ADDRESS ON FILE
CRUZ PIZARRO, YAHAIRA          ADDRESS ON FILE
CRUZ PLACER, AGUSTINA          ADDRESS ON FILE
CRUZ PLAZA, VICTOR A           ADDRESS ON FILE
CRUZ POL, AIXA                 ADDRESS ON FILE
CRUZ POL, AIXA G.              ADDRESS ON FILE
CRUZ POL, AIXA G.              ADDRESS ON FILE
CRUZ POL, SANDRA               ADDRESS ON FILE
CRUZ POLA, ALICIA I            ADDRESS ON FILE
CRUZ POMALES, MANUEL           ADDRESS ON FILE
CRUZ POMALES, STEPHANIE        ADDRESS ON FILE
CRUZ PONCE, LOURDES            ADDRESS ON FILE
CRUZ PONCE, LUIS               ADDRESS ON FILE
CRUZ PONS, LURAYCA             ADDRESS ON FILE
CRUZ PORFIL, CARLOS            ADDRESS ON FILE
CRUZ PORFIL, WALKYRIA          ADDRESS ON FILE
CRUZ PORRATA, RUBEN            ADDRESS ON FILE
CRUZ PORRATA, WANDA I          ADDRESS ON FILE
CRUZ PORTALATIN, ALEJANDRINA   ADDRESS ON FILE
CRUZ POWELL, IVELISSE          ADDRESS ON FILE
CRUZ PRADO, ANA                ADDRESS ON FILE
CRUZ PRADO, CHRISTOPHER        ADDRESS ON FILE
CRUZ PRADO, CRUCITA            ADDRESS ON FILE
Cruz Prater, Rafael            ADDRESS ON FILE
CRUZ PRIETO, ANGEL L           ADDRESS ON FILE
CRUZ PROSPERES, LUIS A         ADDRESS ON FILE
CRUZ PUJALS, ORLANDO           ADDRESS ON FILE
CRUZ PUJOLS, JOSE RAMON        ADDRESS ON FILE
CRUZ QUEIPO, ROBERTO           ADDRESS ON FILE
CRUZ QUESADA, ANA I            ADDRESS ON FILE
CRUZ QUESADA, ELOY             ADDRESS ON FILE
CRUZ QUETEL, EDWIN             ADDRESS ON FILE
CRUZ QUEVEDO, LUIS             ADDRESS ON FILE
CRUZ QUIANES, JOSE G           ADDRESS ON FILE
CRUZ QUIJANO, FRANCISCO A.     ADDRESS ON FILE
CRUZ QUILES, CARLOS R          ADDRESS ON FILE
CRUZ QUILES, EDDIE             ADDRESS ON FILE
CRUZ QUILES, JOSE              ADDRESS ON FILE




                                                                           Page 1975 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 1976 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Quiles, Jose A                 ADDRESS ON FILE
CRUZ QUILES, LUIS A                 ADDRESS ON FILE
CRUZ QUILES, NELSON                 ADDRESS ON FILE
CRUZ QUILES, RADAMES                ADDRESS ON FILE
CRUZ QUINONES, ADAN                 ADDRESS ON FILE
Cruz Quinones, Angel L              ADDRESS ON FILE
CRUZ QUINONES, CARLOS               ADDRESS ON FILE
CRUZ QUINONES, CARLOS               ADDRESS ON FILE
CRUZ QUINONES, CARLOS M             ADDRESS ON FILE
CRUZ QUINONES, CARMEN G             ADDRESS ON FILE
CRUZ QUINONES, DAMARIS              ADDRESS ON FILE
CRUZ QUINONES, ELBIA                ADDRESS ON FILE
CRUZ QUINONES, IRIS                 ADDRESS ON FILE
CRUZ QUINONES, IVONNE               ADDRESS ON FILE
CRUZ QUINONES, JAVIER               ADDRESS ON FILE
CRUZ QUINONES, JOEL                 ADDRESS ON FILE
CRUZ QUINONES, JOHNATHAN            ADDRESS ON FILE
Cruz Quinones, Louis                ADDRESS ON FILE
CRUZ QUINONES, LUIS                 ADDRESS ON FILE
CRUZ QUINONES, MARIA                ADDRESS ON FILE
CRUZ QUINONES, MARIA                ADDRESS ON FILE
CRUZ QUINONES, MARIA C              ADDRESS ON FILE
CRUZ QUINONES, MARIA DEL PILAR      ADDRESS ON FILE
CRUZ QUINONES, MIGDALIA             ADDRESS ON FILE
CRUZ QUINONES, MIRIAM               ADDRESS ON FILE
CRUZ QUINONES, NICOLAS              ADDRESS ON FILE
CRUZ QUINONES, NOEMI                ADDRESS ON FILE
Cruz Quinones, Randy R.             ADDRESS ON FILE
CRUZ QUINONES, ROBERTO              ADDRESS ON FILE
CRUZ QUINONES, RUBEN                ADDRESS ON FILE
CRUZ QUINONES, TEODORO              ADDRESS ON FILE
CRUZ QUINONES, VICTORIA             ADDRESS ON FILE
CRUZ QUINONEZ, ADALJISA             ADDRESS ON FILE
CRUZ QUINONEZ, LYLLIAM              ADDRESS ON FILE
Cruz Quinonez, Margie A             ADDRESS ON FILE
CRUZ QUINONEZ, MARIA DEL C          ADDRESS ON FILE
CRUZ QUINTANA, ANA                  ADDRESS ON FILE
CRUZ QUINTANA, ANDRES               ADDRESS ON FILE
CRUZ QUINTANA, BRYAN                ADDRESS ON FILE
CRUZ QUINTANA, CARLOS               ADDRESS ON FILE
CRUZ QUINTANA, HECTOR O.            ADDRESS ON FILE
CRUZ QUINTANA, JOHEL                ADDRESS ON FILE
CRUZ QUINTANA, JOSEFINA             ADDRESS ON FILE
CRUZ QUINTANA, PEDRO                ADDRESS ON FILE
CRUZ QUINTANA, RAFAEL A.            ADDRESS ON FILE
CRUZ QUINTERO, ISOLINA              ADDRESS ON FILE
CRUZ QUINTERO, JUAN C.              ADDRESS ON FILE
CRUZ QUINTERO, MIRIAM               ADDRESS ON FILE
CRUZ QUIRINDONGO, ANTONIA           ADDRESS ON FILE
CRUZ QUIRINDONGO, CARMEN            ADDRESS ON FILE
CRUZ QUIRINDONGO, MARIA L           ADDRESS ON FILE
CRUZ QUIRINDONGO, NILDA             ADDRESS ON FILE
CRUZ QUITERO,JUAN C.                ADDRESS ON FILE
CRUZ RABASSA, FLORIDALIA            ADDRESS ON FILE
CRUZ RAMIREZ DE ARELLA, KRENLY      ADDRESS ON FILE
CRUZ RAMIREZ DE ARELLANO, YARENLY   ADDRESS ON FILE
CRUZ RAMIREZ, ANA                   ADDRESS ON FILE
CRUZ RAMIREZ, ANA J.                ADDRESS ON FILE
CRUZ RAMIREZ, DAVID                 ADDRESS ON FILE
CRUZ RAMIREZ, EILEEN Y              ADDRESS ON FILE




                                                                                Page 1976 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1977 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RAMIREZ, EMMANUEL        ADDRESS ON FILE
CRUZ RAMIREZ, ILIANA          ADDRESS ON FILE
CRUZ RAMIREZ, IRVING          ADDRESS ON FILE
CRUZ RAMIREZ, JAIME           ADDRESS ON FILE
CRUZ RAMIREZ, JOSE            ADDRESS ON FILE
Cruz Ramirez, Juan A          ADDRESS ON FILE
CRUZ RAMIREZ, LUIS            ADDRESS ON FILE
CRUZ RAMIREZ, LUZ             ADDRESS ON FILE
CRUZ RAMIREZ, MADELYN         ADDRESS ON FILE
CRUZ RAMIREZ, MARTIN          ADDRESS ON FILE
CRUZ RAMIREZ, MINELLI         ADDRESS ON FILE
CRUZ RAMIREZ, PASCUAL         ADDRESS ON FILE
CRUZ RAMIREZ, RAMON ANTONIO   ADDRESS ON FILE
CRUZ RAMIREZ, RUTH            ADDRESS ON FILE
CRUZ RAMIREZ, SASHA           ADDRESS ON FILE
CRUZ RAMOS, ABIGAIL           ADDRESS ON FILE
CRUZ RAMOS, ADA N             ADDRESS ON FILE
CRUZ RAMOS, ALBERTO           ADDRESS ON FILE
CRUZ RAMOS, ALEXIS            ADDRESS ON FILE
CRUZ RAMOS, ALLAN             ADDRESS ON FILE
CRUZ RAMOS, ANDRES            ADDRESS ON FILE
CRUZ RAMOS, ANGEL             ADDRESS ON FILE
CRUZ RAMOS, ANGELO            ADDRESS ON FILE
CRUZ RAMOS, BASILIA           ADDRESS ON FILE
CRUZ RAMOS, BRYAN             ADDRESS ON FILE
CRUZ RAMOS, CARLOS            ADDRESS ON FILE
CRUZ RAMOS, CARMEN A          ADDRESS ON FILE
Cruz Ramos, Carmen N          ADDRESS ON FILE
CRUZ RAMOS, CARMENCITA        ADDRESS ON FILE
CRUZ RAMOS, CLAUDIA V         ADDRESS ON FILE
CRUZ RAMOS, DAISY             ADDRESS ON FILE
CRUZ RAMOS, DAVID             ADDRESS ON FILE
CRUZ RAMOS, EDGARDO           ADDRESS ON FILE
CRUZ RAMOS, EDGARDO           ADDRESS ON FILE
Cruz Ramos, Edgardo J         ADDRESS ON FILE
CRUZ RAMOS, EDWIN             ADDRESS ON FILE
CRUZ RAMOS, ELBA I            ADDRESS ON FILE
CRUZ RAMOS, ELIEZER           ADDRESS ON FILE
CRUZ RAMOS, EMELI             ADDRESS ON FILE
CRUZ RAMOS, EVA               ADDRESS ON FILE
CRUZ RAMOS, EVELYN            ADDRESS ON FILE
CRUZ RAMOS, EVELYN            ADDRESS ON FILE
CRUZ RAMOS, EVELYN            ADDRESS ON FILE
CRUZ RAMOS, FELIX             ADDRESS ON FILE
CRUZ RAMOS, FIDELINA          ADDRESS ON FILE
CRUZ RAMOS, GABRIELA          ADDRESS ON FILE
CRUZ RAMOS, GERARDO           ADDRESS ON FILE
CRUZ RAMOS, GREGORIO          ADDRESS ON FILE
CRUZ RAMOS, HAYDELIZ          ADDRESS ON FILE
CRUZ RAMOS, HECTOR            ADDRESS ON FILE
CRUZ RAMOS, HECTOR D          ADDRESS ON FILE
Cruz Ramos, Hector J          ADDRESS ON FILE
CRUZ RAMOS, IDALIA            ADDRESS ON FILE
CRUZ RAMOS, IMARA             ADDRESS ON FILE
CRUZ RAMOS, JESUS             ADDRESS ON FILE
Cruz Ramos, Joe               ADDRESS ON FILE
CRUZ RAMOS, JOEL              ADDRESS ON FILE
CRUZ RAMOS, JOEL              ADDRESS ON FILE
CRUZ RAMOS, JOSE              ADDRESS ON FILE
CRUZ RAMOS, JOSE              ADDRESS ON FILE




                                                                          Page 1977 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1978 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RAMOS, JOSE           ADDRESS ON FILE
CRUZ RAMOS, JOSE D.        ADDRESS ON FILE
CRUZ RAMOS, JOSE D.        ADDRESS ON FILE
Cruz Ramos, Jose L         ADDRESS ON FILE
CRUZ RAMOS, JOSE M         ADDRESS ON FILE
CRUZ RAMOS, JOSEFA         ADDRESS ON FILE
Cruz Ramos, Juan           ADDRESS ON FILE
CRUZ RAMOS, JUAN           ADDRESS ON FILE
CRUZ RAMOS, JUANITA        ADDRESS ON FILE
CRUZ RAMOS, LAURA          ADDRESS ON FILE
Cruz Ramos, Leonides       ADDRESS ON FILE
CRUZ RAMOS, LIANETT        ADDRESS ON FILE
CRUZ RAMOS, LILLIAN        ADDRESS ON FILE
CRUZ RAMOS, LUIS           ADDRESS ON FILE
Cruz Ramos, Luis F         ADDRESS ON FILE
CRUZ RAMOS, LUISA M        ADDRESS ON FILE
CRUZ RAMOS, LUZ A          ADDRESS ON FILE
CRUZ RAMOS, LYDIA E.       ADDRESS ON FILE
CRUZ RAMOS, MARIA C.       ADDRESS ON FILE
CRUZ RAMOS, MARIA L.       ADDRESS ON FILE
CRUZ RAMOS, MARIA M        ADDRESS ON FILE
CRUZ RAMOS, MARIA M.       ADDRESS ON FILE
CRUZ RAMOS, MARIA V        ADDRESS ON FILE
CRUZ RAMOS, MARISOL        ADDRESS ON FILE
CRUZ RAMOS, MILCA          ADDRESS ON FILE
CRUZ RAMOS, MIRNA E        ADDRESS ON FILE
CRUZ RAMOS, MYRIAM T.      ADDRESS ON FILE
CRUZ RAMOS, NAOMI Y        ADDRESS ON FILE
CRUZ RAMOS, NEFTALI        ADDRESS ON FILE
CRUZ RAMOS, NELLEIGNA M.   ADDRESS ON FILE
CRUZ RAMOS, NELLEIGNA M.   ADDRESS ON FILE
CRUZ RAMOS, NELYMAR        ADDRESS ON FILE
CRUZ RAMOS, NYDIA E        ADDRESS ON FILE
CRUZ RAMOS, OLGA I         ADDRESS ON FILE
CRUZ RAMOS, ORLANDO        ADDRESS ON FILE
CRUZ RAMOS, PEDRO          ADDRESS ON FILE
CRUZ RAMOS, RAMON A        ADDRESS ON FILE
CRUZ RAMOS, RAMONITA       ADDRESS ON FILE
CRUZ RAMOS, RAXEL          ADDRESS ON FILE
CRUZ RAMOS, RICARDO        ADDRESS ON FILE
CRUZ RAMOS, ROSA M         ADDRESS ON FILE
CRUZ RAMOS, ROSAURA        ADDRESS ON FILE
CRUZ RAMOS, ROSEMARIE      ADDRESS ON FILE
CRUZ RAMOS, SONIA I        ADDRESS ON FILE
CRUZ RAMOS, SWINDA L.      ADDRESS ON FILE
CRUZ RAMOS, TANIA M        ADDRESS ON FILE
CRUZ RAMOS, TASHA          ADDRESS ON FILE
CRUZ RAMOS, TRACY M        ADDRESS ON FILE
CRUZ RAMOS, VANESSA        ADDRESS ON FILE
CRUZ RAMOS, VANESSA        ADDRESS ON FILE
CRUZ RAMOS, WIGNA DEL C.   ADDRESS ON FILE
CRUZ RAMOS, WILLYMAR       ADDRESS ON FILE
CRUZ RAMOS, YASMIN         ADDRESS ON FILE
CRUZ RAMOS, YAZMIN         ADDRESS ON FILE
CRUZ RAMOS, ZUL A          ADDRESS ON FILE
CRUZ RAMOS,WILNELIA        ADDRESS ON FILE
CRUZ REBOYRAS, GLADYS      ADDRESS ON FILE
CRUZ REBOYRAS, GONZALO     ADDRESS ON FILE
CRUZ REGUERO, MIGUEL       ADDRESS ON FILE
CRUZ REMIGIO, BELITZA      ADDRESS ON FILE




                                                                       Page 1978 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1979 of 3500
                                                                          17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name              Address1                  Address2                                     Address3   Address4   City        State   PostalCode   Country
CRUZ REMIGIO, MARIA        ADDRESS ON FILE
CRUZ RENDON, ALEXANDER     ADDRESS ON FILE
CRUZ RENDON, DAVID         ADDRESS ON FILE
CRUZ RENDON, HILDEBRANDO   ADDRESS ON FILE
CRUZ RENDON, LOVIS A       ADDRESS ON FILE
CRUZ RENTA, REINALDO J     ADDRESS ON FILE
CRUZ RENTA, VERONICA       ADDRESS ON FILE
CRUZ RENTAS, LEIDA         ADDRESS ON FILE
CRUZ RENTAS, VIONETTE      ADDRESS ON FILE
CRUZ REPOLLET, IVAN A.     ADDRESS ON FILE
CRUZ RESTO, ANGELIQUE      ADDRESS ON FILE
CRUZ RESTO, ERICKA         ADDRESS ON FILE
CRUZ RESTO, IRIS N         ADDRESS ON FILE
CRUZ RESTO, MANUEL         ADDRESS ON FILE
CRUZ RESTO, OLGA           ADDRESS ON FILE
CRUZ RESTO, RAFAEL         ADDRESS ON FILE
CRUZ RESTO, RUTH V.        ADDRESS ON FILE
CRUZ RESTO,JOSHUA M.       ADDRESS ON FILE
CRUZ RETAMAR, MARTIN       ADDRESS ON FILE
CRUZ REVERON, ODALIS       ADDRESS ON FILE
CRUZ REVERON, RUBEN        ADDRESS ON FILE
CRUZ REVERON, WANDA I.     ADDRESS ON FILE
CRUZ REXACH, JOSE MANUEL   ADDRESS ON FILE
CRUZ REYES, AIDA           ADDRESS ON FILE
CRUZ REYES, ALBERTO J      ADDRESS ON FILE
CRUZ REYES, ANA F          ADDRESS ON FILE
CRUZ REYES, ANNETTE        ADDRESS ON FILE
CRUZ REYES, ANTHONY        ADDRESS ON FILE
CRUZ REYES, BALDIELYS M    ADDRESS ON FILE
CRUZ REYES, CARMEN         ADDRESS ON FILE
CRUZ REYES, CARMEN         ADDRESS ON FILE
CRUZ REYES, CARMEN M       ADDRESS ON FILE
CRUZ REYES, CORALY         ADDRESS ON FILE
CRUZ REYES, CYNTHIA        ADDRESS ON FILE
CRUZ REYES, CYNTHIA        ADDRESS ON FILE
CRUZ REYES, DAYSHA L       ADDRESS ON FILE
CRUZ REYES, EDGARDO        ADDRESS ON FILE
CRUZ REYES, EDGARDO        ADDRESS ON FILE
CRUZ REYES, EDGARDO        ADDRESS ON FILE
CRUZ REYES, EDWIN          ADDRESS ON FILE
CRUZ REYES, ELBAMARIE      ADDRESS ON FILE
CRUZ REYES, ERWIN          ADDRESS ON FILE
CRUZ REYES, FLOR M         ADDRESS ON FILE
CRUZ REYES, FRANCES M      ADDRESS ON FILE
CRUZ REYES, GERMAN G.      ADDRESS ON FILE
CRUZ REYES, HECTOR         ADDRESS ON FILE
CRUZ REYES, IDALMI         ADDRESS ON FILE
CRUZ REYES, IVELISSE       ADDRESS ON FILE
CRUZ REYES, JANICE         ADDRESS ON FILE
CRUZ REYES, JESUS          ADDRESS ON FILE
Cruz Reyes, Jesus M.       ADDRESS ON FILE
CRUZ REYES, JORGE          ADDRESS ON FILE
CRUZ REYES, JORGE          ADDRESS ON FILE
CRUZ REYES, JOSE           ADDRESS ON FILE
CRUZ REYES, JOSE           ADDRESS ON FILE
CRUZ REYES, JOSE           ADDRESS ON FILE
CRUZ REYES, JOSE A.        ADDRESS ON FILE
CRUZ REYES, JOSE L         ADDRESS ON FILE
CRUZ REYES, JOSE L.        MIGDALIA CARATINI         375 CALLE DR. VIDAL SUITE 8                                        HUMACAO     PR      00792
Cruz Reyes, Jose M.        ADDRESS ON FILE




                                                                                   Page 1979 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1980 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Reyes, Juan A             ADDRESS ON FILE
CRUZ REYES, JUAN I.            ADDRESS ON FILE
CRUZ REYES, JUANA              ADDRESS ON FILE
CRUZ REYES, KEILA              ADDRESS ON FILE
CRUZ REYES, KEILLA             ADDRESS ON FILE
CRUZ REYES, LORAINE            ADDRESS ON FILE
CRUZ REYES, LUIS               ADDRESS ON FILE
CRUZ REYES, LUIS               ADDRESS ON FILE
CRUZ REYES, LUIS               ADDRESS ON FILE
CRUZ REYES, LUIS               ADDRESS ON FILE
CRUZ REYES, LUIS A             ADDRESS ON FILE
CRUZ REYES, MARCO A.           ADDRESS ON FILE
CRUZ REYES, MARIA              ADDRESS ON FILE
CRUZ REYES, MARIA C            ADDRESS ON FILE
CRUZ REYES, MARIA C.           ADDRESS ON FILE
CRUZ REYES, MARIA D            ADDRESS ON FILE
CRUZ REYES, MARIA R            ADDRESS ON FILE
CRUZ REYES, MARTIN             ADDRESS ON FILE
CRUZ REYES, MICHELLE           ADDRESS ON FILE
CRUZ REYES, MIGDALIA           ADDRESS ON FILE
CRUZ REYES, NOEMI              ADDRESS ON FILE
CRUZ REYES, SILVIA             ADDRESS ON FILE
CRUZ REYES, SUE                ADDRESS ON FILE
CRUZ REYES, TOMAS              ADDRESS ON FILE
CRUZ REYES, WANDA              ADDRESS ON FILE
CRUZ REYES, YARELIS            ADDRESS ON FILE
CRUZ REYES, YVETTE             ADDRESS ON FILE
CRUZ RIOS CORTES               ADDRESS ON FILE
CRUZ RIOS, ANA CELIS           ADDRESS ON FILE
Cruz Rios, Antonio             ADDRESS ON FILE
CRUZ RIOS, CARMEN              ADDRESS ON FILE
CRUZ RIOS, CRUZ                ADDRESS ON FILE
CRUZ RIOS, ELIZABETH           ADDRESS ON FILE
CRUZ RIOS, EVELYN              ADDRESS ON FILE
CRUZ RIOS, JESSICA             ADDRESS ON FILE
Cruz Rios, Jose                ADDRESS ON FILE
CRUZ RIOS, LEO A.              ADDRESS ON FILE
CRUZ RIOS, LIANA I.            ADDRESS ON FILE
CRUZ RIOS, MARIA V             ADDRESS ON FILE
CRUZ RIOS, OLGA I              ADDRESS ON FILE
CRUZ RIOS, SANTITA             ADDRESS ON FILE
CRUZ RIOS, YAMIL               ADDRESS ON FILE
CRUZ RIVAS, AURORA DE LOS A.   ADDRESS ON FILE
CRUZ RIVAS, FREDESWINDA        ADDRESS ON FILE
CRUZ RIVAS, GLORIA             ADDRESS ON FILE
CRUZ RIVAS, JESSIE MARIE       ADDRESS ON FILE
CRUZ RIVAS, JUAN P             ADDRESS ON FILE
CRUZ RIVAS, MARIA DEL C        ADDRESS ON FILE
CRUZ RIVAS, OMAYRA             ADDRESS ON FILE
CRUZ RIVAS, RAQUEL             ADDRESS ON FILE
CRUZ RIVERA FIGUEROA           ADDRESS ON FILE
CRUZ RIVERA GIOVANY            ADDRESS ON FILE
CRUZ RIVERA MD, IVETTE L       ADDRESS ON FILE
CRUZ RIVERA, AIDA L            ADDRESS ON FILE
CRUZ RIVERA, ALBA N            ADDRESS ON FILE
CRUZ RIVERA, ALBERTO           ADDRESS ON FILE
CRUZ RIVERA, ALEJANDRO         ADDRESS ON FILE
Cruz Rivera, Alex A            ADDRESS ON FILE
CRUZ RIVERA, ALEXANDRA         ADDRESS ON FILE
CRUZ RIVERA, ALEXIS            ADDRESS ON FILE




                                                                           Page 1980 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1981 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RIVERA, ALEXIS          ADDRESS ON FILE
CRUZ RIVERA, ALICIA          ADDRESS ON FILE
CRUZ RIVERA, ANA M           ADDRESS ON FILE
CRUZ RIVERA, ANDRES          ADDRESS ON FILE
CRUZ RIVERA, ANGEL           ADDRESS ON FILE
CRUZ RIVERA, ANGEL           ADDRESS ON FILE
CRUZ RIVERA, ANGEL           ADDRESS ON FILE
CRUZ RIVERA, ANGEL           ADDRESS ON FILE
CRUZ RIVERA, ANGEL SANTOS    ADDRESS ON FILE
CRUZ RIVERA, ANGELES M       ADDRESS ON FILE
CRUZ RIVERA, ANGELITA        ADDRESS ON FILE
CRUZ RIVERA, ANILDA          ADDRESS ON FILE
CRUZ RIVERA, ANTONIO         ADDRESS ON FILE
CRUZ RIVERA, ARMANDO         ADDRESS ON FILE
CRUZ RIVERA, ARMANDO         ADDRESS ON FILE
CRUZ RIVERA, ARNALDO         ADDRESS ON FILE
Cruz Rivera, Awilda          ADDRESS ON FILE
Cruz Rivera, Benjamin        ADDRESS ON FILE
CRUZ RIVERA, BETHZAIDA       ADDRESS ON FILE
CRUZ RIVERA, BIANKA M        ADDRESS ON FILE
CRUZ RIVERA, BLANCA I        ADDRESS ON FILE
CRUZ RIVERA, BLANCA I.       ADDRESS ON FILE
CRUZ RIVERA, BRENDA          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS          ADDRESS ON FILE
CRUZ RIVERA, CARLOS A        ADDRESS ON FILE
Cruz Rivera, Carlos A        ADDRESS ON FILE
CRUZ RIVERA, CARLOS A.       ADDRESS ON FILE
CRUZ RIVERA, CARLOS F        ADDRESS ON FILE
CRUZ RIVERA, CARLOS J.       ADDRESS ON FILE
CRUZ RIVERA, CARLOS R.       ADDRESS ON FILE
CRUZ RIVERA, CARMEN          ADDRESS ON FILE
CRUZ RIVERA, CARMEN          ADDRESS ON FILE
CRUZ RIVERA, CARMEN          ADDRESS ON FILE
CRUZ RIVERA, CARMEN          ADDRESS ON FILE
CRUZ RIVERA, CARMEN          ADDRESS ON FILE
CRUZ RIVERA, CARMEN DEL P.   ADDRESS ON FILE
CRUZ RIVERA, CARMEN E.       ADDRESS ON FILE
CRUZ RIVERA, CARMEN G        ADDRESS ON FILE
CRUZ RIVERA, CARMEN L        ADDRESS ON FILE
CRUZ RIVERA, CARMEN L        ADDRESS ON FILE
CRUZ RIVERA, CARMEN L        ADDRESS ON FILE
CRUZ RIVERA, CARMEN M        ADDRESS ON FILE
CRUZ RIVERA, CHRISTIAN       ADDRESS ON FILE
CRUZ RIVERA, CINDY B         ADDRESS ON FILE
Cruz Rivera, Cirilo C        ADDRESS ON FILE
CRUZ RIVERA, CONELY          ADDRESS ON FILE
CRUZ RIVERA, CORALIE         ADDRESS ON FILE
CRUZ RIVERA, CRIMILDA        ADDRESS ON FILE
CRUZ RIVERA, CRUCITA         ADDRESS ON FILE
CRUZ RIVERA, DAISY           ADDRESS ON FILE
CRUZ RIVERA, DANIEL          ADDRESS ON FILE
CRUZ RIVERA, DAVID           ADDRESS ON FILE
CRUZ RIVERA, DAVID           ADDRESS ON FILE
CRUZ RIVERA, DELFIN          ADDRESS ON FILE




                                                                         Page 1981 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1982 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RIVERA, DENNIS             ADDRESS ON FILE
CRUZ RIVERA, DENNIS E           ADDRESS ON FILE
CRUZ RIVERA, DERYCK JOSE        ADDRESS ON FILE
CRUZ RIVERA, DIGNA M            ADDRESS ON FILE
CRUZ RIVERA, DINORA             ADDRESS ON FILE
CRUZ RIVERA, DIOSELYN           ADDRESS ON FILE
CRUZ RIVERA, DORIS N            ADDRESS ON FILE
CRUZ RIVERA, EDDIE              ADDRESS ON FILE
CRUZ RIVERA, EDELL              ADDRESS ON FILE
Cruz Rivera, Edgar              ADDRESS ON FILE
Cruz Rivera, Edil A             ADDRESS ON FILE
CRUZ RIVERA, EDISON             ADDRESS ON FILE
CRUZ RIVERA, EDUARDO            ADDRESS ON FILE
CRUZ RIVERA, EDWARD             ADDRESS ON FILE
CRUZ RIVERA, EDWIN              ADDRESS ON FILE
CRUZ RIVERA, EFRAIN             ADDRESS ON FILE
CRUZ RIVERA, EILEEN             ADDRESS ON FILE
CRUZ RIVERA, ELBA               ADDRESS ON FILE
CRUZ RIVERA, ELBA N             ADDRESS ON FILE
CRUZ RIVERA, ELIAZAR E.         ADDRESS ON FILE
CRUZ RIVERA, ELIAZAR E.         ADDRESS ON FILE
CRUZ RIVERA, ELIZABETH          ADDRESS ON FILE
CRUZ RIVERA, ELIZABETH          ADDRESS ON FILE
CRUZ RIVERA, ELVIN              ADDRESS ON FILE
CRUZ RIVERA, ELVIN M            ADDRESS ON FILE
CRUZ RIVERA, ELY G              ADDRESS ON FILE
CRUZ RIVERA, EMMA I             ADDRESS ON FILE
Cruz Rivera, Emmanuel           ADDRESS ON FILE
CRUZ RIVERA, ENRIQUE            ADDRESS ON FILE
CRUZ RIVERA, EVELYN             ADDRESS ON FILE
CRUZ RIVERA, FABIAN             ADDRESS ON FILE
CRUZ RIVERA, FERNANDO           ADDRESS ON FILE
CRUZ RIVERA, FERNANDO L         ADDRESS ON FILE
CRUZ RIVERA, FERNANDO L.        ADDRESS ON FILE
CRUZ RIVERA, FIDELINA           ADDRESS ON FILE
CRUZ RIVERA, FRANCES            ADDRESS ON FILE
CRUZ RIVERA, GEORGINA           ADDRESS ON FILE
CRUZ RIVERA, GIANCARLO          ADDRESS ON FILE
CRUZ RIVERA, GLADIS             ADDRESS ON FILE
CRUZ RIVERA, GLADYS             ADDRESS ON FILE
CRUZ RIVERA, GLORYANN           ADDRESS ON FILE
CRUZ RIVERA, GRIS X             ADDRESS ON FILE
CRUZ RIVERA, GRISELLE           ADDRESS ON FILE
CRUZ RIVERA, HAMET              ADDRESS ON FILE
CRUZ RIVERA, HAROLD             ADDRESS ON FILE
CRUZ RIVERA, HAYDEE             ADDRESS ON FILE
CRUZ RIVERA, HAYDEE             ADDRESS ON FILE
CRUZ RIVERA, HAYDEE A           ADDRESS ON FILE
CRUZ RIVERA, HECTOR             ADDRESS ON FILE
CRUZ RIVERA, HECTOR             ADDRESS ON FILE
CRUZ RIVERA, HECTOR ALEJANDRO   ADDRESS ON FILE
CRUZ RIVERA, HEYDSHA Y          ADDRESS ON FILE
Cruz Rivera, Ileana             ADDRESS ON FILE
CRUZ RIVERA, ILEANA             ADDRESS ON FILE
CRUZ RIVERA, ILIANEXI           ADDRESS ON FILE
CRUZ RIVERA, IRIS               ADDRESS ON FILE
CRUZ RIVERA, IRIS               ADDRESS ON FILE
CRUZ RIVERA, IRIS ILEANA        ADDRESS ON FILE
CRUZ RIVERA, IRIS M             ADDRESS ON FILE
CRUZ RIVERA, ISRAEL C           ADDRESS ON FILE




                                                                            Page 1982 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1983 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RIVERA, ITHIEL        ADDRESS ON FILE
CRUZ RIVERA, IVANELISSE    ADDRESS ON FILE
CRUZ RIVERA, IVONNE        ADDRESS ON FILE
CRUZ RIVERA, JAIME         ADDRESS ON FILE
CRUZ RIVERA, JAIME         ADDRESS ON FILE
CRUZ RIVERA, JANETTE       ADDRESS ON FILE
CRUZ RIVERA, JANETTE       ADDRESS ON FILE
CRUZ RIVERA, JANETTE       ADDRESS ON FILE
CRUZ RIVERA, JAVIER        ADDRESS ON FILE
CRUZ RIVERA, JESABELL      ADDRESS ON FILE
CRUZ RIVERA, JESSICA       ADDRESS ON FILE
CRUZ RIVERA, JESUS         ADDRESS ON FILE
CRUZ RIVERA, JOAN          ADDRESS ON FILE
CRUZ RIVERA, JOANNIE       ADDRESS ON FILE
CRUZ RIVERA, JOMARIS       ADDRESS ON FILE
CRUZ RIVERA, JORGE L       ADDRESS ON FILE
CRUZ RIVERA, JORGE L.      ADDRESS ON FILE
CRUZ RIVERA, JORGE LUIS    ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE          ADDRESS ON FILE
CRUZ RIVERA, JOSE A        ADDRESS ON FILE
CRUZ RIVERA, JOSE A        ADDRESS ON FILE
CRUZ RIVERA, JOSE A.       ADDRESS ON FILE
CRUZ RIVERA, JOSE A.       ADDRESS ON FILE
CRUZ RIVERA, JOSE E.       ADDRESS ON FILE
CRUZ RIVERA, JOSE L        ADDRESS ON FILE
CRUZ RIVERA, JOSE L        ADDRESS ON FILE
CRUZ RIVERA, JOSE L.       ADDRESS ON FILE
Cruz Rivera, Jose M.       ADDRESS ON FILE
CRUZ RIVERA, JOSE MANUEL   ADDRESS ON FILE
CRUZ RIVERA, JOSE O.       ADDRESS ON FILE
CRUZ RIVERA, JOSELYN       ADDRESS ON FILE
CRUZ RIVERA, JOSEPHINE     ADDRESS ON FILE
Cruz Rivera, Josue         ADDRESS ON FILE
CRUZ RIVERA, JOSUE         ADDRESS ON FILE
CRUZ RIVERA, JOSUE         ADDRESS ON FILE
CRUZ RIVERA, JOSUE         ADDRESS ON FILE
CRUZ RIVERA, JOYCE         ADDRESS ON FILE
CRUZ RIVERA, JOYCE         ADDRESS ON FILE
Cruz Rivera, Juan          ADDRESS ON FILE
CRUZ RIVERA, JUAN          ADDRESS ON FILE
CRUZ RIVERA, JUAN          ADDRESS ON FILE
CRUZ RIVERA, JUAN          ADDRESS ON FILE
CRUZ RIVERA, JUAN          ADDRESS ON FILE
CRUZ RIVERA, JUAN A.       ADDRESS ON FILE
CRUZ RIVERA, JUAN C.       ADDRESS ON FILE
Cruz Rivera, Juan L.       ADDRESS ON FILE
CRUZ RIVERA, JUANITA       ADDRESS ON FILE
CRUZ RIVERA, JUDITH        ADDRESS ON FILE




                                                                       Page 1983 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1984 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RIVERA, JULIA V       ADDRESS ON FILE
CRUZ RIVERA, JULIO         ADDRESS ON FILE
CRUZ RIVERA, KETSY         ADDRESS ON FILE
CRUZ RIVERA, LENNIE        ADDRESS ON FILE
CRUZ RIVERA, LETICIA       ADDRESS ON FILE
CRUZ RIVERA, LIANA A       ADDRESS ON FILE
CRUZ RIVERA, LILLIANE      ADDRESS ON FILE
CRUZ RIVERA, LISANDRA      ADDRESS ON FILE
CRUZ RIVERA, LISANDRA      ADDRESS ON FILE
CRUZ RIVERA, LIZ S         ADDRESS ON FILE
CRUZ RIVERA, LIZBETH       ADDRESS ON FILE
CRUZ RIVERA, LIZBETH       ADDRESS ON FILE
CRUZ RIVERA, LIZBETH       ADDRESS ON FILE
CRUZ RIVERA, LOIDY M       ADDRESS ON FILE
CRUZ RIVERA, LOURDES       ADDRESS ON FILE
CRUZ RIVERA, LOURDES I     ADDRESS ON FILE
CRUZ RIVERA, LUCIA         ADDRESS ON FILE
CRUZ RIVERA, LUCILLE       ADDRESS ON FILE
CRUZ RIVERA, LUCY M        ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
CRUZ RIVERA, LUIS          ADDRESS ON FILE
Cruz Rivera, Luis A        ADDRESS ON FILE
CRUZ RIVERA, LUIS A        ADDRESS ON FILE
Cruz Rivera, Luis D.       ADDRESS ON FILE
CRUZ RIVERA, LUIS F        ADDRESS ON FILE
CRUZ RIVERA, LUIS R.       ADDRESS ON FILE
CRUZ RIVERA, LUZ           ADDRESS ON FILE
CRUZ RIVERA, LUZ C         ADDRESS ON FILE
CRUZ RIVERA, LUZ DAMARIS   ADDRESS ON FILE
Cruz Rivera, Luz E         ADDRESS ON FILE
CRUZ RIVERA, LUZ M         ADDRESS ON FILE
CRUZ RIVERA, LUZ M         ADDRESS ON FILE
CRUZ RIVERA, LYNETTE       ADDRESS ON FILE
CRUZ RIVERA, MADELINE      ADDRESS ON FILE
CRUZ RIVERA, MAGGIE        ADDRESS ON FILE
CRUZ RIVERA, MAONY E       ADDRESS ON FILE
CRUZ RIVERA, MARGARITA     ADDRESS ON FILE
CRUZ RIVERA, MARGARITA     ADDRESS ON FILE
CRUZ RIVERA, MARGARITA     ADDRESS ON FILE
CRUZ RIVERA, MARIA         ADDRESS ON FILE
CRUZ RIVERA, MARIA         ADDRESS ON FILE
CRUZ RIVERA, MARIA         ADDRESS ON FILE
CRUZ RIVERA, MARIA         ADDRESS ON FILE
CRUZ RIVERA, MARIA         ADDRESS ON FILE
CRUZ RIVERA, MARIA         ADDRESS ON FILE
CRUZ RIVERA, MARIA A       ADDRESS ON FILE
CRUZ RIVERA, MARIA A       ADDRESS ON FILE
CRUZ RIVERA, MARIA DE      ADDRESS ON FILE
CRUZ RIVERA, MARIA DE L    ADDRESS ON FILE
CRUZ RIVERA, MARIA DEL C   ADDRESS ON FILE
CRUZ RIVERA, MARIA E       ADDRESS ON FILE
Cruz Rivera, Maria I       ADDRESS ON FILE
CRUZ RIVERA, MARIA I       ADDRESS ON FILE
CRUZ RIVERA, MARIA LUISA   ADDRESS ON FILE
CRUZ RIVERA, MARIA M       ADDRESS ON FILE




                                                                       Page 1984 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1985 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RIVERA, MARIA M.       ADDRESS ON FILE
CRUZ RIVERA, MARIA N.       ADDRESS ON FILE
CRUZ RIVERA, MARIA V        ADDRESS ON FILE
CRUZ RIVERA, MARIBEL        ADDRESS ON FILE
CRUZ RIVERA, MARICEL        ADDRESS ON FILE
CRUZ RIVERA, MARIE          ADDRESS ON FILE
CRUZ RIVERA, MARILYN        ADDRESS ON FILE
CRUZ RIVERA, MARITZA        ADDRESS ON FILE
CRUZ RIVERA, MARTA          ADDRESS ON FILE
Cruz Rivera, Martin         ADDRESS ON FILE
CRUZ RIVERA, MAYRA          ADDRESS ON FILE
CRUZ RIVERA, MAYRA E        ADDRESS ON FILE
CRUZ RIVERA, MAYRA E        ADDRESS ON FILE
CRUZ RIVERA, MELISSA        ADDRESS ON FILE
CRUZ RIVERA, MICHELLE M     ADDRESS ON FILE
Cruz Rivera, Miguel         ADDRESS ON FILE
CRUZ RIVERA, MIGUEL         ADDRESS ON FILE
Cruz Rivera, Miguel         ADDRESS ON FILE
CRUZ RIVERA, MIGUEL         ADDRESS ON FILE
CRUZ RIVERA, MIGUEL A.      ADDRESS ON FILE
CRUZ RIVERA, MIGUEL A.      ADDRESS ON FILE
CRUZ RIVERA, MIGUEL A.      ADDRESS ON FILE
CRUZ RIVERA, MILAGRO        ADDRESS ON FILE
CRUZ RIVERA, MILAGROS       ADDRESS ON FILE
CRUZ RIVERA, MIRNA          ADDRESS ON FILE
CRUZ RIVERA, MYRIAM         ADDRESS ON FILE
CRUZ RIVERA, MYRTHA ELENA   ADDRESS ON FILE
CRUZ RIVERA, NAHALIEL       ADDRESS ON FILE
CRUZ RIVERA, NAYDA M        ADDRESS ON FILE
Cruz Rivera, Nelson G       ADDRESS ON FILE
CRUZ RIVERA, NERDY          ADDRESS ON FILE
CRUZ RIVERA, NILDA L        ADDRESS ON FILE
CRUZ RIVERA, NILDA L        ADDRESS ON FILE
CRUZ RIVERA, NOEL E.        ADDRESS ON FILE
Cruz Rivera, Norberto       ADDRESS ON FILE
CRUZ RIVERA, NORMA          ADDRESS ON FILE
CRUZ RIVERA, NORMA          ADDRESS ON FILE
CRUZ RIVERA, NORMA I        ADDRESS ON FILE
CRUZ RIVERA, NYDIA          ADDRESS ON FILE
CRUZ RIVERA, ODALIS         ADDRESS ON FILE
CRUZ RIVERA, OLGA           ADDRESS ON FILE
CRUZ RIVERA, OMAR           ADDRESS ON FILE
CRUZ RIVERA, ORLANDO        ADDRESS ON FILE
CRUZ RIVERA, OSCAR          ADDRESS ON FILE
CRUZ RIVERA, OSVALDO        ADDRESS ON FILE
CRUZ RIVERA, OSWALDO        ADDRESS ON FILE
CRUZ RIVERA, PABLO C.       ADDRESS ON FILE
CRUZ RIVERA, PAMELA         ADDRESS ON FILE
Cruz Rivera, Pedro          ADDRESS ON FILE
CRUZ RIVERA, PEDRO          ADDRESS ON FILE
CRUZ RIVERA, PEDRO A.       ADDRESS ON FILE
CRUZ RIVERA, PEGGY          ADDRESS ON FILE
CRUZ RIVERA, RAFAEL         ADDRESS ON FILE
CRUZ RIVERA, RAFAEL         ADDRESS ON FILE
CRUZ RIVERA, RAFAEL O       ADDRESS ON FILE
CRUZ RIVERA, RAMON          ADDRESS ON FILE
CRUZ RIVERA, RAMON          ADDRESS ON FILE
CRUZ RIVERA, RAMON          ADDRESS ON FILE
CRUZ RIVERA, RAMON          ADDRESS ON FILE
CRUZ RIVERA, RAQUEL         ADDRESS ON FILE




                                                                        Page 1985 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1986 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Rivera, Raul         ADDRESS ON FILE
CRUZ RIVERA, RAY          ADDRESS ON FILE
CRUZ RIVERA, RAYMOND      ADDRESS ON FILE
CRUZ RIVERA, REINALDO     ADDRESS ON FILE
CRUZ RIVERA, REINALDO     ADDRESS ON FILE
Cruz Rivera, Rene         ADDRESS ON FILE
CRUZ RIVERA, RICARDO      ADDRESS ON FILE
CRUZ RIVERA, RICHARD      ADDRESS ON FILE
CRUZ RIVERA, RINA G.      ADDRESS ON FILE
CRUZ RIVERA, ROBERT       ADDRESS ON FILE
Cruz Rivera, Roberto      ADDRESS ON FILE
CRUZ RIVERA, ROBERTO      ADDRESS ON FILE
CRUZ RIVERA, ROBERTO      ADDRESS ON FILE
CRUZ RIVERA, ROBERTO      ADDRESS ON FILE
CRUZ RIVERA, ROSA I       ADDRESS ON FILE
CRUZ RIVERA, ROSA M       ADDRESS ON FILE
CRUZ RIVERA, ROSAURA      ADDRESS ON FILE
CRUZ RIVERA, ROXANA       ADDRESS ON FILE
CRUZ RIVERA, RUBEN        ADDRESS ON FILE
CRUZ RIVERA, SAMARIS      ADDRESS ON FILE
CRUZ RIVERA, SAMARY       ADDRESS ON FILE
Cruz Rivera, Sandra       ADDRESS ON FILE
CRUZ RIVERA, SANDRA       ADDRESS ON FILE
CRUZ RIVERA, SONIA        ADDRESS ON FILE
CRUZ RIVERA, SONIA        ADDRESS ON FILE
CRUZ RIVERA, SONIA        ADDRESS ON FILE
CRUZ RIVERA, SYMARA       ADDRESS ON FILE
CRUZ RIVERA, TAMARA       ADDRESS ON FILE
CRUZ RIVERA, THELMO R     ADDRESS ON FILE
CRUZ RIVERA, THOMAS       ADDRESS ON FILE
CRUZ RIVERA, TOMAS F      ADDRESS ON FILE
CRUZ RIVERA, VEDA         ADDRESS ON FILE
CRUZ RIVERA, VERONICA     ADDRESS ON FILE
Cruz Rivera, Victor       ADDRESS ON FILE
CRUZ RIVERA, VICTOR       ADDRESS ON FILE
Cruz Rivera, Victor A     ADDRESS ON FILE
CRUZ RIVERA, VICTOR M.    ADDRESS ON FILE
CRUZ RIVERA, VICTORIA     ADDRESS ON FILE
CRUZ RIVERA, WANDA I.     ADDRESS ON FILE
CRUZ RIVERA, WANDA I.     ADDRESS ON FILE
CRUZ RIVERA, WENCESLAO    ADDRESS ON FILE
CRUZ RIVERA, WIGBERTO     ADDRESS ON FILE
CRUZ RIVERA, WILBER O     ADDRESS ON FILE
CRUZ RIVERA, WILBERTO     ADDRESS ON FILE
CRUZ RIVERA, WILDA        ADDRESS ON FILE
CRUZ RIVERA, WILFREDO     ADDRESS ON FILE
CRUZ RIVERA, WILFREDO     ADDRESS ON FILE
Cruz Rivera, Wilfredo     ADDRESS ON FILE
CRUZ RIVERA, WILFREDO     ADDRESS ON FILE
CRUZ RIVERA, WILFREDO     ADDRESS ON FILE
CRUZ RIVERA, WILLIAM      ADDRESS ON FILE
CRUZ RIVERA, XIOMARA      ADDRESS ON FILE
CRUZ RIVERA, XIOMARA      ADDRESS ON FILE
CRUZ RIVERA, YADIRA       ADDRESS ON FILE
CRUZ RIVERA, YADIRA       ADDRESS ON FILE
CRUZ RIVERA, YANIRA       ADDRESS ON FILE
CRUZ RIVERA, YARITZA      ADDRESS ON FILE
CRUZ RIVERA, YARITZA      ADDRESS ON FILE
CRUZ RIVERA, YARITZA M.   ADDRESS ON FILE
CRUZ RIVERA, YARIVEL      ADDRESS ON FILE




                                                                      Page 1986 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 1987 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                  Address1                                 Address2                                  Address3        Address4       City         State   PostalCode   Country
CRUZ RIVERA, YESMELIN          ADDRESS ON FILE
CRUZ RIVERA, ZOLGUIMAR         ADDRESS ON FILE
CRUZ RIVERA, ZUHAIL            ADDRESS ON FILE
CRUZ RIVERA,ELVIN M.           ADDRESS ON FILE
CRUZ RIVERA,JOSE G.            ADDRESS ON FILE
CRUZ RIVERA,MADELINE           ADDRESS ON FILE
CRUZ RIVERA,RAMON L.           ADDRESS ON FILE
CRUZ ROBLEDO, MARITZA          ADDRESS ON FILE
CRUZ ROBLES CALDERON           LCDO. JUAN CARLOS RIOS PÉREZ             LCDO. JUAN CARLOS RÍOS PÉREZ PO BOX 9020443                              SAN JUAN     PR      00902‐0443
CRUZ ROBLES, ANGEL             ADDRESS ON FILE
CRUZ ROBLES, BETSAIDA          ADDRESS ON FILE
CRUZ ROBLES, CARMEN I          ADDRESS ON FILE
CRUZ ROBLES, EDGAR             ADDRESS ON FILE
CRUZ ROBLES, ELISEO            ADDRESS ON FILE
CRUZ ROBLES, GREGORIO          ADDRESS ON FILE
Cruz Robles, Jesus A           ADDRESS ON FILE
CRUZ ROBLES, JORGE             ADDRESS ON FILE
CRUZ ROBLES, JUAN              ADDRESS ON FILE
CRUZ ROBLES, LISANDRA          ADDRESS ON FILE
CRUZ ROBLES, LUIS R            ADDRESS ON FILE
CRUZ ROBLES, LUIS R            ADDRESS ON FILE
CRUZ ROBLES, MARTIN            ADDRESS ON FILE
CRUZ ROBLES, MARTIN            ADDRESS ON FILE
CRUZ ROBLES, PEDRO W.          ADDRESS ON FILE
CRUZ ROBLES, RUTH              ADDRESS ON FILE
CRUZ ROCHE, CARLOS             ADDRESS ON FILE
CRUZ ROCHE, CARLOS L           ADDRESS ON FILE
CRUZ ROCHE, MARIANO            ADDRESS ON FILE
CRUZ ROCHE, WANDA              ADDRESS ON FILE
CRUZ ROCHE, YOLANDA            ADDRESS ON FILE
CRUZ RODON MD, ANA             ADDRESS ON FILE
CRUZ RODRIGUEZ JOSE M.         DEMANDANTE: LCDO. DIEGO LEDEE BAZAN      DEMANDANTE: APARTADO 891                                                 GUAYAMA      PR      00785
CRUZ RODRIGUEZ JOSE M.         DEMANDANTE: LCDO. DIEGO LEDEE BAZAN; ELA ELA POR LA ASEGURADORA INTEGRAND: PO BOX 190433                          SAN JUAN     PR      00919‐0433
CRUZ RODRIGUEZ MD, MIGUEL      ADDRESS ON FILE
CRUZ RODRIGUEZ MD, RAUL F      ADDRESS ON FILE
CRUZ RODRIGUEZ, ABIGAIL        DERECHO PROPIO                           ANEXO GUAYAMA 500                         MÓDULO AB #34   PO BOX 10005   GUAYAMA      PR      00785
CRUZ RODRÍGUEZ, ABIGAIL        ABIGAIL CRUZ                             ANEXO 500 PO BOX 10005 A‐B #034                                          GUAYAMA      PR      00785
CRUZ RODRÍGUEZ, ABIGAIL        LCDA. SIZZETTE NIEVES CAUSSADE           PO BOX 779                                                               GUAYAMA      PR      00785
CRUZ RODRIGUEZ, ADLEEN         ADDRESS ON FILE
CRUZ RODRIGUEZ, AIDA           ADDRESS ON FILE
CRUZ RODRIGUEZ, AIRAM          ADDRESS ON FILE
CRUZ RODRIGUEZ, ALEXANDRA      ADDRESS ON FILE
CRUZ RODRIGUEZ, ALICE          ADDRESS ON FILE
CRUZ RODRIGUEZ, ALVIN          ADDRESS ON FILE
CRUZ RODRIGUEZ, ANA            ADDRESS ON FILE
CRUZ RODRIGUEZ, ANA M          ADDRESS ON FILE
CRUZ RODRIGUEZ, ANAMARIE       ADDRESS ON FILE
CRUZ RODRIGUEZ, ANDRES         ADDRESS ON FILE
CRUZ RODRIGUEZ, ANDY           ADDRESS ON FILE
CRUZ RODRIGUEZ, ANGEL D        ADDRESS ON FILE
Cruz Rodriguez, Angel L        ADDRESS ON FILE
CRUZ RODRIGUEZ, ANGEL L.       ADDRESS ON FILE
CRUZ RODRIGUEZ, ANGEL M        ADDRESS ON FILE
CRUZ RODRIGUEZ, ANGELICA       ADDRESS ON FILE
CRUZ RODRIGUEZ, ANIBAL         ADDRESS ON FILE
CRUZ RODRIGUEZ, ANIBAL JACQU   ADDRESS ON FILE
CRUZ RODRIGUEZ, ANTHONY        ADDRESS ON FILE
CRUZ RODRIGUEZ, ANTONIO        ADDRESS ON FILE
CRUZ RODRIGUEZ, ANTONIO        ADDRESS ON FILE
CRUZ RODRIGUEZ, ANTONIO        ADDRESS ON FILE




                                                                                                   Page 1987 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1988 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RODRIGUEZ, ANTONIO      ADDRESS ON FILE
CRUZ RODRIGUEZ, ANTONIO      ADDRESS ON FILE
CRUZ RODRIGUEZ, AUREA E      ADDRESS ON FILE
CRUZ RODRIGUEZ, BEATRIZ      ADDRESS ON FILE
CRUZ RODRIGUEZ, BERNICE      ADDRESS ON FILE
CRUZ RODRIGUEZ, BRENDALIZ    ADDRESS ON FILE
CRUZ RODRIGUEZ, BRUNILDA     ADDRESS ON FILE
CRUZ RODRIGUEZ, CALMARY      ADDRESS ON FILE
CRUZ RODRIGUEZ, CAMILLE      ADDRESS ON FILE
CRUZ RODRIGUEZ, CARLOS       ADDRESS ON FILE
Cruz Rodriguez, Carmelo      ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN       ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN       ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN D     ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN L     ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN L     ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN L     ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN L.    ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN M     ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN M     ADDRESS ON FILE
CRUZ RODRIGUEZ, CARMEN M     ADDRESS ON FILE
CRUZ RODRIGUEZ, CATALINA     ADDRESS ON FILE
CRUZ RODRIGUEZ, CESAR        ADDRESS ON FILE
CRUZ RODRIGUEZ, CHRISTIAN    ADDRESS ON FILE
CRUZ RODRIGUEZ, CLARIBEL     ADDRESS ON FILE
CRUZ RODRIGUEZ, CLARIBEL     ADDRESS ON FILE
CRUZ RODRIGUEZ, CLARISA      ADDRESS ON FILE
CRUZ RODRIGUEZ, CONCEPCION   ADDRESS ON FILE
CRUZ RODRIGUEZ, DAISY        ADDRESS ON FILE
CRUZ RODRIGUEZ, DAISY        ADDRESS ON FILE
CRUZ RODRIGUEZ, DALIMIL      ADDRESS ON FILE
CRUZ RODRIGUEZ, DAMARIS      ADDRESS ON FILE
CRUZ RODRIGUEZ, DAN          ADDRESS ON FILE
CRUZ RODRIGUEZ, DAVID        ADDRESS ON FILE
CRUZ RODRIGUEZ, DAVID        ADDRESS ON FILE
CRUZ RODRIGUEZ, DENISON      ADDRESS ON FILE
CRUZ RODRIGUEZ, DEYLA D      ADDRESS ON FILE
CRUZ RODRIGUEZ, DIAMARIS     ADDRESS ON FILE
CRUZ RODRIGUEZ, DIANA        ADDRESS ON FILE
CRUZ RODRIGUEZ, DIGNA        ADDRESS ON FILE
Cruz Rodriguez, Eddie        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDDIE        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDDIE        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDGAR        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDWARD       ADDRESS ON FILE
Cruz Rodriguez, Edwin        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDWIN        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDWIN        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDWIN        ADDRESS ON FILE
CRUZ RODRIGUEZ, EDWIN M      ADDRESS ON FILE
Cruz Rodriguez, Edwin O.     ADDRESS ON FILE
Cruz Rodriguez, Edwin R.     ADDRESS ON FILE
CRUZ RODRIGUEZ, EFRAIN       ADDRESS ON FILE
CRUZ RODRIGUEZ, EFRAIN       ADDRESS ON FILE
CRUZ RODRIGUEZ, ELADIO       ADDRESS ON FILE
CRUZ RODRIGUEZ, ELBA         ADDRESS ON FILE
CRUZ RODRIGUEZ, ELINA M      ADDRESS ON FILE
CRUZ RODRIGUEZ, ELIOTT       ADDRESS ON FILE
CRUZ RODRIGUEZ, ELIZABETH    ADDRESS ON FILE
CRUZ RODRIGUEZ, ELKIS        ADDRESS ON FILE




                                                                         Page 1988 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1989 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RODRIGUEZ, ELVIN         ADDRESS ON FILE
Cruz Rodriguez, Elvin         ADDRESS ON FILE
CRUZ RODRIGUEZ, EMMA R.       ADDRESS ON FILE
CRUZ RODRIGUEZ, ENEIDA        ADDRESS ON FILE
CRUZ RODRIGUEZ, ENID Y        ADDRESS ON FILE
CRUZ RODRIGUEZ, ERASMO        ADDRESS ON FILE
CRUZ RODRIGUEZ, ERICA         ADDRESS ON FILE
CRUZ RODRIGUEZ, ERICA         ADDRESS ON FILE
CRUZ RODRIGUEZ, EVELISSE      ADDRESS ON FILE
CRUZ RODRIGUEZ, EVELYN A      ADDRESS ON FILE
CRUZ RODRÍGUEZ, EVERLIDES     JOSE H VIVAS VIVAS        PO BOX 330951                                          Ponce        PR      00733‐0951
CRUZ RODRÍGUEZ, EVERLIDES     JUAN R RODRIGUEZ          PO BOX 7693                                            PONCE        PR      00732‐7693
CRUZ RODRIGUEZ, EVERLIDES     ADDRESS ON FILE
CRUZ RODRIGUEZ, FELIX         ADDRESS ON FILE
CRUZ RODRIGUEZ, FERNANDO      ADDRESS ON FILE
CRUZ RODRIGUEZ, FRANCHESKA    ADDRESS ON FILE
CRUZ RODRIGUEZ, FRANCISCA E   ADDRESS ON FILE
Cruz Rodriguez, Francisco     ADDRESS ON FILE
CRUZ RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
CRUZ RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
CRUZ RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
CRUZ RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
CRUZ RODRIGUEZ, FREDESWINDO   ADDRESS ON FILE
CRUZ RODRIGUEZ, GABRIEL       ADDRESS ON FILE
CRUZ RODRIGUEZ, GILBERTO      ADDRESS ON FILE
CRUZ RODRIGUEZ, GLADYS        ADDRESS ON FILE
Cruz Rodriguez, Gladys        ADDRESS ON FILE
CRUZ RODRIGUEZ, GLADYS        ADDRESS ON FILE
CRUZ RODRIGUEZ, GLANGELINE    ADDRESS ON FILE
CRUZ RODRIGUEZ, GLORIA        ADDRESS ON FILE
CRUZ RODRIGUEZ, GLORIMAR      ADDRESS ON FILE
CRUZ RODRIGUEZ, GUILLERMINA   ADDRESS ON FILE
CRUZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
CRUZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
CRUZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
Cruz Rodriguez, Hector M      ADDRESS ON FILE
CRUZ RODRIGUEZ, HELEN         ADDRESS ON FILE
CRUZ RODRIGUEZ, HERIBERTO     ADDRESS ON FILE
CRUZ RODRIGUEZ, HUMBERTO      ADDRESS ON FILE
CRUZ RODRIGUEZ, INEABELLE     ADDRESS ON FILE
Cruz Rodriguez, Inocencio     ADDRESS ON FILE
CRUZ RODRIGUEZ, IRAIDA B      ADDRESS ON FILE
CRUZ RODRIGUEZ, IRIS D        ADDRESS ON FILE
CRUZ RODRIGUEZ, IRIS Y        ADDRESS ON FILE
CRUZ RODRIGUEZ, IRISEMA       ADDRESS ON FILE
CRUZ RODRIGUEZ, ISRAEL        ADDRESS ON FILE
CRUZ RODRIGUEZ, IVAN          ADDRESS ON FILE
CRUZ RODRIGUEZ, IVELISSE      ADDRESS ON FILE
CRUZ RODRIGUEZ, IVETTE        ADDRESS ON FILE
CRUZ RODRIGUEZ, JAIME         ADDRESS ON FILE
CRUZ RODRIGUEZ, JAMIL         ADDRESS ON FILE
CRUZ RODRIGUEZ, JANET         ADDRESS ON FILE
CRUZ RODRIGUEZ, JANET         ADDRESS ON FILE
CRUZ RODRIGUEZ, JANICE M      ADDRESS ON FILE
CRUZ RODRIGUEZ, JANNETTE      ADDRESS ON FILE
CRUZ RODRIGUEZ, JAVIER        ADDRESS ON FILE
CRUZ RODRIGUEZ, JAZMINE       ADDRESS ON FILE
CRUZ RODRIGUEZ, JESSICA M     ADDRESS ON FILE
CRUZ RODRIGUEZ, JEZENIA       ADDRESS ON FILE
CRUZ RODRIGUEZ, JOANNA M      ADDRESS ON FILE




                                                                          Page 1989 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1990 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RODRIGUEZ, JOHNNY        ADDRESS ON FILE
CRUZ RODRIGUEZ, JONATHAN      ADDRESS ON FILE
CRUZ RODRIGUEZ, JONATHAN      ADDRESS ON FILE
CRUZ RODRIGUEZ, JORGE         ADDRESS ON FILE
CRUZ RODRIGUEZ, JORGE         ADDRESS ON FILE
CRUZ RODRIGUEZ, JORGE H       ADDRESS ON FILE
CRUZ RODRIGUEZ, JORGE L       ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE          ADDRESS ON FILE
Cruz Rodriguez, Jose A        ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE A        ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE A        ADDRESS ON FILE
Cruz Rodriguez, Jose A        ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE A.       ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE H        ADDRESS ON FILE
Cruz Rodriguez, Jose H        ADDRESS ON FILE
Cruz Rodriguez, Jose M        ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE M.       ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE M.       ADDRESS ON FILE
CRUZ RODRIGUEZ, JOSE R        ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN          ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN          ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN          ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN          ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN C        ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN CARLOS   ADDRESS ON FILE
CRUZ RODRIGUEZ, JUAN L        ADDRESS ON FILE
CRUZ RODRIGUEZ, JUDITH        ADDRESS ON FILE
CRUZ RODRIGUEZ, JULIMIR       ADDRESS ON FILE
CRUZ RODRIGUEZ, JULIO         ADDRESS ON FILE
Cruz Rodriguez, Julio C       ADDRESS ON FILE
CRUZ RODRIGUEZ, JULIO C.      ADDRESS ON FILE
CRUZ RODRIGUEZ, JUSTINA       ADDRESS ON FILE
Cruz Rodriguez, Kamir J.      ADDRESS ON FILE
CRUZ RODRIGUEZ, KENNY         ADDRESS ON FILE
CRUZ RODRIGUEZ, KEVIN         ADDRESS ON FILE
CRUZ RODRIGUEZ, KEYSHLA M     ADDRESS ON FILE
CRUZ RODRIGUEZ, LETICIA       ADDRESS ON FILE
CRUZ RODRIGUEZ, LICEDIA       ADDRESS ON FILE
CRUZ RODRIGUEZ, LILLIAM E.    ADDRESS ON FILE
CRUZ RODRIGUEZ, LILLIAM E.    ADDRESS ON FILE
CRUZ RODRIGUEZ, LINDA         ADDRESS ON FILE
CRUZ RODRIGUEZ, LITZA M.      ADDRESS ON FILE
CRUZ RODRIGUEZ, LIZBETH G     ADDRESS ON FILE
CRUZ RODRIGUEZ, LOURDES M.    ADDRESS ON FILE
CRUZ RODRIGUEZ, LUCIA         ADDRESS ON FILE
CRUZ RODRIGUEZ, LUIS          ADDRESS ON FILE
CRUZ RODRIGUEZ, LUIS          ADDRESS ON FILE
CRUZ RODRIGUEZ, LUIS          ADDRESS ON FILE
CRUZ RODRIGUEZ, LUIS          ADDRESS ON FILE
Cruz Rodriguez, Luis A        ADDRESS ON FILE
Cruz Rodriguez, Luis A.       ADDRESS ON FILE
CRUZ RODRIGUEZ, LUISA M       ADDRESS ON FILE
CRUZ RODRIGUEZ, LUZ           ADDRESS ON FILE




                                                                          Page 1990 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 1991 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RODRIGUEZ, LUZ             ADDRESS ON FILE
CRUZ RODRIGUEZ, LUZ             ADDRESS ON FILE
CRUZ RODRIGUEZ, LUZ             ADDRESS ON FILE
Cruz Rodriguez, Luz M           ADDRESS ON FILE
CRUZ RODRIGUEZ, LUZ Y           ADDRESS ON FILE
CRUZ RODRIGUEZ, LYDIA           ADDRESS ON FILE
CRUZ RODRIGUEZ, MANUEL          ADDRESS ON FILE
CRUZ RODRIGUEZ, MARALIZ         ADDRESS ON FILE
CRUZ RODRIGUEZ, MARBELISSE      ADDRESS ON FILE
CRUZ RODRIGUEZ, MARGARITA       ADDRESS ON FILE
CRUZ RODRIGUEZ, MARIA           ADDRESS ON FILE
CRUZ RODRIGUEZ, MARIA C         ADDRESS ON FILE
CRUZ RODRIGUEZ, MARIA DE LO A   ADDRESS ON FILE
CRUZ RODRIGUEZ, MARIA DEL C     ADDRESS ON FILE
CRUZ RODRIGUEZ, MARIA M.        ADDRESS ON FILE
CRUZ RODRIGUEZ, MARIBEL A.      ADDRESS ON FILE
CRUZ RODRIGUEZ, MARISELY        ADDRESS ON FILE
CRUZ RODRIGUEZ, MARISELY        ADDRESS ON FILE
CRUZ RODRIGUEZ, MARISOL         ADDRESS ON FILE
CRUZ RODRIGUEZ, MARISOL         ADDRESS ON FILE
CRUZ RODRIGUEZ, MARITZA         ADDRESS ON FILE
CRUZ RODRIGUEZ, MARY            ADDRESS ON FILE
CRUZ RODRIGUEZ, MAYRA I.        ADDRESS ON FILE
CRUZ RODRIGUEZ, MELISSA         ADDRESS ON FILE
CRUZ RODRIGUEZ, MELISSA         ADDRESS ON FILE
CRUZ RODRIGUEZ, MICHAEL         ADDRESS ON FILE
CRUZ RODRIGUEZ, MICHAEL         ADDRESS ON FILE
CRUZ RODRIGUEZ, MIGUEL          ADDRESS ON FILE
CRUZ RODRIGUEZ, MIGUEL          ADDRESS ON FILE
CRUZ RODRIGUEZ, MIGUEL A.       ADDRESS ON FILE
CRUZ RODRIGUEZ, MILAGROS        ADDRESS ON FILE
CRUZ RODRIGUEZ, MILCA           ADDRESS ON FILE
CRUZ RODRIGUEZ, MIRIAM          ADDRESS ON FILE
CRUZ RODRIGUEZ, MYRNA           ADDRESS ON FILE
CRUZ RODRIGUEZ, MYRNA           ADDRESS ON FILE
Cruz Rodriguez, Nancy           ADDRESS ON FILE
CRUZ RODRIGUEZ, NELLY           ADDRESS ON FILE
CRUZ RODRIGUEZ, NELLY V.        ADDRESS ON FILE
CRUZ RODRIGUEZ, NELSON          ADDRESS ON FILE
CRUZ RODRIGUEZ, NORMA I         ADDRESS ON FILE
CRUZ RODRIGUEZ, NYDIA E         ADDRESS ON FILE
CRUZ RODRIGUEZ, OLGA            ADDRESS ON FILE
CRUZ RODRIGUEZ, OLGA I          ADDRESS ON FILE
CRUZ RODRIGUEZ, OMAYRA          ADDRESS ON FILE
CRUZ RODRIGUEZ, OPHIR           ADDRESS ON FILE
Cruz Rodriguez, Oscar           ADDRESS ON FILE
CRUZ RODRIGUEZ, OSCAR           ADDRESS ON FILE
CRUZ RODRIGUEZ, OSCAR           ADDRESS ON FILE
CRUZ RODRIGUEZ, OSVALDO         ADDRESS ON FILE
CRUZ RODRIGUEZ, OSVALDO         ADDRESS ON FILE
CRUZ RODRIGUEZ, PEDRO           ADDRESS ON FILE
CRUZ RODRIGUEZ, PEDRO           ADDRESS ON FILE
CRUZ RODRIGUEZ, PEDRO L         ADDRESS ON FILE
CRUZ RODRIGUEZ, QUINTIN         ADDRESS ON FILE
Cruz Rodriguez, Rafael A.       ADDRESS ON FILE
Cruz Rodriguez, Rafael Andres   ADDRESS ON FILE
CRUZ RODRIGUEZ, RAFFEL          ADDRESS ON FILE
CRUZ RODRIGUEZ, RANDOLPH        ADDRESS ON FILE
CRUZ RODRIGUEZ, RAUL            ADDRESS ON FILE
CRUZ RODRIGUEZ, RAUL            ADDRESS ON FILE




                                                                            Page 1991 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 1992 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RODRIGUEZ, REINALDO               ADDRESS ON FILE
Cruz Rodriguez, Reynaldo               ADDRESS ON FILE
CRUZ RODRIGUEZ, RICARDO                ADDRESS ON FILE
CRUZ RODRIGUEZ, ROBERTO                ADDRESS ON FILE
Cruz Rodriguez, Roberto                ADDRESS ON FILE
CRUZ RODRIGUEZ, ROBERTO                ADDRESS ON FILE
CRUZ RODRIGUEZ, ROBERTO                ADDRESS ON FILE
CRUZ RODRIGUEZ, RODRIGUO               ADDRESS ON FILE
CRUZ RODRIGUEZ, ROLANDO                ADDRESS ON FILE
CRUZ RODRIGUEZ, ROSA M                 ADDRESS ON FILE
CRUZ RODRIGUEZ, ROSA MATILDE Y OTROS   LUIS G MEDINA CABRERA     APARTADO 6648                                          CAGUAS       PR      00725‐6648
CRUZ RODRIGUEZ, ROSE                   ADDRESS ON FILE
CRUZ RODRIGUEZ, ROSEANN                ADDRESS ON FILE
CRUZ RODRIGUEZ, ROSIRIS                ADDRESS ON FILE
CRUZ RODRIGUEZ, RUTH                   ADDRESS ON FILE
CRUZ RODRIGUEZ, RUTH                   ADDRESS ON FILE
CRUZ RODRIGUEZ, RUTH I                 ADDRESS ON FILE
CRUZ RODRIGUEZ, SAMUEL                 ADDRESS ON FILE
Cruz Rodriguez, Samuel                 ADDRESS ON FILE
CRUZ RODRIGUEZ, SANDRA I               ADDRESS ON FILE
CRUZ RODRIGUEZ, SANTA                  ADDRESS ON FILE
CRUZ RODRIGUEZ, SHARON                 ADDRESS ON FILE
CRUZ RODRIGUEZ, SHEILA                 ADDRESS ON FILE
CRUZ RODRIGUEZ, SHEILA M.              ADDRESS ON FILE
CRUZ RODRIGUEZ, SHIRLEY                ADDRESS ON FILE
CRUZ RODRIGUEZ, SHIRLEY J.             ADDRESS ON FILE
Cruz Rodriguez, Socorro                ADDRESS ON FILE
CRUZ RODRIGUEZ, SONIA                  ADDRESS ON FILE
CRUZ RODRIGUEZ, SONIA                  ADDRESS ON FILE
CRUZ RODRIGUEZ, SONIA                  ADDRESS ON FILE
CRUZ RODRIGUEZ, SONIA I                ADDRESS ON FILE
CRUZ RODRIGUEZ, SONIA N                ADDRESS ON FILE
CRUZ RODRIGUEZ, STEPHANIE              ADDRESS ON FILE
CRUZ RODRIGUEZ, SUCHETTE               ADDRESS ON FILE
CRUZ RODRIGUEZ, TASHA                  ADDRESS ON FILE
CRUZ RODRIGUEZ, VANESSA                ADDRESS ON FILE
CRUZ RODRIGUEZ, VANESSA                ADDRESS ON FILE
CRUZ RODRIGUEZ, VICTOR                 ADDRESS ON FILE
CRUZ RODRIGUEZ, VIONNETTE              ADDRESS ON FILE
CRUZ RODRIGUEZ, VIRGEN T               ADDRESS ON FILE
CRUZ RODRIGUEZ, VIVIANA                ADDRESS ON FILE
CRUZ RODRIGUEZ, VRENLLY                ADDRESS ON FILE
CRUZ RODRIGUEZ, WANDA                  ADDRESS ON FILE
CRUZ RODRIGUEZ, WANDA E                ADDRESS ON FILE
CRUZ RODRIGUEZ, WANDA I                ADDRESS ON FILE
CRUZ RODRIGUEZ, WANDA I                ADDRESS ON FILE
CRUZ RODRIGUEZ, WANDA I.               ADDRESS ON FILE
CRUZ RODRIGUEZ, WILFREDO               ADDRESS ON FILE
CRUZ RODRIGUEZ, WILLIAM                ADDRESS ON FILE
Cruz Rodriguez, William                ADDRESS ON FILE
CRUZ RODRIGUEZ, WILLIAM                ADDRESS ON FILE
CRUZ RODRIGUEZ, XIOMARA                ADDRESS ON FILE
CRUZ RODRIGUEZ, YADIEL                 ADDRESS ON FILE
CRUZ RODRIGUEZ, YEIZARY                ADDRESS ON FILE
CRUZ RODRIGUEZ, YISEL M.               ADDRESS ON FILE
CRUZ RODRIGUEZ, ZULMA                  ADDRESS ON FILE
CRUZ RODRIGUEZ,JOSE R.                 ADDRESS ON FILE
CRUZ RODRIGUEZ,KIARA                   ADDRESS ON FILE
CRUZ ROHENA, ANA H.                    ADDRESS ON FILE
CRUZ ROHENA, CARMEN D.                 ADDRESS ON FILE




                                                                                   Page 1992 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1993 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                   Address2                        Address3   Address4   City          State   PostalCode   Country
CRUZ ROHENA, MARITZA        ADDRESS ON FILE
CRUZ ROJA AMERICANA         PO BOX 366046                                                                    SAN JUAN      PR      00936
CRUZ ROJA AMERICANA         PO BOX 3668                                                                      SAN JUAN      PR      00936
CRUZ ROJA AMERICANA         PO BOX 9021067                                                                   SAN JUAN      PR      00902‐1067
CRUZ ROJA AMERICANA         REGION 54 P O BOX 905724                                                         CHARLOTTE     NC      28290‐5724
CRUZ ROJAS, DIMARIS         ADDRESS ON FILE
CRUZ ROJAS, MANUEL          ADDRESS ON FILE
CRUZ ROJAS, MELISSA         ADDRESS ON FILE
Cruz Rojas, Rafael M        ADDRESS ON FILE
CRUZ ROJAS, SOL MARIA       ADDRESS ON FILE
CRUZ ROJAS, WANDA I         ADDRESS ON FILE
CRUZ ROJAS, WILFREDO        ADDRESS ON FILE
CRUZ ROLDAN, MARIA          ADDRESS ON FILE
CRUZ ROLDAN, NAYDA G.       ADDRESS ON FILE
CRUZ ROLDAN, RUTH BELINDA   ADDRESS ON FILE
CRUZ ROLDAN, SYD            ADDRESS ON FILE
CRUZ ROLON, HECTOR          ADDRESS ON FILE
CRUZ ROLON, ISMAEL          ADDRESS ON FILE
Cruz Rolon, Jorge A         ADDRESS ON FILE
CRUZ ROLON, MARIA Y         ADDRESS ON FILE
CRUZ ROLON, PABLO           ADDRESS ON FILE
Cruz Roman, Ada E           ADDRESS ON FILE
CRUZ ROMAN, ANA J           ADDRESS ON FILE
Cruz Roman, Angel           ADDRESS ON FILE
Cruz Roman, Antonio         ADDRESS ON FILE
CRUZ ROMAN, ARAMINTA        ADDRESS ON FILE
CRUZ ROMAN, BLANCA          ADDRESS ON FILE
Cruz Roman, Carlos A.       ADDRESS ON FILE
CRUZ ROMAN, CARMEN M.       ADDRESS ON FILE
CRUZ ROMAN, CARMEN S        ADDRESS ON FILE
CRUZ ROMAN, CELESTINA       ADDRESS ON FILE
CRUZ ROMAN, EDUARDO         ADDRESS ON FILE
CRUZ ROMAN, FELIX           ADDRESS ON FILE
CRUZ ROMAN, GERONIMO        ADDRESS ON FILE
CRUZ ROMAN, HERIBERTO       ADDRESS ON FILE
CRUZ ROMAN, ISABEL          ADDRESS ON FILE
CRUZ ROMAN, ISAIAS          ADDRESS ON FILE
CRUZ ROMAN, ISRAEL          ADDRESS ON FILE
CRUZ ROMAN, JERRY N         ADDRESS ON FILE
Cruz Roman, Jerry N         ADDRESS ON FILE
CRUZ ROMAN, JESUS F         ADDRESS ON FILE
CRUZ ROMAN, JOSE            ADDRESS ON FILE
CRUZ ROMAN, JOSE A          ADDRESS ON FILE
CRUZ ROMAN, JOSE R          ADDRESS ON FILE
CRUZ ROMAN, JOSEPH          ADDRESS ON FILE
CRUZ ROMAN, JOSUE           ADDRESS ON FILE
CRUZ ROMAN, JUAN R.         ADDRESS ON FILE
CRUZ ROMAN, MARIA           ADDRESS ON FILE
CRUZ ROMAN, MARIA A.        ADDRESS ON FILE
CRUZ ROMAN, MARIA D         ADDRESS ON FILE
CRUZ ROMAN, MARIA E.        ADDRESS ON FILE
CRUZ ROMAN, MARIA ESTHER    ADDRESS ON FILE
CRUZ ROMAN, MIRIAM          ADDRESS ON FILE
CRUZ ROMAN, MOISES          ADDRESS ON FILE
CRUZ ROMAN, OLGA            ADDRESS ON FILE
CRUZ ROMAN, OLGA            ADDRESS ON FILE
CRUZ ROMAN, OLGA            ADDRESS ON FILE
CRUZ ROMAN, OLGA ARELYS     ADDRESS ON FILE
CRUZ ROMAN, RAFAEL          ADDRESS ON FILE
CRUZ ROMAN, ROSA            ADDRESS ON FILE




                                                                        Page 1993 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1994 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ROMAN, WILFREDO          ADDRESS ON FILE
CRUZ ROMAN, WILFREDO          ADDRESS ON FILE
CRUZ ROMAN, WILMER            ADDRESS ON FILE
CRUZ ROMERO, FELIX            ADDRESS ON FILE
CRUZ ROMERO, FRANCISCO A.     ADDRESS ON FILE
CRUZ ROMERO, JUAN C           ADDRESS ON FILE
CRUZ ROMERO, LINETTE          ADDRESS ON FILE
CRUZ ROMERO, LUZ              ADDRESS ON FILE
CRUZ ROMERO, LUZ ENILDA       ADDRESS ON FILE
CRUZ ROMERO, MARGARITA        ADDRESS ON FILE
CRUZ ROMERO, MARITZA          ADDRESS ON FILE
CRUZ ROMERO, MYRNA            ADDRESS ON FILE
CRUZ ROMERO, SHIRLEY          ADDRESS ON FILE
CRUZ RONDON MD, ANA           ADDRESS ON FILE
Cruz Rondon, Louis A          ADDRESS ON FILE
CRUZ ROQUE, ADA N             ADDRESS ON FILE
Cruz Roque, Reinaldo J        ADDRESS ON FILE
CRUZ ROSA, ALEXIS             ADDRESS ON FILE
CRUZ ROSA, CARLOS E           ADDRESS ON FILE
CRUZ ROSA, CLARAVEL           ADDRESS ON FILE
CRUZ ROSA, DANIEL             ADDRESS ON FILE
CRUZ ROSA, GRISEL             ADDRESS ON FILE
CRUZ ROSA, HAMILTON           ADDRESS ON FILE
Cruz Rosa, Ismael J           ADDRESS ON FILE
CRUZ ROSA, JANNIRA            ADDRESS ON FILE
CRUZ ROSA, JAVIER             ADDRESS ON FILE
CRUZ ROSA, JESSICA            ADDRESS ON FILE
CRUZ ROSA, JESSICA L          ADDRESS ON FILE
CRUZ ROSA, JOSE E             ADDRESS ON FILE
CRUZ ROSA, JOSE L.            ADDRESS ON FILE
CRUZ ROSA, KAREN              ADDRESS ON FILE
CRUZ ROSA, LOURDES J.         ADDRESS ON FILE
CRUZ ROSA, LUIS               ADDRESS ON FILE
CRUZ ROSA, MIGUEL             ADDRESS ON FILE
CRUZ ROSA, OLGA H             ADDRESS ON FILE
CRUZ ROSA, VANESSA            ADDRESS ON FILE
CRUZ ROSA, WANDA              ADDRESS ON FILE
CRUZ ROSA, WILFREDO           ADDRESS ON FILE
CRUZ ROSA, WILMA              ADDRESS ON FILE
CRUZ ROSA, WILNELIA           ADDRESS ON FILE
CRUZ ROSA, ZOILA N.           ADDRESS ON FILE
CRUZ ROSADO, AIDA             ADDRESS ON FILE
CRUZ ROSADO, ANGEL            ADDRESS ON FILE
CRUZ ROSADO, ASUNCION         ADDRESS ON FILE
CRUZ ROSADO, CARLOS           ADDRESS ON FILE
CRUZ ROSADO, CARLOS           ADDRESS ON FILE
CRUZ ROSADO, CARMEN M.        ADDRESS ON FILE
CRUZ ROSADO, CARMEN Y         ADDRESS ON FILE
CRUZ ROSADO, CINDY            ADDRESS ON FILE
CRUZ ROSADO, DEBI             ADDRESS ON FILE
CRUZ ROSADO, EDUARDO          ADDRESS ON FILE
CRUZ ROSADO, EDUARDO M        ADDRESS ON FILE
CRUZ ROSADO, EILIN            ADDRESS ON FILE
CRUZ ROSADO, EILIN            ADDRESS ON FILE
CRUZ ROSADO, ELIANA DENISSE   ADDRESS ON FILE
CRUZ ROSADO, EMILIO           ADDRESS ON FILE
CRUZ ROSADO, ESTHER           ADDRESS ON FILE
CRUZ ROSADO, FELIX            ADDRESS ON FILE
Cruz Rosado, Francisco        ADDRESS ON FILE
CRUZ ROSADO, GLADYS           ADDRESS ON FILE




                                                                          Page 1994 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 1995 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ROSADO, GRISELDA       ADDRESS ON FILE
CRUZ ROSADO, GUILLERMO J.   ADDRESS ON FILE
CRUZ ROSADO, ILEANA         ADDRESS ON FILE
CRUZ ROSADO, ISABEL         ADDRESS ON FILE
CRUZ ROSADO, JOSE           ADDRESS ON FILE
Cruz Rosado, Jose A         ADDRESS ON FILE
CRUZ ROSADO, JOSE L         ADDRESS ON FILE
CRUZ ROSADO, JUSTINA        ADDRESS ON FILE
CRUZ ROSADO, KARISA         ADDRESS ON FILE
CRUZ ROSADO, LUIS           ADDRESS ON FILE
CRUZ ROSADO, MARITZA        ADDRESS ON FILE
CRUZ ROSADO, MARITZA        ADDRESS ON FILE
CRUZ ROSADO, MARTHA         ADDRESS ON FILE
CRUZ ROSADO, MIGUEL         ADDRESS ON FILE
CRUZ ROSADO, ODALIS         ADDRESS ON FILE
CRUZ ROSADO, OMAR           ADDRESS ON FILE
CRUZ ROSADO, OSWALDO        ADDRESS ON FILE
CRUZ ROSADO, RAFAEL         ADDRESS ON FILE
CRUZ ROSADO, RAMON          ADDRESS ON FILE
CRUZ ROSADO, ROSA M         ADDRESS ON FILE
CRUZ ROSADO, RUTH           ADDRESS ON FILE
CRUZ ROSADO, SANDRA         ADDRESS ON FILE
CRUZ ROSADO, SONIA          ADDRESS ON FILE
CRUZ ROSADO, TERESA         ADDRESS ON FILE
CRUZ ROSADO, VILMARIE       ADDRESS ON FILE
CRUZ ROSADO, WILFREDO       ADDRESS ON FILE
CRUZ ROSADO, WILLIAM        ADDRESS ON FILE
CRUZ ROSADO, YALIXA         ADDRESS ON FILE
CRUZ ROSADO, YESENIA        ADDRESS ON FILE
CRUZ ROSALY, CRISTINA       ADDRESS ON FILE
CRUZ ROSARIO, ABRAHAM       ADDRESS ON FILE
CRUZ ROSARIO, AIDA L        ADDRESS ON FILE
CRUZ ROSARIO, ANA H         ADDRESS ON FILE
CRUZ ROSARIO, ANGELA        ADDRESS ON FILE
CRUZ ROSARIO, BASILISA      ADDRESS ON FILE
CRUZ ROSARIO, BETSABEE      ADDRESS ON FILE
CRUZ ROSARIO, CAMILLE       ADDRESS ON FILE
CRUZ ROSARIO, CARMEN        ADDRESS ON FILE
CRUZ ROSARIO, CARMEN E      ADDRESS ON FILE
CRUZ ROSARIO, CARMEN S      ADDRESS ON FILE
CRUZ ROSARIO, DAMARIS       ADDRESS ON FILE
CRUZ ROSARIO, DAMARIS J     ADDRESS ON FILE
CRUZ ROSARIO, DAMARISJ      ADDRESS ON FILE
CRUZ ROSARIO, DAVIANA       ADDRESS ON FILE
Cruz Rosario, David         ADDRESS ON FILE
CRUZ ROSARIO, EDNA          ADDRESS ON FILE
CRUZ ROSARIO, ELIZABETH     ADDRESS ON FILE
CRUZ ROSARIO, ELIZABETH     ADDRESS ON FILE
CRUZ ROSARIO, FELIX         ADDRESS ON FILE
CRUZ ROSARIO, GIL           ADDRESS ON FILE
CRUZ ROSARIO, GILBERTO      ADDRESS ON FILE
CRUZ ROSARIO, GLORIBEL      ADDRESS ON FILE
CRUZ ROSARIO, HERIBERTO     ADDRESS ON FILE
CRUZ ROSARIO, ISAURA        ADDRESS ON FILE
CRUZ ROSARIO, ISIDORA       ADDRESS ON FILE
CRUZ ROSARIO, JESSICA       ADDRESS ON FILE
CRUZ ROSARIO, JEZELLE       ADDRESS ON FILE
CRUZ ROSARIO, JEZELLE       ADDRESS ON FILE
CRUZ ROSARIO, JOHNNY        ADDRESS ON FILE
CRUZ ROSARIO, JOSE          ADDRESS ON FILE




                                                                        Page 1995 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 1996 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ROSARIO, JOSE        ADDRESS ON FILE
CRUZ ROSARIO, JOSE        ADDRESS ON FILE
CRUZ ROSARIO, JOSE R      ADDRESS ON FILE
CRUZ ROSARIO, JOSELITO    ADDRESS ON FILE
CRUZ ROSARIO, JUAN        ADDRESS ON FILE
CRUZ ROSARIO, LUZ A       ADDRESS ON FILE
CRUZ ROSARIO, LUZ E       ADDRESS ON FILE
CRUZ ROSARIO, LUZ ELENA   ADDRESS ON FILE
Cruz Rosario, Magdalena   ADDRESS ON FILE
CRUZ ROSARIO, MARIA S     ADDRESS ON FILE
CRUZ ROSARIO, NITIDA      ADDRESS ON FILE
CRUZ ROSARIO, NOELIA      ADDRESS ON FILE
CRUZ ROSARIO, OMAYRA A    ADDRESS ON FILE
CRUZ ROSARIO, PASCUAL     ADDRESS ON FILE
CRUZ ROSARIO, PEDRO       ADDRESS ON FILE
CRUZ ROSARIO, PERFECTO    ADDRESS ON FILE
CRUZ ROSARIO, WANDA L.    ADDRESS ON FILE
CRUZ ROSARIO, WILLIAM     ADDRESS ON FILE
CRUZ ROSARIO, YADIRA      ADDRESS ON FILE
CRUZ ROSAS, JEAN          ADDRESS ON FILE
CRUZ ROSAS, RIGMARIE      ADDRESS ON FILE
CRUZ ROSAS, SHERLEY       ADDRESS ON FILE
CRUZ ROSHELY, M           ADDRESS ON FILE
CRUZ ROSS, ADRIAN         ADDRESS ON FILE
CRUZ ROVIRA, LESLIE       ADDRESS ON FILE
CRUZ RUBERO, ALBA         ADDRESS ON FILE
CRUZ RUBIO, JOSE A        ADDRESS ON FILE
CRUZ RUBIO, NYDIA E.      ADDRESS ON FILE
Cruz Rubio, Vanessa       ADDRESS ON FILE
CRUZ RUIZ COLON           ADDRESS ON FILE
CRUZ RUIZ, ALBERTO        ADDRESS ON FILE
CRUZ RUIZ, ALEJANDRO      ADDRESS ON FILE
CRUZ RUIZ, BARBARA        ADDRESS ON FILE
CRUZ RUIZ, CARMEN S       ADDRESS ON FILE
CRUZ RUIZ, CHANELLY       ADDRESS ON FILE
CRUZ RUIZ, CRISTINA       ADDRESS ON FILE
CRUZ RUIZ, DAMARIS        ADDRESS ON FILE
CRUZ RUIZ, EVELYN         ADDRESS ON FILE
CRUZ RUIZ, EVELYN         ADDRESS ON FILE
CRUZ RUIZ, GLORIA         ADDRESS ON FILE
CRUZ RUIZ, HAYDEE         ADDRESS ON FILE
CRUZ RUIZ, HILDA          ADDRESS ON FILE
CRUZ RUIZ, JAIME          ADDRESS ON FILE
CRUZ RUIZ, JANA S         ADDRESS ON FILE
CRUZ RUIZ, JESSICA        ADDRESS ON FILE
CRUZ RUIZ, JOSE           ADDRESS ON FILE
CRUZ RUIZ, JOSE           ADDRESS ON FILE
CRUZ RUIZ, KELVIN J.      ADDRESS ON FILE
CRUZ RUIZ, LAYRA          ADDRESS ON FILE
CRUZ RUIZ, LUZ D          ADDRESS ON FILE
CRUZ RUIZ, MARIA V        ADDRESS ON FILE
CRUZ RUIZ, MARISELLE      ADDRESS ON FILE
CRUZ RUIZ, NADJA M        ADDRESS ON FILE
CRUZ RUIZ, NYLENE D       ADDRESS ON FILE
CRUZ RUIZ, RAIMUNDO       ADDRESS ON FILE
CRUZ RUIZ, RAIZA          ADDRESS ON FILE
CRUZ RUIZ, ROGELIO        ADDRESS ON FILE
CRUZ RUIZ, SELLYSMAR      ADDRESS ON FILE
CRUZ RUIZ, SOLMARI        ADDRESS ON FILE
CRUZ RUIZ, TOMAS          ADDRESS ON FILE




                                                                      Page 1996 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 1997 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ RUIZ, TOMASA             ADDRESS ON FILE
CRUZ RUIZ, VICENTE            ADDRESS ON FILE
CRUZ RUIZ, VICTOR A           ADDRESS ON FILE
CRUZ RUIZ, WANDA L.           ADDRESS ON FILE
Cruz Ruiz, Wilfredo L         ADDRESS ON FILE
CRUZ RUIZ,WILLIAM             ADDRESS ON FILE
CRUZ RULLAN, ERICK J          ADDRESS ON FILE
CRUZ RULLAN, MELVIN           ADDRESS ON FILE
CRUZ RUPERTO, YAELIA I        ADDRESS ON FILE
CRUZ RUPERTO,YESENIA E.       ADDRESS ON FILE
CRUZ RUSSE, AIMY I            ADDRESS ON FILE
CRUZ RUSSE, JOMARIE           ADDRESS ON FILE
CRUZ RUSSE, NILDA R           ADDRESS ON FILE
CRUZ RUSSI, ZULEYKA           ADDRESS ON FILE
CRUZ SAEZ, RAMONITA           ADDRESS ON FILE
CRUZ SAEZ, ZULMA I            ADDRESS ON FILE
CRUZ SALAMAN, HECTOR          ADDRESS ON FILE
CRUZ SALAMAN, HECTOR          ADDRESS ON FILE
CRUZ SALAS, ANGEL             ADDRESS ON FILE
CRUZ SALCEDO, JUAN            ADDRESS ON FILE
Cruz Salcedo, Juan A.         ADDRESS ON FILE
CRUZ SALCEDO, NORELIS M       ADDRESS ON FILE
CRUZ SALGADO, ELIZABETH       ADDRESS ON FILE
CRUZ SALGADO, JOSE            ADDRESS ON FILE
CRUZ SALGADO, JUANA L.        ADDRESS ON FILE
Cruz Salgado, Maria E         ADDRESS ON FILE
Cruz Salgado, Roberto         ADDRESS ON FILE
CRUZ SALGADO, ROBERTO         ADDRESS ON FILE
CRUZ SAMPLO, ALICIA           ADDRESS ON FILE
CRUZ SAN INOCENCIO, JUANITA   ADDRESS ON FILE
CRUZ SANABRIA, ARNALDO        ADDRESS ON FILE
CRUZ SANABRIA, ISMAEL         ADDRESS ON FILE
CRUZ SANABRIA, JESUS          ADDRESS ON FILE
CRUZ SANABRIA, MARIBEL        ADDRESS ON FILE
CRUZ SANABRIA, MILLIEL        ADDRESS ON FILE
CRUZ SANABRIA, MILLIEL        ADDRESS ON FILE
CRUZ SANABRIA, RICARDO A.     ADDRESS ON FILE
CRUZ SANCHEZ MD, HERNAN       ADDRESS ON FILE
CRUZ SANCHEZ OTERO            ADDRESS ON FILE
CRUZ SANCHEZ, ADA             ADDRESS ON FILE
CRUZ SANCHEZ, ALFONSO         ADDRESS ON FILE
CRUZ SANCHEZ, AMARILYS        ADDRESS ON FILE
CRUZ SANCHEZ, ANA D           ADDRESS ON FILE
CRUZ SANCHEZ, ANA D.          ADDRESS ON FILE
CRUZ SANCHEZ, ANA Y           ADDRESS ON FILE
CRUZ SANCHEZ, ANGEL           ADDRESS ON FILE
CRUZ SANCHEZ, ANGEL E         ADDRESS ON FILE
CRUZ SANCHEZ, ANGELINA        ADDRESS ON FILE
CRUZ SANCHEZ, ANIBAL          ADDRESS ON FILE
CRUZ SANCHEZ, ANTHONY         ADDRESS ON FILE
Cruz Sanchez, Antonio A       ADDRESS ON FILE
CRUZ SANCHEZ, CARLOS W.       ADDRESS ON FILE
CRUZ SANCHEZ, CARMELO         ADDRESS ON FILE
CRUZ SANCHEZ, CARMEN          ADDRESS ON FILE
CRUZ SANCHEZ, CARMEN I        ADDRESS ON FILE
CRUZ SANCHEZ, CARMEN L        ADDRESS ON FILE
CRUZ SANCHEZ, CARMEN T        ADDRESS ON FILE
CRUZ SANCHEZ, CELIMAR         ADDRESS ON FILE
CRUZ SANCHEZ, CLARA           ADDRESS ON FILE
Cruz Sanchez, Damian          ADDRESS ON FILE




                                                                          Page 1997 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 1998 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ SANCHEZ, DANIEL         ADDRESS ON FILE
Cruz Sanchez, David          ADDRESS ON FILE
CRUZ SANCHEZ, DAVID          ADDRESS ON FILE
CRUZ SANCHEZ, DAVID          ADDRESS ON FILE
CRUZ SANCHEZ, DEBORAH K      ADDRESS ON FILE
CRUZ SANCHEZ, DELIA M        ADDRESS ON FILE
CRUZ SANCHEZ, EDWIN JOSE     ADDRESS ON FILE
CRUZ SANCHEZ, ELIEZER        ADDRESS ON FILE
Cruz Sanchez, Emiliano       ADDRESS ON FILE
CRUZ SANCHEZ, EMILIANO       ADDRESS ON FILE
CRUZ SANCHEZ, ERNIE          ADDRESS ON FILE
Cruz Sanchez, Evelio         ADDRESS ON FILE
CRUZ SANCHEZ, FERNANDO       ADDRESS ON FILE
CRUZ SANCHEZ, GENESIS        ADDRESS ON FILE
CRUZ SANCHEZ, GLORIA I.      ADDRESS ON FILE
CRUZ SANCHEZ, GRISEL         ADDRESS ON FILE
CRUZ SANCHEZ, HECTOR         ADDRESS ON FILE
CRUZ SANCHEZ, IDA            ADDRESS ON FILE
CRUZ SANCHEZ, IRIS           ADDRESS ON FILE
Cruz Sanchez, Isabel         ADDRESS ON FILE
Cruz Sanchez, Ivelisse       ADDRESS ON FILE
CRUZ SANCHEZ, IVELISSE       ADDRESS ON FILE
CRUZ SANCHEZ, JASMINE        ADDRESS ON FILE
CRUZ SANCHEZ, JAVIER         ADDRESS ON FILE
CRUZ SANCHEZ, JESUS          ADDRESS ON FILE
CRUZ SANCHEZ, JESUS M.       ADDRESS ON FILE
CRUZ SANCHEZ, JOEL           ADDRESS ON FILE
CRUZ SANCHEZ, JOEL           ADDRESS ON FILE
CRUZ SANCHEZ, JOHN           ADDRESS ON FILE
CRUZ SANCHEZ, JORGE          ADDRESS ON FILE
CRUZ SANCHEZ, JOSE           ADDRESS ON FILE
CRUZ SANCHEZ, JOSE           ADDRESS ON FILE
CRUZ SANCHEZ, JOSE           ADDRESS ON FILE
CRUZ SANCHEZ, JOSE A.        ADDRESS ON FILE
CRUZ SANCHEZ, JOSE A.        ADDRESS ON FILE
CRUZ SANCHEZ, JUAN B         ADDRESS ON FILE
CRUZ SANCHEZ, KELVIN         ADDRESS ON FILE
CRUZ SANCHEZ, LAURA E        ADDRESS ON FILE
CRUZ SANCHEZ, LUIS M.        ADDRESS ON FILE
CRUZ SANCHEZ, LUZ M          ADDRESS ON FILE
CRUZ SANCHEZ, LYDIA          ADDRESS ON FILE
CRUZ SANCHEZ, MAGDALIZ       ADDRESS ON FILE
Cruz Sanchez, Manuel         ADDRESS ON FILE
CRUZ SANCHEZ, MARIA DEL C    ADDRESS ON FILE
CRUZ SANCHEZ, MARIA JUDITH   ADDRESS ON FILE
CRUZ SANCHEZ, MARIA L        ADDRESS ON FILE
CRUZ SANCHEZ, MARIA T.       ADDRESS ON FILE
CRUZ SANCHEZ, MARIEL         ADDRESS ON FILE
CRUZ SANCHEZ, MARILYN        ADDRESS ON FILE
CRUZ SANCHEZ, MARINILDA      ADDRESS ON FILE
CRUZ SANCHEZ, MINERVA        ADDRESS ON FILE
CRUZ SANCHEZ, NEFTLI         ADDRESS ON FILE
CRUZ SANCHEZ, NELSON         ADDRESS ON FILE
CRUZ SANCHEZ, NILDA I        ADDRESS ON FILE
CRUZ SANCHEZ, NOELIA         ADDRESS ON FILE
CRUZ SANCHEZ, NYDIA          ADDRESS ON FILE
CRUZ SANCHEZ, OLGA           ADDRESS ON FILE
CRUZ SANCHEZ, PEDRO J.       ADDRESS ON FILE
CRUZ SANCHEZ, ROBERTO        ADDRESS ON FILE
CRUZ SANCHEZ, RUBEN D.       ADDRESS ON FILE




                                                                         Page 1998 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 1999 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ SANCHEZ, STEPHANY     ADDRESS ON FILE
CRUZ SANCHEZ, TOMAS        ADDRESS ON FILE
Cruz Sanchez, Victor       ADDRESS ON FILE
CRUZ SANCHEZ, VILMA J      ADDRESS ON FILE
CRUZ SANCHEZ, YAMIL        ADDRESS ON FILE
CRUZ SANCHEZ, YARELIS      ADDRESS ON FILE
Cruz Sanchez, Yaritza      ADDRESS ON FILE
CRUZ SANCHEZ, YARITZA      ADDRESS ON FILE
CRUZ SANCHEZ, YESENIA      ADDRESS ON FILE
CRUZ SANCHEZ,EUNICE        ADDRESS ON FILE
CRUZ SANCHEZ,JENNIFFER     ADDRESS ON FILE
CRUZ SANDOVAL, EDDIE       ADDRESS ON FILE
CRUZ SANDOVAL, KASSANDRA   ADDRESS ON FILE
CRUZ SANES, JUAN           ADDRESS ON FILE
CRUZ SANES, MYRIAM         ADDRESS ON FILE
CRUZ SANTA, CARLOS         ADDRESS ON FILE
CRUZ SANTA, CARMEN         ADDRESS ON FILE
CRUZ SANTA, IRIS           ADDRESS ON FILE
CRUZ SANTA, IRIS           ADDRESS ON FILE
CRUZ SANTA, LURYAN         ADDRESS ON FILE
CRUZ SANTA, NOELIA         ADDRESS ON FILE
CRUZ SANTA, NORIMAR        ADDRESS ON FILE
CRUZ SANTAELLA, SAMUEL     ADDRESS ON FILE
CRUZ SANTALIZ, JAVIER      ADDRESS ON FILE
CRUZ SANTALIZ, JAVIER      ADDRESS ON FILE
CRUZ SANTANA, ANA M        ADDRESS ON FILE
CRUZ SANTANA, ANA M        ADDRESS ON FILE
CRUZ SANTANA, ANGEL        ADDRESS ON FILE
CRUZ SANTANA, CARMEN       ADDRESS ON FILE
CRUZ SANTANA, CARMEN L     ADDRESS ON FILE
CRUZ SANTANA, DAVID        ADDRESS ON FILE
CRUZ SANTANA, DICKIE       ADDRESS ON FILE
CRUZ SANTANA, EMILY        ADDRESS ON FILE
CRUZ SANTANA, JOAN         ADDRESS ON FILE
CRUZ SANTANA, JUAN M.      ADDRESS ON FILE
CRUZ SANTANA, LUIS         ADDRESS ON FILE
CRUZ SANTANA, LYDIA        ADDRESS ON FILE
Cruz Santana, Maria T      ADDRESS ON FILE
CRUZ SANTANA, MARISSA      ADDRESS ON FILE
CRUZ SANTANA, MINERVA      ADDRESS ON FILE
Cruz Santana, Noel         ADDRESS ON FILE
CRUZ SANTANA, SARA         ADDRESS ON FILE
CRUZ SANTANA, SHEILA       ADDRESS ON FILE
CRUZ SANTEL, EDGARDO       ADDRESS ON FILE
Cruz Santel, Edgardo       ADDRESS ON FILE
CRUZ SANTEL, ILEANA        ADDRESS ON FILE
CRUZ SANTIAGO MD, JOSE     ADDRESS ON FILE
CRUZ SANTIAGO ROMERO       ADDRESS ON FILE
Cruz Santiago, Abigail     ADDRESS ON FILE
CRUZ SANTIAGO, ALBA I      ADDRESS ON FILE
Cruz Santiago, Alfredo     ADDRESS ON FILE
CRUZ SANTIAGO, AMANDALEE   ADDRESS ON FILE
CRUZ SANTIAGO, ANA A       ADDRESS ON FILE
CRUZ SANTIAGO, ANA M.      ADDRESS ON FILE
CRUZ SANTIAGO, ANGEL       ADDRESS ON FILE
CRUZ SANTIAGO, ANGEL L     ADDRESS ON FILE
CRUZ SANTIAGO, ANGELICA    ADDRESS ON FILE
CRUZ SANTIAGO, ANTONIO     ADDRESS ON FILE
CRUZ SANTIAGO, ANYELI      ADDRESS ON FILE
CRUZ SANTIAGO, ARNALDO     ADDRESS ON FILE




                                                                       Page 1999 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2000 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ SANTIAGO, BENEDICTA      ADDRESS ON FILE
Cruz Santiago, Brendairin     ADDRESS ON FILE
CRUZ SANTIAGO, BRENDALIZ      ADDRESS ON FILE
CRUZ SANTIAGO, BUENAVENTURA   ADDRESS ON FILE
CRUZ SANTIAGO, CARLOS         ADDRESS ON FILE
CRUZ SANTIAGO, CARLOS J       ADDRESS ON FILE
CRUZ SANTIAGO, CARLOS J       ADDRESS ON FILE
CRUZ SANTIAGO, CARMEN         ADDRESS ON FILE
CRUZ SANTIAGO, CARMEN C.      ADDRESS ON FILE
CRUZ SANTIAGO, CARMEN N.      ADDRESS ON FILE
CRUZ SANTIAGO, CELIA          ADDRESS ON FILE
CRUZ SANTIAGO, CRUCITA        ADDRESS ON FILE
CRUZ SANTIAGO, CYNTHIA        ADDRESS ON FILE
CRUZ SANTIAGO, CYNTHIA I      ADDRESS ON FILE
CRUZ SANTIAGO, DANIEL         ADDRESS ON FILE
CRUZ SANTIAGO, DAYSSY         ADDRESS ON FILE
CRUZ SANTIAGO, DIANA I        ADDRESS ON FILE
CRUZ SANTIAGO, DIANA L        ADDRESS ON FILE
CRUZ SANTIAGO, DIANA L.       ADDRESS ON FILE
CRUZ SANTIAGO, DIGNA          ADDRESS ON FILE
CRUZ SANTIAGO, DORIS          ADDRESS ON FILE
CRUZ SANTIAGO, EDDA E         ADDRESS ON FILE
CRUZ SANTIAGO, EDDIE MANUEL   ADDRESS ON FILE
CRUZ SANTIAGO, EDGARDO        ADDRESS ON FILE
CRUZ SANTIAGO, EDWIN          ADDRESS ON FILE
CRUZ SANTIAGO, ELSA I         ADDRESS ON FILE
CRUZ SANTIAGO, ERNESTO        ADDRESS ON FILE
CRUZ SANTIAGO, ESTEBANIA      ADDRESS ON FILE
Cruz Santiago, Eudie J        ADDRESS ON FILE
Cruz Santiago, Fano S         ADDRESS ON FILE
CRUZ SANTIAGO, FELIX          ADDRESS ON FILE
CRUZ SANTIAGO, FELIX          ADDRESS ON FILE
Cruz Santiago, Felix L        ADDRESS ON FILE
Cruz Santiago, Francisco      ADDRESS ON FILE
Cruz Santiago, Francisco J    ADDRESS ON FILE
CRUZ SANTIAGO, GERALDO        ADDRESS ON FILE
CRUZ SANTIAGO, GLADYS         ADDRESS ON FILE
CRUZ SANTIAGO, GLORIMAR       ADDRESS ON FILE
CRUZ SANTIAGO, HECTOR E.      ADDRESS ON FILE
CRUZ SANTIAGO, HERMINIO       ADDRESS ON FILE
CRUZ SANTIAGO, HILDA          ADDRESS ON FILE
CRUZ SANTIAGO, HIRAM G.       ADDRESS ON FILE
CRUZ SANTIAGO, ILCA           ADDRESS ON FILE
CRUZ SANTIAGO, ILEANA         ADDRESS ON FILE
CRUZ SANTIAGO, IRIS M         ADDRESS ON FILE
Cruz Santiago, Jaime          ADDRESS ON FILE
CRUZ SANTIAGO, JEANNERIS      ADDRESS ON FILE
CRUZ SANTIAGO, JOSE           ADDRESS ON FILE
CRUZ SANTIAGO, JOSE           ADDRESS ON FILE
Cruz Santiago, Jose A         ADDRESS ON FILE
CRUZ SANTIAGO, JOSE A.        ADDRESS ON FILE
Cruz Santiago, Jose M.        ADDRESS ON FILE
CRUZ SANTIAGO, JOSUE          ADDRESS ON FILE
CRUZ SANTIAGO, JUAN M.        ADDRESS ON FILE
CRUZ SANTIAGO, LERYNITZA      ADDRESS ON FILE
CRUZ SANTIAGO, LIBRADA R.     ADDRESS ON FILE
CRUZ SANTIAGO, LISMARY        ADDRESS ON FILE
CRUZ SANTIAGO, LIZETTE        ADDRESS ON FILE
CRUZ SANTIAGO, LUIS           ADDRESS ON FILE
CRUZ SANTIAGO, LUIS           ADDRESS ON FILE




                                                                          Page 2000 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2001 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ SANTIAGO, LUIS A.         ADDRESS ON FILE
CRUZ SANTIAGO, LUIS G          ADDRESS ON FILE
Cruz Santiago, Luis Omar       ADDRESS ON FILE
CRUZ SANTIAGO, LUZ             ADDRESS ON FILE
CRUZ SANTIAGO, LUZ M           ADDRESS ON FILE
CRUZ SANTIAGO, MADELINE        ADDRESS ON FILE
CRUZ SANTIAGO, MANUEL          ADDRESS ON FILE
CRUZ SANTIAGO, MANUEL          ADDRESS ON FILE
CRUZ SANTIAGO, MARI LUZ        ADDRESS ON FILE
CRUZ SANTIAGO, MARIA           ADDRESS ON FILE
CRUZ SANTIAGO, MARIA           ADDRESS ON FILE
CRUZ SANTIAGO, MARIA           ADDRESS ON FILE
CRUZ SANTIAGO, MARIA E         ADDRESS ON FILE
CRUZ SANTIAGO, MARIA ESTHER    ADDRESS ON FILE
CRUZ SANTIAGO, MARIA L         ADDRESS ON FILE
CRUZ SANTIAGO, MARIBEL         ADDRESS ON FILE
CRUZ SANTIAGO, MARICARMEN      ADDRESS ON FILE
CRUZ SANTIAGO, MARILUZ         ADDRESS ON FILE
Cruz Santiago, Marisol         ADDRESS ON FILE
CRUZ SANTIAGO, MARISOL         ADDRESS ON FILE
CRUZ SANTIAGO, MARISOL DEL C   ADDRESS ON FILE
CRUZ SANTIAGO, MARITZA         ADDRESS ON FILE
CRUZ SANTIAGO, MELANY          ADDRESS ON FILE
CRUZ SANTIAGO, MIGDALIA        ADDRESS ON FILE
Cruz Santiago, Miguel          ADDRESS ON FILE
CRUZ SANTIAGO, MIGUEL          ADDRESS ON FILE
CRUZ SANTIAGO, MIGUEL A        ADDRESS ON FILE
CRUZ SANTIAGO, MILAGROS        ADDRESS ON FILE
CRUZ SANTIAGO, MILAGROS        ADDRESS ON FILE
CRUZ SANTIAGO, MIRNA E         ADDRESS ON FILE
Cruz Santiago, Mitchel         ADDRESS ON FILE
Cruz Santiago, Monserrate      ADDRESS ON FILE
CRUZ SANTIAGO, MYRNA M         ADDRESS ON FILE
CRUZ SANTIAGO, NAASON          ADDRESS ON FILE
CRUZ SANTIAGO, NAIDA           ADDRESS ON FILE
CRUZ SANTIAGO, NEFTALI         ADDRESS ON FILE
CRUZ SANTIAGO, NELSON          ADDRESS ON FILE
CRUZ SANTIAGO, NELSON V.       ADDRESS ON FILE
CRUZ SANTIAGO, NEMESIS         ADDRESS ON FILE
CRUZ SANTIAGO, NILDA           ADDRESS ON FILE
CRUZ SANTIAGO, NILLIAM         ADDRESS ON FILE
CRUZ SANTIAGO, NOELIA          ADDRESS ON FILE
CRUZ SANTIAGO, NORMALI         ADDRESS ON FILE
CRUZ SANTIAGO, NYDIA Z         ADDRESS ON FILE
CRUZ SANTIAGO, OLGA            ADDRESS ON FILE
CRUZ SANTIAGO, OLGA D.         ADDRESS ON FILE
CRUZ SANTIAGO, OLGA M          ADDRESS ON FILE
CRUZ SANTIAGO, OMAR            ADDRESS ON FILE
CRUZ SANTIAGO, OMAR            ADDRESS ON FILE
CRUZ SANTIAGO, ONELIA          ADDRESS ON FILE
CRUZ SANTIAGO, ORLANDO         ADDRESS ON FILE
CRUZ SANTIAGO, OSCAR           ADDRESS ON FILE
CRUZ SANTIAGO, PABLO           ADDRESS ON FILE
CRUZ SANTIAGO, PEDRO           ADDRESS ON FILE
CRUZ SANTIAGO, RAFAEL E.       ADDRESS ON FILE
CRUZ SANTIAGO, RAFAEL E.       ADDRESS ON FILE
CRUZ SANTIAGO, RAMIRO          ADDRESS ON FILE
CRUZ SANTIAGO, RAMONITA        ADDRESS ON FILE
CRUZ SANTIAGO, REIMANUEL       ADDRESS ON FILE
CRUZ SANTIAGO, RICARDO         ADDRESS ON FILE




                                                                           Page 2001 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2002 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ SANTIAGO, ROBERTO     ADDRESS ON FILE
CRUZ SANTIAGO, ROBERTO     ADDRESS ON FILE
CRUZ SANTIAGO, ROSA M      ADDRESS ON FILE
CRUZ SANTIAGO, ROSSELYN    ADDRESS ON FILE
CRUZ SANTIAGO, SALVADOR    ADDRESS ON FILE
CRUZ SANTIAGO, SAMARA      ADDRESS ON FILE
Cruz Santiago, Sandra      ADDRESS ON FILE
CRUZ SANTIAGO, SANDRA      ADDRESS ON FILE
Cruz Santiago, Sara        ADDRESS ON FILE
CRUZ SANTIAGO, SERGIO A.   ADDRESS ON FILE
CRUZ SANTIAGO, SHAILA      ADDRESS ON FILE
CRUZ SANTIAGO, SIGMARIE    ADDRESS ON FILE
CRUZ SANTIAGO, SOL M       ADDRESS ON FILE
CRUZ SANTIAGO, SONIA M     ADDRESS ON FILE
CRUZ SANTIAGO, SUZANNE     ADDRESS ON FILE
CRUZ SANTIAGO, TELICHA I   ADDRESS ON FILE
CRUZ SANTIAGO, VICTOR J    ADDRESS ON FILE
CRUZ SANTIAGO, VILMA I.    ADDRESS ON FILE
CRUZ SANTIAGO, VIRGILIO    ADDRESS ON FILE
CRUZ SANTIAGO, WALESKA     ADDRESS ON FILE
CRUZ SANTIAGO, WANDA       ADDRESS ON FILE
CRUZ SANTIAGO, WANDA       ADDRESS ON FILE
CRUZ SANTIAGO, WILMARIA    ADDRESS ON FILE
CRUZ SANTIAGO, YAINALIZZ   ADDRESS ON FILE
CRUZ SANTINI, IRIS         ADDRESS ON FILE
CRUZ SANTONI, DANIEL       ADDRESS ON FILE
Cruz Santoni, Jose R       ADDRESS ON FILE
CRUZ SANTOS, ADELAIDA      ADDRESS ON FILE
CRUZ SANTOS, AISSA D       ADDRESS ON FILE
CRUZ SANTOS, ANGEL         ADDRESS ON FILE
CRUZ SANTOS, CARLOS        ADDRESS ON FILE
CRUZ SANTOS, CARLOS F.     ADDRESS ON FILE
CRUZ SANTOS, CHRISTIAN     ADDRESS ON FILE
CRUZ SANTOS, HAYDEE        ADDRESS ON FILE
CRUZ SANTOS, IGNACIO       ADDRESS ON FILE
CRUZ SANTOS, IRIS A.       ADDRESS ON FILE
CRUZ SANTOS, IVELISSE      ADDRESS ON FILE
CRUZ SANTOS, JORGE         ADDRESS ON FILE
CRUZ SANTOS, LUIS E        ADDRESS ON FILE
CRUZ SANTOS, LUISA         ADDRESS ON FILE
CRUZ SANTOS, LUISA         ADDRESS ON FILE
CRUZ SANTOS, MARCELO       ADDRESS ON FILE
CRUZ SANTOS, MARCIAL       ADDRESS ON FILE
CRUZ SANTOS, MARCIAL       ADDRESS ON FILE
CRUZ SANTOS, MARISSA D     ADDRESS ON FILE
CRUZ SANTOS, MIGUEL        ADDRESS ON FILE
CRUZ SANTOS, NORBERTO      ADDRESS ON FILE
CRUZ SANTOS, RAFAEL        ADDRESS ON FILE
CRUZ SANTOS, ROSA I        ADDRESS ON FILE
CRUZ SANTOS, VANESSA       ADDRESS ON FILE
CRUZ SANTOS, WILLIAM       ADDRESS ON FILE
CRUZ SANTOS, YESENIA       ADDRESS ON FILE
Cruz Sarraga, Arturo J     ADDRESS ON FILE
CRUZ SASTRE, CARMEN M      ADDRESS ON FILE
CRUZ SCOTT, JAVIER A       ADDRESS ON FILE
CRUZ SCOTT, JUAN           ADDRESS ON FILE
CRUZ SCOTT, LUIS R         ADDRESS ON FILE
Cruz Seda, Daniel          ADDRESS ON FILE
CRUZ SEDA, JENNIE          ADDRESS ON FILE
CRUZ SEDA, NOEMI           ADDRESS ON FILE




                                                                       Page 2002 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2003 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                    Address1                                Address2                                   Address3   Address4   City         State   PostalCode   Country
CRUZ SEDA, VIRGINIA              ADDRESS ON FILE
CRUZ SEGARRA, JEANNETTE          ADDRESS ON FILE
CRUZ SEGARRA, SILYOREIDY         ADDRESS ON FILE
CRUZ SEIJO, JONATHAN             ADDRESS ON FILE
CRUZ SELLES, MAIMY               ADDRESS ON FILE
CRUZ SEMIDEY, ALEXANDER          ADDRESS ON FILE
CRUZ SEMPRIT, RAMON              ADDRESS ON FILE
CRUZ SEPULVEDA, ALEXIS           ADDRESS ON FILE
CRUZ SEPULVEDA, ALEXIS           ADDRESS ON FILE
CRUZ SEPULVEDA, ANGEL            ADDRESS ON FILE
CRUZ SEPULVEDA, CHELSIA G        ADDRESS ON FILE
Cruz Sepulveda, Felix            ADDRESS ON FILE
CRUZ SEPULVEDA, GIL A            ADDRESS ON FILE
CRUZ SEPULVEDA, RAFAEL           ADDRESS ON FILE
CRUZ SEPULVEDA, YENHAIZ          ADDRESS ON FILE
CRUZ SERRANO, ABIMAEL            ADDRESS ON FILE
Cruz Serrano, Abimael            ADDRESS ON FILE
CRUZ SERRANO, ANGELES            ADDRESS ON FILE
CRUZ SERRANO, ANIRMA             ADDRESS ON FILE
CRUZ SERRANO, AXEL               ADDRESS ON FILE
CRUZ SERRANO, BELMA LIZZ         ADDRESS ON FILE
CRUZ SERRANO, CARLOS             ADDRESS ON FILE
CRUZ SERRANO, DAMIAN             ADDRESS ON FILE
Cruz Serrano, Damian E           ADDRESS ON FILE
CRUZ SERRANO, DORIS              ADDRESS ON FILE
CRUZ SERRANO, EDGAR              ADDRESS ON FILE
Cruz Serrano, Edward Christian   ADDRESS ON FILE
Cruz Serrano, Emilio             ADDRESS ON FILE
CRUZ SERRANO, FEDERICO           ADDRESS ON FILE
CRUZ SERRANO, FELIX              ADDRESS ON FILE
CRUZ SERRANO, FRANCISCO          ADDRESS ON FILE
CRUZ SERRANO, FRANCISCO          ADDRESS ON FILE
Cruz Serrano, Francisco          ADDRESS ON FILE
CRUZ SERRANO, FRANCISCO J        ADDRESS ON FILE
CRUZ SERRANO, GERARDA            ADDRESS ON FILE
Cruz Serrano, Haddy N.           ADDRESS ON FILE
Cruz Serrano, Hector R           ADDRESS ON FILE
CRUZ SERRANO, IVAN               ADDRESS ON FILE
CRUZ SERRANO, IVAN A.            ADDRESS ON FILE
CRUZ SERRANO, IVONNE             ADDRESS ON FILE
CRUZ SERRANO, JORGE              ADDRESS ON FILE
CRUZ SERRANO, JORGE A.           ADDRESS ON FILE
CRUZ SERRANO, JOSE               ADDRESS ON FILE
Cruz Serrano, Jose A             ADDRESS ON FILE
CRUZ SERRANO, JOSE H             ADDRESS ON FILE
CRUZ SERRANO, JUANA              LCDO. MANUEL DURÁN,LCDA. BRUNILDA FIGUER1139 AVE. AMÉRICO MIRANDA                                        SAN JUAN     PR      00921
CRUZ SERRANO, LUIS               ADDRESS ON FILE
CRUZ SERRANO, LUIS A             ADDRESS ON FILE
Cruz Serrano, Luis D             ADDRESS ON FILE
Cruz Serrano, Luis G             ADDRESS ON FILE
CRUZ SERRANO, MARGARITA          ADDRESS ON FILE
CRUZ SERRANO, MARIA              ADDRESS ON FILE
CRUZ SERRANO, MARIA E            ADDRESS ON FILE
CRUZ SERRANO, MARIA J            ADDRESS ON FILE
CRUZ SERRANO, MARILYN            ADDRESS ON FILE
CRUZ SERRANO, MARTA              ADDRESS ON FILE
CRUZ SERRANO, MARTA              ADDRESS ON FILE
CRUZ SERRANO, MELISSA            ADDRESS ON FILE
CRUZ SERRANO, MIGDALIA           ADDRESS ON FILE
CRUZ SERRANO, PABLO              ADDRESS ON FILE




                                                                                                     Page 2003 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2004 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ SERRANO, ROSA           ADDRESS ON FILE
Cruz Serrano, Samuel         ADDRESS ON FILE
CRUZ SERRANO, SARA           ADDRESS ON FILE
CRUZ SERRANO, VANIA M        ADDRESS ON FILE
CRUZ SERRANO,DAMASO          ADDRESS ON FILE
CRUZ SEVILLA, GLORIA E       ADDRESS ON FILE
CRUZ SIERRA, ELSIE           ADDRESS ON FILE
CRUZ SIERRA, LUIS A.         ADDRESS ON FILE
CRUZ SIERRA, NOELIA          ADDRESS ON FILE
Cruz Sierra, Pedro I.        ADDRESS ON FILE
CRUZ SIERRA, SARITZIA        ADDRESS ON FILE
CRUZ SILVA, ABIGAIL          ADDRESS ON FILE
CRUZ SILVA, ADRIANA          ADDRESS ON FILE
CRUZ SILVA, ANDRES           ADDRESS ON FILE
CRUZ SILVA, ANDRES           ADDRESS ON FILE
CRUZ SILVA, BRUNILDA         ADDRESS ON FILE
CRUZ SILVA, CARMEN           ADDRESS ON FILE
CRUZ SILVA, EUGENIA          ADDRESS ON FILE
CRUZ SILVA, FELIX            ADDRESS ON FILE
CRUZ SILVA, MARILYN          ADDRESS ON FILE
CRUZ SILVA, RAMON            ADDRESS ON FILE
CRUZ SILVA, RITA E           ADDRESS ON FILE
CRUZ SILVA, ROBERTO          ADDRESS ON FILE
Cruz Silverman, Maria E      ADDRESS ON FILE
CRUZ SINIGAGLIA, LIZA A      ADDRESS ON FILE
CRUZ SOJO, ESTHER            ADDRESS ON FILE
CRUZ SOJO, MYRNA L.          ADDRESS ON FILE
CRUZ SOLA, ELIUD             ADDRESS ON FILE
Cruz Sola, Eliud I           ADDRESS ON FILE
CRUZ SOLA, JOHANSEN          ADDRESS ON FILE
CRUZ SOLER, MARIA D          ADDRESS ON FILE
CRUZ SOLER, PEDRO            ADDRESS ON FILE
CRUZ SOLER, PEDRO A.         ADDRESS ON FILE
CRUZ SOLER, WYLDA F.DEL C.   ADDRESS ON FILE
CRUZ SOLIS, FLORA            ADDRESS ON FILE
CRUZ SOLIS, LUIS O           ADDRESS ON FILE
CRUZ SOLIVAN, HERIBERTO      ADDRESS ON FILE
CRUZ SOLLA, ANDREA           ADDRESS ON FILE
CRUZ SONERA, WILLIAM         ADDRESS ON FILE
CRUZ SOSA MD, LIZAIDA        ADDRESS ON FILE
CRUZ SOSA, ABRAHAN           ADDRESS ON FILE
CRUZ SOSA, EVELYN            ADDRESS ON FILE
CRUZ SOSA, JEREMY            ADDRESS ON FILE
CRUZ SOSA, LUMARIE           ADDRESS ON FILE
CRUZ SOSA, MARIDELI          ADDRESS ON FILE
CRUZ SOSA, NADYNA            ADDRESS ON FILE
CRUZ SOSTRE, JORGE           ADDRESS ON FILE
CRUZ SOTO MD, MANUEL A       ADDRESS ON FILE
CRUZ SOTO MILLAN             ADDRESS ON FILE
CRUZ SOTO, ANA               ADDRESS ON FILE
CRUZ SOTO, ANGEL             ADDRESS ON FILE
Cruz Soto, Angel L.          ADDRESS ON FILE
CRUZ SOTO, ANNETTE           ADDRESS ON FILE
CRUZ SOTO, ARACELIS          ADDRESS ON FILE
CRUZ SOTO, ARMANDO           ADDRESS ON FILE
CRUZ SOTO, BEATRIZ           ADDRESS ON FILE
CRUZ SOTO, CARLOS            ADDRESS ON FILE
CRUZ SOTO, CARMEN            ADDRESS ON FILE
CRUZ SOTO, DELMARIS          ADDRESS ON FILE
CRUZ SOTO, DIANA             ADDRESS ON FILE




                                                                         Page 2004 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2005 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cruz Soto, Dionisio         ADDRESS ON FILE
CRUZ SOTO, ESTHER           ADDRESS ON FILE
Cruz Soto, Felix J          ADDRESS ON FILE
CRUZ SOTO, FROILAN          ADDRESS ON FILE
CRUZ SOTO, GERARDO          ADDRESS ON FILE
CRUZ SOTO, GIOVANNI M.      ADDRESS ON FILE
CRUZ SOTO, GIOVANNI M.      ADDRESS ON FILE
CRUZ SOTO, HECTOR LUIS      ADDRESS ON FILE
CRUZ SOTO, HIPOLITO         ADDRESS ON FILE
CRUZ SOTO, IRISH            ADDRESS ON FILE
Cruz Soto, Isidoro          ADDRESS ON FILE
Cruz Soto, Jonathan         ADDRESS ON FILE
CRUZ SOTO, JORGE            ADDRESS ON FILE
Cruz Soto, Jose A.          ADDRESS ON FILE
CRUZ SOTO, JOSUE            ADDRESS ON FILE
CRUZ SOTO, JOVANIE          ADDRESS ON FILE
CRUZ SOTO, KATTY R.         ADDRESS ON FILE
CRUZ SOTO, KORAL            ADDRESS ON FILE
CRUZ SOTO, LEONEL           ADDRESS ON FILE
Cruz Soto, Lisandra         ADDRESS ON FILE
CRUZ SOTO, LUIS C           ADDRESS ON FILE
CRUZ SOTO, LUZ B            ADDRESS ON FILE
CRUZ SOTO, LUZ E            ADDRESS ON FILE
CRUZ SOTO, LUZ N            ADDRESS ON FILE
CRUZ SOTO, MANUEL           ADDRESS ON FILE
CRUZ SOTO, MANUEL           ADDRESS ON FILE
CRUZ SOTO, MANUEL E         ADDRESS ON FILE
CRUZ SOTO, MARGARITA        ADDRESS ON FILE
CRUZ SOTO, MARIA DE LOS A   ADDRESS ON FILE
CRUZ SOTO, MARIA E.         ADDRESS ON FILE
CRUZ SOTO, MARIA E.         ADDRESS ON FILE
CRUZ SOTO, MARIA M          ADDRESS ON FILE
CRUZ SOTO, MARISOL          ADDRESS ON FILE
CRUZ SOTO, MARITZA          ADDRESS ON FILE
CRUZ SOTO, MARLYN           ADDRESS ON FILE
CRUZ SOTO, MIGUEL           ADDRESS ON FILE
CRUZ SOTO, MILAGROS V       ADDRESS ON FILE
CRUZ SOTO, MILDRED          ADDRESS ON FILE
CRUZ SOTO, MIRIAM           ADDRESS ON FILE
CRUZ SOTO, MIRIAM B         ADDRESS ON FILE
CRUZ SOTO, MITCHELL         ADDRESS ON FILE
CRUZ SOTO, MONSERRATE       ADDRESS ON FILE
CRUZ SOTO, MYRIAM           ADDRESS ON FILE
CRUZ SOTO, RENE             ADDRESS ON FILE
CRUZ SOTO, ROSA             ADDRESS ON FILE
CRUZ SOTO, ROSA             ADDRESS ON FILE
CRUZ SOTO, RUTH             ADDRESS ON FILE
CRUZ SOTO, TOMAS            ADDRESS ON FILE
CRUZ SOTO, TOMAS            ADDRESS ON FILE
CRUZ SOTO, VICENTE          ADDRESS ON FILE
CRUZ SOTO, VICTOR A         ADDRESS ON FILE
CRUZ SOTO, VIVIAN           ADDRESS ON FILE
CRUZ SOTO, WANDA            ADDRESS ON FILE
CRUZ SOTOMAYOR, LUIS        ADDRESS ON FILE
CRUZ SOTOMAYOR, MARIBEL     ADDRESS ON FILE
CRUZ SOTOMAYOR, REX         ADDRESS ON FILE
CRUZ SOTOMOYOR, ALEXANDER   ADDRESS ON FILE
CRUZ SOULET, ROSALINA       ADDRESS ON FILE
CRUZ STEVENS, ZAIDA M       ADDRESS ON FILE
CRUZ STRAZZARA, ESDRAS      ADDRESS ON FILE




                                                                        Page 2005 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2006 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ STRAZZARA, ESDRAS                  ADDRESS ON FILE
CRUZ STRAZZARA, FERNANDO                ADDRESS ON FILE
CRUZ STRAZZARA, MAGDALENA               ADDRESS ON FILE
CRUZ STRAZZARA, MAGDALENA               ADDRESS ON FILE
CRUZ SUAREZ, ANA M                      ADDRESS ON FILE
CRUZ SUAREZ, ANGEL                      ADDRESS ON FILE
CRUZ SUAREZ, AWILDA M.                  ADDRESS ON FILE
CRUZ SUAREZ, BETZAIDA                   ADDRESS ON FILE
CRUZ SUAREZ, CARMEN                     ADDRESS ON FILE
CRUZ SUAREZ, CARMEN M                   ADDRESS ON FILE
CRUZ SUAREZ, JOSEFINA                   ADDRESS ON FILE
CRUZ SUAREZ, LEONEL                     ADDRESS ON FILE
CRUZ SUAREZ, LEONEL                     ADDRESS ON FILE
CRUZ SUAREZ, LOURDES                    ADDRESS ON FILE
CRUZ SUAREZ, LUZ N.                     ADDRESS ON FILE
CRUZ SUAREZ, MARISOL                    ADDRESS ON FILE
CRUZ SUAREZ, MIGUEL A                   ADDRESS ON FILE
CRUZ SUAREZ, NILSA L                    ADDRESS ON FILE
CRUZ SUAREZ, ORLANDO                    ADDRESS ON FILE
CRUZ SUAREZ, PEDRO                      ADDRESS ON FILE
Cruz Suarez, Ramon                      ADDRESS ON FILE
CRUZ SUAREZ, RAQUEL                     ADDRESS ON FILE
CRUZ SUAREZ, VIVIAN N                   ADDRESS ON FILE
CRUZ SUSTACHE, GABRIEL                  ADDRESS ON FILE
CRUZ T VELAZQUEZ Y EDWARD P VELAZQUEZ   ADDRESS ON FILE
CRUZ TABALES, NOEMY                     ADDRESS ON FILE
Cruz Tabales, Sheily I                  ADDRESS ON FILE
CRUZ TALAVERA, KATIRIA                  ADDRESS ON FILE
CRUZ TANON, ARDIS                       ADDRESS ON FILE
CRUZ TANON, ARDIS A.                    ADDRESS ON FILE
CRUZ TANON, EDWIN                       ADDRESS ON FILE
CRUZ TANON, FRANCISCO J                 ADDRESS ON FILE
CRUZ TAPIA, DENISSE                     ADDRESS ON FILE
CRUZ TAPIA, GLORIVEE                    ADDRESS ON FILE
Cruz Tapia, Jose R                      ADDRESS ON FILE
CRUZ TAPIA, JUAN                        ADDRESS ON FILE
CRUZ TAPIA, RAFAEL                      ADDRESS ON FILE
CRUZ TAVARES, JORGE A                   ADDRESS ON FILE
CRUZ TAVAREZ, CARMEN L                  ADDRESS ON FILE
CRUZ TAVAREZ, MARCELINO                 ADDRESS ON FILE
CRUZ TAVAREZ, SANIER A                  ADDRESS ON FILE
CRUZ TAVERA, JONATHAN                   ADDRESS ON FILE
CRUZ TEJEDA, CIRILO F                   ADDRESS ON FILE
CRUZ TERESA MUNOZ DE LA CRUZ            ADDRESS ON FILE
CRUZ TERRON, NELSON                     ADDRESS ON FILE
CRUZ TEXEIRA, LILLIAM                   ADDRESS ON FILE
CRUZ TEXIDOR, ELSA I.                   ADDRESS ON FILE
CRUZ TIRADO MD, RAFAEL                  ADDRESS ON FILE
CRUZ TIRADO, ANGEL                      ADDRESS ON FILE
CRUZ TIRADO, BRENDA D.                  ADDRESS ON FILE
CRUZ TIRADO, BRENDA D.                  ADDRESS ON FILE
CRUZ TIRADO, ERNESTO                    ADDRESS ON FILE
CRUZ TIRADO, EVELYN                     ADDRESS ON FILE
CRUZ TIRADO, ISRAEL                     ADDRESS ON FILE
CRUZ TIRADO, IVETTE                     ADDRESS ON FILE
CRUZ TIRADO, JESUS                      ADDRESS ON FILE
CRUZ TIRADO, MARIA DEL C                ADDRESS ON FILE
CRUZ TIRADO, MARY L                     ADDRESS ON FILE
CRUZ TIRADO, THANIA                     ADDRESS ON FILE
CRUZ TOLEDO, AWILDA                     ADDRESS ON FILE




                                                                                    Page 2006 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2007 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                   Address1                         Address2                                      Address3              Address4           City         State   PostalCode   Country
CRUZ TOLEDO, CARLOS             ADDRESS ON FILE
Cruz Toledo, Gilberto           ADDRESS ON FILE
                                                                                                               CARIBE PLAZA OFFICE
CRUZ TOLEDO, GILBERTO Y OTROS   LCDO. AMEXIS J. BONILLA NIEVES   LCDO. AMEXIS J. BONILLA NIEVES                BUILDING 6TH FLOOR    PALMERAS ST. #53   SAN JUAN     PR      00901
CRUZ TOLEDO, GILBERTO Y OTROS   LCDO. JOSÉ C. MARTÍNEZ TOLEDO    LCDO. JOSÉ C. MARTÍNEZ TOLEDO                 PO BOX 362132                            SAN JUAN     PR      00936‐2132
CRUZ TOLEDO, MIRAYDA Y.         ADDRESS ON FILE
CRUZ TOLEDO, YOLANDA            ADDRESS ON FILE
CRUZ TOLINCHE, RUBEN            ADDRESS ON FILE
CRUZ TORES, MARILYN             ADDRESS ON FILE
CRUZ TORIBIO, JORGE             ADDRESS ON FILE
CRUZ TORO, EDGARDO              ADDRESS ON FILE
CRUZ TORO, JACQUELINE           ADDRESS ON FILE
Cruz Toro, Miguel A             ADDRESS ON FILE
CRUZ TORO, ROBERT               ADDRESS ON FILE
CRUZ TORO, RUBEN R              ADDRESS ON FILE
CRUZ TORRES MEDINA              ADDRESS ON FILE
CRUZ TORRES PORFIRIA            PABLO LUGO                       PO BOX 8051                                                                            HUMACAO      PR      00792‐8051
CRUZ TORRES ZAYAS, SOFIA        ADDRESS ON FILE
CRUZ TORRES, ABEL               ADDRESS ON FILE
CRUZ TORRES, ABEL               ADDRESS ON FILE
CRUZ TORRES, ABRAHAM            ADDRESS ON FILE
CRUZ TORRES, ADA M              ADDRESS ON FILE
CRUZ TORRES, AIDA               ADDRESS ON FILE
CRUZ TORRES, AIDA I             ADDRESS ON FILE
Cruz Torres, Alex               ADDRESS ON FILE
CRUZ TORRES, ALEX               ADDRESS ON FILE
CRUZ TORRES, ALEX               ADDRESS ON FILE
CRUZ TORRES, ALEXANDRA          ADDRESS ON FILE
CRUZ TORRES, ALVIN              ADDRESS ON FILE
CRUZ TORRES, ALVIN              ADDRESS ON FILE
CRUZ TORRES, AMARILYS           ADDRESS ON FILE
CRUZ TORRES, ANA                ADDRESS ON FILE
CRUZ TORRES, ANA                ADDRESS ON FILE
CRUZ TORRES, ANA                ADDRESS ON FILE
CRUZ TORRES, ANA                ADDRESS ON FILE
CRUZ TORRES, ANA R              ADDRESS ON FILE
CRUZ TORRES, ANDERSON           ADDRESS ON FILE
CRUZ TORRES, ANDRES             ADDRESS ON FILE
CRUZ TORRES, ANDRES             ADDRESS ON FILE
CRUZ TORRES, ANGEL L            ADDRESS ON FILE
Cruz Torres, Angel L.           ADDRESS ON FILE
CRUZ TORRES, ANGEL M            ADDRESS ON FILE
CRUZ TORRES, ANGELICA M         ADDRESS ON FILE
CRUZ TORRES, ARLENE             ADDRESS ON FILE
CRUZ TORRES, ARLENE IVETTE      ADDRESS ON FILE
CRUZ TORRES, BERIS J            ADDRESS ON FILE
CRUZ TORRES, BETHZENIA          ADDRESS ON FILE
Cruz Torres, Bienvenido         ADDRESS ON FILE
CRUZ TORRES, BLADIMIR           ADDRESS ON FILE
CRUZ TORRES, BRENDA E.          ADDRESS ON FILE
CRUZ TORRES, BRENDYMAR          ADDRESS ON FILE
CRUZ TORRES, BRIZEIDA           ADDRESS ON FILE
CRUZ TORRES, CARLOS             ADDRESS ON FILE
CRUZ TORRES, CARMEN A           ADDRESS ON FILE
CRUZ TORRES, CARMEN J           ADDRESS ON FILE
CRUZ TORRES, CARMEN L           ADDRESS ON FILE
CRUZ TORRES, CARMEN M           ADDRESS ON FILE
CRUZ TORRES, CHRISTIAN          ADDRESS ON FILE
CRUZ TORRES, CINDY              ADDRESS ON FILE
CRUZ TORRES, DANIEL             ADDRESS ON FILE




                                                                                              Page 2007 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 2008 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ TORRES, DANIEL       ADDRESS ON FILE
CRUZ TORRES, DARYSABEL    ADDRESS ON FILE
CRUZ TORRES, DIANA I      ADDRESS ON FILE
CRUZ TORRES, EDDA         ADDRESS ON FILE
CRUZ TORRES, EDDIE        ADDRESS ON FILE
CRUZ TORRES, EDGARDO      ADDRESS ON FILE
CRUZ TORRES, EDITH        ADDRESS ON FILE
CRUZ TORRES, EDNA         ADDRESS ON FILE
CRUZ TORRES, EDWIN        ADDRESS ON FILE
Cruz Torres, Edwin D      ADDRESS ON FILE
CRUZ TORRES, ELBA         ADDRESS ON FILE
CRUZ TORRES, ELENA        ADDRESS ON FILE
CRUZ TORRES, ELIAS        ADDRESS ON FILE
CRUZ TORRES, ELIZABETH    ADDRESS ON FILE
CRUZ TORRES, ELIZABETH    ADDRESS ON FILE
CRUZ TORRES, EMILIA       ADDRESS ON FILE
CRUZ TORRES, ENMANUEL     ADDRESS ON FILE
CRUZ TORRES, EPIFANIA     ADDRESS ON FILE
CRUZ TORRES, EVELYN       ADDRESS ON FILE
CRUZ TORRES, FELIX        ADDRESS ON FILE
CRUZ TORRES, FELIX        ADDRESS ON FILE
CRUZ TORRES, FELIX        ADDRESS ON FILE
CRUZ TORRES, FELIX        ADDRESS ON FILE
CRUZ TORRES, FELIX        ADDRESS ON FILE
CRUZ TORRES, GLADYS E     ADDRESS ON FILE
CRUZ TORRES, GLADYS S.    ADDRESS ON FILE
CRUZ TORRES, GLORIA E     ADDRESS ON FILE
CRUZ TORRES, GLORIA E.    ADDRESS ON FILE
CRUZ TORRES, GRIMILDA     ADDRESS ON FILE
CRUZ TORRES, HAYDEE       ADDRESS ON FILE
CRUZ TORRES, HECTOR       ADDRESS ON FILE
CRUZ TORRES, HECTOR       ADDRESS ON FILE
CRUZ TORRES, HECTOR       ADDRESS ON FILE
CRUZ TORRES, HIPOLITA     ADDRESS ON FILE
CRUZ TORRES, ILICIANA     ADDRESS ON FILE
CRUZ TORRES, ILICIANA     ADDRESS ON FILE
CRUZ TORRES, ILICIANA     ADDRESS ON FILE
CRUZ TORRES, IRIS         ADDRESS ON FILE
CRUZ TORRES, IRIS DEL C   ADDRESS ON FILE
CRUZ TORRES, IRIS M.      ADDRESS ON FILE
CRUZ TORRES, IRMA         ADDRESS ON FILE
CRUZ TORRES, IVAN         ADDRESS ON FILE
Cruz Torres, Javier       ADDRESS ON FILE
CRUZ TORRES, JAVIER       ADDRESS ON FILE
CRUZ TORRES, JAVIER       ADDRESS ON FILE
CRUZ TORRES, JENNIFER     ADDRESS ON FILE
CRUZ TORRES, JENNIFER     ADDRESS ON FILE
CRUZ TORRES, JESMARIE     ADDRESS ON FILE
CRUZ TORRES, JESUS        ADDRESS ON FILE
CRUZ TORRES, JESUS        ADDRESS ON FILE
CRUZ TORRES, JORGE        ADDRESS ON FILE
CRUZ TORRES, JORGE H.     ADDRESS ON FILE
CRUZ TORRES, JOSE         ADDRESS ON FILE
CRUZ TORRES, JOSE         ADDRESS ON FILE
CRUZ TORRES, JOSE         ADDRESS ON FILE
CRUZ TORRES, JOSE         ADDRESS ON FILE
CRUZ TORRES, JOSE         ADDRESS ON FILE
Cruz Torres, Jose A       ADDRESS ON FILE
CRUZ TORRES, JOSE A       ADDRESS ON FILE
CRUZ TORRES, JOSE A.      ADDRESS ON FILE




                                                                      Page 2008 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2009 of 3500
                                                                             17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                 Address1                        Address2                                     Address3       Address4   City         State   PostalCode   Country
CRUZ TORRES, JUAN             ADDRESS ON FILE
CRUZ TORRES, JUAN             ADDRESS ON FILE
CRUZ TORRES, JUAN             ADDRESS ON FILE
CRUZ TORRES, JUAN H.          ADDRESS ON FILE
CRUZ TORRES, JUANITA          ADDRESS ON FILE
CRUZ TORRES, JUDITH R         ADDRESS ON FILE
CRUZ TORRES, JULIO            ADDRESS ON FILE
CRUZ TORRES, KAREN            ADDRESS ON FILE
CRUZ TORRES, KAREN            ADDRESS ON FILE
CRUZ TORRES, KARIMER Y        ADDRESS ON FILE
CRUZ TORRES, KATE             ADDRESS ON FILE
CRUZ TORRES, KENNETH          ADDRESS ON FILE
Cruz Torres, Kenneth          ADDRESS ON FILE
CRUZ TORRES, LILLIAM          ADDRESS ON FILE
CRUZ TORRES, LILLIAM          ADDRESS ON FILE
CRUZ TORRES, LILLIAM          ADDRESS ON FILE
CRUZ TORRES, LIYETSI M.       ADDRESS ON FILE
CRUZ TORRES, LOURDES          ADDRESS ON FILE
CRUZ TORRES, LOURDES I.       ADDRESS ON FILE
CRUZ TORRES, LOURDES M        ADDRESS ON FILE
CRUZ TORRES, LUIS             ADDRESS ON FILE
CRUZ TORRES, LUIS             ADDRESS ON FILE
CRUZ TORRES, LUIS             ADDRESS ON FILE
CRUZ TORRES, LUIS             ADDRESS ON FILE
Cruz Torres, Luis A.          ADDRESS ON FILE
CRUZ TORRES, LUIS G           ADDRESS ON FILE
CRUZ TORRES, LUIS JESUS       ADDRESS ON FILE
CRUZ TORRES, LUZ              ADDRESS ON FILE
CRUZ TORRES, LUZ L.           ADDRESS ON FILE
CRUZ TORRES, LUZ M            ADDRESS ON FILE
Cruz Torres, Marcos U         ADDRESS ON FILE
CRUZ TORRES, MARIA            ADDRESS ON FILE
CRUZ TORRES, MARIA DE LOS A   ADDRESS ON FILE
CRUZ TORRES, MARIA DEL C      ADDRESS ON FILE
CRUZ TORRES, MARIA J          ADDRESS ON FILE
CRUZ TORRES, MARIA M          ADDRESS ON FILE
CRUZ TORRES, MARIA M.         ADDRESS ON FILE
CRUZ TORRES, MARILYN          ADDRESS ON FILE
CRUZ TORRES, MARILYN          ADDRESS ON FILE
CRUZ TORRES, MARILYN          ADDRESS ON FILE
CRUZ TORRES, MARIO J          ADDRESS ON FILE
CRUZ TORRES, MARITZA          ADDRESS ON FILE
Cruz Torres, Marta            ADDRESS ON FILE
CRUZ TORRES, MARTINA          ADDRESS ON FILE
CRUZ TORRES, MARTITA          ADDRESS ON FILE
CRUZ TORRES, MAYTE            ADDRESS ON FILE
CRUZ TORRES, MELANY           ADDRESS ON FILE
CRUZ TORRES, MICHELLE         ADDRESS ON FILE
CRUZ TORRES, MIXAIDA          ADDRESS ON FILE
CRUZ TORRES, MIXAIDA          L CDA. GENOVEVA VALENTIN SOTO   SERVIDORES PÚBLICOS UNIDOS DE                PO BOX 13695              SAN JUAN     PR      00908‐3695
CRUZ TORRES, MIXAIDA          ADDRESS ON FILE
CRUZ TORRES, NATHALIE         ADDRESS ON FILE
CRUZ TORRES, NATIVIDAD        ADDRESS ON FILE
CRUZ TORRES, NILDA            ADDRESS ON FILE
CRUZ TORRES, NOEL             ADDRESS ON FILE
CRUZ TORRES, NORMA I          ADDRESS ON FILE
CRUZ TORRES, NORMA I.         ADDRESS ON FILE
Cruz Torres, Omar             ADDRESS ON FILE
CRUZ TORRES, OMAR             ADDRESS ON FILE
CRUZ TORRES, OMAR M           ADDRESS ON FILE




                                                                                         Page 2009 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2010 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ TORRES, OMAYRA           ADDRESS ON FILE
CRUZ TORRES, PABLO            ADDRESS ON FILE
CRUZ TORRES, PASCUALA         ADDRESS ON FILE
CRUZ TORRES, RAFAEL           ADDRESS ON FILE
CRUZ TORRES, RAMON            ADDRESS ON FILE
CRUZ TORRES, REBECCA          ADDRESS ON FILE
CRUZ TORRES, REINA O          ADDRESS ON FILE
CRUZ TORRES, RICARDO          ADDRESS ON FILE
Cruz Torres, Roberto          ADDRESS ON FILE
CRUZ TORRES, ROBERTO          ADDRESS ON FILE
CRUZ TORRES, ROSALINA         ADDRESS ON FILE
CRUZ TORRES, RUBEN            ADDRESS ON FILE
Cruz Torres, Sammy            ADDRESS ON FILE
CRUZ TORRES, SANTOS A         ADDRESS ON FILE
CRUZ TORRES, SANTOS A         ADDRESS ON FILE
CRUZ TORRES, SOL DEL R        ADDRESS ON FILE
CRUZ TORRES, SOL E            ADDRESS ON FILE
CRUZ TORRES, SORIDALYS        ADDRESS ON FILE
CRUZ TORRES, SURIEL           ADDRESS ON FILE
Cruz Torres, Venancio         ADDRESS ON FILE
CRUZ TORRES, VICTOR           ADDRESS ON FILE
CRUZ TORRES, VICTOR           ADDRESS ON FILE
CRUZ TORRES, VICTOR           ADDRESS ON FILE
Cruz Torres, Victor J         ADDRESS ON FILE
CRUZ TORRES, VICTORIA         ADDRESS ON FILE
CRUZ TORRES, WANDA            ADDRESS ON FILE
CRUZ TORRES, WANDA            ADDRESS ON FILE
Cruz Torres, Wanda I          ADDRESS ON FILE
CRUZ TORRES, WILLIAM          ADDRESS ON FILE
CRUZ TORRES, WILMA            ADDRESS ON FILE
CRUZ TORRES, WILSON           ADDRESS ON FILE
CRUZ TORRES, WOLDETRUDIS      ADDRESS ON FILE
CRUZ TORRES, YERADIA          ADDRESS ON FILE
CRUZ TORRES, ZORAYA           ADDRESS ON FILE
CRUZ TORRUELLAS, ELSIA        ADDRESS ON FILE
CRUZ TOSADO, CLARA L          ADDRESS ON FILE
CRUZ TOSADO, MIGUEL           ADDRESS ON FILE
CRUZ TOSADO, NANCY            ADDRESS ON FILE
CRUZ TRANSPORT, INC           RR 1 BOX 2565                                                                    CIDRA        PR      00739
CRUZ TRINIDAD, JANETTE        ADDRESS ON FILE
CRUZ TRINIDAD, JOSE L.        ADDRESS ON FILE
CRUZ TRINIDAD, JOSE L.        ADDRESS ON FILE
CRUZ TRINIDAD, JOSE LIONEL    ADDRESS ON FILE
CRUZ TRINIDAD, LINETTE        ADDRESS ON FILE
CRUZ TRINIDAD, VICTOR         ADDRESS ON FILE
CRUZ TROCHE, LUZ E            ADDRESS ON FILE
CRUZ TROCHE, OLGA I           ADDRESS ON FILE
CRUZ TRUJILLO, BERNARDO R     ADDRESS ON FILE
CRUZ TRUJILLO, IRMA           ADDRESS ON FILE
CRUZ TRUJILLO, JOEL           ADDRESS ON FILE
CRUZ TUBENS, REGALDO          ADDRESS ON FILE
CRUZ UJAQUE, MARIA DE LOS A   ADDRESS ON FILE
CRUZ UJAQUE, MARIA DE LOS A   ADDRESS ON FILE
CRUZ UMPIERRE, ELIEZER        ADDRESS ON FILE
CRUZ URBINA, GINO             ADDRESS ON FILE
CRUZ URBINA, JUAN             ADDRESS ON FILE
CRUZ URBINA, MAGDA            ADDRESS ON FILE
CRUZ URBINA, MARIA V          ADDRESS ON FILE
CRUZ URENA, JOSE              ADDRESS ON FILE
CRUZ VADI, ENRIQUE            ADDRESS ON FILE




                                                                          Page 2010 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2011 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ VALCARCEL, ABRAHAM     ADDRESS ON FILE
CRUZ VALCARCEL, PEDRO       ADDRESS ON FILE
CRUZ VALDIVIESO, GERARDO    ADDRESS ON FILE
CRUZ VALENCIA, CYNTHIA      ADDRESS ON FILE
CRUZ VALENCIA, JULISSA      ADDRESS ON FILE
Cruz Valentin, Andres       ADDRESS ON FILE
CRUZ VALENTIN, ANGEL        ADDRESS ON FILE
Cruz Valentin, Ayra Liz     ADDRESS ON FILE
CRUZ VALENTIN, BELINDA      ADDRESS ON FILE
CRUZ VALENTIN, BETHZAIDA    ADDRESS ON FILE
CRUZ VALENTIN, BRENDA L     ADDRESS ON FILE
CRUZ VALENTIN, CARLOS       ADDRESS ON FILE
CRUZ VALENTIN, DIANA A      ADDRESS ON FILE
CRUZ VALENTIN, EDUARDO      ADDRESS ON FILE
CRUZ VALENTIN, EDWIN        ADDRESS ON FILE
CRUZ VALENTIN, EVELYN       ADDRESS ON FILE
CRUZ VALENTIN, JAIME        ADDRESS ON FILE
CRUZ VALENTIN, LOURDES      ADDRESS ON FILE
CRUZ VALENTIN, MADELYN      ADDRESS ON FILE
CRUZ VALENTIN, MADELYN      ADDRESS ON FILE
CRUZ VALENTIN, MARISOL      ADDRESS ON FILE
CRUZ VALENTIN, MAYRA        ADDRESS ON FILE
CRUZ VALENTIN, MELVIN       ADDRESS ON FILE
CRUZ VALENTIN, MILAGROS     ADDRESS ON FILE
CRUZ VALENTIN, MILAGROS     ADDRESS ON FILE
CRUZ VALENTIN, MINERVA      ADDRESS ON FILE
CRUZ VALENTIN, OLGA I.      ADDRESS ON FILE
Cruz Valentin, Robin        ADDRESS ON FILE
CRUZ VALENTIN, SABRINA      ADDRESS ON FILE
CRUZ VALENTIN, SANDRA       ADDRESS ON FILE
Cruz Valentin, Wanda        ADDRESS ON FILE
CRUZ VALENTIN, YARET Z      ADDRESS ON FILE
CRUZ VALLE, BLANCA I.       ADDRESS ON FILE
CRUZ VALLE, MARISOL         ADDRESS ON FILE
CRUZ VALLE, SOLANGEL        ADDRESS ON FILE
CRUZ VALLEJO, JORGE G       ADDRESS ON FILE
CRUZ VALLELLANE, LINNETTE   ADDRESS ON FILE
CRUZ VALLELLANE, LINNETTE   ADDRESS ON FILE
CRUZ VALLEOJO, JULIO        ADDRESS ON FILE
CRUZ VAN BRAKLE, NYDIA E    ADDRESS ON FILE
CRUZ VANESA, PÉREZ          ADDRESS ON FILE
CRUZ VARGAS, CARLOS         ADDRESS ON FILE
Cruz Vargas, Carlos E       ADDRESS ON FILE
CRUZ VARGAS, CARMEN F       ADDRESS ON FILE
CRUZ VARGAS, DEBORAH        ADDRESS ON FILE
CRUZ VARGAS, ELIZABETH      ADDRESS ON FILE
CRUZ VARGAS, ENEIDA         ADDRESS ON FILE
CRUZ VARGAS, FLOR           ADDRESS ON FILE
Cruz Vargas, Heriberto      ADDRESS ON FILE
CRUZ VARGAS, ISABELITA      ADDRESS ON FILE
CRUZ VARGAS, MADELYN        ADDRESS ON FILE
CRUZ VARGAS, MARILYN        ADDRESS ON FILE
CRUZ VARGAS, MARILYN        ADDRESS ON FILE
CRUZ VARGAS, MARILYN        ADDRESS ON FILE
CRUZ VARGAS, MARLINA        ADDRESS ON FILE
CRUZ VARGAS, MILDRED        ADDRESS ON FILE
CRUZ VARGAS, NIVIA          ADDRESS ON FILE
Cruz Vargas, Pedro J        ADDRESS ON FILE
CRUZ VARGAS, PEDRO J        ADDRESS ON FILE
CRUZ VARGAS, RUBEN          ADDRESS ON FILE




                                                                        Page 2011 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2012 of 3500
                                                                           17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name               Address1                  Address2                                   Address3   Address4   City          State   PostalCode   Country
CRUZ VARGAS, SHAMARIE       ADDRESS ON FILE
CRUZ VARGAS, SILVANO        ADDRESS ON FILE
CRUZ VARGAS, VANESSA        ADDRESS ON FILE
CRUZ VARGAS, VERONICA       ADDRESS ON FILE
CRUZ VARGAS, WIDILIA        ADDRESS ON FILE
CRUZ VARGAS, WILFREDO       ADDRESS ON FILE
CRUZ VARGAS, YOLANDA        ADDRESS ON FILE
CRUZ VASALLO, TOMAS         ADDRESS ON FILE
CRUZ VAZQUEZ, ABRAHAM       ADDRESS ON FILE
Cruz Vazquez, Aixa          ADDRESS ON FILE
CRUZ VAZQUEZ, ALEJANDRO     ADDRESS ON FILE
CRUZ VAZQUEZ, ANA D         ADDRESS ON FILE
CRUZ VAZQUEZ, ANGEL         ADDRESS ON FILE
CRUZ VAZQUEZ, ANGELO L      ADDRESS ON FILE
CRUZ VAZQUEZ, ANGIE         ADDRESS ON FILE
CRUZ VAZQUEZ, ANTONIA       ADDRESS ON FILE
CRUZ VAZQUEZ, BALTAZAR      ADDRESS ON FILE
CRUZ VAZQUEZ, CARMEN H      ADDRESS ON FILE
CRUZ VAZQUEZ, CARMEN M.     ADDRESS ON FILE
CRUZ VAZQUEZ, CELIA         ADDRESS ON FILE
CRUZ VAZQUEZ, CHRISTOPHER   ADDRESS ON FILE
CRUZ VAZQUEZ, CONSUELO      ADDRESS ON FILE
CRUZ VAZQUEZ, DENIS         ADDRESS ON FILE
CRUZ VAZQUEZ, DINORA        ADDRESS ON FILE
CRUZ VAZQUEZ, DINORA        ADDRESS ON FILE
Cruz Vazquez, Eduardo       ADDRESS ON FILE
CRUZ VAZQUEZ, EDWIN         ADDRESS ON FILE
CRUZ VAZQUEZ, EDWIN         ADDRESS ON FILE
CRUZ VAZQUEZ, ELDER         ADDRESS ON FILE
CRUZ VAZQUEZ, FANNY         ADDRESS ON FILE
CRUZ VAZQUEZ, FELIPE A      ADDRESS ON FILE
Cruz Vazquez, Francisco     ADDRESS ON FILE
CRUZ VAZQUEZ, FRANCISCO     ADDRESS ON FILE
CRUZ VAZQUEZ, GLADYS        ADDRESS ON FILE
Cruz Vazquez, Hamilton      ADDRESS ON FILE
CRUZ VAZQUEZ, HECTOR        ADDRESS ON FILE
CRUZ VÁZQUEZ, HÉCTOR        JUAN CORCHADO JUARBE      URB. HERMANAS DÁVILA AVE. BETANCES I‐2                           Bayamón       PR      00959
CRUZ VAZQUEZ, HECTOR        ADDRESS ON FILE
CRUZ VÁZQUEZ, HERMÁN        JUAN RIVERA RODRIGUEZ     PO BOX 1387                                                      VEGA BAJA     PR      00694
CRUZ VÁZQUEZ, HERMÁN        MICHELLE SMITH MIRÓ       PO BOX 9023933                                                   SAN JUAN      PR      00902‐3933
CRUZ VAZQUEZ, HORACIO       ADDRESS ON FILE
CRUZ VAZQUEZ, HORACIO       ADDRESS ON FILE
CRUZ VAZQUEZ, ILEANA        ADDRESS ON FILE
CRUZ VAZQUEZ, IRIS I        ADDRESS ON FILE
CRUZ VAZQUEZ, IRIS Y        ADDRESS ON FILE
CRUZ VAZQUEZ, ISRAEL        ADDRESS ON FILE
Cruz Vazquez, Israel        ADDRESS ON FILE
CRUZ VAZQUEZ, JANICE        ADDRESS ON FILE
CRUZ VAZQUEZ, JESUS         ADDRESS ON FILE
CRUZ VAZQUEZ, JIMMY         ADDRESS ON FILE
CRUZ VAZQUEZ, JORGE         ADDRESS ON FILE
CRUZ VAZQUEZ, JOSE          ADDRESS ON FILE
CRUZ VAZQUEZ, JOSE          ADDRESS ON FILE
CRUZ VAZQUEZ, JOSE A        ADDRESS ON FILE
CRUZ VAZQUEZ, JOSE IVAN     ADDRESS ON FILE
CRUZ VAZQUEZ, JOSE J        ADDRESS ON FILE
CRUZ VAZQUEZ, JOSE LUIS     ADDRESS ON FILE
CRUZ VAZQUEZ, JUAN R        ADDRESS ON FILE
CRUZ VAZQUEZ, JULIO A.      ADDRESS ON FILE
CRUZ VAZQUEZ, LIZZY         ADDRESS ON FILE




                                                                                  Page 2012 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2013 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ VAZQUEZ, LUIS              ADDRESS ON FILE
CRUZ VAZQUEZ, LUIS              ADDRESS ON FILE
CRUZ VAZQUEZ, LUIS A.           ADDRESS ON FILE
CRUZ VAZQUEZ, LUIS G.           ADDRESS ON FILE
CRUZ VAZQUEZ, LUZ C             ADDRESS ON FILE
CRUZ VAZQUEZ, MARCO             ADDRESS ON FILE
CRUZ VAZQUEZ, MARGARITA         ADDRESS ON FILE
CRUZ VAZQUEZ, MARGARITA E       ADDRESS ON FILE
CRUZ VAZQUEZ, MARIA D           ADDRESS ON FILE
CRUZ VAZQUEZ, MARTIN            ADDRESS ON FILE
CRUZ VAZQUEZ, MELCHOR           ADDRESS ON FILE
CRUZ VAZQUEZ, MELISSA           ADDRESS ON FILE
CRUZ VAZQUEZ, MERKISEDEC        ADDRESS ON FILE
CRUZ VAZQUEZ, MIGDALIA          ADDRESS ON FILE
Cruz Vazquez, Monserrate        ADDRESS ON FILE
CRUZ VAZQUEZ, MYRNA             ADDRESS ON FILE
CRUZ VAZQUEZ, NELSON            ADDRESS ON FILE
CRUZ VAZQUEZ, NELSON            ADDRESS ON FILE
CRUZ VAZQUEZ, NESTOR            ADDRESS ON FILE
CRUZ VAZQUEZ, OLGA              ADDRESS ON FILE
CRUZ VAZQUEZ, PAULA             ADDRESS ON FILE
CRUZ VAZQUEZ, PEDRO             ADDRESS ON FILE
CRUZ VAZQUEZ, PEDRO M           ADDRESS ON FILE
CRUZ VAZQUEZ, RAQUEL            ADDRESS ON FILE
CRUZ VAZQUEZ, REBECCA           ADDRESS ON FILE
CRUZ VAZQUEZ, RODE              ADDRESS ON FILE
CRUZ VAZQUEZ, SANDRA I.         ADDRESS ON FILE
CRUZ VAZQUEZ, SHARIMEL          ADDRESS ON FILE
CRUZ VAZQUEZ, VICTOR            ADDRESS ON FILE
CRUZ VAZQUEZ, VICTOR M          ADDRESS ON FILE
CRUZ VAZQUEZ, WANDA             ADDRESS ON FILE
CRUZ VAZQUEZ, WANDA             ADDRESS ON FILE
Cruz Vazquez, Yadimar Nereida   ADDRESS ON FILE
CRUZ VAZQUEZ, YERICA            ADDRESS ON FILE
CRUZ VEGA, ANA M                ADDRESS ON FILE
CRUZ VEGA, ANGEL                ADDRESS ON FILE
CRUZ VEGA, ANGEL                ADDRESS ON FILE
CRUZ VEGA, ARNALDO              ADDRESS ON FILE
CRUZ VEGA, CARMEN L             ADDRESS ON FILE
CRUZ VEGA, CARMEN L             ADDRESS ON FILE
CRUZ VEGA, CINDY                ADDRESS ON FILE
CRUZ VEGA, DANIEL               ADDRESS ON FILE
CRUZ VEGA, DAVID                ADDRESS ON FILE
CRUZ VEGA, DAVID E.             ADDRESS ON FILE
CRUZ VEGA, EDWIN                ADDRESS ON FILE
CRUZ VEGA, FRANCISCO            ADDRESS ON FILE
CRUZ VEGA, GISELLE              ADDRESS ON FILE
CRUZ VEGA, IRIS                 ADDRESS ON FILE
CRUZ VEGA, ISABEL               ADDRESS ON FILE
CRUZ VEGA, JAVIER A.            ADDRESS ON FILE
CRUZ VEGA, JEFREY               ADDRESS ON FILE
CRUZ VEGA, JETREY               ADDRESS ON FILE
CRUZ VEGA, JOEL                 ADDRESS ON FILE
CRUZ VEGA, JOSE                 ADDRESS ON FILE
CRUZ VEGA, JOSE A               ADDRESS ON FILE
CRUZ VEGA, JOSE F               ADDRESS ON FILE
Cruz Vega, Jose L               ADDRESS ON FILE
CRUZ VEGA, JUAN C               ADDRESS ON FILE
CRUZ VEGA, JUANITA              ADDRESS ON FILE
CRUZ VEGA, KIOMARA              ADDRESS ON FILE




                                                                            Page 2013 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2014 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ VEGA, LOURDES         ADDRESS ON FILE
CRUZ VEGA, MARIA           ADDRESS ON FILE
CRUZ VEGA, MARIA A         ADDRESS ON FILE
CRUZ VEGA, MARITZABEL      ADDRESS ON FILE
CRUZ VEGA, MAYDA I.        ADDRESS ON FILE
CRUZ VEGA, MIGDALIA        ADDRESS ON FILE
CRUZ VEGA, MIGUEL          ADDRESS ON FILE
CRUZ VEGA, MIGUEL ANGEL    ADDRESS ON FILE
Cruz Vega, Orlando         ADDRESS ON FILE
CRUZ VEGA, ORLANDO         ADDRESS ON FILE
Cruz Vega, Ramon           ADDRESS ON FILE
CRUZ VEGA, RAQUEL          ADDRESS ON FILE
CRUZ VEGA, RICHARD         ADDRESS ON FILE
Cruz Vega, Richard A       ADDRESS ON FILE
CRUZ VEGA, ROLANDO         ADDRESS ON FILE
CRUZ VEGA, RUTH E          ADDRESS ON FILE
CRUZ VEGA, SAMMY           ADDRESS ON FILE
CRUZ VEGA, SAMUEL          ADDRESS ON FILE
CRUZ VEGA, SANTOS          ADDRESS ON FILE
CRUZ VEGA, SOLIMAR         ADDRESS ON FILE
Cruz Vega, Steven          ADDRESS ON FILE
CRUZ VEGA, WALESKA         ADDRESS ON FILE
CRUZ VEGA, WALESKA         ADDRESS ON FILE
CRUZ VEGA, YAILYN          ADDRESS ON FILE
CRUZ VEGA, YANIRIS         ADDRESS ON FILE
CRUZ VEGA, YARITZA         ADDRESS ON FILE
CRUZ VEGA, YOLANDA         ADDRESS ON FILE
CRUZ VEGA, YOLANDA         ADDRESS ON FILE
CRUZ VEGA, ZORAIDA         ADDRESS ON FILE
CRUZ VEGERANO MD, ELISA    ADDRESS ON FILE
CRUZ VEGUILLA, MIGUEL      ADDRESS ON FILE
CRUZ VELAZCO, DELIA        ADDRESS ON FILE
CRUZ VELAZCO, ROSA         ADDRESS ON FILE
CRUZ VELAZQUEZ, ADOLFO L   ADDRESS ON FILE
CRUZ VELAZQUEZ, ALEJO      ADDRESS ON FILE
CRUZ VELAZQUEZ, ALICELIS   ADDRESS ON FILE
CRUZ VELAZQUEZ, AMNERIS    ADDRESS ON FILE
CRUZ VELAZQUEZ, ANGEL      ADDRESS ON FILE
CRUZ VELAZQUEZ, ANGEL M    ADDRESS ON FILE
CRUZ VELAZQUEZ, BENJAMIN   ADDRESS ON FILE
CRUZ VELAZQUEZ, BETSY I    ADDRESS ON FILE
CRUZ VELAZQUEZ, CARLA      ADDRESS ON FILE
CRUZ VELAZQUEZ, CARMEN     ADDRESS ON FILE
CRUZ VELAZQUEZ, CARMEN I   ADDRESS ON FILE
CRUZ VELAZQUEZ, CARMEN L   ADDRESS ON FILE
Cruz Velazquez, Cesar      ADDRESS ON FILE
CRUZ VELAZQUEZ, CRISTINA   ADDRESS ON FILE
CRUZ VELAZQUEZ, DORA       ADDRESS ON FILE
CRUZ VELAZQUEZ, EDGARDO    ADDRESS ON FILE
CRUZ VELAZQUEZ, EDWARD     ADDRESS ON FILE
CRUZ VELAZQUEZ, EVA        ADDRESS ON FILE
CRUZ VELAZQUEZ, GLORIA M   ADDRESS ON FILE
CRUZ VELAZQUEZ, HECTOR     ADDRESS ON FILE
Cruz Velazquez, Ileana     ADDRESS ON FILE
CRUZ VELAZQUEZ, IRIS L     ADDRESS ON FILE
CRUZ VELAZQUEZ, IRMA L     ADDRESS ON FILE
CRUZ VELAZQUEZ, IVELISSE   ADDRESS ON FILE
CRUZ VELAZQUEZ, JENNIFER   ADDRESS ON FILE
CRUZ VELAZQUEZ, JESMARIE   ADDRESS ON FILE
CRUZ VELAZQUEZ, JESUS G.   ADDRESS ON FILE




                                                                       Page 2014 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2015 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ VELAZQUEZ, JOHNNA      ADDRESS ON FILE
CRUZ VELAZQUEZ, JOSE        ADDRESS ON FILE
CRUZ VELAZQUEZ, JOSE A.     ADDRESS ON FILE
CRUZ VELAZQUEZ, JOSE D      ADDRESS ON FILE
CRUZ VELAZQUEZ, KENNETH     ADDRESS ON FILE
Cruz Velazquez, Luis C.     ADDRESS ON FILE
CRUZ VELAZQUEZ, LUIS O      ADDRESS ON FILE
Cruz Velazquez, Maria S     ADDRESS ON FILE
CRUZ VELAZQUEZ, MARIANO     ADDRESS ON FILE
CRUZ VELAZQUEZ, MAYRA       ADDRESS ON FILE
CRUZ VELAZQUEZ, MAYRA I     ADDRESS ON FILE
CRUZ VELAZQUEZ, MIGDALIA    ADDRESS ON FILE
CRUZ VELAZQUEZ, MIGDALIA    ADDRESS ON FILE
CRUZ VELAZQUEZ, MIGDOEL     ADDRESS ON FILE
CRUZ VELAZQUEZ, MIKEL       ADDRESS ON FILE
CRUZ VELAZQUEZ, NANCY       ADDRESS ON FILE
CRUZ VELAZQUEZ, NEIDA       ADDRESS ON FILE
CRUZ VELAZQUEZ, OBDULIA     ADDRESS ON FILE
CRUZ VELAZQUEZ, OLGA L      ADDRESS ON FILE
CRUZ VELAZQUEZ, ORLANDO     ADDRESS ON FILE
CRUZ VELAZQUEZ, RAFAEL A.   ADDRESS ON FILE
CRUZ VELAZQUEZ, RAUL        ADDRESS ON FILE
CRUZ VELAZQUEZ, RICHARD F   ADDRESS ON FILE
CRUZ VELAZQUEZ, SANDRA      ADDRESS ON FILE
CRUZ VELAZQUEZ, SANTA Z     ADDRESS ON FILE
CRUZ VELAZQUEZ, SIXTA       ADDRESS ON FILE
CRUZ VELAZQUEZ, SONIA I     ADDRESS ON FILE
CRUZ VELAZQUEZ, WILFREDO    ADDRESS ON FILE
CRUZ VELAZQUEZ, YUSBBAXSY   ADDRESS ON FILE
CRUZ VELAZQUEZ,KARYNA       ADDRESS ON FILE
CRUZ VELEZ, ADA R           ADDRESS ON FILE
CRUZ VELEZ, ADRIAN A        ADDRESS ON FILE
CRUZ VELEZ, AIDA L          ADDRESS ON FILE
CRUZ VELEZ, ALBA N          ADDRESS ON FILE
CRUZ VELEZ, ALEXANDER       ADDRESS ON FILE
CRUZ VELEZ, ANA P.          ADDRESS ON FILE
CRUZ VELEZ, ANA PAULINA     ADDRESS ON FILE
Cruz Velez, Anastacio       ADDRESS ON FILE
CRUZ VELEZ, ANGEL J         ADDRESS ON FILE
CRUZ VELEZ, ANGEL L         ADDRESS ON FILE
CRUZ VELEZ, CARLOS          ADDRESS ON FILE
Cruz Velez, Carlos J        ADDRESS ON FILE
CRUZ VELEZ, CARMELO         ADDRESS ON FILE
CRUZ VELEZ, CARMEN          ADDRESS ON FILE
CRUZ VELEZ, CARMEN I.       ADDRESS ON FILE
CRUZ VELEZ, CARMEN L        ADDRESS ON FILE
CRUZ VELEZ, CECILIO         ADDRESS ON FILE
CRUZ VELEZ, DAVID           ADDRESS ON FILE
CRUZ VELEZ, DAVID F.        ADDRESS ON FILE
CRUZ VELEZ, DORIS I         ADDRESS ON FILE
CRUZ VELEZ, EDUARDO         ADDRESS ON FILE
CRUZ VELEZ, ELIAS           ADDRESS ON FILE
CRUZ VELEZ, ELSA            ADDRESS ON FILE
Cruz Velez, Emmanuel        ADDRESS ON FILE
CRUZ VELEZ, EMMANUEL        ADDRESS ON FILE
CRUZ VELEZ, ESTHERVINA      ADDRESS ON FILE
CRUZ VELEZ, FERMIN J.       ADDRESS ON FILE
CRUZ VELEZ, FRANCISCA       ADDRESS ON FILE
CRUZ VELEZ, FRANCISCO       ADDRESS ON FILE
CRUZ VELEZ, FRANCISCO       ADDRESS ON FILE




                                                                        Page 2015 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2016 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ VELEZ, FREDDIE        ADDRESS ON FILE
CRUZ VELEZ, HELGA          ADDRESS ON FILE
Cruz Velez, Herminio       ADDRESS ON FILE
Cruz Velez, Ida L          ADDRESS ON FILE
CRUZ VELEZ, JOSE           ADDRESS ON FILE
CRUZ VELEZ, JOSE           ADDRESS ON FILE
CRUZ VELEZ, JOSE           ADDRESS ON FILE
CRUZ VELEZ, JOSE           ADDRESS ON FILE
Cruz Velez, Jose E         ADDRESS ON FILE
CRUZ VELEZ, JOSE G         ADDRESS ON FILE
CRUZ VELEZ, JUAN           ADDRESS ON FILE
CRUZ VELEZ, JULIA L        ADDRESS ON FILE
CRUZ VELEZ, JULIO          ADDRESS ON FILE
CRUZ VELEZ, KARIANE        ADDRESS ON FILE
CRUZ VELEZ, KARIANE M      ADDRESS ON FILE
CRUZ VELEZ, KARINEABELLE   ADDRESS ON FILE
CRUZ VELEZ, KARMEN L       ADDRESS ON FILE
CRUZ VELEZ, KELVIN OMAR    ADDRESS ON FILE
Cruz Velez, Limaris        ADDRESS ON FILE
CRUZ VELEZ, LIZ M          ADDRESS ON FILE
CRUZ VELEZ, LIZBETH        ADDRESS ON FILE
CRUZ VELEZ, LIZETH         ADDRESS ON FILE
CRUZ VELEZ, LOURDES        ADDRESS ON FILE
CRUZ VELEZ, LOURDES        ADDRESS ON FILE
CRUZ VELEZ, LUIS           ADDRESS ON FILE
CRUZ VELEZ, MAGDA          ADDRESS ON FILE
CRUZ VELEZ, MAGDA I        ADDRESS ON FILE
CRUZ VELEZ, MANUEL S       ADDRESS ON FILE
CRUZ VELEZ, MARGARITA      ADDRESS ON FILE
CRUZ VELEZ, MARIA          ADDRESS ON FILE
CRUZ VELEZ, MARIELA A.     ADDRESS ON FILE
CRUZ VELEZ, MARITZA        ADDRESS ON FILE
CRUZ VELEZ, NELIDA         ADDRESS ON FILE
CRUZ VELEZ, NOEMI          ADDRESS ON FILE
CRUZ VELEZ, OLGA           ADDRESS ON FILE
CRUZ VELEZ, OLGA           ADDRESS ON FILE
CRUZ VELEZ, ORLANDO        ADDRESS ON FILE
CRUZ VELEZ, RAFAEL         ADDRESS ON FILE
Cruz Velez, Ramon A        ADDRESS ON FILE
CRUZ VELEZ, RENE           ADDRESS ON FILE
CRUZ VELEZ, RICARDO        ADDRESS ON FILE
CRUZ VELEZ, ROBERTO        ADDRESS ON FILE
CRUZ VELEZ, ROBERTO        ADDRESS ON FILE
Cruz Velez, Roberto        ADDRESS ON FILE
CRUZ VELEZ, ROLANDO        ADDRESS ON FILE
CRUZ VELEZ, RUBEN          ADDRESS ON FILE
CRUZ VELEZ, SARA           ADDRESS ON FILE
CRUZ VELEZ, SARA I         ADDRESS ON FILE
CRUZ VELEZ, YANIRA         ADDRESS ON FILE
CRUZ VELILLA, LAURO        ADDRESS ON FILE
CRUZ VELLON, MARGARITA     ADDRESS ON FILE
Cruz Vendrell, Diana M     ADDRESS ON FILE
CRUZ VENDRELL, JEANNETTE   ADDRESS ON FILE
CRUZ VENDRELL, ORLANDO     ADDRESS ON FILE
CRUZ VENEGAS, FRANCISCA    ADDRESS ON FILE
CRUZ VENEGAS, HIPOLITA     ADDRESS ON FILE
CRUZ VERA, ANA M           ADDRESS ON FILE
CRUZ VERA, GLORIA E        ADDRESS ON FILE
CRUZ VERA, JESUS           ADDRESS ON FILE
CRUZ VERA, MARIA M         ADDRESS ON FILE




                                                                       Page 2016 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2017 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ VERAS, LUZ                ADDRESS ON FILE
CRUZ VERDEJO, GLADYS           ADDRESS ON FILE
CRUZ VERGARA, EDUARDO          ADDRESS ON FILE
CRUZ VERGARA, ISABEL           ADDRESS ON FILE
CRUZ VERGARA, LUIS             ADDRESS ON FILE
CRUZ VERGARA, PEDRO            ADDRESS ON FILE
CRUZ VIANA, HECTOR             ADDRESS ON FILE
CRUZ VIANA, LUIS               ADDRESS ON FILE
CRUZ VIANA, RAQUEL             ADDRESS ON FILE
CRUZ VIAS, PABLO               ADDRESS ON FILE
CRUZ VICENS, JUAN              ADDRESS ON FILE
Cruz Vicente, Efrain           ADDRESS ON FILE
CRUZ VICENTE, YELIX            ADDRESS ON FILE
CRUZ VICENTY, ZULEIKA M        ADDRESS ON FILE
CRUZ VIDAL, TAMARA             ADDRESS ON FILE
CRUZ VIERA, CARLOS             ADDRESS ON FILE
Cruz Viera, Julia              ADDRESS ON FILE
CRUZ VIGO, JELITZA             ADDRESS ON FILE
CRUZ VILAR, NAARA E            ADDRESS ON FILE
Cruz Villafane, Alfonso M      ADDRESS ON FILE
CRUZ VILLAFANE, ARACELIS       ADDRESS ON FILE
CRUZ VILLAFANE, FRANCISCO      ADDRESS ON FILE
Cruz Villafane, Geovany        ADDRESS ON FILE
CRUZ VILLAFANE, JOSE           ADDRESS ON FILE
CRUZ VILLALOBOS, CARMEN        ADDRESS ON FILE
CRUZ VILLALOBOS, JOSE          ADDRESS ON FILE
CRUZ VILLALOBOS, LOURDES A     ADDRESS ON FILE
CRUZ VILLALOBOS, LUIS E        ADDRESS ON FILE
CRUZ VILLALOBOS, MARIA DEL L   ADDRESS ON FILE
CRUZ VILLANUEVA, BETSY A       ADDRESS ON FILE
CRUZ VILLANUEVA, EDWIN         ADDRESS ON FILE
CRUZ VILLANUEVA, FRANCISCO J   ADDRESS ON FILE
CRUZ VILLANUEVA, FRANK         ADDRESS ON FILE
CRUZ VILLANUEVA, GILBERTO      ADDRESS ON FILE
CRUZ VILLANUEVA, GLADYS M      ADDRESS ON FILE
CRUZ VILLANUEVA, HANS          ADDRESS ON FILE
CRUZ VILLANUEVA, HECTOR        ADDRESS ON FILE
CRUZ VILLANUEVA, JANICE        ADDRESS ON FILE
Cruz Villanueva, Jose W        ADDRESS ON FILE
CRUZ VILLANUEVA, JOSUE         ADDRESS ON FILE
CRUZ VILLANUEVA, NELIDA        ADDRESS ON FILE
CRUZ VILLANUEVA, OSCAR         ADDRESS ON FILE
CRUZ VILLANUEVA, WANDA I       ADDRESS ON FILE
CRUZ VILLEGAS MD, VANESSA      ADDRESS ON FILE
CRUZ VILLEGAS, ANGEL           ADDRESS ON FILE
CRUZ VILLEGAS, WILMA           ADDRESS ON FILE
CRUZ VINAS, JUAN               ADDRESS ON FILE
CRUZ VIRUET, ISMAEL            ADDRESS ON FILE
CRUZ VIRUET, JAHAYRA           ADDRESS ON FILE
CRUZ VIRUET, MARICARMEN        ADDRESS ON FILE
CRUZ VIZCARONDO, WANDA         ADDRESS ON FILE
CRUZ VIZCARRONDO, WANDA I      ADDRESS ON FILE
CRUZ WALKER, ELIZABETH         ADDRESS ON FILE
CRUZ WALKER, GERARDO           ADDRESS ON FILE
CRUZ WALKER, GERARDO L         ADDRESS ON FILE
CRUZ WALKER, MAHOGANY          ADDRESS ON FILE
CRUZ WALKER, MARIA A           ADDRESS ON FILE
CRUZ WELLS, MADELLINE          ADDRESS ON FILE
CRUZ YORRO, SONIA              ADDRESS ON FILE
CRUZ YULFO, NOELIA             ADDRESS ON FILE




                                                                           Page 2017 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 2018 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZ ZAMBRANA, JAIME      ADDRESS ON FILE
CRUZ ZAMBRANA, JOSE       ADDRESS ON FILE
CRUZ ZAMORA, CONCEPCION   ADDRESS ON FILE
CRUZ ZAMORA, MAGALIS      ADDRESS ON FILE
CRUZ ZAPATA, MIGUEL       ADDRESS ON FILE
CRUZ ZAYAS, ABRAHAM       ADDRESS ON FILE
CRUZ ZAYAS, ANGEL T.      ADDRESS ON FILE
CRUZ ZAYAS, IDA L         ADDRESS ON FILE
CRUZ ZAYAS, JANET         ADDRESS ON FILE
CRUZ ZAYAS, JOSE          ADDRESS ON FILE
CRUZ ZAYAS, LIZBETH       ADDRESS ON FILE
CRUZ ZAYAS, MARILU        ADDRESS ON FILE
CRUZ ZAYAS, MARILU        ADDRESS ON FILE
CRUZ ZAYAS, OLGA I.       ADDRESS ON FILE
CRUZ ZAYAS, REINALDO J    ADDRESS ON FILE
CRUZ ZAYAS, VALERIA       ADDRESS ON FILE
CRUZ ZENO, VIMARIE        ADDRESS ON FILE
CRUZ ZENQUIS, WILMER      ADDRESS ON FILE
CRUZ, ALBERTO             ADDRESS ON FILE
CRUZ, AMARILYS            ADDRESS ON FILE
CRUZ, ANDREA              ADDRESS ON FILE
CRUZ, ANGEL L             ADDRESS ON FILE
CRUZ, ANGEL L.            ADDRESS ON FILE
CRUZ, ANGEL M.            ADDRESS ON FILE
CRUZ, AWILDA              ADDRESS ON FILE
CRUZ, AXEL                ADDRESS ON FILE
CRUZ, CARLOS E            ADDRESS ON FILE
CRUZ, CARMEN D.           ADDRESS ON FILE
CRUZ, CLARA LETICIA       ADDRESS ON FILE
CRUZ, DOLORES B           ADDRESS ON FILE
CRUZ, DOMINGA             ADDRESS ON FILE
CRUZ, ECNIEL J            ADDRESS ON FILE
CRUZ, EDDA                ADDRESS ON FILE
CRUZ, ELIUD               ADDRESS ON FILE
CRUZ, EVA I               ADDRESS ON FILE
CRUZ, EVELYN              ADDRESS ON FILE
CRUZ, FRANCES             ADDRESS ON FILE
Cruz, Gabriel             ADDRESS ON FILE
CRUZ, GLADYS              ADDRESS ON FILE
CRUZ, GUADALUPE           ADDRESS ON FILE
CRUZ, JAVIER A.           ADDRESS ON FILE
CRUZ, JEFFREY             ADDRESS ON FILE
CRUZ, JESUS               ADDRESS ON FILE
Cruz, Jesus E.            ADDRESS ON FILE
CRUZ, JONATHAN            ADDRESS ON FILE
CRUZ, JOSE                ADDRESS ON FILE
CRUZ, JOSE                ADDRESS ON FILE
CRUZ, JOSE                ADDRESS ON FILE
Cruz, Jose A              ADDRESS ON FILE
CRUZ, JOSE A.             ADDRESS ON FILE
CRUZ, JOSE W.             ADDRESS ON FILE
CRUZ, JUAN A              ADDRESS ON FILE
CRUZ, JUAN E.             ADDRESS ON FILE
CRUZ, LESLIE              ADDRESS ON FILE
CRUZ, LILLIAM E           ADDRESS ON FILE
Cruz, Lillian             ADDRESS ON FILE
CRUZ, LUIS F.             ADDRESS ON FILE
CRUZ, MADELINE            ADDRESS ON FILE
CRUZ, MARGARITA           ADDRESS ON FILE
CRUZ, MARIA DE LOS        ADDRESS ON FILE




                                                                      Page 2018 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2019 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                       Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
CRUZ, MARIBEL                       ADDRESS ON FILE
CRUZ, MAYRA                         ADDRESS ON FILE
CRUZ, MILAGROS                      ADDRESS ON FILE
CRUZ, NANCY                         ADDRESS ON FILE
CRUZ, NICHOLAS                      ADDRESS ON FILE
CRUZ, ROBERTO                       ADDRESS ON FILE
CRUZ, RUBEN                         ADDRESS ON FILE
CRUZ, SOAN G                        ADDRESS ON FILE
CRUZ, SUJEY                         ADDRESS ON FILE
CRUZ, VICENTE H                     ADDRESS ON FILE
CRUZ, VICTOR                        ADDRESS ON FILE
CRUZ, WILFREDO                      ADDRESS ON FILE
CRUZ, WILLIAM                       ADDRESS ON FILE
CRUZ, WILLIAM WILKINS               ADDRESS ON FILE
CRUZ, XIOMARA                       ADDRESS ON FILE
CRUZ, YADIEL                        ADDRESS ON FILE
CRUZ,ALEJANDRO                      ADDRESS ON FILE
CRUZ,ANA HILDA                      ADDRESS ON FILE
CRUZ,CARLOS E.                      ADDRESS ON FILE
CRUZ,CARLOS L.                      ADDRESS ON FILE
CRUZ,CRUZ                           ADDRESS ON FILE
CRUZ,EMILIO                         ADDRESS ON FILE
CRUZ,GILBERTO                       ADDRESS ON FILE
CRUZ,HECTOR R                       ADDRESS ON FILE
CRUZ,HERMINIO                       ADDRESS ON FILE
CRUZ,MARIANO                        ADDRESS ON FILE
CRUZ,RAFAEL                         ADDRESS ON FILE
CRUZ,RICARDO                        ADDRESS ON FILE
CRUZ,WILLIAM                        ADDRESS ON FILE
CRUZACEVEDO, JAVIER                 ADDRESS ON FILE
CRUZADA JUVENIL EL JOVEN PREGUNTA   COND PLAZA DEL PARQUE     CALLE 142 APTO 1101                                        CAROLINA     PR      00983
CRUZADO ACEVEDO, FIDEL              ADDRESS ON FILE
CRUZADO ALBI, MAGALI                ADDRESS ON FILE
CRUZADO AMADOR, JULIA E             ADDRESS ON FILE
CRUZADO ARROYO, JESUS               ADDRESS ON FILE
Cruzado Arroyo, Ruth M              ADDRESS ON FILE
CRUZADO AVILES, WILLIAM             ADDRESS ON FILE
CRUZADO BAEZ, AMANDA                ADDRESS ON FILE
CRUZADO CARRASQUILLO, ELIAS         ADDRESS ON FILE
CRUZADO CARRASQUILLO, KIRIAM E      ADDRESS ON FILE
CRUZADO CEBALLOS, RICARDO           ADDRESS ON FILE
CRUZADO CINTRON, MARIA              ADDRESS ON FILE
CRUZADO COLON, ANA M                ADDRESS ON FILE
CRUZADO CRESPO, RAMONA              ADDRESS ON FILE
CRUZADO CRUZ, WALESKA               ADDRESS ON FILE
CRUZADO DEL VALLE, EDUARDO          ADDRESS ON FILE
CRUZADO DEL VALLE, KEILA            ADDRESS ON FILE
CRUZADO DEL VALLE, RAMON            ADDRESS ON FILE
CRUZADO DOMINGUEZ, CINDY E          ADDRESS ON FILE
CRUZADO GARCIA, ILIA M              ADDRESS ON FILE
CRUZADO GARMENDIZ, JOHANNA          ADDRESS ON FILE
CRUZADO GARMENDIZ, JOHANNA C.       ADDRESS ON FILE
CRUZADO GONZALEZ, JULIA             ADDRESS ON FILE
CRUZADO JAPAN, JONAS                ADDRESS ON FILE
CRUZADO JIMENEZ, ARMANDO            ADDRESS ON FILE
CRUZADO MALDONADO, ELSIE            ADDRESS ON FILE
CRUZADO MALDONADO, LUIS             ADDRESS ON FILE
CRUZADO MARRERO, NILDA              ADDRESS ON FILE
CRUZADO MARTINEZ, DENNIS            ADDRESS ON FILE
CRUZADO MARTINEZ, GERINELDO         ADDRESS ON FILE




                                                                                    Page 2019 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2020 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CRUZADO MELENDEZ, MARLEINE     ADDRESS ON FILE
CRUZADO MERCADO, MERCEDES      ADDRESS ON FILE
CRUZADO MIRANDA, ANGEL         ADDRESS ON FILE
CRUZADO MOLINA, BERNARDO       ADDRESS ON FILE
CRUZADO MOLINA, DANIEL         ADDRESS ON FILE
CRUZADO MOLINA, JUAN           ADDRESS ON FILE
CRUZADO MOLINA, LILLYBETH      ADDRESS ON FILE
CRUZADO MOLINA, OLGA N.        ADDRESS ON FILE
CRUZADO MONTALVO, NAYDETTE     ADDRESS ON FILE
CRUZADO MONTALVO, NAYDETTE M   ADDRESS ON FILE
CRUZADO MORALES, ANTONIO       ADDRESS ON FILE
Cruzado Nieves, Marisol        ADDRESS ON FILE
CRUZADO OCASIO, HILDA          ADDRESS ON FILE
CRUZADO PABON, ANA C.          ADDRESS ON FILE
CRUZADO PANTOJA, ADA M         ADDRESS ON FILE
CRUZADO PEREZ MD, ENRIQUE      ADDRESS ON FILE
CRUZADO RAMOS, ELISA           ADDRESS ON FILE
CRUZADO RAMOS, ELISA M         ADDRESS ON FILE
CRUZADO RIOS, ARIALYS          ADDRESS ON FILE
CRUZADO RIOS, ARIALYS          ADDRESS ON FILE
CRUZADO RODRIGUEZ, LERESHKA    ADDRESS ON FILE
CRUZADO RODRIGUEZ, MARIELI     ADDRESS ON FILE
CRUZADO ROJAS, RADDIE          ADDRESS ON FILE
CRUZADO ROLDAN, DAMARIS        ADDRESS ON FILE
CRUZADO TORRES, ANA C          ADDRESS ON FILE
CRUZADO TORRES, DIANA G        ADDRESS ON FILE
CRUZADO VAZQUEZ, FRANCISCO     ADDRESS ON FILE
CRUZADO VEGA, ALICIA           ADDRESS ON FILE
CRUZADO, EMMANUEL              ADDRESS ON FILE
CRUZALICEA, WALESKA            ADDRESS ON FILE
CRUZARRIAGA, CARMEN I          ADDRESS ON FILE
CRUZARROYO, FELIPE             ADDRESS ON FILE
CRUZAYALA, EDWIN               ADDRESS ON FILE
CRUZBATISTA, ZURYAM            ADDRESS ON FILE
CRUZCRUZ, JESUS                ADDRESS ON FILE
CRUZDAVILA, EDGAR              ADDRESS ON FILE
CRUZDIAZ, ARTEMIO              ADDRESS ON FILE
CRUZFIGUEROA, ISAURA           ADDRESS ON FILE
CRUZGARAY, RAMON               ADDRESS ON FILE
CRUZGONZALEZ, JORGE            ADDRESS ON FILE
CRUZGONZALEZ, JOSE A           ADDRESS ON FILE
CRUZMARTINEZ, OMAR             ADDRESS ON FILE
CRUZMEDINA, MIGUEL             ADDRESS ON FILE
CRUZMELENDEZ, RAMON J          ADDRESS ON FILE
CRUZNAZARIO, SILVIA E          ADDRESS ON FILE
Cruz‐Nieves, Evelyn            ADDRESS ON FILE
CRUZORTEGA, JOSE L             ADDRESS ON FILE
CRUZORTIZ, FELIX               ADDRESS ON FILE
CRUZRIVERA, GUILLERMO          ADDRESS ON FILE
CRUZRIVERA, JOSE A             ADDRESS ON FILE
CRUZRIVERA, MARIBEL            ADDRESS ON FILE
CRUZRODRIGUEZ, DIEGO           ADDRESS ON FILE
CRUZRODRIGUEZ, MARITZA D       ADDRESS ON FILE
CRUZRODRIGUEZ, MIGUEL A        ADDRESS ON FILE
CRUZROJAS, DESIDERIO           ADDRESS ON FILE
CRUZROSARIO, WILLIAM           ADDRESS ON FILE
CRUZSANTANA, MIGUEL            ADDRESS ON FILE
Cruz‐Santiago, Carmen          ADDRESS ON FILE
CRUZTORRES, JUAN R             ADDRESS ON FILE
CRUZVILLANUEVA, CARMEN         ADDRESS ON FILE




                                                                           Page 2020 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2021 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                          Address2                                    Address3         Address4   City             State   PostalCode    Country
CRYOGENIC SISTEMS C S P                  URB SANTA JUANITA                 L33 AVE LAUREL                                                          BAYAMON          PR      00956
CRYSTAL ACEVEDO                          ADDRESS ON FILE
CRYSTAL DIAZ ROMERO                      ADDRESS ON FILE
CRYSTAL GRAPHICS INC                     3350 SCOTT BOULEVARD                                                                                      SANTA CLARA      CA      95054
CRYSTAL M DE JESUS RAMOS                 ADDRESS ON FILE
CRYSTAL M RIOS VEGA                      ADDRESS ON FILE
CRYSTAL MANZANO MELENDEZ                 ADDRESS ON FILE
CRYSTAL MARRERO RAMIREZ                  ADDRESS ON FILE
CRYSTAL MIRANDA RIVERA                   ADDRESS ON FILE
CRYSTAL RODRIGUEZ ORTIZ                  ADDRESS ON FILE
CRYSTAL RUN HEALTHCARE                   95 CRYSTAL RUN RD                                                                                         MIDDLETOWN       NY      10941
CRYSTAL WEEKES GONZALEZ/KIMBERLEY WEEKESADDRESS ON FILE
CRYSTAMARIE SANTIAGO CRUZ                ADDRESS ON FILE
CSA ARCHITECTS & ENGINEERS               1064 AVE PONCE DE LEON            SUITE 500                                                               SAN JUAN         PR      000907‐3740
CSA ARCHITECTS & ENGINEERS               AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                               SAN JUAN         PR      00902‐4140
CSA ARCHITECTS & ENGINEERS               MERCANTIL PLAZA                                                                                           SAN JUAN         PR      00918
CSA ARCHITECTS & ENGINEERS , LLP         SUITE 500 PONCE DE LEON # 1064                                                                            SAN JUAN         PR      00907
CSA ARCHITECTS & ENGINEERS, LLP          CSA PLAZA                         1064 PONCE DE LEON                          SUITE 500                   SAN JUAN         PR      000907‐3740
CSA ARCHITECTS & ENGINEERS, LLP          MERCANTIL PLAZA                   MEZZANINE SUITE                                                         SAN JUAN         PR      00918
CSC MANAGEMENT DE P R                    PO BOX 9023794                                                                                            SAN JUAN         PR      00902
CSCG , INC.                              P.O. BOX 991                                                                                              AGUADA           PR      00602‐0000
CSI INTERNATIONAL CORP                   299 CALLE DR RAMON E BETANCES S                                                                           MAYAGUEZ         PR      00680
CSILLA S FEHER                           7512 WHITAKER AVE                                                                                         VAN NUYS         CA      91406
CSJJ MARKETING INC                       PO BOX 1776                                                                                               LUQUILLO         PR      00773
CST PUERTO RICO INC                      JARD DE CAROLINA                  23 CALLE JJ                                                             CAROLINA         PR      00987
CT FAMILY TRUST                          PO BOX 3130                                                                                               MAYAGUEZ         PR      00681‐3130
CT RADIOLOGY                             PO BOX 602727                                                                                             BAYAMON          PR      00960‐6037
CT RADIOLOGY COMPLEX INC                 PO BOX 2727                                                                                               BAYAMON          PR      00960‐2727
CT RADIOLOGY COMPLEX INC                 PO BOX 602727                                                                                             BAYAMON          PR      00960‐6037
CTC CENTER TECH COMM INC                 PO BOX 1253                                                                                               CIDRA            PR      00739
CTE CELEBRACION CENTENARIO TRAS TALLERES TRASTALLERES                      1021 CALLE LA ROSA                                                      SAN JUAN         PR      00907
CTE PRO VELORIO DE REYES/JESUS M RAMOS   DE JESUS                          PO BOX 240                                                              QUEBRADILLAS     PR      00679
CTM MEDIA GROUP OF PUERTO RICO INC       P O BOX 9066382                                                                                           SAN JUAN         PR      00906‐6382
CTO. MED DEL TURABO DBA HOSP SAN PABLO PO BOX 4980                                                                                                 CAGUAS           PR      00726
CTR AYUDA Y TERAPIA AL NINO CON IMPEDIME 140 CALLE MONSENOR TORRES                                                                                 MOCA             PR      00676
CTR AYUDA Y TERAPIA AL NINO CON IMPEDIME Y BANCO POPULAR DE PUERTO RICO    108 CALLE CALAZAR LASSALLE                                              MOCA             PR      00676
CTR AYUDA Y TERAPIA AL NINO CON IMPEDIME Y BANCO POPULAR DE PUERTO RICO    108 CALLE CALAZAN LASSALLE                                              MOCA             PR      00676
CTR DE EVALUACION Y TERAPIA DE PENUELAS CALLE AMALIA MARIN #710                                                                                    PENUELAS         PR      00624
CTR EDUCATIVO DE APRENDIZAJES MULTIPLES URB. EL COMANDANTE                 #984 CALLE CARMEN HERNADEZ                                              SAN JUAN         PR      00924
CTR EDUCATIVO DE APRENDIZAJES MULTIPLES URB. EL COMANDANTE                 #981 CALLE CARMEN HERNANDEZ                                             SAN JUAN         PR      00924
                                                                                                                       20 VEREDAS LOS
CTR EDUCATIVO Y TERAPEUTICO              MI RINCON DE LOS SUENOS, INC.     CAMINOS DEL BOSQUE                          LAURELES                    SAN JUAN         PR      00926
CTR PREESCOLAR Y EST COMPLEMENTARIOS NIMAVE LOMAS VERDES 3G‐7              URB LOMAS VERDES                                                        BAYAMON          PR      00956
CTR TERAPIA OCUPACIONAL PEDIATRICA       DEL SURESTE LLC                   PO BOX 192                                                              MAUNABO          PR      00707
CTR TERAPIA OCUPACIONAL PEDIATRICA       DEL SURESTE LLC                   URB VILLA ROSA                              #3 B‐14                     GUAYAMA          PR      00785
CTRO ADIEST. Y DESARROLLO EDUC PROF.     PO BOX 578                                                                                                MOCA             PR      00676
CTRO ADIESTRAMIENTO PERSONAS IMPEDIMENTP O BOX 119                                                                                                 AIBONITO         PR      00705
CTRO ADULTOS NIÐOS CON IMPEDIMENTOS INC 133 CALLE DR GONZALEZ                                                                                      ISABELA          PR      00662
CTRO ADULTOS NINOS CON IMPEDIMENTOS INC 133 CALLE DR GONZALEZ                                                                                      ISABELA          PR      00662
CTRO COMUNITARIO DE SERV ALA FAMILIA INC RR 5 BOX 8188                                                                                             BAYAMON          PR      00956‐9724
CTRO CUIDADO DES DEL NINO RAYITOS DE SOL PO BOX 1657                                                                                               VEGA BAJA        PR      00694‐1657
CTRO CUIDADO DIURNO MI ARCOIRIS DE AMOR ADDRESS ON FILE
CTRO CUIDO INFANTIL PEQUENOS QUERUBINES P O BOX 800936                                                                                             COTO LAUREL      PR      00780‐0936
CTRO CULTURAL MIGUEL MELENDEZ MUNOZ      PO BOX 5074                       ESTANCIA CUC                                                            CAYEY            PR      00737
CTRO DE ATENCION ESPECIALIZADA INTEGRAL URB VILLA CAROLINA                 68‐54 CALLE 56                                                          CAROLINA         PR      00985
CTRO DE CUIDO ENTRE SOLES Y LUNITAS CORP URB BALDRICH                      562 CALLE PEDRO BIGAY                                                   SAN JUAN         PR      00918
CTRO DE EVALUACION Y TERAPIA DEL SURESTE DEL SUR ESTE INC                  P O BOX 1249                                                            GUAYAMA          PR      00785
CTRO DE EVALUACION Y TERAPIA DEL SURESTE PO BOX 1249                                                                                               GUAYAMA          PR      00784
CTRO DE EVALUACION Y TERAPIA DEL SURESTE Y BANCO POPULAR DE PUERTO RICO    PO BOX 362708                                                           SAN JUAN         PR      00936
CTRO DE EVALUACION Y TERAPIA DEL SURESTE Y BANCO POPULAR DE PUERTO RICO    SUCURSAL GUAYAMA MALL (323)                 PO BOX 362708               SAN JUAN         PR      00936‐2708




                                                                                                        Page 2021 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2022 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                               Address1                           Address2                                      Address3        Address4   City              State   PostalCode   Country
CTRO DE ORIENTACION Y ACCION SOCIAL INC     PO BOX 2078                                                                                                 VEGA ALTA         PR      00692
CTRO DE PARALISIS CEREBRAL HNOS TONITOS PO BOX 152                                                                                                      GUAYNABO          PR      00651
CTRO DE SERV MULTIPLES CTRO GERIATRICOS LA MONSERRATE INC                      PO BOX 2189                                                              MOCA              PR      00676
CTRO DE TERAPIA FISICA Y CLINICA DEL        URB FERNANDEZ                      4 AVE JOHN F KENNEDY                                                     CIDRA             PR      00739
CTRO DESARROLLO ALEGRIA DIV INFANTIL INC HC 1 BOX 7208                                                                                                  VILLALBA          PR      00766
CTRO DIAG Y TRATAMIENTO OFTALMOLOGICO PO BOX 41281                                                                                                      SAN JUAN          PR      00940
CTRO DIAGNOST INTELIGENCIAS MULTIPLES       PO BOX 9023879                                                                                              SAN JUAN          PR      00902‐3879
CTRO DIAGNOSTICO INTELIGENCIAS MULTIPLES PO BOX 9023879                                                                                                 SAN JUAN          PR      00902‐3879
CTRO DIAGNOSTICO TRATAMIENTO SAN SEBASTI PO BOX 1663                                                                                                    SAN SEBASTIAN     PR      00685
CTRO DIAGNOSTICO Y TRATAMIENTO PONCE        P O BOX 34129                                                                                               PONCE             PR      00734
CTRO EDUC MULTIDISCIPLINARIO INTEGRADO URB SAN FERNANDO                        E 22 AVENIDA BETANCES                                                    BAYAMON           PR      00957
CTRO EDUC MULTIDISCIPLINARIO INTEGRADO URB SAN JUANITA                         AVENIDA SANTA JUANITA L‐57                                               BAYAMON           PR      00956
CTRO ESPECIALIZADO EN NEUROFISIATRIA        SAN FRANCISCO TOWER                365 DE DIEGO AVE STE 409                                                 SAN JUAN          PR      00909‐1711
CTRO ESTUDIOS AVANZADOS DE PR Y DEL CA      PO BOX 9023970, 52 CALLE CRISTO                                                                             SAN JUAN          PR      00902‐3970
CTRO GASTROENTEROLOGIA PEDIATRICA DEL OE PO BOX 3224                                                                                                    MAYAGUEZ          PR      00681‐3224
CTRO GERIATRICO CARITATIVO LA MILAGROSA P O BOX 2247                                                                                                    MAYAGUEZ          PR      00681‐2247
CTRO HEMATOLOGIA ONCOLOGIA DEL ESTE         PO BOX 4186                                                                                                 PUERTO REAL       PR      00740
CTRO INTERDISCIPLINARIO TERAPEUTICO EDUC 250 OESTE CALLE MCKINLEY SUITE B      COND MARISOL                                                             MAYAGUEZ          PR      00680
CTRO IPA 342 CEMPRI CORP SERV INTEGRALES D PO BOX 515                                                                                                   NARANJITO         PR      00719
CTRO MATERNAL PARAEL DES INF LA CARRIOCA URB CROUN HILLS EL SENORIAL           127 CARITE                                                               SAN JUAN          PR      00926
CTRO MATERNAL PARAEL DES INF LA CARRIOLA URB CROWN HILLS                       EL SENORIAL 127 C/ CELITE                                                SAN JUAN          PR      00908
CTRO MEDICINA FIS Y REHABILITACION DE RIO GRPO BOX 2884                                                                                                 RIO GRANDE        PR      00745
CTRO MEDICO AL CUIDADO DELA MUJER           PO BOX 6747                                                                                                 CAGUAS            PR      00726‐6747
CTRO MEDICO DIAG MUNOZ RIVERA PSC           URB URB MUNOZ RIVERA               59 CALLE AVE ESMERALDA                                                   GUAYNABO          PR      00969
CTRO OPTICO DE CAYEY DBA GLADYS ACEVEDO PEREZ HERMANOS PLAZA                   JESUS T. PINERO 4005                                                     CAYEY             PR      00736
CTRO ORIENT AYUDA PSIQUIATRICA NINOS INC LOIZA VALLEY SHOPPING CENTER          LOCAL AA‐6                                                               CANOVANAS         PR      00729
CTRO PARA FORTALECIMIENTO DE LA JUVENTUD P O BOX 336                                                                                                    CAGUAS            PR      00726‐0336
CTRO PEDIATRICO DR RIVERA ESQUERDO          PO BOX 401                                                                                                  CEIBA             PR      00735
CTRO PREESCOLAR COOPERATIVO DE LA U S C CALLE SAN ANTONIO Y ROSALES                                                                                     SAN JUAN          PR      00914
CTRO PREESCOLAR COOPERATIVO DE LA U S C PO BOX 12383                                                                                                    SAN JUAN          PR      00914‐0383
CTRO PREVENTIVO DES DEL SUENO               LEVITTOWN                          2681 AVE BOULEVARD                                                       TOA BAJA          PR      00949
CTRO PSICOLOGICO Y EDUCATIVO                A LA COMUNIDAD ESCOLAR             CAGUAS TOWER APT 504                                                     CAGUAS            PR      00725
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO BCO. POPULAR C.B.C. CAGUAS             P O BOX 362708                                                           SAN JUAN          PR      00936‐2708
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO EXT EL VERDE                           19 CALLE LUCERO                                                          CAGUAS            PR      00725
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO URB EL VERDE                           P O BOX 362708                                                           CAGUAS            PR      00725
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO URB. EL VERDE                          19 CALLE LUCERO                                                          CAGUAS            PR      00725‐6325
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO Y BANCO POPULAR DE PR                  PO BOX 362708                                                            SAN JUAN          PR      00936‐2708
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO Y BANCO POPULAR DE PUERTO RICO         PO BOX 362708                                                            SAN JUAN          PR      00936‐2708
CTRO SICOTERAPEUTICO MULTIDISCIPLINARIO Y BANCO POPULAR DE PUERTO RICO         ASSET BASED LENDING DIVISION                  PO BOX 362708              SAN JUAN          PR      00936‐2708
CTRO TERAPEUTICO PEDIATRICO DEL SUR INC AVENIDA SANTIAGO ANDRADES #302 MAGUEYES                                                                         PONCE             PR      00728
CTRO TERAPIA OCU PEDIATRICA                 PO BOX 192                                                                                                  MAUNABO           PR      00707‐0192
CTRO VAC SERV INT ANASCO/LOURDES MATIAS RR 02 BZN 2725                                                                                                  ANASCO            PR      00610‐9408
CTRO ZOE SERV APOYO CONSEJERIA FAMILIAR P O BOX 4136                                                                                                    BAYAMON           PR      00958‐1136
CTRO ZOE SERV DE APOYO Y CONSEJERIA FAM PO BOX 4136                                                                                                     BAYAMON           PR      00958‐1136
CUADRA ALEJANDRO, SAMUEL                    ADDRESS ON FILE
CUADRA LAFUENTE, LOURDES M                  ADDRESS ON FILE
CUADRA LEBRON, ROSA D.                      ADDRESS ON FILE
CUADRA LOPEZ, RUTH E                        ADDRESS ON FILE
CUADRA MARTINEZ, SYLVIA                     ADDRESS ON FILE
CUADRA MARTINEZ, SYLVIA                     ADDRESS ON FILE
CUADRA MELENDEZ, CARMEN I                   ADDRESS ON FILE
CUADRA MORALES, BENEDO                      ADDRESS ON FILE
CUADRA PADILLA, NELIDA                      ADDRESS ON FILE
CUADRA RODRIGUEZ, AILLEEN                   ADDRESS ON FILE
CUADRA RODRIGUEZ, JOSE M.                   ADDRESS ON FILE
CUADRA SANCHEZ, JOSE                        ADDRESS ON FILE
CUADRADO ALFOMBRAS                          PO BOX 361237                                                                                               SAN JUAN          PR      00936‐1237
CUADRADO ALFOMBRAS                          URB BALDRICH                       333 CALLE COLL Y TOSTE                                                   SAN JUAN          PR      00918‐4026
CUADRADO ALICEA, NILSA                      ADDRESS ON FILE
CUADRADO ALMODOVAR, OSCAR                   ADDRESS ON FILE




                                                                                                              Page 2022 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2023 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUADRADO ALVARADO, ANA            ADDRESS ON FILE
CUADRADO ALVAREZ, BRIZNAYDA       ADDRESS ON FILE
CUADRADO ALVAREZ, LIZAYDA         ADDRESS ON FILE
CUADRADO ALVERIO, LUIS            ADDRESS ON FILE
CUADRADO AMADOR, CATALINA I.      ADDRESS ON FILE
CUADRADO AMADOR, SONIA            ADDRESS ON FILE
CUADRADO APONTE, MARILYN          ADDRESS ON FILE
CUADRADO APONTE, ORLANDO          ADDRESS ON FILE
CUADRADO APONTE, RURICO           ADDRESS ON FILE
CUADRADO APONTE, ZAIDA            ADDRESS ON FILE
CUADRADO ARES, PABLO              ADDRESS ON FILE
CUADRADO ARROYO, JACQUELINE       ADDRESS ON FILE
CUADRADO ARROYO, JESUS            ADDRESS ON FILE
CUADRADO ARROYO, JOSE             ADDRESS ON FILE
CUADRADO AVILES, BENEDICTO        ADDRESS ON FILE
Cuadrado Aviles, Felix M          ADDRESS ON FILE
CUADRADO AYALA, ALEX              ADDRESS ON FILE
CUADRADO AYALA, ALEX              ADDRESS ON FILE
CUADRADO AYALA, DANIEL            ADDRESS ON FILE
CUADRADO AYALA, JOSE A            ADDRESS ON FILE
CUADRADO BERRIOS, MARIA M.        ADDRESS ON FILE
CUADRADO BLANCH, MARISELA         ADDRESS ON FILE
CUADRADO CABRERA, FELIX           ADDRESS ON FILE
CUADRADO CABRERA, LUZVILDA        ADDRESS ON FILE
CUADRADO CAMACHO, JUANA M.        ADDRESS ON FILE
CUADRADO CAMACHO, MILAGROS        ADDRESS ON FILE
CUADRADO CARRASQUILLO, GAMALIER   ADDRESS ON FILE
CUADRADO CARRION, DAISY           ADDRESS ON FILE
CUADRADO CARRION, PILAR           ADDRESS ON FILE
CUADRADO CARRION, ROBERTO         ADDRESS ON FILE
CUADRADO CARRION, ROBERTO         ADDRESS ON FILE
CUADRADO CASTRO, LUZ D.           ADDRESS ON FILE
CUADRADO CASTRO, MARIA I          ADDRESS ON FILE
CUADRADO CASTRO, NANCY            ADDRESS ON FILE
CUADRADO CATALAN, ADALBERTO       ADDRESS ON FILE
CUADRADO CATALAN, LISANDRA        ADDRESS ON FILE
CUADRADO CINTRON, ANDY            ADDRESS ON FILE
CUADRADO CINTRON, FRANKIE         ADDRESS ON FILE
CUADRADO CINTRON, LUZ             ADDRESS ON FILE
CUADRADO COLON, ALEX              ADDRESS ON FILE
CUADRADO COLON, ELISEL            ADDRESS ON FILE
CUADRADO COLON, LETICIA           ADDRESS ON FILE
CUADRADO COLON, MARIA L.          ADDRESS ON FILE
CUADRADO COLON, MIGUEL            ADDRESS ON FILE
CUADRADO COLON, MIGUEL A          ADDRESS ON FILE
CUADRADO COLON, MIRIAM            ADDRESS ON FILE
CUADRADO COLON, VIRGINIA          ADDRESS ON FILE
CUADRADO CONCEPCION, CECILIA      ADDRESS ON FILE
CUADRADO CONCEPCION, JACKELINE    ADDRESS ON FILE
CUADRADO CONCEPCION, MARIA M      ADDRESS ON FILE
CUADRADO CORDOVA, PEDRO O         ADDRESS ON FILE
CUADRADO COVINO, ANAMARIS         ADDRESS ON FILE
CUADRADO CRUZ, ANGELICA           ADDRESS ON FILE
CUADRADO CRUZ, JOYCE              ADDRESS ON FILE
Cuadrado Cruz, Silvestre          ADDRESS ON FILE
CUADRADO CRUZ, WALTER N.          ADDRESS ON FILE
CUADRADO CRUZ, WILFREDO           ADDRESS ON FILE
CUADRADO DEL VALLE, AURORA        ADDRESS ON FILE
CUADRADO DEL VALLE, JUAN          ADDRESS ON FILE
CUADRADO DELGADO, DEBORAH         ADDRESS ON FILE




                                                                              Page 2023 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2024 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUADRADO DIAZ, DAISY                ADDRESS ON FILE
CUADRADO DIAZ, ESPERANZA            ADDRESS ON FILE
CUADRADO DIAZ, JONATHAN             ADDRESS ON FILE
CUADRADO DIAZ, JUANA D              ADDRESS ON FILE
CUADRADO DIAZ, KEILYN               ADDRESS ON FILE
CUADRADO DIAZ, ORLANDO              ADDRESS ON FILE
CUADRADO DIAZ, SONIA                ADDRESS ON FILE
CUADRADO ESTRADA, ISABEL            ADDRESS ON FILE
CUADRADO ESTRADA, NANCY             ADDRESS ON FILE
CUADRADO ESTRADA, OSCAR             ADDRESS ON FILE
CUADRADO FIGUEROA, LOUIS PHILLIPE   ADDRESS ON FILE
CUADRADO FLORES, GLADYS             ADDRESS ON FILE
CUADRADO FLORES, GLADYS ZOE         ADDRESS ON FILE
CUADRADO FLORES, JOSE A             ADDRESS ON FILE
CUADRADO FLORES, LUZ M.             ADDRESS ON FILE
CUADRADO GARCIA, ADALBERTO          ADDRESS ON FILE
CUADRADO GARCIA, GERARDO J          ADDRESS ON FILE
CUADRADO GARCIA, KALEN V            ADDRESS ON FILE
CUADRADO GARCIA, KAMIRIS            ADDRESS ON FILE
CUADRADO GOMEZ, CARMEN A            ADDRESS ON FILE
CUADRADO GOMEZ, IRIS C.             ADDRESS ON FILE
CUADRADO GONZALEZ, ANA M            ADDRESS ON FILE
CUADRADO GONZALEZ, LOURDES          ADDRESS ON FILE
CUADRADO GONZALEZ, NILDA            ADDRESS ON FILE
CUADRADO HEREDIA, RUTH M            ADDRESS ON FILE
CUADRADO HEREDIA, RUTH M            ADDRESS ON FILE
CUADRADO HERNANDEZ, GLORIA E        ADDRESS ON FILE
CUADRADO HERNANDEZ, JOSE            ADDRESS ON FILE
CUADRADO HERNANDEZ, JULIO           ADDRESS ON FILE
CUADRADO HERNANDEZ, RUBEN O         ADDRESS ON FILE
CUADRADO HERNANDEZ, VIVIAN G        ADDRESS ON FILE
CUADRADO LANDRAU, VICTOR MANUEL     ADDRESS ON FILE
CUADRADO LOPEZ, ADRIANA             ADDRESS ON FILE
CUADRADO LOPEZ, CORALY              ADDRESS ON FILE
CUADRADO LOPEZ, CORALY              ADDRESS ON FILE
CUADRADO LOPEZ, MIGNORYS            ADDRESS ON FILE
CUADRADO LOZADA, LORNA E.           ADDRESS ON FILE
CUADRADO LOZADA, MERALYS            ADDRESS ON FILE
CUADRADO MACHIN, JESSICA            ADDRESS ON FILE
CUADRADO MALPICA, ANA M.            ADDRESS ON FILE
CUADRADO MARTINEZ, ADRIANA          ADDRESS ON FILE
CUADRADO MARTINEZ, AWILDA           ADDRESS ON FILE
CUADRADO MARTINEZ, CELINES          ADDRESS ON FILE
CUADRADO MARTINEZ, HAYDEE A.        ADDRESS ON FILE
CUADRADO MARTINEZ, YESENIA          ADDRESS ON FILE
CUADRADO MARTINEZ, YESENIA          ADDRESS ON FILE
CUADRADO MELENDEZ, ELSIE            ADDRESS ON FILE
CUADRADO MELENDEZ, LUIS             ADDRESS ON FILE
CUADRADO MORENO, NATALIE            ADDRESS ON FILE
CUADRADO MULERO, EDWIN              ADDRESS ON FILE
CUADRADO MUNDO, LUZ C               ADDRESS ON FILE
Cuadrado Negron, Roberto            ADDRESS ON FILE
Cuadrado Negron, Sandra             ADDRESS ON FILE
CUADRADO NIEVES, ARIAM Z.           ADDRESS ON FILE
CUADRADO NIEVES, JUDITH             ADDRESS ON FILE
CUADRADO NIEVES, MARILYN            ADDRESS ON FILE
CUADRADO ORLANDO, ELVIRA            ADDRESS ON FILE
CUADRADO PADILLA, EDWIN             ADDRESS ON FILE
CUADRADO PAGAN, ELIZABETH           ADDRESS ON FILE
CUADRADO PASTRANA, ELMER            ADDRESS ON FILE




                                                                                Page 2024 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2025 of 3500
                                                                                17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                    Address1                         Address2                         Address3   Address4       City       State   PostalCode   Country
CUADRADO PASTRANA, HAYDEE        ADDRESS ON FILE
CUADRADO PASTRANA, MARITZA       ADDRESS ON FILE
CUADRADO PASTRANA, NOEMI         ADDRESS ON FILE
CUADRADO PEDROSA, DAISY          ADDRESS ON FILE
CUADRADO PEREIRA MD, MARIANELA   ADDRESS ON FILE
CUADRADO PEREZ, ALFREDO          ADDRESS ON FILE
CUADRADO PEREZ, JAYLENE          ADDRESS ON FILE
CUADRADO PEREZ, MIGUEL A.        ADDRESS ON FILE
CUADRADO PEREZ, ORLANDO          ADDRESS ON FILE
CUADRADO PIMENTEL, ADINIA        ADDRESS ON FILE
CUADRADO PLAZA, XIOMARA          ADDRESS ON FILE
CUADRADO RAMÍREZ, ÁNGEL DAVID    LCDO. ALEJANDRO SALGADO RIVERA   CALLE ARIZONA 3                  NO. 28     APARTADO 201   ARROYO     PR      00714
CUADRADO RAMIREZ, GERARDO        ADDRESS ON FILE
CUADRADO RAMIREZ, MADELINE       ADDRESS ON FILE
CUADRADO RAMIREZ, MAYRA M        ADDRESS ON FILE
CUADRADO RAMOS, NERYNA X         ADDRESS ON FILE
CUADRADO RAMOS, NERYNA X         ADDRESS ON FILE
CUADRADO REYES, JACOB            ADDRESS ON FILE
CUADRADO REYES, MARTIN           ADDRESS ON FILE
CUADRADO RIVERA, ARIEL           ADDRESS ON FILE
CUADRADO RIVERA, CARMEN          ADDRESS ON FILE
CUADRADO RIVERA, JANSSEELL M     ADDRESS ON FILE
CUADRADO RIVERA, JERRY           ADDRESS ON FILE
CUADRADO RIVERA, LIZ I           ADDRESS ON FILE
CUADRADO RIVERA, LUZ             ADDRESS ON FILE
CUADRADO RIVERA, MARIBEL         ADDRESS ON FILE
CUADRADO RODRIGUEZ, AIXA M       ADDRESS ON FILE
CUADRADO RODRIGUEZ, ISRAEL       ADDRESS ON FILE
Cuadrado Rodriguez, Monica       ADDRESS ON FILE
CUADRADO RODRIGUEZ, ROBERTO      ADDRESS ON FILE
CUADRADO ROMAN, ANA LYDIA        ADDRESS ON FILE
CUADRADO ROMAN, LUIS A           ADDRESS ON FILE
CUADRADO ROSARIO, GISELLE        ADDRESS ON FILE
CUADRADO ROSARIO, JOSE A.        ADDRESS ON FILE
CUADRADO ROSARIO, MIGDALIA       ADDRESS ON FILE
CUADRADO ROUSSEL, FELIX          ADDRESS ON FILE
CUADRADO RUIZ, LIANID            ADDRESS ON FILE
CUADRADO RUIZ, NELLY ANN         ADDRESS ON FILE
CUADRADO RUIZ, YANISSE P.        ADDRESS ON FILE
CUADRADO SANCHEZ, GERARDINA      ADDRESS ON FILE
CUADRADO SANCHEZ, MADELINE       ADDRESS ON FILE
CUADRADO SANJURJO, ANA T         ADDRESS ON FILE
CUADRADO SANJURJO, JESSICA       ADDRESS ON FILE
CUADRADO SANOS, OSCAR            ADDRESS ON FILE
CUADRADO SANTANA, EDGARDO        ADDRESS ON FILE
CUADRADO SANTANA, JOSE           ADDRESS ON FILE
CUADRADO SANTANA, OMAR           ADDRESS ON FILE
CUADRADO SANTOS, FELICITA        ADDRESS ON FILE
CUADRADO SERRANO, ALBA           ADDRESS ON FILE
CUADRADO SERRANO, LIGIA          ADDRESS ON FILE
Cuadrado Silva, Elvin A          ADDRESS ON FILE
CUADRADO SILVA, HAROLD           ADDRESS ON FILE
CUADRADO SOTO, GLORIA            ADDRESS ON FILE
CUADRADO SOTO, HARRY             ADDRESS ON FILE
CUADRADO SOTO, LUZ M.            ADDRESS ON FILE
CUADRADO SUAREZ, FRANCES         ADDRESS ON FILE
CUADRADO TOLENTINO, EULALIO      ADDRESS ON FILE
CUADRADO TOLENTINO, HECTOR       ADDRESS ON FILE
CUADRADO TORRES, JUAN            ADDRESS ON FILE
CUADRADO TORRES, ROSA J.         ADDRESS ON FILE




                                                                                    Page 2025 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2026 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                     Address1                  Address2                                       Address3   Address4   City         State   PostalCode   Country
CUADRADO TORRES, SAMUEL           ADDRESS ON FILE
CUADRADO TOSTE, VICTOR            ADDRESS ON FILE
CUADRADO TOSTE, VICTOR M          ADDRESS ON FILE
CUADRADO VEGA, WILNELIA           ADDRESS ON FILE
CUADRADO VELAZQUEZ, ALEX J        ADDRESS ON FILE
CUADRADO VELAZQUEZ, JOSE          ADDRESS ON FILE
CUADRADO VELAZQUEZ, LUIS          ADDRESS ON FILE
CUADRADO VELAZQUEZ, LUIS A        ADDRESS ON FILE
CUADRADO, LUIS                    ADDRESS ON FILE
CUADRADO,IRIS C.                  ADDRESS ON FILE
CUADRADO,LUIS                     ADDRESS ON FILE
CUADRADQ VELEZ, CARMEN L          ADDRESS ON FILE
CUADRO CARRION, ADRIAN            ADDRESS ON FILE
CUADRO COLLAZO, BRANDO            ADDRESS ON FILE
CUADRO ESTEVES, JAIME             ADDRESS ON FILE
CUADRO ESTEVES, KAREN             ADDRESS ON FILE
Cuadro Hernandez, Luis E          ADDRESS ON FILE
CUADRO HOWER, HENRY               ADDRESS ON FILE
CUADRO MALDONADO, RENNIE          ADDRESS ON FILE
CUADRO MENDEZ, JOELVIS            ADDRESS ON FILE
CUADRO MENDEZ, SANDRA             ADDRESS ON FILE
CUADRO MENDEZ,JOELVIS             ADDRESS ON FILE
CUADRO PACHECO, ROBERTO MIGUEL    ADDRESS ON FILE
CUADRO RIVERA, EDWIN              ADDRESS ON FILE
CUADRO RUIZ, GLISET               ADDRESS ON FILE
Cuadro Ruiz, Gliset M.            ADDRESS ON FILE
Cuadro Ruiz, Hector L.            ADDRESS ON FILE
CUADRO TORRES DE DUPREY, IRIS M   ADDRESS ON FILE
CUADRO TORRES, CARMEN Y           ADDRESS ON FILE
CUADRO TORRES, GLADYS M           ADDRESS ON FILE
CUADRO VERA, MARIA                ADDRESS ON FILE
CUADROS CAMPO, HAROLD D           ADDRESS ON FILE
CUADROS CARVAJAL, MICHAEL         ADDRESS ON FILE
CUADROS RAMIREZ, ODETTE T         ADDRESS ON FILE
CUADROS RAMIREZ, ODETTE T.        ADDRESS ON FILE
CUALIO BONET, JULIO               ADDRESS ON FILE
CUARTAS SALAZAR, JAVIER           ADDRESS ON FILE
CUARTO PISO LLC                   EDIF OCHOA                500 CALLE DE LA TANCA STE 200                                        SAN JUAN     PR      00901
CUAS VELAZQUEZ, IVELISSE          ADDRESS ON FILE
CUASCUT ANDINO,KILISHA M.         ADDRESS ON FILE
CUASCUT BEAUCHAMP, ELENA          ADDRESS ON FILE
CUASCUT CASTRO, FERNANDO          ADDRESS ON FILE
CUASCUT CHICLANA, SANDRA MARIA    ADDRESS ON FILE
CUASCUT PEREZ, JOSE               ADDRESS ON FILE
Cuascut Robles, David             ADDRESS ON FILE
CUASSO NUNEZ, LUISA               ADDRESS ON FILE
CUATRENIO INC                     PO BOX 362781                                                                                  SAN JUAN     PR      00936
CUAUHTEMOC D QUINTERO LOZADA      ADDRESS ON FILE
CUAUTLI RODRIGUEZ, MARIA          ADDRESS ON FILE
CUBA AQUINO, EMMANUEL             ADDRESS ON FILE
CUBA AQUINO, MARLENE              ADDRESS ON FILE
CUBA GONZALEZ, ARGELIS            ADDRESS ON FILE
CUBA LARA, ELIZABETH              ADDRESS ON FILE
CUBA MARTINEZ, MANUEL A.          ADDRESS ON FILE
CUBA MENDEZ, ELIGIO               ADDRESS ON FILE
CUBA NEWS                         P O BOX 1345                                                                                   WHEATON      MD      20915
Cuba Nieves, Christian            ADDRESS ON FILE
Cuba Nieves, Eliezer A            ADDRESS ON FILE
Cuba Orengo, Luis A               ADDRESS ON FILE
CUBA PEREZ, CESAR J               ADDRESS ON FILE




                                                                                            Page 2026 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2027 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUBA PEREZ, ELINET            ADDRESS ON FILE
CUBA PEREZ, JANET             ADDRESS ON FILE
CUBA RAMOS, ANIBAL            ADDRESS ON FILE
Cuba Ramos, Ricarte           ADDRESS ON FILE
Cuba Rivera, Hector A         ADDRESS ON FILE
CUBA SERRANO, MIRIAM I.       ADDRESS ON FILE
CUBA SERRANO, MYRIAM I.       ADDRESS ON FILE
CUBA TORRES, JUAN             ADDRESS ON FILE
CUBA TORRES, OBDULIO          ADDRESS ON FILE
CUBA VIERA, ROSA A            ADDRESS ON FILE
CUBA VILLANUEVA, ANNIE H      ADDRESS ON FILE
CUBA VILLANUEVA, EDDA         ADDRESS ON FILE
CUBAN TIRE CENTER             PO BOX 840                                                                       PENUELAS     PR      00624
CUBANO ALFONSO PHD, MARIELA   ADDRESS ON FILE
CUBANO ALFONSO, EVELYN        ADDRESS ON FILE
CUBANO ALVAREZ, FRANCES M     ADDRESS ON FILE
CUBANO ALVAREZ, FRANCISCO A   ADDRESS ON FILE
CUBANO ALVAREZ, LISANDRA      ADDRESS ON FILE
CUBANO CANCEL, LUCY           ADDRESS ON FILE
CUBANO CUBANO, ESTELA         ADDRESS ON FILE
CUBANO GONZALEZ, LUISA        ADDRESS ON FILE
CUBANO GUZMAN, MICHELLE       ADDRESS ON FILE
CUBANO JIMENEZ, WILLIAM R     ADDRESS ON FILE
CUBANO LUCIANO, ANDREA        ADDRESS ON FILE
CUBANO MARRERO, JOSE          ADDRESS ON FILE
CUBANO MARTINEZ, CESAR        ADDRESS ON FILE
CUBANO MARTINEZ, ENEIDA       ADDRESS ON FILE
CUBANO MEDIAVILLA, EVELYN E   ADDRESS ON FILE
CUBANO MERCADO, LESLIE        ADDRESS ON FILE
CUBANO MOLINA, AVID           ADDRESS ON FILE
CUBANO MONTALVO, CLAIR C.     ADDRESS ON FILE
CUBANO MONTALVO, JENNIFER     ADDRESS ON FILE
CUBANO MUNIZ, CARMEN L        ADDRESS ON FILE
CUBANO PEREZ MD, SYLVIA       ADDRESS ON FILE
CUBANO PEREZ, IRIS R          ADDRESS ON FILE
CUBANO PEREZ, SYLVIA          ADDRESS ON FILE
CUBANO RIVERA, GREGORIO       ADDRESS ON FILE
CUBANO RIVERA, TAINY          ADDRESS ON FILE
CUBANO RIVERA, TAINY          ADDRESS ON FILE
CUBANO RODRIGUEZ, MARIA J     ADDRESS ON FILE
CUBANO ROJAS, LUIS            ADDRESS ON FILE
CUBANO SANTOS, ROSA LUZ       ADDRESS ON FILE
CUBANO TORRES, REINA          ADDRESS ON FILE
CUBANO TORRES, REINA          ADDRESS ON FILE
CUBANO VAZQUEZ, DANET A.      ADDRESS ON FILE
Cubano Velez, Orlando         ADDRESS ON FILE
CUBE GROUP INC                PMB 385                   PO BOX 7891                                            GUAYNABO     PR      00970
CUBENAS PARDO, JUAN           ADDRESS ON FILE
CUBENAS RUISANCHEZ, ISABEL    ADDRESS ON FILE
CUBERLO, MARIA DEL C.         ADDRESS ON FILE
CUBERO AGOSTO, JULIO          ADDRESS ON FILE
CUBERO ALERS, CARLOS          ADDRESS ON FILE
CUBERO ALERS, MYRNA L         ADDRESS ON FILE
CUBERO ALERS, SAUL NEFTALI    ADDRESS ON FILE
CUBERO ALICEA, ANA H          ADDRESS ON FILE
CUBERO ALICEA, ANGEL LUIS     ADDRESS ON FILE
CUBERO ALICEA, WILSINA        ADDRESS ON FILE
CUBERO ALVAREZ, JUAN A        ADDRESS ON FILE
CUBERO ALVAREZ, MARIA DEL C   ADDRESS ON FILE
CUBERO ANTOJA MD, BRENDA I    ADDRESS ON FILE




                                                                          Page 2027 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2028 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUBERO ARCE, HECTOR           ADDRESS ON FILE
CUBERO ARCE, LUIS A           ADDRESS ON FILE
CUBERO ARCE, MARISOL          ADDRESS ON FILE
CUBERO ARCE, MARTA M          ADDRESS ON FILE
CUBERO AROCHO, JUAN           ADDRESS ON FILE
CUBERO AROCHO, JUAN M.        ADDRESS ON FILE
CUBERO AVILES, AMELIA         ADDRESS ON FILE
CUBERO BONILLA, JEANNETTE     ADDRESS ON FILE
CUBERO BONILLA, MAXIMINO      ADDRESS ON FILE
CUBERO BONILLA, MIGUEL A.     ADDRESS ON FILE
CUBERO CABAN, CLARIBEL        ADDRESS ON FILE
Cubero Caban, Luis A          ADDRESS ON FILE
CUBERO CEPEDA, IDALIA         ADDRESS ON FILE
CUBERO CORCHADO, MARGARITA    ADDRESS ON FILE
CUBERO CORTES,ABDIEL A.       ADDRESS ON FILE
CUBERO CRUZ, IVELISSE         ADDRESS ON FILE
CUBERO DIAZ MD, YOLANDA       ADDRESS ON FILE
CUBERO DIAZ, YOLANDA          ADDRESS ON FILE
CUBERO ECHEVARRIA, PABLO      ADDRESS ON FILE
CUBERO ENRIQUEZ, MICHELLE M   ADDRESS ON FILE
CUBERO FELICIANO, JUANITA     ADDRESS ON FILE
CUBERO FELICIANO, MARIA A     ADDRESS ON FILE
Cubero Gonzalez, Jose L       ADDRESS ON FILE
CUBERO GONZALEZ, PEDRO J.     ADDRESS ON FILE
CUBERO HERNANDEZ, JUAN        ADDRESS ON FILE
CUBERO HERNANDEZ, MARIA L     ADDRESS ON FILE
CUBERO JIMENEZ, WILFREDO      ADDRESS ON FILE
CUBERO LOPEZ, MONSERRATE      ADDRESS ON FILE
CUBERO LOPEZ, SONIA G         ADDRESS ON FILE
CUBERO LORENZO, CARLOS        ADDRESS ON FILE
CUBERO LORENZO, CARLOS A      ADDRESS ON FILE
CUBERO LORENZO, LUZ C         ADDRESS ON FILE
CUBERO MARTINEZ, JUAN         ADDRESS ON FILE
CUBERO MENDEZ, CARMEN M       ADDRESS ON FILE
Cubero Mendez, Juana A        ADDRESS ON FILE
CUBERO MORALES MYRTA          JOSE MARTINEZ TOLEDO      PO BOX 362132                                          SAN JUAN     PR      00936‐2132
CUBERO MUNOZ, JUAN            ADDRESS ON FILE
CUBERO PECUNIA, JACINTA       ADDRESS ON FILE
CUBERO PELLOT, DAISY          ADDRESS ON FILE
CUBERO PEREZ, JUANA F         ADDRESS ON FILE
CUBERO PEREZ, WALDEMAR        ADDRESS ON FILE
CUBERO PEREZ, YAMIL J         ADDRESS ON FILE
CUBERO PONCE, DANELLE J       ADDRESS ON FILE
CUBERO PONCE, DAVID           ADDRESS ON FILE
CUBERO QUESADA, ARNALDO       ADDRESS ON FILE
CUBERO RAMIREZ, AIDA L        ADDRESS ON FILE
CUBERO RICHARD, ITSA          ADDRESS ON FILE
CUBERO RICHARD, ITZA          ADDRESS ON FILE
CUBERO RIVERA, CAROLINA       ADDRESS ON FILE
CUBERO RIVERA, MOISES         ADDRESS ON FILE
CUBERO RODRIGUEZ, ANGEL       ADDRESS ON FILE
CUBERO RODRIGUEZ, CARMEN I    ADDRESS ON FILE
CUBERO RODRIGUEZ, DAVID       ADDRESS ON FILE
Cubero Rodriguez, Iris        ADDRESS ON FILE
CUBERO RODRIGUEZ, ROSA M      ADDRESS ON FILE
CUBERO ROMAN, ELBA M.         ADDRESS ON FILE
CUBERO ROSA, ALBERTO          ADDRESS ON FILE
CUBERO ROSA, ALBERTO          ADDRESS ON FILE
Cubero Rosa, Velia Vanessa    ADDRESS ON FILE
CUBERO SAMOT, CRISTINA        ADDRESS ON FILE




                                                                          Page 2028 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2029 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUBERO SAMOT, SORIMAR            ADDRESS ON FILE
CUBERO SANCHEZ, MABEL            ADDRESS ON FILE
CUBERO SANTIAGO, AWILDA I        ADDRESS ON FILE
CUBERO SANTIAGO, ELIZABETH       ADDRESS ON FILE
CUBERO SANTIAGO, JUAN A.         ADDRESS ON FILE
CUBERO SANTIAGO, RAMON           ADDRESS ON FILE
CUBERO SOTO, ALICIA              ADDRESS ON FILE
CUBERO SOTO, JUAN                ADDRESS ON FILE
CUBERO SOTO, MELANIA             ADDRESS ON FILE
CUBERO SOTO, PASCUAL             ADDRESS ON FILE
CUBERO SUSTACHE, MARILYN         ADDRESS ON FILE
CUBERO UGARTE, ISAAC             ADDRESS ON FILE
CUBERO VALLE, JOSEFA             ADDRESS ON FILE
CUBERO VEGA, BLANCA M            ADDRESS ON FILE
CUBERO VEGA, MARIA L             ADDRESS ON FILE
CUBERO VEGA, RAFAEL              ADDRESS ON FILE
CUBERO VEGA, SARA                ADDRESS ON FILE
CUBERO VIDOT, LAURA              ADDRESS ON FILE
CUBERO VIDOT, LAURA E            ADDRESS ON FILE
CUBERO VIDOT, LIZETTE            ADDRESS ON FILE
CUBERO VIDOT, VILMA              ADDRESS ON FILE
CUBEROALERS, JUAN R              ADDRESS ON FILE
CUBI GARCIA, KATHERINE           ADDRESS ON FILE
CUBI GARCIA, SAM M               ADDRESS ON FILE
CUBI MALDONADO, LESLIE M         ADDRESS ON FILE
CUBI PEREZ, RICHARD              ADDRESS ON FILE
CUBI RODRIGUEZ, ANA              ADDRESS ON FILE
CUBI RODRIGUEZ, ANA D            ADDRESS ON FILE
Cubi Santiago, Jesus M.          ADDRESS ON FILE
CUBIC SIMULATION SYSTEMS INC     2001 W OAK RIDGE ROAD     SUITE 100                                              ORLANDO      FL      32809
CUBILETE MEDINA, MIGUEL A        ADDRESS ON FILE
CUBILETTE CASTILLO, ADAZILDE     ADDRESS ON FILE
CUBILETTE CASTILLO, AMBIORY E.   ADDRESS ON FILE
Cubillan Perez, Wilmer           ADDRESS ON FILE
CUBILLAN SANTIAGO, WILMEL        ADDRESS ON FILE
CUBILLAN TORRES, GLADYS          ADDRESS ON FILE
Cubillan Vazquez, Wendell        ADDRESS ON FILE
CUBILLE ANTONETTI, JO‐ANN        ADDRESS ON FILE
CUBILLE MARTINEZ, MARILYN        ADDRESS ON FILE
CUBILLE MARTINEZ, MARITZA        ADDRESS ON FILE
CUBILLON PEREZ,WILMER            ADDRESS ON FILE
CUBILLOS GAITAN, MANUEL A.       ADDRESS ON FILE
CUCHER, MICHAEL                  ADDRESS ON FILE
CUCHI CHICO, SILVIO              ADDRESS ON FILE
CUCURELLA QUINONES, CARLOS N     ADDRESS ON FILE
CUCUTA GONZALEZ, ALYAEN          ADDRESS ON FILE
CUCUTA GONZALEZ, SHEYKIRISABE    ADDRESS ON FILE
CUCUTA NADAL, CLARA I            ADDRESS ON FILE
CUCUTA RIVERA, FRANK             ADDRESS ON FILE
CUD SALUD INC                    PO BOX 190127                                                                    SAN JUAN     PR      00919‐0127
CUE LEON, ALDO                   ADDRESS ON FILE
CUEBAS ACOSTA, NILSA             ADDRESS ON FILE
CUEBAS AGOSTINI, LUIS            ADDRESS ON FILE
CUEBAS AGOSTO, FRANCISCO         ADDRESS ON FILE
CUEBAS AGOSTO, MAYRA             ADDRESS ON FILE
CUEBAS APONTE, CLARIBEL          ADDRESS ON FILE
CUEBAS BAYRON, LEYSHA E          ADDRESS ON FILE
CUEBAS BAYRON, SHEILA            ADDRESS ON FILE
CUEBAS CAMPOS, BENITA            ADDRESS ON FILE
CUEBAS CAMPOS, BENITA            ADDRESS ON FILE




                                                                             Page 2029 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2030 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEBAS CANCEL, EDWIN           ADDRESS ON FILE
CUEBAS CASTILLO, ADRIAN        ADDRESS ON FILE
CUEBAS CASTILLO, ALEJANDRA     ADDRESS ON FILE
CUEBAS CASTILLO, ESPERANZA     ADDRESS ON FILE
CUEBAS FANTAUZZI, DIANNE       ADDRESS ON FILE
CUEBAS FANTAUZZI, PATRICK      ADDRESS ON FILE
CUEBAS FELICIANO, WILANE       ADDRESS ON FILE
CUEBAS FLORES, HARRY D         ADDRESS ON FILE
CUEBAS GONZALEZ, XIOMARY       ADDRESS ON FILE
CUEBAS GUZMAN, CARLOS          ADDRESS ON FILE
CUEBAS IRIZARRY, ANA           ADDRESS ON FILE
CUEBAS IRIZARRY, ANGEL         ADDRESS ON FILE
CUEBAS LAMBERTY, CARMEN        ADDRESS ON FILE
CUEBAS LEBRON, JOSE            ADDRESS ON FILE
CUEBAS LEBRON, JOSE E.         ADDRESS ON FILE
CUEBAS LOPEZ, ANNETTE M        ADDRESS ON FILE
CUEBAS LOPEZ, RAFAEL           ADDRESS ON FILE
CUEBAS LUGO, SANTA             ADDRESS ON FILE
CUEBAS MARRERO, ROSALYN        ADDRESS ON FILE
CUEBAS MATOS, CARLOS           ADDRESS ON FILE
Cuebas Medina, Wallace E       ADDRESS ON FILE
CUEBAS MORENO, JOSE            ADDRESS ON FILE
CUEBAS MOUX, ROY               ADDRESS ON FILE
CUEBAS OLAN, SANTOS            ADDRESS ON FILE
CUEBAS ORTIZ, RAFAEL           ADDRESS ON FILE
CUEBAS PARES, IVETTE           ADDRESS ON FILE
CUEBAS PEREZ, MARIA            ADDRESS ON FILE
CUEBAS RAMOS MD, LUZ M         ADDRESS ON FILE
CUEBAS RAMOS, JAIME            ADDRESS ON FILE
CUEBAS RIVERA, HARRY           ADDRESS ON FILE
CUEBAS RIVERA, KELMAR D.       ADDRESS ON FILE
CUEBAS RIVERA, MARIBEL         ADDRESS ON FILE
CUEBAS RIVERA, SONIA M.        ADDRESS ON FILE
CUEBAS RODRIGUEZ, EDGARDO      ADDRESS ON FILE
CUEBAS RODRIGUEZ, JAVIER       ADDRESS ON FILE
CUEBAS RODRIGUEZ, WILLIAM      ADDRESS ON FILE
CUEBAS RODRIGUEZ, YOLANDA      ADDRESS ON FILE
CUEBAS RUPERTO, JAVIER         ADDRESS ON FILE
CUEBAS SALAS, GLADYS           ADDRESS ON FILE
CUEBAS SANABRIA, JUANA         ADDRESS ON FILE
CUEBAS SANTOS, RAFAEL M.       ADDRESS ON FILE
CUEBAS TACORONTE, EDGARD       ADDRESS ON FILE
CUEBAS TACORONTE, EDGARD       ADDRESS ON FILE
CUEBAS VAZQUEZ, RUTH S         ADDRESS ON FILE
CUEBAS VELEZ MD, LUIS R        ADDRESS ON FILE
Cuebas Velez, Nelson M         ADDRESS ON FILE
CUEBAS VILLANUEVA, JOSE        ADDRESS ON FILE
CUEBAS VILLANUEVA, REBECA      ADDRESS ON FILE
CUEBAS, JOSE A.                ADDRESS ON FILE
CUEBASPEREA, ANGEL             ADDRESS ON FILE
CUELI CUOMO, ADOLFO A.         ADDRESS ON FILE
CUELLO ALMESTICA, ALTAGRACIA   ADDRESS ON FILE
CUELLO CRUZ, INES              ADDRESS ON FILE
CUELLO DIAZ MD, GUSTAVO A      ADDRESS ON FILE
CUELLO DIAZ, GUSTAVO           ADDRESS ON FILE
CUELLO GEBETSBERGER, NORMA     ADDRESS ON FILE
CUELLO HERRERA, RENE           ADDRESS ON FILE
CUELLO PAYANO, RICHARD         ADDRESS ON FILE
CUELLO PILIER, JUANA           ADDRESS ON FILE
CUELLO RODRIGUEZ, ALBERTO      ADDRESS ON FILE




                                                                           Page 2030 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2031 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                              Address1                                   Address2                                Address3              Address4   City             State   PostalCode   Country
CUENCAS GOMEZ, THOMAS                      ADDRESS ON FILE
CUENTA CONMIGO INC                         DEPARTAMENTO DE HACIENDA                   PO BOX 9024140                                                           SAN JUAN         PR      00902‐4140
CUERDA ACEVEDO, ELMER                      ADDRESS ON FILE
Cuerda Acevedo, Elmer L                    ADDRESS ON FILE
CUERDA ACEVEDO, ELMER L.                   ADDRESS ON FILE
Cuerda Acevedo, Francis                    ADDRESS ON FILE
CUERDA CRUZ, ELMER                         ADDRESS ON FILE
CUERDA CRUZ, ELMER L.                      ADDRESS ON FILE
CUERDA PEREZ, LUIS                         ADDRESS ON FILE
CUERDA PEREZ, ROBERTO F.                   ADDRESS ON FILE
CUERPO DE BOMBEROS                         LCDA. LEONOR RODRIGUEZ                     CIUDAD INTERAMERICANA 684 CALLE MARLÍN                                   Bayamón          PR      00957
CUERPO DE BOMBEROS                         LCDA. LEONOR RODRIGUEZ                     LCDA. LEONOR RODRIGUEZ CIUDAD INTERAMERICANA 684 CALLE MARLÍN            Bayamón          PR      00957
CUERPO DE BOMBEROS                         LCDA. LEONOR RODRIGUEZ; LCDO. LUIS A. ZAYASLCDO LUIS ZAYAS MONGE                   PO BOX 29685                     SAN JUAN         PR      00929‐0685
CUERPO DE BOMBEROS                         LCDA. LEONOR RODRIGUEZ; LCDO. LUIS A. ZAYASLCDA. LEONOR RODRIGUEZ CIUDAD INTERAMERICANA 684 CALLE MARLÍN            Bayamón          PR      00957
CUERPO DE BOMBEROS                         LCDO. LUIS A. ZAYAS MONGE                  PO BOX 29685                                                             SAN JUAN         PR      00929‐0685
CUERPO DE BOMBEROS                         LCDO. LUIS A. ZAYAS MONGE                  LCDO LUIS ZAYAS MONGE                   PO BOX 29685                     SAN JUAN         PR      00929‐0685
CUERPO EMERGENCIA Y JAVIER RODRIGUEZ       PO BOX 2161                                                                                                         SAN JUAN         PR      00922‐2161
CUERPO EVANGELISTICO SHALOM ADONAi         PO .BOX 1508                                                                                                        AGUAS BUENAS     PR      00703‐0000
CUERPO EVANGELISTICO YO SOY LA VID         BO.BEATRIZ CARR.786 KM1.0                                                                                           CAGUAS           PR      00725‐0000
CUERPO ORGANIZADO DE LA POLICÍA DE PR, INC LCDO. ROGER A. LEYBA RODRIGUEZ             PO BOX 873                                                               HORMIQUEROS      PR      00660‐0873
CUERPO ORGANIZADO DE LA POLICÍA DE PR, INC LIC. NORBERTO COLON ALVARADO               46 CALLE CASTILLO                                                        PONCE            PR      00731
Cuerpo Organizado de la Policía, Inc.      Matos Acosta, Lowel                        PO Box 596                                                               Hormigueros      PR      00660‐0596

Cuerpo Organizado de la Policía, Inc.    Matos Acosta, Lowel                       Bo. Sabana Alta                            Carr. Ramal 3311 Km 2.3          Cabo Rojo        PR      00622
CUERPO VOL SERV MED EMERG HATILLO        PO BOX 1290                                                                                                           HATILLO          PR      00659
CUERPO VOLUNTARIOS SERVICIO MEDICOS DE E P.O. BOX 1290                                                                                                         HATILLO          PR      00659
CUERVO LABOY, MINERVA                    ADDRESS ON FILE
Cuesta Baez, Griselle                    ADDRESS ON FILE
CUESTA BAEZ, JOHN                        ADDRESS ON FILE
Cuesta Baez, John D                      ADDRESS ON FILE
CUESTA BARRO, GLADYS E                   ADDRESS ON FILE
CUESTA CRUZ, MARIA                       ADDRESS ON FILE
CUESTA DE GRACIA, TITO                   ADDRESS ON FILE
CUESTA GARCIA, LUIS M.                   ADDRESS ON FILE
CUESTA GUEVARRA, JUAN                    ADDRESS ON FILE
CUESTA ORTIZ, WILLIAM                    ADDRESS ON FILE
CUESTA PAGAN, BRYAN A.                   ADDRESS ON FILE
CUESTA PANTOJA, ALEXANDRA                ADDRESS ON FILE
CUESTA PANTOJA, IVAN                     ADDRESS ON FILE
CUESTA PANTOJAS, IVAN                    ADDRESS ON FILE
CUESTA PENA, RAFAEL                      ADDRESS ON FILE
CUESTA PEREZ, JUAN                       ADDRESS ON FILE
CUESTA RAMOS, YOLYMAR                    ADDRESS ON FILE
CUESTA RODRIGUEZ, NYDIA E                ADDRESS ON FILE
CUESTA SANTANA, CESAR                    ADDRESS ON FILE
CUESTA VILA, MARITZA                     ADDRESS ON FILE
CUESTA VILA, MARITZA ENID                ADDRESS ON FILE
CUESTA, RAFAEL                           ADDRESS ON FILE
CUESTA, RAFAEL                           ADDRESS ON FILE
CUESTODIO TORRES, PEDRO E.               ADDRESS ON FILE
CUETO ALVAREZ, ARISMENDY                 ADDRESS ON FILE
CUETO ARIAS, YESMARIE                    ADDRESS ON FILE
CUETO PARDO, LIZANGIE                    ADDRESS ON FILE
CUETO RIVERA, JOSE                       ADDRESS ON FILE
CUEVAS AARRION, HECTOR                   ADDRESS ON FILE
Cuevas Acevedo, Edrasail                 ADDRESS ON FILE
CUEVAS ACEVEDO, EDRASAIL                 ADDRESS ON FILE
CUEVAS ACEVEDO, EUNICE M                 ADDRESS ON FILE
CUEVAS ACEVEDO, JONATHAN                 ADDRESS ON FILE
CUEVAS ACOSTA, ABRAHAM                   ADDRESS ON FILE




                                                                                                               Page 2031 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2032 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS ACOSTA, NILSA            ADDRESS ON FILE
CUEVAS AGOSTO, FRANCISCO        ADDRESS ON FILE
CUEVAS AGUILAR, JOSE III        ADDRESS ON FILE
CUEVAS ALFONSO, MARTIN          ADDRESS ON FILE
Cuevas Alonso, Samuel           ADDRESS ON FILE
Cuevas Alvarado, Luis A         ADDRESS ON FILE
CUEVAS AMARAT, LUCIA            ADDRESS ON FILE
CUEVAS ANDUJAR, BRIAN           ADDRESS ON FILE
CUEVAS ANDUJAR, ESTHER          ADDRESS ON FILE
CUEVAS ANDUJAR, JOSE A          ADDRESS ON FILE
CUEVAS APONTE, CARLOS H.        ADDRESS ON FILE
CUEVAS APONTE, GIOVANNI         ADDRESS ON FILE
CUEVAS APONTE, MARTA N.         ADDRESS ON FILE
CUEVAS AROCHO, NIVIA            ADDRESS ON FILE
CUEVAS AROCHO, NIVIA I          ADDRESS ON FILE
CUEVAS AROCHO,SALVADOR          ADDRESS ON FILE
CUEVAS ARVELO, DAMARIS          ADDRESS ON FILE
CUEVAS AVILES, ROBERTO          ADDRESS ON FILE
CUEVAS AVILES, SOR M            ADDRESS ON FILE
CUEVAS AVILES, WILDA            ADDRESS ON FILE
CUEVAS AVILES, YAHAIRA          ADDRESS ON FILE
CUEVAS BALAGUER, MARY           ADDRESS ON FILE
CUEVAS BAUZA, EMILLZA           ADDRESS ON FILE
CUEVAS BAUZA, ROSA A            ADDRESS ON FILE
CUEVAS BEAUCHAMP, ARIOSTO       ADDRESS ON FILE
CUEVAS BEAUCHAMP, RICARDO       ADDRESS ON FILE
CUEVAS BERMUDEZ, RAMON          ADDRESS ON FILE
CUEVAS BERRIOS, PEDRO           ADDRESS ON FILE
CUEVAS BERRIOS,SILVIA M.        ADDRESS ON FILE
CUEVAS BORRERO, EFRAIN          ADDRESS ON FILE
CUEVAS BORRERO, GUILLERMO       ADDRESS ON FILE
CUEVAS BORRERO, ISMAEL          ADDRESS ON FILE
CUEVAS BRUNET MD, EDWIN A       ADDRESS ON FILE
CUEVAS CALDERON, NORMA          ADDRESS ON FILE
Cuevas Calixto, Oscar A         ADDRESS ON FILE
CUEVAS CAMPOS, JOSSELID         ADDRESS ON FILE
CUEVAS CANCEL, NATIVIDAD        ADDRESS ON FILE
CUEVAS CANDELARIO, JULIO        ADDRESS ON FILE
CUEVAS CARABALLO, BLANCA        ADDRESS ON FILE
CUEVAS CARABALLO, FRANCISCO     ADDRESS ON FILE
CUEVAS CARDEC, DAMARIS I        ADDRESS ON FILE
CUEVAS CARDONA, VICTOR          ADDRESS ON FILE
CUEVAS CARRASQUILLO, JOSE L     ADDRESS ON FILE
CUEVAS CARRASQUILLO, MARIA      ADDRESS ON FILE
CUEVAS CARRASQUILLO, MARIA L.   ADDRESS ON FILE
CUEVAS CARRASQUILLO, WILLYMAR   ADDRESS ON FILE
CUEVAS CARRERO, RAMONITA        ADDRESS ON FILE
CUEVAS CARRION, EDNA            ADDRESS ON FILE
CUEVAS CASAS, LUIS A            ADDRESS ON FILE
CUEVAS CASIANO, EDWARD          ADDRESS ON FILE
CUEVAS CHAVEZ, ORLANDO          ADDRESS ON FILE
CUEVAS CINTRON, ANA             ADDRESS ON FILE
CUEVAS COLLAZO, HEIDI           ADDRESS ON FILE
CUEVAS COLON, ANDY              ADDRESS ON FILE
CUEVAS COLON, EDGAR             ADDRESS ON FILE
CUEVAS COLON, HILDA             ADDRESS ON FILE
Cuevas Colon, Ivan              ADDRESS ON FILE
CUEVAS COLON, LUZ M             ADDRESS ON FILE
CUEVAS COLON, MYRIAM            ADDRESS ON FILE
CUEVAS COLON, ROLANDO           ADDRESS ON FILE




                                                                            Page 2032 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2033 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS COLON, ROLANDO              ADDRESS ON FILE
CUEVAS COLON, ROSA M               ADDRESS ON FILE
CUEVAS CORDERO, MARIA DEL CARMEN   ADDRESS ON FILE
CUEVAS CORDERO, MARIA M.           ADDRESS ON FILE
CUEVAS CORREA, VANESSA             ADDRESS ON FILE
CUEVAS CORREA, VANESSA             ADDRESS ON FILE
CUEVAS CORREA, YADIRA LIZ          ADDRESS ON FILE
CUEVAS CORTES, TANIA               ADDRESS ON FILE
Cuevas Cruz, Angel E               ADDRESS ON FILE
CUEVAS CRUZ, LISVETTE              ADDRESS ON FILE
CUEVAS CRUZ, OLGA I                ADDRESS ON FILE
CUEVAS CRUZ, RENE                  ADDRESS ON FILE
CUEVAS CRUZ, SANTA I.              ADDRESS ON FILE
CUEVAS CUEVAS, DENNIS R            ADDRESS ON FILE
CUEVAS CUEVAS, JORGE               ADDRESS ON FILE
CUEVAS CUEVAS, ZANDRA              ADDRESS ON FILE
CUEVAS CUSTODIO, RAMON A           ADDRESS ON FILE
CUEVAS DAVILA, ALEXIS              ADDRESS ON FILE
CUEVAS DE LEON, MARIBELL           ADDRESS ON FILE
Cuevas De Leon, Steven             ADDRESS ON FILE
CUEVAS DEJESUS, ELIZABETH          ADDRESS ON FILE
CUEVAS DEL VALLE, DIMAS H          ADDRESS ON FILE
CUEVAS DEL VALLE, WILLIAM          ADDRESS ON FILE
CUEVAS DIAZ, CARMEN                ADDRESS ON FILE
CUEVAS DIAZ, JULIANA M             ADDRESS ON FILE
CUEVAS DIAZ, MARTHA IRIS           ADDRESS ON FILE
CUEVAS DOMENECH, AMARILYS B        ADDRESS ON FILE
CUEVAS DOMINGUEZ, DANIEL           ADDRESS ON FILE
CUEVAS DONE, AMNERYS               ADDRESS ON FILE
CUEVAS EFRE, TEOBALDO L            ADDRESS ON FILE
CUEVAS ESQUILIN, JEFFREY           ADDRESS ON FILE
CUEVAS ESQUILIN, JEFFREY           ADDRESS ON FILE
CUEVAS ESTEVEZ, ANGEL              ADDRESS ON FILE
CUEVAS FEBUS, JOHANNA              ADDRESS ON FILE
CUEVAS FELICIANO, LILLIAM          ADDRESS ON FILE
CUEVAS FELIZ, GLADYS               ADDRESS ON FILE
CUEVAS FELIZ, LUZ N                ADDRESS ON FILE
CUEVAS FERNANDEZ, JACKAHIL A       ADDRESS ON FILE
CUEVAS FERRER, CARMEN D            ADDRESS ON FILE
CUEVAS FIGUEROA, ELAINE            ADDRESS ON FILE
CUEVAS FIGUEROA, HUMBERTO          ADDRESS ON FILE
CUEVAS FIGUEROA, NORBERTO          ADDRESS ON FILE
CUEVAS FLORES, ELIZABETH           ADDRESS ON FILE
CUEVAS FLORES, JOSE                ADDRESS ON FILE
CUEVAS FLORES, RAFAEL              ADDRESS ON FILE
CUEVAS FONTAN, REBECCA             ADDRESS ON FILE
CUEVAS FUENTES, ELIZABETH          ADDRESS ON FILE
CUEVAS FUENTES, NOEL A             ADDRESS ON FILE
CUEVAS GALARZA, DANNY              ADDRESS ON FILE
CUEVAS GALARZA, HAROLD             ADDRESS ON FILE
CUEVAS GALARZA, JUAN A.            ADDRESS ON FILE
CUEVAS GARCIA, BERNARDA            ADDRESS ON FILE
CUEVAS GARCIA, BERNARDA            ADDRESS ON FILE
CUEVAS GARCIA, CARMEN J            ADDRESS ON FILE
CUEVAS GARCIA, CHRISTY E           ADDRESS ON FILE
CUEVAS GARCIA, CYNTHIA             ADDRESS ON FILE
CUEVAS GARCIA, DAVID               ADDRESS ON FILE
CUEVAS GARCIA, MARTA M             ADDRESS ON FILE
CUEVAS GERENA, MARITZA             ADDRESS ON FILE
CUEVAS GOMEZ, EDWIN                ADDRESS ON FILE




                                                                               Page 2033 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2034 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS GONCEBATTE, ADALBERTO      ADDRESS ON FILE
CUEVAS GONZALEZ, AIMEE            ADDRESS ON FILE
CUEVAS GONZALEZ, CLOTILDE         ADDRESS ON FILE
CUEVAS GONZALEZ, EDUARDO          ADDRESS ON FILE
CUEVAS GONZALEZ, IRMA I           ADDRESS ON FILE
CUEVAS GONZALEZ, JOEL             ADDRESS ON FILE
CUEVAS GONZALEZ, LUZ D            ADDRESS ON FILE
CUEVAS GONZALEZ, MARIA DE LOS A   ADDRESS ON FILE
CUEVAS GONZALEZ, MARIA E.         ADDRESS ON FILE
CUEVAS GONZALEZ, MARIA M          ADDRESS ON FILE
CUEVAS GONZALEZ, MARIAM           ADDRESS ON FILE
CUEVAS GONZALEZ, MARISOL          ADDRESS ON FILE
CUEVAS GONZALEZ, NORMA I          ADDRESS ON FILE
Cuevas Gonzalez, Richard          ADDRESS ON FILE
CUEVAS GONZALEZ, ROBERT           ADDRESS ON FILE
CUEVAS GONZALEZ, SONIA            ADDRESS ON FILE
CUEVAS GONZALEZ, WALDEMAR         ADDRESS ON FILE
CUEVAS GONZALEZ, WALDEMAR         ADDRESS ON FILE
CUEVAS GONZALEZ, WENDELYN         ADDRESS ON FILE
CUEVAS GONZALEZ, ZULMA            ADDRESS ON FILE
Cuevas Gotay, Alexis R.           ADDRESS ON FILE
CUEVAS GUILLEN, EPIFANIO          ADDRESS ON FILE
CUEVAS GUTIERREZ, MILAGROS        ADDRESS ON FILE
CUEVAS GUZMAN, PEDRO J.           ADDRESS ON FILE
CUEVAS HERNANDEZ, JESUS           ADDRESS ON FILE
CUEVAS HERNANDEZ, LUZ E           ADDRESS ON FILE
CUEVAS HERNANDEZ, MARIA A         ADDRESS ON FILE
CUEVAS HERNANDEZ, NEREIDA         ADDRESS ON FILE
CUEVAS HERNANDEZ, NYDIA I         ADDRESS ON FILE
CUEVAS HERNANDEZ, TOMMY LEE       ADDRESS ON FILE
CUEVAS HERNANDEZ, WILFREDO        ADDRESS ON FILE
CUEVAS IBERN, LUIS                ADDRESS ON FILE
Cuevas Irizarry, Carlos           ADDRESS ON FILE
CUEVAS IRIZARRY, JORGE            ADDRESS ON FILE
CUEVAS IRIZARRY, JORGE Y.         ADDRESS ON FILE
CUEVAS IRIZARRY, JOSE             ADDRESS ON FILE
CUEVAS IRIZARRY, XAVIER           ADDRESS ON FILE
CUEVAS ITHIER, BILLY              ADDRESS ON FILE
CUEVAS IZQUIERDO, JONATHAN        ADDRESS ON FILE
CUEVAS IZQUIERDO, JONATHAN        ADDRESS ON FILE
CUEVAS JIMENEZ, DALITZA Y         ADDRESS ON FILE
CUEVAS JIMENEZ, FELIX             ADDRESS ON FILE
CUEVAS JIMENEZ, GABRIEL           ADDRESS ON FILE
CUEVAS JIMENEZ, MIGDALIA          ADDRESS ON FILE
CUEVAS JIMENEZ, YEHLITZA          ADDRESS ON FILE
CUEVAS JUSTINIANO, MAGALY         ADDRESS ON FILE
CUEVAS KILGORE, RAFAEL            ADDRESS ON FILE
CUEVAS LA TORRE, JUAN             ADDRESS ON FILE
CUEVAS LAFONTAINE, IVETTE         ADDRESS ON FILE
Cuevas Lafontaine, Jorge L.       ADDRESS ON FILE
CUEVAS LATORRE, MARITZA           ADDRESS ON FILE
CUEVAS LOPEZ, ADA I               ADDRESS ON FILE
CUEVAS LOPEZ, MARIA               ADDRESS ON FILE
CUEVAS LOPEZ, NORMA I             ADDRESS ON FILE
CUEVAS LOPEZ, RAUL                ADDRESS ON FILE
CUEVAS LOZADA, JOEL               ADDRESS ON FILE
CUEVAS LUGO, FERNANDO             ADDRESS ON FILE
CUEVAS MALDONADO, BIENVENIDO      ADDRESS ON FILE
CUEVAS MALDONADO, CHARLENE D.     ADDRESS ON FILE
Cuevas Maldonado, Luis D          ADDRESS ON FILE




                                                                              Page 2034 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2035 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS MALDONADO, WANDA I   ADDRESS ON FILE
CUEVAS MANGUAL, JAMES       ADDRESS ON FILE
CUEVAS MARENGO, MILDRED     ADDRESS ON FILE
CUEVAS MARRERO, NERY D      ADDRESS ON FILE
Cuevas Martinez, Angel A    ADDRESS ON FILE
CUEVAS MARTINEZ, LUZ T      ADDRESS ON FILE
CUEVAS MARTINEZ, WANDA M    ADDRESS ON FILE
CUEVAS MASSA, JOEL          ADDRESS ON FILE
CUEVAS MATHEWS, ANGEL       ADDRESS ON FILE
CUEVAS MATOS, LILIANA A.    ADDRESS ON FILE
Cuevas Matos, Mike          ADDRESS ON FILE
CUEVAS MATOS, ORLANDO L.    ADDRESS ON FILE
CUEVAS MATOS, TERESA DE J   ADDRESS ON FILE
CUEVAS MEDINA, YAMAYRA      ADDRESS ON FILE
CUEVAS MEDRANO, JOSE        ADDRESS ON FILE
CUEVAS MENDEZ, MONICA       ADDRESS ON FILE
CUEVAS MENDEZ, OMAR J       ADDRESS ON FILE
CUEVAS MERCADO, JAIME       ADDRESS ON FILE
CUEVAS MERCADO, LIZZETTE    ADDRESS ON FILE
Cuevas Mercado, Lizzette    ADDRESS ON FILE
CUEVAS MERCADO, LUIS        ADDRESS ON FILE
CUEVAS MILAN, WILSON        ADDRESS ON FILE
CUEVAS MILLAN, AUREA        ADDRESS ON FILE
CUEVAS MIRANDA, JOSE O.     ADDRESS ON FILE
Cuevas Mojica, Juan F       ADDRESS ON FILE
Cuevas Mojica, Omar         ADDRESS ON FILE
CUEVAS MOJICA, YANIRA       ADDRESS ON FILE
CUEVAS MOLINA, JAVIER       ADDRESS ON FILE
CUEVAS MOLINA, JESSICA      ADDRESS ON FILE
CUEVAS MOLINA, MARIA D      ADDRESS ON FILE
CUEVAS MOLINA, ROSA         ADDRESS ON FILE
CUEVAS MONTALVO, AILEEN     ADDRESS ON FILE
CUEVAS MONTALVO, AILEEN     ADDRESS ON FILE
CUEVAS MONTIJO, NAYSY       ADDRESS ON FILE
CUEVAS MORALES, LUIS F.     ADDRESS ON FILE
CUEVAS MORAN, NORMA F.      ADDRESS ON FILE
CUEVAS MUNIZ, BERNARDINA    ADDRESS ON FILE
CUEVAS MUNOZ, MONICA        ADDRESS ON FILE
CUEVAS NADAL, JAVIER        ADDRESS ON FILE
CUEVAS NADAL, MANUEL        ADDRESS ON FILE
CUEVAS NADAL, MARIA V.      ADDRESS ON FILE
CUEVAS NADAL, NANGELY       ADDRESS ON FILE
CUEVAS NATAL, GUILLERMO     ADDRESS ON FILE
CUEVAS NATAL, RAFAEL        ADDRESS ON FILE
CUEVAS NATAL, VIRGILIO      ADDRESS ON FILE
CUEVAS NAZARIO, ORLANDO     ADDRESS ON FILE
CUEVAS NAZARIO, WANDA I     ADDRESS ON FILE
CUEVAS NEGRON, LILLIAM      ADDRESS ON FILE
CUEVAS NEGRON, MARIANGELY   ADDRESS ON FILE
CUEVAS NEGRON, MARLENE      ADDRESS ON FILE
CUEVAS NEGRON, RAMON        ADDRESS ON FILE
CUEVAS NIEVES, AIEZER       ADDRESS ON FILE
CUEVAS NIEVES, FRANCISCO    ADDRESS ON FILE
CUEVAS NIEVES, ORLANDO      ADDRESS ON FILE
CUEVAS NUNEZ, GREGORIO      ADDRESS ON FILE
CUEVAS NUNEZ, SANTOS        ADDRESS ON FILE
CUEVAS OLAN, CELEDONIO      ADDRESS ON FILE
CUEVAS OLAN, PALMIRA        ADDRESS ON FILE
CUEVAS OLIVERAS, JONATHAN   ADDRESS ON FILE
CUEVAS ORAMA, XAVIER O.     ADDRESS ON FILE




                                                                        Page 2035 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2036 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS ORENGO, WANDA I.       ADDRESS ON FILE
CUEVAS ORLANDO, MARILYN I     ADDRESS ON FILE
CUEVAS ORTIZ, ANGEL R.        ADDRESS ON FILE
CUEVAS ORTIZ, BETZAIDA        ADDRESS ON FILE
CUEVAS ORTIZ, CARLOS I        ADDRESS ON FILE
Cuevas Ortiz, Carmen H        ADDRESS ON FILE
CUEVAS ORTIZ, HUMBERTO        ADDRESS ON FILE
CUEVAS ORTIZ, JOSE A          ADDRESS ON FILE
CUEVAS ORTIZ, NELSON          ADDRESS ON FILE
CUEVAS ORTIZ, RICARDO A.      ADDRESS ON FILE
CUEVAS ORTIZ, ROSA ELISA      ADDRESS ON FILE
CUEVAS OTERO, CARMEN          ADDRESS ON FILE
CUEVAS OTERO, MILAGROS E      ADDRESS ON FILE
CUEVAS PADILLA, JAIME         ADDRESS ON FILE
CUEVAS PADILLA, JAIME A.      ADDRESS ON FILE
CUEVAS PADILLA, JANICE A      ADDRESS ON FILE
CUEVAS PADILLA, JANICE A      ADDRESS ON FILE
CUEVAS PADILLA, JOMARILIS     ADDRESS ON FILE
CUEVAS PADILLA, JOSE          ADDRESS ON FILE
CUEVAS PADRO MD, SYLMA        ADDRESS ON FILE
CUEVAS PADRO, KATHERINE       ADDRESS ON FILE
CUEVAS PADRO, SYLMA           ADDRESS ON FILE
Cuevas Padua, Lourdes         ADDRESS ON FILE
Cuevas Pagan, Dave            ADDRESS ON FILE
CUEVAS PAGAN, LUCIAN          ADDRESS ON FILE
CUEVAS PANIAGUA, LISETTE      ADDRESS ON FILE
Cuevas Paoli, Glorimar De L   ADDRESS ON FILE
CUEVAS PASTRANA, LUIS         ADDRESS ON FILE
CUEVAS PASTRANA, LUIS O.      ADDRESS ON FILE
CUEVAS PEDRAZA, JENNIFER      ADDRESS ON FILE
CUEVAS PEGUERO, HECTOR M.     ADDRESS ON FILE
CUEVAS PELLICIER,CARLOS       ADDRESS ON FILE
CUEVAS PEREZ, BRENDA L        ADDRESS ON FILE
CUEVAS PEREZ, ELIZABETH       ADDRESS ON FILE
CUEVAS PEREZ, ERIBERTO        ADDRESS ON FILE
Cuevas Perez, Francisco       ADDRESS ON FILE
CUEVAS PEREZ, ILUMINADA       ADDRESS ON FILE
CUEVAS PEREZ, IVAN            ADDRESS ON FILE
CUEVAS PEREZ, JANNISE         ADDRESS ON FILE
CUEVAS PEREZ, JAVIER          ADDRESS ON FILE
CUEVAS PEREZ, JESUS           ADDRESS ON FILE
CUEVAS PEREZ, JOSE            ADDRESS ON FILE
CUEVAS PEREZ, LUIS F          ADDRESS ON FILE
CUEVAS PEREZ, NOBEL A         ADDRESS ON FILE
CUEVAS PEREZ, NOBEL A.        ADDRESS ON FILE
CUEVAS PEREZ, NOBEL A.        ADDRESS ON FILE
CUEVAS PEREZ, ZORAIDA         ADDRESS ON FILE
CUEVAS PINEDA, ELSIE J        ADDRESS ON FILE
CUEVAS PINEDA, MARCOS         ADDRESS ON FILE
Cuevas Pineiro, Jorge E       ADDRESS ON FILE
CUEVAS PINEIRO, NILSA I       ADDRESS ON FILE
CUEVAS PLANAS, EIMY           ADDRESS ON FILE
Cuevas Plaza, Margaret        ADDRESS ON FILE
Cuevas Plaza, Rafael          ADDRESS ON FILE
CUEVAS POLANCO, ANGELA G      ADDRESS ON FILE
CUEVAS POLANCO, LUIS R.       ADDRESS ON FILE
CUEVAS PORTES, HUMBERTO       ADDRESS ON FILE
CUEVAS QUILES, AIDA L         ADDRESS ON FILE
CUEVAS QUILES, ALEX           ADDRESS ON FILE
Cuevas Quiles, Alex N.        ADDRESS ON FILE




                                                                          Page 2036 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2037 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS QUILES, KELVIN           ADDRESS ON FILE
CUEVAS QUILES, RUBEN            ADDRESS ON FILE
CUEVAS QUINONES, MARYNES        ADDRESS ON FILE
CUEVAS QUINONES,LINNETTE        ADDRESS ON FILE
CUEVAS QUINONEZ, EDWIN          ADDRESS ON FILE
CUEVAS QUINTANA, MISAEL         ADDRESS ON FILE
CUEVAS RAMIREZ, AIDAMARI        ADDRESS ON FILE
CUEVAS RAMIREZ, CARMEN L        ADDRESS ON FILE
CUEVAS RAMOS MD, LUZ M          ADDRESS ON FILE
CUEVAS RAMOS, ALEXIS            ADDRESS ON FILE
CUEVAS RAMOS, ANGEL A.          ADDRESS ON FILE
CUEVAS RAMOS, ANTHONY           ADDRESS ON FILE
CUEVAS RAMOS, DAMARY            ADDRESS ON FILE
CUEVAS RAMOS, EDGARDO           ADDRESS ON FILE
CUEVAS RAMOS, EMYBELL           ADDRESS ON FILE
CUEVAS RAMOS, GLENDALYS         ADDRESS ON FILE
CUEVAS RAMOS, GLINDA L          ADDRESS ON FILE
CUEVAS RAMOS, JENNIFFER         ADDRESS ON FILE
CUEVAS RAMOS, JOSE              ADDRESS ON FILE
CUEVAS RAMOS, JOSE I.           ADDRESS ON FILE
CUEVAS RAMOS, LEIDA L           ADDRESS ON FILE
CUEVAS RAMOS, LUIS A.           ADDRESS ON FILE
CUEVAS RAMOS, LUZ M             ADDRESS ON FILE
CUEVAS RAMOS, MIGUEL            ADDRESS ON FILE
CUEVAS RAMOS, NESTOR            ADDRESS ON FILE
Cuevas Ramos, Nestor L          ADDRESS ON FILE
CUEVAS RAMOS, PABLO A           ADDRESS ON FILE
CUEVAS RAMOS, PEDRO             ADDRESS ON FILE
CUEVAS REYES, DANIEL            ADDRESS ON FILE
CUEVAS REYES, ELIDIO            ADDRESS ON FILE
CUEVAS REYES, ELIDIO            ADDRESS ON FILE
CUEVAS REYES, IRIS N            ADDRESS ON FILE
CUEVAS REYES, JOSE              ADDRESS ON FILE
CUEVAS REYES, MARTIN            ADDRESS ON FILE
CUEVAS REYNOSO, ISMAEL          ADDRESS ON FILE
CUEVAS RIOS, JANNETTE           ADDRESS ON FILE
CUEVAS RIOS, JULISSA            ADDRESS ON FILE
CUEVAS RIOS, LYMARI             ADDRESS ON FILE
CUEVAS RIVERA GARCIA, MARIBEL   ADDRESS ON FILE
CUEVAS RIVERA, AIDA G           ADDRESS ON FILE
CUEVAS RIVERA, BRAULIO LEE      ADDRESS ON FILE
CUEVAS RIVERA, CARMEN T         ADDRESS ON FILE
CUEVAS RIVERA, DALLIANA         ADDRESS ON FILE
CUEVAS RIVERA, ELIDIO           ADDRESS ON FILE
CUEVAS RIVERA, ESPERANZA        ADDRESS ON FILE
CUEVAS RIVERA, HERIBERTO        ADDRESS ON FILE
CUEVAS RIVERA, IBETH            ADDRESS ON FILE
CUEVAS RIVERA, JOEL             ADDRESS ON FILE
CUEVAS RIVERA, KAREM            ADDRESS ON FILE
CUEVAS RIVERA, LUZ E.           ADDRESS ON FILE
CUEVAS RIVERA, MARGARITA        ADDRESS ON FILE
CUEVAS RIVERA, MARGIE           ADDRESS ON FILE
CUEVAS RIVERA, MARGIE           ADDRESS ON FILE
CUEVAS RIVERA, MARIA DE LOS A   ADDRESS ON FILE
CUEVAS RIVERA, MARIBEL          ADDRESS ON FILE
CUEVAS RIVERA, MAXIMINO         ADDRESS ON FILE
CUEVAS RIVERA, MAYTE            ADDRESS ON FILE
Cuevas Rivera, Miguel A         ADDRESS ON FILE
CUEVAS RIVERA, MILAGROS         ADDRESS ON FILE
CUEVAS RIVERA, NELLY            ADDRESS ON FILE




                                                                            Page 2037 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2038 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Cuevas Rivera, Omar                ADDRESS ON FILE
CUEVAS RIVERA, RAFAEL F            ADDRESS ON FILE
CUEVAS RIVERA, RAYMOND             ADDRESS ON FILE
CUEVAS RIVERA, YOVANNY             ADDRESS ON FILE
CUEVAS ROBLEDO, LUIS               ADDRESS ON FILE
CUEVAS ROBLEDO, NORAH E            ADDRESS ON FILE
CUEVAS RODRIGUEZ, AIDA R           ADDRESS ON FILE
CUEVAS RODRIGUEZ, AMERICA          ADDRESS ON FILE
CUEVAS RODRIGUEZ, ANGEL L.         ADDRESS ON FILE
CUEVAS RODRIGUEZ, ARACELIS         ADDRESS ON FILE
CUEVAS RODRIGUEZ, CARLOS ALBERTO   ADDRESS ON FILE
CUEVAS RODRIGUEZ, CARMEN A         ADDRESS ON FILE
CUEVAS RODRIGUEZ, CARMEN M.        ADDRESS ON FILE
CUEVAS RODRIGUEZ, DAVID            ADDRESS ON FILE
CUEVAS RODRIGUEZ, DENILIZ          ADDRESS ON FILE
CUEVAS RODRIGUEZ, FERNANDO         ADDRESS ON FILE
Cuevas Rodriguez, Grisell          ADDRESS ON FILE
CUEVAS RODRIGUEZ, GRISELL          ADDRESS ON FILE
CUEVAS RODRIGUEZ, IVELISSE         ADDRESS ON FILE
CUEVAS RODRIGUEZ, JAIME DAVID      ADDRESS ON FILE
CUEVAS RODRIGUEZ, JOSE L           ADDRESS ON FILE
CUEVAS RODRIGUEZ, MIGUEL A.        ADDRESS ON FILE
CUEVAS RODRIGUEZ, MILAGROS         ADDRESS ON FILE
CUEVAS RODRIGUEZ, MYRNA E          ADDRESS ON FILE
CUEVAS RODRIGUEZ, MYRNA T          ADDRESS ON FILE
CUEVAS RODRIGUEZ, NIEVES M         ADDRESS ON FILE
CUEVAS RODRIGUEZ, SIGFREDO         ADDRESS ON FILE
CUEVAS RODRIGUEZ, WILSON           ADDRESS ON FILE
CUEVAS ROMAN, EVER S               ADDRESS ON FILE
Cuevas Roman, Jaime H              ADDRESS ON FILE
CUEVAS ROMAN, JOSE R               ADDRESS ON FILE
CUEVAS ROMAN, JOSEFINA             ADDRESS ON FILE
CUEVAS ROMAN, MANUEL               ADDRESS ON FILE
CUEVAS ROMAN, MARCELINO            ADDRESS ON FILE
CUEVAS ROMAN, MINERVA              ADDRESS ON FILE
CUEVAS ROSA, CESAR                 ADDRESS ON FILE
Cuevas Rosa, David                 ADDRESS ON FILE
CUEVAS ROSA, JUAN A                ADDRESS ON FILE
Cuevas Rosa, Katherine             ADDRESS ON FILE
CUEVAS ROSA, KATHERINE             ADDRESS ON FILE
CUEVAS ROSA, NORMA I.              ADDRESS ON FILE
CUEVAS ROSADO, RICARDO             ADDRESS ON FILE
CUEVAS ROSAFO, RICARDO O           ADDRESS ON FILE
CUEVAS ROSARIO, ARACELIS           ADDRESS ON FILE
CUEVAS ROSS, ALEJANDRO             ADDRESS ON FILE
CUEVAS RUIZ, ANA L                 ADDRESS ON FILE
CUEVAS RUIZ, BRUNILDA              ADDRESS ON FILE
CUEVAS RUIZ, CARMEN M              ADDRESS ON FILE
CUEVAS RUIZ, ENRIQUE               ADDRESS ON FILE
CUEVAS RUIZ, GERARDITA             ADDRESS ON FILE
CUEVAS RUIZ, JOSE A                ADDRESS ON FILE
CUEVAS RUIZ, JULIO E.              ADDRESS ON FILE
CUEVAS RUIZ, LUIS A                ADDRESS ON FILE
CUEVAS RUIZ, LUZ                   ADDRESS ON FILE
CUEVAS RUIZ, LUZ M                 ADDRESS ON FILE
CUEVAS RUIZ, MIGUEL A              ADDRESS ON FILE
CUEVAS RUIZ, NILSA T.              ADDRESS ON FILE
CUEVAS RUIZ, ROBERTO               ADDRESS ON FILE
CUEVAS RUIZ, ROSA                  ADDRESS ON FILE
CUEVAS RUIZ, ROSA IVETTE           ADDRESS ON FILE




                                                                               Page 2038 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2039 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUEVAS RUIZ, YAIRIN          ADDRESS ON FILE
CUEVAS RULLAN, IRIS          LCDO. NICOLAS NOGUERAS    PO BOX 195386                                          SAN JUAN     PR      00919
CUEVAS RULLAN, IRIS M.       ADDRESS ON FILE
CUEVAS RUPERTO, JONATTHAN    ADDRESS ON FILE
CUEVAS SANABRIA MD, EDWIN    ADDRESS ON FILE
CUEVAS SANABRIA, JOSE        ADDRESS ON FILE
CUEVAS SANABRIA, NAHIL Y     ADDRESS ON FILE
CUEVAS SANCHEZ, ELBA         ADDRESS ON FILE
CUEVAS SANCHEZ, JOSE         ADDRESS ON FILE
CUEVAS SANCHEZ, JOSE M.      ADDRESS ON FILE
CUEVAS SANCHEZ, LISSETT      ADDRESS ON FILE
CUEVAS SANCHEZ, LUZ C        ADDRESS ON FILE
CUEVAS SANCHEZ, MARIA A      ADDRESS ON FILE
CUEVAS SANCHEZ, NORMA I      ADDRESS ON FILE
CUEVAS SANJURJO, IDALISE     ADDRESS ON FILE
CUEVAS SANJURJO, SILKIA      ADDRESS ON FILE
CUEVAS SANTIAGO, ADDIE       ADDRESS ON FILE
CUEVAS SANTIAGO, AVISIENIT   ADDRESS ON FILE
Cuevas Santiago, Daniel I    ADDRESS ON FILE
CUEVAS SANTIAGO, JENIFFER    ADDRESS ON FILE
CUEVAS SANTIAGO, LUZ N.      ADDRESS ON FILE
CUEVAS SANTOS, MELVA D       ADDRESS ON FILE
CUEVAS SANTOS, PAQUITA       ADDRESS ON FILE
CUEVAS SEDA, IRIS Y          ADDRESS ON FILE
CUEVAS SEDA, LUZ C           ADDRESS ON FILE
CUEVAS SERRANO, BRENDA L     ADDRESS ON FILE
Cuevas Serrano, Juan C.      ADDRESS ON FILE
CUEVAS SERRANO, LUIS A       ADDRESS ON FILE
CUEVAS SERRANO, SOLIMAR      ADDRESS ON FILE
CUEVAS SILVA, CELINA         ADDRESS ON FILE
CUEVAS SILVAGNOLI, DENNIES   ADDRESS ON FILE
CUEVAS SILVAGNOLI, MARILYN   ADDRESS ON FILE
CUEVAS SILVAGNOLI, RUBEN     ADDRESS ON FILE
CUEVAS SOLER, DAMARIS        ADDRESS ON FILE
CUEVAS SOLER, DAMARIS        ADDRESS ON FILE
Cuevas Soler, German         ADDRESS ON FILE
CUEVAS SOLER, GERMAN         ADDRESS ON FILE
CUEVAS SOLIS, FELIX          ADDRESS ON FILE
CUEVAS SOSA, GLORYVEE        ADDRESS ON FILE
CUEVAS SOTO, ANTHONY         ADDRESS ON FILE
CUEVAS SOTO, ESTHER I.       ADDRESS ON FILE
CUEVAS SOTO, JOSE            ADDRESS ON FILE
CUEVAS SOTO, RAMON           ADDRESS ON FILE
CUEVAS SOTO, SHEILA          ADDRESS ON FILE
Cuevas Soto, Sheila M.       ADDRESS ON FILE
CUEVAS SOTO, SILVANO         ADDRESS ON FILE
CUEVAS SOTO, VIOLETA         ADDRESS ON FILE
CUEVAS SOTO, WILLIAM         ADDRESS ON FILE
CUEVAS TOLEDO, DUMARIS       ADDRESS ON FILE
Cuevas Toledo, Emma Y.       ADDRESS ON FILE
CUEVAS TORRES, ALBERTO       ADDRESS ON FILE
CUEVAS TORRES, CARLOS E.     ADDRESS ON FILE
CUEVAS TORRES, GILBERTO      ADDRESS ON FILE
CUEVAS TORRES, HECTOR        ADDRESS ON FILE
CUEVAS TORRES, HECTOR        ADDRESS ON FILE
CUEVAS TORRES, JESSICA M     ADDRESS ON FILE
CUEVAS TORRES, LILLIAM D.    ADDRESS ON FILE
CUEVAS TORRES, LISSETTE M    ADDRESS ON FILE
CUEVAS TORRES, LUIS A.       ADDRESS ON FILE
CUEVAS TORRES, MIGUEL        ADDRESS ON FILE




                                                                         Page 2039 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2040 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                      Address2                     Address3   Address4   City         State   PostalCode   Country
Cuevas Torres, Nelson                    ADDRESS ON FILE
CUEVAS TORRES, OMAYRA                    ADDRESS ON FILE
CUEVAS TORRES, YOLANDA                   ADDRESS ON FILE
CUEVAS TRINIDAD, SANDRA I                ADDRESS ON FILE
CUEVAS VALENTIN, JORGE L                 ADDRESS ON FILE
CUEVAS VALENTIN, JUAN                    ADDRESS ON FILE
CUEVAS VARELA, EDWARD                    ADDRESS ON FILE
Cuevas Varela, Edward J                  ADDRESS ON FILE
Cuevas Varela, Steven                    ADDRESS ON FILE
CUEVAS VARGAS, JORGE                     ADDRESS ON FILE
CUEVAS VAZQUEZ, EMILIO                   ADDRESS ON FILE
CUEVAS VAZQUEZ, FERDINAND                ADDRESS ON FILE
CUEVAS VAZQUEZ, LEONEL                   ADDRESS ON FILE
CUEVAS VAZQUEZ, LEYDIMILT                ADDRESS ON FILE
CUEVAS VAZQUEZ, MIGUEL M                 ADDRESS ON FILE
CUEVAS VAZQUEZ, SIGFREDO                 ADDRESS ON FILE
CUEVAS VAZQUEZ, WILFREDO                 ADDRESS ON FILE
CUEVAS VAZQUEZ, YANIRIS                  ADDRESS ON FILE
CUEVAS VAZQUEZ, YINEIRA M.               ADDRESS ON FILE
CUEVAS VAZQUEZ, YOSAEL                   ADDRESS ON FILE
CUEVAS VEGA, NEYSA                       ADDRESS ON FILE
CUEVAS VEGAS, DAVID                      ADDRESS ON FILE
CUEVAS VELAZQUEZ, ANA E.                 ADDRESS ON FILE
CUEVAS VELEZ, ALMA                       ADDRESS ON FILE
CUEVAS VELEZ, EFRAIN                     ADDRESS ON FILE
CUEVAS VELEZ, IVETTE                     ADDRESS ON FILE
CUEVAS VELEZ, IVETTE Y                   ADDRESS ON FILE
CUEVAS VELEZ, JOSE H                     ADDRESS ON FILE
CUEVAS VELEZ, NELSON                     ADDRESS ON FILE
CUEVAS VELEZ, NILSA E                    ADDRESS ON FILE
CUEVAS VELEZ, TANYA                      ADDRESS ON FILE
CUEVAS VELEZ, WILLIAM                    ADDRESS ON FILE
CUEVAS VELEZ, ZORAIDA                    ADDRESS ON FILE
CUEVAS VERA, ALBERTO                     ADDRESS ON FILE
CUEVAS VERGARA, EDUARDO                  ADDRESS ON FILE
CUEVAS VERGARA, FELIPE                   ADDRESS ON FILE
CUEVAS VIERA, ELVIRA                     ADDRESS ON FILE
CUEVAS VILLANUEVA, CYNTHIA               ADDRESS ON FILE
CUEVAS VILLANUEVA, JUSTO                 ADDRESS ON FILE
CUEVAS ZAYAS, ANDREA M                   ADDRESS ON FILE
CUEVAS ZENO, EDWARD                      ADDRESS ON FILE
CUEVAS, FERNANDO                         ADDRESS ON FILE
CUEVAS, JEAN                             ADDRESS ON FILE
CUEVAS, MARCO                            ADDRESS ON FILE
CUEVASVILLANUEVA, VICTOR J               ADDRESS ON FILE
CUFF NEGRONI, CHARLES                    ADDRESS ON FILE
CUFFY, ENID                              ADDRESS ON FILE
CUIDADO CASERO HATO REY INC              PO BOX 3856                                                                      GUAYNABO     PR      00970‐3856
CUIDADO DE SALUD Y MEDICINA PREVENTIVA   CENTRO COMRCIAL LOCAL 5                                                          LAJAS        PR      00667
CUIDADO PEDIATRICO INTEGRAL CSP          PO BOX 6598                                                                      BAYAMON      PR      00960
CUIDADOS ANGELITOS INC                   URB VILLA VERDE F 4 CALLE 6                                                      BAYAMON      PR      00959
CUIDADOS DE SALUD Y SERVICIOS EN EL      HOGAR INC                     PO BOX 2272                                        MAYAGUEZ     PR      00681
CUIDO DE ANGELITOS, INC                  URB VILLA VERDE               F4 CALLE 6                                         BAYAMON      PR      00959
CUILAN HEUERTZ, EMILIO E                 ADDRESS ON FILE
CUILAN RAMOS, ARMIDA                     ADDRESS ON FILE
CUILAN RIVERA, VIANI                     ADDRESS ON FILE
CUIN OTERO, MICHAEL J.                   ADDRESS ON FILE
CUIN OTERO, MICHAEL JORDAN               ADDRESS ON FILE
CULEBRA COMMUNITY LIBRARY                PLAYA SARDINAS                PO BOX 840                                         CULEBRA      PR      00775‐0840
CULEBRA ISLAND ADVENTURES CORP           PO BOX 756                                                                       CULEBRA      PR      00775




                                                                                     Page 2040 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2041 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                    Address1                             Address2                                Address3   Address4   City              State   PostalCode   Country
CULEBRA SPORTS CHALLENGE         7 REPT PROVIDENCIA                                                                                 VEGA BAJA         PR      00693
CULEBRAS GAS SERVICES            P O BOX. 311                                                                                       CULEBRA           PR      00775
CULINARY ENTERTAIMENT INC        EL PALMER DE TORRIMAR                115 CALLE 2 A                                                 GUAYNABO          PR      00969
CULP MERCADO, BILLY J            ADDRESS ON FILE
CULPEPER RAMIREZ, JOSE SAMUEL    ADDRESS ON FILE
CULPEPPER FREE CLINIC            610 LAUREL STREET                                                                                  CULPEPPER         VA      22701
CULSON PABON, CARMEN M.          ADDRESS ON FILE
CULTIVOS DEL NUEVO MILENIO INC   PO BOX 1571                                                                                        TOA ALTA          PR      00954
CULTURA CULINARIA                475 CALLE TRINIDAD ORELLANA APT 10                                                                 SAN JUAN          PR      00923‐2754
CULTURA PUERTORRIQUENA           FERNANDEZ JUNCOS                     P.O. BOX 8863                                                 SANTURCE          PR      00100
CULTURA TORO AL DIENTE INC       PARADOR HACIENDA EL JIBARITO                                                                       SAN SEBASTIAN     PR      00685
CULTURAL CARIBENA                PO BOX 7832                                                                                        SAN JUAN          PR      00916‐7832
CULTURARTE DE PR                 PO BOX 365051                                                                                      SAN JUAN          PR      00936‐5051
CULTURE RESTAURANT GROUP         200 SAN FRANCISCO STREET                                                                           SAN JUAN          PR      00901
CUMAN J CRUZ CRESPO              ADDRESS ON FILE
CUMBA ALICEA, JULIA              ADDRESS ON FILE
CUMBA ALVARADO, AURY             ADDRESS ON FILE
CUMBA ALVARADO, AXEL             ADDRESS ON FILE
CUMBA ALVARADO, LIZ A            ADDRESS ON FILE
CUMBA APONTE, JOSE               ADDRESS ON FILE
CUMBA APONTE, LUZ N.             ADDRESS ON FILE
CUMBA AVILES, EDUARDO            ADDRESS ON FILE
CUMBA AVILES, JULIO              ADDRESS ON FILE
CUMBA AVILES, JULIO A            ADDRESS ON FILE
CUMBA BERMUDEZ, JOSE             ADDRESS ON FILE
CUMBA BERMUDEZ, JOSE             ADDRESS ON FILE
Cumba Berrios, Janet L           ADDRESS ON FILE
CUMBA CABRERA, YOJAIRA           ADDRESS ON FILE
CUMBA COLON, JULIO               ADDRESS ON FILE
CUMBA COLON, MARIA A             ADDRESS ON FILE
CUMBA COLON, RAMON               ADDRESS ON FILE
CUMBA COLON, TERESA              ADDRESS ON FILE
CUMBA COMMUNICATIONS INC         URB PALACIOS DEL RIO II              766 CALLE CIBUCO NUM 3                                        TOA ALTA          PR      00953
CUMBA DIAZ, MALENNE              ADDRESS ON FILE
CUMBA GARCIA, ANABEL             ADDRESS ON FILE
CUMBA GARCIA, ANABEL             ADDRESS ON FILE
CUMBA GONZALEZ, LISSETTE         ADDRESS ON FILE
CUMBA GONZALEZ, RACHELL          ADDRESS ON FILE
CUMBA GUERRERO MD, JOSE G        ADDRESS ON FILE
CUMBA MARCANO, TERESA            ADDRESS ON FILE
CUMBA MARRERO, ZORAIDA           ADDRESS ON FILE
CUMBA MEDICAL AMBULANCE          HC01 BOX 6227                                                                                      GUAYNABO          PR      00971‐0000
CUMBA MENDEZ,IVAN J.             ADDRESS ON FILE
CUMBA MERCED, JAIME              ADDRESS ON FILE
CUMBA MERCED, JAISOMER           ADDRESS ON FILE
CUMBA OCANA, SANDRO              ADDRESS ON FILE
CUMBA ORTIZ, JOSE                ADDRESS ON FILE
CUMBA PAGAN, NORKA M             ADDRESS ON FILE
CUMBA PEREDA, MIGUEL A.          ADDRESS ON FILE
CUMBA PEREZ, JOSE                ADDRESS ON FILE
CUMBA POMALES, ALEE              ADDRESS ON FILE
CUMBA POMALES, LUIS G.           ADDRESS ON FILE
CUMBA QUILES MD, JOSE R          ADDRESS ON FILE
CUMBA RODRIGUEZ, JOSE M.         ADDRESS ON FILE
CUMBA RODRIGUEZ, LUIS FELIX      ADDRESS ON FILE
CUMBA SANCHEZ, RAQUEL            ADDRESS ON FILE
Cumba Santana, Hipolito          ADDRESS ON FILE
CUMBA SANTIAGO, EVELYN           ADDRESS ON FILE
CUMBA SANTIAGO, SHARON           ADDRESS ON FILE
CUMBA SANTOS, JOHANN             ADDRESS ON FILE




                                                                                               Page 2041 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2042 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                       Address1                                          Address2                                  Address3   Address4   City             State   PostalCode   Country
CUMBA SANTOS, YAZIRA M              ADDRESS ON FILE
Cumba Vargas, Alexis Omar           ADDRESS ON FILE
CUMBAS CARO, MILAGROS               ADDRESS ON FILE
CUMBAS FUENTES, KEILA M.            ADDRESS ON FILE
CUMBAS RIVERA, JACQUELINE           ADDRESS ON FILE
CUMBAS RODRIGUEZ, NOLIN             ADDRESS ON FILE
CUMBAS VEGAS, MARTA M               ADDRESS ON FILE
CUMBERLAND COUNTY GUIDANCE CENTER   PO BOX 808                                                                                                        MILLVILLE        NJ      08332
CUMBERLAND HALL                     270 WALTON WAY                                                                                                    HOPKINSVILLE     KY      42240
CUMBRE SOCIAL INC                   1214 CALLE CADIZ                                                                                                  SAN JUAN         PR      00920
Cumis Insurance Society, Inc.       Attn: Brian Brown, Actuary                        PO Box 1084                                                     Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Laurie Carlson, Circulation of Risk         PO Box 1084                                                     Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Laurie Carlson, Regulatory Compliance GovePO Box 1084                                                       Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Lynn Weasner, Consumer Complaint ContacPO Box 1084                                                          Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Pamela M. Patzke, Vice President            PO Box 1084                                                     Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Robert Trunzo, President                    PO Box 1084                                                     Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Shannon Carpenter, Premiun Tax Contact PO Box 1084                                                          Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Thomas Dare, Vice President                 PO Box 1084                                                     Madison          WI      53701
Cumis Insurance Society, Inc.       Attn: Victor Alamo , Agent for Service of Process PO Box 1084                                                     Madison          WI      53701
CUMMING PEREZ, DENNIS               ADDRESS ON FILE
CUMMING TORRES, RAFAEL J.           ADDRESS ON FILE
CUMMINGS ALVAREZ, DENNIS            ADDRESS ON FILE
CUMMINGS CARRERO MD, LUIS E         ADDRESS ON FILE
CUMMINGS CARTAGENA INC.             P O BOX 1790                                                                                                      PONCE            PR      00733‐1790
CUMMINGS HERNANDEZ, HIRAM           ADDRESS ON FILE
CUMMINGS IRIZARRY, ROSARIO          ADDRESS ON FILE
CUMMINGS PINO, CORAL M              ADDRESS ON FILE
CUMMINGS RODRIGUEZ, STEPHANIE       ADDRESS ON FILE
CUMMINGS TORRES, ANGELA             ADDRESS ON FILE
CUMMINGS TORRES, RAFAEL             ADDRESS ON FILE
CUMMINS CARIBBEAN LLC               PO BOX 11872                                                                                                      SAN JUAN         PR      00927
CUMPIANO CARRERO, DENNIS            ADDRESS ON FILE
CUMPIANO SANCHEZ, WILMA             ADDRESS ON FILE
CUNILL ROLON, YADIRA H              ADDRESS ON FILE
CUNNENGHAM TORRES, JOHN             ADDRESS ON FILE
CUNNINGHAM MD , ERNEST L            ADDRESS ON FILE
CUNNINGHAM RAMOS, GERALD            ADDRESS ON FILE
CUNNINGHAM RAMOS, SAMARIE           ADDRESS ON FILE
CUNNINGHAM RAMOS, SAMARIE           ADDRESS ON FILE
CUNNINGHAM, LUISA                   ADDRESS ON FILE
CUPELES ARROYO, NELSON              ADDRESS ON FILE
CUPELES CINTRON, JUAN D             ADDRESS ON FILE
CUPELES JUSTINIANO, ARACELIS        ADDRESS ON FILE
CUPELES JUSTINIANO, JACQUELINE      ADDRESS ON FILE
CUPELES LAMBOY, EDGAR R             ADDRESS ON FILE
CUPELES LAMBOY, RAMON A             ADDRESS ON FILE
CUPELES MARCHANY, WANDA             ADDRESS ON FILE
CUPELES MATOS, ELIZABETH            ADDRESS ON FILE
CUPELES PABON, GINES                ADDRESS ON FILE
CUPELES REYES, FLAMMEE              ADDRESS ON FILE
CUPELES SOBYE, VIVIAN               ADDRESS ON FILE
CUPELES VEGA, CARLOS                ADDRESS ON FILE
CUPERES VELEZ, EDWIN                ADDRESS ON FILE
CUPEY BASEBALL CLUB INC             PO BOX 575                                                                                                        LAS PIEDRAS      PR      00771
CUPEY BOWLING ENTERTAIMENT          PO BOX 16726                                                                                                      SAN JUAN         PR      00908
CUPEY COMMUNITY RADIOLOGY           MONTEHIEDRA                                       247 CALLE REINA MORA                                            SAN JUAN         PR      00926
CUPEY OBGYN CENTER                  URB CROWN HILLS                                   AVE WINSTON CHURCHILL STE 1 PMB                                 SAN JUAN         PR      00926
CUPEY OBGYN CENTER                  URB CROWN HLS                                     138 AVE WINSTON CHURCHILL STE 1 PMB 791                         SAN JUAN         PR      00926
CUPEY TEXACO SERVICE STATION        P.O.362432                                                                                                        SAN JUAN         PR      00936‐2432
CUPEY TEXACO SERVICE STATION        PO BOX 362432                                                                                                     SAN JUAN         PR      00936




                                                                                                                Page 2042 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2043 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CUPEY VISION CARE                        URB ANTILLANA AN55        CALLE SAN TOMAS                                        TOA ALTA     PR      00976
CUPRILL ISLA LAW OFFICES PSC             PO BOX 335210                                                                    PONCE        PR      00733‐5210
CUPRILL ARROYO, MARIA D                  ADDRESS ON FILE
CUPRILL GARCIA, YOLANDA                  ADDRESS ON FILE
CUPRILL LARACUENTE, RICARDO              ADDRESS ON FILE
CUPRILL LUGO, MIRIAM                     ADDRESS ON FILE
CUPRILL LUGO, MIRNA                      ADDRESS ON FILE
CUPRILL MORALES, MARITZA                 ADDRESS ON FILE
CUPRILL NAZARIO, DIANA                   ADDRESS ON FILE
CUPRILL RIVERA, EVELYN LINNETTE          ADDRESS ON FILE
CUPRILL TORRES, LIZ M                    ADDRESS ON FILE
CUPRILL, HAROLD                          ADDRESS ON FILE
CUQUI AUTO PARTS                         RR 02 BOX 6304                                                                   ANASCO       PR      00610‐9829
CURBELLO ARROYO, NELSON                  ADDRESS ON FILE
CURBELO & RULLAN CONSULTING ENGINEERS PS PO BOX 595                                                                       ISABELA      PR      00662
CURBELO ACEVEDO, AIDA L                  ADDRESS ON FILE
CURBELO ALVAREZ, IXAIDA                  ADDRESS ON FILE
CURBELO ALVAREZ, XAIDA                   ADDRESS ON FILE
CURBELO ARCE, PATRICIA                   ADDRESS ON FILE
CURBELO BECERRIL, ENID L                 ADDRESS ON FILE
CURBELO BECERRIL, EVERLIDYS              ADDRESS ON FILE
CURBELO BECERRIL, LETICIA                ADDRESS ON FILE
CURBELO CANABAL, FRANCES Y               ADDRESS ON FILE
CURBELO CANCEL, NELSON                   ADDRESS ON FILE
Curbelo Candelaria, Adalberto            ADDRESS ON FILE
CURBELO CANDELARIA, ISAAC                ADDRESS ON FILE
CURBELO CLASS, WANDA                     ADDRESS ON FILE
CURBELO CONDE, JENNYFER                  ADDRESS ON FILE
CURBELO CURBELO, DALILA                  ADDRESS ON FILE
Curbelo Curbelo, Jose L.                 ADDRESS ON FILE
CURBELO DE JUARBE, VANIA Z               ADDRESS ON FILE
CURBELO DEL VALLE, GRETCHKA M.           ADDRESS ON FILE
CURBELO DIAZ, LUIS                       ADDRESS ON FILE
CURBELO FELIX, LOURDES                   ADDRESS ON FILE
CURBELO FELIX, MARIA M                   ADDRESS ON FILE
CURBELO FERNANDEZ, MARITZA               ADDRESS ON FILE
CURBELO FERNANDEZ, NOEL                  ADDRESS ON FILE
CURBELO GONZALEZ, HENRY                  ADDRESS ON FILE
CURBELO HERNANDEZ, JONATHAN              ADDRESS ON FILE
CURBELO HERNANDEZ, NELSON                ADDRESS ON FILE
CURBELO HERNANDEZ, NIZALIZ               ADDRESS ON FILE
CURBELO HIDALGO, ANGEL M.                ADDRESS ON FILE
CURBELO IRIZARRY, LOURDES                ADDRESS ON FILE
CURBELO JARAMILLO, DAISY                 ADDRESS ON FILE
CURBELO JARAMILLO, JESSICA               ADDRESS ON FILE
CURBELO JARAMILLO, JOWIE                 ADDRESS ON FILE
CURBELO LEON, ABIATAL                    ADDRESS ON FILE
CURBELO LOPEZ, ILEANA                    ADDRESS ON FILE
CURBELO MALDONADO, DINAH                 ADDRESS ON FILE
CURBELO MARTINEZ, MARIED                 ADDRESS ON FILE
CURBELO MARTINEZ, STEPHANIE JUDITH       ADDRESS ON FILE
CURBELO MARTIR, LUIS A.                  ADDRESS ON FILE
CURBELO MEDINA, IRENE                    ADDRESS ON FILE
CURBELO MEDINA, RAFAEL                   ADDRESS ON FILE
Curbelo Mendez, Eric                     ADDRESS ON FILE
CURBELO MENDEZ, JUAN                     ADDRESS ON FILE
Curbelo Miranda, Betsy                   ADDRESS ON FILE
CURBELO MIRANDA, BETSY                   ADDRESS ON FILE
Curbelo Muniz, Jose A                    ADDRESS ON FILE
CURBELO MUNIZ, MELVIN                    ADDRESS ON FILE




                                                                                     Page 2043 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2044 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
CURBELO OLIVARES, GUSTAVO              ADDRESS ON FILE
CURBELO PAGAN, JOEMAR                  ADDRESS ON FILE
CURBELO PINERO, LUZ V                  ADDRESS ON FILE
CURBELO RIVERA, CLARITZA               ADDRESS ON FILE
CURBELO RIVERA, LADAERIS P             ADDRESS ON FILE
Curbelo Rivera, Samuel                 ADDRESS ON FILE
CURBELO RIVERA, SANTA                  ADDRESS ON FILE
CURBELO RODRIGUEZ, CHRISTELLE          ADDRESS ON FILE
CURBELO RODRIGUEZ, EDWIN               ADDRESS ON FILE
CURBELO RODRIGUEZ, JEAN                ADDRESS ON FILE
CURBELO RODRIGUEZ, JOSE R              ADDRESS ON FILE
CURBELO RODRIGUEZ, MARIA E             ADDRESS ON FILE
CURBELO RODRIGUEZ, WANDA               ADDRESS ON FILE
CURBELO ROJAS, YOSELYN                 ADDRESS ON FILE
CURBELO ROSARIO, LUIS WALDEMAR         ADDRESS ON FILE
CURBELO SANCHEZ, MARIA L               ADDRESS ON FILE
CURBELO SANTIAGO, JUAN M.              ADDRESS ON FILE
CURBELO SANTIAGO, LUIS                 ADDRESS ON FILE
CURBELO SERRANO, GUSTAVO               ADDRESS ON FILE
CURBELO SERRANO, ROSA                  ADDRESS ON FILE
CURBELO SOLER, JOEL                    ADDRESS ON FILE
CURBELO SOLER, VICTOR M                ADDRESS ON FILE
CURBELO SOTO, AIDA                     ADDRESS ON FILE
CURBELO SOTO, ANGEL                    ADDRESS ON FILE
CURBELO VARGAS, ISABEL                 ADDRESS ON FILE
CURBELO VAZQUEZ, MADELINE              ADDRESS ON FILE
CURBELO VEGA, LAYSHI                   ADDRESS ON FILE
CURBELOGONZALEZ, JORGE                 ADDRESS ON FILE
CURCIO COLON, MELVIN                   ADDRESS ON FILE
CURCIO COLON, MILTON                   ADDRESS ON FILE
CURCIO FORTIS, ELBA E                  ADDRESS ON FILE
CURCIO LOPEZ, JULIO J                  ADDRESS ON FILE
CURCIO PIZARRO, HAZEL                  ADDRESS ON FILE
CURCIO SANTIAGO, LESLIE                ADDRESS ON FILE
CURELSA BEAUTY SUPPLY AND HAIR STYLE   PO BOX 1689                                                                      COROZAL      PR      00783‐1689
CURET ACEVEDO, VANESSA                 ADDRESS ON FILE
CURET ACOSTA, BRENDALIZ                ADDRESS ON FILE
CURET AGRON, JACKELINE                 ADDRESS ON FILE
CURET AGRON, RICARDO                   ADDRESS ON FILE
CURET ALICEA, AURIMAR                  ADDRESS ON FILE
CURET ALICEA, LILLIAN                  ADDRESS ON FILE
CURET ANES, AURELIA                    ADDRESS ON FILE
CURET AUFFANT, CARLA S                 ADDRESS ON FILE
CURET AYALA, ANA I                     ADDRESS ON FILE
CURET AYALA, CARMEN Z                  ADDRESS ON FILE
CURET AYALA, NORMA N                   ADDRESS ON FILE
CURET BOFFILL, EDIL                    ADDRESS ON FILE
CURET BORRAS, JOSE F                   ADDRESS ON FILE
CURET COLLAZO, ENRIQUE                 ADDRESS ON FILE
CURET COLLAZO, GLORIA E                ADDRESS ON FILE
CURET COLLAZO, RAMON                   ADDRESS ON FILE
CURET COLON, CARLOS                    ADDRESS ON FILE
CURET COLON, NASHJA                    ADDRESS ON FILE
CURET COTTO, CARLOS                    ADDRESS ON FILE
CURET CURET, ROSA J                    ADDRESS ON FILE
CURET DE JESUS, ROSE                   ADDRESS ON FILE
CURET DE LA CRUZ, KENDRALIS            ADDRESS ON FILE
CURET DELGADO, LUIS                    ADDRESS ON FILE
CURET DIAZ, FRANCIS                    ADDRESS ON FILE
CURET DIAZ, JUDMILA                    ADDRESS ON FILE




                                                                                   Page 2044 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2045 of 3500
                                                                                17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                    Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
CURET ENRIQUEZ, ALMA D           ADDRESS ON FILE
CURET FONTANEZ, JUANA            ADDRESS ON FILE
CURET GALARZA, GERARDO           ADDRESS ON FILE
CURET GALINDO, NILSA I           ADDRESS ON FILE
CURET GARCIA, SANDRA             ADDRESS ON FILE
CURET HIRALDO, JOSE              ADDRESS ON FILE
CURET LOPEZ, JOSE                ADDRESS ON FILE
CURET LOPEZ, MARILIVETTE         ADDRESS ON FILE
CURET LOPEZ, MILTON A.           ADDRESS ON FILE
CURET LOZADA, CARMEN I.          ADDRESS ON FILE
CURET MELENDEZ, HECTOR           ADDRESS ON FILE
CURET MELENDEZ, HECTOR           ADDRESS ON FILE
CURET NIEVES, KAREN I            ADDRESS ON FILE
CURET NIEVES, KENIA M.           ADDRESS ON FILE
CURET OLAS, MARIA                ADDRESS ON FILE
CURET PEREZ, AIDA L              ADDRESS ON FILE
Curet Perez, Derwin              ADDRESS ON FILE
CURET PEREZ, NELLY ESTHER        ADDRESS ON FILE
CURET RAMOS MD, JOSE A           ADDRESS ON FILE
CURET RIVERA, JEANETTE M         ADDRESS ON FILE
CURET RIVERA, LYDIA M            ADDRESS ON FILE
Curet Rivera, Sheila V.          ADDRESS ON FILE
CURET SANTIAGO, GUILLERMO        ADDRESS ON FILE
CURET SANTIAGO, GUILLERMO        ADDRESS ON FILE
CURET SANTIAGO, JERONIMO         ADDRESS ON FILE
CURET SOTO, CARLOS               ADDRESS ON FILE
CURET SOTO, EDWIN                ADDRESS ON FILE
CURET SOTO, JOSEFA               ADDRESS ON FILE
CURET TELLERIAS, MARIA DE L      ADDRESS ON FILE
CURET TIZOL, DAEGRED E           ADDRESS ON FILE
CURET TIZOL, IVELISSE            ADDRESS ON FILE
CURET TORRES, ALBERTO            ADDRESS ON FILE
CURET TORRES, ALCIDES            ADDRESS ON FILE
CURET TORRES, CARMEN C           ADDRESS ON FILE
CURET VAZQUEZ, CRISTOBAL         ADDRESS ON FILE
CURET VAZQUEZ, MARIBEL           ADDRESS ON FILE
Curet Velazquez, Hernis          ADDRESS ON FILE
CURET VELEZ, CAROLINA I          ADDRESS ON FILE
CURET, SERGIO                    ADDRESS ON FILE
CURET‐MCKARY FIGUEROA, JOSE E    ADDRESS ON FILE
CURETTY AGUILERA, NANETTE        ADDRESS ON FILE
CURIA PROVINCIAL CENTRO VOCACI   BO BUENA VISTA            RR 8 BUZON 10131                                        BAYAMON      PR      00957
CURIEL BARRERAS, ERNESTO         ADDRESS ON FILE
CURIEL VAN EYTIN, MYRTHA         ADDRESS ON FILE
CURRAIS, NICOLE                  ADDRESS ON FILE
CURRAN GROUP INC                 P O BOX 41126                                                                     SAN JUAN     PR      00940‐1126
CURRAS CARDONA, JOSE             ADDRESS ON FILE
CURRAS CARRASQUILLO, LUZ         ADDRESS ON FILE
CURRAS CASTRO, RICARDO J.        ADDRESS ON FILE
CURRAS DIAZ, AMARYLLIS Y.        ADDRESS ON FILE
CURRAS MALDONADO, MARIA DE L.    ADDRESS ON FILE
CURRAS MALDONADO, MARICELIA      ADDRESS ON FILE
CURRAS NEGRON, PIERRE F          ADDRESS ON FILE
CURRAS PAGA, WILFREDO            ADDRESS ON FILE
CURRAS PANIAGUA, RUTH M          ADDRESS ON FILE
CURRAS PLUMEY, CERMY S           ADDRESS ON FILE
CURRAS RAMIREZ, ROBERTO          ADDRESS ON FILE
CURRAS SALGADO, REINALDO         ADDRESS ON FILE
CURRAS SOTO, MANUEL              ADDRESS ON FILE
CURRAS ZAYAS, JOSE               ADDRESS ON FILE




                                                                              Page 2045 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2046 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                            Address1                    Address2                                  Address3   Address4   City              State   PostalCode   Country
CURRICULO EDUCATIVO Y PROYECTO D DES INT P O BOX 22211               UPR STATION                                                     SAN JUAN          PR      00924‐2221
CURRICULO EDUCATIVO Y PROYECTO D DES INT P O BOX 22211                                                                               SAN JUAN          PR      0092422211
CURRV FIGUEROA, CAROLINE                 ADDRESS ON FILE
CURSILLO GARCIA, LUISA A.                ADDRESS ON FILE
CURSILLOS DECRISTIANDAD PQUIA SAN ISIDRO E 47 URB VILLA ALBA                                                                         SABANA GRANDE     PR      00637
CURTIS L MULDROW                         ADDRESS ON FILE
CURUCHET HERNANDEZ, CARLOS               ADDRESS ON FILE
CURUCHET HERNANDEZ, CARLOS               ADDRESS ON FILE
CURZ GUZMAN, YASHIRA Z                   ADDRESS ON FILE
CURZ VILLANUEVA, RAUL                    ADDRESS ON FILE
CUSANI RODRIGUEZ, VICTOR                 ADDRESS ON FILE
CUSOFT INFORMATICA                       THE UPS STORE               200 AVE RAFAEL CORDERO STE 140 PMB 279                          CAGUAS            PR      00725
CUSOFT INFORMATION INC                   PMB 279                     AVE RAFAEL CORDERO 200 SUITE 140                                CAGUAS            PR      00725
CUSTO‐COOP COOPERATIVA DE A/C            URB REPARTO METROPOLITANO   1100 CALLE 54 SE                                                SAN JUAN          PR      00921‐2731
CUSTODIA MARTINEZ, ALTAGRACIA            ADDRESS ON FILE
CUSTODIO ALVARADO, WILLIAM               ADDRESS ON FILE
Custodio Aponte, Americo Jr              ADDRESS ON FILE
Custodio Aponte, Pedro A.                ADDRESS ON FILE
CUSTODIO AUTO SALES                      PO BOX 4                                                                                    SAN SEBASTIAN     PR      00685
CUSTODIO BARBOSA, KEVIN                  ADDRESS ON FILE
CUSTODIO CASTRO, LUIS                    ADDRESS ON FILE
CUSTODIO COLON, ALBA                     ADDRESS ON FILE
CUSTODIO COLON, LIZ                      ADDRESS ON FILE
CUSTODIO CRUZ, ALEXIS                    ADDRESS ON FILE
Custodio Cruz, Hector J                  ADDRESS ON FILE
CUSTODIO CRUZ, NELSON                    ADDRESS ON FILE
CUSTODIO CRUZ, OLGA                      ADDRESS ON FILE
CUSTODIO FIGUEROA, WILMARIE              ADDRESS ON FILE
CUSTODIO FIGUEROA, WILMARIE              ADDRESS ON FILE
CUSTODIO GONZALEZ, ANGEL                 ADDRESS ON FILE
CUSTODIO GONZALEZ, ARNALDO               ADDRESS ON FILE
CUSTODIO GONZALEZ, HAYDEE                ADDRESS ON FILE
Custodio Gonzalez, Jesus M               ADDRESS ON FILE
Custodio Hernandez, Orlando              ADDRESS ON FILE
CUSTODIO HERNANDEZ, SILVIA               ADDRESS ON FILE
CUSTODIO JIMENEZ, ADELAIDA               ADDRESS ON FILE
CUSTODIO JIMENEZ, MARISEL                ADDRESS ON FILE
CUSTODIO LASALLE, ROSA M                 ADDRESS ON FILE
CUSTODIO LEON, CARMEN                    ADDRESS ON FILE
CUSTODIO LOPEZ, NAOMI                    ADDRESS ON FILE
CUSTODIO MALDONADO, ANAMARIS             ADDRESS ON FILE
CUSTODIO MALDONADO, CARMEN L             ADDRESS ON FILE
CUSTODIO MALDONADO, SANDRA I             ADDRESS ON FILE
CUSTODIO MALDONADO, YELITZA              ADDRESS ON FILE
CUSTODIO MIESES, MELIDA                  ADDRESS ON FILE
CUSTODIO MUNOZ, IGNACIO                  ADDRESS ON FILE
CUSTODIO ORTIZ, ENEMY                    ADDRESS ON FILE
CUSTODIO PASCUAL, SILVERIO               ADDRESS ON FILE
CUSTODIO PEREZ, FIOL D                   ADDRESS ON FILE
CUSTODIO PEREZ, MELISSA                  ADDRESS ON FILE
CUSTODIO PEREZ, YARITZA                  ADDRESS ON FILE
CUSTODIO QUILES, JUAN A                  ADDRESS ON FILE
CUSTODIO RODRIGUEZ, CARMEN M             ADDRESS ON FILE
CUSTODIO RODRIGUEZ, EMILIO               ADDRESS ON FILE
CUSTODIO RODRIGUEZ, FRANCISCA            ADDRESS ON FILE
CUSTODIO RODRIGUEZ, FRANCISCA            ADDRESS ON FILE
CUSTODIO SANTOS, NANCY                   ADDRESS ON FILE
CUSTODIO SERRANO, DAMARYS                ADDRESS ON FILE
CUSTODIO TORRES, ANGEL M.                ADDRESS ON FILE
CUSTODIO TORRES, HAROLD                  ADDRESS ON FILE




                                                                                                Page 2046 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2047 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                          Address1                                  Address2                                   Address3   Address4   City                State   PostalCode   Country
CUSTODIO TORRES, PEDRO                 ADDRESS ON FILE
CUSTODIO VARELA, NITZA                 ADDRESS ON FILE
CUSTOM DISPLAY DESIGNS INC             580 LINNE RD 130                                                                                           PASO ROBLES         CA      93446
CUSTOM ENGINEERING SOLUTIONS           PO BOX 285                                                                                                 TOA BAJA            PR      00952
CUSTOM QUALITY SERVICES                1358 8TH ST URB MONTE CARLO                                                                                SAN JUAN            PR      00924
CUSTOMERS PUBLICIDAD & MARKETING EIRL  AV JAVIER PRADO OESTE                     1162 SAN ISIDRO                                                  LIMA                        051          PERU
CUTBERTO RODRIGUEZ SANTIAGO            ADDRESS ON FILE
CUTLER HAMMER DE P R CO                50 AVE JESUS T PINERO                                                                                      LAS PIEDRAS         PR      00771
CUTLER HAMMER DE P R CO                PO BOX OFFICE 709                                                                                          ARECIBO             PR      00613
CUTLER HAMMER ELECTRICAL CO            PO BOX 709                                                                                                 ARECIBO             PR      00612
CUTLER HAMMER OF PUERTO RICO           PO BOX 709                                                                                                 ARECIBO             PR      00613
CUTRERAS CUBANO, CARMEN G              ADDRESS ON FILE
CUTTING EDGE INC                       2351 W NORTH WEST HWY                     SUITE 3265                                                       DALLAS              TX      75220
CUYAR BERMUDEZ, JOSE                   ADDRESS ON FILE
CUYAR BERMUDEZ, LIV JOSSETTE           ADDRESS ON FILE
CUYAR GONZALEZ, ANGEL                  ADDRESS ON FILE
CUYAR JUAN, EDUARDO                    ADDRESS ON FILE
CUYAR JUAN, MIGUEL J.                  ADDRESS ON FILE
CUYAR LUCCA, CARLOS                    ADDRESS ON FILE
CUYAR LUCCA, FRANCISCO L.              ADDRESS ON FILE
CUYAR LUCCA, MIGDALIA                  ADDRESS ON FILE
CUZA LOPEZ, VALERIE                    ADDRESS ON FILE
CV CLEANERS INC                        P O BOX 8032                                                                                               SAN JUAN            PR      00910
CV ENTERTAIMENT GROUP GALAXY LANES     CITIBANK TOWER                            252 AVE PONCE DE LEON SUITE 1802                                 SAN JUAN            PR      00918
CV ENTERTAIMENT GROUP GALAXY LANES     P O BOX 195586                                                                                             SAN JUAN            PR      00919‐5586
C‐VEN TECHNOLOGIES LLC                 PO BOX 9273                                                                                                BAYAMON             PR      00960‐9273
CVJETKOVIC, MIRJANA                    ADDRESS ON FILE
CVM PRODUCTIONS INC                    URB BALDRICH                              585 AVE HOSTOS                                                   SAN JUAN            PR      00918
CVR CARIBBEAN HOUSING SERVICES LLC     AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                        SAN JUAN            PR      00902‐4140
CVR CARIBBEAN HOUSING SERVICES LLC     PLAZA 273 SUITE 700                       273 PONCE DE LEON AVE                                            SAN JUAN            PR      00917‐1934
CVR CARIBBEAN HOUSING SERVICES LLC     PO BOX 13339                                                                                               SAN JUAN            PR      00908
CVR INSURANCE GROUP INC                27 CALLE GONZALEZ GIUSTI                  STE 300                                                          GUAYNABO            PR      00968‐3076
CVS CONSULTAN AND PROJECT MANAGEMENT L MANS DEL CARIBE                           205 CALLE ALBITA                                                 HUMACAO             PR      00791‐5221
CW ASSOCIATES                          P O BOX 733                                                                                                ASHBURN             VA      20146
CW MATOS Y ASOCIADOS                   PO BOX 668                                                                                                 DORADO              PR      00646‐0668
CWC DEVELOPMENT                        162 AVE F D ROOSEVELT                                                                                      SAN JUAN            PR      00918
CYBELL BURGOS FELIX                    ADDRESS ON FILE
CYBER COMMUNICATIONS, INC              URB FAIRVIEW                              C/ DIEGO SALCEDO #1879                                           SAN JUAN            PR      00926
CYBER NATURE CORP                      URB SANTA JUANITA                         XX7 CALLE 23                                                     BAYAMON             PR      00956‐4668
CYBER NEWS MULTIMEDIA INC              P O BOX 12043                                                                                              SAN JUAN            PR      00914
CYBER NEWS MULTIMEDIA INC              PO BOX 1426                                                                                                GUAYNABO            PR      00970
CYBERGUARD CORPORATION                 350 SW 12TH AVENUE                                                                                         DEERFIELD BEACH     FL      33442
CYBERKNIFE CENTER OF PHILA             LUTHER W BRADY MD 7 & ASSOC               P O BOX 2284                                                     BALA CYNWYD         PA      19004
CYBERKNIFE CENTER OF PHILA             LUTHER W. BRADY MD & ASSOC. PO BOX 2284                                                                    BALACYNWYD          PA      19004
CYBERTECH SOLUTIONS GROUP INC          1700 MCLEARY APT 1004                                                                                      SAN JUAN            PR      00911
CYBERTECH SOLUTIONS GROUP INC          PMB 441                                   1357 ASHFORD AVE                                                 SAN JUAN            PR      00907
CYCLE FENCE INSTALLATION               PO BOX 695                                                                                                 BAYAMON             PR      00960
CYCLE SPORT CENTER, INC.               AVE. PONCE DE LEON 1917                                                                                    SANTURCE            PR      00915
CYCLE SPORTS CENTER INC                PDA 26                                    1917 AVE PONCE DE LEON                                           SAN JUAN            PR      00915‐3947
CYD CHARISSE MATEO ORTIZ               ADDRESS ON FILE
CYD M FRANQUI REYES                    ADDRESS ON FILE
CYD M RIVERA BACENET                   ADDRESS ON FILE
CYD MARIE MALDONADO MALAVE             ADDRESS ON FILE
CYD MARIE OCASIO VEGA                  ADDRESS ON FILE
CYDI SYSTEM INC                        URB ADOQUINES                             15 CALLE LUNA                                                    SAN JUAN            PR      00926
CYDMARIE SANTIAGO BERDECIA             ADDRESS ON FILE
CYER CORP                              URB IDAMARIS GDNS                         G8 CALLE BENITO RODRIGUEZ                                        CAGUAS              PR      00727‐5723
CYMA CLEANING CONTRACTOR INC           P.O. BOX 29177                                                                                             SAN JUAN            PR      00929
CYMA CLEANING CONTRACTORS INC          PO BOX 29268                                                                                               SAN JUAN            PR      00929
CYMARA DAVILA CABALLERO                ADDRESS ON FILE




                                                                                                             Page 2047 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2048 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                    Address1                                  Address2                                 Address3           Address4   City         State   PostalCode   Country
CYN M RIVERA CAMACHO             ADDRESS ON FILE
CYNDIA E COLON GONZALEZ          ADDRESS ON FILE
CYNDIA I SANCHEZ FERRER          ADDRESS ON FILE
CYNDIA ORTIZ RODRIGUEZ           ADDRESS ON FILE
CYNDY RAMIREZ TORRES             ADDRESS ON FILE
CYNELLE Y. LEBRON ROSADO         EDITH FRED ANGONGIORGI‐DEMANDADA EN REBESTANCIAS DEL ATLÁNTICO                     180 CALLE MARINA              LUQUILLO     PR      00773
CYNELLE Y. LEBRON ROSADO         LCDA. DALIZ A. VEGA JIMENEZ‐ ABOGADA DEMA PARQUE SAN MIGUEL                        CALLE 2 B‐10                  Bayamón      PR      00959
CYNELLE Y. LEBRON ROSADO         LCDO. ALEJANDRO RODRÍGUEZ ZEQUEIRA‐ ABOGOMB 2288 PO BOX 6029                                                     CAROLINA     PR      00984‐6029
CYNELLE Y. LEBRON ROSADO         SR. RODOLFO OCASIO BRAVO‐ DEMANDADO EN INDUSTRIAL PARK CARR. 3 KM 12.6                                           CAROLINA     PR      00987
CYNHIA MORALES SOTO              ADDRESS ON FILE
CYNTHIA A CASTRO ESTRADA         ADDRESS ON FILE
CYNTHIA A COLON MARTINEZ         ADDRESS ON FILE
CYNTHIA ALICEA RODRIGUEZ         ADDRESS ON FILE
CYNTHIA ANNETTE CARRION SIAREZ   ADDRESS ON FILE
CYNTHIA AROCHO HERNANDEZ         ADDRESS ON FILE
CYNTHIA ARROYO RODRIGUEZ         ADDRESS ON FILE
CYNTHIA BARRON RUIZ              ADDRESS ON FILE
CYNTHIA BERLINGERI BONILLA       ADDRESS ON FILE
CYNTHIA BURGOS CORREA            ADDRESS ON FILE
CYNTHIA CAMACHO RIVERA           ADDRESS ON FILE
CYNTHIA CAMPOS SANTIAGO          ADDRESS ON FILE
CYNTHIA CARABALLO PEREZ          ADDRESS ON FILE
CYNTHIA CASANOVA PELOSI          ADDRESS ON FILE
CYNTHIA CASTILLO CASILLAS        ADDRESS ON FILE
CYNTHIA CASTRO NIEVES            ADDRESS ON FILE
CYNTHIA COLLAZO DIAZ             ADDRESS ON FILE
CYNTHIA CORTES AGOSTINI          ADDRESS ON FILE
CYNTHIA CORTES CASTRO            ADDRESS ON FILE
CYNTHIA CRUZ CARRION             ADDRESS ON FILE
CYNTHIA CRUZ COLON               ADDRESS ON FILE
CYNTHIA CRUZ DIAZ                ADDRESS ON FILE
CYNTHIA D GARCIA SANCHEZ         ADDRESS ON FILE
CYNTHIA D MARTINEZ SERPA         ADDRESS ON FILE
CYNTHIA D MORALES BOSCIO         ADDRESS ON FILE
CYNTHIA DEL VALLE GARCIA         ADDRESS ON FILE
CYNTHIA E APONTE SANTOS          ADDRESS ON FILE
CYNTHIA E APONTE SANTOS          ADDRESS ON FILE
CYNTHIA E CERCADO PENA           ADDRESS ON FILE
CYNTHIA E MARQUEZ DIAZ           ADDRESS ON FILE
CYNTHIA E QUINONES LEDESMA       ADDRESS ON FILE
CYNTHIA E RAMIREZ ORTIZ          ADDRESS ON FILE
CYNTHIA E VELEZ GONZALEZ         ADDRESS ON FILE
CYNTHIA E. DANOIS VAZQUEZ        ADDRESS ON FILE
CYNTHIA E. NAZARIO RODRIGUEZ     ADDRESS ON FILE
CYNTHIA E. RUIZ CORTES           ADDRESS ON FILE
CYNTHIA FELIX VAZQUEZ            ADDRESS ON FILE
CYNTHIA GONZALEZ ARROYO          ADDRESS ON FILE
CYNTHIA GONZALEZ CAMACHO         ADDRESS ON FILE
CYNTHIA GUARDIOLA TRUJILLO       ADDRESS ON FILE
CYNTHIA HERNANDEZ LOZADA         ADDRESS ON FILE
CYNTHIA I GONZALEZ GONZALEZ      ADDRESS ON FILE
CYNTHIA I GONZALEZ LEBRON        ADDRESS ON FILE
CYNTHIA I IRIZARRY               ADDRESS ON FILE
CYNTHIA I LOPEZ DELGADO          ADDRESS ON FILE
CYNTHIA I MIGUEL CABALLERO       ADDRESS ON FILE
CYNTHIA I TORRES PEREZ           ADDRESS ON FILE
CYNTHIA I. IRIZARRY ROMAN        ADDRESS ON FILE
CYNTHIA I. MIGUEL CABALLERO      ADDRESS ON FILE
CYNTHIA I. ROSARIO DIAZ          ADDRESS ON FILE
CYNTHIA IGLESIAS QUI1NONES       ADDRESS ON FILE




                                                                                                     Page 2048 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2049 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                           Address1                       Address2                                        Address3   Address4   City         State   PostalCode   Country
CYNTHIA IGLESIAS QUI1NONES              ADDRESS ON FILE
CYNTHIA J SANCHEZ ROJAS                 ADDRESS ON FILE
CYNTHIA J. SANTIAGO CARTAGENA           ADDRESS ON FILE
CYNTHIA L GONZALEZ LEBRON               ADDRESS ON FILE
CYNTHIA LACEN                           ADDRESS ON FILE
CYNTHIA LOPEZ BURGOS                    ADDRESS ON FILE
CYNTHIA LOPEZ DELGADO                   ADDRESS ON FILE
CYNTHIA M BATIZ TORRES                  ADDRESS ON FILE
CYNTHIA M MARTINEZ SALDANA              ADDRESS ON FILE
CYNTHIA M MATOS COLON                   ADDRESS ON FILE
CYNTHIA M MONTANEZ GONZALEZ             ADDRESS ON FILE
CYNTHIA M MORALES BAEZ                  ADDRESS ON FILE
CYNTHIA M MUNOZ RODRIGUEZ               ADDRESS ON FILE
CYNTHIA M NEGRON MEDINA                 ADDRESS ON FILE
CYNTHIA M PAGAN RODRIGUEZ               ADDRESS ON FILE
CYNTHIA M PINERO SEPULVEDA              ADDRESS ON FILE
CYNTHIA M PINET QUINONEZ                ADDRESS ON FILE
CYNTHIA M RODRIGUEZ RIVERA              ADDRESS ON FILE
CYNTHIA M. ORTIZ ZAYAS                  ADDRESS ON FILE
CYNTHIA M. RODRIGUEZ RIVERA             ADDRESS ON FILE
CYNTHIA M. ROSADO SANTANA               ADDRESS ON FILE
CYNTHIA MARTINEZ MORALES                ADDRESS ON FILE
CYNTHIA MATIAS RAMOS                    ADDRESS ON FILE
CYNTHIA MELENDEZ AVILA                  ADDRESS ON FILE
CYNTHIA MELENDEZ GONZALEZ               ADDRESS ON FILE
CYNTHIA MERCADO                         ADDRESS ON FILE
CYNTHIA MERCADO NIEVES                  ADDRESS ON FILE
CYNTHIA MOLINA MATIAS Y FRANCISCO MAS NOLCDO. ALLAN RIVERA FERNÁNDEZ   Capital Center Building #239 Suite 401                                HATO REY     PR      00918
CYNTHIA MONTALVO MARCH                  ADDRESS ON FILE
CYNTHIA MONTALVO PRADO                  ADDRESS ON FILE
CYNTHIA MUNTANER SOTO                   ADDRESS ON FILE
CYNTHIA NEGRON LOPEZ                    ADDRESS ON FILE
CYNTHIA O NEAL                          ADDRESS ON FILE
CYNTHIA PABON TORRES                    ADDRESS ON FILE
CYNTHIA PEREZ FELICIANO                 ADDRESS ON FILE
CYNTHIA PEREZ SANTIAGO                  ADDRESS ON FILE
CYNTHIA PEREZ SOSA                      ADDRESS ON FILE
CYNTHIA PITTMANN DOLETTO                ADDRESS ON FILE
CYNTHIA R MARTINEZ ADDARICH             ADDRESS ON FILE
CYNTHIA R MARTINEZ GONZALEZ             ADDRESS ON FILE
CYNTHIA REYES RABELL                    ADDRESS ON FILE
CYNTHIA RIVERA                          ADDRESS ON FILE
CYNTHIA RIVERA DEL VALLE                ADDRESS ON FILE
CYNTHIA RIVERA HERNANDEZ                ADDRESS ON FILE
CYNTHIA RIVERA MALDONADO                ADDRESS ON FILE
CYNTHIA RIVERA MELENDEZ                 ADDRESS ON FILE
CYNTHIA ROBLES PREZ                     ADDRESS ON FILE
CYNTHIA RODRIGUEZ REYES                 ADDRESS ON FILE
CYNTHIA ROMAN HERNANDEZ                 ADDRESS ON FILE
CYNTHIA RUIZ LUGO                       ADDRESS ON FILE
CYNTHIA SANABRIA HERNANDEZ              ADDRESS ON FILE
CYNTHIA SANABRIA HERNANDEZ              ADDRESS ON FILE
CYNTHIA SANCHEZ COLLAZO                 ADDRESS ON FILE
CYNTHIA SANTIAGO QUILES                 ADDRESS ON FILE
CYNTHIA SILVA                           ADDRESS ON FILE
CYNTHIA SOTO DEYENES                    ADDRESS ON FILE
CYNTHIA SUAREZ NUSSA                    ADDRESS ON FILE
CYNTHIA TORRES ORTIZ                    ADDRESS ON FILE
CYNTHIA TORRES TORRES                   ADDRESS ON FILE
CYNTHIA TORRES WILLIAM                  ADDRESS ON FILE




                                                                                                       Page 2049 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2050 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                              Address2                                  Address3   Address4   City              State   PostalCode   Country
CYNTHIA V SANTOS INC DBA LA CUEVA PIZZA   ADDRESS ON FILE
CYNTHIA V VAZQUEZ ROSARIO                 ADDRESS ON FILE
CYNTHIA VIERA TIRADO                      ADDRESS ON FILE
CYNTHIA VIERA TIRADO                      ADDRESS ON FILE
CYNTHIA VILLALOBOS ORTIZ                  ADDRESS ON FILE
CYNTHIA VILLALOBOS ORTIZ                  ADDRESS ON FILE
CYNTHIA WIESNER                           ADDRESS ON FILE
CYNTHIA Y PLAZA SANTIAGO                  ADDRESS ON FILE
CYNTHIA Z RUIZ LORENZO                    ADDRESS ON FILE
CYNTIA CAMILO CORDERO                     ADDRESS ON FILE
CYNTIA CORDERO AVILES                     ADDRESS ON FILE
CYNTIA DIAZ SALVA                         ADDRESS ON FILE
CYR CORP                                  PO BOX 1940                                                                                           CIDRA             PR      00739‐1940
CYRENE NIEVES CENTENO                     ADDRESS ON FILE
CYRILLE, FRANTZ                           ADDRESS ON FILE
CYTHIA Y CORTES OSTOLAZA                  ADDRESS ON FILE
CZERNIAK HERNANDEZ, LUIS                  ADDRESS ON FILE
CZYZEWSKI MD, EVA                         ADDRESS ON FILE
D A DISTRIBUTORES, INC                    BO GUAVATE                            22304 CARR 184                                                  CAYEY             PR      00736
D D OFFICE SOLUTIONS                      PO BOX 50093                                                                                          TOA BAJA          PR      00950‐0093
D G AMBULANCE INC                         PO BOX 144035 PMB 133                                                                                 ARECIBO           PR      00614
D & A FOODS INC                           68 REPARTO LOS ROBLES                                                                                 SAN ANTONIO       PR      00690
D & G GENERAL CONTRACTOR INC              139 PARC PALMAS ALTAS                                                                                 BARCELONETA       PR      00617
D & H AUTO PARTS                          179 AVE WILLIAM C DUNSCOMBE STE 3                                                                     MAYAGUEZ          PR      00682
D & M CONSULTING SERVICE INC              PO BOX 763                                                                                            ISABELA           PR      00662
D & Z AUCTIONS RESELLERS, LLC             PO BOX 158                                                                                            BARCELONETA       PR      00617‐0158
D ANGLADA RAFFUCCI, DANIEL                ADDRESS ON FILE
D C COMPUTER                              P O BOX 9024275                                                                                       SAN JUAN          PR      00902‐4275
D COLLEGE CORP.                           C/TEODOMIRO RAMIREZ #45                                                                               VEGA ALTA         PR      00962
D COSTA OFREY, RICHARD                    ADDRESS ON FILE
D CRUZ PIPER, CARMEN A                    ADDRESS ON FILE
D DIANE MORONTA                           ADDRESS ON FILE
D DISTRIBUTORS INC                        P O BOX 644                                                                                           COAMO             PR      00769
D E G ANESTHESIA GROUP                    COND TORRES NAVEL STE 401A                                                                            YAUCO             PR      00698
D ELEGANCE AUTO IMPORTS INC               309 MSC PO BOX 4985                                                                                   CAGUAS            PR      00726‐4985
D' EVENT RENTAL SERVICE                   BO. JUAN SANCHEZ CALLE 4 BUZON 1563                                                                   BAYAMON           PR      00959
D FLOWERS BOUTIQUE & MORE                 VILLA CAROLINA                                                                                        SAN JUAN          PR      00985
D JALMARIE MATIAS CARRION                 HACIENDA DE CARRAIZO                  E 13 CALLE 5                                                    SAN JUAN          PR      00926
D L & D STEEL CONTRACTOR, CORP            PO BOX 2                                                                                              TOA BAJA          PR      00951
D LEON PEDRO, JOSE E                      ADDRESS ON FILE
D LUCKS SALON INC                         RR 2 BOX 496                                                                                          SAN JUAN          PR      00926
D MANOLO / MANUEL URBINA                  PMB 275 AVE ESMERALDA                 405 SUITE 2                                                     GUAYNABO          PR      00969
D MARK CONTRACTOR                         P O BOX 191107                                                                                        SAN JUAN          PR      00919‐1107
D MODA J & J INC                          PO BOX 363872                                                                                         SAN JUAN          PR      00936
D PARTY RENTAL INC                        PO BOX 1378                                                                                           GURABO            PR      00778
D R R MANAGEMEND                          PO BOX 1791                                                                                           TRUJILLO ALTO     PR      00977‐1791
D R TECHNOLOGY SERVICES INC               215 MANS DE BAIROA                                                                                    CAGUAS            PR      00727‐1171
D R TECHNOLOGY SERVICES INC               MANS DE BAIROA                        215 MANSIONES DE BAIROA                                         CAGUAS            PR      00727
D REAL OFFICE & DESIGN                    35 CALLE JUAN C. BORBON               STE 67 469                                                      GUAYNABO          PR      0009695375
D REAL OFFICE & DESIGN                    PALMAS INDUSTRIAL PARK SUITE 201      MARGINAL CARR 869 KM 0 5                                        CATANO            PR      00632
D S DISTRIBUTORS                          413 SECT MORELL CAMPOS                CARR 123 KM 7                                                   PONCE             PR      00730
D TELEVISION CORP                         PO BOX 7889                                                                                           GUAYNABO          PR      00970‐7889
D&S FISHING CORP                          TERR DEMAJAGUA                        79 CALLE AREYTO                                                 FAJARDO           PR      00738‐5050
D.H. DISTRIBUTORS, INC.                   PO BOX 8098, ROAD 189 KM 2.5                                                                          CAGUAS            PR      00726
D.J. INDUSTRIAL SERVICES, INC.            P.O. BOX 70                                                                                           SAN ANTONIO       PR      00690
D5 PRINTCOM                               HACIENDA DE CANOVANAS                 CALLE GOLONDRINA 509                                            CANOVANAS         PR      00729
D5PRINT COM INC                           HACIENDA DE CANOVANAS                 509 CALLE GOLONDRINA                                            CANOVANAS         PR      00729
DA SILVA AROCHO MD, JAIME                 ADDRESS ON FILE
DA SILVA SILVA, MARIO                     ADDRESS ON FILE
DA SILVA, VALDIR                          ADDRESS ON FILE




                                                                                                           Page 2050 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2051 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                     Address1                                 Address2                                  Address3   Address4   City              State   PostalCode   Country
DA SILVA, WILFREDO                ADDRESS ON FILE
DAACOSTA TRINIDAD, VICTOR         ADDRESS ON FILE
DAAL LUCKERT, ROBERTINO           ADDRESS ON FILE
DABASTOS ANGLADE, MARIA JOSEFA    ADDRESS ON FILE
DABIANA L CARDONA RODRIGUEZ       ADDRESS ON FILE
DABORY ROSARIO MELENDEZ           ADDRESS ON FILE
DABORY ROSARIO MELENDEZ           ADDRESS ON FILE
DACAR AUTO GLASS                  CALLE MIRLO #989 ESQ AVE.                                                                                CAMPO RICO        PR      00924
DACHO SERV STATION INC            EXT.111 INTER .446 GUATEMALA                                                                             SAN SEBASTIAN     PR      00685
DACIA GONZALEZ PINEIRO            ADDRESS ON FILE
DACIA GONZALEZ PINEIRO            ADDRESS ON FILE
DACO Y MYRTELINA ZAYAS            ADDRESS ON FILE
DACOSTA BENITEZ, IRMA G           ADDRESS ON FILE
DACOSTA DIAZ, NELSON              ADDRESS ON FILE
DACOSTA MARTELL, GILDA            ADDRESS ON FILE
DACOSTA RIVERA, GINA G            ADDRESS ON FILE
DACOSTA SANTAELLA MD, YADIRA      ADDRESS ON FILE
DACUNTI TORO, NELSON              ADDRESS ON FILE
DAD WAVE SERVICE                  BLQ 214‐18 CALLE 506                                                                                     CAROLINA          PR      00985
DADBA E PACHECO NEGRON            ADDRESS ON FILE
DADE BEHRING                      C/O BANK OF AMERICAN LOCKBOX SERVICES 13764 CALLECTIONS                                                  CHICAGO           IL      60693
DADE BEHRING INC                  C/O BANK OF AMERICA LOCK BOX SERV        13764 COLLECTIONS CENTER DRIVE                                  CHICAGO           IL      60693
DADE PAPER & BAGS, CO             PO BOX 51535                                                                                             TOA BAJA          PR      00950
DADE PAPER CO                     PO BOX 51535                                                                                             TOA BAJA          PR      00950
DADLIN M GONZALEZ LUGO            ADDRESS ON FILE
DAE J KO                          ADDRESS ON FILE
DAFNE BARBEITO CAMBIELLA          ADDRESS ON FILE
DAFNE I VALENCIA CRUZ             ADDRESS ON FILE
DAFNE M HERNANDEZ SALAS           ADDRESS ON FILE
DAFNE PASTRANA FIGUEROA           ADDRESS ON FILE
DAFNE RODRIGUEZ SANTIAGO          ADDRESS ON FILE
DAFNY L MARTINEZ ROLON            ADDRESS ON FILE
DAGMAR ALINA GONZALEZ RODRIGUEZ   ADDRESS ON FILE
DAGMAR D LOPEZ                    ADDRESS ON FILE
DAGMAR I BERNART ORTIZ            ADDRESS ON FILE
DAGMAR I CARRASQUILLO FLORES      ADDRESS ON FILE
DAGMAR JOAN REYES PEREZ           ADDRESS ON FILE
DAGMAR LUGO FABRE                 ADDRESS ON FILE
DAGMAR M BURGOS RIVERA            ADDRESS ON FILE
DAGMAR RUIZ DIAZ                  ADDRESS ON FILE
DAGMAR ZOE RIOS ROLDAN            ADDRESS ON FILE
DAGMARIE FELICIANO QUINONES       ADDRESS ON FILE
DAGMARIE MONTANEZ CALDERON        ADDRESS ON FILE
DAGMARIS GONZALEZ RAMIREZ         ADDRESS ON FILE
DAGMARY FORNES ARCELAY            ADDRESS ON FILE
DAGMARY MARTINEZ PASTRANA         ADDRESS ON FILE
DAGNES M ECHAVARIA DIAZ           ADDRESS ON FILE
DAGOBERTO ARBOLAEZ PEREZ          ADDRESS ON FILE
DAGOBERTO BERNARD RODRIGUEZ       ADDRESS ON FILE
DAGOBERTO MONTESINO GONZALEZ      ADDRESS ON FILE
DAGOBERTO RODRIGUEZ MARRERO       ADDRESS ON FILE
DAHIANA CINTRON TORRES            ADDRESS ON FILE
DAHIANA MARTI LOPEZ               ADDRESS ON FILE
DAHIANA SANTIAGO LABOY            ADDRESS ON FILE
DAHIL M ORTIZ NEGRON              ADDRESS ON FILE
DAHILINE M RIVERA FIGUEROA        ADDRESS ON FILE
DAHL RIVERO, ALEX                 ADDRESS ON FILE
DAHL RIVERO, GINELYS S            ADDRESS ON FILE
DAHLEN, PAUL                      ADDRESS ON FILE
DAHLIA TORRES VALENTIN            ADDRESS ON FILE




                                                                                                      Page 2051 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2052 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                           Address1                    Address2                               Address3   Address4   City         State   PostalCode   Country
DAHYANARA Y RODRIGUEZ GALIANO           ADDRESS ON FILE
DAHYLIN M GONZALEZ CUEVAS               ADDRESS ON FILE
DAI SAN RYU KARATE DO INC               ADDRESS ON FILE
DAIALIZ M TORRES GAUDIER                ADDRESS ON FILE
DAIANA FERNANDEZ GONZALEZ               ADDRESS ON FILE
DAIANA MARIE LOPEZ CLAUDIO              ADDRESS ON FILE
DAIANA RIVERA BURGOS                    ADDRESS ON FILE
DAIANA ROBLES VELEZ                     ADDRESS ON FILE
DAIANNA ESCALERA SANTELL                ADDRESS ON FILE
DAIBER N CARRION MUNOZ                  ADDRESS ON FILE
DAIDETTE M BONILLA RUIZ                 ADDRESS ON FILE
DAIHAN GERENA ALAMO                     ADDRESS ON FILE
DAIHOMY N CRUZ WALKER                   ADDRESS ON FILE
DAIL N PORTALATIN TRUJILLO              ADDRESS ON FILE
DAILA ORTEGA PENA                       ADDRESS ON FILE
DAILA RAMOS LAMBOY                      ADDRESS ON FILE
DAILEEN M GALARZA MUNIZ                 ADDRESS ON FILE
DAILIN FIGUEROA DIAZ                    ADDRESS ON FILE
DAILIN RIVERA TIBURCIO                  ADDRESS ON FILE
DAILIN VELAZQUEZ COLON                  ADDRESS ON FILE
DAILY CONSTRUCTION CORP                 PO BOX 1288                                                                              FAJARDO      PR      00738
DAILY HEALTH INSURANCE GROUP LLC        URB COUNTRY CLUB            CALLE 218 HC‐12                                              CAROLINA     PR      00982
DAILYN LAVIENA VELAZQUEZ                ADDRESS ON FILE
DAIMARY COTTO CÁMARA                    LUIS A MADERA ECHEVARRIA    PO BOX 13695                                                 SAN JUAN     PR      00908‐3695
DAIMLER CHRYSLER CREDIT                 LIC. LUIS RIVERA MARTINEZ   RR6 BOX 11358                                                SAN JUAN     PR      00926
DAIMLERCHRYSLER SERVICES CARIB          METRO OFFICE PARK           1 ST STREET SUITE 212                                        GUAYNABO     PR      00968
DAIMLERCHRYSLER SERVICES CARIB          PO BOX 195286                                                                            SAN JUAN     PR      00919‐5286
DAINA I ANTONSANTI COLON                ADDRESS ON FILE
DAINA RIVERA FERRER                     ADDRESS ON FILE
DAINELYS M OCASIO CASTRO                ADDRESS ON FILE
DAIRA J MORALES TORRES                  ADDRESS ON FILE
DAIRA J MORALES TORRES                  ADDRESS ON FILE
DAIRA SANTANA NARVAEZ                   ADDRESS ON FILE
DAIRA TOCA CRUZ                         ADDRESS ON FILE
DAIRELIS CORTES SALAS                   ADDRESS ON FILE
DAISIS JIMENEZ                          ADDRESS ON FILE
DAISMAR AMADOR LOPEZ                    ADDRESS ON FILE
DAISMARIE H LOPEZ VALENTIN              ADDRESS ON FILE
DAISY A OLIVERI COLON                   ADDRESS ON FILE
DAISY A SANTIAGO RIVERA C/O LCDO MARK   ADDRESS ON FILE
DAISY A. RIVERA HERNANDEZ               LIC RICARDO ALFONSO         PO BOX 361669                                                SAN JUAN     PR      00936‐1969
DAISY ACEVEDO CABRERA                   ADDRESS ON FILE
DAISY ACEVEDO CABRERA                   ADDRESS ON FILE
DAISY ALEMANY TORO                      ADDRESS ON FILE
DAISY AQUINO AROCHO                     ADDRESS ON FILE
DAISY ARRIAGA SUAREZ                    ADDRESS ON FILE
DAISY ASCUASIATI RODRIGUEZ              ADDRESS ON FILE
DAISY AYALA MARRERO                     ADDRESS ON FILE
DAISY BAEZ FRANCESCHI                   ADDRESS ON FILE
DAISY BATISTA PERALTA                   ADDRESS ON FILE
DAISY BERNARD ALICEA                    ADDRESS ON FILE
DAISY BOSCH CRUZ                        ADDRESS ON FILE
DAISY C SANTANA Y FLORA SANTANA         ADDRESS ON FILE
DAISY CABALLERO VIDAL                   ADDRESS ON FILE
DAISY CALCANO LOPEZ                     ADDRESS ON FILE
DAISY CAPPAS SANTIAGO                   ADDRESS ON FILE
DAISY CARDENALES ORTIZ                  ADDRESS ON FILE
DAISY CARRASQUILLO VILLANUEVA           ADDRESS ON FILE
DAISY CARRION CARRASQUILLO              ADDRESS ON FILE
DAISY CASTELLANO SANTIAGO               ADDRESS ON FILE




                                                                                            Page 2052 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2053 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                            Address1                Address2                                  Address3   Address4   City      State   PostalCode   Country
DAISY CLAUDIO RIVERA                     ADDRESS ON FILE
DAISY COLON MEDINA                       ADDRESS ON FILE
DAISY COLON SANTIAGO                     ADDRESS ON FILE
DAISY CRUZ HERNANDEZ                     ADDRESS ON FILE
Daisy Cruz Rivera                        ADDRESS ON FILE
DAISY CUADRADO PEDROSA                   ADDRESS ON FILE
DAISY DE JESUS MAOLDONADO                ADDRESS ON FILE
DAISY DE JESUS TUBENS                    ADDRESS ON FILE
DAISY DE LEON MARTINEZ                   ADDRESS ON FILE
DAISY DEL TORO RAMIREZ                   ADDRESS ON FILE
DAISY DELGADO ALVAREZ                    ADDRESS ON FILE
DAISY E HERNANDEZ MOLINA                 ADDRESS ON FILE
DAISY E MORALES MATOS                    ADDRESS ON FILE
DAISY E MORALES PEREZ                    ADDRESS ON FILE
DAISY E NAZARIO LAZCANO                  ADDRESS ON FILE
DAISY ESTRADA MANGUAL                    ADDRESS ON FILE
DAISY ESTRADA MANGUAL                    ADDRESS ON FILE
DAISY F. GUZMAN COPPIN                   ADDRESS ON FILE
DAISY FALCON COTTO                       ADDRESS ON FILE
DAISY FELICIANO ACEVEDO                  ADDRESS ON FILE
DAISY FERRER COLON                       ADDRESS ON FILE
DAISY FIGUEROA                           ADDRESS ON FILE
DAISY FIGUEROA                           ADDRESS ON FILE
DAISY GARCIA HERNANDEZ                   ADDRESS ON FILE
DAISY GARCIA HERNANDEZ                   ADDRESS ON FILE
DAISY GARCIA SANTIAGO                    ADDRESS ON FILE
DAISY GERENA ORTIZ                       ADDRESS ON FILE
DAISY GIRAUD V DEPARTAMENTO EDUCACION LCDA AMELIA M CINTRON      URB SAN ANTONIO 1939 AVE LAS AMERICAS                           Ponce     PR      00728‐1815
DAISY GOMEZ MARTINEZ                     ADDRESS ON FILE
DAISY GONZALEZ QUILES                    ADDRESS ON FILE
DAISY GONZALEZ RIVERA                    ADDRESS ON FILE
DAISY GUTIERREZ Y JULIO L FIGUEROA       ADDRESS ON FILE
DAISY HERNANDEZ MORALES                  ADDRESS ON FILE
DAISY HERNANDEZ MUNOZ                    ADDRESS ON FILE
DAISY I AGOSTO ACOSTA                    ADDRESS ON FILE
DAISY I DE LEON ORTIZ                    ADDRESS ON FILE
DAISY I DIAZ IBARRA                      ADDRESS ON FILE
DAISY I NIEVES NIEVES                    ADDRESS ON FILE
DAISY I OSORIO SANTIAGO                  ADDRESS ON FILE
DAISY I. MARTIR RODRIGUEZ                ADDRESS ON FILE
DAISY I. ROMAN SANCHEZ                   ADDRESS ON FILE
DAISY IRIZARRY ZAYAS                     ADDRESS ON FILE
DAISY J CARABALLO WALKER                 ADDRESS ON FILE
DAISY J PACHECO CRUZ                     ADDRESS ON FILE
DAISY J SANTIAGO MONTALVO                ADDRESS ON FILE
DAISY J TIRADO SANTIAGO                  ADDRESS ON FILE
DAISY L SANTIAGO                         ADDRESS ON FILE
DAISY LOPEZ ACEVEDO                      ADDRESS ON FILE
DAISY LOPEZ PONS                         ADDRESS ON FILE
DAISY LOPEZ RIVERA                       ADDRESS ON FILE
DAISY LOZADA‐ CENTRO CUIDO JUGUETELANDIA ADDRESS ON FILE
DAISY LOZADA SABASTRO                    ADDRESS ON FILE
DAISY LOZADA VELAZQUEZ                   ADDRESS ON FILE
DAISY LOZADA VELAZQUEZ                   ADDRESS ON FILE
DAISY LUCENA VELEZ                       ADDRESS ON FILE
DAISY M ALVARADO ORTIZ                   ADDRESS ON FILE
DAISY M LOPEZ ROSADO                     ADDRESS ON FILE
DAISY M PILLOT LEBRON                    ADDRESS ON FILE
DAISY M QUEZADA ROSA                     ADDRESS ON FILE
DAISY M QUINTERO HERNANDEZ               ADDRESS ON FILE




                                                                                            Page 2053 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2054 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAISY MALDONADO PENA               ADDRESS ON FILE
DAISY MALDONADO QUINONES           ADDRESS ON FILE
DAISY MALDONADO QUINONES           ADDRESS ON FILE
DAISY MARCANO MARCANO              ADDRESS ON FILE
DAISY MARTIR RODRIGUEZ             ADDRESS ON FILE
DAISY MEDINA CASTRO                ADDRESS ON FILE
DAISY MEDINA ROMAN                 ADDRESS ON FILE
DAISY MOJICA ROSA                  ADDRESS ON FILE
DAISY MOLINA CANDELARIO            ADDRESS ON FILE
DAISY MONLLOR TROCHE               ADDRESS ON FILE
DAISY MONTANEZ BRUNO               ADDRESS ON FILE
DAISY MONTANEZ ORTEGA              ADDRESS ON FILE
DAISY MORALES RIVERA               ADDRESS ON FILE
DAISY MORALES TORRES               ADDRESS ON FILE
DAISY NEGRON NEGRON                ADDRESS ON FILE
DAISY NIEVES CRUZ                  ADDRESS ON FILE
DAISY NIEVES HANCE                 ADDRESS ON FILE
DAISY NIEVES QUI¥ONES              ADDRESS ON FILE
DAISY OLIVERA VEGA                 ADDRESS ON FILE
DAISY OLIVERA VEGA                 ADDRESS ON FILE
DAISY ORTEGA MEDINA                ADDRESS ON FILE
DAISY ORTIZ APONTE                 ADDRESS ON FILE
DAISY ORTIZ DAVID                  ADDRESS ON FILE
DAISY ORTIZ MORALES                ADDRESS ON FILE
DAISY ORTIZ TORRES                 ADDRESS ON FILE
DAISY PAGAN GONZALEZ               ADDRESS ON FILE
DAISY PEREZ                        ADDRESS ON FILE
DAISY PEREZ CORCHADO               ADDRESS ON FILE
DAISY PEREZ LOPEZ                  ADDRESS ON FILE
DAISY PEREZ MARTINEZ               ADDRESS ON FILE
DAISY PEREZ MONTANEZ               ADDRESS ON FILE
DAISY PIZARRO CORREA               ADDRESS ON FILE
DAISY QUINONES BONILLA             ADDRESS ON FILE
DAISY R NUNEZ                      ADDRESS ON FILE
DAISY R PEREZ LABOY                ADDRESS ON FILE
DAISY RAMIREZ ORTIZ                ADDRESS ON FILE
DAISY RAMOS MELENDEZ               ADDRESS ON FILE
DAISY RAMOS RODRIGUEZ              ADDRESS ON FILE
DAISY RAMOS SANTIAGO               ADDRESS ON FILE
DAISY RIOS ISERN                   ADDRESS ON FILE
DAISY RIOS MORALES                 ADDRESS ON FILE
DAISY RIVERA BURGOS                ADDRESS ON FILE
DAISY RIVERA RODRIGUEZ             ADDRESS ON FILE
DAISY RODRIGUEZ BONILLA            ADDRESS ON FILE
DAISY RODRIGUEZ CARO               ADDRESS ON FILE
DAISY RODRIGUEZ CURET              ADDRESS ON FILE
DAISY RODRIGUEZ DELGADO            ADDRESS ON FILE
DAISY RODRIGUEZ NIEVES             ADDRESS ON FILE
DAISY RODRIGUEZ RUIZ               ADDRESS ON FILE
DAISY RODRIGUEZ SANCHEZ            ADDRESS ON FILE
DAISY RODRIGUEZ Y WILLIAM SANTOS   ADDRESS ON FILE
DAISY ROSADO RODRIGUEZ             ADDRESS ON FILE
DAISY ROSADO RODRIGUEZ             ADDRESS ON FILE
DAISY ROSARIO MELENDEZ             ADDRESS ON FILE
DAISY SALAS TORRES                 ADDRESS ON FILE
DAISY SANCHEZ GONZALEZ             ADDRESS ON FILE
DAISY SANCHEZ GONZALEZ             ADDRESS ON FILE
DAISY SANTIAGO FELICIANO           ADDRESS ON FILE
DAISY SANTIAGO HERNANDEZ           ADDRESS ON FILE
DAISY SANTIAGO RIVERA              ADDRESS ON FILE




                                                                               Page 2054 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2055 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                              Address1                             Address2                                  Address3   Address4   City         State   PostalCode   Country
DAISY SANTIAGO RODRIGUZ                    ADDRESS ON FILE
DAISY SANTIAGO VALCARCEL                   ADDRESS ON FILE
DAISY SARAI OTERO GUZMAN                   ADDRESS ON FILE
DAISY SERRANO DE LEON                      ADDRESS ON FILE
DAISY SIERRA MONTANEZ                      ADDRESS ON FILE
DAISY SOSTRE FALCON                        ADDRESS ON FILE
DAISY TORRES BERDECIA                      ADDRESS ON FILE
DAISY TORRES BERRIOS                       ADDRESS ON FILE
DAISY TORRES MIRANDA                       ADDRESS ON FILE
DAISY TORRES NEGRON                        ADDRESS ON FILE
DAISY TORRES SANTIAGO                      ADDRESS ON FILE
DAISY TORRES SANTIAGO                      ADDRESS ON FILE
DAISY TORRES VEGA                          ADDRESS ON FILE
DAISY VELAZQUEZ UMANA                      ADDRESS ON FILE
DAISY VELEZ NEGRON                         ADDRESS ON FILE
DAISY VELEZ ORTIZ Y JOSE MARTINEZ RODRIGUEZLCDA. AMELIA M. CINTRÓN VELÁZQUEZ    URB. SAN ANTONIO 1939 AVE. LAS AMÉRICAS                         Ponce        PR      00728‐1815
DAISY VLEZ VELµZQUEZ                       ADDRESS ON FILE
DAISY Y FIGUEROA PANTOJA                   ADDRESS ON FILE
DAISY Y OCANA GONZALEZ                     ADDRESS ON FILE
DAITCH MD, JONATHAN                        ADDRESS ON FILE
DAIYARA ADORNO RIVERA                      ADDRESS ON FILE
DAIZA M. PEREZ ALAMEDA                     ADDRESS ON FILE
DAIZABET MARTINEZ CADIZ                    ADDRESS ON FILE
DAIZULEIKA OLMEDO HERNANDEZ                ADDRESS ON FILE
DAIZULEIKA OLMEDO HERNANDEZ                ADDRESS ON FILE
DAJER FELIZ, JAHZEEL J                     ADDRESS ON FILE
DAK GUI NG                                 4 AVE FERNANDO L RIBAS                                                                               UTUADO       PR      00641
DAKALOS INC                                RR 17 BOX 1691                                                                                       SAN JUAN     PR      00926‐9749
DAKITI GAS                                 PO BOX 335                                                                                           VIEQUES      PR      00765
Dakiti Gas Station                         ADDRESS ON FILE
DAKITI GAS STATION INC                     PO BOX 335                                                                                           VIEQUES      PR      00765‐0335
DALAF YOUSEF YASSIN                        ADDRESS ON FILE
DALDO A HERNANDEZ ORTIZ                    ADDRESS ON FILE
DALE CARNEGIE TRAINING                     MERCANTIL PLAZA BUILDING SUITE 815                                                                   HATO REY     PR      00918
DALE M ALLEN                               ADDRESS ON FILE
DALECCIO GONZALEZ, WANDA I                 ADDRESS ON FILE
Daleccio Rodriguez, Julio                  ADDRESS ON FILE
DALECCIO RODRIGUEZ, JULIO                  ADDRESS ON FILE
DALECCIO RODRIGUEZ, SONIA V                ADDRESS ON FILE
DALECCIO TORRES, BRENDA L                  ADDRESS ON FILE
DALECCIO TORRES, GLADYS                    ADDRESS ON FILE
DALECCIO TORRES, WILFREDO                  ADDRESS ON FILE
DALECCIO VEGA, EIDYLIAMAR                  ADDRESS ON FILE
DALEM VEGA MD, KARIM                       ADDRESS ON FILE
DALESSIO RAMOS, CATERINA                   ADDRESS ON FILE
DALET D SIERRA GALINDO                     ADDRESS ON FILE
DALEY HODGES, SANOLA A                     ADDRESS ON FILE
DALGADO SOTOMAYOR, NANCY                   ADDRESS ON FILE
DALIA A MENDEZ ACOSTA                      ADDRESS ON FILE
DALIA A ROSA CORCHADO                      ADDRESS ON FILE
DALIA CARRASQUILLO ALMENA                  ADDRESS ON FILE
DALIA E COLLAZO DAVILA                     ADDRESS ON FILE
DALIA E QUINONEZ GONZALEZ                  ADDRESS ON FILE
DALIA E VERGE QUILES                       ADDRESS ON FILE
DALIA E. VERGE QUILES                      ADDRESS ON FILE
DALIA ESTHER ORTIZ COLON                   ADDRESS ON FILE
DALIA ESTHER ORTIZ COLON                   ADDRESS ON FILE
DALIA G SEGARRA JOVE                       ADDRESS ON FILE
DALIA GONZALEZ CORTES                      ADDRESS ON FILE
DALIA GONZALEZ VALDIVIA                    ADDRESS ON FILE




                                                                                                           Page 2055 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2056 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DALIA I ASENCIO REYES                   ADDRESS ON FILE
DALIA I RAMIREZ ROMAN                   ADDRESS ON FILE
DALIA I RAMIREZ ROMAN                   ADDRESS ON FILE
DALIA I SERRANO VELEZ                   ADDRESS ON FILE
DALIA M GUADALUPE AYALA                 ADDRESS ON FILE
DALIA M PENA NIEVES                     ADDRESS ON FILE
DALIA M RODRIGUEZ MAYSONET              ADDRESS ON FILE
DALIA MARQUEZ CORREA                    ADDRESS ON FILE
DALIA MUNOZ SANTONI                     ADDRESS ON FILE
DALIA S RODRIGUEZ DAVILA                ADDRESS ON FILE
DALIA SOLER SULLIVAN                    ADDRESS ON FILE
DALIA STELLA GONZALEZ DIAZ              ADDRESS ON FILE
DALIA T. REYES FIGUEROA                 ADDRESS ON FILE
DALIA TRUJILLO ROQUE                    ADDRESS ON FILE
DALIA VAZQUEZ AGUINAGA                  ADDRESS ON FILE
DALIA Z GONZALEZ ROSA                   ADDRESS ON FILE
DALIADIZ ORTIZ CARRASQUILLO             ADDRESS ON FILE
DALIAH JONES                            ADDRESS ON FILE
DALIAM FIGUEROA RIVERA                  ADDRESS ON FILE
DALIAM RODRIGUEZ ABREU                  ADDRESS ON FILE
DALIANA M RAMOS ROSADO                  ADDRESS ON FILE
DALIANA RIVERA RIVERA                   ADDRESS ON FILE
DALIANNE RIVERA RODRIGUEZ               ADDRESS ON FILE
DALIANNE RIVERA RODRIGUEZ               ADDRESS ON FILE
DALIASEL CRUZ GUINDIN                   ADDRESS ON FILE
DALICE M PINERO CRUZ                    ADDRESS ON FILE
DALICETTE SANTIAGO RODRIGUEZ            ADDRESS ON FILE
DALICIA ROSARIO ALVAREZ                 ADDRESS ON FILE
DALIDIA COLON PIERETTI                  ADDRESS ON FILE
DALIDIA COLON PIERETTI                  ADDRESS ON FILE
DALIDIA COLON PIERETTI                  ADDRESS ON FILE
DALIES J DEYNES VARGAS                  ADDRESS ON FILE
Dalila Aponte Ayala                     ADDRESS ON FILE
DALILA AYALA ROMAN                      ADDRESS ON FILE
DALILA BIDOT GUTIERREZ                  ADDRESS ON FILE
DALILA CABRERA Y AIDA GONZALEZ CORTES   ADDRESS ON FILE
DALILA CARDONA MORALES                  ADDRESS ON FILE
DALILA CARDONA MORALES                  ADDRESS ON FILE
DALILA CARDONA MORALES                  ADDRESS ON FILE
DALILA CORDERO BARRETO                  ADDRESS ON FILE
DALILA DE JESUS CASTRO                  ADDRESS ON FILE
DALILA GARCIA MITCHELL                  ADDRESS ON FILE
DALILA GARCIA MOJICA                    ADDRESS ON FILE
DALILA GONZALEZ TORRES                  ADDRESS ON FILE
DALILA IRIZARRY GARCES                  ADDRESS ON FILE
DALILA LATIMER RAMOS                    ADDRESS ON FILE
DALILA LLANOS RIVERA                    ADDRESS ON FILE
DALILA LLANOS RIVERA                    ADDRESS ON FILE
DALILA LOPEZ DELGADO                    ADDRESS ON FILE
DALILA LOPEZ TORRES                     ADDRESS ON FILE
DALILA MARIE BARRETO CINTRON            ADDRESS ON FILE
DALILA MIRANDA CURBELO                  ADDRESS ON FILE
DALILA NIEVES CRUZ                      ADDRESS ON FILE
DALILA OLAN                             ADDRESS ON FILE
DALILA QUINTANA SERRANO                 ADDRESS ON FILE
DALILA RAMOS RIVERA                     ADDRESS ON FILE
DALILA RAMOS RIVERA                     ADDRESS ON FILE
DALILA RIVAS LARACUENTE                 ADDRESS ON FILE
DALILA RIVERA ORTIZ                     ADDRESS ON FILE




                                                                                    Page 2056 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2057 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                           Address1                        Address2                                   Address3            Address4   City            State   PostalCode   Country
                                                                                                                   B5 CALLE TABONUCO
DALILA SANCHEZ SANTIAGO                 LIC. CONCEPCION CASTRO CARLOS   PMB 223                                    STE 216                        GUAYNABO        PR      00968
DALILA SANCHEZ SANTIAGO                 LIC. MONDRÍGUEZ TORRES CARLOS   PO BOX 1211                                                               LAS PIEDRAS     PR      00771‐1211
                                                                                                                   AMELIA INDUSTRIAL
DALILA SANCHEZ SANTIAGO                 LIC. RODRIGUEZ VELEZ PAUL A     9 CALLE CLAUDIA‐SUITE 301                  PARK                           GUAYNABO        PR      00968
DALILA TORRES HERNANDEZ                 ADDRESS ON FILE
DALILA TORRES MELENDEZ                  ADDRESS ON FILE
DALILA TORRES PINERO                    ADDRESS ON FILE
DALILA VALENTIN                         ADDRESS ON FILE
DALIMAR ZEDA SANCHEZ                    ADDRESS ON FILE
DALIMAR ZEDA SANCHEZ                    ADDRESS ON FILE
DALIMAR ZEDA SANCHEZ                    ADDRESS ON FILE
DALIMARIE PEREZ ARZUAGA                 ADDRESS ON FILE
DALIN ROJAS PABON                       ADDRESS ON FILE
DALINA A SUMMER BURGOS                  ADDRESS ON FILE
DALIS DEL MAR RIVERA NEGRON             ADDRESS ON FILE
DALIS O BERRIOS LOPEZ Y LUIS A APONTE   ADDRESS ON FILE
DALISA FERNANDEZ GONZALEZ               ADDRESS ON FILE
DALISA ORSINI MONTANEZ                  ADDRESS ON FILE
DALISETTE MIRANDA COLON                 ADDRESS ON FILE
DALISHA ROSARIO MARTINEZ                ADDRESS ON FILE
DALISSA DIAZ TORRES                     ADDRESS ON FILE
DALISZA IZQUIERDO MARTINEZ              ADDRESS ON FILE
DALITZA M VEGA CANDELARIO               ADDRESS ON FILE
DALITZA M. ALVAREZ VALENTIN             ADDRESS ON FILE
DALITZA SANTIAGO MARTINEZ               ADDRESS ON FILE
DALITZA TORRES QUINONES                 ADDRESS ON FILE
DALIZA CABRERA DE JESUS                 ADDRESS ON FILE
DALIZA ROMAN LUCENA                     ADDRESS ON FILE
DALLANARA COLON COSME                   ADDRESS ON FILE
DALLAS TRANSPLANT INSTITUTE             3604 LIVE OAK                                                                                             DALLAS          TX      75204
DALLIANA CUEVAS RIVERA                  ADDRESS ON FILE
DALLY VELEZ BONET                       ADDRESS ON FILE
DALLYS J MARTINEZ RODRIGUEZ             ADDRESS ON FILE
DALMA E RIVERA ROLA                     ADDRESS ON FILE
DALMA E SOTERO CUADRADO                 ADDRESS ON FILE
DALMA H RIVERA RIVERA                   ADDRESS ON FILE
DALMARIEL RIVERA SANABRIA               ADDRESS ON FILE
DALMARIS BETANCOURT BETANCOURT          ADDRESS ON FILE
DALMARIS ESPINAL MATIAS                 ADDRESS ON FILE
DALMARIS OQUENDO OLIVERAS               ADDRESS ON FILE
DALMARIX GARCIA SERRANO                 ADDRESS ON FILE
DALMARYS DIAZ CARRASQUILLO              ADDRESS ON FILE
DALMASI MEJIA, PATRICIA                 ADDRESS ON FILE
DALMAU ACEVEDO, JAVIER                  ADDRESS ON FILE
DALMAU ACEVEDO, MARIBEL                 ADDRESS ON FILE
DALMAU AGUILAR, BRENDA L                ADDRESS ON FILE
DALMAU AGULAR, BRENDA LIZ               ADDRESS ON FILE
DALMAU ALVAREZ, EVELYN                  ADDRESS ON FILE
DALMAU BORGES, AIDA                     ADDRESS ON FILE
DALMAU BORGES, AIDA SYDEL               ADDRESS ON FILE
DALMAU BORIA, MARIA L                   ADDRESS ON FILE
DALMAU BOTELLO, NATHALIE                ADDRESS ON FILE
DALMAU BOTELLO, NATHALIE                ADDRESS ON FILE
DALMAU CABAN, LUIS                      ADDRESS ON FILE
DALMAU CRUZ, SHEILA                     ADDRESS ON FILE
DALMAU GIL, JILLIAN                     ADDRESS ON FILE
DALMAU GONZALEZ, JANNETTE               ADDRESS ON FILE
DALMAU IRIZARRY MD, TERESA              ADDRESS ON FILE
DALMAU LLANOS, JUAN                     ADDRESS ON FILE




                                                                                                    Page 2057 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2058 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DALMAU LLANOS, MAYRA L       ADDRESS ON FILE
DALMAU MARTINEZ, JOSE        ADDRESS ON FILE
Dalmau Martinez, Jose E      ADDRESS ON FILE
DALMAU MERCADO, CHARLENE     ADDRESS ON FILE
DALMAU PEREZ, RAYMOND        ADDRESS ON FILE
DALMAU PORTILLO, HAZEL       ADDRESS ON FILE
DALMAU RAMIREZ, JUAN         ADDRESS ON FILE
DALMAU RAMIREZ, ROSANNA I    ADDRESS ON FILE
DALMAU REYES, JAVIER         ADDRESS ON FILE
DALMAU RODRIGUEZ, ROSARIO    ADDRESS ON FILE
DALMAU RODRIGUEZ, TAKISHA    ADDRESS ON FILE
DALMAU ROIG, JORGE           ADDRESS ON FILE
DALMAU RUSCALLEDA, STEVEN    ADDRESS ON FILE
DALMAU SANTANA, RAYMOND      ADDRESS ON FILE
DALMAU SANTANA, RICARDO      ADDRESS ON FILE
DALMAU SANTIAGO, DIANA I     ADDRESS ON FILE
DALMAU SANTIAGO, JOSE        ADDRESS ON FILE
DALMAU SANTIAGO, JOSE        ADDRESS ON FILE
DALMAU SANTIAGO, JOSE L.     ADDRESS ON FILE
DALMAU SANTOS, MARIA M       ADDRESS ON FILE
DALMAU SANTOS, MARIA M       ADDRESS ON FILE
DALMAU TORO, DIANA           ADDRESS ON FILE
DALMAU TORRES, ROSA          ADDRESS ON FILE
DALMAU, RAUL G               ADDRESS ON FILE
DALMAU,MANUEL                ADDRESS ON FILE
DALMEIJER, JOHANNES          ADDRESS ON FILE
DALMIL ALICEA TORO           ADDRESS ON FILE
DALVIN A LOUBRIEL NEGRON     ADDRESS ON FILE
DALVIN ANDERSON VILLAFANE    ADDRESS ON FILE
DALVIN E CRUZ HERNANDEZ      ADDRESS ON FILE
DALVIN LOUBRIEL NEGRON       ADDRESS ON FILE
DALVIN MENDEZ HERNANDEZ      ADDRESS ON FILE
DALVIN RAMOS CANDENEDO       ADDRESS ON FILE
DALVIN ROSADO MORALES        ADDRESS ON FILE
DALY AHORRIO, MARY E         ADDRESS ON FILE
DALY FERRES, ANTOINE         ADDRESS ON FILE
DALY GARCIA, PATRICIA I      ADDRESS ON FILE
DALY VILLANUEVA, MARGARITA   ADDRESS ON FILE
DALYMARIES SANTIAGO OCASIO   ADDRESS ON FILE
DALYN C ACOSTA LOPEZ         ADDRESS ON FILE
DAMACELA PEREZ, MARTHA       ADDRESS ON FILE
DAMACO CORP                  PO BOX 8283                                                                      PONCE        PR      00732
DAMAEL ARROCHO MERCADO       ADDRESS ON FILE
DAMAIDA FELICIANO COLON      ADDRESS ON FILE
DAMALIEN H ORTA ROSARIO      ADDRESS ON FILE
DAMARA MAE CRUZ BARROS       ADDRESS ON FILE
DAMARA MAE CRUZ BARROS       ADDRESS ON FILE
DAMARA S MERCADO BENIQUEZ    ADDRESS ON FILE
DAMARI IRIZARRY MUNOZ        ADDRESS ON FILE
DAMARI SANTIAGO GONZALEZ     ADDRESS ON FILE
DAMARIE I VELEZ RODRIGUEZ    ADDRESS ON FILE
DAMARIE ROSARIO GONZALEZ     ADDRESS ON FILE
DAMARIE TORRES LUGO          ADDRESS ON FILE
DAMARIE VARGAS RIVERA        ADDRESS ON FILE
DAMARIS ACOSTA IRIZARRY      ADDRESS ON FILE
DAMARIS ACOSTA TORO          ADDRESS ON FILE
DAMARIS AGOSTO SANTIAGO      ADDRESS ON FILE
DAMARIS ALEJANDRO IRENE      ADDRESS ON FILE
DAMARIS ALEJANDRO SERRANO    ADDRESS ON FILE
DAMARIS ALGARIN MOURE        ADDRESS ON FILE




                                                                         Page 2058 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2059 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAMARIS ALICEA ROSADO           ADDRESS ON FILE
DAMARIS ALVAREZ PAGAN           ADDRESS ON FILE
DAMARIS ALVAREZ QUINTANA        ADDRESS ON FILE
DAMARIS AMPARO CASTILLO         ADDRESS ON FILE
DAMARIS ANDRADES ROCHE          ADDRESS ON FILE
DAMARIS ANDUJAR COLON           ADDRESS ON FILE
DAMARIS ARROYO RIVERA           ADDRESS ON FILE
DAMARIS AVILA CRESPO            ADDRESS ON FILE
DAMARIS AVILES LORENZO          ADDRESS ON FILE
DAMARIS AYALA MATOS             ADDRESS ON FILE
DAMARIS AYALA MATOS             ADDRESS ON FILE
DAMARIS AYENDE FIGUEROA         ADDRESS ON FILE
DAMARIS B MANGUAL VELEZ         ADDRESS ON FILE
DAMARIS BARRETO SOTO            ADDRESS ON FILE
DAMARIS BATISTA MENDEZ          ADDRESS ON FILE
DAMARIS BELEN CLAUDIO           ADDRESS ON FILE
DAMARIS BERROCALES CINTRON      ADDRESS ON FILE
DAMARIS BONILLA BONILLA         ADDRESS ON FILE
DAMARIS BORGOS SEGARRA          ADDRESS ON FILE
DAMARIS BORRERO BORRELI         ADDRESS ON FILE
DAMARIS BRACERO RODRIGUEZ       ADDRESS ON FILE
DAMARIS BURGOS RIVERA           ADDRESS ON FILE
DAMARIS CABAN                   ADDRESS ON FILE
DAMARIS CABAN BADILLO           ADDRESS ON FILE
DAMARIS CABRERA CONTRERAS       ADDRESS ON FILE
DAMARIS CABRERA PEREZ           ADDRESS ON FILE
DAMARIS CAMACHO DE JESUS        ADDRESS ON FILE
DAMARIS CANALES                 ADDRESS ON FILE
DAMARIS CANDELARIA GUZMAN       ADDRESS ON FILE
DAMARIS CANDELARIA ROSARIO      ADDRESS ON FILE
DAMARIS CANDELARIO GUZMAN       ADDRESS ON FILE
DAMARIS CARRILLO                ADDRESS ON FILE
DAMARIS CASTILLO DE RIVERA      ADDRESS ON FILE
DAMARIS CASTRO MULERO           ADDRESS ON FILE
DAMARIS CHEVERE AYALA           ADDRESS ON FILE
DAMARIS CHEVERE AYALA           ADDRESS ON FILE
DAMARIS CIFREDO PABON           ADDRESS ON FILE
DAMARIS CINTRON MARTINEZ        ADDRESS ON FILE
DAMARIS COLLAZO                 ADDRESS ON FILE
DAMARIS COLON COLON             ADDRESS ON FILE
DAMARIS COLON COLON             ADDRESS ON FILE
DAMARIS COLON RIVERA            ADDRESS ON FILE
DAMARIS COLON RUIZ              ADDRESS ON FILE
DAMARIS CORDERO MENDEZ          ADDRESS ON FILE
DAMARIS COSTAS CRUZ             ADDRESS ON FILE
DAMARIS CRUZ CALDERON           ADDRESS ON FILE
DAMARIS CRUZ CALDERON           ADDRESS ON FILE
DAMARIS D SANCHEZ GINES         ADDRESS ON FILE
DAMARIS DE JESUS CARRASQUILLO   ADDRESS ON FILE
DAMARIS DE JESUS DE JESUS       ADDRESS ON FILE
DAMARIS DEL ROSARIO SANTANA     ADDRESS ON FILE
DAMARIS DEL ROSARIO SANTANA     ADDRESS ON FILE
DAMARIS DELGADO AYALA           ADDRESS ON FILE
DAMARIS DELGADO VEGA            ADDRESS ON FILE
DAMARIS DIAZ CARRERAS           ADDRESS ON FILE
DAMARIS DIAZ CRUZ               ADDRESS ON FILE
DAMARIS DIAZ DE JESUS           ADDRESS ON FILE
DAMARIS DIAZ LOPEZ              ADDRESS ON FILE
DAMARIS DIAZ SANCHEZ            ADDRESS ON FILE
DAMARIS E RIVERA CABALLERO      ADDRESS ON FILE




                                                                            Page 2059 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2060 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                      Address1                         Address2                                    Address3        Address4   City         State   PostalCode   Country
DAMARIS E SEBASTIAN LOPEZ          ADDRESS ON FILE
DAMARIS ECHEVARRIA VEGA            ADDRESS ON FILE
DAMARIS ESTRADA MERCADO            LCDO. LUIS GERVITZ CARBONELL     EDIF. NATIONAL PLAZA OFI 1607 431 AVE.      Ponce DE LEON              SAN JUAN     PR      00917
DAMARIS ESTRADA TORO               ADDRESS ON FILE
DAMARIS FELICIANO RODRIGUEZ        ADDRESS ON FILE
DAMARIS FIGUEROA AGUALIP           ADDRESS ON FILE
DAMARIS FIGUEROA RAMOS             ADDRESS ON FILE
DAMARIS FLORES MARTINEZ            ADDRESS ON FILE
DAMARIS FUMERO RODRIGUEZ           ADDRESS ON FILE
DAMARIS G PINAN ALTIERI            ADDRESS ON FILE
DAMARIS GARCIA BURGOS              ADDRESS ON FILE
DAMARIS GARCIA MARTINEZ            ADDRESS ON FILE
DAMARIS GARCIA MERCADO             ADDRESS ON FILE
DAMARIS GARCIA REYES               ADDRESS ON FILE
DAMARIS GARCIA REYES               ADDRESS ON FILE
DAMARIS GONZALEZ ALVAREZ Y OTROS   LCDA. GRISEL HERNANDEZ ESTEVES   HC 05 BOX 56673                                                        CAGUAS       PR      00725‐9227
DAMARIS GONZALEZ COLON             ADDRESS ON FILE
DAMARIS GONZALEZ MORALES           ADDRESS ON FILE
DAMARIS GONZALEZ RODRIGUEZ         ADDRESS ON FILE
DAMARIS GONZALEZ SEPULVEDA         ADDRESS ON FILE
DAMARIS GUZMAN ROSARIO             ADDRESS ON FILE
DAMARIS H CRUZ RIVERA              ADDRESS ON FILE
DAMARIS H VILLA NUNEZ              ADDRESS ON FILE
DAMARIS HERNANDEZ VELEZ            ADDRESS ON FILE
DAMARIS HILERIO ACEVEDO            ADDRESS ON FILE
DAMARIS I SANTANA VILLAFANE        ADDRESS ON FILE
DAMARIS I. MIRANDA MAISONAVE       ADDRESS ON FILE
DAMARIS J MARTINEZ DIAZ            ADDRESS ON FILE
DAMARIS JIMENEZ MORALES            ADDRESS ON FILE
DAMARIS JIMENEZ RAMIREZ            ADDRESS ON FILE
DAMARIS L OLIVIERI BONILLA         ADDRESS ON FILE
DAMARIS L SOTO TORRES              ADDRESS ON FILE
DAMARIS LLANES MONTES              ADDRESS ON FILE
DAMARIS LOPEZ GUZMAN               ADDRESS ON FILE
DAMARIS LUGO MENDOZA               ADDRESS ON FILE
DAMARIS LUGO MODESTO               ADDRESS ON FILE
DAMARIS LUGO SANCHEZ               ADDRESS ON FILE
DAMARIS LUNA LUNA                  ADDRESS ON FILE
DAMARIS M HERNANDEZ TORRES         ADDRESS ON FILE
DAMARIS M TORRES FERRER            ADDRESS ON FILE
DAMARIS MALDONADO CABAN            ADDRESS ON FILE
DAMARIS MALDONADO VINAS            ADDRESS ON FILE
DAMARIS MARCANO ARROYO             ADDRESS ON FILE
DAMARIS MARTINEZ MELENDEZ          ADDRESS ON FILE
DAMARIS MARTY RODRIGUEZ            ADDRESS ON FILE
DAMARIS MEDINA RAMOS               ADDRESS ON FILE
DAMARIS MELENDEZ FIGUEROA          ADDRESS ON FILE
DAMARIS MENDOZA ROMAN              ADDRESS ON FILE
DAMARIS MIRANDA MAISONAVE          ADDRESS ON FILE
DAMARIS MIRANDA MAISONVAVE         LCDO. JOSE MANUEL ARIAS SOTO     COND. ESQUIRE 2 CALLE VELA OFIC. 701                                   SAN JUAN     PR      00918‐3606
DAMARIS MORALES BAEZ               ADDRESS ON FILE
DAMARIS MORALES PINEIRO            ADDRESS ON FILE
Damaris Morales Torres             ADDRESS ON FILE
DAMARIS MORALES VELEZ              ADDRESS ON FILE
DAMARIS MORALES/ NILDA MORALES     ADDRESS ON FILE
DAMARIS MUNOZ SERRANO              ADDRESS ON FILE
DAMARIS MURRAY SANTANA             ADDRESS ON FILE
DAMARIS NAVARRO VAZQUEZ            ADDRESS ON FILE
DAMARIS NAVEDO LOZADA              ADDRESS ON FILE
DAMARIS NEGRON                     ADDRESS ON FILE




                                                                                                 Page 2060 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2061 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                        Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
DAMARIS NEGRON RODRIGUEZ             ADDRESS ON FILE
DAMARIS NOLASCO ORTIZ                ADDRESS ON FILE
DAMARIS OLIVERAS SERRANO             ADDRESS ON FILE
DAMARIS OPPENHEIMER SANTIAGO         ADDRESS ON FILE
DAMARIS ORTIZ GONZALEZ               ADDRESS ON FILE
DAMARIS ORTIZ GONZALEZ               ADDRESS ON FILE
DAMARIS ORTIZ MARTINEZ               ADDRESS ON FILE
DAMARIS ORTIZ MORALES                ADDRESS ON FILE
DAMARIS OTERO OJEDA                  ADDRESS ON FILE
DAMARIS PAGAN ALVIRA                 ADDRESS ON FILE
DAMARIS PEDROZA                      ADDRESS ON FILE
DAMARIS PENA DE JESUS                ADDRESS ON FILE
DAMARIS PEREZ                        ADDRESS ON FILE
DAMARIS PEREZ CAMACHO                ADDRESS ON FILE
DAMARIS PEREZ PAGAN                  ADDRESS ON FILE
DAMARIS PEREZ PAGAN                  ADDRESS ON FILE
DAMARIS PIETRI OTERO                 ADDRESS ON FILE
DAMARIS PINEIRO MAYSONET             ADDRESS ON FILE
DAMARIS PRIETO CARBALLO              ADDRESS ON FILE
DAMARIS QUINONES VARGAS              ADDRESS ON FILE
DAMARIS QUINONES VARGAS              ADDRESS ON FILE
DAMARIS QUINTANA PEREZ               ADDRESS ON FILE
DAMARIS RAMIREZ IRIZARRY             ADDRESS ON FILE
DAMARIS RAMIREZ SANTIAGO             ADDRESS ON FILE
DAMARIS RAMOS                        ADDRESS ON FILE
DAMARIS RAMOS ORTIZ                  ADDRESS ON FILE
DAMARIS RAMOS TORRES                 ADDRESS ON FILE
DAMARIS REYES NATAL                  ADDRESS ON FILE
DAMARIS REYES ORTIZ                  ADDRESS ON FILE
DAMARIS RIOS PEREZ                   ADDRESS ON FILE
DAMARIS RIVAS RIVERA                 ADDRESS ON FILE
DAMARIS RIVERA FELICIANO             ADDRESS ON FILE
DAMARIS RIVERA FRAGUADA              ADDRESS ON FILE
DAMARIS RIVERA JIMENEZ               ADDRESS ON FILE
DAMARIS RIVERA LOPEZ                 ADDRESS ON FILE
DAMARIS RIVERA MARRERO/ HOGAR EMMANUEADDRESS ON FILE
DAMARIS RIVERA MARTINEZ              ADDRESS ON FILE
DAMARIS RIVERA MONTALVO              ADDRESS ON FILE
DAMARIS RIVERA ORTIZ                 ADDRESS ON FILE
DAMARIS RIVERA PEREZ                 ADDRESS ON FILE
DAMARIS RIVERA RIVERA                ADDRESS ON FILE
DAMARIS ROBLES DOMINGUEZ             ADDRESS ON FILE
DAMARIS ROBLES GONZALEZ              ADDRESS ON FILE
DAMARIS RODRIGUEZ LOZADA             ADDRESS ON FILE
DAMARIS RODRIGUEZ POMALES            ADDRESS ON FILE
DAMARIS RODRIGUEZ RIVERA             ADDRESS ON FILE
DAMARIS RODRIGUEZ SALVA              ADDRESS ON FILE
DAMARIS RODRIGUEZ VALENTIN           ADDRESS ON FILE
DAMARIS ROSARIO ALEMAN               ADDRESS ON FILE
DAMARIS ROSARIO BERRIOS              ADDRESS ON FILE
DAMARIS ROSARIO ORTIZ                ADDRESS ON FILE
DAMARIS ROSARIO ORTIZ                ADDRESS ON FILE
DAMARIS ROSARIO RIVERA               ADDRESS ON FILE
DAMARIS ROSAS VEGA                   ADDRESS ON FILE
DAMARIS RUIZ CRUZ                    ADDRESS ON FILE
DAMARIS RUIZ CRUZ                    ADDRESS ON FILE
DAMARIS SALCEDO PENA                 ADDRESS ON FILE
DAMARIS SANCHEZ PEREZ                ADDRESS ON FILE
DAMARIS SANCHEZ RODRIGUEZ            ADDRESS ON FILE
DAMARIS SANTANA                      ADDRESS ON FILE




                                                                                  Page 2061 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2062 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                      Address1                       Address2                             Address3             Address4   City           State   PostalCode   Country
DAMARIS SANTIAGO GONZALEZ          ADDRESS ON FILE
DAMARIS SANTIAGO PEREZ             ADDRESS ON FILE
DAMARIS SANTIAGO RODRIGUEZ         ADDRESS ON FILE
DAMARIS SANTIAGO RODRIGUEZ         ADDRESS ON FILE
DAMARIS SANTIAGO SANCHEZ           ADDRESS ON FILE
DAMARIS SANTOS PEREZ               ADDRESS ON FILE
DAMARIS SEGUINOT GONZALEZ          ADDRESS ON FILE
DAMARIS SERVICE STATION INC        HC BOX 5386                                                                                         LARES          PR      00669‐9703
DAMARIS SILVA RAMOS                ADDRESS ON FILE
DAMARIS SOTO DELGADO               ADDRESS ON FILE
DAMARIS TIRADO MARCON              ADDRESS ON FILE
DAMARIS TORRES COSME               ADDRESS ON FILE
DAMARIS TORRES ESPADA              ADDRESS ON FILE
DAMARIS TORRES ORTIZ               ADDRESS ON FILE
DAMARIS TORRES RIVERA              ADDRESS ON FILE
DAMARIS TORRES VAZQUEZ             LCDO. DOMINGO TORRES VAZQUEZ   QUINTAS DE ALTAMIRA                  1152 CALLE TUMBADO              JUANA DÍAZ     PR      00795‐9142
DAMARIS TRAVEL & TOURS             PO BOX 547                                                                                          ISABELA        PR      00662
DAMARIS VARGAS COLON               ADDRESS ON FILE
DAMARIS VAZQUEZ COLON              ADDRESS ON FILE
DAMARIS VAZQUEZ MALDONADO          ADDRESS ON FILE
DAMARIS VEGA TORRES                ADDRESS ON FILE
DAMARIS VELAZQUEZ COUVERTIER       ADDRESS ON FILE
DAMARIS VELAZQUEZ ROMAN            ADDRESS ON FILE
DAMARIS VELAZQUEZ TORRES           ADDRESS ON FILE
DAMARIS VELEZ QUINONEZ             ADDRESS ON FILE
DAMARIS VERA GALARZA               ADDRESS ON FILE
DAMARIS VILA ARROYO                ADDRESS ON FILE
DAMARIS Y SANTIAGO RAMOS           ADDRESS ON FILE
DAMARIS YULFO BELTRAN              LCDA. SUHAIL CABÁN LÓPEZ       PO BOX 1711                                                          AGUADA         PR      00602‐1711
DAMARIS, ALMODOVAR                 ADDRESS ON FILE
DAMARIS, RODRIGUEZ                 ADDRESS ON FILE
DAMARK
DAMARY GUZMAN/ FLORENTINA GUZMAN   ADDRESS ON FILE
DAMARY OTERO SANCHEZ               ADDRESS ON FILE
DAMARY RAMOS LARO                  ADDRESS ON FILE
DAMARY SEMIDEY RODRIGUEZ           ADDRESS ON FILE
DAMARYS BARRETO SALAS              ADDRESS ON FILE
DAMARYS BATISTA                    ADDRESS ON FILE
DAMARYS CARO RAMOS                 ADDRESS ON FILE
DAMARYS CRUZ GONZALEZ              ADDRESS ON FILE
DAMARYS DEL RIO SANTIAGO           ADDRESS ON FILE
DAMARYS DIAZ OCASIO                ADDRESS ON FILE
DAMARYS DIAZ OCASIO                ADDRESS ON FILE
DAMARYS DIAZ PONTON                ADDRESS ON FILE
DAMARYS DIAZ PONTON                ADDRESS ON FILE
DAMARYS GARCIA ROMERO              ADDRESS ON FILE
DAMARYS GONZALEZ CAMACHO           ADDRESS ON FILE
DAMARYS JIMENEZ GARRIGA            ADDRESS ON FILE
DAMARYS MEDINA MARCADO             ADDRESS ON FILE
DAMARYS MORENO BONILLA             ADDRESS ON FILE
DAMARYS REYES LAUREANO             ADDRESS ON FILE
DAMARYS RIVERA DE JESUS            ADDRESS ON FILE
DAMARYS RIVERA TORRES              ADDRESS ON FILE
DAMARYS RODRIGUEZ MENEGRO          ADDRESS ON FILE
DAMARYS ROSADO CUEVAS              ADDRESS ON FILE
DAMARYS RUIZ LOPEZ                 ADDRESS ON FILE
DAMARYS RUIZ LOPEZ                 ADDRESS ON FILE
DAMARYS SANTOS HERNANDEZ           ADDRESS ON FILE
DAMARYS TORRES GREGORY             ADDRESS ON FILE
DAMARYS TORRES RODRIGUEZ           ADDRESS ON FILE




                                                                                        Page 2062 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2063 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                         Address1                      Address2                              Address3   Address4   City         State   PostalCode   Country
DAMARYS VELAZQUEZ ECHEVARRIA          ADDRESS ON FILE
DAMASA LOPEZ GUZMAN                   ADDRESS ON FILE
DAMASO CARDENALES COLON               ADDRESS ON FILE
Damaso Clemente                       ADDRESS ON FILE
DAMASO DE JESUS AVILES SOTO           ADDRESS ON FILE
DAMASO E ROCHE D/B/A BAIROA EXTERM.   PO BOX 7954                                                                               CAGUAS       PR      00726‐7954
DAMASO ORTIZ GONZALEZ                 ADDRESS ON FILE
DAMASO OSORIO LOPEZ                   ADDRESS ON FILE
DAMASO QUINONES ESTRADA               ADDRESS ON FILE
DAMASO ROCHE MALDONADO                ADDRESS ON FILE
DAMASO RODRIGUEZ COLLAZO              LCDA. MARÍA L. COLÓN RIVERA   MARIAL0354@GMAIL.COM
DAMATO BORRERO, BRANDON               ADDRESS ON FILE
DAMC GENERAL CONTRACTORS INC          CALLE AVELINO VICENTE 809     SANTURCE                                                    SAN JUAN     PR      00909
DAME UNA MANO DE AYUDA INC            PO BOX 7103                                                                               SAN JUAN     PR      00916
DAME UNA MANO DE AYUDA INC
DAMELYS CASIANO ROSADO                ADDRESS ON FILE
Damey Ramos, Pedro J                  ADDRESS ON FILE
DAMIAN A FERRER Y VIVIAN RIVERA       ADDRESS ON FILE
DAMIAN A RIVERA SANTANA               ADDRESS ON FILE
DAMIAN AGRON ACOSTA                   ADDRESS ON FILE
DAMIAN ALUMINUM INC                   RR 11 BOX 5371                                                                            BAYAMON      PR      00956
DAMIAN CABRERA CANDELARIA             ADDRESS ON FILE
DAMIAN CABRERA CANDELARIA             ADDRESS ON FILE
DAMIAN CHEN, TERESA                   ADDRESS ON FILE
DAMIAN COLON DIAZ                     ADDRESS ON FILE
DAMIAN DELGADO                        ADDRESS ON FILE
DAMIAN DELGADO APONTE                 ADDRESS ON FILE
DAMIAN FAMILY CARE CENTER             137‐50 JAMAICA AVE                                                                        JAMAICA      NY      11435
DAMIAN GALARZA MELENDEZ               ADDRESS ON FILE
DAMIAN GONZALEZ SANTIAGO              ADDRESS ON FILE
DAMIAN GONZALEZ SANTIAGO              ADDRESS ON FILE
DAMIAN GONZALEZ SERRANO               ADDRESS ON FILE
DAMIAN IRIZARRY GUASCH                ADDRESS ON FILE
DAMIAN J.RODRIGUEZ RODRIGUEZ          ADDRESS ON FILE
DAMIAN JESUS PEREZ ROCHE              ADDRESS ON FILE
DAMIAN L IRIZARRY ORTIZ               ADDRESS ON FILE
DAMIAN MALARET CARDONA                ADDRESS ON FILE
DAMIAN MARTINEZ ROSADO                ADDRESS ON FILE
DAMIAN MENDEZ VILLANUEVA              ADDRESS ON FILE
DAMIAN MORALES PADILLA                ADDRESS ON FILE
DAMIAN MUðOZ VAZQUEZ                  ADDRESS ON FILE
DAMIAN MUNOZ VAZQUEZ                  ADDRESS ON FILE
DAMIAN R NAVARRO COLON                ADDRESS ON FILE
DAMIAN RAMOS FIGUEROA                 ADDRESS ON FILE
DAMIAN RIOS RODRIGUEZ                 ADDRESS ON FILE
DAMIAN RIVERA MERCADO                 ADDRESS ON FILE
DAMIAN RODRIGUEZ MATIAS               ADDRESS ON FILE
DAMIAN SANTIAGO BONET                 ADDRESS ON FILE
DAMIAN SANTOS PAGAN                   ADDRESS ON FILE
DAMIAN TORRES ROSA                    ADDRESS ON FILE
DAMIAN VALE MORALES                   ADDRESS ON FILE
DAMIANA MONEGRO PASCUAL               ADDRESS ON FILE
DAMIANI AYALA, YEIDA YAMIS            ADDRESS ON FILE
DAMIANI CONTRACTORS INC               HC 4 BOX 23646                                                                            LAJAS        PR      00667
DAMIANI ECHEVARRIA, LINDA A.          ADDRESS ON FILE
DAMIANI GARCIA, JOSE                  ADDRESS ON FILE
DAMIANI GONZALEZ, GUILLERMO           ADDRESS ON FILE
DAMIANI MULLER, EDGARDO               ADDRESS ON FILE
DAMIANI MULLER, EDGARDO               ADDRESS ON FILE
DAMIANI ORTIZ, XIOMARA                ADDRESS ON FILE




                                                                                           Page 2063 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2064 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                        Address1                     Address2                         Address3   Address4   City               State   PostalCode   Country
DAMIANI RAMOS, ANETTE                ADDRESS ON FILE
DAMIANI RAMOS, ANETTE                ADDRESS ON FILE
DAMIANI RAMOS, JIMMY                 ADDRESS ON FILE
DAMIANI RAMOS, MERARI                ADDRESS ON FILE
DAMIANI REYES, OBED                  ADDRESS ON FILE
DAMIANI RIVERA, ANDRES               ADDRESS ON FILE
DAMIANI RIVERA, DAMARIS GRISELL      ADDRESS ON FILE
DAMIANI RIVERA, LIZ M                ADDRESS ON FILE
DAMIANI RODRIGUEZ, CRISTINA          ADDRESS ON FILE
DAMIANI VAZQUEZ, IVELISSE            ADDRESS ON FILE
DAMIL A VAZQUEZ VAZQUEZ              ADDRESS ON FILE
DAMIL M. NIEVES SANTIAGO             ADDRESS ON FILE
DAMILLE E LAMOURT CABAN              ADDRESS ON FILE
DAMIR AVIEL RAMOS SANTIAGO           ADDRESS ON FILE
DAMMAN DEVELOPMENT CORP/ JOMA DESIGN GROUP CORP                   PO BOX 7764                                            PONCE              PR      00732‐7764
DAMON LOZADA, CHARLES E              ADDRESS ON FILE
DAMON RIVERA, AMY SUE                ADDRESS ON FILE
DAMON RIVERA, JENNIFER               ADDRESS ON FILE
DAMOUDT CASTILLO, PEDRO              ADDRESS ON FILE
DAMOUDT RODRIGUEZ, ANITZA            ADDRESS ON FILE
DAMOUDT RODRIGUEZ, AYDIL             ADDRESS ON FILE
DAMOUDT RODRIGUEZ, BERNARDO          ADDRESS ON FILE
DAMOUDT RODRIGUEZ, LUIS              ADDRESS ON FILE
DAMRON AGOSTO, EDGARDO               ADDRESS ON FILE
DAMUT MONTALVO, ROSA M               ADDRESS ON FILE
DAN ACEVEDO SANCHEZ                  ADDRESS ON FILE
DAN GRULLON RODRIGUEZ                ADDRESS ON FILE
DANA BOBADILLA, ALICE                ADDRESS ON FILE
DANA F. COLON LOPEZ                  ADDRESS ON FILE
DANA FARBER CANCER INSTITUTE         ADDRESS ON FILE
DANA J LUGO LOPEZ                    ADDRESS ON FILE
DANA MIRO MEDINA                     ADDRESS ON FILE
DANAE SOSTRE                         ADDRESS ON FILE
DANAE SOSTRE RIVERA                  ADDRESS ON FILE
DANAE SOSTRE RIVERA                  ADDRESS ON FILE
DANAHIS RODRIGUEZ MENDEZ             ADDRESS ON FILE
DANALEE SANTIAGO RAMOS               ADDRESS ON FILE
DANAS BUEGO, ROSA M                  ADDRESS ON FILE
DANAUS TRUST                         201 S PHILLIPS AVE 201                                                              SIOUX FALLS SD     SD      57104
DANAY PALACIO DUENAS                 ADDRESS ON FILE
DANAYRA N MEDINA ALFARO              ADDRESS ON FILE
DANBURY HOSPITAL                     24 HOSPITAL AVE                                                                     DANBURY            CT      06810
DANDRADE FRANCIS, NATALIA            ADDRESS ON FILE
DANEIRY TORRES SANTIAGO              ADDRESS ON FILE
DANEL N. SEPULVEDA                   ADDRESS ON FILE
DANELA MENDOZA BARBOSA               ADDRESS ON FILE
DANELI NAZARIO MIRANDA               ADDRESS ON FILE
DANELIZ SALGADO LOPEZ                ADDRESS ON FILE
DANELS INC                           HC 4 BOX 14045                                                                      MOCA               PR      00676‐9665
DANELYS LOZADA VAZQUEZ               ADDRESS ON FILE
DANERIS FERNANDEZ GERENA             ADDRESS ON FILE
DANESKALIE JOHAN GONZALEZ            ADDRESS ON FILE
DANESSA SALGADO OTERO                ADDRESS ON FILE
DANESSA VAZQUEZ RAMOS                ADDRESS ON FILE
DANET COSME ERAZO                    ADDRESS ON FILE
DANET GARCIA, EMILE A                ADDRESS ON FILE
DANET GARCIA, MARIA                  ADDRESS ON FILE
DANET GARCIA, SONIA                  ADDRESS ON FILE
DANET MENDRELL, LOUIS                ADDRESS ON FILE
DANET, JOHN M.                       ADDRESS ON FILE




                                                                                    Page 2064 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2065 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                             Address1                                Address2                               Address3   Address4   City         State   PostalCode   Country
DANETTE BATIZ DBA R&B WAREHOUSE           URB STA TERESITA                        N 42 CALLE B                                                 PONCE        PR      00731
DANETTE BATIZ DBA R&B WAREHOUSE           URB. VALLE ALTO                         2161 C/COLINA                                                PONCE        PR      00730
Danette Batiz Ortiz dba R & B Warehouse   Urb. Valle Alto , Calle Colina # 2161                                                                Ponce        PR      00730‐0000
DANETTE BATIZ/ DANIEL RODRIGUEZ           ADDRESS ON FILE
DANETTE GONZALEZ LOPEZ                    ADDRESS ON FILE
DANETTE LEBRON ORTIZ                      ADDRESS ON FILE
DANGER, EDDYME                            ADDRESS ON FILE
DANGLADA RAFFUCCI, JOSE                   ADDRESS ON FILE
D'ANGLADA RAFFUCCI, JOSE M                ADDRESS ON FILE
DANIA C GARCIA LEBRON                     ADDRESS ON FILE
DANIA CARRERAS ALONSO                     ADDRESS ON FILE
DANIA DE LEON PICON                       ADDRESS ON FILE
DANIA E PENA PENA                         ADDRESS ON FILE
DANIA E PENA PENA                         ADDRESS ON FILE
DANIA E RODRIGUEZ MERCADO                 ADDRESS ON FILE
DANIA E SERRANO CASTRO                    ADDRESS ON FILE
DANIA G VAZQUEZ DIAZ                      ADDRESS ON FILE
DANIA L SANTIAGO CARABALLO                ADDRESS ON FILE
DANIA M MATIAS BELEN                      ADDRESS ON FILE
DANIA M VARGAS GARCIA                     ADDRESS ON FILE
DANIA ORTIZ                               ADDRESS ON FILE
DANIA R FRIAS MARTINEZ                    ADDRESS ON FILE
DANIA ROSARIO SOSTRE                      ADDRESS ON FILE
DANIARIS GONZALEZ TOSADO                  ADDRESS ON FILE
DANICK Y RIVERA REYES                     ADDRESS ON FILE
DANIED VELEZ BLAS                         ADDRESS ON FILE
DANIEE COLBERG                            ADDRESS ON FILE
DANIEL A ALDRICH                          ADDRESS ON FILE
DANIEL A ANGLADA CACERES                  ADDRESS ON FILE
DANIEL A COLON BENVENUTTI                 ADDRESS ON FILE
DANIEL A FONTANEZ ORTIZ                   ADDRESS ON FILE
DANIEL A KOSTIRJA KAPINUS                 ADDRESS ON FILE
DANIEL A KOSTIRJA KAPINUS                 ADDRESS ON FILE
DANIEL A MORALES SALGADO                  ADDRESS ON FILE
DANIEL A OLAVARRIA GONZALEZ               ADDRESS ON FILE
DANIEL A PATRON PEREZ                     ADDRESS ON FILE
DANIEL A RIVERA AGUILAR                   ADDRESS ON FILE
DANIEL A RIVERA AGUILAR                   ADDRESS ON FILE
DANIEL A RIVERA RUIZ                      ADDRESS ON FILE
DANIEL A RODRIGUEZ RIVERA                 ADDRESS ON FILE
DANIEL A ROJAS DEL VALLE                  ADDRESS ON FILE
DANIEL A VELEZ REYES                      ADDRESS ON FILE
DANIEL A VERA MENDEZ                      ADDRESS ON FILE
DANIEL A. PAPPATERRA DOMINGUEZ            ADDRESS ON FILE
DANIEL ABARCA GARCIA                      ADDRESS ON FILE
DANIEL ABEL ORTIZ PARDO                   ADDRESS ON FILE
DANIEL ACEVEDO CRUZ                       ADDRESS ON FILE
DANIEL ACEVEDO VARGAS                     ADDRESS ON FILE
DANIEL ACOSTA SANABRIA                    ADDRESS ON FILE
DANIEL ADAMES PADILLA                     ADDRESS ON FILE
DANIEL AGOSTO COLON                       ADDRESS ON FILE
DANIEL ALBERDESTON CORALIN                ADDRESS ON FILE
DANIEL ALEMAN MONTALVO                    ADDRESS ON FILE
DANIEL ALMEIDA MEDINA                     LCDO. LUIS F. MANGUAL ACEVEDO           CALLE 7 ‐3 EL MIRADOR                                        SAN JUAN     PR      00926
DANIEL ALVARADO COLLAZO                   ADDRESS ON FILE
DANIEL ALVARADO COLLAZO                   ADDRESS ON FILE
DANIEL ALVARADO VARELA                    ADDRESS ON FILE
DANIEL ALVAREZ GARCIA                     ADDRESS ON FILE
DANIEL ARBONA Y/O ELIZABETH ARBONA        ADDRESS ON FILE
DANIEL ARZOLA CASTANER                    ADDRESS ON FILE




                                                                                                          Page 2065 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2066 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3            Address4              City      State   PostalCode   Country
DANIEL ARZOLA CASTENER             ADDRESS ON FILE
DANIEL ASENCIO VELEZ               ADDRESS ON FILE
DANIEL AVILES RIVERA               ADDRESS ON FILE
DANIEL AYUSO RIVERA                ADDRESS ON FILE
DANIEL BAEZ SERPA                  ADDRESS ON FILE
DANIEL BARBOSA VALDES              ADDRESS ON FILE
DANIEL BARRIOS CASTELLANOS         ADDRESS ON FILE
DANIEL BARRIOS CASTELLANOS         ADDRESS ON FILE
DANIEL BERNARDINI CALDERON         ADDRESS ON FILE
DANIEL CABAN LOPEZ                 ADDRESS ON FILE
DANIEL CAMACHO VELEZ               ADDRESS ON FILE
DANIEL CANDELARIO ANTONETTI        ADDRESS ON FILE
DANIEL CANDELARIO CUADRADO         ADDRESS ON FILE
DANIEL CAPESSTANY VELEZ            ADDRESS ON FILE
DANIEL CARABALLO ORENGO            ADDRESS ON FILE
DANIEL CARMONA ALEMAN              ADDRESS ON FILE
DANIEL CARMONA ALEMAN              ADDRESS ON FILE
DANIEL CARRASQUILLO CARRASQUILLO   ADDRESS ON FILE
DANIEL CARRASQUILLO CARRASQUILLO   ADDRESS ON FILE
DANIEL CARTAGENA ORTIZ             ADDRESS ON FILE
DANIEL CASTELLAR TORRES            ADDRESS ON FILE
DANIEL CASTRO                      ADDRESS ON FILE
DANIEL CASTRO ESCOBAR              ADDRESS ON FILE
DANIEL CASTRO GIL                  ADDRESS ON FILE
DANIEL CEDENO IRIZARRY             ADDRESS ON FILE
DANIEL CINTRON OYOLA               ADDRESS ON FILE
DANIEL COLLADO RODRIGUEZ           ADDRESS ON FILE
DANIEL COLOMBANI MUNOZ             ADDRESS ON FILE
DANIEL COLON GONZALEZ              ADDRESS ON FILE
DANIEL COLON MARIN                 ADDRESS ON FILE
DANIEL COLON RODRIGUEZ             ADDRESS ON FILE
DANIEL COLON SANTIAGO              ADDRESS ON FILE
DANIEL CONCEPCION VAZQUEZ          ADDRESS ON FILE
DANIEL CORDOVA GUZMAN              ADDRESS ON FILE
DANIEL CORREA LUNA MD, LUIS        ADDRESS ON FILE
DANIEL CORREA MARTINEZ             ADDRESS ON FILE
DANIEL CORREA MARTINEZ             ADDRESS ON FILE
DANIEL CORTES SANTOS               ADDRESS ON FILE
DANIEL CRESPO LA SALLE             ADDRESS ON FILE
DANIEL CRUZ BONILLA                ADDRESS ON FILE
DANIEL CRUZ COLON                  ADDRESS ON FILE
Daniel Cruz Domenech               ADDRESS ON FILE
DANIEL CRUZ ECHEVARIA              ADDRESS ON FILE
DANIEL CRUZ GALARZA                ADDRESS ON FILE
DANIEL CRUZ GALARZA                ADDRESS ON FILE
DANIEL CRUZ GALARZA                ADDRESS ON FILE
DANIEL CRUZ GUADALUPE              ADDRESS ON FILE
DANIEL CRUZ SEDA                   ADDRESS ON FILE
DANIEL CRUZ TORRES                 ADDRESS ON FILE
DANIEL D MEDINA RODRIGUEZ          ADDRESS ON FILE
DANIEL D SANTIAGO RODRIGUEZ        ADDRESS ON FILE
DANIEL D VEGA CRUZ                 ADDRESS ON FILE
DANIEL DE JESUS MORENO             ADDRESS ON FILE
DANIEL DEL PRADO COLLADO           ADDRESS ON FILE
DANIEL DELGADO TORRES              ADDRESS ON FILE
DANIEL DELIZ NIEVES                DERECHO PROPIO            INST.                            Ponce MÁXIMA 1000   4T 101 PO BOX 10786   PONCE     PR      00732
DANIEL DIAZ ACEVEDO                ADDRESS ON FILE
DANIEL DIAZ CABRERA                ADDRESS ON FILE
DANIEL DIAZ FLORES                 ADDRESS ON FILE
DANIEL DIAZ FLORES                 ADDRESS ON FILE




                                                                               Page 2066 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2067 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                           Address1                                  Address2                                    Address3   Address4   City          State   PostalCode   Country
DANIEL DIAZ HERRERA                     ADDRESS ON FILE
DANIEL DIAZ MONTANEZ                    ADDRESS ON FILE
DANIEL DIAZ ORTIZ                       ADDRESS ON FILE
DANIEL DIAZ RODRIGUEZ                   ADDRESS ON FILE
DANIEL DIAZ TORRES                      ADDRESS ON FILE
DANIEL DOBLE REYES                      ADDRESS ON FILE
DANIEL E FLORES LOPEZ                   ADDRESS ON FILE
DANIEL E GASCOT DEL VALLE               ADDRESS ON FILE
DANIEL E GONZALEZ LORENZO               ADDRESS ON FILE
DANIEL E GUTIERREZ VIERA                ADDRESS ON FILE
DANIEL E MARANVILLE RODRIGUEZ           ADDRESS ON FILE
DANIEL E MARTINEZ MORALES               ADDRESS ON FILE
DANIEL E MIGNUCCI PAGAN                 ADDRESS ON FILE
DANIEL E ROSA ABAUNZA                   ADDRESS ON FILE
DANIEL E VELAZQUEZ BATISTA              ADDRESS ON FILE
DANIEL E. MILLIAN MORELL                ADDRESS ON FILE
DANIEL E. MORALES ALVAREZ               ADDRESS ON FILE
DANIEL ERAZO BURGOS                     ADDRESS ON FILE
DANIEL F NIEVES VIERA                   ADDRESS ON FILE
DANIEL FELICIANO FELICINO               ADDRESS ON FILE
DANIEL FELICIANO LARACUENTE             ADDRESS ON FILE
DANIEL FERNANDEZ DBA CARIBBEAN AUTO &   TRUCK SERVICES                            HC 73 BOX 4483 ARCHOTE                                            NARANJITO     PR      00719
DANIEL FERNANDEZ TORRES                 ADDRESS ON FILE
DANIEL FIGUEROA                         ADDRESS ON FILE
DANIEL FIGUEROA CINTRON                 ADDRESS ON FILE
DANIEL FIGUEROA ORTIZ                   ADDRESS ON FILE
DANIEL FIGUEROA OSORIO                  ADDRESS ON FILE
DANIEL FIGUEROA QUILES                  ADDRESS ON FILE
DANIEL FIGUEROA ROBLES                  ADDRESS ON FILE
DANIEL FIGUEROA VALENTIN                ADDRESS ON FILE
DANIEL FIGUEROA Y LUIS FIGUEROA         ADDRESS ON FILE
DANIEL FONTANEZ LOPEZ                   ADDRESS ON FILE
DANIEL FRANCES COLON                    ADDRESS ON FILE
DANIEL G GUADALUPE                      ADDRESS ON FILE
DANIEL GARCIA                           ADDRESS ON FILE
DANIEL GARCIA FUENTE                    ADDRESS ON FILE
DANIEL GARCIA LLANOS                    ADDRESS ON FILE
DANIEL GARCIA MUNIZ                     ADDRESS ON FILE
DANIEL GARCIA SANTIAGO                  ADDRESS ON FILE
DANIEL GONZALEZ AYALA                   ADDRESS ON FILE
DANIEL GONZALEZ MARI                    WANDA I. MARIN LUGO; ARMANDO F. PIETRI TO 1225 AVE. MUÑOZ RIVERA                                            Ponce         PR      00717‐0635
DANIEL GONZALEZ MATOS                   ADDRESS ON FILE
DANIEL GONZALEZ MELENDEZ                ADDRESS ON FILE
DANIEL GONZALEZ NEGRON                  ADDRESS ON FILE
DANIEL GONZALEZ SOTO                    ADDRESS ON FILE
DANIEL GONZALEZ TORRES                  ADDRESS ON FILE
DANIEL GONZALEZ, CARLOS                 ADDRESS ON FILE
DANIEL GONZALEZ, CARLOS                 ADDRESS ON FILE
DANIEL GUERRA SELVA                     ADDRESS ON FILE
DANIEL HENRIQUEZ RAMOS                  ADDRESS ON FILE
DANIEL HERNANDEZ MORALES                ADDRESS ON FILE
DANIEL HERNANDEZ OLIVENCIA              ADDRESS ON FILE
DANIEL HERRERA RIVERA                   LILIBETH ORTIZ CLAUDIO                    200 SIERRA ALTA CARR. 842 BOX 94                                  SAN JUAN      PR      00926
DANIEL HILERIO BLAS                     ADDRESS ON FILE
DANIEL HIRALGO DEL VALLE                ADDRESS ON FILE
DANIEL I MAYSONET PARA HILDA MAISONET   ADDRESS ON FILE
DANIEL IRIZARRY SANCHEZ                 ADDRESS ON FILE
DANIEL IRIZARRY TORRES                  ADDRESS ON FILE
DANIEL J ALEMAN RODRIGUEZ               ADDRESS ON FILE
DANIEL J BONILLA RAMOS                  ADDRESS ON FILE




                                                                                                               Page 2067 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2068 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                            Address1                  Address2                                   Address3   Address4   City       State   PostalCode   Country
DANIEL J CAMERO CAMPUZANO                ADDRESS ON FILE
DANIEL J CAMERO CAMPUZANO                ADDRESS ON FILE
DANIEL J DELGADO COLON                   ADDRESS ON FILE
DANIEL J GALAN KERCADO                   ADDRESS ON FILE
DANIEL J GONZALEZ DIAZ                   ADDRESS ON FILE
DANIEL J GONZALEZ RAMOS                  ADDRESS ON FILE
DANIEL J MUNIZ FLORES                    ADDRESS ON FILE
DANIEL J ORTIZ TORRES                    ADDRESS ON FILE
DANIEL J RIVERA MARTINEZ                 ADDRESS ON FILE
DANIEL J VEGA JIMENEZ                    ADDRESS ON FILE
DANIEL J VEGA SANTIAGO                   ADDRESS ON FILE
DANIEL J. PEREZ RODRIGUEZ                ADDRESS ON FILE
DANIEL JIMENEZ COTTO                     ADDRESS ON FILE
DANIEL JIMENEZ GARCIA                    ADDRESS ON FILE
DANIEL JIMENEZ JIMENEZ                   ADDRESS ON FILE
DANIEL JONES MENDOZA/ PV PROPERTIES INC VALLE SAN LUIS             307 CALLE VILLA DEL CIELO                                        CAGUAS     PR      00725
DANIEL JOSE VALENTIN RIVERA              ADDRESS ON FILE
DANIEL JUAN VAZQUEZ                      ADDRESS ON FILE
DANIEL JUATINIANO JUATINIANO             ADDRESS ON FILE
DANIEL L ESTRADA GARCIA                  ADDRESS ON FILE
DANIEL L NEGRON REYES                    ADDRESS ON FILE
DANIEL L PERNAS MEANA                    ADDRESS ON FILE
DANIEL LABOY COLON                       ADDRESS ON FILE
DANIEL LABOY SANTIAGO                    ADDRESS ON FILE
DANIEL LASALLE CORTES                    ADDRESS ON FILE
DANIEL LAUREANO CINTRON                  ADDRESS ON FILE
DANIEL LAUREANO MARTINEZ                 ADDRESS ON FILE
DANIEL LAURIA, EVANGELINA                ADDRESS ON FILE
DANIEL LEBRON RODRIGUEZ                  ADDRESS ON FILE
DANIEL LINAREZ NUNEZ                     ADDRESS ON FILE
DANIEL LINDERMAN MARIANI                 ADDRESS ON FILE
DANIEL LLANOS VEGA                       ADDRESS ON FILE
DANIEL LLERA RODRIGUEZ                   ADDRESS ON FILE
DANIEL LOPERENA HERNANDEZ                ADDRESS ON FILE
DANIEL LOPEZ CIRILO                      ADDRESS ON FILE
DANIEL LOPEZ GONZALEZ/ ECO ENERGY AGE LL HACIENDA SAN JOSE         542 VIA GUAJANA                                                  CAGUAS     PR      00727
DANIEL LOPEZ ORTIZ                       ADDRESS ON FILE
DANIEL LOPEZ PETRINOVICH                 ADDRESS ON FILE
DANIEL LOPEZ VELEZ                       ADDRESS ON FILE
DANIEL LORENZO MATOS                     ADDRESS ON FILE
DANIEL LUCIANO LEBRON                    ADDRESS ON FILE
DANIEL M GEORGE NUNEZ                    ADDRESS ON FILE
DANIEL M JOHSTON                         ADDRESS ON FILE
DANIEL M MURPHY                          ADDRESS ON FILE
DANIEL M MURPHY                          ADDRESS ON FILE
DANIEL M RODRIGUEZ PEREZ                 ADDRESS ON FILE
DANIEL M SNTIAGO BERRIOS                 ADDRESS ON FILE
DANIEL M SOTO DEIDA                      ADDRESS ON FILE
DANIEL M TORRES MELENDEZ /NYDIA MELENDEZADDRESS ON FILE
DANIEL MALAVE GONZALEZ                   ADDRESS ON FILE
DANIEL MALDONADO GUZMAN                  ADDRESS ON FILE
DANIEL MALDONADO MALDONADO               ADDRESS ON FILE
DANIEL MALDONADO SIERRA                  ADDRESS ON FILE
DANIEL MARIN AYALA                       ADDRESS ON FILE
DANIEL MARRERO QUINONES                  ADDRESS ON FILE
DANIEL MARTES ORTIZ                      ADDRESS ON FILE
DANIEL MARTES PEDRAZA                    ADDRESS ON FILE
DANIEL MARTINEZ CARRASQUILLO             ADDRESS ON FILE
DANIEL MARTINEZ DIAZ                     ADDRESS ON FILE
DANIEL MARTINEZ GARCIA                   ADDRESS ON FILE




                                                                                               Page 2068 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2069 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
DANIEL MARTINEZ GONZALEZ         ADDRESS ON FILE
DANIEL MARTINEZ HERNANDEZ        ADDRESS ON FILE
DANIEL MARTINEZ LUCIANO          ADDRESS ON FILE
DANIEL MARTINEZ OQUENDO          ADDRESS ON FILE
DANIEL MARTINEZ RODRIGUEZ        ADDRESS ON FILE
DANIEL MARTINEZ TORRES           ADDRESS ON FILE
DANIEL MARZAN COLLAZO            ADDRESS ON FILE
DANIEL MASVIDAL CALDERON         ADDRESS ON FILE
DANIEL MATIAS ROMAN              ADDRESS ON FILE
DANIEL MATOS CARABALLO           ADDRESS ON FILE
DANIEL MATOS HERNÁNDEZ           SR. DANIEL MATOS HERNÁNDEZ   PO BOX 42003                                        AIBINITO     PR      00705
DANIEL MEJIL ORTIZ               ADDRESS ON FILE
DANIEL MELENDEZ DIAZ             ADDRESS ON FILE
DANIEL MEMORIAL INSTITUTE        PO BOX 194090                                                                    SAN JUAN     FL      00919‐4090
DANIEL MERCADO AYALA             ADDRESS ON FILE
DANIEL MIGNUCCI PAGAN            ADDRESS ON FILE
DANIEL MILIAN TORRES             ADDRESS ON FILE
DANIEL MILLAN SANTANA            ADDRESS ON FILE
DANIEL MOLINA JUSTINIANO         ADDRESS ON FILE
DANIEL MOLINA SANTIAGO           ADDRESS ON FILE
DANIEL MONSERRATE ROSADO         ADDRESS ON FILE
DANIEL MONTANEZ CANALES          ADDRESS ON FILE
DANIEL MONTES TORRES             ADDRESS ON FILE
DANIEL MONTOTO RAMIREZ           ADDRESS ON FILE
DANIEL MORA BATISTA              ADDRESS ON FILE
DANIEL MORA MORALES              ADDRESS ON FILE
DANIEL MORA ROSA                 ADDRESS ON FILE
DANIEL MORALES                   ADDRESS ON FILE
DANIEL MORALES SAEZ              ADDRESS ON FILE
DANIEL MORRIS RUIZ               ADDRESS ON FILE
DANIEL MORRISON NOBLE            ADDRESS ON FILE
DANIEL MUNOZ FERNOS              ADDRESS ON FILE
DANIEL MUNOZ GARCIA              ADDRESS ON FILE
DANIEL MUNOZ NAZARIO             ADDRESS ON FILE
DANIEL MUNS GARCIA               ADDRESS ON FILE
DANIEL NAJAC, JEAN               ADDRESS ON FILE
DANIEL NAZARIO NEGRON            ADDRESS ON FILE
DANIEL NEGRON DE JESUS           ADDRESS ON FILE
DANIEL NIEVES ORTEGA             ADDRESS ON FILE
DANIEL NIEVES/ VICTORIA NIEVES   ADDRESS ON FILE
DANIEL NUNEZ DEL VALLE           ADDRESS ON FILE
DANIEL NUNEZ VALLE               ADDRESS ON FILE
DANIEL NUNEZ VALLE               ADDRESS ON FILE
DANIEL O MELENDEZ RIVERA         ADDRESS ON FILE
DANIEL O SALICRUP MELENDEZ       ADDRESS ON FILE
DANIEL OCASIO FERNANDEZ          ADDRESS ON FILE
DANIEL OCASIO LOZADA             ADDRESS ON FILE
DANIEL OJEDA RIVERA              ADDRESS ON FILE
DANIEL OQUENDO FIGUEROA          ADDRESS ON FILE
DANIEL ORONA /ADELIZ GARCIA      ADDRESS ON FILE
DANIEL OROPEZA RODRIGUEZ         ADDRESS ON FILE
DANIEL ORTIZ                     ADDRESS ON FILE
DANIEL ORTIZ CRESPO              ADDRESS ON FILE
DANIEL ORTIZ CRUZ                ADDRESS ON FILE
DANIEL ORTIZ GABRIEL             ADDRESS ON FILE
DANIEL ORTIZ ORTIZ               ADDRESS ON FILE
DANIEL ORTIZ RIVERA              ADDRESS ON FILE
DANIEL OSORIO MARTINEZ           ADDRESS ON FILE
DANIEL OSORIO QUINONES           ADDRESS ON FILE
DANIEL OTERO ROSARIO             ADDRESS ON FILE




                                                                             Page 2069 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2070 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                           Address1                                   Address2                                      Address3    Address4   City         State   PostalCode   Country
DANIEL OTERO ROSARIO                    ADDRESS ON FILE
DANIEL OYOLA DBA X‐TREME OFFICE         CALLE JOSE DE DIEGO SEXTA SECCION LEVITOWN                                                                      Toa Baja     PR      00949
DANIEL PABON LEBRON                     ADDRESS ON FILE
DANIEL PABON MARTINEZ                   ADDRESS ON FILE
DANIEL PABON VELAZQUEZ                  ADDRESS ON FILE
DANIEL PADILLA CANCEL                   ADDRESS ON FILE
DANIEL PADILLA CANGEL                   ADDRESS ON FILE
DANIEL PADILLA TORRES                   ADDRESS ON FILE
DANIEL PAGAN BLANCO                     ADDRESS ON FILE
DANIEL PAGAN DIAZ                       ADDRESS ON FILE
DANIEL PANTOJA PARES                    ADDRESS ON FILE
DANIEL PASCUAL PERALTA                  ADDRESS ON FILE
DANIEL PELAEZ SERRANO                   ADDRESS ON FILE
DANIEL PERALTA RIVERA                   DANIEL PERALTA RIVERA (POR DERECHO PROPIO VILLAS DEL MADRIGAL B‐3 CALLE 1                                       CAROLINA     PR      00987
DANIEL PEREZ MORO DBA PEREZ OFFICE      EQUIPMENT                                  HC 5 BOX 15119                                                       MOCA         PR      00676
DANIEL PEREZ NIEVES                     ADDRESS ON FILE
DANIEL PEREZ PEREZ                      ADDRESS ON FILE
DANIEL PEREZ PEREZ                      ADDRESS ON FILE
DANIEL PEREZ RODRIGUEZ                  ADDRESS ON FILE
DANIEL PEREZ SANTIAGO                   ADDRESS ON FILE
DANIEL PEREZ TORRES                     ADDRESS ON FILE
DANIEL PERNAS BECEIRO                   ADDRESS ON FILE
DANIEL PERNIKOFF AUERBACH               ADDRESS ON FILE
DANIEL PETERSEN, MARIE                  ADDRESS ON FILE
DANIEL PIZARRO CORREA                   ADDRESS ON FILE
DANIEL PLACENCIA ROSARIO                ADDRESS ON FILE
DANIEL PLAZA MEDINA                     ADDRESS ON FILE
DANIEL PLAZA SANTANA                    ADDRESS ON FILE
DANIEL QUINONES VAZQUEZ                 ADDRESS ON FILE
DANIEL QUINONEZ DE JESUS                ADDRESS ON FILE
DANIEL R ALTSCHULER STERN               ADDRESS ON FILE
DANIEL R ALVARADO BUONOMO               ADDRESS ON FILE
DANIEL R NIEVES CEDRIS                  ADDRESS ON FILE
Daniel R. Rodriguez DBA Rodriguez Air   Urb. Valle Alto Calle Colina #2161                                                                              Ponce        PR      00730
DANIEL RAMOS ROSADO                     ADDRESS ON FILE
DANIEL REYES ACEVEDO                    ADDRESS ON FILE
DANIEL REYES BETANCOURT                 ADDRESS ON FILE
DANIEL REYES CUEVAS                     ADDRESS ON FILE
DANIEL RIOS LOPEZ/BLANCA MARTINEZ       ADDRESS ON FILE
DANIEL RIOS MARTINEZ                    ADDRESS ON FILE
DANIEL RIOS ROSADO                      ADDRESS ON FILE
DANIEL RIVERA                           ADDRESS ON FILE
DANIEL RIVERA ALVAREZ                   ADDRESS ON FILE
DANIEL RIVERA AUFANT                    DANIEL RIVERA AUFFANT                      HC‐01PMB 771                                  BOX 29030              CAGUAS       PR      00725
DANIEL RIVERA AUFFANT                   ADDRESS ON FILE
DANIEL RIVERA BUSCAGLIA                 ADDRESS ON FILE
DANIEL RIVERA DIAZ                      ADDRESS ON FILE
DANIEL RIVERA GOMEZ                     ADDRESS ON FILE
DANIEL RIVERA GONZALEZ                  ADDRESS ON FILE
DANIEL RIVERA HERNANDEZ                 ADDRESS ON FILE
DANIEL RIVERA MARQUEZ                   ADDRESS ON FILE
Daniel Rivera Merced                    ADDRESS ON FILE
DANIEL RIVERA OQUENDO                   ADDRESS ON FILE
DANIEL RIVERA PEREZ                     ADDRESS ON FILE
DANIEL RIVERA RIVERA                    ADDRESS ON FILE
DANIEL RIVERA RUIZ                      ADDRESS ON FILE
DANIEL RIVERA RUIZ                      ADDRESS ON FILE
DANIEL RIVERA RUIZ                      ADDRESS ON FILE
DANIEL RIVERA SANTOS                    ADDRESS ON FILE
DANIEL RIVERA TORRES                    ADDRESS ON FILE




                                                                                                               Page 2070 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2071 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                          Address1                                  Address2                     Address3   Address4   City       State   PostalCode   Country
DANIEL RIVERA VARGAS                   ADDRESS ON FILE
DANIEL RIVERA VELEZ                    ADDRESS ON FILE
DANIEL RIVERA, ENID                    ADDRESS ON FILE
DANIEL RODRIGUEZ APONTE                ADDRESS ON FILE
DANIEL RODRIGUEZ APONTE                ADDRESS ON FILE
DANIEL RODRIGUEZ APONTE                ADDRESS ON FILE
DANIEL RODRIGUEZ BERNARD               ADDRESS ON FILE
DANIEL RODRIGUEZ ERAZO                 ADDRESS ON FILE
DANIEL RODRIGUEZ ERAZO                 ADDRESS ON FILE
DANIEL RODRIGUEZ ERAZO                 ADDRESS ON FILE
DANIEL RODRIGUEZ GONZALEZ              ADDRESS ON FILE
DANIEL RODRIGUEZ HERRERA               ADDRESS ON FILE
DANIEL RODRIGUEZ MALDONADO             ADDRESS ON FILE
DANIEL RODRIGUEZ MARTINEZ              ADDRESS ON FILE
DANIEL RODRIGUEZ MONTES                ADDRESS ON FILE
DANIEL RODRIGUEZ NEGRON                ADDRESS ON FILE
DANIEL RODRIGUEZ NIEVES                ADDRESS ON FILE
DANIEL RODRIGUEZ ORTIZ                 ADDRESS ON FILE
DANIEL RODRÍGUEZ RIVERA                LIC. LUIS RAMON RODRÍGUEZ CINTRÓN ‐ ABOGA PO BOX 6407                                        CAGUAS     PR      00726
DANIEL RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
DANIEL RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
DANIEL RODRIGUEZ SANTIAGO Y NELSON D   ADDRESS ON FILE
DANIEL RODRIGUEZ SERRA                 ADDRESS ON FILE
DANIEL ROJAS KALIBACH                  ADDRESS ON FILE
DANIEL ROLDAN VAZQUEZ                  ADDRESS ON FILE
DANIEL ROMAN RODRIGUEZ                 ADDRESS ON FILE
DANIEL ROMAN ROSARIO                   ADDRESS ON FILE
DANIEL RONDON NUNEZ                    ADDRESS ON FILE
DANIEL ROSADO ALFONSO                  ADDRESS ON FILE
DANIEL ROSADO NIEVES                   ADDRESS ON FILE
DANIEL ROSARIO AGOSTO                  ADDRESS ON FILE
DANIEL ROSARIO DORTA                   ADDRESS ON FILE
DANIEL ROSARIO ROSARIO                 ADDRESS ON FILE
DANIEL RUIZ RODRIGUEZ                  ADDRESS ON FILE
DANIEL SAENZ DIEZ CABELLO              ADDRESS ON FILE
DANIEL SAEZ NEGRON                     ADDRESS ON FILE
DANIEL SALCEDO                         ADDRESS ON FILE
DANIEL SANCHEZ                         ADDRESS ON FILE
DANIEL SANDOVAL RAMOS                  ADDRESS ON FILE
DANIEL SANTAELLA, DAHRMA I.            ADDRESS ON FILE
DANIEL SANTANA CARABALLO               ADDRESS ON FILE
DANIEL SANTELL DIAZ                    ADDRESS ON FILE
DANIEL SANTIAGO CALCAðO                ADDRESS ON FILE
DANIEL SANTIAGO CALCANO                ADDRESS ON FILE
DANIEL SANTIAGO CALCANO                ADDRESS ON FILE
DANIEL SANTIAGO FERNANDEZ              ADDRESS ON FILE
DANIEL SANTIAGO OCASIO                 ADDRESS ON FILE
DANIEL SANTIAGO RAMOS                  ADDRESS ON FILE
DANIEL SANTIAGO SANCHEZ                ADDRESS ON FILE
DANIEL SCHULTZ CRUZ                    ADDRESS ON FILE
DANIEL SEPULVEDA ALMODOVAR             ADDRESS ON FILE
DANIEL SERRANO GONZALEZ                ADDRESS ON FILE
DANIEL SERRANO LOPEZ                   ADDRESS ON FILE
DANIEL SERRANO NIEVES                  ADDRESS ON FILE
DANIEL SIERRA MAYA                     ADDRESS ON FILE
DANIEL SILVA TORRES                    ADDRESS ON FILE
DANIEL SISMONDI                        ADDRESS ON FILE
DANIEL SOLIS ORTIZ                     ADDRESS ON FILE
DANIEL SONERA RIVERA                   ADDRESS ON FILE
DANIEL SOSA VAZQUEZ                    ADDRESS ON FILE




                                                                                               Page 2071 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2072 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                            Address1                     Address2                              Address3   Address4   City         State   PostalCode   Country
DANIEL SOTO MARTINEZ                     ADDRESS ON FILE
DANIEL SUAREZ RODRIGUEZ                  ADDRESS ON FILE
DANIEL T QUINONES ZAMBRANA               ADDRESS ON FILE
DANIEL TEXEIRA ORSINI                    ADDRESS ON FILE
DANIEL TORRES CARMONA                    ADDRESS ON FILE
DANIEL TORRES GARCIA                     ADDRESS ON FILE
DANIEL TORRES MARTINEZ                   ADDRESS ON FILE
DANIEL TORRES PEREZ                      ADDRESS ON FILE
DANIEL TORRES URRUTIA                    ADDRESS ON FILE
DANIEL V SIERRA ALICEA                   ADDRESS ON FILE
DANIEL VALENTIN FIGUEROA                 ADDRESS ON FILE
DANIEL VALENTIN GARCIA                   ADDRESS ON FILE
DANIEL VALENTIN RODRIGUEZ                ADDRESS ON FILE
DANIEL VAZQUEZ LOPEZ                     ADDRESS ON FILE
DANIEL VAZQUEZ MERCADO                   ADDRESS ON FILE
DANIEL VAZQUEZ NIEVES                    ADDRESS ON FILE
DANIEL VAZQUEZ SANTIAGO                  ADDRESS ON FILE
DANIEL VAZQUEZ SANTIAGO                  ADDRESS ON FILE
DANIEL VEGA GOMEZ                        ADDRESS ON FILE
DANIEL VEGA JOURDAN                      ADDRESS ON FILE
DANIEL VEGA RODRIGUEZ                    ADDRESS ON FILE
DANIEL VELAZQUEZ                         ADDRESS ON FILE
DANIEL VELAZQUEZ ROMAN                   ADDRESS ON FILE
DANIEL VELAZQUEZ VINCHIRA                ADDRESS ON FILE
DANIEL VELEZ                             ADDRESS ON FILE
DANIEL VELEZ ROMAN                       ADDRESS ON FILE
DANIEL VERA DIAZ                         ADDRESS ON FILE
DANIEL VERA PINO                         ADDRESS ON FILE
DANIEL VIDAL LORENZO                     ADDRESS ON FILE
DANIEL VIERRA AVILA                      ADDRESS ON FILE
DANIEL VILLEGAS RODRIGUEZ                ADDRESS ON FILE
DANIEL VIRUET GONZALEZ                   ADDRESS ON FILE
DANIEL ZENON CASILLAS                    ADDRESS ON FILE
DANIEL, MATTHEW                          ADDRESS ON FILE
DANIELA ARROYO GONZALEZ                  CELINA ROMANY SIACA          PMB 291 #1353 RD. 19                                        GUAYNABO     PR      00966
DANIELA CARMONA SOSA                     ADDRESS ON FILE
DANIELA DIAZ VILLALOBOS                  ADDRESS ON FILE
DANIELA DUPERROY MERCADO                 ADDRESS ON FILE
DANIELA I MARTINEZ RODRIGUEZ             ADDRESS ON FILE
DANIELA M MELENDEZ RODRIGUEZ             ADDRESS ON FILE
DANIELA MORA SANTANA                     ADDRESS ON FILE
DANIELA N NEGRON A/C SONIA TORRES DIAZ   ADDRESS ON FILE
DANIELA PAGAN GILLETE                    LCDO. HAROLD VICENTE COLON   POBox 11609                                                 San Juan     PR      00910‐1609
DANIELA RIVERA RIVERA                    ADDRESS ON FILE
DANIELA SEPULVEDA / ROBERTO SEPULVEDA    ADDRESS ON FILE
DANIELA VARGAS CRESPO                    ADDRESS ON FILE
DANIELITH M. RALAT ORTIZ                 ADDRESS ON FILE
DANIELITO ZORRILLA DE LA ROSA            ADDRESS ON FILE
DANIELLA E RODRIGUEZ REYES               ADDRESS ON FILE
DANIELLE AHERN                           ADDRESS ON FILE
DANIELLIE RODRIGUEZ BULGALA              ADDRESS ON FILE
DANIELS MARQUEZ, JOHN D                  ADDRESS ON FILE
DANIELS VIGO, CARLOS R.                  ADDRESS ON FILE
DANIELS VIGO, CARLOS R.                  ADDRESS ON FILE
DANIELS, JAMES                           ADDRESS ON FILE
DANIELSEN MORALES, CECILE                ADDRESS ON FILE
DANIELSEN MORALES, CECILE                ADDRESS ON FILE
DANIELY RIOS MORA                        ADDRESS ON FILE
DANIESKA L CARRION GARCIA                ADDRESS ON FILE
DANIEZ PEREZ HERNANDEZ                   ADDRESS ON FILE




                                                                                             Page 2072 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2073 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                           Address1                               Address2                                   Address3   Address4   City         State   PostalCode   Country
DANIKA GUZMAN CHAMORRA                  ADDRESS ON FILE
DANIL J VERA CARABALLO                  ADDRESS ON FILE
DANILO BEAUCHAMP ROIG                   ADDRESS ON FILE
DANILO D RUIZ Y LUISA Y GUERRERO        ADDRESS ON FILE
DANILO MARCHENA BELTRE                  ADDRESS ON FILE
DANILO MARCHENA BELTRE                  ADDRESS ON FILE
DANILO MONTALVO VELEZ                   ADDRESS ON FILE
DANILO RODRIGUEZ RIVERA                 ADDRESS ON FILE
DANILO SOLER DE JESUS                   ADDRESS ON FILE
DANILU RODRIGUEZ BURGOS                 ADDRESS ON FILE
DANIORIS SANTIAGO ARZUAGA               ADDRESS ON FILE
DANIRA MUNIZ FLORES                     ADDRESS ON FILE
DANIRIS OCASIO MORALES                  ADDRESS ON FILE
DANISBEL COLON GARCIA                   ADDRESS ON FILE
DANITO ALUMINUM INC                     PO BOX 644                                                                                              COAMO        PR      00769
DANITZA BRUNO DAVILA                    ADDRESS ON FILE
DANITZA I NUNEZ SANTIAGO                ADDRESS ON FILE
DANITZA M. PÉREZ COTTO                  SINDICATO PUERTORRIQUEÑO DE TRABAJADOREPO BOX 25160 RIO PIEDRAS STATION                                 SAN JUAN     PR      00925‐5160
DANITZA RODRIGUEZ GONZALEZ              ADDRESS ON FILE
DANITZA VAZQUEZ MACCARINI/ MIGUEL VAZQU ADDRESS ON FILE
DANIVETTE MIRANDA MIRANDA               ADDRESS ON FILE
DANIZA CRESPO GONZALEZ                  ADDRESS ON FILE
DANKA DE PUERTO RICO                    PO BOX 70176                                                                                            SAN JUAN     PR      00936‐8176
DANL MATHIESON MD, ROBERT               ADDRESS ON FILE
DANNER A BELTRAN RUIZ                   ADDRESS ON FILE
DANNER RODRIGUEZ, ANNETTE               ADDRESS ON FILE
DANNER RODRIGUEZ, ANNETTE M             ADDRESS ON FILE
DANNETTE SEBASTIAN ESTEBAN              ADDRESS ON FILE
DANNETTE V ARROYO RIVERA                ADDRESS ON FILE
DANNILCA CEPEDA CALCANO                 ADDRESS ON FILE
DANNY BELTRAN CORTES                    ADDRESS ON FILE
DANNY CALO FLORES                       ADDRESS ON FILE
DANNY CARRASQUILLO NEIRA                ADDRESS ON FILE
DANNY CASTRO ARZON                      ADDRESS ON FILE
DANNY CEDENO                            ADDRESS ON FILE
DANNY COLLAZO SEPULVEDA                 ADDRESS ON FILE
DANNY COLON MEDINA                      ADDRESS ON FILE
DANNY COLON RIVERA                      ADDRESS ON FILE
DANNY CORDERO VEGA                      ADDRESS ON FILE
DANNY CORREA TORRES                     ADDRESS ON FILE
DANNY D GONZALEZ ALVARADO               ADDRESS ON FILE
DANNY D QUINONES HILERIO                ADDRESS ON FILE
DANNY D RIVERA GONZALEZ                 ADDRESS ON FILE
DANNY DE JESUS DE JESUS                 ADDRESS ON FILE
DANNY DE JESUS GONZALEZ                 ADDRESS ON FILE
DANNY DIAZ RODRIGUEZ                    ADDRESS ON FILE
DANNY DOMINGUEZ                         HERIBERTO GUIVAS LORENZO               HC‐03 BOX 39605                                                  AGUADA       PR      00602
DANNY DOMINGUEZ 685‐949                 LCDO. HERIBERTO GUIVAS                 HC‐03 BOX 39605                                                  AGUADA       PR      00602
DANNY GONZALEZ CABAN                    ADDRESS ON FILE
DANNY J CORREA NEBET                    ADDRESS ON FILE
DANNY JAMES FEBO                        ADDRESS ON FILE
DANNY JAVIER PEREZ                      ADDRESS ON FILE
DANNY LOPEZ RIVERA                      ADDRESS ON FILE
DANNY LORENZO MORALES                   ADDRESS ON FILE
DANNY M RIVERA RIVERA                   ADDRESS ON FILE
DANNY MALDONADO RAMOS                   ADDRESS ON FILE
DANNY NEGRON VARGAS                     ADDRESS ON FILE
DANNY NIEVES                            ADDRESS ON FILE
DANNY NIEVES TORRES                     ADDRESS ON FILE
DANNY NUNEZ                             ADDRESS ON FILE




                                                                                                           Page 2073 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2074 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                         Address1                                 Address2                       Address3   Address4   City              State   PostalCode   Country
DANNY OLIVERAS BAEZ                   ADDRESS ON FILE
DANNY ORTIZ CASILLAS                  ADDRESS ON FILE
DANNY ORTIZ ESTREMERA                 ADDRESS ON FILE
Danny Ortiz Rosario y Aixadel Velez   ADDRESS ON FILE
DANNY PADILLA ORTIZ                   ADDRESS ON FILE
DANNY QUINONES APONTE                 ADDRESS ON FILE
DANNY QUINONES MARQUEZ                ADDRESS ON FILE
DANNY QUINTANA QUINONES               ADDRESS ON FILE
DANNY R DENNIS OSWALD                 ADDRESS ON FILE
DANNY R VALENTIN GUZMAN               ADDRESS ON FILE
DANNY RAMOS DIAZ                      ADDRESS ON FILE
DANNY RIVERA ALVARADO                 ADDRESS ON FILE
DANNY RIVERA PANTOJA                  ADDRESS ON FILE
DANNY RIVERA RIVERA                   ADDRESS ON FILE
DANNY RODRIGUEZ CARRSQUILLO           ADDRESS ON FILE
DANNY ROSADO RODRIGUEZ                ADDRESS ON FILE
DANNY SANTIAGO CARBO                  ADDRESS ON FILE
DANNY SANTIAGO DELGADO                ADDRESS ON FILE
DANNY SANTIAGO TORRES                 ADDRESS ON FILE
DANNY SANTIAGO VIVIER                 ADDRESS ON FILE
DANNY SANTOS CASTRO                   ADDRESS ON FILE
DANNY SERVICE STATION                 156 ESTE AVE MUNOZ RIVERA                                                                     CAMUY             PR      00627
DANNY TEJEDA ROSADO                   ADDRESS ON FILE
DANNY TOLENTINO DAVILA                ADDRESS ON FILE
DANNY TORRES FERNANDEZ                ADDRESS ON FILE
DANNY TORRES ORTIZ                    ADDRESS ON FILE
DANNY VALENTIN RIVERA                 ADDRESS ON FILE
DANNYS ENGRAVING                      AVE MAIN 12‐38 URB SANTA ROSA                                                                 BAYAMON           PR      00959
DANNYS M SEMPRIT SOTO                 ADDRESS ON FILE
DANOIS ACOSTA, ONESIMO                ADDRESS ON FILE
DANOIS DORTILUS, CLAUDE               ADDRESS ON FILE
DANOIS FIGUEROA, ANGEL L              ADDRESS ON FILE
DANOIS FIGUEROA, JAIME L.             ADDRESS ON FILE
DANOIS MD CORP                        PO BOX 362039                                                                                 SAN JUAN          PR      00936‐2039
DANOIS PEREIRA, GUALBERTO             ADDRESS ON FILE
Danois Rodriguez, Hector              ADDRESS ON FILE
DANOIS ROMAN, EDIL A.                 ADDRESS ON FILE
DANOIS VAZQUEZ, JOSE                  ADDRESS ON FILE
DANOIS VELEZ, FELIX                   ADDRESS ON FILE
DANOIS VELEZ, YAMIL                   ADDRESS ON FILE
DANOSA CARIBBEAN INC                  PO BOX 13757                                                                                  SAN JUAN          PR      00908
DANOSA CARIBBEAN INC                  SANTURCE STATION                         PO BOX 13757                                         SAN JUAN          PR      00908‐3757
DANOYS FIGUEROA, CARMEN L             ADDRESS ON FILE
DANTAS FRANCA, ANDREA                 ADDRESS ON FILE
DANTAS MARIN, ANGELA C                ADDRESS ON FILE
DANTOINE ROMERO RIVERA                ADDRESS ON FILE
DANTON MASS, FRANCH                   ADDRESS ON FILE
DANTON MONTEAGUDO, DAVICELI           ADDRESS ON FILE
DANULKA VARGAS TORRES                 ADDRESS ON FILE
DANULKA VARGAS TORRES                 ADDRESS ON FILE
DANUS REYES, MICHAEL E.               ADDRESS ON FILE
Danuz Reyes, Michael E                ADDRESS ON FILE
DANUZ REYES, MICHAEL E.               LCDO. JUAN HERNANDEZ LOPEZ DE VICTORIA   PO BOX.190233                                        SAN JUAN          PR      00919‐0233
DANYA INT'L INC                       8737 COLESVILLE RD 1200                                                                       SILVER SPRING     MD      20910‐3811
DANYALEE MARTINEZ BEYLEY              ADDRESS ON FILE
DANYERIS CASANAS FIGUEROA             ADDRESS ON FILE
DANYSELL RUIZ ALVAREZ                 ADDRESS ON FILE
DANZACTIVA INC                        PMB 131 P O BOX 194000                                                                        SAN JUAN          PR      00919‐4000
DANZOT ARROYO, ROMULO                 ADDRESS ON FILE
DANZOT MEDINA, ROMULO                 ADDRESS ON FILE




                                                                                               Page 2074 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2075 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                         Address1                  Address2                             Address3   Address4   City          State   PostalCode   Country
DANZOT SANCHEZ, MARIAM                ADDRESS ON FILE
DANZOT SANCHEZ, ROMULO                ADDRESS ON FILE
DAP CONSTRUCTION &DEVELOPMENT CORP    PO BOX 10000                                                                         CAYEY         PR      00737‐9601
DAPENA COSTAS, JOSE                   ADDRESS ON FILE
DAPENA GUZMAN, MICHELL                ADDRESS ON FILE
DAPENA PEREZ, ANA                     ADDRESS ON FILE
DAPENA RODRIGUEZ, JOSUE               ADDRESS ON FILE
DAPHANE RAMOS CEDEÐO                  ADDRESS ON FILE
DAPHANE RAMOS CEDENO                  ADDRESS ON FILE
DAPHNA DORON FLORES                   ADDRESS ON FILE
DAPHNE A HERNÁNDEZ FERRER             ADDRESS ON FILE
DAPHNE ALEMAN SANTANA                 ADDRESS ON FILE
DAPHNE APONTE RAMOS                   ADDRESS ON FILE
DAPHNE CAMACHO GONZALEZ               ADDRESS ON FILE
DAPHNE CINTRON NIEVES                 ADDRESS ON FILE
DAPHNE COMAS FLORES                   ADDRESS ON FILE
DAPHNE ESPINO RAMIREZ                 ADDRESS ON FILE
DAPHNE ETAPOLLON INC                  COLINAS DE CUPEY          D 7 CALLE 1                                                SAN JUAN      PR      00926
DAPHNE I PEREZ ORTIZ                  ADDRESS ON FILE
DAPHNE L BERRIOS MARTINEZ             ADDRESS ON FILE
DAPHNE MORAN RIVERA                   ADDRESS ON FILE
DAPHNE OSORIO LEBRON                  ADDRESS ON FILE
DAPHNE QUINONEZ CALDERON              ADDRESS ON FILE
DAPHNE REYES DIAZ                     ADDRESS ON FILE
DAPHNE RODRIGUEZ FIGUEREO             ADDRESS ON FILE
DAPHNE SANTIAGO MORALES               ADDRESS ON FILE
DAPHNE SANTIAGO RODRIGUEZ             ADDRESS ON FILE
DAPHNE SEPULVEDA AYMAT/ ECO ENERGY    AGE LLC                   203 URB CAGUAS REAL                                        CAGUAS        PR      00725
DAPHNE TIRADO UBIDES                  ADDRESS ON FILE
DAPHNE Y TORRES ORTIZ                 ADDRESS ON FILE
DAPHNE Y TORRES ORTIZ                 ADDRESS ON FILE
DAPHNEE M MOJICA VÁZQUEZ              ADDRESS ON FILE
DAPHNEY MENDEZ SILVA                  ADDRESS ON FILE
DARA CONSULTING GROUP INCORPORATED    469 AVE. ESMERALDA        APT. 122                                                   GUAYNABO      PR      00969
DARA O SANES ROSA                     ADDRESS ON FILE
DARA W FONSECA ALICEA                 ADDRESS ON FILE
DARALY ALVAREZ FONSECA                ADDRESS ON FILE
DARALY QUIROS VAZQUEZ                 ADDRESS ON FILE
DARAUCHE ANDUJAR, RAUL                ADDRESS ON FILE
DARBY, MICHAEL J.                     ADDRESS ON FILE
DARDER COLON, EDGARD M                ADDRESS ON FILE
DARDER CRUZ,WILLIAM                   ADDRESS ON FILE
DARDER FIGUEROA, ALEXANDER            ADDRESS ON FILE
DARDER FIGUEROA, RAFAEL               ADDRESS ON FILE
DARDER GONZALEZ, IVELISSE             ADDRESS ON FILE
DARDIZ GUTIERREZ, INES M              ADDRESS ON FILE
DARDIZ ORTIZ, SYNTIA                  ADDRESS ON FILE
DARE GROUP INC / RUBEN VELEZ GARCIA   MSC 300                   5 B AVE ESMERALDA                                          GUAYNABO      PR      00969‐4457
DARELL IAN SOLER IRIZARRY             ADDRESS ON FILE
DARELY VILLEGAS MAYSONET              ADDRESS ON FILE
DARELYS JIMENEZ FELICIANO             ADDRESS ON FILE
DAREM J DAVILA LOPEZ                  ADDRESS ON FILE
DAREM JESSICA DAVILA LOPEZ            ADDRESS ON FILE
DAREN CEBALLOS COSMA                  ADDRESS ON FILE
DAREN GARCIA ZAPATA                   ADDRESS ON FILE
DAREX PUERTO RICO INC                 62 WHITTEMORE AVE                                                                    CAMBRIDGE     MA      02140
DARIA VELAZQUEZ VALLE                 ADDRESS ON FILE
DARIAM ACEVEDO SANTIAGO               ADDRESS ON FILE
DARIAM MORALES LOPEZ                  ADDRESS ON FILE
DARIAN N CRESPO SANCHEZ               ADDRESS ON FILE




                                                                                      Page 2075 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2076 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                       Address1                            Address2                    Address3   Address4   City        State   PostalCode   Country
DARIANA L ORTIZ TORRES              ADDRESS ON FILE
DARIANA LOPEZ ROSARIO               ADDRESS ON FILE
DARIANA M CORDERO GOMEZ             ADDRESS ON FILE
DARIANA MERCADO RIVERA              LCDO. JAIME B. GONZALEZ MALDONADO   PO BOX 777                                        ARECIBO     PR      00613
DARIANA RIVERA CORREA               ADDRESS ON FILE
DARIANA Y MORALES RODRIGUEZ         ADDRESS ON FILE
DARIANNE MORALES RAMIREZ            ADDRESS ON FILE
DARICE DEL CARMEN OROBITG BRENES    ADDRESS ON FILE
DARIDA PEREZ MARRERO                ADDRESS ON FILE
DARIEL A RIVERA HEVIA               ADDRESS ON FILE
DARIEL A RIVERA MARIN               ADDRESS ON FILE
DARIEL CAMARA CALDERON              ADDRESS ON FILE
DARIEL J CARTAGENA MELENDEZ         ADDRESS ON FILE
DARIEL J. IRIZARRY DE JESUS         ADDRESS ON FILE
DARIEL MORALES RAMOS                ADDRESS ON FILE
DARIEL PENA POLANCO / JOSE A PENA   ADDRESS ON FILE
DARIEL RODRIGUEZ LABOY              ADDRESS ON FILE
DARIELYS CORDERO ROSARIO            ADDRESS ON FILE
DARIELYS NIEVES PEREZ               ADDRESS ON FILE
DARIEN DAWAY GRIFFIN                ADDRESS ON FILE
DARILIS I TORRES FIGUEROA           ADDRESS ON FILE
DARILYN HUERTAS SANTIAGO            ADDRESS ON FILE
DARILYS GONZALEZ RAMOS              ADDRESS ON FILE
DARILYS PEREZ GARCIA                ADDRESS ON FILE
DARIMAR AYALA ORTEGA                ADDRESS ON FILE
DARIMAR SALOME ROSADO               ADDRESS ON FILE
DARIMAR TORRES RODRIGUEZ            ADDRESS ON FILE
DARIO A. MARTINEZ TIBEN             ADDRESS ON FILE
DARIO E VIDAL VELAZQUEZ             ADDRESS ON FILE
DARIO J STAWSKI SIFRAN              ADDRESS ON FILE
DARIO MARQUEZ, ZULMA                ADDRESS ON FILE
DARIO MARTINEZ TIBEN                ADDRESS ON FILE
DARIO N CEDO GAUDIER                ADDRESS ON FILE
DARIO RAMOS CRUZ                    ADDRESS ON FILE
DARIO ROJO                          ADDRESS ON FILE
DARIO VARGAS NIEVES                 ADDRESS ON FILE
DARIO W ORTIZ CINTRON               ADDRESS ON FILE
DARIO W ORTIZ SEDA                  ADDRESS ON FILE
DARIS I CORCHADO ALERS              ADDRESS ON FILE
DARIS M FRAGOSO RIVERA              ADDRESS ON FILE
DARIS M FRAGOSO RIVERA              ADDRESS ON FILE
DARISABEL HEREDIA OQUENDO           ADDRESS ON FILE
DARISEL LOZADA TORRES               ADDRESS ON FILE
DARITHZABEL MIGUELES MERCADO        ADDRESS ON FILE
DARITZA ALICANO CALDETRON           ADDRESS ON FILE
DARITZA PEREZ DIAZ                  ADDRESS ON FILE
DARITZA RIVERA MONTERO              ADDRESS ON FILE
DARITZA VELAZQUEZ PRADOS            ADDRESS ON FILE
DARLEEN GONZALEZ VALENTIN           ADDRESS ON FILE
DARLEEN RIVAS CORREA                ADDRESS ON FILE
DARLENE DIAZ GONZALEZ               ADDRESS ON FILE
DARLENE E ALICEA FIGUEROA           ADDRESS ON FILE
DARLENE LUYANDO ROSARIO             ADDRESS ON FILE
DARLENE LUYANDO ROSARIO             ADDRESS ON FILE
DARLENE M CAMACHO RODRIGUEZ         ADDRESS ON FILE
DARLENE M TOLEDO LOIZ               ADDRESS ON FILE
DARLENE ORTIZ GUZMAN                ADDRESS ON FILE
DARLENE PEREZ GONZALEZ              ADDRESS ON FILE
DARLENE SCIASCIA BENITEZ            ADDRESS ON FILE
DARLENE SEDA CRUZ                   ADDRESS ON FILE




                                                                                     Page 2076 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2077 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City             State   PostalCode   Country
DARLENE VIDAL MEDINA                       ADDRESS ON FILE
DARLENE Y BURGOS HERANDEZ                  ADDRESS ON FILE
DARLYN C ZERPA MARIN                       ADDRESS ON FILE
DARMA E PACHECO ALVAREZ                    ADDRESS ON FILE
DARMAND AGRON RODRIGUEZ                    ADDRESS ON FILE
DARMARYS TOLEDO MATOS                      ADDRESS ON FILE
DARMARYS VELAZQUEZ GUZMAN                  ADDRESS ON FILE
DARMARYS VELAZQUEZ GUZMAN                  ADDRESS ON FILE
DARMEN INNOVATIONS INC                     URB MILAVILLE             124 CALLE MAMEY                                        SAN JUAN         PR      00926
DARMIZ MANGUAL RUIZ                        ADDRESS ON FILE
DARNELL J RIOS ROSADO                      ADDRESS ON FILE
DAROK STEEL INC.                           1730 SANTANA                                                                     ARECIBO          PR      00612
DARRELL A MATOS GOMEZ                      ADDRESS ON FILE
DARRELL IAN SOLER IRIZARRY                 ADDRESS ON FILE
DARREN S BOWIE                             ADDRESS ON FILE
DARRIGRANDE ECHEVARRIA, PATRICIA           ADDRESS ON FILE
DARRYL S HORNAN SOTO                       ADDRESS ON FILE
DARTNELL                                   PO BOX 4291                                                                      CAROL STREAM     IL      60197‐4291
DARVAI ROMAN, NANETTE                      ADDRESS ON FILE
DARVIN BAEZ ELIZA                          ADDRESS ON FILE
DARWIN ACEVEDO SANCHEZ                     ADDRESS ON FILE
DARWIN ARROYO QUINONES                     ADDRESS ON FILE
DARWIN BERDECIA PENA                       ADDRESS ON FILE
DARWIN E ROBLES MARTINEZ                   ADDRESS ON FILE
DARWIN FLORES ADORNO                       ADDRESS ON FILE
DARWIN M ROSADO CORDERO                    ADDRESS ON FILE
DARWIN MORALES VELAZQUEZ                   ADDRESS ON FILE
DARWIN N MIRANDA RIVERA                    ADDRESS ON FILE
Darwin National Assurance Company          9 Farm Springs Road                                                              Farmington       CT      06032
DARWIN O HERNANDEZ HERNANDEZ               ADDRESS ON FILE
DARWIN O TORO PARDO                        ADDRESS ON FILE
DARWIN SANCHEZ MORALES                     ADDRESS ON FILE
DARWIN SERRANO MALDONADO                   ADDRESS ON FILE
DARY CEDENO PACHE                          ADDRESS ON FILE
DARY L VILLANUEVA MARCANO                  ADDRESS ON FILE
DARY LUZ VAZQUEZ COSME                     ADDRESS ON FILE
DARY PACHE CEDENO                          ADDRESS ON FILE
DARY RIVERA RIVERA                         ADDRESS ON FILE
DARYL J VIERA COLON                        ADDRESS ON FILE
DARYLEEN M CAMACHO DELGADO                 ADDRESS ON FILE
DARYLL E ROSA RAMOS                        ADDRESS ON FILE
DARYMAR CALVANTE ALVAREZ                   ADDRESS ON FILE
DARYNELL CAMACHO MONTALVO                  ADDRESS ON FILE
DARYNESS RIVERA SERRANO                    ADDRESS ON FILE
DARYS MELECIO RODRIGUEZ                    ADDRESS ON FILE
DARYS MORA RAMIREZ                         ADDRESS ON FILE
DARYSABEL LOPEZ RIVERA                     ADDRESS ON FILE
DARYSABEL PEREZ MARTINEZ                   ADDRESS ON FILE
DARYSABEL VILLAFANE                        ADDRESS ON FILE
DARYTZA MARTINEZ LOPEZ                     ADDRESS ON FILE
DAS & ASSOC INC/ Y BCO DES ECONOMICO P R   PO BOX 2134                                                                      SAN JUAN         PR      00922‐2134
DAS MANUFACTURING INCORPORATED             3610 CINNAMON TRACE DR                                                           VALRICO          FL      33596
DASARI MD, NARYANA                         ADDRESS ON FILE
DASHELINE VARGAS JIMENEZ                   ADDRESS ON FILE
DASHIA D TORRES RIVERA                     ADDRESS ON FILE
DASHIRA M NEGRON SANCHEZ                   ADDRESS ON FILE
DASHUA DIAZ MORALES                        ADDRESS ON FILE
DASHUAYRA VELEZ ORTIZ                      ADDRESS ON FILE
DASTA IRIZARRY, LUIS                       ADDRESS ON FILE
DASTA IRIZARRY, LUIS O                     ADDRESS ON FILE




                                                                                       Page 2077 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2078 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                        Address1                                  Address2                                      Address3         Address4   City               State   PostalCode   Country
DASTA LUGO, RENE                     ADDRESS ON FILE
DASTA LUGO, ROSAURA                  ADDRESS ON FILE
DASTA MELENDEZ, CARLOS A.            ADDRESS ON FILE
DASTA MELENDEZ, MICHELLE             ADDRESS ON FILE
DASTA MELENDEZ, RAMON                ADDRESS ON FILE
DASTA MELENDEZ, RAMON E              ADDRESS ON FILE
DASTA MENDEZ, RODOLFO                ADDRESS ON FILE
DASTA RODRIGUEZ, IVAN                ADDRESS ON FILE
DASTA VALENTIN, EDGARDO X            ADDRESS ON FILE
DASTAS ACEVEDO, ADA Y                ADDRESS ON FILE
DASTAS ACEVEDO, RENE                 ADDRESS ON FILE
DASTAS DESPIAU, VANESSA E            ADDRESS ON FILE
DASTAS LOPEZ, SAUL                   ADDRESS ON FILE
DASTAS LORENZI, NOEL                 ADDRESS ON FILE
DASTAS LUGO, NORA H                  ADDRESS ON FILE
DASTAS MENDEZ, JESUS R.              ADDRESS ON FILE
DASTAS MENDEZ, RODOLFO               ADDRESS ON FILE
DASTAS MONTALVO, MILAGROS            ADDRESS ON FILE
DASTAS RIVERA, JULIA E               ADDRESS ON FILE
Dastas Rodriguez, Edgar              ADDRESS ON FILE
DASTAS TROCHE, NANCY                 ADDRESS ON FILE
DATA & FIBER COM SERVICES            URB COUNTRY CLUB                          813 CALLE MOLUCAS                                                         SAN JUAN           PR      00924‐1701
DATA @CCESS COMMUNICATION , INC.     316 AVE. DE LA CONSTRUCCION , SUITE 100                                                                             SAN JUAN           PR      00901‐0000
DATA @CCESS COMUNICATION, INC        316 AVE CONSTITUCION SUITE 100                                                                                      SAN JUAN           PR      00901
DATA COM CARIBE                      PO BOX 71483                                                                                                        SAN JUAN           PR      00936‐8583
DATA COMM CORP                       URB LEVITTOWN LAKES                       HN45 CALLE GREGORIO LEDESMA                                               TOA BAJA           PR      00949‐3724
DATA DEVICES INTERNATIONAL           2600 MISSION STREET SUITE 100                                                                                       SAN MARINO         CA      91108
DATA DYNAMICS                        2600 TILLER LANE                                                                                                    COLUMBUS           OH      00100
DATA RECOGNITION CORPORTATION        13490 BASS LAKE ROAD                                                                                                MAPLE GROVE        MN      55311
DATA SUPPLIES CORP                   C/O OFICINA FINANZAS                      LA FORTALEZA                                  PO BOX 9020082              SAN JUAN           PR      00902‐0082
DATA SUPPLIES CORPORATION            PO BOX 40814                                                                                                        SAN JUAN           PR      00940
Data Supplies Corporation            PO Box 41147 San Juan                                                                                               San Juan           PR      00940‐1147
DATA SURVEY INC                      PO BOX 772                                                                                                          COAMO              PR      00769
DATA TEK CENTER CORP                 316 AVE PONCE DE LEON                                                                                               SAN JUAN           PR      00901
DATA TEXT CORPORATION                215 COMMONWEALTH COURT CARY                                                                                         NORTH CAROLINA     NC      27511
DATA TRANS CORP                      212 CALLE MAYAGUEZ SUITE 3A                                                                                         SAN JUAN           PR      00917‐0000
DATA TRANS CORP                      URB VALENCIA                                                                                                        SAN JUAN           PR      00923
DATA TRANS CORP                      URB VALENCIA                              303 CALLE GUIPUZCOA                                                       HATO REY           PR      00923‐0000
DATA@CCESS COMMUNICATIONS INC        316 LA CONSTITUCION AVE SUITE 100                                                                                   SAN JUAN           PR      00901
DATA@CCESS COMMUNICATIONS, INC.      316 AVE. DE LA CONSTITUCIÓN               SUITE 100 PUERTA DE TIERRA                                                SAN JUAN           PR      00901
DATA@CCESS COMMUNICATIONS, INC.      316 AVE. DE LA CONSTITUCIÓN                                                                                         SAN JUAN           PR      00901
DATABASE FACTOR CORP                 PO BOX 192940                                                                                                       SAN JUAN           PR      00919‐2940
DATALINK SOLUTIONS                   350 Collins Road N.E.                                                                                               Cedar Rapids       IA      52498
DATALINK SOLUTIONS                   BOX 122                                                                                                             SALINAS            PR      00751
DATAMAXX APPLIED TECHNOLOGIES INC.   AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                 SAN JUAN           PR      00902‐4140
DATARUS CORP                         PO BOX 639                                                                                                          HATILLO            PR      00659‐0639
DATAS ACCESS COMMUNICATION INC       316 AVE DE LA CONSTITUCION                STE 100                                                                   SAN JUAN           PR      00901
DATAS ACCESS COMMUNICATION INC       AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                 SAN JUAN           PR      00902‐4140
DATAWORKS CONSULTING GROUP CORP      PMB 140                                   B 5 CALLE TABONUCO SUITE 216                                              GUAYNABO           PR      00968‐3029
DATIL CARPIO, LIDIA E.               ADDRESS ON FILE
DATIL GORDILLO, WILLIAM              ADDRESS ON FILE
Datil Mercado, Amarilys              ADDRESS ON FILE
DATIL VARELA, LUIS                   ADDRESS ON FILE
DATIL VELAZQUEZ, CARMEN D            ADDRESS ON FILE
DATIL VELEZ, CHULING                 ADDRESS ON FILE
DATIL VELEZ, JORGE                   ADDRESS ON FILE
DATIL, HECTOR A.                     ADDRESS ON FILE
DATIS CARRERO, MILAGROS              ADDRESS ON FILE
DATIZ GORDILLO, LUIS A.              ADDRESS ON FILE
Datiz Rodriguez, Iliana              ADDRESS ON FILE




                                                                                                              Page 2078 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2079 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City             State   PostalCode   Country
DATIZ ROSADO, JOHANNA                     ADDRESS ON FILE
DATIZ SOTO, ZOELYS                        ADDRESS ON FILE
DATIZ STEVENS, MARIA I                    ADDRESS ON FILE
DATIZ TORRES, LUIS A                      ADDRESS ON FILE
DATIZ VEGA, LEE PATRICK                   ADDRESS ON FILE
D'ATTILI ROBLES, CARLO                    ADDRESS ON FILE
DAUBON DEL VALLE MD, HORACIO              ADDRESS ON FILE
DAUBON GONZALEZ, ALBERTO                  ADDRESS ON FILE
DAUBON GONZALEZ, ALBERTO                  ADDRESS ON FILE
DAUBON GONZALEZ, ANA                      ADDRESS ON FILE
DAUGHERTY RIVERA, WILLIAM                 ADDRESS ON FILE
DAUGHERTY SANTIAGO, CATHERINE E           ADDRESS ON FILE
Daugherty Santiago, Roy E                 ADDRESS ON FILE
DAUHAJRE DAVILA, ABELARDO                 ADDRESS ON FILE
DAUHAJRE GONZALEZ, VIRGELLY               ADDRESS ON FILE
DAUHAJRE RODRIGUEZ, MANUEL                ADDRESS ON FILE
DAUMONT BETANCOURT, STEPHANIE             ADDRESS ON FILE
DAUMONT COLON, RUTH E                     ADDRESS ON FILE
DAUMONT CRESPO, MARIANO                   ADDRESS ON FILE
DAUMONT CRESPO, MARIANO                   ADDRESS ON FILE
DAUMONT PEREZ, JOSE                       ADDRESS ON FILE
DAUMONT PUYARENA, CLARA                   ADDRESS ON FILE
DAUPHIN DE LEON, MARIE                    ADDRESS ON FILE
DAURA L SUAREZ ORTIZ                      ADDRESS ON FILE
DAURIS J YNFANTE ROMANO                   ADDRESS ON FILE
DAVAD RIVERA NIEVES                       ADDRESS ON FILE
DAVENPORT MD, MARK                        ADDRESS ON FILE
DAVIAN RIVERA ORTIZ                       ADDRESS ON FILE
DAVIANA QUIROS BURGOS                     ADDRESS ON FILE
DAVID A AVILES IRIZARRY                   ADDRESS ON FILE
DAVID A CRUZ AYALA                        ADDRESS ON FILE
DAVID A DAVILA MOLINA                     ADDRESS ON FILE
DAVID A DELGADO TORRES                    ADDRESS ON FILE
DAVID A GALARZA MUNIZ                     ADDRESS ON FILE
DAVID A GUERRA NIEVES                     ADDRESS ON FILE
DAVID A LEBRON RUIZ                       ADDRESS ON FILE
DAVID A MALDONADO RUIZ A/C ZORIALI RUIZ   ADDRESS ON FILE
DAVID A MARQUEZ MORALES                   ADDRESS ON FILE
DAVID A MARTELL RIVERA                    ADDRESS ON FILE
DAVID A MARTELL RIVERA                    ADDRESS ON FILE
DAVID A MURIENTE NAZARIO                  ADDRESS ON FILE
DAVID A NICE BUILDERS INC                 4571 WARE CREEK RD                                                               WILLIAMSBURG     VA      23188‐1125
DAVID A RESTO                             ADDRESS ON FILE
DAVID A RODRIGUEZ BRACERO                 ADDRESS ON FILE
DAVID A RODRIGUEZ MIRANDA                 ADDRESS ON FILE
DAVID A ROSARIO ALEMAN                    ADDRESS ON FILE
DAVID A ROSARIO RODRIGUEZ                 ADDRESS ON FILE
DAVID A ROSARIO TORRES                    ADDRESS ON FILE
DAVID A SALDANA SANTIAGO                  ADDRESS ON FILE
DAVID A SEGARRA RODRIGUEZ                 ADDRESS ON FILE
DAVID A. TORO ESTRELA                     LIC. MILTON PORTALATIN    PO BOX 9021802                                         SAN JUAN         PR      00902‐1802
DAVID ABRAHAMS NOGUERAS                   ADDRESS ON FILE
DAVID ACEVEDO GARCIA                      ADDRESS ON FILE
DAVID ACEVEDO MORALES                     ADDRESS ON FILE
DAVID ACEVEDO RIVERA                      ADDRESS ON FILE
DAVID ACOSTA LOPEZ                        ADDRESS ON FILE
DAVID ACOSTA LORENZO                      ADDRESS ON FILE
DAVID ADAMES ROMERO                       ADDRESS ON FILE
DAVID AGUILA RODRIGUEZ                    ADDRESS ON FILE
DAVID AGUIRRE GUZMAN                      ADDRESS ON FILE




                                                                                      Page 2079 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2080 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                          Address1                    Address2                              Address3   Address4   City         State   PostalCode   Country
DAVID ALEMAN DIAZ                      ADDRESS ON FILE
DAVID ALICEA RODRIGUEZ                 ADDRESS ON FILE
DAVID ALVARADO, ABRAHAM                ADDRESS ON FILE
DAVID ALVARADO, AUDREY                 ADDRESS ON FILE
DAVID ALVARADO, GLEN                   ADDRESS ON FILE
DAVID ALVARADO, VANESA T               ADDRESS ON FILE
DAVID ALVAREZ LOPEZ                    ADDRESS ON FILE
DAVID ARCE HERNANDEZ                   ADDRESS ON FILE
DAVID ARCHILLA Y RAQUEL AYALA          ADDRESS ON FILE
DAVID ARGUELLES PEREZ                  ADDRESS ON FILE
DAVID ARROYO FERRER                    ADDRESS ON FILE
DAVID ARROYO GONZALEZ                  ADDRESS ON FILE
DAVID ARROYO, LOURDES                  ADDRESS ON FILE
DAVID AVILA CONCEPCION                 ADDRESS ON FILE
DAVID B PADUANI VELEZ                  ADDRESS ON FILE
DAVID BAEZ MORALES                     ADDRESS ON FILE
DAVID BALLESTER, LUZ M                 ADDRESS ON FILE
DAVID BERMUDEZ ROSADO                  ADDRESS ON FILE
DAVID BERMUDEZ, MARICRUZ               ADDRESS ON FILE
David Bermudez, Norma I.               ADDRESS ON FILE
DAVID BERMUDEZ, ZOMARIE                ADDRESS ON FILE
DAVID BERNIER GOBERNADOR 2016          AVE CONSTITUCIONAL          203 PUERTA DE TIERRA                                        SAN JUAN     PR      00902
David Berrios Alvarado                 ADDRESS ON FILE
DAVID BIRRIEL NEGRON                   ADDRESS ON FILE
DAVID BLAS BORIA                       ADDRESS ON FILE
DAVID BONILLA RIVERA                   ADDRESS ON FILE
DAVID BONNY, L                         ADDRESS ON FILE
DAVID BRAGIN SANCHEZ                   ADDRESS ON FILE
DAVID CABAN DEYNES                     ADDRESS ON FILE
DAVID CABAN SANTANA                    ADDRESS ON FILE
DAVID CABAN VALENTIN                   ADDRESS ON FILE
DAVID CALDERO FIGUEROA                 ADDRESS ON FILE
DAVID CALDERON MELENDEZ                ADDRESS ON FILE
DAVID CALDERON SABALIER                ADDRESS ON FILE
DAVID CAMACHO BADILLO                  ADDRESS ON FILE
DAVID CANDELARIA MEJIAS                ADDRESS ON FILE
DAVID CANDELARIA RODRIGUEZ             ADDRESS ON FILE
DAVID CARABALLO FIGUEROA               ADDRESS ON FILE
DAVID CARABALLO MALDONADO              ADDRESS ON FILE
DAVID CARABALLO MALDONADO              ADDRESS ON FILE
DAVID CARABALLO RODRIGUEZ              ADDRESS ON FILE
DAVID CARABALLO RODRIGUEZ              ADDRESS ON FILE
DAVID CARDONA GOMEZ                    ADDRESS ON FILE
DAVID CARDONA NIEVES                   ADDRESS ON FILE
DAVID CARMENATY SANTOS                 ADDRESS ON FILE
DAVID CARMONA VERA                     LCDO. EMILIO CANCIO BELLO   1702 SAN MATEO                                              SANTURCE     PR      00912
DAVID CARONA WISCOVITH                 ADDRESS ON FILE
DAVID CARRASQUILLO MOBILE XPRESS CAR   HC 67 BOX 15501                                                                         FAJARDO      PR      00738
DAVID CARRASQUILLO MOBILE XPRESS CAR   PO BOX 30                                                                               LUQUILLO     PR      00773
DAVID CARRERO LOPEZ                    ADDRESS ON FILE
DAVID CARRION BARALT                   ADDRESS ON FILE
DAVID CARRION MELENDEZ                 ADDRESS ON FILE
DAVID CARTAGENA RIVERA                 ADDRESS ON FILE
DAVID CASTELLANOS                      ADDRESS ON FILE
DAVID CASTELLON MERCADO                ADDRESS ON FILE
DAVID CASTRO CASTRO                    ADDRESS ON FILE
DAVID CASTRO FIGUEROA                  ADDRESS ON FILE
David Cedeno, Eli J                    ADDRESS ON FILE
David Cedeno, Elio M.                  ADDRESS ON FILE
DAVID CENTENO FARIA                    ADDRESS ON FILE




                                                                                          Page 2080 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2081 of 3500
                                                                             17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                 Address1                                   Address2                                 Address3         Address4   City          State   PostalCode   Country
DAVID CENTENO MEDINA          ADDRESS ON FILE
DAVID CHAPEL FELICIANO        ADDRESS ON FILE
DAVID CHARDON ORTIZ           ADDRESS ON FILE
DAVID COLLAZO, FRANCISCO      ADDRESS ON FILE
David Collazo, Gerson         ADDRESS ON FILE
DAVID COLÓN AVILES            LCDA. JOANNA M. NEVARESRIVERAO‐ ABOGADA BUFETE OTERO LÓPEZ & NIEVES LLP             PO BOX 9023933              SAN JUAN      PR      00902‐3933
DAVID COLÓN AVILES            LCDO. JOSÉ A. MORALES BOSCIO Y LCDO. HARRY 1454 AVE. FERNANDEZ JUNCOS                                           SAN JUAN      PR      00909
DAVID COLON GONZALEZ          ADDRESS ON FILE
DAVID COLON GONZALEZ          ADDRESS ON FILE
DAVID COLON GONZALEZ          ADDRESS ON FILE
DAVID COLON ILARRAZA          ADDRESS ON FILE
DAVID COLON, ELBA I.          ADDRESS ON FILE
David Colon, Jose             ADDRESS ON FILE
DAVID COLON, SONIA M          ADDRESS ON FILE
DAVID CORNIER                 ADDRESS ON FILE
DAVID CORREA, MAGDA           ADDRESS ON FILE
DAVID CORTES RODRIGUEZ        ADDRESS ON FILE
DAVID CORTES TORRES           ADDRESS ON FILE
DAVID CORTINA RODRIGUEZ       ADDRESS ON FILE
DAVID COUSO COLON             ADDRESS ON FILE
DAVID CRESPO SANABRIA         ADDRESS ON FILE
DAVID CRUZ                    LCDA. MONIQUE GUILLEMARD/LCDO. ANDRES G PO BOX 9949                                                             SAN JUAN      PR      00908
DAVID CRUZ BLAS               IRIS MARITH GONZÁLEZ RUIZ                  CALLEOGRESO #160                                                     AGUADILLA     PR      00603
DAVID CRUZ COLON              ADDRESS ON FILE
DAVID CRUZ HERNANDEZ          ADDRESS ON FILE
DAVID CRUZ MARTINEZ           ADDRESS ON FILE
DAVID CRUZ NUNEZ              ADDRESS ON FILE
DAVID CRUZ SOSA               ADDRESS ON FILE
DAVID CRUZ VELEZ              ADDRESS ON FILE
DAVID CRUZ, GERARDO           ADDRESS ON FILE
David Cuadrado Mas            ADDRESS ON FILE
DAVID CUEVAS RIVERA           ADDRESS ON FILE
DAVID D TEXIDOR               ADDRESS ON FILE
DAVID D. BERRIOS IRIZARRY     ADDRESS ON FILE
DAVID DE JESUS ACOSTA         ADDRESS ON FILE
DAVID DE JESUS RODRIGUEZ      ADDRESS ON FILE
DAVID DEL MORAL MELENDEZ      ADDRESS ON FILE
DAVID DEL PILAR MALDONADO     ADDRESS ON FILE
DAVID DEL VALLE MARTINEZ      ADDRESS ON FILE
DAVID DEL VALLE RIVERA        ADDRESS ON FILE
DAVID DELGADO FELICIANO       ADDRESS ON FILE
DAVID DELGADO HERNANDEZ       ADDRESS ON FILE
DAVID DIAZ MOYA               ADDRESS ON FILE
DAVID DIAZ PEREZ              ADDRESS ON FILE
DAVID DIAZ REYES              ADDRESS ON FILE
DAVID DIAZ ROMAN              ADDRESS ON FILE
DAVID DIAZ SANABRIA           ADDRESS ON FILE
DAVID DONZALEZ MILLAN         SR. DAVID GONZÁLEZ MILLÁN                  INSTITUCIÓN 304 GUERRERO GALERA G‐2 PO BOX 3999                      AGUADILLA     PR      00603
DAVID E ACEVEDO FIGUEROA      ADDRESS ON FILE
DAVID E ALICEA MORALES        ADDRESS ON FILE
DAVID E AMARO RODRIGUEZ       ADDRESS ON FILE
DAVID E ANTONGIORGI ESTATE    COND CONDADO PARK                          1301 AVE MAGDALENA APT 304                                           SAN JUAN      PR      00907‐1981
DAVID E CINTRON OLABARRIETA   ADDRESS ON FILE
DAVID E GONZALEZ MONTALVO     ADDRESS ON FILE
DAVID E GONZALEZ MONTALVO     ADDRESS ON FILE
DAVID E LOPEZ CRUZ            ADDRESS ON FILE
DAVID E ORTIZ VEGA            ADDRESS ON FILE
DAVID E ORTIZ VEGA            ADDRESS ON FILE
DAVID E RIVERA RODRIGUEZ      ADDRESS ON FILE
DAVID E RUIZ SANTIAGO         ADDRESS ON FILE




                                                                                                   Page 2081 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2082 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                             Address1                              Address2                  Address3   Address4   City              State   PostalCode   Country
DAVID E SPENCER                           ADDRESS ON FILE
DAVID E VALLE NAVARRO                     ADDRESS ON FILE
DAVID E VAZQUEZ REYES                     ADDRESS ON FILE
DAVID E VELEZ VAZQUEZ                     ADDRESS ON FILE
DAVID E VILLEGAS CASTRO                   ADDRESS ON FILE
DAVID ECHEVARRIA ACEVEDO                  ADDRESS ON FILE
DAVID ENCHAUTEGUI MONTANEZ                ADDRESS ON FILE
DAVID ESCRIBANO LOPEZ                     ADDRESS ON FILE
DAVID ESPADA, ABRAHAM                     ADDRESS ON FILE
DAVID ESPADA, JOSEFINA                    ADDRESS ON FILE
DAVID ESPADA, LUIS                        ADDRESS ON FILE
David Espada, Martin                      ADDRESS ON FILE
DAVID ESPADA, NANCY                       ADDRESS ON FILE
DAVID ESPADA, NOEL                        ADDRESS ON FILE
DAVID ESPADA, RICARDO                     ADDRESS ON FILE
DAVID ESPADA, SAUL                        ADDRESS ON FILE
David Espada, Wilfredo                    ADDRESS ON FILE
DAVID ESPARRA, MAGDA M                    ADDRESS ON FILE
DAVID ESPARRA, SAUL                       ADDRESS ON FILE
DAVID ESPINOSA RIVERA                     ADDRESS ON FILE
DAVID ESTEVA, HECTOR M.                   ADDRESS ON FILE
DAVID ESTRADA RIVERA                      ADDRESS ON FILE
DAVID ESTRADA SANTIAGO                    ADDRESS ON FILE
DAVID F CASTILLO HERRERA                  ADDRESS ON FILE
DAVID F PAGAN CUSTODIO                    ADDRESS ON FILE
DAVID F TROSSI ZAYAS                      ADDRESS ON FILE
DAVID F VEGA BENITEZ                      ADDRESS ON FILE
DAVID F VELEZ ARIAS                       ADDRESS ON FILE
DAVID F. VELEZ ARIAS                      ADDRESS ON FILE
DAVID FEBO QUINONEZ                       ADDRESS ON FILE
DAVID FELICIANO IRIZARRY                  ADDRESS ON FILE
DAVID FELICIANO MUÐIZ                     ADDRESS ON FILE
DAVID FELICIANO MUNIZ                     ADDRESS ON FILE
DAVID FELICIANO SANTIAGO Y LUZ P TORRES   ADDRESS ON FILE
DAVID FELICIANO, GILBERTO                 ADDRESS ON FILE
DAVID FELICIANO, GILBERTO                 ADDRESS ON FILE
DAVID FELICIANO, LUZ E                    ADDRESS ON FILE
DAVID FELICIANO, SANTOS                   ADDRESS ON FILE
DAVID FERNANDEZ DACOSTA                   ADDRESS ON FILE
DAVID FERNANDEZ ESTEVES                   ADDRESS ON FILE
DAVID FIGUEROA ACEVEDO                    ADDRESS ON FILE
DAVID FIGUEROA BETANCOURT                 ADDRESS ON FILE
DAVID FIGUEROA CRUZ                       ADDRESS ON FILE
DAVID FIGUEROA DBA ALQUILERES FIGUEROA    31 CALLE FRANCISCO MARIANO QUINONES                                                   SABANA GRANDE     PR      00637
DAVID FIGUEROA SANCHEZ                    ADDRESS ON FILE
DAVID FLORENCIANI VALENTIN                ADDRESS ON FILE
DAVID FLORES                              ADDRESS ON FILE
DAVID FLORES ALICEA                       ADDRESS ON FILE
DAVID FONTANEZ MELENDEZ                   ADDRESS ON FILE
DAVID FONTANEZ TORRES                     ADDRESS ON FILE
DAVID FRANCO GONZALEZ                     ADDRESS ON FILE
DAVID FRANCO, GILBERTO                    ADDRESS ON FILE
DAVID FREEMAN                             ADDRESS ON FILE
DAVID FREYTES DE JESUS                    ADDRESS ON FILE
DAVID G BOYCE                             ADDRESS ON FILE
DAVID G FIRPO QUINONES                    ADDRESS ON FILE
DAVID G ORTIZ GONZALEZ                    ADDRESS ON FILE
DAVID G RODRIGUEZ JIMENEZ                 ADDRESS ON FILE
DAVID G SANTIAGO CARTAGENA                ADDRESS ON FILE
DAVID G. ACOSTA ALLENDE                   ADDRESS ON FILE




                                                                                           Page 2082 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2083 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                            Address1                   Address2                                 Address3      Address4   City          State   PostalCode   Country
DAVID G. FUENTES FIGUEROA                ADDRESS ON FILE
DAVID GABRIEL RIVERA TORRES              ADDRESS ON FILE
DAVID GALARZA PADUA                      ADDRESS ON FILE
DAVID GALINDEZ TORRES                    ADDRESS ON FILE
DAVID GARCIA CEPEDA                      ADDRESS ON FILE
DAVID GARCIA COLON                       ADDRESS ON FILE
DAVID GARCIA MEDINA                      ADDRESS ON FILE
DAVID GARCIA, CHRISTIAN                  ADDRESS ON FILE
DAVID GEORGE DILLARD                     ADDRESS ON FILE
DAVID GEORGE PERELLO                     ADDRESS ON FILE
DAVID GEORGE SANTOS                      ADDRESS ON FILE
DAVID GEORGE SANTOS                      ADDRESS ON FILE
DAVID GIRAUD VAZQUEZ                     ADDRESS ON FILE
DAVID GOMEZ CRESPO                       ADDRESS ON FILE
DAVID GOMEZ NEGRON / DEPTO DE LA FAMILIA PO BOX 15091                                                                                 SAN JUAN      PR      00902
DAVID GONZALEZ                           ADDRESS ON FILE
DAVID GONZALEZ LOPEZ                     ADDRESS ON FILE
DAVID GONZALEZ MEDINA                    ADDRESS ON FILE
DAVID GONZALEZ MILIAN                    NO TIENE (PRO SE)          INSTITUCIÓN CORRECCIONAL GUERRERO 304    PO BOX 3999   ANEXO B    AGUADILLA     PR      00603
DAVID GONZALEZ PEREZ                     ADDRESS ON FILE
DAVID GONZALEZ PUMAREJO                  ADDRESS ON FILE
DAVID GONZALEZ VESIO                     ADDRESS ON FILE
DAVID GONZALEZ, PEDRO                    ADDRESS ON FILE
DAVID GRANADO MORALES                    ADDRESS ON FILE
DAVID GULLON TORRES                      ADDRESS ON FILE
DAVID GUZMAN                             ADDRESS ON FILE
DAVID GUZMAN RAMOS                       ADDRESS ON FILE
DAVID HADDOCK CASTRO                     ADDRESS ON FILE
DAVID HADDOCK DOMINGUEZ                  ADDRESS ON FILE
DAVID HEAL BARBOSA                       ADDRESS ON FILE
DAVID HEREDIA SIERRA                     ADDRESS ON FILE
DAVID HEREDIA SIERRA                     ADDRESS ON FILE
DAVID HERNANDEZ CRUZ                     ADDRESS ON FILE
DAVID HERNANDEZ DIAZ                     ADDRESS ON FILE
DAVID HERNANDEZ TOLEDO                   ADDRESS ON FILE
DAVID HERNANDEZ VEGA                     ADDRESS ON FILE
DAVID HERNANDEZ VEGA                     ADDRESS ON FILE
DAVID HERNANDEZ, JOSE A.                 ADDRESS ON FILE
DAVID HUERTAS MARCANO                    ADDRESS ON FILE
DAVID I DIAZ RAMIREZ                     ADDRESS ON FILE
DAVID I MALAVE ROBLES                    ADDRESS ON FILE
DAVID I ROSADO PELLOT                    ADDRESS ON FILE
DAVID I. CANDELARIO CABALLERO            ADDRESS ON FILE
DAVID INDIANO VICIC                      ADDRESS ON FILE
DAVID IRIZARRY GONZALEZ                  ADDRESS ON FILE
DAVID IRIZARRY MALDONADO                 ADDRESS ON FILE
DAVID IRIZARRY RAMOS                     ADDRESS ON FILE
DAVID J ARROYO COLON                     ADDRESS ON FILE
DAVID J AYMERICH SALVARREY               ADDRESS ON FILE
DAVID J BETANCOURT FELICIANO             ADDRESS ON FILE
DAVID J BONILLA PABON                    ADDRESS ON FILE
DAVID J BUSQUETS LLORENS                 ADDRESS ON FILE
DAVID J CASTRO ANAYA                     ADDRESS ON FILE
DAVID J COLLAZO RAMOS                    ADDRESS ON FILE
DAVID J FIGUEROA CORDERO                 ADDRESS ON FILE
DAVID J HERNANDEZ ORTIZ                  ADDRESS ON FILE
DAVID J LUGO SANCHEZ                     ADDRESS ON FILE
DAVID J MORENO VALENTIN                  ADDRESS ON FILE
DAVID J PALOMO BLONDI                    ADDRESS ON FILE
DAVID J PALOMO BLONDI                    ADDRESS ON FILE




                                                                                              Page 2083 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2084 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                   Address2                                  Address3   Address4   City        State   PostalCode   Country
DAVID J PENA CONTRERAS                 ADDRESS ON FILE
DAVID J REID PEREIRA                   ADDRESS ON FILE
DAVID J RIVERA TORRES                  ADDRESS ON FILE
DAVID J RODRIGUEZ DIAZ                 ADDRESS ON FILE
DAVID J RODRIGUEZ RIVERA               ADDRESS ON FILE
DAVID J SANCHEZ RIVERA                 ADDRESS ON FILE
DAVID J TIRADO COLON                   ADDRESS ON FILE
DAVID J VEGA MONTANEZ                  ADDRESS ON FILE
DAVID J. FIGUEROA CORDERO              ADDRESS ON FILE
DAVID J. PENA CONTRERAS                ADDRESS ON FILE
DAVID J. PENA CONTRERAS                ADDRESS ON FILE
DAVID J. PENA CONTRERAS                ADDRESS ON FILE
DAVID JIMENEZ RIVERA                   ADDRESS ON FILE
DAVID JIMENEZ TORO V DEPARTAMENTO EDUCALCDO ADRIAN DIAZ DIAZ      URB BAIROA CALLE 32 AM17                                        CAGUAS      PR      00725
DAVID JORDAN RIVERA                    ADDRESS ON FILE
DAVID JR RODRIGUEZ AGOSTO              ADDRESS ON FILE
DAVID JR TAPIA ORTIZ                   ADDRESS ON FILE
DAVID JUARBE MASSANET                  ADDRESS ON FILE
DAVID KERR + HIJOS INC                 350 AVE. FONT MARTELO                                                                      HUMACAO     PR      00791
DAVID KLAU LEVY                        ADDRESS ON FILE
DAVID L COLON LOPEZ                    ADDRESS ON FILE
DAVID L FOSTER ALEMAN                  ADDRESS ON FILE
DAVID L NORIEGA ROHENA                 ADDRESS ON FILE
DAVID LASTRA DE LEON                   ADDRESS ON FILE
DAVID LEON AMADOR                      ADDRESS ON FILE
DAVID LEON ROBLES                      ADDRESS ON FILE
DAVID LEVIS GOLDSTEIN                  ADDRESS ON FILE
DAVID LOPEZ ALBINO                     ADDRESS ON FILE
DAVID LOPEZ BORDOY                     ADDRESS ON FILE
DAVID LOPEZ GONZALEZ                   ADDRESS ON FILE
DAVID LOPEZ LOPEZ                      ADDRESS ON FILE
DAVID LOPEZ PARRILLA                   ADDRESS ON FILE
DAVID LOPEZ VARELA                     ADDRESS ON FILE
DAVID LOPEZ VELAZQUEZ                  ADDRESS ON FILE
David Lopez, Melvin                    ADDRESS ON FILE
DAVID LUGO ALEMANY                     ADDRESS ON FILE
DAVID LUGO BELTRAN                     ADDRESS ON FILE
DAVID LUGO OLAVARRIA                   ADDRESS ON FILE
DAVID LUTRELL TIDICK                   ADDRESS ON FILE
DAVID M CARRION FERNANDEZ              ADDRESS ON FILE
DAVID M COLON RUIZ                     ADDRESS ON FILE
DAVID M CRUZ HERNANDEZ                 ADDRESS ON FILE
DAVID M GRANA                          ADDRESS ON FILE
DAVID M MENDEZ/JOSEFINA FUENTES RIVERA ADDRESS ON FILE
DAVID M MOLINA RIVERA                  ADDRESS ON FILE
DAVID M NIEVES CINTRON                 ADDRESS ON FILE
DAVID M NIEVES CINTRON                 ADDRESS ON FILE
DAVID M RODRIGUEZ TIRADO               ADDRESS ON FILE
DAVID M TORRES TORRES                  ADDRESS ON FILE
DAVID M TRUJILLO FIGUEROA              ADDRESS ON FILE
DAVID M. COLON RUIZ                    ADDRESS ON FILE
DAVID MALARET ALICEA                   ADDRESS ON FILE
DAVID MALAVE, ALMA R                   ADDRESS ON FILE
DAVID MALDONADO MASTACHE               ADDRESS ON FILE
DAVID MALDONADO TRAVIESO               ADDRESS ON FILE
DAVID MALDONADO VELAZQUEZ              ADDRESS ON FILE
DAVID MANUEL MARTINEZ LANGE            ADDRESS ON FILE
DAVID MARCANO MUNOZ                    ADDRESS ON FILE
DAVID MARCANO REYES                    ADDRESS ON FILE
DAVID MARRERO                          ADDRESS ON FILE




                                                                                             Page 2084 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2085 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVID MARRERO                          ADDRESS ON FILE
DAVID MARRERO ALVARADO                 ADDRESS ON FILE
DAVID MARRERO CLAUDIO                  ADDRESS ON FILE
DAVID MARRERO FALCON                   ADDRESS ON FILE
DAVID MARRERO POMALES                  ADDRESS ON FILE
DAVID MARRERO, NOEL                    ADDRESS ON FILE
DAVID MARRERO, SHAIRA                  ADDRESS ON FILE
DAVID MARTINEZ ARROYO                  ADDRESS ON FILE
DAVID MARTINEZ CASANOVA                ADDRESS ON FILE
DAVID MARTINEZ LEBRON                  ADDRESS ON FILE
DAVID MARTINEZ, LUIS                   ADDRESS ON FILE
DAVID MATEO, JULYMAR                   ADDRESS ON FILE
DAVID MATEO, MARJULI                   ADDRESS ON FILE
DAVID MATIAS CONCEPCION                ADDRESS ON FILE
DAVID MATIAS GUERRERO                  ADDRESS ON FILE
DAVID MAX WOODS TRUST                  275 GLENMOOR RD                                                                  GLADWYNE     PA      19035‐1501
DAVID MEDINA CACERES                   ADDRESS ON FILE
DAVID MEDINA ORTIZ                     ADDRESS ON FILE
DAVID MEDINA RODRIGUEZ                 ADDRESS ON FILE
DAVID MEJIA VELASCO                    ADDRESS ON FILE
DAVID MELENDEZ GONZALEZ                ADDRESS ON FILE
DAVID MELENDEZ LOPERENA                ADDRESS ON FILE
DAVID MELENDEZ MARRERO                 ADDRESS ON FILE
DAVID MELENDEZ RIVERA                  ADDRESS ON FILE
DAVID MELENDEZ SANTIAGO                ADDRESS ON FILE
DAVID MELENDEZ VAZQUEZ                 ADDRESS ON FILE
DAVID MENDEZ CLARK                     ADDRESS ON FILE
DAVID MENDOZA DIEZ                     ADDRESS ON FILE
DAVID MENDRE CRUZ                      ADDRESS ON FILE
DAVID MERCADO CURBELO                  ADDRESS ON FILE
DAVID MERCADO NAZARIO                  ADDRESS ON FILE
DAVID MERCED RAMOS                     ADDRESS ON FILE
DAVID MICHAEL PEREZ LARSON             ADDRESS ON FILE
DAVID MIRANDA COLON                    ADDRESS ON FILE
DAVID MIRANDA ORTIZ                    ADDRESS ON FILE
David Miranda, Ricardo                 ADDRESS ON FILE
DAVID MIRANDA, SANTA H                 ADDRESS ON FILE
DAVID MIRANDA, WANDA I                 ADDRESS ON FILE
DAVID MONTALVO MARTELL                 ADDRESS ON FILE
DAVID MONTANEZ APONTE                  ADDRESS ON FILE
DAVID MONTANEZ DIAZ                    ADDRESS ON FILE
DAVID MONTANEZ DONES                   ADDRESS ON FILE
DAVID MONTANEZ ESKETT                  ADDRESS ON FILE
DAVID MONTANEZ MIRANDA                 ADDRESS ON FILE
DAVID MONTANEZ SALVAT                  ADDRESS ON FILE
DAVID MORALES COLON                    ADDRESS ON FILE
DAVID MORALES FELICIANO                ADDRESS ON FILE
DAVID MORALES FOURNIER                 ADDRESS ON FILE
DAVID MORALES HERNANDEZ                ADDRESS ON FILE
DAVID MORALES RODRIGUEZ                ADDRESS ON FILE
DAVID MORALES ROQUE/ NEW CONSULTANTS   ADDRESS ON FILE
DAVID MORALES, YOLANDA                 ADDRESS ON FILE
DAVID MOREIRA PEREZ                    ADDRESS ON FILE
DAVID MORGES RIVERA                    ADDRESS ON FILE
DAVID MOSCOSO ESPINOZA                 ADDRESS ON FILE
DAVID MUÐOZ GUADALUPE                  ADDRESS ON FILE
DAVID MUNIZ NAVARRO                    ADDRESS ON FILE
DAVID MUNIZ RUIZ                       ADDRESS ON FILE
DAVID MUNOZ GUADALUPE                  ADDRESS ON FILE
DAVID MUNOZ MERCADO                    ADDRESS ON FILE




                                                                                   Page 2085 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2086 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVID MUNOZ OCASIO              ADDRESS ON FILE
David Munoz, Aida C.            ADDRESS ON FILE
DAVID N MARTINEZ CURRAS         ADDRESS ON FILE
DAVID N SANTIAGO GARCIA         ADDRESS ON FILE
DAVID N VARGAS MOYA             ADDRESS ON FILE
DAVID NAVARRO MELENDEZ          ADDRESS ON FILE
DAVID NEGRON RODRIGUEZ          ADDRESS ON FILE
DAVID NEGRON RODRIGUEZ          ADDRESS ON FILE
DAVID NEGRON, OLGA I            ADDRESS ON FILE
DAVID NEIL RAWLINGS             ADDRESS ON FILE
DAVID NIEVES DE LEON            ADDRESS ON FILE
DAVID NIEVES GUZMAN             ADDRESS ON FILE
DAVID NIEVES, TEODORA           ADDRESS ON FILE
DAVID NORIEGA RODRIGUEZ         ADDRESS ON FILE
DAVID NORRIS AGOSTO             ADDRESS ON FILE
DAVID NUNEZ PEREZ               ADDRESS ON FILE
DAVID O ALCOVER ORTIZ           ADDRESS ON FILE
DAVID O BIDOT LOPEZ             ADDRESS ON FILE
DAVID O CRUZ HERNANDEZ          ADDRESS ON FILE
DAVID O ESPADA ALEJANDRO        ADDRESS ON FILE
DAVID O MORALES VELEZ           ADDRESS ON FILE
DAVID O NEGRON BRIZUELA         ADDRESS ON FILE
DAVID O ROSA REVERON            ADDRESS ON FILE
DAVID O ROSARIO CARDONA         ADDRESS ON FILE
DAVID O RUIZ MEDIAVILLA         ADDRESS ON FILE
DAVID OJEDA OSORIO              ADDRESS ON FILE
DAVID OJEDA OSORIO              ADDRESS ON FILE
DAVID OPPENHAIMER MALDONADO     ADDRESS ON FILE
DAVID OQUENDO RODRIGUEZ         ADDRESS ON FILE
DAVID ORTIZ COLON               ADDRESS ON FILE
DAVID ORTIZ ELIAS               ADDRESS ON FILE
DAVID ORTIZ GARCIA              ADDRESS ON FILE
DAVID ORTIZ MORALES             ADDRESS ON FILE
DAVID ORTIZ ORTIZ               ADDRESS ON FILE
DAVID ORTIZ SALAS               ADDRESS ON FILE
DAVID ORTIZ, CARLOS A           ADDRESS ON FILE
DAVID ORTIZ, FRANCISCA          ADDRESS ON FILE
DAVID ORTIZ, KIOMARA M          ADDRESS ON FILE
DAVID OSCAR RODRIGUEZ MORALES   ADDRESS ON FILE
DAVID OTERO LUGO                ADDRESS ON FILE
DAVID OUVINA IZQUIERDO          ADDRESS ON FILE
DAVID P PALOS IGLESIAS          ADDRESS ON FILE
DAVID P RODRIGUEZ GONZALEZ      ADDRESS ON FILE
DAVID PABON MORALES             ADDRESS ON FILE
DAVID PABON NUNEZ               ADDRESS ON FILE
DAVID PABON NUNEZ               ADDRESS ON FILE
DAVID PADILLA RAMOS             ADDRESS ON FILE
DAVID PADILLA RODRIGUEZ         ADDRESS ON FILE
DAVID PADILLA VELEZ             ADDRESS ON FILE
DAVID PADILLA VELEZ             ADDRESS ON FILE
DAVID PADILLA, EDGAR A          ADDRESS ON FILE
DAVID PADILLA, LUIS             ADDRESS ON FILE
David Padilla, Luis A           ADDRESS ON FILE
DAVID PADILLA, LUIS A.          ADDRESS ON FILE
DAVID PADIN AYALA               ADDRESS ON FILE
DAVID PAGAN CRUZ                ADDRESS ON FILE
DAVID PAGAN RODRIGUEZ           ADDRESS ON FILE
DAVID PAGAN VILLANUEVA          ADDRESS ON FILE
DAVID PAGAN VILLANUEVA          ADDRESS ON FILE
DAVID PEDROGO, MARIA H          ADDRESS ON FILE




                                                                            Page 2086 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2087 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                             Address1                         Address2                           Address3   Address4   City      State   PostalCode   Country
DAVID PEDROGO, MARIA H.                   ADDRESS ON FILE
DAVID PELLOT GONZALEZ                     ADDRESS ON FILE
DAVID PENA CRUZ                           ADDRESS ON FILE
DAVID PENA FLORES                         ADDRESS ON FILE
DAVID PEREZ CORTES                        ADDRESS ON FILE
DAVID PEREZ CRUZ                          ADDRESS ON FILE
DAVID PEREZ ORTEGA                        ADDRESS ON FILE
DAVID PEREZ PANTOJA                       ADDRESS ON FILE
DAVID PEREZ QUILES                        ADDRESS ON FILE
DAVID PEREZ RIVERA                        ADDRESS ON FILE
DAVID PEREZ RODRIGUEZ                     ADDRESS ON FILE
DAVID PEREZ ROSA                          ADDRESS ON FILE
DAVID PEREZ ROSARIO Y ESTRELLA VALLE      ADDRESS ON FILE
DAVID PEREZ SANCHEZ                       ADDRESS ON FILE
DAVID PEREZ ZELAYA                        ADDRESS ON FILE
DAVID PEREZ, GLENN                        ADDRESS ON FILE
DAVID PINERO SANTIAGO                     ADDRESS ON FILE
DAVID PIZARRO GONZALEZ                    ADDRESS ON FILE
DAVID POCHE DIODONET                      ADDRESS ON FILE
DAVID PORTALATIN AGUIRRE/ PURA ENERGIA    ADDRESS ON FILE
DAVID PREK CRUZ                           ADDRESS ON FILE
DAVID QUINONES MORALES                    ADDRESS ON FILE
DAVID QUINONEZ                            ADDRESS ON FILE
DAVID QUINONEZ MARTINEZ                   ADDRESS ON FILE
DAVID QUINTANA NATAL                      ADDRESS ON FILE
DAVID QUINTANA QUINONES                   ADDRESS ON FILE
DAVID QUINTANA QUINONES                   ADDRESS ON FILE
DAVID R ALEJANDRO ECHEVARRIA              ADDRESS ON FILE
DAVID R CABAN MELENDEZ                    ADDRESS ON FILE
DAVID R CABAN MELENDEZ                    ADDRESS ON FILE
DAVID R CARMONA RODRIGUEZ                 ADDRESS ON FILE
DAVID R CASTRO FERRO                      ADDRESS ON FILE
DAVID R FERRER CARABALLO                  ADDRESS ON FILE
DAVID R FIGUEROA ALMODOVAR                ADDRESS ON FILE
DAVID R GONZALEZ ARROYO                   ADDRESS ON FILE
DAVID R MONTES RODRIGUEZ                  ADDRESS ON FILE
DAVID R NEGRON NIEVES                     ADDRESS ON FILE
DAVID R PINERO CORTES                     ADDRESS ON FILE
DAVID R QUESTELL ALVARADO/ VERA LOPEZ &   ADDRESS ON FILE
DAVID R RODRIGUEZ QUINONES                ADDRESS ON FILE
DAVID R RODRIGUEZ SOTO                    ADDRESS ON FILE
DAVID R ROMAN RAMOS                       ADDRESS ON FILE
DAVID R SWENSON                           ADDRESS ON FILE
DAVID R. FERRER CARABALLO                 LCDA. YOLANDA CAPPAS RODRIGUEZ   11 CALLE BETANCES                                        YAUCO     PR      00698
DAVID RAMIREZ IBARRA                      ADDRESS ON FILE
DAVID RAMIREZ SANTIAGO                    ADDRESS ON FILE
DAVID RAMOS CORALES                       ADDRESS ON FILE
DAVID RAMOS DELGADO                       ADDRESS ON FILE
DAVID RAMOS HERNANDEZ                     ADDRESS ON FILE
DAVID RAMOS ORTIZ                         ADDRESS ON FILE
DAVID RAMOS SANTIAGO                      ADDRESS ON FILE
DAVID RAMOS SOTO                          ADDRESS ON FILE
DAVID REYES BAERGA                        ADDRESS ON FILE
DAVID REYES BAERGA                        ADDRESS ON FILE
DAVID REYES BAERGA                        ADDRESS ON FILE
DAVID REYES BOCANEGRA                     ADDRESS ON FILE
DAVID REYES PEREZ                         ADDRESS ON FILE
DAVID REYES RIVERA                        ADDRESS ON FILE
DAVID REYES TORRES                        ADDRESS ON FILE
DAVID REYES TORRES                        ADDRESS ON FILE




                                                                                               Page 2087 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2088 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                           Address1                   Address2                                      Address3                 Address4              City             State   PostalCode   Country
DAVID REYES, JOSE                       ADDRESS ON FILE
DAVID REYES, KEYLA NAED                 ADDRESS ON FILE
DAVID RHOE‐ SURVEY METER                ADDRESS ON FILE
DAVID RIOS                              ADDRESS ON FILE
DAVID RIOS RUIZ                         ADDRESS ON FILE
DAVID RIVERA ARCE                       ADDRESS ON FILE
DAVID RIVERA CARTAGENA                  ADDRESS ON FILE
DAVID RIVERA CRUZ                       ADDRESS ON FILE
DAVID RIVERA CRUZ                       ADDRESS ON FILE
DAVID RIVERA FELICIANO                  ADDRESS ON FILE
DAVID RIVERA FIGUEROA                   ADDRESS ON FILE
DAVID RIVERA GARCIA                     ADDRESS ON FILE
DAVID RIVERA MD, NAZIM                  ADDRESS ON FILE
DAVID RIVERA MD, SALOMON J              ADDRESS ON FILE
DAVID RIVERA MIRANDA                    ADDRESS ON FILE
DAVID RIVERA PINTO                      ADDRESS ON FILE
DAVID RIVERA QUILES                     ADDRESS ON FILE
DAVID RIVERA ROBLES                     ADDRESS ON FILE
DAVID RIVERA RODRIGUEZ                  ADDRESS ON FILE
DAVID RIVERA SANCHEZ                    ADDRESS ON FILE
DAVID RIVERA V CORRECCION               DAVID RIVERA BETANCOURT    ANEXO 501                                     UNIDAD 3‐J 211           PO BOX 60‐7073        BAYAMON          PR      00960
DAVID RIVERA VALENTIN                   ADDRESS ON FILE
DAVID RIVERA VIRUET                     ADDRESS ON FILE
DAVID ROBLES A/C BCO DES ECONOMICO      MSC 516                    5 MUNOZ RIVERA                                                                               BARRANQUITAS     PR      00794
DAVID ROCHLIN                           ADDRESS ON FILE
DAVID RODRIGUEZ                         ADDRESS ON FILE
DAVID RODRIGUEZ ANDINO                  ADDRESS ON FILE
DAVID RODRIGUEZ BERMUDEZ                ADDRESS ON FILE
DAVID RODRIGUEZ CARRION                 ADDRESS ON FILE

DAVID RODRÍGUEZ COLÓN Y JEAN MARIO ORTIZ FEDERICO LÓPEZ SANTIAGO   COND. EXECUTIVE SUITE 1100‐A                  623 AVE. Ponce DE LEÓN                         SAN JUAN         PR      00917
DAVID RODRIGUEZ CONCEPCION               ADDRESS ON FILE
DAVID RODRIGUEZ COTTO                    ADDRESS ON FILE
                                                                                                                                          ALTAGRACIA BUILDING
DAVID RODRIGUEZ COTTO                   CARLOS J. MORALES BAUZA    ROSSELLO & MORALES CSP                        262 URUGUAY ST,          SUITE C‐3             SAN JUAN         PR      00918
DAVID RODRIGUEZ ESTRADA                 ADDRESS ON FILE
DAVID RODRIGUEZ HERNANDEZ               ADDRESS ON FILE
DAVID RODRIGUEZ HERNANDEZ               ADDRESS ON FILE
DAVID RODRIGUEZ MOJICA                  ADDRESS ON FILE
DAVID RODRIGUEZ NEGRON                  ADDRESS ON FILE
DAVID RODRIGUEZ OTERO                   ADDRESS ON FILE
DAVID RODRIGUEZ OTERO                   ADDRESS ON FILE
DAVID RODRIGUEZ PACHECO                 ADDRESS ON FILE
DAVID RODRIGUEZ PEREZ                   ADDRESS ON FILE
DAVID RODRIGUEZ RAMIREZ                 ADDRESS ON FILE
DAVID RODRIGUEZ REYES                   ADDRESS ON FILE
DAVID RODRIGUEZ RIVERA                  ADDRESS ON FILE
DAVID RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
DAVID RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
DAVID RODRIGUEZ ROLDAN                  ADDRESS ON FILE
DAVID RODRIGUEZ ROSADO                  ADDRESS ON FILE
DAVID RODRIGUEZ SANTIAGO                ADDRESS ON FILE
DAVID RODRIGUEZ SCOTT                   ADDRESS ON FILE
DAVID RODRIGUEZ, BERLITZ                ADDRESS ON FILE
David Rodriguez, Berlitz I              ADDRESS ON FILE
DAVID RODRIGUEZ, CRISTOBAL              ADDRESS ON FILE
DAVID RODRIGUEZ, EDEN G.                ADDRESS ON FILE
DAVID RODRIGUEZ, ELIZABETH              ADDRESS ON FILE
DAVID RODRIGUEZ, ELSA                   ADDRESS ON FILE
DAVID RODRIGUEZ, FRANCISCO              ADDRESS ON FILE




                                                                                                  Page 2088 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2089 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                       Address1                    Address2                           Address3   Address4   City         State   PostalCode   Country
DAVID RODRIGUEZ, MARIA              ADDRESS ON FILE
DAVID RODRIGUEZ, ROSA M             ADDRESS ON FILE
DAVID ROMAN ARBONA                  ADDRESS ON FILE
DAVID ROMAN MARTINEZ                ADDRESS ON FILE
DAVID ROMAN MORENO                  ADDRESS ON FILE
DAVID ROMAN RIVERA                  ADDRESS ON FILE
DAVID ROMAN, NASIM                  ADDRESS ON FILE
DAVID ROSA FONSECA                  ADDRESS ON FILE
DAVID ROSA RIVERA                   ADDRESS ON FILE
DAVID ROSA RIVERA                   ADDRESS ON FILE
DAVID ROSA RODAN                    ADDRESS ON FILE
DAVID ROSADO LOZADA                 ADDRESS ON FILE
DAVID ROSARIO BURGOS                ADDRESS ON FILE
DAVID ROSARIO, CRISTY J             ADDRESS ON FILE
DAVID ROSARIO, JUAN                 ADDRESS ON FILE
DAVID ROSARIO, NYDIA                ADDRESS ON FILE
DAVID ROSARIO, TERESA               ADDRESS ON FILE
DAVID RUIZ CARDONA                  ADDRESS ON FILE
DAVID RUIZ, WIDALYS                 ADDRESS ON FILE
DAVID SANCHEZ MELO                  ADDRESS ON FILE
DAVID SANCHEZ RIVERA                ADDRESS ON FILE
DAVID SANCHEZ, DELMA I              ADDRESS ON FILE
DAVID SANCHEZ, LUZ Z                ADDRESS ON FILE
DAVID SANCHEZ, SANTOS               ADDRESS ON FILE
DAVID SANCHEZ, SANTOS               ADDRESS ON FILE
DAVID SANCHEZ, SYLVIA A.            ADDRESS ON FILE
DAVID SANCHEZ, YAHAIRA              ADDRESS ON FILE
DAVID SANTIAGO                      ADDRESS ON FILE
DAVID SANTIAGO REYES                ADDRESS ON FILE
DAVID SANTIAGO REYES                ADDRESS ON FILE
DAVID SANTIAGO RIVERA               ADDRESS ON FILE
DAVID SANTIAGO RIVERA               ADDRESS ON FILE
DAVID SANTIAGO, CARMEN L.           ADDRESS ON FILE
DAVID SANTIAGO, CARMEN L.           ADDRESS ON FILE
DAVID SANTIAGO, EDDIE               ADDRESS ON FILE
DAVID SANTIAGO, NANCY               ADDRESS ON FILE
DAVID SANTINI TRINIDAD              ADDRESS ON FILE
DAVID SANTOS CARABALLO              ADDRESS ON FILE
DAVID SANTOS CARABALLO              ADDRESS ON FILE
DAVID SANTOS RAMOS                  ADDRESS ON FILE
DAVID SEGARRA RIVERA                ADDRESS ON FILE
DAVID SERRANO ACEVEDO               ADDRESS ON FILE
DAVID SERRANO PALAU                 ADDRESS ON FILE
DAVID SERRANO ROSARIO               ADDRESS ON FILE
DAVID SERRANO SERRANO               ADDRESS ON FILE
DAVID SERRANO VELEZ                 ADDRESS ON FILE
DAVID SILVA CASIANO                 ADDRESS ON FILE
DAVID SOLOMIANY Y ROXANNE CORKIDI   ADDRESS ON FILE
DAVID SOTO MORALES                  ADDRESS ON FILE
DAVID SOTO PEREZ                    ADDRESS ON FILE
DAVID SOTO ROSA                     ADDRESS ON FILE
DAVID SOTO SANCHEZ                  ADDRESS ON FILE
DAVID SOTO, DAMARIS                 ADDRESS ON FILE
DAVID STEPHEN ENGLAND TRUST         LOS CAMPOS DE MONTEHIEDRA   760 VALLE DEL TOA                                        SAN JUAN     PR      00927
DAVID T WANG                        ADDRESS ON FILE
DAVID TORRES ALEJANDRO              ADDRESS ON FILE
DAVID TORRES GONZALEZ               ADDRESS ON FILE
DAVID TORRES LOPEZ                  ADDRESS ON FILE
DAVID TORRES RODRIGUEZ              ADDRESS ON FILE
DAVID TORRES TORRES                 ADDRESS ON FILE




                                                                                    Page 2089 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2090 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
DAVID TORRES VELAZQUEZ        ADDRESS ON FILE
DAVID TORRES ZABALA           ADDRESS ON FILE
DAVID TORRES, JULIO R.        ADDRESS ON FILE
DAVID TORRES, JULISSA         ADDRESS ON FILE
DAVID TORRES, LUIS A          ADDRESS ON FILE
DAVID TORRES, MIRIAM A.       ADDRESS ON FILE
DAVID UJAQUE RIVERA           ADDRESS ON FILE
DAVID VALENTIN MUNOZ          ADDRESS ON FILE
DAVID VARELA, GELITZA         ADDRESS ON FILE
DAVID VARGAS BUENO            ADDRESS ON FILE
DAVID VAZQUEZ BERRIOS         ADDRESS ON FILE
DAVID VAZQUEZ CRUZ            ADDRESS ON FILE
DAVID VAZQUEZ PINEIRO         ADDRESS ON FILE
DAVID VAZQUEZ QUINONES        ADDRESS ON FILE
DAVID VEGA RODRIGUEZ          ADDRESS ON FILE
DAVID VEGA ROLON              ADDRESS ON FILE
DAVID VELAZQUEZ AVILES        ADDRESS ON FILE
DAVID VELAZQUEZ AVILES        ADDRESS ON FILE
DAVID VELAZQUEZ CORDOVA       ADDRESS ON FILE
DAVID VELAZQUEZ GONZALEZ      ADDRESS ON FILE
DAVID VELAZQUEZ RODRIGUEZ     ADDRESS ON FILE
DAVID VELEZ CRESPO            ADDRESS ON FILE
DAVID VELEZ MERCADO           ADDRESS ON FILE
DAVID VELEZ VARGAS            ADDRESS ON FILE
DAVID VERGEL DE MIRANDA       ADDRESS ON FILE
DAVID VICENTE COLON           ADDRESS ON FILE
DAVID VIDAL ZAYALA            ADDRESS ON FILE
DAVID VILLALOBOS LOPEZ        ADDRESS ON FILE
DAVID VILLANUEVA MATIAS       ADDRESS ON FILE
DAVID VILLEGAS CEBALLOS       ADDRESS ON FILE
DAVID VINCE FEU               ADDRESS ON FILE
DAVID WOLMART SANCHEZ         ADDRESS ON FILE
DAVID X MALAVE HERNANDEZ      ADDRESS ON FILE
DAVID Y ROMAN SEGARRA         ADDRESS ON FILE
DAVID Y ROMAN SEGARRA         ADDRESS ON FILE
DAVID ZABALA ROBLES           ADDRESS ON FILE
DAVID ZAMBRANA, EDWIN         ADDRESS ON FILE
DAVID ZAMBRANA, LUZ NEREIDA   ADDRESS ON FILE
DAVID ZAMBRANA, MARLEEN       ADDRESS ON FILE
DAVID ZAMBRANA, RAUL          ADDRESS ON FILE
DAVID ZAYAS MEDINA            ADDRESS ON FILE
DAVID ZAYAS, CARMEN D         ADDRESS ON FILE
DAVID ZAYAS, DORALDINA        ADDRESS ON FILE
DAVID ZAYAS, JESSICA          ADDRESS ON FILE
DAVID ZAYAS, WANDA I.         ADDRESS ON FILE
DAVID,GLENN                   ADDRESS ON FILE
DAVIDSON DELGADO, GRACE M     ADDRESS ON FILE
DAVIDSON VALENTIN MORALES     ADDRESS ON FILE
DAVIER D CABRERO PEREZ        ADDRESS ON FILE
DAVILA & DAVILA LAW OFFICES   351 CALLE DE TETUAN STE 3A                                                       SAN JUAN     PR      00901‐1934
DAVILA ACEVEDO, JOSE          ADDRESS ON FILE
DAVILA ACEVEDO, MARIO         ADDRESS ON FILE
DAVILA ACOSTA, ALEXIA         ADDRESS ON FILE
DAVILA ACOSTA, EVELYN         ADDRESS ON FILE
DAVILA ACOSTA, LUZ E          ADDRESS ON FILE
DAVILA ADORNO, CARMEN M       ADDRESS ON FILE
Davila Adorno, Juan A         ADDRESS ON FILE
DAVILA ADORNO, LUZ M.         ADDRESS ON FILE
DAVILA ADORNO, ROSA M         ADDRESS ON FILE
DAVILA ADORNO, ZAIRI          ADDRESS ON FILE




                                                                          Page 2090 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2091 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA AGOSTO, MARDICK           ADDRESS ON FILE
DAVILA AGOSTO, MARDICK MARCELO   ADDRESS ON FILE
DAVILA ALAMO, ARLEEN             ADDRESS ON FILE
DAVILA ALAMO, JOSE               ADDRESS ON FILE
DAVILA ALEJANDRO, SANDRA         ADDRESS ON FILE
Davila Aleman, Carlos M.         ADDRESS ON FILE
DAVILA ALEMAN, ENRIQUE           ADDRESS ON FILE
DAVILA ALICEA, AIDA L            ADDRESS ON FILE
DAVILA ALICEA, CARLOS            ADDRESS ON FILE
DAVILA ALICEA, CARMEN S          ADDRESS ON FILE
DAVILA ALICEA, FRANCISCO         ADDRESS ON FILE
DAVILA ALICEA, JEANNETTE         ADDRESS ON FILE
DAVILA ALICEA, JETZABEL          ADDRESS ON FILE
Davila Alicea, Julio             ADDRESS ON FILE
DAVILA ALICEA, LEIDA             ADDRESS ON FILE
DAVILA ALICEA, ORLANDO           ADDRESS ON FILE
DAVILA ALLENDE, ANGEL R.         ADDRESS ON FILE
DAVILA ALLENDE, JESUS M.         ADDRESS ON FILE
DAVILA ALMEDA, ROSA M            ADDRESS ON FILE
DAVILA ALONSO, MARISOL           ADDRESS ON FILE
DAVILA ALSINA, LUZ E             ADDRESS ON FILE
DAVILA ALTIERI, STEPHEN W        ADDRESS ON FILE
DAVILA ALVARE,CARLOS J.          ADDRESS ON FILE
DAVILA ALVAREZ, CARLOS J         ADDRESS ON FILE
DAVILA ALVAREZ, EDWIN            ADDRESS ON FILE
DAVILA ALVAREZ, NILDA L          ADDRESS ON FILE
Davila Alvarez, Yolanda          ADDRESS ON FILE
DAVILA ALVIRA, BRENDA L.         ADDRESS ON FILE
DAVILA ALVIRA, BRENDA L.         ADDRESS ON FILE
DAVILA AMY, RAFAEL               ADDRESS ON FILE
DAVILA ANDINO, MANUEL            ADDRESS ON FILE
DAVILA ANDINO, NORAYMA           ADDRESS ON FILE
DAVILA ANDUJAR, LUIS             ADDRESS ON FILE
DAVILA ANDUJAR, LUIS             ADDRESS ON FILE
DAVILA ANDUJAR, MARYIN           ADDRESS ON FILE
DAVILA APONTE MD, WANDA E        ADDRESS ON FILE
DAVILA APONTE, MIGDALIA          ADDRESS ON FILE
DAVILA APONTE, NORMA             ADDRESS ON FILE
DAVILA APONTE, NORMA I           ADDRESS ON FILE
DAVILA APONTE, RAMON             ADDRESS ON FILE
DAVILA APONTE, RAMON             ADDRESS ON FILE
DAVILA APONTE, RAMON             ADDRESS ON FILE
DAVILA APONTE, RAMON L           ADDRESS ON FILE
DAVILA AQUINO, REBECA X          ADDRESS ON FILE
DAVILA AQUINO, XAVIER            ADDRESS ON FILE
DAVILA ARANA, ROSA E             ADDRESS ON FILE
DAVILA ARCHILLA, MIRELYS Y.      ADDRESS ON FILE
Davila Ares, Jose M              ADDRESS ON FILE
DAVILA ARZUAGA, MIGUEL A         ADDRESS ON FILE
DAVILA AVILA, BRUNILDA           ADDRESS ON FILE
DAVILA AYALA, HECTOR             ADDRESS ON FILE
DAVILA AYALA, JORGE              ADDRESS ON FILE
DAVILA AYALA, JOSEAN             ADDRESS ON FILE
DAVILA AYALA, NELIDA             ADDRESS ON FILE
DAVILA AYALA, NELIDA             ADDRESS ON FILE
DAVILA BAEZ, SYLVIA              ADDRESS ON FILE
DAVILA BARRETO, CRUZ M           ADDRESS ON FILE
DAVILA BARRETO, HILDA M          ADDRESS ON FILE
DAVILA BARRETO, JOSE A.          ADDRESS ON FILE
DAVILA BARRETO, VICTOR           ADDRESS ON FILE




                                                                             Page 2091 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2092 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA BARRETO, WANDA J         ADDRESS ON FILE
DAVILA BARRIOS, GLORIMAR        ADDRESS ON FILE
Davila Barrios, Jorge L         ADDRESS ON FILE
Davila Barrios, Luis            ADDRESS ON FILE
DAVILA BARRIOS, ZORIMAR         ADDRESS ON FILE
DAVILA BATISTA, MARIO           ADDRESS ON FILE
DAVILA BELTRAN, AGUSTIN         ADDRESS ON FILE
DAVILA BELTRAN, ANA DE LOS A    ADDRESS ON FILE
DAVILA BENITEZ, DELIANNETTE     ADDRESS ON FILE
Davila Benitez, Keila V         ADDRESS ON FILE
DAVILA BENITEZ, MIRIAM          ADDRESS ON FILE
DAVILA BENTEGEAT, ARMANDO L.    ADDRESS ON FILE
Davila Bermudez, Oscar Miguel   ADDRESS ON FILE
DAVILA BERMUDEZ, ZAXYVETTE      ADDRESS ON FILE
DAVILA BERNIER, CAROLINA        ADDRESS ON FILE
DAVILA BERNIER, GRACIE          ADDRESS ON FILE
DAVILA BERNIER, YARA            ADDRESS ON FILE
DAVILA BERRIOS, CARMEN L        ADDRESS ON FILE
DAVILA BERRIOS, KARINA          ADDRESS ON FILE
DAVILA BETANCOURT, JAVIER       ADDRESS ON FILE
DAVILA BETANCOURT, SHEILA       ADDRESS ON FILE
DAVILA BEZARES, PHILLIP         ADDRESS ON FILE
DAVILA BOCACHICA, GRISEL        ADDRESS ON FILE
DAVILA BOCACHICA, ORISON        ADDRESS ON FILE
DAVILA BORIA, JUAN              ADDRESS ON FILE
DAVILA BORRERO, MILDRED E       ADDRESS ON FILE
DAVILA BRAVO, JULIO J.          ADDRESS ON FILE
DAVILA BROWN, AVELINO           ADDRESS ON FILE
DAVILA BRUGMAN, SASHA           ADDRESS ON FILE
DAVILA BURGOS, BRENDA L.        ADDRESS ON FILE
DAVILA BURGOS, CARMEN           ADDRESS ON FILE
DAVILA BURGOS, DAMARY           ADDRESS ON FILE
DAVILA BURGOS, DAPHNE I         ADDRESS ON FILE
Davila Burgos, Juan             ADDRESS ON FILE
DAVILA BURGOS, NESTOR           ADDRESS ON FILE
DAVILA CABALLERO, CYMARA        ADDRESS ON FILE
DAVILA CABALLERO, CYMARA M      ADDRESS ON FILE
DAVILA CABALLERO, MAYRA         ADDRESS ON FILE
DAVILA CABALLERO, RAUL          ADDRESS ON FILE
DAVILA CABRERA, EDITH Y         ADDRESS ON FILE
DAVILA CABRERA, GISELLE         ADDRESS ON FILE
DAVILA CABRERA, GISELLE         ADDRESS ON FILE
DAVILA CAMACHO, KENNETH         ADDRESS ON FILE
DAVILA CAMACHO, KEVIN           ADDRESS ON FILE
DAVILA CANCEL, AIXA B.          ADDRESS ON FILE
DAVILA CANCEL, VANESSA          ADDRESS ON FILE
DAVILA CANCEL, VANESSA M        ADDRESS ON FILE
DAVILA CANDELARIA, MAYBELIZ     ADDRESS ON FILE
DAVILA CANDELARIO, ISMAEL       ADDRESS ON FILE
DAVILA CANINO, RICARDO          ADDRESS ON FILE
DAVILA CARABALLO, ERIER         ADDRESS ON FILE
DAVILA CARABALLO, ILIANIVETTE   ADDRESS ON FILE
DAVILA CARABALLO, JAVIER        ADDRESS ON FILE
DAVILA CARABALLO, MARY          ADDRESS ON FILE
DAVILA CARABALLO, SILKA         ADDRESS ON FILE
DAVILA CARABALLO, YARITZA A.    ADDRESS ON FILE
DAVILA CARLOS, MARIA E.         ADDRESS ON FILE
DAVILA CARMONA, DALYA           ADDRESS ON FILE
DAVILA CARO, HELEN              ADDRESS ON FILE
DAVILA CARRASQUILLO, LIZA M.    ADDRESS ON FILE




                                                                            Page 2092 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2093 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA CARRASQUILLO, LIZA M.   ADDRESS ON FILE
DAVILA CARRASQUILLO, LUIS      ADDRESS ON FILE
DAVILA CARRASQUILLO, WANDA     ADDRESS ON FILE
DAVILA CARRION, EDUARDO        ADDRESS ON FILE
DAVILA CARTAGENA, CARMEN G     ADDRESS ON FILE
DAVILA CARTAGENA, VIRGINIA     ADDRESS ON FILE
DAVILA CARTAGENA, WANDA        ADDRESS ON FILE
DAVILA CASABLANCA, AURORA      ADDRESS ON FILE
DAVILA CASANOVA, DANIEL        ADDRESS ON FILE
DAVILA CASASNOVAS, DIANA       ADDRESS ON FILE
DAVILA CASASNOVAS, GLORIA      ADDRESS ON FILE
DAVILA CASTANEDA, RONALD       ADDRESS ON FILE
DAVILA CASTRO, ANGEL           ADDRESS ON FILE
DAVILA CASTRO, CARMEN M.       ADDRESS ON FILE
DAVILA CASTRO, ELIZABETH       ADDRESS ON FILE
DAVILA CASTRO, JANITZA         ADDRESS ON FILE
Davila Castro, Jose A          ADDRESS ON FILE
DAVILA CASTRO, JUAN            ADDRESS ON FILE
DAVILA CASTRO, JUAN E          ADDRESS ON FILE
DAVILA CASTRO, MAGDALENA       ADDRESS ON FILE
DAVILA CEDENO, FERNANDO        ADDRESS ON FILE
DAVILA CEPEDA, MARIA DE L      ADDRESS ON FILE
DAVILA CEPEDA, MAYRA N.        ADDRESS ON FILE
DAVILA CEPEDA, PEDRO           ADDRESS ON FILE
DAVILA CHARMANT, WILMER A.     ADDRESS ON FILE
DAVILA CHARRIEZ, CARMEN M      ADDRESS ON FILE
DAVILA CID, SAMUEL G.          ADDRESS ON FILE
DAVILA CINTRON MD, JOAQUIN     ADDRESS ON FILE
DAVILA CINTRON, AIDA N         ADDRESS ON FILE
DAVILA CINTRON, EUSTAQUIO      ADDRESS ON FILE
DAVILA CINTRON, GABRIEL        ADDRESS ON FILE
DAVILA CIRINO, BRAYAN L        ADDRESS ON FILE
Davila Cirino, Felix           ADDRESS ON FILE
DAVILA CIRINO, LUZ             ADDRESS ON FILE
DAVILA CIRINO, NEYSHA LIZ      ADDRESS ON FILE
Davila Cirino, Yanira          ADDRESS ON FILE
DAVILA CLAUDIO, CARMEN N       ADDRESS ON FILE
DAVILA CLAUDIO, JOAN           ADDRESS ON FILE
DAVILA CLAUDIO, JUAN A         ADDRESS ON FILE
DAVILA COLLAZO, ANGEL          ADDRESS ON FILE
DAVILA COLLAZO, EMANNUEL       ADDRESS ON FILE
DAVILA COLLAZO, EMANUEL        ADDRESS ON FILE
DAVILA COLLAZO, LAURA E        ADDRESS ON FILE
DAVILA COLON, ADRIANIS         ADDRESS ON FILE
DAVILA COLON, ANGEL M.         ADDRESS ON FILE
DAVILA COLON, BLANCA M         ADDRESS ON FILE
DAVILA COLON, CAROLINA M       ADDRESS ON FILE
DAVILA COLON, CRISTINA M       ADDRESS ON FILE
DAVILA COLON, CYNTHIA          ADDRESS ON FILE
DAVILA COLON, DAMARY           ADDRESS ON FILE
DAVILA COLON, EDGARDO          ADDRESS ON FILE
DAVILA COLON, ELIZABETH        ADDRESS ON FILE
DAVILA COLON, FRANK            ADDRESS ON FILE
DAVILA COLON, HECTOR           ADDRESS ON FILE
DAVILA COLON, HECTOR M.        ADDRESS ON FILE
DAVILA COLON, IVETTE M         ADDRESS ON FILE
DAVILA COLON, JORGE OMAR       ADDRESS ON FILE
DAVILA COLON, JOSE             ADDRESS ON FILE
DAVILA COLON, JOSE A           ADDRESS ON FILE
Davila Colon, Luis F           ADDRESS ON FILE




                                                                           Page 2093 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2094 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA COLON, MARIA C         ADDRESS ON FILE
DAVILA COLON, MERARY          ADDRESS ON FILE
Davila Colon, Migdalia        ADDRESS ON FILE
DAVILA COLON, NANCY           ADDRESS ON FILE
DAVILA COLON, NILDA           ADDRESS ON FILE
DAVILA COLON, PEDRO J         ADDRESS ON FILE
DAVILA COLON, ROBERTO         ADDRESS ON FILE
DAVILA COLON, VANESSA         ADDRESS ON FILE
DAVILA CONCEPCION, OLGA O     ADDRESS ON FILE
DAVILA CONTRERAS, JOSE L.     ADDRESS ON FILE
DAVILA CORA, DARWIN           ADDRESS ON FILE
DAVILA CORDOVA, ANGEL R       ADDRESS ON FILE
DAVILA CORIANO, ESTHERMARIE   ADDRESS ON FILE
DAVILA CORONAS, BRENDA L      ADDRESS ON FILE
DAVILA CORONAS, SONIA I.      ADDRESS ON FILE
DAVILA CORREA, GILDA          ADDRESS ON FILE
Davila Correa, Jose A         ADDRESS ON FILE
Davila Correa, Maria E.       ADDRESS ON FILE
DAVILA CORREA, MARTA E.       ADDRESS ON FILE
Davila Correa, Niulca I       ADDRESS ON FILE
DAVILA CORREA, WALESKA        ADDRESS ON FILE
Davila Correa, Wenther        ADDRESS ON FILE
DAVILA CORTES, ANGEL          ADDRESS ON FILE
DAVILA CORTES, LUIS           ADDRESS ON FILE
DAVILA CORTES, LUISA          ADDRESS ON FILE
Davila Cortes, Melba I        ADDRESS ON FILE
DAVILA COSME, SONYA           ADDRESS ON FILE
DAVILA COSME, WILLIAM         ADDRESS ON FILE
DAVILA COSS, MICHELLE         ADDRESS ON FILE
DAVILA COSTALES, AMLISMARIE   ADDRESS ON FILE
DAVILA COTTO, JAVIER          ADDRESS ON FILE
DAVILA CRESPO, ALEX JAVIER    ADDRESS ON FILE
DAVILA CRESPO, ENRIQUE        ADDRESS ON FILE
DAVILA CRUZ, ABIGAIL          ADDRESS ON FILE
DAVILA CRUZ, AIDA             ADDRESS ON FILE
DAVILA CRUZ, ALEJANDRA        ADDRESS ON FILE
DAVILA CRUZ, AXEL L.          ADDRESS ON FILE
DAVILA CRUZ, DOROTHY M.       ADDRESS ON FILE
DAVILA CRUZ, EDWIN ALFREDO    ADDRESS ON FILE
DAVILA CRUZ, FRANCISCA        ADDRESS ON FILE
DAVILA CRUZ, GIANCARLO        ADDRESS ON FILE
DAVILA CRUZ, IRMA             ADDRESS ON FILE
DAVILA CRUZ, LIZ              ADDRESS ON FILE
DAVILA CRUZ, MILAGROS         ADDRESS ON FILE
DAVILA CRUZ, MIRTA A          ADDRESS ON FILE
DAVILA CRUZ, MONICA           ADDRESS ON FILE
DAVILA CRUZ, ROLANDO          ADDRESS ON FILE
DAVILA CRUZ, RUTH E           ADDRESS ON FILE
DAVILA CRUZ, SUHAIL           ADDRESS ON FILE
DAVILA CRUZ, WANDA            ADDRESS ON FILE
Davila Cruz, Wanda I          ADDRESS ON FILE
DAVILA DAVILA, ANGEL          ADDRESS ON FILE
DAVILA DAVILA, ARLIA          ADDRESS ON FILE
DAVILA DAVILA, DELIA L        ADDRESS ON FILE
DAVILA DAVILA, ISMAEL         ADDRESS ON FILE
DAVILA DAVILA, KENIA          ADDRESS ON FILE
DAVILA DAVILA, LIARA          ADDRESS ON FILE
DAVILA DAVILA, NELSON         ADDRESS ON FILE
DAVILA DAVILA, OVIDIO         ADDRESS ON FILE
DAVILA DE BURDEN, AIDA        ADDRESS ON FILE




                                                                          Page 2094 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2095 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA DE GARCIA, JESSIKA       ADDRESS ON FILE
DAVILA DE GRACIA, MARVIN        ADDRESS ON FILE
DAVILA DE GRACIA, RICARDO       ADDRESS ON FILE
Davila De Jesus, Glorivee       ADDRESS ON FILE
DAVILA DE JESUS, JUAN           ADDRESS ON FILE
DAVILA DE JESUS, JUDITH N.      ADDRESS ON FILE
DAVILA DE JESUS, LOYDA L        ADDRESS ON FILE
DAVILA DE JESUS, LUIS           ADDRESS ON FILE
DAVILA DE JESUS, REINA          ADDRESS ON FILE
DAVILA DE LEON, FELICITA        ADDRESS ON FILE
DAVILA DE RAMIREZ, MATILDE      ADDRESS ON FILE
DAVILA DEL CAMPO, HECTOR R.     ADDRESS ON FILE
Davila Del Valle, Angel L       ADDRESS ON FILE
DAVILA DEL VALLE, EDDIE         ADDRESS ON FILE
DAVILA DEL VALLE, LUZ           ADDRESS ON FILE
DAVILA DEL VALLE, OSCAR G.      ADDRESS ON FILE
DAVILA DEL VALLE, SONIA         ADDRESS ON FILE
DAVILA DELGADO, CARMEN D        ADDRESS ON FILE
DAVILA DELGADO, SANTOS          ADDRESS ON FILE
DAVILA DEPEDRO MD, ROBERTO      ADDRESS ON FILE
DAVILA DEPEDRO MD, ROBERTO L    ADDRESS ON FILE
DAVILA DIAZ MD, ZAYDA           ADDRESS ON FILE
DAVILA DIAZ, AIDA R             ADDRESS ON FILE
DAVILA DIAZ, ANA                ADDRESS ON FILE
DAVILA DIAZ, ANA L              ADDRESS ON FILE
DAVILA DIAZ, BRENDA I           ADDRESS ON FILE
DAVILA DIAZ, CARLOS M           ADDRESS ON FILE
DAVILA DIAZ, CATHERINE          ADDRESS ON FILE
DAVILA DIAZ, HECTOR             ADDRESS ON FILE
DAVILA DIAZ, JENNIFER           ADDRESS ON FILE
DAVILA DIAZ, JORGE              ADDRESS ON FILE
DAVILA DIAZ, JOSE               ADDRESS ON FILE
Davila Diaz, Juan A             ADDRESS ON FILE
DAVILA DIAZ, JUSTINO            ADDRESS ON FILE
DAVILA DIAZ, LIZ M              ADDRESS ON FILE
DAVILA DIAZ, MARIA J            ADDRESS ON FILE
DAVILA DIAZ, MARIA T.           ADDRESS ON FILE
DAVILA DIAZ, WILMARI            ADDRESS ON FILE
DAVILA DIAZ, WILMER             ADDRESS ON FILE
Davila Diaz, Wilmer             ADDRESS ON FILE
DAVILA DIAZ, ZAIDA              ADDRESS ON FILE
DAVILA DOMENECH, CESAR          ADDRESS ON FILE
DAVILA DOMINGUEZ, DIANA         ADDRESS ON FILE
DAVILA DOMINGUEZ, JOSE D.       ADDRESS ON FILE
DAVILA DOMINGUEZ, SANTA         ADDRESS ON FILE
DAVILA DONES, PEDRO             ADDRESS ON FILE
DAVILA DROZ, NORMARIS           ADDRESS ON FILE
DAVILA DUPREY, ROSALIA          ADDRESS ON FILE
DAVILA ESCOBAR, LIZETTE         ADDRESS ON FILE
DAVILA ESCUDERO, RUT M          ADDRESS ON FILE
DAVILA ESQUILIN, GLENDA G.      ADDRESS ON FILE
DAVILA FEBUS, CLARIBEL          ADDRESS ON FILE
DAVILA FELICIANO, HILDA         ADDRESS ON FILE
DAVILA FELICIANO, HILDA         ADDRESS ON FILE
DAVILA FELIX, ISAIAS            ADDRESS ON FILE
DAVILA FELIX, JANETTE           ADDRESS ON FILE
DAVILA FERNANDEZ, CARMEN M.     ADDRESS ON FILE
DAVILA FERNANDEZ, DENNIS        ADDRESS ON FILE
DAVILA FERNANDEZ, JOSE A.       ADDRESS ON FILE
DAVILA FERNANDEZ, MARIA DEL C   ADDRESS ON FILE




                                                                            Page 2095 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2096 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA FERRE, ANGEL          ADDRESS ON FILE
DAVILA FIGUEROA, AIDA I      ADDRESS ON FILE
DAVILA FIGUEROA, BENJAMIN    ADDRESS ON FILE
DAVILA FIGUEROA, CORAL       ADDRESS ON FILE
DAVILA FIGUEROA, DEBRA       ADDRESS ON FILE
DAVILA FIGUEROA, EDWIN       ADDRESS ON FILE
DAVILA FIGUEROA, ELBA D      ADDRESS ON FILE
DAVILA FIGUEROA, HECTOR      ADDRESS ON FILE
DAVILA FIGUEROA, JHOCELYN    ADDRESS ON FILE
DAVILA FIGUEROA, JOSE A.     ADDRESS ON FILE
DAVILA FIGUEROA, JUANITA     ADDRESS ON FILE
DAVILA FIGUEROA, MAYRA       ADDRESS ON FILE
DAVILA FIGUEROA, RAUL        ADDRESS ON FILE
DAVILA FIGUEROA, ROSA        ADDRESS ON FILE
DAVILA FIGUEROA, ROSA M      ADDRESS ON FILE
DAVILA FIGUEROA, YAIRELIZ    ADDRESS ON FILE
DAVILA FLORES, BLANCA I      ADDRESS ON FILE
DAVILA FLORES, DOLORES       ADDRESS ON FILE
Davila Flores, Janet         ADDRESS ON FILE
DAVILA FLORES, JOHANNA       ADDRESS ON FILE
DAVILA FLORES, JOHANNA       ADDRESS ON FILE
Davila Flores, Jorge L       ADDRESS ON FILE
DAVILA FLORES, LUIS          ADDRESS ON FILE
DAVILA FOURNIER, DALIZ M     ADDRESS ON FILE
DAVILA FRADES, ARLEEN        ADDRESS ON FILE
DAVILA FRANCO, ANGEL         ADDRESS ON FILE
DAVILA FROMETA, YASENIA      ADDRESS ON FILE
DAVILA FUENTES, DANALIZ      ADDRESS ON FILE
DAVILA FUENTES, JANNAL M     ADDRESS ON FILE
DAVILA FUENTES, JESUS        ADDRESS ON FILE
DAVILA FUENTES, NAYDA I.     ADDRESS ON FILE
DAVILA FUENTES, VICTOR       ADDRESS ON FILE
DAVILA FUENTES, VICTOR M     ADDRESS ON FILE
DAVILA GALARZA, ELLIOT       ADDRESS ON FILE
DAVILA GARCIA MD, EDGAR      ADDRESS ON FILE
DAVILA GARCIA TRUST          PO BOX 362708                                                                    SAN JUAN     PR      00936‐2708
DAVILA GARCIA, ANGEL         ADDRESS ON FILE
DAVILA GARCIA, ANGELA ROSA   ADDRESS ON FILE
DAVILA GARCIA, EDGAR         ADDRESS ON FILE
DAVILA GARCIA, EDNA R        ADDRESS ON FILE
DAVILA GARCIA, ELIZABETH     ADDRESS ON FILE
DAVILA GARCIA, EMMA LUZ      ADDRESS ON FILE
Davila Garcia, Felix         ADDRESS ON FILE
DAVILA GARCIA, HECTOR J.     ADDRESS ON FILE
DAVILA GARCIA, IBIS M        ADDRESS ON FILE
DAVILA GARCIA, JOSE L        ADDRESS ON FILE
DAVILA GARCIA, JUAN          ADDRESS ON FILE
DAVILA GARCIA, JUAN M        ADDRESS ON FILE
DAVILA GARCIA, KARLO         ADDRESS ON FILE
DAVILA GARCIA, LUCILA        ADDRESS ON FILE
DAVILA GARCIA, LUCILA        ADDRESS ON FILE
DAVILA GARCIA, LUIS          ADDRESS ON FILE
DAVILA GARCIA, LYNNETTE M    ADDRESS ON FILE
DAVILA GARCIA, MAYRA         ADDRESS ON FILE
DAVILA GARCIA, NATALIA       ADDRESS ON FILE
DAVILA GARCIA, NATALIA       ADDRESS ON FILE
DAVILA GARCIA, NELSON        ADDRESS ON FILE
DAVILA GARCIA, NILDA L       ADDRESS ON FILE
DAVILA GARCIA, ROXANA        ADDRESS ON FILE
DAVILA GARCIA, SARA          ADDRESS ON FILE




                                                                         Page 2096 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2097 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA GARCIA, SHEILA M       ADDRESS ON FILE
DAVILA GARCIA, VICENTE        ADDRESS ON FILE
Davila Gines, Marangeli       ADDRESS ON FILE
DAVILA GINES, MARANGELY       ADDRESS ON FILE
DAVILA GOMEZ, CARMEN E        ADDRESS ON FILE
DAVILA GOMEZ, ERNESTO         ADDRESS ON FILE
DAVILA GOMEZ, HECTOR A        ADDRESS ON FILE
DAVILA GOMEZ, MILAGROS        ADDRESS ON FILE
Davila Gonzalez, Alberto      ADDRESS ON FILE
DAVILA GONZALEZ, ANGEL        ADDRESS ON FILE
DAVILA GONZALEZ, CARLOS E.    ADDRESS ON FILE
DAVILA GONZALEZ, CRISTIAN     ADDRESS ON FILE
DAVILA GONZALEZ, DAVID        ADDRESS ON FILE
DAVILA GONZALEZ, ELI          ADDRESS ON FILE
DAVILA GONZALEZ, ELI I        ADDRESS ON FILE
DAVILA GONZALEZ, ERWIN        ADDRESS ON FILE
DAVILA GONZALEZ, ESTHER       ADDRESS ON FILE
DAVILA GONZALEZ, ESTHER       ADDRESS ON FILE
DAVILA GONZALEZ, GLENDA       ADDRESS ON FILE
DAVILA GONZALEZ, GRACIELA     ADDRESS ON FILE
DAVILA GONZALEZ, GUILLERMO    ADDRESS ON FILE
Davila Gonzalez, Herminio     ADDRESS ON FILE
DAVILA GONZALEZ, IVAN         ADDRESS ON FILE
DAVILA GONZALEZ, JANINA       ADDRESS ON FILE
DAVILA GONZALEZ, JANNETTE     ADDRESS ON FILE
DAVILA GONZALEZ, JOSE         ADDRESS ON FILE
DAVILA GONZALEZ, JOSE         ADDRESS ON FILE
DAVILA GONZALEZ, JOSE A.      ADDRESS ON FILE
DAVILA GONZALEZ, JULIA M      ADDRESS ON FILE
DAVILA GONZALEZ, JUSTO        ADDRESS ON FILE
DAVILA GONZALEZ, LISSETTE     ADDRESS ON FILE
DAVILA GONZALEZ, LUIS B.      ADDRESS ON FILE
DAVILA GONZALEZ, MARIA E      ADDRESS ON FILE
DAVILA GONZALEZ, MIGUEL       ADDRESS ON FILE
DAVILA GONZALEZ, NANCY        ADDRESS ON FILE
DAVILA GONZALEZ, NORMA I      ADDRESS ON FILE
DAVILA GONZALEZ, RIGOBERTO    ADDRESS ON FILE
DAVILA GONZALEZ, RUBEN        ADDRESS ON FILE
DAVILA GOYTIA, LEEMARY        ADDRESS ON FILE
DAVILA GOYTIA, LIZ            ADDRESS ON FILE
DAVILA GOYTIA, LUIS           ADDRESS ON FILE
DAVILA GUADALUPE, DIANA L.    ADDRESS ON FILE
DAVILA GUADALUPE, GLORIA E    ADDRESS ON FILE
DAVILA GUADALUPE, JOSE        ADDRESS ON FILE
DAVILA GUARDIOLA, ARTIE       ADDRESS ON FILE
DAVILA GUZMAN, JESSICA        ADDRESS ON FILE
DAVILA GUZMAN, JESSICA        ADDRESS ON FILE
DAVILA GUZMAN, NILDA T.       ADDRESS ON FILE
DAVILA HANCE, SAMUEL          ADDRESS ON FILE
DAVILA HERNANDEZ, ALEXIS      ADDRESS ON FILE
DAVILA HERNANDEZ, AMARIS E.   ADDRESS ON FILE
DAVILA HERNANDEZ, ANA M       ADDRESS ON FILE
DAVILA HERNANDEZ, AWILDA      ADDRESS ON FILE
DAVILA HERNANDEZ, BRENDA      ADDRESS ON FILE
Davila Hernandez, Daniel      ADDRESS ON FILE
DAVILA HERNANDEZ, DANIEL      ADDRESS ON FILE
DAVILA HERNANDEZ, ENID S      ADDRESS ON FILE
DAVILA HERNANDEZ, GLORYMAR    ADDRESS ON FILE
DAVILA HERNANDEZ, GLORYMAR    ADDRESS ON FILE
Davila Hernandez, Heriberto   ADDRESS ON FILE




                                                                          Page 2097 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2098 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA HERNANDEZ, JESSICA      ADDRESS ON FILE
DAVILA HERNANDEZ, JORGE        ADDRESS ON FILE
DAVILA HERNANDEZ, JOSE A       ADDRESS ON FILE
DAVILA HERNANDEZ, JUAN         ADDRESS ON FILE
DAVILA HERNANDEZ, LUISA        ADDRESS ON FILE
DAVILA HERNANDEZ, MANUEL       ADDRESS ON FILE
Davila Hernandez, Maria I.     ADDRESS ON FILE
DAVILA HERNANDEZ, MARLEE       ADDRESS ON FILE
DAVILA HERNANDEZ, MYRNA        ADDRESS ON FILE
DAVILA HERNANDEZ, NAHOMI       ADDRESS ON FILE
Davila Hernandez, Raul         ADDRESS ON FILE
DAVILA HERNANDEZ, SHERLEY I.   ADDRESS ON FILE
DAVILA HERNANDEZ, TAYLIN       ADDRESS ON FILE
DAVILA HERNANDEZ, YOLANDA      ADDRESS ON FILE
DAVILA HERNANDEZ, ZAIDA        ADDRESS ON FILE
DAVILA HUERTAS, GLADYBEL       ADDRESS ON FILE
DAVILA HUERTAS, SHIRELLE       ADDRESS ON FILE
DAVILA IRAOLA, ALEXIS J.       ADDRESS ON FILE
DAVILA IRIZARRY, ANGEL         ADDRESS ON FILE
DAVILA JIMENEZ, BETSY I        ADDRESS ON FILE
DAVILA JIMENEZ, ELISA          ADDRESS ON FILE
Davila Jimenez, Peter John     ADDRESS ON FILE
DAVILA JUSTINIANO, CARLOS      ADDRESS ON FILE
DAVILA KERCADO, EMMANUEL       ADDRESS ON FILE
DAVILA KUILAN, CARLOS J.       ADDRESS ON FILE
DAVILA KUILAN, CARLOS JORGE    ADDRESS ON FILE
DAVILA KUILAN, TATIANA MARIE   ADDRESS ON FILE
DAVILA LABIOSA, CECILIO        ADDRESS ON FILE
DAVILA LARROCA, SOFIA          ADDRESS ON FILE
DAVILA LASANTA, FRANCISCO      ADDRESS ON FILE
Davila Laureano, Johnsuet      ADDRESS ON FILE
DAVILA LAUREANO, JORGE         ADDRESS ON FILE
DAVILA LAUREANO, JOSEAN M.     ADDRESS ON FILE
DAVILA LAUREANO, JOSEPH T.     ADDRESS ON FILE
DAVILA LAUREANO, JUAN          ADDRESS ON FILE
DAVILA LEBRON, IVAN            ADDRESS ON FILE
DAVILA LEBRON, WANDA I         ADDRESS ON FILE
DAVILA LEON, KAREN J           ADDRESS ON FILE
DAVILA LEON, LUIS              ADDRESS ON FILE
DAVILA LEON, WILLIAM           ADDRESS ON FILE
DAVILA LIZARDI, MAYRA I        ADDRESS ON FILE
DAVILA LIZARDI, SANTOS A       ADDRESS ON FILE
DAVILA LIZASUAIN, ARACELIS     ADDRESS ON FILE
DAVILA LLOPIZ, ANGEL I         ADDRESS ON FILE
DAVILA LLOPIZ, JOSHIAM         ADDRESS ON FILE
DAVILA LONNEMANN, JORGE        ADDRESS ON FILE
DAVILA LOPES MD, JUAN A        ADDRESS ON FILE
DAVILA LOPEZ, ANGEL            ADDRESS ON FILE
Davila Lopez, Angel C          ADDRESS ON FILE
DAVILA LOPEZ, BENJAMIN         ADDRESS ON FILE
DAVILA LOPEZ, BLANCA           ADDRESS ON FILE
DAVILA LOPEZ, CARLOS           ADDRESS ON FILE
DAVILA LOPEZ, DAREM            ADDRESS ON FILE
DAVILA LOPEZ, DAREM            ADDRESS ON FILE
DAVILA LOPEZ, DAREM J          ADDRESS ON FILE
DAVILA LOPEZ, DESIREE          ADDRESS ON FILE
DAVILA LOPEZ, GLORIBEL         ADDRESS ON FILE
DAVILA LOPEZ, HECTOR           ADDRESS ON FILE
DAVILA LOPEZ, IVELISSE         ADDRESS ON FILE
DAVILA LOPEZ, JOSE             ADDRESS ON FILE




                                                                           Page 2098 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2099 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA LOPEZ, JOSE               ADDRESS ON FILE
Davila Lopez, Jose J             ADDRESS ON FILE
Davila Lopez, Luis               ADDRESS ON FILE
DAVILA LOPEZ, MARGARITA          ADDRESS ON FILE
DAVILA LOPEZ, MILAGROS           ADDRESS ON FILE
DAVILA LOPEZ, MYRA               ADDRESS ON FILE
DAVILA LOPEZ, ORLANDO            ADDRESS ON FILE
DAVILA LOPEZ, ORLANDO            ADDRESS ON FILE
DAVILA LOPEZ, SONIA E            ADDRESS ON FILE
DAVILA LOZADA, ANNETTE           ADDRESS ON FILE
DAVILA LOZADA, JUAN              ADDRESS ON FILE
DAVILA LOZADA, YANIRA            ADDRESS ON FILE
DAVILA LOZADA, YANIRA            ADDRESS ON FILE
Davila Lozano, Ana Delia         ADDRESS ON FILE
DAVILA LUGO, IVONNE              ADDRESS ON FILE
DAVILA LUGO, JOSE C.             ADDRESS ON FILE
DAVILA LUGO, JOSSIE              ADDRESS ON FILE
DAVILA LUGO, MARIA C             ADDRESS ON FILE
DAVILA LUGO, MARIA DEL C         ADDRESS ON FILE
DAVILA LUGO, SOCORRO             ADDRESS ON FILE
DAVILA LUQUIS, CARMRN L.         ADDRESS ON FILE
DAVILA MACHADO, EMNEDIES         ADDRESS ON FILE
DAVILA MADERA, ROSA M            ADDRESS ON FILE
Davila Malave, Felix M           ADDRESS ON FILE
DAVILA MALAVE, GLENDA            ADDRESS ON FILE
DAVILA MALAVE, JUAN R            ADDRESS ON FILE
DAVILA MALAVE, RUBEN             ADDRESS ON FILE
DAVILA MALDONADO, ANGELICA M     ADDRESS ON FILE
DAVILA MALDONADO, HECTOR         ADDRESS ON FILE
DAVILA MALDONADO, IRIS           ADDRESS ON FILE
DAVILA MANSO, CARMEN L.          ADDRESS ON FILE
DAVILA MANSO, CARMEN L.          ADDRESS ON FILE
DAVILA MANSO, IRENE              ADDRESS ON FILE
Davila Marcano, Edgardo          ADDRESS ON FILE
DAVILA MARCANO, EVELYN           ADDRESS ON FILE
DAVILA MARCANO, KEYLA            ADDRESS ON FILE
DAVILA MARCANO, SONIA I          ADDRESS ON FILE
DAVILA MARERRO, EDDIE            ADDRESS ON FILE
DAVILA MARICHAL, MARIA           ADDRESS ON FILE
DAVILA MARIERA, RITA             ADDRESS ON FILE
DAVILA MARQUEZ, ANA              ADDRESS ON FILE
Davila Marquez, Carlos J         ADDRESS ON FILE
DAVILA MARRERO MD, ELIXMAHIR     ADDRESS ON FILE
DAVILA MARRERO, ANGEL            ADDRESS ON FILE
DAVILA MARRERO, IVONNE           ADDRESS ON FILE
DAVILA MARRERO, JAIME G.         ADDRESS ON FILE
DAVILA MARRERO, JAZMIN           ADDRESS ON FILE
DAVILA MARRERO, ROSA B.          ADDRESS ON FILE
DAVILA MARRERO, YAZMIN           ADDRESS ON FILE
DAVILA MARTINEZ, ARTURO          ADDRESS ON FILE
DAVILA MARTINEZ, BELEN MAGALIS   ADDRESS ON FILE
DAVILA MARTINEZ, CARMEN M        ADDRESS ON FILE
Davila Martinez, Jensen N        ADDRESS ON FILE
DAVILA MARTINEZ, JOSE            ADDRESS ON FILE
DAVILA MARTINEZ, JOSE            ADDRESS ON FILE
DAVILA MARTINEZ, JOSEFINA        ADDRESS ON FILE
DAVILA MARTINEZ, JULIA E         ADDRESS ON FILE
DAVILA MARTINEZ, LUIS            ADDRESS ON FILE
DAVILA MARTINEZ, LUZ ANGELES     ADDRESS ON FILE
DAVILA MARTINEZ, MARIA Y         ADDRESS ON FILE




                                                                             Page 2099 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2100 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA MARTINEZ, NICOLAS          ADDRESS ON FILE
DAVILA MARTINEZ, NOEL             ADDRESS ON FILE
DAVILA MARTINEZ, NOEL             ADDRESS ON FILE
DAVILA MARTINEZ, PABLO            ADDRESS ON FILE
DAVILA MARTINEZ, ROBERTO          ADDRESS ON FILE
DAVILA MARTINEZ, ROSA             ADDRESS ON FILE
DAVILA MARTINEZ, WANDA            ADDRESS ON FILE
DAVILA MARTINEZ, ZULEIKA          ADDRESS ON FILE
DAVILA MASSINI, ARIEL             ADDRESS ON FILE
DAVILA MASSINI, LYDIROSA          ADDRESS ON FILE
DAVILA MATHEWS, ANGEL M.          ADDRESS ON FILE
DAVILA MATOS, ALEXIS              ADDRESS ON FILE
DAVILA MATOS, BLANCALY            ADDRESS ON FILE
DAVILA MATOS, EDUARDO             ADDRESS ON FILE
DAVILA MATOS, INGRID L            ADDRESS ON FILE
DAVILA MATOS, JOAQUIN             ADDRESS ON FILE
DAVILA MATOS, JORGE               ADDRESS ON FILE
DAVILA MATOS, JOSE G.             ADDRESS ON FILE
DAVILA MATOS, JOSE GUILLERMO      ADDRESS ON FILE
DAVILA MATTA, LUZ A               ADDRESS ON FILE
DAVILA MATTEI, MARIA DEL CARMEN   ADDRESS ON FILE
DAVILA MAYMI, ANGEL M             ADDRESS ON FILE
DAVILA MAYSONET, JESUS            ADDRESS ON FILE
DAVILA MEDERO, JOSE               ADDRESS ON FILE
DAVILA MEDINA, ADELA              ADDRESS ON FILE
DAVILA MEDINA, CARLOS             ADDRESS ON FILE
DAVILA MEDINA, CARLOS             ADDRESS ON FILE
Davila Medina, Jaime              ADDRESS ON FILE
DAVILA MEDINA, JAIME              ADDRESS ON FILE
DAVILA MEDINA, JOSE H             ADDRESS ON FILE
DAVILA MEDINA, MARILIN            ADDRESS ON FILE
DAVILA MEJIAS, ELVIN              ADDRESS ON FILE
DAVILA MEJIAS, MARIBEL            ADDRESS ON FILE
DAVILA MEJIAS, TAMARA             ADDRESS ON FILE
DAVILA MELECIO, JOSE              ADDRESS ON FILE
DAVILA MELENDEZ, ANGEL            ADDRESS ON FILE
DAVILA MELENDEZ, DAMARIS          ADDRESS ON FILE
DAVILA MELENDEZ, EDWIN            ADDRESS ON FILE
DAVILA MELENDEZ, ELIGIO J         ADDRESS ON FILE
DAVILA MELENDEZ, ELVIN            ADDRESS ON FILE
Davila Melendez, Elvin O          ADDRESS ON FILE
DAVILA MELENDEZ, LUIS A           ADDRESS ON FILE
DAVILA MENA, JULIO                ADDRESS ON FILE
DAVILA MENDEZ, ANGEL              ADDRESS ON FILE
DAVILA MENDEZ, ANTONIO            ADDRESS ON FILE
DAVILA MENDOZA, ANNETTE           ADDRESS ON FILE
DAVILA MENDOZA, VANESSA           ADDRESS ON FILE
DAVILA MENENDEZ ANTHONY           ADDRESS ON FILE
DAVILA MERCADO, JUAN              ADDRESS ON FILE
DAVILA MERCADO, LAURA             ADDRESS ON FILE
DAVILA MERCADO, MARITZA           ADDRESS ON FILE
DAVILA MESTRE, LUDWING E.         ADDRESS ON FILE
DAVILA MICHEO, GABRIELA           ADDRESS ON FILE
DAVILA MIRANDA, MALCOLM           ADDRESS ON FILE
DAVILA MOLINA, JESUS              ADDRESS ON FILE
DAVILA MOLINA, JUAN               ADDRESS ON FILE
DAVILA MONSERRATE, LUIS           ADDRESS ON FILE
DAVILA MONSERRATE, MIRIAM         ADDRESS ON FILE
DAVILA MONTALVO, ANGEL            ADDRESS ON FILE
DAVILA MONTANER, WILLIAM          ADDRESS ON FILE




                                                                              Page 2100 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2101 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA MONTANEZ, VIRGEN L.    ADDRESS ON FILE
DAVILA MONTES, JULIO          ADDRESS ON FILE
DAVILA MORA, NADJA            ADDRESS ON FILE
DAVILA MORA, NADJA S.         ADDRESS ON FILE
DAVILA MORALES, ANA           ADDRESS ON FILE
DAVILA MORALES, ANA D         ADDRESS ON FILE
DAVILA MORALES, ANA L         ADDRESS ON FILE
DAVILA MORALES, BENITA        ADDRESS ON FILE
DAVILA MORALES, BEVERLY       ADDRESS ON FILE
DAVILA MORALES, CARLOS        ADDRESS ON FILE
DAVILA MORALES, CARLOS        ADDRESS ON FILE
DAVILA MORALES, CARLOS M      ADDRESS ON FILE
DAVILA MORALES, ELIZABETH     ADDRESS ON FILE
DAVILA MORALES, EVELYN        ADDRESS ON FILE
DAVILA MORALES, GISELLE       ADDRESS ON FILE
DAVILA MORALES, IRIS V.       ADDRESS ON FILE
DAVILA MORALES, JESSICA       ADDRESS ON FILE
DAVILA MORALES, JOSE          ADDRESS ON FILE
DAVILA MORALES, JOSE          ADDRESS ON FILE
DAVILA MORALES, JULIO         ADDRESS ON FILE
Davila Morales, Julio Cesar   ADDRESS ON FILE
DAVILA MORALES, LUIS          ADDRESS ON FILE
DAVILA MORALES, MARITZA       ADDRESS ON FILE
Davila Morales, Migdamary     ADDRESS ON FILE
DAVILA MORALES, SHEILA I.     ADDRESS ON FILE
DAVILA MORAN, GLORIA E        ADDRESS ON FILE
DAVILA MORAN, JOSE            ADDRESS ON FILE
DAVILA MUNDO, SHEILA          ADDRESS ON FILE
DAVILA MUNIZ, GENOVEVA        ADDRESS ON FILE
DAVILA NATER, CARLOS          ADDRESS ON FILE
DAVILA NAVARRO, CARLOS        ADDRESS ON FILE
DAVILA NAVARRO, CESAR         ADDRESS ON FILE
DAVILA NAVARRO, LUIS          ADDRESS ON FILE
DAVILA NAVARRO, MARCELINA     ADDRESS ON FILE
DAVILA NEGRON MD, DAMARIS     ADDRESS ON FILE
DAVILA NEGRON, ALEXIS         ADDRESS ON FILE
DAVILA NEGRON, ANA V          ADDRESS ON FILE
DAVILA NEGRON, DAMARIS        ADDRESS ON FILE
Davila Negron, Edwin          ADDRESS ON FILE
DAVILA NEGRON, IRMA C         ADDRESS ON FILE
DAVILA NEGRON, JESSICA        ADDRESS ON FILE
Davila Negron, Luis F         ADDRESS ON FILE
DAVILA NEGRON, NYDIA          ADDRESS ON FILE
DAVILA NIEVES, JOSE J         ADDRESS ON FILE
DAVILA NIEVES, LYMARIE        ADDRESS ON FILE
DAVILA NIEVES, WILLIAM        ADDRESS ON FILE
DAVILA NUNEZ, OMAR            ADDRESS ON FILE
DAVILA OCASIO, JESSENIA       ADDRESS ON FILE
DAVILA OCASIO, MIRTEA E       ADDRESS ON FILE
DAVILA OCASIO, RAFAEL         ADDRESS ON FILE
DAVILA OJEDA, VERONICA        ADDRESS ON FILE
DAVILA OLIMPO, GLORIMAR       ADDRESS ON FILE
DAVILA OLIVERAS, MARISOL      ADDRESS ON FILE
DAVILA OLIVO, JUAN            ADDRESS ON FILE
DAVILA OLMEDA, CARMEN M       ADDRESS ON FILE
DAVILA ORTA, CARMEN V         ADDRESS ON FILE
DAVILA ORTA, JOSE L           ADDRESS ON FILE
DAVILA ORTEGA, JOANNA E       ADDRESS ON FILE
DAVILA ORTEGA, LESLIE         ADDRESS ON FILE
DAVILA ORTEGA, LUIS           ADDRESS ON FILE




                                                                          Page 2101 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2102 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA ORTIZ MD, RAMON A    ADDRESS ON FILE
DAVILA ORTIZ, ADLIN         ADDRESS ON FILE
DAVILA ORTIZ, CARLA         ADDRESS ON FILE
DAVILA ORTIZ, ERNESTO       ADDRESS ON FILE
DAVILA ORTIZ, ERNESTO       ADDRESS ON FILE
DAVILA ORTIZ, GRISELLE      ADDRESS ON FILE
DAVILA ORTIZ, JOSE          ADDRESS ON FILE
DAVILA ORTIZ, LUIS          ADDRESS ON FILE
DAVILA ORTIZ, MABEL AIMEE   ADDRESS ON FILE
DAVILA ORTIZ, MARIA R       ADDRESS ON FILE
DAVILA ORTIZ, MARIBEL       ADDRESS ON FILE
DAVILA ORTIZ, MARISOL       ADDRESS ON FILE
DAVILA ORTIZ, MARTA B.      ADDRESS ON FILE
DAVILA ORTIZ, MELISSA       ADDRESS ON FILE
DAVILA ORTIZ, MICHELLE      ADDRESS ON FILE
DAVILA ORTIZ, MONICA        ADDRESS ON FILE
DAVILA ORTIZ, RAMON         ADDRESS ON FILE
DAVILA ORTIZ, RENE          ADDRESS ON FILE
DAVILA ORTIZ, SAMUEL        ADDRESS ON FILE
DAVILA OSORIO, ASHLEY       ADDRESS ON FILE
DAVILA OSORIO, ILBERT       ADDRESS ON FILE
DAVILA OSTOLAZA, JORGE L    ADDRESS ON FILE
DAVILA OSTOLAZA, JOSE A.    ADDRESS ON FILE
DAVILA OSTOLAZA, MARISEL    ADDRESS ON FILE
Davila Otero, Georgina      ADDRESS ON FILE
DAVILA OTERO, HAYDEE        ADDRESS ON FILE
DAVILA OTERO, JOSE          ADDRESS ON FILE
DAVILA OTERO, JOSE O.       ADDRESS ON FILE
DAVILA OTERO, KELVIN        ADDRESS ON FILE
DAVILA OTERO, LISMARY       ADDRESS ON FILE
DAVILA OTERO, MARCOS A      ADDRESS ON FILE
DAVILA OTERO, MELANIE       ADDRESS ON FILE
DAVILA PABON, GUILLERMINA   ADDRESS ON FILE
DAVILA PABON, JONATHAN      ADDRESS ON FILE
DAVILA PAGAN, ANGEL L.      ADDRESS ON FILE
DAVILA PAGAN, EVELYN        ADDRESS ON FILE
DAVILA PAGAN, JOSE L.       ADDRESS ON FILE
DAVILA PAGAN, MARIELIS      ADDRESS ON FILE
DAVILA PAGAN, NEVILLE       ADDRESS ON FILE
DAVILA PANTOJA, EDWIN       ADDRESS ON FILE
DAVILA PANTOJA, ELIZABETH   ADDRESS ON FILE
DAVILA PANTOJAS, JAY        ADDRESS ON FILE
DAVILA PARIS, ZAIDA I       ADDRESS ON FILE
Davila Parrilla, Miguel E   ADDRESS ON FILE
DAVILA PARRILLA,MOZART      ADDRESS ON FILE
Davila Pascual, Efrain      ADDRESS ON FILE
DAVILA PASTRANA, CESAR      ADDRESS ON FILE
DAVILA PASTRANA, NELSON     ADDRESS ON FILE
DAVILA PENA, ENEIDA         ADDRESS ON FILE
DAVILA PENALOZA, ZOE M      ADDRESS ON FILE
DAVILA PEREZ FELIX R        ADDRESS ON FILE
DAVILA PEREZ, ABEL          ADDRESS ON FILE
DAVILA PEREZ, ALAN          ADDRESS ON FILE
DAVILA PEREZ, ANA L.        ADDRESS ON FILE
DAVILA PEREZ, ANGEL         ADDRESS ON FILE
DAVILA PEREZ, ANGEL         ADDRESS ON FILE
DAVILA PEREZ, ANGEL         ADDRESS ON FILE
DAVILA PEREZ, CARLOS        ADDRESS ON FILE
DAVILA PEREZ, CARLOS        ADDRESS ON FILE
DAVILA PEREZ, CARMEN        ADDRESS ON FILE




                                                                        Page 2102 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2103 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA PEREZ, DANIEL            ADDRESS ON FILE
DAVILA PEREZ, EDWIN             ADDRESS ON FILE
DAVILA PEREZ, ELMER             ADDRESS ON FILE
DAVILA PEREZ, FELIX             ADDRESS ON FILE
DAVILA PEREZ, HILDA             ADDRESS ON FILE
DAVILA PEREZ, IRETTE X          ADDRESS ON FILE
DAVILA PEREZ, IRVING A.         ADDRESS ON FILE
DAVILA PEREZ, JOSE A.           ADDRESS ON FILE
DAVILA PEREZ, JOSELYN           ADDRESS ON FILE
DAVILA PEREZ, JUAN LUIS         ADDRESS ON FILE
DAVILA PEREZ, JULIA             ADDRESS ON FILE
DAVILA PEREZ, JULIA M           ADDRESS ON FILE
Davila Perez, Lizander          ADDRESS ON FILE
DAVILA PEREZ, MARGARET          ADDRESS ON FILE
DAVILA PEREZ, MARIA             ADDRESS ON FILE
DAVILA PEREZ, MARIELI           ADDRESS ON FILE
DAVILA PEREZ, MARIELY           ADDRESS ON FILE
DAVILA PEREZ, MARTA J           ADDRESS ON FILE
DAVILA PEREZ, MIGUEL            ADDRESS ON FILE
DAVILA PEREZ, MIGUEL            ADDRESS ON FILE
DAVILA PEREZ, MIGUEL            ADDRESS ON FILE
DAVILA PEREZ, MYRNA I.          ADDRESS ON FILE
DAVILA PEREZ, NITZA             ADDRESS ON FILE
DAVILA PEREZ, ORLANDO           ADDRESS ON FILE
DAVILA PEREZ, OSVALDO           ADDRESS ON FILE
DAVILA PEREZ, PETRONILA         ADDRESS ON FILE
DAVILA PEREZ, RICHARD           ADDRESS ON FILE
Davila Perez, Rufino            ADDRESS ON FILE
DAVILA PEREZ, SADIA             ADDRESS ON FILE
DAVILA PEREZ, SANDRA M          ADDRESS ON FILE
DAVILA PEREZ, SANDRA M          ADDRESS ON FILE
DAVILA PEREZ, TOMAS E           ADDRESS ON FILE
DAVILA PEREZ, ZULEYMA           ADDRESS ON FILE
DAVILA PERLLONI, XIOMARA V      ADDRESS ON FILE
DAVILA PERNAS, CRISTINA I       ADDRESS ON FILE
DAVILA PERNAS, LUIS             ADDRESS ON FILE
DAVILA PERNAS, LUIS D           ADDRESS ON FILE
DAVILA PERNAS, LUIS D.          ADDRESS ON FILE
Davila Pimentel, Jaime Luis     ADDRESS ON FILE
DAVILA PINEIRO, GLORIA          ADDRESS ON FILE
DAVILA PIZARRO, ABRAHAM         ADDRESS ON FILE
DAVILA PIZARRO, ABRAHAM         ADDRESS ON FILE
DAVILA PIZARRO, HECTOR          ADDRESS ON FILE
DAVILA PIZARRO, KARLIANYS M.    ADDRESS ON FILE
DAVILA PIZARRO, KENNETH         ADDRESS ON FILE
DAVILA PIZARRO, KENNETH         ADDRESS ON FILE
DAVILA PLAZA, GERARDO J         ADDRESS ON FILE
DAVILA PLAZA, MARIA DE LOS A.   ADDRESS ON FILE
DAVILA QUILES, YARELYS          ADDRESS ON FILE
DAVILA QUINONES, ADA I          ADDRESS ON FILE
DAVILA QUINONES, ADA Y.         ADDRESS ON FILE
DAVILA QUINONES, CARMEN J       ADDRESS ON FILE
DAVILA QUINONES, CHRISTIAN      ADDRESS ON FILE
DAVILA QUINONES, GERARDO        ADDRESS ON FILE
DAVILA QUINONES, JANICE O.      ADDRESS ON FILE
DAVILA QUINONES, LUIS           ADDRESS ON FILE
DAVILA QUINONES, LUIS O.        ADDRESS ON FILE
DAVILA QUINONES, MAYRA M        ADDRESS ON FILE
DAVILA QUINONES, MIGDALIA       ADDRESS ON FILE
DAVILA QUINONES, MILITZA        ADDRESS ON FILE




                                                                            Page 2103 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2104 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA QUINONES, NICOLE      ADDRESS ON FILE
DAVILA QUINONES, ZAYRA       ADDRESS ON FILE
DAVILA QUINONEZ, RAUL        ADDRESS ON FILE
DAVILA RALAT, CARLOS         ADDRESS ON FILE
DAVILA RALAT, LAURA          ADDRESS ON FILE
DAVILA RAMIREZ, AMERICO      ADDRESS ON FILE
DAVILA RAMIREZ, JANEDITH     ADDRESS ON FILE
DAVILA RAMIREZ, SHEILLA      ADDRESS ON FILE
DAVILA RAMOS, BRENDA         ADDRESS ON FILE
DAVILA RAMOS, CARLOS         ADDRESS ON FILE
Davila Ramos, Carlos M.      ADDRESS ON FILE
DAVILA RAMOS, DANIEL         ADDRESS ON FILE
DAVILA RAMOS, DAYNA I        ADDRESS ON FILE
Davila Ramos, Enrique        ADDRESS ON FILE
DAVILA RAMOS, JUAN R         ADDRESS ON FILE
DAVILA RAMOS, MARIA L        ADDRESS ON FILE
DAVILA RAMOS, MARISOL        ADDRESS ON FILE
DAVILA RAMOS, MARISOL        ADDRESS ON FILE
DAVILA RAMOS, OLVIN          ADDRESS ON FILE
Davila Ramos, Omar           ADDRESS ON FILE
DAVILA RAMOS, OMAR           ADDRESS ON FILE
DAVILA RAMOS, ORLANDO        ADDRESS ON FILE
DAVILA RESTO, BETHZAIDA      ADDRESS ON FILE
Davila Reyes, Angel L        ADDRESS ON FILE
DAVILA REYES, BARBARA G.     ADDRESS ON FILE
DAVILA REYES, CESAR A        ADDRESS ON FILE
DAVILA REYES, PABLO A        ADDRESS ON FILE
DAVILA RINALDI, CARLOS G.    ADDRESS ON FILE
DAVILA RIOS, CARLOS          ADDRESS ON FILE
DAVILA RIOS, DANIEL          ADDRESS ON FILE
DAVILA RIOS, FRANCISCO       ADDRESS ON FILE
Davila Rios, Miguel A.       ADDRESS ON FILE
DAVILA RIOS, MYRNA R         ADDRESS ON FILE
DAVILA RIOS, ZORAIDA         ADDRESS ON FILE
DAVILA RIVAS, VIVIANA        ADDRESS ON FILE
DAVILA RIVERA, ADA M         ADDRESS ON FILE
DAVILA RIVERA, ALEXANDER     ADDRESS ON FILE
Davila Rivera, Aneury        ADDRESS ON FILE
DAVILA RIVERA, ANGEL         ADDRESS ON FILE
Davila Rivera, Angel L       ADDRESS ON FILE
DAVILA RIVERA, ANTONIA       ADDRESS ON FILE
DAVILA RIVERA, BARBARA       ADDRESS ON FILE
DAVILA RIVERA, BRENDA        ADDRESS ON FILE
DAVILA RIVERA, BRUNILDA      ADDRESS ON FILE
DAVILA RIVERA, CARMELO       ADDRESS ON FILE
DAVILA RIVERA, CARMEN F      ADDRESS ON FILE
DAVILA RIVERA, CARMEN M      ADDRESS ON FILE
Davila Rivera, Feliciano     ADDRESS ON FILE
DAVILA RIVERA, GIOVANNY A.   ADDRESS ON FILE
Davila Rivera, Janet E.      ADDRESS ON FILE
DAVILA RIVERA, JAVIER A      ADDRESS ON FILE
DAVILA RIVERA, JAVIER A      ADDRESS ON FILE
DAVILA RIVERA, JENIMAR       ADDRESS ON FILE
DAVILA RIVERA, JOHAN M.      ADDRESS ON FILE
DAVILA RIVERA, JOSE          ADDRESS ON FILE
DAVILA RIVERA, JOSE F        ADDRESS ON FILE
DAVILA RIVERA, JOSE M.       ADDRESS ON FILE
DAVILA RIVERA, JUAN          ADDRESS ON FILE
DAVILA RIVERA, JUAN          ADDRESS ON FILE
DAVILA RIVERA, JUAN E        ADDRESS ON FILE




                                                                         Page 2104 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2105 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA RIVERA, JULIA N          ADDRESS ON FILE
DAVILA RIVERA, KENNETH          ADDRESS ON FILE
DAVILA RIVERA, KENNETH X.       ADDRESS ON FILE
DAVILA RIVERA, KIDIAN           ADDRESS ON FILE
DAVILA RIVERA, LUANA L          ADDRESS ON FILE
DAVILA RIVERA, LUIS             ADDRESS ON FILE
Davila Rivera, Luis A           ADDRESS ON FILE
DAVILA RIVERA, LUZ              ADDRESS ON FILE
Davila Rivera, Manuel A         ADDRESS ON FILE
DAVILA RIVERA, MANUEL A.        ADDRESS ON FILE
DAVILA RIVERA, MARGARITA        ADDRESS ON FILE
DAVILA RIVERA, MARIA            ADDRESS ON FILE
DAVILA RIVERA, MARIA DE LOS A   ADDRESS ON FILE
DAVILA RIVERA, MARIA DEL C      ADDRESS ON FILE
DAVILA RIVERA, MARIA E.         ADDRESS ON FILE
DAVILA RIVERA, MARIA M          ADDRESS ON FILE
DAVILA RIVERA, MARIA M          ADDRESS ON FILE
DAVILA RIVERA, MARIA T          ADDRESS ON FILE
DAVILA RIVERA, MARTA            ADDRESS ON FILE
DAVILA RIVERA, MAYBELIZ         ADDRESS ON FILE
DAVILA RIVERA, MELISSA          ADDRESS ON FILE
DAVILA RIVERA, MELISSA          ADDRESS ON FILE
DAVILA RIVERA, MIGUEL A         ADDRESS ON FILE
DAVILA RIVERA, MIGUEL ANGEL     ADDRESS ON FILE
DAVILA RIVERA, MILENA           ADDRESS ON FILE
DAVILA RIVERA, MORAIMA          ADDRESS ON FILE
DAVILA RIVERA, NEYDALIS         ADDRESS ON FILE
DAVILA RIVERA, NILDA            ADDRESS ON FILE
DAVILA RIVERA, NORA H           ADDRESS ON FILE
DAVILA RIVERA, NORMA I.         ADDRESS ON FILE
DAVILA RIVERA, OMAR             ADDRESS ON FILE
DAVILA RIVERA, PEDRO            ADDRESS ON FILE
DAVILA RIVERA, PEDRO            ADDRESS ON FILE
DAVILA RIVERA, PETER            ADDRESS ON FILE
DAVILA RIVERA, PRAXEDES         ADDRESS ON FILE
DAVILA RIVERA, PRISCILA         ADDRESS ON FILE
DAVILA RIVERA, RUBEN            ADDRESS ON FILE
DAVILA RIVERA, SUHAIL M         ADDRESS ON FILE
DAVILA RIVERA, TERESA           ADDRESS ON FILE
DAVILA RIVERA, VICENTA          ADDRESS ON FILE
DAVILA RIVERA, VICTOR           ADDRESS ON FILE
DAVILA RIVERA, VIVIAN           ADDRESS ON FILE
DAVILA RIVERA, WANDA I          ADDRESS ON FILE
DAVILA RIVERA, WILDALYS         ADDRESS ON FILE
DAVILA RIVERA, ZILMA L          ADDRESS ON FILE
DAVILA RODRIGUEZ MD, ISMAEL E   ADDRESS ON FILE
DAVILA RODRIGUEZ MD, LOURDES    ADDRESS ON FILE
DAVILA RODRIGUEZ, ABIGAIL       ADDRESS ON FILE
DAVILA RODRIGUEZ, ABIGAIL       ADDRESS ON FILE
DAVILA RODRIGUEZ, ADRIANA       ADDRESS ON FILE
DAVILA RODRIGUEZ, ALEISHA       ADDRESS ON FILE
DAVILA RODRIGUEZ, ANA           ADDRESS ON FILE
DAVILA RODRIGUEZ, ANDREA        ADDRESS ON FILE
DAVILA RODRIGUEZ, BIONETTE      ADDRESS ON FILE
DAVILA RODRIGUEZ, BRENDA        ADDRESS ON FILE
DAVILA RODRIGUEZ, CARLOS        ADDRESS ON FILE
DAVILA RODRIGUEZ, CEFERIN       ADDRESS ON FILE
DAVILA RODRIGUEZ, CEFERIN       ADDRESS ON FILE
DAVILA RODRIGUEZ, CHRISTOPHER   ADDRESS ON FILE
DAVILA RODRIGUEZ, EDWIN         ADDRESS ON FILE




                                                                            Page 2105 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2106 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA RODRIGUEZ, EDWIN L     ADDRESS ON FILE
DAVILA RODRIGUEZ, ELIEZER     ADDRESS ON FILE
DAVILA RODRIGUEZ, EVELYN      ADDRESS ON FILE
DAVILA RODRIGUEZ, FRANCISCA   ADDRESS ON FILE
DAVILA RODRIGUEZ, FRANK       ADDRESS ON FILE
DAVILA RODRIGUEZ, GENESIS     ADDRESS ON FILE
DAVILA RODRIGUEZ, GRACE       ADDRESS ON FILE
Davila Rodriguez, Heriberto   ADDRESS ON FILE
DAVILA RODRIGUEZ, ISMAEL      ADDRESS ON FILE
DAVILA RODRIGUEZ, JAVIER I    ADDRESS ON FILE
DAVILA RODRIGUEZ, JENNIFER    ADDRESS ON FILE
DAVILA RODRIGUEZ, JESSICA     ADDRESS ON FILE
DAVILA RODRIGUEZ, JOEL        ADDRESS ON FILE
DAVILA RODRIGUEZ, JORGE J     ADDRESS ON FILE
Davila Rodriguez, Jorge L.    ADDRESS ON FILE
DAVILA RODRIGUEZ, JULIO       ADDRESS ON FILE
DAVILA RODRIGUEZ, JULIO L     ADDRESS ON FILE
DAVILA RODRIGUEZ, JUSTINO     ADDRESS ON FILE
DAVILA RODRIGUEZ, LILLIAM     ADDRESS ON FILE
DAVILA RODRIGUEZ, LISANDRA    ADDRESS ON FILE
DAVILA RODRIGUEZ, LISANDRA    ADDRESS ON FILE
DAVILA RODRIGUEZ, MARIA       ADDRESS ON FILE
DAVILA RODRIGUEZ, MARIA I     ADDRESS ON FILE
DAVILA RODRIGUEZ, MARIBEL     ADDRESS ON FILE
DAVILA RODRIGUEZ, MARY ANN    ADDRESS ON FILE
DAVILA RODRIGUEZ, MELANIE     ADDRESS ON FILE
DAVILA RODRIGUEZ, MELBA       ADDRESS ON FILE
DAVILA RODRIGUEZ, NELLY       ADDRESS ON FILE
DAVILA RODRIGUEZ, NEYSHA      ADDRESS ON FILE
DAVILA RODRIGUEZ, NILDA I     ADDRESS ON FILE
DAVILA RODRIGUEZ, NORMA L.    ADDRESS ON FILE
Davila Rodriguez, Rafael      ADDRESS ON FILE
DAVILA RODRIGUEZ, REINALDO    ADDRESS ON FILE
DAVILA RODRIGUEZ, RENE A.     ADDRESS ON FILE
Davila Rodriguez, Ruth        ADDRESS ON FILE
DAVILA RODRIGUEZ, RUYSDAEL    ADDRESS ON FILE
DAVILA RODRIGUEZ, SANTOS      ADDRESS ON FILE
DAVILA RODRIGUEZ, SHARILYZ    ADDRESS ON FILE
DAVILA RODRIGUEZ, SHEILA      ADDRESS ON FILE
DAVILA RODRIGUEZ, TAINARI     ADDRESS ON FILE
DAVILA RODRIGUEZ, VIVIAN      ADDRESS ON FILE
DAVILA RODRIGUEZ, WILMA L     ADDRESS ON FILE
DAVILA RODRIGUEZ, XIOMARA     ADDRESS ON FILE
DAVILA RODRIGUEZ, XIOMARA     ADDRESS ON FILE
DAVILA RODRIGUEZ, YAMIL       ADDRESS ON FILE
DAVILA RODRIGUEZ, YARLETTE    ADDRESS ON FILE
Davila Rodriguez, Zeneido     ADDRESS ON FILE
DAVILA ROJAS, ORLANDO         ADDRESS ON FILE
Davila Roldan, Luz S          ADDRESS ON FILE
DAVILA ROLDAN, ZOAN           ADDRESS ON FILE
DAVILA ROLDAN, ZOAN           ADDRESS ON FILE
DAVILA ROLON, ANNETTE         ADDRESS ON FILE
DAVILA ROLON, CHRISTIAN       ADDRESS ON FILE
DAVILA ROLON, EBONY           ADDRESS ON FILE
DAVILA ROMAN, ADITH           ADDRESS ON FILE
DAVILA ROMAN, ALBA            ADDRESS ON FILE
DAVILA ROMAN, ELITSIA MARIA   ADDRESS ON FILE
DAVILA ROMAN, MARIA DEL C     ADDRESS ON FILE
DAVILA ROMAN, MARICARMEN      ADDRESS ON FILE
DAVILA ROMAN, MARTA           ADDRESS ON FILE




                                                                          Page 2106 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2107 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA ROMERO, JESUS          ADDRESS ON FILE
DAVILA ROMERO, MARIA          ADDRESS ON FILE
DAVILA ROMERO, MINERVA        ADDRESS ON FILE
DAVILA ROMNEY, LAURA A        ADDRESS ON FILE
DAVILA RONDON, MIGUEL         ADDRESS ON FILE
DAVILA ROQUE, DAMARIS         ADDRESS ON FILE
DAVILA ROSA, JESUS            ADDRESS ON FILE
DAVILA ROSA, MARCOS           ADDRESS ON FILE
DAVILA ROSADO, LUIS A.        ADDRESS ON FILE
DAVILA ROSADO, RIXA E         ADDRESS ON FILE
DAVILA ROSARIO, ANA J         ADDRESS ON FILE
DAVILA ROSARIO, CARLA         ADDRESS ON FILE
DAVILA ROSARIO, CARMEN J      ADDRESS ON FILE
DAVILA ROSARIO, JOMIR MARIE   ADDRESS ON FILE
DAVILA ROSARIO, JOSE          ADDRESS ON FILE
DAVILA ROSARIO, NYDIA E       ADDRESS ON FILE
DAVILA RUIZ, DANIEL           ADDRESS ON FILE
DAVILA RUIZ, EDWIN            ADDRESS ON FILE
DAVILA RUIZ, JENNIFER         ADDRESS ON FILE
DAVILA RUIZ, JUAN             ADDRESS ON FILE
DAVILA RUIZ, ZAHIRA           ADDRESS ON FILE
DAVILA SALAZR, ALBERTO        ADDRESS ON FILE
DAVILA SALGADO, FERNANDO L.   ADDRESS ON FILE
DAVILA SALGADO, VANESSA DEL   ADDRESS ON FILE
DAVILA SALGADO, VANESSA DEL   ADDRESS ON FILE
DAVILA SAN MIGUEL, JOAN       ADDRESS ON FILE
DAVILA SAN_MIGUEL, SERGIO     ADDRESS ON FILE
DAVILA SANABRIA, JENYSUE      ADDRESS ON FILE
DAVILA SANCHEZ, AXEL          ADDRESS ON FILE
DAVILA SANCHEZ, FERNANDO      ADDRESS ON FILE
DAVILA SANCHEZ, FRANK R       ADDRESS ON FILE
DAVILA SANCHEZ, IDARMIS       ADDRESS ON FILE
Davila Sanchez, Jose          ADDRESS ON FILE
DAVILA SANCHEZ, JOSEAN A      ADDRESS ON FILE
Davila Sanchez, Juan          ADDRESS ON FILE
DAVILA SANCHEZ, NELSON        ADDRESS ON FILE
DAVILA SANDOZ, MABEL          ADDRESS ON FILE
Davila Santa, Daniel          ADDRESS ON FILE
Davila Santa, Jesus E         ADDRESS ON FILE
DAVILA SANTA, RUBYANN         ADDRESS ON FILE
DAVILA SANTANA, ELBA          ADDRESS ON FILE
Davila Santana, Eliseo        ADDRESS ON FILE
DAVILA SANTANA, EVELYN        ADDRESS ON FILE
DAVILA SANTANA, HERIBERTO     ADDRESS ON FILE
DAVILA SANTANA, JANET         ADDRESS ON FILE
DAVILA SANTANA, JOE           ADDRESS ON FILE
DAVILA SANTANA, JOHNNY        ADDRESS ON FILE
DAVILA SANTANA, JUANITA       ADDRESS ON FILE
DAVILA SANTANA, MARIA         ADDRESS ON FILE
DAVILA SANTANA, YAZAIRA       ADDRESS ON FILE
DAVILA SANTIAGO, ALFONSO      ADDRESS ON FILE
Davila Santiago, Angel R      ADDRESS ON FILE
Davila Santiago, Brenda       ADDRESS ON FILE
DAVILA SANTIAGO, BRENDA       ADDRESS ON FILE
DAVILA SANTIAGO, EDWIN A      ADDRESS ON FILE
Davila Santiago, Felix L      ADDRESS ON FILE
DAVILA SANTIAGO, GLORIA       ADDRESS ON FILE
DAVILA SANTIAGO, GLORIA E     ADDRESS ON FILE
DAVILA SANTIAGO, GLORIA E.    ADDRESS ON FILE
DAVILA SANTIAGO, IRIS         ADDRESS ON FILE




                                                                          Page 2107 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2108 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA SANTIAGO, JORGE         ADDRESS ON FILE
DAVILA SANTIAGO, MARIA I.      ADDRESS ON FILE
DAVILA SANTIAGO, NEREIDA I     ADDRESS ON FILE
DAVILA SANTIAGO, RAMON L       ADDRESS ON FILE
DAVILA SANTIAGO, RAUL          ADDRESS ON FILE
DAVILA SANTIAGO, ROLANDO       ADDRESS ON FILE
DAVILA SANTIAGO, ROSA          ADDRESS ON FILE
DAVILA SANTIAGO, TOMAS C       ADDRESS ON FILE
DAVILA SANTINI, JAIME E.       ADDRESS ON FILE
DAVILA SANTOS, MARIA F         ADDRESS ON FILE
DAVILA SEPULVEDA, ADELA        ADDRESS ON FILE
DAVILA SEPULVEDA, ALEX         ADDRESS ON FILE
DAVILA SEPULVEDA, MIGDALIA     ADDRESS ON FILE
DAVILA SEPULVEDA, MIGDALIA     ADDRESS ON FILE
DAVILA SERRA, MARIA DE LOS A   ADDRESS ON FILE
DAVILA SERRANO, LEPHTIE        ADDRESS ON FILE
DAVILA SERVICE STATION SHELL   PO BOX 2712                                                                      JUNCOS       PR      00777
DAVILA SEVILLANO, RAFAEL       ADDRESS ON FILE
Davila Sierra, Daniel          ADDRESS ON FILE
DAVILA SIERRA, EVELYN          ADDRESS ON FILE
DAVILA SIERRA, MARIA E         ADDRESS ON FILE
DAVILA SILVA, CARLOS           ADDRESS ON FILE
DAVILA SOLA, HECTOR            ADDRESS ON FILE
DAVILA SOLA, NILSA J           ADDRESS ON FILE
DAVILA SOLER, RAMON C          ADDRESS ON FILE
Davila Solis, Carlos M         ADDRESS ON FILE
DAVILA SOLIVAN, CARLOS         ADDRESS ON FILE
DAVILA SOLIVAN, JOSE           ADDRESS ON FILE
DAVILA SORIANO, MERCEDES       ADDRESS ON FILE
DAVILA SOTO, ANNETTE V         ADDRESS ON FILE
DAVILA SOTO, CARMEN M          ADDRESS ON FILE
DAVILA SOTO, JOAN A            ADDRESS ON FILE
DAVILA SOTO, JUAN              ADDRESS ON FILE
DAVILA SOTO, LOURDES           ADDRESS ON FILE
DAVILA SOTO, MELBA             ADDRESS ON FILE
DAVILA SOTO, SONJA E           ADDRESS ON FILE
DAVILA STUART, JESUS           ADDRESS ON FILE
DAVILA SUAREZ, CARMEN L        ADDRESS ON FILE
DAVILA SUAREZ, DAIANA          ADDRESS ON FILE
DAVILA SUAREZ, DAIANA          ADDRESS ON FILE
DAVILA SUAREZ, FLOR            ADDRESS ON FILE
DAVILA SUAREZ, FRANCES         ADDRESS ON FILE
DAVILA SUAREZ, FRANCISCO       ADDRESS ON FILE
DAVILA SUAREZ, JUANA           ADDRESS ON FILE
DAVILA SUAREZ, RONALD          ADDRESS ON FILE
DAVILA SUREN, ALFONSO          ADDRESS ON FILE
DAVILA SUREN, MARIANA          ADDRESS ON FILE
DAVILA SUREN, SONIA            ADDRESS ON FILE
Davila Tapia, Angel A          ADDRESS ON FILE
DAVILA TAPIA, CARMEN           ADDRESS ON FILE
DAVILA TAPIA, JULIO L          ADDRESS ON FILE
DAVILA TAPIA, LIMARY           ADDRESS ON FILE
DAVILA TAPIA, LIMARY I         ADDRESS ON FILE
DAVILA TAPIA, MARIA DE L       ADDRESS ON FILE
DAVILA TEITELBAUM, PAMELA      ADDRESS ON FILE
DAVILA TIRADO, JUAN            ADDRESS ON FILE
Davila Tirado, Juan M          ADDRESS ON FILE
DAVILA TOLEDO, GILBERTO        ADDRESS ON FILE
DAVILA TOLENTINO, EVELYN       ADDRESS ON FILE
DAVILA TORO, FRANCISCO J.      ADDRESS ON FILE




                                                                           Page 2108 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2109 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA TORO, INGRID              ADDRESS ON FILE
DAVILA TORO, JOSE                ADDRESS ON FILE
DAVILA TORO, OLGA                ADDRESS ON FILE
DAVILA TORRES MD, JOSE R         ADDRESS ON FILE
DAVILA TORRES, ALFREDO           ADDRESS ON FILE
DAVILA TORRES, ANA M             ADDRESS ON FILE
DAVILA TORRES, ANTONIA           ADDRESS ON FILE
DAVILA TORRES, ARISTIDES         ADDRESS ON FILE
DAVILA TORRES, CARLOS R          ADDRESS ON FILE
DAVILA TORRES, CHARLIE L.        ADDRESS ON FILE
DAVILA TORRES, DAISY             ADDRESS ON FILE
DAVILA TORRES, DRIBIE            ADDRESS ON FILE
DAVILA TORRES, EDGAR             ADDRESS ON FILE
DAVILA TORRES, EDGARDO           ADDRESS ON FILE
DAVILA TORRES, EDGARDO           ADDRESS ON FILE
DAVILA TORRES, EDWIN             ADDRESS ON FILE
Davila Torres, Efrain            ADDRESS ON FILE
DAVILA TORRES, EFRAIN            ADDRESS ON FILE
DAVILA TORRES, FRANCISCO         ADDRESS ON FILE
DAVILA TORRES, FRANCISCO J       ADDRESS ON FILE
DAVILA TORRES, FRANCISCO J       ADDRESS ON FILE
DAVILA TORRES, GLENDA            ADDRESS ON FILE
DAVILA TORRES, GRIZZETTE E       ADDRESS ON FILE
DAVILA TORRES, IRIS M            ADDRESS ON FILE
DAVILA TORRES, IRVING            ADDRESS ON FILE
DAVILA TORRES, JULIA             ADDRESS ON FILE
DAVILA TORRES, KYARA             ADDRESS ON FILE
DAVILA TORRES, LESBIA I          ADDRESS ON FILE
DAVILA TORRES, LUIS              ADDRESS ON FILE
DAVILA TORRES, LYNEL J           ADDRESS ON FILE
DAVILA TORRES, MARIA             ADDRESS ON FILE
DAVILA TORRES, MARTA E           ADDRESS ON FILE
DAVILA TORRES, MERCEDES          ADDRESS ON FILE
Davila Torres, Miguel A          ADDRESS ON FILE
DAVILA TORRES, PROVIDENCIA       ADDRESS ON FILE
DAVILA TORRES, RUBEN             ADDRESS ON FILE
DAVILA TORRES, TITO              ADDRESS ON FILE
DAVILA TORRES, VANESSA           ADDRESS ON FILE
Davila Torres, Wanda I           ADDRESS ON FILE
DAVILA TORRES, WANDA I           ADDRESS ON FILE
DAVILA TORRES, YAITZA            ADDRESS ON FILE
DAVILA TORRES, YASHIRA M.        ADDRESS ON FILE
DAVILA TORRES, YOLANDA           ADDRESS ON FILE
DAVILA TQRRES, MARTA I           ADDRESS ON FILE
DAVILA TRAVIESO, BARBARA         ADDRESS ON FILE
DAVILA TRINIDAD, JEREMIAS        ADDRESS ON FILE
DAVILA TROCHE, HECTOR L          ADDRESS ON FILE
DAVILA TROCHE, MARIA J           ADDRESS ON FILE
DAVILA VACHIER, BRENDA J         ADDRESS ON FILE
DAVILA VALDERRAMA, CATHERINE M   ADDRESS ON FILE
DAVILA VALENTIN, HILDA           ADDRESS ON FILE
DAVILA VALENTIN, RAQUEL          ADDRESS ON FILE
DAVILA VALLE, ILIA               ADDRESS ON FILE
DAVILA VALLE, LESTER O           ADDRESS ON FILE
DAVILA VARGAS, BELKYS E.         ADDRESS ON FILE
DAVILA VARGAS, ROSANA            ADDRESS ON FILE
Davila Vazquez, Brenda Enid      ADDRESS ON FILE
DAVILA VAZQUEZ, EMELIS           ADDRESS ON FILE
DAVILA VAZQUEZ, MARTA R          ADDRESS ON FILE
DAVILA VAZQUEZ, MIGBEL           ADDRESS ON FILE




                                                                             Page 2109 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2110 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DAVILA VAZQUEZ, WILDA        ADDRESS ON FILE
DAVILA VEGA, ANN ELIZABETH   ADDRESS ON FILE
DAVILA VEGA, JOSE R          ADDRESS ON FILE
DAVILA VEGA, JUAN            ADDRESS ON FILE
DAVILA VEGA, LUZ Z           ADDRESS ON FILE
DAVILA VELAZQUEZ, CARLOS J   ADDRESS ON FILE
DAVILA VELAZQUEZ, ENEIDA     ADDRESS ON FILE
DAVILA VELAZQUEZ, EVA L      ADDRESS ON FILE
DAVILA VELAZQUEZ, IVETTE     ADDRESS ON FILE
DAVILA VELAZQUEZ, NORMA M.   ADDRESS ON FILE
DAVILA VELAZQUEZ, RUBEN      ADDRESS ON FILE
DAVILA VELAZQUEZ, YAMARIS    ADDRESS ON FILE
DAVILA VELEZ, CARLOS         ADDRESS ON FILE
DAVILA VELEZ, CARLOS S.      ADDRESS ON FILE
DAVILA VELEZ, DAISY          ADDRESS ON FILE
DAVILA VELEZ, HECTOR J.      ADDRESS ON FILE
DAVILA VELEZ, MARALLYS       ADDRESS ON FILE
Davila Velez, Marcos A.      ADDRESS ON FILE
DAVILA VELEZ, SOCORRO        ADDRESS ON FILE
DAVILA VELLON, SELMA C.      ADDRESS ON FILE
DAVILA VIERA, LUIS O.        ADDRESS ON FILE
DAVILA VIGIO, CORALIS        ADDRESS ON FILE
DAVILA VILLAFANE, CARMEN M   ADDRESS ON FILE
DAVILA VILLANUEVA, GISELLE   ADDRESS ON FILE
DAVILA VILLODAS, KATY E.     ADDRESS ON FILE
Davila Virola, Geraline      ADDRESS ON FILE
DAVILA VIRUET, NILSA         ADDRESS ON FILE
DAVILA ZAPATA, SANDRA        ADDRESS ON FILE
DAVILA ZAYAS, HILDELISA      ADDRESS ON FILE
DAVILA ZAYAS, LUZ D          ADDRESS ON FILE
Davila Zeno, Eloy R          ADDRESS ON FILE
DAVILA, ABDIEL               ADDRESS ON FILE
DAVILA, BUENAVENTURA         ADDRESS ON FILE
DAVILA, CARMEN               ADDRESS ON FILE
DAVILA, EDUARDO              ADDRESS ON FILE
DAVILA, GLADIS MARGARITA     ADDRESS ON FILE
DAVILA, GLENDA               ADDRESS ON FILE
DAVILA, GUILLERMINA          ADDRESS ON FILE
DAVILA, JOSE                 ADDRESS ON FILE
DAVILA, JUAN C.              ADDRESS ON FILE
DAVILA, JUSTO                ADDRESS ON FILE
DAVILA, KENNETH              ADDRESS ON FILE
DAVILA, ROTCEH N             ADDRESS ON FILE
DAVILA, VICTOR               ADDRESS ON FILE
DAVILA,FELIX                 ADDRESS ON FILE
DAVILA,HECTOR                ADDRESS ON FILE
DAVILA,ORLANDO               ADDRESS ON FILE
DAVILADELCAMPO, ILIS A       ADDRESS ON FILE
DAVILAMARTINEZ, CARLOS       ADDRESS ON FILE
DAVILLA DE LEON, EDRICK      ADDRESS ON FILE
DAVILON TRNSPORT CORP        PO BOX 1540                                                                      MOROVIS      PR      00687‐1540
DAVIMAEL FONTANEZ CASTRO     ADDRESS ON FILE
DAVINIA PARKES RAMOS         ADDRESS ON FILE
DAVIS AYALA, EVANGELINA      ADDRESS ON FILE
DAVIS AYALA, ROBERTO         ADDRESS ON FILE
DAVIS AYALA, ROBERTO         ADDRESS ON FILE
DAVIS BURGOS BARRETO         ADDRESS ON FILE
DAVIS CARRILLO, NEREIDA      ADDRESS ON FILE
DAVIS CARTAGENA, YAMIRA      ADDRESS ON FILE
DAVIS CASTRO SOTO            ADDRESS ON FILE




                                                                         Page 2110 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2111 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                   Address2                        Address3   Address4   City              State   PostalCode   Country
DAVIS DE LEON, JORGE V       ADDRESS ON FILE
Davis Delgado, Fernando      ADDRESS ON FILE
Davis Delgado, Luis M        ADDRESS ON FILE
DAVIS EMMANUELLI, HEIDY      ADDRESS ON FILE
DAVIS GARCIA, ANGEL L        ADDRESS ON FILE
DAVIS GEORGE, KIMBA          ADDRESS ON FILE
Davis Gonzalez, Johnny       ADDRESS ON FILE
DAVIS HERRERA, JUANITA       ADDRESS ON FILE
DAVIS LOPEZ, ISBAL           ADDRESS ON FILE
DAVIS MD , LAWRENCE J        ADDRESS ON FILE
DAVIS MD, DIANA              ADDRESS ON FILE
DAVIS MEDINA, JONATHAN       ADDRESS ON FILE
DAVIS MIRANDA, EVELYN        ADDRESS ON FILE
DAVIS MIRANDA, LETICIA       ADDRESS ON FILE
DAVIS PELLOT, JOSE           ADDRESS ON FILE
DAVIS PENALVER, LUCY         ADDRESS ON FILE
DAVIS PEREZ, ROBERTO         ADDRESS ON FILE
DAVIS PEREZ, ROSARIO C       ADDRESS ON FILE
Davis Rivera, Rosa M         ADDRESS ON FILE
DAVIS RODRIGUEZ, LUZ B       ADDRESS ON FILE
DAVIS RODRIGUEZ, WANDA I     ADDRESS ON FILE
DAVIS SANTOS, RUSSELL        ADDRESS ON FILE
DAVIS STEHLER, ADAM          ADDRESS ON FILE
DAVIS TORRES DENISE          ADDRESS ON FILE
DAVIS VIERA, LUZ Y           ADDRESS ON FILE
DAVIS, DANNY                 ADDRESS ON FILE
Davis, Jimmy                 ADDRESS ON FILE
DAVIS, JOHNNY                ADDRESS ON FILE
DAVIS, VICTORIA              ADDRESS ON FILE
DAVISON CRUZ, PHILIP         ADDRESS ON FILE
DAVISON HERNANDEZ, NANCY     ADDRESS ON FILE
DAVISON LAFONTAINE, DIANNE   ADDRESS ON FILE
DAVISON, HUGUETTE A.         ADDRESS ON FILE
DAVIT AROCHO                 ADDRESS ON FILE
DAVITA INC                   P O BOX 2037                                                                     TACOMA            WA      98401‐2037
DAVIU LEDESMA, TOMAS         ADDRESS ON FILE
DAWIN BONILLA ROMAN          ADDRESS ON FILE
DAWSON FORBES, RUDY          ADDRESS ON FILE
DAY CARE, MOMMY S            PMB 147 90 AVE RIO HONDO                                                         BAYAMON           PR      00961‐3105
DAY TIMER                    PO BOX 27001                                                                     LEHIGH VALLEY     PA      18002‐7001
DAY, CHRISTOPHER             ADDRESS ON FILE
DAYAN ORTIZ GARCIA           ADDRESS ON FILE
DAYANA DIAZ VALEDON          ADDRESS ON FILE
DAYANA ESPADA RIVERA         ADDRESS ON FILE
DAYANA L GONZALES TORRES     ADDRESS ON FILE
DAYANA TORRES QUINONES       ADDRESS ON FILE
DAYANARA BELEN SILVA         ADDRESS ON FILE
DAYANARA CRUZ BONILLA        ADDRESS ON FILE
DAYANARA CRUZ HERNANDEZ      ADDRESS ON FILE
DAYANARA GARCIA MARI         ADDRESS ON FILE
DAYANARA GODEN RAMOS         ADDRESS ON FILE
DAYANARA HERNANDEZ AVILES    ADDRESS ON FILE
DAYANARA MEJIAS HILERIO      ADDRESS ON FILE
DAYANARA MOJICA APONTE       ADDRESS ON FILE
DAYANARA PIZARRO RIVERA      ADDRESS ON FILE
DAYANARA RIVERA SUAREZ       ADDRESS ON FILE
DAYANARA RODRIGUEZ MUNIZ     ADDRESS ON FILE
DAYANARA RODRIGUEZ MUNIZ     ADDRESS ON FILE
DAYANARA SOTO QUINONES       ADDRESS ON FILE
DAYANARA TORRES DE JESUS     ADDRESS ON FILE




                                                                         Page 2111 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2112 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                  Address2                                     Address3   Address4   City            State   PostalCode   Country
DAYANARA VELAZQUEZ MEDINA                ADDRESS ON FILE
DAYANE GONZALEZ RUIZ                     ADDRESS ON FILE
DAYANE RIVERA PARIS                      ADDRESS ON FILE
DAYANET MALDONADO TORRES                 ADDRESS ON FILE
DAYANETTE REYES DAVILA                   ADDRESS ON FILE
DAYANI CENTENO TORRES                    ADDRESS ON FILE
DAYANI CENTENO TORRES                    ADDRESS ON FILE
DAYANIRA GUZMAN MACHUCA                  ADDRESS ON FILE
DAYANIRA LUQUE MELENDEZ / JOSE I LUQUE   ADDRESS ON FILE
DAYBELISSE RIVERA ORTIZ                  ADDRESS ON FILE
DAYKA GALINDEZ ROSA                      ADDRESS ON FILE
DAYLA J GALINDEZ ROSA                    ADDRESS ON FILE
DAYLEEN ANDINO RIVERA                    ADDRESS ON FILE
DAYLINE BURGOS DEL VALLE                 ADDRESS ON FILE
DAYLINE CARABALLO MARTINEZ               ADDRESS ON FILE
DAYLOR BERRIOS LOPEZ                     ADDRESS ON FILE
DAYMA HERNANDEZ LEON                     ADDRESS ON FILE
DAYMAR DAVILA DROZ                       ADDRESS ON FILE
DAYMARIE BONILLA CEPEDA                  ADDRESS ON FILE
DAYNA ANN PAGAN CARDONA                  ADDRESS ON FILE
DAYNA J VAZQUEZ HERRERA                  ADDRESS ON FILE
DAYNA L PAGAN JESUS                      ADDRESS ON FILE
DAYNA MONTEAGUDO RODRIGUEZ               ADDRESS ON FILE
DAYNA QUINONES BURGOS                    ADDRESS ON FILE
DAYNA RAMOS VAZQUEZ                      ADDRESS ON FILE
DAYNELLE ALVAREZ LORA                    ADDRESS ON FILE
DAYNIZ RIVERA LUGO                       ADDRESS ON FILE
DAYNNA LUZ MORALES SERRANO               ADDRESS ON FILE
DAYOAN E LOPEZ HIDALGO                   ADDRESS ON FILE
DAYRA A. LICIER OQUENDO                  ADDRESS ON FILE
DAYRA AMILL ACOSTA                       ADDRESS ON FILE
DAYRA AMILL ACOSTA                       ADDRESS ON FILE
DAYRA COLON OLMEDA                       ADDRESS ON FILE
DAYRA FERNANDEZ DEMORIZI                 ADDRESS ON FILE
DAYRA I CANALES MOJICA                   ADDRESS ON FILE
DAYRA INFANTE BOSQUES                    COND KINGSVILLE           63 CALLE KINGS CARA APT 6 E                                        SAN JUAN        PR      00911
DAYRA M ORTA ENCARNACION                 ADDRESS ON FILE
DAYRIE ENID CRUZ PAGAN                   ADDRESS ON FILE
DAYRIS SEVERINO MOSQUEA                  ADDRESS ON FILE
DAYROA ALICIER OQUENDO                   ADDRESS ON FILE
DAYSHA L RAMOS                           ADDRESS ON FILE
DAYSHA PINTO MORALES                     ADDRESS ON FILE
DAYSI CARABALLO PEREZ                    ADDRESS ON FILE
DAYSI REYES SANTIAGO                     ADDRESS ON FILE
DAYSI RIVERA GOMEZ                       ADDRESS ON FILE
DAYSIE LUGO MALAVE                       ADDRESS ON FILE
DAYSVETTE E SERRANO MONTALVO             ADDRESS ON FILE
DAYWA DIAZ RIVERA                        ADDRESS ON FILE
DAZA DELGADO, JOSE                       ADDRESS ON FILE
DAZA DELGADO, JOSE                       ADDRESS ON FILE
Daza Delgado, Jose A                     ADDRESS ON FILE
DAZA PADILLA, NANCY                      ADDRESS ON FILE
DB & M SOLUTIONS PSC                     PO BOX 969                                                                                   TOA ALTA        PR      00954
DBA A TORRES TRANSPORT                   HC 4 PMB 44374                                                                               CAGUAS          PR      00725
DBA ASSOCIATES INC                       COND MIAMI                868 AVE ASHFORD APT 401                                            SAN JUAN        PR      00907
DBA EDGARDO J PADILLA PADILLA            # 100 CALLE GEORGETTI                                                                        NARANJITO       PR      00719
DBA FARMACIA LA NUEVA BARCELONETA        PO BOX 2054                                                                                  BARCELONETA     PR      00617
DBA FARMACIA POST                        PO BOX 688                                                                                   MAYAGUEZ        PR      00681
DBA IMPRESOS FERNANDEZ DEL CASTILLO      URB. VISTA BELLA          J‐7 CALLE 10                                                       BAYAMON         PR      00956
DBA JAVISH GUTIERREZ                     BM 1 CALLE 116            VALLE ARRIBA HTS                                                   CAROLINA        PR      00983




                                                                                                 Page 2112 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2113 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                              Address1                    Address2                                      Address3              Address4   City              State   PostalCode   Country

DBA LABORATORIO CLINICO BACTERIOLOGICO     SAN ANTONIO                 PO BOX 791                                    POBLADO SAN ANTONIO              AGUADILLA         PR      00690
DBA LABORATORIO CLINICO EBENEZER           P O BOX 3538                                                                                               AGUADILLA         PR      00605
DBA LAUNDRY LOS DOMINICOS                  RR5 BOX 8418 SUITE 30                                                                                      BAYAMON           PR      00936
DBA LK MULTI‐SERVICE STORE                 AVENIDA MATIAS BRUGMAN 88                                                                                  LAS MARIAS        PR      00670
DBA MARMOLERIA VALDEZ                      URB SANTA ELENA             F 21 CALLE SANTA ELENA                                                         CAGUAS            PR      00725
DBA MARMOLERIA VALDEZ                      URB STA ELVIRA              F 21 CALLE STA ELENA                                                           CAGUAS            PR      00725
DBA OFICINA DENTAL FAMILIAR CSP            P O BOX 2304                                                                                               ARECIBO           PR      00613
DBA PASTELILLERA LAMBOY                    CALLE TIVOLI 332            ESTANCIAS DE TORTUGUERO                                                        VEGA BAJA         PR      00693
DBA RG DISTRIBUTORS                        PO BOX 19510                                                                                               SAN JUAN          PR      00910
DBA SOLDANELA RIVERA                       288 WEST 238 TH STREET      APT 7 G                                                                        BRONX             NY      10463
DBA TURNING POINT YOUTH CENTER             101 WEST TOWNSEND RD                                                                                       ST JOHNS          FL      48879
D‐BEST ENGINEERING SERVICES, INC.          PMB 13                      CALLE AMAZONAS 137 (SUITE 6)                                                   SAN JUAN          PR      00926
DBJK ENTERPRISE CORP                       HC 645 BZN 8239                                                                                            TRUJILLO ALTO     PR      00976
DC ANESTHESIA PSC                          PO BOX 1062                                                                                                MANATI            PR      00674
DC AUGUSTINE MD, STEVEN J                  ADDRESS ON FILE
DC CHEMICAL CORP                           PO BOX 8090                                                                                                BAYAMON           PR      00960‐8090
DC CHEMICAL CORP                           URB SANTA ROSA              31 47 MAIN AVE SUITE 299                                                       BAYAMON           PR      00959
DC HEALTH LINK                             PO Box 97022                                                                                               Washington        DC      20090
DC HOLDINGS LLC DBA INCA CHICKEN           PMB 516                     1353 AVE LUIS VIGOREAUX                                                        GUAYNABO          PR      00966
DC MULTISERVICIOS INC C P                  URB BELLO HORIZONTE         A2 CALLE 1                                                                     GUAYAMA           PR      00784‐6614
DC OFFICE OF FINANCE AND TREASURY          UNCLAIMED PROPERTY UNIT     1101 4TH STREET SW STE 800W                                                    WASHINGTON        DC      20024
DCV LEGAL SERVICE LLC                      PO BOX 363573                                                                                              SAN JUAN          PR      00936‐3573
DDR ATLANTICO LLC SE/SUNE REIT‐D PR LLC    PO BOX 360771                                                                                              SAN JUAN          PR      00936‐0771
DDR CORPORATION                            3300 ENTERPRISE PARKWAY                                                                                    BEACHWOOD         OH      44122
DDR DEL SOL LLC SE                         725 WEST MAIL AVE           SUITE 600                                                                      BAYAMON           PR      00961
DDR ISABELA LLC S E /SUN E RETT D PR LLC   PO BOX 360771                                                                                              SAN JUAN          PR      00936‐0771
DDR NORTE LLC S E                          PO BOX 360771                                                                                              SAN JUAN          PR      00936‐0771
DDR NORTE LLC S.E
De Jesus Rivera, Pedro M                   ADDRESS ON FILE
DE JESUS ABREU, ELSA E                     ADDRESS ON FILE
DE JESUS ORTIZ, OLGA                       ADDRESS ON FILE
DE JESUS VEGA, ROSA                        ADDRESS ON FILE
DE ALBA ALICEA, RITA                       ADDRESS ON FILE
De Alba Baez, Marcelo                      ADDRESS ON FILE
DE ALBA CONDE, ISOLINA                     ADDRESS ON FILE
DE ALBA FELICIANO, IRIS M                  ADDRESS ON FILE
De Alba Garcia, Adan                       ADDRESS ON FILE
DE ALBA GARCIA, ADAN                       ADDRESS ON FILE
DE ALBA GARCIA, DIANA                      ADDRESS ON FILE
De Alba Garcia, Hector M                   ADDRESS ON FILE
DE ALBA MARQUEZ, EDWIN                     ADDRESS ON FILE
DE ALBA PAGAN, ALBERTO                     ADDRESS ON FILE
DE ALBA PAGAN, LUIS                        ADDRESS ON FILE
DE ALBA RIVERA, EDWIN R.                   ADDRESS ON FILE
DE ALBA RODRIGUEZ, ALEXIS                  ADDRESS ON FILE
DE ALBA RODRIGUEZ, ELIEZER                 ADDRESS ON FILE
De Alba Torres, Ana L                      ADDRESS ON FILE
DE ALBA, MANUEL                            ADDRESS ON FILE
DE ALMEIDA FELIX, ROGER                    ADDRESS ON FILE
DE AMOR CORP. LUCERO                       C/H B‐28 URB COSTA DE ORO                                                                                  DORADO            PR      00646
DE AMOR, SEMILLITAS                        ADDRESS ON FILE
DE ANDA ANAYA, ARNOLD                      ADDRESS ON FILE
DE ANDINO DE JESUS, CECILIANA              ADDRESS ON FILE
DE ANDINO LORENZON, RICHARD M              ADDRESS ON FILE
DE ANGEL & COMPANIA CPA                    P O BOX 9024275                                                                                            SAN JUAN          PR      00902
DE ANGEL & COMPANIA CPA                    PO BOX 5460                                                                                                CAGUAS            PR      00726‐5460
DE ANGEL COLON, ANGEL                      ADDRESS ON FILE
De Angel Quirindongo, Francisco            ADDRESS ON FILE
DE ANGEL RAMIREZ, RAFAEL                   ADDRESS ON FILE




                                                                                                      Page 2113 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2114 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                            Address1                             Address2                    Address3   Address4   City         State   PostalCode   Country
DE ARCE DIAZ, ABNER                      ADDRESS ON FILE
De Arce Flores, Juan R                   ADDRESS ON FILE
DE ARCE GOMEZ, IRIS F.                   ADDRESS ON FILE
De Arce Gomez, Jose D                    ADDRESS ON FILE
DE ARCE HERRERA, TEOFILO                 ADDRESS ON FILE
De Arce Martinez, Valentina              ADDRESS ON FILE
DE ARCE PIMENTEL, ELSA I                 ADDRESS ON FILE
DE ARCE RAMOS, WILFREDO                  ADDRESS ON FILE
DE ARCE RIVERA, ELSIE A                  ADDRESS ON FILE
DE ARCE RODRIGUEZ, JAVIER                ADDRESS ON FILE
De Arce Rodriguez, Juan R                ADDRESS ON FILE
DE ARCE, AIXA M                          ADDRESS ON FILE
DE ARCE, FLORENCIO                       ADDRESS ON FILE
DE ARMA MATOS, IVETTE                    ADDRESS ON FILE
DE ARMAS BERNIER, CHRISTIAN A.           ADDRESS ON FILE
DE ARMAS CUBAS, CARLOS                   ADDRESS ON FILE
DE ARMAS DOMINGUEZ, MARTIN               ADDRESS ON FILE
DE ARMAS DOMINGUEZ, OLGA                 ADDRESS ON FILE
DE ARMAS DUPREY, JUAN C                  ADDRESS ON FILE
DE ARMAS FIGUEROA, LEYNAD C              ADDRESS ON FILE
DE ARMAS FIGUEROA, MARIA                 ADDRESS ON FILE
DE ARMAS LAPORTE, INGRID M.              ADDRESS ON FILE
DE ARMAS PLAZA, MARINA LOREN             ADDRESS ON FILE
DE ARMAS SAEZ, CRISTINA                  ADDRESS ON FILE
DE ARMAS SAEZ, FELICITA                  ADDRESS ON FILE
DE ARMAS SANTIAGO, OLGA L.               ADDRESS ON FILE
DE AVILA RIVAS, LUDYS M                  ADDRESS ON FILE
DE AYALA REYES, RICARDO                  ADDRESS ON FILE
DE AYALA, MIGDALIA                       ADDRESS ON FILE
DE AZA BOISSARD, ODETTE E                ADDRESS ON FILE
DE AZA MARTE, ANACLETO                   ADDRESS ON FILE
DE AZA MERCEDES, DOMINGO                 ADDRESS ON FILE
DE AZA PIMENTEL, MARIA NURYS             ADDRESS ON FILE
DE AZA RIJO, JARY J                      ADDRESS ON FILE
DE BIEN DIAZ, LAURA                      ADDRESS ON FILE
DE BLASIO MADERA, ROSEMARIE              ADDRESS ON FILE
DE BOCA EN BOCA CORP DE ARTE ESCENICAS   COND EL MONTE SUR 180                APTO 701 B                                        SAN JUAN     PR      00918
DE BOCA EN BOCA‐ CORPOACION DE ARTES ESC COND. EL MONTE SUR # 180 APT.701‐B                                                     SAN JUAN     PR      00918‐0000
DE BOCA EN BOCA‐CORP. DE ARTES ESCENICAS COND EL MONTE SUR 180 APT 701‐B                                                        SAN JUAN     PR      00918‐0000
DE CAMINO OPAZO, ANDRES                  ADDRESS ON FILE
DE CAMINO SMITH, FERNANDO                ADDRESS ON FILE
DE CARDENA JIMENEZ, OSVALDO              ADDRESS ON FILE
DE CARDONA GARCIA, ALICIA                ADDRESS ON FILE
DE CARDONA MARTINEZ, OLGA                ADDRESS ON FILE
DE CARDONA SOTO, MAELYNNE                ADDRESS ON FILE
DE CARVALO SANCHEZ, DECIO                ADDRESS ON FILE
DE CASENAVE CALDERIN, LUIS A             ADDRESS ON FILE
DE CASENAVE CRESCIONI, NANCY             ADDRESS ON FILE
DE CASTRO CAPPACETTI, LORNA              ADDRESS ON FILE
DE CASTRO DE LA CRUZ, HEIDI L            ADDRESS ON FILE
DE CASTRO FONT, JORGE                    ADDRESS ON FILE
DE CASTRO FONT, JORGE A                  ADDRESS ON FILE
DE CASTRO FONT, MARIA E                  ADDRESS ON FILE
DE CASTRO MEDINA, JOSEPH                 ADDRESS ON FILE
De Cespedes Cruz, Carlos M               ADDRESS ON FILE
DE CESPEDES VALDES, ANA G.M.             ADDRESS ON FILE
DE CHOUDENS COLON, AUREA I               ADDRESS ON FILE
DE CHOUDENS COLON, MAYRA                 ADDRESS ON FILE
DE CHOUDENS GARCIA, INGRID               ADDRESS ON FILE
DE CHOUDENS GARCIA, WILMARIE             ADDRESS ON FILE




                                                                                           Page 2114 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2115 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                     Address1                   Address2                                   Address3   Address4   City         State   PostalCode   Country
DE CHOUDENS HERNANDEZ, MIRIAM     ADDRESS ON FILE
DE CHOUDENS MARTINEZ, INDIRA      ADDRESS ON FILE
DE CHOUDENS MARTINEZ, INDIRA      ADDRESS ON FILE
DE CHOUDENS ORTIZ, FRANCISCO      ADDRESS ON FILE
DE CHOUDENS PEREZ, JOSE           ADDRESS ON FILE
DE CHOUDENS RAMOS, WANDA          ADDRESS ON FILE
DE CHOUDENS RODRIGUEZ, IRVING     ADDRESS ON FILE
DE CHOUDENS ROVIRA, JOSE          ADDRESS ON FILE
DE CHOUDENS ROVIRA, RICARDO       ADDRESS ON FILE
DE CHOUDENS VICENTE, ANNETTE      ADDRESS ON FILE
DE CORRAL JULIA, MARIA            ADDRESS ON FILE
DE CORRAL Y DE MIER               130 ELEONOR ROOSEVELT                                                                       SAN JUAN     PR      00918‐3105
DE CORRAL Y DE MIER               JUAN C LIMARDO DEFENDINI   130 AVE ELEONOR ROOSEVELT                                        SAN JUAN     PR      00918‐3105
DE CORRAL Y DE MIER               PO BOX 194468                                                                               SAN JUAN     PR      00919‐4418
DE COS CARRION, JOSE G            ADDRESS ON FILE
DE COS CARRION, RAFAEL            ADDRESS ON FILE
DE COS HERNANDEZ, RAFAEL A.       ADDRESS ON FILE
DE COTEAU PELIUS, THERESA         ADDRESS ON FILE
DE COURCEIUL PEREZ, IVONNE        ADDRESS ON FILE
DE COURCEUIL LEBRON, COSSETT J    ADDRESS ON FILE
DE DESAROLLO, ZONA                ADDRESS ON FILE
DE DIEGO AMBULATORY CLINIC        150 AVE DE DIEGO BOX 1                                                                      SAN JUAN     PR      00907
DE DIEGO AMBULATORY CLINIC CORP   SAN JUAN HEALTH CENTRE     # 150 BOX 1                                                      SAN JUAN     PR      00907
DE DIEGO COLLAR, JACQUELINE       ADDRESS ON FILE
DE DIEGO D'AMICO, FRANCISCO       ADDRESS ON FILE
DE DIEGO DAMICO, HUGO             ADDRESS ON FILE
DE DIEGO LAW OFFICES PSC          PO BOX 79552                                                                                CAROLINA     PR      00984
DE DIEGO OTERO, JOSE              ADDRESS ON FILE
DE DIEGO ZAYAS, MAIRYM            ADDRESS ON FILE
DE DIEGO ZAYAS, VILMARYS          ADDRESS ON FILE
DE DIOS ALMONTE, PEDRO            ADDRESS ON FILE
DE DIOS MENDEZ, MARILYN           ADDRESS ON FILE
DE DIOS RODRIGUEZ, CRISTAL        ADDRESS ON FILE
DE DIOS RODRIGUEZ, SADRAC         ADDRESS ON FILE
DE DIOS, MELODY                   ADDRESS ON FILE
DE DOS ADVERTISING INC            PMB 299 130                WINSTON CHURCHILL AVE                                            SAN JUAN     PR      00926‐6018
DE FELICE RONDON, MICHAEL         ADDRESS ON FILE
DE FELIX DAVILA MD, ROBERTO       ADDRESS ON FILE
DE FELIX DAVILA MD, ROBERTO       ADDRESS ON FILE
DE FELIX DAVILA, ROCIO VIVIANA    ADDRESS ON FILE
DE FERIA MOLINI, CLAUDIA M.       ADDRESS ON FILE
DE FIGUEREIDO GONZALEZ, DACIA     ADDRESS ON FILE
DE FILIPO ESPINOSA, MICHAEL       ADDRESS ON FILE
DE GIORGIO ALLEMANNI, FACUNDO     ADDRESS ON FILE
DE GRACIA BARAHONA, ALIS A        ADDRESS ON FILE
DE GRACIA CARTAGENA, MIGYOLY      ADDRESS ON FILE
DE GRACIA CARTAGENA, MIOSOTIS     ADDRESS ON FILE
DE GRACIA CINTRON, MERALY         ADDRESS ON FILE
DE GRACIA COLON, FIDEL            ADDRESS ON FILE
DE GRACIA LUNA, CARLOS M          ADDRESS ON FILE
DE GRACIA LUNA, MARICELLI         ADDRESS ON FILE
DE GRACIA MARIANI, ANIBAL         ADDRESS ON FILE
DE GRACIA MARRERO, ELSIE V.       ADDRESS ON FILE
De Gracia Marrero, Hector M.      ADDRESS ON FILE
De Gracia Marrero, Margarita      ADDRESS ON FILE
DE GRACIA MARRERO, MARGARITA      ADDRESS ON FILE
DE GRACIA MARTINEZ, LEYRA A.      ADDRESS ON FILE
DE GRACIA NAZARIO, PAUL           ADDRESS ON FILE
DE GRACIA NAZARIO, PAUL           ADDRESS ON FILE
DE GRACIA ORTEGA, ARSENIO         ADDRESS ON FILE




                                                                                         Page 2115 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2116 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                           Address1                        Address2                                   Address3   Address4   City          State   PostalCode   Country
DE GRACIA PEREZ, CLARISA                ADDRESS ON FILE
DE GRACIA PINEIRO, HECTOR M.            ADDRESS ON FILE
DE GRACIA ROSADO, EVELYN                ADDRESS ON FILE
DE GRACIA ROSADO, MIGUEL                ADDRESS ON FILE
DE GRACIA SANTOS, EVELYN                ADDRESS ON FILE
DE GRACIA SERRANO, IVELISSE             ADDRESS ON FILE
DE GRACIA TORO, RAFAEL A                ADDRESS ON FILE
DE GRACIA VAZQUEZ, MIGUEL A             ADDRESS ON FILE
DE GRACIA, ANGEL R.                     ADDRESS ON FILE
DE GRAW LAMOSO, ARTHUR D.               ADDRESS ON FILE
DE GRUPO MI NINA HOGAR                  CALLE 46 CC‐6 URB VILLA LOIZA                                                                    CANOVANAS     PR      00729
DE GUZMAN VENDRELL, JUAN JOSE           ADDRESS ON FILE
DE GUZMAN YIASKI, NORMAN                ADDRESS ON FILE
DE HERNANDEZ, ISABEL A                  ADDRESS ON FILE
DE HERRERA CRUZ, DEBORAH L              ADDRESS ON FILE
DE HERRERA CRUZ, FRANCISCO              ADDRESS ON FILE
DE HERRERA CRUZ, KIMAIRYS               ADDRESS ON FILE
DE HOSTOS ALMODOVAR, OSCAR              SAMUEL PADUA FLORES             URB. SANTA ROSA 20‐25 CARR. 174                                  Bayamón       PR      00959‐6617
DE HOSTOS CARABALLO, ELDJULISSE S       ADDRESS ON FILE
DE HOSTOS OLIVAR, TERESA                ADDRESS ON FILE
DE HOSTOS TORRES, ANGEL                 ADDRESS ON FILE
DE HOYOS ARROYO, WILLIAM                ADDRESS ON FILE
DE HOYOS ARROYO, WILLIAM DENNIS         ADDRESS ON FILE
DE HOYOS ATANACIO RUBEN                 RR‐12 BOX 1080                                                                                   BAYAMON       PR      00956
DE HOYOS BEAUCHAMP, SERGIO              ADDRESS ON FILE
DE HOYOS CORREA, SHARON                 ADDRESS ON FILE
DE HOYOS CRUZ, GABRIEL                  ADDRESS ON FILE
DE HOYOS CRUZ, REBECA                   ADDRESS ON FILE
DE HOYOS ESTELA, JULIO C                ADDRESS ON FILE
DE HOYOS LAGUERRA, BLANCA L             ADDRESS ON FILE
DE HOYOS LOPEZ, ALICE M.                ADDRESS ON FILE
DE HOYOS LUCIANO, LOURDES               ADDRESS ON FILE
DE HOYOS MARTINEZ, LOURDES              ADDRESS ON FILE
DE HOYOS MARTINEZ, VINCENT              ADDRESS ON FILE
DE HOYOS MERCADO, SAMUEL                ADDRESS ON FILE
DE HOYOS MORALES, HECTOR                ADDRESS ON FILE
DE HOYOS PAGAN, ADA M                   ADDRESS ON FILE
DE HOYOS PAGAN, ALICIA                  ADDRESS ON FILE
DE HOYOS PAGAN, JOSE A.                 ADDRESS ON FILE
De Hoyos Pagan, Roberto                 ADDRESS ON FILE
DE HOYOS PAGAN, ZORAIDA                 ADDRESS ON FILE
DE HOYOS PENA, MILAGROS                 ADDRESS ON FILE
DE HOYOS PEREZ, LUIS M                  ADDRESS ON FILE
DE HOYOS POU, JOSE                      ADDRESS ON FILE
DE HOYOS RAMOS, ARGENIS                 ADDRESS ON FILE
DE HOYOS RAMOS, BERENICE                ADDRESS ON FILE
De Hoyos Ramos, Ismael J                ADDRESS ON FILE
DE HOYOS RODRIGUEZ, ERIC                ADDRESS ON FILE
DE HOYOS RUPERTO, MORAIMA               ADDRESS ON FILE
DE HOYOS SERRANO, BLANCA                ADDRESS ON FILE
DE HOYOS, GUILLERMO                     ADDRESS ON FILE
DE INTELIGENCIA EMOCION ,TALLER         ADDRESS ON FILE
DE JESIS ORTIZ, YAMIL                   ADDRESS ON FILE
DE JESUE SANTIAGO, NORMA                ADDRESS ON FILE
DE JESUS & ANDUJAR PSC                  PO BOX 361228                                                                                    SAN JUAN      PR      00936‐1228
DE JESUS & MATOS MEDICAL IMAGING PROF   PO BOX 3049                                                                                      BAYAMON       PR      00960‐3049
DE JESUS ,EMMANUEL ALVAREZ              ADDRESS ON FILE
DE JESUS ABAD, JUANA                    ADDRESS ON FILE
DE JESUS ACEVEDO, EFRAIN                ADDRESS ON FILE
DE JESUS ACEVEDO, ORLANDO               ADDRESS ON FILE




                                                                                                    Page 2116 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2117 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ACOSTA, DAVID             ADDRESS ON FILE
DE JESUS ACOSTA, JEANNETTE         ADDRESS ON FILE
DE JESUS ACOSTA, LYDIA I           ADDRESS ON FILE
DE JESUS ADORNO, BENNEDI           ADDRESS ON FILE
DE JESUS AFANADOR, ELIZABETH       ADDRESS ON FILE
DE JESUS AFANADOR, GRIMARYS        ADDRESS ON FILE
DE JESUS AFANADOR, NANCY J.        ADDRESS ON FILE
DE JESUS AFANADOR, SANDRA I        ADDRESS ON FILE
DE JESUS AGOSTO, ALEJANDRO         ADDRESS ON FILE
DE JESUS AGOSTO, ILEANA            ADDRESS ON FILE
DE JESUS AGUAYO, ADELINA           ADDRESS ON FILE
De Jesus Aguirre, Gustavo A.       ADDRESS ON FILE
DE JESUS AGUIRRE, PEDRO            ADDRESS ON FILE
DE JESUS AGUIRRE, SAMUEL           ADDRESS ON FILE
De Jesus Alamo, Javier Omar        ADDRESS ON FILE
DE JESUS ALAMO, JUAN               ADDRESS ON FILE
DE JESUS ALAMO, MARIA              ADDRESS ON FILE
DE JESUS ALEJANDRINO, ANGEL LUIS   ADDRESS ON FILE
DE JESUS ALEJANDRINO, CHARITYN     ADDRESS ON FILE
DE JESUS ALEJANDRINO, CHARITYN     ADDRESS ON FILE
DE JESUS ALEJANDRO, CARMEN         ADDRESS ON FILE
DE JESUS ALEJANDRO, ROBERTO        ADDRESS ON FILE
DE JESUS ALEJANDRO, ROBERTO        ADDRESS ON FILE
DE JESUS ALEJANDRO, TANIA          ADDRESS ON FILE
DE JESUS ALERS, JULIO              ADDRESS ON FILE
De Jesus Algarin, Rafael           ADDRESS ON FILE
DE JESUS ALICEA, ABNEL             ADDRESS ON FILE
DE JESUS ALICEA, ANGELA            ADDRESS ON FILE
DE JESUS ALICEA, HILDA M           ADDRESS ON FILE
DE JESUS ALICEA, JESUS             ADDRESS ON FILE
DE JESUS ALICEA, JOEL              ADDRESS ON FILE
DE JESUS ALICEA, MARIA H.          ADDRESS ON FILE
DE JESUS ALICEA, MARIA J.          ADDRESS ON FILE
DE JESUS ALICEA, MARIA T           ADDRESS ON FILE
DE JESUS ALICEA, NEYSLA            ADDRESS ON FILE
DE JESUS ALICEA, ROSA              ADDRESS ON FILE
DE JESUS ALICEA, VIRGINIA          ADDRESS ON FILE
DE JESUS ALMODOVAR, JUANITA        ADDRESS ON FILE
DE JESUS ALVAIIE, JESUS            ADDRESS ON FILE
DE JESUS ALVARADO, ARACELIS        ADDRESS ON FILE
DE JESUS ALVARADO, CARMEN M.       ADDRESS ON FILE
DE JESUS ALVARADO, EMMA            ADDRESS ON FILE
DE JESUS ALVARADO, ERICK           ADDRESS ON FILE
DE JESUS ALVARADO, JULIE           ADDRESS ON FILE
De Jesus Alvarado, Linda           ADDRESS ON FILE
DE JESUS ALVARADO, LUIS A          ADDRESS ON FILE
DE JESUS ALVARADO, MAYRA I         ADDRESS ON FILE
De Jesus Alvarado, Noel A          ADDRESS ON FILE
DE JESUS ALVARADO, SONIA E         ADDRESS ON FILE
DE JESUS ALVAREZ, DILIAN           ADDRESS ON FILE
DE JESUS ALVAREZ, DOLORES          ADDRESS ON FILE
DE JESUS ALVAREZ, HECTOR           ADDRESS ON FILE
DE JESUS ALVAREZ, HECTOR           ADDRESS ON FILE
DE JESUS ALVAREZ, JORGE            ADDRESS ON FILE
DE JESUS ALVAREZ, JOSE E           ADDRESS ON FILE
DE JESUS ALVAREZ, LEANETTE         ADDRESS ON FILE
DE JESUS ALVAREZ, MARIBELL         ADDRESS ON FILE
DE JESUS ALVAREZ, MARISELLE        ADDRESS ON FILE
DE JESUS ALVAREZ, RISELDA          ADDRESS ON FILE
DE JESUS ALVAREZ, VICTOR           ADDRESS ON FILE




                                                                               Page 2117 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2118 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ALVAREZ, YARIENID      ADDRESS ON FILE
DE JESUS ALVAREZ, YARIENID      ADDRESS ON FILE
DE JESUS ALVIRA, DINO           ADDRESS ON FILE
DE JESUS ALVIRA, ZORAIDA        ADDRESS ON FILE
DE JESUS AMARO, ANDREA          ADDRESS ON FILE
De Jesus Amaro, Carmen D        ADDRESS ON FILE
DE JESUS AMARO, EDDA            ADDRESS ON FILE
DE JESUS AMARO, MYRNA J         ADDRESS ON FILE
DE JESUS AMARO, PABLO J.        ADDRESS ON FILE
DE JESUS ANDALUZ, CARLOS        ADDRESS ON FILE
DE JESUS ANDALUZ, CARLOS D.     ADDRESS ON FILE
DE JESUS ANDINO, EDGARDO        ADDRESS ON FILE
DE JESUS ANDINO, LIZZETTE       ADDRESS ON FILE
DE JESUS ANDINO, REBECA         ADDRESS ON FILE
DE JESUS ANDUJAR, DIANGELY      ADDRESS ON FILE
De Jesus Andujar, Nelida        ADDRESS ON FILE
DE JESUS ANNONI, FRANCISCO J.   ADDRESS ON FILE
DE JESUS ANTONETTY, ANGEL C.    ADDRESS ON FILE
DE JESUS APONTE MD, RAMON       ADDRESS ON FILE
DE JESUS APONTE, CLARA          ADDRESS ON FILE
DE JESUS APONTE, DENISE         ADDRESS ON FILE
DE JESUS APONTE, DENISE         ADDRESS ON FILE
DE JESUS APONTE, DENISE M.      ADDRESS ON FILE
DE JESUS APONTE, ELBA I         ADDRESS ON FILE
DE JESUS APONTE, FLORY          ADDRESS ON FILE
DE JESUS APONTE, FLORY MAR      ADDRESS ON FILE
DE JESUS APONTE, FRANCISCO      ADDRESS ON FILE
DE JESUS APONTE, HECTOR I       ADDRESS ON FILE
De Jesus Aponte, Jackeline      ADDRESS ON FILE
DE JESUS APONTE, JUAN           ADDRESS ON FILE
De Jesus Aponte, Juan M         ADDRESS ON FILE
DE JESUS APONTE, MARIANELA      ADDRESS ON FILE
DE JESUS APONTE, MERIAM         ADDRESS ON FILE
DE JESUS APONTE, MICHELLE M     ADDRESS ON FILE
DE JESUS ARCE, MANUEL           ADDRESS ON FILE
DE JESUS AREVALO, JANETH        ADDRESS ON FILE
DE JESUS ARIAS, ERICK           ADDRESS ON FILE
DE JESUS ARNALDI, AIXA E.       ADDRESS ON FILE
DE JESUS ARNAU, VICTOR          ADDRESS ON FILE
DE JESUS ARROYO, ANTHONY        ADDRESS ON FILE
DE JESUS ARROYO, CARLOS         ADDRESS ON FILE
DE JESUS ARROYO, EVELYN         ADDRESS ON FILE
DE JESUS ARROYO, FRANCISCO      ADDRESS ON FILE
DE JESUS ARROYO, GENOVA         ADDRESS ON FILE
DE JESUS ARROYO, JESSICA I      ADDRESS ON FILE
DE JESUS ARROYO, MILDRED        ADDRESS ON FILE
DE JESUS ARROYO, SAMUEL         ADDRESS ON FILE
DE JESUS ARROYO, TOMAS          ADDRESS ON FILE
DE JESUS ARZOLA, ANGELES        ADDRESS ON FILE
DE JESUS ASENCIO, RAMON         ADDRESS ON FILE
De Jesus Asencio, Ramon L       ADDRESS ON FILE
DE JESUS AUTO RADIO             AVE BARBOSA 146                                                                  HATO REY     PR      00917
DE JESUS AVILES, ANA R.         ADDRESS ON FILE
DE JESUS AVILES, ARMANDO        ADDRESS ON FILE
DE JESUS AVILES, AZANY          ADDRESS ON FILE
DE JESUS AVILES, JOAQUIN        ADDRESS ON FILE
De Jesus Aviles, Joaquin        ADDRESS ON FILE
DE JESUS AVILES, LINETTE M      ADDRESS ON FILE
DE JESUS AVILES, LUZ E          ADDRESS ON FILE
DE JESUS AVILES, MARIA I        ADDRESS ON FILE




                                                                            Page 2118 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2119 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS AVILES, RUBEN         ADDRESS ON FILE
DE JESUS AYALA, ABRAHAM        ADDRESS ON FILE
DE JESUS AYALA, AGUSTINA       ADDRESS ON FILE
DE JESUS AYALA, ALEXANDER      ADDRESS ON FILE
DE JESUS AYALA, BENNY E        ADDRESS ON FILE
DE JESUS AYALA, GLADYS         ADDRESS ON FILE
DE JESUS AYALA, GLORIMAR       ADDRESS ON FILE
DE JESUS AYALA, ISABEL         ADDRESS ON FILE
DE JESUS AYALA, ISSELA         ADDRESS ON FILE
DE JESUS AYALA, NOEL           ADDRESS ON FILE
DE JESUS AYUSO, JUAN M         ADDRESS ON FILE
DE JESUS BAEZ, CANDIDA         ADDRESS ON FILE
DE JESUS BAEZ, HARRY           ADDRESS ON FILE
DE JESUS BAEZ, HAYDEE          ADDRESS ON FILE
De Jesus Baez, Jessie I        ADDRESS ON FILE
DE JESUS BAEZ, MARIA           ADDRESS ON FILE
DE JESUS BAEZ, MARIA M         ADDRESS ON FILE
DE JESUS BAEZ, MARIA R         ADDRESS ON FILE
DE JESUS BAEZ, NESTOR          ADDRESS ON FILE
DE JESUS BAEZ, RAMON A.        ADDRESS ON FILE
DE JESUS BAEZ, RAMON A.        ADDRESS ON FILE
DE JESUS BAEZ, ROSSI           ADDRESS ON FILE
DE JESUS BARBOSA, ELIGIO       ADDRESS ON FILE
DE JESUS BARBOSA, LEISHA       ADDRESS ON FILE
DE JESUS BARRETO, MARYLINE     ADDRESS ON FILE
DE JESUS BATISTA, IRMA         ADDRESS ON FILE
DE JESUS BATISTA, JOSE         ADDRESS ON FILE
DE JESUS BATISTA, MARIA M      ADDRESS ON FILE
DE JESUS BATIZ, GRACE          ADDRESS ON FILE
DE JESUS BAUZA, MARIA C        ADDRESS ON FILE
DE JESUS BAYRON, CATHERINE     ADDRESS ON FILE
DE JESUS BELTRAN, BRUNILDA     ADDRESS ON FILE
DE JESUS BELTRAN, CARMEN D     ADDRESS ON FILE
DE JESUS BELTRAN, HECTOR       ADDRESS ON FILE
DE JESUS BELTRAN, JOSE J       ADDRESS ON FILE
DE JESUS BELTRAN, JOSE L       ADDRESS ON FILE
De Jesus Beltran, Jose M.      ADDRESS ON FILE
DE JESUS BENITEZ, HECTOR       ADDRESS ON FILE
DE JESUS BENITEZ, MARISOL      ADDRESS ON FILE
DE JESUS BENITEZ, VICTOR Y.    ADDRESS ON FILE
DE JESUS BENITEZ, WALESKA      ADDRESS ON FILE
DE JESUS BERMUDEZ, JOSE        ADDRESS ON FILE
DE JESUS BERMUDEZ, KELVIN J.   ADDRESS ON FILE
De Jesus Bermudez, Marcos A.   ADDRESS ON FILE
DE JESUS BERMUDEZ, MARIA I     ADDRESS ON FILE
DE JESUS BERMUDEZ, SHARON      ADDRESS ON FILE
DE JESUS BERRIOS, CARLOS       ADDRESS ON FILE
DE JESUS BERRIOS, CELESTINA    ADDRESS ON FILE
DE JESUS BERRIOS, ESTHER       ADDRESS ON FILE
DE JESUS BERRIOS, FELIX M.     ADDRESS ON FILE
DE JESUS BERRIOS, JUAN         ADDRESS ON FILE
DE JESUS BERRIOS, JULIO        ADDRESS ON FILE
DE JESUS BERRIOS, JULIO        ADDRESS ON FILE
DE JESUS BERRIOS, JULYMAR      ADDRESS ON FILE
DE JESUS BERRIOS, LOURDES      ADDRESS ON FILE
DE JESUS BERRIOS, LUCILA       ADDRESS ON FILE
DE JESUS BERRIOS, LUIS         ADDRESS ON FILE
DE JESUS BERRIOS, LUIS         ADDRESS ON FILE
DE JESUS BERRIOS, MARGARITA    ADDRESS ON FILE
DE JESUS BERRIOS, MIGDALIA     ADDRESS ON FILE




                                                                           Page 2119 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2120 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS BERRIOS, NORBERTO      ADDRESS ON FILE
DE JESUS BERRIOS, ROBERTO       ADDRESS ON FILE
DE JESUS BETANCOURT, EDWIN      ADDRESS ON FILE
DE JESUS BETANCOURT, EDWIN R.   ADDRESS ON FILE
DE JESUS BLANCO, EVA M          ADDRESS ON FILE
DE JESUS BLANCO, MARIA M        ADDRESS ON FILE
DE JESUS BLASINI, GRETCHEN      ADDRESS ON FILE
DE JESUS BOLORIN, BLENDA E      ADDRESS ON FILE
DE JESUS BOLORIN, MARANGELY     ADDRESS ON FILE
DE JESUS BON, BASILIO           ADDRESS ON FILE
DE JESUS BONES, NATIVIDAD       ADDRESS ON FILE
DE JESUS BONEW, WANDA I         ADDRESS ON FILE
DE JESUS BONILLA, ALEX          ADDRESS ON FILE
DE JESUS BONILLA, IVELISSE      ADDRESS ON FILE
DE JESUS BONILLA, LUIS          ADDRESS ON FILE
DE JESUS BONILLA, LUIS          ADDRESS ON FILE
DE JESUS BONILLA, WILLIAM       ADDRESS ON FILE
De Jesus Borrero, Johannie      ADDRESS ON FILE
De Jesus Borrero, Pablo         ADDRESS ON FILE
De Jesus Bosque, Armando        ADDRESS ON FILE
DE JESUS BOYER, AUREA           ADDRESS ON FILE
DE JESUS BRISTOL, ROBERTO       ADDRESS ON FILE
DE JESUS BRUNO, JOSE            ADDRESS ON FILE
DE JESUS BRUNO, JOSE            ADDRESS ON FILE
DE JESUS BRUNO, JOSE L          ADDRESS ON FILE
DE JESUS BURGOS, ANGEL M        ADDRESS ON FILE
DE JESUS BURGOS, ANGEL M        ADDRESS ON FILE
DE JESUS BURGOS, ARACELI        ADDRESS ON FILE
DE JESUS BURGOS, CANDIDA        ADDRESS ON FILE
DE JESUS BURGOS, CARMEN D       ADDRESS ON FILE
DE JESUS BURGOS, FLORENCIO      ADDRESS ON FILE
DE JESUS BURGOS, IVETTE         ADDRESS ON FILE
DE JESUS BURGOS, JUAN L         ADDRESS ON FILE
DE JESUS BURGOS, LUIS E.        ADDRESS ON FILE
DE JESUS BURGOS, RUBEN          ADDRESS ON FILE
DE JESUS BURGOS, RUBEN          ADDRESS ON FILE
DE JESUS BURGOS, VICTOR         ADDRESS ON FILE
DE JESUS CABALLERO, BRENDA L.   ADDRESS ON FILE
DE JESUS CABALLERO, BRENDA L.   ADDRESS ON FILE
DE JESUS CABALLERO, MILAGROS    ADDRESS ON FILE
DE JESUS CABRERA, CARLOS        ADDRESS ON FILE
DE JESUS CABRERA, CARLOS H.     ADDRESS ON FILE
DE JESUS CABRERA, CARMEN M      ADDRESS ON FILE
DE JESUS CABRERA, ELIAS         ADDRESS ON FILE
DE JESUS CABRERA, EMY           ADDRESS ON FILE
DE JESUS CABRERO, HECTOR        ADDRESS ON FILE
DE JESUS CADIZ, HECTOR L.       ADDRESS ON FILE
DE JESUS CADIZ, IDALINA         ADDRESS ON FILE
DE JESUS CALCANO, JAHGEN        ADDRESS ON FILE
DE JESUS CALDERON, ADELYRIS     ADDRESS ON FILE
DE JESUS CALDERON, ADELYRIS     ADDRESS ON FILE
DE JESUS CALDERON, GABRIELA     ADDRESS ON FILE
DE JESUS CALDERON, JORGE        ADDRESS ON FILE
DE JESUS CALDERON, LUZ T        ADDRESS ON FILE
DE JESUS CALZADA, VANESSA       ADDRESS ON FILE
DE JESUS CAMACHO, ANA M         ADDRESS ON FILE
DE JESUS CAMACHO, CLARA E       ADDRESS ON FILE
DE JESUS CAMACHO, COSME         ADDRESS ON FILE
DE JESUS CAMACHO, EMMANUEL      ADDRESS ON FILE
DE JESUS CAMACHO, LIANNY        ADDRESS ON FILE




                                                                            Page 2120 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2121 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS CAMACHO, MIRIAM          ADDRESS ON FILE
DE JESUS CAMACHO, ROSEMARY        ADDRESS ON FILE
DE JESUS CANALES, SOL             ADDRESS ON FILE
DE JESUS CANCEL, JANET            ADDRESS ON FILE
DE JESUS CANDELARIA, MARGARET     ADDRESS ON FILE
DE JESUS CANDELARIO, DAMARY       ADDRESS ON FILE
DE JESUS CARABALLO MD, JOEL       ADDRESS ON FILE
DE JESUS CARABALLO, AIDA          ADDRESS ON FILE
DE JESUS CARABALLO, BEATRIZ       ADDRESS ON FILE
De Jesus Caraballo, Carlos        ADDRESS ON FILE
DE JESUS CARABALLO, CHARLES       ADDRESS ON FILE
De Jesus Caraballo, Charlie N.    ADDRESS ON FILE
DE JESUS CARABALLO, EVELYN        ADDRESS ON FILE
DE JESUS CARABALLO, JULIA         ADDRESS ON FILE
DE JESUS CARABALLO, SANDRA        ADDRESS ON FILE
DE JESUS CARDONA, CARLOS          ADDRESS ON FILE
DE JESUS CARDONA, NARCISO         ADDRESS ON FILE
DE JESUS CARINO, ROBERTO          ADDRESS ON FILE
DE JESUS CARMOEGA, AGLAETH        ADDRESS ON FILE
DE JESUS CARMOEGA, JOSSIENY       ADDRESS ON FILE
DE JESUS CARMONA, CARMEN L        ADDRESS ON FILE
DE JESUS CARMONA, IRMA            ADDRESS ON FILE
DE JESUS CARMONA, RUBEN           ADDRESS ON FILE
DE JESUS CARRASCO, ADAMS          ADDRESS ON FILE
DE JESUS CARRASCO, DAVID          ADDRESS ON FILE
DE JESUS CARRASCO, EMILIO         ADDRESS ON FILE
DE JESUS CARRASCO, EVA            ADDRESS ON FILE
DE JESUS CARRASCO, EVA E.         ADDRESS ON FILE
DE JESUS CARRASQUILLO, DIOMARIS   ADDRESS ON FILE
De Jesus Carrasquillo, Eduviges   ADDRESS ON FILE
DE JESUS CARRASQUILLO, MIGUEL A   ADDRESS ON FILE
DE JESUS CARRASQUILLO, RAFAEL     ADDRESS ON FILE
DE JESUS CARRERAS, JUAN           ADDRESS ON FILE
DE JESUS CARRERO, ANTONIA         ADDRESS ON FILE
De Jesus Carrero, Martin          ADDRESS ON FILE
DE JESUS CARRILLO, EVELYN         ADDRESS ON FILE
DE JESUS CARRILLO, JOHNNY         ADDRESS ON FILE
DE JESUS CARRILLO, JUANA          ADDRESS ON FILE
DE JESUS CARRILLO, MARA B         ADDRESS ON FILE
DE JESUS CARRILLO, MARIA V        ADDRESS ON FILE
DE JESUS CARRILLO, MARIBEL        ADDRESS ON FILE
DE JESUS CARRILLO, VICTOR         ADDRESS ON FILE
DE JESUS CARRION, JAVIER          ADDRESS ON FILE
DE JESUS CARRION, JOSE            ADDRESS ON FILE
De Jesus Carrion, Jose A          ADDRESS ON FILE
DE JESUS CARRION, LEYINSKA        ADDRESS ON FILE
DE JESUS CARRION, LIZA            ADDRESS ON FILE
DE JESUS CARRION, LUIS            ADDRESS ON FILE
De Jesus Carrion, Ramon           ADDRESS ON FILE
De Jesus Cartagena, Christian     ADDRESS ON FILE
DE JESUS CARTAGENA, LILLIAM L.    ADDRESS ON FILE
DE JESUS CARTAGENA, RICARDO       ADDRESS ON FILE
DE JESUS CARTAGENA, VICTOR R.     ADDRESS ON FILE
DE JESUS CARTAGENA, YASMIN        ADDRESS ON FILE
DE JESUS CASIANO, WILLIAM         ADDRESS ON FILE
DE JESUS CASILLAS, ADA            ADDRESS ON FILE
DE JESUS CASILLAS, JAVIER         ADDRESS ON FILE
DE JESUS CASILLAS, JAVIER O       ADDRESS ON FILE
DE JESUS CASILLAS, LISSETTE       ADDRESS ON FILE
De Jesus Casillas, Marcos A.      ADDRESS ON FILE




                                                                              Page 2121 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2122 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS CASILLAS, NORMA I.    ADDRESS ON FILE
DE JESUS CASTILLERO, JOSE      ADDRESS ON FILE
DE JESUS CASTILLERO, JOSE A.   ADDRESS ON FILE
De Jesus Castillo, Americo     ADDRESS ON FILE
De Jesus Castillo, Ivan        ADDRESS ON FILE
DE JESUS CASTILLO, IVAN        ADDRESS ON FILE
DE JESUS CASTRO, CARWIN        ADDRESS ON FILE
De Jesus Castro, Dalila        ADDRESS ON FILE
DE JESUS CASTRO, ESTHER        ADDRESS ON FILE
DE JESUS CASTRO, ESTHER I.     ADDRESS ON FILE
DE JESUS CASTRO, FRANCIS L     ADDRESS ON FILE
DE JESUS CASTRO, IVELISSE      ADDRESS ON FILE
DE JESUS CASTRO, JULIO T       ADDRESS ON FILE
DE JESUS CASTRO, NICOLAS       ADDRESS ON FILE
DE JESUS CASTRO, RAFAEL        ADDRESS ON FILE
De Jesus Centeno, Ernesto      ADDRESS ON FILE
DE JESUS CENTENO, NOEMI        ADDRESS ON FILE
DE JESUS CHARLEMAN, HECTOR     ADDRESS ON FILE
DE JESUS CHARLEMAN, MANUEL     ADDRESS ON FILE
DE JESUS CHEVERE, JOANNA       ADDRESS ON FILE
DE JESUS CHOMPRE, NESTOR A     ADDRESS ON FILE
DE JESUS CINTRON, AMARILIS     ADDRESS ON FILE
DE JESUS CINTRON, DAVID        ADDRESS ON FILE
DE JESUS CINTRON, EILEEN       ADDRESS ON FILE
DE JESUS CINTRON, JOSE         ADDRESS ON FILE
DE JESUS CINTRON, JOSE M.      ADDRESS ON FILE
DE JESUS CINTRON, JUAN J       ADDRESS ON FILE
DE JESUS CINTRON, LUZ D        ADDRESS ON FILE
DE JESUS CINTRON, MERALY       ADDRESS ON FILE
DE JESUS CINTRON, RAFAEL       ADDRESS ON FILE
DE JESUS CINTRON, YANITZA      ADDRESS ON FILE
De Jesus Claudio, Agapito      ADDRESS ON FILE
DE JESUS CLAUDIO, JOSE         ADDRESS ON FILE
DE JESUS CLAUDIO, JOSE         ADDRESS ON FILE
DE JESUS CLAUDIO, JOSEAN       ADDRESS ON FILE
DE JESUS CLAUDIO, JOSEAN       ADDRESS ON FILE
DE JESUS CLAUDIO, JUAN         ADDRESS ON FILE
DE JESUS CLAUDIO, KATHY        ADDRESS ON FILE
DE JESUS CLAUDIO, KATHY        ADDRESS ON FILE
DE JESUS CLAUDIO, MARTA        ADDRESS ON FILE
DE JESUS CLAUDIO, NORMA I.     ADDRESS ON FILE
DE JESUS CLAUDIO, ORLANDO      ADDRESS ON FILE
DE JESUS CLAUDIO, OSCAR        ADDRESS ON FILE
DE JESUS CLAUDIO, REINALDO     ADDRESS ON FILE
DE JESUS CLAUDIO, SARA         ADDRESS ON FILE
DE JESUS CLAUDIO, WILMARIS     ADDRESS ON FILE
DE JESUS CLEMENTE, MILLY J     ADDRESS ON FILE
DE JESUS CLEMENTE, PAOLI       ADDRESS ON FILE
DE JESUS COFRESI, KEISHLA      ADDRESS ON FILE
DE JESUS COLE, PAVEL           ADDRESS ON FILE
DE JESUS COLLAZO, ANGELA L.    ADDRESS ON FILE
DE JESUS COLLAZO, GRACE        ADDRESS ON FILE
DE JESUS COLLAZO, HILDA        ADDRESS ON FILE
DE JESUS COLLAZO, JEAN         ADDRESS ON FILE
DE JESUS COLLAZO, LOARINA      ADDRESS ON FILE
DE JESUS COLLAZO, MERCEDES     ADDRESS ON FILE
DE JESUS COLLAZO, MIGUEL       ADDRESS ON FILE
DE JESUS COLOM, ERROL          ADDRESS ON FILE
DE JESUS COLOM, ERROL          ADDRESS ON FILE
DE JESUS COLOM, LILIA MARIA    ADDRESS ON FILE




                                                                           Page 2122 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2123 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                        Address1                            Address2                  Address3        Address4     City         State   PostalCode   Country
DE JESUS COLON, AMARILIS             ADDRESS ON FILE
DE JESUS COLON, AMOR                 ADDRESS ON FILE
DE JESUS COLON, ANGEL L.             ADDRESS ON FILE
DE JESUS COLON, AWILDA               ADDRESS ON FILE
DE JESUS COLON, BERNIE               ADDRESS ON FILE
DE JESUS COLON, BETSY V.             ADDRESS ON FILE
DE JESUS COLON, CARISSA M            ADDRESS ON FILE
DE JESUS COLON, CARLOS               ADDRESS ON FILE
DE JESUS COLON, CARMEN A             ADDRESS ON FILE
De Jesus Colon, Domingo              ADDRESS ON FILE
DE JESUS COLON, EDWIN                ADDRESS ON FILE
DE JESUS COLON, ELIDES               ADDRESS ON FILE
DE JESUS COLON, EUDES                ADDRESS ON FILE
DE JESUS COLON, EVELYN               ADDRESS ON FILE
De Jesus Colon, Frankie              ADDRESS ON FILE
DE JESUS COLON, ILEANA               ADDRESS ON FILE
DE JESUS COLON, ISABEL               ADDRESS ON FILE
DE JESUS COLON, JAVIER               ADDRESS ON FILE
DE JESUS COLON, JESSICA              ADDRESS ON FILE
DE JESUS COLON, JIMMY                ADDRESS ON FILE
DE JESUS COLON, JOANA                ADDRESS ON FILE
DE JESUS COLON, JOEL                 ADDRESS ON FILE
De Jesus Colon, Jorge                ADDRESS ON FILE
DE JESUS COLON, JORGE L.             ADDRESS ON FILE
DE JESUS COLON, JOSE                 ADDRESS ON FILE
De Jesus Colon, Jose A               ADDRESS ON FILE
DE JESUS COLON, JOSE A               ADDRESS ON FILE
DE JESUS COLON, JOSELITO             ADDRESS ON FILE
DE JESUS COLON, JULIO                ADDRESS ON FILE
DE JESUS COLON, LUSSELENIA           ADDRESS ON FILE
DE JESUS COLON, LUZ A                ADDRESS ON FILE
DE JESUS COLON, LYDIA                ADDRESS ON FILE
DE JESUS COLON, MAGALI               ADDRESS ON FILE
DE JESUS COLON, MARGARITA            ADDRESS ON FILE
DE JESÚS COLÓN, MARGARITA, ET ALS.   LCDO. ALBERTO ARESTI FRANSESCHINI   250 AVE.                  Ponce DE LEÓN   SUITE 1000   SAN JUAN     PR      00918
DE JESUS COLON, MARTA L.             ADDRESS ON FILE
DE JESUS COLON, MATILDE              ADDRESS ON FILE
DE JESUS COLON, MIGDALIA             ADDRESS ON FILE
DE JESUS COLON, MIGUEL A             ADDRESS ON FILE
DE JESUS COLON, MILAGROS             ADDRESS ON FILE
DE JESUS COLON, MIOSOTIS             ADDRESS ON FILE
DE JESUS COLON, ODALYS               ADDRESS ON FILE
DE JESUS COLON, OWEN                 ADDRESS ON FILE
DE JESUS COLON, PEDRO                ADDRESS ON FILE
DE JESUS COLON, PEDRO                ADDRESS ON FILE
DE JESUS COLON, RAFAEL               ADDRESS ON FILE
DE JESUS COLON, REYNIER              ADDRESS ON FILE
DE JESUS COLON, ROBERTO J            ADDRESS ON FILE
De Jesus Colon, Ruben                ADDRESS ON FILE
DE JESUS COLON, SANDRA               ADDRESS ON FILE
De Jesus Colon, Santos L             ADDRESS ON FILE
DE JESUS COLON, SONIA                ADDRESS ON FILE
DE JESUS COLON, VIANCA S             ADDRESS ON FILE
DE JESUS COLON, VICTOR               ADDRESS ON FILE
DE JESUS COLON, WILMA                ADDRESS ON FILE
DE JESUS COLON, WILSON               ADDRESS ON FILE
DE JESUS COLON, YAISMARY             ADDRESS ON FILE
De Jesus Colon, Yolanda              ADDRESS ON FILE
DE JESUS CONCEPCION, ISAIAS          ADDRESS ON FILE
DE JESUS CONCEPCION, JORGE           ADDRESS ON FILE




                                                                                    Page 2123 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2124 of 3500
                                                                                17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                    Address1                          Address2                  Address3   Address4   City         State   PostalCode   Country
DE JESUS CONCEPCION, MANUEL      ADDRESS ON FILE
DE JESUS CONCEPCION, MARIA Y     ADDRESS ON FILE
De Jesus Conde, Elias            ADDRESS ON FILE
DE JESUS CONDE, MILDRED          ADDRESS ON FILE
DE JESUS CONSULTANT GROUP, INC   9415 AVE. LOS ROMEROS PMB 509                                                     SAN JUAN     PR      00926
DE JESUS CONSULTANTS GROUP       LOS CAMPOS DE MONTEHIEDRA # 703                                                   SAN JUAN     PR      00926‐0000
DE JESUS CONTRERAS, MOISES M     ADDRESS ON FILE
DE JESUS COPENHAVER, ANITA       ADDRESS ON FILE
DE JESUS CORA, AMNERIS J         ADDRESS ON FILE
DE JESUS CORA, ANTONIA           ADDRESS ON FILE
DE JESUS CORA, ANTONIA           ADDRESS ON FILE
DE JESUS CORA, AXEL              ADDRESS ON FILE
DE JESUS CORA, JOSE L            ADDRESS ON FILE
DE JESUS CORA, SAMIA             ADDRESS ON FILE
DE JESUS CORA, ZOE A.            ADDRESS ON FILE
DE JESUS CORCHADO, YAZMIN        ADDRESS ON FILE
DE JESUS CORDERO, ANGEL          ADDRESS ON FILE
DE JESUS CORDERO, ANGEL L        ADDRESS ON FILE
DE JESUS CORDERO, IRIS M.        ADDRESS ON FILE
DE JESUS CORRADA, IVETTE         ADDRESS ON FILE
DE JESUS CORREA, ALFREDO         ADDRESS ON FILE
DE JESUS CORREA, CARLOS          ADDRESS ON FILE
DE JESUS CORREA, EDGARDO L.      ADDRESS ON FILE
De Jesus Correa, Esmerlin        ADDRESS ON FILE
DE JESUS CORREA, FELIX M.        ADDRESS ON FILE
DE JESUS CORREA, GLORIA E        ADDRESS ON FILE
DE JESUS CORREA, HECTOR E        ADDRESS ON FILE
DE JESUS CORREA, IDA H           ADDRESS ON FILE
DE JESUS CORREA, LAURA I         ADDRESS ON FILE
DE JESUS CORREA, MIGUEL          ADDRESS ON FILE
DE JESUS CORREA, MIGUEL A.       ADDRESS ON FILE
DE JESUS CORREA, NIVEA           ADDRESS ON FILE
De Jesus Correa, Ramiro          ADDRESS ON FILE
DE JESUS CORSINO, ISABEL         ADDRESS ON FILE
DE JESUS COSME, JAILENE          ADDRESS ON FILE
DE JESUS COTTO, CARMEN G         ADDRESS ON FILE
DE JESUS COTTO, DORIS E          ADDRESS ON FILE
DE JESUS COTTO, ERICA            ADDRESS ON FILE
DE JESUS COTTO, LUZ H            ADDRESS ON FILE
DE JESUS CREITOFF, PEDRO J       ADDRESS ON FILE
DE JESUS CRESPO, ANGEL           ADDRESS ON FILE
De Jesus Crespo, Brenda Liz      ADDRESS ON FILE
DE JESUS CRESPO, CANDIDO         ADDRESS ON FILE
DE JESUS CRESPO, CARMEN          ADDRESS ON FILE
DE JESUS CRESPO, REBECA G.       ADDRESS ON FILE
DE JESUS CRESPO, TONY            ADDRESS ON FILE
DE JESUS CRESPO, WALESKA         ADDRESS ON FILE
DE JESUS CRISTOBAL, CARMEN M     ADDRESS ON FILE
DE JESUS CRISTOBAL, LUIS         ADDRESS ON FILE
DE JESUS CRUZ, ANA               ADDRESS ON FILE
DE JESUS CRUZ, ARACELIS          ADDRESS ON FILE
DE JESUS CRUZ, ARLIN             ADDRESS ON FILE
DE JESUS CRUZ, CRUCITA           ADDRESS ON FILE
De Jesus Cruz, Dionisio          ADDRESS ON FILE
DE JESUS CRUZ, ELIZABETH         ADDRESS ON FILE
DE JESUS CRUZ, ELSIE             ADDRESS ON FILE
DE JESUS CRUZ, ESTEBAN           ADDRESS ON FILE
DE JESUS CRUZ, ESTHER            ADDRESS ON FILE
DE JESUS CRUZ, FRANCES           ADDRESS ON FILE
DE JESUS CRUZ, FRANCISCO         ADDRESS ON FILE




                                                                              Page 2124 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2125 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS CRUZ, FRANCISCO J    ADDRESS ON FILE
DE JESUS CRUZ, FRANSHESKA X   ADDRESS ON FILE
De Jesus Cruz, Generoso       ADDRESS ON FILE
DE JESUS CRUZ, GLADYS         ADDRESS ON FILE
DE JESUS CRUZ, GLORIA         ADDRESS ON FILE
DE JESUS CRUZ, HECTOR         ADDRESS ON FILE
DE JESUS CRUZ, IRIS N.        ADDRESS ON FILE
DE JESUS CRUZ, JOHANA         ADDRESS ON FILE
DE JESUS CRUZ, JOSE           ADDRESS ON FILE
De Jesus Cruz, Juan           ADDRESS ON FILE
DE JESUS CRUZ, LIZA M.        ADDRESS ON FILE
DE JESUS CRUZ, LUIS A.        ADDRESS ON FILE
DE JESUS CRUZ, LUZ J          ADDRESS ON FILE
DE JESUS CRUZ, LYDIA          ADDRESS ON FILE
DE JESUS CRUZ, MARIA A.       ADDRESS ON FILE
DE JESUS CRUZ, MARIANA        ADDRESS ON FILE
DE JESUS CRUZ, MARILYN        ADDRESS ON FILE
DE JESUS CRUZ, MARTA L        ADDRESS ON FILE
DE JESUS CRUZ, MIDALY         ADDRESS ON FILE
DE JESUS CRUZ, ORLANDO        ADDRESS ON FILE
DE JESUS CRUZ, RAMON L        ADDRESS ON FILE
DE JESUS CRUZ, SANDRA         ADDRESS ON FILE
DE JESUS CRUZ, VANNESA        ADDRESS ON FILE
DE JESUS CRUZ, VICTOR M       ADDRESS ON FILE
DE JESUS CRUZ, WANDA LEE      ADDRESS ON FILE
DE JESUS CRUZ, WILMA          ADDRESS ON FILE
DE JESUS CRUZ, YAILETTE       ADDRESS ON FILE
DE JESUS CUBA, CARLOS         ADDRESS ON FILE
DE JESUS CUBA, EDGAR          ADDRESS ON FILE
DE JESUS CUBA, HIRAM          ADDRESS ON FILE
DE JESUS CUBANO, VICTOR       ADDRESS ON FILE
DE JESUS CUBANO, VICTOR D.    ADDRESS ON FILE
DE JESUS CUEVAS, KATIUSKA     ADDRESS ON FILE
DE JESUS CUEVAS,AIDA E        ADDRESS ON FILE
DE JESUS DATIZ, JOANE M       ADDRESS ON FILE
DE JESUS DAVID, ALVIN         ADDRESS ON FILE
DE JESUS DAVID, ALVIN         ADDRESS ON FILE
De Jesus David, Alvin A       ADDRESS ON FILE
DE JESUS DAVID, MARGARITA     ADDRESS ON FILE
DE JESUS DAVID, MARGARITA     ADDRESS ON FILE
DE JESUS DAVID, WANDA         ADDRESS ON FILE
DE JESUS DAVILA, AIXA S       ADDRESS ON FILE
DE JESUS DAVILA, JOSE         ADDRESS ON FILE
DE JESUS DAVILA, MARIELA      ADDRESS ON FILE
DE JESUS DAVILA, PAULINA      ADDRESS ON FILE
DE JESUS DAVILA, RAUL         ADDRESS ON FILE
De Jesus Davila, Tomas        ADDRESS ON FILE
DE JESUS DAVILA, WANDA        ADDRESS ON FILE
DE JESUS DE ARMAS, EDDIE      ADDRESS ON FILE
DE JESUS DE JESUS, ALEX       ADDRESS ON FILE
DE JESUS DE JESUS, ANA M      ADDRESS ON FILE
De Jesus De Jesus, Angel L.   ADDRESS ON FILE
DE JESUS DE JESUS, BRUNILDA   ADDRESS ON FILE
DE JESUS DE JESUS, CARLOS     ADDRESS ON FILE
DE JESUS DE JESUS, CARMEN     ADDRESS ON FILE
DE JESUS DE JESUS, CARMEN     ADDRESS ON FILE
DE JESUS DE JESUS, CARMEN B   ADDRESS ON FILE
DE JESUS DE JESUS, CARMEN L   ADDRESS ON FILE
DE JESUS DE JESUS, DAMARIS    ADDRESS ON FILE
De Jesus De Jesus, Danny      ADDRESS ON FILE




                                                                          Page 2125 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2126 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS DE JESUS, DANNY          ADDRESS ON FILE
DE JESUS DE JESUS, EDILBERTO      ADDRESS ON FILE
DE JESUS DE JESUS, EDITH          ADDRESS ON FILE
DE JESUS DE JESUS, EDLYN          ADDRESS ON FILE
DE JESUS DE JESUS, EMANUEL        ADDRESS ON FILE
DE JESUS DE JESUS, EUGENIO        ADDRESS ON FILE
De Jesus De Jesus, Fermin         ADDRESS ON FILE
DE JESUS DE JESUS, FRANCISCA      ADDRESS ON FILE
DE JESUS DE JESUS, GLADYS         ADDRESS ON FILE
DE JESUS DE JESUS, GLORIA I       ADDRESS ON FILE
DE JESUS DE JESUS, GREGORI        ADDRESS ON FILE
DE JESUS DE JESUS, INGRID         ADDRESS ON FILE
DE JESUS DE JESUS, ISABEL         ADDRESS ON FILE
DE JESUS DE JESUS, ISABEL         ADDRESS ON FILE
DE JESUS DE JESUS, IVELISSE       ADDRESS ON FILE
DE JESUS DE JESUS, JACINTA        ADDRESS ON FILE
De Jesus De Jesus, Jacqueline     ADDRESS ON FILE
DE JESUS DE JESUS, JASSAIRA E     ADDRESS ON FILE
DE JESUS DE JESUS, JESUS          ADDRESS ON FILE
DE JESUS DE JESUS, JOEL E         ADDRESS ON FILE
DE JESUS DE JESUS, JORGE          ADDRESS ON FILE
DE JESUS DE JESUS, JOSE           ADDRESS ON FILE
DE JESUS DE JESUS, JOSE           ADDRESS ON FILE
DE JESUS DE JESUS, JOSE           ADDRESS ON FILE
De Jesus De Jesus, Jose A         ADDRESS ON FILE
DE JESUS DE JESUS, LILLIAM        ADDRESS ON FILE
DE JESUS DE JESUS, LUCIANO        ADDRESS ON FILE
DE JESUS DE JESUS, LUZ N          ADDRESS ON FILE
DE JESUS DE JESUS, LYDIA          ADDRESS ON FILE
DE JESUS DE JESUS, MARIA DEL C    ADDRESS ON FILE
DE JESUS DE JESUS, MARIANA        ADDRESS ON FILE
DE JESUS DE JESUS, MARIBEL        ADDRESS ON FILE
DE JESUS DE JESUS, MARILYN        ADDRESS ON FILE
DE JESUS DE JESUS, MARIO          ADDRESS ON FILE
DE JESUS DE JESUS, MIGDALIA       ADDRESS ON FILE
DE JESUS DE JESUS, MILITZA        ADDRESS ON FILE
DE JESUS DE JESUS, NANCY          ADDRESS ON FILE
DE JESUS DE JESUS, NINOSHTKA      ADDRESS ON FILE
DE JESUS DE JESUS, NOEMI          ADDRESS ON FILE
DE JESUS DE JESUS, PEDRO          ADDRESS ON FILE
DE JESUS DE JESUS, PRIMITIVA      ADDRESS ON FILE
DE JESUS DE JESUS, RAQUEL         ADDRESS ON FILE
DE JESUS DE JESUS, REINALDO       ADDRESS ON FILE
DE JESUS DE JESUS, RUBEN          ADDRESS ON FILE
DE JESUS DE JESUS, SANDRA         ADDRESS ON FILE
DE JESUS DE JESUS, SAUL           ADDRESS ON FILE
DE JESUS DE JESUS, STEPHANIE      ADDRESS ON FILE
De Jesus De Jesus, Victor L       ADDRESS ON FILE
DE JESUS DE JESUS, VICTORIA       ADDRESS ON FILE
De Jesus De Jesus, William        ADDRESS ON FILE
DE JESUS DE JESUS, WILMA C        ADDRESS ON FILE
DE JESUS DE JESUS, YARITZA        ADDRESS ON FILE
De Jesus De Jesus, Yaritza Mari   ADDRESS ON FILE
DE JESUS DE JESUS, YVETTE         ADDRESS ON FILE
DE JESUS DE LA CRUZ, HENRY        ADDRESS ON FILE
DE JESUS DE LEON, IRIS N          ADDRESS ON FILE
DE JESUS DE RIVERA, VIRGEMINA     ADDRESS ON FILE
DE JESUS DE TORRES, RAFAELA       ADDRESS ON FILE
DE JESUS DEL VALLE, JORGE R       ADDRESS ON FILE
DE JESUS DEL VALLE, RAFAEL        ADDRESS ON FILE




                                                                              Page 2126 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2127 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS DEL VALLE, RAQUEL         ADDRESS ON FILE
De Jesus Del Valle, Yesenia L.     ADDRESS ON FILE
DE JESUS DELEON, FUNDADOR          ADDRESS ON FILE
DE JESUS DELGADO, ALICIA           ADDRESS ON FILE
DE JESUS DELGADO, AMADA            ADDRESS ON FILE
DE JESUS DELGADO, ANNA M.          ADDRESS ON FILE
DE JESUS DELGADO, CARLOS J         ADDRESS ON FILE
DE JESUS DELGADO, DOMINIQUE        ADDRESS ON FILE
DE JESUS DELGADO, DOMINIQUE        ADDRESS ON FILE
De Jesus Delgado, Francisco        ADDRESS ON FILE
DE JESUS DELGADO, GLYADIS          ADDRESS ON FILE
DE JESUS DELGADO, INES             ADDRESS ON FILE
DE JESUS DELGADO, INES             ADDRESS ON FILE
DE JESUS DELGADO, INES             ADDRESS ON FILE
DE JESUS DELGADO, JULIO            ADDRESS ON FILE
DE JESUS DELGADO, MARIA DE JESUS   ADDRESS ON FILE
DE JESUS DELGADO, MIGDALIA         ADDRESS ON FILE
DE JESUS DELGADO, SAMUEL           ADDRESS ON FILE
DE JESUS DELGAGDO, ERIC            ADDRESS ON FILE
DE JESUS DENIS, DIANA              ADDRESS ON FILE
DE JESUS DENIS, IVAN               ADDRESS ON FILE
DE JESUS DENIS, JUAN R.            ADDRESS ON FILE
DE JESUS DIAZ, ANNETTE             ADDRESS ON FILE
DE JESUS DIAZ, BENITA              ADDRESS ON FILE
De Jesus Diaz, Benjamin            ADDRESS ON FILE
De Jesus Diaz, Carlos              ADDRESS ON FILE
DE JESUS DIAZ, CARMEN R            ADDRESS ON FILE
DE JESUS DIAZ, ISAAC               ADDRESS ON FILE
DE JESUS DIAZ, JAVIER              ADDRESS ON FILE
DE JESUS DIAZ, JOAN M              ADDRESS ON FILE
DE JESUS DIAZ, JORGE               ADDRESS ON FILE
DE JESUS DIAZ, JOSE                ADDRESS ON FILE
De Jesus Diaz, Josue M             ADDRESS ON FILE
DE JESUS DIAZ, JUAN                ADDRESS ON FILE
De Jesus Diaz, Juan M              ADDRESS ON FILE
DE JESUS DIAZ, LILLIVETTE          ADDRESS ON FILE
DE JESUS DIAZ, LUIS                ADDRESS ON FILE
DE JESUS DIAZ, MARANGELY           ADDRESS ON FILE
DE JESUS DIAZ, MARGARITA           ADDRESS ON FILE
DE JESUS DIAZ, MARIE               ADDRESS ON FILE
DE JESUS DIAZ, MIGDARELIS          ADDRESS ON FILE
DE JESUS DIAZ, MIGUEL              ADDRESS ON FILE
DE JESUS DIAZ, MIRIAM              ADDRESS ON FILE
DE JESUS DIAZ, NORMA I             ADDRESS ON FILE
DE JESUS DIAZ, OLGA I              ADDRESS ON FILE
DE JESUS DIAZ, PASCUAL             ADDRESS ON FILE
DE JESUS DIAZ, ROSEMARY            ADDRESS ON FILE
De Jesus Diaz, Ruben               ADDRESS ON FILE
DE JESUS DIAZ, RUTH                ADDRESS ON FILE
DE JESUS DIAZ, SAMUEL              ADDRESS ON FILE
DE JESUS DIEPPA, LUIS A            ADDRESS ON FILE
DE JESUS DIEPPA, PENNYLANE         ADDRESS ON FILE
DE JESUS DOMENECH, GRISELLE        ADDRESS ON FILE
DE JESUS DOMINGUEZ, GENIE          ADDRESS ON FILE
DE JESUS DONES, ALEXIS G.          ADDRESS ON FILE
DE JESUS DONES, ROSALYN            ADDRESS ON FILE
DE JESUS DUPEROY, CARLOS           ADDRESS ON FILE
De Jesus Echevarria, David         ADDRESS ON FILE
DE JESUS ECHEVARRIA, LUZ D         ADDRESS ON FILE
DE JESUS ECHEVARRIA, ROSA L        ADDRESS ON FILE




                                                                               Page 2127 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2128 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ELLSWORTH, CHARLES       ADDRESS ON FILE
DE JESUS EMANUELLI, LOURDENIS     ADDRESS ON FILE
DE JESUS EMANUELLI, LOURDENIS     ADDRESS ON FILE
DE JESUS ENCARNACION, AMY         ADDRESS ON FILE
DE JESUS ENCARNACION, NEYDA R     ADDRESS ON FILE
DE JESUS ESCALANTE, DANIEL        ADDRESS ON FILE
DE JESUS ESCALERA, CARLOS         ADDRESS ON FILE
De Jesus Escalera, Carlos J       ADDRESS ON FILE
DE JESUS ESCALERA, CLARA          ADDRESS ON FILE
DE JESUS ESCALERA, JOSE F         ADDRESS ON FILE
DE JESUS ESCALERA, MARIA C.       ADDRESS ON FILE
DE JESUS ESCALERA, MARIA DE       ADDRESS ON FILE
DE JESUS ESCOBAR, VIRGILIO        ADDRESS ON FILE
DE JESUS ESMURRIA, MIRNA I        ADDRESS ON FILE
DE JESUS ESMURRIA, MIRNA I        ADDRESS ON FILE
DE JESUS ESPADA, CARMEN I         ADDRESS ON FILE
DE JESUS ESPADA, DAISY            ADDRESS ON FILE
DE JESUS ESPADA, HERMOGENES       ADDRESS ON FILE
DE JESUS ESPAROLINI, CARMEN       ADDRESS ON FILE
DE JESUS ESPERANZA, HERMINIA      ADDRESS ON FILE
DE JESUS ESPINAL, FRANCISCO       ADDRESS ON FILE
DE JESUS ESPINO, TANIA            ADDRESS ON FILE
De Jesus Espinosa, Diego A        ADDRESS ON FILE
DE JESUS ESPINOSA, VILMA          ADDRESS ON FILE
DE JESUS ESQUILIN, MARIA DEL C.   ADDRESS ON FILE
De Jesus Estrada, Jorge           ADDRESS ON FILE
DE JESUS ESTREMERA, ALBERTO       ADDRESS ON FILE
DE JESUS ESTREMERA, ANDERSON      ADDRESS ON FILE
DE JESUS ESTREMERA, EVELYN        ADDRESS ON FILE
DE JESUS ESTREMERA, GUSTAVO       ADDRESS ON FILE
DE JESUS ESTREMERA, SAMUEL        ADDRESS ON FILE
DE JESUS FAGUNDO, MARIA DE LOS    ADDRESS ON FILE
DE JESUS FALCON, VIVIAN           ADDRESS ON FILE
DE JESUS FEBLES, JOSE             ADDRESS ON FILE
DE JESUS FELICIANO, HERMIN A      ADDRESS ON FILE
DE JESUS FELICIANO, JOSE E        ADDRESS ON FILE
DE JESUS FELICIANO, LETICIA       ADDRESS ON FILE
DE JESUS FELICIANO, MARIA         ADDRESS ON FILE
DE JESUS FELICIANO, RENE          ADDRESS ON FILE
DE JESUS FELICIANO, SANDRA        ADDRESS ON FILE
De Jesus Feliciano, Serafin       ADDRESS ON FILE
DE JESUS FELICIANO, SERAFIN       ADDRESS ON FILE
DE JESUS FELICIANO, SOCRAYDA E    ADDRESS ON FILE
DE JESUS FELICIANO, VALERIA       ADDRESS ON FILE
DE JESUS FELICIANO, VALERIA       ADDRESS ON FILE
DE JESUS FELICIANO, YADIRA        ADDRESS ON FILE
DE JESUS FELICIANO, YADIRA        ADDRESS ON FILE
DE JESUS FELICIANO,YADIRA         ADDRESS ON FILE
DE JESUS FELICIER, JOSEFINA       ADDRESS ON FILE
DE JESUS FELIX, JUAN R            ADDRESS ON FILE
De Jesus Felix, Nereida           ADDRESS ON FILE
DE JESUS FELIX, SIXTO             ADDRESS ON FILE
De Jesus Felix, Victor M          ADDRESS ON FILE
DE JESUS FERNANDEZ, ANGEL L       ADDRESS ON FILE
DE JESUS FERNANDEZ, JONAT         ADDRESS ON FILE
DE JESUS FERNANDEZ, LUIS          ADDRESS ON FILE
DE JESUS FERNANDEZ, MADELINE      ADDRESS ON FILE
DE JESUS FERNANDEZ, MILKA         ADDRESS ON FILE
DE JESUS FERNANDEZ, STEPHANIE     ADDRESS ON FILE
DE JESUS FIGUEROA, ANA            ADDRESS ON FILE




                                                                              Page 2128 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2129 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS FIGUEROA, ANA         ADDRESS ON FILE
DE JESUS FIGUEROA, ARACELIS    ADDRESS ON FILE
DE JESUS FIGUEROA, CANDIDA     ADDRESS ON FILE
DE JESUS FIGUEROA, CARMEN      ADDRESS ON FILE
DE JESUS FIGUEROA, CHRISTIAN   ADDRESS ON FILE
DE JESUS FIGUEROA, CRUZ        ADDRESS ON FILE
DE JESUS FIGUEROA, CRUZ        ADDRESS ON FILE
DE JESUS FIGUEROA, DAMARIS     ADDRESS ON FILE
DE JESUS FIGUEROA, EDWIN       ADDRESS ON FILE
DE JESUS FIGUEROA, ENITH       ADDRESS ON FILE
DE JESUS FIGUEROA, ENITH       ADDRESS ON FILE
DE JESUS FIGUEROA, GRACE       ADDRESS ON FILE
DE JESUS FIGUEROA, GRACE       ADDRESS ON FILE
DE JESUS FIGUEROA, IBIS        ADDRESS ON FILE
DE JESUS FIGUEROA, JOAN        ADDRESS ON FILE
DE JESUS FIGUEROA, JUAN        ADDRESS ON FILE
DE JESUS FIGUEROA, JUAN        ADDRESS ON FILE
DE JESUS FIGUEROA, LUIS A      ADDRESS ON FILE
DE JESUS FIGUEROA, LUZ N       ADDRESS ON FILE
DE JESUS FIGUEROA, MARIA       ADDRESS ON FILE
DE JESUS FIGUEROA, MARIA A     ADDRESS ON FILE
DE JESUS FIGUEROA, MARIA E     ADDRESS ON FILE
DE JESUS FIGUEROA, MARIA M     ADDRESS ON FILE
DE JESUS FIGUEROA, MARIA M     ADDRESS ON FILE
DE JESUS FIGUEROA, MARILYN     ADDRESS ON FILE
DE JESUS FIGUEROA, MARILYN     ADDRESS ON FILE
DE JESUS FIGUEROA, MIGDALIA    ADDRESS ON FILE
DE JESUS FIGUEROA, MILAGROS    ADDRESS ON FILE
De Jesus Figueroa, Rafael      ADDRESS ON FILE
DE JESUS FIGUEROA, RAUL        ADDRESS ON FILE
DE JESUS FIGUEROA, RUTH M      ADDRESS ON FILE
DE JESUS FIGUEROA, YARELLIS    ADDRESS ON FILE
DE JESUS FIOL, DESIREE         ADDRESS ON FILE
DE JESUS FLORES, BRENDA        ADDRESS ON FILE
DE JESUS FLORES, CARMEN        ADDRESS ON FILE
DE JESUS FLORES, CARMEN L      ADDRESS ON FILE
DE JESUS FLORES, GRACIELA      ADDRESS ON FILE
DE JESUS FLORES, INES          ADDRESS ON FILE
DE JESUS FLORES, IRMA N        ADDRESS ON FILE
De Jesus Flores, Jose          ADDRESS ON FILE
DE JESUS FLORES, JUAN A        ADDRESS ON FILE
DE JESUS FLORES, MAGDA N       ADDRESS ON FILE
DE JESUS FLORES, MANUEL        ADDRESS ON FILE
DE JESUS FLORES, MAYRA         ADDRESS ON FILE
DE JESUS FLORES, MELVIN        ADDRESS ON FILE
DE JESUS FLORES, MIGDALIA      ADDRESS ON FILE
DE JESUS FLORES, ONEIDA        ADDRESS ON FILE
DE JESUS FLORES, RAFAEL        ADDRESS ON FILE
De Jesus Flores, Ramon         ADDRESS ON FILE
DE JESUS FLORES, SUHAIL        ADDRESS ON FILE
DE JESUS FLORES, VIRGILIA      ADDRESS ON FILE
DE JESUS FONSECA, CARMEN       ADDRESS ON FILE
DE JESUS FONSECA, CARMEN J     ADDRESS ON FILE
De Jesus Fonseca, Edgardo      ADDRESS ON FILE
DE JESUS FONSECA, LUIS         ADDRESS ON FILE
DE JESUS FONSECA, LUIS         ADDRESS ON FILE
DE JESUS FONTANEZ, JESSICA     ADDRESS ON FILE
DE JESUS FONTANEZ, MARILUZ     ADDRESS ON FILE
DE JESUS FOURQUET, ERNESTO     ADDRESS ON FILE
De Jesus Franqui, Carlos M     ADDRESS ON FILE




                                                                           Page 2129 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2130 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS FRANQUI, ROSAURA       ADDRESS ON FILE
DE JESUS FRANQUI, SAMUEL        ADDRESS ON FILE
DE JESUS FRED, JAIME            ADDRESS ON FILE
DE JESUS FRESSE, AYNARA         ADDRESS ON FILE
DE JESUS FUENTES, ANTONIO       ADDRESS ON FILE
De Jesus Fuentes, Dalmarys      ADDRESS ON FILE
DE JESUS FUENTES, JANICE M      ADDRESS ON FILE
DE JESUS FUENTES, JOSE          ADDRESS ON FILE
DE JESUS FUENTES, JOSE A.       ADDRESS ON FILE
DE JESUS FUENTES, JOSE E.       ADDRESS ON FILE
DE JESUS FUENTES, JUANA         ADDRESS ON FILE
DE JESUS FUENTES, KARLA B       ADDRESS ON FILE
DE JESUS FUENTES, LUIS          ADDRESS ON FILE
DE JESUS FUENTES, LYMARI        ADDRESS ON FILE
DE JESUS FUENTES, RAYDA W.      ADDRESS ON FILE
DE JESUS FUENTES, RAYDA W.      ADDRESS ON FILE
DE JESUS FUENTES, SONIA E       ADDRESS ON FILE
DE JESUS FUENTES, YAHAIRA       ADDRESS ON FILE
DE JESUS FUERTES, ALEXANDER     ADDRESS ON FILE
DE JESUS GALARZA, FRANCISCO     ADDRESS ON FILE
DE JESUS GALARZA, JORGE         ADDRESS ON FILE
DE JESUS GALLARDO, KENNETH D.   ADDRESS ON FILE
DE JESUS GANDIA, JESSICA        ADDRESS ON FILE
DE JESUS GANDIA, MELISSA        ADDRESS ON FILE
DE JESUS GARCIA, ANDRES         ADDRESS ON FILE
DE JESUS GARCIA, ANGEL          ADDRESS ON FILE
DE JESUS GARCIA, ANGELICA       ADDRESS ON FILE
De Jesus Garcia, Ashlee Y       ADDRESS ON FILE
DE JESUS GARCIA, BETSY          ADDRESS ON FILE
DE JESUS GARCIA, CAROLINE       ADDRESS ON FILE
DE JESUS GARCIA, DAMARY         ADDRESS ON FILE
DE JESUS GARCIA, EDUARDO A      ADDRESS ON FILE
DE JESUS GARCIA, FLORYS         ADDRESS ON FILE
DE JESUS GARCIA, IVONNE         ADDRESS ON FILE
DE JESUS GARCIA, JOEL           ADDRESS ON FILE
DE JESUS GARCIA, JOSSIRA        ADDRESS ON FILE
DE JESUS GARCIA, JUANA          ADDRESS ON FILE
DE JESUS GARCIA, LUIS           ADDRESS ON FILE
DE JESUS GARCIA, LUIS           ADDRESS ON FILE
DE JESUS GARCIA, LUIS J.        ADDRESS ON FILE
DE JESUS GARCIA, LUIS M         ADDRESS ON FILE
DE JESUS GARCIA, MARIA D        ADDRESS ON FILE
DE JESUS GARCIA, MARIA DE LOS   ADDRESS ON FILE
DE JESUS GARCIA, MARIA V        ADDRESS ON FILE
De Jesus Garcia, Mariluz        ADDRESS ON FILE
DE JESUS GARCIA, MARITZA        ADDRESS ON FILE
DE JESUS GARCIA, MARJORIE       ADDRESS ON FILE
DE JESUS GARCIA, MARK           ADDRESS ON FILE
DE JESUS GARCIA, MARK A.        ADDRESS ON FILE
DE JESUS GARCIA, MELBA          ADDRESS ON FILE
DE JESUS GARCIA, MELBA          ADDRESS ON FILE
DE JESUS GARCIA, MIGUEL         ADDRESS ON FILE
DE JESUS GARCIA, MIRIAM         ADDRESS ON FILE
DE JESUS GARCIA, MODESTA        ADDRESS ON FILE
DE JESUS GARCIA, NANCY C        ADDRESS ON FILE
DE JESUS GARCIA, NOELIA         ADDRESS ON FILE
DE JESUS GARCIA, NYDIA          ADDRESS ON FILE
De Jesus Garcia, Orlando        ADDRESS ON FILE
DE JESUS GARCIA, RAMONITA       ADDRESS ON FILE
DE JESUS GARCIA, RENE           ADDRESS ON FILE




                                                                            Page 2130 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2131 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS GARCIA, VERONICA        ADDRESS ON FILE
DE JESUS GARCIA, VICTOR          ADDRESS ON FILE
DE JESUS GARCIA, WILLIAM         ADDRESS ON FILE
DE JESUS GAUTIER, RAUL           ADDRESS ON FILE
DE JESUS GAUTIER, VILMA ESTHER   ADDRESS ON FILE
DE JESUS GAVILLAN, BRENDA        ADDRESS ON FILE
De Jesus Gavillan, Brenda L      ADDRESS ON FILE
DE JESUS GAVILLAN, LISANDRA      ADDRESS ON FILE
DE JESUS GEREZ, FRANCISCO        ADDRESS ON FILE
DE JESUS GIRAUD, ANA DEL R       ADDRESS ON FILE
DE JESUS GIRAUD, TOMASA          ADDRESS ON FILE
DE JESUS GOLDEROS, GINORIS       ADDRESS ON FILE
DE JESUS GOLDEROS, GINORIS C.    ADDRESS ON FILE
DE JESUS GOMEZ, ANGELINA         ADDRESS ON FILE
DE JESUS GOMEZ, AUREA I          ADDRESS ON FILE
DE JESUS GOMEZ, CARLOS           ADDRESS ON FILE
DE JESUS GOMEZ, CARLOS M         ADDRESS ON FILE
DE JESUS GOMEZ, CARMEN           ADDRESS ON FILE
DE JESUS GOMEZ, CARMEN L         ADDRESS ON FILE
DE JESUS GOMEZ, CARMEN M         ADDRESS ON FILE
DE JESUS GOMEZ, GRISELY          ADDRESS ON FILE
De Jesus Gomez, Honorio          ADDRESS ON FILE
DE JESUS GOMEZ, IVETTE           ADDRESS ON FILE
DE JESUS GOMEZ, JOHANNY          ADDRESS ON FILE
DE JESUS GOMEZ, JORGE            ADDRESS ON FILE
DE JESUS GOMEZ, JUAN M           ADDRESS ON FILE
DE JESUS GOMEZ, MARGARITA        ADDRESS ON FILE
DE JESUS GOMEZ, MARIA            ADDRESS ON FILE
DE JESUS GOMEZ, OSVALDO          ADDRESS ON FILE
DE JESUS GOMEZ, RAFAEL           ADDRESS ON FILE
DE JESUS GOMEZ, ROCIO            ADDRESS ON FILE
DE JESUS GOMEZ, ROCIO            ADDRESS ON FILE
DE JESUS GOMEZ, WILFREDO         ADDRESS ON FILE
DE JESUS GONZALES, SONIA         ADDRESS ON FILE
DE JESUS GONZALEZ, ADA L         ADDRESS ON FILE
DE JESUS GONZALEZ, ALEXIS        ADDRESS ON FILE
DE JESUS GONZALEZ, ANA D         ADDRESS ON FILE
DE JESUS GONZALEZ, ANA H         ADDRESS ON FILE
DE JESUS GONZALEZ, ANA H.        ADDRESS ON FILE
DE JESUS GONZALEZ, ANDREA        ADDRESS ON FILE
DE JESUS GONZALEZ, ANGEL         ADDRESS ON FILE
DE JESUS GONZALEZ, ANGIE         ADDRESS ON FILE
DE JESUS GONZALEZ, ANNALEE       ADDRESS ON FILE
DE JESUS GONZALEZ, BETSY         ADDRESS ON FILE
DE JESUS GONZALEZ, BILLY         ADDRESS ON FILE
DE JESUS GONZALEZ, CARLOS        ADDRESS ON FILE
De Jesus Gonzalez, Carlos E      ADDRESS ON FILE
DE JESUS GONZALEZ, CARMEN M      ADDRESS ON FILE
DE JESUS GONZALEZ, DAMARYS       ADDRESS ON FILE
DE JESUS GONZALEZ, EDGARDO       ADDRESS ON FILE
DE JESUS GONZALEZ, EILYN         ADDRESS ON FILE
DE JESUS GONZALEZ, ELSA I.       ADDRESS ON FILE
DE JESUS GONZALEZ, EVA           ADDRESS ON FILE
DE JESUS GONZALEZ, GERARDO       ADDRESS ON FILE
De Jesus González, Gloria M.     ADDRESS ON FILE
DE JESUS GONZALEZ, HECTOR W      ADDRESS ON FILE
DE JESUS GONZALEZ, HERIBERTO     ADDRESS ON FILE
DE JESUS GONZALEZ, ISABEL        ADDRESS ON FILE
DE JESUS GONZALEZ, IVAN          ADDRESS ON FILE
DE JESUS GONZALEZ, IVETTE        ADDRESS ON FILE




                                                                             Page 2131 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2132 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS GONZALEZ, IVETTE       ADDRESS ON FILE
De Jesus Gonzalez, Jaime        ADDRESS ON FILE
DE JESUS GONZALEZ, JANICE M.    ADDRESS ON FILE
De Jesus Gonzalez, Jose         ADDRESS ON FILE
DE JESUS GONZALEZ, JOSE         ADDRESS ON FILE
DE JESUS GONZALEZ, JOSE LUIS    ADDRESS ON FILE
De Jesus Gonzalez, Jose R       ADDRESS ON FILE
DE JESUS GONZALEZ, JOSE R.      ADDRESS ON FILE
DE JESUS GONZALEZ, JULIO        ADDRESS ON FILE
DE JESUS GONZALEZ, KEYLA        ADDRESS ON FILE
DE JESUS GONZALEZ, LAURA G.     ADDRESS ON FILE
DE JESUS GONZALEZ, LETICIA      ADDRESS ON FILE
DE JESUS GONZALEZ, LILLIAM      ADDRESS ON FILE
DE JESUS GONZALEZ, LISENIA      ADDRESS ON FILE
DE JESUS GONZALEZ, LUIS         ADDRESS ON FILE
DE JESUS GONZALEZ, LUIS A       ADDRESS ON FILE
DE JESUS GONZALEZ, LUIS NOEL    ADDRESS ON FILE
DE JESUS GONZALEZ, MARIA        ADDRESS ON FILE
DE JESUS GONZALEZ, MARIA        ADDRESS ON FILE
DE JESUS GONZALEZ, MARIA        ADDRESS ON FILE
DE JESUS GONZALEZ, MARILIA I.   ADDRESS ON FILE
De Jesus Gonzalez, Marta M      ADDRESS ON FILE
De Jesus Gonzalez, Marysol      ADDRESS ON FILE
DE JESUS GONZALEZ, MARYSOL      ADDRESS ON FILE
DE JESUS GONZALEZ, MAYRA I      ADDRESS ON FILE
DE JESUS GONZALEZ, MELVIN E.    ADDRESS ON FILE
DE JESUS GONZALEZ, MERALYS      ADDRESS ON FILE
DE JESUS GONZALEZ, MICHAEL      ADDRESS ON FILE
DE JESUS GONZALEZ, MISAEL       ADDRESS ON FILE
DE JESUS GONZALEZ, NILDA        ADDRESS ON FILE
DE JESUS GONZALEZ, NILDA I      ADDRESS ON FILE
DE JESUS GONZALEZ, NIRLIA       ADDRESS ON FILE
DE JESUS GONZALEZ, REINALDO     ADDRESS ON FILE
DE JESUS GONZALEZ, ROSA H       ADDRESS ON FILE
De Jesus Gonzalez, Ruben        ADDRESS ON FILE
DE JESUS GONZALEZ, SANTOS       ADDRESS ON FILE
DE JESUS GONZALEZ, SANTOS       ADDRESS ON FILE
DE JESUS GONZALEZ, SHAILLEN     ADDRESS ON FILE
DE JESUS GONZALEZ, SHEYLA       ADDRESS ON FILE
DE JESUS GONZALEZ, SONIA M.     ADDRESS ON FILE
DE JESUS GONZALEZ, VENTURA      ADDRESS ON FILE
DE JESUS GONZALEZ, VICTOR       ADDRESS ON FILE
DE JESUS GONZALEZ, VICTOR       ADDRESS ON FILE
DE JESUS GONZALEZ, VICTOR M.    ADDRESS ON FILE
DE JESUS GONZALEZ, VIVIANA      ADDRESS ON FILE
DE JESUS GONZALEZ, WALESKA I.   ADDRESS ON FILE
DE JESUS GONZALEZ, YAMILKA      ADDRESS ON FILE
De Jesus Gonzalez, Yolanda      ADDRESS ON FILE
DE JESUS GONZALEZ,LUIS          ADDRESS ON FILE
DE JESUS GRACIANI, ANGEL L.     ADDRESS ON FILE
DE JESUS GRACIANI, IBIS         ADDRESS ON FILE
DE JESUS GRAULAU, MIRELLA       ADDRESS ON FILE
DE JESUS GUADALUPE, EDGAR       ADDRESS ON FILE
DE JESUS GUAL, JORGE            ADDRESS ON FILE
DE JESUS GUISHARD, MIGDALIA     ADDRESS ON FILE
DE JESUS GUISHARD, NESTOR L     ADDRESS ON FILE
DE JESUS GUZMAN ,IRAIDA         ADDRESS ON FILE
DE JESUS GUZMAN, FRANCISCO      ADDRESS ON FILE
DE JESUS GUZMAN, IVETTE J       ADDRESS ON FILE
DE JESUS GUZMAN, MARIBEL        ADDRESS ON FILE




                                                                            Page 2132 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2133 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS GUZMAN, RAMONITA         ADDRESS ON FILE
DE JESUS GUZMAN, SONIA M.         ADDRESS ON FILE
DE JESUS HANCE, SHERLEY A         ADDRESS ON FILE
DE JESUS HARRISON, FRANCIS M      ADDRESS ON FILE
DE JESUS HEREDIA, ANA M           ADDRESS ON FILE
DE JESUS HERNAN., MADELYN         ADDRESS ON FILE
De Jesus Hernande, Wigberto       ADDRESS ON FILE
DE JESUS HERNANDEZ MD, DENNIS     ADDRESS ON FILE
DE JESUS HERNANDEZ, AMARILY       ADDRESS ON FILE
DE JESUS HERNANDEZ, ANA D         ADDRESS ON FILE
DE JESUS HERNANDEZ, ANGEL         ADDRESS ON FILE
DE JESUS HERNANDEZ, CARMEN        ADDRESS ON FILE
DE JESUS HERNANDEZ, CLARA L       ADDRESS ON FILE
DE JESUS HERNANDEZ, CLARA L       ADDRESS ON FILE
DE JESUS HERNANDEZ, EMERITA       ADDRESS ON FILE
DE JESUS HERNANDEZ, EMMA J.       ADDRESS ON FILE
DE JESUS HERNANDEZ, ESPERANZA A   ADDRESS ON FILE
DE JESUS HERNANDEZ, HECTOR L      ADDRESS ON FILE
DE JESUS HERNANDEZ, HECTOR L.     ADDRESS ON FILE
DE JESUS HERNANDEZ, IRIS          ADDRESS ON FILE
DE JESUS HERNANDEZ, JANET         ADDRESS ON FILE
De Jesus Hernandez, Jessica       ADDRESS ON FILE
DE JESUS HERNANDEZ, JESSICA       ADDRESS ON FILE
DE JESUS HERNANDEZ, JESUS         ADDRESS ON FILE
DE JESUS HERNANDEZ, JOSE          ADDRESS ON FILE
DE JESUS HERNANDEZ, JOSE J        ADDRESS ON FILE
DE JESUS HERNANDEZ, JOSE L        ADDRESS ON FILE
DE JESUS HERNANDEZ, JOSEA.        ADDRESS ON FILE
DE JESUS HERNANDEZ, LOURDES       ADDRESS ON FILE
DE JESUS HERNANDEZ, MARIELY       ADDRESS ON FILE
DE JESUS HERNANDEZ, MARY          ADDRESS ON FILE
DE JESUS HERNANDEZ, OLBAN         ADDRESS ON FILE
DE JESUS HERNANDEZ, OLBAN         ADDRESS ON FILE
DE JESUS HERNANDEZ, OSCAR         ADDRESS ON FILE
De Jesus Hernandez, Rafael        ADDRESS ON FILE
De Jesus Hernandez, Reimundo      ADDRESS ON FILE
DE JESUS HERNANDEZ, ROBERTO       ADDRESS ON FILE
DE JESUS HERNANDEZ, SOLEDAD       ADDRESS ON FILE
DE JESUS HERNANDEZ, YAJAIRA       ADDRESS ON FILE
DE JESUS HERNANDEZ, YANITZA       ADDRESS ON FILE
DE JESUS HERRAN, MARIE            ADDRESS ON FILE
DE JESUS HERRERA, ILEANA A        ADDRESS ON FILE
DE JESUS HERRERA, LIBERTAD        ADDRESS ON FILE
DE JESUS HERRERA, NORBERTO        ADDRESS ON FILE
DE JESUS HERRERO, CARMEN L.       ADDRESS ON FILE
DE JESUS HERRERO, FERNANDO        ADDRESS ON FILE
DE JESUS HERRERO, MIGDALIA        ADDRESS ON FILE
DE JESUS HILL, DIANA DEL C        ADDRESS ON FILE
De Jesus Homs, Carlos D           ADDRESS ON FILE
DE JESUS HOYO, AURORA             ADDRESS ON FILE
DE JESUS HUERTAS, MIRIAM          ADDRESS ON FILE
DE JESUS IBARRA, RAFAEL           ADDRESS ON FILE
DE JESUS IBARRA, RAFAEL           ADDRESS ON FILE
DE JESUS IGLESIA, MARIA C.        ADDRESS ON FILE
DE JESUS IGLESIAS, BEDMARIE       ADDRESS ON FILE
DE JESUS IGLESIAS, BEDMARIE       ADDRESS ON FILE
DE JESUS IGLESIAS, JESUS          ADDRESS ON FILE
DE JESUS IGLESIAS, VERA           ADDRESS ON FILE
DE JESUS ILDEFONSO, ARLYN         ADDRESS ON FILE
DE JESUS ILDEFONSO, RAYMOND       ADDRESS ON FILE




                                                                              Page 2133 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2134 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ILLAS, LAURA            ADDRESS ON FILE
DE JESUS IRAOLA, LIBORIO         ADDRESS ON FILE
De Jesus Iraola, Patria          ADDRESS ON FILE
DE JESUS IRIZARRY, CHARLES       ADDRESS ON FILE
De Jesus Irizarry, Iris B        ADDRESS ON FILE
DE JESUS ISAAC, MELISSA          ADDRESS ON FILE
DE JESUS ISAAC, NOELIA           ADDRESS ON FILE
DE JESUS ISAAC, NOELIA           ADDRESS ON FILE
DE JESUS JESUS, ADA              ADDRESS ON FILE
DE JESUS JESUS, HECTOR           ADDRESS ON FILE
DE JESUS JESUS, IRAIDA           ADDRESS ON FILE
DE JESUS JESUS, IRIS             ADDRESS ON FILE
DE JESUS JESUS, IRIS             ADDRESS ON FILE
DE JESUS JESUS, JANET            ADDRESS ON FILE
DE JESUS JESUS, JOYCE            ADDRESS ON FILE
DE JESUS JESUS, ROBERTO          ADDRESS ON FILE
DE JESUS JESUS, WILFREDO         ADDRESS ON FILE
DE JESUS JIMENEZ, CARMEN I       ADDRESS ON FILE
DE JESUS JIMENEZ, DORIANN        ADDRESS ON FILE
DE JESUS JIMENEZ, HECTOR         ADDRESS ON FILE
DE JESUS JIMENEZ, HECTOR M       ADDRESS ON FILE
DE JESUS JIMENEZ, JOSE L.        ADDRESS ON FILE
DE JESUS JIMENEZ, KEILAMYR       ADDRESS ON FILE
DE JESUS JIMENEZ, LUZ M          ADDRESS ON FILE
DE JESUS JIMENEZ, MAYRA          ADDRESS ON FILE
De Jesus Jimenez, Miguel Angel   ADDRESS ON FILE
DE JESUS JIMENEZ, ROSSANA        ADDRESS ON FILE
DE JESUS JIMENEZ, RUTH           ADDRESS ON FILE
DE JESUS JIMENEZ, SANDRA         ADDRESS ON FILE
DE JESUS JIMENEZ, SONIA E.       ADDRESS ON FILE
DE JESUS JIMENEZ, WANDA I        ADDRESS ON FILE
DE JESUS JOHNSON, RAUL           ADDRESS ON FILE
DE JESUS JR, OLIVER              ADDRESS ON FILE
DE JESUS JUARBE, CARMEN I.       ADDRESS ON FILE
DE JESUS JULIA, RAQUEL           ADDRESS ON FILE
DE JESUS JURADO, ADELAIDA        ADDRESS ON FILE
DE JESUS KALIL, CLARA            ADDRESS ON FILE
DE JESUS LA FUENTE, RUBEN        ADDRESS ON FILE
DE JESUS LA LUZ, CARMEN D        ADDRESS ON FILE
DE JESUS LA SANTA, MARTA         ADDRESS ON FILE
DE JESUS LA SANTA, RAFAEL        ADDRESS ON FILE
DE JESUS LA SANTA, TERESA        ADDRESS ON FILE
DE JESUS LABOY, ANA M            ADDRESS ON FILE
De Jesus Laboy, Hector           ADDRESS ON FILE
DE JESUS LABOY, IRIS             ADDRESS ON FILE
DE JESUS LABOY, JOSE             ADDRESS ON FILE
DE JESUS LABOY, LUIS             ADDRESS ON FILE
DE JESUS LABOY, MONICA           ADDRESS ON FILE
DE JESUS LABOY, TERESA           ADDRESS ON FILE
DE JESUS LACEN, SANTOS           ADDRESS ON FILE
DE JESUS LAFUENTE, LUIS          ADDRESS ON FILE
DE JESUS LANAUSSE, EUFENIA       ADDRESS ON FILE
DE JESUS LANAUSSE, JANETTE M     ADDRESS ON FILE
DE JESUS LANDOR, CLARA           ADDRESS ON FILE
DE JESUS LANZO, ANGELICA         ADDRESS ON FILE
DE JESUS LANZO, BETHNIRYS        ADDRESS ON FILE
DE JESUS LARACUENTE, HENRY       ADDRESS ON FILE
DE JESUS LARACUENTE, JESSICA     ADDRESS ON FILE
DE JESUS LARRIU, TANYA M         ADDRESS ON FILE
DE JESUS LAZU, DAMARIS           ADDRESS ON FILE




                                                                             Page 2134 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2135 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS LAZU, DULIA          ADDRESS ON FILE
DE JESUS LAZU, DULIA E        ADDRESS ON FILE
DE JESUS LAZU, FREDDY         ADDRESS ON FILE
DE JESUS LAZU, GERARDO        ADDRESS ON FILE
DE JESUS LAZU, LINDA C        ADDRESS ON FILE
DE JESUS LAZU, LUIS S         ADDRESS ON FILE
DE JESUS LAZU, MIGUEL         ADDRESS ON FILE
DE JESUS LAZU, NEREIDA        ADDRESS ON FILE
DE JESUS LAZU, ORLANDO        ADDRESS ON FILE
DE JESUS LAZU, ORLANDO        ADDRESS ON FILE
DE JESUS LEBRON, ANGELICA     ADDRESS ON FILE
DE JESUS LEBRON, JUAN RAMON   ADDRESS ON FILE
DE JESUS LEBRON, LYNMAR       ADDRESS ON FILE
DE JESUS LEBRON, MARIA V      ADDRESS ON FILE
DE JESUS LEBRON, PEDRO        ADDRESS ON FILE
DE JESUS LEBRON, SANTA        ADDRESS ON FILE
De Jesus Lebron, William      ADDRESS ON FILE
DE JESUS LEBRON, ZENAIDA      ADDRESS ON FILE
DE JESUS LEDESMA, BRENDA      ADDRESS ON FILE
DE JESUS LEON, CARLOS         ADDRESS ON FILE
DE JESUS LEON, FREDDIE        ADDRESS ON FILE
DE JESUS LEON, LIZETTE        ADDRESS ON FILE
DE JESUS LEON, MARIA E        ADDRESS ON FILE
DE JESUS LIRIANO, RUBEN D.    ADDRESS ON FILE
DE JESUS LISBOA, MARISOL      ADDRESS ON FILE
DE JESUS LLABRES, YVONNE      ADDRESS ON FILE
DE JESUS LLOVET, ANIR         ADDRESS ON FILE
DE JESUS LLOVET, ANIR         ADDRESS ON FILE
DE JESUS LOIZ, HECTOR         ADDRESS ON FILE
DE JESUS LOMBARDI, ANA        ADDRESS ON FILE
DE JESUS LOMBARDI, INES       ADDRESS ON FILE
DE JESUS LOPEZ EDUARDO        IRMA VALLDEJULI PEREZ     PO BOX 366066                                          SAN JUAN     PR      00936
DE JESUS LOPEZ, ANTONIO       ADDRESS ON FILE
DE JESUS LOPEZ, BRENDA E      ADDRESS ON FILE
DE JESUS LOPEZ, CARLOS        ADDRESS ON FILE
DE JESUS LOPEZ, CARLOS I.     ADDRESS ON FILE
DE JESUS LOPEZ, CARMEN H      ADDRESS ON FILE
DE JESUS LOPEZ, CARMEN M      ADDRESS ON FILE
DE JESUS LOPEZ, DAISDELIA     ADDRESS ON FILE
DE JESUS LOPEZ, DAISDELIA     ADDRESS ON FILE
DE JESUS LOPEZ, DORIS N.      ADDRESS ON FILE
DE JESUS LOPEZ, EDGAR         ADDRESS ON FILE
DE JESUS LOPEZ, ELENA         ADDRESS ON FILE
DE JESUS LOPEZ, FERNANDO      ADDRESS ON FILE
DE JESUS LOPEZ, FIDELINA      ADDRESS ON FILE
DE JESUS LOPEZ, INEZ Y        ADDRESS ON FILE
DE JESUS LOPEZ, IVELISSE      ADDRESS ON FILE
De Jesus Lopez, Ivette        ADDRESS ON FILE
DE JESUS LOPEZ, JANCY         ADDRESS ON FILE
DE JESUS LOPEZ, JANNETTE      ADDRESS ON FILE
DE JESUS LOPEZ, LODIVEL       ADDRESS ON FILE
DE JESUS LOPEZ, LUIS          ADDRESS ON FILE
DE JESUS LOPEZ, LYDIA         ADDRESS ON FILE
DE JESUS LOPEZ, MARIA O       ADDRESS ON FILE
DE JESUS LOPEZ, MARISABEL     ADDRESS ON FILE
DE JESUS LOPEZ, MIGUEL A.     ADDRESS ON FILE
DE JESUS LOPEZ, MIRIAM I      ADDRESS ON FILE
DE JESUS LOPEZ, MYRTA         ADDRESS ON FILE
DE JESUS LOPEZ, MYRTA L       ADDRESS ON FILE
DE JESUS LOPEZ, NOEL A        ADDRESS ON FILE




                                                                          Page 2135 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2136 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS LOPEZ, NOEMI                ADDRESS ON FILE
DE JESUS LOPEZ, PEDRO                ADDRESS ON FILE
DE JESUS LOPEZ, RICARDO              ADDRESS ON FILE
DE JESUS LOPEZ, RICHARD              ADDRESS ON FILE
De Jesus Lopez, Roy V                ADDRESS ON FILE
DE JESUS LOPEZ, SONIA                ADDRESS ON FILE
DE JESUS LOPEZ, SONIA I              ADDRESS ON FILE
DE JESUS LOPEZ, TITO A               ADDRESS ON FILE
DE JESUS LOPEZ, VICTOR               ADDRESS ON FILE
DE JESUS LOPEZ, VIRGEN S.            ADDRESS ON FILE
DE JESUS LOPEZ, WANDA                ADDRESS ON FILE
DE JESUS LOPEZ, YARITZA              ADDRESS ON FILE
DE JESUS LORA, AILEEN                ADDRESS ON FILE
DE JESUS LORA, AMARILIS              ADDRESS ON FILE
DE JESUS LORENZO, ANA C              ADDRESS ON FILE
DE JESUS LOURIDO, MIGUEL             ADDRESS ON FILE
DE JESUS LOZADA, AIDA                ADDRESS ON FILE
DE JESUS LOZADA, EDWIN               ADDRESS ON FILE
DE JESUS LOZADA, JORGE               ADDRESS ON FILE
De Jesus Lozano, Juan A              ADDRESS ON FILE
DE JESUS LUGO, ANNA M                ADDRESS ON FILE
DE JESUS LUGO, BRENDA I.             ADDRESS ON FILE
DE JESUS LUGO, BRUNILDA              ADDRESS ON FILE
DE JESUS LUGO, EDWIN                 ADDRESS ON FILE
DE JESUS LUGO, IRMARY                ADDRESS ON FILE
DE JESUS LUGO, JAIME LUIS            ADDRESS ON FILE
DE JESUS LUGO, JOSE                  ADDRESS ON FILE
DE JESUS LUGO, MARILY                ADDRESS ON FILE
DE JESUS LUGO, MERCEDES I            ADDRESS ON FILE
De Jesus Lugo, Miguel E              ADDRESS ON FILE
DE JESUS LUGO, SHEILA                ADDRESS ON FILE
DE JESUS LUIS, PEDRO R.              ADDRESS ON FILE
DE JESUS LUIS, PEDRO R.              ADDRESS ON FILE
DE JESUS LUNA, LOURDES A             ADDRESS ON FILE
DE JESUS LUNA, PROVIDENCIA           ADDRESS ON FILE
De Jesus Luna, Roberto               ADDRESS ON FILE
DE JESUS MACHADO, JOSE F.            ADDRESS ON FILE
DE JESUS MACHADO, JOSE R.            ADDRESS ON FILE
DE JESUS MACHARGO, GLORIA M.         ADDRESS ON FILE
DE JESUS MACHARGO, JUAN              ADDRESS ON FILE
DE JESUS MADERA, CARLOS              ADDRESS ON FILE
DE JESUS MADERA, CARLOS              ADDRESS ON FILE
DE JESUS MAESTRE, MARIA DEL CARMEN   ADDRESS ON FILE
DE JESUS MAESTRE, ROSARITO           ADDRESS ON FILE
DE JESUS MAESTRE, VANESSA            ADDRESS ON FILE
DE JESUS MAISONET, MARIA             ADDRESS ON FILE
DE JESUS MALDONADO, ANA              ADDRESS ON FILE
DE JESUS MALDONADO, DAMARIS          ADDRESS ON FILE
DE JESUS MALDONADO, EDNA L           ADDRESS ON FILE
DE JESUS MALDONADO, GLORIA           ADDRESS ON FILE
DE JESUS MALDONADO, GLORIA E         ADDRESS ON FILE
DE JESUS MALDONADO, HECTOR           ADDRESS ON FILE
DE JESUS MALDONADO, IAN A            ADDRESS ON FILE
DE JESUS MALDONADO, JOSE             ADDRESS ON FILE
DE JESUS MALDONADO, JOSEFINA         ADDRESS ON FILE
DE JESUS MALDONADO, KENNEDY          ADDRESS ON FILE
DE JESUS MALDONADO, LUIS             ADDRESS ON FILE
DE JESUS MALDONADO, MARISOL          ADDRESS ON FILE
DE JESUS MALDONADO, MILAGROS A       ADDRESS ON FILE
DE JESUS MALDONADO, NICOLE           ADDRESS ON FILE




                                                                                 Page 2136 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2137 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS MALDONADO, NYDIA        ADDRESS ON FILE
DE JESUS MALDONADO, PABLO        ADDRESS ON FILE
DE JESUS MALDONADO, RAMON        ADDRESS ON FILE
DE JESUS MARCANO, ABRAHAM        ADDRESS ON FILE
DE JESUS MARCANO, ABRAHAM        ADDRESS ON FILE
DE JESUS MARCANO, GLENDA         ADDRESS ON FILE
DE JESUS MARCANO, IRMA           ADDRESS ON FILE
DE JESUS MARCANO, RAMON L        ADDRESS ON FILE
DE JESUS MARIANI, DORA D         ADDRESS ON FILE
DE JESUS MARIANI, NICOLASA       ADDRESS ON FILE
DE JESUS MARIN, BEATRIZ          ADDRESS ON FILE
DE JESUS MARIN, BEATRIZ          ADDRESS ON FILE
DE JESUS MARIN, KIARA            ADDRESS ON FILE
DE JESUS MARQUEZ, CELINETTE      ADDRESS ON FILE
DE JESUS MARQUEZ, IRIS D         ADDRESS ON FILE
DE JESUS MARQUEZ, JESSENIA       ADDRESS ON FILE
DE JESUS MARQUEZ, JUAN           ADDRESS ON FILE
DE JESUS MARQUEZ, LUZ LYNETTE    ADDRESS ON FILE
DE JESUS MARQUEZ, PEDRO J        ADDRESS ON FILE
De Jesus Marquez, Yesenia M.     ADDRESS ON FILE
DE JESUS MARRERO, ELIZABETH      ADDRESS ON FILE
DE JESUS MARRERO, GIOMAR M.      ADDRESS ON FILE
DE JESUS MARRERO, JAVIER         ADDRESS ON FILE
DE JESUS MARRERO, LINDA          ADDRESS ON FILE
DE JESUS MARRERO, PEDRO J        ADDRESS ON FILE
DE JESUS MARRERO, RAFAEL         ADDRESS ON FILE
DE JESUS MARRERO, TANIA          ADDRESS ON FILE
DE JESUS MARRERO, VIRGINIA       ADDRESS ON FILE
DE JESUS MARRERO, VIRGINIA       ADDRESS ON FILE
DE JESUS MARTELL, ANA VICTORIA   ADDRESS ON FILE
DE JESUS MARTELL, ANGEL          ADDRESS ON FILE
DE JESUS MARTELL, ANTONIO        ADDRESS ON FILE
DE JESUS MARTIN, MANUEL          ADDRESS ON FILE
DE JESUS MARTINEZ ,MARGARITA     ADDRESS ON FILE
DE JESUS MARTINEZ, ADA ROSA      ADDRESS ON FILE
DE JESUS MARTINEZ, ALBERT        ADDRESS ON FILE
De Jesus Martinez, Angel         ADDRESS ON FILE
DE JESUS MARTINEZ, CARLA         ADDRESS ON FILE
DE JESUS MARTINEZ, CARLA         ADDRESS ON FILE
DE JESUS MARTINEZ, DAVID         ADDRESS ON FILE
DE JESUS MARTINEZ, DAVID         ADDRESS ON FILE
De Jesus Martinez, Edgardo       ADDRESS ON FILE
De Jesus Martinez, Eliezer       ADDRESS ON FILE
DE JESUS MARTINEZ, ELIZABETH     ADDRESS ON FILE
DE JESUS MARTINEZ, EULALIO       ADDRESS ON FILE
DE JESUS MARTINEZ, EVELYN        ADDRESS ON FILE
DE JESUS MARTINEZ, EVELYN        ADDRESS ON FILE
DE JESUS MARTINEZ, FELIX         ADDRESS ON FILE
DE JESUS MARTINEZ, FRANCES       ADDRESS ON FILE
DE JESUS MARTINEZ, FRANCISCO     ADDRESS ON FILE
De Jesus Martinez, Hector L      ADDRESS ON FILE
DE JESUS MARTINEZ, JACLYN        ADDRESS ON FILE
DE JESUS MARTINEZ, JAVIER        ADDRESS ON FILE
De Jesus Martinez, Jose A        ADDRESS ON FILE
DE JESUS MARTINEZ, JOYCE         ADDRESS ON FILE
DE JESUS MARTINEZ, JUDITH        ADDRESS ON FILE
DE JESUS MARTINEZ, KERSI N       ADDRESS ON FILE
DE JESUS MARTINEZ, LEONEL J      ADDRESS ON FILE
DE JESUS MARTINEZ, LILLIAM V     ADDRESS ON FILE
DE JESUS MARTINEZ, LILLIAN       ADDRESS ON FILE




                                                                             Page 2137 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2138 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS MARTINEZ, LYDIA E        ADDRESS ON FILE
DE JESUS MARTINEZ, LYDIED Y       ADDRESS ON FILE
DE JESUS MARTINEZ, MANUEL         ADDRESS ON FILE
DE JESUS MARTINEZ, MAYDA          ADDRESS ON FILE
De Jesus Martinez, Mayra M.       ADDRESS ON FILE
De Jesus Martinez, Miguel A       ADDRESS ON FILE
DE JESUS MARTINEZ, MIGUEL A.      ADDRESS ON FILE
DE JESUS MARTINEZ, NATALIA        ADDRESS ON FILE
DE JESUS MARTINEZ, NESTOR         ADDRESS ON FILE
DE JESUS MARTINEZ, OEMI           ADDRESS ON FILE
De Jesus Martinez, Ricardo        ADDRESS ON FILE
DE JESUS MARTINEZ, RICARDO        ADDRESS ON FILE
De Jesus Martinez, Roberto        ADDRESS ON FILE
DE JESUS MARTINEZ, SANDRA         ADDRESS ON FILE
DE JESUS MARTINEZ, VICTOR J       ADDRESS ON FILE
DE JESUS MARTINEZ, WILLIAM        ADDRESS ON FILE
DE JESUS MARTINEZ, YANIS          ADDRESS ON FILE
DE JESUS MARTINEZ, YOLANDA        ADDRESS ON FILE
DE JESUS MARTNEZ, GLADYS          ADDRESS ON FILE
DE JESUS MARZAN, JOSE R           ADDRESS ON FILE
DE JESUS MATEO, EVELYN            ADDRESS ON FILE
De Jesus Mateo, Hector R          ADDRESS ON FILE
DE JESUS MATEO, JUAN              ADDRESS ON FILE
DE JESUS MATEO, MARIA S           ADDRESS ON FILE
DE JESUS MATEO, MARILYN           ADDRESS ON FILE
DE JESUS MATEO, MILITZA           ADDRESS ON FILE
DE JESUS MATEO, RAMON             ADDRESS ON FILE
DE JESUS MATIAS, ELIZABETH        ADDRESS ON FILE
DE JESUS MATIAS, SANDRA           ADDRESS ON FILE
DE JESUS MATOS, ANA M             ADDRESS ON FILE
DE JESUS MATOS, GILBERTO          ADDRESS ON FILE
DE JESUS MATOS, GUELMARIE         ADDRESS ON FILE
DE JESUS MATOS, GUELMARIE         ADDRESS ON FILE
DE JESUS MATOS, JOSE A.           ADDRESS ON FILE
DE JESUS MATOS, LUIS ARIEL        ADDRESS ON FILE
DE JESUS MATOS, LUISA L.          ADDRESS ON FILE
DE JESUS MATOS, MIGUEL            ADDRESS ON FILE
DE JESUS MATOS, MYRIAM            ADDRESS ON FILE
DE JESUS MATOS, NATALY            ADDRESS ON FILE
DE JESUS MATOS, WILFREDO          ADDRESS ON FILE
DE JESUS MATOS,LUIS R.            ADDRESS ON FILE
DE JESUS MATTAS, MIRIAN           ADDRESS ON FILE
DE JESUS MATTEI, CARLOS EDUARDO   ADDRESS ON FILE
DE JESUS MATTEI, LUIS E           ADDRESS ON FILE
DE JESUS MAYOL, DIANA             ADDRESS ON FILE
DE JESUS MEDERO, MARTA            ADDRESS ON FILE
DE JESUS MEDINA, ANGEL            ADDRESS ON FILE
DE JESUS MEDINA, ARACELIA         ADDRESS ON FILE
DE JESUS MEDINA, AWILDA           ADDRESS ON FILE
DE JESUS MEDINA, BRENDA L         ADDRESS ON FILE
DE JESUS MEDINA, DENISE           ADDRESS ON FILE
DE JESUS MEDINA, EDWIN            ADDRESS ON FILE
DE JESUS MEDINA, EFRAIN           ADDRESS ON FILE
DE JESUS MEDINA, GLORIA E         ADDRESS ON FILE
DE JESUS MEDINA, JORGE R.         ADDRESS ON FILE
DE JESUS MEDINA, LEONIDES         ADDRESS ON FILE
DE JESUS MEDINA, LYDIA E.         ADDRESS ON FILE
DE JESUS MEDINA, MAGUELIN         ADDRESS ON FILE
DE JESUS MEDINA, MARGARITA        ADDRESS ON FILE
DE JESUS MEDINA, MARIA            ADDRESS ON FILE




                                                                              Page 2138 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2139 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
De Jesus Medina, Omar J             ADDRESS ON FILE
De Jesus Medina, Ramon G            ADDRESS ON FILE
DE JESUS MEDINA, RICARDO            ADDRESS ON FILE
DE JESUS MEDINA, VICTOR             ADDRESS ON FILE
DE JESUS MEDINA, WILLIAM            ADDRESS ON FILE
DE JESUS MEJIAS, RAMON              ADDRESS ON FILE
DE JESUS MELENDEZ, AISHA            ADDRESS ON FILE
DE JESUS MELENDEZ, ANDREA           ADDRESS ON FILE
DE JESUS MELENDEZ, BEGONA           ADDRESS ON FILE
DE JESUS MELENDEZ, BEGONA           ADDRESS ON FILE
DE JESUS MELENDEZ, CANDIDA          ADDRESS ON FILE
DE JESUS MELENDEZ, DAISY            ADDRESS ON FILE
DE JESUS MELENDEZ, DAISY E          ADDRESS ON FILE
De Jesus Melendez, Felix            ADDRESS ON FILE
DE JESUS MELENDEZ, GRETZEL          ADDRESS ON FILE
DE JESUS MELENDEZ, HENRY            ADDRESS ON FILE
De Jesus Melendez, Juan             ADDRESS ON FILE
DE JESUS MELENDEZ, LUIS E.          ADDRESS ON FILE
DE JESUS MELENDEZ, MARIE            ADDRESS ON FILE
DE JESUS MELENDEZ, MICHELLE         ADDRESS ON FILE
DE JESUS MENDEZ, BENITO             ADDRESS ON FILE
De Jesus Mendez, Joel               ADDRESS ON FILE
DE JESUS MENDEZ, LUIS A.            ADDRESS ON FILE
DE JESUS MENDEZ, MARIA              ADDRESS ON FILE
DE JESUS MENDEZ, MELISSA            ADDRESS ON FILE
DE JESUS MENDEZ, MELISSA            ADDRESS ON FILE
DE JESUS MENDEZ, MIGUEL             ADDRESS ON FILE
DE JESUS MENDEZ, ROSA               ADDRESS ON FILE
DE JESUS MENDEZ, TATIANA            ADDRESS ON FILE
DE JESUS MENDEZ, TOMAS              ADDRESS ON FILE
DE JESUS MENDEZ, WILSON L           ADDRESS ON FILE
DE JESUS MENDEZ, ZORAIDA            ADDRESS ON FILE
DE JESUS MENDOZA, CELIA N           ADDRESS ON FILE
DE JESUS MENDOZA, KILMA W           ADDRESS ON FILE
DE JESUS MENDOZA, LUZ M             ADDRESS ON FILE
DE JESUS MENDOZA, MARGARITA         ADDRESS ON FILE
DE JESUS MERCADO, ADAN              ADDRESS ON FILE
DE JESUS MERCADO, BRENDA            ADDRESS ON FILE
De Jesus Mercado, Jose J.           ADDRESS ON FILE
DE JESUS MERCADO, JUAN              ADDRESS ON FILE
DE JESUS MERCADO, LORAINE           ADDRESS ON FILE
DE JESUS MERCADO, LUIS              ADDRESS ON FILE
DE JESUS MERCADO, MADELINE          ADDRESS ON FILE
DE JESUS MERCADO, MARANGELI         ADDRESS ON FILE
DE JESUS MERCADO, MARIA             ADDRESS ON FILE
DE JESUS MERCADO, MARIA             ADDRESS ON FILE
DE JESUS MERCADO, MIRIAM N          ADDRESS ON FILE
DE JESUS MERCADO, NORMA I           ADDRESS ON FILE
De Jesus Mercado, Onofre            ADDRESS ON FILE
DE JESUS MERCADO, PEDRO             ADDRESS ON FILE
DE JESUS MERCADO, PEDRO             ADDRESS ON FILE
De Jesus Mercado, Radames           ADDRESS ON FILE
De Jesus Mercado, Rafael            ADDRESS ON FILE
DE JESUS MERCADO, ROY E             ADDRESS ON FILE
DE JESUS MERCADO, SOL M             ADDRESS ON FILE
DE JESUS MERCADO, SOL M             ADDRESS ON FILE
DE JESUS MERCADO, YAJAIRA DEL MAR   ADDRESS ON FILE
DE JESUS MERCED, JACQUELINE         ADDRESS ON FILE
DE JESUS MERCED, LUIS A             ADDRESS ON FILE
DE JESUS MESTRE, IBRAHIM            ADDRESS ON FILE




                                                                                Page 2139 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2140 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS MILIAN, ELSA              ADDRESS ON FILE
DE JESUS MIRANDA MD, JORGE         ADDRESS ON FILE
DE JESUS MIRANDA, FELIX X          ADDRESS ON FILE
DE JESUS MIRANDA, GLADYS D         ADDRESS ON FILE
DE JESUS MIRANDA, ISBY V.          ADDRESS ON FILE
DE JESUS MIRANDA, JOSE             ADDRESS ON FILE
DE JESUS MIRANDA, MARANGELIS       ADDRESS ON FILE
DE JESUS MIRANDA, MARIA DE LOS A   ADDRESS ON FILE
DE JESUS MIRANDA, MIOSOTIS         ADDRESS ON FILE
DE JESUS MIRANDA, MIOSOTIS         ADDRESS ON FILE
DE JESUS MIRANDA, ROSEAMYN         ADDRESS ON FILE
DE JESUS MIRANDA, SOL              ADDRESS ON FILE
DE JESUS MOLINA, CECILIO           ADDRESS ON FILE
De Jesus Molina, Joel A            ADDRESS ON FILE
De Jesus Molina, Julio M           ADDRESS ON FILE
DE JESUS MOLINA, WILFREDO          ADDRESS ON FILE
DE JESUS MONCLOVA, FRANCISCA       ADDRESS ON FILE
DE JESUS MONGE, LIZA               ADDRESS ON FILE
DE JESUS MONGE, VIVIANNA           ADDRESS ON FILE
DE JESUS MONTALVO, AEMI            ADDRESS ON FILE
DE JESUS MONTALVO, EVELYN          ADDRESS ON FILE
DE JESUS MONTALVO, KRISTINA        ADDRESS ON FILE
DE JESUS MONTANEZ, CARMEN M.       ADDRESS ON FILE
DE JESUS MONTANEZ, DAMARIS         ADDRESS ON FILE
DE JESUS MONTANEZ, DANIEL          ADDRESS ON FILE
DE JESUS MONTANEZ, DAVID           ADDRESS ON FILE
DE JESUS MONTANEZ, ERIC            ADDRESS ON FILE
DE JESUS MONTANEZ, ERIKA M.        ADDRESS ON FILE
DE JESUS MONTANEZ, LUIS            ADDRESS ON FILE
DE JESUS MONTANEZ, LUIS            ADDRESS ON FILE
DE JESUS MONTANEZ, MARILYN         ADDRESS ON FILE
DE JESUS MONTANEZ, MARTIN          ADDRESS ON FILE
DE JESUS MONTANEZ, ROSAURA         ADDRESS ON FILE
DE JESUS MONTERO, JAIME            ADDRESS ON FILE
DE JESUS MONTERO, YELKIN           ADDRESS ON FILE
DE JESUS MONTES, CESAR F           ADDRESS ON FILE
DE JESUS MONTES, IVONNE            ADDRESS ON FILE
DE JESUS MONTES, MARIA M.          ADDRESS ON FILE
DE JESUS MONTES, MARTIN            ADDRESS ON FILE
DE JESUS MORA, WILLIAM             ADDRESS ON FILE
DE JESUS MORALES, AGUSTIN          ADDRESS ON FILE
DE JESUS MORALES, AIDA M.          ADDRESS ON FILE
DE JESUS MORALES, ALEXIS           ADDRESS ON FILE
DE JESUS MORALES, ALMA C           ADDRESS ON FILE
DE JESUS MORALES, ANGEL            ADDRESS ON FILE
DE JESUS MORALES, ANGEL            ADDRESS ON FILE
DE JESUS MORALES, ANTONIA          ADDRESS ON FILE
DE JESUS MORALES, ANTONIO          ADDRESS ON FILE
DE JESUS MORALES, BRYAN            ADDRESS ON FILE
DE JESUS MORALES, CARMEN           ADDRESS ON FILE
DE JESUS MORALES, CHARLES R        ADDRESS ON FILE
DE JESUS MORALES, CRUZ I.          ADDRESS ON FILE
DE JESUS MORALES, DENISSE          ADDRESS ON FILE
DE JESUS MORALES, EDUARDO          ADDRESS ON FILE
De Jesus Morales, Jeffrey W        ADDRESS ON FILE
DE JESUS MORALES, JESUS            ADDRESS ON FILE
DE JESUS MORALES, JOAMY            ADDRESS ON FILE
DE JESUS MORALES, JOSE L           ADDRESS ON FILE
DE JESUS MORALES, JOSUE            ADDRESS ON FILE
DE JESUS MORALES, KENNETH          ADDRESS ON FILE




                                                                               Page 2140 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2141 of 3500
                                                                               17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                   Address1                     Address2                                    Address3           Address4   City        State   PostalCode   Country
DE JESUS MORALES, KEVIN R       ADDRESS ON FILE
DE JESUS MORALES, MADELINE      ADDRESS ON FILE
DE JESUS MORALES, MARIA D       ADDRESS ON FILE
DE JESUS MORALES, NELSON        ADDRESS ON FILE
De Jesus Morales, Pedro J       ADDRESS ON FILE
DE JESUS MORALES, PEDRO J.      ADDRESS ON FILE
DE JESUS MORALES, REBECA        ADDRESS ON FILE
DE JESUS MORALES, REINALDO      ADDRESS ON FILE
De Jesus Morales, Reynaldo      ADDRESS ON FILE
DE JESUS MORALES, ROSAURA       ADDRESS ON FILE
DE JESUS MORALES, YAELLIS       ADDRESS ON FILE
DE JESUS MORALES, YAELLIS A     ADDRESS ON FILE
DE JESUS MORELL, RICHARD        ADDRESS ON FILE
DE JESUS MORENO, LYDIA E        ADDRESS ON FILE
DE JESUS MORENO, TERESA         ADDRESS ON FILE
DE JESUS MOUX, JORGE            ADDRESS ON FILE
DE JESUS MOYA, ROMEO            ADDRESS ON FILE
DE JESUS MULERO, WANDA I        ADDRESS ON FILE
DE JESUS MUNIZ, LISSETTE        ADDRESS ON FILE
DE JESUS MUNIZ, MARIA M.        ADDRESS ON FILE
DE JESUS MUNIZ, TERESA          ADDRESS ON FILE
DE JESUS MUNOZ, HECTOR R        ADDRESS ON FILE
DE JESUS MUNOZ, KATHERINE       ADDRESS ON FILE
DE JESUS MUNOZ, LADY I          ADDRESS ON FILE
DE JESUS MUNOZ, LADY I.         ADDRESS ON FILE
DE JESUS MUNOZ, NELSON          ADDRESS ON FILE
DE JESUS NARVAEZ, AGUSTIN       ADDRESS ON FILE
DE JESUS NAVARRO, HECTOR        ADDRESS ON FILE
DE JESUS NAVARRO, HERIBERTO     ADDRESS ON FILE
DE JESUS NAVARRO, MIGUEL A      ADDRESS ON FILE
DE JESUS NAVARRO, MILDRED       ADDRESS ON FILE
DE JESUS NAVARRO, MILDRED       LEONOR RODRIGUEZ RODRIGUEZ   URB. CIUDAD INTERAMERICANA                  694 CALLE MARLIN              BAYAMON     PR      00956
DE JESUS NAVARRO, MYRNA         ADDRESS ON FILE
De Jesus Navarro, Robert        ADDRESS ON FILE
DE JESUS NAVARRO, ROBERTO       ADDRESS ON FILE
DE JESUS NAVARRO, ROBERTO       ADDRESS ON FILE
De Jesus Navedo, Osvaldo A      ADDRESS ON FILE
DE JESUS NAZARIO, JONATHAN      ADDRESS ON FILE
DE JESUS NAZARIO, MICHAEL       ADDRESS ON FILE
DE JESUS NAZARIO, MICHAEL       ADDRESS ON FILE
DE JESUS NEGRON, DAMARIS        ADDRESS ON FILE
DE JESUS NEGRON, JOSE A         ADDRESS ON FILE
De Jesus Negron, Manuel A       ADDRESS ON FILE
DE JESUS NEGRON, MONICA E       ADDRESS ON FILE
DE JESUS NEGRON, NANCY          ADDRESS ON FILE
DE JESUS NEGRON, NELYMAR        ADDRESS ON FILE
DE JESUS NEGRON, NEREYDA        ADDRESS ON FILE
DE JESUS NEVAREZ, ROSABEL       ADDRESS ON FILE
DE JESUS NIEVES ,WILFREDO       ADDRESS ON FILE
DE JESUS NIEVES, ANGELITA       ADDRESS ON FILE
DE JESUS NIEVES, ANTONIO        ADDRESS ON FILE
DE JESUS NIEVES, BLANCA I       ADDRESS ON FILE
De Jesus Nieves, Carmen I       ADDRESS ON FILE
DE JESUS NIEVES, CARMEN M       ADDRESS ON FILE
DE JESUS NIEVES, DIANNE MARIE   ADDRESS ON FILE
DE JESUS NIEVES, EBEL           ADDRESS ON FILE
De Jesus Nieves, Felix D        ADDRESS ON FILE
DE JESUS NIEVES, HILDA          ADDRESS ON FILE
DE JESUS NIEVES, IRMA R         ADDRESS ON FILE
De Jesus Nieves, Ismael         ADDRESS ON FILE




                                                                                          Page 2141 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2142 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS NIEVES, JAFET        ADDRESS ON FILE
DE JESUS NIEVES, JOHANNA E.   ADDRESS ON FILE
DE JESUS NIEVES, LOURDES      ADDRESS ON FILE
De Jesus Nieves, Luis M.      ADDRESS ON FILE
DE JESUS NIEVES, MARIA        ADDRESS ON FILE
DE JESUS NIEVES, MARIA M      ADDRESS ON FILE
DE JESUS NIEVES, MIGDALIA     ADDRESS ON FILE
DE JESUS NIEVES, RAFAEL       ADDRESS ON FILE
DE JESUS NIEVES, ROSA I       ADDRESS ON FILE
DE JESUS NIEVES, TEOFILO      ADDRESS ON FILE
DE JESUS NIEVES, TOMMY        ADDRESS ON FILE
DE JESUS NIEVES, YOLANDA      ADDRESS ON FILE
DE JESUS NIEVES,LUIS M.       ADDRESS ON FILE
DE JESUS NUNEZ, HERMES        ADDRESS ON FILE
DE JESUS NUNEZ, MARIA DE L    ADDRESS ON FILE
DE JESUS NUNEZ, MILAGROS      ADDRESS ON FILE
DE JESUS OCASIO, CARMEN L     ADDRESS ON FILE
DE JESUS OCASIO, JOSE R       ADDRESS ON FILE
De Jesus Ocasio, Librado      ADDRESS ON FILE
DE JESUS OCASIO, LUIS A       ADDRESS ON FILE
DE JESUS OCASIO, MIGUEL       ADDRESS ON FILE
DE JESUS OCASIO, MIGUEL A     ADDRESS ON FILE
DE JESUS OCASIO, RAFAEL       ADDRESS ON FILE
DE JESUS OFRAY, ANGEL A.      ADDRESS ON FILE
DE JESUS OFRAY, EDDIE         ADDRESS ON FILE
DE JESUS OFRAY, EDDIE         ADDRESS ON FILE
DE JESUS OJEDA, DESIREE       ADDRESS ON FILE
DE JESUS OJEDA, MERALIS       ADDRESS ON FILE
DE JESUS OJEDA, SARA Y        ADDRESS ON FILE
DE JESUS OJEDA, WILLIAM       ADDRESS ON FILE
DE JESUS OJEDA, YOSANIL       ADDRESS ON FILE
DE JESUS OLAN, OSVALDO        ADDRESS ON FILE
DE JESUS OLAN, OSVALDO        ADDRESS ON FILE
DE JESUS OLIVENCIA, ELVIN     ADDRESS ON FILE
DE JESUS OLIVERA, CARMEN L    ADDRESS ON FILE
DE JESUS OLIVERAS, ESTEBAN    ADDRESS ON FILE
DE JESUS OLIVERAS, JOSE       ADDRESS ON FILE
DE JESUS OLIVERO, JUAN R      ADDRESS ON FILE
DE JESUS OLIVO, IDA           ADDRESS ON FILE
DE JESUS OLIVO, LOURDES M     ADDRESS ON FILE
DE JESUS OLIVO, WILLIE        ADDRESS ON FILE
DE JESUS OLMO, LUIS MIGUEL    ADDRESS ON FILE
DE JESUS OLMO, NANCY          ADDRESS ON FILE
DE JESUS OQUENDO, ABIGAIL     ADDRESS ON FILE
DE JESUS OQUENDO, BAUDILIO    ADDRESS ON FILE
DE JESUS OQUENDO, GERARDO     ADDRESS ON FILE
DE JESUS OQUENDO, IRAIDA      ADDRESS ON FILE
DE JESUS OQUENDO, ROBERTO     ADDRESS ON FILE
De Jesus Orengo, Christian    ADDRESS ON FILE
DE JESUS ORENGO, ONEIL        ADDRESS ON FILE
DE JESUS OROZCO, NANCY        ADDRESS ON FILE
DE JESUS ORPI, JAVIER         ADDRESS ON FILE
DE JESUS ORSINI, BETZAIDA     ADDRESS ON FILE
DE JESUS ORSINI, MARIANO      ADDRESS ON FILE
DE JESUS ORTA, VERONICA       ADDRESS ON FILE
DE JESUS ORTEGA, ANGEL        ADDRESS ON FILE
De Jesus Ortega, Joelys       ADDRESS ON FILE
DE JESUS ORTIZ, AIXA          ADDRESS ON FILE
DE JESUS ORTIZ, ANGEL         ADDRESS ON FILE
DE JESUS ORTIZ, ANTONIO F.    ADDRESS ON FILE




                                                                          Page 2142 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2143 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ORTIZ, CARLOS        ADDRESS ON FILE
DE JESUS ORTIZ, CARMEN L.     ADDRESS ON FILE
DE JESUS ORTIZ, CARMEN L.     ADDRESS ON FILE
DE JESUS ORTIZ, CATALINA      ADDRESS ON FILE
DE JESUS ORTIZ, CELESTINO     ADDRESS ON FILE
DE JESUS ORTIZ, DANIEL        ADDRESS ON FILE
DE JESUS ORTIZ, DAVID         ADDRESS ON FILE
DE JESUS ORTIZ, EDGARDO       ADDRESS ON FILE
DE JESUS ORTIZ, ESTHER        ADDRESS ON FILE
DE JESUS ORTIZ, EVALINA       ADDRESS ON FILE
DE JESUS ORTIZ, FELIX         ADDRESS ON FILE
DE JESUS ORTIZ, FREDDIE       ADDRESS ON FILE
DE JESUS ORTIZ, GIOVANNI      ADDRESS ON FILE
DE JESUS ORTIZ, IRIS          ADDRESS ON FILE
DE JESUS ORTIZ, IRIS M        ADDRESS ON FILE
DE JESUS ORTIZ, IRIS M        ADDRESS ON FILE
DE JESUS ORTIZ, IVAN          ADDRESS ON FILE
DE JESUS ORTIZ, IVELIZ        ADDRESS ON FILE
DE JESUS ORTIZ, JENNIE        ADDRESS ON FILE
DE JESUS ORTIZ, JESENIA       ADDRESS ON FILE
DE JESUS ORTIZ, JESUS         ADDRESS ON FILE
DE JESUS ORTIZ, JOHN          ADDRESS ON FILE
DE JESUS ORTIZ, JORGE M       ADDRESS ON FILE
De Jesus Ortiz, Jose A.       ADDRESS ON FILE
DE JESUS ORTIZ, JUAN          ADDRESS ON FILE
DE JESUS ORTIZ, LISANDRA      ADDRESS ON FILE
DE JESUS ORTIZ, LUIS          ADDRESS ON FILE
De Jesus Ortiz, Luis A        ADDRESS ON FILE
De Jesus Ortiz, Luis R        ADDRESS ON FILE
DE JESUS ORTIZ, MARIA         ADDRESS ON FILE
DE JESUS ORTIZ, MARIA DEL C   ADDRESS ON FILE
DE JESUS ORTIZ, MARIA E       ADDRESS ON FILE
DE JESUS ORTIZ, MARIO         ADDRESS ON FILE
DE JESUS ORTIZ, MIGUEL A      ADDRESS ON FILE
De Jesus Ortiz, Miguel A      ADDRESS ON FILE
DE JESUS ORTIZ, MILAGROS      ADDRESS ON FILE
DE JESUS ORTIZ, MILAGROS      ADDRESS ON FILE
DE JESUS ORTIZ, MILAGROS      ADDRESS ON FILE
DE JESUS ORTIZ, MIRIAM        ADDRESS ON FILE
DE JESUS ORTIZ, NILSA         ADDRESS ON FILE
DE JESUS ORTIZ, PONCIANO      ADDRESS ON FILE
De Jesus Ortiz, Rafael        ADDRESS ON FILE
DE JESUS ORTIZ, RENE          ADDRESS ON FILE
De Jesus Ortiz, Roberto       ADDRESS ON FILE
DE JESUS ORTIZ, RUTH M        ADDRESS ON FILE
DE JESUS ORTIZ, SERAFIN       ADDRESS ON FILE
DE JESUS ORTIZ, WILFREDO      ADDRESS ON FILE
DE JESUS ORTIZ, WILLIAM       ADDRESS ON FILE
DE JESUS ORTIZ, YAMIL         ADDRESS ON FILE
DE JESUS ORTIZ, ZANAIMA       ADDRESS ON FILE
DE JESUS ORTIZ, ZANAIMA       ADDRESS ON FILE
DE JESUS ORTIZ, ZULMA         ADDRESS ON FILE
DE JESUS OSORIO, CARMEN       ADDRESS ON FILE
DE JESUS OSORIO, MARIELYS     ADDRESS ON FILE
DE JESUS OTERO MD, FELIPE     ADDRESS ON FILE
De Jesus Otero, Carmen        ADDRESS ON FILE
DE JESUS OTERO, EDNA G.       ADDRESS ON FILE
DE JESUS OTERO, ELIZABETH     ADDRESS ON FILE
DE JESUS OTERO, ISRAEL        ADDRESS ON FILE
DE JESUS OTERO, JONATHAN      ADDRESS ON FILE




                                                                          Page 2143 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2144 of 3500
                                                                             17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                 Address1                            Address2                                 Address3              Address4   City         State   PostalCode   Country
De Jesus Otero, Jose D        ADDRESS ON FILE
De Jesus Otero, Jose E        ADDRESS ON FILE
DE JESUS OTERO, JOSELINE      ADDRESS ON FILE
DE JESUS OTERO, MARIA DE L.   ADDRESS ON FILE
DE JESUS OTERO, OLGA M.       ADDRESS ON FILE
DE JESUS OTERO, SANDRA A.     ADDRESS ON FILE
DE JESUS OTERO, YOLANDA       ADDRESS ON FILE
DE JESUS OYOLA, JUAN F        ADDRESS ON FILE
DE JESUS OYOLA, JUAN F        ADDRESS ON FILE
DE JESUS OYOLA, NATIVIDAD     ADDRESS ON FILE
DE JESUS OYOLA, ROSA M.       ADDRESS ON FILE
DE JESUS OYOLA, ROSA M.       ADDRESS ON FILE
DE JESUS PABON, YOLIMAR       ADDRESS ON FILE
DE JESUS PACHECO, EVELYN      ADDRESS ON FILE
DE JESUS PADILLA, CARLOS      ADDRESS ON FILE
DE JESUS PADILLA, XAVIER      ADDRESS ON FILE
DE JESUS PADILLA, YELITZA L   ADDRESS ON FILE
DE JESUS PADIN, MIGUEL        ADDRESS ON FILE
DE JESUS PAGAN, ALEX EFRAIN   ADDRESS ON FILE
DE JESUS PAGAN, ARACELIS      ADDRESS ON FILE
DE JESUS PAGAN, BRENDA        ADDRESS ON FILE
DE JESUS PAGAN, CRISTIAN      ADDRESS ON FILE
DE JESUS PAGAN, DORA E        ADDRESS ON FILE
DE JESUS PAGAN, EDUARDO       ADDRESS ON FILE
DE JESUS PAGAN, GUILLERMO     ADDRESS ON FILE
DE JESUS PAGAN, JOSE A        ADDRESS ON FILE
DE JESUS PAGAN, JOSE A.       ADDRESS ON FILE
DE JESUS PAGAN, JUAN          ADDRESS ON FILE
DE JESUS PAGAN, LUIS          ADDRESS ON FILE
DE JESUS PAGAN, MARIBEL       ADDRESS ON FILE
DE JESUS PAGAN, MARIBEL       ADDRESS ON FILE
DE JESUS PAGAN, MILDRED L     ADDRESS ON FILE
DE JESUS PAGAN, ODEMARIS      ADDRESS ON FILE
DE JESUS PAGAN, ODEMARIS      ADDRESS ON FILE
DE JESUS PAGAN, ODEMARIS      ADDRESS ON FILE
DE JESUS PAGAN, ROSA M        ADDRESS ON FILE
DE JESUS PAGAN, WILLIAM       ADDRESS ON FILE
DE JESUS PAGAN, YANITZA       ADDRESS ON FILE
DE JESUS PALER, JOSE A.       ADDRESS ON FILE
DE JESUS PALER,JOSE A.        ADDRESS ON FILE
DE JESUS PARRILLA JORGE       GAUDELYN SÁNCHEZ (ASEGURADORA)      LCDA.SÁNCHEZ‐PO BOX 1482                                                  GUAYNABO     PR      00970‐1482
DE JESUS PARRILLA JORGE       GERADO SANTIAGO PUIG (DEMANDANTE)   LCDO.SANTIAGO‐DORAL BANK PLAZA           33 CALLE RESOLUCIÓN   STE 801    SAN JUAN     PR      00920
DE JESUS PARRILLA, ANGELA     ADDRESS ON FILE
DE JESUS PARRILLA, JOSE       ADDRESS ON FILE
DE JESUS PARRILLA, MARILU     ADDRESS ON FILE
DE JESUS PARRILLA, YOMARI     ADDRESS ON FILE
DE JESUS PAZ, ADALBERTO       ADDRESS ON FILE
DE JESUS PAZ, HECTOR          ADDRESS ON FILE
DE JESUS PEDRAZA, CARMEN      ADDRESS ON FILE
DE JESUS PEDRAZA, CARMEN S    ADDRESS ON FILE
DE JESUS PEDRAZA, JANETTE     ADDRESS ON FILE
DE JESUS PENA, JOSE           ADDRESS ON FILE
DE JESUS PENA, JOSE A.        ADDRESS ON FILE
DE JESUS PENA, JOSE A.        ADDRESS ON FILE
DE JESUS PENA, RICARDO        ADDRESS ON FILE
DE JESUS PENA, ZYLKIA         ADDRESS ON FILE
DE JESUS PEQA, FLOR M         ADDRESS ON FILE
DE JESUS PEREIRA, ANTONIO     ADDRESS ON FILE
DE JESUS PEREZ, ABIMAEL       ADDRESS ON FILE
DE JESUS PEREZ, ALBERTO       ADDRESS ON FILE




                                                                                            Page 2144 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2145 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS PEREZ, ANDREW         ADDRESS ON FILE
DE JESUS PEREZ, ANNACARIE      ADDRESS ON FILE
DE JESUS PEREZ, BARBARA        ADDRESS ON FILE
DE JESUS PEREZ, BEATRIZ        ADDRESS ON FILE
DE JESUS PEREZ, CARMEN         ADDRESS ON FILE
DE JESUS PEREZ, CARMEN Y       ADDRESS ON FILE
DE JESUS PEREZ, DENISSE        ADDRESS ON FILE
DE JESUS PEREZ, DOLORES        ADDRESS ON FILE
DE JESUS PEREZ, EIRETE         ADDRESS ON FILE
DE JESUS PEREZ, ELIZABETH      ADDRESS ON FILE
DE JESUS PEREZ, FELICITA       ADDRESS ON FILE
DE JESUS PEREZ, FELIX          ADDRESS ON FILE
DE JESUS PEREZ, GAMALIER       ADDRESS ON FILE
DE JESUS PEREZ, GILBERTO       ADDRESS ON FILE
De Jesus Perez, Glenda Liz     ADDRESS ON FILE
DE JESUS PEREZ, GLENDALIZ      ADDRESS ON FILE
DE JESUS PEREZ, GUILLERMO E.   ADDRESS ON FILE
DE JESUS PEREZ, ISRAEL         ADDRESS ON FILE
DE JESUS PEREZ, JOSE           ADDRESS ON FILE
DE JESUS PEREZ, JOSE           ADDRESS ON FILE
DE JESUS PEREZ, JOSE           ADDRESS ON FILE
DE JESUS PEREZ, JOSE           ADDRESS ON FILE
DE JESUS PEREZ, JOSE R         ADDRESS ON FILE
DE JESUS PEREZ, JULIO          ADDRESS ON FILE
DE JESUS PEREZ, KRISTY         ADDRESS ON FILE
DE JESUS PEREZ, MARIA E        ADDRESS ON FILE
DE JESUS PEREZ, MARIBEL        ADDRESS ON FILE
DE JESUS PEREZ, MARIBELIS      ADDRESS ON FILE
DE JESUS PEREZ, MILAGROS       ADDRESS ON FILE
DE JESUS PEREZ, NELSON         ADDRESS ON FILE
DE JESUS PEREZ, NELSON         ADDRESS ON FILE
DE JESUS PEREZ, PATRICIA       ADDRESS ON FILE
DE JESUS PEREZ, RAFAEL         ADDRESS ON FILE
DE JESUS PEREZ, SAMUEL         ADDRESS ON FILE
DE JESUS PEREZ, WANDA I.       ADDRESS ON FILE
DE JESUS PEREZ, WILSON         ADDRESS ON FILE
DE JESUS PEREZ, ZUHEILL        ADDRESS ON FILE
DE JESUS PICON, DAMARIS        ADDRESS ON FILE
DE JESUS PIETRI, DERVA I       ADDRESS ON FILE
DE JESUS PIMENTEL, CECILIA     ADDRESS ON FILE
DE JESUS PIMENTEL, HECTOR I    ADDRESS ON FILE
DE JESUS PIMENTEL, JANICE      ADDRESS ON FILE
DE JESUS PINEDA, MARISOL       ADDRESS ON FILE
DE JESUS PINEDA, MARISOL       ADDRESS ON FILE
DE JESUS PINEIRO, LUZ J        ADDRESS ON FILE
DE JESUS PINEIRO, MILITZA      ADDRESS ON FILE
DE JESUS PIZARRO, ABIGAIL      ADDRESS ON FILE
DE JESUS PIZARRO, CONFESOR     ADDRESS ON FILE
DE JESUS PIZARRO, ELIENIS      ADDRESS ON FILE
DE JESUS PIZARRO, GLORIA E     ADDRESS ON FILE
DE JESUS PIZARRO, JENNY        ADDRESS ON FILE
DE JESUS PLA, CARLOS M         ADDRESS ON FILE
DE JESUS PLANAS, DARILYN       ADDRESS ON FILE
DE JESUS PLAZA, ALEJANDRO      ADDRESS ON FILE
DE JESUS POLACO, MAREDYS       ADDRESS ON FILE
DE JESUS POLANCO, ELSA M       ADDRESS ON FILE
DE JESUS POLANCO, JUDITH       ADDRESS ON FILE
DE JESUS PRATTS, EIDA E        ADDRESS ON FILE
DE JESUS PRIETO, ANGEL O       ADDRESS ON FILE
DE JESUS PUIG, NORMA           ADDRESS ON FILE




                                                                           Page 2145 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2146 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS QUILES, RUTH M         ADDRESS ON FILE
DE JESUS QUINONES MD, RAFAEL    ADDRESS ON FILE
DE JESUS QUINONES, ANA          ADDRESS ON FILE
DE JESUS QUINONES, ANA          ADDRESS ON FILE
DE JESUS QUINONES, ANA I.       ADDRESS ON FILE
DE JESUS QUINONES, BRUNILDA     ADDRESS ON FILE
DE JESUS QUINONES, ISABEL       ADDRESS ON FILE
DE JESUS QUINONES, JOSE         ADDRESS ON FILE
DE JESUS QUINONES, LOURDES      ADDRESS ON FILE
DE JESUS QUINONES, LUIS         ADDRESS ON FILE
DE JESUS QUINONES, WILMAR       ADDRESS ON FILE
DE JESUS RAMIREZ, ARLENE        ADDRESS ON FILE
DE JESUS RAMIREZ, ARLENE        ADDRESS ON FILE
DE JESUS RAMIREZ, MAYRA I       ADDRESS ON FILE
DE JESUS RAMIREZ, NICHOLE       ADDRESS ON FILE
DE JESUS RAMIREZ, SAMUEL        ADDRESS ON FILE
DE JESUS RAMOS, ALBA            ADDRESS ON FILE
DE JESUS RAMOS, ANA             ADDRESS ON FILE
DE JESUS RAMOS, ANGEL           ADDRESS ON FILE
DE JESUS RAMOS, BETZY           ADDRESS ON FILE
DE JESUS RAMOS, BLANCA E        ADDRESS ON FILE
DE JESUS RAMOS, EDILBERTO       ADDRESS ON FILE
De Jesus Ramos, Edwin           ADDRESS ON FILE
DE JESUS RAMOS, ELSIE           ADDRESS ON FILE
DE JESUS RAMOS, EMANUEL         ADDRESS ON FILE
DE JESUS RAMOS, ENEIDA          ADDRESS ON FILE
DE JESUS RAMOS, EVELYN          ADDRESS ON FILE
De Jesus Ramos, Heriberto L     ADDRESS ON FILE
DE JESUS RAMOS, JOCELYN         ADDRESS ON FILE
De Jesus Ramos, Jorge G.        ADDRESS ON FILE
DE JESUS RAMOS, JOSE L          ADDRESS ON FILE
DE JESUS RAMOS, LINNETTE        ADDRESS ON FILE
De Jesus Ramos, Luis G          ADDRESS ON FILE
DE JESUS RAMOS, LYDIA E         ADDRESS ON FILE
DE JESUS RAMOS, MADELINE        ADDRESS ON FILE
DE JESUS RAMOS, MARGARITA       ADDRESS ON FILE
DE JESUS RAMOS, MARIA M.        ADDRESS ON FILE
DE JESUS RAMOS, MARISOL         ADDRESS ON FILE
DE JESUS RAMOS, MIGUEL A        ADDRESS ON FILE
De Jesus Ramos, Olga E.         ADDRESS ON FILE
DE JESUS RAMOS, OMAR S          ADDRESS ON FILE
DE JESUS RAMOS, PABLO           ADDRESS ON FILE
DE JESUS RAMOS, PAMARIS         ADDRESS ON FILE
DE JESUS RAMOS, PEDRO           ADDRESS ON FILE
DE JESUS RAMOS, PEGGY ANN       ADDRESS ON FILE
DE JESUS RAMOS, RAFAEL          ADDRESS ON FILE
De Jesus Ramos, Rafael          ADDRESS ON FILE
DE JESUS RAMOS, YOJAN           ADDRESS ON FILE
DE JESUS RAMOS, YOLANDA         ADDRESS ON FILE
DE JESUS RAMOS, ZULMA           ADDRESS ON FILE
DE JESUS RAMOS, ZULMA Y.        ADDRESS ON FILE
DE JESUS RENTAS, SANDRA         ADDRESS ON FILE
DE JESUS REYES, ALICIA          ADDRESS ON FILE
DE JESUS REYES, ALICIA          ADDRESS ON FILE
DE JESUS REYES, AMANDA          ADDRESS ON FILE
DE JESUS REYES, AMANDA R        ADDRESS ON FILE
DE JESUS REYES, CAMILO          ADDRESS ON FILE
DE JESUS REYES, CARMEN JUDITH   ADDRESS ON FILE
DE JESUS REYES, HECTOR          ADDRESS ON FILE
De Jesus Reyes, Hector F        ADDRESS ON FILE




                                                                            Page 2146 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2147 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS REYES, IRIS VIOLETA   ADDRESS ON FILE
DE JESUS REYES, IRMA           ADDRESS ON FILE
DE JESUS REYES, JOSE I.        ADDRESS ON FILE
DE JESUS REYES, LILLIAM        ADDRESS ON FILE
DE JESUS REYES, LLILIAM        ADDRESS ON FILE
DE JESUS REYES, MIGUEL         ADDRESS ON FILE
DE JESUS REYES, PAMELA         ADDRESS ON FILE
DE JESUS REYES, SHYAM          ADDRESS ON FILE
De Jesus Reyes, Washington     ADDRESS ON FILE
DE JESUS REYES, WILFREDO       ADDRESS ON FILE
DE JESUS RIOS, BRYAN O         ADDRESS ON FILE
DE JESUS RIOS, CARMEN L        ADDRESS ON FILE
DE JESUS RIOS, IVELISSE        ADDRESS ON FILE
DE JESUS RIOS, LUIS            ADDRESS ON FILE
DE JESUS RIOS, LUIS H          ADDRESS ON FILE
DE JESUS RIOS, MARIA E         ADDRESS ON FILE
DE JESUS RIOS, MARIANETTE      ADDRESS ON FILE
DE JESUS RIVAS, EFRAIN         ADDRESS ON FILE
DE JESUS RIVAS, IVETTE         ADDRESS ON FILE
DE JESUS RIVAS, OLGA           ADDRESS ON FILE
DE JESUS RIVAS, PAULA          ADDRESS ON FILE
DE JESUS RIVAS, QUINTIN        ADDRESS ON FILE
DE JESUS RIVAS, SANTOS         ADDRESS ON FILE
DE JESUS RIVERA ,EDSANIA       ADDRESS ON FILE
De Jesus Rivera, Alberto       ADDRESS ON FILE
DE JESUS RIVERA, ALBERTO       ADDRESS ON FILE
DE JESUS RIVERA, AMANDA        ADDRESS ON FILE
DE JESUS RIVERA, AMARILIS      ADDRESS ON FILE
De Jesus Rivera, Ana I.        ADDRESS ON FILE
DE JESUS RIVERA, ANGEL         ADDRESS ON FILE
DE JESUS RIVERA, ANGEL         ADDRESS ON FILE
DE JESUS RIVERA, ANGEL L       ADDRESS ON FILE
DE JESUS RIVERA, ANGELITA      ADDRESS ON FILE
DE JESUS RIVERA, ANTONIO       ADDRESS ON FILE
DE JESUS RIVERA, BLANCA M      ADDRESS ON FILE
DE JESUS RIVERA, CARLOS        ADDRESS ON FILE
DE JESUS RIVERA, CARLOS E.     ADDRESS ON FILE
DE JESUS RIVERA, CARMEN        ADDRESS ON FILE
DE JESUS RIVERA, CARMEN G      ADDRESS ON FILE
DE JESUS RIVERA, CARMEN I      ADDRESS ON FILE
DE JESUS RIVERA, DAISY M       ADDRESS ON FILE
De Jesus Rivera, Daniel        ADDRESS ON FILE
DE JESUS RIVERA, DOLORES       ADDRESS ON FILE
DE JESUS RIVERA, DULCE         ADDRESS ON FILE
DE JESUS RIVERA, EDILBERTO     ADDRESS ON FILE
DE JESUS RIVERA, EDWIN         ADDRESS ON FILE
DE JESUS RIVERA, ELSA          ADDRESS ON FILE
De Jesus Rivera, Elvin L       ADDRESS ON FILE
DE JESUS RIVERA, EMELY         ADDRESS ON FILE
DE JESUS RIVERA, ERIEL         ADDRESS ON FILE
DE JESUS RIVERA, ESMERALDA     ADDRESS ON FILE
DE JESUS RIVERA, ESTHER M      ADDRESS ON FILE
DE JESUS RIVERA, EUGENIO       ADDRESS ON FILE
DE JESUS RIVERA, GALORY        ADDRESS ON FILE
DE JESUS RIVERA, GAMALIER      ADDRESS ON FILE
DE JESUS RIVERA, GIOVANNIE     ADDRESS ON FILE
DE JESUS RIVERA, GLORIA        ADDRESS ON FILE
DE JESUS RIVERA, GLORIA        ADDRESS ON FILE
DE JESUS RIVERA, GLORIA I.     ADDRESS ON FILE
DE JESUS RIVERA, HECTOR        ADDRESS ON FILE




                                                                           Page 2147 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2148 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS RIVERA, HERIBERTO      ADDRESS ON FILE
DE JESUS RIVERA, IDALINA        ADDRESS ON FILE
DE JESUS RIVERA, IRIS           ADDRESS ON FILE
DE JESUS RIVERA, IVAN           ADDRESS ON FILE
DE JESUS RIVERA, JAELIS         ADDRESS ON FILE
DE JESUS RIVERA, JANETT         ADDRESS ON FILE
DE JESUS RIVERA, JANETTE        ADDRESS ON FILE
DE JESUS RIVERA, JAVIER         ADDRESS ON FILE
DE JESUS RIVERA, JESUS          ADDRESS ON FILE
DE JESUS RIVERA, JESUS M.       ADDRESS ON FILE
DE JESUS RIVERA, JEZREEL I.     ADDRESS ON FILE
DE JESUS RIVERA, JONATHAN       ADDRESS ON FILE
DE JESUS RIVERA, JORGE          ADDRESS ON FILE
DE JESUS RIVERA, JORGE A        ADDRESS ON FILE
DE JESUS RIVERA, JORGE L.       ADDRESS ON FILE
De Jesus Rivera, Jose           ADDRESS ON FILE
DE JESUS RIVERA, JOSE           ADDRESS ON FILE
DE JESUS RIVERA, JOSE           ADDRESS ON FILE
DE JESUS RIVERA, JOSE           ADDRESS ON FILE
DE JESUS RIVERA, JOSE A.        ADDRESS ON FILE
DE JESUS RIVERA, JOSE B         ADDRESS ON FILE
De Jesus Rivera, Jose L         ADDRESS ON FILE
DE JESUS RIVERA, JOSE L.        ADDRESS ON FILE
DE JESUS RIVERA, JUAN           ADDRESS ON FILE
DE JESUS RIVERA, JUAN A         ADDRESS ON FILE
DE JESUS RIVERA, JUAN A         ADDRESS ON FILE
DE JESUS RIVERA, JUAN C         ADDRESS ON FILE
DE JESUS RIVERA, JUAN R         ADDRESS ON FILE
DE JESUS RIVERA, JULIO          ADDRESS ON FILE
De Jesus Rivera, Julio E        ADDRESS ON FILE
DE JESUS RIVERA, JULIO E.       ADDRESS ON FILE
DE JESUS RIVERA, LAURA M        ADDRESS ON FILE
DE JESUS RIVERA, LEGNA          ADDRESS ON FILE
DE JESUS RIVERA, LESLIE         ADDRESS ON FILE
DE JESUS RIVERA, LILLIAM        ADDRESS ON FILE
DE JESUS RIVERA, LISSETE        ADDRESS ON FILE
DE JESUS RIVERA, LIZ A          ADDRESS ON FILE
DE JESUS RIVERA, LIZAT L        ADDRESS ON FILE
DE JESUS RIVERA, LUDUVINA       ADDRESS ON FILE
DE JESUS RIVERA, LUIS           ADDRESS ON FILE
De Jesus Rivera, Luis A         ADDRESS ON FILE
DE JESUS RIVERA, LUZ            ADDRESS ON FILE
DE JESUS RIVERA, MANUEL         ADDRESS ON FILE
DE JESUS RIVERA, MANUEL         ADDRESS ON FILE
DE JESUS RIVERA, MANUEL         ADDRESS ON FILE
DE JESUS RIVERA, MARGARITA R.   ADDRESS ON FILE
DE JESUS RIVERA, MARIA DEL C    ADDRESS ON FILE
DE JESUS RIVERA, MARIA M        ADDRESS ON FILE
DE JESUS RIVERA, MARILUZ        ADDRESS ON FILE
DE JESUS RIVERA, MARILYN        ADDRESS ON FILE
DE JESUS RIVERA, MARILYN        ADDRESS ON FILE
DE JESUS RIVERA, MARISOL        ADDRESS ON FILE
DE JESUS RIVERA, MARY LUZ       ADDRESS ON FILE
DE JESUS RIVERA, MAURI          ADDRESS ON FILE
De Jesus Rivera, Mauri          ADDRESS ON FILE
DE JESUS RIVERA, MIGUEL         ADDRESS ON FILE
De Jesus Rivera, Miguel A       ADDRESS ON FILE
DE JESUS RIVERA, MILDRED A      ADDRESS ON FILE
DE JESUS RIVERA, MIRELLYS       ADDRESS ON FILE
DE JESUS RIVERA, MIRTA          ADDRESS ON FILE




                                                                            Page 2148 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2149 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                     Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
DE JESUS RIVERA, MIRTA L.         ADDRESS ON FILE
DE JESUS RIVERA, MYRIAM           ADDRESS ON FILE
DE JESUS RIVERA, NELIDA           ADDRESS ON FILE
DE JESUS RIVERA, OLGA             ADDRESS ON FILE
DE JESUS RIVERA, OTONIEL          ADDRESS ON FILE
DE JESUS RIVERA, PABLO            ADDRESS ON FILE
DE JESÚS RIVERA, RAFAEL           LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
DE JESÚS RIVERA, RAFAEL           LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
DE JESUS RIVERA, RAFAEL           ADDRESS ON FILE
De Jesus Rivera, Rafael A         ADDRESS ON FILE
DE JESUS RIVERA, REY              ADDRESS ON FILE
DE JESUS RIVERA, REYNALDO         ADDRESS ON FILE
DE JESUS RIVERA, ROSA             ADDRESS ON FILE
DE JESUS RIVERA, ROSA H           ADDRESS ON FILE
DE JESUS RIVERA, ROSA M           ADDRESS ON FILE
DE JESUS RIVERA, SANDRA           ADDRESS ON FILE
DE JESUS RIVERA, SHAKIRA          ADDRESS ON FILE
DE JESUS RIVERA, SHYLENE          ADDRESS ON FILE
DE JESUS RIVERA, SILVIA           ADDRESS ON FILE
DE JESUS RIVERA, SONIA            ADDRESS ON FILE
DE JESUS RIVERA, VLADIMIR         ADDRESS ON FILE
DE JESUS RIVERA, WANDA I          ADDRESS ON FILE
DE JESUS RIVERA, WILLIAM          ADDRESS ON FILE
DE JESUS RIVERA, WILMA            ADDRESS ON FILE
De Jesus Rivera, Wilma I          ADDRESS ON FILE
DE JESUS RIVERA, YASHIRA          ADDRESS ON FILE
DE JESUS RIVERA, YESENIA          ADDRESS ON FILE
De Jesus Rivera, Yolanda          ADDRESS ON FILE
DE JESUS RIVERA, YOLANDA          ADDRESS ON FILE
DE JESUS RIVERA, ZORAIDA          ADDRESS ON FILE
DE JESUS RIVERA, ZULMA I          ADDRESS ON FILE
DE JESUS RIVERA,TIMOTHY           ADDRESS ON FILE
DE JESUS RIVERO, JENNIFER         ADDRESS ON FILE
De Jesus Robledo, Loyda           ADDRESS ON FILE
DE JESUS ROBLES, JOEL             ADDRESS ON FILE
De Jesus Robles, Johaira A        ADDRESS ON FILE
DE JESUS RODRIGEZ, STEFANIE       ADDRESS ON FILE
DE JESUS RODRIGUEZ, ADA           ADDRESS ON FILE
DE JESUS RODRIGUEZ, ADA L         ADDRESS ON FILE
DE JESUS RODRIGUEZ, AIDA I        ADDRESS ON FILE
DE JESUS RODRIGUEZ, AIXA I        ADDRESS ON FILE
DE JESUS RODRIGUEZ, ALEXYS        ADDRESS ON FILE
De Jesus Rodriguez, Altaban       ADDRESS ON FILE
DE JESUS RODRIGUEZ, ANA M         ADDRESS ON FILE
DE JESUS RODRIGUEZ, ANGEL         ADDRESS ON FILE
DE JESUS RODRIGUEZ, ANGELA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, ANGELA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, ANGELICA M    ADDRESS ON FILE
De Jesus Rodriguez, Angelica M.   ADDRESS ON FILE
DE JESUS RODRIGUEZ, AWILDA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, CARLOS        ADDRESS ON FILE
DE JESUS RODRIGUEZ, CARMEN        ADDRESS ON FILE
DE JESUS RODRIGUEZ, CARMEN A      ADDRESS ON FILE
DE JESUS RODRIGUEZ, CARMEN I      ADDRESS ON FILE
DE JESUS RODRIGUEZ, CARMEN L      ADDRESS ON FILE
DE JESUS RODRIGUEZ, DAMARIS       ADDRESS ON FILE
DE JESUS RODRIGUEZ, DENNIS        ADDRESS ON FILE
DE JESUS RODRIGUEZ, DOMINGO       ADDRESS ON FILE
DE JESUS RODRIGUEZ, EDNYDIA       ADDRESS ON FILE
DE JESUS RODRIGUEZ, EDWIN         ADDRESS ON FILE




                                                                                       Page 2149 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2150 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS RODRIGUEZ, EDWIN          ADDRESS ON FILE
DE JESUS RODRIGUEZ, EFRAIN         ADDRESS ON FILE
DE JESUS RODRIGUEZ, ELIZABETH      ADDRESS ON FILE
DE JESUS RODRIGUEZ, ERIKA          ADDRESS ON FILE
DE JESUS RODRIGUEZ, ERIKA          ADDRESS ON FILE
DE JESUS RODRIGUEZ, EVA L          ADDRESS ON FILE
DE JESUS RODRIGUEZ, FERNANDO A     ADDRESS ON FILE
DE JESUS RODRIGUEZ, FRANCELYN      ADDRESS ON FILE
DE JESUS RODRIGUEZ, FRANCISCO      ADDRESS ON FILE
DE JESUS RODRIGUEZ, HECTOR         ADDRESS ON FILE
De Jesus Rodriguez, Hector H       ADDRESS ON FILE
DE JESUS RODRIGUEZ, HOLANDA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, ILIANA         ADDRESS ON FILE
DE JESUS RODRIGUEZ, IRAIDA         ADDRESS ON FILE
DE JESUS RODRIGUEZ, IRAIDA         ADDRESS ON FILE
DE JESUS RODRIGUEZ, IRIS J         ADDRESS ON FILE
DE JESUS RODRIGUEZ, IRMA           ADDRESS ON FILE
DE JESUS RODRIGUEZ, JAIME          ADDRESS ON FILE
DE JESUS RODRIGUEZ, JAIME          ADDRESS ON FILE
DE JESUS RODRIGUEZ, JAMILET        ADDRESS ON FILE
DE JESUS RODRIGUEZ, JERRY          ADDRESS ON FILE
DE JESUS RODRIGUEZ, JESSICA M.     ADDRESS ON FILE
DE JESUS RODRIGUEZ, JESUS          ADDRESS ON FILE
DE JESUS RODRIGUEZ, JIMMY          ADDRESS ON FILE
DE JESUS RODRIGUEZ, JOSE           ADDRESS ON FILE
De Jesus Rodriguez, Jose           ADDRESS ON FILE
DE JESUS RODRIGUEZ, JOSE           ADDRESS ON FILE
DE JESUS RODRIGUEZ, JOSEPH         ADDRESS ON FILE
De Jesus Rodriguez, Juan           ADDRESS ON FILE
DE JESUS RODRIGUEZ, JUAN           ADDRESS ON FILE
DE JESUS RODRIGUEZ, JUAN           ADDRESS ON FILE
DE JESUS RODRIGUEZ, JULIO C        ADDRESS ON FILE
DE JESUS RODRIGUEZ, LAUDALINA      ADDRESS ON FILE
DE JESUS RODRIGUEZ, LUIS           ADDRESS ON FILE
DE JESUS RODRIGUEZ, LUIS           ADDRESS ON FILE
DE JESUS RODRIGUEZ, LUIS ALBERTO   ADDRESS ON FILE
DE JESUS RODRIGUEZ, LUZ            ADDRESS ON FILE
DE JESUS RODRIGUEZ, LYDIA I        ADDRESS ON FILE
DE JESUS RODRIGUEZ, LYDIA M        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MADELINE       ADDRESS ON FILE
DE JESUS RODRIGUEZ, MANUEL         ADDRESS ON FILE
DE JESUS RODRIGUEZ, MANUELA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARIA          ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARIA          ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARIA          ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARIA DEL      ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARIA I        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARICELI       ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARILYN        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARILYN        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARILYN        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARITZA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MARLIN J       ADDRESS ON FILE
DE JESUS RODRIGUEZ, MASIEL         ADDRESS ON FILE
DE JESUS RODRIGUEZ, MAYDA E        ADDRESS ON FILE
DE JESUS RODRIGUEZ, MELVIN         ADDRESS ON FILE
DE JESUS RODRIGUEZ, MIGUEL         ADDRESS ON FILE
De Jesus Rodriguez, Miguelina      ADDRESS ON FILE
DE JESUS RODRIGUEZ, MIGUELINA      ADDRESS ON FILE
DE JESUS RODRIGUEZ, MILDRED        ADDRESS ON FILE




                                                                               Page 2150 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2151 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS RODRIGUEZ, MOISES       ADDRESS ON FILE
DE JESUS RODRIGUEZ, MYRNA        ADDRESS ON FILE
DE JESUS RODRIGUEZ, NANCY        ADDRESS ON FILE
DE JESUS RODRIGUEZ, NANCY        ADDRESS ON FILE
DE JESUS RODRIGUEZ, NANCY        ADDRESS ON FILE
DE JESUS RODRIGUEZ, NILSA I      ADDRESS ON FILE
DE JESUS RODRIGUEZ, ORLANDO      ADDRESS ON FILE
De Jesus Rodriguez, Orlando E.   ADDRESS ON FILE
DE JESUS RODRIGUEZ, PABLO        ADDRESS ON FILE
DE JESUS RODRIGUEZ, PEDRO        ADDRESS ON FILE
DE JESUS RODRIGUEZ, RAMON        ADDRESS ON FILE
DE JESUS RODRIGUEZ, REINES       ADDRESS ON FILE
DE JESUS RODRIGUEZ, REINES       ADDRESS ON FILE
DE JESUS RODRIGUEZ, RENE         ADDRESS ON FILE
DE JESUS RODRIGUEZ, ROSA E       ADDRESS ON FILE
DE JESUS RODRIGUEZ, ROSA H       ADDRESS ON FILE
DE JESUS RODRIGUEZ, TANIA L.     ADDRESS ON FILE
DE JESUS RODRIGUEZ, XIOMARA      ADDRESS ON FILE
DE JESUS RODRIGUEZ, YADIRA       ADDRESS ON FILE
DE JESUS RODRIGUEZ, ZORAIDA      ADDRESS ON FILE
DE JESUS ROJAS, JANET            ADDRESS ON FILE
De Jesus Rojas, Jennette         ADDRESS ON FILE
DE JESUS ROJAS, JENNETTE         ADDRESS ON FILE
DE JESUS ROJAS, MANUELA          ADDRESS ON FILE
DE JESUS ROJAS, MARIA DE L.      ADDRESS ON FILE
DE JESUS ROLDAN, MOISES          ADDRESS ON FILE
DE JESUS ROLON, CYNTHIA          ADDRESS ON FILE
DE JESUS ROLON, RUBEN            ADDRESS ON FILE
DE JESUS ROMAN MD, TOMAS         ADDRESS ON FILE
DE JESUS ROMAN, ANGEL            ADDRESS ON FILE
DE JESUS ROMAN, ANGEL L          ADDRESS ON FILE
DE JESUS ROMAN, ARELIS           ADDRESS ON FILE
DE JESUS ROMAN, AYLEEN L.        ADDRESS ON FILE
DE JESUS ROMAN, BERNICE          ADDRESS ON FILE
DE JESUS ROMAN, BERNICE          ADDRESS ON FILE
DE JESUS ROMAN, DESIREE          ADDRESS ON FILE
DE JESUS ROMAN, EVELYN           ADDRESS ON FILE
DE JESUS ROMAN, IDRISSA          ADDRESS ON FILE
DE JESUS ROMAN, JANICE           ADDRESS ON FILE
DE JESUS ROMAN, JOCELYN          ADDRESS ON FILE
DE JESUS ROMAN, JOSE A.          ADDRESS ON FILE
DE JESUS ROMAN, JULIA            ADDRESS ON FILE
DE JESUS ROMAN, KEILA M          ADDRESS ON FILE
DE JESUS ROMAN, LOAIZA           ADDRESS ON FILE
DE JESUS ROMAN, LYDIA E          ADDRESS ON FILE
DE JESUS ROMAN, MIGDALIA         ADDRESS ON FILE
DE JESUS ROMAN, MIGUEL A         ADDRESS ON FILE
DE JESUS ROMAN, MIRTA L          ADDRESS ON FILE
DE JESUS ROMAN, OMAR             ADDRESS ON FILE
DE JESUS ROMERO, BETHZAIDA       ADDRESS ON FILE
DE JESUS ROMERO, CARMEN I        ADDRESS ON FILE
DE JESUS ROMERO, EDNA N          ADDRESS ON FILE
DE JESUS ROMERO, HAYDEE          ADDRESS ON FILE
DE JESUS ROMERO, MARIA I         ADDRESS ON FILE
DE JESUS ROMERO, NADGIE          ADDRESS ON FILE
DE JESUS ROMERO,AMALIA           ADDRESS ON FILE
DE JESUS ROQUE, FERNANDO         ADDRESS ON FILE
DE JESUS ROSA, ALISHA I.         ADDRESS ON FILE
DE JESUS ROSA, CARMEN R.         ADDRESS ON FILE
DE JESUS ROSA, FERNANDO          ADDRESS ON FILE




                                                                             Page 2151 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2152 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ROSA, GEORGINA E         ADDRESS ON FILE
DE JESUS ROSA, IVAN               ADDRESS ON FILE
DE JESUS ROSA, JOSE               ADDRESS ON FILE
DE JESUS ROSA, JOSE               ADDRESS ON FILE
DE JESUS ROSA, JOSE A.            ADDRESS ON FILE
DE JESUS ROSA, JOSE L             ADDRESS ON FILE
DE JESUS ROSA, MARTA L            ADDRESS ON FILE
DE JESUS ROSA, NINOTCHKA          ADDRESS ON FILE
DE JESUS ROSA, SANTY              ADDRESS ON FILE
DE JESUS ROSA, VIVIAN             ADDRESS ON FILE
DE JESUS ROSADO, ANDRES           ADDRESS ON FILE
DE JESUS ROSADO, ANGELINA         ADDRESS ON FILE
DE JESUS ROSADO, BIENVENIDO       ADDRESS ON FILE
DE JESUS ROSADO, CARLOS I.        ADDRESS ON FILE
DE JESUS ROSADO, EDUVINA          ADDRESS ON FILE
DE JESUS ROSADO, GLORIA E         ADDRESS ON FILE
De Jesus Rosado, Jose M           ADDRESS ON FILE
DE JESUS ROSADO, JUAN A           ADDRESS ON FILE
DE JESUS ROSADO, SANDRA           ADDRESS ON FILE
DE JESUS ROSADO, ZULMA            ADDRESS ON FILE
DE JESUS ROSALY, ALEJANDRA        ADDRESS ON FILE
DE JESUS ROSARIO, AILEEN          ADDRESS ON FILE
DE JESUS ROSARIO, ANGEL           ADDRESS ON FILE
DE JESUS ROSARIO, BETSY           ADDRESS ON FILE
DE JESUS ROSARIO, DIMAS L         ADDRESS ON FILE
DE JESUS ROSARIO, JOSE            ADDRESS ON FILE
De Jesus Rosario, Juan C.         ADDRESS ON FILE
DE JESUS ROSARIO, KENNETH G       ADDRESS ON FILE
DE JESUS ROSARIO, LUIS            ADDRESS ON FILE
DE JESUS ROSARIO, LYDIA E         ADDRESS ON FILE
DE JESUS ROSARIO, MADELINE        ADDRESS ON FILE
DE JESUS ROSARIO, MARCOS A.       ADDRESS ON FILE
De Jesus Rosario, Maria           ADDRESS ON FILE
DE JESUS ROSARIO, MARIA B         ADDRESS ON FILE
DE JESUS ROSARIO, MARIA DE L.A.   ADDRESS ON FILE
DE JESUS ROSARIO, MYRNA           ADDRESS ON FILE
DE JESUS RUBERTE, HERMINIA        ADDRESS ON FILE
DE JESUS RUBET, OLGA ESTHER       ADDRESS ON FILE
DE JESUS RUIZ, ANA M              ADDRESS ON FILE
DE JESUS RUIZ, CARLOS             ADDRESS ON FILE
DE JESUS RUIZ, ENRIQUE            ADDRESS ON FILE
DE JESUS RUIZ, ESPERANZA          ADDRESS ON FILE
DE JESUS RUIZ, FRANCISCO          ADDRESS ON FILE
DE JESUS RUIZ, JOSEPH             ADDRESS ON FILE
DE JESUS RUIZ, LIZAIDEE           ADDRESS ON FILE
DE JESUS RUIZ, MARA CRISTINA      ADDRESS ON FILE
DE JESUS RUIZ, MARIA Y            ADDRESS ON FILE
De Jesus Ruiz, Pablo              ADDRESS ON FILE
DE JESUS RUIZ, RAYMOND            ADDRESS ON FILE
DE JESUS RUIZ, ROBERTO            ADDRESS ON FILE
DE JESUS RUIZ, TEDDY A.           ADDRESS ON FILE
DE JESUS RUIZ, VIRGEN             ADDRESS ON FILE
DE JESUS RULLAN, JIVETTE M.       ADDRESS ON FILE
DE JESUS RULLAN, JOSE             ADDRESS ON FILE
DE JESUS RUPERT, LEONOR           ADDRESS ON FILE
DE JESUS SAEZ, FELIX              ADDRESS ON FILE
DE JESUS SAEZ, MILTON             ADDRESS ON FILE
DE JESUS SALAZAR, SONIA           ADDRESS ON FILE
DE JESUS SALAZAR, WILLIAM         ADDRESS ON FILE
DE JESUS SALDANA, ANGEL           ADDRESS ON FILE




                                                                              Page 2152 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2153 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS SALDANA, ANGEL          ADDRESS ON FILE
DE JESUS SALDANA, ELIEZER        ADDRESS ON FILE
DE JESUS SALVA, HERMINIO         ADDRESS ON FILE
DE JESUS SAN MIGUEL, EMMA        ADDRESS ON FILE
DE JESUS SAN MIGUEL, MILDRED     ADDRESS ON FILE
DE JESUS SANABRIA, AIDA          ADDRESS ON FILE
De Jesus Sanabria, Isaias        ADDRESS ON FILE
DE JESUS SANABRIA, NORA E        ADDRESS ON FILE
DE JESUS SANCHEZ, ANTONIO        ADDRESS ON FILE
DE JESUS SANCHEZ, ARACELIS       ADDRESS ON FILE
DE JESUS SANCHEZ, CARLOS         ADDRESS ON FILE
DE JESUS SANCHEZ, DENNIS         ADDRESS ON FILE
DE JESUS SANCHEZ, EVELYN         ADDRESS ON FILE
DE JESUS SANCHEZ, FELIPE         ADDRESS ON FILE
DE JESUS SANCHEZ, HECTOR         ADDRESS ON FILE
DE JESUS SANCHEZ, HECTOR         ADDRESS ON FILE
DE JESUS SANCHEZ, IRIS Y         ADDRESS ON FILE
De Jesus Sanchez, Isaias         ADDRESS ON FILE
DE JESUS SANCHEZ, JAVIER         ADDRESS ON FILE
DE JESUS SANCHEZ, JORGE A        ADDRESS ON FILE
DE JESUS SANCHEZ, JOSEFINA       ADDRESS ON FILE
DE JESUS SANCHEZ, JULISSA        ADDRESS ON FILE
DE JESUS SANCHEZ, KENNETH        ADDRESS ON FILE
DE JESUS SANCHEZ, LIANY          ADDRESS ON FILE
DE JESUS SANCHEZ, LORNA          ADDRESS ON FILE
DE JESUS SANCHEZ, LORNA M.       ADDRESS ON FILE
DE JESUS SANCHEZ, MARCOS         ADDRESS ON FILE
DE JESUS SANCHEZ, MARIA ISABEL   ADDRESS ON FILE
DE JESUS SANCHEZ, MAYRA          ADDRESS ON FILE
DE JESUS SANCHEZ, MILAGROS       ADDRESS ON FILE
DE JESUS SANCHEZ, MILDRED        ADDRESS ON FILE
DE JESUS SANCHEZ, REBECA         ADDRESS ON FILE
DE JESUS SANCHEZ, RUBEN          ADDRESS ON FILE
DE JESUS SANCHEZ, RUTH I         ADDRESS ON FILE
DE JESUS SANCHEZ, THELMA D       ADDRESS ON FILE
DE JESUS SANCHEZ, TOMAS          ADDRESS ON FILE
DE JESUS SANJURJO, GEOVANNY      ADDRESS ON FILE
DE JESUS SANJURJO, JULIO E.      ADDRESS ON FILE
DE JESUS SANTA, CARMEN           ADDRESS ON FILE
DE JESUS SANTA, ELISA            ADDRESS ON FILE
DE JESUS SANTA, GLORIA           ADDRESS ON FILE
DE JESUS SANTA, RUBEN            ADDRESS ON FILE
DE JESUS SANTA, WILLIAM          ADDRESS ON FILE
DE JESUS SANTAN, ROBERTO         ADDRESS ON FILE
DE JESUS SANTANA, ANNETTE        ADDRESS ON FILE
DE JESUS SANTANA, BASILISA       ADDRESS ON FILE
DE JESUS SANTANA, CARMEN         ADDRESS ON FILE
DE JESUS SANTANA, CHRISTIAN      ADDRESS ON FILE
DE JESUS SANTANA, JULIA M.       ADDRESS ON FILE
DE JESUS SANTANA, LESBIA         ADDRESS ON FILE
DE JESUS SANTANA, LUIS E         ADDRESS ON FILE
DE JESUS SANTANA, MARCOS         ADDRESS ON FILE
DE JESUS SANTANA, MARIBEL        ADDRESS ON FILE
DE JESUS SANTANA, MIRIAM         ADDRESS ON FILE
DE JESUS SANTANA, NOEL           ADDRESS ON FILE
DE JESUS SANTANA, OSVALDO        ADDRESS ON FILE
DE JESUS SANTANA, ROSA           ADDRESS ON FILE
DE JESUS SANTANA, SOCORRO        ADDRESS ON FILE
DE JESUS SANTANA, WILLIAM        ADDRESS ON FILE
DE JESUS SANTANA, WILLIAM        ADDRESS ON FILE




                                                                             Page 2153 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2154 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS SANTIAGO, ALEXANDER    ADDRESS ON FILE
DE JESUS SANTIAGO, ANA A        ADDRESS ON FILE
DE JESUS SANTIAGO, ANGEL L      ADDRESS ON FILE
De Jesus Santiago, Anselmo      ADDRESS ON FILE
De Jesus Santiago, Arleen       ADDRESS ON FILE
DE JESUS SANTIAGO, BRAULIO      ADDRESS ON FILE
DE JESUS SANTIAGO, CANDIDA      ADDRESS ON FILE
DE JESUS SANTIAGO, CARMEN       ADDRESS ON FILE
DE JESUS SANTIAGO, CARMEN       ADDRESS ON FILE
De Jesus Santiago, Carmen I     ADDRESS ON FILE
DE JESUS SANTIAGO, CARMEN L     ADDRESS ON FILE
De Jesus Santiago, Carmen S     ADDRESS ON FILE
DE JESUS SANTIAGO, CRISTINA     ADDRESS ON FILE
DE JESUS SANTIAGO, DIANA L      ADDRESS ON FILE
DE JESUS SANTIAGO, EDNA V       ADDRESS ON FILE
DE JESUS SANTIAGO, ELBA L       ADDRESS ON FILE
DE JESUS SANTIAGO, GLORIA       ADDRESS ON FILE
DE JESUS SANTIAGO, HELNERY      ADDRESS ON FILE
DE JESUS SANTIAGO, HERBERT      ADDRESS ON FILE
DE JESUS SANTIAGO, HIPOLITO     ADDRESS ON FILE
DE JESUS SANTIAGO, ILEANA       ADDRESS ON FILE
DE JESUS SANTIAGO, JEANNETTE    ADDRESS ON FILE
DE JESUS SANTIAGO, JESUS        ADDRESS ON FILE
DE JESUS SANTIAGO, JESUS M      ADDRESS ON FILE
DE JESUS SANTIAGO, JOSE         ADDRESS ON FILE
DE JESUS SANTIAGO, JOSE         ADDRESS ON FILE
De Jesus Santiago, Jose M.      ADDRESS ON FILE
DE JESUS SANTIAGO, JOSUE        ADDRESS ON FILE
DE JESUS SANTIAGO, JULIO        ADDRESS ON FILE
DE JESUS SANTIAGO, JULIO        ADDRESS ON FILE
DE JESUS SANTIAGO, JULIO A      ADDRESS ON FILE
DE JESUS SANTIAGO, KAREN M      ADDRESS ON FILE
DE JESUS SANTIAGO, LUCY DELIA   ADDRESS ON FILE
DE JESUS SANTIAGO, LUIS         ADDRESS ON FILE
DE JESUS SANTIAGO, LUIS M       ADDRESS ON FILE
DE JESUS SANTIAGO, MARIA I      ADDRESS ON FILE
DE JESUS SANTIAGO, MARILYN      ADDRESS ON FILE
DE JESUS SANTIAGO, MIGDALIA     ADDRESS ON FILE
DE JESUS SANTIAGO, MIGUEL       ADDRESS ON FILE
De Jesus Santiago, Miguel A     ADDRESS ON FILE
DE JESUS SANTIAGO, MIGUEL A     ADDRESS ON FILE
DE JESUS SANTIAGO, MINERVA      ADDRESS ON FILE
DE JESUS SANTIAGO, REINALDO     ADDRESS ON FILE
DE JESUS SANTIAGO, ROSA L.      ADDRESS ON FILE
DE JESUS SANTIAGO, SANDRA I     ADDRESS ON FILE
DE JESUS SANTIAGO, SERGIA       ADDRESS ON FILE
DE JESUS SANTIAGO, SOCORRO      ADDRESS ON FILE
DE JESUS SANTIAGO, STEVEN       ADDRESS ON FILE
De Jesus Santiago, William      ADDRESS ON FILE
De Jesus Santiago, Wilson       ADDRESS ON FILE
DE JESUS SANTIAGO, YESENIA      ADDRESS ON FILE
DE JESUS SANTIAGO, ZULEIKA      ADDRESS ON FILE
DE JESUS SANTOS, ANA J          ADDRESS ON FILE
DE JESUS SANTOS, ANTONIA        ADDRESS ON FILE
DE JESUS SANTOS, BRUNILDA       ADDRESS ON FILE
DE JESUS SANTOS, CARLOS I       ADDRESS ON FILE
DE JESUS SANTOS, CLARA          ADDRESS ON FILE
DE JESUS SANTOS, EFRAIN         ADDRESS ON FILE
DE JESUS SANTOS, JOSE           ADDRESS ON FILE
DE JESUS SANTOS, JOSE L         ADDRESS ON FILE




                                                                            Page 2154 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2155 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS SANTOS, MILDRED        ADDRESS ON FILE
DE JESUS SANTOS, PEDRO          ADDRESS ON FILE
DE JESUS SANTOS, REINALDO       ADDRESS ON FILE
DE JESUS SANTOS, TRINIDAD       ADDRESS ON FILE
DE JESUS SARMIENTO, ERNESTO A   ADDRESS ON FILE
DE JESUS SARMIENTO, JENNY       ADDRESS ON FILE
DE JESUS SARMIENTO, JENNY A     ADDRESS ON FILE
DE JESUS SCHELMETY, LUIS        ADDRESS ON FILE
DE JESUS SEDA, JESSICA          ADDRESS ON FILE
DE JESUS SEDA, MILVIA           ADDRESS ON FILE
De Jesus Sella, Ferdinad A      ADDRESS ON FILE
DE JESUS SELLA, FERDINAND       ADDRESS ON FILE
De Jesus Sepulveda, Ferdinand   ADDRESS ON FILE
DE JESUS SEPULVEDA, JOSE        ADDRESS ON FILE
DE JESUS SEPULVEDA, SANDRA E    ADDRESS ON FILE
DE JESUS SERBIA, JUAN           ADDRESS ON FILE
DE JESUS SERBIA, MILAGROS E     ADDRESS ON FILE
De Jesus Serra, Guillermo J     ADDRESS ON FILE
DE JESUS SERRANO, ALVIN A       ADDRESS ON FILE
De Jesus Serrano, Amarilis      ADDRESS ON FILE
DE JESUS SERRANO, ARTURO        ADDRESS ON FILE
DE JESUS SERRANO, CARLOS        ADDRESS ON FILE
DE JESUS SERRANO, ELVIN         ADDRESS ON FILE
DE JESUS SERRANO, ELVIN         ADDRESS ON FILE
DE JESUS SERRANO, ESTEBAN       ADDRESS ON FILE
DE JESUS SERRANO, GUILLERMO     ADDRESS ON FILE
DE JESUS SERRANO, IDALIA        ADDRESS ON FILE
De Jesus Serrano, Javier        ADDRESS ON FILE
DE JESUS SERRANO, JENNIFER      ADDRESS ON FILE
DE JESUS SERRANO, JOSE          ADDRESS ON FILE
DE JESUS SERRANO, JOSE J        ADDRESS ON FILE
De Jesus Serrano, Jose M.       ADDRESS ON FILE
DE JESUS SERRANO, KARELY        ADDRESS ON FILE
De Jesus Serrano, Keila E.      ADDRESS ON FILE
DE JESUS SERRANO, LUIS          ADDRESS ON FILE
DE JESUS SERRANO, LUIS A        ADDRESS ON FILE
DE JESUS SERRANO, LUIS A.       ADDRESS ON FILE
DE JESUS SERRANO, LUIS R        ADDRESS ON FILE
DE JESUS SERRANO, LYDIA E       ADDRESS ON FILE
DE JESUS SERRANO, MANUEL        ADDRESS ON FILE
DE JESUS SERRANO, MARILYN       ADDRESS ON FILE
DE JESUS SERRANO, RAMON         ADDRESS ON FILE
DE JESUS SERRANO, RICARDO       ADDRESS ON FILE
DE JESUS SERRANO, SANDRA        ADDRESS ON FILE
De Jesus Serrano, Santiago      ADDRESS ON FILE
DE JESUS SERRANO, SARAH I       ADDRESS ON FILE
DE JESUS SERRANO, SHARON        ADDRESS ON FILE
DE JESUS SERRANO, TANIA         ADDRESS ON FILE
DE JESUS SIERA, RAYMOND         ADDRESS ON FILE
DE JESUS SIERRA, MIGUEL A       ADDRESS ON FILE
De Jesus Sierra, Ramon L        ADDRESS ON FILE
DE JESUS SILVA, ANGEL           ADDRESS ON FILE
DE JESUS SILVA, ANIE D          ADDRESS ON FILE
De Jesus Silva, Bernardo        ADDRESS ON FILE
De Jesus Silva, Iluminado       ADDRESS ON FILE
De Jesus Silva, Jonathan        ADDRESS ON FILE
DE JESUS SOLER, CESAR           ADDRESS ON FILE
De Jesus Solis, Arnaldo         ADDRESS ON FILE
DE JESUS SOLIS, CARMEN D        ADDRESS ON FILE
DE JESÚS SOLÍS, CARMEN DELIA    LCDO.PEDRO TORES AMADOR   PO BOX 364966                                          SAN JUAN     PR      00936‐4966




                                                                            Page 2155 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2156 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS SOLIS, CECILIA         ADDRESS ON FILE
DE JESUS SOTO ONGAY, RAYMOND    ADDRESS ON FILE
DE JESUS SOTO, ANA              ADDRESS ON FILE
De Jesus Soto, Benjamin         ADDRESS ON FILE
DE JESUS SOTO, BENJAMIN         ADDRESS ON FILE
DE JESUS SOTO, EVELYN           ADDRESS ON FILE
DE JESUS SOTO, EVELYN           ADDRESS ON FILE
DE JESUS SOTO, EVELYN           ADDRESS ON FILE
De Jesus Soto, Francisco        ADDRESS ON FILE
DE JESUS SOTO, JENIFER          ADDRESS ON FILE
DE JESUS SOTO, JOSE             ADDRESS ON FILE
De Jesus Soto, Jose L.          ADDRESS ON FILE
DE JESUS SOTO, LYNETT           ADDRESS ON FILE
DE JESUS SOTO, MITCHELL         ADDRESS ON FILE
De Jesus Soto, Mitchell E.      ADDRESS ON FILE
DE JESUS SOTO, NORMA            ADDRESS ON FILE
DE JESUS SOTO, ORLANDO          ADDRESS ON FILE
DE JESUS SOTO, ORLANDO          ADDRESS ON FILE
DE JESUS SOTO, RICARDO          ADDRESS ON FILE
DE JESUS SOTO, VERONICA         ADDRESS ON FILE
DE JESUS SOTO, VERONICA         ADDRESS ON FILE
DE JESUS SOTO, VIRGEN M         ADDRESS ON FILE
DE JESUS SOUSA, DIANA           ADDRESS ON FILE
DE JESUS SUAREZ, CARLOS         ADDRESS ON FILE
DE JESUS SUAREZ, FABIAN E.      ADDRESS ON FILE
DE JESUS SUAREZ, INEABELLE      ADDRESS ON FILE
De Jesus Suarez, Lourdes        ADDRESS ON FILE
DE JESUS SUAREZ, LOURDES        ADDRESS ON FILE
DE JESUS SUAREZ, WILMA L        ADDRESS ON FILE
DE JESUS SULIVERES, YARI S.     ADDRESS ON FILE
DE JESUS SURILLO, ROSA M.       ADDRESS ON FILE
DE JESUS TALAVERA, ELVIN        ADDRESS ON FILE
DE JESUS TAPIA, CARMEN S        ADDRESS ON FILE
DE JESUS TAPIA, ESMERALDA       ADDRESS ON FILE
DE JESUS TAPIA, NOELIA          ADDRESS ON FILE
DE JESUS TEJADA, RAMONITA       ADDRESS ON FILE
DE JESUS TEJADA, ROBERTO        ADDRESS ON FILE
DE JESUS TIRADO, EDGARDO        ADDRESS ON FILE
DE JESUS TIRADO, GLENDA         ADDRESS ON FILE
DE JESUS TIRADO, NORMA I        ADDRESS ON FILE
DE JESUS TIRADO, ROSELINE       ADDRESS ON FILE
DE JESUS TORO, MARIA M          ADDRESS ON FILE
DE JESUS TORO, RAY N            ADDRESS ON FILE
DE JESUS TORRES, ANGELA         ADDRESS ON FILE
DE JESUS TORRES, ANGELA         ADDRESS ON FILE
DE JESUS TORRES, ANIBAL         ADDRESS ON FILE
DE JESUS TORRES, ASERET         ADDRESS ON FILE
DE JESUS TORRES, ASERET YADID   ADDRESS ON FILE
DE JESUS TORRES, CARMEN LYDIA   ADDRESS ON FILE
DE JESUS TORRES, CESAR          ADDRESS ON FILE
DE JESUS TORRES, CHARLIE        ADDRESS ON FILE
DE JESUS TORRES, DIANA          ADDRESS ON FILE
DE JESUS TORRES, DOMINGO        ADDRESS ON FILE
DE JESUS TORRES, EFRAIN         ADDRESS ON FILE
DE JESUS TORRES, ELITZIA        ADDRESS ON FILE
DE JESUS TORRES, ELITZIA        ADDRESS ON FILE
DE JESUS TORRES, ENRIQUE        ADDRESS ON FILE
DE JESUS TORRES, EVELYN         ADDRESS ON FILE
DE JESUS TORRES, EVELYN M       ADDRESS ON FILE
DE JESUS TORRES, EVELYN M       ADDRESS ON FILE




                                                                            Page 2156 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2157 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS TORRES, FRANCISCA        ADDRESS ON FILE
De Jesus Torres, Gabriel          ADDRESS ON FILE
DE JESUS TORRES, GABRIELA I       ADDRESS ON FILE
DE JESUS TORRES, HECTOR           ADDRESS ON FILE
De Jesus Torres, Hector I         ADDRESS ON FILE
DE JESUS TORRES, JANET            ADDRESS ON FILE
DE JESUS TORRES, JANNET           ADDRESS ON FILE
DE JESUS TORRES, JEREMIAS         ADDRESS ON FILE
DE JESUS TORRES, JESSICA          ADDRESS ON FILE
De Jesus Torres, Joel             ADDRESS ON FILE
DE JESUS TORRES, JORGE            ADDRESS ON FILE
DE JESUS TORRES, JOSE             ADDRESS ON FILE
De Jesus Torres, Jose F           ADDRESS ON FILE
DE JESUS TORRES, JOSEPH           ADDRESS ON FILE
De Jesus Torres, Juan A           ADDRESS ON FILE
DE JESUS TORRES, JULIA            ADDRESS ON FILE
DE JESUS TORRES, JULIO C          ADDRESS ON FILE
DE JESUS TORRES, LILIBETH         ADDRESS ON FILE
DE JESUS TORRES, LOBSANG          ADDRESS ON FILE
DE JESUS TORRES, LUIS             ADDRESS ON FILE
DE JESUS TORRES, LUIS             ADDRESS ON FILE
DE JESUS TORRES, LUIS O           ADDRESS ON FILE
DE JESUS TORRES, MARCELINO        ADDRESS ON FILE
DE JESUS TORRES, MARCELINO        ADDRESS ON FILE
DE JESUS TORRES, MARIA DE LOS A   ADDRESS ON FILE
DE JESUS TORRES, MARIA I          ADDRESS ON FILE
DE JESUS TORRES, MAYRA            ADDRESS ON FILE
DE JESUS TORRES, MAYRA A          ADDRESS ON FILE
DE JESUS TORRES, MILAGROS         ADDRESS ON FILE
DE JESUS TORRES, MYRNA E          ADDRESS ON FILE
DE JESUS TORRES, NELSON           ADDRESS ON FILE
De Jesus Torres, Oscar            ADDRESS ON FILE
DE JESUS TORRES, PEDRO            ADDRESS ON FILE
De Jesus Torres, Ramon            ADDRESS ON FILE
DE JESUS TORRES, RAMONA           ADDRESS ON FILE
DE JESUS TORRES, RAQUEL           ADDRESS ON FILE
DE JESUS TORRES, REMIGIO          ADDRESS ON FILE
De Jesus Torres, Sergio           ADDRESS ON FILE
DE JESUS TORRES, VERONICA A.      ADDRESS ON FILE
DE JESUS TORRES, VICTOR M.        ADDRESS ON FILE
De Jesus Torres, William          ADDRESS ON FILE
DE JESUS TORRES, WILLIE           ADDRESS ON FILE
DE JESUS TORRES, WILMARIE         ADDRESS ON FILE
DE JESUS TORRES, ZENOVIA          ADDRESS ON FILE
DE JESUS TORRES, ZIZA E           ADDRESS ON FILE
DE JESUS TORRES, ZULMA            ADDRESS ON FILE
De Jesus Treskow, Andre           ADDRESS ON FILE
De Jesus Treskow, Manuel          ADDRESS ON FILE
DE JESUS TRESKOW, MANUEL          ADDRESS ON FILE
DE JESUS TREVINO, JEAN            ADDRESS ON FILE
DE JESUS TRINIDAD, MIGUEL         ADDRESS ON FILE
DE JESUS TRINIDAD, PASTOR         ADDRESS ON FILE
DE JESUS TUBENS, DAISY            ADDRESS ON FILE
DE JESUS VALCARCEL, ISMAEL        ADDRESS ON FILE
DE JESUS VALDERRAMA, MARGARITA    ADDRESS ON FILE
DE JESUS VALDERRAMA, MARGARITA    ADDRESS ON FILE
DE JESUS VALENCIA, DEMETRIO       ADDRESS ON FILE
DE JESUS VALENTIN, ANNETTE        ADDRESS ON FILE
DE JESÚS VALENTIN, ANNETTE        ADDRESS ON FILE
DE JESUS VALENTIN, EDUARDO        ADDRESS ON FILE




                                                                              Page 2157 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2158 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
De Jesus Valentin, Gustavo     ADDRESS ON FILE
DE JESUS VALENTIN, JOSUE       ADDRESS ON FILE
DE JESUS VALENTIN, LEONARDO    ADDRESS ON FILE
DE JESUS VALENTIN, MAGALI      ADDRESS ON FILE
DE JESUS VALENTIN, NANCY       ADDRESS ON FILE
DE JESUS VALENTIN, NEFTALI     ADDRESS ON FILE
De Jesus Valentin, Pablo       ADDRESS ON FILE
DE JESUS VALENTIN, WANDA       ADDRESS ON FILE
DE JESUS VALK, PEDRO           ADDRESS ON FILE
DE JESUS VALLE, LIZ M.         ADDRESS ON FILE
DE JESUS VALLEJO, YASAMARIE    ADDRESS ON FILE
DE JESUS VALLES, WILLIAM A     ADDRESS ON FILE
DE JESUS VARGAS MD, JENNIFER   ADDRESS ON FILE
DE JESUS VARGAS, ALERIS M      ADDRESS ON FILE
DE JESUS VARGAS, ELIZABETH     ADDRESS ON FILE
DE JESUS VARGAS, GISELLE       ADDRESS ON FILE
DE JESUS VARGAS, JOSE          ADDRESS ON FILE
DE JESUS VARGAS, LUIS A        ADDRESS ON FILE
DE JESUS VARGAS, MARIA L       ADDRESS ON FILE
DE JESUS VARGAS, MYRNA         ADDRESS ON FILE
DE JESUS VARGAS, WILFRED       ADDRESS ON FILE
DE JESUS VARONA MD, MARIA      ADDRESS ON FILE
DE JESUS VARONA, LEMUEL        ADDRESS ON FILE
DE JESUS VAZQUEZ, ANGEL L.     ADDRESS ON FILE
DE JESUS VAZQUEZ, CARMEN M.    ADDRESS ON FILE
DE JESUS VAZQUEZ, CAROL G      ADDRESS ON FILE
DE JESUS VAZQUEZ, CORAL        ADDRESS ON FILE
DE JESUS VAZQUEZ, EFRAIN       ADDRESS ON FILE
DE JESUS VAZQUEZ, EFRAIN       ADDRESS ON FILE
De Jesus Vazquez, Enrique      ADDRESS ON FILE
DE JESUS VAZQUEZ, HERNAN       ADDRESS ON FILE
DE JESUS VAZQUEZ, HERNAN       ADDRESS ON FILE
DE JESUS VAZQUEZ, ISAIAS       ADDRESS ON FILE
DE JESUS VAZQUEZ, JOSE         ADDRESS ON FILE
DE JESUS VAZQUEZ, JOSE         ADDRESS ON FILE
DE JESUS VAZQUEZ, LUZ N        ADDRESS ON FILE
DE JESUS VAZQUEZ, MARCOS       ADDRESS ON FILE
DE JESUS VAZQUEZ, MARIA M.     ADDRESS ON FILE
De Jesus Vazquez, Maribel      ADDRESS ON FILE
DE JESUS VAZQUEZ, MIGUEL A.    ADDRESS ON FILE
DE JESUS VAZQUEZ, NANCY        ADDRESS ON FILE
DE JESUS VAZQUEZ, NEIEL        ADDRESS ON FILE
DE JESUS VAZQUEZ, NILDA        ADDRESS ON FILE
DE JESUS VAZQUEZ, OLGA I       ADDRESS ON FILE
DE JESUS VAZQUEZ, PASCUAL      ADDRESS ON FILE
DE JESUS VAZQUEZ, RAFAEL       ADDRESS ON FILE
DE JESUS VAZQUEZ, RAMON        ADDRESS ON FILE
DE JESUS VAZQUEZ, RAMON        ADDRESS ON FILE
DE JESUS VAZQUEZ, RAMONA       ADDRESS ON FILE
De Jesus Vazquez, Ricardo      ADDRESS ON FILE
DE JESUS VEGA, ELIZABETH       ADDRESS ON FILE
DE JESUS VEGA, GLORIA M        ADDRESS ON FILE
DE JESUS VEGA, HIPOLITA        ADDRESS ON FILE
DE JESUS VEGA, IRMA G          ADDRESS ON FILE
DE JESUS VEGA, ISMAEL          ADDRESS ON FILE
DE JESUS VEGA, JENIFFER        ADDRESS ON FILE
DE JESUS VEGA, LOURDES M       ADDRESS ON FILE
DE JESUS VEGA, MARIA DEL R     ADDRESS ON FILE
DE JESUS VEGA, MIGUEL          ADDRESS ON FILE
DE JESUS VEGA, MIGUEL          ADDRESS ON FILE




                                                                           Page 2158 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2159 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS VEGA, NADJAH              ADDRESS ON FILE
DE JESUS VEGA, NANCY M             ADDRESS ON FILE
DE JESUS VEGA, NEREIDA             ADDRESS ON FILE
DE JESUS VEGA, NILDA               ADDRESS ON FILE
DE JESUS VEGA, OGUIE               ADDRESS ON FILE
DE JESUS VEGA, RAYMOND             ADDRESS ON FILE
DE JESUS VEGA, REYNALDO            ADDRESS ON FILE
DE JESUS VEGA, ROSE M              ADDRESS ON FILE
DE JESUS VEGA, WILFREDO            ADDRESS ON FILE
DE JESUS VELAZQUEZ, ALICIA         ADDRESS ON FILE
DE JESUS VELAZQUEZ, CANDIDO        ADDRESS ON FILE
DE JESUS VELAZQUEZ, EFRAIN E       ADDRESS ON FILE
DE JESUS VELAZQUEZ, GERARDO        ADDRESS ON FILE
DE JESUS VELAZQUEZ, MARIAM S.      ADDRESS ON FILE
DE JESUS VELAZQUEZ, MICHAEL        ADDRESS ON FILE
DE JESUS VELAZQUEZ, NAYDA L        ADDRESS ON FILE
DE JESUS VELAZQUEZ, NOEMI          ADDRESS ON FILE
DE JESUS VELAZQUEZ, PRISCILA       ADDRESS ON FILE
DE JESUS VELAZQUEZ, RICARDO        ADDRESS ON FILE
DE JESUS VELAZQUEZ, WANDA Y        ADDRESS ON FILE
DE JESUS VELEZ, ABDIEL             ADDRESS ON FILE
DE JESUS VELEZ, ANIBAL             ADDRESS ON FILE
DE JESUS VELEZ, BRENDA L.          ADDRESS ON FILE
De Jesus Velez, Carlos R.          ADDRESS ON FILE
DE JESUS VELEZ, DAISYRETTE         ADDRESS ON FILE
DE JESUS VELEZ, JOSE B.            ADDRESS ON FILE
DE JESUS VELEZ, JUAN               ADDRESS ON FILE
DE JESUS VELEZ, LARRY              ADDRESS ON FILE
DE JESUS VELEZ, SYRAIDA            ADDRESS ON FILE
DE JESUS VELEZ, WALESKA            ADDRESS ON FILE
DE JESUS VELEZ, WANDA              ADDRESS ON FILE
DE JESUS VERA, DAVID               ADDRESS ON FILE
De Jesus Vera, Felix D.            ADDRESS ON FILE
DE JESUS VERA, JOSE                ADDRESS ON FILE
De Jesus Vera, Orlando             ADDRESS ON FILE
DE JESUS VERA, WILMARIE            ADDRESS ON FILE
DE JESUS VERA, WILMARIE            ADDRESS ON FILE
DE JESUS VERDEJO, GERARDO          ADDRESS ON FILE
DE JESUS VERDEJO, MARIA CECILIA    ADDRESS ON FILE
DE JESUS VICENTE, JESSICA          ADDRESS ON FILE
DE JESUS VICENTE, WILLIAM          ADDRESS ON FILE
DE JESUS VICENTE, WILLIAM          ADDRESS ON FILE
DE JESUS VICENTE, YOMALIES MARIE   ADDRESS ON FILE
DE JESUS VIERA, MARIA              ADDRESS ON FILE
DE JESUS VIERA, MARIA S            ADDRESS ON FILE
DE JESUS VIERA, MARIA V            ADDRESS ON FILE
DE JESUS VILLA, TOMAS              ADDRESS ON FILE
DE JESUS VILLAFANE, DIONISIA       ADDRESS ON FILE
DE JESUS VILLEGAS, BERAIDA         ADDRESS ON FILE
DE JESUS VILLEGAS, DHALMA          ADDRESS ON FILE
DE JESUS VILLEGAS, MARIA DEL C     ADDRESS ON FILE
DE JESUS VIÑAS MD, JAIME           ADDRESS ON FILE
DE JESUS VIZCARRONDO, EVA M.       ADDRESS ON FILE
DE JESUS VIZCAYA, JORGE            ADDRESS ON FILE
De Jesus Wonderwood, Angel D       ADDRESS ON FILE
DE JESUS ZABALA, JANET             ADDRESS ON FILE
DE JESUS ZAMBRANA, AUDDY           ADDRESS ON FILE
DE JESUS ZANABRIA, SAMUEL          ADDRESS ON FILE
DE JESUS ZARAGOZA, ADIANEZ         ADDRESS ON FILE
DE JESUS ZARAGOZA, ADIANEZ         ADDRESS ON FILE




                                                                               Page 2159 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2160 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE JESUS ZAYAS, EVELYN              ADDRESS ON FILE
DE JESUS, ALBERT                    ADDRESS ON FILE
DE JESUS, ANDRES                    ADDRESS ON FILE
DE JESUS, ANGELA                    ADDRESS ON FILE
DE JESÚS, BORRERO                   ADDRESS ON FILE
DE JESUS, CARLOS                    ADDRESS ON FILE
DE JESUS, CARMEN D                  ADDRESS ON FILE
DE JESUS, CHARLOTTE                 ADDRESS ON FILE
DE JESUS, CLERY M                   ADDRESS ON FILE
DE JESUS, CORREA MARIA              ADDRESS ON FILE
DE JESUS, CORREA MARIA D            ADDRESS ON FILE
DE JESUS, DIAZ VANESSA              ADDRESS ON FILE
DE JESUS, EDNA                      ADDRESS ON FILE
De Jesus, Guillermo L. Casanova     ADDRESS ON FILE
DE JESUS, IRIS M.                   ADDRESS ON FILE
DE JESUS, IRIS V.                   ADDRESS ON FILE
DE JESUS, IRMA                      ADDRESS ON FILE
DE JESUS, JACQUELINE                ADDRESS ON FILE
DE JESUS, JANNET                    ADDRESS ON FILE
DE JESUS, JESSICA                   ADDRESS ON FILE
DE JESUS, JOHANNA                   ADDRESS ON FILE
DE JESUS, JOHANNY                   ADDRESS ON FILE
DE JESUS, JORGE L                   ADDRESS ON FILE
DE JESUS, JOSE R.                   ADDRESS ON FILE
DE JESUS, LOPEZ JANCY               ADDRESS ON FILE
DE JESUS, LUIS                      ADDRESS ON FILE
De Jesus, Luis A                    ADDRESS ON FILE
DE JESUS, LUIS A.                   ADDRESS ON FILE
DE JESUS, MARCOS A.                 ADDRESS ON FILE
DE JESUS, MARIA                     ADDRESS ON FILE
DE JESUS, MARIA LUZ                 ADDRESS ON FILE
DE JESUS, MARTINA                   ADDRESS ON FILE
DE JESUS, MAYRA E                   ADDRESS ON FILE
DE JESUS, MENDEZ MARITZA            ADDRESS ON FILE
DE JESúS, MIGUEL                    ADDRESS ON FILE
DE JESUS, NANCY                     ADDRESS ON FILE
DE JESUS, OMAR H.                   ADDRESS ON FILE
DE JESUS, PEDRO J.                  ADDRESS ON FILE
DE JESUS, RICARDO                   ADDRESS ON FILE
DE JESUS, SANTIAGO MIGUEL           ADDRESS ON FILE
DE JESUS, SUHAILY                   ADDRESS ON FILE
DE JESUS, VICTOR M.                 ADDRESS ON FILE
DE JESUS,EULALIO                    ADDRESS ON FILE
DE JESUS,JOSE A.                    ADDRESS ON FILE
DE JESUS,MELANIE                    ADDRESS ON FILE
DE JESUS,MIGUEL A.                  ADDRESS ON FILE
DE JESUSGARCIA, PEDRO A.            ADDRESS ON FILE
DE JESUS‐TORRES GASTROENTEROLOGOS   PO BOX 521                                                                       LAJAS        PR      00667
DE JONGH CHRISTIAN, DORIS R         ADDRESS ON FILE
DE JONGH, LUIS F.                   ADDRESS ON FILE
DE JONGH, MEDINA CARMEN             ADDRESS ON FILE
DE JSUS ROSADQ, RUTH D              ADDRESS ON FILE
DE JUAN CINTRON, LUZ                ADDRESS ON FILE
DE JUAN CUSTODIO, IVAN              ADDRESS ON FILE
DE JUAN DEL VALLE, EMMANUEL         ADDRESS ON FILE
DE JUAN NARVAEZ, MARIEL             ADDRESS ON FILE
DE JUAN NATER, MARIA T              ADDRESS ON FILE
DE JUAN VALENTIN, BERENICE          ADDRESS ON FILE
DE KATOW MARTINEZ, JOSE             ADDRESS ON FILE
DE KERKADO, OSVALDO                 ADDRESS ON FILE




                                                                                Page 2160 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2161 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LA CAMPA ESTEBAN, SINFORIANO      ADDRESS ON FILE
DE LA CONCHA MORALES, YASHIRA        ADDRESS ON FILE
DE LA CRUZ FRATICELLI, ANNELYS       ADDRESS ON FILE
DE LA CRUZ & ASSOCIATES INC          METRO OFFICE PARK         CALLE 9 STE 201                                        GUAYNABO     PR      00968
DE LA CRUZ ACEVEDO, ALBERTO          ADDRESS ON FILE
DE LA CRUZ ACEVEDO, JOSE A.          ADDRESS ON FILE
DE LA CRUZ ALDUEY, NELLY             ADDRESS ON FILE
DE LA CRUZ ALEJANDRO, MELISSA        ADDRESS ON FILE
DE LA CRUZ ANDUJAR, CLARIBEL         ADDRESS ON FILE
DE LA CRUZ ANDUJAR, GERARDO          ADDRESS ON FILE
De La Cruz Babilonia, Josue          ADDRESS ON FILE
DE LA CRUZ BAEZ, RAMON               ADDRESS ON FILE
DE LA CRUZ BORRELLY, WENDY M         ADDRESS ON FILE
DE LA CRUZ BRITO, SANDRIO            ADDRESS ON FILE
DE LA CRUZ BUENO, JUAN               ADDRESS ON FILE
De La Cruz Butler, Luis R            ADDRESS ON FILE
DE LA CRUZ CAJIGA, VICTOR LUIS       ADDRESS ON FILE
DE LA CRUZ CARRERO, JOSE             ADDRESS ON FILE
DE LA CRUZ CASTELLANOS, MIGUEL       ADDRESS ON FILE
De La Cruz Catedral, Jose M          ADDRESS ON FILE
DE LA CRUZ CHAVES, LUIS              ADDRESS ON FILE
DE LA CRUZ COBIAN, DANIEL            ADDRESS ON FILE
DE LA CRUZ COBIAN, LORRAINE          ADDRESS ON FILE
DE LA CRUZ COBIAN, LORRAINE          ADDRESS ON FILE
DE LA CRUZ COLON, LOURDES M          ADDRESS ON FILE
DE LA CRUZ COLON, RAMON              ADDRESS ON FILE
DE LA CRUZ CORDERO, MAIDA            ADDRESS ON FILE
DE LA CRUZ CORTIJO, RICARDO          ADDRESS ON FILE
DE LA CRUZ CRUZ, ALEJA               ADDRESS ON FILE
DE LA CRUZ CRUZ, CARLOS              ADDRESS ON FILE
DE LA CRUZ CRUZ, DAGZAMARY           ADDRESS ON FILE
DE LA CRUZ CRUZ, VICTOR              ADDRESS ON FILE
DE LA CRUZ CUEVAS, GLADYS M          ADDRESS ON FILE
DE LA CRUZ DE GONZALEZ, GUMERSINDA   ADDRESS ON FILE
DE LA CRUZ DE LA CRUZ, AMPARO        ADDRESS ON FILE
DE LA CRUZ DE LA CRUZ, WILANET       ADDRESS ON FILE
DE LA CRUZ DE LEON, FREDDY           ADDRESS ON FILE
DE LA CRUZ DURAN, JOSE               ADDRESS ON FILE
DE LA CRUZ ELIAS, JOSE               ADDRESS ON FILE
DE LA CRUZ EVANGELISTA, WHILSON      ADDRESS ON FILE
DE LA CRUZ FAMILIA, NIDIA C          ADDRESS ON FILE
DE LA CRUZ FEBUS, LISA               ADDRESS ON FILE
DE LA CRUZ FEBUS, LISA               ADDRESS ON FILE
DE LA CRUZ FELIX, HECTOR             ADDRESS ON FILE
DE LA CRUZ FERNANDEZ, CARLIXTA       ADDRESS ON FILE
DE LA CRUZ GARCIA, ANDY              ADDRESS ON FILE
DE LA CRUZ GARCIA, BENITO            ADDRESS ON FILE
DE LA CRUZ GARCIA, BIENVENIDO        ADDRESS ON FILE
DE LA CRUZ GARCIA, JUANA             ADDRESS ON FILE
DE LA CRUZ GARCIA, LEOCADIA          ADDRESS ON FILE
DE LA CRUZ GARCIA, RADHAMES          ADDRESS ON FILE
DE LA CRUZ GARCIA, VIVIANA           ADDRESS ON FILE
DE LA CRUZ GARCIA, XIOMARA           ADDRESS ON FILE
DE LA CRUZ GARRIDO, ESTHEFANY        ADDRESS ON FILE
DE LA CRUZ GONZALEZ, MARIE J         ADDRESS ON FILE
DE LA CRUZ GRULLON, MARCOS           ADDRESS ON FILE
DE LA CRUZ GUEVARA, CARLOS           ADDRESS ON FILE
DE LA CRUZ GUILLEN, SERGIO           ADDRESS ON FILE
DE LA CRUZ GUZMAN, CAROLYN           ADDRESS ON FILE
DE LA CRUZ HERNANDEZ, ALEXIS         ADDRESS ON FILE




                                                                                 Page 2161 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2162 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                       Address1                                 Address2                  Address3   Address4   City        State   PostalCode   Country
DE LA CRUZ HERNANDEZ, CARINA        ADDRESS ON FILE
DE LA CRUZ HIRALDO, DAMARIS         ADDRESS ON FILE
DE LA CRUZ HIRALDO, MARITZA         ADDRESS ON FILE
DE LA CRUZ IGLESIAS, BIANCA         ADDRESS ON FILE
DE LA CRUZ IGLESIAS, ERIC           ADDRESS ON FILE
DE LA CRUZ IGLESIAS, ERIC           ADDRESS ON FILE
DE LA CRUZ IGLESIAS, LUIS           ADDRESS ON FILE
DE LA CRUZ IRIZARRY, FRANCISCO M    ADDRESS ON FILE
DE LA CRUZ JAMES, LIZBETH           ADDRESS ON FILE
DE LA CRUZ JMAES, JOHANNA           ADDRESS ON FILE
DE LA CRUZ KENY, RUT                ADDRESS ON FILE
DE LA CRUZ LANTIGUA, PRIMTIVO       ADDRESS ON FILE
DE LA CRUZ LEON, ALEJANDRO          ADDRESS ON FILE
DE LA CRUZ LOPEZ, JUAN              ADDRESS ON FILE
De La Cruz Lopez, Juan Carlos       ADDRESS ON FILE
DE LA CRUZ LOPEZ, LIZETTE           ADDRESS ON FILE
DE LA CRUZ LOPEZ, NILSA E           ADDRESS ON FILE
DE LA CRUZ LOPEZ, RADAI             ADDRESS ON FILE
DE LA CRUZ MALDONADO, BERTA         ADDRESS ON FILE
DE LA CRUZ MALDONADO, ILIAN         ADDRESS ON FILE
DE LA CRUZ MANZUETA, SERAFIN        ADDRESS ON FILE
DE LA CRUZ MARIANO, RAYMUNDO        ADDRESS ON FILE
DE LA CRUZ MARRERO, ENRIQUE         ADDRESS ON FILE
DE LA CRUZ MARRERO, JUAN            ADDRESS ON FILE
DE LA CRUZ MARTE, NARDY Y           ADDRESS ON FILE
DE LA CRUZ MARTE, ROBERTO           ADDRESS ON FILE
DE LA CRUZ MARTINEZ, JENNY          ADDRESS ON FILE
DE LA CRUZ MD, CARLOS NIEVES        ADDRESS ON FILE
DE LA CRUZ MD, CARMEN LOPEZ         ADDRESS ON FILE
DE LA CRUZ MD, MARCOS JUSTINIANO    ADDRESS ON FILE
DE LA CRUZ MD, MARIA ORTIZ          ADDRESS ON FILE
DE LA CRUZ MD, VERONICA RODRIGUEZ   ADDRESS ON FILE
DE LA CRUZ MEDINA, RAFAEL           ADDRESS ON FILE
DE LA CRUZ MEDINA, YARIME           ADDRESS ON FILE
DE LA CRUZ MENDEZ, NELLIE           ADDRESS ON FILE
DE LA CRUZ MENDEZ, RUTH             ADDRESS ON FILE
DE LA CRUZ MERCEDES, JENNY          ADDRESS ON FILE
DE LA CRUZ MIRANDA, CARMEN H        ADDRESS ON FILE
DE LA CRUZ MONTANEZ, CARLOS         ADDRESS ON FILE
DE LA CRUZ MONTANEZ, YULIANNA       ADDRESS ON FILE
DE LA CRUZ MORALES, JENNIE          ADDRESS ON FILE
DE LA CRUZ MORALES, PEDRO J.        ADDRESS ON FILE
DE LA CRUZ MORLA PETRONILA          URB. SIERRA BAYAMON C/25 BLOQUE 26 B‐7                                                   BAYAMON     PR      00961
DE LA CRUZ MUNOZ, JULIO A.          ADDRESS ON FILE
DE LA CRUZ NAVARRO, ALMA Z          ADDRESS ON FILE
DE LA CRUZ NIEVES, ROBINSON         ADDRESS ON FILE
DE LA CRUZ OJEDA, EDGARD            ADDRESS ON FILE
DE LA CRUZ OLLER, JABES             ADDRESS ON FILE
DE LA CRUZ OLLER, JOEL              ADDRESS ON FILE
DE LA CRUZ ONEILL, GEORGINA         ADDRESS ON FILE
DE LA CRUZ OSHEAF, JUAN             ADDRESS ON FILE
DE LA CRUZ OTERO, ENRIQUE           ADDRESS ON FILE
DE LA CRUZ OVALLE, JACQUELINE       ADDRESS ON FILE
DE LA CRUZ PELLOT, ZENY             ADDRESS ON FILE
DE LA CRUZ PENA, JOSE               ADDRESS ON FILE
DE LA CRUZ PEREZ, ARLENNE I         ADDRESS ON FILE
DE LA CRUZ PEREZ, JASON             ADDRESS ON FILE
DE LA CRUZ PEREZ, JULIO             ADDRESS ON FILE
DE LA CRUZ PEREZ, REBECCA           ADDRESS ON FILE
DE LA CRUZ PILARTE, LUCAS           ADDRESS ON FILE




                                                                                        Page 2162 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2163 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                         Address1                          Address2                       Address3             Address4   City         State   PostalCode   Country
DE LA CRUZ PINO, MISSAEL              ADDRESS ON FILE
DE LA CRUZ RAMOS, EVELYN              ADDRESS ON FILE
De La Cruz Ramos, Jonnelys            ADDRESS ON FILE
De La Cruz Rebollo, Eduardo           ADDRESS ON FILE
De La Cruz Rebollo, Jose A            ADDRESS ON FILE
DE LA CRUZ REBOLLO, NELSON            POR DERECHO PROPIO                URB LA CUMBRE                  273 CALLE TRUJILLO              SAN JUAN     PR      00926
DE LA CRUZ REYES, GIOVANNI            ADDRESS ON FILE
DE LA CRUZ REYES, GIOVANNI            ADDRESS ON FILE
DE LA CRUZ REYES, LUIS EMILIO         ADDRESS ON FILE
DE LA CRUZ REYES, SALUTRINA           ADDRESS ON FILE
DE LA CRUZ REYES, SERGIO              ADDRESS ON FILE
DE LA CRUZ REYNOSO JUANA              119 LAS COLINAS URB SANTA PAULA                                                                  GUAYNABO     PR      00969
De La Cruz Rivera, Alberto L          ADDRESS ON FILE
De La Cruz Rivera, Gilberto           ADDRESS ON FILE
DE LA CRUZ RIVERA, JOHANN             ADDRESS ON FILE
DE LA CRUZ RIVERA, JOSE MANUEL        ADDRESS ON FILE
DE LA CRUZ RIVERA, JOSE R.            ADDRESS ON FILE
DE LA CRUZ RIVERA, JOSHUAMIR          ADDRESS ON FILE
DE LA CRUZ RIVERA, JUAN R             ADDRESS ON FILE
De La Cruz Rivera, Yammur             ADDRESS ON FILE
DE LA CRUZ RIVERA, ZASHIM             ADDRESS ON FILE
DE LA CRUZ ROBLES, CARMEN             ADDRESS ON FILE
DE LA CRUZ ROBLES, ELIZABETH C        ADDRESS ON FILE
DE LA CRUZ ROBLES, ZAILU              ADDRESS ON FILE
DE LA CRUZ RODRIGUEZ, MARIMAR         ADDRESS ON FILE
DE LA CRUZ RODRIGUEZ, RAMON           ADDRESS ON FILE
DE LA CRUZ RODRIGUEZ, VERONICA        ADDRESS ON FILE
DE LA CRUZ RODRIGUEZ, VIANCALIZ       ADDRESS ON FILE
DE LA CRUZ RODRIGUEZ, YENISLEIDY      ADDRESS ON FILE
DE LA CRUZ ROSALY, VICTOR             ADDRESS ON FILE
DE LA CRUZ ROSARIO, WALESKA           ADDRESS ON FILE
DE LA CRUZ SANCHEZ, LUIS              ADDRESS ON FILE
DE LA CRUZ SANTIAGO, DAMARIS          ADDRESS ON FILE
DE LA CRUZ SANTIAGO, DAMARIS          ADDRESS ON FILE
De La Cruz Santiago, Joaquin          ADDRESS ON FILE
De La Cruz Santiago, Juan             ADDRESS ON FILE
DE LA CRUZ SANTOS, JONATHAN           ADDRESS ON FILE
DE LA CRUZ SEGARRA, IVAN              ADDRESS ON FILE
DE LA CRUZ SIEMON, TRIANA ALEXANDRA   ADDRESS ON FILE
DE LA CRUZ SILVA, LORIE M             ADDRESS ON FILE
DE LA CRUZ SOLTERO, MARITZA           ADDRESS ON FILE
DE LA CRUZ SOLTERO, RICARDO           ADDRESS ON FILE
DE LA CRUZ SORIANO, CARMEN            ADDRESS ON FILE
DE LA CRUZ SUAREZ, XENIA              ADDRESS ON FILE
DE LA CRUZ TAVERA, MARIO              ADDRESS ON FILE
De La Cruz Toro, Gilberto             ADDRESS ON FILE
DE LA CRUZ TORRES, CARMEN M           ADDRESS ON FILE
DE LA CRUZ TORRES, LUIS               ADDRESS ON FILE
DE LA CRUZ TORRES, RAFAEL             ADDRESS ON FILE
DE LA CRUZ VALLE, ODALYS              ADDRESS ON FILE
DE LA CRUZ VARGAS, JULIO              ADDRESS ON FILE
DE LA CRUZ VAZQUEZ, JOSE M.           ADDRESS ON FILE
DE LA CRUZ VEGA, ISRAEL O.            ADDRESS ON FILE
De La Cruz Vega, Pedro                ADDRESS ON FILE
DE LA CRUZ VELAZQUEZ, EDWIN M         ADDRESS ON FILE
DE LA CRUZ VELAZQUEZ, JOSE N.         ADDRESS ON FILE
DE LA CRUZ VELEZ, DAISY               ADDRESS ON FILE
DE LA CRUZ VELEZ, ROLANDO             ADDRESS ON FILE
DE LA CRUZ VELEZ, ZORAYA E            ADDRESS ON FILE
DE LA CRUZ VIRELLA, LORRAINE          ADDRESS ON FILE




                                                                                        Page 2163 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2164 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
DE LA CRUZ, ALBA E.                  ADDRESS ON FILE
DE LA CRUZ, ANTONIO                  ADDRESS ON FILE
DE LA CRUZ, BARBARA                  ADDRESS ON FILE
DE LA CRUZ, CARMEN L                 ADDRESS ON FILE
DE LA CRUZ, FRANK                    ADDRESS ON FILE
DE LA CRUZ, GUILLERMO                ADDRESS ON FILE
DE LA CRUZ, JOB                      ADDRESS ON FILE
DE LA CRUZ, JULIO A                  ADDRESS ON FILE
DE LA CRUZ, JUMA TEONIL              ADDRESS ON FILE
DE LA CRUZ, JUMA TEONIL              ADDRESS ON FILE
DE LA CRUZ, KELVIN                   ADDRESS ON FILE
DE LA CRUZ, ROMAN                    ADDRESS ON FILE
DE LA CRUZ, VICTOR                   ADDRESS ON FILE
DE LA CURZ, TANYA                    ADDRESS ON FILE
DE LA FUENTE DIAZ, BRIAN             ADDRESS ON FILE
DE LA FUENTE DIAZ, JESSENIA          ADDRESS ON FILE
DE LA FUENTE DIAZ, JESSICA           ADDRESS ON FILE
DE LA FUENTE MD, MICHAEL HERNANDEZ   ADDRESS ON FILE
DE LA FUENTE MD, MICHAEL HERNANDEZ   ADDRESS ON FILE
De La Fuente Santo, Jose A           ADDRESS ON FILE
DE LA FUENTE SANTOS, CARMEN M        ADDRESS ON FILE
DE LA FUENTE SANTOS, JOSE            ADDRESS ON FILE
DE LA FUENTE, JULIO R.               ADDRESS ON FILE
DE LA FUENTE, ROSALIA A.             ADDRESS ON FILE
DE LA IGLESIA DIEZ, HILARIO          ADDRESS ON FILE
DE LA LEGUA INC                      1 COND CONCORDIA GARDENS   APT 6 N                                               SAN JUAN     PR      00924
DE LA LUZ ACEVEDO, MARTA Y           ADDRESS ON FILE
DE LA LUZ QUILES, MARIE              ADDRESS ON FILE
DE LA LUZ QUILES, OSVALDO            ADDRESS ON FILE
DE LA LUZ, OSVALDO G                 ADDRESS ON FILE
DE LA MATA CASTRO, ANTONIO           ADDRESS ON FILE
DE LA MATA DE JESUS, MANUEL          ADDRESS ON FILE
DE LA MATA DE JESUS, WILFREDO        ADDRESS ON FILE
DE LA MATA MD, LUIS CABRERA          ADDRESS ON FILE
DE LA MATTA CRUZ, ANGEL              ADDRESS ON FILE
DE LA MATTA FIGUEROA, LUCIA V        ADDRESS ON FILE
DE LA MATTA MARTINEZ, EVELYN         ADDRESS ON FILE
DE LA MATTA MARTINEZ, JOSE           ADDRESS ON FILE
DE LA MATTA MARTINEZ, MELLY ANGIE    ADDRESS ON FILE
DE LA MATTA MARTINEZ, SONIA M        ADDRESS ON FILE
DE LA MATTA MELENDEZ, ARLENE         ADDRESS ON FILE
DE LA MATTA MELENDEZ, ARLENE         ADDRESS ON FILE
DE LA MATTA RODRIGUEZ, MELANIE       ADDRESS ON FILE
DE LA MATTA RUIZ, CLARIBEL           ADDRESS ON FILE
DE LA MOTA ACARON, NESTOR            ADDRESS ON FILE
DE LA MOTA VELEZ, JENNIE             ADDRESS ON FILE
DE LA NUEZ DE LA NUEZ, NELLY M.      ADDRESS ON FILE
DE LA O HENRIQUEZ, CASANDRA          ADDRESS ON FILE
DE LA OBRA MAISONET, JOSE L.         ADDRESS ON FILE
DE LA OBRA SANCHEZ, JOSE             ADDRESS ON FILE
De La Obra Sanchez, Jose A           ADDRESS ON FILE
DE LA PAULA DE LA CRUZ, ROSA         ADDRESS ON FILE
DE LA PAZ CARTAGENA, MARANGELY       ADDRESS ON FILE
DE LA PAZ CARTAGENA, MARANGELY       ADDRESS ON FILE
DE LA PAZ CONTRERAS, JANETTE         ADDRESS ON FILE
DE LA PAZ COTTO, ELIEZER             ADDRESS ON FILE
DE LA PAZ CRU,MARIA                  ADDRESS ON FILE
DE LA PAZ DEL VALLE, ANGEL           ADDRESS ON FILE
DE LA PAZ DUQUE, NELSON              ADDRESS ON FILE
DE LA PAZ FONTANEZ, ROBERTO          ADDRESS ON FILE




                                                                                 Page 2164 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2165 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LA PAZ GARCIA, CARMEN C       ADDRESS ON FILE
DE LA PAZ GOTAY, OLGA I          ADDRESS ON FILE
DE LA PAZ GUERRA, MARIA          ADDRESS ON FILE
DE LA PAZ LOPEZ, MARYNOLL        ADDRESS ON FILE
DE LA PAZ LOPEZ,MARYNOLL         ADDRESS ON FILE
DE LA PAZ MELENDEZ, JUAN         ADDRESS ON FILE
DE LA PAZ MELENDEZ, JUAN R       ADDRESS ON FILE
DE LA PAZ MELENDEZ, WILFREDO     ADDRESS ON FILE
DE LA PAZ NIEVES, LUIS           ADDRESS ON FILE
DE LA PAZ ORTIZ, EDITH M.        ADDRESS ON FILE
DE LA PAZ ORTIZ, LUIS            ADDRESS ON FILE
DE LA PAZ RAMOS, CHRISTIAN       ADDRESS ON FILE
DE LA PAZ RAMOS, NELLMARIE       ADDRESS ON FILE
De La Paz Rentas, Aida           ADDRESS ON FILE
DE LA PAZ RENTAS, JUAN           ADDRESS ON FILE
DE LA PAZ RODRIGUEZ, ABDIEL E.   ADDRESS ON FILE
DE LA PAZ RODRIGUEZ, CYNTHIA     ADDRESS ON FILE
DE LA PAZ RODRIGUEZ, FRANCES     ADDRESS ON FILE
DE LA PAZ RODRIGUEZ, JUAN        ADDRESS ON FILE
DE LA PAZ ROSA, ENEIDA           ADDRESS ON FILE
DE LA PAZ ROSA, GUMERCINDA       ADDRESS ON FILE
DE LA PAZ ROSARIO, GLORIA E.     ADDRESS ON FILE
DE LA PAZ ROSARIO, WILFREDO      ADDRESS ON FILE
DE LA PAZ RUIZ, TAIZA            ADDRESS ON FILE
De La Paz Sanchez, David         ADDRESS ON FILE
DE LA PAZ SANCHEZ, JASON         ADDRESS ON FILE
DE LA PAZ SANTA, HECTOR          ADDRESS ON FILE
DE LA PAZ TORRES, FERNANDO L.    ADDRESS ON FILE
DE LA PAZ TORRES, MARIE          ADDRESS ON FILE
DE LA PAZ VALENTIN, CARLOS       ADDRESS ON FILE
DE LA PAZ VIDAL, AMALIA          ADDRESS ON FILE
DE LA PAZ WATTLEY, RAFAEL        ADDRESS ON FILE
DE LA PAZ WATTLEY, TATIANA       ADDRESS ON FILE
De La Rosa Abreu, Aida E         ADDRESS ON FILE
DE LA ROSA ALCANTARA, DOLORES    ADDRESS ON FILE
DE LA ROSA ALGARIN, YAHAIRA      ADDRESS ON FILE
DE LA ROSA ALMODOVAR, JOSE       ADDRESS ON FILE
DE LA ROSA ALVAREZ, ANA M.       ADDRESS ON FILE
DE LA ROSA ANDUJAR, DAMARIS      ADDRESS ON FILE
De La Rosa Andujar, Damaris Y    ADDRESS ON FILE
DE LA ROSA ANDUJAR, GIANINA      ADDRESS ON FILE
DE LA ROSA ANDUJAR, OLGA         ADDRESS ON FILE
DE LA ROSA ANDUJAR, OLGA L.      ADDRESS ON FILE
DE LA ROSA AQUINO, BLANCA D      ADDRESS ON FILE
DE LA ROSA AQUINO, LUCIANNE      ADDRESS ON FILE
DE LA ROSA AVILES, RITA C        ADDRESS ON FILE
DE LA ROSA BARROS, CELIA         ADDRESS ON FILE
DE LA ROSA BARROS, OSVALDO       ADDRESS ON FILE
DE LA ROSA BENIQUEZ, LIBORIO     ADDRESS ON FILE
DE LA ROSA BERRIOS, ADFRED       ADDRESS ON FILE
DE LA ROSA BRAZOBAN, FELIX       ADDRESS ON FILE
DE LA ROSA CABALLERO, JOCELYN    ADDRESS ON FILE
DE LA ROSA CABRAL, ANGELA L      ADDRESS ON FILE
DE LA ROSA CABRAL, ANTHONY       ADDRESS ON FILE
DE LA ROSA CECILIO, BRENDA       ADDRESS ON FILE
DE LA ROSA COLON, DAVID          ADDRESS ON FILE
DE LA ROSA COLON, SYLVIA         ADDRESS ON FILE
DE LA ROSA COTTO, OSCAR          ADDRESS ON FILE
DE LA ROSA CRUZ, TERESA C        ADDRESS ON FILE
DE LA ROSA DAMIAN, YASMIN        ADDRESS ON FILE




                                                                             Page 2165 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2166 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LA ROSA DELGADO, JULIO              ADDRESS ON FILE
DE LA ROSA DELGADO, MIGUEL             ADDRESS ON FILE
DE LA ROSA DIAZ MD, JUAN ANGEL         ADDRESS ON FILE
DE LA ROSA DIAZ, JESSICA               ADDRESS ON FILE
DE LA ROSA DIAZ, MARIA M               ADDRESS ON FILE
DE LA ROSA DIAZ, YAITZA                ADDRESS ON FILE
DE LA ROSA DOMENECH, NAYDA M.          ADDRESS ON FILE
DE LA ROSA DORVILLE, ESTANISLAO        ADDRESS ON FILE
DE LA ROSA FELIX, CELIMAR              ADDRESS ON FILE
DE LA ROSA FIGUEROA, DAMARYS           ADDRESS ON FILE
DE LA ROSA FLORES, JEANIDETH           ADDRESS ON FILE
DE LA ROSA GONZALEZ, PEDRO             ADDRESS ON FILE
DE LA ROSA GRULLON, JUANA              ADDRESS ON FILE
DE LA ROSA GUERRERO, ROXANNA           ADDRESS ON FILE
DE LA ROSA GULLON, JUANA Y             ADDRESS ON FILE
DE LA ROSA HERNANDEZ, ELISA            ADDRESS ON FILE
DE LA ROSA HERNANDEZ, SONIA            ADDRESS ON FILE
DE LA ROSA JIMENEZ MD, NORMAN JAVIER   ADDRESS ON FILE
DE LA ROSA JIMENEZ, ELPIDIO            ADDRESS ON FILE
DE LA ROSA JIMENEZ, VIRGINIA           ADDRESS ON FILE
DE LA ROSA LAFONTAINE, MARIA M         ADDRESS ON FILE
DE LA ROSA LAFONTAINE, ZAIDA E         ADDRESS ON FILE
DE LA ROSA LEON, MELISSA               ADDRESS ON FILE
DE LA ROSA LUGO, ANGEL                 ADDRESS ON FILE
DE LA ROSA MARTE, CANDIDA              ADDRESS ON FILE
DE LA ROSA MARTINEZ, FRANCES           ADDRESS ON FILE
DE LA ROSA MARTINEZ, OLGA              ADDRESS ON FILE
DE LA ROSA MARTINEZ, ORLANDO           ADDRESS ON FILE
DE LA ROSA MAYSONET, ALEJANDRO         ADDRESS ON FILE
DE LA ROSA MD, DENIZ GARCIA            ADDRESS ON FILE
DE LA ROSA MD, ISMAEL RUIZ             ADDRESS ON FILE
DE LA ROSA MEDINA, ANNA                ADDRESS ON FILE
DE LA ROSA MEDINA, ANNA OLGA           ADDRESS ON FILE
DE LA ROSA MEDINA, CECILIO             ADDRESS ON FILE
DE LA ROSA MEDINA, IVETTE              ADDRESS ON FILE
DE LA ROSA MONTE, CANDIDA              ADDRESS ON FILE
DE LA ROSA MORALES, JULIO C.           ADDRESS ON FILE
DE LA ROSA MULERO, LUIS E              ADDRESS ON FILE
DE LA ROSA NEGRON, SAMUEL              ADDRESS ON FILE
DE LA ROSA NIEVES, ELIAS               ADDRESS ON FILE
DE LA ROSA NIEVES, LUZ M               ADDRESS ON FILE
DE LA ROSA NIEVES, NOEMI               ADDRESS ON FILE
DE LA ROSA NUNEZ, FELIPE               ADDRESS ON FILE
DE LA ROSA NUQEZ, JUAN F               ADDRESS ON FILE
DE LA ROSA PADILLA, SAMUEL             ADDRESS ON FILE
DE LA ROSA PENA, CARMELO               ADDRESS ON FILE
DE LA ROSA PEREZ, CARMEN I             ADDRESS ON FILE
DE LA ROSA PEREZ, ERNESTO              ADDRESS ON FILE
DE LA ROSA PEREZ, JOSE A.              ADDRESS ON FILE
DE LA ROSA PEREZ, LINDA                ADDRESS ON FILE
DE LA ROSA PEREZ, MARIA                ADDRESS ON FILE
DE LA ROSA PORTES, ERNESTINA           ADDRESS ON FILE
DE LA ROSA PORTES, ERNESTINA           ADDRESS ON FILE
DE LA ROSA QUINONES, GRISEL            ADDRESS ON FILE
DE LA ROSA QUINONES, WILLIAM           ADDRESS ON FILE
DE LA ROSA RAMIREZ, MICHAEL            ADDRESS ON FILE
DE LA ROSA RAMOS, EDELMIRO             ADDRESS ON FILE
DE LA ROSA RAMOS, JOSEFINA             ADDRESS ON FILE
DE LA ROSA RAMOS, NECTAR               ADDRESS ON FILE
De La Rosa Rey, Jose Franco            ADDRESS ON FILE




                                                                                   Page 2166 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2167 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                            Address1                            Address2                     Address3   Address4   City         State   PostalCode   Country
De La Rosa Reyes, Alberto                ADDRESS ON FILE
De La Rosa Reyes, Myrta                  ADDRESS ON FILE
DE LA ROSA REYES, MYRTA                  ADDRESS ON FILE
DE LA ROSA RIVE, JULIO                   ADDRESS ON FILE
DE LA ROSA RIVE, NORA                    ADDRESS ON FILE
DE LA ROSA RIVERA, INEABELL              ADDRESS ON FILE
DE LA ROSA RIVERA, INEABELL              ADDRESS ON FILE
DE LA ROSA RIVERA, IRIS                  ADDRESS ON FILE
DE LA ROSA RIVERA, ISAMARA               ADDRESS ON FILE
DE LA ROSA RIVERA, JONATHAN              ADDRESS ON FILE
DE LA ROSA RIVERA, JONATHAN              ADDRESS ON FILE
DE LA ROSA RIVERA, MELANIO               ADDRESS ON FILE
DE LA ROSA RODRIGUEZ, CARMEN             ADDRESS ON FILE
DE LA ROSA RODRIGUEZ, ERIKA              ADDRESS ON FILE
DE LA ROSA ROJAS, YAHAIRA                ADDRESS ON FILE
DE LA ROSA ROMERO, NECTAR                ÁNGEL AJA DELGADO                   PO BOX 1002                                        GUAYNABO     PR      00970‐1002
DE LA ROSA ROMERO, NECTAR                LCDO. NORBERTO JOSÉ SANTANA VÉLEZ   PO BOX 135                                         CAGUAS       PR      00726
DE LA ROSA ROSARIO, HUGO                 ADDRESS ON FILE
DE LA ROSA RUSSO, MIGUEL                 ADDRESS ON FILE
DE LA ROSA SANCHEZ, JULIA A.             ADDRESS ON FILE
DE LA ROSA SANCHEZ, MARILUZ              ADDRESS ON FILE
DE LA ROSA SANCHEZ, MARY LUZ I.          ADDRESS ON FILE
DE LA ROSA SANCHEZ, ROSA                 ADDRESS ON FILE
DE LA ROSA SANCHEZ, ROSA                 ADDRESS ON FILE
DE LA ROSA SANTIAGO, ANTONIO             ADDRESS ON FILE
DE LA ROSA SANTIAGO, ANTONIO             ADDRESS ON FILE
DE LA ROSA SERRANO, JOSE                 ADDRESS ON FILE
DE LA ROSA SERRANO, JOSUE R.             ADDRESS ON FILE
DE LA ROSA SILVA, JOVANY                 ADDRESS ON FILE
DE LA ROSA SOLA, LUIS R.                 ADDRESS ON FILE
DE LA ROSA STELLA & ASSOC CPA PSC        352 AVE SAN CLAUDIO                                                                    SAN JUAN     PR      00926‐4107
DE LA ROSA STELLA & ASSOCIATES CPA PSC   P O BOX 625                                                                            CAGUAS       PR      00726‐0625
DE LA ROSA STELLA, IVONNE                ADDRESS ON FILE
DE LA ROSA TERREFORTE, JASEF             ADDRESS ON FILE
De La Rosa Torres, William               ADDRESS ON FILE
DE LA ROSA TORRES, WILLIAM               ADDRESS ON FILE
DE LA ROSA VIDAL, OSVALDO                ADDRESS ON FILE
DE LA ROSA, ALEJANDRINA                  ADDRESS ON FILE
DE LA ROSA, JOSE A                       ADDRESS ON FILE
DE LA ROSA, WILFREDO                     ADDRESS ON FILE
DE LA TORRE BARBOSA, DIANA               ADDRESS ON FILE
DE LA TORRE BERBERENA, MARIA I           ADDRESS ON FILE
DE LA TORRE BISOT, GABRIEL               ADDRESS ON FILE
DE LA TORRE BISOT, GABRIEL               ADDRESS ON FILE
DE LA TORRE CRUZ, ALBERTO                ADDRESS ON FILE
DE LA TORRE CRUZ, IVAN                   ADDRESS ON FILE
DE LA TORRE CRUZ, ROSA I                 ADDRESS ON FILE
DE LA TORRE CRUZ, YEICEL                 ADDRESS ON FILE
DE LA TORRE DE HARO, PATRICIA            ADDRESS ON FILE
DE LA TORRE DOMINGUEZ, WILMA             ADDRESS ON FILE
DE LA TORRE FELICIANO, TAINA             ADDRESS ON FILE
DE LA TORRE GOMEZ, ZORYMAR               ADDRESS ON FILE
DE LA TORRE LA, TERMARIE                 ADDRESS ON FILE
DE LA TORRE LOPEZ, ROSA A                ADDRESS ON FILE
DE LA TORRE MARIN, JORGE A               ADDRESS ON FILE
DE LA TORRE MARRERO, DIANA I             ADDRESS ON FILE
DE LA TORRE MORALES, MARIA MILAGROS      ADDRESS ON FILE
DE LA TORRE OCASIO, ZAYRA                ADDRESS ON FILE
DE LA TORRE ORTIZ, SONYA M               ADDRESS ON FILE
DE LA TORRE PABON, BRYAN                 ADDRESS ON FILE




                                                                                           Page 2167 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2168 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                      Address1                  Address2                            Address3   Address4   City              State   PostalCode   Country
DE LA TORRE PEREZ, BRUNILDA        ADDRESS ON FILE
De La Torre Perez, Rafael A        ADDRESS ON FILE
DE LA TORRE REYES, JOSE            ADDRESS ON FILE
DE LA TORRE RIVERA, AILEEN         ADDRESS ON FILE
DE LA TORRE RIVERA, MARISOL        ADDRESS ON FILE
DE LA TORRE RIVERA, SAMIR          ADDRESS ON FILE
DE LA TORRE RIVERA, SOLMARIE       ADDRESS ON FILE
DE LA TORRE RIVERA, YARITZY        ADDRESS ON FILE
DE LA TORRE RODRIGUEZ, CARLOS      ADDRESS ON FILE
DE LA TORRE ROLON, MAYRISE         ADDRESS ON FILE
DE LA TORRE ROLON, MAYRISE         ADDRESS ON FILE
DE LA TORRE RUIZ, JORGE            ADDRESS ON FILE
DE LA TORRE SANCHEZ, JOSE A        ADDRESS ON FILE
DE LA TORRE SANCHEZ, KRISTIAN      ADDRESS ON FILE
DE LA TORRE SEGARRA, NAYDA         ADDRESS ON FILE
DE LA TORRE SEIJO, CLEMENTINA      ADDRESS ON FILE
DE LA TORRE SIBERON, MARIA A       ADDRESS ON FILE
DE LA TORRE SOTO, SYLMARI          ADDRESS ON FILE
DE LA TORRE TORRES, DALMIS         ADDRESS ON FILE
DE LA TORRE TORRES, MARIA M        ADDRESS ON FILE
DE LA TORRE UGARTE, CARLOS         ADDRESS ON FILE
DE LA TORRE VALENTIN, JOSE J.      ADDRESS ON FILE
DE LA TORRE VALENTIN, MORAYMA L    ADDRESS ON FILE
DE LA TORRE VALENTIN, MORAYMA L    ADDRESS ON FILE
DE LA TORRE VAZQUEZ, ANGEL D       ADDRESS ON FILE
DE LA TORRE VAZQUEZ, DAMAINA       ADDRESS ON FILE
DE LA TORRE VELEZ,SAMUEL           ADDRESS ON FILE
DE LA TORRE ZENGOTITA, LISA        ADDRESS ON FILE
DE LA TORRE, ERNESTO               ADDRESS ON FILE
DE LA TORRE, FRANCISCO             ADDRESS ON FILE
DE LA TORRE, JOSE RAMON            ADDRESS ON FILE
DE LA TORRES CRUZ, GLORIMAR        ADDRESS ON FILE
DE LA VEGA AGUILAR, ARNALDO        ADDRESS ON FILE
DE LA VEGA DIEZ, NEIDA             ADDRESS ON FILE
DE LA VEGA FERNANDEZ, LUIS         ADDRESS ON FILE
DE LA VEGA HADDOCK, MARITZA        ADDRESS ON FILE
DE LA VEGA HERNANDEZ, JOSE         ADDRESS ON FILE
DE LA VEGA MD, LOURDES PEÑA        ADDRESS ON FILE
DE LA VEGA MD, RAUL RIVERA         ADDRESS ON FILE
DE LA VEGA MORELL, ANA             ADDRESS ON FILE
DE LA VEGA ORTIZ, ODALIS           ADDRESS ON FILE
DE LA VEGA PENA, JOSE              ADDRESS ON FILE
DE LA VEGA PENA, SORCAMELIA        ADDRESS ON FILE
DE LA VEGA PENA, ZORAYA            ADDRESS ON FILE
DE LA VEGA PENA, ZORAYA            ADDRESS ON FILE
DE LA VEGA PRODUCTIONS INC         URB ROUND HLS             1213 CALLE AZUCENA                                        TRUJILLO ALTO     PR      00976‐2725
DE LA VEGA RESTO, OSVALDO          ADDRESS ON FILE
DE LA VEGA RODRIGUEZ, EDELMIRA     ADDRESS ON FILE
DE LA VEGA TRIFILIO, LUIS          ADDRESS ON FILE
DE LA VEGA TRIFILIO, MARIA         ADDRESS ON FILE
DE LA VILLA PAGAN, MARIA M         ADDRESS ON FILE
DE LA VILLA RODRIGUEZ, MARCOS L.   ADDRESS ON FILE
DE LA‐CRUZ CARTAGENA, EDGARDO      ADDRESS ON FILE
DE LAHONGRAIS TAYLOR, SOLANGE I.   ADDRESS ON FILE
DE LANNOOY, ROYSTON                ADDRESS ON FILE
DE LA‐PAZ DE LEON, ESTHER          ADDRESS ON FILE
DE LA‐PAZ GARCIA, ESTHER           ADDRESS ON FILE
DE LA‐PAZ SANTOS, ANTONIA          ADDRESS ON FILE
DE LAS CASAS GIL, ANTONIO          ADDRESS ON FILE
DE LA‐TORRE LOPEZ, IDA G           ADDRESS ON FILE




                                                                                  Page 2168 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2169 of 3500
                                                                              17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                  Address1                          Address2                  Address3   Address4   City        State   PostalCode   Country
DE LA‐TORRE MARRERO, ROSA      ADDRESS ON FILE
DE LA‐TORRE VELEZ, CARMEN C    ADDRESS ON FILE
DE LA‐VEGA RIVERA, JOHN        ADDRESS ON FILE
DE LA‐VILLA PAGAN, ELBA M      ADDRESS ON FILE
DE LEMOS RULLAN, ISABEL M.     ADDRESS ON FILE
DE LEMOS RULLAN, YOLANDA M.    ADDRESS ON FILE
DE LEMOS SANCHEZ, EMMY L       ADDRESS ON FILE
DE LEMOS VASQUEZ, EMILIO       ADDRESS ON FILE
DE LEON ., YAMIL J             ADDRESS ON FILE
DE LEON ABREU, CIRILO          ADDRESS ON FILE
DE LEON ABREU, KAREN           ADDRESS ON FILE
DE LEON ACEVEDO, ARMANDO       ADDRESS ON FILE
DE LEON ACEVEDO, LUIS          ADDRESS ON FILE
De Leon Agostini, Glorivee     ADDRESS ON FILE
DE LEON AGOSTINI, GLORIVEE     ADDRESS ON FILE
DE LEON AGUAYO, ARLENE         ADDRESS ON FILE
DE LEON ALAGO, OMAR            ADDRESS ON FILE
DE LEON ALAGO, TAMARA M.       ADDRESS ON FILE
DE LEON ALAMO, JOSE J          ADDRESS ON FILE
DE LEON ALAMO, LUIS            ADDRESS ON FILE
DE LEON ALAMO, LUIS E          ADDRESS ON FILE
DE LEON ALAMO, MARISOL         ADDRESS ON FILE
De Leon Albino, Hector         ADDRESS ON FILE
DE LEON ALBINO, MARIA A        ADDRESS ON FILE
DE LEON ALEJANDRO, VICTOR      ADDRESS ON FILE
DE LEON ALEMAN, VICTOR A.      ADDRESS ON FILE
DE LEON ALFONSO, DARIO         ADDRESS ON FILE
De Leon Algarin, Rafael A      ADDRESS ON FILE
DE LEON ALICANO, DAMARIS       ADDRESS ON FILE
DE LEON ALICEA, ALEX           ADDRESS ON FILE
DE LEON ALICEA, MANUEL         ADDRESS ON FILE
DE LEON ALICEA, ROSA N         ADDRESS ON FILE
DE LEON ALVARADO, LUIS E       ADDRESS ON FILE
DE LEON ALVAREZ, JESUS         ADDRESS ON FILE
DE LEON AMARO, FELIPE          ADDRESS ON FILE
DE LEON AMARO, MARIA           ADDRESS ON FILE
DE LEON ANAYA, OLGA            ADDRESS ON FILE
DE LEON APONTE, MARIA          ADDRESS ON FILE
DE LEON APONTE, MARIA DE LOS   ADDRESS ON FILE
DE LEON ARRIAGA, CARMEN M      ADDRESS ON FILE
DE LEON ARRIAGA, JOSEFINA      ADDRESS ON FILE
DE LEON ARRIAGA, JOSEFINA      ADDRESS ON FILE
De Leon Arroyo, Haydee         ADDRESS ON FILE
DE LEON AVILA, NILDA           ADDRESS ON FILE
DE LEON BAERGA, ORLANDO        ADDRESS ON FILE
DE LEON BAEZ, EDWIN            ADDRESS ON FILE
DE LEON BAEZ, LIZ N.           ADDRESS ON FILE
DE LEON BAEZ, NELSON           ADDRESS ON FILE
DE LEON BASEBALL CLINICS INC   URB LOS ALGARROBOS K 14 CALLE G                                                   GUAYAMA     PR      00784
DE LEON BAUTISTA, NELSON       ADDRESS ON FILE
DE LEON BELLO, LUCILA          ADDRESS ON FILE
DE LEON BENITEZ, YAJAIRA       ADDRESS ON FILE
De Leon Berberena, Luis D      ADDRESS ON FILE
De Leon Bermudez, Carlos       ADDRESS ON FILE
De Leon Bermudez, Cristina     ADDRESS ON FILE
DE LEON BERMUDEZ, CRISTINA     ADDRESS ON FILE
DE LEON BERMUDEZ, MIGUEL       ADDRESS ON FILE
De Leon Bermudez, Miguel A     ADDRESS ON FILE
DE LEON BERRIOS, KRIZIA V      ADDRESS ON FILE
DE LEON BONANO, MIGUEL         ADDRESS ON FILE




                                                                            Page 2169 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2170 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                            Address1                  Address2                                   Address3   Address4   City       State   PostalCode   Country
DE LEON BORGES, JENITZA                  ADDRESS ON FILE
DE LEON BORGES, JOMARIE                  ADDRESS ON FILE
De Leon Bracero, Angel L                 ADDRESS ON FILE
DE LEON BRISTOL, MIGDALIA                ADDRESS ON FILE
DE LEON BROTHERS / DBA BAMBINOS DAY CARE URB VILLA CARMEN          O 10 AVE LUIS MUNOZ MARIN                                        CAGUAS     PR      00725
DE LEON BRUNO, JOSE                      ADDRESS ON FILE
DE LEON BUENO, MARTIN                    ADDRESS ON FILE
DE LEON BUENO, VIRGILIO                  ADDRESS ON FILE
DE LEON BURGOS, PORFIRIO                 ADDRESS ON FILE
DE LEON CABRERA, YULMARIE N              ADDRESS ON FILE
DE LEON CACERES, RAMONITA                ADDRESS ON FILE
DE LEON CACERES, VICTOR M.               ADDRESS ON FILE
De Leon Camacho, Angel J.                ADDRESS ON FILE
DE LEON CAMACHO, BRENDA L                ADDRESS ON FILE
DE LEON CAMPOS, IRIS C                   ADDRESS ON FILE
DE LEON CANAAN, ADALMIZA                 ADDRESS ON FILE
DE LEON CANALES, LUIS N                  ADDRESS ON FILE
DE LEON CANCEL, EMMA                     ADDRESS ON FILE
DE LEON CARABALLO, JAVIER                ADDRESS ON FILE
De Leon Carambot, Angel                  ADDRESS ON FILE
DE LEON CARAMBOT, LUCY                   ADDRESS ON FILE
DE LEON CARMONA, YADIRAH                 ADDRESS ON FILE
DE LEON CARRASQUILLO, ALEXIS             ADDRESS ON FILE
DE LEON CARRASQUILLO, DORIS I            ADDRESS ON FILE
DE LEON CARRASQUILLO, SONIA              ADDRESS ON FILE
DE LEON CARRERA, MARITZA A.              ADDRESS ON FILE
DE LEON CARRERAS, NEYLIN                 ADDRESS ON FILE
DE LEON CARRERAS, NEYLIN                 ADDRESS ON FILE
DE LEON CARRERAS, NOEMI                  ADDRESS ON FILE
DE LEON CARRION, CARMEN R                ADDRESS ON FILE
DE LEON CASILLAS, ADELE M.               ADDRESS ON FILE
DE LEON CASTRO, DENISE                   ADDRESS ON FILE
DE LEON CEBALLOS, AGUSTIN                ADDRESS ON FILE
DE LEON CLAUDIO, MIOSOTTI                ADDRESS ON FILE
DE LEON CLAUDIO, NOEMI S.                ADDRESS ON FILE
DE LEON COLLAZO, JOSE F                  ADDRESS ON FILE
De Leon Colon, Abraham                   ADDRESS ON FILE
DE LEON COLON, ANGEL R                   ADDRESS ON FILE
DE LEON COLON, BLANCA L                  ADDRESS ON FILE
DE LEON COLON, HUMBERTO                  ADDRESS ON FILE
DE LEON COLON, ISABEL M.                 ADDRESS ON FILE
DE LEON COLON, JUAN A                    ADDRESS ON FILE
DE LEON COLON, NANCY                     ADDRESS ON FILE
DE LEON COLON, NELSON                    ADDRESS ON FILE
De Leon Colon, Nelson M                  ADDRESS ON FILE
DE LEON COLON, REINALDO                  ADDRESS ON FILE
De Leon Colon, Yamil A.                  ADDRESS ON FILE
DE LEON CONCEPCION, IDE NOEMI            ADDRESS ON FILE
DE LEON CONCEPCION, JUANA                ADDRESS ON FILE
DE LEON CONTRERAS, HECTOR                ADDRESS ON FILE
DE LEON CONTRERAS, MARILYN               ADDRESS ON FILE
De Leon Core, David                      ADDRESS ON FILE
DE LEON CORNELIO, MARTIN O               ADDRESS ON FILE
DE LEON CORREA, CINTHIA M                ADDRESS ON FILE
DE LEON CORREA, GEORGE D.                ADDRESS ON FILE
DE LEON CORTES, MYRTELINA                ADDRESS ON FILE
DE LEON COTTO, LUIS A.                   ADDRESS ON FILE
DE LEON COTTO, VILMA                     ADDRESS ON FILE
DE LEON COTTO, VILMA                     ADDRESS ON FILE
DE LEON CRESPO, WANDA                    ADDRESS ON FILE




                                                                                               Page 2170 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2171 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                        Address1                       Address2                                    Address3         Address4   City            State   PostalCode   Country
DE LEON CRISPIN, MARTA               ADDRESS ON FILE
DE LEON CRUZ, ALFREDO                ADDRESS ON FILE
DE LEON CRUZ, CARLOS                 ADDRESS ON FILE
DE LEON CRUZ, EDWIN                  ADDRESS ON FILE
DE LEON CRUZ, EVARISTO               ADDRESS ON FILE
DE LEON CRUZ, MARIA ELENA            ADDRESS ON FILE
DE LEON CRUZ, MAYRA                  ADDRESS ON FILE
DE LEON CRUZ, MICHELLE               ADDRESS ON FILE
DE LEON CUADRA, ANGEL L              ADDRESS ON FILE
DE LEON CUADRA, ELIZABETH            ADDRESS ON FILE
DE LEON CUADRADO, BRENDA E.          ADDRESS ON FILE
DE LEON CUADRADO, JULIO              ADDRESS ON FILE
DE LEON CUADRADO, JULIO              ADDRESS ON FILE
DE LEON CURET, MARIA                 ADDRESS ON FILE
DE LEON CURET, MARIA DEL C           ADDRESS ON FILE
DE LEON CURET, SAMUEL                ADDRESS ON FILE
DE LEON DAVILA, RAFAEL               ADDRESS ON FILE
De Leon De Diaz, Blanca              ADDRESS ON FILE
DE LEON DE JESUS, ERIC               ADDRESS ON FILE
DE LEON DE JESUS, MANUELA            ADDRESS ON FILE
DE LEON DE JESUS, MARIBEL            ADDRESS ON FILE
DE LEON DE JESUS, ROSA               ADDRESS ON FILE
DE LEON DE JESUS, ROSALIA            ADDRESS ON FILE
DE LEON DE LEON, JUAN                ADDRESS ON FILE
De Leon De Leon, Juan A.             ADDRESS ON FILE
De Leon De Leon, Lydia R             ADDRESS ON FILE
DE LEON DE LEON, MARIA               ADDRESS ON FILE
DE LEON DE LEON, MARIA               ADDRESS ON FILE
DE LEON DE LEON, NIVIA               ADDRESS ON FILE
DE LEON DE LEON, VIDALINA            ADDRESS ON FILE
DE LEON DEL VALLE, CARMEN L          ADDRESS ON FILE
DE LEON DIAZ, ALI                    ADDRESS ON FILE
DE LEON DIAZ, CARMEN S.              ADDRESS ON FILE
DE LEON DIAZ, DICKSON                ADDRESS ON FILE
DE LEON DIAZ, DICKSON                ADDRESS ON FILE
DE LEON DIAZ, EDMARIE                ADDRESS ON FILE
DE LEON DIAZ, GILBERTO               ADDRESS ON FILE
DE LEON DIAZ, GIOVANNIE              ADDRESS ON FILE
DE LEON DIAZ, HILARIO                ADDRESS ON FILE
DE LEON DIAZ, JANET                  ADDRESS ON FILE
DE LEON DIAZ, LEE A                  ADDRESS ON FILE
DE LEON DIAZ, RAFAEL                 ADDRESS ON FILE
DE LEON DIAZ, RAFAEL                 ADDRESS ON FILE
DE LEON DIAZ, RICARDO                ADDRESS ON FILE
DE LEON DIAZ, TERESA                 ADDRESS ON FILE
DE LEON DIAZ, VICTOR                 ADDRESS ON FILE
DE LEON DONE, RUDY                   ADDRESS ON FILE
DE LEON ERAZO, EVELYN                ADDRESS ON FILE
DE LEON ESPADA, CARLOS A             ADDRESS ON FILE
DE LEON EXPOSITO, PURA M.            ADDRESS ON FILE
DE LEON FELIX, IVETTE                ADDRESS ON FILE
DE LEON FELIX, JOSE ANGEL            ADDRESS ON FILE
DE LEON FIGUEROA, ALEXANDER DAMIAN   ADDRESS ON FILE
DE LEON FIGUEROA, FRANCISCO          ADDRESS ON FILE
DE LEON FIGUEROA, HECTOR Y OTROS     ADRIAN O. DIAZ DIAZ            URB. BAIROA CALLE 32 AM‐17                                              CAGUAS          PR      00725
DE LEON FIGUEROA, HECTOR Y OTROS     CARMEN LYDIA GONZALEZ RIVERA   RR‐07 BOX 8274                                                          SAN JUAN        PR      00926
DE LEON FIGUEROA, HECTOR Y OTROS     FELIX O. ALFARO RIVERA         APARTADO 70244                                                          SAN JUAN        PR      00936‐8244
DE LEON FIGUEROA, HECTOR Y OTROS     JOSE S. BRENES LA ROCHE        APARTADO                                               754              SAN LORENZO     PR      00754
DE LEON FIGUEROA, HECTOR Y OTROS     MELBA RAMOS APONTE             24 CALLE MARIANA BRACETTI                                               RIO PIEDRAS     PR      00925
DE LEON FIGUEROA, HECTOR Y OTROS     YADIZ IVONNE NUÑEZ COTTO       APART. 816                                                              CIDRA           PR      00739




                                                                                                 Page 2171 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2172 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON FIGUEROA, ITZA M       ADDRESS ON FILE
DE LEON FIGUEROA, NILDA        ADDRESS ON FILE
DE LEON FIGUEROA, RADDY        ADDRESS ON FILE
DE LEON FIGUEROA, VICENTE J.   ADDRESS ON FILE
DE LEON FIGUEROA,RADDY         ADDRESS ON FILE
DE LEON FLECHA, JESSICA        ADDRESS ON FILE
DE LEON FLECHA, MILAGROS       ADDRESS ON FILE
DE LEON FLORES, JOSE           ADDRESS ON FILE
DE LEON FLORES, JOSE LUIS      ADDRESS ON FILE
DE LEON FONSECA, SONIA         ADDRESS ON FILE
DE LEON FORTIER, GISELA        ADDRESS ON FILE
DE LEON FORTIER, LOURDES       ADDRESS ON FILE
De Leon Freytes, Javier        ADDRESS ON FILE
DE LEON FUENTES, JOSE          ADDRESS ON FILE
DE LEON FUENTES, JOSE A.       ADDRESS ON FILE
DE LEON GABRIEL, MYRIAM        ADDRESS ON FILE
DE LEON GABRIEL, MYRIAN        ADDRESS ON FILE
De Leon Garces, Humberto       ADDRESS ON FILE
DE LEON GARCIA, AILEEN         ADDRESS ON FILE
DE LEON GARCIA, AILEEN         ADDRESS ON FILE
DE LEON GARCIA, FRANCISCO      ADDRESS ON FILE
DE LEON GARCIA, MADELINE       ADDRESS ON FILE
DE LEON GARCIA, MARILYN        ADDRESS ON FILE
DE LEON GARCIA, VERONICA       ADDRESS ON FILE
DE LEON GARCIA, VERONICA       ADDRESS ON FILE
DE LEON GARCIA, VERONICA       ADDRESS ON FILE
DE LEON GOIRE, AUREA           ADDRESS ON FILE
DE LEON GOIRE, ELSIE           ADDRESS ON FILE
DE LEON GOMEZ, ANDREA          ADDRESS ON FILE
DE LEON GOMEZ, NESTOR          ADDRESS ON FILE
DE LEON GONZALEZ, AILEEN       ADDRESS ON FILE
DE LEON GONZALEZ, CANDIDO      ADDRESS ON FILE
DE LEON GONZALEZ, CLAUDIA      ADDRESS ON FILE
DE LEON GONZALEZ, EMMA R       ADDRESS ON FILE
DE LEON GONZALEZ, GABRIEL      ADDRESS ON FILE
DE LEON GONZALEZ, HUMBERTO     ADDRESS ON FILE
DE LEON GONZALEZ, JOSE A.      ADDRESS ON FILE
DE LEON GONZALEZ, JOSE A.      ADDRESS ON FILE
DE LEON GONZALEZ, JOSUE        ADDRESS ON FILE
DE LEON GONZALEZ, MARIBEL      ADDRESS ON FILE
DE LEON GONZALEZ, MARIEL       ADDRESS ON FILE
DE LEON GONZALEZ, MARTA        ADDRESS ON FILE
DE LEON GONZALEZ, NEISHA       ADDRESS ON FILE
DE LEON GONZALEZ, TRIXIE       ADDRESS ON FILE
DE LEON GONZALEZ, TRIXIE       ADDRESS ON FILE
DE LEON GONZALEZ, VIRGINIA     ADDRESS ON FILE
DE LEON GUADALUPE, LUIS M.     ADDRESS ON FILE
De leon Gutierrez, Michael J   ADDRESS ON FILE
DE LEON GUZMAN, RICARDO        ADDRESS ON FILE
DE LEON HERNANDEZ, ANGEL       ADDRESS ON FILE
DE LEON HERNANDEZ, CLOTILDE    ADDRESS ON FILE
DE LEON HERNANDEZ, FRANCISCO   ADDRESS ON FILE
De Leon Hernandez, Guillermo   ADDRESS ON FILE
DE LEON HERNANDEZ, JANICE      ADDRESS ON FILE
DE LEON HERNANDEZ, KARLA E.    ADDRESS ON FILE
DE LEON HERNANDEZ, LUIS A      ADDRESS ON FILE
DE LEON HERNANDEZ, MARIA       ADDRESS ON FILE
DE LEON HERNANDEZ, MARICRUZ    ADDRESS ON FILE
DE LEON HERNANDEZ, MARITZA     ADDRESS ON FILE
DE LEON HERNANDEZ, MARTA       ADDRESS ON FILE




                                                                           Page 2172 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2173 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON HERNANDEZ, OMAR        ADDRESS ON FILE
DE LEON HERNANDEZ, OSMER J     ADDRESS ON FILE
DE LEON HUERTAS, ANNA          ADDRESS ON FILE
DE LEON IGLESIAS, MARIA M      ADDRESS ON FILE
DE LEON IRIZARRY, DAMARIS      ADDRESS ON FILE
DE LEON IRIZARRY, JUAN         ADDRESS ON FILE
DE LEON ITHIER, JAVIER         ADDRESS ON FILE
DE LEON LABOY, LUIS            ADDRESS ON FILE
DE LEON LAMBOY, JOEL           ADDRESS ON FILE
De Leon Lebron, Juan           ADDRESS ON FILE
DE LEON LEON, VIRGINIA         ADDRESS ON FILE
DE LEON LLUBERES, JOSE A       ADDRESS ON FILE
DE LEON LOPEZ, JANETTE         ADDRESS ON FILE
DE LEON LOPEZ, JULIA           ADDRESS ON FILE
DE LEON LOPEZ, LUZ M           ADDRESS ON FILE
DE LEON LOZADA, ANNETTE        ADDRESS ON FILE
DE LEON LOZADA, JEANETTE       ADDRESS ON FILE
DE LEON LOZADA, YAMARIS        ADDRESS ON FILE
DE LEON LUCIANO, JENNIFER      ADDRESS ON FILE
De Leon Luna, Raddy A.         ADDRESS ON FILE
DE LEON MAISONET, SONIA        ADDRESS ON FILE
DE LEON MALAVE, ADALBERTO      ADDRESS ON FILE
DE LEON MALDONADO, FRANCISCO   ADDRESS ON FILE
DE LEON MALDONADO, RAMON       ADDRESS ON FILE
DE LEON MALDONADO, RAMON       ADDRESS ON FILE
DE LEON MARQUEZ, ISANGELINE    ADDRESS ON FILE
DE LEON MARQUEZ, LIZBETH       ADDRESS ON FILE
DE LEON MARRERO, ANGEL         ADDRESS ON FILE
DE LEON MARRERO, ANGEL G       ADDRESS ON FILE
DE LEON MARRERO, GABRIEL R     ADDRESS ON FILE
DE LEON MARRERO, JANNETTE      ADDRESS ON FILE
DE LEON MARTINEZ MD, CARMEN    ADDRESS ON FILE
DE LEON MARTINEZ, CARLOS       ADDRESS ON FILE
DE LEON MARTINEZ, CARMINA      ADDRESS ON FILE
DE LEON MARTINEZ, FELICITA     ADDRESS ON FILE
DE LEON MARTINEZ, GERARDO      ADDRESS ON FILE
DE LEON MARTINEZ, HECTOR E     ADDRESS ON FILE
DE LEON MARTINEZ, HECTOR N     ADDRESS ON FILE
DE LEON MARTINEZ, JOSE         ADDRESS ON FILE
De Leon Martinez, Jose A       ADDRESS ON FILE
DE LEON MARTINEZ, NYDIA        ADDRESS ON FILE
DE LEON MARTINEZ, THELMA       ADDRESS ON FILE
DE LEON MASSO, MIGDALIA        ADDRESS ON FILE
DE LEON MATOS, JOSE A.         ADDRESS ON FILE
DE LEON MATOS, MARIO           ADDRESS ON FILE
DE LEON MEDINA, YECENIA        ADDRESS ON FILE
DE LEON MELENDEZ, BIRLA        ADDRESS ON FILE
DE LEON MELENDEZ, BIRLA        ADDRESS ON FILE
DE LEON MELENDEZ, JONATHAN     ADDRESS ON FILE
DE LEON MELENDEZ, MALLORY      ADDRESS ON FILE
DE LEON MENA, JOSE             ADDRESS ON FILE
DE LEON MENDEZ, NELSON O       ADDRESS ON FILE
DE LEON MERCADO, JASMINE       ADDRESS ON FILE
DE LEON MERCED, JUANITA        ADDRESS ON FILE
DE LEON MILLAN, CARMEN I       ADDRESS ON FILE
De Leon Minton, Jerry          ADDRESS ON FILE
DE LEON MITCHELL, RAFAEL A     ADDRESS ON FILE
DE LEON MITCHELL,RAFAEL        ADDRESS ON FILE
DE LEON MOLINA, ANGELES        ADDRESS ON FILE
DE LEON MOLINA, FRANCISCO      ADDRESS ON FILE




                                                                           Page 2173 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2174 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON MONROING, EDWIN           ADDRESS ON FILE
DE LEON MONROUZEAU, MARIA DEL P   ADDRESS ON FILE
DE LEON MORA, ELENA               ADDRESS ON FILE
DE LEON MORALES, JOMARIS          ADDRESS ON FILE
DE LEON MORALES, JOSE M.          ADDRESS ON FILE
DE LEON MORALES, LUTMARY          ADDRESS ON FILE
DE LEON MORAN, ALICIA             ADDRESS ON FILE
DE LEON MOULIER, MERCEDITA        ADDRESS ON FILE
DE LEON MULERO, FRANKLIN          ADDRESS ON FILE
DE LEON MUNIZ, ANGIE G            ADDRESS ON FILE
DE LEON MUNIZ, IVETTE             ADDRESS ON FILE
DE LEON MUNIZ, WANDA              ADDRESS ON FILE
DE LEON MUNOZ, ARIEL              ADDRESS ON FILE
DE LEON MUNOZ, CARLOS             ADDRESS ON FILE
DE LEON MUNOZ, CATHERINE          ADDRESS ON FILE
DE LEON NAVARRO, SONIA            ADDRESS ON FILE
DE LEON NEGRON, CYNTHIA           ADDRESS ON FILE
DE LEON NIEVES, CANDIDO           ADDRESS ON FILE
DE LEON NIEVES, JOSE              ADDRESS ON FILE
DE LEON NIEVES, LOLYMAR           ADDRESS ON FILE
DE LEON NIEVES, PEDRO             ADDRESS ON FILE
DE LEON NUNEZ, EMILDA             ADDRESS ON FILE
DE LEON OCASIO, HECTOR            ADDRESS ON FILE
DE LEON OCASIO, HECTOR J          ADDRESS ON FILE
DE LEON OCASIO, HECTOR J          ADDRESS ON FILE
DE LEON OCASIO, HECTOR J          ADDRESS ON FILE
DE LEON OCASIO, HECTOR J          ADDRESS ON FILE
DE LEON OCASIO, HECTOR L          ADDRESS ON FILE
DE LEON OCASIO, HECTOR P          ADDRESS ON FILE
DE LEON OCASIO, LUZ D             ADDRESS ON FILE
DE LEON OCASIO, YOJANA            ADDRESS ON FILE
De Leon Ofray, Xavier             ADDRESS ON FILE
DE LEON OJEDA, JOSE               ADDRESS ON FILE
DE LEON OLIVO, ANA R              ADDRESS ON FILE
DE LEON OLMEDA, GLADYS            ADDRESS ON FILE
DE LEON OLMEDA, GLADYS            ADDRESS ON FILE
DE LEON OLMEDA, ISABEL            ADDRESS ON FILE
DE LEON ORTEGA, FRANCISCO         ADDRESS ON FILE
DE LEON ORTEGA, VICTOR M.         ADDRESS ON FILE
DE LEON ORTIZ, ADA I              ADDRESS ON FILE
DE LEON ORTIZ, ADABELRTO          ADDRESS ON FILE
DE LEON ORTIZ, AMALYN             ADDRESS ON FILE
DE LEON ORTIZ, BENJAMIN           ADDRESS ON FILE
DE LEON ORTIZ, DAISY I.           ADDRESS ON FILE
DE LEON ORTIZ, ELENA              ADDRESS ON FILE
DE LEON ORTIZ, EMILIA             ADDRESS ON FILE
DE LEON ORTIZ, ERIC               ADDRESS ON FILE
DE LEON ORTIZ, FELIX              ADDRESS ON FILE
De Leon Ortiz, Gerard             ADDRESS ON FILE
DE LEON ORTIZ, LILLIAM R          ADDRESS ON FILE
DE LEON ORTIZ, MARIA A            ADDRESS ON FILE
DE LEON ORTIZ, MARIBEL            ADDRESS ON FILE
DE LEON ORTIZ, MARIBEL            ADDRESS ON FILE
DE LEON ORTIZ, NAYDEEN            ADDRESS ON FILE
DE LEON ORTIZ, NORMA L            ADDRESS ON FILE
DE LEON ORTIZ, VANESSA            ADDRESS ON FILE
DE LEON OTANO, KAREN              ADDRESS ON FILE
DE LEON OTANO, NORMA              ADDRESS ON FILE
DE LEON OTERO, ANGEL R            ADDRESS ON FILE
De Leon Otero, Blanca             ADDRESS ON FILE




                                                                              Page 2174 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2175 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON OTERO, JUDITH          ADDRESS ON FILE
DE LEON PADILLA, DUMIA         ADDRESS ON FILE
DE LEON PADILLA, JOSE          ADDRESS ON FILE
DE LEON PAGAN, GLADYS          ADDRESS ON FILE
DE LEON PAGAN, GLADYS YAMIRA   ADDRESS ON FILE
DE LEON PAGAN, JUANITA         ADDRESS ON FILE
DE LEON PAGAN, LYDIA I         ADDRESS ON FILE
DE LEON PAGAN, LYSAMAR         ADDRESS ON FILE
DE LEON PANTOJAS, ANTONIO      ADDRESS ON FILE
DE LEON PARES, ANNIE           ADDRESS ON FILE
DE LEON PASTOR, JOSE R         ADDRESS ON FILE
De Leon Pastor, Maria L        ADDRESS ON FILE
DE LEON PEREIRA, AIMEE         ADDRESS ON FILE
DE LEON PEREIRA, AIMEE         ADDRESS ON FILE
DE LEON PEREZ MD, ROBERTO      ADDRESS ON FILE
DE LEON PEREZ, ALBERTO         ADDRESS ON FILE
DE LEON PEREZ, CARMEN M        ADDRESS ON FILE
DE LEON PEREZ, FLAVIA I.       ADDRESS ON FILE
DE LEON PEREZ, JOSE            ADDRESS ON FILE
DE LEON PEREZ, JULIAN          ADDRESS ON FILE
DE LEON PEREZ, KATHERINE       ADDRESS ON FILE
DE LEON PEREZ, MARINO          ADDRESS ON FILE
DE LEON PEREZ, MIRNA           ADDRESS ON FILE
DE LEON PEREZ, MYRNA           ADDRESS ON FILE
De Leon Perez, Ramon           ADDRESS ON FILE
DE LEON PICON, EMMANUEL        ADDRESS ON FILE
DE LEON PICON, MATIEL          ADDRESS ON FILE
DE LEON PICOT, GLORIMAR        ADDRESS ON FILE
DE LEON PICOT, JORGE           ADDRESS ON FILE
DE LEON PINTO, MARGARITA       ADDRESS ON FILE
DE LEON POLO, NUBEL I          ADDRESS ON FILE
DE LEON POMALES, NILDA         ADDRESS ON FILE
DE LEON PONCE, NITZA           ADDRESS ON FILE
De Leon Quinones, Jorge L      ADDRESS ON FILE
DE LEON QUINONES, LUIS         ADDRESS ON FILE
DE LEON QUINONES, MILAGROS     ADDRESS ON FILE
DE LEON QUINONEZ, ALBA N.      ADDRESS ON FILE
DE LEON QUINTANA, PEDRO E.     ADDRESS ON FILE
DE LEON QUIROS, MELINDA        ADDRESS ON FILE
DE LEON RAMIREZ, STEPHANIE     ADDRESS ON FILE
DE LEON RAMOS, DIANORIS        ADDRESS ON FILE
DE LEON RAMOS, EVELYN          ADDRESS ON FILE
DE LEON RAMOS, LAURIE          ADDRESS ON FILE
DE LEON RAMOS, WILLIAM         ADDRESS ON FILE
DE LEON RAMOS, YAJAIRA LIZ     ADDRESS ON FILE
De Leon Reina, Edna M.         ADDRESS ON FILE
DE LEON REMMIE, ARTURO         ADDRESS ON FILE
DE LEON REYES, ADELAIDA        ADDRESS ON FILE
DE LEON REYES, ANDRES          ADDRESS ON FILE
DE LEON REYES, BARBARA         ADDRESS ON FILE
DE LEON REYES, DALMA           ADDRESS ON FILE
DE LEON REYES, DANNY           ADDRESS ON FILE
De Leon Reyes, Jorge W         ADDRESS ON FILE
DE LEON REYES, JULIA           ADDRESS ON FILE
DE LEON REYES, MANUEL F.       ADDRESS ON FILE
DE LEON REYES, MARGARITA       ADDRESS ON FILE
DE LEON REYES, MARITZA         ADDRESS ON FILE
DE LEON REYES, PEDRO           ADDRESS ON FILE
DE LEON REYES, PEDRO J.        ADDRESS ON FILE
DE LEON RIOS, LUZ N            ADDRESS ON FILE




                                                                           Page 2175 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2176 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON RIOS, MARIA I            ADDRESS ON FILE
DE LEON RIOS, MAYLIN             ADDRESS ON FILE
DE LEON RIOS, NYMARIS            ADDRESS ON FILE
DE LEON RIOS, REBECCA            ADDRESS ON FILE
DE LEON RIOS,MAYLIN T.           ADDRESS ON FILE
DE LEON RIVERA, AIDA I           ADDRESS ON FILE
DE LEON RIVERA, BRENDA           ADDRESS ON FILE
DE LEON RIVERA, CARLOS           ADDRESS ON FILE
DE LEON RIVERA, CATALINA         ADDRESS ON FILE
DE LEON RIVERA, CONCEPCION       ADDRESS ON FILE
DE LEON RIVERA, DANIEL           ADDRESS ON FILE
DE LEON RIVERA, EDGAR            ADDRESS ON FILE
De Leon Rivera, Edgar F          ADDRESS ON FILE
DE LEON RIVERA, ELSIE            ADDRESS ON FILE
DE LEON RIVERA, FREDDIE          ADDRESS ON FILE
DE LEON RIVERA, GLADYS           ADDRESS ON FILE
DE LEON RIVERA, GREGORIO         ADDRESS ON FILE
DE LEON RIVERA, JANETTE          ADDRESS ON FILE
DE LEON RIVERA, JONATHAN         ADDRESS ON FILE
DE LEON RIVERA, LEMARYS          ADDRESS ON FILE
DE LEON RIVERA, LUIS             ADDRESS ON FILE
DE LEON RIVERA, LYDIANA          ADDRESS ON FILE
DE LEON RIVERA, MADELINE         ADDRESS ON FILE
DE LEON RIVERA, MARIA D          ADDRESS ON FILE
DE LEON RIVERA, MARIA V          ADDRESS ON FILE
DE LEON RIVERA, MELISSA          ADDRESS ON FILE
DE LEON RIVERA, MILAGROS         ADDRESS ON FILE
DE LEON RIVERA, MILAGROS DEL     ADDRESS ON FILE
DE LEON RIVERA, MYRTA S          ADDRESS ON FILE
De Leon Rivera, Omar             ADDRESS ON FILE
De Leon Rivera, Orlando          ADDRESS ON FILE
DE LEON RIVERA, OSCAR            ADDRESS ON FILE
DE LEON RIVERA, SANDRA I         ADDRESS ON FILE
DE LEON RIVERA, WILSON           ADDRESS ON FILE
DE LEON RIVERA, YAMIRA           ADDRESS ON FILE
DE LEON RIVERA, YANAIRA          ADDRESS ON FILE
DE LEON RODRIGUEZ, AIXA P        ADDRESS ON FILE
DE LEON RODRIGUEZ, ALEJANDRO J   ADDRESS ON FILE
DE LEON RODRIGUEZ, ANGEL L.      ADDRESS ON FILE
DE LEON RODRIGUEZ, ARIELYS       ADDRESS ON FILE
DE LEON RODRIGUEZ, BENJAMIN      ADDRESS ON FILE
DE LEON RODRIGUEZ, BRAULIO       ADDRESS ON FILE
DE LEON RODRIGUEZ, CARLOS E      ADDRESS ON FILE
DE LEON RODRIGUEZ, CARMEN        ADDRESS ON FILE
DE LEON RODRIGUEZ, EDGARDO       ADDRESS ON FILE
DE LEON RODRIGUEZ, EDGARDO       ADDRESS ON FILE
DE LEON RODRIGUEZ, ELSIE         ADDRESS ON FILE
DE LEON RODRIGUEZ, GERSON        ADDRESS ON FILE
DE LEON RODRIGUEZ, GLADYS        ADDRESS ON FILE
DE LEON RODRIGUEZ, HECTOR        ADDRESS ON FILE
DE LEON RODRIGUEZ, JOSE          ADDRESS ON FILE
DE LEON RODRIGUEZ, JOSUE D       ADDRESS ON FILE
De Leon Rodriguez, Juan A.       ADDRESS ON FILE
DE LEON RODRIGUEZ, JUANA         ADDRESS ON FILE
DE LEON RODRIGUEZ, KIYOMI        ADDRESS ON FILE
DE LEON RODRIGUEZ, LUIS          ADDRESS ON FILE
DE LEON RODRIGUEZ, LYDIANNE      ADDRESS ON FILE
De Leon Rodriguez, Magaly        ADDRESS ON FILE
DE LEON RODRIGUEZ, MARIA         ADDRESS ON FILE
DE LEON RODRIGUEZ, MARIBEL       ADDRESS ON FILE




                                                                             Page 2176 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2177 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON RODRIGUEZ, MILAGROS       ADDRESS ON FILE
DE LEON RODRIGUEZ, PABLO          ADDRESS ON FILE
DE LEON RODRIGUEZ, PEDRO          ADDRESS ON FILE
DE LEON RODRIGUEZ, ROSALYN        ADDRESS ON FILE
DE LEON RODRIGUEZ, SHIRLEYAN M.   ADDRESS ON FILE
DE LEON RODRIGUEZ, SYLVIA         ADDRESS ON FILE
DE LEON RODRIGUEZ, YOSLIE         ADDRESS ON FILE
DE LEON ROHENA, CATALINA          ADDRESS ON FILE
DE LEON ROIG MD, NOEL             ADDRESS ON FILE
DE LEON ROIG, NOEL S              ADDRESS ON FILE
DE LEON ROJAS, JANET              ADDRESS ON FILE
DE LEON ROJAS, KEILA              ADDRESS ON FILE
DE LEON ROMAN, ANA MARIA          ADDRESS ON FILE
DE LEON ROMAN, JUAN R             ADDRESS ON FILE
DE LEON ROMAN, LILLIVETTE         ADDRESS ON FILE
DE LEON ROMAN, LOYDA              ADDRESS ON FILE
DE LEON ROMAN, LUZ                ADDRESS ON FILE
DE LEON ROMAN, WILFREDO           ADDRESS ON FILE
DE LEON RONDON, RAFAEL            ADDRESS ON FILE
De Leon Rosa, Bejamin             ADDRESS ON FILE
DE LEON ROSA, CARMEN              ADDRESS ON FILE
DE LEON ROSA, CARMEN R            ADDRESS ON FILE
DE LEON ROSA, JUDITH              ADDRESS ON FILE
De Leon Rosa, Leonardo            ADDRESS ON FILE
DE LEON ROSADO, MAGALY            ADDRESS ON FILE
DE LEON ROSADO, MARILUZ           ADDRESS ON FILE
DE LEON ROSARIO, ADA NYDIA        ADDRESS ON FILE
DE LEON ROSARIO, BRENDA           ADDRESS ON FILE
DE LEON ROSARIO, DAIANA           ADDRESS ON FILE
DE LEON ROSARIO, IRANIA           ADDRESS ON FILE
DE LEON ROSARIO, JUBEISIE         ADDRESS ON FILE
DE LEON RUBERTE, JESSICA          ADDRESS ON FILE
DE LEON RUIZ, CARMEN E            ADDRESS ON FILE
DE LEON RUIZ, IRIS                ADDRESS ON FILE
DE LEON RUIZ, MANUEL O.           ADDRESS ON FILE
DE LEON RUIZ, SONIA M             ADDRESS ON FILE
DE LEON SALDANA, JUAN R           ADDRESS ON FILE
DE LEON SANCHEZ, CARMELO          ADDRESS ON FILE
DE LEON SANCHEZ, CIRILO           ADDRESS ON FILE
DE LEON SANCHEZ, GLADYS N         ADDRESS ON FILE
DE LEON SANCHEZ, HAYDEE           ADDRESS ON FILE
DE LEON SANCHEZ, HAYDEE           ADDRESS ON FILE
DE LEON SANCHEZ, IRIS M           ADDRESS ON FILE
DE LEON SANCHEZ, LUZ P            ADDRESS ON FILE
DE LEON SANJURJO, YANIRA          ADDRESS ON FILE
DE LEON SANTANA, CARLOS           ADDRESS ON FILE
DE LEON SANTELL, LUCIA            ADDRESS ON FILE
DE LEON SANTIAGO MD, SYLVETTE     ADDRESS ON FILE
DE LEON SANTIAGO, ANDRES          ADDRESS ON FILE
DE LEON SANTIAGO, ANGEL R.        ADDRESS ON FILE
De Leon Santiago, Edgar J         ADDRESS ON FILE
DE LEON SANTIAGO, EMILIO          ADDRESS ON FILE
DE LEON SANTIAGO, GERARDO         ADDRESS ON FILE
DE LEON SANTIAGO, HECTOR N        ADDRESS ON FILE
De Leon Santiago, Hector R.       ADDRESS ON FILE
DE LEON SANTIAGO, LUIS C          ADDRESS ON FILE
DE LEON SANTIAGO, MARITZA         ADDRESS ON FILE
DE LEON SANTIAGO, MONICA          ADDRESS ON FILE
DE LEON SANTIAGO, STEVEN          ADDRESS ON FILE
DE LEON SANTOS, ANGEL L           ADDRESS ON FILE




                                                                              Page 2177 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2178 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DE LEON SEIJO, MADAY           ADDRESS ON FILE
DE LEON SERRANO, BLANCA I      ADDRESS ON FILE
DE LEON SIERRA, RUTH M         ADDRESS ON FILE
DE LEON SIMONETTI, ELIMARY     ADDRESS ON FILE
DE LEON SOLIS, MARIBEL         ADDRESS ON FILE
DE LEON SORIANO, EVELYN        ADDRESS ON FILE
DE LEON SOTO, DORIS A.         ADDRESS ON FILE
DE LEON SOTO, ERIC             ADDRESS ON FILE
DE LEON SOTO, GIL              ADDRESS ON FILE
DE LEON SOTO, MARTA M          ADDRESS ON FILE
DE LEON SOTO, OSVALDO          ADDRESS ON FILE
DE LEON SUSTACHE, EDWIN        ADDRESS ON FILE
DE LEON SUSTACHE, JOSUE D.     ADDRESS ON FILE
De Leon Sustache, Marangelly   ADDRESS ON FILE
DE LEON SUSTACHE, MARIA        ADDRESS ON FILE
DE LEON SUSTACHE, WILFREDO M   ADDRESS ON FILE
DE LEON TELLADO MD, NANETTE    ADDRESS ON FILE
DE LEON TIRADO, ANTONIO        ADDRESS ON FILE
DE LEON TIRADO, KEILA          ADDRESS ON FILE
DE LEON TIRADO, KEILA J        ADDRESS ON FILE
DE LEON TIRADO, MAYRA          ADDRESS ON FILE
DE LEON TIRADO, MAYRA          ADDRESS ON FILE
DE LEON TIRADO, OSCAR          ADDRESS ON FILE
DE LEON TOLENTINO, ZULMA       ADDRESS ON FILE
DE LEON TORO, RENE             ADDRESS ON FILE
DE LEON TORRES, CARLOS         ADDRESS ON FILE
DE LEON TORRES, CARMEN M.      ADDRESS ON FILE
DE LEON TORRES, ELVIN          ADDRESS ON FILE
DE LEON TORRES, ISMAEL         ADDRESS ON FILE
DE LEON TORRES, JOHANNA        ADDRESS ON FILE
DE LEON TORRES, JOSE           ADDRESS ON FILE
De Leon Torres, Juan L         ADDRESS ON FILE
DE LEON TORRES, JUANA          ADDRESS ON FILE
DE LEON TORRES, JULIO          ADDRESS ON FILE
DE LEON TORRES, LUIS           ADDRESS ON FILE
DE LEON TORRES, MARIDALI       ADDRESS ON FILE
DE LEON TORRES, MILADY         ADDRESS ON FILE
DE LEON TORRES, MYRNA          ADDRESS ON FILE
DE LEON TORRES, XAVIERA        ADDRESS ON FILE
DE LEON TRAVESIER, LUIS F      ADDRESS ON FILE
DE LEON URBINA, SHEILA         ADDRESS ON FILE
DE LEON VALENTIN, CARMEN       ADDRESS ON FILE
DE LEON VARGAS, BEZABETH Z.    ADDRESS ON FILE
DE LEON VARGAS, FRANCISCO B.   ADDRESS ON FILE
DE LEON VARGAS, MARISOL        ADDRESS ON FILE
DE LEON VARGAS, MARISOL        ADDRESS ON FILE
DE LEON VAZQUEZ, ALEXIS        ADDRESS ON FILE
DE LEON VAZQUEZ, JOSE          ADDRESS ON FILE
DE LEON VAZQUEZ, JUAN          ADDRESS ON FILE
DE LEON VAZQUEZ, JUAN          ADDRESS ON FILE
De Leon Vazquez, Maritza       ADDRESS ON FILE
DE LEON VAZQUEZ, RAUL          ADDRESS ON FILE
DE LEON VEGA, MYRNA            ADDRESS ON FILE
DE LEON VEGA, YARILUZ          ADDRESS ON FILE
DE LEON VELAZQUEZ, CARMEN A.   ADDRESS ON FILE
DE LEON VELAZQUEZ, JOSE E.     ADDRESS ON FILE
DE LEON VELAZQUEZ, MARILUZ     ADDRESS ON FILE
DE LEON VELAZQUEZ, MIRIAM I    ADDRESS ON FILE
DE LEON VELEZ, ADA             ADDRESS ON FILE
DE LEON VELEZ, DANIEL          ADDRESS ON FILE




                                                                           Page 2178 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2179 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                            Address1                        Address2                                Address3   Address4   City        State   PostalCode   Country
DE LEON VIERA, JULIMAR                   ADDRESS ON FILE
DE LEON VIERA, MARGARITA                 ADDRESS ON FILE
DE LEON VILLAFANE, TOMAS R.              ADDRESS ON FILE
DE LEON VILLEGAS, ANA L.                 ADDRESS ON FILE
DE LEON VILLEGAS, CARMEN M               ADDRESS ON FILE
DE LEON VIRELLA, CARALY I                ADDRESS ON FILE
DE LEON VIRELLA, CORALY I.               ADDRESS ON FILE
DE LEON VIVES, NEDINIA                   ADDRESS ON FILE
DE LEON Y RODRIGUEZ, JACINTO             ADDRESS ON FILE
DE LEON ZAPATA, FRANCHE                  ADDRESS ON FILE
DE LEON ZAYAS, NANCY                     ADDRESS ON FILE
DE LEON, CANAAN ADALMIZZA                ADDRESS ON FILE
DE LEON, CARLOS A                        ADDRESS ON FILE
DE LEON, CRUZ ALFREDO                    ADDRESS ON FILE
DE LEON, DANEY                           ADDRESS ON FILE
DE LEON, DENNIES                         ADDRESS ON FILE
DE LEON, EDIL R                          ADDRESS ON FILE
DE LEON, ELIZABETH                       ADDRESS ON FILE
De Leon, Gabriel                         ADDRESS ON FILE
DE LEON, HEIDILY                         ADDRESS ON FILE
DE LEON, JORGE LUIS                      ADDRESS ON FILE
DE LEON, KEILA                           ADDRESS ON FILE
DE LEON, MARIA C.                        ADDRESS ON FILE
DE LEON, MARIA D.                        ADDRESS ON FILE
DE LEON, MARIANELA                       ADDRESS ON FILE
DE LEON, MIRIAM                          ADDRESS ON FILE
DE LEON, NEIDA I.                        ADDRESS ON FILE
DE LEON, PERQUIN D.                      ADDRESS ON FILE
DE LEON, RODRIGUEZ WILFREDO              ADDRESS ON FILE
DE LEON, VICTOR                          ADDRESS ON FILE
DE LEON,LUIS A.                          ADDRESS ON FILE
DE LIMA PAYERO, LADIMILA                 ADDRESS ON FILE
DE LIMA PLAYERO, LADIMILA                ADDRESS ON FILE
DE LLEGUAS PEREZ, CRUZ                   ADDRESS ON FILE
DE LLEGUAS, GERONIMO                     ADDRESS ON FILE
DE LLEGUAS, PEREZ JIMNALY                ADDRESS ON FILE
DE LLOVIO DOMINQUEZ, GLORIA C.           ADDRESS ON FILE
DE LOS A DIAZ VAZQUEZ, MARIA             ADDRESS ON FILE
DE LOS A. ORTIZ RIVERA, MARISEL          ADDRESS ON FILE
DE LOS A. TIRADO, MARIA                  ADDRESS ON FILE
DE LOS ANGELES RIVERA ALICEA, MARIA      ADDRESS ON FILE
DE LOS ANGELES TORRES CRUZ, MARIA        HÉCTOR CASTRO                   PO BOX 227                                                    YABUCOA     PR      00767‐0227
DE LOS REYES FREIXAS, CRISTINA           ADDRESS ON FILE
DE LOS REYES ROSARIO DURÁN, RAMON Y OTRO LCDO. ANGEL L. ROSENDO MOLINA   PO BOX 339                                                    MANATI      PR      00674
DE LOS REYES ROSARIO DURÁN, RAMON Y OTRO LCDO. NOEL TORRES ROSADO        PO BOX 777                                                    ARECIBO     PR      00613
DE LOS REYES ROSARIO DURÁN, RAMON Y OTRO LCDO. PEDRO TRINIDAD PAGAN      APARTADO 135 MANATI PR                                        MANATI      PR      00674
DE LOS RIOS LOS, OLIVERA                 ADDRESS ON FILE
DE LOS RIOS OLIVERA, PETRA               ADDRESS ON FILE
DE LOS RIOS OLIVERA, ZORAIDA             ADDRESS ON FILE
DE LOS RIOS ZAMBRANA, JORGE              ADDRESS ON FILE
DE LOS SANTOS AGOSTO, HENRY              ADDRESS ON FILE
DE LOS SANTOS ALEMANI, GLORIA            ADDRESS ON FILE
DE LOS SANTOS ALEMANY, JOSE              ADDRESS ON FILE
De Los Santos Barbosa, Benjamin          ADDRESS ON FILE
DE LOS SANTOS BARBOSA, BENJAMIN          ADDRESS ON FILE
De Los Santos Barbosa, Blanca N          ADDRESS ON FILE
DE LOS SANTOS CASTILLO, MAYELIN          ADDRESS ON FILE
DE LOS SANTOS CRUZ, BELEN                ADDRESS ON FILE
DE LOS SANTOS CUBILETE, ELISA ANA D      ADDRESS ON FILE
DE LOS SANTOS DE LOS SANTOS, LUZ M       ADDRESS ON FILE




                                                                                                  Page 2179 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2180 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                        Address1                          Address2                                       Address3            Address4              City             State   PostalCode   Country
DE LOS SANTOS ESCANIO, IGNACIO       ADDRESS ON FILE
DE LOS SANTOS ESCANIO, JOMASINA      ADDRESS ON FILE
DE LOS SANTOS FERRER, KIM            MARDELIS JUSINO                   UNIVERSITY GARDENS 254 AVE. JESUS T PI         EIRO                                      SAN JUAN         PR      00927‐3003
DE LOS SANTOS GARCIA, ALEJANDRO      ADDRESS ON FILE
DE LOS SANTOS GARCIA, LYDIA          ADDRESS ON FILE
DE LOS SANTOS GARCIA, MARGARITA      ADDRESS ON FILE
DE LOS SANTOS GARCIA, RAFAEL         ADDRESS ON FILE
DE LOS SANTOS LA PAZ, MARIA M        ADDRESS ON FILE
DE LOS SANTOS MEJIAS, RAFAEL         ADDRESS ON FILE
De Los Santos Monta, Jose M          ADDRESS ON FILE
DE LOS SANTOS MONTANEZ, DAVID        ADDRESS ON FILE
DE LOS SANTOS MONTE, JAVIER          ADDRESS ON FILE
DE LOS SANTOS MONTE, JAVIER          ADDRESS ON FILE
DE LOS SANTOS MONTILLA, ANDRES       ADDRESS ON FILE
DE LOS SANTOS NICOLA, OLGA           ADDRESS ON FILE
DE LOS SANTOS ORTIZ,ODALIS           ADDRESS ON FILE
DE LOS SANTOS RAMOS, LILLIAN Y.      ADDRESS ON FILE
DE LOS SANTOS RIVERA, EMMANUEL       ADDRESS ON FILE
DE LOS SANTOS RODRIGUEZ, FCO.        ADDRESS ON FILE
DE LOS SANTOS RODRIGUEZ, VERONICA    ADDRESS ON FILE
DE LOS SANTOS SANCHEZ, ARMANDO       ADDRESS ON FILE
De Los Santos Valles, Marcos A       ADDRESS ON FILE
DE LOS SANTOS, ARMANDO               ADDRESS ON FILE
DE LOS SANTOS, BERTRAND              ADDRESS ON FILE
DE LOS SANTOS, CARMEN                ADDRESS ON FILE
DE LOS SANTOS, JUAN A                ADDRESS ON FILE
DE LOS SANTOS, JUAN A                ADDRESS ON FILE
DE LOS SANTOS, JUAN J.               ADDRESS ON FILE
DE LOS SANTOS, JUANITA               ADDRESS ON FILE
DE LOS SANTOS, LUCILIANA             ADDRESS ON FILE
DE LOS SANTOS, RAFAEL E.             ADDRESS ON FILE
DE LOS‐SANTOS ORTIZ, HIPOLITO        ADDRESS ON FILE
DE LOURDES FLORES, MARIA DE L        ADDRESS ON FILE
DE LOURDES MALAVE, MARIA             ADDRESS ON FILE
DE LOURDES NIEVES, MARIA             ADDRESS ON FILE
DE LOURDES OCTAVIANI AYALA, IVONNE   ADDRESS ON FILE
DE LUCCA JIMENEZ MD, HECTOR          ADDRESS ON FILE
DE LUNA COLON, EFRAIM A              ADDRESS ON FILE
DE LUNA COLON, EFRAIN                ADDRESS ON FILE
DE LUZ CRL                           596 CALLE ABOLICION                                                                                                        SAN JUAN         PR      00918
DE MAN, PATRICK                      ADDRESS ON FILE
DE MARCHENA DIAZ, HECTOR E           ADDRESS ON FILE
DE MARCHENA DIAZ, LESSER             ADDRESS ON FILE
DE MARCHENA RENTAS, LEONARDO         ADDRESS ON FILE
                                                                                                                      EDIFICIO NACIONAL   SUITE 1607 431 AVE.
DE MARCO JIMÉNEZ, RICARDO            LCDO. LUIS E. GERVITZ CARBONELL   LCDO. LUIS E. GERVITZ CARBONELL                PLAZA               Ponce DE LEÓN         SAN JUAN         PR      00917
DE MARI BENITEZ, NITZA               ADDRESS ON FILE
DE MATTA MARRERO, ELIZABETH          ADDRESS ON FILE
DE MATTIA MORO, CRISTIAN             ADDRESS ON FILE
DE MEDICOS PRIMARIOS CORP            PO BOX 816                                                                                                                 SANTA ISABEL     PR      00757
DE MELLO, PATRICIA S.                ADDRESS ON FILE
DE MI SUENO TU HOGAR INC             URB JARD DE CAGUAS                G 9 CALLE G                                                                              CAGUAS           PR      00725
DE MI SUENO TU HOGAR, INC            URB. JARDINES DE CAGUAS           CALLE G #G 9                                                                             CAGUAS           PR      00725
DE MIER GUZMAN, DENISE               ADDRESS ON FILE
DE MIRANDA AQUINO, GILBERTO          ADDRESS ON FILE
DE MIRANDA AQUINO, JOSE E            ADDRESS ON FILE
DE MIRANDA RODRIGUEZ, ELBA           ADDRESS ON FILE
DE MOSS BRANT, DAVID V.              ADDRESS ON FILE
DE MOURA FAJARDO, LOUIS              ADDRESS ON FILE
DE MOYA DIAZ, IRA                    ADDRESS ON FILE




                                                                                                    Page 2180 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2181 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                        Address1                     Address2                                  Address3         Address4      City         State   PostalCode   Country
DE NOVO PSC                          PMB 512,                     1353 RD 19                                                               GUAYNABO     PR      00966
DE OLEO MARTE, GLENNY                ADDRESS ON FILE
DE OLEO RAMIREZ, JUAN M.             ADDRESS ON FILE
DE OLEO ROA, JULIANA L               ADDRESS ON FILE
DE OLEO UBIERA, MOISES               ADDRESS ON FILE
DE OLIVEIRA ROCHA, CLIFE             ADDRESS ON FILE
DE ONIZ ALMAGRO, JULIA               ADDRESS ON FILE
DE ORBETA CONTRERAS, LUIS            ADDRESS ON FILE
DE ORBETA CRUZ, LENIE                ADDRESS ON FILE
DE ORDUNA BARRERO, CARLOS            ADDRESS ON FILE
DE ORDUNA ZEQUEIRA, MARIA            ADDRESS ON FILE
DE ORDUNAS MD, CARLOS L              ADDRESS ON FILE
DE PABLO ARZOLA, FRANCES M           ADDRESS ON FILE
DE PABLO RIVERA, CARMEN L.           ADDRESS ON FILE
DE PABLO RIVERA, CARMEN L.           ADDRESS ON FILE
DE PABLO RIVERA, MAIDA L             ADDRESS ON FILE
DE PABLO VÁZQUEZ LAUREN Y OTROS      LCDO. CARLOS AQUINO          PO 363928                                                                SAN JUAN     PR      00936‐3928
DE PABLO VÁZQUEZ LAUREN Y OTROS      LCDO. FÉLIX ALFARO RIVERA    PO BOX 70244                                                             SAN JUAN     PR      00936‐8244
DE PABLO VÁZQUEZ LAUREN Y OTROS      LCDO. GLENN CARL JAMES       PMB 501,1353 AVE LUIS VIGORAUX                                           GUAYNABO     PR      00966‐2700
DE PABLO VÁZQUEZ LAUREN Y OTROS      LCDO. RICARDO CACHO          EDIFICIO COOPERATIVA DE AHORRO Y CRÉDITO M54 RESOLUCIÓN    OFICINA 303   SAN JUAN     PR      00920
DE PABLO VAZQUEZ, GLADYSAEL          ADDRESS ON FILE
De Pablo Vazquez, Luis A.            ADDRESS ON FILE
DE PABLO VAZQUEZ, LUIS A.            ADDRESS ON FILE
DE PABLOS ESCALANTE, RAUL            ADDRESS ON FILE
DE PAULA HERNANDEZ, JOSE R.          ADDRESS ON FILE
DE PAULA HERNANDEZ,JOSE R.           ADDRESS ON FILE
DE PAZ REYES MD, BERNARDO            ADDRESS ON FILE
DE PAZ REYES, ASER                   ADDRESS ON FILE
DE PEDRO ACCONTING SERVICE           24 C AVE. JESUS T NPINEIRO                                                                            PATILLAS     PR      00723
DE PEDRO MARQUEZ, EDGARDO            ADDRESS ON FILE
DE PEDRO ORTIZ, REINALDO             ADDRESS ON FILE
DE PEDRO ORTIZ, SOED                 ADDRESS ON FILE
DE PEDRO SANCHEZ, HEBE               ADDRESS ON FILE
DE PEDRO, ALMA R.                    ADDRESS ON FILE
DE PENA JOSE, RODOLFO                ADDRESS ON FILE
DE PENA MARTINEZ, BARBARA            ADDRESS ON FILE
DE PENA MARTINEZ, BARBARA            ADDRESS ON FILE
DE PENA RAMIREZ, FRANCISCO           ADDRESS ON FILE
DE PEREZ DELGADO, VANESSA            ADDRESS ON FILE
                                                                                                            1353 AVE. LUIS
DE PEREZ DELGADO, VANESSA            YARLENE JIMENEZ ROSARIO      PMB‐133                                   VIGOREAUZ                      GUAYNABO     PR      00966‐2700
DE PERSIA BRACERO, RAUL              ADDRESS ON FILE
DE POOL GARCIA, JOSE LUIS            ADDRESS ON FILE
DE PORTU HAMAWI, ANSELMO             ADDRESS ON FILE
DE PORTU HAMAWI, ANSELMO             ADDRESS ON FILE
DE PUIGDORFILA ESTEVE, MIGUEL J      ADDRESS ON FILE
DE PUIGDORFILA ESTEVE, MIGUEL JUAN   ADDRESS ON FILE
DE PUIGDORFILA GARCIA, FELIPE        ADDRESS ON FILE
DE QUESADA BARRETO, EMILIO           ADDRESS ON FILE
DE REQUESENS PIZARRO, BRIAN          ADDRESS ON FILE
DE REQUESENS PIZARRO, DAWN K         ADDRESS ON FILE
DE RESTREPO IBANEZ, ERIKA J          ADDRESS ON FILE
DE RIVAS LOPEZ, ADALBERTO            ADDRESS ON FILE
DE ROSA SANTIAGO, ANTHONY            ADDRESS ON FILE
DE ROSA, JEANNETTE M                 ADDRESS ON FILE
DE ROSAS GONZALEZ, GUSTAVO           ADDRESS ON FILE
DE RUGEN FIGUEROA BORRERO            39 CARAZO                                                                                             GUAYNABO     PR      00969
DE SANCTIS MORALES, LINA A.          ADDRESS ON FILE
DE SANTIAGO ALMODOVAR, ELIZABETH     ADDRESS ON FILE
DE SANTIAGO ARNAU, JUAN C            ADDRESS ON FILE




                                                                                             Page 2181 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2182 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                        Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
DE SANTIAGO ARNAU, JUAN C.           ADDRESS ON FILE
DE SANTIAGO DIAZ, HECTOR M           ADDRESS ON FILE
DE SANTIAGO LOPEZ, CELIA             ADDRESS ON FILE
DE SANTIAGO LOPEZ, CELIA I           ADDRESS ON FILE
DE SANTIAGO MORENO, JONATHAN         ADDRESS ON FILE
DE SANTIAGO NAZARIO, VICTOR          ADDRESS ON FILE
DE SANTIAGO OLMO, MYRTA E            ADDRESS ON FILE
De Santiago Ramos, Marcos            ADDRESS ON FILE
DE SANTIAGO RAMOS, MARTA             ADDRESS ON FILE
DE SANTIAGO SERRANO, ANGEL           ADDRESS ON FILE
DE SANTIAGO SERRANO, JOSE A.         ADDRESS ON FILE
DE SANTIAGO SERRANO,ANGEL            ADDRESS ON FILE
DE SANTIAGO SUAREZ, MANUEL           ADDRESS ON FILE
DE SANTIAGO VARGAS, LOURDES P        ADDRESS ON FILE
DE SANTIS JULIAO, JONATHAN           ADDRESS ON FILE
DE SEVILLA CASTRO, NILDA             ADDRESS ON FILE
DE SEVILLA RIOS, GRETZA              ADDRESS ON FILE
DE SOTO CORDERO, AMARILIS            ADDRESS ON FILE
DE SOTO GARCIA, NANCY                ADDRESS ON FILE
DE SOTO LOPEZ, ROBERTO               ADDRESS ON FILE
DE SOTO ORTEGA, JARELIS              ADDRESS ON FILE
DE SOTO PERERA, MAYRA                ADDRESS ON FILE
DE SOTO TORRES, MARISEL              ADDRESS ON FILE
DE SOUZA SUAREZ, NEUZA               ADDRESS ON FILE
DE SOUZA, KATIA R                    ADDRESS ON FILE
DE THOMAS COLOM, SHAKIRA             ADDRESS ON FILE
DE THOMAS DIAZ, ELVIN                ADDRESS ON FILE
De Thomas Diaz, Elvin R              ADDRESS ON FILE
DE THOMAS MURIEL, ANGELICA           ADDRESS ON FILE
De Thomas Ruiz, Raul                 ADDRESS ON FILE
DE TODO UN POCO, INC                 COND BAYAMONTE            1 COND BAYAMONTE APT 1804                                        BAYAMON      PR      00956‐6609
DE TODO, INC                         PO BOX 3558                                                                                CAROLINA     PR      00984‐3558
DE TORO MORALES, IVONNE              ADDRESS ON FILE
DE TORRES FONT, MARGARITA            ADDRESS ON FILE
DE TU PARTE, INC.                    PMB #62 CALLE CALAF 400                                                                    SAN JUAN     PR      00918
DE VALLE DE LA PAZ, AIDA M           ADDRESS ON FILE
DE VALLE REYES, IRMA                 ADDRESS ON FILE
DE VALLE SANTANA, MARIA DE LOS A     ADDRESS ON FILE
DE VARONA CARRION, CARMEN N          ADDRESS ON FILE
DE VARONA LUGO, NATALIA              ADDRESS ON FILE
DE VARONA NEGRON, MARIA I.           ADDRESS ON FILE
DE VARONA NEGRON, ORLANDO            ADDRESS ON FILE
DE VICTORIA MEDICAL                  PO BOX 7468                                                                                CAGUAS       PR      00726
DE WINDT CAMILO, ROWIN               ADDRESS ON FILE
DE WINDT DE LEON, ALEXANDER          ADDRESS ON FILE
DE WITT STERN GROUP INC              420 LEXINGTON AVE                                                                          NEW YORK     NY      10170
DE ZAYAS RODRIGUEZ, GABRIEL          ADDRESS ON FILE
DE ZENGOTITA SUAREZ MD, FERNANDO     ADDRESS ON FILE
DE ZENGOTITA SUAREZ MD, FERNANDO     ADDRESS ON FILE
DE_JESUS BONES, CARLOS M             ADDRESS ON FILE
DE_JESUS MARZAN, EDITH M             ADDRESS ON FILE
DE_JESUS RIVERA, GLADYS E            ADDRESS ON FILE
DEADINA GONZALEZ IRIZARRY            ADDRESS ON FILE
DEAFNATION                           PO BOX 1978                                                                                BUDA         TX      78652
DEAL GONZALEZ, DAVID                 ADDRESS ON FILE
DEALER ADONAI CORP                   PO BOX 1144                                                                                AGUADA       PR      00602
DEAN A VELAZQUEZ LOPEZ               ADDRESS ON FILE
DEAN C ARVIDSON EXECUTOR ESTATE OF   ADDRESS ON FILE
DEAN, WILLIAM                        ADDRESS ON FILE
DEANNA E SANTIAGO GONZALEZ           ADDRESS ON FILE




                                                                                           Page 2182 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2183 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                           Creditor Matrix

Creditor Name                              Address1                                         Address2                                    Address3   Address4   City              State   PostalCode   Country
DEANNE ALFONSO ALONSO                      ADDRESS ON FILE
DEARBORN FINANCIAL PUBLIGHING INC          DEARBORN FINANCIAL INSTITUTE                     P O BOX 91619                                                     CHICAGO           IL      60693
Dearborn National Life Insurance Company   1020 31st Street                                                                                                   Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Anthony Frank, President                   1020 31st Street                                                  Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Jeanne Healder, Consumer Complaint Conta1020 31st Street                                                     Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Kenneth Kapst, Premiun Tax Contact         1020 31st Street                                                  Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Michael Hartman , Regulatory Compliance G1020 31st Street                                                    Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Michael Hartman, Circulation of Risk       1020 31st Street                                                  Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Saverio Roca, Agent for Service of Process 1020 31st Street                                                  Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: Victoria Fimea, Vice President             1020 31st Street                                                  Downers Grove     IL      60515
Dearborn National Life Insurance Company   Attn: William Barnes, Vice President             1020 31st Street                                                  Downers Grove     IL      60515
DEARMAS MENDEZ, VIRGINIA                   ADDRESS ON FILE
DEAS, KENDRA                               ADDRESS ON FILE
DEAVENE N HODGE                            ADDRESS ON FILE
DEBBIE A SANTIAGO SANTIAGO                 ADDRESS ON FILE
DEBBIE A TORRES VELEZ                      ADDRESS ON FILE
DEBBIE A. MEDINA DBA VISION CARE CENTER    EDIF. MEDICAL EMPORIUM STE 107                                                                                     MAYAGUEZ          PR      00680
DEBBIE ANN SANTIAGO PEREZ                  ADDRESS ON FILE
DEBBIE ANN VEGA RODRIGUEZ                  ADDRESS ON FILE
DEBBIE BADILLO MUNIZ                       ADDRESS ON FILE
DEBBIE COLON                               ADDRESS ON FILE
DEBBIE DE LEON DELGADO                     ADDRESS ON FILE
DEBBIE E DOMINGUEZ DAVID                   ADDRESS ON FILE
DEBBIE FIGUEROA COLON                      ADDRESS ON FILE
DEBBIE FIGUEROA COLON                      ADDRESS ON FILE
DEBBIE J LOPEZ SANTOS                      ADDRESS ON FILE
DEBBIE J VALDES SALVA                      ADDRESS ON FILE
DEBBIE L ALICEA ROLDAN                     ADDRESS ON FILE
DEBBIE LEE VOLMAR CLAUDIO                  ADDRESS ON FILE
DEBBIE M SILVA MESTRE                      ADDRESS ON FILE
DEBBIE PEREZ MARCANO                       ADDRESS ON FILE
DEBBIE RUIZ VEGA                           ADDRESS ON FILE
DEBBIE SILVA MESTRE                        ADDRESS ON FILE
DEBBIE VARGAS MARRERO                      ADDRESS ON FILE
DEBBY ANN AYALA PACHECO                    ADDRESS ON FILE
DEBBY HERNANDEZ VICENTE                    ADDRESS ON FILE
DEBBY'S CATERING                           URB VILLA ESPANA                                 K 8 CALLE ZARAGOZA                                                BAYAMON           PR      00961
DEBERA OCHOA, FRANCISCO                    ADDRESS ON FILE
DEBIEN ACOSTA, ARELIS M                    ADDRESS ON FILE
DEBIEN ACOSTA, LIZZIE DEL C                ADDRESS ON FILE
DEBIEN ACOSTA, MARIA P                     ADDRESS ON FILE
DEBIEN, JACQUELINE                         ADDRESS ON FILE
DEBORA ADORNO COLON                        ADDRESS ON FILE
DEBORA DIAZ RIVERA                         ADDRESS ON FILE
DEBORA E SOSA CARABALLO                    ADDRESS ON FILE
DEBORA I HIRALDO GEIGEL                    ADDRESS ON FILE
DEBORA L APONTE MARTINEZ                   ADDRESS ON FILE
DEBORA RIVERA MOUNTHBALTH                  5TA SECC LEVITTOW                                D L 8 CALLE LAGO CAONILLAS                                        TOA BAJA          PR      00949
DEBORAH A RIOS MORALES                     ADDRESS ON FILE
DEBORAH A RIOS MORALES                     ADDRESS ON FILE
DEBORAH A ROSADO MARRERO                   ADDRESS ON FILE
DEBORAH A THOMPSON                         ADDRESS ON FILE
DEBORAH ALVAREZ ALVAREZ                    ADDRESS ON FILE
DEBORAH ANTONGIORGI SANTIAGO               ADDRESS ON FILE
DEBORAH ANTONGIORGI SANTIAGO               ADDRESS ON FILE
DEBORAH ARROYO GOMEZ                       ADDRESS ON FILE
DEBORAH AVILES CURET                       ADDRESS ON FILE
DEBORAH BAEZ LOPEZ                         ADDRESS ON FILE
DEBORAH BAEZ ROSA                          ADDRESS ON FILE
DEBORAH C PSARRAS VELEZ                    ADDRESS ON FILE




                                                                                                                         Page 2183 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2184 of 3500
                                                                               17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                   Address1                          Address2                                  Address3   Address4   City           State   PostalCode   Country
DEBORAH CASTILLO DIAZ           ADDRESS ON FILE
DEBORAH CASTRO RODRIGUEZ        ADDRESS ON FILE
DEBORAH CINTRON RAMOS           ADDRESS ON FILE
DEBORAH CINTRÓN RAMOS           LCDO. MIGUEL VERDIALES MORALES    PUERTO NUEVO 612 CALLE BALEARES                                 SAN JUAN       PR      00920‐5322
DEBORAH CINTRÓN RAMOS           LCDO. RAFAEL MACHARGO MALDONADO   PO BOX 193005                                                   SAN JUAN       PR      00919‐3005
DEBORAH CLAUDIO RODRÍGUEZ       LUIS MADERA                       PO BOX 13695                                                    SAN JUAN       PR      00908‐3695
DEBORAH CRUZ MERCADO            ADDRESS ON FILE
DEBORAH CUEVAS BERRIOS          ADDRESS ON FILE
DEBORAH D VAZQUEZ ENCHABTEGUI   ADDRESS ON FILE
DEBORAH DE JESUS                ADDRESS ON FILE
DEBORAH DUENO PEREZ             ADDRESS ON FILE
DEBORAH DUNGER MIRANDA          ADDRESS ON FILE
DEBORAH E GUZMAN MARTINEZ       ADDRESS ON FILE
DEBORAH E NEGRON SANTIAGO       ADDRESS ON FILE
DEBORAH E RODRIGUEZ RODRIGUEZ   ADDRESS ON FILE
DEBORAH FIELHAUER RIVERA        ADDRESS ON FILE
DEBORAH FIELHAUER RIVERA        ADDRESS ON FILE
DEBORAH FORSYTHE PERRY          ADDRESS ON FILE
DEBORAH FUENTES BURGOS          ADDRESS ON FILE
DEBORAH GIL VELEZ               ADDRESS ON FILE
DEBORAH GOMEZ CURET             ADDRESS ON FILE
DEBORAH GONZALEZ CONDE          ADDRESS ON FILE
DEBORAH GONZALEZ CONDE          ADDRESS ON FILE
DEBORAH GONZALEZ MENDEZ         ADDRESS ON FILE
DEBORAH GONZALEZ PEREZ          ADDRESS ON FILE
DEBORAH HEART AND LUNG CENTER   PO BOX 1812                                                                                       ALFHARETTA     GA      30005‐9901
DEBORAH HERNADEZ LUGO           ADDRESS ON FILE
DEBORAH HERNANDEZ BERRIOS       ADDRESS ON FILE
DEBORAH HERNANDEZ JOHNSON       ADDRESS ON FILE
DEBORAH HUNT                    ADDRESS ON FILE
DEBORAH I CRUZ VARGAS           ADDRESS ON FILE
DEBORAH IGLESIAS CUMPIANO       ADDRESS ON FILE
DEBORAH J. ACEVEDO CORTIJO      ADDRESS ON FILE
DEBORAH KERPENS LOPEZ           ADDRESS ON FILE
DEBORAH L GONZALEZ MENDEZ       ADDRESS ON FILE
DEBORAH L GONZALEZ MENDEZ       ADDRESS ON FILE
DEBORAH L NOLASCO LUMBA         ADDRESS ON FILE
DEBORAH L PADIN ESTREMERA       ADDRESS ON FILE
DEBORAH L PEREZ CENTENO         ADDRESS ON FILE
DEBORAH L. AROCHO RIVERA        ADDRESS ON FILE
DEBORAH LAJARA GONZÁLEZ         ADDRESS ON FILE
DEBORAH LEBRON PENA             ADDRESS ON FILE
DEBORAH LOPEZ VALLE             ADDRESS ON FILE
DEBORAH LUGO CHEVERE            ADDRESS ON FILE
DEBORAH LUGO RAMIREZ            ADDRESS ON FILE
DEBORAH M BRAVO VAZQUEZ         ADDRESS ON FILE
DEBORAH M BURGOS ALGARIN        ADDRESS ON FILE
DEBORAH M LOPERENA BADILLO      ADDRESS ON FILE
DEBORAH M VEGA                  ADDRESS ON FILE
DEBORAH NADAL CARMONA           ADDRESS ON FILE
DEBORAH NUIN FELICIANO          ADDRESS ON FILE
DEBORAH O CUEVAS AGOSTO         ADDRESS ON FILE
DEBORAH ORTIZ GONZALEZ          ADDRESS ON FILE
DEBORAH ORTIZ IGLESIAS          ADDRESS ON FILE
DEBORAH ORTIZ MORENO            ADDRESS ON FILE
DEBORAH PALERMO RODRIGUEZ       ADDRESS ON FILE
DEBORAH PARISH                  ADDRESS ON FILE
DEBORAH PARISH                  ADDRESS ON FILE
DEBORAH PENA CINTRON            ADDRESS ON FILE
DEBORAH PEREZ VERGARA           ADDRESS ON FILE




                                                                                             Page 2184 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2185 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                        Address1                                 Address2                                     Address3                 Address4    City           State   PostalCode   Country
DEBORAH R ANDERSON RIVERA            ADDRESS ON FILE
DEBORAH REYES TORRES                 ADDRESS ON FILE
DEBORAH RIVERA HERNANDEZ             ADDRESS ON FILE
DEBORAH RIVERA ROSA                  ADDRESS ON FILE
DEBORAH RODRIGUEZ ORTIZ              ADDRESS ON FILE
DEBORAH RODRIGUEZ TORRES             ADDRESS ON FILE
DEBORAH ROSA OCASIO                  ADDRESS ON FILE
DEBORAH SANDOVAL MARTE               ADDRESS ON FILE
DEBORAH SCOTT GONZALEZ               ADDRESS ON FILE
DEBORAH SERRANO QUINONES             ADDRESS ON FILE
DEBORAH SIMPSON ROSADO               ADDRESS ON FILE
DEBORAH SOTO MUÑIZ                   LCDA. LAURA FIGUEROA CORTES.             HC‐05 BOX 50730 SECTOR MEDINA                                                     AGUADILLA      PR      00603
DEBORAH TORRES FERNANDEZ             ADDRESS ON FILE
DEBORAH TORRES MARTINEZ              ADDRESS ON FILE
DEBORAH VALINES                      ADDRESS ON FILE
DEBORAH VAN HARLIGNER JIMENEZ        ADDRESS ON FILE
DEBORAH VELAZQUEZ VELEZ              ADDRESS ON FILE
DEBORAH VELEZ NUNEZ                  ADDRESS ON FILE
DEBORAH VERDEJO NAVEDO               ADDRESS ON FILE
DEBORAH WILLIAMS CRUZ                ADDRESS ON FILE
DEBORAH Y FRANCO RAMOS               ADDRESS ON FILE
DEBRA ANN RIVERA ARIAS               ROSADO RAMOS, CÉSAR A.                   URB.ADERA                                    CALLE 6 AJ‐9                         TOA BAJA       PR      00949
DEBRA D SANCHEZ RIVERA               ADDRESS ON FILE
DEBRA L BORGES                       ADDRESS ON FILE
DEBRA L MORALES PEREZ                ADDRESS ON FILE
DEBRA L REUBEN SALTER                ADDRESS ON FILE
                                                                                                                           Ponce de León
DEBRA L. MELLMAN                     LCDA. VANESSA MERCADO COLLAZO             670 Ave.                                    Caribbean Office Plaza   Suite 204   SAN JUAN       PR      00907
DEBRA L. MELLMAN                     LIC. CAROLINA GUZMÁN TEJADA               PO Box 943                                                                       Comerío        PR      00782
DEBRA L. MELLMAN                     SR. ANTONIO VERGNE MIRABAL (POR DERECHO PPO Box 3040 PMB 555                                                               GURABO         PR      00778
DEBRA L. MELLMAN                     SR. ERNESTO VERGNE MIRABAL (POR DERECHO PPO Box 79713                                                                      CAROLINA       PR      00984
DEBRA L. MELLMAN                     SRA. INGRID SEVERINO SÁNCHEZ (POR DERECHO Calle 3 N.E. #269                           PUERTO NUEVO                         SAN JUAN       PR      00920
DEBRA LUGO DE BARTOLOMEI             E23 CALLE ROMA EXT.VILLA CAPARRA                                                                                           GUAYNABO       PR      00966‐1724
DEBRA M CARROLL ALVAREZ              ADDRESS ON FILE
DEBRA ROURA LOZADA                   ADDRESS ON FILE
DEBRAH PEREIRA GARCIA                ADDRESS ON FILE
DEBS CALDERON, CRISTINA              ADDRESS ON FILE
DEBS ELIAS MD, NATALIO               ADDRESS ON FILE
DECA COLUMBIA CENTRO UNIVERSITARIO   CARR. 183 K.M. 1.7                                                                                                         CAGUAS         PR      00726
DECAMPS SOTO, ALEXIS                 ADDRESS ON FILE
DECAMPS VILLAFANE, BRHITNEY          ADDRESS ON FILE
DECENA CASADO, WILLIAM               ADDRESS ON FILE
DECENE ALBINO, EMILY M               ADDRESS ON FILE
DECENE CALDERO, FELIX J.             ADDRESS ON FILE
DECENE LOPEZ, BARBARA                ADDRESS ON FILE
DECENE LOPEZ, BARBARA                ADDRESS ON FILE
DECENE LOPEZ, NELLY                  ADDRESS ON FILE
DECENE RIVERA, CARLOS                ADDRESS ON FILE
DECENE RIVERA, MAYRA                 ADDRESS ON FILE
DECHETH ALBERTORIO, DYNIA A.         ADDRESS ON FILE
Dechoudens Hastings, Joel            ADDRESS ON FILE
DECHOUDENS RIOS, ZOA I               ADDRESS ON FILE
DECHOUDENS RUIZ, ANNETTE             ADDRESS ON FILE
DECHOUDENS RUIZ, CARMEN G            ADDRESS ON FILE
DECIMANIA INCORPORADO                P O BOX 387                                                                                                                HATILLO        PR      00659
DECIREE DIAZ LAVIENA                 ADDRESS ON FILE
DECISION SUPPORT SYSTEM, LP          4150 INTERNATIONAL PLAZA SUITE                                                                                             FORT WORTH     TX      76109
DECISION SUPPORT SYSTEMS LP          4150 INTERNATIONAL PLAZA STE                                                                                               FORT WORTH     TX      76109
DECLET ADORNO, NILSA A               ADDRESS ON FILE
DECLET BETANCOURT, MARIA DE L.       ADDRESS ON FILE




                                                                                                         Page 2185 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2186 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                         Address1                   Address2                            Address3   Address4   City            State   PostalCode   Country
DECLET BONET, ABIGAIL                 ADDRESS ON FILE
DECLET CABRERA, FABIAN                ADDRESS ON FILE
DECLET CALDERON, RICHARD              ADDRESS ON FILE
DECLET CARRASQUILLO, TATIANA          ADDRESS ON FILE
DECLET CONCEPCION, GENARO             ADDRESS ON FILE
DECLET CONCEPCION, NEPHTALI           ADDRESS ON FILE
DECLET CRESPO, JORGE E.               ADDRESS ON FILE
DECLET CRESPO, LEONOR                 ADDRESS ON FILE
DECLET DELGADO, SEGUNDO               ADDRESS ON FILE
DECLET ESTRADA, KATIA                 ADDRESS ON FILE
DECLET FIGUEROA, EDWIN                ADDRESS ON FILE
DECLET FLAT BED SERVICE INC           VILLAS DEL MANATI          233 AVE LAS PALMAS                                        MANATI          PR      00674‐4967
DECLET FLAT BED SERVICES INC          3 4 BO GUAYANEY                                                                      MANATI          PR      00674‐4252
DECLET FLORES KATHERINE               PO BOX 89                                                                            SAN LORENZO     PR      00754
DECLET LARRINAGA, ANTONIO L           ADDRESS ON FILE
DECLET LARRINAGA, JAVIER A            ADDRESS ON FILE
DECLET MALDONADO, LISANDRA            ADDRESS ON FILE
DECLET MALDONADO, WILLIAM             ADDRESS ON FILE
DECLET MALDONADO, WILLIAM             ADDRESS ON FILE
DECLET MARRERO, VICTOR M.             ADDRESS ON FILE
DECLET MARTINEZ, NELLGE               ADDRESS ON FILE
DECLET MENDOZA, FELIX                 ADDRESS ON FILE
DECLET MENDOZA, LISANDRA              ADDRESS ON FILE
DECLET ORTIZ, DUNCAN                  ADDRESS ON FILE
DECLET OTERO, VONNE M                 ADDRESS ON FILE
DECLET PEREZ, AIDA L                  ADDRESS ON FILE
DECLET PEREZ, FELIX                   ADDRESS ON FILE
DECLET PEREZ, MARIE                   ADDRESS ON FILE
DECLET RAMIREZ, DELVIS X.             ADDRESS ON FILE
DECLET REYES, MERCEDES                ADDRESS ON FILE
DECLET RIVERA, JOEL                   ADDRESS ON FILE
DECLET RODRIGUEZ, ABIGAIL             ADDRESS ON FILE
DECLET ROSA, ILEANER                  ADDRESS ON FILE
DECLET ROSA, ILEANER                  ADDRESS ON FILE
Declet Rosado, Juan D                 ADDRESS ON FILE
DECLET ROSADO, MARTA R                ADDRESS ON FILE
DECLET SALGADO, CARMEN M              ADDRESS ON FILE
DECLET SANTIAGO, MARIA                ADDRESS ON FILE
DECLET SERRANO, LUZ M                 ADDRESS ON FILE
DECLET SEVILLA, JESUS ISMAEL          ADDRESS ON FILE
DECLET TORRES, MARIELA                ADDRESS ON FILE
DECLET VARGAS, MARIA I                ADDRESS ON FILE
DECLET VEGA, LUIS                     ADDRESS ON FILE
DECLET, FABIAN                        ADDRESS ON FILE
DECLET, GARY                          ADDRESS ON FILE
DECORAMICS INC                        PO BOX 6405                                                                          MAYAGUEZ        PR      00681
DECORATION CENTER AND PARTY WAREHOUSE EXT FOREST HILLS           B 9 MARGINAL                                              BAYAMON         PR      00959
DECOS COLLAZO, JOSE                   ADDRESS ON FILE
DECOS COLLAZO, JOSE                   ADDRESS ON FILE
DECOS LOPEZ, ARMANDO                  ADDRESS ON FILE
DECOZ VARGAS, JONATHAN                ADDRESS ON FILE
DECSEL MELON CRUZ                     ADDRESS ON FILE
DEDERICK MARTINEZ, MELANIE            ADDRESS ON FILE
DEDOS COLON, NEREIDA                  ADDRESS ON FILE
DEDOS COLON, NEREIDA                  ADDRESS ON FILE
DEDOS GUZMAN, ABIGAIL                 ADDRESS ON FILE
DEDOS GUZMAN, ANGEL L.                ADDRESS ON FILE
DEDOS GUZMAN, RAMON                   ADDRESS ON FILE
DEDOS MARTINEZ, PEDRO E               ADDRESS ON FILE
DEDOS MELENDEZ, MERYDSA               ADDRESS ON FILE




                                                                                      Page 2186 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2187 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                            Address1                      Address2                                     Address3   Address4   City          State   PostalCode   Country
DEDOS OCASIO, DENNISSE M                 ADDRESS ON FILE
DEDOS PEREZ, PEDRO                       ADDRESS ON FILE
DEDOS PORCELL, ALBERTO                   ADDRESS ON FILE
DEDOS SANCHEZ, SONIA                     ADDRESS ON FILE
DEDOUSIS MD, JOHN                        ADDRESS ON FILE
DEDRICK FERNANDEZ ORTEGA                 ADDRESS ON FILE
DEDUAL VILLEGAS, NICOLAS                 ADDRESS ON FILE
DEEPLOGICS LABS CORP                     MONTECASINO                   CALLE PINO 234                                                     TOA ALTA      PR      00953
DEERFIELD COMMUNICATIONS
Deese Cortes, Brian P                    ADDRESS ON FILE
DEFENDINI CORRETJER, ANGEL               ADDRESS ON FILE
DEFENDINI CORRETJER, PERLA               ADDRESS ON FILE
DEFENDINI MAURAS MD, EFRAIN              ADDRESS ON FILE
Defendini Montanez, Edwin D              ADDRESS ON FILE
DEFENDINI OCASIO, MITCHEL                ADDRESS ON FILE
DEFENDINI ORTIZ, ANNELLY                 ADDRESS ON FILE
DEFENDINI ORTIZ, LILLIAN                 ADDRESS ON FILE
DEFENDINI RIVERA, ANGEL L                ADDRESS ON FILE
Defendini Rivera, Eric R                 ADDRESS ON FILE
DEFENDINI RIVERA, REYES A                ADDRESS ON FILE
DEFENDINI SANCHEZ, GERARDO               ADDRESS ON FILE
DEFENDINI SANTIAGQ, JOAN                 ADDRESS ON FILE
DEFENSE COMMISSARY AGENCY OFFICIAL BUSIN CLEVELAND CENTER CODE JDCBC   P O BOX 998017                                                     CLEVELAND     OH      44199‐8017
DEFENSE FINANCE & ACCOUNT SERV           PO BOX 182204                                                                                    COLUMBUS      OH      43218‐2204
DEFENSE FINANCE & ACCOUNTING SERVICE     3990 EAST BROAD STREET                                                                           COLUMBUS      OH      43213‐1152
DEFENSE FINANCE AND ACCOUNTING SERVICE 3990 EAST BROAD STREET          BLDG 21                                                            COLUMBUS      OH      43213‐1152
DEFENSORES DE LOS ANIMALES INC           PO BOX 1387                                                                                      BOQUERON      PR      00622
DEFENSORES PROCDN                        P O BOX 3305                                                                                     CAGUAS        PR      00726
DEFEO NESMITH, PAOLA                     ADDRESS ON FILE
DEFILLO HERNANDEZ, BARBARA               ADDRESS ON FILE
DEFILLO KOURIE, FERNANDO                 ADDRESS ON FILE
DEFILLO SANTIAGO, VICTOR                 ADDRESS ON FILE
DEG ANESTHESIA GROUP                     3 SOR TERESA SANCHEZ                                                                             YAUCO         PR      00698‐0000
DEGANUZA MD, DAYSY                       ADDRESS ON FILE
DEGETAU CAR CARE                         522 AVE DE DIEGO                                                                                 SAN JUAN      PR      00924
DEGETAU CAR CARE                         MERCANTIL PLAZA BUILDING      2 PONCE DE LEON AVE 9TH FLOOR                                      SAN JUAN      PR      00918‐1693
DEGETAU CAR CARE                         PO BOX 2400                                                                                      GUAYAMA       PR      00785‐0000
DEGLANS FIGUEROA, GIOVANA                ADDRESS ON FILE
DEGLANS OLIVENCIA, KERLINDA              ADDRESS ON FILE
DEGMAR CLINICAL LABORATORY INC           PO BOX 1651                                                                                      PONCE         PR      00733
DEGOLYER STODDARD, ROSEMARY              ADDRESS ON FILE
DEGRACIA ROSADO, ELIZABETH               ADDRESS ON FILE
DEGRACIA ROSADO, ELIZABETH               ADDRESS ON FILE
DEGRO ARROYO, AIDA I                     ADDRESS ON FILE
DEGRO BAEZ, MICHAEL A                    ADDRESS ON FILE
DEGRO FIGUEROA, ILEANA                   ADDRESS ON FILE
DEGRO LEON, FELIX J                      ADDRESS ON FILE
DEGRO LEON, NILZA                        ADDRESS ON FILE
DEGRO MERLY, VILMARIE                    ADDRESS ON FILE
DEGRO NEGRON, EILEEN                     ADDRESS ON FILE
DEGRO ORTIZ, IDA L                       ADDRESS ON FILE
Degro Ramirez, Irma I                    ADDRESS ON FILE
DEGRO RIVERA, BETHZAIDA                  ADDRESS ON FILE
DEGRO RODRIGUEZ, IVEMARI                 ADDRESS ON FILE
DEGRO ROSADO, HECTOR M.                  ADDRESS ON FILE
DEGRO SANTIAGO, EDGARDO                  ADDRESS ON FILE
DEGRO SANTIAGO, JESSICA                  ADDRESS ON FILE
DEGRO TORRES, LUZ M                      ADDRESS ON FILE
DEGRO VILA, MYRNA A                      ADDRESS ON FILE
Degro‐Vila, Manuel                       ADDRESS ON FILE




                                                                                                  Page 2187 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2188 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEGSA E TIRADO                         HC 33 BOX 5350                                                                   DORADO       PR      00646
DEGUER DIAZ BADIAS                     ADDRESS ON FILE
DEHONITE INC                           P O BOX 37182                                                                    SAN JUAN     PR      00937
DEIANIRA MENA/GERARDO MENA/JOSE MENA   ADDRESS ON FILE
DEIBELIS COLON QUINTANA                ADDRESS ON FILE
DEIBIS MATEO SANCHEZ                   ADDRESS ON FILE
DEIDA ACEVEDO, MIDELYS                 ADDRESS ON FILE
Deida Arbelo, Kevin Y                  ADDRESS ON FILE
DEIDA BENITEZ, MOISES                  ADDRESS ON FILE
DEIDA BOSQUE, JONATHAN                 ADDRESS ON FILE
DEIDA CRUZ, ABIMAEL                    ADDRESS ON FILE
DEIDA FELICIANO, JOEL                  ADDRESS ON FILE
DEIDA FELIX, ELVIN                     ADDRESS ON FILE
DEIDA FIGUEROA, CARMEN L.              ADDRESS ON FILE
DEIDA FIGUEROA, ELSA E                 ADDRESS ON FILE
DEIDA FIGUEROA, GLADYS                 ADDRESS ON FILE
DEIDA FIGUEROA, JUANITA                ADDRESS ON FILE
DEIDA FIGUEROA, LAURA E                ADDRESS ON FILE
Deida Figueroa, Roberto                ADDRESS ON FILE
DEIDA GARCIA, JESUS M                  ADDRESS ON FILE
DEIDA GARCIA, MOISES                   ADDRESS ON FILE
DEIDA GARCIA, YARA M                   ADDRESS ON FILE
DEIDA GONZALEZ, HUGO L                 ADDRESS ON FILE
DEIDA GONZALEZ, WILMA                  ADDRESS ON FILE
DEIDA GONZALEZ, WILNELIA               ADDRESS ON FILE
DEIDA GONZALEZ, WILNELIA               ADDRESS ON FILE
Deida Hernandez, Abimael               ADDRESS ON FILE
DEIDA HERNANDEZ, MILCA                 ADDRESS ON FILE
Deida Lugo, Emanuel                    ADDRESS ON FILE
DEIDA LUGO, EMANUEL                    ADDRESS ON FILE
DEIDA MALDONADO, JOSE                  ADDRESS ON FILE
DEIDA MALDONADO, LIZBETH               ADDRESS ON FILE
Deida Martinez, Felix                  ADDRESS ON FILE
DEIDA MEDINA, GERMAN                   ADDRESS ON FILE
DEIDA MORALES, RAFAEL                  ADDRESS ON FILE
DEIDA NORMAN, MARIA G                  ADDRESS ON FILE
DEIDA PACHECO, DORIS E                 ADDRESS ON FILE
DEIDA PACHECO, JOSE A.                 ADDRESS ON FILE
DEIDA PUJOLS, ZULEIKA                  ADDRESS ON FILE
DEIDA RIVERA, JORGE                    ADDRESS ON FILE
DEIDA RIVERA, KAYLA A.                 ADDRESS ON FILE
DEIDA RODRIGUEZ, CHRISTIAN             ADDRESS ON FILE
DEIDA RODRIGUEZ, JOSE                  ADDRESS ON FILE
DEIDA ROJAS, CARLOS G                  ADDRESS ON FILE
DEIDA ROJAS, JESSE                     ADDRESS ON FILE
DEIDA ROMAN, MELANIE                   ADDRESS ON FILE
DEIDA ROMERO, AIDA I                   ADDRESS ON FILE
DEIDA ROSARIO, ANDREA                  ADDRESS ON FILE
Deida Rosario, Cristobal               ADDRESS ON FILE
DEIDA RUIZ, NELIDA                     ADDRESS ON FILE
DEIDA SOTO, RAFAEL                     ADDRESS ON FILE
DEIDA SOTO, SARA E                     ADDRESS ON FILE
DEIDA VALENTIN, ELIUD E.               ADDRESS ON FILE
DEIDA VALENTIN, JOEL                   ADDRESS ON FILE
DEIDA VALETIN, ELIUD                   ADDRESS ON FILE
DEIDA VARGAS, FELIPE                   ADDRESS ON FILE
DEIDAD M REYES SALAS                   ADDRESS ON FILE
DEIDY IVETTE SOLIS MALDONADO           ADDRESS ON FILE
DEISY CRUZ TORRES                      ADDRESS ON FILE
DEITER J GONZALEZ PEREZ                ADDRESS ON FILE




                                                                                   Page 2188 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2189 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEIVID CHEVERE RAMOS                  ADDRESS ON FILE
DEIVY ORTEGA PAULINO                  ADDRESS ON FILE
DEIZA ARRIBAS MUNIZ                   ADDRESS ON FILE
DEJESUS ALMEDINA, FEDERICO            ADDRESS ON FILE
DEJESUS ARIAS, TAIRIS V.              ADDRESS ON FILE
DEJESUS COLON, JOSE                   ADDRESS ON FILE
DEJESUS DAVILA, JESUS                 ADDRESS ON FILE
DEJESUS FERNANDEZ, LISANDRA           ADDRESS ON FILE
DEJESUS FIGUEROA, ANA RITA            ADDRESS ON FILE
DEJESUS GONZALEZ, HECTOR              ADDRESS ON FILE
DEJESUS GRACIA, DELYANN               ADDRESS ON FILE
DEJESUS GUTIERREZ, RAFAEL E           ADDRESS ON FILE
DEJESUS JIMENEZ, HECTOR               ADDRESS ON FILE
DEJESUS LAZU, SANDRA                  ADDRESS ON FILE
DEJESUS LUGO, ANA M                   ADDRESS ON FILE
DEJESUS MERCED, BALTAZAR              ADDRESS ON FILE
DEJESUS ORPI MD, JAVIER M             ADDRESS ON FILE
DEJESUS ORTIZ, ELVIN                  ADDRESS ON FILE
DEJESUS PEREZ, VILMA M                ADDRESS ON FILE
DEJESUS RIOS, MARGARITA               ADDRESS ON FILE
DEJESUS RODRIGUEZ, JENIFFER           ADDRESS ON FILE
DEJESUS ROMAN,JULIA                   ADDRESS ON FILE
DEJESUS ROSARIO, ARNALDO              ADDRESS ON FILE
DEJESUS SANTOS, JORGE                 ADDRESS ON FILE
DEJESUS SILVA, JORGE                  ADDRESS ON FILE
DEJESUS TRINIDAD, JULIO A             ADDRESS ON FILE
DE‐JESUS VIZCARRONDO, JOSE            ADDRESS ON FILE
DEJESUS, RICARDO                      ADDRESS ON FILE
DEJESUSALVAREZ, JOSE L                ADDRESS ON FILE
DEJESUSCARRION, FRANCISCO             ADDRESS ON FILE
DEJESUSFELIX, LUIS                    ADDRESS ON FILE
DEJESUSGOMEZ, REGINO                  ADDRESS ON FILE
DEJESUSIGLESIA, MARIADE LA ROSA       ADDRESS ON FILE
DEJESUSLUGO, JOSE A                   ADDRESS ON FILE
DeJesús‐Mariani, Carmen               ADDRESS ON FILE
DEJESUSRIVERA, LUIS G.                ADDRESS ON FILE
DEJESUSSERRANO, ANGEL L               ADDRESS ON FILE
DEKONY VIERA, ELIZABETH               ADDRESS ON FILE
DEKONY VIERA, ERIC                    ADDRESS ON FILE
DEKONY VIERA, SYLBETH                 ADDRESS ON FILE
DEKONY VIERA, SYLMA                   ADDRESS ON FILE
DEKONY, VICTOR                        ADDRESS ON FILE
DEKONY, VICTOR M                      ADDRESS ON FILE
DEKUA PAGAN / BANCO POPULAR DE P,R,   P.O BOX 118                                                                      MAUNABO      PR      00707
DEL MORAL ROSARIO, ANNETTE            ADDRESS ON FILE
DEL AHORRO ROOFING INC                PO BOX 3868                                                                      MAYAGUEZ     PR      00681
DEL ALBA CRISTAL INC                  PO BOX 275                                                                       BOQUERON     PR      00622
DEL BUSTO RIVERA, ALEXANDER           ADDRESS ON FILE
DEL C. DE LEON RIVERA, MILAGROS       ADDRESS ON FILE
DEL C. RIOS ESCORIAZA, MARIA          ADDRESS ON FILE
DEL C. ROMAN RIVERA, MARIA            ADDRESS ON FILE
DEL CAMPO BORELLI, GIOVANNI           ADDRESS ON FILE
DEL CAMPO ECHEVARRIA, LIANAVETTE      ADDRESS ON FILE
DEL CAMPO GONZALEZ, RAUL              ADDRESS ON FILE
DEL CAMPO MARRERO, CAROLEE            ADDRESS ON FILE
DEL CAMPO MORALES, CARMEN E           ADDRESS ON FILE
DEL CAMPO RIVERA, LOURDES             ADDRESS ON FILE
DEL CAMPO RIVERA, NIVEA I             ADDRESS ON FILE
DEL CARMEN RIVERA, VILMA I            ADDRESS ON FILE
DEL CARMEN SENIOR LIVING CORP         CALLE 15 NUM 1265         EXT SAN AGUSTIN                                        SAN JUAN     PR      00926




                                                                                  Page 2189 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2190 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
DEL CASTILLO CINTRON, VICTOR     ADDRESS ON FILE
DEL CASTILLO DEL VALLE, AURA E   ADDRESS ON FILE
DEL CASTILLO HERNANDEZ, JORGE    ADDRESS ON FILE
DEL CASTILLO LOZADA, CESAR       ADDRESS ON FILE
DEL CASTILLO MARTORELL, NELSON   ADDRESS ON FILE
DEL CASTILLO MATOS, IRIS         ADDRESS ON FILE
DEL CASTILLO MD, ALAN            ADDRESS ON FILE
DEL CASTILLO OROZCO, FRANCISCO   ADDRESS ON FILE
DEL CASTILLO OROZCO, FRANCISCO   ADDRESS ON FILE
DEL CASTILLO REYES, EMILY        ADDRESS ON FILE
Del Castillo Roig, Gerardo       ADDRESS ON FILE
DEL CENTRO OFFICE SUPPLY         P O BOX 177                                                                      BARRANQUITAS      PR      00794
DEL CENTRO PRODUCE               HC 1 BOX 5324                                                                    BARRANQUITAS      PR      00794
DEL CENTRO PRODUCE               PO BOX 502                                                                       BARRANQUITAS      PR      00794
DEL CENTRO PRODUCE INC           HC 1 BOX 5324                                                                    BARRANQUITAS      PR      00794
DEL CERRO ALVAREZ, GEMA          ADDRESS ON FILE
DEL CID LEMUZ, DIONICIO          ADDRESS ON FILE
DEL CIELO TESORO HOGAR           P O BOX 3395                                                                     BAYAMON           PR      00958
DEL CRISTO LOPEZ, GREDSHEN       ADDRESS ON FILE
DEL CRISTO ROSA, HENRY           ADDRESS ON FILE
DEL CUADRO NADUENO, LUIS         ADDRESS ON FILE
DEL CUETO PEREZ, ENRIQUE         ADDRESS ON FILE
DEL CUETO PEREZ, ENRIQUE A.      ADDRESS ON FILE
DEL DIAZ COLON C., MARIA         ADDRESS ON FILE
DEL FONTANÉZ TORRES, NYDIA C.    ADDRESS ON FILE
DEL FRESNO CATALA, RAMON JOSE    ADDRESS ON FILE
DEL FRESNO LOPEZ, CHRISTIAN      ADDRESS ON FILE
DEL FRESNO LOPEZ, CHRISTIAN      ADDRESS ON FILE
DEL FRESNO LOPEZ, JOSEPH         ADDRESS ON FILE
DEL FRESNO TORRES, RAMON         ADDRESS ON FILE
DEL FRESNO TORRES, SHARLOG E     ADDRESS ON FILE
DEL GALLEGO CARDONA, EVA E       ADDRESS ON FILE
DEL HOYO MARCANO, MOISES         ADDRESS ON FILE
Del Hoyo Quiles, Manuel          ADDRESS ON FILE
DEL HOYO RIVERA, NATALIE         ADDRESS ON FILE
DEL HOYO ZAVALA, EVA             ADDRESS ON FILE
DEL JESUS MENDEZ, SANDRA         ADDRESS ON FILE
DEL LA CRUZ SERRANO, AMPARO      ADDRESS ON FILE
DEL LA ROSA VELAZQUEZ, MARIA V   ADDRESS ON FILE
DEL LLANO BARREDA, KARIAN        ADDRESS ON FILE
DEL LLANO LAFONTAINE, CARLOS A   ADDRESS ON FILE
DEL LLANO PUIG, ANA              ADDRESS ON FILE
DEL LLANO RIVERA, GERARDO        ADDRESS ON FILE
DEL LLANO SOBRINO, MARIA         ADDRESS ON FILE
DEL LLANO TORRES, ADRIANA        ADDRESS ON FILE
DEL MANZANO GONZALEZ, HECTOR R   ADDRESS ON FILE
DEL MANZANO RODRIGUE, HECTOR     ADDRESS ON FILE
DEL MAR ACOSTA RIVERA, MARIA     ADDRESS ON FILE
DEL MAR BUILDERS INC             P O BOX 870                                                                      ISABELA           PR      00662‐0870
DEL MAR EVENTS                   P O BOX 9227512                                                                  SAN JUAN          PR      00922‐7512
DEL MAR EVENTS LLC               PO BOX 9227512                                                                   SAN JUAN          PR      00922‐7512
DEL MAR, VERONICA                ADDRESS ON FILE
DEL MATER ONEILL, MARIA          ADDRESS ON FILE
DEL MONTE CORP                   PO BOX 193575                                                                    SAN FRANCISCO     OR      94119‐3575
DEL MONTE RIVAS, RAFAEL          ADDRESS ON FILE
DEL MORAL ALVARADO, KENNETH      ADDRESS ON FILE
DEL MORAL ALVARADO, KENNETH      ADDRESS ON FILE
DEL MORAL AMARO, ELSA            ADDRESS ON FILE
DEL MORAL AVILES, GIOVANNI       ADDRESS ON FILE
DEL MORAL BURGOS, NILKA L        ADDRESS ON FILE




                                                                             Page 2190 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2191 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                            Address1                       Address2                          Address3   Address4   City          State   PostalCode   Country
DEL MORAL CARRION, NORMA                 ADDRESS ON FILE
DEL MORAL COLON, IVONNE                  ADDRESS ON FILE
DEL MORAL COLON, IVONNE                  ADDRESS ON FILE
DEL MORAL CRUZ, HECTOR I                 ADDRESS ON FILE
DEL MORAL DE LEON, NURIA LYNNETTE        ADDRESS ON FILE
DEL MORAL DEL MORAL, MAGGIE              ADDRESS ON FILE
DEL MORAL ESPADA, WIDNA                  ADDRESS ON FILE
DEL MORAL FERNANDEZ, CYNTHIA             ADDRESS ON FILE
DEL MORAL LEBRON, JOSE                   ADDRESS ON FILE
Del Moral Lebron, Jose L.                ADDRESS ON FILE
DEL MORAL LEBRON, RAMON                  ADDRESS ON FILE
DEL MORAL LEBRON, YOLANDA                ADDRESS ON FILE
DEL MORAL MELENDEZ, BENITO               ADDRESS ON FILE
DEL MORAL MELENDEZ, JUANA                ADDRESS ON FILE
DEL MORAL MELENDEZ, JUANA                ADDRESS ON FILE
DEL MORAL MELENDEZ, JUANA                ADDRESS ON FILE
DEL MORAL MELENDEZ, JUANA                ADDRESS ON FILE
DEL MORAL ORTIZ, AMALYN                  ADDRESS ON FILE
DEL MORAL PABON, LEIDA I                 ADDRESS ON FILE
DEL MORAL RIVERA, JOSE R                 ADDRESS ON FILE
DEL MORAL RIVERA, LUIS J.                ADDRESS ON FILE
DEL MORAL ROSARIO, ANA M                 ADDRESS ON FILE
DEL MORAL ROSARIO, ANNETTE               ADDRESS ON FILE
DEL MORAL ROSARIO, EVELYN                ADDRESS ON FILE
DEL MORAL SANCHEZ, OLGA                  ADDRESS ON FILE
DEL MORAL VERA, ANA                      ADDRESS ON FILE
DEL MORAL, CARMEN I                      ADDRESS ON FILE
DEL MORAL, ROSARIO VANESSA               ADDRESS ON FILE
DEL MURO IRIZARRY, ANGELA                ADDRESS ON FILE
DEL NERO OLIVER, FERNANDO                ADDRESS ON FILE
DEL NORTE SERVICE INC                    BO PUEBLO NUEVO 42.38 CARR 2                                                           VEGA BAJA     PR      00693‐4808
DEL NORTE SERVICE INC                    PO BOX 1100                                                                            VEGA BAJA     PR      00694
DEL NORTE SERVICE INC                    PO BOX 2100                                                                            VEGA BAJA     PR      00694
DEL NORTE WASTE MANAGEMENT INC           1054 SANTANA                                                                           ARECIBO       PR      00612
DEL OLMO ARROYO, FRANCISCO               ADDRESS ON FILE
DEL OLMO FRESE, LAURA                    ADDRESS ON FILE
DEL OLMO GONZALEZ, MANUEL                ADDRESS ON FILE
DEL ORBE AYALA, LEONELA                  ADDRESS ON FILE
DEL ORBE CRUZ, GRECIA M                  ADDRESS ON FILE
DEL ORBE ROJAS, RAFAEL                   ADDRESS ON FILE
DEL ORBE, RAFAEL                         ADDRESS ON FILE
DEL PATIO BUSINESS & ENTERTAINMENT LLC   VISTA BELLA                    A 3 CALLE ESPANA                                        BAYAMON       PR      00956
Del Pilar Abreu, Saryadi                 ADDRESS ON FILE
Del Pilar Abreu, Yahaira                 ADDRESS ON FILE
DEL PILAR ABREU, YAHAIRA                 ADDRESS ON FILE
DEL PILAR BERRIOS, AIDA                  ADDRESS ON FILE
DEL PILAR CANALS, GLENDA L               ADDRESS ON FILE
DEL PILAR CORDOVA, ABIMAHEL              ADDRESS ON FILE
DEL PILAR CORDOVA, JANICE                ADDRESS ON FILE
DEL PILAR GONZALEZ, EDWIN R.             ADDRESS ON FILE
DEL PILAR GONZALEZ, HILDA EMMA           ADDRESS ON FILE
DEL PILAR MARTINEZ, FREDDY               ADDRESS ON FILE
DEL PILAR MARTINEZ, WILFREDO             ADDRESS ON FILE
DEL PILAR MORALES, EFRAIN                ADDRESS ON FILE
DEL PILAR MUNOZ, DAVID                   ADDRESS ON FILE
DEL PILAR MUNOZ, LILLIAM M               ADDRESS ON FILE
DEL PILAR MUNOZ, WILLIAM                 ADDRESS ON FILE
DEL PILAR NIEVES, CARMEN M               ADDRESS ON FILE
Del Pilar Nieves, Santos                 ADDRESS ON FILE
DEL PILAR PEREZ, NOEL                    ADDRESS ON FILE




                                                                                           Page 2191 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2192 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                       Address2                                    Address3   Address4   City         State   PostalCode   Country
DEL PILAR PEREZ, VIVIAN                  ADDRESS ON FILE
DEL PILAR RODRIGUEZ, LUIS G.             ADDRESS ON FILE
DEL PILAR RODRIGUEZ, PEDRO               ADDRESS ON FILE
DEL PILAR VELEZ, EDWIN                   ADDRESS ON FILE
DEL PINO GÓMEZ, OMAR, SUNCOOL AIR CONDIT LCDA. ELSA A. GONZALEZ VÉLEZ   URB. LOS ÁNGELES ANEXO DEL 2252 CELESTIAL                         CAROLINA     PR      00979
DEL PINO PIZARRO, KIOMARIE M             ADDRESS ON FILE
DEL PINO RODRIGUEZ, VINCENT              ADDRESS ON FILE
DEL PINO WONG, JOSE                      ADDRESS ON FILE
DEL PINO ZAMORANO, ANA                   ADDRESS ON FILE
DEL POZO AYALA, NILVIALIZ                ADDRESS ON FILE
DEL POZO CRESPO, CRISTINA                ADDRESS ON FILE
DEL POZO GOMEZ MD, EDGARDO               ADDRESS ON FILE
DEL POZO GOMEZ MD, HUBERTO               ADDRESS ON FILE
DEL PRADO COLLADO, DANIEL                ADDRESS ON FILE
DEL PRADO ESCOBAR MD, RAMON              ADDRESS ON FILE
DEL PRADO SALIVA, ALFREDO J.             ADDRESS ON FILE
DEL R. CAMACHO SANTOS, MARIA             ADDRESS ON FILE
DEL RIO ACUNA, JORGE                     ADDRESS ON FILE
DEL RIO AGOSTO, REHUEL                   ADDRESS ON FILE
DEL RIO AGUILAR, EVA L                   ADDRESS ON FILE
DEL RIO AVILES, ELBIA                    ADDRESS ON FILE
DEL RIO CANDELARIA, CARIM                ADDRESS ON FILE
DEL RIO CARABALLO, MARIA                 ADDRESS ON FILE
DEL RIO CARDE, ANTONIO                   ADDRESS ON FILE
DEL RIO CARDE, CARLOS                    ADDRESS ON FILE
DEL RIO CORDERO, CLARA                   ADDRESS ON FILE
DEL RIO CORDERO, JOSE R                  ADDRESS ON FILE
DEL RIO CORRADA, ALVARO                  ADDRESS ON FILE
DEL RIO CRUZ, CARMEN M                   ADDRESS ON FILE
Del Rio Cruz, Marybelisse                ADDRESS ON FILE
DEL RIO CRUZ, MILAGROS M.                ADDRESS ON FILE
DEL RIO CUMBA, CARMEN                    ADDRESS ON FILE
DEL RIO DE JESUS, DESIREE                ADDRESS ON FILE
DEL RIO DE VARONA, JOSE                  ADDRESS ON FILE
DEL RIO DEL RIO, GLENDA                  ADDRESS ON FILE
DEL RIO DEL RIO, JANICE                  ADDRESS ON FILE
DEL RIO DEL RIO, LESLIE                  ADDRESS ON FILE
DEL RIO DEL RIO, LESLIE J                ADDRESS ON FILE
DEL RIO DEL VALLE, NICASIA               ADDRESS ON FILE
DEL RIO DIAZ, DANIEL                     ADDRESS ON FILE
DEL RIO DIAZ, LUIS                       ADDRESS ON FILE
DEL RIO ESTADES, YADIRA                  ADDRESS ON FILE
DEL RIO FERRER, FRANCISCO J              ADDRESS ON FILE
DEL RIO FERRER, JOSE M                   ADDRESS ON FILE
DEL RIO FIGUEROA, ESTHER                 ADDRESS ON FILE
DEL RIO FIGUEROA, JEANNETTE              ADDRESS ON FILE
DEL RIO FIGUEROA, KEYSHLA                ADDRESS ON FILE
DEL RIO FIGUEROA, LEISHKA Y              ADDRESS ON FILE
DEL RIO FLORES, LOURDES                  ADDRESS ON FILE
DEL RIO FRANCO, RAQUEL                   ADDRESS ON FILE
DEL RIO FUENTES, WILLIAM                 ADDRESS ON FILE
DEL RIO GALAN, JACQUELINE                ADDRESS ON FILE
DEL RIO GARCED, FRANCISCO                ADDRESS ON FILE
DEL RIO GARCIA, AILENE M.                ADDRESS ON FILE
DEL RIO GARCIA, JANET                    ADDRESS ON FILE
DEL RIO GARCIA, JANET                    ADDRESS ON FILE
DEL RIO GOMEZ, CARMEN A                  ADDRESS ON FILE
DEL RIO GONI, MARIA ICIAR                ADDRESS ON FILE
DEL RIO GONZALEZ, ANGEL                  ADDRESS ON FILE
Del Rio Gonzalez, Angel M                ADDRESS ON FILE




                                                                                                    Page 2192 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2193 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Del Rio Gonzalez, Elvin           ADDRESS ON FILE
DEL RIO GONZALEZ, LISANDRA        ADDRESS ON FILE
DEL RIO GONZALEZ, MARCOS          ADDRESS ON FILE
DEL RIO GONZALEZ, SONIA           ADDRESS ON FILE
DEL RIO GONZALEZ, SONIA I.        ADDRESS ON FILE
Del Rio Gonzalez, Steven          ADDRESS ON FILE
DEL RIO GUTIERREZ, JOHANYS        ADDRESS ON FILE
DEL RIO HERNANDEZ, CARLOS         ADDRESS ON FILE
DEL RIO HERNANDEZ, MARIA D        ADDRESS ON FILE
DEL RIO HERNANDEZ, MARIA DE LOS   ADDRESS ON FILE
DEL RIO HERNANDEZ, MIRIAM         ADDRESS ON FILE
DEL RIO HERNANDEZ, NELSON         ADDRESS ON FILE
DEL RIO LARRIUZ, ANA M            ADDRESS ON FILE
DEL RIO LEGARRETA, GILBERTO       ADDRESS ON FILE
DEL RIO LUGO, BRENDA L            ADDRESS ON FILE
DEL RIO LUGO, JAYKEN              ADDRESS ON FILE
Del Rio Lugo, Jose M              ADDRESS ON FILE
DEL RIO LUGO, PEDRO J             ADDRESS ON FILE
DEL RIO LUGO, RUBEN               ADDRESS ON FILE
DEL RIO LUNA, GILBERT             ADDRESS ON FILE
DEL RIO LUNA, ZAIRA               ADDRESS ON FILE
DEL RIO MALDONADO, RAFAEL         ADDRESS ON FILE
DEL RIO MARQUEZ, IRIS             ADDRESS ON FILE
DEL RIO MARTINEZ, HILDA E         ADDRESS ON FILE
DEL RIO MARTINEZ, MARIA A.        ADDRESS ON FILE
DEL RIO MARTINEZ, SEBASTIANA      ADDRESS ON FILE
DEL RIO MELENDEZ, FEDERICK        ADDRESS ON FILE
DEL RIO MIRANDA, LUIS             ADDRESS ON FILE
DEL RIO MOLA, JUAN                ADDRESS ON FILE
DEL RIO MONSERRATE, LIZBETH       ADDRESS ON FILE
DEL RIO MORA, JOEL                ADDRESS ON FILE
DEL RIO MUNIZ, YANNETTE           ADDRESS ON FILE
DEL RIO OCHOA, VIONETTE M.        ADDRESS ON FILE
Del Rio Ojeda, Carmen M           ADDRESS ON FILE
Del Rio Ojeda, Jorge              ADDRESS ON FILE
DEL RIO OLMEDA, ANTHONY           ADDRESS ON FILE
DEL RIO ORTIZ, CARMEN L.          ADDRESS ON FILE
DEL RIO ORTIZ, CARMEN L.          ADDRESS ON FILE
DEL RIO ORTIZ, RAFAEL             ADDRESS ON FILE
DEL RIO ORTIZ, ROLANDO            ADDRESS ON FILE
DEL RIO OTERO, MARIA F            ADDRESS ON FILE
DEL RIO PEREZ, EDUARDO            ADDRESS ON FILE
DEL RIO PEREZ, ROSA M             ADDRESS ON FILE
DEL RIO PINEDA, DULCE             ADDRESS ON FILE
DEL RIO PINEDA, DULCE M.          ADDRESS ON FILE
DEL RIO PLANTENYS, ADA            ADDRESS ON FILE
DEL RIO QUINONES, EDWARD          ADDRESS ON FILE
DEL RIO RENTA, MANUEL J           ADDRESS ON FILE
DEL RIO REY, CANDIDA C            ADDRESS ON FILE
DEL RIO REY, JOSE                 ADDRESS ON FILE
DEL RIO RIVERA, ELSA              ADDRESS ON FILE
DEL RIO RIVERA, LUIS G            ADDRESS ON FILE
DEL RIO RIVERA, LUIS G            ADDRESS ON FILE
DEL RIO RIVERA, MIGUEL A.         ADDRESS ON FILE
DEL RIO RIVERA, RAFAEL            ADDRESS ON FILE
DEL RIO RIVERA, RAFAEL            ADDRESS ON FILE
DEL RIO RODRIGUEZ MD, FELIX       ADDRESS ON FILE
DEL RIO RODRIGUEZ, ESMERALDA      ADDRESS ON FILE
DEL RIO RODRIGUEZ, ESMERALDA      ADDRESS ON FILE
DEL RIO RODRIGUEZ, JENNIFER       ADDRESS ON FILE




                                                                              Page 2193 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2194 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                      Address1                       Address2                            Address3   Address4   City         State   PostalCode   Country
DEL RIO RODRIGUEZ, JOAQUIN         ADDRESS ON FILE
Del Rio Rodriguez, Juan G          ADDRESS ON FILE
DEL RIO RODRIGUEZ, RAFAEL          ADDRESS ON FILE
DEL RIO RODRIGUEZ, SYLVIA E        ADDRESS ON FILE
Del Rio Roman, Hector J            ADDRESS ON FILE
Del Rio Roman, Luis A              ADDRESS ON FILE
DEL RIO ROSA, VANESSA              ADDRESS ON FILE
DEL RIO ROSARIO, JANICE            ADDRESS ON FILE
DEL RIO ROURE, JOSE                ADDRESS ON FILE
DEL RIO SANTIAGO, ANABEL           ADDRESS ON FILE
DEL RIO SANTIAGO, DAMARYS          ADDRESS ON FILE
DEL RIO SANTIAGO, JESSICA          ADDRESS ON FILE
DEL RIO SHEET HETAL MFG INC        PO BOX 142894                                                                            ARECIBO      PR      00614
Del Rio Sola, Gabriel E.           ADDRESS ON FILE
DEL RIO SOTO, CARMEN L             ADDRESS ON FILE
DEL RIO SOTO, LILLIAN              ADDRESS ON FILE
DEL RIO SOTO, LUIS                 ADDRESS ON FILE
DEL RIO SUAREZ, FELIX              ADDRESS ON FILE
DEL RIO SUAREZ, JUAN               ADDRESS ON FILE
Del Rio Torres, Angel M            ADDRESS ON FILE
DEL RIO TORRES, FERGIE             ADDRESS ON FILE
DEL RIO TORRES, JEANNETTE          ADDRESS ON FILE
DEL RIO TRADING LLC                PO BOX 779                                                                               CAMUY        PR      00627
DEL RIO TRINIDAD, JOSE             ADDRESS ON FILE
DEL RIO TRINIDAD, ROBERTO          ADDRESS ON FILE
DEL RIO TRUJILLO, CARMEN I         ADDRESS ON FILE
DEL RIO VAZQUEZ, EDUARDO           ADDRESS ON FILE
DEL RIO VEGA, CARLOS               ADDRESS ON FILE
DEL RIO VEGA, LIZETTE              ADDRESS ON FILE
DEL RIO VELAZQUEZ, MIRIAM R        ADDRESS ON FILE
DEL RIO VELAZQUEZ, PEDRO           ADDRESS ON FILE
DEL RIO VELEZ, CARLOS              ADDRESS ON FILE
DEL RIO VILLA, JOAQUIN             ADDRESS ON FILE
DEL RIO VILLAFANE, VERONICA        ADDRESS ON FILE
DEL RIO VILLALOBOS, JOSE J         ADDRESS ON FILE
DEL RIO, LUIS                      ADDRESS ON FILE
DEL RIO, VANESSA                   LIC. TORRES VALENTÍN, JOSÉ E   CALLE GEORGETTI 78                                        SAN JUAN     PR      00925
DEL RIOS FIGUEROA, CARMEN L        ADDRESS ON FILE
DEL RIOS VIERA, IRIS               ADDRESS ON FILE
DEL RIOS,ARMANDO                   ADDRESS ON FILE
DEL RIVERO YAMUY, ADA              ADDRESS ON FILE
DEL RODRIGUEZ ORTIZ, MARIA C.      ADDRESS ON FILE
DEL RODRIGUEZ RODRIGUEZ, AIDA R.   ADDRESS ON FILE
DEL ROSARIO ABAD, DOMINGO          ADDRESS ON FILE
DEL ROSARIO AGOSTO, ANGEL          ADDRESS ON FILE
DEL ROSARIO CARABALLO, JOSE        ADDRESS ON FILE
DEL ROSARIO CAUTINO, GIOVANNA      ADDRESS ON FILE
DEL ROSARIO CHARBONNIEL, AIMEE     ADDRESS ON FILE
DEL ROSARIO FANFAN, RAYTZA         ADDRESS ON FILE
DEL ROSARIO HERNANDEZ, ELIZABETH   ADDRESS ON FILE
DEL ROSARIO HERNANDEZ, MARIA       ADDRESS ON FILE
DEL ROSARIO HERNANDEZ, MARIA E     ADDRESS ON FILE
DEL ROSARIO MELENDEZ, NIRCIA       ADDRESS ON FILE
DEL ROSARIO MELENDEZ, REYNALDO     ADDRESS ON FILE
DEL ROSARIO MERCADO, MARTIN        ADDRESS ON FILE
DEL ROSARIO MORALES, JANIS         ADDRESS ON FILE
DEL ROSARIO PAULINO, RICHY         ADDRESS ON FILE
DEL ROSARIO PAULINO, SELENIA       ADDRESS ON FILE
DEL ROSARIO PAULINO, SELENIA       ADDRESS ON FILE
DEL ROSARIO PEREZ, CARLOS          ADDRESS ON FILE




                                                                                       Page 2194 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2195 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                       Address1                   Address2                               Address3   Address4   City         State   PostalCode   Country
DEL ROSARIO PEREZ, NELSON O         ADDRESS ON FILE
DEL ROSARIO RAMOS, ENRIQUE          ADDRESS ON FILE
DEL ROSARIO RODRIGUEZ, MARIA        ADDRESS ON FILE
DEL ROSARIO SANCHEZ, JUAN A.        ADDRESS ON FILE
DEL ROSARIO SANTANA, DAMARIS        ADDRESS ON FILE
DEL ROSARIO SEPULVEDA, ALIS         ADDRESS ON FILE
DEL ROSARIO TEJEDA, ROSELYN         ADDRESS ON FILE
DEL ROSARIO VEGA, JOSE              ADDRESS ON FILE
Del Rosario Velaz, Marcos A         ADDRESS ON FILE
DEL ROSARIO VIERA, MILAGROS         ADDRESS ON FILE
DEL ROSARIO, ABEL                   ADDRESS ON FILE
DEL ROSARIO, ROBERTO                ADDRESS ON FILE
DEL SURESTE AMSE, ALIANZA MEDICOS   ADDRESS ON FILE
DEL TORO & SANTANA                  PLAZA SCOTIABANK 273 AVE   P DE LEON OFICINA 610                                        SAN JUAN     PR      00917 1902
DEL TORO ACEVEDO, AYMARA            ADDRESS ON FILE
DEL TORO ALVAREZ, ELIZMARIE         ADDRESS ON FILE
DEL TORO ASENCIO, ENOCK             ADDRESS ON FILE
DEL TORO CABAN, EDGAR               ADDRESS ON FILE
DEL TORO CABAN, ERIC ANTONIO        ADDRESS ON FILE
DEL TORO CABRERA, MAREL             ADDRESS ON FILE
DEL TORO CARMONA, EDWARD            ADDRESS ON FILE
Del Toro Carmona, Edward L.         ADDRESS ON FILE
DEL TORO CARRERO, SERAFINA          ADDRESS ON FILE
DEL TORO CARRERO, SERAFINA          ADDRESS ON FILE
DEL TORO CARRERPO, SERAFINA         ADDRESS ON FILE
DEL TORO COLBERG MD, RODOLFO        ADDRESS ON FILE
DEL TORO COLBERT MD, RODOLFO        ADDRESS ON FILE
DEL TORO CORDERO, JACKELINE         ADDRESS ON FILE
DEL TORO CORDERO, JACQUELINE        ADDRESS ON FILE
DEL TORO CUEVAS, MANUEL             ADDRESS ON FILE
DEL TORO DE JESUS, DIANA            ADDRESS ON FILE
DEL TORO DEL TORO, LEYDA R          ADDRESS ON FILE
DEL TORO DELGADO, LUIS              ADDRESS ON FILE
DEL TORO DIAZ, XIOMARA              ADDRESS ON FILE
DEL TORO DIAZ, XIOMARA              ADDRESS ON FILE
DEL TORO DURAN, JAVIER              ADDRESS ON FILE
DEL TORO FELICIANO, JAIME           ADDRESS ON FILE
DEL TORO FELICIANO, VICTOR          ADDRESS ON FILE
DEL TORO FIGUEROA, ANGEL            ADDRESS ON FILE
DEL TORO FIGUEROA, ZAIDA            ADDRESS ON FILE
DEL TORO GARCIA, RAFAEL             ADDRESS ON FILE
DEL TORO GARCIA, ROSALINDA          ADDRESS ON FILE
DEL TORO GONZALEZ, ALVIN            ADDRESS ON FILE
DEL TORO GONZALEZ, MARIA            ADDRESS ON FILE
DEL TORO GORDILS, CLEMENTINA        ADDRESS ON FILE
DEL TORO HERNANDEZ, FERNANDO        ADDRESS ON FILE
DEL TORO IRIZARRY, HILDA            ADDRESS ON FILE
DEL TORO LABRADA, ALEJANDRA         ADDRESS ON FILE
DEL TORO LUGO, HILDA I.             ADDRESS ON FILE
DEL TORO LUGO, NERIBEL              ADDRESS ON FILE
DEL TORO MARTINEZ, FRANCISCO        ADDRESS ON FILE
DEL TORO MARTINEZ, MARIBEL          ADDRESS ON FILE
DEL TORO MARTINEZ, MARIBEL          ADDRESS ON FILE
DEL TORO MARTINEZ, MILTON           ADDRESS ON FILE
DEL TORO MARTINEZ, MILTON R         ADDRESS ON FILE
DEL TORO MATOS, CARLOS              ADDRESS ON FILE
DEL TORO MATOS, FREDDY              ADDRESS ON FILE
DEL TORO MONTANEZ, GRETCHEN         ADDRESS ON FILE
DEL TORO MORALES, IMGHARD           ADDRESS ON FILE
DEL TORO MORALES, ROBERTO           ADDRESS ON FILE




                                                                                       Page 2195 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2196 of 3500
                                                                                17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                    Address1                       Address2                     Address3   Address4   City         State   PostalCode   Country
DEL TORO NIEVES, ANGELA M        ADDRESS ON FILE
DEL TORO NOVALES, ELIZABETH      ADDRESS ON FILE
DEL TORO NOVALES, ELVIRA         ADDRESS ON FILE
DEL TORO PACHECO, JULIO          ADDRESS ON FILE
DEL TORO PEREZ, EDITH            ADDRESS ON FILE
DEL TORO PIQEIRO, RAFAEL         ADDRESS ON FILE
DEL TORO RIOS, MILDRED           ADDRESS ON FILE
Del Toro Rivera, Adan            ADDRESS ON FILE
DEL TORO RIVERA, EDDIE           ADDRESS ON FILE
DEL TORO RIVERA, EDDIE           ADDRESS ON FILE
DEL TORO RIVERA, ELIUD           ADDRESS ON FILE
DEL TORO RIVERA, HERNAN          ADDRESS ON FILE
DEL TORO RIVERA, HERNAN          LCDO. HÉCTOR J. PÉREZ RIVERA   PO BOX 9007                                        SAN JUAN     PR      00908‐9007
DEL TORO RIVERA, MAGDA           ADDRESS ON FILE
DEL TORO RIVERA, ROSANGELA       ADDRESS ON FILE
Del Toro Robles, Carlos          ADDRESS ON FILE
DEL TORO ROBLES, DIANA L         ADDRESS ON FILE
DEL TORO RODRIGUEZ, MARIO        ADDRESS ON FILE
DEL TORO RODRIGUEZ, NELLY        ADDRESS ON FILE
DEL TORO ROMAN MD, EDGAR         ADDRESS ON FILE
DEL TORO ROMAN, EDGAR            ADDRESS ON FILE
DEL TORO ROMEU, SARA LIZ         ADDRESS ON FILE
DEL TORO ROSADO, ALVARO          ADDRESS ON FILE
Del Toro Rosado, Ruben           ADDRESS ON FILE
DEL TORO RUIZ, ALICE             ADDRESS ON FILE
DEL TORO SANCHEZ MD, ANETTE      ADDRESS ON FILE
DEL TORO SANCHEZ MD, ANNETTE     ADDRESS ON FILE
DEL TORO SANCHEZ, ANTONIO R.     ADDRESS ON FILE
DEL TORO SANCHEZ, CARLOS         ADDRESS ON FILE
DEL TORO SANCHEZ, CARMEN J       ADDRESS ON FILE
DEL TORO SANCHEZ, ISIDRO         ADDRESS ON FILE
DEL TORO SANCHEZ, VANESSA        ADDRESS ON FILE
DEL TORO SANCHEZ, VIRMARIE       ADDRESS ON FILE
DEL TORO SEGARRA, SALLY          ADDRESS ON FILE
DEL TORO SEGARRA, SALLY          ADDRESS ON FILE
DEL TORO SEPULVEDA, MARISOL I    ADDRESS ON FILE
DEL TORO SOTO MD, JAIME          ADDRESS ON FILE
DEL TORO TORO, WALDEMAR          ADDRESS ON FILE
DEL TORO TORRES, EMMA Y          ADDRESS ON FILE
DEL TORO TORRES, MIRTA           ADDRESS ON FILE
DEL TORO VEGA, DENNISE           ADDRESS ON FILE
DEL TORO VEGA, IVELISSE          ADDRESS ON FILE
DEL TORO VELEZ, AMERICO          ADDRESS ON FILE
DEL TORO ZAPATA, LINA            ADDRESS ON FILE
DEL TORO,GUILLERMO               ADDRESS ON FILE
DEL TURABO SECURITY GUARD        PO BOX 8371                                                                       CAGUAS       PR      00726
DEL VALLE ACEVEDO, LISANDRA      ADDRESS ON FILE
DEL VALLE ALAMO, MARIA E.        ADDRESS ON FILE
DEL VALLE ALAMO, ZULMA           ADDRESS ON FILE
DEL VALLE ALBERTY, GABRIEL       ADDRESS ON FILE
DEL VALLE ALBERTY, IVETTE        ADDRESS ON FILE
DEL VALLE ALEJANDRO, HIPOLITO    ADDRESS ON FILE
DEL VALLE ALICEA, ELSIE          ADDRESS ON FILE
DEL VALLE ALICEA, EMILIA         ADDRESS ON FILE
DEL VALLE ALICEA, GLADYS         ADDRESS ON FILE
DEL VALLE ALICEA, GLADYS Y       ADDRESS ON FILE
DEL VALLE ALICEA, HERI U.        ADDRESS ON FILE
DEL VALLE ALICEA, JUAN A         ADDRESS ON FILE
DEL VALLE ALMODOVAR, CARMEN M    ADDRESS ON FILE
DEL VALLE ALMODOVAR, FELIPE I.   ADDRESS ON FILE




                                                                              Page 2196 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2197 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE ALVAREZ, LOURDES        ADDRESS ON FILE
DEL VALLE ANDUJAR, GLADYS         ADDRESS ON FILE
DEL VALLE APONTE, DENISE R.       ADDRESS ON FILE
DEL VALLE APONTE, JESUS           ADDRESS ON FILE
DEL VALLE APONTE, JESUS           ADDRESS ON FILE
DEL VALLE APONTE, MARIO           ADDRESS ON FILE
DEL VALLE APONTE, YESENIA         ADDRESS ON FILE
Del Valle Arroyo, Alexis          ADDRESS ON FILE
Del Valle Arroyo, Angel M         ADDRESS ON FILE
DEL VALLE ARROYO, JONATHAN        ADDRESS ON FILE
DEL VALLE ARROYO, JOSE            ADDRESS ON FILE
DEL VALLE ARROYO, JOSE            ADDRESS ON FILE
DEL VALLE ARROYO, WALDEMAR        ADDRESS ON FILE
DEL VALLE AVILES, HECTOR L.       ADDRESS ON FILE
DEL VALLE AYALA, PEDRO            ADDRESS ON FILE
DEL VALLE BAEZ, AVELINO           ADDRESS ON FILE
DEL VALLE BAGUE, CARLOS           ADDRESS ON FILE
DEL VALLE BAGUE, LOURDES E        ADDRESS ON FILE
DEL VALLE BALTES, MADELINE        ADDRESS ON FILE
DEL VALLE BARILLAS, IRIS          ADDRESS ON FILE
DEL VALLE BATISTA, MARIA V        ADDRESS ON FILE
DEL VALLE BEAUCHAMP, HECTOR       ADDRESS ON FILE
DEL VALLE BEAUCHAMP, JANICE       ADDRESS ON FILE
DEL VALLE BELEN, CARLOS           ADDRESS ON FILE
DEL VALLE BELTRAN, EVELYN         ADDRESS ON FILE
DEL VALLE BENITEZ, EDWIN          ADDRESS ON FILE
DEL VALLE BENITEZ, LILLIAN        ADDRESS ON FILE
DEL VALLE BERMUDEZ, CESAR         ADDRESS ON FILE
DEL VALLE BERMUDEZ, CESAR A       ADDRESS ON FILE
DEL VALLE BETANCOURT, NELSON      ADDRESS ON FILE
DEL VALLE BIASCOCHEA MD, CARLOS   ADDRESS ON FILE
DEL VALLE BONET, ROSA             ADDRESS ON FILE
DEL VALLE BONILLA, CARLOS M       ADDRESS ON FILE
DEL VALLE BONILLA, EDUARDO        ADDRESS ON FILE
DEL VALLE BONILLA, JOSUE          ADDRESS ON FILE
DEL VALLE BONILLA, MARIA          ADDRESS ON FILE
DEL VALLE BORIA, JOSE             ADDRESS ON FILE
DEL VALLE BRAS, JOSE M            ADDRESS ON FILE
DEL VALLE BURGOS, CARMEN          ADDRESS ON FILE
DEL VALLE BURGOS, JOHN O.         ADDRESS ON FILE
DEL VALLE BURGOS, MARIA T         ADDRESS ON FILE
DEL VALLE BURGOS, MILDRED         ADDRESS ON FILE
DEL VALLE BURGOS, NILDA T         ADDRESS ON FILE
DEL VALLE BURGOS, NOEMI           ADDRESS ON FILE
DEL VALLE BURGOS, RAMONITA        ADDRESS ON FILE
DEL VALLE CABALLER, JOSE          ADDRESS ON FILE
DEL VALLE CABEZA, JAMIE B         ADDRESS ON FILE
DEL VALLE CALERO, MARITZA A       ADDRESS ON FILE
DEL VALLE CALERO, MARITZA A       ADDRESS ON FILE
DEL VALLE CALERO, MAYRA           ADDRESS ON FILE
DEL VALLE CAMACHO, JOSE           ADDRESS ON FILE
DEL VALLE CANALES, VERONICA D     ADDRESS ON FILE
DEL VALLE CANCEL, ENRIQUE         ADDRESS ON FILE
DEL VALLE CANGGIANO, GERARDO      ADDRESS ON FILE
DEL VALLE CANO, RONNIE            ADDRESS ON FILE
DEL VALLE CAPELES, ANID           ADDRESS ON FILE
DEL VALLE CAPELES, LUCRECIA       ADDRESS ON FILE
Del Valle Caraball, Edwin J       ADDRESS ON FILE
DEL VALLE CARABALLO, EDWIN        ADDRESS ON FILE
DEL VALLE CARABALLO, LUIS         ADDRESS ON FILE




                                                                              Page 2197 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2198 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE CARABALLO, WANDA          ADDRESS ON FILE
DEL VALLE CARABALLO, WILNERIE       ADDRESS ON FILE
DEL VALLE CARABALLO, ZULIMAR        ADDRESS ON FILE
DEL VALLE CARATTINI, JOSE           ADDRESS ON FILE
DEL VALLE CARDONA, GEOVANNY         ADDRESS ON FILE
DEL VALLE CARDONA, IVELISSE         ADDRESS ON FILE
DEL VALLE CARDONA, ROBERTO          ADDRESS ON FILE
DEL VALLE CARRASQUILLO, EDDIE       ADDRESS ON FILE
DEL VALLE CARRASQUILLO, ERIKA       ADDRESS ON FILE
DEL VALLE CARRASQUILLO, JEANNETTE   ADDRESS ON FILE
DEL VALLE CARRASQUILLO, JUAN R      ADDRESS ON FILE
DEL VALLE CARRASQUILLO, JULIE A     ADDRESS ON FILE
DEL VALLE CARRASQUILLO, MONICO      ADDRESS ON FILE
DEL VALLE CARRASQUILLO, RAFAEL      ADDRESS ON FILE
DEL VALLE CARTAGENA, ANA            ADDRESS ON FILE
DEL VALLE CARTAGENA, JESSICA        ADDRESS ON FILE
DEL VALLE CASANOVA, CARLOS          ADDRESS ON FILE
DEL VALLE CASTRO, JOSE              ADDRESS ON FILE
DEL VALLE CEBALLOS, CARLOS          ADDRESS ON FILE
DEL VALLE CEPEDA, JAVIER            ADDRESS ON FILE
DEL VALLE CEREZO, BRENDA L.         ADDRESS ON FILE
DEL VALLE CEREZO, WILFREDO          ADDRESS ON FILE
DEL VALLE CEREZO, WILFREDO          ADDRESS ON FILE
Del Valle Cintron, Luis A           ADDRESS ON FILE
Del Valle Cintron, William          ADDRESS ON FILE
DEL VALLE CINTRON, YARELIS          ADDRESS ON FILE
DEL VALLE CLAUDIO, JONATHAN         ADDRESS ON FILE
DEL VALLE CLAUDIO, SANTA            ADDRESS ON FILE
DEL VALLE COLLAZO, CARLOS           ADDRESS ON FILE
DEL VALLE COLON, DIOMEDES           ADDRESS ON FILE
DEL VALLE COLON, FERMIN             ADDRESS ON FILE
DEL VALLE COLON, GLADYS             ADDRESS ON FILE
DEL VALLE COLON, KAISY              ADDRESS ON FILE
DEL VALLE COLON, NELSON             ADDRESS ON FILE
DEL VALLE COLON, NICOLE             ADDRESS ON FILE
DEL VALLE COLON, SANDRA I           ADDRESS ON FILE
DEL VALLE COLON, VICTOR             ADDRESS ON FILE
Del Valle Concepcion, Jose A.       ADDRESS ON FILE
DEL VALLE CONCEPCION, RICHARD       ADDRESS ON FILE
DEL VALLE CONDE, CARMEN             ADDRESS ON FILE
DEL VALLE CONDE, SONIA N            ADDRESS ON FILE
DEL VALLE CONTRERAS, FRANCES        ADDRESS ON FILE
DEL VALLE CORREA, ANGEL             ADDRESS ON FILE
DEL VALLE CORREA, SHEILA D          ADDRESS ON FILE
DEL VALLE CORREA, WANDA             ADDRESS ON FILE
DEL VALLE COTTO, JAVIER J.          ADDRESS ON FILE
DEL VALLE COTTO, JOSE M             ADDRESS ON FILE
DEL VALLE COTTO, SUHEILY            ADDRESS ON FILE
DEL VALLE CRESPO, LINDA             ADDRESS ON FILE
DEL VALLE CRUZ, ELVIN               ADDRESS ON FILE
DEL VALLE CRUZ, FELIX D             ADDRESS ON FILE
DEL VALLE CRUZ, JOSE                ADDRESS ON FILE
DEL VALLE CRUZ, JULIO               ADDRESS ON FILE
DEL VALLE CRUZ, LILLIAM             ADDRESS ON FILE
DEL VALLE CRUZ, MIRIAM              ADDRESS ON FILE
DEL VALLE CRUZ, REINALDO            ADDRESS ON FILE
DEL VALLE CRUZ, REYNALDO            ADDRESS ON FILE
DEL VALLE CRUZ, SONIA M.            ADDRESS ON FILE
DEL VALLE CRUZ, WANDA I             ADDRESS ON FILE
Del Valle Cuadrado, Luis A          ADDRESS ON FILE




                                                                                Page 2198 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2199 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE CUBERO, MIRIAM             ADDRESS ON FILE
DEL VALLE CUEBAS, DELIA M.           ADDRESS ON FILE
DEL VALLE DARIO, DEBORAH             ADDRESS ON FILE
DEL VALLE DAVILA, JORGE              ADDRESS ON FILE
Del Valle De Jesus, Adalberto        ADDRESS ON FILE
DEL VALLE DE JESUS, CARMEN A         ADDRESS ON FILE
DEL VALLE DE JESUS, JOSE M.          ADDRESS ON FILE
DEL VALLE DE JESUS, JUANITA          ADDRESS ON FILE
DEL VALLE DE JESUS, MARIA DE LOS A   ADDRESS ON FILE
DEL VALLE DE JESUS, MIGUEL           ADDRESS ON FILE
DEL VALLE DE LEON, ALEXIS            ADDRESS ON FILE
DEL VALLE DE LEON, ALVIN             ADDRESS ON FILE
DEL VALLE DE LEON, EVELYN            ADDRESS ON FILE
DEL VALLE DE LEON, JOSE L.           ADDRESS ON FILE
DEL VALLE DE LEON, LIZZIE M          ADDRESS ON FILE
DEL VALLE DE LEON, LUIS G            ADDRESS ON FILE
DEL VALLE DE LEON, MARELY            ADDRESS ON FILE
DEL VALLE DE LEÓN, MARELY            ADDRESS ON FILE
DEL VALLE DE LEON, MELVIN            ADDRESS ON FILE
DEL VALLE DE TOMAS, ELIZABETH        ADDRESS ON FILE
DEL VALLE DEL VALLE, MIGUEL A        ADDRESS ON FILE
DEL VALLE DEL VALLE                  HC‐02 BOX 14626                                                                  CAROLINA     PR      00987
DEL VALLE DEL VALLE                  P.M.B 200390 CARR.853                                                            CAROLINA     PR      00987
DEL VALLE DEL VALLE, CARLOS          ADDRESS ON FILE
DEL VALLE DEL VALLE, CARMEN          ADDRESS ON FILE
DEL VALLE DEL VALLE, CARMEN E        ADDRESS ON FILE
DEL VALLE DEL VALLE, DAMARILYS       ADDRESS ON FILE
DEL VALLE DEL VALLE, FRANCISCO       ADDRESS ON FILE
DEL VALLE DEL VALLE, JOHANNY         ADDRESS ON FILE
DEL VALLE DEL VALLE, JOSE            ADDRESS ON FILE
DEL VALLE DEL VALLE, JOSE A.         ADDRESS ON FILE
DEL VALLE DEL VALLE, LIMARY          ADDRESS ON FILE
DEL VALLE DEL VALLE, NATTY           ADDRESS ON FILE
Del Valle Del Valle, Rene            ADDRESS ON FILE
DEL VALLE DEL VALLE, ROBERTO         ADDRESS ON FILE
DEL VALLE DEL VALLE, SAMUEL          ADDRESS ON FILE
DEL VALLE DEL VALLE, SAMUEL          ADDRESS ON FILE
DEL VALLE DEL VALLE, YAMARY          ADDRESS ON FILE
DEL VALLE DEL VALLE, YOMARY          ADDRESS ON FILE
DEL VALLE DELGADO, ILEANA            ADDRESS ON FILE
Del Valle Delgado, Luz M             ADDRESS ON FILE
DEL VALLE DELGADO, YARINETTE         ADDRESS ON FILE
DEL VALLE DELIZ, LUIS                ADDRESS ON FILE
DEL VALLE DIAZ, ANEUDY L             ADDRESS ON FILE
DEL VALLE DIAZ, ANTONIO              ADDRESS ON FILE
DEL VALLE DIAZ, BRENDALIZ            ADDRESS ON FILE
DEL VALLE DIAZ, EDUARDO              ADDRESS ON FILE
Del Valle Diaz, Hector A             ADDRESS ON FILE
DEL VALLE DIAZ, IRIS                 ADDRESS ON FILE
DEL VALLE DIAZ, JORGE                ADDRESS ON FILE
DEL VALLE DIAZ, LUIS                 ADDRESS ON FILE
DEL VALLE DIAZ, LUIS                 ADDRESS ON FILE
DEL VALLE DIAZ, LUPITA               ADDRESS ON FILE
DEL VALLE DIAZ, MELVIN               ADDRESS ON FILE
DEL VALLE DIAZ, MIGDALIA             ADDRESS ON FILE
DEL VALLE DIAZ, MIRAIDA              ADDRESS ON FILE
DEL VALLE DIAZ, ORLANDO              ADDRESS ON FILE
DEL VALLE DIAZ, RAFAEL               ADDRESS ON FILE
DEL VALLE DIAZ, RICARDO              ADDRESS ON FILE
Del Valle Diaz, Virgen Y             ADDRESS ON FILE




                                                                                 Page 2199 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2200 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                        Address1                       Address2                                 Address3   Address4   City         State   PostalCode   Country
DEL VALLE DIAZ, VIRGEN Y.            ADDRESS ON FILE
DEL VALLE DIAZ, YANCEL               ADDRESS ON FILE
DEL VALLE DIEZ, BRENDA               ADDRESS ON FILE
DEL VALLE DIEZ, LUIS G.              ADDRESS ON FILE
DEL VALLE DONES, NANCY               ADDRESS ON FILE
DEL VALLE DUPREY, NANCY              ADDRESS ON FILE
DEL VALLE EGEA, TERESA               ADDRESS ON FILE
DEL VALLE EMMANUELLI, LUIS F.        ADDRESS ON FILE
DEL VALLE ESCUDERO, CARMEN I         ADDRESS ON FILE
Del Valle Escudero, William          ADDRESS ON FILE
DEL VALLE ESTERAS, CESAR A.          ADDRESS ON FILE
DEL VALLE FEBRES, LUZ                ADDRESS ON FILE
DEL VALLE FEBUS, KEYSHA              ADDRESS ON FILE
DEL VALLE FELICIANO, KAREN           ADDRESS ON FILE
DEL VALLE FELICIANO, MOISES          ADDRESS ON FILE
DEL VALLE FELIX, JACQUELINE          ADDRESS ON FILE
DEL VALLE FERNANDEZ, ANGEL M         ADDRESS ON FILE
DEL VALLE FERNANDEZ, EVELYN          ADDRESS ON FILE
DEL VALLE FERNANDEZ, FELICITA        ADDRESS ON FILE
DEL VALLE FERNANDEZ, JUAN            ADDRESS ON FILE
DEL VALLE FERNANDEZ, MARIA E         ADDRESS ON FILE
DEL VALLE FERNANDEZ, RAY             ADDRESS ON FILE
DEL VALLE FIGUEROA, ANGEL M          ADDRESS ON FILE
Del Valle Figueroa, Angel M.         ADDRESS ON FILE
DEL VALLE FIGUEROA, ANIRAM           ADDRESS ON FILE
DEL VALLE FIGUEROA, ANIRAM           ADDRESS ON FILE
DEL VALLE FIGUEROA, JONATHAN         ADDRESS ON FILE
DEL VALLE FIGUEROA, KARLA            ADDRESS ON FILE
DEL VALLE FIGUEROA, KORALYS DEL M    ADDRESS ON FILE
DEL VALLE FIGUEROA, LUZ C            ADDRESS ON FILE
DEL VALLE FIGUEROA, MARIA DE LOS A   ADDRESS ON FILE
Del Valle Figueroa, Miguel A         ADDRESS ON FILE
DEL VALLE FONTANEZ, MYRTA            ADDRESS ON FILE
Del Valle Franco, Jose M             ADDRESS ON FILE
DEL VALLE FRANCO, ROSA M             ADDRESS ON FILE
Del Valle Freytes, Maria Y           ADDRESS ON FILE
DEL VALLE FUENTES, YOHANNA           ADDRESS ON FILE
DEL VALLE GALARZA, EFRAIN            ADDRESS ON FILE
DEL VALLE GALARZA, JUAN              ADDRESS ON FILE
Del Valle Galarza, Juan O.           ADDRESS ON FILE
DEL VALLE GALARZA, LUIS R            ADDRESS ON FILE
DEL VALLE GARAY, SUSANA              ADDRESS ON FILE
DEL VALLE GARCIA, CARMEN E.          ADDRESS ON FILE
DEL VALLE GARCIA, DANIEL             ADDRESS ON FILE
DEL VALLE GARCIA, DAVID              ADDRESS ON FILE
DEL VALLE GARCIA, RALPH              ADDRESS ON FILE
DEL VALLE GARCIA, RALPH              ADDRESS ON FILE
DEL VALLE GARCIA, VIVIAN L.          ADDRESS ON FILE
DEL VALLE GARCIA, WILFREDO           ADDRESS ON FILE
DEL VALLE GARRIGA, ELVIN             ADDRESS ON FILE
DEL VALLE GARRIGA, LUIS              ADDRESS ON FILE
DEL VALLE GARRIGA, LUIS              ADDRESS ON FILE
DEL VALLE GIRONA OMAR Y OTROS        LCDO. JOSÉ R. OLMO RODRÍGUEZ   EL CENTRO I OFICINA 215                                        SAN JUAN     PR      00918
DEL VALLE GOMEZ, JUAN                ADDRESS ON FILE
DEL VALLE GOMEZ, MARIA L             ADDRESS ON FILE
DEL VALLE GONZALEZ, ALEXANDER        ADDRESS ON FILE
DEL VALLE GONZALEZ, ALFREDO          ADDRESS ON FILE
DEL VALLE GONZALEZ, ANTONIO          ADDRESS ON FILE
DEL VALLE GONZALEZ, CARMEN           ADDRESS ON FILE
DEL VALLE GONZALEZ, CARMEN M         ADDRESS ON FILE




                                                                                              Page 2200 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2201 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE GONZALEZ, CARMEN S.    ADDRESS ON FILE
DEL VALLE GONZALEZ, CAROLYN      ADDRESS ON FILE
DEL VALLE GONZALEZ, CAROLYN      ADDRESS ON FILE
DEL VALLE GONZALEZ, CELESTE      ADDRESS ON FILE
DEL VALLE GONZALEZ, ELIZABETH    ADDRESS ON FILE
DEL VALLE GONZALEZ, ELIZABETH    ADDRESS ON FILE
DEL VALLE GONZALEZ, EMMA C       ADDRESS ON FILE
DEL VALLE GONZALEZ, JORGE L.     ADDRESS ON FILE
DEL VALLE GONZALEZ, JOSE         ADDRESS ON FILE
DEL VALLE GONZALEZ, JOSE         ADDRESS ON FILE
Del Valle Gonzalez, Jose M       ADDRESS ON FILE
DEL VALLE GONZALEZ, LOURDES      ADDRESS ON FILE
Del Valle Gonzalez, Luis         ADDRESS ON FILE
DEL VALLE GONZALEZ, MARTA L      ADDRESS ON FILE
DEL VALLE GONZALEZ, NANCY        ADDRESS ON FILE
DEL VALLE GONZALEZ, RAMON        ADDRESS ON FILE
Del Valle Gonzalez, Vicente      ADDRESS ON FILE
DEL VALLE GONZALEZ, WANDA I      ADDRESS ON FILE
DEL VALLE GREGORY, JUAN R        ADDRESS ON FILE
DEL VALLE GREGORY, KARIM         ADDRESS ON FILE
DEL VALLE GREGORY, RUBEN O       ADDRESS ON FILE
DEL VALLE GUTIERREZ, KATHERINE   ADDRESS ON FILE
DEL VALLE GUTIERREZ, YARIXA      ADDRESS ON FILE
DEL VALLE GUZMAN, MAGALY         ADDRESS ON FILE
DEL VALLE GUZMAN, MARITZA        ADDRESS ON FILE
DEL VALLE GUZMAN, MILDRED A      ADDRESS ON FILE
DEL VALLE GUZMAN, OSVALDO        ADDRESS ON FILE
DEL VALLE HERNANDEZ, ARCADIO     ADDRESS ON FILE
DEL VALLE HERNANDEZ, CARMEN      ADDRESS ON FILE
DEL VALLE HERNANDEZ, CECILIA     ADDRESS ON FILE
DEL VALLE HERNANDEZ, CECILIA     ADDRESS ON FILE
DEL VALLE HERNANDEZ, DANIEL      ADDRESS ON FILE
DEL VALLE HERNANDEZ, ESTELA I    ADDRESS ON FILE
DEL VALLE HERNANDEZ, GENOVEVA    ADDRESS ON FILE
DEL VALLE HERNANDEZ, GLADYS      ADDRESS ON FILE
DEL VALLE HERNANDEZ, HAEDY       ADDRESS ON FILE
DEL VALLE HERNANDEZ, IRIS M      ADDRESS ON FILE
DEL VALLE HERNANDEZ, SAMUEL      ADDRESS ON FILE
DEL VALLE HIRALDO, GABRIEL       ADDRESS ON FILE
DEL VALLE HIRALDO, GABRIEL       ADDRESS ON FILE
DEL VALLE HIRALDO, VILMA         ADDRESS ON FILE
DEL VALLE HIRALDO, YASHIRA M     ADDRESS ON FILE
DEL VALLE HNAZ, MARIA DEL        ADDRESS ON FILE
Del Valle Horta, Jose Antonio    ADDRESS ON FILE
Del Valle Iglesias, Debra A.     ADDRESS ON FILE
DEL VALLE IRIZARRY, ALBERTO      ADDRESS ON FILE
DEL VALLE IRIZARRY, JOSE G       ADDRESS ON FILE
DEL VALLE JIMENEZ, JUAN A.       ADDRESS ON FILE
DEL VALLE JIMENEZ, JUDITH        ADDRESS ON FILE
DEL VALLE JIMENEZ, PRIMITIVO     ADDRESS ON FILE
DEL VALLE JIMENEZ, VILMA         ADDRESS ON FILE
Del Valle La L, Francisco A      ADDRESS ON FILE
DEL VALLE LA LUZ, ELGA M         ADDRESS ON FILE
DEL VALLE LABOY, CARLOS          ADDRESS ON FILE
DEL VALLE LABOY, JESSICA         ADDRESS ON FILE
DEL VALLE LEON, HILARIA          ADDRESS ON FILE
DEL VALLE LESPIER, JOSE          ADDRESS ON FILE
DEL VALLE LOPEZ, ALVARO          ADDRESS ON FILE
DEL VALLE LOPEZ, AMANDA          ADDRESS ON FILE
DEL VALLE LOPEZ, BRENDA          ADDRESS ON FILE




                                                                             Page 2201 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2202 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE LOPEZ, FLOR             ADDRESS ON FILE
DEL VALLE LÓPEZ, JEYSIE Y OTROS   OLGA RUBIO RODRÍGUEZ      PO BOX 1395                                            ARECIBO      PR      00613‐1395
Del Valle Lopez, Jonalie          ADDRESS ON FILE
DEL VALLE LOPEZ, JOSE             ADDRESS ON FILE
DEL VALLE LOPEZ, JOSE             ADDRESS ON FILE
DEL VALLE LOPEZ, MIRLA I.         ADDRESS ON FILE
DEL VALLE LOPEZ, MIRLA I.         ADDRESS ON FILE
DEL VALLE LOPEZ, NAYDEE A         ADDRESS ON FILE
DEL VALLE LOPEZ, PEDRO            ADDRESS ON FILE
DEL VALLE LOPEZ, SULEIKA          ADDRESS ON FILE
DEL VALLE LOPEZ, ZORAIMA          ADDRESS ON FILE
DEL VALLE LOPEZ, ZORAIMA          ADDRESS ON FILE
DEL VALLE LOZADA, MAYRA           ADDRESS ON FILE
DEL VALLE LUGO, LYZETTE DE L      ADDRESS ON FILE
DEL VALLE MACHIN, HAMIL Y         ADDRESS ON FILE
DEL VALLE MACHIN, LEE SANDRA      ADDRESS ON FILE
DEL VALLE MACHIN, NAHIR M         ADDRESS ON FILE
DEL VALLE MALAVE, CINDY           ADDRESS ON FILE
DEL VALLE MALAVE, KATIA           ADDRESS ON FILE
DEL VALLE MALDONADO, ANGEL        ADDRESS ON FILE
DEL VALLE MALDONADO, BETZAIDA     ADDRESS ON FILE
Del Valle Maldonado, Efrain       ADDRESS ON FILE
DEL VALLE MALDONADO, JAILEEN      ADDRESS ON FILE
DEL VALLE MALDONADO, JAVIER       ADDRESS ON FILE
DEL VALLE MALDONADO, JOHANNA      ADDRESS ON FILE
DEL VALLE MALDONADO, VILMA        ADDRESS ON FILE
DEL VALLE MARENGO, VERONICA       ADDRESS ON FILE
DEL VALLE MARRERO, KEISHLA        ADDRESS ON FILE
DEL VALLE MARRERO, MANUEL         ADDRESS ON FILE
DEL VALLE MARRERO, MANUEL         ADDRESS ON FILE
DEL VALLE MARTINEZ, DAVID         ADDRESS ON FILE
Del Valle Martinez, Fabian        ADDRESS ON FILE
DEL VALLE MARTINEZ, GLARIELISE    ADDRESS ON FILE
DEL VALLE MARTINEZ, JULIO CESAR   ADDRESS ON FILE
DEL VALLE MARTINEZ, LUZ           ADDRESS ON FILE
DEL VALLE MARTINEZ, MARYLY        ADDRESS ON FILE
DEL VALLE MARTINEZ, NYDIA         ADDRESS ON FILE
DEL VALLE MARTINEZ, RAQUEL        ADDRESS ON FILE
DEL VALLE MARTINEZ, SUSANA        ADDRESS ON FILE
DEL VALLE MATIAS, NELSON          ADDRESS ON FILE
DEL VALLE MATIAS, NELSON          ADDRESS ON FILE
DEL VALLE MATIAS, NELSON          ADDRESS ON FILE
DEL VALLE MATIAS, NELSON          ADDRESS ON FILE
DEL VALLE MATOS, ANA E            ADDRESS ON FILE
DEL VALLE MATOS, LUZ S            ADDRESS ON FILE
DEL VALLE MAYOL, ROSA M           ADDRESS ON FILE
DEL VALLE MEDINA, ANA H           ADDRESS ON FILE
DEL VALLE MEDINA, DAVID           ADDRESS ON FILE
DEL VALLE MEDINA, FERNANDO        ADDRESS ON FILE
DEL VALLE MEDINA, FERNANDO        ADDRESS ON FILE
DEL VALLE MEDINA, RUBEN           ADDRESS ON FILE
DEL VALLE MELENDEZ, ALBERTO       ADDRESS ON FILE
DEL VALLE MELENDEZ, CARLOS        ADDRESS ON FILE
DEL VALLE MELENDEZ, DAMARIS       ADDRESS ON FILE
DEL VALLE MELENDEZ, FELISA        ADDRESS ON FILE
DEL VALLE MELENDEZ, IDALIA        ADDRESS ON FILE
DEL VALLE MELENDEZ, JUAN          ADDRESS ON FILE
DEL VALLE MELENDEZ, JUAN A        ADDRESS ON FILE
DEL VALLE MELENDEZ, JUAN E        ADDRESS ON FILE
DEL VALLE MELENDEZ, LIZMARY       ADDRESS ON FILE




                                                                              Page 2202 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2203 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE MELENDEZ, PEDRO         ADDRESS ON FILE
DEL VALLE MELENDEZ, RAFAEL        ADDRESS ON FILE
DEL VALLE MELENDEZ, RAFAEL A      ADDRESS ON FILE
DEL VALLE MELENDEZ, ZULEYKA       ADDRESS ON FILE
DEL VALLE MENDEZ, LUZ Z.          ADDRESS ON FILE
DEL VALLE MENDEZ, VILMARIE        ADDRESS ON FILE
DEL VALLE MERCED, DORIS           ADDRESS ON FILE
DEL VALLE MERCED, NORMAN          ADDRESS ON FILE
DEL VALLE MILA, MARIA O           ADDRESS ON FILE
Del Valle Millan, Ramon L         ADDRESS ON FILE
DEL VALLE MIRANDA, ENRIQUE        ADDRESS ON FILE
DEL VALLE MIRANDA, KEYSHLA Z      ADDRESS ON FILE
DEL VALLE MIRANDA, NELLY          ADDRESS ON FILE
DEL VALLE MOJICA, MARIBEL         ADDRESS ON FILE
DEL VALLE MOJICA, MARIBEL         ADDRESS ON FILE
DEL VALLE MONGE, ALEXIS           ADDRESS ON FILE
DEL VALLE MONGE, ALEXIS JAVIER    ADDRESS ON FILE
Del Valle Montanez, Raul          ADDRESS ON FILE
DEL VALLE MONTAQEZ, HEDDY M       ADDRESS ON FILE
DEL VALLE MONTES, CARMELO         ADDRESS ON FILE
DEL VALLE MORALES, ALBERTO        ADDRESS ON FILE
DEL VALLE MORALES, ALBERTO        ADDRESS ON FILE
DEL VALLE MORALES, ALGA M         ADDRESS ON FILE
DEL VALLE MORALES, ANA I          ADDRESS ON FILE
DEL VALLE MORALES, DAISY          ADDRESS ON FILE
DEL VALLE MORALES, GRISSELLE      ADDRESS ON FILE
DEL VALLE MORALES, HECTOR         ADDRESS ON FILE
Del Valle Morales, Hector N.      ADDRESS ON FILE
DEL VALLE MORALES, LOUMAR         ADDRESS ON FILE
DEL VALLE MULLER, JOSE            ADDRESS ON FILE
DEL VALLE MULLER, JOSE A.         ADDRESS ON FILE
DEL VALLE MUNIZ, BERNICE          ADDRESS ON FILE
DEL VALLE MUNIZ, ERONILDA         ADDRESS ON FILE
DEL VALLE MUNIZ, VIRGINIO         ADDRESS ON FILE
DEL VALLE MUNOZ, CRISTINA         ADDRESS ON FILE
DEL VALLE MUNOZ, NESTOR           ADDRESS ON FILE
DEL VALLE MUNOZ, YADIRA           ADDRESS ON FILE
Del Valle Navarreto, Hector L     ADDRESS ON FILE
DEL VALLE NAVARRO, BETSY          ADDRESS ON FILE
DEL VALLE NAVARRO, BETSY          ADDRESS ON FILE
Del Valle Navarro, Carmen Delia   ADDRESS ON FILE
DEL VALLE NAVARRO, DAISY          ADDRESS ON FILE
DEL VALLE NAVARRO, ROBERTO        ADDRESS ON FILE
DEL VALLE NEGRON MD, BEATRIZ      ADDRESS ON FILE
DEL VALLE NEVAREZ, SHEILA         ADDRESS ON FILE
DEL VALLE NIEVES, BETTY           ADDRESS ON FILE
DEL VALLE NIEVES, BONIFACIO       ADDRESS ON FILE
DEL VALLE NIEVES, LIZETTE         ADDRESS ON FILE
DEL VALLE NIEVES, MARIBEL         ADDRESS ON FILE
DEL VALLE NIEVES, MIOSOTIS        ADDRESS ON FILE
Del Valle Nieves, Nilda L         ADDRESS ON FILE
DEL VALLE NIEVES, NIVEA           ADDRESS ON FILE
DEL VALLE NIEVES, ZULMA           ADDRESS ON FILE
DEL VALLE NUNEZ, CARMEN           ADDRESS ON FILE
DEL VALLE NUNEZ, JOSE             ADDRESS ON FILE
DEL VALLE NUNEZ, JOSE L           ADDRESS ON FILE
DEL VALLE NUNEZ, LUIS O.          ADDRESS ON FILE
DEL VALLE NUNEZ, MARGARITA        ADDRESS ON FILE
DEL VALLE NUNEZ, REINALDO         ADDRESS ON FILE
DEL VALLE NUQEZ, ROSA N           ADDRESS ON FILE




                                                                              Page 2203 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2204 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE OCASIO, CHRISTIAN       ADDRESS ON FILE
Del Valle Ocasio, Glorivee        ADDRESS ON FILE
DEL VALLE OLMO, LIZ               ADDRESS ON FILE
DEL VALLE OQUENDO, FELICITA       ADDRESS ON FILE
DEL VALLE OROZCO, CARMELO         ADDRESS ON FILE
Del Valle Ortega, Juan A          ADDRESS ON FILE
Del Valle Ortiz, Abimael          ADDRESS ON FILE
DEL VALLE ORTIZ, BLANCA           ADDRESS ON FILE
DEL VALLE ORTIZ, ELENA            ADDRESS ON FILE
DEL VALLE ORTIZ, FRANCISCO        ADDRESS ON FILE
DEL VALLE ORTIZ, GINA             ADDRESS ON FILE
DEL VALLE ORTIZ, JALYN            ADDRESS ON FILE
DEL VALLE ORTIZ, JOSE             ADDRESS ON FILE
DEL VALLE ORTIZ, JOSE H           ADDRESS ON FILE
DEL VALLE ORTIZ, JUAN             ADDRESS ON FILE
DEL VALLE ORTIZ, JULIO            ADDRESS ON FILE
DEL VALLE ORTIZ, LILLY D          ADDRESS ON FILE
DEL VALLE ORTIZ, LISETTE          ADDRESS ON FILE
DEL VALLE ORTIZ, LUIS             ADDRESS ON FILE
DEL VALLE ORTIZ, LUIS             ADDRESS ON FILE
DEL VALLE ORTIZ, LUIS             ADDRESS ON FILE
DEL VALLE ORTIZ, LYDIA E          ADDRESS ON FILE
DEL VALLE ORTIZ, MARIA            ADDRESS ON FILE
DEL VALLE ORTIZ, MAYRA            ADDRESS ON FILE
DEL VALLE ORTIZ, MAYRA            ADDRESS ON FILE
DEL VALLE ORTIZ, SAMUEL           ADDRESS ON FILE
DEL VALLE ORTIZ, WILLIAM          ADDRESS ON FILE
DEL VALLE OTERO, SONIA            ADDRESS ON FILE
DEL VALLE OTERO, SONIA            ADDRESS ON FILE
DEL VALLE OTERO, WILFREDO         ADDRESS ON FILE
DEL VALLE PABON, LILLIAM M.       ADDRESS ON FILE
DEL VALLE PACHECO, LUIS R         ADDRESS ON FILE
DEL VALLE PADILLA, ANIEL          ADDRESS ON FILE
DEL VALLE PADILLA, ANIEL          ADDRESS ON FILE
DEL VALLE PADILLA, DYANA          ADDRESS ON FILE
DEL VALLE PAGAN, ARACELIS         ADDRESS ON FILE
Del Valle Pagan, Gerson           ADDRESS ON FILE
Del Valle Pagan, Jenny I          ADDRESS ON FILE
Del Valle Pagan, Noraida          ADDRESS ON FILE
DEL VALLE PEDRAZA, JULIA          ADDRESS ON FILE
DEL VALLE PEREIRA, HIRAM          ADDRESS ON FILE
Del Valle Perez, Angelica E       ADDRESS ON FILE
DEL VALLE PEREZ, DAMARIS          ADDRESS ON FILE
DEL VALLE PEREZ, HECTOR           ADDRESS ON FILE
DEL VALLE PEREZ, HECTOR L         ADDRESS ON FILE
DEL VALLE PEREZ, IRIAM            ADDRESS ON FILE
DEL VALLE PEREZ, ISMAEL           ADDRESS ON FILE
DEL VALLE PEREZ, JOHANA G.        ADDRESS ON FILE
DEL VALLE PEREZ, JOSE M.          ADDRESS ON FILE
DEL VALLE PEREZ, MARIA I          ADDRESS ON FILE
DEL VALLE PEREZ, MIGUEL A.        ADDRESS ON FILE
DEL VALLE PEREZ, NOELLY           ADDRESS ON FILE
DEL VALLE PEREZ, RAFAEL           ADDRESS ON FILE
Del Valle Perez, Regino           ADDRESS ON FILE
DEL VALLE PEREZ, ROBINSON M       ADDRESS ON FILE
DEL VALLE PEREZ, SULIMAR          ADDRESS ON FILE
DEL VALLE PHD, LISANDRA BRENELL   ADDRESS ON FILE
DEL VALLE PINEIRO, ISABETH M      ADDRESS ON FILE
DEL VALLE PITRE, MYRNA A.         ADDRESS ON FILE
DEL VALLE PIZARRO, DAISY Y.       ADDRESS ON FILE




                                                                              Page 2204 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2205 of 3500
                                                                                17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                    Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
DEL VALLE PIZARRO, JONATHAN      ADDRESS ON FILE
DEL VALLE PONCE, DOMINGO         ADDRESS ON FILE
DEL VALLE PRIETO, GLADYS         ADDRESS ON FILE
DEL VALLE QUESADA, CARLOS        ADDRESS ON FILE
DEL VALLE QUILES, ANGIERELYS     ADDRESS ON FILE
DEL VALLE QUILES, SAMUEL A       ADDRESS ON FILE
DEL VALLE QUILES, WILFREDO       ADDRESS ON FILE
DEL VALLE QUINONES, JANETTE S    ADDRESS ON FILE
DEL VALLE QUINONES, ROBERTO      ADDRESS ON FILE
DEL VALLE QUINTANA, JOAN         ADDRESS ON FILE
DEL VALLE QUINTANA, MARILYN      ADDRESS ON FILE
DEL VALLE QUINTANA, ROSA E       ADDRESS ON FILE
DEL VALLE RAMIREZ, EDWIN         ADDRESS ON FILE
DEL VALLE RAMIREZ, ENRIQUE       ADDRESS ON FILE
DEL VALLE RAMOS, ALBANI          ADDRESS ON FILE
DEL VALLE RAMOS, GLENDA          ADDRESS ON FILE
DEL VALLE RESTO, OLGA            ADDRESS ON FILE
DEL VALLE REYES, CARLOS          ADDRESS ON FILE
Del Valle Reyes, David           ADDRESS ON FILE
DEL VALLE REYES, IRAIDA          ADDRESS ON FILE
DEL VALLE REYES, JONATHAN        ADDRESS ON FILE
DEL VALLE REYES, JOSE R.         ADDRESS ON FILE
DEL VALLE REYES, JOSE RAMO       ADDRESS ON FILE
DEL VALLE REYES, MARANGELI       ADDRESS ON FILE
DEL VALLE REYES, MARANGELI       ADDRESS ON FILE
DEL VALLE REYES, MIRIAM          ADDRESS ON FILE
DEL VALLE REYES, NICOLE          ADDRESS ON FILE
DEL VALLE REYES, PAULA           ADDRESS ON FILE
DEL VALLE RIOS, JESUS            ADDRESS ON FILE
DEL VALLE RIOS, WILFREDO J.      ADDRESS ON FILE
DEL VALLE RIVERA MD, WILBERT     ADDRESS ON FILE
DEL VALLE RIVERA, AIDA           ADDRESS ON FILE
DEL VALLE RIVERA, ALEXIS J.      ADDRESS ON FILE
DEL VALLE RIVERA, ALEXIS J.      ADDRESS ON FILE
Del Valle Rivera, Angel M        ADDRESS ON FILE
DEL VALLE RIVERA, ANGEL M.       LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
DEL VALLE RIVERA, ANGEL M.       LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
DEL VALLE RIVERA, ANGELO         ADDRESS ON FILE
DEL VALLE RIVERA, ARACELIS       ADDRESS ON FILE
DEL VALLE RIVERA, BLANCA L       ADDRESS ON FILE
DEL VALLE RIVERA, CARLOS         ADDRESS ON FILE
DEL VALLE RIVERA, CARLOS         ADDRESS ON FILE
DEL VALLE RIVERA, CARMEN R.      ADDRESS ON FILE
Del Valle Rivera, David          ADDRESS ON FILE
DEL VALLE RIVERA, DAVID          LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
DEL VALLE RIVERA, DAVID          LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
DEL VALLE RIVERA, ELVIA M        ADDRESS ON FILE
DEL VALLE RIVERA, EVELYN         ADDRESS ON FILE
DEL VALLE RIVERA, EVELYN         ADDRESS ON FILE
DEL VALLE RIVERA, FERNANDO       ADDRESS ON FILE
DEL VALLE RIVERA, HECTOR L       ADDRESS ON FILE
DEL VALLE RIVERA, ILIANA MARIE   ADDRESS ON FILE
DEL VALLE RIVERA, ISABEL         ADDRESS ON FILE
DEL VALLE RIVERA, JORGE L. III   ADDRESS ON FILE
DEL VALLE RIVERA, JUDITH         ADDRESS ON FILE
Del Valle Rivera, Linda I.       ADDRESS ON FILE
DEL VALLE RIVERA, MARCO          ADDRESS ON FILE
DEL VALLE RIVERA, MARGARITA      ADDRESS ON FILE
DEL VALLE RIVERA, MARIA          ADDRESS ON FILE
DEL VALLE RIVERA, MARIA J        ADDRESS ON FILE




                                                                                      Page 2205 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2206 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE RIVERA, OLGA                ADDRESS ON FILE
DEL VALLE RIVERA, OLGA T              ADDRESS ON FILE
DEL VALLE RIVERA, ROSA E              ADDRESS ON FILE
DEL VALLE RIVERA, VICTOR              ADDRESS ON FILE
DEL VALLE RIVERA, VILMARIS            ADDRESS ON FILE
DEL VALLE RIVERA, VIRGINIA            ADDRESS ON FILE
DEL VALLE RIVERA, WALESKA             ADDRESS ON FILE
DEL VALLE RIVERA, WALESKA L.          ADDRESS ON FILE
DEL VALLE RIVERA, WILBERT             ADDRESS ON FILE
Del Valle Rodrigue, Orlando           ADDRESS ON FILE
DEL VALLE RODRIGUEZ LAW OFFICES PSC   PO BOX 10590                                                                     SAN JUAN     PR      00922
DEL VALLE RODRIGUEZ, ANA              ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ANA G            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ANGEL            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ARACELYS         ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ARAMIS           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, CARLOS           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, CARLOS           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, CARMEN           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, CARMEN G         ADDRESS ON FILE
DEL VALLE RODRIGUEZ, CHRISTIAN J.     ADDRESS ON FILE
DEL VALLE RODRIGUEZ, DAMARIS          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, EDGARDO          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, EDNA             ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ELIZABETH        ADDRESS ON FILE
DEL VALLE RODRIGUEZ, EUGENIO          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, EVELYN           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, FELICITA         ADDRESS ON FILE
DEL VALLE RODRIGUEZ, FELIX            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, GLORYVETTE       ADDRESS ON FILE
DEL VALLE RODRIGUEZ, HEIDIBETH        ADDRESS ON FILE
Del Valle Rodriguez, Israel           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, JORGE            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, JORGE            ADDRESS ON FILE
Del Valle Rodriguez, Jorge I.         ADDRESS ON FILE
DEL VALLE RODRIGUEZ, JOSE             ADDRESS ON FILE
DEL VALLE RODRIGUEZ, JOSE R           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, JUDITH           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, KATHERINE        ADDRESS ON FILE
DEL VALLE RODRIGUEZ, KRYSTAL          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, LUIS             ADDRESS ON FILE
DEL VALLE RODRIGUEZ, LUIS F.          ADDRESS ON FILE
Del Valle Rodriguez, Luis R           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, LUZ N            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, MARGARITA        ADDRESS ON FILE
DEL VALLE RODRIGUEZ, MARTA            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, MATILDE          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, MIKAEL           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, MOISES           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, MYRTA            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, NEMESIS          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, NILSA            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, NORMA            ADDRESS ON FILE
DEL VALLE RODRIGUEZ, NYDIA L          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, PEDRO J          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, RAFA             ADDRESS ON FILE
DEL VALLE RODRIGUEZ, RAQUEL           ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ROBERTO          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ROSABEL          ADDRESS ON FILE
DEL VALLE RODRIGUEZ, ROSARIO          ADDRESS ON FILE




                                                                                  Page 2206 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2207 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE RODRIGUEZ, ROSARIO    ADDRESS ON FILE
DEL VALLE RODRIGUEZ, WANDA      ADDRESS ON FILE
DEL VALLE RODRIGUEZ, YAZMIN     ADDRESS ON FILE
DEL VALLE ROLDAN, ARLEEN        ADDRESS ON FILE
DEL VALLE ROLDAN, SHEILA        ADDRESS ON FILE
DEL VALLE ROLON, GISELLE        ADDRESS ON FILE
DEL VALLE ROMAN, ADAMS          ADDRESS ON FILE
DEL VALLE ROMAN, ELIZABETH      ADDRESS ON FILE
Del Valle Roman, Harison        ADDRESS ON FILE
DEL VALLE ROMAN, HARRISON       ADDRESS ON FILE
Del Valle Roman, Ramon          ADDRESS ON FILE
DEL VALLE ROMAN, RICARDO        ADDRESS ON FILE
Del Valle Roman, Wilfredo       ADDRESS ON FILE
DEL VALLE RONDON, ISMAEL        ADDRESS ON FILE
DEL VALLE ROSA, ELBA            ADDRESS ON FILE
DEL VALLE ROSA, JUAN A          ADDRESS ON FILE
DEL VALLE ROSA, MIGUEL A.       ADDRESS ON FILE
DEL VALLE ROSADO, BRENDA        ADDRESS ON FILE
DEL VALLE ROSADO, BRENDA        ADDRESS ON FILE
DEL VALLE ROSADO, MADELINE      ADDRESS ON FILE
DEL VALLE ROSARIO, ANIBAL       ADDRESS ON FILE
DEL VALLE ROSARIO, EFRAIN       ADDRESS ON FILE
DEL VALLE ROSARIO, ELIEZER      ADDRESS ON FILE
DEL VALLE ROSARIO, ELIEZER      ADDRESS ON FILE
DEL VALLE ROSARIO, ELIZABETH    ADDRESS ON FILE
DEL VALLE ROSARIO, LUIS         ADDRESS ON FILE
DEL VALLE ROSARIO, MILTON G     ADDRESS ON FILE
DEL VALLE ROSARIO, SAMUEL       ADDRESS ON FILE
DEL VALLE RUBERT, MARIA E       ADDRESS ON FILE
DEL VALLE RUIZ, EDWIN           ADDRESS ON FILE
DEL VALLE RUIZ, JONIEL          ADDRESS ON FILE
DEL VALLE RUIZ, RAFAEL          ADDRESS ON FILE
DEL VALLE SABASTRO, ANGEL L.    ADDRESS ON FILE
DEL VALLE SALICRUP, PEDRO       ADDRESS ON FILE
DEL VALLE SANCHEZ, GLADYS       ADDRESS ON FILE
DEL VALLE SANCHEZ, JANICE       ADDRESS ON FILE
DEL VALLE SANCHEZ, JESSENIA     ADDRESS ON FILE
DEL VALLE SANCHEZ, JULIE        ADDRESS ON FILE
DEL VALLE SANCHEZ, MARITZA      ADDRESS ON FILE
DEL VALLE SANCHEZ, NELSON       ADDRESS ON FILE
DEL VALLE SANTANA, GLADYS       ADDRESS ON FILE
DEL VALLE SANTANA, JANICE M.    ADDRESS ON FILE
DEL VALLE SANTIAGO, ALEXIS      ADDRESS ON FILE
DEL VALLE SANTIAGO, BENIGNO     ADDRESS ON FILE
DEL VALLE SANTIAGO, CARMEN      ADDRESS ON FILE
DEL VALLE SANTIAGO, JOSE        ADDRESS ON FILE
DEL VALLE SANTIAGO, JUAN G      ADDRESS ON FILE
DEL VALLE SANTIAGO, MARGARITA   ADDRESS ON FILE
DEL VALLE SANTIAGO, MARIA       ADDRESS ON FILE
DEL VALLE SANTIAGO, MARIA       ADDRESS ON FILE
DEL VALLE SANTIAGO, MARIA E     ADDRESS ON FILE
DEL VALLE SANTIAGO, ROBERTO     ADDRESS ON FILE
DEL VALLE SANTIAGO, VICTOR M    ADDRESS ON FILE
DEL VALLE SANTOS, ALDO L        ADDRESS ON FILE
DEL VALLE SANTOS, BRYAN         ADDRESS ON FILE
DEL VALLE SANTOS, DENISE        ADDRESS ON FILE
DEL VALLE SANTOS, LUZ O         ADDRESS ON FILE
DEL VALLE SANTOS, ROSA A        ADDRESS ON FILE
DEL VALLE SEARY, MARI N         ADDRESS ON FILE
DEL VALLE SEGARRA MD, ANTONIO   ADDRESS ON FILE




                                                                            Page 2207 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2208 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE SEIJO, WILFREDO          ADDRESS ON FILE
DEL VALLE SEPULVEDA, JAVIER        ADDRESS ON FILE
DEL VALLE SEPULVEDA, MARCOS        ADDRESS ON FILE
DEL VALLE SERRA, AMARILYS          ADDRESS ON FILE
DEL VALLE SERRANO, AZARIA          ADDRESS ON FILE
DEL VALLE SERRANO, DAVID           ADDRESS ON FILE
DEL VALLE SERRANO, JAVIER          ADDRESS ON FILE
Del Valle Serrano, Jexiam M        ADDRESS ON FILE
DEL VALLE SERRANO, JOSE M.         ADDRESS ON FILE
DEL VALLE SERRANO, MARIELA         ADDRESS ON FILE
DEL VALLE SEVILLA NELLIE           ADDRESS ON FILE
DEL VALLE SEVILLA, LAURA E         ADDRESS ON FILE
DEL VALLE SEVILLA, NELLIE          ADDRESS ON FILE
Del Valle Sierra, Hector A         ADDRESS ON FILE
Del Valle Sierra, Luis Miguel      ADDRESS ON FILE
DEL VALLE SOSA, FRANCISCO          ADDRESS ON FILE
DEL VALLE SOSA, MARY E             ADDRESS ON FILE
DEL VALLE SOTO MD, LIZA            ADDRESS ON FILE
DEL VALLE SOTO, CLARIBEL           ADDRESS ON FILE
DEL VALLE SOTO, JANICE             ADDRESS ON FILE
DEL VALLE SOTO, LISA               ADDRESS ON FILE
DEL VALLE SOTO, YVETTE             ADDRESS ON FILE
DEL VALLE SOTO, YVETTE             ADDRESS ON FILE
Del Valle Soto, Zulma              ADDRESS ON FILE
DEL VALLE STELLA, LUIS             ADDRESS ON FILE
DEL VALLE SUAREZ, SABINA           ADDRESS ON FILE
DEL VALLE TIRADO, MARIA DE LOS A   ADDRESS ON FILE
DEL VALLE TIRADO, NELSON           ADDRESS ON FILE
DEL VALLE TOLEDO, BRENDA           ADDRESS ON FILE
DEL VALLE TOLEDO, BRENDA L         ADDRESS ON FILE
DEL VALLE TOLEDO, EVELYN           ADDRESS ON FILE
DEL VALLE TORRES, ANGEL R          ADDRESS ON FILE
DEL VALLE TORRES, DARICHELY        ADDRESS ON FILE
DEL VALLE TORRES, DAVID O          ADDRESS ON FILE
DEL VALLE TORRES, DENISSE          ADDRESS ON FILE
DEL VALLE TORRES, EFRAIN           ADDRESS ON FILE
DEL VALLE TORRES, FELIX J.         ADDRESS ON FILE
DEL VALLE TORRES, HECTOR L.        ADDRESS ON FILE
DEL VALLE TORRES, HILDA            ADDRESS ON FILE
Del Valle Torres, Luis             ADDRESS ON FILE
DEL VALLE TORRES, LUIS             ADDRESS ON FILE
DEL VALLE TORRES, RAFAEL           ADDRESS ON FILE
DEL VALLE TORRES, RAFAEL A         ADDRESS ON FILE
DEL VALLE TORRES, WILFREDO         ADDRESS ON FILE
DEL VALLE TORRES, YAITSALEE        ADDRESS ON FILE
DEL VALLE TREVINO, MARILU          ADDRESS ON FILE
DEL VALLE URBINA, JOSE             ADDRESS ON FILE
DEL VALLE VALENTIN, ELIA ENID      ADDRESS ON FILE
DEL VALLE VALENTIN, LUIS           ADDRESS ON FILE
DEL VALLE VALLE, BETSY             ADDRESS ON FILE
DEL VALLE VALLE, CARMEN            ADDRESS ON FILE
DEL VALLE VALLE, CATHY             ADDRESS ON FILE
DEL VALLE VALLE, JUAN              ADDRESS ON FILE
DEL VALLE VALLE, ROSA              ADDRESS ON FILE
DEL VALLE VARGAS, JULIA I.         ADDRESS ON FILE
DEL VALLE VARGAS, JULIA I.         ADDRESS ON FILE
DEL VALLE VARGAS, MARIA T.         ADDRESS ON FILE
DEL VALLE VAZQUEZ, CARMEN I        ADDRESS ON FILE
DEL VALLE VAZQUEZ, EFRAIN          ADDRESS ON FILE
DEL VALLE VAZQUEZ, EVELYN M.       ADDRESS ON FILE




                                                                               Page 2208 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2209 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL VALLE VAZQUEZ, FLOR J.      ADDRESS ON FILE
DEL VALLE VAZQUEZ, JOANNA       ADDRESS ON FILE
Del Valle Vazquez, Limari       ADDRESS ON FILE
DEL VALLE VAZQUEZ, LUIS A.      ADDRESS ON FILE
DEL VALLE VAZQUEZ, LYMARI       ADDRESS ON FILE
DEL VALLE VAZQUEZ, MARIEMIL     ADDRESS ON FILE
DEL VALLE VAZQUEZ, MONICA       ADDRESS ON FILE
DEL VALLE VAZQUEZ, SUHEILL      ADDRESS ON FILE
DEL VALLE VAZQUEZ, ZORAIDA      ADDRESS ON FILE
DEL VALLE VEGA, ALMA            ADDRESS ON FILE
DEL VALLE VEGA, ANGELA          ADDRESS ON FILE
Del Valle Vega, Armando         ADDRESS ON FILE
DEL VALLE VEGA, CARMEN J        ADDRESS ON FILE
DEL VALLE VEGA, FAUSTINO        ADDRESS ON FILE
DEL VALLE VEGA, FAUSTINO        ADDRESS ON FILE
DEL VALLE VEGA, GILBERTO        ADDRESS ON FILE
DEL VALLE VEGA, GLORIA          ADDRESS ON FILE
DEL VALLE VEGA, LUIS A.         ADDRESS ON FILE
DEL VALLE VEGA, SONIA           ADDRESS ON FILE
DEL VALLE VEGUILLA, ALBERTO     ADDRESS ON FILE
DEL VALLE VEGUILLA, IRMA        ADDRESS ON FILE
DEL VALLE VEGUILLA, IRMA        ADDRESS ON FILE
DEL VALLE VEGUILLA, MARIA I.    ADDRESS ON FILE
DEL VALLE VELAZQUEZ, ADELAIDA   ADDRESS ON FILE
DEL VALLE VELAZQUEZ, CARLOS     ADDRESS ON FILE
DEL VALLE VELAZQUEZ, CARMEN J   ADDRESS ON FILE
DEL VALLE VELAZQUEZ, ENID L     ADDRESS ON FILE
DEL VALLE VELAZQUEZ, INGRID M   ADDRESS ON FILE
DEL VALLE VELAZQUEZ, KELVIN     ADDRESS ON FILE
DEL VALLE VELAZQUEZ, LYDIA M    ADDRESS ON FILE
DEL VALLE VELAZQUEZ, RAMONITA   ADDRESS ON FILE
DEL VALLE VELAZQUEZ, VICTOR     ADDRESS ON FILE
DEL VALLE VELEZ, ANA B.         ADDRESS ON FILE
DEL VALLE VELEZ, BRENDA         ADDRESS ON FILE
DEL VALLE VELEZ, CECILIA        ADDRESS ON FILE
DEL VALLE VELEZ, EILEEN         ADDRESS ON FILE
DEL VALLE VELEZ, JUAN           ADDRESS ON FILE
DEL VALLE VELEZ, MARIA DEL P    ADDRESS ON FILE
DEL VALLE VELEZ, RICARDO J.     ADDRESS ON FILE
DEL VALLE VELEZ, VERONICA       ADDRESS ON FILE
DEL VALLE VENDRELL, PEDRO       ADDRESS ON FILE
DEL VALLE VIERA, ALFREDO        ADDRESS ON FILE
DEL VALLE VILLALOBOS, BRENDA    ADDRESS ON FILE
DEL VALLE VIZCARRONDO, LUIS A   ADDRESS ON FILE
DEL VALLE WILKES, LORNA I       ADDRESS ON FILE
DEL VALLE WILKES, SADIA         ADDRESS ON FILE
DEL VALLE ZAYAS, SUSANA         ADDRESS ON FILE
DEL VALLE, GLADYS               ADDRESS ON FILE
DEL VALLE, KEILA CRUZADO        ADDRESS ON FILE
DEL VALLE, LISBETH              ADDRESS ON FILE
DEL VALLE, LUIS                 ADDRESS ON FILE
DEL VALLE, LUIS E               ADDRESS ON FILE
DEL VALLE, MIRINETTE NERIS      ADDRESS ON FILE
DEL VALLE, NELSON               ADDRESS ON FILE
DEL VALLE, RAMONITA             ADDRESS ON FILE
DEL VALLE, ROSAURA              ADDRESS ON FILE
DEL VALLE, SEARY DELMA I        ADDRESS ON FILE
DEL VALLE, YAZMIN               ADDRESS ON FILE
DEL VALLE,EDDIE                 ADDRESS ON FILE
DEL VALLE,LUIS                  ADDRESS ON FILE




                                                                            Page 2209 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2210 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                     Address1                                       Address2                                     Address3   Address4   City                State   PostalCode   Country
DEL VALLE,RAFAEL                  ADDRESS ON FILE
DEL_VALLE DIAZ, DIANORIS          ADDRESS ON FILE
DELA PAZ PEREZ, ADALINA           ADDRESS ON FILE
DELACRUZ BETANCOURT, ADAM         ADDRESS ON FILE
DELACRUZ GAITAN, DIEGO            ADDRESS ON FILE
DELACRUZ HERNANDEZ, MELVIN        ADDRESS ON FILE
Delagado Llanos, Raul             ADDRESS ON FILE
Delagado Rosado, Marilyn          ADDRESS ON FILE
DELAGUILA, FERNANDO               ADDRESS ON FILE
DELAHONGRAIS PALMER, ARTURO       ADDRESS ON FILE
DELAINE SANTIAGO RODRIGUEZ        ADDRESS ON FILE
DELAND FOOT AND LEG CENTER        ATTN MEDICAL RECORDS                           844 N STONE ST STE 208                                             DELAND              FL      32720
DELANISSE ALICEA CRUZ             ADDRESS ON FILE
DELANNIE J COLON MARTINEZ         ADDRESS ON FILE
DELANNOY BRUNO, GUSTAVO           ADDRESS ON FILE
DELANNOY COROMINA MD, ANDRES      ADDRESS ON FILE
DELANNOY DE JESUS, MARIA INES     ADDRESS ON FILE
DELANNOY DE JESUS, MARIA INES     ADDRESS ON FILE
DELANNOY FIGUEROA, ODALIZ         ADDRESS ON FILE
DELANNOY HERNANDEZ, RAMON         ADDRESS ON FILE
DELANNOY RIVERA, LUIS E           ADDRESS ON FILE
DELANNOY SOTOMAYOR, EDUARDO       ADDRESS ON FILE
DELANO ALICEA, KEVIN              ADDRESS ON FILE
DELANOR R. VAZQUEZ APONTE         ADDRESS ON FILE
DELANOY VELEZ, RAFAEL             ADDRESS ON FILE
DELANY SANTOS FERRER              ADDRESS ON FILE
DELANY TORRES PABON               ADDRESS ON FILE
DE‐LA‐PAZ‐GONZALEZ MD, DIANA      ADDRESS ON FILE
DELAROSA COLON, ELLY M.           ADDRESS ON FILE
Delaware Life Insurance Company   96 Worcester Street                                                                                               Wellesley Hills     MA      02481
Delaware Life Insurance Company   Attn: Bruce Mollar, Circulation of Risk        One Sun Life Executive Park                  DL 1235               Wellesley Hills     MA      02481
Delaware Life Insurance Company   Attn: Bruce Mollar, Consumer Complaint Contact One Sun Life Executive Park                  DL 1235               Wellesley Hills     MA      02481
Delaware Life Insurance Company   Attn: Daniel Towriss, President                One Sun Life Executive Park                  DL 1235               Wellesley Hills     MA      02481
Delaware Life Insurance Company   Attn: Kenneth A McCullum, Vice President       One Sun Life Executive Park                  DL 1235               Wellesley Hills     MA      02481
Delaware Life Insurance Company   Attn: Michael Bloom, Vice President            One Sun Life Executive Park                  DL 1235               Wellesley Hills     MA      02481
DELAWARE NEUROSURGICAL GROUP      ADDRESS ON FILE
DELAWARE VALLEY CHIRO & REHAB     213 N 5TH ST                                   SU 1040                                                            READING             PA      19601
DELBA I SANTIAGO HERNANDEZ        ADDRESS ON FILE
DELBALUZ MENDEZ MIRANDA           ADDRESS ON FILE
DELBERT RODRIGUEZ GIULIANI        ADDRESS ON FILE
DELBERT S ALVARADO COLON          ADDRESS ON FILE
DELBIS LESPIER SANTIAGO           ADDRESS ON FILE
DELBOY VARGAS, AMERICA            ADDRESS ON FILE
DELBREY BENITEZ, CARLOS           ADDRESS ON FILE
DELBREY BENITEZ, FLORENTINO       ADDRESS ON FILE
DELBREY DIA, MARIA M              ADDRESS ON FILE
DELBREY FEBO, CARMEN M            ADDRESS ON FILE
DELBREY FIGUEROA, DESIREE         ADDRESS ON FILE
DELBREY IGLESIAS, MYRNA           ADDRESS ON FILE
Delbrey Munoz, Robert S.          ADDRESS ON FILE
DELBREY ORTIZ, CLAUDIA            ADDRESS ON FILE
DELBREY ORTIZ, IRIS               ADDRESS ON FILE
DELBREY PEREZ, ALFRED             ADDRESS ON FILE
DELBREY PEREZ, JORGE              ADDRESS ON FILE
DELBREY RAMIREZ, ELSIE            ADDRESS ON FILE
DELBREY RIVERA, DAMARY            ADDRESS ON FILE
DELBREY RIVERA, DAYRA R           ADDRESS ON FILE
DELBREY RIVERA, GISELLE           ADDRESS ON FILE
DELBREY TORRES, SONIA IVETTE      ADDRESS ON FILE
DELBREY ZAYAS, LEW                ADDRESS ON FILE




                                                                                                               Page 2210 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2211 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DEL‐CAMPO FIGUEROA, MARIA V        ADDRESS ON FILE
DEL‐CAMPO FIGUEROA, WANDA I        ADDRESS ON FILE
DELDA CABRERA CABRERA              ADDRESS ON FILE
DELEGACION ABOGADOS AGUADILLA      ADDRESS ON FILE
DELEGACION DE ABOGADOS DE CAYEY    ADDRESS ON FILE
DELEGUAS COLON, SONIA              ADDRESS ON FILE
DELEO MD , FRANK A                 ADDRESS ON FILE
DELEON DELEON, JUAN A.             ADDRESS ON FILE
DELEON MARTINEZ, ELIZABETH         ADDRESS ON FILE
DELEON SANCHEZ, MARIBEL            ADDRESS ON FILE
DELEON, DANIEL                     ADDRESS ON FILE
DELEONBOU, RAFAEL                  ADDRESS ON FILE
DELERME AYALA, CARMEN J            ADDRESS ON FILE
DELERME AYALA, JOSUE M.            ADDRESS ON FILE
DELERME AYALA, JUAN P              ADDRESS ON FILE
Delerme Ayala, Julio N             ADDRESS ON FILE
DELERME BONANO, PAULINA            ADDRESS ON FILE
DELERME BONANO, PAULINA            ADDRESS ON FILE
DELERME CAMACHO, EDGARDO           ADDRESS ON FILE
DELERME CAMACHO, EVELYN            ADDRESS ON FILE
DELERME COLON, IDA E.              ADDRESS ON FILE
DELERME FELICIANO, JESSIKA         ADDRESS ON FILE
DELERME GUTIERREZ, CARMEN V        ADDRESS ON FILE
DELERME IRIZARRY, ROSE E.          ADDRESS ON FILE
DELERME MARTINEZ MD, EDSEL         ADDRESS ON FILE
DELERME RIVERA, CARLOS ANTONIO     ADDRESS ON FILE
DELERME RIVERA, GERALDO            ADDRESS ON FILE
DELERME RIVERA, JOSE               ADDRESS ON FILE
DELERME RIVERA, ZUNILDA            ADDRESS ON FILE
DELERME RIVERA, ZUNILDA            ADDRESS ON FILE
DELERME RIVERA, ZUNILDA            ADDRESS ON FILE
DELERME ROSA, HEIDIENERIS          ADDRESS ON FILE
DELERME SANTIAGO, ELIDAMARYS       ADDRESS ON FILE
DELERME SANTIAGO, WALTER           ADDRESS ON FILE
DELERME SEARY, IVONNE              ADDRESS ON FILE
DELERME VEGA, SHERLENE             ADDRESS ON FILE
DELESTRE REYES, BLANCA I.          ADDRESS ON FILE
DELESTRE REYES, IVELISSE           ADDRESS ON FILE
DELESTRE REYES, IVELISSE           ADDRESS ON FILE
DELESTRE REYES, SONIA MARIA        ADDRESS ON FILE
DELFAUS HERNANDEZ, WANDA           ADDRESS ON FILE
DELFAUS RODRIGUEZ, NYDIA           ADDRESS ON FILE
DELFAUS ROSARIO, JOAN              ADDRESS ON FILE
DELFI DE CINTRON, LUZ LEYDA        ADDRESS ON FILE
Delfi Guzman, Magda Enid           ADDRESS ON FILE
DELFI LEBRON, GILBERTO             ADDRESS ON FILE
DELFI RIVAS, ERICK                 ADDRESS ON FILE
Delfi Rivas, Gilberto              ADDRESS ON FILE
DELFI RIVAS, MARITZA               ADDRESS ON FILE
DELFI RIVERA TORRES                ADDRESS ON FILE
DELFIDIO LUNA GUZMAN               ADDRESS ON FILE
DELFIN A VALE CORTES               ADDRESS ON FILE
DELFIN ADORNO COTTO                ADDRESS ON FILE
DELFIN C TORRES MARRERO            ADDRESS ON FILE
DELFIN CAMACHO ORTIZ               ADDRESS ON FILE
DELFIN CUTINO GUTIERREZ            ADDRESS ON FILE
DELFIN F COLON MARTINEZ            ADDRESS ON FILE
DELFIN PEREZ FIGUEROA              ADDRESS ON FILE
DELFIN SERRANO CUBANO              ADDRESS ON FILE
DELFINA DÍAZ /HOGAR DELFINA DIAZ   ADDRESS ON FILE




                                                                               Page 2211 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2212 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELFINA DIAZ SANTAELLA            ADDRESS ON FILE
DELFINA GRANDA AYALA              ADDRESS ON FILE
DELFINO GONZALEZ, TAISHA          ADDRESS ON FILE
DELGADILLO BONIFACIO, IGNACIA M   ADDRESS ON FILE
DELGADO DELGADO INC               PO BOX 330762                                                                    PONCE        PR      00733‐0762
DELGADO & DELGADO CONTADORES      PO BOX 330762                                                                    PONCE        PR      00733‐0762
DELGADO ABREU, MARILYN            ADDRESS ON FILE
Delgado Acevedo, Adid             ADDRESS ON FILE
DELGADO ACEVEDO, ANA M            ADDRESS ON FILE
DELGADO ACEVEDO, HERNANDO         ADDRESS ON FILE
DELGADO ACEVEDO, IDALIZ           ADDRESS ON FILE
DELGADO ACEVEDO, IVIANNA          ADDRESS ON FILE
Delgado Acevedo, Jacqueline       ADDRESS ON FILE
DELGADO ACEVEDO, LUZ              ADDRESS ON FILE
DELGADO ACEVEDO, PEDRO            ADDRESS ON FILE
DELGADO ACEVEDO, ROSA J.          ADDRESS ON FILE
DELGADO ACEVEDO, ROSANNA          ADDRESS ON FILE
DELGADO ACOSTA, GLADYS            ADDRESS ON FILE
DELGADO ACOSTA, HEYMOND           ADDRESS ON FILE
Delgado Acosta, Jose              ADDRESS ON FILE
Delgado Acosta, Mario             ADDRESS ON FILE
DELGADO ACOSTA, PEDRO             ADDRESS ON FILE
DELGADO ACOSTA, ROSEMARIE         ADDRESS ON FILE
DELGADO ADORNO, PEDRO             ADDRESS ON FILE
DELGADO AGINSONI, JULIO           ADDRESS ON FILE
DELGADO AGOSTO, ANA               ADDRESS ON FILE
DELGADO AGOSTO, ANA G             ADDRESS ON FILE
DELGADO AGOSTO, BENEDICTA         ADDRESS ON FILE
DELGADO AGOSTO, DORCA             ADDRESS ON FILE
DELGADO AGOSTO, EMERITA           ADDRESS ON FILE
DELGADO AGOSTO, IRMA              ADDRESS ON FILE
DELGADO AGOSTO, LIZETTE           ADDRESS ON FILE
DELGADO AGOSTO, MILAGROS          ADDRESS ON FILE
DELGADO AGOSTO, RICARDO           ADDRESS ON FILE
DELGADO AGRINSONI, GIRELLY        ADDRESS ON FILE
DELGADO ALABARCE, MARIA T         ADDRESS ON FILE
Delgado Alamo, Jose               ADDRESS ON FILE
DELGADO ALDEA, JOSUELI            ADDRESS ON FILE
Delgado Alejandro, Carmen G       ADDRESS ON FILE
Delgado Alejandro, Nilsa          ADDRESS ON FILE
DELGADO ALFARO, MARIA DEL C       ADDRESS ON FILE
DELGADO ALFONSO, GLORIA           ADDRESS ON FILE
DELGADO ALFONSO, MARIA L          ADDRESS ON FILE
DELGADO ALFONZO, LOURDES          ADDRESS ON FILE
DELGADO ALFONZO, TAMER            ADDRESS ON FILE
DELGADO ALICEA, ABIGAIL           ADDRESS ON FILE
DELGADO ALICEA, ALEXANDRA         ADDRESS ON FILE
DELGADO ALICEA, DENISE E.         ADDRESS ON FILE
Delgado Alicea, Jorge L           ADDRESS ON FILE
DELGADO ALICEA, JOSE E.           ADDRESS ON FILE
DELGADO ALICEA, LEA               ADDRESS ON FILE
DELGADO ALICEA, LISANDRA          ADDRESS ON FILE
DELGADO ALMODOVAR, ZAYRA E.       ADDRESS ON FILE
DELGADO ALTIERI, JOSE ISMAEL      ADDRESS ON FILE
DELGADO ALTIERI, MARIA E          ADDRESS ON FILE
DELGADO ALVALLE, FELIX            ADDRESS ON FILE
DELGADO ALVARADO, CAROLINA        ADDRESS ON FILE
DELGADO ALVARADO, LORENA          ADDRESS ON FILE
DELGADO ALVARADO, LUIS ALBERTO    ADDRESS ON FILE
DELGADO ALVARADO, OMAR            ADDRESS ON FILE




                                                                              Page 2212 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2213 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO ALVARADO, OMAR J.         ADDRESS ON FILE
DELGADO ALVARADO, YARIMAR         ADDRESS ON FILE
Delgado Alvarez, Israel           ADDRESS ON FILE
DELGADO ALVAREZ, JUAN E.          ADDRESS ON FILE
DELGADO ALVAREZ, KAROL            ADDRESS ON FILE
DELGADO ALVAREZ, LUCAS            ADDRESS ON FILE
DELGADO ALVAREZ, MILAGROS         ADDRESS ON FILE
DELGADO ALVAREZ, ROSA I           ADDRESS ON FILE
Delgado Alverio, Cristobal        ADDRESS ON FILE
DELGADO ALVERIO, JUAN             ADDRESS ON FILE
DELGADO ALVERIO, RAMONITA         ADDRESS ON FILE
DELGADO AMADO, MARGARITA          ADDRESS ON FILE
DELGADO AMADOR, LORRAINE          ADDRESS ON FILE
DELGADO AMALBERT, TOMAS           ADDRESS ON FILE
DELGADO ANDINO, CARLOS A.         ADDRESS ON FILE
DELGADO ANDINO, IRIS N            ADDRESS ON FILE
DELGADO ANDINO, JORGE L           ADDRESS ON FILE
DELGADO ANDINO, MARIA S           ADDRESS ON FILE
DELGADO ANDUJAR, FRANCISCO        ADDRESS ON FILE
DELGADO ANDUJAR, MARIA            ADDRESS ON FILE
DELGADO ANTONGIORGI, ALEXIS       ADDRESS ON FILE
DELGADO ANTONGIORGI, HECTOR       ADDRESS ON FILE
Delgado Apolinari, Hector L       ADDRESS ON FILE
DELGADO APONTE, ELSA              ADDRESS ON FILE
DELGADO APONTE, LESMES            ADDRESS ON FILE
DELGADO APONTE, LUIS              ADDRESS ON FILE
DELGADO APONTE, LUIS F            ADDRESS ON FILE
DELGADO APONTE, NELSON            ADDRESS ON FILE
DELGADO APONTE, VICTORIA          ADDRESS ON FILE
DELGADO APONTE, XAYMARA V         ADDRESS ON FILE
DELGADO ARBELO, BOLIVAR           ADDRESS ON FILE
DELGADO ARBELO, SONIA J           ADDRESS ON FILE
DELGADO ARISTUD, IVETTE           ADDRESS ON FILE
DELGADO ARROYO LAW OFFICE         PO BOX 367054                                                                    SAN JUAN     PR      00936
DELGADO ARROYO, ELSA              ADDRESS ON FILE
DELGADO ARROYO, IRMA N            ADDRESS ON FILE
DELGADO ARROYO, KENNY             ADDRESS ON FILE
DELGADO ARROYO, LOURDES           ADDRESS ON FILE
DELGADO ARROYO, LUIS J.           ADDRESS ON FILE
DELGADO ARROYO, NILCA J           ADDRESS ON FILE
DELGADO ARROYO, PABLO             ADDRESS ON FILE
DELGADO ARROYO, RAFAEL            ADDRESS ON FILE
DELGADO ARROYO, SALLY             ADDRESS ON FILE
DELGADO ARZUAGA, JUAN             ADDRESS ON FILE
Delgado Arzuaga, Juan R.          ADDRESS ON FILE
DELGADO ATILES, DAVID             ADDRESS ON FILE
DELGADO AVILES, MARIA A.          ADDRESS ON FILE
Delgado Aviles, Vernessa          ADDRESS ON FILE
DELGADO AYALA, HILDA              ADDRESS ON FILE
DELGADO AYALA, JEAN M.            ADDRESS ON FILE
DELGADO AYALA, RICHARD            ADDRESS ON FILE
DELGADO AYALA, RICHARD            ADDRESS ON FILE
Delgado Bachier, Jose             ADDRESS ON FILE
DELGADO BADILLO, MARIO            ADDRESS ON FILE
DELGADO BAERGA, KAYRA             ADDRESS ON FILE
DELGADO BAEZ, LUIS                ADDRESS ON FILE
DELGADO BAEZ, LUZ N               ADDRESS ON FILE
DELGADO BAEZ, MARGERIE I.         ADDRESS ON FILE
DELGADO BALCELLS, LETICIA DEL C   ADDRESS ON FILE
DELGADO BARBOSA, CARMEN M         ADDRESS ON FILE




                                                                              Page 2213 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2214 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                      Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
DELGADO BARREIRO, LARISSA          ADDRESS ON FILE
Delgado Barreiro, Onix             ADDRESS ON FILE
DELGADO BARRETO, RAMON             ADDRESS ON FILE
Delgado Batista, Adali             ADDRESS ON FILE
DELGADO BATISTA, BRENDA            ADDRESS ON FILE
DELGADO BENABE, CARMEN             ADDRESS ON FILE
DELGADO BENABE, CARMEN D           ADDRESS ON FILE
DELGADO BENITEZ, CONCHITA          ADDRESS ON FILE
DELGADO BENITEZ, ELBA              ADDRESS ON FILE
DELGADO BENITEZ, MARIA R           ADDRESS ON FILE
DELGADO BERENGUER, JULIO ENRIQUE   ADDRESS ON FILE
DELGADO BERMUDEZ, EVELYN           ADDRESS ON FILE
DELGADO BERMUDEZ, JOSE I.          ADDRESS ON FILE
DELGADO BERRIOS, DELIANA           ADDRESS ON FILE
Delgado Berrios, Edwin R           ADDRESS ON FILE
DELGADO BERRIOS, ILEANA            ADDRESS ON FILE
DELGADO BERRIOS, JOHN              ADDRESS ON FILE
DELGADO BERRIOS, JULIO             ADDRESS ON FILE
DELGADO BERRIOS, WILMARIE          ADDRESS ON FILE
DELGADO BETANCOURT, EFRAIN         ADDRESS ON FILE
DELGADO BETANCOURT, ERNESTO        ADDRESS ON FILE
DELGADO BETANCOURT, JESSICA        ADDRESS ON FILE
DELGADO BIAGGI, JUAN               ADDRESS ON FILE
DELGADO BIRIEL, JULISSA            ADDRESS ON FILE
DELGADO BONETA MD, NORBERTO        ADDRESS ON FILE
DELGADO BONILLA, CORP              PAISAJES DEL ESCORIAL     404 MEDIA LUNA 95 BLVD                                        CAROLINA     PR      00987
DELGADO BORGES, SONIA V            ADDRESS ON FILE
DELGADO BRAS, EDGARDO              ADDRESS ON FILE
DELGADO BRENES, RUY                ADDRESS ON FILE
DELGADO BREY, ORLANDO              ADDRESS ON FILE
DELGADO BRITO, ELIM                ADDRESS ON FILE
DELGADO BRUNO, LEONARDO            ADDRESS ON FILE
DELGADO BRUNO, LUZ M               ADDRESS ON FILE
DELGADO BRUNO, MARIBEL             ADDRESS ON FILE
DELGADO BURGOS MD, RAFAEL A        ADDRESS ON FILE
Delgado Burgos, Carmelo            ADDRESS ON FILE
DELGADO BURGOS, FRANK R            ADDRESS ON FILE
DELGADO BURGOS, GLORIA             ADDRESS ON FILE
DELGADO BURGOS, IRSIA Z.           ADDRESS ON FILE
DELGADO BURGOS, JESUS              ADDRESS ON FILE
DELGADO BURGOS, LUIS               ADDRESS ON FILE
DELGADO BURGOS, MARIA M.           ADDRESS ON FILE
DELGADO BURGOS, WILFREDO           ADDRESS ON FILE
DELGADO BUS LINE INC.              HC 05 BOX 5319                                                                          YABUCOA      PR      00767‐9608
DELGADO BUS LINE INC.              PO BOX 371                                                                              CIDRA        PR      00739
DELGADO BUTHER MD, NORMA           ADDRESS ON FILE
DELGADO BUTHER, JESSICA            ADDRESS ON FILE
DELGADO CABALLERO, ALEX            ADDRESS ON FILE
DELGADO CABRERA, IVELISSE          ADDRESS ON FILE
DELGADO CABRERA, JUAN C            ADDRESS ON FILE
DELGADO CACERES, JOSE              ADDRESS ON FILE
DELGADO CACERES, LUIS              ADDRESS ON FILE
DELGADO CADIZ, LUIS                ADDRESS ON FILE
Delgado Cadiz, Luis A              ADDRESS ON FILE
DELGADO CAJIGAS, LUISOL            ADDRESS ON FILE
DELGADO CALIMADO, IDALINA          ADDRESS ON FILE
Delgado Camacho, Anibal            ADDRESS ON FILE
DELGADO CAMACHO, FAUSTINO          ADDRESS ON FILE
DELGADO CAMACHO, PEDRO             ADDRESS ON FILE
DELGADO CAMACHO, ZAIDA             ADDRESS ON FILE




                                                                                      Page 2214 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2215 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                      Address1                           Address2                                 Address3        Address4   City         State   PostalCode   Country
DELGADO CANALES, NYDIA E           ADDRESS ON FILE
DELGADO CAÑAS MD, FRANKIE          ADDRESS ON FILE
DELGADO CAÑAS MD, MARTA            ADDRESS ON FILE
DELGADO CANAS, AURA                ADDRESS ON FILE
DELGADO CANAS, AURA                ADDRESS ON FILE
DELGADO CANCEL, CARMEN M.          ADDRESS ON FILE
DELGADO CANCEL, ELVIRA T           ADDRESS ON FILE
DELGADO CANDELARIA, JESSICA        ADDRESS ON FILE
DELGADO CANTIZANO, LEANDRO         ADDRESS ON FILE
Delgado Caraballo, Andres          ADDRESS ON FILE
DELGADO CARABALLO, LUIS            ADDRESS ON FILE
DELGADO CARABALLO, MADELINE        ADDRESS ON FILE
DELGADO CARABALLO, MIRIAM          ADDRESS ON FILE
DELGADO CARABALLO, MIXILA          ADDRESS ON FILE
DELGADO CARABALLO, MOISES          ADDRESS ON FILE
DELGADO CARBO, BEATRIZ             ADDRESS ON FILE
DELGADO CARDONA, ADA               ADDRESS ON FILE
Delgado Cardona, Ada N             ADDRESS ON FILE
Delgado Cardona, Edgard            ADDRESS ON FILE
Delgado Cardona, Ivan              ADDRESS ON FILE
DELGADO CARDONA, IVAN              ADDRESS ON FILE
DELGADO CARDONA, LILLIAM           ADDRESS ON FILE
DELGADO CARDONA, LUIS              ADDRESS ON FILE
DELGADO CARDONA, MORAIMA           ADDRESS ON FILE
DELGADO CARDONA, NOELIA L.         ADDRESS ON FILE
DELGADO CARDONA, SHEILA            ADDRESS ON FILE
DELGADO CARMONA, ANDRES            ADDRESS ON FILE
DELGADO CARMONA, BEATRIZ           ADDRESS ON FILE
DELGADO CARMONA, DANIEL            ADDRESS ON FILE
DELGADO CARRASQUILLO, CARMEN M.    ADDRESS ON FILE
DELGADO CARRASQUILLO, EDUARDO      ADDRESS ON FILE
DELGADO CARRASQUILLO, JOSELINE     ADDRESS ON FILE
Delgado Carrasquillo, Luis O.      ADDRESS ON FILE
DELGADO CARRION, CLAUDIA           ADDRESS ON FILE
DELGADO CARRION, JAIME             ADDRESS ON FILE
Delgado Carrion, Juan A            ADDRESS ON FILE
DELGADO CARRION, LINETTE           ADDRESS ON FILE
DELGADO CARRION, NICOLE            ADDRESS ON FILE
DELGADO CARTAGENA, FERNANDO        ADDRESS ON FILE
DELGADO CASIANO, JOSE L            ADDRESS ON FILE
DELGADO CASTELLANO, KAREN          ADDRESS ON FILE
DELGADO CASTILLO, HAYME            ADDRESS ON FILE
DELGADO CASTILLO, JAIME            ADDRESS ON FILE
DELGADO CASTILLO, LUIS A.          ADDRESS ON FILE
DELGADO CASTILLO, MAYTE            ADDRESS ON FILE
DELGADO CASTRILLO, CARMEN M        ADDRESS ON FILE
DELGADO CASTRILLO, MYRNA Y OTROS   LCDO. ALEJANDRO FRANCO FERNÁNDEZ   LCDO. ALEJANDRO FRANCO FERNÁNDEZ         PO BOX 70313               SAN JUAN     PR      00936‐8313
DELGADO CASTRILLO, MYRNA Y OTROS   LCDO. ERNESTO JOSÉ MIRANDA MATOS   LCDO. ERNESTO JOSÉ MIRANDA MATOS         PO BOX 361058              SAN JUAN     PR      00936‐1058
DELGADO CASTRO, ANGEL              ADDRESS ON FILE
DELGADO CASTRO, CARMEN A           ADDRESS ON FILE
DELGADO CASTRO, JUAN               ADDRESS ON FILE
DELGADO CASTRO, JUAN               ADDRESS ON FILE
DELGADO CASTRO, LYDIA S            ADDRESS ON FILE
DELGADO CASTRO, MARGARITA          ADDRESS ON FILE
DELGADO CASTRO, MARTA V            ADDRESS ON FILE
DELGADO CASTRO, MARTA V            ADDRESS ON FILE
DELGADO CASTRO, MIGUEL             ADDRESS ON FILE
DELGADO CASTRO, MIGUEL             ADDRESS ON FILE
DELGADO CASTRO, ROSA               ADDRESS ON FILE
DELGADO CASTRO, RUFINA             ADDRESS ON FILE




                                                                                                Page 2215 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2216 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO CASTRO, SAMUEL         ADDRESS ON FILE
DELGADO CASTRO, WANDALIZ       ADDRESS ON FILE
DELGADO CEDENO, MARIA DEL      ADDRESS ON FILE
DELGADO CEDENO, PABLO R        ADDRESS ON FILE
DELGADO CENTENO, VICENTE       ADDRESS ON FILE
DELGADO CHARBONNIER, ISABEL    ADDRESS ON FILE
DELGADO CHARBONNIER, ISABEL    ADDRESS ON FILE
DELGADO CHAVARRIA, CARLOS M    ADDRESS ON FILE
DELGADO CHICLANA, SIBELL       ADDRESS ON FILE
DELGADO CIFUENTES, AURA        ADDRESS ON FILE
DELGADO CIFUENTES, CARMEN      ADDRESS ON FILE
DELGADO CINTRON, ARACELIS      ADDRESS ON FILE
DELGADO CINTRON, LYNETTE       ADDRESS ON FILE
DELGADO CINTRON, WANDA L       ADDRESS ON FILE
DELGADO CLARO, MARIA C         ADDRESS ON FILE
DELGADO CLAUDIO, JUAN A.       ADDRESS ON FILE
DELGADO CLAUDIO, MARGARITA     ADDRESS ON FILE
DELGADO CLAUDIO, MICHELLE      ADDRESS ON FILE
DELGADO CLAUDIO, TOMAS         ADDRESS ON FILE
DELGADO CLAUDIO, XIOMARA       ADDRESS ON FILE
Delgado Clausell, Eleobadis    ADDRESS ON FILE
DELGADO CLAUSELL, ELEOBADIS    ADDRESS ON FILE
Delgado Cochran, Carlos        ADDRESS ON FILE
DELGADO COCKRAN, MIGDALIA      ADDRESS ON FILE
DELGADO COLLAZO, DALIA JANET   ADDRESS ON FILE
DELGADO COLLAZO, FELICITA      ADDRESS ON FILE
DELGADO COLLAZO, HILDA         ADDRESS ON FILE
DELGADO COLLAZO, JOSE L        ADDRESS ON FILE
DELGADO COLLAZO, LIZ E.        ADDRESS ON FILE
DELGADO COLLAZO, YOLANDA       ADDRESS ON FILE
Delgado Colmenero, Jose        ADDRESS ON FILE
DELGADO COLOM, RAUL            ADDRESS ON FILE
DELGADO COLON MD, VICTOR       ADDRESS ON FILE
DELGADO COLON, ANGEL           ADDRESS ON FILE
Delgado Colon, Angel R         ADDRESS ON FILE
DELGADO COLON, BONNIBEL        ADDRESS ON FILE
DELGADO COLON, CARMEN          ADDRESS ON FILE
DELGADO COLON, CARMEN G        ADDRESS ON FILE
DELGADO COLON, EDGARDO         ADDRESS ON FILE
DELGADO COLON, EDGARDO         ADDRESS ON FILE
Delgado Colon, Emanuel         ADDRESS ON FILE
Delgado Colon, Emanuel         ADDRESS ON FILE
DELGADO COLON, ENRIQUE         ADDRESS ON FILE
DELGADO COLON, ERNESTO         ADDRESS ON FILE
DELGADO COLON, HECTOR          ADDRESS ON FILE
DELGADO COLON, JALEXMARA T     ADDRESS ON FILE
DELGADO COLON, JUDITH I        ADDRESS ON FILE
Delgado Colon, Justo           ADDRESS ON FILE
DELGADO COLON, LILLIAM         ADDRESS ON FILE
DELGADO COLON, LUIS A.         ADDRESS ON FILE
DELGADO COLON, LUIS M          ADDRESS ON FILE
DELGADO COLON, LUISA B         ADDRESS ON FILE
DELGADO COLON, NELSON          ADDRESS ON FILE
DELGADO COLON, OLGA A          ADDRESS ON FILE
DELGADO COLON, WANDA E         ADDRESS ON FILE
DELGADO COLON, YAIXA M.        ADDRESS ON FILE
DELGADO COLON, ZULMA           ADDRESS ON FILE
DELGADO COLON, ZULMA           ADDRESS ON FILE
DELGADO CORA, JOSE             ADDRESS ON FILE
DELGADO CORCINO, ASTRID M      ADDRESS ON FILE




                                                                           Page 2216 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2217 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO CORCINO, TANIA I.     ADDRESS ON FILE
DELGADO CORCINO, WANDA A.     ADDRESS ON FILE
DELGADO CORDERO, CARMEN       ADDRESS ON FILE
DELGADO CORDERO, PATRICIA     ADDRESS ON FILE
DELGADO CORDERO, SAMANTHA Z   ADDRESS ON FILE
DELGADO CORDOVA, DESIREE M    ADDRESS ON FILE
DELGADO CORIANO, AUREA        ADDRESS ON FILE
DELGADO CORIANO, JUAN A.      ADDRESS ON FILE
DELGADO CORIANO, MARGARITA    ADDRESS ON FILE
DELGADO CORIANO, MARIA V.     ADDRESS ON FILE
DELGADO CORNIER, CARLOS       ADDRESS ON FILE
DELGADO CORNIER, DOMINGO      ADDRESS ON FILE
DELGADO CORNIER, JEAN C       ADDRESS ON FILE
DELGADO CORNIER, JEAN C       ADDRESS ON FILE
DELGADO CORNIER, KATIRIA      ADDRESS ON FILE
DELGADO CORNIER, PABLO J      ADDRESS ON FILE
DELGADO CORNIER, SOLYMAR      ADDRESS ON FILE
Delgado Correa, Enrique       ADDRESS ON FILE
DELGADO CORREA, GREGORIO      ADDRESS ON FILE
DELGADO CORREA, IRMA          ADDRESS ON FILE
DELGADO CORREA, ROSA M.       ADDRESS ON FILE
DELGADO CORREA, ZENAIDA       ADDRESS ON FILE
DELGADO CORTES, DAVID         ADDRESS ON FILE
DELGADO CORTES, JESSICA       ADDRESS ON FILE
DELGADO CORTES, LUIS DIEGO    ADDRESS ON FILE
DELGADO CORTES, MARIO         ADDRESS ON FILE
DELGADO CORTIJO, BERTILDA     ADDRESS ON FILE
DELGADO COSTA, MARGARITA      ADDRESS ON FILE
DELGADO COTAL, TANIA          ADDRESS ON FILE
DELGADO COTTO, ANA MARIA      ADDRESS ON FILE
DELGADO COTTO, ANA MARIA      ADDRESS ON FILE
DELGADO COTTO, DAISY L        ADDRESS ON FILE
DELGADO COTTO, JOSE           ADDRESS ON FILE
Delgado Cotto, Luis R.        ADDRESS ON FILE
DELGADO COTTO, MARIA          ADDRESS ON FILE
DELGADO COTTO, MARIA M        ADDRESS ON FILE
DELGADO COTTO, SONIA          ADDRESS ON FILE
DELGADO COTTO, YETSENIA       ADDRESS ON FILE
DELGADO CRESPO, ERNESTO       ADDRESS ON FILE
DELGADO CRESPO, HORVEN        ADDRESS ON FILE
Delgado Crespo, Ismael        ADDRESS ON FILE
DELGADO CRESPO, JOSE          ADDRESS ON FILE
Delgado Crespo, Jose A        ADDRESS ON FILE
DELGADO CRESPO, MIRIAM        ADDRESS ON FILE
DELGADO CRESPO, SANTIAGO E    ADDRESS ON FILE
DELGADO CRESPO, ZORAIDA       ADDRESS ON FILE
DELGADO CRISPIN, MERCEDES     ADDRESS ON FILE
DELGADO CRUZ MD, RAFAEL       ADDRESS ON FILE
DELGADO CRUZ, ANTONIO         ADDRESS ON FILE
DELGADO CRUZ, ARLENE          ADDRESS ON FILE
DELGADO CRUZ, CARLOS I.       ADDRESS ON FILE
DELGADO CRUZ, DIOMEDES        ADDRESS ON FILE
DELGADO CRUZ, EDWARD          ADDRESS ON FILE
DELGADO CRUZ, GLADYS          ADDRESS ON FILE
DELGADO CRUZ, JORGE           ADDRESS ON FILE
DELGADO CRUZ, JORGE           ADDRESS ON FILE
DELGADO CRUZ, JOSE L          ADDRESS ON FILE
DELGADO CRUZ, JOSE V          ADDRESS ON FILE
DELGADO CRUZ, LUIS A.         ADDRESS ON FILE
DELGADO CRUZ, MAGGIE          ADDRESS ON FILE




                                                                          Page 2217 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2218 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO CRUZ, MARIA L           ADDRESS ON FILE
DELGADO CRUZ, MARIBEL           ADDRESS ON FILE
Delgado Cruz, Maribell          ADDRESS ON FILE
DELGADO CRUZ, MARITZA           ADDRESS ON FILE
DELGADO CRUZ, MARITZA I         ADDRESS ON FILE
DELGADO CRUZ, MARTA             ADDRESS ON FILE
DELGADO CRUZ, PEDRO             ADDRESS ON FILE
DELGADO CUEVAS, CARLA M         ADDRESS ON FILE
Delgado Cuevas, Enrique         ADDRESS ON FILE
Delgado Cuevas, Marta A         ADDRESS ON FILE
DELGADO DALMAU, CATHERYNE M     ADDRESS ON FILE
DELGADO DALMAU, MARIEL          ADDRESS ON FILE
Delgado Davila, Francisco       ADDRESS ON FILE
DELGADO DAVILA, JOSE J          ADDRESS ON FILE
Delgado Davila, Juben           ADDRESS ON FILE
DELGADO DAVILA, JUBEN           ADDRESS ON FILE
DELGADO DAVILA, WALTER          ADDRESS ON FILE
DELGADO DAVILA, ZORAIDA         ADDRESS ON FILE
DELGADO DAVIS, JOSE             ADDRESS ON FILE
DELGADO DE CHOUDENS, HECTOR     ADDRESS ON FILE
Delgado De Jesus, Angel M       ADDRESS ON FILE
DELGADO DE JESUS, CARLOS        ADDRESS ON FILE
DELGADO DE JESUS, CHRISTIAN     ADDRESS ON FILE
DELGADO DE JESUS, FRANKARLOS    ADDRESS ON FILE
DELGADO DE JESUS, GLADYS        ADDRESS ON FILE
DELGADO DE JESUS, JAVIER        ADDRESS ON FILE
DELGADO DE JESUS, JESUS         ADDRESS ON FILE
DELGADO DE JESUS, JUAN G        ADDRESS ON FILE
DELGADO DE JESUS, JUSTINA       ADDRESS ON FILE
Delgado De Jesus, Lissette      ADDRESS ON FILE
DELGADO DE JESUS, VANESSA       ADDRESS ON FILE
Delgado De La Cruz, Jose        ADDRESS ON FILE
DELGADO DE LA CRUZ, MARIA       ADDRESS ON FILE
Delgado De Leon, Neslie A.      ADDRESS ON FILE
DELGADO DE LEON, YEIDA          ADDRESS ON FILE
DELGADO DE MEDINA, JOCELYN      ADDRESS ON FILE
DELGADO DE NIEVES, LYDIA        ADDRESS ON FILE
DELGADO DECLET, NORAIDA         ADDRESS ON FILE
DELGADO DEIDA, SONIA            ADDRESS ON FILE
DELGADO DEL VALLE, JOSE A       ADDRESS ON FILE
DELGADO DEL VALLE, CARLOS       ADDRESS ON FILE
Delgado Del Valle, Paulette M   ADDRESS ON FILE
DELGADO DELAGADO, XIOMARA       ADDRESS ON FILE
DELGADO DELGADO, ADA G          ADDRESS ON FILE
DELGADO DELGADO, ANA C          ADDRESS ON FILE
DELGADO DELGADO, ANA G          ADDRESS ON FILE
DELGADO DELGADO, ANTHONY        ADDRESS ON FILE
DELGADO DELGADO, ARACELIS       ADDRESS ON FILE
DELGADO DELGADO, CARMEN L       ADDRESS ON FILE
DELGADO DELGADO, CARMEN L       ADDRESS ON FILE
DELGADO DELGADO, CARMEN M.      ADDRESS ON FILE
DELGADO DELGADO, EDGARDO        ADDRESS ON FILE
DELGADO DELGADO, ELVIN          ADDRESS ON FILE
DELGADO DELGADO, ESTEBAN        ADDRESS ON FILE
DELGADO DELGADO, GLADYS         ADDRESS ON FILE
DELGADO DELGADO, IVETTE         ADDRESS ON FILE
DELGADO DELGADO, JAIME          ADDRESS ON FILE
DELGADO DELGADO, JAVIER         ADDRESS ON FILE
DELGADO DELGADO, JOSE G.        ADDRESS ON FILE
DELGADO DELGADO, JUANITA        ADDRESS ON FILE




                                                                            Page 2218 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2219 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO DELGADO, JULIANNA       ADDRESS ON FILE
Delgado Delgado, Julio J        ADDRESS ON FILE
DELGADO DELGADO, LORENZO        ADDRESS ON FILE
Delgado Delgado, Lou A          ADDRESS ON FILE
DELGADO DELGADO, LUIS           ADDRESS ON FILE
DELGADO DELGADO, LUIS F.        ADDRESS ON FILE
Delgado Delgado, Luz S          ADDRESS ON FILE
DELGADO DELGADO, MARGARITA      ADDRESS ON FILE
DELGADO DELGADO, MARIA DEL      ADDRESS ON FILE
DELGADO DELGADO, MARIA DEL C.   ADDRESS ON FILE
DELGADO DELGADO, MARIA M        ADDRESS ON FILE
DELGADO DELGADO, MAYRABEL       ADDRESS ON FILE
DELGADO DELGADO, MERCEDES       ADDRESS ON FILE
DELGADO DELGADO, NELSON O.      ADDRESS ON FILE
DELGADO DELGADO, ODEMARIS       ADDRESS ON FILE
DELGADO DELGADO, ROBERTO        ADDRESS ON FILE
Delgado Delgado, Rochelle D.    ADDRESS ON FILE
DELGADO DELGADO, SONIA M.       ADDRESS ON FILE
DELGADO DELGADO, SOR V          ADDRESS ON FILE
DELGADO DELGADO, TERESITA       ADDRESS ON FILE
Delgado Delgado, Tomas F        ADDRESS ON FILE
DELGADO DELGADO, YALITZA        ADDRESS ON FILE
DELGADO DELGADO, ZENAIDA        ADDRESS ON FILE
DELGADO DIAZ, BLANCA N          ADDRESS ON FILE
DELGADO DIAZ, CARLOS            ADDRESS ON FILE
DELGADO DIAZ, CARMEN M          ADDRESS ON FILE
DELGADO DIAZ, CLARITZA          ADDRESS ON FILE
DELGADO DIAZ, DIANA             ADDRESS ON FILE
DELGADO DIAZ, EFRAIN            ADDRESS ON FILE
DELGADO DIAZ, EFRAIN            ADDRESS ON FILE
DELGADO DIAZ, EFRAIN            ADDRESS ON FILE
DELGADO DIAZ, ERIC              ADDRESS ON FILE
DELGADO DIAZ, ESAI              ADDRESS ON FILE
DELGADO DIAZ, ESAI              ADDRESS ON FILE
DELGADO DIAZ, EVELYN            ADDRESS ON FILE
DELGADO DIAZ, EZEQUIEL          ADDRESS ON FILE
DELGADO DIAZ, GIOVAN            ADDRESS ON FILE
DELGADO DIAZ, GIOVANNI          ADDRESS ON FILE
DELGADO DIAZ, HAROLD            ADDRESS ON FILE
DELGADO DIAZ, ISMAEL            ADDRESS ON FILE
DELGADO DIAZ, JOSE              ADDRESS ON FILE
DELGADO DIAZ, JOSE MANUEL       ADDRESS ON FILE
Delgado Diaz, Jose R            ADDRESS ON FILE
DELGADO DIAZ, JUAN              ADDRESS ON FILE
DELGADO DIAZ, KATYA             ADDRESS ON FILE
DELGADO DIAZ, KRIST             ADDRESS ON FILE
DELGADO DIAZ, MARCELO           ADDRESS ON FILE
DELGADO DIAZ, MARGARITA         ADDRESS ON FILE
DELGADO DIAZ, MARIA DE          ADDRESS ON FILE
DELGADO DIAZ, MARIA DEL C.      ADDRESS ON FILE
DELGADO DIAZ, MARILYN           ADDRESS ON FILE
DELGADO DIAZ, MAYRA             ADDRESS ON FILE
Delgado Diaz, Nelson E          ADDRESS ON FILE
DELGADO DIAZ, NIURKA I          ADDRESS ON FILE
DELGADO DIAZ, NOEL              ADDRESS ON FILE
DELGADO DIAZ, OMAR              ADDRESS ON FILE
DELGADO DIAZ, RICHARD           ADDRESS ON FILE
DELGADO DIAZ, ROBERTO J         ADDRESS ON FILE
Delgado Diaz, Sigfrido          ADDRESS ON FILE
DELGADO DIAZ, SONIA N           ADDRESS ON FILE




                                                                            Page 2219 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2220 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                      Address1                           Address2                  Address3   Address4   City         State   PostalCode   Country
DELGADO DIAZ, TASHAMARA            ADDRESS ON FILE
DELGADO DIAZ,BLSESSIN M.           ADDRESS ON FILE
DELGADO DIEPPA, ADELA              ADDRESS ON FILE
DELGADO DIPINI, ERIC               ADDRESS ON FILE
DELGADO DOMINGUEZ, CATHERINE       ADDRESS ON FILE
DELGADO DOMINGUEZ, MAYRA           ADDRESS ON FILE
DELGADO DOMINGUEZ, SANDRA          ADDRESS ON FILE
DELGADO DOMINICCI, ILEANA          ADDRESS ON FILE
DELGADO DOMINICCI, ILEANA          ADDRESS ON FILE
DELGADO DONATO, JESUS              ADDRESS ON FILE
DELGADO DONES, IRIS                ADDRESS ON FILE
DELGADO DONES, MIRAYDA             ADDRESS ON FILE
DELGADO DURAN, DIANA               ADDRESS ON FILE
DELGADO DURAN, EDGAR               ADDRESS ON FILE
DELGADO DURAN, EDGAR               ADDRESS ON FILE
DELGADO DURAN, VILMARIE            ADDRESS ON FILE
DELGADO ECHEVARRIA, RAMON          ADDRESS ON FILE
DELGADO ECHEVARRIA, VANESSA        ADDRESS ON FILE
DELGADO ELIZA, DORIS V             ADDRESS ON FILE
DELGADO EMMANUELLI, JAVIER R.      ADDRESS ON FILE
DELGADO EMMANUELLI, JULIO R.       ADDRESS ON FILE
DELGADO ENCARNACION, JUAN          ADDRESS ON FILE
DELGADO ERAUSQUIN, FELIX A         ADDRESS ON FILE
DELGADO ESPADA, CARMEN             ADDRESS ON FILE
DELGADO ESQUILIN, GLORIBEL         ADDRESS ON FILE
DELGADO ESQUILIN, GLORIBEL         ADDRESS ON FILE
DELGADO ESTRADA, MARIA M           ADDRESS ON FILE
DELGADO ESTRADA, TIXIA M.          ADDRESS ON FILE
DELGADO ESTRELLA, RAFAEL           ADDRESS ON FILE
DELGADO FALCON, ROSA               ADDRESS ON FILE
DELGADO FANTAUZZI, ONEIDA          ADDRESS ON FILE
DELGADO FARGAS, SHEILA             ADDRESS ON FILE
DELGADO FARIS, PEDRO LUIS          ADDRESS ON FILE
DELGADO FAVIER, GUISELLE           ADDRESS ON FILE
DELGADO FAVIER,PEDRO               ADDRESS ON FILE
DELGADO FEBO, DEBORAH              ADDRESS ON FILE
DELGADO FEBRES, ANTONIA            ADDRESS ON FILE
DELGADO FEBUS, CARMEN M.           ADDRESS ON FILE
DELGADO FEBUS, YESENIA             ADDRESS ON FILE
DELGADO FELICIANO, ANA             ADDRESS ON FILE
DELGADO FELICIANO, IVETTE Y        ADDRESS ON FILE
DELGADO FELICIANO, NATHANAEL       ADDRESS ON FILE
DELGADO FELICIANO,LUIS A.          ADDRESS ON FILE
DELGADO FERNANDEZ & RODRIGUEZ LL   PO BOX 11750                                                                       SAN JUAN     PR      00910‐1750
DELGADO FERNANDEZ & RODRIGUEZ LL   PO BOX 11750 FDEZ JUNCOS STATION                                                   SAN JUAN     PR      00910‐1750
DELGADO FERNANDEZ, CARMEN J        ADDRESS ON FILE
DELGADO FERNANDEZ, CARMEN M        ADDRESS ON FILE
DELGADO FERNANDEZ, EDWIN           ADDRESS ON FILE
DELGADO FERNANDEZ, GLORIA          ADDRESS ON FILE
DELGADO FERNANDEZ, GUILLERMINA     ADDRESS ON FILE
DELGADO FERNANDEZ, LISETTE DEL C   ADDRESS ON FILE
DELGADO FERNANDEZ, MARIA           ADDRESS ON FILE
DELGADO FERNANDEZ, RICARDO         ADDRESS ON FILE
DELGADO FERNANDEZ, RICARDO         ADDRESS ON FILE
DELGADO FERNANDEZ, ROSAURA         ADDRESS ON FILE
Delgado Ferrer, Luis               ADDRESS ON FILE
DELGADO FERRER, NILSA              ADDRESS ON FILE
DELGADO FIGUEORA, JACKELINE        ADDRESS ON FILE
DELGADO FIGUEROA, ABNER            ADDRESS ON FILE
DELGADO FIGUEROA, BERTIS           ADDRESS ON FILE




                                                                                 Page 2220 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2221 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO FIGUEROA, BERTIS        ADDRESS ON FILE
DELGADO FIGUEROA, BERTIS        ADDRESS ON FILE
DELGADO FIGUEROA, CAMEN H.      ADDRESS ON FILE
DELGADO FIGUEROA, DIANA M       ADDRESS ON FILE
DELGADO FIGUEROA, EDGARDO       ADDRESS ON FILE
DELGADO FIGUEROA, ELAINE        ADDRESS ON FILE
DELGADO FIGUEROA, EMILLY        ADDRESS ON FILE
DELGADO FIGUEROA, EMILY         ADDRESS ON FILE
DELGADO FIGUEROA, HECTOR G.     ADDRESS ON FILE
DELGADO FIGUEROA, IRIS W.       ADDRESS ON FILE
DELGADO FIGUEROA, JESSICA       ADDRESS ON FILE
DELGADO FIGUEROA, JOHANNA       ADDRESS ON FILE
DELGADO FIGUEROA, JOSE          ADDRESS ON FILE
Delgado Figueroa, Jose L        ADDRESS ON FILE
DELGADO FIGUEROA, JULIA M.      ADDRESS ON FILE
DELGADO FIGUEROA, KATHERINE     ADDRESS ON FILE
DELGADO FIGUEROA, MARIA         ADDRESS ON FILE
DELGADO FIGUEROA, MAYRA         ADDRESS ON FILE
DELGADO FIGUEROA, MICHELLE      ADDRESS ON FILE
DELGADO FIGUEROA, MILDRED       ADDRESS ON FILE
DELGADO FIGUEROA, MILLICENT     ADDRESS ON FILE
DELGADO FLECHA, HARRY           ADDRESS ON FILE
DELGADO FLECHA, HILDA           ADDRESS ON FILE
DELGADO FLORES, AMELIA          ADDRESS ON FILE
DELGADO FLORES, ANDRES          ADDRESS ON FILE
DELGADO FLORES, CESAR           ADDRESS ON FILE
DELGADO FLORES, ELSIE M.        ADDRESS ON FILE
DELGADO FLORES, JANET           ADDRESS ON FILE
DELGADO FLORES, JOSE            ADDRESS ON FILE
DELGADO FLORES, JOSE            ADDRESS ON FILE
DELGADO FLORES, LUIS            ADDRESS ON FILE
DELGADO FLORES, LUIS A.         ADDRESS ON FILE
DELGADO FLORES, MIGUEL          ADDRESS ON FILE
Delgado Flores, Miguel D.       ADDRESS ON FILE
DELGADO FLORES, RICHARD         ADDRESS ON FILE
DELGADO FLORES, TOMAS           ADDRESS ON FILE
DELGADO FLORES, WILLIAM         ADDRESS ON FILE
Delgado Fonseca, Maria Del C    ADDRESS ON FILE
DELGADO FONSECA, ROSALIE        ADDRESS ON FILE
DELGADO FONSECA, ZAYDA M        ADDRESS ON FILE
DELGADO FONTANEZ, ANDRES J      ADDRESS ON FILE
DELGADO FONTANEZ, ANNERYS       ADDRESS ON FILE
DELGADO FONTANEZ, DORCAS        ADDRESS ON FILE
DELGADO FORASTIERI, FRANCISCO   ADDRESS ON FILE
DELGADO FRANCO, JOSE            ADDRESS ON FILE
DELGADO FRANCO, VIVIANNE E      ADDRESS ON FILE
DELGADO FRANQUI, IDALISE        ADDRESS ON FILE
DELGADO FRANQUI, JOSE I         ADDRESS ON FILE
DELGADO FRED, ROBERTO           ADDRESS ON FILE
DELGADO FRESE, JOSE M           ADDRESS ON FILE
DELGADO FUENTES, CARMEN M.      ADDRESS ON FILE
DELGADO FUENTES, VERONICA       ADDRESS ON FILE
Delgado Garay, Irma D           ADDRESS ON FILE
DELGADO GARAY, OSVALDO          ADDRESS ON FILE
DELGADO GARAYUA, DINORA         ADDRESS ON FILE
DELGADO GARCES, EDGAR           ADDRESS ON FILE
DELGADO GARCIA, AMERICO         ADDRESS ON FILE
Delgado Garcia, Angel M         ADDRESS ON FILE
DELGADO GARCIA, DIANA           ADDRESS ON FILE
DELGADO GARCIA, EDGAR           ADDRESS ON FILE




                                                                            Page 2221 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2222 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO GARCIA, ELBA             ADDRESS ON FILE
DELGADO GARCIA, ELISAMUEL        ADDRESS ON FILE
DELGADO GARCIA, FRANCISCO        ADDRESS ON FILE
DELGADO GARCIA, FRANCISCO        ADDRESS ON FILE
DELGADO GARCIA, GUARINA          ADDRESS ON FILE
DELGADO GARCIA, JUAN             ADDRESS ON FILE
DELGADO GARCIA, JULIO            ADDRESS ON FILE
DELGADO GARCIA, JULYSE           ADDRESS ON FILE
DELGADO GARCIA, MARIA A          ADDRESS ON FILE
DELGADO GARCIA, MARIA DE LOS A   ADDRESS ON FILE
DELGADO GARCIA, MARTIN           ADDRESS ON FILE
DELGADO GARCIA, MITCHEL          ADDRESS ON FILE
DELGADO GARCIA, MONICA           ADDRESS ON FILE
DELGADO GARCIA, SARA             ADDRESS ON FILE
DELGADO GARCIA, SOLANGE          ADDRESS ON FILE
DELGADO GARCIA, SORMA D          ADDRESS ON FILE
DELGADO GARCIA, THANIA O         ADDRESS ON FILE
DELGADO GARCIA, YAMIL            ADDRESS ON FILE
DELGADO GERENA, LUIS             ADDRESS ON FILE
DELGADO GERONIMO, AMAURY         ADDRESS ON FILE
DELGADO GILEWSKI, JOHN           ADDRESS ON FILE
DELGADO GOLDILLA, GEISHALYS      ADDRESS ON FILE
DELGADO GOLDILLA, GEISHALYS      ADDRESS ON FILE
DELGADO GOMEZ, ANGELICA          ADDRESS ON FILE
DELGADO GOMEZ, LILLIAN E         ADDRESS ON FILE
DELGADO GOMEZ, MARGIE            ADDRESS ON FILE
DELGADO GOMEZ, MIGUEL            ADDRESS ON FILE
DELGADO GONZALEZ, ALBILDA        ADDRESS ON FILE
DELGADO GONZALEZ, ANA LUZ        ADDRESS ON FILE
DELGADO GONZALEZ, ANDRISEL       ADDRESS ON FILE
DELGADO GONZALEZ, ANTONIA        ADDRESS ON FILE
DELGADO GONZALEZ, AWILDA         ADDRESS ON FILE
DELGADO GONZALEZ, CECILIA        ADDRESS ON FILE
DELGADO GONZALEZ, CHRISTIAN      ADDRESS ON FILE
DELGADO GONZALEZ, DALILA         ADDRESS ON FILE
DELGADO GONZALEZ, ELBA           ADDRESS ON FILE
DELGADO GONZALEZ, ELIZABETH      ADDRESS ON FILE
DELGADO GONZALEZ, EVELYN         ADDRESS ON FILE
Delgado Gonzalez, Francisco      ADDRESS ON FILE
DELGADO GONZALEZ, IRMA D         ADDRESS ON FILE
DELGADO GONZALEZ, JOEL           ADDRESS ON FILE
DELGADO GONZALEZ, JORGE          ADDRESS ON FILE
DELGADO GONZALEZ, JOSE           ADDRESS ON FILE
DELGADO GONZALEZ, JOSE A.        ADDRESS ON FILE
DELGADO GONZALEZ, JOSE I         ADDRESS ON FILE
DELGADO GONZALEZ, JUAN           ADDRESS ON FILE
DELGADO GONZALEZ, JUAN           ADDRESS ON FILE
DELGADO GONZALEZ, LEE KAMIL      ADDRESS ON FILE
DELGADO GONZALEZ, LIZA           ADDRESS ON FILE
DELGADO GONZALEZ, LIZA M.        ADDRESS ON FILE
DELGADO GONZALEZ, LUCY           ADDRESS ON FILE
DELGADO GONZALEZ, MARIA M        ADDRESS ON FILE
DELGADO GONZALEZ, MARIA T        ADDRESS ON FILE
DELGADO GONZALEZ, MARIA V        ADDRESS ON FILE
DELGADO GONZALEZ, MIGUEL         ADDRESS ON FILE
DELGADO GONZALEZ, PRICILA        ADDRESS ON FILE
DELGADO GONZALEZ, SANDRA I       ADDRESS ON FILE
DELGADO GONZALEZ, SARAH          ADDRESS ON FILE
DELGADO GONZALEZ, SONIA M        ADDRESS ON FILE
DELGADO GONZALEZ, WILLIAM        ADDRESS ON FILE




                                                                             Page 2222 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2223 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO GONZALEZ, WILMA          ADDRESS ON FILE
DELGADO GONZALEZ, YASIRA         ADDRESS ON FILE
DELGADO GRAULAU, BEVERLY         ADDRESS ON FILE
DELGADO GREENOUGH, ROBERTO       ADDRESS ON FILE
DELGADO GREGO, CARMEN E          ADDRESS ON FILE
DELGADO GREGO, IRIS T            ADDRESS ON FILE
Delgado Greo, Zulma A            ADDRESS ON FILE
DELGADO GRUEL, RAFAEL            ADDRESS ON FILE
DELGADO GUADALUPE, EDWIN         ADDRESS ON FILE
DELGADO GUADALUPE, EDWIN         ADDRESS ON FILE
DELGADO GUADALUPE, IRMA          ADDRESS ON FILE
DELGADO GUADALUPE, RUTH E        ADDRESS ON FILE
DELGADO GUEVARA, JENNIFER        ADDRESS ON FILE
DELGADO GUIDICELLY, OLGA         ADDRESS ON FILE
Delgado Guidicelly, Ramonita     ADDRESS ON FILE
DELGADO GUIDICELLY, RAMONITA     ADDRESS ON FILE
DELGADO GUTIERREZ, ISRAEL J      ADDRESS ON FILE
DELGADO GUTIERREZ, JOSE A        ADDRESS ON FILE
Delgado Gutierrez, Juan          ADDRESS ON FILE
DELGADO GUTIERREZ, JUANITA       ADDRESS ON FILE
DELGADO GUTIERREZ, RAFAELA       ADDRESS ON FILE
DELGADO GUZMAN, CARMEN D.        ADDRESS ON FILE
Delgado Guzman, Felix M.         ADDRESS ON FILE
DELGADO GUZMAN, OMAR M           ADDRESS ON FILE
DELGADO GUZMAN, RICARDO          ADDRESS ON FILE
DELGADO GUZMAN, RUTH I           ADDRESS ON FILE
DELGADO GUZMAN, RUTH I           ADDRESS ON FILE
DELGADO GUZMAN, XAVIER           ADDRESS ON FILE
DELGADO GUZMAN, XAVIER           ADDRESS ON FILE
Delgado Hance, Jezenia           ADDRESS ON FILE
DELGADO HERNANDEZ, ALEXANDRA     ADDRESS ON FILE
DELGADO HERNANDEZ, ANTONIA       ADDRESS ON FILE
DELGADO HERNANDEZ, CARMEN L      ADDRESS ON FILE
DELGADO HERNANDEZ, CRISTIAN      ADDRESS ON FILE
DELGADO HERNANDEZ, EDWIN         ADDRESS ON FILE
DELGADO HERNANDEZ, ELADIA        ADDRESS ON FILE
DELGADO HERNANDEZ, EVELYN        ADDRESS ON FILE
DELGADO HERNANDEZ, FELIX         ADDRESS ON FILE
DELGADO HERNANDEZ, GILBERTO      ADDRESS ON FILE
DELGADO HERNANDEZ, IVEMAR        ADDRESS ON FILE
DELGADO HERNANDEZ, IVEMAR        ADDRESS ON FILE
DELGADO HERNANDEZ, IVEMAR        ADDRESS ON FILE
DELGADO HERNANDEZ, JONATHAN      ADDRESS ON FILE
DELGADO HERNANDEZ, JOSE          ADDRESS ON FILE
DELGADO HERNANDEZ, JUAN          ADDRESS ON FILE
DELGADO HERNANDEZ, MARIA A       ADDRESS ON FILE
DELGADO HERNANDEZ, MARIA DE      ADDRESS ON FILE
DELGADO HERNANDEZ, MARIA DEL C   ADDRESS ON FILE
DELGADO HERNANDEZ, MARIA V.      ADDRESS ON FILE
DELGADO HERNANDEZ, MARISEL       ADDRESS ON FILE
DELGADO HERNANDEZ, MYRIAM        ADDRESS ON FILE
DELGADO HERNANDEZ, OLBEN         ADDRESS ON FILE
DELGADO HERNANDEZ, OLIVER        ADDRESS ON FILE
DELGADO HERNANDEZ, RADAMES       ADDRESS ON FILE
DELGADO HERNANDEZ, SOCORRO       ADDRESS ON FILE
DELGADO HERNANDEZ, SONIA         ADDRESS ON FILE
DELGADO HERNANDEZ, SURIA         ADDRESS ON FILE
Delgado Hernandez, Victor A      ADDRESS ON FILE
DELGADO HERNANDEZ, WANDA I       ADDRESS ON FILE
DELGADO HIRALDO, AIDA E.         ADDRESS ON FILE




                                                                             Page 2223 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2224 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                         Address1                     Address2                                    Address3              Address4   City         State   PostalCode   Country
DELGADO HIRALDO, CRISTOBAL            ADDRESS ON FILE
DELGADO HIRALDO, MIGDALIA             ADDRESS ON FILE
DELGADO HIRALDO, SHEILLY M            ADDRESS ON FILE
DELGADO HORRACH, LIZZETTE             ADDRESS ON FILE
DELGADO HUERTAS, ANTONIO              ADDRESS ON FILE
DELGADO HUERTAS, MATILDE              ADDRESS ON FILE
DELGADO HUFF, MICHELLE                ADDRESS ON FILE
DELGADO HYLAND, ANAISA                ADDRESS ON FILE
DELGADO HYLAND, JORGE L               ADDRESS ON FILE
DELGADO IMBERT, MARIA DEL             ADDRESS ON FILE
DELGADO INOSTROZA, LYDIA H            ADDRESS ON FILE
DELGADO INSTALATORS, CORP             HC 07 BOX                                                        34612                                    CAGUAS       PR      00727
DELGADO IRIZARRY WILSON Y OTROS       LCDO. LUIS LÓPEZ SCHROEDER   ESTUDIO LEGAL 2153 C.S.P.                  CALLE LOÍZA #2151                 SAN JUAN     PR      00913‐4512
                                                                                                              ARTERIAL HOSTOS #239
DELGADO IRIZARRY WILSON Y OTROS       LCDO. RICARDO DE LA VILLA    CAPITAL CENTER BUILDING TORRE SUR SUITE 110HATO REY PR                       HATO REY     PR      00918‐1477
DELGADO IRIZARRY, ASTRID              ADDRESS ON FILE
DELGADO IRIZARRY, CARLOS              ADDRESS ON FILE
DELGADO IRIZARRY, JUAN                ADDRESS ON FILE
DELGADO IRIZARRY, TOMAS F             ADDRESS ON FILE
DELGADO IRIZARRY, TOMAS F.            ADDRESS ON FILE
DELGADO IRIZARRY, VERONICA            ADDRESS ON FILE
DELGADO JAVIER, HILDELIZA             ADDRESS ON FILE
DELGADO JAVIER, RAMONA P.             ADDRESS ON FILE
Delgado Jimenez, Angel                ADDRESS ON FILE
DELGADO JIMENEZ, ANGEL                ADDRESS ON FILE
DELGADO JIMENEZ, ANGELINA             ADDRESS ON FILE
DELGADO JIMENEZ, MARIA N              ADDRESS ON FILE
DELGADO JIMENEZ, OSCAR                ADDRESS ON FILE
Delgado Jimenez, Oscar L.             ADDRESS ON FILE
Delgado Jimenez, Vivian               ADDRESS ON FILE
DELGADO JONES, FELIX                  ADDRESS ON FILE
Delgado Jurado, Melvin                ADDRESS ON FILE
DELGADO JUSINO, OTNIEL                ADDRESS ON FILE
DELGADO LABOY, ANAIS                  ADDRESS ON FILE
DELGADO LABOY, ANGEL L                ADDRESS ON FILE
DELGADO LABOY, LYDIA                  ADDRESS ON FILE
DELGADO LANCARA, ARLENE               ADDRESS ON FILE
DELGADO LANCARA, BRENDA               ADDRESS ON FILE
DELGADO LANDING, GILBERTO             ADDRESS ON FILE
DELGADO LAVIENA, HERIBERTO            ADDRESS ON FILE
DELGADO LEBRON, ANA M                 ADDRESS ON FILE
DELGADO LEBRON, ANDRES                ADDRESS ON FILE
DELGADO LEBRON, GLENDA LEE            ADDRESS ON FILE
DELGADO LEBRON, JAIME                 ADDRESS ON FILE
DELGADO LEBRON, JOANNE                ADDRESS ON FILE
DELGADO LEBRON, MARIE WALESKA         ADDRESS ON FILE
DELGADO LEBRON, MIGDALIA              ADDRESS ON FILE
DELGADO LEBRON, RAFAEL                ADDRESS ON FILE
DELGADO LEBRON, SAMUEL                ADDRESS ON FILE
DELGADO LECAROZ MD, LOURDES           ADDRESS ON FILE
DELGADO LLEVARA, VILMARY E            ADDRESS ON FILE
DELGADO LOPEZ DE VICTORIA, TAMARA D   ADDRESS ON FILE
DELGADO LOPEZ, ANA                    ADDRESS ON FILE
DELGADO LOPEZ, ANTONIO                ADDRESS ON FILE
DELGADO LOPEZ, BENJAMIN               ADDRESS ON FILE
DELGADO LOPEZ, CAMILLE                ADDRESS ON FILE
DELGADO LOPEZ, CARMEN                 ADDRESS ON FILE
DELGADO LOPEZ, CHRISTIAN              ADDRESS ON FILE
DELGADO LOPEZ, DAMARIS                ADDRESS ON FILE
DELGADO LOPEZ, DAMARIS                ADDRESS ON FILE




                                                                                               Page 2224 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2225 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO LOPEZ, DOLLY V.         ADDRESS ON FILE
DELGADO LOPEZ, EDWIN            ADDRESS ON FILE
DELGADO LOPEZ, EMMA M           ADDRESS ON FILE
DELGADO LOPEZ, ERWIN            ADDRESS ON FILE
DELGADO LOPEZ, EZEQUIEL         ADDRESS ON FILE
DELGADO LOPEZ, GERARDO          ADDRESS ON FILE
DELGADO LOPEZ, ISMAEL           ADDRESS ON FILE
DELGADO LOPEZ, JENNIFER         ADDRESS ON FILE
DELGADO LOPEZ, JORGE            ADDRESS ON FILE
DELGADO LOPEZ, JUAN             ADDRESS ON FILE
DELGADO LOPEZ, LUIS E           ADDRESS ON FILE
DELGADO LOPEZ, LUZ              ADDRESS ON FILE
DELGADO LOPEZ, RAMON            ADDRESS ON FILE
DELGADO LOPEZ, ROBERTO          ADDRESS ON FILE
DELGADO LOPEZ, RUBEN            ADDRESS ON FILE
DELGADO LOPEZ, SANDRA           ADDRESS ON FILE
DELGADO LOPEZ, SHEILYN          ADDRESS ON FILE
DELGADO LOPEZ, SILVIA E.        ADDRESS ON FILE
DELGADO LOPEZ, SONIA E          ADDRESS ON FILE
DELGADO LOPEZ, SONIA I          ADDRESS ON FILE
DELGADO LOPEZ, WENDY I          ADDRESS ON FILE
DELGADO LORENZI, SOLEYL M       ADDRESS ON FILE
DELGADO LOZADA, ADALIDIA        ADDRESS ON FILE
DELGADO LOZADA, CATALINO        ADDRESS ON FILE
DELGADO LOZADA, ERIC            ADDRESS ON FILE
DELGADO LOZADA, HILDA M         ADDRESS ON FILE
DELGADO LOZADA, JOSE            ADDRESS ON FILE
DELGADO LUCCA, JOSE             ADDRESS ON FILE
DELGADO LUGO, NILDA L           ADDRESS ON FILE
Delgado Lugo, Sigfredo          ADDRESS ON FILE
DELGADO LUQUE, KATHERINE        ADDRESS ON FILE
DELGADO LUQUE, KATHERINE        ADDRESS ON FILE
Delgado Malave, Angel R         ADDRESS ON FILE
DELGADO MALAVE, CARY            ADDRESS ON FILE
Delgado Malave, Hower           ADDRESS ON FILE
DELGADO MALAVE, JOSE            ADDRESS ON FILE
DELGADO MALAVE, MADELINE        ADDRESS ON FILE
DELGADO MALAVE, VIVIAN          ADDRESS ON FILE
DELGADO MALDONADO, ALBERT       ADDRESS ON FILE
Delgado Maldonado, Angel E      ADDRESS ON FILE
Delgado Maldonado, Carmelo      ADDRESS ON FILE
DELGADO MALDONADO, EYLEEN       ADDRESS ON FILE
Delgado Maldonado, Hector       ADDRESS ON FILE
DELGADO MALDONADO, JACQUELINE   ADDRESS ON FILE
DELGADO MALDONADO, JANNET       ADDRESS ON FILE
DELGADO MALDONADO, JUAN         ADDRESS ON FILE
DELGADO MALDONADO, JULIO E      ADDRESS ON FILE
DELGADO MALDONADO, ROBERTO      ADDRESS ON FILE
DELGADO MANGUAL, CARLA          ADDRESS ON FILE
DELGADO MANGUAL, OVIDIO         ADDRESS ON FILE
DELGADO MARCANO, KEVIN J        ADDRESS ON FILE
DELGADO MARIN, MIGUEL A.        ADDRESS ON FILE
DELGADO MARQUEZ, ELIZABETH      ADDRESS ON FILE
DELGADO MARQUEZ, JIMMY          ADDRESS ON FILE
DELGADO MARQUEZ, MILAGROS       ADDRESS ON FILE
DELGADO MARQUEZ, MILAGROS       ADDRESS ON FILE
DELGADO MARQUEZ, VICTOR         ADDRESS ON FILE
DELGADO MARRERO, ADA B          ADDRESS ON FILE
Delgado Marrero, Luis A         ADDRESS ON FILE
DELGADO MARRERO, LYDELISSE      ADDRESS ON FILE




                                                                            Page 2225 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2226 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO MARRERO, MAGDA               ADDRESS ON FILE
DELGADO MARRERO, MAGDA A             ADDRESS ON FILE
DELGADO MARRERO, MAYRA E             ADDRESS ON FILE
Delgado Marrero, Miguel A            ADDRESS ON FILE
DELGADO MARRERO, WALESKA             ADDRESS ON FILE
DELGADO MARTI, HUGO                  ADDRESS ON FILE
DELGADO MARTI, MARIBEL               ADDRESS ON FILE
DELGADO MARTI, VIOLETA               ADDRESS ON FILE
Delgado Martinez, Abimelec           ADDRESS ON FILE
DELGADO MARTINEZ, ALEXIS             ADDRESS ON FILE
DELGADO MARTINEZ, ANA                ADDRESS ON FILE
DELGADO MARTINEZ, ANA D              ADDRESS ON FILE
DELGADO MARTINEZ, CARMEN D           ADDRESS ON FILE
DELGADO MARTINEZ, ELIZABETH          ADDRESS ON FILE
DELGADO MARTINEZ, ELIZABETH          ADDRESS ON FILE
Delgado Martinez, Fernando L         ADDRESS ON FILE
DELGADO MARTINEZ, GEILY              ADDRESS ON FILE
DELGADO MARTINEZ, GUILLERMO          ADDRESS ON FILE
DELGADO MARTINEZ, HERNAN             ADDRESS ON FILE
DELGADO MARTINEZ, ILIANA             ADDRESS ON FILE
DELGADO MARTINEZ, JONATHAN           ADDRESS ON FILE
DELGADO MARTINEZ, JOSE               ADDRESS ON FILE
DELGADO MARTINEZ, JOSE               ADDRESS ON FILE
DELGADO MARTINEZ, LILLIAN I          ADDRESS ON FILE
DELGADO MARTINEZ, LUCAS              ADDRESS ON FILE
DELGADO MARTINEZ, LUIS A             ADDRESS ON FILE
DELGADO MARTINEZ, MARIA A            ADDRESS ON FILE
DELGADO MARTINEZ, MARIA DEL          ADDRESS ON FILE
DELGADO MARTINEZ, MARIA DEL CARMEN   ADDRESS ON FILE
DELGADO MARTINEZ, MARILYN            ADDRESS ON FILE
DELGADO MARTINEZ, MILAGROS           ADDRESS ON FILE
DELGADO MARTINEZ, PEDRO              ADDRESS ON FILE
DELGADO MARTINEZ, RAMON L            ADDRESS ON FILE
DELGADO MARTINEZ, SIFREDO            ADDRESS ON FILE
DELGADO MARTINEZ, SOL E              ADDRESS ON FILE
DELGADO MARTINEZ, WILLIAM            ADDRESS ON FILE
DELGADO MARTORELL, JOSE A            ADDRESS ON FILE
DELGADO MARTORELL, RAFAEL            ADDRESS ON FILE
DELGADO MATEO MD, ADALIZZIE          ADDRESS ON FILE
DELGADO MATEO, ANA C                 ADDRESS ON FILE
Delgado Mateo, Felix A               ADDRESS ON FILE
Delgado Mateo, Pedro A               ADDRESS ON FILE
DELGADO MATEO, PEDRO R               ADDRESS ON FILE
DELGADO MATEO, RAFAEL A              ADDRESS ON FILE
DELGADO MATEU, CARLOS                ADDRESS ON FILE
Delgado Mateu, Hector R.             ADDRESS ON FILE
DELGADO MATIAS, JUAN                 ADDRESS ON FILE
DELGADO MATIAS, MABEL                ADDRESS ON FILE
Delgado Matos, Angel L               ADDRESS ON FILE
DELGADO MATOS, HILDA                 ADDRESS ON FILE
DELGADO MATOS, JOSE E.               ADDRESS ON FILE
DELGADO MATOS, VANESSA               ADDRESS ON FILE
DELGADO MATOS, VANESSA               ADDRESS ON FILE
DELGADO MATTOS, ONEIDA               ADDRESS ON FILE
DELGADO MAURA MD, JANITZA            ADDRESS ON FILE
DELGADO MAYORGA, MARTA I.            ADDRESS ON FILE
DELGADO MAYSONET, JUSTO M            ADDRESS ON FILE
DELGADO MAYSONET, LORMARIEL          ADDRESS ON FILE
DELGADO MAYSONET, LORMARIEL          ADDRESS ON FILE
DELGADO MEDERO, ANGEL M              ADDRESS ON FILE




                                                                                 Page 2226 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2227 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                   Address1                                 Address2                                     Address3   Address4   City        State   PostalCode   Country
DELGADO MEDERO, GABRIELA I.     ADDRESS ON FILE
DELGADO MEDERO, LEIMARYS        ADDRESS ON FILE
DELGADO MEDERO, LEIMARYS        ADDRESS ON FILE
DELGADO MEDERO, LUIS            ADDRESS ON FILE
DELGADO MEDERO, LUIS R          ADDRESS ON FILE
DELGADO MEDINA, ANDREA          ADDRESS ON FILE
DELGADO MEDINA, EDGARDO         ADDRESS ON FILE
DELGADO MEDINA, FELIX           ADDRESS ON FILE
DELGADO MEDINA, GRACE           ADDRESS ON FILE
DELGADO MEDINA, IDA             ADDRESS ON FILE
DELGADO MEDINA, JANET           ADDRESS ON FILE
DELGADO MEDINA, MARIA DEL C     ADDRESS ON FILE
DELGADO MEDINA, TATIANA         ADDRESS ON FILE
DELGADO MEDINA, TATIANA         ADDRESS ON FILE
DELGADO MEDINA, VICTORIA        ADDRESS ON FILE
DELGADO MEDINA, YATZIA          ADDRESS ON FILE
DELGADO MEJIAS MD, MILTON       ADDRESS ON FILE
DELGADO MEJIAS, BRUNILDA        ADDRESS ON FILE
DELGADO MEJIAS, DIANA           ADDRESS ON FILE
DELGADO MEJIAS, EDGARDO         ADDRESS ON FILE
DELGADO MEJIAS, HELEN           ADDRESS ON FILE
DELGADO MEJIL, CARMEN           ADDRESS ON FILE
DELGADO MELENDEZ, AIDA E        ADDRESS ON FILE
DELGADO MELENDEZ, BERSIS        ADDRESS ON FILE
DELGADO MELENDEZ, GLORIA        ADDRESS ON FILE
DELGADO MELENDEZ, GLORIA        ADDRESS ON FILE
Delgado Melendez, Jose A        ADDRESS ON FILE
DELGADO MELENDEZ, KARLA         ADDRESS ON FILE
DELGADO MELENDEZ, LEIDA E       ADDRESS ON FILE
DELGADO MELENDEZ, LUDIVINA      ADDRESS ON FILE
DELGADO MELENDEZ, MELBA         ADDRESS ON FILE
DELGADO MELENDEZ, NELSON A      ADDRESS ON FILE
DELGADO MELENDEZ, YEISA M       ADDRESS ON FILE
DELGADO MELENDEZ, ZAMALY        ADDRESS ON FILE
DELGADO MELENDEZ, ZORAIMA       ADDRESS ON FILE
DELGADO MENA, LACKMEE           ADDRESS ON FILE
DELGADO MENDEZ, CARMEN          ADDRESS ON FILE
DELGADO MENDEZ, JOSE            ADDRESS ON FILE
DELGADO MENDEZ, LETICIA         ADDRESS ON FILE
DELGADO MENDEZ, LORENA          ADDRESS ON FILE
DELGADO MENENDEZ, MARIA DE L    ADDRESS ON FILE
Delgado Mercado III, Santiago   ADDRESS ON FILE
DELGADO MERCADO, FLORIDALIA     ADDRESS ON FILE
DELGADO MERCADO, ILIANEXCIS C   ADDRESS ON FILE
DELGADO MERCADO, NEKECHA M      ADDRESS ON FILE
DELGADO MERCADO, NORMA          ADDRESS ON FILE
DELGADO MERCADO, NORMA          ADDRESS ON FILE
DELGADO MERCADO, NORMA I.       ADDRESS ON FILE
DELGADO MERCADO, SANTIAGO       ADDRESS ON FILE
DELGADO MERCADO, SHARLEEN       ADDRESS ON FILE
DELGADO MERCED, FRANCISCO       ADDRESS ON FILE
DELGADO MERCED, FRANCISCO       ADDRESS ON FILE
DELGADO MERCED, JUAN            JUAN DELGADO MERCED AND FELIX TAPIA (CONFINSTITUCION 1000 PO BOX 10009                                      GUAYAMA     PR      00785
DELGADO MERCED, MARGARITA       ADDRESS ON FILE
DELGADO MERCED, RICHARD         ADDRESS ON FILE
DELGADO MIELES, DORA            ADDRESS ON FILE
DELGADO MIELES, LUZ             ADDRESS ON FILE
DELGADO MILLAN, ERNESTO         ADDRESS ON FILE
DELGADO MILLAN, EVELYN          ADDRESS ON FILE
DELGADO MILLAN, LILA            ADDRESS ON FILE




                                                                                                     Page 2227 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2228 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO MILLAN, MARIA E       ADDRESS ON FILE
DELGADO MIRANDA, EDUARDO      ADDRESS ON FILE
DELGADO MIRANDA, IRMARIE      ADDRESS ON FILE
DELGADO MIRANDA, JUAN         ADDRESS ON FILE
DELGADO MIRANDA, OMAIRA       ADDRESS ON FILE
DELGADO MIRANDA, YARLINE      ADDRESS ON FILE
DELGADO MOJICA, DAVID         ADDRESS ON FILE
DELGADO MOJICA, FRANCISCO     ADDRESS ON FILE
DELGADO MOJICA, JULIO         ADDRESS ON FILE
DELGADO MOJICA, PAULA         ADDRESS ON FILE
Delgado Molina, Alfredo R     ADDRESS ON FILE
Delgado Molina, Jose A        ADDRESS ON FILE
DELGADO MONGE, ANGELINA       ADDRESS ON FILE
DELGADO MONTALVO, CHERYL      ADDRESS ON FILE
DELGADO MONTALVO, FELIX       ADDRESS ON FILE
DELGADO MONTALVO, IVETTE      ADDRESS ON FILE
DELGADO MONTALVO, MARILUZ     ADDRESS ON FILE
DELGADO MONTANEZ, ELSIE Y     ADDRESS ON FILE
DELGADO MONTANEZ, HAIDZA M    ADDRESS ON FILE
DELGADO MONTANEZ, SANTOS      ADDRESS ON FILE
DELGADO MONTES, ALEXIS        ADDRESS ON FILE
DELGADO MONTES, CHRISTIAN     ADDRESS ON FILE
DELGADO MONTES, MARGARITA     ADDRESS ON FILE
DELGADO MORA, ALEJANDRO       ADDRESS ON FILE
DELGADO MORA, CARMEN          ADDRESS ON FILE
DELGADO MORA, ELGA CONSUELO   ADDRESS ON FILE
DELGADO MORA, OSCAR DANIEL    ADDRESS ON FILE
DELGADO MORA, YESSICA         ADDRESS ON FILE
DELGADO MORALES, ABDIEL       ADDRESS ON FILE
DELGADO MORALES, AGNERIS      ADDRESS ON FILE
DELGADO MORALES, ALEXANDRA    ADDRESS ON FILE
DELGADO MORALES, ALEXANDRA    ADDRESS ON FILE
DELGADO MORALES, ANA R        ADDRESS ON FILE
DELGADO MORALES, ANGEL        ADDRESS ON FILE
DELGADO MORALES, DANIEL       ADDRESS ON FILE
DELGADO MORALES, ELIONEL      ADDRESS ON FILE
DELGADO MORALES, FELIX        ADDRESS ON FILE
DELGADO MORALES, GERMAN       ADDRESS ON FILE
DELGADO MORALES, IVETTE       ADDRESS ON FILE
DELGADO MORALES, JESUS E      ADDRESS ON FILE
Delgado Morales, Joel C       ADDRESS ON FILE
Delgado Morales, Josué C.     ADDRESS ON FILE
DELGADO MORALES, KATHERINE    ADDRESS ON FILE
DELGADO MORALES, LINNETTE     ADDRESS ON FILE
DELGADO MORALES, LUIS         ADDRESS ON FILE
DELGADO MORALES, LUZ E        ADDRESS ON FILE
DELGADO MORALES, LUZ E.       ADDRESS ON FILE
DELGADO MORALES, MARIBEL      ADDRESS ON FILE
DELGADO MORALES, NELLY        ADDRESS ON FILE
Delgado Morales, Ramon        ADDRESS ON FILE
Delgado Morales, Ramon        ADDRESS ON FILE
DELGADO MORALES, ROXANNA E.   ADDRESS ON FILE
DELGADO MORALES, SMYRNA       ADDRESS ON FILE
DELGADO MORALES, TERESA       ADDRESS ON FILE
DELGADO MORALES, WILFREDO     ADDRESS ON FILE
DELGADO MORAN, CARMEN         ADDRESS ON FILE
DELGADO MORAN, LYDIA M        ADDRESS ON FILE
DELGADO MOTTA, BETZAIDA       ADDRESS ON FILE
DELGADO MOURA, MIGUEL A.      ADDRESS ON FILE
DELGADO MULERO, MARIA C       ADDRESS ON FILE




                                                                          Page 2228 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2229 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO MULERO, NELSON         ADDRESS ON FILE
DELGADO MUNOZ, EDUARDO         ADDRESS ON FILE
DELGADO NALES, CARLOS          ADDRESS ON FILE
Delgado Nales, Carlos I        ADDRESS ON FILE
Delgado Navarro, Adelaida      ADDRESS ON FILE
DELGADO NAVARRO, ANGEL         ADDRESS ON FILE
Delgado Navarro, Benito        ADDRESS ON FILE
DELGADO NAVARRO, CARMEN M      ADDRESS ON FILE
DELGADO NAVARRO, DORIS         ADDRESS ON FILE
DELGADO NAVARRO, JESUS         ADDRESS ON FILE
DELGADO NAVARRO, LEONARDO      ADDRESS ON FILE
DELGADO NAVARRO, SONIA L       ADDRESS ON FILE
DELGADO NAZARIO, CARLOS        ADDRESS ON FILE
DELGADO NAZARIO, JEANETTE      ADDRESS ON FILE
DELGADO NAZARIO, JOSE          ADDRESS ON FILE
DELGADO NAZARIO, MARICELA      ADDRESS ON FILE
DELGADO NAZARIO, WALDEMAR      ADDRESS ON FILE
DELGADO NAZARIO, YAHAIRA       ADDRESS ON FILE
DELGADO NEGRON, HECTOR         ADDRESS ON FILE
DELGADO NEGRON, HIPOLITO       ADDRESS ON FILE
DELGADO NEGRON, JONATHAN       ADDRESS ON FILE
DELGADO NEGRON, OMAYRA         ADDRESS ON FILE
DELGADO NEGRON, ROBERTO O.     ADDRESS ON FILE
DELGADO NEGRONI, ENITH         ADDRESS ON FILE
DELGADO NIEVES, ALEXANDRA      ADDRESS ON FILE
DELGADO NIEVES, BRENDA         ADDRESS ON FILE
DELGADO NIEVES, JAIME          ADDRESS ON FILE
Delgado Nieves, Joan E         ADDRESS ON FILE
DELGADO NIEVES, JOSE A         ADDRESS ON FILE
DELGADO NIEVES, LUIS           ADDRESS ON FILE
DELGADO NIEVES, MARIO          ADDRESS ON FILE
DELGADO NOGUERAS, GLORIA E     ADDRESS ON FILE
DELGADO NOGUERAS, VICTOR M.    ADDRESS ON FILE
DELGADO NORIEGA, AMERICO       ADDRESS ON FILE
DELGADO NUNEZ, LUIS            ADDRESS ON FILE
DELGADO NUNEZ, NILDA           ADDRESS ON FILE
DELGADO NUNEZ, SONIA           ADDRESS ON FILE
DELGADO NUNEZ, TERESA          ADDRESS ON FILE
DELGADO NUNEZ, ZORAIDA M       ADDRESS ON FILE
DELGADO OCASIO, CARMELO        ADDRESS ON FILE
DELGADO OCASIO, JOSE           ADDRESS ON FILE
Delgado Ocasio, Juan R         ADDRESS ON FILE
DELGADO OCASIO, LUIS FELIPE    ADDRESS ON FILE
DELGADO OCASIO, LUZ M          ADDRESS ON FILE
DELGADO OCASIO, MARGARITA      ADDRESS ON FILE
DELGADO OCASIO, MIGNA          ADDRESS ON FILE
DELGADO OLAVARRIA, MIGUEL A.   ADDRESS ON FILE
DELGADO OLIVERAS, RICARDO      ADDRESS ON FILE
DELGADO OLIVO, YARIMINETTE     ADDRESS ON FILE
DELGADO OLMEDO, GLENDALY       ADDRESS ON FILE
DELGADO ONGAY, NILSA           ADDRESS ON FILE
DELGADO OQUENDO, GEORGINA      ADDRESS ON FILE
DELGADO OQUENDO, JOSE J.       ADDRESS ON FILE
DELGADO OQUENDO, JOSEFINA      ADDRESS ON FILE
DELGADO OQUENDO, YAITZA        ADDRESS ON FILE
DELGADO OROZCO, JOSE           ADDRESS ON FILE
DELGADO OROZCO, JOSE           ADDRESS ON FILE
DELGADO ORTEGA, RICHIE         ADDRESS ON FILE
DELGADO ORTIZ, ADA             ADDRESS ON FILE
DELGADO ORTIZ, ANGEL           ADDRESS ON FILE




                                                                           Page 2229 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2230 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO ORTIZ, ANTONIA           ADDRESS ON FILE
DELGADO ORTIZ, BEATRIZ           ADDRESS ON FILE
DELGADO ORTIZ, BELINDA           ADDRESS ON FILE
DELGADO ORTIZ, CALEB             ADDRESS ON FILE
DELGADO ORTIZ, CARLOS            ADDRESS ON FILE
DELGADO ORTIZ, CARYLUZ           ADDRESS ON FILE
DELGADO ORTIZ, DAISY             ADDRESS ON FILE
DELGADO ORTIZ, EDGAR             ADDRESS ON FILE
DELGADO ORTIZ, EDSEL A           ADDRESS ON FILE
DELGADO ORTIZ, ENRIQUE           ADDRESS ON FILE
DELGADO ORTIZ, ERNESTO R         ADDRESS ON FILE
DELGADO ORTIZ, EVELYN            ADDRESS ON FILE
DELGADO ORTIZ, GLENDA I.         ADDRESS ON FILE
DELGADO ORTIZ, GLORIA            ADDRESS ON FILE
DELGADO ORTIZ, GRISEL            ADDRESS ON FILE
DELGADO ORTIZ, HECTOR            ADDRESS ON FILE
DELGADO ORTIZ, JORGE D           ADDRESS ON FILE
DELGADO ORTIZ, JOSE              ADDRESS ON FILE
DELGADO ORTIZ, JOSE A.           ADDRESS ON FILE
DELGADO ORTIZ, JOSE A.           ADDRESS ON FILE
DELGADO ORTIZ, JOSE A.           ADDRESS ON FILE
DELGADO ORTIZ, KARELIS           ADDRESS ON FILE
DELGADO ORTIZ, KARLA             ADDRESS ON FILE
DELGADO ORTIZ, LUIS              ADDRESS ON FILE
DELGADO ORTIZ, LUIS A.           ADDRESS ON FILE
Delgado Ortiz, Maria E           ADDRESS ON FILE
DELGADO ORTIZ, MARIAN            ADDRESS ON FILE
DELGADO ORTIZ, MARIBEL           ADDRESS ON FILE
DELGADO ORTIZ, MARVIN            ADDRESS ON FILE
DELGADO ORTIZ, MIGUEL            ADDRESS ON FILE
DELGADO ORTIZ, MILAGROS          ADDRESS ON FILE
DELGADO ORTIZ, MILAGROS          ADDRESS ON FILE
Delgado Ortiz, Neil A            ADDRESS ON FILE
DELGADO ORTIZ, RICHARD           ADDRESS ON FILE
DELGADO ORTIZ, ROBERTO           ADDRESS ON FILE
DELGADO ORTIZ, VIVIAN            ADDRESS ON FILE
DELGADO OSORIO MD, HECTOR        ADDRESS ON FILE
DELGADO OSORIO, EMERIDA          ADDRESS ON FILE
DELGADO OSORIO, JEAN CARLOS      ADDRESS ON FILE
DELGADO OSORIO, KARLA            ADDRESS ON FILE
DELGADO OSORIO, MARIA            ADDRESS ON FILE
DELGADO OSORIO, MARIA I.         ADDRESS ON FILE
DELGADO OSORIO, RUBEN            ADDRESS ON FILE
DELGADO OTERO, JESENIA           ADDRESS ON FILE
DELGADO OTERO, JESUS M.          ADDRESS ON FILE
DELGADO PABON, CARMEN C          ADDRESS ON FILE
DELGADO PACHECO, LORENIA         ADDRESS ON FILE
DELGADO PACHECO,MARANGELIE       ADDRESS ON FILE
DELGADO PADILLA, GRACE M         ADDRESS ON FILE
DELGADO PADIN, CARLOS            ADDRESS ON FILE
DELGADO PADIN, JAVIER L.         ADDRESS ON FILE
Delgado Padovani, Alex           ADDRESS ON FILE
DELGADO PAGAN, ALMA              ADDRESS ON FILE
DELGADO PAGAN, ANAYDEE           ADDRESS ON FILE
DELGADO PAGAN, ANIBAL            ADDRESS ON FILE
DELGADO PAGAN, ASHANTI           ADDRESS ON FILE
DELGADO PAGAN, BRENDA            ADDRESS ON FILE
DELGADO PAGAN, CARMEN            ADDRESS ON FILE
DELGADO PAGAN, CARMEN            ADDRESS ON FILE
DELGADO PAGAN, CARMEN MILAGROS   ADDRESS ON FILE




                                                                             Page 2230 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2231 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO PAGAN, HECTOR        ADDRESS ON FILE
Delgado Pagan, Idsia E       ADDRESS ON FILE
DELGADO PAGAN, IRIS D        ADDRESS ON FILE
DELGADO PAGAN, LILLIAN E     ADDRESS ON FILE
Delgado Pagan, Luciano       ADDRESS ON FILE
DELGADO PAGAN, MARIA         ADDRESS ON FILE
DELGADO PAGAN, MARIA I       ADDRESS ON FILE
DELGADO PAGAN, MARTINA       ADDRESS ON FILE
DELGADO PANTOJA, DALIA       ADDRESS ON FILE
DELGADO PASTOR, JOHANNA      ADDRESS ON FILE
DELGADO PASTRANA, LILIANA    ADDRESS ON FILE
DELGADO PEDROGO, GRECIA      ADDRESS ON FILE
DELGADO PEDROGO, THELMA      ADDRESS ON FILE
DELGADO PEDROSA, RAMON L     ADDRESS ON FILE
Delgado Pedroza, Minerva     ADDRESS ON FILE
DELGADO PEDROZA, WILMA L     ADDRESS ON FILE
DELGADO PENA, VICTOR         ADDRESS ON FILE
DELGADO PERALEZ, MARITZA     ADDRESS ON FILE
DELGADO PERAZA, ELBA         ADDRESS ON FILE
DELGADO PERAZA, FRANCHESKA   ADDRESS ON FILE
DELGADO PEREIRA MD, IRIS     ADDRESS ON FILE
DELGADO PEREIRA, HENRY       ADDRESS ON FILE
DELGADO PEREIRA, MARITZA     ADDRESS ON FILE
DELGADO PEREZ MD, DAPHNE V   ADDRESS ON FILE
DELGADO PEREZ MD, IRMA I     ADDRESS ON FILE
DELGADO PEREZ, AGLAED        ADDRESS ON FILE
DELGADO PEREZ, ANTONIO L     ADDRESS ON FILE
DELGADO PEREZ, CARLOS        ADDRESS ON FILE
DELGADO PEREZ, CARLOS A      ADDRESS ON FILE
DELGADO PEREZ, CARLOS A      ADDRESS ON FILE
Delgado Perez, Carlos A.     ADDRESS ON FILE
DELGADO PEREZ, CARLOS W.     ADDRESS ON FILE
Delgado Perez, Carmen        ADDRESS ON FILE
DELGADO PEREZ, CARMEN        ADDRESS ON FILE
DELGADO PEREZ, CATHERINE     ADDRESS ON FILE
DELGADO PEREZ, CYNTHIA B     ADDRESS ON FILE
DELGADO PEREZ, DAMARIS       ADDRESS ON FILE
DELGADO PEREZ, DAVID         ADDRESS ON FILE
DELGADO PEREZ, DIANA         ADDRESS ON FILE
DELGADO PEREZ, EDGARD        ADDRESS ON FILE
DELGADO PEREZ, EDNA D        ADDRESS ON FILE
Delgado Perez, Eliud         ADDRESS ON FILE
DELGADO PEREZ, EMERITA       ADDRESS ON FILE
DELGADO PEREZ, EVELYN A      ADDRESS ON FILE
DELGADO PEREZ, GLADYS M      ADDRESS ON FILE
DELGADO PEREZ, GUMERSINDO    ADDRESS ON FILE
DELGADO PEREZ, ISAAC         ADDRESS ON FILE
DELGADO PEREZ, JOANN         ADDRESS ON FILE
DELGADO PEREZ, JUAN A        ADDRESS ON FILE
DELGADO PEREZ, JULISSA C     ADDRESS ON FILE
DELGADO PEREZ, LIZSANDRA     ADDRESS ON FILE
DELGADO PEREZ, LUZ C         ADDRESS ON FILE
Delgado Perez, Luz E         ADDRESS ON FILE
DELGADO PEREZ, MARIBEL       ADDRESS ON FILE
DELGADO PEREZ, MIGUEL A      ADDRESS ON FILE
DELGADO PEREZ, MIGUEL A.     ADDRESS ON FILE
DELGADO PEREZ, MILAGROS      ADDRESS ON FILE
DELGADO PEREZ, MILDRED       ADDRESS ON FILE
DELGADO PEREZ, MILTON A.     ADDRESS ON FILE
DELGADO PEREZ, NANCY         ADDRESS ON FILE




                                                                         Page 2231 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2232 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                        Address1                        Address2                                     Address3       Address4   City         State   PostalCode   Country
DELGADO PEREZ, NORMA I               ADDRESS ON FILE
DELGADO PEREZ, OLGA                  ADDRESS ON FILE
DELGADO PEREZ, OLGA I.               ADDRESS ON FILE
DELGADO PEREZ, PRISCILLA             ADDRESS ON FILE
DELGADO PEREZ, RAFAEL A.             ADDRESS ON FILE
DELGADO PEREZ, ROCIO V               ADDRESS ON FILE
DELGADO PEREZ, RUBEN                 ADDRESS ON FILE
Delgado Perez, Sol Maria             ADDRESS ON FILE
DELGADO PIETRI, CARLOS A             ADDRESS ON FILE
DELGADO PIETRI, RITA DEL ROSARIO R   ADDRESS ON FILE
DELGADO PIMENTEL, ZAIRA H            ADDRESS ON FILE
DELGADO PINERO, AWILDA               ADDRESS ON FILE
DELGADO PINTO, ELBA M                ADDRESS ON FILE
DELGADO PIZARRO, ANGEL               ADDRESS ON FILE
DELGADO PIZARRO, AWILDA              ADDRESS ON FILE
DELGADO PIZARRO, MIGUEL              ADDRESS ON FILE
DELGADO PLANELL, LEIDA               ADDRESS ON FILE
DELGADO PLUMEY, GAMALIER             ADDRESS ON FILE
DELGADO POLANCO, JUAN M.             ADDRESS ON FILE
DELGADO POLO, ALBA                   ADDRESS ON FILE
DELGADO POMALES, LOYDA               ADDRESS ON FILE
DELGADO POMALES, MARIA D             ADDRESS ON FILE
DELGADO POMALES, NOELIA              ADDRESS ON FILE
DELGADO POMALES, ROSA M              ADDRESS ON FILE
DELGADO PONCE, GLORIA E              ADDRESS ON FILE
DELGADO PONCE, JOSE M                ADDRESS ON FILE
DELGADO PONS, SEIDY                  ADDRESS ON FILE
DELGADO PORTALATIN, AXEL J           ADDRESS ON FILE
DELGADO PORTALATIN, EMIL J           ADDRESS ON FILE
DELGADO PORTALATIN, JOSE A           ADDRESS ON FILE
DELGADO POU, AILEEN                  ADDRESS ON FILE
DELGADO PROFESSIONAL INSURANCE INC   URB LEVITTOWN LAKES             V30 CALLE LEILA                                                        TOA BAJA     PR      00949‐4617
DELGADO QUILES, CARMEN               ADDRESS ON FILE
DELGADO QUILIES, NOEMI               ADDRESS ON FILE
DELGADO QUINONES MD, CARLOS M        ADDRESS ON FILE
DELGADO QUINONES, ADIANEZ            ADDRESS ON FILE
DELGADO QUINONES, AMARILYS           ADDRESS ON FILE
DELGADO QUINONES, ANITA              ADDRESS ON FILE
DELGADO QUINONES, CONFESOR J.        ADDRESS ON FILE
DELGADO QUINONES, DAMARIS M.         ADDRESS ON FILE
DELGADO QUINONES, EDWIN              ADDRESS ON FILE
DELGADO QUINONES, EMILY              ADDRESS ON FILE
DELGADO QUINONES, HAYDEE M.          ADDRESS ON FILE
DELGADO QUINONES, ISABEL             ADDRESS ON FILE
DELGADO QUINONES, IVAN               ADDRESS ON FILE
DELGADO QUINONES, JAVIER             ADDRESS ON FILE
DELGADO QUINONES, LEYDA              ADDRESS ON FILE
Delgado Quinones, Victor M           ADDRESS ON FILE
DELGADO QUINTANA, DEBORAH            ADDRESS ON FILE
DELGADO QUINTANA, IVAN               ADDRESS ON FILE
DELGADO RAMIREZ, AWILDA              ADDRESS ON FILE
DELGADO RAMIREZ, CARMEN M            ADDRESS ON FILE
DELGADO RAMIREZ, CARMEN M            ADDRESS ON FILE
DELGADO RAMÍREZ, CARMEN M.           L CDA. GENOVEVA VALENTIN SOTO   SERVIDORES PÚBLICOS UNIDOS DE                PO BOX 13695              SAN JUAN     PR      00908‐3695
DELGADO RAMIREZ, CORALIS             ADDRESS ON FILE
DELGADO RAMIREZ, EDWIN               ADDRESS ON FILE
DELGADO RAMIREZ, GRISELLE            ADDRESS ON FILE
DELGADO RAMIREZ, RAMON               ADDRESS ON FILE
DELGADO RAMIREZ, REYES               ADDRESS ON FILE
Delgado Ramirez, Ricardo             ADDRESS ON FILE




                                                                                                Page 2232 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2233 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO RAMIREZ, RUBEN       ADDRESS ON FILE
DELGADO RAMIREZ, SAMUEL      ADDRESS ON FILE
DELGADO RAMIREZ, SONIA I     ADDRESS ON FILE
DELGADO RAMOS, AILSA M       ADDRESS ON FILE
DELGADO RAMOS, AISLA         ADDRESS ON FILE
DELGADO RAMOS, AMALIA        ADDRESS ON FILE
DELGADO RAMOS, ANGEL L       ADDRESS ON FILE
DELGADO RAMOS, ANTONIA       ADDRESS ON FILE
DELGADO RAMOS, ARACELIS      ADDRESS ON FILE
DELGADO RAMOS, ARACELIS      ADDRESS ON FILE
DELGADO RAMOS, CARMEN        ADDRESS ON FILE
DELGADO RAMOS, CARMEN I      ADDRESS ON FILE
DELGADO RAMOS, CHRISTIAN J   ADDRESS ON FILE
DELGADO RAMOS, CONCEPCION    ADDRESS ON FILE
DELGADO RAMOS, DEBORAH       ADDRESS ON FILE
DELGADO RAMOS, EDWIN         ADDRESS ON FILE
DELGADO RAMOS, ELIOT         ADDRESS ON FILE
DELGADO RAMOS, ELVIN         ADDRESS ON FILE
DELGADO RAMOS, ELVIN D.      ADDRESS ON FILE
DELGADO RAMOS, FLOR Y        ADDRESS ON FILE
DELGADO RAMOS, HECTOR        ADDRESS ON FILE
DELGADO RAMOS, HECTOR M      ADDRESS ON FILE
DELGADO RAMOS, HILDA B       ADDRESS ON FILE
DELGADO RAMOS, ISRAEL        ADDRESS ON FILE
DELGADO RAMOS, JOSE          ADDRESS ON FILE
DELGADO RAMOS, JOSE          ADDRESS ON FILE
Delgado Ramos, Jose L.       ADDRESS ON FILE
DELGADO RAMOS, JOSE MANUEL   ADDRESS ON FILE
DELGADO RAMOS, JUAN          ADDRESS ON FILE
DELGADO RAMOS, LIVIA A.      ADDRESS ON FILE
DELGADO RAMOS, LOURDES       ADDRESS ON FILE
DELGADO RAMOS, LUZ S         ADDRESS ON FILE
DELGADO RAMOS, MARCIAL       ADDRESS ON FILE
DELGADO RAMOS, MARIBEL       ADDRESS ON FILE
DELGADO RAMOS, MIRIAM        ADDRESS ON FILE
DELGADO RAMOS, MYRNA         ADDRESS ON FILE
DELGADO RAMOS, NELLY         ADDRESS ON FILE
DELGADO RAMOS, NIOLANI       ADDRESS ON FILE
DELGADO RAMOS, PASCUAL       ADDRESS ON FILE
DELGADO RAMOS, REYNALDO      ADDRESS ON FILE
DELGADO RAMOS, ROBERTO       ADDRESS ON FILE
DELGADO RAMOS, TAMARA        ADDRESS ON FILE
DELGADO RAMOS, VENTURA       ADDRESS ON FILE
Delgado Ramos, Walter        ADDRESS ON FILE
DELGADO RAMOS, WALTER        ADDRESS ON FILE
DELGADO RAMOS, YANIT         ADDRESS ON FILE
Delgado Ramos, Yaritza       ADDRESS ON FILE
DELGADO RAMOS, YOLANDA       ADDRESS ON FILE
DELGADO RENTALS              VILLA NUEVA               A 19 CALLE 2                                           CAGUAS       PR      00725
DELGADO RENTAS, ADRIANA      ADDRESS ON FILE
DELGADO RESTO, HECTOR        ADDRESS ON FILE
DELGADO RESTO, IRIS Y        ADDRESS ON FILE
DELGADO RESTO, MILAGROS      ADDRESS ON FILE
DELGADO REYES MD, CARLOS     ADDRESS ON FILE
DELGADO REYES, EDDA I        ADDRESS ON FILE
DELGADO REYES, JESUS A       ADDRESS ON FILE
DELGADO REYES, JOSE E        ADDRESS ON FILE
DELGADO REYES, MARIA V.      ADDRESS ON FILE
DELGADO REYES, MAYELYN       ADDRESS ON FILE
DELGADO REYES, SAMUEL        ADDRESS ON FILE




                                                                         Page 2233 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2234 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO REYES, VALERIE         ADDRESS ON FILE
DELGADO RIERA, MARIA DE        ADDRESS ON FILE
DELGADO RIOS, GERARDO          ADDRESS ON FILE
DELGADO RIOS, GLORIA           ADDRESS ON FILE
DELGADO RIOS, HECTOR           ADDRESS ON FILE
DELGADO RIOS, ISMAEL E.        ADDRESS ON FILE
DELGADO RIOS, JEYDDIE          ADDRESS ON FILE
Delgado Rios, Juan             ADDRESS ON FILE
DELGADO RIOS, LUIS             ADDRESS ON FILE
DELGADO RIOS, MIGUEL A.        ADDRESS ON FILE
DELGADO RIOS, NILDA            ADDRESS ON FILE
DELGADO RIVAS, HIRAM           ADDRESS ON FILE
DELGADO RIVAS, JORGE           ADDRESS ON FILE
DELGADO RIVAS, LYDIA M         ADDRESS ON FILE
DELGADO RIVERA SATCHA MARIE    EMILIO CANCIO BELLO       1702 SAN MATEO                                         SANTURCE     PR      00912
DELGADO RIVERA, AILEEN         ADDRESS ON FILE
DELGADO RIVERA, AMARYLIS       ADDRESS ON FILE
DELGADO RIVERA, ANA M.         ADDRESS ON FILE
DELGADO RIVERA, ANEL           ADDRESS ON FILE
DELGADO RIVERA, ANGEL DWIGTH   ADDRESS ON FILE
DELGADO RIVERA, ANGEL IVAN     ADDRESS ON FILE
Delgado Rivera, Anthony        ADDRESS ON FILE
DELGADO RIVERA, ANTHONY        ADDRESS ON FILE
DELGADO RIVERA, ANTONIO        ADDRESS ON FILE
DELGADO RIVERA, ARIEL          ADDRESS ON FILE
DELGADO RIVERA, ASHLYN M       ADDRESS ON FILE
DELGADO RIVERA, AXEL           ADDRESS ON FILE
DELGADO RIVERA, BETSY A        ADDRESS ON FILE
DELGADO RIVERA, BETZAIDA       ADDRESS ON FILE
DELGADO RIVERA, BIBIANA        ADDRESS ON FILE
DELGADO RIVERA, BIVIANA        ADDRESS ON FILE
DELGADO RIVERA, CARLOS         ADDRESS ON FILE
DELGADO RIVERA, CARLOS         ADDRESS ON FILE
DELGADO RIVERA, CARLOS O       ADDRESS ON FILE
DELGADO RIVERA, CARMEN         ADDRESS ON FILE
DELGADO RIVERA, CARMEN         ADDRESS ON FILE
DELGADO RIVERA, CARMEN E       ADDRESS ON FILE
DELGADO RIVERA, CARMEN J       ADDRESS ON FILE
DELGADO RIVERA, CARMEN M       ADDRESS ON FILE
DELGADO RIVERA, CARMEN Y.      ADDRESS ON FILE
DELGADO RIVERA, CARMEN Y.      ADDRESS ON FILE
DELGADO RIVERA, DAVID          ADDRESS ON FILE
DELGADO RIVERA, DELIA          ADDRESS ON FILE
DELGADO RIVERA, DENNIS M       ADDRESS ON FILE
DELGADO RIVERA, DIANA          ADDRESS ON FILE
DELGADO RIVERA, DIANE          ADDRESS ON FILE
DELGADO RIVERA, DIOCLESIANO    ADDRESS ON FILE
DELGADO RIVERA, EDWIN          ADDRESS ON FILE
DELGADO RIVERA, EVELYN         ADDRESS ON FILE
DELGADO RIVERA, FELIPE         ADDRESS ON FILE
DELGADO RIVERA, FELIX          ADDRESS ON FILE
DELGADO RIVERA, GERARDO        ADDRESS ON FILE
DELGADO RIVERA, GISEL M.       ADDRESS ON FILE
DELGADO RIVERA, GLADYS         ADDRESS ON FILE
DELGADO RIVERA, GLENDA L       ADDRESS ON FILE
DELGADO RIVERA, GLENDALI       ADDRESS ON FILE
DELGADO RIVERA, GLORIALYS      ADDRESS ON FILE
DELGADO RIVERA, HELGA          ADDRESS ON FILE
DELGADO RIVERA, IMARA          ADDRESS ON FILE
DELGADO RIVERA, JAIME          ADDRESS ON FILE




                                                                           Page 2234 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2235 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO RIVERA, JANIZALIZ    ADDRESS ON FILE
DELGADO RIVERA, JAVIER       ADDRESS ON FILE
DELGADO RIVERA, JOSE         ADDRESS ON FILE
DELGADO RIVERA, JOSE         ADDRESS ON FILE
DELGADO RIVERA, JOSE A       ADDRESS ON FILE
DELGADO RIVERA, JOSE A.      ADDRESS ON FILE
Delgado Rivera, Jose R       ADDRESS ON FILE
DELGADO RIVERA, JUAN         ADDRESS ON FILE
DELGADO RIVERA, JUAN A       ADDRESS ON FILE
Delgado Rivera, Juan C       ADDRESS ON FILE
DELGADO RIVERA, JUANITA      ADDRESS ON FILE
DELGADO RIVERA, JULIA M      ADDRESS ON FILE
DELGADO RIVERA, JUSTINO      ADDRESS ON FILE
DELGADO RIVERA, LENITZIA     ADDRESS ON FILE
DELGADO RIVERA, LETICIA      ADDRESS ON FILE
DELGADO RIVERA, LISA         ADDRESS ON FILE
DELGADO RIVERA, LISA M.      ADDRESS ON FILE
DELGADO RIVERA, LUIS         ADDRESS ON FILE
DELGADO RIVERA, LUIS         ADDRESS ON FILE
DELGADO RIVERA, LUIS         ADDRESS ON FILE
DELGADO RIVERA, LUIS         ADDRESS ON FILE
DELGADO RIVERA, LUIS         ADDRESS ON FILE
DELGADO RIVERA, LUZ M        ADDRESS ON FILE
Delgado Rivera, Luz N        ADDRESS ON FILE
DELGADO RIVERA, MAIDA L      ADDRESS ON FILE
DELGADO RIVERA, MARGARITA    ADDRESS ON FILE
DELGADO RIVERA, MARITZA      ADDRESS ON FILE
DELGADO RIVERA, MARTA        ADDRESS ON FILE
DELGADO RIVERA, MARTA        ADDRESS ON FILE
DELGADO RIVERA, MARTHA       ADDRESS ON FILE
DELGADO RIVERA, MARTHA C     ADDRESS ON FILE
DELGADO RIVERA, MAYRA S      ADDRESS ON FILE
DELGADO RIVERA, MIGUEL A     ADDRESS ON FILE
DELGADO RIVERA, MILAGROS     ADDRESS ON FILE
DELGADO RIVERA, MILAGROS     ADDRESS ON FILE
DELGADO RIVERA, MIRIAM       ADDRESS ON FILE
Delgado Rivera, Monica       ADDRESS ON FILE
DELGADO RIVERA, MYRIAM       ADDRESS ON FILE
DELGADO RIVERA, MYRNA E      ADDRESS ON FILE
DELGADO RIVERA, NELSON       ADDRESS ON FILE
DELGADO RIVERA, NILDA R      ADDRESS ON FILE
DELGADO RIVERA, NILSA        ADDRESS ON FILE
DELGADO RIVERA, OBED         ADDRESS ON FILE
DELGADO RIVERA, OSCAR        ADDRESS ON FILE
DELGADO RIVERA, OSVALDO      ADDRESS ON FILE
DELGADO RIVERA, RAMON        ADDRESS ON FILE
DELGADO RIVERA, RAQUEL       ADDRESS ON FILE
DELGADO RIVERA, ROSA A       ADDRESS ON FILE
DELGADO RIVERA, SHALLY       ADDRESS ON FILE
DELGADO RIVERA, SMYRNA       ADDRESS ON FILE
DELGADO RIVERA, SYLVIA       ADDRESS ON FILE
DELGADO RIVERA, SYLVIA       ADDRESS ON FILE
DELGADO RIVERA, VILMARIE     ADDRESS ON FILE
DELGADO RIVERA, WILDA S      ADDRESS ON FILE
DELGADO RIVERA, WILFREDO I   ADDRESS ON FILE
DELGADO RIVERA, YAHNIA       ADDRESS ON FILE
DELGADO RIVERA, YARA         ADDRESS ON FILE
DELGADO RIVERA, YASHIRA M    ADDRESS ON FILE
DELGADO RIVERA, ZULEYKA      ADDRESS ON FILE
DELGADO ROBLES, CARLOS E     ADDRESS ON FILE




                                                                         Page 2235 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2236 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO ROBLES, EDUARDO         ADDRESS ON FILE
DELGADO ROBLES, EILEEN Y.       ADDRESS ON FILE
DELGADO ROBLES, EVELYN          ADDRESS ON FILE
DELGADO ROBLES, JUAN B.         ADDRESS ON FILE
DELGADO ROBLES, LESLIE          ADDRESS ON FILE
DELGADO ROBLES, MARIA L         ADDRESS ON FILE
DELGADO RODRIGUEZ MD, JOSE A    ADDRESS ON FILE
DELGADO RODRIGUEZ MD, JUAN A    ADDRESS ON FILE
DELGADO RODRIGUEZ MD, REBECCA   ADDRESS ON FILE
DELGADO RODRIGUEZ, ADALBERTO    ADDRESS ON FILE
DELGADO RODRIGUEZ, ADELAIDA     ADDRESS ON FILE
DELGADO RODRIGUEZ, ALBA N       ADDRESS ON FILE
DELGADO RODRIGUEZ, ALEXIS       ADDRESS ON FILE
DELGADO RODRIGUEZ, ALLAN        ADDRESS ON FILE
DELGADO RODRIGUEZ, ANA L        ADDRESS ON FILE
DELGADO RODRIGUEZ, ANA L        ADDRESS ON FILE
DELGADO RODRIGUEZ, ANA M.       ADDRESS ON FILE
DELGADO RODRIGUEZ, ANASTACIO    ADDRESS ON FILE
DELGADO RODRIGUEZ, ANGEL M      ADDRESS ON FILE
DELGADO RODRIGUEZ, ANGELINA     ADDRESS ON FILE
DELGADO RODRIGUEZ, ARICELIA     ADDRESS ON FILE
DELGADO RODRIGUEZ, AUREA        ADDRESS ON FILE
DELGADO RODRIGUEZ, CARLOS       ADDRESS ON FILE
DELGADO RODRIGUEZ, CARLOS       ADDRESS ON FILE
DELGADO RODRIGUEZ, CARLOS       ADDRESS ON FILE
DELGADO RODRIGUEZ, CARLOS O     ADDRESS ON FILE
DELGADO RODRIGUEZ, CARMELO      ADDRESS ON FILE
DELGADO RODRIGUEZ, CARMEN E     ADDRESS ON FILE
DELGADO RODRIGUEZ, CARMEN I     ADDRESS ON FILE
DELGADO RODRIGUEZ, DENNIS       ADDRESS ON FILE
DELGADO RODRIGUEZ, DIANISA      ADDRESS ON FILE
DELGADO RODRIGUEZ, DIANISA      ADDRESS ON FILE
DELGADO RODRIGUEZ, DINELIA      ADDRESS ON FILE
DELGADO RODRIGUEZ, DOLORES      ADDRESS ON FILE
Delgado Rodriguez, Ernesto      ADDRESS ON FILE
DELGADO RODRIGUEZ, FRANCIS      ADDRESS ON FILE
Delgado Rodriguez, Gerardo      ADDRESS ON FILE
DELGADO RODRIGUEZ, GERARDO      ADDRESS ON FILE
DELGADO RODRIGUEZ, GERMAN       ADDRESS ON FILE
DELGADO RODRIGUEZ, HANNIA       ADDRESS ON FILE
DELGADO RODRIGUEZ, HECTOR       ADDRESS ON FILE
DELGADO RODRIGUEZ, IRMA M       ADDRESS ON FILE
DELGADO RODRIGUEZ, JESUS        ADDRESS ON FILE
DELGADO RODRIGUEZ, JESUS        ADDRESS ON FILE
DELGADO RODRIGUEZ, JESUS M      ADDRESS ON FILE
DELGADO RODRIGUEZ, JOHANNA      ADDRESS ON FILE
DELGADO RODRIGUEZ, JOHANNA      ADDRESS ON FILE
DELGADO RODRIGUEZ, JOSE A       ADDRESS ON FILE
DELGADO RODRIGUEZ, JOSE J.      ADDRESS ON FILE
DELGADO RODRIGUEZ, JOSE M       ADDRESS ON FILE
Delgado Rodriguez, Jose M       ADDRESS ON FILE
DELGADO RODRIGUEZ, JOSEFINA     ADDRESS ON FILE
Delgado Rodriguez, Kelvin M     ADDRESS ON FILE
DELGADO RODRIGUEZ, KEREN        ADDRESS ON FILE
DELGADO RODRIGUEZ, LISANDRO     ADDRESS ON FILE
DELGADO RODRIGUEZ, LIVIA        ADDRESS ON FILE
DELGADO RODRIGUEZ, LUIS         ADDRESS ON FILE
DELGADO RODRIGUEZ, LUIS         ADDRESS ON FILE
Delgado Rodriguez, Luis A       ADDRESS ON FILE
DELGADO RODRIGUEZ, LUZ          ADDRESS ON FILE




                                                                            Page 2236 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2237 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO RODRIGUEZ, LUZ D       ADDRESS ON FILE
DELGADO RODRIGUEZ, LUZ M       ADDRESS ON FILE
DELGADO RODRIGUEZ, LUZ M.      ADDRESS ON FILE
DELGADO RODRIGUEZ, LYDIA E.    ADDRESS ON FILE
DELGADO RODRIGUEZ, MAGALY      ADDRESS ON FILE
DELGADO RODRIGUEZ, MARGARITA   ADDRESS ON FILE
DELGADO RODRIGUEZ, MARGARITA   ADDRESS ON FILE
DELGADO RODRIGUEZ, MARIA A     ADDRESS ON FILE
DELGADO RODRIGUEZ, MARIA S     ADDRESS ON FILE
DELGADO RODRIGUEZ, MARIA Y     ADDRESS ON FILE
DELGADO RODRIGUEZ, MARIAN      ADDRESS ON FILE
DELGADO RODRIGUEZ, MARIBEL     ADDRESS ON FILE
DELGADO RODRIGUEZ, MARIBEL     ADDRESS ON FILE
DELGADO RODRIGUEZ, MAYRA J     ADDRESS ON FILE
DELGADO RODRIGUEZ, MELISSA     ADDRESS ON FILE
DELGADO RODRIGUEZ, MICHAEL     ADDRESS ON FILE
Delgado Rodriguez, Mildred     ADDRESS ON FILE
DELGADO RODRIGUEZ, MILDRED A   ADDRESS ON FILE
Delgado Rodriguez, Mildred B   ADDRESS ON FILE
DELGADO RODRIGUEZ, NADESKA G   ADDRESS ON FILE
DELGADO RODRIGUEZ, NOEMI       ADDRESS ON FILE
DELGADO RODRIGUEZ, NORMA       ADDRESS ON FILE
DELGADO RODRIGUEZ, ORLANDO     ADDRESS ON FILE
DELGADO RODRIGUEZ, PAMELA      ADDRESS ON FILE
DELGADO RODRIGUEZ, PEDRO J     ADDRESS ON FILE
DELGADO RODRIGUEZ, RAFAEL A    ADDRESS ON FILE
DELGADO RODRIGUEZ, RENE        ADDRESS ON FILE
DELGADO RODRIGUEZ, ROSALIA     ADDRESS ON FILE
DELGADO RODRIGUEZ, RUBEN       ADDRESS ON FILE
DELGADO RODRIGUEZ, SAMUEL      ADDRESS ON FILE
DELGADO RODRIGUEZ, SANDRA      ADDRESS ON FILE
DELGADO RODRIGUEZ, SARA        ADDRESS ON FILE
DELGADO RODRIGUEZ, SIXTO       ADDRESS ON FILE
DELGADO RODRIGUEZ, VALERIA     ADDRESS ON FILE
DELGADO RODRIGUEZ, VALERIE     ADDRESS ON FILE
DELGADO RODRIGUEZ, VICTOR      ADDRESS ON FILE
DELGADO RODRIGUEZ, VICTOR A    ADDRESS ON FILE
DELGADO RODRIGUEZ, VIVIAN      ADDRESS ON FILE
DELGADO RODRIGUEZ, WANDA       ADDRESS ON FILE
DELGADO RODRIGUEZ, WILMARY     ADDRESS ON FILE
Delgado Rodriguez, Wyatt       ADDRESS ON FILE
DELGADO ROLDAN, FRANCISCO      ADDRESS ON FILE
DELGADO ROLDAN, JANNETTE       ADDRESS ON FILE
DELGADO ROLDON, AIDA L         ADDRESS ON FILE
DELGADO ROMAN, ANA             ADDRESS ON FILE
DELGADO ROMAN, ANTONIO         ADDRESS ON FILE
DELGADO ROMAN, ANTONIO R.      ADDRESS ON FILE
DELGADO ROMAN, ARMANDO         ADDRESS ON FILE
DELGADO ROMAN, ARMANDO         ADDRESS ON FILE
DELGADO ROMAN, CECILIA         ADDRESS ON FILE
DELGADO ROMAN, EVELYN          ADDRESS ON FILE
DELGADO ROMAN, JUAN            ADDRESS ON FILE
DELGADO ROMAN, JUAN            ADDRESS ON FILE
DELGADO ROMAN, JUANA           ADDRESS ON FILE
DELGADO ROMAN, LISANDRA        ADDRESS ON FILE
DELGADO ROMAN, MAIRYM          ADDRESS ON FILE
DELGADO ROMAN, MARIA G.        ADDRESS ON FILE
DELGADO ROMAN, MARILYN         ADDRESS ON FILE
DELGADO ROMERO, DAILYN E       ADDRESS ON FILE
DELGADO ROMERO, DENISE         ADDRESS ON FILE




                                                                           Page 2237 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2238 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO ROMERO, ELIZABETH    ADDRESS ON FILE
DELGADO ROMERO, JORGE        ADDRESS ON FILE
DELGADO ROMERO, ROBERTO      ADDRESS ON FILE
DELGADO ROQUE, KEILA         ADDRESS ON FILE
DELGADO ROSA, JENNY M        ADDRESS ON FILE
DELGADO ROSA, JUAN R         ADDRESS ON FILE
DELGADO ROSA, LUCILA         ADDRESS ON FILE
DELGADO ROSA, LYDIA E        ADDRESS ON FILE
DELGADO ROSA, MARIA I        ADDRESS ON FILE
DELGADO ROSA, PEDRO F.       ADDRESS ON FILE
DELGADO ROSA, WILLIAM        ADDRESS ON FILE
DELGADO ROSA, YAREL M        ADDRESS ON FILE
DELGADO ROSADO, ANTONIO      ADDRESS ON FILE
Delgado Rosado, Brenda L.    ADDRESS ON FILE
DELGADO ROSADO, CONSTANCIA   ADDRESS ON FILE
Delgado Rosado, Fernando     ADDRESS ON FILE
DELGADO ROSADO, GABRIEL A    ADDRESS ON FILE
Delgado Rosado, Gloria M     ADDRESS ON FILE
DELGADO ROSADO, JELITZA      ADDRESS ON FILE
DELGADO ROSADO, JOSE         ADDRESS ON FILE
DELGADO ROSADO, JOSEPH       ADDRESS ON FILE
DELGADO ROSADO, JUAN         ADDRESS ON FILE
DELGADO ROSADO, JUAN         ADDRESS ON FILE
DELGADO ROSADO, MANUEL A.    ADDRESS ON FILE
DELGADO ROSADO, NANCY        ADDRESS ON FILE
DELGADO ROSADO, RICARDO      ADDRESS ON FILE
DELGADO ROSADO, SHEILY Y     ADDRESS ON FILE
DELGADO ROSADO, VILMA M      ADDRESS ON FILE
DELGADO ROSADO, YADIRA       ADDRESS ON FILE
DELGADO ROSADO, ZULEYKA      ADDRESS ON FILE
DELGADO ROSARIO, ANNELISE    ADDRESS ON FILE
DELGADO ROSARIO, ISABEL      ADDRESS ON FILE
DELGADO ROSARIO, JULIO       ADDRESS ON FILE
Delgado Rosario, Julio A     ADDRESS ON FILE
DELGADO ROSARIO, KATHERINE   ADDRESS ON FILE
DELGADO ROSARIO, LINDA I.    ADDRESS ON FILE
DELGADO ROSARIO, NOEMI       ADDRESS ON FILE
DELGADO ROSARIO, SAMUEL      ADDRESS ON FILE
DELGADO RUIBAL, RAMON        ADDRESS ON FILE
Delgado Ruiz, Amarilys       ADDRESS ON FILE
DELGADO RUIZ, ANGEL          ADDRESS ON FILE
DELGADO RUIZ, CARMELO        ADDRESS ON FILE
DELGADO RUIZ, CARMEN         ADDRESS ON FILE
DELGADO RUIZ, CATHERINE      ADDRESS ON FILE
DELGADO RUIZ, DIGNA E        ADDRESS ON FILE
DELGADO RUIZ, FRANCISCA      ADDRESS ON FILE
DELGADO RUIZ, JOSE           ADDRESS ON FILE
DELGADO RUIZ, LUIS           ADDRESS ON FILE
DELGADO RUIZ, MARIA T.       ADDRESS ON FILE
DELGADO RUIZ, MARTA          ADDRESS ON FILE
DELGADO RUIZ, ROBERTO        ADDRESS ON FILE
DELGADO RUIZ, SUAM           ADDRESS ON FILE
DELGADO RUIZ, VIRGILIA       ADDRESS ON FILE
DELGADO RUIZ, WILFREDO       ADDRESS ON FILE
DELGADO SALCEDO, NORIBEL     ADDRESS ON FILE
DELGADO SALCEDO, RAMESIS     ADDRESS ON FILE
DELGADO SALGADO, ANGEL E     ADDRESS ON FILE
DELGADO SALGADO, KEISHLA     ADDRESS ON FILE
DELGADO SALINAS, ILEANEXIS   ADDRESS ON FILE
DELGADO SAN MIGUEL, ANGEL    ADDRESS ON FILE




                                                                         Page 2238 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2239 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO SAN MIGUEL, JUAN A.   ADDRESS ON FILE
Delgado Sanabria, Zenaida     ADDRESS ON FILE
DELGADO SANCHEZ, ARELIS A.    ADDRESS ON FILE
DELGADO SANCHEZ, DELISSA      ADDRESS ON FILE
DELGADO SANCHEZ, ELIEZER      ADDRESS ON FILE
DELGADO SANCHEZ, GRISEL       ADDRESS ON FILE
DELGADO SANCHEZ, JOSE A.      ADDRESS ON FILE
DELGADO SANCHEZ, JUAN         ADDRESS ON FILE
Delgado Sanchez, Juan R.      ADDRESS ON FILE
DELGADO SANCHEZ, LETICIA      ADDRESS ON FILE
DELGADO SANCHEZ, MARIA M      ADDRESS ON FILE
DELGADO SANCHEZ, MIGUEL       ADDRESS ON FILE
DELGADO SANCHEZ, MIGUEL       ADDRESS ON FILE
Delgado Sanchez, Wendel G     ADDRESS ON FILE
DELGADO SANCHEZ, ZOE          ADDRESS ON FILE
DELGADO SANES, ROBERTO        ADDRESS ON FILE
Delgado Sanjurjo, Antonio     ADDRESS ON FILE
DELGADO SANJURJO, JULIO       ADDRESS ON FILE
DELGADO SANKI, SONIA          ADDRESS ON FILE
DELGADO SANMIGUEL, AMERICO    ADDRESS ON FILE
DELGADO SANTA, ANA P          ADDRESS ON FILE
DELGADO SANTA, ARMANDO        ADDRESS ON FILE
DELGADO SANTA, JOSE ANTONIO   ADDRESS ON FILE
DELGADO SANTANA, AIDA L       ADDRESS ON FILE
DELGADO SANTANA, AMARILIS     ADDRESS ON FILE
DELGADO SANTANA, CARLOS       ADDRESS ON FILE
DELGADO SANTANA, CARLOS       ADDRESS ON FILE
DELGADO SANTANA, DOLINDA      ADDRESS ON FILE
DELGADO SANTANA, EDNA         ADDRESS ON FILE
DELGADO SANTANA, HECTOR       ADDRESS ON FILE
DELGADO SANTANA, IVETTE       ADDRESS ON FILE
DELGADO SANTANA, JOEL         ADDRESS ON FILE
DELGADO SANTANA, JUAN         ADDRESS ON FILE
DELGADO SANTANA, LOUIS        ADDRESS ON FILE
DELGADO SANTANA, LOUIS E      ADDRESS ON FILE
DELGADO SANTANA, MIGUEL       ADDRESS ON FILE
Delgado Santana, Ricardo      ADDRESS ON FILE
DELGADO SANTANA, ROSA         ADDRESS ON FILE
DELGADO SANTANA, RUBEN        ADDRESS ON FILE
DELGADO SANTANA, SAMARIE      ADDRESS ON FILE
DELGADO SANTANA, SANDRA       ADDRESS ON FILE
DELGADO SANTANA, WANDA I      ADDRESS ON FILE
DELGADO SANTIAGO, ANA I       ADDRESS ON FILE
DELGADO SANTIAGO, ANDREA      ADDRESS ON FILE
DELGADO SANTIAGO, CARMEN      ADDRESS ON FILE
DELGADO SANTIAGO, CARMEN J.   ADDRESS ON FILE
DELGADO SANTIAGO, CONCHITA    ADDRESS ON FILE
DELGADO SANTIAGO, ELBA I.     ADDRESS ON FILE
DELGADO SANTIAGO, ELISA       ADDRESS ON FILE
DELGADO SANTIAGO, ERIC        ADDRESS ON FILE
DELGADO SANTIAGO, FRANCISCA   ADDRESS ON FILE
Delgado Santiago, Gamaliel    ADDRESS ON FILE
Delgado Santiago, Hector J    ADDRESS ON FILE
DELGADO SANTIAGO, IDALIE      ADDRESS ON FILE
DELGADO SANTIAGO, JESSIKA     ADDRESS ON FILE
DELGADO SANTIAGO, JUAN        ADDRESS ON FILE
DELGADO SANTIAGO, JUAN R      ADDRESS ON FILE
DELGADO SANTIAGO, KARLITZA    ADDRESS ON FILE
DELGADO SANTIAGO, MARIA       ADDRESS ON FILE
DELGADO SANTIAGO, MARIA D     ADDRESS ON FILE




                                                                          Page 2239 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2240 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO SANTIAGO, MARISOL     ADDRESS ON FILE
DELGADO SANTIAGO, ROSARIO     ADDRESS ON FILE
DELGADO SANTIAGO, SONIA       ADDRESS ON FILE
DELGADO SANTIAGO, VICTOR      ADDRESS ON FILE
Delgado Santiago, Victor M    ADDRESS ON FILE
Delgado Santiago, Zoraida     ADDRESS ON FILE
DELGADO SANTIAGO, ZULEIKA     ADDRESS ON FILE
DELGADO SANTOS, ADA M         ADDRESS ON FILE
DELGADO SANTOS, AIDA L.       ADDRESS ON FILE
DELGADO SANTOS, ANGELICA      ADDRESS ON FILE
DELGADO SANTOS, DAVID         ADDRESS ON FILE
DELGADO SANTOS, EDWIN         ADDRESS ON FILE
DELGADO SANTOS, GABRIEL       ADDRESS ON FILE
DELGADO SANTOS, HECTOR        ADDRESS ON FILE
DELGADO SANTOS, LYDIA         ADDRESS ON FILE
DELGADO SANTOS, MELANYE       ADDRESS ON FILE
DELGADO SANTOS, OMAR          ADDRESS ON FILE
DELGADO SANTOS, PEDRO J       ADDRESS ON FILE
DELGADO SEDA, ANGEL           ADDRESS ON FILE
DELGADO SEGUI, MIGDALIA       ADDRESS ON FILE
DELGADO SEIJOO MD, HECTOR F   ADDRESS ON FILE
DELGADO SELLAS, FERNANDO      ADDRESS ON FILE
DELGADO SELLAS, LAURA M       ADDRESS ON FILE
DELGADO SERR, JUAN            ADDRESS ON FILE
DELGADO SERRANO, ANA          ADDRESS ON FILE
DELGADO SERRANO, CARMEN M     ADDRESS ON FILE
DELGADO SERRANO, EDGAR        ADDRESS ON FILE
DELGADO SERRANO, MARIA        ADDRESS ON FILE
DELGADO SERRANO, OSCAR        ADDRESS ON FILE
DELGADO SEVILLA, ROSANIC      ADDRESS ON FILE
DELGADO SIERRA, ALEXANDER     ADDRESS ON FILE
DELGADO SIERRA, ILLAINE       ADDRESS ON FILE
DELGADO SIERRA, JUAN          ADDRESS ON FILE
DELGADO SIFRE,MARYORIE        ADDRESS ON FILE
DELGADO SILVESTRY, LOURDES    ADDRESS ON FILE
DELGADO SIVERIO, EDMAYRA      ADDRESS ON FILE
DELGADO SOLER, JESSENIA M     ADDRESS ON FILE
DELGADO SOLIVERA, LUZ D       ADDRESS ON FILE
DELGADO SOTO, ALEXANDER       ADDRESS ON FILE
DELGADO SOTO, ANGELICA M      ADDRESS ON FILE
DELGADO SOTO, DAVID           ADDRESS ON FILE
DELGADO SOTO, ELIEZER         ADDRESS ON FILE
DELGADO SOTO, JUANITA         ADDRESS ON FILE
DELGADO SOTO, MERCEDES        ADDRESS ON FILE
Delgado Soto, Pascual         ADDRESS ON FILE
DELGADO SOTO, PASCUAL         ADDRESS ON FILE
Delgado Soto, Randy           ADDRESS ON FILE
DELGADO SOTO, RANDY           ADDRESS ON FILE
DELGADO SOTO, TANIA           ADDRESS ON FILE
DELGADO SUAREZ, TEODORO       ADDRESS ON FILE
DELGADO SUGRANES, JOSE        ADDRESS ON FILE
Delgado Sugranes, Jose I      ADDRESS ON FILE
Delgado Sugranes, Jose V      ADDRESS ON FILE
DELGADO SUGRANES, MARIBEL     ADDRESS ON FILE
DELGADO TABALES, OMAR         ADDRESS ON FILE
DELGADO TINEO, JEANKARLO      ADDRESS ON FILE
DELGADO TIRADO, JANICE        ADDRESS ON FILE
DELGADO TIRADO, LUZ H         ADDRESS ON FILE
DELGADO TORO, RICARDO         ADDRESS ON FILE
DELGADO TORRADO, JAVIER       ADDRESS ON FILE




                                                                          Page 2240 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2241 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO TORRADO, VICTOR      ADDRESS ON FILE
DELGADO TORRES, ANTONIO      ADDRESS ON FILE
DELGADO TORRES, CARMEN L     ADDRESS ON FILE
DELGADO TORRES, CRISTIAN     ADDRESS ON FILE
Delgado Torres, David        ADDRESS ON FILE
DELGADO TORRES, DELIA        ADDRESS ON FILE
DELGADO TORRES, EDWIN        ADDRESS ON FILE
DELGADO TORRES, EDWIN        ADDRESS ON FILE
DELGADO TORRES, EDWIN        ADDRESS ON FILE
DELGADO TORRES, FEDERICO     ADDRESS ON FILE
DELGADO TORRES, GREGORIA     ADDRESS ON FILE
DELGADO TORRES, JANTZY L     ADDRESS ON FILE
DELGADO TORRES, JOSE         ADDRESS ON FILE
DELGADO TORRES, JOSE         ADDRESS ON FILE
DELGADO TORRES, JOSE M       ADDRESS ON FILE
Delgado Torres, Juan D       ADDRESS ON FILE
DELGADO TORRES, JUAN M       ADDRESS ON FILE
DELGADO TORRES, JULIA        ADDRESS ON FILE
DELGADO TORRES, KAREN        ADDRESS ON FILE
DELGADO TORRES, KEYSHLA D.   ADDRESS ON FILE
DELGADO TORRES, LUIS         ADDRESS ON FILE
DELGADO TORRES, LUIS C       ADDRESS ON FILE
Delgado Torres, Madelin      ADDRESS ON FILE
DELGADO TORRES, MADELINE     ADDRESS ON FILE
DELGADO TORRES, MARITZA      ADDRESS ON FILE
Delgado Torres, Miguel A     ADDRESS ON FILE
DELGADO TORRES, NATALIA      ADDRESS ON FILE
DELGADO TORRES, OLGA M       ADDRESS ON FILE
DELGADO TORRES, RAFAEL       ADDRESS ON FILE
DELGADO TORRES, SANTIAGO     ADDRESS ON FILE
DELGADO TORRES, TAMYR        ADDRESS ON FILE
DELGADO TORRES, VIRGINIA     ADDRESS ON FILE
DELGADO TORRES, WILLIAM      ADDRESS ON FILE
DELGADO TORRES, YOLANDA      ADDRESS ON FILE
DELGADO TUFINO, BETSY        ADDRESS ON FILE
DELGADO UBILES, ANDRES       ADDRESS ON FILE
DELGADO UBILES, DIONISIO     ADDRESS ON FILE
Delgado Ubiles, Jose R.      ADDRESS ON FILE
DELGADO UBILES, RAQUEL       ADDRESS ON FILE
DELGADO UBILES, RUTH         ADDRESS ON FILE
DELGADO VALCARCEL, ORLANDO   ADDRESS ON FILE
DELGADO VALENTIN, JOSE       ADDRESS ON FILE
DELGADO VALENTIN, JOSE       ADDRESS ON FILE
DELGADO VALENTIN, MARIA L    ADDRESS ON FILE
DELGADO VALENTIN, ROSA I     ADDRESS ON FILE
DELGADO VALLEJO, WILLIAM     ADDRESS ON FILE
DELGADO VARGAS, ANTHONY      ADDRESS ON FILE
DELGADO VARGAS, EDGAR        ADDRESS ON FILE
DELGADO VARGAS, MIGUEL       ADDRESS ON FILE
DELGADO VAZQUEZ, AIDA I      ADDRESS ON FILE
DELGADO VAZQUEZ, ALEXANDER   ADDRESS ON FILE
DELGADO VAZQUEZ, AMY         ADDRESS ON FILE
DELGADO VAZQUEZ, EDUARDO     ADDRESS ON FILE
DELGADO VAZQUEZ, ELIZABETH   ADDRESS ON FILE
DELGADO VAZQUEZ, GRACE       ADDRESS ON FILE
DELGADO VAZQUEZ, JOAN        ADDRESS ON FILE
DELGADO VAZQUEZ, MARLA S.    ADDRESS ON FILE
DELGADO VAZQUEZ, NELINDA     ADDRESS ON FILE
DELGADO VAZQUEZ, ORLANDO     ADDRESS ON FILE
DELGADO VAZQUEZ, RAFAEL      ADDRESS ON FILE




                                                                         Page 2241 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2242 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO VAZQUEZ, RAFAEL        ADDRESS ON FILE
DELGADO VAZQUEZ, SANDRA I.     ADDRESS ON FILE
DELGADO VAZQUEZ, TAMARA        ADDRESS ON FILE
DELGADO VAZQUEZ, WALESKA       ADDRESS ON FILE
DELGADO VAZQUEZ, YOLANDA       ADDRESS ON FILE
DELGADO VEGA, ANGEL            ADDRESS ON FILE
DELGADO VEGA, JAIME            ADDRESS ON FILE
DELGADO VEGA, JUAN             ADDRESS ON FILE
DELGADO VEGA, LILLIAM          ADDRESS ON FILE
DELGADO VEGA, LYDIA E          ADDRESS ON FILE
DELGADO VEGA, MADELINE         ADDRESS ON FILE
DELGADO VEGA, MARIA            ADDRESS ON FILE
DELGADO VEGA, MARYBETH         ADDRESS ON FILE
DELGADO VEGA, NELSON           ADDRESS ON FILE
DELGADO VEGA, NEREIDA I        ADDRESS ON FILE
DELGADO VEGA, OSCAR            ADDRESS ON FILE
DELGADO VELASQUEZ, OSCAR       ADDRESS ON FILE
Delgado Velazque, Ricardo E    ADDRESS ON FILE
DELGADO VELAZQUEZ MD, DIANA    ADDRESS ON FILE
DELGADO VELAZQUEZ MD, LUZ E    ADDRESS ON FILE
DELGADO VELAZQUEZ, CARMEN      ADDRESS ON FILE
DELGADO VELAZQUEZ, DAVID       ADDRESS ON FILE
DELGADO VELAZQUEZ, DENISE      ADDRESS ON FILE
DELGADO VELAZQUEZ, GLORIA M    ADDRESS ON FILE
DELGADO VELAZQUEZ, HAYDEE      ADDRESS ON FILE
DELGADO VELAZQUEZ, RICARDO     ADDRESS ON FILE
DELGADO VELAZQUEZ, RICARDO     ADDRESS ON FILE
DELGADO VELAZQUEZ, YESENIA     ADDRESS ON FILE
DELGADO VELAZQUEZ, YESENIA     ADDRESS ON FILE
DELGADO VELEZ, ARMANDO         ADDRESS ON FILE
DELGADO VELEZ, BEATRICE        ADDRESS ON FILE
DELGADO VELEZ, CARLOS D        ADDRESS ON FILE
DELGADO VELEZ, DIANA           ADDRESS ON FILE
DELGADO VELEZ, FRANCISCO       ADDRESS ON FILE
DELGADO VELEZ, HIRIAM          ADDRESS ON FILE
DELGADO VELEZ, JESSICA         ADDRESS ON FILE
DELGADO VELEZ, JOSE I          ADDRESS ON FILE
DELGADO VELEZ, JUAN            ADDRESS ON FILE
DELGADO VELEZ, KARIS E         ADDRESS ON FILE
DELGADO VELEZ, LEONARDO        ADDRESS ON FILE
DELGADO VELEZ, MAYRA A         ADDRESS ON FILE
DELGADO VELEZ, MIGUEL          ADDRESS ON FILE
DELGADO VELEZ, VILMA           ADDRESS ON FILE
DELGADO VELEZ, VILMA I         ADDRESS ON FILE
DELGADO VIENTAS, JENNIFER      ADDRESS ON FILE
DELGADO VIERA, ANGEL           ADDRESS ON FILE
DELGADO VIERA, JORGE L         ADDRESS ON FILE
DELGADO VIERA, ROBERTO         ADDRESS ON FILE
DELGADO VILLAFANE, AIDA L.     ADDRESS ON FILE
DELGADO VILLALONGO, REINALDO   ADDRESS ON FILE
DELGADO VILLANUEVA, MAYRA      ADDRESS ON FILE
DELGADO VILLARAN, ANA R        ADDRESS ON FILE
DELGADO VILLARAN, MIGUEL       ADDRESS ON FILE
DELGADO VILLARAN, RAMON        ADDRESS ON FILE
DELGADO VIRUET, JILIAN         ADDRESS ON FILE
DELGADO VISOT, IVONNE          ADDRESS ON FILE
DELGADO WELLS, FRANCISCA       ADDRESS ON FILE
DELGADO WESTERN, MADELINE M    ADDRESS ON FILE
DELGADO YUMET, SANDRA          ADDRESS ON FILE
DELGADO ZAMBRANA, MARIA        ADDRESS ON FILE




                                                                           Page 2242 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2243 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DELGADO ZAMBRANA, TAYRA V.             ADDRESS ON FILE
DELGADO ZAYAS, LCDO., RUY              ADDRESS ON FILE
DELGADO ZAYAS, LUZ                     ADDRESS ON FILE
DELGADO ZAYAS, RAMONITA                ADDRESS ON FILE
DELGADO ZAYAS, ROSA I                  ADDRESS ON FILE
Delgado Zayas, Samuel                  ADDRESS ON FILE
DELGADO ZONIN, MARIA                   ADDRESS ON FILE
DELGADO ZONIN, MARIA                   ADDRESS ON FILE
DELGADO, ANGEL L                       ADDRESS ON FILE
DELGADO, ANTONIO                       ADDRESS ON FILE
DELGADO, BELINDA                       ADDRESS ON FILE
DELGADO, CARLOS                        ADDRESS ON FILE
DELGADO, CARMEN A                      ADDRESS ON FILE
DELGADO, CARMEN I                      ADDRESS ON FILE
DELGADO, CHARLIE                       ADDRESS ON FILE
DELGADO, FELIX A                       ADDRESS ON FILE
DELGADO, HECTOR                        ADDRESS ON FILE
DELGADO, IVELISSE                      ADDRESS ON FILE
DELGADO, JUAN C                        ADDRESS ON FILE
DELGADO, JUAN L.                       ADDRESS ON FILE
DELGADO, JUANA                         ADDRESS ON FILE
DELGADO, LUIS M                        ADDRESS ON FILE
DELGADO, MARIA ILEANA                  ADDRESS ON FILE
DELGADO, MYRIAM                        ADDRESS ON FILE
DELGADO, RUBEN                         ADDRESS ON FILE
DELGADO, SALLY                         ADDRESS ON FILE
DELGADO, SIDNEY                        ADDRESS ON FILE
DELGADO, SIGFREDO                      ADDRESS ON FILE
DELGADO, TANIA A                       ADDRESS ON FILE
DELGADO, VILMA L.                      ADDRESS ON FILE
DELGADO, ZULEIKA                       ADDRESS ON FILE
DELGADOBAEZ, ALFREDO                   ADDRESS ON FILE
DELGADOD CAMINERO, CARLOS              ADDRESS ON FILE
DELGADODEJESUS, MIGUEL A               ADDRESS ON FILE
DELGADODIAZ, EVELYN                    ADDRESS ON FILE
DELGADOGOMEZ, SAMUEL                   ADDRESS ON FILE
DELGADORIVERA, RICARDO                 ADDRESS ON FILE
DELGAGO DIAZ, TANIA M                  ADDRESS ON FILE
DELGAGO MENDEZ, IRAIDA                 ADDRESS ON FILE
DELGIA M. MIRANDA DE JESUS             ADDRESS ON FILE
DELI OTERO                             ADDRESS ON FILE
Delia Ayala DBA Impresos Delia Ayala   PO Box 30943                                                                                  PR      00929‐1943
DELIA AYALA IMPRESOS                   ADDRESS ON FILE
DELIA BELEN ANTONGIORGI                ADDRESS ON FILE
DELIA BERASTAIN Y JOSE M TORRES        ADDRESS ON FILE
DELIA BORIA QUINONES                   ADDRESS ON FILE
DELIA BURGOS BURGOS                    ADDRESS ON FILE
DELIA C. COLON COLON                   ADDRESS ON FILE
DELIA CARABALLO SANTIAGO               ADDRESS ON FILE
DELIA CHINEA CABEZA                    ADDRESS ON FILE
DELIA COLON BETANCOURT                 ADDRESS ON FILE
DELIA COLON BOCACHICA                  ADDRESS ON FILE
DELIA DE JESUS GOMEZ                   ADDRESS ON FILE
DELIA DE LOS A RIVAS RODRIGUEZ         ADDRESS ON FILE
DELIA DIAZ MARTINEZ                    ADDRESS ON FILE
DELIA E HERNANDEZ MASSOS               ADDRESS ON FILE
DELIA E LAMBERTY PIERLUISI             ADDRESS ON FILE
DELIA E LLANOS HERNANDEZ               ADDRESS ON FILE
DELIA E MONTANEZ DAVILA                ADDRESS ON FILE
DELIA E NIEVES MONTANO                 ADDRESS ON FILE




                                                                                   Page 2243 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2244 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                         Address1                        Address2                               Address3   Address4   City           State   PostalCode   Country
DELIA E SANCHEZ ROSA                  ADDRESS ON FILE
DELIA E. LASANTA RAMOS                ADDRESS ON FILE
DELIA E. VIERA COUVERTIER             ADDRESS ON FILE
DELIA ECHEVARIA MATOS                 ADDRESS ON FILE
DELIA EFIGENIA PAGAN ROBLES           ADDRESS ON FILE
DELIA FLORES LEBRON                   ADDRESS ON FILE
DELIA GARCIA GONZALEZ                 ADDRESS ON FILE
DELIA GARCIA MARTINEZ                 ADDRESS ON FILE
DELIA H ORTIZ TORRES                  ADDRESS ON FILE
DELIA I AYALA REYES                   ADDRESS ON FILE
DELIA I GONZALEZ ELIAS                ADDRESS ON FILE
DELIA I. PEREZ FIGUEROA               ADDRESS ON FILE
DELIA KRAEMER RIVERA                  ADDRESS ON FILE
DELIA L HERNANDEZ RIVERA              ADDRESS ON FILE
DELIA LUZ RIVERA VAZQUEZ              BERWIND ESTATES CALLE 15 P‐21                                                                SAN JUAN       PR      00924
DELIA M BENNAZAR LOPEZ                ADDRESS ON FILE
DELIA M BENNAZAR LOPEZ                ADDRESS ON FILE
DELIA M DIAZ MARTINEZ                 ADDRESS ON FILE
DELIA M LAMOURT                       ADDRESS ON FILE
DELIA M MILLAN CLEMENTE               ADDRESS ON FILE
DELIA M MORENO TORRES                 ADDRESS ON FILE
DELIA M PENA SANCHEZ                  ADDRESS ON FILE
DELIA M RAMOS ROMAN                   ADDRESS ON FILE
DELIA M RIERA ZAPATA                  ADDRESS ON FILE
DELIA M RIVERA HERNENDEZ              ADDRESS ON FILE
DELIA M ROMAN /IDAMITH J GARCIA       ADDRESS ON FILE
DELIA M. ZAYAS FLORES                 DELIA M. ZAYAS FLORE            DELIAMZAYAS@YAHOO.COM
DELIA M.TORRES DE JESUS               ADDRESS ON FILE
DELIA MACHADO                         ADDRESS ON FILE
DELIA MANRIQUE DE WHITLOCK            ADDRESS ON FILE
DELIA MARIA MELENDEZ FALCON           ADDRESS ON FILE
DELIA MARIE VILLAESPESA               ADDRESS ON FILE
DELIA MARRERO VARGAS                  ADDRESS ON FILE
DELIA NIEVES TORRES                   ADDRESS ON FILE
DELIA NUNEZ RIVERA                    ADDRESS ON FILE
DELIA P CRUZ SERRANO                  ADDRESS ON FILE
DELIA PAGAN BERROCALES                ADDRESS ON FILE
DELIA PATRICIA GONZALEZ GUTIERREZ     ADDRESS ON FILE
DELIA PESCADOR / LUIS R PESCADOR      ADDRESS ON FILE
DELIA QUINONES OLMO                   ADDRESS ON FILE
DELIA QUINONES ORTIZ                  ADDRESS ON FILE
DELIA RIVERA                          ADDRESS ON FILE
DELIA RODRIGUEZ LA TORRE              ADDRESS ON FILE
DELIA ROMAN ESTEVES                   ADDRESS ON FILE
DELIA ROSA MORALES LOPEZ              ADDRESS ON FILE
DELIA SANCHEZ DIAZ                    ADDRESS ON FILE
Delia Suau                            ADDRESS ON FILE
DELIA TORRES CARRILLO                 ADDRESS ON FILE
DELIA TORRES GREGORIO                 ADDRESS ON FILE
DELIA TORRES OLIVERAS                 ADDRESS ON FILE
DELIA VAZQUEZ & GUILLERMO IZQUIERDO   ADDRESS ON FILE
DELIA VAZQUEZ ASTACIO                 ADDRESS ON FILE
DELIA Y RIOS ROSARIO                  ADDRESS ON FILE
DELIA ZUNIGA / SYLVIA GONZALEZ        ADDRESS ON FILE
DELIABEL M DIAZ ROMERO                ADDRESS ON FILE
DELIAN M LOYOLA COLON                 ADDRESS ON FILE
DELIANNE CANDELARIA MALDONADO         ADDRESS ON FILE
DELIANNE SAEZ RODRIGUEZ               ADDRESS ON FILE
DELICA AMADEO RODRIGUEZ               ADDRESS ON FILE
DELICIAS                              184 CALLE LUIS MUNOZ RIVERA                                                                  GUAYANILLA     PR      00656




                                                                                              Page 2244 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2245 of 3500
                                                                            17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                Address1                  Address2                            Address3   Address4   City         State   PostalCode   Country
DELICIAS CECILIAS INC        CAMINO DEL MAR            3036 VIA PELICANOS                                        TOA BAJA     PR      00949
DELICIAS MILOR               ADDRESS ON FILE
DELIDSA ROMERO SANTIAGO      ADDRESS ON FILE
DELIGNE COTTI, CARMEN A.     ADDRESS ON FILE
DELIGNE COTTI, LEYMADITH     ADDRESS ON FILE
DELILAH ALVAREZ              ADDRESS ON FILE
DELILAH BEAUCHAPM VELEZ      ADDRESS ON FILE
DELIMA IRIZARRY, YOLANDA     ADDRESS ON FILE
DELIMA VAZQUEZ, ROSEMARY     ADDRESS ON FILE
DELIMAR CRUZ RAMOS           ADDRESS ON FILE
DELIMAR J. MIRANDA VIERA     ADDRESS ON FILE
DELIMAR MIRANDA VIERA        ADDRESS ON FILE
DELIMAR SOSA HERNANDEZ       ADDRESS ON FILE
DELIMARIET QUINONES RIVERA   ADDRESS ON FILE
DELIN E TORRES ORTIZ         ADDRESS ON FILE
DELIN J FIGUEROA ALVARADO    ADDRESS ON FILE
DELINDA DELGADO              ADDRESS ON FILE
DELIO BATISTA GUTIERREZ      ADDRESS ON FILE
DELIRIS OCASIO COLON         ADDRESS ON FILE
DELIRIS OCASIO COLON         ADDRESS ON FILE
DELIRIS ORTIZ TORRES         ADDRESS ON FILE
DELIRIS RIVERA SANTIAGO      ADDRESS ON FILE
DELIS B RIVERA RIVERA        ADDRESS ON FILE
DELIS J BENITEZ JOUBERT      ADDRESS ON FILE
DELIS J. ORTIZ DE LEON       ADDRESS ON FILE
DELIS M RIVERA MIRANDA       ADDRESS ON FILE
DELISA M ARROYO TORRES       ADDRESS ON FILE
DELISLE, DENNIS              ADDRESS ON FILE
DELISSA RIVERA ZAYAS         ADDRESS ON FILE
DELISSE SANTIAGO AYALA       ADDRESS ON FILE
DELISSE Y RIVERA LARA        ADDRESS ON FILE
DELITH GONZALEZ SOTO         ADDRESS ON FILE
DELITZA RAMOS MENA           ADDRESS ON FILE
DELITZA RAMOS MENA           ADDRESS ON FILE
DELIVERY EXPRESS MOVING      P.O. BOX 1005                                                                       TOA ALTA     PR      00954
DELIX M VELASCO GUZMAN       ADDRESS ON FILE
DELIZ ALTRECHE, YAHAIRA      ADDRESS ON FILE
DELIZ APONTE, ASHLEY         ADDRESS ON FILE
DELIZ ASMAR MD, EFRAIN       ADDRESS ON FILE
DELIZ BABILONIA, MIGUEL A    ADDRESS ON FILE
DELIZ BAUZA, LAURA           ADDRESS ON FILE
DELIZ CABRERA, JULIA E       ADDRESS ON FILE
DELIZ CARABALLO, NELSON A    ADDRESS ON FILE
DELIZ CASTRELLO, DAVID       ADDRESS ON FILE
DELIZ CINTRON, BLANCA E      ADDRESS ON FILE
DELIZ CORCHADO, LUIS A.      ADDRESS ON FILE
DELIZ CRESPO, CARMEN H       ADDRESS ON FILE
DELIZ CRESPO, JUAN R         ADDRESS ON FILE
DELIZ DELGADO, AURIVETTE     ADDRESS ON FILE
DELIZ DIAZ, CARLOS           ADDRESS ON FILE
DELIZ DIAZ, VILMA M          ADDRESS ON FILE
DELIZ FIGUEROA MD, GLADYS    ADDRESS ON FILE
DELIZ FIGUEROA, GLADYS       ADDRESS ON FILE
DELIZ GARCIA, EDNA H         ADDRESS ON FILE
DELIZ GARCIA, LYDIA E        ADDRESS ON FILE
DELIZ HERNANDEZ, NOELIA      ADDRESS ON FILE
DELIZ HERNANDEZ, SANDRA      ADDRESS ON FILE
DELIZ I RAMIREZ ORTIZ        ADDRESS ON FILE
DELIZ LOPEZ, JESSICA O       ADDRESS ON FILE
DELIZ MACHADO, ELTON         ADDRESS ON FILE




                                                                            Page 2245 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2246 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                      Address1                                  Address2                                     Address3   Address4   City           State   PostalCode   Country
DELIZ MACHADO, JOSE                ADDRESS ON FILE
DELIZ MEDINA, DANIEL               ADDRESS ON FILE
DELIZ MENDEZ, MIGUEL               ADDRESS ON FILE
DELIZ MENDEZ, MIGUEL R.            ADDRESS ON FILE
DELIZ MORALES, CARMEN              ADDRESS ON FILE
DELIZ NIEVES, ELIZABETH            ADDRESS ON FILE
DELIZ NIEVES, ELIZABETH            ADDRESS ON FILE
DELIZ ORTIZ, NILSA A.              ADDRESS ON FILE
DELIZ ORTIZ, NOEMI                 ADDRESS ON FILE
DELIZ PAGAN, JOSE                  ADDRESS ON FILE
Deliz Pedroza, Carmen              ADDRESS ON FILE
DELIZ PINEIRO MEDINA               ADDRESS ON FILE
DELIZ QUINTANA, CARLOS             ADDRESS ON FILE
DELIZ REYES, MICHELE               ADDRESS ON FILE
DELIZ RIVERA, MICHELLE             ADDRESS ON FILE
DELIZ ROLDAN, ELGA M               ADDRESS ON FILE
DELIZ ROLDAN, VERONICA             ADDRESS ON FILE
DELIZ ROMAN, PEDRO                 ADDRESS ON FILE
DELIZ ROSADO, JUAN B               ADDRESS ON FILE
DELIZ SANTIAGO, RAFAEL             ADDRESS ON FILE
DELIZ SUAREZ, ARNALDO              ADDRESS ON FILE
DELIZ VARELA MD, LUIS J            ADDRESS ON FILE
DELIZ VEGA, JOEL O                 ADDRESS ON FILE
DELIZ VELEZ, ARTURO                ADDRESS ON FILE
DELIZ VELEZ, WILMA                 ADDRESS ON FILE
DELIZ VILLANUEVA, JESSICA          ADDRESS ON FILE
DELIZ Y ORTIZ SANTIAGO             ADDRESS ON FILE
DELL INC                           ONE DELL WAY MS19                                                                                            ROUND ROCK     TX      78682
DELL LATIN AMERICAN                MELLON BANK SUITE 200 DPT 890729          888 SOUTH GREENVILLE AVE                                           RICHARDSON     TX      75081
DELL MARKETING, INC                BOX 6760321200 EAST CAMPBELL RD SUITE 108                                                                    RICHARDSON     TX      75081
DELL PUERTO RICO                   METRO OFFICE PARK BUILDING 15, CALLE 2    MILLENNIUM PLAZA                                                   GUAYNABO       PR      00968‐1742
DELL PUERTO RICO                   METRO OFFICE PARK MILLENNIUM              PLAZA 15 BUILDING CALLE 2                                          GUAYNABO       PR      00968‐1742
DELL PUERTO RICO                   P O BOX 71449                                                                                                SAN JUAN       PR      00936‐8549
DELL SOFTWARE, INC.                P.O. BOX 49042                                                                                               SAN JOSE       CA      95161‐9955
DELL USA L.P.                      BOX 676021                                1200 EAST CAMPBELL, SUITE 108                                      RICHARDSON     TX      75081
DELL WORLD TRADE LPC DELL USA LP   AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                          SAN JUAN       PR      00902‐4140
DELL WORLD TRADE LPC DELL USA LP   PO BOX 676021                                                                                                DALLAS         TX      75267‐6021
DELL WORLD TRADE LPC DELL USA LP   PO BOX 676021 1200 EAST CAMPBELL          RD STE 108                                                         DALLAS         TX      75081
Della Camera Nava, Renardo         ADDRESS ON FILE
DELLA‐CAMERA NAVARRO, RENARDO      ADDRESS ON FILE
DELLACROCE MD, JOSEPH              ADDRESS ON FILE
DELLYS SERRANO MATIAS              ADDRESS ON FILE
DELMA CARRASQUILLO RIVERA          ADDRESS ON FILE
DELMA D RIVERA LOPEZ               ADDRESS ON FILE
DELMA D RIVERA LOPEZ               ADDRESS ON FILE
DELMA DE JESUS FIGUEROA            ADDRESS ON FILE
DELMA DEL VALLE SEARLY             ADDRESS ON FILE
DELMA DELGADO MORALES              ADDRESS ON FILE
DELMA E PEREZ KORTRIGHT            ADDRESS ON FILE
DELMA I BERNIER GONZALEZ           ADDRESS ON FILE
DELMA I PASTORIZA BARRIOS          ADDRESS ON FILE
DELMA J CLAUDIO CRUZ               ADDRESS ON FILE
DELMA J LANAUZE VAZQUEZ            ADDRESS ON FILE
DELMA J. LANAUZE VAZQUEZ           ADDRESS ON FILE
DELMA M DEL TORO TORO              ADDRESS ON FILE
DELMA MAISONET AGOSTO              ADDRESS ON FILE
DELMA PADILLA OQUENDO              ADDRESS ON FILE
DELMA PEGUERO RUIZ                 ADDRESS ON FILE
DELMA PENA VERA                    ADDRESS ON FILE
DELMA R. FALU VILLEGAS             ADDRESS ON FILE




                                                                                                         Page 2246 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2247 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                            Address1                                      Address2                                  Address3   Address4   City              State   PostalCode   Country
DELMA RIVERA LOPEZ                       ADDRESS ON FILE
DELMALIZ DIAZ ROSADO                     ADDRESS ON FILE
DELMAR INVESTMENT SE/ SCOTIABANK DE PR 2053 PONCE BY PASS SUITE 105                                                                                    PONCE             PR      00717‐1307
DELMARIE E DIAZ DIAZ                     ADDRESS ON FILE
DELMARIE FE RIVERA / MIRADA OPTICAL      LL 3 AVE MONSERRATE                                                                                           CAROLINA          PR      00984
DELMARIE SOTO                            ADDRESS ON FILE
DELMARIS A LUCIANO MACHADO               ADDRESS ON FILE
DELMARIS CASTILLO MORALES                ADDRESS ON FILE
DELMED HEALTH LLC                        431 SAVANNAH RD                                                                                               LEWES             DE      19958
DELMER CLYDE SANTESSON TRUST             PO BOX 1236                                                                                                   WALLER            TX      77484‐1236
DELMER OMAR DAVILA/DAVILA MARTELL CONSUURB LEVITTOWN LAKES                             HW6 CALLE JOAQUIN BURSET                                        TOA BAJA          PR      00949‐3736
DELMIRA A FIGUEROA MORALES               ADDRESS ON FILE
DELMONTE GARRIDO, FEDERICO               ADDRESS ON FILE
DEL‐MORAL ARROYO, HILDA I                ADDRESS ON FILE
DEL‐MORAL ARROYO, IRMA                   ADDRESS ON FILE
DEL‐MORAL SUAREZ, PRISCILA               ADDRESS ON FILE
DEL‐NERO OLIVER, MARIA E                 ADDRESS ON FILE
DELOITTE AND TOUCHE LLP                  1200 HATO REY TOWER                           268 AVE MUOZ RIVERA                                             SAN JUAN          PR      00918‐2511
DELOITTE AND TOUCHE LLP                  1200 HATO REY TOWER                           268 AVE MU¨OZ RIVERA                                            SAN JUAN          PR      00918‐2511
DELOITTE AND TOUCHE LLP                  1200 HATO REY TOWER                           268 AVE MUNOZ RIVERA                                            SAN JUAN          PR      00918
DELOITTE AND TOUCHE LLP                  TORRE CHARDON 350 CHARDON AVE.                SUITE 700                                                       SAN JUAN          PR      00918‐2140
DELOITTE CONSULTING LLP                  350 CHARDON AVE STE 700                                                                                       SAN JUAN          PR      00918‐2140
DELOITTE FINANCIAL ADVISORY SERVICES LLP BOSTON‐BERKELEY                               200 BERKELEY STREET                                             BOSTON            MA      02116
DELOITTE SERVICES LP                     40 22 SELLS DRIVE                                                                                             HERMITAGE         TN      37076
DELONG EAVES, AMMON                      ADDRESS ON FILE
Delorisses Santiago, Alexis              ADDRESS ON FILE
DEL‐PILAR DE LA CRUZ, JUANA A            ADDRESS ON FILE
DELPIN APONTE, JOSE M.                   ADDRESS ON FILE
DELPIN CINTRON, LOREN                    ADDRESS ON FILE
DELPIN DURAN, CARLOS                     ADDRESS ON FILE
DELPIN FRAU, MAGDA                       ADDRESS ON FILE
DELPIN GONZALEZ, HECTOR                  ADDRESS ON FILE
DELPIN JIMENEZ, MAYRA                    ADDRESS ON FILE
DELPIN MARTINEZ, MIRIAM Y                ADDRESS ON FILE
DELRAY MEDICAL CENTER                    MEDICAL RECORDS                               5352 LINTON BLVD                                                DELRAY BEACH      FL      33484
DEL‐RIO ACEVEDO, DAMARIS                 ADDRESS ON FILE
DELRIO ACUNA, MARICELYS                  ADDRESS ON FILE
DEL‐RIO ARCE, LIZETTE                    ADDRESS ON FILE
DEL‐RIO COLON, LUZ A                     ADDRESS ON FILE
DEL‐RIO ESPINOSA, ALMA L                 ADDRESS ON FILE
DEL‐RIO GUZMAN, MANUEL D                 ADDRESS ON FILE
DELRIO HERNANDEZ, MARIA A.               ADDRESS ON FILE
DEL‐RIO MORA, ZAIDEE                     ADDRESS ON FILE
DEL‐RIO RAICES, RAQUEL                   ADDRESS ON FILE
DELRIO, LUIS A                           ADDRESS ON FILE
DEL‐RIOS PEREZ, MIRTA I                  ADDRESS ON FILE
DELSA I CRUZ SANTIAGO                    ADDRESS ON FILE
DELSIE GANDIA FABIAN                     ADDRESS ON FILE
DELSY E VARGAS HERNANDEZ                 ADDRESS ON FILE
DELSY MARTINEZ GUZMAN                    ADDRESS ON FILE
DELSY MUNIZ ROSA                         ADDRESS ON FILE
DELTA AIRLINE INC                        PO BOX 45852                                                                                                  ATLANTA           GA      30320
DELTA DENTAL                             METRO OFFICE PARK                             14 CALLE 2 STE 200                                              GUAYNABO          PR      00968
DELTA DENTAL INSURANCE COMPANY           100 FIRST STREET MS 12R                                                                                       SAN FRANCISCO     CA      94105
Delta Dental Insurance Company           Attn: Andrea Fegley, Circulation of Risk      100 First Street                          M/S 15L               San Francisco     CA      94105
Delta Dental Insurance Company           Attn: Belinda Martinez, President             100 First Street                          M/S 15L               San Francisco     CA      94105
Delta Dental Insurance Company           Attn: Carol Kassab, Premiun Tax Contact       100 First Street                          M/S 15L               San Francisco     CA      94105
Delta Dental Insurance Company           Attn: Charles Lamont, Vice President          100 First Street                          M/S 15L               San Francisco     CA      94105
Delta Dental Insurance Company           Attn: Dennis Cordeiro, Vice President         100 First Street                          M/S 15L               San Francisco     CA      94105
Delta Dental Insurance Company           Attn: Janice Cameron, Consumer Complaint Cont 100 First Street                          M/S 15L               San Francisco     CA      94105




                                                                                                                  Page 2247 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                     Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 2248 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                           Address1                                           Address2                                Address3               Address4   City              State   PostalCode   Country
Delta Dental Insurance Company          Attn: Jerome Vitenson, External Auditor            100 First Street                        M/S 15L                           San Francisco     CA      94105
Delta Dental Insurance Company          Attn: Rafael Burgos , Agent for Service of Process 100 First Street                        M/S 15L                           San Francisco     CA      94105
Delta Dental Insurance Company          Attn: Wendy Reves, Regulatory Compliance Gove 100 First Street                             M/S 15L                           San Francisco     CA      94105
Delta Dental Insurance Company          P.O. Box 1809                                                                                                                Alpharetta        GA      30023‐1809
Delta Dental of Puerto Rico, Inc.       75 De Diego Avenue                                                                                                           San Juan          PR      00902
Delta Dental of Puerto Rico, Inc.       Attn: Marianne Ortiz Rivera, President             Metro Office Park                       14 Calle 2 Suite 200              Guaynabo          PR      00968
Delta Dental of Puerto Rico, Inc.       Attn: Marianne Ortiz, Circulation of Risk          Metro Office Park                       14 Calle 2 Suite 200              Guaynabo          PR      00968
Delta Dental of Puerto Rico, Inc.       Attn: Marianne Ortiz, Consumer Complaint ContaMetro Office Park                            14 Calle 2 Suite 200              Guaynabo          PR      00968
Delta Dental of Puerto Rico, Inc.       Attn: Marianne Ortiz, Premiun Tax Contact          Metro Office Park                       14 Calle 2 Suite 200              Guaynabo          PR      00968
Delta Dental of Puerto Rico, Inc.       Attn: Marianne Ortiz, Regulatory Compliance GovMetro Office Park                           14 Calle 2 Suite 200              Guaynabo          PR      00968
Delta Dental of Puerto Rico, Inc.       Attn: Marianne Ortiz, Vice President               Metro Office Park                       14 Calle 2 Suite 200              Guaynabo          PR      00968
DELTA E FIGUEROA LATONI                 ADDRESS ON FILE
DELTA ELEVATOR SYSTEMS INC              RR 2 BOX 4669                                                                                                                TOA ALTA          PR      00953
DELTA ELEVATOR SYSTEMS, INC.            P.O.BOX 9117                                                                                                                 BAYAMON           PR      00960
DELTA ELEVETOR SYTEMS                   EDIF BOGRICIM SUITE 302                            1606 AVE PONCE DE LEON                                                    SAN JUAN          PR      00909
DELTA EQUIPMENT MAINTENANCE & INSTALLAT PARQUE DEL MONTE MB‐73                             ENCANTADA                                                                 TRUJILLO ALTO     PR      00976
DELTA M FERNANDEZ CARRASQUILLO          ADDRESS ON FILE
DELTA MAINTENANCE SERVICE INC           PO BOX 194019                                                                                                                SAN JUAN          PR      00919‐4019
DELTHY ACEVEDO HERNANDEZ                ADDRESS ON FILE
DEL‐TORO RUIZ, EVA L                    ADDRESS ON FILE
DELUCCA TORO, ARNALDO                   ADDRESS ON FILE
DELUCCA TORO, MARLA                     ADDRESS ON FILE
Delucchi Olivares, Andres E.            ADDRESS ON FILE
DELUXE UNIFORMS INC                     295 CALLE COMERIO                                                                                                            BAYAMON           PR      00959‐5443
DELVA L. PEREZ RODRIGUEZ                ADDRESS ON FILE
DEL‐VALLE ALICEA, AIDA I                ADDRESS ON FILE
DEL‐VALLE ALMODOV, WILFREDO             ADDRESS ON FILE
DEL‐VALLE CAMACHO, LUIS E               ADDRESS ON FILE
DEL‐VALLE CARABALLO, IDALY              ADDRESS ON FILE
DELVALLE COLON,LUIS                     ADDRESS ON FILE
DELVALLE CUADRADO, LUIS                 ADDRESS ON FILE
DEL‐VALLE CUBERO, ROSA E                ADDRESS ON FILE
DEL‐VALLE DE JESUS, HERIBERTO           ADDRESS ON FILE
DEL‐VALLE DEL VALLE, VIRGINIA           ADDRESS ON FILE
DEL‐VALLE DONIS, MARIA S                ADDRESS ON FILE
DEL‐VALLE FALCON, JOSEFA                ADDRESS ON FILE
DELVALLE HERNANDEZ, MARIA C             ADDRESS ON FILE
DEL‐VALLE LUGO, ILEANA                  ADDRESS ON FILE
DELVALLE MELENDEZ, ANA E                ADDRESS ON FILE
DELVALLE MOJICA, DAISY                  ADDRESS ON FILE
DEL‐VALLE NUNEZ, ANGELINA               ADDRESS ON FILE
DEL‐VALLE NUNEZ, DOLORES                ADDRESS ON FILE
DEL‐VALLE NUNEZ, ROSA M                 ADDRESS ON FILE
DEL‐VALLE NUQEZ, BENITA                 ADDRESS ON FILE
DEL‐VALLE PADILLA, NIDIA                ADDRESS ON FILE
DELVALLE PEREZ, LYMARIE                 ADDRESS ON FILE
DEL‐VALLE RIVERA, IRIS M                ADDRESS ON FILE
DEL‐VALLE RIVERA, LUZ A                 ADDRESS ON FILE
DEL‐VALLE RODRIGUEZ, NESTOR             ADDRESS ON FILE
DEL‐VALLE RODRIGUEZ, RAFAEL             ADDRESS ON FILE
DEL‐VALLE ROSARIO, MARISOL              ADDRESS ON FILE
DELVALLE SANCHEZ, MAGALY                ADDRESS ON FILE
DEL‐VALLE SANTIAGO, CARMEN              ADDRESS ON FILE
DELVALLE SANTIAGO, EVELYN               ADDRESS ON FILE
DEL‐VALLE SERRANO, HERIBERTO            ADDRESS ON FILE
DEL‐VALLE SOTO, NITZA M                 ADDRESS ON FILE
DEL‐VALLE SOTO, YATHMIN                 ADDRESS ON FILE
DEL‐VALLE TIRADO, FIDELINA              ADDRESS ON FILE
DELVALLE VALENTIN, LYMARIE              ADDRESS ON FILE
DELVALLE VIZCARRONDO, MARIELY           ADDRESS ON FILE




                                                                                                                    Page 2248 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2249 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                            Address1                                 Address2                              Address3             Address4   City         State   PostalCode   Country
DEL‐VALLE, CONSORCIA                     ADDRESS ON FILE
DELVALLE, RICARDO                        ADDRESS ON FILE
DELVALLEBENITEZ, EFRAIN                  ADDRESS ON FILE
DELVALLECASRAQUILLO, ELOY                ADDRESS ON FILE
DELVALLEVELAZQUEZ, LUZ M.                ADDRESS ON FILE
DELVIN FERRER JIMENEZ                    ADDRESS ON FILE
DELVIN FIGUEROA RODRIGUEZ                ADDRESS ON FILE
DELVIN ROLDAN RODRIGUEZ                  ADDRESS ON FILE
DELVIS G LOPEZ SANTIAGO                  ADDRESS ON FILE
DELVIS J COLLAZO MONTALVO                ADDRESS ON FILE
DELVIS QUILES BETANCOURT                 ZENO GANDIA                              53 CALLE ASTURIA                                                      ARECIBO      PR      00612
DELVIS RAMON BENET GARCIA                ADDRESS ON FILE
DELVIS RUIZ ACEVEDO                      ADDRESS ON FILE
DELVIS RUIZ ACEVEDO                      ADDRESS ON FILE
DELVIS TORRES CONDE                      ADDRESS ON FILE
DELVVALLE RIVERA, OLGA                   ADDRESS ON FILE
DELVVALLE VELEZ, CECILIA                 ADDRESS ON FILE
DELWIN BENITEZ PEREZ                     ADDRESS ON FILE
DELWIN ORTIZ COLON                       ADDRESS ON FILE
DELWIN VELEZ SANTIAGO                    ADDRESS ON FILE
DELYALIZ ROSARIO AMBERT                  ADDRESS ON FILE
DELYBETZAIDA MATOS SANTIAGO              ADDRESS ON FILE
DELYLISON TORRES RAMOS                   ADDRESS ON FILE
DELYS D FERNANDEZ FIGUEROA               ADDRESS ON FILE
DELYVETTE RODRIGUEZ VILLEGAS             ADDRESS ON FILE
DELZA CANTO RUIZ                         ADDRESS ON FILE
DEMADI PSC                               URB MONTEHIEDRA                          87 CALLE BIENTEVEO                                                    SAN JUAN     PR      00926
DEMAIO BELLON MD, JAMIE                  ADDRESS ON FILE
DEMANDANTES CASO KPE 01‐2096             CONDIMINIO EL CENTRO II OFICINA 701      500 AVE MUÐOZ RIVERA                                                  SAN JUAN     PR      00918

DEMANDANTES CASO KPE 01‐2096             LIC. HECTOR HERNANDEZ                     AREA DEL TESORO                      CONTADURIA GENERAL              SAN JUAN     PR      00902
DEMANDANTES CASO KPE 01‐2096             QUINTAS DE SAN LUIS                       E 7 CALLE 3                                                          CAGUAS       PR      00725
DEMEL, GREGORY                           ADDRESS ON FILE
DEMELIZ NIEVES CINTRON                   ADDRESS ON FILE
DEMELO RABELO, RYAN                      ADDRESS ON FILE
DEMENTED THE MOVIE LLC                   PO BOX 13353                                                                                                   SAN JUAN     PR      00908
DEMERA LOPEZ, JENNIFER                   ADDRESS ON FILE
DEMETER INTERNATIONAL INC.               JOSÉ ANDREU FUENTES/PEDRO J. LÓPEZ BERGOL 261 AVE. DOMENECH                                                    SAN JUAN     PR      00918
DEMETER INTERNATIONAL INC.               LUIS P. COSTAS ELENA                      CALLE ORQUÍDEA #34                   URB. STA. MARÍA                 SAN JUAN     PR      00927
DEMETER INTERNATIONAL INC.               ROBERTO ALONSO SANTIAGO                   PO BOX 913                                                           GUAYNABO     PR      00970
DEMETRIA RIVERA / ANA RODRIGUEZ          ADDRESS ON FILE
DEMETRIO A. SANTAELLA CRUZ               ADDRESS ON FILE
DEMETRIO DE JESUS VALENCIA               ADDRESS ON FILE
DEMETRIO FERNANDEZ MANZANO               ADDRESS ON FILE
DEMETRIO FERNANDEZ QUINONES              ADDRESS ON FILE
DEMETRIO FERRER LEFEBRE                  ADDRESS ON FILE
DEMETRIO JOUBERT RODRIGUEZ               ADDRESS ON FILE
DEMETRIO MADERA RUIZ                     ADDRESS ON FILE
DEMETRIO MADERA RUIZ                     ADDRESS ON FILE
DEMETRIO MELENDEZ QUINONES               ADDRESS ON FILE
Deming Rodriguez, David J                ADDRESS ON FILE
Deming Rodriguez, Edgardo P              ADDRESS ON FILE
DEMIR INC DBA LABORATORIO CLINICO D MAES PO BOX 10540                                                                                                   PONCE        PR      00732‐0540
DEMIS Y. MOALES RIVERA                   ADDRESS ON FILE
DEMIS YADIRA MORALES RIVERA              ADDRESS ON FILE
DEMNATI, SAMIR                           ADDRESS ON FILE
DEMONT RENAS, JORGE A                    ADDRESS ON FILE
DEMORIZI GUZMAN, LESLIE                  ADDRESS ON FILE
DEMORIZI GUZMAN,LESLIE                   ADDRESS ON FILE
D'EMPIRE FERNANDEZ, MARIA ALEJANDRA      ADDRESS ON FILE




                                                                                                         Page 2249 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2250 of 3500
                                                                                17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                    Address1                           Address2                         Address3   Address4   City        State   PostalCode   Country
DEMURA, EDSON                    ADDRESS ON FILE
DEN JESUS REYES, YORISEL         ADDRESS ON FILE
DEN LEON RODRIGUEZ, ELBA D       ADDRESS ON FILE
DENAMY FREYTES ROJAS             ADDRESS ON FILE
DENARDIS MD, MICHAEL             ADDRESS ON FILE
DENARO ALICEA, EDWARD            ADDRESS ON FILE
DENCI MORALES                    ADDRESS ON FILE
Dendariarena Gonzalez, Kenneth   ADDRESS ON FILE
Dendariarena Soto, Miguel A      ADDRESS ON FILE
DENDARIARENA, GLADYS E           ADDRESS ON FILE
DENEB CRESPO VARGAS              ADDRESS ON FILE
DENECK N RIVERA CARRION          ADDRESS ON FILE
DENEL Y TORRES CRUZ              ADDRESS ON FILE
DENERY ARROYO, LORNA             ADDRESS ON FILE
DENESSE PEREZ RODRIGUEZ          ADDRESS ON FILE
DENESTOR CABRERO NUNEZ           ADDRESS ON FILE
DENICE M CORREA GORIS            ADDRESS ON FILE
DENICE PAZ MONROIG               ADDRESS ON FILE
DENICE ROMAN MARRERO             ADDRESS ON FILE
DENICIA QUINONES MELENDEZ        ADDRESS ON FILE
DENIDES VELEZ MALDONADO          ADDRESS ON FILE
DENILSA ROSADO ARROYO            ADDRESS ON FILE
DENIS A VILCHEZ VALENZUELA       ADDRESS ON FILE
Denis Arce, Wanda I              ADDRESS ON FILE
DENIS DIAZ, AWILDA               ADDRESS ON FILE
DENIS ESTRADA, LUIS              ADDRESS ON FILE
DENIS GABRIEL, ALCIDES           ADDRESS ON FILE
DENIS GARCIA, SYLVIA M           ADDRESS ON FILE
DENIS GONZALEZ TIRADO            ADDRESS ON FILE
DENIS I CINTRON HERNANDEZ        ADDRESS ON FILE
DENIS IRIZARRY, LUZ              ADDRESS ON FILE
DENIS J ORTIZ MALDONADO          ADDRESS ON FILE
DENIS J ZAMORA CORREA            ADDRESS ON FILE
DENIS LOPEZ, IVAN                ADDRESS ON FILE
DENIS MARIN, MARIBEL             ADDRESS ON FILE
DENIS MARQUEZ, SHEILA Y.         ADDRESS ON FILE
DENIS MARTINEZ, JANET            ADDRESS ON FILE
Denis Mojica, Ernie F            ADDRESS ON FILE
DENIS QUINONES, PEDRO            ADDRESS ON FILE
DENIS QUINTANA, DAVID N          ADDRESS ON FILE
DENIS QUINTANA, GUIANA           ADDRESS ON FILE
DENIS RIVERA, ELIANISSE          ADDRESS ON FILE
DENIS RIVERA, JOSE               ADDRESS ON FILE
Denis Rivera, Jose R             ADDRESS ON FILE
DENIS RODRIGUEZ MORALES          ADDRESS ON FILE
DENIS ROMAN V POLICIA DE PR      LCDO. AUGUSTO C. SANCHEZ FUENTES   CALLE UNIÓN 166                                        FAJARDO     PR      00738
DENIS ROMAN, GRICEL M.           ADDRESS ON FILE
DENIS ROQUE COLON                ADDRESS ON FILE
DENIS RUIZ DEL PILAR             ADDRESS ON FILE
DENIS RUIZ SANTANA               ADDRESS ON FILE
Denis Sanabria, Rafael           ADDRESS ON FILE
Denis Tavales, Jose Raul         ADDRESS ON FILE
DENIS TAVALES, RAFAEL            ADDRESS ON FILE
DENIS TAVALES, SOL               ADDRESS ON FILE
DENIS TAVALES, SOL A.            ADDRESS ON FILE
DENIS VALENTIN, ANTONIA          ADDRESS ON FILE
DENIS VALLEJO, MYRNA M           ADDRESS ON FILE
DENIS, ALICIA                    ADDRESS ON FILE
DENISA NUNEZ MARTINEZ            ADDRESS ON FILE
DENISE ACEVEDO SANTIAGO          ADDRESS ON FILE




                                                                                      Page 2250 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2251 of 3500
                                                                             17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                 Address1                     Address2                                   Address3   Address4   City         State   PostalCode   Country
DENISE ALMEYDA PURCELL        ADDRESS ON FILE
DENISE ANDREU PIETRI          ADDRESS ON FILE
DENISE AVILES GARCIA          ADDRESS ON FILE
DENISE BERRIOS DOMINGUEZ      ADDRESS ON FILE
DENISE BUSTAMANTE             ADDRESS ON FILE
DENISE CABRERA BERRÍOS        LCDO. OSVALDO BURGOS PÉREZ   PO BOX 194211                                                    SAN JUAN     PR      00919‐4211
DENISE CARRASQUILLO RIVERA    ADDRESS ON FILE
DENISE CRUZ FANTAUZZI         ADDRESS ON FILE
DENISE CRUZ GALARZA           ADDRESS ON FILE
DENISE E DELGADO ALICEA       ADDRESS ON FILE
DENISE E TORRES ROSA          ADDRESS ON FILE
DENISE E TORRES ROSA          ADDRESS ON FILE
DENISE FLORES FIGUEROA        ADDRESS ON FILE
DENISE FUENTES REYES          ADDRESS ON FILE
DENISE G DUBOCQ VERDEGUEZ     ADDRESS ON FILE
DENISE GONZALEZ LLERA         ADDRESS ON FILE
DENISE GUTIERREZ              OSVALDO BURGOS PEREZ         PO BOX 194211                                                    SAN JUAN     PR      00919‐4211
DENISE H BERCOVITCH           ADDRESS ON FILE
DENISE HERNANDEZ MACHUCA      ADDRESS ON FILE
DENISE HERNANDEZ MACHUCA      ADDRESS ON FILE
DENISE HERNANDEZ MORALES      ADDRESS ON FILE
DENISE I GARCIA CRUZ          ADDRESS ON FILE
DENISE L SILVA DIXON          ADDRESS ON FILE
DENISE LAABES VERA            ADDRESS ON FILE
DENISE M ANDREU PIETRI        ADDRESS ON FILE
DENISE M FIGUEROA MARTINEZ    ADDRESS ON FILE
DENISE M HERNANDEZ HUERTAS    ADDRESS ON FILE
DENISE M IRIARTE QUINONES     ADDRESS ON FILE
DENISE M MONZON RODRIGUEZ     ADDRESS ON FILE
DENISE M OLIVERAS BERRIOS     ADDRESS ON FILE
DENISE M OLIVERAS BERRIOS     ADDRESS ON FILE
DENISE M RIVERA HERNANDEZ     ADDRESS ON FILE
DENISE M SANTIAGO AROCHO      ADDRESS ON FILE
DENISE M TORRES CORREA        ADDRESS ON FILE
DENISE M. MARRERO MEDINA      ADDRESS ON FILE
DENISE M. RAMOS MUNIZ         ADDRESS ON FILE
DENISE MALDONADO ROSA         ADDRESS ON FILE
DENISE MARIE ANDINO SANTANA   ADDRESS ON FILE
DENISE MARQUEZ MOLINA         ADDRESS ON FILE
DENISE MARTINEZ VAZQUEZ       ADDRESS ON FILE
DENISE MOLINARES PEREZ        ADDRESS ON FILE
DENISE NAVARRO MEJIAS         ADDRESS ON FILE
DENISE NAZARIO OLIVER         ADDRESS ON FILE
DENISE NAZARIO PAGAN          ADDRESS ON FILE
DENISE NEGRON FEBUS           ADDRESS ON FILE
DENISE ORTIZ ANTONELLY        ADDRESS ON FILE
DENISE ORTIZ QUINTANA         ADDRESS ON FILE
DENISE ORTIZ SANTO            ADDRESS ON FILE
DENISE PADIN RODRIGUEZ        ADDRESS ON FILE
DENISE PARRILLA ORTIZ         ADDRESS ON FILE
DENISE PEREZ SANCHEZ          ADDRESS ON FILE
DENISE PLANAS CRUZ            ADDRESS ON FILE
DENISE RAMIREZ GONZALEZ       ADDRESS ON FILE
DENISE REYES ALVAREZ          ADDRESS ON FILE
DENISE REYES VAZQUEZ          ADDRESS ON FILE
DENISE REYES VAZQUEZ          ADDRESS ON FILE
DENISE RIVERA RODRIGUEZ       ADDRESS ON FILE
DENISE ROMAN MARTINEZ         ADDRESS ON FILE
DENISE ROSARIO SOTO           ADDRESS ON FILE
DENISE SANCHEZ ORTIZ          LCDA. YAZMET PEREZ GIUSTI    138 WINSTON CHURCHILL AVE                  PMB 914               SAN JUAN     PR      00926‐6013




                                                                                       Page 2251 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2252 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DENISE SEGARRA DAVILA         ADDRESS ON FILE
DENISE SOUFRONT VICENTE       ADDRESS ON FILE
DENISE VALLE SUAREZ           ADDRESS ON FILE
DENISE VARGAS ROSADO          ADDRESS ON FILE
DENISE VEGA ALVARADO          ADDRESS ON FILE
DENISE VEGA ALVARADO          ADDRESS ON FILE
DENISE VELEZ RAMOS            ADDRESS ON FILE
DENISE X PACHECO CABRERA      ADDRESS ON FILE
DENISE ZELIGMAN               ADDRESS ON FILE
DENISMAR AROCHO GUZMAN        ADDRESS ON FILE
Denismar Arocho Guzman        ADDRESS ON FILE
DENISON LUGO VALENTIN         ADDRESS ON FILE
DENISON SHELLEY DIAZ          ADDRESS ON FILE
DENISS BURGOS, MARTIN         ADDRESS ON FILE
DENISSA GONZALEZ BERRIOS      ADDRESS ON FILE
DENISSA M. RODRIGUEZ GOMEZ    ADDRESS ON FILE
DENISSE A CRESPO GRACIA       ADDRESS ON FILE
DENISSE A RODRIGUEZ BAEZ      ADDRESS ON FILE
DENISSE A VAZQUEZ NIEVES      ADDRESS ON FILE
DENISSE A. MAYSONET WILKES    ADDRESS ON FILE
DENISSE A. RAMIREZ PERDOMO    ADDRESS ON FILE
DENISSE ALICEA MATIAS         ADDRESS ON FILE
DENISSE AYALA QUINONES        ADDRESS ON FILE
DENISSE CARMINE FERNANDEZ     ADDRESS ON FILE
DENISSE CINTRON               ADDRESS ON FILE
DENISSE D. MOLINA FELICIANO   ADDRESS ON FILE
DENISSE DIAZ ALVARADO         ADDRESS ON FILE
DENISSE DROZ SIERRA           ADDRESS ON FILE
DENISSE E ORTIZ FLORES        ADDRESS ON FILE
DENISSE FIGUEROA PAGAN        ADDRESS ON FILE
DENISSE GARCIA COTTO          ADDRESS ON FILE
DENISSE GONZALEZ GONZALEZ     ADDRESS ON FILE
DENISSE GONZALEZ VAZQUEZ      ADDRESS ON FILE
DENISSE HERMINA COLON         ADDRESS ON FILE
DENISSE HERNÁNDEZ MORALES     LCDO. NARCISO PAGÁN       PO BOX 155                                             AÑASCO       PR      00610
DENISSE I CEDENO REYES        ADDRESS ON FILE
DENISSE J FIGUEROA FIGUEROA   ADDRESS ON FILE
DENISSE L BERTIE GRIFFIN      ADDRESS ON FILE
DENISSE LUGO REYES            ADDRESS ON FILE
DENISSE M BAEZ BATISTA        ADDRESS ON FILE
DENISSE M CINTRON RODRIGUEZ   ADDRESS ON FILE
DENISSE M OCASIO RIVERA       ADDRESS ON FILE
DENISSE M OCASIO RIVERA       ADDRESS ON FILE
DENISSE M PEREZ SANTOS        ADDRESS ON FILE
DENISSE M VICENTE QUINONES    ADDRESS ON FILE
DENISSE MARIE COLON RIVERA    ADDRESS ON FILE
DENISSE MARIE VENTURA PEREZ   ADDRESS ON FILE
DENISSE MARTES PEREZ          ADDRESS ON FILE
DENISSE MARTES PEREZ          ADDRESS ON FILE
DENISSE MATTEI ARCAY          ADDRESS ON FILE
DENISSE MAYSONET WILKES       ADDRESS ON FILE
DENISSE MERCADO ROQUE         ADDRESS ON FILE
DENISSE MOLINA RIVERA         ADDRESS ON FILE
DENISSE MONTANEZ GONZALEZ     ADDRESS ON FILE
DENISSE ORTIZ TORRES          ADDRESS ON FILE
DENISSE OTERO RODRIGUEZ       ADDRESS ON FILE
DENISSE PAGAN ACOSTA          ADDRESS ON FILE
DENISSE PEREZ RODRIGUEZ       ADDRESS ON FILE
DENISSE PINA PINA             ADDRESS ON FILE
DENISSE PIZARRO CRUZ          ADDRESS ON FILE




                                                                          Page 2252 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2253 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                           Address1                   Address2                             Address3   Address4   City              State   PostalCode   Country
DENISSE RIVERA MENA                     ADDRESS ON FILE
DENISSE RIVERA MENENDEZ                 ADDRESS ON FILE
DENISSE RIVERA RODRIGUEZ                ADDRESS ON FILE
DENISSE RIVERA SANCHEZ                  ADDRESS ON FILE
DENISSE RODRIGUEZ CEDENO                ADDRESS ON FILE
DENISSE RODRIGUEZ FUENTES               ADDRESS ON FILE
DENISSE ROSARIO ASOCIADOS INC           URB RIO CRISTAL            RA15 VIA DEL PARQUE                                        TRUJILLO ALTO     PR      00976‐6023
DENISSE ROSARIO YANSE                   ADDRESS ON FILE
DENISSE RUIZ JAIME                      ADDRESS ON FILE
DENISSE SANCHEZ BENITEZ                 ADDRESS ON FILE
DENISSE SANCHEZ RODRIGUEZ MD, MARIELLE ADDRESS ON FILE
DENISSE TIRADO RIVERA                   ADDRESS ON FILE
DENISSE VALENTIN CRUZ                   ADDRESS ON FILE
DENISSE ZAYAS ARCA                      ADDRESS ON FILE
DENIT GONZALEZ SEPULVEDA                ADDRESS ON FILE
DENITZA MENDEZ TORRES                   ADDRESS ON FILE
DENITZAIDA PEREZ DIAZ                   ADDRESS ON FILE
DENIZ ALVARADO, MIGDALIA                ADDRESS ON FILE
DENIZ COLON MARCANO                     ADDRESS ON FILE
DENIZ IRIZARRY, YAMILE                  ADDRESS ON FILE
DENIZ MARQUEZ MD, JUAN                  ADDRESS ON FILE
DENIZ PEREZ, LUIS                       ADDRESS ON FILE
DENIZ SIERRA, HECTOR                    ADDRESS ON FILE
DENIZAC CRUZ, LAURA L                   ADDRESS ON FILE
DENIZAC GONZALEZ, IVAN D.               ADDRESS ON FILE
DENIZAC PIERESCHI, MADELINE             ADDRESS ON FILE
DENIZAC RODRIGUEZ, JAN C                ADDRESS ON FILE
DENIZARD ALONSO, KALA                   ADDRESS ON FILE
DENIZARD CHALUISANT, ELIZABETH          ADDRESS ON FILE
DENIZARD CORTES, LUIS E                 ADDRESS ON FILE
DENIZARD CORTES, WILLIAM                ADDRESS ON FILE
DENIZARD FELICIANO, JAFETT              ADDRESS ON FILE
DENIZARD LABOY, SYLVIA                  ADDRESS ON FILE
DENIZARD LABOY, SYLVIA                  ADDRESS ON FILE
DENIZARD LABOY, SYLVIA E.               ADDRESS ON FILE
DENIZARD LABOY, SYLVIA E.               ADDRESS ON FILE
DENIZARD MEDINA, KEILA                  ADDRESS ON FILE
DENIZARD MEDINA, OMAR                   ADDRESS ON FILE
DENIZARD MELENDEZ, MELISSA              ADDRESS ON FILE
DENIZARD MERCADO, JAIME                 ADDRESS ON FILE
DENIZARD ORTIZ, MARITZA                 ADDRESS ON FILE
DENIZARD ROMAN, ROBERTO                 ADDRESS ON FILE
DENIZARD ROSADO, SANDRA M               ADDRESS ON FILE
DENIZARD SOTO, GILBERTO                 ADDRESS ON FILE
DENIZARD VELEZ, ROBERTO                 ADDRESS ON FILE
Denizard, Gladys                        ADDRESS ON FILE
DENNCO                                  PO BOX 19510                                                                          SAN JUAN          PR      00910
DENNESSE OCASIO GARCIA                  ADDRESS ON FILE
DENNIE PLACERES RIOS                    ADDRESS ON FILE
DENNIES CEDENO RODRIGUEZ                ADDRESS ON FILE
DENNIES OSTOLAZA ALICEA                 ADDRESS ON FILE
DENNIES UGARTE CRUZ                     ADDRESS ON FILE
DENNIS A GARCIA COLON                   ADDRESS ON FILE
DENNIS A GARCIA COLON                   ADDRESS ON FILE
DENNIS A LUGO LUGO                      ADDRESS ON FILE
DENNIS A TORRES PEREZ                   ADDRESS ON FILE
DENNIS A VAZQUEZ SEPULVEDA              ADDRESS ON FILE
DENNIS ACOSTA MONTALVO                  ADDRESS ON FILE
DENNIS ACOSTA MONTALVO                  ADDRESS ON FILE
DENNIS ARRAGONES LOPEZ, MERCEDES PEGUEROADDRESS ON FILE




                                                                                         Page 2253 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2254 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                          Address1                    Address2                               Address3   Address4   City         State   PostalCode   Country
DENNIS AUTO AIR                        HC 7 BOX 98799                                                                           ARECIBO      PR      00612
DENNIS AVILES AQUINO                   ADDRESS ON FILE
DENNIS B PARCES ENRIQUEZ               ADDRESS ON FILE
DENNIS BRACERO PABON                   ADDRESS ON FILE
DENNIS CORREA RIVERA                   ADDRESS ON FILE
DENNIS D MARTINEZ COLON                ADDRESS ON FILE
DENNIS D ORTIZ TEXIDOR                 ADDRESS ON FILE
DENNIS DELGADO, SABA                   ADDRESS ON FILE
DENNIS E NUNEZ SOLA                    ADDRESS ON FILE
DENNIS E VEGA QUILES                   ADDRESS ON FILE
DENNIS EMIL PANTOJAS DE JESUS          ADDRESS ON FILE
DENNIS EMIL PANTOJAS DE JESUS          ADDRESS ON FILE
DENNIS ESTRADA PAGAN                   ADDRESS ON FILE
DENNIS ESTRADA PEREZ                   ADDRESS ON FILE
DENNIS F BOTELLO HOLZ                  ADDRESS ON FILE
DENNIS FERGUSON MATISON                ADDRESS ON FILE
DENNIS FIGUEROA PASTRANA               ADDRESS ON FILE
DENNIS FRANCESCHINI MARTINEZ           ADDRESS ON FILE
DENNIS FRANCESCHINI MARTINEZ           ADDRESS ON FILE
DENNIS GOMEZ ORTIZ                     ADDRESS ON FILE
DENNIS GONZALEZ COLON                  ADDRESS ON FILE
DENNIS GONZALEZ COLON                  ADDRESS ON FILE
DENNIS GONZALEZ SANCHEZ                ADDRESS ON FILE
DENNIS GONZALEZ, ROSA                  ADDRESS ON FILE
DENNIS GUADALUPE HERNANDEZ             ADDRESS ON FILE
DENNIS H NUNEZ RIOS                    ADDRESS ON FILE
DENNIS HERNANDEZ O'FARRILL             ADDRESS ON FILE
DENNIS HERNANDEZ, MARIA DE LOS A       ADDRESS ON FILE
DENNIS I MORALES TORRES                ADDRESS ON FILE
DENNIS IRIZARRY, ZULMA                 ADDRESS ON FILE
DENNIS J O'KEEFE                       ADDRESS ON FILE
DENNIS J RAMOS GONZALEZ                ADDRESS ON FILE
DENNIS J TRISKER BECKER                ADDRESS ON FILE
DENNIS JUSTINIANO MCGGE                ADDRESS ON FILE
DENNIS L SEILHAMER ANADON              ADDRESS ON FILE
DENNIS LATUCH                          ADDRESS ON FILE
DENNIS LOPEZ COLONDRES                 ADDRESS ON FILE
DENNIS M FLOWER WILLIS                 ADDRESS ON FILE
DENNIS M. BURGOS CINTRON               ADDRESS ON FILE
DENNIS M. GARCIA FLORES                ADDRESS ON FILE
DENNIS MOLINA SANTIAGO                 ADDRESS ON FILE
DENNIS MORALES LANDRAU                 ADDRESS ON FILE
DENNIS NUNEZ DE JESUS                  ADDRESS ON FILE
DENNIS O LOPEZ PEREIRA                 ADDRESS ON FILE
DENNIS O VARGAS GONZALEZ               ADDRESS ON FILE
DENNIS OMARTINEZ DAVILA                ADDRESS ON FILE
DENNIS R NAVAS ASTOL                   ADDRESS ON FILE
DENNIS R SOSTRE GONZALEZ               ADDRESS ON FILE
DENNIS R TORRES                        ADDRESS ON FILE
DENNIS REYES RODRIGUEZ                 ADDRESS ON FILE
DENNIS RIVERA GUZMAN/HOGAR BETHEL,CORP PO BOX 1698                                                                              BAYAMON      PR      00960‐0000
DENNIS RIVERA RODRIGUEZ SEC SOC INC    URB MADRIGAL                E CALLE I                                                    PONCE        PR      00731‐0000
DENNIS RODRIGUEZ BATIZ                 ADDRESS ON FILE
DENNIS SABAT ROSARIO                   ADDRESS ON FILE
DENNIS SERVICE CENTER                  GARAJE GULF                 1007 AVE MUNOZ RIVERA                                        SAN JUAN     PR      00925
DENNIS TORRES MARRERO                  ADDRESS ON FILE
DENNIS TORRES PAGAN                    ADDRESS ON FILE
DENNIS TORRES VELAZQUEZ                ADDRESS ON FILE
DENNIS TORRES VELAZQUEZ                ADDRESS ON FILE
DENNIS Y COLON VILLARRUBIA             URB REXVILLE J2‐18          CALLE 12 A                                                   BAYAMON      PR      00957




                                                                                           Page 2254 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2255 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                          Address1                          Address2                         Address3   Address4   City           State   PostalCode   Country
DENNIS ZAMORA /DBA/ ZAMORA CONST GROUP 1604 VILLAS DEL PARQUE ESCORIAL                                                          CAROLINA       PR      00987
DENNISE I MORALES MARTINEZ             ADDRESS ON FILE
DENNISE L VEGA SOLER                   ADDRESS ON FILE
DENNISE L VEGA SOLER                   ADDRESS ON FILE
DENNISE L VEGA SOLER                   ADDRESS ON FILE
DENNISE M SALCEDO RAMOS                ADDRESS ON FILE
DENNISE MONTANEZ CEPEDA                ADDRESS ON FILE
DENNISE MORALES BAEZ                   ADDRESS ON FILE
DENNISE N LONGO QUINONES               ADDRESS ON FILE
DENNISE OCASIO SALDANA                 ADDRESS ON FILE
DENNISE PAGAN PABON                    ADDRESS ON FILE
DENNISE ROMAN PINERO                   ADDRESS ON FILE
DENNISE SANTIAGO HERNANDEZ             ADDRESS ON FILE
DENNISE SOTO RALAT                     ADDRESS ON FILE
DENNISE TORRES AGOSTO                  ADDRESS ON FILE
DENNISE TORRES AGOSTO                  ADDRESS ON FILE
DENNISE TORRES FRANSCESCHI             ADDRESS ON FILE
DENNISS RIVERA MEDINA                  ADDRESS ON FILE
DENNISSE AVILES BAEZ                   ADDRESS ON FILE
DENNISSE COLON ALSINA                  ADDRESS ON FILE
DENNISSE I PADILLA LUGO                ADDRESS ON FILE
DENNISSE I PADILLA LUGO                ADDRESS ON FILE
DENNISSE LOPEZ ORTIZ                   ADDRESS ON FILE
DENNISSE M REYES HERNANDEZ             ADDRESS ON FILE
DENNISSE M RUIZ VALENTIN               ADDRESS ON FILE
DENNISSE M VALENTIN MARCIAL            ADDRESS ON FILE
DENNISSE NARVAEZ SOTO                  ADDRESS ON FILE
DENNISSE PEREZ SERRANO                 ADDRESS ON FILE
DENNISSE RODRIGUEZ ACOSTA              ADDRESS ON FILE
DENNISSE SANTIAGO SUAZO                ADDRESS ON FILE
DENNY APONTE AVILES                    ADDRESS ON FILE
DENNY GOMEZ GONZALEZ                   ADDRESS ON FILE
DENNY J APONTE                         ADDRESS ON FILE
DENNYS A FERNANDEZ OLAN                ADDRESS ON FILE
DENNYS D MARTINEZ JIMENEZ              ADDRESS ON FILE
DENNYS LUIS OCASIO BURGOS              ADDRESS ON FILE
DENNYS NIEVES ROSA                     ADDRESS ON FILE
DENNYS S. SANTOS FELICIANO             ADDRESS ON FILE
DENNYS ZAYAS ORTEGA                    ADDRESS ON FILE
DENT ACOSTA, JILL                      ADDRESS ON FILE
DENT ACOSTA, JILL A                    ADDRESS ON FILE
DENTAL SERVICES CENTER INC             PO BOX 1679                                                                              GUAYAMA        PR      00785‐1679
DENTAL SURGERY OF GIORDANO SAN ANTONIO ADDRESS ON FILE
DENTAL TORRES P S C                    P O BOX 505                                                                              MOROVIS        PR      00687
DENTAL WAREHOUSE                       JARD DE CAPARRA                   SS14 CALLE 35                                          BAYAMON        PR      00959
DENTISTAS ASOCIADOS DEL NORTE INC      PO BOX 480                                                                               MANATI         PR      00674
DENTO LAB. INC./LAB. CLINICO LAS LOMAS SAN GERMAN MEDICAL PLAZA          HC 03 BOX 25708                                        SAN GERMAN     PR      00683‐0000
DENTON CRUZ, LUIS                      ADDRESS ON FILE
Denton Cruz, Luis J                    ADDRESS ON FILE
DENTON FERNANDEZ, CARMEN S             ADDRESS ON FILE
Denton Rivera, Diosdado                ADDRESS ON FILE
DENVER HEALTH CLINIC                   3380 BAHALIA ST                                                                          DENVER         CO      80204
DENVER VA HOSPITAL                     1055 CLERMONT ST                                                                         DENVER         CO      80220
DENY F CIPRIAN CORREA                  ADDRESS ON FILE
DENY J MILLAN MARTINEZ                 ADDRESS ON FILE
DENZEL O RAMIREZ SEPULVEDA             ADDRESS ON FILE
DENZIL REYES DIAZ                      ADDRESS ON FILE
DEODATTI SANCHEZ, CIRCE                ADDRESS ON FILE
DEODATTI TORRES, DORISVETTE            ADDRESS ON FILE
DEODATTI TORRES, JOISETTE              ADDRESS ON FILE




                                                                                           Page 2255 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2256 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                           Address1                                    Address2                                   Address3              Address4               City             State   PostalCode   Country
DEODATTI TORRES, LYNETTE                ADDRESS ON FILE
DEP. DE CORRECCION                      LCDA. YARLENE JIMENEZ                       PMB 291 #1353                              RD. 19                                       GUAYNABO         PR      00966‐2700
DEP. DE FAMILIA                         LCDA. GENOVEVA VALENTIN SOTO                PO BOX 13695                                                                            SAN JUAN         PR      00908‐3695
DEP. FAMILIA                            LCDA. YARLENE JIMENEZ                       PMB 291 #1353                              RD. 19                                       GUAYNABO         PR      00966‐2700
DEPARTAMENTO CORRECCION Y REHABILITACIONP O BOX 71308                                                                                                                       SAN JUAN         PR      00936
                                                                                                                              516 AVE. Ponce DE
DEPARTAMENTO DE CORRECCION               LCDO. JUAN ROSARIO MERCADO                 EDIF. ASOCIACION DE MAESTROS QUINTO PISO OLEON 452,                                     HATO REY         PR      00918
DEPARTAMENTO DE CORRECCIÓN               SR. LUIS MADERA ECHEVARRÍA, SERVIDORES PÚBPO BOX 1365                                                                              SAN JUAN         PR      00908‐3695
DEPARTAMENTO DE CORRECCION Y REHABILITACPO BOX 71308                                                                                                                        SAN JUAN         PR      00936
DEPARTAMENTO DE DESARROLLO ECONOMICO Y COMERCIO
DEPARTAMENTO DE EDUCACION SERVI IMPRENTP O BOX 9072                                                                                                                         SAN JUAN         PR      00908
DEPARTAMENTO DE ESTADO                   PO BOX 9023271                                                                                                                     SAN JUAN         PR      00902‐3271
DEPARTAMENTO DE HACIENDA                 ALEXANDRA SANCHEZ MITCHELL                 101 AVE. SAN PATRICIO                     SUITE 1120                                    GUAYNABO         PR      00968
DEPARTAMENTO DE HACIENDA                 LCDO. EDWIN RIVERA CINTRON                 PO BOX 1098                                                                             LAS PIEDRAS      PR      00771
DEPARTAMENTO DE HACIENDA                 Negociado de Procesamiento de Planillas    P.O. BOX 9022501                                                                        SAN JUAN         PR      00902‐2501
DEPARTAMENTO DE HACIENDA                 PO BOX 90241400                                                                                                                    SAN JUAN         PR      00902
DEPARTAMENTO DE JUSTICIA                 JUNTA DE CONFISCACIONES                                                                                                            SAN JUAN         PR      00902‐0192
DEPARTAMENTO DE JUSTICIA                 JUNTA DE CONFISCACIONES                    PO BOX 9020192                                                                          SAN JUAN         PR      00902‐0192
DEPARTAMENTO DE JUSTICIA
DEPARTAMENTO DE LA FAMILIA               LCDA. GENOVEVA VALENTIN SOTO               PO BOX 13695                                                                            SAN JUAN         PR      00908‐3695
DEPARTAMENTO DE LA FAMILIA               LUIS MADERA                                PO BOX 13695                                                                            SAN JUAN         PR      00908‐3695
DEPARTAMENTO DE LA FAMILIA & SPU, ADALGESGENOVEVA VALENTIN SOTO                     PO BOX 13695                                                                            SAN JUAN         PR      00908‐3695
DEPARTAMENTO DE LA FAMILIA Y SPU         LCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                                                            SAN JUAN         PR      00908‐3695
                                                                                                                              1353 AVE. LUIS
DEPARTAMENTO DE LA FAMILIA Y SPU         LCDA. YARLENE JIMENEZ ROSARIO              PMB 133                                   VIGOREAUX                                     GUAYNABO         PR      00966‐2700
DEPARTAMENTO DE LA FAMILIA Y SPU MILTON GLCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                                                            SAN JUAN         PR      00908‐3695
                                                                                                                              1353 AVE. LUIS
DEPARTAMENTO DE LA FAMILIA Y SPU MILTON GLCDA. YARLENE JIMENEZ ROSARIO              PMB 133                                   VIGOREAUX                                     GUAYNABO         PR      00966‐2700
DEPARTAMENTO DE LA VIVIENDA              AVE. BARBOSA # 606                                                                                                                 SAN JUAN         PR      00936‐0000
DEPARTAMENTO DE LA VIVIENDA              CARLOS E. POLO, ERNESTO L. POLO            BANCO COPERATIVO PLAZA                    SUITE 705‐A       623 Ponce DE LEON           SAN JUAN         PR      00917
DEPARTAMENTO DE LA VIVIENDA              CENTENO ROSSY, CARLOS J.                   PO BOX 367106                                                                           SAN JUAN         PR      00936‐7106
DEPARTAMENTO DE LA VIVIENDA              DELINETTE M. MERCED SALGADO                DELINETTE M. MERCED SALGADO               CALLE LAS LOMAS   APT 408                     SAN JUAN         PR      00921
DEPARTAMENTO DE LA VIVIENDA              JUAN A. NÚÑEZ GARCÍA                       PO BOX 573                                                                              BARRANQUITAS     PR      00794
DEPARTAMENTO DE LA VIVIENDA              JULIO NIGAGLIONI ARRACHE                   PO BOX 134908                                                                           SAN JUAN         PR      00936‐4908
DEPARTAMENTO DE LA VIVIENDA              LCDO. FRANCISCO TORO GONZALEZ              PO BOX 330164                                                                           Ponce            PR      00733‐0164
DEPARTAMENTO DE LA VIVIENDA              LCDO. JOSÉ COTTO LUNA, PARTE CON INTERÉS PO BOX 2234                                                                               CAYEY            PR      00737
                                                                                                                              URB. REPARTO
DEPARTAMENTO DE LA VIVIENDA              LESLIE M. MERCED SALGADO                   LESLIE M. MERCED SALGADO                  METROPOLITANO     CALLE 46 SE #1213           SAN JUAN         PR      00921
DEPARTAMENTO DE LA VIVIENDA              MARGARA SAEZ TORRES, PARTE CON INTERÉS CARR. 156 KM. 33.3                                                                          COMERÍO          PR      00782
DEPARTAMENTO DE LA VIVIENDA              NO APLICA: INVESTIGACION RELACIONADA A DESHAUCIO POR ABANDONO DE USUFRUCTO OTORGADO POR DEPT. VIVIENDA
DEPARTAMENTO DE LA VIVIENDA              NO TIENE ABOGADO; SR. RAMON MARTINEZ ROS94 CALLE MAGNOLIA                                                                          PONCE            PR      00730
DEPARTAMENTO DE LA VIVIENDA              NO TIENE ABOGADO; TAMPOCO SE TIENE PARTE CON INTERES QUE SE LE NOTIFIQUE

                                                                                                                               BARRIADA JURUTUNGO
DEPARTAMENTO DE LA VIVIENDA              ORIALIS MERCED OQUENDO                     ORIALIS MERCED OQUENDO                     CALLE K #112                                 SAN JUAN         PR      00917
Departamento De La Vivienda              Res. Ramon Martin Sola, Edif. 3 Apt. 591                                                                                           Arecibo          PR      00612

DEPARTAMENTO DE LA VIVIENDA              ROBERTO MERCED ORTIZ                       ROBERTO MERCED ORTIZ                       URB. ESTANCIA DEL SOL C‐3 CALLE JUAN DE DIOS RÍO GRANDE       PR      00745
DEPARTAMENTO DE LA VIVIENDA              ROBIAN MERCED RIVERA                       ROBIAN MERCED RIVERA VILLA CAROLINA        CALE 435 BLQ. 193 #6                         CAROLINA         PR      00985
DEPARTAMENTO DE LA VIVIENDA              RODRIGUEZ HUEMER, MYRIA A                  PO BOX 520                                                                              VEGA BAJA        PR      00694‐2454
DEPARTAMENTO DE LA VIVIENDA              SANDRA MERCED                              SANDRA MERCED VILLA CAROLINA               CALE 435 BLQ. 193 #6                         CAROLINA         PR      00985
DEPARTAMENTO DE LA VIVIENDA
                                                                                                                               AV ENIDA Ponce DE
DEPARTAMENTO DE LA VIVIENDA DE PR        LCDO. JESÚS HERNÁNDEZ                      BUFETE HERNÁNEDEZ SÁNCHEZ                  LEÓN 1519             FIRST BANK SUITE 806   SAN JUAN         PR      00909
                                                                                                                               AV ENIDA Ponce DE
DEPARTAMENTO DE LA VIVIENDA DE PUERTO RICLCDO. JESÚS HERNÁNDEZ                      BUFETE HERNÁNEDEZ SÁNCHEZ                  LEÓN 1519             FIRST BANK SUITE 806   SAN JUAN         PR      00909
DEPARTAMENTO DE PERMISOS URBANISTICOS MUNICIPIO DE CAROLINA                                                                                                                 CAROLINA         PR      00987
DEPARTAMENTO DE SALUD                    Centro Inmunología Oficina de Finanzas     PO BOX 70184                                                                            SAN JUAN         PR      00936‐0000
DEPARTAMENTO DE SALUD                    COMISION PARA PREVENCION DEL SUICIDIO      PO BOX 70184                                                                            SAN JUAN         PR      00936‐0184
DEPARTAMENTO DE SALUD                    EDWIN RIVERA CINTRON                       PO BOX 1098                                                                             LAS PIEDRAS      PR      00771




                                                                                                                Page 2256 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2257 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                             Address1                                  Address2                                      Address3                  Address4            City            State   PostalCode   Country
DEPARTAMENTO DE SALUD                     HOSPITAL UNIVERSITARIO ADULTO             PO BOX 2116                                                                                 SAN JUAN        PR      00922‐2116
DEPARTAMENTO DE SALUD                     LCDO. FERNANADO PÉREZ DEL VALLE           Cond. Santa Mónica Calle Krug #73 Apt. 4B                                                   SAN JUAN        PR      00911
                                                                                                                                  Ponce de León #208 Piso
DEPARTAMENTO DE SALUD                    LCDO. HERMÁN G. COLBERG GUERRA        Banco Popular Center Ave.                          19                                            SAN JUAN        PR      00918
DEPARTAMENTO DE SALUD                    LCDO. WILMER MORALES FONSECA          PO Box 79552                                                                                     CAROLINA        PR      00984‐9552
DEPARTAMENTO DE SALUD                    PO BOX 70184                                                                                                                           SAN JUAN        PR      00936
DEPARTAMENTO DE SALUD                    PO BOX 2116                                                                                                                            SAN JUAN        PR      00922‐2116
DEPARTAMENTO DE SALUD                    PO BOX 917                                                                                                                             PONCE           PR      00731
DEPARTAMENTO DE SALUD                    PROGRAMA DE SALUD AMBIENTAL           917 AVE TITO CASTRO                                                                              PONCE           PR      00731
DEPARTAMENTO DE SALUD                    PROGRAMA DE SALUD AMBIENTAL           PO BOX 70184                                                                                     SAN JUAN        PR      00936‐0000
DEPARTAMENTO DE SALUD                    S.A.R.A.F.S.‐Oficina de Finanzas                                                                                                       SAN JUAN        PR      00936‐0000
DEPARTAMENTO DE SALUD                    SANTA JUANITA                         100 AVE LAUREL                                                                                   BAYAMON         PR      00956
DEPARTAMENTO DE SALUD                    SECRETARIA AUXILIAR SALUD AMBIENTAL   OFIC DE FINANZAS                                   PO BOX 70184                                  SAN JUAN        PR      00936
DEPARTAMENTO DE SALUD DE P.R.            P.O. BOX 70184                                                                                                                         SAN JUAN        PR      00936
DEPARTAMENTO DE SALUD REGION SUR         PROGRAMA DE PREVENCION ETS VIH        DRA GLADYS SEPULVEDA                               GPO BOX 330550                                PONCE           PR      00733‐0550
DEPARTAMENTO DE TERAPIA FISICA HIMA CAGU PO BOX 4980                                                                                                                            CAGUAS          PR      00726
DEPARTAMENTO DE TRABAJO                  EDIF PRUDENCIO RIVERA MARTINEZ        505 AVE MUOZ RIVERA                                                                              SAN JUAN        PR      00918
DEPARTAMENTO DE TRANSPORTACION Y OBRAS LCDA TANIA L. FERNÁNDEZ MEDERO, DEPARTAMCalle Olimpo                                                                                     San Juan        PR      00907
DEPARTAMENTO DE TRANSPORTACION Y OBRAS LCDA. GIOVANNA GARCIA ROSALY, DEPARTAMENCalle Olimpo                                                                                     San Juan        PR      00907
DEPARTAMENTO DE TRANSPORTACION Y OBRAS LCDO. AURELIO GRACIA MORALES            LCDO. AURELIO GRACIA MORALES                       HC 72 BOX 3694                                NARANJITO       PR      00719

DEPARTAMENTO DE TRANSPORTACION Y OBRAS LCDO. BENJAMIN MORALES DEL VALLE             LCDO. BENJAMIN MORALES DEL VALLE              URB. TOWN PARK            MARGINA 181 NÚM. A‐1 SAN JUAN       PR      00924
DEPARTAMENTO DE TRANSPORTACION Y OBRAS LCDO. JOEL O ORTIZ SANTIAGO                  LCDO. JOEL O ORTIZ SANTIAGO                   436 AVENIDA HOSTOS                             SAN JUAN       PR      00918
                                                                                                                                  1353 AVE. LUIS
DEPARTAMENTO DE TRANSPORTACIÓN Y OBRAS LCDA. YARLENE JIMÉNEZ ROSARIO                 PMB 133                                      VIGOREAUX                                     GUAYNABO        PR      00966‐2700
DEPARTAMENTO DEL TRABAJO                    505 AVE MUNOZ RIVERA                                                                                                                SAN JUAN        PR      00918
DEPARTAMENTO DEL TRABAJO(SEGURO CHOFER 505 AVE MUNOZ RIVERA PISO 9                                                                                                              SAN JUAN        PR      00918
Departamento Recreacion y Deporte           PO BOX 9023207                                                                                                                      SAN JUAN        PR      00902
Department of Defense (DOD)                 Attn: Jim Mattis                         1400 Defense Pentagon                                                                      Washington      DC      20301‐1400
Department of Defense (DOD)                 Jim Mattis                               1400 Defense Pentagon                                                                      Washington      DC      20301‐1400
Department of Energy (DOE)                  Attn: Rick Perry                         1000 Independence Ave., SW                                                                 Washington      DC      20585
Department of Energy (DOE)                  Rick Perry                               1000 Independence Ave., SW                                                                 Washington      DC      20585
DEPARTMENT OF HEALTH & HUMAN SERVICES AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                                                  SAN JUAN        PR      00902‐4140
DEPARTMENT OF HEALTH & HUMAN SERVICES PO BOX 6021                                                                                                                               ROCKVILLE       MD      20852
DEPARTMENT OF HEALTH AND HUMAN SERVICESHHS PROGRAM SUPPORT CENTER                    P.O. BOX 530231                                                                            ATLANTA         GA      30353‐0231
Department of Homeland Security (DHS)       Attn: John F. Kelly                      245 Murray Lane., SW                                                                       Washington      DC      20528‐0075
Department of Homeland Security (DHS)       John F. Kelly                            245 Murray Lane., SW                                                                       Washington      DC      20528‐0075
Department of housing and Urban Development Attn: Ben Carson                         451 7th Street., SW                                                                        Washington      DC      20410
Department of housing and Urban Development Ben Carson                               451 7th Street., SW                                                                        Washington      DC      20410
Department of Human and Health Services     Attn: Thomas E. Price                    200 Independence Ave, SW                                                                   Washington      DC      20201
Department of Human and Health Services     Thomas E. Price                          200 Independence Ave, SW                                                                   Washington      DC      20201
Department of the Interior (DOI)            Attn: Ryan Zinke                         1849 C St., NW                                                                             Washington      DC      20240
Department of the Interior (DOI)            Ryan Zinke                               1849 C St., NW                                                                             Washington      DC      20240
DEPARTMENT OF THE TREASURY OF VIRGINIA PO BOX 2478                                                                                                                              RICHMOND        VA      23218‐2478
Department of Transportation (DOT)          Attn: Elaine L. Chao                     1200 New Jersey Ave., SE                                                                   Washington      DC      20590
Department of Transportation (DOT)          Elaine L. Chao                           1200 New Jersey Ave., SE                                                                   Washington      DC      20590
Department of Veterans Affairs (VA)         Attn: David J Shulkin                    810 Vermont Ave., NW                                                                       Washington      DC      20420
Department of Veterans Affairs (VA)         David J Shulkin                          810 Vermont Ave., NW                                                                       Washington      DC      20420
DEPARTMENT OF VETERINARY                    1800 DENISON AVENUE                      KSV VETERINARY MEDICAL CENTER                                                              MANHATTAN       KS      66506‐5600
DEPENDABLE MORTUARY SERVICE & EQUIP PR PO BOX 3013                                                                                                                              VEGA ALTA       PR      00692‐3013
DEPHNE I CARRION LOZANO                     ADDRESS ON FILE
DEPO. DE SALUD                              EDWIN RIVERA CINTRON                     PO BOX 1098                                                                                LAS PIEDRAS     PR      00771
DEPORTE HIPICO Y CARMEN A PIZARRO HANCE 65TH INFANTERIA STATION                      PO BOX 29156                                                                               SAN JUAN        PR      00929
DEPORTE HIPICO Y CARMEN A PIZARRO HANCE PO BOX 29159                                                                                                                            SAN JUAN        PR      00929‐9156
DEPORTES 13 TV CORP                         PO BOX 8319                                                                                                                         SAN JUAN        PR      00910
DEPORTES NUMERO 1                           NORTE SHOPPING CENTER AVE. BALDORIOTY DE CASTRO                                                                                     SANTURCE        PR      00913
DEPORTES PA EL BARRIO INC                   COND TORRES DE ANDALUCIA                 EDF 1 APTO 805                                                                             SAN JUAN        PR      00926
DEPORTES SALVADOR COLOM                     AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                                                  SAN JUAN        PR      00902‐4140
DEPORTES SALVADOR COLOM                     PO BOX 1339                                                                                                                         SAN JUAN        PR      00902‐0000
DEPORTES SALVADOR COLOM                     PO BOX 9235                                                                                                                         SAN JUAN        PR      00908‐0235




                                                                                                                   Page 2257 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2258 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                             Address1                                 Address2                                   Address3         Address4   City           State   PostalCode   Country
DEPORTES SALVADOR COLOM, INC              PO BOX 11977                                                                                                    SAN JUAN       PR      00922‐1977
DEPORTES SALVADOR COLOM, INC              PO BOX 9235                                                                                                     SAN JUAN       PR      00908‐0235
DEPORTES TORMES INC                       PO BOX 204 PASEO DEL CAFE 26                                                                                    YAUCO          PR      00698‐0000
DEPRAT ROJAS, LUIS                        ADDRESS ON FILE
DEPRESSION BIPOLAR SUPPORT ALLIANCE       730 N. FRANKLIN STREET SUITE 501                                                                                CHICAGO        IL      60610‐7224
DEPT DESARROLLO ECONOMICO Y COMERCIO PO BOX 362350                                                                                                        SAN JUAN       PR      00936‐2350
DEPT FAMILIA Y/O LEYMADITH DELIGNE COTTI DE LA FAMILIA                             PO BOX 44                                                              MERCEDITAS     PR      00715
DEPT JUSTICIA Y/O SONIA GONZALEZ ORTIZ    P O BOX 9023899                                                                                                 SAN JUAN       PR      00902‐3899
DEPT OF RADIOLOGIA                        PO BOX 653937                                                                                                   MIAMIA         FL      33265
DEPT OF REHAB MEDICINE                    PO BOX 19072                                                                                                    GREEN BAY      WI      54307 9072
DEPT P R LEGION AMERICANA INC             PO BOX 11424                                                                                                    SAN JUAN       PR      00922‐1424
DEPT REC DEPORTE NESTOR CASILLAS ANGLER DEPTO RECREACION Y DEPORTE                 P O BOX 9023207                                                        SAN JUAN       PR      00902‐3207
DEPT. DE LA FAMILIA                       LCDA.YARLENE RIVERA JIMENEZ              PMB 133 1353 AVE. LUIS VIGOREAUX                                       GUAYNABO       PR      00966‐2700
DEPT. DE RECREACIÓN Y DEPORTES            ANTONIO FAS PACHECO                      PO BOX 1098                                                            CABO ROJO      PR      00623
DEPT. RECURSOS NATURALES Y AMBIENTALES PO BOX 366147                                                                                                      SAN JUAN       PR      00936‐0147
DEPTCIRUGIA HOSP PEDIATRICOUNIVERSITARIO P O BOX 362875                                                                                                   SAN JUAN       PR      00936
DEPTO AGRIC Y JUAN ALBERTO DE JESUS       PO BOX 10163                                                                                                    SAN JUAN       PR      00908‐1163
DEPTO AGRICULTURA OFICINA REGLAMENTACIO INDUSTRIAL LECHERA ORIL                    PO BOX 10163                                                           SAN JUAN       PR      00908
DEPTO DE CORRECCION Y REHABILITACION      PO BOX 71308                                                                                                    SAN JUAN       PR      00936
DEPTO DE FAMILIA Y/O ANA E PEREZ RIVERA   PO BOX 2578                                                                                                     BAYAMON        PR      00960‐2578
DEPTO DE FAMILIA Y/O CARMEN L RODRIGUEZ CALLE GEORGETTI ESQ DR VIDALALTOS          APARTADO 9098                                                          HUMACAO        PR      00797
DEPTO DE HACIENDA Y NESTOR R GUASP MONGEPO BOX 9024140                                                                                                    SAN JUAN       PR      00902‐2503
DEPTO DE LA FAM Y MARITZA MATEO MATEO PO BOX 871                                                                                                          PONCE          PR      00731‐0871
DEPTO DE LA FAMILIA JULISSA JORGE RIVERA  P O BOX 638                                                                                                     CAGUAS         PR      00726
DEPTO DE LA FAMILIA V SPU MARIA L MUÑOZ PALCDA. GENOVEVA VALENTÍN SOTO / SERVIDORESPO BOX 13695                                                           SAN JUAN       PR      00908‐3695
                                                                                                                              1353 AVE. LUIS
DEPTO DE LA FAMILIA V SPU MARIA L MUÑOZ PALCDA. YARLENE JIMENEZ ROSARIO            PMB 133                                    VIGOREAUX                   GUAYNABO       PR      00966‐2700
DEPTO DE LA FAMILIA Y ANA E PEREZ RIVERA  PO BOX 2578                                                                                                     BAYAMON        PR      00960‐2578
DEPTO DE LA FAMILIA Y ANGEL L PARIS       PO BOX 9023349                                                                                                  SAN JUAN       PR      00902‐3349
DEPTO DE LA FAMILIA Y BLANCA E PANIAGUA PO BOX 8000                                                                                                       SAN JUAN       PR      00910‐0800
DEPTO DE LA FAMILIA Y BLANCA VALE         PO BOX 504                                                                                                      ARECIBO        PR      00612‐0504
DEPTO DE LA FAMILIA Y CARLOS I HERNANDEZ PO BOX 970                                                                                                       AGUADILLA      PR      00603‐0970
DEPTO DE LA FAMILIA Y EDDIE PEREZ ROSA    PO BOX 11398                                                                                                    SAN JUAN       PR      00910‐1398
DEPTO DE LA FAMILIA Y HILDA M NORIEGA     PO BOX 4707                                                                                                     CAROLINA       PR      00984‐4707
DEPTO DE LA FAMILIA Y JOEL R RIVERA       PO BOX 210                                                                                                      GUAYAMA        PR      00785‐0210
DEPTO DE LA FAMILIA Y JOSE J BECERRIL     PO BOX 8000                                                                                                     SAN JUAN       PR      00910‐0800
DEPTO DE LA FAMILIA Y JULISSA JORGE       PO BOX 638                                                                                                      CAGUAS         PR      00726‐0638
DEPTO DE LA FAMILIA Y MELVIN OCASIO       PO BOX 191118                                                                                                   SAN JUAN       PR      00910‐1118
DEPTO DE LA FAMILIA Y MYRTA PABON         PO BOX 901                                                                                                      HUMACAO        PR      00792‐0901
DEPTO DE LA FAMILIA Y ORLANDO RIVERA      PO BOX 8000                                                                                                     SAN JUAN       PR      00902‐0800
DEPTO DE LA FAMILIA Y VANESSA TUA         SUITE 20                                 CTRO GUBERNAMENTAL NINADISH 55                                         MAYAGUEZ       PR      00680‐3689
DEPTO DE LA FAMILIA Y VIRGEN JIMENEZ      AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                              SAN JUAN       PR      00902‐4140
DEPTO DE LA FAMILIA Y VIRGEN JIMENEZ      PO BOX 8000                                                                                                     SAN JUAN       PR      00910‐0800
DEPTO DE LA FAMILIA Y/O DORKA RODRIGUEZ P O BOX 638                                                                                                       CAGUAS         PR      00726
DEPTO DE LA SALUD Y PEDRO RIVERA          PO BOX 25220                                                                                                    SAN JUAN       PR      00928‐5220
DEPTO DE LA VIVIENDA Y SONIA OFARRIL      PO BOX 21365                                                                                                    SAN JUAN       PR      00928‐1365
DEPTO DE PR DE LA LEGION AMERICANA INC    FERNADEZ JUNCOS STATION                  PO BOX 11737                                                           SAN JUAN       PR      00910‐1737
DEPTO DE PR DE LA LEGION AMERICANA INC    PLAYA PUERTO REAL                        471 CALLE UNION                                                        FAJARDO        PR      00738
DEPTO DE PR DE LA LEGION AMERICANA INC    PO BOX 11737 ESTACION FDEZ JUNCOS                                                                               SAN JUAN       PR      00910‐1737
DEPTO DE PR DE LA LEGION AMERICANA INC    PO BOX 266                                                                                                      FAJARDO        PR      00738
DEPTO DE PR DE LA LEGION AMERICANA INC    POST 140 CAROLINA                        PO BOX 11737                                                           SAN JUAN       PR      00910‐1737
DEPTO DE PR DE LA LEGION AMERICANA INC    POST 18 RIO GRANDE                       PO BOX 11737                                                           SAN JUAN       PR      00910‐1737
DEPTO DE PR DE LA LEGION AMERICANA INC    POST 50 LOIZA                            PO BOX 11737                                                           SAN JUAN       PR      00910‐1737
DEPTO DE RECURSOS NATURALES Y             AMBIENTALES                              PO BOX 36147                                                           SAN JUAN       PR      00936‐6147
DEPTO DE SALUD Y BIENVENIDO GOMEZ MERCEDPO BOX 70184                                                                                                      SAN JUAN       PR      00936‐0184
DEPTO DEL TRABAJO /JOHANNA MATOS DE LEON505 AVE MUNOZ RIVERA                                                                                              SAN JUAN       PR      00918
DEPTO DEL TRABAJO Y ELBA L COLLAZO        505 AVE MUNOZ RIVERA                                                                                            SAN JUAN       PR      00919
DEPTO DEL TRABAJO Y LYDIA J VALENTIN      505 AVE MUNOZ RIVERA                                                                                            SAN JUAN       PR      00919
DEPTO DEL TRABAJO Y REC HUMANOS           505 AVE. MUÐOZ RIVERA                                                                                           SAN JUAN       PR      00918
DEPTO DEL TRABAJO Y REC HUMANOS           505 AVE. MUNOZ RIVERA                                                                                           SAN JUAN       PR      00918




                                                                                                               Page 2258 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2259 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                              Address1                                   Address2                                  Address3         Address4   City         State   PostalCode   Country
DEPTO DEL TRABAJO Y REC HUMANOS            520 PONCE DE LEON                                                                                                SAN JUAN     PR      00901‐2304
DEPTO DEL TRABAJO Y REC HUMANOS            577 AVE PONCE DE LEON                                                                                            SAN JUAN     PR      00919
DEPTO DEL TRABAJO Y REC HUMANOS            ADM. DE CORRECCION                         PO BOX 71308                                                          SAN JUAN     PR      00936
DEPTO DEL TRABAJO Y REC HUMANOS            AREA DE TESORO                             DIVISION DE CONCILIACION                                              SAN JUAN     PR      00902‐4140
DEPTO DEL TRABAJO Y REC HUMANOS            AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                             SAN JUAN     PR      00902‐4140
DEPTO DEL TRABAJO Y REC HUMANOS            C/O EDUARDO RAMIREZ                        OFICINA DEL GOBERNADOR                    PO BOX 82                   SAN JUAN     PR      00902‐0082
DEPTO DEL TRABAJO Y REC HUMANOS            C/O GUARDIA NACIONAL                       PO BOX 9023786                                                        SAN JUAN     PR      00902‐3786
DEPTO DEL TRABAJO Y REC HUMANOS            C/O MANUEL A CRUZ FRAGOSO                  PO BOX 9066600                                                        SAN JUAN     PR      00906‐6600
DEPTO DEL TRABAJO Y REC HUMANOS            DEPTO TRAB NEG DE SEG DE EMPLEO            PO BOX 1020                                                           SAN JUAN     PR      00919
DEPTO DEL TRABAJO Y REC HUMANOS            EDIF PRUDENCIO RIVERA MARTINEZ             505 AVE MUNOZ RIVERA                                                  SAN JUAN     PR      00918
DEPTO DEL TRABAJO Y REC HUMANOS            NEGOCIADO DE SEGURIDAD DE EMPLEO           505 AVE MUNOZ RIVERA                                                  SAN JUAN     PR      00918
DEPTO DEL TRABAJO Y REC HUMANOS            P O BOX 1020                                                                                                     SAN JUAN     PR      00919
DEPTO DEL TRABAJO Y REC HUMANOS            PO BOX 190759                              DEPTO. DE EDUCACION                                                   SAN JUAN     PR      00919‐0759
DEPTO DEL TRABAJO Y REC HUMANOS            PO BOX 195540                                                                                                    SAN JUAN     PR      00919‐5540
DEPTO DEL TRABAJO Y REC HUMANOS            PO BOX 71308                                                                                                     SAN JUAN     PR      0093671308
DEPTO DEL TRABAJO Y REC HUMANOS            PO BOX 9024140                                                                                                   SAN JUAN     PR      00902‐4140
DEPTO DEL TRABAJO Y REC HUMANOS            SC SEGURO CHOFERIL EMPLEADO                505 AVE MUNOZ RIVERA                                                  SAN JUAN     PR      00918
DEPTO DEL TRABAJO Y REC HUMANOS            SEGURO CHOFERIL                            505 AVE MUNOZ RIVERA PISO 9                                           SAN JUAN     PR      00918
DEPTO DEL TRABAJO Y WILLIAM JIMENEZ        505 AVE MUNOZ RIVERA                                                                                             SAN JUAN     PR      00919
DEPTO DEL TRABAJO Y/O VANESSA SANCHEZ      505 AVE MUNOZ RIVERA                                                                                             SAN JUAN     PR      00919
DEPTO DESARROLLO ECONOMICO Y COMERCIO P O BOX 362350                                                                                                        SAN JUAN     PR      00936‐2350
DEPTO EDUCACION Y HERIBERTO RIVERA         PO BOX 190759                                                                                                    SAN JUAN     PR      00919‐0759
DEPTO FAMILIA Y/O ERICK TORRES RODRIGUEZ PO BOX 504                                                                                                         ARECIBO      PR      00613‐0504
DEPTO FAMILIA Y/O JAVIER MARQUEZ VALLE     P O BOX 11398                                                                                                    SAN JUAN     PR      00910
DEPTO FAMILIA Y/O JESSICA LARRACUENTE      SUITE 20                                   CTRO GUBERNAMENTAL NINADISH 55                                        MAYAGUEZ     PR      00680‐3689
DEPTO FAMILIA Y/O JOEL RIVERA RODRIGUEZ    PO BOX 210                                                                                                       GUAYAMA      PR      00785‐0210
DEPTO JUSTICIA Y/O RICARDO MELENDEZ        PO BOX 9020192                                                                                                   SAN JUAN     PR      00902‐0192
DEPTO REC NATURALES AMBIENTALES            PO BOX 5887                                                                                                      SAN JUAN     PR      00902
DEPTO REC Y DEPORTE Y DIANA E ACOSTA       PO BOX 9023207                                                                                                   SAN JUAN     PR      00902‐3207
DEPTO TRABAJO / LUZ D SANTIAGO RIVERA      DEPARTAMENTO DEL TRABAJO                   505 AVE MUNOZ RIVERA                                                  SAN JUAN     PR      00918
DEPTO TRABAJO REC HUM                      520 PONCE DE LEON                                                                                                SAN JUAN     PR      00901‐2304
DEPTO TRABAJO Y/O JOHANNA MATOS DE LEON 505 AVE MUNOZ RIVERA                                                                                                SAN JUAN     PR      00918
DEPTO TRABAJO Y/O LUZ D SANTIAGO RIVERA DEPARTAMENTO DEL TRABAJO                      505 AVE MUNOZ RIVERA                                                  SAN JUAN     PR      00918
DEPTO TRANSP OBRAS PUBLICAS ACERVO         APARTADO 428                                                                                                     MAYAGœEZ     PR      00681
DEPTO TRANSP OBRAS PUBLICAS ACERVO         AVE BARBOSA 155                                                                                                  SAN JUAN     PR      00962
DEPTO TRANSP OBRAS PUBLICAS ACERVO         OFICINA REGULAR DE TRANSITO                155 AVE BARBOSA                                                       SAN JUAN     PR      00962
DEPTO TRANSP OBRAS PUBLICAS ACERVO         PO BOX 41269                                                                                                     SAN JUAN     PR      00940‐1269
DEPTO TRANSP.OBRAS PUBLICAS ACERVO         APARTADO 41269                                                                                                   SAN JUAN     PR      00940‐1269
DEPTO TRANSP.OBRAS PUBLICAS ACERVO         OFICINA REGULAR DE TRANSITO                AVE BARBOSA # 155                                                     SAN JUAN     PR      00962‐0000
DEPTO TRANSPORTACION Y OBRAS PUBLICAS      AREA REGULACION DEL TRANSITO               PO BOX 41089                                                          SAN JUAN     PR      00940‐1089
DEPTO TRANSPORTACION Y OBRAS PUBLICAS      CONTADURIA GENERAL                         AREA DEL TESORO                                                       SAN JUAN     PR      00902
DEPTO TRANSPORTACION Y OBRAS PUBLICAS      OFICINA REGULAR DE TRANSITO                155 AVE BARBOSA                                                       SAN JUAN     PR      00962
DEPTO TRANSPORTACION Y OBRAS PUBLICAS      PO BOX 41269                                                                                                     SAN JUAN     PR      00940‐1269
DEPTO TRANSPORTACION Y OBRAS PUBLICAS      PO BOX 428                                                                                                       MAYAGÜEZ     PR      00681
DEPTO. CORRECCION                          LCDA.YARLENE RIVERA JIMENEZ                PMB 133 1353 AVE. LUIS VIGOREAUX                                      GUAYNABO     PR      00966‐2700
DEPTO. DE CORRECCION Y REHABILITACION      Box. 71308,                                                                                                      SAN JUAN     PR      00936‐0000
DEPTO. DE CORRECION Y REHABILITACION       PO BOX 71308                                                                                                     SAN JUAN     PR      00936‐8184
DEPTO. DE HACIENDA                         JUAN A. SANTOS BERRIOS                     PO BOX 9102                                                           HUMACAO      PR      00792‐9102
DEPTO. DE LA FAMILIA                       GENOVEVA VALENTÍN SOTO                     PO BOX 13695                                                          SAN JUAN     PR      00908‐3695
DEPTO. DE LA FAMILIA                       GENOVEVA VALENTÍN SOTOILSA RODRÍGUEZ CANPO BOX 13695                                                             SAN JUAN     PR      00908‐3695
DEPTO. DE LA FAMILIA                       LCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                                          SAN JUAN     PR      00908‐3695
DEPTO. DE LA FAMILIA V SERVIDORES PUBLICOS LCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                                          SAN JUAN     PR      00908‐3695
                                                                                                                                1353 AVE. LUIS
DEPTO. DE LA FAMILIA V SERVIDORES PUBLICOS LCDA. YARLENE JIMENEZ ROSARIO             PMB 133                                    VIGOREAUX                   GUAYNABO     PR      00966‐2700
DEPTO. RECURSOS NATURALES Y AMBIENTALES PO BOX 366147                                                                                                       SAN JUAN     PR      00936‐0000
DEPTO. SALUD‐SALUD AMBIENTAL               P. O. BOX 70184                                                                                                  SAN JUAN     PR      00936‐0000
DERA V TRUJILLO LUGO                       ADDRESS ON FILE
DERAFSH AMIRI, REIHANEH                    ADDRESS ON FILE
DERBERTH A LUGO LUGO                       ADDRESS ON FILE
DERBIN PAGAN/ MARIBEL CASTELLANO           PO BOX 524                                                                                                       CIALES       PR      00638




                                                                                                                 Page 2259 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2260 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                        Address2                             Address3   Address4   City             State   PostalCode   Country
DERCO DEVELOPMENT CORP                 HC 03 BOX 15084                                                                            AGUAS BUENAS     PR      00703
DERDLIM M LOPEZ GARCIA                 ADDRESS ON FILE
DERECK A RIVERA SANCHEZ                ADDRESS ON FILE
DERECK ALVARADO ANDINO                 ADDRESS ON FILE
DERECK M ALMODOVAR BATISTA             ADDRESS ON FILE
DERECK NEGRÓN ANDUJAR                  ADDRESS ON FILE
DERECK RIVERA RODRIGUEZ                ADDRESS ON FILE
DERECKISMAEL REYES GONZALEZ            ADDRESS ON FILE
DERECOOP DE PR                         ESCUELA DE DERECHO UNIV DE PR   P O BOX 23349                                              SAN JUAN         PR      00931
DEREK CORDERO VAZQUEZ                  ADDRESS ON FILE
DEREK G IRIZARRY RUA                   ADDRESS ON FILE
DEREK H CARDONA ABREU                  ADDRESS ON FILE
DEREK J MEDINA PEREZ                   ADDRESS ON FILE
DEREK K RIOS AGRONT                    ADDRESS ON FILE
DEREK M VAZQUEZ RIVAS                  ADDRESS ON FILE
DEREK M. DEL VALLE                     ADDRESS ON FILE
DEREK M. DEL VALLE                     ADDRESS ON FILE
DEREK PEREZ                            ADDRESS ON FILE
DEREK PEREZ PIERALDI                   ADDRESS ON FILE
DEREK PEREZ PIERALDI                   ADDRESS ON FILE
DEREK W CORREIRA SANTIAGO              ADDRESS ON FILE
DERESH MD , GARY M                     ADDRESS ON FILE
DERIC RIVERA COLON                     ADDRESS ON FILE
DERICK CORREA CASANOVA /MARILYN CASANOVADDRESS ON FILE
DERICK D ROSARIO PACHECO               ADDRESS ON FILE
DERICK J TORRES PEREZ                  ADDRESS ON FILE
DERICK L ALVARADO SIERRA               ADDRESS ON FILE
DERICK O ORTIZ MELENDEZ                ADDRESS ON FILE
DERICK OCASIO MONTESINO                ADDRESS ON FILE
DERICK PALERMO MONTALVO                ADDRESS ON FILE
DERICK PEREZ GUZMAN                    ADDRESS ON FILE
DERICK R RAMOS MARTINEZ                ADDRESS ON FILE
DERICK RIVERA CARABALLO                ADDRESS ON FILE
DERICK SUAREZ RODRIGUEZ                ADDRESS ON FILE
DERICK X GONZALEZ                      ADDRESS ON FILE
DERICKS ROAD ASSISTANCE SERVICES, INC  BO LAS GRANJAS                  17 CALLE RAMON SOTO                                        VEGA BAJA        PR      00693‐5052
DERIEUX CRUZ, JUAN J                   ADDRESS ON FILE
DERIEUX MILLAN MD, AMARILIS            ADDRESS ON FILE
DERIEUX NEGRON, VIDDENE N.             ADDRESS ON FILE
DERIEUX OSORIO, WALDEMAR               ADDRESS ON FILE
DERIEUX OTERO, ASHLEY                  ADDRESS ON FILE
DERIEUX PEREZ, CARMEN V.               ADDRESS ON FILE
Derieux Ramos, John                    ADDRESS ON FILE
DERIEX ALCOVER, EUGENE G               ADDRESS ON FILE
DERIOS, LOUIS                          ADDRESS ON FILE
DERIZ C JIMENEZ MORALES                ADDRESS ON FILE
DERKES CASANOVA, JOSE S.               ADDRESS ON FILE
DERKES DE LEON, FELIX                  ADDRESS ON FILE
DERKES SANTOS, ROSELIND                ADDRESS ON FILE
DERLIN J MUNOZ GONZALEZ                ADDRESS ON FILE
DERLING E ACEVEDO RIVERA               ADDRESS ON FILE
DERMACENTRAL CSP                       PO BOX 864                                                                                 GURABO           PR      00778
DERMALY TOLEDO ESTEVES                 ADDRESS ON FILE
DERMARYS NORMANDIA SALAS               ADDRESS ON FILE
DERMATOLOGY AND DERMATOLOGICAL SURGER100 W GORE ST STE 600                                                                        ORLANDO          FL      32806
DERMING RAMOS, NEISHLA                 ADDRESS ON FILE
DERRICK GUZMAN MERCED                  ADDRESS ON FILE
DERRIEK ESAI MARTINEZ COLLET           ADDRESS ON FILE
DERVA CASTRO REYES                     ADDRESS ON FILE
DERYN L NUNEZ CAMPOS                   ADDRESS ON FILE




                                                                                             Page 2260 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2261 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                            Address1                                    Address2                                     Address3   Address4   City             State   PostalCode   Country
DES INSURANCE INC                        COND TORRES DEL ESCORIAL                    4008 AVE DE DIEGO APT 4705                                         CAROLINA         PR      00987‐5179
DESA CINTRON, FILIBERTO                  ADDRESS ON FILE
DESA CINTRON, RICARDO                    ADDRESS ON FILE
DESA MD, ROLANDO                         ADDRESS ON FILE
DESAI MD, USHA                           ADDRESS ON FILE
DESAJU CONSTRUCTION CORP                 PO BOX 21850                                                                                                   SAN JUAN         PR      00931
DESALAMANCA LANCARA, DAMARIS             ADDRESS ON FILE
DESARDEN CARRERO, EDGARDO                ADDRESS ON FILE
Desarden Diaz, Luis A.                   ADDRESS ON FILE
DESARDEN INDIO, MADELYN                  ADDRESS ON FILE
DESARDEN INDIO, ZENAIDA                  ADDRESS ON FILE
DESARDEN QUEVEDO, AUREA I                ADDRESS ON FILE
DESARDEN RODRIGUEZ, SANTO L.             ADDRESS ON FILE
DESARDEN SANTIAGO, IVIA                  ADDRESS ON FILE
DESARDEN SEPULVEDA, WALESKA              ADDRESS ON FILE
DESARDEN TORRES, DIANA                   ADDRESS ON FILE
DESARDEN VARGAS, RAMONA                  ADDRESS ON FILE
DESARDEN VEGA, GERMAN                    ADDRESS ON FILE
DESARDEN VIALIZ, MARIAN                  ADDRESS ON FILE
DESARDEN, AUSBERTO                       ADDRESS ON FILE
DESARROLADORA DEL NORTE , S. E.          URB. COCO BEACH 200 CARR. 968                                                                                  RIO GRANDE       PR      00745‐4660
DESARROLLADORA CHALETS DE LA FUENTE INC P O BOX 20868                                                                                                   SAN JUAN         PR      00928
DESARROLLADORA COVAR INC                                                      1158                                                                      ISABELA          PR      00662
DESARROLLADORA DEL NORTE DBA PARADISUS GRAM MELIA GOLF RESORT                        URB COCO BEACH 200 CARR 968                                        RIO GRANDE       PR      00745‐4660
DESARROLLADORA DEL NORTE DBA PARADISUS P O BOX 877                                                                                                      RIO GRANDE       PR      00745‐0877
DESARROLLADORA J A INC                   PO BOX 343                                                                                                     ISABELA          PR      00662
DESARROLLADORES URBANOS                  100 GRAND PASEO BLVD                        MEZANINE M2                                                        SAN JUAN         PR      00926
DESARROLLO AGRICOLA PR INC               PO BOX 400                                                                                                     GUANICA          PR      00653
DESARROLLO COMUNICOLOGICO DE ARECIBO HC 05 BOX 91500                                                                                                    ARECIBO          PR      00612‐9516
Desarrollo del nino amanecer             PO BOX 485                                                                                                     SABANA HOYOS     PR      00688
DESARROLLO INTEGRAL DEL SUR              3540 AVE SANTIAGO DE LOS                    CABALLEROS SUITE 6                                                 PONCE            PR      00716
DESARROLLO M & J CORP‐ BBV ARGENTARIA PR SUCURSAL EMPRESAS CAROLINA                  P O BOX 364745                                                     SAN JUAN         PR      00936‐4745
DESARROLLO Y PROMOCION CULTURAL INC      PO BOX 930552                                                                                                  SAN JUAN         PR      00928
DESARROLLOS EL CAMPINO INC               PO BOX 6415                                                                                                    SAN JUAN         PR      00914
DESARROLLOS INMOBILIARIOS DE HATO TEJAS EDIF COLGATE PALMOLIVE SUITE 308             METRO OFFICE PARK LOTE 8 CALLE 1                                   GUAYNABO         PR      00968‐1705
DESARROLLOS INMOBILIARIOS DE HATO TEJAS METRO OFFICE PARK 8 CALLE 1 STE 300                                                                             GUAYNABO         PR      00968
DESARROLLOS INMOBILIARIOS DE HATO TEJAS METRO OFFICE PARK 8 CALLE 1 STE 308                                                                             GUAYNABO         PR      00968
DESARROLLOS MEMBRILLOS II INC            PO BOX 192484                                                                                                  SAN JUAN         PR      00919
DESARROLLOS MILTIPLES INSULARES INC      PO BOX 364487                                                                                                  SAN JUAN         PR      00936‐4487
DESARROLLOS MOSA                         PO BOX 1279                                                                                                    AGUADILLA        PR      00605
DESARROLLOS PLANIFICADOS INC             165 AVE PONCE DE LEON                       SUITE 102                                                          SAN JUAN         PR      00918
DESARROLLOS SUROESTE INC                 PO BOX 8340                                                                                                    SAN JUAN         PR      00910
DESARROLLOS UNIVERSITARIOS INC           3 AVENIDA UNIVERSIDAD                       OFICINA ADMINISTRACION                                             SAN JUAN         PR      00925‐2162
DESBIENS, GARY                           ADDRESS ON FILE
DESCARTES CORREA, CARMEN T.              ADDRESS ON FILE
DESCARTES CORREA, MARIA D                ADDRESS ON FILE
DESCARTES LOYOLA, MARIELLE               ADDRESS ON FILE
DESCARTES VEGA, SONIA                    ADDRESS ON FILE
DESCHAMPS GARCIA, DANERYS                ADDRESS ON FILE
DESCHAMPS, JOSE                          ADDRESS ON FILE
DESCOMBES ESPINOSA, VERONIQUE            ADDRESS ON FILE
DESEDA BELAVAL, RAQUEL                   ADDRESS ON FILE
DESEDA TOURS, JAIME                      ADDRESS ON FILE
DESEDA, CARMEN C                         ADDRESS ON FILE
DESEDA, CARMEN C.                        ADDRESS ON FILE
DESI GARCIA SANABRIA                     ADDRESS ON FILE
DESIA RITSON                             ADDRESS ON FILE
DESIDERIO CURIEL, MARIA M                ADDRESS ON FILE
DESIDERIO DAVILA, DEMETRIO               ADDRESS ON FILE
DESIDERIO DOLLIVAR, JULIO                ADDRESS ON FILE




                                                                                                                   Page 2261 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2262 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                           Address1                   Address2                                     Address3       Address4   City          State   PostalCode   Country
DESIDERIO GARCIA, DAMARIS               ADDRESS ON FILE
DESIDERIO GARCIA, SANDRA Y              ADDRESS ON FILE
DESIDERIO GARCIA, SUZETTE               ADDRESS ON FILE
DESIDERIO ORTIZ, EDWIN                  ADDRESS ON FILE
DESIDERIO ORTIZ, YAIMILLY               ADDRESS ON FILE
DESIDERIO ORTIZ, YARA                   ADDRESS ON FILE
DESIDERIO PEREZ, RAMON                  ADDRESS ON FILE
DESIDERIO REYES, JACINTO                ADDRESS ON FILE
DESIDERIO REYES, VILMARIE               ADDRESS ON FILE
DESIDERIO SOTO ROSADO                   ADDRESS ON FILE
DESIDERIO TEXIDOR, JAIME                ADDRESS ON FILE
DESIDERIO TORRES, WANDA                 ADDRESS ON FILE
DESIDERIO VARGAS MONTIJO                ADDRESS ON FILE
DESIGN BUILD V DTOP                     LCDO. JOSE CABIYA          PO BOX 2500 PMB 929                                                    TOA BAJA      PR      00951
DESIGN ENGINEERING GROUP PSC CONSULTING EL SENORIAL MALL           664 138 AVE WINSTON CHURCHILL                                          SAN JUAN      PR      00926
DESIGN IN PUERTO RICO                   151 CALLE SAN FRANCISCO                                                                           SAN JUAN      PR      00901
DESIGNED TEMPERATURES INC               VILLA ALEGRIA              259 TOPACIO                                                            AGUADILLA     PR      00603
DESIGNED TEMPERATURES, INC              VILLA ALEGRIA              CALLE TOPACIO 259                                                      AGUADILLA     PR      00603
DESIGNERS PAINT CORP                    HC 06 BOX 72501                                                                                   CAGUAS        PR      00725‐9511
DESIMONE, RICARDO                       ADDRESS ON FILE
DESING DATA CORPORATION                 GREENFIELD CORPORATE       1858 CHARTER LINE SUITE103                   P O BOX 8080              LANCASTER     PA      17604‐8080
DESINGS FACTORY CORP                    HC 4 BOX 43044                                                                                    LARES         PR      00669
DESIRE J CANALES MENDEZ                 ADDRESS ON FILE
DESIRE LOPEZ MEDINA                     ADDRESS ON FILE
DESIREE BONILLA GARCIA                  ADDRESS ON FILE
DESIREE CARRERO REYES                   ADDRESS ON FILE
DESIREE CASTILLO RAMOS                  ADDRESS ON FILE
DESIREE CUADRADO HERNANDEZ              ADDRESS ON FILE
DESIREE D ROGE VAZQUEZ                  ADDRESS ON FILE
DESIREE DE JESUS                        ADDRESS ON FILE
DESIREE DE JESUS ROMAN                  ADDRESS ON FILE
DESIREE DEL RIO DE JESUS                ADDRESS ON FILE
DESIREE FRANCO CONCEPCION               ADDRESS ON FILE
DESIREE FRANSHI SANCHEZ                 ADDRESS ON FILE
DESIREE GONZALEZ BURGOS                 ADDRESS ON FILE
DESIREE GUZMAN GARCIA                   ADDRESS ON FILE
DESIREE IRIZARRY MURPHY                 ADDRESS ON FILE
DESIREE L RAMIREZ ORTIZ                 ADDRESS ON FILE
DESIREE M CARRASQUILLO ROSA             ADDRESS ON FILE
DESIREE M DE LEON PEREZ                 ADDRESS ON FILE
DESIREE M LUGO VARGAS                   ADDRESS ON FILE
DESIREE M TERRASSA BIRD                 ADDRESS ON FILE
DESIREE MASOLLER GONZALEZ               ADDRESS ON FILE
DESIREE MENDEZ PEREZ                    ADDRESS ON FILE
DESIREE MORALES RIVERA                  ADDRESS ON FILE
DESIREE NEGRON SANTAELLA                ADDRESS ON FILE
DESIREE ORTIZ                           ADDRESS ON FILE
DESIREE RIOS, MALAVE                    ADDRESS ON FILE
DESIREE RIVERA                          ADDRESS ON FILE
DESIREE RIVERA GONZALEZ                 ADDRESS ON FILE
DESIREE RIVERA SANTIAGO                 ADDRESS ON FILE
DESIREE RODRIGUEZ ACEVEDO               ADDRESS ON FILE
DESIREE SERRANO DE LEON                 ADDRESS ON FILE
DESIREE TORRES NATAL                    ADDRESS ON FILE
DESIREE VALLEJO COLON                   ADDRESS ON FILE
DESIREE VELAZQUEZ PINA                  ADDRESS ON FILE
DESIREE Y. COLON ARROYO                 ADDRESS ON FILE
DESIRRE I. TORRES PAGAN                 ADDRESS ON FILE
DESIRRE REYES DIAZ                      ADDRESS ON FILE
DESIRRE REYES DIAZ                      ADDRESS ON FILE




                                                                                                Page 2262 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2263 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                   Address2                                  Address3                 Address4   City          State   PostalCode   Country
DESIRRE VAZQUEZ CINTON                  ADDRESS ON FILE
DESMOND L KAUFFMAN RODRIGUEZ            ADDRESS ON FILE
DESOTO CORDERO, NYDIA                   ADDRESS ON FILE
DESPACHO LEGAL LOPEZ‐ GUTARRA & ASOCIADOPO BOX 195696                                                                                            SAN JUAN      PR      00919‐5696
DESPIAU ACEVEDO, MELANIE                ADDRESS ON FILE
DESPIAU AGUIRRECHEA, CINDY              ADDRESS ON FILE
DESPIAU AGUIRRECHEA, CINDY Y            ADDRESS ON FILE
DESPIAU BATISTA, SANTOS                 ADDRESS ON FILE
DESPIAU CABAN, ANA J.                   ADDRESS ON FILE
DESPIAU CABAN, CARLOS R                 ADDRESS ON FILE
DESPIAU CABAN, CARLOS R.                ADDRESS ON FILE
DESPIAU CABAN, OLGA                     ADDRESS ON FILE
DESPIAU CABAN, PEDRO                    ADDRESS ON FILE
Despiau Delgado, Dennis M               ADDRESS ON FILE
DESPIAU FELICIANO, GLORIA               ADDRESS ON FILE
DESPIAU GONZALEZ, JAVIER A.             ADDRESS ON FILE
DESPIAU PADILLA, LYMARIS                ADDRESS ON FILE
DESPIAU PENA, CHRISTINA                 ADDRESS ON FILE
DESPIAU PENA, NATALIE                   ADDRESS ON FILE
DESPIAU PEREZ, GIOVANI                  ADDRESS ON FILE
DESPIAU QUINONES, MARIA O               ADDRESS ON FILE
DESPIAU RIVERA, ARLENE L                ADDRESS ON FILE
DESPIAU RODRIGUEZ, CHRISTIAN ISAAC      ADDRESS ON FILE
DESPIAU RODRIGUEZ, EVA                  ADDRESS ON FILE
DESPIAU RODRIGUEZ, SHEYLA E             ADDRESS ON FILE
DESPIAU, CONFESOR                       ADDRESS ON FILE
DESPIAU, RAFAEL                         ADDRESS ON FILE
DESSERT & SOMETHING ELSE...             CALLE ONEILL #191                                                                                        HATO REY      PR      00918
DESSINER LAMOLI SEGARRA                 ADDRESS ON FILE
DESSIRE J GOMEZ MAROTTA                 ADDRESS ON FILE
DESSUS ALVARADO, MILENNY                ADDRESS ON FILE
DESSUS CASCANTE, JORGE                  ADDRESS ON FILE
DESSUS PADILLA, MANUEL                  ADDRESS ON FILE
DESSUS RENTA, NANCY                     ADDRESS ON FILE
Dessus Rivera, Carmen E                 ADDRESS ON FILE
DESSY ANN ILDEFONSO RIVERA              ADDRESS ON FILE
DESSY LOPEZ, MARIA                      ADDRESS ON FILE
DESTELLITOS DE AMOR, INC                PO BOX 3004                                                                                              VEGA ALTA     PR      00692

DESTILERIA COQUI INC                     PARQUE INDUSTRIAL         MARIA LUISA ARCELAY EDIF 2 MOD            SUITE 105 JOSE PADILLA              MAYAGUEZ      PR      00682
DESTILERIA SERRALLES INC/ CIRO ENERGY    PARTNERS LLC              PO BOX 198                                                                    PONCE         PR      00715
DESTINY A GONZALEZ COLON                 ADDRESS ON FILE
DESTINY ROSA SUAREZ                      ADDRESS ON FILE
DESUEZA CABREJA, EMMANUEL                ADDRESS ON FILE
Desuza Ramirez, Myrlette J.              ADDRESS ON FILE
DETALLES C & M                           19 CALLE MUNOZ RIVERA                                                                                   ADJUNTAS      PR      00601
Detres Baez, Angel                       ADDRESS ON FILE
DETRES BAEZ, ANGEL D                     ADDRESS ON FILE
DETRES COLLAZO, CARLOS                   ADDRESS ON FILE
DETRES COLLAZO, HECTOR                   ADDRESS ON FILE
DETRES COLLAZO, HECTOR                   ADDRESS ON FILE
DETRES COLLAZO, VICTOR                   ADDRESS ON FILE
DETRES COLON, CYNTHIA                    ADDRESS ON FILE
DETRES COLON, HELMER                     ADDRESS ON FILE
DETRES COLON,JAVIETH                     ADDRESS ON FILE
Detres Galarza, Samuel                   ADDRESS ON FILE
DETRES JUSTINIANO, EDGAR                 ADDRESS ON FILE
DETRES MACHADO, PEDRO                    ADDRESS ON FILE
DETRES MARTINEZ, CARMEN E                ADDRESS ON FILE
DETRES MARTINEZ, LETICIA R.              ADDRESS ON FILE




                                                                                              Page 2263 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2264 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                           Address1                    Address2                                  Address3   Address4   City         State   PostalCode   Country
DETRES MERCADO, MARIA M                 ADDRESS ON FILE
DETRES MUNIZ, MADELINE                  ADDRESS ON FILE
DETRES RODRIGUEZ, WANDA I               ADDRESS ON FILE
DETRES ROSADO, AWILDA                   ADDRESS ON FILE
DETRES RUIZ, MIRIAM                     ADDRESS ON FILE
DETRES VAZQUEZ, MILAGROS                ADDRESS ON FILE
DETRES, ERIKATINA                       ADDRESS ON FILE
DEUS JUGLANDO INC.                      VILLA NEVAREZ               1093 CALLE 3                                                    SAN JUAN     PR      00927
DEV RICHARD BOODOOSINGH CASIANO         HC 04 BOX 12052                                                                             YAUCO        PR      00698‐9610
DEVAL BONETA, JACQUELINE                ADDRESS ON FILE
DEVAL LLC                               250 PONCE DE LEON           AVE CITY TOWER SUITE 403                                        SAN JUAN     PR      00918
DEVARIE CAEZ, PATRICIA                  ADDRESS ON FILE
DEVARIE CINTRON, GILBERTO               ADDRESS ON FILE
DEVARIE CINTRON, GIOVANNA I             ADDRESS ON FILE
Devarie Cintron, Julio M                ADDRESS ON FILE
DEVARIE CORA, HERMINIA                  ADDRESS ON FILE
DEVARIE DE ALBA, NILDA                  ADDRESS ON FILE
DEVARIE DIAZ MD, MARCOS                 ADDRESS ON FILE
DEVARIE GONZALEZ, JM                    ADDRESS ON FILE
DEVARIE GONZALEZ, JOSE                  ADDRESS ON FILE
DEVARIE HORNEDO, MARIELY                ADDRESS ON FILE
DEVARIE MERLE, ALBA V                   ADDRESS ON FILE
DEVARIE PENA, EUGENIA                   ADDRESS ON FILE
DEVARIE RIVERA, NELLY                   ADDRESS ON FILE
Devarie Rodriguez, Rafael               ADDRESS ON FILE
DEVARIE SANTIAGO, MARIA S               ADDRESS ON FILE
DEVARIEL GARCIA, ANDREA                 ADDRESS ON FILE
DEVARIEL RAMOS, MIRTA                   ADDRESS ON FILE
DEVARIS FILS, PIERRE                    ADDRESS ON FILE
DEVELOPERS AND PLANNERS INC             PO BOX 13923                                                                                SAN JUAN     PR      00908
DEVELOPMENT AND CONST LAW GROUP         SUITE 112 PMB 443           100 GRAND PASEOS BOULEVARD                                      SAN JUAN     PR      00926‐5902
DEVELOPMENT CONSELLORS INTERNATIONAL PARK AVENUE SOUTH 10TH FLOOR                                                                   NEW YORK     NY      10003
DEVELOPMENT PEOPLE INC                  QUINTAS DE SAN LUIS 2       A 3 C/ CAMPECHE                                                 CAGUAS       PR      00725
DEVESA MENDEZ, NANCY                    ADDRESS ON FILE
DEVI IRIZARRY CORNIER                   ADDRESS ON FILE
DEVIA Y NIEVES VAZQUEZ                  ADDRESS ON FILE
DEVIE Z RUIZ FUENTES                    ADDRESS ON FILE
DEVIN T ROSA SANTIAGO                   ADDRESS ON FILE
DEVIN VELAZQUEZ PRADOS                  ADDRESS ON FILE
DEVITH BURGOS CASIANO                   ADDRESS ON FILE
DEVIVIE GARCIA, ALBERTO                 ADDRESS ON FILE
DEVLIN MCGREGOR FINANCIAL CORP          PO BOX 366603                                                                               SAN JUAN     PR      00936
DEVNET SYSTEMS CORP                     PO BOX 3667                                                                                 GUAYNABO     PR      00970
DEVORAT HERNANDEZ CARRASQUILLO          ADDRESS ON FILE
DEWBERRY & DAVIS ENVIRONMENTAL SERVICES 8401 ARLINGTON BLVD                                                                         FAIRFAX      VA      22031
DEWEY COLLEGE                           P O BOX 19538                                                                               SAN JUAN     PR      00910
Dewey University                        P O Box 19538                                                                               San Juan     PR      00910‐1538
DEWEY UNIVERSITY, INC                   BANCO BILBAO VIZCAYA SUC    AMERICO MIRANDA P O BOX 364745                                  SAN JUAN     PR      00936
DEWEY UNIVERSITY, INC                   FDEZ JUNCOS STATION         P O BOX 19538                                                   SAN JUAN     PR      00910‐9538
DEWEY UNIVERSITY, INC                   PO BOX 19538                                                                                SAN JUAN     PR      00910
DEWID ZAYAS MARRERO                     ADDRESS ON FILE
DEWIN MARTINEZ LOZADA                   ADDRESS ON FILE
DEWIN MARTINEZ LOZADA                   ADDRESS ON FILE
DEWINDT, GUSTAVO D.                     ADDRESS ON FILE
DEWREY MOORE, RICHARD                   ADDRESS ON FILE
DEXEL A RIVERA RAMIREZ                  ADDRESS ON FILE
DEXION CARIBE, INC.                     PO BOX 1971 LA CERAMICA                                                                     CAROLINA     PR      00628
DEXTER BENITEZ DE JESUS                 ADDRESS ON FILE
DEXTER BOSCH, FRANCISCO M               ADDRESS ON FILE
DEXTER BOSCH, SARA N                    ADDRESS ON FILE




                                                                                               Page 2264 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2265 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                 Address2                                      Address3       Address4   City         State   PostalCode   Country
DEXTER COBIAN MD, DONALD F              ADDRESS ON FILE
DEXTER GONZALEZ RIVERA                  ADDRESS ON FILE
DEXTER M HADDOCK CALDERON               ADDRESS ON FILE
DEY CHAO, WILLIAM                       ADDRESS ON FILE
DEYA ARROYO, MANUEL                     ADDRESS ON FILE
Deya Arroyo, Manuel A.                  ADDRESS ON FILE
DEYA DIAZ, FAUSTINA                     ADDRESS ON FILE
DEYA ELEVATOR                           AMELIA IND PARK          CALLE BEATRIZ LOT 11                          C/C CLAUDIAS              GUAYNABO     PR      00968
DEYA ELEVATOR                           AMELIA IND PARK          11 CALLE BEATRIZ C/C CLAUDIA                                            GUAYNABO     PR      00968
DEYA ELEVATOR                           PO BOX 36211                                                                                     SAN JUAN     PR      00936‐2411
DEYA ELEVATOR                           PO BOX 362411                                                                                    SAN JUAN     PR      00936‐2411
DEYA ELEVATOR SERV INC                  PO BOX 362411                                                                                    SAN JUAN     PR      00936‐2411
DEYA FERRER, CARMEN                     ADDRESS ON FILE
DEYA FIGUEROA, JAVIER                   ADDRESS ON FILE
DEYA FIGUEROA, JAVIER                   ADDRESS ON FILE
DEYA GONZALEZ, MIGUEL                   ADDRESS ON FILE
DEYA IRIZARRY, GULLERMO                 ADDRESS ON FILE
DEYA IRIZARRY, JUAN                     ADDRESS ON FILE
DEYA LOPEZ, YASANDRA                    ADDRESS ON FILE
DEYA LUGO, JORGE L.                     ADDRESS ON FILE
DEYA LUGO, SONIA                        ADDRESS ON FILE
DEYA MELENDEZ, GLORIA                   ADDRESS ON FILE
Deya Negron, Luis A                     ADDRESS ON FILE
DEYA QUINONES, CARLA                    ADDRESS ON FILE
DEYA RIVERA, CARMEN                     ADDRESS ON FILE
DEYA RIVERA, JOHANNICE M                ADDRESS ON FILE
DEYA RODRIGUEZ, JUAN C                  ADDRESS ON FILE
DEYA, JUAN                              ADDRESS ON FILE
DEYANEIRA MILLAN RODRIGUEZ              ADDRESS ON FILE
DEYANEIRA MILLAN RODRIGUEZ              ADDRESS ON FILE
DEYANEURA RIVERA RIVERA                 ADDRESS ON FILE
DEYANIRA E VELEZ MENDOZA                ADDRESS ON FILE
DEYANIRA FERNANDEZ BONILLA V DEPARTAMEN LCDO OSVALDO BURGOS      PO BOX 194211                                                           SAN JUAN     PR      00919‐4211
DEYANIRA MADERA DE LA MATA              ADDRESS ON FILE
DEYANIRA RODRIGUEZ MERCADO              ADDRESS ON FILE
DEYE HAMMOOR, ANDREW                    ADDRESS ON FILE
DEYLA ALVAREZ DELGADO                   ADDRESS ON FILE
DEYMARIE GAUTHIER SANTIAGO              ADDRESS ON FILE
DEYMI QUINONES CARRASQUILLO             ADDRESS ON FILE
DEYNE MUNIZ, RAFAEL                     ADDRESS ON FILE
DEYNES ACEVEDO, LYDIA                   ADDRESS ON FILE
DEYNES BEITIA, MILDRED                  ADDRESS ON FILE
DEYNES EXCLUSA, YAZMIN                  ADDRESS ON FILE
DEYNES FIGUEROA, ELDIE                  ADDRESS ON FILE
DEYNES HERNANDEZ, DAISY L               ADDRESS ON FILE
DEYNES LEBRON, ELENA DEL C              ADDRESS ON FILE
DEYNES LEBRON, MARIA T                  ADDRESS ON FILE
DEYNES RAMIREZ, NAVAR                   ADDRESS ON FILE
DEYNES ROLDAN, LOIDA E.                 ADDRESS ON FILE
DEYNES SOTO, CARMEN N                   ADDRESS ON FILE
DEYNES SOTO, MARIA E                    ADDRESS ON FILE
DEYNES SOTO, NAVAR                      ADDRESS ON FILE
DEYNES TORRES, LISSETTE                 ADDRESS ON FILE
DEYNES TORRES, LISSETTE                 ADDRESS ON FILE
DEYNES VARGAS, MIGUEL                   ADDRESS ON FILE
DEYNES VARGAS, MIGUEL                   ADDRESS ON FILE
DEYSHA B SUREN PEREZ                    ADDRESS ON FILE
DEYSHA M CASTRO CARRASCO                ADDRESS ON FILE
DEYSI MORALES RUIZ                      ADDRESS ON FILE
DEYSON LORENZO RIOS                     ADDRESS ON FILE




                                                                                                Page 2265 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2266 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                   Address2                                   Address3   Address4   City               State   PostalCode   Country
DEZA CINTRON MD, ROLANDO                 ADDRESS ON FILE
DFX360, LLC                              EDIF CENTRO DE SEGUROS                     701 AVE PONCE DE LEON STE 1 PMB 145                              SAN JUAN           PR      00907‐3256
DG LANDSCAPING & MAINTENANCE INC         PO BOX 192274                                                                                               SAN JUAN           PR      00919
DGA FOOD SERVICE                         AVE EMERITO ESTRADA RIVERA 1214                                                                             SAN SEBASTIAN      PR      00685
DGA FOOD SERVICE                         AVE. EMERITO ESTRADA # 124                                                                                  SAN SEBASTIAN      PR      00685
DGA SELECTOS MANA INC                    1214 AVE EMERITO ESTRADA RIVERA                                                                             SAN SEBASTIAN      PR      00685
D'GALA CLEANERS                          CARR.174 BLOQUE #30, SANTA ROSA                                                                             BAYAMON            PR      00959
DG‐COM DE P R INC                        PO BOX 229                                                                                                  JUANA DIAZ         PR      00795‐0229
DGSI DURHAM GEOSLOPE INDICATOR           2175 WEST PARK C T STONE MONTAIN                                                                            STONE MOUNTAIN     GA      30087
DHAINANE ZAYAS GIERBOLINI                ADDRESS ON FILE
DHALMA RIVERA SUAREZ                     ADDRESS ON FILE
DHAR FAMILY MEDICINE PLLC                537 STONECREST PKWY STE 100                                                                                 SMYRNA             TN      37167
DHARA RIVERA VAZQUEZ                     ADDRESS ON FILE
DHARMA EILEEN GARCIA ORTIZ               ADDRESS ON FILE
DHARMA L TARNIELLA RUIZ                  ADDRESS ON FILE
DHARMA RX INC                            PO BOX 616                                                                                                  BAYAMON            PR      00960
DHARMARY CONCEPCION PARIS                ADDRESS ON FILE
DHELMA VELEZ ROSA                        LCDA. GENOVEVA VALENTIN SOTO               PO BOX 13695                                                     SAN JUAN           PR      00908‐3695
DHILMA E JIMENEZ ARROYO                  ADDRESS ON FILE
DHL EXPRESS                              BASE AEREA MUNIZ 30 CARR. SECTOR CENTRAL                                                                    CAROLINA           PR      00979
DHS US CITIZENSHIP & IMMIGRATION SERVICE SAVE PROGRAM                               P O BOX 5000                                                     WILLISTON          VT      05495‐5000
DHS US CITIZENSHIP & IMMIGRATION SERVICE USCIS SAVE PROGRAM MS 2620                 US CITIZENSHIP IMMGRATION SERV                                   WASHINGTON         DC      20529‐2620
DHYALMA VILLEGAS GARCIA                  ADDRESS ON FILE
DHYRMA V ROSARIO                         ADDRESS ON FILE
DI AZ DE JESUS, ROSA M.                  ADDRESS ON FILE
DI CARLO INC                             PO BOX 1468                                                                                                 LUQUILLO           PR      00773
DI CRISTINA ARAGON, RICARDO              ADDRESS ON FILE
DI CRISTINA CENTENO, ILSA M              ADDRESS ON FILE
DI CRISTINA CENTENO, RAUL                ADDRESS ON FILE
DI CRISTINA CENTENO, RAUL J.             ADDRESS ON FILE
DI CRISTINA CORTINA, DESIREE             ADDRESS ON FILE
DI CRISTINA RIVERA, ALMA                 ADDRESS ON FILE
DI CRISTINA RIVERA, CESAR                ADDRESS ON FILE
DI CRISTINA RIVERA, FELIX                ADDRESS ON FILE
DI CRISTINA YUMET, GLADYS                ADDRESS ON FILE
DI DONATO, ERNESTO                       ADDRESS ON FILE
DI FRISCO PEREZ, MARIO V.                ADDRESS ON FILE
DI GIORGIO PEREZ, BEVERLY                ADDRESS ON FILE
DI MARCO SERRA, ANNA                     ADDRESS ON FILE
DI MAURO VAZQUEZ, FACUNDO                ADDRESS ON FILE
DI TERLIZZI ORTIZ, ANGELICA              ADDRESS ON FILE
DIA Z CAMACHO, MIGUEL A                  ADDRESS ON FILE
DIAB ROSADO, RICHARD                     ADDRESS ON FILE
DIABANY CARRASQUILLO ESCALERA            ADDRESS ON FILE
DIABETIC CENTER & HOSPITAL SUPPLY INC    URB PERLA DEL SUR                          2743 CALLE LAS CARROZAS                                          PONCE              PR      00717
DIABETIC CENTER & HOSPITAL SUPPLY, INC.  BOX 8746                                                                                                    PONCE              PR      00732
DIABETIC SOLUTION MEDICAL EQUIPMENT      PO BOX 8885                                                                                                 VEGA BAJA          PR      00694‐0000
DIABETIC SOLUTIONS                       PO BOX 8885                                                                                                 VEGA BAJA          PR      00694
DIABETIC SOLUTIONS MEDICAL EQUIPMENT ANDPROSTHETICS                                 PO BOX 8885 SABANA BRANCH                                        VEGA BAJA          PR      00694
DIACONO MERCADO, CAMILLE                 ADDRESS ON FILE
DIADIMIR M SOLIS ALICEA                  ADDRESS ON FILE
DIADINA RENTAS MUNOZ                     ADDRESS ON FILE
DIADONE GOMEZ, WANDA M                   ADDRESS ON FILE
DIAGNOSIS ONE INC.                       61 SPIT BROOK RD. SUITE 202                                                                                 NASHUA             NH      03060
DIAGNOSTIC TECHNOLOGIST MANAGEMENT CORMANS DE SIERRA TAINA                          109 AVE LOS PINOS                                                BAYAMON            PR      00956‐9537
DIAGNOSTICOS OCULARES DE PUERTO RICO     21 ESTANCIAS DE CIDRA                                                                                       CIDRA              PR      00736‐0000
DIAGO MOLLFULLEDA, ANNETTE               ADDRESS ON FILE
DIAHANNE LABOY REYES                     ADDRESS ON FILE
DIALA ALLARD HERNANDEZ                   ADDRESS ON FILE
DIALIS SOLIS RIVERA                      ADDRESS ON FILE




                                                                                                                Page 2266 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2267 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                           Address1                                 Address2                                 Address3               Address4   City              State   PostalCode   Country
DIALIZ G RODRIGUEZ QUIRINDONGO          ADDRESS ON FILE
DIALMA A GARCIA DAVIS                   ADDRESS ON FILE
DIALMA ORTIZ RIVERA                     ADDRESS ON FILE
DIALMA ORTIZ RIVERA                     ADDRESS ON FILE
DIALMA R MENDEZ DE LA PAZ               ADDRESS ON FILE
DIALOGO UNIVERSIDAD DE PUERTO RICO      JARDIN BOTANICO SUR 1187 CALLE FLAMBOYAN                                                                            SAN JUAN          PR      00926‐1117
DIALY T. MORALES MARTINEZ               ADDRESS ON FILE
DIALYN MARIE RODRIGUEZ GUTIERREZ        ADDRESS ON FILE
DIALYS RODRIGUEZ QUESADA                ADDRESS ON FILE
DIAMALYS VAZQUEZ SOTOMAYOR              ADDRESS ON FILE
DIAMANTE PROMOTIONS LLC                 PO BOX 1069                                                                                                         TRUJILLO ALTO     PR      00977‐1069
DIAMANTONI & ASSOCS                     319 N DUKE ST 1ST FLR                                                                                               LANCASTER         PA      17602
DIAMANTONI MD AND, STEPHEN G            ADDRESS ON FILE
DIAMAR ALDREY MORALES                   ADDRESS ON FILE
DIAMARA R PLANELL CRUZ                  ADDRESS ON FILE
DIAMOND HEADACHE CLINIC                 MEDICAL RECORDS DEPT                     1460 N HALSTEAD STE 501                                                    CHICAGO           IL      60641
DIAMOND ORTIZ SERVICES INC              PO BOX 2936                                                                                                         GUAYNABO          PR      00970‐2936
DIAMOND PARTS AND SERV PR INC           PO BOX 2385                                                                                                         TOA BAJA          PR      00951‐2385
DIAMOND POINT INTERNACIONAL MASSAGE,INC PO BOX 37377                                                                                                        SAN JUAN          PR      00937
DIAMOND SECURITY, INC                   PO BOX 9628                                                                                                         CAROLINA          PR      00988‐9628
DIAMONTE MD, SARAH                      ADDRESS ON FILE
DIANA A DE PE¥A                         ADDRESS ON FILE
DIANA A RODRIGUEZ AVILES                ADDRESS ON FILE
DIANA ABREU JOKHAN                      ADDRESS ON FILE
DIANA ABREU RIVERA                      ADDRESS ON FILE
DIANA ABREU RIVERA                      ADDRESS ON FILE
DIANA ACEVEDO JIMENEZ                   ADDRESS ON FILE
DIANA ACEVEDO RIVERA                    ADDRESS ON FILE
DIANA ACOSTA GOMEZ                      ADDRESS ON FILE
DIANA ALMA MATOS                        ADDRESS ON FILE
DIANA ALVARADO TORRES                   ADDRESS ON FILE
DIANA ALVARADO TORRES                   ADDRESS ON FILE
                                                                                                                          PSC 16 CARRETERA 199
DIANA ANAYA PADRO                       BUFETE ALDARONDO & LÓPEZ BRAS/ EL MUNICIPALDARONDO & LÓPEZ BRAS                   SUITE 400                         GUAYNABO          PR      00969
DIANA ARIAS QUILES                      ADDRESS ON FILE
DIANA AZIZI KARAM                       ADDRESS ON FILE
DIANA B CORDERO DIAZ                    ADDRESS ON FILE
DIANA BETANCOURT ALEMAN                 ADDRESS ON FILE
DIANA BETANCOURT, HECTOR                ADDRESS ON FILE
DIANA BETANCOURT, VICTOR                ADDRESS ON FILE
DIANA C DELGADO CRESPO                  ADDRESS ON FILE
DIANA C JORDAN COLON                    ADDRESS ON FILE
DIANA C LANG PEREZ                      ADDRESS ON FILE
DIANA C MURCIA                          ADDRESS ON FILE
DIANA C SANTANA ROMAN                   ADDRESS ON FILE
DIANA C. CASTILLO ROSADO                ADDRESS ON FILE
DIANA C. GUTTMANN RODRIGUEZ             ADDRESS ON FILE
DIANA CALDERON JORDAN                   ADDRESS ON FILE
DIANA CAMACHO DE JESUS                  ADDRESS ON FILE
DIANA CAMACHO RIVERA                    ADDRESS ON FILE
DIANA CARDONA JIMENEZ                   ADDRESS ON FILE
DIANA CARRERAS                          ADDRESS ON FILE
DIANA CEDENO VALDES                     ADDRESS ON FILE
DIANA CINTRON DIAZ                      ADDRESS ON FILE
DIANA CINTRON PRINCIPE                  ADDRESS ON FILE
DIANA CINTRON QUINONES                  ADDRESS ON FILE
DIANA CINTRON QUINONES                  ADDRESS ON FILE
DIANA CINTRON, JOSE                     ADDRESS ON FILE
DIANA CINTRON, MARELY                   ADDRESS ON FILE
DIANA COLACIOPPO SAAVEDRA               ADDRESS ON FILE




                                                                                                           Page 2267 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2268 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                         Address1                  Address2                            Address3   Address4   City         State   PostalCode   Country
DIANA COLLAZO SANTIAGO                ADDRESS ON FILE
DIANA COLON ALVARADO                  ADDRESS ON FILE
DIANA COLON ALVARADO                  ADDRESS ON FILE
DIANA COLON, YOLANDA                  ADDRESS ON FILE
DIANA CRISPIN REYES                   ADDRESS ON FILE
DIANA DALMAU TORO                     ADDRESS ON FILE
DIANA DAVILA, JORGE                   ADDRESS ON FILE
DIANA DE JESUS LUGO                   ADDRESS ON FILE
DIANA DE LA ROSA CARLOS               ADDRESS ON FILE
DIANA DE LEON MARRERO                 ADDRESS ON FILE
DIANA DELGADO VELAZQUEZ               ADDRESS ON FILE
DIANA DIAZ CRUZ                       ADDRESS ON FILE
DIANA DIAZ, ROSA                      ADDRESS ON FILE
DIANA E CONCEPCION TORRES             ADDRESS ON FILE
DIANA E CORDERO FLORES                ADDRESS ON FILE
DIANA E GARAY SUAREZ                  ADDRESS ON FILE
DIANA E GOMEZ                         ADDRESS ON FILE
DIANA E MORALES LUGO                  ADDRESS ON FILE
DIANA E PICON TRECHE                  ADDRESS ON FILE
DIANA E ROSARIO ROSA                  ADDRESS ON FILE
DIANA E ROSAS MORALES                 ADDRESS ON FILE
DIANA E SERRANO ACEVEDO               ADDRESS ON FILE
DIANA E. ROBLES RIVERA                ADDRESS ON FILE
DIANA ECHEVARRIA CHACON               ADDRESS ON FILE
DIANA ESTRELLA FERNANDEZ              ADDRESS ON FILE
DIANA F PEREZ RODRIGUEZ               ADDRESS ON FILE
DIANA FAUGNO                          ADDRESS ON FILE
DIANA FELICIANO GONZALEZ              ADDRESS ON FILE
DIANA FELICIANO RODRIGUEZ             ADDRESS ON FILE
DIANA FLORES GOMEZ                    ADDRESS ON FILE
DIANA FLORES VELEZ                    ADDRESS ON FILE
DIANA FRANCO, ROBERTO                 ADDRESS ON FILE
DIANA G CRUZADO TORRES                ADDRESS ON FILE
DIANA GARCIA DEL VALLE DBA AD GROUP   PMB 770                   VIGOREAUX AVE 1353                                        GUAYNABO     PR      00966
DIANA GINES OTERO                     ADDRESS ON FILE
DIANA GOMEZ AYALA                     ADDRESS ON FILE
DIANA GOMEZ PEREZ                     ADDRESS ON FILE
DIANA GONZALEZ ORTIZ                  ADDRESS ON FILE
DIANA GONZALEZ PEREZ                  ADDRESS ON FILE
DIANA GUTTMANN RODRIGUEZ              ADDRESS ON FILE
DIANA GUZMAN ORTIZ                    ADDRESS ON FILE
DIANA HERNANDEZ ESCOBAR               ADDRESS ON FILE
DIANA HERNANDEZ LOPEZ                 ADDRESS ON FILE
DIANA HILERIO HERNANDEZ               ADDRESS ON FILE
DIANA HO LEE                          ADDRESS ON FILE
DIANA I CORREA APONTE                 ADDRESS ON FILE
DIANA I FERNANDEZ PAGAN               ADDRESS ON FILE
DIANA I FERNANDEZ PAGAN               ADDRESS ON FILE
DIANA I HERNANDEZ COLON               ADDRESS ON FILE
DIANA I HIDALGO JIMENEZ               ADDRESS ON FILE
DIANA I KERCADO SURILLO               ADDRESS ON FILE
DIANA I LOPEZ MOLINA                  ADDRESS ON FILE
DIANA I MARRERO VAZQUEZ               ADDRESS ON FILE
DIANA I MORALES LUGO                  ADDRESS ON FILE
DIANA I MORALES MORALES               ADDRESS ON FILE
DIANA I ORTIZ RODRIGUEZ               ADDRESS ON FILE
DIANA I ORTIZ SANTIAGO                ADDRESS ON FILE
DIANA I PAGAN RIVERA                  ADDRESS ON FILE
DIANA I PEDROGO MATEO                 ADDRESS ON FILE
DIANA I PIZARRO MANSO                 ADDRESS ON FILE




                                                                                     Page 2268 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2269 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                            Address1                                    Address2                                     Address3   Address4   City         State   PostalCode   Country
DIANA I RIVERA LARROY                    ADDRESS ON FILE
DIANA I RODRIGUEZ RIOS                   ADDRESS ON FILE
DIANA I SANCHEZ FIGUEROA                 ADDRESS ON FILE
DIANA I SANTOS FRANCO                    ADDRESS ON FILE
DIANA I VAZQUEZ BONILLA                  ADDRESS ON FILE
DIANA I VAZQUEZ HUERTAS                  ADDRESS ON FILE
DIANA I. NIEVES MALDONADO                ADDRESS ON FILE
DIANA I. RODRIGUEZ OCASIO                ADDRESS ON FILE
DIANA I. SANCHEZ FIGUEROA                ADDRESS ON FILE
DIANA I. SOTOMAYOR IRIZARRY              ADDRESS ON FILE
DIANA IBANEZ MARTIN                      ADDRESS ON FILE
DIANA IBANEZ MARTIN                      ADDRESS ON FILE
DIANA IFARRAGUERRI RIVERA                ADDRESS ON FILE
DIANA J FUENTES RIVERA                   ADDRESS ON FILE
DIANA J MELENDEZ RODRIGUEZ               ADDRESS ON FILE
DIANA J MERCADO MELENDEZ                 ADDRESS ON FILE
DIANA J YOST                             ADDRESS ON FILE
DIANA JAIME DE JESUS                     ADDRESS ON FILE
DIANA JANETTE MELENDEZ RODRIGUEZ         ADDRESS ON FILE
DIANA JIMENEZ URENA                      ADDRESS ON FILE
DIANA L CALDERIN VIGIL                   ADDRESS ON FILE
DIANA L CLEMENTE RIVERA                  ADDRESS ON FILE
DIANA L SANTIAGO / ROSA T SANTIAGO       ADDRESS ON FILE
DIANA L SIERRA DURAN                     ADDRESS ON FILE
DIANA L SOTO ROSA                        ADDRESS ON FILE
DIANA L TRUJILLO MUNDO                   ADDRESS ON FILE
DIANA L. GUZMAN RODRIGUEZ                ADDRESS ON FILE
DIANA LEON SERRANO                       ADDRESS ON FILE
DIANA LETICIA CRUZ SANTIAGO              ADDRESS ON FILE
DIANA LETICIA CRUZ SANTIAGO              ADDRESS ON FILE
DIANA LIMA CALDERO                       ADDRESS ON FILE
DIANA LINARES                            ADDRESS ON FILE
DIANA LIZ ORTIZ TORRES                   ADDRESS ON FILE
DIANA LOPEZ AROCHO                       ADDRESS ON FILE
DIANA LOPEZ FELICIANO                    ADDRESS ON FILE
DIANA LOPEZ RIVERA                       ADDRESS ON FILE
DIANA LOPEZ SOTOMAYOR                    ADDRESS ON FILE
DIANA LUZ RIVERA MORALES                 ADDRESS ON FILE
DIANA LYNN COLON VAZQUEZ                 ADDRESS ON FILE
DIANA M ARES BROOKS EN REPRESENTACION DE LCDO. FRANK R. SERRANO BONILLA‐ ABOGADO DPO BOX 1128 JUNCOS                                                    JUNCOS       PR      00777‐1128
DIANA M ARES BROOKS EN REPRESENTACION DE LCDO. JOARICK S. PADILLA AVILÉS‐ ABOGADO DE 1111 AVE. JESÚS T. PIÑERO                                          SAN JUAN     PR      00920‐5605
DIANA M ARES BROOKS EN REPRESENTACION DE LCDO. RALPHIE R. PÉREZ AGOSTO‐ ABOGADO DE 8 CALLE CRUZ ORTIZ STELLA (N)                                        HUMACAO      PR      00791‐3938
DIANA M AYALA DORSEY                     ADDRESS ON FILE
DIANA M BELTRAN RODRIGUEZ                ADDRESS ON FILE
DIANA M BERROCALES OCASIO                ADDRESS ON FILE
DIANA M CAMARA SANTIAGO                  ADDRESS ON FILE
DIANA M CARO ESTERAS                     ADDRESS ON FILE
DIANA M CARO ESTERAS                     ADDRESS ON FILE
DIANA M COLACIOPPO SAAVEDRA              ADDRESS ON FILE
DIANA M COLON GORBEA                     ADDRESS ON FILE
DIANA M FARRINGTON CAPLLONCH             ADDRESS ON FILE
DIANA M GARCIA VELAZQUEZ                 ADDRESS ON FILE
DIANA M GONZALEZ FORTIS                  ADDRESS ON FILE
DIANA M LOAIZA TORO                      ADDRESS ON FILE
DIANA M LOPEZ VALDES                     ADDRESS ON FILE
DIANA M LOZADA ANDINO                    ADDRESS ON FILE
DIANA M MORALES FONTANEZ                 ADDRESS ON FILE
DIANA M MORALES VALLELLANES              ADDRESS ON FILE
DIANA M NEGRON DIAZ                      ADDRESS ON FILE
DIANA M RIVERA MONTANEZ                  ADDRESS ON FILE




                                                                                                                   Page 2269 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2270 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIANA M RIVERA MORENO          ADDRESS ON FILE
DIANA M RIVERA OQUENDO         ADDRESS ON FILE
DIANA M RIVERA TEXIDOR         ADDRESS ON FILE
DIANA M RODRIGUEZ MORENO       ADDRESS ON FILE
DIANA M ROSA                   ADDRESS ON FILE
DIANA M SAAVEDRA ZAMOT         ADDRESS ON FILE
DIANA M SANCHEZ                ADDRESS ON FILE
DIANA M SANTIAGO CARTAGENA     ADDRESS ON FILE
DIANA M SOLER                  ADDRESS ON FILE
DIANA M TORRES COLON           ADDRESS ON FILE
DIANA M TORRES RIVERA          ADDRESS ON FILE
DIANA M UMPIERRE MATOS         ADDRESS ON FILE
DIANA M. CARRION GONZALEZ      ADDRESS ON FILE
DIANA M. COLACIOPPO SAAVEDRA   ADDRESS ON FILE
DIANA M. ENRIQUEZ SEIDERS      ADDRESS ON FILE
DIANA M. FORTI ISALES          ADDRESS ON FILE
DIANA M. RIVERA ATANACIO       ADDRESS ON FILE
DIANA M. RIVERA RODRIGUEZ      ADDRESS ON FILE
DIANA M. ROSA CATALAN          ADDRESS ON FILE
DIANA MALDONADO RODRIGUEZ      ADDRESS ON FILE
DIANA MANTELLINI GUIA          ADDRESS ON FILE
DIANA MARTINEZ SOTO            ADDRESS ON FILE
DIANA MATHEW RAMOS             ADDRESS ON FILE
DIANA MEDINA PASTRANA          ADDRESS ON FILE
DIANA MELENDEZ DIAZ            ADDRESS ON FILE
DIANA MELENDEZ LOPEZ           ADDRESS ON FILE
DIANA MELENDEZ, NESTOR L       ADDRESS ON FILE
DIANA MENDEZ NUNEZ             ADDRESS ON FILE
DIANA MERCADO CRUZ             ADDRESS ON FILE
DIANA MERCADO MERCADO          ADDRESS ON FILE
DIANA MIRANDA MUELLER          ADDRESS ON FILE
DIANA MIRANDA ZAYAS            ADDRESS ON FILE
DIANA MOLINA GONZALEZ          ADDRESS ON FILE
DIANA MONTALVO GHILIOTY        ADDRESS ON FILE
DIANA MONTANEZ                 ADDRESS ON FILE
DIANA MONTANEZ CLAUDIO         ADDRESS ON FILE
DIANA MONTANEZ CLAUDIO         ADDRESS ON FILE
DIANA MONTANEZ MARTINEZ        ADDRESS ON FILE
DIANA MORALES COLON            ADDRESS ON FILE
DIANA MORALES MORALES          ADDRESS ON FILE
DIANA MULERO GONZALEZ          ADDRESS ON FILE
DIANA MUNIZ MALDONADO          ADDRESS ON FILE
DIANA MURIEL TORRES            ADDRESS ON FILE
DIANA NARVAEZ RIVERA           ADDRESS ON FILE
DIANA NAZARIO COSME            ADDRESS ON FILE
DIANA NAZARIO MEDINA           ADDRESS ON FILE
DIANA NEGRON PEREZ             ADDRESS ON FILE
DIANA NEGRON PEREZ             ADDRESS ON FILE
DIANA OCASIO GONZALEZ          ADDRESS ON FILE
DIANA ORTIZ CARTAGENA          ADDRESS ON FILE
DIANA ORTIZ MALAVET            ADDRESS ON FILE
DIANA ORTIZ MALAVET            ADDRESS ON FILE
DIANA ORTIZ RODRIGUEZ          ADDRESS ON FILE
DIANA P MARTINEZ RODRIGUEZ     ADDRESS ON FILE
DIANA P MARTINEZ RODRIGUEZ     ADDRESS ON FILE
DIANA P VILLARAN LOPEZ         ADDRESS ON FILE
DIANA P. VILLARRAN LOPEZ       ADDRESS ON FILE
DIANA PAGAN VALENTIN           ADDRESS ON FILE
DIANA PENA TEJADA              ADDRESS ON FILE
DIANA PEREZ ANDUJAR            ADDRESS ON FILE




                                                                           Page 2270 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2271 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                          Address1                       Address2                                     Address3      Address4   City         State   PostalCode   Country
DIANA PEREZ MENDEZ                     ADDRESS ON FILE
DIANA PORTALATIN MARTINEZ              ADDRESS ON FILE
DIANA QUINONES CRUZ                    ADDRESS ON FILE
DIANA QUINONES RIVERA                  ADDRESS ON FILE
DIANA QUINONES SANTIAGO                ADDRESS ON FILE
DIANA R DIAZ DAVILA                    ADDRESS ON FILE
DIANA RAMIREZ CALLOSA                  ADDRESS ON FILE
DIANA RAMIREZ MORALES                  ADDRESS ON FILE
DIANA RAMIREZ PENA                     ADDRESS ON FILE
DIANA RAMOS                            ADDRESS ON FILE
DIANA RIOS MARTIR                      ADDRESS ON FILE
DIANA RIVERA ADAMS                     ADDRESS ON FILE
DIANA RIVERA ARCE                      ADDRESS ON FILE
DIANA RIVERA BURGOS                    ADDRESS ON FILE
DIANA RIVERA MARTINEZ                  ADDRESS ON FILE
DIANA RIVERA MARTINEZ                  ADDRESS ON FILE
DIANA RIVERA RIVERA                    LCDO. PEDRO J. LANDRAU LOPEZ   AVE. DOMENCH #207                            OFICINA 106              SAN JUAN     PR      00918
DIANA RIVERA RODRIGUEZ                 ADDRESS ON FILE
DIANA RIVERA RUIZ                      ADDRESS ON FILE
DIANA RIVERA TROCHE                    ADDRESS ON FILE
DIANA ROCIO LOPEZ VENEGAS              ADDRESS ON FILE
DIANA RODRIGUEZ COTTO                  ADDRESS ON FILE
DIANA RODRIGUEZ COTTO                  SRA. DIANA RODRIGUEZ COTTO     URB. TOA ALTA HEIGHTS CALLE 19 BLOQUE O‐45                            TOA ALTA     PR      00953
DIANA RODRIGUEZ MUNOZ                  ADDRESS ON FILE
DIANA RODRIGUEZ ORTIZ                  ADDRESS ON FILE
DIANA RODRIGUEZ RAMIREZ                ADDRESS ON FILE
DIANA RODRIGUEZ RAMIREZ                ADDRESS ON FILE
DIANA RODRIGUEZ RIVERA                 ADDRESS ON FILE
DIANA RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
DIANA ROMAN SANTIAGO                   ADDRESS ON FILE
DIANA ROSA                             ADDRESS ON FILE
DIANA ROSADO VARGAS                    ADDRESS ON FILE
DIANA RUBAYO /ZOILA GARCIA             ADDRESS ON FILE
DIANA RUIZ COLON                       ADDRESS ON FILE
DIANA S JIMENEZ ROMAN                  ADDRESS ON FILE
DIANA S THODE Y ANDRES F THODE BOBYN   PO BOX 8085                                                                                          SAN JUAN     PR      00910‐0085
DIANA SANTIAGO, HAYDEE                 ADDRESS ON FILE
DIANA SANTIAGO, JONATHAN               ADDRESS ON FILE
DIANA SANTIAGO, LUZ I                  ADDRESS ON FILE
DIANA SANTOS LOPEZ                     ADDRESS ON FILE
DIANA SANTOS TORRES                    ADDRESS ON FILE
DIANA SELLA RAMIREZ                    ADDRESS ON FILE
DIANA SEPULVEDA MELENDEZ               ADDRESS ON FILE
DIANA SERRANO                          ADDRESS ON FILE
DIANA SEXTO REYES                      ADDRESS ON FILE
DIANA SILVA, VICTOR A.                 ADDRESS ON FILE
DIANA SILVA, VICTOR A.                 ADDRESS ON FILE
DIANA SOLER FIGUEROA                   ADDRESS ON FILE
DIANA SOSA CRUZ                        ADDRESS ON FILE
DIANA SOTO MERCED                      ADDRESS ON FILE
DIANA SOTO MERCED                      ADDRESS ON FILE
DIANA SOTO MERCED                      ADDRESS ON FILE
DIANA TEJADA GUZMAN                    ADDRESS ON FILE
DIANA TIRADO LUGO                      ADDRESS ON FILE
DIANA TORRES LOPEZ                     ADDRESS ON FILE
DIANA TORRES LUGO                      ADDRESS ON FILE
DIANA TORRES MOORE                     ADDRESS ON FILE
DIANA TORRES NIEVES                    ADDRESS ON FILE
DIANA TORRES VELAZQUEZ                 ADDRESS ON FILE
DIANA TORRES, JUDITH M                 ADDRESS ON FILE




                                                                                                  Page 2271 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2272 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                           Address1                        Address2                         Address3         Address4   City         State   PostalCode   Country
DIANA TORRES, MAGDALENA                 ADDRESS ON FILE
DIANA TRONCOSO MONTANEZ                 ADDRESS ON FILE
DIANA V FELICIANO GARCIA                ADDRESS ON FILE
DIANA V FELICIANO GARCIA                ADDRESS ON FILE
DIANA V MARTINEZ BERMUDEZ               ADDRESS ON FILE
DIANA V MATOS CABANILLAS                ADDRESS ON FILE
DIANA VALENCIA BERNAL                   ADDRESS ON FILE
DIANA VARGAS BABA                       ADDRESS ON FILE
DIANA VARGAS BOSQUES                    ADDRESS ON FILE
DIANA VAZQUEZ GONZALEZ                  ADDRESS ON FILE
DIANA VAZQUEZ GONZALEZ / ECOLOGIC ALL   URB MONTE CARLOS                N 1272 CALLE 19                                              SAN JUAN     PR      00924
DIANA VAZQUEZ ORTIZ                     ADDRESS ON FILE
DIANA VAZQUEZ RODRIGUEZ                 ADDRESS ON FILE
DIANA VAZQUEZ/ MILTON VAZQUEZ           ADDRESS ON FILE
DIANA VEGA MELENDEZ                     ADDRESS ON FILE
DIANA VELEZ MONTALVO                    ADDRESS ON FILE
DIANA VELEZ VARGAS                      ADDRESS ON FILE
DIANA VELEZ, DAMARYS                    ADDRESS ON FILE
DIANA VELLON RECIO                      ADDRESS ON FILE
DIANA VICENTY LUGO                      ADDRESS ON FILE
DIANA W QUINONES PEREZ                  ADDRESS ON FILE
DIANA Y CASTENEDA GARCIA                ADDRESS ON FILE
                                                                                                         1353 AVE. LUIS
DIANA Y. LORENZI RODRÍGUEZ              LCDA. YARLENE JIMÉNEZ ROSARIO   PMB 133                          VIGOREAUX                   GUAYNABO     PR      00966‐2700
DIANA ZAYAS, CATALINA                   ADDRESS ON FILE
DIANA ZAYAS, MARIA I                    ADDRESS ON FILE
DIANALEXIA ORTIZ CARTAGENA              ADDRESS ON FILE
DIANALYS ROTGER REYES                   ADDRESS ON FILE
DIANARYS SOSA RAMIREZ                   ADDRESS ON FILE
DIANAS MONTES, JANET                    ADDRESS ON FILE
DIANASHCA M APONTE ALVALLE              ADDRESS ON FILE
DIANE BAYRON PAUYMIROY                  ADDRESS ON FILE
DIANE CARTAGENA CARTAGENA               ADDRESS ON FILE
DIANE GONZALEZ MALDONADO                ADDRESS ON FILE
DIANE I PEREZ GONZALEZ                  ADDRESS ON FILE
DIANE L MANKIN CRUZ                     ADDRESS ON FILE
DIANE LEE GONZALEZ RODRIGUEZ            ADDRESS ON FILE
DIANE M MONET ROBLES                    ADDRESS ON FILE
DIANE M VAZQUEZ SANTOS                  ADDRESS ON FILE
DIANE MARTINEZ TORRES                   ADDRESS ON FILE
DIANE MERCADO MOJICA                    ADDRESS ON FILE
DIANE R MCNALLY                         ADDRESS ON FILE
DIANE RAMOS VELLON                      ADDRESS ON FILE
DIANE ROCKEL RIVERA                     ADDRESS ON FILE
DIANE RUIZ IRIZARRY                     ADDRESS ON FILE
DIANE SAURI RAMIREZ                     ADDRESS ON FILE
DIANE SOTO ALICEA                       ADDRESS ON FILE
DIANEKIE GUZMAN                         ADDRESS ON FILE
DIANEL VIERA REYES                      ADDRESS ON FILE
DIANELSIE GUZMAN GONZALEZ               ADDRESS ON FILE
DIANELSIE GUZMAN GONZALEZ               ADDRESS ON FILE
DIANELY ROSARIO GARCIA                  ADDRESS ON FILE
DIANETTE FELICIANO PEREZ                ADDRESS ON FILE
DIANETTE RENTAS BURGOS                  ADDRESS ON FILE
DIANGELY N DE JESUS ANDUJAR             ADDRESS ON FILE
DIANICE D. RIVERA ZAMBRANA              ADDRESS ON FILE
DIANICK MORALES PEREZ                   ADDRESS ON FILE
DIANILDA RAMIREZ NAVARRO                ADDRESS ON FILE
DIANISE GARCIA CRUZ                     ADDRESS ON FILE
DIANITZA M NIEVES RIVERA                ADDRESS ON FILE




                                                                                          Page 2272 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2273 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                            Address1                         Address2                               Address3   Address4   City           State   PostalCode   Country
DIANITZA MARTINEZ SOTO                   ADDRESS ON FILE
DIANN MARIE SMITH                        ADDRESS ON FILE
DIANNA ARLENNE VAZQUEZ ORTIZ             ADDRESS ON FILE
DIANNA D COTTO GARCIA                    ADDRESS ON FILE
DIANNA LATORRE MELENDEZ                  ADDRESS ON FILE
DIANNA LOPEZ                             ADDRESS ON FILE
DIANNA MONTANEZ VAZQUEZ                  ADDRESS ON FILE
DIANNA SEPULVEDA ALMODOVAR               ADDRESS ON FILE
DIANNA SOLER RODRIGUEZ                   ADDRESS ON FILE
DIANNE AGOSTO DIAZ                       ADDRESS ON FILE
DIANNE AGOSTO DIAZ                       ADDRESS ON FILE
DIANNE AGOSTO DIAZ DBA ADONARI THERAPY C URB STA ROSA CALLE 7 BLQ 6 #25                                                                BAYAMON        PR      00956
DIANNE AYUSO TORRES                      ADDRESS ON FILE
DIANNE AYUSO TORRES                      ADDRESS ON FILE
DIANNE CUEBAS FANTAUZZI                  ADDRESS ON FILE
DIANNE M GOYCO DEYNES                    ADDRESS ON FILE
DIANNE M MARTINEZ RIVERA                 ADDRESS ON FILE
DIANNE PULLIZA GARCIA                    ADDRESS ON FILE
DIANNE VIRUET MORALES                    ADDRESS ON FILE
DIANNELLE RODRIGUEZ TORRES               ADDRESS ON FILE
DIANNETE VALLE CANCEL                    ADDRESS ON FILE
DIANNETTE L FANTAUZZI VELEZ              ADDRESS ON FILE
DIANY SANTIAGO RODRIGUEZ                 ADDRESS ON FILE
DIANY Y. LOPEZ TORRES                    ADDRESS ON FILE
DIANYS AROCHO SALGADO                    ADDRESS ON FILE
DIARA LIZ CARABALLO ROSARIO              ADDRESS ON FILE
DIARA LIZ CARABALLO ROSARIO              ADDRESS ON FILE
DIARALIZ CRUZ ROMAN                      ADDRESS ON FILE
DIARIAN FIGUEROA SANTOS                  ADDRESS ON FILE
DIARIO METRO                             PO BOX 9142                                                                                   SANTURCE       PR      00908
DIARZA HERNANDEZ, LILLIAN                ADDRESS ON FILE
DIARZA ROSADO, ASHLEY                    ADDRESS ON FILE
DIAS RIVERA, NILSA M                     ADDRESS ON FILE
DIAS, CRISTIANO                          ADDRESS ON FILE
DIASAN MED CSP                           URB LAS FLORES                   D4 CALLE 3                                                   JUANA DIAZ     PR      00795‐2204
DIASHMINELIE RIVERA DIAZ                 ADDRESS ON FILE
DIAZ ASSOCIATES TRANSPORT SERVICES INC   PO BOX 336863                                                                                 PONCE          PR      00733‐6863
Diaz Rivera, Andres                      ADDRESS ON FILE
DIAZ & CANDELARIA PSC                    GRAN BULEVAR PASEOS              PMB 294 100 SUITE 112                                        SAN JUAN       PR      00926‐5955
DIAZ ., JENALY N                         ADDRESS ON FILE
DIAZ 2012 IRREVOCABLE TRUST              9330 NW 110 AVENUE                                                                            MIAMI          FL      33178
DIAZ ABADIA, MARIA M                     ADDRESS ON FILE
DIAZ ABREGO, ALEX J                      ADDRESS ON FILE
DIAZ ABREU, OMAR CHARIFF                 ADDRESS ON FILE
DIAZ ACEVEDO, ANGEL                      ADDRESS ON FILE
DIAZ ACEVEDO, ANGEL                      ADDRESS ON FILE
DIAZ ACEVEDO, CYNDI                      ADDRESS ON FILE
DIAZ ACEVEDO, ELENA                      ADDRESS ON FILE
DIAZ ACEVEDO, ELIZABETH                  ADDRESS ON FILE
DIAZ ACEVEDO, EMILY                      ADDRESS ON FILE
Diaz Acevedo, Ernesto                    ADDRESS ON FILE
DIAZ ACEVEDO, ERNESTO                    ADDRESS ON FILE
DIAZ ACEVEDO, ISIS                       ADDRESS ON FILE
DIAZ ACEVEDO, JOEL                       ADDRESS ON FILE
DIAZ ACEVEDO, JOEL                       ADDRESS ON FILE
DIAZ ACEVEDO, JOSE                       ADDRESS ON FILE
DIAZ ACEVEDO, JOSE D.                    ADDRESS ON FILE
DIAZ ACEVEDO, JULIO A.                   ADDRESS ON FILE
DIAZ ACEVEDO, LILIA C                    ADDRESS ON FILE
DIAZ ACEVEDO, MARIA                      ADDRESS ON FILE




                                                                                                  Page 2273 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2274 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ACEVEDO, MAYRA G             ADDRESS ON FILE
DIAZ ACEVEDO, MYRNA               ADDRESS ON FILE
DIAZ ACEVEDO, NELSON              ADDRESS ON FILE
DIAZ ACEVEDO, PABLO               ADDRESS ON FILE
DIAZ ACEVEDO, VICTOR              ADDRESS ON FILE
DIAZ ACEVEDO, YOLANDA             ADDRESS ON FILE
DIAZ ACEVEDO, ZENAIDA             ADDRESS ON FILE
DIAZ ACHURY, IRENE                ADDRESS ON FILE
DIAZ ACOSTA, ARELYS               ADDRESS ON FILE
DIAZ ACOSTA, ARELYS               ADDRESS ON FILE
DIAZ ACOSTA, FELIX                ADDRESS ON FILE
DIAZ ACOSTA, HUMBERTO             ADDRESS ON FILE
Diaz Acosta, Jose M               ADDRESS ON FILE
DIAZ ACOSTA, MARIA                ADDRESS ON FILE
DIAZ ACOSTA, MARIA I.             ADDRESS ON FILE
DIAZ ACOSTA, MIGUEL               ADDRESS ON FILE
DIAZ ADORNO, AMANDA               ADDRESS ON FILE
DIAZ ADORNO, BRUNILDA             ADDRESS ON FILE
DIAZ ADORNO, JUANA                ADDRESS ON FILE
DIAZ ADORNO, JULIA                ADDRESS ON FILE
DIAZ ADORNO, MARILYN              ADDRESS ON FILE
DIAZ ADORNO,LILYBETH              ADDRESS ON FILE
DIAZ AFANADOR, ELVIN              ADDRESS ON FILE
DIAZ AFANADOR, LUIS               ADDRESS ON FILE
DIAZ AGOSTO, ANGEL                ADDRESS ON FILE
DIAZ AGOSTO, ANGEL                ADDRESS ON FILE
DIAZ AGOSTO, ANGEL L.             ADDRESS ON FILE
DIAZ AGOSTO, ARLENE               ADDRESS ON FILE
DIAZ AGOSTO, JEANETTE             ADDRESS ON FILE
Diaz Agosto, Jose                 ADDRESS ON FILE
DIAZ AGOSTO, JOSE                 ADDRESS ON FILE
Diaz Agosto, Jose R               ADDRESS ON FILE
DIAZ AGOSTO, JOSELYNE             ADDRESS ON FILE
DIAZ AGOSTO, MARIA DE L           ADDRESS ON FILE
DIAZ AGOSTO, MARICELA             ADDRESS ON FILE
DIAZ AGOSTO, MARTA E              ADDRESS ON FILE
Diaz Agosto, Porfirio             ADDRESS ON FILE
DIAZ AGRAIT, JEILEEN              ADDRESS ON FILE
DIAZ AGUAYO, ANA C.               ADDRESS ON FILE
Diaz Aguiar, Rafael               ADDRESS ON FILE
DIAZ AGUILAR, ILEANA              ADDRESS ON FILE
Diaz Aguilar, Ileana M            ADDRESS ON FILE
DIAZ AGUILAR, MARCOS              ADDRESS ON FILE
Diaz Aguilar, Marcos A.           ADDRESS ON FILE
DIAZ AGUILAR, MARIA DEL C         ADDRESS ON FILE
DIAZ AGUILAR, MIGUELINA           ADDRESS ON FILE
DIAZ AGUILAR, SONIA I.            ADDRESS ON FILE
DIAZ AHEDO, DORIS                 ADDRESS ON FILE
DIAZ ALAMO, JULIA                 ADDRESS ON FILE
DIAZ ALAMO, JULIO                 ADDRESS ON FILE
Diaz Alamo, Lourdes               ADDRESS ON FILE
DIAZ ALAMO, LYDIANN NIKOLE        ADDRESS ON FILE
DIAZ ALAMO, MARINA                ADDRESS ON FILE
Diaz Alamo, Victor                ADDRESS ON FILE
DIAZ ALBALADEJO, ANGEL L          ADDRESS ON FILE
DIAZ ALBALADEJO, CARLOS ALBERTO   ADDRESS ON FILE
DIAZ ALBALADEJO, CRISTOBAL        ADDRESS ON FILE
DIAZ ALBALADEJO, SOL              ADDRESS ON FILE
DIAZ ALBERT, FRANCISCO            ADDRESS ON FILE
Diaz Albino, Juan E.              ADDRESS ON FILE




                                                                              Page 2274 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2275 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ALBIZU, ANALIS          ADDRESS ON FILE
DIAZ ALBIZU, JOSE LUIS       ADDRESS ON FILE
DIAZ ALEJANDRINO, DAMIAN     ADDRESS ON FILE
DIAZ ALEJANDRO, LYDIA        ADDRESS ON FILE
DIAZ ALEJANDRO, MARIA        ADDRESS ON FILE
DIAZ ALEJANDRO, MAYLEEN      ADDRESS ON FILE
DIAZ ALEJANDRO, WALTER       ADDRESS ON FILE
Diaz Aleman, Grissette       ADDRESS ON FILE
DIAZ ALEMAN, JESSICA         ADDRESS ON FILE
DIAZ ALEMAN, JOSEPH R        ADDRESS ON FILE
DIAZ ALEQUIN, PABLO          ADDRESS ON FILE
DIAZ ALGARIN, ANGEL          ADDRESS ON FILE
DIAZ ALGARIN, EDGARDO        ADDRESS ON FILE
DIAZ ALGARIN, EVELYN         ADDRESS ON FILE
DIAZ ALGARIN, JOSE           ADDRESS ON FILE
DIAZ ALGARIN, JUAN           ADDRESS ON FILE
DIAZ ALGARIN, MIRIAM I       ADDRESS ON FILE
DIAZ ALGARIN, NEREIDA        ADDRESS ON FILE
DIAZ ALGARIN, SAULO          ADDRESS ON FILE
DIAZ ALGORRI, YARITZA        ADDRESS ON FILE
DIAZ ALICEA, ANA D.          ADDRESS ON FILE
DIAZ ALICEA, ANGEL M.        ADDRESS ON FILE
Diaz Alicea, David           ADDRESS ON FILE
DIAZ ALICEA, ELSIE           ADDRESS ON FILE
DIAZ ALICEA, ELSIE           ADDRESS ON FILE
DIAZ ALICEA, EUSEBIO         ADDRESS ON FILE
DIAZ ALICEA, JIMMY           ADDRESS ON FILE
Diaz Alicea, Jose O          ADDRESS ON FILE
DIAZ ALICEA, JOYN            ADDRESS ON FILE
DIAZ ALICEA, KENNETH         ADDRESS ON FILE
DIAZ ALICEA, LEMUEL          ADDRESS ON FILE
DIAZ ALICEA, LUIS A          ADDRESS ON FILE
DIAZ ALICEA, LUIS A          ADDRESS ON FILE
DIAZ ALICEA, LYNNETTE        ADDRESS ON FILE
DIAZ ALICEA, MARGARITA       ADDRESS ON FILE
DIAZ ALICEA, MIGUEL A.       ADDRESS ON FILE
DIAZ ALICEA, MIRIAM E.       ADDRESS ON FILE
DIAZ ALICEA, NATALIA         ADDRESS ON FILE
DIAZ ALICEA, NILSA E.        ADDRESS ON FILE
DIAZ ALICEA, RAFAEL E        ADDRESS ON FILE
Diaz Alicea, Rochely         ADDRESS ON FILE
DIAZ ALICEA, ROLANDO         ADDRESS ON FILE
DIAZ ALICEA, RUTH            ADDRESS ON FILE
DIAZ ALICEA, SAMUEL          ADDRESS ON FILE
DIAZ ALICEA, VICTOR M        ADDRESS ON FILE
DIAZ ALICEA, VIVIANA         ADDRESS ON FILE
Diaz Alicea, William         ADDRESS ON FILE
DIAZ ALICEA, YARINSE Y.      ADDRESS ON FILE
DIAZ ALICEA, YESENIA         ADDRESS ON FILE
DIAZ ALLENDE, LUZ M          ADDRESS ON FILE
DIAZ ALLENDE, NELMARIE       ADDRESS ON FILE
DIAZ ALLENDE, NYDIA          ADDRESS ON FILE
DIAZ ALMENAS, AWILDA         ADDRESS ON FILE
DIAZ ALMESTICA, NILDA        ADDRESS ON FILE
DIAZ ALONSO, ALBERTO         ADDRESS ON FILE
DIAZ ALONSO, FABIOLA         ADDRESS ON FILE
DIAZ ALONSO, PEDRO           ADDRESS ON FILE
DIAZ ALONSO, RAMON           ADDRESS ON FILE
DIAZ ALONSO, VICTOR          ADDRESS ON FILE
DIAZ ALTAGRACIA, GLENNYS R   ADDRESS ON FILE




                                                                         Page 2275 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2276 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ALTAGRACIA, WENDY       ADDRESS ON FILE
DIAZ ALVARADO, ADELINA       ADDRESS ON FILE
DIAZ ALVARADO, DENISSE       ADDRESS ON FILE
Diaz Alvarado, Eduardo       ADDRESS ON FILE
DIAZ ALVARADO, EDWIN         ADDRESS ON FILE
DIAZ ALVARADO, ERICK         ADDRESS ON FILE
DIAZ ALVARADO, ILEANA        ADDRESS ON FILE
DIAZ ALVARADO, IRIS          ADDRESS ON FILE
DIAZ ALVARADO, IRMA          ADDRESS ON FILE
DIAZ ALVARADO, KELVIN        ADDRESS ON FILE
DIAZ ALVARADO, KRENLEY       ADDRESS ON FILE
DIAZ ALVARADO, LISANDRA      ADDRESS ON FILE
DIAZ ALVARADO, LISSETTE      ADDRESS ON FILE
DIAZ ALVARADO, LIZBETH       ADDRESS ON FILE
DIAZ ALVARADO, LUIS          ADDRESS ON FILE
DIAZ ALVARADO, MIRIAM        ADDRESS ON FILE
DIAZ ALVARADO, PAULO E       ADDRESS ON FILE
DIAZ ALVARADO, RAFAEL J      ADDRESS ON FILE
DIAZ ALVARADO, RENE J.       ADDRESS ON FILE
DIAZ ALVARADO, ROMARYS       ADDRESS ON FILE
DIAZ ALVARENGA, VICTOR O.    ADDRESS ON FILE
Diaz Alvarez, Carlos R       ADDRESS ON FILE
Diaz Alvarez, Carmelo        ADDRESS ON FILE
DIAZ ALVAREZ, CARMEN DELIA   ADDRESS ON FILE
DIAZ ALVAREZ, EDGARDO        ADDRESS ON FILE
DIAZ ALVAREZ, ELLIOT         ADDRESS ON FILE
DIAZ ALVAREZ, EVELYN         ADDRESS ON FILE
DIAZ ALVAREZ, HECTOR M.      ADDRESS ON FILE
DIAZ ALVAREZ, HECTOR R.      ADDRESS ON FILE
DIAZ ALVAREZ, IRMA           ADDRESS ON FILE
DIAZ ALVAREZ, JANNETTE       ADDRESS ON FILE
DIAZ ALVAREZ, JEANNETTE      ADDRESS ON FILE
DIAZ ALVAREZ, JENNY          ADDRESS ON FILE
DIAZ ALVAREZ, JOAQUIN        ADDRESS ON FILE
DIAZ ALVAREZ, JOSE           ADDRESS ON FILE
DIAZ ALVAREZ, JUAN A.        ADDRESS ON FILE
DIAZ ALVAREZ, MANUEL         ADDRESS ON FILE
DIAZ ALVAREZ, MILAGROS       ADDRESS ON FILE
DIAZ ALVAREZ, MYRTIA H       ADDRESS ON FILE
DIAZ ALVAREZ, NANCY          ADDRESS ON FILE
DIAZ ALVAREZ, NYDIA L        ADDRESS ON FILE
DIAZ ALVAREZ, RAFAEL         ADDRESS ON FILE
DIAZ ALVAREZ, RAUL           ADDRESS ON FILE
DIAZ ALVAREZ, RICHARD        ADDRESS ON FILE
DIAZ ALVAREZ, ROSARIO        ADDRESS ON FILE
DIAZ ALVAREZ, TERESA         ADDRESS ON FILE
DIAZ ALVAREZ, YADIRA         ADDRESS ON FILE
DIAZ ALVAREZ, YOLANDA        ADDRESS ON FILE
DIAZ ALVERIO, IRMA L.        ADDRESS ON FILE
DIAZ ALVERIO, NORMA I        ADDRESS ON FILE
DIAZ ALVERIO, NYDIA M        ADDRESS ON FILE
DIAZ ALVERIO, VALENTIN       ADDRESS ON FILE
DIAZ AMADOR, MARTA H         ADDRESS ON FILE
DIAZ AMARO, CARLOS           ADDRESS ON FILE
DIAZ AMARO, JOSE G           ADDRESS ON FILE
Diaz Amaro, Rafael           ADDRESS ON FILE
DIAZ AMARO, RAFAEL           ADDRESS ON FILE
DIAZ AMILL, ANA C            ADDRESS ON FILE
DIAZ AMILL, JERLINE M        ADDRESS ON FILE
Diaz Amill, Juan E           ADDRESS ON FILE




                                                                         Page 2276 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2277 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Anaya, Hector             ADDRESS ON FILE
DIAZ ANAYA, JOSE               ADDRESS ON FILE
DIAZ ANAYA, JOSE               ADDRESS ON FILE
DIAZ ANDINO, CARMEN L          ADDRESS ON FILE
DIAZ ANDINO, ELAINE            ADDRESS ON FILE
DIAZ ANDINO, JOSE              ADDRESS ON FILE
DIAZ ANDINO, MARIA E           ADDRESS ON FILE
DIAZ ANDINO, MARIA M.          ADDRESS ON FILE
DIAZ ANDINO, WANDA             ADDRESS ON FILE
DIAZ ANDRADES, JANNETTE        ADDRESS ON FILE
DIAZ ANDRADES, LUZ M           ADDRESS ON FILE
DIAZ ANDUJAR, CARMEN R         ADDRESS ON FILE
DIAZ ANDUJAR, YOLANDA          ADDRESS ON FILE
DIAZ ANGEL, VANESSA            ADDRESS ON FILE
DIAZ ANGUEIRA, MARITZA         ADDRESS ON FILE
DIAZ ANTOMMATTEI, LOURDES R.   ADDRESS ON FILE
Diaz Antonetti, Melissa        ADDRESS ON FILE
DIAZ ANTONETTY, NELSON L.      ADDRESS ON FILE
DIAZ ANTONETTY, NORBERTO       ADDRESS ON FILE
Diaz Aponte, Alberto           ADDRESS ON FILE
Diaz Aponte, Alberto           ADDRESS ON FILE
DIAZ APONTE, ANTONIO           ADDRESS ON FILE
DIAZ APONTE, ARLEEN            ADDRESS ON FILE
DIAZ APONTE, ARLEEN            ADDRESS ON FILE
DIAZ APONTE, CARLOS A          ADDRESS ON FILE
DIAZ APONTE, CARMEN ANA        ADDRESS ON FILE
DIAZ APONTE, ELSA M            ADDRESS ON FILE
Diaz Aponte, Geraldo           ADDRESS ON FILE
DIAZ APONTE, GRISETTE          ADDRESS ON FILE
DIAZ APONTE, JOHANNA M         ADDRESS ON FILE
DIAZ APONTE, JORGE             ADDRESS ON FILE
DIAZ APONTE, KATIA             ADDRESS ON FILE
DIAZ APONTE, KELVIN            ADDRESS ON FILE
DIAZ APONTE, KENNY             ADDRESS ON FILE
DIAZ APONTE, LUDIM             ADDRESS ON FILE
DIAZ APONTE, LUIS              ADDRESS ON FILE
DIAZ APONTE, LUIS              ADDRESS ON FILE
DIAZ APONTE, MARIA             ADDRESS ON FILE
DIAZ APONTE, MARIA             ADDRESS ON FILE
DIAZ APONTE, MARIELA           ADDRESS ON FILE
DIAZ APONTE, MARILYN           ADDRESS ON FILE
DIAZ APONTE, MARILYN           ADDRESS ON FILE
DIAZ APONTE, MARISEL           ADDRESS ON FILE
DIAZ APONTE, MIOSOTI           ADDRESS ON FILE
DIAZ APONTE, NELLY I           ADDRESS ON FILE
DIAZ APONTE, ONAISA            ADDRESS ON FILE
Diaz Aponte, Pedro             ADDRESS ON FILE
DIAZ APONTE, RAFAEL E          ADDRESS ON FILE
DIAZ APONTE, RAFAELA           ADDRESS ON FILE
DIAZ APONTE, ROXANNE I.        ADDRESS ON FILE
DIAZ APONTE, RURICO S.         ADDRESS ON FILE
DIAZ APONTE, VALERIE           ADDRESS ON FILE
DIAZ APONTE, VICTOR R          ADDRESS ON FILE
DIAZ APONTE, VIRGINIA          ADDRESS ON FILE
DIAZ APONTE, ZULMARIE          ADDRESS ON FILE
DIAZ AQUINO, ANGEL L.          ADDRESS ON FILE
DIAZ AQUINO, CARMEN I.         ADDRESS ON FILE
DIAZ AQUINO, FRANCISCO         ADDRESS ON FILE
DIAZ ARAN, YAMILETTE           ADDRESS ON FILE
DIAZ ARCE, ALEJANDRO           ADDRESS ON FILE




                                                                           Page 2277 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2278 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ARCE, HELEN                ADDRESS ON FILE
DIAZ ARCE, RAFAEL               ADDRESS ON FILE
DIAZ ARCE,ALEJANDRO             ADDRESS ON FILE
DIAZ ARCELAY, ABISAEL           ADDRESS ON FILE
DIAZ ARCHILLA, MERCEDES DEL P   ADDRESS ON FILE
DIAZ ARCHILLA, PROVIDENCIA      ADDRESS ON FILE
DIAZ ARISTUD, MILAGROS          ADDRESS ON FILE
DIAZ ARISTUD, MILAGROS H        ADDRESS ON FILE
DIAZ ARISTUD,MINERVA            ADDRESS ON FILE
DIAZ ARISTY, PURACELIA          ADDRESS ON FILE
DIAZ ARROYO, ALBA               ADDRESS ON FILE
DIAZ ARROYO, ANGEL              ADDRESS ON FILE
DIAZ ARROYO, CASANDRA           ADDRESS ON FILE
DIAZ ARROYO, FABIOLA            ADDRESS ON FILE
DIAZ ARROYO, GLORIMAR           ADDRESS ON FILE
DIAZ ARROYO, IVETTE M           ADDRESS ON FILE
Diaz Arroyo, Jaime              ADDRESS ON FILE
DIAZ ARROYO, JANET              ADDRESS ON FILE
DIAZ ARROYO, JUAN CARLOS        ADDRESS ON FILE
DIAZ ARROYO, JULIO              ADDRESS ON FILE
DIAZ ARROYO, MICHAEL            ADDRESS ON FILE
DIAZ ARROYO, MIRIAM A           ADDRESS ON FILE
DIAZ ARROYO, MIRYAM             ADDRESS ON FILE
DIAZ ARROYO, MYRNA              ADDRESS ON FILE
DIAZ ARROYO, PEDRO J.           ADDRESS ON FILE
DIAZ ARROYO, WILFREDO           ADDRESS ON FILE
DIAZ ARROYO, WILMA              ADDRESS ON FILE
DIAZ ARROYO, YASHIRA M          ADDRESS ON FILE
DIAZ ARROYO, ZULMA              ADDRESS ON FILE
DIAZ ARZOLA, CARLOS             ADDRESS ON FILE
DIAZ ARZOLA, ISMAEL             ADDRESS ON FILE
DIAZ ARZUAGA, HENRY             ADDRESS ON FILE
Diaz Asia, Ivan                 ADDRESS ON FILE
Diaz Asia, Jerry                ADDRESS ON FILE
DIAZ ASTACIO, DORIS             ADDRESS ON FILE
DIAZ ASTACIO, PEDRO A.          ADDRESS ON FILE
DIAZ ASTACIO, RUTHGALLY         ADDRESS ON FILE
DIAZ ATIENZA, ELI E.            ADDRESS ON FILE
DIAZ ATIENZA, LOURDES           ADDRESS ON FILE
DIAZ ATIENZA, ROBERTO           ADDRESS ON FILE
DIAZ ATILES, MYRNA              ADDRESS ON FILE
DIAZ AVELLANET, MIRTHALIZ       ADDRESS ON FILE
DIAZ AVILES, ABIGAIL            ADDRESS ON FILE
DIAZ AVILES, ALEXANDER          ADDRESS ON FILE
DIAZ AVILES, ANGEL              ADDRESS ON FILE
Diaz Aviles, Felix M.           ADDRESS ON FILE
DIAZ AVILES, HECTOR M           ADDRESS ON FILE
DIAZ AVILES, JORGE              ADDRESS ON FILE
DIAZ AVILES, JORGE L            ADDRESS ON FILE
DIAZ AVILES, JOSE O             ADDRESS ON FILE
DIAZ AVILES, KATIRIA            ADDRESS ON FILE
DIAZ AVILES, MYRAIDA            ADDRESS ON FILE
Díaz Avilés, Myraida            ADDRESS ON FILE
DIAZ AVILES, MYRAIDA            ADDRESS ON FILE
DIAZ AVILES, ORLANDO            ADDRESS ON FILE
DIAZ AVILES, PEDRO              ADDRESS ON FILE
DIAZ AVILES, ROBERTO            ADDRESS ON FILE
DIAZ AVILES, ROBERTO            ADDRESS ON FILE
DIAZ AVILES, ROBERTO            ADDRESS ON FILE
DIAZ AVILES, SHEILA E           ADDRESS ON FILE




                                                                            Page 2278 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2279 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ AYALA, ANA DELLY       ADDRESS ON FILE
DIAZ AYALA, ARMIDA          ADDRESS ON FILE
DIAZ AYALA, ARTURO          ADDRESS ON FILE
DIAZ AYALA, AUREA           ADDRESS ON FILE
DIAZ AYALA, BRUNILDA        ADDRESS ON FILE
DIAZ AYALA, CARMEN I        ADDRESS ON FILE
DIAZ AYALA, CHRISTIAN       ADDRESS ON FILE
DIAZ AYALA, DEBORAH         ADDRESS ON FILE
DIAZ AYALA, DIORKA          ADDRESS ON FILE
DIAZ AYALA, EMMELINE        ADDRESS ON FILE
DIAZ AYALA, EVELYN          ADDRESS ON FILE
DIAZ AYALA, FRANCISCO J     ADDRESS ON FILE
DIAZ AYALA, GUILLERMINA     ADDRESS ON FILE
Diaz Ayala, Idalia          ADDRESS ON FILE
DIAZ AYALA, ILLIA J.        ADDRESS ON FILE
DIAZ AYALA, IRIS            ADDRESS ON FILE
DIAZ AYALA, JOSE            ADDRESS ON FILE
DIAZ AYALA, LIZAMELL        ADDRESS ON FILE
DIAZ AYALA, LUIS            ADDRESS ON FILE
DIAZ AYALA, LUIS            ADDRESS ON FILE
DIAZ AYALA, LUIS A          ADDRESS ON FILE
DIAZ AYALA, LUIS A.         ADDRESS ON FILE
DIAZ AYALA, LUZ I           ADDRESS ON FILE
DIAZ AYALA, NELSON          ADDRESS ON FILE
DIAZ AYALA, OMAR            ADDRESS ON FILE
DIAZ AYALA, OMARY           ADDRESS ON FILE
DIAZ AYALA, WILFREDO        ADDRESS ON FILE
DIAZ AYALA, YANIRA          ADDRESS ON FILE
DIAZ AYUSO, MARIO           ADDRESS ON FILE
DIAZ BADIA, BEGUER          ADDRESS ON FILE
DIAZ BADIAS, LUIS           ADDRESS ON FILE
DIAZ BADILLO, ANTHONY       ADDRESS ON FILE
Diaz Badillo, Anthony Cy    ADDRESS ON FILE
DIAZ BADILLO, CHRITSHYA     ADDRESS ON FILE
Diaz Baerga, Richard        ADDRESS ON FILE
DIAZ BAEZ, AIDA I           ADDRESS ON FILE
DIAZ BAEZ, BENIGNO          ADDRESS ON FILE
DIAZ BAEZ, CARMEN M         ADDRESS ON FILE
DIAZ BAEZ, DORILISSE        ADDRESS ON FILE
DIAZ BAEZ, FAUSTINO         ADDRESS ON FILE
DIAZ BAEZ, GABRIEL A        ADDRESS ON FILE
DIAZ BAEZ, GIOVANNI         ADDRESS ON FILE
DIAZ BAEZ, GRETCHEN         ADDRESS ON FILE
DIAZ BAEZ, GUILLERMO        ADDRESS ON FILE
DIAZ BAEZ, IVONNE           ADDRESS ON FILE
DIAZ BAEZ, JOEL             ADDRESS ON FILE
DIAZ BAEZ, MARCOS           ADDRESS ON FILE
DIAZ BAEZ, MARIA            ADDRESS ON FILE
DIAZ BAEZ, MARIA DE LOS A   ADDRESS ON FILE
Diaz Baez, Maria S          ADDRESS ON FILE
DIAZ BAEZ, MARIBEL          ADDRESS ON FILE
DIAZ BAEZ, MARLYN           ADDRESS ON FILE
DIAZ BAEZ, NELLY            ADDRESS ON FILE
Diaz Baez, Nelly J          ADDRESS ON FILE
DIAZ BAEZ, NELSON           ADDRESS ON FILE
DIAZ BAEZ, PAOLA            ADDRESS ON FILE
DIAZ BAHAMUNDI, NANCY       ADDRESS ON FILE
DIAZ BALADEJO, ORLANDO      ADDRESS ON FILE
DIAZ BALL, PATRICIA         ADDRESS ON FILE
DIAZ BAO, EDUARDO           ADDRESS ON FILE




                                                                        Page 2279 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2280 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                       Address2                    Address3         Address4   City         State   PostalCode   Country
DIAZ BAO, LAURA               ADDRESS ON FILE
Diaz Barbosa, Edgardo J       ADDRESS ON FILE
DIAZ BARBOSA, IRVIN           ADDRESS ON FILE
Diaz Bardales, Jorge G        ADDRESS ON FILE
DIAZ BARDEGUEZ, BRUNILDA G    ADDRESS ON FILE
DIAZ BARREIRO, STEPHANIE      ADDRESS ON FILE
DIAZ BARRETO, AGUSTIN         ADDRESS ON FILE
DIAZ BARRETO, CARLA           ADDRESS ON FILE
DIAZ BARRETO, DELILAH         ADDRESS ON FILE
DIAZ BARRETO, EDWIN           ADDRESS ON FILE
DIAZ BARRETO, EDWIN O.        ADDRESS ON FILE
DIAZ BARRETO, JESSE O         ADDRESS ON FILE
DIAZ BARRETO, MELVIN LUIS     ADDRESS ON FILE
DIAZ BARRETO, ROMAN           ADDRESS ON FILE
DIAZ BARRIENTOS, JOSE         ADDRESS ON FILE
DIAZ BARRIOS MD, LUIS M       ADDRESS ON FILE
DIAZ BATISTA, BRENDA          ADDRESS ON FILE
DIAZ BATISTA, CELESTE         ADDRESS ON FILE
DIAZ BATISTA, IVONNE          ADDRESS ON FILE
DIAZ BAUZA, MIRTA Y           ADDRESS ON FILE
DIAZ BEATO, LHIZZ J           ADDRESS ON FILE
DIAZ BELARDO, HIRAM           ADDRESS ON FILE
DIAZ BELARDO, HIRAM J         ADDRESS ON FILE
DIAZ BELARDO, JOANN J         ADDRESS ON FILE
DIAZ BELGODERE, ANTONIO       ADDRESS ON FILE
Diaz Bello, Brenda Yvette     ADDRESS ON FILE
DIAZ BELLO, ERNESTO J         ADDRESS ON FILE
DIAZ BELTRAN, BLANCA          ADDRESS ON FILE
DIAZ BELTRAN, BLANCA I.       ADDRESS ON FILE
Diaz Beltran, Hector Javier   ADDRESS ON FILE
DIAZ BELTRAN, MYRIAM          ADDRESS ON FILE
DIAZ BELTRAN, SUSANA          ADDRESS ON FILE
DIAZ BENABE, EDGARDO          ADDRESS ON FILE
                                                                                         1353 AVE. LUIS
DÍAZ BENABÉ, EDGARDO          LCDA.YARLENE JIMENEZ ROSARIO   PMB 133                     VIGOREAUX                   GUAYNABO     PR      00966‐2700
DIAZ BENABE, HERMINIO         ADDRESS ON FILE
DIAZ BENIQUEZ, SANDRA         ADDRESS ON FILE
DIAZ BENITEZ, FRANCISCO       ADDRESS ON FILE
DIAZ BENITEZ, GILBERTO        ADDRESS ON FILE
DIAZ BENITEZ, KEILA M.        ADDRESS ON FILE
DIAZ BENITEZ, PEDRO           ADDRESS ON FILE
DIAZ BENJAMIN, YAMIL R        ADDRESS ON FILE
DIAZ BERGNES, MANUEL          ADDRESS ON FILE
DIAZ BERIO, SYLVIA            ADDRESS ON FILE
DIAZ BERMUDEZ, CORALIS        ADDRESS ON FILE
Diaz Bermudez, Felix          ADDRESS ON FILE
DIAZ BERMUDEZ, FELIX          ADDRESS ON FILE
DIAZ BERMUDEZ, FERNANDO       ADDRESS ON FILE
DIAZ BERMUDEZ, GIRAIDA        ADDRESS ON FILE
DIAZ BERMUDEZ, JOSUE          ADDRESS ON FILE
DIAZ BERMUDEZ, KARMARY        ADDRESS ON FILE
Diaz Bermudez, Yomar          ADDRESS ON FILE
DIAZ BERNABE, ORLANDO         ADDRESS ON FILE
DIAZ BERNAND, STEPHANIE J.    ADDRESS ON FILE
DIAZ BERRIOS, ARAMID          ADDRESS ON FILE
DIAZ BERRIOS, ARAMID          ADDRESS ON FILE
DIAZ BERRIOS, CARMEN          ADDRESS ON FILE
DIAZ BERRIOS, CARMEN Z        ADDRESS ON FILE
DIAZ BERRIOS, DORIS E         ADDRESS ON FILE
Diaz Berrios, Eduviges        ADDRESS ON FILE




                                                                          Page 2280 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2281 of 3500
                                                                           17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name               Address1                        Address2                     Address3   Address4   City       State   PostalCode   Country
DIAZ BERRIOS, EUNICE        ADDRESS ON FILE
DIAZ BERRIOS, FRANKIE       ADDRESS ON FILE
DIAZ BERRIOS, GLORYVEE      ADDRESS ON FILE
DIAZ BERRIOS, HENRY         ADDRESS ON FILE
DIAZ BERRIOS, HILDA DEL C   ADDRESS ON FILE
DIAZ BERRIOS, ISAURA        ADDRESS ON FILE
DIAZ BERRIOS, JEANETTE V.   ADDRESS ON FILE
Diaz Berrios, Jose          ADDRESS ON FILE
DIAZ BERRIOS, JOSE          ADDRESS ON FILE
DIAZ BERRIOS, KENDRA        ADDRESS ON FILE
DIAZ BERRIOS, LAURA E       ADDRESS ON FILE
DIAZ BERRIOS, LUZ M         ADDRESS ON FILE
DIAZ BERRIOS, MAISY M       ADDRESS ON FILE
DIAZ BERRIOS, MATILDE       ADDRESS ON FILE
DIAZ BERRIOS, MIRIAN        ADDRESS ON FILE
DIAZ BERRIOS, OLGA I        ADDRESS ON FILE
Diaz Berrios, Rafael        ADDRESS ON FILE
DIAZ BERRIOS, TOMAS         ADDRESS ON FILE
DIAZ BERRIOS, TOMAS         ADDRESS ON FILE
DIAZ BETANCOURT, ANGEL R.   ADDRESS ON FILE
DIAZ BETANCOURT, JOSE R     ADDRESS ON FILE
DIAZ BETANCOURT, WANDA B.   ADDRESS ON FILE
DIAZ BEZARES, LEIDY S.      ADDRESS ON FILE
Diaz Bigio, Gladys          ADDRESS ON FILE
DIAZ BIRRIEL, MARIA DEL C   ADDRESS ON FILE
DIAZ BIRRIEL, NAYRIAM       ADDRESS ON FILE
DIAZ BLANCH, CARLOS A.      ADDRESS ON FILE
DIAZ BLANCH, TERESA M       ADDRESS ON FILE
DIAZ BLANCO, AURELIO        ADDRESS ON FILE
DIAZ BLANCO, FRANCISCO      ADDRESS ON FILE
DIAZ BLANCO, JORGE          ADDRESS ON FILE
DIAZ BLONDET, EDWARD I.     ADDRESS ON FILE
Diaz Boirie, Luis A         ADDRESS ON FILE
DIAZ BOIRIE, WALDEMAR       ADDRESS ON FILE
DIAZ BONANO, NATHALIE       ADDRESS ON FILE
Diaz Bones, Bienvenido      ADDRESS ON FILE
DIAZ BONES, EVELYN          ADDRESS ON FILE
DIAZ BONES, OLGA L          ADDRESS ON FILE
DIAZ BONES, WILLIAM         ADDRESS ON FILE
DIAZ BONET, GLORY E         ADDRESS ON FILE
DIAZ BONILLA, ANA I         ADDRESS ON FILE
DIAZ BONILLA, ANA I         ADDRESS ON FILE
DÍAZ BONILLA, EMMA          LCDA. IVONNE M. GARCÍA TORRES   PO BOX 7608                                        Ponce      PR      00732‐7608
DIAZ BONILLA, EMMA D.       ADDRESS ON FILE
DIAZ BONILLA, GABRIEL A.    ADDRESS ON FILE
DIAZ BONILLA, GERARDO       ADDRESS ON FILE
DIAZ BONILLA, JESSICA       ADDRESS ON FILE
DIAZ BONILLA, JOED          ADDRESS ON FILE
DIAZ BONILLA, MARGARITA     ADDRESS ON FILE
DIAZ BONILLA, MARIA M       ADDRESS ON FILE
DIAZ BONILLA, MIGUEL        ADDRESS ON FILE
DIAZ BONILLA, ORLANDO       ADDRESS ON FILE
DIAZ BORGES, BRAULIO        ADDRESS ON FILE
DIAZ BORGES, JUAN RAMON     ADDRESS ON FILE
DIAZ BORGES, YELIANA        ADDRESS ON FILE
DIAZ BORRAS MD, LYDIA       ADDRESS ON FILE
DIAZ BORRERO, ELIZABETH     ADDRESS ON FILE
DIAZ BORRERO, GLENDA        ADDRESS ON FILE
DIAZ BORRERO, IRIS          ADDRESS ON FILE
DIAZ BORROTO MD, OSCAR R    ADDRESS ON FILE




                                                                          Page 2281 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2282 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ BOULON, ALICIA         ADDRESS ON FILE
DIAZ BRACERO, IVETTE L      ADDRESS ON FILE
DIAZ BRAS, MIGUEL           ADDRESS ON FILE
DIAZ BRAVO, ALBERJOEL       ADDRESS ON FILE
DIAZ BRAVO, DAYSE           ADDRESS ON FILE
DIAZ BRAVO, JUAN            ADDRESS ON FILE
DIAZ BRAVO, JULIO           ADDRESS ON FILE
DIAZ BRAVO, STEPHANIE       ADDRESS ON FILE
Diaz Brenes, Marisol        ADDRESS ON FILE
DIAZ BRETANA, ANTONIA       ADDRESS ON FILE
DIAZ BRUGUERAS, JORGE L.    ADDRESS ON FILE
DIAZ BULTRON, PABLO         ADDRESS ON FILE
DIAZ BURGOS, ADELAIDA       ADDRESS ON FILE
DIAZ BURGOS, ALICIA         ADDRESS ON FILE
DIAZ BURGOS, ANA L          ADDRESS ON FILE
DIAZ BURGOS, ANGEL          ADDRESS ON FILE
DIAZ BURGOS, ANTONIO        ADDRESS ON FILE
DIAZ BURGOS, BRENDALIZ      ADDRESS ON FILE
DIAZ BURGOS, CARLOS         ADDRESS ON FILE
DIAZ BURGOS, DAPHNE         ADDRESS ON FILE
DIAZ BURGOS, EDGARDO        ADDRESS ON FILE
DIAZ BURGOS, EDWARD         ADDRESS ON FILE
DIAZ BURGOS, ERIC           ADDRESS ON FILE
DIAZ BURGOS, FELICITA       ADDRESS ON FILE
DIAZ BURGOS, FLORENCIO      ADDRESS ON FILE
DIAZ BURGOS, IVELISSE       ADDRESS ON FILE
DIAZ BURGOS, JENNY          ADDRESS ON FILE
DIAZ BURGOS, JOHANNA        ADDRESS ON FILE
DIAZ BURGOS, JOSE           ADDRESS ON FILE
DIAZ BURGOS, JOSE ANTONIO   ADDRESS ON FILE
DIAZ BURGOS, LUIS           ADDRESS ON FILE
DIAZ BURGOS, MARIA DE L.    ADDRESS ON FILE
DIAZ BURGOS, MARIA M        ADDRESS ON FILE
DIAZ BURGOS, MARIBEL        ADDRESS ON FILE
DIAZ BURGOS, MARTA R.       ADDRESS ON FILE
DIAZ BURGOS, MIGDALIA       ADDRESS ON FILE
DIAZ BURGOS, MILAGROS       ADDRESS ON FILE
DIAZ BURGOS, NICOLE         ADDRESS ON FILE
DIAZ BURGOS, OCTAVIO        ADDRESS ON FILE
DIAZ BURGOS, ROSALY         ADDRESS ON FILE
DIAZ BURGOS, WALTER         ADDRESS ON FILE
DIAZ BURGOS, WALTER         ADDRESS ON FILE
DIAZ BURGOS, WILFREDO       ADDRESS ON FILE
DIAZ BURGOS, YOLANDA        ADDRESS ON FILE
DIAZ BUSO, YOLANDA          ADDRESS ON FILE
DIAZ BUSQUETS, NOEL         ADDRESS ON FILE
DIAZ BUSTELO, VICTORIA      ADDRESS ON FILE
DIAZ CABAN, ANA             ADDRESS ON FILE
DIAZ CABAN, JAIME           ADDRESS ON FILE
DIAZ CABAN, MIGUEL          ADDRESS ON FILE
DIAZ CABEZA, MARIA D        ADDRESS ON FILE
DIAZ CABEZUDO, LOURDES      ADDRESS ON FILE
DIAZ CABEZUDO, LUIS A       ADDRESS ON FILE
DIAZ CABEZUDO, ROSA A.      ADDRESS ON FILE
DIAZ CABRERA MD, EILEEN     ADDRESS ON FILE
DIAZ CABRERA, ANGEL A       ADDRESS ON FILE
DIAZ CABRERA, ANTONIO G.    ADDRESS ON FILE
DIAZ CABRERA, CARLOS        ADDRESS ON FILE
DIAZ CABRERA, CARMEN I.     ADDRESS ON FILE
DIAZ CABRERA, CLARA         ADDRESS ON FILE




                                                                        Page 2282 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2283 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ CABRERA, CLARA M       ADDRESS ON FILE
DIAZ CABRERA, DANIEL D      ADDRESS ON FILE
DIAZ CABRERA, ELIAS         ADDRESS ON FILE
DIAZ CABRERA, EVA           ADDRESS ON FILE
Diaz Cabrera, Jessica       ADDRESS ON FILE
DIAZ CABRERA, JESSICA       ADDRESS ON FILE
DIAZ CABRERA, JOSE          ADDRESS ON FILE
DIAZ CABRERA, JOSE LUIS     ADDRESS ON FILE
DIAZ CABRERA, JULIO         ADDRESS ON FILE
DIAZ CABRERA, LUZ M         ADDRESS ON FILE
DIAZ CABRERA, MARIA M.      ADDRESS ON FILE
DIAZ CABRERA, MARIA T       ADDRESS ON FILE
DIAZ CABRERA, MARTA         ADDRESS ON FILE
DIAZ CABRERA, REINALDO      ADDRESS ON FILE
Diaz Cabrera, Reinaldo L    ADDRESS ON FILE
DIAZ CABRERA, SOFIA         ADDRESS ON FILE
Diaz Cabrera, Victor M      ADDRESS ON FILE
DIAZ CACERES, CARMEN        ADDRESS ON FILE
DIAZ CACERES, CARMEN I      ADDRESS ON FILE
DIAZ CADIZ, LUIS            ADDRESS ON FILE
DIAZ CADIZ, NICOLE          ADDRESS ON FILE
DIAZ CAEZ, PEDRO            ADDRESS ON FILE
DIAZ CALDERON, ALEIDA       ADDRESS ON FILE
DIAZ CALDERON, CARMEN L.    ADDRESS ON FILE
DIAZ CALDERON, DEBORAH      ADDRESS ON FILE
DIAZ CALDERON, GLORIA       ADDRESS ON FILE
Diaz Calderon, Luis A       ADDRESS ON FILE
DIAZ CALDERON, NOEMI        ADDRESS ON FILE
DIAZ CALDERON, OLGA E.      ADDRESS ON FILE
DIAZ CALDERON, RUTH         ADDRESS ON FILE
DIAZ CALIZ, MARGARITA       ADDRESS ON FILE
DIAZ CALLEJAS, TANIA        ADDRESS ON FILE
DIAZ CALO, CARLOS           ADDRESS ON FILE
DIAZ CALO, KAREN            ADDRESS ON FILE
DIAZ CALO, VIANCA LY        ADDRESS ON FILE
Diaz Calzada, Natanael      ADDRESS ON FILE
DIAZ CAMACHO, AIDA          ADDRESS ON FILE
DIAZ CAMACHO, ANTONIO       ADDRESS ON FILE
Diaz Camacho, Brenda        ADDRESS ON FILE
DIAZ CAMACHO, CARLOS        ADDRESS ON FILE
Diaz Camacho, Carlos S.     ADDRESS ON FILE
DIAZ CAMACHO, GLADYS        ADDRESS ON FILE
DIAZ CAMACHO, ISABEL        ADDRESS ON FILE
DIAZ CAMACHO, JACQUELINE    ADDRESS ON FILE
DIAZ CAMACHO, JACQUELINE    ADDRESS ON FILE
DIAZ CAMACHO, JACQUELINE    ADDRESS ON FILE
DIAZ CAMACHO, JOSE          ADDRESS ON FILE
DIAZ CAMACHO, LAURA         ADDRESS ON FILE
DIAZ CAMACHO, LUIS MANUEL   ADDRESS ON FILE
DIAZ CAMACHO, LUZ I         ADDRESS ON FILE
DIAZ CAMACHO, LYDIA         ADDRESS ON FILE
DIAZ CAMACHO, MARGARITA     ADDRESS ON FILE
DIAZ CAMACHO, MARTIN        ADDRESS ON FILE
DIAZ CAMACHO, MAYRA         ADDRESS ON FILE
DIAZ CAMACHO, MILAGROS      ADDRESS ON FILE
DIAZ CAMACHO, MILAGROS      ADDRESS ON FILE
Diaz Camacho, Xiomara       ADDRESS ON FILE
DIAZ CAMARENO, ANGEL        ADDRESS ON FILE
DIAZ CAMARENO, JINXKY       ADDRESS ON FILE
DIAZ CAMPOS, ANIBAL         ADDRESS ON FILE




                                                                        Page 2283 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2284 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ CAMPOS, ANIBAL             ADDRESS ON FILE
DIAZ CAMPOS, BEANY R.           ADDRESS ON FILE
DIAZ CAMPOS, DULCE              ADDRESS ON FILE
DIAZ CANADILLA, MIREYDA         ADDRESS ON FILE
DIAZ CANALES, ARELIS            ADDRESS ON FILE
DIAZ CANCEL, HAROLD             ADDRESS ON FILE
DIAZ CANCEL, IVETTE M.          ADDRESS ON FILE
DIAZ CANCEL, LIZ Y              ADDRESS ON FILE
DIAZ CANCEL, MARITZA            ADDRESS ON FILE
DIAZ CANCEL, RAFAEL             ADDRESS ON FILE
DIAZ CANDELARIA, JOSE           ADDRESS ON FILE
DIAZ CANDELARIA, JOSE           ADDRESS ON FILE
DIAZ CANDELARIO, MARIA          ADDRESS ON FILE
DIAZ CANDELARIO, ROSE           ADDRESS ON FILE
DIAZ CANO, MARIA J              ADDRESS ON FILE
DIAZ CAPO, CRISTOBAL            ADDRESS ON FILE
DIAZ CARABALLO, ADABELL         ADDRESS ON FILE
DIAZ CARABALLO, ASTRID          ADDRESS ON FILE
DIAZ CARABALLO, CARMEN L        ADDRESS ON FILE
DIAZ CARABALLO, EYRA M          ADDRESS ON FILE
DIAZ CARABALLO, GILBERTO        ADDRESS ON FILE
DIAZ CARABALLO, JULIO           ADDRESS ON FILE
DIAZ CARABALLO, JULIO           ADDRESS ON FILE
DIAZ CARABALLO, LESBIA          ADDRESS ON FILE
DIAZ CARABALLO, LILLIAN I       ADDRESS ON FILE
DIAZ CARABALLO, OSCAR           ADDRESS ON FILE
DIAZ CARABALLO, ROSA DELIA      ADDRESS ON FILE
DIAZ CARATTINI, FRANCISCO       ADDRESS ON FILE
DIAZ CARBALLO, LUIS R           ADDRESS ON FILE
DIAZ CARBOT, VICTOR             ADDRESS ON FILE
DIAZ CARDERON, WANDA I          ADDRESS ON FILE
DIAZ CARDONA, ANA I.            ADDRESS ON FILE
DIAZ CARDONA, DINA              ADDRESS ON FILE
DIAZ CARDONA, DIONEL            ADDRESS ON FILE
DIAZ CARDONA, LUIS A.           ADDRESS ON FILE
DIAZ CARDONA, MARGARET          ADDRESS ON FILE
DIAZ CARDONA, NAYDA M           ADDRESS ON FILE
Diaz Cardona, Noemi             ADDRESS ON FILE
DIAZ CARDONA, PEDRO L           ADDRESS ON FILE
Diaz Cardona, Sergio            ADDRESS ON FILE
DIAZ CARDONA, SOLIMAR           ADDRESS ON FILE
DIAZ CARDONA, SORAYA            ADDRESS ON FILE
DIAZ CARLE, MYRIAM              ADDRESS ON FILE
DIAZ CARLO, RAFAEL              ADDRESS ON FILE
DIAZ CARMONA, FELIX             ADDRESS ON FILE
DIAZ CARMONA, IRMA              ADDRESS ON FILE
DIAZ CARMONA, MARIA DE LOS A.   ADDRESS ON FILE
DIAZ CARO MD, ALFREDO           ADDRESS ON FILE
DIAZ CARO, ALESSANDRA           ADDRESS ON FILE
DIAZ CARO, ALESSANDRA           ADDRESS ON FILE
DIAZ CARRASCO, FELICITA         ADDRESS ON FILE
DIAZ CARRASCO, ROLANDO          ADDRESS ON FILE
DIAZ CARRASQUILLO, CARLOS       ADDRESS ON FILE
DIAZ CARRASQUILLO, CARLOS G.    ADDRESS ON FILE
DIAZ CARRASQUILLO, ERIC         ADDRESS ON FILE
DIAZ CARRASQUILLO, IRIS M.      ADDRESS ON FILE
DIAZ CARRASQUILLO, IVAN         ADDRESS ON FILE
DIAZ CARRASQUILLO, IVETTE       ADDRESS ON FILE
Diaz Carrasquillo, Jorge L      ADDRESS ON FILE
DIAZ CARRASQUILLO, JOSE R.      ADDRESS ON FILE




                                                                            Page 2284 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2285 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Carrasquillo, Josue A     ADDRESS ON FILE
DIAZ CARRASQUILLO, JULIO       ADDRESS ON FILE
DIAZ CARRASQUILLO, LILLIAM     ADDRESS ON FILE
DIAZ CARRASQUILLO, LUZ A       ADDRESS ON FILE
DIAZ CARRASQUILLO, LUZ D       ADDRESS ON FILE
DIAZ CARRASQUILLO, MARIA D     ADDRESS ON FILE
DIAZ CARRASQUILLO, MITZA N.    ADDRESS ON FILE
Diaz Carrasquillo, Nelson      ADDRESS ON FILE
Diaz Carrasquillo, Orlando     ADDRESS ON FILE
DIAZ CARRASQUILLO, ORLANDO     ADDRESS ON FILE
DIAZ CARRASQUILLO, RAFAEL      ADDRESS ON FILE
DIAZ CARRASQUILLO, RUTH B      ADDRESS ON FILE
DIAZ CARRASQUILLO, RUTH B      ADDRESS ON FILE
Diaz Carrasquillo, Yajaira E   ADDRESS ON FILE
DIAZ CARRASQUILLO, YOLANDA     ADDRESS ON FILE
DIAZ CARRERA, DAMARIS          ADDRESS ON FILE
DIAZ CARRERAS, CARLOS          ADDRESS ON FILE
DIAZ CARRERAS, DIANA           ADDRESS ON FILE
Díaz Carreras, Diana           ADDRESS ON FILE
DIAZ CARRERO, ARLENE           ADDRESS ON FILE
DIAZ CARRILLO, CARMEN J        ADDRESS ON FILE
DIAZ CARRILLO, IRIS E.         ADDRESS ON FILE
Diaz Carrillo, Luis            ADDRESS ON FILE
DIAZ CARRION, CARMEN           ADDRESS ON FILE
DIAZ CARRION, LILLIAM          ADDRESS ON FILE
DIAZ CARRION, LINDA            ADDRESS ON FILE
DIAZ CARRION, MARIA A.         ADDRESS ON FILE
DIAZ CARRION, MARIA DE L.      ADDRESS ON FILE
DIAZ CARRION, MARIA DE L.      ADDRESS ON FILE
DIAZ CARRION, WILLIE           ADDRESS ON FILE
DIAZ CARTAGENA, ANA R          ADDRESS ON FILE
DIAZ CARTAGENA, ANGIE          ADDRESS ON FILE
DIAZ CARTAGENA, CARLOS         ADDRESS ON FILE
DIAZ CARTAGENA, CARLOS J       ADDRESS ON FILE
Diaz Cartagena, Carmen I       ADDRESS ON FILE
DIAZ CARTAGENA, FELIX          ADDRESS ON FILE
DIAZ CARTAGENA, FERNANDO       ADDRESS ON FILE
DIAZ CARTAGENA, ILEANA         ADDRESS ON FILE
DIAZ CARTAGENA, IVETTE         ADDRESS ON FILE
DIAZ CARTAGENA, JONATHAN       ADDRESS ON FILE
DIAZ CARTAGENA, LUZ E          ADDRESS ON FILE
DIAZ CARTAGENA, MARIA          ADDRESS ON FILE
DIAZ CARTAGENA, MARIA DEL      ADDRESS ON FILE
DIAZ CARTAGENA, MAYRA          ADDRESS ON FILE
DIAZ CARTAGENA, MILAGROS       ADDRESS ON FILE
DIAZ CARTAGENA, ROBERT A.      ADDRESS ON FILE
Diaz Cartagena, Victor R       ADDRESS ON FILE
DIAZ CASABLANCA, ARIEL         ADDRESS ON FILE
DIAZ CASABLANCA, NESTOR        ADDRESS ON FILE
DIAZ CASADO, MICHAEL           ADDRESS ON FILE
DIAZ CASANAS, MARILU           ADDRESS ON FILE
DIAZ CASANOVA, FERNANDO        ADDRESS ON FILE
DIAZ CASANOVA, MARIA P         ADDRESS ON FILE
DIAZ CASAS, ADALBERTO          ADDRESS ON FILE
DIAZ CASAS, JOMARY             ADDRESS ON FILE
DIAZ CASIANO RAFAEL            FERNANDO SANTIAGO         URB. SAN MARTÍN                  SUITE 17              SAN JUAN     PR      00924‐4586
DIAZ CASIANO, ANA D            ADDRESS ON FILE
Diaz Casiano, Angel D          ADDRESS ON FILE
DIAZ CASIANO, CARMEN L         ADDRESS ON FILE
DIAZ CASIANO, FRANCISCA        ADDRESS ON FILE




                                                                           Page 2285 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2286 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ CASIANO, INOCENCIA    ADDRESS ON FILE
DIAZ CASIANO, JOSE R.      ADDRESS ON FILE
DIAZ CASIANO, LESBIA Z     ADDRESS ON FILE
Diaz Casiano, Rafael       ADDRESS ON FILE
DIAZ CASILLA, SERGIA       ADDRESS ON FILE
DIAZ CASILLAS, ZORAIDA     ADDRESS ON FILE
DIAZ CASTELL, ROSEMARIE    ADDRESS ON FILE
DIAZ CASTILLO, ALEXANDRA   ADDRESS ON FILE
Diaz Castillo, Benjamin    ADDRESS ON FILE
DIAZ CASTILLO, DANIEL      ADDRESS ON FILE
DIAZ CASTILLO, FELIZ       ADDRESS ON FILE
DIAZ CASTILLO, GAYLE       ADDRESS ON FILE
DIAZ CASTILLO, GIOVANNI    ADDRESS ON FILE
DIAZ CASTILLO, HECTOR R.   ADDRESS ON FILE
DIAZ CASTILLO, ISABEL      ADDRESS ON FILE
Diaz Castillo, Jose A      ADDRESS ON FILE
DIAZ CASTILLO, LEGNA Z     ADDRESS ON FILE
DIAZ CASTILLO, LISA Y.     ADDRESS ON FILE
DIAZ CASTILLO, LYDIA       ADDRESS ON FILE
DIAZ CASTILLO, MANUEL      ADDRESS ON FILE
DIAZ CASTILLO, SAMUEL      ADDRESS ON FILE
DIAZ CASTILLO, TRINIDAD    ADDRESS ON FILE
Diaz Castillo, Yazmin L    ADDRESS ON FILE
DIAZ CASTILLO,MELVIN       ADDRESS ON FILE
DIAZ CASTRILLO, JENIXZA    ADDRESS ON FILE
DIAZ CASTRO, ANNETTE       ADDRESS ON FILE
DIAZ CASTRO, ARACELYS      ADDRESS ON FILE
DIAZ CASTRO, BENJAMIN      ADDRESS ON FILE
DIAZ CASTRO, BRENDA        ADDRESS ON FILE
DIAZ CASTRO, BRENDA        ADDRESS ON FILE
DIAZ CASTRO, CARLOS        ADDRESS ON FILE
DIAZ CASTRO, DAINA         ADDRESS ON FILE
DIAZ CASTRO, DARNELL       ADDRESS ON FILE
DIAZ CASTRO, GABRIEL       ADDRESS ON FILE
Diaz Castro, Gamalier      ADDRESS ON FILE
DIAZ CASTRO, GILBERTO      ADDRESS ON FILE
Diaz Castro, Javier A.     ADDRESS ON FILE
DIAZ CASTRO, KANIA         ADDRESS ON FILE
DIAZ CASTRO, LUIS          ADDRESS ON FILE
DIAZ CASTRO, LUZ           ADDRESS ON FILE
DIAZ CASTRO, OMAYRA        ADDRESS ON FILE
DIAZ CASTRO, PABLO         ADDRESS ON FILE
DIAZ CASTRO, TAMARA        ADDRESS ON FILE
DIAZ CASTRO, VILMA V       ADDRESS ON FILE
DIAZ CASTRO, WALESKA       ADDRESS ON FILE
DIAZ CASTRO, YARITZA       ADDRESS ON FILE
Diaz Cautino, Emedin       ADDRESS ON FILE
DIAZ CAUTINO, EMEDIN       ADDRESS ON FILE
DIAZ CAVALLIERY, JANICE    ADDRESS ON FILE
DIAZ CECILIO, YANITZA      ADDRESS ON FILE
DIAZ CENTENO, CLARA        ADDRESS ON FILE
DIAZ CENTENO, FRANCISCO    ADDRESS ON FILE
DIAZ CENTENO, JULIA        ADDRESS ON FILE
DIAZ CENTENO, MARIA D      ADDRESS ON FILE
DIAZ CENTENO, NIKKY M.     ADDRESS ON FILE
DIAZ CENTENO,JOSUE         ADDRESS ON FILE
DIAZ CEPEDA, DALMARIE      ADDRESS ON FILE
DIAZ CEPEDA, IVAN          ADDRESS ON FILE
DIAZ CEPERO, RAQUEL        ADDRESS ON FILE
DIAZ CESAREO, MIRIAM       ADDRESS ON FILE




                                                                       Page 2286 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2287 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ CESTARYS, JOSE E.     ADDRESS ON FILE
DIAZ CHACON, ANA M         ADDRESS ON FILE
DIAZ CHAPARRO, MARIAN      ADDRESS ON FILE
DIAZ CHAPMAN, SANDRA I.    ADDRESS ON FILE
DIAZ CHARLES, RAFAEL E.    ADDRESS ON FILE
DIAZ CHARRIEZ, CESAR M.    ADDRESS ON FILE
DIAZ CHARRIEZ, EDWIN R.    ADDRESS ON FILE
DIAZ CHARRIEZ, EVELYN J    ADDRESS ON FILE
DIAZ CHARRIEZ, RAUL E.     ADDRESS ON FILE
DIAZ CHAVES, GUILLERMO     ADDRESS ON FILE
DIAZ CHAVES, YAZMINE       ADDRESS ON FILE
DIAZ CHEVERE, ANANY        ADDRESS ON FILE
DIAZ CHEVERE, ELISA        ADDRESS ON FILE
DIAZ CHICO, ISMAEL         ADDRESS ON FILE
DIAZ CINTRON, ANA E        ADDRESS ON FILE
DIAZ CINTRON, CARLOS       ADDRESS ON FILE
DIAZ CINTRON, CARLOS E     ADDRESS ON FILE
Diaz Cintron, Carlos R     ADDRESS ON FILE
DIAZ CINTRON, EDWIN L.     ADDRESS ON FILE
DIAZ CINTRON, JORGE        ADDRESS ON FILE
DIAZ CINTRON, JORGE A      ADDRESS ON FILE
DIAZ CINTRON, JOSE         ADDRESS ON FILE
DIAZ CINTRON, LINDA        ADDRESS ON FILE
DIAZ CINTRON, MAICOL       ADDRESS ON FILE
DIAZ CINTRON, MARIA        ADDRESS ON FILE
DIAZ CINTRON, MIGUEL A.    ADDRESS ON FILE
DIAZ CINTRON, QUERUEL      ADDRESS ON FILE
DIAZ CINTRON, SAMUEL       ADDRESS ON FILE
DIAZ CINTRON, VIRGEN S     ADDRESS ON FILE
DIAZ CINTRON, WANDA A      ADDRESS ON FILE
DIAZ CINTRON, WILLIAM      ADDRESS ON FILE
DIAZ CINTRON, YOLANDA I    ADDRESS ON FILE
DIAZ CINTRON, YOLANDA I    ADDRESS ON FILE
DIAZ CIRINO, SHAKIRA       ADDRESS ON FILE
DIAZ CLASS, MANUEL DE      ADDRESS ON FILE
DIAZ CLAUDIO, ALEXANDER    ADDRESS ON FILE
DIAZ CLAUDIO, ANA          ADDRESS ON FILE
DIAZ CLAUDIO, AURELIO      ADDRESS ON FILE
DIAZ CLAUDIO, CANDELARIA   ADDRESS ON FILE
DIAZ CLAUDIO, DAMIAN       ADDRESS ON FILE
Diaz Claudio, Ingrid E     ADDRESS ON FILE
Diaz Claudio, Jose         ADDRESS ON FILE
DIAZ CLAUDIO, JOSE         ADDRESS ON FILE
DIAZ CLAUDIO, KEISHLA      ADDRESS ON FILE
DIAZ CLAUDIO, LUCY         ADDRESS ON FILE
DIAZ CLAUDIO, LUIS         ADDRESS ON FILE
DIAZ CLAUDIO, MARALIS      ADDRESS ON FILE
DIAZ CLAUDIO, MARTA        ADDRESS ON FILE
DIAZ CLAUDIO, NICOLAS      ADDRESS ON FILE
DIAZ CLAUDIO, OLGA G.      ADDRESS ON FILE
DIAZ CLAUDIO, ROBERTO      ADDRESS ON FILE
DIAZ CLAUDIO, ROSITA       ADDRESS ON FILE
DIAZ CLAUDIO, XIOMARA      ADDRESS ON FILE
DIAZ CLAVELL, PEDRO J      ADDRESS ON FILE
DIAZ CLEMENTE, JUAN        ADDRESS ON FILE
DIAZ CLEMENTE, LUZ D       ADDRESS ON FILE
DIAZ COBB, VIVIANA         ADDRESS ON FILE
DIAZ COLLAZO, ALBA         ADDRESS ON FILE
DIAZ COLLAZO, ANGEL L.     ADDRESS ON FILE
DIAZ COLLAZO, CARMEN M     ADDRESS ON FILE




                                                                       Page 2287 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2288 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ COLLAZO, CHRISTIAN    ADDRESS ON FILE
DIAZ COLLAZO, ELIZABETH    ADDRESS ON FILE
DIAZ COLLAZO, EVELYN       ADDRESS ON FILE
DIAZ COLLAZO, HECTOR J.    ADDRESS ON FILE
DIAZ COLLAZO, JOSE         ADDRESS ON FILE
DIAZ COLLAZO, JOSE         ADDRESS ON FILE
DIAZ COLLAZO, JOSE D       ADDRESS ON FILE
DIAZ COLLAZO, JOSE E       ADDRESS ON FILE
DIAZ COLLAZO, JUANA M      ADDRESS ON FILE
DIAZ COLLAZO, LUIS         ADDRESS ON FILE
DIAZ COLLAZO, MILDRED      ADDRESS ON FILE
DIAZ COLLAZO, PURA         ADDRESS ON FILE
Diaz Collazo, Rafael       ADDRESS ON FILE
DIAZ COLLAZO, RAMONA       ADDRESS ON FILE
DIAZ COLLAZO, RAUL         ADDRESS ON FILE
DIAZ COLLAZO, SAMARI       ADDRESS ON FILE
DIAZ COLLAZO, SAMUEL       ADDRESS ON FILE
DIAZ COLLAZO, SANDRA M     ADDRESS ON FILE
DIAZ COLLAZO, WILLIAM      ADDRESS ON FILE
DIAZ COLLAZO, ZULEYKA      ADDRESS ON FILE
DIAZ COLLAZOS, MARIA B     ADDRESS ON FILE
DIAZ COLON MD, ANTONIO M   ADDRESS ON FILE
DIAZ COLON, AIDA           ADDRESS ON FILE
DIAZ COLON, AIXA           ADDRESS ON FILE
DIAZ COLON, ALBA I         ADDRESS ON FILE
Diaz Colon, Alex R         ADDRESS ON FILE
DIAZ COLON, AMANDA         ADDRESS ON FILE
DIAZ COLON, ANA M          ADDRESS ON FILE
DIAZ COLON, ANGEL          ADDRESS ON FILE
DIAZ COLON, ANGEL          ADDRESS ON FILE
DIAZ COLON, ANGEL R        ADDRESS ON FILE
DIAZ COLON, ANIBAL         ADDRESS ON FILE
DIAZ COLON, BERTHA         ADDRESS ON FILE
Diaz Colon, Brunilda       ADDRESS ON FILE
DIAZ COLON, CARLA M.       ADDRESS ON FILE
DIAZ COLON, CARLOS         ADDRESS ON FILE
DIAZ COLON, CARLOS J.      ADDRESS ON FILE
DIAZ COLON, CARMARILYS     ADDRESS ON FILE
DIAZ COLON, CARMEN         ADDRESS ON FILE
DIAZ COLON, CARMEN C       ADDRESS ON FILE
DIAZ COLON, CARMEN D       ADDRESS ON FILE
DIAZ COLON, CARMEN M       ADDRESS ON FILE
Diaz Colon, Domingo        ADDRESS ON FILE
DIAZ COLON, EDDIE H.       ADDRESS ON FILE
DIAZ COLON, EDGARDO        ADDRESS ON FILE
DIAZ COLON, EDGARDO        ADDRESS ON FILE
DIAZ COLON, EDITH          ADDRESS ON FILE
DIAZ COLON, EDUARDO        ADDRESS ON FILE
DIAZ COLON, ELBA N.        ADDRESS ON FILE
Diaz Colon, Emilio         ADDRESS ON FILE
DIAZ COLON, EMILIO         ADDRESS ON FILE
DIAZ COLON, FRANCISCO J    ADDRESS ON FILE
DIAZ COLON, GLADYS         ADDRESS ON FILE
DIAZ COLON, GLADYS M.      ADDRESS ON FILE
DIAZ COLON, GUILLERMO      ADDRESS ON FILE
DIAZ COLON, IBRAHIM        ADDRESS ON FILE
DIAZ COLON, IDALIA         ADDRESS ON FILE
DIAZ COLON, IRMA           ADDRESS ON FILE
DIAZ COLON, JANICE M       ADDRESS ON FILE
DIAZ COLON, JANNETTE       ADDRESS ON FILE




                                                                       Page 2288 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2289 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ COLON, JENNIFFER         ADDRESS ON FILE
DIAZ COLON, JOEL              ADDRESS ON FILE
DIAZ COLON, JORGE             ADDRESS ON FILE
DIAZ COLON, JORGE             ADDRESS ON FILE
DIAZ COLON, JORGE L.          ADDRESS ON FILE
DIAZ COLON, JOSE              ADDRESS ON FILE
DIAZ COLON, JOSE              ADDRESS ON FILE
DIAZ COLON, JOSE              ADDRESS ON FILE
DIAZ COLON, JOSE A.           ADDRESS ON FILE
DIAZ COLON, JOSE M            ADDRESS ON FILE
Diaz Colon, Juan              ADDRESS ON FILE
DIAZ COLON, JUAN              ADDRESS ON FILE
DIAZ COLON, JULIA A           ADDRESS ON FILE
DIAZ COLON, JULIO             ADDRESS ON FILE
DIAZ COLON, KAREN             ADDRESS ON FILE
DIAZ COLON, LETICIA H         ADDRESS ON FILE
DIAZ COLON, LILLIAN           ADDRESS ON FILE
DIAZ COLON, LOURDES E         ADDRESS ON FILE
DIAZ COLON, LUIS              ADDRESS ON FILE
DIAZ COLON, LUIS              ADDRESS ON FILE
DIAZ COLON, LUIS              ADDRESS ON FILE
DIAZ COLON, LUIS A            ADDRESS ON FILE
DIAZ COLON, LUIS A            ADDRESS ON FILE
DIAZ COLON, LUIS A            ADDRESS ON FILE
Diaz Colon, Luis Noel         ADDRESS ON FILE
DIAZ COLON, LUIS ROBERTO      ADDRESS ON FILE
DIAZ COLON, LYDIA E           ADDRESS ON FILE
DIAZ COLON, LYDINES           ADDRESS ON FILE
DIAZ COLON, MARCOS            ADDRESS ON FILE
DIAZ COLON, MARIA C           ADDRESS ON FILE
DIAZ COLON, MARIA DE LOURDE   ADDRESS ON FILE
DIAZ COLON, MARIA M           ADDRESS ON FILE
DIAZ COLON, MARIANGELY        ADDRESS ON FILE
DIAZ COLON, MARIBEL           ADDRESS ON FILE
DIAZ COLON, MIGDALIA          ADDRESS ON FILE
DIAZ COLON, MIGUEL A          ADDRESS ON FILE
DIAZ COLON, NIVIA N           ADDRESS ON FILE
DIAZ COLON, ORLANDO           ADDRESS ON FILE
DIAZ COLON, ORVIL             ADDRESS ON FILE
DIAZ COLON, PEDRO             ADDRESS ON FILE
Diaz Colon, Perseverando      ADDRESS ON FILE
DIAZ COLON, RICHARD           ADDRESS ON FILE
DIAZ COLON, RICHARD A.        ADDRESS ON FILE
DIAZ COLON, ROSA M            ADDRESS ON FILE
DIAZ COLON, SALVADOR          ADDRESS ON FILE
DIAZ COLON, SAMUEL            ADDRESS ON FILE
DIAZ COLON, SANDRA M          ADDRESS ON FILE
DIAZ COLON, SIXTO             ADDRESS ON FILE
Diaz Colon, Sixto A.          ADDRESS ON FILE
DIAZ COLON, SORILUZ           ADDRESS ON FILE
DIAZ COLON, VALENTIN          ADDRESS ON FILE
DIAZ COLON, VERONICA          ADDRESS ON FILE
DIAZ COLON, VICTOR M          ADDRESS ON FILE
DIAZ COLON, WANDA             ADDRESS ON FILE
DIAZ COLON, WANDALY           ADDRESS ON FILE
DIAZ COLON, YARELIS           ADDRESS ON FILE
DIAZ COLON, ZAIDA A           ADDRESS ON FILE
DIAZ COLON,JENNIFER L         ADDRESS ON FILE
DIAZ COLORADO, ANGEL          ADDRESS ON FILE
DIAZ CONCEPCION, AIDA L.      ADDRESS ON FILE




                                                                          Page 2289 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2290 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                             Address1                    Address2                                   Address3            Address4   City         State   PostalCode   Country
DIAZ CONCEPCION, ELBA L                   ADDRESS ON FILE
DIAZ CONCEPCION, JUAN                     ADDRESS ON FILE
DIAZ CONCEPCION, MARIA M                  ADDRESS ON FILE
DIAZ CONCEPCION, MICHAEL E                ADDRESS ON FILE
DIAZ CONCEPCION, MICHAEL E.               ADDRESS ON FILE
DIAZ CONCEPCION, VICTOR                   ADDRESS ON FILE
DIAZ CONDE, AURIELEE                      ADDRESS ON FILE
DIAZ CONDE, GLENDALEE                     ADDRESS ON FILE
DIAZ CONDE, HIRASEMA                      ADDRESS ON FILE
DIAZ CONDE, JOSE                          ADDRESS ON FILE
Diaz Conde, Jose Enrique                  ADDRESS ON FILE
DIAZ CONDE, MARIA DE LOS A                ADDRESS ON FILE
DIAZ CONDE, MARIEN                        ADDRESS ON FILE
DIAZ CONTRERAS, BELEN                     ADDRESS ON FILE
DIAZ CONTRERAS, GLORIA                    ADDRESS ON FILE
DIAZ CONTRERAS, JOSE                      ADDRESS ON FILE
DIAZ CONTRERAS, MARIA DEL P               ADDRESS ON FILE
DIAZ COOPER, KRISTINA LEE                 ADDRESS ON FILE
Diaz Cordero, Heriberto                   ADDRESS ON FILE
DIAZ CORDERO, HILARIO                     ADDRESS ON FILE
DIAZ CORDERO, MARIA I                     ADDRESS ON FILE
DIAZ CORDERO, MONICA                      ADDRESS ON FILE
DIAZ CORREA MD, LEYDA                     ADDRESS ON FILE
DIAZ CORREA MD, LEYDA M                   ADDRESS ON FILE
DIAZ CORREA, AIDA M                       ADDRESS ON FILE
DIAZ CORREA, ANA E                        ADDRESS ON FILE
DIAZ CORREA, CARMEN G.                    ADDRESS ON FILE
DIAZ CORREA, CARMEN M.                    ADDRESS ON FILE
DIAZ CORREA, EDITH                        ADDRESS ON FILE
DIAZ CORREA, ELYSON                       ADDRESS ON FILE
DIAZ CORREA, JAIME                        ADDRESS ON FILE
DIAZ CORREA, JOSE                         ADDRESS ON FILE
DIAZ CORREA, JOSE J.                      ADDRESS ON FILE
DIAZ CORREA, JUANKARLOS                   ADDRESS ON FILE
DIAZ CORREA, LAURA                        ADDRESS ON FILE
DIAZ CORREA, LEYDA                        ADDRESS ON FILE
DIAZ CORREA, MARILIA                      ADDRESS ON FILE
DIAZ CORREA, RAFAEL                       ADDRESS ON FILE
DIAZ CORREA, RAMON L                      ADDRESS ON FILE
DÍAZ CORREA, RAMÓN L.; EMMA N. RAMOS IRLA LCDA ALMA Y. DURAN NIEVES   CONDOMINIO ALTAGRACIA 5‐C                  262 CALLE URUGUAY              SAN JUAN     PR      00917
DIAZ CORRETJER, CARMEN M                  ADDRESS ON FILE
DIAZ CORRETJER, ROCIO                     ADDRESS ON FILE
DIAZ CORRETJER, ROCIO                     ADDRESS ON FILE
DIAZ CORSINO, JYSON A.                    ADDRESS ON FILE
DIAZ CORTES, CLARIBEL                     ADDRESS ON FILE
DIAZ CORTES, DIANA                        ADDRESS ON FILE
DIAZ CORTES, EULALIA                      ADDRESS ON FILE
DIAZ CORTES, FRANCISCO                    ADDRESS ON FILE
DIAZ CORTES, IVELISSE                     ADDRESS ON FILE
DIAZ CORTES, JOSE                         ADDRESS ON FILE
DIAZ CORTES, LAURA                        ADDRESS ON FILE
DIAZ CORTES, LILIANA B                    ADDRESS ON FILE
DIAZ CORTES, LIXBERTO                     ADDRESS ON FILE
DIAZ CORTES, LIXBERTO                     ADDRESS ON FILE
Diaz Cortes, Luis A                       ADDRESS ON FILE
DIAZ CORTES, MARIA                        ADDRESS ON FILE
DIAZ CORTES, MARIBEL                      ADDRESS ON FILE
DIAZ CORTES, NORMA I.                     ADDRESS ON FILE
DIAZ CORTES, ROSIMAR                      ADDRESS ON FILE
DIAZ CORTES, VICTOR                       ADDRESS ON FILE




                                                                                                  Page 2290 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2291 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Cortes, Waldemar           ADDRESS ON FILE
DIAZ CORTEZ, RICARDO            ADDRESS ON FILE
DIAZ CORTEZ, RUFINA             ADDRESS ON FILE
DIAZ CORTEZ, WANDA I            ADDRESS ON FILE
DIAZ CORTIJO, FRANCISCO J.      ADDRESS ON FILE
DIAZ CORTIJO, FRANCISCO J.      ADDRESS ON FILE
DIAZ CORTIJO,FRANCISCO JAVIER   ADDRESS ON FILE
DIAZ CORVALAN, HORACIO          ADDRESS ON FILE
DIAZ CORVALAN, RICARDO          ADDRESS ON FILE
DIAZ COSME, ALEX                ADDRESS ON FILE
DIAZ COSME, JOCELYN             ADDRESS ON FILE
DIAZ COSME, MARILYN             ADDRESS ON FILE
DIAZ COSME, PALOMA G            ADDRESS ON FILE
DIAZ COSME, ROBERTO             ADDRESS ON FILE
DIAZ COSME, ROBERTO             ADDRESS ON FILE
DIAZ COTO, NORKA M              ADDRESS ON FILE
DIAZ COTTO, AIDA L              ADDRESS ON FILE
DIAZ COTTO, ALFREDO             ADDRESS ON FILE
DIAZ COTTO, CARMEN E            ADDRESS ON FILE
DIAZ COTTO, DANITZA             ADDRESS ON FILE
DIAZ COTTO, EMILIO              ADDRESS ON FILE
DIAZ COTTO, ENEIDA              ADDRESS ON FILE
DIAZ COTTO, FERNANDO            ADDRESS ON FILE
DIAZ COTTO, GLADYNIL            ADDRESS ON FILE
DIAZ COTTO, HECTOR              ADDRESS ON FILE
DIAZ COTTO, IRIS Y              ADDRESS ON FILE
DIAZ COTTO, JANINE M            ADDRESS ON FILE
DIAZ COTTO, JOHANNA             ADDRESS ON FILE
DIAZ COTTO, JULIO C.            ADDRESS ON FILE
DIAZ COTTO, LUZ A               ADDRESS ON FILE
DIAZ COTTO, LUZ M.              ADDRESS ON FILE
DIAZ COTTO, LUZ MARIA           ADDRESS ON FILE
DIAZ COTTO, MAGDA               ADDRESS ON FILE
DIAZ COTTO, MARIA DEL C         ADDRESS ON FILE
DIAZ COTTO, MATILDE             ADDRESS ON FILE
DIAZ COTTO, MAYRA               ADDRESS ON FILE
DIAZ COTTO, MIGUEL A.           ADDRESS ON FILE
DIAZ COTTO, REBECCA             ADDRESS ON FILE
DIAZ COTTO, ROSA                ADDRESS ON FILE
DIAZ COUVERTIER, FRANCISCO      ADDRESS ON FILE
DIAZ CRESPI, LUIS               ADDRESS ON FILE
DIAZ CRESPI, ZORIBEL            ADDRESS ON FILE
DIAZ CRESPO, AIXA N             ADDRESS ON FILE
DIAZ CRESPO, FRANCES J          ADDRESS ON FILE
DIAZ CRESPO, LISSETTE           ADDRESS ON FILE
DIAZ CRESPO, SONOLI A           ADDRESS ON FILE
DIAZ CRISPIN, CARMEN Y          ADDRESS ON FILE
Diaz Crispin, Diana Z           ADDRESS ON FILE
DIAZ CRUA, CARMEN               ADDRESS ON FILE
DIAZ CRUZ MD, MILDRED           ADDRESS ON FILE
DIAZ CRUZ, ABIGAIL              ADDRESS ON FILE
DIAZ CRUZ, ABRAHAM              ADDRESS ON FILE
DIAZ CRUZ, ADIANA P             ADDRESS ON FILE
DIAZ CRUZ, ADILEN J             ADDRESS ON FILE
DIAZ CRUZ, AIDA L               ADDRESS ON FILE
DIAZ CRUZ, AIXA                 ADDRESS ON FILE
DIAZ CRUZ, ALICIA               ADDRESS ON FILE
DIAZ CRUZ, ANA                  ADDRESS ON FILE
DIAZ CRUZ, ANGEL                ADDRESS ON FILE
DIAZ CRUZ, ANTHONY              ADDRESS ON FILE




                                                                            Page 2291 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 2292 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ CRUZ, AWILDA        ADDRESS ON FILE
DIAZ CRUZ, AXEL          ADDRESS ON FILE
DIAZ CRUZ, BRAINES       ADDRESS ON FILE
DIAZ CRUZ, CARMEN        ADDRESS ON FILE
DIAZ CRUZ, CARMEN D      ADDRESS ON FILE
DIAZ CRUZ, CARMEN L      ADDRESS ON FILE
DIAZ CRUZ, CAROL Y       ADDRESS ON FILE
DIAZ CRUZ, CESAR A       ADDRESS ON FILE
Diaz Cruz, Charinet      ADDRESS ON FILE
DIAZ CRUZ, CHRISTOPHER   ADDRESS ON FILE
DIAZ CRUZ, CINTHIA       ADDRESS ON FILE
DIAZ CRUZ, CRISTINA      ADDRESS ON FILE
DIAZ CRUZ, CYNTHIA       ADDRESS ON FILE
DIAZ CRUZ, DAMARIS       ADDRESS ON FILE
DIAZ CRUZ, DAMARIS       ADDRESS ON FILE
DIAZ CRUZ, DAMARIS       ADDRESS ON FILE
DIAZ CRUZ, DANNIES       ADDRESS ON FILE
DIAZ CRUZ, DIANA T       ADDRESS ON FILE
DIAZ CRUZ, DICKSON F     ADDRESS ON FILE
DIAZ CRUZ, EDGARDO       ADDRESS ON FILE
DIAZ CRUZ, EDMARI        ADDRESS ON FILE
DIAZ CRUZ, EDWIN         ADDRESS ON FILE
DIAZ CRUZ, EFRAIN        ADDRESS ON FILE
DIAZ CRUZ, ELBA N.       ADDRESS ON FILE
DIAZ CRUZ, ELBA N.       ADDRESS ON FILE
DIAZ CRUZ, ELMER         ADDRESS ON FILE
DIAZ CRUZ, ELVIN         ADDRESS ON FILE
DIAZ CRUZ, EMMANUEL      ADDRESS ON FILE
DIAZ CRUZ, ENID YADIRA   ADDRESS ON FILE
Diaz Cruz, Enoc          ADDRESS ON FILE
DIAZ CRUZ, FELIX         ADDRESS ON FILE
DIAZ CRUZ, FRANCISCO     ADDRESS ON FILE
DIAZ CRUZ, FRANCISCO     ADDRESS ON FILE
DIAZ CRUZ, HARRY         ADDRESS ON FILE
DIAZ CRUZ, ISIDORO       ADDRESS ON FILE
DIAZ CRUZ, ISMAEL        ADDRESS ON FILE
DIAZ CRUZ, JAIME         ADDRESS ON FILE
DIAZ CRUZ, JAZMIN        ADDRESS ON FILE
DIAZ CRUZ, JEANNETTE     ADDRESS ON FILE
DIAZ CRUZ, JESUS         ADDRESS ON FILE
Diaz Cruz, Jesus S.      ADDRESS ON FILE
DIAZ CRUZ, JOAQUIN B     ADDRESS ON FILE
DIAZ CRUZ, JOSE          ADDRESS ON FILE
DIAZ CRUZ, JOSE          ADDRESS ON FILE
DIAZ CRUZ, JOSE          ADDRESS ON FILE
Diaz Cruz, Jose A        ADDRESS ON FILE
DIAZ CRUZ, JOSE A        ADDRESS ON FILE
DIAZ CRUZ, JOSE JAVIER   ADDRESS ON FILE
DIAZ CRUZ, JOSE JAVIER   ADDRESS ON FILE
DIAZ CRUZ, JUAN          ADDRESS ON FILE
DIAZ CRUZ, KEILA L.      ADDRESS ON FILE
DIAZ CRUZ, KENNETH       ADDRESS ON FILE
DIAZ CRUZ, LAZARO        ADDRESS ON FILE
DIAZ CRUZ, LESLIE        ADDRESS ON FILE
DIAZ CRUZ, LILLIAN L.    ADDRESS ON FILE
DIAZ CRUZ, LIZA          ADDRESS ON FILE
Diaz Cruz, Liza M.       ADDRESS ON FILE
Diaz Cruz, Luis          ADDRESS ON FILE
DIAZ CRUZ, LUIS ANGEL    ADDRESS ON FILE
DIAZ CRUZ, LUIS D.       ADDRESS ON FILE




                                                                     Page 2292 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2293 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ CRUZ, LUIS D.           ADDRESS ON FILE
DIAZ CRUZ, LUIS F.           ADDRESS ON FILE
DIAZ CRUZ, LUIS X.           ADDRESS ON FILE
DIAZ CRUZ, MARCELINA         ADDRESS ON FILE
DIAZ CRUZ, MARCO A           ADDRESS ON FILE
DIAZ CRUZ, MARGARITA         ADDRESS ON FILE
DIAZ CRUZ, MARIANGELIS       ADDRESS ON FILE
DIAZ CRUZ, MARILYN           ADDRESS ON FILE
DIAZ CRUZ, MARISOL           ADDRESS ON FILE
DIAZ CRUZ, MIGUEL            ADDRESS ON FILE
Diaz Cruz, Nestor A          ADDRESS ON FILE
DIAZ CRUZ, NEYRA             ADDRESS ON FILE
DIAZ CRUZ, NORMA             ADDRESS ON FILE
DIAZ CRUZ, NORMA             ADDRESS ON FILE
DIAZ CRUZ, NYDIA             ADDRESS ON FILE
DIAZ CRUZ, OLVIN             ADDRESS ON FILE
DIAZ CRUZ, OSCAR A.          ADDRESS ON FILE
DIAZ CRUZ, RAMON             ADDRESS ON FILE
DIAZ CRUZ, RAMON L           ADDRESS ON FILE
DIAZ CRUZ, RICARDO           ADDRESS ON FILE
DIAZ CRUZ, RONNY             ADDRESS ON FILE
DIAZ CRUZ, RUXELISSE         ADDRESS ON FILE
DIAZ CRUZ, RUXELISSE         ADDRESS ON FILE
DIAZ CRUZ, SANDRA            ADDRESS ON FILE
DIAZ CRUZ, SARA              ADDRESS ON FILE
DIAZ CRUZ, SHEILA            ADDRESS ON FILE
DIAZ CRUZ, SHEILA            ADDRESS ON FILE
DIAZ CRUZ, TIESH E           ADDRESS ON FILE
DIAZ CRUZ, VELVETTE          ADDRESS ON FILE
DIAZ CRUZ, VELVETTE          ADDRESS ON FILE
DIAZ CRUZ, VICTOR            ADDRESS ON FILE
DIAZ CRUZ, VICTOR            ADDRESS ON FILE
DIAZ CRUZ, VICTOR M          ADDRESS ON FILE
DIAZ CRUZ, VICTORIA          ADDRESS ON FILE
DIAZ CRUZ, WANDA I.          ADDRESS ON FILE
DIAZ CRUZ, WIHELMA           ADDRESS ON FILE
DIAZ CRUZ, ZENIA             ADDRESS ON FILE
DIAZ CRUZ, ZENIA E.          ADDRESS ON FILE
DIAZ CRUZ, ZOELIZ            ADDRESS ON FILE
DIAZ CRUZ, ZOILO J           ADDRESS ON FILE
DIAZ CRUZADO, DAVID          ADDRESS ON FILE
Diaz Cruzado, Luis A         ADDRESS ON FILE
DIAZ CUADRADO, JUAN CARLOS   ADDRESS ON FILE
DIAZ CUADRO, GERIL M         ADDRESS ON FILE
DIAZ CUASCUT, MAYDA          ADDRESS ON FILE
DIAZ CUBANO, ZAIDA           ADDRESS ON FILE
DIAZ CUELLAS, DALILO         ADDRESS ON FILE
DIAZ CUELLO, WANDA L         ADDRESS ON FILE
DIAZ CUESTA, JANELLYS        ADDRESS ON FILE
DIAZ CUETO, JUAN             ADDRESS ON FILE
DIAZ CUEVAS, JESUS           ADDRESS ON FILE
DIAZ CUEVAS, JOSE            ADDRESS ON FILE
DIAZ CUEVAS, LUIS            ADDRESS ON FILE
DIAZ CUEVAS, VICTORIA        ADDRESS ON FILE
DIAZ CURBELO, RAFAEL A.      ADDRESS ON FILE
DIAZ CURBELO, VANESSA E      ADDRESS ON FILE
DIAZ DARDEN, JOEL            ADDRESS ON FILE
DIAZ DARDER, IVELISSE        ADDRESS ON FILE
Diaz David, Angel R          ADDRESS ON FILE
DIAZ DAVID, EVELYN           ADDRESS ON FILE




                                                                         Page 2293 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2294 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DAVID, JANETTE          ADDRESS ON FILE
DIAZ DAVILA, ADALBERTO       ADDRESS ON FILE
Diaz Davila, Aixa M          ADDRESS ON FILE
Diaz Davila, Angel L         ADDRESS ON FILE
DIAZ DAVILA, CARMEN          ADDRESS ON FILE
DIAZ DAVILA, DULMARIE        ADDRESS ON FILE
DIAZ DAVILA, EVELYN          ADDRESS ON FILE
Diaz Davila, Gerardo         ADDRESS ON FILE
DIAZ DAVILA, HERNAN G.       ADDRESS ON FILE
DIAZ DAVILA, IVETTE          ADDRESS ON FILE
DIAZ DAVILA, JOSE M          ADDRESS ON FILE
DIAZ DAVILA, JOSE M          ADDRESS ON FILE
DIAZ DAVILA, KEILA           ADDRESS ON FILE
DIAZ DAVILA, LYANNE YELISA   ADDRESS ON FILE
DIAZ DAVILA, LYDIA E         ADDRESS ON FILE
DIAZ DAVILA, MARIA           ADDRESS ON FILE
Diaz Davila, Maria Del C     ADDRESS ON FILE
DIAZ DAVILA, MARIA M.        ADDRESS ON FILE
DIAZ DAVILA, MIGUEL          ADDRESS ON FILE
DIAZ DAVILA, OSCAR           ADDRESS ON FILE
DIAZ DAVILA, PEDRO           ADDRESS ON FILE
DIAZ DAVILA, RAMON           ADDRESS ON FILE
DIAZ DAVILA, RICHARD         ADDRESS ON FILE
DIAZ DAVILA, SANDRA          ADDRESS ON FILE
DIAZ DAVILA, TOMAS           ADDRESS ON FILE
DIAZ DE ALBA, FERNANDO J     ADDRESS ON FILE
DIAZ DE ALBA, JOSE           ADDRESS ON FILE
Diaz De Alba, Jose O.        ADDRESS ON FILE
DIAZ DE CASTRO, JOSE A       ADDRESS ON FILE
DIAZ DE CASTRO, ROSARIO      ADDRESS ON FILE
DIAZ DE DIAZ, SANTOS         ADDRESS ON FILE
DIAZ DE FELICIANO, NILDA     ADDRESS ON FILE
DIAZ DE GERENA, MARIA V      ADDRESS ON FILE
DIAZ DE HOSTOS, CARLOS       ADDRESS ON FILE
DIAZ DE HOSTOS, HIMILCE      ADDRESS ON FILE
Diaz De Jesus, Agripino      ADDRESS ON FILE
DIAZ DE JESUS, ANGELA        ADDRESS ON FILE
DIAZ DE JESUS, ANGELA G      ADDRESS ON FILE
DIAZ DE JESUS, CARLOS        ADDRESS ON FILE
DIAZ DE JESUS, CARLOS        ADDRESS ON FILE
DIAZ DE JESUS, CESAR A       ADDRESS ON FILE
DIAZ DE JESUS, DAMARIS       ADDRESS ON FILE
DIAZ DE JESUS, DAMARIS       ADDRESS ON FILE
DIAZ DE JESUS, DANIEL        ADDRESS ON FILE
DIAZ DE JESUS, DANIEL        ADDRESS ON FILE
DIAZ DE JESUS, DESIREE       ADDRESS ON FILE
DIAZ DE JESUS, DIAZNETTE     ADDRESS ON FILE
DIAZ DE JESUS, EDNA          ADDRESS ON FILE
DIAZ DE JESUS, EDNA I.       ADDRESS ON FILE
DIAZ DE JESUS, EDNA I.       ADDRESS ON FILE
DIAZ DE JESUS, EMILY         ADDRESS ON FILE
Diaz De Jesus, Fernando      ADDRESS ON FILE
DIAZ DE JESUS, FERNANDO      ADDRESS ON FILE
DIAZ DE JESUS, FRANK         ADDRESS ON FILE
DIAZ DE JESUS, GLADYS        ADDRESS ON FILE
DIAZ DE JESUS, GLADYS        ADDRESS ON FILE
DIAZ DE JESUS, GLENDA L      ADDRESS ON FILE
DIAZ DE JESUS, GRACIELA      ADDRESS ON FILE
DIAZ DE JESUS, HECTOR        ADDRESS ON FILE
Diaz De Jesus, Heriberto     ADDRESS ON FILE




                                                                         Page 2294 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2295 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DE JESUS, HILDAEL     ADDRESS ON FILE
DIAZ DE JESUS, HIPOLITO    ADDRESS ON FILE
DIAZ DE JESUS, JANET       ADDRESS ON FILE
DIAZ DE JESUS, JARELYS     ADDRESS ON FILE
DIAZ DE JESUS, JOSE E      ADDRESS ON FILE
DIAZ DE JESUS, JOSE I      ADDRESS ON FILE
DIAZ DE JESUS, LEONCIO     ADDRESS ON FILE
DIAZ DE JESUS, LEONIDAS    ADDRESS ON FILE
DIAZ DE JESUS, LUIS        ADDRESS ON FILE
DIAZ DE JESUS, LUIS E      ADDRESS ON FILE
DIAZ DE JESUS, LUIS J.     ADDRESS ON FILE
DIAZ DE JESUS, LUZ         ADDRESS ON FILE
DIAZ DE JESUS, LUZ E       ADDRESS ON FILE
DIAZ DE JESUS, LUZWALTY    ADDRESS ON FILE
DIAZ DE JESUS, LYDIA       ADDRESS ON FILE
Diaz De Jesus, Manuel R    ADDRESS ON FILE
Diaz De Jesus, Marena      ADDRESS ON FILE
DIAZ DE JESUS, MARGARITA   ADDRESS ON FILE
DIAZ DE JESUS, MARIA T     ADDRESS ON FILE
DIAZ DE JESUS, MARISOL     ADDRESS ON FILE
DIAZ DE JESUS, MELBA I     ADDRESS ON FILE
DIAZ DE JESUS, MIGUEL      ADDRESS ON FILE
DIAZ DE JESUS, MIGUEL      ADDRESS ON FILE
DIAZ DE JESUS, MIRNA       ADDRESS ON FILE
DIAZ DE JESUS, NELSON      ADDRESS ON FILE
DIAZ DE JESUS, OLGA I      ADDRESS ON FILE
DIAZ DE JESUS, RAFAEL      ADDRESS ON FILE
Diaz De Jesus, Rafael E    ADDRESS ON FILE
DIAZ DE JESUS, ROSSELIN    ADDRESS ON FILE
DIAZ DE JESUS, TOMASA      ADDRESS ON FILE
DIAZ DE JESUS, YARELYS     ADDRESS ON FILE
DIAZ DE JESUS, YARIEL      ADDRESS ON FILE
DIAZ DE JESUS, YARITZA     ADDRESS ON FILE
DIAZ DE JESUS, YOLANDA     ADDRESS ON FILE
DIAZ DE JESUS, YOLANDA     ADDRESS ON FILE
DIAZ DE JESUS,SARINOEMI    ADDRESS ON FILE
DIAZ DE LA CRUZ, RUBEN     ADDRESS ON FILE
DIAZ DE LA PAZ, GEREMIAS   ADDRESS ON FILE
DIAZ DE LA ROSA, ERIC A.   ADDRESS ON FILE
DIAZ DE LA ROSA, ERIC J    ADDRESS ON FILE
DIAZ DE LA ROSA, OMAR A.   ADDRESS ON FILE
DIAZ DE LEON, ADOLFO       ADDRESS ON FILE
DIAZ DE LEON, AILEEN J.    ADDRESS ON FILE
DIAZ DE LEON, ANGEL G      ADDRESS ON FILE
DIAZ DE LEON, CARMEN       ADDRESS ON FILE
DIAZ DE LEON, FELICITA     ADDRESS ON FILE
DIAZ DE LEON, FRANCISCO    ADDRESS ON FILE
DIAZ DE LEON, INES         ADDRESS ON FILE
DIAZ DE LEON, IRIS         ADDRESS ON FILE
DIAZ DE LEON, JAVIER       ADDRESS ON FILE
DIAZ DE LEON, JUAN         ADDRESS ON FILE
DIAZ DE LEON, JUAN C       ADDRESS ON FILE
DIAZ DE LEON, LUIS E.      ADDRESS ON FILE
DIAZ DE LEON, MARIA T      ADDRESS ON FILE
DIAZ DE LEON, MARIE L.     ADDRESS ON FILE
Diaz De Leon, Orlando      ADDRESS ON FILE
Diaz De Leon, Ruben        ADDRESS ON FILE
DIAZ DE LEON, TANIA        ADDRESS ON FILE
DIAZ DE LEON, WILLIAM      ADDRESS ON FILE
Diaz De Leon, Zulma I.     ADDRESS ON FILE




                                                                       Page 2295 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2296 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DE LOPEZ, FRANCISCA             ADDRESS ON FILE
DIAZ DE LOPEZ, YOLANDA               ADDRESS ON FILE
DIAZ DE ORTIZ, MARGARITA             ADDRESS ON FILE
DIAZ DE ORTIZ, MARITZA H             ADDRESS ON FILE
DIAZ DE PELLOT, ROSARIO              ADDRESS ON FILE
DIAZ DE REDONDO, HILDA L             ADDRESS ON FILE
DIAZ DE ROSARIO, ISABEL              ADDRESS ON FILE
DIAZ DE RUBERO, JESUSA               ADDRESS ON FILE
DIAZ DE TORRES, NOEMI                ADDRESS ON FILE
Diaz De Velazquez, Mercedes          ADDRESS ON FILE
DIAZ DE, NANCY B.                    ADDRESS ON FILE
DIAZ DEBIEN, JULIO                   ADDRESS ON FILE
DIAZ DEBIEN, MARIPROVI               ADDRESS ON FILE
DIAZ DECLET, MARCELINO               ADDRESS ON FILE
DIAZ DEL CAMPO MD, SANTIAGO          ADDRESS ON FILE
DIAZ DEL CASTILLO GUERRERO, PIEDAD   ADDRESS ON FILE
DIAZ DEL LLANO, BEATRIZ              ADDRESS ON FILE
DIAZ DEL TORO, GUSTAVO               ADDRESS ON FILE
DIAZ DEL TORO, XIOMARA               ADDRESS ON FILE
DIAZ DEL VALLE MD, EDUARDO           ADDRESS ON FILE
DÍAZ DEL VALLE, ANGEL L.             MARIA DIAZ DEL VALLE      PO BOX 3134                                            CAROLINA     PR      00984
DIAZ DEL VALLE, DORKA M.             ADDRESS ON FILE
DIAZ DEL VALLE, FELIX                ADDRESS ON FILE
DIAZ DEL VALLE, IRIS N               ADDRESS ON FILE
DIAZ DEL VALLE, JOSE                 ADDRESS ON FILE
DIAZ DEL VALLE, JULISSA              ADDRESS ON FILE
DIAZ DEL VALLE, LUZ M                ADDRESS ON FILE
DIAZ DEL VALLE, MARIANNE             ADDRESS ON FILE
DIAZ DEL VALLE, NOEL J               ADDRESS ON FILE
DIAZ DEL VALLE, ROBERTO J.           ADDRESS ON FILE
DIAZ DELGADO HERMANOS INC            PO BOX 140446                                                                    ARECIBO      PR      00614‐0446
DIAZ DELGADO MD, FELIPE              ADDRESS ON FILE
DIAZ DELGADO NERY, ANN               ADDRESS ON FILE
DIAZ DELGADO, ADELAIDA               ADDRESS ON FILE
DIAZ DELGADO, ADELAIDA               ADDRESS ON FILE
Diaz Delgado, Angel L                ADDRESS ON FILE
Diaz Delgado, Betsaida               ADDRESS ON FILE
DIAZ DELGADO, BETZAIDA Y.            ADDRESS ON FILE
DIAZ DELGADO, CARMEN M               ADDRESS ON FILE
Diaz Delgado, Clemente               ADDRESS ON FILE
DIAZ DELGADO, DELIRIS                ADDRESS ON FILE
DIAZ DELGADO, DOLORES                ADDRESS ON FILE
DIAZ DELGADO, DORIS                  ADDRESS ON FILE
DIAZ DELGADO, EMANUEL                ADDRESS ON FILE
DIAZ DELGADO, ESTHER J               ADDRESS ON FILE
DIAZ DELGADO, GLORIA A               ADDRESS ON FILE
DIAZ DELGADO, HECTOR G.              ADDRESS ON FILE
DIAZ DELGADO, ILKA H.                ADDRESS ON FILE
DIAZ DELGADO, IRMA I                 ADDRESS ON FILE
DIAZ DELGADO, ISABEL                 ADDRESS ON FILE
Diaz Delgado, Israel                 ADDRESS ON FILE
DIAZ DELGADO, IVANSKA                ADDRESS ON FILE
DIAZ DELGADO, IVANSKA                ADDRESS ON FILE
DIAZ DELGADO, IVETTE                 ADDRESS ON FILE
DIAZ DELGADO, JESUS                  ADDRESS ON FILE
DIAZ DELGADO, JOSE                   ADDRESS ON FILE
DIAZ DELGADO, KRISTIE M              ADDRESS ON FILE
DIAZ DELGADO, LEOMARY                ADDRESS ON FILE
DIAZ DELGADO, LISANDRA               ADDRESS ON FILE
DIAZ DELGADO, LUIS                   ADDRESS ON FILE




                                                                                 Page 2296 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2297 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DELGADO, MARCOS R          ADDRESS ON FILE
Diaz Delgado, Maria Magdalena   ADDRESS ON FILE
DIAZ DELGADO, MARINA            ADDRESS ON FILE
DIAZ DELGADO, MARLENE           ADDRESS ON FILE
DIAZ DELGADO, MARTA ELBA        ADDRESS ON FILE
DIAZ DELGADO, MAXIMINO          ADDRESS ON FILE
DIAZ DELGADO, MAYRA             ADDRESS ON FILE
DIAZ DELGADO, MAYRA I           ADDRESS ON FILE
DIAZ DELGADO, MELBA             ADDRESS ON FILE
DIAZ DELGADO, MELISSA           ADDRESS ON FILE
DIAZ DELGADO, NAYDA             ADDRESS ON FILE
DIAZ DELGADO, NITZA I           ADDRESS ON FILE
DIAZ DELGADO, NYDIA             ADDRESS ON FILE
DIAZ DELGADO, OSCAR             ADDRESS ON FILE
DIAZ DELGADO, PAULA             ADDRESS ON FILE
Diaz Delgado, Rafael            ADDRESS ON FILE
DIAZ DELGADO, RAFAEL B          ADDRESS ON FILE
Diaz Delgado, Reinaldo          ADDRESS ON FILE
DIAZ DELGADO, ROSA M            ADDRESS ON FILE
DIAZ DELGADO, RUBEN             ADDRESS ON FILE
DIAZ DELGADO, SABRINA           ADDRESS ON FILE
DIAZ DELGADO, SYLVIA            ADDRESS ON FILE
DIAZ DELGADO, SYLVIA            ADDRESS ON FILE
DIAZ DELGADO, YARITZA           ADDRESS ON FILE
DIAZ DELGADO, YOLANDA           ADDRESS ON FILE
DIAZ DELGADO, ZORAIDA           ADDRESS ON FILE
DIAZ DELGAOD, VIVIANA           ADDRESS ON FILE
Diaz Denis, Cesar               ADDRESS ON FILE
Diaz Denis, Israel              ADDRESS ON FILE
Diaz Denis, Samuel              ADDRESS ON FILE
DIAZ DENIS, SAMUEL              ADDRESS ON FILE
DIAZ DEYNES, SONIA I            ADDRESS ON FILE
DIAZ DIAZ MD, CANDIDO           ADDRESS ON FILE
DIAZ DIAZ MD, HENRY             ADDRESS ON FILE
DIAZ DIAZ MD, RITA M            ADDRESS ON FILE
Diaz Diaz, Abelardo M           ADDRESS ON FILE
Diaz Diaz, Abigail              ADDRESS ON FILE
DIAZ DIAZ, ADA                  ADDRESS ON FILE
DIAZ DIAZ, AIDA I               ADDRESS ON FILE
DIAZ DIAZ, AIDA L               ADDRESS ON FILE
DIAZ DIAZ, AIXA                 ADDRESS ON FILE
DIAZ DIAZ, AIXA                 ADDRESS ON FILE
DIAZ DIAZ, ALEX                 ADDRESS ON FILE
DIAZ DIAZ, ALFREDO              ADDRESS ON FILE
DIAZ DIAZ, ALMA                 ADDRESS ON FILE
DIAZ DIAZ, AMARILIS             ADDRESS ON FILE
DIAZ DIAZ, AMERICA S            ADDRESS ON FILE
DIAZ DIAZ, ANGEL                ADDRESS ON FILE
DIAZ DIAZ, ANGEL                ADDRESS ON FILE
DIAZ DIAZ, ANGEL                ADDRESS ON FILE
Diaz Diaz, Angel A              ADDRESS ON FILE
DIAZ DIAZ, ANGEL G              ADDRESS ON FILE
DIAZ DIAZ, ANGEL M              ADDRESS ON FILE
DIAZ DIAZ, ANTONY               ADDRESS ON FILE
DIAZ DIAZ, ANTONY               ADDRESS ON FILE
DIAZ DIAZ, ARTURO               ADDRESS ON FILE
DIAZ DIAZ, BERNARDO             ADDRESS ON FILE
DIAZ DIAZ, BETTY                ADDRESS ON FILE
DIAZ DIAZ, BETTY                ADDRESS ON FILE
DIAZ DIAZ, BLANCA Z .           ADDRESS ON FILE




                                                                            Page 2297 of 10031
                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                           The Commonwealth of Puerto Rico
                                                                                                                   Desc:
                                        Exhibit A-1 - Creditor     Matrix
                                                             Case No.              Page 2298 of 3500
                                                                      17 BK 3283‐LTS
                                                                     Creditor Matrix

Creditor Name          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DIAZ, BRENDA      ADDRESS ON FILE
DIAZ DIAZ, BRUNO       ADDRESS ON FILE
DIAZ DIAZ, BRUNO       ADDRESS ON FILE
DIAZ DIAZ, CANDIDO     ADDRESS ON FILE
DIAZ DIAZ, CARLOS      ADDRESS ON FILE
Diaz Diaz, Carlos J    ADDRESS ON FILE
DIAZ DIAZ, CARMEN      ADDRESS ON FILE
DIAZ DIAZ, CARMEN      ADDRESS ON FILE
DIAZ DIAZ, CARMEN D    ADDRESS ON FILE
DIAZ DIAZ, CARMEN G    ADDRESS ON FILE
DIAZ DIAZ, CARMEN J    ADDRESS ON FILE
DIAZ DIAZ, CARMEN L    ADDRESS ON FILE
DIAZ DIAZ, CARMEN M    ADDRESS ON FILE
DIAZ DIAZ, CARMEN S    ADDRESS ON FILE
DIAZ DIAZ, CINTIA M    ADDRESS ON FILE
DIAZ DIAZ, DAMARIS     ADDRESS ON FILE
Diaz Diaz, Daniel      ADDRESS ON FILE
DIAZ DIAZ, DAVID       ADDRESS ON FILE
DIAZ DIAZ, DORIS E.    ADDRESS ON FILE
DIAZ DIAZ, EDDIE       ADDRESS ON FILE
DIAZ DIAZ, EDGAR       ADDRESS ON FILE
DIAZ DIAZ, EDWIN       ADDRESS ON FILE
DIAZ DIAZ, EFRAIN      ADDRESS ON FILE
Diaz Diaz, Eliezer     ADDRESS ON FILE
DIAZ DIAZ, ELIZABETH   ADDRESS ON FILE
DIAZ DIAZ, ELMER       ADDRESS ON FILE
DIAZ DIAZ, ELVA L      ADDRESS ON FILE
DIAZ DIAZ, EMMANUEL    ADDRESS ON FILE
DIAZ DIAZ, EMMANUEL    ADDRESS ON FILE
Diaz Diaz, Esteban     ADDRESS ON FILE
DIAZ DIAZ, EUSEBIA     ADDRESS ON FILE
DIAZ DIAZ, EVELYN      ADDRESS ON FILE
DIAZ DIAZ, EVELYN      ADDRESS ON FILE
Diaz Diaz, Felix D     ADDRESS ON FILE
Diaz Diaz, Ferdinand   ADDRESS ON FILE
DIAZ DIAZ, FERDINAND   ADDRESS ON FILE
DIAZ DIAZ, FERNANDO    ADDRESS ON FILE
DIAZ DIAZ, FLORENCIO   ADDRESS ON FILE
DIAZ DIAZ, FLORENCIO   ADDRESS ON FILE
DIAZ DIAZ, GERSON      ADDRESS ON FILE
DIAZ DIAZ, GIL J       ADDRESS ON FILE
DIAZ DIAZ, GILBERTO    ADDRESS ON FILE
DIAZ DIAZ, GISELA      ADDRESS ON FILE
DIAZ DIAZ, GLADYS N    ADDRESS ON FILE
DIAZ DIAZ, GLORIA E    ADDRESS ON FILE
DIAZ DIAZ, GLORIA F    ADDRESS ON FILE
DIAZ DIAZ, GUADALUPE   ADDRESS ON FILE
DIAZ DIAZ, HECTOR      ADDRESS ON FILE
DIAZ DIAZ, HECTOR G    ADDRESS ON FILE
DIAZ DIAZ, HECTOR L    ADDRESS ON FILE
DIAZ DIAZ, HECTOR L.   ADDRESS ON FILE
Diaz Diaz, Heriberto   ADDRESS ON FILE
DIAZ DIAZ, HIRAM A.    ADDRESS ON FILE
DIAZ DIAZ, IDALIA      ADDRESS ON FILE
DIAZ DIAZ, IDELIZ      ADDRESS ON FILE
DIAZ DIAZ, ILIANA      ADDRESS ON FILE
DIAZ DIAZ, INES I      ADDRESS ON FILE
DIAZ DIAZ, IRIS E.     ADDRESS ON FILE
DIAZ DIAZ, IRIS N      ADDRESS ON FILE
DIAZ DIAZ, IRMA D      ADDRESS ON FILE




                                                                   Page 2298 of 10031
                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                           The Commonwealth of Puerto Rico
                                                                                                                   Desc:
                                        Exhibit A-1 - Creditor     Matrix
                                                             Case No.              Page 2299 of 3500
                                                                      17 BK 3283‐LTS
                                                                     Creditor Matrix

Creditor Name          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DIAZ, IRVIN       ADDRESS ON FILE
DIAZ DIAZ, IVETTE      ADDRESS ON FILE
DIAZ DIAZ, JACKMARIE   ADDRESS ON FILE
Diaz Diaz, Janet       ADDRESS ON FILE
DIAZ DIAZ, JANISSE     ADDRESS ON FILE
DIAZ DIAZ, JENNIFER    ADDRESS ON FILE
DIAZ DIAZ, JERRY N     ADDRESS ON FILE
Diaz Diaz, Jessica     ADDRESS ON FILE
DIAZ DIAZ, JESSICA C   ADDRESS ON FILE
DIAZ DIAZ, JONATHAN    ADDRESS ON FILE
DIAZ DIAZ, JORGE       ADDRESS ON FILE
DIAZ DIAZ, JORGE A     ADDRESS ON FILE
DIAZ DIAZ, JORGE R.    ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE        ADDRESS ON FILE
DIAZ DIAZ, JOSE A      ADDRESS ON FILE
DIAZ DIAZ, JOSE A      ADDRESS ON FILE
DIAZ DIAZ, JOSE D.     ADDRESS ON FILE
DIAZ DIAZ, JOSE E      ADDRESS ON FILE
Diaz Diaz, Jose L      ADDRESS ON FILE
DIAZ DIAZ, JOSE L      ADDRESS ON FILE
Diaz Diaz, Jose L      ADDRESS ON FILE
Diaz Diaz, Jose L      ADDRESS ON FILE
Diaz Diaz, Jose M      ADDRESS ON FILE
DIAZ DIAZ, JOSE N      ADDRESS ON FILE
DIAZ DIAZ, JOSE Z      ADDRESS ON FILE
DIAZ DIAZ, JUAN        ADDRESS ON FILE
DIAZ DIAZ, JUAN JOSE   ADDRESS ON FILE
Diaz Diaz, Juan L      ADDRESS ON FILE
DIAZ DIAZ, JUAN R      ADDRESS ON FILE
DIAZ DIAZ, JUDITH      ADDRESS ON FILE
DIAZ DIAZ, JULIA M     ADDRESS ON FILE
DIAZ DIAZ, KELVIN      ADDRESS ON FILE
DIAZ DIAZ, KERLY       ADDRESS ON FILE
DIAZ DIAZ, LIANA       ADDRESS ON FILE
DIAZ DIAZ, LIZETTE     ADDRESS ON FILE
DIAZ DIAZ, LIZZA F     ADDRESS ON FILE
DIAZ DIAZ, LONKA       ADDRESS ON FILE
DIAZ DIAZ, LUCERMINA   ADDRESS ON FILE
DIAZ DIAZ, LUIS        ADDRESS ON FILE
DIAZ DIAZ, LUIS        ADDRESS ON FILE
DIAZ DIAZ, LUIS        ADDRESS ON FILE
DIAZ DIAZ, LUIS F      ADDRESS ON FILE
DIAZ DIAZ, LUIS J      ADDRESS ON FILE
DIAZ DIAZ, LUZ B.      ADDRESS ON FILE
DIAZ DIAZ, MABEL       ADDRESS ON FILE
DIAZ DIAZ, MAGDA I     ADDRESS ON FILE
DIAZ DIAZ, MARCIAL     ADDRESS ON FILE
DIAZ DIAZ, MARCOS L.   ADDRESS ON FILE
DIAZ DIAZ, MARGARITA   ADDRESS ON FILE
DIAZ DIAZ, MARIA       ADDRESS ON FILE




                                                                   Page 2299 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 2300 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DIAZ, MARIA D       ADDRESS ON FILE
DIAZ DIAZ, MARIA D.      ADDRESS ON FILE
Diaz Diaz, Maria D.      ADDRESS ON FILE
DIAZ DIAZ, MARIA J       ADDRESS ON FILE
Diaz Diaz, Maria Nelly   ADDRESS ON FILE
DIAZ DIAZ, MARIBEL       ADDRESS ON FILE
DIAZ DIAZ, MARIBEL       ADDRESS ON FILE
DIAZ DIAZ, MARIELY       ADDRESS ON FILE
DIAZ DIAZ, MAYRA         ADDRESS ON FILE
DIAZ DIAZ, MAYRA         ADDRESS ON FILE
DIAZ DIAZ, MAYRA E.      ADDRESS ON FILE
DIAZ DIAZ, MAYRIAM K     ADDRESS ON FILE
DIAZ DIAZ, MICHAEL       ADDRESS ON FILE
DIAZ DIAZ, MIGDALIA      ADDRESS ON FILE
DIAZ DIAZ, MIGUEL        ADDRESS ON FILE
DIAZ DIAZ, MIGUEL        ADDRESS ON FILE
DIAZ DIAZ, MIGUEL A.     ADDRESS ON FILE
Diaz Diaz, Milagros      ADDRESS ON FILE
DIAZ DIAZ, MILAGROS      ADDRESS ON FILE
DIAZ DIAZ, MILAGROS      ADDRESS ON FILE
DIAZ DIAZ, MONSERRATE    ADDRESS ON FILE
DIAZ DIAZ, MYRTA E       ADDRESS ON FILE
DIAZ DIAZ, NANCY         ADDRESS ON FILE
DIAZ DIAZ, NARCISO       ADDRESS ON FILE
DIAZ DIAZ, NARHA         ADDRESS ON FILE
DIAZ DIAZ, NESTOR        ADDRESS ON FILE
DIAZ DIAZ, OLGA M        ADDRESS ON FILE
DIAZ DIAZ, ONAN          ADDRESS ON FILE
DIAZ DIAZ, ORLANDO       ADDRESS ON FILE
DIAZ DIAZ, ORLANDO R.    ADDRESS ON FILE
DIAZ DIAZ, OSVALDO       ADDRESS ON FILE
DIAZ DIAZ, PABLO         ADDRESS ON FILE
DIAZ DIAZ, PABLO         ADDRESS ON FILE
DIAZ DIAZ, PAULA         ADDRESS ON FILE
DIAZ DIAZ, PEDRO         ADDRESS ON FILE
DIAZ DIAZ, PEDRO         ADDRESS ON FILE
DIAZ DIAZ, RAFAEL        ADDRESS ON FILE
DIAZ DIAZ, RAFAEL        ADDRESS ON FILE
DIAZ DIAZ, RAFAEL        ADDRESS ON FILE
DIAZ DIAZ, RAMON         ADDRESS ON FILE
DIAZ DIAZ, RAMON         ADDRESS ON FILE
DIAZ DIAZ, RAMON A       ADDRESS ON FILE
DIAZ DIAZ, RAMON L.      ADDRESS ON FILE
Diaz Diaz, Raul          ADDRESS ON FILE
DIAZ DIAZ, RAWAND        ADDRESS ON FILE
DIAZ DIAZ, RAYMOND       ADDRESS ON FILE
DIAZ DIAZ, REINA         ADDRESS ON FILE
Diaz Diaz, Rene A        ADDRESS ON FILE
DIAZ DIAZ, RHODE         ADDRESS ON FILE
DIAZ DIAZ, ROBERTO       ADDRESS ON FILE
DIAZ DIAZ, ROBERTO       ADDRESS ON FILE
DIAZ DIAZ, ROBERTO L     ADDRESS ON FILE
DIAZ DIAZ, RONNIE        ADDRESS ON FILE
Diaz Diaz, Ronnie R      ADDRESS ON FILE
DIAZ DIAZ, ROSA I        ADDRESS ON FILE
Diaz Diaz, Rosa M        ADDRESS ON FILE
DIAZ DIAZ, RUBEN         ADDRESS ON FILE
DIAZ DIAZ, SAMUEL        ADDRESS ON FILE
DIAZ DIAZ, SOLINES       ADDRESS ON FILE
DIAZ DIAZ, SONIA         ADDRESS ON FILE




                                                                     Page 2300 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2301 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ DIAZ, SONIA              ADDRESS ON FILE
DIAZ DIAZ, SONIA E.           ADDRESS ON FILE
DIAZ DIAZ, SONIA E.           ADDRESS ON FILE
DIAZ DIAZ, SORAYA             ADDRESS ON FILE
DIAZ DIAZ, SORAYA             ADDRESS ON FILE
DIAZ DIAZ, SULLYMAR           ADDRESS ON FILE
Diaz Diaz, Sylma J            ADDRESS ON FILE
DIAZ DIAZ, SYLVIA I           ADDRESS ON FILE
DIAZ DIAZ, TERESA             ADDRESS ON FILE
DIAZ DIAZ, TERESA             ADDRESS ON FILE
DIAZ DIAZ, TERESITA           ADDRESS ON FILE
DIAZ DIAZ, TOMAS              ADDRESS ON FILE
Diaz Diaz, Vicente            ADDRESS ON FILE
DIAZ DIAZ, VICTOR M.          ADDRESS ON FILE
DIAZ DIAZ, WANDA E            ADDRESS ON FILE
DIAZ DIAZ, WILFREDO           ADDRESS ON FILE
DIAZ DIAZ, WILFREDO           ADDRESS ON FILE
DIAZ DIAZ, WILMA              ADDRESS ON FILE
DIAZ DIAZ, WILMARIE           ADDRESS ON FILE
DIAZ DIAZ, YAMIL              ADDRESS ON FILE
DIAZ DIAZ, YAMINETTE          ADDRESS ON FILE
DIAZ DIAZ, YARITZA M.         ADDRESS ON FILE
DIAZ DIAZ, YESENIA            ADDRESS ON FILE
DIAZ DIAZ, YESENIA            ADDRESS ON FILE
DIAZ DIAZ, YOLANDA            ADDRESS ON FILE
DIAZ DIAZ, YOLANDA            ADDRESS ON FILE
DIAZ DIAZ, YOLANDA            ADDRESS ON FILE
DIAZ DIAZ, ZAIDA              ADDRESS ON FILE
DIAZ DIAZ,JAMINETTE           ADDRESS ON FILE
DIAZ DIAZ,JOSE A              ADDRESS ON FILE
DIAZ DOMENECH, LUZ V          ADDRESS ON FILE
DIAZ DOMINGUES, CARMEN        ADDRESS ON FILE
DIAZ DOMINGUEZ, ANGEL A.      ADDRESS ON FILE
DIAZ DOMINGUEZ, CARMEN ENID   ADDRESS ON FILE
DIAZ DOMINGUEZ, EDGARDO       ADDRESS ON FILE
DIAZ DOMINGUEZ, EDGARDO       ADDRESS ON FILE
Diaz Dominicci, Jorge L       ADDRESS ON FILE
DIAZ DUCHESNE, LUIS           ADDRESS ON FILE
Diaz Duchesne, Luis P         ADDRESS ON FILE
DIAZ DUCOS, GUILLERMO E       ADDRESS ON FILE
DIAZ DUCOS, LUIS              ADDRESS ON FILE
DIAZ DUPREY, ANGEL            ADDRESS ON FILE
Diaz Duran, Gabriel           ADDRESS ON FILE
DIAZ DURAN, LAYSHA            ADDRESS ON FILE
DIAZ DURAN, LAYSHA M          ADDRESS ON FILE
DIAZ DURAN, MARIELI           ADDRESS ON FILE
DIAZ DURAN, STEVEN            ADDRESS ON FILE
DIAZ DUVAL MD, SIGFREDO       ADDRESS ON FILE
DIAZ ECHEVARRIA, BENITA       ADDRESS ON FILE
DIAZ ECHEVARRIA, CARMEN M     ADDRESS ON FILE
DIAZ ECHEVARRIA, EDWIN        ADDRESS ON FILE
DIAZ ECHEVARRIA, MELISSA      ADDRESS ON FILE
Diaz Echevarria, Pedro        ADDRESS ON FILE
DIAZ ECHEVARRIA, REINALDO     ADDRESS ON FILE
DIAZ EL ATROUNI, MARIA        ADDRESS ON FILE
DIAZ ENCARNACION, ANTONIO     ADDRESS ON FILE
Diaz Encarnacion, Christian   ADDRESS ON FILE
DIAZ ENCARNACION, CHRISTIAN   ADDRESS ON FILE
DIAZ ENCARNACION, JULIO       ADDRESS ON FILE
DIAZ ERAZO, AMAHILZA D        ADDRESS ON FILE




                                                                          Page 2301 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2302 of 3500
                                                                             17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                 Address1                      Address2                        Address3   Address4   City         State   PostalCode   Country
DIAZ ESCALANTE, JOSE          ADDRESS ON FILE
DIAZ ESCALERA, ANGELA S       ADDRESS ON FILE
Diaz Escalera, Ernic X        ADDRESS ON FILE
DIAZ ESCALERA, HILDA          ADDRESS ON FILE
DIAZ ESCALERA, JAILEEN        ADDRESS ON FILE
DIAZ ESCALERA, JAILEEN M      ADDRESS ON FILE
DIAZ ESCALERA, JAILEEN M.     ADDRESS ON FILE
DIAZ ESCALERA, NITZA I        ADDRESS ON FILE
DIAZ ESCARRAMAN, FAVIA        ADDRESS ON FILE
DIAZ ESCOBAR, PAULINA         ADDRESS ON FILE
DIAZ ESCOBLES, STEVEN E       ADDRESS ON FILE
DÍAZ ESCRIBANO, BENIGNO       LIC JOSE A. LANDRAU           APARTADO 1687                                         CAGUAS       PR      00726
DÍAZ ESCRIBANO, BENIGNO       LIC LUIS RAMON ORTIZ SEGURA   PO BOX 9024098                                        SAN JUAN     PR      00902‐4098
DIAZ ESCRIBANO, JOSE          ADDRESS ON FILE
DIAZ ESCRIBANO, MAYRA I       ADDRESS ON FILE
DIAZ ESMURRA, GRISELLE        ADDRESS ON FILE
DIAZ ESPADA, CARMEN H         ADDRESS ON FILE
DIAZ ESPADA, CARMEN M         ADDRESS ON FILE
DIAZ ESPADA, GILBERTO         ADDRESS ON FILE
DIAZ ESPADA, MIGDALIA         ADDRESS ON FILE
DIAZ ESPINAL, LEONEL          ADDRESS ON FILE
DIAZ ESPINO, MANUEL           ADDRESS ON FILE
DIAZ ESPINOSA, EDUARDO        ADDRESS ON FILE
DIAZ ESPINOSA, LOIDA          ADDRESS ON FILE
DIAZ ESPINOSA, RAFAEL         ADDRESS ON FILE
DIAZ ESQUILIN, WALESKA        ADDRESS ON FILE
DIAZ ESTELA, ALEXANDRA        ADDRESS ON FILE
DIAZ ESTELA, ILEANA           ADDRESS ON FILE
DIAZ ESTELA, JEDISAN          ADDRESS ON FILE
DIAZ ESTEVE, CARMEN M.        ADDRESS ON FILE
DIAZ ESTEVES, MAGDAMARIS      ADDRESS ON FILE
DIAZ ESTRADA, BETTY G.        ADDRESS ON FILE
DIAZ ESTRADA, CARLA           ADDRESS ON FILE
DIAZ ESTRADA, CARMEN M.       ADDRESS ON FILE
DIAZ ESTRADA, EDWIN           ADDRESS ON FILE
DIAZ ESTRELLA, LUIS A         ADDRESS ON FILE
DIAZ FABREGAS, LUIS           ADDRESS ON FILE
DIAZ FAJARDO, JUAN M.         ADDRESS ON FILE
DIAZ FALCON, ILUSHCA          ADDRESS ON FILE
DIAZ FALERO, STACY            ADDRESS ON FILE
DIAZ FALERO, ZORAIDA          ADDRESS ON FILE
DIAZ FALERO, ZORAIDA          ADDRESS ON FILE
DIAZ FALGAS, ABIGAIL          ADDRESS ON FILE
DIAZ FALU, IRIS N             ADDRESS ON FILE
DIAZ FARGAS, JIMMY            ADDRESS ON FILE
DIAZ FARIA, PATRICK           ADDRESS ON FILE
DIAZ FEBLES, NAYELI           ADDRESS ON FILE
DIAZ FEBO, LUZ O              ADDRESS ON FILE
DIAZ FEBO, NESTOR F.          ADDRESS ON FILE
DIAZ FEBUS, CARMEN            ADDRESS ON FILE
DIAZ FEBUS, RAFAEL            ADDRESS ON FILE
DIAZ FEBUS, SONIA I           ADDRESS ON FILE
DIAZ FELICIANO, ARELIS        ADDRESS ON FILE
DIAZ FELICIANO, ARNALDO       ADDRESS ON FILE
DIAZ FELICIANO, CAMILLE       ADDRESS ON FILE
DIAZ FELICIANO, DORITZA       ADDRESS ON FILE
DIAZ FELICIANO, ESTEFANIA     ADDRESS ON FILE
DIAZ FELICIANO, FELIPE        ADDRESS ON FILE
DIAZ FELICIANO, FRANCISCO     ADDRESS ON FILE
DIAZ FELICIANO, IRIS YADIRA   ADDRESS ON FILE




                                                                             Page 2302 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2303 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ FELICIANO, JOSE M           ADDRESS ON FILE
DIAZ FELICIANO, JULIO            ADDRESS ON FILE
DIAZ FELICIANO, LUIS A           ADDRESS ON FILE
DIAZ FELICIANO, MAGDA            ADDRESS ON FILE
DIAZ FELICIANO, ORLANDO          ADDRESS ON FILE
DIAZ FELICIANO, ROBERTO          ADDRESS ON FILE
DIAZ FELICIANO, YOLANDA          ADDRESS ON FILE
DIAZ FELICIER, RAFAEL            ADDRESS ON FILE
DIAZ FELIPE, LOURDES             ADDRESS ON FILE
Diaz Felix, Angel D              ADDRESS ON FILE
Diaz Felix, Angel L              ADDRESS ON FILE
DIAZ FELIX, ANTONY               ADDRESS ON FILE
DIAZ FELIX, JOSE R.              ADDRESS ON FILE
DIAZ FELIX, MARIA J              ADDRESS ON FILE
DIAZ FELIX, SAMUEL               ADDRESS ON FILE
DIAZ FERDINAND, HECTOR M         ADDRESS ON FILE
DIAZ FERDINAND, RAUL             ADDRESS ON FILE
DIAZ FERNANDEZ, AIDA L.          ADDRESS ON FILE
DIAZ FERNANDEZ, BARBARA M.       ADDRESS ON FILE
DIAZ FERNANDEZ, BRYAN            ADDRESS ON FILE
DIAZ FERNANDEZ, CARLOS           ADDRESS ON FILE
DIAZ FERNANDEZ, ERNIE            ADDRESS ON FILE
DIAZ FERNANDEZ, GILBERTO         ADDRESS ON FILE
DIAZ FERNANDEZ, HECTOR           ADDRESS ON FILE
Diaz Fernandez, Hector R         ADDRESS ON FILE
DIAZ FERNANDEZ, IGNACIO          ADDRESS ON FILE
DIAZ FERNANDEZ, JOSE N           ADDRESS ON FILE
Diaz Fernandez, Lourdes Judith   ADDRESS ON FILE
DIAZ FERNANDEZ, LYDIA            ADDRESS ON FILE
Diaz Fernandez, Maria De L       ADDRESS ON FILE
DIAZ FERNANDEZ, MAYRA            ADDRESS ON FILE
DIAZ FERNANDEZ, MICHAEL          ADDRESS ON FILE
DIAZ FERNANDEZ, MILDRET          ADDRESS ON FILE
DIAZ FERNANDEZ, OMAR             ADDRESS ON FILE
DIAZ FERNANDEZ, ROBERTO          ADDRESS ON FILE
Diaz Fernandez, Sandra           ADDRESS ON FILE
DIAZ FERNANDEZ, WALESKA M.       ADDRESS ON FILE
DIAZ FERNANDEZ, WILLIAM          ADDRESS ON FILE
DIAZ FERREA, CARLOS              ADDRESS ON FILE
DIAZ FERREIRA, VICTOR            ADDRESS ON FILE
DIAZ FERRER, ALEXANDRA           ADDRESS ON FILE
DIAZ FERRER, ALVARO              ADDRESS ON FILE
DIAZ FERRER, MARITZA             ADDRESS ON FILE
DIAZ FERRER, NYRIA M.            ADDRESS ON FILE
DIAZ FERRER, TERESITA            ADDRESS ON FILE
DIAZ FIGUEROA MD, EDUARDO        ADDRESS ON FILE
DIAZ FIGUEROA, AMARILYS          ADDRESS ON FILE
DIAZ FIGUEROA, ANA E             ADDRESS ON FILE
DIAZ FIGUEROA, ANGELINA          ADDRESS ON FILE
DIAZ FIGUEROA, ARACELIS          ADDRESS ON FILE
Diaz Figueroa, Axel R            ADDRESS ON FILE
DIAZ FIGUEROA, BENNETT           ADDRESS ON FILE
DIAZ FIGUEROA, BERENICE          ADDRESS ON FILE
DIAZ FIGUEROA, BERNARDO          ADDRESS ON FILE
DIAZ FIGUEROA, BETSY I.          ADDRESS ON FILE
DIAZ FIGUEROA, BRENDA M          ADDRESS ON FILE
DIAZ FIGUEROA, CARMEN E.         ADDRESS ON FILE
DIAZ FIGUEROA, CID MARIE         ADDRESS ON FILE
DIAZ FIGUEROA, EDMARI            ADDRESS ON FILE
DIAZ FIGUEROA, EDMARI            ADDRESS ON FILE




                                                                             Page 2303 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2304 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ FIGUEROA, EDUARDO       ADDRESS ON FILE
DIAZ FIGUEROA, EDUARDO       ADDRESS ON FILE
DIAZ FIGUEROA, EMMANUEL      ADDRESS ON FILE
DIAZ FIGUEROA, ESTHER        ADDRESS ON FILE
DIAZ FIGUEROA, GISELLE       ADDRESS ON FILE
DIAZ FIGUEROA, GLADYS        ADDRESS ON FILE
DIAZ FIGUEROA, GLADYS        ADDRESS ON FILE
DIAZ FIGUEROA, GLADYS        ADDRESS ON FILE
DIAZ FIGUEROA, GLADYS        ADDRESS ON FILE
DIAZ FIGUEROA, HARRY         ADDRESS ON FILE
DIAZ FIGUEROA, HECTOR        ADDRESS ON FILE
DIAZ FIGUEROA, JACKELINE     ADDRESS ON FILE
DIAZ FIGUEROA, JEANNETTE     ADDRESS ON FILE
DIAZ FIGUEROA, JOHANNA       ADDRESS ON FILE
DIAZ FIGUEROA, JORGE         ADDRESS ON FILE
DIAZ FIGUEROA, JORGE         ADDRESS ON FILE
DIAZ FIGUEROA, JOSE          ADDRESS ON FILE
DIAZ FIGUEROA, JOSE          ADDRESS ON FILE
Diaz Figueroa, Jose D        ADDRESS ON FILE
Diaz Figueroa, Juan J        ADDRESS ON FILE
DIAZ FIGUEROA, JUAN RAMON    ADDRESS ON FILE
Diaz Figueroa, Kathiria I.   ADDRESS ON FILE
DIAZ FIGUEROA, LEONOR        ADDRESS ON FILE
DIAZ FIGUEROA, LIMARI E      ADDRESS ON FILE
DIAZ FIGUEROA, LIONEL        ADDRESS ON FILE
DIAZ FIGUEROA, LUIS A.       ADDRESS ON FILE
Diaz Figueroa, Luis R        ADDRESS ON FILE
DIAZ FIGUEROA, LUZ M         ADDRESS ON FILE
DIAZ FIGUEROA, LUZ S.        ADDRESS ON FILE
DIAZ FIGUEROA, LYSEIDA       ADDRESS ON FILE
DIAZ FIGUEROA, MARGEE        ADDRESS ON FILE
DIAZ FIGUEROA, MARIA C       ADDRESS ON FILE
DIAZ FIGUEROA, MARIA DE L    ADDRESS ON FILE
DIAZ FIGUEROA, MARICELLYS    ADDRESS ON FILE
DIAZ FIGUEROA, MARILYN E     ADDRESS ON FILE
DIAZ FIGUEROA, MARISOL       ADDRESS ON FILE
DIAZ FIGUEROA, MARITZA       ADDRESS ON FILE
DIAZ FIGUEROA, MARLA         ADDRESS ON FILE
DIAZ FIGUEROA, MILAGROS      ADDRESS ON FILE
DIAZ FIGUEROA, MILITZA       ADDRESS ON FILE
DIAZ FIGUEROA, NANCY         ADDRESS ON FILE
DIAZ FIGUEROA, NELYAN        ADDRESS ON FILE
DIAZ FIGUEROA, NEREIDA       ADDRESS ON FILE
DIAZ FIGUEROA, NIURKA        ADDRESS ON FILE
DIAZ FIGUEROA, NUBIA         ADDRESS ON FILE
DIAZ FIGUEROA, OMAR          ADDRESS ON FILE
DIAZ FIGUEROA, ORLANDO       ADDRESS ON FILE
DIAZ FIGUEROA, OSCAR A       ADDRESS ON FILE
DIAZ FIGUEROA, OSVALDO       ADDRESS ON FILE
DIAZ FIGUEROA, RAFAEL        ADDRESS ON FILE
DIAZ FIGUEROA, RENE          ADDRESS ON FILE
DIAZ FIGUEROA, RENE          ADDRESS ON FILE
DIAZ FIGUEROA, ROBERTO       ADDRESS ON FILE
DIAZ FIGUEROA, ROBERTO       ADDRESS ON FILE
Diaz Figueroa, Ruben         ADDRESS ON FILE
Diaz Figueroa, Ruben A       ADDRESS ON FILE
DIAZ FIGUEROA, SASHA         ADDRESS ON FILE
DIAZ FIGUEROA, WALTER        ADDRESS ON FILE
DIAZ FIGUEROA, WILFREDO      ADDRESS ON FILE
DIAZ FIGUEROA, WILLIAM       ADDRESS ON FILE




                                                                         Page 2304 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2305 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ FIGUEROA, ZAIRA       ADDRESS ON FILE
DIAZ FLECHA, IRIS NOEMI    ADDRESS ON FILE
DIAZ FLORES, ADELISA       ADDRESS ON FILE
DIAZ FLORES, AMARILLYS     ADDRESS ON FILE
DIAZ FLORES, ANGEL         ADDRESS ON FILE
Diaz Flores, Carlos        ADDRESS ON FILE
DIAZ FLORES, CARMEN L.     ADDRESS ON FILE
DIAZ FLORES, CYNTHIA E     ADDRESS ON FILE
DIAZ FLORES, FRANK A.      ADDRESS ON FILE
DIAZ FLORES, FRANK A.      ADDRESS ON FILE
DIAZ FLORES, GILBERTO G    ADDRESS ON FILE
DIAZ FLORES, GLENDA L.     ADDRESS ON FILE
DIAZ FLORES, GONZALO       ADDRESS ON FILE
DIAZ FLORES, HECTOR        ADDRESS ON FILE
DIAZ FLORES, HECTOR        ADDRESS ON FILE
DIAZ FLORES, HENRY         ADDRESS ON FILE
DIAZ FLORES, IVELISSE M.   ADDRESS ON FILE
DIAZ FLORES, IVELISSE M.   ADDRESS ON FILE
DIAZ FLORES, JOSE          ADDRESS ON FILE
DIAZ FLORES, JOSE          ADDRESS ON FILE
DIAZ FLORES, JOSE          ADDRESS ON FILE
DIAZ FLORES, JOSE R.       ADDRESS ON FILE
DIAZ FLORES, JUAN          ADDRESS ON FILE
DIAZ FLORES, JUAN E        ADDRESS ON FILE
DIAZ FLORES, JUAN P.       ADDRESS ON FILE
DIAZ FLORES, KEYRIS        ADDRESS ON FILE
DIAZ FLORES, LILLIAN E     ADDRESS ON FILE
DIAZ FLORES, LUCIA         ADDRESS ON FILE
DIAZ FLORES, LUIS          ADDRESS ON FILE
DIAZ FLORES, LUIS          ADDRESS ON FILE
DIAZ FLORES, LUIS A        ADDRESS ON FILE
DIAZ FLORES, LUIS R        ADDRESS ON FILE
DIAZ FLORES, LYMARIS       ADDRESS ON FILE
DIAZ FLORES, MADELINE      ADDRESS ON FILE
DIAZ FLORES, MAGALI        ADDRESS ON FILE
DIAZ FLORES, MARIA L.      ADDRESS ON FILE
DIAZ FLORES, MARIA L.      ADDRESS ON FILE
DIAZ FLORES, NEDALET       ADDRESS ON FILE
DIAZ FLORES, NEYSHA        ADDRESS ON FILE
DIAZ FLORES, ORLANDO       ADDRESS ON FILE
DIAZ FLORES, ORLANDO       ADDRESS ON FILE
Diaz Flores, Osvaldo       ADDRESS ON FILE
DIAZ FLORES, RUBEN         ADDRESS ON FILE
DIAZ FLORES, SHEILA        ADDRESS ON FILE
DIAZ FLORES, TOMAS         ADDRESS ON FILE
DIAZ FLORES, VILMA E       ADDRESS ON FILE
DIAZ FLORES, WANDA I       ADDRESS ON FILE
DIAZ FLORES, WANDABEL      ADDRESS ON FILE
DIAZ FLORES, WILFREDO      ADDRESS ON FILE
DIAZ FONSECA, EFRAIN       ADDRESS ON FILE
DIAZ FONSECA, FRANKLIN     ADDRESS ON FILE
DIAZ FONSECA, HARRY        ADDRESS ON FILE
Diaz Fonseca, Israel       ADDRESS ON FILE
DIAZ FONSECA, JUSTO        ADDRESS ON FILE
DIAZ FONSECA, LUZ          ADDRESS ON FILE
Diaz Fonseca, Mirnielis    ADDRESS ON FILE
DIAZ FONSECA, VANESSA      ADDRESS ON FILE
DIAZ FONT, HECTOR          ADDRESS ON FILE
DIAZ FONTAN, NILDA E       ADDRESS ON FILE
DIAZ FONTAN, NILDA E.      ADDRESS ON FILE




                                                                       Page 2305 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2306 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ FONTANEZ, ANGEL L          ADDRESS ON FILE
DIAZ FONTANEZ, BILL E.          ADDRESS ON FILE
DIAZ FONTANEZ, CAMILO           ADDRESS ON FILE
DIAZ FONTANEZ, ELIZABETH        ADDRESS ON FILE
DIAZ FONTANEZ, HECTOR E         ADDRESS ON FILE
DIAZ FONTANEZ, HECTOR E         ADDRESS ON FILE
DIAZ FONTANEZ, JORGE            ADDRESS ON FILE
DIAZ FONTANEZ, MARIBEL          ADDRESS ON FILE
DIAZ FONTANEZ, YANIRA           ADDRESS ON FILE
DIAZ FORTIS, ANA C              ADDRESS ON FILE
DIAZ FORTIS, GLORIA M           ADDRESS ON FILE
DIAZ FORTIS, JULIMAR            ADDRESS ON FILE
DIAZ FORTIS, RAFAEL             ADDRESS ON FILE
DIAZ FOSSE, FRANCES MINERVA     ADDRESS ON FILE
DIAZ FRANCISCO, NYDIA           ADDRESS ON FILE
DIAZ FRANCO, AWILDO             ADDRESS ON FILE
DIAZ FRANCO, HECTOR             ADDRESS ON FILE
DIAZ FRANQUI, MARGARITA         ADDRESS ON FILE
DIAZ FRANQUIZ, JUAN C           ADDRESS ON FILE
DIAZ FRED, NINOSHKA             ADDRESS ON FILE
DIAZ FREYRE, MIGUEL A.          ADDRESS ON FILE
DIAZ FREYTES, EVELYN            ADDRESS ON FILE
DIAZ FUENTES, ALFREDO           ADDRESS ON FILE
DIAZ FUENTES, IVONNE J          ADDRESS ON FILE
DIAZ FUENTES, LOURDES           ADDRESS ON FILE
DIAZ FUENTES, SONIA             ADDRESS ON FILE
Diaz Fuentes, Victor L          ADDRESS ON FILE
DIAZ FULGENCIO, DILLENIS        ADDRESS ON FILE
DIAZ GABRIEL MD, RAFAEL E       ADDRESS ON FILE
DIAZ GALAGARZA, MARIO           ADDRESS ON FILE
DIAZ GALAGARZA, MARIO           ADDRESS ON FILE
Diaz Galarza, Dorcas            ADDRESS ON FILE
DIAZ GALARZA, GLORIA            ADDRESS ON FILE
Diaz Galarza, Iriana            ADDRESS ON FILE
DIAZ GALARZA, JORGE             ADDRESS ON FILE
DIAZ GALARZA, JUAN              ADDRESS ON FILE
DIAZ GALARZA, JUAN CARLOS       ADDRESS ON FILE
DIAZ GALARZA, MARCOS            ADDRESS ON FILE
DIAZ GALARZA, MARIO             ADDRESS ON FILE
DIAZ GALARZA, OSVALDO           ADDRESS ON FILE
DIAZ GALERA, DOEL               ADDRESS ON FILE
DIAZ GALINDEZ, MARIA DE LOS A   ADDRESS ON FILE
DIAZ GALLARDO, LESBIA JOAN      ADDRESS ON FILE
DIAZ GALLEGO, MARIO             ADDRESS ON FILE
DIAZ GALLEGO, MARIO R           ADDRESS ON FILE
DIAZ GARAJALDE, MARGIE          ADDRESS ON FILE
DIAZ GARAY, DANIELA             ADDRESS ON FILE
DIAZ GARAY, JOSE                ADDRESS ON FILE
DIAZ GARCED, MAYRA L.           ADDRESS ON FILE
DIAZ GARCIA CMF, MANUEL         ADDRESS ON FILE
DIAZ GARCIA MD, DANIEL          ADDRESS ON FILE
DIAZ GARCIA MD, DILIA           ADDRESS ON FILE
DIAZ GARCIA MD, JULIO           ADDRESS ON FILE
DIAZ GARCIA, AIDA E             ADDRESS ON FILE
DIAZ GARCIA, AIDA L             ADDRESS ON FILE
DIAZ GARCIA, ALEXIS             ADDRESS ON FILE
DIAZ GARCIA, ALEXIS             ADDRESS ON FILE
DIAZ GARCIA, ANA                ADDRESS ON FILE
DIAZ GARCIA, ANGEL M            ADDRESS ON FILE
DIAZ GARCIA, BENJAMIN           ADDRESS ON FILE




                                                                            Page 2306 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2307 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Garcia, Carlos        ADDRESS ON FILE
DIAZ GARCIA, CARLOS        ADDRESS ON FILE
DIAZ GARCIA, CARLOS A.     ADDRESS ON FILE
Diaz Garcia, Carlos M.     ADDRESS ON FILE
DIAZ GARCIA, CARMEN I      ADDRESS ON FILE
DIAZ GARCIA, CARMEN N      ADDRESS ON FILE
DIAZ GARCIA, CLAUDINO      ADDRESS ON FILE
DIAZ GARCIA, DAMARIS       ADDRESS ON FILE
DIAZ GARCIA, DIANA         ADDRESS ON FILE
DIAZ GARCIA, EDUARDO       ADDRESS ON FILE
DIAZ GARCIA, ELBA          ADDRESS ON FILE
DIAZ GARCIA, ELIEZER       ADDRESS ON FILE
DIAZ GARCIA, ESTEFANIA     ADDRESS ON FILE
DIAZ GARCIA, EVELYN        ADDRESS ON FILE
DIAZ GARCIA, FLORIBEL      ADDRESS ON FILE
DIAZ GARCIA, FRANKLIN      ADDRESS ON FILE
DIAZ GARCIA, FREDDIE       ADDRESS ON FILE
DIAZ GARCIA, FREDDY        ADDRESS ON FILE
Diaz Garcia, Gerardo A     ADDRESS ON FILE
DIAZ GARCIA, GLADYS        ADDRESS ON FILE
DIAZ GARCIA, HECTOR        ADDRESS ON FILE
DIAZ GARCIA, HECTOR J.     ADDRESS ON FILE
DIAZ GARCIA, IDABELLE      ADDRESS ON FILE
DIAZ GARCIA, IDNAR L.      ADDRESS ON FILE
DIAZ GARCIA, IRISJELIZ     ADDRESS ON FILE
DIAZ GARCIA, IRISMAR       ADDRESS ON FILE
DIAZ GARCIA, IVIA M        ADDRESS ON FILE
DIAZ GARCIA, IVIANETTE     ADDRESS ON FILE
DIAZ GARCIA, JACKELINE     ADDRESS ON FILE
Diaz Garcia, Jorge A       ADDRESS ON FILE
DIAZ GARCIA, JOSE          ADDRESS ON FILE
DIAZ GARCIA, JOSE          ADDRESS ON FILE
DIAZ GARCIA, JOSE          ADDRESS ON FILE
DIAZ GARCIA, JOSE          ADDRESS ON FILE
DIAZ GARCIA, JOSE A        ADDRESS ON FILE
Diaz Garcia, Jose A        ADDRESS ON FILE
DIAZ GARCIA, JOSE R.       ADDRESS ON FILE
DIAZ GARCIA, JUAN A        ADDRESS ON FILE
DIAZ GARCIA, JUAN C.       ADDRESS ON FILE
DIAZ GARCIA, LAURA         ADDRESS ON FILE
DIAZ GARCIA, LIADYS        ADDRESS ON FILE
DIAZ GARCIA, LIAN I        ADDRESS ON FILE
DIAZ GARCIA, LINETTE       ADDRESS ON FILE
DIAZ GARCIA, LORDES        ADDRESS ON FILE
DIAZ GARCIA, LORDES        ADDRESS ON FILE
DIAZ GARCIA, LUIS          ADDRESS ON FILE
DIAZ GARCIA, LUZ E         ADDRESS ON FILE
DIAZ GARCIA, MADELINE      ADDRESS ON FILE
DIAZ GARCIA, MARAVELISSE   ADDRESS ON FILE
Diaz Garcia, Marcelino     ADDRESS ON FILE
DIAZ GARCIA, MARCELINO     ADDRESS ON FILE
DIAZ GARCIA, MARIA         ADDRESS ON FILE
DIAZ GARCIA, MARIA A       ADDRESS ON FILE
DIAZ GARCIA, MARIA S       ADDRESS ON FILE
DIAZ GARCIA, MARIBELL      ADDRESS ON FILE
DIAZ GARCIA, MARIE D       ADDRESS ON FILE
DIAZ GARCIA, MAYRA L       ADDRESS ON FILE
DIAZ GARCIA, MELVIN        ADDRESS ON FILE
DIAZ GARCIA, MELVIN J.     ADDRESS ON FILE
DIAZ GARCIA, MICHAEL       ADDRESS ON FILE




                                                                       Page 2307 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2308 of 3500
                                                                           17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name               Address1                  Address2                                 Address3   Address4   City         State   PostalCode   Country
DIAZ GARCIA, MIGDALIA       ADDRESS ON FILE
DIAZ GARCIA, MIGUEL         ADDRESS ON FILE
DIAZ GARCIA, MIGUEL         ADDRESS ON FILE
DIAZ GARCIA, MIGUEL         ADDRESS ON FILE
DIAZ GARCIA, MINERVA        ADDRESS ON FILE
DIAZ GARCIA, MIRIAM         ADDRESS ON FILE
DIAZ GARCIA, NANCY          ADDRESS ON FILE
DIAZ GARCIA, NATALIA M.     ADDRESS ON FILE
DIAZ GARCIA, NAYDA E        ADDRESS ON FILE
DIAZ GARCIA, NELSON         ADDRESS ON FILE
DIAZ GARCIA, NERIMAR        ADDRESS ON FILE
DIAZ GARCIA, NILDA E        ADDRESS ON FILE
DIAZ GARCIA, OSVALDO        ADDRESS ON FILE
DIAZ GARCIA, OSVALDO        ADDRESS ON FILE
DIAZ GARCIA, PEDRO          ADDRESS ON FILE
DIAZ GARCIA, PEDRO          ADDRESS ON FILE
DIAZ GARCIA, RAYMOND        ADDRESS ON FILE
DIAZ GARCIA, ROMAN M.       ADDRESS ON FILE
DIAZ GARCIA, ROSALBA        ADDRESS ON FILE
DIAZ GARCIA, ROSEMARIE      ADDRESS ON FILE
DIAZ GARCIA, SHARLENE       ADDRESS ON FILE
DIAZ GARCIA, SHEILA A.      ADDRESS ON FILE
DIAZ GARCIA, SOL            ADDRESS ON FILE
DIAZ GARCIA, TOMAS          ADDRESS ON FILE
DIAZ GARCIA, TOMAS          ADDRESS ON FILE
DIAZ GARCIA, VALERIA        ADDRESS ON FILE
DIAZ GARCIA, VANESSA        ADDRESS ON FILE
Diaz Garcia, Vanessa M      ADDRESS ON FILE
DIAZ GARCIA, VIRGINIA       ADDRESS ON FILE
DIAZ GARCIA, YARITSI        ADDRESS ON FILE
DIAZ GARCIA, YOLANDA        ADDRESS ON FILE
DIAZ GARDANA, RICARDO       ADDRESS ON FILE
DIAZ GARRIGA, ESTEBAN       ADDRESS ON FILE
DIAZ GARRIGA, JOSE          ADDRESS ON FILE
DIAZ GARRIGA, JOSE LUIS     ADDRESS ON FILE
DIAZ GAS SERVICES           URB LOS MAESTROS          455 CALLE LUIS MUNOZ SOUFFRONT                                 SAN JUAN     PR      00923
DIAZ GASCOT, EVA M          ADDRESS ON FILE
DIAZ GASCOT, MARY N         ADDRESS ON FILE
DIAZ GASTON, ZULEYKA        ADDRESS ON FILE
DIAZ GAUTHIER, DEMETRIO     ADDRESS ON FILE
DIAZ GERARDINO, WILLIAM     ADDRESS ON FILE
DIAZ GERENA, MILDRED A.     ADDRESS ON FILE
DIAZ GIACAMAN, ISMAEL       ADDRESS ON FILE
DIAZ GIERBOLINI, ADRIA      ADDRESS ON FILE
DIAZ GIERBOLINI, ZAIDA E.   ADDRESS ON FILE
DIAZ GINES, NILDA L.        ADDRESS ON FILE
DIAZ GODINEAUX, JOSE        ADDRESS ON FILE
DIAZ GOMEZ, ABRAHAM         ADDRESS ON FILE
DIAZ GOMEZ, ANTONIO         ADDRESS ON FILE
DIAZ GOMEZ, BIANCA          ADDRESS ON FILE
DIAZ GOMEZ, BLANCA M        ADDRESS ON FILE
DIAZ GOMEZ, CARLOS          ADDRESS ON FILE
Diaz Gomez, Carmen          ADDRESS ON FILE
DIAZ GOMEZ, CAROL           ADDRESS ON FILE
DIAZ GOMEZ, CAROL A.        ADDRESS ON FILE
DIAZ GOMEZ, CHRYSTAL        ADDRESS ON FILE
DIAZ GOMEZ, EDIVELISSE      ADDRESS ON FILE
Diaz Gomez, Elemuel         ADDRESS ON FILE
DIAZ GOMEZ, FELICITA        ADDRESS ON FILE
DIAZ GOMEZ, FRANCIS         ADDRESS ON FILE




                                                                                Page 2308 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2309 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ GOMEZ, JANAI           ADDRESS ON FILE
DIAZ GOMEZ, JANICE          ADDRESS ON FILE
DIAZ GOMEZ, JESUS           ADDRESS ON FILE
DIAZ GOMEZ, JOAN M          ADDRESS ON FILE
DIAZ GOMEZ, JOSE            ADDRESS ON FILE
DIAZ GOMEZ, JUAN            ADDRESS ON FILE
Diaz Gomez, Juan P          ADDRESS ON FILE
DIAZ GOMEZ, MADELAINE       ADDRESS ON FILE
DIAZ GOMEZ, MARIA           ADDRESS ON FILE
DIAZ GOMEZ, MIGUEL A        ADDRESS ON FILE
DIAZ GOMEZ, ORLANDO         ADDRESS ON FILE
Diaz Gomez, Pablo           ADDRESS ON FILE
DIAZ GOMEZ, RAFAEL          ADDRESS ON FILE
DIAZ GOMEZ, RAMON L         ADDRESS ON FILE
DIAZ GOMEZ, RAMON M         ADDRESS ON FILE
DIAZ GOMEZ, RICARDO         ADDRESS ON FILE
DIAZ GOMEZ, ROSALIA         ADDRESS ON FILE
DIAZ GOMEZ, WANDA E         ADDRESS ON FILE
DIAZ GOMEZ, WANDA I.        ADDRESS ON FILE
DIAZ GOMEZ, YOLANDA         ADDRESS ON FILE
DIAZ GONZALES, ADALINA      ADDRESS ON FILE
DIAZ GONZALEZ MD, LUIS      ADDRESS ON FILE
DIAZ GONZALEZ, ADA E        ADDRESS ON FILE
DIAZ GONZALEZ, ADALINA      ADDRESS ON FILE
DIAZ GONZALEZ, ADRIANA      ADDRESS ON FILE
Diaz Gonzalez, Aida L       ADDRESS ON FILE
DIAZ GONZALEZ, AIXA V.      ADDRESS ON FILE
DIAZ GONZALEZ, ALFREDO      ADDRESS ON FILE
DIAZ GONZALEZ, ALFREDO      ADDRESS ON FILE
DIAZ GONZALEZ, ANA          ADDRESS ON FILE
DIAZ GONZALEZ, ANA          ADDRESS ON FILE
DIAZ GONZALEZ, ANDRES       ADDRESS ON FILE
DIAZ GONZALEZ, ANGEL        ADDRESS ON FILE
DIAZ GONZALEZ, ARGIE        ADDRESS ON FILE
DIAZ GONZALEZ, AUREA E      ADDRESS ON FILE
DIAZ GONZALEZ, BENIGNO      ADDRESS ON FILE
DIAZ GONZALEZ, BETHZAIDA    ADDRESS ON FILE
DIAZ GONZALEZ, BIENVENIDO   ADDRESS ON FILE
DIAZ GONZALEZ, BRUNILDA     ADDRESS ON FILE
DIAZ GONZALEZ, CARLOS       ADDRESS ON FILE
DIAZ GONZALEZ, CARLOS A     ADDRESS ON FILE
DIAZ GONZALEZ, CARLOS L.    ADDRESS ON FILE
DIAZ GONZALEZ, CARMEN       ADDRESS ON FILE
DIAZ GONZALEZ, CARMEN       ADDRESS ON FILE
DIAZ GONZALEZ, CARMEN D     ADDRESS ON FILE
DIAZ GONZALEZ, CARMEN D     ADDRESS ON FILE
DIAZ GONZALEZ, CARMEN E.    ADDRESS ON FILE
DIAZ GONZALEZ, CARMEN M     ADDRESS ON FILE
DIAZ GONZALEZ, DARLENE      ADDRESS ON FILE
DIAZ GONZALEZ, DARLENE      ADDRESS ON FILE
DIAZ GONZALEZ, DELIA E.     ADDRESS ON FILE
DIAZ GONZALEZ, EDGARDO      ADDRESS ON FILE
DIAZ GONZALEZ, EDUARDO      ADDRESS ON FILE
DIAZ GONZALEZ, EDWIN        ADDRESS ON FILE
DIAZ GONZALEZ, EDWIN        ADDRESS ON FILE
DIAZ GONZALEZ, ELIZABETH    ADDRESS ON FILE
DIAZ GONZALEZ, ESTHER       ADDRESS ON FILE
DIAZ GONZALEZ, EUGENIO      ADDRESS ON FILE
DIAZ GONZALEZ, EVINETTE     ADDRESS ON FILE
DIAZ GONZALEZ, FERNANDO     ADDRESS ON FILE




                                                                        Page 2309 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2310 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ GONZALEZ, FLOR DE M       ADDRESS ON FILE
DIAZ GONZALEZ, FLORMARIE       ADDRESS ON FILE
DIAZ GONZALEZ, FRANCISCO       ADDRESS ON FILE
DIAZ GONZALEZ, GABRIELA        ADDRESS ON FILE
DIAZ GONZALEZ, GERARDO         ADDRESS ON FILE
DIAZ GONZALEZ, GERARDO         ADDRESS ON FILE
DIAZ GONZALEZ, GLORIA          ADDRESS ON FILE
DIAZ GONZALEZ, GLORIA          ADDRESS ON FILE
DIAZ GONZALEZ, GLORIA E.       ADDRESS ON FILE
DIAZ GONZALEZ, GLORIMAR        ADDRESS ON FILE
DIAZ GONZALEZ, GREGORIO        ADDRESS ON FILE
DIAZ GONZALEZ, HAYDEE          ADDRESS ON FILE
DIAZ GONZALEZ, HECTOR          ADDRESS ON FILE
DIAZ GONZALEZ, HECTOR A        ADDRESS ON FILE
DIAZ GONZALEZ, HECTOR H.       ADDRESS ON FILE
DIAZ GONZALEZ, HECTOR RAFAEL   ADDRESS ON FILE
Diaz Gonzalez, Heriberto       ADDRESS ON FILE
DIAZ GONZALEZ, HILDA           ADDRESS ON FILE
DIAZ GONZALEZ, IANCARLOS       ADDRESS ON FILE
DIAZ GONZALEZ, ILEANA          ADDRESS ON FILE
DIAZ GONZALEZ, ILIA            ADDRESS ON FILE
DIAZ GONZALEZ, IRIS Y.         ADDRESS ON FILE
DIAZ GONZALEZ, IRMA M          ADDRESS ON FILE
DIAZ GONZALEZ, ISABEL          ADDRESS ON FILE
Diaz Gonzalez, Ismael          ADDRESS ON FILE
DIAZ GONZALEZ, ISMAEL          ADDRESS ON FILE
DIAZ GONZALEZ, IVAN            ADDRESS ON FILE
DIAZ GONZALEZ, IVAN            ADDRESS ON FILE
DIAZ GONZALEZ, IVETTE S.       ADDRESS ON FILE
DIAZ GONZALEZ, JANET           ADDRESS ON FILE
DIAZ GONZALEZ, JAVIER          ADDRESS ON FILE
DIAZ GONZALEZ, JAVIER          ADDRESS ON FILE
DIAZ GONZALEZ, JESUS           ADDRESS ON FILE
DIAZ GONZALEZ, JOANY           ADDRESS ON FILE
DIAZ GONZALEZ, JONATHAN        ADDRESS ON FILE
DIAZ GONZALEZ, JONATHAN        ADDRESS ON FILE
Diaz Gonzalez, Jorge L         ADDRESS ON FILE
DIAZ GONZALEZ, JOSE            ADDRESS ON FILE
DIAZ GONZALEZ, JOSE            ADDRESS ON FILE
Diaz Gonzalez, Jose A          ADDRESS ON FILE
Diaz Gonzalez, Juan H          ADDRESS ON FILE
DIAZ GONZALEZ, JULIANA         ADDRESS ON FILE
DIAZ GONZALEZ, JULIO C         ADDRESS ON FILE
DIAZ GONZALEZ, KINTHIA         ADDRESS ON FILE
DIAZ GONZALEZ, LEONARDO        ADDRESS ON FILE
DIAZ GONZALEZ, LEONOR          ADDRESS ON FILE
DIAZ GONZALEZ, LIZ             ADDRESS ON FILE
Diaz Gonzalez, Liz Y           ADDRESS ON FILE
DIAZ GONZALEZ, LUIS A.         ADDRESS ON FILE
DIAZ GONZALEZ, LUIS F          ADDRESS ON FILE
DIAZ GONZALEZ, LUIS M          ADDRESS ON FILE
DIAZ GONZALEZ, LUZ M           ADDRESS ON FILE
DIAZ GONZALEZ, LUZ N.          ADDRESS ON FILE
DIAZ GONZALEZ, MAGALI          ADDRESS ON FILE
DIAZ GONZALEZ, MAGDALENA       ADDRESS ON FILE
DIAZ GONZALEZ, MAILYN          ADDRESS ON FILE
Diaz Gonzalez, Manuel          ADDRESS ON FILE
DIAZ GONZALEZ, MANUELA         ADDRESS ON FILE
DIAZ GONZALEZ, MARIA           ADDRESS ON FILE
DIAZ GONZALEZ, MARIA DE L      ADDRESS ON FILE




                                                                           Page 2310 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2311 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ GONZALEZ, MARIA DEL P    ADDRESS ON FILE
Diaz Gonzalez, Maria Isabel   ADDRESS ON FILE
DIAZ GONZALEZ, MARILIS        ADDRESS ON FILE
DIAZ GONZALEZ, MARILYN        ADDRESS ON FILE
DIAZ GONZALEZ, MARISELLA      ADDRESS ON FILE
DIAZ GONZALEZ, MARISOL        ADDRESS ON FILE
DIAZ GONZALEZ, MARISOL        ADDRESS ON FILE
DIAZ GONZALEZ, MARLEN         ADDRESS ON FILE
DIAZ GONZALEZ, MARY           ADDRESS ON FILE
DIAZ GONZALEZ, MAYDA          ADDRESS ON FILE
Diaz Gonzalez, Melisa         ADDRESS ON FILE
DIAZ GONZALEZ, MELISSA        ADDRESS ON FILE
DIAZ GONZALEZ, MICHAEL        ADDRESS ON FILE
DIAZ GONZALEZ, MICHAEL        ADDRESS ON FILE
DIAZ GONZALEZ, MILITZA        ADDRESS ON FILE
DIAZ GONZALEZ, MILKA          ADDRESS ON FILE
DIAZ GONZALEZ, MIRIAM         ADDRESS ON FILE
DIAZ GONZALEZ, MOISES         ADDRESS ON FILE
DIAZ GONZALEZ, MYRIAM         ADDRESS ON FILE
DIAZ GONZALEZ, NATHANIEL      ADDRESS ON FILE
DIAZ GONZALEZ, NELLY          ADDRESS ON FILE
DIAZ GONZALEZ, NELLY I        ADDRESS ON FILE
DIAZ GONZALEZ, NICOLE         ADDRESS ON FILE
DIAZ GONZALEZ, NILDA          ADDRESS ON FILE
DIAZ GONZALEZ, NILDA I        ADDRESS ON FILE
DIAZ GONZALEZ, NILSA Y.       ADDRESS ON FILE
Diaz Gonzalez, Orlando        ADDRESS ON FILE
DIAZ GONZALEZ, PEDRO L        ADDRESS ON FILE
DIAZ GONZALEZ, PRISCILIANO    ADDRESS ON FILE
DIAZ GONZALEZ, RADAMES        ADDRESS ON FILE
DIAZ GONZALEZ, RAMON          ADDRESS ON FILE
DIAZ GONZALEZ, RAUL           ADDRESS ON FILE
DIAZ GONZALEZ, ROBINSON       ADDRESS ON FILE
DIAZ GONZALEZ, ROSA I         ADDRESS ON FILE
DIAZ GONZALEZ, ROSANNA        ADDRESS ON FILE
DIAZ GONZALEZ, ROSITA         ADDRESS ON FILE
DIAZ GONZALEZ, SARA           ADDRESS ON FILE
DIAZ GONZALEZ, SARIBELLE      ADDRESS ON FILE
DIAZ GONZALEZ, SARINET        ADDRESS ON FILE
DIAZ GONZALEZ, SONIA          ADDRESS ON FILE
DIAZ GONZALEZ, SONIA N        ADDRESS ON FILE
DIAZ GONZALEZ, STEPHANIE      ADDRESS ON FILE
DIAZ GONZALEZ, SULLINETTE     ADDRESS ON FILE
DIAZ GONZALEZ, TOMAS          ADDRESS ON FILE
DIAZ GONZALEZ, VERONICA       ADDRESS ON FILE
Diaz Gonzalez, Vivian         ADDRESS ON FILE
DIAZ GONZALEZ, WANDA          ADDRESS ON FILE
Diaz Gonzalez, Wanda I        ADDRESS ON FILE
DIAZ GONZALEZ, WANDA I.       ADDRESS ON FILE
DIAZ GONZALEZ, WANDA R        ADDRESS ON FILE
DIAZ GONZALEZ, WILLIAM J      ADDRESS ON FILE
DIAZ GONZALEZ, WILMA          ADDRESS ON FILE
DIAZ GONZALEZ, YADIRA         ADDRESS ON FILE
DIAZ GONZALEZ, YAIRA B        ADDRESS ON FILE
DIAZ GONZALEZ, YAZMIN         ADDRESS ON FILE
DIAZ GONZALEZ, YOMARA         ADDRESS ON FILE
DIAZ GONZALEZ, ZAIDA          ADDRESS ON FILE
DIAZ GONZALEZ, ZORYMIL        ADDRESS ON FILE
DIAZ GONZALEZ, ZULEIKA        ADDRESS ON FILE
DIAZ GORRITZ, CARMEN J        ADDRESS ON FILE




                                                                          Page 2311 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2312 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ GORRITZ, JORGE             ADDRESS ON FILE
DIAZ GORRITZ, MIGDALIA          ADDRESS ON FILE
DIAZ GORRITZ, SUZIE BELLE       ADDRESS ON FILE
DIAZ GOYTIA, MARIA              ADDRESS ON FILE
DIAZ GRACIA, BRENDA L           ADDRESS ON FILE
DIAZ GRACIANI, RUBEN            ADDRESS ON FILE
DIAZ GRAFAL, MARIA TERESA       ADDRESS ON FILE
DIAZ GRANADOS GOMEZ, MONICA D   ADDRESS ON FILE
DIAZ GUADALUPE, JEANNETTE       ADDRESS ON FILE
DIAZ GUADALUPE, LUZ M           ADDRESS ON FILE
DIAZ GUADALUPE, MARGIE          ADDRESS ON FILE
DIAZ GUADALUPE, WILLIAM         ADDRESS ON FILE
DIAZ GUADALUPE, WILLIAM         ADDRESS ON FILE
DIAZ GUAL, CANDIDO              ADDRESS ON FILE
DIAZ GUARDIOLA, MADELINE        ADDRESS ON FILE
DIAZ GUEITS, MAYRA I            ADDRESS ON FILE
DIAZ GUERRERO, MARISOL          ADDRESS ON FILE
DIAZ GUEVARA, EDGARDO           ADDRESS ON FILE
DIAZ GUEVARA, EDITH             ADDRESS ON FILE
DIAZ GUEVARA, ERIC ANTONIO      ADDRESS ON FILE
DIAZ GUEVARA, MARIA C           ADDRESS ON FILE
DIAZ GUEVAREZ, DALYNET          ADDRESS ON FILE
DIAZ GUEVAREZ, MARY C           ADDRESS ON FILE
DIAZ GUILFU, NORAIDA            ADDRESS ON FILE
DIAZ GUTIERREZ, IRIS Y          ADDRESS ON FILE
DIAZ GUTIERREZ, KENNETH         ADDRESS ON FILE
DIAZ GUZMAN, AIDA L             ADDRESS ON FILE
DIAZ GUZMAN, CARMEN M           ADDRESS ON FILE
DIAZ GUZMAN, CARMEN M           ADDRESS ON FILE
DIAZ GUZMAN, DIANA              ADDRESS ON FILE
DIAZ GUZMAN, DIANA I            ADDRESS ON FILE
Diaz Guzman, Edwin              ADDRESS ON FILE
DIAZ GUZMAN, ERIC               ADDRESS ON FILE
DIAZ GUZMAN, GLORIA M           ADDRESS ON FILE
DIAZ GUZMAN, HECTOR             ADDRESS ON FILE
Diaz Guzman, Ivan C             ADDRESS ON FILE
DIAZ GUZMAN, IVETTE             ADDRESS ON FILE
DIAZ GUZMAN, IVONNE E           ADDRESS ON FILE
Diaz Guzman, Jeatneciv          ADDRESS ON FILE
DIAZ GUZMAN, JOEL               ADDRESS ON FILE
DIAZ GUZMAN, JOSE               ADDRESS ON FILE
DIAZ GUZMAN, JOSE               ADDRESS ON FILE
DIAZ GUZMAN, LOURDES            ADDRESS ON FILE
DIAZ GUZMAN, LUIS               ADDRESS ON FILE
DIAZ GUZMAN, LUIS A.            ADDRESS ON FILE
DIAZ GUZMAN, LUIS ANTONIO       ADDRESS ON FILE
DIAZ GUZMAN, MADELINE           ADDRESS ON FILE
DIAZ GUZMAN, MARIA L            ADDRESS ON FILE
DIAZ GUZMAN, MIGDALIA           ADDRESS ON FILE
DIAZ GUZMAN, NORMA              ADDRESS ON FILE
Diaz Guzman, Pablo A            ADDRESS ON FILE
DIAZ GUZMAN, VICTOR             ADDRESS ON FILE
DIAZ GUZMAN, YARIMAR            ADDRESS ON FILE
DIAZ GUZMAN, ZORAIDA            ADDRESS ON FILE
DIAZ HAMILTON, ELYEKEE          ADDRESS ON FILE
DIAZ HEREDIA, DAVID             ADDRESS ON FILE
Diaz Heredia, Jose L            ADDRESS ON FILE
DIAZ HEREDIA, JUAN              ADDRESS ON FILE
Diaz Heredia, Maria I.          ADDRESS ON FILE
DIAZ HERNAIZ, IRAIDA            ADDRESS ON FILE




                                                                            Page 2312 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2313 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ HERNANDEZ MD, ANTONIO L   ADDRESS ON FILE
DIAZ HERNANDEZ MD, CARMEN L    ADDRESS ON FILE
DIAZ HERNANDEZ, ADALBERTO      ADDRESS ON FILE
DIAZ HERNANDEZ, AIXA           ADDRESS ON FILE
DIAZ HERNANDEZ, ALBA           ADDRESS ON FILE
DIAZ HERNANDEZ, ALEX           ADDRESS ON FILE
DIAZ HERNANDEZ, ALEXIS         ADDRESS ON FILE
DIAZ HERNANDEZ, ALFONSO        ADDRESS ON FILE
DIAZ HERNANDEZ, ALICE          ADDRESS ON FILE
DIAZ HERNANDEZ, ANABEL         ADDRESS ON FILE
DIAZ HERNANDEZ, ANDRES         ADDRESS ON FILE
DIAZ HERNANDEZ, ANGEL          ADDRESS ON FILE
DIAZ HERNANDEZ, ANGEL          ADDRESS ON FILE
DIAZ HERNANDEZ, ANIBAL         ADDRESS ON FILE
DIAZ HERNANDEZ, ANILYN         ADDRESS ON FILE
DIAZ HERNANDEZ, ARIEL          ADDRESS ON FILE
DIAZ HERNANDEZ, ARNALDA B.     ADDRESS ON FILE
DIAZ HERNANDEZ, ARTURO         ADDRESS ON FILE
DIAZ HERNANDEZ, BRENDA         ADDRESS ON FILE
DIAZ HERNANDEZ, CARMEN         ADDRESS ON FILE
DIAZ HERNANDEZ, CARMEN G.      ADDRESS ON FILE
DIAZ HERNANDEZ, CARMEN L       ADDRESS ON FILE
DIAZ HERNANDEZ, CARMEN M       ADDRESS ON FILE
DIAZ HERNANDEZ, CARY L         ADDRESS ON FILE
DIAZ HERNANDEZ, CHRISTIAN      ADDRESS ON FILE
DIAZ HERNANDEZ, DAFNE M        ADDRESS ON FILE
DIAZ HERNANDEZ, DANIEL         ADDRESS ON FILE
DIAZ HERNANDEZ, ELBA N.        ADDRESS ON FILE
DIAZ HERNANDEZ, FRANCISCO      ADDRESS ON FILE
DIAZ HERNANDEZ, FRANCISCO      ADDRESS ON FILE
DIAZ HERNANDEZ, GERMAN         ADDRESS ON FILE
DIAZ HERNANDEZ, GLORIA S       ADDRESS ON FILE
DIAZ HERNANDEZ, GREGORIO       ADDRESS ON FILE
DIAZ HERNANDEZ, HECTOR         ADDRESS ON FILE
DIAZ HERNANDEZ, HECTOR         ADDRESS ON FILE
DIAZ HERNANDEZ, HERMINIO       ADDRESS ON FILE
DIAZ HERNANDEZ, HERMINIO       ADDRESS ON FILE
DIAZ HERNANDEZ, IRAIDA M       ADDRESS ON FILE
DIAZ HERNANDEZ, IRIS           ADDRESS ON FILE
DIAZ HERNANDEZ, IRIS N         ADDRESS ON FILE
DIAZ HERNANDEZ, IRIS S         ADDRESS ON FILE
Diaz Hernandez, Ismael         ADDRESS ON FILE
DIAZ HERNANDEZ, ISMAEL         ADDRESS ON FILE
DIAZ HERNANDEZ, IVONNE         ADDRESS ON FILE
DIAZ HERNANDEZ, JAVIER         ADDRESS ON FILE
DIAZ HERNANDEZ, JAVIER         ADDRESS ON FILE
DIAZ HERNANDEZ, JEANETTE       ADDRESS ON FILE
DIAZ HERNANDEZ, JEANETTE       ADDRESS ON FILE
DIAZ HERNANDEZ, JESSICA D.     ADDRESS ON FILE
DIAZ HERNANDEZ, JOEL           ADDRESS ON FILE
DIAZ HERNANDEZ, JORGE          ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE           ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE           ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE D         ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE E         ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE J.        ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE M         ADDRESS ON FILE
DIAZ HERNANDEZ, JOSE RAMON     ADDRESS ON FILE
DIAZ HERNANDEZ, JUAN           ADDRESS ON FILE
DIAZ HERNANDEZ, JUAN R         ADDRESS ON FILE




                                                                           Page 2313 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2314 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ HERNANDEZ, JUAN R     ADDRESS ON FILE
DIAZ HERNANDEZ, KARLA M    ADDRESS ON FILE
DIAZ HERNANDEZ, LUIS A     ADDRESS ON FILE
DIAZ HERNANDEZ, MARIA      ADDRESS ON FILE
DIAZ HERNANDEZ, MARISOL    ADDRESS ON FILE
DIAZ HERNANDEZ, MICHAEL    ADDRESS ON FILE
DIAZ HERNANDEZ, MIGUEL     ADDRESS ON FILE
DIAZ HERNANDEZ, MIGUEL     ADDRESS ON FILE
DIAZ HERNANDEZ, MIRSA      ADDRESS ON FILE
DIAZ HERNANDEZ, MONICA     ADDRESS ON FILE
DIAZ HERNANDEZ, MORAIMA    ADDRESS ON FILE
DIAZ HERNANDEZ, NATALIEM   ADDRESS ON FILE
DIAZ HERNANDEZ, NEIDA I    ADDRESS ON FILE
DIAZ HERNANDEZ, NELLY E    ADDRESS ON FILE
DIAZ HERNANDEZ, NEREIDA    ADDRESS ON FILE
DIAZ HERNANDEZ, NOEL       ADDRESS ON FILE
DIAZ HERNANDEZ, PEDRO      ADDRESS ON FILE
DIAZ HERNANDEZ, RADAMES    ADDRESS ON FILE
Diaz Hernandez, Rafael     ADDRESS ON FILE
DIAZ HERNANDEZ, RAFAEL     ADDRESS ON FILE
DIAZ HERNANDEZ, RAMON L.   ADDRESS ON FILE
DIAZ HERNANDEZ, REBECA     ADDRESS ON FILE
DIAZ HERNANDEZ, RITA Z     ADDRESS ON FILE
DIAZ HERNANDEZ, ROSA       ADDRESS ON FILE
DIAZ HERNANDEZ, ROSALIE    ADDRESS ON FILE
DIAZ HERNANDEZ, SINTHIA    ADDRESS ON FILE
DIAZ HERNANDEZ, SINTHIA    ADDRESS ON FILE
DIAZ HERNANDEZ, THANEA     ADDRESS ON FILE
Diaz Hernandez, Wilfredo   ADDRESS ON FILE
DIAZ HERNANDEZ, WILLIAM    ADDRESS ON FILE
DIAZ HERNANDEZ, WILMARIE   ADDRESS ON FILE
DIAZ HERNANDEZ, YAER       ADDRESS ON FILE
DIAZ HERNANDEZ, YARITZA    ADDRESS ON FILE
DIAZ HERNANDEZ, YOBEN      ADDRESS ON FILE
DIAZ HERNANDEZ, ZENIMAR    ADDRESS ON FILE
DIAZ HERRERA, ALICIA       ADDRESS ON FILE
DIAZ HERRERA, DANIEL       ADDRESS ON FILE
DIAZ HERRERA, WILLIAM      ADDRESS ON FILE
DIAZ HEVIA, BELKIS Y       ADDRESS ON FILE
DIAZ HICIANO, WILLIAM      ADDRESS ON FILE
DIAZ HILL, GILBERTO        ADDRESS ON FILE
DIAZ HINIRIO, LAWTON       ADDRESS ON FILE
DIAZ HIRALDO, NITZAMARIE   ADDRESS ON FILE
DIAZ HOLGUIN, CARLOS       ADDRESS ON FILE
DIAZ HUERTAS, ALBERTO      ADDRESS ON FILE
DIAZ HUERTAS, ASHLEY       ADDRESS ON FILE
DIAZ HUERTAS, CARMEN M     ADDRESS ON FILE
DIAZ HUERTAS, EDUARDO      ADDRESS ON FILE
DIAZ HUERTAS, JUAN         ADDRESS ON FILE
DIAZ HUERTAS, JUAN         ADDRESS ON FILE
DIAZ HUERTAS, MAYRA D.     ADDRESS ON FILE
DIAZ HUERTAS, RUTH M       ADDRESS ON FILE
DIAZ IGLESIAS, FRANCISCO   ADDRESS ON FILE
DIAZ IGLESIAS, IVAN        ADDRESS ON FILE
DIAZ ILDEFONSO, REINALDO   ADDRESS ON FILE
DIAZ ILDEFONSO, SARAFER    ADDRESS ON FILE
DIAZ ILLAS, CARMEN         ADDRESS ON FILE
DIAZ ILLAS, CARMEN M       ADDRESS ON FILE
DIAZ ILLAS, JANET          ADDRESS ON FILE
DIAZ INFANTE, CARLOS       ADDRESS ON FILE




                                                                       Page 2314 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2315 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3          Address4      City      State   PostalCode   Country
DIAZ IRIGOYEN, CARLOS A     ADDRESS ON FILE
DIAZ IRIZARRY MIGUEL A.     DERECHO PROPIO            PONCE MÍNIMA                     FASE I MÓDULO C   PO BOX 7285   PONCE     PR      00732
DIAZ IRIZARRY, CYNTHIA      ADDRESS ON FILE
DIAZ IRIZARRY, JOEL         ADDRESS ON FILE
DIAZ IRIZARRY, LIZ Z        ADDRESS ON FILE
DIAZ IRIZARRY, LUIS         ADDRESS ON FILE
DIAZ IRIZARRY, SABY         ADDRESS ON FILE
Diaz Irizarry, Saby J.      ADDRESS ON FILE
DIAZ IRIZARRY, VERONICA     ADDRESS ON FILE
DIAZ ISAAC, ZAID            ADDRESS ON FILE
DIAZ ITURBE,MONICA          ADDRESS ON FILE
DIAZ ITURREGUI, MARY        ADDRESS ON FILE
DIAZ JAIMAN, GONZALO        ADDRESS ON FILE
DIAZ JAIME, FRANCISCO       ADDRESS ON FILE
DIAZ JAIME, MELVIN          ADDRESS ON FILE
DIAZ JAMES, DAISY           ADDRESS ON FILE
DIAZ JANER, CARMEN L        ADDRESS ON FILE
DIAZ JEANNOT, JERRY         ADDRESS ON FILE
DIAZ JIMENEZ, ANGEL L       ADDRESS ON FILE
DIAZ JIMENEZ, BRENDA        ADDRESS ON FILE
DIAZ JIMENEZ, CARMEN        ADDRESS ON FILE
DIAZ JIMENEZ, ELBA J        ADDRESS ON FILE
DIAZ JIMENEZ, EVELYN        ADDRESS ON FILE
DIAZ JIMENEZ, GRISELLE      ADDRESS ON FILE
DIAZ JIMENEZ, JANNELLY M.   ADDRESS ON FILE
DIAZ JIMENEZ, JOSE          ADDRESS ON FILE
DIAZ JIMENEZ, KRISIALIS     ADDRESS ON FILE
DIAZ JIMENEZ, LUIS          ADDRESS ON FILE
DIAZ JIMENEZ, LUZ M         ADDRESS ON FILE
DIAZ JIMENEZ, MABEL         ADDRESS ON FILE
Diaz Jimenez, Marcial       ADDRESS ON FILE
DIAZ JIMENEZ, MARIA DEL     ADDRESS ON FILE
DIAZ JIMENEZ, PEDRO         ADDRESS ON FILE
DIAZ JIMENEZ, VIVIAN Y      ADDRESS ON FILE
DIAZ JIMENEZ, ZIOMARIE      ADDRESS ON FILE
DIAZ JORDAN, HUGO           ADDRESS ON FILE
DIAZ JORGE, CARMEN          ADDRESS ON FILE
DIAZ JORGE, GRACE           ADDRESS ON FILE
DIAZ JOURDAN, MILENI        ADDRESS ON FILE
DIAZ JOVE, MANUEL           ADDRESS ON FILE
DIAZ JUAN, JOSE             ADDRESS ON FILE
DIAZ JUARBE, MAYRA I        ADDRESS ON FILE
DIAZ JUARBE, ROBERTO        ADDRESS ON FILE
DIAZ JUARBE, YELITZA        ADDRESS ON FILE
DIAZ JUAREZ, JOSE           ADDRESS ON FILE
DIAZ JUAREZ, JOSE A.        ADDRESS ON FILE
DIAZ JUAREZ, JULIA I        ADDRESS ON FILE
DIAZ JUAREZ, JULIA I        ADDRESS ON FILE
DIAZ JUMELLES, IRCANIA      ADDRESS ON FILE
DIAZ JUMELLES, ROSSELLENY   ADDRESS ON FILE
DIAZ JUSTINIANO, JULIO      ADDRESS ON FILE
DIAZ LA PUERTA, JULIO       ADDRESS ON FILE
Diaz La Santa, Jose         ADDRESS ON FILE
DIAZ LABOY, ALICIA E        ADDRESS ON FILE
Diaz Laboy, Alicia E.       ADDRESS ON FILE
DIAZ LABOY, ALICIA E.       ADDRESS ON FILE
DIAZ LABOY, ANA             ADDRESS ON FILE
Diaz Laboy, Ana M.          ADDRESS ON FILE
DIAZ LABOY, ANA MARIA       ADDRESS ON FILE
Diaz Laboy, Carlos A.       ADDRESS ON FILE




                                                                        Page 2315 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2316 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ LABOY, CARMEN          ADDRESS ON FILE
DIAZ LABOY, EFRAIN A        ADDRESS ON FILE
DIAZ LABOY, ENRIQUE         ADDRESS ON FILE
DIAZ LABOY, GLICELY         ADDRESS ON FILE
DIAZ LABOY, JANET           ADDRESS ON FILE
DIAZ LABOY, JEANCARLO       ADDRESS ON FILE
DIAZ LABOY, MAGDALENA       ADDRESS ON FILE
DIAZ LABOY, MARIA M         ADDRESS ON FILE
DIAZ LABOY, MICHELLE        ADDRESS ON FILE
DIAZ LABRADOR, MIGUEL       ADDRESS ON FILE
DIAZ LAGUNA, MILAGROS       ADDRESS ON FILE
DIAZ LAGUNA, NILSA          ADDRESS ON FILE
DIAZ LAMBERTY, ENID A       ADDRESS ON FILE
DIAZ LAPORTE, CESAR         ADDRESS ON FILE
DIAZ LAPORTE, CESAR A       ADDRESS ON FILE
DIAZ LARA, VICTOR           ADDRESS ON FILE
DIAZ LARRAURI, CRUZ E       ADDRESS ON FILE
DIAZ LASALLE, HENRY         ADDRESS ON FILE
DIAZ LASANTA, EDGAR         ADDRESS ON FILE
DIAZ LASANTA, TOMAS         ADDRESS ON FILE
DIAZ LAUREANO, ALEXIS       ADDRESS ON FILE
DIAZ LAUREANO, BENITO       ADDRESS ON FILE
DIAZ LAUREANO, RAMON        ADDRESS ON FILE
DIAZ LAVIENA, DECIREE       ADDRESS ON FILE
DIAZ LAZU, CARMEN A         ADDRESS ON FILE
DIAZ LEBRON ,COL. EMILIO    ADDRESS ON FILE
DIAZ LEBRON, ALBERTO        ADDRESS ON FILE
DIAZ LEBRON, ALBERTO        ADDRESS ON FILE
DIAZ LEBRON, ARTEMIO        ADDRESS ON FILE
DIAZ LEBRON, CARLOS         ADDRESS ON FILE
Diaz Lebron, Carmelo        ADDRESS ON FILE
Diaz Lebron, Carmen I       ADDRESS ON FILE
DIAZ LEBRON, CLEMENTINA     ADDRESS ON FILE
DIAZ LEBRON, ESTHER         ADDRESS ON FILE
Diaz Lebron, Gilberto       ADDRESS ON FILE
Diaz Lebron, Gretchen Y     ADDRESS ON FILE
DIAZ LEBRON, GRISEL I       ADDRESS ON FILE
DIAZ LEBRON, JOHN           ADDRESS ON FILE
Diaz Lebron, Johnny         ADDRESS ON FILE
Diaz Lebron, Juan C.        ADDRESS ON FILE
DIAZ LEBRON, MARIA DE L     ADDRESS ON FILE
DIAZ LEBRON, NILDA          ADDRESS ON FILE
Diaz Lebron, Orlando        ADDRESS ON FILE
DIAZ LEBRON, ORLANDO        ADDRESS ON FILE
DIAZ LEBRON, PABLO          ADDRESS ON FILE
DIAZ LEBRON, RICARDO        ADDRESS ON FILE
DIAZ LEBRON, SANDRA         ADDRESS ON FILE
DIAZ LEBRON, SANDRA I       ADDRESS ON FILE
DIAZ LEON, DANIEL           ADDRESS ON FILE
Diaz Leon, Daniel Orlando   ADDRESS ON FILE
DIAZ LEON, GABRIEL          ADDRESS ON FILE
DIAZ LEON, JEYSON           ADDRESS ON FILE
DIAZ LEON, JOSE A.          ADDRESS ON FILE
DIAZ LEON, KARILYN          ADDRESS ON FILE
DIAZ LEON, LETICIA          ADDRESS ON FILE
DIAZ LEON, LETICIA          ADDRESS ON FILE
DIAZ LEON, LOYDA E.         ADDRESS ON FILE
DIAZ LEON, LUZ M            ADDRESS ON FILE
DIAZ LEON, MARICARMEN       ADDRESS ON FILE
DIAZ LEON, ROBERTO          ADDRESS ON FILE




                                                                        Page 2316 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2317 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ LEON, SUREILY             ADDRESS ON FILE
DIAZ LEON, ZENAIDA V           ADDRESS ON FILE
DIAZ LINARES, JOSE             ADDRESS ON FILE
DIAZ LINDSEY, ROLANDO J        ADDRESS ON FILE
DIAZ LIZARDI, LILLIAM          ADDRESS ON FILE
DIAZ LLANOS, NESHMAYDA         ADDRESS ON FILE
DIAZ LLERAS, ARNALDO           ADDRESS ON FILE
DIAZ LLERAS, ARNALDO           ADDRESS ON FILE
DIAZ LLORENS, CARLOS M         ADDRESS ON FILE
DIAZ LLUBERAS, URIAM A         ADDRESS ON FILE
DIAZ LOPEZ CEPERO, RHEANGELI   ADDRESS ON FILE
DIAZ LOPEZ CEPERO, SORAYALI    ADDRESS ON FILE
DIAZ LOPEZ LUIS                HÉCTOR CASTRO             PO BOX 227                                             YABUCOA      PR      00767‐0227
DIAZ LOPEZ, ADA L              ADDRESS ON FILE
DIAZ LOPEZ, ADIANA             ADDRESS ON FILE
DIAZ LOPEZ, AGAPITO            ADDRESS ON FILE
Diaz Lopez, Agustin            ADDRESS ON FILE
DIAZ LOPEZ, ALICIA             ADDRESS ON FILE
DIAZ LOPEZ, AMOS               ADDRESS ON FILE
DIAZ LOPEZ, ANA D              ADDRESS ON FILE
DIAZ LOPEZ, ANA M              ADDRESS ON FILE
DIAZ LOPEZ, ANA M              ADDRESS ON FILE
DIAZ LOPEZ, ANGELICA           ADDRESS ON FILE
Diaz Lopez, Anibal             ADDRESS ON FILE
DIAZ LOPEZ, ANIBAL             ADDRESS ON FILE
DIAZ LOPEZ, ANIBAL             ADDRESS ON FILE
DIAZ LOPEZ, ARACELIS           ADDRESS ON FILE
DIAZ LOPEZ, ARACELIS           ADDRESS ON FILE
DIAZ LOPEZ, BARBARA            ADDRESS ON FILE
DIAZ LOPEZ, BARBARA            ADDRESS ON FILE
DIAZ LOPEZ, BRENDA R.          ADDRESS ON FILE
DIAZ LOPEZ, BRIAN              ADDRESS ON FILE
Diaz Lopez, Brian A.           ADDRESS ON FILE
DIAZ LOPEZ, CARMEN             ADDRESS ON FILE
DIAZ LOPEZ, CARMEN M           ADDRESS ON FILE
DIAZ LOPEZ, CARMEN Y           ADDRESS ON FILE
DIAZ LOPEZ, CAROLINE           ADDRESS ON FILE
DIAZ LOPEZ, CINTHIA            ADDRESS ON FILE
DIAZ LOPEZ, CLARIMAR           ADDRESS ON FILE
DIAZ LOPEZ, CRYSTHAL J         ADDRESS ON FILE
DIAZ LOPEZ, CYNTHIA            ADDRESS ON FILE
DIAZ LOPEZ, DAISY              ADDRESS ON FILE
DIAZ LOPEZ, DAVID              ADDRESS ON FILE
DIAZ LOPEZ, DAVID R.           ADDRESS ON FILE
DIAZ LOPEZ, DEBORAH            ADDRESS ON FILE
DIAZ LOPEZ, DIANETT            ADDRESS ON FILE
DIAZ LOPEZ, ELIZABETH          ADDRESS ON FILE
Diaz Lopez, Eric               ADDRESS ON FILE
DIAZ LOPEZ, ERIC               ADDRESS ON FILE
Diaz Lopez, Eric N.            ADDRESS ON FILE
DIAZ LOPEZ, EVELYN             ADDRESS ON FILE
DIAZ LOPEZ, EVELYN             ADDRESS ON FILE
DIAZ LOPEZ, FEDERICO           ADDRESS ON FILE
DIAZ LOPEZ, FELICITA           ADDRESS ON FILE
DIAZ LOPEZ, FELICITA           ADDRESS ON FILE
DIAZ LOPEZ, FRANCISCO          ADDRESS ON FILE
DIAZ LOPEZ, GABRIEL            ADDRESS ON FILE
DIAZ LOPEZ, GEORGINA           ADDRESS ON FILE
DIAZ LOPEZ, GLADYS E           ADDRESS ON FILE
DIAZ LOPEZ, GLORIA             ADDRESS ON FILE




                                                                           Page 2317 of 10031
                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                            The Commonwealth of Puerto Rico
                                                                                                                    Desc:
                                         Exhibit A-1 - Creditor     Matrix
                                                              Case No.              Page 2318 of 3500
                                                                       17 BK 3283‐LTS
                                                                      Creditor Matrix

Creditor Name           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ LOPEZ, GLORIANA    ADDRESS ON FILE
Diaz Lopez, Gregorio    ADDRESS ON FILE
DIAZ LOPEZ, GUILLERMO   ADDRESS ON FILE
DIAZ LOPEZ, HECTOR      ADDRESS ON FILE
DIAZ LOPEZ, HECTOR      ADDRESS ON FILE
DIAZ LOPEZ, HECTOR      ADDRESS ON FILE
Diaz Lopez, Helson      ADDRESS ON FILE
DIAZ LOPEZ, HENRY       ADDRESS ON FILE
DIAZ LOPEZ, HILDELISA   ADDRESS ON FILE
DIAZ LOPEZ, IDANIS      ADDRESS ON FILE
DIAZ LOPEZ, IRMA        ADDRESS ON FILE
Diaz Lopez, Irma I      ADDRESS ON FILE
DIAZ LOPEZ, ISABEL      ADDRESS ON FILE
Diaz Lopez, Ismael      ADDRESS ON FILE
DIAZ LOPEZ, IVAN        ADDRESS ON FILE
DIAZ LOPEZ, IVELISSE    ADDRESS ON FILE
DIAZ LOPEZ, IVONNE M    ADDRESS ON FILE
DIAZ LOPEZ, JOHANA      ADDRESS ON FILE
DIAZ LOPEZ, JOHANA      ADDRESS ON FILE
DIAZ LOPEZ, JORGE       ADDRESS ON FILE
DIAZ LOPEZ, JORGE O     ADDRESS ON FILE
Diaz Lopez, Jose        ADDRESS ON FILE
DIAZ LOPEZ, JOSE        ADDRESS ON FILE
DIAZ LOPEZ, JOSE        ADDRESS ON FILE
DIAZ LOPEZ, JOSE        ADDRESS ON FILE
DIAZ LOPEZ, JOSE E.     ADDRESS ON FILE
DIAZ LOPEZ, JUAN A.     ADDRESS ON FILE
DIAZ LOPEZ, JUAN A.     ADDRESS ON FILE
DIAZ LOPEZ, JUAN A.     ADDRESS ON FILE
DIAZ LOPEZ, JUANA M     ADDRESS ON FILE
DIAZ LOPEZ, JULIA       ADDRESS ON FILE
DIAZ LOPEZ, JULIETA     ADDRESS ON FILE
DIAZ LOPEZ, JULIO E.    ADDRESS ON FILE
DIAZ LOPEZ, JUSTO       ADDRESS ON FILE
DIAZ LOPEZ, LESLIE A.   ADDRESS ON FILE
DIAZ LOPEZ, LIONEL      ADDRESS ON FILE
DIAZ LOPEZ, LIZA        ADDRESS ON FILE
DIAZ LOPEZ, LUCIA       ADDRESS ON FILE
DIAZ LOPEZ, LUIS        ADDRESS ON FILE
Diaz Lopez, Luis        ADDRESS ON FILE
DIAZ LOPEZ, LUIS        ADDRESS ON FILE
DIAZ LOPEZ, LUIS M.     ADDRESS ON FILE
Diaz Lopez, Luz N       ADDRESS ON FILE
DIAZ LOPEZ, MANUEL      ADDRESS ON FILE
DIAZ LOPEZ, MARIA L.    ADDRESS ON FILE
DIAZ LOPEZ, MARIA V     ADDRESS ON FILE
DIAZ LOPEZ, MARICHELY   ADDRESS ON FILE
DIAZ LOPEZ, MARTA R     ADDRESS ON FILE
DIAZ LOPEZ, MELISA      ADDRESS ON FILE
DIAZ LOPEZ, MELVIN      ADDRESS ON FILE
DIAZ LOPEZ, MERLINDA    ADDRESS ON FILE
DIAZ LOPEZ, MIGDALIA    ADDRESS ON FILE
DIAZ LOPEZ, MILAGROS    ADDRESS ON FILE
DIAZ LOPEZ, MILITZA     ADDRESS ON FILE
DIAZ LOPEZ, MILTON      ADDRESS ON FILE
DIAZ LOPEZ, MONICA      ADDRESS ON FILE
DIAZ LOPEZ, MONICA      ADDRESS ON FILE
DIAZ LOPEZ, NAYDA I     ADDRESS ON FILE
DIAZ LOPEZ, NELLY       ADDRESS ON FILE
DIAZ LOPEZ, NELSON      ADDRESS ON FILE




                                                                    Page 2318 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 2319 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ LOPEZ, NEREIDA       ADDRESS ON FILE
DIAZ LOPEZ, NILKA E.      ADDRESS ON FILE
DIAZ LOPEZ, NITZA         ADDRESS ON FILE
DIAZ LOPEZ, NITZA         ADDRESS ON FILE
Diaz Lopez, Nomar         ADDRESS ON FILE
DIAZ LOPEZ, OLGA I        ADDRESS ON FILE
DIAZ LOPEZ, OMAR          ADDRESS ON FILE
DIAZ LOPEZ, PAULINA       ADDRESS ON FILE
DIAZ LOPEZ, PAULITA       ADDRESS ON FILE
DIAZ LOPEZ, PEDRO         ADDRESS ON FILE
DIAZ LOPEZ, RAFAEL        ADDRESS ON FILE
DIAZ LOPEZ, RAFAEL        ADDRESS ON FILE
DIAZ LOPEZ, RAFAEL A      ADDRESS ON FILE
DIAZ LOPEZ, RAQUEL        ADDRESS ON FILE
DIAZ LOPEZ, ROSA J        ADDRESS ON FILE
DIAZ LOPEZ, RUTH A        ADDRESS ON FILE
DIAZ LOPEZ, SHEYLA        ADDRESS ON FILE
DIAZ LOPEZ, SOE M         ADDRESS ON FILE
DIAZ LOPEZ, SONIA I       ADDRESS ON FILE
DIAZ LOPEZ, TOMAS         ADDRESS ON FILE
DIAZ LOPEZ, VIRGINIA      ADDRESS ON FILE
DIAZ LOPEZ, WALLESCA      ADDRESS ON FILE
DIAZ LOPEZ, WANDA I       ADDRESS ON FILE
DIAZ LOPEZ, WILBERTO      ADDRESS ON FILE
DIAZ LOPEZ, ZORY LEEN     ADDRESS ON FILE
DIAZ LOPEZ, ZULEYKA       ADDRESS ON FILE
DIAZ LORENZANA, NEYDA     ADDRESS ON FILE
DIAZ LORENZO, ARTURO      ADDRESS ON FILE
DIAZ LOUBRIEL, BLANCA     ADDRESS ON FILE
DIAZ LOUBRIEL, CARMEN     ADDRESS ON FILE
DIAZ LOZADA, ANGEL M      ADDRESS ON FILE
DIAZ LOZADA, BEATRIZ      ADDRESS ON FILE
DIAZ LOZADA, BETZAIDA     ADDRESS ON FILE
DIAZ LOZADA, FRANCISCO    ADDRESS ON FILE
Diaz Lozada, Heriberto    ADDRESS ON FILE
DIAZ LOZADA, JOSE         ADDRESS ON FILE
DIAZ LOZADA, LUZ M        ADDRESS ON FILE
Diaz Lozada, Magaly       ADDRESS ON FILE
DIAZ LOZADA, MONSERRATE   ADDRESS ON FILE
DIAZ LOZADA, NEILY        ADDRESS ON FILE
DIAZ LOZADA, NORMA I      ADDRESS ON FILE
DIAZ LOZADA, PEDRO        ADDRESS ON FILE
DIAZ LOZADA, RENE         ADDRESS ON FILE
DIAZ LOZADA, ROSITA       ADDRESS ON FILE
DIAZ LOZADA, SONIA        ADDRESS ON FILE
DIAZ LOZADA, TOMAS        ADDRESS ON FILE
DIAZ LOZADA, VIVIANETTE   ADDRESS ON FILE
DIAZ LOZADA, YARITZA      ADDRESS ON FILE
DIAZ LOZANO, JOSE H       ADDRESS ON FILE
DIAZ LOZANO, PABLO        ADDRESS ON FILE
DIAZ LUCIANO, ALCIDES     ADDRESS ON FILE
DIAZ LUCIANO, CARMEN      ADDRESS ON FILE
DIAZ LUCIANO, HECTOR J    ADDRESS ON FILE
DIAZ LUGO MD, MANUEL      ADDRESS ON FILE
DIAZ LUGO, BERNICE        ADDRESS ON FILE
DIAZ LUGO, CARMEN G       ADDRESS ON FILE
DIAZ LUGO, DARIANA        ADDRESS ON FILE
DIAZ LUGO, ELI            ADDRESS ON FILE
DIAZ LUGO, GRISSELL       ADDRESS ON FILE
DIAZ LUGO, MANUEL F       ADDRESS ON FILE




                                                                      Page 2319 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2320 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ LUGO, MARIA DE LOS A.     ADDRESS ON FILE
DIAZ LUGO, MIGUEL              ADDRESS ON FILE
DIAZ LUGO, NESTOR I            ADDRESS ON FILE
DIAZ LUGO, ONELLY              ADDRESS ON FILE
DIAZ LUGO, PATRIA E            ADDRESS ON FILE
DIAZ LUGO, SAUL                ADDRESS ON FILE
DIAZ LUGOVINAS, GLADYS         ADDRESS ON FILE
DIAZ LUGOVINAS, MERARI C       ADDRESS ON FILE
DIAZ LUNA, ELIZABETH           ADDRESS ON FILE
DIAZ LUNA, ELVIN               ADDRESS ON FILE
Diaz Luna, Elvin R             ADDRESS ON FILE
DIAZ LUNA, ESTEBAN             ADDRESS ON FILE
DIAZ LUNA, ILEANA              ADDRESS ON FILE
DIAZ LUNA, KEILA               ADDRESS ON FILE
DIAZ LUNA, OSVALDO             ADDRESS ON FILE
DIAZ LUNA, SONIA               ADDRESS ON FILE
DIAZ LUNA, WILFREDO            ADDRESS ON FILE
DIAZ LUNA, YAMIL               ADDRESS ON FILE
DIAZ LUNA, ZILPIA              ADDRESS ON FILE
DIAZ LUQUE, DAYAMIRA           ADDRESS ON FILE
DIAZ LUQUE, DAYANIRA           ADDRESS ON FILE
DIAZ LUQUE, JOSE G             ADDRESS ON FILE
DIAZ LUQUE, REY F.             ADDRESS ON FILE
DIAZ LUQUIS, CARMEN S.         ADDRESS ON FILE
DIAZ LUQUIS, GISELLE           ADDRESS ON FILE
DIAZ LUZARSKI, ANGEL           ADDRESS ON FILE
Diaz Luzarski, Anthony         ADDRESS ON FILE
DIAZ MACHADO, IVETTE           ADDRESS ON FILE
DIAZ MACHADO, IVETTE M         ADDRESS ON FILE
DIAZ MACHADO, MARITZA          ADDRESS ON FILE
DIAZ MACHADO, OMAR             ADDRESS ON FILE
DIAZ MACHIN, JOAN CARLOS       ADDRESS ON FILE
DIAZ MACHUCA, MARIBEL          ADDRESS ON FILE
DIAZ MADERA, EDDIE             ADDRESS ON FILE
DIAZ MAGALY, A                 ADDRESS ON FILE
DIAZ MAGRIZ, CARLOS            ADDRESS ON FILE
DIAZ MAISONET MD, LUIS         ADDRESS ON FILE
DIAZ MALABE, MARCELINO         ADDRESS ON FILE
DIAZ MALAVE, CARMEN            ADDRESS ON FILE
DIAZ MALAVE, LUIS              ADDRESS ON FILE
DIAZ MALAVE, MARIA D.          ADDRESS ON FILE
DIAZ MALAVE, MAYRELIS          ADDRESS ON FILE
DIAZ MALBERT, KEVIN N          ADDRESS ON FILE
DIAZ MALDONADO, ANA            ADDRESS ON FILE
DIAZ MALDONADO, BENGIEL        ADDRESS ON FILE
DIAZ MALDONADO, CARLOS         ADDRESS ON FILE
DIAZ MALDONADO, CARLOS         ADDRESS ON FILE
DIAZ MALDONADO, CARMEN A       ADDRESS ON FILE
DIAZ MALDONADO, CARMEN M.      ADDRESS ON FILE
DIAZ MALDONADO, CHRISTIAN      ADDRESS ON FILE
DIAZ MALDONADO, CHRISTIE       ADDRESS ON FILE
DIAZ MALDONADO, CRISTIAN       ADDRESS ON FILE
DIAZ MALDONADO, DOLLY          ADDRESS ON FILE
DIAZ MALDONADO, EDWIN JAVIER   ADDRESS ON FILE
Diaz Maldonado, Eliezer        ADDRESS ON FILE
DIAZ MALDONADO, FRANCISCO      ADDRESS ON FILE
DIAZ MALDONADO, GAMALIEL       ADDRESS ON FILE
DIAZ MALDONADO, HECTOR         ADDRESS ON FILE
DIAZ MALDONADO, HENRY          ADDRESS ON FILE
DIAZ MALDONADO, HUGO E         ADDRESS ON FILE




                                                                           Page 2320 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2321 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Maldonado, Hugo E         ADDRESS ON FILE
Diaz Maldonado, Ivan M         ADDRESS ON FILE
DIAZ MALDONADO, JESUS          ADDRESS ON FILE
DIAZ MALDONADO, JOSE           ADDRESS ON FILE
Diaz Maldonado, Jose A         ADDRESS ON FILE
DIAZ MALDONADO, JOSE ARNALDO   ADDRESS ON FILE
Diaz Maldonado, Jose L         ADDRESS ON FILE
Diaz Maldonado, Jose R         ADDRESS ON FILE
Diaz Maldonado, Josue          ADDRESS ON FILE
DIAZ MALDONADO, JOSUE          ADDRESS ON FILE
DIAZ MALDONADO, JUAN           ADDRESS ON FILE
Diaz Maldonado, Leniel         ADDRESS ON FILE
DIAZ MALDONADO, LENNIE         ADDRESS ON FILE
DIAZ MALDONADO, LILLIAM        ADDRESS ON FILE
DIAZ MALDONADO, LUIS E.        ADDRESS ON FILE
DIAZ MALDONADO, LUZ M          ADDRESS ON FILE
DIAZ MALDONADO, LYMARIE        ADDRESS ON FILE
DIAZ MALDONADO, MARITZA        ADDRESS ON FILE
DIAZ MALDONADO, MINERVA        ADDRESS ON FILE
DIAZ MALDONADO, MISAEL         ADDRESS ON FILE
DIAZ MALDONADO, MYRNA          ADDRESS ON FILE
Diaz Maldonado, Raymond        ADDRESS ON FILE
DIAZ MALDONADO, RICARDO        ADDRESS ON FILE
DIAZ MALDONADO, SAULO J.       ADDRESS ON FILE
DIAZ MALDONADO, SYLVIA         ADDRESS ON FILE
DIAZ MALDONADO, VANESSA        ADDRESS ON FILE
DIAZ MALDONADO, VIMAR          ADDRESS ON FILE
DIAZ MALDONADO, YETZY          ADDRESS ON FILE
DIAZ MALDONADO, YETZY L        ADDRESS ON FILE
DIAZ MANGUAL, EDDA             ADDRESS ON FILE
DIAZ MANZANO, EDITH M          ADDRESS ON FILE
DIAZ MARCANO, ARMANDO          ADDRESS ON FILE
DIAZ MARCANO, CYNTHIA          ADDRESS ON FILE
DIAZ MARCANO, JOSE A.          ADDRESS ON FILE
DIAZ MARCANO, KLEYSHA R.       ADDRESS ON FILE
DIAZ MARCANO, LUIS RAUL        ADDRESS ON FILE
DIAZ MARCANO, RAFAEL A         ADDRESS ON FILE
DIAZ MARCANO, SULLY            ADDRESS ON FILE
DIAZ MARCIAL, SAMANTHA         ADDRESS ON FILE
DIAZ MARIN, AMARYLIS E         ADDRESS ON FILE
DIAZ MARIN, AUREA L            ADDRESS ON FILE
Diaz Marin, Walter             ADDRESS ON FILE
DIAZ MARQUEZ, AMARIS           ADDRESS ON FILE
DIAZ MARQUEZ, ARNALDO          ADDRESS ON FILE
DIAZ MARQUEZ, ARTURO           ADDRESS ON FILE
DIAZ MARQUEZ, CARMEN           ADDRESS ON FILE
DIAZ MARQUEZ, CARMEN           ADDRESS ON FILE
DIAZ MARQUEZ, CARMEN D         ADDRESS ON FILE
DIAZ MARQUEZ, GLENDA M.        ADDRESS ON FILE
Diaz Marquez, Herminio         ADDRESS ON FILE
DIAZ MARQUEZ, ISAILLY          ADDRESS ON FILE
DIAZ MARQUEZ, IVELISSE         ADDRESS ON FILE
Diaz Marquez, Jose M           ADDRESS ON FILE
DIAZ MARQUEZ, JOSHUA           ADDRESS ON FILE
DIAZ MARQUEZ, JOSUE            ADDRESS ON FILE
Diaz Marquez, Juan             ADDRESS ON FILE
DIAZ MARQUEZ, JUAN             ADDRESS ON FILE
DIAZ MARQUEZ, SONIA            ADDRESS ON FILE
DIAZ MARQUEZ, YOLANDA          ADDRESS ON FILE
DIAZ MARRERO, ALEJANDRO        ADDRESS ON FILE




                                                                           Page 2321 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2322 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MARRERO, ANA H.          ADDRESS ON FILE
DIAZ MARRERO, ANGEL L         ADDRESS ON FILE
DIAZ MARRERO, CARLOS          ADDRESS ON FILE
DIAZ MARRERO, CARMEN          ADDRESS ON FILE
DIAZ MARRERO, DANIEL          ADDRESS ON FILE
DIAZ MARRERO, EFRAIN          ADDRESS ON FILE
DIAZ MARRERO, ENEIDA          ADDRESS ON FILE
Diaz Marrero, Harry J.        ADDRESS ON FILE
DIAZ MARRERO, HECTOR          ADDRESS ON FILE
DIAZ MARRERO, ISRAEL          ADDRESS ON FILE
DIAZ MARRERO, JANYLIZ         ADDRESS ON FILE
DIAZ MARRERO, JESUS           ADDRESS ON FILE
DIAZ MARRERO, JOSE            ADDRESS ON FILE
DIAZ MARRERO, JOSE            ADDRESS ON FILE
DIAZ MARRERO, JOSE HERMINIO   ADDRESS ON FILE
DIAZ MARRERO, JOSE LUIS       ADDRESS ON FILE
DIAZ MARRERO, JOSE R          ADDRESS ON FILE
DIAZ MARRERO, KELVIN          ADDRESS ON FILE
DIAZ MARRERO, LINA L          ADDRESS ON FILE
DIAZ MARRERO, LUIS            ADDRESS ON FILE
DIAZ MARRERO, MARIA E         ADDRESS ON FILE
DIAZ MARRERO, MARIA L         ADDRESS ON FILE
DIAZ MARRERO, MARIA M         ADDRESS ON FILE
DIAZ MARRERO, MARIBEL         ADDRESS ON FILE
DIAZ MARRERO, MARITZA         ADDRESS ON FILE
DIAZ MARRERO, MICOLETTE       ADDRESS ON FILE
DIAZ MARRERO, MITCHEL         ADDRESS ON FILE
DIAZ MARRERO, MYRNA           ADDRESS ON FILE
DIAZ MARRERO, MYRNA I         ADDRESS ON FILE
DIAZ MARRERO, NITZA I         ADDRESS ON FILE
DIAZ MARRERO, RICHARD         ADDRESS ON FILE
DIAZ MARRERO, RICHARD         ADDRESS ON FILE
DIAZ MARRERO, RICHARD M       ADDRESS ON FILE
DIAZ MARRERO, SONIA           ADDRESS ON FILE
DIAZ MARRERO, WILLIAM         ADDRESS ON FILE
DIAZ MARTE, MARELYS           ADDRESS ON FILE
DIAZ MARTELL, ANDRES          ADDRESS ON FILE
DIAZ MARTELL, ANDRES          ADDRESS ON FILE
DIAZ MARTES, YARIS M          ADDRESS ON FILE
DIAZ MARTI, LAURA             ADDRESS ON FILE
DIAZ MARTIN, MILAGROS         ADDRESS ON FILE
DIAZ MARTIN, VERONICA         ADDRESS ON FILE
DIAZ MARTINEZ MD, JORGE       ADDRESS ON FILE
DIAZ MARTINEZ MD, PEDRO J     ADDRESS ON FILE
DIAZ MARTINEZ, AGUSTINA       ADDRESS ON FILE
DIAZ MARTINEZ, AIDA           ADDRESS ON FILE
DIAZ MARTINEZ, AIDA           ADDRESS ON FILE
DIAZ MARTINEZ, ALBA N.        ADDRESS ON FILE
DIAZ MARTINEZ, ANA C          ADDRESS ON FILE
DIAZ MARTINEZ, ANGEL          ADDRESS ON FILE
DIAZ MARTINEZ, ANIBAL         ADDRESS ON FILE
DIAZ MARTINEZ, ANTONIO        ADDRESS ON FILE
DIAZ MARTINEZ, BIANCA         ADDRESS ON FILE
DIAZ MARTINEZ, BLANCA I       ADDRESS ON FILE
DIAZ MARTINEZ, BLANCA R       ADDRESS ON FILE
DIAZ MARTINEZ, BRENDALIZ      ADDRESS ON FILE
DIAZ MARTINEZ, CARLOS         ADDRESS ON FILE
DIAZ MARTINEZ, CARLOS         ADDRESS ON FILE
Diaz Martinez, Carlos M.      ADDRESS ON FILE
DIAZ MARTINEZ, CARMELO        ADDRESS ON FILE




                                                                          Page 2322 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2323 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MARTINEZ, CARMEN D     ADDRESS ON FILE
DIAZ MARTINEZ, CARMEN E     ADDRESS ON FILE
DIAZ MARTINEZ, CEFERINO     ADDRESS ON FILE
DIAZ MARTINEZ, CRUZ M       ADDRESS ON FILE
DIAZ MARTINEZ, DAILEIRY     ADDRESS ON FILE
DIAZ MARTINEZ, DANIEL       ADDRESS ON FILE
DIAZ MARTINEZ, DAVID        ADDRESS ON FILE
DIAZ MARTINEZ, DELIA        ADDRESS ON FILE
DIAZ MARTINEZ, DIANA I      ADDRESS ON FILE
DIAZ MARTINEZ, ELIADAMS     ADDRESS ON FILE
DIAZ MARTINEZ, EMMA J.      ADDRESS ON FILE
DIAZ MARTINEZ, EVELYN       ADDRESS ON FILE
DIAZ MARTINEZ, FELICITA     ADDRESS ON FILE
DIAZ MARTINEZ, FERDINAND    ADDRESS ON FILE
DIAZ MARTINEZ, FRANCISCO    ADDRESS ON FILE
DIAZ MARTINEZ, GERARDO      ADDRESS ON FILE
DIAZ MARTINEZ, GIOVANNA     ADDRESS ON FILE
DIAZ MARTINEZ, GLADYS E     ADDRESS ON FILE
DIAZ MARTINEZ, GLORIA L     ADDRESS ON FILE
DIAZ MARTINEZ, GUARIONEX    ADDRESS ON FILE
DIAZ MARTINEZ, HECTOR       ADDRESS ON FILE
DIAZ MARTINEZ, IDALMYS      ADDRESS ON FILE
DIAZ MARTINEZ, IRIS B       ADDRESS ON FILE
DIAZ MARTINEZ, ISMAEL       ADDRESS ON FILE
DIAZ MARTINEZ, JANICE       ADDRESS ON FILE
DIAZ MARTINEZ, JANNETTE     ADDRESS ON FILE
DIAZ MARTINEZ, JORGE        ADDRESS ON FILE
DIAZ MARTINEZ, JORGE        ADDRESS ON FILE
DIAZ MARTINEZ, JORGE L      ADDRESS ON FILE
DIAZ MARTINEZ, JOSE         ADDRESS ON FILE
DIAZ MARTINEZ, JOSE         ADDRESS ON FILE
DIAZ MARTINEZ, JOSE A       ADDRESS ON FILE
DIAZ MARTINEZ, JUNE MARIE   ADDRESS ON FILE
DIAZ MARTINEZ, JUNMARIE     ADDRESS ON FILE
DIAZ MARTINEZ, KAYLA        ADDRESS ON FILE
DIAZ MARTINEZ, KEISHLA Y    ADDRESS ON FILE
DIAZ MARTINEZ, KEYLE        ADDRESS ON FILE
DIAZ MARTINEZ, LESBIA M.    ADDRESS ON FILE
DIAZ MARTINEZ, LESBIA M.    ADDRESS ON FILE
DIAZ MARTINEZ, LISANDRA     ADDRESS ON FILE
DIAZ MARTINEZ, LORIMER      ADDRESS ON FILE
DIAZ MARTINEZ, LUIS         ADDRESS ON FILE
DIAZ MARTINEZ, LUIS         ADDRESS ON FILE
DIAZ MARTINEZ, LUZ C        ADDRESS ON FILE
DIAZ MARTINEZ, MARGARITA    ADDRESS ON FILE
Diaz Martinez, Maria A      ADDRESS ON FILE
DIAZ MARTINEZ, MARIA DEL    ADDRESS ON FILE
DIAZ MARTINEZ, MARIA V      ADDRESS ON FILE
DIAZ MARTINEZ, MARILU       ADDRESS ON FILE
Diaz Martinez, Miguel A.    ADDRESS ON FILE
DIAZ MARTINEZ, MILDA A      ADDRESS ON FILE
Diaz Martinez, Mireilly     ADDRESS ON FILE
DIAZ MARTINEZ, MIRIAM       ADDRESS ON FILE
DIAZ MARTINEZ, MYRELIS      ADDRESS ON FILE
Diaz Martinez, Nicolas      ADDRESS ON FILE
DIAZ MARTINEZ, OLGA         ADDRESS ON FILE
Diaz Martinez, Oscar        ADDRESS ON FILE
DIAZ MARTINEZ, PABLO        ADDRESS ON FILE
DIAZ MARTINEZ, PEDRO        ADDRESS ON FILE
DIAZ MARTINEZ, RAINE        ADDRESS ON FILE




                                                                        Page 2323 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2324 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MARTINEZ, RAYMOND       ADDRESS ON FILE
DIAZ MARTINEZ, RICARDO       ADDRESS ON FILE
Diaz Martinez, Roberto       ADDRESS ON FILE
DIAZ MARTINEZ, ROBERTO       ADDRESS ON FILE
DIAZ MARTINEZ, SAVIER A      ADDRESS ON FILE
DIAZ MARTINEZ, SIGFREDO      ADDRESS ON FILE
DIAZ MARTINEZ, SOLMARIEL     ADDRESS ON FILE
DIAZ MARTINEZ, VIVIANA       ADDRESS ON FILE
DIAZ MARTINEZ, WANDA I       ADDRESS ON FILE
Diaz Martinez, Yarelis N     ADDRESS ON FILE
DIAZ MARTINEZ, YARITZA       ADDRESS ON FILE
DIAZ MARTINEZ, YESENIA       ADDRESS ON FILE
DIAZ MARTINEZ, YOLANDA       ADDRESS ON FILE
DIAZ MARTINEZ, ZAIDA         ADDRESS ON FILE
DIAZ MASSANET, GIOVANNA      ADDRESS ON FILE
DIAZ MATEO, ASTRID M         ADDRESS ON FILE
DIAZ MATEO, MARIA E.         ADDRESS ON FILE
DIAZ MATEO, YVETTE           ADDRESS ON FILE
DIAZ MATOS, AWILDA           ADDRESS ON FILE
DIAZ MATOS, DANIEL           ADDRESS ON FILE
Diaz Matos, Jorge L          ADDRESS ON FILE
Diaz Matos, Jose L           ADDRESS ON FILE
DIAZ MATOS, LUZ              ADDRESS ON FILE
DIAZ MATOS, MARIA DE LOS A   ADDRESS ON FILE
DIAZ MATOS, MARIA I          ADDRESS ON FILE
DIAZ MATOS, MIGDALIA         ADDRESS ON FILE
DIAZ MATOS, MIGUEL           ADDRESS ON FILE
DIAZ MATOS, NILSA O          ADDRESS ON FILE
DIAZ MATOS, ROBERTO          ADDRESS ON FILE
DIAZ MATOS, ROY              ADDRESS ON FILE
DIAZ MATOS, WILFREDO         ADDRESS ON FILE
DIAZ MATOS, WILFREDO         ADDRESS ON FILE
DIAZ MATTEI, MONICA          ADDRESS ON FILE
DIAZ MATTEI, MONICA          ADDRESS ON FILE
DIAZ MATTEI, VANESSA         ADDRESS ON FILE
Diaz Mattos, Kenneth         ADDRESS ON FILE
Diaz Maymi, Jose E.          ADDRESS ON FILE
DIAZ MAYORAL, MARIANELA      ADDRESS ON FILE
DIAZ MAYSONET, GABRIEL       ADDRESS ON FILE
DIAZ MAYSONET, LORNA         ADDRESS ON FILE
DIAZ MAYSONET, NATALIA       ADDRESS ON FILE
DIAZ MAYSONET, OSVALDO       ADDRESS ON FILE
DIAZ MD, EDEL                ADDRESS ON FILE
DIAZ MD, FRANCISCO           ADDRESS ON FILE
DIAZ MD, GONZALO             ADDRESS ON FILE
DIAZ MEDERO, MARY D          ADDRESS ON FILE
DIAZ MEDERO, ROSALINE        ADDRESS ON FILE
DIAZ MEDINA, AIDA            ADDRESS ON FILE
DIAZ MEDINA, AIDA I          ADDRESS ON FILE
DIAZ MEDINA, ANA M           ADDRESS ON FILE
DIAZ MEDINA, ANGEL           ADDRESS ON FILE
DIAZ MEDINA, CARMEN J        ADDRESS ON FILE
DIAZ MEDINA, CARMEN L        ADDRESS ON FILE
DIAZ MEDINA, EFRAIN          ADDRESS ON FILE
DIAZ MEDINA, ENERY           ADDRESS ON FILE
DIAZ MEDINA, ERMI            ADDRESS ON FILE
DIAZ MEDINA, FELIX           ADDRESS ON FILE
DIAZ MEDINA, FRANCES         ADDRESS ON FILE
DIAZ MEDINA, FRANCIS I.      ADDRESS ON FILE
DIAZ MEDINA, GUILLAN         ADDRESS ON FILE




                                                                         Page 2324 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2325 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MEDINA, IDA M            ADDRESS ON FILE
DIAZ MEDINA, ISAAC            ADDRESS ON FILE
DIAZ MEDINA, JOSE             ADDRESS ON FILE
DIAZ MEDINA, JOSE             ADDRESS ON FILE
Diaz Medina, Jose R           ADDRESS ON FILE
Diaz Medina, Juan A           ADDRESS ON FILE
Diaz Medina, Juan L           ADDRESS ON FILE
DIAZ MEDINA, JULIO            ADDRESS ON FILE
DIAZ MEDINA, KARILY           ADDRESS ON FILE
Diaz Medina, Lorraine         ADDRESS ON FILE
DIAZ MEDINA, LOURDES T.       ADDRESS ON FILE
DIAZ MEDINA, LYDIA I.         ADDRESS ON FILE
DIAZ MEDINA, MARILYN          ADDRESS ON FILE
DIAZ MEDINA, MARILYN          ADDRESS ON FILE
DIAZ MEDINA, NIXA I           ADDRESS ON FILE
DIAZ MEDINA, NOEMI            ADDRESS ON FILE
DIAZ MEDINA, NORMA I          ADDRESS ON FILE
DIAZ MEDINA, OMAR             ADDRESS ON FILE
DIAZ MEDINA, RAFAEL           ADDRESS ON FILE
DIAZ MEDINA, REBECCA R        ADDRESS ON FILE
DIAZ MEDINA, VILMA            ADDRESS ON FILE
DIAZ MEDINA, WANDA            ADDRESS ON FILE
DIAZ MEDINA, YOLANDA          ADDRESS ON FILE
DIAZ MEJIA, JOSE              ADDRESS ON FILE
DIAZ MEJIA, ORLANDO           ADDRESS ON FILE
DIAZ MEJIAS, EDUARDO          ADDRESS ON FILE
DIAZ MEJIAS, KATHIRIAM        ADDRESS ON FILE
DIAZ MEJIAS, MARIO            ADDRESS ON FILE
DIAZ MEJIAS, MARIO            ADDRESS ON FILE
DIAZ MELENDEZ MD, VIVIAN      ADDRESS ON FILE
DIAZ MELENDEZ, ADLAI          ADDRESS ON FILE
DIAZ MELENDEZ, ALFRED         ADDRESS ON FILE
DIAZ MELENDEZ, ANA L          ADDRESS ON FILE
DIAZ MELENDEZ, ANACELL        ADDRESS ON FILE
DIAZ MELENDEZ, ANDRES         ADDRESS ON FILE
DIAZ MELENDEZ, BRUNILDA M     ADDRESS ON FILE
DIAZ MELENDEZ, CARMEN         ADDRESS ON FILE
DIAZ MELENDEZ, CARMEN         ADDRESS ON FILE
DIAZ MELENDEZ, CHARITY        ADDRESS ON FILE
DIAZ MELENDEZ, DANIEL E       ADDRESS ON FILE
DIAZ MELENDEZ, DENISSE E      ADDRESS ON FILE
DIAZ MELENDEZ, EMSOR          ADDRESS ON FILE
DIAZ MELENDEZ, FLORENTINO     ADDRESS ON FILE
DIAZ MELENDEZ, FRANCISCO L    ADDRESS ON FILE
DIAZ MELENDEZ, GERARDO        ADDRESS ON FILE
DIAZ MELENDEZ, GRISEL         ADDRESS ON FILE
DIAZ MELENDEZ, HEYSHA         ADDRESS ON FILE
DIAZ MELENDEZ, ISRAEL         ADDRESS ON FILE
DIAZ MELENDEZ, JAVIER         ADDRESS ON FILE
DIAZ MELENDEZ, JONATHAN       ADDRESS ON FILE
DIAZ MELENDEZ, JOSE           ADDRESS ON FILE
DIAZ MELENDEZ, JOSE L         ADDRESS ON FILE
DIAZ MELENDEZ, JUAN C.        ADDRESS ON FILE
DIAZ MELENDEZ, KARLA M        ADDRESS ON FILE
DIAZ MELENDEZ, LAURA          ADDRESS ON FILE
DIAZ MELENDEZ, LUIS A.        ADDRESS ON FILE
DIAZ MELENDEZ, LYMARI         ADDRESS ON FILE
DIAZ MELENDEZ, LYMARI DEL P   ADDRESS ON FILE
DIAZ MELENDEZ, LYMARIS        ADDRESS ON FILE
DIAZ MELENDEZ, LYMARIS        ADDRESS ON FILE




                                                                          Page 2325 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2326 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MELENDEZ, LYNNETTE       ADDRESS ON FILE
DIAZ MELENDEZ, LYNNETTE       ADDRESS ON FILE
DIAZ MELENDEZ, MARIA          ADDRESS ON FILE
DIAZ MELENDEZ, MARIA T        ADDRESS ON FILE
DIAZ MELENDEZ, MARIA T        ADDRESS ON FILE
DIAZ MELENDEZ, MELISSA        ADDRESS ON FILE
DIAZ MELENDEZ, MELVIN         ADDRESS ON FILE
DIAZ MELENDEZ, MILAGROS       ADDRESS ON FILE
DIAZ MELENDEZ, NELSON         ADDRESS ON FILE
DIAZ MELENDEZ, PEDRO S        ADDRESS ON FILE
DIAZ MELENDEZ, RAFAEL         ADDRESS ON FILE
DIAZ MELENDEZ, RAUL           ADDRESS ON FILE
DIAZ MELENDEZ, REINALDO       ADDRESS ON FILE
Diaz Melendez, Rosely         ADDRESS ON FILE
DIAZ MELENDEZ, WILLIAM        ADDRESS ON FILE
DIAZ MENDEZ, ADELA M          ADDRESS ON FILE
DIAZ MENDEZ, ALFONSO          ADDRESS ON FILE
DIAZ MENDEZ, ALINA            ADDRESS ON FILE
DIAZ MENDEZ, ANGEL            ADDRESS ON FILE
DIAZ MENDEZ, ANGEL M.         ADDRESS ON FILE
DIAZ MENDEZ, BEDELIA          ADDRESS ON FILE
DIAZ MENDEZ, CASILDO          ADDRESS ON FILE
DIAZ MENDEZ, DAMARIS          ADDRESS ON FILE
DIAZ MENDEZ, ERIC             ADDRESS ON FILE
DIAZ MENDEZ, FELIX D          ADDRESS ON FILE
DIAZ MENDEZ, FRANCES          ADDRESS ON FILE
DIAZ MENDEZ, FRANCISCO        ADDRESS ON FILE
DIAZ MENDEZ, FRANCISCO        ADDRESS ON FILE
DIAZ MENDEZ, GIANCARLO        ADDRESS ON FILE
DIAZ MENDEZ, GLORIA           ADDRESS ON FILE
DIAZ MENDEZ, HECTOR M         ADDRESS ON FILE
DIAZ MENDEZ, ISAMARIE         ADDRESS ON FILE
DIAZ MENDEZ, JENNIFER HAZEL   ADDRESS ON FILE
DIAZ MENDEZ, LUIS A.          ADDRESS ON FILE
DIAZ MENDEZ, OMAR             ADDRESS ON FILE
DIAZ MENDEZ, RICARDO          ADDRESS ON FILE
DIAZ MENDEZ, SASHA            ADDRESS ON FILE
DIAZ MENDEZ, SASHA            ADDRESS ON FILE
DIAZ MENDEZ, YOLANDA          ADDRESS ON FILE
DIAZ MENDEZ,ZAILY M.          ADDRESS ON FILE
DIAZ MENDOZA MD, SILVINO      ADDRESS ON FILE
DIAZ MENDOZA, FRANCES M       ADDRESS ON FILE
DIAZ MENDOZA, RENE            ADDRESS ON FILE
DIAZ MENENDEZ, MARIBEL        ADDRESS ON FILE
DIAZ MENENDEZ, MAXIMINO       ADDRESS ON FILE
DIAZ MERCADO, AIXA E.         ADDRESS ON FILE
DIAZ MERCADO, DIANA           ADDRESS ON FILE
DIAZ MERCADO, FLORENCE P      ADDRESS ON FILE
DIAZ MERCADO, GERARDO         ADDRESS ON FILE
DIAZ MERCADO, GERARDO         ADDRESS ON FILE
DIAZ MERCADO, JAVIER          ADDRESS ON FILE
DIAZ MERCADO, MARILYN         ADDRESS ON FILE
DIAZ MERCADO, MICHAEL         ADDRESS ON FILE
DIAZ MERCADO, MILDRED         ADDRESS ON FILE
DIAZ MERCADO, NELSON          ADDRESS ON FILE
DIAZ MERCADO, SHARON          ADDRESS ON FILE
DIAZ MERCADO,HUMBERTO         ADDRESS ON FILE
DIAZ MERCED, GILBERTO         ADDRESS ON FILE
DIAZ MERCED, HECTOR           ADDRESS ON FILE
DIAZ MERCED, JESUS            ADDRESS ON FILE




                                                                          Page 2326 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2327 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MERCED, JOHANNIES'S    ADDRESS ON FILE
Diaz Merced, Lisbeth        ADDRESS ON FILE
DIAZ MERCED, LISBETH        ADDRESS ON FILE
DIAZ MERCED, LUZ A.         ADDRESS ON FILE
DIAZ MERCED, LYNNETTE       ADDRESS ON FILE
DIAZ MERCED, MAGALY         ADDRESS ON FILE
DIAZ MERCED, REINALDO       ADDRESS ON FILE
Diaz Merced, Samuel         ADDRESS ON FILE
DIAZ MERCED, SANDRA L.      ADDRESS ON FILE
Diaz Mestres, Santos        ADDRESS ON FILE
DÍAZ MIGUEL, BERMÚDEZ       ADDRESS ON FILE
DIAZ MILLAN, JESSICA        ADDRESS ON FILE
DIAZ MILLAN, JORAYMI        ADDRESS ON FILE
DIAZ MILLAN, MIGUEL         ADDRESS ON FILE
DIAZ MILLAN, WENCESLAO      ADDRESS ON FILE
DIAZ MILLET, GRISELLE       ADDRESS ON FILE
DIAZ MINAYA, ESTEPHANY M.   ADDRESS ON FILE
DIAZ MIR, ENID              ADDRESS ON FILE
DIAZ MIRANDA, ANA R         ADDRESS ON FILE
DIAZ MIRANDA, ANGEL         ADDRESS ON FILE
DIAZ MIRANDA, DAISY Y       ADDRESS ON FILE
DIAZ MIRANDA, ERNIE         ADDRESS ON FILE
Diaz Miranda, Jesus M       ADDRESS ON FILE
DIAZ MIRANDA, JORGE C       ADDRESS ON FILE
Diaz Miranda, Jorge L       ADDRESS ON FILE
DIAZ MIRANDA, JOSE          ADDRESS ON FILE
DIAZ MIRANDA, JOSE S.       ADDRESS ON FILE
DIAZ MIRANDA, JOSUE         ADDRESS ON FILE
DIAZ MIRANDA, KAREN         ADDRESS ON FILE
DIAZ MIRANDA, LOURDES W.    ADDRESS ON FILE
DIAZ MIRANDA, LUIS          ADDRESS ON FILE
DIAZ MIRANDA, MADELINE      ADDRESS ON FILE
DIAZ MIRANDA, MANUEL        ADDRESS ON FILE
DIAZ MIRANDA, MARIA I       ADDRESS ON FILE
DIAZ MIRANDA, NELSON        ADDRESS ON FILE
DIAZ MIRANDA, NOEMI         ADDRESS ON FILE
DIAZ MIRANDA, RAFAEL        ADDRESS ON FILE
Diaz Miranda, Raysel        ADDRESS ON FILE
DIAZ MIRANDA, ROBERTO       ADDRESS ON FILE
DIAZ MIRANDA, VICTOR R.     ADDRESS ON FILE
DIAZ MIRANDA, ZORAIDA       ADDRESS ON FILE
DIAZ MISLAN, HERIBERTO      ADDRESS ON FILE
DIAZ MISLAN, MARGARITA      ADDRESS ON FILE
DIAZ MOJICA, ANGEL M.       ADDRESS ON FILE
DIAZ MOJICA, ANGELICA       ADDRESS ON FILE
DIAZ MOJICA, AYMARA I       ADDRESS ON FILE
DIAZ MOJICA, CHRISTOPHER    ADDRESS ON FILE
DIAZ MOJICA, GLENDIABEL     ADDRESS ON FILE
DIAZ MOJICA, KARISBEL       ADDRESS ON FILE
DIAZ MOJICA, KARISBEL       ADDRESS ON FILE
DIAZ MOLINA, ADELA          ADDRESS ON FILE
DIAZ MOLINA, ANGEL M        ADDRESS ON FILE
DIAZ MOLINA, BRUNILDA       ADDRESS ON FILE
DIAZ MOLINA, CARMEN         ADDRESS ON FILE
DIAZ MOLINA, CARMEN M       ADDRESS ON FILE
DIAZ MOLINA, HARUMI         ADDRESS ON FILE
DIAZ MOLINA, LOURDES        ADDRESS ON FILE
DIAZ MOLINA, LUISETTE       ADDRESS ON FILE
DIAZ MOLINA, LUISETTE DEL   ADDRESS ON FILE
DIAZ MOLINA, MELVIN         ADDRESS ON FILE




                                                                        Page 2327 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2328 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MOLINA, MIRIELLE      ADDRESS ON FILE
DIAZ MOLINA, PEDRO         ADDRESS ON FILE
DIAZ MOLINA, ROSA I        ADDRESS ON FILE
DIAZ MONCLOVA, ANA D.      ADDRESS ON FILE
DIAZ MONDESI, YADIRA       ADDRESS ON FILE
DIAZ MONGE, AMARILIS       ADDRESS ON FILE
DIAZ MONGE, JOSE           ADDRESS ON FILE
DIAZ MONGE, MARCOS E.      ADDRESS ON FILE
DIAZ MONROIG, ROCIO        ADDRESS ON FILE
DIAZ MONSERRATE, ALEXIS    ADDRESS ON FILE
DIAZ MONSERRATE, EDUARDO   ADDRESS ON FILE
DIAZ MONTALVAN, BRENDA E   ADDRESS ON FILE
DIAZ MONTALVAN, CYNTHIA    ADDRESS ON FILE
DIAZ MONTALVAN, FELIX      ADDRESS ON FILE
DIAZ MONTALVAN, MELISSA    ADDRESS ON FILE
DIAZ MONTALVO, ALBERTO     ADDRESS ON FILE
DIAZ MONTALVO, ANA         ADDRESS ON FILE
DIAZ MONTALVO, JUAN C      ADDRESS ON FILE
DIAZ MONTALVO, LILLIAM     ADDRESS ON FILE
DIAZ MONTALVO, LUZ M       ADDRESS ON FILE
DIAZ MONTALVO, NEFTALI     ADDRESS ON FILE
DIAZ MONTALVO, ROBERT      ADDRESS ON FILE
DIAZ MONTANEZ, ANA I.      ADDRESS ON FILE
Diaz Montanez, Angel       ADDRESS ON FILE
Diaz Montanez, Angel L.    ADDRESS ON FILE
DIAZ MONTANEZ, BLANCA R.   ADDRESS ON FILE
DIAZ MONTANEZ, ENID        ADDRESS ON FILE
DIAZ MONTANEZ, HECTOR      ADDRESS ON FILE
DIAZ MONTANEZ, JOSE L      ADDRESS ON FILE
DIAZ MONTANEZ, JUAN A.     ADDRESS ON FILE
DIAZ MONTANEZ, LESLY ANN   ADDRESS ON FILE
DIAZ MONTANEZ, LIANNETTE   ADDRESS ON FILE
DIAZ MONTANEZ, LOIDA L     ADDRESS ON FILE
DIAZ MONTANEZ, MELISSA     ADDRESS ON FILE
Diaz Montanez, Michael     ADDRESS ON FILE
DIAZ MONTANEZ, MIGNALIS    ADDRESS ON FILE
DIAZ MONTANEZ, MIGNALIS    ADDRESS ON FILE
DIAZ MONTANEZ, OLGA L.     ADDRESS ON FILE
DIAZ MONTAÑO MD, RAFAEL    ADDRESS ON FILE
DIAZ MONTELL, JULIO        ADDRESS ON FILE
DIAZ MONTELL, SONIA        ADDRESS ON FILE
DIAZ MONTES, EDWIN         ADDRESS ON FILE
DIAZ MONTES, LUZ           ADDRESS ON FILE
DIAZ MONTES, NAYDA         ADDRESS ON FILE
DIAZ MONTES, ROLANDO       ADDRESS ON FILE
DIAZ MONTES, TIARA         ADDRESS ON FILE
DIAZ MONTES, TIARA B       ADDRESS ON FILE
DIAZ MONTESINO, LOURDES    ADDRESS ON FILE
DIAZ MONTIJO, CATHERINE    ADDRESS ON FILE
DIAZ MONTIJO, CATHERINE    ADDRESS ON FILE
DIAZ MONTIJO, DIMARIE      ADDRESS ON FILE
DIAZ MONTIJO, LESLIE D     ADDRESS ON FILE
DIAZ MONZON, MADELINE      ADDRESS ON FILE
DIAZ MORALES, ABNER        ADDRESS ON FILE
Diaz Morales, Abner C.     ADDRESS ON FILE
DIAZ MORALES, ABNERIS      ADDRESS ON FILE
DIAZ MORALES, ADA M        ADDRESS ON FILE
DIAZ MORALES, ALAN         ADDRESS ON FILE
DIAZ MORALES, ALFREDO      ADDRESS ON FILE
DIAZ MORALES, ALIXDORA     ADDRESS ON FILE




                                                                       Page 2328 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2329 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MORALES, ANGEL         ADDRESS ON FILE
Diaz Morales, Angel A       ADDRESS ON FILE
DIAZ MORALES, ARTURO        ADDRESS ON FILE
DIAZ MORALES, AZLIN         ADDRESS ON FILE
DIAZ MORALES, CARLOS        ADDRESS ON FILE
DIAZ MORALES, CARLOS        ADDRESS ON FILE
DIAZ MORALES, CARLOS        ADDRESS ON FILE
DIAZ MORALES, CARLOS M      ADDRESS ON FILE
DIAZ MORALES, CARMEN A.     ADDRESS ON FILE
DIAZ MORALES, CARMEN M      ADDRESS ON FILE
DIAZ MORALES, CELIA J       ADDRESS ON FILE
DIAZ MORALES, CESAR A       ADDRESS ON FILE
DIAZ MORALES, EFRAIN        ADDRESS ON FILE
DIAZ MORALES, ELSON LUIS    ADDRESS ON FILE
DIAZ MORALES, ELVIN         ADDRESS ON FILE
DIAZ MORALES, EMANUEL       ADDRESS ON FILE
DIAZ MORALES, EMILIO        ADDRESS ON FILE
DIAZ MORALES, ENEIDA        ADDRESS ON FILE
DIAZ MORALES, GRISSET       ADDRESS ON FILE
DIAZ MORALES, HECTOR        ADDRESS ON FILE
Diaz Morales, Hector T      ADDRESS ON FILE
DIAZ MORALES, HELEN         ADDRESS ON FILE
Diaz Morales, Hernan D      ADDRESS ON FILE
DIAZ MORALES, HILDAMARI     ADDRESS ON FILE
DIAZ MORALES, IRIS B.       ADDRESS ON FILE
DIAZ MORALES, IRIS B.       ADDRESS ON FILE
DIAZ MORALES, IRIS N        ADDRESS ON FILE
DIAZ MORALES, IRMA          ADDRESS ON FILE
DIAZ MORALES, IVONNE        ADDRESS ON FILE
DIAZ MORALES, JESUS M.      ADDRESS ON FILE
DIAZ MORALES, JOHANNA       ADDRESS ON FILE
DIAZ MORALES, JOSUE         ADDRESS ON FILE
DIAZ MORALES, JUAN A        ADDRESS ON FILE
DIAZ MORALES, JUAN E.       ADDRESS ON FILE
DIAZ MORALES, JULIAN E      ADDRESS ON FILE
DIAZ MORALES, KARELY        ADDRESS ON FILE
DIAZ MORALES, KAREN M       ADDRESS ON FILE
DIAZ MORALES, KEILA M       ADDRESS ON FILE
DIAZ MORALES, LILLIAN R     ADDRESS ON FILE
DIAZ MORALES, LIZ           ADDRESS ON FILE
DIAZ MORALES, LUMARI        ADDRESS ON FILE
DIAZ MORALES, LUZ           ADDRESS ON FILE
Diaz Morales, Lydia M.      ADDRESS ON FILE
DIAZ MORALES, MANUEL        ADDRESS ON FILE
DIAZ MORALES, MARIA         ADDRESS ON FILE
DIAZ MORALES, MARIA         ADDRESS ON FILE
DIAZ MORALES, MARIA I       ADDRESS ON FILE
DIAZ MORALES, MARISOL       ADDRESS ON FILE
DIAZ MORALES, MARIVELISSE   ADDRESS ON FILE
DIAZ MORALES, MELISSA       ADDRESS ON FILE
DIAZ MORALES, MICHELLE      ADDRESS ON FILE
DIAZ MORALES, MIGDALIA      ADDRESS ON FILE
Diaz Morales, Osvaldo       ADDRESS ON FILE
DIAZ MORALES, OSVALDO       ADDRESS ON FILE
DIAZ MORALES, PABLO         ADDRESS ON FILE
DIAZ MORALES, PEDRO J       ADDRESS ON FILE
DIAZ MORALES, PEDRO M       ADDRESS ON FILE
DIAZ MORALES, RAFAEL        ADDRESS ON FILE
DIAZ MORALES, RAFAEL        ADDRESS ON FILE
DIAZ MORALES, RICARDO       ADDRESS ON FILE




                                                                        Page 2329 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2330 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ MORALES, ROLANDO        ADDRESS ON FILE
DIAZ MORALES, ROSA I.        ADDRESS ON FILE
Diaz Morales, Rosa I.        ADDRESS ON FILE
DIAZ MORALES, ROSA M         ADDRESS ON FILE
DIAZ MORALES, ROSA M         ADDRESS ON FILE
DIAZ MORALES, SABINA         ADDRESS ON FILE
DIAZ MORALES, SANTA          ADDRESS ON FILE
DIAZ MORALES, SHAYMARIS      ADDRESS ON FILE
DIAZ MORALES, SHEILA M       ADDRESS ON FILE
DIAZ MORALES, SIXTO          ADDRESS ON FILE
DIAZ MORALES, SONIA          ADDRESS ON FILE
DIAZ MORALES, SONIA N        ADDRESS ON FILE
DIAZ MORALES, VICTOR         ADDRESS ON FILE
DIAZ MORALES, YASMAERIE      ADDRESS ON FILE
DIAZ MORALES, ZINNIA         ADDRESS ON FILE
DIAZ MORAN, ANTONIO          ADDRESS ON FILE
DIAZ MORENO, BRUNY VANESSA   ADDRESS ON FILE
DIAZ MORENO, JOSE            ADDRESS ON FILE
DIAZ MORENO, KIMBERLY        ADDRESS ON FILE
DIAZ MORENO, RAFAEL          ADDRESS ON FILE
DIAZ MORON, MARY             ADDRESS ON FILE
DIAZ MOULIER, ILEANA         ADDRESS ON FILE
Diaz Moya, Carlos J          ADDRESS ON FILE
DIAZ MUJICA, HECTOR          ADDRESS ON FILE
DIAZ MULERO, CARMEN M        ADDRESS ON FILE
DIAZ MULERO, MAGALY          ADDRESS ON FILE
DIAZ MULERO, NATALIE         ADDRESS ON FILE
DIAZ MULERO, VIVIANA         ADDRESS ON FILE
DIAZ MULET, JOSE A.          ADDRESS ON FILE
DIAZ MUNDO, ALEX             ADDRESS ON FILE
DIAZ MUNDO, GLADYS           ADDRESS ON FILE
DIAZ MUNDO, YESENIA M        ADDRESS ON FILE
DIAZ MUNIZ, CHRISTIAN J      ADDRESS ON FILE
DIAZ MUNIZ, CRUZ M.          ADDRESS ON FILE
DIAZ MUNIZ, IDALYS           ADDRESS ON FILE
DIAZ MUNIZ, JACKELINE        ADDRESS ON FILE
DIAZ MUNIZ, JELICSA          ADDRESS ON FILE
DIAZ MUNIZ, JESUS            ADDRESS ON FILE
DIAZ MUNIZ, JONATHAN         ADDRESS ON FILE
DIAZ MUNIZ, LISANDRA         ADDRESS ON FILE
DIAZ MUNOZ, CARLOS A.        ADDRESS ON FILE
DIAZ MUNOZ, HAYDEE           ADDRESS ON FILE
DIAZ MUNOZ, JOSE             ADDRESS ON FILE
DIAZ MUNOZ, LUIS A           ADDRESS ON FILE
Diaz Munoz, Luis E           ADDRESS ON FILE
DIAZ MUNOZ, MARGARET         ADDRESS ON FILE
DIAZ MUNOZ, MILDRED          ADDRESS ON FILE
DIAZ MUQIZ, JESENIA          ADDRESS ON FILE
DIAZ NADAL, CINDY N.         ADDRESS ON FILE
Diaz Nales, Angel L          ADDRESS ON FILE
Diaz Narvaez, Jose E         ADDRESS ON FILE
DIAZ NARVAEZ, WILMARIE       ADDRESS ON FILE
DIAZ NARVAEZ, WILMARIE       ADDRESS ON FILE
DIAZ NATAL, ANIBAL           ADDRESS ON FILE
DIAZ NATAL, KEITHA K.        ADDRESS ON FILE
DIAZ NATAL, KEITHA KAMALY    ADDRESS ON FILE
DIAZ NATAL, WILLIAM          ADDRESS ON FILE
DIAZ NATAL, WILLIAM          ADDRESS ON FILE
DIAZ NATEL MD, MARTHA M      ADDRESS ON FILE
DIAZ NATER MD, MARTA         ADDRESS ON FILE




                                                                         Page 2330 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2331 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Nater, Danny             ADDRESS ON FILE
DIAZ NATER, JOSE              ADDRESS ON FILE
DIAZ NAUT, PABLO              ADDRESS ON FILE
DIAZ NAVARRO, ANA I           ADDRESS ON FILE
DIAZ NAVARRO, ANEXI           ADDRESS ON FILE
DIAZ NAVARRO, CARMEN L        ADDRESS ON FILE
DIAZ NAVARRO, LESLIE          ADDRESS ON FILE
DIAZ NAVARRO, MAYRA           ADDRESS ON FILE
DIAZ NAVARRO, ORLANDO         ADDRESS ON FILE
Diaz Navarro, Samuel E.       ADDRESS ON FILE
DIAZ NAVARRO, SEVERINO        ADDRESS ON FILE
DIAZ NAVARRO, VICTOR          ADDRESS ON FILE
DIAZ NAVARRO, WILLIAM         ADDRESS ON FILE
DIAZ NAVARRO, ZORAIDA         ADDRESS ON FILE
DIAZ NAVARRO, ZUHEILY         ADDRESS ON FILE
DIAZ NAVEDO, JESENIA          ADDRESS ON FILE
DIAZ NAVEDO, MICHELLE         ADDRESS ON FILE
DIAZ NAVEDO, MICHELLE         ADDRESS ON FILE
DIAZ NAVEIRA, NYRMA M         ADDRESS ON FILE
DIAZ NAZARIO, ANA ROSA        ADDRESS ON FILE
DIAZ NAZARIO, EDDA            ADDRESS ON FILE
DIAZ NAZARIO, GLORIA D.       ADDRESS ON FILE
DIAZ NAZARIO, HECTOR          ADDRESS ON FILE
DIAZ NAZARIO, MIGDALIA        ADDRESS ON FILE
DIAZ NAZARIO, RUBEN           ADDRESS ON FILE
Diaz Neco, Hector E           ADDRESS ON FILE
DIAZ NEGRON, AILEEN           ADDRESS ON FILE
DIAZ NEGRON, ANGEL L          ADDRESS ON FILE
DIAZ NEGRON, CATALINA         ADDRESS ON FILE
DIAZ NEGRON, DANIA            ADDRESS ON FILE
DIAZ NEGRON, EDWIN            ADDRESS ON FILE
DIAZ NEGRON, FERMIN           ADDRESS ON FILE
DIAZ NEGRON, HECTOR           ADDRESS ON FILE
DIAZ NEGRON, HECTOR J         ADDRESS ON FILE
DIAZ NEGRON, JAITZA           ADDRESS ON FILE
DIAZ NEGRON, JOSE             ADDRESS ON FILE
DIAZ NEGRON, JOSE M.          ADDRESS ON FILE
DIAZ NEGRON, KARILINE         ADDRESS ON FILE
DIAZ NEGRON, LISA Y           ADDRESS ON FILE
DIAZ NEGRON, MARCOS           ADDRESS ON FILE
DIAZ NEGRON, MARIA D          ADDRESS ON FILE
DIAZ NEGRON, MARIA DEL C      ADDRESS ON FILE
DIAZ NEGRON, MARISELA         ADDRESS ON FILE
DIAZ NEGRON, MARLENE          ADDRESS ON FILE
DIAZ NEGRON, MARTA L          ADDRESS ON FILE
DIAZ NEGRON, MERCEDES MARIA   ADDRESS ON FILE
DIAZ NEGRON, MILTON           ADDRESS ON FILE
DIAZ NEGRON, NAHOMI           ADDRESS ON FILE
DIAZ NEGRON, NAHOMI           ADDRESS ON FILE
DIAZ NEGRON, SARAH            ADDRESS ON FILE
DIAZ NEGRON, SERGIO A         ADDRESS ON FILE
DIAZ NEGRON, VINCENT          ADDRESS ON FILE
DIAZ NEGRON, ZOE E            ADDRESS ON FILE
DIAZ NERIS, OLGA L            ADDRESS ON FILE
Diaz Nevarez, Luis E          ADDRESS ON FILE
DIAZ NEVAREZ, WIDALYS         ADDRESS ON FILE
DIAZ NEVAREZ, WIDALYZ         ADDRESS ON FILE
DIAZ NIEVES, AIDA L           ADDRESS ON FILE
DIAZ NIEVES, ALFREDO          ADDRESS ON FILE
DIAZ NIEVES, ANA I.           ADDRESS ON FILE




                                                                          Page 2331 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2332 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ NIEVES, ANA J         ADDRESS ON FILE
DIAZ NIEVES, ANGEL L.      ADDRESS ON FILE
DIAZ NIEVES, ANGEL L.      ADDRESS ON FILE
DIAZ NIEVES, BLADIMIR      ADDRESS ON FILE
DIAZ NIEVES, CARLOS        ADDRESS ON FILE
DIAZ NIEVES, CARLOS        ADDRESS ON FILE
DIAZ NIEVES, CARMEN        ADDRESS ON FILE
DIAZ NIEVES, CARMEN        ADDRESS ON FILE
DIAZ NIEVES, CESAR         ADDRESS ON FILE
DIAZ NIEVES, CHRISTIAN     ADDRESS ON FILE
DIAZ NIEVES, EDDIE L.      ADDRESS ON FILE
DIAZ NIEVES, EDWARD        ADDRESS ON FILE
DIAZ NIEVES, ENID          ADDRESS ON FILE
DIAZ NIEVES, ESTEBAN       ADDRESS ON FILE
DIAZ NIEVES, EUNID C       ADDRESS ON FILE
DIAZ NIEVES, EVELYN        ADDRESS ON FILE
DIAZ NIEVES, FERNANDO      ADDRESS ON FILE
DIAZ NIEVES, GLADYS        ADDRESS ON FILE
DIAZ NIEVES, ISABELITA     ADDRESS ON FILE
DIAZ NIEVES, ISRAEL        ADDRESS ON FILE
DIAZ NIEVES, JANICE        ADDRESS ON FILE
DIAZ NIEVES, JESSICA M     ADDRESS ON FILE
DIAZ NIEVES, JESUS         ADDRESS ON FILE
DIAZ NIEVES, JOEL O.       ADDRESS ON FILE
DIAZ NIEVES, JUAN          ADDRESS ON FILE
DIAZ NIEVES, JUAN C        ADDRESS ON FILE
DIAZ NIEVES, LILLIAM       ADDRESS ON FILE
DIAZ NIEVES, LISANDRO A.   ADDRESS ON FILE
DIAZ NIEVES, LIXIE I.      ADDRESS ON FILE
DIAZ NIEVES, LUIS          ADDRESS ON FILE
Diaz Nieves, Luis O        ADDRESS ON FILE
DIAZ NIEVES, LUISA         ADDRESS ON FILE
DIAZ NIEVES, MARIBEL       ADDRESS ON FILE
DIAZ NIEVES, NORMA         ADDRESS ON FILE
DIAZ NIEVES, OMAYRA        ADDRESS ON FILE
DIAZ NIEVES, ORLANDO       ADDRESS ON FILE
DIAZ NIEVES, RAFAEL        ADDRESS ON FILE
DIAZ NIEVES, RAMON         ADDRESS ON FILE
DIAZ NIEVES, RAMON         ADDRESS ON FILE
DIAZ NIEVES, ROBERTO       ADDRESS ON FILE
DIAZ NIEVES, ROSA M        ADDRESS ON FILE
DIAZ NIEVES, ROSA M        ADDRESS ON FILE
DIAZ NIEVES, ROSALINA      ADDRESS ON FILE
DIAZ NIEVES, SALLY         ADDRESS ON FILE
DIAZ NIEVES, SALLY E.      ADDRESS ON FILE
DIAZ NIEVES, SALLY ENID    ADDRESS ON FILE
DIAZ NIEVES, SIXTO M.      ADDRESS ON FILE
DIAZ NIEVES, SOCORRO B     ADDRESS ON FILE
Diaz Nieves, Virgilio      ADDRESS ON FILE
DIAZ NIEVES, XAVIER        ADDRESS ON FILE
DIAZ NIEVES, YARITZA       ADDRESS ON FILE
DIAZ NIEVES, ZABRINA       ADDRESS ON FILE
DIAZ NOA, JUAN             ADDRESS ON FILE
DIAZ NOA, JUAN RAMON       ADDRESS ON FILE
DIAZ NODAL, OSCAR          ADDRESS ON FILE
DIAZ NOTA, RINA            ADDRESS ON FILE
DIAZ NUNEZ, EDILMA         ADDRESS ON FILE
DIAZ NUNEZ, EDNA A         ADDRESS ON FILE
DIAZ NUNEZ, EUSEBIO        ADDRESS ON FILE
Diaz Nunez, Felipe         ADDRESS ON FILE




                                                                       Page 2332 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2333 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ NUNEZ, JANICE             ADDRESS ON FILE
DIAZ NUNEZ, JEANNETTE          ADDRESS ON FILE
DIAZ NUNEZ, LUIS               ADDRESS ON FILE
DIAZ NUNEZ, LUIS E             ADDRESS ON FILE
DIAZ NUNEZ, LUIS M.            ADDRESS ON FILE
Diaz Nunez, Pedro              ADDRESS ON FILE
Diaz Nunez, Rafael             ADDRESS ON FILE
DIAZ NUNEZ, SAUL               ADDRESS ON FILE
DIAZ O NEILL, NILDA R          ADDRESS ON FILE
DIAZ OCANA, VIVECALYN          ADDRESS ON FILE
DIAZ OCASIO, AMARILIS          ADDRESS ON FILE
DIAZ OCASIO, DAMARIS           ADDRESS ON FILE
DIAZ OCASIO, EVELYN            ADDRESS ON FILE
Diaz Ocasio, Graciany Y.       ADDRESS ON FILE
DIAZ OCASIO, JORGE L           ADDRESS ON FILE
DIAZ OCASIO, JOSE              ADDRESS ON FILE
DIAZ OCASIO, JUAN O            ADDRESS ON FILE
DIAZ OCASIO, JULIO             ADDRESS ON FILE
DIAZ OCASIO, KARLA             ADDRESS ON FILE
DIAZ OCASIO, LEILA             ADDRESS ON FILE
DIAZ OCASIO, LUIS              ADDRESS ON FILE
DIAZ OCASIO, MARIA E.          ADDRESS ON FILE
DIAZ O'FARRIL, LUIS R.         ADDRESS ON FILE
DIAZ OFARRIL, NYDIA            ADDRESS ON FILE
DIAZ OFRAY, ANIBAL             ADDRESS ON FILE
DIAZ OFRAY, BRENDALIZ          ADDRESS ON FILE
DIAZ OJEDA, GLENDA             ADDRESS ON FILE
DIAZ OJEDA, JOSE L.            ADDRESS ON FILE
DIAZ OJEDA, MARY C.            ADDRESS ON FILE
DIAZ OLAZAGASTI, NILDA E       ADDRESS ON FILE
DIAZ OLIVERAS, MIGDELINA       ADDRESS ON FILE
DIAZ OLIVERO, CORALY           ADDRESS ON FILE
DIAZ OLIVO, EILLEN             ADDRESS ON FILE
DIAZ OLIVO, WILFREDO           ADDRESS ON FILE
DIAZ OLMEDA, DAMARIS           ADDRESS ON FILE
DIAZ OLMEDA, EDGARDO I.        ADDRESS ON FILE
DIAZ OLMEDA, IVELISSE          ADDRESS ON FILE
DIAZ OLMEDA, NIXA              ADDRESS ON FILE
DIAZ OLMEDA, RAMONA            ADDRESS ON FILE
DIAZ OLMEDA, SONIA             ADDRESS ON FILE
DIAZ OLMEDA, TOMAS             ADDRESS ON FILE
DIAZ OLMEDO, EDWARD            ADDRESS ON FILE
DIAZ OLMEDO, JESUS             ADDRESS ON FILE
DIAZ OLMO, AIDA                ADDRESS ON FILE
DIAZ OLMO, AIDA VANESSA        ADDRESS ON FILE
DIAZ OLMO, IRIS M              ADDRESS ON FILE
DIAZ O'NEILL, ALEXANDRA        ADDRESS ON FILE
DIAZ O'NEILL, ALEXANDRA        ADDRESS ON FILE
DIAZ ONEILL, DESERIEE          ADDRESS ON FILE
DIAZ ONEILL, HERNAN            ADDRESS ON FILE
DIAZ OQUENDO, CARLOS           ADDRESS ON FILE
DIAZ OQUENDO, JOHANY           ADDRESS ON FILE
DIAZ OQUENDO, JOSE A           ADDRESS ON FILE
DIAZ ORAMA, EDWIN              ADDRESS ON FILE
DIAZ ORAMA, WALESKA            ADDRESS ON FILE
DIAZ ORELLANA, DENISSE         ADDRESS ON FILE
DIAZ ORELLANA, KEYSHLA MARIE   ADDRESS ON FILE
DIAZ ORELLANA, WILFREDO        ADDRESS ON FILE
DIAZ ORELLANO, LETICIA         ADDRESS ON FILE
DIAZ ORENGO, ROUSE A           ADDRESS ON FILE




                                                                           Page 2333 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 2334 of 3500
                                                                         17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name             Address1                                Address2                                   Address3   Address4   City        State   PostalCode   Country
DIAZ OROZCO, BRENDA       ADDRESS ON FILE
DIAZ OROZCO, DAMIEN       ADDRESS ON FILE
DIAZ OROZCO, DARWIN       ADDRESS ON FILE
DIAZ OROZCO, MARIA F.     ADDRESS ON FILE
Diaz Orozco, Ramon E      ADDRESS ON FILE
DIAZ ORTA, JESSICA        ADDRESS ON FILE
DIAZ ORTEGA, CARMEN H     ADDRESS ON FILE
DIAZ ORTEGA, DIANELLYS    ADDRESS ON FILE
DIAZ ORTEGA, EDDA         ADDRESS ON FILE
DIAZ ORTEGA, JOSE         ADDRESS ON FILE
DIAZ ORTIZ, ADALBERTO     ADDRESS ON FILE
DIAZ ORTIZ, ADALBERTO     ADDRESS ON FILE
DIAZ ORTIZ, ADOLFO D      ADDRESS ON FILE
DIAZ ORTIZ, ADRIANA A     ADDRESS ON FILE
DIAZ ORTIZ, ALBERTO       ADDRESS ON FILE
DIAZ ORTIZ, ALEIDA        ADDRESS ON FILE
Diaz Ortiz, Alejandro     ADDRESS ON FILE
DÍAZ ORTIZ, ALEXANDER     LCDO HECTOR SANTIAGO RIVERALCDO. ORLANDOCALLE ESTEBAN PADILLA 60‐E‐ALTOS                                 BAYAMON     PR      00959
DIAZ ORTIZ, ALEXIS        ADDRESS ON FILE
DIAZ ORTIZ, ALFONSO       ADDRESS ON FILE
DIAZ ORTIZ, ANA M         ADDRESS ON FILE
DIAZ ORTIZ, ANDRES R      ADDRESS ON FILE
DIAZ ORTIZ, ANGEL         ADDRESS ON FILE
DIAZ ORTIZ, ANGEL         ADDRESS ON FILE
DIAZ ORTIZ, ANGEL L       ADDRESS ON FILE
Diaz Ortiz, Angel L       ADDRESS ON FILE
DIAZ ORTIZ, ANGEL L       ADDRESS ON FILE
Diaz Ortiz, Angel L.      ADDRESS ON FILE
DIAZ ORTIZ, ANGEL M.      ADDRESS ON FILE
DIAZ ORTIZ, ARODIS        ADDRESS ON FILE
DIAZ ORTIZ, AURIMAR       ADDRESS ON FILE
DIAZ ORTIZ, BETTY A       ADDRESS ON FILE
DIAZ ORTIZ, BETZAIDA      ADDRESS ON FILE
DIAZ ORTIZ, BRYAN A       ADDRESS ON FILE
DIAZ ORTIZ, CARMEN M      ADDRESS ON FILE
DIAZ ORTIZ, CARMEN M      ADDRESS ON FILE
DIAZ ORTIZ, CAROL L       ADDRESS ON FILE
DIAZ ORTIZ, DAMARIS       ADDRESS ON FILE
DIAZ ORTIZ, DARWIN        ADDRESS ON FILE
DIAZ ORTIZ, DAVID         ADDRESS ON FILE
DIAZ ORTIZ, DAVID         ADDRESS ON FILE
DIAZ ORTIZ, DEBBIE A      ADDRESS ON FILE
DIAZ ORTIZ, DENNIS        ADDRESS ON FILE
DIAZ ORTIZ, DIMARIE       ADDRESS ON FILE
DIAZ ORTIZ, DINORAH       ADDRESS ON FILE
Diaz Ortiz, Domingo       ADDRESS ON FILE
DIAZ ORTIZ, DORIS E.      ADDRESS ON FILE
DIAZ ORTIZ, EDWIN         ADDRESS ON FILE
DIAZ ORTIZ, EFRAIN        ADDRESS ON FILE
DIAZ ORTIZ, EILEEN N.     ADDRESS ON FILE
DIAZ ORTIZ, ENRIQUE       ADDRESS ON FILE
DIAZ ORTIZ, ESPERANZA     ADDRESS ON FILE
DIAZ ORTIZ, EUFEMIA       ADDRESS ON FILE
DIAZ ORTIZ, EULALIO       ADDRESS ON FILE
DIAZ ORTIZ, EVA           ADDRESS ON FILE
DIAZ ORTIZ, EVELYN        ADDRESS ON FILE
DIAZ ORTIZ, FERNANDO      ADDRESS ON FILE
DIAZ ORTIZ, FRANCISCA D   ADDRESS ON FILE
DIAZ ORTIZ, FRANCISCO     ADDRESS ON FILE
DIAZ ORTIZ, GADIEL        ADDRESS ON FILE




                                                                                              Page 2334 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2335 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ORTIZ, GLORIA             ADDRESS ON FILE
DIAZ ORTIZ, GLORIA E           ADDRESS ON FILE
DIAZ ORTIZ, GRISELLE           ADDRESS ON FILE
DIAZ ORTIZ, JASMINA AMARILIS   ADDRESS ON FILE
DIAZ ORTIZ, JASON              ADDRESS ON FILE
DIAZ ORTIZ, JAVIER             ADDRESS ON FILE
DIAZ ORTIZ, JENIFFER           ADDRESS ON FILE
DIAZ ORTIZ, JESSICA            ADDRESS ON FILE
DIAZ ORTIZ, JESUS              ADDRESS ON FILE
DIAZ ORTIZ, JOALIS             ADDRESS ON FILE
Diaz Ortiz, Jonathan           ADDRESS ON FILE
DIAZ ORTIZ, JONATHAN           ADDRESS ON FILE
DIAZ ORTIZ, JOSE               ADDRESS ON FILE
DIAZ ORTIZ, JOSE               ADDRESS ON FILE
DIAZ ORTIZ, JOSE               ADDRESS ON FILE
DIAZ ORTIZ, JOSE C.            ADDRESS ON FILE
Diaz Ortiz, Jose M.            ADDRESS ON FILE
DIAZ ORTIZ, JUAN               ADDRESS ON FILE
DIAZ ORTIZ, JUAN               ADDRESS ON FILE
DIAZ ORTIZ, JUAN               ADDRESS ON FILE
DIAZ ORTIZ, JUAN               ADDRESS ON FILE
Diaz Ortiz, Juan C             ADDRESS ON FILE
DIAZ ORTIZ, JUAN J             ADDRESS ON FILE
DIAZ ORTIZ, JUANITA            ADDRESS ON FILE
DIAZ ORTIZ, JUDITH             ADDRESS ON FILE
DIAZ ORTIZ, JULIANA            ADDRESS ON FILE
Diaz Ortiz, Julio              ADDRESS ON FILE
DIAZ ORTIZ, KELVIN             ADDRESS ON FILE
DIAZ ORTIZ, LARISSA            ADDRESS ON FILE
DIAZ ORTIZ, LESVIA             ADDRESS ON FILE
Diaz Ortiz, Lillian            ADDRESS ON FILE
DIAZ ORTIZ, LISSETTE           ADDRESS ON FILE
DIAZ ORTIZ, LOURDES E          ADDRESS ON FILE
DIAZ ORTIZ, LOURDES M          ADDRESS ON FILE
DIAZ ORTIZ, LUIS               ADDRESS ON FILE
DIAZ ORTIZ, LUZ MYRIAM         ADDRESS ON FILE
DIAZ ORTIZ, MANUEL             ADDRESS ON FILE
DIAZ ORTIZ, MARIA DE LOS A     ADDRESS ON FILE
DIAZ ORTIZ, MARIA M            ADDRESS ON FILE
DIAZ ORTIZ, MARIA S            ADDRESS ON FILE
DIAZ ORTIZ, MARIA S            ADDRESS ON FILE
DIAZ ORTIZ, MARIA S            ADDRESS ON FILE
DIAZ ORTIZ, MARIANO            ADDRESS ON FILE
DIAZ ORTIZ, MARILYN            ADDRESS ON FILE
DIAZ ORTIZ, MAYRA              ADDRESS ON FILE
DIAZ ORTIZ, MAYRA R.           ADDRESS ON FILE
DIAZ ORTIZ, MELVIN             ADDRESS ON FILE
DIAZ ORTIZ, MICHELLE           ADDRESS ON FILE
DIAZ ORTIZ, MIGDELINA          ADDRESS ON FILE
DIAZ ORTIZ, MILAGROS           ADDRESS ON FILE
DIAZ ORTIZ, MIRIAM             ADDRESS ON FILE
DIAZ ORTIZ, NATALIE            ADDRESS ON FILE
DIAZ ORTIZ, NATIVIDAD          ADDRESS ON FILE
DIAZ ORTIZ, NAYDA I            ADDRESS ON FILE
DIAZ ORTIZ, NELSON             ADDRESS ON FILE
DIAZ ORTIZ, NORMA E            ADDRESS ON FILE
Diaz Ortiz, Norma Ivette       ADDRESS ON FILE
DIAZ ORTIZ, OBED               ADDRESS ON FILE
DIAZ ORTIZ, OBED               ADDRESS ON FILE
DIAZ ORTIZ, PABLO              ADDRESS ON FILE




                                                                           Page 2335 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2336 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ORTIZ, PABLO            ADDRESS ON FILE
DIAZ ORTIZ, PATRICIA         ADDRESS ON FILE
DIAZ ORTIZ, RAMONITA         ADDRESS ON FILE
DIAZ ORTIZ, RAMONITA         ADDRESS ON FILE
DIAZ ORTIZ, RAUL             ADDRESS ON FILE
DIAZ ORTIZ, RAUL             ADDRESS ON FILE
DIAZ ORTIZ, RICARDO          ADDRESS ON FILE
DIAZ ORTIZ, RICKY            ADDRESS ON FILE
DIAZ ORTIZ, RICKY            ADDRESS ON FILE
DIAZ ORTIZ, ROSA R           ADDRESS ON FILE
DIAZ ORTIZ, ROXANIE          ADDRESS ON FILE
DIAZ ORTIZ, SONIA N.         ADDRESS ON FILE
DIAZ ORTIZ, VICTOR           ADDRESS ON FILE
Diaz Ortiz, Victor J         ADDRESS ON FILE
DIAZ ORTIZ, WALESCA          ADDRESS ON FILE
DIAZ ORTIZ, WANDA I          ADDRESS ON FILE
DIAZ ORTIZ, WILMA LIDIANLI   ADDRESS ON FILE
DIAZ ORTIZ, WILSON           ADDRESS ON FILE
DIAZ OSBORNE, JULIA M        ADDRESS ON FILE
DIAZ OSCANA, ENID            ADDRESS ON FILE
DIAZ OSORIO, BENJAMIN        ADDRESS ON FILE
DIAZ OSORIO, CARLOS          ADDRESS ON FILE
DIAZ OSORIO, CESAR A         ADDRESS ON FILE
DIAZ OSORIO, EDWIN           ADDRESS ON FILE
DIAZ OSORIO, EDWIN           ADDRESS ON FILE
DIAZ OSORIO, EVELYN          ADDRESS ON FILE
DIAZ OSORIO, IDA             ADDRESS ON FILE
DIAZ OSORIO, IDELISA         ADDRESS ON FILE
Diaz Osorio, Ismael          ADDRESS ON FILE
DIAZ OSORIO, JAMIL           ADDRESS ON FILE
DIAZ OSORIO, JESSICA         ADDRESS ON FILE
DIAZ OSORIO, ORLANDO         ADDRESS ON FILE
DIAZ OSORIO, VICTOR ADOLFO   ADDRESS ON FILE
DIAZ OTANO, ADA M            ADDRESS ON FILE
DIAZ OTERO, ENCARNACION      ADDRESS ON FILE
DIAZ OTERO, JOSEFA           ADDRESS ON FILE
DIAZ OTERO, JUAN             ADDRESS ON FILE
DIAZ OTERO, LOURDES          ADDRESS ON FILE
DIAZ OTERO, LUIS J.          ADDRESS ON FILE
Diaz Otero, Rafael           ADDRESS ON FILE
DIAZ OTERO, RIGOBERTO        ADDRESS ON FILE
DIAZ OTERO, ROBERTO          ADDRESS ON FILE
DIAZ OTERO, TAMARY           ADDRESS ON FILE
DIAZ OYOLA, CARLA            ADDRESS ON FILE
Diaz Oyola, Christopher      ADDRESS ON FILE
DIAZ OYOLA, LISETTE          ADDRESS ON FILE
DIAZ OYOLA, LIZ M            ADDRESS ON FILE
DIAZ OYOLA, MARGARITA        ADDRESS ON FILE
DIAZ OYOLA, MARGARITA        ADDRESS ON FILE
DIAZ OYOLA, SAMUEL           ADDRESS ON FILE
DIAZ OYOLA, SAMUEL           ADDRESS ON FILE
DIAZ OYOLA, YAMIL            ADDRESS ON FILE
DIAZ PABON, BEATRIZ          ADDRESS ON FILE
DIAZ PABON, CARLOS JUAN      ADDRESS ON FILE
DIAZ PABON, DAVID            ADDRESS ON FILE
DIAZ PABON, HAROLD           ADDRESS ON FILE
DIAZ PABON, JUAN             ADDRESS ON FILE
DIAZ PABON, MANUEL           ADDRESS ON FILE
DIAZ PABON, NORMAN R         ADDRESS ON FILE
DIAZ PABON, RAQUEL           ADDRESS ON FILE




                                                                         Page 2336 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2337 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ PABON, SYLVIA           ADDRESS ON FILE
DIAZ PACHECO, ANGEL L.       ADDRESS ON FILE
DIAZ PACHECO, CESAR A        ADDRESS ON FILE
DIAZ PACHECO, JESSICA        ADDRESS ON FILE
DIAZ PACHECO, JESUS          ADDRESS ON FILE
DIAZ PACHECO, JOSE A         ADDRESS ON FILE
DIAZ PACHECO, MARIA I.       ADDRESS ON FILE
DIAZ PACHECO, NESTOR         ADDRESS ON FILE
DIAZ PACHECO, NIVIA          ADDRESS ON FILE
DIAZ PACHECO, ORITIA         ADDRESS ON FILE
DIAZ PACHECO, VANESSA        ADDRESS ON FILE
DIAZ PADILLA MD, JULIO L     ADDRESS ON FILE
DIAZ PADILLA, DANIEL         ADDRESS ON FILE
DIAZ PADILLA, EDGAR          ADDRESS ON FILE
DIAZ PADILLA, FELIPE         ADDRESS ON FILE
DIAZ PADILLA, JOSE           ADDRESS ON FILE
Diaz Padilla, Juan J.        ADDRESS ON FILE
DIAZ PADILLA, MARIA          ADDRESS ON FILE
DIAZ PADILLA, MARIA DEL C    ADDRESS ON FILE
DIAZ PADILLA, MAYRA          ADDRESS ON FILE
DIAZ PADILLA, MILDRED        ADDRESS ON FILE
DIAZ PADILLA, SHIRLEY        ADDRESS ON FILE
DIAZ PADRO, BELMARIE         ADDRESS ON FILE
DIAZ PADRO, MARIA DEL        ADDRESS ON FILE
DIAZ PADRO, MAYRA M          ADDRESS ON FILE
Diaz Padro, Ruben            ADDRESS ON FILE
DIAZ PADRON, CAMILA          ADDRESS ON FILE
DIAZ PADRON, SAMUEL          ADDRESS ON FILE
DIAZ PAGAN, ALFONSO          ADDRESS ON FILE
DIAZ PAGAN, ALVIN            ADDRESS ON FILE
DIAZ PAGAN, AMELIA           ADDRESS ON FILE
DIAZ PAGAN, ANGEL R          ADDRESS ON FILE
DIAZ PAGAN, BRENDA           ADDRESS ON FILE
DIAZ PAGAN, DAVID            ADDRESS ON FILE
DIAZ PAGAN, DIANE            ADDRESS ON FILE
Diaz Pagan, Efrain           ADDRESS ON FILE
DIAZ PAGAN, EFRAIN           ADDRESS ON FILE
DIAZ PAGAN, ELBA             ADDRESS ON FILE
DIAZ PAGAN, ELBA I           ADDRESS ON FILE
Diaz Pagan, Elvis            ADDRESS ON FILE
DIAZ PAGAN, ELVIS L          ADDRESS ON FILE
DIAZ PAGAN, FRANCHESCA       ADDRESS ON FILE
Diaz Pagan, Gilberto         ADDRESS ON FILE
DIAZ PAGAN, ISAURA           ADDRESS ON FILE
Diaz Pagan, Japhet           ADDRESS ON FILE
DIAZ PAGAN, JESUS E.         ADDRESS ON FILE
DIAZ PAGAN, JOSE             ADDRESS ON FILE
Diaz Pagan, Juan             ADDRESS ON FILE
DIAZ PAGAN, JUAN A.          ADDRESS ON FILE
DIAZ PAGAN, JUAN M           ADDRESS ON FILE
DIAZ PAGAN, LAURA            ADDRESS ON FILE
DIAZ PAGAN, LAURA            ADDRESS ON FILE
DIAZ PAGAN, LUISA            ADDRESS ON FILE
DIAZ PAGAN, MARIA D          ADDRESS ON FILE
DIAZ PAGAN, MARIA DE LOS A   ADDRESS ON FILE
DIAZ PAGAN, MARUXA           ADDRESS ON FILE
DIAZ PAGAN, MIGUEL           ADDRESS ON FILE
DIAZ PAGAN, NANCY            ADDRESS ON FILE
Diaz Pagan, Norma Ellis      ADDRESS ON FILE
DIAZ PAGAN, ROSA E           ADDRESS ON FILE




                                                                         Page 2337 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2338 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ PAGAN, TEODORO            ADDRESS ON FILE
DIAZ PAGAN, WANDALIZ           ADDRESS ON FILE
DIAZ PAGAN, WILLIAM            ADDRESS ON FILE
DIAZ PAGAN, YAHAIRA            ADDRESS ON FILE
DIAZ PAGANI, GUSTAVO           ADDRESS ON FILE
DIAZ PALACIOS, MONICA          ADDRESS ON FILE
DIAZ PALMER, CARLOS L.         ADDRESS ON FILE
DIAZ PANTOJA, CAROL            ADDRESS ON FILE
DIAZ PANTOJAS,ALEXIS           ADDRESS ON FILE
DIAZ PANTON, DAMARYS           ADDRESS ON FILE
DIAZ PAOLI, GRETCHEN           ADDRESS ON FILE
DIAZ PAOLI, MABEL              ADDRESS ON FILE
DIAZ PAOLI, MADELINE           ADDRESS ON FILE
DIAZ PAREDES, JEANNETTE        ADDRESS ON FILE
DIAZ PARES, CLAUDIA PATRICIA   ADDRESS ON FILE
DIAZ PARES, KATHERINE          ADDRESS ON FILE
DIAZ PARES, MARIE              ADDRESS ON FILE
DIAZ PARILLA, LIZAMARIE        ADDRESS ON FILE
DIAZ PARIS, NORMA              ADDRESS ON FILE
DIAZ PARIS, NORMA              ADDRESS ON FILE
DIAZ PARIS, NORMA              ADDRESS ON FILE
DIAZ PARIS, NORMA I.           ADDRESS ON FILE
DIAZ PARRA, GLADYS V.          ADDRESS ON FILE
DIAZ PARRILLA, GUSTAVO         ADDRESS ON FILE
DIAZ PARRILLA, WILFREDO        ADDRESS ON FILE
DIAZ PASTRANA, GRACE M         ADDRESS ON FILE
DIAZ PASTRANA, JAIME           ADDRESS ON FILE
DIAZ PATRON, EDUARDO           ADDRESS ON FILE
DIAZ PAULINO, JULIO            ADDRESS ON FILE
DIAZ PAZ, VALERIE              ADDRESS ON FILE
DIAZ PAZOL, MARILYN            ADDRESS ON FILE
DIAZ PEDRAGON, MIGUELINA       ADDRESS ON FILE
DIAZ PEDRAZA, ELIEZER          ADDRESS ON FILE
DIAZ PEDRAZA, LEOPOLDO         ADDRESS ON FILE
DIAZ PEDRAZA, NICOLE           ADDRESS ON FILE
DIAZ PEDRAZA, NYLIMER          ADDRESS ON FILE
DIAZ PEDRO, FELICITA           ADDRESS ON FILE
DIAZ PEDROGO, GLADYS M         ADDRESS ON FILE
DIAZ PEDROSA, JAVIER O.        ADDRESS ON FILE
DIAZ PEDROSA, JUAN B.          ADDRESS ON FILE
DIAZ PEDROZA, CARMEN D         ADDRESS ON FILE
DIAZ PEDROZA, ILEANA           ADDRESS ON FILE
DIAZ PEDROZA, JUAN B.          ADDRESS ON FILE
DIAZ PENA, ALEXIS              ADDRESS ON FILE
DIAZ PENA, EDGARDO             ADDRESS ON FILE
Diaz Pena, Jorge L             ADDRESS ON FILE
DIAZ PENA, JOSE                ADDRESS ON FILE
DIAZ PENA, JOSE A              ADDRESS ON FILE
DIAZ PENA, LIZETTE             ADDRESS ON FILE
DIAZ PENA, LUISA               ADDRESS ON FILE
DIAZ PENA, MIGUEL              ADDRESS ON FILE
DIAZ PENA, MIGUEL A            ADDRESS ON FILE
DIAZ PENA, PEDRO               ADDRESS ON FILE
DIAZ PENA, POINCARE            ADDRESS ON FILE
DIAZ PENA, POINCARE            ADDRESS ON FILE
DIAZ PEQA, SANDRA N            ADDRESS ON FILE
DIAZ PEREIRA, BEATRIZ          ADDRESS ON FILE
DIAZ PEREIRA, JESUS            ADDRESS ON FILE
DIAZ PEREIRA, NAOMI            ADDRESS ON FILE
DIAZ PEREIRA, ROSAURA          ADDRESS ON FILE




                                                                           Page 2338 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 2339 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ PEREZ MD, LUIS      ADDRESS ON FILE
DIAZ PEREZ MD, SONIA E   ADDRESS ON FILE
DIAZ PEREZ MD, SONIA E   ADDRESS ON FILE
DIAZ PEREZ, AIDA I       ADDRESS ON FILE
DIAZ PEREZ, ALEXIS       ADDRESS ON FILE
DIAZ PEREZ, ALEXIS       ADDRESS ON FILE
DIAZ PEREZ, ALMA J       ADDRESS ON FILE
DIAZ PEREZ, AMPARO       ADDRESS ON FILE
DIAZ PEREZ, ANA I        ADDRESS ON FILE
DIAZ PEREZ, ANABEL M     ADDRESS ON FILE
DIAZ PEREZ, ANGEL L      ADDRESS ON FILE
DIAZ PEREZ, ANGELICA M   ADDRESS ON FILE
DIAZ PEREZ, ARMANDO      ADDRESS ON FILE
DIAZ PEREZ, CARLOS       ADDRESS ON FILE
DIAZ PEREZ, CARLOS I.    ADDRESS ON FILE
DIAZ PEREZ, CARMEN       ADDRESS ON FILE
DIAZ PEREZ, CARMEN       ADDRESS ON FILE
DIAZ PEREZ, CARMEN D     ADDRESS ON FILE
DIAZ PEREZ, CARMEN L     ADDRESS ON FILE
DIAZ PEREZ, CARMEN L     ADDRESS ON FILE
DIAZ PEREZ, CARMEN M     ADDRESS ON FILE
DIAZ PEREZ, CLEMENTE     ADDRESS ON FILE
DIAZ PEREZ, DAISY        ADDRESS ON FILE
DIAZ PEREZ, DAMARIS      ADDRESS ON FILE
Diaz Perez, David        ADDRESS ON FILE
DIAZ PEREZ, DIANA        ADDRESS ON FILE
DIAZ PEREZ, DIANE        ADDRESS ON FILE
DIAZ PEREZ, EDGAR        ADDRESS ON FILE
DIAZ PEREZ, EDGAR A.     ADDRESS ON FILE
DIAZ PEREZ, EDGARDO      ADDRESS ON FILE
DIAZ PEREZ, EDGARDO      ADDRESS ON FILE
DIAZ PEREZ, EDNA M       ADDRESS ON FILE
DIAZ PEREZ, EDUARDO      ADDRESS ON FILE
DIAZ PEREZ, EILEEN       ADDRESS ON FILE
DIAZ PEREZ, ELADIO       ADDRESS ON FILE
Diaz Perez, Elliot       ADDRESS ON FILE
DIAZ PEREZ, FERNANDO L   ADDRESS ON FILE
DIAZ PEREZ, ILIANA       ADDRESS ON FILE
DIAZ PEREZ, IRIS E.      ADDRESS ON FILE
DIAZ PEREZ, IRIS Y       ADDRESS ON FILE
DIAZ PEREZ, IRMA         ADDRESS ON FILE
DIAZ PEREZ, IRVING       ADDRESS ON FILE
DIAZ PEREZ, IRVING       ADDRESS ON FILE
DIAZ PEREZ, IVETTE       ADDRESS ON FILE
DIAZ PEREZ, IVIA         ADDRESS ON FILE
DIAZ PEREZ, IVONNE       ADDRESS ON FILE
DIAZ PEREZ, JOHANN       ADDRESS ON FILE
DIAZ PEREZ, JOSE         ADDRESS ON FILE
DIAZ PEREZ, JOSE         ADDRESS ON FILE
DIAZ PEREZ, JOSE         ADDRESS ON FILE
DIAZ PEREZ, JOSE         ADDRESS ON FILE
Diaz Perez, Jose A       ADDRESS ON FILE
Diaz Perez, Jose J       ADDRESS ON FILE
DIAZ PEREZ, JOSUE        ADDRESS ON FILE
DIAZ PEREZ, JUAN C.      ADDRESS ON FILE
DIAZ PEREZ, JUANA        ADDRESS ON FILE
DIAZ PEREZ, JULIAN       ADDRESS ON FILE
DIAZ PEREZ, KARINA       ADDRESS ON FILE
DIAZ PEREZ, KARLA L      ADDRESS ON FILE
DIAZ PEREZ, KEVIN        ADDRESS ON FILE




                                                                     Page 2339 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2340 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ PEREZ, KRISTIA               ADDRESS ON FILE
DIAZ PEREZ, LILLIAM I             ADDRESS ON FILE
DIAZ PEREZ, LILLIAM M.            ADDRESS ON FILE
DIAZ PEREZ, LINDA R               ADDRESS ON FILE
Diaz Perez, Lourdes               ADDRESS ON FILE
DIAZ PEREZ, LUIS                  ADDRESS ON FILE
DIAZ PEREZ, LUZ MARITZA           ADDRESS ON FILE
DIAZ PEREZ, MADGALIN              ADDRESS ON FILE
Diaz Perez, Magaly                ADDRESS ON FILE
Diaz Perez, Manuel                ADDRESS ON FILE
DIAZ PEREZ, MANUEL                ADDRESS ON FILE
DIAZ PEREZ, MARANGELI             ADDRESS ON FILE
DIAZ PEREZ, MARANGELY             ADDRESS ON FILE
DIAZ PEREZ, MARIA                 ADDRESS ON FILE
DIAZ PEREZ, MARIA A.              ADDRESS ON FILE
DIAZ PEREZ, MARIA DEL C.          ADDRESS ON FILE
DIAZ PEREZ, MARIA I               ADDRESS ON FILE
DIAZ PEREZ, MARIA M               ADDRESS ON FILE
DIAZ PEREZ, MARIELA               ADDRESS ON FILE
DIAZ PEREZ, MARITZA               ADDRESS ON FILE
DIAZ PEREZ, MARITZA               ADDRESS ON FILE
DIAZ PEREZ, MILDRED               ADDRESS ON FILE
DIAZ PEREZ, MILISSA               ADDRESS ON FILE
DIAZ PEREZ, MINERVA               ADDRESS ON FILE
DIAZ PEREZ, MIRTALIA              ADDRESS ON FILE
DIAZ PEREZ, NEREIDA               ADDRESS ON FILE
DIAZ PEREZ, NORIS                 ADDRESS ON FILE
DIAZ PEREZ, NORMA                 ADDRESS ON FILE
DIAZ PEREZ, NYDIA M               ADDRESS ON FILE
DIAZ PEREZ, OSVALDO               ADDRESS ON FILE
DIAZ PEREZ, RAFAEL                ADDRESS ON FILE
DIAZ PEREZ, RAFAEL                ADDRESS ON FILE
DIAZ PEREZ, RAFAEL                ADDRESS ON FILE
Diaz Perez, Raul                  ADDRESS ON FILE
DIAZ PEREZ, REINALDO A.           ADDRESS ON FILE
DIAZ PEREZ, REYNALDO A.           ADDRESS ON FILE
DIAZ PEREZ, ROSALINA              ADDRESS ON FILE
DIAZ PEREZ, SANDRA                ADDRESS ON FILE
DIAZ PEREZ, SHARILYS              ADDRESS ON FILE
DIAZ PEREZ, SOLENID               ADDRESS ON FILE
DIAZ PEREZ, SOLENID               ADDRESS ON FILE
DIAZ PEREZ, SONIA                 ADDRESS ON FILE
DIAZ PEREZ, SUGEIRY               ADDRESS ON FILE
DIAZ PEREZ, VANESSA               ADDRESS ON FILE
DIAZ PEREZ, VICTOR                ADDRESS ON FILE
DIAZ PEREZ, WANDA E               ADDRESS ON FILE
Diaz Perez, William               ADDRESS ON FILE
DIAZ PEREZ, WILLIAM               ADDRESS ON FILE
DIAZ PEREZ, WILMARIE              ADDRESS ON FILE
DIAZ PEREZ, YARISBETH             ADDRESS ON FILE
DIAZ PEREZ, YOMARIS               ADDRESS ON FILE
DIAZ PIETRI, NORBERTO             ADDRESS ON FILE
DIAZ PIFERRER MONTANEZ, BARBARA   ADDRESS ON FILE
DIAZ PILLOT, JOSE A.              ADDRESS ON FILE
DIAZ PINA, HECTOR L.              ADDRESS ON FILE
DIAZ PINA, RUBEN                  ADDRESS ON FILE
DIAZ PINAZO, JOSE L.              ADDRESS ON FILE
DIAZ PINEIRO, FERNANDO            ADDRESS ON FILE
DIAZ PINEIRO, RAUL                ADDRESS ON FILE
DIAZ PINERES, MAURICIO            ADDRESS ON FILE




                                                                              Page 2340 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2341 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ PINERO, ALEXIS              ADDRESS ON FILE
DIAZ PINERO, BENITO              ADDRESS ON FILE
DIAZ PINERO, DANISLAO            ADDRESS ON FILE
DIAZ PINERO, HECTOR              ADDRESS ON FILE
DIAZ PINERO, LUIS                ADDRESS ON FILE
DIAZ PINO DE GUASH, JUANA        ADDRESS ON FILE
DIAZ PINTO, MARIA F              ADDRESS ON FILE
Diaz Pintor, Brenda L.           ADDRESS ON FILE
Diaz Pintor, Orealiz             ADDRESS ON FILE
DIAZ PIRELA, LUIS                ADDRESS ON FILE
Diaz Pitti, Cesar J.             ADDRESS ON FILE
DIAZ PIZARRO, EVELYN             ADDRESS ON FILE
DIAZ PIZARRO, JANET              ADDRESS ON FILE
DIAZ PIZARRO, JOSE LUIS          ADDRESS ON FILE
DIAZ PIZARRO, JOSEFINA           ADDRESS ON FILE
DIAZ PIZARRO, JUDITH             ADDRESS ON FILE
Diaz Pizarro, Julio A            ADDRESS ON FILE
DIAZ PIZARRO, MARTA E            ADDRESS ON FILE
Diaz Pizarrro, Vivianannette     ADDRESS ON FILE
DIAZ PLACERES, NEREIDA           ADDRESS ON FILE
DIAZ PLAZA, EUGENIO              ADDRESS ON FILE
DIAZ PLAZA, FEDERICO             ADDRESS ON FILE
DIAZ PLAZA, FEDERICO             ADDRESS ON FILE
DIAZ PLAZA, JOSE A.              ADDRESS ON FILE
DIAZ PLUMBING Y/O RAMON L DIAZ   LAS VEGAS                 F2 CALLE 2                                             CATANO       PR      00962
DIAZ POLLOCK, LUZ G.             ADDRESS ON FILE
DIAZ POLO, YAMILKA               ADDRESS ON FILE
Diaz Polo, Yamilka               ADDRESS ON FILE
DIAZ POLO, YAMILKA               ADDRESS ON FILE
Diaz Pomales, Carlos R           ADDRESS ON FILE
DIAZ POMALES, JENNIFER           ADDRESS ON FILE
DIAZ POMALES, MERCEDES           ADDRESS ON FILE
DIAZ POMALES, WILFREDO           ADDRESS ON FILE
DIAZ PONCE, DIANA M.             ADDRESS ON FILE
DIAZ PONTON, JOSE                ADDRESS ON FILE
DIAZ PONTON, JOSE A              ADDRESS ON FILE
DIAZ PONTON, ZULEIKA             ADDRESS ON FILE
Diaz Portalatin, Jose L          ADDRESS ON FILE
DIAZ PORTO ROBLES, JUDITH E.     ADDRESS ON FILE
DIAZ POU, LEONARDO               ADDRESS ON FILE
DIAZ POVENTUD, ALFONSO           ADDRESS ON FILE
DIAZ PRADO, BELMARIE             ADDRESS ON FILE
DIAZ PRIMERANO, ANA              ADDRESS ON FILE
DIAZ PUIG, ANA                   ADDRESS ON FILE
DIAZ PUJALS, SANDRA I.           ADDRESS ON FILE
DIAZ PUJOLS, ANGEL L             ADDRESS ON FILE
DIAZ QUELIS, BELGICA             ADDRESS ON FILE
DIAZ QUILES, DIEGO               ADDRESS ON FILE
DIAZ QUILES, DIEGO A             ADDRESS ON FILE
DIAZ QUILES, FLOR M              ADDRESS ON FILE
DIAZ QUILES, JUAN R              ADDRESS ON FILE
DIAZ QUILES, MIGUEL A            ADDRESS ON FILE
DIAZ QUILES, NORAIDA             ADDRESS ON FILE
DIAZ QUINONES, ANDY              ADDRESS ON FILE
DIAZ QUINONES, ANELIX            ADDRESS ON FILE
DIAZ QUINONES, CARMEN S.         ADDRESS ON FILE
DIAZ QUINONES, GESVIA M          ADDRESS ON FILE
DIAZ QUINONES, GLORIMAR          ADDRESS ON FILE
DIAZ QUINONES, GRACE             ADDRESS ON FILE
DIAZ QUINONES, HECTOR            ADDRESS ON FILE




                                                                             Page 2341 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2342 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ QUINONES, JOSE             ADDRESS ON FILE
Diaz Quinones, Juan             ADDRESS ON FILE
DIAZ QUINONES, MARIA DE LOS     ADDRESS ON FILE
DIAZ QUINONES, MARIA V          ADDRESS ON FILE
DIAZ QUINONES, MARISOL          ADDRESS ON FILE
DIAZ QUINONES, MELVIN           ADDRESS ON FILE
DIAZ QUINONES, MIGUEL           ADDRESS ON FILE
DIAZ QUINONES, WILFREDO         ADDRESS ON FILE
DIAZ QUINTANA, ABDEL            ADDRESS ON FILE
DIAZ QUINTANA, MIGUEL A.        ADDRESS ON FILE
DIAZ QUINTANA, PEDRO J          ADDRESS ON FILE
DIAZ QUINTERO, DIOSELINA        ADDRESS ON FILE
DIAZ QUINTERO, HECTOR           ADDRESS ON FILE
DIAZ QUINTERO, ROSA DEL PILAR   ADDRESS ON FILE
DIAZ QUINTERO, VICTORIA         ADDRESS ON FILE
DIAZ QUIRINDONGO, ZULMA         ADDRESS ON FILE
DIAZ RABANAL, HUMBERTO          ADDRESS ON FILE
DIAZ RAMIREZ MD, ANALID         ADDRESS ON FILE
DIAZ RAMIREZ, ADALBERTO         ADDRESS ON FILE
DIAZ RAMIREZ, AMBROSIO          ADDRESS ON FILE
DIAZ RAMIREZ, ANALID            ADDRESS ON FILE
DIAZ RAMIREZ, ARMANDO           ADDRESS ON FILE
Diaz Ramirez, Damaris           ADDRESS ON FILE
DIAZ RAMIREZ, JORGE F           ADDRESS ON FILE
DIAZ RAMIREZ, JOSE              ADDRESS ON FILE
DIAZ RAMIREZ, JUAN              ADDRESS ON FILE
DIAZ RAMIREZ, JULIO             ADDRESS ON FILE
DIAZ RAMIREZ, JULIO             ADDRESS ON FILE
DIAZ RAMIREZ, JULIO             ADDRESS ON FILE
DIAZ RAMIREZ, JULIO D           ADDRESS ON FILE
DIAZ RAMIREZ, LUIS              ADDRESS ON FILE
DIAZ RAMIREZ, MELBA             ADDRESS ON FILE
DIAZ RAMIREZ, MYRIAM            ADDRESS ON FILE
DIAZ RAMIREZ, PEDRO A.          ADDRESS ON FILE
DIAZ RAMIREZ, RENE              ADDRESS ON FILE
DIAZ RAMIREZ, VIDALINA          ADDRESS ON FILE
DIAZ RAMIREZ, VIDALIS           ADDRESS ON FILE
DIAZ RAMOS MD, FLORENCIO        ADDRESS ON FILE
DIAZ RAMOS MD, NESTOR           ADDRESS ON FILE
DIAZ RAMOS, AIDA                ADDRESS ON FILE
DIAZ RAMOS, ALBA                ADDRESS ON FILE
DIAZ RAMOS, ALEIDA              ADDRESS ON FILE
DIAZ RAMOS, ALISHA              ADDRESS ON FILE
DIAZ RAMOS, AMELIA              ADDRESS ON FILE
DIAZ RAMOS, ANA M.              ADDRESS ON FILE
DIAZ RAMOS, ANASTACIO           ADDRESS ON FILE
DIAZ RAMOS, ANTHONY             ADDRESS ON FILE
DIAZ RAMOS, BELMARI             ADDRESS ON FILE
DIAZ RAMOS, CARMEN B            ADDRESS ON FILE
DIAZ RAMOS, CARMEN M            ADDRESS ON FILE
DIAZ RAMOS, CAROLA              ADDRESS ON FILE
DIAZ RAMOS, CAROLA              ADDRESS ON FILE
DIAZ RAMOS, CAROLINE            ADDRESS ON FILE
DIAZ RAMOS, CONCEPCION          ADDRESS ON FILE
DIAZ RAMOS, CRUCITO             ADDRESS ON FILE
DIAZ RAMOS, DIMAS               ADDRESS ON FILE
DIAZ RAMOS, DOEL                ADDRESS ON FILE
DIAZ RAMOS, EDWARD              ADDRESS ON FILE
DIAZ RAMOS, ELVIN               ADDRESS ON FILE
DIAZ RAMOS, ESTHER              ADDRESS ON FILE




                                                                            Page 2342 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2343 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RAMOS, ESTHER          ADDRESS ON FILE
DIAZ RAMOS, FELICITA        ADDRESS ON FILE
DIAZ RAMOS, GABRIEL A       ADDRESS ON FILE
Diaz Ramos, Gisela          ADDRESS ON FILE
Diaz Ramos, Hector L        ADDRESS ON FILE
DIAZ RAMOS, ILLIANA         ADDRESS ON FILE
DIAZ RAMOS, IMAIRIE         ADDRESS ON FILE
DIAZ RAMOS, IRMELY          ADDRESS ON FILE
DIAZ RAMOS, JAIME           ADDRESS ON FILE
DIAZ RAMOS, JAIME           ADDRESS ON FILE
DIAZ RAMOS, JANEFIX         ADDRESS ON FILE
DIAZ RAMOS, JERMAINE        ADDRESS ON FILE
DIAZ RAMOS, JESUS           ADDRESS ON FILE
DIAZ RAMOS, JESUS M.        ADDRESS ON FILE
DIAZ RAMOS, JOANNES         ADDRESS ON FILE
DIAZ RAMOS, JONATHAN        ADDRESS ON FILE
DIAZ RAMOS, JOSE E.         ADDRESS ON FILE
DIAZ RAMOS, JUAN CARLOS     ADDRESS ON FILE
DIAZ RAMOS, JUAN G          ADDRESS ON FILE
DIAZ RAMOS, JUANA           ADDRESS ON FILE
DIAZ RAMOS, JULIA           ADDRESS ON FILE
DIAZ RAMOS, JULIO C         ADDRESS ON FILE
DIAZ RAMOS, KAREM           ADDRESS ON FILE
DIAZ RAMOS, KAREM           ADDRESS ON FILE
DIAZ RAMOS, LAURIE M        ADDRESS ON FILE
DIAZ RAMOS, LUCIANO         ADDRESS ON FILE
DIAZ RAMOS, LUIS            ADDRESS ON FILE
DIAZ RAMOS, LUZ             ADDRESS ON FILE
DIAZ RAMOS, LUZ E           ADDRESS ON FILE
DIAZ RAMOS, LYDIA M         ADDRESS ON FILE
DIAZ RAMOS, MARIA           ADDRESS ON FILE
DIAZ RAMOS, MARIA DEL C     ADDRESS ON FILE
DIAZ RAMOS, MARIA DEL MAR   ADDRESS ON FILE
DIAZ RAMOS, MARIA E.        ADDRESS ON FILE
DIAZ RAMOS, MARIA M         ADDRESS ON FILE
DIAZ RAMOS, MARIA M.        ADDRESS ON FILE
DIAZ RAMOS, MARIBEL         ADDRESS ON FILE
DIAZ RAMOS, MARIELY         ADDRESS ON FILE
DIAZ RAMOS, MIGDALIA        ADDRESS ON FILE
DIAZ RAMOS, NELBA           ADDRESS ON FILE
DIAZ RAMOS, NESTOR          ADDRESS ON FILE
DIAZ RAMOS, NILDA I         ADDRESS ON FILE
DIAZ RAMOS, NORA H          ADDRESS ON FILE
DIAZ RAMOS, ONELLY          ADDRESS ON FILE
Diaz Ramos, Pablo A         ADDRESS ON FILE
DIAZ RAMOS, PABLO M.        ADDRESS ON FILE
DIAZ RAMOS, PEDRO J.        ADDRESS ON FILE
Diaz Ramos, Peter           ADDRESS ON FILE
DIAZ RAMOS, PIERRE          ADDRESS ON FILE
Diaz Ramos, Rafael          ADDRESS ON FILE
DIAZ RAMOS, RAMONA          ADDRESS ON FILE
DIAZ RAMOS, RAMONA          ADDRESS ON FILE
Diaz Ramos, Raymond         ADDRESS ON FILE
DIAZ RAMOS, ROSSANNA        ADDRESS ON FILE
DIAZ RAMOS, SANDY           ADDRESS ON FILE
DIAZ RAMOS, SHEILA          ADDRESS ON FILE
DIAZ RAMOS, SOLANIA R.      ADDRESS ON FILE
DIAZ RAMOS, VANESSA         ADDRESS ON FILE
DIAZ RAMOS, XIOMARA         ADDRESS ON FILE
DIAZ RAMOS, YAZNERI         ADDRESS ON FILE




                                                                        Page 2343 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2344 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RAMOS, ZAIDA L                  ADDRESS ON FILE
Diaz Ramsamy, Zingara Y.             ADDRESS ON FILE
DIAZ RANEY, ROSE D                   ADDRESS ON FILE
DIAZ RASHID, MORELYS                 ADDRESS ON FILE
DIAZ RDRIGUEZ DE ARLEQUIN, VIANNEY   ADDRESS ON FILE
DIAZ REGUERO, GIOVANNI J             ADDRESS ON FILE
DIAZ REGUERO, ZULMARIE J             ADDRESS ON FILE
DIAZ REMIGIO, CELIA                  ADDRESS ON FILE
DIAZ REMIGIO, CELIA                  ADDRESS ON FILE
DIAZ RENOVALES, IDELLYS              ADDRESS ON FILE
DIAZ RENOVALES, YORAIDA              ADDRESS ON FILE
DIAZ RENTAS, KARIMARIE               ADDRESS ON FILE
DIAZ RESTO, EDNA I                   ADDRESS ON FILE
DIAZ RESTO, JOSE                     ADDRESS ON FILE
DIAZ RESTO, LILIAM                   ADDRESS ON FILE
DIAZ RESTO, LUZ MARIA                ADDRESS ON FILE
DIAZ RESTO, LYDIA                    ADDRESS ON FILE
DIAZ RESTO, LYDIA                    ADDRESS ON FILE
DIAZ RESTO, REINALDO                 ADDRESS ON FILE
DIAZ RESTO, URBANO                   ADDRESS ON FILE
DIAZ RESTO, VICTORIA                 ADDRESS ON FILE
DIAZ RESTO, VIRGINIA                 ADDRESS ON FILE
DIAZ RETAMAR, EMMANUEL               ADDRESS ON FILE
DIAZ RETAMAR, EMMANUEL               ADDRESS ON FILE
DIAZ REVERON, ALEJANDRO              ADDRESS ON FILE
DIAZ REVERON, ALEJANDRO              ADDRESS ON FILE
DIAZ REVERON, JORGE                  ADDRESS ON FILE
DIAZ REVERON, JORGE L.               ADDRESS ON FILE
DIAZ REXACH, ANA V                   ADDRESS ON FILE
DIAZ REXACH, ANGEL M.                ADDRESS ON FILE
Diaz Rexach, Carlos J                ADDRESS ON FILE
DIAZ REXACH, CARMEN L                ADDRESS ON FILE
DIAZ REXACH, GERALDINE               ADDRESS ON FILE
DIAZ REXACH, ISABEL C                ADDRESS ON FILE
DIAZ REXACH, RAFAEL                  ADDRESS ON FILE
DIAZ REYES, ALEIDA                   ADDRESS ON FILE
DIAZ REYES, ANABELLE                 ADDRESS ON FILE
DIAZ REYES, ANGEL                    ADDRESS ON FILE
Diaz Reyes, Angel Luis               ADDRESS ON FILE
DIAZ REYES, AURIN                    ADDRESS ON FILE
DIAZ REYES, BEATRIZ                  ADDRESS ON FILE
DIAZ REYES, BRENDA I                 ADDRESS ON FILE
DIAZ REYES, CALEB                    ADDRESS ON FILE
Diaz Reyes, Carlos A                 ADDRESS ON FILE
DIAZ REYES, CARMEN A.                ADDRESS ON FILE
DIAZ REYES, CARMEN S.                ADDRESS ON FILE
DIAZ REYES, CYNTHIA                  ADDRESS ON FILE
DIAZ REYES, EDGARDO                  ADDRESS ON FILE
DIAZ REYES, EDISON                   ADDRESS ON FILE
DIAZ REYES, EDWIN                    ADDRESS ON FILE
DIAZ REYES, ELVIN                    ADDRESS ON FILE
DIAZ REYES, ELVIS                    ADDRESS ON FILE
DIAZ REYES, EMANUEL                  ADDRESS ON FILE
DIAZ REYES, EUDOSIA                  ADDRESS ON FILE
DIAZ REYES, EUDOSIA                  ADDRESS ON FILE
DIAZ REYES, EYLEEN                   ADDRESS ON FILE
Diaz Reyes, Irving                   ADDRESS ON FILE
DIAZ REYES, ISRAEL                   ADDRESS ON FILE
DIAZ REYES, JANET                    ADDRESS ON FILE
DIAZ REYES, JANNET                   ADDRESS ON FILE




                                                                                 Page 2344 of 10031
                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                            The Commonwealth of Puerto Rico
                                                                                                                    Desc:
                                         Exhibit A-1 - Creditor     Matrix
                                                              Case No.              Page 2345 of 3500
                                                                       17 BK 3283‐LTS
                                                                      Creditor Matrix

Creditor Name           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ REYES, JEFREEY     ADDRESS ON FILE
DIAZ REYES, JESUS M     ADDRESS ON FILE
Diaz Reyes, Jesus M     ADDRESS ON FILE
Diaz Reyes, Jonathan    ADDRESS ON FILE
DIAZ REYES, JOSE        ADDRESS ON FILE
DIAZ REYES, JOSE        ADDRESS ON FILE
DIAZ REYES, JOSE A      ADDRESS ON FILE
DIAZ REYES, JUAN        ADDRESS ON FILE
DIAZ REYES, KARIN Z     ADDRESS ON FILE
DIAZ REYES, KATHERINE   ADDRESS ON FILE
DIAZ REYES, KEREN       ADDRESS ON FILE
DIAZ REYES, LISSETTE    ADDRESS ON FILE
DIAZ REYES, LUIS        ADDRESS ON FILE
DIAZ REYES, LUISA M     ADDRESS ON FILE
DIAZ REYES, MAGALY      ADDRESS ON FILE
DIAZ REYES, MARIA       ADDRESS ON FILE
DIAZ REYES, MARITZA     ADDRESS ON FILE
DIAZ REYES, MARITZY     ADDRESS ON FILE
DIAZ REYES, MIGUEL A.   ADDRESS ON FILE
DIAZ REYES, MIGUEL A.   ADDRESS ON FILE
DIAZ REYES, MILAGROS    ADDRESS ON FILE
DIAZ REYES, NELSON      ADDRESS ON FILE
DIAZ REYES, RAFAEL      ADDRESS ON FILE
DIAZ REYES, RAFAEL M    ADDRESS ON FILE
Diaz Reyes, Ralffy      ADDRESS ON FILE
DIAZ REYES, WANDA L     ADDRESS ON FILE
DIAZ REYES, WILLIAM     ADDRESS ON FILE
DIAZ REYES, ZAIDA L     ADDRESS ON FILE
DIAZ REYES, ZULEIKA     ADDRESS ON FILE
DIAZ RIJOS, DIANA       ADDRESS ON FILE
DIAZ RIOS, BENEDICTO    ADDRESS ON FILE
DIAZ RIOS, CARMEN       ADDRESS ON FILE
DIAZ RIOS, DENNISSE     ADDRESS ON FILE
DIAZ RIOS, EDGAR        ADDRESS ON FILE
DIAZ RIOS, EDIA N.      ADDRESS ON FILE
DIAZ RIOS, ENID         ADDRESS ON FILE
DIAZ RIOS, ERIC         ADDRESS ON FILE
DIAZ RIOS, ERIKA        ADDRESS ON FILE
DIAZ RIOS, ERIKA        ADDRESS ON FILE
DIAZ RIOS, GERONIMO     ADDRESS ON FILE
Diaz Rios, Hector M.    ADDRESS ON FILE
DIAZ RIOS, JACQUELINE   ADDRESS ON FILE
DIAZ RIOS, JENNIFER     ADDRESS ON FILE
DIAZ RIOS, JENNIFER     ADDRESS ON FILE
DIAZ RIOS, JOSE         ADDRESS ON FILE
DIAZ RIOS, JOSE R       ADDRESS ON FILE
DIAZ RIOS, LUIS         ADDRESS ON FILE
DIAZ RIOS, MATEO        ADDRESS ON FILE
DIAZ RIOS, MIGUEL A     ADDRESS ON FILE
DIAZ RIOS, NEFTALI      ADDRESS ON FILE
DIAZ RIOS, NILIA E      ADDRESS ON FILE
DIAZ RIOS, PEDRO JOSE   ADDRESS ON FILE
DIAZ RIOS, RAQUEL       ADDRESS ON FILE
DIAZ RIOS, SHARON       ADDRESS ON FILE
DIAZ RIOS, TANKA I      ADDRESS ON FILE
DIAZ RIOS, WILLIAM R    ADDRESS ON FILE
DIAZ RIOS, YASIRA       ADDRESS ON FILE
DIAZ RIOS, ZORAYA       ADDRESS ON FILE
DIAZ RIVAS,JOSE A.      ADDRESS ON FILE
DIAZ RIVEIRO, MELVIN    ADDRESS ON FILE




                                                                    Page 2345 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2346 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
DIAZ RIVERA KRYHSTAL DENISSE   HC 50 BOX 20908                                                                  SAN LORENZO     PR      00754
DIAZ RIVERA MD, LIBIA A        ADDRESS ON FILE
DIAZ RIVERA, ADAIRYS           ADDRESS ON FILE
DIAZ RIVERA, ADALBERTO         ADDRESS ON FILE
DIAZ RIVERA, AGNES             ADDRESS ON FILE
Diaz Rivera, Aileen            ADDRESS ON FILE
DIAZ RIVERA, AILEEN            ADDRESS ON FILE
DIAZ RIVERA, AILEEN            ADDRESS ON FILE
DIAZ RIVERA, AILEEN            ADDRESS ON FILE
DIAZ RIVERA, AIMEE             ADDRESS ON FILE
DIAZ RIVERA, ALBERTO           ADDRESS ON FILE
DIAZ RIVERA, ALBERTO           ADDRESS ON FILE
DIAZ RIVERA, ALEXANDER         ADDRESS ON FILE
DIAZ RIVERA, ALEXIS            ADDRESS ON FILE
DIAZ RIVERA, ALICIA            ADDRESS ON FILE
DIAZ RIVERA, ALICIA            ADDRESS ON FILE
DIAZ RIVERA, ANA MARIE         ADDRESS ON FILE
DIAZ RIVERA, ANDRES            ADDRESS ON FILE
DIAZ RIVERA, ANGEL             ADDRESS ON FILE
DIAZ RIVERA, ANGEL             ADDRESS ON FILE
Diaz Rivera, Angel A           ADDRESS ON FILE
DIAZ RIVERA, ANGEL J.          ADDRESS ON FILE
Diaz Rivera, Angel L.          ADDRESS ON FILE
DIAZ RIVERA, ANGEL R.          ADDRESS ON FILE
DIAZ RIVERA, ANGIE M.          ADDRESS ON FILE
DIAZ RIVERA, ANNA              ADDRESS ON FILE
DIAZ RIVERA, ANNIA H           ADDRESS ON FILE
DIAZ RIVERA, ANTOLINA          ADDRESS ON FILE
DIAZ RIVERA, ANTONIA           ADDRESS ON FILE
DIAZ RIVERA, ANTONIO DE J.     ADDRESS ON FILE
DIAZ RIVERA, ARACELYS          ADDRESS ON FILE
DIAZ RIVERA, ARIEL L           ADDRESS ON FILE
DIAZ RIVERA, ARISTIDES         ADDRESS ON FILE
Diaz Rivera, Arlington         ADDRESS ON FILE
DIAZ RIVERA, ARNALDO M         ADDRESS ON FILE
DIAZ RIVERA, AUREA             ADDRESS ON FILE
DIAZ RIVERA, AUREA             ADDRESS ON FILE
DIAZ RIVERA, AYNE              ADDRESS ON FILE
DIAZ RIVERA, BERNARDO          ADDRESS ON FILE
DIAZ RIVERA, BLANCA I          ADDRESS ON FILE
DIAZ RIVERA, BLANCA I.         ADDRESS ON FILE
DIAZ RIVERA, BRENDA L          ADDRESS ON FILE
DIAZ RIVERA, BRUNO             ADDRESS ON FILE
DIAZ RIVERA, CALIX O           ADDRESS ON FILE
DIAZ RIVERA, CARLOS            ADDRESS ON FILE
Diaz Rivera, Carlos            ADDRESS ON FILE
Diaz Rivera, Carlos            ADDRESS ON FILE
DIAZ RIVERA, CARLOS            ADDRESS ON FILE
DIAZ RIVERA, CARLOS            ADDRESS ON FILE
DIAZ RIVERA, CARLOS A.         ADDRESS ON FILE
DIAZ RIVERA, CARLOS A.         ADDRESS ON FILE
DIAZ RIVERA, CARLOS I          ADDRESS ON FILE
DIAZ RIVERA, CARLOS J.         ADDRESS ON FILE
DIAZ RIVERA, CARLOS M          ADDRESS ON FILE
DIAZ RIVERA, CARMELO           ADDRESS ON FILE
DIAZ RIVERA, CARMEN            ADDRESS ON FILE
DIAZ RIVERA, CARMEN            ADDRESS ON FILE
DIAZ RIVERA, CARMEN            ADDRESS ON FILE
DIAZ RIVERA, CARMEN            ADDRESS ON FILE
DIAZ RIVERA, CARMEN            ADDRESS ON FILE




                                                                           Page 2346 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2347 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Rivera, Carmen A       ADDRESS ON FILE
DIAZ RIVERA, CARMEN A       ADDRESS ON FILE
Diaz Rivera, Carmen J       ADDRESS ON FILE
DIAZ RIVERA, CARMEN L       ADDRESS ON FILE
DIAZ RIVERA, CARMEN L.      ADDRESS ON FILE
DIAZ RIVERA, CARMEN M       ADDRESS ON FILE
DIAZ RIVERA, CECILIA        ADDRESS ON FILE
DIAZ RIVERA, CLARIMAR       ADDRESS ON FILE
DIAZ RIVERA, CLOTILDE       ADDRESS ON FILE
DIAZ RIVERA, CRISTINA       ADDRESS ON FILE
DIAZ RIVERA, CRUZ           ADDRESS ON FILE
DIAZ RIVERA, DAISY          ADDRESS ON FILE
DIAZ RIVERA, DAMIAN         ADDRESS ON FILE
DIAZ RIVERA, DANIEL         ADDRESS ON FILE
DIAZ RIVERA, DAYNA          ADDRESS ON FILE
DIAZ RIVERA, DEBORAH        ADDRESS ON FILE
DIAZ RIVERA, DENNIS G.      ADDRESS ON FILE
DIAZ RIVERA, DIANA I        ADDRESS ON FILE
Diaz Rivera, Dina E         ADDRESS ON FILE
DIAZ RIVERA, DOIRA          ADDRESS ON FILE
DIAZ RIVERA, EDDIE          ADDRESS ON FILE
DIAZ RIVERA, EDGARDO        ADDRESS ON FILE
DIAZ RIVERA, EDNA           ADDRESS ON FILE
DIAZ RIVERA, EDUARDO        ADDRESS ON FILE
DIAZ RIVERA, EDUARDO        ADDRESS ON FILE
DIAZ RIVERA, EDWIN          ADDRESS ON FILE
DIAZ RIVERA, EDWIN          ADDRESS ON FILE
DIAZ RIVERA, EDWIN D        ADDRESS ON FILE
DIAZ RIVERA, ELBA           ADDRESS ON FILE
DIAZ RIVERA, ELBA N         ADDRESS ON FILE
DIAZ RIVERA, ELIEZER        ADDRESS ON FILE
DIAZ RIVERA, ELIZABETH      ADDRESS ON FILE
DIAZ RIVERA, ELIZABETH      ADDRESS ON FILE
DIAZ RIVERA, ELIZABETH      ADDRESS ON FILE
DIAZ RIVERA, ELIZABETH      ADDRESS ON FILE
DIAZ RIVERA, ELVIN          ADDRESS ON FILE
DIAZ RIVERA, ENID           ADDRESS ON FILE
DIAZ RIVERA, ENRIQUE        ADDRESS ON FILE
DIAZ RIVERA, ERIC           ADDRESS ON FILE
DIAZ RIVERA, ERNESTO        ADDRESS ON FILE
DIAZ RIVERA, ERNESTO        ADDRESS ON FILE
DIAZ RIVERA, ESTEVANIEL     ADDRESS ON FILE
DIAZ RIVERA, EVELYN         ADDRESS ON FILE
DIAZ RIVERA, FELIX          ADDRESS ON FILE
DIAZ RIVERA, FERNANDO       ADDRESS ON FILE
DIAZ RIVERA, FERNANDO       ADDRESS ON FILE
DIAZ RIVERA, FERNANDO       ADDRESS ON FILE
DIAZ RIVERA, FORTUNATO      ADDRESS ON FILE
DIAZ RIVERA, FRANCISCO J.   ADDRESS ON FILE
Diaz Rivera, Francisco J.   ADDRESS ON FILE
DIAZ RIVERA, FRANKIE        ADDRESS ON FILE
DIAZ RIVERA, GABRIEL        ADDRESS ON FILE
DIAZ RIVERA, GABRIEL        ADDRESS ON FILE
DIAZ RIVERA, GABRIEL        ADDRESS ON FILE
DIAZ RIVERA, GAMALIEL       ADDRESS ON FILE
DIAZ RIVERA, GAMALIEL       ADDRESS ON FILE
DIAZ RIVERA, GAMALIER       ADDRESS ON FILE
DIAZ RIVERA, GERALDO        ADDRESS ON FILE
DIAZ RIVERA, GILBERTO       ADDRESS ON FILE
DIAZ RIVERA, GIOVANNI       ADDRESS ON FILE




                                                                        Page 2347 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 2348 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RIVERA, GISELA      ADDRESS ON FILE
DIAZ RIVERA, GLADYS N.   ADDRESS ON FILE
DIAZ RIVERA, GUILLERMO   ADDRESS ON FILE
DIAZ RIVERA, HECTOR      ADDRESS ON FILE
DIAZ RIVERA, HECTOR      ADDRESS ON FILE
DIAZ RIVERA, HECTOR      ADDRESS ON FILE
Diaz Rivera, Hector D    ADDRESS ON FILE
DIAZ RIVERA, HECTOR M.   ADDRESS ON FILE
DIAZ RIVERA, HERMINIA    ADDRESS ON FILE
DIAZ RIVERA, HERMINIO    ADDRESS ON FILE
DIAZ RIVERA, HILDA E     ADDRESS ON FILE
DIAZ RIVERA, HILDA M     ADDRESS ON FILE
DIAZ RIVERA, HILDA M     ADDRESS ON FILE
DIAZ RIVERA, IDZA        ADDRESS ON FILE
DIAZ RIVERA, ILEANA      ADDRESS ON FILE
DIAZ RIVERA, ILEANA      ADDRESS ON FILE
DIAZ RIVERA, ILEANA      ADDRESS ON FILE
DIAZ RIVERA, INES        ADDRESS ON FILE
DIAZ RIVERA, IRIS        ADDRESS ON FILE
DIAZ RIVERA, IRIS D      ADDRESS ON FILE
DIAZ RIVERA, IRMA L      ADDRESS ON FILE
DIAZ RIVERA, ISABEL      ADDRESS ON FILE
DIAZ RIVERA, ISABEL B    ADDRESS ON FILE
Diaz Rivera, Ismael      ADDRESS ON FILE
DIAZ RIVERA, ISRAEL      ADDRESS ON FILE
DIAZ RIVERA, IVETTE      ADDRESS ON FILE
DIAZ RIVERA, IVONNE      ADDRESS ON FILE
DIAZ RIVERA, IVONNE      ADDRESS ON FILE
DIAZ RIVERA, JAMAYRA     ADDRESS ON FILE
DIAZ RIVERA, JANET       ADDRESS ON FILE
Diaz Rivera, Janisse     ADDRESS ON FILE
DIAZ RIVERA, JAVIER      ADDRESS ON FILE
Diaz Rivera, Jay E       ADDRESS ON FILE
DIAZ RIVERA, JEAN        ADDRESS ON FILE
Diaz Rivera, Jean M      ADDRESS ON FILE
DIAZ RIVERA, JEANNETTE   ADDRESS ON FILE
Diaz Rivera, Jeffrey     ADDRESS ON FILE
DIAZ RIVERA, JENNIFER    ADDRESS ON FILE
DIAZ RIVERA, JENNY       ADDRESS ON FILE
DIAZ RIVERA, JEREMIAS    ADDRESS ON FILE
DIAZ RIVERA, JESSICA     ADDRESS ON FILE
DIAZ RIVERA, JESUS       ADDRESS ON FILE
DIAZ RIVERA, JESUS M.    ADDRESS ON FILE
DIAZ RIVERA, JOANA       ADDRESS ON FILE
DIAZ RIVERA, JOEL        ADDRESS ON FILE
DIAZ RIVERA, JOEL        ADDRESS ON FILE
DIAZ RIVERA, JOHANNA     ADDRESS ON FILE
Diaz Rivera, Jorge       ADDRESS ON FILE
DIAZ RIVERA, JORGE       ADDRESS ON FILE
Diaz Rivera, Jorge D     ADDRESS ON FILE
Diaz Rivera, Jorge E     ADDRESS ON FILE
DIAZ RIVERA, JORGE L     ADDRESS ON FILE
DIAZ RIVERA, JOSE        ADDRESS ON FILE
DIAZ RIVERA, JOSE        ADDRESS ON FILE
DIAZ RIVERA, JOSE        ADDRESS ON FILE
DIAZ RIVERA, JOSE        ADDRESS ON FILE
DIAZ RIVERA, JOSE        ADDRESS ON FILE
DIAZ RIVERA, JOSE A.     ADDRESS ON FILE
DIAZ RIVERA, JOSE D      ADDRESS ON FILE
DIAZ RIVERA, JOSE D.     ADDRESS ON FILE




                                                                     Page 2348 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 2349 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RIVERA, JOSE J.     ADDRESS ON FILE
DIAZ RIVERA, JOSE L      ADDRESS ON FILE
DIAZ RIVERA, JOSE M      ADDRESS ON FILE
DIAZ RIVERA, JOSE M      ADDRESS ON FILE
DIAZ RIVERA, JOSE M.     ADDRESS ON FILE
DIAZ RIVERA, JOSE R      ADDRESS ON FILE
Diaz Rivera, Jose W      ADDRESS ON FILE
DIAZ RIVERA, JOSUE       ADDRESS ON FILE
DIAZ RIVERA, JUAN        ADDRESS ON FILE
DIAZ RIVERA, JUAN        ADDRESS ON FILE
DIAZ RIVERA, JUAN        ADDRESS ON FILE
DIAZ RIVERA, JUAN        ADDRESS ON FILE
Diaz Rivera, Juan A      ADDRESS ON FILE
DIAZ RIVERA, JUAN A      ADDRESS ON FILE
Diaz Rivera, Juan C      ADDRESS ON FILE
DIAZ RIVERA, JUAN G      ADDRESS ON FILE
DIAZ RIVERA, JUANITA     ADDRESS ON FILE
DIAZ RIVERA, JULIAN      ADDRESS ON FILE
Diaz Rivera, Julian A    ADDRESS ON FILE
DIAZ RIVERA, JULIO       ADDRESS ON FILE
DIAZ RIVERA, KAREN       ADDRESS ON FILE
DIAZ RIVERA, KARILYN     ADDRESS ON FILE
DIAZ RIVERA, KARINA      ADDRESS ON FILE
DIAZ RIVERA, KATHERINE   ADDRESS ON FILE
DIAZ RIVERA, KEYSHLA M   ADDRESS ON FILE
DIAZ RIVERA, LAURA E     ADDRESS ON FILE
DIAZ RIVERA, LEGNA       ADDRESS ON FILE
DIAZ RIVERA, LILLIAN     ADDRESS ON FILE
DIAZ RIVERA, LIMARYS     ADDRESS ON FILE
DIAZ RIVERA, LIRIO       ADDRESS ON FILE
DIAZ RIVERA, LISANDRA    ADDRESS ON FILE
DIAZ RIVERA, LIZ T       ADDRESS ON FILE
DIAZ RIVERA, LIZABEL     ADDRESS ON FILE
DIAZ RIVERA, LIZETTE     ADDRESS ON FILE
DIAZ RIVERA, LORELI      ADDRESS ON FILE
DIAZ RIVERA, LORNA       ADDRESS ON FILE
DIAZ RIVERA, LUIS        ADDRESS ON FILE
DIAZ RIVERA, LUIS        ADDRESS ON FILE
DIAZ RIVERA, LUIS        ADDRESS ON FILE
DIAZ RIVERA, LUIS        ADDRESS ON FILE
DIAZ RIVERA, LUIS        ADDRESS ON FILE
Diaz Rivera, Luis A.     ADDRESS ON FILE
Diaz Rivera, Luis F      ADDRESS ON FILE
DIAZ RIVERA, LUIS O      ADDRESS ON FILE
Diaz Rivera, Luis R      ADDRESS ON FILE
DIAZ RIVERA, LUZ A       ADDRESS ON FILE
DIAZ RIVERA, LUZ E       ADDRESS ON FILE
DIAZ RIVERA, LUZ V.      ADDRESS ON FILE
DIAZ RIVERA, LUZ V.      ADDRESS ON FILE
DIAZ RIVERA, LYDIA E     ADDRESS ON FILE
DIAZ RIVERA, MADELINE    ADDRESS ON FILE
DIAZ RIVERA, MADELINE    ADDRESS ON FILE
DIAZ RIVERA, MANUEL      ADDRESS ON FILE
Diaz Rivera, Manuel E    ADDRESS ON FILE
DIAZ RIVERA, MARCOS      ADDRESS ON FILE
DIAZ RIVERA, MARCOS      ADDRESS ON FILE
DIAZ RIVERA, MARCOS      ADDRESS ON FILE
DIAZ RIVERA, MARCOS A.   ADDRESS ON FILE
DIAZ RIVERA, MARGARITA   ADDRESS ON FILE
DIAZ RIVERA, MARIA       ADDRESS ON FILE




                                                                     Page 2349 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2350 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RIVERA, MARIA              ADDRESS ON FILE
DIAZ RIVERA, MARIA A            ADDRESS ON FILE
DIAZ RIVERA, MARIA A            ADDRESS ON FILE
DIAZ RIVERA, MARIA C            ADDRESS ON FILE
DIAZ RIVERA, MARIA DE           ADDRESS ON FILE
DIAZ RIVERA, MARIA DE L         ADDRESS ON FILE
DIAZ RIVERA, MARIA DE L         ADDRESS ON FILE
DIAZ RIVERA, MARIA DE L         ADDRESS ON FILE
DIAZ RIVERA, MARIA DE LO A      ADDRESS ON FILE
DIAZ RIVERA, MARIA DE LOS A     ADDRESS ON FILE
DIAZ RIVERA, MARIA DE LOURDES   ADDRESS ON FILE
DIAZ RIVERA, MARIA E            ADDRESS ON FILE
DIAZ RIVERA, MARIA L            ADDRESS ON FILE
DIAZ RIVERA, MARIA L            ADDRESS ON FILE
DIAZ RIVERA, MARIA R.           ADDRESS ON FILE
DIAZ RIVERA, MARIA R.           ADDRESS ON FILE
DIAZ RIVERA, MARIA REINA        ADDRESS ON FILE
Diaz Rivera, Maria S            ADDRESS ON FILE
DIAZ RIVERA, MARIA V            ADDRESS ON FILE
DIAZ RIVERA, MARIA Y            ADDRESS ON FILE
DIAZ RIVERA, MARIA_DEL C        ADDRESS ON FILE
DIAZ RIVERA, MARIBEL            ADDRESS ON FILE
DIAZ RIVERA, MARIBEL            ADDRESS ON FILE
DIAZ RIVERA, MARILUZ            ADDRESS ON FILE
DIAZ RIVERA, MARILUZ            ADDRESS ON FILE
DIAZ RIVERA, MARIMAR            ADDRESS ON FILE
DIAZ RIVERA, MARIO              ADDRESS ON FILE
DIAZ RIVERA, MARLINESS          ADDRESS ON FILE
DIAZ RIVERA, MARTA              ADDRESS ON FILE
DIAZ RIVERA, MARTA I.           ADDRESS ON FILE
DIAZ RIVERA, MATILDE            ADDRESS ON FILE
DIAZ RIVERA, MAYRA              ADDRESS ON FILE
DIAZ RIVERA, MAYRA              ADDRESS ON FILE
DÍAZ RIVERA, MAYRA              ADDRESS ON FILE
DIAZ RIVERA, MERCEDES           ADDRESS ON FILE
DIAZ RIVERA, MICHELLE           ADDRESS ON FILE
DIAZ RIVERA, MIGDALIA           ADDRESS ON FILE
DIAZ RIVERA, MIGDALIA           ADDRESS ON FILE
DIAZ RIVERA, MIGUEL             ADDRESS ON FILE
DIAZ RIVERA, MIGUEL A           ADDRESS ON FILE
DIAZ RIVERA, MIGUEL A.          ADDRESS ON FILE
DIAZ RIVERA, MILAGROS           ADDRESS ON FILE
DIAZ RIVERA, MIRAIDA            ADDRESS ON FILE
Diaz Rivera, Miriam             ADDRESS ON FILE
DIAZ RIVERA, MIRNA I            ADDRESS ON FILE
DIAZ RIVERA, MONICA             ADDRESS ON FILE
DIAZ RIVERA, MYRTA              ADDRESS ON FILE
DIAZ RIVERA, NANCY              ADDRESS ON FILE
DIAZ RIVERA, NELSON             ADDRESS ON FILE
DIAZ RIVERA, NERIBERT           ADDRESS ON FILE
DIAZ RIVERA, NEYLA N            ADDRESS ON FILE
DIAZ RIVERA, NICHELL            ADDRESS ON FILE
Diaz Rivera, Nicolas            ADDRESS ON FILE
DIAZ RIVERA, NICOLE             ADDRESS ON FILE
DIAZ RIVERA, NILDA              ADDRESS ON FILE
DIAZ RIVERA, NILDA              ADDRESS ON FILE
DIAZ RIVERA, NILSA I            ADDRESS ON FILE
DIAZ RIVERA, NOELI              ADDRESS ON FILE
Diaz Rivera, Noemi              ADDRESS ON FILE
DIAZ RIVERA, OLGA               ADDRESS ON FILE




                                                                            Page 2350 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 2351 of 3500
                                                                         17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name             Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
DIAZ RIVERA, OMAR         ADDRESS ON FILE
DIAZ RIVERA, OMARA E      ADDRESS ON FILE
DIAZ RIVERA, ORLANDO      ADDRESS ON FILE
DIAZ RIVERA, OSVALDO      ADDRESS ON FILE
DIAZ RIVERA, PASCUAL      ADDRESS ON FILE
DIAZ RIVERA, PEDRO E      ADDRESS ON FILE
Diaz Rivera, Rachel       ADDRESS ON FILE
Diaz Rivera, Rafael       ADDRESS ON FILE
DIAZ RIVERA, RAFAEL       ADDRESS ON FILE
DIAZ RIVERA, RAFAEL       ADDRESS ON FILE
DIAZ RIVERA, RAFAEL       ADDRESS ON FILE
Diaz Rivera, Rafael A     ADDRESS ON FILE
DIAZ RIVERA, RAFAEL A.    ADDRESS ON FILE
DIAZ RIVERA, RAMON        ADDRESS ON FILE
DIAZ RIVERA, RAQUEL       ADDRESS ON FILE
DIAZ RIVERA, RENE         ADDRESS ON FILE
DIAZ RIVERA, REYNA        ADDRESS ON FILE
DIAZ RIVERA, RICARDO      ADDRESS ON FILE
DIAZ RIVERA, RICARDO J    ADDRESS ON FILE
DIAZ RIVERA, RICARDO L    ADDRESS ON FILE
DIAZ RIVERA, RICHARD      ADDRESS ON FILE
Diaz Rivera, Rita I       ADDRESS ON FILE
DIAZ RIVERA, ROBERTO      ADDRESS ON FILE
DIAZ RIVERA, ROBERTO      ADDRESS ON FILE
Diaz Rivera, Roberto      ADDRESS ON FILE
DÍAZ RIVERA, ROBERTO      LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
DÍAZ RIVERA, ROBERTO      LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
Diaz Rivera, Roberto L    ADDRESS ON FILE
DIAZ RIVERA, ROSA         ADDRESS ON FILE
DIAZ RIVERA, ROSA A       ADDRESS ON FILE
DIAZ RIVERA, ROSA M       ADDRESS ON FILE
DIAZ RIVERA, RUTH M.      ADDRESS ON FILE
DIAZ RIVERA, SANDRA       ADDRESS ON FILE
DIAZ RIVERA, SANDRA I     ADDRESS ON FILE
DIAZ RIVERA, SONIA I      ADDRESS ON FILE
DIAZ RIVERA, ULISES       ADDRESS ON FILE
DIAZ RIVERA, VICTOR       ADDRESS ON FILE
Diaz Rivera, Victor M     ADDRESS ON FILE
Diaz Rivera, Victor M     ADDRESS ON FILE
DIAZ RIVERA, VIRGINIA     ADDRESS ON FILE
DIAZ RIVERA, WALESKA      ADDRESS ON FILE
DIAZ RIVERA, WALTER       ADDRESS ON FILE
DIAZ RIVERA, WANDA        ADDRESS ON FILE
DIAZ RIVERA, WANDA S.     ADDRESS ON FILE
DIAZ RIVERA, WILFREDO     ADDRESS ON FILE
Diaz Rivera, William      ADDRESS ON FILE
DIAZ RIVERA, WILLIAM      ADDRESS ON FILE
DIAZ RIVERA, WILLIAM A.   ADDRESS ON FILE
DIAZ RIVERA, WILSON       ADDRESS ON FILE
DIAZ RIVERA, YESSENIA     ADDRESS ON FILE
DIAZ RIVERA, YETZAIRA I   ADDRESS ON FILE
DIAZ RIVERA, YETZAIRA I   ADDRESS ON FILE
DIAZ RIVERA, YOLANDA      ADDRESS ON FILE
DIAZ RIVERA, YVONNE       ADDRESS ON FILE
DIAZ RIVERA, YVONNE       ADDRESS ON FILE
DIAZ RIVERA, ZAIDA        ADDRESS ON FILE
DIAZ RIVERA, ZULEYKA      ADDRESS ON FILE
DIAZ ROBERTS, SAMANTHA    ADDRESS ON FILE
DIAZ ROBLEDO, CARMEN      ADDRESS ON FILE
DIAZ ROBLES, AILEEN       ADDRESS ON FILE




                                                                               Page 2351 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2352 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ROBLES, BRENDA E        ADDRESS ON FILE
DIAZ ROBLES, BRYAN           ADDRESS ON FILE
DIAZ ROBLES, GABRIEL         ADDRESS ON FILE
DIAZ ROBLES, JACQUELINE      ADDRESS ON FILE
DIAZ ROBLES, JUAN            ADDRESS ON FILE
Diaz Robles, Julio R         ADDRESS ON FILE
DIAZ ROBLES, LUIS            ADDRESS ON FILE
DIAZ ROBLES, MARITZA         ADDRESS ON FILE
DIAZ ROBLES, SANDRA          ADDRESS ON FILE
DIAZ ROBLES, SANTOS          ADDRESS ON FILE
Diaz Robles, William         ADDRESS ON FILE
DIAZ ROBLES, WILMA Z         ADDRESS ON FILE
Diaz Roche, Christymarie     ADDRESS ON FILE
Diaz Roche, Heidy            ADDRESS ON FILE
DIAZ ROCHE, JOSE             ADDRESS ON FILE
Diaz Roche, Jose Edgardo     ADDRESS ON FILE
DIAZ ROCHE, MIGDALIA         ADDRESS ON FILE
DIAZ RODIGUEZ, ORLANDO       ADDRESS ON FILE
DIAZ RODRIGUEZ MD, RUBEN     ADDRESS ON FILE
DIAZ RODRIGUEZ MD, ZENAIDA   ADDRESS ON FILE
DIAZ RODRIGUEZ, ABIMARIE     ADDRESS ON FILE
DIAZ RODRIGUEZ, ADA E        ADDRESS ON FILE
DIAZ RODRIGUEZ, ADA I        ADDRESS ON FILE
DIAZ RODRIGUEZ, ADA I        ADDRESS ON FILE
DIAZ RODRIGUEZ, ADDLYS J     ADDRESS ON FILE
DIAZ RODRIGUEZ, ADELAIDA     ADDRESS ON FILE
DIAZ RODRIGUEZ, ADRIANA      ADDRESS ON FILE
DIAZ RODRIGUEZ, ALAN         ADDRESS ON FILE
DIAZ RODRIGUEZ, ALBERTO      ADDRESS ON FILE
DIAZ RODRIGUEZ, ALICIA       ADDRESS ON FILE
DIAZ RODRIGUEZ, AMPARO       ADDRESS ON FILE
DIAZ RODRIGUEZ, ANA          ADDRESS ON FILE
DIAZ RODRIGUEZ, ANA E        ADDRESS ON FILE
DIAZ RODRIGUEZ, ANA M.       ADDRESS ON FILE
DIAZ RODRIGUEZ, ANA MARIA    ADDRESS ON FILE
DIAZ RODRIGUEZ, ANAMARIE     ADDRESS ON FILE
DIAZ RODRIGUEZ, ANER         ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGEL        ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGEL        ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGEL        ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGEL A      ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGEL L      ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGEL Y      ADDRESS ON FILE
DIAZ RODRIGUEZ, ANGELA       ADDRESS ON FILE
DIAZ RODRIGUEZ, ANIR         ADDRESS ON FILE
DIAZ RODRIGUEZ, ANITA        ADDRESS ON FILE
DIAZ RODRIGUEZ, ANNETTE      ADDRESS ON FILE
DIAZ RODRIGUEZ, ANTHONY      ADDRESS ON FILE
Diaz Rodriguez, Antonio      ADDRESS ON FILE
DIAZ RODRIGUEZ, ANTONIO      ADDRESS ON FILE
DIAZ RODRIGUEZ, ANTONIO      ADDRESS ON FILE
DIAZ RODRIGUEZ, ARIEL        ADDRESS ON FILE
DIAZ RODRIGUEZ, ARMANDO      ADDRESS ON FILE
DIAZ RODRIGUEZ, AXEL         ADDRESS ON FILE
Diaz Rodriguez, Beatriz      ADDRESS ON FILE
DIAZ RODRIGUEZ, BENELIZ      ADDRESS ON FILE
DIAZ RODRIGUEZ, BENJAMIN     ADDRESS ON FILE
DIAZ RODRIGUEZ, CARLOS       ADDRESS ON FILE
DIAZ RODRIGUEZ, CARLOS       ADDRESS ON FILE
DIAZ RODRIGUEZ, CARLOS A     ADDRESS ON FILE




                                                                         Page 2352 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2353 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RODRIGUEZ, CARMELO         ADDRESS ON FILE
DIAZ RODRIGUEZ, CARMEN          ADDRESS ON FILE
DIAZ RODRIGUEZ, CARMEN          ADDRESS ON FILE
DIAZ RODRIGUEZ, CARMEN          ADDRESS ON FILE
DIAZ RODRIGUEZ, CARMEN H        ADDRESS ON FILE
DIAZ RODRIGUEZ, CARMEN L        ADDRESS ON FILE
DIAZ RODRIGUEZ, CARMEN R        ADDRESS ON FILE
DIAZ RODRIGUEZ, CHRISTIAN       ADDRESS ON FILE
DIAZ RODRIGUEZ, CINDIA          ADDRESS ON FILE
DIAZ RODRIGUEZ, CINDY           ADDRESS ON FILE
DIAZ RODRIGUEZ, CLEMENTE        ADDRESS ON FILE
DIAZ RODRIGUEZ, CRISTINA        ADDRESS ON FILE
DIAZ RODRIGUEZ, DAMARIS J       ADDRESS ON FILE
DIAZ RODRIGUEZ, DANIEL          ADDRESS ON FILE
DIAZ RODRIGUEZ, DANNY           ADDRESS ON FILE
DIAZ RODRIGUEZ, DARIEM          ADDRESS ON FILE
DIAZ RODRIGUEZ, DENNYS          ADDRESS ON FILE
DIAZ RODRIGUEZ, DENSYL          ADDRESS ON FILE
Diaz Rodriguez, Doris           ADDRESS ON FILE
DIAZ RODRIGUEZ, DYMARIE         ADDRESS ON FILE
DIAZ RODRIGUEZ, EDGAR           ADDRESS ON FILE
Diaz Rodriguez, Edgard          ADDRESS ON FILE
DIAZ RODRIGUEZ, EDGARDO         ADDRESS ON FILE
DIAZ RODRIGUEZ, EDUARDO         ADDRESS ON FILE
DIAZ RODRIGUEZ, EDUARDO         ADDRESS ON FILE
DIAZ RODRIGUEZ, EDWIN           ADDRESS ON FILE
DIAZ RODRIGUEZ, EDWIN J         ADDRESS ON FILE
DIAZ RODRIGUEZ, ELBA I          ADDRESS ON FILE
DIAZ RODRIGUEZ, ELISA           ADDRESS ON FILE
Diaz Rodriguez, Elisamuel       ADDRESS ON FILE
DIAZ RODRIGUEZ, ELIZABETH       ADDRESS ON FILE
DIAZ RODRIGUEZ, ELIZABETH       ADDRESS ON FILE
DIAZ RODRIGUEZ, ELSA            ADDRESS ON FILE
DIAZ RODRIGUEZ, ENILDA          ADDRESS ON FILE
DIAZ RODRIGUEZ, ENILDA          ADDRESS ON FILE
DIAZ RODRIGUEZ, ERICA           ADDRESS ON FILE
DIAZ RODRIGUEZ, ERIK            ADDRESS ON FILE
DIAZ RODRIGUEZ, EVELYN          ADDRESS ON FILE
DIAZ RODRIGUEZ, EVELYN          ADDRESS ON FILE
DIAZ RODRIGUEZ, EVELYN          ADDRESS ON FILE
DIAZ RODRIGUEZ, FEDERICO        ADDRESS ON FILE
DIAZ RODRIGUEZ, FELIPE L.       ADDRESS ON FILE
DIAZ RODRIGUEZ, FELIX           ADDRESS ON FILE
DIAZ RODRIGUEZ, FELIX L.        ADDRESS ON FILE
DIAZ RODRIGUEZ, FELIX L.        ADDRESS ON FILE
DIAZ RODRIGUEZ, FELIX R         ADDRESS ON FILE
DIAZ RODRIGUEZ, FERDINAND       ADDRESS ON FILE
DIAZ RODRIGUEZ, FLORENTINO      ADDRESS ON FILE
DIAZ RODRIGUEZ, FRANCISCO       ADDRESS ON FILE
DIAZ RODRIGUEZ, FRANCISCO       ADDRESS ON FILE
DIAZ RODRIGUEZ, FRANCISCO       ADDRESS ON FILE
DIAZ RODRIGUEZ, FREDESWINDA     ADDRESS ON FILE
DIAZ RODRIGUEZ, GABRIEL         ADDRESS ON FILE
DIAZ RODRIGUEZ, GEORGE K        ADDRESS ON FILE
DIAZ RODRIGUEZ, GIAN E          ADDRESS ON FILE
DIAZ RODRIGUEZ, GLADYS          ADDRESS ON FILE
DIAZ RODRIGUEZ, GLADYS          ADDRESS ON FILE
DIAZ RODRIGUEZ, GLADYS M        ADDRESS ON FILE
DIAZ RODRIGUEZ, GLORIA IVETTE   ADDRESS ON FILE
DIAZ RODRIGUEZ, GRISELL         ADDRESS ON FILE




                                                                            Page 2353 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2354 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RODRIGUEZ, GUILLERMO    ADDRESS ON FILE
DIAZ RODRIGUEZ, HECTOR       ADDRESS ON FILE
DIAZ RODRIGUEZ, HECTOR       ADDRESS ON FILE
DIAZ RODRIGUEZ, HECTOR       ADDRESS ON FILE
Diaz Rodriguez, Hector L     ADDRESS ON FILE
DIAZ RODRIGUEZ, HECTOR L.    ADDRESS ON FILE
Diaz Rodriguez, Ignacio      ADDRESS ON FILE
DIAZ RODRIGUEZ, ILEANA       ADDRESS ON FILE
DIAZ RODRIGUEZ, IRIS         ADDRESS ON FILE
DIAZ RODRIGUEZ, ISMAEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, ISMAEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, IVAN         ADDRESS ON FILE
Diaz Rodriguez, Ivonne       ADDRESS ON FILE
DIAZ RODRIGUEZ, IVONNE       ADDRESS ON FILE
DIAZ RODRIGUEZ, JACKELINE    ADDRESS ON FILE
DIAZ RODRIGUEZ, JACKELINE    ADDRESS ON FILE
DIAZ RODRIGUEZ, JACKELINE    ADDRESS ON FILE
DIAZ RODRIGUEZ, JANET        ADDRESS ON FILE
DIAZ RODRIGUEZ, JANICE       ADDRESS ON FILE
DIAZ RODRIGUEZ, JAVIER       ADDRESS ON FILE
DIAZ RODRIGUEZ, JENNIFER     ADDRESS ON FILE
DIAZ RODRIGUEZ, JENNIFER     ADDRESS ON FILE
DIAZ RODRIGUEZ, JENNY        ADDRESS ON FILE
DIAZ RODRIGUEZ, JESUS M      ADDRESS ON FILE
DIAZ RODRIGUEZ, JOANNY       ADDRESS ON FILE
DIAZ RODRIGUEZ, JOEL         ADDRESS ON FILE
DIAZ RODRIGUEZ, JOEL         ADDRESS ON FILE
DIAZ RODRIGUEZ, JONATHAN     ADDRESS ON FILE
DIAZ RODRIGUEZ, JORGE        ADDRESS ON FILE
DIAZ RODRIGUEZ, JORGE L      ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE         ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE         ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE A       ADDRESS ON FILE
Diaz Rodriguez, Jose A       ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE E       ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE F.      ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE LUIS    ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE R       ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE R       ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE R.      ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE R.      ADDRESS ON FILE
DIAZ RODRIGUEZ, JOSE R.      ADDRESS ON FILE
DIAZ RODRIGUEZ, JUAN         ADDRESS ON FILE
DIAZ RODRIGUEZ, JUAN         ADDRESS ON FILE
Diaz Rodriguez, Juan A       ADDRESS ON FILE
DIAZ RODRIGUEZ, JUAN PABLO   ADDRESS ON FILE
DIAZ RODRIGUEZ, JUAN R       ADDRESS ON FILE
DIAZ RODRIGUEZ, JUANITA      ADDRESS ON FILE
DIAZ RODRIGUEZ, JULIA M      ADDRESS ON FILE
DIAZ RODRIGUEZ, KEVYN        ADDRESS ON FILE
DIAZ RODRIGUEZ, KEVYN J      ADDRESS ON FILE
DIAZ RODRIGUEZ, KEYSCHA      ADDRESS ON FILE
DIAZ RODRIGUEZ, LESLIE       ADDRESS ON FILE
DIAZ RODRIGUEZ, LILLIAM      ADDRESS ON FILE
DIAZ RODRIGUEZ, LINDA        ADDRESS ON FILE
DIAZ RODRIGUEZ, LIONEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, LIZ B        ADDRESS ON FILE
DIAZ RODRIGUEZ, LIZAIDA      ADDRESS ON FILE
Diaz Rodriguez, Lizbeth      ADDRESS ON FILE
DIAZ RODRIGUEZ, LIZETTE      ADDRESS ON FILE




                                                                         Page 2354 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2355 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RODRIGUEZ, LOIDA         ADDRESS ON FILE
DIAZ RODRIGUEZ, LORENA        ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS          ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS          ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS          ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS          ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS          ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS A        ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS A        ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS A        ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS C        ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS H.       ADDRESS ON FILE
DIAZ RODRIGUEZ, LUIS R.       ADDRESS ON FILE
DIAZ RODRIGUEZ, LUZ           ADDRESS ON FILE
DIAZ RODRIGUEZ, LUZ           ADDRESS ON FILE
DIAZ RODRIGUEZ, LUZ C         ADDRESS ON FILE
DIAZ RODRIGUEZ, LUZ I         ADDRESS ON FILE
DIAZ RODRIGUEZ, LYDIA M       ADDRESS ON FILE
DIAZ RODRIGUEZ, LYDIA M.      ADDRESS ON FILE
DIAZ RODRIGUEZ, MANUEL A      ADDRESS ON FILE
DIAZ RODRIGUEZ, MANUELA       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARGARITA     ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA         ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA         ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA         ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA C       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA DE L    ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA DE L.   ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA DEL C   ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA I       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA I.      ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA M       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA M       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA M       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIA M       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIAN        ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIBEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIBEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARIBEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARILU        ADDRESS ON FILE
DIAZ RODRIGUEZ, MARILUZ       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARISOL       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARISSA       ADDRESS ON FILE
DIAZ RODRIGUEZ, MARITZA       ADDRESS ON FILE
DIAZ RODRIGUEZ, MAYRA         ADDRESS ON FILE
DIAZ RODRIGUEZ, MAYRA         ADDRESS ON FILE
DIAZ RODRIGUEZ, MAYRA E       ADDRESS ON FILE
DIAZ RODRIGUEZ, MELISSA       ADDRESS ON FILE
DIAZ RODRIGUEZ, MELISSA       ADDRESS ON FILE
DIAZ RODRIGUEZ, MELISSA I     ADDRESS ON FILE
DIAZ RODRIGUEZ, MELVIN        ADDRESS ON FILE
DIAZ RODRIGUEZ, MERARY        ADDRESS ON FILE
DIAZ RODRIGUEZ, MICHAEL       ADDRESS ON FILE
DIAZ RODRIGUEZ, MIGDALIA      ADDRESS ON FILE
DIAZ RODRIGUEZ, MIGUEL        ADDRESS ON FILE
DIAZ RODRIGUEZ, MIGUEL        ADDRESS ON FILE
DIAZ RODRIGUEZ, MIGUEL A      ADDRESS ON FILE
DIAZ RODRIGUEZ, MIRETZA       ADDRESS ON FILE
DIAZ RODRIGUEZ, MIRIAM        ADDRESS ON FILE
DIAZ RODRIGUEZ, MOISES        ADDRESS ON FILE




                                                                          Page 2355 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2356 of 3500
                                                                           17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name               Address1                              Address2                                   Address3           Address4   City         State   PostalCode   Country
DIAZ RODRIGUEZ, MONICA      ADDRESS ON FILE
DIAZ RODRIGUEZ, NATALIE     ADDRESS ON FILE
DIAZ RODRIGUEZ, NIVIA I     ADDRESS ON FILE
DIAZ RODRIGUEZ, NORELIS     ADDRESS ON FILE
DIAZ RODRIGUEZ, NORMA I     ADDRESS ON FILE
DIAZ RODRIGUEZ, NORMA I     ADDRESS ON FILE
DIAZ RODRIGUEZ, NORMA I     ADDRESS ON FILE
DIAZ RODRIGUEZ, NYDIA       ADDRESS ON FILE
DIAZ RODRIGUEZ, OLGA        ADDRESS ON FILE
DIAZ RODRIGUEZ, OMAR        ADDRESS ON FILE
DIAZ RODRIGUEZ, OMAR        ADDRESS ON FILE
DIAZ RODRIGUEZ, OMAR        ADDRESS ON FILE
DIAZ RODRIGUEZ, OMAR        ADDRESS ON FILE
DIAZ RODRIGUEZ, OMARIS      ADDRESS ON FILE
DIAZ RODRIGUEZ, OMAYRA      ADDRESS ON FILE
DIAZ RODRIGUEZ, ORLANDO     ADDRESS ON FILE
DIAZ RODRIGUEZ, ORLANDO     ADDRESS ON FILE
DIAZ RODRIGUEZ, PABLO A     ADDRESS ON FILE
DIAZ RODRIGUEZ, PEDRO       ADDRESS ON FILE
DIAZ RODRIGUEZ, PEDRO       ADDRESS ON FILE
Diaz Rodriguez, Pedro A     ADDRESS ON FILE
DIAZ RODRIGUEZ, RAFAEL      ADDRESS ON FILE
DIAZ RODRIGUEZ, RAFAEL      ADDRESS ON FILE
DIAZ RODRIGUEZ, RAFAEL      ADDRESS ON FILE
DIAZ RODRIGUEZ, RAFAEL      ADDRESS ON FILE
DIAZ RODRIGUEZ, RAFAEL L    ADDRESS ON FILE
DIAZ RODRIGUEZ, RAMONITA    ADDRESS ON FILE
DIAZ RODRIGUEZ, RAYMOND     ADDRESS ON FILE
DIAZ RODRIGUEZ, RICARDO     ADDRESS ON FILE
DIAZ RODRIGUEZ, RICARDO     ADDRESS ON FILE
DIAZ RODRIGUEZ, RICARDO     ADDRESS ON FILE
Diaz Rodriguez, Rigoberto   ADDRESS ON FILE
Diaz Rodriguez, Roberto     ADDRESS ON FILE
DIAZ RODRIGUEZ, ROBERTO     ADDRESS ON FILE
DIAZ RODRIGUEZ, ROBERTO     ADDRESS ON FILE
Diaz Rodriguez, Roberto A   ADDRESS ON FILE
DIAZ RODRIGUEZ, RODOLFO     ADDRESS ON FILE
DÍAZ RODRÍGUEZ, ROSA        LCDO. ARNALDO I. FERNANDINI SÁNCHEZ   CALLE ADAMS 1647                           URB. SUMMIT HILL              SAN JUAN     PR      00920
DÍAZ RODRÍGUEZ, ROSA        LCDO. ELIEZER ALDARONDO ORTIZ         16 CARR 199                                SUITE 400                     GUAYNABO     PR      00969
DÍAZ RODRÍGUEZ, ROSA        LCDO. MARCELINO RUIZ CORUJO           URB SANTA ROSA 101 CALLE ESTEBAN PADILLA STE 7                           Bayamón      PR      00959
DIAZ RODRIGUEZ, ROSA        ADDRESS ON FILE
DIAZ RODRIGUEZ, ROSA E.     ADDRESS ON FILE
DIAZ RODRIGUEZ, ROSA I      ADDRESS ON FILE
DIAZ RODRIGUEZ, SANDRA I    ADDRESS ON FILE
DIAZ RODRIGUEZ, SARA        ADDRESS ON FILE
DIAZ RODRIGUEZ, SHEILLA M   ADDRESS ON FILE
DIAZ RODRIGUEZ, TAISHA M.   ADDRESS ON FILE
DIAZ RODRIGUEZ, TERESA      ADDRESS ON FILE
DIAZ RODRIGUEZ, VANESSA     ADDRESS ON FILE
DIAZ RODRIGUEZ, VIANNEY O   ADDRESS ON FILE
DIAZ RODRIGUEZ, VICTOR      ADDRESS ON FILE
DIAZ RODRIGUEZ, VICTOR M.   ADDRESS ON FILE
DIAZ RODRIGUEZ, VIVIANA     ADDRESS ON FILE
DIAZ RODRIGUEZ, WALTER      ADDRESS ON FILE
DIAZ RODRIGUEZ, WALTER J    ADDRESS ON FILE
DIAZ RODRIGUEZ, WILFREDO    ADDRESS ON FILE
DIAZ RODRIGUEZ, WILLIAM     ADDRESS ON FILE
DIAZ RODRIGUEZ, WILLIAM     ADDRESS ON FILE
DIAZ RODRIGUEZ, YAHAIRA N   ADDRESS ON FILE
DIAZ RODRIGUEZ, YANIRA      ADDRESS ON FILE




                                                                                              Page 2356 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2357 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ RODRIGUEZ, YANIRE      ADDRESS ON FILE
DIAZ RODRIGUEZ, YARITZA     ADDRESS ON FILE
DIAZ RODRIGUEZ, YARITZA     ADDRESS ON FILE
DIAZ RODRIGUEZ, YESENIA M   ADDRESS ON FILE
DIAZ RODRIGUEZ, ZILKIA      ADDRESS ON FILE
DIAZ RODRIGUEZ, ZULEIKA     ADDRESS ON FILE
DIAZ ROJAS MD, HORTENSIA    ADDRESS ON FILE
DIAZ ROJAS, ANGEL L.        ADDRESS ON FILE
DIAZ ROJAS, ANGEL V         ADDRESS ON FILE
DIAZ ROJAS, CARMEN A        ADDRESS ON FILE
DIAZ ROJAS, CRYSTAL         ADDRESS ON FILE
DIAZ ROJAS, DAMARIS         ADDRESS ON FILE
DIAZ ROJAS, DOMINGO         ADDRESS ON FILE
DIAZ ROJAS, ENRIQUE R.      ADDRESS ON FILE
DIAZ ROJAS, IVETTE M        ADDRESS ON FILE
DIAZ ROJAS, JUAN            ADDRESS ON FILE
DIAZ ROJAS, LUIS O          ADDRESS ON FILE
DIAZ ROJAS, MARCELINO       ADDRESS ON FILE
DIAZ ROJAS, MARIA I         ADDRESS ON FILE
DIAZ ROJAS, MARIELIS        ADDRESS ON FILE
DIAZ ROJAS, RAFAEL          ADDRESS ON FILE
DIAZ ROLDAN, DAMARIS        ADDRESS ON FILE
DIAZ ROLDAN, SANDRA         ADDRESS ON FILE
DIAZ ROLDAN, SANTA M        ADDRESS ON FILE
DIAZ ROLDAN, SOLMARY        ADDRESS ON FILE
DIAZ ROLON, AMADIS          ADDRESS ON FILE
DIAZ ROLON, CARLOS          ADDRESS ON FILE
DIAZ ROLON, CARMEN          ADDRESS ON FILE
DIAZ ROLON, CARMEN G        ADDRESS ON FILE
DIAZ ROLON, IDALIA          ADDRESS ON FILE
DIAZ ROLON, JOSE            ADDRESS ON FILE
DIAZ ROLON, JOSHUA          ADDRESS ON FILE
DIAZ ROLON, KENNETH         ADDRESS ON FILE
DIAZ ROLON, LUIS J          ADDRESS ON FILE
DIAZ ROMAN, ADY G.          ADDRESS ON FILE
DIAZ ROMAN, ALICIA          ADDRESS ON FILE
DIAZ ROMAN, ALICIA          ADDRESS ON FILE
DIAZ ROMAN, CAMIL           ADDRESS ON FILE
DIAZ ROMAN, DAVID           ADDRESS ON FILE
Diaz Roman, Doris           ADDRESS ON FILE
DIAZ ROMAN, EDWIN           ADDRESS ON FILE
DIAZ ROMAN, EFRAIN          ADDRESS ON FILE
DIAZ ROMAN, ELIZABETH       ADDRESS ON FILE
DIAZ ROMAN, ESAUD           ADDRESS ON FILE
DIAZ ROMAN, IVETTE DEL C    ADDRESS ON FILE
DIAZ ROMAN, JOAN M          ADDRESS ON FILE
DIAZ ROMAN, JOSE W          ADDRESS ON FILE
Diaz Roman, Juan R          ADDRESS ON FILE
DIAZ ROMAN, KIMBERLY        ADDRESS ON FILE
DIAZ ROMAN, LUZ M           ADDRESS ON FILE
DIAZ ROMAN, LUZ M.          ADDRESS ON FILE
DIAZ ROMAN, LYNETTE         ADDRESS ON FILE
DIAZ ROMAN, MARIA           ADDRESS ON FILE
DIAZ ROMAN, MARIA DEL C     ADDRESS ON FILE
DIAZ ROMAN, MICHELLE        ADDRESS ON FILE
DIAZ ROMAN, RENE            ADDRESS ON FILE
DIAZ ROMAN, ROSEMARY        ADDRESS ON FILE
DIAZ ROMAN, SOLYMAR         ADDRESS ON FILE
DIAZ ROMAN, WILLIAM         ADDRESS ON FILE
Diaz Roman, Yadira          ADDRESS ON FILE




                                                                        Page 2357 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2358 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ROMAN, YADIRA           ADDRESS ON FILE
DIAZ ROMAN, YESENIA          ADDRESS ON FILE
DIAZ ROMAN, YESENIA          ADDRESS ON FILE
DIAZ ROMERO MD, PORFIRIO E   ADDRESS ON FILE
DIAZ ROMERO, ANA M.          ADDRESS ON FILE
DIAZ ROMERO, ANDRES          ADDRESS ON FILE
DIAZ ROMERO, BETSY           ADDRESS ON FILE
DIAZ ROMERO, CLARA L         ADDRESS ON FILE
DIAZ ROMERO, CRYSTAL         ADDRESS ON FILE
DIAZ ROMERO, FERNANDO        ADDRESS ON FILE
DIAZ ROMERO, JORGE           ADDRESS ON FILE
DIAZ ROMERO, LEUGIM          ADDRESS ON FILE
DIAZ ROMERO, NILDA           ADDRESS ON FILE
DIAZ ROMERO, THARA M         ADDRESS ON FILE
DIAZ RONDON, ANGEL           ADDRESS ON FILE
DIAZ ROQUE, JOSE E           ADDRESS ON FILE
DIAZ ROQUE, LADY             ADDRESS ON FILE
DIAZ ROQUE, MARIE            ADDRESS ON FILE
DIAZ ROSA, ANGEL J           ADDRESS ON FILE
DIAZ ROSA, CHRISTIAN         ADDRESS ON FILE
DIAZ ROSA, CHRISTOPHER       ADDRESS ON FILE
DIAZ ROSA, DAVID             ADDRESS ON FILE
DIAZ ROSA, DAVID             ADDRESS ON FILE
Diaz Rosa, David M.          ADDRESS ON FILE
DIAZ ROSA, DEBORAH           ADDRESS ON FILE
DIAZ ROSA, EDGARDO           ADDRESS ON FILE
DIAZ ROSA, FRANCES           ADDRESS ON FILE
DIAZ ROSA, GLORIA M          ADDRESS ON FILE
DIAZ ROSA, JOSE              ADDRESS ON FILE
Diaz Rosa, Jose I            ADDRESS ON FILE
DIAZ ROSA, LEONEL I.         ADDRESS ON FILE
DIAZ ROSA, LOURDES           ADDRESS ON FILE
DIAZ ROSA, LUIS              ADDRESS ON FILE
DIAZ ROSA, MARCIAL           ADDRESS ON FILE
DIAZ ROSA, MARIA DE LOS A    ADDRESS ON FILE
DIAZ ROSA, MARITZA           ADDRESS ON FILE
DIAZ ROSA, ROSA              ADDRESS ON FILE
DIAZ ROSA, ZOELYS            ADDRESS ON FILE
DIAZ ROSA,LUIS               ADDRESS ON FILE
DIAZ ROSADO MD, LUIS         ADDRESS ON FILE
DIAZ ROSADO MD, NESTOR       ADDRESS ON FILE
DIAZ ROSADO, AIVELYN         ADDRESS ON FILE
DIAZ ROSADO, ALBA R          ADDRESS ON FILE
Diaz Rosado, Alexis          ADDRESS ON FILE
DIAZ ROSADO, ALFREDO         ADDRESS ON FILE
DIAZ ROSADO, ANAMARI         ADDRESS ON FILE
DIAZ ROSADO, CARMEN          ADDRESS ON FILE
DIAZ ROSADO, CAROL I         ADDRESS ON FILE
DIAZ ROSADO, DAVID           ADDRESS ON FILE
DIAZ ROSADO, EDILBERTO       ADDRESS ON FILE
DIAZ ROSADO, EDNA            ADDRESS ON FILE
DIAZ ROSADO, EDNA            ADDRESS ON FILE
DIAZ ROSADO, EMMA L          ADDRESS ON FILE
DIAZ ROSADO, FRANCIS M       ADDRESS ON FILE
DIAZ ROSADO, FRANCISCO       ADDRESS ON FILE
DIAZ ROSADO, GILBERTO        ADDRESS ON FILE
DIAZ ROSADO, GISELLE         ADDRESS ON FILE
DIAZ ROSADO, HERMINIO        ADDRESS ON FILE
DIAZ ROSADO, ILEANA          ADDRESS ON FILE
DIAZ ROSADO, INGRID          ADDRESS ON FILE




                                                                         Page 2358 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2359 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ROSADO, IRIS D           ADDRESS ON FILE
DIAZ ROSADO, ISABEL           ADDRESS ON FILE
DIAZ ROSADO, ISABEL           ADDRESS ON FILE
DIAZ ROSADO, JAIME            ADDRESS ON FILE
DIAZ ROSADO, JANE M           ADDRESS ON FILE
DIAZ ROSADO, JOSE             ADDRESS ON FILE
DIAZ ROSADO, JOSE             ADDRESS ON FILE
DIAZ ROSADO, JOSE A.          ADDRESS ON FILE
DIAZ ROSADO, JOSE F           ADDRESS ON FILE
DIAZ ROSADO, JOSUE G.         ADDRESS ON FILE
DIAZ ROSADO, JUAN             ADDRESS ON FILE
DIAZ ROSADO, JUAN C.          ADDRESS ON FILE
DIAZ ROSADO, JUAN C.          ADDRESS ON FILE
DIAZ ROSADO, JULIO            ADDRESS ON FILE
DIAZ ROSADO, KARINA           ADDRESS ON FILE
DIAZ ROSADO, LEMUEL A         ADDRESS ON FILE
DIAZ ROSADO, LILLIAN          ADDRESS ON FILE
DIAZ ROSADO, LUIS             ADDRESS ON FILE
DIAZ ROSADO, MARIA            ADDRESS ON FILE
DIAZ ROSADO, MARIA V          ADDRESS ON FILE
DIAZ ROSADO, MARTA            ADDRESS ON FILE
DIAZ ROSADO, MIGUEL           ADDRESS ON FILE
DIAZ ROSADO, MILDRED          ADDRESS ON FILE
DIAZ ROSADO, NESTOR           ADDRESS ON FILE
DIAZ ROSADO, NOELIA           ADDRESS ON FILE
DIAZ ROSADO, NYDIA M          ADDRESS ON FILE
DIAZ ROSADO, RAMON            ADDRESS ON FILE
DIAZ ROSADO, RAQUEL           ADDRESS ON FILE
DIAZ ROSADO, RAUL             ADDRESS ON FILE
DIAZ ROSADO, REBECCA          ADDRESS ON FILE
DIAZ ROSADO, RICHARD          ADDRESS ON FILE
DIAZ ROSADO, RODNEY           ADDRESS ON FILE
DIAZ ROSADO, VICTOR           ADDRESS ON FILE
Diaz Rosado, Victor Emanuel   ADDRESS ON FILE
DIAZ ROSADO,ERICK             ADDRESS ON FILE
DIAZ ROSARIO, ABNER           ADDRESS ON FILE
DIAZ ROSARIO, ANGEL           ADDRESS ON FILE
DIAZ ROSARIO, ANGEL L.        ADDRESS ON FILE
DIAZ ROSARIO, ANGELITA        ADDRESS ON FILE
DIAZ ROSARIO, ANTONIO         ADDRESS ON FILE
DIAZ ROSARIO, BIANCA A        ADDRESS ON FILE
DIAZ ROSARIO, CARMEN L        ADDRESS ON FILE
DIAZ ROSARIO, CARMEN M        ADDRESS ON FILE
DIAZ ROSARIO, DACHALY         ADDRESS ON FILE
DIAZ ROSARIO, DAVID           ADDRESS ON FILE
DIAZ ROSARIO, DENNISSE        ADDRESS ON FILE
Diaz Rosario, Eduardo         ADDRESS ON FILE
DIAZ ROSARIO, EDWIN           ADDRESS ON FILE
DIAZ ROSARIO, EDWIN           ADDRESS ON FILE
DIAZ ROSARIO, EMERI           ADDRESS ON FILE
DIAZ ROSARIO, GRISEL          ADDRESS ON FILE
DIAZ ROSARIO, GRISELL         ADDRESS ON FILE
DIAZ ROSARIO, HECTOR          ADDRESS ON FILE
DIAZ ROSARIO, HECTOR G.       ADDRESS ON FILE
DIAZ ROSARIO, HERIBERTO       ADDRESS ON FILE
DIAZ ROSARIO, IRMA L          ADDRESS ON FILE
Diaz Rosario, Ivan            ADDRESS ON FILE
DIAZ ROSARIO, JANET           ADDRESS ON FILE
DIAZ ROSARIO, JESSICA M       ADDRESS ON FILE
DIAZ ROSARIO, JOEWEY          ADDRESS ON FILE




                                                                          Page 2359 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2360 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ ROSARIO, JOEWEY       ADDRESS ON FILE
DIAZ ROSARIO, JOSE M       ADDRESS ON FILE
DIAZ ROSARIO, JOSUE        ADDRESS ON FILE
DIAZ ROSARIO, JUAN         ADDRESS ON FILE
DIAZ ROSARIO, LORENA       ADDRESS ON FILE
DIAZ ROSARIO, LUIS         ADDRESS ON FILE
DIAZ ROSARIO, LUIS         ADDRESS ON FILE
DIAZ ROSARIO, LUIS         ADDRESS ON FILE
DIAZ ROSARIO, LUIS         ADDRESS ON FILE
DIAZ ROSARIO, LYDIA M.     ADDRESS ON FILE
DIAZ ROSARIO, MANUEL       ADDRESS ON FILE
DIAZ ROSARIO, MARIA M      ADDRESS ON FILE
DIAZ ROSARIO, MARIA T.     ADDRESS ON FILE
DIAZ ROSARIO, MARIBELLA    ADDRESS ON FILE
DIAZ ROSARIO, MARITZA      ADDRESS ON FILE
Diaz Rosario, Marta Iris   ADDRESS ON FILE
DIAZ ROSARIO, MYRNA I      ADDRESS ON FILE
DIAZ ROSARIO, NANCY        ADDRESS ON FILE
DIAZ ROSARIO, NERUSHKA     ADDRESS ON FILE
DIAZ ROSARIO, OMAR         ADDRESS ON FILE
DIAZ ROSARIO, PEDRO        ADDRESS ON FILE
DIAZ ROSARIO, REBECA       ADDRESS ON FILE
DIAZ ROSARIO, ROSA         ADDRESS ON FILE
DIAZ ROSARIO, VEDERNISE    ADDRESS ON FILE
DIAZ ROSARIO, VEDERNISE    ADDRESS ON FILE
DIAZ ROSARIO, WILLIAM      ADDRESS ON FILE
DIAZ ROSARIO, WILLIAM      ADDRESS ON FILE
DIAZ ROSARIO, YOLANDA      ADDRESS ON FILE
Diaz Rosario, Zaira        ADDRESS ON FILE
DIAZ ROSARIO,JENNIFER M.   ADDRESS ON FILE
DIAZ ROSAS, ALEXANDRA      ADDRESS ON FILE
DIAZ ROSAS, CARMEN L.      ADDRESS ON FILE
DIAZ ROSELLO, YOLANDA      ADDRESS ON FILE
DIAZ ROTGER, JANNETTE      ADDRESS ON FILE
Diaz Roura, Zaida E        ADDRESS ON FILE
DIAZ RUBERT, CARLOS O      ADDRESS ON FILE
DIAZ RUBERTE, ESTHER       ADDRESS ON FILE
DIAZ RUBERTE, NOEMI        ADDRESS ON FILE
DIAZ RUBERTE, SANTOS       ADDRESS ON FILE
Diaz Rubio, Jorge L        ADDRESS ON FILE
DIAZ RUDON, WILLIAM        ADDRESS ON FILE
DIAZ RUIZ MD, JAMIL T      ADDRESS ON FILE
DIAZ RUIZ, ABIEZER         ADDRESS ON FILE
DIAZ RUIZ, ANA M           ADDRESS ON FILE
DIAZ RUIZ, CARMEN D.       ADDRESS ON FILE
DIAZ RUIZ, EDITH           ADDRESS ON FILE
DIAZ RUIZ, EDWIN D.        ADDRESS ON FILE
DIAZ RUIZ, ELOI            ADDRESS ON FILE
DIAZ RUIZ, FELIPA          ADDRESS ON FILE
Diaz Ruiz, Gerardo         ADDRESS ON FILE
Diaz Ruiz, Hector R        ADDRESS ON FILE
DIAZ RUIZ, ILIA            ADDRESS ON FILE
Diaz Ruiz, Ilia E.         ADDRESS ON FILE
DIAZ RUIZ, IVETTE M.       ADDRESS ON FILE
DIAZ RUIZ, JESSIBEL M      ADDRESS ON FILE
DIAZ RUIZ, JUAN G.         ADDRESS ON FILE
DIAZ RUIZ, MANUEL          ADDRESS ON FILE
DIAZ RUIZ, MANUEL          ADDRESS ON FILE
DIAZ RUIZ, MIGUEL A.       ADDRESS ON FILE
DIAZ RUIZ, MIRNA           ADDRESS ON FILE




                                                                       Page 2360 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2361 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Ruiz, Mirnell          ADDRESS ON FILE
DIAZ RUIZ, OREMARY          ADDRESS ON FILE
DIAZ RUIZ, RAMON            ADDRESS ON FILE
DIAZ RUIZ, RAMON            ADDRESS ON FILE
DIAZ RUIZ, RODOLFO          ADDRESS ON FILE
DIAZ RUIZ, SARAHI           ADDRESS ON FILE
DIAZ RUIZ, WILFREDO         ADDRESS ON FILE
DIAZ RUIZ, YADIRA I         ADDRESS ON FILE
DIAZ RUIZ, YANITZA I        ADDRESS ON FILE
DIAZ SABATER, ROBERTO       ADDRESS ON FILE
DIAZ SAEZ, ANGEL            ADDRESS ON FILE
DIAZ SAEZ, LUIS A           ADDRESS ON FILE
DIAZ SALAMAN, ABRAHAM       ADDRESS ON FILE
DIAZ SALAMAN, LUIS M        ADDRESS ON FILE
DIAZ SALAMAN, RAFAEL        ADDRESS ON FILE
Diaz Salas, Luis A.         ADDRESS ON FILE
DIAZ SALAS, YALEIKA         ADDRESS ON FILE
DIAZ SALDANA, IRAIDA        ADDRESS ON FILE
DIAZ SALDANA, IRAIDA        ADDRESS ON FILE
DIAZ SALDANA, JORGE         ADDRESS ON FILE
DIAZ SALDANA, LINDIA S      ADDRESS ON FILE
DIAZ SALDANA, LYNDIA S.     ADDRESS ON FILE
DIAZ SALDANA, MANUEL        ADDRESS ON FILE
DIAZ SALDAÑA, MANUEL        ADDRESS ON FILE
DIAZ SALDANA, MANUEL        ADDRESS ON FILE
DIAZ SALDANA, SIXTO         ADDRESS ON FILE
DIAZ SALGADO, DAISY         ADDRESS ON FILE
DIAZ SALGADO, DORCAS        ADDRESS ON FILE
DIAZ SALGADO, EDUARDO       ADDRESS ON FILE
DIAZ SALGADO, ELIZABETH     ADDRESS ON FILE
DIAZ SALGADO, ELIZABETH     ADDRESS ON FILE
DIAZ SALGADO, JARDANY       ADDRESS ON FILE
DIAZ SALGADO, MARILUZ       ADDRESS ON FILE
DIAZ SALGADO, RAFAEL A.     ADDRESS ON FILE
DIAZ SALGADO, ROSA          ADDRESS ON FILE
Diaz Salgado, Yolanda       ADDRESS ON FILE
DIAZ SALVA MD, ERBETT       ADDRESS ON FILE
DIAZ SAMOT, PAMELA          ADDRESS ON FILE
DIAZ SANABRIA, JOSELITO     ADDRESS ON FILE
DIAZ SANABRIA, MARGARITA    ADDRESS ON FILE
DIAZ SANABRIA, NESTOR R.    ADDRESS ON FILE
DIAZ SANABRINA, JOEL        ADDRESS ON FILE
DIAZ SANCHEZ MD, HECTOR L   ADDRESS ON FILE
DIAZ SANCHEZ, ADRIANA       ADDRESS ON FILE
Diaz Sanchez, Alex R.       ADDRESS ON FILE
DIAZ SANCHEZ, ALEXA T       ADDRESS ON FILE
Diaz Sanchez, Alfredo       ADDRESS ON FILE
DIAZ SANCHEZ, ANA           ADDRESS ON FILE
DIAZ SANCHEZ, BESTY         ADDRESS ON FILE
DIAZ SANCHEZ, BETHZAIDA     ADDRESS ON FILE
DIAZ SANCHEZ, BLANCA E      ADDRESS ON FILE
DIAZ SANCHEZ, CALIXTO       ADDRESS ON FILE
DIAZ SANCHEZ, CALIXTO       ADDRESS ON FILE
DIAZ SANCHEZ, CARLOS        ADDRESS ON FILE
DIAZ SANCHEZ, CARLOS        ADDRESS ON FILE
DIAZ SANCHEZ, CARLOS        ADDRESS ON FILE
DIAZ SANCHEZ, CARMELO       ADDRESS ON FILE
DIAZ SANCHEZ, CLARIBEL      ADDRESS ON FILE
DIAZ SANCHEZ, DAND          ADDRESS ON FILE
DIAZ SANCHEZ, DEBORAH       ADDRESS ON FILE




                                                                        Page 2361 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2362 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                   Address1                            Address2                                  Address3              Address4            City              State   PostalCode   Country
DIAZ SANCHEZ, DELMARIE          ADDRESS ON FILE
DIAZ SANCHEZ, DIANA             ADDRESS ON FILE
Diaz Sanchez, Eduardo           ADDRESS ON FILE
DIAZ SANCHEZ, ELENA             ADDRESS ON FILE
DIAZ SANCHEZ, ELIEZER           ADDRESS ON FILE
DIAZ SANCHEZ, ERIC              ADDRESS ON FILE
DIAZ SANCHEZ, ESTEBAN           ADDRESS ON FILE
DIAZ SANCHEZ, FREDDY            ADDRESS ON FILE
DIAZ SANCHEZ, GERMARY           ADDRESS ON FILE
DÍAZ SÁNCHEZ, GINAMARIE         LCDA. BRUNILDA FIGUEROA NATER       LCDA. BRUNILDA FIGUEROA NATER             PO BOX 70244                              SAN JUAN          PR      00936‐8244
                                                                                                                                    #138 AVE. WINSTON
DÍAZ SÁNCHEZ, GINAMARIE         LCDA. JOHANNA M. REBOLLO GONZÁLEZ   LCDA. JOHANNA M. REBOLLO GONZÁLEZ         PMB 914               CHURCHILL           SAN JUAN          PR      00926‐6013
                                                                                                                                    #138 AVE. WINSTON
DÍAZ SÁNCHEZ, GINAMARIE         LCDO. ENRIQUE REBOLLO PORTELA       LCDO. ENRIQUE REBOLLO PORTELA             PMB 914               CHURCHILL           SAN JUAN          PR      00926‐6013
DIAZ SANCHEZ, GISELA            ADDRESS ON FILE
DIAZ SANCHEZ, GISELA            ADDRESS ON FILE
DIAZ SANCHEZ, GLORYVEE          ADDRESS ON FILE
DIAZ SANCHEZ, GLORYVEE          ADDRESS ON FILE
DIAZ SANCHEZ, HECTOR            ADDRESS ON FILE
DIAZ SANCHEZ, HERMINIA          ADDRESS ON FILE
DIAZ SANCHEZ, HILDA R           ADDRESS ON FILE
DIAZ SANCHEZ, IRASEMIS          ADDRESS ON FILE
DIAZ SANCHEZ, IRIANA            ADDRESS ON FILE
DIAZ SANCHEZ, IRIS              ADDRESS ON FILE
DIAZ SANCHEZ, IRMA S            ADDRESS ON FILE
DIAZ SANCHEZ, ISHAH             ADDRESS ON FILE
DIAZ SANCHEZ, IVAN              ADDRESS ON FILE
DIAZ SANCHEZ, IVELISSE          ADDRESS ON FILE
DIAZ SANCHEZ, JACKELINE         ADDRESS ON FILE
DIAZ SANCHEZ, JAIME             FÉLIX A. COLÓN‐SERRANO, ESQ.        FÉLIX A. COLÓN‐SERRANO                    ESQ.                  PO BOX 360610       SAN JUAN          PR      00936‐0610
DIAZ SANCHEZ, JAIME             LCDO. MICHAEL S. CORONA MUÑOZ       LCDO. MICHAEL S. CORONA MUÑOZ             110 CALLE BORINQUEZ   SUITE 4‐1           TRUJILLO ALTO     PR      00976
DIAZ SANCHEZ, JAIME             ADDRESS ON FILE
DIAZ SANCHEZ, JOEL G.           ADDRESS ON FILE
DIAZ SANCHEZ, JOHANNA           ADDRESS ON FILE
DIAZ SANCHEZ, JOMARIS LINETTE   ADDRESS ON FILE
DIAZ SANCHEZ, JOSE              ADDRESS ON FILE
Diaz Sanchez, Jose              ADDRESS ON FILE
DIAZ SANCHEZ, JOSE              ADDRESS ON FILE
DIAZ SANCHEZ, JOSE A            ADDRESS ON FILE
DIAZ SANCHEZ, JUSTA             ADDRESS ON FILE
DIAZ SANCHEZ, LEE O.            ADDRESS ON FILE
DIAZ SANCHEZ, LINOSKA           ADDRESS ON FILE
DIAZ SANCHEZ, LOURDES           ADDRESS ON FILE
DIAZ SANCHEZ, LUDIM             ADDRESS ON FILE
Diaz Sanchez, Luis M            ADDRESS ON FILE
DIAZ SANCHEZ, MADELINE          ADDRESS ON FILE
DIAZ SANCHEZ, MARETZIE          ADDRESS ON FILE
DIAZ SANCHEZ, MARGARET          ADDRESS ON FILE
DIAZ SANCHEZ, MARGARITA         ADDRESS ON FILE
DIAZ SANCHEZ, MARICRUZ          ADDRESS ON FILE
DIAZ SANCHEZ, MARIELA           ADDRESS ON FILE
DIAZ SANCHEZ, MARITZA           ADDRESS ON FILE
DIAZ SANCHEZ, MARTA I           ADDRESS ON FILE
Diaz Sanchez, Miguel A          ADDRESS ON FILE
Diaz Sanchez, Miguel A          ADDRESS ON FILE
DIAZ SANCHEZ, PABLO             ADDRESS ON FILE
DIAZ SANCHEZ, RAFAEL            ADDRESS ON FILE
DIAZ SANCHEZ, ROSA              ADDRESS ON FILE
DIAZ SANCHEZ, ROSA MARIA        ADDRESS ON FILE
DIAZ SANCHEZ, SARA L            ADDRESS ON FILE




                                                                                               Page 2362 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2363 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ SANCHEZ, SAUDHI       ADDRESS ON FILE
DIAZ SANCHEZ, VILMARY      ADDRESS ON FILE
DIAZ SANCHEZ, VIRGINIA     ADDRESS ON FILE
DIAZ SANCHEZ, WALESKA      ADDRESS ON FILE
DIAZ SANCHEZ, WENDY L      ADDRESS ON FILE
DIAZ SANCHEZ, XAVIER       ADDRESS ON FILE
DIAZ SANCHEZ, XIOMARA      ADDRESS ON FILE
DIAZ SANCHEZ, YAMILKA      ADDRESS ON FILE
DIAZ SANCHEZ, YARISA       ADDRESS ON FILE
DIAZ SANCHEZ, YARIZEL      ADDRESS ON FILE
DIAZ SANCHEZ, YESSENIA     ADDRESS ON FILE
Diaz Sandoval, Ivan R      ADDRESS ON FILE
DIAZ SANDOVAL, MIREIDY     ADDRESS ON FILE
Diaz Sanjurjo, Angel       ADDRESS ON FILE
DIAZ SANTA, JORGE          ADDRESS ON FILE
DIAZ SANTA, JOSE           ADDRESS ON FILE
DIAZ SANTA, MARLEN         ADDRESS ON FILE
DIAZ SANTAELLA, VIRGINIA   ADDRESS ON FILE
DIAZ SANTANA, ALEX         ADDRESS ON FILE
DIAZ SANTANA, ANTONIO      ADDRESS ON FILE
DIAZ SANTANA, BIENVENIDO   ADDRESS ON FILE
DIAZ SANTANA, DOMINGO      ADDRESS ON FILE
DIAZ SANTANA, ELOY         ADDRESS ON FILE
DIAZ SANTANA, ELSA N       ADDRESS ON FILE
Diaz Santana, Eric G       ADDRESS ON FILE
Diaz Santana, Hector L     ADDRESS ON FILE
DIAZ SANTANA, ISABEL       ADDRESS ON FILE
DIAZ SANTANA, JAMILET      ADDRESS ON FILE
Diaz Santana, Jeriel       ADDRESS ON FILE
DIAZ SANTANA, JOSE         ADDRESS ON FILE
Diaz Santana, Jose A.      ADDRESS ON FILE
DIAZ SANTANA, JUAN         ADDRESS ON FILE
DIAZ SANTANA, LIMARIS      ADDRESS ON FILE
DIAZ SANTANA, MARGARITA    ADDRESS ON FILE
DIAZ SANTANA, MIRIAM       ADDRESS ON FILE
DIAZ SANTANA, OSCAR        ADDRESS ON FILE
DIAZ SANTANA, RAISA        ADDRESS ON FILE
DIAZ SANTANA, ROBERTO      ADDRESS ON FILE
DIAZ SANTANA, YEFRED       ADDRESS ON FILE
DIAZ SANTER, MARIA         ADDRESS ON FILE
DIAZ SANTIAGO, ABRAHAM     ADDRESS ON FILE
DIAZ SANTIAGO, ADRIA M     ADDRESS ON FILE
DIAZ SANTIAGO, ALICIA      ADDRESS ON FILE
DIAZ SANTIAGO, ANA         ADDRESS ON FILE
DIAZ SANTIAGO, ANA H       ADDRESS ON FILE
Diaz Santiago, Angel A     ADDRESS ON FILE
DIAZ SANTIAGO, ANGEL L.    ADDRESS ON FILE
Diaz Santiago, Angel M.    ADDRESS ON FILE
DIAZ SANTIAGO, BRYAN       ADDRESS ON FILE
DIAZ SANTIAGO, CARMEN      ADDRESS ON FILE
DIAZ SANTIAGO, CARMEN M    ADDRESS ON FILE
DIAZ SANTIAGO, CLARA I.    ADDRESS ON FILE
Diaz Santiago, Cynthia     ADDRESS ON FILE
DIAZ SANTIAGO, DAVID       ADDRESS ON FILE
DIAZ SANTIAGO, DELIA J     ADDRESS ON FILE
DIAZ SANTIAGO, DOMALY      ADDRESS ON FILE
Diaz Santiago, Edgardo L   ADDRESS ON FILE
DIAZ SANTIAGO, EDRA        ADDRESS ON FILE
DIAZ SANTIAGO, ELIAS       ADDRESS ON FILE
DIAZ SANTIAGO, ELSA        ADDRESS ON FILE




                                                                       Page 2363 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2364 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ SANTIAGO, EMANUEL      ADDRESS ON FILE
DIAZ SANTIAGO, ERNESTO J.   ADDRESS ON FILE
DIAZ SANTIAGO, ESDRA M      ADDRESS ON FILE
DIAZ SANTIAGO, FERMIN       ADDRESS ON FILE
Díaz Santiago, Gloria M.    ADDRESS ON FILE
DIAZ SANTIAGO, HECTOR       ADDRESS ON FILE
DIAZ SANTIAGO, IDALI        ADDRESS ON FILE
DIAZ SANTIAGO, IRIS M       ADDRESS ON FILE
Diaz Santiago, Irma E       ADDRESS ON FILE
DIAZ SANTIAGO, JAIME        ADDRESS ON FILE
DIAZ SANTIAGO, JANICE Y.    ADDRESS ON FILE
DIAZ SANTIAGO, JENNY        ADDRESS ON FILE
DIAZ SANTIAGO, JESSIKA      ADDRESS ON FILE
DIAZ SANTIAGO, JINNY        ADDRESS ON FILE
DIAZ SANTIAGO, JORGE        ADDRESS ON FILE
DIAZ SANTIAGO, JORGE        ADDRESS ON FILE
DIAZ SANTIAGO, JOSE         ADDRESS ON FILE
DIAZ SANTIAGO, JOSE A.      ADDRESS ON FILE
Diaz Santiago, Jose F       ADDRESS ON FILE
Diaz Santiago, Jose L       ADDRESS ON FILE
DIAZ SANTIAGO, JUAN         ADDRESS ON FILE
DIAZ SANTIAGO, JUAN         ADDRESS ON FILE
Diaz Santiago, Juan A       ADDRESS ON FILE
Diaz Santiago, Juan J.      ADDRESS ON FILE
DIAZ SANTIAGO, JUAN R       ADDRESS ON FILE
DIAZ SANTIAGO, JUANITA      ADDRESS ON FILE
DIAZ SANTIAGO, JULIO        ADDRESS ON FILE
DIAZ SANTIAGO, KARLA        ADDRESS ON FILE
DIAZ SANTIAGO, KEVIN        ADDRESS ON FILE
DIAZ SANTIAGO, LAUREN       ADDRESS ON FILE
DIAZ SANTIAGO, LESLIE       ADDRESS ON FILE
DIAZ SANTIAGO, LILLIAM      ADDRESS ON FILE
DIAZ SANTIAGO, LUIS         ADDRESS ON FILE
DIAZ SANTIAGO, LUZ E.       ADDRESS ON FILE
DIAZ SANTIAGO, LYDIA        ADDRESS ON FILE
DIAZ SANTIAGO, MADELINE     ADDRESS ON FILE
DIAZ SANTIAGO, MADELINE     ADDRESS ON FILE
DIAZ SANTIAGO, MARIA        ADDRESS ON FILE
DIAZ SANTIAGO, MARIA E      ADDRESS ON FILE
DIAZ SANTIAGO, MARIA E      ADDRESS ON FILE
DIAZ SANTIAGO, MARIA H      ADDRESS ON FILE
DIAZ SANTIAGO, MARIA M      ADDRESS ON FILE
DIAZ SANTIAGO, MARIBEL      ADDRESS ON FILE
DIAZ SANTIAGO, MARIELA      ADDRESS ON FILE
DIAZ SANTIAGO, MARISOL      ADDRESS ON FILE
Díaz Santiago, Mayra        ADDRESS ON FILE
DIAZ SANTIAGO, MIGDALIA     ADDRESS ON FILE
DIAZ SANTIAGO, MIGDALIA     ADDRESS ON FILE
Diaz Santiago, Miguel A.    ADDRESS ON FILE
DIAZ SANTIAGO, MILAGROS     ADDRESS ON FILE
DIAZ SANTIAGO, MYRNA        ADDRESS ON FILE
DIAZ SANTIAGO, NAYDA        ADDRESS ON FILE
DIAZ SANTIAGO, NORMA        ADDRESS ON FILE
DIAZ SANTIAGO, NORMA G      ADDRESS ON FILE
DIAZ SANTIAGO, NORMA I      ADDRESS ON FILE
DIAZ SANTIAGO, OMAR O.      ADDRESS ON FILE
DIAZ SANTIAGO, PEDRO        ADDRESS ON FILE
DIAZ SANTIAGO, RAMON        ADDRESS ON FILE
DIAZ SANTIAGO, RAMON L.     ADDRESS ON FILE
DIAZ SANTIAGO, REBECCA      ADDRESS ON FILE




                                                                        Page 2364 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2365 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ SANTIAGO, RICARDO      ADDRESS ON FILE
DIAZ SANTIAGO, ROSA         ADDRESS ON FILE
DIAZ SANTIAGO, ROSELINE     ADDRESS ON FILE
DIAZ SANTIAGO, ROSELINE     ADDRESS ON FILE
DIAZ SANTIAGO, SANDRALIS    ADDRESS ON FILE
DIAZ SANTIAGO, SARY         ADDRESS ON FILE
DIAZ SANTIAGO, SODIE        ADDRESS ON FILE
DIAZ SANTIAGO, SONIA D      ADDRESS ON FILE
DIAZ SANTIAGO, SONIA N      ADDRESS ON FILE
DIAZ SANTIAGO, SULYMAR      ADDRESS ON FILE
DIAZ SANTIAGO, VIRGINIA     ADDRESS ON FILE
DIAZ SANTIAGO, WALESKA      ADDRESS ON FILE
DIAZ SANTIAGO, WILMA E      ADDRESS ON FILE
DIAZ SANTIAGO, XAVIER       ADDRESS ON FILE
DIAZ SANTIAGO, YAMILET M    ADDRESS ON FILE
DIAZ SANTIAGO, YARITZA      ADDRESS ON FILE
DIAZ SANTIAGO, YARIZIE      ADDRESS ON FILE
DIAZ SANTIAGO,ELBA          ADDRESS ON FILE
DIAZ SANTIANGO, HECTOR      ADDRESS ON FILE
DIAZ SANTINI, ABBYLIZ       ADDRESS ON FILE
DIAZ SANTINI, CYNTHIA       ADDRESS ON FILE
DIAZ SANTINI, LOURDES       ADDRESS ON FILE
DIAZ SANTOS, ANA C.         ADDRESS ON FILE
Diaz Santos, Andres         ADDRESS ON FILE
DIAZ SANTOS, ANIBAL         ADDRESS ON FILE
DIAZ SANTOS, CAMILLE        ADDRESS ON FILE
DIAZ SANTOS, CARMEN M       ADDRESS ON FILE
DIAZ SANTOS, DELIA          ADDRESS ON FILE
DIAZ SANTOS, EDWIN          ADDRESS ON FILE
DIAZ SANTOS, EDWIN A        ADDRESS ON FILE
DIAZ SANTOS, EFRAIN L       ADDRESS ON FILE
DIAZ SANTOS, FRANCES D      ADDRESS ON FILE
DIAZ SANTOS, GONZALO        ADDRESS ON FILE
DIAZ SANTOS, HECTOR         ADDRESS ON FILE
DIAZ SANTOS, HECTOR F       ADDRESS ON FILE
Diaz Santos, Ismael         ADDRESS ON FILE
DIAZ SANTOS, JACINTO        ADDRESS ON FILE
DIAZ SANTOS, JOSE F         ADDRESS ON FILE
DIAZ SANTOS, JUDITH         ADDRESS ON FILE
DIAZ SANTOS, LINETTE        ADDRESS ON FILE
DIAZ SANTOS, LUIS O.        ADDRESS ON FILE
DIAZ SANTOS, LUZ M          ADDRESS ON FILE
DIAZ SANTOS, MARANGELY      ADDRESS ON FILE
DIAZ SANTOS, MARIA DE LOS   ADDRESS ON FILE
DIAZ SANTOS, MARIA Y        ADDRESS ON FILE
DIAZ SANTOS, MARIEL         ADDRESS ON FILE
DIAZ SANTOS, MARISOL        ADDRESS ON FILE
DIAZ SANTOS, MARISOL        ADDRESS ON FILE
DIAZ SANTOS, MIGDALIA       ADDRESS ON FILE
DIAZ SANTOS, MYRELIZ        ADDRESS ON FILE
DIAZ SANTOS, PEDRO          ADDRESS ON FILE
DIAZ SANTOS, RAUL           ADDRESS ON FILE
Diaz Santos, Raul           ADDRESS ON FILE
DIAZ SANTOS, RONALD A       ADDRESS ON FILE
DIAZ SANTOS, ROSAURA        ADDRESS ON FILE
DIAZ SANTOS, SANDRA         ADDRESS ON FILE
DIAZ SANTOS, SERGIO A.      ADDRESS ON FILE
DIAZ SANTOS, TERESA         ADDRESS ON FILE
DIAZ SANTOS, VIVIANNIE      ADDRESS ON FILE
DIAZ SANTOS, WANDA I        ADDRESS ON FILE




                                                                        Page 2365 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2366 of 3500
                                                                           17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name               Address1                         Address2                                   Address3              Address4            City         State   PostalCode   Country
DIAZ SANTOS, ZAIDA E        ADDRESS ON FILE
DIAZ SARRAGA, JOSE A        ADDRESS ON FILE
DIAZ SARRAGA, NATIVIDAD     ADDRESS ON FILE
DIAZ SASTRE, LEIRA I        ADDRESS ON FILE
DIAZ SAVINON, CLAUDINA      ADDRESS ON FILE
DIAZ SAVINON, ELENA         ADDRESS ON FILE
DIAZ SAVINON, LUCIA D       ADDRESS ON FILE
DIAZ SCHROEDER MD, ELSIE    ADDRESS ON FILE
DIAZ SEDA, ANTONIO          ADDRESS ON FILE
DIAZ SEGARRA, BLANCA A      ADDRESS ON FILE
DIAZ SEGARRA, CARLOS        ADDRESS ON FILE
DIAZ SEGARRA, JUAN CARLOS   ADDRESS ON FILE
DIAZ SEGUI, DANILYZ         ADDRESS ON FILE
DIAZ SEIJO, MIGUEL          LCDO. RICARDO PAVÍA CABANILLAS   PO BOX 9066612                                                                       SAN JUAN     PR      00906‐6612
DÍAZ SEIJO, MIGUEL          LCDO. RICARDO PAVÍA CABANILLAS   PO BOX 9066612                                                                       SAN JUAN     PR      00906‐6612
DIAZ SEIJO, MIGUEL A        ADDRESS ON FILE
DIAZ SEIJO, MIGUEL A.       LCDO. RICARDO PAVIA CABANILLAS   BUFETE ALDARONDO LOPEZ BRAS                ALB PLAZA CARR. 199   NUM. 16 SUITE 400   GUAYNABO     PR      00906
DIAZ SELLES MD, LUIS        ADDRESS ON FILE
DIAZ SEMIDEY, ANGEL L.      ADDRESS ON FILE
DIAZ SEMIDEY, WILLIAM M.    ADDRESS ON FILE
DIAZ SEOANE, HEIDY          ADDRESS ON FILE
DIAZ SEPULVEDA, ALBERT E.   ADDRESS ON FILE
DIAZ SEPULVEDA, ANAED       ADDRESS ON FILE
DIAZ SEPULVEDA, CARMEN      ADDRESS ON FILE
DIAZ SEPULVEDA, HARRY       ADDRESS ON FILE
DIAZ SEPULVEDA, HIRAM       ADDRESS ON FILE
DIAZ SEPULVEDA, LUZ Y       ADDRESS ON FILE
DIAZ SERPA, HECTOR          ADDRESS ON FILE
DIAZ SERRANO MD, ANGEL E    ADDRESS ON FILE
DIAZ SERRANO, AGAPITO       ADDRESS ON FILE
DIAZ SERRANO, ANGEL I       ADDRESS ON FILE
DIAZ SERRANO, CALIMARIE     ADDRESS ON FILE
DIAZ SERRANO, GEOVANNIE     ADDRESS ON FILE
DIAZ SERRANO, HERMINIO      ADDRESS ON FILE
Diaz Serrano, Idelson       ADDRESS ON FILE
DIAZ SERRANO, IDELSON       ADDRESS ON FILE
DIAZ SERRANO, ISAURA        ADDRESS ON FILE
DIAZ SERRANO, JAIME         ADDRESS ON FILE
DIAZ SERRANO, JONATHAN      ADDRESS ON FILE
Diaz Serrano, Jorge         ADDRESS ON FILE
DIAZ SERRANO, JORGE         ADDRESS ON FILE
DIAZ SERRANO, JOSE          ADDRESS ON FILE
DIAZ SERRANO, JOSE A.       ADDRESS ON FILE
DIAZ SERRANO, MARIA         ADDRESS ON FILE
Diaz Serrano, Norberto      ADDRESS ON FILE
DIAZ SERRANO, RAFAEL        ADDRESS ON FILE
DIAZ SERRANO, SONIA         ADDRESS ON FILE
DIAZ SERRANO, SUGEIL M      ADDRESS ON FILE
DIAZ SERRANO, SUGEIL M      ADDRESS ON FILE
DIAZ SERRANO, TERESITA      ADDRESS ON FILE
DIAZ SERRANO, VICTOR        ADDRESS ON FILE
DIAZ SERRANO, YOLANDA       ADDRESS ON FILE
DIAZ SERRANO, YOLANDA       ADDRESS ON FILE
Diaz Sevilla, Jonathan      ADDRESS ON FILE
DIAZ SEVILLA, JONATHAN      ADDRESS ON FILE
DIAZ SEVILLANO, CARMEN A    ADDRESS ON FILE
DIAZ SEVILLANO, MARIA       ADDRESS ON FILE
Diaz Sierra, Alberto        ADDRESS ON FILE
DIAZ SIERRA, ALEX           ADDRESS ON FILE
DIAZ SIERRA, ALEXIS         ADDRESS ON FILE




                                                                                       Page 2366 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2367 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ SIERRA, BELKIS          ADDRESS ON FILE
DIAZ SIERRA, DAMARIS         ADDRESS ON FILE
DIAZ SIERRA, DARIE MAR       ADDRESS ON FILE
DIAZ SIERRA, EDMEE           ADDRESS ON FILE
DIAZ SIERRA, EDNA            ADDRESS ON FILE
DIAZ SIERRA, ELIEZER         ADDRESS ON FILE
DIAZ SIERRA, ELIZABETH       ADDRESS ON FILE
DIAZ SIERRA, JAIME           ADDRESS ON FILE
DIAZ SIERRA, JERRY           ADDRESS ON FILE
DIAZ SIERRA, JIMMET          ADDRESS ON FILE
DIAZ SIERRA, LUIS            ADDRESS ON FILE
DIAZ SIERRA, LUIS J.         ADDRESS ON FILE
Diaz Sierra, Luis R.         ADDRESS ON FILE
DIAZ SIERRA, NELIDA I        ADDRESS ON FILE
DIAZ SIERRA, OSVALDO         ADDRESS ON FILE
DIAZ SIERRA, PEDRO E         ADDRESS ON FILE
DIAZ SIERRA, RUDY            ADDRESS ON FILE
DIAZ SIERRA, TOMAS           ADDRESS ON FILE
DIAZ SIERRA, YOMAIRA         ADDRESS ON FILE
DIAZ SIFONTE, FRANCISCA      ADDRESS ON FILE
DIAZ SIFONTE, JOSE A         ADDRESS ON FILE
DIAZ SIFONTE, RAFAEL         ADDRESS ON FILE
DIAZ SILVA, EDWIN            ADDRESS ON FILE
DIAZ SILVA, INGRID M.        ADDRESS ON FILE
DIAZ SILVA, MIGDALIA         ADDRESS ON FILE
DIAZ SIMMONS, BRETT          ADDRESS ON FILE
DIAZ SKERRETH, EDGARDO       ADDRESS ON FILE
DIAZ SMALL, DENISSE R        ADDRESS ON FILE
DIAZ SOBRINO, ILEANA         ADDRESS ON FILE
DIAZ SOBRINO, PURA C         ADDRESS ON FILE
DIAZ SOJO MD, OMAR           ADDRESS ON FILE
DIAZ SOLA, LAURA             ADDRESS ON FILE
DIAZ SOLA, LUIS              ADDRESS ON FILE
DIAZ SOLA, MELISSA           ADDRESS ON FILE
Diaz Sola, Migdalia I        ADDRESS ON FILE
DIAZ SOLANO, JOSE            ADDRESS ON FILE
DIAZ SOLANO, MIGUELINA       ADDRESS ON FILE
DIAZ SOLER VEGA, LUIS        ADDRESS ON FILE
DIAZ SOLER VEGA, NATALIA     ADDRESS ON FILE
DIAZ SOLER VEGA, NATALIA M   ADDRESS ON FILE
DIAZ SOLER, DOLORES          ADDRESS ON FILE
DIAZ SOLER, JEISMARYS        ADDRESS ON FILE
DIAZ SOLER, JUANA            ADDRESS ON FILE
DIAZ SOLER, LUIS M.          ADDRESS ON FILE
DIAZ SOLER, MANUEL           ADDRESS ON FILE
DIAZ SOLIS, KELVIN           ADDRESS ON FILE
Diaz Solis, Kelvin J         ADDRESS ON FILE
DIAZ SOLIS, MARIA D          ADDRESS ON FILE
DIAZ SOLIS, MYRIAM           ADDRESS ON FILE
Diaz Solis, Orlando          ADDRESS ON FILE
DIAZ SOLIS, RAFAEL           ADDRESS ON FILE
DIAZ SOLIVAN, MARIA          ADDRESS ON FILE
DIAZ SOLLA, JOSE             ADDRESS ON FILE
DIAZ SOLLA, SYLVIA G.        ADDRESS ON FILE
DIAZ SONERA, ALFREDO R.      ADDRESS ON FILE
DÍAZ SONIA, DÍAZ             ADDRESS ON FILE
DIAZ SOSA, ADA S             ADDRESS ON FILE
DIAZ SOSA, CARMEN            ADDRESS ON FILE
DIAZ SOSA, JOSEFINA          ADDRESS ON FILE
DIAZ SOSTRE, YADIRA          ADDRESS ON FILE




                                                                         Page 2367 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2368 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ SOSTRE, ZULEMA           ADDRESS ON FILE
DIAZ SOTO, ALBERTO            ADDRESS ON FILE
DIAZ SOTO, CARMEN Z.          ADDRESS ON FILE
DIAZ SOTO, DAPHNE J           ADDRESS ON FILE
DIAZ SOTO, DEBORAH            ADDRESS ON FILE
DIAZ SOTO, DIANA              ADDRESS ON FILE
DIAZ SOTO, DOMINGO            ADDRESS ON FILE
Diaz Soto, Edgardo J.         ADDRESS ON FILE
DIAZ SOTO, EDNA               ADDRESS ON FILE
DIAZ SOTO, ELBA R.            ADDRESS ON FILE
DIAZ SOTO, ELIAZAR            ADDRESS ON FILE
DIAZ SOTO, ENID               ADDRESS ON FILE
Diaz Soto, Francisco          ADDRESS ON FILE
DIAZ SOTO, ISAIAS             ADDRESS ON FILE
DIAZ SOTO, JOSE               ADDRESS ON FILE
DIAZ SOTO, JOSE M             ADDRESS ON FILE
DIAZ SOTO, LUIS A             ADDRESS ON FILE
Diaz Soto, Luis J.            ADDRESS ON FILE
DIAZ SOTO, LUIS R             ADDRESS ON FILE
DIAZ SOTO, LUZ M              ADDRESS ON FILE
DIAZ SOTO, MARIA A.           ADDRESS ON FILE
DIAZ SOTO, MARIA I            ADDRESS ON FILE
DIAZ SOTO, MAUREEN            ADDRESS ON FILE
DIAZ SOTO, MILAGROS           ADDRESS ON FILE
DIAZ SOTO, MILENY             ADDRESS ON FILE
DIAZ SOTO, MORAYMA I.         ADDRESS ON FILE
DIAZ SOTO, PEDRO LUIS         ADDRESS ON FILE
DIAZ SOTO, RICHARD            ADDRESS ON FILE
DIAZ SOTO, RODRIGO            ADDRESS ON FILE
DIAZ SOTO, ROLANDO            ADDRESS ON FILE
DIAZ SOTO, SANDRA             ADDRESS ON FILE
DIAZ SOTO, TERESITA           ADDRESS ON FILE
Diaz Soto, Wilfredo           ADDRESS ON FILE
DIAZ SOTO,PEDRO L             ADDRESS ON FILE
DIAZ SOTOMAYOR, CARLOS        ADDRESS ON FILE
Diaz Sotomayor, Marcos A      ADDRESS ON FILE
DIAZ SOULTAIRE, JUAN          ADDRESS ON FILE
DIAZ STEEL CONSTRUCTION INC   PO BOX 921                                                                       GUANICA      PR      00653‐0921
DIAZ SUAREZ, ANGEL            ADDRESS ON FILE
DIAZ SUAREZ, ANTHONY          ADDRESS ON FILE
DIAZ SUAREZ, AURORA           ADDRESS ON FILE
DIAZ SUAREZ, DIONISIO         ADDRESS ON FILE
DIAZ SUAREZ, ELENA            ADDRESS ON FILE
DIAZ SUAREZ, ESTEBAN          ADDRESS ON FILE
DIAZ SUAREZ, EVELYN           ADDRESS ON FILE
Diaz Suarez, Febe E           ADDRESS ON FILE
DIAZ SUAREZ, FRANCISCO        ADDRESS ON FILE
Diaz Suarez, Hector M         ADDRESS ON FILE
DIAZ SUAREZ, IRIS M           ADDRESS ON FILE
DIAZ SUAREZ, JAVIER           ADDRESS ON FILE
DIAZ SUAREZ, JOHNNY           ADDRESS ON FILE
DIAZ SUAREZ, JUAN A.          ADDRESS ON FILE
DIAZ SUAREZ, MILAGROS         ADDRESS ON FILE
DIAZ SUAREZ, PEDRO            ADDRESS ON FILE
DIAZ SUAREZ, RAFAEL E.        ADDRESS ON FILE
DIAZ SUAREZ, SONIA            ADDRESS ON FILE
DIAZ SULLIVAN, MIGDALIA       ADDRESS ON FILE
DIAZ SUNE, ESTHER             ADDRESS ON FILE
DIAZ SURILLO, EDGARDO         ADDRESS ON FILE
DIAZ SURILLO, EDGARDO         ADDRESS ON FILE




                                                                          Page 2368 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2369 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ SURILLO, JOHANNA      ADDRESS ON FILE
DIAZ TALAVERA, ESTHER M    ADDRESS ON FILE
DIAZ TAPIA, BARBARA        ADDRESS ON FILE
DIAZ TAPIA, BARBARA        ADDRESS ON FILE
DIAZ TAVAREZ, NAPOLES      ADDRESS ON FILE
DIAZ TEJADA, AWILDA I      ADDRESS ON FILE
DIAZ TEJERA, JOSE G.       ADDRESS ON FILE
DIAZ TELLADO, BRENDA L.    ADDRESS ON FILE
DIAZ TELLES, ANA M.        ADDRESS ON FILE
Diaz Telles, Antonio       ADDRESS ON FILE
DIAZ TELLES, ANTONIO       ADDRESS ON FILE
DIAZ THOMPSON, SALVADOR    ADDRESS ON FILE
DIAZ TINEO, LUIS F         ADDRESS ON FILE
DIAZ TIRADO, BEATRIZ       ADDRESS ON FILE
DIAZ TIRADO, JOEL          ADDRESS ON FILE
Diaz Tirado, Jose O.       ADDRESS ON FILE
DIAZ TIRADO, OMAR          ADDRESS ON FILE
DIAZ TIRADO, RAMON L       ADDRESS ON FILE
DIAZ TOLEDO, ANGEL         ADDRESS ON FILE
DIAZ TOLEDO, ERIC          ADDRESS ON FILE
DIAZ TOLEDO, MARIA M       ADDRESS ON FILE
DIAZ TOLEDO, MARIA M.      ADDRESS ON FILE
DIAZ TOLEDO, MIGUEL A      ADDRESS ON FILE
DIAZ TOLEDO, RUTH          ADDRESS ON FILE
DIAZ TOLEDO, YAMILET       ADDRESS ON FILE
DIAZ TOLENTINO, HECTOR     ADDRESS ON FILE
Diaz Tolentino, Jose R.    ADDRESS ON FILE
DIAZ TORO, DIANA           ADDRESS ON FILE
DIAZ TORO, JENNIFER M.     ADDRESS ON FILE
DIAZ TORO, KIRA            ADDRESS ON FILE
DIAZ TORRELLAS, OSCAR      ADDRESS ON FILE
DIAZ TORRES DALISSA        ADDRESS ON FILE
DIAZ TORRES MD, ERVIN      ADDRESS ON FILE
DIAZ TORRES MD, PORFIRIO   ADDRESS ON FILE
Diaz Torres, Aida I        ADDRESS ON FILE
Diaz Torres, Alba I        ADDRESS ON FILE
DIAZ TORRES, ALEJANDRO     ADDRESS ON FILE
DIAZ TORRES, ALFRED        ADDRESS ON FILE
DIAZ TORRES, AMARILIS      ADDRESS ON FILE
DIAZ TORRES, AMARILYS      ADDRESS ON FILE
DIAZ TORRES, AMNERIS       ADDRESS ON FILE
Diaz Torres, Andres        ADDRESS ON FILE
DIAZ TORRES, ANGEL L       ADDRESS ON FILE
DIAZ TORRES, ANGEL S       ADDRESS ON FILE
DIAZ TORRES, ANIBAL        ADDRESS ON FILE
DIAZ TORRES, ANYBELL       ADDRESS ON FILE
DIAZ TORRES, ARELIS        ADDRESS ON FILE
DIAZ TORRES, AUREA         ADDRESS ON FILE
Diaz Torres, Benjamin      ADDRESS ON FILE
DIAZ TORRES, BENJAMIN      ADDRESS ON FILE
DIAZ TORRES, CARLOS        ADDRESS ON FILE
DIAZ TORRES, CARLOS        ADDRESS ON FILE
DIAZ TORRES, CARLOS        ADDRESS ON FILE
DIAZ TORRES, CARLOS M.     ADDRESS ON FILE
DIAZ TORRES, CARMEN        ADDRESS ON FILE
DIAZ TORRES, CARMEN D      ADDRESS ON FILE
DIAZ TORRES, CARMEN J      ADDRESS ON FILE
DIAZ TORRES, CARMEN L      ADDRESS ON FILE
DIAZ TORRES, CARYSSEN      ADDRESS ON FILE
DIAZ TORRES, CESAR O.      ADDRESS ON FILE




                                                                       Page 2369 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2370 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ TORRES, CHARLENE         ADDRESS ON FILE
Diaz Torres, Christian        ADDRESS ON FILE
DIAZ TORRES, CHRISTIAN        ADDRESS ON FILE
DIAZ TORRES, DANIEL           ADDRESS ON FILE
DIAZ TORRES, DANIEL           ADDRESS ON FILE
DIAZ TORRES, DANYMARIS        ADDRESS ON FILE
DIAZ TORRES, DAVID            ADDRESS ON FILE
DIAZ TORRES, DEBORAH          ADDRESS ON FILE
DIAZ TORRES, DEMIBAN          ADDRESS ON FILE
DIAZ TORRES, DEVORA           ADDRESS ON FILE
DIAZ TORRES, DIALMA S.        ADDRESS ON FILE
DIAZ TORRES, DIANA            ADDRESS ON FILE
DIAZ TORRES, DIANA TERESITA   ADDRESS ON FILE
DIAZ TORRES, EDGARDO J.       ADDRESS ON FILE
DIAZ TORRES, EDWIN            ADDRESS ON FILE
DIAZ TORRES, EFRAIN           ADDRESS ON FILE
DIAZ TORRES, EMILY            ADDRESS ON FILE
DIAZ TORRES, ENID             ADDRESS ON FILE
DIAZ TORRES, ERIC             ADDRESS ON FILE
DIAZ TORRES, EVA              ADDRESS ON FILE
DIAZ TORRES, EVELYN           ADDRESS ON FILE
DIAZ TORRES, EVELYN           ADDRESS ON FILE
DIAZ TORRES, FELIX L.         ADDRESS ON FILE
Diaz Torres, Fernando         ADDRESS ON FILE
DIAZ TORRES, GABRIELA         ADDRESS ON FILE
DIAZ TORRES, GLORIA E         ADDRESS ON FILE
DIAZ TORRES, HECTOR M         ADDRESS ON FILE
Diaz Torres, Helvia A         ADDRESS ON FILE
DIAZ TORRES, HERIBERTO        ADDRESS ON FILE
DIAZ TORRES, HERIBERTO        ADDRESS ON FILE
DIAZ TORRES, HIRAM            ADDRESS ON FILE
DIAZ TORRES, ILDA             ADDRESS ON FILE
DIAZ TORRES, IRIS D           ADDRESS ON FILE
DIAZ TORRES, IRIS N           ADDRESS ON FILE
DIAZ TORRES, ISABEL           ADDRESS ON FILE
DIAZ TORRES, JANET            ADDRESS ON FILE
DIAZ TORRES, JASMIN A         ADDRESS ON FILE
DIAZ TORRES, JEAN             ADDRESS ON FILE
DIAZ TORRES, JEANNE           ADDRESS ON FILE
DIAZ TORRES, JENNIXA          ADDRESS ON FILE
DIAZ TORRES, JESUS            ADDRESS ON FILE
DIAZ TORRES, JOEL             ADDRESS ON FILE
DIAZ TORRES, JOHANNA          ADDRESS ON FILE
DIAZ TORRES, JORGE L          ADDRESS ON FILE
DIAZ TORRES, JOSE             ADDRESS ON FILE
DIAZ TORRES, JOSE             ADDRESS ON FILE
DIAZ TORRES, JOSE             ADDRESS ON FILE
DIAZ TORRES, JOSE JAVIER      ADDRESS ON FILE
DIAZ TORRES, JUAN             ADDRESS ON FILE
DIAZ TORRES, JUAN             ADDRESS ON FILE
DIAZ TORRES, JUAN             ADDRESS ON FILE
DIAZ TORRES, JUAN             ADDRESS ON FILE
DIAZ TORRES, JUAN             ADDRESS ON FILE
DIAZ TORRES, JUAN A           ADDRESS ON FILE
DIAZ TORRES, JUANITA          ADDRESS ON FILE
DIAZ TORRES, KARINA A         ADDRESS ON FILE
DIAZ TORRES, LESLIE           ADDRESS ON FILE
DIAZ TORRES, LLANET M         ADDRESS ON FILE
Díaz Torres, Llanet María     ADDRESS ON FILE
DIAZ TORRES, LUCECITA         ADDRESS ON FILE




                                                                          Page 2370 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2371 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                     Address1                        Address2                                     Address3       Address4   City         State   PostalCode   Country
DIAZ TORRES, LUIS                 ADDRESS ON FILE
DIAZ TORRES, LUIS                 ADDRESS ON FILE
DIAZ TORRES, LUIS A               ADDRESS ON FILE
DIAZ TORRES, LUIS E.              ADDRESS ON FILE
Diaz Torres, Luis G               ADDRESS ON FILE
DIAZ TORRES, LUIS H               ADDRESS ON FILE
Diaz Torres, Luis R               ADDRESS ON FILE
DIAZ TORRES, LUZ E.               ADDRESS ON FILE
DIAZ TORRES, LYSSETTE             ADDRESS ON FILE
DIAZ TORRES, MAGDA L              ADDRESS ON FILE
DIAZ TORRES, MAGGIE DEL SOCORRO   ADDRESS ON FILE
DIAZ TORRES, MARGARITA            ADDRESS ON FILE
DIAZ TORRES, MARIA                ADDRESS ON FILE
DIAZ TORRES, MARIA T              ADDRESS ON FILE
DIAZ TORRES, MARISOL              ADDRESS ON FILE
DIAZ TORRES, MARITZA              ADDRESS ON FILE
DIAZ TORRES, MAYRA                ADDRESS ON FILE
DIAZ TORRES, MIGUEL               ADDRESS ON FILE
Diaz Torres, Miguel A             ADDRESS ON FILE
Diaz Torres, Miguel A.            ADDRESS ON FILE
DIAZ TORRES, MILDRED              ADDRESS ON FILE
DIAZ TORRES, MINERVA              ADDRESS ON FILE
DIAZ TORRES, MIRIAM               ADDRESS ON FILE
DIAZ TORRES, MYRNA                L CDA. GENOVEVA VALENTIN SOTO   SERVIDORES PÚBLICOS UNIDOS DE                PO BOX 13695              SAN JUAN     PR      00908‐3695
DIAZ TORRES, MYRNA                ADDRESS ON FILE
DIAZ TORRES, MYRNA                ADDRESS ON FILE
DIAZ TORRES, MYRNA A.             ADDRESS ON FILE
DIAZ TORRES, MYRNA M.             ADDRESS ON FILE
DIAZ TORRES, NANCY                ADDRESS ON FILE
DIAZ TORRES, NORBELTO D.          ADDRESS ON FILE
DIAZ TORRES, OLGA M               ADDRESS ON FILE
DIAZ TORRES, OSVALDO              ADDRESS ON FILE
DIAZ TORRES, PEDRO                ADDRESS ON FILE
DIAZ TORRES, PEDRO                ADDRESS ON FILE
DIAZ TORRES, PEDRO A              ADDRESS ON FILE
DIAZ TORRES, RAFAEL               ADDRESS ON FILE
DIAZ TORRES, RAMON                ADDRESS ON FILE
DIAZ TORRES, REBECA               ADDRESS ON FILE
DIAZ TORRES, REYNALDO             ADDRESS ON FILE
DIAZ TORRES, RIGOBERTO            ADDRESS ON FILE
DIAZ TORRES, ROSA                 ADDRESS ON FILE
DIAZ TORRES, ROSALIE              ADDRESS ON FILE
DIAZ TORRES, SAMARA               ADDRESS ON FILE
DIAZ TORRES, SAMUEL               ADDRESS ON FILE
DIAZ TORRES, SILVIA M             ADDRESS ON FILE
DIAZ TORRES, SONIA A              ADDRESS ON FILE
Diaz Torres, Sonia M              ADDRESS ON FILE
DIAZ TORRES, VANESSA              ADDRESS ON FILE
DIAZ TORRES, VERONICA             ADDRESS ON FILE
DIAZ TORRES, VERONICA             ADDRESS ON FILE
DIAZ TORRES, VERONICA             ADDRESS ON FILE
DIAZ TORRES, VERONICA             ADDRESS ON FILE
DIAZ TORRES, VICTOR               ADDRESS ON FILE
DIAZ TORRES, VICTOR               ADDRESS ON FILE
Diaz Torres, Victor M             ADDRESS ON FILE
DIAZ TORRES, VILMA Y              ADDRESS ON FILE
DIAZ TORRES, WANDA                ADDRESS ON FILE
DIAZ TORRES, WILFRED              ADDRESS ON FILE
DIAZ TORRES, WILLIAM              ADDRESS ON FILE
DIAZ TORRES, XIOMARA              ADDRESS ON FILE




                                                                                             Page 2371 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2372 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ TORRES, YAMILE         ADDRESS ON FILE
Diaz Torres, Yandry L.      ADDRESS ON FILE
DIAZ TORRES, YANELLY        ADDRESS ON FILE
DIAZ TORRES, YASHIRA        ADDRESS ON FILE
DIAZ TORRES, YAZMIN C       ADDRESS ON FILE
Diaz Torres, Zaida          ADDRESS ON FILE
DIAZ TORRES, ZULMA          ADDRESS ON FILE
DIAZ TORRUELLAS, LORIZ      ADDRESS ON FILE
Diaz Tosado, Lester         ADDRESS ON FILE
DIAZ TOYENS,YAHAIRA         ADDRESS ON FILE
DIAZ TRAVIESO, JOSE A.      ADDRESS ON FILE
DIAZ TRICOCHE, ALEXIS       ADDRESS ON FILE
DIAZ TRINIDAD, NILDA        ADDRESS ON FILE
DIAZ TROCHE MD, JUAN        ADDRESS ON FILE
DIAZ TRONCOSO, JANET        ADDRESS ON FILE
DIAZ TRUJILLO, REINALDO     ADDRESS ON FILE
DIAZ TRUJILLO, YELITZA      ADDRESS ON FILE
DIAZ TURBIZ, MARITZA        ADDRESS ON FILE
DIAZ TUYA, KEILA            ADDRESS ON FILE
DIAZ UBILES, WILFREDO       ADDRESS ON FILE
DIAZ UGARTE, ADA            ADDRESS ON FILE
DIAZ UMPIERRE, IRIS         ADDRESS ON FILE
DIAZ UMPIERRE, IVAN         ADDRESS ON FILE
DIAZ URBINA, GLORIA         ADDRESS ON FILE
DIAZ URBINA, LEONIDES       ADDRESS ON FILE
DIAZ URIBE, ANNETTE         ADDRESS ON FILE
DIAZ URRUTIA, HAROLD        ADDRESS ON FILE
DIAZ URRUTIA, MURIEL        ADDRESS ON FILE
DIAZ VADI, ARACELIS         ADDRESS ON FILE
DIAZ VALCARCEL, LOURDES     ADDRESS ON FILE
DIAZ VALCARCEL, LOURDES     ADDRESS ON FILE
DIAZ VALCARCEL, LOURDES     ADDRESS ON FILE
DIAZ VALCARCEL, LUCY        ADDRESS ON FILE
DIAZ VALCARCEL, MARIE J     ADDRESS ON FILE
DIAZ VALCARCEL, YARA M.     ADDRESS ON FILE
DIAZ VALDES, EVELYN         ADDRESS ON FILE
DIAZ VALDES, JOSE R         ADDRESS ON FILE
DIAZ VALDES, JULIO A.       ADDRESS ON FILE
DIAZ VALDES, OSCAR          ADDRESS ON FILE
DIAZ VALDEZ, JORGE          ADDRESS ON FILE
DIAZ VALEDON, DAYANA        ADDRESS ON FILE
DIAZ VALENTIN, ANNETTE      ADDRESS ON FILE
DIAZ VALENTIN, EDGARDO      ADDRESS ON FILE
DIAZ VALENTIN, HECTOR       ADDRESS ON FILE
DIAZ VALENTIN, JAVIER       ADDRESS ON FILE
DIAZ VALENTIN, JULIO        ADDRESS ON FILE
Diaz Valentin, Michael D.   ADDRESS ON FILE
DIAZ VALENTIN, NOEMI        ADDRESS ON FILE
DIAZ VALENTIN, RICARDO      ADDRESS ON FILE
DIAZ VALENTIN, ROBERT       ADDRESS ON FILE
DIAZ VALENTIN, SILMA L.     ADDRESS ON FILE
DIAZ VALERO MD, EDDY L      ADDRESS ON FILE
DIAZ VALLE MD, MARIA J      ADDRESS ON FILE
DIAZ VALLE, MARIA J         ADDRESS ON FILE
DIAZ VALLES, MIGUEL A       ADDRESS ON FILE
DIAZ VANGA, ANGEL D         ADDRESS ON FILE
DIAZ VANGA, HECTOR R        ADDRESS ON FILE
DIAZ VANGA, SYLVETTE C      ADDRESS ON FILE
DIAZ VARELA, JANNETTE       ADDRESS ON FILE
DIAZ VARGAS, CARLOS         ADDRESS ON FILE




                                                                        Page 2372 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2373 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Diaz Vargas, Damaris       ADDRESS ON FILE
DIAZ VARGAS, FERNANDO      ADDRESS ON FILE
DIAZ VARGAS, GLORIA I      ADDRESS ON FILE
DIAZ VARGAS, GLORIMAR      ADDRESS ON FILE
DIAZ VARGAS, IRIS M        ADDRESS ON FILE
DIAZ VARGAS, LUIS A        ADDRESS ON FILE
DIAZ VARGAS, MARISOL       ADDRESS ON FILE
Diaz Vargas, Nelson        ADDRESS ON FILE
DIAZ VARGAS, TULIO         ADDRESS ON FILE
Diaz Vargas, Virginia      ADDRESS ON FILE
Diaz Vargas, Wigberto C    ADDRESS ON FILE
Diaz Vargas, Wilfredo      ADDRESS ON FILE
DIAZ VASCONCELLOS, FRANK   ADDRESS ON FILE
DIAZ VAZQUEZ MD, RUBEN     ADDRESS ON FILE
DIAZ VAZQUEZ, ANA          ADDRESS ON FILE
DIAZ VAZQUEZ, ANGEL        ADDRESS ON FILE
DIAZ VAZQUEZ, ANGEL L      ADDRESS ON FILE
DIAZ VAZQUEZ, ANGEL M.     ADDRESS ON FILE
Diaz Vazquez, Armando      ADDRESS ON FILE
DIAZ VAZQUEZ, CARMELO      ADDRESS ON FILE
DIAZ VAZQUEZ, CARMEN I     ADDRESS ON FILE
DIAZ VAZQUEZ, CAROL        ADDRESS ON FILE
DIAZ VAZQUEZ, CEFERINO     ADDRESS ON FILE
DIAZ VAZQUEZ, CEFERINO     ADDRESS ON FILE
DIAZ VAZQUEZ, CID M.       ADDRESS ON FILE
DIAZ VAZQUEZ, CLARILUZ     ADDRESS ON FILE
DIAZ VAZQUEZ, DAPHNE E.    ADDRESS ON FILE
DIAZ VAZQUEZ, DAVID M.     ADDRESS ON FILE
DIAZ VAZQUEZ, DENISSE      ADDRESS ON FILE
DIAZ VAZQUEZ, DORIS        ADDRESS ON FILE
DIAZ VAZQUEZ, EDEL         ADDRESS ON FILE
DIAZ VAZQUEZ, ELBA I       ADDRESS ON FILE
DIAZ VAZQUEZ, ELISA        ADDRESS ON FILE
DIAZ VAZQUEZ, ELIZABETH    ADDRESS ON FILE
DIAZ VAZQUEZ, ELIZABETH    ADDRESS ON FILE
DIAZ VAZQUEZ, EMMANUEL     ADDRESS ON FILE
DIAZ VAZQUEZ, EVELYN       ADDRESS ON FILE
DIAZ VAZQUEZ, FELICITA     ADDRESS ON FILE
DIAZ VAZQUEZ, FELIPE       ADDRESS ON FILE
DIAZ VAZQUEZ, FELIX        ADDRESS ON FILE
DIAZ VAZQUEZ, FRANCISCA    ADDRESS ON FILE
DIAZ VAZQUEZ, IDA L.       ADDRESS ON FILE
DIAZ VAZQUEZ, ISMAEL       ADDRESS ON FILE
DIAZ VAZQUEZ, ISMAEL       ADDRESS ON FILE
DIAZ VAZQUEZ, JAILEEN      ADDRESS ON FILE
DIAZ VAZQUEZ, JANICE M     ADDRESS ON FILE
DIAZ VAZQUEZ, JESSICA      ADDRESS ON FILE
DIAZ VAZQUEZ, JOAQUIN      ADDRESS ON FILE
DIAZ VAZQUEZ, JOSE         ADDRESS ON FILE
DIAZ VAZQUEZ, JOSE         ADDRESS ON FILE
DIAZ VAZQUEZ, JOSE A       ADDRESS ON FILE
DIAZ VAZQUEZ, JOSE A       ADDRESS ON FILE
DIAZ VAZQUEZ, JOSE H       ADDRESS ON FILE
Diaz Vazquez, Jose M       ADDRESS ON FILE
DIAZ VAZQUEZ, JULIO        ADDRESS ON FILE
DIAZ VAZQUEZ, KIMLEE       ADDRESS ON FILE
DIAZ VAZQUEZ, LIBRADA      ADDRESS ON FILE
DIAZ VAZQUEZ, LISETTE      ADDRESS ON FILE
DIAZ VAZQUEZ, LIZNERI      ADDRESS ON FILE
DIAZ VAZQUEZ, LUIS         ADDRESS ON FILE




                                                                       Page 2373 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2374 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ VAZQUEZ, LYDIA E            ADDRESS ON FILE
DIAZ VAZQUEZ, MARIA              ADDRESS ON FILE
DIAZ VAZQUEZ, MARIA DE LOS       ADDRESS ON FILE
DIAZ VAZQUEZ, MARIA DE LOS A     ADDRESS ON FILE
DIAZ VAZQUEZ, MARIA DEL CARMEN   ADDRESS ON FILE
DIAZ VAZQUEZ, MARIA T            ADDRESS ON FILE
DIAZ VAZQUEZ, MILDRED            ADDRESS ON FILE
DIAZ VAZQUEZ, MODESTO            ADDRESS ON FILE
DIAZ VAZQUEZ, NOEMI              ADDRESS ON FILE
DIAZ VAZQUEZ, PEDRO              ADDRESS ON FILE
DIAZ VAZQUEZ, PEDRO J            ADDRESS ON FILE
DIAZ VAZQUEZ, RAFAEL O           ADDRESS ON FILE
DIAZ VAZQUEZ, RAFAEL R.          ADDRESS ON FILE
DIAZ VAZQUEZ, REGINA             ADDRESS ON FILE
DIAZ VAZQUEZ, RICHARD J          ADDRESS ON FILE
DIAZ VAZQUEZ, ROSA H             ADDRESS ON FILE
DIAZ VAZQUEZ, ROSA M             ADDRESS ON FILE
DIAZ VAZQUEZ, ROSELYN            ADDRESS ON FILE
Diaz Vazquez, Surhail            ADDRESS ON FILE
DIAZ VAZQUEZ, VICTOR             ADDRESS ON FILE
DIAZ VAZQUEZ, VICTOR             ADDRESS ON FILE
DIAZ VAZQUEZ, VIVIAN E           ADDRESS ON FILE
DIAZ VAZQUEZ, WALTER E.          ADDRESS ON FILE
DIAZ VAZQUEZ, WILFREDO           ADDRESS ON FILE
DIAZ VAZQUEZ, WILMA              ADDRESS ON FILE
DIAZ VAZQUEZ, XAIMARA            ADDRESS ON FILE
DIAZ VAZQUEZ, YAHAIRA            ADDRESS ON FILE
DIAZ VAZQUEZ, YVIA               ADDRESS ON FILE
Diaz Vazquez, Yvia M             ADDRESS ON FILE
DIAZ VEGA, ADIE                  ADDRESS ON FILE
DIAZ VEGA, ADIE M                ADDRESS ON FILE
DIAZ VEGA, AIDA                  ADDRESS ON FILE
DIAZ VEGA, AIDA I.               ADDRESS ON FILE
DIAZ VEGA, ALBA                  ADDRESS ON FILE
DIAZ VEGA, AMELIA                ADDRESS ON FILE
DIAZ VEGA, CARMEN S              ADDRESS ON FILE
DIAZ VEGA, DANIEL                ADDRESS ON FILE
DIAZ VEGA, DANIEL                ADDRESS ON FILE
Diaz Vega, Elena                 ADDRESS ON FILE
DIAZ VEGA, ELIUT                 ADDRESS ON FILE
DIAZ VEGA, FRANCO                ADDRESS ON FILE
Diaz Vega, Gerson                ADDRESS ON FILE
DIAZ VEGA, INOCENCIA             ADDRESS ON FILE
DIAZ VEGA, IRIS M                ADDRESS ON FILE
DIAZ VEGA, JANILLE               ADDRESS ON FILE
DIAZ VEGA, JEREMIAH              ADDRESS ON FILE
DIAZ VEGA, JESSICA               ADDRESS ON FILE
DIAZ VEGA, JOSE                  ADDRESS ON FILE
DIAZ VEGA, JOSE                  ADDRESS ON FILE
Diaz Vega, Jose D                ADDRESS ON FILE
DIAZ VEGA, JUAN                  ADDRESS ON FILE
DIAZ VEGA, LIBRADO               ADDRESS ON FILE
DIAZ VEGA, LIBRADO               ADDRESS ON FILE
Diaz Vega, Luis                  ADDRESS ON FILE
DIAZ VEGA, LUIS                  ADDRESS ON FILE
DIAZ VEGA, MARIA                 ADDRESS ON FILE
DIAZ VEGA, MARIA DE LOS          ADDRESS ON FILE
DIAZ VEGA, MARIA T.              ADDRESS ON FILE
DIAZ VEGA, MARTA L               ADDRESS ON FILE
Diaz Vega, Miguel A              ADDRESS ON FILE




                                                                             Page 2374 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2375 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ VEGA, OSCAR             ADDRESS ON FILE
DIAZ VEGA, RAMON             ADDRESS ON FILE
DIAZ VEGA, ROSA              ADDRESS ON FILE
DIAZ VEGA, SARA              ADDRESS ON FILE
DIAZ VEGA, VANESSA           ADDRESS ON FILE
DIAZ VEGA, YOLANDA           ADDRESS ON FILE
DIAZ VEGA,ROSA MARIEL        ADDRESS ON FILE
DIAZ VELASCO, ANA CRISTINA   ADDRESS ON FILE
DIAZ VELAZQUEZ, ADELAIDA     ADDRESS ON FILE
DIAZ VELAZQUEZ, BERNARDA     ADDRESS ON FILE
DIAZ VELAZQUEZ, CARMEN       ADDRESS ON FILE
DIAZ VELAZQUEZ, CARMEN M     ADDRESS ON FILE
DIAZ VELAZQUEZ, DAVID        ADDRESS ON FILE
DIAZ VELAZQUEZ, DEBORAH      ADDRESS ON FILE
DIAZ VELAZQUEZ, EDWIN        ADDRESS ON FILE
DIAZ VELAZQUEZ, ELMO         ADDRESS ON FILE
DIAZ VELAZQUEZ, ENRIQUE      ADDRESS ON FILE
DIAZ VELAZQUEZ, ERNESTO L.   ADDRESS ON FILE
DIAZ VELAZQUEZ, ERVIN        ADDRESS ON FILE
DIAZ VELAZQUEZ, ERVIN        ADDRESS ON FILE
DIAZ VELAZQUEZ, GRISELIS     ADDRESS ON FILE
DIAZ VELAZQUEZ, ISRAEL       ADDRESS ON FILE
DIAZ VELAZQUEZ, JANET        ADDRESS ON FILE
DIAZ VELAZQUEZ, JANSSEE      ADDRESS ON FILE
DIAZ VELAZQUEZ, JANSSEE      ADDRESS ON FILE
DIAZ VELAZQUEZ, JOSE         ADDRESS ON FILE
DIAZ VELAZQUEZ, JOSE A       ADDRESS ON FILE
DIAZ VELAZQUEZ, JOSE LUIS    ADDRESS ON FILE
DIAZ VELAZQUEZ, JOSE LUIS    ADDRESS ON FILE
Diaz Velazquez, Jose M       ADDRESS ON FILE
DIAZ VELAZQUEZ, LOURDES M.   ADDRESS ON FILE
DIAZ VELAZQUEZ, LUIS         ADDRESS ON FILE
DIAZ VELAZQUEZ, LUIS M.      ADDRESS ON FILE
DIAZ VELAZQUEZ, MABEL        ADDRESS ON FILE
DIAZ VELAZQUEZ, MAGDA IRIS   ADDRESS ON FILE
DIAZ VELAZQUEZ, MARIA C      ADDRESS ON FILE
DIAZ VELAZQUEZ, MARIA E      ADDRESS ON FILE
DIAZ VELAZQUEZ, MARIA L      ADDRESS ON FILE
DIAZ VELAZQUEZ, MILAGROS D   ADDRESS ON FILE
DIAZ VELAZQUEZ, SAMUEL       ADDRESS ON FILE
DIAZ VELAZQUEZ, YOSELIN      ADDRESS ON FILE
DIAZ VELEZ MD, CARLOS        ADDRESS ON FILE
DIAZ VELEZ, ADLIN            ADDRESS ON FILE
DIAZ VELEZ, ALBA             ADDRESS ON FILE
DIAZ VELEZ, ANGELA           ADDRESS ON FILE
DIAZ VELEZ, CARLOS RUBEN     ADDRESS ON FILE
DIAZ VELEZ, CLAUDIA          ADDRESS ON FILE
DIAZ VELEZ, CONCEPCION       ADDRESS ON FILE
DIAZ VELEZ, ELOISA           ADDRESS ON FILE
DIAZ VELEZ, ENIXSA           ADDRESS ON FILE
DIAZ VELEZ, GABRIEL          ADDRESS ON FILE
DIAZ VELEZ, JESUS            ADDRESS ON FILE
DIAZ VELEZ, KATILIANY        ADDRESS ON FILE
DIAZ VELEZ, MARITZA          ADDRESS ON FILE
DIAZ VELEZ, MARTHA           ADDRESS ON FILE
DIAZ VELEZ, MIGUEL           ADDRESS ON FILE
DIAZ VELEZ, NILSA J.         ADDRESS ON FILE
DIAZ VELEZ, PEDRO            ADDRESS ON FILE
DIAZ VELEZ, RUBEN            ADDRESS ON FILE
DIAZ VELEZ, SONIA            ADDRESS ON FILE




                                                                         Page 2375 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2376 of 3500
                                                                              17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                  Address1                  Address2                                      Address3   Address4   City        State   PostalCode   Country
DIAZ VELEZ, WILLIE E           ADDRESS ON FILE
DIAZ VELEZ,CARLOS J.           ADDRESS ON FILE
DIAZ VERA, BRENDA              ADDRESS ON FILE
DIAZ VIALIZ, SABRINA           ADDRESS ON FILE
DIAZ VIALIZ, ZULEIKA           ADDRESS ON FILE
DIAZ VICENTE, EZEQUIEL         EZEQUIELDIAZ VICENTE      INST 501 SEC 1‐C PO BOX 607073                                      BAYAMON     PR      00960
DIAZ VICENTE, JAIME            ADDRESS ON FILE
DIAZ VICENTY, LORNA            ADDRESS ON FILE
DIAZ VIDAL MD, YVIA            ADDRESS ON FILE
DIAZ VIDAL, AMARYLIS           ADDRESS ON FILE
DIAZ VIDAL, ELAINE             ADDRESS ON FILE
DIAZ VIDOT, FREDDY O           ADDRESS ON FILE
DIAZ VIDOT, JAVIER ALEXIS      ADDRESS ON FILE
DIAZ VIERA, ALICIA             ADDRESS ON FILE
DIAZ VIERA, FELICITA           ADDRESS ON FILE
DIAZ VIERA, FRANCISCO          ADDRESS ON FILE
DIAZ VIERA, IRIS Z             ADDRESS ON FILE
DIAZ VIERA, LUIS               ADDRESS ON FILE
DIAZ VIERA, MIRIAM             ADDRESS ON FILE
DIAZ VIERA, MYRIAM             ADDRESS ON FILE
DIAZ VIERA, RAMON              ADDRESS ON FILE
DIAZ VILA, GLORIA              ADDRESS ON FILE
DIAZ VILA, SAMUEL              ADDRESS ON FILE
DIAZ VILLAFANE, LIZA Y         ADDRESS ON FILE
DIAZ VILLAFANE, SUZAN          ADDRESS ON FILE
DIAZ VILLAFANE, WALESKA        ADDRESS ON FILE
DIAZ VILLALOBOS, EDA M.        ADDRESS ON FILE
DIAZ VILLALOBOS, ORLANDO       ADDRESS ON FILE
DIAZ VILLALONGO, BASILIO       ADDRESS ON FILE
DIAZ VILLALONGO, JAZMIN        ADDRESS ON FILE
DIAZ VILLALONGO, SHEELA N      ADDRESS ON FILE
DIAZ VILLANUEVA, ALFREDO       ADDRESS ON FILE
DIAZ VILLANUEVA, ALFREDO       ADDRESS ON FILE
DIAZ VILLANUEVA, ANA L         ADDRESS ON FILE
DIAZ VILLANUEVA, BEATRIZ       ADDRESS ON FILE
Diaz Villanueva, Candido       ADDRESS ON FILE
DIAZ VILLANUEVA, CARMEN        ADDRESS ON FILE
DIAZ VILLANUEVA, CARMEN M      ADDRESS ON FILE
DIAZ VILLANUEVA, CARMEN M      ADDRESS ON FILE
Diaz Villanueva, Eusebio       ADDRESS ON FILE
DIAZ VILLANUEVA, JAVIER        ADDRESS ON FILE
DIAZ VILLANUEVA, MARIA DEL C   ADDRESS ON FILE
Diaz Villanueva, Roque         ADDRESS ON FILE
DIAZ VILLANUEVA, SANDRA E      ADDRESS ON FILE
DIAZ VILLARREAL, RIGOBERTO     ADDRESS ON FILE
DIAZ VILLEGA, ALVIN            ADDRESS ON FILE
DIAZ VILLEGAS, ALBA N          ADDRESS ON FILE
DIAZ VILLEGAS, CARLOS M.       ADDRESS ON FILE
DIAZ VILLEGAS, CARMEN L        ADDRESS ON FILE
DIAZ VILLEGAS, IVELISSE        ADDRESS ON FILE
Diaz Villegas, Rafael          ADDRESS ON FILE
Diaz Villegas, Virginia        ADDRESS ON FILE
DIAZ VILLEGAS, YARITZA         ADDRESS ON FILE
DIAZ VINAS, MARIA I.           ADDRESS ON FILE
DIAZ VIRELLA, OBIS             ADDRESS ON FILE
Diaz Virella, Obis A.          ADDRESS ON FILE
DIAZ VIRUET, LUIS              ADDRESS ON FILE
DIAZ VIVAS, ELIZABETH          ADDRESS ON FILE
DIAZ VIVES, RONALD             ADDRESS ON FILE
DIAZ VIZCAINO, GERMANIA        ADDRESS ON FILE




                                                                                      Page 2376 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2377 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIAZ VIZCARRONDO, EFRAIN   ADDRESS ON FILE
DIAZ VIZCAYA, FELIX        ADDRESS ON FILE
DIAZ WALKER, ALICE         ADDRESS ON FILE
Diaz Walker, Felipe        ADDRESS ON FILE
Diaz Zabala, Nelly M       ADDRESS ON FILE
DIAZ ZABALA, NELLY M       ADDRESS ON FILE
DIAZ ZABALETA, GLORIA      ADDRESS ON FILE
DIAZ ZABALETA, JORGE       ADDRESS ON FILE
DIAZ ZALDUONDO, DIEGO G    ADDRESS ON FILE
DIAZ ZALDUONDO, EMILIO     ADDRESS ON FILE
DIAZ ZALDUONDO, STEVEN     ADDRESS ON FILE
DIAZ ZAMBRANA, ZULEYKA     ADDRESS ON FILE
DIAZ ZAPATA, ELIZABETH     ADDRESS ON FILE
DIAZ ZAPATA, REBECA A      ADDRESS ON FILE
DIAZ ZARABOZO, ZAID        ADDRESS ON FILE
DIAZ ZAVALA, WALESKA       ADDRESS ON FILE
DIAZ ZAYAS, CARMEN E       ADDRESS ON FILE
Diaz Zayas, David          ADDRESS ON FILE
DIAZ ZAYAS, DORIS I        ADDRESS ON FILE
DIAZ ZAYAS, FRANCISCO      ADDRESS ON FILE
DIAZ ZAYAS, INES           ADDRESS ON FILE
DIAZ ZAYAS, ISABEL         ADDRESS ON FILE
DIAZ ZAYAS, JESUS          ADDRESS ON FILE
DIAZ ZAYAS, JOSE F         ADDRESS ON FILE
DIAZ ZAYAS, JUAN           ADDRESS ON FILE
Diaz Zayas, Luis A         ADDRESS ON FILE
DIAZ ZAYAS, MARIA R        ADDRESS ON FILE
DIAZ ZAYAS, YANIRA A       ADDRESS ON FILE
DIAZ, ADRIAN               ADDRESS ON FILE
DIAZ, ALEXANDRA            ADDRESS ON FILE
DIAZ, ALICIA               ADDRESS ON FILE
DIAZ, ANTHONY JR           ADDRESS ON FILE
DIAZ, ARMANDA              ADDRESS ON FILE
DIAZ, BRENDA               ADDRESS ON FILE
DIAZ, CARMEN               ADDRESS ON FILE
DIAZ, CARMEN L             ADDRESS ON FILE
DIAZ, CARMEN M             ADDRESS ON FILE
DIAZ, CHRISTIAN            ADDRESS ON FILE
DIAZ, DARLENE              ADDRESS ON FILE
DIAZ, DAVID                ADDRESS ON FILE
DIAZ, DAVID I              ADDRESS ON FILE
DIAZ, DIEGO                ADDRESS ON FILE
DIAZ, EDILBERTO            ADDRESS ON FILE
DIAZ, EDWIN                ADDRESS ON FILE
DIAZ, FRANKLIN             ADDRESS ON FILE
DIAZ, GABRIEL              ADDRESS ON FILE
DIAZ, GERARDO              ADDRESS ON FILE
DIAZ, GREETCHEN            ADDRESS ON FILE
DIAZ, HARVEY               ADDRESS ON FILE
DIAZ, HECTOR               ADDRESS ON FILE
DIAZ, JACKELINE            ADDRESS ON FILE
DIAZ, JORGE                ADDRESS ON FILE
DIAZ, KEVIN                ADDRESS ON FILE
DIAZ, LIZETT               ADDRESS ON FILE
DIAZ, LUIS                 ADDRESS ON FILE
DIAZ, LYDIA E.             ADDRESS ON FILE
DIAZ, MAGALY               ADDRESS ON FILE
DIAZ, MARIA LUISA          ADDRESS ON FILE
DIAZ, MARIA T              ADDRESS ON FILE
DIAZ, MILAGROS             ADDRESS ON FILE




                                                                       Page 2377 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2378 of 3500
                                                                               17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                   Address1                  Address2                                  Address3   Address4   City              State   PostalCode   Country
DIAZ, MIRNA                     ADDRESS ON FILE
DIAZ, NAYRA A.                  ADDRESS ON FILE
DIAZ, NEISHA                    ADDRESS ON FILE
DIAZ, NORMA I                   ADDRESS ON FILE
DIAZ, PEDRO J                   ADDRESS ON FILE
DIAZ, PORFIRIO                  ADDRESS ON FILE
DIAZ, RAFAEL                    ADDRESS ON FILE
Diaz, Rolando A                 ADDRESS ON FILE
DIAZ, SAYMARA                   ADDRESS ON FILE
DIAZ, TIFFANY F.                ADDRESS ON FILE
DIAZ, TOMAS                     ADDRESS ON FILE
DIAZ, YSIDRO                    ADDRESS ON FILE
DIAZ,ANA                        ADDRESS ON FILE
DIAZ,PEDRO                      ADDRESS ON FILE
DIAZ,RAMON                      ADDRESS ON FILE
DIAZBAEZ, NELSON                ADDRESS ON FILE
DIAZBARRETO, LUIS MANUEL        ADDRESS ON FILE
DIAZBELLIARD, JUAN E            ADDRESS ON FILE
DIAZBRUSELA, ALICIA             ADDRESS ON FILE
DIAZCASTILLO, JUAN F            ADDRESS ON FILE
DIAZCASTRO, GILBERTO            ADDRESS ON FILE
Díaz‐David, Cruz                ADDRESS ON FILE
DIAZDE JESUS, PEDRO E.          ADDRESS ON FILE
DIAZDENNIS, ALEJANDRO           ADDRESS ON FILE
DIAZESPINOSA, EMILIA A          ADDRESS ON FILE
DIAZFEBRES, HORTENCIA           ADDRESS ON FILE
DIAZGOMEZ, ELLIOT               ADDRESS ON FILE
DIAZGRANADOS JIMENEZ, JORGE A   ADDRESS ON FILE
Díaz‐Laboy, Fioldaliza          ADDRESS ON FILE
DIAZLOPEZ, JUAN                 ADDRESS ON FILE
DIAZMONGE, JOSE R               ADDRESS ON FILE
DIAZNAZARIO, FIDEL E            ADDRESS ON FILE
DIAZNVERGARA ROQUE, MARIA I     ADDRESS ON FILE
DIAZOJEDA, JESUS                ADDRESS ON FILE
DIAZPEREZ, ELIZABETH            ADDRESS ON FILE
DIAZRAMOS, ANACELIS             ADDRESS ON FILE
DIAZRAMOS, RAMON                ADDRESS ON FILE
DIAZVARGAS, INDALICIA           ADDRESS ON FILE
DIAZVELEZ, FLAVIO               ADDRESS ON FILE
DIBLAIN IRIZARRY TEXIDOR        PO BOX 1061                                                                               SABANA GRANDE     PR      00637
DIBLIN PLANAS, NANCY C          ADDRESS ON FILE
DIBOU MEDIA INC                 PO BOX 11943                                                                              SAN JUAN          PR      00922
DIBOU MEDIA INC                 RAMIREZ DE ARRELLANOS     BLOQUE 1 #3                                                     GUAYNABO          PR      00966
DIBRIANDI ALVAREZ COLON         ADDRESS ON FILE
DICELIA M VELEZ RUIZ            ADDRESS ON FILE
DICENT BRITO, MARIA             ADDRESS ON FILE
DICK CORDERO MALAVE             ADDRESS ON FILE
DICK COSME VAZQUEZ              ADDRESS ON FILE
DICK DANIELS, JESSICA M         ADDRESS ON FILE
DICK RIVERA, MAYRA Z            ADDRESS ON FILE
DICK, NILDA                     ADDRESS ON FILE
DICKENSON RODRIGUEZ, NORMAN     ADDRESS ON FILE
DICKSON ORTIZ RODRIGUEZ         ADDRESS ON FILE
DICKSON QUINONES, FREDDIE       ADDRESS ON FILE
DICKSON RAMOS, MARIO            ADDRESS ON FILE
DICKSON SERRA, LISSE            ADDRESS ON FILE
DICKSON SERRA, LISSE            ADDRESS ON FILE
DICO COMMUNICATIONS             COND PORTO FINO           5 CALLE PALM CIR APT 401                                        GUAYNABO          PR      00968‐4487
DICRISTINA MD, MICHAEL          ADDRESS ON FILE
DICSON D VELEZ FELICIANO        ADDRESS ON FILE




                                                                                     Page 2378 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2379 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                            Address1                  Address2                                      Address3   Address4   City         State   PostalCode   Country
DICUPE RAMOS, HILDA                      ADDRESS ON FILE
DICUPE ROSARIO, PEDRO                    ADDRESS ON FILE
DICUPE SOLIS, JUAN J.                    ADDRESS ON FILE
DIDACTICOS                               PO BOX 1036                                                                                   GURABO       PR      00778‐1036
DIDACTICOS, INC.                         PO BOX 1036                                                                                   GURABO       PR      00778
DIDAXIS INC                              HC ‐ 6 BOX 61337                                                                              CAMUY        PR      00627‐9014
DIDES SANTIAGO, WANDA                    ADDRESS ON FILE
DIDIELISSE G VEGA DIAZ                   ADDRESS ON FILE
DIDIER CARIAS MORA                       ADDRESS ON FILE
DIDIER CASILLAS, SHEILA                  ADDRESS ON FILE
DIDONNA PEREA, JUAN                      ADDRESS ON FILE
DIEGA BELEN VENTURA                      ADDRESS ON FILE
DIEGA CARDONA ACEVEDO                    ADDRESS ON FILE
DIEGA I VALENTIN VALENTIN                ADDRESS ON FILE
DIEGO A CAPESTANY IRIZARRY               ADDRESS ON FILE
DIEGO A GAUD RAMIREZ                     ADDRESS ON FILE
DIEGO A MARTINEZ DIAZ                    ADDRESS ON FILE
DIEGO A SUAREZ SANCHEZ                   ADDRESS ON FILE
DIEGO AMELY RAMOS                        ADDRESS ON FILE
DIEGO ANTONIO SALCEDO CENTENO            ADDRESS ON FILE
DIEGO AUTO PARTS INC                     AVE ANTONIO R BARCELO     F 1 ESQ BALDORIOTY DE CASTRO                                        CAYEY        PR      00736
DIEGO CADENA MORALES                     ADDRESS ON FILE
DIEGO CANCEL MORENO                      ADDRESS ON FILE
DIEGO CASTRO MARTINEZ                    ADDRESS ON FILE
DIEGO COLLAZO VILLAFANE                  ADDRESS ON FILE
DIEGO COLON FLECHA/MARITZA E FLECHA      ADDRESS ON FILE
DIEGO CORTES SEGARRA                     ADDRESS ON FILE
DIEGO DE LA ROSA IRIZARRY                ADDRESS ON FILE
DIEGO E HERNANDEZ DIAZ                   ADDRESS ON FILE
DIEGO FELICIANO LUGO                     ADDRESS ON FILE
DIEGO FIGUEROA FIGUEROA                  ADDRESS ON FILE
DIEGO GALARZA RODRIGUEZ                  ADDRESS ON FILE
DIEGO GARCIA RIVERA                      ADDRESS ON FILE
Diego Geronimo, Nelly L.                 ADDRESS ON FILE
DIEGO GONZALEZ / NATUFRESH INC           HC 02 BOX 7417                                                                                SALINAS      PR      00751
DIEGO GONZALEZ ROMAN                     ADDRESS ON FILE
DIEGO GORBEA LIZARRIBAR                  ADDRESS ON FILE
DIEGO H GONZALEZ BRAVO                   ADDRESS ON FILE
DIEGO HERNANDEZ PINEDA                   ADDRESS ON FILE
DIEGO I SAAVEDRA ZAMOT                   ADDRESS ON FILE
DIEGO IRAVEDRA GONZALEZ                  ADDRESS ON FILE
DIEGO J BIGAS FIGUEROA                   ADDRESS ON FILE
DIEGO J ENCHAUSTEGUI DIAZ                ADDRESS ON FILE
DIEGO J HERNANDEZ RIVERA                 ADDRESS ON FILE
DIEGO J LOINAZ MARTIN                    ADDRESS ON FILE
DIEGO J MEDINA MONTALVO                  ADDRESS ON FILE
DIEGO J ORTIZ LUNA                       ADDRESS ON FILE
DIEGO J PEREZ LORENZO                    ADDRESS ON FILE
DIEGO J ROBLES CORDERO DBA ROBLES & ASSO PMB 353 P O BOX 11850                                                                         SAN JUAN     PR      00922
DIEGO J ROBLES CORDERO HNC ROBLES & ASSO PMB 353 PO BOX 11850                                                                          SAN JUAN     PR      00922‐1850
DIEGO J ROBLES D/B/A ROBLES & ASSOCIATES PMB 353                   PO BOX 11850                                                        SAN JUAN     PR      00922‐1850
DIEGO J ROSSO GONZALEZ                   ADDRESS ON FILE
DIEGO J SUAREZ MATIENZO                  ADDRESS ON FILE
DIEGO J. PEREZ LORENZO                   ADDRESS ON FILE
DIEGO JAHDIEL SANTOS RODRIGUEZ           ADDRESS ON FILE
DIEGO L BURGOS ORTIZ                     ADDRESS ON FILE
DIEGO L ECHAVARRY MORALES                ADDRESS ON FILE
DIEGO L GARCIA GOMEZ                     ADDRESS ON FILE
DIEGO L LOPEZ GARCIA                     ADDRESS ON FILE
DIEGO L RODRIGUEZ BERRIOS                ADDRESS ON FILE




                                                                                                  Page 2379 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2380 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIEGO L ROSARIO SANTIAGO                ADDRESS ON FILE
DIEGO L SANTIAGO RIVERA                 ADDRESS ON FILE
DIEGO LIZARDI MARCIL                    ADDRESS ON FILE
DIEGO LIZARDI SPORTS CORP               ADDRESS ON FILE
DIEGO LORENZANA RIVERA                  ADDRESS ON FILE
DIEGO M BERRIOS GONZALEZ                ADDRESS ON FILE
DIEGO M BETANCUR GARZON                 ADDRESS ON FILE
DIEGO M MUGUERZA MEMBRADO               ADDRESS ON FILE
DIEGO MARTINEZ IRIZARRY                 ADDRESS ON FILE
DIEGO MELENDEZ MONTANEZ                 ADDRESS ON FILE
DIEGO MONTANEZ LANDRON                  ADDRESS ON FILE
DIEGO MUNOZ RODRIGUEZ                   ADDRESS ON FILE
DIEGO MURGIA DIAZ                       ADDRESS ON FILE
DIEGO N RIVERA FELICIANO                ADDRESS ON FILE
DIEGO PAGAN ORTIZ                       ADDRESS ON FILE
DIEGO QUINONES CARRILLO                 ADDRESS ON FILE
DIEGO R COLON SANTANA                   ADDRESS ON FILE
DIEGO R MELENDEZ APELLANIZ              ADDRESS ON FILE
DIEGO R RODRIGUEZ ALVAREZ               ADDRESS ON FILE
DIEGO RAMIREZ MEDINA                    ADDRESS ON FILE
DIEGO RAMOS ROMAN                       ADDRESS ON FILE
DIEGO REYES LOZADA                      ADDRESS ON FILE
DIEGO RIVERA PEREZ                      ADDRESS ON FILE
DIEGO ROBLES BETANCOURT                 APARTADO 1584                                                                    LUQUILLO     PR      00773
DIEGO ROBLES CORDERO                    ADDRESS ON FILE
DIEGO RODRIGUEZ RIVERA                  ADDRESS ON FILE
DIEGO RODRIGUEZ VELEZ                   ADDRESS ON FILE
DIEGO ROMERO MARTINEZ                   ADDRESS ON FILE
DIEGO S CARRASQUILLO ALVARADO           ADDRESS ON FILE
DIEGO SAIZ RUBIO                        ADDRESS ON FILE
DIEGO SCHENQUERMAN                      ADDRESS ON FILE
DIEGO SILVA VINA                        ADDRESS ON FILE
DIEGO SOTO & ASSC                       PO BOX 996                                                                       MAYAGUEZ     PR      00681‐0000
DIEGO VAZQUEZ SOTO                      ADDRESS ON FILE
DIEGO VAZQUEZ SOTO                      ADDRESS ON FILE
DIEGO VAZQUEZ SOTO DBA TRANSPORTE ESCOLAKM. 10.2 BARRIO CENTENO                                                          TOA ALTA     PR      00954‐0000
DIEGUEZ COLON, SARA Y                   ADDRESS ON FILE
DIEGUEZ HERNANDEZ, LIZETTE              ADDRESS ON FILE
DIEGUEZ, YOLIMARY                       ADDRESS ON FILE
DIENISSE PEREA RUIZ                     ADDRESS ON FILE
DIEPPA ALVAREZ MD, RENAN A              ADDRESS ON FILE
DIEPPA ALVAREZ, ZULMA                   ADDRESS ON FILE
DIEPPA AYALA, ADA L                     ADDRESS ON FILE
DIEPPA AYALA, ANGEL                     ADDRESS ON FILE
DIEPPA AYALA, CESAR                     ADDRESS ON FILE
DIEPPA BAEZ, JINNETE                    ADDRESS ON FILE
DIEPPA BAEZ, ROBERTO                    ADDRESS ON FILE
DIEPPA CALDERON, AILEEN                 ADDRESS ON FILE
DIEPPA CALDERON, DENISSE                ADDRESS ON FILE
DIEPPA CRESPO, RAFAEL                   ADDRESS ON FILE
DIEPPA CRUZ, ANA I                      ADDRESS ON FILE
DIEPPA CRUZ, FRANCISCO J                ADDRESS ON FILE
DIEPPA CRUZ, GLENDALY                   ADDRESS ON FILE
DIEPPA DIAZ, AWILDA                     ADDRESS ON FILE
DIEPPA FLORES, PAOLA N                  ADDRESS ON FILE
DIEPPA FREYTES, RENAN                   ADDRESS ON FILE
DIEPPA GARCIA MD, JULIO E               ADDRESS ON FILE
DIEPPA GONZALEZ, MYRNA                  ADDRESS ON FILE
DIEPPA HERNANDEZ, BLANCA N.             ADDRESS ON FILE
DIEPPA HERNANDEZ, JOHANNA               ADDRESS ON FILE




                                                                                    Page 2380 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2381 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                         Address1                   Address2                                      Address3   Address4   City         State   PostalCode   Country
DIEPPA HERNANDEZ, JUAN                ADDRESS ON FILE
DIEPPA MARCHANY, JENNIFER             ADDRESS ON FILE
DIEPPA MARCHARY, JESELYN              ADDRESS ON FILE
DIEPPA MARRERO, ANA                   ADDRESS ON FILE
DIEPPA MARTINEZ, LUIS R.              ADDRESS ON FILE
DIEPPA MATOS, IDAMY                   ADDRESS ON FILE
DIEPPA OLMEDA, ROSIRIS                ADDRESS ON FILE
DIEPPA ORTIZ, EDWIN                   ADDRESS ON FILE
DIEPPA OSUNA, EVARISTO                ADDRESS ON FILE
DIEPPA OTERO, CARMEN M                ADDRESS ON FILE
DIEPPA OTERO, DAMARIS                 ADDRESS ON FILE
DIEPPA PEREA, JULIO                   ADDRESS ON FILE
DIEPPA PEREA, YANIN M                 ADDRESS ON FILE
DIEPPA PEREZ, KATHIA                  ADDRESS ON FILE
DIEPPA RAMIREZ, JONALLY               ADDRESS ON FILE
DIEPPA RAMOS, GABRIELLA               ADDRESS ON FILE
DIEPPA RAMOS, ROBERTO                 ADDRESS ON FILE
DIEPPA RICARD, ANA A.                 ADDRESS ON FILE
DIEPPA RIOS, REY                      ADDRESS ON FILE
DIEPPA RIVERA, EMANUEL                ADDRESS ON FILE
DIEPPA RODRIGUEZ, GLORIA              ADDRESS ON FILE
DIEPPA RODRIGUEZ, VIVIANA             ADDRESS ON FILE
DIEPPA ROQUE, LUIS                    ADDRESS ON FILE
DIEPPA SANCHEZ, EVA                   ADDRESS ON FILE
DIEPPA SANCHEZ, JANICE                ADDRESS ON FILE
DIEPPA SANCHEZ, MARIA T               ADDRESS ON FILE
DIEPPA TOLENTINO, AIDA L              ADDRESS ON FILE
DIEPPA TORRES, HAYDEE                 ADDRESS ON FILE
DIEPPA TORRES, JAYLEEN                ADDRESS ON FILE
DIEPPA TORRES, MARIA S                ADDRESS ON FILE
DIEPPA VEGA, BRYAN                    ADDRESS ON FILE
DIEPPA VELAZQUEZ, RAUL                ADDRESS ON FILE
DIEPS, MARIA DEL C                    ADDRESS ON FILE
DIESEL ENGINE TECHICIAN INC           PMB 632 HC‐01 BOX 29030                                                                        CAGUAS       PR      00725
DIESEL ENGINE TECHNICIAN INC          PMB 632                    HC 1 BOX 29030                                                      CAGUAS       PR      00725‐8900
DIESEL ENGINE TECHNICIAN INC          PMB 632 HC‐01              BOX 29030                                                           CAGUAS       PR      00725‐8900
DIESEL ENGINE TECHNICIAN INC          PMB 632 HC‐01 BOX 29030    1308 AVE. PAZ GRANELA, SUITE 2                                      CAGUAS       PR      00725
DIESTRA PEREZ MD, JOSE L              ADDRESS ON FILE
DIETER REETZ                          ADDRESS ON FILE
DIETRICH DENTAL PSC                   JARDINES REALES SHOPPING   35 CALLE JUAN C BORBON STE 67 PMB 144                               GUAYNABO     PR      00969
DIETSCH CORDERO, LORAINE D            ADDRESS ON FILE
DIEXEL O SANTIAGO NEGRON              ADDRESS ON FILE
DIEZ ALVAREZ, JOSEFA L                ADDRESS ON FILE
DIEZ ALVAREZ, MARIA M                 ADDRESS ON FILE
DIEZ BETANCOURT, MIGDALIA             ADDRESS ON FILE
DIEZ BRASCHI, FRANCISCO               ADDRESS ON FILE
DIEZ CANSECO LAOS, OCTAVIO            ADDRESS ON FILE
DIEZ CESPEDES, ARIEL                  ADDRESS ON FILE
DIEZ DE ANDINO GAGATE, ANGEL          ADDRESS ON FILE
DIEZ DE ANDINO HUMPIERRE, RAFAEL J.   ADDRESS ON FILE
DIEZ DE ANDINO ORTIZ, LUIS            ADDRESS ON FILE
DIEZ DE ANDINO RIVERA, RAFAEL         ADDRESS ON FILE
DIEZ DE ANDINO RIVERA, RAFAEL         ADDRESS ON FILE
DIEZ DE ANDINO RIVERA, WANDA I.       ADDRESS ON FILE
DIEZ DE ANDINO, ANA E                 ADDRESS ON FILE
DIEZ DE ANDINO, MARIA S               ADDRESS ON FILE
DIEZ DELGADO MD, RICARDO              ADDRESS ON FILE
DIEZ DELGADO, MARIA DEL ROSARIO       ADDRESS ON FILE
DIEZ GONZALEZ, CARLOS E               ADDRESS ON FILE
DIEZ GRADIN, ALEXANDRE                ADDRESS ON FILE




                                                                                              Page 2381 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2382 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                         Address1                         Address2                                   Address3   Address4   City               State   PostalCode   Country
DIEZ GUTIERREZ, VIRIANA               ADDRESS ON FILE
DIEZ HERENCIA, JUDITH                 ADDRESS ON FILE
DIEZ HERENCIA, LUIS                   ADDRESS ON FILE
DIEZ MANZANO, CARLOS R.               ADDRESS ON FILE
DIEZ MORALES, VILMA                   ADDRESS ON FILE
DIEZ SANCHEZ, BETSAIDA                ADDRESS ON FILE
DIEZ SANTIAGO, MARITERE               ADDRESS ON FILE
DIEZ SIFONTE, ANTONIO                 ADDRESS ON FILE
DIFE INC P/C FERNANDO SUMAZA          P O BOX 3685                                                                                      MAYAGUEZ           PR      00681‐3685
DIFFERENT VISION CORP                 MANATI PLAZA SHOPP CTR           10 CARR 149 STE 225                                              MANATI             PR      00674
DIFFOOT DE MARTINEZ, MARGARITA        ADDRESS ON FILE
DIFFOOT GUZMAN, JUAN I                ADDRESS ON FILE
DIFFOOT SANTIAGO, MIGUEL              ADDRESS ON FILE
DIFFUT RODRIGUEZ, ISABELITA           ADDRESS ON FILE
DIFFUT RODRIGUEZ, JUAN                ADDRESS ON FILE
DIFO TAVERAS, LUIS                    ADDRESS ON FILE
DIFRE CARRASQUILLO, YOMARIE           ADDRESS ON FILE
DIFREDO RIVERA GONZALEZ               ADDRESS ON FILE
DIGAN SYSTEMS CONSULTANTS CORP        PASEO DEL PRADO                  A‐16 CAMINO REAL                                                 SAN JUAN           PR      00926
DIGETECH, INC                         PO BOX 8049                      MARINA STATION                                                   MAYAGUEZ           PR      00680‐8049
DIGHEON INC.                          #500 LOS FILTROS                 BOULEVARD DEL RIO 2 #34                                          GUAYNABO           PR      00971
DIGI BUY /DBA/ DIGITAL RIVER, INC.    9625 W 76 TH STREET                                                                               EDEN PRAIRE        MN      55344
Digiallonardo Perez, Sabrina          ADDRESS ON FILE
DIGICERT                              333 SOUTH 520 WEST                                                                                LINDON             UT      84042
DIGICERT INC                          2081 THANKSGIVING WAY            SUITE 500                                                        LEHI               UT      84043
DIGIORGI ALEGRE, GEORGE               ADDRESS ON FILE
DIGIORGI PEREZ, BEVERLY               ADDRESS ON FILE
DIGISYS INC                           URB SAN PATRICIO                 636 AVE SAN PATRICIO                                             SAN JUAN           PR      00920‐4507
DIGITAL ASSOCIATIONS LLC              PO BOX 1523                                                                                       FLOWERY BRANCH     GA      30542
DIGITAL IMAGING INC                   1756 LOIZA STREET                                                                                 SAN JUAN           PR      00911‐0000
DIGITAL IMAGING INC DBA ELITE PHOTO   1756 CALLE LOIZA STREET                                                                           SAN JUAN           PR      00911
DIGITAL IMAGING INC DBA ELITE PHOTO   1756 LOIZA STREET                                                                                 SAN JUAN           PR      00911
DIGITAL IMAGING/ ELITE PHOTO          1756 CALLE LOIZA                                                                                  SAN JUAN           PR      00911
DIGITAL INTELLIGENCE, INC             17165 WEST GLENDALE DRIVE                                                                         NEW BERLIN         WI      53151‐2737
DIGITAL JUICE, INC                    600 TECHONOLGY PARK, SUITE 104                                                                    LAKE MARY          FL      32746
DIGITAL MEDIA                         PO BOX 366902                                                                                     SAN JUAN           PR      00936‐6902
DIGITAL MEDIA CREATIONS               PO BOX 366902                                                                                     SAN JUAN           PR      00936
DIGITAL NETWORK CORP                  SUITE 204 METRO OFFICE PARK      EDF 7                                                            GUAYNABO           PR      00968
DIGITAL NETWORKS CORP                 AREA DEL TESORO                  DIVISION DE RECLAMACIONES                                        SAN JUAN           PR      00902‐4140
DIGITAL NETWORKS CORP                 B5 CALLE TABONUCO                SUITE 216‐304                                                    GUAYNABO           PR      00968
DIGITAL NETWORKS CORP                 SUITE 204 METRO OFFICE PARK      EDF 7                                                            GUAYNABO           PR      00968
DIGITAL OFFICE SOLUTIONS              PO BOX 537                                                                                        MOCA               PR      00676
DIGITAL PHOTOS DATA BASE PRO
DIGITAL RECORDING SERVICES            PO BOX 50959                                                                                      LEVITTOWN          PR      00950
DIGITAL SCANNING SOLUTIONS            ISLA VERDE MALL STE 209                                                                           CAROLINA           PR      00979
DIGITAL SECURITY FORCES               PO BOX 2470                                                                                       MANATI             PR      00674‐2470
DIGITALTREE, INC                      URB DORADO DEL MAR               P25 CALLE MARULLO                                                DORADO             PR      00646
DIGITEC INC                           PO BOX 363002                                                                                     SAN JUAN           PR      00936
DIGI‐WAL INC                          PO BOX 229                                                                                        JUANA DIAZ         PR      00795‐0229
DIGMALY RIVERA FEBUS                  ADDRESS ON FILE
DIGMARIE A ALICEA SANTANA             ADDRESS ON FILE
DIGMARIE DE JESUS APONTE              ADDRESS ON FILE
DIGNA ADAMES CLAUDIO                  ADDRESS ON FILE
DIGNA E LANDROVE DE LA O              ADDRESS ON FILE
DIGNA E MORALES BAYALA                ADDRESS ON FILE
DIGNA E. MATOS VARGAS                 ADDRESS ON FILE
DIGNA E. SANCHEZ                      ADDRESS ON FILE
DIGNA FELICIANO ARCE                  ADDRESS ON FILE
DIGNA FIGUEROA TORRES                 ADDRESS ON FILE
DIGNA I DELGADO DE JESUS              ADDRESS ON FILE




                                                                                                   Page 2382 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2383 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DIGNA I GONZALEZ GONZALEZ                ADDRESS ON FILE
DIGNA J RODRIGUEZ MARTINEZ               ADDRESS ON FILE
DIGNA LAGARES DIAZ                       ADDRESS ON FILE
DIGNA LEBRON RIVERA                      ADDRESS ON FILE
DIGNA M CORTES ROSADO                    ADDRESS ON FILE
DIGNA M MEDINA RIVERA                    ADDRESS ON FILE
DIGNA M RAMIREZ ACOSTA                   ADDRESS ON FILE
DIGNA M RAMIREZ ACOSTA                   ADDRESS ON FILE
DIGNA M RODRIGUEZ DE JESUS               ADDRESS ON FILE
DIGNA M. RODRIGUEZ COLON                 ADDRESS ON FILE
DIGNA MARIN ALMESTICA/ TERESA QUINONES   ADDRESS ON FILE
DIGNA N PEREZ MEDINA                     ADDRESS ON FILE
DIGNA N SERRANO PEREZ                    ADDRESS ON FILE
DIGNA ORTIZ RIVERA                       ADDRESS ON FILE
DIGNA R VAZQUEZ DELGADO                  ADDRESS ON FILE
DIGNA RESTO RODRIGUEZ                    ADDRESS ON FILE
DIGNA RIVERA RODRIGUEZ                   ADDRESS ON FILE
DIGNA RODRIGUEZ LACLAUSTRA               ADDRESS ON FILE
DIGNA RODRIGUEZ MERCADO                  ADDRESS ON FILE
DIGNA ROSSI SOTO                         ADDRESS ON FILE
DIGNA SANCHEZ CARRERO                    ADDRESS ON FILE
DIGNA SANTIAGO GONEZ                     ADDRESS ON FILE
DIGNA SERRANO BETANCOURT                 ADDRESS ON FILE
DIGNA W FELICIANO                        ADDRESS ON FILE
DIGNO CARTAGENA COLON                    ADDRESS ON FILE
DIGNOEL VEGA RIVERA                      ADDRESS ON FILE
DIHANA M MELENDEZ GARCIA                 ADDRESS ON FILE
DIHR CORP                                MINILLAS STATION          PO BOX 41302                                           SAN JUAN     PR      00940
DIJOLS MONTANEZ, AMARILYS                ADDRESS ON FILE
Dijols Montanez, Amarilys                ADDRESS ON FILE
DIJOLS MONTANEZ, AMARILYS                ADDRESS ON FILE
DIJOLS MONTANEZ, AMARYLIS                ADDRESS ON FILE
DIJOLS ROMAN, ANA M                      ADDRESS ON FILE
DILAN ESTRADA, HECTOR M                  ADDRESS ON FILE
DILAN ESTRADA, IVELISSE                  ADDRESS ON FILE
DILAN ESTRADA, WILFREDO                  ADDRESS ON FILE
DILAN MALDONADO, KATHERYN                ADDRESS ON FILE
DILAN MORALES, JOSE B.                   ADDRESS ON FILE
DILAN MORALES, JOSE B.                   ADDRESS ON FILE
DILAN ORTIZ, FERNANDO                    ADDRESS ON FILE
DILAN PEREZ, JAVIER                      ADDRESS ON FILE
DILAN PEREZ, JAVIER J                    ADDRESS ON FILE
DILAN PEREZ, MIGUEL                      ADDRESS ON FILE
DILAN PEREZ, MILAGROS                    ADDRESS ON FILE
DILAN RODRIGUEZ, AIMEE                   ADDRESS ON FILE
DILAN RODRIGUEZ, ERIKA                   ADDRESS ON FILE
DILAN RODRIGUEZ, ERIKA                   ADDRESS ON FILE
DILAN RODRIGUEZ, MODESTA                 ADDRESS ON FILE
DILAN RODRIGUEZ, OBED                    ADDRESS ON FILE
DILAN VELAZQUEZ, ANTONIO                 ADDRESS ON FILE
DILAN VELAZQUEZ, HELGA N                 ADDRESS ON FILE
DILAN VELAZQUEZ, IRAIDA E.               ADDRESS ON FILE
DILCA COTTO VAZQUEZ                      ADDRESS ON FILE
DILCE M RIVERA ROSARIO                   ADDRESS ON FILE
DILCIA BECERRA SALGADO                   ADDRESS ON FILE
DILCIA M SEIN MORALES                    ADDRESS ON FILE
DILCIA PACHECO MENDOZA                   ADDRESS ON FILE
DILENIA RAMOS RODRIGUEZ                  ADDRESS ON FILE
DILEO TORRES, GRACE M.                   ADDRESS ON FILE
DILIA E ROMAN LOPEZ                      ADDRESS ON FILE




                                                                                     Page 2383 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2384 of 3500
                                                                               17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                   Address1                  Address2                                    Address3   Address4   City            State   PostalCode   Country
DILIA E VELEZ PEREZ             ADDRESS ON FILE
DILIA HADDOCK COLLAZO           ADDRESS ON FILE
DILIA I MARTINEZ SORIA          ADDRESS ON FILE
DILIA M NIEVES RODRIGUEZ        ADDRESS ON FILE
DILIA RODRIGUEZ BESOSA          ADDRESS ON FILE
DILIA VAZQUEZ CENTENO           ADDRESS ON FILE
DILIANA FALERO SIARES           ADDRESS ON FILE
DILL BAREA, KATHERINE           ADDRESS ON FILE
DILL BAREA, ROGER P.            ADDRESS ON FILE
DILLARDS INC                    1600 CANTRELL RD                                                                            LITTLE ROCK     AR      72201
DILLINGHAM CONSTRUCTION         PMB 200N                  AVE RAFAEL CORDERO STE 140                                        CAGUAS          PR      00725
DILLON CANINO, DEBORAH          ADDRESS ON FILE
DILLON KAUFMAN, KELCEY          ADDRESS ON FILE
DILLON PIETRANTONI, EARNEST     ADDRESS ON FILE
DILMARIS TORRES CENTENO         ADDRESS ON FILE
DILMARY ZAPATA RODRIGUEZ        ADDRESS ON FILE
DILO COMUNICACIONES INC         PO BOX 1885                                                                                 COROZAL         PR      00783
DILONE NINA, JOANIE             ADDRESS ON FILE
DILONE SAINT‐JEAN, ORLANDO      ADDRESS ON FILE
DILONE TEJADA, MERY             ADDRESS ON FILE
DILONE TORRES, AIXA             ADDRESS ON FILE
DILONE, IVAN E.                 ADDRESS ON FILE
DILONO SAINT JEAN, ORLANDO      ADDRESS ON FILE
DILORENZO, KENNETH D            ADDRESS ON FILE
DILSA ESTHER CENTENO OLMO       ADDRESS ON FILE
DILSIA A BARROS LOPEZ           ADDRESS ON FILE
DILYAN GONZALEZ CERVONI         ADDRESS ON FILE
DIMAEL ROSADO SANTANA           ADDRESS ON FILE
DIMAIO CALERO, MARIO            ADDRESS ON FILE
DIMAIRA GARCIA PORTALATIN       ADDRESS ON FILE
DIMAIRA RIVERA RESTO            ADDRESS ON FILE
DIMANCHE VICENT, PIERRE         ADDRESS ON FILE
DIMAR LOPEZ LORA                ADDRESS ON FILE
DIMARA RIVERA ORTIZ             ADDRESS ON FILE
DIMARA VEGA ORTIZ               ADDRESS ON FILE
DIMARI RIVERA SUAREZ            ADDRESS ON FILE
DIMARIE CANDELARIO FIGUEROA     ADDRESS ON FILE
DIMARIE MENDEZ MARTINO          ADDRESS ON FILE
DIMARIE MOJICA MENDOZA          ADDRESS ON FILE
DIMARIE ORTIZ PEREZ             ADDRESS ON FILE
DIMARIE PADILLA /YELIAN ORTIZ   ADDRESS ON FILE
DIMARIE SERRANO MURIENTE        ADDRESS ON FILE
DIMARIS APONTE SANTIAGO         ADDRESS ON FILE
DIMARIS AQUINO GONZALEZ         ADDRESS ON FILE
DIMARIS CRUZ ROJAS              ADDRESS ON FILE
DIMARIS GARCIA MERCADOS         ADDRESS ON FILE
DIMARIS GONZALEZ SOTO           ADDRESS ON FILE
DIMARIS MIRANDA FUENTES         ADDRESS ON FILE
DIMARIS S DEL VALLE ORTIZ       ADDRESS ON FILE
DIMARY CALDERON GONZALEZ        ADDRESS ON FILE
DIMARY CAMACHO SOTO             ADDRESS ON FILE
DIMARY GONZALEZ APONTE          ADDRESS ON FILE
DIMARY GONZALEZ APONTE          ADDRESS ON FILE
DIMARY ROMERO ORTIZ             ADDRESS ON FILE
DIMARY SANTO MONTES             ADDRESS ON FILE
DIMARYS COLLAZO VELAZQUEZ       ADDRESS ON FILE
DIMARYS D. SANCHEZ GINES        ADDRESS ON FILE
DIMARYS I SOLER CRESPO          ADDRESS ON FILE
DIMARYS ODETTE LOPEZ ESCOBAR    ADDRESS ON FILE
DIMARYS REYES LOPEZ             ADDRESS ON FILE




                                                                                       Page 2384 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2385 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                   Address1                                   Address2                                   Address3            Address4   City            State   PostalCode   Country
DIMARYS V MONSERRATE VELEZ      ADDRESS ON FILE
DIMAS BROCO HERNANDEZ           ADDRESS ON FILE
DIMAS LUIZ MELENDEZ ROLON       ADDRESS ON FILE
DIMAS MALDONADO IRIZARRY        ADDRESS ON FILE
DIMAS MORENO GONZALES           ADDRESS ON FILE
DIMAS ORTIZ LOPEZ               ADDRESS ON FILE
DIMAS PAGAN RAMOS               ADDRESS ON FILE
DIMAS PAGAN RAMOS               ADDRESS ON FILE
DIMAS QUINONES ACEVEDO          ADDRESS ON FILE
DIMAS RODRIGUEZ ROSADO          ADDRESS ON FILE
DIMAS SANTIAGO QUINONES         ADDRESS ON FILE
DIMELER PAYANO, AMANDA          ADDRESS ON FILE
DIMIOR M RODRIGUEZ DE LA CRUZ   ADDRESS ON FILE
DIMPNA BRUNO HERNANDEZ          ADDRESS ON FILE
DIN ELECTRICAL CONTRACTOR INC   PMB 254 P O BOX 2020                                                                                                 BARCELONETA     PR      00617
DINAH M PADILLA MORALES         ADDRESS ON FILE
DINAH VAZQUEZ CUADRADO          ADDRESS ON FILE
DINAMAX                         MENDEZ VIGO 201 OESTE                                                                                                MAYAGUEZ        PR      00682
DINANYERIS CARMONA CURIEL       ADDRESS ON FILE
DINARDI OJEDA, RODRIGO          ADDRESS ON FILE
DINASETH GOTAY FERRER           ADDRESS ON FILE
DINAYRA LIZ RIOS COLON          ADDRESS ON FILE
DINED M. SANTIAGO NIEVES        ADDRESS ON FILE
DINEISHA ANTONGIORGI SIERRA     ADDRESS ON FILE
DINELIA E ACEVEDO ROMAN         ADDRESS ON FILE
DINELIA HERNANDEZ AGOSTO        ADDRESS ON FILE
DINELIA HERNANDEZ AGOSTO        ADDRESS ON FILE
DINELIA PEREZ BAEZ              ADDRESS ON FILE
DINELIA RIVERA PEREZ            ADDRESS ON FILE
DINELIA ROSARIO RODRIGUEZ       ADDRESS ON FILE
DINELIA SANCHEZ SOSA            ADDRESS ON FILE
DINELYS BAKERY                  PO BOX 577                                                                                                           COAMO           PR      00769
DINGHY DOCK                     ADDRESS ON FILE
DINGHY DOCK BAR RESTAURANT      ADDRESS ON FILE
DINGUI CARTAGENA, MONSERRATE    ADDRESS ON FILE
DINGUI CARTAGENA, MONSERRATE    ADDRESS ON FILE
DINGUI FIGUEROA, MARIA          ADDRESS ON FILE
DINGUIS MARTINEZ, ALBERTO       ADDRESS ON FILE
DINIA I PANTOJA ALEMAN          ADDRESS ON FILE
DINO DEMARIO                    LCDO. DAVID FERNANDEZ ESTEVES              PO BOX 9023518                                                            SAN JUAN        PR      00902‐3518
DINO DEMARIO                    LCDO. FERNANDO FORNARIS Y LCDA. VICTORIA P PO BOX364966                                                              SAN JUAN        PR      00936‐4966
                                                                                                                      1181 AVE.JESÚS T.
DINO DEMARIO                    LCDO. JOSÉ GONZALEZ VILLAMIL, LCDA. ALEJANDGONZALEZ PANDO PLAZA                       PIÑERO                         SAN JUAN        PR      00920‐5604
                                                                                                                      FERNANDEZ JUNCOS
DINO DEMARIO                    LCDO. MIGUEL G. LAFFITTE                  PO BOX 11750                                STATION                        SAN JUAN        PR      00910‐1750
DINO DEMARIO                    LCDO. NELSON ROSARIO RODRÍGUEZ            197 MONSERRATE CT APT. 610                                                 HORMIGUEROS     PR      00660
DINO DEMARIO                    LCDO. RAMÓN MARTINEZ VEGA                 130 ELEONOR ROOSEVELT                                                      SAN JUAN        PR      00918‐3105
DINORA CRUZ RIVERA              ADDRESS ON FILE
DINORA PANTALEON SANTIAGO       ADDRESS ON FILE
DINORAH CASTELLANOS DE PARRA    ADDRESS ON FILE
DINORAH CLASS RIVAS             ADDRESS ON FILE
DINORAH COLLAZO ORTIZ           ADDRESS ON FILE
DINORAH COLON COLON             ADDRESS ON FILE
DINORAH DE JESUS PAGAN          ADDRESS ON FILE
DINORAH DIAZ ORTIZ              ADDRESS ON FILE
DINORAH DIAZ VAZQUEZ            ADDRESS ON FILE
DINORAH E SOTO MARCANO          ADDRESS ON FILE
DINORAH HERNANDEZ VAZQUEZ       ADDRESS ON FILE
DINORAH I BONANO SERRANO        ADDRESS ON FILE
DINORAH LEON MEJIAS             ADDRESS ON FILE




                                                                                                       Page 2385 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2386 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                          Address1                           Address2                                   Address3          Address4   City               State   PostalCode   Country
DINORAH M VEGA AYALA                   ADDRESS ON FILE
DINORAH M. ROBLES COUT                 ADDRESS ON FILE
DINORAH MORALES CRUZ                   ADDRESS ON FILE
DINORAH MUNOZ CONTRERAS                ADDRESS ON FILE
DINORAH MUNOZ CONTRERAS                ADDRESS ON FILE
DINORAH PADILLA                        ADDRESS ON FILE
DINORAH PENA RIVERA                    ADDRESS ON FILE
DINORAH PINA SANTOS                    ADDRESS ON FILE
DINORAH QUILES RODRIGUEZ               ADDRESS ON FILE
DINORAH SANCHEZ GUZMAN                 ADDRESS ON FILE
DINORAH TORRES ADORNO                  ADDRESS ON FILE
DINORAH TORRES ADORNO                  ADDRESS ON FILE
DINORAH VALENTIN CABAN                 ADDRESS ON FILE
DINORIS HUERTAS MARTIN                 ADDRESS ON FILE
DINOSHKA M PADILLA RODRIGUEZ           ADDRESS ON FILE
DIOCELYN RIVERA DIAZ                   ADDRESS ON FILE
DIODARYS CACERES DELGADO               LCDA. MARÍA E. SANTANA GUTIÉRREZ   PO BOX 755                                                              PUNTA SANTIAGO     PR      00741
DIODONET AVILES, ALVIN L               ADDRESS ON FILE
DIODONET AVILES, TERRY                 ADDRESS ON FILE
Diodonet Bracero, Eddie                ADDRESS ON FILE
DIODONET BRACERO, PEDRO A              ADDRESS ON FILE
DIODONET CASTRO, VICTOR                ADDRESS ON FILE
DIODONET ESQUERET, ALEXIE              ADDRESS ON FILE
DIODONET LOPEZ, DELVIS                 ADDRESS ON FILE
DIODONET MALDONADO, DIMAS              ADDRESS ON FILE
DIODONET MALDONADO, DIMAS              ADDRESS ON FILE
DIODONET MALDONADO, DIMAS              ADDRESS ON FILE
DIODONET MARTINEZ, BENITO              ADDRESS ON FILE
Diodonet Mejill, Dimas                 ADDRESS ON FILE
Diodonet Rivera, Henry                 ADDRESS ON FILE
DIODONET RIVERA, HENRY                 ADDRESS ON FILE
DIODONET ROSADO, CHARITIN              ADDRESS ON FILE
DIODONET SANTIAGO, JULIO C             ADDRESS ON FILE
DIOGENES BALLESTER                     ADDRESS ON FILE
DIOGENES CARLOS JOSE                   ADDRESS ON FILE
DIOGENES CORP                          PO BOX 1950                                                                                                VEGA ALTA          PR      00692
DIÓGENES INTERNATIONAL CONSULTING      LUIS P. COSTAS ELENA               CALLE ORQUÍDEA #34                         URB. STA. MARÍA              SAN JUAN           PR      00927
DIOGENES N. RAMIREZ CONTRERAS          ADDRESS ON FILE
DIOGENES TOLEDO RAMIREZ                ADDRESS ON FILE
DIOMAR A RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
DIOMARA BERRIOS ROJAS                  ADDRESS ON FILE
DIOMARES GONZALEZ CALA                 ADDRESS ON FILE
DIOMARIE GARCIA BURGOS                 ADDRESS ON FILE
DIOMARIE LABOY RIVERA                  ADDRESS ON FILE
DIOMARIE NIEVES TORRES                 ADDRESS ON FILE
DIOMARIS GUERRERO MATOS                ADDRESS ON FILE
DIOMARIS MARTINEZ NENA                 ADDRESS ON FILE
DIOMARIS SANTOS MEDINA                 ADDRESS ON FILE
DIOMARIS SANTOS MEDINA                 ADDRESS ON FILE
DIOMARY A DIAZ RODRIGUEZ               ADDRESS ON FILE
DIOMARY LUGO                           ADDRESS ON FILE
DIOMARY TORRES LOPEZ                   ADDRESS ON FILE
DIOMEDES A VELEZ ACOSTA/MAYRA ACOSTA   ADDRESS ON FILE
DIOMEDES ACOSTA FRIAS                  ADDRESS ON FILE
DIOMEDES DELGADO CRUZ                  ADDRESS ON FILE
DIOMEDES DELGADO CRUZ                  ADDRESS ON FILE
DIOMEDES JIMENEZ TAPIA                 NO TIENEN (PRO SE)                 PO BOX 363585 F.D. ROOSEVELT AVE.          HATO REY                     SAN JUAN           PR      00936‐3585
DIOMEDES JIMÉNEZ TAPIA                 PRO SE                             PO BOX 363585                                                           SAN JUAN           PR      00936‐3585
DIOMEDES LAJARA RADINSON               ADDRESS ON FILE
DIOMEDES MARIA HENRIQUEZ               ADDRESS ON FILE




                                                                                                      Page 2386 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2387 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                          Address1                        Address2                                 Address3      Address4   City          State   PostalCode   Country
DIOMEDES ORTIZ VELEZ                   ADDRESS ON FILE
DIOMEDES PLAZA (ORNAMENTALES ADJUNTAS) HC 02 BOX 6555                                                                                    ADJUNTAS      PR      00601‐9606
DIOMEDES RODRIGUEZ FIGUEROA            ADDRESS ON FILE
DIOMEDES SANTIAGO MALDONADO            ADDRESS ON FILE
DIOMEDES T VAZQUEZ PEREZ               ADDRESS ON FILE
DIOMEDES TORRES MALAVE                 ADDRESS ON FILE
DION CENTENO, IVETTE                   ADDRESS ON FILE
DIONET BONET TALAVERA                  ADDRESS ON FILE
DIONEX CORPORATION                     ADDRESS ON FILE
DIONEY Y COLON MOLINA                  ADDRESS ON FILE
DIONEY Y. COLON MOLINA                 ADDRESS ON FILE
DIONICIO A DURAN PEREZ                 ADDRESS ON FILE
DIONIDA SANTIAGO RIVERA                ADDRESS ON FILE
DIONIS D. FIGUEROA ROSARIO             ADDRESS ON FILE
DIONIS J GONZALEZ NUNEZ                ADDRESS ON FILE
DIONIS PIMENTEL MARTINEZ               ADDRESS ON FILE
DIONIS YIEN SANG DE MORALES            ADDRESS ON FILE
DIONISELLE TORRES                      ADDRESS ON FILE
DIONISELLE TORRES                      ADDRESS ON FILE
DIONISES LICIAGA AYALA                 ADDRESS ON FILE
DIONISI MONSANTO, REY                  ADDRESS ON FILE
DIONISI SANTIAGO, REYNALDO             ADDRESS ON FILE
DIONISIA DAVILA Y DANITZA BRUNO        ADDRESS ON FILE
DIONISIA GOMEZ RAMOS                   ADDRESS ON FILE
DIONISIA IZQUIERDO NUNEZ               ADDRESS ON FILE
DIONISIA PENA BATISTA                  ADDRESS ON FILE
DIONISIA SANCHEZ IRIZARRY              ADDRESS ON FILE
DIONISIA UJAQUE PACHECO                ADDRESS ON FILE
DIONISIO ARIAS, ADALBERTO              ADDRESS ON FILE
DIONISIO CANAS                         ADDRESS ON FILE
DIONISIO CANELLAS GARCIA               ADDRESS ON FILE
DIONISIO CARTAGENAMONTES               ADDRESS ON FILE
DIONISIO CORDERO BARRETO               ADDRESS ON FILE
DIONISIO CRUZ FELICIANO                ADDRESS ON FILE
Dionisio Figueroa Reyes                ADDRESS ON FILE
DIONISIO FLORES QUINTANA               ADDRESS ON FILE
DIONISIO GONZALEZ SANCHEZ              ADDRESS ON FILE
DIONISIO IRIZARRY                      ADDRESS ON FILE
DIONISIO IRIZARRY AMELY                ADDRESS ON FILE
DIONISIO JIMENEZ MEDINA                ADDRESS ON FILE
DIONISIO JIMENEZ MEDINA                ADDRESS ON FILE
DIONISIO KUILAN MAYMI                  ADDRESS ON FILE
DIONISIO LABOY RIVERA                  ADDRESS ON FILE
DIONISIO LOPEZ TORRES                  ADDRESS ON FILE
DIONISIO LUCENA SOTO                   DEMANDANTE POR DERECHO PROPIO   INSTITUCIÓN CORRECCIONAL GUERRERO 304    PO BOX 3999              AGUADILLA     PR      00603
DIONISIO MEDINA                        ADDRESS ON FILE
DIONISIO MEDINA LOPEZ                  ADDRESS ON FILE
DIONISIO MERCADO RIVERA                ADDRESS ON FILE
DIONISIO MIRANDA PEREZ                 ADDRESS ON FILE
DIONISIO MIRANDA PEREZ                 ADDRESS ON FILE
DIONISIO MIRANDA PEREZ                 PO BOX 364704                                                                                     SAN JUAN      PR      00936‐4704
DIONISIO MOLINA PADRO                  ADDRESS ON FILE
DIONISIO MORALES MONTALVO              ADDRESS ON FILE
DIONISIO NAZARIO NIEVES                ADDRESS ON FILE
DIONISIO NIEVES COSME                  ADDRESS ON FILE
DIONISIO ORSINI Y DOMINGA ORSINI       ADDRESS ON FILE
DIONISIO PEREZ / ALICE M AVILES        ADDRESS ON FILE
DIONISIO PEREZ / ALICE M AVILES        ADDRESS ON FILE
DIONISIO PEREZ CORCHADO                ADDRESS ON FILE
DIONISIO R ROSARIO PENA                ADDRESS ON FILE




                                                                                                 Page 2387 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2388 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                               Address2                                      Address3          Address4                City            State   PostalCode   Country
DIONISIO RIVERA, CYNTHIA E.             ADDRESS ON FILE
DIONISIO RODRIGUEZ VARGAS               ADDRESS ON FILE
DIONISIO RODRÍGUEZ VÁZQUEZ              LCDO. EDGARDO SANTIAGO LLORÉNS         URB. SAN ANTONIO 1925 AVE. LAS AMÉRICAS                                                 Ponce           PR      00728‐1815
DIONISIO RODRIGUEZ Y CARMEN RODRIGUEZ   ADDRESS ON FILE
DIONISIO ROMERO PIZARRO                 ADDRESS ON FILE
DIONISIO SANCHEZ ROSARIO                ADDRESS ON FILE
DIONISIO SANCHEZ Y GLORIA A BISONO      ADDRESS ON FILE
DIONISIO SANTANA LOPEZ                  ADDRESS ON FILE
DIONISIO SOTO HERRERA                   ADDRESS ON FILE
DIONISIO STERLING ORTIZ                 ADDRESS ON FILE
DIONISIO STERLING ORTIZ                 EDUARDO R. JENKS CARBALLEIRA           PO BOX 9023933                                                                          SAN JUAN        PR      00902‐3933
DIONISIO STERLING ORTIZ                 GILMARIE COLÓN RALAT                   PMB 565 1353 CARR. 19                                                                   GUAYNABO        PR      00966‐2700
DIONISIO STERLING ORTIZ                 JULIO VARGAS APONTE                    PMB 213 390 CARR. 853                                                                   CAROLINA        PR      00987‐8799
DIONISIO STERLING ORTIZ                 VANESSA BLANCO MÉNDEZ                  166 Avenida de la Constitución                                                          San Juan        PR      00901
DIONISIO STERLING ORTIZ                 YAZMÍN NADAL ARROYO                    COND. MANSIONES LOS CAOBOS                    APARTAMENTO 7‐B   AVE. SAN PATRICIO J‐6   GUYANABO        PR      00968
DIOS M CANDELARIA GONZALEZ              ADDRESS ON FILE
DIOSA E FUENTES RODRIGUEZ               ADDRESS ON FILE
DIOSA JIMENEZ                           ADDRESS ON FILE
DIOSA N AVILA CARBUCIA                  ADDRESS ON FILE
DIOSARA TRINIDAD RODRIGUEZ              ADDRESS ON FILE
DIOSDADO GARCIA AGOSTO                  ADDRESS ON FILE
DIOSDADO MILETE FELICIANO               ADDRESS ON FILE
DIOSDADO PEREZ SANTIAGO                 ADDRESS ON FILE
DIOSDADO R MERCADO PAGAN                ADDRESS ON FILE
DIOSDADO RIVERA ALVAREZ                 ADDRESS ON FILE
DIOSDADO SANTIAGO ACEVEDO               ADDRESS ON FILE
DIOSDADO VEGA CAMACHO                   ADDRESS ON FILE
DIOSELYN CRUZ RIVERA                    ADDRESS ON FILE
DIOSELYN CRUZ RIVERA                    ADDRESS ON FILE
DIOSMARIE LOURDES HERNANDEZ MARRERO     ADDRESS ON FILE
DIOSY PENA CARABALLO                    ADDRESS ON FILE
DIOU AGRAIT, LEOPOLDO                   ADDRESS ON FILE
DIPHNA SAN MIGUEL                       ADDRESS ON FILE
DIPINI ANDREU, YISELLE                  ADDRESS ON FILE
DIPINI CACERES, HECTOR                  ADDRESS ON FILE
DIPINI NIEVES, PAULA                    ADDRESS ON FILE
DIPINI PENA, FELIX                      ADDRESS ON FILE
DIPLAN APARICIO, MARY                   ADDRESS ON FILE
DIPOALA MD , JOSEPH A                   ADDRESS ON FILE
DIPPINI CARRASQUILLO, SIXTO             ADDRESS ON FILE
DIPPINI MENDEZ, EFRAIN J                ADDRESS ON FILE
DIPRE MATEO, JOSE                       ADDRESS ON FILE
Diquez Rivera, Orlando Mc.              ADDRESS ON FILE
DIRECT RESPON SOURCE                    1700 FERNANDEZ JUNCOS AVE                                                                                                      SAN JUAN        PR      00909‐2938
DIRECT SOUND INC                        PO BOX 190227                                                                                                                  SAN JUAN        PR      00919
DIRECTIONS FOR MENTAL HEALTH INC        ATTN MEDICAL RECORDS                   1437 S BELCHER RD                                                                       CLEARWATER      FL      33764
DIRECTOR DE FINANZAS                    MUNICIPIO DE SAN JUAN                  PO BOX 70179                                                                            SAN JUAN        PR      00936‐8179
DIRECTOR FINANZAS MUNICIPIO DE SAN JUAN DEPARTAMENTO DE RECREACION Y DEPORTE                                                                                           SAN JUAN        PR      00936
DIRECTOR OF HEALTH PROMOTION & EDUCATIO 1015 18TH STREET , NW SUITE 300                                                                                                WASHINGTON      DC      20036
DIRECTV                                 P.O. BOX 105249                                                                                                                Atlanta         GA      30348
DIRLIKOV, EMILIO                        ADDRESS ON FILE
DIRMA VALENTIN CAPELES                  ADDRESS ON FILE
DIROCHE PANIAGUA, LUCAS                 ADDRESS ON FILE
DIROSE DIVISION FOTOGRAFIA              URB LOMAS VERDES                       3‐D 34 AVE CARLOS JAVIER ANDALUZ                                                        BAYAMON         PR      00956
DIRT CHEAP                              3716 TIMBER                                                                                                                    DINKSON         TX      77539
DIS INC/PV PROPERTIES INC               2004 ROAD 506 COTO LAUREL WARD                                                                                                 PONCE           PR      00780
DISABILITY MANAGEMENT SERVICES INC      1350 MAIN STREET 1600                                                                                                          SPRINGFIELD     MA      01103
DISABLE AMERICANS VETERANS INC          ESTANCIAS DE LA FUENTE                 AA 42 CALLE DEL REY                                                                     TOA ALTA        PR      00953
DISALVO, NINA E                         ADDRESS ON FILE
DISASTER EMERGENCY MANG ADVISORY CORP PO BOX 810                                                                                                                       CAROLINA        PR      00981




                                                                                                            Page 2388 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 2389 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                             Creditor Matrix

Creditor Name                                 Address1                                          Address2                                  Address3   Address4   City           State   PostalCode   Country
DISASTER RECOVERY & MANAGERMENT CONSULCALLE CELIS #69                                                                                                           CAGUAS         PR      00725
DISASTER RECOVERY & MGT CONSULTANT INC PO BOX 360295                                                                                                            SAN JUAN       PR      00936‐0295
DISCJOCKEY / JOSE A VEGA                      ADDRESS ON FILE
DISCOTECA 330, INC                            50 CALLE AMERICO RODRIGUEZ                                                                                        ADJUNTAS       PR      00601
DISCOUNT ELECTRIC MOTORS                      URB CAPARRA TERRACE                               1428 AVE AMERICO MIRANDA                                        SAN JUAN       PR      00921
DISCOUNT GENERICS                             PO BOX 366937                                                                                                     SAN JUAN       PR      00936‐6937
DISCOVER PRODUCTS INC                         6500 NEW ALBANY ROAD                                                                                              NEW ALBANY     OH      43054
Discover Property & Casualty Insurance        ONE TOWER SQUARE                                                                                                  HARTFORD       CT      06183
Discover Property & Casualty Insurance CompanyAttn: Denise Sailer, Consumer Complaint Contact One Tower Square                                                  Hartford       CT      06183
Discover Property & Casualty Insurance CompanyAttn: George Lawton, President                    One Tower Square                                                Hartford       CT      06183
Discover Property & Casualty Insurance CompanyAttn: Kenneth Kupec, Circulation of Risk          One Tower Square                                                Hartford       CT      06183
Discover Property & Casualty Insurance CompanyAttn: Kenneth Spence III, Vice President          One Tower Square                                                Hartford       CT      06183
Discover Property & Casualty Insurance CompanyAttn: Maisie Russell, Premiun Tax Contact         One Tower Square                                                Hartford       CT      06183
Discover Property & Casualty Insurance CompanyAttn: Robin Sage, Regulatory Compliance Govern One Tower Square                                                   Hartford       CT      06183
Discover Property & Casualty Insurance Companyc/o The Prentice‐Hall Corp. System, PR Inc., Agen One Tower Square                                                Hartford       CT      06183
Discover Specialty Insurance Company          200 North Lasalle Street                          Suite 2200                                                      Chicago        IL      60601‐1083
Discover Specialty Insurance Company          Attn: George Estes III, President                 One Tower Square                                                Hartford       CT      06183
Discover Specialty Insurance Company          Attn: Larry Mills, Vice President                 One Tower Square                                                Hartford       CT      06183
DISCOVERY CONNECTIONS                         105 NO 500 WEST                                                                                                   PROVO          UT      84601
DISCOVERY LEARNING HOUSE VIVA INC             CERRO REAL                                        14 CALLE M                                                      GUAYNABO       PR      00918
DISDIER FLORES, ORVILLE M                     ADDRESS ON FILE
DISDIER GONZALEZ, ERNESTINA                   ADDRESS ON FILE
Disdier Gonzalez, Felix N                     ADDRESS ON FILE
DISDIER GONZALEZ, JUAN                        ADDRESS ON FILE
Disdier Gonzalez, Orlando                     ADDRESS ON FILE
DISDIER MARTINEZ, YOMARIE                     ADDRESS ON FILE
DISDIER MENA, JOSE                            ADDRESS ON FILE
DISDIER ORTIZ, ARLENE                         ADDRESS ON FILE
DISDIER ORTIZ, ISABEL F                       ADDRESS ON FILE
DISDIER PAGAN, EDMUNDO                        ADDRESS ON FILE
DISDIER POU, LESIE                            ADDRESS ON FILE
DISDIER POU, LESLIE                           ADDRESS ON FILE
DISDIER POU, LESLIE ANN                       ADDRESS ON FILE
DISDIER RODRIGUEZ, DIANA                      ADDRESS ON FILE
DISEÐO Y DESARROLLO DE SISTEMAS INC           PO BOX 6699                                                                                                       SAN JUAN       PR      00914‐6699
DISENO Y DESARROLLO DE SISTEMAS INC           PO BOX 6699                                                                                                       SAN JUAN       PR      00914‐6699
DISENOS 2000                                  PO BOX 468                                                                                                        ANASCO         PR      00610
DISENOS ESCLUSIVOS Y ALGO MAS                 VISTA DE LUQUILLO                                 A 4 CALLE ACCESO                                                LUQUILLO       PR      00773
DISENOS GRAFICOS                              PO BOX 1871                                                                                                       CAROLINA       PR      00984
DISENOS PRISMA                                257 ADUANA ST SUITE 266                                                                                           MAYAGUEZ       PR      00681
DISENOS Y CONSTRUCCIONES DBA                  PMB 362 425                                       CARR 693 SUITE 1                                                DORADO         PR      00646‐4802
DISH                                          PO BOX 94063                                                                                                      PALATINE       IL      60094‐4063
DISH NETWORK                                  PO BOX 105169                                                                                                     ATLANTA        GA      30348‐5169
DISHMEY DISHMEY, VIOLETA                      ADDRESS ON FILE
DISHMEY DISHMEY, VIOLETA                      ADDRESS ON FILE
DISHMEY MERCADO, SARAH                        ADDRESS ON FILE
DISK MAKER                                    EB‐18 AVE BLVD ARTURO CADILLA LEVITTOWN                                                                           TOA BAJA       PR      00949
DISLA ARIAS, JOSE                             ADDRESS ON FILE
DISLA LOPEZ, LUKEIDY                          ADDRESS ON FILE
DISLA MARTINEZ, LINO                          ADDRESS ON FILE
DISLA MARTINEZ, LINO                          ADDRESS ON FILE
DISLA MATOS, AWILDA M                         ADDRESS ON FILE
DISLA MELENDEZ, MARTA E                       ADDRESS ON FILE
DISLA RODRIGUEZ, HERIBERTO                    ADDRESS ON FILE
DISLA RONDON, TEMISTOCLES                     ADDRESS ON FILE
DISLA SIERRA, GLENYS M                        ADDRESS ON FILE
DISLA VERAS, ARILENYS                         ADDRESS ON FILE
DISLA, BERNARDO H.                            ADDRESS ON FILE
DISPENSARIO BO AMELIA                         PO BOX 7885                                                                                                       GUAYNABO       PR      00970
DISPENSARIO DR ANTHONY VELEZ LA PERLA         LA PERLA                                          61 CALLE SAN MIGUEL                                             SAN JUAN       PR      00901




                                                                                                                           Page 2389 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2390 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                              Address1                                 Address2                                   Address3   Address4   City             State   PostalCode   Country
DISPENSARIO RYDER DE YABUCOA               1 URB MENDEZ                             CALLE MARGINAL LOCAL 3                                           YABUCOA          PR      00767
DISTEX, INC                                405 LEXINGTON AVE FL 26                                                                                   NEW YORK         NY      10174‐2699
DISTRIBUCION EL ACHA INC                   PO BOX 1755                                                                                               MAYAGUEZ         PR      00681‐1755
DISTRIBUCIONES PLAZA MAYOR                 PO BOX 3148                                                                                               GUAYNABO         PR      00970
DISTRIBUIDARA CENTRAL                      PO BOX 8998                                                                                               CAGUAS           PR      00726
DISTRIBUIDORA BLANCO                       PO BOX 192672                                                                                             SAN JUAN         PR      00919‐2672
DISTRIBUIDORA BLANCO , INC.                AVE. LAUREL L ‐ 35 SANTA JUANITA                                                                          BAYAMON          PR      00956‐0000
DISTRIBUIDORA BLANCO INC                   ATT: SRA. TERESINA REYNOSO               PO BOX 192672                                                    SAN JUAN         PR      00919‐2672
DISTRIBUIDORA BLANCO INC                   PO BOX 192672                                                                                             SAN JUAN         PR      00919‐2672
DISTRIBUIDORA BLANCO, INC.                 AVE. LAUREL L‐35 URBSANTA JUANITA        P.O. BOX 192672                                                                   PR      00919‐2672
DISTRIBUIDORA CARIBE                       BOX 475                                                                                                   CATANO           PR      00963
DISTRIBUIDORA CENTRAL                      HC 71 BOX 6902                                                                                            CAYEY            PR      00736
DISTRIBUIDORA CENTRAL                      PO BOX 8998                                                                                               CAGUAS           PR      00726
DISTRIBUIDORA DE COSMETICOS EUROPEOS       VILLAS DE SAN FRANCISCO PLAZA II         87 AVE DE DIEGO SUITE 114                                        SAN JUAN         PR      00927‐6343
DISTRIBUIDORA DE LIBROS                    BOX 361669                                                                                                SAN JUAN         PR      00936
DISTRIBUIDORA DE PROVISIONES               PO BOX 190839                                                                                             SAN JUAN         PR      00919 0839
DISTRIBUIDORA GONZALEZ                     TAMARINDO #32                                                                                             GUAYAMA          PR      00751
DISTRIBUIDORA LAGUAR INC                   PO BOX 270126                                                                                             SAN JUAN         PR      00927
DISTRIBUIDORA LAGUAR INC                   PO BOX 29262                                                                                              SAN JUAN         PR      00929
DISTRIBUIDORA LEBRON                       PO BOX 1333                                                                                               MAYAGUEZ         PR      00681‐1333
Distribuidora Lebron                       PO Box 1333 Mayagüez                                                                                      Mayagüez         PR      00681‐1333
Distribuidora Lebrón                       P O Box 1333                                                                                              Mayaguez         PR      00681‐1333
DISTRIBUIDORA LOS HERMANOS LOPEZ INC       PO BOX 598                                                                                                AGUAS BUENAS     PR      00703
DISTRIBUIDORA NACIONAL DE DISC             CALLE CERRA 606 PDA. 15                                                                                   SANTURCE         PR      00907
DISTRIBUIDORA NORMA                        PO BOX 195040                                                                                             SAN JUAN         PR      00919
DISTRIBUIDORA NORMA , INC.                 P. O. BOX 195040                                                                                          SAN JUAN         PR      00962‐0000
DISTRIBUIDORA PLAZA                        PO BOX 9717                                                                                               SANTURCE         PR      00908
DISTRIBUIDORA TIERRA ADENTRO DBA           JOVANNA FLORES                           HC 02 BOX 4629                                                   COAMO            PR      00769
DISTRIBUIDORA TITAN DE BAYAMON             1275 AVE JESUS T PINEIRO                                                                                  SAN JUAN         PR      00920
DISTRIBUIDORA TITAN DE BAYAMON             PO BOX 338                                                                                                BAYAMON          PR      00960
DISTRIBUIDORA TITAN POWER                  1275 AVE JESUS T PINERO                                                                                   SAN JUAN         PR      00920
DISTRIBUIDORA TITAN POWER                  AVE CENTRAL 1277                         URB CAPARRA TERRACE                                              SAN JUAN         PR      00920
DISTRIBUIDORA TITAN POWER                  CAPARRA TERRACE                          1275 AVE CENTRAL                                                 SAN JUAN         PR      00920
DISTRIBUIDORA TITAN POWER INC              1277 AVE JESUS T PINERO                                                                                   SAN JUAN         PR      00920
DISTRIBUIDORA TITAN POWER, INC.            AVENIDA CENTRAL 1277 URB. CAPARRA TERRACE                                                                 SAN JUAN         PR      00920‐0000
DISTRIBUIDORES CAMPOBELLO INC              420 CALLE JUAN KALAF SUITE 200                                                                            SAN JUAN         PR      00918‐1314
DISTRIBUIDORES CAMPOBELLO INC              A/C; VANESSA VELEZ                       PO BOX 191118                                                    SAN JUAN         PR      00919‐1118
DISTRIBUTORS TECH INC                      2437 PASEO PERLA DEL SUR                                                                                  PONCE            PR      00717‐0661
DISTRICT HEALTH CENTER                     321 WEST GIRARD AVE                                                                                       PHILADELPHIA     PA      19123
DISTRICT HOTEL COMPANY LLC / HYATT         HOUSE SAN JUAN                           615 AVE FERNANDEZ JUNCOS                                         SAN JUAN         PR      00907
DISTRICT HOTEL COMPANY, LLC                615 FERNANDEZ JUNCOS                                                                                      SAN JUAN         PR      00907
DISTRICT HOTEL PARTNERS LLC                580 AVE FERNANDEZ JUNCOS                                                                                  SAN JUAN         PR      00907
DISTRITO CARIBE DE CONSERVACION DE SUELO   OFICINA B 19 PLAZA                                                                                        JUANA DIAZ       PR      00795
DITREN ACOSTA, YOANI                       ADDRESS ON FILE
DIV EMP PUBLICOS UGT                       PO BOX 29247                                                                                              SAN JUAN         PR      00929
DIVA M BAZROUK ROMERO                      URB BRISAS DE CANOVANAS                  148 CALLE ALONDRA                                                CANOVANAS        PR      00729‐3019
DIVA MARIE BAZROUK ROMERO                  148 CALLE ALONDRA BRISAS DE CANOVANAS                                                                     CANOVANAS        PR      00729‐3019
DIVAD DAVID LUNA ORTIZ / DAVID LUNA        PO BOX 421                                                                                                CAYEY            PR      00736
DIVAS NAILS & SALON                        VALLES DE GUAYAMA                        C7 CALLE 2                                                       GUAYAMA          PR      00784
DIVEDCO RENTAL INC                         PO BOX 10435                             CAPARRA HEIGHTS STATION                                          SAN JUAN         PR      00922
DIVEDCO RENTAL INC                         PO BOX 2351                                                                                               TOA BAJA         PR      00951
DIVERSE AYALA, JOSE                        ADDRESS ON FILE
DIVERSE AYALA, JOSE E.                     ADDRESS ON FILE
DIVERSE ECHEVARRIA, OLGA                   ADDRESS ON FILE
DIVERSE PIERLUISSI, MARTA                  ADDRESS ON FILE
DIVERSE TORRES, BEVERLY                    ADDRESS ON FILE
DIVERSIFIED COLLECTION SERV                AREA DEL TESORO                          DIV DE CONTADURIA GENERAL                                        SAN JUAN         PR      00902
DIVERSIFIED COLLECTION SERV                DEPT DE EDUCACION                        PO BOX 190759                                                    SAN JUAN         PR      00919‐0759
DIVERSIFIED COLLECTION SERVICES, INC.      333 NORTH CANYONS PARKWAY, SUITE 100                                                                      LIVERMORE        CA      94551‐7661
DIVERSIFIED COMPUTER SERVICES              PO BOX 2199                                                                                               KENOSHA          WI      53141‐2199




                                                                                                                Page 2390 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2391 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                       Address1                                 Address2                                  Address3   Address4   City              State   PostalCode   Country
DIVERSIFIED DISTRIBUTORS INC        FLAMBOYAN GARDENS                        P O BOX 8238                                                    BAYAMON           PR      00960
DIVERSIFIED EQUIPMENT CORP          P O BOX 2439                                                                                             TOA BAJA          PR      00951‐2439
DIVERSIFIED GREEN ENERGY INC        PASEO LAS OLAS                           373 CALLE SABALO                                                DORADO            PR      00646‐4656
DIVERSIFIED MANAGEMENT & AND        CONSULTING SERVICE INC. APDO.3           G AVE.PONCE DE LEON 1510                                        SANTURCE          PR      00910
DIVERSIFIED MARINE INTERNATIONAL    PO BOX 464                                                                                               CATANO            PR      00963‐0464
DIVERSIFIED TELECOMM GROUP          P.O.BOX 29245                                                                                            SAN JUAN          PR      00929‐0245
DIVERSIFIED TELECOMM GROUP, INC.    PO BOX 29245                                                                                             SAN JUAN          PR      00929‐0245
DIVERSION Y ALEGRIA INFANTIL, INC   CALLE CANAL #178                         LA PUNTILLA                                                     CATANO            PR      00962
DIVERSION Y ALEGRIA INFANTIL, INC   HC 02 BOX 9444                                                                                           GUAYNABO          PR      00971
DIVERSION Y ALEGRIA INFANTIL, INC   URB. VISTA DEL MORRO                     F 6 CALLE BRAZIL                                                CATANO            PR      00962
DIVERSITECH INC                     COND LAS TORRES                          EDIF SUR SUITE 5A                                               BAYAMON           PR      00960
DIVERSITECH INC                     PO BOX 2398                                                                                              BAYAMON           PR      00960
DIVERSITY FOUNDATION INC            1486 FRANKLIN DE ROOSEVELT STE 606                                                                       SAN JUAN          PR      00920‐2738
DIVERSITY GLOBAL GROUP              RR ‐ 8 BOX 1995 PMB 54                                                                                   BAYAMON           PR      00954
DIVI PORTABELLA, XAVIER             ADDRESS ON FILE
DIVIDU JIMENEZ, FRANCISCO           ADDRESS ON FILE
DIVIDU MIRANDA, GLORIA              ADDRESS ON FILE
DIVINA MARCUCCI CRUZ                APARTADO 470                                                                                             PENUELAS          PR      00624‐0470
DIVINA PEREZ MUNOZ                  URB BELLO MONTE                          D 42 CALLE 16                                                   GUAYNABO          PR      00969
DIVINE CHILDREN CORP                URB DORADO DEL MAR G22 CALLE AZULES DEL MAR                                                              DORADO            PR      00646
DIVINE MELODY INC                   307 CALLE RECINTO SUR                                                                                    SAN JUAN          PR      00901
DIVINO NINO DAY CARE                116 CALLE ISMAEL RIVERA                                                                                  SAN JUAN          PR      00911
DIVINO NINO MEDICAL TRANSPORT INC   P O BOX 1334                                                                                             SANTA ISABEL      PR      00757
DIVISION CARIBE GROLIER INC         FERNANDE3Z JUNCOS STA                    PO BOX 8317                                                     SAN JUAN          PR      00910‐8317
DIVISION CARIBE GROLIER INC         PO BOX 71307                                                                                             SAN JUAN          PR      00936
DIVISION CARIBE GROLIER INC         PONCE DE LEON LM 9 PDA 23                1603 COBIAN PLAZA                                               SAN JUAN          PR      00910
DIVISON ROBERT, OCTAVIO             ADDRESS ON FILE
DIWOOD CORP                         P O BOX 8727                                                                                             SAN JUAN          PR      00910‐8727
DIXI INDUSTRIAL                     P O BOX 1292                                                                                             SAN LORENZO       PR      00754
DIXIE CABAN ACOSTA                  ADDRESS ON FILE
DIXIE CABAN ACOSTA                  ADDRESS ON FILE
DIXIE CENTENO GARCIA                ADDRESS ON FILE
DIXIE ENID VIERA RAMOS              ADDRESS ON FILE
DIXIE L MARQUEZ ROSARIO             ADDRESS ON FILE
DIXON ESCALANTE RIVERA              ADDRESS ON FILE
DIXON MARTINEZ VELAZQUEZ            ADDRESS ON FILE
DIXON ORTIZ LOPEZ                   ADDRESS ON FILE
DIXON RIVERA GARCIA                 ADDRESS ON FILE
DIXON SANTIAGO BONILLA              POR DERECHO PROPIO                       INSTITUCION GUERRERO 1B‐8 PO BOX 3999                           AGUADILLA         PR      00605
DIXON SELLES MD, PAUL               ADDRESS ON FILE
DIXSON ACOSTA RUIZ                  ADDRESS ON FILE
DIZZYMARYS GARCIA VELAZQUEZ         ADDRESS ON FILE
DJ JOHNNY & MUSIC SOUND             BO DULCE                                 52 CALLE RAMON BAYRON                                           MAYAGUEZ          PR      00680
DJNH WIRELESS INC                   2262 AVE BORINQUEN                                                                                       SAN JUAN          PR      00915‐4421
DJS MAT INC                         PO BOX 364588                                                                                            SAN JUAN          PR      00936‐4588
DJW RENTAL EQUIPMENT                HC 1 BOX 29030 PMB 198                                                                                   CAGUAS            PR      00725‐8900
D'KASA REALTY INC                   D9 VILLA BEATRIZ                                                                                         MANATI            PR      00674‐5547
DLA PIPER US LLP                    1200 NINETEENTH STREET NW                                                                                WASHINGTON        DC      20036‐2412
DLA PIPER US LLP                    6225 SMITH AVENUE                                                                                        BALTIMORE         MD      21209
DLAURIMAR ASSOCIATES, LLC           HC‐1 BOX 14478                                                                                           AGUADILLA         PR      00603‐9385
DLC Locks & Door Services, Inc.     PO BOX 4561                                                                                              CAROLINA          PR      00984‐4561
D'LIMA RODRIGUEZ, RICHARD           ADDRESS ON FILE
DLM CONTRACTORS, INC.               HC‐61 BOX 4859                                                                                           TRUJILLO ALTO     PR      00976
DLR MANAGMENT PROPERTY INC          VILLA LOS OLMOS                          20 CALLE 2                                                      SAN JUAN          PR      00927 4630
DM FACILITIES SERVICES INC          VILLAS DE SAN CRISTOBAL II               343 CALLE CORDIA                                                LAS PIEDRAS       PR      00771
DM HANDYMAN CORP                    PMB 148 BOX 8700                                                                                         CAROLINA          PR      00988
DM JM & HARRIS                      398 AVE JESUS T PINERO                                                                                   SAN JUAN          PR      00918‐4049
DM WIRELESS                         Highway 149 KM 1.9                                                                                       MANATÍ            PR      00674
DM WIRELESS                         RR 02 BOX 6147                                                                                           MANATÍ            PR      00674
D'MART INSTITUTE INC                PO BOX 373517                                                                                            CAYEY             PR      00737




                                                                                                        Page 2391 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2392 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                         Address1                                  Address2                                  Address3   Address4   City              State   PostalCode   Country
DMC GROUP INC                         PMB 333                                   425 CARR 693                                                    DORADO            PR      00646‐4802
DMC IMAGING INTERPRETATION PSC        PO BOX 1659                                                                                               HATILLO           PR      00659‐8659
DMF CONSULTING GROUP CORP             URB RIO GRANDE ESTATES                    CALLE 33 FF 28                                                  RIO GRANDE        PR      00745
DMG CONSULTING                        PO BOX 22108                                                                                              SAN JUAN          PR      00931
DMI MEDICAL INC                       4611 S UNIVERSITY DR SUITE 435                                                                            DAVIE             FL      33328
DMR DATA AND POWER                    PMB 402 P O BOX 6400                                                                                      CAYEY             PR      00736
DMR TECHNOLOGIES INC                  PMB 402 P O BOX 6400                                                                                      CAYEY             PR      00736
DMRA LLC                              COND VILLAS DEL MONTE                     6050 CARR 844 APT 8                                             SAN JUAN          PR      00926
DMT EXPRESS INC                       1353 AVE LUIS VIGOREAUX PMB 449                                                                           GUAYNABO          PR      00966‐2715
DMT TRANSPORT INC                     GARDENS HILLS PLAZA                       1353 AVE LUIS VIGOREAUX PMB 564                                 GUAYNABO          PR      00966
DMT TRANSPORT INC                     VILLA CAPARRA                             37 CALLE J                                                      GUAYNABO          PR      00966
DN GOVERNMEN SOLUTION GROUP INC       P O BOX 3667                                                                                              GUAYNABO          PR      00970‐3667
DNARVARTE MERCADO, BEATRIZ            ADDRESS ON FILE
DNG INC                               CALLE CONFESOR JIMENEZ 1                  COMUNIDAD GONZALEZ                                              SAN SEBASTIAN     PR      00685
D'NORIEGA VEGA, RODOLFO               ADDRESS ON FILE
DNP ENTERPRISES CORP                  PO BOX 9632                                                                                               CAROLINA          PR      00988‐9632
DNS TRANSPORT INC                     PO BOX 990                                                                                                COROZAL           PR      00783‐0990
DOBAO CEDENO, MICHELLE                ADDRESS ON FILE
DOBEK BARREIRO, EDUARDO J             ADDRESS ON FILE
Dobek Flores, Damaris Z               ADDRESS ON FILE
DOBLE A JUVENIL DE BARCELONETA CORP   BO MAGUEYES                               18 CALLE DEL CENTRO                                             BARCELONETA       PR      00617‐3138
DOBLE BRAVO, JAVIER                   ADDRESS ON FILE
DOBLE DAVILA, FRANCISCO               ADDRESS ON FILE
DOBLE JUSTINIANO, RAMON               ADDRESS ON FILE
DOBLE MENDEZ, AIDA                    ADDRESS ON FILE
DOBLE MONTALVO, MARITZA               ADDRESS ON FILE
DOBLE RIVERA, AMAURY                  ADDRESS ON FILE
DOBLE RIVERA, AMAURY J                ADDRESS ON FILE
DOBLE ROMAN, JUDITH                   ADDRESS ON FILE
DOBLE SALICRUP, LYNN                  ADDRESS ON FILE
DOBLE SANTIAGO, CARMEN M              ADDRESS ON FILE
DOBLE SEIS SPORT TV & RESTAURANT      179 MANSIONES MONTE VERDE                                                                                 CAYEY             PR      00737
DOBLE SEIS SPORT TV & RESTAURANT      PO BOX 353                                                                                                ARECIBO           PR      00613
DOBLE YARZAGARAY, JOSE F.             ADDRESS ON FILE
DOBLE YARZAGARAY, LUZAIDA             ADDRESS ON FILE
DOBROWOLSKI, JAN J.                   ADDRESS ON FILE
DOBRYNA ACEVEDO ZAMOT                 ADDRESS ON FILE
DOBSON BROWN, ROBERT D                ADDRESS ON FILE
DOBSON MARTIN, ALLIE L                ADDRESS ON FILE
DOCKSIDE SEAFOOD INC                  JULIA INDUSTRIAL PARK                     913 AVE ESCORIAL STE 2                                          GUAYNABO          PR      00920
DOCOMOMO PUERTO RICO                  ADDRESS ON FILE
DOCTOR CARTRIDGE                      PMB 403 P O BOX 1345                                                                                      TOA ALTA          PR      00954‐1345
DOCTOR CENTER X RAY INC               PO BOX 4437                                                                                               CAROLINA          PR      00984
DOCTOR CLOCK                          C‐8 CALLE 3 HACIENDA DE CARRAIZO 2                                                                        SAN JUAN          PR      00926
DOCTOR EXPRESS HEALTH SYSTEM, LLC     TORRE DE AUXILIO MUTUO                    735 AVE PONCE DE LEON STE 715                                   SAN JUAN          PR      00917‐5030
DOCTOR S HOSPITAL                     P O BOX 277520                                                                                            ATLANTA           GA      30384‐7520
DOCTORA ROJAS ALMONTE                 PO BOX 140                                                                                                HUMACAO           PR      00792
DOCTOR'S ANESTHESIA ASSOC             1500 SAN REMO AVENEUE # 285                                                                               MIAMI             FL      33146
DOCTORS CANCER CENTER                 PMB PO BOX 30500                                                                                          MANATI            PR      00674
DOCTORS CANCER CENTER BAYAMON         1995 EDIF METRO MEDICAL CENTER            TORRE B STE 701 CARR 2                                          BAYAMON           PR      00959‐5060
DOCTORS CARE AIKEN NORTH              MEDICAL RECORDS                           1029 YORK STREET                                                AIKEN             SC      29801
DOCTOR'S CENTER                       METRO MEDICAL CENTER 1995 CARR. 2 SUITE 2701                                                              BAYAMON           PR      00959‐2701
DOCTORS CENTER ARECIBO                PO BOX 140399                                                                                             ARECIBO           PR      00614‐0399
DOCTORS CENTER CLINIC                 PLAZA DORADA SHOPPING                     CARR 693 OFICINA #24                                            DORADO            PR      00646
DOCTORS CENTER HOSPITAL               PO BOX 11338                                                                                              SAN JUAN          PR      00910‐3428
DOCTORS CENTER HOSPITAL               URB ESTANCIAS DE FLORIDA                  146 CALLE HELANI                                                BARCELONETA       PR      00617
DOCTORS CENTER HOSPITAL SAN JAUN      PO BOX 11338                                                                                              SAN JUAN          PR      00910‐3428
DOCTORS CHOICE MEDICAL CENTER         MEDICAL RECORDS                           3472 FOREST HILL BLVD                     SUITE 2C              WEST PALM BEACH   FL      33406
DOCTORS DELTA OB GYN GROUP            PO BOX 1090                                                                                               MANATI            PR      00674
DOCTORS FAMILY CLINIC                 4901 PALM BEACH BLVD STE 13                                                                               FORT MYERS        FL      33905




                                                                                                           Page 2392 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2393 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                           Address1                           Address2                                   Address3    Address4   City                State   PostalCode   Country
DOCTOR'S M. CENTER                      CALLE HIPODROMO # 800 PDA 20                                                                         SANTURCE            PR      00909‐0000
DOCTORS ON DUTY                         VITRAGO MALL                                                                                         CHARLOTTE AMALI     VI      00802
DOCTORS WALKIN CLINIC                   13210 BRUCE B DOWNS BLVD                                                                             TAMPA               FL      33612
DOCUMENT COMPANY                        MSC 848                            138 AVE WINSTON CHURCHILL                                         SAN JUAN            PR      00926
DOCUMENT COMPANY                        MSC 848 WINSTON CHURCHILL 138                                                                        SAN JUAN            PR      00926‐6023
DOCUMENT COMPANY                        URB SANTA JUANITA                  AVE LAUREL GA 11                                                  BAYAMON             PR      00960
DOCUMENT COMPANY
DOCUMENT CONTROL PROCESSING             PO BOX 55156                                                                                         BAYAMON             PR      00960‐
DOCUMENT CONTROL SYSTEM PROCESSING INC PO BOX 55156                                                                                          BAYAMON             PR      00960‐4156
DOCUMENT CONTROL SYSTEM, INC.           PO BOX 11861                                                                                         SAN JUAN            PR      00922‐1861
DOCUMENT CONTROL SYSTEMS PROCESSING     PO BOX 11861                                                                                         SAN JUAN            PR      00922
DOCUMENT CONTROL SYSTEMS PROCESSING, IN PO BOX 11861                                                                                         SAN JUAN            PR      00922‐1861
Document Control Systems, Inc.          P O Box 55156                                                                                        Bayamón             PR      00960‐4156
DOCUMENT CONTROL SYSTEMS, INC.          P O BOX 55156                                                                                        BAYAMON             PR      00960‐4156
DOCUMENT CONTROL SYSTEMS, INC.          PO BOX 55156                                                                                         BAYAMON PR          PR      00960
DOCUMENT MANAGEMENT SOLUTIONS INC       CENTRO INTERNATIONAL DE MERCADEO   TORRE II STE 405                                                  GUAYNABO            PR      00968
DOCUMENT SOLUTIONS PARTNERS INC         MANSION DEL MAR                    11 15 VIA AZURE                                                   TOA BAJA            PR      00949
DOCUMENT SUPPORT INC                    LA VILLA DE TORRIMAR               471 CALLE REY GUSTAVO                                             GUAYNABO            PR      00969
DOCUMENT SUPPORT INC.                   URB. COUNTRY CLUB                  CALLE 420 M‐M‐7                                                   CAROLINA            PR      00982
DOCUMENTALLES EL UMBRAL                 COND VILLA CAPARRA PLAZA           225 CARR 2 APT 904                                                GUAYNABO            PR      00966
DODANID CARDONA MEDINA                  ADDRESS ON FILE
DODD SEGUI, WILLIAM                     ADDRESS ON FILE
DOEL A MIRANDA RODRIGUEZ                ADDRESS ON FILE
DOEL A RODRIGUEZ ACOSTA                 ADDRESS ON FILE
DOEL BURGOS HERNANDEZ                   ADDRESS ON FILE
DOEL BURGOS MEJIAS                      ADDRESS ON FILE
DOEL CARTAGENA HERNANDEZ                ADDRESS ON FILE
DOEL FRESSE ALVAREZ                     ADDRESS ON FILE
DOEL L COLON MARTINEZ                   ADDRESS ON FILE
DOEL ORTIZ MARTINEZ                     ADDRESS ON FILE
DOEL ORTIZ MARTINEZ                     LCDA. MIRLA RODRÍGUEZ MARÍN        EXECUTIVE HALL 441                         SUITE 157              PONCE               PR      00717
DOEL PEREZ ROLON/ DPR TECHNOLOGIES      URB VISTAMAR                       J 673 AVE PONTEZUELA                                              CAROLINA            PR      00983
DOEL R QUINONEZ NUNEZ                   ADDRESS ON FILE
DOEL RODRIGUEZ TORRES                   ADDRESS ON FILE
DOEL SANTIAGO CARTAGENA                 ADDRESS ON FILE
DOEL SOTERO IRIZARRY                    ADDRESS ON FILE
DOEL TORRES MONTANEZ                    ADDRESS ON FILE
DOEL VAZQUEZ LUGO                       ADDRESS ON FILE
DOEL VAZQUEZ LUGO                       ADDRESS ON FILE
DOELTER BAEZ, FRANCISCO                 ADDRESS ON FILE
Doelter Baez, Francisco J               ADDRESS ON FILE
DOELTER BAEZ, MAYRA R                   ADDRESS ON FILE
Doelter Baez, Roberto                   ADDRESS ON FILE
DOERFEL, JOHN                           ADDRESS ON FILE
DOGGIES & FRIEND SPA GROON              PO BOX 50459                                                                                         TOA BAJA            PR      00950‐0459
DOHANIE SEIN MORALES                    ADDRESS ON FILE
DOHNE VILA, HANS                        ADDRESS ON FILE
DOHNEERT DIAZ, REBECCA                  ADDRESS ON FILE
DOHNERT COLON, SANDRA                   ADDRESS ON FILE
DOHNERT DIAZ, DEBORAH                   ADDRESS ON FILE
DOHNERT GRILLASCA, ENID                 ADDRESS ON FILE
DOHNERT MARTINEZ, RAYMOND               ADDRESS ON FILE
DOHNERT OLIVIERI, PEDRO                 ADDRESS ON FILE
DOHNERT OLIVIERI, PEDRO A.              ADDRESS ON FILE
DOHNERT OLIVIERI, REBECA                ADDRESS ON FILE
DOI ‐ USGS                              BOX 70934                                                                                            CHARLOTTE           NC      28272‐0934
DOI ‐ USGS                              BOX 71362                                                                                            PHILADELPHIA        PA      19176‐1362
DOITTEAU MORALES, ELIAS                 ADDRESS ON FILE
DOITTEAU TIRADO, PERFECTA               ADDRESS ON FILE
DOK HEALTH SERVICES PSC                 PO BOX 16726                                                                                         SAN JUAN            PR      00908‐6726




                                                                                                       Page 2393 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2394 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                            Address1                  Address2                                       Address3       Address4   City          State   PostalCode   Country
DOLAGARAY BALADO, GISELA                 ADDRESS ON FILE
DOLAGARAY LOPEZ, OLGA I                  ADDRESS ON FILE
DOLAGARAY, MARIA                         ADDRESS ON FILE
DOLAN FAMILY HEALTH CENTER               284 PULASKI RD                                                                                     GREENLAWN     NY      11740‐1602
DOLDYS NIEVES MORALES                    ADDRESS ON FILE
DOLEO HENRIQUEZ, JANET                   ADDRESS ON FILE
DOLEO LORA, AMBIORIS E                   ADDRESS ON FILE
D'OLEO MERCED, KARLA M.                  ADDRESS ON FILE
DOLIMER N GONZALEZ FRAGUADA              ADDRESS ON FILE
DOLIS BRITO, PABLO                       ADDRESS ON FILE
DOLIZA E ROMAN ACEVEDO                   ADDRESS ON FILE
DOLKYS VAZQUEZ MATOS                     ADDRESS ON FILE
DOLLAR RENT A CAR
DOLLY A RIVERA Y JORGE RIVERA,EVELYN FDZ ADDRESS ON FILE
DOLLY COLON MALDONADO                    ADDRESS ON FILE
DOLLY CRESPO                             ADDRESS ON FILE
DOLLY E TORRES TORRES                    ADDRESS ON FILE
DOLLY E VAZQUEZ RODRIGUEZ                ADDRESS ON FILE
DOLLY M GARCIA CABALLERO                 ADDRESS ON FILE
DOLMA IRIZARRY GONZALEZ                  ADDRESS ON FILE
DOLMARIE CANA ALVAREZ                    ADDRESS ON FILE
DOLORES ALEJANDRINO CRUZ                 ADDRESS ON FILE
DOLORES ALICEA SANTOS                    ADDRESS ON FILE
DOLORES ALMENA CASTRO                    ADDRESS ON FILE
DOLORES BELTRAN GUZMAN                   ADDRESS ON FILE
DOLORES CHINEA NIEVES                    ADDRESS ON FILE
DOLORES COLON CRUZ                       ADDRESS ON FILE
DOLORES CORTES TORRES                    ADDRESS ON FILE
DOLORES CORTES VALENTIN                  ADDRESS ON FILE
DOLORES DE JESUS ALVAREZ                 ADDRESS ON FILE
DOLORES DE LA CRUZ                       ADDRESS ON FILE
DOLORES DEL C DIAZ/ ILEANA B DIAZ        ADDRESS ON FILE
DOLORES E FIGUEROA NEGRON                ADDRESS ON FILE
DOLORES ENCARNACION CASTR                ADDRESS ON FILE
DOLORES ENCARNACION CASTR                ADDRESS ON FILE
DOLORES ENCARNACION DBA TRANSPORTE ESCOBO. CACAO HC 02 BOX 14615                                                                            CAROLINA      PR      00987‐0000
DOLORES FELIX RIVERA                     ADDRESS ON FILE
DOLORES FIGUEROA MERCADO                 ADDRESS ON FILE
DOLORES GARCIA CAMILO                    ADDRESS ON FILE
DOLORES GOMEZ DE JESUS                   ADDRESS ON FILE
DOLORES GONZALEZ MALDONADO               ADDRESS ON FILE
DOLORES GONZALEZ NEGRON                  ADDRESS ON FILE
DOLORES H CAO GARCIA                     ADDRESS ON FILE
DOLORES IRIZARRY PEREZ                   ADDRESS ON FILE
DOLORES IRIZARRY VELEZ                   ADDRESS ON FILE
DOLORES K BERMUDEZ VIRUET                ADDRESS ON FILE
DOLORES LOPEZ LOPEZ                      ADDRESS ON FILE
Dolores Lopez Matos/H.SANCHEZ CINTRON    ADDRESS ON FILE
DOLORES LOZADA OYOLA                     ADDRESS ON FILE
DOLORES LUGO                             ADDRESS ON FILE
DOLORES M RODRIGUEZ FELIX                ADDRESS ON FILE
DOLORES MARTINEZ AYALA                   ADDRESS ON FILE
DOLORES MERCED MIRABAL                   CESAR LUGO CARDONA        DIVISIÓN DE SERVICIOS LEGALES                  PO BOX 70199              SAN JUAN      PR      00936‐8190
DOLORES MONTALVO ORTIZ                   ADDRESS ON FILE
DOLORES MORALES SANTIAGO                 ADDRESS ON FILE
DOLORES NARVAEZ ROSARIO                  ADDRESS ON FILE
DOLORES PARRILLA                         ADDRESS ON FILE
DOLORES RAMOS CLAUDIO                    ADDRESS ON FILE
DOLORES RODRIGUEZ DE ORONOZ              ADDRESS ON FILE
DOLORES RODRIGUEZ MALDONADO              ADDRESS ON FILE




                                                                                                   Page 2394 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2395 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                              Address1                  Address2                            Address3   Address4   City           State   PostalCode   Country
DOLORES ROSARIO PEREZ                      ADDRESS ON FILE
DOLORES SANCHEZ HERNANDEZ                  ADDRESS ON FILE
DOLORES SANTIAGO ROSARIO                   ADDRESS ON FILE
DOLORES SANTOS PEREZ                       ADDRESS ON FILE
DOLORES SANTOS PEREZ                       ADDRESS ON FILE
DOLORES SANTOS VELAZQUEZ                   ADDRESS ON FILE
DOLORES SERRANO SANCHEZ                    ADDRESS ON FILE
DOLORES SERVICE STATION INC & AUTO PARTS   PO BOX 910                                                                          CANOVANAS      PR      00729
DOLORES SERVICES STA ESSO                  P O BOX 910                                                                         CANOVANAS      PR      00729
DOLORES SUAREZ BENITEZ                     ADDRESS ON FILE
DOLORES ZAYAZ RIVERA                       ADDRESS ON FILE
DOLYS CONCEPCION AGUAYO                    ADDRESS ON FILE
DOLZ SANCHEZ, LETICIA                      ADDRESS ON FILE
DOLZ SOTOMAYOR, EDNA                       ADDRESS ON FILE
DOLZ SOTOMAYOR, EDNA I                     ADDRESS ON FILE
DOM MART CORP                              6 CALLE PEDRO MONCLOVA                                                              JUANA DIAZ     PR      00795
DOM MART CORP                              URB CROWN HLS             1753 CALLE GUAMANI                                        SAN JUAN       PR      00926‐6038
DOMCAR VELAZQUEZ RIVERA                    ADDRESS ON FILE
DOMEMECH ENCARNACION, GRISELLE             ADDRESS ON FILE
DOMENA BORRERO, ANA R                      ADDRESS ON FILE
DOMENA CORDERO, JORGE                      ADDRESS ON FILE
DOMENA CORTES, MARIA G                     ADDRESS ON FILE
DOMENA DRUZ, VICTOR E                      ADDRESS ON FILE
DOMENA LIMA, GERMAN J                      ADDRESS ON FILE
DOMENA MENDEZ, KARLA E                     ADDRESS ON FILE
DOMENA MENDEZ, LUANNE                      ADDRESS ON FILE
DOMENA NIEVE, GRESHEN                      ADDRESS ON FILE
DOMENA ORAMA, LILLIAM                      ADDRESS ON FILE
Domena Rios, Jose F                        ADDRESS ON FILE
Domena Rios, Susana                        ADDRESS ON FILE
Domena Rios, Victor M                      ADDRESS ON FILE
DOMENA RODRIGUEZ, CARMEN                   ADDRESS ON FILE
DOMENA TORRES, NELSON                      ADDRESS ON FILE
DOMENA TORRES, ORLANDO                     ADDRESS ON FILE
DOMENA VELEZ, JOSE R.                      ADDRESS ON FILE
DOMENECH ABREU, ARMENGOL                   ADDRESS ON FILE
DOMENECH ABREU, LADETH                     ADDRESS ON FILE
DOMENECH ABREU, LADETH                     ADDRESS ON FILE
DOMENECH ABREU, LUIS A.                    ADDRESS ON FILE
DOMENECH ACEVEDO, MARIBEL                  ADDRESS ON FILE
DOMENECH ALFONZO, CARLOS E                 ADDRESS ON FILE
DOMENECH ALFONZO, ESTRELLA                 ADDRESS ON FILE
DOMENECH ALICEA, JOHANNA                   ADDRESS ON FILE
DOMENECH ALMEYDA, JESUS                    ADDRESS ON FILE
DOMENECH ALVAREZ, DANIEL E                 ADDRESS ON FILE
DOMENECH ARENAS, PEDRO                     ADDRESS ON FILE
DOMENECH ASENCIO, LUIS                     ADDRESS ON FILE
DOMENECH AVILES, IVETTE                    ADDRESS ON FILE
DOMENECH BONILLA, ALEXANDRA B.             ADDRESS ON FILE
DOMENECH BORRERO, YAMARIS                  ADDRESS ON FILE
DOMENECH BULERIN, MARIA M                  ADDRESS ON FILE
Domenech Caban, Jesus M                    ADDRESS ON FILE
DOMENECH CABAN, MYRAIDA                    ADDRESS ON FILE
DOMENECH CARABALLO, RAMON                  ADDRESS ON FILE
DOMENECH CARDIOLOGY GROUP                  PO BOX 194606                                                                       SAN JUAN       PR      00919‐4606
DOMENECH CARRASQUILLO, JULIAN              ADDRESS ON FILE
DOMENECH CARRASQUILLO, NICOLE              ADDRESS ON FILE
DOMENECH COLON, LUZ                        ADDRESS ON FILE
DOMENECH CRESPO, WILLIAM                   ADDRESS ON FILE
DOMENECH CRUZ, IRIS F                      ADDRESS ON FILE




                                                                                          Page 2395 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2396 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
DOMENECH CRUZ, ROXANNA          ADDRESS ON FILE
DOMENECH CRUZ, SANDRA M         ADDRESS ON FILE
DOMENECH CRUZ, ZAIDA B          ADDRESS ON FILE
DOMENECH DAVILA, EDDIE          ADDRESS ON FILE
DOMENECH DAVILA, IDELIZA        ADDRESS ON FILE
DOMENECH DAVILA, MARIA DEL P.   ADDRESS ON FILE
DOMENECH DE LAMBOY, ZULMA I     ADDRESS ON FILE
Domenech De Perez, Aparicia     ADDRESS ON FILE
DOMENECH DE VIERA, VILMA M      ADDRESS ON FILE
DOMENECH DEL PILAR, IVETTE      ADDRESS ON FILE
DOMENECH DEL PILAR, NOELIA      ADDRESS ON FILE
DOMENECH DEL VALLE, YAMILYS H   ADDRESS ON FILE
DOMENECH DOMENECH, FREDDY       ADDRESS ON FILE
DOMENECH DOMENECH, FREDDY       ADDRESS ON FILE
DOMENECH DUPREY, BETHZAIDA      ADDRESS ON FILE
DOMENECH DUPREY, ELIEZER        ADDRESS ON FILE
DOMENECH DUPREY, OTONIEL        ADDRESS ON FILE
DOMENECH EMMANUELLI, LURYAN     ADDRESS ON FILE
DOMENECH EMMANUELLI, LURYAN     ADDRESS ON FILE
DOMENECH ESCOBAR, YAZMIN        ADDRESS ON FILE
DOMENECH ESTELA, LUIS           ADDRESS ON FILE
DOMENECH ESTRELLA, ANGEL        ADDRESS ON FILE
DOMENECH FAGUNDO MD, EDGARD     ADDRESS ON FILE
DOMENECH FELICIANO, DAVID       ADDRESS ON FILE
DOMENECH FERNANDEZ, FRANCISCO   ADDRESS ON FILE
DOMENECH FERNANDEZ, SYLVIA      ADDRESS ON FILE
DOMENECH FLORES, CARMEN G       ADDRESS ON FILE
DOMENECH FLORES, EMMA           ADDRESS ON FILE
DOMENECH FLORES, LUIS           ADDRESS ON FILE
DOMENECH FUENTES, IGNACIO       ADDRESS ON FILE
DOMENECH GONZALEZ, SYLVETTE     ADDRESS ON FILE
DOMENECH GUZMAN, LUIS           ADDRESS ON FILE
DOMENECH HEARING CENTER         207 AVE DOMENECH STE 206                                                         SAN JUAN     PR      00917
DOMENECH HERNANDEZ, AUREA J     ADDRESS ON FILE
DOMENECH HERNANDEZ, JESSEVETH   ADDRESS ON FILE
DOMENECH HERNANDEZ, JOSE        ADDRESS ON FILE
DOMENECH HERNANDEZ, MIRIAM      ADDRESS ON FILE
DOMENECH HERNANDEZ, NANCY       ADDRESS ON FILE
DOMENECH HERNANDEZ, VICTOR      ADDRESS ON FILE
DOMENECH IGARTUA, YANET         ADDRESS ON FILE
DOMENECH LABOY, CARLOS J        ADDRESS ON FILE
DOMENECH LOPEZ, RICHARD         ADDRESS ON FILE
DOMENECH MALDONADO, YAZMIN      ADDRESS ON FILE
DOMENECH MANGUAL, ABIMALEC      ADDRESS ON FILE
DOMENECH MANGUAL, YOLEEDY       ADDRESS ON FILE
DOMENECH MANGUAL,WESLEY         ADDRESS ON FILE
DOMENECH MANSO, LUZ             ADDRESS ON FILE
DOMENECH MANSO, NILDA R         ADDRESS ON FILE
DOMENECH MANSO, NILKA M         ADDRESS ON FILE
DOMENECH MANSO, ROXANA          ADDRESS ON FILE
DOMENECH MARTINEZ, JEANNETTE    ADDRESS ON FILE
DOMENECH MARTINEZ, NANETTE      ADDRESS ON FILE
DOMENECH MARTINEZ, SUZETTE      ADDRESS ON FILE
DOMENECH MEDINA, FRANCHESKA     ADDRESS ON FILE
DOMENECH MERCADO, LISHMAR M     ADDRESS ON FILE
DOMENECH MILLER, JASON          ADDRESS ON FILE
DOMENECH MILLER, KRISTY         ADDRESS ON FILE
DOMENECH MIRANDA, LUIS          ADDRESS ON FILE
Domenech Miranda, Luis R        ADDRESS ON FILE
DOMENECH MIRANDA, LUZ M         ADDRESS ON FILE




                                                                            Page 2396 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2397 of 3500
                                                                                17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                    Address1                  Address2                                    Address3   Address4   City         State   PostalCode   Country
DOMENECH MIRANDA, MICHAEL        ADDRESS ON FILE
DOMENECH MOLINA, JUSTINA         ADDRESS ON FILE
DOMENECH MORALES, LUZ I          ADDRESS ON FILE
DOMENECH MORALES, MILDRED        ADDRESS ON FILE
DOMENECH MUNIZ, EUNICE           ADDRESS ON FILE
DOMENECH NIEVES, MYRNA L.        ADDRESS ON FILE
DOMENECH ORTIZ, JULIO            ADDRESS ON FILE
DOMENECH ORTIZ, NYSHA            ADDRESS ON FILE
DOMENECH ORTIZ, YOSKA            ADDRESS ON FILE
Domenech Pabon, Lydia            ADDRESS ON FILE
DOMENECH PAGAN, ERNESTO          ADDRESS ON FILE
DOMENECH PALACIOS, EDWIN         ADDRESS ON FILE
DOMENECH PALACIOS, JOSE          ADDRESS ON FILE
DOMENECH PALACIOS, JOSE          ADDRESS ON FILE
DOMENECH PEREZ, EVEIRA           ADDRESS ON FILE
DOMENECH PEREZ, HUMBERTO         ADDRESS ON FILE
DOMENECH PIZARRO, LUZ            ADDRESS ON FILE
DOMENECH RAMIREZ, PRISCILLA      ADDRESS ON FILE
DOMENECH RAMOS, CHRISTOPHER      ADDRESS ON FILE
DOMENECH RAMOS, JEAN             ADDRESS ON FILE
DOMENECH RIVERA, ILKYA           ADDRESS ON FILE
DOMENECH RIVERA, LIURMA          ADDRESS ON FILE
DOMENECH RIVERA, NYDIA L         ADDRESS ON FILE
DOMENECH RODRIGUEZ, CORALIS      ADDRESS ON FILE
DOMENECH RODRIGUEZ, EDUARDO      ADDRESS ON FILE
DOMENECH RODRIGUEZ, JOSE L.      ADDRESS ON FILE
DOMENECH RODRIGUEZ, LOREANNE Y   ADDRESS ON FILE
DOMENECH RODRIGUEZ, MARIA T.     ADDRESS ON FILE
DOMENECH RODRIGUEZ, RAFAEL       ADDRESS ON FILE
DOMENECH ROSADO, YAITZA          ADDRESS ON FILE
DOMENECH RUBIO, CARLOS           ADDRESS ON FILE
DOMENECH RUIZ, MARIA             ADDRESS ON FILE
DOMENECH SANABRIA, NORMAN        ADDRESS ON FILE
DOMENECH SANABRIA, NORMAN        ADDRESS ON FILE
DOMENECH SANCHEZ, LISSETTE       ADDRESS ON FILE
DOMENECH SANCHEZ, VICTOR         ADDRESS ON FILE
DOMENECH SANTIAGO, NEFTALI       ADDRESS ON FILE
DOMENECH SECURITY SERVICES       Plaza Alta Suite 185      274 Ave. Santa Ana                                                Guaynabo     PR      00969‐3304
DOMENECH SOBERAL, HERIBERTO      ADDRESS ON FILE
DOMENECH SOTO, PASCASIO          ADDRESS ON FILE
DOMENECH SUAREZ, ZUNEIDA         ADDRESS ON FILE
DOMENECH TALAVERA, LUIS          ADDRESS ON FILE
DOMENECH TOLEDO, SARA            ADDRESS ON FILE
DOMENECH TORRES, ERIC A          ADDRESS ON FILE
DOMENECH TOXICOLOGY INC          P O BOX 2369                                                                                SAN JUAN     PR      00919
DOMENECH TOXICOLOGY INC          PO BOX 192369                                                                               SAN JUAN     PR      00919‐2369
DOMENECH VALE, JAIME             ADDRESS ON FILE
DOMENECH VALE, SOMARIE           ADDRESS ON FILE
DOMENECH VALENTIN, JUDITH        ADDRESS ON FILE
DOMENECH VALENTIN, LOURDES       ADDRESS ON FILE
DOMENECH VASCULAR LAB INC        URB PARQUE CENTRAL        405 CALLE FERNANDO MOTILLA                                        SAN JUAN     PR      00918
DOMENECH VEGA, NOEL              ADDRESS ON FILE
DOMENECH VEGA, ZAIDA             ADDRESS ON FILE
DOMENECH VEGA, ZAIDA             ADDRESS ON FILE
DOMENECH VELAZQUEZ, IVELISSE     ADDRESS ON FILE
DOMENECH VELAZQUEZ, JESSICA      ADDRESS ON FILE
DOMENECH VELAZQUEZ, JESSICA      ADDRESS ON FILE
DOMENECH VELAZQUEZ, MADELYN      ADDRESS ON FILE
DOMENECH VELAZQUEZ, MADELYN      ADDRESS ON FILE
DOMENECH VELAZQUEZ, YADIRA       ADDRESS ON FILE




                                                                                        Page 2397 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2398 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                           Address1                                 Address2                                       Address3   Address4   City         State   PostalCode   Country
Domenech Velez, Luis A                  ADDRESS ON FILE
DOMENECHDAVILA, LUIS A                  ADDRESS ON FILE
DOMENECHFEBRES, ELSA                    ADDRESS ON FILE
DOMENICO FERRARI                        HC 4 BOX 15673                                                                                                CAROLINA     PR      00987
DOMINDO A TORRES PEREZ                  ADDRESS ON FILE
DOMINGA ACEVEDO GARCIA, HERIBERTO SANTIAAARÓN A. FERNÁNDEZ FLORES                53 CALLE ESTEBAN PADILLA STE. 2                                      Bayamón      PR      00961
DOMINGA ALAMO CANALES                   ADDRESS ON FILE
DOMINGA ALAMO MORALES                   ADDRESS ON FILE
DOMINGA COTTO CANALES                   ADDRESS ON FILE
DOMINGA GONZALEZ ARROYO                 ADDRESS ON FILE
DOMINGA GONZALEZ ROLDAN                 ADDRESS ON FILE
DOMINGA GONZALEZ TORRES                 ADDRESS ON FILE
DOMINGA J GOMEZ CEDANO                  ADDRESS ON FILE
DOMINGA MIRANDA TORRES                  ADDRESS ON FILE
DOMINGA MOSCOSO DE RAMIREZ              ADDRESS ON FILE
DOMINGA MUNOZ LOZADA                    ADDRESS ON FILE
DOMINGA ORTIZ                           ADDRESS ON FILE
DOMINGA REYES POWELL                    ADDRESS ON FILE
DOMINGA RIVERA DE JESUS                 ADDRESS ON FILE
DOMINGA RODRIGUEZ                       ADDRESS ON FILE
DOMINGA ROMAN RIVERA                    ADDRESS ON FILE
DOMINGA SANABRIA SANABRIA               ADDRESS ON FILE
Dominga VillafaNe Colon                 ADDRESS ON FILE
DOMINGO A CONDE CARDONA                 ADDRESS ON FILE
DOMINGO A GONZALEZ RODRIGUEZ            ADDRESS ON FILE
DOMINGO A MOLINELLI OCHART              ADDRESS ON FILE
DOMINGO A POLANCO ESPEJO                ADDRESS ON FILE
DOMINGO A TORRES MUNIZ                  ADDRESS ON FILE
DOMINGO A VELEZ BATTISTINI              ADDRESS ON FILE
DOMINGO ACEVEDO SANTIAGO                ADDRESS ON FILE
DOMINGO AGRONT VALENTIN                 ADDRESS ON FILE
DOMINGO ALBINO VELEZ                    ADDRESS ON FILE
DOMINGO ALEJANDRO RAMOS                 ADDRESS ON FILE
DOMINGO ALEMANY ARANA                   ADDRESS ON FILE
DOMINGO ALTORAN MONTIJO                 ADDRESS ON FILE
DOMINGO ANDINO LOPEZ                    ADDRESS ON FILE
DOMINGO APONTE/ DAISY MALDONADO         ADDRESS ON FILE
DOMINGO ARRIBAS, AVELINA                ADDRESS ON FILE
DOMINGO BORRERO TORRES                  ADDRESS ON FILE
DOMINGO BORRES OTERO                    ADDRESS ON FILE
DOMINGO CARABALLO /BARBARA CARABALLO ADDRESS ON FILE
DOMINGO CARABALLO PACHECO               ADDRESS ON FILE
DOMINGO CARO ELIAS                      ADDRESS ON FILE
DOMINGO CARRASQUILLO GONZALEZ           ADDRESS ON FILE
DOMINGO CARRERO ALEQUIN                 ADDRESS ON FILE
DOMINGO CHAMORRO VELAZQUEZ              ADDRESS ON FILE
DOMINGO CHELEUITTE SAMUR                ADDRESS ON FILE
DOMINGO CINTRO CORTIJO                  ADDRESS ON FILE
DOMINGO COLON RODRIGUEZ                 PARCELAS ALAMAI MARIN CALLE 2 NUM 11‐A                                                                        PONCE        PR      00716
DOMINGO CORDERO VALENTIN                ADDRESS ON FILE
DOMINGO CRESPO SOTO                     ADDRESS ON FILE
DOMINGO CRUZ MENDOZA                    ADDRESS ON FILE
DOMINGO CRUZ SANTIAGO                   ADDRESS ON FILE
DOMINGO CRUZ TORRES                     ADDRESS ON FILE
DOMINGO CRUZ VALENTIN                   ADDRESS ON FILE
DOMINGO DAVID PEREZ                     ADDRESS ON FILE
DOMINGO DE LEON RODRIGUEZ               ADDRESS ON FILE
DOMINGO DELGADO APONTE                  ADDRESS ON FILE
DOMINGO E RIVAS ECHEVARRIA              ADDRESS ON FILE
DOMINGO E SUAREZ SEPULVEDA              ADDRESS ON FILE




                                                                                                              Page 2398 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2399 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DOMINGO EDUARDO CHICON DE PENA   ADDRESS ON FILE
DOMINGO ESCOBAR CLAUSELL         ADDRESS ON FILE
DOMINGO F ACEVEDO BAYRON         ADDRESS ON FILE
DOMINGO FEBLES CRUZ              ADDRESS ON FILE
DOMINGO FERNANDEZ DE JESUS       ADDRESS ON FILE
DOMINGO FIGUEROA RIVERA          ADDRESS ON FILE
DOMINGO G ORAMAS NIVAL           ADDRESS ON FILE
DOMINGO GARCIA DIAZ              ADDRESS ON FILE
DOMINGO GARCIA HERNANDEZ         ADDRESS ON FILE
DOMINGO GIRAU CRUZ               ADDRESS ON FILE
DOMINGO GONZALEZ IGLESIAS        ADDRESS ON FILE
DOMINGO GONZALEZ PERDOMO         ADDRESS ON FILE
DOMINGO GONZALEZ RUBERTE         ADDRESS ON FILE
DOMINGO HERNANDEZ MARRERO        ADDRESS ON FILE
DOMINGO HERNANDEZ MARRERO        ADDRESS ON FILE
DOMINGO J GILORMIWI MERLE        ADDRESS ON FILE
DOMINGO J RIVERA RIVERA          ADDRESS ON FILE
DOMINGO JIMENEZ MUNIZ            ADDRESS ON FILE
DOMINGO L LEDUC SANCHEZ          ADDRESS ON FILE
DOMINGO L TORRES RENTA           ADDRESS ON FILE
DOMINGO LARACUENTE MARTINEZ      ADDRESS ON FILE
DOMINGO MADERA SANTANA           ADDRESS ON FILE
DOMINGO MALDONADO RODRIGUEZ      ADDRESS ON FILE
DOMINGO MARCANO‐RODRIGUEZ        ADDRESS ON FILE
DOMINGO MARIANI ROMAN            ADDRESS ON FILE
DOMINGO MARRERO                  ADDRESS ON FILE
DOMINGO MARTINEZ VELAZQUEZ       ADDRESS ON FILE
DOMINGO MEDINA CASTRO            ADDRESS ON FILE
DOMINGO MEDINA MONTANEZ          ADDRESS ON FILE
DOMINGO MELENDEZ RODRIGUEZ       ADDRESS ON FILE
DOMINGO MELENDEZ VEGA            ADDRESS ON FILE
DOMINGO MENDEZ ILLAS             ADDRESS ON FILE
DOMINGO MERCADO RUIZ             ADDRESS ON FILE
DOMINGO MILLAN RUIZ              ADDRESS ON FILE
DOMINGO MOLINA LASALLE           ADDRESS ON FILE
DOMINGO MONTALVO GUZMAN          ADDRESS ON FILE
Domingo Morales Pabon            ADDRESS ON FILE
DOMINGO MUNIZ COLON              ADDRESS ON FILE
DOMINGO MUNOZ RODRIGUEZ          ADDRESS ON FILE
DOMINGO N PEREZ PLACER           ADDRESS ON FILE
DOMINGO NAZARIO FIGUEROA         ADDRESS ON FILE
DOMINGO NEGRON APONTE            ADDRESS ON FILE
DOMINGO NIEVES RIVERA            ADDRESS ON FILE
DOMINGO NIEVES VAZQUEZ           ADDRESS ON FILE
DOMINGO NUNEZ PEREZ              ADDRESS ON FILE
DOMINGO OLMEDA ROQUE             ADDRESS ON FILE
DOMINGO ORTIZ PUGGI              ADDRESS ON FILE
DOMINGO ORTIZ RODRIGUEZ          ADDRESS ON FILE
DOMINGO PAGAN VELAZQUEZ          ADDRESS ON FILE
DOMINGO PEREZ SANTIAGO           ADDRESS ON FILE
DOMINGO PEREZ Y ALEIDA SOTO      ADDRESS ON FILE
DOMINGO PINEIRO OCASIO           ADDRESS ON FILE
DOMINGO PINERO PEREZ             ADDRESS ON FILE
DOMINGO PINTO RODRIGUEZ          ADDRESS ON FILE
DOMINGO QUIðONES PEREZ           ADDRESS ON FILE
DOMINGO QUILES TORRES            ADDRESS ON FILE
DOMINGO QUINONES PEREZ           ADDRESS ON FILE
DOMINGO QUINONES PEREZ           ADDRESS ON FILE
DOMINGO QUINONES TORRES          ADDRESS ON FILE
DOMINGO R AYALA VELILLA          ADDRESS ON FILE




                                                                             Page 2399 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2400 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                          Address1                              Address2                             Address3               Address4    City             State   PostalCode   Country
DOMINGO RAMOS CRUZ                     ADDRESS ON FILE
DOMINGO RAMOS DBA DR OFFICE FURNITURE VALLES DE CIDRA # 10                                                                                           CIDRA            PR      00739‐0000
DOMINGO RAMOS MUNOZ                    ADDRESS ON FILE
DOMINGO RIOS / GLORIA TIRADO           ADDRESS ON FILE
DOMINGO RIVERA RIOS                    ADDRESS ON FILE
DOMINGO RIVERA SOTO                    ADDRESS ON FILE
DOMINGO RIVERA SOTO                    ADDRESS ON FILE
DOMINGO RIVERA VAZQUEZ                 ADDRESS ON FILE
DOMINGO ROBERTO ARIAS                  ADDRESS ON FILE
DOMINGO RODRIGUEZ LEBRON DBA SMART SERVBDA. BLONDET CARR. 3 CALLE 3 CASA 3                                                                           GUAYAMA          PR      00784‐0000
DOMINGO RODRIGUEZ RUIZ                 ADDRESS ON FILE
DOMINGO ROSADO Y SONIA FERNANDEZ LEBRONADDRESS ON FILE
DOMINGO RUBET VEGA                     JOSE E. PEREZ BURGOS                  Apartado 1062                                                           Guayama          PR      00785
DOMINGO RUIZ CANDELARIA                ADDRESS ON FILE
DOMINGO RUIZ JUSTINIANO                ADDRESS ON FILE
DOMINGO RUIZ ROSADO / PURA ENERGIA INC HC 4 BOX 17568                                                                                                CAMUY            PR      00627‐9501
DOMINGO SALICRUP DE JESUS              ADDRESS ON FILE
DOMINGO SANABRIA LOZADA                ADDRESS ON FILE
DOMINGO SANTANA CORDERO                ADDRESS ON FILE
DOMINGO SANTOS RAFAEL PAGAN PEDRO PAGA ADDRESS ON FILE
DOMINGO SANTOS SANTOS                  ADDRESS ON FILE
DOMINGO SEGUINOT MELENDEZ              ADDRESS ON FILE
DOMINGO SEPULVEDA, MIRIAM              ADDRESS ON FILE
DOMINGO SUED CAUSSADE                  ADDRESS ON FILE
DOMINGO T ORTIZ / MULTI CENTRO         1 A MUNOZ RIVERA                                                                                              BARRANQUITAS     PR      00794
DOMINGO TORRES CINTRON                 ADDRESS ON FILE
DOMINGO TORRES LOPEZ                   ADDRESS ON FILE
DOMINGO TORRES NEGRON                  ADDRESS ON FILE

DOMINGO TORRES TORRES                   LCDA.LIANA COLÓN VALENTÍN            BANCO COOPERATIVO                    623 AVE. Ponce DE LEÓN STE 302 B   SAN JUAN         PR      00917
DOMINGO TORRES, ORLANDO S               ADDRESS ON FILE
DOMINGO UBIERA MONTERO                  ADDRESS ON FILE
DOMINGO URENA PEREZ                     ADDRESS ON FILE
DOMINGO VAZQUEZ RAMIREZ                 ADDRESS ON FILE
DOMINGO VEGA QUINONES                   ADDRESS ON FILE
DOMINGO VILLAFANE RESTO                 ADDRESS ON FILE
DOMINGUEZ AGOSTO, CRISTINA              ADDRESS ON FILE
DOMINGUEZ ALBELO, MARIBEL               ADDRESS ON FILE
DOMINGUEZ ALVAREZ, NICOLAS              ADDRESS ON FILE
DOMINGUEZ APONTE, WILMARIE N            ADDRESS ON FILE
DOMINGUEZ AROCHO, GABRIELA              ADDRESS ON FILE
DOMINGUEZ AUTO SALES INC                PO BOX 29656                         65TH INFANTERIA STA                                                     SAN JUAN         PR      00929
DOMINGUEZ AVILES, LESLIAN               ADDRESS ON FILE
DOMINGUEZ AYALA, AMARILIS               ADDRESS ON FILE
DOMINGUEZ AYALA, AMARILIS               ADDRESS ON FILE
DOMINGUEZ BARRETO, EFRAIN               ADDRESS ON FILE
DOMINGUEZ BATISTA, CRISTINA             ADDRESS ON FILE
DOMINGUEZ BERNIER, MIGDALIA             ADDRESS ON FILE
DOMINGUEZ BETANCOURT, LUCYANN           ADDRESS ON FILE
DOMINGUEZ BOLERIN, JOSE                 ADDRESS ON FILE
DOMINGUEZ BONHOMME, YAHAIRA             ADDRESS ON FILE
DOMINGUEZ BRUNO, ABDIEL                 ADDRESS ON FILE
DOMINGUEZ CABALLERO, CESAR              ADDRESS ON FILE
DOMINGUEZ CABEZUDO, JOAN M              ADDRESS ON FILE
DOMINGUEZ CABRERA, LUIS                 ADDRESS ON FILE
DOMINGUEZ CALDERON, JACQUELINE          ADDRESS ON FILE
DOMINGUEZ CARBALLEA, JACQUELINE         ADDRESS ON FILE
DOMINGUEZ CARMONA, CARMEN               ADDRESS ON FILE
DOMINGUEZ CARMONA, MAXIMINA             ADDRESS ON FILE
DOMINGUEZ CARRASQUILLO, EDUARDO         ADDRESS ON FILE




                                                                                                   Page 2400 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2401 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DOMINGUEZ CARRASQUILLO, JAIME    ADDRESS ON FILE
DOMINGUEZ CARRASQUILLO, LUIS     ADDRESS ON FILE
DOMINGUEZ CARRILLO, RAPHAEL      ADDRESS ON FILE
DOMINGUEZ CASTRO, JUANITA        ADDRESS ON FILE
DOMINGUEZ CASTRO, LOURDIE        ADDRESS ON FILE
DOMINGUEZ CASTRO, OLGA           ADDRESS ON FILE
DOMINGUEZ CAY MD, VICTOR A       ADDRESS ON FILE
DOMINGUEZ CLASS, ALEJANDRO       ADDRESS ON FILE
DOMINGUEZ COLLAZO, CARMEN M.     ADDRESS ON FILE
DOMINGUEZ COLLAZO, LYDIA         ADDRESS ON FILE
DOMINGUEZ COLON, ANTHONY         ADDRESS ON FILE
Dominguez Colon, Anthony         ADDRESS ON FILE
Dominguez Colon, Arline Y        ADDRESS ON FILE
DOMINGUEZ COLON, JOSMARY         ADDRESS ON FILE
DOMINGUEZ COLON, MARISEL         ADDRESS ON FILE
DOMINGUEZ CORREA, JUAN           ADDRESS ON FILE
DOMINGUEZ CORREA, ZOE            ADDRESS ON FILE
DOMINGUEZ CORTES, ANGEL M        ADDRESS ON FILE
DOMINGUEZ CORTES, CAROL          ADDRESS ON FILE
DOMINGUEZ CORTES, YIZELL         ADDRESS ON FILE
DOMINGUEZ COSME, WIDALISE        ADDRESS ON FILE
DOMINGUEZ CRISTOBAL, JUAN A      ADDRESS ON FILE
DOMINGUEZ CRUZ, ARLYN            ADDRESS ON FILE
DOMINGUEZ CRUZ, BEVERLY          ADDRESS ON FILE
DOMINGUEZ CRUZ, CHRISTOPHER      ADDRESS ON FILE
DOMINGUEZ CRUZ, CHRISTOPHER      ADDRESS ON FILE
DOMINGUEZ CRUZ, GLORYANA         ADDRESS ON FILE
DOMINGUEZ CRUZ, MARIA DE L       ADDRESS ON FILE
DOMINGUEZ DALMAU, OMAR G         ADDRESS ON FILE
DOMINGUEZ DAVILA, NELISSA        ADDRESS ON FILE
DOMINGUEZ DE LA CRUZ, ANGEL M.   ADDRESS ON FILE
DOMINGUEZ DE LEON, ADELANIO      ADDRESS ON FILE
Dominguez De Leon, Ramon         ADDRESS ON FILE
DOMINGUEZ DE LLOVIO, LIRA        ADDRESS ON FILE
DOMINGUEZ DIAZ, CARLOS           ADDRESS ON FILE
DOMINGUEZ DIAZ, FRANCISCO        ADDRESS ON FILE
DOMINGUEZ DIAZ, YOLANDA          ADDRESS ON FILE
DOMINGUEZ DOMINGUEZ, JAVIER      ADDRESS ON FILE
Dominguez Dominguez, Mildred     ADDRESS ON FILE
DOMINGUEZ ELEUTICE, IVONNE E     ADDRESS ON FILE
DOMINGUEZ ESCOBAR, ALICIA        ADDRESS ON FILE
DOMINGUEZ FAGUNDO, MARTA         ADDRESS ON FILE
DOMINGUEZ FEBRES, HECTOR         ADDRESS ON FILE
DOMINGUEZ FELIX, BRENDALIZ       ADDRESS ON FILE
DOMINGUEZ FERNANDEZ, ARMIN       ADDRESS ON FILE
DOMINGUEZ FERNANDEZ, NANCY       ADDRESS ON FILE
DOMINGUEZ FERNANDEZ, NANCY       ADDRESS ON FILE
DOMINGUEZ FIGUEROA, ELIZABETH    ADDRESS ON FILE
DOMINGUEZ FIGUEROA, JOEL         ADDRESS ON FILE
DOMINGUEZ FINES, TIFFANI B       ADDRESS ON FILE
DOMINGUEZ FLORES, NORAIDA        ADDRESS ON FILE
DOMINGUEZ FORTIS, JOSE           ADDRESS ON FILE
DOMINGUEZ FUERTES, GUILLERMO     ADDRESS ON FILE
DOMINGUEZ FUERTES, GUILLERMO     ADDRESS ON FILE
DOMINGUEZ FUERTES, ISABEL        ADDRESS ON FILE
DOMINGUEZ GARCIA, FRANKLIN       ADDRESS ON FILE
DOMINGUEZ GINES, TIFFANY         ADDRESS ON FILE
DOMINGUEZ GIRONA, ABELANGEL      ADDRESS ON FILE
DOMINGUEZ GIRONA, ABELANGEL      ADDRESS ON FILE
DOMINGUEZ GONZALEZ, ADA I        ADDRESS ON FILE




                                                                             Page 2401 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2402 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DOMINGUEZ GONZALEZ, DALIA        ADDRESS ON FILE
DOMINGUEZ GONZALEZ, EDMANUEL     ADDRESS ON FILE
DOMINGUEZ GONZALEZ, JORGE L.     ADDRESS ON FILE
DOMINGUEZ GONZALEZ, ORLANDO      ADDRESS ON FILE
DOMINGUEZ GONZALEZ, TERESA M.    ADDRESS ON FILE
DOMINGUEZ HERNANDEZ, HIRAM       ADDRESS ON FILE
DOMINGUEZ HERNANDEZ, MARIANYS    ADDRESS ON FILE
DOMINGUEZ HERNANDEZ, MARTA I     ADDRESS ON FILE
DOMINGUEZ HERNANDEZ, ROSE        ADDRESS ON FILE
DOMINGUEZ HEYLIGER, LU M         ADDRESS ON FILE
DOMINGUEZ IDROVO, BYRON          ADDRESS ON FILE
DOMINGUEZ IRIZARRY, CARMEN G     ADDRESS ON FILE
DOMINGUEZ IRIZARRY, IVELISSE     ADDRESS ON FILE
DOMINGUEZ IRIZARRY, LUZ E        ADDRESS ON FILE
DOMINGUEZ JIMENEZ, LARISSA       ADDRESS ON FILE
DOMINGUEZ JIMENEZ, LYRIC         ADDRESS ON FILE
DOMINGUEZ JIMENEZ, YADIRA        ADDRESS ON FILE
DOMINGUEZ LARA, MARIA S          ADDRESS ON FILE
DOMINGUEZ LOPEZ, CAROLYN         ADDRESS ON FILE
DOMINGUEZ LOPEZ, ISAMARY         ADDRESS ON FILE
DOMINGUEZ LOPEZ, LAURA E         ADDRESS ON FILE
DOMINGUEZ LOPEZ, MINELY          ADDRESS ON FILE
DOMINGUEZ LOPEZ, SARA Y          ADDRESS ON FILE
DOMINGUEZ LOPEZ, XIOMARA         ADDRESS ON FILE
DOMINGUEZ LOURIDO, CARMEN M      ADDRESS ON FILE
DOMINGUEZ LOZADA, ERNESTO A      ADDRESS ON FILE
DOMINGUEZ LOZADA, ERNESTO A      ADDRESS ON FILE
DOMINGUEZ LOZANO, MIRIAM         ADDRESS ON FILE
DOMINGUEZ MALDONADO, JESUS       ADDRESS ON FILE
DOMINGUEZ MARQUEZ, IVY           ADDRESS ON FILE
DOMINGUEZ MARTINEZ, AMELIA       ADDRESS ON FILE
DOMINGUEZ MARTINEZ, BENJAMIN     ADDRESS ON FILE
DOMINGUEZ MARTINEZ, CRISTINA     ADDRESS ON FILE
DOMINGUEZ MARTINEZ, HILKAMIDA    ADDRESS ON FILE
DOMINGUEZ MARTINEZ, HILKAMIDA    ADDRESS ON FILE
DOMINGUEZ MARTINEZ, HILKAMIDA    ADDRESS ON FILE
DOMINGUEZ MARTINEZ, LESLIE E     ADDRESS ON FILE
DOMINGUEZ MARTINEZ, NORA I       ADDRESS ON FILE
DOMINGUEZ MATOS, YAZMIN          ADDRESS ON FILE
DOMINGUEZ MELENDEZ, ALEJANDRA    ADDRESS ON FILE
DOMINGUEZ MELENDEZ, BRENDALIZ    ADDRESS ON FILE
DOMINGUEZ MELENDEZ, DEBORAH      ADDRESS ON FILE
DOMINGUEZ MENDEZ, EFIGENIO       ADDRESS ON FILE
DOMINGUEZ MENDOZA, LORRAINE      ADDRESS ON FILE
DOMINGUEZ MERCADO, MILAGROS      ADDRESS ON FILE
DOMINGUEZ MIRANDA MD, CARLOS E   ADDRESS ON FILE
DOMINGUEZ MIRANDA, EDDA C        ADDRESS ON FILE
DOMINGUEZ MONTANEZ, PABLO        ADDRESS ON FILE
DOMINGUEZ MORALES, BERNARDO      ADDRESS ON FILE
DOMINGUEZ MORALES, JOSEFINA      ADDRESS ON FILE
Dominguez Morales, Luis F.       ADDRESS ON FILE
DOMINGUEZ MORALES, MILAGROS I    ADDRESS ON FILE
DOMINGUEZ MORALES, WALDEMAR      ADDRESS ON FILE
DOMINGUEZ MULERO, AIDYL M        ADDRESS ON FILE
DOMINGUEZ NEGRON, ILSAILEEN      ADDRESS ON FILE
DOMINGUEZ NEGRON, JOANNE M       ADDRESS ON FILE
DOMINGUEZ NIEVES, ENRIQUE        ADDRESS ON FILE
Dominguez Ortiz, Adalberto       ADDRESS ON FILE
DOMINGUEZ ORTIZ, ADALBERTO       ADDRESS ON FILE
DOMINGUEZ ORTIZ, KAREN           ADDRESS ON FILE




                                                                             Page 2402 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2403 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DOMINGUEZ ORTIZ, NICOLE          ADDRESS ON FILE
DOMINGUEZ ORTIZ, SONIA           ADDRESS ON FILE
DOMINGUEZ ORTIZ, WILLIAM S.      ADDRESS ON FILE
DOMINGUEZ OSORIO, ELISA          ADDRESS ON FILE
DOMINGUEZ OTERO, LAURA E         ADDRESS ON FILE
DOMINGUEZ OTERO, MARILYN         ADDRESS ON FILE
DOMINGUEZ PACHECO, JORGE         ADDRESS ON FILE
DOMINGUEZ PACHECO, RICARDO       ADDRESS ON FILE
DOMINGUEZ PAGAN, ANGEL           ADDRESS ON FILE
DOMINGUEZ PAGAN, CARMEN Y.       ADDRESS ON FILE
DOMINGUEZ PAGAN, JOSE M          ADDRESS ON FILE
DOMINGUEZ PAGAN, MARIA DEL C.    ADDRESS ON FILE
DOMINGUEZ PAGAN, NILDA E.        ADDRESS ON FILE
DOMINGUEZ PAGAN, NORMA           ADDRESS ON FILE
DOMINGUEZ PAGAN, NORMA           ADDRESS ON FILE
DOMINGUEZ PAGAN, YATZIRA M.      ADDRESS ON FILE
DOMINGUEZ PARALITICC, DANIEL     ADDRESS ON FILE
DOMINGUEZ PASCUAL MD, MARIA      ADDRESS ON FILE
DOMINGUEZ PASCUAL MD, MARIA S    ADDRESS ON FILE
DOMINGUEZ PASCUAL MD, MILDALIA   ADDRESS ON FILE
DOMINGUEZ PASCUAL, MARIA         ADDRESS ON FILE
DOMINGUEZ PASTORIZA, WILFREDO    ADDRESS ON FILE
DOMINGUEZ PAULINO, SIMON         ADDRESS ON FILE
DOMINGUEZ PENA, CESAR            ADDRESS ON FILE
DOMINGUEZ PERALES, ANA I.        ADDRESS ON FILE
DOMINGUEZ PEREDA, RENATO         ADDRESS ON FILE
DOMINGUEZ PEREZ, FEDERICO        ADDRESS ON FILE
DOMINGUEZ PEREZ, GLORIMAR        ADDRESS ON FILE
DOMINGUEZ PEREZ, GLORIMAR        ADDRESS ON FILE
DOMINGUEZ PEREZ, JAVIER          ADDRESS ON FILE
DOMINGUEZ PINO, MARISOL          ADDRESS ON FILE
DOMINGUEZ PORRATA, VILMARY       ADDRESS ON FILE
DOMINGUEZ PRIETO, GRETCHEN I     ADDRESS ON FILE
DOMINGUEZ RAMOS, ADA I           ADDRESS ON FILE
DOMINGUEZ RAMOS, CARLOS          ADDRESS ON FILE
DOMINGUEZ RAMOS, HECTOR          ADDRESS ON FILE
DOMINGUEZ RAMOS, JUDITH          ADDRESS ON FILE
DOMINGUEZ RAMOS, RAQUEL          ADDRESS ON FILE
DOMINGUEZ RAMOS, SHEYLA          ADDRESS ON FILE
DOMINGUEZ REYES, CHARLIE         ADDRESS ON FILE
DOMINGUEZ REYES, ELENA           ADDRESS ON FILE
DOMINGUEZ REYES, ZULEIKA         ADDRESS ON FILE
DOMINGUEZ RHOENA, ANGELICA       ADDRESS ON FILE
DOMINGUEZ RIOS, CARMEN A         ADDRESS ON FILE
DOMINGUEZ RIOS, MEY L            ADDRESS ON FILE
DOMINGUEZ RIVERA, ADA            ADDRESS ON FILE
DOMINGUEZ RIVERA, ALMA V         ADDRESS ON FILE
DOMINGUEZ RIVERA, ANGEL          ADDRESS ON FILE
DOMINGUEZ RIVERA, ANGELICA       ADDRESS ON FILE
DOMINGUEZ RIVERA, DIOMARY        ADDRESS ON FILE
DOMINGUEZ RIVERA, FERNANDO       ADDRESS ON FILE
DOMINGUEZ RIVERA, HERMINIO       ADDRESS ON FILE
DOMINGUEZ RIVERA, JOSE           ADDRESS ON FILE
DOMINGUEZ RIVERA, MAGALI         ADDRESS ON FILE
DOMINGUEZ RIVERA, MARCOS A.      ADDRESS ON FILE
DOMINGUEZ RIVERA, MARIANGELY     ADDRESS ON FILE
DOMINGUEZ RIVERA, MARISOL        ADDRESS ON FILE
DOMINGUEZ RIVERA, MAYDA E.       ADDRESS ON FILE
DOMINGUEZ RIVERA, SANDRA         ADDRESS ON FILE
DOMINGUEZ RIVERA, YADIRA         ADDRESS ON FILE




                                                                             Page 2403 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2404 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DOMINGUEZ ROBLES, NELIDA         ADDRESS ON FILE
DOMINGUEZ ROCHE, HERIBERTO       ADDRESS ON FILE
DOMINGUEZ ROCHE, VICENTE         ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, ANGELA      ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, ARIADNE     ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, GILBERT     ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, HENRY       ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, JOHNNY N.   ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, LILLIAM C   ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, LUIS        ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, LUIS E.     ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, LUZ M       ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, MARIA       ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, MARIA I     ADDRESS ON FILE
DOMINGUEZ RODRIGUEZ, MIRIAM A.   ADDRESS ON FILE
DOMINGUEZ ROMAN, ANGEL R.        ADDRESS ON FILE
DOMINGUEZ ROMERO MD, ANTONIO     ADDRESS ON FILE
DOMINGUEZ ROMERO, ANTONIO        ADDRESS ON FILE
DOMINGUEZ ROSA, DAVID            ADDRESS ON FILE
DOMINGUEZ ROSA, EDNA             ADDRESS ON FILE
DOMINGUEZ ROSA, EDNA I           ADDRESS ON FILE
DOMINGUEZ ROSADO, JOSE           ADDRESS ON FILE
DOMINGUEZ ROSARIO, AIMY          ADDRESS ON FILE
DOMINGUEZ ROSARIO, BENJAMIN      ADDRESS ON FILE
DOMINGUEZ ROSARIO, CARMEN M      ADDRESS ON FILE
DOMINGUEZ ROSARIO, ELIZABETH     ADDRESS ON FILE
DOMINGUEZ ROSARIO, IVIS          ADDRESS ON FILE
Dominguez Ruiz, Ana              ADDRESS ON FILE
DOMINGUEZ RUIZ, CARMEN           ADDRESS ON FILE
DOMINGUEZ RUIZ, CARMEN A         ADDRESS ON FILE
DOMINGUEZ RUIZ, CARMEN A.        ADDRESS ON FILE
DOMINGUEZ RUIZ, MARIA            ADDRESS ON FILE
DOMINGUEZ RULLAN, CARLOS         ADDRESS ON FILE
DOMINGUEZ SALGADO, ALICIA        ADDRESS ON FILE
DOMINGUEZ SANCHEZ, ANA B         ADDRESS ON FILE
DOMINGUEZ SANCHEZ, LEILA         ADDRESS ON FILE
Dominguez Sanchez, Roberto       ADDRESS ON FILE
DOMINGUEZ SANTIAGO, GLORIA       ADDRESS ON FILE
DOMINGUEZ SANTIAGO, IVETTE       ADDRESS ON FILE
DOMINGUEZ SANTIAGO, JULIO        ADDRESS ON FILE
DOMINGUEZ SANTIAGO, PASTOR       ADDRESS ON FILE
DOMINGUEZ SANTOS, LUZ S.         ADDRESS ON FILE
DOMINGUEZ SANTOS, LUZ S.         ADDRESS ON FILE
DOMINGUEZ SANTOS, YESENIA        ADDRESS ON FILE
DOMINGUEZ SIERRA, ALICE          ADDRESS ON FILE
DOMINGUEZ SOTO, BRUNILDA         ADDRESS ON FILE
DOMINGUEZ SOTO, CHRISTIAN        ADDRESS ON FILE
DOMINGUEZ SOTO, CHRISTIAN        ADDRESS ON FILE
DOMINGUEZ SOTO, CLARIMAR         ADDRESS ON FILE
DOMINGUEZ SOTO, JANISSE          ADDRESS ON FILE
DOMINGUEZ SOTO, MARIA M          ADDRESS ON FILE
DOMINGUEZ SOTO, NELSON J         ADDRESS ON FILE
DOMINGUEZ SUAREZ, GUILLERMO      ADDRESS ON FILE
DOMINGUEZ TORRENT, VILMA I.      ADDRESS ON FILE
DOMINGUEZ TORRES, CARMEN M       ADDRESS ON FILE
DOMINGUEZ TORRES, CYNTHIA        ADDRESS ON FILE
Dominguez Torres, Edgardo        ADDRESS ON FILE
Dominguez Torres, Edilberto      ADDRESS ON FILE
DOMINGUEZ TORRES, JENISSA        ADDRESS ON FILE




                                                                             Page 2404 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2405 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DOMINGUEZ TORRES, JOSE              ADDRESS ON FILE
DOMINGUEZ TORRES, MARIA M           ADDRESS ON FILE
DOMINGUEZ TORRES, NEFTALI           ADDRESS ON FILE
Dominguez Torres, Nitza             ADDRESS ON FILE
DOMINGUEZ TORRES, WILFRED           ADDRESS ON FILE
Dominguez Valentin, Isabel          ADDRESS ON FILE
DOMINGUEZ VALERA, BONIFACIA         ADDRESS ON FILE
DOMINGUEZ VALERA, LUCELIGIA         ADDRESS ON FILE
DOMINGUEZ VALLE, LYNETTE            ADDRESS ON FILE
DOMINGUEZ VAZQUEZ, ELSA             ADDRESS ON FILE
DOMINGUEZ VAZQUEZ, GLORIA           ADDRESS ON FILE
Dominguez Vazquez, Ismael           ADDRESS ON FILE
DOMINGUEZ VAZQUEZ, NORBERTO         ADDRESS ON FILE
DOMINGUEZ VAZQUEZ, SERGIO           ADDRESS ON FILE
DOMINGUEZ VAZQUEZ, UDECHA           ADDRESS ON FILE
DOMINGUEZ VAZQUEZ, UDECHA           ADDRESS ON FILE
DOMINGUEZ VEGA, CARMEN Z            ADDRESS ON FILE
DOMINGUEZ VEGA, JOSE R              ADDRESS ON FILE
DOMINGUEZ VELEZ, IVETTE             ADDRESS ON FILE
DOMINGUEZ VELEZ, ROBERTO            ADDRESS ON FILE
DOMINGUEZ VILLAFANE, FRANCISCO J.   ADDRESS ON FILE
DOMINGUEZ VILLAFANE, JORGE          ADDRESS ON FILE
DOMINGUEZ VILLANUEVA, ANGELA M.     ADDRESS ON FILE
DOMINGUEZ VILLANUEVA, RAMON         ADDRESS ON FILE
DOMINGUEZ VIZCARRONDO, MICHELLE     ADDRESS ON FILE
DOMINGUEZ YANCE, MARIA              ADDRESS ON FILE
DOMINGUEZ YANCE, SHEILA             ADDRESS ON FILE
DOMINGUEZ ZABALA, CARLOS            ADDRESS ON FILE
DOMINGUEZ, CARMEN M                 ADDRESS ON FILE
DOMINGUEZ, GUILLERMINA              ADDRESS ON FILE
DOMINGUEZ, MARISOL                  ADDRESS ON FILE
DOMINGUEZCRUZ, JUAN                 ADDRESS ON FILE
DOMINGUEZOTERO, GLENDA              ADDRESS ON FILE
DOMINI REGIS INC                    625 AVE PONCE DE LEON                                                            SAN JUAN     PR      00917
DOMINIC A FRANCESCHINI RAMOS        ADDRESS ON FILE
DOMINIC MORALES CRUZ                ADDRESS ON FILE
DOMINICANA T GENAO MERCADO          ADDRESS ON FILE
DOMINICCI ALAMEDA, GLADYMAR         ADDRESS ON FILE
Dominicci Alameda, Marcos G         ADDRESS ON FILE
DOMINICCI ALICEA, BRENDA L.         ADDRESS ON FILE
DOMINICCI ARROYO, EDDIE             ADDRESS ON FILE
DOMINICCI ARROYO, JOSE              ADDRESS ON FILE
DOMINICCI BENAVENT, JONATAN         ADDRESS ON FILE
DOMINICCI BERMUDEZ, MARINO          ADDRESS ON FILE
DOMINICCI CASTILLO, ALEXANDRA       ADDRESS ON FILE
DOMINICCI CASTILLO, ALEXANDRA       ADDRESS ON FILE
DOMINICCI CASTILLO, RENATO          ADDRESS ON FILE
DOMINICCI COLON, IRIS               ADDRESS ON FILE
DOMINICCI CRUZ, ROSA                ADDRESS ON FILE
DOMINICCI DAMIANI, ANA              ADDRESS ON FILE
Dominicci De Lleguas, Jorge A       ADDRESS ON FILE
Dominicci Duprey, Hector            ADDRESS ON FILE
DOMINICCI ECHEVARRIA, MELBA Y       ADDRESS ON FILE
DOMINICCI ECHEVARRIA, PEDRO         ADDRESS ON FILE
DOMINICCI LUCCA, MARIA L.           ADDRESS ON FILE
DOMINICCI RIVERA, JOSE              ADDRESS ON FILE
DOMINICCI RIVERA, JOSE G.           ADDRESS ON FILE
DOMINICCI RIVERA, KAREN             ADDRESS ON FILE
DOMINICCI RODRIGUEZ, ANDRES         ADDRESS ON FILE
DOMINICCI RODRIGUEZ, ANDRES         ADDRESS ON FILE




                                                                                Page 2405 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2406 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                             Address1                   Address2                                 Address3   Address4   City               State   PostalCode   Country
Dominicci Rodriguez, Jimmy                ADDRESS ON FILE
DOMINICCI RODRIGUEZ, MARIO                ADDRESS ON FILE
DOMINICCI SANTIAGO, YELITZA               ADDRESS ON FILE
DOMINICCI SIERRA, ELBA I                  ADDRESS ON FILE
DOMINICCI TURELL, ANA H                   ADDRESS ON FILE
DOMINICCI TURELL, JUAN                    ADDRESS ON FILE
Dominicci Turell, Rigoberto               ADDRESS ON FILE
Dominicci Turrell, Marino                 ADDRESS ON FILE
DOMINICCI VAZQUEZ, LEILANI                ADDRESS ON FILE
DOMINICCI VELEZ, ANTONIO                  ADDRESS ON FILE
DOMINICCI VELEZ, DAVID                    ADDRESS ON FILE
DOMINICCI, RIGOBERTO                      ADDRESS ON FILE
DOMINICK CINCOTTA                         ADDRESS ON FILE
DOMINICK DOEL ROSARIO TORRES              ADDRESS ON FILE
DOMINIK WIRZ VOLK                         ADDRESS ON FILE
DOMINION PSYCHIATRIC ASSOCIATES           RELEASE OF INFORMATION     2580 POTTERS ROAD                                              VIRGINIA BEACH     VA      23454
DOMINION VOTING SYSTEMS CORPORATION       ORIENTAL CENTER SUITE P1   254 MUNOZ RIVERA AVENUE                                        SAN JUAN           PR      00918
DOMINIQUE A GILORMINI DE GRACIA           ADDRESS ON FILE
DOMINIQUI RODRIGUEZ, LILLIAM              ADDRESS ON FILE
DOMINQUEZ PERAZA, CRISTHIAN               ADDRESS ON FILE
DOMITILA CASTILLO COLLAZO                 ADDRESS ON FILE
DOMITILA MONTES DE DUENO                  ADDRESS ON FILE
DOMITILA RIVERA OLMEDA                    ADDRESS ON FILE
DOMNGO PAZ RODRIGUEZ                      ADDRESS ON FILE
DOMORE PRODUCTIONS LLC                    P O BOX 3963                                                                              SAN JUAN           PR      00936‐3963
DON EDWARD WALICEK LINDLEY                ADDRESS ON FILE
DON FRANCISCO REALTY INC                  URB MARIANI                1575 AVE MUNOZ RIVERA                                          PONCE              PR      00717‐0211
DON GIL BODY SHOP                         HC 04 BOX 46683                                                                           CAGUAS             PR      00727
DONA LAURA CATERING                       HC 33 BOX 5018                                                                            DORADO             PR      00646
DONA LUZ CATERING                         PO BOX 927                                                                                ISABELA            PR      00662
DONA YIYA FOODS INC/ GREEN SOLAR PR COM   PO BOX 1623                                                                               SAN SEBASTIAN      PR      00685
DONADO VERGARA, NUBIA                     ADDRESS ON FILE
DONALD A COLON RODRIGUEZ                  ADDRESS ON FILE
DONALD BORRAS                             ADDRESS ON FILE
DONALD BORRAS                             ADDRESS ON FILE
DONALD F DEXTER COBIAN                    ADDRESS ON FILE
DONALD F. DEXTER COBIAN                   ADDRESS ON FILE
DONALD R BRESKY                           ADDRESS ON FILE
DONALD R PFENDLER WESSEL                  ADDRESS ON FILE
DONALD R SEELEY                           ADDRESS ON FILE
DONALD R SEELEY                           ADDRESS ON FILE
DONALD RIVERA MARTIN                      ADDRESS ON FILE
DONALDS BROWN, COSETTE                    ADDRESS ON FILE
DONALDS BROWN, COSETTE                    ADDRESS ON FILE
DONALDSON AMBROSE, CAROLE                 ADDRESS ON FILE
DONASENE ALONSO ROBLEDO                   ADDRESS ON FILE
DONATE BETANCOURT, CARMEN                 ADDRESS ON FILE
DONATE BRAVO, LOURDES                     ADDRESS ON FILE
DONATE CABRET, AMARILIS                   ADDRESS ON FILE
DONATE CABRET, MARICELI                   ADDRESS ON FILE
DONATE DIAZ, IDA E                        ADDRESS ON FILE
DONATE LOPEZ, GERARDO A                   ADDRESS ON FILE
DONATE LOPEZ, GLORIA                      ADDRESS ON FILE
DONATE LOPEZ, GLORIA E                    ADDRESS ON FILE
DONATE LOPEZ, GLORIA E.                   ADDRESS ON FILE
DONATE MALDONADO, EDUARDO                 ADDRESS ON FILE
DONATE MERCADO, EDARYS                    ADDRESS ON FILE
DONATE NARVAEZ, WILNELIA                  ADDRESS ON FILE
DONATE ORTIZ, DORIS                       ADDRESS ON FILE
DONATE PEREZ, NOEL                        ADDRESS ON FILE




                                                                                               Page 2406 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2407 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DONATE RAMOS, MYRNA                   ADDRESS ON FILE
DONATE RESTO, MARTA                   ADDRESS ON FILE
DONATE RESTO, NITZA                   ADDRESS ON FILE
DONATE RODRIGUEZ, AILED M             ADDRESS ON FILE
DONATE RODRIGUEZ, EMILY               ADDRESS ON FILE
DONATE RODRIGUEZ, FREDDIE             ADDRESS ON FILE
DONATE RODRIGUEZ, GLORIANNE M         ADDRESS ON FILE
Donate Rodriguez, Rosa I              ADDRESS ON FILE
DONATE ROMERO, NANCY A.               ADDRESS ON FILE
DONATE SANCHEZ, MIGDALIA              ADDRESS ON FILE
DONATE SOTO, JOSE                     ADDRESS ON FILE
DONATE SOTO, JOSE                     ADDRESS ON FILE
Donate Soto, Jose M                   ADDRESS ON FILE
DONATE SOTO, PATRICIA                 ADDRESS ON FILE
DONATE VAZQUEZ, JOSE                  ADDRESS ON FILE
DONATE, PRISCILLE                     ADDRESS ON FILE
DONATI U BERRIOS, JOSE M.             ADDRESS ON FILE
DONATIU BERRIOS, JAVIER               ADDRESS ON FILE
DONATIU BERRIOS, RAFAEL               ADDRESS ON FILE
DONATIU BERRIOS, RICARDO              ADDRESS ON FILE
DONATIU CINTRON, CARLOS               ADDRESS ON FILE
DONATIU FIGUEROA, ENRIQUE             ADDRESS ON FILE
DONATIU ROSADO, DIMARIE               ADDRESS ON FILE
DONATO ACOSTA, WILBERTO               ADDRESS ON FILE
DONATO ALVAREZ RODRIGUEZ              ADDRESS ON FILE
DONATO AUTO REPAIR                    260 CALLE PARQUE                                                                 SAN JUAN     PR      00925
DONATO BELTRAN, LUIS M                ADDRESS ON FILE
DONATO CASTRO, CARMEN M.              ADDRESS ON FILE
DONATO CASTRO, MADELINE               ADDRESS ON FILE
DONATO CINTRON, MILTON                ADDRESS ON FILE
DONATO CINTRON, MILTON                ADDRESS ON FILE
DONATO COLLAZO, DORIS A.              ADDRESS ON FILE
DONATO COLLAZO, LUIS                  ADDRESS ON FILE
Donato Collazo, Luis M                ADDRESS ON FILE
DONATO CORSINO, SAMUEL                ADDRESS ON FILE
DONATO COSTOSO, LUIS                  ADDRESS ON FILE
DONATO CRUZ, CARLOS R.                ADDRESS ON FILE
DONATO CRUZ, HECTOR                   ADDRESS ON FILE
DONATO DESIGN AND DEVELOPMENT GROUP   CAPARRA HEIGHTS STATION   PO BOX 11976                                           SAN JUAN     PR      00922‐1976
DONATO DIAZ, BRENDA L                 ADDRESS ON FILE
DONATO DUQUE, LUIS                    ADDRESS ON FILE
DONATO FERNANDEZ FERNANDEZ            ADDRESS ON FILE
DONATO FERRER, GEORGE C.              ADDRESS ON FILE
DONATO GALINDO, ZENOBIA               ADDRESS ON FILE
DONATO GARCIA, DESIREE                ADDRESS ON FILE
DONATO GUADALUPE, MARGARITA           ADDRESS ON FILE
DONATO LABOY, RAMON                   ADDRESS ON FILE
DONATO LAVIENA, MERILYN               ADDRESS ON FILE
DONATO LUGO, MADELINE                 ADDRESS ON FILE
DONATO LUGO, SONIA M                  ADDRESS ON FILE
DONATO MACHIN, KEITHZA                ADDRESS ON FILE
DONATO MARTINEZ, ALEX                 ADDRESS ON FILE
Donato Morales, Braulio               ADDRESS ON FILE
DONATO MORALES, JAIME                 ADDRESS ON FILE
DONATO MORALES, MARGARITA             ADDRESS ON FILE
DONATO MORALES, WANDA E               ADDRESS ON FILE
DONATO ORTIZ, JAVIER                  ADDRESS ON FILE
DONATO ORTIZ, JUAN                    ADDRESS ON FILE
DONATO PAGAN, LYNILVIA                ADDRESS ON FILE
DONATO PEREZ MORENO                   ADDRESS ON FILE




                                                                                  Page 2407 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2408 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DONATO PEREZ, AIXA             ADDRESS ON FILE
DONATO PEREZ, IRIS J           ADDRESS ON FILE
DONATO QUINONES, VIVIAN        ADDRESS ON FILE
DONATO QUINONES, VIVIAN        ADDRESS ON FILE
DONATO QUINTANA, BRENDA        ADDRESS ON FILE
DONATO RAMOS, DAVID            ADDRESS ON FILE
DONATO RIQUELME, LISANDRA      ADDRESS ON FILE
DONATO RIVERA, CARLOS J        ADDRESS ON FILE
DONATO RIVERA, HECTOR          ADDRESS ON FILE
DONATO RIVERA, ROBERTO C       ADDRESS ON FILE
DONATO RODRIGUEZ, ANA M        ADDRESS ON FILE
DONATO RODRIGUEZ, DAMARIS      ADDRESS ON FILE
DONATO RODRIGUEZ, HIGINIA      ADDRESS ON FILE
Donato Rodriguez, Jose M       ADDRESS ON FILE
DONATO RODRIGUEZ, KAROLIN      ADDRESS ON FILE
DONATO RODRIGUEZ, MARIA M      ADDRESS ON FILE
DONATO RODRIGUEZ, MARIA S      ADDRESS ON FILE
DONATO RUIZ, ZAHIDEE           ADDRESS ON FILE
DONATO SANABRIA, AIDA N        ADDRESS ON FILE
DONATO SANABRIA, MODESTA       ADDRESS ON FILE
DONATO SANTANA, IRIS           ADDRESS ON FILE
DONATO SEPULVEDA, CARMEN W     ADDRESS ON FILE
DONATO SOLIS, YVONNE           ADDRESS ON FILE
DONATO TIRADO, HILDA J.        ADDRESS ON FILE
DONATO, ALBERTO                ADDRESS ON FILE
DONATO, DARIO                  ADDRESS ON FILE
DONATTO CRUZ MD, HECTOR E      ADDRESS ON FILE
DONDESILO FIGUEROA MALDONADO   ADDRESS ON FILE
DONE HOMS, AWILDA              ADDRESS ON FILE
DONE NAVARRO, LUISA            ADDRESS ON FILE
DONE NAVARRO, LUISA            ADDRESS ON FILE
DONE NAVARRO, RAFAELA          ADDRESS ON FILE
DONE NIVAR, VIRGINIA           ADDRESS ON FILE
DONELL FLORES MERCADO          ADDRESS ON FILE
DONES ALEJANDRO, LOURDES M     ADDRESS ON FILE
DONES ALICEA, IVELISSE         ADDRESS ON FILE
DONES AMALBERT, ELIZABETH      ADDRESS ON FILE
Dones Amalbert, William        ADDRESS ON FILE
DONES ANDEX, CASUL             ADDRESS ON FILE
DONES APONTE, CARMEN M         ADDRESS ON FILE
DONES BERMUDEZ, JOSE           ADDRESS ON FILE
DONES BIRRIEL, GLADYS M.       ADDRESS ON FILE
DONES CARRASQUILLO, JORGE L    ADDRESS ON FILE
DONES CASTILLO, MARIA E.       ADDRESS ON FILE
DONES CASTILLO, MARIA E.       ADDRESS ON FILE
DONES CASTILLO, MIGDALIA       ADDRESS ON FILE
Dones Castillo, Ramon          ADDRESS ON FILE
DONES CEBALLOS, RAFAELA        ADDRESS ON FILE
DONES COLON, ALBA N            ADDRESS ON FILE
DONES COLON, BRENDALINA        ADDRESS ON FILE
DONES COLON, CARMEN            ADDRESS ON FILE
Dones Colon, Hector J          ADDRESS ON FILE
Dones Colon, Max               ADDRESS ON FILE
DONES CONTRERAS, NELIDA        ADDRESS ON FILE
DONES COTTO, FELIPE G          ADDRESS ON FILE
DONES CRESPO, HECTOR           ADDRESS ON FILE
DONES CRESPO, MAYRA            ADDRESS ON FILE
DONES CRESPO, WILFREDO         ADDRESS ON FILE
DONES CRUZ, ANA M              ADDRESS ON FILE
DONES CRUZ, LUIS               ADDRESS ON FILE




                                                                           Page 2408 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2409 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DONES CRUZ, MANUEL         ADDRESS ON FILE
DONES CRUZ, MARITZA        ADDRESS ON FILE
DONES CRUZ, ROXANA         ADDRESS ON FILE
DONES CUEVAS, JANERYS      ADDRESS ON FILE
DONES DE LA CRUZ, ANDRES   ADDRESS ON FILE
Dones De Leon, Roberto     ADDRESS ON FILE
DONES DEL VALLE, RAYMOND   ADDRESS ON FILE
DONES DELFI, ANA M         ADDRESS ON FILE
DONES DIAZ, ELYMARY        ADDRESS ON FILE
DONES DIAZ, MARIELY        ADDRESS ON FILE
DONES DIAZ, MIGUEL A       ADDRESS ON FILE
Dones Diaz, Sheyla         ADDRESS ON FILE
DONES DILAN, LAURA N       ADDRESS ON FILE
DONES ESCALERA, DEBORAH    ADDRESS ON FILE
DONES FALU, ELVIRA         ADDRESS ON FILE
DONES FALU, FELIX O        ADDRESS ON FILE
DONES FALU, VICTOR         ADDRESS ON FILE
DONES FIGUEROA, JOHANNE    ADDRESS ON FILE
DONES FLORES, JUAN C.      ADDRESS ON FILE
DONES FRAGUADA, SANDRA     ADDRESS ON FILE
DONES FRED, JAMIE          ADDRESS ON FILE
DONES GALDON, GENOVEVA     ADDRESS ON FILE
DONES GALDON, MARTA        ADDRESS ON FILE
DONES GALDON, MARTA        ADDRESS ON FILE
DONES GARCIA, CARMEN M     ADDRESS ON FILE
DONES GARCIA, LUIS         ADDRESS ON FILE
Dones Garcia, Luis R       ADDRESS ON FILE
DONES GARCIA, MARIA L      ADDRESS ON FILE
DONES GONZALEZ, JOSUE      ADDRESS ON FILE
DONES GUEITS, LUIS         ADDRESS ON FILE
DONES HERNANDEZ, ELIANIS   ADDRESS ON FILE
DONES JIMENES, MYRNA L     ADDRESS ON FILE
DONES JIMENEZ, BEATRIZ     ADDRESS ON FILE
DONES JIMENEZ, GLADYS      ADDRESS ON FILE
DONES JIMENEZ, MARIA       ADDRESS ON FILE
DONES JIMENEZ, MARIA DEL   ADDRESS ON FILE
DONES JIMENEZ, NANCY       ADDRESS ON FILE
DONES JIMENEZ, ROSA N.     ADDRESS ON FILE
DONES JIMENEZ, ROSA N.     ADDRESS ON FILE
DONES JIMENEZ, SATURINO    ADDRESS ON FILE
DONES KIM, JOSE            ADDRESS ON FILE
DONES LARA, MICHAEL        ADDRESS ON FILE
DONES LOPEZ, JOSE R.       ADDRESS ON FILE
DONES LOPEZ, MAE LING      ADDRESS ON FILE
Dones Lopez, Mariluz       ADDRESS ON FILE
DONES LUGO, JOSE E.        ADDRESS ON FILE
DONES MATOS, IVETTE M.     ADDRESS ON FILE
DONES MEDINA, RAMON        ADDRESS ON FILE
DONES MEJIAS, EDGAR S      ADDRESS ON FILE
DONES MERCED, IRIS         ADDRESS ON FILE
DONES MERCED, JOSE         ADDRESS ON FILE
DONES MOJICA, JEISA Y      ADDRESS ON FILE
DONES MOJICA, NELIET       ADDRESS ON FILE
DONES MORALES, NAYDA L.    ADDRESS ON FILE
DONES MORALES, NELLY       ADDRESS ON FILE
Dones Morales, Rafael      ADDRESS ON FILE
DONES MORAN, JOSE L        ADDRESS ON FILE
DONES NEGRON, ARTHUR       ADDRESS ON FILE
DONES NEGRON, MARIA E      ADDRESS ON FILE
Dones Olivieri, Jose A     ADDRESS ON FILE




                                                                       Page 2409 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2410 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DONES OLIVIERI, MAYLIN      ADDRESS ON FILE
Dones Orellana, Angel D     ADDRESS ON FILE
DONES ORTIZ, EUSEBIO        ADDRESS ON FILE
DONES PABELLON, ANA         ADDRESS ON FILE
DONES PABON, MARIA M.       ADDRESS ON FILE
DONES PABON, SHEILA         ADDRESS ON FILE
DONES PAGAN, KEILA          ADDRESS ON FILE
DONES PAGAN, MARIA DEL C    ADDRESS ON FILE
Dones Pellicier, Maria      ADDRESS ON FILE
DONES PELLICIER, SAMUEL     ADDRESS ON FILE
DONES PEREZ, FRANCHESCA A   ADDRESS ON FILE
DONES PEREZ, JOSE M         ADDRESS ON FILE
DONES PEREZ, LUIS           ADDRESS ON FILE
DONES PEREZ, PEDRO          ADDRESS ON FILE
DONES PEREZ, RUBEN          ADDRESS ON FILE
DONES PEREZ, VIVIANA        ADDRESS ON FILE
Dones Perez, Viviana L.     ADDRESS ON FILE
DONES PINA, PEDRO           ADDRESS ON FILE
DONES RAMIREZ, ELADIO       ADDRESS ON FILE
DONES RAMIREZ, ELADIO       ADDRESS ON FILE
DONES RAMOS, JERICA         ADDRESS ON FILE
DONES REYES, JOSE           ADDRESS ON FILE
DONES RIVERA, YESENIA       ADDRESS ON FILE
DONES RODRIGUEZ, ANGEL D    ADDRESS ON FILE
DONES RODRIGUEZ, CARMEN B   ADDRESS ON FILE
DONES RODRIGUEZ, MARIA I.   ADDRESS ON FILE
DONES RODRIGUEZ, SACHA      ADDRESS ON FILE
Dones Roldan, Hector I      ADDRESS ON FILE
DONES ROLDAN, MARIA         ADDRESS ON FILE
Dones Roldan, Maria E       ADDRESS ON FILE
Dones Roldan, Oscar         ADDRESS ON FILE
Dones Roman, Mariliza       ADDRESS ON FILE
DONES ROMAN, MARILIZA       ADDRESS ON FILE
DONES ROMAN, SCHYLLA        ADDRESS ON FILE
DONES ROMERO, ENMANUEL      ADDRESS ON FILE
DONES ROSA, CARMEN I        ADDRESS ON FILE
DONES SALDANA, MARITZA      ADDRESS ON FILE
DONES SALDANA, MARITZA      ADDRESS ON FILE
DONES SANCHEZ, BETZAIDA     ADDRESS ON FILE
DONES SANCHEZ, IVAN T       ADDRESS ON FILE
DONES SANDOVAL, MARIA       ADDRESS ON FILE
DONES SANJURJO, EDWIN       ADDRESS ON FILE
DONES SANTANA, ASOR         ADDRESS ON FILE
DONES SANTIAGO, LEE MARIE   ADDRESS ON FILE
DONES SOLTERO, PAMELA       ADDRESS ON FILE
Dones Sopena, Pedro L       ADDRESS ON FILE
DONES SUAREZ, MARIA LYDIA   ADDRESS ON FILE
DONES TIRADO, MARIA A       ADDRESS ON FILE
DONES TORRES, ANA           ADDRESS ON FILE
Dones Torres, Jose A        ADDRESS ON FILE
DONES TORRES, JUANITA       ADDRESS ON FILE
DONES TORRES, RAUL          ADDRESS ON FILE
DONES TORRES, SOCORRO       ADDRESS ON FILE
DONES TORRES, ZORAIDA       ADDRESS ON FILE
DONES VARGAS, GERARDINE     ADDRESS ON FILE
DONES VAZQUEZ, JUAN         ADDRESS ON FILE
DONES VEGA, ANTONIO         ADDRESS ON FILE
DONES VELEZ, NADJA          ADDRESS ON FILE
DONES VILLAFANE, SANTOS     ADDRESS ON FILE
DONES ZATAS, NOEMI          ADDRESS ON FILE




                                                                        Page 2410 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2411 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                      Address1                   Address2                         Address3   Address4   City              State   PostalCode   Country
DONES ZAYAS, RAQUEL                ADDRESS ON FILE
DONES, ANGEL L.                    ADDRESS ON FILE
DONES, CARMEN                      ADDRESS ON FILE
DONES, HECTOR G.                   ADDRESS ON FILE
DONES, LUZ L.                      ADDRESS ON FILE
DONES,DEBORAH                      ADDRESS ON FILE
DONIS ESPADA, CELIANN              ADDRESS ON FILE
DONIS FUENTES, ZELAIDA             ADDRESS ON FILE
DONIS FUENTES, ZELMIRA             ADDRESS ON FILE
DONIS ROSARIO, MARIA               ADDRESS ON FILE
DONIS VEGA, ADRIEL                 ADDRESS ON FILE
DONNA M CLEMENT CHACON             ADDRESS ON FILE
DONNAVAN SANTOS MARTINEZ           ADDRESS ON FILE
DONNELLY, KEVIN G                  ADDRESS ON FILE
DONNY ACEVEDO MENDEZ               ADDRESS ON FILE
DONNY FAY MORA                     ADDRESS ON FILE
DONNY H TORRES ORTIZ               ADDRESS ON FILE
DONNY RAMOS VEGA                   ADDRESS ON FILE
DONOHOE HAUGEN, LAURIE             ADDRESS ON FILE
DONOWA ENCARNACION, LOURDES        ADDRESS ON FILE
DONOWA RODRIGUEZ, JOANDRA          ADDRESS ON FILE
DONOWAN A ARIAS GONZALEZ           ADDRESS ON FILE
DONSHIK MD, JON                    ADDRESS ON FILE
DOOLITTLE MULERO, MILTON           ADDRESS ON FILE
DOOR MANUFACTURING CORP            EL SENORIAL MALL STATION   BOX 467                                                SAN JUAN          PR      00926
DOORMATIC, INC.                    P.O. BOX 2981                                                                     MAYAGUEZ          PR      00681
DOP PRUDUCTIONS INC                335 N MAPLE DR STE 353                                                            BEVERLY HILLS     CA      90210
DOR I OLMEDO RIVERA                ADDRESS ON FILE
DOR MARIE ARROYO CARRERO           ADDRESS ON FILE
DORA A APONTE ROSADO               ADDRESS ON FILE
DORA A LEBRON FIGUEROA             ADDRESS ON FILE
DORA A MARTINEZ PROSPER            ADDRESS ON FILE
DORA ALTA FARM INC                 BO GALATEO                 CARR 824 KM 1.8                                        TOA ALTA          PR      00954
DORA BURGOS LOPEZ                  ADDRESS ON FILE
DORA CASTILLO ROSARIO              ADDRESS ON FILE
DORA CRUZ VELÁZQUEZ                LCDA.ARLEEN PABON CRUZ     PO BOX 29263                                           SAN JUAN          PR      00929
DORA E FONTANEZ                    ADDRESS ON FILE
DORA E FONTANEZ                    ADDRESS ON FILE
DORA E MITSUE/ WATANABE BAILARTA   ADDRESS ON FILE
DORA E MONT RIVERA                 ADDRESS ON FILE
DORA E NAZARIO TORRES              ADDRESS ON FILE
DORA E PLATA RODRIGUEZ             ADDRESS ON FILE
DORA E RUIZ ARROYO                 ADDRESS ON FILE
DORA E SANTIAGO MEDINA             ADDRESS ON FILE
DORA EIKO M. WATANABE BALLANTA     ADDRESS ON FILE
Dora González Alvarez              ADDRESS ON FILE
DORA H AYALA                       ADDRESS ON FILE
DORA H. NIEVES BONILLA             ADDRESS ON FILE
DORA HELENA GONZALEZ               ADDRESS ON FILE
DORA I RAMOS BUSIGO                ADDRESS ON FILE
DORA I RAMOS BUSIGO                ADDRESS ON FILE
DORA IRIS MARTINEZ OLIVO           ADDRESS ON FILE
DORA L. ESCOBAR ORTIZ              ADDRESS ON FILE
DORA LOPEZ DIAZ                    ADDRESS ON FILE
DORA M BERTRAN PENAGARICANO        ADDRESS ON FILE
DORA M CASTELLANO MARTINEZ         ADDRESS ON FILE
DORA M CASTELLANO MARTINEZ         ADDRESS ON FILE
DORA M RODRIGUEZ RAMOS             ADDRESS ON FILE
DORA M. BEREGUER MACAYA            ADDRESS ON FILE
DORA MED MEDICAL OFFICE            RR BUZON 7447                                                                     TOA ALTA          PR      00953




                                                                                Page 2411 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2412 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                         Address1                        Address2                                      Address3   Address4   City          State   PostalCode   Country
DORA N CANINO VINALES                 ADDRESS ON FILE
DORA NEVAREZ MUNIZ                    ADDRESS ON FILE
DORA RIVERA ROSA                      ADDRESS ON FILE
DORA RODRIGUEZ AGUIAR                 ADDRESS ON FILE
DORA RODRIGUEZ AYALA                  ADDRESS ON FILE
DORA S QUINONEZ ALVAREZ               ADDRESS ON FILE
DORA VAZQUEZ SOTO                     ADDRESS ON FILE
DORA VELEZ RODRIGUEZ                  ADDRESS ON FILE
DORA ZENO CABRERA DE MIRANDA          ADDRESS ON FILE
DORAB SECURITY Y/O DORIS E PAMBLANCO  COND MIRAMAR TOWER              8 J 721 CALLE HERNANDEZ                                             SAN JUAN      PR      00907
DORADO ACADEMY, INC.                  PO BOX 969                                                                                          DORADO        PR      00646
DORADO ASSETS MANAGEMENT, INC         PO BOX 365051                                                                                       SAN JUAN      PR      00936‐5051
DORADO BASULTO, ERISLANDY             ADDRESS ON FILE
DORADO BEACH HOTEL CORP               P O BOX 157                                                                                         DORADO        PR      00646
DORADO BEACH RESORT & CLUB            500 PLANTATION DRIVE STE 1                                                                          DORADO        PR      00646
DORADO COMMUNITY HEALTH               PO BOX 419                                                                                          VEGA ALTA     PR      00692
DORADO COMMUNITY HEALTH INC           PO BOX 419                                                                                          VEGA ALTA     PR      00692‐0419
DORADO DEL MAR ESTATES HOMEOWNERS ASO PO BOX 803                                                                                          DORADO        PR      00646
DORADO DREAMS VILLAGE                 PO BOX 359                                                                                          DORADO        PR      00646
DORADO HEALTH CENTER                  PO BOX 1142                                                                                         MANATI        PR      00674
DORADO MEDICAL COMPLEX INC            PABELLON RAFAEL HERNANDEZ CO    349 CALLE MENDEZ VIGO STE 10                                        DORADO        PR      00646
DORADO RODRIGUEZ, ROCIO               ADDRESS ON FILE
DORADO SANCHEZ, ADRIANA E             ADDRESS ON FILE
DORADO SHELL                          ADDRESS ON FILE
DORADO SHELL                          ADDRESS ON FILE
DORADO SHOPPING CENTER DEVELOPMENT CO URB SANTIAGO IGLESIAS           1428 AVE PAZ GRANELA                                                SAN JUAN      PR      00921
DORADO UNIFORMS                       ADDRESS ON FILE
DORADO VOLI CLUB INC                  DORADO DEL MAR                  A 7 MADRE PERLA                                                     DORADO        PR      00646
DORAIDA RIVERA RIVERA                 ADDRESS ON FILE
DORAIDA ROSARIO SOLER                 ADDRESS ON FILE
DORAIMA DIAZ VARGAS                   ADDRESS ON FILE
DORAIMA SOLIS DIAZ                    ADDRESS ON FILE
DORAIZA N BIRRIEL RAZUOS              ADDRESS ON FILE
DORAL BANK                            DORAL BANK PLAZA                                                                                    SAN JUAN      PR      00969‐0000
DORAL BANK                            P.O. BOX 70308                                                                                      SAN JUAN      PR      00936‐8308
DORAL FAMILY DENTAL CENTER PSC        410 CALLE MENDEZ VIGO STE 102                                                                       DORADO        PR      00646
DORAL FINANCIAL CORPORATION           ROOSEVELT AVE 1451 FD                                                                               SAN JUAN      PR      00920
DORAL RESORT AT PALMAS DEL MAR        ATTN: EXECUTIVE OFFICE          170 CANDELERO DRIVE                                                 HUMACAO       PR      00792
DORALDINA CORIANO BAEZ                ADDRESS ON FILE
DORALIA SIERRA GARCIA                 ADDRESS ON FILE
DORALICE LUGO PEREZ                   ADDRESS ON FILE
DORALICE SERRANO DIAZ                 ADDRESS ON FILE
DORALIS J AYALA SKERRET               ADDRESS ON FILE
DORALIS J. AYALA SKERRETT             ADDRESS ON FILE
DORALIS MUNOZ ROMAN                   ADDRESS ON FILE
DORALIS MUNOZ ROMAN                   ADDRESS ON FILE
DORALIS RIVERA TORRES                 ADDRESS ON FILE
DORALIS SANTANA NAVEDO                ADDRESS ON FILE
DORALIZ GONZALEZ GONZALEZ             ADDRESS ON FILE
DORALIZ HERNAINZ OCASIO               ADDRESS ON FILE
DORALIZ ORTIZ REYES                   ADDRESS ON FILE
DORALIZ PEREZ SIERRA                  ADDRESS ON FILE
DORALLY RIVERA MARTINEZ               ADDRESS ON FILE
DORALYS GOMEZ LANGE                   ADDRESS ON FILE
DORALYS LEON ZAYAS                    ADDRESS ON FILE
DORALYS MARTIR SANCHEZ                ADDRESS ON FILE
DORALYS SANTANA TORRES                ADDRESS ON FILE
DORAN GELABERT, MARY J.               ADDRESS ON FILE
DORAN GELABERT, ROBERT                ADDRESS ON FILE
DORAYMA ROMAN MARQUEZ                 ADDRESS ON FILE




                                                                                                     Page 2412 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2413 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DORCA DELGADO AGOSTO           ADDRESS ON FILE
DORCA E CRUZ GARCIA            ADDRESS ON FILE
DORCA I CONCEPCION ALEJANDRO   ADDRESS ON FILE
DORCA M. FLORES CASTRO         ADDRESS ON FILE
DORCA MARIA ROMERO VISARDEN    ADDRESS ON FILE
DORCA RODRIGUEZ                ADDRESS ON FILE
DORCAS DE LA CRUZ              ADDRESS ON FILE
DORCAS M ROSARIO URDAZ         ADDRESS ON FILE
DORCAS MARTINEZ MELENDEZ       ADDRESS ON FILE
DORCAS OTERO MIRANDA           ADDRESS ON FILE
DORCAS RIVERA RIVERA           ADDRESS ON FILE
DOREEN HEMLOCK                 ADDRESS ON FILE
DOREEN M COLON CAMACHO         ADDRESS ON FILE
DOREEN M COLON CAMACHO         ADDRESS ON FILE
DOREEN PARES JORDAN            ADDRESS ON FILE
DOREEN RIVAS MEDINA            ADDRESS ON FILE
DORELANE PONCE BARNES          ADDRESS ON FILE
DORELIS Y PETIT GARMENDIA      ADDRESS ON FILE
DOREYNA RAMOS MORALES          ADDRESS ON FILE
DORHILMARIE MOLINA BRUNO       ADDRESS ON FILE
DORHMA I RODRIGUEZ SANCHEZ     ADDRESS ON FILE
DORI A SANTOS MENDEZ           ADDRESS ON FILE
DORIAL ESCALERA                ADDRESS ON FILE
DORIAM M TORRES CAQUIAS        ADDRESS ON FILE
DORIAM RAMOS SUAREZ            ADDRESS ON FILE
DORIAN G VAN BRAKLE            ADDRESS ON FILE
DORIAN HERNANDEZ TORRES        ADDRESS ON FILE
DORIAN J ADAMES SERRANO        ADDRESS ON FILE
DORIAN J LOPEZ LEON            ADDRESS ON FILE
DORIAN M BAUTISTA VELA         ADDRESS ON FILE
DORIAN MAESTRE SOTO            ADDRESS ON FILE
DORIANE MALAVE SANTIAGO        ADDRESS ON FILE
DORIANN BENABE RIVERA          ADDRESS ON FILE
DORIANN I RAMIREZ SANCHEZ      ADDRESS ON FILE
DORIANN SANCHEZ GONZALEZ       ADDRESS ON FILE
DORIANN SANCHEZ GONZALEZ       ADDRESS ON FILE
DORIANN TRABAL RIOS            ADDRESS ON FILE
DORIBEL RODRIGUEZ BURGOS       ADDRESS ON FILE
DORIBEL RODRIGUEZ BURGOS       ADDRESS ON FILE
DORIBEL SEPULVEDA SANCHEZ      ADDRESS ON FILE
DORICEL AYALA SANTIAGO         ADDRESS ON FILE
DORICO CARABALLO, ROSE A       ADDRESS ON FILE
DORIEL RAMOS MATTEI            ADDRESS ON FILE
DORILIA ORTEGA VAZQUEZ         ADDRESS ON FILE
DORILIZ BERRIOS GUZMAN         ADDRESS ON FILE
DORILUZ AMADOR SANTIAGO        ADDRESS ON FILE
DORILUZ GONZALEZ FONSECA       ADDRESS ON FILE
DORIMAR DEL RIO VELEZ          ADDRESS ON FILE
DORIMAR ORTIZ RENTAS           ADDRESS ON FILE
DORIMAR REYES DIAZ             ADDRESS ON FILE
DORIMAR RODRIGUEZ MALDONADO    ADDRESS ON FILE
DORINDA SOTO CHAVEZ            ADDRESS ON FILE
DORIS A DE LEON SOTO           ADDRESS ON FILE
DORIS A GONZALEZ BRAVO         ADDRESS ON FILE
DORIS A HERNANDEZ GARCIA       ADDRESS ON FILE
DORIS A LUGO APONTE            ADDRESS ON FILE
DORIS A LUGO CORREA            ADDRESS ON FILE
DORIS A MEJIAS MONTALVO        ADDRESS ON FILE
DORIS A MENDEZ SUAREZ          ADDRESS ON FILE
DORIS A. MELO MENDOZA          ADDRESS ON FILE




                                                                           Page 2413 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2414 of 3500
                                                                                17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                    Address1                         Address2                              Address3           Address4   City         State   PostalCode   Country
DORIS ACOSTA CASTILLO            ADDRESS ON FILE
DORIS ARROYO VÉLEZ               LCDO. VICTOR M. PEREZ BERMUDEZ   URB. VILLA ANDALUCIA                  A‐22 CALLE RONDA              SAN JUAN     PR      00926
DORIS AVILA ROSA                 ADDRESS ON FILE
DORIS BALADEJO VAZQUEZ           ADDRESS ON FILE
DORIS BETANCOURT FIGUEROA        ADDRESS ON FILE
DORIS C BOYER Y VICTOR M BOYER   ADDRESS ON FILE
DORIS CAJIGAS ROSARIO            ADDRESS ON FILE
DORIS CAPIFALI PEREZ             ADDRESS ON FILE
DORIS CRUZ GARCIA                ADDRESS ON FILE
DORIS D FIGUEROA AVILES          ADDRESS ON FILE
DORIS D NEGRON QUINONES          ADDRESS ON FILE
DORIS DELGADO ANDINO             ADDRESS ON FILE
DORIS DIAZ DIAZ                  ADDRESS ON FILE
DORIS DOMINGUEZ CASTRO           ADDRESS ON FILE
DORIS DROZ LUGO                  ADDRESS ON FILE
DORIS E BORRERO TORRES           ADDRESS ON FILE
DORIS E COLON LASANTA            ADDRESS ON FILE
DORIS E DELGADO NAVARRO          ADDRESS ON FILE
DORIS E GARCIA RODRIGUEZ         ADDRESS ON FILE
DORIS E LUGO RAMIREZ             ADDRESS ON FILE
DORIS E MARQUEZ PAGAN            ADDRESS ON FILE
DORIS E MARQUEZ VELAZQUEZ        ADDRESS ON FILE
DORIS E MEDINA VILLAREAL         ADDRESS ON FILE
DORIS E ORTIZ MUNIZ              ADDRESS ON FILE
DORIS E RIVERA GARCIA            ADDRESS ON FILE
DORIS E URENA SANCHEZ            ADDRESS ON FILE
DORIS E. SANTOS MARRERO          ADDRESS ON FILE
DORIS G CORDERO VEGA             ADDRESS ON FILE
DORIS G. MEDINA AGUIAR           ADDRESS ON FILE
DORIS GOMEZ GONZALEZ             ADDRESS ON FILE
DORIS GONZALEZ MARENGO           ADDRESS ON FILE
DORIS I BOJITO BERNABE           ADDRESS ON FILE
DORIS I SOTO FELICIANO           ADDRESS ON FILE
DORIS ILEANA BOJITO BERNABE      ADDRESS ON FILE
DORIS ILEANA BOJITO BERNABE      ADDRESS ON FILE
DORIS J ILLAS OLMEDA             ADDRESS ON FILE
DORIS J JIMENEZ RAMOS            ADDRESS ON FILE
DORIS J MELENDEZ MORALES         ADDRESS ON FILE
DORIS J ORTIZ ARROYO             ADDRESS ON FILE
DORIS J SANTIAGO SERRANT         ADDRESS ON FILE
DORIS J VEGA PELLICIER           ADDRESS ON FILE
DORIS JIMENEZ VALENTIN           ADDRESS ON FILE
DORIS JUDITH MELENDEZ MORALES    ADDRESS ON FILE
DORIS L GONZALEZ MEDINA          ADDRESS ON FILE
DORIS L GONZALEZ RUIZ            ADDRESS ON FILE
DORIS L HERNANDEZ PALAU          ADDRESS ON FILE
DORIS L MORALES MORALES          ADDRESS ON FILE
DORIS L ROSAS MARRERO            ADDRESS ON FILE
DORIS LAMOSO NAVARRO             ADDRESS ON FILE
DORIS LOPEZ PEREZ                ADDRESS ON FILE
DORIS LOPEZ RIVERA               ADDRESS ON FILE
DORIS LUGO MUNOZ                 ADDRESS ON FILE
DORIS M BERRIOS QUINONEZ         ADDRESS ON FILE
DORIS M BONILLA VALLE            ADDRESS ON FILE
DORIS M COLON LEBRON             ADDRESS ON FILE
DORIS M EGURBIDA AROCHO          ADDRESS ON FILE
DORIS M ESTERAS                  ADDRESS ON FILE
DORIS M FLORES OLIVERAS          ADDRESS ON FILE
DORIS M ITURRINO PAGAN           ADDRESS ON FILE
DORIS M LANDRON BRUNO            ADDRESS ON FILE




                                                                                         Page 2414 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2415 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                         Address1                         Address2                                     Address3   Address4   City         State   PostalCode   Country
DORIS M MEDINA RAMIREZ                ADDRESS ON FILE
DORIS M MUNIZ TORRADO                 ADDRESS ON FILE
DORIS M NUNEZ LOPEZ                   ADDRESS ON FILE
DORIS M PENA CRESPO                   ADDRESS ON FILE
DORIS M PENALOZA TORRES               ADDRESS ON FILE
DORIS M PEREZ MATOS                   ADDRESS ON FILE
DORIS M RAMOS BETANCOURT              ADDRESS ON FILE
DORIS M RIVERA NU¥EZ                  ADDRESS ON FILE
DORIS M SANTIAGO MELENDEZ             ADDRESS ON FILE
DORIS M TORRES QUESADA                ADDRESS ON FILE
DORIS M. ACEVEDO CABAN                LCDA. YESENIA CENTENO BERMÚDEZ   PO BOX 1106                                                        COMERIO      PR      00782
DORIS M. FLORES OLIVERAS              ADDRESS ON FILE
DORIS M. LANDRON BRUNO                ADDRESS ON FILE
DORIS M. ROSARIO LACEN                ADDRESS ON FILE
DORIS M.FLORES OLIVERAS               ADDRESS ON FILE
DORIS MAGALI MERCADO                  ADDRESS ON FILE
DORIS MAGALI MERCADO QUINONES         ADDRESS ON FILE
DORIS MAGALI MERCADO QUINONES         ADDRESS ON FILE
DORIS MALDONADO FONSECA               ADDRESS ON FILE
DORIS MALDONADO RODRIGUEZ             ADDRESS ON FILE
DORIS MARTINEZ SANCHEZ                ADDRESS ON FILE
DORIS MERCADO SANCHEZ                 ADDRESS ON FILE
DORIS MERCADO VELEZ                   ADDRESS ON FILE
DORIS MIRANDA RAMOS                   ADDRESS ON FILE
DORIS MONTALVO GOMEZ                  ADDRESS ON FILE
DORIS MONTANEZ MELECIO                ADDRESS ON FILE
DORIS MUNOZ ROMAN                     ADDRESS ON FILE
DORIS N CALERO FERNANDEZ              ADDRESS ON FILE
DORIS N NEGRON VEGA                   ADDRESS ON FILE
DORIS N RIOS VALENTIN                 ADDRESS ON FILE
DORIS N RIVERA NIEVES                 ADDRESS ON FILE
DORIS N ROSARIO MARRERO               ADDRESS ON FILE
DORIS N RUIZ MUNIZ                    ADDRESS ON FILE
DORIS N TORRES CRUZ                   ADDRESS ON FILE
DORIS N TORRES MERCADO                ADDRESS ON FILE
DORIS N. ARROYO OLMO                  ADDRESS ON FILE
DORIS N. ARROYO OLMO                  ADDRESS ON FILE
DORIS N. CARRION                      ADDRESS ON FILE
DORIS N. SOLER VALLE                  ADDRESS ON FILE
DORIS OCASIO MEDIA & PROMOTIONS INC   COND ASTRALIS                    9546 CALLE DIAZ WAY APT 810                                        CAROLINA     PR      00979‐1469
DORIS ORTIZ BAEZ                      ADDRESS ON FILE
DORIS ORTIZ MORGAD0                   ADDRESS ON FILE
DORIS ORTIZ RIVERA                    ADDRESS ON FILE
DORIS PADILLA SANTIAGO                ADDRESS ON FILE
DORIS PANTOJA RIVERA                  ADDRESS ON FILE
DORIS PEREZ VELEZ                     ADDRESS ON FILE
DORIS PIRELA SANTIAGO                 ADDRESS ON FILE
DORIS QUINONEZ HERNANDEZ              ADDRESS ON FILE
DORIS R AGOSTO TIRADO                 ADDRESS ON FILE
DORIS R FELICIANO TORRES              ADDRESS ON FILE
DORIS R FELICIANO TORRES              ADDRESS ON FILE
DORIS R LUGO RODRIGUEZ                ADDRESS ON FILE
DORIS RAMOS & DAVID J PEREZ           ADDRESS ON FILE
DORIS REYES RAMIREZ                   ADDRESS ON FILE
DORIS REYES RODRIGUEZ                 ADDRESS ON FILE
DORIS RIOS VALENTIN                   ADDRESS ON FILE
DORIS RIVERA COLLAZO                  ADDRESS ON FILE
DORIS RIVERA SOTO                     ADDRESS ON FILE
DORIS ROBLES                          ADDRESS ON FILE
DORIS RODRIGUEZ COLON                 ADDRESS ON FILE




                                                                                                     Page 2415 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2416 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                   Address2                        Address3   Address4   City         State   PostalCode   Country
DORIS RODRIGUEZ COLON            ADDRESS ON FILE
DORIS RODRIGUEZ CRUZ             ADDRESS ON FILE
DORIS RODRIGUEZ MILLAN           ADDRESS ON FILE
DORIS RODRIGUEZ RIOS             ADDRESS ON FILE
DORIS RODRIGUEZ SEMPRIT          ADDRESS ON FILE
DORIS ROMAN DIAZ                 ADDRESS ON FILE
DORIS ROSARIO HERNANDEZ          ADDRESS ON FILE
DORIS ROSARIO ROSARIO            ADDRESS ON FILE
DORIS S SEPULVEDA LOPEZ          ADDRESS ON FILE
DORIS SALAS QUILES               ADDRESS ON FILE
DORIS SANCHEZ CACERES            ADDRESS ON FILE
DORIS SANCHEZ TORRES V ELA       CHARLENE DE LEON GUEVARA   PO BOX 366852                                         SAN JUAN     PR      00936‐6852
DORIS SANTANA MIRANDA            ADDRESS ON FILE
DORIS SANTIAGO MELENDEZ          ADDRESS ON FILE
DORIS SANTOS VELEZ               ADDRESS ON FILE
DORIS SILVA MORELL               ADDRESS ON FILE
DORIS SOSA TORRES                ADDRESS ON FILE
DORIS SOTO HERNANDEZ             ADDRESS ON FILE
DORIS T JIMENEZ DIAZ             ADDRESS ON FILE
DORIS T TORRUELLA PENA           ADDRESS ON FILE
DORIS TIRADO OTERO               ADDRESS ON FILE
DORIS TORRES MENDEZ              ADDRESS ON FILE
DORIS TORRES NEGRON              ADDRESS ON FILE
DORIS TORRES RAMIS DE AYREFLOR   ADDRESS ON FILE
DORIS TORRES RAMIS DE AYREFLOR   ADDRESS ON FILE
DORIS TORRES TORREGROSA          ADDRESS ON FILE
DORIS TRANSPORT                  HC 02 BOX 10051                                                                  AIBONITO     PR      00705
DORIS TRINIDAD CALCANO           ADDRESS ON FILE
DORIS VALLALTA BERNABE           ADDRESS ON FILE
DORIS VELAZQUEZ PONS             ADDRESS ON FILE
DORIS VELEZ SEGUINOT             ADDRESS ON FILE
DORIS W COLLET FERNANDEZ         ADDRESS ON FILE
DORIS Y LOPEZ ALVAREZ            ADDRESS ON FILE
DORIS Y VETTE BONILLA FERRER     ADDRESS ON FILE
DORIS Y VILLARAN OSORIO          ADDRESS ON FILE
DORIS Y VILLARAN OSORIO          ADDRESS ON FILE
DORIS Y.BONILLA FERRER           ADDRESS ON FILE
DORIS ZAMBRANA DE CASASUS        ADDRESS ON FILE
DORIS ZAMBRANA DE CASASUS        ADDRESS ON FILE
DORISALID RUIZ GUZMAN            ADDRESS ON FILE
DORISEL SERRANO RODRIGUEZ        ADDRESS ON FILE
DORISELLE R SANTIAGO             ADDRESS ON FILE
DORISMAR DELGADO VALENTIN        ADDRESS ON FILE
DORITZA CANCEL PEREZ             ADDRESS ON FILE
DORKA ALMONTE HERMON             ADDRESS ON FILE
DORKA PARIS DAVILA               ADDRESS ON FILE
DORKA RODRIGUEZ SANTIAGO         ADDRESS ON FILE
DORKAS F LIZARDO PEREZ           ADDRESS ON FILE
DORKAS F LIZARDO PEREZ           ADDRESS ON FILE
DORLISKA RIVERA OSORIO           ADDRESS ON FILE
DORMAN CONCRETE SERVICE          HC 5 BOX 11482                                                                   COROZAL      PR      00783
DORNA LLOMPART, KATHERINA M      ADDRESS ON FILE
DORNA LLOMPART, MARIEMMA         ADDRESS ON FILE
DORNA PESQUERA, REBECA           ADDRESS ON FILE
DORNA PESQUERA, SARA             ADDRESS ON FILE
DORNA PESQUERA, SARA MARINA      ADDRESS ON FILE
DORNA SOLA, ILEANA M.            ADDRESS ON FILE
DORNA SOLA, ILEANA M.            ADDRESS ON FILE
DORON FLORES, DAPHNA             ADDRESS ON FILE
DORON FLORES, MICHAEL            ADDRESS ON FILE




                                                                             Page 2416 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2417 of 3500
                                                                                17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                    Address1                         Address2                                  Address3   Address4   City        State   PostalCode   Country
DOROTEO LAUREANO, FREDDY         ADDRESS ON FILE
DOROTEO ROSARIO, CESAR           ADDRESS ON FILE
DOROTEO SANCHEZ CRUZ             ADDRESS ON FILE
DOROTHEA DIX HOSPITAL            820 S BOYLAN AVE                                                                                 RALEIGH     NC      27611
DOROTHY HILL BEAULIEU            ADDRESS ON FILE
DORSAINVIL LUMINA, SYLVIA        ADDRESS ON FILE
DORSAINVIL LUMINA, SYLVIA        ADDRESS ON FILE
DORSAL SIMPSON, RAFAEL           ADDRESS ON FILE
DORTA AGUILAR, ARACELIS          ADDRESS ON FILE
DORTA AGUILAR, BRENDA L.         ADDRESS ON FILE
DORTA AGUILAR, GUIMEL            ADDRESS ON FILE
DORTA AGUILAR, LUIS A            ADDRESS ON FILE
DORTA AGUILAR, MAYRA L           ADDRESS ON FILE
DORTA ALFONZO, JOSE              ADDRESS ON FILE
DORTA AMADOR, KARLA              ADDRESS ON FILE
Dorta Cortes, Holvin L           ADDRESS ON FILE
DORTA CORTES, YOLANDA IVETTE     ADDRESS ON FILE
DORTA DELGADO, LUZ V             ADDRESS ON FILE
DORTA DIAZ MD, JANET             ADDRESS ON FILE
DORTA DIAZ, WANDA                ADDRESS ON FILE
DORTA DORTA, ANA L               ADDRESS ON FILE
DORTA DORTA, PABLO DE LA C       ADDRESS ON FILE
DORTA DORTA, PABLO DE LA C       ADDRESS ON FILE
DORTA DORTA, RAFAELA             ADDRESS ON FILE
DORTA HERNANDEZ MD, LUIS M       ADDRESS ON FILE
DORTA LOPEZ, ILIA M.             ADDRESS ON FILE
DORTA LOPEZ, NOMARIS YANIRA      ADDRESS ON FILE
DORTA MACHADO, LOURDES I         ADDRESS ON FILE
DORTA MORALES, LYNNETTE          ADDRESS ON FILE
DORTA MOWERY, LEWIS M            ADDRESS ON FILE
DORTA MOYA, WILLIAM              ADDRESS ON FILE
DORTA NIEVES, MANUEL             ADDRESS ON FILE
DORTA NIEVES, MARIA L.           ADDRESS ON FILE
DORTA NIEVES, MARITZA            ADDRESS ON FILE
DORTA ORTIZ, ALICIA              ADDRESS ON FILE
DORTA REYES, RAMON               ADDRESS ON FILE
DORTA ROBLES, GLADYSBEL          ADDRESS ON FILE
DORTA RODRIGUEZ, GILBERTO        ADDRESS ON FILE
DORTA ROMAN, DAISY               ADDRESS ON FILE
DORTA ROMAN, LORENZO             ADDRESS ON FILE
DORTA ROMAN, MARIA J             ADDRESS ON FILE
Dorta Ruiz, Carlos J.            ADDRESS ON FILE
DORTA RUIZ, MIGUEL               ADDRESS ON FILE
DORTA SANTIAGO, DAHRIANA         ADDRESS ON FILE
DORTA SANTIAGO, NELSON           ADDRESS ON FILE
Dorta Santiago, Ramon A          ADDRESS ON FILE
DORTA SOTO, GABRIEL              ADDRESS ON FILE
DORTA VILLANUEVA, CARMEN M       ADDRESS ON FILE
DORTEKK INC                      PLAZA RIO HONDO MALL             90 AVE RIO HONDO STE 10 PMB 238                                 BAYAMON     PR      00961
DORTEKK INC                      PMB 238 90 AVE RIO HONDO                                                                         BAYAMON     PR      00961
DORTEKK INC                      PMB 238 RIO HONDO AVE 90                                                                         BAYAMON     PR      00961‐3105
DORTEKK INC.                     PMB 238 RIO HONDO AVE. NUM. 90                                                                   BAYAMON     PR      00961
DORVILLE ALBURQUERQUE, ANNELLY   ADDRESS ON FILE
DORVILLE VAZQUEZ, LORENLIZ       ADDRESS ON FILE
DORVILLE WILSON, AWILDA          ADDRESS ON FILE
DORY ANN CASUL ROMERO            ADDRESS ON FILE
DORY ANN CASUL ROMERO            ADDRESS ON FILE
DORYIVETTE TORRES DE JESUS       ADDRESS ON FILE
DORYSABEL AVILÉS GARCÍA          LCDO. CESAR LUGO
DOS SANTOS AZPIRI, DIANA         ADDRESS ON FILE




                                                                                             Page 2417 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2418 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                            Address1                       Address2                                    Address3           Address4   City         State   PostalCode   Country
DOSAL GAUTIER, IRIS M                    ADDRESS ON FILE
DOSAL MARRERO, IVELISSE                  ADDRESS ON FILE
DOSAL, ENEIDA                            ADDRESS ON FILE
DOSHI MD , PRAKASH J                     ADDRESS ON FILE
DOSTER MELENDEZ, THOMAS P                ADDRESS ON FILE
DOT GOV                                  10304 EATON PLACE                                                                                        FAIR FAX     VA      22030
DOTHAN HUGHSTON CLINIC                   348 HEALTHWEST DR                                                                                        DOTHAN       AL      36303
DOTTIN CARRILLO, IRIS ELENA              ADDRESS ON FILE
DOU SANTIAGO, ERIKA L                    ADDRESS ON FILE
DOUBLE S STATIONERY INC                  PO BOX 195497                                                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC                    AVE CHARDON # 11                                                                                         SAN JUAN     PR      00918
DOUBLE STATIONERY INC                    D/B/A SAVING OFFICE SUPPLIES   P O BOX 195497                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC                    D/B/A THE OFFICE SHOP          P O BOX 195497                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC                    D/B/A XEROGRAPHIC SUPPLIES     P O BOX 195497                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC                    P O BOX 19547                                                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC                    PO BOX 195497                                                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC DBA THE OFFICE     AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                 SAN JUAN     PR      00902‐4140
DOUBLE STATIONERY INC DBA THE OFFICE     D/B/A SAVING OFFICE SUPPLIES   P O BOX 195497                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC DBA THE OFFICE     D/B/A THE OFFICE SHOP          P O BOX 195497                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC DBA THE OFFICE     D/B/A XEROGRAPHIC SUPPLIES     P O BOX 195497                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC DBA THE OFFICE SHO 11 AVE. CHARDON                                                                                          SAN JUAN     PR      00918
DOUBLE STATIONERY INC DBA THE OFFICE SHO D/B/A SAVING OFFICE SUPPLIES   113 CALLE GANGES                                                          SAN JUAN     PR      00926
DOUBLE STATIONERY INC DBA THE OFFICE SHO D/B/A THE OFFICE SHOP          URB EL PARAISO                              113 CALLE GANGES              SAN JUAN     PR      00926
DOUBLE STATIONERY INC DBA THE OFFICE SHO D/B/A XEROGRAPHIC SUPPLIES     113 GANGES STREET                                                         SAN JUAN     PR      00929
DOUBLE STATIONERY INC DBA THE OFFICE SHO PO BOX 195497                                                                                            SAN JUAN     PR      00919‐5497
DOUBLE STATIONERY INC/THE OFFICE SHOP    D/B/A SAVING OFFICE SUPPLIES   113 CALLE GANGES                                                          SAN JUAN     PR      00926‐0000
DOUBLE STATIONERY INC/THE OFFICE SHOP    D/B/A XEROGRAPHIC SUPPLIES     113 GANGES STREET                                                         SAN JUAN     PR      00929‐0000
DOUBLE STATIONERY INC/THE OFFICE SHOP    PO BOX 195497                                                                                            SAN JUAN     PR      00919‐5497
DOUBLE TREE GUEST SUITES TIME SQUARE NYC 1568 BROADWAY                                                                                            NEW YORK     NY      10036‐8201
DOUBLE V PRODUCTS DISTRIBUTORS INC       URB ALTA VISTA                 1942 CALLE AFRODITA                                                       PONCE        PR      00716
DOUEZ SEPULVEDA, ZAHIRA                  ADDRESS ON FILE
DOUGLAS A SERRANO ROSA                   ADDRESS ON FILE
DOUGLAS ACEVEDO TOLEDO                   ADDRESS ON FILE
DOUGLAS BARRIS LUCIANO                   ADDRESS ON FILE
DOUGLAS CANDELARIO                       ADDRESS ON FILE
DOUGLAS CANDELARIO INC                   PO BOX 33                                                                                                CATANO       PR      00963
DOUGLAS E. MENDEZ COLL                   ADDRESS ON FILE
DOUGLAS FROHMAN                          ADDRESS ON FILE
DOUGLAS H HACHENBURG                     ADDRESS ON FILE
DOUGLAS H MCHOUL                         ADDRESS ON FILE
DOUGLAS J MELENDEZ CRUZ                  ADDRESS ON FILE
DOUGLAS LENNOX SILVA                     ADDRESS ON FILE
DOUGLAS M RIVERA CUEVAS                  ADDRESS ON FILE
DOUGLAS MERCADO COLLADO                  ADDRESS ON FILE
DOUGLAS ORTIZ REYES                      ADDRESS ON FILE
DOUGLAS P SANCHEZ                        ADDRESS ON FILE
DOUGLAS ROJAS CORTINA                    ADDRESS ON FILE
DOULETTE, TIMOTHY                        ADDRESS ON FILE
DOUZ SEPULVEDA, ZAHIRA                   ADDRESS ON FILE
DOVAL CORTES MD, ARMANDO A               ADDRESS ON FILE
Doval Fernandez, Loribi                  ADDRESS ON FILE
DOVAL FERNANDEZ, LORIBI                  ADDRESS ON FILE
DOVAL MINANA & PEDROSA LAW OFFICES PSC P O BOX 366482                                                                                             SAN JUAN     PR      00936‐6480
DOVAL MORALES, ARMANDO                   ADDRESS ON FILE
DOVAL VARGAS, DIANA                      ADDRESS ON FILE
DOVER BEHAVIOR HEALTH SYSTEM             725 HOSEPOND RD DOVER                                                                                    DOVER        DE      19901
DOVER GENERAL HOSPITAL AND MEDICAL CENTE34 JARDINE ST                                                                                             MALVERN      PA      07801
DOVIN FUNERAL HOME INC                   27 1 ELYRIA AVE                                                                                          LORAIN       OH      44055‐1391
DOW CHEMICAL INTER                       BDE BUILDING                   638 ALDEBARRAN SUITE HQ 06                                                SAN JUAN     PR      00920
DOW CHEMICAL INTER




                                                                                                     Page 2418 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2419 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                     Address2                                     Address3   Address4   City              State   PostalCode   Country
DOW OJEDA, WILLIAM                       ADDRESS ON FILE
DOWNS LLANOS, JULIA                      ADDRESS ON FILE
DOWNS MELENDEZ, MARIO                    ADDRESS ON FILE
DOWNTOWN DEVELOPMENT CORP.               LCDO. FERNANDO FONT LEE      PO BOX 13230                                                       SAN JUAN          PR      00910‐0328
DOWTOWN DEVELOPMENT CORP/ BANCO POPUAREA DEL TESORO                   DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
DOWTOWN DEVELOPMENT CORP/ BANCO POPUDE PR POPULAR CENTER              209 MUNOZ RIVERA AVE FLOOR 8                                       SAN JUAN          PR      00918
DOWY CRANE RENTAL                        PO BOX 1428                                                                                     CATANO            PR      00963
DOX MILLAN, FRANCISCO                    ADDRESS ON FILE
DOYLE R LATORRE VEGA                     ADDRESS ON FILE
DOYNET Y MENDEZ FLORES                   ADDRESS ON FILE
DOZIER MERCED, DAVID                     ADDRESS ON FILE
DOZIER SANTIAGO, KATHERINE               ADDRESS ON FILE
DP PROPERTIES LLC                        2063 UNIVERSITY PARKWAY                                                                         AIKEN             GA      29801
D'PLANA COLLAZO, MARTHA                  ADDRESS ON FILE
DPRENSA LLC                              CARR 849 COND VISTA VERDE    APT 321                                                            SAN JUAN          PR      00924‐4570
DPTO DE LA FAMILIA ARMANDO CIRINO ORTIZ PO BOX 11218                                                                                     SAN JUAN          PR      00910‐1218
DPTO DE LA FAMILIA Y/O BLANCA HERNANDEZ VICT STATION CTRO GUB STE 6   P O BOX 970 C/ MUNOZ RIVERA                                        AGUADILLA         PR      00603
DPTO DE SALUD / NORMAN J GONZALEZ MOREN P O BOX 70184                                                                                    SAN JUAN          PR      00936
DPTO DEFAMILIA Y/O ANGEL L PARRILLA      PO BOX 11218                                                                                    SAN JUAN          PR      00910‐1218
DPTO LA FAMILIA Y/O ADANIT RODRIGUEZ     GONZALEZ                     P O BOX 4707                                                       CAROLINA          PR      00984‐4707
DQF PEDIATRICS CORP                      PO BOX 487                                                                                      PENUELAS          PR      00624
DR BRENDA LATORRES                       PO BOX 1445                                                                                     TRUJILLO ALTO     PR      00977
DR DODANID CARDONA MEDINA CSP            URB SURENA                   76 VIA DEL SOL                                                     CAGUAS            PR      00727
DR HIRAM VEGA AYOROA P S C               URB ROYAL PALM               IA7 CALLE AZALEA                                                   BAYAMON           PR      00956
DR JAVIER E MUSKUS & ASOCIADOS , C S P   PO BOX 141328                                                                                   ARECIBO           PR      00614
DR JORGE L RODRIGUEZ ORENGO C S P        EST DE YAUCO                 D3 CALLE JASPE                                                     YAUCO             PR      00698
DR REYNALDO DE JESUS RODRIGUEZ PSC       909 AVE TITO CASTRO                                                                             COTO LAUREL       PR      00780
DR SAMUEL MELENDEZ ‐ INTERNAL MEDICINE SEPO BOX 250                                                                                      MAYAGUEZ          PR      00681‐0250
DR ALBIN MARTINEZ LUGO GINECOLOGO OBSTET770 AVE HOSTOS STE 204        POLICLINICA BELLA VISTA                                            MAYAGUEZ          PR      00682
DR ANGEL WHATTS DBA MANATI VISUAL CENTERURB ATENAS                    CALLE ELLIOT VELEZ J 12                                            MANATI            PR      00674
DR AUDIOVISUAL                           P O BOX 19940                                                                                   SAN JUAN          PR      00910‐9940
DR AUDIOVISUAL INC                       PO BOX 19940                                                                                    SAN JUAN          PR      00910‐9940
DR AUDIOVISUALS INC                      PO BOX 19940                                                                                    SAN JUAN          PR      00910‐1940
DR AUTO SPA AND SALES,CORP               URB PALACIOS DE MARBELLA     1125 CALLE CRISTOBAL COLON                                         TOA ALTA          PR      00953‐5221
DR CESAR H TRABANCO DELA CRUZ            PO BOX 10578                                                                                    PONCE             PR      00732
DR CLOCK/ALBERTO GARCIA                  3910 CALLE LOS HENOS                                                                            SAN ANTONIO       PR      00690
DR ERNESTO DEL VALLE                     PO BOX 655                                                                                      AGUADA            PR      00602‐0655
DR FRANK CAMACHO CRUZ                    ADDRESS ON FILE
DR HARVARD MEDICAL, SUSAN KELLY          ADDRESS ON FILE
DR HECTOR E IBANEZ PABON M D             ADDRESS ON FILE
DR ISAAC CALERO/ BIG SMILE DENTAL CARE   URB LAMELA                   B 2 CALLE TURQUESA                                                 ISABELA           PR      00662
DR JESUS W RODRIGUEZ PSC                 PO BOX 664                                                                                      PONCE             PR      00728
DR JOSE A LUCCA RODRIGUEZ                ADDRESS ON FILE
DR JOSE FELIX INIGO MONEY PURCHASE PLAN PO BOX 1265                                                                                      MAYAGUEZ          PR      00681
DR JOSE J LOPEZ AGUDO                    ADDRESS ON FILE
DR JUAN B LICEAGA SANCHEZ                ADDRESS ON FILE
DR LUBE CORP                             PO BOX 1966                                                                                     SAN SEBASTIAN     PR      00685
DR MANUEL A TORRES                       ADDRESS ON FILE
DR MANUEL GARCIA VINA                    ADDRESS ON FILE
DR MICHAEL A SHAND IRREVOCABLE LIFE      PO BOX 191429                                                                                   SAN JUAN          PR      00919‐1429
DR MIGUEL MAGRANER SUAREZ                ADDRESS ON FILE
DR OBED PEREZ GONZALEZ                   ADDRESS ON FILE
DR OBED PEREZ GONZALEZ                   ADDRESS ON FILE
DR OBED PEREZ GONZALEZ                   ADDRESS ON FILE
DR OFFICE FURNITURE                      ADDRESS ON FILE
DR P PHILLIPS HOSPITAL                   PO BOX 19072                                                                                    GREEN BAY         WI      54307‐9072
DR PEDRO BUSTILLO CARVAJAL               PO BOX 8125                                                                                     HUMACAO           PR      00792
DR PHILLIPS HOSPITAL                     PO BOX 19058                                                                                    GREN BAY          WI      54307‐9058
DR PRO MEDICAL INDUSTRIAL LAB INC        1634 AVE JESUS T PINERO                                                                         SAN JUAN          PR      00921
DR RAFAEL OMS                            ADDRESS ON FILE




                                                                                                    Page 2419 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2420 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                    Address2                                 Address3   Address4   City            State   PostalCode   Country
DR RAMON A VELEZ ARCE CSP                ADDRESS ON FILE
DR RAMON A VELEZ ARCE CSP                55 CALLE ESTRELLA N STE 1                                                                                  CAMUY           PR      00627‐2544
DR ROMAN DIAZ HEMATOLOGY & ONCOLOGY SESENDEROS DE MONTEHIEDRA                        68 AQUAMARINA                                                  SAN JUAN        PR      00926
DR VICENTE LABOY RAMOS CSP               PO BOX 1559                                                                                                AIBONITO        PR      00705‐1559
DR. ARTURO BLANCO PLARD                  ADDRESS ON FILE
DR. CARLOS A. ORTIZ SOTO CSP             34 CALLE CARBONELL                                                                                         CABO ROJO       PR      00623
DR. CARLOS E. CLAVELL MARCHESE           ADDRESS ON FILE
DR. CARLOS O. RODRIGUEZ                  ADDRESS ON FILE
DR. COMPUTER CORP.                       PO BOX 610                                                                                                 FAJARDO         PR      00738
DR. CONTRACTORS & MAINTENANCE CORP.      ADDRESS ON FILE
DR. ELISAMUEL MARTINEZ DIAZ, PSY.D.      ADDRESS ON FILE
DR. ELISAMUEL MARTINEZ DIAZ, PSY.D.      ADDRESS ON FILE
DR. FRANCISCO AMADOR RAMIREZ, CSP        ADDRESS ON FILE
DR. HUMBERTO M GUIOT                     ADDRESS ON FILE
DR. IVAN J. CORTES REXACH                ADDRESS ON FILE
DR. IVAN J. CORTES REXACH                ADDRESS ON FILE
DR. JAFFET M. SEDA RODRIGUEZ             ADDRESS ON FILE
DR. JAIME DESEDA TOURS
DR. JAIME R. TORRES FIGUEROA             ADDRESS ON FILE
DR. JESUS M. RODRIGUEZ BLANCO            ADDRESS ON FILE
DR. JORGE L. SANCHEZ COLON               ADDRESS ON FILE
DR. JORGE L. WEBER ACEVEDO               ADDRESS ON FILE
Dr. Juan A. Hernandez, Law Offices C.S.P P O BOX 367059                                                                                             SAN JUAN        PR      00936‐7059
DR. LEONARDO CASTRO MONTANEZ             ADDRESS ON FILE
DR. LUIS B RIVERA NAZARIO
DR. MIGUEL RIVERA TORRES                 ADDRESS ON FILE
DR. RAFAEL ORTIZ PIETRI                  LCDO. JOSE PEREZ HERNANDEZ                  18‐14 OVIEDO STREET                      TORRIMAR              GUAYNABO        PR      00966
DR. RANIEL M. VERDEJO RODRIGUEZ          ADDRESS ON FILE
DR. VERDEJO BEHAVIORAL HEALTH GROUP, PSC AVENIDA AMERICO MIRANDA #1253                                                                              SAN JUAN        PR      00921
DR. VICTOR J. LLADO                      ADDRESS ON FILE
DR. VICTOR J. LLADO & CONSULTORES, INC.  URB ROOSEVELT 374 CALLE RAFAEL LAMAR                                                                       HATO REY        PR      00918
DRA BARBARA RYSZ GO, CSP                 PO BOX 6427                                                                                                MAYAGUEZ        PR      00681
DRA AUDIOCLINICA INC                     PO BOX 2000 PMB 29                                                                                         PONCE           PR      00715
DRA CAROLINE RODRIGUEZ / YAUCO OPTOMETR 26 CALLE SANTO DOMINGO                                                                                      YAUCO           PR      00698‐3920
DRA CELIA MENDEZ OB‐GIN PSC              MANS DE RIO PIEDRAS                         1809 CALLE GARDENIA                                            SAN JUAN        PR      00926
DRA DAISY VAZQUEZ DUBEAU                 PO BOX 195567                                                                                              SAN JUAN        PR      00919
DRA IRIS ACEVEDO MARTY PSC               PO BOX 4042                                                                                                AGUADILLA       PR      00605‐4042
DRA IRIZ A ACEVEDO MARTY, PSC            ADDRESS ON FILE
DRA LILIA RIVERA PSC                     ADDRESS ON FILE
DRA MARGARET MATOS DBA CUPEY VISION CAR AVE SAN CLAUDIO 404                                                                                         SAN JUAN        PR      00926
DRA MARIA COMAS MATOS PSC                PO BOX 1038                                                                                                AGUADA          PR      00602
DRA SONIA DALILA ROMAN PEREZ             ADDRESS ON FILE
DRA. ANAMAR APONTE MELLADO               ADDRESS ON FILE
DRA. JANET SEPULVEDA                     ADDRESS ON FILE
DRA. JENIFER M. DELGADO LOPEZ            ADDRESS ON FILE
DRA. LESLEY A. MELENDEZ RIVERO           ADDRESS ON FILE
DRA. LINES M PEREZ FIGUEROA              ADDRESS ON FILE
DRA. LOURDES FELICIANO NIEVES            ADDRESS ON FILE
DRA. MARTA HERNANDEZ MOLL                ADDRESS ON FILE
Dra. Milagros Marrero Mas                ADDRESS ON FILE
DRA. MILAGROS SANTOS OTERO               ADDRESS ON FILE
DRA. NILDA MATOS                         EL SENORIAL MAIL ST. 138 WINSTON CHURCHIL   BOX 842                                                        RIO PIEDRAS     PR      00926
DRA. NOELIA EUSEBIO                      ADDRESS ON FILE
DRAFT INTEGRATED COMUNICATIONS LLC       COND LA CIUDADELA                           APT 204D                                                       GUAYNABO        PR      00969
DRAFT LINE CORP                          PO BOX 9672                                                                                                SAN JUAN        PR      00908
DRAFTING WORK GROUP, CORP                URB PUERTO NUEVO                            CALLE ALESIA 1034                                              SAN JUAN        PR      00920
DRAGON DELIVERY SERVICES                 CIUDAD JARDIN III                           282 CALLE LILIA BARROSO                                        TOA ALTA        PR      00953‐4882
DRAGONI BAEZ, SANDRA                     ADDRESS ON FILE
DRAGONI BAEZ, WANDA                      ADDRESS ON FILE
DRAGONI CEBOLLERO, ALEXIS                ADDRESS ON FILE




                                                                                                               Page 2420 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2421 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                         Address1                                  Address2                                    Address3          Address4   City              State   PostalCode   Country
DRAGONI CEBOLLERO, ALEXIS             ADDRESS ON FILE
DRAGONI MENDEZ, JOSE A                ADDRESS ON FILE
DRAMADANCER INC                       URB SAN AUGUSTO                           F 11 CALLE SANTONI                                                       GUAYANILLA        PR      00656
DRAMARAMA INC                         COND HATO REY PLAZA                       200 AVE PINERO APT 19P                                                   SAN JUAN          PR      00918
DRAMARAMA INC.                        COND HATO REY PLAZA                       APT 19P                                     AVE. PINERO                  SAN JUAN          PR      00918
DRAMOND PROMOCOES                     SHIS QI 21                                CONJ. 06 CASA 16                            CEP: 71.655‐260              BRAZILIA DF               71.655‐260   BRAZIL
DRAMYA CORPORATION                    PO BOX 1664                                                                                                        CAROLINA          PR      00984‐1664
DRASKA MACHELLY CASILLAS HERNANDEZ    ADDRESS ON FILE
DRAVET, JAMES                         ADDRESS ON FILE
DRC CORPORATION                       PO BOX 70202                                                                                                       SAN JUAN          PR      00936‐0202
D'REAL OFFICE & DESIGN                JARDINES REALES SHOPPING                  35 CALLE JUAN C BORBON STE 67 PMB 469                                    GUAYNABO          PR      00969
D'REAL OFFICE & DESING                35 CALLE JUAN C. BORBON STE 67‐469                                                                                 GUAYNABO          PR      00969‐5375
D'REAL OFFICE DESIGN                  35 JUAN C BORBON STE 67‐469                                                                                        GUAYNABO          PR      00969‐5375
DREAM LUXURY TRANSPORTATION INC       COND QUINTAVALLE                          112 CALLE ACUARELA APT 149                                               GUAYNABO          PR      00969‐3586
DREAM TEAM CONSULTING GROUP           EDIF CONDADO SUITE 401                    607 CALLE CONDADO                                                        SAN JUAN          PR      00907
DREAM TEAM SKATE CLUB INC             RES MANUEL A PEREZ                        EDIF A‐16 APT 191                                                        SAN JUAN          PR      00922
DREAM TECH INC.                       CAPARRA TERRACE CALLE 28 SE 813 BUZON 3                                                                            SAN JUAN          PR      00921‐0000
DREAM WORLD OF COMPUTER INSTITUTE     P O BOX 19658                                                                                                      SAN JUAN          PR      00910
DREAMLAND PLAYSCHOOL                  COM LA DOLORES                            67 AVE CASIANO CEPEDA                                                    RIO GRANDE        PR      00745
DREAMLIVE ENTERPRISES, INC            VALLE DEL TESORO                          35 VALLE UTUADO                                                          GURABO            PR      00778‐2752
DREAMS FOUNDATION/HECTOR M SERRANO RAMADDRESS ON FILE
DRESSCOM INC                          PO BOX 801339                                                                                                      COTO LAUREL       PR      00780
DREVON MIRANDA, JOANIE                ADDRESS ON FILE
DREVON PEREZ, ENID                    ADDRESS ON FILE
DREVON RIVERA, ATZEL                  ADDRESS ON FILE
DREVON RIVERA, DORIS N                ADDRESS ON FILE
DREW BAILEY, SUSETTE                  ADDRESS ON FILE
DREW BAILEY, TERENCE                  ADDRESS ON FILE
DREXEL BURHAM LAMBERT GROUP           29 PIONEER STREET STE 301                                                                                          COOPERSTOWN       NY      13326
DREXEL BURHAM LAMBERT GROUP           AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                SAN JUAN          PR      00902‐4140
DREXEL UNIVERSITY COLLEGE OF MEDICINE 3201 ARCH STREET, SUITE 420                                                                                        PHILADELPHIA      PA      19104
DREYER MEDICAL CLINIC                 1221 N HIGHLAND AVE                                                                                                AURORA            IL      60506
DREYFOUS & ASSOC                      BOX 608 SENORIAL STATION                                                                                           SAN JUAN          PR      00926
DREYFOUS & ASSOC                      MSC 608                                   138 AVE WINSTON CHURCHILL                                                SAN JUAN          PR      00926‐6023
DRIASI INC                            7930 CENTURY BLVD                                                                                                  CHANHASSEN        MD      55317
DRIF WIND INC                         MIRAMAR                                   752 AVE FERNANDEZ JUNCOS                                                 SAN JUAN          PR      00908
DRINKER BIDDLE & REATH LLP            191 N. WACKER DRIEVE                      SUITE 3700                                                               CHICAGO           IL      60606‐1698
DRISDE CRUZ MARTINEZ                  ADDRESS ON FILE
DRIVERS LICENCE GUIDE CO              PO BOX 5305, DEPT. 06                                                                                              REDWOOD CITY      CA      94063
DRM, CONSTRACTORS, INC                HC 9 BOX 92603                                                                                                     SAN SEBASTIAN     PR      00685
DROGUERIA BETANCES INC                PO BOX 368                                                                                                         CAGUAS            PR      00726‐0368
DROGUERIA CABALLERO                   ADDRESS ON FILE
DROGUERIA DEL CARIBE                  ADDRESS ON FILE
DROS LORENZO, MARIGLORI               ADDRESS ON FILE
DROS ORONA, ARLENE                    ADDRESS ON FILE
DROS ORONA, JORGE                     ADDRESS ON FILE
DROS PEREZ MD, JACQUELINE             ADDRESS ON FILE
DROS PEREZ, BERENIS                   ADDRESS ON FILE
DROS PEREZ, MARIA                     ADDRESS ON FILE
DROS TORRES, EFRAN                    ADDRESS ON FILE
DROSS NATER, KRYSTIAN                 ADDRESS ON FILE
DROSS RIOS, ANGEL                     ADDRESS ON FILE
DROSS RIVERA, NELSON                  ADDRESS ON FILE
Dross Vazquez, Ruben                  ADDRESS ON FILE
DROUYN & CO INC                       PO BOX 10367                                                                                                       SAN JUAN          PR      00922
DROUYN GARCIA, JAVIER                 ADDRESS ON FILE
DROUYN MARRERO, MIGUEL                ADDRESS ON FILE
DROUYN MORALES, ISABEL M              ADDRESS ON FILE
DROUYN MORALES, JOSE                  ADDRESS ON FILE
DROUYN PANDO, GABRIEL                 ADDRESS ON FILE




                                                                                                             Page 2421 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2422 of 3500
                                                                             17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                 Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
DROUYN, GRISEL M              ADDRESS ON FILE
DROWNE DIAZ, JIMMY A          ADDRESS ON FILE
DROZ ALVARADO, JOSE           ADDRESS ON FILE
DROZ ALVARADO, JOSE I         ADDRESS ON FILE
DROZ ALVARADO, TATIANA M      ADDRESS ON FILE
DROZ BAYONA, CARMEN I         ADDRESS ON FILE
DROZ BERMUDEZ, JORGE          ADDRESS ON FILE
DROZ BERNIER, RAUL L          ADDRESS ON FILE
DROZ BERRIOS, ALBERTO         ADDRESS ON FILE
DROZ BERRIOS, JORGE           ADDRESS ON FILE
DROZ BERRIOS, NELSON          ADDRESS ON FILE
DROZ BONILLA, GABRIEL         ADDRESS ON FILE
DROZ CARRERO, ALEX JOSUE      ADDRESS ON FILE
Droz Carrero, Yania B         ADDRESS ON FILE
DROZ COLON, ANGELISSE         ADDRESS ON FILE
DROZ DOMINGUEZ, TERESITA      ADDRESS ON FILE
DROZ FRANCO, NINA A           ADDRESS ON FILE
Droz Gonzalez, Luis A         ADDRESS ON FILE
Droz Gonzalez, Rosa N         ADDRESS ON FILE
DROZ GONZALEZ, ROSA N.        ADDRESS ON FILE
DROZ GUZMAN, MARILYN          ADDRESS ON FILE
DROZ HERNANDEZ, JAIRO         ADDRESS ON FILE
DROZ HERNANDEZ, MARIBEL       ADDRESS ON FILE
DROZ HERNANDEZ, ROSALINA      ADDRESS ON FILE
DROZ LEANDRY, JOSUE           ADDRESS ON FILE
Droz Lopez, Enrique           ADDRESS ON FILE
DROZ LOPEZ, GRISEL            ADDRESS ON FILE
DROZ LOPEZ, GRISEL            ADDRESS ON FILE
DROZ LOPEZ, MICHAEL           ADDRESS ON FILE
DROZ MARTINEZ, VANESSA        ADDRESS ON FILE
DROZ MEDINA, DIANA            ADDRESS ON FILE
DROZ MEDINA, WILSON           ADDRESS ON FILE
DROZ MORALES, ANA S           ADDRESS ON FILE
DROZ MORALES, LYNETTE         ADDRESS ON FILE
DROZ OQUENDO, DIANA           ADDRESS ON FILE
DROZ RIVERA, ANGEL            ADDRESS ON FILE
DROZ RIVERA, ANGEL            ADDRESS ON FILE
DROZ RIVERA, JESUS            ADDRESS ON FILE
DROZ RIVERA, JORGE A          ADDRESS ON FILE
DROZ RIVERA, MIGUEL A         ADDRESS ON FILE
DROZ RIVERA, SYLVIA           ADDRESS ON FILE
DROZ RODRIGUEZ, ELSI          ADDRESS ON FILE
DROZ RODRIGUEZ, PEDRO         ADDRESS ON FILE
DROZ ROSARIO, AIMEE K         ADDRESS ON FILE
DROZ SERRANO, YESENIA         ADDRESS ON FILE
DROZ SOTO, GUILLERMO          ADDRESS ON FILE
DROZ VELAZQUEZ, ERIKA         ADDRESS ON FILE
DROZ YAPUR, JORGE             ADDRESS ON FILE
DROZ ZAYAS, AIDA              ADDRESS ON FILE
DROZ ZAYAS, LUCY              ADDRESS ON FILE
DROZ, TANYA MARIE             ADDRESS ON FILE
DROZDZEWSKI NIEVES, DIANNE    ADDRESS ON FILE
DRS ENGINEERING PSC           TURABO GARDENS            T1 6 CALLE 28                                               CAGUAS       PR      00727
DRUCK MD, MARK                ADDRESS ON FILE
DRUGS UNLIMITED INC           PO BOX 11797                                                                          SAN JUAN     PR      00910‐2897
DRULLARD ALONSO, JOSELYN      ADDRESS ON FILE
DRULLARD ELECTRONICS INC      VILLA GRILLASCA           J3B AVE MUNOZ RIVERA                                        PONCE        PR      00731
DRULLARD RODRIGUEZ, DEBORAH   ADDRESS ON FILE
DSE CORP                      1110 CALLE VALENCIA                                                                   SAN JUAN     PR      00907‐5263
DSI Inc.                      MM‐7 CALLE 420            URB COUNTRY CLUB                                            CAROLINA     PR      00982




                                                                               Page 2422 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2423 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                          Address2                                    Address3   Address4   City             State   PostalCode   Country
DSIGNAGE, INC.                           529 AVE. ANDALUCIA PUERTO NUEVO                                                                     SAN JUAN         PR      00920
DSSN38OLLI/ JAAAA                        PO BOX 269339                                                                                       INDIANAPOLIS     IN      46226‐9339
DT MEDICAL SUPPLIES INC                  PO BOX 194859                                                                                       SAN JUAN         PR      00919‐4859
DT PROMOTIONS                            SABANERA DEL DORADO               241 CAMINO DEL JAGUEY                                             DORADO           PR      00696
DT SEARCH CORPORATION                    6852 TULLIP HILL                                                                                    TER BETHESDA     MD      20816
DTE LLC                                  ESTANCIAS DE LA FUENTE            CALLE ARCHIDUQUE #31                                              TOA ALTA         PR      00953
DTL CONFEDERATED SECURITY DATA CORP      PO BOX 1668                                                                                         TOA BAJA         PR      00951‐1668
DTOP                                     LCDA. YARLENE JIMENEZ             PMB 291 #1353                               RD. 19                GUAYNABO         PR      00966‐2700
DTOP                                     LIC ARELIO GRACIA                 HC72 BOX 3694                                                     NARANJITO        PR      00719
DTOP                                     LIC BENJAMIN MORALES              TOWN PARK 1 CALLE MARGINAL                                        SAN JUAN         PR      00924‐5006
DTOP                                     LIC JOEL ORTIZ                    434 AVE HOSTOS                                                    SAN JUAN         PR      00918
DTOP Y CARMEN I RODRIGUEZ SANTOS         ADDRESS ON FILE
DTOP Y DALILA MARTINEZ                   ADDRESS ON FILE
DTP SALE & SERVICE, LLC                  PO BOX 890177                                                                                       CHARLOTTE        NC      28289‐0177
DTRH SEG CHOFERIL Y/O BETHZAIDA QUILES   505 AVE MUNOZ RIVERA                                                                                SAN JUAN         PR      00919
DTS INSTRUMENTATION SERVICES             P O BOX 2225                                                                                        MANATI           PR      00674
DTS INSTRUMENTATION SERVICES INC         PO BOX 2225                                                                                         MANATI           PR      00674
DUAL INTEGRATED COMMUNICATIONS, LLC      784 VIA PRIMAVERAL                HACIENDA SAN JOSE                                                 CAGUAS           PR      00727
DUAL SPECIALTY UNDERWRITERS INC          22 AVE GONZALEZ GUISTIY STE 222                                                                     GUAYNABO         PR      00968
DUAMEL TORRES ITF/ JESSICA TORRES        ADDRESS ON FILE
DUANY LEBEQUE, UBALDO                    ADDRESS ON FILE
DUARTE DENTAL CARE LLC                   2DO NIVEL SUITE 5B                229 CALLE DUARTE                                                  SAN JUAN         PR      00917
DUARTE FELICIANO, JOSE A.                ADDRESS ON FILE
DUARTE FRANCISCO, JOAO                   ADDRESS ON FILE
DUARTE GONZALEZ, MARIA                   ADDRESS ON FILE
DUARTE GONZALEZ, MARIA A                 ADDRESS ON FILE
DUARTE HERNANDEZ, MARIA E                ADDRESS ON FILE
DUARTE MARIN,NADIA                       ADDRESS ON FILE
DUARTE MARTINEZ, PAOLA                   ADDRESS ON FILE
Duarte Muriel, Denisse I.                ADDRESS ON FILE
DUARTE MURIEL, ENRIQUE                   ADDRESS ON FILE
DUARTE PENA, FRANCISCO E.                ADDRESS ON FILE
DUARTE PINO, ANTONIO J.                  ADDRESS ON FILE
DUARTE RODRIGUEZ, DAMARIS                ADDRESS ON FILE
DUARTE ROSARIO, AGUSTIN                  ADDRESS ON FILE
DUARTE ROSARIO, JUAN                     ADDRESS ON FILE
DUARTE URENA, ANA G.                     ADDRESS ON FILE
DUARTE URIBE, TATIANA                    ADDRESS ON FILE
DUARTE VILA, HUGO L.                     ADDRESS ON FILE
DUARTE VIZCARRONDO, ELBA E               ADDRESS ON FILE
DUBAL ROLON ALVARADO                     ADDRESS ON FILE
DUBAL ROLON ALVARADO                     ADDRESS ON FILE
DUBEY, RAJESH K.                         ADDRESS ON FILE
DUBIORGA BATISTA POLANCO                 ADDRESS ON FILE
DUBOCQ BERDEGUEZ, DENISE                 ADDRESS ON FILE
DUBOCQ BERDEGUEZ, FRANCISCO              ADDRESS ON FILE
DUBOCQ DE SANTIAGO, DENISE               ADDRESS ON FILE
DUBOCQ VENTURA MD, FRANCIS M             ADDRESS ON FILE
DUBOIS AVILA, MERCEDES                   ADDRESS ON FILE
DUBOIS CASTANEDA, JORGE                  ADDRESS ON FILE
DUBON, JORGE                             ADDRESS ON FILE
DUBOY CASTELLVI, SILVIA                  ADDRESS ON FILE
DUBREE, NEAL                             ADDRESS ON FILE
DUCHATEAU ALVAREZ, GABRIEL               ADDRESS ON FILE
DUCHESNE COTTO, VILMA                    ADDRESS ON FILE
DUCHESNE GUZMAN, FRANCISCO               ADDRESS ON FILE
DUCHESNE LANDRON MD, JUAN                ADDRESS ON FILE
DUCHESNE RIVERA, JONATHAN                ADDRESS ON FILE
DUCLERC CARRASQUILLO, IVETTE             ADDRESS ON FILE
DUCLERC CORA, JULIANA                    ADDRESS ON FILE




                                                                                                        Page 2423 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2424 of 3500
                                                                                17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                    Address1                  Address2                                   Address3   Address4   City             State   PostalCode    Country
DUCLERC ELECTRICAL SUPPORT INC   PO BOX 3182                                                                                MANATI           PR      00674‐3182
DUCLERC MONTANEZ, LUIS R.        ADDRESS ON FILE
DUCLERC PEREZ, JAN               ADDRESS ON FILE
DUCLERS FLORES, EDGARDO          ADDRESS ON FILE
DUCLET BARRIOS, JOSE M           ADDRESS ON FILE
DUCLET MATEO, MIRIAM             ADDRESS ON FILE
DUCLOS APONTE, ANGEL             ADDRESS ON FILE
DUCOS ACEVEDO, DWAN I            ADDRESS ON FILE
DUCOS ACEVEDO, JOSE              ADDRESS ON FILE
DUCOS ACEVEDO, ROBERTO           ADDRESS ON FILE
DUCOS BRAVO, RAFAEL              ADDRESS ON FILE
DUCOS CORDERO, MIRTA             ADDRESS ON FILE
DUCOS CORTES, JOSEFA             ADDRESS ON FILE
DUCOS JUARBE, LISSETTE           ADDRESS ON FILE
DUCOS JUARBE, LISSETTE           ADDRESS ON FILE
DUCOS LEDUC, CARMEN I            ADDRESS ON FILE
DUCOS MARTINEZ, MILAGROS         ADDRESS ON FILE
DUCOS ORTIZ, BRENDA LIZ          ADDRESS ON FILE
Ducos Ortiz, Jose R.             ADDRESS ON FILE
DUCOS QUINTANA, GLORIA I         ADDRESS ON FILE
DUCOS RAMIREZ, MOISES            ADDRESS ON FILE
DUCOS RAMOS, WILLIAM A.          ADDRESS ON FILE
DUCOS RAMOS, YOLANDA             ADDRESS ON FILE
DUCOS SEGUI, RAQUEL              ADDRESS ON FILE
DUCOS TORRES, MARIA DE LOS A.    ADDRESS ON FILE
DUCOS VALLE, ELBA L              ADDRESS ON FILE
DUCOS VALLE, JUAN R.             ADDRESS ON FILE
DUCOT CONSULTANT INC             BDA SAN FELIPE            39 CALLE PEDRO M DESCARTE                                        SANTA ISABEL     PR      00757‐2531
Ducot Soto, Harvey J.            ADDRESS ON FILE
DUCOT UTSETT, MINERVA            ADDRESS ON FILE
DUCOUDRAY ACEVEDO, GLADYS        ADDRESS ON FILE
DUCOUDRAY ACEVEDO, SAMADYS       ADDRESS ON FILE
DUCRET DIAZ, IVONNE              ADDRESS ON FILE
DUCRET RAMU, CARMEN R            ADDRESS ON FILE
DUCRET RODRIGUEZ, SERGIO         ADDRESS ON FILE
DUDASIK, STEVEN J                ADDRESS ON FILE
DUDI DE LA ROSA PEREZ            ADDRESS ON FILE
DUDLEY H HUTCHINSON RAMIREZ      ADDRESS ON FILE
DUDLEY RODRIGUEZ, JACKELINE      ADDRESS ON FILE
DUDLEY WIBACK, JAMES             ADDRESS ON FILE
DUEÐAS TRAILERS INC              PO BOX 194859                                                                              SAN JUAN         PR      00919‐4859
DUEN COLON, MARIA L              ADDRESS ON FILE
DUEN ROSADO, KATHIA              ADDRESS ON FILE
DUENAS BITON, MARCOS             ADDRESS ON FILE
DUENAS PENA, JUDITH              ADDRESS ON FILE
DUENAS ROMERO, MIGUEL            ADDRESS ON FILE
DUENAS SANTIAGO, SANDRA          ADDRESS ON FILE
DUENAS TRADING INC               P O BOX 13222                                                                              SAN JUAN         PR      000907‐3222
DUENAS TRAILER RENTAL INC.       PO BOX 194859                                                                              SAN JUAN         PR      00919‐4859
DUENAS TRAILERS                  PO BOX 194859                                                                              SAN JUAN         PR      00919‐4859
DUENAS TRAILERS INC              PO BOX 194859                                                                              SAN JUAN         PR      00919‐4859
DUENAS TRAILERS RENTAL           PO BOX 194859                                                                              SAN JUAN         PR      00919‐4859
DUENAS TRAILERS RENTAL INC       PO BOX 194859                                                                              SAN JUAN         PR      00919‐4859
DUENAS, CARMEN                   ADDRESS ON FILE
Dueno Colon, Carlos A            ADDRESS ON FILE
DUEÑO BERRIOS MD, MARIA E        ADDRESS ON FILE
DUENO CARRERO, JORGE             ADDRESS ON FILE
DUENO CARRERO, JORGE A.          ADDRESS ON FILE
Dueno Colon, Javier I            ADDRESS ON FILE
DUENO COLON, SANDRA Y.           ADDRESS ON FILE




                                                                                       Page 2424 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2425 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City               State   PostalCode   Country
DUENO CRESPO, DIANA L                     ADDRESS ON FILE
DUENO DE LEON, TAMARA                     ADDRESS ON FILE
DUENO DEL VALLE, VILMA I.                 ADDRESS ON FILE
DUENO MALDONADO, JOHAM                    ADDRESS ON FILE
DUENO MALDONADO, JOSE A                   ADDRESS ON FILE
DUENO MALDONADO, PEDRO                    ADDRESS ON FILE
DUENO MATOS, ANGEL                        ADDRESS ON FILE
DUENO MEDINA, LILLIAN                     ADDRESS ON FILE
DUENO MELENDEZ, WENDY                     ADDRESS ON FILE
DUENO PEREZ, DEBORAH                      ADDRESS ON FILE
DUENO RIJOS, RAFAEL                       ADDRESS ON FILE
DUENO RODRIGUEZ, ANA M.                   ADDRESS ON FILE
DUENO SOTO, BRUNO                         ADDRESS ON FILE
DUENO SOTO, CARMEN D                      ADDRESS ON FILE
DUENO SOTO, MIGDALIA                      ADDRESS ON FILE
DUENO TORRES, STEPHEN                     ADDRESS ON FILE
DUENO VEGA, ANTONIO                       ADDRESS ON FILE
DUENO VEGA, JOSE                          ADDRESS ON FILE
DUENO VEGA, LUCRECIA                      ADDRESS ON FILE
DUFFEY, JAMES                             ADDRESS ON FILE
DUFRASNE GONZALEZ, JOSEPH                 ADDRESS ON FILE
DUGAS, KENNETH                            ADDRESS ON FILE
DUGGAN BADILLO, KEVIN                     ADDRESS ON FILE
DUHAMEL L MATAL GONZALEZ                  ADDRESS ON FILE
DUHL MD, JOZSEF                           ADDRESS ON FILE
DUILIO A CAMACHO DEL TORO                 ADDRESS ON FILE
DUILIO A CAMACHO DEL TORO                 ADDRESS ON FILE
DUJARDIN ELIAS SANCHEZ                    ADDRESS ON FILE
DUJON AGUSTE, ENEAU A                     ADDRESS ON FILE
DUKE ENERGY CORPORATION                   P O BOX 38699                                                                    COLORADO SPRINGS   CO      80937
DUKE UNIVERSITY MEDICAL CENTER            ERWIN RD                                                                         DURHAM             NC      27710‐0001
DUKES MONEGRO, ELIZABETH                  ADDRESS ON FILE
DULCE AMANECER, INC.                      PO BOX 209                                                                       COROZAL            PR      00983
DULCE DEL RIO PINEDA                      ADDRESS ON FILE
DULCE DEL RIO PINEDA                      ADDRESS ON FILE
DULCE EMILIO GARCIA /D/B/A ROLLING DOOR   258 CALLE RAFAEL CEPEDA                                                          SAN JUAN           PR      00915
DULCE GENERATION, INC                     HC 645 BOX 8341                                                                  TRUJILLO ALTO      PR      00976
DULCE GERERACION INC                      HC 645 BOX 8341                                                                  TRUJILLO ALTO      PR      00976
DULCE HOGAR MI VIEJITO                    HC 2 BOX 6414                                                                    GUAYANILLA         PR      00656
DULCE I VAZQUEZ RIVERA                    ADDRESS ON FILE
DULCE M COPLIN ALMANZAR                   ADDRESS ON FILE
DULCE M DIAZ RODRIGUEZ                    ADDRESS ON FILE
DULCE M JORGE GARCIA                      ADDRESS ON FILE
DULCE M RODRIGUEZ CESPEDES                ADDRESS ON FILE
DULCE M. COLON MADRIGAL                   ADDRESS ON FILE
DULCE M. ROMAN MELENDEZ                   ADDRESS ON FILE
DULCE MARAGARITA RAMOS DE ALVARADO        ADDRESS ON FILE
DULCE MARIA GOITIA RODRIGUEZ              ADDRESS ON FILE
DULCE MATEO BURGOS                        ADDRESS ON FILE
DULCE MATOS DE ODUARDO                    ADDRESS ON FILE
DULCE MORETA DIAZ                         ADDRESS ON FILE
DULCES DE OCASION INC                     P O BOX 366247                                                                   SAN JUAN           PR      00936‐6247
DULCINIA STUART VELAZQUEZ                 ADDRESS ON FILE
DULIEVRE MORALES, GLORIA                  ADDRESS ON FILE
DULUC ESPAILLAT, EMMANUEL                 ADDRESS ON FILE
DULUC ESPAILLAT, GUILLERMINA F.           ADDRESS ON FILE
DULUC FARGAS, LUIS                        ADDRESS ON FILE
DULUC PEREZ, ADOLFO                       ADDRESS ON FILE
DULUC PEREZ, LOURDES                      ADDRESS ON FILE
DULUC ROSARIO, CARMEN D                   ADDRESS ON FILE




                                                                                      Page 2425 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2426 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
DULZURA BORINCANA INC          AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN     PR      00902‐4140
DULZURA BORINCANA INC          PO BOX 2521                                                                                MOCA         PR      00676
DUMANTT FITZPATRICK, IRIDE M   ADDRESS ON FILE
Dumas Casado, Jesus M.         ADDRESS ON FILE
DUMAS CASADO, MIGUEL           ADDRESS ON FILE
DUMAS FEBRES, JEAN             ADDRESS ON FILE
DUMAS FEBRES, JOSE             ADDRESS ON FILE
DUMAS RIVERA, JOSE             ADDRESS ON FILE
DUMAS RODRIGUEZ, WANDA I       ADDRESS ON FILE
DUMAS ROSA, MIGUEL E           ADDRESS ON FILE
DUMAS, EDNA                    ADDRESS ON FILE
DUMAS, TED                     ADDRESS ON FILE
DUMAY, JUAN A                  ADDRESS ON FILE
DUMAY, JUAN O                  ADDRESS ON FILE
DUMBAR ALICEA, ROBERTO         ADDRESS ON FILE
DUME MEJIA, ELAINE D.          ADDRESS ON FILE
DUMENG ALERS, FRANCISCO        ADDRESS ON FILE
DUMENG ALERS, WILFREDO         ADDRESS ON FILE
DUMENG BONILLA, WALDEMAR       ADDRESS ON FILE
DUMENG CALERO, JACQUELINE      ADDRESS ON FILE
DUMENG CORCHADO, JOSE          ADDRESS ON FILE
DUMENG CORCHADO, OBDULIO       ADDRESS ON FILE
DUMENG CORCHADO, OBDULIO       ADDRESS ON FILE
DUMENG CORCHADO, RAFAEL A      ADDRESS ON FILE
Dumeng Corchado, William       ADDRESS ON FILE
DUMENG CRESPO, MIGUEL          ADDRESS ON FILE
Dumeng Dumeng, Wilfredo        ADDRESS ON FILE
DUMENG ECHEVARRIA, PEDRO       ADDRESS ON FILE
DUMENG FELICIANO, HIRAM        ADDRESS ON FILE
DUMENG FELICIANO, PABLO        ADDRESS ON FILE
Dumeng Feliciano, Pablo N      ADDRESS ON FILE
DUMENG FELICIANO, WILFREDO     ADDRESS ON FILE
DUMENG GOMEZ, ABDIEL           ADDRESS ON FILE
Dumeng Gomez, Abdiel E         ADDRESS ON FILE
Dumeng Gomez, Gamaliel         ADDRESS ON FILE
DUMENG GOMEZ, MISAEL           ADDRESS ON FILE
DUMENG JUARBE, MADILYN         ADDRESS ON FILE
DUMENG JUARBE, PETER           ADDRESS ON FILE
DUMENG LOPEZ, CARLOS A         ADDRESS ON FILE
DUMENG LOPEZ, DANIEL           ADDRESS ON FILE
DUMENG LOPEZ, EDDIE            ADDRESS ON FILE
DUMENG LOPEZ, IVAN             ADDRESS ON FILE
DUMENG MARTINEZ, JORGE         ADDRESS ON FILE
DUMENG MARTINEZ, LISANDRO      ADDRESS ON FILE
DUMENG MARTINEZ, ORLANDO       ADDRESS ON FILE
DUMENG MONROIG, YOMAURA        ADDRESS ON FILE
DUMENG PELLOT, ANIBAL          ADDRESS ON FILE
DUMENG PEREZ, CARLOS A.        ADDRESS ON FILE
DUMENG PEREZ, IVONNE           ADDRESS ON FILE
DUMENG RIVERA, MIGUEL A.       ADDRESS ON FILE
Dumeng Rodriguez, Josue        ADDRESS ON FILE
DUMENG ROMAN, EDGAR            ADDRESS ON FILE
DUMENG ROMAN, HECTOR           ADDRESS ON FILE
DUMENG ROMAN, LEMUEL           ADDRESS ON FILE
Dumeng Roman, Linnette         ADDRESS ON FILE
DUMENG ROMAN, LINNETTE         ADDRESS ON FILE
DUMENG ROMAN, MARIA DEL CA     ADDRESS ON FILE
DUMENG TORRES, JAVIER          ADDRESS ON FILE
DUMENG TORRES, JOSE C.         ADDRESS ON FILE
DUMENG TORRES, MADELINE        ADDRESS ON FILE




                                                                                     Page 2426 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2427 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                          Address1                         Address2                                  Address3   Address4   City              State   PostalCode   Country
DUMENG TORRES, MOISES                  ADDRESS ON FILE
DUMENG TORRES, RAFAEL A                ADDRESS ON FILE
DUMENG TORRES, SAUL                    ADDRESS ON FILE
DUMENG, DAVIS                          ADDRESS ON FILE
DUMEY RIVERA, ABNER                    ADDRESS ON FILE
DUMEY RIVERA, ABNER R                  ADDRESS ON FILE
DUMEY RIVERA, RAMON                    ADDRESS ON FILE
DUMMENG LOPEZ, CARLOS A                ADDRESS ON FILE
DUMMY ‐ 001                            PASEO COVADONGA                  OFICINA 713                                                     SAN JUAN          PR      00902
DUMONT BONILLA, MARILYN                ADDRESS ON FILE
DUMONT FERRER, JUANITA                 ADDRESS ON FILE
DUMONT FERRER, LOURDES                 ADDRESS ON FILE
DUMONT GUZMAN, GLADYS                  ADDRESS ON FILE
Dumont Guzman, Linda N                 ADDRESS ON FILE
DUMONT LOPEZ, NANETTE                  ADDRESS ON FILE
DUMONT LOPEZ, NANETTE M.               ADDRESS ON FILE
DUMONT MARTINEZ, MERCEDES              ADDRESS ON FILE
DUMONT ORTIZ, NOEMI                    ADDRESS ON FILE
DUMONT PAGAN, MARIA                    ADDRESS ON FILE
DUMONT PENALVER, CARLOS                ADDRESS ON FILE
DUMONT PENALVER, VICTOR                ADDRESS ON FILE
DUMONT RODRIGUEZ, RAMON                ADDRESS ON FILE
DUMONT SOLANO, JOSE                    ADDRESS ON FILE
DUMONT TORRES, ELINEZ                  ADDRESS ON FILE
DUMONT VEGA, ANGEL L                   ADDRESS ON FILE
DUMONT ZAYAS, ARLEENE                  ADDRESS ON FILE
DUN & BRADSTREET BUS EDUC SERV         D&B BUSINESS EDUCATION SERVICE   PO BOX 95678                                                    CHICAGO           IL      60694‐5678
DUNAMIS CONSTRUCTION CORP              BOX 1829                                                                                         CAROLINA          PR      00984‐1829
DUNAMIS ELECTRIC INC                   URB LOS FLAMBOYANES              363 CALLE GUAYACAN                                              GURABO            PR      00778‐2781
DUNCAN MD , RAYMOND L                  ADDRESS ON FILE
DUNCAN SCOTT PRODUCTIONS INC           1526 FOURTEENTH ST SUITE 102                                                                     SANTA MONICA      CA      90404
DUNEY RIVERA, LEONEL                   ADDRESS ON FILE
DUNGER MIRANDA, DEBORAH                ADDRESS ON FILE
DUNKLEY MERCADO, RINA                  ADDRESS ON FILE
DUNLOP DE PUERTO RICO                  PONCE DE LEON 63                                                                                 SAN JUAN          PR      00917‐1102
DUNN & GLASSER ASSOC                   PO BOX 1435                                                                                      TOMS RIVERA       NJ      08754
DUNN MD, TYMOTHY                       ADDRESS ON FILE
DUNNAM MENDEZ, RICHARD                 ADDRESS ON FILE
DUNORD TECHNOLOGIES                    276 ST JACQUES 703                                                                               MONTREAL          QC      HSY 1N3      CANADA
DUNPHY RODRIGUEZ,RUTH                  ADDRESS ON FILE
DUNPHY,RUWACH                          ADDRESS ON FILE
DUNTLEY MATOS, GEORGE                  ADDRESS ON FILE
DUO CONDADO JV HOLDINGS LLC            POPULAR CENTER                   208 PONCE DE LEON AVE 19TH FLOOR                                SAN JUAN          PR      00918
DUONG, NIEM                            ADDRESS ON FILE
DUOZ COTTO, YANITZA                    ADDRESS ON FILE
DUPAY MD , EDWARD R                    ADDRESS ON FILE
DUPERE MD , DAVID P                    ADDRESS ON FILE
DUPERON FERNANDEZ, JUAN                ADDRESS ON FILE
DUPERON RODRIGUEZ, BARBARA E           ADDRESS ON FILE
DUPERON RODRIGUEZ, LETCIAN             ADDRESS ON FILE
DUPEROY MARTINEZ, GLOMARIANY           ADDRESS ON FILE
DUPEROY PEREZ, LUIS A.                 ADDRESS ON FILE
DUPEROY SANTIAGO, BEATRIZ              ADDRESS ON FILE
DUPEY HEDDING, ROBERT                  ADDRESS ON FILE
DUPLEX PRODUCTS                        OLD SAN JUAN STATION             PO BOX 15090                                                    SAN JUAN          PR      00902‐8590
DUPONT HOSPITAL FOR CHILDREN           PO BOX 269                                                                                       WILMINTONGTON     DE      19899
DUPONT INSTITUTE , ALFRED I            ADDRESS ON FILE
DUPONT PEST & GENERAL CONTRACTOR INC   PO BOX 1547                                                                                      LARES             PR      00669
DUPREE, DEBORAH                        ADDRESS ON FILE
DUPREY ALAMO, FELIX A                  ADDRESS ON FILE




                                                                                                   Page 2427 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2428 of 3500
                                                                             17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                 Address1                    Address2                                   Address3        Address4   City         State   PostalCode   Country
DUPREY ALMEYDA, BRENDA L      ADDRESS ON FILE
DUPREY ALMEYDA, MAGALY M      ADDRESS ON FILE
DUPREY ATRA, SIJAM S          ADDRESS ON FILE
DUPREY ATRA, SIJAM S.         ARIEL FELIX CINTRÓN         PO BOX 42007                                                          SAN JUAN     PR      00940‐2007
DUPREY ATRA, SIJAM S.         HECTRO SANTIAGO RIVERA      CALLE ESTEBAN PADILLA 60‐E ALTOS                                      BAYAMON      PR      00959
                                                                                                   138 AVE WINSTON
DUPREY ATRA, SIJAM S.         JORGE E. RAMOS MORA         PMB 790                                  CHURCHILL                    SAN JUAN     PR      00926‐6013
                                                                                                   AVE. WINSTON
DUPREY ATRA, SIJAM S.         NELSON R. TORRES MARTINEZ   CONDOMINIO VILLAS DEL SENORIAL APT. 2212 CHURCHILL                    SAN JUAN     PR      00926
DUPREY BLANCO, RAFAEL         ADDRESS ON FILE
DUPREY CARABALLO, HECTOR T.   ADDRESS ON FILE
DUPREY CLEMENTE, JOAN         ADDRESS ON FILE
DUPREY COLLADO, ELBA M        ADDRESS ON FILE
DUPREY COLON, ELIZABETH       ADDRESS ON FILE
DUPREY COLON, JACQUELINE      ADDRESS ON FILE
DUPREY COLON, JORGE           ADDRESS ON FILE
DUPREY COLON, RITA E          ADDRESS ON FILE
DUPREY D CABASSA, ANTONIA     ADDRESS ON FILE
DUPREY DE JESUS, JORGE        ADDRESS ON FILE
DUPREY DEL VALLE, JOSHUA      ADDRESS ON FILE
DUPREY DIAZ, JOSE E           ADDRESS ON FILE
DUPREY DUPREY, WALESKA        ADDRESS ON FILE
DUPREY FELIX, JUAN M          ADDRESS ON FILE
DUPREY FIGUEROA, LOURDES      ADDRESS ON FILE
DUPREY FLORES, CARMEN M.      ADDRESS ON FILE
DUPREY FLORES, MARIA DEL R.   ADDRESS ON FILE
DUPREY HERNANDEZ, JORGE       ADDRESS ON FILE
DUPREY LOPEZ, ANA P           ADDRESS ON FILE
DUPREY MALDONADO, KATHIA      ADDRESS ON FILE
DUPREY MARTE, LUSMAR          ADDRESS ON FILE
DUPREY MARTINEZ, MADELINE     ADDRESS ON FILE
DUPREY MARTINEZ, MIGUEL       ADDRESS ON FILE
DUPREY MARTINEZ, MORAIMA P.   ADDRESS ON FILE
DUPREY MORALES, DORIS         ADDRESS ON FILE
DUPREY MORENO, VICTOR E.      ADDRESS ON FILE
DUPREY MORENO, VICTOR E.      ADDRESS ON FILE
DUPREY NIEVES, HERIBERTO      ADDRESS ON FILE
DUPREY NIEVES, HERIBERTO      ADDRESS ON FILE
DUPREY OJEDA, JOSE            ADDRESS ON FILE
DUPREY PARDO, IRMA            ADDRESS ON FILE
Duprey Perez, Francisco       ADDRESS ON FILE
DUPREY PEREZ, JOSE A          ADDRESS ON FILE
DUPREY POLANCO, JOSE A        ADDRESS ON FILE
Duprey Ramos, Miguel          ADDRESS ON FILE
Duprey Rivera, Angel A        ADDRESS ON FILE
DUPREY RIVERA, JOSE G         ADDRESS ON FILE
DUPREY RODRIGUEZ, ENID        ADDRESS ON FILE
DUPREY ROSA, SONIA J.         ADDRESS ON FILE
DUPREY RUIZ, NESTOR           ADDRESS ON FILE
DUPREY SALGADO, NESTOR        ADDRESS ON FILE
DUPREY SALGADO, NESTOR        ADDRESS ON FILE
DUPREY SANCHEZ, EDGARDO       ADDRESS ON FILE
DUPREY SANTIAGO, ROSA         ADDRESS ON FILE
DUPREY TIRE CENTER            2 RAFAEL SANTIAGO                                                                                 GUAYAMA      PR      00785
DUPREY TORRES, JORGE          ADDRESS ON FILE
DUPREY VAZQUEZ, NAZARET       ADDRESS ON FILE
DUPREY VEGA, ELIZABETH        ADDRESS ON FILE
DUPREY VELAZQUEZ, ANGEL A.    ADDRESS ON FILE
DUPREY, HECTOR                ADDRESS ON FILE
DUPREYORTIZ, JOSE M           ADDRESS ON FILE




                                                                                      Page 2428 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2429 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                      Address1                      Address2                               Address3   Address4   City         State   PostalCode   Country
DUPREYSANTIAGO, BEATRIZ            ADDRESS ON FILE
DUQUE BRUNO, GLENDA LEE            ADDRESS ON FILE
DUQUE BUTLER, STEPHANIE            ADDRESS ON FILE
DUQUE CARDONA, MAGDA CLEMENCIA     ADDRESS ON FILE
DUQUE CRUZ, MIGUEL A               ADDRESS ON FILE
DUQUE GARCIA, ANA                  ADDRESS ON FILE
DUQUE GARCIA, ANA L                ADDRESS ON FILE
DUQUE GERENA, JENNIFER             ADDRESS ON FILE
DUQUE HERNANDEZ, ANTONIO           ADDRESS ON FILE
DUQUE HERNANDEZ, ODALIS            ADDRESS ON FILE
DUQUE HERNANDEZ, ODALIS            ADDRESS ON FILE
DUQUE NUNEZ, GIOVANNA              ADDRESS ON FILE
DUQUE OCHOA, MARTHA                ADDRESS ON FILE
DUQUE ORTEGA, EVA L                ADDRESS ON FILE
DUQUE QUINONES, FLORELIS           ADDRESS ON FILE
DUQUE QUINONES, ROBERTO            ADDRESS ON FILE
DUQUE QUINONES, ROBERTO            ADDRESS ON FILE
DUQUE RODRIGUEZ, RAMONITA          ADDRESS ON FILE
Duque Santos, Ramon A              ADDRESS ON FILE
DUQUELA & ZAPATA LLP               THE HATO REY CENTER STE 515   268 PONCE DE LEON AVE                                        SAN JUAN     PR      00918
DUQUELA BARON MD, JUAN L           ADDRESS ON FILE
DUQUELA FUENTES, CECILIA           ADDRESS ON FILE
DUQUELA FUENTES, JUAN              ADDRESS ON FILE
DUQUES CASARES, OMAR               ADDRESS ON FILE
DUQUESNE MALDONADO, YANICE MAYTE   ADDRESS ON FILE
DURAN ACEVEDO, FRANCISCO           ADDRESS ON FILE
DURAN ACEVEDO, LYDIA E.            ADDRESS ON FILE
DURAN AGUAYO, VIVIAN S             ADDRESS ON FILE
DURAN ARGUELLES, JUAN              ADDRESS ON FILE
DURAN BAEZ, ELIZABETH              ADDRESS ON FILE
DURAN BENITEZ, MICHAEL             ADDRESS ON FILE
DURAN BENITEZ, MILAGROS            ADDRESS ON FILE
DURAN BERROA, ZOILA A.             ADDRESS ON FILE
DURAN BURGOS, NEYRA                ADDRESS ON FILE
DURAN CABALLERO, RUTH M            ADDRESS ON FILE
DURAN CABAN, PALACIN               ADDRESS ON FILE
DURAN CAMACHO, AIDA IVELYSSE       ADDRESS ON FILE
DURAN CANCEL, EDGARDO              ADDRESS ON FILE
DURAN CAPELLA, ANA E.              ADDRESS ON FILE
DURAN CAPELLA, ANA E.              ADDRESS ON FILE
DURAN CARABALLO, GENESIS           ADDRESS ON FILE
DURAN CARABALLO, WANDA I           ADDRESS ON FILE
DURAN CARABALLO, WANDA I.          ADDRESS ON FILE
DURAN CASTRO, EDEL E               ADDRESS ON FILE
DURAN COLLADO, GRACE               ADDRESS ON FILE
DURAN COLLADO, RAMON               ADDRESS ON FILE
Duran Colon, Elizabeth             ADDRESS ON FILE
DURAN COLON, ELIZABETH             ADDRESS ON FILE
DURAN COLON, ROSA                  ADDRESS ON FILE
DURAN COLONDRES, LESTER            ADDRESS ON FILE
DURAN CORREA, SONIA                ADDRESS ON FILE
DURAN CRUZ, ARNALDO                ADDRESS ON FILE
DURAN CRUZ, CESAR                  ADDRESS ON FILE
DURAN CRUZ, GILBERTO               ADDRESS ON FILE
DURAN CRUZ, JUAN I                 ADDRESS ON FILE
DURAN CRUZ, MARITZA                ADDRESS ON FILE
DURAN CRUZ, RAMON                  ADDRESS ON FILE
DURAN CRUZ, WILLIAM                ADDRESS ON FILE
DURAN CRUZ, WILLIAM                ADDRESS ON FILE
DURAN CUADRADO, ADOLFO             ADDRESS ON FILE




                                                                                         Page 2429 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2430 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DURAN DE JESUS, CARMEN R     ADDRESS ON FILE
DURAN DE JESUS, EDUARDO      ADDRESS ON FILE
DURAN DE JESUS, MANUEL       ADDRESS ON FILE
DURAN DEL VALLE, RENE        ADDRESS ON FILE
DURAN DIAZ, AIDA             ADDRESS ON FILE
DURAN FARINE, ALTAGRACIA     ADDRESS ON FILE
DURAN FREYTES, ANGEL A       ADDRESS ON FILE
DURAN FREYTES, IVETTE        ADDRESS ON FILE
DURAN GARCIA, ANTONIO        ADDRESS ON FILE
DURAN GARCIA, MELIZA         ADDRESS ON FILE
DURAN GARCIA, PEDRO          ADDRESS ON FILE
DURAN GARCIA, WILLIAM        ADDRESS ON FILE
DURAN GERONIMO, MARIA A      ADDRESS ON FILE
DURAN GOMEZ, ALEXI           ADDRESS ON FILE
DURAN GOMEZ, JONATHAN        ADDRESS ON FILE
DURAN GONZALEZ, AIDA I       ADDRESS ON FILE
DURAN GONZALEZ, HERNAN       ADDRESS ON FILE
DURAN GONZALEZ, LUZ          ADDRESS ON FILE
DURAN GONZALEZ, MILAGROS     ADDRESS ON FILE
DURAN GONZALEZ, MONSERRATE   ADDRESS ON FILE
Duran Gonzalez, Santiago     ADDRESS ON FILE
DURAN GONZALEZ, VERONICA     ADDRESS ON FILE
DURAN GUZMAN MD, NORMANDO    ADDRESS ON FILE
DURAN GUZMAN, GREDUVEL       ADDRESS ON FILE
DURAN GUZMAN, NERISVEL       ADDRESS ON FILE
DURAN HERNANDEZ MD, GAILY    ADDRESS ON FILE
DURAN HERNANDEZ, CARLOS J.   ADDRESS ON FILE
DURAN HERNANDEZ, JONATHAN    ADDRESS ON FILE
DURAN HERNANDEZ, JUAN M.     ADDRESS ON FILE
DURAN HERNANDEZ, LYMARI M    ADDRESS ON FILE
DURAN HERNANDEZ, MARILYN     ADDRESS ON FILE
DURAN IZQUIERDO, GERALDO     ADDRESS ON FILE
Duran Jimenez, Eugenio       ADDRESS ON FILE
DURAN JIMENEZ, EUGENIO       ADDRESS ON FILE
DURAN JIMENEZ, MAYLA E       ADDRESS ON FILE
DURAN JIMENEZ, VIVIAN        ADDRESS ON FILE
DURAN JIMENEZ, YOHAIDA       ADDRESS ON FILE
DURAN JUARBE, MANUEL         ADDRESS ON FILE
DURAN LANDAZABAL, GLORIA     ADDRESS ON FILE
DURAN LEBRON, MADIAN         ADDRESS ON FILE
DURAN LIBRAN, DAVID          ADDRESS ON FILE
DURAN LOPEZ, AIXA M          ADDRESS ON FILE
DURAN LOPEZ, JOSE A          ADDRESS ON FILE
DURAN LOPEZ, MAYRA           ADDRESS ON FILE
DURAN LOPEZ, OSCAR           ADDRESS ON FILE
DURAN LOPEZ, VILMA           ADDRESS ON FILE
DURAN LUCIANO, AWILDA        ADDRESS ON FILE
DURAN LUCIANO, RENE          ADDRESS ON FILE
DURAN LUCIANO, VICTOR C      ADDRESS ON FILE
DURAN LUGO, MARIBEL          ADDRESS ON FILE
DURAN LUGO, RICARDO          ADDRESS ON FILE
Duran Malave, Allan          ADDRESS ON FILE
Duran Malave, Gregorio       ADDRESS ON FILE
DURAN MALDONADO, CARMEN      ADDRESS ON FILE
DURAN MALDONADO, CARMEN M    ADDRESS ON FILE
DURAN MARIN, ELIZABETH       ADDRESS ON FILE
DURAN MARRERO, MIGUEL        ADDRESS ON FILE
DURAN MARTELL, AMARALYN      ADDRESS ON FILE
DURAN MARTELL, NANCY         ADDRESS ON FILE
DURAN MARTINEZ, ALEJANDRO    ADDRESS ON FILE




                                                                         Page 2430 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2431 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DURAN MARTINEZ, JAVIER       ADDRESS ON FILE
DURAN MARTINEZ, JULIO        ADDRESS ON FILE
DURAN MARTINEZ, NAHIR        ADDRESS ON FILE
DURAN MEDINA, DENISE         ADDRESS ON FILE
DURAN MENDEZ, MARTA I        ADDRESS ON FILE
DURAN MIRANDA, IVAN A        ADDRESS ON FILE
DURAN MIRANDA, RAMON         ADDRESS ON FILE
DURAN MIRANDA, WANDA         ADDRESS ON FILE
DURAN MONGE, WANDA           ADDRESS ON FILE
DURAN MONTANEZ, PEDRO O      ADDRESS ON FILE
DURAN MONTES, VALERIA        ADDRESS ON FILE
DURAN MONTIJO, DANIEL        ADDRESS ON FILE
DURAN MONTIJO, JOAN          ADDRESS ON FILE
DURAN MORALES, RUBEN         ADDRESS ON FILE
DURAN MOSCOSO, NORTON        ADDRESS ON FILE
DURAN MUNOZ, ALFONSO         ADDRESS ON FILE
DURAN NEGRON, SICNNEY        ADDRESS ON FILE
DURAN NIEVES, FELIX          ADDRESS ON FILE
DURAN ORTIZ, ELIEZER         ADDRESS ON FILE
DURAN ORTIZ, IRIS L          ADDRESS ON FILE
DURAN ORTIZ, LISA M.         ADDRESS ON FILE
DURAN OTERO, MAXIMA          ADDRESS ON FILE
Duran Pagan, Carlos H.       ADDRESS ON FILE
DURAN PAGAN, JOSE            ADDRESS ON FILE
DURAN PAOLI, ELDA R          ADDRESS ON FILE
DURAN PAOLI, OLFA N          ADDRESS ON FILE
DURAN PAREDES, ARGENTINA     ADDRESS ON FILE
DURAN PENA, LUCIA            ADDRESS ON FILE
DURAN PERALES, STEVEN        ADDRESS ON FILE
DURAN PERALTA, ERICKSON      ADDRESS ON FILE
DURAN PEREZ, JAYSON          ADDRESS ON FILE
DURAN PEREZ, SARA M          ADDRESS ON FILE
DURAN PEREZ, SARA M          ADDRESS ON FILE
DURAN PEREZ, YAJAIRA         ADDRESS ON FILE
DURAN PILARTE, ELIZABETH     ADDRESS ON FILE
DURAN PIMENTEL, HAIROL       ADDRESS ON FILE
DURAN PITRE, ELSA I          ADDRESS ON FILE
DURAN PITRE, EVELYN          ADDRESS ON FILE
DURAN PITRE, LILLIAN         ADDRESS ON FILE
DURAN PITRE, MADELINE        ADDRESS ON FILE
DURAN PITRE, MIRTA I         ADDRESS ON FILE
DURAN QUILES, MILDRED L      ADDRESS ON FILE
Duran Quinones, Maria T      ADDRESS ON FILE
Duran Quinones, Nilda Rosa   ADDRESS ON FILE
DURAN QUINTANA, ANGEL L.     ADDRESS ON FILE
DURAN QUINTANA, PEDRO        ADDRESS ON FILE
DURAN QUINTANA, SHEILA       ADDRESS ON FILE
DURAN REINOSO, ALFREDO       ADDRESS ON FILE
DURAN REINOSO, ALFREDO J.    ADDRESS ON FILE
DURAN REMIGIO, FELICIA       ADDRESS ON FILE
DURAN REMIGIO, FELICIA       ADDRESS ON FILE
DURAN RIOS, LIZMARIE         ADDRESS ON FILE
DURAN RIVERA, ELVIN          ADDRESS ON FILE
DURAN RIVERA, LUCY           ADDRESS ON FILE
Duran Rivera, Luis D.        ADDRESS ON FILE
DURAN RIVERA, MARIA L        ADDRESS ON FILE
DURAN RIVERA, NELSON         ADDRESS ON FILE
DURAN RIVERA, NELSON         ADDRESS ON FILE
DURAN RIVERA, RUTH J         ADDRESS ON FILE
DURAN RODRIGUEZ, ANA D.      ADDRESS ON FILE




                                                                         Page 2431 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2432 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
DURAN RODRIGUEZ, DENISE M     ADDRESS ON FILE
DURAN RODRIGUEZ, ELISA        ADDRESS ON FILE
DURAN RODRIGUEZ, PALACIN      ADDRESS ON FILE
Duran Rodriguez, Ramon A      ADDRESS ON FILE
DURAN RODRIGUEZ, ROSITA       ADDRESS ON FILE
DURAN RODRIGUEZ, SOLANGER     ADDRESS ON FILE
DURAN ROLON, ZULMA L          ADDRESS ON FILE
DURAN ROMAN, FELICIDAD        ADDRESS ON FILE
DURAN ROSA, EFRAIN            ADDRESS ON FILE
DURAN ROSA, ERICK I           ADDRESS ON FILE
DURAN ROSA, RACHEL            ADDRESS ON FILE
DURAN ROSADO, BENITO          ADDRESS ON FILE
Duran Ruperto, Joselito       ADDRESS ON FILE
DURAN SANCHEZ, PEDRO          ADDRESS ON FILE
DURAN SANTIAGO, EDWIN         ADDRESS ON FILE
DURAN SANTIAGO, MIGUEL        ADDRESS ON FILE
DURAN SANTOS, JORGE           ADDRESS ON FILE
DURAN SERRANO, VICTOR A       ADDRESS ON FILE
DURAN SERRANO, WILLIAM        ADDRESS ON FILE
DURAN SIERRA, EMILIO          ADDRESS ON FILE
DURAN SONERA, YESENIA         ADDRESS ON FILE
DURAN TEJERA, MIRELLIE        ADDRESS ON FILE
DURAN TORRES, GLORIA          ADDRESS ON FILE
DURAN TORRES, GLORIA          ADDRESS ON FILE
DURAN TRUCK SHOP              AMELIA STATION            P O BOX 3265                                           CATANO       PR      00963
DURAN TRUCK SHOP              P O BOX 3265                                                                     CATANO       PR      00965
DURAN VALDES, LUIS A          ADDRESS ON FILE
Duran Valentin, Luis A        ADDRESS ON FILE
DURAN VALENTIN, MIRIAM        ADDRESS ON FILE
DURAN VARGAS, CARMEN          ADDRESS ON FILE
DURAN VARGAS, YARITZA         ADDRESS ON FILE
DURAN VAZQUEZ, HEIDI          ADDRESS ON FILE
Duran Velez, Ramon            ADDRESS ON FILE
DURAN VELEZ, RAMON            ADDRESS ON FILE
DURAN VERA, MARIBEL           ADDRESS ON FILE
DURAN VILLANUEVA, NATALIE     ADDRESS ON FILE
DURAN, ALLAN                  ADDRESS ON FILE
DURAN, DAVID                  ADDRESS ON FILE
DURAN, KATIRIA                ADDRESS ON FILE
DURAN, MANUEL                 ADDRESS ON FILE
Duran, Michael                ADDRESS ON FILE
DURAN, MICHAEL                ADDRESS ON FILE
DURAND ARCE, LEIDA A          ADDRESS ON FILE
DURAND ARCE, LEIDA A.         ADDRESS ON FILE
DURAND GONZALEZ, ANDREA       ADDRESS ON FILE
DURAND HERNANDEZ, GUSTAVO     ADDRESS ON FILE
Durand Hernandez, Roberto A   ADDRESS ON FILE
DURAND HERNANDEZ,JULIO E.     ADDRESS ON FILE
DURAND IRIZARRY, RUBEN        ADDRESS ON FILE
DURAND LAMELA, MILAGROS       ADDRESS ON FILE
DURAND LLANOS, ROBERTO        ADDRESS ON FILE
DURAND MOLINA, CARLOS         ADDRESS ON FILE
Durand Perez, Jorge W         ADDRESS ON FILE
DURAND RIVERA, ETIENNE        ADDRESS ON FILE
DURAND RODRIGUEZ, AWILDA      ADDRESS ON FILE
DURAND RODRIGUEZ, ROBERTO     ADDRESS ON FILE
DURAND ROLON MD, ROBERTO      ADDRESS ON FILE
DURAND ROLON, WILLIAM         ADDRESS ON FILE
DURAND SANTIAGO, STEVEN       ADDRESS ON FILE
DURAND SEGARRA, JAIME F.      ADDRESS ON FILE




                                                                          Page 2432 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2433 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                          Address1                  Address2                           Address3   Address4   City               State   PostalCode   Country
DURAND VELEZ, IVELISSE                 ADDRESS ON FILE
DURANT AVILES, DAVID                   ADDRESS ON FILE
DURANT AVILES, MARIBEL                 ADDRESS ON FILE
DURANT RIVERA, MARIA                   ADDRESS ON FILE
DURANT SEDA, DORIS                     ADDRESS ON FILE
DURANT SIERRA, IVAN                    ADDRESS ON FILE
DURBACK MD , MARK A                    ADDRESS ON FILE
DURIEL IRIZARRY, MOISE                 ADDRESS ON FILE
DURIEUX CRUZ, ALEX                     ADDRESS ON FILE
DURIEUX DELGADO, DAMARIS               ADDRESS ON FILE
DURIEUX DELGADO, LISANDRA              ADDRESS ON FILE
DURIEUX GAUTHIER, PETER                ADDRESS ON FILE
DURIEUX HERNANDEZ, CARMEN L            ADDRESS ON FILE
DURIEUX MILLAN MD, AMARILIS            ADDRESS ON FILE
DURIEUX RODRIGUEZ, RENE                ADDRESS ON FILE
DURIEUX RODRIGUEZ, VIVIAN              ADDRESS ON FILE
DURIEX BENITEZ, GUILLERMO              ADDRESS ON FILE
DURIEXHERNANDEZ, CARMEN L              ADDRESS ON FILE
DUST CONTROL SERVICES OF PUERTO RICO   PO BOX 362048                                                                      SAN JUAN           PR      00936‐2048
DUSTIN E PEREZ GARCIA                  ADDRESS ON FILE
DUTIL, JULIE                           ADDRESS ON FILE
DUTTON, AMY                            ADDRESS ON FILE
DUVAL J APONTE MASSAS                  ADDRESS ON FILE
DUVAL MARTINEZ, WALTON                 ADDRESS ON FILE
DUVAL MENDEZ, ALBERTO E                ADDRESS ON FILE
DUVAL PEREZ, LISABETH                  ADDRESS ON FILE
DUVAL SANTANA, DENIS                   ADDRESS ON FILE
DUVANIEL MORALEZ PEREZ                 ADDRESS ON FILE
DUVERGE GUERRERO, GLADYS               ADDRESS ON FILE
DUVERGE PENA, RAFAEL                   ADDRESS ON FILE
DUVIELLA FANFANT, RAYMOND E            ADDRESS ON FILE
DUVIELLA FANFANT, RAYMOND E            ADDRESS ON FILE
Duvivier Casiano, Angie                ADDRESS ON FILE
DUVIVIER IRIZARRY, MARGORIE            ADDRESS ON FILE
DV LAB GROUP INC                       PO BOX 142292                                                                      ARECIBO            PR      00614‐2292
DV PRECISION TOOLS & METAL WORK, INC   PO BOX 375303                                                                      CAYEY              PR      00737‐5303
DVI LIQUIDATION TRUST                  PO BOX 8338                                                                        ROLLINGS MEADOWS   IL      60008
DVORAK, DANIEL                         ADDRESS ON FILE
DVW LABORATORY SERVICES INC            4 CALLE INFANZON                                                                   CAMUY              PR      00627
DWAITH NEGRON SANTIAGO                 ADDRESS ON FILE
DWAN I DUCOS ACEVEDO                   ADDRESS ON FILE
DWAYNE MORALES ARROYO                  ADDRESS ON FILE
DWIGHT COLON FUENTES                   ADDRESS ON FILE
DWIGHT DELGADO DELGADO                 ADDRESS ON FILE
DWIGHT I FAGUNDO                       ADDRESS ON FILE
DWIGHT M. MEDINA DE JESUS              ADDRESS ON FILE
DWIGHT URENA SOLER                     ADDRESS ON FILE
DYAD LLC                               PO BOX 1645                                                                        GUAYNABO           PR      00970‐1645
DYAMARIS COLLAZO RIVERA                ADDRESS ON FILE
DYAN FERNANDEZ MORA                    ADDRESS ON FILE
DYANA CARMONA OSORIO                   ADDRESS ON FILE
DYANA CARMONA OSORIO                   ADDRESS ON FILE
DYANELIZ M CORREA VEGA                 ADDRESS ON FILE
DYANLEE Y RUIZ CRUZ                    ADDRESS ON FILE
DYASTUDIO INC                          140 ROOSEVELT BUILDING    AVE F D ROOSEVELT                                        SAN JUAN           PR      00917
DYE MEDIA PRINTING & DESIGN            VISTAMAR PLAZA SUITE 13                                                            RINCON             PR      00677
DYER BURGOS, BRENDA                    ADDRESS ON FILE
DYLAN L BARKS / MILAGROS RAMIREZ       ADDRESS ON FILE
DYLAN SANCHEZ                          ADDRESS ON FILE
DYLCIA ACOSTA HERNANDEZ                ADDRESS ON FILE




                                                                                     Page 2433 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2434 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                         Address1                            Address2                                   Address3   Address4   City               State   PostalCode   Country
DYMARIS IRIZARRY SANTIAGO             ADDRESS ON FILE
DYMARIS VALENTIN MELENDEZ             ADDRESS ON FILE
DYMARY CASTRO CARABALLO               ADDRESS ON FILE
DYNAMIC AMBULANCE SERVICE INC         PMB 182 PO BOX 144035                                                                                ARECIBO            PR      00614
DYNAMIC CHIROPRACTIC CENTER           PO BOX 2958                                                                                          BAYAMON            PR      002958
DYNAMIC COMPUTER                      PO BOX 194749                                                                                        SAN JUAN           PR      00919‐4749
DYNAMIC COMPUTERS, INC.               PO BOX 194749                                                                                        SAN JUAN           PR      00919‐4749
DYNAMIC CONSULTING GROUP INC          URB LA CUMBRE                       267 CALLE SIERRA MORENA PMB 462                                  SAN JUAN           PR      00926‐5574
DYNAMIC LEARNING CENTER               PO BOX 191502                                                                                        SAN JUAN           PR      00919‐1502
DYNAMIC LEARNING CENTER, INC          CITY VIEW II                        48 CARR 165 SUITE 2000                                           GUAYNABO           PR      00968‐8000
DYNAMIC LEARNING CENTER, INC          PO BOX 191502                                                                                        SAN JUAN           PR      00919
DYNAMIC OPERATIONS CORP               PO BOX 194000                       PMB 172                                                          SAN JUAN           PR      00919
DYNAMIC PARKING SOLUTIONS             PO BOX 79037                                                                                         CAROLINA           PR      00984‐9087
DYNAMIC REHAB AND LYMPHEDEMA, P S C   URB RIVER GDNS                      54 CALLE FLOR DEL RIO                                            CANOVANAS          PR      00729
DYNAMIC SOLAR SOLUTIONS               PO BOX 29155                                                                                         SAN JUAN           PR      00929‐0155
DYNAMIC TERMITE & PEST CONTROL INC    PO BOX 6796                                                                                          CAGUAS             PR      00726‐6796
DYNAMIC ZONES INTERNATIONAL B V       PO BOX 545                          7500 AM, ENSCHEDE                                                                                        THE NETHERLANDS
DYNAMICS CHIROPRACTIC CENTER C        PO BOX 2958                                                                                          BAYAMON            PR      00960
DYNAPHONE INC                         PUERTO NUEVO                        1127 JESUS T PINERO                                              SAN JUAN           PR      00920
DYNAQUIP SERVICE INC                  P O BOX 9053                                                                                         BAYAMON            PR      00960
DYNELLE I MASSA RAMIREZ               ADDRESS ON FILE
DYNORAH VIANA ROSA                    ADDRESS ON FILE
DYNORAH VIANA ROSA                    ADDRESS ON FILE
DYSEDC LLC                            PO BOX 4956 PMB 275                                                                                  CAGUAS             PR      00726‐4956
DYSNYLAND DAY CARE INC                URB BAIROA                          A S I CALLE 28                                                   CAGUAS             PR      00725
DZ ROOFING INC                        HC 1 BOX 4160                                                                                        JUANA DIAZ         PR      00795‐9877
D'ZONE ENTERPRISES CORP               VISTA BELLA                         K23 CALLE 8                                                      BAYAMON            PR      00956‐4834
DZUDZA MD, ELDIN                      ADDRESS ON FILE
DZWINYK MD, JAROSLAW                  ADDRESS ON FILE
E E SALES EXPERT CORP                 JARD DE COUNTRY CLUB                BP33 CALLE 117                                                   CAROLINA           PR      00983‐2111
E & C COMPUTER INC DBA COMPUTERLAND   PO BOX 191692                                                                                        SAN JUAN           PR      00919‐1692
E & C COMPUTER INC DBA COMPUTERLAND   PO BOX 7777‐W7710                                                                                    PHILADELPHIA       PA      19175‐7710
E & F DEVELOPMENT INC                 HATO ARRIBA STA                     PO BOX 3210                                                      SAN SEBASTIAN      PR      00685
E & S SOLUCIONES INTEGRALES INC       P O BOX 4444                                                                                         CAROLINA           PR      00984‐4444
E & V CORP                            160 COSTA RICA                      NUM. 803                                                         SAN JUAN           PR      00917
E & V TAX SOLUTIONS INC               PO BOX 29271                                                                                         SAN JUAN           PR      00929
E A ROMAN INC                         P O BOX 141851                                                                                       ARECIBO            PR      00614
E A S SYSTEMS INC                     P O BOX 482                                                                                          MERCEDITA          PR      00715‐0482
E B D ENTERPRISES INC                 URB VERDEMAR                        984 CALLE 28                                                     PUNTA SANTIAGO     PR      00741
E C DEL SUR, INC                      PO BOX 8                                                                                             PENUELAS           PR      00624‐0008
E C A S S CORPORATION                 707 EST DE SAN BENITO                                                                                MAYAGUEZ           PR      00680‐2283
E C FOOD REST                         PO BOX 9023786                                                                                       SAN JUAN           PR      00902‐3786
E C WASTE INC                         P O BOX 1262                                                                                         PENUELAS           PR      00624 1262
E C WASTE INC                         PO BOX 918                                                                                           PUNTA SANTIAGO     PR      00741‐0918
E CIVIDANES FREIRA & ASOC             CONDOMINIO VICK CENTER OFIC A‐202   867 AVE. MUNOZ RIVERA                                            SAN JUAN           PR      00925
E CIVIDANES FREIRA & ASOC             VICK CENTER SUITE A 102             857 AVE MUNOZ RIVERA                                             SAN JUAN           PR      00925
E CYCLING PUERTO RICO CORP            PO BOX 8830                                                                                          HUMACAO            PR      00792
E CYCLING PUERTO RICO INC             CARR PR 3 KM 85 6                   SECTOR INDUSTRIAL                                                HUMACAO            PR      00792
E CYCLING PUERTO RICO INC             PO BOX 8830                                                                                          HUMACAO            PR      00792
E D P GROUP INC                       MSC 554 EL SENORIAL STA             138 WINSTON CHURCHILL AVE                                        SAN JUAN           PR      00926‐6023
E D S INC                             PO BOX 1367                                                                                          GUAYNABO           PR      00970
E DOCS LLC                            AA 11 EST DE LA FUENTE                                                                               TOA BAJA           PR      00953
E F ASSOCIATES REAL ESTATE PSC        URB SANTA ROSA 16‐29                AVE AGUAS BUENAS                                                 BAYAMON            PR      00960
E G DENTAL HOLDING P S C              PO BOX 360346                                                                                        SAN JUAN           PR      00936‐0346
E G PARTS & SERVICES CORP             HC 3 BOX 14342                                                                                       UTUADO             PR      00641
E INGLES BUILDER CORP                 BO CORCOVADA                        RR 4 BUZON 15998                                                 ANASCO             PR      00610
E J F VEGA BAJA SERV STA / TEXACO     CARR 2 ESQ MUNOZ RIVERA 1                                                                            VEGA BAJA          PR      00693
E JESUS DIAZ, GLORIA                  ADDRESS ON FILE
E JESUS RIVERA, SILMARIE              ADDRESS ON FILE
E L FILTERS SALES INC                 898 AVE MUÐOZ RIVERA SUITE 204                                                                       SAN JUAN           PR      00927




                                                                                                      Page 2434 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2435 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                 Address2                                  Address3   Address4   City              State   PostalCode   Country
E L FILTERS SALES INC                    898 AVE MUNOZ RIVERA SUITE 204                                                                           SAN JUAN          PR      00927
E M BROTHERS INC                         HC 7 BOX 2447                                                                                            PONCE             PR      00731‐9618
E M INSURANCEAGENCY CORP                 400 CALLE CALAF                          STE 88                                                          SAN JUAN          PR      00918
EMMI                                     PO BOX 6469                                                                                              SAN JUAN          PR      00914‐6469
E NNOVATIONS TECHNOLOGIES SOLUTIONSYSTEM JARD DE MEDITERRANEO                     384 CALLE LIBERTAD                                              TOA ALTA          PR      00953
E O AMBULANCE SERVICE INC                PO BOX 850                                                                                               CAMUY             PR      00627‐0850
E OSCAR GALENDE JR                       ADDRESS ON FILE
E R C INC                                PO BOX 609                                                                                               AGUADA            PR      00602
E R INSURANCE C R L                      PO BOX 869                                                                                               CAGUAS            PR      00726‐0869
E R M COPIER AND BUSSINES EQUIPMENT INC 136 CALLE VIVEZ                                                                                           PONCE             PR      00730‐3506
E REPUBLIC, INC                          100 BLUE RAVINE ROAD                                                                                     FOLSOM            CA      95630
E ROMANY & ASSOCIATES LLC                PO BOX 194838                                                                                            SAN JUAN          PR      00919‐4838
E S ELECTRONICS                          PO BOX 2478                                                                                              MOCA              PR      00676
E S FITNESS PERFORMANCE                  BASE RAMEY                               CALLE A 106                                                     AGUADILLA         PR      00603
E S FITNESS PERFORMANCE CORP             URB RAMEY                                106 CALLE A                                                     AGUADILLA         PR      00603‐1102
E S R SEGUROS PSC                        PO BOX 193502                                                                                            SAN JUAN          PR      00919‐3502
E S TELEVISION CORP                      PO BOX 7889                                                                                              GUAYNABO          PR      00970‐7889
E SOLUTIONS INC                          MANS DE CALDAS                           6 SAN CARLOS                                                    SAN JUAN          PR      00926
E T C INTERNATIONAL                      URB ALTO APOLO                           2108 CALLE DELFOS                                               GUAYNABO          PR      00969
E T C INTERNATIONAL                      URB TORRIMAR                             12 CALLE VALENCIA                                               GUAYNABO          PR      00956
E TORRES TRANSPORT INC                   400 CALLE CALAF PMB 136                                                                                  SAN JUAN          PR      00918‐1314
E UMPIERRE SUAREZ CSP                    PO BOX 365003                                                                                            SAN JUAN          PR      00936‐5003
E Y M TECHNOLOGY LOCKS                   URB. CIUDAD JARDIN CALLE PASEO DORADO 449                                                                CANOVANAS         PR      00729‐0000
E Y M TECHNOLOGY LOCKS /ERIC RIVERA DIAZ URB CIUDAD JARDIN                        449 CALLE PASEO DORADO                                          CANOVANAS         PR      00729
E Z ACCESOUBC                            HC 4 BOX 8315                                                                                            AGUAS BUENAS      PR      00703‐8809
E Z EM CARIBE INC                        PO BOX 1267                                                                                              SAN LORENZO       PR      00754‐1267
E. GONZALEZ DE LA ROSA, YEIDIE           ADDRESS ON FILE
E. MORELL‐ RIVERA                        PMB 273 P O BOX 7891                                                                                     GUAYNABO          PR      00970‐7891
E. Q. K. PLAZA CAROLINA L.P.‐ S. P.      P O BOX 9000                             PLAZA CAROLINA STATION                                          CAROLINA          PR      00988‐9000
E. S. ELECTRONIC                         PO BOX 2478                                                                                              MOCA              PR      00676
E.A.R., INC.                             CALLE LAFAYETTE 812                      PDA. 21 SANTURCE                                                SAN JUAN          PR      00909
E.C. WASTE INC                           P O BOX 607                                                                                              HUMACAO           PR      00792
E.C. WASTE INC                           P O BOX 71561                                                                                            SAN JUAN          PR      00936
E.C. WASTE INC                           P O BOX 850                                                                                              PENUELAS          PR      00624
E.C. WASTE INC                           P O BOX 950                                                                                              MAYAGUEZ          PR      00680‐0950
E.C. WASTE INC                           PO BOX 594                                                                                               CAGUAS            PR      00726‐1594
E.D.A., INC.                             PO BOX 364183                                                                                            SAN JUAN          PR      00936
E.G.M. SPECIAL REFRIGERATION COOL        URB. SANTO TOMAS, 33 CALLE SAN GABRIEL                                                                   NAGUABO           PR      00718‐8200
E.M ELECRICAL POWER INC.                 #711 CALLE 44 FAIRVIEW                                                                                   SAN JUAN          PR      00926
E.P.S.INC.                               EXT SAGRADO CORAZON                      B 8 CALLE STA BEDA CUPEY                                        SAN JUAN          PR      00926
E.Q ANALYTICAL INC                       K‐0 E STREET REPARTO MONTELLANO                                                                          CAYEY             PR      00736
E.Q. ANALYTICAL INC                      REPARTO MONTELLANO K‐O CALLE E                                                                           CAYEY             PR      00736
E.Q.K. PLAZA CAROLINA L.P.‐S.P.          G.P.O. BOX 70146                                                                                         SAN JUAN          PR      00936
E.R. SUBCONTRACTOR AND CONSULTING SERVIC HACIENDA BORINQUEN                       710 CALLE BUCARE                                                CAGUAS            PR      00725‐7537
EAGC LANDSCAPING INC                     EST DE YAUCO                             C31 CALLE ZAFIRO                                                YAUCO             PR      00698‐2826
EAGLE ELECTRICAL CONTRACTOR PSC          PO BOX 4108                                                                                              CAROLINA          PR      00984‐4108
EAGLE GROUP COMMUNICATION INC            URB PALACIOS DEL PRADO                   138 CALLE PACIFICO                                              JUANA DIAZ        PR      00795‐2124
EAGLE INSURANCE AGENCY INC               PMB 359                                  PO BOX 70250                                                    SAN JUAN          PR      00936‐8250
EAGLE INVENTORY SERVICES INC             PO BOX 50985                                                                                             TOA BAJA          PR      00950
EAGLE SALES & DISTRIBUTORS               EDIF 14 JULIO N MATOS                    CARR 887 KM 0.6                                                 CAROLINA          PR      00987
EAGLE SPORT INC                          URB CASTELLANA GARDENS                   FF 1 CALLE 28                                                   CAROLINA          PR      00983
EAGLE TASK FORCE, INC                    PO BOX 2092                                                                                              VEGA ALTA         PR      00692
EAGLE TELECOMMUNICATION                  AVE. PINERO 1616                                                                                         PUERTO NUEVO      PR      00
EAGLE TITLE OTHER SERVICES               PO BOX 1467                                                                                              TRUJILLO ALTO     PR      00977
EAGLE TRANSPORT INC                      PO BOX 51490                                                                                             TOA BAJA          PR      00950‐1490
EAGLE USA AIRFREIGHT                     PO BOX 363566                                                                                            SAN JUAN          PR      00936
EAGLE VIDEO PRODUCTIONS INC              2201 WOODNELL DRIVE                                                                                      RALEIGH           NC      27603‐5240
EAGLE WHOLESALE                          CALLE JOSE JULIAN ACOSTA #13                                                                             VEGA BAJA         PR      00693
EARL W SANTIAGO GONZALEZ                 ADDRESS ON FILE
EARNI E RODRIGUEZ AYALA                  ADDRESS ON FILE




                                                                                                             Page 2435 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                                   Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2436 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                       Creditor Matrix

Creditor Name                           Address1                                       Address2                                     Address3                Address4             City                State   PostalCode   Country
Earthman Torres, Vicky A                ADDRESS ON FILE
EARTHWALK COMMUNICATIONS INC            BOX 6478                                                                                                                                 CAGUAS              PR      00726
EAS SYSTEMS , INC.                      P. O. BOX MERCEDITA                                                                                                                      PONCE               PR      00717‐0000
EAS Systems, Inc                        PO Box 482 Mercedita                                                                                                                     Ponce               PR      00715‐0482
EASLEEY N VILLANUEVA PEREZ              ADDRESS ON FILE
EAST AIR CONDITIONING INC               P O BOX 1931                                                                                                                             CAROLINA            PR      00984‐1931
EAST BOSTON NEIGHBORHOOD HEALTH CENTER 10 GOVE ST                                                                                                                                EAST BOSTON         MA      02128
EAST CAROLINA UNIVERSITY CASHIER OFFICE G120 OLD CAFETERIA COMPLEX                     MAIL STOP 230                                                                             FREENVILLE          NC      27858
EAST COAST MEDICAL SERVICES INC.        PO BOX 1001                                                                                                                              LUQUILLO            PR      00773
EAST END CLINIC                         TUTU PARK MALL                                                                                                                           CHARLOTTE AMALI     VI      00802
EAST END FAMILY MEDICAL CENTER          PO BOX 503177                                                                                                                            SAINT THOMAS        VI      00805
EAST LYME PEDIATRIC CLINIC              170 FLANDERS RD                                                                                                                          NIANTIC             CT      06357
EAST ORLANDO CHIROPRACTIC CLINIC        ATTN MEDICAL RECORDS                           7206 CURRY FORD RD                                                                        ORLANDO             FL      32822
EAST TREMONT MEDICAL CENTER             930 3 TREMONT AVE                                                                                                                        BRONX               NY      10460
EAST WEST MEDICAL CENTER, P S C         URB CROWN HLS                                  138 AVE WINSTON CHURCHILL PMB 362                                                         SAN JUAN            PR      00926
EASTER SEALS REHABILITATION CENTER      158 STATE ST                                                                                                                             MERIDEN             CT      06450
EASTERLING MD , KENNETH J               ADDRESS ON FILE
EASTERN AC AND MAINTENANCE SERV CORP    PO BOX 10115                                                                                                                             HUMACAO             PR      00792

EASTERN AMERICA INS. CO. Y TOYOTA CREDIT DEIVAN APONTE FIGUEROA                        650 PLAZA SUITE 204                          650 AVE. MUÑOZ RIVERA                        SAN JUAN            PR      00918
EASTERN AMERICA INS. CO. Y TOYOTA CREDIT DEJOSÉ EDOARDO DÍAZ DÍAZ                      COLL Y TOSTE 54B                                                                          SAN JUAN            PR      00918

EASTERN AMERICA INSURANCE COMPANY & BANLCDO. LUIS A. CARRION TAVAREZ Y LCDO. IVAN ACARRION TAVAREZ LAW OFFICES PSC.                 650 PLAZA SUITE 204     650 AVE. MUñOZ RIVERA SAN JUAN           PR      00918
EASTERN AMERICA INSURANCE COMPANY Y BANLCDO. ABIMAEL HERNANDEZ MARTINEZ              PO BOX 194735                                                                                SAN JUAN           PR      00919‐4735
EASTERN AMERICA INSURANCE COMPANY Y BANLCDO. HERIBERTO QUIÑONES ECHEVARRÍA           Urb. Sabanera 392 Camino de los Jardines                                                     CIDRA              PR      00739
EASTERN AMERICA INSURANCE COMPANY Y BANLCDO. LUIS A. CARRIÓN TAVÁREZLCDO. IVAN APOCarrión Tavárez Law Offices PSC                   650 Plaza Suite 204     650 Ave. Muñoz Rivera SAN JUAN           PR      00918
EASTERN AMERICA INSURANCE COMPANY Y RELI LCDO. LUIS A. CARRIÓN TAVÁREZ LCDO. IVAN AP Carrión Tavárez Law Offices PSC                650 Plaza Suite 204     650 Ave. Muñoz Rivera SAN JUAN           PR      00918
EASTERN AMERICAN INSURANCE AGENCY INC PO BOX 193900                                                                                                                               SAN JUAN           PR      00919‐3900
EASTERN AMERICAN INSURANCE, SCOTIABANK DLCDA. KILMARIS MALDONADO PEREZ               PO BOX 11155                                                                                 SAN JUAN           PR      00922‐1155
EASTERN ANESTHESIOLOGIST GROUP            PO BOX 859                                                                                                                              HUMACAO            PR      00792‐0859
EASTERN FOOD SERVICES                     OFICINA 6                                  64 AVE CONDADO                                                                               SAN JUAN           PR      00907
EASTERN INDUSTRIAL MEDICAL SERVICES, CORP PO BOX 8085                                                                                                                             HUMACAO            PR      00792
EASTERN LONG ISLAND HOSPITAL              201 MANOR PLACE                                                                                                                         GREENPORT          NY      11944‐1298
EASTERN MD, JOSEPH                        ADDRESS ON FILE
EASTERN VALIDATION SERVICES CORPORATION CORREO VILLA PMB 292AA                       2A AVE TEJAS                                                                                HUMACAO             PR      00791
EASTERN VALLEY CLINICAL LABORATORIES, INC THE VILLAGE AT THE HILL                    10 CALLE ICACOS                                                                             CEIBA               PR      00735‐3902
EASTMAN WILSON, MARY E.                   ADDRESS ON FILE
EASY CAR RENTAL CORP                      P O BOX 141284                                                                                                                         ARECIBO             PR      00614
EASY LIFT EQUIPMENT SUPPLIES              HC 01 BOX 29030                                                                                                                        CAGUAS              PR      00725‐8900
EASY MONEY PAWN SHOP CORP                 CALLE RAMON BETANCES 101                                                                                                               MAYAGUEZ            PR      00680
EASY SANTIAGO ALICEA                      BO BONOS SECT EL PALMAR                    26 VILLA OLA                                                                                NARAJINTO           PR      000719
EASY TRUCKING SERVICE CORP                390 CARR 853 STE 1 PMB 201                                                                                                             CAROLINA            PR      00987‐8799
EASY UP, INC.                             PO BOX 8303                                                                                                                            SAN JUAN            PR      00910
EASY WASH ENTERPRISES INC                 2275 AVE BORINQUEN                                                                                                                     SANM JUAN           PR      00926
EASY WASH ENTERPRISES, INC.               PO BOX 3374                                                                                                                            CAROLINA            PR      00984
EASY WIRELESS LLC                         URBB SANTIAGO IGLESIAS                     1428 AVE PAZ GRANELA                                                                        SAN JUAN            PR      00921
EATON CORPORATION                         2000 APOLLO DRIVE                                                                                                                      BROOK PARK          OH      44142
EATON CORPORATION                         AREA DEL TESORO                            DIV DE RECLAMACIONES                                                                        SAN JUAN            PR      00902‐4140
EATON EARLE & OR NYDIA RAMOS              ADDRESS ON FILE
EATON RAMOS, LESLIE                       ADDRESS ON FILE
EB HOLDING CORP                           PO BOX 29552                                                                                                                           SAN JUAN            PR      00929‐0552
EB OPERATING NUMBER ONE, INC.             PO BOX 40849 MINILLAS STATION                                                                                                          SAN JUAN            PR      00940
EBA I ROQUE ADORNO                        ADDRESS ON FILE
EBANISTERIA AVANTI                        ADDRESS ON FILE
EBANISTERIA BENITEZ                       ADDRESS ON FILE
EBANISTERIA BURGOS                        ADDRESS ON FILE
EBANISTERIA EHG INC                       HC 6 B OX 13015                                                                                                                        SAN SEBASTIAN       PR      00685
EBANISTERIA HNOS. GARCIA                  ADDRESS ON FILE
EBANISTERIA MESTEY                        ADDRESS ON FILE
EBANISTERIA MUNOZ CORP                    P O BOX 9023440                                                                                                                        SAN JUAN            PR      00902‐3440




                                                                                                                     Page 2436 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2437 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                       Address1                                    Address2                                    Address3   Address4   City            State   PostalCode   Country
EBANISTERIA ORMAZA INC.             PO BOX 6022                                 PMB # 11                                                          CAROLINA        PR      00984‐6022
EBANISTERIA WILLY BURGOS            ADDRESS ON FILE
EBANKS BAEZ, HENRY                  ADDRESS ON FILE
EBANKS CAMACHO, CATHERINE           ADDRESS ON FILE
EBANO 155 , INC.                    P. O. BOX 1837                                                                                                GUAYNABO        PR      00970‐1837
EBAY CONTRACTORS CORP               COND VICK CENTER                            D 304‐867 AVE MUNOZ RIVERA                                        SAN JUAN        PR      00925
EBEL AQUINO FELICIANO               ADDRESS ON FILE
EBEL M. RODRIGUEZ BENITEZ           ADDRESS ON FILE
EBEL O BERDECIA LOPEZ               ADDRESS ON FILE
EBEL RIVERA MARQUES                 ADDRESS ON FILE
EBEL RODRIGUEZ ANDUJAR              ADDRESS ON FILE
EBENEZER MINI MARKET & BAKERY INC   PO BOX 761                                                                                                    OROCOVIS        PR      00720
EBENEZER MORALES BALAY              ADDRESS ON FILE
EBERSOHN REINEKE, PETRUS            ADDRESS ON FILE
EBERSOLE MD, DONALD                 ADDRESS ON FILE
EBERTO RODRIGUEZ PINO               ADDRESS ON FILE
EBI ‐ A BIOMET CO.                  PO BOX 1359                                                                                                   GUAYNABO        PR      00970
EBI / ELECTROBIOLOGY                PO BOX 1359                                                                                                   GUAYNABO        PR      00970
EBISAEL REYES VELAZQUEZ             ADDRESS ON FILE
EBIZAI RIVERA RODRIGUEZ             ADDRESS ON FILE
EBJ MEDICAL                         URB LEVITTOWN 3172                          CALLE CRESTA                                                      TOA BAJA        PR      00949
EBJ ORTHOTICS Y MEDICAL EQUIP INC   URB LEVITTOWN                               3172 CALLE CRESTA                                                 TOA BAJA        PR      00949
EBNESHAHIDI, ALIREZA                ADDRESS ON FILE
EBRAHIM A FIGUEROA CRUZ             ADDRESS ON FILE
EBRTO RODRIGUEZ PINO                ADDRESS ON FILE
EBSCO INDUSTRIES INC                PO BOX 1081                                                                                                   BIRMINGHAM      AL      35242
EBSCO INDUSTRIES INC                PO BOX 1943                                                                                                   BIRMINGHAM      AL      35201
EBSCO INDUSTRIES INC                PO BOX 486                                                                                                    BIRMINGHAM      AL      35201
EBSCO INDUSTRIES INC                SUBSCRIPTION OFFICE                         PO BOX 10812                                                      BIRMINGHAN      AL      35202‐0812
EBSCO SUBSCRIPTION SERVICES         PO BOX 1081                                                                                                   BIRMINGHAM      AL      35201‐1081
EBUBE, EZE                          ADDRESS ON FILE
EC AUTO DBA                         HC 58 BOX 13549                                                                                               AGUADA          PR      00602
EC DISTRIBUTORS CORP                URB PARCKVILLE                              V17 CALLE ALASKA 2A                                               GUAYNABO        PR      00969
EC DOCTOR POLISH Y MAS INC          PO BOX 569                                                                                                    FAJARDO         PR      00738‐0569
EC PRODUCTIONS CORP                 URB MANSIONES DE SANTA PAULA                8 CALLE A                                                         GUAYNABO        PR      00969
EC TECHNO MANUFACTURING INC         P O BOX 363048                                                                                                SAN JUAN        PR      00936
EC Waste                            Road #3 Int. 923 KM 1.7 Bo. Buena Vista                                                                       Humacao         PR      00971
EC WASTE INC                        P O BOX 1262                                                                                                  PEÐUELAS        PR      00624 1262
EC WASTE INC                        P O BOX 850                                                                                                   PEÐUELAS        PR      00624‐0000
EC WIRELESS INC                     PO BOX 850                                                                                                    CABO ROJO       PR      00623
ECA GENERAL CONTRACTORS             3977 AVE MILITAR                                                                                              ISABELA         PR      00662
ECA GENERAL CONTRACTORS INC         3977 AVE MILITAR                                                                                              ISABELA         PR      00602
ECC CONSTRACTOR, INC.               URB. VILLA DELREY SEGUNDA SECCION CALLE FLANDES #2 C‐18                                                       CAGUAS          PR      00725‐0000
ECEHVARRIA DIAZ, DAGNES             ADDRESS ON FILE
ECEHVARRIA GUZMAN, EGBERTH          ADDRESS ON FILE
ECG INC                             505 N TOOMBS ST                                                                                               VALDOSTA        GA      31601‐4612
ECHANDI GUZMAN & ASSOC. INC.        EDIF VICK CENTER AFIC. D‐406 867 AVE. MUNOZ RIVERA                                                            RIO PIEDRAS     PR      00925
ECHANDIA ADAMES, EFRAIN             ADDRESS ON FILE
ECHANDY GARCIA, GAMALIEL            ADDRESS ON FILE
ECHANDY GIERBOLINI, CLARIBEL        ADDRESS ON FILE
ECHANDY GIERBOLINI, LIZMARY         ADDRESS ON FILE
ECHANDY LAVERGNE, DOLORES           ADDRESS ON FILE
ECHANDY LAVERGNE, RAMONITA          ADDRESS ON FILE
ECHANDY LOPEZ, EDDA                 ADDRESS ON FILE
ECHANDY LOPEZ, EVELYN               ADDRESS ON FILE
ECHANDY MARTINEZ, JOHANA            ADDRESS ON FILE
ECHANDY NIEVES, ANTHONY             ADDRESS ON FILE
ECHANDY OCHOA, LOURDES              ADDRESS ON FILE
ECHANDY RODRIGUEZ, YOLIANNE         ADDRESS ON FILE
Echandy Torres, Misael              ADDRESS ON FILE




                                                                                                             Page 2437 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2438 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHANDY TORRES, NELLY                   ADDRESS ON FILE
ECHANDY TORRES, VICTOR H                ADDRESS ON FILE
ECHANDY VAZQUEZ, EGBERTO                ADDRESS ON FILE
ECHANDY VEGA, NELSON J                  ADDRESS ON FILE
ECHAUTEGUI RIVERA, CARLOS M.            ADDRESS ON FILE
ECHAVARRIA JIMENEZ, GUSTAVO A.          ADDRESS ON FILE
ECHAVARRY DIAZ, DAVID                   ADDRESS ON FILE
ECHAVARRY MORALES, LIZ                  ADDRESS ON FILE
ECHAVARRY OCASIO, CYNTHIA E             ADDRESS ON FILE
Echavarry Ocasio, Edgardo A             ADDRESS ON FILE
ECHAVARRY OCASIO, EDGARDO A             ADDRESS ON FILE
ECHAVARRY SANTIAGO, SONIA A             ADDRESS ON FILE
ECHEANDIA CRUZ, NELIDA                  ADDRESS ON FILE
ECHEANDIA FUSTER MD, FERNANDO           ADDRESS ON FILE
ECHEANDIA FUSTER, JOSE                  ADDRESS ON FILE
ECHEANDIA FUSTER, JOSE R                ADDRESS ON FILE
ECHEANDIA GONZALEZ, IRIS O.             ADDRESS ON FILE
ECHEANDIA ORTIZ, MANUEL                 ADDRESS ON FILE
ECHEANDIA RIVERA, ABIGAIL               ADDRESS ON FILE
ECHEANDIA SANTOS, GABRIELA              ADDRESS ON FILE
ECHEANDIA SEGARRA, YANINA DEL ROSARIO   ADDRESS ON FILE
ECHEANDIA TORRES, CARMEN                ADDRESS ON FILE
ECHEANDIA TORRES, CARMEN M              ADDRESS ON FILE
ECHEANDIA VARGAS, RAMON                 ADDRESS ON FILE
ECHEANDIA VARGAS, RAMON                 ADDRESS ON FILE
ECHEANDIA VELEZ MD, JUAN                ADDRESS ON FILE
ECHEANDIA VELEZ, JUAN C.                ADDRESS ON FILE
ECHEGARAY ARBONA, SAHID                 ADDRESS ON FILE
ECHEGARAY CASALDUC, GABRIEL             ADDRESS ON FILE
ECHEGARAY GERENA, EDITH                 ADDRESS ON FILE
ECHEGARAY GONZALEZ,MARIA                ADDRESS ON FILE
ECHEGARAY LAGUNA, ANA DEL               ADDRESS ON FILE
ECHEGARAY LOPEZ, ILEANA                 ADDRESS ON FILE
ECHEGARAY LOPEZ, JASMINE                ADDRESS ON FILE
ECHEGARAY ROMERO, FERNANDO              ADDRESS ON FILE
ECHEGOYEN QUEVEDO, JORGE                ADDRESS ON FILE
ECHENIQUE ARANA, MARIA                  ADDRESS ON FILE
ECHENIQUE GASTAMBIDE MD, MIGUEL M       ADDRESS ON FILE
ECHENIQUE GAZTAMBIDE MD, LUIS I         ADDRESS ON FILE
ECHENIQUE GAZTAMBIDE, JOSE              ADDRESS ON FILE
ECHENIQUE MD, IGNACIO                   ADDRESS ON FILE
ECHENIQUE, ENRIQUE                      ADDRESS ON FILE
ECHEVARIA ALVARADO, CARMEN              ADDRESS ON FILE
ECHEVARIA FIGUEROA, ELIEZER             ADDRESS ON FILE
ECHEVARIA LABOY, ELIEZER                ADDRESS ON FILE
ECHEVARIA LOZADA, AWILDA                ADDRESS ON FILE
Echevaria Luciano, Leida M              ADDRESS ON FILE
ECHEVARIA MARTINEZ, WILFREDO            ADDRESS ON FILE
ECHEVARIA PADILLA, LOURDES              ADDRESS ON FILE
ECHEVARIA RIVERA, FELIX                 ADDRESS ON FILE
ECHEVARIA SOTO, ELIEZER                 ADDRESS ON FILE
ECHEVARIA VEGA, ANABEL                  ADDRESS ON FILE
ECHEVARIA VELAZQUEZ, MONSERRATE         ADDRESS ON FILE
ECHEVARIA, LUIS                         ADDRESS ON FILE
ECHEVARRIA ABREU, DENNIS                ADDRESS ON FILE
ECHEVARRIA ACEVEDO, ALEX                ADDRESS ON FILE
ECHEVARRIA ACEVEDO, ANGELICA M          ADDRESS ON FILE
ECHEVARRIA ACEVEDO, BRENDA LUZ          ADDRESS ON FILE
ECHEVARRIA ACEVEDO, DANIEL              ADDRESS ON FILE
ECHEVARRIA ACEVEDO, DAVID               ADDRESS ON FILE




                                                                                    Page 2438 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2439 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA ACEVEDO, DAVID                 ADDRESS ON FILE
ECHEVARRIA ACEVEDO, JAIME LUIS            ADDRESS ON FILE
ECHEVARRIA ACEVEDO, MARILYN               ADDRESS ON FILE
ECHEVARRIA ACEVEDO, SHEILA                ADDRESS ON FILE
Echevarria Acosta, Eddie                  ADDRESS ON FILE
ECHEVARRIA ACOSTA, YVONNE                 ADDRESS ON FILE
ECHEVARRIA ACOSTA, YVONNE                 ADDRESS ON FILE
ECHEVARRIA AFANADOR, ANIBAL               ADDRESS ON FILE
ECHEVARRIA AFANADOR, FELIX                ADDRESS ON FILE
ECHEVARRIA ALBINO, KARLA                  ADDRESS ON FILE
ECHEVARRIA ALICEA, IVAN                   ADDRESS ON FILE
ECHEVARRIA ALMODOVAR, MERCEDES I          ADDRESS ON FILE
ECHEVARRIA ALVARADO, LYDIA M              ADDRESS ON FILE
ECHEVARRIA ALVARADO, PABLO                ADDRESS ON FILE
ECHEVARRIA ALVAREZ, ELIU                  ADDRESS ON FILE
ECHEVARRIA ALVAREZ, JONATHAN              ADDRESS ON FILE
ECHEVARRIA ALVEY, MIRIAM                  ADDRESS ON FILE
Echevarria Amadeo, William                ADDRESS ON FILE
ECHEVARRIA AMARAT, LILLIAN                ADDRESS ON FILE
ECHEVARRIA ARCE, EDDIE R.                 ADDRESS ON FILE
ECHEVARRIA ARROYO, ISABEL                 ADDRESS ON FILE
ECHEVARRIA ARROYO, MARIA C.               ADDRESS ON FILE
ECHEVARRIA ARROYO, RUTH N                 ADDRESS ON FILE
ECHEVARRIA ARROYO, TILAHIA M.             ADDRESS ON FILE
ECHEVARRIA AVILA, LEO S                   ADDRESS ON FILE
ECHEVARRIA AVILES, JOSE                   ADDRESS ON FILE
ECHEVARRIA BARBOSA, JOSE                  ADDRESS ON FILE
ECHEVARRIA BARRETO, ANGEL                 ADDRESS ON FILE
ECHEVARRIA BARRIOS, DAMARIS               ADDRESS ON FILE
ECHEVARRIA BELBRU, SONIA                  ADDRESS ON FILE
ECHEVARRIA BENEJAM, ANTONIO               ADDRESS ON FILE
ECHEVARRIA BENIQUE, OLGA                  ADDRESS ON FILE
ECHEVARRIA BONHOMME, JORGE                ADDRESS ON FILE
ECHEVARRIA BONILLA, MAYRELIS              ADDRESS ON FILE
ECHEVARRIA BONILLA, NORMA I.              ADDRESS ON FILE
ECHEVARRIA BORRERO, JUSTINO               ADDRESS ON FILE
ECHEVARRIA BORRERO, MIRTA                 ADDRESS ON FILE
ECHEVARRIA BORRERO, WILMARIE              ADDRESS ON FILE
Echevarria Boscana, Maria M               ADDRESS ON FILE
ECHEVARRIA BOU, NADIA                     ADDRESS ON FILE
ECHEVARRIA BURGOS, RAMON                  ADDRESS ON FILE
ECHEVARRIA CABAN, ENRIQUE                 ADDRESS ON FILE
ECHEVARRIA CABAN, SAMUEL                  ADDRESS ON FILE
ECHEVARRIA CALDERON, JOAN                 ADDRESS ON FILE
ECHEVARRIA CALIZ, NORBERTO                ADDRESS ON FILE
ECHEVARRIA CANCEL, JASON                  ADDRESS ON FILE
ECHEVARRIA CANCEL, LIONEL                 ADDRESS ON FILE
ECHEVARRIA CAPO, JOSE M                   ADDRESS ON FILE
ECHEVARRIA CARABALLO, JOSEPH              ADDRESS ON FILE
ECHEVARRIA CARDONA MD, MARIA D            ADDRESS ON FILE
ECHEVARRIA CARRASQUILLO, MARIA DE LOS A   ADDRESS ON FILE
ECHEVARRIA CARRERO, DANIEL                ADDRESS ON FILE
ECHEVARRIA CARRILLO, ERICK                ADDRESS ON FILE
ECHEVARRIA CASTRO, KEISHLA                ADDRESS ON FILE
ECHEVARRIA CEDENO, SARAH                  ADDRESS ON FILE
ECHEVARRIA CENTENO, ALBERIC               ADDRESS ON FILE
ECHEVARRIA CENTENO, ALBERIC               ADDRESS ON FILE
ECHEVARRIA CENTENO, CARLOS                ADDRESS ON FILE
ECHEVARRIA CHAPARRO, NORMA                ADDRESS ON FILE
ECHEVARRIA CHARDON, JOSE M                ADDRESS ON FILE




                                                                                      Page 2439 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2440 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA CHARDON, MILAN         ADDRESS ON FILE
ECHEVARRIA CHAVES, CARMEN M       ADDRESS ON FILE
Echevarria Cintron, Francis       ADDRESS ON FILE
Echevarria Cintron, Marco A       ADDRESS ON FILE
ECHEVARRIA CLAVELL, LUIS          ADDRESS ON FILE
ECHEVARRIA COFINO MD, RENE R      ADDRESS ON FILE
ECHEVARRIA COFINO, RENE           ADDRESS ON FILE
ECHEVARRIA COFRESI, CATALINA      ADDRESS ON FILE
ECHEVARRIA COLLAZO, JOSE          ADDRESS ON FILE
ECHEVARRIA COLLAZO, JOSE          ADDRESS ON FILE
ECHEVARRIA COLON, ANNETTE         ADDRESS ON FILE
ECHEVARRIA COLON, ANNETTE         ADDRESS ON FILE
ECHEVARRIA COLON, CRISTINO        ADDRESS ON FILE
ECHEVARRIA COLON, ELASIO          ADDRESS ON FILE
ECHEVARRIA COLON, LAISA Y         ADDRESS ON FILE
ECHEVARRIA COLON, LESTER E        ADDRESS ON FILE
Echevarria Colon, Lucy I          ADDRESS ON FILE
ECHEVARRIA COLON, SAMUEL          ADDRESS ON FILE
ECHEVARRIA COLON, SONIA           ADDRESS ON FILE
ECHEVARRIA CORCHADO, ANANGELICO   ADDRESS ON FILE
ECHEVARRIA CORCHADO, ANGEL L      ADDRESS ON FILE
ECHEVARRIA CORCHADO, MAYRA        ADDRESS ON FILE
ECHEVARRIA CORDOVES, SYLVIA       ADDRESS ON FILE
ECHEVARRIA CORNIER, TOMASA        ADDRESS ON FILE
ECHEVARRIA CORREA, VIRGEN         ADDRESS ON FILE
ECHEVARRIA CORTES, JOSE           ADDRESS ON FILE
ECHEVARRIA CORTES, JUAN           ADDRESS ON FILE
ECHEVARRIA COSTA, MARIA L         ADDRESS ON FILE
ECHEVARRIA COTTO, BALTAZAR        ADDRESS ON FILE
ECHEVARRIA COTTO, JOSE M          ADDRESS ON FILE
ECHEVARRIA COTTO, LILLIAM         ADDRESS ON FILE
ECHEVARRIA COTTO, NAOHMI          ADDRESS ON FILE
ECHEVARRIA CRESPO, ADOLFO         ADDRESS ON FILE
ECHEVARRIA CRESPO, AMADO          ADDRESS ON FILE
ECHEVARRIA CRESPO, CRISTINA       ADDRESS ON FILE
ECHEVARRIA CRESPO, LISANDRA       ADDRESS ON FILE
ECHEVARRIA CRESPO, MONSERRATE     ADDRESS ON FILE
Echevarria Crespo, Roberto        ADDRESS ON FILE
ECHEVARRIA CRESPO, ROSA           ADDRESS ON FILE
ECHEVARRIA CRESPO, SILMARY        ADDRESS ON FILE
ECHEVARRIA CRESPO, YAZMIN         ADDRESS ON FILE
ECHEVARRIA CRUZ, ARLENE           ADDRESS ON FILE
ECHEVARRIA CRUZ, BLANCA           ADDRESS ON FILE
ECHEVARRIA CRUZ, CRISELDA         ADDRESS ON FILE
Echevarria Cruz, Eduardo A        ADDRESS ON FILE
ECHEVARRIA CRUZ, EUNICE           ADDRESS ON FILE
Echevarria Cruz, John             ADDRESS ON FILE
ECHEVARRIA CRUZ, PETRA            ADDRESS ON FILE
ECHEVARRIA CRUZ, VICTOR M         ADDRESS ON FILE
Echevarria Cruz, Wanda Ivette     ADDRESS ON FILE
ECHEVARRIA CUEVAS, LLUVAYKA       ADDRESS ON FILE
ECHEVARRIA CURBELO, LAURA         ADDRESS ON FILE
ECHEVARRIA CURET, SANDRA I.       ADDRESS ON FILE
ECHEVARRIA DE JESUS, ANGEL        ADDRESS ON FILE
ECHEVARRIA DE JESUS, JUDITH       ADDRESS ON FILE
ECHEVARRIA DE JESUS, SAMUEL       ADDRESS ON FILE
ECHEVARRIA DE JIMENEZ, ROSA M     ADDRESS ON FILE
ECHEVARRIA DE RIVERA, SONIA       ADDRESS ON FILE
ECHEVARRIA DEL RIO, ROLANDO       ADDRESS ON FILE
ECHEVARRIA DEL VALLE, GREGORIA    ADDRESS ON FILE




                                                                              Page 2440 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2441 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA DEL VALLE, REBECA       ADDRESS ON FILE
ECHEVARRIA DEL VALLE, SONIA        ADDRESS ON FILE
ECHEVARRIA DIAZ, ANGEL             ADDRESS ON FILE
ECHEVARRIA DIAZ, FELICITA          ADDRESS ON FILE
ECHEVARRIA DIAZ, GREGORIO          ADDRESS ON FILE
Echevarria Diaz, Jose G.           ADDRESS ON FILE
ECHEVARRIA DIAZ, MILITZA           ADDRESS ON FILE
ECHEVARRIA DOMENECH,MARIBEL        ADDRESS ON FILE
ECHEVARRIA DOMINGUEZ, EFRAIN       ADDRESS ON FILE
Echevarria Echeva, Natanael        ADDRESS ON FILE
Echevarria Echevar, Geraldo        ADDRESS ON FILE
Echevarria Echevar, Maribel        ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, AGNES       ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, CATHERINE   ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, DANIEL      ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, ELIANA      ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, GERALDINA   ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, IDALI       ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, JOSE        ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, JUAN M      ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, JULIO       ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, KATIRIA     ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, KRIS        ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, LUCELENIA   ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, OSCAR       ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, ROBERTO     ADDRESS ON FILE
ECHEVARRIA ECHEVARRIA, YETZAIRA    ADDRESS ON FILE
ECHEVARRIA ESCUDERO MD, MARIA E    ADDRESS ON FILE
ECHEVARRIA FELICIAN, CARMEN        ADDRESS ON FILE
ECHEVARRIA FELICIANO, ADALBERTO    ADDRESS ON FILE
ECHEVARRIA FELICIANO, AMERICO      ADDRESS ON FILE
ECHEVARRIA FELICIANO, CATALINA     ADDRESS ON FILE
ECHEVARRIA FELICIANO, DAVID        ADDRESS ON FILE
ECHEVARRIA FELICIANO, EDGAR C.     ADDRESS ON FILE
ECHEVARRIA FELICIANO, EDGARDO      ADDRESS ON FILE
ECHEVARRIA FELICIANO, FIORDLY R.   ADDRESS ON FILE
ECHEVARRIA FELICIANO, FRANCISCO    ADDRESS ON FILE
ECHEVARRIA FELICIANO, JORGE L      ADDRESS ON FILE
ECHEVARRIA FELICIANO, LYDIA E      ADDRESS ON FILE
ECHEVARRIA FELICIANO, VANESSA      ADDRESS ON FILE
ECHEVARRIA FELICIANO, VENIA        ADDRESS ON FILE
ECHEVARRIA FERNANDEZ, DANA M       ADDRESS ON FILE
ECHEVARRIA FERRER, AMARILIS        ADDRESS ON FILE
ECHEVARRIA FERRER, JOHN            ADDRESS ON FILE
ECHEVARRIA FERRER, LILLIAN         ADDRESS ON FILE
Echevarria Figuero, Orlando        ADDRESS ON FILE
ECHEVARRIA FIGUEROA, ARTIE         ADDRESS ON FILE
ECHEVARRIA FIGUEROA, DANIEL        ADDRESS ON FILE
ECHEVARRIA FIGUEROA, DOLORES       ADDRESS ON FILE
ECHEVARRIA FIGUEROA, ELSIE         ADDRESS ON FILE
ECHEVARRIA FIGUEROA, JUSTO         ADDRESS ON FILE
ECHEVARRIA FIGUEROA, JUSTO E       ADDRESS ON FILE
ECHEVARRIA FIGUEROA, MIGUEL        ADDRESS ON FILE
ECHEVARRIA FIGUEROA, ORLANDO       ADDRESS ON FILE
Echevarria Figueroa, Ramon         ADDRESS ON FILE
ECHEVARRIA FIGUEROA, VILMA         ADDRESS ON FILE
ECHEVARRIA FLORES, CARMEN D.       ADDRESS ON FILE
ECHEVARRIA FLORES, FERNANDO        ADDRESS ON FILE
ECHEVARRIA FRATICELLI, RAFAEL      ADDRESS ON FILE
ECHEVARRIA GALLOZA, ANA E          ADDRESS ON FILE




                                                                               Page 2441 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2442 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA GALLOZA, HECTOR A      ADDRESS ON FILE
ECHEVARRIA GALLOZA, YESENIA       ADDRESS ON FILE
ECHEVARRIA GARCIA, CARLOS         ADDRESS ON FILE
ECHEVARRIA GARCIA, JASAIRA        ADDRESS ON FILE
ECHEVARRIA GARCIA, JOSE           ADDRESS ON FILE
ECHEVARRIA GARCIA, JOSE           ADDRESS ON FILE
ECHEVARRIA GARCIA, OBED           ADDRESS ON FILE
ECHEVARRIA GARCIA, RAMON          ADDRESS ON FILE
ECHEVARRIA GARCIA, WILMARIE       ADDRESS ON FILE
ECHEVARRIA GARCIA, WILMARIS       ADDRESS ON FILE
ECHEVARRIA GARRIGA, NORMA         ADDRESS ON FILE
ECHEVARRIA GOMEZ, BENNIE          ADDRESS ON FILE
ECHEVARRIA GONZALEZ, ALEXIS       ADDRESS ON FILE
ECHEVARRIA GONZALEZ, ARIANA       ADDRESS ON FILE
Echevarria Gonzalez, Francisco    ADDRESS ON FILE
ECHEVARRIA GONZALEZ, HELEN        ADDRESS ON FILE
ECHEVARRIA GONZALEZ, JAVIER       ADDRESS ON FILE
ECHEVARRIA GONZALEZ, JOSE M       ADDRESS ON FILE
ECHEVARRIA GONZALEZ, MARINETTE    ADDRESS ON FILE
ECHEVARRIA GONZALEZ, RAFAEL       ADDRESS ON FILE
ECHEVARRIA GONZALEZ, VICTOR       ADDRESS ON FILE
ECHEVARRIA GONZALEZ, WILFREDO     ADDRESS ON FILE
ECHEVARRIA GONZALEZ, XAVIER O.    ADDRESS ON FILE
ECHEVARRIA GONZALEZ,OSCAR         ADDRESS ON FILE
ECHEVARRIA GUTIERREZ, RAMON       ADDRESS ON FILE
Echevarria Hernandes, Felipe      ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, ANIBAL      ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, BLANCA I    ADDRESS ON FILE
Echevarria Hernandez, Carmen      ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, LILLIAM M   ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, MARIA L     ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, MARISEL     ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, MELVIN      ADDRESS ON FILE
Echevarria Hernandez, Nelson      ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, RAMON       ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, RUT E       ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, SAUL        ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, WILFREDO    ADDRESS ON FILE
ECHEVARRIA HERNANDEZ, WILSON      ADDRESS ON FILE
ECHEVARRIA HILERIO, JOSE L        ADDRESS ON FILE
ECHEVARRIA IRIS, JONES            ADDRESS ON FILE
ECHEVARRIA IRIZARRY, CARMEN L     ADDRESS ON FILE
Echevarria Jimenez, Agnes R.      ADDRESS ON FILE
Echevarria Jimenez, Iliana        ADDRESS ON FILE
ECHEVARRIA JIMENEZ, NATALIA       ADDRESS ON FILE
ECHEVARRIA JUARBE, NEDDA          ADDRESS ON FILE
ECHEVARRIA LABOY, ADALBERTO       ADDRESS ON FILE
ECHEVARRIA LABOY, CARLOS          ADDRESS ON FILE
ECHEVARRIA LABOY, JAFET           ADDRESS ON FILE
ECHEVARRIA LABOY, JUAN            ADDRESS ON FILE
ECHEVARRIA LABOY, LISANDRA        ADDRESS ON FILE
ECHEVARRIA LABOY, TAINA           ADDRESS ON FILE
ECHEVARRIA LAMBOY, JESUS A        ADDRESS ON FILE
ECHEVARRIA LAMBOY, MILAGROS       ADDRESS ON FILE
ECHEVARRIA LAZUS, AMPARO          ADDRESS ON FILE
ECHEVARRIA LEON, SILVIA I.        ADDRESS ON FILE
ECHEVARRIA LLORET, BLANCA R       ADDRESS ON FILE
ECHEVARRIA LOPEZ, EDWIN           ADDRESS ON FILE
ECHEVARRIA LOPEZ, LOURDES         ADDRESS ON FILE
ECHEVARRIA LOPEZ, MARISOL         ADDRESS ON FILE




                                                                              Page 2442 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2443 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA LOPEZ, MAYRA            ADDRESS ON FILE
ECHEVARRIA LOPEZ, SONIA            ADDRESS ON FILE
ECHEVARRIA LOPEZ, SYLVIA           ADDRESS ON FILE
ECHEVARRIA LOPEZ, TERESA           ADDRESS ON FILE
ECHEVARRIA LOPEZ, WILSON           ADDRESS ON FILE
ECHEVARRIA LORENZO, RICHARD        ADDRESS ON FILE
ECHEVARRIA LUCIANO, MIGUEL         ADDRESS ON FILE
ECHEVARRIA LUGO, AIDA              ADDRESS ON FILE
Echevarria Lugo, Alberto           ADDRESS ON FILE
ECHEVARRIA LUGO, ALEJANDRO         ADDRESS ON FILE
ECHEVARRIA LUGO, EDGARDO           ADDRESS ON FILE
ECHEVARRIA LUGO, EDGARDO           ADDRESS ON FILE
ECHEVARRIA LUGO, JAIME             ADDRESS ON FILE
ECHEVARRIA LUGO, JORGE             ADDRESS ON FILE
ECHEVARRIA LUGO, JORGE             ADDRESS ON FILE
ECHEVARRIA LUGO, JOSE F            ADDRESS ON FILE
ECHEVARRIA LUGO, KEISHA            ADDRESS ON FILE
ECHEVARRIA LUGO, MICHELLE          ADDRESS ON FILE
ECHEVARRIA MALAVE, AGUSTINA        ADDRESS ON FILE
ECHEVARRIA MALAVE, DIANA           ADDRESS ON FILE
ECHEVARRIA MALDONADO, ANNA D.      ADDRESS ON FILE
ECHEVARRIA MALDONADO, BETSY        ADDRESS ON FILE
ECHEVARRIA MALDONADO, ELIZABETH    ADDRESS ON FILE
ECHEVARRIA MALDONADO, EVELYN       ADDRESS ON FILE
ECHEVARRIA MALDONADO, IVAN R       ADDRESS ON FILE
ECHEVARRIA MALDONADO, LUIS         ADDRESS ON FILE
ECHEVARRIA MALDONADO, MARCOS       ADDRESS ON FILE
ECHEVARRIA MALDONADO, MARIA I.     ADDRESS ON FILE
ECHEVARRIA MANDIA, LUIS            ADDRESS ON FILE
ECHEVARRIA MANDULEY, LUIS          ADDRESS ON FILE
ECHEVARRIA MARCUCI, NELI           ADDRESS ON FILE
ECHEVARRIA MARIA, ELENA            ADDRESS ON FILE
ECHEVARRIA MARIN, ARMANDO          ADDRESS ON FILE
ECHEVARRIA MARIN, ELAN             ADDRESS ON FILE
ECHEVARRIA MARQUEZ, GERARDO L      ADDRESS ON FILE
ECHEVARRIA MARRERO, BRENDA I.      ADDRESS ON FILE
ECHEVARRIA MARRERO, ORLANDO        ADDRESS ON FILE
ECHEVARRIA MARTINEZ, ANA L         ADDRESS ON FILE
ECHEVARRIA MARTINEZ, ARACELYS      ADDRESS ON FILE
ECHEVARRIA MARTINEZ, CARMEN I.     ADDRESS ON FILE
ECHEVARRIA MARTINEZ, EDGARDO       ADDRESS ON FILE
ECHEVARRIA MARTINEZ, KARLA         ADDRESS ON FILE
ECHEVARRIA MARTINEZ, LEOVIGILDO    ADDRESS ON FILE
ECHEVARRIA MARTINEZ, NILDA         ADDRESS ON FILE
ECHEVARRIA MARTINEZ, RAMON         ADDRESS ON FILE
ECHEVARRIA MARTINEZ, RAMON         ADDRESS ON FILE
ECHEVARRIA MARTINEZ, WANDA         ADDRESS ON FILE
ECHEVARRIA MARTINEZ, YADIRA        ADDRESS ON FILE
ECHEVARRIA MATIAS, DARWIN          ADDRESS ON FILE
ECHEVARRIA MATIAS, RAMON ENRIQUE   ADDRESS ON FILE
Echevarria Matos, Wilson           ADDRESS ON FILE
ECHEVARRIA MATOS, WILSON           ADDRESS ON FILE
ECHEVARRIA MAURAS, ALMA N          ADDRESS ON FILE
ECHEVARRIA MEDINA MD, ZORYMAR      ADDRESS ON FILE
ECHEVARRIA MEDINA, ARAIZA          ADDRESS ON FILE
ECHEVARRIA MEDINA, CARMEN H        ADDRESS ON FILE
ECHEVARRIA MEDINA, JONATHAN        ADDRESS ON FILE
Echevarria Medina, Lorna           ADDRESS ON FILE
Echevarria Medina, Luis            ADDRESS ON FILE
ECHEVARRIA MEDINA, LUIS A          ADDRESS ON FILE




                                                                               Page 2443 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2444 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA MEDINA, NORBERTO      ADDRESS ON FILE
ECHEVARRIA MEDINA, RAMON         ADDRESS ON FILE
ECHEVARRIA MEDINA, ZORYMAR       ADDRESS ON FILE
ECHEVARRIA MELENDEZ, NELSA L.    ADDRESS ON FILE
ECHEVARRIA MELENDEZ, RAFAEL      ADDRESS ON FILE
Echevarria Mendoza, Martin       ADDRESS ON FILE
ECHEVARRIA MENDOZA, MARTIN       ADDRESS ON FILE
ECHEVARRIA MENDOZA, SHIRLEY      ADDRESS ON FILE
ECHEVARRIA MERCADO, JOHARA       ADDRESS ON FILE
ECHEVARRIA MERCADO, JOSE M.      ADDRESS ON FILE
ECHEVARRIA MERCADO, MILDRED      ADDRESS ON FILE
ECHEVARRIA MERCADO, YANIRA       ADDRESS ON FILE
ECHEVARRIA MILIAN, DAMARIS       ADDRESS ON FILE
ECHEVARRIA MILIAN, DAVID         ADDRESS ON FILE
ECHEVARRIA MILLAN, DAMARIS       ADDRESS ON FILE
ECHEVARRIA MIRABAL, ANTONIO      ADDRESS ON FILE
Echevarria Mirabal, Carlos       ADDRESS ON FILE
ECHEVARRIA MIRABAL, JOSEFINA     ADDRESS ON FILE
Echevarria Miranda, Alexis       ADDRESS ON FILE
ECHEVARRIA MIRANDA, CARMEN E.    ADDRESS ON FILE
ECHEVARRIA MIRANDA, MARIA        ADDRESS ON FILE
ECHEVARRIA MIRANDA, MARIA M      ADDRESS ON FILE
ECHEVARRIA MIRANDA, TERESA       ADDRESS ON FILE
ECHEVARRIA MOLINA, CARMEN G      ADDRESS ON FILE
ECHEVARRIA MONTANEZ, JOEL        ADDRESS ON FILE
ECHEVARRIA MONTES, JOSE DANIEL   ADDRESS ON FILE
ECHEVARRIA MONTES, OMAR          ADDRESS ON FILE
ECHEVARRIA MONTES, SYDNEY G      ADDRESS ON FILE
ECHEVARRIA MORALES, AUREA        ADDRESS ON FILE
ECHEVARRIA MORALES, CARMEN       ADDRESS ON FILE
ECHEVARRIA MORALES, CARMEN A     ADDRESS ON FILE
ECHEVARRIA MORALES, CARMEN M     ADDRESS ON FILE
Echevarria Morales, Confesor     ADDRESS ON FILE
ECHEVARRIA MORALES, EDGARDO      ADDRESS ON FILE
ECHEVARRIA MORALES, ELIEZER      ADDRESS ON FILE
ECHEVARRIA MORALES, FELICITA     ADDRESS ON FILE
ECHEVARRIA MORALES, JACKELINE    ADDRESS ON FILE
ECHEVARRIA MORALES, JELISA M     ADDRESS ON FILE
ECHEVARRIA MORALES, JESSICA      ADDRESS ON FILE
ECHEVARRIA MORALES, LISANDRA     ADDRESS ON FILE
ECHEVARRIA MORALES, LUZ Z        ADDRESS ON FILE
ECHEVARRIA MORALES, MARCIAL      ADDRESS ON FILE
ECHEVARRIA MORALES, MARCIAL      ADDRESS ON FILE
ECHEVARRIA MORALES, YAMARY LIZ   ADDRESS ON FILE
ECHEVARRIA MORALES, YESENIA      ADDRESS ON FILE
ECHEVARRIA MORENO, DANIEL        ADDRESS ON FILE
ECHEVARRIA MUNIZ, ARELYS         ADDRESS ON FILE
ECHEVARRIA MUNIZ, EMMA I         ADDRESS ON FILE
ECHEVARRIA NAZARIO, ELSA         ADDRESS ON FILE
ECHEVARRIA NAZARIO, JOSE C.      ADDRESS ON FILE
ECHEVARRIA NEGRON, AIDA          ADDRESS ON FILE
ECHEVARRIA NEGRON, ENEIDA        ADDRESS ON FILE
ECHEVARRIA NEGRON, GERARDO       ADDRESS ON FILE
ECHEVARRIA NIEVES, HANGS         ADDRESS ON FILE
ECHEVARRIA NIEVES, ISRAEL        ADDRESS ON FILE
ECHEVARRIA NIEVES, JOEL          ADDRESS ON FILE
ECHEVARRIA NIEVES, JUDITH        ADDRESS ON FILE
ECHEVARRIA NIEVES, MARCONI A.    ADDRESS ON FILE
ECHEVARRIA NIEVES, NELSON        ADDRESS ON FILE
ECHEVARRIA NIEVES, NEYSA         ADDRESS ON FILE




                                                                             Page 2444 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2445 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA NUNEZ, LISBETH        ADDRESS ON FILE
ECHEVARRIA OCASIO, ABIMELEC      ADDRESS ON FILE
ECHEVARRIA OLIVERA, LUZ E.       ADDRESS ON FILE
ECHEVARRIA OLIVERAS, OMAR        ADDRESS ON FILE
ECHEVARRIA ORENGO, LYDIA E       ADDRESS ON FILE
ECHEVARRIA ORTIZ, ANGEL M.       ADDRESS ON FILE
ECHEVARRIA ORTIZ, EDWIN          ADDRESS ON FILE
ECHEVARRIA ORTIZ, IVELISSE       ADDRESS ON FILE
ECHEVARRIA ORTIZ, IVETTE M       ADDRESS ON FILE
ECHEVARRIA ORTIZ, JANICE         ADDRESS ON FILE
ECHEVARRIA ORTIZ, JOSE           ADDRESS ON FILE
Echevarria Ortiz, Jose L         ADDRESS ON FILE
ECHEVARRIA ORTIZ, LESLIE R.      ADDRESS ON FILE
ECHEVARRIA ORTIZ, MILDRED        ADDRESS ON FILE
ECHEVARRIA ORTIZ, MORAIMA J      ADDRESS ON FILE
ECHEVARRIA ORTIZ, SHARILY        ADDRESS ON FILE
ECHEVARRIA ORTIZ, SORAYA         ADDRESS ON FILE
ECHEVARRIA ORTIZ, SYLVIA E       ADDRESS ON FILE
ECHEVARRIA ORTIZ, WANDA          ADDRESS ON FILE
ECHEVARRIA ORTIZ, WANDA I        ADDRESS ON FILE
ECHEVARRIA ORTOLAZA, JERRY       ADDRESS ON FILE
ECHEVARRIA OSORIO, CELINES       ADDRESS ON FILE
ECHEVARRIA PACHECO, JOSE         ADDRESS ON FILE
ECHEVARRIA PACHECO, MARIBEL      ADDRESS ON FILE
Echevarria Padil, Lourdes M      ADDRESS ON FILE
ECHEVARRIA PADILLA, ANA          ADDRESS ON FILE
ECHEVARRIA PADILLA, DAVID A.     ADDRESS ON FILE
ECHEVARRIA PADIN, DIANE M        ADDRESS ON FILE
ECHEVARRIA PADIN, NELSON         ADDRESS ON FILE
ECHEVARRIA PAGAN, BRENDA I.      ADDRESS ON FILE
ECHEVARRIA PAGAN, EDDIE          ADDRESS ON FILE
ECHEVARRIA PAGAN, EDITH I.       ADDRESS ON FILE
Echevarria Pagan, Elson          ADDRESS ON FILE
Echevarria Pagan, Pedro Juan     ADDRESS ON FILE
Echevarria Pagan, Pedro S.       ADDRESS ON FILE
ECHEVARRIA PAGAN, SANTOS D       ADDRESS ON FILE
Echevarria Paredes, Roberto      ADDRESS ON FILE
Echevarria Pellot, Angel L       ADDRESS ON FILE
ECHEVARRIA PERAZA, CAMILLE       ADDRESS ON FILE
ECHEVARRIA PEREZ, AIXA           ADDRESS ON FILE
Echevarria Perez, Angel M        ADDRESS ON FILE
ECHEVARRIA PEREZ, ARISMERALYS    ADDRESS ON FILE
Echevarria Perez, Braulio        ADDRESS ON FILE
ECHEVARRIA PEREZ, BRENDA         ADDRESS ON FILE
ECHEVARRIA PEREZ, EDMARIE        ADDRESS ON FILE
Echevarria Perez, Elvin J.       ADDRESS ON FILE
ECHEVARRIA PEREZ, FRANSINELLY    ADDRESS ON FILE
ECHEVARRIA PEREZ, IDALIE         ADDRESS ON FILE
ECHEVARRIA PEREZ, JENNIFER       ADDRESS ON FILE
ECHEVARRIA PEREZ, JESSICA        ADDRESS ON FILE
ECHEVARRÍA PÉREZ, JESSICA        ADDRESS ON FILE
ECHEVARRIA PEREZ, JORGE L        ADDRESS ON FILE
ECHEVARRIA PEREZ, JUAN T         ADDRESS ON FILE
ECHEVARRIA PEREZ, KEYLA          ADDRESS ON FILE
ECHEVARRIA PEREZ, LETICIA        ADDRESS ON FILE
ECHEVARRIA PEREZ, LUPICINIO      ADDRESS ON FILE
ECHEVARRIA PEREZ, MARIA DEL MA   ADDRESS ON FILE
ECHEVARRIA PEREZ, MERCEDES       ADDRESS ON FILE
ECHEVARRIA PEREZ, MIGDALIA       ADDRESS ON FILE
ECHEVARRIA PEREZ, ROBERTO        ADDRESS ON FILE




                                                                             Page 2445 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2446 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA PEREZ, ROSA M           ADDRESS ON FILE
ECHEVARRIA PEREZ, SONIA            ADDRESS ON FILE
ECHEVARRIA PEREZ, VERONICA         ADDRESS ON FILE
ECHEVARRIA PEREZ, WILLIAM          ADDRESS ON FILE
ECHEVARRIA PEREZ, YARITZA M        ADDRESS ON FILE
ECHEVARRIA POMALES, JAVIER         ADDRESS ON FILE
Echevarria Qui&ones, Juana         ADDRESS ON FILE
ECHEVARRIA QUILES, JOSE            ADDRESS ON FILE
ECHEVARRIA QUILES, ROSALINA        ADDRESS ON FILE
ECHEVARRIA QUINTANA, MIGUEL        ADDRESS ON FILE
ECHEVARRIA QUINTANA, MIGUEL        ADDRESS ON FILE
ECHEVARRIA QUINTANA, MIGUEL        ADDRESS ON FILE
ECHEVARRIA QUINTANA, ROLANDO       ADDRESS ON FILE
ECHEVARRIA QUIRINDONGO, PASCUALA   ADDRESS ON FILE
ECHEVARRIA RAMIREZ, ALVINA         ADDRESS ON FILE
ECHEVARRIA RAMIREZ, BENJAMIN       ADDRESS ON FILE
ECHEVARRIA RAMIREZ, MARIA          ADDRESS ON FILE
ECHEVARRIA RAMIREZ, MELVIN         ADDRESS ON FILE
ECHEVARRIA RAMOS, CARLOS           ADDRESS ON FILE
ECHEVARRIA RAMOS, CARLOS A.        ADDRESS ON FILE
ECHEVARRIA RAMOS, CARMEN A         ADDRESS ON FILE
ECHEVARRIA RAMOS, CLARIBEL         ADDRESS ON FILE
ECHEVARRIA RAMOS, LUIS R           ADDRESS ON FILE
ECHEVARRIA RAMOS, LUZ N            ADDRESS ON FILE
ECHEVARRIA REY, MARIA M            ADDRESS ON FILE
ECHEVARRIA REYES, CRUZ             ADDRESS ON FILE
ECHEVARRIA REYES, NELSA            ADDRESS ON FILE
ECHEVARRIA RIOS, GLORIA            ADDRESS ON FILE
ECHEVARRIA RIOS, SONIA M           ADDRESS ON FILE
ECHEVARRIA RIVERA, ABIDAN          ADDRESS ON FILE
ECHEVARRIA RIVERA, ARMANDO         ADDRESS ON FILE
ECHEVARRIA RIVERA, CARLOS          ADDRESS ON FILE
ECHEVARRIA RIVERA, CARMEN          ADDRESS ON FILE
ECHEVARRIA RIVERA, DANIEL          ADDRESS ON FILE
ECHEVARRIA RIVERA, EDSEL           ADDRESS ON FILE
Echevarria Rivera, Elvin           ADDRESS ON FILE
ECHEVARRIA RIVERA, ENOC            ADDRESS ON FILE
ECHEVARRIA RIVERA, ERICK           ADDRESS ON FILE
ECHEVARRIA RIVERA, ESTHER          ADDRESS ON FILE
ECHEVARRIA RIVERA, IRVING          ADDRESS ON FILE
ECHEVARRIA RIVERA, JESUS           ADDRESS ON FILE
ECHEVARRIA RIVERA, JOSE            ADDRESS ON FILE
ECHEVARRIA RIVERA, JOSUE           ADDRESS ON FILE
ECHEVARRIA RIVERA, KEVIN           ADDRESS ON FILE
ECHEVARRIA RIVERA, LIZANDRA        ADDRESS ON FILE
ECHEVARRIA RIVERA, MARISOL         ADDRESS ON FILE
ECHEVARRIA RIVERA, MARTA R         ADDRESS ON FILE
ECHEVARRIA RIVERA, MOISES          ADDRESS ON FILE
ECHEVARRIA RIVERA, OMAYRA          ADDRESS ON FILE
ECHEVARRIA RIVERA, SHIRLEY A.      ADDRESS ON FILE
ECHEVARRIA RIVERA, WANDA           ADDRESS ON FILE
ECHEVARRIA ROBLES, CARLOS          ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ MD, DAMARIS   ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, ABIGAIL      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, ANTONINO     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, ARLENE       ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, CARMEN       ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, CATALINA     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, CELESTE      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, DAVID        ADDRESS ON FILE




                                                                               Page 2446 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2447 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA RODRIGUEZ, DIMARIS     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, EDGARDO     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, EDUARDO     ADDRESS ON FILE
Echevarria Rodriguez, Isaias      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, ISRAEL      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, JOSE        ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, JOSE A      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, JOSE A      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, JUAN J      ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, LAURA       ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, LYNETTE N   ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, OMAR J.     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, VANESSA     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, WILLIAM     ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, WILMA       ADDRESS ON FILE
ECHEVARRIA RODRIGUEZ, YANIRA      ADDRESS ON FILE
ECHEVARRIA RODRIQUEZ, JOSEFINA    ADDRESS ON FILE
ECHEVARRIA ROJAS, BERNICE M       ADDRESS ON FILE
ECHEVARRIA ROMAN, DIANALIS        ADDRESS ON FILE
ECHEVARRIA ROMAN, MILAGROS        ADDRESS ON FILE
ECHEVARRIA ROMAN, MIOSOTIS        ADDRESS ON FILE
ECHEVARRIA ROMAN, NANCY           ADDRESS ON FILE
ECHEVARRIA ROMAN, NANCY           ADDRESS ON FILE
ECHEVARRIA ROMAN, PABLO           ADDRESS ON FILE
ECHEVARRIA ROSA, ELVIN            ADDRESS ON FILE
ECHEVARRIA ROSA, HELEN I          ADDRESS ON FILE
ECHEVARRIA ROSA, RAFAEL           ADDRESS ON FILE
Echevarria Rosado, Maribel        ADDRESS ON FILE
ECHEVARRIA ROSADO, REYNALDO       ADDRESS ON FILE
ECHEVARRIA ROSARIO, AIDA L        ADDRESS ON FILE
ECHEVARRIA ROSARIO, CARLOS        ADDRESS ON FILE
ECHEVARRIA ROSARIO, ELBA I        ADDRESS ON FILE
ECHEVARRIA ROSAS, SULEM           ADDRESS ON FILE
ECHEVARRIA ROUSSEL, ANA           ADDRESS ON FILE
ECHEVARRIA RUIZ, HECTOR           ADDRESS ON FILE
ECHEVARRIA RUIZ, LILLIAM          ADDRESS ON FILE
ECHEVARRIA RUIZ, ROBINSON         ADDRESS ON FILE
Echevarria Sanchez, Alipio        ADDRESS ON FILE
ECHEVARRIA SANCHEZ, ANGEL         ADDRESS ON FILE
ECHEVARRIA SANCHEZ, ELBA          ADDRESS ON FILE
ECHEVARRIA SANCHEZ, JAVIER        ADDRESS ON FILE
ECHEVARRIA SANCHEZ, JAYME         ADDRESS ON FILE
ECHEVARRIA SANCHEZ, STEPHANIE     ADDRESS ON FILE
ECHEVARRIA SANTANA, IRIS          ADDRESS ON FILE
ECHEVARRIA SANTANA, JOSE          ADDRESS ON FILE
Echevarria Santiag, Maria C       ADDRESS ON FILE
ECHEVARRIA SANTIAGO MD, LUIS A    ADDRESS ON FILE
ECHEVARRIA SANTIAGO, AUREA E      ADDRESS ON FILE
ECHEVARRIA SANTIAGO, CARMEN G     ADDRESS ON FILE
ECHEVARRIA SANTIAGO, CESAR        ADDRESS ON FILE
Echevarria Santiago, Eliseo       ADDRESS ON FILE
ECHEVARRIA SANTIAGO, IRMA         ADDRESS ON FILE
ECHEVARRIA SANTIAGO, JEREMIAS     ADDRESS ON FILE
ECHEVARRIA SANTIAGO, MANUEL       ADDRESS ON FILE
ECHEVARRIA SANTIAGO, MARIO        ADDRESS ON FILE
ECHEVARRIA SANTIAGO, NOEMI        ADDRESS ON FILE
ECHEVARRIA SANTIAGO, ROBERTO      ADDRESS ON FILE
ECHEVARRIA SANTIAGO, ROSA E       ADDRESS ON FILE
ECHEVARRIA SANTIAGO, SONIA M      ADDRESS ON FILE
ECHEVARRIA SANTIAGO, XAVIER       ADDRESS ON FILE




                                                                              Page 2447 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2448 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ECHEVARRIA SANTIAGO, ZULEIKA     ADDRESS ON FILE
ECHEVARRIA SANTIAGO,MAN          ADDRESS ON FILE
ECHEVARRIA SANTOS, ELISEO        ADDRESS ON FILE
ECHEVARRIA SANTOS, JOSE A        ADDRESS ON FILE
ECHEVARRIA SANTOS, NANCY I       ADDRESS ON FILE
ECHEVARRIA SEGUI, LUZ            ADDRESS ON FILE
ECHEVARRIA SEPULVEDA, ANA M      ADDRESS ON FILE
ECHEVARRIA SEPULVEDA, KARLA      ADDRESS ON FILE
ECHEVARRIA SERNA, MILAGROS       ADDRESS ON FILE
ECHEVARRIA SERRANO, MARIA        ADDRESS ON FILE
ECHEVARRIA SERRANO, NAYDA E.     ADDRESS ON FILE
ECHEVARRIA SERRANO, OSWALDO      ADDRESS ON FILE
ECHEVARRIA SOLIS, WILLIAM        ADDRESS ON FILE
ECHEVARRIA SOTO, ABDIEL          ADDRESS ON FILE
ECHEVARRIA SOTO, BETHZAIDA       ADDRESS ON FILE
ECHEVARRIA SOTO, GLADYS          ADDRESS ON FILE
ECHEVARRIA SOTO, JOENELL         ADDRESS ON FILE
ECHEVARRIA SOTO, KRIMILDA        ADDRESS ON FILE
ECHEVARRIA SOTO, MANUEL L        ADDRESS ON FILE
ECHEVARRIA SOTO, VIRGINIA        ADDRESS ON FILE
ECHEVARRIA SOTOMAYOR, MARIELA    ADDRESS ON FILE
ECHEVARRIA SUAREZ, AMARILIS      ADDRESS ON FILE
ECHEVARRIA SUAREZ, LUPICINIO     ADDRESS ON FILE
ECHEVARRIA SUS, VICTOR           ADDRESS ON FILE
ECHEVARRIA TOLENTINO, NELMARI    ADDRESS ON FILE
ECHEVARRIA TORO, ORLANDO         ADDRESS ON FILE
ECHEVARRIA TORRE, MARGARITA      ADDRESS ON FILE
ECHEVARRIA TORRELLAS, LOURDES    ADDRESS ON FILE
ECHEVARRIA TORRES, AMELIA        ADDRESS ON FILE
ECHEVARRIA TORRES, CARMEN        ADDRESS ON FILE
ECHEVARRIA TORRES, CARMEN A      ADDRESS ON FILE
ECHEVARRIA TORRES, CELIMARI      ADDRESS ON FILE
ECHEVARRIA TORRES, CESAR L       ADDRESS ON FILE
ECHEVARRIA TORRES, DEBRA         ADDRESS ON FILE
ECHEVARRIA TORRES, EMILY I       ADDRESS ON FILE
Echevarria Torres, Emily I.      ADDRESS ON FILE
ECHEVARRIA TORRES, EVELYN        ADDRESS ON FILE
ECHEVARRIA TORRES, JEAN          ADDRESS ON FILE
ECHEVARRIA TORRES, JESUS M       ADDRESS ON FILE
ECHEVARRIA TORRES, JOSE          ADDRESS ON FILE
ECHEVARRIA TORRES, JOSE L.       ADDRESS ON FILE
ECHEVARRIA TORRES, LILLIAM       ADDRESS ON FILE
ECHEVARRIA TORRES, LYNETTE       ADDRESS ON FILE
ECHEVARRIA TORRES, NELSON        ADDRESS ON FILE
ECHEVARRIA TORRES, RAMON         ADDRESS ON FILE
Echevarria Torres, Ruben A       ADDRESS ON FILE
Echevarria Torres, Santos I      ADDRESS ON FILE
ECHEVARRIA TORRES, SANTOS IVAN   ADDRESS ON FILE
ECHEVARRIA TORRES, WANDA I       ADDRESS ON FILE
ECHEVARRIA TORRUELLA, MAYRA      ADDRESS ON FILE
ECHEVARRIA TORRUELLAS, ROSSANA   ADDRESS ON FILE
ECHEVARRIA VALDEZ, RONNY         ADDRESS ON FILE
ECHEVARRIA VALENTIN, ANTONIO     ADDRESS ON FILE
ECHEVARRIA VALENTIN, CARMEN L    ADDRESS ON FILE
Echevarria Valentin, Juan E      ADDRESS ON FILE
ECHEVARRIA VALENTIN, MANUEL      ADDRESS ON FILE
ECHEVARRIA VALENTIN, RAFAEL      ADDRESS ON FILE
ECHEVARRIA VARGAS, CARMEN        ADDRESS ON FILE
ECHEVARRIA VARGAS, GABRIEL       ADDRESS ON FILE
ECHEVARRIA VARGAS, JAVIER A      ADDRESS ON FILE




                                                                             Page 2448 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2449 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                      Address1                            Address2                                     Address3   Address4   City            State   PostalCode   Country
ECHEVARRIA VARGAS, JETTZABELL      ADDRESS ON FILE
ECHEVARRIA VARGAS, RAFAEL          ADDRESS ON FILE
ECHEVARRIA VAZQUEZ, MANUEL         ADDRESS ON FILE
ECHEVARRIA VAZQUEZ, NETZAIDA       ADDRESS ON FILE
ECHEVARRIA VEGA, CARLOS            ADDRESS ON FILE
ECHEVARRIA VEGA, DAMARIS           ADDRESS ON FILE
ECHEVARRIA VEGA, WALESKA           ADDRESS ON FILE
ECHEVARRIA VELAZQUEZ, ALEXIS       ADDRESS ON FILE
ECHEVARRIA VELAZQUEZ, ANTONIO      ADDRESS ON FILE
ECHEVARRIA VELAZQUEZ, EMERITA      ADDRESS ON FILE
ECHEVARRIA VELAZQUEZ, JOSE A       ADDRESS ON FILE
ECHEVARRIA VELAZQUEZ, SANDRA       ADDRESS ON FILE
ECHEVARRIA VELEZ, CARMEN A.        ADDRESS ON FILE
ECHEVARRIA VELEZ, JOEL             ADDRESS ON FILE
ECHEVARRIA VELEZ, JULIO            ADDRESS ON FILE
Echevarria Velez, Luis E           ADDRESS ON FILE
ECHEVARRIA VELEZ, MARILYN          ADDRESS ON FILE
ECHEVARRIA VELEZ, MORIELY          ADDRESS ON FILE
ECHEVARRIA VELEZ, NADIA M          ADDRESS ON FILE
ECHEVARRIA VELEZ, NATIVIDAD        ADDRESS ON FILE
ECHEVARRIA VILLANUEVA, JOSE A.     ADDRESS ON FILE
ECHEVARRIA ZAYAS, YOLANDA          ADDRESS ON FILE
ECHEVARRIA, ALEJANDRO              ADDRESS ON FILE
ECHEVARRIA, CARMEN                 ADDRESS ON FILE
ECHEVARRIA, DOLORES E              ADDRESS ON FILE
ECHEVARRIA, JENNIFER               ADDRESS ON FILE
ECHEVARRIA, LUIS A.                ADDRESS ON FILE
ECHEVARRIA, MARIA DE J.            ADDRESS ON FILE
ECHEVARRIA, MARIA M                ADDRESS ON FILE
ECHEVARRIA, MIRIAM                 ADDRESS ON FILE
ECHEVARRIA, PEDRO L.               ADDRESS ON FILE
ECHEVARRIA, SANDRA I               ADDRESS ON FILE
Echevarria, William                ADDRESS ON FILE
ECHEVARRIARODRIGUEZ, EUSTAQUIO     ADDRESS ON FILE
ECHEVARRIARODRIGUEZ, PABLO         ADDRESS ON FILE
ECHEVARRIASANCHEZ, DAVID           ADDRESS ON FILE
ECHEVARRY DIAZ, ELIU J.            ADDRESS ON FILE
ECHEVARRY DIAZ, VICNUEL            ADDRESS ON FILE
ECHEVARRY FEBO, MARICEL            ADDRESS ON FILE
ECHEVARRY OCASIO, CYNTHIA          ADDRESS ON FILE
ECHEVERRI LONDONO, HERNAN          ADDRESS ON FILE
ECHEVERRI LOZADA, MITCHELL         ADDRESS ON FILE
ECHEVERRI, HERNAN A.               ADDRESS ON FILE
ECHEVERRIA ARRIAGA, JUAN           ADDRESS ON FILE
ECHEVERRIA REYES, DANIEL           ADDRESS ON FILE
ECHEVERRIARODRIGUEZ, JOSE          ADDRESS ON FILE
ECHO ELECTRICAL ENGINEERING, INC   HC 66 BOX 9450                                                                                         FAJARDO         PR      00738‐9266
ECHOVANT INC.                      MSC # 628‐89 AVE DE DIEGO           SUITE 105                                                          SAN JUAN        PR      00927
ECKBERG MD , PETER H               ADDRESS ON FILE
ECKERT DUCHESNE, JAMES             ADDRESS ON FILE
ECKERT DUCHESNE, LARRY             ADDRESS ON FILE
ECLECTICO INTL INC                 URB JARDINES DE CAPARRA             H 14 CALLE 15                                                      BAYAMON         PR      00959
ECLIPTICA CORP                     601 CALLE MIRAMAR STE 2A                                                                               SAN JUAN        PR      00907
ECLR BAKERY                        PO BOX 248                                                                                             RINCON          PR      00677
ECM TRANSPORT CORP                 PARC NUEVA VIDA                     S15 CALLE FRANCISCO LUGO                                           PONCE           PR      00728‐6793
ECMIN Z OTERO PADRO                ADDRESS ON FILE
ECO ELECTRICA L P                  PLAZA SCOTIABANK                    273 PONCE DE LEON SUITE 902                                        SAN JUAN        PR      00918
ECO GREEN RECYCLE CORP             PO BOX 1158                                                                                            SABANA SECA     PR      00952
ECO PROCESS CORP                   PMB 144                             405 AVE ESMERALDA                                                  GUAYNABO        PR      00969
ECO PROCESS CORPORATION            PMB 144 ESMERALDA AVR 405 SUITE 2                                                                      GUAYNABO        PR      00969




                                                                                                     Page 2449 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2450 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                 Address2                                     Address3               Address4             City              State   PostalCode   Country
ECO SOLUTION MANAGEMENT                  500 CAMINO LOS PIZARROS APT 56                                                                                                    SAN JUAN          PR      00926‐7239
ECO SPECTRUUM TECHNOLOGIES CORP          GPO BOX 366366                                                                                                                    SAN JUAN          PR      00936‐6366
ECO WATER SYSTEM CORP.                   CALLE ACUARELA #1                        SUITE 203                                    URB. MUNOZ RIVERA                           GUAYNABO          PR      00969‐3518
ECOAVENTURAS INC                         PO BOX 3220                                                                                                                       JUNCOS            PR      00777‐6220
ECOEXPLORATORIO, INC                     D1 CALLE ARTURO RIVERA                   GARDEN HILLS                                                                             GUAYNABO          PR      00966
ECOEXPLORATORIO, INC                     PO BOX 2803                                                                                                                       GUAYNABO          PR      00969‐2803
ECOGUARD GENERAL CONTRACTOR INC          HC 5 BOX 58738                                                                                                                    HATILLO           PR      00659
ECOHCS INC                               898 AVE MUNOZ RIVERA                     OFIC 303                                                                                 SAN JUAN          PR      00927
ECOHCS, INC                              HYDE PARK                                CALLE FLANBOYAN 219                                                                      SAN JUAN          PR      00927
ECOIMAGENES DE PUERTO RICO CORP          PO BOX 1842                                                                                                                       MOCA              PR      00676
ECOJURIS PSC                             URB ROUNDHILLS                           185 CALLE GARDENIA                                                                       TRUJILLO ALTO     PR      00976
ECOLAB MANUFACTURING CORPORATION         P. O. BOX 1354                                                                                                                    DORADO            PR      00646‐0000
ECOLAB MANUFACTURING INC                 CALL BOX 1354                                                                                                                     DORADO            PR      00646‐1354
ECOLAB MANUFACTURING INC                 CALL BOX 60‐7086                                                                                                                  BAYAMON           PR      00960
ECOLASTICO DIAZ MORALES                  URB VILLA SAN ANTON                      L 11 CALLE FLORENTINO ROMAN                                                              CAROLINA          PR      00987
                                                                                                                                                      AVE. Ponce DE LEÓN
ECOLIFT                                  LCDA. INEABELLE SANTIAGO CAMACHO          REICHARD & ESCALERA                         MCS PLAZA SUITE 1000   #255                 HATO REY          PR      00918
ECOLIFT CORP.                            PO BOX 9477                                                                                                                       SAN JUAN          PR      00908
ECOLIFT CORPORATION                      PO BOX 9477                                                                                                                       SAN JUAN          PR      00908
ECOLOGIC PR INC                          HC 02 BOX 9008                                                                                                                    QUEBRADILLAS      PR      00678
ECOLOGIC PR RECLYCLING INC               HCO2 BOX 9008                                                                                                                     QUEBRADILLAS      PR      00678
ECOLOGICA CARMELO INC                    PO BOX 1052 STA                                                                                                                   SABANA SECA       PR      00952
ECOLOGICA CARMELO INC                    PO BOX 1052                                                                                                                       SABANA SECA       PR      00952‐1052
ECOMUSICLAJE INC                         CAROLINA ALTA                             F 25 NATIVIDAD LANDRAU                                                                  CAROLINA          PR      00987
ECONET SOLUCIONES AMBIENTALES CORP       352 CALLE SAN CLAUDIO STE 1 PMB 360                                                                                               SAN JUAN          PR      00926‐4144
ECONO CIGARS CORP.                       LCDO. RAUL VARANDELA (DEMANDANTE)         PO BOX 194371                                                                           SAN JUAN          PR      00919‐4371
ECONO CIGARS CORP.                       LCDO. ROBERTO VARGAS (DEMANDADO Y DEMA PO BOX 4518                                                                                CAROLINA          PR      00984‐4518
ECONO COPIAS                             PO BOX 190790                                                                                                                     SAN JUAN          PR      00936‐0790
ECONO FACUNDO                            APT. 191809                                                                                                                       HATO REY          PR      00919‐1809
ECONO LAS PIEDRAS                        ADDRESS ON FILE
ECONO PIEZAS AUTO PARTS                  PO BOX 4096                                                                                                                       NARANJITO         PR      00719‐9796
ECONO TOOLS                              AVE. F D ROOSEVELT 1131                   PUERTO NUEVO                                                                            SAN JUAN          PR      00920
ECONO TOOLS INC                          SAN JUAN                                  URB PUERTO NUEVO                                                                        SAN JUAN          PR      00920
ECONOANALITICA INC                       310 AVE DE DIEGO APARTADO 802                                                                                                     SAN JUAN          PR      00909
ECONOCARIBE CONSOLIDATORS INC            P O BOX 50154                                                                                                                     TOA BAJA          PR      00950‐0154
ECONOMETRIC AND STATISTICS RESEARCH INC UPR STATION                                PO BOX 21758                                                                            SAN JUAN          PR      00931
ECONOMETRICA INC.                        LA CUMBRE                                 SUITE 81 AVE. E. POLL 497                                                               RIO PIEDRAS       PR      00925
ECONOMETRICA INC.                        SUITE 81 AVE E. POLL 497                  LA CUMBRE                                                                               RIO PIEDRAS       PR      00926
ECONOMETRICS AND STATISTICS RESEARCH INC 74 PLAZA DEL PINO                         PARQUE DEL RIO ENCANTADA                                                                TRUJILLO ALTO     PR      00976
Economic and Statistics Administrations  Attn: Brad Burke                          1401 Constitution Ave., NW                                                              Washington        DC      20230
Economic and Statistics Administrations  Brad Burke                                1401 Constitution Ave., NW                                                              Washington        DC      20230
ECONOMIC AUTO PART                       HC 1 BOX 5996                                                                                                                     AGUAS BUENAS      PR      00703
ECONOMIC CONSTRUCTION CORP               P O BOX 360417                                                                                                                    SAN JUAN          PR      00936‐0417
ECONOMICO DISTRIBUTOR                    HC 02 Box 8047                                                                                                                    Santa Isabel      PR      00757
ECONOMICO DISTRIBUTORS                   HC 01 BOX 8047                                                                                                                    SANTA ISABEL      PR      00757‐9775
ECONOMICO DISTRIBUTORS                   HC 02 BOX 8047                                                                                                                    SANTA ISABEL      PR      00757‐9775
ECONOMY PRESS LLC                        PO BOX 364983                                                                                                                     SAN JUAN          PR      00936‐4983
ECONOMY PRESS, LLC                       URB. ESTANCIA DE TORRIMAR                 CALLE CAOBA #67                                                                         GUAYNABO          PR      00966
ECONOMY PRESS, LLC                       URB. ESTANCIAS DE TORRIMAR CALLE CAOBA #67                                                                                        GUAYNABO          PR      00966‐0000
ECONTACT SOLUTIONS CORP                  URB LA CUMBRE                             273 CALLE SIERRA MORENA PMB 127                                                         SAN JUAN          PR      00926
E‐CONTACT SOLUTIONS CORP                 39 FRANCES STREET STE 505                                                                                                         GUAYNABO          PR      00968
ECORECURSOS COMUNITARIOS INC             P O BOX 686                                                                                                                       CAGUAS            PR      00726‐0686
ECOSMART US, LLC                         3315 NW 167TH ST                                                                                                                  MIAMI GARDENS     FL      33056
ECOSS INC                                RR 36 BOX 1430                                                                                                                    SAN JUAN          PR      00926
ECOSTAHLIA CONSULTORES AMBIENTALES       CAPARRA HEIGHTS STATION                   PO BOX 11613                                                                            SAN JUAN          PR      00922‐1613
ECOWORDS LLC                             COND MONTE DE LOS FRAILES                 APT 616 UNIDAD 7                                                                        GUAYNABO          PR      00971
ECOWORDS, LLC                            COND MONTE DE LOS FRAILES                 APTO. 616                                                                               GUAYNABO          PR      00971
ECP DISTRIBUTORS INC                     P O BOX 364501                                                                                                                    SAN JUAN          PR      00936‐4501
ECR CONSULTING P S C                     COND VILLAS DE GUAYNABO                   BETANCES #52                                                                            GUAYNABO          PR      00969
ECR CONSULTING PSC                       COND VILLAS DE GUAYNABO                   52 BETANCE BOX 14                                                                       GUAYNABO          PR      00969




                                                                                                                Page 2450 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2451 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                         Address1                      Address2                                  Address3   Address4   City               State   PostalCode   Country
ECR TRANSPORT INC.                    CARR. 865 KM 3.2 CANDELARIA                                                                   TOA BAJA           PR      00949
ECR TRANSPORT INC.                    PO BOX 2793                                                                                   BAYAMON            PR      00960‐2793
ECS BIOMEDICAL, INC.                  CALLE ESTANCION 1‐BPMB 46                                                                     VEGA ALTA          PR      00692
ECS CORP                              PARQ LOS ALMENDROS 1          620 CALLE LADY DI APT 21                                        PONCE              PR      00716‐3547
ECUTEC INC                            P O BOX 16552                 CONDADO                                                         SAN JUAN           PR      00908
ECXER QUINONES HERNANDEZ              ADDRESS ON FILE
E‐CYCLING PR INC                      PO BOX 8830                                                                                   HUMACAO            PR      00792‐8830
E‐CYCLING PUERTO RICO INC             PO BOX 8830                                                                                   HUMACAO            PR      00792‐8830
ED ‐ G CLEANING SERVICES              PO BOX 684                                                                                    PUNTA SANTIAGO     PR      00741‐0684
ED DE JESUS RIVERA                    ADDRESS ON FILE
ED DE JESUS RIVERA                    ADDRESS ON FILE
ED DE JESUS RIVERA                    ADDRESS ON FILE
ED LUS CORP                           HC 3 BOX 9557                                                                                 VILLALBA           PR      00766‐9016
ED MASTER GROUP INC                   PO BOX 1965                                                                                   LUQUILLO           PR      00773‐1965
ED MEDIA PARTNERSHIP                  PMB 291                       35 JUAN C BORBON STE 67                                         GUAYNABO           PR      00969‐5375
ED SALDANA ZAMBRANA                   ADDRESS ON FILE
ED WIN GENERAL CONTRACTOR, CORP       PO BOX 8109                                                                                   HUMACAO            PR      00792‐8109
EDA FERNANDEZ COLLAZO                 ADDRESS ON FILE
EDA JIMENEZ ORTIZ                     ADDRESS ON FILE
EDA L SANCHEZ CARRERAS                ADDRESS ON FILE
EDA LEON RODRIGUEZ                    ADDRESS ON FILE
EDA M SANDIN QUIJANO                  ADDRESS ON FILE
EDA MARIEL AYALA MORALES              ADDRESS ON FILE
EDA MARIEL AYALA MORALES              ADDRESS ON FILE
EDA NOGUERAS CAMACHO                  ADDRESS ON FILE
EDA PIZARRO HANCE                     ADDRESS ON FILE
EDAINA MORALES TAPIA                  ADDRESS ON FILE
EDALIA PEREZ ARROYO                   ADDRESS ON FILE
EDALISSE OJEDA RIVERA                 ADDRESS ON FILE
EDALISSE REYES FERNANDEZ              ADDRESS ON FILE
EDALIZ FERRER QUINONES                ADDRESS ON FILE
EDALIZ SANTIAGO LOPEZ                 ADDRESS ON FILE
EDAM B ALVARADO                       ADDRESS ON FILE
EDAMIRNA DE JESUS ARNAU               ADDRESS ON FILE
EDBERTO MORALES ROLON                 ADDRESS ON FILE
EDCOUNT, INC.                         5335 WISCONSIN AVE. NW        SUITE 440                                                       WASHINGTON         DC      20015
EDDA A PIZARRO LASANTA                ADDRESS ON FILE
EDDA BOCANEGRA Y VICTOR ENCARNACION   ADDRESS ON FILE
EDDA C GONZALEZ VELEZ                 ADDRESS ON FILE
EDDA C PICON ARZOLA                   ADDRESS ON FILE
EDDA DIAZ DE ECHEVARRIA               ADDRESS ON FILE
EDDA E PARES MOTERO                   ADDRESS ON FILE
EDDA E. FRANCESSCHINI GONZALEZ        GENOVEVA VALENTÍN SOTO        PO BOX 13695                                                    SAN JUAN           PR      00908‐3695
EDDA ECHANDY LOPEZ                    ADDRESS ON FILE
EDDA ENID GONZALEZ MALDONADO          ADDRESS ON FILE
EDDA GARCIA RODRIGUEZ                 ADDRESS ON FILE
EDDA GARCIA RODRIGUEZ                 ADDRESS ON FILE
EDDA I ROSARIO RAMOS                  ADDRESS ON FILE
EDDA I SANTIAGO RODRIGUEZ             ADDRESS ON FILE
EDDA IVETTE SANTIAGO RODRIGUEZ        ADDRESS ON FILE
EDDA L NEGRON BONILLA                 ADDRESS ON FILE
EDDA LIS MARTINEZ CALEZ               ADDRESS ON FILE
EDDA LUZ SAMPAYO CARAMBOT             ADDRESS ON FILE
EDDA M AGUIRRE SANTOS                 ADDRESS ON FILE
EDDA M BRASCHI CEDO                   ADDRESS ON FILE
EDDA M CRUZ ECHEVARRIA                ADDRESS ON FILE
EDDA M HERNANDEZ                      ADDRESS ON FILE
EDDA MALDONADO CARTAGENA              ADDRESS ON FILE
EDDA N ALBINO FONSECA                 ADDRESS ON FILE
EDDA QUINTERO CUCURELLA               ADDRESS ON FILE




                                                                                               Page 2451 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2452 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                            Address1                        Address2                                   Address3         Address4   City         State   PostalCode   Country
EDDA RIVERA RIVERA                       ADDRESS ON FILE
EDDA RIVERA VALENTIN                     ADDRESS ON FILE
EDDER GONZALEZ ACOSTA                    ADDRESS ON FILE
                                                                                                                    1353 AVE. LUIS
EDDIA CARMONA PRESTÓN Y OTROS DEPARTAM LCDA. YARLENE JIMÉNEZ ROSARIO     PMB 133                                    VIGOREAUX                   GUAYNABO     PR      00966‐2700
EDDIA GERALDYN CARMONA PRESTON             ADDRESS ON FILE
EDDIBER J BORGES ORTIZ                     ADDRESS ON FILE
EDDID N SILVA RETEGUIS                     ADDRESS ON FILE
EDDIE A ADORNO BAEZ                        ADDRESS ON FILE
EDDIE A CLAUDIO LOPEZ                      ADDRESS ON FILE
EDDIE A COSS RIVERA                        ADDRESS ON FILE
EDDIE A GARCIA FUENTES                     ADDRESS ON FILE
EDDIE A GARCIA FUENTES                     ADDRESS ON FILE
EDDIE A GONZALEZ MALAVE                    ADDRESS ON FILE
EDDIE A LUGO ESPINOSA                      ADDRESS ON FILE
EDDIE A MATOS RIVERA                       ADDRESS ON FILE
EDDIE A MORALES GONZALEZ                   ADDRESS ON FILE
EDDIE A PENA SANTIAGO                      ADDRESS ON FILE
EDDIE A RIVERA DELGADO                     ADDRESS ON FILE
EDDIE A SANCHEZ SERRANO                    ADDRESS ON FILE
EDDIE A SANTIAGO CRUZ                      ADDRESS ON FILE
EDDIE A SANTIAGO CRUZ                      ADDRESS ON FILE
EDDIE A SANTIAGO JIMENEZ                   ADDRESS ON FILE
EDDIE A VELAZQUEZ VENTURA                  ADDRESS ON FILE
Eddie A. Nazario Pardo                     ADDRESS ON FILE
EDDIE A. NAZARIO PARDO                     ADDRESS ON FILE
EDDIE A. SANTINI SANTIAGO                  ADDRESS ON FILE
EDDIE ALBERTO HERNANDEZ ROSARIO            ADDRESS ON FILE
EDDIE ALEXIS VAZQUEZ MUNIZ                 ADDRESS ON FILE
EDDIE ALICEA GALARZA                       ADDRESS ON FILE
EDDIE B. SANTIAGO DEL VALLE, SANDRA RIVERA LCDO. HAROLD RIVERA VAZQUEZ   #2 PORTICOS DE VENUS 750 CALLE PIEDRAS NEGRAS                          SAN JUAN     PR      00926
EDDIE B. SANTIAGO DEL VALLE, SANDRA RIVERA LCDO. PETER MILLER            154 CALLE RAFAEL CORDERO PH‐1                                          SAN JUAN     PR      00901‐1640
EDDIE BARBOSA FELICIANO                    ADDRESS ON FILE
EDDIE BENITEZ JIMENEZ                      ADDRESS ON FILE
EDDIE BERRIOS ROBLES                       ADDRESS ON FILE
EDDIE BURGOS/DAISY BURGOS/GERARDO BURGOADDRESS ON FILE
EDDIE CAMACHO ALERS                        ADDRESS ON FILE
EDDIE CANCEL RIVERA                        ADDRESS ON FILE
EDDIE CARABALLO CARABALLO                  ADDRESS ON FILE
EDDIE CASTRO, MINERVA                      ADDRESS ON FILE
EDDIE CHRISTOPHER ERAZO                    ADDRESS ON FILE
EDDIE CORDERO CHAPARRO                     ADDRESS ON FILE
EDDIE CORDERO MARTINEZ                     ADDRESS ON FILE
EDDIE COSS MARTINEZ                        ADDRESS ON FILE
EDDIE CRESPO VALENTIN/ ENERGIA Y SOL PR    ADDRESS ON FILE
EDDIE CRUZ MARCIAL                         ADDRESS ON FILE
EDDIE CRUZ RODRIGUEZ                       ADDRESS ON FILE
EDDIE D. PAGAN RODRIGUEZ                   ADDRESS ON FILE
EDDIE DAVILA MARRERO                       ADDRESS ON FILE
EDDIE DIAZ LOPEZ                           ADDRESS ON FILE
EDDIE DIAZ RIVERA                          ADDRESS ON FILE
EDDIE E AVILES PEDROZA                     ADDRESS ON FILE
EDDIE E IRIZARRY ACEVEDO                   ADDRESS ON FILE
EDDIE E JIMENEZ ORTIZ                      ADDRESS ON FILE
EDDIE E LOZADA RIVERA                      ADDRESS ON FILE
EDDIE E NEGRON CASIANO                     ADDRESS ON FILE
EDDIE E TORRES MARTINEZ                    ADDRESS ON FILE
EDDIE ERNESTO BARRETO SALGADO              ADDRESS ON FILE
EDDIE ESPIET RIVERA                        ADDRESS ON FILE
EDDIE FIGUEROA MIRANDA                     ADDRESS ON FILE




                                                                                                     Page 2452 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2453 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                             Address1                       Address2                            Address3   Address4        City          State   PostalCode   Country
EDDIE FLORES DE JESUS                     ADDRESS ON FILE
EDDIE FLORES FERNANDEZ                    ADDRESS ON FILE
EDDIE FLORRES DE JESUS                    ADDRESS ON FILE
EDDIE FUENTES GALARZA                     ADDRESS ON FILE
EDDIE GONZALEZ COLON                      ADDRESS ON FILE
EDDIE GONZALEZ FRANCO                     ADDRESS ON FILE
EDDIE GONZALEZ NUNEZ                      ADDRESS ON FILE
Eddie Gonzalez Salgado                    ADDRESS ON FILE
EDDIE GONZALEZ VARGAS                     ADDRESS ON FILE
EDDIE H DIAZ COLON                        ADDRESS ON FILE
EDDIE HERNANDEZ MUNIZ                     ADDRESS ON FILE
EDDIE I ROSA SANTORY                      ADDRESS ON FILE
EDDIE INESTA QUINONES                     ADDRESS ON FILE
EDDIE IVAN ROSA SANTORY                   ADDRESS ON FILE
EDDIE J FONSECA CINTRON                   ADDRESS ON FILE
EDDIE J FUENTES MOLINA                    ADDRESS ON FILE
EDDIE J GONZALEZ MORALES                  ADDRESS ON FILE
EDDIE J GONZALEZ QUILES                   ADDRESS ON FILE
EDDIE J HERNANDEZ FLORES                  ADDRESS ON FILE
EDDIE J JIMENEZ MEDINA                    ADDRESS ON FILE
EDDIE J MORALES RODRIGUEZ                 ADDRESS ON FILE
EDDIE J ROLON REYES                       ADDRESS ON FILE
EDDIE J RUIZ CRUZ                         ADDRESS ON FILE
EDDIE J SAGARDIA MELENDEZ                 ADDRESS ON FILE
EDDIE J TORO MORALES                      ADDRESS ON FILE
EDDIE JAVIER RIVERA RAMOS                 ADDRESS ON FILE
EDDIE JIMENEZ MOJICA                      ADDRESS ON FILE
EDDIE JURADO RIVERA                       ADDRESS ON FILE
EDDIE L SANCHEZ Y LILLIAN BARRETO PEREZ   ADDRESS ON FILE
EDDIE LEON RODRIGUEZ                      ADDRESS ON FILE
EDDIE LLANOS HANCE                        ADDRESS ON FILE
EDDIE LOPEZ ALONSO                        ADDRESS ON FILE
EDDIE LOPEZ RAMOS                         ADDRESS ON FILE
EDDIE LOPEZ VELEZ Y EILLEN OTERO PABON    ADDRESS ON FILE
EDDIE LOZANO LOPEZ                        ADDRESS ON FILE
EDDIE M CRUZ DEL VALLE                    ADDRESS ON FILE
EDDIE M DEL VALLE                         ADDRESS ON FILE
EDDIE M GARCIA TORRES                     ADDRESS ON FILE
EDDIE M GONZALEZ IBANEZ                   ADDRESS ON FILE
EDDIE M RUIZ IRIZARRY                     ADDRESS ON FILE
EDDIE MALDONADO ECHEVARRIA                ADDRESS ON FILE
EDDIE MARTINEZ ABRAHAM                    ADDRESS ON FILE
EDDIE MARTINEZ MONTANEZ                   ADDRESS ON FILE
EDDIE MARTINEZ SANTIAGO                   ADDRESS ON FILE
EDDIE MORALES CARDONA                     ADDRESS ON FILE
EDDIE MORENO MARTINEZ                     ADDRESS ON FILE
EDDIE N ACEVEDO ORMA                      ADDRESS ON FILE
EDDIE N HERNANDEZ CUBERO                  ADDRESS ON FILE
EDDIE N LORENZO NIEVES                    ADDRESS ON FILE
EDDIE N MONTANEZ LOPEZ                    ADDRESS ON FILE
EDDIE N PENA ALEMAN                       ADDRESS ON FILE
EDDIE N RIO GUILLET                       ADDRESS ON FILE
EDDIE N RIVERA ACEVEDO                    ADDRESS ON FILE
EDDIE N SOTO FELICIANO                    ADDRESS ON FILE
EDDIE N VILLANUEVA CORTES                 ADDRESS ON FILE
EDDIE NEGRON LEAL                         ADDRESS ON FILE
EDDIE NIEVES HERNANDEZ                    A) LCDA. CONCEPCIÓN GONZÁLEZ   PO BOX 250116                                                  AGUADILLA     PR      00604‐0116
EDDIE NIEVES HERNANDEZ                    LCDA. MARIANA GARCÍA GARCÍA    E. UMPIERRE‐SUÁREZ                  C.S.P.     PO BOX 365003   SAN JUAN      PR      00936‐5003
EDDIE NIEVES SANTIAGO                     ADDRESS ON FILE
EDDIE NUNEZ ACEVEDO                       ADDRESS ON FILE




                                                                                              Page 2453 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2454 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                   Address2                        Address3   Address4   City              State   PostalCode   Country
EDDIE O CARBO FUENTES            ADDRESS ON FILE
EDDIE O VELEZ VIROLA             ADDRESS ON FILE
EDDIE OCASIO ESPARRA             ADDRESS ON FILE
EDDIE OCASIO GONZALEZ            ADDRESS ON FILE
EDDIE OLMEDO ANGUEIRA            ADDRESS ON FILE
EDDIE ORTIZ GARCIA               ADDRESS ON FILE
EDDIE ORTIZ GUZMAN               ADDRESS ON FILE
EDDIE OSORIO GARCIA              ADDRESS ON FILE
EDDIE PAGÁN RAMOS                LCDO. ALAÍN TORRES RUANO   PO BOX 693                                            SABANA GRANDE     PR      00637‐0963
EDDIE PEREZ PEREZ                ADDRESS ON FILE
EDDIE QUESTELL FIGUEROA          ADDRESS ON FILE
EDDIE R PEDROZA RIVERA           ADDRESS ON FILE
EDDIE R PEDROZA RIVERA           ADDRESS ON FILE
EDDIE R RIVERA SERRANO           ADDRESS ON FILE
EDDIE RAMIREZ PENA               ADDRESS ON FILE
EDDIE RAMOS GARRIGA              ADDRESS ON FILE
EDDIE RIVERA APONTE              ADDRESS ON FILE
EDDIE RIVERA CANCEL              ADDRESS ON FILE
EDDIE RIVERA DAVILA              ADDRESS ON FILE
EDDIE RIVERA MORALES             ADDRESS ON FILE
EDDIE RIVERA OSORIO              ADDRESS ON FILE
EDDIE RIVERA QUINONES            ADDRESS ON FILE
EDDIE RIVERO RODRIGUEZ           ADDRESS ON FILE
EDDIE RODRIGUEZ COLON            ADDRESS ON FILE
EDDIE RODRIGUEZ DIAZ             ADDRESS ON FILE
EDDIE RODRIGUEZ RIVERA           ADDRESS ON FILE
EDDIE RODRIGUEZ SOTO             ADDRESS ON FILE
EDDIE RODRIGUEZ VALE             ADDRESS ON FILE
EDDIE RODRIGUEZ VALE             ADDRESS ON FILE
EDDIE RUIZ DE JESUS              ADDRESS ON FILE
EDDIE S NUNEZ PEREZ              ADDRESS ON FILE
EDDIE S VELEZ                    ADDRESS ON FILE
EDDIE SALCEDO MADERA             ADDRESS ON FILE
EDDIE SALGADO CLASS              ADDRESS ON FILE
EDDIE SAMIR VARGAS SANTANA       ADDRESS ON FILE
EDDIE SANCHEZ CLASS              ADDRESS ON FILE
EDDIE SANTIAGO BURGOS            ADDRESS ON FILE
EDDIE SANTIAGO MARTINEZ          ADDRESS ON FILE
EDDIE SANTOS DOMINGO HERNANDEZ   ADDRESS ON FILE
EDDIE SOTO MUNOZ                 ADDRESS ON FILE
EDDIE SOTO SOTO                  ADDRESS ON FILE
EDDIE SUAREZ CRUZ                ADDRESS ON FILE
EDDIE TORRES RIVERA              ADDRESS ON FILE
EDDIE TRAVIESO ALBELO            ADDRESS ON FILE
EDDIE V LAUREANO QUINONEZ        ADDRESS ON FILE
EDDIE VARGAS AYALA               ADDRESS ON FILE
EDDIE VARGAS SANCHEZ             ADDRESS ON FILE
EDDIE VEGA                       LCDO. SALVADOR LUGO DÍAZ   PO BOX 10007                    STE 445               GUAYAMA           PR      00785
EDDIE VEGA BONILLA               ADDRESS ON FILE
EDDIE VELAZQUEZ                  ADDRESS ON FILE
EDDIE VELAZQUEZ SANABRIA         ADDRESS ON FILE
EDDIE VELEZ MORALES              ADDRESS ON FILE
EDDIE VELEZ TORRES               ADDRESS ON FILE
EDDIE VICENTE RIVERA             ADDRESS ON FILE
EDDIE VIDAL MORAN                ADDRESS ON FILE
EDDIE VISION INC                 7445 MINNOW BROOK WAY                                                            LAND O LAKES      FL      34637
EDDIE W MILLAN RIVERA            ADDRESS ON FILE
EDDIE W PADILLA MARTINEZ         ADDRESS ON FILE
EDDIE Y. RODRIGUEZ RIVERA        ADDRESS ON FILE
EDDIE ZAYAS BERDECIA             ADDRESS ON FILE




                                                                             Page 2454 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2455 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                      Address1                  Address2                            Address3   Address4   City         State   PostalCode   Country
EDDIEBERTO BERDECIA CARTAGENA      ADDRESS ON FILE
EDDIEMARIE RAMOS OPIO              ADDRESS ON FILE
EDDIEN R RESTO VAZQUEZ             ADDRESS ON FILE
EDDIEN SANTOS NIEVES               ADDRESS ON FILE
EDDIL R ROSARIO LEON               ADDRESS ON FILE
EDDY A GUERRERO                    ADDRESS ON FILE
EDDY F CESPEDES VELEZ              ADDRESS ON FILE
EDDY FORTOUL CAVICCHIONI           ADDRESS ON FILE
EDDY GALARZA GARCIA                ADDRESS ON FILE
EDDY GARCIA DOLEO                  ADDRESS ON FILE
EDDY L DIAZ VALERO                 ADDRESS ON FILE
EDDY L ROMAN MALDONADO             ADDRESS ON FILE
EDDY MORALES ‐ GRAPHIC ARTIST      PO BOX 1123                                                                         AGUADA       PR      00602
EDDY PARTY CENTER                  6 CALLE PALMER                                                                      BAYAMON      PR      00961
EDDY PIMENTEL Y MARITZA CANTO      ADDRESS ON FILE
EDDY R. COLON RIVERA               ADDRESS ON FILE
EDDY S OJEDA UBIERA                ADDRESS ON FILE
EDDY SANCHEZ HERNANDEZ             ADDRESS ON FILE
EDDY SANCHEZ HERNANDEZ             ADDRESS ON FILE
EDDY SANCHEZ MEDINA                ADDRESS ON FILE
EDDYBERTO TORRES RAMOS             ADDRESS ON FILE
EDDYMAR HUERTAS NAVARRO            ADDRESS ON FILE
EDDYSON NAVARRO HUERTAS            ADDRESS ON FILE
EDE‐COOP                           PO BOX 11359              CAPARRA HEIGHT STA                                        SAN JUAN     PR      00922‐1359
EDEL A MIKELL CHAPARRO             ADDRESS ON FILE
EDEL A MIKELL CHAPARRO             ADDRESS ON FILE
EDEL DIAZ VAZQUEZ                  ADDRESS ON FILE
EDEL GUZMAN CORTES                 ADDRESS ON FILE
EDEL W VALDES VEGA                 ADDRESS ON FILE
EDELGARDA CASTRO VEGA              ADDRESS ON FILE
EDELISA MORALES RODRIGUEZ          ADDRESS ON FILE
EDELLY A COLON COLLAZO             ADDRESS ON FILE
EDELMIRA CORTES TORRES             ADDRESS ON FILE
EDELMIRA GONZALEZ RODRIGUEZ        ADDRESS ON FILE
EDELMIRA GUTIERREZ DE PEDRO        ADDRESS ON FILE
EDELMIRA MONTALVO MARTIR           ADDRESS ON FILE
EDELMIRA ORTIZ SANTIAGO            ADDRESS ON FILE
EDELMIRA PAYANO ROMERO             ADDRESS ON FILE
EDELMIRO GALARZA SANTIAGO          ADDRESS ON FILE
EDELMIRO LOPEZ DIAZ                ADDRESS ON FILE
EDELMIRO MANZANO OTERO             ADDRESS ON FILE
EDELMIRO PLAZA PADUA               ADDRESS ON FILE
EDELMIRO RODRIGUEZ VELEZ           ADDRESS ON FILE
EDELMIRO SALAS GONZALEZ            ADDRESS ON FILE
EDEMAR CONTRACTOR CORP.            PO BOX 1512                                                                         ANASCO       PR      00610
EDEN CARABALLO APELLANIZ           ADDRESS ON FILE
EDEN COLON, ELIZABETH              ADDRESS ON FILE
EDEN E & E INC                     PO BOX 1345 PMB 293                                                                 TOA ALTA     PR      00954
EDENMARIE ALAMA RODRIGUEZ          ADDRESS ON FILE
EDENTON RESOURCE MANAGEMENT, INC   6530 AVE ISLA VERDE                                                                 CAROLINA     PR      00979
EDER E ORTIZ ORTIZ                 ADDRESS ON FILE
EDER E ORTIZ ORTIZ                 ADDRESS ON FILE
EDER M RIVERA RAMOS                ADDRESS ON FILE
EDERICK FALU SANTOS                ADDRESS ON FILE
EDERLINDA RIVERA OQUENDO           ADDRESS ON FILE
EDERSON MD, CHARLES                ADDRESS ON FILE
EDFRA MORENO RIVERA                ADDRESS ON FILE
EDGA TORRES PORRATA                ADDRESS ON FILE
EDGAR A GARCIA ROSADO              ADDRESS ON FILE
EDGAR A MORALES                    ADDRESS ON FILE




                                                                                  Page 2455 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2456 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                           Address1                        Address2                                    Address3         Address4        City              State   PostalCode   Country
EDGAR A QUINONES                        ADDRESS ON FILE
EDGAR A QUINONES                        ADDRESS ON FILE
EDGAR A RAMOS HUERTAS                   ADDRESS ON FILE
EDGAR A RIVERA VALLE                    ADDRESS ON FILE
EDGAR A ROJAS CIFUENTES                 ADDRESS ON FILE
EDGAR A SANTIAGO                        ADDRESS ON FILE
EDGAR A SANTIAGO HICIANO                ADDRESS ON FILE
EDGAR A SOTO ROSA                       ADDRESS ON FILE
EDGAR A TORRES PAGAN                    ADDRESS ON FILE
EDGAR A VEGA SANCHEZ                    ADDRESS ON FILE
EDGAR A VEGA SANCHEZ                    ADDRESS ON FILE
EDGAR A. CRUZ ORTIZ                     ADDRESS ON FILE
EDGAR A. REYES                          ADDRESS ON FILE
EDGAR A. RODRIGUEZ JOA                  ADDRESS ON FILE
EDGAR A. RUIZ GÓMEZ                     LCDO. CESAR LUGO
EDGAR ACEVEDO / ABDIEL A ROSAS          ADDRESS ON FILE
EDGAR ACEVEDO TORRES                    ADDRESS ON FILE
EDGAR ACOSTA/ARNOLD ACOSTA /KEVIN ACOST ADDRESS ON FILE
EDGAR ADAMES CARDONA                    ADDRESS ON FILE
EDGAR AGOSTO RODRIGUEZ                  ADDRESS ON FILE
EDGAR ALICEA RIOS                       ADDRESS ON FILE
EDGAR AVILES AROCHO                     ADDRESS ON FILE
EDGAR AYALA DIAZ                        ADDRESS ON FILE
EDGAR BELTRAN MELECIO                   ADDRESS ON FILE
EDGAR BLANCO SANCHEZ                    ADDRESS ON FILE
EDGAR BONILLA CUEBAS                    ADDRESS ON FILE
EDGAR BONILLA CUEBAS                    ADDRESS ON FILE
EDGAR BONILLA CUEBAS                    ADDRESS ON FILE
EDGAR BRUNO MORALES                     ADDRESS ON FILE
EDGAR C CORTES                          ADDRESS ON FILE
EDGAR C MATOS RIVERA                    ADDRESS ON FILE
EDGAR CABRERA BETANCOURT                PLAZA WESTERN AUTO              PMB 412‐220                                                                  TRUJILLO ALTO     PR      00976
EDGAR CABRERA BETANCOURT                PLAZA WESTERN AUTO SUITE 101    PMB 412‐220                                                                  TRUJILLO ALTO     PR      00976
EDGAR CAMACHO VARGAS                    ADDRESS ON FILE
EDGAR CARRERO                           ADDRESS ON FILE
EDGAR CARTAGENA COLON                   ADDRESS ON FILE
EDGAR CEDENO ROMAN                      ADDRESS ON FILE
EDGAR CHICLANA DEL VALLE                ADDRESS ON FILE
EDGAR COLLAZO MARQUEZ                   ADDRESS ON FILE
EDGAR COLON SANTOS                      ADDRESS ON FILE
EDGAR CORDERO RODRIGUEZ                 ADDRESS ON FILE
EDGAR CORTES ALEJANDRO                  ADDRESS ON FILE
EDGAR CRUZ GARCIA                       ADDRESS ON FILE
EDGAR CUEVAS FERRER                     ADDRESS ON FILE
EDGAR D RODRIGUEZ ACEVEDO               ADDRESS ON FILE
EDGAR DE J COLON ALICEA                 ADDRESS ON FILE
EDGAR DE J COLON ALICEA                 ADDRESS ON FILE
EDGAR DOMENECH MORERA                   ADDRESS ON FILE
EDGAR E DIAZ LEBRON                     ADDRESS ON FILE
EDGAR E GONZALEZ MILAN                  ADDRESS ON FILE
EDGAR E GONZALEZ MILAN                  ADDRESS ON FILE
EDGAR E GONZALEZ MILAN                  ADDRESS ON FILE
EDGAR E LACLE                           ADDRESS ON FILE
EDGAR E MATOS GONZALEZ                  ADDRESS ON FILE
EDGAR E PEREZ SEMPRIT                   ADDRESS ON FILE
EDGAR E ROSARIO TORRES                  ADDRESS ON FILE
EDGAR E SERRANO HERNANDEZ               ADDRESS ON FILE
EDGAR E TORRES ALVARADO                 ADDRESS ON FILE
EDGAR E. OLIVO GARCIA                   DEMANDANTE POR DERECHO PROPIO   INSTITUCIÓN MÁXIMA SEGURIDAD                Ponce: 3793      Ponce BY PASS   PONCE             PR      00728‐1504
EDGAR ECHEVARRIA AVILES                 LCDA. ANA D. CAJIGAS MORALES    LCDA. ANA D. CAJIGAS MORALES                P. O. BOX 2111                   AGUADA            PR      00602‐2111




                                                                                                  Page 2456 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2457 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                           Address1                      Address2                         Address3             Address4   City        State   PostalCode   Country
EDGAR F MAISONET RODRIGUEZ              ADDRESS ON FILE
EDGAR F RIVERA APONTE                   ADDRESS ON FILE
EDGAR FELICIANO MALDONADO               ADDRESS ON FILE
EDGAR FERNANDEZ AVILES                  ADDRESS ON FILE
EDGAR FERNANDEZ LUGO                    ADDRESS ON FILE
EDGAR FIGUEROA PADILLA                  ADDRESS ON FILE
EDGAR G PANTOJA PEREZ                   ADDRESS ON FILE
EDGAR GALARZA TOLLINCHI                 ADDRESS ON FILE
EDGAR GALARZA TOLLINCHI                 ADDRESS ON FILE
EDGAR GALARZA TOLLINCHI Y MARISOL BRUNO ADDRESS ON FILE
EDGAR GALARZA TOLLINCHI Y MARISOL BRUNO ADDRESS ON FILE
EDGAR GALINANES                         ADDRESS ON FILE
EDGAR GARCIA ADORNO                     ADDRESS ON FILE
EDGAR GARCIA COLON                      ADDRESS ON FILE
EDGAR GOMEZ BORRERO                     ADDRESS ON FILE
EDGAR GONZALEZ GONZALEZ                 ADDRESS ON FILE
EDGAR GONZALEZ GUZMAN                   ADDRESS ON FILE
EDGAR GONZALEZ LOPEZ                    ADDRESS ON FILE
EDGAR GONZALEZ SANTANA                  ADDRESS ON FILE
EDGAR GUERRIDO FLORES                   ADDRESS ON FILE
EDGAR GUERRIDO HERNANDEZ                ADDRESS ON FILE
EDGAR H MOLINARIY CRUZ                  ADDRESS ON FILE
EDGAR H. QUILES FERRER                  ADDRESS ON FILE
EDGAR H. SANTOS URLA                    ADDRESS ON FILE
EDGAR HERNANDEZ                         ADDRESS ON FILE
EDGAR HERNANDEZ                         ADDRESS ON FILE
EDGAR HERNANDEZ                         ADDRESS ON FILE
EDGAR HERNANDEZ MONTALVO                ADDRESS ON FILE
EDGAR HERNANDEZ MONTALVO                ADDRESS ON FILE
EDGAR HERNANDEZ PATINO                  ADDRESS ON FILE
EDGAR HIDALGO FIGUEROA                  ADDRESS ON FILE
EDGAR I LAUREANO RIVERA                 ADDRESS ON FILE
EDGAR I. ACOSTA RUIZ                    ADDRESS ON FILE
EDGAR IRIZARRY CASIANO                  ADDRESS ON FILE
EDGAR J CABRERA ORTIZ                   ADDRESS ON FILE
EDGAR J CALDERON ORTIZ                  ADDRESS ON FILE
EDGAR J CENTERO PEREZ                   ADDRESS ON FILE
EDGAR J FIGUEROA NEGRON                 ADDRESS ON FILE
EDGAR J GONZALEZ CRUZ                   ADDRESS ON FILE
EDGAR J JORGE VELEZ                     ADDRESS ON FILE
EDGAR J LAMBOY RIVERA                   ADDRESS ON FILE
EDGAR J LEBRON MARQUEZ                  ADDRESS ON FILE
EDGAR J MALDONAOO RUIZ                  ADDRESS ON FILE
EDGAR J MARTINEZ OLABARRIA/EDGAR J      ADDRESS ON FILE
EDGAR J MELENDEZ PAGAN                  ADDRESS ON FILE
EDGAR J RENOVALES RENTAS                ADDRESS ON FILE
EDGAR J ROSA PADILLA                    ADDRESS ON FILE
EDGAR J SEPULVEDA RIVERA                ADDRESS ON FILE
                                                                                                       47 ESTEBAN PADILLA
EDGAR J. LÓPEZ PABÓN                    MANUEL LUIS MORALES SCHMIDT   URB. SANTA CRUZ                  SUITE 1‐A                       Bayamón     PR      00961
EDGAR JOEL ROSARIO MARRERO              ADDRESS ON FILE
EDGAR JONATHAN VAZQUEZ VARQUEZ          ADDRESS ON FILE
EDGAR JR CABRERA RAMOS                  ADDRESS ON FILE
EDGAR JUAN ORTIZ                        ADDRESS ON FILE
EDGAR L COLON MELENDEZ                  ADDRESS ON FILE
EDGAR L JIMENEZ BURGOS                  ADDRESS ON FILE
EDGAR L RAMOS GUTIERREZ                 ADDRESS ON FILE
EDGAR L SANTIAGO LEBRON                 ADDRESS ON FILE
EDGAR LEE BLANCO TORO                   ADDRESS ON FILE
EDGAR LEON RIVERA                       ADDRESS ON FILE




                                                                                        Page 2457 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2458 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EDGAR LOZADA SOTO                 ADDRESS ON FILE
EDGAR LUIS SANCHEZ MERCADO        ADDRESS ON FILE
EDGAR M ALVAREZ DEL MANZANO       ADDRESS ON FILE
EDGAR M BERRIOS PINEIRO           ADDRESS ON FILE
EDGAR M CRESPO NIEVES             ADDRESS ON FILE
EDGAR M NUNEZ NIEVES              ADDRESS ON FILE
EDGAR M NUNEZ NIEVES              ADDRESS ON FILE
EDGAR M RIVERA VAZQUEZ            ADDRESS ON FILE
EDGAR M RODRIGUEZ VALES           ADDRESS ON FILE
EDGAR M. GONZALEZ LOZADA          ADDRESS ON FILE
EDGAR MARCHANY                    ADDRESS ON FILE
EDGAR MARRERO SANTIAGO            ADDRESS ON FILE
EDGAR MARTÍNEZ APONTE             EDGAR A MARTINEZ APONTE   POBOX 1792                                             ARECIBO      PR      00613‐1792
EDGAR MARTINEZ MELENDEZ           ADDRESS ON FILE
EDGAR MATOS COLON                 ADDRESS ON FILE
EDGAR MATOS SANABRIA              ADDRESS ON FILE
EDGAR MATOS SANABRIA              ADDRESS ON FILE
EDGAR MEDINA MUNOZ                ADDRESS ON FILE
EDGAR MIGUEL TORRES NAZARIO       ADDRESS ON FILE
EDGAR MIRANDA RIVERA              ADDRESS ON FILE
EDGAR MONTALVO FIGUEROA           ADDRESS ON FILE
EDGAR MORALES ANDRADES            ADDRESS ON FILE
EDGAR MORALES AYALA               ADDRESS ON FILE
EDGAR MORALES QUIROS              ADDRESS ON FILE
EDGAR MUNOZ DIAZ                  ADDRESS ON FILE
EDGAR MUNOZ MENDOZA               ADDRESS ON FILE
EDGAR MURRAY ORTIZ                ADDRESS ON FILE
EDGAR N NIEVES FERRER             ADDRESS ON FILE
EDGAR N ROSARIO VAZQUEZ           ADDRESS ON FILE
EDGAR N SANCHEZ VAZQUEZ           ADDRESS ON FILE
EDGAR NEGRON ALVARADO             ADDRESS ON FILE
EDGAR NICOLE PEREZ                ADDRESS ON FILE
EDGAR O CARABALLO GONZALEZ        ADDRESS ON FILE
EDGAR O GARCIA RIOS               ADDRESS ON FILE
EDGAR O MUNOZ DIAZ                ADDRESS ON FILE
EDGAR O RIVERA REYES              ADDRESS ON FILE
EDGAR O RODRIGUEZ ARROYO          ADDRESS ON FILE
EDGAR O SANTANA CAMACHO           ADDRESS ON FILE
EDGAR OLIVERAS RAMIREZ            ADDRESS ON FILE
EDGAR OLIVIERI BEAUCHAMP          ADDRESS ON FILE
EDGAR OLMEDA OLMEDA               ADDRESS ON FILE
EDGAR ORTIZ CINTRON               ADDRESS ON FILE
EDGAR ORTIZ RIVERA                ADDRESS ON FILE
EDGAR PADILLA REYES               ADDRESS ON FILE
EDGAR PADILLA RIVERA              ADDRESS ON FILE
EDGAR PAEZ BETANCES               ADDRESS ON FILE
EDGAR PAGAN MONGE                 ADDRESS ON FILE
EDGAR PARTRICK CORREIA SANTIAGO   ADDRESS ON FILE
EDGAR PAUL MORALES CHEVERES       ADDRESS ON FILE
EDGAR PAUL MORALES CHEVRES        ADDRESS ON FILE
EDGAR PEDRAZA VEGA                ADDRESS ON FILE
EDGAR PENA RAMOS                  ADDRESS ON FILE
EDGAR PERDIGON JIMENEZ            ADDRESS ON FILE
EDGAR PEREZ MARTINEZ              ADDRESS ON FILE
EDGAR PEREZ ZAYAS                 ADDRESS ON FILE
EDGAR POLANCO ORTIZ               ADDRESS ON FILE
EDGAR QUILES RIVERA               ADDRESS ON FILE
EDGAR QUILES Y LUZ I CUBA         ADDRESS ON FILE
EDGAR QUINONES ARROYO             ADDRESS ON FILE
EDGAR QUINONES FIGUEROA           ADDRESS ON FILE




                                                                              Page 2458 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2459 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
EDGAR QUINONEZ MORALES                   ADDRESS ON FILE
EDGAR QUINTERO MALDONADO                 ADDRESS ON FILE
EDGAR QUIRINDONGO ALBINO                 ADDRESS ON FILE
EDGAR QUIRINDONGO MORALES                ADDRESS ON FILE
EDGAR R ACOSTA ORTIZ                     ADDRESS ON FILE
EDGAR R ARROYO DIAZ                      ADDRESS ON FILE
EDGAR R BLANCO PEREZ Y JOCELYN RODRIGUEZ ADDRESS ON FILE
EDGAR R CRESPO BADILLO                   ADDRESS ON FILE
EDGAR R FELICIANO AVILES                 ADDRESS ON FILE
EDGAR R MERCADO SIERRA                   ADDRESS ON FILE
EDGAR R. RIVERA CRUZ                     ADDRESS ON FILE
EDGAR RAMIREZ CAMACHO                    ADDRESS ON FILE
EDGAR RAMIREZ CAMACHO                    ADDRESS ON FILE
EDGAR RAMIREZ TORRES                     ADDRESS ON FILE
EDGAR RAMOS                              ADDRESS ON FILE
EDGAR RAMOS RIVERA                       ADDRESS ON FILE
EDGAR RAMOS VIALIZ                       ADDRESS ON FILE
EDGAR RECART SCHROEDER                   ADDRESS ON FILE
EDGAR REYES ACEVEDO                      ADDRESS ON FILE
EDGAR RIVERA DIAZ                        ADDRESS ON FILE
EDGAR RIVERA MARQUEZ                     ADDRESS ON FILE
EDGAR RIVERA NEGRON                      ADDRESS ON FILE
EDGAR RIVERA OCASIO                      ADDRESS ON FILE
EDGAR RIVERA OCASIO D/B/A SABANA MEDICAL RR‐8 BOX 2099                                                                    BAYAMÓN         PR      00956‐0000
EDGAR RIVERA RODRIGUEZ                   ADDRESS ON FILE
EDGAR RIVERA RODRIGUEZ                   ADDRESS ON FILE
EDGAR RIVERA ROSARIO                     ADDRESS ON FILE
EDGAR RODRIGUEZ DIAZ                     ADDRESS ON FILE
EDGAR RODRIGUEZ DIAZ                     ADDRESS ON FILE
EDGAR RODRIGUEZ GRACIA                   ADDRESS ON FILE
EDGAR RODRIGUEZ MENDEZ                   ADDRESS ON FILE
EDGAR RODRIGUEZ RIVERA                   ADDRESS ON FILE
EDGAR RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
EDGAR RODRIGUEZ TORRES                   ADDRESS ON FILE
EDGAR RODRIGUEZ VAZQUEZ                  ADDRESS ON FILE
EDGAR ROGER                              ADDRESS ON FILE
EDGAR ROLON OTERO                        ADDRESS ON FILE
EDGAR ROMAN NEGRON                       ADDRESS ON FILE
EDGAR ROMERO MUNIZ                       ADDRESS ON FILE
EDGAR ROSADO MUNIZ                       ADDRESS ON FILE
EDGAR ROSAS RIVERA                       ADDRESS ON FILE
EDGAR ROSSI COSME                        ADDRESS ON FILE
EDGAR RUIZ CARDONA                       ADDRESS ON FILE
EDGAR SALAMAN COLON                      ADDRESS ON FILE
EDGAR SANABRIA, INC                      PO BOX 1632                                                                      LAS PIEDRAS     PR      00771‐1632
EDGAR SANCHEZ                            ADDRESS ON FILE
EDGAR SANTIAGO CINTRON                   ADDRESS ON FILE
EDGAR SANTIAGO ROSARIO                   ADDRESS ON FILE
EDGAR SILVA AVILES                       ADDRESS ON FILE
EDGAR SILVA AVILES                       ADDRESS ON FILE
EDGAR SILVESTRY ORTIZ                    ADDRESS ON FILE
EDGAR SOTO HERNANDEZ                     ADDRESS ON FILE
EDGAR SOTO LUGO                          ADDRESS ON FILE
EDGAR SOTO RODRIGUEZ                     ADDRESS ON FILE
EDGAR SOTO SOTO                          ADDRESS ON FILE
EDGAR STELLA Y/O ILEANA TURNER           ADDRESS ON FILE
EDGAR T MORALES GONZALEZ                 ADDRESS ON FILE
EDGAR T MORALES GONZALEZ                 ADDRESS ON FILE
EDGAR TORRES FERNANDEZ                   ADDRESS ON FILE
EDGAR TORRES LOPEZ                       ADDRESS ON FILE




                                                                                     Page 2459 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2460 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                         Address1                        Address2                     Address3   Address4   City        State   PostalCode   Country
EDGAR TORRES LOPEZ                    ADDRESS ON FILE
EDGAR TORRES OLIVERAS                 ADDRESS ON FILE
EDGAR TORRES ORTIZ                    ADDRESS ON FILE
EDGAR TORRES RIVERA                   ADDRESS ON FILE
EDGAR VARGAS LORENZO                  ADDRESS ON FILE
EDGAR VARGAS PAGAN                    ADDRESS ON FILE
EDGAR VAZQUEZ VARGAS                  ADDRESS ON FILE
EDGAR VEGA RIVERA                     ADDRESS ON FILE
EDGAR VIDAL PEREA SANCHEZ             ADDRESS ON FILE
EDGAR VILLAFANE ROSADO                ADDRESS ON FILE
EDGAR Y COLLAZO APONTE                ADDRESS ON FILE
EDGAR Y RANERO MORALES                ADDRESS ON FILE
EDGAR ZABALA GARCIA                   ADDRESS ON FILE
EDGARD A CANDELARIA SOTO              ADDRESS ON FILE
EDGARD A DELGADO RIVERA               ADDRESS ON FILE
EDGARD A TORRES QUESTELL              ADDRESS ON FILE
EDGARD ALEXANDER GARCIA               ADDRESS ON FILE
EDGARD CORDERO VARGAS                 ADDRESS ON FILE
EDGARD CRESPO NAZARIO                 ADDRESS ON FILE
EDGARD CRESPO NAZARIO                 ADDRESS ON FILE
EDGARD DELGADO SERRANO                ADDRESS ON FILE
EDGARD FIGUEROA IRIZARRY              ADDRESS ON FILE
EDGARD G TORRES QUESTELL              ADDRESS ON FILE
EDGARD HERNADEZ DBA SIGNS DESIGNERS   200 SANTA ISIDRA 1              CARR 987                                           FAJARDO     PR      00738
EDGARD INESTA MAS                     ADDRESS ON FILE
EDGARD J GONZALEZ GONZALEZ            ADDRESS ON FILE
EDGARD J HERNANDEZ IRIZARRY           ADDRESS ON FILE
EDGARD J RODRIGUEZ ROSADO             ADDRESS ON FILE
EDGARD J TORRES RIVERA                ADDRESS ON FILE
EDGARD KENT REYES CARTAGENA           ADDRESS ON FILE
EDGARD LEBRON LANDRAU                 ADDRESS ON FILE
EDGARD LEBRON LANDRAU                 ADDRESS ON FILE
EDGARD LORENZO CORA                   ADDRESS ON FILE
EDGARD MARIN                          ADDRESS ON FILE
EDGARD MARIN VAZQUEZ                  ADDRESS ON FILE
EDGARD MARTIN RODRIGUEZ               ADDRESS ON FILE
EDGARD MONTANEZ PAGAN                 ADDRESS ON FILE
EDGARD NEVAREZ HERNANDEZ              ADDRESS ON FILE
EDGARD NIEVES CENTENO                 ADDRESS ON FILE
EDGARD PEREZ CASTRO                   ADDRESS ON FILE
EDGARD R RAMOS MARTINEZ               ADDRESS ON FILE
EDGARD R TORRES MENA                  ADDRESS ON FILE
EDGARD RUIZ WILLIAMS                  ADDRESS ON FILE
EDGARD TORRES KARRY                   ADDRESS ON FILE
EDGARD VEGA RODRIGUEZ                 ADDRESS ON FILE
EDGARDO A COLON MARTINEZ              ADDRESS ON FILE
EDGARDO A DIAZ PEREZ                  ADDRESS ON FILE
EDGARDO A GONZALEZ BORRERO            ADDRESS ON FILE
EDGARDO A HERNANDEZ PONS              ADDRESS ON FILE
EDGARDO A MUNIZ QUINONES              ADDRESS ON FILE
EDGARDO A RAMOS LUCIANO               ADDRESS ON FILE
EDGARDO A RIVERA GARCIA               ADDRESS ON FILE
EDGARDO A RIVERA RIVERA               ADDRESS ON FILE
EDGARDO A RODRIGUEZ LUGO              ADDRESS ON FILE
EDGARDO A RODRIGUEZ MIRANDA           ADDRESS ON FILE
EDGARDO ABREU BAEZ                    ADDRESS ON FILE
EDGARDO ACEVEDO BAYON                 LCDO DIOGENES ALAYON QUINONES   PO BOX 1011                                        AGUADA      PR      00602
EDGARDO AFANADOR NIEVES               ADDRESS ON FILE
EDGARDO AGRAIT BERTRAN                ADDRESS ON FILE
EDGARDO ALICEA SEPULVEDA              ADDRESS ON FILE




                                                                                    Page 2460 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2461 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                          Address1                   Address2                             Address3   Address4   City         State   PostalCode   Country
EDGARDO ALVARADO BURGOS                ADDRESS ON FILE
EDGARDO ANDRE HERNANDEZ CAMACHO /      ADDRESS ON FILE
EDGARDO ANTONIO HERNANDEZ PONS         ADDRESS ON FILE
EDGARDO ARROYO COLON                   ADDRESS ON FILE
EDGARDO ARROYO ORTIZ                   ADDRESS ON FILE
EDGARDO ARROYO ORTIZ                   ADDRESS ON FILE
EDGARDO ARROYO VARGAS                  ADDRESS ON FILE
EDGARDO AUBRAY MARRERO                 ADDRESS ON FILE
EDGARDO AYALA ORTIZ                    ADDRESS ON FILE
EDGARDO AYALA RUIZ                     ADDRESS ON FILE
EDGARDO B GARAYUA TORRES               ADDRESS ON FILE
EDGARDO BADEA HERNANDEZ                ADDRESS ON FILE
EDGARDO BARRETO FIGUEROA               ADDRESS ON FILE
EDGARDO BATIZ RAMIA                    ADDRESS ON FILE
EDGARDO BENITEZ COLON                  ADDRESS ON FILE
EDGARDO BERRIOS RIVERA                 ADDRESS ON FILE
EDGARDO BIRRIEL CALO                   ADDRESS ON FILE
EDGARDO BOBE DBA COMP AND PRINTER SOLUTPARC. CASTILLO             CALLE TORIMAR E ‐ 1                                        MAYAGUEZ     PR      00682
EDGARDO BOFHIL BOCACHICA               ADDRESS ON FILE
EDGARDO BORRAS MEDINA                  ADDRESS ON FILE
EDGARDO BRITO BAEZ                     ADDRESS ON FILE
EDGARDO BURGOS RIVERA                  ADDRESS ON FILE
EDGARDO C DELGADO FIGUEROA             ADDRESS ON FILE
EDGARDO CALDERON                       ADDRESS ON FILE
EDGARDO CALIZ ECHEVARRIA               ADDRESS ON FILE
EDGARDO CARDONA VALENTIN               ADDRESS ON FILE
EDGARDO CARRASQUILLO MARCANO           ADDRESS ON FILE
EDGARDO CARRIL JIMENEZ                 ADDRESS ON FILE
EDGARDO CARTAGENA                      ADDRESS ON FILE
EDGARDO CARTAGENA ALVARADO             ADDRESS ON FILE
EDGARDO CARTAGENA AYALA                ADDRESS ON FILE
EDGARDO CARTAGENA AYALA                ADDRESS ON FILE
EDGARDO CASANOVA RODRIGUEZ             ADDRESS ON FILE
EDGARDO CASIANO ORTIZ                  ADDRESS ON FILE
EDGARDO CASTILLO NIEVES                ADDRESS ON FILE
EDGARDO CASTILLO NIEVES                ADDRESS ON FILE
EDGARDO CASTRO RIVERA                  ADDRESS ON FILE
EDGARDO CENTENO LLOPIZ                 ADDRESS ON FILE
EDGARDO CENTENO SOTO                   ADDRESS ON FILE
EDGARDO CHICO PENA                     ADDRESS ON FILE
EDGARDO CINTRON CINTRON                ADDRESS ON FILE
EDGARDO CINTRON CRUZ                   ADDRESS ON FILE
EDGARDO CINTRON DIAZ                   ADDRESS ON FILE
EDGARDO CINTRON DIAZ                   ADDRESS ON FILE
EDGARDO CINTRON RIVERA                 ADDRESS ON FILE
EDGARDO COLLAZO LEANDRY                ADDRESS ON FILE
EDGARDO COLLAZO LEANDRY                ADDRESS ON FILE
EDGARDO COLON CRUZ                     ADDRESS ON FILE
EDGARDO CORPORAN MARTINEZ              ADDRESS ON FILE
EDGARDO CRUZ CAMACHO                   ADDRESS ON FILE
EDGARDO CRUZ FORTIER                   ADDRESS ON FILE
EDGARDO CRUZ GONZALEZ                  ADDRESS ON FILE
EDGARDO CRUZ PEREZ                     ADDRESS ON FILE
EDGARDO D ROMAN CARDONA                ADDRESS ON FILE
EDGARDO D TORRES TORRES                ADDRESS ON FILE
EDGARDO DAVILA TORRES                  ADDRESS ON FILE
EDGARDO DE JESUS FONSECA               ADDRESS ON FILE
EDGARDO DE JESUS MARTINEZ              ADDRESS ON FILE
EDGARDO DELGADO BRAS                   ADDRESS ON FILE
EDGARDO DELGADO DELGADO                ADDRESS ON FILE




                                                                                        Page 2461 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2462 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                          Address1                                   Address2                                  Address3   Address4   City         State   PostalCode   Country
EDGARDO DELGADO FIGUEROA               ADDRESS ON FILE
EDGARDO DESARDEN CARRERO               ADDRESS ON FILE
EDGARDO DIAZ BURGOS                    ADDRESS ON FILE
EDGARDO DIAZ SANTIAGO                  ADDRESS ON FILE
EDGARDO DIAZ SOTO                      ADDRESS ON FILE
EDGARDO DIAZ VALENTIN                  ADDRESS ON FILE
EDGARDO E CASTILLO TORRES              ADDRESS ON FILE
EDGARDO E CRUZ GUZMAN                  ADDRESS ON FILE
EDGARDO E MARTINEZ RODRIGUEZ           ADDRESS ON FILE
EDGARDO E ROSARIO CABRERA              ADDRESS ON FILE
EDGARDO E SANTIAGO PIZARRO             ADDRESS ON FILE
EDGARDO E VEGA                         ADDRESS ON FILE
EDGARDO ECHEVARRIA FELICIANO           ADDRESS ON FILE
EDGARDO ESPINOSA GONZALEZ              ADDRESS ON FILE
EDGARDO ESTAVILLO / WANDA TORRELLAS    ADDRESS ON FILE
EDGARDO F GONZALEZ MORALES             ADDRESS ON FILE
EDGARDO F RIVEIRO CALDER               ADDRESS ON FILE
EDGARDO F TORO GONZALEZ                ADDRESS ON FILE
EDGARDO FABREGAS CASTRO                ADDRESS ON FILE
EDGARDO FEBRES VIERA                   ADDRESS ON FILE
EDGARDO FELICIANO CONCEPCION           ADDRESS ON FILE
EDGARDO FELICIANO FIGUEROA             ADDRESS ON FILE
EDGARDO FERNANDEZ CRUZ DBA ALPHA       WINDOW TINT                                CAPARRA TERRACE 1225 AVE PINERO                                 SAN JUAN     PR      00920
EDGARDO FERNANDEZ CRUZ DBA ALPHA WINDO AVE. DE JESUS T. PINERO 1225 CAPARRA TERRACE                                                               SAN JUAN     PR      00920‐0000
EDGARDO FERRER CRUZ                    ADDRESS ON FILE
EDGARDO FERRER CRUZ                    ADDRESS ON FILE
EDGARDO FIGUEROA / EDGARDO FIGUEROA    ADDRESS ON FILE
EDGARDO FIGUEROA ACEVEDO               ADDRESS ON FILE
EDGARDO FIGUEROA MALDONADO             ADDRESS ON FILE
EDGARDO FIGUROA QUILES                 ADDRESS ON FILE
EDGARDO FUENTES RODRIGUEZ              ADDRESS ON FILE
EDGARDO G LOPEZ TORRES                 ADDRESS ON FILE
EDGARDO GARCIA CARABALLO               ADDRESS ON FILE
EDGARDO GARCIA CARABALLO               ADDRESS ON FILE
EDGARDO GARCIA GOMEZ                   ADDRESS ON FILE
EDGARDO GARCIA MARTINEZ                ADDRESS ON FILE
EDGARDO GARCIA ORTIZ                   ADDRESS ON FILE
EDGARDO GAROFALO GAROFALO              ADDRESS ON FILE
EDGARDO GAUD ROSA                      ADDRESS ON FILE
EDGARDO GERENA PENA                    ADDRESS ON FILE
EDGARDO GONZALEZ                       ADDRESS ON FILE
EDGARDO GONZALEZ ARAUZ                 ADDRESS ON FILE
EDGARDO GONZALEZ ARAUZ                 ADDRESS ON FILE
EDGARDO GONZALEZ ARDIN                 ADDRESS ON FILE
EDGARDO GONZALEZ CASTELLANO            ADDRESS ON FILE
EDGARDO GONZALEZ FIGUEROA              ADDRESS ON FILE
EDGARDO GONZALEZ MORALES               ADDRESS ON FILE
EDGARDO GONZALEZ RIVERA                ADDRESS ON FILE
EDGARDO GUZMAN AVILES                  LIC MICHELLE JIMENEZ BREA                  PO BOX6416                                                      BAYAMON      PR      00960‐5416
EDGARDO GUZMAN ORTIZ                   ADDRESS ON FILE
EDGARDO H FUSTER VIGIER                ADDRESS ON FILE
EDGARDO H LIHARD BOLIVAR               ADDRESS ON FILE
EDGARDO H MORALES BETANCOURT           ADDRESS ON FILE
Edgardo Hernández Beauchamp            ADDRESS ON FILE
EDGARDO HERNANDEZ BURGOS               ADDRESS ON FILE
EDGARDO HERNANDEZ CORDERO              ADDRESS ON FILE
EDGARDO HERNANDEZ HERNANDEZ            ADDRESS ON FILE
EDGARDO HERNANDEZ HERNANDEZ            ADDRESS ON FILE
EDGARDO HERNÁNDEZ RIVERA               LCDO. JAIME PICO MUÑOZ
EDGARDO HERNANDEZ VELEZ                ADDRESS ON FILE




                                                                                                             Page 2462 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2463 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                            Address1                  Address2                           Address3   Address4   City          State   PostalCode   Country
EDGARDO I RIVERA RIVERA                  ADDRESS ON FILE
EDGARDO I. BAEZ AYALA                    ADDRESS ON FILE
EDGARDO IRIZARRY BONILLA                 ADDRESS ON FILE
EDGARDO IRIZARRY PAGAN                   ADDRESS ON FILE
EDGARDO J ALMEZQUITA RIVERA              ADDRESS ON FILE
EDGARDO J COLON SEPULVEDA                ADDRESS ON FILE
EDGARDO J CONTRERAS / VANESSA SAN MIGUEL ADDRESS ON FILE
EDGARDO J CORPORAN COLON                 ADDRESS ON FILE
EDGARDO J CRESPO APONTE                  ADDRESS ON FILE
EDGARDO J DAVILA GONZALEZ                ADDRESS ON FILE
EDGARDO J GALARZA ACOSTA                 ADDRESS ON FILE
EDGARDO J GONZALEZ MORENO                ADDRESS ON FILE
EDGARDO J GUZMAN ROBLES                  ADDRESS ON FILE
EDGARDO J MARTINEZ VERDEJO               ADDRESS ON FILE
EDGARDO J MELENDEZ FIGUEROA              ADDRESS ON FILE
EDGARDO J MELENDEZ RAMOS                 ADDRESS ON FILE
EDGARDO J MERCADO MAGOBET                ADDRESS ON FILE
EDGARDO J MERCADO ROSA                   ADDRESS ON FILE
EDGARDO J MONTALVO NIEVES                ADDRESS ON FILE
EDGARDO J MORALES ACEVEDO                ADDRESS ON FILE
EDGARDO J NUNEZ                          ADDRESS ON FILE
EDGARDO J OTERO HERNANDEZ                ADDRESS ON FILE
EDGARDO J PEREZ AGOSTO                   ADDRESS ON FILE
EDGARDO J RALAT COLON                    ADDRESS ON FILE
EDGARDO J RAMOS CRUZ                     ADDRESS ON FILE
EDGARDO J RIVERA RIOS                    ADDRESS ON FILE
EDGARDO J RIVERA VELAZQUEZ               ADDRESS ON FILE
EDGARDO J ROSARIO BERRIOS                URB VISTA VERDE           3 CALLE ARGENTINA                                        VEGA BAJA     PR      00693
EDGARDO J SUAREZ BORRERO                 ADDRESS ON FILE
EDGARDO J TORRES ROMAN                   ADDRESS ON FILE
EDGARDO J VAZQUEZ BRUNO                  ADDRESS ON FILE
EDGARDO J VAZQUEZ TORRES                 ADDRESS ON FILE
EDGARDO J VELEZ FLORES                   ADDRESS ON FILE
EDGARDO J ZAYAS NEGRON                   ADDRESS ON FILE
EDGARDO J. ESQUILIN SUAREZ               ADDRESS ON FILE
EDGARDO JIMENEZ MARTIR                   ADDRESS ON FILE
EDGARDO JIMENEZ ORAMA                    ADDRESS ON FILE
EDGARDO JIMENEZ ORAMA                    ADDRESS ON FILE
EDGARDO JIMENEZ ORTIZ                    ADDRESS ON FILE
EDGARDO JIMENEZ QUINONES                 ADDRESS ON FILE
EDGARDO JIMENEZ RIVERA                   ADDRESS ON FILE
EDGARDO JORGE ORTIZ Y LESLIE COLLEN      ADDRESS ON FILE
EDGARDO JOSE ORTIZ SANCHEZ               ADDRESS ON FILE
EDGARDO JR ALICEA                        ADDRESS ON FILE
EDGARDO JUAN LOPEZ MORELL                ADDRESS ON FILE
EDGARDO L ALVAREZ BURGOS                 ADDRESS ON FILE
EDGARDO L BIBILONI DEL VALLE             ADDRESS ON FILE
EDGARDO L CEPERO MERCADO                 ADDRESS ON FILE
EDGARDO L COLON BELEN                    ADDRESS ON FILE
EDGARDO L DIAZ COLON                     ADDRESS ON FILE
EDGARDO L ESPADA COLON                   ADDRESS ON FILE
EDGARDO L FONTANEZ CORTES                ADDRESS ON FILE
EDGARDO L HERNANDEZ/ ZULEYKA CAMACHO ADDRESS ON FILE
EDGARDO L LASANTA BURGOS                 ADDRESS ON FILE
EDGARDO L MALARET GONZALEZ               ADDRESS ON FILE
EDGARDO L MALDONADO SEGARRA              ADDRESS ON FILE
EDGARDO L MANGUAL MARTINEZ               ADDRESS ON FILE
EDGARDO L MARTINEZ NAZARIO               ADDRESS ON FILE
EDGARDO L MUNOZ VAZQUEZ                  ADDRESS ON FILE
EDGARDO L NEGRON VARGAS                  ADDRESS ON FILE




                                                                                       Page 2463 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2464 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                        Address2                                  Address3         Address4   City         State   PostalCode   Country
EDGARDO L ORTEGA ORTEGA                  ADDRESS ON FILE
EDGARDO L ORTIZ MACHUCA                  ADDRESS ON FILE
EDGARDO L PEREZ ARCHITECT ASSOCIATES PSC 527 CALLA SERGIO CUEVAS STE 2                                                                         SAN JUAN     PR      00918‐2678
EDGARDO L PEREZ NIEVES                   ADDRESS ON FILE
EDGARDO L RIVERA RIVERA                  ADDRESS ON FILE
EDGARDO L RIVERA RODRIGUEZ/ DANIEL       ADDRESS ON FILE
EDGARDO L RUIZ GANDIA                    ADDRESS ON FILE
EDGARDO L SANTANA GONZALEZ               ADDRESS ON FILE
EDGARDO L VAZQUEZ LUGO                   ADDRESS ON FILE
EDGARDO L VELEZ ORTIZ                    ADDRESS ON FILE
EDGARDO L VENEZUELA LOPEZ                ADDRESS ON FILE
EDGARDO L. PINERO RODRIGUEZ              ADDRESS ON FILE
EDGARDO LARREGUI RODRIGUEZ               ADDRESS ON FILE
EDGARDO LEON CRUZ                        ADDRESS ON FILE
EDGARDO LOPEZ BAEZ                       ADDRESS ON FILE
EDGARDO LOPEZ VELAZQUEZ                  ADDRESS ON FILE
EDGARDO LUCIANO CORTES                   ADDRESS ON FILE
EDGARDO LUGO MARQUEZ                     ADDRESS ON FILE
EDGARDO LUIS MALDONADO MORELL            ADDRESS ON FILE
EDGARDO M CASTRO VAZQUEZ                 ADDRESS ON FILE
EDGARDO M DIAZ BENITEZ                   ADDRESS ON FILE
EDGARDO M MUNOZ RODRIGUEZ                ADDRESS ON FILE
EDGARDO M ORTIZ SOSA                     ADDRESS ON FILE
EDGARDO M PIZARRO                        ADDRESS ON FILE
EDGARDO M. SALAS GARCIA                  ADDRESS ON FILE
EDGARDO MADERA Y EVELYN VAZQUEZ          ADDRESS ON FILE
EDGARDO MALAVE CAMACHO                   ADDRESS ON FILE
EDGARDO MALDONADO BLANCO                 LCDO. RAFAEL ZAYAS COLÓN        1488 MARGINAL PASEO FAGOT SUITE 1 BOULEVAR MIGUEL A. POU              Ponce        PR      00716
EDGARDO MALDONADO CRUZ                   ADDRESS ON FILE
EDGARDO MALDONADO GOMEZ                  ADDRESS ON FILE
EDGARDO MALDONADO GONZALEZ               ADDRESS ON FILE
EDGARDO MALDONADO TORRES                 ADDRESS ON FILE
EDGARDO MARCIAL DIAZ                     PROPIO DERECHO                  INST MAXIMA SEGURIDAD PO BOX 10786 SECC B2 3016                       Ponce        PR      00732
EDGARDO MARQUEZ LIZARDI                  ADDRESS ON FILE
EDGARDO MARQUEZ MORALES                  ADDRESS ON FILE
EDGARDO MARTINEZ                         ADDRESS ON FILE
EDGARDO MARTINEZ                         ADDRESS ON FILE
EDGARDO MARTINEZ CUBERO                  ADDRESS ON FILE
EDGARDO MARTINEZ DEDOS                   ADDRESS ON FILE
EDGARDO MARTINEZ PEREZ                   ADDRESS ON FILE
EDGARDO MARTINEZ SUAREZ                  ADDRESS ON FILE
EDGARDO MARTINEZ VIGO                    ADDRESS ON FILE
EDGARDO MATOS CRUZ                       ADDRESS ON FILE
EDGARDO MEDERO DUARTE                    ADDRESS ON FILE
EDGARDO MEDINA BENITEZ                   ADDRESS ON FILE
EDGARDO MEDINA ESCAMILLA                 ADDRESS ON FILE
EDGARDO MEDINA PADILLA                   ADDRESS ON FILE
EDGARDO MEDINA SOSA                      ADDRESS ON FILE
EDGARDO MEDINA VELEZ                     ADDRESS ON FILE
EDGARDO MEJIAS CASTAINGS                 ADDRESS ON FILE
EDGARDO MEJIAS CASTAINGS                 ADDRESS ON FILE
EDGARDO MELENDEZ ORTIZ                   ADDRESS ON FILE
EDGARDO MELENDEZ ORTIZ                   ADDRESS ON FILE
EDGARDO MELENDEZ SALDANA                 ADDRESS ON FILE
EDGARDO MELENDEZ SALDANA                 ADDRESS ON FILE
EDGARDO MENDEZ CRUZ                      ADDRESS ON FILE
EDGARDO MENDEZ NIEVES                    ADDRESS ON FILE
EDGARDO MENDOZA RIVERA                   ADDRESS ON FILE
EDGARDO MERCADO PAGAN                    ADDRESS ON FILE
EDGARDO MIRANDA TORRES                   ADDRESS ON FILE




                                                                                                    Page 2464 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2465 of 3500
                                                                             17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                 Address1                                  Address2                                   Address3            Address4   City           State   PostalCode   Country
EDGARDO MIRANDA VALLE         ADDRESS ON FILE
EDGARDO MOLINA SANCHEZ        ADDRESS ON FILE
EDGARDO MOLINA SANCHEZ        ADDRESS ON FILE
EDGARDO MONGE RODRIGUEZ       ADDRESS ON FILE
EDGARDO MONTANEZ FERNANDEZ    ADDRESS ON FILE
EDGARDO MORALES               ADDRESS ON FILE
EDGARDO MORALES CINTRON       ADDRESS ON FILE
EDGARDO MORALES PEREZ         ADDRESS ON FILE
EDGARDO MUNIZ RAMIREZ         ADDRESS ON FILE
EDGARDO MUNOZ RIVERA          ADDRESS ON FILE
EDGARDO NAVEDO CAMERON        ADDRESS ON FILE
EDGARDO NIEVES ORTA           ADDRESS ON FILE
EDGARDO NIEVES QUILES         ADDRESS ON FILE
Edgardo Nieves Rosado         ADDRESS ON FILE
EDGARDO NIEVES VIRUET         ADDRESS ON FILE
EDGARDO NUNEZ MENDEZ          ADDRESS ON FILE
EDGARDO NUNEZ RUIZ            ADDRESS ON FILE
EDGARDO NUNEZ RUIZ            ADDRESS ON FILE
EDGARDO NUNEZ SOTO MAYOR      ADDRESS ON FILE
EDGARDO O RODRIGUEZ ACEVEDO   ADDRESS ON FILE
EDGARDO OCASIO LOPEZ          ADDRESS ON FILE
EDGARDO OCASIO ROIG           ADDRESS ON FILE
EDGARDO OJEDA MARINI          ADDRESS ON FILE
EDGARDO OJEDA MARINI          ADDRESS ON FILE
EDGARDO OJEDA ORTIZ           ADDRESS ON FILE
EDGARDO OMAR VELEZ RIVERA     ADDRESS ON FILE
EDGARDO ORTIZ APONTE          ADDRESS ON FILE
EDGARDO ORTIZ COLON           ADDRESS ON FILE
EDGARDO ORTIZ COLON           ADDRESS ON FILE
EDGARDO ORTIZ CRUZ            ADDRESS ON FILE
EDGARDO ORTIZ RIVERA          ADDRESS ON FILE
EDGARDO ORTIZ RODRÍGUEZ       LCDO. JESÚS M. ROSARIO FÉLIX              APTDO. 1564                                                               JUANA DÍAZ     PR      00795
EDGARDO OSORIO OSORIO         ADDRESS ON FILE
EDGARDO PABON LAUSELL         ADDRESS ON FILE
EDGARDO PALLENS TORRES        ADDRESS ON FILE
EDGARDO PALLENS TORRES        ADDRESS ON FILE
EDGARDO PALLENS TORRES        LCDA. WANDA I. MARIN LUGO Y LCDO. ARMAND 1225 AVE. MUÑOZ RIVERA                                                     PONCE          PR      00717‐0635
EDGARDO PALLENS TORRES        LCDO. ARMANDO F. PIETRI TORRES Y LCDA. WANAVENIDA MUÑOZ RIVERA 1225                                                 PONCE          PR      00717‐0635
EDGARDO PEDRAZA               LCDO. LUIS MANUEL PAVIA VIDAL             PO BOX 363325                                                             SAN JUAN       PR      00936
EDGARDO PENA MARTINEZ         ADDRESS ON FILE
EDGARDO PEREIRA RUIZ          ADDRESS ON FILE
EDGARDO PEREZ COLLADO         ADDRESS ON FILE
EDGARDO PEREZ COLLADO         ADDRESS ON FILE
EDGARDO PEREZ OJEDA           ADDRESS ON FILE
EDGARDO PEREZ ORTIZ           ADDRESS ON FILE
EDGARDO PEREZ RIVERA          ADDRESS ON FILE
EDGARDO PEREZ RIVERA          ADDRESS ON FILE
EDGARDO PEREZ ROJAS           ADDRESS ON FILE
EDGARDO PLAZA PLAZA           ADDRESS ON FILE
EDGARDO QUILES ALICEA         ADDRESS ON FILE
EDGARDO QUINONES MEDINA       ADDRESS ON FILE
EDGARDO QUINTANA VELAZQUEZ    ADDRESS ON FILE
EDGARDO QUINTANA VELAZQUEZ    ADDRESS ON FILE
EDGARDO QUINTANA VELAZQUEZ    ADDRESS ON FILE
                                                                                                                   1353 AVENIDA LUIS
EDGARDO QUINTANA VELÁZQUEZ    LCDA. YARLENE JIMÉNEZ ROSARIO            PMB 133                                     VIGOREAUX                      GUAYNABO       PR      00966‐2700
EDGARDO QUINTANA VELÁZQUEZ    LCDO. JUAN E. SERRANO SANTIAGO           AEELA PO BOX 70199                                                         SAN JUAN       PR      00936‐8190
EDGARDO R CASTRO BERMUDEZ     ADDRESS ON FILE
EDGARDO R JIMENEZ CALDERIN    ADDRESS ON FILE
EDGARDO R MELENDEZ TORRES     ADDRESS ON FILE




                                                                                                    Page 2465 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2466 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                          Address1                   Address2                                 Address3   Address4   City           State   PostalCode   Country
EDGARDO R SANTIAGO REYES               ADDRESS ON FILE
EDGARDO R TRICOCHE CRUZ                ADDRESS ON FILE
EDGARDO R.LOPEZ CRUZ                   ADDRESS ON FILE
EDGARDO R.LOPEZ CRUZ                   ADDRESS ON FILE
EDGARDO RAMIREZ RIVERA                 ADDRESS ON FILE
EDGARDO RAMOS DIAZ                     ADDRESS ON FILE
EDGARDO RAMOS RAMIREZ                  ADDRESS ON FILE
EDGARDO REILLO MERCADO                 ADDRESS ON FILE
EDGARDO REYES                          ADDRESS ON FILE
EDGARDO RIOS ACEVEDO Y NELSON D SOTO   ADDRESS ON FILE
EDGARDO RIOS ACEVEDO Y NELSON D SOTO   ADDRESS ON FILE
EDGARDO RIOS PEREZ                     ADDRESS ON FILE
EDGARDO RIVERA BONILLA                 ADDRESS ON FILE
EDGARDO RIVERA CANDELARIA              ADDRESS ON FILE
EDGARDO RIVERA MARRERO                 ADDRESS ON FILE
EDGARDO RIVERA MATOS                   ADDRESS ON FILE
EDGARDO RIVERA RIVERA                  ADDRESS ON FILE
EDGARDO RIVERA RIVERA                  ADDRESS ON FILE
EDGARDO RIVERA ROSADO                  ADDRESS ON FILE
EDGARDO RIVERA SANCHEZ                 ADDRESS ON FILE
EDGARDO RIVERA SIFONTE                 ADDRESS ON FILE
EDGARDO RIVERA VEGA                    ADDRESS ON FILE
EDGARDO RODRIGUEZ AGOSTO               ADDRESS ON FILE
EDGARDO RODRIGUEZ AYALA                ADDRESS ON FILE
EDGARDO RODRIGUEZ CARTAGENA            ADDRESS ON FILE
EDGARDO RODRIGUEZ COLLAZO              ADDRESS ON FILE
EDGARDO RODRIGUEZ FALCHE               ADDRESS ON FILE
EDGARDO RODRIGUEZ PROMOTIONS INC       1142 AVE F D ROOSEVELT                                                                    SAN JUAN       PR      00920
EDGARDO RODRIGUEZ SANTIAGO             ADDRESS ON FILE
EDGARDO RODRIGUEZ TORRES               ADDRESS ON FILE
EDGARDO RODRIGUEZ TROSSI               ADDRESS ON FILE
Edgardo Rolón Viera                    ADDRESS ON FILE
EDGARDO ROMAN ALVAREZ                  ADDRESS ON FILE
EDGARDO ROSADO E ISRAEL ROSADO         ADDRESS ON FILE
EDGARDO ROSADO FELICIANO               ADDRESS ON FILE
EDGARDO ROSADO RODRIGUEZ               ADDRESS ON FILE
EDGARDO ROSARIO LAW OFFICES            ADDRESS ON FILE
EDGARDO ROSARIO RAMIREZ                ADDRESS ON FILE
EDGARDO ROSARIO SOLANO                 ADDRESS ON FILE
EDGARDO RUIZ MONTANEZ                  ADDRESS ON FILE
EDGARDO RUIZ TIRADO                    ADDRESS ON FILE
EDGARDO S BARRETO DE LA TORRE          ADDRESS ON FILE
EDGARDO S PEREZ MARTINEZ               ADDRESS ON FILE
EDGARDO S. BARRETO DE LA TORRE         ADDRESS ON FILE
EDGARDO SAEZ DEL VALLE                 ADDRESS ON FILE
EDGARDO SAEZ ORTIZ                     ADDRESS ON FILE
EDGARDO SANABRIA MARIANI               ADDRESS ON FILE
EDGARDO SANABRIA VALENTIN              ADDRESS ON FILE
EDGARDO SANCHEZ BELLBER                ADDRESS ON FILE
EDGARDO SANCHEZ WILLIAMS               ADDRESS ON FILE
EDGARDO SANTANA PENA                   ADDRESS ON FILE
EDGARDO SANTIAGO DIAZ                  ADDRESS ON FILE
EDGARDO SANTIAGO ESPADA                ADDRESS ON FILE
EDGARDO SANTIAGO MONTANEZ              ADDRESS ON FILE
EDGARDO SANTIAGO ORTIZ                 ADDRESS ON FILE
EDGARDO SANTIAGO PEREZ                 ARQUIMEDES GIERBOLONI      PO BOX 1098                                                    PR                     00769
EDGARDO SANTIAGO RODRIGUEZ Y/O YOLANDA PEREZ SANTIAGO             COMUNIDAD PROVINCIA SOLAR 532                                  JUANA DIAZ     PR      00796
EDGARDO SANTOS FEBRES                  ADDRESS ON FILE
EDGARDO SANTOS PENA                    ADDRESS ON FILE
EDGARDO SEDA ARROYO                    ADDRESS ON FILE




                                                                                            Page 2466 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2467 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                            Address1                          Address2                                  Address3   Address4   City           State   PostalCode   Country
EDGARDO SEDA ARROYO                      ADDRESS ON FILE
EDGARDO SEGARRA COSTA                    ADDRESS ON FILE
EDGARDO SERPA OCASIO                     ADDRESS ON FILE
EDGARDO SEVILLA ROBLES                   ADDRESS ON FILE
EDGARDO SOTO                             ADDRESS ON FILE
EDGARDO SOTO CRESPO                      ADDRESS ON FILE
EDGARDO SOTO QUINONES                    ADDRESS ON FILE
EDGARDO SUAREZ                           ADDRESS ON FILE
EDGARDO SUAREZ ALMODOVAR                 ADDRESS ON FILE
EDGARDO SUSANO GONZALEZ FRATICELLI       ADDRESS ON FILE
EDGARDO T COLON COLON                    ADDRESS ON FILE
EDGARDO TIRADO HERNANDEZ                 ADDRESS ON FILE
EDGARDO TORRES CENTENO                   ADDRESS ON FILE
EDGARDO TORRES HERNANDEZ                 ADDRESS ON FILE
EDGARDO TORRES HERNANDEZ                 ADDRESS ON FILE
EDGARDO TORRES HUERTAS                   ADDRESS ON FILE
EDGARDO TORRES MARCANO                   ADDRESS ON FILE
EDGARDO TORRES NEGRON                    ADDRESS ON FILE
EDGARDO TORRES PEREZ                     ADDRESS ON FILE
EDGARDO TORRES QUIÑONEZ                  LCDA. EVELYN T. MÁRQUEZ ESCOBAR   BUFETE RIVERA ORTIZ & ASOCIADOS‐PO BOX 810386                   CAROLINA       PR      00981‐0386
EDGARDO TORRES QUIÑONEZ                  LCDO. RAISACC G. COLÓN RÍOS
EDGARDO TORRES RIVERA                    ADDRESS ON FILE
EDGARDO TORRES RODRIGUEZ                 ADDRESS ON FILE
EDGARDO TORRES ROSA                      ADDRESS ON FILE
EDGARDO TRINIDAD TOLLENS                 ADDRESS ON FILE
EDGARDO TRON COSO                        ADDRESS ON FILE
EDGARDO U PAGAN CACHO                    ADDRESS ON FILE
EDGARDO VALCARCEL ORTIZ                  ADDRESS ON FILE
EDGARDO VALENTIN RAMOS                   ADDRESS ON FILE
EDGARDO VALLE GONZALEZ                   ADDRESS ON FILE
EDGARDO VARGAS FIGUEROA                  ADDRESS ON FILE
EDGARDO VAZQUEZ CANDELARIO               ADDRESS ON FILE
EDGARDO VAZQUEZ RAMOS                    ADDRESS ON FILE
EDGARDO VAZQUEZ REYES                    ADDRESS ON FILE
EDGARDO VAZQUEZ RIVERA                   ADDRESS ON FILE
EDGARDO VAZQUEZ SALDANA                  ADDRESS ON FILE
EDGARDO VEGA AMARO                       ADDRESS ON FILE
EDGARDO VEGA CORREA                      ADDRESS ON FILE
EDGARDO VEGA DELGADO                     ADDRESS ON FILE
EDGARDO VEGA, INC.                       PO BOX 1419                                                                                       SAN GERMAN     PR      00683
EDGARDO VEGUILLA GONZALEZ                ADDRESS ON FILE
EDGARDO VELEZ GONZALEZ                   ADDRESS ON FILE
EDGARDO VERA HERNANDEZ                   ADDRESS ON FILE
EDGARDO VERA RAMON                       ADDRESS ON FILE
EDGARDO VOLMAR CABASSA                   ADDRESS ON FILE
EDGARDO X CALO MATOS                     ADDRESS ON FILE
EDGARDO Y ALFARO RODRIGUEZ               ADDRESS ON FILE
EDGARDO ZAPATA TORRES                    ADDRESS ON FILE
EDGARDO ZAPATA TORRES                    ADDRESS ON FILE
EDGARDO ZAPATA TORRES                    ADDRESS ON FILE
EDGARDO ZAYAS GARCIA                     ADDRESS ON FILE
EDGARDO ZAYAS GARCIA                     ADDRESS ON FILE
EDGARIS F LEON GUTIERREZ                 ADDRESS ON FILE
EDGARYS ROSARIO MARTINEZ                 ADDRESS ON FILE
EDGE GROUP , INC                         169 DEL PARQUE ST                                                                                 SAN JUAN       PR      00911
EDGE LEGAL STRATEGIES PSC                B5 CALLE TABONUCO                 STE 216 PMB 298                                                 GUAYNABO       PR      00968‐3022
EDGE LEGAL STRATEGIES PSC                CITIBANK TOWER PISO 12            252 AVE PONCE DE LEON                                           SAN JUAN       PR      00918
EDGENUITY, INC                           7303 EAST EARLL DR. SCOTTSDALE                                                                    SCOTTDALE      AZ      85251
EDGRALY REYES BENITEZ                    ADDRESS ON FILE
EDHILMARIE CARRILLO / EDHILMA M FIGUEROA ADDRESS ON FILE




                                                                                                      Page 2467 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2468 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                      Address1                                 Address2                                   Address3   Address4   City          State   PostalCode   Country
EDIAMAR OFFICE SUPPLY              92 BAJOS AVE ROOSEVELT                                                                                    HUMACAO       PR      00791
EDIAMAR OFFICE SUPPLY              URB BUZO                                 B8 CALLE 2                                                       HUMACAO       PR      00971
EDIAN SANTIAGO IRIZARRY            ADDRESS ON FILE
EDIBAL GUERRA VALENTIN             ADDRESS ON FILE
EDIBEL CRISTINA RAMOS JUNQUERA     ADDRESS ON FILE
EDIBEL RODRIGUEZ DOBLE             ADDRESS ON FILE
EDIBERTO CRUZ MERCADO              ADDRESS ON FILE
EDIBERTO GUZMAN                    ADDRESS ON FILE
EDIBERTO HERNANDEZ RESTO           ADDRESS ON FILE
EDIBERTO OTANO NIEVES              ADDRESS ON FILE
EDIBERTO QUINONES VERA             ADDRESS ON FILE
EDIBERTO VELAZQUEZ SANTIAGO        ADDRESS ON FILE
EDIC COLLEGE                       P.O. BOX 9120 URB CAGUAS NORTE                                                                            CAGUAS        PR      00726‐9120
EDIC College                       PO BOX 9120                                                                                               CAGUAS        PR      00726
EDIC COLLEGE INC                   PO BOX 9120                                                                                               CAGUAS        PR      00726
EDICEL RIVERA GONZALEZ             ADDRESS ON FILE
EDICER ORENGO DELGADO              ADDRESS ON FILE
EDICER RAMIREZ OLIVENCIA           ADDRESS ON FILE
EDICER RAMÍREZ OLIVENCIA           LCDA. BEATRIZ CAY VÁZQUEZ‐ABOGADA DEMAN PO BOX 1809                                                       CAGUAS        PR      00727‐1809
EDICER RAMÍREZ OLIVENCIA           LCDA. DOLLIE MAR PÉREZ RAMOS‐ ABOGADA DE PO BOX 3285                                                      CAGUAS        PR      00726‐3285
EDICIONES CIRCULO INC              FLAMINGO TERRACE                         B 9 MARGINAL                                                     BAYAMON       PR      00957
EDICIONES ENLACE DE PR INC         P O BOX 79762                                                                                             CAROLINA      PR      00984‐9762
EDICIONES HURACAN INC              874 BALDORIOTY DE CASTRO                                                                                  SAN JUAN      PR      00925
EDICIONES NORTE INC                PO BOX 29461                                                                                              SAN JUAN      PR      00929
EDICIONES PUERTO INC               PO BOX 9066272                                                                                            SAN JUAN      PR      00906‐6272
EDICIONES SANTILLANA               PO BOX 5462                                                                                               HATO REY      PR      00922
EDICIONES SANTILLANA INC           CENTRO DISTRIBUCION AMELIA               34 ESQ D CALLE F                                                 GUAYNABO      PR      00968
EDICIONES SANTILLANA INC           PO BOX 195462                                                                                             SAN JUAN      PR      00919‐5462
EDICIONES SANTILLANA INC           PO BOX 5462                                                                                               SAN JUAN      PR      00919
EDICIONES SM                       PO BOX 50091                                                                                              TOA BAJA      PR      00950‐0091
EDICIONES SM                       Y ORIENTAL BANK                          PO BOX 364745                                                    SAN JUAN      PR      00936‐4745
EDICIONES SM, INC                  PO BOX 50091                                                                                              TOA BAJA      PR      00950‐0091
EDICKSON MORALES CUEVAS            ADDRESS ON FILE
EDICTA FUENTES LANZO               ADDRESS ON FILE
EDICTA PIZARRO CASILLAS            ADDRESS ON FILE
EDICTO AYALA COLON                 ADDRESS ON FILE
EDICTO MARTINEZ PEREZ              ADDRESS ON FILE
EDIE CORDERO                       ADDRESS ON FILE
EDIEL CARRO SOLANO                 LUIS SANTIAGO GONZALEZ                   130 AVE. WINSTON CHURCHILL PMB242 SUITE 937                      SAN JUAN      PR      00926
EDIER M PEREZ PADILLA              ADDRESS ON FILE
EDIFICA ENG CONS & MGMT GROUPPSC   1353 AVE LUIS VIGOREAUX STE 277                                                                           GUAYNABO      PR      00966‐2715
EDIFICARTE CA INC                  130 AVE WINSTON CHURCHILL                STE                                                              SAN JUAN      PR      00926
EDIFICIO PAOLA INC                 95 CALLE BETANCES                                                                                         CAGUAS        PR      00725
EDIKEN SERVICE INC                 HC 3 BOX 6647                                                                                             RINCON        PR      00677
EDIL A CRUZ RIVERA                 ADDRESS ON FILE
EDIL A SANTIAGO COLON              ADDRESS ON FILE
EDIL A SEPULVEDA CARLO             ADDRESS ON FILE
EDIL CABAN VAZQUEZ                 ADDRESS ON FILE
EDIL DANOIS ROMAN                  ADDRESS ON FILE
EDIL FAUSTINO FLORES               ADDRESS ON FILE
EDIL HERNANDEZ DELGADO             ADDRESS ON FILE
EDIL M PEREZ RAMOS                 ADDRESS ON FILE
EDIL MUÑIZ MARRERO                 LCDO. FREDDIE CRUZ RAMIREZ               LCDO. FREDDIE CRUZ RAMIREZ CALLE CARBONELL #120 A                CABO ROJO     PR      00623
EDIL MUÑIZ MARRERO                 LCDO. JAIME V. BIAGGI BUSQUETS           LCDO. JAIME V. BIAGGI BUSQUETS PO BOX 1589                       MAYAGUEZ      PR      00681‐1589
EDIL MUÑIZ MARRERO                 LCDO. LUIS A. FERNANDEZ DOMENECH         LCDO. LUIS A. FERNANDEZ DOMENECH PO BOX 1768                     CABO ROJO     PR      00623
EDIL VELAZQUEZ COLON               ADDRESS ON FILE
EDILBERTO AGOSTO RAMOS             ADDRESS ON FILE
EDILBERTO BEAUCHAMP VALLE          ADDRESS ON FILE
EDILBERTO BERRIOS DAVILA           ADDRESS ON FILE
EDILBERTO BRUNO RODRIGUEZ          ADDRESS ON FILE




                                                                                                        Page 2468 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2469 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                         Address1                   Address2                                  Address3   Address4   City            State   PostalCode   Country
EDILBERTO CEDENO GONZALEZ             ADDRESS ON FILE
EDILBERTO COTTO RIVERA                ADDRESS ON FILE
EDILBERTO CRUZ MERCADO                ADDRESS ON FILE
EDILBERTO FIGUEROA MARTINEZ           ADDRESS ON FILE
EDILBERTO FIGUEROA MARTINEZ           ADDRESS ON FILE
EDILBERTO FIGUEROA SANTIAGO           ADDRESS ON FILE
EDILBERTO FIGUEROA SANTOS             ADDRESS ON FILE
EDILBERTO GONZALEZ ROSA               ADDRESS ON FILE
EDILBERTO GOTAY MARTINEZ              ADDRESS ON FILE
EDILBERTO LABOY VAZQUEZ               ADDRESS ON FILE
EDILBERTO LAVIENA CINTRON             ADDRESS ON FILE
EDILBERTO NUNEZ CALDERO               ADDRESS ON FILE
EDILBERTO ROSA VEGA                   ADDRESS ON FILE
EDILBERTO ROSA VEGA                   ADDRESS ON FILE
EDILBERTO SANTIAGO NEGRON             ADDRESS ON FILE
EDILBERTO SCHAUS ANDALUZ              ADDRESS ON FILE
EDILBERTO TORRES TAPIA                ADDRESS ON FILE
EDILBERTO VALENTIN LOPEZ              ADDRESS ON FILE
EDILBURGA FLORES OQUENDO              ADDRESS ON FILE
EDILI QUINONES ORTIZ                  ADDRESS ON FILE
EDILIA MEDINA TOLEDO                  ADDRESS ON FILE
EDILTRUDIS PACHECO BELEN              ADDRESS ON FILE
EDINA EYE PHYSICIANS & SURGEON        14050 NICOLLET AVE S 101                                                                   BURNSVILLE      MN      55337
EDINEF BAEZ RODRIGUEZ                 ADDRESS ON FILE
EDINEF BAEZ RODRIGUEZ                 ADDRESS ON FILE
EDINELSON ROSA Y PRISCILLA GONZALEZ   ADDRESS ON FILE
EDINES RODRIGUEZ CANDELARIA           ADDRESS ON FILE
EDINNETTE ROSARIO COLON               ADDRESS ON FILE
EDINSON FLORES ORTIZ                  ADDRESS ON FILE
EDINSON RIVERA CASANA                 ADDRESS ON FILE
EDIRTH RIOS RIVERA                    ADDRESS ON FILE
EDIS PENA PENA                        ADDRESS ON FILE
EDISBURGA RIVERA ROSA                 ADDRESS ON FILE
EDISON A COLON                        ADDRESS ON FILE
EDISON A PEREZ SOTO                   ADDRESS ON FILE
EDISON ALBINO GONZALEZ                ADDRESS ON FILE
EDISON AVILES DELIZ                   ADDRESS ON FILE
EDISON BAEZ COTTO                     ADDRESS ON FILE
EDISON BURGOS CINTRON                 ADDRESS ON FILE
EDISON CORA LOPEZ                     ADDRESS ON FILE
EDISON CRUZ RODRIGUEZ                 ADDRESS ON FILE
EDISON IRIZARRY AMELY                 ADDRESS ON FILE
EDISON LUGO MATIAS                    ADDRESS ON FILE
EDISON MARTELL OLAN                   ADDRESS ON FILE
EDISON MEDINA ORTIZ                   ADDRESS ON FILE
EDISON METUCHEN ORTHOPEDIC GROUP      10 PARSONAGE RD                                                                            EDISON          NJ      08837
EDISON MISLA ALDARONDO                ADDRESS ON FILE
EDISON MORALES                        ADDRESS ON FILE
EDISON NEGRON CARABALLO               ADDRESS ON FILE
EDISON NEGRON OCASIO                  ADDRESS ON FILE
EDISON NIEVES RAMOS                   ADDRESS ON FILE
EDISON ORENGO ESCALERA                ADDRESS ON FILE
EDISON PARES SANTIAGO/EDISON ENERGY   ENGINEERING                PMB 257 35 JUAN C BORBON STE 67                                 GUAYNABO        PR      00969
EDISON PEREZ TORRES                   ADDRESS ON FILE
EDISON POLL MILLAN                    ADDRESS ON FILE
EDISON RAMOS QUINONES                 ADDRESS ON FILE
EDISON RICAURTE MERCHAN               ADDRESS ON FILE
EDISON RISK LLC                       134 NE 1ST AVENUE                                                                          ELRAY BEACH     FL      33444
EDISON RODRIGUEZ MERCADO              ADDRESS ON FILE
EDISON RODRIGUEZ PABON                ADDRESS ON FILE




                                                                                            Page 2469 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2470 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EDISON RODRIGUEZ PACHECO                 ADDRESS ON FILE
EDISON RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
EDISON ROSA SANCHEZ                      ADDRESS ON FILE
EDISON SANABRIA VELEZ                    ADDRESS ON FILE
EDISON SUAREZ RAMOS                      ADDRESS ON FILE
EDISON ZAYAS BERRIOS                     ADDRESS ON FILE
EDISON, FIGUEROA                         ADDRESS ON FILE
EDITH A GARCIA ANGULO                    ADDRESS ON FILE
EDITH A RIVERA RIVERA                    ADDRESS ON FILE
EDITH ACEVEDO COSME                      ADDRESS ON FILE
EDITH APONTE NUNEZ                       ADDRESS ON FILE
EDITH AVILES PEREZ                       ADDRESS ON FILE
EDITH AVILES PEREZ                       ADDRESS ON FILE
EDITH AVILES PEREZ                       ADDRESS ON FILE
EDITH B RIVERA RAMOS                     ADDRESS ON FILE
EDITH B SANTIAGO GONZALEZ                ADDRESS ON FILE
EDITH BABILONIA HERNANDEZ                ADDRESS ON FILE
EDITH BAEZ DE COSME                      ADDRESS ON FILE
EDITH BISBAL                             ADDRESS ON FILE
EDITH C BLANCO                           ADDRESS ON FILE
EDITH CALZADILLA GONZALEZ                ADDRESS ON FILE
EDITH CASTILLO CARRASCO                  ADDRESS ON FILE
EDITH CEDENO VAZQUEZ                     ADDRESS ON FILE
EDITH D BURGOS RIVERA                    ADDRESS ON FILE
EDITH D BURGOS RIVERA                    ADDRESS ON FILE
EDITH DEL MAR GONZALEZ SOTO              ADDRESS ON FILE
EDITH E GUTIERREZ CURET                  ADDRESS ON FILE
EDITH E. FEO ACEVEDO                     ADDRESS ON FILE
EDITH E. FEO ACEVEDO                     ADDRESS ON FILE
EDITH FELICIANO                          ADDRESS ON FILE
EDITH FIGUEROA MORALES                   ADDRESS ON FILE
EDITH FIOL TORRES                        ADDRESS ON FILE
EDITH FUENTES MALDONADO                  ADDRESS ON FILE
EDITH G DE JESUS DBA ELECTRONIC OUTLET   PO BOX 1787                                                                      ARECIBO      PR      00613
EDITH GONZALEZ RODRIGUEZ                 ADDRESS ON FILE
EDITH GONZALEZ ZAMBRANA                  ADDRESS ON FILE
EDITH GUZMAN NAZARIO                     ADDRESS ON FILE
EDITH HERNANDEZ MILLER                   ADDRESS ON FILE
EDITH I RIVERA CUEVAS                    ADDRESS ON FILE
EDITH IRIZARRY ACEVEDO                   ADDRESS ON FILE
EDITH J CRESPO ROSADO                    ADDRESS ON FILE
EDITH J TUDO SIERRA                      ADDRESS ON FILE
EDITH L CATINCHI RINALDI                 ADDRESS ON FILE
EDITH L GUZMAN BOSCH                     ADDRESS ON FILE
EDITH L LUGO NAZARIO                     ADDRESS ON FILE
EDITH L RIOS FELICIANO                   ADDRESS ON FILE
EDITH LOPEZ PINET                        ADDRESS ON FILE
EDITH LOPEZ RODRIGUEZ                    ADDRESS ON FILE
EDITH M ACEVEDO CHAPARRO                 ADDRESS ON FILE
EDITH M HOFFMAN RODRIGUEZ                ADDRESS ON FILE
EDITH M HUERTAS TORRES                   ADDRESS ON FILE
EDITH M MARTINEZ RIVERA                  ADDRESS ON FILE
EDITH M NAVARRO PACHECO                  ADDRESS ON FILE
EDITH M PAGAN ECHEVARRIA                 ADDRESS ON FILE
EDITH M PEREZ RIVERA                     ADDRESS ON FILE
EDITH M RAMIREZ ORTIZ                    ADDRESS ON FILE
EDITH M VIERA VELLON                     ADDRESS ON FILE
EDITH M. LOZADA SALGADO                  ADDRESS ON FILE
EDITH M. MANGUAL RODRIGUEZ               ADDRESS ON FILE
EDITH M. RODRIGUEZ MURIEL                ADDRESS ON FILE




                                                                                     Page 2470 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2471 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                             Address1                  Address2                                      Address3   Address4   City               State   PostalCode   Country
EDITH MALDONADO NEGRON                    ADDRESS ON FILE
EDITH MARQUEZ VAZQUEZ                     ADDRESS ON FILE
EDITH MARRERO                             ADDRESS ON FILE
EDITH MICHELLE MORALES QUILES             ADDRESS ON FILE
EDITH MUNOZ LORENZO                       ADDRESS ON FILE
EDITH N RIOS RIVERA                       ADDRESS ON FILE
EDITH N. VARGAS PEREZ                     ADDRESS ON FILE
EDITH NIEVES ALDEA / YAMIRA RIOS NIEVES   ADDRESS ON FILE
EDITH O BERRIOS QUINONES                  ADDRESS ON FILE
EDITH OTERO BRACERO                       ADDRESS ON FILE
EDITH PEREZ / RICARDO J ALMEYDA           ADDRESS ON FILE
EDITH PEREZ JIMENEZ                       ADDRESS ON FILE
EDITH PEREZ LOPEZ                         ADDRESS ON FILE
EDITH PEREZ POSSO & BUFETE CRUZ, RIVERA   ADDRESS ON FILE
EDITH QUIðONES ORTIZ                      ADDRESS ON FILE
EDITH QUIðONES ORTIZ                      ADDRESS ON FILE
EDITH QUINONES ORTIZ                      ADDRESS ON FILE
EDITH QUINONES ORTIZ                      ADDRESS ON FILE
EDITH QUINONES ORTIZ                      ADDRESS ON FILE
EDITH QUINONESPIZARRO                     ADDRESS ON FILE
EDITH R COLON FRATICELLI                  ADDRESS ON FILE
EDITH RAMOS ADAMES                        ADDRESS ON FILE
EDITH RIERA MARIANI                       ADDRESS ON FILE
EDITH RIERA RIERA                         ADDRESS ON FILE
EDITH RIVERA DONATE                       ADDRESS ON FILE
EDITH ROBLES SANTIAGO                     ADDRESS ON FILE
EDITH RODRIGUEZ & JOSE RAMOS              ADDRESS ON FILE
EDITH RODRIGUEZ LAUREANO                  ADDRESS ON FILE
EDITH RODRIGUEZ REYES                     ADDRESS ON FILE
EDITH SANTIAGO HERNANDEZ                  ADDRESS ON FILE
EDITH SANTIAGO SANTIAGO                   ADDRESS ON FILE
EDITH SANTOS SILVESTRY                    ADDRESS ON FILE
EDITH SEPULVEDA NEGRON                    ADDRESS ON FILE
EDITH TORRES DAVILA                       ADDRESS ON FILE
EDITH VAZQUEZ RODRIGUEZ                   ADDRESS ON FILE
EDITH VEGA ROLON                          ADDRESS ON FILE
EDITH VIDAL VARGAS                        ADDRESS ON FILE
EDITH W ORTIZ MUJICA                      ADDRESS ON FILE
EDITH Y ROMERO GIRON                      ADDRESS ON FILE
EDITH Y SIERRA SORRENTINI                 ADDRESS ON FILE
EDITH Y. RIVERA CINTRON                   ADDRESS ON FILE
EDITORIAL AMERICA SA                      635 NW 36TH STREET                                                                            VIRGINIA GARDENS   FL      33166
EDITORIAL AMERICA SA                      PO BOX 10988              DES MOINES                                                          IOWA               IA      50347‐0988
EDITORIAL CORDILLERA INC                  PO BOX 3148                                                                                   GUAYNABO           PR      00970‐3148
EDITORIAL CRISMARC PUBLISHING             PO BOX 1956                                                                                   EAGLE LAKE         FL      33838
EDITORIAL CULTURAL, INC.                  PO BOX 21056                                                                                  SAN JUAN           PR      00928
EDITORIAL EDIL INC                        PO BOX 23088                                                                                  SAN JUAN           PR      00931
EDITORIAL EDIL INC.                       BOX 23088 UPR STA                                                                             RIO PIEDRAS        PR      00931
EDITORIAL EL ANTILLANO INC                P O BOX 12212                                                                                 SAN JUAN           PR      00914‐0212
EDITORIAL ESCUELAS DEL FUTURO INC         P O BOX 50091                                                                                 TOA BAJA           PR
EDITORIAL ESPUELA INC                     PO BOX 11773                                                                                  SAN JUAN           PR      00922
EDITORIAL FORUM INC                       PARQUE SENORIAL           A 4 CALLE 1                                                         SAN JUAN           PR      00926
EDITORIAL GREDOS                          SANCHEZ PACHECO 85                                                                            MADRID                     28002        SPAIN
EDITORIAL IURIS                           AVE MANUEL BELGRANO       5832 PLANTA BAJA DTO 8 WILDE                                        BUENOS AIRES               1875         ARGENTINA
EDITORIAL LECTOR                          PO BOX 192039                                                                                 SAN JUAN           PR      00919‐2039
EDITORIAL MANOS                           PO BOX 194775                                                                                 SAN JUAN           PR      00919
EDITORIAL MC GRAW‐HILL                    1121 AVE MUÐOZ RIVERA                                                                         SAN JUAN           PR      00925
EDITORIAL MC GRAW‐HILL                    1121 AVE MUNOZ RIVERA                                                                         SAN JUAN           PR      00925
EDITORIAL MC GRAW‐HILL                    PO BOX 20712                                                                                  SAN JUAN           PR      00928
EDITORIAL MCGRAW HILL INC                 1121 AVE MUNOZ RIVERA                                                                         SAN JUAN           PR      00928




                                                                                                   Page 2471 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2472 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                 Address2                                  Address3        Address4   City         State   PostalCode   Country
EDITORIAL MCGRAW HILL INC               PO BOX 20712                                                                                                  SAN JUAN     PR      00928
EDITORIAL PANAMERICANA / ORIENTAL GROUP GALERIA SAN PATRICIO                     B 5 CALLE TABONUCO                                                   GUAYNABO     PR      00969
EDITORIAL PANAMERICANA / ORIENTAL GROUP P O BOX 25189                                                                                                 SAN JUAN     PR      00928
EDITORIAL PANAMERICANA INC              URB PUERTO NUEVO                         AVE ROOSEVELT 1336                                                   SAN JUAN     PR      00920
EDITORIAL PANAMERICANA INC              WEINSTEIN‐BACAL, MILLER & VEGA, P.S.C.   GONZÁLEZ‐PADÍN BUILDING – PENTHOUSE 154 RPLAZA DE ARMAS              SAN JUAN     PR      00901
EDITORIAL PANAMERICANA INC.             1050 AVE P DE LEON                                                                                            SAN JUAN     PR      00925
EDITORIAL PANAMERICANA INC.             PO BOX 25189                                                                                                  SAN JUAN     PR      00928‐5189
EDITORIAL PANAMERICANA INC.             SUCURSAL PONCE PLAZA                     CALL BOX 191009                                                      SAN JUAN     PR      00919‐1009
EDITORIAL PANAMERICANA, INC.            AVE. F.D. ROOSEVELT #1336                PUERTO NUEVO                                                         SAN JUAN     PR      00920
EDITORIAL PLAZA MAYOR INC               1500 AVE PONCE DE LEON                   LOCAL 2 EL CINCO                                                     SAN JUAN     PR      00926
EDITORIAL PLAZA MAYOR, INC              PO BOX 3148                                                                                                   GUAYNABO     PR      00970‐3148
EDITORIAL PRIMERA HORA                  PO BOX 2009                                                                                                   CATANO       PR      00963‐2009
EDITORIAL PRIMERA HORA INC              P O BOX 71471                                                                                                 SAN JUAN     PR      00936
EDITORIAL PRIMERA HORA INC              PO BOX 2009                                                                                                   CATAÐO       PR      00966
EDITORIAL RIO INGENIO INC               RIO HONDO II                             AH 14 CALLE RIO INGENIO                                              BAYAMON      PR      00961
EDITORIAL TSUNAMI EDUCATIVA             VILLA NEVAREZ                            1066 CALLE 19                                                        SAN JUAN     PR      00927
EDIVETTE SANTIAGO CARTAGENA             ADDRESS ON FILE
EDIVIA CRESPO DE RIOS                   ADDRESS ON FILE
EDIVIA CRESPO PEREZ                     ADDRESS ON FILE
EDLEN M BIGAS QUI¥ONES                  ADDRESS ON FILE
EDLIN MARTINEZ TORRES                   ADDRESS ON FILE
EDLYN M SUAREZ VAZQUEZ                  ADDRESS ON FILE
EDLYN RIVERA CRUZ                       ADDRESS ON FILE
EDM MUSIC INC                           URB MUNOZ RIVERA                         73 CALLE ESMERALDA                                                   GUAYNABO     PR      00969
EDMALIS M RODRIGUEZ LEON                ADDRESS ON FILE
EDMANUEL APONTE BADILLO                 ADDRESS ON FILE
EDMANUEL FUENTES PINTO                  ADDRESS ON FILE
EDMANUEL J MENDEZ OSORIO                ADDRESS ON FILE
EDMAR F SEMINARIO MORALES               ADDRESS ON FILE
EDMARI VEGA SANTIAGO                    ADDRESS ON FILE
EDMARIE BONILLA AYES                    ADDRESS ON FILE
EDMARIE CHINEA GARCIA                   ADDRESS ON FILE
EDMARIE CHINEA GARCIA                   ADDRESS ON FILE
EDMARIE GUZMAN VELEZ                    ADDRESS ON FILE
EDMARIE LOPEZ VALENTIN                  ADDRESS ON FILE
EDMARIE MORALES MARRERO                 ADDRESS ON FILE
EDMARIE RAMIREZ VELAZQUEZ               ADDRESS ON FILE
EDMARIE REYES FERNANDEZ                 ADDRESS ON FILE
EDMARIE RIVERA PEREZ                    ADDRESS ON FILE
EDMARIE RIVERA SANTIAGO                 ADDRESS ON FILE
EDMARIE RODRIGUEZ RAMOS                 ADDRESS ON FILE
EDMARIE SANTIAGO MEJIAS                 ADDRESS ON FILE
EDMARIE SANTIAGO NEGRON                 ADDRESS ON FILE
EDMARIE VELAZQUEZ SANTOS                ADDRESS ON FILE
EDMARIE VERDEJO VAZQUEZ                 ADDRESS ON FILE
EDMARY HERNANDEZ RODRIGUEZ              ADDRESS ON FILE
EDMARY PEREZ COLON                      ADDRESS ON FILE
EDMARYS TEISSONNIERE QUINONES           ADDRESS ON FILE
EDMARYS TEISSONNIERE QUINONES           ADDRESS ON FILE
EDMEE I SOTO MATOS                      ADDRESS ON FILE
EDMEE S PEREZ MUNIZ                     ADDRESS ON FILE
EDMEE S PEREZ MUNIZ                     ADDRESS ON FILE
EDMEE S VALLE CRESPO                    ADDRESS ON FILE
EDMEE VINCENTY                          EDIF VICK CENTER C‐100                   867 AVE MUNOZ RIVERA                                                 SAN JUAN     PR      00925
EDMEE ZEIDAN CUEVAS                     ADDRESS ON FILE
EDMER HERNANDEZ MELENDEZ                ADDRESS ON FILE
EDMIE JIMENEZ MARTELL                   ADDRESS ON FILE
EDMIL M HERNANDEZ ROBLES                ADDRESS ON FILE
EDMIL M. HERNANDEZ ROBLES               ADDRESS ON FILE
EDMILUZ GUADALUPE ALVARADO              ADDRESS ON FILE




                                                                                                            Page 2472 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2473 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                           Address1                                 Address2                     Address3       Address4   City         State   PostalCode   Country
EDMIR MORALES LAMBOY                    ADDRESS ON FILE
EDMUNDO A VEDANO PEREZ                  ADDRESS ON FILE
EDMUNDO ÁLVAREZ CRUZ                    LCDO. FERNANDO BARNÉS ROSICH‐ABOGADO DEPO BOX 331031                                            Ponce        PR      00733‐1031
EDMUNDO ÁLVAREZ CRUZ                    LCDO. JOSÉ MARTÍNEZ CUSTODIO‐ABOGADO MUPO BOX 599                                               UTUADO       PR      00641‐0599
EDMUNDO C IRIZARRY SANTIAGO             ADDRESS ON FILE
EDMUNDO CHEUNG FUNG                     ADDRESS ON FILE
EDMUNDO DISDIER V DEPARTAMENTO DE JUSTICLCDO. CESAR A. LUGO CARDONA ASOCIACIÓN DE(AEELA)                      PO BOX 70199              SAN JUAN     PR      00936‐8190
EDMUNDO DONATIU HIND                    ADDRESS ON FILE
EDMUNDO GONZALEZ RODRIGUEZ              ADDRESS ON FILE
EDMUNDO IRIZARRY BETANCOURT             ADDRESS ON FILE
EDMUNDO JIMENEZ MONTIJO                 ADDRESS ON FILE
EDMUNDO MARCIAL JUSINO                  ADDRESS ON FILE
EDMUNDO N KRAISELBURD                   ADDRESS ON FILE
EDMUNDO QUINONES SOTO                   ADDRESS ON FILE
EDMUNDO RIVERA FERRER                   ADDRESS ON FILE
EDMUNDO RIVERA RIVERA                   ADDRESS ON FILE
EDMUNDO RODRIGUEZ GORBEA                ADDRESS ON FILE
EDMUNDO RODRIGUEZ GORBEA                ADDRESS ON FILE
EDMUNDO SANTIAGO                        ADDRESS ON FILE
EDMUNDO TORRES ROBLES                   ADDRESS ON FILE
EDMUNDO VAZQUEZ RAMIREZ                 ADDRESS ON FILE
EDMUNSON, SHAWNA                        ADDRESS ON FILE
EDMY LUZ SUAREZ OSORIO                  ADDRESS ON FILE
EDMY S COLON HERNANDEZ                  ADDRESS ON FILE
EDMY W MALAVE VIZCAYA                   ADDRESS ON FILE
EDN CONSULTING GROUP LLC                701 AVE. PONCE DE LEON                   SUITE 309                                              SAN JUAN     PR      00907
EDN CONSULTING GROUP LLC CORP           701 AVE PONCE DE LEON STE 309                                                                   SAN JUAN     PR      00907
EDNA A DIAZ NUNEZ                       ADDRESS ON FILE
EDNA A DIAZ NUNEZ                       ADDRESS ON FILE
EDNA A DIAZ NUNEZ                       ADDRESS ON FILE
EDNA A DIAZ NUNEZ                       ADDRESS ON FILE
EDNA A DIAZ NUNEZ                       ADDRESS ON FILE
EDNA A DIAZ NUNEZ                       ADDRESS ON FILE
EDNA A RIVERA SANTIAGO                  ADDRESS ON FILE
EDNA A SILVESTRINI VIRUET               ADDRESS ON FILE
EDNA ACEVEDO PASTRANA                   ADDRESS ON FILE
EDNA ANGELI Y DORIS ANGELI              ADDRESS ON FILE
EDNA ARROYO LOPERENA                    ADDRESS ON FILE
EDNA AVILES RODRIGUEZ                   ADDRESS ON FILE
EDNA B PEREZ FREYTES                    ADDRESS ON FILE
EDNA BENITEZ DELGADO                    ADDRESS ON FILE
EDNA BENITEZ DELGADO                    ADDRESS ON FILE
EDNA C BONNET VAZQUEZ                   ADDRESS ON FILE
EDNA CARABALLO RUIZ                     ADDRESS ON FILE
EDNA CORAZON ROBLES                     ADDRESS ON FILE
Edna Correa Rivera                      ADDRESS ON FILE
EDNA CUEVAS CARRION                     ADDRESS ON FILE
EDNA D MUNOZ                            ADDRESS ON FILE
EDNA D TORRES ALEMAN                    ADDRESS ON FILE
EDNA DELGADO QUINONES                   ADDRESS ON FILE
EDNA E CRUZ RESTO                       ADDRESS ON FILE
EDNA E GUZMAN RIVERA                    ADDRESS ON FILE
EDNA E LARACUENTE RIVERA                ADDRESS ON FILE
EDNA E NIEVES FLORAN                    ADDRESS ON FILE
EDNA E SANTIAGO CAMACHO                 ADDRESS ON FILE
EDNA E SANTIAGO GALARZA                 ADDRESS ON FILE
EDNA E VARGAS GOICOECHEA                ADDRESS ON FILE
EDNA E. PADILLA ZAPATA                  ADDRESS ON FILE
EDNA E. PADILLA ZAPATA                  ADDRESS ON FILE
EDNA E. RULLAN GUZMAN                   ADDRESS ON FILE




                                                                                               Page 2473 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2474 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                      Address1                                   Address2                      Address3         Address4   City              State   PostalCode   Country
EDNA F RIVERA RODRIGUEZ            ADDRESS ON FILE
EDNA FLORES DAVILA                 ADDRESS ON FILE
EDNA FRED GARCIA                   ADDRESS ON FILE
EDNA G DE JESUS OTERO              ADDRESS ON FILE
EDNA G RIVERA FELIX                ADDRESS ON FILE
EDNA G RIVERA ORAMAS               ADDRESS ON FILE
EDNA GARCIA PINEDA                 ADDRESS ON FILE
EDNA GIBOYEAUX TELEMACO            ADDRESS ON FILE
EDNA GODREAU TORRES                ADDRESS ON FILE
EDNA GODREAU TORRES                ADDRESS ON FILE
EDNA GODREAU/ ALEXANDER KUHLMANN   ADDRESS ON FILE
EDNA GONZALEZ INC                  BO LAS VEGAS                               BUZON 23605                                               CAYEY             PR      00736
EDNA GONZALEZ ROSARIO              ADDRESS ON FILE
EDNA GUADALUPE CRUZ                ADDRESS ON FILE
EDNA H MEI ORTIZ                   ADDRESS ON FILE
EDNA H OCTAVIANI VELEZ             ADDRESS ON FILE
EDNA I COLON LOPEZ                 ADDRESS ON FILE
EDNA I CRUZ ESTRADA                ADDRESS ON FILE
EDNA I DIAZ DE JESUS               ADDRESS ON FILE
EDNA I DIAZ VEGA                   ADDRESS ON FILE
EDNA I GARCIA COLON                ADDRESS ON FILE
EDNA I GONZALEZ GONZALEZ           ADDRESS ON FILE
EDNA I GONZALEZ MORALES            ADDRESS ON FILE
EDNA I GONZALEZ MORALES            ADDRESS ON FILE
EDNA I LABRADOR MALDONADO          ADDRESS ON FILE
EDNA I LARACUENTE ORTIZ            ADDRESS ON FILE
EDNA I. DOLZ SOTOMAYOR             ADDRESS ON FILE
EDNA I. MASSO PEREZ                ADDRESS ON FILE
Edna I. Pecunia MuNoz              ADDRESS ON FILE
EDNA IRIS LEON JIMENEZ             ADDRESS ON FILE
EDNA IRIS PONCE PEREZ              ADDRESS ON FILE
EDNA IVONNE GONZALEZ GONZALEZ      ADDRESS ON FILE
EDNA IVONNE GONZALEZ GONZALEZ      ADDRESS ON FILE
EDNA J FIGUEROA PENA               ADDRESS ON FILE
EDNA J MONTANEZ BAEZ               ADDRESS ON FILE
EDNA J VALLE TORRES                ADDRESS ON FILE
EDNA JUSINO TORRES                 ADDRESS ON FILE
EDNA L BURGOS FERRER               ADDRESS ON FILE
EDNA L COLLAZO CONCEPCION          ADDRESS ON FILE
EDNA L CURCIO FORTIS               ADDRESS ON FILE
EDNA L DELGADO DE JESUS            ADDRESS ON FILE
EDNA L FELIX ORTIZ                 ADDRESS ON FILE
EDNA L NEGRON WEBER                PO BOX 429                                                                                           SABANA GRANDE     PR      00637
EDNA L PADILLA RUIZ                ADDRESS ON FILE
EDNA L RIVERA ABADIA               ADDRESS ON FILE
EDNA L SOTO CERVANTES              ADDRESS ON FILE
EDNA L TORRES RAMOS                ADDRESS ON FILE
EDNA L VELAZQUEZ SANTIAGO          ADDRESS ON FILE
EDNA L. CASTRO RODRIGUEZ           ADDRESS ON FILE
Edna L. QuiNonez Alvarez           ADDRESS ON FILE
EDNA L. SOTO CERVANTES             LCDA. GENOVEVA VALENTÍN SOTO; SR. LUIS A. MPO BOX 13695                                              SAN JUAN          PR      00908‐3695
                                                                                                            1353 AVE. LUIS
EDNA L. SOTO CERVANTES             LCDA. YARLENE JIMENEZ ROSARIO             PMB 133                        VIGOREAUX                   GUAYNABO          PR      00966‐2700
EDNA L. VELAZQUEZ                  ADDRESS ON FILE
EDNA L. VELAZQUEZ ALVAREZ          ADDRESS ON FILE
EDNA LIZ NAVARRO GARCIA            ADDRESS ON FILE
EDNA LIZBETH HERNANDEZ RIVERA      ADDRESS ON FILE
EDNA LIZBETH HERNANDEZ RIVERA      ADDRESS ON FILE
EDNA LLORENS QUINONES              ADDRESS ON FILE
EDNA LLORENS QUINONES              ADDRESS ON FILE




                                                                                             Page 2474 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2475 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                     Address2                      Address3   Address4   City            State   PostalCode   Country
EDNA LUZ RODRIGUEZ ZAVALA                ADDRESS ON FILE
EDNA M BARRETO CALDERON                  ADDRESS ON FILE
EDNA M BERRIOS VARELA                    ADDRESS ON FILE
EDNA M CUEVAS RUIZ                       ADDRESS ON FILE
EDNA M DIAZ RIVERA                       ADDRESS ON FILE
EDNA M ESCLAVON MATIAS                   ADDRESS ON FILE
EDNA M FLORES CRUZ                       ADDRESS ON FILE
EDNA M IDELFONSO ORTIZ                   ADDRESS ON FILE
EDNA M LOPEZ CINTRON                     ADDRESS ON FILE
EDNA M MARTINEZ RIVERA                   ADDRESS ON FILE
EDNA M NEGRON GORGAS                     ADDRESS ON FILE
EDNA M NEGRON VAZQUEZ                    ADDRESS ON FILE
EDNA M PEREZ ESCOBAR                     ADDRESS ON FILE
EDNA M RIVERA RAMOS                      ADDRESS ON FILE
EDNA M RIVERA RAMOS                      ADDRESS ON FILE
EDNA M ROMAN PAOLI                       ADDRESS ON FILE
EDNA M. CARDONA TIRADO                   ADDRESS ON FILE
EDNA M. GAUD PEREZ                       ADDRESS ON FILE
EDNA M. VILLEGAS FALU                    ADDRESS ON FILE
EDNA M. VIROLA SANCHEZ                   ADDRESS ON FILE
EDNA MARIA KERCADO SANCHEZ               ADDRESS ON FILE
EDNA MARIN RAMOS                         ADDRESS ON FILE
EDNA MARRERO TORRES                      ADDRESS ON FILE
EDNA MARTINEZ CALDERON                   ADDRESS ON FILE
EDNA MARTINEZ RIVERA                     ADDRESS ON FILE
EDNA MEDERO MONTAðEZ                     ADDRESS ON FILE
EDNA MEDERO MONTANEZ                     ADDRESS ON FILE
EDNA MEDERO MONTANEZ                     ADDRESS ON FILE
EDNA MELENDEZ BURGOS                     ADDRESS ON FILE
EDNA MOLINA SANCHEZ                      ADDRESS ON FILE
EDNA N SAEZ SANCHEZ                      ADDRESS ON FILE
EDNA N. FLORES CORTES                    ADDRESS ON FILE
EDNA NEGRON BATISTA                      ADDRESS ON FILE
EDNA NELSON NIEVES                       ADDRESS ON FILE
EDNA NIEVES GARCIA                       ADDRESS ON FILE
EDNA OLIVERAS MARTINEZ                   ADDRESS ON FILE
EDNA ORTA CARDONA                        LCDO. EDWIN RIVERA CINTRON   PO BOX 1098                                         LAS PIEDRAS     PR      00771
EDNA ORTIZ MONTANEZ                      ADDRESS ON FILE
EDNA PAGÁN DE RIVERA                     ADDRESS ON FILE
EDNA PANELLI DE BALLESTER                ADDRESS ON FILE
EDNA PENA MAYZONET                       ADDRESS ON FILE
EDNA PONCE PEREZ                         ADDRESS ON FILE
EDNA QUINONES BARRIS                     ADDRESS ON FILE
EDNA R RIOS COLON                        ADDRESS ON FILE
EDNA R. QUINONES ‐ JUAN E QUINONES‐TUTOR ADDRESS ON FILE
EDNA R. REYES RIVERA                     ADDRESS ON FILE
EDNA RENTAS MIRANDA                      ADDRESS ON FILE
EDNA REYES MORALES                       ADDRESS ON FILE
EDNA RIVERA                              ADDRESS ON FILE
EDNA RIVERA RAMOS                        ADDRESS ON FILE
EDNA RIVERA RODRIGUEZ                    ADDRESS ON FILE
EDNA ROA GIL                             ADDRESS ON FILE
EDNA RODAS MONTALVO                      ADDRESS ON FILE
EDNA RODRIGUEZ / ESLI MEDINA             ADDRESS ON FILE
EDNA RODRIGUEZ CARABALLO                 ADDRESS ON FILE
EDNA RODRIGUEZ CARABALLO                 ADDRESS ON FILE
EDNA RODRIGUEZ MALAVE                    ADDRESS ON FILE
EDNA RODRIGUEZ MALAVE                    ADDRESS ON FILE
EDNA RODRIGUEZ MERCADO                   ADDRESS ON FILE
EDNA RODRIGUEZ MERCADO                   ADDRESS ON FILE




                                                                                     Page 2475 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2476 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                           Address1                      Address2                                    Address3   Address4   City              State   PostalCode   Country
EDNA RODRIGUEZ MERCADO                  ADDRESS ON FILE
EDNA RODRIGUEZ MERCADO                  ADDRESS ON FILE
EDNA RODRIGUEZ MUNIZ CARLOS MEDINA CEDE ADDRESS ON FILE
EDNA RODRIGUEZ NEGRON                   ADDRESS ON FILE
EDNA RODRIGUEZ RODRIGUEZ                ADDRESS ON FILE
EDNA ROJAS TORRES                       ADDRESS ON FILE
EDNA ROSARIO SANTIAGO                   ADDRESS ON FILE
EDNA ROZAS MERA                         ADDRESS ON FILE
EDNA S. ALONSO ROMAN                    ADDRESS ON FILE
EDNA S. TORRES PEREZ                    ADDRESS ON FILE
EDNA SANTIAGO                           ADDRESS ON FILE
EDNA SEGUINOT VELEZ                     ADDRESS ON FILE
EDNA SOLER MORALES                      ADDRESS ON FILE
EDNA SOLER TORRES                       ADDRESS ON FILE
EDNA SOTO CERVANTES                     GENOVEVA VALENTÍN SOTO        PO BOX 13695                                                      SAN JUAN          PR      00908‐3695
EDNA TIRADO MONTANEZ                    ADDRESS ON FILE
EDNA TORRES GUZMAN                      ADDRESS ON FILE
EDNA VAZQUEZ DE BONNET                  ADDRESS ON FILE
EDNA VILLANUEVA                         ADDRESS ON FILE
EDNA Y IRIZARRY                         ADDRESS ON FILE
EDNA Y. NAZARIO CUEVAS                  ADDRESS ON FILE
EDNA Z ROMERO PENA                      ADDRESS ON FILE
EDNA Z. GUZMAN                          ADDRESS ON FILE
EDNALY ORTIZ / ADRIANA ORTIZ            ADDRESS ON FILE
EDNAN RIVERA RIVERA                     ADDRESS ON FILE
EDNARDO CORTES HERNANDEZ                ADDRESS ON FILE
EDNEIRA MENDEZ SALAS                    ADDRESS ON FILE
EDNEM FAMILY MEDICINE                   MEDICAL RECORDS DEPT          STE 100 7148 CURRY FORD RD                                        ORLANDO           FL      32822
EDNER AYALA NARVAEZ                     ADDRESS ON FILE
EDNERIS CALDERON POLACO                 ADDRESS ON FILE
EDNICE RIVERA VAZQUEZ                   ADDRESS ON FILE
EDNILDA COLON RIVERA                    ADDRESS ON FILE
EDNISE M ROMAN RUPERTO                  ADDRESS ON FILE
EDNISE M. ROMAN RUPERTO                 ADDRESS ON FILE
EDNITA COSME ROSADO                     ADDRESS ON FILE
EDNY SANTIAGO FRANCESCHI                ADDRESS ON FILE
EDNYBET RIVERA LABOY                    ADDRESS ON FILE
EDNYDIA PADILLA VAZQUEZ                 ADDRESS ON FILE
EDNYDIA VAZQUEZ                         ADDRESS ON FILE
EDOUARD F LAFONTANT HUTTINOT            ADDRESS ON FILE
EDOVIGES MORALES MUNIZ                  ADDRESS ON FILE
EDP COLLEGE OF PR INC                   555 AVE MUNOZ RIVERA                                                                            SAN JUAN          PR      00918
EDP COLLEGE OF PR INC                   560 AVE PONCE DE LEON                                                                           SAN JUAN          PR      00918
EDP COLLEGE OF PR INC                   PO BOX 1674                                                                                     SAN SEBASTIAN     PR      00685
EDP COLLEGE OF PR INC                   PO BOX 192303                                                                                   SAN JUAN          PR      00919‐2303
EDP UNIVERSITY                          RECAUDACIONES PO BOX 192303                                                                     SAN JUAN          PR      00919‐2303
EDP UNIVERSITY OF PR INC                PO BOX 192300                                                                                   SAN JUAN          PR      00919‐2303
EDR SOLUTIONS LLC                       PMB 291                       35 JUAN C BORBON STE 67                                           GUAYNABO          PR      00969‐5375
EDRA NAZARIO DENIZARD                   ADDRESS ON FILE
EDRASAIL CUEVAS ACEVEDO                 ADDRESS ON FILE
EDRASS MEDINA VEGA                      ADDRESS ON FILE
EDRIC G ROSADO VELEZ                    ADDRESS ON FILE
EDRIC NAVARRO DELGADO                   ADDRESS ON FILE
EDRIC VAZQUEZ MUNOZ                     ADDRESS ON FILE
EDRIC VIVONI GONZALEZ                   ADDRESS ON FILE
EDRICK CASTILLO RODRIGUEZ               ADDRESS ON FILE
EDRICK G VAZQUEZ                        ADDRESS ON FILE
EDRICK G. LUGO MILLAN                   ADDRESS ON FILE
EDRICK LASSALLE SOTO                    ADDRESS ON FILE
EDRICK MARTI PEREZ                      ADDRESS ON FILE




                                                                                                   Page 2476 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2477 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                          Address1                       Address2                             Address3            Address4   City         State   PostalCode   Country
EDRICK ROSADO MONTES                   ADDRESS ON FILE
EDRICK SIERRA HERNANDEZ                ADDRESS ON FILE
EDRID I CASTRO Y AIDA C DIODONET       ADDRESS ON FILE
EDRIEL RIVERA JARDINE                  ADDRESS ON FILE
EDRIS MAYOL LLANOS                     ADDRESS ON FILE
EDRIZ SANTIAGO SAEZ                    ADDRESS ON FILE
EDROSA SOSA, VERONICA M                ADDRESS ON FILE
EDSAEL GARCIA RODRIGUEZ                ADDRESS ON FILE
EDSAL CRUZ V DEPARTAMENTO DE EDUCACION LCDA JELKA DUCHESNE SANABRIA   PO BOX 9020703                                                      SAN JUAN     PR      00902‐0703
EDSALL GARCIA, MERIANN                 ADDRESS ON FILE
EDSEL COLBERG PEREZ                    ADDRESS ON FILE
EDSEL COLBERG PEREZ                    ADDRESS ON FILE
EDSEL J ECHEVARRIA RIVERA              ADDRESS ON FILE
EDSEL L. BURGOS SOTO                   ADDRESS ON FILE
EDSEL R LOPEZ RAMIREZ                  ADDRESS ON FILE
EDSER LUGO FERRER                      ADDRESS ON FILE
EDSER LUGO GARCIA                      ADDRESS ON FILE
EDSHELL TORRES ORTIZ                   ADDRESS ON FILE
EDSON J LEBRON BOLIVAR                 ADDRESS ON FILE
EDSON MERCADO RIVERA                   ADDRESS ON FILE
EDSON NEGRON PADILLA                   ADDRESS ON FILE
EDSON S CARABALLO BONILLA              ADDRESS ON FILE
EDSON TORRES LOPEZ                     ADDRESS ON FILE
EDTRAS MONTANEZ BONILLA                ADDRESS ON FILE
EDU AMBIENTE INC                       ADDRESS ON FILE
EDU B. SUAREZ MARTINEZ                 ADDRESS ON FILE
EDU DEPORTES INC                       PO BOX 3450                                                                                        MAYAGUEZ     PR      00681
EDUACCION, INC.                        PO BOX 191779                                                                                      SAN JUAN     PR      00919‐1779
EDUARADO H MARTINEZ ECHEVARRIA         ENRIQUE MENDOZA MENDEZ         PO BOX 190404                                                       SAN JUAN     PR      00919‐0404
EDUARD A TORRES SANTIAGO               ADDRESS ON FILE
EDUARD TORRES MENDEZ                   ADDRESS ON FILE
EDUARDA BARRIOS HERNANDEZ              ADDRESS ON FILE
EDUARDA GONZALEZ ORTIZ                 ADDRESS ON FILE
EDUARDA GUZMAN MIESES                  ADDRESS ON FILE
EDUARDO A BINGS VALLES                 ADDRESS ON FILE
EDUARDO A CABRERA NIEVES               ADDRESS ON FILE
EDUARDO A DELANNOY SOTOMAYOR           ADDRESS ON FILE
EDUARDO A FIGUEROA MARTIN              ADDRESS ON FILE
EDUARDO A GONZALEZ SANTIAGO            ADDRESS ON FILE
EDUARDO A MATOS VIDAL                  ADDRESS ON FILE
EDUARDO A QUIJANO RIVERA               ADDRESS ON FILE
EDUARDO A TORRES RIVERA                ADDRESS ON FILE
EDUARDO A VENTOSA FEBLES               ADDRESS ON FILE
EDUARDO A. SANTIAGO QUINONES           ADDRESS ON FILE
EDUARDO ACEVEDO NIEVES Y NELSON D SOTO ADDRESS ON FILE
EDUARDO AGOSTO LOPEZ                   ADDRESS ON FILE
EDUARDO AGUILA ALDARONDO               ADDRESS ON FILE
EDUARDO AGUILA ALDARONDO               ADDRESS ON FILE
EDUARDO ALBERT CORREA                  ADDRESS ON FILE
EDUARDO ALBERT RIVERA                  ADDRESS ON FILE
EDUARDO ALBERTO LOPEZ TORRES           ADDRESS ON FILE
EDUARDO ALEJANDRO COWAN                ADDRESS ON FILE
EDUARDO ALEMANY NORIEGA                ADDRESS ON FILE
EDUARDO ALICEA CALIXTO                 ADDRESS ON FILE
EDUARDO ALVARADO FUENMAYOR             ADDRESS ON FILE
EDUARDO AMARO SANCHEZ                  ADDRESS ON FILE
EDUARDO ANDINO ESCALERA                ADDRESS ON FILE
EDUARDO ANDRES NOGUERAS GOMEZ          ADDRESS ON FILE
EDUARDO ANTONIO JIMENEZ MATTA          SARA CHICO MATOS               THE HATO REY CENTER                  268 Ponce DE LEON   STE 1123   SAN JUAN     PR      00918
EDUARDO ANTONIO SAEZ MALDONADO         ADDRESS ON FILE




                                                                                            Page 2477 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2478 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EDUARDO ARCE CUEVAS                ADDRESS ON FILE
EDUARDO ARROYO MENDEZ              ADDRESS ON FILE
EDUARDO ARROYO QUINONES            ADDRESS ON FILE
EDUARDO ARTAU FELICIANO            ADDRESS ON FILE
EDUARDO B LUGARO MORALES           ADDRESS ON FILE
EDUARDO BAEZ VELAZQUEZ             ADDRESS ON FILE
EDUARDO BARQUET INC                PO BOX 9022756                                                                   SAN JUAN     PR      00902‐2756
EDUARDO BARRIOS MERCADO            ADDRESS ON FILE
EDUARDO BELTRAN GONZALEZ           ADDRESS ON FILE
EDUARDO BRITO CRUZ                 ADDRESS ON FILE
EDUARDO BURGOS QUINONES            ADDRESS ON FILE
EDUARDO BURGOS RODRIGUEZ           ADDRESS ON FILE
EDUARDO BURGOS SIERRA              ADDRESS ON FILE
EDUARDO CALDERON MATTA             ADDRESS ON FILE
EDUARDO CANCEL MALDONADO           ADDRESS ON FILE
EDUARDO CANCIO GONZALEZ            ADDRESS ON FILE
EDUARDO CARABALLO AGOSTINI         ADDRESS ON FILE
EDUARDO CARDONA FIGUEROA           ADDRESS ON FILE
EDUARDO CARRION MELENDEZ           ADDRESS ON FILE
EDUARDO CASTELLANOS LA COSTA       ADDRESS ON FILE
EDUARDO CEDENO OLIVENCIA           ADDRESS ON FILE
EDUARDO CHAPERO JACKSON            ADDRESS ON FILE
EDUARDO CHEJADE AUAD               ADDRESS ON FILE
EDUARDO CHEVRES MARTINEZ           ADDRESS ON FILE
EDUARDO CINTRON RODRIGUEZ          ADDRESS ON FILE
EDUARDO COLON LUGO                 ADDRESS ON FILE
EDUARDO COLON ROCHE                ADDRESS ON FILE
EDUARDO COLON TORRES               ADDRESS ON FILE
EDUARDO CORDERO ACEVEDO            ADDRESS ON FILE
EDUARDO CORDERO CORDERO            ADDRESS ON FILE
EDUARDO COTTO CLEMENTE             ADDRESS ON FILE
EDUARDO CRUZ CARDONA               ADDRESS ON FILE
EDUARDO CRUZ CINTRON               ADDRESS ON FILE
EDUARDO CRUZ SOTO                  ADDRESS ON FILE
EDUARDO DAVILA CARRION             ADDRESS ON FILE
EDUARDO DE JESUS QUINONEZ          ADDRESS ON FILE
EDUARDO DELGADO SAN MIGUEL         ADDRESS ON FILE
EDUARDO DIAZ LOPEZ                 ADDRESS ON FILE
EDUARDO DIAZ MENDEZ                ADDRESS ON FILE
EDUARDO DIAZ RIVERA                ADDRESS ON FILE
EDUARDO DIFFUT                     ADDRESS ON FILE
EDUARDO E FRANKLIN ARCE            ADDRESS ON FILE
EDUARDO E MERCADO REYES            ADDRESS ON FILE
EDUARDO E PELLOT MUNIZ             ADDRESS ON FILE
EDUARDO E RIVERA PEREZ             ADDRESS ON FILE
EDUARDO E SABATES RAMOS            ADDRESS ON FILE
EDUARDO E ZALDUA VIVAS             ADDRESS ON FILE
EDUARDO E ZUNIGA HERNANDEZ         ADDRESS ON FILE
EDUARDO E. ZALDUA VIVAS            ADDRESS ON FILE
EDUARDO ECHEVARRIA ECHEVARRIA      ADDRESS ON FILE
EDUARDO ECHEVARRIA SANTIAGO        ADDRESS ON FILE
EDUARDO EMANUELLI                  ADDRESS ON FILE
EDUARDO ENRIQUE ZUNIGA HERNANDEZ   ADDRESS ON FILE
EDUARDO ESCALONA FERRER            ADDRESS ON FILE
EDUARDO EVANS BURGOS RIVERA        ADDRESS ON FILE
EDUARDO F AROSEMENA MUNOZ          ADDRESS ON FILE
EDUARDO F LOPEZ DE VICTORIA        ADDRESS ON FILE
EDUARDO F MUNDO ROSARIO            ADDRESS ON FILE
EDUARDO F ROSA VAZQUEZ             ADDRESS ON FILE
EDUARDO FAHME GONZALEZ             ADDRESS ON FILE




                                                                               Page 2478 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2479 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                           Address1                                 Address2                       Address3   Address4   City         State   PostalCode   Country
EDUARDO FERNANDEZ ROMANELLI             LCDO. RAMÓN ORTIZ CORTÉS (BUFETE PEDRO ORAPARTADO 9009                                        Ponce        PR      00732‐9009
EDUARDO FERRER & ASSOCIATES P S C       1509 LOPEZ LANDRON                       PISO 10                                              SAN JUAN     PR      00911
EDUARDO FERRER AMARO                    ADDRESS ON FILE
EDUARDO FERRER ASS PSC                  PO BOX 194985                                                                                 SAN JUAN     PR      00919‐4985
EDUARDO FIGUEROA                        ADDRESS ON FILE
EDUARDO FLORES SOTO                     ADDRESS ON FILE
EDUARDO FRATICELLI TORRES               ADDRESS ON FILE
EDUARDO FRATICELLI TORRES               ADDRESS ON FILE
EDUARDO G AMILL RODRIGUEZ               ADDRESS ON FILE
EDUARDO G FIGUEROA PADILLA              ADDRESS ON FILE
EDUARDO G MASSAS ALVAREZ                ADDRESS ON FILE
EDUARDO G REYES VEGA                    ADDRESS ON FILE
EDUARDO GALARZA HERNANDEZ               ADDRESS ON FILE
EDUARDO GARCIA ESCRIBANO                ADDRESS ON FILE
EDUARDO GARCIA GARCIA                   ADDRESS ON FILE
EDUARDO GARCIA PENA                     ADDRESS ON FILE
EDUARDO GARCIA PRUDENCIO                ADDRESS ON FILE
EDUARDO GARCIA TIRADO                   ADDRESS ON FILE
EDUARDO GONZALEZ                        ADDRESS ON FILE
EDUARDO GONZALEZ AUGUSTO                ADDRESS ON FILE
EDUARDO GONZALEZ DEL RIO                ADDRESS ON FILE
EDUARDO GONZALEZ FIOL                   ADDRESS ON FILE
EDUARDO GONZALEZ MAYSONET               ADDRESS ON FILE
EDUARDO GONZALEZ MEDINA                 ADDRESS ON FILE
EDUARDO GONZALEZ PUCHALES               ADDRESS ON FILE
EDUARDO GORROCHATEGUI VIGOREAUX         ADDRESS ON FILE
EDUARDO GORROCHATEGUI VIGOREAUX         ADDRESS ON FILE
EDUARDO GUERRA                          ADDRESS ON FILE
EDUARDO GUERRA                          ADDRESS ON FILE
EDUARDO GUTIERREZ LEON                  ADDRESS ON FILE
EDUARDO GUZMAN QUINONES                 ADDRESS ON FILE
EDUARDO H MARTINEZ ECHEVERRIA           ADDRESS ON FILE
EDUARDO HERNANDEZ DIAZ                  ADDRESS ON FILE
EDUARDO HERNANDEZ HERNANDEZ             ADDRESS ON FILE
EDUARDO HERNANDEZ HERNANDEZ             ADDRESS ON FILE
EDUARDO HERNANDEZ MUNOZ                 ADDRESS ON FILE
EDUARDO HERNANDEZ QUINONES              ADDRESS ON FILE
EDUARDO HERNANDEZ ROBLES                ADDRESS ON FILE
EDUARDO HERNANDEZ Y MICHELLE L RODRIGUEZADDRESS ON FILE
EDUARDO I ALVAREZ MARTINEZ              ADDRESS ON FILE
EDUARDO I ALVAREZ MARTINEZ              ADDRESS ON FILE
EDUARDO I QUINONES VARGAS               ADDRESS ON FILE
EDUARDO IBARRA ORTEGA                   ADDRESS ON FILE
EDUARDO IRIZARRY FERNANDEZ              ADDRESS ON FILE
EDUARDO IRIZARRY MENDEZ                 ADDRESS ON FILE
EDUARDO IRIZARRY MERCADO                ADDRESS ON FILE
EDUARDO IRIZARRY RIVAS                  ADDRESS ON FILE
EDUARDO J ARREDONDO VICIEDO             ADDRESS ON FILE
EDUARDO J FRANCO SANCHEZ                ADDRESS ON FILE
EDUARDO J HIDALGO SANTIAGO              ADDRESS ON FILE
EDUARDO J MAYORAL GARCIA                ADDRESS ON FILE
EDUARDO J MUNOZ MEDINA                  ADDRESS ON FILE
EDUARDO J NEGRON MENDEZ                 ADDRESS ON FILE
EDUARDO J ORTIZ COLLAZO                 ADDRESS ON FILE
EDUARDO J ORTIZ OLAN                    ADDRESS ON FILE
EDUARDO J PADILLA MUNIZ                 ADDRESS ON FILE
EDUARDO J RESTO LUCIANO                 ADDRESS ON FILE
EDUARDO J REYES SANTIAGO                ADDRESS ON FILE
EDUARDO J RIVERA CUADRADO               ADDRESS ON FILE
EDUARDO J RIVERA JUANATEY               ADDRESS ON FILE




                                                                                                 Page 2479 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2480 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                         Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
EDUARDO J ROBERT RIVERA               ADDRESS ON FILE
EDUARDO J RODRIGUEZ LOPEZ             ADDRESS ON FILE
EDUARDO J RODRIGUEZ SANTIAGO          ADDRESS ON FILE
EDUARDO J ROSADO OCASIO               ADDRESS ON FILE
EDUARDO J SANCHEZ GARCIA              ADDRESS ON FILE
EDUARDO J SANTIAGO MONTES             ADDRESS ON FILE
EDUARDO J SANTIAGO PARRILLA           ADDRESS ON FILE
EDUARDO J TORRES RODRIGUEZ            ADDRESS ON FILE
EDUARDO J VINAS NEGRON                ADDRESS ON FILE
EDUARDO J. CORDERO TORRES             ADDRESS ON FILE
EDUARDO J. GONZALEZ BONILLA           ADDRESS ON FILE
EDUARDO J. HERNANDEZ PONS             ADDRESS ON FILE
EDUARDO JAVIER MORALES VICENTE        ADDRESS ON FILE
EDUARDO JIMENEZ CORTES                ADDRESS ON FILE
EDUARDO JIMENEZ MATTA                 ADDRESS ON FILE
EDUARDO JOSE RODRIGUEZ RODRIGUEZ      ADDRESS ON FILE
EDUARDO L ARRUFAT RONDO/ EDUARDO ARRUFADDRESS ON FILE
EDUARDO L BURGOS RIVERA               ADDRESS ON FILE
EDUARDO L COLLAZO ALEJANDRO           ADDRESS ON FILE
EDUARDO L FIGUEROA RODRIGUEZ          ADDRESS ON FILE
EDUARDO L GARCIA COSCULLUELA          ADDRESS ON FILE
EDUARDO L HERNANDEZ LOPEZ             ADDRESS ON FILE
EDUARDO L MENDEZ MENDEZ               ADDRESS ON FILE
EDUARDO L QUINONES RAMOS              ADDRESS ON FILE
EDUARDO L SERRANO TORRES              ADDRESS ON FILE
EDUARDO LANDRÓN SILVA                 ADDRESS ON FILE
EDUARDO LANZO FIGUEROA                ADDRESS ON FILE
EDUARDO LAUREANO MARTINEZ             ADDRESS ON FILE
EDUARDO LLAURADO VIZCARRONDO          ADDRESS ON FILE
EDUARDO LOPEZ AYALA                   ADDRESS ON FILE
EDUARDO LOPEZ AYUSO                   ADDRESS ON FILE
EDUARDO LOPEZ SERRANO                 ADDRESS ON FILE
EDUARDO LUIS RODRIGUEZ RAMOS          ADDRESS ON FILE
EDUARDO LUNA GONZALEZ                 ADDRESS ON FILE
EDUARDO M ARROYO & ASSOC              ADDRESS ON FILE
EDUARDO M CRUZ ROSADO                 ADDRESS ON FILE
EDUARDO M FLORES COLLAZO              ADDRESS ON FILE
EDUARDO M QUINONES RAMOS              ADDRESS ON FILE
EDUARDO M SURENS PADILLA              ADDRESS ON FILE
EDUARDO M TOBAJA DBA ADVANCE TECHNOLOGBMS 333                    PO BOX 607061                                          BAYAMON      PR      00960
EDUARDO M. RODRIGUEZ MOLINA           ADDRESS ON FILE
EDUARDO MAIZ ACEVEDO                  ADDRESS ON FILE
EDUARDO MALAVE APONTE                 ADDRESS ON FILE
EDUARDO MALDONADO CRESPO              ADDRESS ON FILE
EDUARDO MALDONADO DAVILA              ADDRESS ON FILE
EDUARDO MALDONADO MALDONADO           ADDRESS ON FILE
EDUARDO MALDONADO RIVERA              ADDRESS ON FILE
EDUARDO MALDONADO RUIZ                ADDRESS ON FILE
EDUARDO MARQUEZ SANTOS                ADDRESS ON FILE
EDUARDO MARRERO MALDONADO             ADDRESS ON FILE
EDUARDO MARRERO SANTIAGO              ADDRESS ON FILE
EDUARDO MARTI DELGADO                 ADDRESS ON FILE
EDUARDO MARTI MARTINEZ                ADDRESS ON FILE
EDUARDO MARTINEZ CORREA               ADDRESS ON FILE
EDUARDO MARTINEZ CRUZ                 ADDRESS ON FILE
EDUARDO MARTINEZ DEL VALLE            ADDRESS ON FILE
EDUARDO MARTINEZ PRADO                ADDRESS ON FILE
EDUARDO MARTINEZ RIVERA               ADDRESS ON FILE
EDUARDO MARTINEZ SANTIAGO             ADDRESS ON FILE
EDUARDO MARTINO MORALES               ADDRESS ON FILE




                                                                                   Page 2480 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2481 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                             Address1                       Address2                                 Address3            Address4   City         State   PostalCode   Country
EDUARDO MATIAS CORTES                     ADDRESS ON FILE
EDUARDO MATOS HERNANDEZ                   ADDRESS ON FILE
EDUARDO MEDINA SANCHEZ                    ADDRESS ON FILE
EDUARDO MELENDEZ RODRIGUEZ                ADDRESS ON FILE
EDUARDO MELENDEZ TORRES                   ADDRESS ON FILE
EDUARDO MENDEZ MEJIAS                     ADDRESS ON FILE
EDUARDO MENDOZA CANUELAS                  ADDRESS ON FILE
EDUARDO MENDOZA MELENDEZ                  ADDRESS ON FILE
EDUARDO MIRABAL RODRIGUEZ                 ADDRESS ON FILE
EDUARDO MIRANDA TIRADO                    ADDRESS ON FILE
EDUARDO MOLINA SANTIAGO                   ADDRESS ON FILE
EDUARDO MORALES AGUIAR                    ADDRESS ON FILE
EDUARDO MORALES CRESPO                    ADDRESS ON FILE
EDUARDO MORALES CRUZ                      ADDRESS ON FILE
Eduardo Morales Lebrón                    ADDRESS ON FILE
EDUARDO MORALES RIVERA                    ADDRESS ON FILE
EDUARDO MORALEZ CRUZ                      ADDRESS ON FILE
EDUARDO MUNOZ MARRERO                     ADDRESS ON FILE
EDUARDO N GARCIA ESCOBAR                  ADDRESS ON FILE
EDUARDO NORIEGA ORTIZ                     ADDRESS ON FILE
EDUARDO O JIMENEZ IGLESIAS                ADDRESS ON FILE
EDUARDO O SANTIAGO VALDES                 ADDRESS ON FILE
EDUARDO ORTIZ DEL VALLE                   ADDRESS ON FILE
EDUARDO ORTIZ QUINONES                    ADDRESS ON FILE
EDUARDO ORTIZ RIVERA                      ADDRESS ON FILE
EDUARDO OSUBA GUERRA                      ADDRESS ON FILE
EDUARDO PADILLA ROSARIO                   ADDRESS ON FILE
EDUARDO PAGAN PAGAN                       ADDRESS ON FILE
EDUARDO PAGAN RODRIGUEZ                   ADDRESS ON FILE
EDUARDO PALAU INGLES                      ADDRESS ON FILE
EDUARDO PARDO SOTO                        ADDRESS ON FILE
EDUARDO PEDRAZA VELAZQUEZ                 ADDRESS ON FILE
EDUARDO PEREZ CACHO                       ADDRESS ON FILE
EDUARDO PEREZ LOPEZ                       ADDRESS ON FILE
EDUARDO PEREZ OJEDA                       ADDRESS ON FILE
EDUARDO PEREZ RIVERA                      ADDRESS ON FILE
EDUARDO PINEDA CASTELLVI                  ADDRESS ON FILE
EDUARDO PORTALATIN AYALA                  ADDRESS ON FILE
EDUARDO PRESTAMO BERMUDEZ ESTATE          URB COVADONGA                  3G10 CALLE 18                                                           TOA BAJA     PR      00949‐5326
EDUARDO QUINONES                          ADDRESS ON FILE
EDUARDO QUINONES HERNANDEZ                ADDRESS ON FILE
EDUARDO QUINONES JUARBE                   ADDRESS ON FILE
EDUARDO QUINONES JUARBE                   ADDRESS ON FILE
EDUARDO QUINONES JUARBE                   ADDRESS ON FILE
EDUARDO QUINONEZ GARCIA                   ADDRESS ON FILE
EDUARDO QUINONEZ HERNANDEZ                ADDRESS ON FILE
EDUARDO R ESTADES RODRIGUEZ               ADDRESS ON FILE
EDUARDO R FELIU VARELA                    ADDRESS ON FILE
EDUARDO R JENKS CARBALLEIRA               ADDRESS ON FILE
EDUARDO R ORTIZ RIVERA                    ADDRESS ON FILE
EDUARDO R PEREZ                           ADDRESS ON FILE
EDUARDO R REBOLLO CASALDUC                ADDRESS ON FILE
EDUARDO R ROSADO RIVERA                   ADDRESS ON FILE
EDUARDO R. NAZARIOS VALENCIA QBE OPTINA INFRANCISCO SAN MIGUEL FUXENCH   BOX 190406                                                              SAN JUAN     PR      00919
EDUARDO R. NAZARIOS VALENCIA QBE OPTINA INRAMÓN NEVAREZ ORTIZ            URB. ALHAMBRA A‐11 CALLE GRANADA                                        BAYAMON      PR      00957
EDUARDO R. NAZARIOS VALENCIA QBE OPTINA INRENÉ J. MUÑOZ DEL CASTILLO     URB. PUERTO NUEVO                        1000 CALLE ALESIA              SAN JUAN     PR      00920
EDUARDO R. RUIZ HERNANDEZ                 ADDRESS ON FILE
EDUARDO RAMIREZ BAREA                     ADDRESS ON FILE
EDUARDO RAMIREZ DE ARELLANO               ADDRESS ON FILE
EDUARDO RAMOS CORTES                      ADDRESS ON FILE




                                                                                                   Page 2481 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2482 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                   Address2                                  Address3               Address4          City         State   PostalCode   Country
EDUARDO RAMOS MARTINEZ                 ADDRESS ON FILE
EDUARDO RAMOS VERA                     ADDRESS ON FILE
EDUARDO RAUL DIAZ DELUCA               ADDRESS ON FILE
EDUARDO RIOS MORALES                   ADDRESS ON FILE
EDUARDO RIOS MORALES                   ADDRESS ON FILE
EDUARDO RIOS TORRES                    ADDRESS ON FILE
EDUARDO RIVERA                         ADDRESS ON FILE
EDUARDO RIVERA CRUZ                    ADDRESS ON FILE
EDUARDO RIVERA OLIVIERI                ADDRESS ON FILE
EDUARDO RIVERA QUILES                  ADDRESS ON FILE
EDUARDO RIVERA QUINONES                ADDRESS ON FILE
EDUARDO RIVERA QUINONEZ                ADDRESS ON FILE
EDUARDO RIVERA RAMIREZ                 ADDRESS ON FILE
EDUARDO RIVERA REYES                   ADDRESS ON FILE
EDUARDO RIVERA RIVERA                  ADDRESS ON FILE
EDUARDO RIVERA RODRIGUEZ               ADDRESS ON FILE
EDUARDO RIVERA SANTANA                 ADDRESS ON FILE
EDUARDO RIVERA SANTOS                  ADDRESS ON FILE
EDUARDO ROBLES RODRIGUEZ               ADDRESS ON FILE
EDUARDO RODRIGUEZ                      ADDRESS ON FILE
EDUARDO RODRIGUEZ ANDINO               ADDRESS ON FILE
EDUARDO RODRIGUEZ ATILES               ADDRESS ON FILE
EDUARDO RODRIGUEZ BONAFOUX             ADDRESS ON FILE
EDUARDO RODRIGUEZ CASTILLO             ADDRESS ON FILE
EDUARDO RODRIGUEZ FIGUEROA             ADDRESS ON FILE
EDUARDO RODRIGUEZ TRINIDAD             ADDRESS ON FILE
EDUARDO ROMAN BERRIOS                  ADDRESS ON FILE
EDUARDO ROMAN MELENDEZ                 ADDRESS ON FILE
EDUARDO ROMAN ROSADO                   ADDRESS ON FILE
EDUARDO ROMAN ROSARIO                  ADDRESS ON FILE
EDUARDO ROSADO CABRERA                 ADDRESS ON FILE
EDUARDO ROSADO RONDON                  ADDRESS ON FILE
EDUARDO ROSADO VEGA                    ADDRESS ON FILE
EDUARDO ROSARIO TORRES                 ADDRESS ON FILE
EDUARDO ROSARIO Y MARILYN MONTANEZ A   ADDRESS ON FILE
EDUARDO ROURE BLASCO                   ADDRESS ON FILE
EDUARDO RUIZ CONCEPCION                ADDRESS ON FILE
EDUARDO RUIZ PINEDA                    ADDRESS ON FILE
EDUARDO RUIZ RIVERA                    ADDRESS ON FILE
EDUARDO SANABRIA ARIAS                 ADDRESS ON FILE
EDUARDO SANABRIA RODRIGUEZ             ADDRESS ON FILE
EDUARDO SANTIAGO CAMARENO              ADDRESS ON FILE
EDUARDO SANTIAGO MARTINEZ              ADDRESS ON FILE
EDUARDO SANTIAGO ORTIZ                 ADDRESS ON FILE
EDUARDO SANTIAGO ROLON                 ADDRESS ON FILE
EDUARDO SANTIAGO RONDON                ADDRESS ON FILE
EDUARDO SANTIAGO SOTO                  ADDRESS ON FILE
EDUARDO SANTIAGO VEGA                  ADDRESS ON FILE
EDUARDO SANTOS DAVILA                  ADDRESS ON FILE
EDUARDO SANTOS VEGA                    ADDRESS ON FILE
EDUARDO SAURI SANTIAGO                 ADDRESS ON FILE
EDUARDO SEGARRA PEREZ                  ADDRESS ON FILE
EDUARDO SEMIDEY VELAZQUEZ              ADDRESS ON FILE
EDUARDO SEPULVEDA CRUZ                 ADDRESS ON FILE
EDUARDO SERRANO CHACON                 ADDRESS ON FILE
EDUARDO SHAW ALEGRE                    ANTONIO ADROVER ROBLES     URB. SAN FCO.                            2 AVE. DE DIEGO         OFIC. 204 ALTOS   SAN JUAN     PR      00927‐5830
EDUARDO SHAW ALEGRE                    BEATRIZ M. COLLAZO ORTIZ   703 AVE.                                 Ponce DE LEÓN                             SAN JUAN     PR      00917
EDUARDO SHAW ALEGRE                    GRACIELA BEVALACQUA        REPARTO METROPOLITANO CALLE 23 SE NÚM. 943                                         SAN JUAN     PR      00921

EDUARDO SHAW ALEGRE                    JAIME MARCIAL FALCÓN       PMB 198                                   371 AVE. ALEJANDRINO                     GUAYNABO     PR      00969




                                                                                             Page 2482 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2483 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                           Address1                         Address2                                      Address3             Address4             City          State   PostalCode   Country
EDUARDO SOTO COLLAZO                    ADDRESS ON FILE
EDUARDO SOTO COLLAZO                    ADDRESS ON FILE
EDUARDO SOTO RIVERA                     ADDRESS ON FILE
EDUARDO SUAREZ NAPOLITANO               ADDRESS ON FILE
EDUARDO SURENS RODRIGUEZ                ADDRESS ON FILE
EDUARDO T ARRIETA IGARTUA               ADDRESS ON FILE
EDUARDO T ARRIETA IGARTUA               ADDRESS ON FILE
EDUARDO T DELGADO GARCIA                ADDRESS ON FILE
EDUARDO TALAVERA GARCIA                 ADDRESS ON FILE
EDUARDO TAMARGO MOTRONI                 ADDRESS ON FILE
EDUARDO TAMARGO MOTRONI                 ADDRESS ON FILE
EDUARDO TAMARGO MOTRONI                 ADDRESS ON FILE
EDUARDO TANON MOLINA                    ADDRESS ON FILE
EDUARDO TORRACA ROCHE                   ADDRESS ON FILE
EDUARDO TORRES GONZALEZ                 ADDRESS ON FILE
EDUARDO TORRES MELENDEZ                 ADDRESS ON FILE
EDUARDO TORRES MERCADO                  ADDRESS ON FILE
EDUARDO TORRES SANTIAGO                 ADDRESS ON FILE
EDUARDO TORRES TORRES                   ADDRESS ON FILE
EDUARDO TORRES Y GLENDA L RODRIGUEZ     ADDRESS ON FILE
EDUARDO TREMOLS BENITEZ DBA TRUCK CENTERPO BOX 191992                                                                                                            SAN JUAN      PR      00919‐1992
EDUARDO TRULLENQUE FERNANDEZ            ADDRESS ON FILE
EDUARDO V HILERA FUENTES                ADDRESS ON FILE
EDUARDO VALE VALE                       ADDRESS ON FILE
EDUARDO VALE VALE                       ADDRESS ON FILE
EDUARDO VALE VALE                       ADDRESS ON FILE
EDUARDO VALENTIN CRUZADO                ADDRESS ON FILE
EDUARDO VASQUEZ TAVAREZ                 ADDRESS ON FILE
EDUARDO VAZQUEZ GUADALUPE               ADDRESS ON FILE
EDUARDO VAZQUEZ LASSEN                  ADDRESS ON FILE
EDUARDO VAZQUEZ RODRIGUEZ               ADDRESS ON FILE
EDUARDO VAZQUEZ SANCHEZ                 ADDRESS ON FILE
EDUARDO VAZQUEZ VILANOVA                ADDRESS ON FILE
EDUARDO VEGA DELGADO                    ADDRESS ON FILE
EDUARDO VEGA PLAZA                      ADDRESS ON FILE
EDUARDO VELAZQUEZ MORALES               ADDRESS ON FILE
EDUARDO VELAZQUEZ SANTIAGO              ADDRESS ON FILE
EDUARDO VELEZ CRESPO                    ADDRESS ON FILE
EDUARDO VELEZ DBA VELEZ BUS LINE        CALLE TROCHA FINAL #68                                                                                                   YAUCO         PR      00698
EDUARDO VELEZ PELLICIA                  ADDRESS ON FILE
EDUARDO VELEZ RODRIGUEZ                 ADDRESS ON FILE
EDUARDO VELILLA FOURNIER                ADDRESS ON FILE
EDUARDO VIDAL SANTIAGO                  ADDRESS ON FILE
EDUARDO VIERA DIAZ                      ADDRESS ON FILE
EDUARDO VILLANUEVA MUNOZ                ADDRESS ON FILE
EDUARDO YERO VICENTE                    ADDRESS ON FILE
EDUARDO ZAMBRANA RODRIGUEZ              ADDRESS ON FILE
EDUARDO, ARROYO                         ADDRESS ON FILE
EDUARDOS CATERING SERVICES INC          ADDRESS ON FILE
EDUC ARTE/ THE COMPANY INC              CALLE C BLOQUE RS                EXT VILLA RICA                                                                          BAYAMON       PR      00959
Educ. Seminars Technology Terapy Center URB. LOS PINOS                   277 ST. PINO PONDEROSA                                                                  ARECIBO       PR      00612‐5945
EDUCACION CONSEJERIA SERV [ECOS] CORP   HC 02 BOX 5223                                                                                                           PENUELAS      PR      00624
EDUCACION JURIDICA INC                  229 CALLE JUAN P DUARTE          SUITE 1B                                      URB FLORAL PARK                           SAN JUAN      PR      00917
EDUCACION JURIDICA INC                  URB FLORAR PARK                  229 CALLE JUAN P DUARTE STE 1B                                                          SAN JUAN      PR      00917
EDUCACION JURIDICA, INC.                TORRIMAR ALTO K‐4 BAMBOO DRIVE                                                                                           GUAYNABO      PR      00966‐0000
EDUCADORES DEL NORTE C.R.L.             VILLAS DE LA PLAYA               CALLE FLAMINGO 172                                                                      VEGA BAJA     PR      00693
EDUCADORES MARINOS PR /LESBIA L MONTERO PO BOX 10156                                                                                                             HUMACAO       PR      00792
                                                                                                                                            FIRST FEDERAL
EDUCADORES PUERTORRIQUEÑOS             LCDO. FRANCISCO GONZÁLEZ MAGAZ                                             1519 Ponce DE LEÓN AVE.   BUILDING SUITE 805   SAN JUAN      PR      00909
EDUCADORES PUERTORRIQUENOS EN ACCION   66 CALLE LA CANDELARIA OESTE                                                                                              MAYAGUEZ      PR      00680




                                                                                                     Page 2483 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2484 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                             Address1                                  Address2                                     Address3              Address4           City          State   PostalCode   Country
                                                                                                                                 Ponce DE LEÓN FIRST
EDUCADORES PUERTORRIQUENOS EN ACCION LCDO. FRANCISCO R. GONZÁLEZ                                                            1519 FEDERAL 805                              SAN JUAN      PR      00909
EDUCADORES PUERTORRIQUENOS EN ACCION PO BOX 1139                                                                                                                          MAYAGUEZ      PR      00681
EDUCADORES PUERTORRIQUENOS EN ACCION INAREA DEL TESORO                                DIVISION DE PAGADURIA                                                               SAN JUAN      PR      00936
EDUCADORES PUERTORRIQUENOS EN ACCION INPO BOX 1139                                                                                                                        MAYAGUEZ      PR      00681
EDUCADORES PUERTORRIQUEÑOS EN ACCIÓN, INLCDO. FRANCISCO R. GONZALEZ                   1519 AVE.                                  Ponce DE LEÓN         FIRST FEDRAL 805   SAN JUAN      PR      00909
Educadores(as) por la Democracia, Unidad, CambAyala Reyes, Eva L.                     PO Box 642                                                                          Comerio       PR      00782
EDUCAMOR                                      PO BOX 362399                                                                                                               SAN JUAN      PR      00936‐2399
EDUCANDO A ENPRENDEDORES INC                  DORADO DEL MAR                          C 33 CALLE MADRE RERTA                                                              DORADO        PR      00646
EDUCARE, INC.                                 HC 33 BOX 2047                                                                                                              DORADO        PR      00646
EDUCARE, INC.                                 Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                                         SAN JUAN      PR      00922
EDUCARIBE, INC.                               PMB 1249 PO BOX 4956                                                                                                        CAGUAS        PR      00726
EDUCATE ONLINE, INC.                          101 FLEET STREET                                                                                                            BALTIMORE     MD      21202
EDUCATED INCORPORATED                         PO BOX 1197                                                                                                                 GUAYNABO      PR      00970
EDUCATEVIRTUAL LEARNING CENTERS INC           PO BOX 2000                             180 PMB                                                                             MERCEDITA     PR      00715
EDUCATION & STRATEGIES, INC.                  CARR. #179 KM. 7.0 BO. CAMARONES                                                                                            GUAYNABO      PR      00969
EDUCATION & STRATEGIES, INC.                  PO BOX 192201                                                                                                               SAN JUAN      PR      00919‐2201
EDUCATION SCOTLAND                            COND PLAYA GRANDE                       CALLE TAFT 1 APT 8 B                                                                SAN JUAN      PR      00911
EDUCATIONAL ADVANTAGE INC.                    QUINTAS DE DORADO                       M 14 CALLE CIPRES                                                                   DORADO        PR      00646
EDUCATIONAL AND ORGANIZATION CONSULTAN COND EL CENTRO 1 STE 1003                      500 AVE MUNOZ RIVERA                                                                SAN JUAN      PR      00918
EDUCATIONAL AND PROFESSIONAL SERVICES, C 219 CALLE SAN LORENZO, URB. RIO PIEDRAS HEIGHTS                                                                                  SAN JUAN      PR      00926
EDUCATIONAL ASSOCIATES                        P O BOX 9139                                                                                                                HUMACAO       PR      00792
EDUCATIONAL ASSOCIATES                        P.O. BOX 8948                                                                                                               HUMACAO       PR      00792
EDUCATIONAL COMPUTER CENTER                   PLAZA CAROLINA STATION                  PO BOX 8728                                                                         CAROLINA      PR      00988‐8728
EDUCATIONAL CONSULTANT SERVICES INC           U P R STA BOX 22211                                                                                                         SAN JUAN      PR      00931
EDUCATIONAL CONSULTANTS PSC                   462 AVE TENIENTE CESAR GONZALEZ                                                                                             SAN JUAN      PR      00918
EDUCATIONAL CONSULTANTS PSC                   Y BANCO POPULAR DE PUERTO RICO          CBC REGION NORTE                           PO BOX 362708                            SAN JUAN      PR      00936‐2708
EDUCATIONAL CULTURAL FOR ESPACIAL             STUDENTS HUMACAOSCHOOL DISTR            PO BOX 8228                                                                         HUMACAO       PR      00792
EDUCATIONAL DEVELOPMENT CENTER INC            55 CHAPEL ST                                                                                                                NEWTON        MA      02458
EDUCATIONAL DEVELOPMENT GROUP INC             250 AVE MUNOZ RIVERA                    SUITE 415                                                                           SAN JUAN      PR      00918
EDUCATIONAL DEVELOPMENT GROUP INC             425 CARR 693 STE 106                                                                                                        DORADO        PR      00646
EDUCATIONAL DEVELOPMENT GROUP INC             PO BOX 191971                                                                                                               SAN JUAN      PR      00919
EDUCATIONAL LEADERSHIP CONSULTING CORP E U 9 MARIANO ABRIL COSTALO                    LEVITTOWN                                                                           TOA BAJA      PR      00949
EDUCATIONAL LEADERSHIP GROUP INC              PO BOX 194231                                                                                                               SAN JUAN      PR      00919
EDUCATIONAL LEARNING RESOURCES INC            AREA DEL TESORO                         DIV DE RECLAMACIONES                                                                SAN JUAN      PR      00902‐4140
EDUCATIONAL LEARNING RESOURCES INC            CAPARRA HEIGHTS, 1494 AVE ROOSEVELT                                                                                         SAN JUAN      PR      00921
EDUCATIONAL LINKS CORP                        PO BOX 363423                                                                                                               SAN JUAN      PR      00936‐3423
EDUCATIONAL LINKS CORP                        THE HATO REY CENTER SUITE 704           268 AVE PONCE DE LEON                                                               SAN JUAN      PR      00918
EDUCATIONAL SERVICE & RESOURCES INC           AREA DEL TESORO                         DIVISION DE RECLAMACIONES                                                           SAN JUAN      PR      00902‐4140
EDUCATIONAL SERVICE & RESOURCES INC           PO BOX 8849                                                                                                                 PONCE         PR      00731
EDUCATIONAL SERVICES NETWORK CORP             PO BOX 3056                                                                                                                 CAGUAS        PR      00726‐3056
EDUCATIONAL SERVICES NETWORK, CORP            PO BOX 1570                                                                                                                 JUNCOS        PR      00777
EDUCATIONAL SERVICES NETWORK, CORP            PO BOX 190969                                                                                                               CAGUAS        PR      00726
EDUCATIONAL SERVICES NETWORK, CORP            Y ORIENTAL BANK                         PO BOX 364745                                                                       SAN JUAN      PR      00936‐4745
EDUCATIONAL SSERVICES INC                     PO BOX 662                                                                                                                  OROCOVIS      PR      00720
EDUCATIONAL TESTING SERVICE                   4897 COLLECTION CENTER DRIVE                                                                                                CHICAGO       IL      60693
EDUCATIONAL TIES CORPORATION                  RR ‐ 7 BOX 10285                                                                                                            TOA ALTA      PR      00953
EDUCATIONAL,POWER OF PYMES BUSINESS COR 350 AVE CHARDON                               SUITE 117 TORRE CHARDON                                                             SAN JUAN      PR      00918
EDUCAVIPRO INC                                URB LOS MAESTROS                        465 JAIME DREW                                                                      SAN JUAN      PR      00923
EDUCO PUERTO RICO, INC.                       PO BOX 10058                            PLAZA CAROLINA STATION                                                              CAROLINA      PR      00988
EDUCOMPUTER OF PUERTO RICO INC                PMB 201                                 PO BOX 607061                                                                       BAYAMON       PR      00960‐7061
EDUCON MANAGEMENT CORP                        PO BOX 3244                                                                                                                 CAROLINA      PR      00984
EDUCREANDO, INC.                              #757 CALLE BOLIVAR                                                                                                          SAN JUAN      PR      00909
EDUCREE CONSULTORES‐EDUCATIVOS,INC            PO BOX 596                                                                                                                  GURABO        PR      00778
EDUCREE: CONSULTURES EDUCATIVOS INC           PO BOX 596                                                                                                                  GURABO        PR      00778
EDUCREE: CONSULTURES EDUCATIVOS INC           PO BOX 848                                                                                                                  GURABO        PR      00778
EDUDIGITAL SERVICES, INC.                     HC‐1 BOX 29030                          PMB 641                                                                             CAGUAS        PR      00725‐8900
EDUDIGITAL SERVICES, INC.                     PO BOX 11969                                                                                                                SAN JUAN      PR      00922‐1969
EDUEL A ABREU SANTIAGO                        ADDRESS ON FILE
EDUEL MARTIN IRIZARRY                         ADDRESS ON FILE




                                                                                                                  Page 2484 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2485 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                      Address2                               Address3   Address4   City              State   PostalCode   Country
EDUEXCURSIONES INC                     PO BOX 3123                                                                                ARECIBO           PR      00613
EDUGROOM                               PO BOX 641                                                                                 MERCEDITA         PR      00715
EDUIRA BUILDERS GROUP INC              URB PASEOS REALES             386 CALLE REALEZA                                            ARECIBO           PR      00612
EDUK ARTE                              ADDRESS ON FILE
EDUK ARTE                              ADDRESS ON FILE
EDUK ARTE                              ADDRESS ON FILE
EDUPRO INC                             APARTADO 21179                                                                             SAN JUAN          PR      00928‐1179
EDUPRO INC                             PO BOX 21179                                                                               SAN JUAN          PR      00928
EDUPROJECT SERVICES INC                URB VILLA ANDALUCIA           G 1 A FRONTERAS                                              SAN JUAN          PR      00926
EDUPROJECT SERVICES, INC               G‐1‐A CALLE FRONTERA STE. 3   VILLA ANDALUCIA                                              SAN JUAN          PR      00926‐2564
EDUPROJECT SERVICES, INC               URB VILLA ANDALUCIA           G 1 A FRONTERA                                               SAN JUAN          PR      00926
EDUPROP Y ASOCIADOS, INC               PO BOX 12322                                                                               SAN JUAN          PR      00914‐0322
EDUQUATED INC                          PO BOX 1197                                                                                GUAYNABO          PR      00970
EDUQUATED INC                          URB TORIMAR                   11 18 CALLE ZALAMANCA                                        GUAYNABO          PR      00966
EDUQUEMOS PARA LA VIDA                 10 AVE BUENA VISTA                                                                         MOROVIS           PR      00687
EDUQUEMOS PARA LA VIDA                 HC 2 BOX 5393                                                                              MOROVIS           PR      00687
EDUQUEMOS PARA LA VIDA                 URB. CRUZ ROSARIO             #73 MAGA                                                     MOROVIS           PR      00687
EDURADO LUIGGI CALCERRADA              ADDRESS ON FILE
EDUTEC                                 1685 CARR 2 KM 11 2                                                                        BAYAMON           PR      00959‐7270
EDUTECH SALES                          P O BOX 861                                                                                WEST PALM BEACH   FL      33402
EDUVIGES CATALA RAMOS                  ADDRESS ON FILE
EDUVIGES DE JESUS CARRASQUILLO         ADDRESS ON FILE
EDUVIGES HERNANDEZ CALDERON            ADDRESS ON FILE
EDUVIGES RIVERA GARCÍA                 ADDRESS ON FILE
EDUVIGES RODRIGUEZ                     ADDRESS ON FILE
EDUVIGES RODRIGUEZ MELENDEZ            ADDRESS ON FILE
EDUVIGIS MAISONET Y/O AIXA CARDONA     ADDRESS ON FILE
EDUVINA CALDERON RODRIGUEZ             ADDRESS ON FILE
EDUVINA CANDELARIA LUGO                ADDRESS ON FILE
EDUVINO RIVERA SANTIAGO                ADDRESS ON FILE
EDVIER CABASSA MIRANDA                 ADDRESS ON FILE
EDVIN PEREZ MORALES                    ADDRESS ON FILE
EDWAR PINERO ALGARIN                   ADDRESS ON FILE
EDWARD A NIEVES RIVERA                 ADDRESS ON FILE
EDWARD A ORTIZ SUAREZ                  ADDRESS ON FILE
EDWARD A WOLF                          ADDRESS ON FILE
EDWARD ACEVEDO PAMELL Y LINA M HERRERA ADDRESS ON FILE
EDWARD AGOSTO RODRIGUEZ                ADDRESS ON FILE
EDWARD ALBERT MERCADO SANABRIA         ADDRESS ON FILE
EDWARD AVILES SANTIAGO                 ADDRESS ON FILE
EDWARD AVILES SANTIAGO                 ADDRESS ON FILE
EDWARD BENITEZ FIGUEROA                ADDRESS ON FILE
EDWARD BETANCOURT FIGUEROA             ADDRESS ON FILE
EDWARD BONILLA RODRIGUEZ               ADDRESS ON FILE
EDWARD CALVESBERT JULIA                ADDRESS ON FILE
EDWARD CARABALLO RODRIGUEZ             ADDRESS ON FILE
EDWARD CARRION                         ADDRESS ON FILE
EDWARD CEDENO FLORES                   ADDRESS ON FILE
EDWARD CEDENO RIOS                     ADDRESS ON FILE
EDWARD CEDENO RIOS                     ADDRESS ON FILE
EDWARD COLON RAMOS                     ADDRESS ON FILE
EDWARD COSME VAZQUEZ                   ADDRESS ON FILE
EDWARD COSS FIGUEROA                   ADDRESS ON FILE
EDWARD COTTE CAMACHO                   ADDRESS ON FILE
EDWARD CRESPO GUZMAN                   ADDRESS ON FILE
EDWARD CRITICAL CARE                   ADDRESS ON FILE
EDWARD CRUZ CRUZ                       ADDRESS ON FILE
EDWARD CRUZ CRUZ                       ADDRESS ON FILE
EDWARD CRUZ CRUZ                       ADDRESS ON FILE
EDWARD CRUZ MEDINA                     ADDRESS ON FILE




                                                                                             Page 2485 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2486 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                   Address2                         Address3   Address4   City          State   PostalCode   Country
EDWARD CRUZ SERRANO                     ADDRESS ON FILE
EDWARD CRUZ VELAZQUEZ                   ADDRESS ON FILE
EDWARD E MALDONADO MARRERO              ADDRESS ON FILE
EDWARD E NEGRON BURGOS                  ADDRESS ON FILE
EDWARD ESQUILIN RODRIGUEZ               ADDRESS ON FILE
EDWARD FELICIANO ROSADO Y NELSON D SOTO ADDRESS ON FILE
EDWARD FIGUEROA ROSA                    ADDRESS ON FILE
EDWARD FRANCES MORALES                  ADDRESS ON FILE
EDWARD G ORTIZ IRIZARRY                 ADDRESS ON FILE
EDWARD G PRIETO BAEZ                    ADDRESS ON FILE
EDWARD GARCIA HERNANDEZ                 ADDRESS ON FILE
EDWARD GONZALEZ ALICEA                  ADDRESS ON FILE
EDWARD GONZALEZ BADILLO                 ADDRESS ON FILE
EDWARD GONZALEZ COLON                   ADDRESS ON FILE
EDWARD GONZALEZ ORTIZ                   ADDRESS ON FILE
EDWARD GRIST                            ADDRESS ON FILE
EDWARD H FNKHANEL SEDA                  ADDRESS ON FILE
EDWARD H. FAUKHANEL SEDA                ADDRESS ON FILE
EDWARD HERNANDEZ LARA                   ADDRESS ON FILE
EDWARD HERNANDEZ MATOS                  ADDRESS ON FILE
EDWARD HILL TOLINCHE                    ADDRESS ON FILE
EDWARD HILL TOLLINCHE                   ADDRESS ON FILE
EDWARD HIRALDO DEL VALLE                ADDRESS ON FILE
EDWARD J NAVAS PEREZ                    ADDRESS ON FILE
EDWARD J PHELAN CARTER                  ADDRESS ON FILE
EDWARD J REYES RIVERA                   ADDRESS ON FILE
EDWARD J TRINIDAD FERNANDEZ             ADDRESS ON FILE
EDWARD JAMES NAVAS NAZARIO              ADDRESS ON FILE
EDWARD KATZ                             ADDRESS ON FILE
EDWARD L VELAZQUEZ LUGO                 ADDRESS ON FILE
EDWARD LARACUENTE CORTES                ADDRESS ON FILE
EDWARD LEE SANTIAGO RODRIGUEZ           ADDRESS ON FILE
EDWARD LIFESCIENCE CORP PR              PO BOX 1577                                                                       ANASCO        PR      00610‐1577
EDWARD LOVELAND                         ADDRESS ON FILE
EDWARD LOZADA CONTRERAS                 ADDRESS ON FILE
EDWARD LOZADA PAGAN                     ADDRESS ON FILE
EDWARD M COSTALES GONZALEZ              ADDRESS ON FILE
EDWARD M KENNEDY HEALTH CENTER          19 TACOMA ST                                                                      WORCESTER     MA      01605
EDWARD M PEREZ RIVERA                   ADDRESS ON FILE
EDWARD M PEREZ RIVERA                   ADDRESS ON FILE
EDWARD MALDONADO ARROYO                 ADDRESS ON FILE
EDWARD MARTIN NAVOJOSKY                 ADDRESS ON FILE
EDWARD MARTINEZ BARRETO                 ADDRESS ON FILE
EDWARD MATOS NIEVES                     ADDRESS ON FILE
EDWARD MATOS/ MARILIA VALE              ADDRESS ON FILE
EDWARD MCBURNEY HENRIQUEZ/ JUAN C       ADDRESS ON FILE
EDWARD MERCED SALAS                     ADDRESS ON FILE
EDWARD MUNOZ UBINAS                     ADDRESS ON FILE
EDWARD O HERNANDEZ IRIZARRY             ADDRESS ON FILE
EDWARD O HERNANDEZ IRIZARRY             ADDRESS ON FILE
EDWARD O. OQUENDO IRIZARRY              ADDRESS ON FILE
EDWARD ODOM BONILLA                     ADDRESS ON FILE
EDWARD OFARRILL BAEZ                    ADDRESS ON FILE
EDWARD PABON QUINONES                   ADDRESS ON FILE
EDWARD PACHECO MUNIZ                    ADDRESS ON FILE
EDWARD PERDOMO PIZARRO                  ADDRESS ON FILE
EDWARD PEREZ ALVAREZ                    ADDRESS ON FILE
EDWARD PEREZ ALVAREZ                    ADDRESS ON FILE
EDWARD PINERO ALGARIN                   ADDRESS ON FILE
EDWARD PREVIDI DAVILA                   ADDRESS ON FILE




                                                                                     Page 2486 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2487 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                            Address1                                  Address2                                     Address3              Address4              City              State   PostalCode   Country
EDWARD QUIÑONES SUÁREZ                   LCDA. EVELYN MÁRQUEZ ESCOGAR              LCDA. EVELYN MÁRQUEZ ESCOGAR PO BOX 810386                                               CAROLINA          PR      00981‐0386
EDWARD QUIÑONES SUÁREZ                   LCDA. MARIA ELENA MARQUEZ CORDERO, IRIALI LCDA. MARIA E. MARQUEZ Y LCDA. IRIALIZ VELEZ PO BOX 1869                                 TRUJILLO ALTO     PR      00977
                                                                                                                                CARVAJAL & VÉLEZ‐RIVÉ
EDWARD QUIÑONES SUÁREZ                   LCDO. BAYOAN MUÑIZ                        LCDO. BAYOAN MUÑIZ SALDAÑA                   PSC                   166 CONSTITUCIÓN AVE. SAN JUAN          PR      00901
                                                                                                                                LOCAL 5829 PLAZA
EDWARD QUIÑONES SUÁREZ                   LCDO. MARCOS RIVERA ORTIZ                 LCDO. MARCOS RIVERA ORTIZ AVE. 65 DE INFANTESCORIAL CINEMAS        SUITE 207             CAROLINA          PR      00987
EDWARD R ARNOLD                          ADDRESS ON FILE
EDWARD R CRUZ RIVERA                     ADDRESS ON FILE
EDWARD RAMIREZ CASTELLANO                ADDRESS ON FILE
EDWARD REYES GUZMÁN                      LCDA. NORA CRUZ MOLINA                    545 AVE JOSÉ DE CEDEÑO                                                                   ARECIBO           PR      00612
EDWARD REYES RUIZ                        ADDRESS ON FILE
EDWARD REYES RUIZ                        ADDRESS ON FILE
EDWARD RIVERA FLORES                     ADDRESS ON FILE
EDWARD RIVERA MALDONADO                  ADDRESS ON FILE
EDWARD RIVERA MALDONADO                  ADDRESS ON FILE
EDWARD RIVERA VAZQUEZ                    ADDRESS ON FILE
EDWARD RODRIGUEZ FIGUEROA                ADDRESS ON FILE
EDWARD RODRIGUEZ MARTINEZ                ADDRESS ON FILE
EDWARD RODRIGUEZ PEREZ                   ADDRESS ON FILE
EDWARD RODRIGUEZ SANTIAGO                ADDRESS ON FILE
EDWARD ROSARIO / FRANCIS E ROSARIO       ADDRESS ON FILE
EDWARD SANABRIA SAMBOLIN                 ADDRESS ON FILE
EDWARD SANCHEZ ALEQUIN                   ADDRESS ON FILE
EDWARD SANTIAGO RODRIGUEZ                ADDRESS ON FILE
EDWARD SOTO BADILLO                      ADDRESS ON FILE
EDWARD TOLEDO QUINONES                   ADDRESS ON FILE
EDWARD TORO PADILLA                      ADDRESS ON FILE
EDWARD TORRES RIVERA                     ADDRESS ON FILE
EDWARD VARGAS APONTE                     ADDRESS ON FILE
EDWARD VELEZ NEGRON                      ADDRESS ON FILE
EDWARD VERA                              ADDRESS ON FILE
EDWARD ZAYAS TORRES                      ADDRESS ON FILE
EDWARDE SANTIAGO RIVERA                  ANTONIO IGUINA                            PO BOX 361058                                                                            SAN JUAN          PR      00936
EDWARDO ESPINOSA ROSA                    ADDRESS ON FILE
EDWARDO GONZALEZ JR                      ADDRESS ON FILE
EDWARDS AYALA, JOHANNA                   ADDRESS ON FILE
EDWARDS AYALA, MORAIMA M.                ADDRESS ON FILE
EDWARDS LIFECIENCE CORP OF PUERTO RICO   PO BOX 1577                                                                                                                        AÑASCO            PR      00610‐1577
EDWARDS LIFESCIENCES TECHNOLOGY          PO BOX 1577                               ROAD 474 NKM.                                1.4 INDUSTRIAL PARK                         ANASCO            PR      00610
EDWARDS LIFESCIENCES THECHNOLOGY SA      PO BOX 1577                                                                                                                        ANASCO            PR      00610‐1577
EDWARDS MALDONADO NATAL                  ADDRESS ON FILE
EDWARDS PEREZ, MAGALY D                  ADDRESS ON FILE
EDWARDS PEREZ, MAGALY D.                 ADDRESS ON FILE
Edwards Rodriguez, George                ADDRESS ON FILE
EDWARDS VIDAL, DIMAS                     ADDRESS ON FILE
EDWIN A AGOSTO HERNANDEZ                 ADDRESS ON FILE
EDWIN A ALVARADO ACEVEDO                 ADDRESS ON FILE
EDWIN A ARREAGA MUNIZ                    ADDRESS ON FILE
EDWIN A BORRES OTERO                     ADDRESS ON FILE
EDWIN A BURGOS RIOS                      ADDRESS ON FILE
EDWIN A CINTRON SANTOS                   ADDRESS ON FILE
EDWIN A CRUZ NIEVES                      ADDRESS ON FILE
EDWIN A DAVILA CRUZ                      ADDRESS ON FILE
EDWIN A DE ARMAS SOTO                    ADDRESS ON FILE
EDWIN A DEL VALLE                        ADDRESS ON FILE
EDWIN A FABIAN BATISTA                   ADDRESS ON FILE
EDWIN A FARINACCI RODRIGUEZ              ADDRESS ON FILE
EDWIN A FERRER AMARO                     ADDRESS ON FILE
EDWIN A FREIRE ROLON                     ADDRESS ON FILE
EDWIN A IRIZARRY LUGO                    ADDRESS ON FILE




                                                                                                                Page 2487 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2488 of 3500
                                                                               17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                   Address1                        Address2                                  Address3            Address4   City         State   PostalCode   Country
EDWIN A MARQUEZ PEREZ           ADDRESS ON FILE
EDWIN A MELENDEZ HERNANDEZ      ADDRESS ON FILE
EDWIN A MELENDEZ MEDINA         ADDRESS ON FILE
EDWIN A MONTALVO PAGAN          ADDRESS ON FILE
EDWIN A MORALES SOTO            ADDRESS ON FILE
EDWIN A NARVAEZ NEGRON          ADDRESS ON FILE
EDWIN A NUNEZ VELAZQUEZ         ADDRESS ON FILE
EDWIN A RAMOS MUNOZ             ADDRESS ON FILE
EDWIN A RODRIGUEZ ORTIZ         ADDRESS ON FILE
EDWIN A RODRIGUEZ RIVERA        ADDRESS ON FILE
EDWIN A ROJAS OYOLA             ADDRESS ON FILE
EDWIN A SANTIAGO OLMO           ADDRESS ON FILE
EDWIN A SOTO MATOS              ADDRESS ON FILE
EDWIN A SUAREZ GARAY            ADDRESS ON FILE
EDWIN A SUAREZ SERRANO          ADDRESS ON FILE
EDWIN A TORRES DE JESUS         ADDRESS ON FILE
EDWIN A VALENTIN MAYA           ADDRESS ON FILE
EDWIN A VAZQUEZ COLON           ADDRESS ON FILE
EDWIN A VEGA FELICIANO          ADDRESS ON FILE
EDWIN A. CRUZ CASIANO           ADDRESS ON FILE
EDWIN A. MARQUEZ PEREZ          ADDRESS ON FILE
EDWIN ACEVEDO ACEVEDO           ADDRESS ON FILE
EDWIN ACEVEDO ALONSO            ADDRESS ON FILE
EDWIN ACEVEDO CORDERO           ADDRESS ON FILE
EDWIN ACEVEDO GONZALEZ          ADDRESS ON FILE
EDWIN ACEVEDO JIMENEZ           ADDRESS ON FILE
EDWIN ACEVEDO MORALES           ADDRESS ON FILE
EDWIN ACEVEDO RIVERA            ADDRESS ON FILE
EDWIN ACEVEDO SANDOVAL          ADDRESS ON FILE
EDWIN ALEJANDRO RAMOS           ADDRESS ON FILE
EDWIN ALEQUIN TORO              ADDRESS ON FILE
EDWIN ALEXIS VIDAL VALENTIN     ADDRESS ON FILE
EDWIN ALGARIN RAMOS             ADDRESS ON FILE
EDWIN ALICEA AGOSTO             ADDRESS ON FILE
EDWIN ALICEA NIEVES             ADDRESS ON FILE
EDWIN ALICEA RAMOS              ADDRESS ON FILE
EDWIN ALICEA RIVERA             ADDRESS ON FILE
EDWIN ALICEA RIVERA             ADDRESS ON FILE
EDWIN ALICEA ROSARIO            ADDRESS ON FILE
EDWIN ALTIERI VARELA            ADDRESS ON FILE
EDWIN ALVARADO APONTE           ADDRESS ON FILE
EDWIN ALVARADO GONZALEZ         ADDRESS ON FILE
EDWIN ALVARADO LOPEZ            ADDRESS ON FILE
EDWIN ALVARADO PEREZ            ADDRESS ON FILE
EDWIN ALVAREZ ESTRADA           ADDRESS ON FILE
EDWIN ALVAREZ MATOS             ADDRESS ON FILE
EDWIN APONTE ARROYO             ADDRESS ON FILE
EDWIN APONTE CASTRO             ADDRESS ON FILE
EDWIN APONTE HERNANDEZ          ADDRESS ON FILE
EDWIN APONTE RODRIGUEZ          ADDRESS ON FILE
EDWIN AQUIRRE VARGAS            ADDRESS ON FILE
EDWIN ARROYO RIOS               ADDRESS ON FILE
EDWIN ARROYO RIVERA             LCDO. FERNANDO SANTIAGO ORTIZ   LCDO. FERNANDO SANTIAGO ORTIZ URB. MANS SAN MARTIN SUITE 17              SAN JUAN     PR      00924‐0227
EDWIN ARROYO RIVERA             LCDO. HECTOR CASTRO PEREZ       LCDO. HECTOR CASTRO PEREZ PO BOX 227                                     YABUCOA      PR      00767‐0227
EDWIN ARROYO RIVERA V POLICIA   LCDO. FERNANDO SANTIAGO ORTIZ   URB. MANS SAN MARTIN SUITE 17                                            SAN JUAN     PR      00924‐0227
EDWIN ARROYO RIVERA V POLICIA   LCDO. HECTOR CASTRO PEREZ       PO BOX 227                                                               YABUCOA      PR      00767‐0227
EDWIN AUTO BODY                 VENUS GARDENS OESTE             BA 23 CALLE A                                                            SAN JUAN     PR      00926
EDWIN AYALA FUENTES             ADDRESS ON FILE
EDWIN AYALA GOMEZ               ADDRESS ON FILE
EDWIN AYALA MILLAN              ADDRESS ON FILE




                                                                                           Page 2488 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2489 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                          Address1                       Address2                                  Address3                 Address4        City              State   PostalCode   Country
EDWIN B BETANCOURT ORTIZ/ GREEN ENERGY MANSIONES DE CIUDAD JARDIN     308 PALMA DE MAYORCA                                                               CAGUAS            PR      00727
EDWIN B HERNANDEZ GUZMAN               ADDRESS ON FILE
EDWIN BAEZ GONZALEZ                    ADDRESS ON FILE
EDWIN BARRETO BOSQUES                  ADDRESS ON FILE
EDWIN BARRETO CAPELLA                  ADDRESS ON FILE
EDWIN BAUZA SANTIAGO                   ADDRESS ON FILE
EDWIN BAYRON LOPEZ                     ADDRESS ON FILE
EDWIN BELTRAN CABAN                    ADDRESS ON FILE
EDWIN BENIQUEZ ECHEVARRIA              ADDRESS ON FILE
EDWIN BENITEZ BENITEZ                  ADDRESS ON FILE
EDWIN BENITEZ RIVERA                   ADDRESS ON FILE
EDWIN BENVENUTTI JUSTINIANO            ADDRESS ON FILE
EDWIN BERENGUER ALVAREZ                ADDRESS ON FILE
EDWIN BERRIOS LOPEZ                    ADDRESS ON FILE
EDWIN BIRRIEL CASTRO                   ADDRESS ON FILE
EDWIN BONES NIEVES                     ADDRESS ON FILE
EDWIN BONET FERNANDEZ                  ADDRESS ON FILE
EDWIN BONILLA ORTIZ                    ADDRESS ON FILE
EDWIN BORELLI APONTE                   ADDRESS ON FILE
EDWIN BORIA ROSADO                     ADDRESS ON FILE
EDWIN BOSQUE NIEVES                    ADDRESS ON FILE
EDWIN BURGOS AYALA                     ADDRESS ON FILE
EDWIN BURGOS MENDEZ                    ADDRESS ON FILE
EDWIN C BERRIOS SANTOS                 ADDRESS ON FILE
EDWIN C MALAVE MERCED                  ADDRESS ON FILE
EDWIN C PACHECO TRINIDAD               ADDRESS ON FILE
EDWIN CABAN HERNANDEZ                  ADDRESS ON FILE
EDWIN CALDERO CABRERA                  ADDRESS ON FILE
EDWIN CALDERÓN TORRES
EDWIN CAMACHO AGUILA                   ADDRESS ON FILE
EDWIN CAMACHO COTTO                    ADDRESS ON FILE
EDWIN CAMACHO MORLAES                  JUDITH BERKAN                  G‐11 CALLE O'NEILL                                                                 HATO REY          PR      00918
EDWIN CANDELARIA ESPERON               MPC EDWIN CANDELARIA ESPERON   INSTITUCION DE MAXIMA SEGURIDAD CUADRAN                       3793 Ponce BY PASS   Ponce             PR      00728‐1504
EDWIN CANDELARIO RAMIREZ               ADDRESS ON FILE
EDWIN CARABALLO MARI                   ADDRESS ON FILE
EDWIN CARABALLO MERCADO                ADDRESS ON FILE
EDWIN CARDONA & ASOCIADOS, INC.        P M B 364                      1353 CARR 19                                                                       GUAYNABO          PR      00966‐0000
EDWIN CARDONA & ASOCIADOS, INC.        VILLA ANDALUCIA                61 B CALLE FRONTERA                                                                SAN JUAN          PR      00926‐0000
EDWIN CARDONA ALICEA Y NELSON D SOTO   CARDONA Y MIGUEL MONTALVO      URB EL CULEBRINAS                         AA 11 CALLE CAOBA                        SAN SEBASTIAN     PR      00685
EDWIN CARDONA PELLOT                   ADDRESS ON FILE
EDWIN CARDONA Y ASOCIADOSSEC SOC       PMB 364 AVE LUIS VIGOREAUX                                                                                        GUAYNABO          PR      00966
EDWIN CARLO BELEN                      ADDRESS ON FILE
EDWIN CARRASQUILLO CASTILLO            ADDRESS ON FILE
EDWIN CARRASQUILLO FERNANDEZ           ADDRESS ON FILE
EDWIN CARRELO CASTRO                   ADDRESS ON FILE
EDWIN CARRILLO DE LEON                 ADDRESS ON FILE
EDWIN CARRION CORDERO                  ADDRESS ON FILE
EDWIN CARRION PEREZ                    ADDRESS ON FILE
EDWIN CARRUCINI FALCON                 ADDRESS ON FILE
EDWIN CARTAGENA COLON                  ADDRESS ON FILE
EDWIN CASES RODRIGUEZ                  ADDRESS ON FILE
EDWIN CASILLA BERRIO                   ADDRESS ON FILE
EDWIN CASTILLO PEREZ                   ADDRESS ON FILE
EDWIN CASTRO MENDEZ                    ADDRESS ON FILE
EDWIN CASTRO MONTES                    ADDRESS ON FILE
EDWIN CASTRO RODRIGUEZ                 ADDRESS ON FILE
EDWIN CASTRO TORRES                    ADDRESS ON FILE
EDWIN CATALA RIVERA                    ADDRESS ON FILE
EDWIN CEDENO MORALES / AMY DANNE CEDENOADDRESS ON FILE
EDWIN CHAMORRO GALLEGO/ VERA LOPEZ & ADDRESS ON FILE




                                                                                                Page 2489 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2490 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                          Address1                               Address2                                     Address3              Address4   City        State   PostalCode   Country
EDWIN CHANZA GONZALEZ                  ADDRESS ON FILE
EDWIN CINTRON CAMACHO                  ADDRESS ON FILE
EDWIN CINTRÓN GONZÁLEZ                 LCDO. ELIEZER SOTO ALICEA              CALLE ANTONIO R. BARCELÓ. #28                                                 CIDRA       PR      00739
EDWIN CLAUDIO ECHEVARRIA               ADDRESS ON FILE
EDWIN COLLAZO CINTRON                  ADDRESS ON FILE
EDWIN COLON                            ADDRESS ON FILE
EDWIN COLON ALVARADO                   ADDRESS ON FILE
EDWIN COLON CANCEL                     ADDRESS ON FILE
EDWIN COLON DAVILA                     ADDRESS ON FILE
EDWIN COLON DE JESUS                   ADDRESS ON FILE
EDWIN COLON GUZMAN                     ADDRESS ON FILE
EDWIN COLON LAUREANO                   ADDRESS ON FILE
EDWIN COLON MARTINEZ CONSTRUCTION INC. C / HARBOUR VIEW # 16 PALMAS DEL MAR                                                                                 HUMACAO     PR      00791
EDWIN COLON ORTIZ                      ADDRESS ON FILE
EDWIN COLON ROSARIO                    ADDRESS ON FILE
EDWIN COLON VARGAS                     ADDRESS ON FILE
EDWIN COLON ZAYAS                      ADDRESS ON FILE
EDWIN CONCEPCION CARDONA               ADDRESS ON FILE
EDWIN CONCEPCION COLON                 ADDRESS ON FILE
EDWIN CONDE GONZALEZ                   ADDRESS ON FILE
EDWIN CONDE NAVARRO                    ADDRESS ON FILE
EDWIN CONTY ROMAN                      ADDRESS ON FILE
EDWIN CORDERO MARTINEZ                 ADDRESS ON FILE
EDWIN CORDERO MARTINEZ                 ADDRESS ON FILE
EDWIN CORDOVA CORREA                   ADDRESS ON FILE
EDWIN CORREA CAMACHO                   ADDRESS ON FILE
EDWIN CORREA DIAZ                      ADDRESS ON FILE
EDWIN CORTES JAIME                     ADDRESS ON FILE
EDWIN CORTES LOPEZ                     ADDRESS ON FILE
EDWIN CORTES LORENZO                   ADDRESS ON FILE
EDWIN CORTES ROMAN                     ADDRESS ON FILE
EDWIN CRESPO MIRANDA                   ADDRESS ON FILE
EDWIN CRESPO PADILLA                   ADDRESS ON FILE
EDWIN CRESPO SOLER                     ADDRESS ON FILE
EDWIN CRESPO TORRES                    ADDRESS ON FILE
EDWIN CRUZ AQUINO Y AMNERIS ACUNA ROMA ADDRESS ON FILE
EDWIN CRUZ CARRASQUILLO                ADDRESS ON FILE
EDWIN CRUZ MALAVE                      ADDRESS ON FILE
EDWIN CRUZ MARRERO                     ADDRESS ON FILE
EDWIN CRUZ PENA                        ADDRESS ON FILE
EDWIN CRUZ QUINONES                    ADDRESS ON FILE
EDWIN CRUZ/ GLORIA AGOSTO              ADDRESS ON FILE
EDWIN CURBELO RODRIGUEZ                ADDRESS ON FILE
EDWIN D AGOSTO VEGA                    ADDRESS ON FILE
EDWIN D COLON MALDONADO                ADDRESS ON FILE
EDWIN D JORGE MARTINEZ                 ADDRESS ON FILE
EDWIN D MALDONADO MIR                  ADDRESS ON FILE
EDWIN D ORTIZ MARTINEZ                 ADDRESS ON FILE
EDWIN D PEREZ CRUZ                     ADDRESS ON FILE
EDWIN D PEREZ MARTINEZ                 ADDRESS ON FILE
EDWIN D REYES JIMENEZ                  ADDRESS ON FILE
EDWIN D SANTANA MEDINA                 ADDRESS ON FILE
EDWIN D.SANTIAGO RODRIGUZ              ADDRESS ON FILE
EDWIN DE JESUS                         ADDRESS ON FILE
EDWIN DE JESUS VARGAS                  ADDRESS ON FILE
EDWIN DE JESUS VEGA                    LCDO. ALFREDO ORTIZ ORTIZ              83 BALDORIOTY                                                                 GUAYAMA     PR      00784
EDWIN DE JESUS VEGA                    LCDO. JORGE BURGOS FIGUEROA            3260 AVE. FAGOT                              EXT. SANTA TERESITA              PONCE       PR      00730
EDWIN DE JESUS VEGA                    LCDO. JUAN A. MORALES HERNÁNDEZ        45 ASHFORD                                                                    GUAYAMA     PR      00784
EDWIN DE LA CRUZ CEPEDA                ADDRESS ON FILE
EDWIN DE LA CRUZ RODRIGUEZ             ADDRESS ON FILE




                                                                                                          Page 2490 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2491 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EDWIN DE LEON BAEZ                       ADDRESS ON FILE
EDWIN DE LOS SANTOS                      ADDRESS ON FILE
EDWIN DELGADO CRUZ                       ADDRESS ON FILE
EDWIN DELGADO INOSTROZA                  ADDRESS ON FILE
EDWIN DELGADO MOYA                       ADDRESS ON FILE
EDWIN DELGADO QUINONEZ                   ADDRESS ON FILE
EDWIN DELGADO TORRES                     ADDRESS ON FILE
EDWIN DESIDERIO ORTIZ                    ADDRESS ON FILE
EDWIN DEVARIE RODRIGUEZ                  ADDRESS ON FILE
EDWIN DIAZ CRUZ                          ADDRESS ON FILE
EDWIN DIAZ GARCIA                        ADDRESS ON FILE
EDWIN DIAZ MALDONADO                     ADDRESS ON FILE
EDWIN DIAZ NEGRON                        ADDRESS ON FILE
EDWIN DOMENECH ACEVEDO                   ADDRESS ON FILE
EDWIN E ACEVEDO RIOS                     ADDRESS ON FILE
EDWIN E ARANA COLON                      ADDRESS ON FILE
EDWIN E BAJANDAS                         ADDRESS ON FILE
EDWIN E CALES PACHECO                    ADDRESS ON FILE
EDWIN E COFRESI COLON                    ADDRESS ON FILE
EDWIN E COLON FIGUEROA                   ADDRESS ON FILE
EDWIN E CORREA CURET                     ADDRESS ON FILE
EDWIN E GONZALEZ ESCLARON                ADDRESS ON FILE
EDWIN E JIMENEZ BARREIRO                 ADDRESS ON FILE
EDWIN E LOPEZ ROSARIO                    ADDRESS ON FILE
EDWIN E MALDONADO MALDONADO              ADDRESS ON FILE
EDWIN E MENDEZ MENDEZ                    ADDRESS ON FILE
EDWIN E MENDEZ REYES                     ADDRESS ON FILE
EDWIN E OTERO CUEVAS                     ADDRESS ON FILE
EDWIN E PINERO BERRIOS                   ADDRESS ON FILE
EDWIN E RODRIGUEZ                        ADDRESS ON FILE
EDWIN E TORRES CASTRO                    ADDRESS ON FILE
EDWIN E VARGAS                           ADDRESS ON FILE
EDWIN E. FONT ACEVEDO                    ADDRESS ON FILE
EDWIN E. PAGAN AGOSTO                    ADDRESS ON FILE
EDWIN E. VEGA SANTIAGO                   ADDRESS ON FILE
EDWIN ENCARNACION RIVERA                 ADDRESS ON FILE
EDWIN F ADORNO COLON                     ADDRESS ON FILE
EDWIN F ANDRADEZ ACEVEDO                 ADDRESS ON FILE
EDWIN F GREEN LOPEZ                      ADDRESS ON FILE
EDWIN F NARVAEZ TORRES                   ADDRESS ON FILE
EDWIN F QUINONES OSORIO                  ADDRESS ON FILE
EDWIN F RIVERA                           ADDRESS ON FILE
EDWIN F RIVERA JIMENEZ                   ADDRESS ON FILE
EDWIN F RIVERA MARRERO                   ADDRESS ON FILE
EDWIN F RODRIGUEZ MUNOZ                  ADDRESS ON FILE
EDWIN F RODRIGUEZ VELEZ                  ADDRESS ON FILE
EDWIN F ROSARIO RIVERA                   ADDRESS ON FILE
EDWIN F SANTIAGO ORTIZ                   ADDRESS ON FILE
EDWIN F VAZQUEZ BERRIOS                  ADDRESS ON FILE
EDWIN F VIZCARRONDO NIEVES               ADDRESS ON FILE
EDWIN F. FUSTER VELEZ                    ADDRESS ON FILE
EDWIN F. ROSARIO VAZQUEZ                 ADDRESS ON FILE
EDWIN FEIJOO TORRES                      ADDRESS ON FILE
EDWIN FELICIANO GONZALEZ Y NELSON D SOTO ADDRESS ON FILE
EDWIN FERNANDEZ NIEVES                   ADDRESS ON FILE
EDWIN FERNANDEZ RIVERA                   ADDRESS ON FILE
EDWIN FIGUEROA FIGUEROA                  ADDRESS ON FILE
EDWIN FIGUEROA MALDONADO                 ADDRESS ON FILE
EDWIN FIGUEROA MARTINEZ                  ADDRESS ON FILE
EDWIN FIGUEROA PEREZ                     ADDRESS ON FILE




                                                                                     Page 2491 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2492 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                            Address1                     Address2                                    Address3             Address4   City            State   PostalCode   Country
EDWIN FIGUEROA VALENTIN                  ADDRESS ON FILE
EDWIN FIGUEROA VIZCARRONDO               ADDRESS ON FILE
EDWIN FLORES CRUZ                        ADDRESS ON FILE
EDWIN FLORES GRILLASCA                   ADDRESS ON FILE
EDWIN FLORES SANTIAGO                    ADDRESS ON FILE
EDWIN FONSECA AYALA                      ADDRESS ON FILE
EDWIN FONTANEZ QUINONES                  ADDRESS ON FILE
EDWIN FONTANEZ RODRIGUEZ                 ADDRESS ON FILE
EDWIN FRANCO CARRION                     ADDRESS ON FILE
EDWIN FUENTES RODRIGUEZ                  ADDRESS ON FILE
EDWIN G DIAZ MONTES                      ADDRESS ON FILE
EDWIN G GAUD BURGOS                      ADDRESS ON FILE
EDWIN G KUILAN LUINA                     ADDRESS ON FILE
EDWIN G LOPEZ PEREZ                      ADDRESS ON FILE
EDWIN G QUINTERO CARO                    ADDRESS ON FILE
EDWIN G. PASTRANA MAISONET               ADDRESS ON FILE
EDWIN GALARZA TORRES                     ADDRESS ON FILE
EDWIN GARCIA                             ADDRESS ON FILE
EDWIN GARCIA COLON                       ADDRESS ON FILE
EDWIN GARCÍA HERNÁNDEZ                   RAMÓN A. NEVÁREZ ORTIZ       REPARTO ALHAMBRA                            A‐11 CALLE GRANADA              Bayamón         PR      00957
EDWIN GARCIA LABOY                       ADDRESS ON FILE
EDWIN GARCIA MARRERO                     ADDRESS ON FILE
EDWIN GARCIA PERALES                     ADDRESS ON FILE
EDWIN GARCIA RODRIGUEZ                   ADDRESS ON FILE
EDWIN GARCIA RODRIGUEZ                   ADDRESS ON FILE
EDWIN GARCIA TORRES                      ADDRESS ON FILE
EDWIN GERENA RAMOS                       ADDRESS ON FILE
EDWIN GOMEZ NAVARRO                      ADDRESS ON FILE
EDWIN GOMEZ NAVARRO                      ADDRESS ON FILE
EDWIN GOMEZ SALDANA                      ADDRESS ON FILE
EDWIN GOMEZ VEGA                         ADDRESS ON FILE
EDWIN GONZALEZ APONTE                    ADDRESS ON FILE
EDWIN GONZALEZ APONTE                    ADDRESS ON FILE
EDWIN GONZALEZ CORDERO                   ADDRESS ON FILE
EDWIN GONZALEZ CRUZ                      ADDRESS ON FILE
EDWIN GONZALEZ DIAZ                      ADDRESS ON FILE
EDWIN GONZALEZ DIAZ                      ADDRESS ON FILE
EDWIN GONZALEZ DIAZ                      ADDRESS ON FILE
EDWIN GONZALEZ GONZALEZ                  ADDRESS ON FILE
EDWIN GONZALEZ LOPEZ                     LCDO. PABLO COLON SANTIAGO   1739 PASEO DE LAS COLONIAS                                                  PONCE           PR      00717‐2234
EDWIN GONZALEZ LOPEZ                     LCDO. PABLO COLON SANTIAGO   APARTADO 801175                                                             COTO LAUREL     PR      00780‐1175
EDWIN GONZALEZ QUIROZ                    ADDRESS ON FILE
EDWIN GONZALEZ RAMIREZ                   ADDRESS ON FILE
EDWIN GONZALEZ RAMOS                     ADDRESS ON FILE
EDWIN GONZALEZ RIVERA                    ADDRESS ON FILE
EDWIN GONZALEZ TORRES                    ADDRESS ON FILE
EDWIN GONZALEZ TORRES                    ADDRESS ON FILE
EDWIN GONZALEZ VEGA                      ADDRESS ON FILE
EDWIN GONZALEZ VELEZ                     ADDRESS ON FILE
EDWIN GOYCO ROMERO                       ADDRESS ON FILE
EDWIN H BERRIOS LOPEZ                    ADDRESS ON FILE
EDWIN H CABAN SOTO                       ADDRESS ON FILE
EDWIN H RIVERA ESTRADA                   ADDRESS ON FILE
EDWIN H SEPULVEDA VALENTIN               ADDRESS ON FILE
EDWIN H SOTO RODRIGUEZ                   ADDRESS ON FILE
EDWIN H. MORALES‐CORTES Ph.D.MA.M.B.A.   ADDRESS ON FILE
EDWIN HERNANDEZ BAEZ                     ADDRESS ON FILE
EDWIN HERNANDEZ DE LEON                  ADDRESS ON FILE
EDWIN HERNANDEZ GONZALEZ                 ADDRESS ON FILE
EDWIN HERNANDEZ HERNANDEZ                ADDRESS ON FILE




                                                                                                   Page 2492 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2493 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EDWIN HERNANDEZ RODRIGUEZ               ADDRESS ON FILE
EDWIN HERNANDEZ RODRIGUEZ               ADDRESS ON FILE
EDWIN HERRERA ESTEPA                    ADDRESS ON FILE
EDWIN HERRERA ESTEPA                    ADDRESS ON FILE
EDWIN I DECLET FIGUEROA                 ADDRESS ON FILE
EDWIN I GUILLOTY VILLAFANE              ADDRESS ON FILE
EDWIN I NAVARRO MERCADO                 ADDRESS ON FILE
EDWIN I NIEVES ZAYAS                    ADDRESS ON FILE
EDWIN I RIVERA BROKERS CORPORATION      P O BOX 270204                                                                   SAN JUAN     PR      00927‐0204
EDWIN I VILLALON GONZALEZ               ADDRESS ON FILE
EDWIN IBARRA RIOS                       ADDRESS ON FILE
EDWIN IRIZARRY COLON                    ADDRESS ON FILE
EDWIN IRIZARRY COLON                    ADDRESS ON FILE
EDWIN IRIZARRY GARCIA                   ADDRESS ON FILE
EDWIN IRIZARRY LUGO                     ADDRESS ON FILE
EDWIN IRRIZARRY PEREZ                   ADDRESS ON FILE
EDWIN ISONA BENITEZ                     ADDRESS ON FILE
EDWIN J ALVARADO MERCADO                ADDRESS ON FILE
EDWIN J CEDENO LOPEZ                    ADDRESS ON FILE
EDWIN J CIRINO LACEN                    ADDRESS ON FILE
EDWIN J COLON BOSQUES                   ADDRESS ON FILE
EDWIN J DIAZ CRUZ                       ADDRESS ON FILE
EDWIN J FIGUEROA VEGA                   ADDRESS ON FILE
EDWIN J FRANCESCHI                      ADDRESS ON FILE
EDWIN J GONZALEZ SANTIAGO               ADDRESS ON FILE
EDWIN J GONZALEZ SANTIAGO               ADDRESS ON FILE
EDWIN J GONZALEZ TORRES                 ADDRESS ON FILE
EDWIN J GONZALEZ TORRES                 ADDRESS ON FILE
EDWIN J GUZMAN CASTRO                   ADDRESS ON FILE
EDWIN J JIMENEZ VALENTIN                ADDRESS ON FILE
EDWIN J LOPEZ LOPEZ/ CLIMACTIVA CORP    ADDRESS ON FILE
EDWIN J MARIN MARTINEZ                  ADDRESS ON FILE
EDWIN J MARTINEZ / ONEIDA RIVERA        ADDRESS ON FILE
EDWIN J MARTINEZ RIVERA/ENEIDA RIVERA   ADDRESS ON FILE
EDWIN J MONTALVO RODRIGUEZ              ADDRESS ON FILE
EDWIN J MONTERO RIVERA                  ADDRESS ON FILE
EDWIN J MOUX HOYOS                      ADDRESS ON FILE
EDWIN J NARVAEZ SANCHEZ                 ADDRESS ON FILE
EDWIN J NUNEZ RODRIGUEZ                 ADDRESS ON FILE
EDWIN J OQUENDO REYES                   ADDRESS ON FILE
EDWIN J OQUENDO VARGAS                  ADDRESS ON FILE
EDWIN J PAGAN                           ADDRESS ON FILE
EDWIN J PEREZ BURGOS                    ADDRESS ON FILE
EDWIN J PINEIRO TORRES                  ADDRESS ON FILE
EDWIN J QUINONES PORRATA                ADDRESS ON FILE
EDWIN J REYES CASTELLANO                ADDRESS ON FILE
EDWIN J RIVERA ALVAREZ                  ADDRESS ON FILE
EDWIN J RIVERA DAVILA                   ADDRESS ON FILE
EDWIN J RIVERA DIAZ                     ADDRESS ON FILE
EDWIN J RIVERA MALDONADO                ADDRESS ON FILE
EDWIN J RIVERA REYES                    ADDRESS ON FILE
EDWIN J RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
EDWIN J ROSAS OLIVERAS                  ADDRESS ON FILE
EDWIN J SANCHEZ RAMOS                   ADDRESS ON FILE
EDWIN J SOTO                            ADDRESS ON FILE
EDWIN J TOLEDO GALAN                    ADDRESS ON FILE
EDWIN J TOLEDO LOPEZ                    ADDRESS ON FILE
EDWIN J TORRES CANDELARIO               ADDRESS ON FILE
EDWIN J TORRES GONZALEZ                 ADDRESS ON FILE
EDWIN J TORRES ROSADO                   ADDRESS ON FILE




                                                                                    Page 2493 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2494 of 3500
                                                                               17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                   Address1                       Address2                                  Address3              Address4   City            State   PostalCode   Country
EDWIN J TORRES TORRES           ADDRESS ON FILE
EDWIN J. TORRES ROMAN           ADDRESS ON FILE
EDWIN JAVIER GONZALEZ           ADDRESS ON FILE
EDWIN JESE RIVERA PEREZ         ADDRESS ON FILE
EDWIN JIMENEZ BURGOS            ADDRESS ON FILE
EDWIN JIMENEZ CARDONA           ADDRESS ON FILE
EDWIN JIMENEZ ROBLES            ADDRESS ON FILE
EDWIN JIMENEZ RODRIGUEZ         ADDRESS ON FILE
EDWIN JOEL SOLER RUIZ           ADDRESS ON FILE
EDWIN JOMAR JIMENEZ RODRIGUEZ   LCDO. ROBERTO CARDONA UBIÑAS   CALLE BETANCES #67 APARTADO 265                                            AGUADILLA       PR      00605
EDWIN JORGE ROJAS               ADDRESS ON FILE
EDWIN JOSE CRUZ BURGOS          ADDRESS ON FILE
EDWIN JOSE SIERRA SANTIAGO      ADDRESS ON FILE
EDWIN JR. AUTO                  ADDRESS ON FILE
EDWIN JUAN NEGRON VARGAS        ADDRESS ON FILE
EDWIN JUAN TORO ACOSTA          ADDRESS ON FILE
EDWIN L CARMONA GRACIA          ADDRESS ON FILE
EDWIN L CORDERO IRIZARRY        ADDRESS ON FILE
EDWIN l GIMENEZ REYES           ADDRESS ON FILE
EDWIN l GIMENEZ REYES           ADDRESS ON FILE
EDWIN L LEBRON FUENTES          ADDRESS ON FILE
EDWIN L MEDINA PAGAN            ADDRESS ON FILE
EDWIN L PORTALATIN PEREZ        ADDRESS ON FILE
EDWIN L VEGA COLON              ADDRESS ON FILE
EDWIN LABOY RIVERA              ADDRESS ON FILE
EDWIN LACEN CARRASQUILLO        ADDRESS ON FILE
EDWIN LASANTA LASANTA           ADDRESS ON FILE
EDWIN LAUREANO MOLINA           ADDRESS ON FILE
EDWIN LEBRON RODRIGUEZ          ADDRESS ON FILE
EDWIN LOPEZ                     ADDRESS ON FILE
EDWIN LOPEZ DUQUE               ADDRESS ON FILE
EDWIN LOPEZ LOPEZ               ADDRESS ON FILE
EDWIN LOPEZ LOPEZ               ADDRESS ON FILE
EDWIN LOPEZ MARTINEZ            ADDRESS ON FILE
EDWIN LOPEZ PEREZ               ADDRESS ON FILE
EDWIN LÓPEZ PÉREZ               POR DERECHO PROPIO             2260 CALLE DR. LUGO                                                        SAN ANTONIO     PR      00690
EDWIN LOPEZ RIOS                ADDRESS ON FILE
EDWIN LOPEZ SANCHEZ             ADDRESS ON FILE
EDWIN LUGO CRUZ                 ADDRESS ON FILE
EDWIN LUGO MATIAS               ADDRESS ON FILE
EDWIN LUGO RIOS                 ADDRESS ON FILE
EDWIN LUGO RIVERA               ADDRESS ON FILE
EDWIN LUIS GARCÍA VEGA          VICTOR A. RAMOS RODRIGUEZ      PO BOX 9465                               PLAZA CAROLINA STA.              CAROLINA        PR      00988‐9465
EDWIN LUNA ROLON                ADDRESS ON FILE
EDWIN M CRUZ Y WANDA A VIERA    ADDRESS ON FILE
EDWIN M FIGUEROA MARTINEZ       ADDRESS ON FILE
EDWIN M GONZALEZ ACEVEDO        ADDRESS ON FILE
EDWIN M JIMENEZ LOPEZ           ADDRESS ON FILE
EDWIN M LOPEZ DE JESUS          ADDRESS ON FILE
EDWIN M LOPEZ RIVERA            ADDRESS ON FILE
EDWIN M RAMIREZ ORTIZ           ADDRESS ON FILE
EDWIN M REYES LOPEZ             ADDRESS ON FILE
EDWIN M REYES MORENO            ADDRESS ON FILE
EDWIN M RIVERA ROSADO           ADDRESS ON FILE
EDWIN M RIVERA VEGA             ADDRESS ON FILE
EDWIN M SILVA BRETANA           ADDRESS ON FILE
EDWIN M TORRES RAMOS            ADDRESS ON FILE
EDWIN M TORRES VADELL           ADDRESS ON FILE
EDWIN M VAZQUEZ RODRIGUEZ       ADDRESS ON FILE
EDWIN M ZAMBRANA                ADDRESS ON FILE




                                                                                          Page 2494 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2495 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                           Address1                               Address2                  Address3   Address4   City              State   PostalCode   Country
EDWIN M. SERRANO ROMERO                 ADDRESS ON FILE
EDWIN MALDONADO BURGOS                  ADDRESS ON FILE
EDWIN MALDONADO CONCEPCION              ADDRESS ON FILE
EDWIN MALDONADO CONCEPCION              ADDRESS ON FILE
EDWIN MALDONADO RIVERA                  ADDRESS ON FILE
EDWIN MALDONADO ROMERO                  ADDRESS ON FILE
EDWIN MARCIAL GUZMAN                    ADDRESS ON FILE
EDWIN MARQUEZ FLORES                    ADDRESS ON FILE
EDWIN MARRERO MALDONADO                 ADDRESS ON FILE
EDWIN MARRERO ROCA                      ADDRESS ON FILE
EDWIN MARTELL VALENTIN Y LISETTE MOLINA ADDRESS ON FILE
EDWIN MARTINEZ CORREA                   ADDRESS ON FILE
EDWIN MARTINEZ FIGUEROA                 ADDRESS ON FILE
EDWIN MARTINEZ ORTIZ                    ADDRESS ON FILE
EDWIN MARTINEZ RAMOS                    ADDRESS ON FILE
EDWIN MARTINEZ RIVERA                   ADDRESS ON FILE
EDWIN MARTINEZ TORRES                   ADDRESS ON FILE
EDWIN MARTINEZ VAZQUEZ                  ADDRESS ON FILE
EDWIN MARTY SOTO                        ADDRESS ON FILE
EDWIN MATIAS VELEZ                      ADDRESS ON FILE
EDWIN MATOS MALDONADO                   ADDRESS ON FILE
EDWIN MATOS PENA                        ADDRESS ON FILE
EDWIN MATOS VELAZQUEZ                   ADDRESS ON FILE
EDWIN MAYSONET MORALES                  ADDRESS ON FILE
EDWIN MAYSONET MORALES                  ADDRESS ON FILE
EDWIN MEDERO ROHENA                     ADDRESS ON FILE
EDWIN MEDERO ROHENA                     ADDRESS ON FILE
EDWIN MEDINA CRESPO                     ADDRESS ON FILE
EDWIN MEDINA GONZALEZ                   ADDRESS ON FILE
EDWIN MEDINA PACHECO                    ADDRESS ON FILE
EDWIN MELENDEZ DE JESUS                 ADDRESS ON FILE
EDWIN MELENDEZ MONSERRATE DBA EDWIN AUALTURAS DE INTERAMERICANA CALLE 11 Q‐2                                                   TRUJILLA ALTO     PR      00976‐0000
EDWIN MELENDEZ PABON                    ADDRESS ON FILE
EDWIN MELENDEZ RAMOS                    ADDRESS ON FILE
EDWIN MELENDEZ SANCHEZ                  ADDRESS ON FILE
EDWIN MENDEZ RIOS                       ADDRESS ON FILE
EDWIN MENDEZ SANTONI                    ADDRESS ON FILE
EDWIN MENDEZ SANTONI                    ADDRESS ON FILE
EDWIN MENDEZ TORO                       ADDRESS ON FILE
EDWIN MENDOZA PIZARRO                   ADDRESS ON FILE
EDWIN MERCADO                           ADDRESS ON FILE
EDWIN MERCADO VILLANUEVA                ADDRESS ON FILE
EDWIN MIRANDA FIGUEROA                  ADDRESS ON FILE
EDWIN MIRANDA REYES                     ADDRESS ON FILE
EDWIN MIRANDA ROSA                      ADDRESS ON FILE
EDWIN MOLINA FIGUEROA                   ADDRESS ON FILE
EDWIN MOLINA GONZALEZ                   ADDRESS ON FILE
EDWIN MOLINA/ MARGARITA MELENDEZ        ADDRESS ON FILE
EDWIN MONTA¥EZ FELICIANO                ADDRESS ON FILE
EDWIN MONTA¥EZ FELICIANO                ADDRESS ON FILE
EDWIN MONTAÐEZ MORALES                  ADDRESS ON FILE
EDWIN MONTALVO SANTIAGO                 ADDRESS ON FILE
EDWIN MONTANEZ MORALES                  ADDRESS ON FILE
EDWIN MONTERO ORTIZ                     ADDRESS ON FILE
EDWIN MONTERO RIVERA                    ADDRESS ON FILE
EDWIN MORALES / MUEBLERIA MINI PRECIO   ADDRESS ON FILE
EDWIN MORALES PEREZ                     ADDRESS ON FILE
EDWIN MORALES SANCHEZ                   ADDRESS ON FILE
EDWIN MORALES SOTO                      ADDRESS ON FILE
EDWIN MUNIZ ALVAREZ E YOLANDA CRUZ      ADDRESS ON FILE




                                                                                          Page 2495 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2496 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                          Address1                 Address2                         Address3   Address4   City         State   PostalCode   Country
EDWIN MUNIZ BELTRAN                    ADDRESS ON FILE
EDWIN MUNIZ BELTRAN                    ADDRESS ON FILE
EDWIN MUNIZ BELTRAN                    ADDRESS ON FILE
EDWIN MUNIZ HERNANDEZ                  ADDRESS ON FILE
EDWIN MUNIZ NEGRON                     ADDRESS ON FILE
EDWIN MUNIZ PEREZ                      ADDRESS ON FILE
EDWIN MUNIZ PEREZ                      ADDRESS ON FILE
EDWIN MUNIZ RIOS                       ADDRESS ON FILE
EDWIN MUNIZ RIOS                       ADDRESS ON FILE
EDWIN MUNIZ RUBERT                     ADDRESS ON FILE
EDWIN MUNOZ GARCIA                     ADDRESS ON FILE
EDWIN MUNOZ NIEVEZ                     ADDRESS ON FILE
EDWIN N ARROYO CASTILLO                ADDRESS ON FILE
EDWIN N GARCIA ARROYO                  ADDRESS ON FILE
EDWIN N MARRERO MENDEZ                 ADDRESS ON FILE
EDWIN N. MILLAYES VILLARRUBIA          ADDRESS ON FILE
EDWIN N. VILLEGAS ROBLEDO              HAYDE CALDERON MUÑOZ     PO BOX 963                                             LUQUILLO     PR      00773
EDWIN NATAL LOPEZ                      ADDRESS ON FILE
EDWIN NAVAS COLON DBA CLASSIC PRINTING & PROMOTIONAL PRODUCTS   P O BOX 9164                                           BAYAMON      PR      00960‐9164
EDWIN NAVAS COLON DBA CLASSIC PRINTING PO BOX 9164                                                                     BAYAMON      PR      00960
EDWIN NAZARIO NIEVES                   ADDRESS ON FILE
EDWIN NEGRON LAUREANO                  ADDRESS ON FILE
EDWIN NEGRON MILLAN                    ADDRESS ON FILE
EDWIN NEGRON TORRES                    ADDRESS ON FILE
EDWIN NELSON QUINONES                  ADDRESS ON FILE
EDWIN NIEVES RODRIGUEZ                 ADDRESS ON FILE
EDWIN NIEVES RODRIGUEZ                 ADDRESS ON FILE
EDWIN NUNEZ                            ADDRESS ON FILE
EDWIN NUNEZ CALDERON                   ADDRESS ON FILE
EDWIN NUNEZ CARABALLO                  ADDRESS ON FILE
EDWIN NUNEZ HERNANDEZ                  ADDRESS ON FILE
EDWIN NUNEZ RODRIGUEZ                  ADDRESS ON FILE
EDWIN NUNEZ RODRIGUEZ                  ADDRESS ON FILE
EDWIN NUNEZ SANTIAGO                   ADDRESS ON FILE
EDWIN O ALBINO RIVERA                  ADDRESS ON FILE
EDWIN O BERDECIA PEREZ                 ADDRESS ON FILE
EDWIN O CINTRON ALAMO                  ADDRESS ON FILE
EDWIN O CRUZ RODRIGUEZ                 ADDRESS ON FILE
EDWIN O FIGUEROA FLORES                ADDRESS ON FILE
EDWIN O MARRERO SANCHEZ                ADDRESS ON FILE
EDWIN O PEREZ LUGO                     ADDRESS ON FILE
EDWIN O PRIETO TORRES                  ADDRESS ON FILE
EDWIN O RIVERA GONZALEZ                ADDRESS ON FILE
EDWIN O RODRIGUEZ CLASS                ADDRESS ON FILE
EDWIN O RODRIGUEZ SANTIAGO             ADDRESS ON FILE
EDWIN O ROSADO COLON                   ADDRESS ON FILE
EDWIN O TIRADO FALCON                  ADDRESS ON FILE
EDWIN O VAZQUEZ TORRES                 ADDRESS ON FILE
EDWIN O VEGA MALAVE                    ADDRESS ON FILE
EDWIN O VILLANUEVA ARSUAGA             ADDRESS ON FILE
EDWIN O. CINTRON ALAMO V DEPARTAMENTO DEDWIN CINTRON ALAMO      PO BOX 355                                             PATILLAS     PR      00723
EDWIN O. GONZALEZ VAZQUEZ              ADDRESS ON FILE
EDWIN OCASIO                           ADDRESS ON FILE
EDWIN OCASIO LEON                      ADDRESS ON FILE
EDWIN OCASIO SANTIAGO                  ADDRESS ON FILE
EDWIN OCASIO SOTO                      ADDRESS ON FILE
EDWIN OCASIO VAZQUEZ                   ADDRESS ON FILE
EDWIN OCASIO VEGA                      ADDRESS ON FILE
EDWIN OCASIO VEGA                      ADDRESS ON FILE
EDWIN OCASIO VEGA                      ADDRESS ON FILE




                                                                                  Page 2496 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2497 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
EDWIN OJEDA RAMIREZ                     ADDRESS ON FILE
EDWIN OLAVARRIA AYALA                   ADDRESS ON FILE
EDWIN OLIVERAS TORRES                   ADDRESS ON FILE
EDWIN OMAR MOLINA TORRES                ADDRESS ON FILE
EDWIN ORFILA HERNANDEZ                  ADDRESS ON FILE
EDWIN ORTEGA CABRERA                    ADDRESS ON FILE
EDWIN ORTIZ COLA                        ADDRESS ON FILE
EDWIN ORTIZ ESQUILIN                    ADDRESS ON FILE
EDWIN ORTIZ FUENTES                     ADDRESS ON FILE
EDWIN ORTIZ RIVERA                      ADDRESS ON FILE
EDWIN ORTIZ RIVERA                      ADDRESS ON FILE
EDWIN ORTIZ RIVERA III                  ADDRESS ON FILE
EDWIN ORTIZ RODRIGUEZ                   ADDRESS ON FILE
EDWIN ORTIZ ZAMBRANA                    ADDRESS ON FILE
EDWIN OTERO ALAYON                      ADDRESS ON FILE
EDWIN P CORDERO RODRIGUEZ               ADDRESS ON FILE
EDWIN P CORDERO RODRIGUEZ               ADDRESS ON FILE
EDWIN P LOPEZ CUEVAS                    ADDRESS ON FILE
EDWIN PABELLON NIEVES                   ADDRESS ON FILE
EDWIN PACHECO ANTONETTI/ MAXIMO SOLAR   ADDRESS ON FILE
EDWIN PACHECO PACHECO                   ADDRESS ON FILE
EDWIN PACHECO QUINONES                  ADDRESS ON FILE
EDWIN PACHECO RAMOS                     ADDRESS ON FILE
EDWIN PADRO AYALA                       ADDRESS ON FILE
EDWIN PAGAN DETRES                      ADDRESS ON FILE
EDWIN PAGAN GONZALEZ                    ADDRESS ON FILE
EDWIN PANTOJA RODRIGUEZ                 ADDRESS ON FILE
Edwin PeNa Hernandez                    ADDRESS ON FILE
EDWIN PEREIRA RODRIGUEZ                 ADDRESS ON FILE
EDWIN PEREZ ALVAREZ                     ADDRESS ON FILE
EDWIN PEREZ AND ASSOCIATES PSC          URB CROWN HLS             138 AVENUE W CHURCHILL PMB 245                                   SAN JUAN     PR      00926
EDWIN PEREZ ARROYO                      ADDRESS ON FILE
EDWIN PEREZ CARABALLO                   ADDRESS ON FILE
EDWIN PEREZ GARCIA                      LCDO. ATHOS VEGA, JR.     1369 CALLE SALUD STE. 104                                        Ponce        PR      00717‐2014
EDWIN PEREZ JIMENEZ                     ADDRESS ON FILE
EDWIN PEREZ MELENDEZ                    ADDRESS ON FILE
EDWIN PEREZ MELENDEZ Y SANDRA M PEREZ   ADDRESS ON FILE
EDWIN PEREZ PIETRI                      ADDRESS ON FILE
EDWIN PEREZ RODRIGUEZ                   ADDRESS ON FILE
EDWIN PEREZ SANCHEZ                     ADDRESS ON FILE
EDWIN PINA                              ADDRESS ON FILE
EDWIN PINALES FLORES                    ADDRESS ON FILE
EDWIN PINEIRO                           ADDRESS ON FILE
EDWIN PINERO MORALES                    ADDRESS ON FILE
EDWIN PIZARRO VELEZ                     ADDRESS ON FILE
EDWIN PUJOLS ROBLES                     ADDRESS ON FILE
EDWIN QUINONES ACOSTA                   ADDRESS ON FILE
EDWIN QUINONES ARROYO                   ADDRESS ON FILE
EDWIN QUINONES DEL VALLE                ADDRESS ON FILE
EDWIN QUINONES MALDONADO                ADDRESS ON FILE
EDWIN QUINONES RIVERA                   ADDRESS ON FILE
EDWIN QUINONES TRUJILLO                 ADDRESS ON FILE
EDWIN QUINONEZ / NILDA GARCIA           ADDRESS ON FILE
EDWIN QUINTANA VARGAS                   ADDRESS ON FILE
EDWIN R AVILES RIVERA                   ADDRESS ON FILE
EDWIN R BERRIOS ROJAS                   ADDRESS ON FILE
EDWIN R CINTRON VALENZUELA              ERICK MORALES PÉREZ       PO BOX 10409                                                     SAN JUAN     PR      00922
EDWIN R COLON TORRES                    ADDRESS ON FILE
EDWIN R CRUZ MELECIO                    ADDRESS ON FILE
EDWIN R DIAZ CHARRIEZ                   ADDRESS ON FILE




                                                                                              Page 2497 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2498 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
EDWIN R DIAZ SELLES                      ADDRESS ON FILE
EDWIN R LUGO FIGUEROA                    ADDRESS ON FILE
EDWIN R MARRERO NEGRON                   ADDRESS ON FILE
EDWIN R MARTINEZ COLON                   ADDRESS ON FILE
EDWIN R MELENDEZ MARTINEZ                ADDRESS ON FILE
EDWIN R ORTIZ RAMOS                      ADDRESS ON FILE
EDWIN R REYES REYES                      ADDRESS ON FILE
EDWIN R RIVERA GONZALEZ                  ADDRESS ON FILE
EDWIN R RIVERA VELAZQUEZ                 ADDRESS ON FILE
EDWIN R RODRIGUEZ ALVAREZ                ADDRESS ON FILE
EDWIN R SANCHEZ SIERRA                   ADDRESS ON FILE
EDWIN R SANTELL CORA                     ADDRESS ON FILE
EDWIN R TANON MARTINEZ                   ADDRESS ON FILE
EDWIN R TORRES FIGUEROA                  ADDRESS ON FILE
EDWIN R VELASCO OCASIO                   ADDRESS ON FILE
EDWIN R VELEZ RODRIGUEZ                  ADDRESS ON FILE
EDWIN R VELEZ SANCHEZ                    ADDRESS ON FILE
EDWIN R VILLALBA RODRIGUEZ               ADDRESS ON FILE
EDWIN R VINAS LOPEZ                      ADDRESS ON FILE
EDWIN R. CARRERAS RIVERA                 ADDRESS ON FILE
EDWIN R. CUEVAS GOMEZ                    ADDRESS ON FILE
EDWIN R. ORTIZ TORO                      ADDRESS ON FILE
EDWIN R. PADOVANI                        ADDRESS ON FILE
EDWIN R. RIOS                            ADDRESS ON FILE
EDWIN R. RIOS                            ADDRESS ON FILE
EDWIN R. VELEZ SANTIAGO                  ADDRESS ON FILE
EDWIN RAMIREZ MARRERO                    ADDRESS ON FILE
EDWIN RAMIREZ RUIZ                       ADDRESS ON FILE
EDWIN RAMOS AVILES                       ADDRESS ON FILE
EDWIN RAMOS CONCEPCION                   ADDRESS ON FILE
EDWIN RAMOS DBA FERRETERIA RAMOS         BOX 455                                                                          LAS MARIAS     PR      00670‐0000
EDWIN RAMOS DBA FERRETERIA RAMOS E HIJOS BOX 455                                                                          LAS MARIAS     PR      00670‐0000
EDWIN RAMOS FELICIANO                    ADDRESS ON FILE
EDWIN RAMOS LOPEZ                        ADDRESS ON FILE
EDWIN RAMOS LUCIANO                      ADDRESS ON FILE
EDWIN RAMOS ORTIZ                        ADDRESS ON FILE
EDWIN RAMOS PERALES                      ADDRESS ON FILE
EDWIN RAMOS RUIZ                         ADDRESS ON FILE
EDWIN RAMOS SAAVEDRA                     ADDRESS ON FILE
EDWIN RAMOS SANTIAGO                     ADDRESS ON FILE
EDWIN RAMOS SANTOS                       ADDRESS ON FILE
EDWIN RAYMUNDí GARCíA                    ADDRESS ON FILE
EDWIN REYES DAVILA                       ADDRESS ON FILE
EDWIN REYES DEIDA                        ADDRESS ON FILE
EDWIN REYES DIANA                        ADDRESS ON FILE
EDWIN REYES GARCIA                       ADDRESS ON FILE
EDWIN REYES GONZALEZ                     ADDRESS ON FILE
EDWIN REYES HERNANDEZ                    ADDRESS ON FILE
EDWIN REYES ORTIZ                        ADDRESS ON FILE
EDWIN REYES RIVERA                       ADDRESS ON FILE
EDWIN REYES RIVERA                       ADDRESS ON FILE
EDWIN REYMUNDI GARCIA                    ADDRESS ON FILE
EDWIN RIOS CRESPO                        ADDRESS ON FILE
EDWIN RIOS LUCIANO                       ADDRESS ON FILE
EDWIN RIOS PRATTS                        ADDRESS ON FILE
EDWIN RIOS RIVERA                        ADDRESS ON FILE
EDWIN RIOS TORRES                        ADDRESS ON FILE
EDWIN RIOS VALENTIN                      ADDRESS ON FILE
EDWIN RIVAS MONTALVO                     ADDRESS ON FILE
EDWIN RIVERA                             ADDRESS ON FILE




                                                                                     Page 2498 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2499 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                                 Address2                                    Address3       Address4        City         State   PostalCode   Country
EDWIN RIVERA                            ADDRESS ON FILE
EDWIN RIVERA APONTE Y CARMEN I ORTIZ    ADDRESS ON FILE
EDWIN RIVERA BONILLA                    ADDRESS ON FILE
EDWIN RIVERA BONILLA                    ADDRESS ON FILE
EDWIN RIVERA CARRERO                    ADDRESS ON FILE
EDWIN RIVERA COLON                      ADDRESS ON FILE
EDWIN RIVERA DBA CLINICA VISUAL COMERIO PO BOX 1856                                                                                                         MOROVIS      PR      00687
EDWIN RIVERA FUENTES                    ADDRESS ON FILE
EDWIN RIVERA MARTINEZ                   ADDRESS ON FILE
EDWIN RIVERA MARTINEZ Y MARILYN QUINONESADDRESS ON FILE
EDWIN RIVERA MENDEZ                     ADDRESS ON FILE
EDWIN RIVERA MERCADO                    ADDRESS ON FILE
EDWIN RIVERA MERCADO                    ADDRESS ON FILE
EDWIN RIVERA MERCADO                    DEMANDANTE‐ PRO SE DEMANDADA ‐VILMA OR CAPITAL CENTER BUILDING                       SUITE 401                      HATO REY     PR      00918
EDWIN RIVERA MOJICA                     ADDRESS ON FILE
EDWIN RIVERA MONTERO                    DEMANDANTE POR DERECHO PROPIO            INSTITUCIÓN MÁXIMA SEGURIDAD                Ponce: 3793    Ponce BY PASS   PONCE        PR      00728‐1504
EDWIN RIVERA MORALES                    ADDRESS ON FILE
EDWIN RIVERA MOYA                       ADDRESS ON FILE
EDWIN RIVERA ORTIZ                      ADDRESS ON FILE
EDWIN RIVERA PACHECO                    ADDRESS ON FILE
EDWIN RIVERA REPOLLET                   ADDRESS ON FILE
EDWIN RIVERA RIVERA                     ADDRESS ON FILE
EDWIN RIVERA RIVERA                     ADDRESS ON FILE
EDWIN RIVERA RODRIGUEZ                  ADDRESS ON FILE
EDWIN RIVERA RODRIGUEZ                  ADDRESS ON FILE
EDWIN RIVERA ROMAN                      LCDO. JUAN SERRANO SANTIAGO ASOCIACIÓN D (AEELA)                                     PO BOX 70199                   SAN JUAN     PR      00936‐8190
EDWIN RIVERA SANTIAGO                   ADDRESS ON FILE
EDWIN ROBLES CIARES                     ADDRESS ON FILE
EDWIN ROBLES PEREZ                      ADDRESS ON FILE
EDWIN ROCHE WILLIAMS                    ADDRESS ON FILE
EDWIN RODRIGUEZ                         ADDRESS ON FILE
EDWIN RODRIGUEZ CINTRON                 ADDRESS ON FILE
EDWIN RODRIGUEZ DIAZ                    ADDRESS ON FILE
EDWIN RODRIGUEZ FIGUEROA                ADDRESS ON FILE
EDWIN RODRIGUEZ GOMEZ                   ADDRESS ON FILE
EDWIN RODRIGUEZ GONZALEZ                ADDRESS ON FILE
EDWIN RODRIGUEZ GONZALEZ                ADDRESS ON FILE
EDWIN RODRIGUEZ LOPEZ                   ADDRESS ON FILE
EDWIN RODRIGUEZ MALDONADO               ADDRESS ON FILE
EDWIN RODRIGUEZ MARRERO                 ADDRESS ON FILE
EDWIN RODRIGUEZ MORALES                 ADDRESS ON FILE
EDWIN RODRIGUEZ NIEVES                  ADDRESS ON FILE
EDWIN RODRIGUEZ RAMOS                   ADDRESS ON FILE
EDWIN RODRIGUEZ RIVERA                  ADDRESS ON FILE
EDWIN RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
EDWIN RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
EDWIN RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
EDWIN RODRIGUEZ SANTIAGO                ADDRESS ON FILE
EDWIN RODRIGUEZ SOLIVAN                 ADDRESS ON FILE
EDWIN RODRIGUEZ ZABALA                  ADDRESS ON FILE
EDWIN ROJAS GONZALEZ                    ADDRESS ON FILE
EDWIN ROJAS RIVERA                      ADDRESS ON FILE
EDWIN ROJAS RIVERA                      ADDRESS ON FILE
EDWIN ROLDAN MORALES                    ADDRESS ON FILE
EDWIN ROLDAN MUNIZ                      ADDRESS ON FILE
EDWIN ROLON CORTES                      ADDRESS ON FILE
EDWIN ROMAN CRUZ                        ADDRESS ON FILE
EDWIN ROMAN PEREZ                       ADDRESS ON FILE
EDWIN ROMAN PEREZ                       ADDRESS ON FILE
EDWIN ROMAN PEREZ                       ADDRESS ON FILE




                                                                                                           Page 2499 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2500 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                    Address2                        Address3   Address4    City         State   PostalCode   Country
EDWIN ROMAN TOSADO Y WANDA COSME DIAZ ADDRESS ON FILE
EDWIN ROSA SAEZ                         ADDRESS ON FILE
EDWIN ROSADO GONZALEZ                   ADDRESS ON FILE
EDWIN ROSADO HERNANDEZ                  ADDRESS ON FILE
EDWIN ROSADO NUNEZ                      ADDRESS ON FILE
EDWIN ROSADO ROSADO                     ADDRESS ON FILE
EDWIN ROSARIO CALDERON                  ADDRESS ON FILE
EDWIN ROSARIO HERNANDEZ                 ADDRESS ON FILE
EDWIN ROSARIO PAZ                       ADDRESS ON FILE
EDWIN ROSARIO SANTIAGO                  ADDRESS ON FILE
EDWIN ROSAS FERRER                      ADDRESS ON FILE
EDWIN ROSAS FLORES                      ADDRESS ON FILE
EDWIN RUIZ ORTIZ                        ADDRESS ON FILE
EDWIN RUIZ ROMAN                        ADDRESS ON FILE
EDWIN RULLAN CALES                      ADDRESS ON FILE
EDWIN S ACEVEDO CRESPO                  ADDRESS ON FILE
EDWIN S CORDERO ROSADO                  ADDRESS ON FILE
EDWIN S IRIZARRY DELGADO                ADDRESS ON FILE
EDWIN S RIVERA PEREZ DBA CONST CASTANER BOX 705                                                                            CASTANER     PR      00631
EDWIN SABO CINTRON                      ADDRESS ON FILE
EDWIN SALGADO ZAYAS                     ADDRESS ON FILE
EDWIN SAMUEL MIRANDA HERNANDEZ          ADDRESS ON FILE
EDWIN SANCHEZ ADORNO                    ADDRESS ON FILE
EDWIN SANCHEZ ADORNO                    ADDRESS ON FILE
EDWIN SANCHEZ BELTRAN                   ADDRESS ON FILE
EDWIN SANCHEZ CRUZ                      ADDRESS ON FILE
EDWIN SANCHEZ ROBLES                    ADDRESS ON FILE
EDWIN SANCHEZ SANTINI                   ADDRESS ON FILE
EDWIN SANCHEZ VELEZ                     ADDRESS ON FILE
EDWIN SANTANA COLON                     ADDRESS ON FILE
EDWIN SANTIAGO                          ADDRESS ON FILE
EDWIN SANTIAGO ACEVEDO                  ADDRESS ON FILE
EDWIN SANTIAGO AROCHO                   ADDRESS ON FILE
EDWIN SANTIAGO CABALLERO                ADDRESS ON FILE
EDWIN SANTIAGO COLON                    ADDRESS ON FILE
EDWIN SANTIAGO DE LEON                  ADDRESS ON FILE
EDWIN SANTIAGO LÓPEZ                    ADDRESS ON FILE
EDWIN SANTIAGO NIEVES                   ADDRESS ON FILE
EDWIN SANTIAGO RAMIREZ                  ADDRESS ON FILE
EDWIN SANTIAGO SANTANA                  ADDRESS ON FILE
EDWIN SANTIAGO VALENTIN                 ADDRESS ON FILE
EDWIN SANTIANGO LÓPEZ                   LCDO. JULIO VARGAS APONTE   PMB 21 3 390                    SUITE #1   CARR. 853   CAROLINA     PR      00987‐8799
EDWIN SANTOS MARTINEZ                   ADDRESS ON FILE
EDWIN SERRANDO COLON                    ADDRESS ON FILE
EDWIN SERRANO MILLAN                    ADDRESS ON FILE
EDWIN SERRANO RIVERA                    ADDRESS ON FILE
EDWIN SERRANO ROMERO                    ADDRESS ON FILE
EDWIN SIERRA FRANCO                     ADDRESS ON FILE
EDWIN SOLIVAN LOZADA / VILMARIE LOZADA ADDRESS ON FILE
EDWIN SOTO GALINDEZ                     ADDRESS ON FILE
EDWIN SOTO GONZALEZ                     ADDRESS ON FILE
EDWIN SOTO REYES                        ADDRESS ON FILE
EDWIN SOTO RIVERA                       ADDRESS ON FILE
EDWIN SOTO RIVERA                       ADDRESS ON FILE
EDWIN SUAREZ CARRERO                    ADDRESS ON FILE
EDWIN SUAREZ ESQUIVEL                   ADDRESS ON FILE
EDWIN SUAREZ MARRERO                    ADDRESS ON FILE
EDWIN SUAREZ VELEZ                      ADDRESS ON FILE
EDWIN TANON VELAZQUEZ                   ADDRESS ON FILE
EDWIN TAVAREZ ACEVEDO                   ADDRESS ON FILE




                                                                                     Page 2500 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2501 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                            Address1                               Address2                               Address3              Address4      City             State   PostalCode   Country
EDWIN TIRE SERVICE CENTER INC            42535 CARR 2 KM 97.4                                                                                              QUEBRADILLAS     PR      00678
EDWIN TORRES ALVAREZ                     ADDRESS ON FILE
EDWIN TORRES AQUINO                      ADDRESS ON FILE
EDWIN TORRES AYALA                       ADDRESS ON FILE
EDWIN TORRES BERRIOS                     ADDRESS ON FILE
EDWIN TORRES CASUL                       ADDRESS ON FILE
EDWIN TORRES CAZUL                       ADDRESS ON FILE
EDWIN TORRES DONES                       ADDRESS ON FILE
EDWIN TORRES GOMEZ                       ADDRESS ON FILE
EDWIN TORRES GONZALEZ/CAFE EL MADRIGAL ADDRESS ON FILE
EDWIN TORRES GUZMAN / EDWIN TORRES DIAZ ADDRESS ON FILE
EDWIN TORRES LAMBOY                      ADDRESS ON FILE
EDWIN TORRES MALDONADO                   ADDRESS ON FILE
EDWIN TORRES MARTINEZ                    ADDRESS ON FILE
EDWIN TORRES MELENDEZ                    ADDRESS ON FILE
EDWIN TORRES MORALES                     ADDRESS ON FILE
EDWIN TORRES NAZARIO                     ADDRESS ON FILE
EDWIN TORRES ORTIZ                       ADDRESS ON FILE
EDWIN TORRES PACHECO/ NEW ENERGY         ADDRESS ON FILE
EDWIN TORRES PEREZ                       ADDRESS ON FILE
EDWIN TORRES RAMOS                       ADDRESS ON FILE
EDWIN TORRES RIVERA                      ADDRESS ON FILE
EDWIN TORRES RODRIGUEZ                   ADDRESS ON FILE
EDWIN TORRES ROSADO                      ADDRESS ON FILE
EDWIN TORRES SIERRA DBA JUNIOR AUTO SERV 470 COMUNIDAD CARACOLES 2                                                                                         PENUELAS         PR      00624
EDWIN VALENTIN BARRETO                   ADDRESS ON FILE
EDWIN VALENTIN CORDERO                   ADDRESS ON FILE
EDWIN VALENTIN ROSA                      ADDRESS ON FILE
EDWIN VALENTIN SALAS                     ADDRESS ON FILE
EDWIN VALENTIN TORRES                    ADDRESS ON FILE
EDWIN VALLE VAZQUEZ                      ADDRESS ON FILE
EDWIN VANDIEN MERCED                     ADDRESS ON FILE
EDWIN VANTARPOOL RODRIGUEZ               ADDRESS ON FILE
EDWIN VARGAS CARDONA                     ADDRESS ON FILE
EDWIN VARGAS HERNANDEZ                   ADDRESS ON FILE
EDWIN VARGAS VARGAS                      ADDRESS ON FILE
EDWIN VARGAS VELAZQUEZ                   ADDRESS ON FILE
EDWIN VAZQUEZ FERRER                     ADDRESS ON FILE
EDWIN VAZQUEZ RIVERA                     ADDRESS ON FILE
EDWIN VAZQUEZ RODRIGUEZ                  EDWIN VÁZQUEZ RODRÍGUEZ(DERECHO PROPIO)URB. METRÓPOLIS #2M81                  CALLE 56                            CAROLINA         PR      00987
EDWIN VAZQUEZ ROSA                       ADDRESS ON FILE
EDWIN VAZQUEZ SANCHEZ                    ADDRESS ON FILE
EDWIN VEGA GARCIA                        ADDRESS ON FILE
EDWIN VEGA ROSADO                        ADDRESS ON FILE
EDWIN VEGA SILVA                         ADDRESS ON FILE
EDWIN VELAZQUEZ                          ADDRESS ON FILE
EDWIN VELAZQUEZ BOSQUES                  ADDRESS ON FILE
EDWIN VELAZQUEZ CASTILLO                 ADDRESS ON FILE
EDWIN VELAZQUEZ HERNANDEZ                ADDRESS ON FILE
EDWIN VELEZ CRUZ                         ADDRESS ON FILE
EDWIN VELEZ FERNANDEZ                    ADDRESS ON FILE
EDWIN VELEZ NEGRON                       ADDRESS ON FILE
EDWIN VELEZ ORENGO                       ADDRESS ON FILE
EDWIN VELEZ RODRIGUEZ                    ADDRESS ON FILE
EDWIN VELEZ SOTO                         ADDRESS ON FILE
EDWIN VERA FARIS                         ADDRESS ON FILE
EDWIN VIRELLA LOZADA                     ADDRESS ON FILE
EDWIN VITALI FIGUEROA                    LCDO. EDGARDO SANTIAGO‐LLORÉNS                                           1925 BLV. LUIS A. FERRE,   SAN ANTONIO   PONCE            PR      00728‐1815
EDWIN X ARANA CARRION                    ADDRESS ON FILE
EDWIN X COLLAZO VELAZQUEZ                ADDRESS ON FILE




                                                                                                        Page 2501 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2502 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                            Address1                                  Address2                                     Address3   Address4   City                State   PostalCode   Country
EDWIN X DELGADO MAURAS / EDWIN R DELGAD ADDRESS ON FILE
EDWIN X GONZALEZ BAEZ                    ADDRESS ON FILE
EDWIN X SOSA APONTE                      ADDRESS ON FILE
EDWIN Y CARRASQUILLO QUINONES            ADDRESS ON FILE
EDWIN Y JUSTINIANO CANDELARIA            ADDRESS ON FILE
EDWIN Y NIEVES GONZALEZ                  ADDRESS ON FILE
EDWIN Y. ROSARIO CINTRON                 ADDRESS ON FILE
EDWIN Z RIOS ACEVEDO                     ADDRESS ON FILE
EDWINA AYALA ZAYAS                       ADDRESS ON FILE
EDWINA CASTRO DELGADO                    ADDRESS ON FILE
EDWINA QUINONES VARGAS                   ADDRESS ON FILE
EDWIND ONEILL                            ADDRESS ON FILE
EDWINEL VELEZ RIVERA                     ADDRESS ON FILE
EDWINO LEBRON LEBRON                     ADDRESS ON FILE
EDWINSON GONZALEZ FELICIANO              ADDRESS ON FILE
EDWOOD A CANDELARIA CORDOVA              ADDRESS ON FILE
EDWUARD J CUEVAS VARELA                  ADDRESS ON FILE
EDWUARD PERDOMO PIZARRO                  ADDRESS ON FILE
EDY VAZQUEZ                              ADDRESS ON FILE
EDYBERTO TORRES ECHEVARRI                ADDRESS ON FILE
EDYINS RODRIGUEZ MILLAN                  ADDRESS ON FILE
EDZEL GONZALEZ RAMOS                     ADDRESS ON FILE
EEG INFO INC                             6400 CANOGA AVE STE 210                                                                                      WOOD LAND HILLS     NY      91367
E‐ELECTRICAL CONTRACTORS,LLC             URB TOA ALTA HEIGHTS                      AB40 CALLE 30                                                      TOA ALTA            PR      00953
EFA RENTAL EQUIPMENT                     BO PINA                                   BOX 391                                                            TOA ALTA            PR      00954
EFAIN ESPINET DDS                        ADDRESS ON FILE
EFER ASOCIADOS CONSULTORIA COACHING Y SE PO BOX 3652                                                                                                  CAROLINA            PR      00984‐3652
EFFECTIVE BUSINESS PARTNERS CORP         VILLA CLEMENTINA C6                       AVE ALEJANDRINO                                                    GUAYNABO            PR      00969
EFFECTIVE ENVIRONMENTAL RESTORATION INC URB MONTE RIO                              20 CARITE                                                          CABO ROJO           PR      00623
EFFECTIVE MEDIA ADVERTISING, CORP.       PO BOX 8752                                                                                                  PONCE               PR      00732
EFFECTIVE SYSTEMS CONNECTION             URB PARK GARDENS                          W 6 PARK GARDEN AVE                                                SAN JUAN            PR      00926
EFFECTIVE SYSTEMS CONNECTIONS , INC.     URB. PARK GARDENS W‐6 PARK GARDENS AVE.                                                                      SAN JUAN            PR      00926‐0000
EFFECTIVELY CREATIVE GROUP LLC           PO BOX 11409                                                                                                 SAN JUAN            PR      00922‐1409
EFFLUX SYSTEMS INC                       5520 RESEARCH PARK DRIVE                  SUITE 130                                                          BALTIMORE           MD      21228
EFG Agency, Inc.                         450 N Sam Houston Pkwy E, Suite 181                                                                          Houston             TX      77060
EFG Agency, Inc.                         P.O. Box 167667                                                                                              Irving              TX      75016
EFGB CONSULTING ENGINEERS                PMB 49 SUITE 7                            19‐22 AVE RAMIREZ DE ARELLANO                                      GUAYNABO            PR      00966‐3175
EFIGENIA GUZMAN MATOS                    ADDRESS ON FILE
EFIGENIO CURET SANTIAGO                  ADDRESS ON FILE
EFIGENIO GARCIA VALE                     ADDRESS ON FILE
EFIGENIO GUTIERREZ                       ADDRESS ON FILE
EFIGENIO MERCADO                         ADDRESS ON FILE
EFIGENIO MERCADO                         ADDRESS ON FILE
EFRAIM CINTRON GARCIA                    ADDRESS ON FILE
EFRAIM SANTANA DIAZ                      ADDRESS ON FILE
EFRAIN 0 VALENTIN MARCIAL                ADDRESS ON FILE
EFRAIN A COLON RIVERA                    ADDRESS ON FILE
EFRAIN A CRESPO ORTEGA                   ADDRESS ON FILE
EFRAIN A DE LUNA COLON                   ADDRESS ON FILE
EFRAIN A FELICIANO GUZMAN                ADDRESS ON FILE
EFRAIN A FIGUEROA DIAZ                   ADDRESS ON FILE
EFRAIN A FIGUEROA DIAZ                   ADDRESS ON FILE
EFRAIN A RAMOS FIGUEROA                  ADDRESS ON FILE
EFRAIN A RUIZ                            ADDRESS ON FILE
EFRAIN A RUIZ RUIZ                       ADDRESS ON FILE
EFRAIN A VAZQUEZ RODRIGUEZ               ADDRESS ON FILE
EFRAIN A VILLARRUBIA RUIZ                ADDRESS ON FILE
EFRAIN A. OCASIO VAZQUEZ                 ADDRESS ON FILE
EFRAIN A. RUIZ LOURIDO                   ADDRESS ON FILE
EFRAIN AGOSTO COLON                      ADDRESS ON FILE




                                                                                                              Page 2502 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2503 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EFRAIN ALTAGRACIA TORRES                   ADDRESS ON FILE
EFRAIN ALVARADO CAMACHO                    ADDRESS ON FILE
EFRAIN ALVIRA NIEVES                       ADDRESS ON FILE
EFRAIN ANDINO MENDEZ                       ADDRESS ON FILE
EFRAIN APONTE PESANTE                      ADDRESS ON FILE
EFRAIN APONTE RIVERA                       ADDRESS ON FILE
EFRAIN ARNAU COLON                         ADDRESS ON FILE
EFRAIN ARZOLA LOPEZ                        ADDRESS ON FILE
EFRAIN AYALA DE JESUS                      ADDRESS ON FILE
EFRAIN AYALA ESPINOSA                      ADDRESS ON FILE
EFRAIN AYALA RIVERA                        ADDRESS ON FILE
EFRAIN AYALA ROBLES                        ADDRESS ON FILE
EFRAIN B TORRES                            ADDRESS ON FILE
EFRAIN BAEZ RIVERA                         ADDRESS ON FILE
EFRAIN BERRIOS RODRIGUEZ                   ADDRESS ON FILE
EFRAIN BORIA COLON                         ADDRESS ON FILE
EFRAIN CALDERON RODRIGUEZ                  ADDRESS ON FILE
EFRAIN CALDERON RODRIGUEZ                  ADDRESS ON FILE
EFRAIN CAMIS ROSADO                        ADDRESS ON FILE
EFRAIN CARDONA CABRERA                     ADDRESS ON FILE
EFRAIN CARDONA CABRERA                     ADDRESS ON FILE
EFRAIN CARDONA NUNEZ                       ADDRESS ON FILE
EFRAIN CASELLAS DUMONT                     ADDRESS ON FILE
EFRAIN CASIANO JIMENEZ                     ADDRESS ON FILE
EFRAIN CASIANO JIMENEZ                     ADDRESS ON FILE
EFRAIN CEBOLLERO HERNANDEZ                 ADDRESS ON FILE
EFRAIN CEDENO TORRES                       ADDRESS ON FILE
EFRAIN CHEVRES PEPIN                       ADDRESS ON FILE
EFRAIN CINTRON CINTRON / ALTEN GROUP INC   ADDRESS ON FILE
EFRAIN CINTRON CINTRON / ALTEN GROUP INC   ADDRESS ON FILE
EFRAIN CINTRON FIGUEROA                    ADDRESS ON FILE
EFRAIN COLLAZO QUILES                      ADDRESS ON FILE
EFRAIN COLOMBANI RIVERA                    ADDRESS ON FILE
EFRAIN COLON COLLAZO                       ADDRESS ON FILE
EFRAIN COLON RIVERA                        ADDRESS ON FILE
EFRAIN COLON RODRIGUEZ                     ADDRESS ON FILE
EFRAIN COLON SANZ                          ADDRESS ON FILE
EFRAIN COLON SERRANO                       ADDRESS ON FILE
EFRAIN CONDE NIEVES                        ADDRESS ON FILE
EFRAIN CORDERO RODRIGUEZ                   ADDRESS ON FILE
EFRAIN CORDOVA PABON                       ADDRESS ON FILE
EFRAIN CORREA DIAZ                         ADDRESS ON FILE
EFRAIN CORREA IGLESIAS                     ADDRESS ON FILE
EFRAIN CORUJO HERNANDEZ                    ADDRESS ON FILE
EFRAIN COTTO NEVAREZ                       ADDRESS ON FILE
EFRAIN COTTO NEVAREZ                       ADDRESS ON FILE
EFRAIN COTTY TORO                          ADDRESS ON FILE
EFRAIN CRESPO RAMOS                        ADDRESS ON FILE
EFRAIN CUADRADO CASTRO                     ADDRESS ON FILE
EFRAIN D VASSALLO MALDONADO                ADDRESS ON FILE
EFRAIN DARDIZ DAVILA                       ADDRESS ON FILE
EFRAIN DE JESUS VAZQUEZ                    ADDRESS ON FILE
EFRAIN DE LA MATTA MELENDEZ                ADDRESS ON FILE
EFRAIN DEL VALLE ROSARIO                   ADDRESS ON FILE
EFRAIN DELGADO MARQUES                     ADDRESS ON FILE
EFRAIN DIAZ                                ADDRESS ON FILE
EFRAIN DIAZ CARRASQUILLO                   ADDRESS ON FILE
EFRAIN DIAZ CRUZ                           ADDRESS ON FILE
EFRAIN DIAZ LOPEZ                          ADDRESS ON FILE
EFRAIN DIAZ ROBLEDO                        ADDRESS ON FILE




                                                                                       Page 2503 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2504 of 3500
                                                                            17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                Address1                  Address2                              Address3   Address4    City         State   PostalCode   Country
EFRAIN DIAZ VIZCARRONDO      ADDRESS ON FILE
EFRAIN DURAN ROSA            ADDRESS ON FILE
EFRAIN E RIVERA PEREZ        ADDRESS ON FILE
EFRAIN ESPADA SANTOS         ADDRESS ON FILE
EFRAIN ESTRADA ROSADO        ADDRESS ON FILE
EFRAIN F RIVERA APONTE       ADDRESS ON FILE
EFRAIN FAJARDO OLAYS         ADDRESS ON FILE
EFRAIN FELICIANO ARLEQUIN    ADDRESS ON FILE
EFRAIN FERMAINT NIEVES       ADDRESS ON FILE
EFRAIN FERNANDO ORTIZ DIAZ   ADDRESS ON FILE
EFRAIN FIGUEROA AYALA        ADDRESS ON FILE
EFRAIN FIGUEROA MARTINEZ     ADDRESS ON FILE
EFRAIN FLECHA CASILLAS       ADDRESS ON FILE
EFRAIN GAMBOA ORTIZ          ADDRESS ON FILE
EFRAIN GARCIA SANTIAGO       ADDRESS ON FILE
EFRAIN GAUTHIER MONGES       ADDRESS ON FILE
EFRAIN GIBOYEAUX COLON       ADDRESS ON FILE
EFRAIN GIGANTE COLON         ADDRESS ON FILE
EFRAIN GOMEZ OSORIO          ADDRESS ON FILE
EFRAIN GONZALEZ CARO         ADDRESS ON FILE
EFRAIN GONZALEZ CORTES       ADDRESS ON FILE
EFRAIN GONZALEZ RIVERA       ADDRESS ON FILE
EFRAIN GONZALEZ S E          ADDRESS ON FILE
EFRAIN GONZALEZ VELEZ        ADDRESS ON FILE
EFRAIN GRACIANI COLON        ADDRESS ON FILE
EFRAIN GUZMAN TORRES         ADDRESS ON FILE
EFRAIN HERINQUEZ RAMOS       ADDRESS ON FILE
EFRAIN HERNANDEZ VEGA        ADDRESS ON FILE
Efrain Hidalgo Maysonet      ADDRESS ON FILE
EFRAIN HUERTAS MUNIZ         ADDRESS ON FILE
EFRAIN I GONZALEZ CRUZ       ADDRESS ON FILE
EFRAIN IRIZARRY LUGO         ADDRESS ON FILE
EFRAIN IRIZARRY MEDERO       ADDRESS ON FILE
EFRAIN IRIZARRY RIVERA       ADDRESS ON FILE
EFRAIN IZQUIERDO LUGO        ADDRESS ON FILE
EFRAIN J ARCHILLA MUNOZ      ADDRESS ON FILE
EFRAIN J COTTO RIOS          ADDRESS ON FILE
EFRAIN J FIGUEROA GUILLAN    ADDRESS ON FILE
EFRAIN J IRIZARRY            ADDRESS ON FILE
EFRAIN J MUNIZ ORTIZ         ADDRESS ON FILE
EFRAIN J TOMASINI PEREZ      ADDRESS ON FILE
EFRAIN J VELEZ FERNANDEZ     ADDRESS ON FILE
EFRAIN J. MARTINEZ VELEZ     ADDRESS ON FILE
EFRAIN J. RODRIGUEZ ALICEA   ADDRESS ON FILE
EFRAIN JANICE CRUZ MUNOZ     ADDRESS ON FILE
EFRAIN JIMENEZ QUINONES      ADDRESS ON FILE
EFRAIN JUARBE SOTO,          EFRAIN JUARBE SOTO        P.O                                   BOX 3000   SUITE 189   ANGELES      PR      00611
EFRAIN JUARBE SOTO,          GIL DE RUBIO SANTIAGO     63‐65 COND.PARK LANE                  APT. 702               SAN JUAN     PR      00907
EFRAIN JUSTINIANO ALICEA     ADDRESS ON FILE
EFRAIN JUSTINIANO ORTIZ      ADDRESS ON FILE
EFRAIN L DIAZ SANTOS         ADDRESS ON FILE
EFRAIN L PENA SANTANA        ADDRESS ON FILE
EFRAIN LAUREANO TORRES       ADDRESS ON FILE
EFRAIN LEON RODRIGUEZ        ADDRESS ON FILE
EFRAIN LOPEZ CRUZ            ADDRESS ON FILE
EFRAIN LOPEZ LOPEZ           ADDRESS ON FILE
EFRAIN LOPEZ REYES           ADDRESS ON FILE
EFRAIN LOPEZ RIVERA          ADDRESS ON FILE
EFRAIN LUGO PEREZ            ADDRESS ON FILE
EFRAIN M HERNANDEZ PEREZ     ADDRESS ON FILE




                                                                              Page 2504 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2505 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                       Address1                         Address2                                 Address3    Address4       City         State   PostalCode   Country
EFRAIN M MARTINEZ OLIVERA           ADDRESS ON FILE
EFRAIN M VAZQUEZ ROSARIO            ADDRESS ON FILE
EFRAIN MAERCADO MARRERO             ADDRESS ON FILE
EFRAIN MAISONET Y MANUELA DAVILA    ADDRESS ON FILE
EFRAIN MALDONADO COSME              ADDRESS ON FILE
EFRAIN MARCIAL RIVERA               ADDRESS ON FILE
EFRAIN MARQUEZ GUZMAN               ADDRESS ON FILE
EFRAIN MARTINEZ ALAMO               ADDRESS ON FILE
EFRAIN MARTINEZ MORALES             ADDRESS ON FILE
EFRAIN MARTINEZ NEGRON              ADDRESS ON FILE
EFRAIN MARTINEZ RIVERA              ADDRESS ON FILE
EFRAIN MARTINEZ RODRIGUEZ           ADDRESS ON FILE
EFRAIN MATOS                        LCDO. EDWARD D. HILL TOLLINCHE   PMB 248 LA CUMBRE 273 SIERRA MORENA                                 SAN JUAN     PR      00926
EFRAIN MEDINA CANALES               ADDRESS ON FILE
EFRAIN MEDINA LEBRON                ADDRESS ON FILE
EFRAIN MEDINA NIEVES                ADDRESS ON FILE
EFRAIN MELENDEZ PENA                ADDRESS ON FILE
EFRAIN MELENDEZ PENA                ADDRESS ON FILE
EFRAIN MELENDEZ PENA                ADDRESS ON FILE
EFRAIN MELENDEZ VAZQUEZ             EDGARDO HERNÁNDEZ                CIM Tower                                Suite 612   100 Carr 165   GUAYNABO     PR      00968
EFRAIN MENDEZ                       ADDRESS ON FILE
EFRAIN MENDEZ BARRETO               ADDRESS ON FILE
EFRAIN MENDEZ GONZALEZ              ADDRESS ON FILE
EFRAIN MENDEZ PANTOJA               ADDRESS ON FILE
EFRAIN MERCADO ORTIZ                ADDRESS ON FILE
EFRAIN MIRANDA CHEVERE              ADDRESS ON FILE
EFRAIN MONTALVO BATISTA             ADDRESS ON FILE
EFRAIN MORALES GARCIA               ADDRESS ON FILE
EFRAIN MORALES RIVERA               ADDRESS ON FILE
EFRAIN MORALES Y NOEMI DE LA ROSA   ADDRESS ON FILE
EFRAIN NARANJO FONT                 ADDRESS ON FILE
EFRAIN NARVAEZ MUNOZ                ADDRESS ON FILE
EFRAIN NAZARIO CINTRON              ADDRESS ON FILE
EFRAIN NEGRON GALENDEZ              ADDRESS ON FILE
EFRAIN NEGRON OTERO                 ADDRESS ON FILE
EFRAIN NEGRON RODRIGUEZ             ADDRESS ON FILE
EFRAIN NEGRON SANCHEZ               ADDRESS ON FILE
EFRAIN NIEVES CABAN                 ADDRESS ON FILE
EFRAIN NIEVES NIEVES                ADDRESS ON FILE
EFRAIN NIEVES RAMOS                 ADDRESS ON FILE
EFRAIN NUNEZ CAMACHO                ADDRESS ON FILE
EFRAIN NUNEZ INC                    ADDRESS ON FILE
EFRAIN O COLON ROSARIO              ADDRESS ON FILE
EFRAIN O FIGUEROA RAMIREZ           ADDRESS ON FILE
EFRAIN O FIGUEROA RAMIREZ           ADDRESS ON FILE
EFRAIN O PADRO CINTRON              ADDRESS ON FILE
EFRAIN OCASIO SOTO                  ADDRESS ON FILE
EFRAIN OLIVENCIA GONZALEZ           ADDRESS ON FILE
EFRAIN OLIVERAS VILLAFANE           ADDRESS ON FILE
EFRAIN OLIVERAS VILLAFANE           ADDRESS ON FILE
EFRAIN OLIVERO NEGRON               ADDRESS ON FILE
EFRAIN O'NEILL CARRILLO             ADDRESS ON FILE
EFRAIN OQUENDO CANALES              ADDRESS ON FILE
EFRAIN ORTEGA PENA                  ADDRESS ON FILE
EFRAIN ORTIZ ADORNO                 ADDRESS ON FILE
EFRAIN ORTIZ CARABALLO              ADDRESS ON FILE
EFRAIN ORTIZ DE JESUS               ADDRESS ON FILE
EFRAIN ORTIZ MUNOZ                  ADDRESS ON FILE
EFRAIN ORTIZ RODRIGUEZ              ADDRESS ON FILE
EFRAIN ORTIZ ROMAN                  ADDRESS ON FILE




                                                                                               Page 2505 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2506 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                             Address1                                  Address2                                   Address3              Address4   City             State   PostalCode   Country
EFRAIN ORTIZ RULLAN                       ADDRESS ON FILE
EFRAÍN OSORIO IGLESIAS                    LCDA. YESESNIA VARELA COLÓN               CALLE ESCORIAL 382 URB. CAPARRA HEIGHTS                                     SAN JUAN         PR      00920
                                                                                                                               Ponce DE LEON AVE.
                                                                                                                               SUITE 401 CENTRO DE
EFRAÍN OSORIO IGLESIAS                    LCDO. MIGUEL NAZARIO BRICEÑO                                                     701 SEGUROS BLDG.                    SAN JUAN         PR      009072
EFRAIN PADRO SANTOS                       ADDRESS ON FILE
EFRAÍN PEÑA SANTANA                       PROPIO APELANTE POR DERECHO PROPIO. EFRAI PO BOX 29595 65 INFANTERÍA STATION                                          SAN JUAN         PR      00929
EFRAIN PEREZ BRAVO                        ADDRESS ON FILE
EFRAIN PEREZ BRAVO                        ADDRESS ON FILE
EFRAIN PEREZ DEIDA                        ADDRESS ON FILE
EFRAIN PEREZ DEL RIO                      ADDRESS ON FILE
EFRAIN PEREZ JIMENEZ                      ADDRESS ON FILE
EFRAIN PEREZ MEDINA                       ADDRESS ON FILE
EFRAIN PEREZ PEREZ                        ADDRESS ON FILE
EFRAIN PEREZ RODRIGUEZ                    ADDRESS ON FILE
EFRAIN PINEIRO LAGUER                     ADDRESS ON FILE
EFRAIN QUINONES CASTRO                    ADDRESS ON FILE
EFRAIN QUINONES NISTAL                    ADDRESS ON FILE
EFRAIN QUINONES RIVERA                    ADDRESS ON FILE
EFRAIN QUINONES SERRANO                   ADDRESS ON FILE
EFRAIN QUINONES VAZQUEZ                   ADDRESS ON FILE
EFRAIN R GOMEZ MUNOZ                      ADDRESS ON FILE
EFRAIN R MORAN VEGA                       ADDRESS ON FILE
EFRAIN RAMIREZ ZABALA                     ADDRESS ON FILE
EFRAIN RAMOS HERNANDEZ                    ADDRESS ON FILE
EFRAIN RAMOS TORRES                       ADDRESS ON FILE
EFRAIN REYES CRUZ                         ADDRESS ON FILE
EFRAIN REYES NEBEL                        ADDRESS ON FILE
EFRAIN REYES TORRES                       ADDRESS ON FILE
EFRAIN RIVAS TORRES                       ADDRESS ON FILE
EFRAIN RIVERA BETANCOURT                  ADDRESS ON FILE
EFRAIN RIVERA CORTES                      ADDRESS ON FILE
EFRAIN RIVERA CRUZ                        ADDRESS ON FILE
EFRAIN RIVERA GOLDEROS                    ADDRESS ON FILE
EFRAIN RIVERA NUNEZ                       ADDRESS ON FILE
EFRAIN RIVERA QUINONES                    ADDRESS ON FILE
EFRAIN RIVERA QUINONEZ                    ADDRESS ON FILE
EFRAIN RIVERA RAMOS                       ADDRESS ON FILE
EFRAIN RIVERA VEGA                        ADDRESS ON FILE
EFRAIN RIVERA VELEZ                       ADDRESS ON FILE
EFRAIN RODRIGUEZ BAEZ                     ADDRESS ON FILE
EFRAIN RODRIGUEZ BAEZ                     ADDRESS ON FILE
EFRAIN RODRIGUEZ DBA RODRIGUEZ BUS LINE   HC‐02 BOX 12640                                                                                                       AGUAS BUENAS     PR      00703
EFRAIN RODRIGUEZ ESTRADA                  ADDRESS ON FILE
EFRAIN RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
EFRAIN RODRIGUEZ GUADALUPE                ADDRESS ON FILE
EFRAIN RODRIGUEZ OFARRIL                  ADDRESS ON FILE
EFRAIN RODRIGUEZ ORTIZ                    ADDRESS ON FILE
EFRAIN RODRIGUEZ QUINONES                 ADDRESS ON FILE
EFRAIN RODRIGUEZ SANTIAGO                 ADDRESS ON FILE
EFRAIN RODRIGUEZ TORRES                   ADDRESS ON FILE
EFRAIN ROLDAN LOPEZ                       ADDRESS ON FILE
EFRAIN ROMAN ACEVEDO                      ADDRESS ON FILE
EFRAIN ROMAN CALDERON                     ADDRESS ON FILE
EFRAIN ROMERO VILLANUEVA                  ADDRESS ON FILE
EFRAIN ROMERO VILLANUEVA                  ADDRESS ON FILE
EFRAIN ROSA CORDOVA                       ADDRESS ON FILE
EFRAIN ROSA FIGUEROA                      ADDRESS ON FILE
EFRAIN ROSADO FELICIANO                   ADDRESS ON FILE
EFRAIN ROSADO MARTI                       ADDRESS ON FILE




                                                                                                                Page 2506 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2507 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                            Address1                         Address2                            Address3   Address4   City         State   PostalCode   Country
EFRAIN ROSADO PINERO                     ADDRESS ON FILE
EFRAIN ROSARIO COLON                     ADDRESS ON FILE
EFRAIN ROSARIO QUINONES                  ADDRESS ON FILE
EFRAIN RUBIANO CARRERO                   ADDRESS ON FILE
EFRAIN RUIZ BAYRON                       ADDRESS ON FILE
EFRAIN RUIZ CAMARGO                      ADDRESS ON FILE
EFRAIN RUIZ VELEZ                        ADDRESS ON FILE
EFRAIN RUIZ Y JUANITA MOLINA HERNANDEZ   ADDRESS ON FILE
EFRAIN S RODRIGUEZ DAVILA                ADDRESS ON FILE
EFRAIN SANABRIA RODRIGUEZ                ADDRESS ON FILE
EFRAIN SANCHEZ PEREZ                     ADDRESS ON FILE
EFRAIN SANCHEZ RIVERA D/B/A EFRASAN      ADDRESS ON FILE
EFRAIN SANCHEZ RODRIGUEZ                 ADDRESS ON FILE
EFRAIN SANTANA MARRERO                   ADDRESS ON FILE
EFRAIN SANTANA ROSARIO                   ADDRESS ON FILE
EFRAIN SANTANA VELEZ                     ADDRESS ON FILE
EFRAIN SANTIAGO COLON                    ADDRESS ON FILE
EFRAIN SANTIAGO ELECTRICAL CONTRACTOR IN PO BOX 1872                                                                                MOCA         PR      00676
EFRAIN SANTIAGO ELECTRICAL CONTRACTOR, I APARTADO 1872                                                                              MOCA         PR      00676
EFRAIN SANTIAGO FUENTES                  ADDRESS ON FILE
EFRAIN SANTIAGO MONTANEZ                 ADDRESS ON FILE
EFRAIN SANTIAGO ORTIZ                    ADDRESS ON FILE
EFRAIN SANTIAGO PAGAN                    ADDRESS ON FILE
EFRAIN SANTIAGO SANTIAGO                 ADDRESS ON FILE
EFRAIN SEDA REYES                        ADDRESS ON FILE
EFRAIN SEGARRA GARCIA                    ADDRESS ON FILE
EFRAIN SEGARRA HERNANDEZ                 ADDRESS ON FILE
EFRAIN SERRANO MARTINEZ                  ADDRESS ON FILE
EFRAIN SERRANO ZAYAS                     ADDRESS ON FILE
EFRAIN SOLER RIVERA                      ADDRESS ON FILE
EFRAIN SOSA NIEVES                       ADDRESS ON FILE
EFRAIN SOTO BERMUDEZ                     ADDRESS ON FILE
EFRAIN SOTO CRUZ                         ADDRESS ON FILE
EFRAIN SOTO CRUZ                         ADDRESS ON FILE
EFRAIN SOTO SANTIAGO                     ADDRESS ON FILE
EFRAIN STRUBBE PEREZ                     ADDRESS ON FILE
EFRAIN TIRADO APPRAISAL GROUP PSC        ADDRESS ON FILE
EFRAIN TIRADO APPRAISAL GROUP PSC        ADDRESS ON FILE
EFRAIN TIRADO PADILLA                    ADDRESS ON FILE
EFRAIN TOLENTINO LUYANDO                 ADDRESS ON FILE
EFRAIN TORRES FERNANDEZ                  ADDRESS ON FILE
EFRAIN TORRES HERNANDEZ                  ADDRESS ON FILE
EFRAÍN TORRES HERNÁNDEZ                  LCDO. JUAN E. SERRANO SANTIAGO   AEELA PO BOX 70199                                        SAN JUAN     PR      00936‐8190
EFRAIN TORRES QUINONES                   ADDRESS ON FILE
EFRAIN TORRES RAMOS                      ADDRESS ON FILE
EFRAIN TORRES RAMOS                      ADDRESS ON FILE
EFRAIN TORRES RUIZ                       ADDRESS ON FILE
EFRAIN TORRES SANTIAGO                   ADDRESS ON FILE
EFRAIN TORRES VAZQUEZ                    ADDRESS ON FILE
EFRAIN TRINIDAD CORTEZ                   ADDRESS ON FILE
EFRAIN URBINA FLORAN                     ADDRESS ON FILE
EFRAIN VALENTIN COLON                    ADDRESS ON FILE
EFRAIN VARGAS BAEZ                       ADDRESS ON FILE
EFRAIN VAZQUEZ ALGARIN                   ADDRESS ON FILE
EFRAIN VAZQUEZ LOPEZ                     ADDRESS ON FILE
EFRAIN VAZQUEZ LOPEZ                     ADDRESS ON FILE
EFRAIN VAZQUEZ TORRES                    ADDRESS ON FILE
EFRAIN VAZQUEZ VERA                      ADDRESS ON FILE
EFRAIN VEGA ACEVEDO/ DYNAMIC SOLAR       ADDRESS ON FILE
EFRAIN VEGA CHERENA                      ADDRESS ON FILE




                                                                                               Page 2507 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2508 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                      Address1                     Address2                                    Address3   Address4   City         State   PostalCode   Country
EFRAIN VEGA VEGA                   ADDRESS ON FILE
EFRAIN VEGA Y JUANITA RIVERA       ADDRESS ON FILE
EFRAIN VELAZQUEZ CARTAGENA         ADDRESS ON FILE
EFRAIN VELAZQUEZ MONTANEZ          ADDRESS ON FILE
EFRAIN VELAZQUEZ MORALES           ADDRESS ON FILE
EFRAIN VELAZQUEZ TIRADO            ADDRESS ON FILE
EFRAIN VELEZ RIVERA                ADDRESS ON FILE
EFRAIN VELEZ SANCHEZ               ADDRESS ON FILE
EFRAIN VILLANUEVA                  ADDRESS ON FILE
EFRAIN ZAYAS MARRERO               ADDRESS ON FILE
EFRE MARTINEZ, JOSEFINA            ADDRESS ON FILE
EFRE NIEVES, KAREN                 ADDRESS ON FILE
EFRE ROSADO, VIRGINIA              ADDRESS ON FILE
EFRECE MORENO, CARMEN              ADDRESS ON FILE
EFRECE MORENO, JUANA F             ADDRESS ON FILE
EFREIN A RODRIGUEZ ORTIZ           ADDRESS ON FILE
EFREN ALVAREZ ROMAN                ADDRESS ON FILE
EFREN BULA LOPEZ                   ADDRESS ON FILE
EFREN BUTLER FERNANDEZ             ADDRESS ON FILE
EFREN C OLIVER FRANCO              ADDRESS ON FILE
EFREN CASTRO ROSARIO               ADDRESS ON FILE
EFREN ESTREMERA MONTENEGRO         ADDRESS ON FILE
EFREN FLORES VELLIDO               LIC HECTOR SANTIAGO RIVERA   CALLE ESTEBAN PADILLA 60‐E‐ ALTOS                                 BAYAMON      PR      00959
Efrén Galarza                      ADDRESS ON FILE
EFREN GARCIA MUNOZ                 ADDRESS ON FILE
EFREN LAUREANO LOPEZ               ADDRESS ON FILE
EFREN MARQUEZ VEGLIO               ADDRESS ON FILE
EFREN NEGRON GOMILA                ADDRESS ON FILE
EFREN ORTEGA RIVERA                ADDRESS ON FILE
EFREN PADILLA LOPEZ                ADDRESS ON FILE
EFREN PENA CORREA                  ADDRESS ON FILE
EFREN PENA LOPEZ                   ADDRESS ON FILE
EFREN RIVERA SANTIAGO              ADDRESS ON FILE
EFREN ROBLES NIEVES                ADDRESS ON FILE
EFREN ROSADO ROSADO                ADDRESS ON FILE
EFREN SANTALIZ PEREZ               ADDRESS ON FILE
EFREN SANTIAGO                     ADDRESS ON FILE
EFREN SANTIAGO / MABELINE RIVERA   ADDRESS ON FILE
EFREN SANTIAGO OCASIO              ADDRESS ON FILE
EFREN VELAZQUEZ BELLO              ADDRESS ON FILE
EFREN Y AROCHO GUISAO              ADDRESS ON FILE
EFRHAYN J CABALLERO ALICE          ADDRESS ON FILE
EFRON CANDELARIO, SIBYL            ADDRESS ON FILE
EG CONSULTING GROUP                LOMAS DE MANATUABON #70                                                                        MANATI       PR      00674
EGA JAVIER                         ADDRESS ON FILE
EGB AIR CONDITIONING INC           ADDRESS ON FILE
EGBERT QUINONEZ TORO               ADDRESS ON FILE
EGBERT QUINONEZ TORO               ADDRESS ON FILE
EGBERTO BERLINGERI RODRIGUEZ       ADDRESS ON FILE
EGBERTO F MORALES Y ASOC           EDIF ILA AVE KENNEDY         OFICINA 206                                                       SAN JUAN     PR      00920
EGBERTO MORALES CARRASCO P E       ADDRESS ON FILE
EGC CORP                           URB MONTE CLARO              MN18 PASEO DEL RIO                                                BAYAMON      PR      00961
EGDA M MATOS NAVEDO                ADDRESS ON FILE
EGDA ROLDAN                        ADDRESS ON FILE
EGEA CARDONA, JULIAN               ADDRESS ON FILE
EGEA DEL VALLE, ANA                ADDRESS ON FILE
EGEA GUADARRAMA, ANTHONY           ADDRESS ON FILE
Egea Guardarrama, Anthony O.       ADDRESS ON FILE
EGEA MORALES, JONATHAN             ADDRESS ON FILE
EGEA VAZQUEZ, LUZ N                ADDRESS ON FILE




                                                                                             Page 2508 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2509 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                             Address1                           Address2                                   Address3   Address4   City            State   PostalCode   Country
EGIDA ASOC/MIEM/POLICIA PR                RR 3 BOX 3724                                                                                       SAN JUAN        PR      00926
EGIDA DANIEL LUIS FLORES INC              URB SEVERO QUINONES 2000           CALLE 1                                                          CAROLINA        PR      00985‐5961
EGIDA DE LA CONCEPCION INC                1 CALLE VARIANTE                                                                                    SAN GERMAN      PR      00683
EGIDA DE MIRAFLORES                       ADDRESS ON FILE
EGIDA DEL COLEGIO ING Y AGRIM             ADDRESS ON FILE
EGIDA DEL PERPETUO SOCORRO                ADDRESS ON FILE
EGIDA DEL POLICIA INC                     RR 3 BOX 3724                                                                                       SAN JUAN        PR      00926
EGIDA DEL POLICIA TRUJILLO ALTO LP        RR 3 BOX 3724                                                                                       SAN JUAN        PR      00976
EGIDA E INTITUCION EL PARAISO             PMB 1888 C/PARIS #243                                                                               SAN JUAN        PR      00917
EGIDA EL PARAISO                          ADDRESS ON FILE
EGIDA PERPETUO SOCORRO LP,S.E.            URB. HYDE PARK CALLE AMAPOLA #3                                                                     SAN JUAN        PR      00927‐0000
EGIDA VISTAS DEL RIO                      ADDRESS ON FILE
EGIPCIACO BOU, CARMEN L                   ADDRESS ON FILE
EGIPCIACO COLOM, MARIA T                  ADDRESS ON FILE
EGIPCIACO FIGUEROA, CARMEN A              ADDRESS ON FILE
EGIPCIACO FRAGA, RAMON                    ADDRESS ON FILE
EGIPCIACO IBANEZ, EDDA E                  ADDRESS ON FILE
EGIPCIACO IBANEZ, ENEIDA                  ADDRESS ON FILE
EGIPCIACO MENDEZ, GLENDA                  ADDRESS ON FILE
EGIPCIACO MENDEZ, NADIA                   ADDRESS ON FILE
EGIPCIACO RODRIGUE, BELKYS Y              ADDRESS ON FILE
EGIPCIACO RODRIGUEZ, JOSE F               ADDRESS ON FILE
EGIPCIACO, FRANDA J                       ADDRESS ON FILE
EGLEE W RODRIGUEZ RUIZ                    ADDRESS ON FILE
EGM SPECIAL REFRIGERATION COOL TEC CORP URB SANTO TOMAS                      33 CALLE SAN GABRIEL                                             NAGUABO         PR      00718‐6200
EGOS ALSAN GRUPO MEDICO                   PO BOX 1028                                                                                         FAJARDO         PR      00738
EGOSCUE DIONISI, MONICA                   ADDRESS ON FILE
EGOTT ALVARADO LUGO                       ADDRESS ON FILE
EGOZCUE ROSARIO MD, ANGEL R               ADDRESS ON FILE
EGP AIR CONDITIONING AND REFRIGERATION, COEXT. PUNTO ORO                     6045 CALLE REYENT                                                PONCE           PR      00728
EGREIN AVILES CANCEL                      ADDRESS ON FILE
EGROL SIUL                                ADDRESS ON FILE
EGUIA MOREDA MD, VASCO                    ADDRESS ON FILE
EGUIA VERA, MARCO A.                      ADDRESS ON FILE
EGUIA VERA, MARIA L                       ADDRESS ON FILE
EGURROLA ALONSO, ARMANDO                  ADDRESS ON FILE
EGUY E VELEZ CASTRO                       ADDRESS ON FILE
EH TECHNOLOGY CONSULTANT INC              PLAZA RIO HONDO MALL               90 AVE RIO HONDO STE 10 PMB 292                                  BAYAMON         PR      00961
EHEVARRIA CARABALLO, RAMON                ADDRESS ON FILE
EHISA LUGO ENRIGQUEZ                      ADDRESS ON FILE
EHLERT BIRRIEL, MAURICIO J.               ADDRESS ON FILE
EHRET INC.                                P.O. BOX 71516                                                                                      SAN JUAN        PR      00936‐8616
EHS MANAGEMENT GROUP INC                  VALLE HERMOSO SUR                  SU 70 CALLE CIRCULO                                              HORMIGUEROS     PR      00660
EHV DEVELOPMENT AND CONSULTANT CORP       PO BOX 368120                                                                                       SAN JUAN        PR      00936‐9120
EHYDRAULICS, LLC                          MARQUEZ DE SANTA CRUZ 2E5,         URB. COVADONGA                                                   TOA BAJA        PR      00949
EIBLIA MARTINEZ COTTO                     ADDRESS ON FILE
EIBY MATOS HERNANDEZ                      ADDRESS ON FILE
EICHLER EICHLER, TRENT                    ADDRESS ON FILE
EICK ORTIZ, JOSHUA LEE                    ADDRESS ON FILE
EICK ORTIZ, RICHARD                       ADDRESS ON FILE
EIDA E ALTRECHE TIRADO                    ADDRESS ON FILE
EIDA G MENA JIMENEZ                       ADDRESS ON FILE
EIDA L. GONZALEZ MORALES                  ADDRESS ON FILE
EIDA LAO HERNANDEZ                        ADDRESS ON FILE
EIDA RODRIGUEZ ROSARIO                    ADDRESS ON FILE
EIDIOL GHIGLIOTTI VELAZQUEZ               ADDRESS ON FILE
EIG GROUP CORP                            239 ARTERIAL HOSTOS SUITE 701                                                                       SAN JUAN        PR      00918
EIGLA Y TROCHE TROCHE                     ADDRESS ON FILE
EIKOVA                                    CALLE SAN FRANCISCO 407, APT 302                                                                    SAN JUAN        PR      00901
EILEEN A ARROYO DUMENG                    ADDRESS ON FILE




                                                                                                         Page 2509 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2510 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                      Address1                  Address2                                   Address3   Address4   City          State   PostalCode   Country
EILEEN A HERNANDEZ GARCIA          ADDRESS ON FILE
EILEEN ACEVEDO BADILLO             ADDRESS ON FILE
EILEEN ALAGO SOTO                  ADDRESS ON FILE
EILEEN APONTE VENTURA              ADDRESS ON FILE
EILEEN AVILES VEGA                 ADDRESS ON FILE
EILEEN B GONZALEZ RODRIGUEZ        ADDRESS ON FILE
EILEEN B GONZALEZ RODRIGUEZ        ADDRESS ON FILE
EILEEN BETANCOURT MARQUEZ          ADDRESS ON FILE
EILEEN BUS INC.                    COND PLAZA DEL ESTE       AVE MAIN 501 APT 61                                              CANOVANAS     PR      00729
EILEEN C VILLAFANE DEYACK          ADDRESS ON FILE
EILEEN C VILLAFANE DEYACK          ADDRESS ON FILE
EILEEN CANCEL ROSA                 ADDRESS ON FILE
EILEEN CORREA SERRANO              LCDO. ANTONIO BAUZÁ       EDIFICIO LEMANS OFIC. 402 AVE. MUÑOZ RIVERA #602                 HATO REY      PR      00918
EILEEN CRUZ LEBRON                 ADDRESS ON FILE
EILEEN D RIVERA CRUZ               ADDRESS ON FILE
EILEEN DE JESUS VILLANUEVA         ADDRESS ON FILE
EILEEN DEGRO                       ADDRESS ON FILE
EILEEN DIAZ BENITEZ                ADDRESS ON FILE
EILEEN DIAZ COTTO                  ADDRESS ON FILE
EILEEN FEBUS LUCIANO               ADDRESS ON FILE
EILEEN FELICIANO TORRES            ADDRESS ON FILE
EILEEN FIGUEROA CARRION            ADDRESS ON FILE
EILEEN FIGUEROA LOPEZ              ADDRESS ON FILE
EILEEN G ROMERO ALICEA             ADDRESS ON FILE
EILEEN GONZALEZ GONZALEZ           ADDRESS ON FILE
EILEEN HERNANDEZ RODRIGUEZ         ADDRESS ON FILE
EILEEN HERNANDEZ ROSA              ADDRESS ON FILE
EILEEN HERNANDEZ ROSADO            ADDRESS ON FILE
EILEEN HERNANDEZ ROSADO            ADDRESS ON FILE
EILEEN I VAZQUEZ RIVERA            ADDRESS ON FILE
EILEEN IRIZARRY NIEVES             ADDRESS ON FILE
EILEEN IRIZARRY NIEVES             ADDRESS ON FILE
EILEEN J MAESTRE SILVA             ADDRESS ON FILE
EILEEN J MARRERO CHAVES            ADDRESS ON FILE
EILEEN J PABON CRUZ                ADDRESS ON FILE
EILEEN KERCADO MORÁN               EFRAIN LOPEZ              PO 8764                                                          BAYAMON       PR      00960
EILEEN KERCADO MORÁN               FRANCISCO SAN MIGUEL      PO BOX 190406                                                    SAN JUAN      PR      00919
EILEEN KERCADO MORÁN               JOSE R. DIAZ              PO BOX 190743                                                    SAN JUAN      PR      00919
EILEEN KERCADO MORÁN               MIGUEL A. MORALES         PO BOX 9021722                                                   SAN JUAN      PR      00902
EILEEN LLAVINA PEREA               ADDRESS ON FILE
EILEEN LOPEZ FIGUEROA              ADDRESS ON FILE
EILEEN M ALVARADO                  ADDRESS ON FILE
EILEEN M DIAZ ORTIZ                ADDRESS ON FILE
EILEEN M FIGUEROA Y MARTA I TORO   ADDRESS ON FILE
EILEEN M GOMEZ GUZMAN              ADDRESS ON FILE
EILEEN M LUGO PEREZ                ADDRESS ON FILE
EILEEN M. AVILA AGUILAR            ADDRESS ON FILE
EILEEN M. LUGO PEREZ               ADDRESS ON FILE
EILEEN MALAVE SANTOS               ADDRESS ON FILE
EILEEN MARRERO POMALES             ADDRESS ON FILE
EILEEN MARTINEZ ARROYO             ADDRESS ON FILE
EILEEN MARTINEZ SANJURJO           ADDRESS ON FILE
EILEEN MIRANDA ANTUNANO            ADDRESS ON FILE
EILEEN MIRANDA CORUJO              ADDRESS ON FILE
EILEEN N RODRIGUEZ FRANCESCHI      ADDRESS ON FILE
EILEEN OLMEDO HERNANDEZ            ADDRESS ON FILE
EILEEN ORTIZ CARABALLO             ADDRESS ON FILE
EILEEN P ALFONSO TORRALBA          ADDRESS ON FILE
EILEEN PADILLA VALLE               ADDRESS ON FILE
EILEEN PAGAN LEBRON                ADDRESS ON FILE




                                                                                         Page 2510 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2511 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                     Address1                            Address2                       Address3   Address4   City              State   PostalCode   Country
EILEEN PEREZ NEGRON               ADDRESS ON FILE
EILEEN PEREZ PEREZ                ADDRESS ON FILE
EILEEN PEREZ REYES                ADDRESS ON FILE
EILEEN PINEDA VALENTIN            ADDRESS ON FILE
EILEEN RAMIREZ CENTENO            ADDRESS ON FILE
EILEEN RAMIREZ COLON              ADDRESS ON FILE
EILEEN RAMOS CRESPO               ADDRESS ON FILE
EILEEN RAMOS HERNANDEZ            ADDRESS ON FILE
EILEEN RIVERA RUIZ                ADDRESS ON FILE
EILEEN RIVERA TORRES              ADDRESS ON FILE
EILEEN SANCHEZ ALBERIO            ADDRESS ON FILE
EILEEN SANCHEZ LOPEZ              ADDRESS ON FILE
EILEEN SEPÚLVEDA TORRES Y OTROS   LCDA. YARLENE JIMENEZ               PMB 291 #1353                  RD. 19                GUAYNABO          PR      00966‐2700
EILEEN SUTTON HUDO                ADDRESS ON FILE
EILEEN SUTTON HUDO                ADDRESS ON FILE
EILEEN TORRES CANALES             ADDRESS ON FILE
EILEEN TORRES GONZALEZ            ADDRESS ON FILE
EILEEN TORRES RODRIGUEZ           ADDRESS ON FILE
EILEEN VALENTIN HERNANDEZ         ADDRESS ON FILE
EILEEN VILLAFAÐE                  ADDRESS ON FILE
EILEEN VILLAFANE                  ADDRESS ON FILE
EILEEN VILLALBA DELGADO           ADDRESS ON FILE
EILEEN ZAMBRANA DIAZ              ADDRESS ON FILE
EILEEN ZAYAS SERRANO              ADDRESS ON FILE
EILEEN ZAYAS SERRANO              ADDRESS ON FILE
EILEEN ZAYAS SERRANO              ADDRESS ON FILE
EILLEEN GONZALEZ SANTANA          ADDRESS ON FILE
EILLEEN GONZALEZ VILLAFANE        ADDRESS ON FILE
EILLEEN Y GALLEGO PAGAN           ADDRESS ON FILE
EILLEN RODRIGUEZ FLORES           ADDRESS ON FILE
EILLEN SANCHEZ RODRIGUEZ          ADDRESS ON FILE
EILYN M RUIZ SOTO                 ADDRESS ON FILE
EIM SHOW WORKS LLC                P O BOX 2113                                                                             CANOVANAS         PR      00729
EINAR E MUNIZ CORTES              ADDRESS ON FILE
EINAR L RINCON SANCHEZ            ADDRESS ON FILE
EINER BRACERO CRUZ                CARLOS MORALES LÓPEZ‐DTE            PO BOX 1410                                          HATILLO           PR      00659
EINER BRACERO CRUZ                JORGE HERNÁNDEZ LÓPEZ‐CODEMANDADO   PO BOX 1410                                          HATILLO           PR      00659
EINNA M CANCEL LOUBRIEL           ADDRESS ON FILE
EINSTOSS KRUMBEIN, ANDRES         ADDRESS ON FILE
EIRA L. PINEIRO BIDDLE            ADDRESS ON FILE
EIRA MEDINA MUNOZ                 ADDRESS ON FILE
EIRA MEDINA MUNOZ                 ADDRESS ON FILE
EISEL LORENZO VARGAS              ADDRESS ON FILE
EISELE ALBO, ARTURO               ADDRESS ON FILE
EISELE FLORE, ARTHUR              ADDRESS ON FILE
EISELE FLORES, ANDRES G.          ADDRESS ON FILE
EISENBERG, MICHAEL                ADDRESS ON FILE
EISKOWITZ LAUSELL, LINETTE        ADDRESS ON FILE
EITEL VELAZQUEZ ALMODOVAR         ADDRESS ON FILE
EITON ARROYO MUNIZ                ADDRESS ON FILE
EITON ROMAN CARRERO               ADDRESS ON FILE
EIVETTELIZ LOPEZ NIEVES           ADDRESS ON FILE
EIVETTELIZ LOPEZ NIEVES           ADDRESS ON FILE
EIVY L ALVAREZ LUGO               ADDRESS ON FILE
EIXA TRINIDAD GONZALEZ            ADDRESS ON FILE
EJ ACCURACY GUNS                  AVE 5 DE DICIEMBRE # 85                                                                  SABANA GRANDE     PR      00637‐1956
EJ BUSINESS SOLUTIONS             57 SE STREET NO 850                                                                      SAN JUAN          PR      00921‐2312
EJARQUE TORRES, CHRISTHIE         ADDRESS ON FILE
EJARQUE, ANABELLE                 ADDRESS ON FILE
EJC CEDRO ARRIBA CONST CORP       HC 72 BOX 3931                                                                           NARANJITO         PR      00719




                                                                                      Page 2511 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2512 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                             Address1                                 Address2                                    Address3      Address4   City              State   PostalCode   Country
EJE PUERTO RICO, INC.                     PO BOX 195006                                                                                                 SAN JUAN          PR      00919‐5006
EJE SOCIEDAD PUBLICITARIA                 PO BOX 195006                                                                                                 SAN JUAN          PR      00919‐5006
EJIOFOR CHIMA, PATRICIA C                 ADDRESS ON FILE
EJN TECHNICAL SERVICES                    PMB 238 NUM 90                           AVE RIO HONDO                                                        BAYAMON           PR      00961‐3105
EJN TECHNICAL SERVICES INC                PMB 238 90 AVE RIO HONDO                                                                                      BAYAMON           PR      00961‐3105
EJR MOTOR ELECTRICAL ‐BODY SHOP           A 4 AVE MIGUEL MELENDEZ MUNOZ                                                                                 CAYEY             PR      00736
EJS INC                                   PO BOX 661                                                                                                    BAYAMON           PR      00960‐0661
EKG INTERPRETATION ACCOUNTG               ONE DAVIS BLD SUITE 507                                                                                       TAMPA             FL      33606
EKG INTERPRETATIONS ACCOUNTING            ONE DAVIS BLVD                           SUITE 507                                                            TAMPA             FL      33606
EKO TECHNOLOGIES                          B5 CALLE TABONUCO STE 134                                                                                     GUAYNABO          PR      00968‐3004
EKO TECHNOLOGIES                          B5 CALLE TABONUCO STE 216 PMB 134                                                                             GUAYNABO          PR      00968‐3022
EKOCARDIODIAGNOSTICS INC                  PO BOX 2569                                                                                                   GUAYNABO          PR      00970‐2569
EKSPRESA PUERTO RICO CORP                 PO BOX 191779                                                                                                 SAN JUAN          PR      00919‐1779
EKTO MANUFACTURING CO                     SANFORD INDUSTRIAL ESTATES                                                                                    SANFORD           ME      04073
EL ACANTILADO HOLDINGS LLC                WESTERNBANK WORLD PLAZA SUITE 1905       268 MUNOZ RIVERA AVE                                                 SAN JUAN          PR      00918
EL ADOQUIN PRODUCCIONES INC               TETUAN 305 APT 301                                                                                            SAN JUAN          PR      00901
EL ALMACEN DE LA BELLEZA                  AVE JOSE DE DIEGO #49                                                                                         CAYEY             PR      00736
EL AMOR ESPERA                            PO BOX 607071                            PMB 286                                                              BAYAMON           PR      00959‐7071
EL AMOR ESPERA INC                        PMB 286 PO BOX 607071                                                                                         BAYAMON           PR      00960‐7071
EL ANCLA AUTO PARTS                       URB SAN DEMETRIO                         LL 6 CALLE B                                                         VEGA BAJA         PR      00693‐3325
EL ANGEL ICE PLANT INC.                   REPTO METROPOLITANO                      1229 CALLE 54 SE                            RIO PIEDRAS              SAN JUAN          PR      00921
EL BAZAR MUEBLES Y ENSERES                BO MIRAFLORES SECTOR PALO BLANCO                                                                              ARECIBO           PR      00612
EL BORINCANO FEED MILLS INC               PO BOX 26028                                                                                                  TOA ALTA          PR      00954
EL BOSQUE DE BOLONIA                      # 137 CARR. # 2                                                                                               GUAYNABO          PR      00966
EL BOSQUE DE BOLONIA                      PO BOX 364371                                                                                                 SAN JUAN          PR      00936‐4371
EL BOSQUE DE BOLONIA M HOSTOS INC         PO BOX 364371                                                                                                 SAN JUAN          PR      00936‐4371
EL BUCANERO CATERING                      VILLA NEVAREZ                            1047 CARR. 41                                                        RIO PIEDRAS       PR      00927
EL BUCANERO CATERING                      VILLA NEVAREZ                            CARRETERA 41 #1047                                                   RIO PIEDRAS       PR      00927
EL BUCANERO CATERING INC                  1047 CARR 41                             VILLA NEVAREZ                                                        SAN JUAN          PR      00927
EL BUCANERO CATERING INC                  VILLA NEVAREZ                            1047 CARR 41                                                         SAN JUAN          PR      00927
EL BUEN PASTOR FUNERARIA Y CREMACIONES    HC 2 BOX 977                                                                                                  JUANA DIAZ        PR      00795
EL BUEN SAMARITANO                        P O BOX 1308                                                                                                  GURABO            PR      00778‐1308
EL BURAI FELIX, ASSAD                     ADDRESS ON FILE
EL BURAI FELIX, SHADI                     ADDRESS ON FILE
EL CAMINO HOSPITAL MULTI SITE             MEDICAL RECORDS                          2500 GRANT RD                                                        MOUNTAIN VIEW     CA      94039
EL CAN T DELS OCELLS INC                  P O BOX 366407                                                                                                SAN JUAN          PR      00936‐6407
EL CANON BAKERY / CARMELO CINTRON         HC 04 BOX 2414                                                                                                BARRANQUITAS      PR      00794
EL CANTABRICO                             TORRIMAR SHOPPING CENTER                 AVE RAMIREZ DE ARELLANO 1922                                         GUAYNABO          PR      00966
EL CARIBENO REST INC                      EDIFICIO MONSERRATE                                                                                           SAN JUAN          PR      00913‐4745
EL CARIBENO REST INC                      EDIFICIO MONSERRATE                      104 AVE MUNOZ RIVERA                                                 SAN JUAN          PR      00913‐4745
EL CASTILLO FELIZ DE LOS NINOS 2004 INC   URB CIUDAD MASSO                         B 19 CALLE 2                                                         SAN LORENZO       PR      00754
EL CENTRO DEL CRUCERO INC                 PO BOX 1247                                                                                                   BAYAMON           PR      00960‐1247
EL CERILLO INC/ ENERGIA Y SOL PR          1478 AVE TITO CASTRO                                                                                          PONCE             PR      00716
EL CHEF RUIZ CATERING                     513 CALLE ANDALUCIA                                                                                           HATILLO           PR      00659
EL CIALENO PIZZA & PUB INC                PO BOX 1393                                                                                                   CIALES            PR      00638
EL CIENTIFICO                             CARR. 198 KM 11.9 CEIBA NORTE BOX 2949                                                                        JUNCOS            PR      00777
EL CIENTIFICO CAR CARE INC                PO BOX 2949                                                                                                   JUNCOS            PR      00777‐2949
EL CONQUISTADOR GOLF RESORT Y CASINO      1000 EL CONQUISTADOR AVE                                                                                      FAJARDO           PR      00738
EL CONQUISTADOR PARTNERSHIP L.P.          1000 EL CONQUISTADOR AVENUE                                                                                   FAJARDO           PR      00738‐3893
EL CONSORCIO INTERMUNICIPAL               PO BOX 250                                                                                                    GUAYANILLA        PR      00656
EL COQUI DEL SABOR INC                    COND EL CENTRO II                        500 AVE MUNOZ RIVERA                                                 SAN JUAN          PR      00918
EL CORREDOR TECONOECONOMICO DE PR Y EL    ADDRESS ON FILE
EL CUNAO INC                              VALLE ALTO                               C1 CALLE D                                                           CAYEY             PR      00736
EL DEPORTIVO RENTAL                       HC 43 BOX 11297                                                                                               CAYEY             PR      00736
EL DIA DEL NINO INC                       PO BOX 47                                                                                                     MOROVIS           PR      00687
EL DIA INC.                               DEPARTAMENTO DE CIRCULACION              PO BOX 7512                                                          SAN JUAN          PR      00902‐0297
EL DIA, INC                               PO BOX 9067512                                                                                                SAN JUAN          PR      00936‐7512
EL DORADO HOTEL                           WEST SAN FRANCISCO STREET                                                                                     SANTA FE          NM      87501
EL EDEN PARAISO INFANTIL                  HC‐01 BOX 3040                                                                                                YABUCOA           PR      00767
EL EDEN PARAISO INFANTIL CORP             HC 01 BOX 3040                                                                                                YABUCOA           PR      00767




                                                                                                              Page 2512 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2513 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                             Address1                             Address2                                     Address3        Address4   City               State   PostalCode   Country
EL EDEN PARAISO INFANTIL CORPORACION      HC 01 BOX 3040                       CARR 3 KM 98.5 JUAN M VILLA                                             YABUCOA            PR      00767
EL FARO CHRISTIAN ACADEMY                 CARR. #123 KM. 33.5                  BO. SALTILLO                                                            ADJUNTAS           PR      00601
EL FARO CHRISTIAN ACADEMY                 PO BOX 204                                                                                                   ADJUNTAS           PR      00601
EL FARO DE LOS ANIMALES INC               P O BOX 637                                                                                                  PUNTA SANTIAGO     PR      00741
EL FOGON DE SOFIA                         1268 AVE JESUS T PINERO                                                                                      SAN JUAN           PR      00921
EL FOGON DE SOFIA                         AVE PINERO 1268                      CAPARRA TERRACE                                                         SAN JUAN           PR      00921
EL FOGON DE SOFIA , INC.                  AVE. CENTRAL 1268 CAPARRA TERRACE                                                                            SAN JUAN           PR      00921‐1616
EL FOGON DE SOFIA, INC.                   AVE JESUS T PINERO 1268              CAPARRA TERRACE                                                         SAN JUAN           PR      00921‐1616
EL FOGON DEL REY                          55 CALLE COLTON                                                                                              GUAYNABO           PR      00969
EL FUMIGADOR CORP                         PO BOX 538                                                                                                   SABANA SECA        PR      00952
EL GALLO PRODUCTION CORP                  PO BOX 8460                                                                                                  HUMACAO            PR      00792
EL GRAN CAFE REST                         1 CALLE CERVANTES                                                                                            COROZAL            PR      00783
EL GRAN CAFE REST                         HC 05 BOX 10697                                                                                              COROZAL            PR      00783
EL GUAGUERITO                             AVE CARLOS J ANDALUZ MENDEZ          33 A 1 LOMAS VERDES                                                     BAYAMON            PR      00956
EL GUARDIAN DE LOS NINOS                  MCS 2044                             PO BOX 6004                                                             VILLALBA           PR      00766‐6004
EL HAGE AROCHO, WALID                     ADDRESS ON FILE
EL HIPOPOTAMO INC                         880 AVE MUNOZ RIVERA                                                                                         SAN JUAN           PR      00927
EL HOGAR HUELTAS CORP                     P O BOX 370412                                                                                               CAYEY              PR      00737
EL IMPACTO                                APARTADO 500 SUITE 900                                                                                       AGUADA             PR      00602‐5000
EL INSTITUTO DE DESARROLLO PERSONAL DE CAGURB CONDADO MODERNO                  AVE RAFAEL CORDERO                           M‐31 CALLE 13              CAGUAS             PR      00725
EL JARDIN DE LOS NI¥OS                    610 CALLE HIPODROMO                                                                                          SAN JUAN           PR      00907
EL JARDIN DEL EDEN                        PO BOX 582                                                                                                   LAJAS              PR      00667
EL KARKOURI BOUCHAOUIR, ABDELKADER        ADDRESS ON FILE
EL LAKKIS MIRANDA, ALISA                  ADDRESS ON FILE
EL LEON DE ORO BBQ                        SABANA SECA                          PO BOX 348                                                              SABANA SECA        PR      00952‐0348
EL MARCO & LAMIN0                         # 1133 JESUS T PINERO PUERTO NUEVO                                                                           RIO PIEDRAS        PR      00921
EL MARINO RS INC                          P O BOX 9099                                                                                                 HUMACAO            PR      00792
EL MARKET PUERTO RICO CORP                PO BOX 79475                                                                                                 CAROLINA           PR      00984
EL MEDICO VISIANTE PSC                    PO BOX 364422                                                                                                SAN JUAN           PR      00936‐4422
EL MEDICO VISITANTE PSC                   PO BOX 364422                                                                                                SAN JUAN           PR      00936‐4422
El Mesón de Felipe                        Po Box 3067                                                                                                  Mayagüez           PR      00681
EL MILITAR                                CALLE COMERIO 62                                                                                             BAYAMON            PR      00619
EL MILITAR INC                            72 CALLE VIVES                                                                                               PONCE              PR      00733
EL MIRADOR CAFE INC`                      URB LOS CAOBOS                       1515 CALLE JAGUEY                                                       PONCE              PR      00716
EL MONICA SALES                           VALLE VERDE 1                        AQ33 CALLE RIO SONADOR                                                  BAYAMON            PR      00961‐3259
EL MONSTRUO ANARANJADO INC                DITRICT VIEW PLAZA                   644 AVE FERNANDEZ JUNCOS STE201                                         SAN JUAN           PR      00907
EL MONTE DE LOS AGUILAS INC               COND VENUS TOWER                     COSTA RICA ST APT 602                                                   SAN JUAN           PR      00917
EL MOROCO LLC H/N/C/ SUBWAY               P O BOX 16665                                                                                                SAN JUAN           PR      00908‐6665
EL MORRO CORRUGATED BOX CORP              PO BOX 907                                                                                                   VEGA ALTA          PR      00692
EL MUNDO                                  PO BOX 7515                                                                                                  SAN JUAN           PR      00906‐7515
EL MUNDO DE LOS BIZCOCHOS                 371 CALLE POST SUR                                                                                           MAYAGUEZ           PR      00680
EL MUNDO DE LOS MUNECOS                   45 S.O. #783 LAS LOMAS                                                                                       SAN JUAN           PR      00921‐1154
EL MUNDO DE LOS MUNECOS                   PALMA REAL IL‐5                      ROYAL PALM                                                              BAYAMON            PR      00956
EL MUNDO DE LOS MUNECOS                   ROYAL PALM                           I L5 CALLE PALMA REAL                                                   BAYAMON            PR      00956
EL MUNDO DE LOS MUNECOS INC               EXT ROYAL PALM                       IL 5 CALLE PALMA REAL                                                   BAYAMON            PR      00956
EL MUNDO DE LOS MUNECOS INC/PUPPET WORLURB LAS LOMAS                           783 CALLE 45 SO                                                         SAN JUAN           PR      00921‐1154
EL MUNICIPIO DE RIO GRANDE                APARTADO 847                                                                                                 RIO GRANDE         PR      00745
EL NORTE                                  PO BOX 140995                                                                                                ARECIBO            PR      00614
EL NUEVO DIA                              PO BOX 7512                                                                                                  SAN JUAN           PR      00906‐7512
EL NUEVO DIA INC                          COMPLEJO CORRECCIONAL RIO PIEDRAS    PO BOX 29086                                                            SAN JUAN           PR      00929‐0086
EL NUEVO DIA INC                          P O BOX 7512                                                                                                 SAN JUAN           PR      00906‐7512
EL NUEVO DIA INC                          PO BOX 71445                                                                                                 SAN JUAN           PR      00936‐8545
EL NUEVO DIA INC                          PO BOX 9067512                                                                                               SAN JUAN           PR      00936‐7512
EL NUEVO DIA INC                          PO BOX S‐297                         DEPTO DE CIRCULACION                                                    SAN JUAN           PR      00902‐0297
EL NUEVO MILITAR NUM. 2                   CALLE DR. HIRAM GONZALEZ # 60                                                                                BAYAMON            PR      00961
EL OASIS CAFE 2                           21 PRUDENCIO RIVERA                                                                                          SAN JUAN           PR      00936
EL OJO DE LA CAMARA                       URB FLORAL PARK                      110 CALLE MALLORCA                                                      HATO REY           PR      00917
EL ORIENTAL                               36 AVE CRUZ ORTIZ STELLA                                                                                     HUMACAO            PR      00791
EL ORIENTAL                               P O BOX 10007 SUITE 356                                                                                      GUAYAMA            PR      00785
EL ORIENTAL                               P O BOX 323                                                                                                  PONCE              PR      00717‐0211




                                                                                                             Page 2513 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2514 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                             Address1                                  Address2                                       Address3   Address4   City              State   PostalCode   Country
EL PALACIO ROJO COMUNICACIONES INC        VALLE VERDE 2                             AP 1 CALLE RIO MARAVILLAS                                            BAYAMON           PR      00961
EL PALCIO ROJO COMUNICACIONES INC         VALLE VERDE 1                             AP1 CALLE RIO MARAVILLA                                              BAYAMON           PR      00961‐3208
EL PARAISO LANDSCAPING CORP               HC 8 BOX 38711                                                                                                 CAGUAS            PR      00725‐9417
EL PASO VA ADMINISTRATION OUTPATIENT CLIN 5001 N PIEDRAS ST                                                                                              EL PASO           TX      79930‐0000
EL PAVO ASADO INC                         CAPARRA TERRACE                           1152 AVE JESUS T PIÐERO 25 SE                                        SAN JUAN          PR      00921
EL PAVO ASADO INC                         CAPARRA TERRACE                           1152 AVE JESUS T PINERO                                              SAN JUAN          PR      00921
EL PEQUENO MUNDO DE MIMA                  CARR 186 KM 25 HM 2                                                                                            RIO GRANDE        PR      00745
EL PEQUENO PRINCIPE                       JARDINES DE CALLE C BLOQUE C #25                                                                               CAROLINA          PR      00987
EL PERIODICO INC                          PO BOX 2074                                                                                                    CAGUAS            PR      00726‐2074
EL PERIODICO PRIMERA HORA                 PO BOX 2009                                                                                                    CATANO            PR      00963‐2009
EL PIEX PUERTORRIQUEÐO A LA ORDEN DISC    75 CALLE FRANK BECERRA                                                                                         SAN JUAN          PR      00918 1318
EL PIEX PUERTORRIQUENO A LA ORDEN DISC    75 CALLE FRANK BECERRA                                                                                         SAN JUAN          PR      00918 1318
EL PIEX PUERTORRIQUENO, INC.              AL LADO PLAZA LAS AMERICAS 75             FRACK BECERRA                                                        SAN JUAN          PR      00919‐0000
EL PIEX PUERTORRIQUENO, INC.              PMB 43 BOX 3766                                                                                                NARANJITO         PR      00919‐0000
EL PLANETA                                BO CARACOLES I                            352 CALLE I                                                          PENUELAS          PR      00624
EL POLLO EN UNA PATA INC                  P O BOX 192928                                                                                                 SAN JUAN          PR      00919
EL PORTON TROPICAL RESTAURANT             P O BOX 1216                                                                                                   BAYAMON           PR      00960 1216
EL POWERHOUSE 001 LLC                     147 CAMINO DE LOS JUNCOS                  URB SABANERA                                                         DORADO            PR      00646
EL POZO PRODUCTIONS                       PO BOX 302 CROMPOND                                                                                            NEW YORK          NY      10517
EL PUEBLO SERVICE STATION                 160 CALLE LUIS MUNOZ RIVERA                                                                                    SAN LORENZO       PR      00754
EL RANCHO                                 HC 4 BOX 5921                                                                                                  COROZAL           PR      00783
EL RANCHO ORIGINAL                        22282 BO GUAVATE                                                                                               CAYEY             PR      00736
EL REGIONAL DE GUAYAMA INC                CALLE MC ARTHUR #22                       ESQUINA BALDORIOTY                                                   GUAYAMA           PR      00784
EL REMANSO ELDERLY HOUSING LTD PARTNERSHPO BOX 8479                                                                                                      SAN JUAN          PR      00910‐0479
EL REMANSO MEMORIAL PARK                  PMB.616 P.O. BOX 1283                                                                                          SAN LORENZO       PR      00754‐1283
EL REY DEL FRIO INC                       VILLA SAN ANTON                           CALLE FLORENTINO ROMAN D‐11                                          CAROLINA          PR      00989
EL RINCON BORINQUENO                      PO BOX 9024275                                                                                                 SAN JUAN          PR      00902‐4275
EL RINCON DE JUAN                         EDIF UNION PLAZA                          416 PONCE DE LEON                                                    SAN JUAN          PR      00918
EL RINCON DE LA PAZ HOGAR                 PMB 402 90 AVE RIO HONDO                                                                                       BAYAMON           PR      00961
EL RIO NORTHWEST                          839 W CONGRESS                                                                                                 TUCSON            AZ      85705
EL ROBLE SELF SERVICE INC                 P O BOX 161                                                                                                    TRUJILLO ALTO     PR      00977
EL ROSARIO INC                            PMB 562                                   140 AVE RAFAEL CORDERO                                               CAGUAS            PR      00725‐3757
EL SEGADOR PRODUCTIONS INC                PO BOX 21637                                                                                                   SAN JUAN          PR      00931‐1367
EL SEMAFORO AUTO PARTS CORP               PO BOX 50547                                                                                                   TOA BAJA          PR      00950
EL SENORIAL BAKERY INC                    226 SABANETA INDUSTRIAL PARK                                                                                   MERCEDITA         PR      00715
EL SENORIAL CENTRO DE CONVENCIONES        PO BOX 8621                                                                                                    PONCE             PR      00732
EL SENORIAL SPORTS SHOP                   URB CROWN HILLS                           1753 CALLE PARANA                                                    SAN JUAN          PR      00926
EL SHADDAI CHRISTIAN ACADEMY              PO BOX 1459                                                                                                    DORADO            PR      00646
EL SHADDAI GUESTS HOUSE , INC             GOLDEN HILLS                              CALLE ESTRELLA 1088                                                  DORADO            PR      00646
EL SHADDAI GUESTS HOUSE INC               GOLDEN HILLS                              1008 CALLE ESTRELLA                                                  DORADO            PR      00646
EL SHAROUNI, RAFIK                        ADDRESS ON FILE
EL SHOWROOM DE FALELO                     PO BOX 2449                                                                                                    GUAYNABO          PR      00970‐2449
EL SUENO DE AMERICA PRODUCTIONS LLC       PO BOX 6813                                                                                                    SAN JUAN          PR      00913‐6813
EL SUENO DE MIMA INC.                     P.O. BOX 2811                                                                                                  CAROLINA          PR      00984
EL SUPERMERCADO MEDICO INC                10 CALLE SAN ANTONIO                                                                                           HORMIGUEROS       PR      00660
EL TABLADO TROPICAL                       P O BOX 986                                                                                                    ADJUNTAS          PR      00601
EL TALLER CINEMATICO INC.                 C/ RIO GUAVATE AE 28                      RIO HONDO II                                                         BAYAMON           PR      00061
el taller D CONSULTING INC.               URB.STA.RITA. # 22 CALLE CELIS AGUILERA                                                                        SAN JUAN          PR      00925‐0000
EL TALLER DEL ARTES Y CULTURA             PUERTA DE TIERRA STATION                  PO BOX 9066600                                                       SAN JUAN          PR      00906‐6600
EL TANO CORP DBA DON GIUSEPPE LA CANTINA P O BOX 16494                                                                                                   SAN JUAN          PR      00908
EL TELAR DE CHIQUI                        43A CALLE MUNOZ RIVERA                                                                                         VEGA ALTA         PR      00692
EL TELAR INC                              15 MUNOZ RIVERA                                                                                                CAGUAS            PR      00725
EL TESORO DEL EBANISTA                    251 CALLE GUAYAMA                                                                                              SAN JUAN          PR      00917‐4202
EL TIOS FRIED CHICKEN                     COCO NUEVO                                29 CALLE JOSE DE DIEGO                                               SALINAS           PR      00751
EL TOMEGUIN CORP                          PO BOX 270210                                                                                                  SAN JUAN          PR      00927
EL TRIALO RINCOENO INC                    PO BOX 1750                                                                                                    RINCON            PR      00677
EL TUNEL CAR CARE INC                     AVE 65 INF KM 2.0                         P O BOX 16079                                                        SAN JUAN          PR      00908
EL TUQUE CENTRO DIAGNOSTICO TRATAMIENTOPO BOX 220                                                                                                        MERCEDITA         PR      00715‐0220
EL UNIVERSO DEL LOS NINOS                 URB VILLA ALBA                            34 CALLE B                                                           VILLALBA          PR      00766
EL VALLE CELESTIAL INC                    VILLA CAPRI                               F14 CALLE TURIN                                                      SAN JUAN          PR      00924‐5027




                                                                                                                    Page 2514 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2515 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                                    Address2                                 Address3           Address4             City            State   PostalCode   Country
EL VALLE GULF SERVICE STATION           PO BOX 404                                                                                                                   LAJAS           PR      00667
EL VARON DELGADO VÁZQUEZ                JOSE O. COTTO LUNA                          PO BOX 2234                                                                      CAYEY           PR      00737
EL VERDADERO AMOR ESPERA INC            P O BOX 8981                                                                                                                 PONCE           PR      00732
EL VIEJO PLUMBING , INC.                BOX 926 SABANA HOYOS                                                                                                         ARECIBO         PR      00688‐0000
EL VIVERO DON TEDDY                     371 CAMINO DEL SUR                                                                                                           PONCE           PR      00716‐2815
EL VOCERO DE P R                        PO BOX 15074                                                                                                                 SAN JUAN        PR      00902
EL VOCERO DE P R                        PO BOX 9027515                                                                                                               SAN JUAN        PR      00902‐7515
EL VOCERO DE P R                        PO BOX 9067515                                                                                                               SAN JUAN        PR      00906‐7515
EL VOCERO DE P.R.                       ACCOUNTING DEPARTMENT                       PO BOX 9027515                                                                   SAN JUAN        PR      00902‐7515
EL VOCERO DE PUERTO RICO                206 AVE. DE LA CONSTITUCION                                                                                                  SAN JUAN,       PR      00901‐2103
EL VOCERO DE PUERTO RICO                PO BOX 9023831                                                                                                               SAN JUAN        PR      00902
EL VOCERO DE PUERTO RICO                PO BOX 9027515                                                                                                               SAN JUAN        PR      00902‐7515
EL ZIPPERLE                             P O BOX 19‐2083                                                                                                              SAN JUAN        PR      00919‐2083
EL ZIPPERLE / JOSE R PERTIERRA GARCIA   PO BOX 192083                                                                                                                SAN JUAN        PR      00919‐2083
ELA                                     ASOC. PESCADORES‐ LCDO. FRANCISCO VALCARC1007 AVE. LUIS MUÑOZ RIVERA                 SUITE 1200                              SAN JUAN        PR      00926‐2725
ELA                                     ASOC. PESCADORES‐ LCDO. LUIS BATISTA SALAS/ MANSIONES DE ROMANI B32 CALLE SIERRA LINDA                                       SAN JUAN        PR      00928
ELA                                     AUTORIDAD DE TIERRAS‐LCDO. DICKSON ORTIZ MPO BOX 9745                                                                        SAN JUAN        PR      00908
ELA                                     CARLOS CORREA RAMOS                         PO BOX 546                                                                       NAGUABO         PR      00718‐0546
ELA                                     CARLOS E. POLO, ERNESTO POLO                BANCO COPERATIVO PLAZA                   SUITE 705‐A 623    Ponce DE LEON        SAN JUAN        PR      00917
ELA                                     CÉSAR A. MATOS BONET                        PO BOX 362677                                                                    SAN JUAN        PR      00936‐2677
ELA                                     FERNANDO BARNES ROSICH                      PO BOX 331031                                                                    PONCE           PR      00733‐1031
ELA                                     GEORGE M. UZDAVINIS VÉLEZ                   EDIF. SANTOS VÉLEZ I                     2770 AVE. HOSTOS   SUITE 209            MAYAGUEZ        PR      00682‐6384
                                                                                                                                                AVE MUÑOZ RIVERA
ELA                                     IVETTE LÓPEZ SANTIAGO                       COND. DARLINGTON                         OFICINA 1103       1007                 SAN JUAN        PR      00925
ELA                                     JOSÉ ÁNGEL REY                              PO BOX 10127                                                                     SAN JUAN        PR      00908‐1127
ELA                                     JOSÉ L. HIDALGO IRIZARRY                    PO BOX 19079                                                                     SAN JUAN        PR      00910‐1079
ELA                                     JOSÉ L. TORRES RODRÍGUEZ                    G 614 NWE YORK AVE.                                                              HAMPTON         VA      23661
ELA                                     LCDO. JOSÉ R. VARELA FERNÁNDEZ              APARTADO 373301                                                                  CAYEY           PR      00737
ELA                                     LCDO. JUAN COBIAN                           APARTADO 9020567                                                                 SAN JUAN        PR      00902
ELA                                     LCDO. PEDRO J. VARELA FERNÁNDEZ             HC 44 BOX 13470                                                                  CAYEY           PR      00737
ELA                                     LCDO. WILFREDO MARCIAL GONZÁLEZ             VILLA CANALES                            1484 CALLE FAURE                        SAN JUAN        PR      00927‐6103
ELA                                     LIC EDUARDO M. JOGLAR ‐ ABOGADO PARTE CON403 CALLE DEL PARQUE                        SUITE 6                                 SAN JUAN        PR      00912‐3710
ELA                                     LIC. MARIO R. ORONOZ RODRIGUEZ ‐ ABOGADO PO BOX 195473                                                                       SAN JUAN        PR      00919‐5473
ELA                                     LIC. VICTOR M. RIVERA TORRES ‐ ABOGADO DE C AVENIDA FERNANDEZ JUNCOS 1502            ALTOS                                   SANTURCE        PR      00909
ELA                                     MANUEL BORGES MENDEZ                        PO BOX 16673                                                                     SAN JUAN        PR      00908‐6673
ELA                                     MARGARTIA TORRES RODRÍGUEZ                  SKY TOWER III APT 8.O                                                            SAN JUAN        PR      00926
ELA                                     MUN. VIEQUES‐LCDA. CARMEN ASTACIO CARABAPO BOX 724                                                                           PUERTO REAL     PR      00740‐0724
ELA                                     NILSA TORRES RODRÍGUEZ                      PO BOX 686                                                                       CEIBA           PR      00735
ELA                                     NO TIENE ABOGADO; SOLO SE TIENE PARTES CON INTERES QUE SE LE NOTIFICA.
ELA                                     RODRÍGUEZ BENÍTEZ, PEDRO J.                 PO BOX 1441                                                                      HATILLO         PR      00659‐1441
                                                                                                                                                273 Ponce DE LEÓN
ELA                                     ROSSELL A. DEL TORO                       PLAZA SCOTIABANK                           SUITE 900          AVE..                SAN JUAN        PR      00917‐1902
ELA                                     RUTH E,. TORRES RODRÍGUEZ                 PO BOX 686                                                                         CEIBA           PR      00735
ELA
                                                                                                                           1225 AVENIDA Ponce DE
ELA (AVP)                               LIC. IGNACIO GORRIN MALDONADO ‐ ABOGADO LIC. IGNACIO GORRIN MALDONADO ‐ VIC TOWERLEON                                        SAN JUAN        PR      00907
ELA (AVP)                               LIC. ROBERTO O. MALDONADO NIEVES ‐ ABOGADLIC. ROBERTO O MALDONADO NIEVES ‐ 344 CALLOFICINA 1‐A           URB. PUERTO NUEVO   SAN JUAN        PR      00921
ELA DE PR                               CYNTHIA TORRES TORRES                    PO BOX 79182                                                                        CAROLINA        PR      00984‐9182
ELA V CORAL COVE                        LCDO. LUIS E. DUBON ARRAIZA              PO BOX 366123                                                                       SAN JUAN        PR      00936‐6123
ELA V SUCN. ÁNGEL MONTAÑEZ CARMONA      LIC. CAROLL J. CABAÑAS RÍOS              LIC. CAROLL J. CABAÑAS RÍOS               PO BOX 71361                              SAN JUAN        PR      00936‐8461
ELA V SUCN. ÁNGEL MONTAÑEZ CARMONA      LIC. GRETCHEN CARLO YAMIN                LIC. GRETCHEN CARLO YAMIN                 PO BOX 368103                             SAN JUAN        PR      00936‐8103
ELA V SUCN. ÁNGEL MONTAÑEZ CARMONA      LIC. JESÚS BIRD SERRANO                  LIC. JESÚS BIRD SERRANO                   PO BOX 946                                FAJARDO         PR      00738
ELA V SUCN. ÁNGEL MONTAÑEZ CARMONA      LIC. PEDRO E. RUIZ MELÉNDEZ              LIC. PEDRO E. RUIZ MELÉNDEZ               PO BOX 190879                             SAN JUAN        PR      00919‐0879
ELA V SUCN. ÁNGEL MONTAÑEZ CARMONA      SUCESIÓN ÁNGEL MONTAÑEZ CARMONA          SUCESIÓN ÁNGEL MONTAÑEZ CARMONA           HC 67 BOX 14612                           FAJARDO         PR      00738
ELA VANESSA                             VALLE SAN LUIS 324                                                                                                           CAGUAS          PR      00725
ELA, DEPTO. DE SALUD                    LCDO. EDWIN RIVERA CINTRÓN               PO BOX 1098                                                                         LAS PIEDRAS     PR      00771
ELA, MUNICIPIO DE LOIZA                 SANDRA TORRES ALICEA                     PO BOX 50329                                                                        TOA BAJA        PR      00950‐0329
ELA.                                    LCDO. NÉSTOR LÓPEZ VÁZQUEZ               PO BOX 19079                                                                        SAN JUAN        PR      00910
ELADIA AGUIRRE                          LCDO. GILLERMO RODRIGUEZ SANTIAGO        PO BOX 3024                                                                         CAGUAS          PR      00726
ELADIA AMARO MORALES                    ADDRESS ON FILE




                                                                                                              Page 2515 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2516 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELADIA ARCE DAVILA                 ADDRESS ON FILE
ELADIA CRUZ LOPEZ                  ADDRESS ON FILE
ELADIA DEL VALLE GALARZA T/C/P     HC 08 BOX 49372                                                                  CAGUAS       PR      00725
ELADIA PEREZ TAPIA                 ADDRESS ON FILE
ELADIA ROCHE PEREZ                 ADDRESS ON FILE
ELADIA RODRIGUEZ RIOS              ADDRESS ON FILE
ELADIA SALAMAN Y ALBERTO SASSOON   ADDRESS ON FILE
ELADIA SOSA NOLASCO                ADDRESS ON FILE
ELADINA SEDA IRIZARRY              ADDRESS ON FILE
ELADIO A POLANCO REYES             ADDRESS ON FILE
ELADIO ADORNO VEGA                 ADDRESS ON FILE
ELADIO AFANADOR NIEVES             ADDRESS ON FILE
ELADIO ALVAREZ VAZQUEZ             ADDRESS ON FILE
ELADIO BERMUDEZ RIVERA             ADDRESS ON FILE
ELADIO CAMACHO VELEZ               ADDRESS ON FILE
ELADIO DAVILA AYALA                ADDRESS ON FILE
ELADIO ESPINAL VIALLAFANE          ADDRESS ON FILE
ELADIO ESPINAL VILLAFANE           ADDRESS ON FILE
ELADIO GRILLASCA GONZALEZ          ADDRESS ON FILE
ELADIO HERNANDEZ MU¥OZ             ADDRESS ON FILE
ELADIO INFANTE                     ADDRESS ON FILE
ELADIO JIMENEZ ROMAN               ADDRESS ON FILE
ELADIO JR QUINONES PELLICIER       ADDRESS ON FILE
ELADIO LOPE LOPEZ                  ADDRESS ON FILE
ELADIO LUIS ROQUE ROSARIO          ADDRESS ON FILE
ELADIO MALAVE NUNEZ                ADDRESS ON FILE
ELADIO MARGOYA CANDELARIA          ADDRESS ON FILE
ELADIO MELENDEZ RIOS               ADDRESS ON FILE
ELADIO MENDEZ                      ADDRESS ON FILE
ELADIO MERCEDES PEGUERO            ADDRESS ON FILE
ELADIO MONTALVO FABRELLAS          ADDRESS ON FILE
ELADIO PENA AGOSTO                 ADDRESS ON FILE
ELADIO PENA AGOSTO                 ADDRESS ON FILE
ELADIO PICON GONZALEZ              ADDRESS ON FILE
ELADIO PINERO RIVERA               ADDRESS ON FILE
ELADIO QUIRINDONGO RIOS            ADDRESS ON FILE
ELADIO RAMOS CAMACHO               ADDRESS ON FILE
ELADIO RIVERA MARRERO              ADDRESS ON FILE
ELADIO RIVERA MORALES              ADDRESS ON FILE
ELADIO RIVERA PEREZ                ADDRESS ON FILE
ELADIO RODRIGUEZ QUINONES          ADDRESS ON FILE
ELADIO ROSARIO ROSARIO             ADDRESS ON FILE
ELADIO RUIZ MELENDEZ               ADDRESS ON FILE
ELADIO SALCEDO ACEVEDO             ADDRESS ON FILE
ELADIO SANTIAGO PADILLA            ADDRESS ON FILE
ELADIO SERRANO GUZMAN              ADDRESS ON FILE
ELADIO SOTO ROLDAN DBA ABLE 1      TRANSLATION SERVICE       PO BOX 9398                                            CAROLINA     PR      00988
ELAINE BELTRAN SANCHEZ             ADDRESS ON FILE
ELAINE BONILLA PLA                 ADDRESS ON FILE
ELAINE C. TORRES MERCADO           ADDRESS ON FILE
ELAINE CHAVES LUGO                 ADDRESS ON FILE
ELAINE E BONILLA MATEO             ADDRESS ON FILE
ELAINE F BAUMGARTNER LUGO          ADDRESS ON FILE
ELAINE GARCIA GARCIA               ADDRESS ON FILE
ELAINE GONZALEZ CRUZ               ADDRESS ON FILE
ELAINE HENRIQUEZ RIVERA            ADDRESS ON FILE
ELAINE J COLON DIAZ                ADDRESS ON FILE
ELAINE J COLON DIAZ                ADDRESS ON FILE
ELAINE J RIEFKOHL ORTIZ            ADDRESS ON FILE
ELAINE J. RIEFKOHL ORTIZ           ADDRESS ON FILE




                                                                               Page 2516 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2517 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                      Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
ELAINE JANNETTE OTERO DE JESUS     ADDRESS ON FILE
ELAINE M CAMACHO HERNANDEZ         ADDRESS ON FILE
ELAINE M GORBEA PABON              ADDRESS ON FILE
ELAINE M GUZMAN CORTES             ADDRESS ON FILE
ELAINE MALDONADO                   ADDRESS ON FILE
ELAINE MARTINEZ TORO               ADDRESS ON FILE
ELAINE OCANA RIVERA                ADDRESS ON FILE
ELAINE PEREZ CAMACHO               ADDRESS ON FILE
ELAINE RODRIGUEZ FRANK             ADDRESS ON FILE
ELAINE RODRIGUEZ PEREZ             ADDRESS ON FILE
ELAINE RODRIGUEZ ROMERO            ADDRESS ON FILE
ELAINE RUIZ FIGUEROA               ADDRESS ON FILE
ELAINE SCHWARTZ                    ADDRESS ON FILE
ELAINE SERRANO ORTIZ               ADDRESS ON FILE
ELAINE SOLER VAZQUEZ               ADDRESS ON FILE
ELAINE SOTO MARTIS                 ADDRESS ON FILE
ELAINE TORRES BLANCO               ADDRESS ON FILE
ELAINE TORRES FERRER               ADDRESS ON FILE
ELAN ECHEVARRIA AMADEO             ADDRESS ON FILE
ELAN ECHEVARRIA MARIN              ADDRESS ON FILE
ELAN M COLEN ROGER                 ADDRESS ON FILE
ELAN SOLUTIONS INC                 B‐5 CALLE TABONUCO        SUITE 216 PMB 277                                        GUAYNABO     PR      00968
ELASIO ECHEVARRIA COLON            ADDRESS ON FILE
ELAY MARTINEZ RIVERA               ADDRESS ON FILE
ELBA A SANTANA CRUZ                ADDRESS ON FILE
ELBA ACOSTA PONCE                  ADDRESS ON FILE
ELBA ADORNO MORENO                 ADDRESS ON FILE
ELBA ALEJANDRINO GUZMAN            ADDRESS ON FILE
ELBA ARELIS VEINTIDOS SOTO         ADDRESS ON FILE
ELBA BORRERO SOSA                  ADDRESS ON FILE
ELBA BOU CARRION                   ADDRESS ON FILE
ELBA C LOPEZ BAEZ                  ADDRESS ON FILE
ELBA CAMACHO HERNANDEZ             ADDRESS ON FILE
ELBA CARRASQUILLO MONTANEZ         ADDRESS ON FILE
ELBA CHAVES                        ADDRESS ON FILE
ELBA CINTRON GIRONA                ADDRESS ON FILE
ELBA CRESPO LAGARES                ADDRESS ON FILE
ELBA CRESPO RAMOS                  ADDRESS ON FILE
ELBA CRISTINA RODRIGUEZ FIGUEROA   ADDRESS ON FILE
ELBA CRUZ ACEVEDO                  ADDRESS ON FILE
ELBA CRUZ RODRIGUEZ                ADDRESS ON FILE
ELBA D CRUZ CANDELARIA             ADDRESS ON FILE
ELBA D MARTINEZ FIGUEROA           ADDRESS ON FILE
ELBA DE LEON                       ADDRESS ON FILE
ELBA DIAZ BROWN                    ADDRESS ON FILE
ELBA E BARBOSA MEDINA              ADDRESS ON FILE
ELBA E BORRERO SOSA                ADDRESS ON FILE
ELBA E GONZALEZ PEREZ              ADDRESS ON FILE
ELBA E MEDINA QUINTANA             ADDRESS ON FILE
ELBA E PEREZ GONZALEZ              ADDRESS ON FILE
ELBA E TORO FIGUEROA               ADDRESS ON FILE
ELBA ECHEVARRIA RODRIGUEZ          ADDRESS ON FILE
ELBA EMMANUELLI ZAYAS              ADDRESS ON FILE
ELBA ENCARNACION CANALES           ADDRESS ON FILE
ELBA ENCARNACION VILLALONGO        ADDRESS ON FILE
ELBA GARCIA CANDELARIA             ADDRESS ON FILE
ELBA GONZALEZ GOBERT               ADDRESS ON FILE
ELBA GONZALEZ NEGRON               ADDRESS ON FILE
ELBA H PEREZ OTERO                 ADDRESS ON FILE
ELBA HELMER                        ADDRESS ON FILE




                                                                                 Page 2517 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2518 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                     Address1                   Address2                         Address3   Address4   City          State   PostalCode   Country
ELBA HERNANDEZ                    ADDRESS ON FILE
ELBA I ACEVEDO HERNANDEZ          ADDRESS ON FILE
ELBA I ACEVEDO RIVERA             ADDRESS ON FILE
ELBA I ARCE FIGUEROA              ADDRESS ON FILE
ELBA I AYALA CRUZ                 ADDRESS ON FILE
ELBA I CANALES QUINONES           ADDRESS ON FILE
ELBA I CANDELARIO ROBLES          ADDRESS ON FILE
ELBA I CARMONA RIVERA             ADDRESS ON FILE
ELBA I CARRASQUILLO OLIVERAS      ADDRESS ON FILE
ELBA I COLON SANTA                ADDRESS ON FILE
ELBA I CRUZ MORFI                 ADDRESS ON FILE
ELBA I CRUZ ORTIZ                 ADDRESS ON FILE
ELBA I CRUZ RUIZ                  ADDRESS ON FILE
ELBA I DELGADO RIVERA             ADDRESS ON FILE
ELBA I DELGADO VEGA               ADDRESS ON FILE
ELBA I DIAZ RODRIGUEZ             ADDRESS ON FILE
ELBA I ESTRADA CACERES            ADDRESS ON FILE
ELBA I FALTO DE ROMAN             ISRAEL ROLDÁN GONZÁLEZ     49 BETANCES ST.                                        AGUADILLA     PR      00603
ELBA I GONZALEZ DIAZ              ADDRESS ON FILE
ELBA I GONZALEZ ORTIZ             ADDRESS ON FILE
ELBA I GONZALEZ RIVERA            ADDRESS ON FILE
ELBA I HERNANDEZ HERNANDEZ        ADDRESS ON FILE
ELBA I LOPEZ PASTRANA             ADDRESS ON FILE
ELBA I LOPEZ ZENO                 ADDRESS ON FILE
ELBA I MALPICA CARTAGENA          ADDRESS ON FILE
ELBA I MALPICA CARTAGENA          ADDRESS ON FILE
ELBA I MARTINEZ / DIANA E ORTIZ   ADDRESS ON FILE
ELBA I MARTINEZ TORRES            ADDRESS ON FILE
ELBA I MELENDEZ ALVARADO          ADDRESS ON FILE
ELBA I MIRANDA CORPORAN           ADDRESS ON FILE
ELBA I MORALES COSME              ADDRESS ON FILE
ELBA I MORALES RUIZ               ADDRESS ON FILE
ELBA I MORAN ASENCIO              ADDRESS ON FILE
ELBA I NEGRON LAFONTAINE          ADDRESS ON FILE
ELBA I NIEVES MARTINEZ            ADDRESS ON FILE
ELBA I PANET CLAUDIO              ADDRESS ON FILE
ELBA I QUINONES MUNIZ             ADDRESS ON FILE
ELBA I RABELL BERRIOS             ADDRESS ON FILE
ELBA I RAMOS RIVERA               ADDRESS ON FILE
ELBA I RIOS PINEDA                ADDRESS ON FILE
ELBA I RIVAS PEREZ                ADDRESS ON FILE
ELBA I RIVERA                     ADDRESS ON FILE
ELBA I RIVERA NAVARRO             ADDRESS ON FILE
ELBA I RIVERA RIVERA              ADDRESS ON FILE
ELBA I RIVERA TORRES              ADDRESS ON FILE
ELBA I ROMERO CHINEA              ADDRESS ON FILE
ELBA I ROSA FUENTES               ADDRESS ON FILE
ELBA I ROSA PADUA                 ADDRESS ON FILE
ELBA I TORRES ESPINOSA            ADDRESS ON FILE
ELBA I VALLEJO VILLAFANE          ADDRESS ON FILE
ELBA I VARELA LISBOA              ADDRESS ON FILE
ELBA I VELEZ RIOS                 ADDRESS ON FILE
ELBA I. ARROYO CRESPO             ADDRESS ON FILE
ELBA I. DIAZ CONCEPCION           ADDRESS ON FILE
ELBA I. HERNANDEZ HERNANDEZ       ADDRESS ON FILE
ELBA I. MEJÍAS MUÑIZ              JUAN C MONSEGUR SANTIAGO   PO BOX 361494                                          SAN JUAN      PR      00936‐1494
ELBA I. MORALES MEDINA,MD         ADDRESS ON FILE
ELBA I. RIVERA QUIÑONES           GENOVEVA VALENTÍN SOTO     PO BOX 13695                                           SAN JUAN      PR      00908‐3695
ELBA IRIS BAUZA                   ADDRESS ON FILE
ELBA IRIS PEREZ VEGA              ADDRESS ON FILE




                                                                               Page 2518 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2519 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
ELBA IRIS VARGAS LUGO               ADDRESS ON FILE
ELBA ISMARIS BETANCOURT VELEZ       ADDRESS ON FILE
ELBA ISMARIS BETANCURT VELEZ        ADDRESS ON FILE
ELBA J QUINONES CLEMENTE            ADDRESS ON FILE
ELBA J RULLAN COLLAZO               ADDRESS ON FILE
ELBA L AYALA QUINONES               ADDRESS ON FILE
ELBA L BERRIOS MARTIN               ADDRESS ON FILE
ELBA L BLONDET SANTIAGO             ADDRESS ON FILE
ELBA L CARDONA PÉREZ                ADDRESS ON FILE
ELBA L FIGUEROA ARCELAY             ADDRESS ON FILE
ELBA L LOPEZ TRINIDAD               ADDRESS ON FILE
ELBA L MARTIR NUNEZ                 ADDRESS ON FILE
ELBA L MERCADO PADILLA              ADDRESS ON FILE
ELBA L MIGUEL SIERRA ESTATE         PO BOX 363103                                                                    SAN JUAN      PR      00936‐3103
ELBA L MILLAN RODRIGUEZ             ADDRESS ON FILE
ELBA L MOJICA MOJICA                ADDRESS ON FILE
ELBA L NAZARIO ALVAREZ              ADDRESS ON FILE
ELBA L NUNEZ FONTANEZ               ADDRESS ON FILE
ELBA L REYES MARTINEZ               ADDRESS ON FILE
ELBA L REYES RUIZ                   ADDRESS ON FILE
ELBA L RONDON CANINO                ADDRESS ON FILE
ELBA L. BERRIOS MARTIN              ADDRESS ON FILE
ELBA L. BLONDET SANTIAGO            ADDRESS ON FILE
ELBA LASANTA Y/O MIGUEL FERNANDEZ   ADDRESS ON FILE
ELBA LIZARDI PORTILLA               ADDRESS ON FILE
ELBA LOPEZ                          ADDRESS ON FILE
ELBA LOPEZ RODRIGUEZ                OCTAVIO RIVERA BUJOSA     PO BOX 676                                             Mercedita     PR      00715‐0676
ELBA LUZ CRUZ PRADO                 ADDRESS ON FILE
ELBA LUZ OJEDA OJEDA                ADDRESS ON FILE
ELBA M BOUET RAMIREZ                ADDRESS ON FILE
ELBA M CORUJO RAMSEY                ADDRESS ON FILE
ELBA M GANDARA CASTRODAD            ADDRESS ON FILE
ELBA M GANDARA CASTRODAD            ADDRESS ON FILE
ELBA M GONZALEZ ANDUJAR             ADDRESS ON FILE
ELBA M MUNIZ VARGAS                 ADDRESS ON FILE
ELBA M RIVERA RODRIGUEZ             ADDRESS ON FILE
ELBA M SEPULVEDA CABASSA            ADDRESS ON FILE
ELBA M TAVERAS TAVERAS              ADDRESS ON FILE
ELBA M. CABANILLAS HERNANDEZ        ADDRESS ON FILE
ELBA M. CARABALLO ENCARNACION       ADDRESS ON FILE
ELBA M. MIRANDA FIGUEROA            ADDRESS ON FILE
ELBA MARQUEZ NUNEZ                  ADDRESS ON FILE
ELBA MARRERO COSME                  ADDRESS ON FILE
ELBA MARRERO NEGRON                 ADDRESS ON FILE
ELBA MATTEI RODRIGUEZ               ADDRESS ON FILE
ELBA MED DIST DBA PATIO DRUG        5208 VETERANS BOULEVARD                                                          METAIRIE      LA      70006
ELBA MEDINA PARA SEAN A GONZALEZ    ADDRESS ON FILE
ELBA MELENDEZ MELENDEZ              ADDRESS ON FILE
ELBA MELENDEZ ORTIZ                 ADDRESS ON FILE
ELBA MELENDEZ TORRES                ADDRESS ON FILE
ELBA MERCADO AVILES                 ADDRESS ON FILE
ELBA MICHELLE QUINONES VELEZ        ADDRESS ON FILE
ELBA MORALES BAEZ                   ADDRESS ON FILE
ELBA MORALES BURGOS                 ADDRESS ON FILE
ELBA MORALES GONZALEZ               ADDRESS ON FILE
ELBA MORCILIO NADAL                 ADDRESS ON FILE
ELBA N BORIA DE LEON                ADDRESS ON FILE
ELBA N GARCIA ALICEA                ADDRESS ON FILE
ELBA N NIEVES VERA                  ADDRESS ON FILE
ELBA N ROSADO GONZALEZ              ADDRESS ON FILE




                                                                                Page 2519 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2520 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELBA N. TORRES BONILLA     ADDRESS ON FILE
ELBA NELLY VAZQUEZ RAMOS   ADDRESS ON FILE
ELBA NELLY VAZQUEZ RAMOS   ADDRESS ON FILE
ELBA NIEVES RIVERA         ADDRESS ON FILE
ELBA NIEVES RUIZ           ADDRESS ON FILE
ELBA ORDUNA ACUM           ADDRESS ON FILE
ELBA PACHECO NADAL         ADDRESS ON FILE
ELBA PEDRAZA ORTIZ         ADDRESS ON FILE
ELBA PELLOT PEREZ          ADDRESS ON FILE
ELBA PENA RODRIGUEZ        ADDRESS ON FILE
ELBA PEREZ GONZALEZ        ADDRESS ON FILE
ELBA PINEIRO LOPEZ         ADDRESS ON FILE
ELBA PINTADO MELENDEZ      ADDRESS ON FILE
ELBA QUINONES LUCIANO      ADDRESS ON FILE
ELBA R GUZMAN CASTRO       ADDRESS ON FILE
ELBA R LOPEZ RODRIGUEZ     ADDRESS ON FILE
ELBA R MENDEZ CABASSA      ADDRESS ON FILE
ELBA R MENDEZ MARRERO`     ADDRESS ON FILE
ELBA R MORALES NEGRON      ADDRESS ON FILE
ELBA R RIOS GONZALEZ       ADDRESS ON FILE
ELBA R ROCHE DOMINGUEZ     ADDRESS ON FILE
ELBA REYES SERRANO         ADDRESS ON FILE
ELBA RIVERA                ADDRESS ON FILE
ELBA RIVERA HERNANDEZ      ADDRESS ON FILE
ELBA RIVERA LOPEZ          ADDRESS ON FILE
ELBA RIVERA QUINONES       ADDRESS ON FILE
ELBA RIVERA ZAYAS          ADDRESS ON FILE
ELBA RODRIGUEZ HERNANDEZ   ADDRESS ON FILE
ELBA RODRIGUEZ MUNIZ       ADDRESS ON FILE
ELBA RODRIGUEZ QUINONEZ    ADDRESS ON FILE
ELBA RODRIGUEZ SANTIAGO    ADDRESS ON FILE
ELBA RODRIGUEZ, ANA        ADDRESS ON FILE
ELBA ROSARIO CRUZ          ADDRESS ON FILE
ELBA ROSARIO RAMOS         ADDRESS ON FILE
ELBA S PADILLA PADILLA     ADDRESS ON FILE
ELBA SANCHEZ IRIZARRY      ADDRESS ON FILE
ELBA SANCHEZ RODRIGUEZ     ADDRESS ON FILE
ELBA SANTIAGO TOLEDO       ADDRESS ON FILE
ELBA SANTOS PAGAN          ADDRESS ON FILE
ELBA SOTILLO SEGARRA       ADDRESS ON FILE
ELBA SUAREZ FERRER         ADDRESS ON FILE
ELBA SUAREZ SUAREZ         ADDRESS ON FILE
ELBA T ORENGO SANTIAGO     ADDRESS ON FILE
ELBA TORRES ALICEA         ADDRESS ON FILE
ELBA TORRES BARRETO        ADDRESS ON FILE
ELBA TORRES IRIZARRY       ADDRESS ON FILE
ELBA TORRES LOPEZ          ADDRESS ON FILE
ELBA TORRES RAMOS          ADDRESS ON FILE
ELBA TORRES ROMERO         ADDRESS ON FILE
ELBA V. RIOS RIVERA        ADDRESS ON FILE
ELBA VARGAS APONTE         ADDRESS ON FILE
ELBA VARGAS CRUZ           ADDRESS ON FILE
ELBA VAZQUEZ MARTINEZ      ADDRESS ON FILE
ELBA VAZQUEZ MARTINEZ      ADDRESS ON FILE
ELBA VAZQUEZ MUNIZ         ADDRESS ON FILE
ELBA VELEZ                 ADDRESS ON FILE
ELBA VELEZ MUNIZ           ADDRESS ON FILE
ELBA Y DILAN CARO          ADDRESS ON FILE
ELBA Z REYES TORRES        ADDRESS ON FILE
ELBA Z RODRIGUEZ PEREZ     ADDRESS ON FILE




                                                                       Page 2520 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                               Desc:
                                                                Exhibit A-1 - Creditor     Matrix
                                                                                     Case No.              Page 2521 of 3500
                                                                                              17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                                 Address1                                      Address2                             Address3           Address4   City              State   PostalCode   Country
ELBA Z. ORTIZ CARABALLO                       ADDRESS ON FILE
ELBA ZAPATA MATOS                             ADDRESS ON FILE
ELBA ZOE VAZQUEZ SUAREZ                       ADDRESS ON FILE
ELBANGELIS ORTIZ MORALES                      ADDRESS ON FILE
ELBERT BABILONIA, BARRY                       ADDRESS ON FILE
ELBERT C RIVERA RIVERA                        ADDRESS ON FILE
ELBERT CHAVARRO MUNOZ                         ADDRESS ON FILE
ELBERT HILL, BARRY                            ADDRESS ON FILE
ELBIA B CARTAGENA                             ADDRESS ON FILE
ELBIA I TIRADO LEGUILLOW                      ADDRESS ON FILE
ELBIA SANCHEZ VAZQUEZ                         ADDRESS ON FILE
ELBIA TORO MARRERO                            ADDRESS ON FILE
ELBIA VAZQUEZ DAVILA                          ADDRESS ON FILE
ELBIA VAZQUEZ DAVILA                          ADDRESS ON FILE
ELBIMAR CABRERA MATEU                         ADDRESS ON FILE
ELBIN A. RIVERA RIVERA                        ADDRESS ON FILE
ELBIN QUILES RODRIGUEZ                        ADDRESS ON FILE
                                                                                                                                 220 WESTERN AUTO
ELBIN QUILES RODRÍGUEZ V . JUAN CARLOS PUIG LCDA. TANIA RUIZ                                 PMB 243                             PLAZA SUITE 101               TRUJILLO ALTO     PR      00976
ELBIN RODRIGUEZ                             ADDRESS ON FILE
ELBY D RIVERA BORRERO                       ADDRESS ON FILE
ELDA E LATALLADI GARCIA                     ADDRESS ON FILE
ELDA I PARES ROSADO                         ADDRESS ON FILE
ELDA L ORTIZ                                ADDRESS ON FILE
ELDA L. GOMEZ PEREZ                         ADDRESS ON FILE
ELDA M PADILLA CANCEL                       ADDRESS ON FILE
ELDA M QUINONEZ FIGUEROA                    ADDRESS ON FILE
ELDA M RAMIREZ CRUZ                         ADDRESS ON FILE
ELDA M RAMIREZ CRUZ                         ADDRESS ON FILE
ELDA M RODRIGUEZ CORA                       ADDRESS ON FILE
ELDA M ROSARIO REVERON                      ADDRESS ON FILE
ELDA M. ROBLEDO TRINIDAD                    ADDRESS ON FILE
ELDA NAZARIO CUST EDGARDO RIVERA            ADDRESS ON FILE
ELDA R GONZALEZ RODRIGUEZ                   ADDRESS ON FILE
ELDAHR CHACHOUD, JOSELIN                    ADDRESS ON FILE
ELDAHR EL ZAMAK, ABDALLAH                   ADDRESS ON FILE
ELDAHR, ISHAK                               ADDRESS ON FILE
ELDAHR, JEAN                                ADDRESS ON FILE
ELDAHR, KHALIL                              ADDRESS ON FILE
ELDER PEREZ TORRES                          ADDRESS ON FILE
ELDIA M DIAZ OLMO                           ADDRESS ON FILE
ELDIE ALOMAR ROMAN                          ADDRESS ON FILE
ELDIN R NU¥EZ RIOS                          ADDRESS ON FILE
ELDON M AYALA LIZARDI                       ADDRESS ON FILE
ELDRIN VELEZ IRIZARRY                       ADDRESS ON FILE
ELEANOR ACHIN, ROWENA                       ADDRESS ON FILE
ELEANOR L ALLEN                             ADDRESS ON FILE
ELEAZAR GIL RIVERA                          ADDRESS ON FILE
ELEAZAR VAZQUEZ ASENCIO                     ADDRESS ON FILE
ELEC ENGINEERING SERVICES INC               AVE UNIV INTERAMERICANA                          EDIF 174 SUITE 203                                                SAN GERMAN        PR      00683
ELECTRA                                     #4 VIEQUES STREET                                                                                                  SAN JUAN          PR      00917
ELECTRIC & COMMUNICATION SPECIALTIES        PO BOX 760                                                                                                         CAROLINA          PR      00986‐0760
Electric Insurance Company                  75 Sam Fonzo Drive                                                                                                 Beverly           MA      1915
Electric Insurance Company                  Attn: David Greenbaum, Vice President            75 Sam Fonzo Drive                                                Beverly           MA      01915
Electric Insurance Company                  Attn: Dean Murray, Vice President                75 Sam Fonzo Drive                                                Beverly           MA      01915
Electric Insurance Company                  Attn: Douglas Seymour, President                 75 Sam Fonzo Drive                                                Beverly           MA      01915
Electric Insurance Company                  Attn: Ellen Robbins, Circulation of Risk         75 Sam Fonzo Drive                                                Beverly           MA      01915
Electric Insurance Company                  Attn: Ellen Robbins, Regulatory Compliance Gove 75 Sam Fonzo Drive                                                 Beverly           MA      01915
Electric Insurance Company                  Attn: Gerald McCarthy, Consumer Complaint Con75 Sam Fonzo Drive                                                    Beverly           MA      01915
Electric Insurance Company                  c/o Electric Insurance Company, Agent for Service75 Sam Fonzo Drive                                                Beverly           MA      01915




                                                                                                                  Page 2521 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2522 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                                Address2                                Address3   Address4   City            State   PostalCode   Country
ELECTRIC SERVICE, CORP                   P.O. BOX 191921                                                                                       SAN JUAN        PR      00919‐1921
ELECTRICAL & INST CONTRACTORS INC/       P O BOX 2134                                                                                          SAN JUAN        PR      00922‐2134
ELECTRICAL & INSTRUMENTATION CONTRACTOR AVE. CASTIGLIONI G28 BAYAMON GARDENS                                                                   BAYAMON         PR      00957‐0000
ELECTRICAL & TESTING SERVICES            CALLE H2 346                            HILL BROTHER                                                  RIO PIEDRAS     PR      00924
ELECTRICAL & TESTING SERVICES            P O BOX 3216                                                                                          CAROLINA        PR      00984‐3216
ELECTRICAL ENGINEERING SERVICE           PO BOX 270210                                                                                         SAN JUAN        PR      00928
ELECTRICAL INSTALATION SERV              PMB 340 HC 01 BOX 29030                                                                               CAGUAS          PR      00725‐8900
ELECTRICAL INSTALATION SERV              PMB 340 HC‐01, BOX 29030                                                                              CAGUAS          PR      00725‐8900
ELECTRICAL INSTALATION SERV              RR 3 BOX 3160                                                                                         SAN JUAN        PR      00926
ELECTRICAL INSTALLATION & SERVICE CORP   PMB 340 HC 01 BOX 29030                                                                               CAGUAS          PR      00725‐8900
ELECTRICAL INSTALLATION & SERVICE CORP   RR‐3 BOX 3160                                                                                         SAN JUAN        PR      00926‐9603
ELECTRICAL INSTALLATION & SERVICES CORP. PMB 340 HC‐01 BOX 29030                                                                               CAGUAS          PR      00725‐8900
Electrical Instrumentation Contractors   URB BAYAMON GARDEN                      G 28 CALLE CASTIGLIONI                                        BAYAMON         PR      00957‐2429
ELECTRICAL INSTRUMENTATION CONTRACTORS I URB BAYAMON GDNS                        G28 AVENUE CASTIGLIONI                                        BAYAMON         PR      00957
ELECTRICAL PEREZ SERVICES                PO BOX 11651                                                                                          SAN JUAN        PR      00922
ELECTRICAL PROFESSIONALSERVICES , INC.   HC ‐ O2 BOX 14363                                                                                     CAROLINA        PR      00987‐0000
ELECTRO GATE CARIBBEAN                   PO BOX 11248 FERNANDEZ JUNCOS STATION                                                                 SAN JUAN        PR      00910
ELECTRO GATE CARIBBEAN INC.              PO BOX 11248 FERNANDEZ JUNCOS STATION                                                                 SAN JUAN        PR      00910‐2348
ELECTRO MECANICA EUROPEA INC             URB HOSTOS                              4 AVE LOS MAESTROS                                            MAYAGUEZ        PR      00682‐5949
ELECTRO PLUMBING                         PO BOX 455                                                                                            BARCELONETA     PR      00617
ELECTROLUX PUERTO RICO CORP              PO BOX 363287                                                                                         SAN JUAN        PR      00936
ELECTROMECANICA LONY INC                 P O BOX 8970                                                                                          HUMACAO         PR      00792‐8970
ELECTROMECANICA TONY                     PO BOX 8970                                                                                           HUMACAO         PR      00792‐8970
ELECTROMECANICA TONY , INC.              AVE. CRUZ ORTIZ STELLA # 175                                                                          HUMACAO         PR      00791‐0000
ELECTROMECANICA TONY INC                 PO BOX 8970                                                                                           HUMACAO         PR      00792
ELECTROMECHANICAL & SERVICE INC          PO BOX 2065                                                                                           CAGUAS          PR      00726
ELECTROMECHANICAL SALES SERVICES         PO BOX 2065                                                                                           CAGUAS          PR      00726
ELECTRONIC & STEAM SYSTEMS               PO BOX 10000 STE 77                                                                                   CAYEY           PR      00737
ELECTRONIC CITY                          URB ONEIL                               11 MARGINAL SUITE 5                                           MANATI          PR      00674
ELECTRONIC COOP                          9 CALLE TOMAS DAVILA                                                                                  BARCELONETA     PR      00617
ELECTRONIC COOP                          PARQUE INDUSTRIAL PALMAS ALTAS          9 CALLE TOMAS DAVILA                                          BARCELONETA     PR      00617
ELECTRONIC DATA SYSTEMS CORP             54 LEGACY DR                            MS H 1 4 D 57                                                 PLANO           TX      75024
ELECTRONIC LAB SYSTEMS INC               1129 AVE MUNOZ RIVERA                                                                                 SAN JUAN        PR      00925
ELECTRONIC OUTLET                        PO BOX 1787                                                                                           ARECIBO         PR      00613
ELECTRONICA FERNANDEZ                    CALLE ELEONOR ROOSEVELT 208                                                                           HATO REY        PR      00918
ELECTRONICS CENTER                       PO BOX 1157 STOP 20                                                                                   SANTURCE        PR      00910
ELECTROPHYSIOLOGY ASSOC OF PR PSC        650 LLOVERAS STE 208 CENTRO PLAZA                                                                     SAN JUAN        PR      00910‐2850
ELECTROSERVICIOS ESPECIALIZADOS INC      URB CAPARRA HTS                         354 AVE ESCORIAL                                              SAN JUAN        PR      00920‐3507
ELEDIEL TORRES OTERO                     ADDRESS ON FILE
ELEDY RAMOS GONZALEZ                     ADDRESS ON FILE
ELEIDA ORTIZ APONTE                      ADDRESS ON FILE
ELEJAGA GUTIERREZ, CARLOS                ADDRESS ON FILE
ELEMANIEL LUNA PADILLA                   ADDRESS ON FILE
ELEMANIEL PAGAN ARROYO                   ADDRESS ON FILE
ELEMENT K JOURNALS                       PO BOX 92870                                                                                          ROCHESTER       NY      14692‐9976
ELEMENTAL ADOLFO GRANA RIVERA            ADDRESS ON FILE
ELEMUEL TORRES ROSARIO                   ADDRESS ON FILE
ELENA A . RUCABADO ARROYO                ADDRESS ON FILE
ELENA ALCANTARA MARTINEZ                 ADDRESS ON FILE
ELENA CARMENATY GONZALEZ                 ADDRESS ON FILE
ELENA CARMENATY GONZALEZ                 ADDRESS ON FILE
ELENA CARMENTTY GONZALEZ                 ADDRESS ON FILE
ELENA CARMONA ALEJANDRO                  ADDRESS ON FILE
ELENA CARMONA ALEJANDRO                  ADDRESS ON FILE
ELENA CARRASQUILLO ARROYO                ADDRESS ON FILE
ELENA CARRASQUILLO MERCED                ADDRESS ON FILE
ELENA CHIRINO SOCIAS MD, MARIA           ADDRESS ON FILE
ELENA CORCHADO PERALTA                   ADDRESS ON FILE
ELENA CORCHADO PERALTA                   ADDRESS ON FILE
ELENA CRUZ ORTIZ                         ADDRESS ON FILE




                                                                                                          Page 2522 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2523 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                           Address1                          Address2                                   Address3         Address4   City            State   PostalCode   Country
ELENA ESCOBAR RODRIGUEZ                 ADDRESS ON FILE
ELENA FONANEZ PEREZ                     ADDRESS ON FILE
ELENA GARCIA MONTES                     ADDRESS ON FILE
ELENA GONZALEZ FLORES/ HG ENERGY        SOLUTIONS CORP                    HC 30 BOX 32717                                                        SAN LORENZO     PR      00754
ELENA HERNANDEZ DE RAMOS                ADDRESS ON FILE
ELENA HERNANDEZ RAMOS                   ADDRESS ON FILE
ELENA HERNANDEZ RODRIGUEZ               ADDRESS ON FILE
ELENA I BELTRAN DELGADO                 ADDRESS ON FILE
ELENA KIREEVA                           ADDRESS ON FILE
ELENA LORENZO VALENTIN                  ADDRESS ON FILE
ELENA M IGUINA GONZALEZ                 ADDRESS ON FILE
ELENA M OJEDA TREVINO                   ADDRESS ON FILE
ELENA M. ANGUEIRA‐BOSCH                 ADDRESS ON FILE
ELENA M. IGUINA GONZALEZ                ADDRESS ON FILE
ELENA M. MARINA MALPICA                 ADDRESS ON FILE
ELENA MALDONADO RIVERA                  ADDRESS ON FILE
                                                                                                                     1353 AVE. LUIS
ELENA MARINA MALPICA                    LCDA. YARLENE JIMÉNEZ ROSARIO     PMB 133                                    VIGOREAUX                   GUAYNABO        PR      00966‐2700
ELENA MARTE                             ADDRESS ON FILE
ELENA MARTINEZ RODRIGUEZ                ADDRESS ON FILE
ELENA MARTINEZ TORRES                   ADDRESS ON FILE
ELENA MENDOZA DE GOMEZ                  ADDRESS ON FILE
ELENA MENDOZA GONZALEZ                  ADDRESS ON FILE
ELENA MOJICA MARTINEZ                   ADDRESS ON FILE
ELENA MORALES JIMENEZ                   ADDRESS ON FILE
Elena Mulero                            ADDRESS ON FILE
ELENA OTERO                             ADDRESS ON FILE
ELENA PADILLA ACOSTA                    ADDRESS ON FILE
ELENA PEREYO CORDOVA                    ADDRESS ON FILE
ELENA PINERO AROCHO                     ADDRESS ON FILE
ELENA PIZARRO QUINONES / SHAWIN N MEDEROADDRESS ON FILE
ELENA RIVERA MARCUCCI                   FRANCISCO J. VIZCARRONDO TORRES   PO BOX 195642                                                          SAN JUAN        PR      00919‐5642
ELENA RIVERA MORALES                    ADDRESS ON FILE
ELENA RIVERA QUINONEZ                   ADDRESS ON FILE
ELENA RIVERA QUINONEZ                   ADDRESS ON FILE
ELENA RODRIGUEZ LOPEZ                   ADDRESS ON FILE
ELENA RODRIGUEZ, OVERT                  ADDRESS ON FILE
ELENA ROSADO GONZALEZ                   ADDRESS ON FILE
ELENA SANCHEZ PEREIRA                   ADDRESS ON FILE
ELENA SANTANA CLAUDIO                   ADDRESS ON FILE
ELENA SANTIAGO VAZQUEZ                  ADDRESS ON FILE
ELENA SANTIAGO VAZQUEZ                  ADDRESS ON FILE
ELENA SANTOS CORTES                     ADDRESS ON FILE
ELENA TELLADO MARTINEZ                  ADDRESS ON FILE
ELENA TORRES MUNOZ                      ADDRESS ON FILE
ELENA TRUJILLO GIL                      ADDRESS ON FILE
ELENA V PORTUONDO MOSKALENKO            ADDRESS ON FILE
ELENA VIERA RIVERA                      ADDRESS ON FILE
ELENA VILLALOBOS SANTOS                 ADDRESS ON FILE
ELENE MC DONALD CHARLES                 ADDRESS ON FILE
ELENEN MATOS, SARA                      ADDRESS ON FILE
ELENITA GONZALEZ MARTINEZ               ADDRESS ON FILE
ELENITA GONZALEZ MARTINEZ               ADDRESS ON FILE
ELENITA PEREZ VEGA                      ADDRESS ON FILE
ELEODORO DE JESUS SERRANO               ADDRESS ON FILE
ELEONOR RODRIGUEZ AVILES                ADDRESS ON FILE
ELEONOR TORRUELLAS LOPEZ                ADDRESS ON FILE
ELEONOR VARGAS FIGUEROA                 ADDRESS ON FILE
ELEPHANTSTRAT LLC                       603 CALLE ABOY APT 301                                                                                   SAN JUAN        PR      00907
ELEPHANTSTRAT LLC                       AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                              SAN JUAN        PR      00902‐4140




                                                                                                      Page 2523 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2524 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                           Address1                                 Address2                                  Address3              Address4   City            State   PostalCode   Country
ELERDENAI MD, MAHRUN                    ADDRESS ON FILE
ELESMA OLIVERAS SIFRE                   ADDRESS ON FILE
ELEUTERIA CABRERA LUGO                  ADDRESS ON FILE
ELEUTERIA SANTANA CANTALICIO            ADDRESS ON FILE
ELEUTERIO BENITEZ MONTANEZ              ADDRESS ON FILE
ELEUTERIO COLON RODRIGUEZ               ADDRESS ON FILE
ELEUTERIO CONCEPCION D/B/A EDIMAROFFISU 149 CALLE JOSE CELSO BARBOSA                                                                                        LAS PIEDRAS     PR      00771
ELEUTERIO FIGUEROA NIEVES               ADDRESS ON FILE
ELEUTERIO LOZADA MONTANEZ               ADDRESS ON FILE
ELEUTERIO NIEVES VEGA                   ADDRESS ON FILE
ELEUTERIO QUIðONEZ ORTIZ                ADDRESS ON FILE
ELEUTERIO QUIðONEZ ORTIZ                ADDRESS ON FILE
ELEUTERIO QUINONEZ ORTIZ                ADDRESS ON FILE
ELEUTERIO QUINONEZ ORTIZ                ADDRESS ON FILE
ELEUTERIO QUINONEZ ORTIZ                ADDRESS ON FILE
ELEUTERIO RODRIGUEZ LOZADA              ADDRESS ON FILE
ELEUTERIO SANCHEZ VARGAS                ADDRESS ON FILE
ELEUTERIO THILLET RODRIGUEZ             ADDRESS ON FILE
ELEUTICE ACEVEDO, ALAN                  ADDRESS ON FILE
Eleutice Acevedo, Axel                  ADDRESS ON FILE
ELEUTICE ACEVEDO, JULIO A.              ADDRESS ON FILE
ELEUTICE HERNANDEZ, JOSE I.             ADDRESS ON FILE
ELEUTICE MARTINEZ, IDIS MARILYN         ADDRESS ON FILE
ELEUTICE RODRIGUEZ, ZAIDA               ADDRESS ON FILE
ELEUTICE ROSA, ARLENE                   ADDRESS ON FILE
Eleutice Santiago, Julio A              ADDRESS ON FILE
ELEUTICE TORRES, JOSE                   ADDRESS ON FILE
ELEUTICE TORRES, JOSE                   ADDRESS ON FILE
Eleutiza De Jesus, Isell                ADDRESS ON FILE
ELEUTIZA SANTANA, RACHELL               ADDRESS ON FILE
ELEVATEC                                URB ROOSEVELT                            385 CESAR GONZALEZ                                                         SAN JUAN        PR      00919
ELEVATOR SPECIALTY GROUP INC            PO BOX 19382                                                                                                        SAN JUAN        PR      00910
ELFI CARABALLO SANTANA                  ADDRESS ON FILE
ELFREN F RIOS                           ADDRESS ON FILE
ELFREN RIVERA LAFONT                    ADDRESS ON FILE
ELG CONSULTING LLC                      PO BOX 8278                                                                                                         SAN JUAN        PR      00910
ELGA A BORRERO MONTALVO                 ADDRESS ON FILE
ELGA ALEIDIS NOVOA GONZALEZ             ADDRESS ON FILE
ELGA ILEANA PEREZ RIOS                  ADDRESS ON FILE
ELGA IRIZARRY ROSA                      ADDRESS ON FILE
ELGA L MELENDEZ MERCADO                 ADDRESS ON FILE
ELGA L MONELL ACEVEDO                   BUFETE ALDARONDO & LÓPEZ BRAS/ EL MUNICIPCELINA ROMANY LAW OFFICE                  PMB 291‐#1353 RD.19              GUAYNABO        PR      00966‐2700
ELGA M MARTINEZ CAMACHO                 ADDRESS ON FILE
ELGA M. MARTINEZ CAMACHO                ADDRESS ON FILE
ELGA MARTINEZ MONTALVO                  ADDRESS ON FILE
ELGA MARTINEZ MONTALVO                  ADDRESS ON FILE
ELGA N FELICIANO LOPEZ                  ADDRESS ON FILE
ELGA N VILARO LOPEZ                     ADDRESS ON FILE
ELGA ROSARIO VARGAS                     ADDRESS ON FILE
ELGA SANTOS ORTEGA                      ADDRESS ON FILE
ELGEKEE DIAZ HAMILTON                   ADDRESS ON FILE
ELGUI E MELENDEZ GUTIERREZ              ADDRESS ON FILE
ELHAGE BUCHEME, FARIDE                  ADDRESS ON FILE
ELI A PEREZ MENDEZ                      ADDRESS ON FILE
ELI ABNER ALEMAN ORTEGA                 ADDRESS ON FILE
ELI AYALA APONTE                        ADDRESS ON FILE
ELI BARRETO MARTINEZ / JESSICA MARTINEZ ADDRESS ON FILE
ELI CRUZ IRIZARRY                       ADDRESS ON FILE
ELI D BONILLA DIAZ                      ADDRESS ON FILE
ELI E NIEVES CASANOVA                   ADDRESS ON FILE




                                                                                                            Page 2524 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2525 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELI EIDA ORTIZ FELICIANO            ADDRESS ON FILE
ELI GALARZA LAW OFFICE LLC          PO BOX 9191                                                                      HUMACAO      PR      00792
ELI J RODRIGUEZ PASTRANA            ADDRESS ON FILE
ELI J TILEN BERNABE                 ADDRESS ON FILE
ELI JOURNALS                        DEPT. 1380                                                                       DENVER       CO      80291‐1380
ELI LARRAZABAL REYES                ADDRESS ON FILE
ELI LENNIN BARRETO CORTEZ           ADDRESS ON FILE
ELI LILLY EXPORT S A                25419 Network Place                                                              Chicago      IL      60673‐1254
ELI M QUINONES PEREZ                ADDRESS ON FILE
ELI MATOS ALICEA                    ADDRESS ON FILE
ELI PINEIRO RODRIGUEZ               ADDRESS ON FILE
ELI R OLIVIERI VINCENTY             ADDRESS ON FILE
ELI RESEARCH                        PO BOX 413049                                                                    NAPLES       FL      34101‐3049
ELI ROSA VAZQUEZ                    ADDRESS ON FILE
ELI S GALAN RODRIGUEZ               ADDRESS ON FILE
ELI S HERNANDEZ DIAZ                ADDRESS ON FILE
ELI S MATEO ROMAN                   ADDRESS ON FILE
ELI S NIEVES RODRIGUEZ              ADDRESS ON FILE
ELI S ROJAS DIAZ                    ADDRESS ON FILE
ELI S ROSA SALGADO                  ADDRESS ON FILE
ELI S. MELENDEZ ESQUILIN            ADDRESS ON FILE
ELI SAMUEL PAGAN CASTRO             ADDRESS ON FILE
ELIA CADALSO DE GRAU                ADDRESS ON FILE
ELIA E MALAVE ORTIZ                 ADDRESS ON FILE
ELIA E MEDINA QUINONES              ADDRESS ON FILE
ELIA E VELAZQUEZ RODRIGUEZ          ADDRESS ON FILE
ELIA E. MERCADO ORTIZ               ADDRESS ON FILE
ELIA E. RIVERA FIGUEROA             ADDRESS ON FILE
ELIA ENID CADILLA                   ADDRESS ON FILE
ELIA M COLON DIAZ                   ADDRESS ON FILE
ELIA M GONZALEZ CASTRO              ADDRESS ON FILE
ELIA MATOS PADRO                    ADDRESS ON FILE
ELIA MATOS PADRO                    ADDRESS ON FILE
ELIA MILAGROS RODRIGUEZ MUNIZ       ADDRESS ON FILE
ELIA MIRANDA ROBLEDO                ADDRESS ON FILE
ELIA ORTIZ MATEO                    ADDRESS ON FILE
ELIA R MARTINEZ FLORES              ADDRESS ON FILE
ELIA R TORRES LUCCA                 ADDRESS ON FILE
ELIA ROXANA FELICIANO TOLLINCHI     ADDRESS ON FILE
ELIA SARA VAZQUEZ QUINONES          ADDRESS ON FILE
ELIA SARA VAZQUEZ QUINONES          ADDRESS ON FILE
ELIABEL ARROYO AYUSO                ADDRESS ON FILE
ELIACIM VIERA GONZALEZ              ADDRESS ON FILE
ELIADA PEREZ DELIZ                  ADDRESS ON FILE
ELIADY CABANA CORTES                ADDRESS ON FILE
ELIAENID VELES ROBLES               ADDRESS ON FILE
ELIAH ERAZO LOZADA                  ADDRESS ON FILE
ELIAKIM LOPEZ WEEKS                 ADDRESS ON FILE
ELIAN J IGLESIAS                    ADDRESS ON FILE
ELIAN TOLLINCHI                     ADDRESS ON FILE
ELIAN Y SIERRA APONTE               ADDRESS ON FILE
ELIAN Y. SIERRA APONTE              ADDRESS ON FILE
ELIANA CRESPO                       ADDRESS ON FILE
ELIANA GARDENALES GARCIA            ADDRESS ON FILE
ELIANA MARIE ROBLES RODRIGUEZ       ADDRESS ON FILE
ELIANETH RIVERA MORALES             ADDRESS ON FILE
ELIANETTE CARDONA ENCARNACION       ADDRESS ON FILE
ELIANETTE MARIE MARTINEZ CLAUSELL   ADDRESS ON FILE
ELIANETTE MERCED SANTIAGO           ADDRESS ON FILE
ELIANI TOLENTINO RIVERA             ADDRESS ON FILE




                                                                                Page 2525 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2526 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELIANNY M. REYNOSO PUELLO    ADDRESS ON FILE
Elias Sanabrias, Luis A.     ADDRESS ON FILE
ELIAS & HIJOS INC.           ADDRESS ON FILE
ELIAS ABRAMS RODRIGUEZ       ADDRESS ON FILE
ELIAS ACEVEDO LORENZO        ADDRESS ON FILE
ELIAS ALONSO ESTRADA         ADDRESS ON FILE
ELIAS ARROYO FIGUEROA        ADDRESS ON FILE
ELIAS ARROYO GONZALEZ        ADDRESS ON FILE
Elias Baco, Janice M         ADDRESS ON FILE
ELIAS BAUZA, NORMA           ADDRESS ON FILE
ELIAS BRITO, LUIS            ADDRESS ON FILE
ELIAS CACERES, YVONNE        ADDRESS ON FILE
ELIAS CALDERON, FELICIANO    ADDRESS ON FILE
Elias Camacho, Armando       ADDRESS ON FILE
ELIAS CAMPOS, SARA           ADDRESS ON FILE
ELIAS CARRION MALDONADO      ADDRESS ON FILE
ELIAS CASTRO DE LEON         ADDRESS ON FILE
ELIAS CHARLES MERCADO        ADDRESS ON FILE
ELIAS CINTRON, ANTONIO       ADDRESS ON FILE
ELIAS CLASS SEPULVEDA        ADDRESS ON FILE
ELIAS COLON, KEN R.          ADDRESS ON FILE
ELIAS COLON, ZULEIKA         ADDRESS ON FILE
ELIAS COLON,KEYLA            ADDRESS ON FILE
ELIAS CORREA MD, GUSTAVO     ADDRESS ON FILE
ELIAS CORREA, JAIME          ADDRESS ON FILE
ELIAS CRUZ                   ADDRESS ON FILE
ELIAS D CARRERO DE JESUS     ADDRESS ON FILE
ELIAS D FONSECA LUGO         ADDRESS ON FILE
ELIAS D. FONSECA RIVERA      ADDRESS ON FILE
ELIAS DAVILA BERRIOS         ADDRESS ON FILE
ELIAS DE JESUS CONDE         ADDRESS ON FILE
ELIAS DE JESUS, LAURA E      ADDRESS ON FILE
ELIAS DIAZ, MILDRED IVETTE   ADDRESS ON FILE
ELIAS E. MUNIZ LUGO          ADDRESS ON FILE
ELÍAS ERNESTO, ORTEGA        ADDRESS ON FILE
ELIAS F SANCHEZ SIFONTE      ADDRESS ON FILE
ELIAS FEBRES NIEVES          ADDRESS ON FILE
ELIAS FELICIANO GONZALEZ     ADDRESS ON FILE
ELIAS FELICIANO, ANA L       ADDRESS ON FILE
ELIAS FELICIANO, IRIS M      ADDRESS ON FILE
ELIAS FELICIANO, IRIS M.     ADDRESS ON FILE
ELIAS FELICIANO, MILAGROS    ADDRESS ON FILE
ELIAS FERNANDEZ, MARIA M     ADDRESS ON FILE
ELIAS FERNANDEZ, NADJA M     ADDRESS ON FILE
ELIAS FIGUEROA, JOSE A       ADDRESS ON FILE
ELIAS FONT, IDALIA           ADDRESS ON FILE
ELIAS FUENTES MARTINEZ       ADDRESS ON FILE
ELIAS G RIVERA MARTELL       ADDRESS ON FILE
ELIAS GARCIA, IVETTE         ADDRESS ON FILE
ELIAS GERENA, MARGARITA      ADDRESS ON FILE
ELIAS GONZALEZ PEREZ         ADDRESS ON FILE
ELIAS GONZALEZ, ALEX         ADDRESS ON FILE
Elias Gualdarrama, Ivan      ADDRESS ON FILE
ELIAS GUARDARRAMA, IVAN      ADDRESS ON FILE
Elias Gutierez               ADDRESS ON FILE
Elias Gutiérrez Font         ADDRESS ON FILE
ELIAS GUTIERREZ SANCHEZ      ADDRESS ON FILE
ELIAS J HERNANDEZ ORTIZ      ADDRESS ON FILE
ELIAS J HERNANDEZ ORTIZ      ADDRESS ON FILE
ELIAS J LOPEZ MORALES        ADDRESS ON FILE




                                                                         Page 2526 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2527 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                              Address1                  Address2                                      Address3   Address4   City         State   PostalCode   Country
ELIAS KUILAN, CARMEN S                     ADDRESS ON FILE
ELIAS L. FERNÁNDEZ PÉREZ                   ADDRESS ON FILE
ELIAS LOPEZ/PERSIDA ALVAREZ/ABIGAIL        ADDRESS ON FILE
ELIAS LUGO QUINTANA                        ADDRESS ON FILE
ELIAS MADERA, LYDIA E                      ADDRESS ON FILE
ELIAS MALDONADO, ARIEL                     ADDRESS ON FILE
ELIAS MALLAR / CARIBBEAN OFFICE PRODUCTS   ADDRESS ON FILE
ELIAS MARQUES SOTO                         ADDRESS ON FILE
ELIAS MARTINEZ DIAZ                        ADDRESS ON FILE
ELIAS MARTINEZ, ADALBERTO E                ADDRESS ON FILE
ELIAS MARTINEZ, ADARIS                     ADDRESS ON FILE
ELIAS MARTINEZ, IRAIDA                     ADDRESS ON FILE
ELIAS MARTINEZ, JAN E.                     ADDRESS ON FILE
ELIAS MARTINEZ, MINERVA                    ADDRESS ON FILE
ELIAS MEDINA, MARIA DEL C                  ADDRESS ON FILE
ELIAS MELENDEZ, CORAL V                    ADDRESS ON FILE
ELIAS MELENDEZ, RAUL                       ADDRESS ON FILE
ELIAS MOCZO, SANDRA I.                     ADDRESS ON FILE
ELIAS MONGE PIZARRO                        ADDRESS ON FILE
ELIAS MONTALVO, ENEIDA                     ADDRESS ON FILE
ELIAS MONTALVO, EVA E                      ADDRESS ON FILE
ELIAS MONZON, MARIA                        ADDRESS ON FILE
ELIAS NEGRON SANTIAGO                      ADDRESS ON FILE
ELIAS O DELGADO MONSERRATE                 ADDRESS ON FILE
ELIAS OCANA, LINO                          ADDRESS ON FILE
ELIAS OQUENDO MUNIZ                        ADDRESS ON FILE
ELIAS ORTEGA, JEAN CARLO                   ADDRESS ON FILE
ELIAS PABON ROSADO                         ADDRESS ON FILE
ELIAS PEDRO RAMÍREZ DÍAZ                   JOSE A. VELEZ             35 CALLE BORBON SUITE 67‐115                                        GUAYNABO     PR      00969
ELIAS PENA PINA                            ADDRESS ON FILE
ELIAS PEREZ, GABRIEL                       ADDRESS ON FILE
ELIAS PEREZ, ZORAIDA                       ADDRESS ON FILE
ELIAS PINTO ROSA                           ADDRESS ON FILE
ELIAS PRINCIPE TORRES                      ADDRESS ON FILE
ELIAS QUINONES BERRIOS                     ADDRESS ON FILE
ELIAS QUINONES, ANGEL                      ADDRESS ON FILE
ELIAS QUINONES, LINNETTE                   ADDRESS ON FILE
ELIAS QUINTANA COLON                       ADDRESS ON FILE
ELIAS R MERCADO ORTIZ                      ADDRESS ON FILE
ELIAS RAMOS LOPEZ                          ADDRESS ON FILE
ELIAS REY CRUZ                             ADDRESS ON FILE
ELIAS REYES PEREZ                          ADDRESS ON FILE
ELIAS RIVERA DIAZ                          ADDRESS ON FILE
ELIAS RIVERA DIAZ                          ADDRESS ON FILE
ELIAS RIVERA MONTANEZ                      ADDRESS ON FILE
ELIAS RIVERA, ANGEL                        ADDRESS ON FILE
ELIAS RIVERA, EVA M                        ADDRESS ON FILE
ELIAS RIVERA, GIELLIAM                     ADDRESS ON FILE
Elias Rivera, Janice                       ADDRESS ON FILE
ELIAS RIVERA, JANICE                       ADDRESS ON FILE
ELIAS RIVERA, JOANNE A.                    ADDRESS ON FILE
ELIAS RIVERA, JUSTO                        ADDRESS ON FILE
ELIAS RIVERA, MONICA I                     ADDRESS ON FILE
ELIAS RIVERA, VICTOR M.                    ADDRESS ON FILE
ELIAS ROBINSON                             ADDRESS ON FILE
ELIAS ROBLES, JOHN C                       ADDRESS ON FILE
ELIAS RODRIGUEZ, ALBA I                    ADDRESS ON FILE
ELIAS RODRIGUEZ, ALEJANDRO                 ADDRESS ON FILE
ELIAS RODRIGUEZ, ANA                       ADDRESS ON FILE
ELIAS RODRIGUEZ, EDNA I                    ADDRESS ON FILE




                                                                                                    Page 2527 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2528 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                           Address1                         Address2                     Address3   Address4   City         State   PostalCode   Country
ELIAS RODRIGUEZ, JOSE R.                ADDRESS ON FILE
ELÍAS RODRÍGUEZ, JOSÉ R.                LCDA. BLANCA BONHOMME MELENDEZ   PO BOX 7445                                        SAN JUAN     PR      00916‐7445
ELIAS ROJAS OCASIO                      ADDRESS ON FILE
ELIAS ROJAS TORRES                      ADDRESS ON FILE
Elias Romero, Ramonita                  ADDRESS ON FILE
ELIAS ROMERO, RAMONITA                  ADDRESS ON FILE
ELIAS ROMERO, ROSA                      ADDRESS ON FILE
ELIAS ROSA, JOSE                        ADDRESS ON FILE
ELIAS SALADINI CAPPA                    ADDRESS ON FILE
ELIAS SANTANA                           ADDRESS ON FILE
ELIAS SANTANA, MILAGROS                 ADDRESS ON FILE
ELIAS SANTIAGO CHRISTIAN                ADDRESS ON FILE
ELIAS SANTIAGO TORRES                   ADDRESS ON FILE
ELIAS SANTIAGO, DIONISIO                ADDRESS ON FILE
ELIAS SIERRA, JOSE                      ADDRESS ON FILE
Elias Tapia, Sheira Y                   ADDRESS ON FILE
ELIAS TORRES GONZALEZ                   ADDRESS ON FILE
ELIAS URBINA, ROBERTO                   ADDRESS ON FILE
ELIAS VALENTIN, CARMEN I.               ADDRESS ON FILE
ELIAS VALLE, JUAN                       ADDRESS ON FILE
ELIAS VALLE, JUAN D                     ADDRESS ON FILE
ELIAS VALLES, RUTH N                    ADDRESS ON FILE
ELIAS VAZQUEZ OTERO                     ADDRESS ON FILE
ELIAS VAZQUEZ, EDNA I                   ADDRESS ON FILE
ELIAS VEGA, FRANKIE                     ADDRESS ON FILE
ELIAS VEGA, GLENN A                     ADDRESS ON FILE
ELIAS VEGA, GLORIA E                    ADDRESS ON FILE
ELIAS VELEZ SERRANO                     ADDRESS ON FILE
ELIAS VIERA, AUGUSTO                    ADDRESS ON FILE
ELIAS Y CASTRO MARQUEZ                  ADDRESS ON FILE
ELIAS ZAYAS COLON                       ADDRESS ON FILE
ELIAS, FRANCISCO                        ADDRESS ON FILE
ELIAS, SHADY                            ADDRESS ON FILE
ELIAS,VICTOR M.                         ADDRESS ON FILE
ELIASIB NUNEZ DIAZ                      ADDRESS ON FILE
ELIASIB VEGA ALVAREZ                    ADDRESS ON FILE
ELIASOL RODRIGUEZ                       ADDRESS ON FILE
ELIAS‐YAMIL RAFUL, MARIANA              ADDRESS ON FILE
ELIAZ SAEZ RODRIGUEZ DBA SAEZ ROOFING   HC‐2 BOX 9600                                                                       OROCOVIS     PR      00720‐0000
ELIAZABETH MARTINEZ                     ADDRESS ON FILE
ELIAZAR DEL TORO VELEZ                  ADDRESS ON FILE
ELIAZAR MUNOZ GONZALEZ                  ADDRESS ON FILE
ELIAZAR RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
ELIAZER UGARTE VENDRELL                 ADDRESS ON FILE
ELIAZIN NOYOLA RIVERA                   ADDRESS ON FILE
ELIAZOB NIEVES CORREA                   ADDRESS ON FILE
ELIBERTO CEDENO CRESPO                  ADDRESS ON FILE
ELIBETH CEPEDA LEBRON                   ADDRESS ON FILE
ELIBETH COLON ROSA                      ADDRESS ON FILE
ELIBETH GONZALEZ REYES                  ADDRESS ON FILE
ELIBO VALERIO, REBECA                   ADDRESS ON FILE
ELIBO VALERIO, REBECA                   ADDRESS ON FILE
ELICA M GONZALEZ MENDEZ                 ADDRESS ON FILE
ELICA QUINONES GONZALEZ                 ADDRESS ON FILE
ELICIER DAVILA, MARISOL                 ADDRESS ON FILE
Elicier Encarnacion, Carlos             ADDRESS ON FILE
ELICIER GOMEZ, LUIS                     ADDRESS ON FILE
ELICIER GONZALEZ, MARIA                 ADDRESS ON FILE
ELICIER REYES, MARITZA                  ADDRESS ON FILE
ELICIER REYES, MARITZA                  ADDRESS ON FILE




                                                                                       Page 2528 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2529 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                             Address1                                    Address2                                   Address3        Address4   City         State   PostalCode   Country
Elicier Rivera, Edwin                     ADDRESS ON FILE
ELICIER RIVERA, IVETTE                    ADDRESS ON FILE
ELICIER RIVERA, IVETTE M                  ADDRESS ON FILE
ELICIER RIVERA, LORNA                     ADDRESS ON FILE
Elicier Vazquez, Ben Anthony F            ADDRESS ON FILE
Elicier Vazquez, Jessica                  ADDRESS ON FILE
ELICIER VAZQUEZ, JESSICA                  ADDRESS ON FILE
ELID R ORTEGA OROZCO                      ADDRESS ON FILE
ELIDA A PALACIOS VELAZQUEZ                ADDRESS ON FILE
ELIDA GARCIA VALDEZ                       ADDRESS ON FILE
ELIDA J. PEREZ RODRIGUEZ                  ADDRESS ON FILE
ELIDA JACOME VARGAS                       ADDRESS ON FILE
ELIDA M GOMEZ BENCOSME                    ADDRESS ON FILE
ELIDA MATOS FONSECA                       ADDRESS ON FILE
Elida Ortiz Miranda                       ADDRESS ON FILE
ELIDA RAMIREZ ORTIZ & PETER SATZ HANLEY   ADDRESS ON FILE
ELIDA RIVERA SOTO                         ADDRESS ON FILE
ELIDA RODRIGUEZ MORALES                   ADDRESS ON FILE
ELIDA RODRIGUEZ RIVERA                    ADDRESS ON FILE
ELIDA ROVIRA FERNANDEZ                    ADDRESS ON FILE
ELIDA SOTO NEGRON                         ADDRESS ON FILE
ELIDA Y RUIZ NOGUERAS                     ADDRESS ON FILE
ELIDES BONILLA COLON DBA FARMACIA SAN     ANTONIO                                     TIERRA SANTA CARR 149 KM 5.7 H3                                       VILLALBA     PR      00766
ELIDIA PRIETO MARTINEZ                    ADDRESS ON FILE
ELIDIO GONZALEZ VELEZ                     ADDRESS ON FILE
ELIDIO MARTINEZ SELPA                     ADDRESS ON FILE
ELIDIS A NEGRON MEDINA                    ADDRESS ON FILE
ELIE J HERCULES Y MONICA A ESPINAL        ADDRESS ON FILE
ELIECER ECHEVARRIA MORALES                ADDRESS ON FILE
ELIECER PIZARRO, CYNTHIA                  ADDRESS ON FILE
ELIEL DE JESUS CRUZ                       ADDRESS ON FILE
ELIEL LUNA RIVERA                         JOSE M. COLON ORTIZ                         PO BOX 1330                                                           AIBONITO     PR      00705
ELIEL MANGUAL GONZALEZ                    ADDRESS ON FILE
ELIEL MIRANDA GALLOZA                     ADDRESS ON FILE
ELIEL MIRANDA GALLOZA                     ADDRESS ON FILE
ELIEL NAZARIO RAMOS                       ADDRESS ON FILE
ELIEL ORTHO MEDICAL CORP                  256 B AVE. JESUS T PINERO URB UNIVERSITY GARDENS                                                                  SAN JUAN     PR      00927
ELIEL ORTHO MEDICAL CORP                  UNIVERSITY GARDENS                          256 B AVE JESUS T PINEIRO                                             SAN JUAN     PR      00927
ELIEL PERAZZA RIVERA                      ADDRESS ON FILE
ELIEL PLAZA RIVERA                        ADDRESS ON FILE
ELIEL QUINONES MONTALVO                   ADDRESS ON FILE
ELIENEID RODRIGUEZ                        ADDRESS ON FILE
ELIENID ADORNO SANCHEZ                    ADDRESS ON FILE
ELIENID GONZALEZ MERCADO                  ADDRESS ON FILE
ELIENID NIEVES TORRES                     ADDRESS ON FILE
ELIENID ROSADO MARRERO                    ADDRESS ON FILE
ELIENIS DE JESUS PIZARRO                  ADDRESS ON FILE
ELIER E ESQUILIN QUINONES                 ADDRESS ON FILE
ELIER E IZQUIERDO VAZQUEZ                 ADDRESS ON FILE
ELIER MARTINEZ DELGADO                    ADDRESS ON FILE
ELIER OMAR GARCIA MILLAN                  ADDRESS ON FILE
ELIESER FELICIANO SOTO                    ADDRESS ON FILE
ELIESER RIVERA LOPEZ                      ADDRESS ON FILE
ELIESIN COLON TORRES                      ADDRESS ON FILE
ELIESNER VERA SOTO                        ADDRESS ON FILE
ELIETHER RIVERA SANABRIA                  ADDRESS ON FILE
ELIETZER VEGA REYES                       LCDO. CARLOS GONZÁLEZ SOLER‐ABOGADO PART403 AVE. MUÑOZ RIVERA                                                     SAN JUAN     PR      00918
ELIETZER VEGA REYES                       LCDO. RAFAEL E. BARRETO SOLÁ‐ ABOGADO PAR CANCIO NADAL RIVERA & DIAZ                   PO BOX 364966              SAN JUAN     PR      00936
ELIETZER VEGA REYES                       SR. ELIETZER VEGA REYES‐ DEMANDANTE POR DEINSTITUCIÓN 1,000 PO BOX 10009                                          GUAYAMA      PR      00785
ELIEXIS DELGADO BRITO                     ADDRESS ON FILE




                                                                                                                  Page 2529 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2530 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                            Address1                                Address2                            Address3       Address4   City          State   PostalCode   Country
ELIEZER A. ROMAN BATISTA                 ADDRESS ON FILE
ELIEZER ACEVEDO CRUZ                     ADDRESS ON FILE
ELIEZER ACEVEDO ORTIZ                    ADDRESS ON FILE
ELIEZER ACEVEDO RAMOS                    ADDRESS ON FILE
Eliezer Barreto Soto                     ADDRESS ON FILE
ELIEZER BERMUDEZ RIVERA                  ADDRESS ON FILE
ELIEZER BERRIOS RIVERA                   ADDRESS ON FILE
ELIEZER BURGOS RIVERA                    ADDRESS ON FILE
ELIEZER BURGOS ROSADO                    ADDRESS ON FILE
ELIEZER BURGOS/ DBA BURGOS TIRE CENTER   ESTANCIAS DE TORRIMAR                   5 CALLE PALMA REAL                                            GUAYNABO      PR      00965
ELIEZER CALDERON HERNANDEZ               ADDRESS ON FILE
ELIEZER CAMACHO ORTIZ                    ADDRESS ON FILE
ELIEZER CANALES LOPEZ                    ADDRESS ON FILE
ELIEZER CARABALLO BENITEZ                ADDRESS ON FILE
ELIEZER CARABALLO MARTINEZ               ADDRESS ON FILE
ELIEZER CARABALLO VEGA                   ADDRESS ON FILE
ELIEZER CASTILLO                         ADDRESS ON FILE
ELIEZER CASTRO RODRIGUEZ                 ADDRESS ON FILE
ELIEZER CLASS GONZALEZ                   ADDRESS ON FILE
ELIEZER COLON ROSADO                     ADDRESS ON FILE
ELIEZER CORDERO PENALBERT                ADDRESS ON FILE
ELIEZER CORTES ORTA                      ADDRESS ON FILE
ELIEZER COSME GONZALEZ                   ADDRESS ON FILE
ELIEZER CRUZ APONTE                      ADDRESS ON FILE
ELIEZER CRUZ JIMENEZ                     ADDRESS ON FILE
ELIEZER CRUZ RODRIGUEZ                   ADDRESS ON FILE
ELIEZER CRUZ RODRIGUEZ                   ADDRESS ON FILE
ELIEZER CUBA NIEVES                      ADDRESS ON FILE
ELIEZER D RIVERA LOPEZ                   ADDRESS ON FILE
ELIEZER D. MEDINA CACERES                JORGE GORDON MENENDEZ                   PO BOX 193964                                                 SAN JUAN      PR      00919‐3964
ELIEZER DAVILA RODRIGUEZ                 ADDRESS ON FILE
ELIEZER E HERNANDEZ SOTO                 ADDRESS ON FILE
ELIEZER FELICIANO CORDERO                ADDRESS ON FILE
ELIEZER GOMEZ AGUILA                     ADDRESS ON FILE
ELIEZER GOMEZ ROSA                       ADDRESS ON FILE
ELIEZER GONZALEZ GONZALEZ                ADDRESS ON FILE
ELIEZER GONZALEZ MARTINEZ                ADDRESS ON FILE
ELIEZER GONZALEZ RODRIGUEZ               ADDRESS ON FILE
ELIEZER GONZALEZ RODRIGUEZ               ADDRESS ON FILE
ELIEZER GUZMAN PABON                     ADDRESS ON FILE
ELIEZER HERNADEZ MONTANEZ                ADDRESS ON FILE
ELIEZER J RODRIGUEZ ALVARADO             ADDRESS ON FILE
ELIEZER LOPEZ BURGOS                     ADDRESS ON FILE
ELIEZER MANGUAL RODRIGUEZ                ADDRESS ON FILE
ELIEZER MARCHANY ACOSTA                  ADDRESS ON FILE
ELIEZER MARRERO COLON / COOPERATIVA DE SELCDO. ARMANDO FRANCESCHI FIGUEROA       B5 CALLE TABONUCO                   SUITE 216      PMB 360    GUAYNABO      PR      00968‐3029
ELIEZER MARRERO COLON / COOPERATIVA DE SELCDO. ARMANDO FRANCESCHI FIGUEROA; LCDO VICTORIA STATION                    APARTADO 265              AGUADILLA     PR      00605
ELIEZER MARTINEZ CLAUSELL                ADDRESS ON FILE
ELIEZER MARTINEZ VAZQUEZ                 ADDRESS ON FILE
ELIEZER MATOS GUZMAN                     ADDRESS ON FILE
ELIEZER MEDINA HUERTAS                   ADDRESS ON FILE
ELIEZER MENDEZ                           ADDRESS ON FILE
ELIEZER MERCADO RIVERA                   ADDRESS ON FILE
ELIEZER MIRANDA OLMEDA                   ADDRESS ON FILE
ELIEZER MIRANDA OLMEDA                   ADDRESS ON FILE
ELIEZER MIRANDA OLMEDA                   ADDRESS ON FILE
ELIEZER MUNOS DBA ELY'SCATERING SERVICES SECT CLAUSELL                           29 CALLE DISTRITO                                             PONCE         PR      00731
ELIEZER MUNOZ DBA ELY'S CATERING         2865 DISTRITO STE,                                                                                    PONCE         PR      00730‐5401
ELIEZER MUNOZ IRRIZARRY                  ADDRESS ON FILE
ELIEZER NEGRON GONZALEZ                  ADDRESS ON FILE




                                                                                                      Page 2530 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2531 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                           Address1                                   Address2                                     Address3               Address4        City         State   PostalCode   Country
ELIEZER NIEVES HERNANDEZ                ADDRESS ON FILE
ELIEZER NIEVES RODRIGUEZ                ADDRESS ON FILE
ELIEZER NIEVES ROSARIO                  ADDRESS ON FILE
ELIEZER PACHECO MACHADO                 ADDRESS ON FILE
ELIEZER PAGAN BANCHS                    ADDRESS ON FILE
ELIEZER PAGAN GARCIA                    LCDA. MIRIAM A MURPHY LIGHTBOURN           PO BOX 372519                                                                       CAYEY        PR      00737
ELIEZER PANTOJA GARCIA                  ADDRESS ON FILE
ELIEZER PEREZ                           ADDRESS ON FILE
ELIEZER PEREZ VAZQUEZ                   ADDRESS ON FILE
ELIEZER PIZARRO                         ADDRESS ON FILE
ELIEZER PIZARRO                         ADDRESS ON FILE
ELIEZER PRATTS RUIZ                     ADDRESS ON FILE
ELIEZER QUINONES ESQUILIN               ADDRESS ON FILE
ELIEZER QUINONES SOTOMAYOR              ADDRESS ON FILE
ELIEZER RAMIREZ ACEVEDO                 ADDRESS ON FILE
ELIEZER RESTO CASILLAS                  ADDRESS ON FILE
ELIEZER REYES RAMOS                     ADDRESS ON FILE
ELIEZER RIOS DIAZ                       ADDRESS ON FILE
ELIEZER RIOS GUZMAN                     ADDRESS ON FILE
ELIEZER RIVERA CRUZ                     ADDRESS ON FILE
ELIEZER RIVERA GARCIA                   ADDRESS ON FILE
ELIEZER RIVERA RODRIGUEZ                ADDRESS ON FILE
ELIEZER RIVERA RUIZ                     ADDRESS ON FILE
Eliezer Rivera Sanchez                  ADDRESS ON FILE
ELIEZER ROBLES GARCIA                   ADDRESS ON FILE
ELIEZER RODRIGUEZ AGOSTO                ADDRESS ON FILE
ELIEZER RODRIGUEZ GRAU                  ADDRESS ON FILE
ELIEZER RODRIGUEZ OCASIO                ADDRESS ON FILE
ELIEZER RODRIGUEZ SANTIAGO              ADDRESS ON FILE
ELIEZER RODRIGUEZ SANTIAGO              ADDRESS ON FILE
ELIEZER RODRIGUEZ VALLE                 ADDRESS ON FILE
ELIEZER RUIZ PAGAN                      ADDRESS ON FILE
                                                                                                                                50 CARR #5 UNIT 501
ELIEZER SANTANA BAEZ                    ELIEZER SANTANA BAEZ                       INDUSTRIAL LUCHETTI                          EDIF 2 J                               Bayamón      PR      00961‐7403
ELIEZER SANTANA BAEZ                    HÉCTOR LUGO MONTALVO                       PO BOX 8672                                                                         Bayamón      PR      00960‐8036
ELIEZER SANTANA BAEZ                    LCDA. EDNA I. RODRÍGUEZ MARÍN              PMB 256 PO BOX 607071                                                               Bayamón      PR      00960‐7071
ELIEZER SANTANA BAEZ                    LCDO. ARALDO ROGER ROQUE GONZALEZ          PO BOX 51303                                                                        TOA BAJA     PR      00950‐1303
ELIEZER SANTANA BAEZ                    LCDO. HÉCTOR L. NIEVES CLAUDIO             URB. PASEO REAL                              CALLE TOPACIO          NÚM. 27         DORADO       PR      00646
ELIEZER SANTANA BAEZ                    REINA VÁZQUEZ VÉLEZ                        31‐36 AVE MAIN URB SANTA ROSA                                                       Bayamón      PR      00959
                                                                                                                                50 CARR 5 UNIT A‐501
ELIEZER SANTANA BAEZ                    ROBERTO QUIÑONES LÓPEZ                    INDUSTRIAL LUCHETTI                           EDIF 3J                                BAYAMON      PR      00960
ELIEZER SANTANA BAEZ                    SR. ELIEZER SANTANA BÁEZ‐ DEMANDANTE SE RE50 CARR. 5 ANEXO 501 EDIFICIO 3‐J             IND. LUCHETTI                          Bayamón      PR      00961‐7403
ELIEZER SANTANA BAEZ                    WILNELIA GARCÍA SIERRA                    PO BOX 6791                                                                          Bayamón      PR      00960
                                                                                                                                EDIF 3‐J INDUSTRIAL
ELIEZER SANTANA BAEZHENRY FIGUEROA RAMOSELIEZER SANTANA BAEZ                       50 CARR. 5 UNIT A‐501                        LUCHETTI                               BAYAMON      PR      00961‐7403
                                                                                                                                EDIF 3‐J INDUSTRIAL
ELIEZER SANTANA BAEZHENRY FIGUEROA RAMOSHENRY FIGUEROA RAMOS                       50 CARR. 5 UNIT A‐501                        LUCHETTI                               BAYAMON      PR      00961
ELIEZER SANTANA BAEZHENRY FIGUEROA RAMOSLCDO. EFRAÍN HERNÁNDEZ ALICEA              CALLE 1                                      A‐1                    URB. SANFELIZ   COROZAL      PR      00783
ELIEZER SANTANA BAEZHENRY FIGUEROA RAMOSLCDO. JULIO A. SANTOS RIVERA               PO BOX 369                                                                          CATAÑO       PR      00963
ELIEZER SANTIAGO COLON                  ADDRESS ON FILE
ELIEZER SANTIAGO RIVERA                 ADDRESS ON FILE
ELIEZER SANTIAGO Y EVELYN PEREZ         ADDRESS ON FILE
ELIEZER SANTOS NIEVES                   ADDRESS ON FILE
ELIEZER SOTO ALICEA                     ADDRESS ON FILE
ELIEZER TARAFA FELICIANO                ADDRESS ON FILE
ELIEZER TARDI ORTIZ                     ADDRESS ON FILE
ELIEZER TORRES AMADOR                   ADDRESS ON FILE
ELIEZER TORRES CRUZ                     ADDRESS ON FILE
ELIEZER TORRES CRUZ                     ADDRESS ON FILE
ELIEZER TORRES DBA TRANSPORTACION ESC   HC 5 BUZON 7208                                                                                                                YAUCO        PR      00698




                                                                                                                Page 2531 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2532 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELIEZER TORRES HERNANDEZ                 ADDRESS ON FILE
ELIEZER TORRES RIVERA                    ADDRESS ON FILE
ELIEZER TORRES VEGA                      ADDRESS ON FILE
ELIEZER TROCHE RIVERA                    ADDRESS ON FILE
ELIEZER VAZQUEZ MELENDEZ                 ADDRESS ON FILE
ELIEZER VEGA CANALES Y DEBORAH BARRETO   ADDRESS ON FILE
ELIEZER VEGA SOTO                        ADDRESS ON FILE
ELIEZER VELAZQUEZ RIVERA                 ADDRESS ON FILE
ELIEZER VILA MARRERO                     ADDRESS ON FILE
ELIEZER ZAYAS SANTGO                     ADDRESS ON FILE
ELIFA ROSADO DEL VALLE                   ADDRESS ON FILE
ELIGIA DAVILA NAVARRO                    ADDRESS ON FILE
ELIGIA MONEGRO ORTIZ                     ADDRESS ON FILE
ELIGIA SANTIAGO IRIZARRY                 ADDRESS ON FILE
ELIGIA SANTIAGO IRIZARRY                 ADDRESS ON FILE
ELIGIO DAVID MENDEZ                      ADDRESS ON FILE
ELIGIO HERNANDEZ PEREZ                   ADDRESS ON FILE
ELIGIO LAGUER SANCHEZ                    ADDRESS ON FILE
ELIGIO MARQUEZ GARCIA                    ADDRESS ON FILE
ELIGIO MARQUEZ GARCIA                    ADDRESS ON FILE
ELIGIO OLIVIERI ALVARADO                 ADDRESS ON FILE
ELIGIO SANTANA PEREZ                     ADDRESS ON FILE
ELIGIO SANTANA VELAZQUEZ                 ADDRESS ON FILE
ELIGIO SERRANO PICON                     ADDRESS ON FILE
ELIGIO SOTO GARCIA                       ADDRESS ON FILE
ELIGIO TORRES HERNANDEZ                  ADDRESS ON FILE
Eligio Vega González                     ADDRESS ON FILE
ELIGIO WORKERS GARCIA                    ADDRESS ON FILE
ELIGRIEL IRIZARRY FLORES                 ADDRESS ON FILE
ELIJAH J CRUZ MARTINEZ                   ADDRESS ON FILE
ELIK A SANTOS ORTEGA                     ADDRESS ON FILE
ELIKA J. OSORIO OSORIO                   ADDRESS ON FILE
ELIKA OSORIO OSORIO                      ADDRESS ON FILE
ELIKA V BERRIOS MALDONADO                ADDRESS ON FILE
ELIKA V BERRIOS MALDONADO                ADDRESS ON FILE
ELIM RAMOS MATTEI                        ADDRESS ON FILE
ELIMAGDIER AMARO CRUZ                    ADDRESS ON FILE
ELIMAR REYES VAZQUEZ                     ADDRESS ON FILE
ELIMARY GONZALEZ SALTAR                  ADDRESS ON FILE
ELIMETTE MURGA SIERRA                    ADDRESS ON FILE
ELIMINEX PEST EXTERMINATORS INC          URB HILL MANSIONS         BG2 CALLE 68                                           SAN JUAN     PR      00926
ELIN MORALES HERNANDEZ                   ADDRESS ON FILE
ELIN ROSARIO SANTIAGO                    ADDRESS ON FILE
ELIN TROCHE PEREZ                        ADDRESS ON FILE
ELINA M. CABALLERO ESPINOSA              ADDRESS ON FILE
ELINA MERCADO Y/O JOSE D QUINONES        ADDRESS ON FILE
ELINA MONSEGUR ADAMS                     ADDRESS ON FILE
ELINA MONSEGUR ADAMS                     ADDRESS ON FILE
ELINALDO QUINONES PEREZ                  ADDRESS ON FILE
ELINES FRANCO MEDINA                     ADDRESS ON FILE
ELINES SERVICE STATION INC               PO BOX 1909                                                                      COAMO        PR      00769‐1909
ELINETTE BRACERO VICENS                  ADDRESS ON FILE
ELINOR MARTINEZ RODRIGUEZ                ADDRESS ON FILE
ELIO D MORCIGLIO FELICIANO               ADDRESS ON FILE
ELIO GUAST YIMET                         ADDRESS ON FILE
ELIO J RUBIO RIVERA                      ADDRESS ON FILE
ELIO KERCADO RIVERA                      ADDRESS ON FILE
ELIO M DAVID CEDENO                      ADDRESS ON FILE
ELIO RAMOS COLON                         ADDRESS ON FILE
ELIOMAR MELENDEZ MORALES                 ADDRESS ON FILE




                                                                                     Page 2532 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2533 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELIOMAR MELENDEZ MORALES                  ADDRESS ON FILE
ELIOMAR MORALES SANTANA                   ADDRESS ON FILE
ELIOMAR RODRIGUEZ MARMOL                  ADDRESS ON FILE
ELIOMAR SANCHEZ PEREZ                     ADDRESS ON FILE
ELIOMAR SOTO Y BLANCA I MALAVE (TUTORA)   ADDRESS ON FILE
ELIONAY BERGOCHEA QUINONEZ                ADDRESS ON FILE
ELIONER PENA CRUZ                         ADDRESS ON FILE
ELIONEX MORALES PEREZ                     ADDRESS ON FILE
ELIOT AVILES RIVERA                       ADDRESS ON FILE
ELIOT HERNANDEZ GONZALEZ                  ADDRESS ON FILE
ELIOT RIVERA RIVERA                       ADDRESS ON FILE
ELIOT RONDON SUAREZ                       ADDRESS ON FILE
ELIOT S HERNANDEZ RIVERA                  ADDRESS ON FILE
ELIOT VELEZ FARIA                         ADDRESS ON FILE
ELIOT VERA ALMA                           ADDRESS ON FILE
ELIOT Y GONZALEZ SANCHEZ                  ADDRESS ON FILE
ELIRIS CARABALLO MARTINEZ                 ADDRESS ON FILE
ELIS A SANTIAGO MELENDEZ                  ADDRESS ON FILE
ELIS ALVAREZ MARTINEZ                     ADDRESS ON FILE
ELIS COLON RIVERA                         ADDRESS ON FILE
ELIS GONZALEZ PEREZ                       ADDRESS ON FILE
ELIS J. CARRASQUILLO VAZQUEZ              ADDRESS ON FILE
ELIS M CARABALLO MARTINEZ                 ADDRESS ON FILE
ELIS M TORRES                             ADDRESS ON FILE
ELIS MALDONADO, IVISS A                   ADDRESS ON FILE
ELIS MARIN GUADARRAMA                     ADDRESS ON FILE
ELIS MARIN GUADARRAMA                     ADDRESS ON FILE
ELIS MUNIZ LOZADA                         ADDRESS ON FILE
ELIS N TORRES TORRES                      ADDRESS ON FILE
ELIS S GOYCO MORALES                      ADDRESS ON FILE
ELIS W PACHECO MATOS                      ADDRESS ON FILE
ELISA A TORRALBES CORREA                  ADDRESS ON FILE
ELISA ANDREU                              ADDRESS ON FILE
ELISA ARIAS MERCADO                       ADDRESS ON FILE
ELISA ARROYO COSME                        ADDRESS ON FILE
ELISA BEATRIZ ALVAREZ LABAT               ADDRESS ON FILE
ELISA BENITEZ CALDERON                    ADDRESS ON FILE
ELISA C REYES BERMUDEZ                    ADDRESS ON FILE
ELISA CARABALLO BREBAN                    ADDRESS ON FILE
ELISA CARMONA ALLENDE                     ADDRESS ON FILE
ELISA CASTRO MORA                         ADDRESS ON FILE
ELISA COLON VELEZ                         ADDRESS ON FILE
ELISA COTTO DIAZ                          ADDRESS ON FILE
ELISA CRUZ Y/O LUIS A DE LEON             ADDRESS ON FILE
ELISA CUADRADO NUNEZ                      ADDRESS ON FILE
ELISA CUADRADO NUNEZ                      ADDRESS ON FILE
ELISA D MUNOZ LOPEZ                       ADDRESS ON FILE
ELISA DE JESUS SANTOS                     ADDRESS ON FILE
ELISA DE JESUS SANTOS                     ADDRESS ON FILE
ELISA DIAZ LOPEZ                          ADDRESS ON FILE
ELISA E SUAREZ DAVILA                     ADDRESS ON FILE
Elisa Franco Machicote                    ADDRESS ON FILE
ELISA GOMEZ MARTINEZ                      ADDRESS ON FILE
ELISA I GONZALEZ RIVERA                   ADDRESS ON FILE
ELISA I REYES OLIVERAS                    ADDRESS ON FILE
ELISA KARP/ INTEMENT PRODUC MANAGER       ADDRESS ON FILE
ELISA LEBRON MIRO                         ADDRESS ON FILE
ELISA M FIGUEROA NARVAEZ/ LUZ S NARVAEZ   ADDRESS ON FILE
ELISA M ROSADO RIVERA                     ADDRESS ON FILE
ELISA M TORRES PEREZ                      ADDRESS ON FILE




                                                                                      Page 2533 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2534 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                             Address1                  Address2                                Address3      Address4   City              State   PostalCode   Country
ELISA M. CRUZADO RAMOS                    ADDRESS ON FILE
ELISA MACHIN FLORES                       ADDRESS ON FILE
ELISA NUNEZ TORRES                        ADDRESS ON FILE
ELISA ORENGO SANTIAGO                     ADDRESS ON FILE
ELISA ORTIZ MARTINEZ                      ADDRESS ON FILE
ELISA QUINONES SANTANA                    ADDRESS ON FILE
ELISA QUINONEZ RODRIGUEZ                  ADDRESS ON FILE
ELISA R GONZALEZ QUINONES                 ADDRESS ON FILE
ELISA RAMOS REYES                         ADDRESS ON FILE
ELISA RODRIGUEZ CANDELARIA                ADDRESS ON FILE
ELISA RODRIGUEZ FIGUEROA                  ADDRESS ON FILE
ELISA ROSARIO FELICIANO                   ADDRESS ON FILE
ELISA SANTANA RIVERA                      ADDRESS ON FILE
ELISA SUAREZ OCASIO                       ADDRESS ON FILE
ELISA TAPIA ROSARIO                       ADDRESS ON FILE
ELISA TORRES MUNOZ                        ADDRESS ON FILE
ELISA V ABRUNA ORTIZ                      ADDRESS ON FILE
ELISA VAZQUEZ RIVERA                      ADDRESS ON FILE
ELISA VEGA ALVAREZ                        ADDRESS ON FILE
ELISA VEGA COLON                          ADDRESS ON FILE
ELISA VELEZ                               ADDRESS ON FILE
ELISA YBARRA CHARRO                       ADDRESS ON FILE
ELISA ZAVALA CALDERON                     ADDRESS ON FILE
ELISABEL CABAN COLON                      ADDRESS ON FILE
ELISABEL DELGADO SANCHEZ                  ADDRESS ON FILE
ELISABET JUSINO RODRIGUEZ                 ADDRESS ON FILE
ELISABET REYES PAGAN                      ADDRESS ON FILE
ELISABET RIVERA FIGUEROA                  ADDRESS ON FILE
ELISABETH MUNOZ MATOS                     ADDRESS ON FILE
ELISADDAI RIVERA MALDONADO                ADDRESS ON FILE
ELISADEL FIGUEROA HERNANADEZ              ADDRESS ON FILE
ELISADEL FIGUEROA HERNANDEZ               ADDRESS ON FILE
ELISAMUEL LOPEZ SANTIAGO                  ADDRESS ON FILE
ELISAMUEL MARTINEZ DIAZ                   ADDRESS ON FILE
ELISAMUEL MOLINA PARRILLA                 ADDRESS ON FILE
ELISAMUEL QUINONEZ TORRES                 ADDRESS ON FILE
ELISAMUEL RAMIREZ LOZADA                  ADDRESS ON FILE
ELISAMUEL SANCHEZ VEGA                    ADDRESS ON FILE
ELISANDRA NUNEZ GREEN                     ADDRESS ON FILE
ELISANDRA ORTIZ                           ADDRESS ON FILE
ELISANDRA RIVERA RIVERA                   ADDRESS ON FILE
ELISANEL SANTIAGO IRIZARRY                ADDRESS ON FILE
ELISAUL VAZQUEZ ROSARIO                   ADDRESS ON FILE
ELISAURA VEGA                             ADDRESS ON FILE
ELISBEL MALDONADO RIVERA                  ADDRESS ON FILE
ELISCAMIL RAMIREZ ORTIZ                   ADDRESS ON FILE
ELISCO SOFTWARE CONSULTANTS               ADDRESS ON FILE
ELISCO SOFTWARE CONSULTANTS CORP          ADDRESS ON FILE
ELISEL CINTRON MARZAN                     ADDRESS ON FILE
ELISELOTTE VAZQUEZ LEON                   ADDRESS ON FILE
ELISEO ACEVEDO DIAZ                       ADDRESS ON FILE
ELISEO ACEVEDO RIOS                       ADDRESS ON FILE
ELISEO ARCE MORELL                        ADDRESS ON FILE
ELISEO CAPPAS FELICIANO                   HC 2 BOX 7816                                                                              GUAYANILLA        PR      00656‐9761
ELISEO CAPPAS FELICIANO CAPPAS BUS LINE   HC 02 BOX 7816                                                                             GUAYANILLA        PR      00656‐9761
ELISEO COLON VAZQUEZTELL                  ADDRESS ON FILE
ELISEO CORTES                             REYNALDO ACEVEDO VÉLEZ    CALLE GAYA BENEJAM #15                  PO BOX 1351              SAN SEBASTIÓN     PR      00685
ELISEO COTTO MARTINEZ                     ADDRESS ON FILE
ELISEO DIAZ MOLINA                        ADDRESS ON FILE
ELISEO GONZALEZ Y LUZ GOITYA              ADDRESS ON FILE




                                                                                             Page 2534 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2535 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                              Address2                                  Address3          Address4   City         State   PostalCode   Country
ELISEO HERNANDEZ ORTEGA                   ADDRESS ON FILE
ELISEO LOPEZ RESTO                        ADDRESS ON FILE
ELISEO MIRANDA COLON                      ADDRESS ON FILE
ELISEO MIRANDA COLON                      ADDRESS ON FILE
ELISEO MOLINA ESTRADA                     ADDRESS ON FILE
ELISEO NIEVES ACEVEDO                     ADDRESS ON FILE
ELISEO NIEVES AGOSTO                      ADDRESS ON FILE
ELISEO NIEVES FONTANEZ                    ADDRESS ON FILE
ELISEO NIEVES FONTANEZ                    ADDRESS ON FILE
ELISEO NUNEZ LUGO                         ADDRESS ON FILE
ELISEO REYES COREANO                      ADDRESS ON FILE
ELISEO RIOS VELAZQUEZ                     ADDRESS ON FILE
ELISEO RIVERA BAEZ                        ADDRESS ON FILE
ELISEO RIVERA SANTANA                     ADDRESS ON FILE
ELISEO RUIZ PEREZ                         ADDRESS ON FILE
ELISEO SANCHEZ DIAZ                       ADDRESS ON FILE
ELISEO SANCHEZ DIAZ                       ADDRESS ON FILE
ELISEO SUSTACHE VAZQUEZ                   ADDRESS ON FILE
ELISEO TOLEDO RODRIGUEZ                   ADDRESS ON FILE
ELISHA CARDENALES FIGUEROA                ADDRESS ON FILE
ELISHA FELICIANO MARTINEZ                 ADDRESS ON FILE
ELISHA I RIVERA BAEZ                      ADDRESS ON FILE
ELISHALEM NEGRON MUNOZ                    ADDRESS ON FILE
ELISINA CALCANO RIVERA                    ADDRESS ON FILE
ELISONIA MEDINA VAZQUEZ                   ADDRESS ON FILE
ELISSA J BRAWN SCHEER                     ADDRESS ON FILE
ELISSA J. CHAZDON                         ADDRESS ON FILE
ELISSETTE VAZQUEZ BATISTA                 ADDRESS ON FILE
ELITE BCO. LLC                            PO BOX 9023165                                                                                               SAN JUAN     PR      00902
ELITE BUSINESS CONSULTANT, LLC            1511 AVE. PONCE DE LEON               SUITE 153                                                              SAN JUAN     PR      00906
ELITE BUSINESS CONSULTANTS                161 AVENIDA PONCE DE LEON             SUITE 201                                                              SAN JUAN     PR      00917‐1205
ELITE CLEANING SERVICES INC               252 PONCE DE LEON AVE                 SUITE 301                                                              SAN JUAN     PR      00918
ELITE INSURANCE SERVICES INC              1608 CALLE BORI STE 306                                                                                      SAN JUAN     PR      00927‐6146
ELITE REAL ESTATE SALES                   25 ROBLE VALLEY STREET                                                                                       HUMACAO      PR      00791
ELITE SECURITY GROUP INC                  PO BOX 20974                                                                                                 SAN JUAN     PR      00928
ELITE SERIES GROUP INC                    URB RIO PIEDRAS HEIGHTS               1631 CALLE TIGRIS                                                      SAN JUAN     PR      00926
ELITE VERTICAL SUPPLY                     URB VILLA CAROLINA                    AVE ROBERTO CLEMENTE                      BLOQ 123 NÚM 24              CAROLINA     PR      00985
ELITEBCO LLC                              161 AVE PONCE DE LEON STE 201                                                                                SAN JUAN     PR      00917
ELITEBCO LLC                              161 AVENIDA PONCE DE LEON SUITE 201                                                                          SAN JUAN     PR      00917‐1205
ELITHET SILVA MARTINEZ                    ADDRESS ON FILE
ELIU A DAVILA PIZARRO                     ADDRESS ON FILE
ELIU ECHEVARRIA DIAZ                      ADDRESS ON FILE
ELIU IRIZARRY NEGRON                      ADDRESS ON FILE
ELIU ORTIZ ROSARIO                        ADDRESS ON FILE
ELIU ORTIZ ROSARIO                        ADDRESS ON FILE
ELIU PARRILLA SANCHEZ                     ADDRESS ON FILE
ELIUBERTO TORRES CRUZ                     ADDRESS ON FILE
ELIUD A DEL TORO RIVERA                   ADDRESS ON FILE
ELIUD ALVAREZ LOPEZ                       ADDRESS ON FILE
ELIUD BALLESTER Y LUZ M JIMENEZ           ADDRESS ON FILE
ELIUD BARRETO FERNANDEZ                   ADDRESS ON FILE
ELIUD BERRIOS RIOS                        ADDRESS ON FILE
ELIUD BERRIOS Y ANGELA FONTANEZ           ADDRESS ON FILE
ELIUD DE JESUS SANTANA                    ADDRESS ON FILE
ELIUD DEL TORO RIVERA                     ADDRESS ON FILE
ELIUD GERENA LOPEZ                        ADDRESS ON FILE
ELIUD GOMEZ CRUZ                          ADDRESS ON FILE
ELIUD JUARBE CRUZ DBA EJC CONSULTORES &   ASOCIADOS                             PMB 1089                                  243 CALLE PARIS              SAN JUAN     PR      00917‐3632
ELIUD JUARBE DBA EJC CONSULTORES &        ASOCIADOS                             JARD BAYAMONTE 30 C/ PELICANO                                          BAYAMON      PR      00956
ELIUD LOPEZ MARTINEZ                      ADDRESS ON FILE




                                                                                                           Page 2535 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2536 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                                Address1                       Address2                                    Address3   Address4   City         State   PostalCode   Country
ELIUD M. DIAZ GONZALEZ                       ADDRESS ON FILE
ELIUD MARRERO MORALES                        ADDRESS ON FILE
ELIUD MARRERO MORALES                        ADDRESS ON FILE
ELIUD MASSAS BONILLA                         ADDRESS ON FILE
ELIUD MOYA DIAZ                              ADDRESS ON FILE
ELIUD MUNIZ RAMOS                            ADDRESS ON FILE
Eliud Ramos Nieves                           ADDRESS ON FILE
ELIUD RIVERA ROSA                            ADDRESS ON FILE
ELIUD RIVERA ZAMBRANA                        ADDRESS ON FILE
ELIUD RODRÍGUEZ FIGUEROA                     LCDO. ANGEL JUARBE DE JESÚS    PO BOX 1907                                                       UTUADO       PR      00641
ELIUD ROMAN MARRERO                          ADDRESS ON FILE
ELIUD ROMERO BALBUENA                        ADDRESS ON FILE
ELIUD RUBIO RODRIGUEZ                        ADDRESS ON FILE
ELIUD S MENDEZ BONILLA                       ADDRESS ON FILE
ELIUD SALDANA RIVERA                         ADDRESS ON FILE
ELIUD SANCHEZ RODRIGUEZ                      ADDRESS ON FILE
ELIUD SOTO ALCAZAR                           ADDRESS ON FILE
ELIUD SOTO SALAZAR                           ADDRESS ON FILE
ELIUS ROBLES BENITEZ                         ADDRESS ON FILE
ELIUT BERRIOS GARCIA                         ADDRESS ON FILE
ELIUT BESARES ROSADO V AC                    LCDA. RHAYSA HORTA FELICIANO   PO BOX 7992                                                       PONCE        PR      00732‐7992
ELIUT CONSTRUCTION                           P O BOX 1588                                                                                     OROCOVIS     PR      00720
ELIUT FIGUEROA GONZALEZ                      ADDRESS ON FILE
ELIUT FIGUEROA GONZALEZ                      ADDRESS ON FILE
ELIUT ORTIZ MALDONADO                        ADDRESS ON FILE
ELIUT REYES MUNOZ                            ADDRESS ON FILE
ELIUT ROBLES REYES                           ADDRESS ON FILE
ELIUT ROSA HERNANDEZ                         ADDRESS ON FILE
ELIUT SOTO RODRIGUEZ                         ADDRESS ON FILE
ELIX A MELENDEZ SANTIAGO                     ADDRESS ON FILE
ELIX AROCHO NUNEZ                            ADDRESS ON FILE
ELIX M AYALA NIEVES                          ADDRESS ON FILE
ELIXMARIE CALIZ DAVILA                       ADDRESS ON FILE
ELIZ I TORRES QUINONEZ                       ADDRESS ON FILE
ELIZ M LOPEZ / LUIS A SILVA                  ADDRESS ON FILE
ELIZ Y MARTINEZ BELLBER                      ADDRESS ON FILE
ELIZA BAEZ, JUAN                             ADDRESS ON FILE
Eliza Baez, Juan A.                          ADDRESS ON FILE
ELIZA BURGOS MARTINEZ                        ADDRESS ON FILE
ELIZA BURGOS, JUAN                           ADDRESS ON FILE
ELIZA CEDENO, DAISY I                        ADDRESS ON FILE
ELIZA COLON, LOURDES                         ADDRESS ON FILE
ELIZA COLON, MARIA NELLY                     ADDRESS ON FILE
ELIZA COLON, NYDIA M                         ADDRESS ON FILE
ELIZA GONZALEZ FERNANDEZ                     ADDRESS ON FILE
ELIZA HERNANDEZ, JUAN                        ADDRESS ON FILE
ELIZA J. LOPEZ NUNEZ                         ADDRESS ON FILE
ELIZA MARQUEZ, LUIS                          ADDRESS ON FILE
ELIZA MORALES, RAMONITA E                    ADDRESS ON FILE
ELIZA ORTIZ RIVERA                           ADDRESS ON FILE
ELIZA ORTIZ, CARMEN I                        ADDRESS ON FILE
ELIZA ORTIZ, INEABEL                         ADDRESS ON FILE
ELIZA QUILES SANTIAGO                        ADDRESS ON FILE
ELIZA RAMOS, LUZ T                           ADDRESS ON FILE
ELIZA RAMOS, OLGA H                          ADDRESS ON FILE
ELIZA RIOS VARGAS V LOTERIA DE PR , DEPT DE HVICTOR RIVERA TORRES           1502 AVE. FERNANDEZ JUNCOS                                        SAN JUAN     PR      00909
ELIZA RIVERA, ANGEL                          ADDRESS ON FILE
ELIZA RIVERA, JOEL M                         ADDRESS ON FILE
ELIZA RIVERA, MIGUEL A.                      ADDRESS ON FILE
ELIZA RODRIGUEZ, ANDREA                      ADDRESS ON FILE




                                                                                                         Page 2536 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2537 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELIZA SANCHEZ, AURIE             ADDRESS ON FILE
ELIZA SANCHEZ, GLENDALIZ         ADDRESS ON FILE
ELIZA, JULIA L                   ADDRESS ON FILE
ELIZABETH A DALLMAYR VAZQUEZ     ADDRESS ON FILE
ELIZABETH ABELA FARDONK          ADDRESS ON FILE
ELIZABETH ABELLA FARDONK         ADDRESS ON FILE
ELIZABETH ABRIL GRAJALES         ADDRESS ON FILE
ELIZABETH ACEVEDO VARGAS         ADDRESS ON FILE
ELIZABETH ACOSTA VEGA            ADDRESS ON FILE
ELIZABETH ALERS                  ADDRESS ON FILE
ELIZABETH ALICEA                 ADDRESS ON FILE
ELIZABETH ALICEA CRESPO          ADDRESS ON FILE
ELIZABETH ALMESTICA LOPEZ        ADDRESS ON FILE
ELIZABETH ALMODOVAR FIGUEROA     ADDRESS ON FILE
ELIZABETH ALVARADO RIVERA        ADDRESS ON FILE
ELIZABETH ANDINO REYES           ADDRESS ON FILE
ELIZABETH ANDINO VAZQUEZ         ADDRESS ON FILE
ELIZABETH ANDINO VAZQUEZ         ADDRESS ON FILE
ELIZABETH ANDUJAR ROSADO         ADDRESS ON FILE
ELIZABETH APONT MOJCA            ADDRESS ON FILE
ELIZABETH APONTE                 ADDRESS ON FILE
ELIZABETH APONTE AYALA           ADDRESS ON FILE
ELIZABETH ARBELO RODRIGUEZ       ADDRESS ON FILE
ELIZABETH ARCE COLON             ADDRESS ON FILE
ELIZABETH ARCHILLA RIVERA        ADDRESS ON FILE
ELIZABETH ARRIAGA SANCHEZ        ADDRESS ON FILE
ELIZABETH ARROBA BELMONTE        ADDRESS ON FILE
ELIZABETH AVILES MARTINEZ        ADDRESS ON FILE
ELIZABETH AVILES ROSARIO         ADDRESS ON FILE
ELIZABETH AYALA DURAN            ADDRESS ON FILE
ELIZABETH AYALA MARTINEZ         ADDRESS ON FILE
ELIZABETH BADILLO RIVERA         ADDRESS ON FILE
ELIZABETH BAEZ                   ADDRESS ON FILE
ELIZABETH BAEZ MARRERO           ADDRESS ON FILE
ELIZABETH BAEZ VEGA              ADDRESS ON FILE
ELIZABETH BARBOSA RODRIGUEZ      ADDRESS ON FILE
ELIZABETH BAUZO CARABALLO Y/O    ADDRESS ON FILE
ELIZABETH BETANCOURT HERNANDEZ   ADDRESS ON FILE
ELIZABETH BONET ROJAS            ADDRESS ON FILE
ELIZABETH BONILLA RODRIGUEZ      ADDRESS ON FILE
ELIZABETH BRAILOWSKY CABRERA     ADDRESS ON FILE
ELIZABETH BRAILOWSKY CABRERA     ADDRESS ON FILE
ELIZABETH BURGOS GUTIERREZ       ADDRESS ON FILE
ELIZABETH BURGOS GUTIERREZ       ADDRESS ON FILE
ELIZABETH BUSIGO CUEBAS          ADDRESS ON FILE
ELIZABETH CABAN MANSON           ADDRESS ON FILE
ELIZABETH CABAN TELLEZ           ADDRESS ON FILE
ELIZABETH CABAN TELLEZ           ADDRESS ON FILE
ELIZABETH CABRERA GONZALEZ       ADDRESS ON FILE
ELIZABETH CAMACHO ACOSTA         ADDRESS ON FILE
ELIZABETH CAMERON IRIZARRY       ADDRESS ON FILE
ELIZABETH CAMILO LOPEZ           ADDRESS ON FILE
ELIZABETH CANCEL RIVERA          ADDRESS ON FILE
ELIZABETH CANDELARIO HERNANDEZ   ADDRESS ON FILE
ELIZABETH CARABALLO MASS         ADDRESS ON FILE
ELIZABETH CARRERO SANTIAGO       ADDRESS ON FILE
ELIZABETH CARRERO SOTO           ADDRESS ON FILE
ELIZABETH CARRION DEL RIO        ADDRESS ON FILE
ELIZABETH CASADO IRIZARRY        ADDRESS ON FILE
ELIZABETH CASILLAS VICENTE       ADDRESS ON FILE




                                                                             Page 2537 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2538 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                             Address1                             Address2                                       Address3   Address4   City         State   PostalCode   Country
ELIZABETH CASTILLO ARTIQUEZ               ADDRESS ON FILE
ELIZABETH CASTILLO RIVERA                 ADDRESS ON FILE
ELIZABETH CASTRO ALGARIN                  ADDRESS ON FILE
ELIZABETH CASTRO REMIGIO                  ADDRESS ON FILE
ELIZABETH CASTRO SANTIAGO                 ADDRESS ON FILE
ELIZABETH CASTRO VEGA                     ADDRESS ON FILE
ELIZABETH CENDOYA DE FERIA                ADDRESS ON FILE
ELIZABETH CENTENO COLON                   ADDRESS ON FILE
ELIZABETH CENTENO TORRES                  ADDRESS ON FILE
ELIZABETH CHARLES CLAUDIO                 ADDRESS ON FILE
ELIZABETH CINTRON LOPEZ                   ADDRESS ON FILE
ELIZABETH CINTRON PEREZ                   ADDRESS ON FILE
ELIZABETH CINTRON RIVERA                  ADDRESS ON FILE
ELIZABETH CINTRON VAZQUEZ                 ADDRESS ON FILE
ELIZABETH COLLADO MONTALVO                ADDRESS ON FILE
ELIZABETH COLLADO MONTALVO                ADDRESS ON FILE
ELIZABETH COLLADO MONTALVO                ADDRESS ON FILE
ELIZABETH COLLAZO COLON                   ADDRESS ON FILE
ELIZABETH COLLAZO SAEZ                    ADDRESS ON FILE
ELIZABETH COLON                           ADDRESS ON FILE
ELIZABETH COLON COLON                     LCDO. ALEX M. LÓPEZ PÉREZ            2250 Boulevard Luis A. Ferre Aguayo Ste. 525                         Ponce        PR      00717‐9997
ELIZABETH COLON COLON                     LCDO. ANTONIO J. BENNAZAR ZEQUEIRA   PO Box 19400 Ste. 212                                                SAN JUAN     PR      00919‐4000
ELIZABETH COLON DELGADO                   ADDRESS ON FILE
ELIZABETH COLON MARRERO                   ADDRESS ON FILE
ELIZABETH COLON MARRERO                   ADDRESS ON FILE
ELIZABETH COLON PARA AGNEL A GUZMAN       ADDRESS ON FILE
ELIZABETH COLON PARA JORGE A GUZMAN       ADDRESS ON FILE
ELIZABETH COLON PARA LIADYSVETT ACEVEDO   ADDRESS ON FILE
ELIZABETH COLON PEREZ                     ADDRESS ON FILE
ELIZABETH CONTRERAS ALVARADO              ADDRESS ON FILE
ELIZABETH CORDOVA                         ADDRESS ON FILE
ELIZABETH CORREA GONZALEZ                 ADDRESS ON FILE
ELIZABETH CORTES MILLIAM                  ADDRESS ON FILE
ELIZABETH COSME                           ADDRESS ON FILE
ELIZABETH COSS MARTINEZ                   ADDRESS ON FILE
ELIZABETH COTTO RIVERA                    ADDRESS ON FILE
ELIZABETH CRUZ BRACERO                    ADDRESS ON FILE
ELIZABETH CRUZ CRUZ                       ADDRESS ON FILE
ELIZABETH CRUZ FIGUEROA                   ADDRESS ON FILE
ELIZABETH CRUZ FIGUEROA                   ADDRESS ON FILE
ELIZABETH CRUZ GARCIA                     ADDRESS ON FILE
ELIZABETH CRUZ GONZALEZ                   ADDRESS ON FILE
ELIZABETH CRUZ RIGUEROA                   ADDRESS ON FILE
ELIZABETH CRUZ RIVERA                     ADDRESS ON FILE
ELIZABETH CUBERO SANTIAGO                 ADDRESS ON FILE
ELIZABETH DAVILA CASTRO                   ADDRESS ON FILE
Elizabeth de Jesus                        ADDRESS ON FILE
ELIZABETH DE JESUS COLON                  ADDRESS ON FILE
ELIZABETH DE JESUS DIAZ                   ADDRESS ON FILE
ELIZABETH DE JESUS MARTINEZ               ADDRESS ON FILE
ELIZABETH DE JESUS RAMOS                  ADDRESS ON FILE
ELIZABETH DE JESUS RIVERA                 ADDRESS ON FILE
Elizabeth de Jesus Viuda                  ADDRESS ON FILE
ELIZABETH DE MATTA MARRERO                ADDRESS ON FILE
ELIZABETH DEL RIO DEL RIO                 ADDRESS ON FILE
ELIZABETH DEL VALLE                       ADDRESS ON FILE
ELIZABETH DELGADO DELGADO                 ADDRESS ON FILE
ELIZABETH DELGADO LOPEZ                   ADDRESS ON FILE
ELIZABETH DELGADO MARQUEZ                 ADDRESS ON FILE
ELIZABETH DELGADO MORALES                 ADDRESS ON FILE




                                                                                                              Page 2538 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2539 of 3500
                                                                               17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                   Address1                         Address2                                    Address3   Address4   City         State   PostalCode   Country
ELIZABETH DIAZ                  ADDRESS ON FILE
ELIZABETH DIAZ GONZALEZ         ADDRESS ON FILE
ELIZABETH DIAZ MALDONADO        ADDRESS ON FILE
ELIZABETH DIAZ SALGADO          ADDRESS ON FILE
ELIZABETH DURAN PILARTE         ADDRESS ON FILE
ELIZABETH ECHEVARRIA ORTIZ      ADDRESS ON FILE
ELIZABETH ELIAS MENDEZ          ADDRESS ON FILE
ELIZABETH ESCALANTE RIVERA      ADDRESS ON FILE
ELIZABETH F APONTE RODRIGUEZ    ADDRESS ON FILE
ELIZABETH F PADIN HERNANDEZ     ADDRESS ON FILE
ELIZABETH FELICIANO RUIZ        ADDRESS ON FILE
ELIZABETH FERNANDEZ SANCHEZ     ADDRESS ON FILE
ELIZABETH FIGUEROA              ADDRESS ON FILE
ELIZABETH FIGUEROA DIEPPA       ADDRESS ON FILE
ELIZABETH FIGUEROA GONZALEZ     ADDRESS ON FILE
ELIZABETH FIGUEROA SANTIAGO     ADDRESS ON FILE
ELIZABETH FLORES MORALES        ADDRESS ON FILE
ELIZABETH FLORES RODRIGUEZ      ADDRESS ON FILE
ELIZABETH FORERO TABARES        ADDRESS ON FILE
ELIZABETH FORTUNO TORRES        ADDRESS ON FILE
ELIZABETH FRED RODRIGUEZ        ADDRESS ON FILE
ELIZABETH GARCIA                ADDRESS ON FILE
ELIZABETH GARCIA ADORNO         ADDRESS ON FILE
ELIZABETH GARCIA AYALA          ADDRESS ON FILE
ELIZABETH GARCIA CARRASQUILLO   ADDRESS ON FILE
ELIZABETH GARCIA DE JESUS       ADDRESS ON FILE
ELIZABETH GARCIA MORALES        ADDRESS ON FILE
ELIZABETH GARCIA MUNOZ          ADDRESS ON FILE
ELIZABETH GARCIA MUNOZ          ADDRESS ON FILE
ELIZABETH GARRIGA GALARZA       ADDRESS ON FILE
ELIZABETH GARRIGA GALARZA       ADDRESS ON FILE
ELIZABETH GERENA VELAZQUEZ      ADDRESS ON FILE
ELIZABETH GILLILAND ORTIZ       ADDRESS ON FILE
ELIZABETH GOMEZ FERNANDEZ       ADDRESS ON FILE
ELIZABETH GOMEZ NIEVES          ADDRESS ON FILE
ELIZABETH GONZALEZ              ADDRESS ON FILE
ELIZABETH GONZALEZ CORREA       ADDRESS ON FILE
ELIZABETH GONZALEZ GARCIA       ADDRESS ON FILE
ELIZABETH GONZALEZ MERCADO      ADDRESS ON FILE
ELIZABETH GONZALEZ MONTANEZ     ADDRESS ON FILE
ELIZABETH GONZALEZ MORALES      ADDRESS ON FILE
ELIZABETH GONZALEZ RIVERA       ADDRESS ON FILE
ELIZABETH GONZALEZ SANTIAGO     ADDRESS ON FILE
ELIZABETH GRACIA MORALES        ADDRESS ON FILE
ELIZABETH GRACIA MORALES        ADDRESS ON FILE
ELIZABETH GRIFFIN HARTMAN       ADDRESS ON FILE
ELIZABETH GUADALUPE DE VERA     ADDRESS ON FILE
ELIZABETH GUERRERO              ADDRESS ON FILE
ELIZABETH GUZMAN RODRIGUEZ      ADDRESS ON FILE
ELIZABETH H BAKER               ADDRESS ON FILE
ELIZABETH H PEREZ CHIQUES       ADDRESS ON FILE
ELIZABETH HANCE RODRIGUEZ       GILBERTO E. PADUA TRABAL         1111 AVE. JESUS T. PIÑERO                                         SAN JUAN     PR      00920‐5605
ELIZABETH HERNANDEZ AQUINO      ADDRESS ON FILE
ELIZABETH HERNANDEZ DIEPPA      ADDRESS ON FILE
ELIZABETH HERNANDEZ IRIZARRY    ADDRESS ON FILE
ELIZABETH HERNANDEZ LOZADA      ADDRESS ON FILE
ELIZABETH HERNANDEZ NIEVES      ADDRESS ON FILE
ELIZABETH HERNÁNDEZ NIEVES      LCDO. EFRAIN DIAZ CARRASQUILLO   URB. VISTA ALEGRE 1705 PASEO LAS COLONIAS                         PONCE        PR      00717‐2234
ELIZABETH HERNANDEZ ROSARIO     ADDRESS ON FILE
ELIZABETH IRIZARRY LOEPZ        ADDRESS ON FILE




                                                                                             Page 2539 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2540 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                             Address1                    Address2                                  Address3   Address4   City         State   PostalCode   Country
ELIZABETH IRIZARRY ROMERO                 ADDRESS ON FILE
ELIZABETH J. IGLESIAS FULBRIGHT           ADDRESS ON FILE
ELIZABETH JIMENEZ ORTIZ                   ADDRESS ON FILE
ELIZABETH JOHANNA DURAN IRRIZARRY         ADDRESS ON FILE
ELIZABETH JUSINO RODRIGUEZ                ADDRESS ON FILE
ELIZABETH KAUFMAN RODRIGUEZ               ADDRESS ON FILE
ELIZABETH L MALDONADO RAMOS               ADDRESS ON FILE
ELIZABETH LEDEE TORRES                    ADDRESS ON FILE
ELIZABETH LESPIER DE JESUS                ADDRESS ON FILE
ELIZABETH LLERA GUZMAN                    ADDRESS ON FILE
ELIZABETH LOPEZ CARDONA                   ADDRESS ON FILE
ELIZABETH LOPEZ CARDONA                   ADDRESS ON FILE
ELIZABETH LOPEZ PEREZ                     ADDRESS ON FILE
ELIZABETH LOPEZ RIVERA                    ADDRESS ON FILE
ELIZABETH LOPEZ RODRIGUEZ                 ADDRESS ON FILE
ELIZABETH LOPEZ RUIZ                      ADDRESS ON FILE
ELIZABETH LUGO GARCIA                     ADDRESS ON FILE
ELIZABETH LUGO MORALES                    ADDRESS ON FILE
ELIZABETH M BERRIOS NUNEZ                 ADDRESS ON FILE
ELIZABETH M CUPELES MATOS                 ADDRESS ON FILE
ELIZABETH M GARCIA FUENTES                ADDRESS ON FILE
ELIZABETH M GONZALEZ ORELLANAS            ADDRESS ON FILE
ELIZABETH M IRIZARRY ORTIZ                ADDRESS ON FILE
ELIZABETH M LOPEZ MERCADO                 ADDRESS ON FILE
ELIZABETH M MALDONADO ORTIZ               ADDRESS ON FILE
ELIZABETH M MENDEZ PEREZ                  ADDRESS ON FILE
ELIZABETH M NEGRON OCASIO                 ADDRESS ON FILE
ELIZABETH MALDONADFO SOTO                 ADDRESS ON FILE
ELIZABETH MALDONADO                       ADDRESS ON FILE
ELIZABETH MALDONADO CASTRO                ADDRESS ON FILE
ELIZABETH MALDONADO CASTRO                ADDRESS ON FILE
ELIZABETH MALDONADO CRUZ                  ADDRESS ON FILE
ELIZABETH MALDONADO PONS                  ADDRESS ON FILE
ELIZABETH MALDONADO PONS                  ADDRESS ON FILE
ELIZABETH MALDONADO RIVERA                ADDRESS ON FILE
ELIZABETH MALDONADO RIVERA                ADDRESS ON FILE
ELIZABETH MALDONADO RODRIGUEZ             ADDRESS ON FILE
ELIZABETH MANOSALVAS COLON                ADDRESS ON FILE
ELIZABETH MARCANO BETANCOURT              LCDO. MIGUEL OLMEDO OTERO   PMB 914 AVE. WINSTON CHURCHILL # 138                            SAN JUAN     PR      00926‐6013
ELIZABETH MARIANI DE JESUS                ADDRESS ON FILE
ELIZABETH MARQUEZ                         ADDRESS ON FILE
ELIZABETH MARQUEZ BURGOS                  ADDRESS ON FILE
ELIZABETH MARRERO / TRANSPORTACION LILY   PO BOX 1805                                                                                 CIALES       PR      00638
ELIZABETH MARRERO BERRIOS                 ADDRESS ON FILE
ELIZABETH MARRERO DBA TRANSP ESC LILY     PO BOX 1805                                                                                 CIALES       PR      00638‐1805
ELIZABETH MARRERO DBA TRANSP ESC LILY     PO BOX 615                                                                                  CIALES       PR      00638
ELIZABETH MARTI TORRES                    ADDRESS ON FILE
ELIZABETH MARTINEZ ALEJANDRO              ADDRESS ON FILE
ELIZABETH MARTINEZ GARCIA                 ADDRESS ON FILE
ELIZABETH MARTINEZ GARCIA                 ADDRESS ON FILE
ELIZABETH MARTINEZ GONZALEZ               ADDRESS ON FILE
ELIZABETH MARTINEZ LUGO                   ADDRESS ON FILE
ELIZABETH MARTINEZ RESTO                  ADDRESS ON FILE
ELIZABETH MARTINEZ RODRGUEZ               ADDRESS ON FILE
ELIZABETH MARTINEZ RUIZ                   ADDRESS ON FILE
ELIZABETH MATIAS DIAZ / RUTH DIAZ MAYOL   ADDRESS ON FILE
ELIZABETH MATIAS RAMOS                    ADDRESS ON FILE
ELIZABETH MATIAS RAMOS                    ADDRESS ON FILE
ELIZABETH MATIAS ROMAN                    ADDRESS ON FILE
ELIZABETH MATOS MAYO                      ADDRESS ON FILE




                                                                                                 Page 2540 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2541 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELIZABETH MCGUSTY                         ADDRESS ON FILE
ELIZABETH MEJILL NEGRON                   ADDRESS ON FILE
ELIZABETH MELENDEZ MARTINEZ               ADDRESS ON FILE
ELIZABETH MELENDEZ SANTIAGO               ADDRESS ON FILE
ELIZABETH MELENDEZ SOTOMAYOR              ADDRESS ON FILE
ELIZABETH MENDEZ                          ADDRESS ON FILE
ELIZABETH MENDEZ RODRIGUEZ                ADDRESS ON FILE
ELIZABETH MERCADO COLLADO                 ADDRESS ON FILE
ELIZABETH MERCADO MACEIRA                 ADDRESS ON FILE
ELIZABETH MERCADO NAZARIO                 ADDRESS ON FILE
ELIZABETH MILTON RODRIGUEZ                ADDRESS ON FILE
ELIZABETH MIRANDA BAEZ                    ADDRESS ON FILE
Elizabeth Montalvo Montalvo               ADDRESS ON FILE
ELIZABETH MONTES PERALES                  ADDRESS ON FILE
ELIZABETH MONTES PERALES                  ADDRESS ON FILE
ELIZABETH MONTIGO VALENTIN                ADDRESS ON FILE
ELIZABETH MORA PEREIRA                    ADDRESS ON FILE
ELIZABETH MORALES DE JESUS                ADDRESS ON FILE
ELIZABETH MORALES DONES                   ADDRESS ON FILE
ELIZABETH MORALES SANTIAGO                ADDRESS ON FILE
ELIZABETH MORALES Y ELIZABETH M MIRANDA   ADDRESS ON FILE
ELIZABETH MORAN ROSARIO                   ADDRESS ON FILE
ELIZABETH MUNIZ                           ADDRESS ON FILE
ELIZABETH MUNIZ TORRES                    ADDRESS ON FILE
ELIZABETH MUNOZ MATOS                     ADDRESS ON FILE
ELIZABETH MUNOZ MUNOZ                     ADDRESS ON FILE
ELIZABETH MUNOZ PEREZ                     ADDRESS ON FILE
ELIZABETH NAZARIO FELICIANO               ADDRESS ON FILE
ELIZABETH NEGRON MARTINEZ                 ADDRESS ON FILE
ELIZABETH NEGRON MARTINEZ                 ADDRESS ON FILE
ELIZABETH NEGRON ROSADO                   ADDRESS ON FILE
ELIZABETH NIEVES COLON                    ADDRESS ON FILE
ELIZABETH NIEVES COLON                    ADDRESS ON FILE
ELIZABETH NIEVES HERNANDEZ                ADDRESS ON FILE
ELIZABETH NIEVES OJEDA                    ADDRESS ON FILE
ELIZABETH NIEVES QUILES                   ADDRESS ON FILE
ELIZABETH NOA VAZQUEZ                     ADDRESS ON FILE
ELIZABETH NOVALES ORTIZ                   ADDRESS ON FILE
ELIZABETH NUNEZ ORTIZ                     ADDRESS ON FILE
ELIZABETH NUNEZ ZAYAS                     ADDRESS ON FILE
ELIZABETH OCASIO HERNANDEZ                ADDRESS ON FILE
ELIZABETH OLIVERAS LOPEZ                  ADDRESS ON FILE
ELIZABETH ORTIZ ALVARADO                  ADDRESS ON FILE
ELIZABETH ORTIZ COLON                     ADDRESS ON FILE
ELIZABETH ORTIZ JIMENEZ                   ADDRESS ON FILE
ELIZABETH ORTIZ MALDONADO                 ADDRESS ON FILE
ELIZABETH ORTIZ ORTIZ                     ADDRESS ON FILE
ELIZABETH ORTIZ ORTIZ                     ADDRESS ON FILE
ELIZABETH ORTIZ RIVERA                    ADDRESS ON FILE
ELIZABETH ORTIZ RODRIGUEZ                 ADDRESS ON FILE
ELIZABETH ORTIZ SERRANO                   ADDRESS ON FILE
ELIZABETH ORTIZ SIERRA                    ADDRESS ON FILE
ELIZABETH ORTIZ TORRES                    ADDRESS ON FILE
ELIZABETH OTERO MARTINEZ                  ADDRESS ON FILE
ELIZABETH OTERO NAZARIO                   ADDRESS ON FILE
ELIZABETH OTERO VELEZ                     ADDRESS ON FILE
ELIZABETH PABON AGUDO                     ADDRESS ON FILE
ELIZABETH PAGAN FELICIANO                 ADDRESS ON FILE
ELIZABETH PAGAN RIVERA                    ADDRESS ON FILE
ELIZABETH PAGAN RODRIGUEZ                 ADDRESS ON FILE




                                                                                      Page 2541 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2542 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELIZABETH PAGAN VAZQUEZ        ADDRESS ON FILE
ELIZABETH PAGAN VAZQUEZ        ADDRESS ON FILE
ELIZABETH PAREDES ALCEQUIEZ    ADDRESS ON FILE
ELIZABETH PAULINO PENA         ADDRESS ON FILE
ELIZABETH PEDRAZA CABAN        ADDRESS ON FILE
ELIZABETH PEDROGO NUðEZ        ADDRESS ON FILE
ELIZABETH PEDROGO NUNEZ        ADDRESS ON FILE
ELIZABETH PEDROGO NUNEZ        ADDRESS ON FILE
ELIZABETH PENA NIEVES          ADDRESS ON FILE
ELIZABETH PEREZ                ADDRESS ON FILE
ELIZABETH PEREZ BELLIDO        ADDRESS ON FILE
ELIZABETH PEREZ CARRASCO       ADDRESS ON FILE
ELIZABETH PEREZ FLORES         ADDRESS ON FILE
ELIZABETH PEREZ HERNANDEZ      ADDRESS ON FILE
ELIZABETH PEREZ MATOS          ADDRESS ON FILE
ELIZABETH PEREZ OQUENDO        ADDRESS ON FILE
ELIZABETH PEREZ PEREZ          ADDRESS ON FILE
ELIZABETH PEREZ PEREZ          ADDRESS ON FILE
ELIZABETH PEREZ ROMAN          ADDRESS ON FILE
ELIZABETH PINEIRO RIVERA       ADDRESS ON FILE
ELIZABETH PITINO ACEVEDO       ADDRESS ON FILE
ELIZABETH PITRE                ADDRESS ON FILE
ELIZABETH PIZARRO CINTRON      ADDRESS ON FILE
ELIZABETH POMALES NAVARRO      ADDRESS ON FILE
ELIZABETH PONCE ORTIZ          ADDRESS ON FILE
ELIZABETH PONCE ORTIZ          ADDRESS ON FILE
ELIZABETH POULLET GONZALEZ     ADDRESS ON FILE
ELIZABETH QUILES ESTRADA       ADDRESS ON FILE
ELIZABETH QUINONES LUGO        ADDRESS ON FILE
ELIZABETH QUINONES MARTINES    ADDRESS ON FILE
ELIZABETH QUINONES RODRIGUEZ   ADDRESS ON FILE
ELIZABETH QUINONEZ             ADDRESS ON FILE
ELIZABETH QUINONEZ SUAREZ      ADDRESS ON FILE
ELIZABETH QUINONEZ SUAREZ      ADDRESS ON FILE
ELIZABETH QUINONEZ TORRES      ADDRESS ON FILE
ELIZABETH RAMOS IRIZARRY       ADDRESS ON FILE
ELIZABETH RETAMAR PEREZ        ADDRESS ON FILE
ELIZABETH REYES ALAMEDA        ADDRESS ON FILE
ELIZABETH REYES HERNANDEZ      ADDRESS ON FILE
ELIZABETH REYES MERCED         ADDRESS ON FILE
ELIZABETH REYES MERCED         ADDRESS ON FILE
ELIZABETH RIBOT PEREZ          ADDRESS ON FILE
ELIZABETH RIOS                 ADDRESS ON FILE
ELIZABETH RIOS                 ADDRESS ON FILE
ELIZABETH RIOS FEBO            ADDRESS ON FILE
ELIZABETH RIOS FORTUNA         ADDRESS ON FILE
ELIZABETH RIOS RAMIREZ         ADDRESS ON FILE
ELIZABETH RIOS RIVERA          ADDRESS ON FILE
ELIZABETH RIVERA               ADDRESS ON FILE
ELIZABETH RIVERA               ADDRESS ON FILE
ELIZABETH RIVERA               ADDRESS ON FILE
ELIZABETH RIVERA APONTE        ADDRESS ON FILE
ELIZABETH RIVERA MARIANI       ADDRESS ON FILE
ELIZABETH RIVERA MC GINN       ADDRESS ON FILE
ELIZABETH RIVERA MONTANEZ      ADDRESS ON FILE
ELIZABETH RIVERA MONTANEZ      ADDRESS ON FILE
ELIZABETH RIVERA OFRAY         ADDRESS ON FILE
ELIZABETH RIVERA ORTIZ         ADDRESS ON FILE
ELIZABETH RIVERA ROCCA         ADDRESS ON FILE
ELIZABETH RIVERA RODRIGUEZ     ADDRESS ON FILE




                                                                           Page 2542 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2543 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                         Address1                            Address2                    Address3   Address4   City        State   PostalCode   Country
ELIZABETH RIVERA RODRIGUEZ            ADDRESS ON FILE
ELIZABETH RIVERA ROSADO               ADDRESS ON FILE
ELIZABETH RODRIGUEZ                   ADDRESS ON FILE
ELIZABETH RODRIGUEZ CASTILLO          ADDRESS ON FILE
ELIZABETH RODRIGUEZ CASTRO            ADDRESS ON FILE
ELIZABETH RODRIGUEZ CORREA            ADDRESS ON FILE
ELIZABETH RODRIGUEZ DECLET            ADDRESS ON FILE
ELIZABETH RODRIGUEZ MANGUAL           ADDRESS ON FILE
ELIZABETH RODRIGUEZ MEDINA            ADDRESS ON FILE
ELIZABETH RODRIGUEZ MILLAN            ADDRESS ON FILE
ELIZABETH RODRIGUEZ NARVAEZ           ADDRESS ON FILE
ELIZABETH RODRIGUEZ RODRIGUEZ         ADDRESS ON FILE
ELIZABETH RODRIGUEZ TORRES            ADDRESS ON FILE
ELIZABETH ROMAN                       ADDRESS ON FILE
ELIZABETH ROMAN JUARBE                ADDRESS ON FILE
ELIZABETH ROMAN RODRIGUEZ             ADDRESS ON FILE
ELIZABETH ROMERO MELENDEZ             ADDRESS ON FILE
ELIZABETH ROQUE SANTANA               ADDRESS ON FILE
ELIZABETH ROSA TORRES                 ADDRESS ON FILE
ELIZABETH ROSA VELEZ                  ADDRESS ON FILE
ELIZABETH ROSA Y/O MARIELISA RONDON   ADDRESS ON FILE
ELIZABETH ROSADO CORTI                ADDRESS ON FILE
ELIZABETH ROSADO REYES                ADDRESS ON FILE
ELIZABETH ROSADO ROSA                 LCDO. JAIME B. GONZALEZ MALDONADO   PO BOX 777                                        ARECIBO     PR      00613
ELIZABETH ROSARIO DIAZ                ADDRESS ON FILE
ELIZABETH ROSARIO DIAZ                ADDRESS ON FILE
ELIZABETH ROSARIO GONZALEZ            ADDRESS ON FILE
ELIZABETH ROSARIO GONZALEZ            ADDRESS ON FILE
ELIZABETH ROSARIO RIVERA              ADDRESS ON FILE
ELIZABETH ROSARIO RIVERA              ADDRESS ON FILE
ELIZABETH ROSARIO RIVERA              ADDRESS ON FILE
ELIZABETH ROSARIO SANCHEZ             ADDRESS ON FILE
ELIZABETH RUBIO HERNANDEZ             ADDRESS ON FILE
ELIZABETH SAENZ SANCHEZ               ADDRESS ON FILE
ELIZABETH SAEZ ROSARIO                ADDRESS ON FILE
ELIZABETH SALGADO GUZMAN              ADDRESS ON FILE
ELIZABETH SANCHEZ TANCO               ADDRESS ON FILE
ELIZABETH SANCHEZ WILLIAMS            ADDRESS ON FILE
ELIZABETH SANCHEZ WILLIAMS            ADDRESS ON FILE
ELIZABETH SANTANA LOPEZ               ADDRESS ON FILE
ELIZABETH SANTIAGO FIGUEROA           ADDRESS ON FILE
ELIZABETH SANTIAGO FONTANET           ADDRESS ON FILE
ELIZABETH SANTIAGO HERNANDEZ          ADDRESS ON FILE
ELIZABETH SANTIAGO OJEDA              ADDRESS ON FILE
ELIZABETH SANTIAGO PELLOT             ADDRESS ON FILE
ELIZABETH SANTIAGO QUINONES           ADDRESS ON FILE
ELIZABETH SANTIAGO ROCHE              ADDRESS ON FILE
ELIZABETH SANTIAGO VALLADARES         ADDRESS ON FILE
ELIZABETH SEDA SEDA                   ADDRESS ON FILE
ELIZABETH SIERRA MAYA                 ADDRESS ON FILE
ELIZABETH SILVERIO LINARES            ADDRESS ON FILE
ELIZABETH SOLANA CALDERON             ADDRESS ON FILE
ELIZABETH SOLER VELAZQUEZ             ADDRESS ON FILE
ELIZABETH SOSA CORTES                 ADDRESS ON FILE
ELIZABETH SOTO CATALA                 CALLE AMONES 23 HATO TEJAS                                                            BAYAMON     PR      00959
ELIZABETH SOTO HERNANDEZ              ADDRESS ON FILE
ELIZABETH SOTO ORTEGA                 ADDRESS ON FILE
ELIZABETH SOTO RAMON                  ADDRESS ON FILE
ELIZABETH SOTO RAMOS                  ADDRESS ON FILE
ELIZABETH SOTO VEGA                   ADDRESS ON FILE




                                                                                       Page 2543 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2544 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                              Address1                                Address2                                 Address3    Address4              City           State   PostalCode   Country
ELIZABETH SUERO INOA                       ADDRESS ON FILE
ELIZABETH TAMAREZ HERNANDEZ                ADDRESS ON FILE
ELIZABETH TORRES / SAMUEL MALDONADO        ADDRESS ON FILE
ELIZABETH TORRES BURGOS                    ADDRESS ON FILE
ELIZABETH TORRES CRUZ                      ADDRESS ON FILE
ELIZABETH TORRES CRUZ                      ADDRESS ON FILE
ELIZABETH TORRES DAVILA                    ADDRESS ON FILE
ELIZABETH TORRES GONZALEZ                  ADDRESS ON FILE
ELIZABETH TORRES MALDONADO                 ADDRESS ON FILE
ELIZABETH TORRES MORENO                    ADDRESS ON FILE
ELIZABETH TORRES OSORIO                    ADDRESS ON FILE
ELIZABETH TORRES QUINONES                  ADDRESS ON FILE
ELIZABETH TORRES RIVERA                    ADDRESS ON FILE
ELIZABETH TORRES RIVERA                    ADDRESS ON FILE
ELIZABETH TORRES ROSADO                    ADDRESS ON FILE
ELIZABETH TORRES RUIZ                      ADDRESS ON FILE
ELIZABETH TORRES RUIZ                      ADDRESS ON FILE
ELIZABETH TOUSET SANTIAGO                  ADDRESS ON FILE
ELIZABETH TROCHE CORDERO                   ADDRESS ON FILE
ELIZABETH TROCHE RAMIREZ                   ADDRESS ON FILE
ELIZABETH TRUJILLO CLASS                   ADDRESS ON FILE
ELIZABETH VALDIVIESO MODESTO               ADDRESS ON FILE
ELIZABETH VALE ACEVEDO                     ADDRESS ON FILE
ELIZABETH VALENTIN CORTES                  ADDRESS ON FILE
ELIZABETH VARGAS                           ADDRESS ON FILE
ELIZABETH VARGAS CONTES                    ADDRESS ON FILE
ELIZABETH VARGAS ROJAS                     ADDRESS ON FILE
ELIZABETH VAZQUEZ CARABALLO                ADDRESS ON FILE
ELIZABETH VAZQUEZ RAMIREZ                  ADDRESS ON FILE
ELIZABETH VEGA COLON                       ADDRESS ON FILE
ELIZABETH VEGA MENDOZA                     ADDRESS ON FILE
ELIZABETH VEGA TORRES                      ADDRESS ON FILE
ELIZABETH VEGA VARGAS                      ADDRESS ON FILE
ELIZABETH VELAZQUEZ ORTIZ                  ADDRESS ON FILE
ELIZABETH VELEZ CARRERO                    ADDRESS ON FILE
ELIZABETH VILLAGRASA FLORES                ADDRESS ON FILE
ELIZABETH VINELLI ORMENO                   ADDRESS ON FILE
ELIZABETH VIZCARRONDO                      ADDRESS ON FILE
ELIZABETH Y CACERES                        ADDRESS ON FILE
ELIZABETH ZAMBRANA FIGUEROA                ADDRESS ON FILE
ELIZABETH ZAPATA SUAREZ                    ADDRESS ON FILE
ELIZABETH, COLON‐TIRADO                    ADDRESS ON FILE
ELIZABETH, PUELLO                          ADDRESS ON FILE
ELIZAIDA BALAGUER BALAGUER                 ADDRESS ON FILE
ELIZAIDA CONCEPCION MANTILLA               ADDRESS ON FILE
ELIZAIDA MEDINA HERNANDEZ                  ADDRESS ON FILE

ELIZAIDA RIVERA CARRASQUILLO               BUFETE ALDARONDO & LOPEZ BRAS:CLAUDIO AL ALDARONDO & LOPEZ BRAS                  ALB PLAZA   #16 CARR. 199 SUITE 400 GUAYNABO     PR      00969
ELIZAIDA VELEZ OLAN                        ADDRESS ON FILE
ELIZALDE CAMPOS, JOSE A                    ADDRESS ON FILE
ELIZALDE CAMPOS, MARIA F                   ADDRESS ON FILE
ELIZALDE SOSA, JOSE F.                     ADDRESS ON FILE
ELIZAMUEL ROSARIO VELEZ                    ADDRESS ON FILE
ELIZANDO MORALES, YOLANDA                  ADDRESS ON FILE
ELIZANDRA SANCHEZ ABREU                    ADDRESS ON FILE
ELIZANETTE SOTO COLLAZO                    ADDRESS ON FILE
ELIZARDO MARTINEZ                          ADDRESS ON FILE
ELIZAYDA DIAZ RIVERA                       ADDRESS ON FILE
ELIZER MUðOS DBA ELY S CATERING SERVICES   CALLE DISTRITO #29                                                                                                 PONCE          PR      00731
ELIZER MUðOS DBA ELY S CATERING SERVICES   SECT CLAUSELL                            29 CALLE DISTRITO                                                         PONCE          PR      00731




                                                                                                             Page 2544 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2545 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
ELIZER VELAZQUEZ SANCHEZ            ADDRESS ON FILE
ELIZO VARGAS, ALEXANDER             ADDRESS ON FILE
ELKA M RIOS CARRION                 ADDRESS ON FILE
ELKEEN JAREL TORRES AGRAMONTE       ADDRESS ON FILE
ELKET RODIGUEZ BIRRIEL              ADDRESS ON FILE
ELKIS CRUZ RODRIGUEZ                ADDRESS ON FILE
ELKIS S BERMUDEZ TORRES             ADDRESS ON FILE
ELLA J WOGER NIEVES                 ADDRESS ON FILE
ELLA LUCIANO FELICIANO              ADDRESS ON FILE
ELLA MIRANDA ROSARIO                ADDRESS ON FILE
ELLCO GROUP LLC                     PO BOX 334037                                                                    PONCE         PR      00733‐4037
ELLEN A SANTOS RIVERA               ADDRESS ON FILE
ELLEN E PRATT/ RENEWABLE SOLUTION   ENGINEERING INC           PO BOX 896                                             LAJAS         PR      00667
ELLEN I CARABALLO VELAZQUEZ         ADDRESS ON FILE
ELLEN MALARET OTERO                 ADDRESS ON FILE
ELLEN MARTINEZ DIODONET             ADDRESS ON FILE
ELLEN S HOWELL                      ADDRESS ON FILE
ELLERY M CARTAGENA FELICIANO        ADDRESS ON FILE
ELLERY M ROMAN                      ADDRESS ON FILE
ELLIE Y RODRIGUEZ RAMOS             ADDRESS ON FILE
ELLIN COLOMBANI, JUAN               ADDRESS ON FILE
ELLIN HERNANDEZ, RAUL               ADDRESS ON FILE
ELLIN MARTINEZ, ROXANNA             ADDRESS ON FILE
ELLIN RIVERA, CARMEN M.             ADDRESS ON FILE
ELLIN TIRADO, JUAN C                ADDRESS ON FILE
ELLIN VALENTIN, EDUVIGES            ADDRESS ON FILE
Ellio Rodríguez Santiago            ADDRESS ON FILE
ELLIONEXY LUGO KUILAN               ADDRESS ON FILE
ELLIOT A DAVIS                      ADDRESS ON FILE
ELLIOT A MARTINEZ QUINONES          ADDRESS ON FILE
ELLIOT A PEREZ GARDON               ADDRESS ON FILE
ELLIOT A SEGARRA MATOS              ADDRESS ON FILE
ELLIOT BELTRAN CRUZ                 ADDRESS ON FILE
ELLIOT CABRERA RAMOS                ADDRESS ON FILE
ELLIOT CALDERON MATOS               ADDRESS ON FILE
ELLIOT CASTANER DIAZ                ADDRESS ON FILE
ELLIOT CASTANER DIAZ                ADDRESS ON FILE
ELLIOT CLAUDIO DE LA CRUZ           ADDRESS ON FILE
Elliot de Jesus Huertas             ADDRESS ON FILE
ELLIOT DIAZ TORO                    ADDRESS ON FILE
ELLIOT E. DIAZ RIVERA               ADDRESS ON FILE
ELLIOT G GOMEZ CRESPO               ADDRESS ON FILE
ELLIOT G. CABAN ROBLES              ADDRESS ON FILE
ELLIOT GIRAU PINEIRO                ADDRESS ON FILE
ELLIOT GIRAU PINEIRO                ADDRESS ON FILE
ELLIOT GUZMAN BETANCOURT            ADDRESS ON FILE
ELLIOT HERNANDEZ DBA AROS DE        CONSTRUCION HERNANDEZ     PO BOX 2135                                            MOCA          PR      00676
ELLIOT HERNANDEZ MALDONADO          ADDRESS ON FILE
ELLIOT HOSPITAL                     2250 FOURTH AVE STE 105                                                          SAN DIEGO     CA      92101
ELLIOT I COLON RIVERA               ADDRESS ON FILE
ELLIOT J ACEVEDO SOTO               ADDRESS ON FILE
ELLIOT LOPEZ SEGARRA                ADDRESS ON FILE
ELLIOT MENDEZ SANTOS                ADDRESS ON FILE
ELLIOT NIEVES LOPEZ                 ADDRESS ON FILE
ELLIOT PERDOMA IRIZARRY             ADDRESS ON FILE
ELLIOT R RODRIGUEZ MERCADO          ADDRESS ON FILE
ELLIOT R RODRIGUEZ TORRES           ADDRESS ON FILE
ELLIOT RIVERA                       ADDRESS ON FILE
ELLIOT RODRIGUEZ GALIANO            ADDRESS ON FILE
ELLIOT S. HERNANDEZ ACOSTA          ADDRESS ON FILE




                                                                                Page 2545 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2546 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
ELLIOT SANCHEZ ISAAC                     ADDRESS ON FILE
ELLIOT SANTIAGO CONCEPCION               ADDRESS ON FILE
ELLIOT SANTIAGO OCASIO                   ADDRESS ON FILE
ELLIOTNELL VELEZ LATORRE                 ADDRESS ON FILE
ELLIOTT NUNEZ CRUZ                       ADDRESS ON FILE
ELLIOTT SOTO MARTINEZ                    ADDRESS ON FILE
ELLIP C CORP INC                         PO BOX 366006                                                                    SAN JUAN        PR      00936‐6006
ELLIP‐C CORP                             PO BOX 366006                                                                    SAN JUAN        PR      00936‐6006
ELLIS COLON, DORIS E                     ADDRESS ON FILE
ELLIS ECHEVERS, ELIECER                  ADDRESS ON FILE
ELLIS HOSPITAL                           1101 NOTT ST                                                                     SCHENECTADY     NY      12308
ELLIS J SANCHEZ MEDINA                   ADDRESS ON FILE
ELLIS LARACUENTE, ROBERTO G.             ADDRESS ON FILE
ELLIS MARTINEZ, GERARDO                  ADDRESS ON FILE
ELLIS MARTINEZ, GERARDO L.               ADDRESS ON FILE
ELLIS MARTINEZ, OLGA                     ADDRESS ON FILE
ELLIS SHUMACHER, BRETT R.                ADDRESS ON FILE
ELLIUD M PENA RIVERA                     ADDRESS ON FILE
ELLOIT ZUCKERMAN                         ADDRESS ON FILE
ELLSWORTH MONTALVAN, CARMEN G            ADDRESS ON FILE
ELLSWORTH PIMENTEL, ELIZABETH            ADDRESS ON FILE
ELLUZ SANCHEZ HERNANDEZ                  ADDRESS ON FILE
ELLYSMAR GOMEZ LUZARDO                   ADDRESS ON FILE
ELMAE PROTESIS & ARTESIS MEDICAL INC     HC 20 BOX 29200                                                                  SAN LORENZO     PR      00754
ELMANUEL QUINONES PEREZ                  ADDRESS ON FILE
ELME J NODAR GAUD                        ADDRESS ON FILE
ELMEN MELENDEZ GONZALEZ                  ADDRESS ON FILE
ELMER A ROSADO DIAZ                      ADDRESS ON FILE
ELMER ALAMEDA ROMÁN                      ADDRESS ON FILE
ELMER CABALLERO GONZALEZ                 ADDRESS ON FILE
ELMER CINTRÓN DELGADO                    ADDRESS ON FILE
ELMER CUADRADO PASTRANA                  ADDRESS ON FILE
ELMER CUADRADO PASTRANA                  ADDRESS ON FILE
ELMER E MELENDEZ                         ADDRESS ON FILE
ELMER FIGUEROA BERRIOS                   ADDRESS ON FILE
ELMER FLORES OLIVERAS                    ADDRESS ON FILE
ELMER GONZALEZ OLIVERAS                  ADDRESS ON FILE
ELMER I DIAZ CRUZ                        ADDRESS ON FILE
ELMER I PEREZ PORTALATIN                 ADDRESS ON FILE
ELMER J RIVERA SOTO                      ADDRESS ON FILE
ELMER J SOSA MUNDO                       ADDRESS ON FILE
ELMER J. VELEZ RODRIGUEZ                 ADDRESS ON FILE
ELMER JAVIER CAMACHO SOSTRE              ADDRESS ON FILE
ELMER L CASIANO LOPEZ                    ADDRESS ON FILE
ELMER L FUENTES NEGRON                   ADDRESS ON FILE
ELMER LOPEZ TELLADO                      ADDRESS ON FILE
ELMER MARTINEZ RIVERA                    ADDRESS ON FILE
ELMER MEDINA                             ADDRESS ON FILE
ELMER N PEREZ RAMIREZ                    ADDRESS ON FILE
ELMER NIEVES ALVAREZ                     ADDRESS ON FILE
ELMER PABON NIEVES                       ADDRESS ON FILE
ELMER Q HERNANDEZ AROCHO                 ADDRESS ON FILE
ELMER R GONZALEZ RODRIGUEZ DBA 5TO       ELEMENTO                  PO BOX 1477                                            BOQUERON        PR      00622
ELMER RIVERA COLON                       ADDRESS ON FILE
ELMER ZAPATA PADILLA                     ADDRESS ON FILE
ELMES RONDON SUAREZ                      ADDRESS ON FILE
ELMHURST HOSPITAL CENTER                 PO BOX 19058                                                                     GREEN BAY       WI      54307‐9058
ELMHURT BEHAVORIAL HEALTH CLINIC DR CHAN PO BOX 19072                                                                     GREEN BAY       WI      54307‐9072
ELMIR B BERMUDEZ RODRIGUEZ               ADDRESS ON FILE
ELMO MONTANEZ BONILLA                    ADDRESS ON FILE




                                                                                     Page 2546 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2547 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                            Address1                        Address2                              Address3   Address4   City          State   PostalCode   Country
ELMO MURILLO                             ADDRESS ON FILE
ELMO ORTIZ/ PRISCILLA R WREN             ADDRESS ON FILE
ELMO S ROMAN HERNANDEZ                   ADDRESS ON FILE
ELMO X PEREZ GONZALEZ                    ADDRESS ON FILE
ELMON R BERNIER SOTO                     ADDRESS ON FILE
ELMORE JENKINS
ELODIA RIVAS RIVERA                      ADDRESS ON FILE
ELOI DIAZ PEREIRA                        ADDRESS ON FILE
ELOIN GONZALEZ ORTIZ                     ADDRESS ON FILE
ELOIN GONZALEZ ORTIZ                     ADDRESS ON FILE
ELOINA ARZOLA RODRIGUEZ                  ADDRESS ON FILE
ELOISA COUVERTIER REYES                  ADDRESS ON FILE
ELOISA MENA LOPEZ                        ADDRESS ON FILE
ELOISA MONTALVO RUIZ                     ADDRESS ON FILE
ELOISA PENA MARRERO                      ADDRESS ON FILE
ELOISE JACKSON STOVALL                   ADDRESS ON FILE
ELOIZA ROSA MORALES                      ADDRESS ON FILE
ELOSEGUI SANTIAGO, MARYLEN               ADDRESS ON FILE
ELOSEGUI, ANA M.                         ADDRESS ON FILE
ELOY A. RUIZ RIVERA                      ADDRESS ON FILE
ELOY A. RUIZ RIVERA                      ADDRESS ON FILE
ELOY A. RUIZ RIVERA                      ADDRESS ON FILE
ELOY ALEJANDRO GONZALEZ CRUZ             LCDO. JOSE JUAN BERNAL VERGES   PO BOX 676 MERCEDITA                                        MERCEDITA     PR      00715‐0676
ELOY COLON DIEPPA                        ADDRESS ON FILE
ELOY GONZALEZ RODRIGUEZ                  ADDRESS ON FILE
ELOY GUILAMO SANTANA                     ADDRESS ON FILE
ELOY GUTIERREZ                           ADDRESS ON FILE
ELOY J ROBLES PEREZ                      ADDRESS ON FILE
ELOY JORGE MONTES DE OCA                 ADDRESS ON FILE
ELOY LOPEZ RIVERA                        ADDRESS ON FILE
ELOY MARTINEZ GONZALEZ                   ADDRESS ON FILE
ELOY MATOS WALTON                        ADDRESS ON FILE
ELOY ORTIZ FONTANEZ                      ADDRESS ON FILE
ELOY P GONZALEZ FOSTER                   ADDRESS ON FILE
ELOY QUINONEZ BULERIN                    ADDRESS ON FILE
ELOY REYES ROSARIO                       ADDRESS ON FILE
ELOY TOLEDO                              ADDRESS ON FILE
ELPEZA RODRIGUEZ, CARLOS G               ADDRESS ON FILE
ELPIDIA DIAZ LOPEZ                       ADDRESS ON FILE
ELPIDIO BATISTA FELIZ                    ADDRESS ON FILE
ELPIDIO BERMUDEZ MILLAN & HILDA I COLON ADDRESS ON FILE
ELPIDIO DE JESUS RODRIGUEZ               ADDRESS ON FILE
ELPIDIO DE JESUS RODRIGUEZ               ADDRESS ON FILE
ELPIDIO MARRERO CINTRON                  ADDRESS ON FILE
ELPIDIO NUNEZ BURGOS                     ADDRESS ON FILE
ELPIDIO PABON JORGE                      FOREST VIEW E‐157 CARTAGENA                                                                 BAYAMON       PR      00956
ELPIDIO RIVERA DIAZ                      ADDRESS ON FILE
ELPIDIO RODRIGUEZ COTTO                  ADDRESS ON FILE
ELPIDIO RODRIGUEZ DBA ORCHEDAS OFFICE SU URB. RIO SOL CALLE 3 ‐ A6                                                                   PENUELAS      PR      00624‐0000
ELPIDIO SOTO QUINONEZ                    ADDRESS ON FILE
ELRO ENGINNERING SERVISES C S P          PO BOX 3597                                                                                 AGUADILLA     PR      00605‐3597
ELSA A BATISTA COURET                    ADDRESS ON FILE
ELSA A CAJIGAS BOSQUES                   ADDRESS ON FILE
ELSA A DAVID RODRIGUEZ                   ADDRESS ON FILE
ELSA A. GUERRERO ORELLANA                ADDRESS ON FILE
ELSA AGUILAR                             ADDRESS ON FILE
ELSA ALERS MALDONADO                     ADDRESS ON FILE
ELSA ALVARES MARTE                       ADDRESS ON FILE
ELSA ANAZCO MEJIA                        ADDRESS ON FILE
ELSA ARRIBAS                             ADDRESS ON FILE




                                                                                                Page 2547 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2548 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                          Address1                     Address2                                     Address3   Address4   City         State   PostalCode   Country
ELSA B CARDALDA SANCHEZ                ADDRESS ON FILE
ELSA BURGOS RUIZ                       ADDRESS ON FILE
ELSA BURGOS RUIZ                       ADDRESS ON FILE
ELSA CEDENO RODRIGUEZ                  ADDRESS ON FILE
ELSA CHARLES BELEN                     ADDRESS ON FILE
ELSA CHARLES BELEN                     ADDRESS ON FILE
ELSA CORDOVA TORRECH                   ADDRESS ON FILE
Elsa Cortes                            ADDRESS ON FILE
ELSA D COLON                           ADDRESS ON FILE
ELSA D LUGO MONTALVO                   ADDRESS ON FILE
ELSA D. AULET TORRES                   ADDRESS ON FILE
ELSA D. AULET TORRES                   ADDRESS ON FILE
ELSA DE JESUS GONZLEZ                  ADDRESS ON FILE
ELSA DE LA CRUZ MARTINEZ               ADDRESS ON FILE
ELSA DIAZ PENA                         ADDRESS ON FILE
ELSA DOMENECH FEBRES                   ADDRESS ON FILE
ELSA E DEIDA FIGUEROA                  ADDRESS ON FILE
ELSA E FREYTES BURGOS                  ADDRESS ON FILE
ELSA E SANTIAGO FERMIN TORRES          ADDRESS ON FILE
ELSA FELICIANO GARCIA                  ADDRESS ON FILE
ELSA FERNANDEZ MIRALLES                ADDRESS ON FILE
ELSA FIGUEROA CARDONA                  ADDRESS ON FILE
ELSA FIGUEROA DIAZ                     ADDRESS ON FILE
ELSA G BARROSO HERRANS                 ADDRESS ON FILE
ELSA GARCÍA FIGUEROA                   ADDRESS ON FILE
ELSA GAZTAMBIDE SOEGAARD               ADDRESS ON FILE
ELSA HERNANDEZ ROSADO                  MANUEL RIVERA LUGO           AVE. PADRE RIVERA # 11 ESTE                                        HUMACAO      PR      00791
ELSA I FERRER PEREZ                    ADDRESS ON FILE
ELSA I FERRER PEREZ                    ADDRESS ON FILE
ELSA I GINORIO DOMINGUEZ               ADDRESS ON FILE
ELSA I GOMEZ PELLOT                    ADDRESS ON FILE
ELSA I LEÓN RODRÍGUEZ                  ADDRESS ON FILE
ELSA I PADRO ROSA                      ADDRESS ON FILE
ELSA I RIOS CRUZ                       ADDRESS ON FILE
ELSA I RIVERA ROQUE                    ADDRESS ON FILE
ELSA I SANTIAGO CLASS                  ADDRESS ON FILE
ELSA L PEREZ SANTIAGO                  ADDRESS ON FILE
ELSA LOPEZ GONZALEZ                    ADDRESS ON FILE
ELSA LOPEZ PEREZ                       ADDRESS ON FILE
ELSA LUCIANO FEAL                      ADDRESS ON FILE
ELSA M ADAMS RODRIGUEZ                 ADDRESS ON FILE
ELSA M ADORNO MALAVE                   ADDRESS ON FILE
ELSA M BERRIOS RIVERA                  ADDRESS ON FILE
ELSA M CORTES ARCE                     ADDRESS ON FILE
ELSA M CORTES ARCE                     ADDRESS ON FILE
ELSA M DEL VALLE DE LEON               ADDRESS ON FILE
ELSA M DIAZ APONTE                     ADDRESS ON FILE
ELSA M ESQUILIN FIGUEROA               ADDRESS ON FILE
ELSA M GOMEZ CAMACHO                   ADDRESS ON FILE
ELSA M GONZALEZ ORTEGA                 ADDRESS ON FILE
ELSA M GONZALEZ RODRIGUEZ              ADDRESS ON FILE
ELSA M MENDEZ FELICIANO                ADDRESS ON FILE
ELSA M OBEN CUADROS                    ADDRESS ON FILE
ELSA M ORELLANO COLON                  ADDRESS ON FILE
ELSA M ORELLANO COLON                  ADDRESS ON FILE
ELSA M PEREIRA MARTINEZ                ADDRESS ON FILE
ELSA M RODRIGUEZ HERNANDEZ             ADDRESS ON FILE
ELSA M RODRIGUEZ VARGAS                ADDRESS ON FILE
ELSA M TORRES MOLINA DBA JE SERVICES   COND MIRADORES DE SABANA 2   AVE PONCE DE LEON APT 181                                          GUAYNABO     PR      00965
ELSA M. ASENCIO CASIANO                ADDRESS ON FILE




                                                                                                  Page 2548 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2549 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                           Address2                                     Address3   Address4   City         State   PostalCode   Country
ELSA M. FIGUEROA TORRES                   ADDRESS ON FILE
ELSA M. FIGUEROA TORRES                   ADDRESS ON FILE
ELSA M. GONZALEZ ORTIZ                    ADDRESS ON FILE
ELSA M. LUNA TORRES                       ADDRESS ON FILE
ELSA M. ROBLES VALENTIN                   ADDRESS ON FILE
ELSA M. TORRES MOLINA DBA JE SERVICES     BASE MUNIZ 2DO NIVEL EDIF. UPS                                                                        CAROLINA     PR      00983
ELSA M. TORRES MOLINA DBA JE SERVICES     COND. MIRADORES DE SABANA 2 AVE.   PONCE DE LEON APT. 181 GUAYNABO                                    GUAYNABO     PR      00965
ELSA M. TORRES MOLINA DBA JE SERVICES     LLC20 CENTRAL SECTOR BASE MUNIZ    C 2ND PISO                                                         CAROLINA     PR      00979
ELSA MALAVE VICENTE                       ADDRESS ON FILE
ELSA MALAVE VICENTE                       ADDRESS ON FILE
ELSA MARIA MELENDEZ TORRES                ADDRESS ON FILE
ELSA MARIA ORTIZ                          LCDO. ARIEL FELIX CINTRON          PO BOX 42007                                                       SAN JUAN     PR      00940‐2007
ELSA MARIA ORTIZ                          LCDO. DENIS H. NUÑEZ RIOS          PO BOX 1142 AIBONITO PR                                            AIBONITO     PR      00705
ELSA MARTINEZ VAZQUEZ                     ADDRESS ON FILE
ELSA MELENDEZ RAMOS                       ADDRESS ON FILE
ELSA MELENDEZ RAMOS                       ADDRESS ON FILE
ELSA MILAGROS GONZALEZ ORTIZ              ADDRESS ON FILE
ELSA MILAGROS GONZALEZ ORTIZ              ADDRESS ON FILE
ELSA MORALES RIVERA                       ADDRESS ON FILE
ELSA MOSQUERA                             ADDRESS ON FILE
ELSA N FIGUEROA RIOS                      ADDRESS ON FILE
ELSA NIEVES FERNANDEZ                     ADDRESS ON FILE
ELSA O. MARTINEZ COLON                    ADDRESS ON FILE
ELSA ORELLLANA HERNANDEZ                  ADDRESS ON FILE
ELSA PENA JIMENEZ                         ADDRESS ON FILE
ELSA PERDOMO RAMIREZ                      ADDRESS ON FILE
ELSA PEREZ DOMENECH                       ADDRESS ON FILE
ELSA QUINONES ORTIZ                       ADDRESS ON FILE
ELSA R CARRILLO RUIZ                      ADDRESS ON FILE
ELSA R DANDRIDGE MULERO                   ADDRESS ON FILE
ELSA R PEÐA JIMENEZ                       ADDRESS ON FILE
ELSA R URENA BENCOSME                     ADDRESS ON FILE
ELSA RAMIREZ VINCENTY                     ADDRESS ON FILE
ELSA RAMOS SOTO                           ADDRESS ON FILE
ELSA REYES HERNANDEZ                      ADDRESS ON FILE
ELSA RIVERA MARTÍNEZ MAPFRE PREFERRED RISKAXEL VIZCARRA PELLOT               AVE. ISLA VERDE 5900 L2/362                                        CAROLINA     PR      00979
ELSA RIVERA MARTÍNEZ MAPFRE PREFERRED RISKMARIA CELESTE RODRIGUEZ MIRANDA    PO BOX 365072                                                      SAN JUAN     PR      00936‐5072
ELSA RIVERA RIVERA                        ADDRESS ON FILE
ELSA RIVERA RODRIGUEZ                     ADDRESS ON FILE
ELSA RODRIGUEZ DE GOMEZ                   ADDRESS ON FILE
ELSA RODRIGUEZ QUINONEZ                   ADDRESS ON FILE
ELSA RODRIGUEZ RIVERA                     ADDRESS ON FILE
ELSA ROSARIO DOMINGUEZ                    ADDRESS ON FILE
ELSA ROSARIO GONZALEZ                     ADDRESS ON FILE
ELSA ROSI REYES JIMENEZ                   ADDRESS ON FILE
ELSA RUIZ RODRIGUEZ                       ADDRESS ON FILE
ELSA SANTIAGO COLON                       ADDRESS ON FILE
Elsa Soledad Couso Serrano                ADDRESS ON FILE
ELSA SOTO NEGRON                          ADDRESS ON FILE
ELSA SOTO RODRIGUEZ                       ADDRESS ON FILE
ELSA TORRES CARINO                        ADDRESS ON FILE
ELSA VALENTIN ALMA                        ADDRESS ON FILE
ELSA VALENTIN GONZALEZ                    ADDRESS ON FILE
ELSA VELEZ RIVERA                         ADDRESS ON FILE
ELSA VELEZ RIVERA                         ADDRESS ON FILE
ELSA VELEZ RIVERA                         ADDRESS ON FILE
ELSA VELEZ ROMAN                          ADDRESS ON FILE
ELSA Y SERRA CRUZ                         ADDRESS ON FILE
ELSA ZAMBRANA CRUZ                        ADDRESS ON FILE
ELSADORI DE LA MATA MOREY                 ADDRESS ON FILE




                                                                                                           Page 2549 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2550 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELSALID HERNANDEZ RIVERA                  ADDRESS ON FILE
ELSALYN VAZQUEZ MUNIZ                     ADDRESS ON FILE
ELS‐ENTERTAINMENT LIGHTING SERVICES INC   ADDRESS ON FILE
ELSEVIER SCIENCE                          ADDRESS ON FILE
ELSEVIER SCIENCE                          ADDRESS ON FILE
ELSIE A QUINONEZ                          ADDRESS ON FILE
ELSIE AYENDE RAMOS                        ADDRESS ON FILE
ELSIE BALAGUER MORALES                    ADDRESS ON FILE
ELSIE BIANCHI / YOLANDA BIANCHI           ADDRESS ON FILE
ELSIE BONILLA RODRIGUEZ                   ADDRESS ON FILE
ELSIE C LOPEZ RODRIGUEZ                   ADDRESS ON FILE
ELSIE CAMACHO GALINDO                     ADDRESS ON FILE
ELSIE CARTAGENA RIVERA                    ADDRESS ON FILE
ELSIE CASTRO CASTRO                       ADDRESS ON FILE
ELSIE CINTRON FIGUEROA                    ADDRESS ON FILE
ELSIE CINTRON NADAL                       ADDRESS ON FILE
ELSIE COLON MORALES                       ADDRESS ON FILE
ELSIE CORDERO LOPEZ                       ADDRESS ON FILE
ELSIE CRESPO RUIZ                         ADDRESS ON FILE
ELSIE CRUZ ROBLES                         ADDRESS ON FILE
ELSIE CRUZ SIERRA                         ADDRESS ON FILE
ELSIE D BLASKY DE HOSTOS                  ADDRESS ON FILE
ELSIE D. FRANQUI LOPEZ                    ADDRESS ON FILE
ELSIE D. MARTINEZ ROSADO                  ADDRESS ON FILE
ELSIE DE JESUS CRUZ                       ADDRESS ON FILE
ELSIE DÍAZ ALICEA                         ADDRESS ON FILE
ELSIE DIAZ RAMOS                          ADDRESS ON FILE
ELSIE DORIS ORTIZ TORRES                  ADDRESS ON FILE
ELSIE E GARRIGA RIVERA                    ADDRESS ON FILE
ELSIE E NEGRON RIVERA                     ADDRESS ON FILE
ELSIE E. MOLINA RODRIGUEZ                 ADDRESS ON FILE
ELSIE FELICIANO TORRES                    ADDRESS ON FILE
ELSIE GARCIA VISBAL                       ADDRESS ON FILE
ELSIE GELABERT MOLINA                     ADDRESS ON FILE
ELSIE GRAFALS FONT                        ADDRESS ON FILE
ELSIE H VEGA MUðOZ                        ADDRESS ON FILE
ELSIE H VEGA MUðOZ                        ADDRESS ON FILE
ELSIE H VEGA MUðOZ                        ADDRESS ON FILE
ELSIE H VEGA MUNOZ                        ADDRESS ON FILE
ELSIE H VEGA MUNOZ                        ADDRESS ON FILE
ELSIE HOFFMAN GARCIA                      ADDRESS ON FILE
ELSIE I COLÓN Y ELSIE M ALEMANY           ADDRESS ON FILE
ELSIE IRIZARRY RIVERA                     ADDRESS ON FILE
ELSIE L MARTINEZ GONZALEZ                 ADDRESS ON FILE
ELSIE L PRIETO FERRER                     ADDRESS ON FILE
ELSIE L. VILLANUEVA VAZQUEZ               ADDRESS ON FILE
ELSIE LECTORA MORALES                     ADDRESS ON FILE
ELSIE LOPEZ CRUZ                          ADDRESS ON FILE
ELSIE LOPEZ Y MARIA LOPEZ                 ADDRESS ON FILE
ELSIE LUGO ALVAREZ                        ADDRESS ON FILE
ELSIE LUGO GONZALEZ                       ADDRESS ON FILE
ELSIE M GONZALEZ VELEZ                    ADDRESS ON FILE
ELSIE M LOPEZ RODRIGUEZ                   ADDRESS ON FILE
ELSIE M ORTIZ MERCADO                     ADDRESS ON FILE
ELSIE M PAGAN MENDEZ                      ADDRESS ON FILE
ELSIE M ROSARIO MARTINEZ                  ADDRESS ON FILE
ELSIE M SCHROEDER PARA AIAN TORRES        ADDRESS ON FILE
ELSIE M SOTO GONZALEZ                     ADDRESS ON FILE
ELSIE M VERA NIEVES                       ADDRESS ON FILE
ELSIE MARRERO PEREZ                       ADDRESS ON FILE




                                                                                      Page 2550 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2551 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELSIE MARTINEZ BERRIOS                ADDRESS ON FILE
ELSIE MATIAS BONILLA                  ADDRESS ON FILE
ELSIE MATIAS GARCIA                   ADDRESS ON FILE
ELSIE MELENDEZ CRUZ                   ADDRESS ON FILE
ELSIE MORALES VAZQUEZ                 ADDRESS ON FILE
ELSIE MU¥OZ BURGOS                    ADDRESS ON FILE
ELSIE MUNIZ ENCARNACION               ADDRESS ON FILE
ELSIE N MARTINEZ ORTIZ                ADDRESS ON FILE
ELSIE N. PEREZ TORRES                 ADDRESS ON FILE
ELSIE NERCADO QUILES                  ADDRESS ON FILE
ELSIE NIEVES DE JESUS                 ADDRESS ON FILE
ELSIE NUNEZ SOSA                      ADDRESS ON FILE
ELSIE O FERNANDEZ GRAFALS             ADDRESS ON FILE
ELSIE O NAVARRO NAVARRO               ADDRESS ON FILE
ELSIE ORTIZ IRAOLA                    ADDRESS ON FILE
ELSIE PABON NATAL                     ADDRESS ON FILE
ELSIE PABON NATAL                     ADDRESS ON FILE
ELSIE PACHECO IRIGOYEN                ADDRESS ON FILE
ELSIE PADOVANI ZAMBRANA               ADDRESS ON FILE
ELSIE PANTOJAS MUSSENDEN              ADDRESS ON FILE
ELSIE PEREZ COLON                     ADDRESS ON FILE
ELSIE QUINONES PACHECO                ADDRESS ON FILE
ELSIE RAMOS LOPEZ                     ADDRESS ON FILE
ELSIE RAMOS TURULL                    ADDRESS ON FILE
ELSIE RESTO DIAZ                      ADDRESS ON FILE
ELSIE RIVERA BAEZ                     ADDRESS ON FILE
ELSIE RIVERA ESTEVEZ                  ADDRESS ON FILE
ELSIE RIVERA ISAAC                    ADDRESS ON FILE
ELSIE RIVERA ISAAC                    ADDRESS ON FILE
ELSIE RIVERA MARCIAL                  ADDRESS ON FILE
ELSIE RIVERA ROMERO                   ADDRESS ON FILE
ELSIE RIVERA ROSA                     ADDRESS ON FILE
ELSIE RODRIGUEZ BERDIEL               ADDRESS ON FILE
ELSIE RODRIGUEZ BERDIEL               ADDRESS ON FILE
ELSIE RODRIGUEZ CONCEPCION            ADDRESS ON FILE
ELSIE RODRIGUEZ ISAAC                 ADDRESS ON FILE
ELSIE RODRIGUEZ ORTEGA                ADDRESS ON FILE
ELSIE RODRIGUEZ ORTIZ                 ADDRESS ON FILE
ELSIE ROMERO VILLAMIL                 ADDRESS ON FILE
ELSIE ROSADO MARTINEZ                 ADDRESS ON FILE
ELSIE ROSADO RIVERA                   ADDRESS ON FILE
ELSIE ROSAS MARTINEZ                  ADDRESS ON FILE
ELSIE ROSDIGUEZ BARRETO               ADDRESS ON FILE
ELSIE SANTIAGO CHEVERE                ADDRESS ON FILE
ELSIE SANTIAGO REYES                  ADDRESS ON FILE
ELSIE TOLLINCHI TORRES                ADDRESS ON FILE
ELSIE TORRES INTERIOR DESINGNS, INC   PO BOX 70250 PMB 205                                                             SAN JUAN     PR      00936
ELSIE TORRES NUNEZ                    ADDRESS ON FILE
ELSIE VALENTIN AVILEZ                 ADDRESS ON FILE
ELSIE VALENTIN ROMAN                  ADDRESS ON FILE
ELSIE VALENTIN VELAZQUEZ              ADDRESS ON FILE
ELSIE VAZQUEZ CANALES                 ADDRESS ON FILE
ELSIE VELEZ BADILLO                   ADDRESS ON FILE
ELSIE VELEZ ORTIZ                     ADDRESS ON FILE
ELSIE VELEZ ORTIZ                     ADDRESS ON FILE
ELSIE Y BATLLE ACOSTA                 ADDRESS ON FILE
ELSIE Y TORRES ALICEA                 ADDRESS ON FILE
ELSIG M VELEZ GARCIA                  ADDRESS ON FILE
ELSIO NEGRON RUBIO                    ADDRESS ON FILE
ELSIO NEGRON RUBIO                    ADDRESS ON FILE




                                                                                  Page 2551 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2552 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELSON ARROYO                        ADDRESS ON FILE
ELSON ECHEVARRIA PAGAN              ADDRESS ON FILE
ELSON OSORIO FEBRES                 ADDRESS ON FILE
ELSON ROSARIO SERRANO               ADDRESS ON FILE
ELSON VARGAS                        ADDRESS ON FILE
ELSON VARGAS MANTILLA               ADDRESS ON FILE
ELSON VELAZQUEZ FERRER              ADDRESS ON FILE
ELSON VELAZQUEZ LOPEZ               ADDRESS ON FILE
ELSTON D SANTIAGO BORGES            ADDRESS ON FILE
ELSTON MOJICA RIVERA                ADDRESS ON FILE
ELSY ALVARADO CABRERA               ADDRESS ON FILE
ELSY DIAZ ROLDAN                    ADDRESS ON FILE
ELSY E MATIAS GONZALEZ              ADDRESS ON FILE
ELTON IRIZARRY PASARELL             ADDRESS ON FILE
ELUGARDO ACEVEDO, MARTHA            ADDRESS ON FILE
ELUID APONTE MELENDEZ               ADDRESS ON FILE
ELUID PENA GONZALEZ                 ADDRESS ON FILE
ELUPINA M CHALA MARTINEZ            ADDRESS ON FILE
ELVA H CRUZ PEREA                   ADDRESS ON FILE
ELVA IRIS ENCARNACION ENCARNACION   ADDRESS ON FILE
ELVA M FIGUEROA GARCIA              ADDRESS ON FILE
ELVA N BONET MENDEZ                 ADDRESS ON FILE
ELVE A PAGAN AMADOR                 ADDRESS ON FILE
ELVEEN PADILLA BAEZ                 ADDRESS ON FILE
ELVELY ROJAS LUNA                   ADDRESS ON FILE
ELVER A LUGO PEREZ                  ADDRESS ON FILE
ELVER A LUGO PEREZ                  ADDRESS ON FILE
ELVIA COLON RIVERA                  ADDRESS ON FILE
ELVIA GUZMAN                        ADDRESS ON FILE
ELVIA I SUAREZ TIBURCIO             ADDRESS ON FILE
ELVIA L MARTINEZ REYES              ADDRESS ON FILE
ELVIA L TORRES MALDONADO            ADDRESS ON FILE
ELVIA M APONTE RIVERA               ADDRESS ON FILE
ELVIA M CAMAYD VELEZ                ADDRESS ON FILE
ELVIA M GABINO ROBLES               ADDRESS ON FILE
ELVIA M RAMIREZ QUINONES            ADDRESS ON FILE
ELVIA RIOS RIVERA                   ADDRESS ON FILE
ELVIA YADIRA RIVERA CIRINO          ADDRESS ON FILE
ELVIALIZ MORALES MONTALVAN          ADDRESS ON FILE
ELVIE ANN NUNEZ HERRERA             ADDRESS ON FILE
ELVIE ANN NUNEZ HERRERA             ADDRESS ON FILE
ELVIMARIS GARCIA CRUZ               ADDRESS ON FILE
ELVIN A CARDONA MERCADO             ADDRESS ON FILE
ELVIN A GARCIA BAEZ                 ADDRESS ON FILE
ELVIN A GARCIA BAEZ                 ADDRESS ON FILE
ELVIN A MARCO MARTINO               ADDRESS ON FILE
ELVIN A MARTINEZ ALICEA             ADDRESS ON FILE
ELVIN A OCASIO JIMENEZ              ADDRESS ON FILE
ELVIN A RIVERA NUNEZ                ADDRESS ON FILE
ELVIN A RIVERA NUNEZ                ADDRESS ON FILE
ELVIN A TORRES CARDONA              ADDRESS ON FILE
ELVIN A TORRES RIVERA               ADDRESS ON FILE
ELVIN ALBERTO MALAVE DAVID          ADDRESS ON FILE
ELVIN BABILONIA MORALES             ADDRESS ON FILE
ELVIN BERENGUER SOTILLO             ADDRESS ON FILE
ELVIN BERROCAL SANTIAGO             ADDRESS ON FILE
ELVIN BOSQUE RUIZ                   ADDRESS ON FILE
ELVIN COLLAZO ANDUJAR               ADDRESS ON FILE
ELVIN CRUZ MORAN                    ADDRESS ON FILE
ELVIN D CARLO RODRIGUEZ             ADDRESS ON FILE




                                                                                Page 2552 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2553 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELVIN D DAVILA MELENDEZ           ADDRESS ON FILE
ELVIN D DELGADO RAMOS             ADDRESS ON FILE
ELVIN D PILIER ROSARIO            ADDRESS ON FILE
ELVIN DEL RIO GONZALEZ            ADDRESS ON FILE
ELVIN DIAZ DIAZ                   ADDRESS ON FILE
ELVIN DIAZ RIVERA                 ADDRESS ON FILE
Elvin Diaz Sanchez                ADDRESS ON FILE
ELVIN E ESCOBAR GONZALEZ          ADDRESS ON FILE
ELVIN ESTRADA MUNIZ               ADDRESS ON FILE
ELVIN FELICIANO AGOSTO            ADDRESS ON FILE
ELVIN FELICIANO GONZALEZ          ADDRESS ON FILE
ELVIN FELICIANO LOUBRIEL          ADDRESS ON FILE
ELVIN FLORES BOIGES               ADDRESS ON FILE
ELVIN FRANCESCHI CARABALLO        ADDRESS ON FILE
ELVIN G BONILLA SANTIAGO          ADDRESS ON FILE
ELVIN G. HERNANDEZ CRESPO         ADDRESS ON FILE
ELVIN G. RIVERA ZAYAS             ADDRESS ON FILE
ELVIN GARCIA PENA                 ADDRESS ON FILE
ELVIN GONZALEZ RAMIREZ            ADDRESS ON FILE
ELVIN J ALVARADO PEREZ            ADDRESS ON FILE
ELVIN J CEDENO MORALES            ADDRESS ON FILE
ELVIN J DELGADO ANDINO            ADDRESS ON FILE
ELVIN J FELICIANO RODRIGUEZ       ADDRESS ON FILE
ELVIN J MALDONADO FERNANDEZ       ADDRESS ON FILE
ELVIN J MENDOZA TORRES            ADDRESS ON FILE
ELVIN J MIRANDA RIVERA            ADDRESS ON FILE
ELVIN J RODRIGUEZ GONZALEZ        ADDRESS ON FILE
ELVIN J RODRIGUEZ PAGAN           ADDRESS ON FILE
ELVIN J RODRIGUEZ PAGAN           ADDRESS ON FILE
ELVIN J SOTO CRESPO               ADDRESS ON FILE
ELVIN J. FIGUEROA ARAUD           ADDRESS ON FILE
ELVIN JOEL MELENDEZ GRAU          ADDRESS ON FILE
ELVIN JOSUE RODRIGUEZ HERNANDEZ   ADDRESS ON FILE
ELVIN JULIAN PABON SANCHEZ        ADDRESS ON FILE
ELVIN JUSTINIANO JUSTINIANO       ADDRESS ON FILE
ELVIN LARA DE LA CRUZ             ADDRESS ON FILE
ELVIN LATORRE RODRIGUEZ           ADDRESS ON FILE
ELVIN M CASIANO ORTIZ             ADDRESS ON FILE
ELVIN M SANCHEZ TOLEDO            ADDRESS ON FILE
ELVIN MARTINEZ RIVERA             ADDRESS ON FILE
ELVIN MARTINEZ RUIZ               ADDRESS ON FILE
ELVIN MELENDEZ MUNOZ              ADDRESS ON FILE
ELVIN MENDEZ MORALES              ADDRESS ON FILE
ELVIN MENDEZ PAGAN                ADDRESS ON FILE
ELVIN MERCADO LAGARES             ADDRESS ON FILE
ELVIN MERCADO ROSADO              ADDRESS ON FILE
ELVIN MOJICA DEL TORO             ADDRESS ON FILE
ELVIN MOLINA MELENDEZ             ADDRESS ON FILE
ELVIN MONTERO RIVERA              ADDRESS ON FILE
ELVIN MORALES MORALES             ADDRESS ON FILE
ELVIN MORALES NAVARRO             ADDRESS ON FILE
ELVIN MUNIZ RAMIREZ               ADDRESS ON FILE
ELVIN MUNIZ RAMIREZ               ADDRESS ON FILE
ELVIN MUNIZ RAMIREZ               ADDRESS ON FILE
ELVIN O CRUZ HERNANDEZ            ADDRESS ON FILE
ELVIN O ECHEVARRIA ROSA           ADDRESS ON FILE
ELVIN O MELENDEZ CINTRON          ADDRESS ON FILE
ELVIN O ROMAN PAOLI               ADDRESS ON FILE
ELVIN O TORRES ROMAN              ADDRESS ON FILE
ELVIN O. ECHEVARRIA ROSA          ADDRESS ON FILE




                                                                              Page 2553 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2554 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                            Address1                    Address2                         Address3            Address4   City          State   PostalCode   Country
ELVIN OJEDA BONILLA                      ADDRESS ON FILE
ELVIN OJEDA PINEDA                       ADDRESS ON FILE
ELVIN OMAR TORRES ROMAN                  ADDRESS ON FILE
ELVIN ORTIZ MATOS                        ADDRESS ON FILE
ELVIN ORTIZ MORALES                      ADDRESS ON FILE
ELVIN ORTIZ ORTIZ                        ADDRESS ON FILE
ELVIN ORTIZ RIVERA                       ADDRESS ON FILE
ELVIN PACHECO MALDONADO                  ADDRESS ON FILE
ELVIN PAGAN CARDONA                      ADDRESS ON FILE
ELVIN PAGAN RIVERA                       ADDRESS ON FILE
ELVIN PAGAN VELEZ                        ADDRESS ON FILE
ELVIN PENA RIVERA                        ADDRESS ON FILE
ELVIN R MELENDEZ,MELENDEZ PLUMB ELECTRIC HC 01 BOX 5582                                                                              OROCOVIS      PR      00720
ELVIN R RIVERA DIAZ                      ADDRESS ON FILE
ELVIN RAMOS RIVERA                       ADDRESS ON FILE
ELVIN RAMOS RUIZ                         ADDRESS ON FILE
ELVIN RIOS MORALES                       ADDRESS ON FILE
ELVIN RIVERA BURGOS                      ADDRESS ON FILE
ELVIN RIVERA CUEVAS                      ADDRESS ON FILE
ELVIN RIVERA GONZALEZ                    ADDRESS ON FILE
ELVIN RIVERA MELENDEZ                    ADDRESS ON FILE
ELVIN RIVERA MORET                       ADDRESS ON FILE
ELVIN RIVERA PADUA                       ADDRESS ON FILE
ELVIN ROBLES ALICEA                      ADDRESS ON FILE
ELVIN RODRIGUEZ FEBRES                   ADDRESS ON FILE
ELVIN RODRIGUEZ MARTINEZ                 ADDRESS ON FILE
ELVIN ROQUE CABRERA                      ADDRESS ON FILE
ELVIN RULLAN PENA                        ADDRESS ON FILE
ELVIN SANTANA ZAYAS                      ADDRESS ON FILE
ELVIN SANTIAGO RIVERA                    ADDRESS ON FILE
ELVIN SANTIAGO RODRIGUEZ                 ADDRESS ON FILE
ELVIN SANTIAGO RODRIGUEZ                 ADDRESS ON FILE
ELVIN SANTIAGO RODRIGUEZ                 ADDRESS ON FILE
ELVIN SANTIAGO RODRIGUEZ DBA TRANSPORTE PMB 052 PO BOX 6004                                                                          VILLALBA      PR      00766‐0000
ELVIN SANTIAGO ROSARIO                   ADDRESS ON FILE
ELVIN SILVERIO CASANOVA                  ADDRESS ON FILE
                                                                                                      EDIF. HERNÁNDEZ &
ELVIN SOTO DIAZ                          LUIS O. PÉREZ VÉLEZ         CALLEOGRESO #91                  LEBRÓN                         AGUADILLA     PR      00603
ELVIN SOTO HERNANDEZ                     ADDRESS ON FILE
ELVIN SOTO VILLAFANE                     ADDRESS ON FILE
ELVIN T HERNANDEZ DURAN                  ADDRESS ON FILE
ELVIN VALLE ACEVEDO                      ADDRESS ON FILE
ELVIN VEGA ORTIZ                         ADDRESS ON FILE
ELVIN VELEZ GONZALEZ                     ADDRESS ON FILE
ELVIN VELEZ SEGURA                       ADDRESS ON FILE
ELVIN VERA NIEVES                        ADDRESS ON FILE
ELVIN XAVIER SANTANA RIVERA              ADDRESS ON FILE
ELVIN Y RIVERA RAMOS                     ADDRESS ON FILE
ELVING F RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
ELVING TORRES SANCHEZ                    ADDRESS ON FILE
Elvira Borges                            ADDRESS ON FILE
ELVIRA CABALLERO, JOSE I                 ADDRESS ON FILE
ELVIRA CONCEPCION ROSARIO                ADDRESS ON FILE
ELVIRA CONCEPCION SIERRA                 ADDRESS ON FILE
ELVIRA CUEVAS/DENNIS CUEVAS/DAVID CUEVAS ADDRESS ON FILE
ELVIRA DEL TORO MORALES                  ADDRESS ON FILE
ELVIRA FELICIANO MATIENZO                ADDRESS ON FILE
ELVIRA GONZALEZ ADAMES                   ADDRESS ON FILE
ELVIRA I LOPEZ                           ADDRESS ON FILE
ELVIRA M BAS ORTIZ                       ADDRESS ON FILE




                                                                                       Page 2554 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2555 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ELVIRA M BAS ORTIZ             ADDRESS ON FILE
ELVIRA M GONZALEZ MENDEZ       ADDRESS ON FILE
ELVIRA M GONZALEZ MENDEZ       ADDRESS ON FILE
ELVIRA MORALES, ADALIZ         ADDRESS ON FILE
ELVIRA MORALES, VANESSA        ADDRESS ON FILE
ELVIRA MUNOZ MUNOZ             ADDRESS ON FILE
ELVIRA P CUEVAS VIERA          ADDRESS ON FILE
ELVIRA PEREZ VILELLA           ADDRESS ON FILE
ELVIRA QUINTANA CONDE          ADDRESS ON FILE
ELVIRA SOSTRE SERRANO          ADDRESS ON FILE
ELVIRA SOTO BOSQUES            ADDRESS ON FILE
ELVIRA SOTO RIOS               ADDRESS ON FILE
ELVIRA V. CANCIO CRESPO        ADDRESS ON FILE
ELVIRA VAZQUEZ RIVERA          ADDRESS ON FILE
ELVIRA VELAZQUEZ GOMEZ         ADDRESS ON FILE
ELVIS A FEBUS ORTIZ            ADDRESS ON FILE
ELVIS A MALDONADO CRUZ         ADDRESS ON FILE
ELVIS A MORALES HERNANDEZ      ADDRESS ON FILE
ELVIS CANCEL GONZALEZ          ADDRESS ON FILE
ELVIS CORREA IRIZARRY          ADDRESS ON FILE
ELVIS CORTES ROSA              ADDRESS ON FILE
ELVIS CORTES ROSA              ADDRESS ON FILE
ELVIS D RODRIGUEZ VEGA         ADDRESS ON FILE
ELVIS DE J SOTO GONZALEZ       ADDRESS ON FILE
ELVIS E MONTALVO CRUZ          ADDRESS ON FILE
ELVIS FIGUEROA BAEZ            ADDRESS ON FILE
ELVIS FIGUEROA MALDONADO       ADDRESS ON FILE
ELVIS FRED FLORES RIVERA       ADDRESS ON FILE
ELVIS GABRIEL NIEVES MIRANDA   ADDRESS ON FILE
ELVIS IRIZARRY LOPEZ           ADDRESS ON FILE
ELVIS J APONTE RIVERA          ADDRESS ON FILE
ELVIS J PESANTE CORREA         ADDRESS ON FILE
ELVIS J RIOS REYES             ADDRESS ON FILE
ELVIS J TRINIDAD GARCIA        ADDRESS ON FILE
ELVIS J. RIOS REYES            ADDRESS ON FILE
ELVIS JAVIER BARBOSA CRUZ      ADDRESS ON FILE
ELVIS L OCASIO GARCIA          ADDRESS ON FILE
ELVIS M SANCHEZ LOPEZ          ADDRESS ON FILE
ELVIS MARTINEZ TORRES          ADDRESS ON FILE
ELVIS MONTANEZ GONZALEZ        ADDRESS ON FILE
ELVIS MORA MERCADO             ADDRESS ON FILE
ELVIS N OLMEDA PEREZ           ADDRESS ON FILE
ELVIS N VEGA QUINONES          ADDRESS ON FILE
ELVIS P FELICIANO LORENZO      ADDRESS ON FILE
ELVIS R ZENO SANTIAGO          ADDRESS ON FILE
ELVIS RODRIGUEZ RODRIGUEZ      ADDRESS ON FILE
ELVIS T CUEVAS VALLE           ADDRESS ON FILE
ELVIS T CUEVAS VALLE           ADDRESS ON FILE
ELVIS TORRES COLON             ADDRESS ON FILE
ELVIS TORRES QUINONES          ADDRESS ON FILE
ELVYS SEINO GARCIA             ADDRESS ON FILE
ELWIN VEGA TORRES              ADDRESS ON FILE
ELWOOD M CASELLAS BOND         ADDRESS ON FILE
ELY A COLON MIRANDA            ADDRESS ON FILE
ELY BETANCOURT QUINONEZ        ADDRESS ON FILE
ELY BETH TORRES GONZALEZ       ADDRESS ON FILE
ELY E ARROYO ALVARADO          ADDRESS ON FILE
ELY J LUCIANO SANTIAGO         ADDRESS ON FILE
ELY JAVIER PADILLA PEREZ       ADDRESS ON FILE
ELY JAVIER PADILLA PEREZ       ADDRESS ON FILE




                                                                           Page 2555 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2556 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                          Address1                                     Address2                                   Address3              Address4    City              State   PostalCode   Country
ELY JOSUE SANCHEZ MARTINEZ             ADDRESS ON FILE
ELY LOPEZ MERCEDEZ                     ADDRESS ON FILE
ELY M CASTRO DIODONET                  ADDRESS ON FILE
ELY MARIA ISSAC ANAYA                  ADDRESS ON FILE
ELYAXID I GUEVAREZ ALVAREZ             ADDRESS ON FILE
ELYMAR CATERING                        ADDRESS ON FILE
ELYMIC COLON GARCIA                    ADDRESS ON FILE
ELYNNETTE PEREZ LARACUENTE             ADDRESS ON FILE
ELYSANDRA TORRES ROSA                  ADDRESS ON FILE
ELYSETTE GONZALEZ MORALES              ADDRESS ON FILE
ELYZABETH CAPPAS RODRIGUEZ             ADDRESS ON FILE
ELYZABETH CAPPAS RODRIGUEZ             ADDRESS ON FILE
ELZEBIR ROSARIO SEISE                  ADDRESS ON FILE
EM ACADEMY INC H/N/C CONTINENTAL ACADEMPO BOX 4031                                                                                                               AGUADILLA         PR      00605
EM ASFALTO INC                         RR 1 BOX 1120                                                                                                             ANASCO            PR      00610‐9750
EM ASSURANCE, LLC                      400 CALLE CALAF                                                                                                           SAN JUAN          PR      00918‐1314
EM ELECTRICAL POWER                    FAIRVIEW                                     711 CALLE 44                                                                 SAN JUAN          PR      00926
EM ELECTRICAL POWER INC.               CALLE 44 #711 URB. FAIRVIEW                                                                                               SAN JUAN          PR      00926
EM EXPRESS                             URB LAS DELICIAS 1314                        ULPINANO COLON                                                               PONCE             PR      00728
EM POLICIA PRIVADA INC                 PO BOX 3363                                                                                                               BAYAMON           PR      00958
EM SOFTWARE INC                        39713 HANOVER RIDGE RD                                                                                                    SCIO              OH      43988
EM SYSTEM GROUP                        PMB SUITE 309 #90 AVE. RIO HONDO                                                                                          BAYAMON           PR      00961‐3113
EM SYSTEMS GROUP CORP                  AREA DEL TESORO                              DIVISION DE RECLAMACIONES                                                    SAN JUAN          PR      00902‐4140
EM SYSTEMS GROUP CORP                  CALLE 35 BLOQUE 39 #4                        URB. SIERRA BAYAMON                                                          BAYAMON           PR      00961‐0000
EM SYSTEMS GROUP CORP                  PMB SUITE 309                                AVE RIO HONDO 90                                                             BAYAMON           PR      00961
EM SYSTEMS GROUP CORP                  PMB SUITE 309                                90 AVE RIO HONDO                                                             BAYAMON           PR      00961‐3113
EM SYSTEMS GROUP CORP                  PMB SUITE 309 AVENIDA RIO HONDO                                                                                           BAYAMON           PR      00961‐0000
EM SYSTEMS GROUP CORP                  ZMS PLAZA RIO HONDO SUITE 309                                                                                             BAYAMON           PR      00961‐3100
EMAGAR LANDSCAPING , CORP.             URB. VILLA ASTURIAS , CALLE 34 BLQ. 25 # 1                                                                                CAROLINA          PR      00983‐0000
EMAMANUEL RIVERA RODRIGUEZ             ADDRESS ON FILE
EMANOEL FIGUEROA ARCE                  ADDRESS ON FILE
EMANUAL FORTES BERRIOS                 ADDRESS ON FILE
EMANUEL ACOSTA ALVARADO                ADDRESS ON FILE
EMANUEL ARROYO SODA                    ADDRESS ON FILE
EMANUEL AVILES MARTINEZ                ADDRESS ON FILE
EMANUEL AVILES MARTINEZ DBA V & A      ROOFING CONTRACTORS                          HC 3 BOX 12633                                                               CAMUY             PR      00627
EMANUEL AYALA ACEVEDO                  ADDRESS ON FILE
EMANUEL AYALA ACEVEDO                  LCDO. JOSE R. SANTIAGO PERELES               1705 PASEO LAS COLONIAS URB.VISTA ALEGRE                                     Ponce             PR      00717‐2234
EMANUEL AYALA GONZALEZ                 ADDRESS ON FILE
EMANUEL AYALA GONZALEZ                 ADDRESS ON FILE
EMANUEL BATISTA SANCHEZ                ADDRESS ON FILE
EMANUEL CANDELARIA LASALLE             ADDRESS ON FILE
EMANUEL CARTAGENA ORTIZ                ADDRESS ON FILE
EMANUEL CATALA CHINEA                  ADDRESS ON FILE
EMANUEL COMUNITY HOME,INC              P.O. BOX 2080                                                                                                             AGUADA            PR      00602‐2080
EMANUEL CORTES ACEVEDO                 ADDRESS ON FILE
EMANUEL CRUZ LAGO                      ADDRESS ON FILE
EMANUEL D MIRANDA MELENDEZ             ADDRESS ON FILE
EMANUEL DAVILA COLLAZO                 ADDRESS ON FILE
EMANUEL DIAZ FIGUEROA                  ADDRESS ON FILE
EMANUEL DIAZ ORTIZ                     ADDRESS ON FILE
EMANUEL DIEPPA RIVERA                  ADDRESS ON FILE
EMANUEL DIEPPA RIVERA                  ADDRESS ON FILE
EMANUEL EMILIO PINERO CRUZ             ADDRESS ON FILE
EMANUEL FERRER MENDEZ                  ADDRESS ON FILE
EMANUEL FUENTES DESPIAU                ADDRESS ON FILE
EMANUEL FUENTES V ELA                  LIC HECTOR SANTANA NEVAREZ                   LIC SANTANA                                PO BOX 362529                     SAN JUAN          PR      00936‐2529
EMANUEL FUENTES V ELA                  LIC MICHAEL CORONA                           LIC CORONA                                 110 CALLE BORINQUEN   SUITE 4‐1   TRUJILLO ALTO     PR      00976
EMANUEL GARCIA OJEDA                   ADDRESS ON FILE
EMANUEL GONZALEZ DAVILA                ADDRESS ON FILE




                                                                                                                Page 2556 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2557 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EMANUEL GONZALEZ TORRES           ADDRESS ON FILE
EMANUEL IGLESIAS TORRES           ADDRESS ON FILE
EMANUEL IGLESIAS TORRES           ADDRESS ON FILE
EMANUEL II, GEORGE                ADDRESS ON FILE
EMANUEL J JORGE RODRIGUEZ         ADDRESS ON FILE
EMANUEL J LOPEZ ROSADO            ADDRESS ON FILE
EMANUEL J SANCHEZ TORRES          ADDRESS ON FILE
EMANUEL J VALENTIN HERNANDEZ      ADDRESS ON FILE
EMANUEL LOPEZ MERCADO             ADDRESS ON FILE
EMANUEL LORENZO RAMIREZ           ADDRESS ON FILE
EMANUEL MALDONADO BERRIOS         ADDRESS ON FILE
EMANUEL MARRERO BERRIOS           ADDRESS ON FILE
EMANUEL MARRERO RIVERA            ADDRESS ON FILE
EMANUEL MARRERO RIVERA            ADDRESS ON FILE
EMANUEL MEJIAS LAFONTAINE         ADDRESS ON FILE
EMANUEL MELENDEZ MERCADO          ADDRESS ON FILE
EMANUEL MERLY RIVERA              ADDRESS ON FILE
EMANUEL MOLINA FIGUEROA           ADDRESS ON FILE
EMANUEL NAZARIO RAMIREZ           ADDRESS ON FILE
EMANUEL NEGRON MORALES            ADDRESS ON FILE
EMANUEL NEGRON MORALES            ADDRESS ON FILE
EMANUEL NIEVES MERCED             ADDRESS ON FILE
EMANUEL OCASIO FIGUEROA           ADDRESS ON FILE
EMANUEL OCASIO RODRIGUEZ          ADDRESS ON FILE
EMANUEL ORTIZ ACEVEDO             ADDRESS ON FILE
EMANUEL ORTIZ GONZALEZ            ADDRESS ON FILE
EMANUEL ORTIZ RIVERA              ADDRESS ON FILE
EMANUEL PAGAN COLLAZO             ADDRESS ON FILE
EMANUEL PENA ALICEA               ADDRESS ON FILE
EMANUEL QUINONES ROSA             ADDRESS ON FILE
EMANUEL R APONTE RIVERA           ADDRESS ON FILE
EMANUEL RAMOS GONZALEZ            ADDRESS ON FILE
EMANUEL RESTO MARCANO             ADDRESS ON FILE
EMANUEL REYES CALERO              ADDRESS ON FILE
EMANUEL RICARDO GOMEZ VELEZ       ADDRESS ON FILE
EMANUEL RIVERA CLAVIJO            ADDRESS ON FILE
EMANUEL RIVERA DE JESUS           ADDRESS ON FILE
EMANUEL RIVERA PICORELLI          ADDRESS ON FILE
EMANUEL RIVERA SANTANA            ADDRESS ON FILE
EMANUEL ROBERTO SANCHEZ SANCHEZ   ADDRESS ON FILE
EMANUEL ROBLES DEL VALLE          ADDRESS ON FILE
EMANUEL RODRIGUEZ BORRELI         ADDRESS ON FILE
EMANUEL RODRIGUEZ MELENDEZ        ADDRESS ON FILE
EMANUEL RODRIGUEZ ROSADO          ADDRESS ON FILE
EMANUEL RODRIGUEZ TORRES          ADDRESS ON FILE
EMANUEL ROLON FIGUEROA            ADDRESS ON FILE
EMANUEL ROSADO PAGAN              ADDRESS ON FILE
EMANUEL SALGADO DIAZ              ADDRESS ON FILE
EMANUEL SANTIAGO ROMAN            ADDRESS ON FILE
EMANUEL SANTIAGO SANTANA          ADDRESS ON FILE
EMANUEL SANTIAGO SANTOS           ADDRESS ON FILE
EMANUEL SANTIAGO VILLAFANE        ADDRESS ON FILE
EMANUEL TORRES CRUZ               ADDRESS ON FILE
EMANUEL TORRES LOPEZ              ADDRESS ON FILE
EMANUEL TORRES RIVERA             ADDRESS ON FILE
EMANUEL VAZQUEZ RODRIGUEZ         ADDRESS ON FILE
EMANUEL VEGA GARCIA               ADDRESS ON FILE
EMANUEL VENDING MACHINE INC       500 CARR 149 STE 7                                                               CIALES       PR      00638
EMANUEL ZENO SERRANO              ADDRESS ON FILE
EMANUELEE MARTINEZ ESCOBAR        ADDRESS ON FILE




                                                                              Page 2557 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2558 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                       Address2                                   Address3   Address4   City              State   PostalCode   Country
EMANUELLI ALVELO, OHDRIETT MITCHELLE     ADDRESS ON FILE
EMANUELLI BERMUDEZ, LORENCITA            ADDRESS ON FILE
EMANUELLI DIAZ, MARIA DEL MAR            ADDRESS ON FILE
EMANUELLI FONALLEDAS, EDUARDO            ADDRESS ON FILE
EMANUELLI FREESE, LILIANA                ADDRESS ON FILE
EMANUELLI GONZALEZ, LINNETTE             ADDRESS ON FILE
EMANUELLI RIVERA, AGNES                  ADDRESS ON FILE
EMANUELLI SANCHEZ, RAFAEL                ADDRESS ON FILE
EMANUELLI SANTIAGO, ANNETTE              ADDRESS ON FILE
EMANUELLI SANTIAGO, ARTURO E.            ADDRESS ON FILE
EMANUELY CRUZ FELICIANO                  ADDRESS ON FILE
EMAP LIMITED                             33 39 BOWLING GREEN LANE                                                                        LONDON E                               UNITED KINGDO,
EMAP LIMITED                             P O BOX 64724                  GRATER LONDON HOUSE                                              HAMPSTEAD ROAD            NWI7EJ       UNITED KINGDO,
EMARCADOS & KOMPLEMENTOS                 CAPARRA TERRACE                1434 AVE JESUS T PINERO                                          SAN JUAN          PR      00922
EMARELY ROSA DAVILA                      ADDRESS ON FILE
EMARIE AYALA DIAZ                        ADDRESS ON FILE
EMARIE MORALES ANAYA                     ADDRESS ON FILE
EMARIELY CRUZ GONZALEZ                   ADDRESS ON FILE
EMARIELYS MARRERO NEGRON                 ADDRESS ON FILE
EMAURATH DIAZ RODRIGUEZ                  ADDRESS ON FILE
EMBASSY SUITES DORADO DEL MAR HOTEL      201 DORADO DEL MAR BOULEVARD                                                                    DORADO            PR      00646
EMBASSY SUITES PUERTO RICO INC           8000 CALLE TARTAK                                                                               CAROLINA          PR      00979
EMBRY RIDDLE AERONAUTICAL UNIVERSTTY INC 600 S CLYDE MORRIS BLVD                                                                         DAYTONA BEACH     FL      32114
EMC CORPORATION                          50 CONSTITUTION BOULEVARD                                                                       FRANKLYN          MA      02038
EMC RESTAURANT INC                       PO BOX 362112                                                                                   SAN JUAN          PR      00936
EMCI INTERIOR CONTRACTORS CORP           CIUDAD REAL                    571 CALLE ANDALUCIA                                              VEGA BAJA         PR      00693
EMCOMIUM PUBLICATIONS                    1124 FULLER STREET SUITE 2                                                                      CINCINATI         OH      45202
EMEL MARTIN RIVERA VEGA                  ADDRESS ON FILE
EMELDINA GUASH VALENTIN                  ADDRESS ON FILE
EMELI ESTRADA ARROYO                     ADDRESS ON FILE
EMELIEL ROSADO GONZALEZ                  ADDRESS ON FILE
EMELINA ALMEYDA ROMAN                    ADDRESS ON FILE
EMELINA DE VARONA DEL RIO                ADDRESS ON FILE
EMELINA FLORA SANTIAGO                   ADDRESS ON FILE
EMELINA HERNANDEZ                        ADDRESS ON FILE
EMELINA HERNANDEZ HEREDIA                ADDRESS ON FILE
EMELINA IRIZARRY                         ADDRESS ON FILE
EMELINA RAMOS RIVERA                     ADDRESS ON FILE
EMELINA TORRES RENTAS                    ADDRESS ON FILE
EMELINDA GONZALEZ CONCEPCION             ADDRESS ON FILE
EMELINDA MARCIAL ROMAN                   ADDRESS ON FILE
EMELINDA RIVERA MILLAN                   ADDRESS ON FILE
EMELINDA VARGAS TORRES                   ADDRESS ON FILE
EMELINE LAUREANO ORTIZ                   ADDRESS ON FILE
EMELY A. RODRIGUEZ RIVERA                ADDRESS ON FILE
EMELY BEAUTY CENTER                      248 RAMOS ANTONINI                                                                              MAYAGUEZ          PR      00680
EMELY CANDELARIO LLANOS                  ADDRESS ON FILE
EMELY J CARTAGENA RODRIGUEZ              ADDRESS ON FILE
EMELY J PEREZ RAMIREZ                    ADDRESS ON FILE
EMELY MEDINA SORIANO                     ADDRESS ON FILE
EMELY MUNOZ RODRIGUEZ                    ADDRESS ON FILE
EMELY RAMOS CASTILLO                     ADDRESS ON FILE
EMELY RAMOSNIEVES/ REINALDO FRANQUICARL ADDRESS ON FILE
EMELY RODRIGUEZ SANTOS                   ADDRESS ON FILE
EMELY TRUJILLO ROSADO                    ADDRESS ON FILE
EMERALDO CRUZ GONZALEZ                   ADDRESS ON FILE
EMERENCIA MORALES MORALES                ADDRESS ON FILE
EMERGENCIAS DEL SUR                      PO BOX 692                                                                                      PONCE             PR      00715
EMERGENCIOLOGOS DE PR                    JARDINES REALES SHOPPING       35 CALLE JUAN C BORBON STE 67 PMB 338                            GUAYNABO          PR      00969‐5375




                                                                                                    Page 2558 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2559 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                           Address1                                 Address2                         Address3               Address4   City              State   PostalCode   Country

EMERGENCIOLOGOS PARA PUERTO RICO CSP     PMB 338                                 SUITE 67 #35                     CALLE JUAN C. BORBON              GUAYNABO          PR      00969‐5375
EMERGENCY CRITICAL CARE TRAININGS LLC    PO BOX 11546                                                                                               SAN JUAN          PR      00922‐1546
EMERGENCY & MEDICAL EQUIPMENTS CORP      PMB 291 BOX 2500                                                                                           TRUJILLO ALTO     PR      00977‐2500
EMERGENCY BOOKS & TRAINING MATERIAL, INC 1650 NW 128TH DR. APT. 101                                                                                 SUNRISE           FL      33323‐5206
EMERGENCY FOOD AND SHELTER               PO BOX 530217                                                                                              ATLANTA           GA      30353‐0217
EMERGENCY MEDICAL CARE , INC.            P. O. BOX 852                                                                                              SAN LORENZO       PR      00754‐0000
EMERGENCY PERSONAL HEALTH DATA INC       PO BOX 142146                                                                                              ARECIBO           PR      00614‐2146
EMERGENCY POWER AND SECURITY SOLUTIONS 1121 AMERICO MIRANDA                                                                                         SAN JUAN          PR      00921
EMERGENCY POWER AND SECURTY SOLUTION 1121 AMERICO MIRANDA REPARTO METROPOLITANO                                                                     SAN JUAN          PR      00921‐0000
EMERGENCY PRACTICE MANAGEMENT GROUP P.PO BOX 363589                                                                                                 SAN JUAN          PR      00936‐3589
EMERGENCY TECHNICAL SERVICES             HC 5 PO BOX 7219                                                                                           GUAYNABO          PR      00971
EMERIC CARAMBOT, JOSE M                  ADDRESS ON FILE
EMERIC CATARINEAU, VICTOR                ADDRESS ON FILE
EMERIC CLEMENTE, MANUEL                  ADDRESS ON FILE
EMERIDA BACHILLER NIEVES                 ADDRESS ON FILE
EMERIDA BACHILLER NIEVES                 ADDRESS ON FILE
EMERIDA DIAZ CINTRON                     ADDRESS ON FILE
EMERIDA RIVERA OFARRELL                  ADDRESS ON FILE
EMERIELIS TORRES PEREZ                   ADDRESS ON FILE
EMERITA DELGADO AGOSTO                   ADDRESS ON FILE
EMERITA GARCIA ROBLES                    ADDRESS ON FILE
EMERITA JULBE RIVERA                     ADDRESS ON FILE
EMERITA LEBRON CORTES                    ADDRESS ON FILE
EMERITA MALDONADO MIRANDA                ADDRESS ON FILE
EMERITA MENDEZ RIOS                      ADDRESS ON FILE
EMERITA MENDEZ RIOS                      ADDRESS ON FILE
EMERITA MOTTA ROSA                       ADDRESS ON FILE
EMERITA SANTIAGO COLON                   ADDRESS ON FILE
EMERITA VALENTIN QUINONES                ADDRESS ON FILE
EMERITA VELEZ RODRIGUEZ                  ADDRESS ON FILE
EMERITO ALVARADO RODRIGUEZ               ADDRESS ON FILE
EMERITO AQUINO RAMOS                     ADDRESS ON FILE
EMERITO ESTRADA RIVERA ISUZU DE PR INC   PO BOX 11847                                                                                               SAN JUAN          PR      00922
EMERITO FLORES MALAVE                    ADDRESS ON FILE
EMERITO FLORES NAZARIO                   ADDRESS ON FILE
EMERITO G TORRES PEREZ/ELI A PEREZ MENDE ADDRESS ON FILE
EMERITO GASTON PENA                      ADDRESS ON FILE
EMERITO GONZALEZ SANTIAGO                ADDRESS ON FILE
EMERITO ROMAN MILLET                     ADDRESS ON FILE
EMERITO RUPERTO TORRES                   ADDRESS ON FILE
EMERY DEL C SANTIAGO AVILES              ADDRESS ON FILE
EMERY WORLWIDE                           A CF COMPANY BOX 371232M                                                                                   PITTSBURG         PA      15250
EMETERIO OQUENDO RIVERA                  ADDRESS ON FILE
EMETERIO QUINONES MEDINA                 ADDRESS ON FILE
EMETERIO RODRIGUEZ MONTES                ADDRESS ON FILE
EMG INC                                  129 GUAYAMA STREET                                                                                         SAN JUAN          PR      00917
EMG LEGAL PARTNERS PSC                   EDIFICIO LA ELECTRONICA OFICINA 211     CALLE BORI 1608                                                    SAN JUAN          PR      00927
EMG, INC. (CHROMAGAR‐HYLABS)             129 GUYAMA ST                                                                                              SAN JUAN          PR      00917
EMH REGIONAL MEDICAL CENTER
EMI QUINONES VELEZ                       ADDRESS ON FILE
EMIANNETTE ROMAN PEREZ                   ADDRESS ON FILE
EMIBEL MUNOZ COLON                       ADDRESS ON FILE
EMIBELL CHONG TRINIDAD                   ADDRESS ON FILE
EMICA P S C                              130 AVE WINSTON CHURCHILL STE 1 PMB 176                                                                    SAN JUAN          PR      00926‐6066
EMICELY TORRES GRACIA                    ADDRESS ON FILE
EMIDIO G SIERRA GONZALEZ                 ADDRESS ON FILE
EMIGDIO RAMIREZ MARTINEZ                 ADDRESS ON FILE
EMIILIO CAZANO                           ADDRESS ON FILE
EMIL J RODRIGUEZ ESCUDERO                ADDRESS ON FILE




                                                                                                   Page 2559 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2560 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EMIL NIEVES MOURNIER           ADDRESS ON FILE
EMIL NIEVES MOURNIER           ADDRESS ON FILE
EMIL SOLER FELICIE             ADDRESS ON FILE
EMILARIE QUINONES FONSECA      ADDRESS ON FILE
EMILDA MALDONADO MEDINA        ADDRESS ON FILE
EMILE A DANET GARCIA           ADDRESS ON FILE
EMILIA ALVARADO INGLES         ADDRESS ON FILE
EMILIA ALVAREZ HERNANDEZ       ADDRESS ON FILE
EMILIA CORREA COLON            ADDRESS ON FILE
EMILIA E. RAMOS SANTANA        ADDRESS ON FILE
EMILIA GONZALEZ SANTIAGO       ADDRESS ON FILE
EMILIA GRAU                    ADDRESS ON FILE
EMILIA HEREDIA VEGA            ADDRESS ON FILE
EMILIA I RODRIGUEZ TOLEDO      ADDRESS ON FILE
EMILIA IRIZARRY VAZQUEZ        ADDRESS ON FILE
EMILIA IRIZARRY VAZQUEZ        ADDRESS ON FILE
EMILIA LAMBOY SANTIAGO         ADDRESS ON FILE
EMILIA MONTERO                 ADDRESS ON FILE
EMILIA NUNEZ HOYO              ADDRESS ON FILE
EMILIA OLAZAGASTI TORRES       ADDRESS ON FILE
EMILIA ORTIZ                   ADDRESS ON FILE
EMILIA ORTIZ LESPIER           ADDRESS ON FILE
EMILIA ORTIZ ORTIZ             ADDRESS ON FILE
EMILIA QUINONES                ADDRESS ON FILE
EMILIA RAMIREZ TRABAL          ADDRESS ON FILE
EMILIA RAMOS PEREZ             ADDRESS ON FILE
EMILIA RODRIGUEZ LEBRON        ADDRESS ON FILE
EMILIA ROSARIO ORTIZ           ADDRESS ON FILE
EMILIANA RODRIGUEZ ARROYO      ADDRESS ON FILE
EMILIANO ALVAREZ RUIZ          ADDRESS ON FILE
EMILIANO AYALA APONTE          ADDRESS ON FILE
EMILIANO CALDERON, MAIRENA     ADDRESS ON FILE
EMILIANO COLON SEGARRA         ADDRESS ON FILE
EMILIANO FALU LANZO            ADDRESS ON FILE
EMILIANO FELICIANO HERNANDEZ   ADDRESS ON FILE
EMILIANO FONTANEZ RIVERA       ADDRESS ON FILE
EMILIANO GARCIA                ADDRESS ON FILE
EMILIANO GONZALEZ COLON        ADDRESS ON FILE
EMILIANO J VELEZ TORRES        ADDRESS ON FILE
EMILIANO MACHADO VAZQUEZ       ADDRESS ON FILE
EMILIANO MATOS LORENZO         ADDRESS ON FILE
EMILIANO NEGRON RAMIREZ        ADDRESS ON FILE
EMILIANO NEGRON RIVERA         ADDRESS ON FILE
Emiliano Quiles Pagan          ADDRESS ON FILE
EMILIANO QUINONEZ GONZALEZ     ADDRESS ON FILE
EMILIANO RODRIGUEZ RIVERA      ADDRESS ON FILE
EMILIANO ROSARIO ALMODOVAR     ADDRESS ON FILE
EMILIANO SANTOS REILLO         ADDRESS ON FILE
EMILIANO TORRES ORTIZ          ADDRESS ON FILE
EMILIANO TRIGO FRITZ           ADDRESS ON FILE
EMILIANO VAZQUEZ FELICIANO     ADDRESS ON FILE
EMILICE CORREA CORREA          ADDRESS ON FILE
EMILICE CORREA CORREA          ADDRESS ON FILE
EMILIE B COLON TORRES          ADDRESS ON FILE
EMILIENNE CACERES ECHEVARRIA   ADDRESS ON FILE
EMILIO A AMEZQUITA SOTO        ADDRESS ON FILE
EMILIO A HERNANDEZ ROMAGUERA   ADDRESS ON FILE
EMILIO A PLAZA CRUZ            ADDRESS ON FILE
EMILIO A RAMIREZ RIVERA        ADDRESS ON FILE
EMILIO ACEVEDO DIAZ            ADDRESS ON FILE




                                                                           Page 2560 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2561 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                             Address1                         Address2                                 Address3   Address4   City         State   PostalCode   Country
EMILIO ACEVEDO TORRES                     ADDRESS ON FILE
EMILIO AGUIRRE TORRES                     ADDRESS ON FILE
EMILIO ALAMO FONTANEZ                     ADDRESS ON FILE
EMILIO ANDINO DIAZ                        ADDRESS ON FILE
EMILIO APONTE CARRASQUILLO                LCDO. ROBERTO BONANO RODRIGUEZ   AVE.INCIPAL BARALT I‐31                                        FAJARDO      PR      00738
EMILIO APONTE NAVARRO                     ADDRESS ON FILE
EMILIO AROCHO REYES                       ADDRESS ON FILE
EMILIO ARROYO ORTIZ                       ADDRESS ON FILE
EMILIO BAEZ CINTRON                       ADDRESS ON FILE
EMILIO BARBOSA VELEZ, INC                 PO BOX 1286                                                                                     SAN JUAN     PR      00936
EMILIO BONES RAMOS                        ADDRESS ON FILE
EMILIO C NAVARRO MARTIN                   ADDRESS ON FILE
EMILIO CAMACHO DELGADO                    ADDRESS ON FILE
EMILIO CAMPOS REYES                       ADDRESS ON FILE
EMILIO CANCIO BELLO JR CSP                ADDRESS ON FILE
EMILIO CANDELARIO LOPEZ                   ADDRESS ON FILE
EMILIO CASTRILLON CARDONA                 ADDRESS ON FILE
EMILIO CIVIDANES FREIRIA                  ADDRESS ON FILE
EMILIO CIVIDANES FREIRIA                  ADDRESS ON FILE
EMILIO CRUZ                               ADDRESS ON FILE
EMILIO CRUZ BAEZ                          ADDRESS ON FILE
EMILIO DE JESUS COLLLAZO Y MARIA ROSADO   ADDRESS ON FILE
EMILIO DE JESUS COTTO                     ADDRESS ON FILE
EMILIO DE LEON SANTIAGO                   ADDRESS ON FILE
EMILIO DEL TORO AGRELOT                   ADDRESS ON FILE
EMILIO DEL TORO AGRELOT                   ADDRESS ON FILE
EMILIO DEL TORO GUILLERMETY               ADDRESS ON FILE
EMILIO DELGADO OCASIO                     ADDRESS ON FILE
EMILIO E PEREZ OLIVERAS                   ADDRESS ON FILE
EMILIO E PEREZ QUILES                     ADDRESS ON FILE
EMILIO E. ACOSTA RODRÍGUEZ 685‐950        LCDO. EMILIO ACOSTA              HC‐4 BOX 11925                                                 YAUCO        PR      00698
EMILIO ERNESTO ACOSTA RODRIGUEZ           ADDRESS ON FILE
EMILIO FELICIANO BARBOSA                  ADDRESS ON FILE
EMILIO GONZALEZ ESPINAL                   ADDRESS ON FILE
EMILIO GONZALEZ ESPINAL                   ADDRESS ON FILE
EMILIO H DAVILA BRAVO                     ADDRESS ON FILE
EMILIO HERNANDEZ MENDOZA                  ADDRESS ON FILE
EMILIO J ROSARIO MORALES                  ADDRESS ON FILE
EMILIO J TORRES QUINONES                  ADDRESS ON FILE
EMILIO J VELAZQUEZ RUIZ                   ADDRESS ON FILE
EMILIO J. GOMEZ PAGAN                     ADDRESS ON FILE
EMILIO JIMENEZ MORALES Y NELSON D SOTO    ADDRESS ON FILE
EMILIO JIMENEZ ORTIZ                      ADDRESS ON FILE
EMILIO LARA RODRIGUEZ                     ADDRESS ON FILE
EMILIO LOPEZ GELIGA                       ADDRESS ON FILE
EMILIO LOPEZ TORRES                       ADDRESS ON FILE
EMILIO LOZADA RIVERA                      ADDRESS ON FILE
EMILIO MALDONADO BURGOS                   ADDRESS ON FILE
EMILIO MARENGO RIOS                       ADDRESS ON FILE
EMILIO MARQUEZ LOPEZ                      ADDRESS ON FILE
EMILIO MARRERO PEREZ                      ADDRESS ON FILE
EMILIO MARTINEZ CIMADEVILLA               ADDRESS ON FILE
EMILIO MARTY                              ADDRESS ON FILE
EMILIO MASSAS DELGADO                     ADDRESS ON FILE
EMILIO MELENDEZ CAMACHO                   ADDRESS ON FILE
EMILIO MELENDEZ RIVERA                    ADDRESS ON FILE
EMILIO MENDEZ HERNANDEZ                   ADDRESS ON FILE
EMILIO MILLAN CARRASQUILLO                ADDRESS ON FILE
EMILIO MONTANEZ DELERME                   ADDRESS ON FILE
EMILIO MORALES MATIAS                     ADDRESS ON FILE




                                                                                                     Page 2561 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2562 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                          Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
EMILIO MORENO MELENDEZ                 ADDRESS ON FILE
EMILIO MULERO LLC                      PO BOX 614                                                                        CAGUAS       PR      00725
EMILIO MUNIZ RIVERA                    ADDRESS ON FILE
EMILIO NIEVES ACEVEDO                  ADDRESS ON FILE
EMILIO NIEVES GRAFALS                  ADDRESS ON FILE
EMILIO OCASIO CLASS                    ADDRESS ON FILE
EMILIO OQUENDO MOLINA                  ADDRESS ON FILE
EMILIO ORTIZ CRUZ                      ADDRESS ON FILE
EMILIO ORTIZ DE JESUS                  ADDRESS ON FILE
EMILIO ORTIZ JUSINO                    ADDRESS ON FILE
EMILIO PACHECO MORALES                 ADDRESS ON FILE
EMILIO PENA FONSECA                    ADDRESS ON FILE
EMILIO PEREZ MOLINA                    ADDRESS ON FILE
EMILIO PEREZ MOLINA                    ADDRESS ON FILE
EMILIO PORTALATIN IRIZARRY             ADDRESS ON FILE
EMILIO R TORRES ANTUNANO               ADDRESS ON FILE
EMILIO RAMOS ACEVEDO                   ADDRESS ON FILE
EMILIO RAMOS FUENTES                   ADDRESS ON FILE
EMILIO RAMOS ROBLES                    ADDRESS ON FILE
EMILIO REYES CARRASQUILLO              ADDRESS ON FILE
EMILIO RIOS TORRES                     ADDRESS ON FILE
EMILIO RIVERA CRUZ                     ADDRESS ON FILE
EMILIO RIVERA MERCADO                  ADDRESS ON FILE
EMILIO RIVERA RIVERA                   ADDRESS ON FILE
EMILIO RIVERA RIVERA                   ADDRESS ON FILE
EMILIO RODRIGUEZ FERNANDEZ             ADDRESS ON FILE
EMILIO RODRIGUEZ ORTIZ                 ADDRESS ON FILE
EMILIO ROJAS MENDEZ                    ADDRESS ON FILE
EMILIO ROJAS MENDEZ                    ADDRESS ON FILE
EMILIO ROSA PEREZ                      ADDRESS ON FILE
EMILIO ROSADO REYES                    ADDRESS ON FILE
EMILIO ROSADO RODRIGUEZ                ADDRESS ON FILE
EMILIO ROSADO VARGAS                   ADDRESS ON FILE
EMILIO RUIZ ROSA                       ADDRESS ON FILE
EMILIO SANTIAGO ORTIZ                  ADDRESS ON FILE
EMILIO SANTOS RODRIGUEZ                ADDRESS ON FILE
EMILIO SEGARRA BATISTA                 ADDRESS ON FILE
EMILIO SIERRA MONTILLA                 ADDRESS ON FILE
EMILIO TORRES MUNIZ                    ADDRESS ON FILE
EMILIO TORRES RODRIGUEZ                ADDRESS ON FILE
EMILIO TORRES SANTANA                  ADDRESS ON FILE
EMILIO VAZQUEZ OJEDA                   ADDRESS ON FILE
EMILIO VELAZQUEZ FIGUEROA              ADDRESS ON FILE
EMILIO VELAZQUEZ FIGUEROA              ADDRESS ON FILE
EMILIO VELEZ JIMENEZ                   ADDRESS ON FILE
EMILIO VELEZ ROSARIO                   ADDRESS ON FILE
EMILIO VELEZ ROSARIO DBA LINEA VELEZ   HC ‐ 03 BOX 21225                                                                 ARECIBO      PR      00659‐0000
EMILIO VILA CARRERAS                   ADDRESS ON FILE
EMILIO'S POOL & SPACENTER              MUNOZ RIVERA              25 AVE ESMERALDA                                        GUAYNABO     PR      00969
EMILIS ARLENE QUINTANA AVILES          ADDRESS ON FILE
EMILLE J ROSARIO AGOSTO                ADDRESS ON FILE
EMILLIE KUILAN MALDONADO               ADDRESS ON FILE
EMILLY D MELENDEZ CASTILLO             ADDRESS ON FILE
EMILSE Y GARCIA ROSARIO                ADDRESS ON FILE
EMILSIE MORAN RAMOS                    ADDRESS ON FILE
EMILY A CUPELY RODRIGUEZ               ADDRESS ON FILE
EMILY BRUGMAN MERCADO                  ADDRESS ON FILE
EMILY C LOVOS SANCHEZ                  ADDRESS ON FILE
EMILY CINTRON MELENDEZ                 ADDRESS ON FILE
EMILY COLON LARACUENTE                 ADDRESS ON FILE




                                                                                    Page 2562 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2563 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                            Address1                     Address2                                 Address3   Address4   City             State   PostalCode   Country
Emily Cristina Arroyo Amaro              ADDRESS ON FILE
EMILY CRUZ CRUZ                          ADDRESS ON FILE
EMILY D DAVILA RIVERA                    ADDRESS ON FILE
EMILY D PADILLA SEPULVEDA                ADDRESS ON FILE
EMILY DEL M ORTIZ FIGUEROA               ADDRESS ON FILE
EMILY E IRIZARRY PAGAN                   ADDRESS ON FILE
EMILY E OTERO CRESPO                     ADDRESS ON FILE
EMILY E. IRIZARRY PAGAN                  ADDRESS ON FILE
EMILY ECHEVARRIA PAGAN                   ADDRESS ON FILE
EMILY GARCIA RIVERA                      ADDRESS ON FILE
EMILY I RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
EMILY LATORRE GONZALEZ                   ADDRESS ON FILE
EMILY LORAN VELAZQUEZ                    ADDRESS ON FILE
EMILY M GERENA SILVA                     ADDRESS ON FILE
EMILY M PEREZ TORRES                     ADDRESS ON FILE
EMILY M TIRADO CORCINO                   ADDRESS ON FILE
EMILY M. MATOS SANCHEZ                   ADDRESS ON FILE
EMILY MARIE VENTURA MORALES              ADDRESS ON FILE
EMILY MELENDEZ VEGA                      ADDRESS ON FILE
EMILY MONTAðEZ LOPEZ                     ADDRESS ON FILE
EMILY MONTANEZ LOPEZ                     ADDRESS ON FILE
EMILY MONTANEZ LOPEZ                     ADDRESS ON FILE
EMILY MUNIZ PEREZ                        ADDRESS ON FILE
EMILY N GONZALEZ MARTINEZ                ADDRESS ON FILE
EMILY NEGRON VARGAS                      ADDRESS ON FILE
EMILY OLIVO SERRANO                      ADDRESS ON FILE
EMILY OLIVO SERRANO                      ADDRESS ON FILE
EMILY ORTIZ FRANCO                       ADDRESS ON FILE
EMILY ORTIZ SANCHEZ                      ADDRESS ON FILE
EMILY ORTIZ SANCHEZ                      ADDRESS ON FILE
EMILY PANTOJA LAZA                       ADDRESS ON FILE
EMILY PANTOJA LAZA                       ADDRESS ON FILE
EMILY PANTOJAS LAZA                      ADDRESS ON FILE
EMILY PANTOJAS LAZA                      ADDRESS ON FILE
EMILY REYES Y CCD QUILLET DE LOS NINOS   ADDRESS ON FILE
EMILY RODRIGUEZ RAMOS                    ADDRESS ON FILE
EMILY RODRIGUEZ SILVA                    ADDRESS ON FILE
EMILY ROSA GODEN                         ADDRESS ON FILE
EMILY SANTA RODRIGUEZ                    ADDRESS ON FILE
EMILY SANTANA MEDINA                     ADDRESS ON FILE
EMILY SANTIAGO RODRIGUEZ                 ADDRESS ON FILE
EMILY SOLIS                              ADDRESS ON FILE
EMILY VAZQUEZ PEREZ                      ADDRESS ON FILE
EMILY YARLEEN FELICIANO CRUZ             ADDRESS ON FILE
EMILYURELIS VIRUET LOPEZ                 ADDRESS ON FILE
EMINEE SILVA CABRERA                     ADDRESS ON FILE
EMINETH RODRIGUEZ LUCIANO                ADDRESS ON FILE
EMIR A FUENTES PANET                     ADDRESS ON FILE
EMIR S RIVERA CASTILLO                   ADDRESS ON FILE
EMIRE N RODRIGUEZ                        ADDRESS ON FILE
EMIRKA DELGADO                           ADDRESS ON FILE
EMIRY MALDONADO RIVERA                   ADDRESS ON FILE
EMISAEL BERRIOS COLON                    ADDRESS ON FILE
EMISORA NUEVA VICTORIA                   ADDRESS ON FILE
EMM SYSTEM GROUP CORP                    PLAZA RIO HONDO MALL         90 AVE RIO HONDO STE 10                                        BAYAMON          PR      00961
EMMA AROCHO PIRIS                        ADDRESS ON FILE
EMMA BURGOS COLLAZO                      ADDRESS ON FILE
EMMA C MERCADO FLORES                    ADDRESS ON FILE
EMMA CARABALLO VEGA                      ADDRESS ON FILE
EMMA COLÓN SANTIAGO                      LCDO. PABLO COLÓN SANTIAGO   APARTADO 801175                                                COTTO LAUREL     PR      00780‐1175




                                                                                                Page 2563 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2564 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EMMA COLON TELLADO                       ADDRESS ON FILE
EMMA CUELLO CABRERA                      ADDRESS ON FILE
EMMA CUEVAS TOLEDO                       ADDRESS ON FILE
EMMA D BELEN SANTIAGO                    ADDRESS ON FILE
EMMA DE LA CRUZ GOMEZ                    ADDRESS ON FILE
EMMA E BERRIOS MORALES                   ADDRESS ON FILE
EMMA E QUINONES QUINONES                 ADDRESS ON FILE
EMMA E TORRES MORALES                    ADDRESS ON FILE
EMMA E TORRES MORALES                    ADDRESS ON FILE
EMMA EDITH NIEVES MONTANEZ               ADDRESS ON FILE
EMMA G MONTALVO CARABALLO                ADDRESS ON FILE
EMMA G OLMEDO AMARO                      ADDRESS ON FILE
EMMA G TORRES DE VEGA                    ADDRESS ON FILE
EMMA G. MONTALVO CARABALLO               ADDRESS ON FILE
EMMA G. MONTALVO CARABALLO               ADDRESS ON FILE
EMMA H. COLON MUNIZ                      ADDRESS ON FILE
EMMA I ABREU PEREZ                       ADDRESS ON FILE
EMMA I APONTE ORTIZ / IDEAS ARTES MANUAL ADDRESS ON FILE
EMMA I COLON Y NELIDA R COLON            ADDRESS ON FILE
EMMA I FIGUERAS RASABE                   ADDRESS ON FILE
EMMA I HERNANDEZ ADAMES                  ADDRESS ON FILE
EMMA I. MOLINA MOLINA                    ADDRESS ON FILE
EMMA I. SANTOS RAMOS                     ADDRESS ON FILE
EMMA IDALIA BERRIOS LOPEZ                ADDRESS ON FILE
EMMA J LLINAS CARTAGENA                  ADDRESS ON FILE
EMMA J QUIðONES VAZQUEZ                  ADDRESS ON FILE
EMMA J QUINONES VAZQUEZ                  ADDRESS ON FILE
EMMA J QUINONES VAZQUEZ                  ADDRESS ON FILE
EMMA J RIVERA DIAZ                       ADDRESS ON FILE
EMMA J SANCHEZ PATINO                    ADDRESS ON FILE
EMMA J. CUEVAS MATOS                     ADDRESS ON FILE
EMMA J. LOPEZ RODRIGUEZ                  ADDRESS ON FILE
EMMA J. MARRERO PAGAN                    ADDRESS ON FILE
EMMA L MUNOZ SANTIAGO                    ADDRESS ON FILE
EMMA L RIVERA FIGUEROA                   ADDRESS ON FILE
EMMA L RODRIGUEZ MARTINEZ                ADDRESS ON FILE
EMMA L SANCHEZ MONTANEZ                  ADDRESS ON FILE
EMMA L SANTELL SANCHEZ                   ADDRESS ON FILE
EMMA LA TORRE OTERO                      ADDRESS ON FILE
EMMA LANDRON PEREZ                       ADDRESS ON FILE
EMMA LUIGGI                              ADDRESS ON FILE
EMMA LUZ CRUZ ROSARIO                    ADDRESS ON FILE
EMMA M MUNOZ BUITRAGO                    ADDRESS ON FILE
EMMA M QUERO TORRES                      ADDRESS ON FILE
EMMA M RAMIREZ LA TORRE                  ADDRESS ON FILE
EMMA M REIGOSA Y EMMA CUELLO             ADDRESS ON FILE
EMMA MARIN DE LEON                       ADDRESS ON FILE
EMMA MARRERO PAGAN                       ADDRESS ON FILE
EMMA MARTINEZ COLON                      ADDRESS ON FILE
EMMA MARTINEZ HERNANDEZ                  ADDRESS ON FILE
EMMA MD , JOSEPH D                       ADDRESS ON FILE
EMMA MELENDEZ LABOY                      ADDRESS ON FILE
EMMA MING MING NG NG                     ADDRESS ON FILE
EMMA MORALES BARRIOS                     ADDRESS ON FILE
EMMA MORALES COLON                       ADDRESS ON FILE
EMMA MORALES ROMAN                       ADDRESS ON FILE
EMMA MUNIZ GONZALEZ / ESC SUP M CADILLA ADDRESS ON FILE
EMMA N COLON CAMACHO                     ADDRESS ON FILE
EMMA N DIAZ ROLDAN                       ADDRESS ON FILE
EMMA ORTIZ RODRIGUEZ                     ADDRESS ON FILE




                                                                                     Page 2564 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2565 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                         Address1                  Address2                                   Address3                Address4   City         State   PostalCode   Country
EMMA OTERO SANCHEZ                    ADDRESS ON FILE
EMMA OYOLA COLON                      ADDRESS ON FILE
EMMA P. ALTIERY ORTIZ                 ADDRESS ON FILE
EMMA PANTOJAS BENITEZ                 ADDRESS ON FILE
EMMA PANTOJAS BENITEZ                 ADDRESS ON FILE
EMMA QUINONES OCASIO                  ADDRESS ON FILE
EMMA R ARZOLA CARABALLO               ADDRESS ON FILE
EMMA R COLON PENA                     ADDRESS ON FILE
EMMA R DIAZ HERNANDEZ                 ADDRESS ON FILE
EMMA R JIMENEZ ARROYO                 ADDRESS ON FILE
EMMA R RODRIGUEZ NEGRON               ADDRESS ON FILE
EMMA R SANTOS QUILES                  ADDRESS ON FILE
EMMA ROCHET SANTORO                   ADDRESS ON FILE
EMMA ROCHET SANTORO                   ADDRESS ON FILE
EMMA RODAS MULERO                     ADDRESS ON FILE
EMMA S BEAUTY ACADEMY                 ADDRESS ON FILE
EMMA S CONDIE                         ADDRESS ON FILE
EMMA SAMBOLIN QUINONES                ADDRESS ON FILE
EMMA SANTIAGO SANTIAGO                ADDRESS ON FILE
EMMA SEPULVEDA MARKETING MIX INC      EDIF WILSON PARK          1357 CALLE WILSON APT 502                                                     SAN JUAN     PR      00907
EMMA SEPULVEDA & MARKETING MIX INC    COND WILSON PLAZA 1357    SUITE 602                                                                     SAN JUAN     PR      00907
EMMA SUAREZ BERNIER                   ADDRESS ON FILE
EMMA V BERRIOS MARTINEZ               ADDRESS ON FILE
EMMA, MELENDEZ                        ADDRESS ON FILE
EMMALIND GARCIA GARCIA                ADDRESS ON FILE
EMMANUEL A COLON FIGUEROA             ADDRESS ON FILE
EMMANUEL A HERNANDEZ OCASIO           ADDRESS ON FILE
EMMANUEL A MORENO Y LAURIE S RIVERA   ADDRESS ON FILE
EMMANUEL ACEVEDO GONZALEZ             ADDRESS ON FILE
EMMANUEL ANGELATOS PIGNORI            ADDRESS ON FILE

                                                                                                           CALLE ESTEBAN PADILLA
EMMANUEL APONTE COLON                 LIC. MANUEL L. MORALES    URB. SANTA CRUZ                            NUM. 47 SUITE 1‐A                  BAYAMON      PR      00961
EMMANUEL ARROYO / MARY LUZ ESPINELL   ADDRESS ON FILE
EMMANUEL ARROYO GIRONA                ADDRESS ON FILE
EMMANUEL ASIA RODRIGUEZ               ADDRESS ON FILE
EMMANUEL AYALA ROSADO                 ADDRESS ON FILE
EMMANUEL AYENDEZ                      ADDRESS ON FILE
EMMANUEL BOBE ROSARIO                 ADDRESS ON FILE
EMMANUEL CABRERA                      ADDRESS ON FILE
EMMANUEL CABRERA ROSARIO              ADDRESS ON FILE
EMMANUEL CALZADA PEREZ                ADDRESS ON FILE
EMMANUEL CEDENO MADERA                ADDRESS ON FILE
EMMANUEL CHEVERE RIVERA               ADDRESS ON FILE
EMMANUEL CHEVERE RIVERA               ADDRESS ON FILE
EMMANUEL CINTRON GONZALEZ             ADDRESS ON FILE
EMMANUEL CLAUDIO MORALES              ADDRESS ON FILE
EMMANUEL COLON PAGAN                  ADDRESS ON FILE
EMMANUEL COLON ROMERO                 ADDRESS ON FILE
EMMANUEL CRUZ ORTIZ                   ADDRESS ON FILE
EMMANUEL CRUZ ROMERO                  ADDRESS ON FILE
EMMANUEL CUBERO JIMENEZ               ADDRESS ON FILE
EMMANUEL DELGADO PEREZ                ADDRESS ON FILE
EMMANUEL DIAZ DIAZ                    ADDRESS ON FILE
EMMANUEL DIAZ MACHIN                  ADDRESS ON FILE
EMMANUEL DIAZ RIVERA                  ADDRESS ON FILE
EMMANUEL E SANTIAGO ORTIZ             ADDRESS ON FILE
EMMANUEL EDMOND                       ADDRESS ON FILE
EMMANUEL FEBUS PARIS                  ADDRESS ON FILE
EMMANUEL FERNANDEZ CORDOVA            ADDRESS ON FILE




                                                                                            Page 2565 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2566 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                            Address1                                 Address2                                 Address3    Address4             City         State   PostalCode   Country
                                                                                                                                       1606 Ave. Ponce De
EMMANUEL FERNANDEZ JORGE                 EILEEN LANDRÓN GUARDIOLA; EDUARDO VERA REDIFICIO JULIO BOGORICÍN                  SUITE 501   LEÓN                 SAN JUAN     PR      00909
EMMANUEL FIGUEROA / DBA/ JARDIN LA JALDA BO CAONILLAS                            CARR 726 KM 2.2                                                            AIBONITO     PR      00705
EMMANUEL FIGUEROA ROBLES                 ADDRESS ON FILE
EMMANUEL FLORES VELEZ                    ADDRESS ON FILE
EMMANUEL FONTANILLA ESPINAL              ADDRESS ON FILE
EMMANUEL G PINERO CASTRO                 ADDRESS ON FILE
EMMANUEL GILBES MARTINEZ                 ADDRESS ON FILE
EMMANUEL GOMEZ DEL RIO                   ADDRESS ON FILE
EMMANUEL GONZALEZ FLORES                 ADDRESS ON FILE
EMMANUEL GONZALEZ MARRERO                ADDRESS ON FILE
EMMANUEL GONZALEZ PENA                   ADDRESS ON FILE
EMMANUEL HERNANDEZ DAVILA                ADDRESS ON FILE
EMMANUEL HERNANDEZ PEREZ                 ADDRESS ON FILE
EMMANUEL HERNANDEZ SALAS                 ADDRESS ON FILE
EMMANUEL HERNANDEZ URRUTIA               ADDRESS ON FILE
EMMANUEL HUERTAS LEON                    CARLOS M. CALDERON GARNIER              PO BOX 193881                                                              SAN JUAN     PR      00919
EMMANUEL IRIZARRY SOTO                   ADDRESS ON FILE
EMMANUEL IZQUIERDO CARRERO               ADDRESS ON FILE
EMMANUEL J CRUZ TORRES                   ADDRESS ON FILE
EMMANUEL J MARTINEZ FERNANDEZ            ADDRESS ON FILE
EMMANUEL J MORALES ANDINO                ADDRESS ON FILE
EMMANUEL J SOTO VELEZ                    ADDRESS ON FILE
EMMANUEL J TARTAK PUJADAS                ADDRESS ON FILE
EMMANUEL J.FREYRE FIGUEROA               ADDRESS ON FILE
EMMANUEL JIMENEZ SANCHEZ                 ADDRESS ON FILE
EMMANUEL LEBRON DE JESUS                 ADDRESS ON FILE
EMMANUEL LEBRON DE JESUS                 ADDRESS ON FILE
EMMANUEL LLAVONA VEGA                    ADDRESS ON FILE
EMMANUEL LOPEZ GONZALEZ                  ADDRESS ON FILE
EMMANUEL LOPEZ MARTINEZ                  ADDRESS ON FILE
EMMANUEL LUGO TORO                       ADDRESS ON FILE
EMMANUEL LUGO TORO                       ADDRESS ON FILE
EMMANUEL MARTIN ACOSTA                   ADDRESS ON FILE
EMMANUEL MARTINEZ MARTINEZ               ADDRESS ON FILE
EMMANUEL MARTINEZ VAZQUEZ                ADDRESS ON FILE
EMMANUEL MATEO SANTIAGO                  ADDRESS ON FILE
EMMANUEL MEDINA FLORES                   ADDRESS ON FILE
EMMANUEL MEDINA VAZQUEZ                  ADDRESS ON FILE
EMMANUEL MELENDEZ DIAZ                   ADDRESS ON FILE
EMMANUEL MELENDEZ DIAZ                   ADDRESS ON FILE
EMMANUEL MENDEZ LOPEZ                    ADDRESS ON FILE
EMMANUEL MENENDEZ RIVERA                 ADDRESS ON FILE
EMMANUEL MENENDEZ RIVERA                 ADDRESS ON FILE
EMMANUEL MONTALVO QUINONES               ADDRESS ON FILE
EMMANUEL MONTALVO QUINONEZ               ADDRESS ON FILE
EMMANUEL MORALES CRUZ                    ADDRESS ON FILE
EMMANUEL MORALES DE JESUS                ADDRESS ON FILE
EMMANUEL MORALES SANTIAGO                ADDRESS ON FILE
EMMANUEL MUNIZ SOTO                      ADDRESS ON FILE
EMMANUEL NATAL RIVERA                    ADDRESS ON FILE
EMMANUEL NIEVES FIGUEROA                 ADDRESS ON FILE
EMMANUEL NIEVES FIGUEROA                 ADDRESS ON FILE
EMMANUEL O LOPEZ SANTIAGO                ADDRESS ON FILE
EMMANUEL OJEDA VEGA                      ADDRESS ON FILE
EMMANUEL OQUENDO                         ADDRESS ON FILE
EMMANUEL ORTIZ DIAZ                      ADDRESS ON FILE
EMMANUEL ORTIZ LABOY                     ADDRESS ON FILE
EMMANUEL ORTIZ PIZARRO                   ADDRESS ON FILE
EMMANUEL ORTIZ TORRES                    ADDRESS ON FILE




                                                                                                            Page 2566 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2567 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                       Address1                         Address2                                   Address3               Address4    City         State   PostalCode   Country
EMMANUEL OTERO CLASS                ADDRESS ON FILE
EMMANUEL OTERO CLASS                ADDRESS ON FILE
EMMANUEL OTERO MORALES/NOEL OTERO   ADDRESS ON FILE
EMMANUEL PADILLA                    ADDRESS ON FILE
EMMANUEL PADILLA ALICEA             ADDRESS ON FILE
EMMANUEL PADIN TORRES               ADDRESS ON FILE
Emmanuel Pagan Vazquez              ADDRESS ON FILE
EMMANUEL PEDROSA QUINONES           ADDRESS ON FILE
EMMANUEL PEREZ ROMAN                EDWIN R. BONILLA VÉLEZ;          PO BOX 190433                                                                 SAN JUAN     PR      00919‐0433
EMMANUEL PEREZ ROMAN                LCDA. AICZA PIÑEIRO MORALES      METRO OFFICE PARK,EDIFICIO SPRINT          CALLE 1 LOTE 18        SUITE 400   GUAYNABO     PR      00968
                                                                                                                AVE. LOS VETERANOS B ‐
EMMANUEL PEREZ ROMAN                LCDO. EDWIN R. GONZÁLEZ GUZMÁN   URB. VILLA ROSA III                        4                                  GUAYAMA      PR      00784
EMMANUEL PIZARRO LEBRON             ADDRESS ON FILE
EMMANUEL QUILES RIVERA              ADDRESS ON FILE
EMMANUEL RAMOS MERCED               ADDRESS ON FILE
EMMANUEL RAMOS SANCHEZ              ADDRESS ON FILE
EMMANUEL RIOS LOPEZ                 ADDRESS ON FILE
EMMANUEL RIOS MELENDEZ              ADDRESS ON FILE
EMMANUEL RIVERA ALEJANDRO           ADDRESS ON FILE
EMMANUEL RIVERA ORTEGA              ADDRESS ON FILE
EMMANUEL RIVERA OTERO               ADDRESS ON FILE
EMMANUEL RIVERA RIOS                ADDRESS ON FILE
EMMANUEL RIVERA RODRIGUEZ           ADDRESS ON FILE
EMMANUEL RIVERA RODRIGUEZ           ADDRESS ON FILE
EMMANUEL RIVERA VELEZ               ADDRESS ON FILE
EMMANUEL RODRIGUEZ                  ADDRESS ON FILE
Emmanuel Rodriguez Alvarez          ADDRESS ON FILE
EMMANUEL RODRIGUEZ BAUZO            ADDRESS ON FILE
EMMANUEL RODRIGUEZ SANTIAGO         ADDRESS ON FILE
EMMANUEL RODRIGUEZ VAZQUEZ          ADDRESS ON FILE
EMMANUEL RODRIGUEZ VAZQUEZ          ADDRESS ON FILE
EMMANUEL ROMERO COLON               ADDRESS ON FILE
EMMANUEL ROSA BAEZ                  ADDRESS ON FILE
EMMANUEL RUIZ                       ADDRESS ON FILE
EMMANUEL SAEZ ROMAN                 ADDRESS ON FILE
EMMANUEL SANCHEZ VALENTIN           ADDRESS ON FILE
EMMANUEL SANTIAGO APONTE            ADDRESS ON FILE
EMMANUEL SANTIAGO SILVA             ADDRESS ON FILE
EMMANUEL TOLEDO SEPULVEDA           ADDRESS ON FILE
EMMANUEL TORRES NEGRON              ADDRESS ON FILE
EMMANUEL TORRES SANTIAGO            ADDRESS ON FILE
EMMANUEL TOURS / HERIBERTO MEDINA   ADDRESS ON FILE
EMMANUEL TRANSPORTE                 ADDRESS ON FILE
EMMANUEL TRINIDAD VELEZ             ADDRESS ON FILE
EMMANUEL VALLE ORTIZ                ADDRESS ON FILE
EMMANUEL VAZQUEZ RODRIGUEZ          ADDRESS ON FILE
EMMANUEL VEGA DRUZ                  ADDRESS ON FILE
EMMANUEL VELEZ CARABALLO            ADDRESS ON FILE
EMMANUEL VELEZ COLLAZO              ADDRESS ON FILE
EMMANUEL VELEZ PEREZ                ADDRESS ON FILE
EMMANUEL VICENTE SANTOS             ADDRESS ON FILE
EMMANUEL VINCENT, BETTY             ADDRESS ON FILE
EMMANUEL ZAMOT REYES                ADDRESS ON FILE
EMMANUEL ZAYAS GONZALEZ             ADDRESS ON FILE
EMMANUELILLI LUGO, JULIO R          ADDRESS ON FILE
Emmanuell Feliciano, John           ADDRESS ON FILE
EMMANUELL MERLY RIVERA              ADDRESS ON FILE
EMMANUELLE MALDONADO SANTANA        ADDRESS ON FILE
EMMANUELLI ANZALOTA, BRENDA I       ADDRESS ON FILE
EMMANUELLI COLON, AUREA E           ADDRESS ON FILE




                                                                                                 Page 2567 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2568 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
EMMANUELLI COSME, ALVIN             ADDRESS ON FILE
EMMANUELLI COSME, FRANCIS           ADDRESS ON FILE
EMMANUELLI COSME, JESSE             ADDRESS ON FILE
EMMANUELLI DIAZ, LUIS               ADDRESS ON FILE
Emmanuelli Dominicci, Luis          ADDRESS ON FILE
EMMANUELLI DOMINICI, MAYBETH        ADDRESS ON FILE
EMMANUELLI EMMANUELLI, JOSE         ADDRESS ON FILE
EMMANUELLI FERRER, LOLIANNETTE      ADDRESS ON FILE
EMMANUELLI GALARZA, AWILDA          ADDRESS ON FILE
EMMANUELLI GALARZA, MARITZA         ADDRESS ON FILE
EMMANUELLI GARCIA, JAIME            ADDRESS ON FILE
EMMANUELLI IBARRA, ALLEGRA          ADDRESS ON FILE
EMMANUELLI LUGARO, YADIT M          ADDRESS ON FILE
EMMANUELLI MARQUEZ, ILEANA          ADDRESS ON FILE
EMMANUELLI MARRERO, CARLOS          ADDRESS ON FILE
EMMANUELLI MARTINEZ, MARILYN        ADDRESS ON FILE
EMMANUELLI MOJICA, NILDA            ADDRESS ON FILE
EMMANUELLI MOJICA, NILDA            ADDRESS ON FILE
EMMANUELLI MOJICA, VIVIANA          ADDRESS ON FILE
Emmanuelli Montalv, Frances         ADDRESS ON FILE
EMMANUELLI MUNIZ, JOSE LUIS         ADDRESS ON FILE
EMMANUELLI MUNIZ, NILDA             ADDRESS ON FILE
EMMANUELLI MUNIZ, OLGA              ADDRESS ON FILE
Emmanuelli Negron, Alexis           ADDRESS ON FILE
EMMANUELLI NEGRON, CARMEN           ADDRESS ON FILE
EMMANUELLI ORTIZ, ENRIQUE           ADDRESS ON FILE
EMMANUELLI POLO, CARLOS R           ADDRESS ON FILE
EMMANUELLI POUDEVIDA, JUAN          ADDRESS ON FILE
EMMANUELLI POUDEVIDA, JUAN A.       ADDRESS ON FILE
EMMANUELLI RAMOS, LAURALYD          ADDRESS ON FILE
EMMANUELLI RAMOS, LESBIENID         ADDRESS ON FILE
EMMANUELLI RIVERA LORNA ANGELIQUE   ADDRESS ON FILE
EMMANUELLI RIVERA, ANA L            ADDRESS ON FILE
EMMANUELLI RIVERA, EFRAIN           ADDRESS ON FILE
EMMANUELLI RIVERA, GLENN            ADDRESS ON FILE
EMMANUELLI RIVERA, JOEL             ADDRESS ON FILE
EMMANUELLI RIVERA, LUIS             ADDRESS ON FILE
EMMANUELLI RIVERA, NILSA            ADDRESS ON FILE
EMMANUELLI RODRIGUEZ, ANTONIO       ADDRESS ON FILE
EMMANUELLI RODRIGUEZ, MADELINE      ADDRESS ON FILE
EMMANUELLI SANTIAGO, MARIA DE L     ADDRESS ON FILE
EMMANUELLI SANTIAGO, VICTOR         ADDRESS ON FILE
EMMANUELLI SOTO, VICTOR E           ADDRESS ON FILE
EMMANUELLI SOTO, VICTOR E           ADDRESS ON FILE
EMMANUELLI TORRES, EMMANUEL         ADDRESS ON FILE
EMMANUELLI TORRES, GRICEL           ADDRESS ON FILE
EMMANUELLI TORRES, LESSYETTE        ADDRESS ON FILE
EMMANUELLI TORRES, MILAGROS         ADDRESS ON FILE
EMMANUELLI, GISELLE                 ADDRESS ON FILE
EMMANUELLI, INC                     15 SIMON MADERA AVE                                                              RIO PIEDRAS     PR      00924
EMMANUELLI, JOSE N.                 ADDRESS ON FILE
EMMARIE GONZALEZ CARABALLO          ADDRESS ON FILE
EMMARIE GONZALEZ CARABALLO          ADDRESS ON FILE
EMMARIE VALENZUELA COLON            ADDRESS ON FILE
EMMARIS VELAZQUEZ SOTO              ADDRESS ON FILE
EMMERYS R DEYNES MORALES            ADDRESS ON FILE
EMMMA R PADILLA RODRIGUEZ           ADDRESS ON FILE
EMMNUEL GUADALUPE RIVERA            ADDRESS ON FILE
EMMS TECHNICAL SERVICES INC         PO BOX 3001 STE 235                                                              RIO GRANDE      PR      00745
EMNA MARTINEZ HERNANDEZ             ADDRESS ON FILE




                                                                                Page 2568 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 2569 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                            Creditor Matrix

Creditor Name                            Address1                                         Address2                                       Address3               Address4   City              State   PostalCode   Country
EMNEDIES DAVILA                          ADDRESS ON FILE
EMORY MILETE ROBLES                      ADDRESS ON FILE
EMORY UNIVERSITY HOSPITAL MIDTOWN        PO BOX 19072                                                                                                                      GREEN BAY         WI      54307‐9072
EMOTIONAL & MENTAL CONSULTING            GALERIA DEL SUR OFICINA 214                      1046 AVE. HOSTOS                                                                 PONCE             PR      00716
EMP DEL RIO REY INC                      PO BOX 2131                                                                                                                       VEGA BAJA         PR      00694
EMP MARTINEZ VALENTIN CORP.              PO BOX 1002                                                                                                                       SABANA GRANDE     PR      00637
EMP. MOLINA + ROBLES DBA THE OFFICE EMR PO BOX 3893                                                                                                                        BAYAMON           PR      00958‐0893
EMPACADORA Y PROCESADORA DEL SUR INC     BO IDELFONZO                                     CARR 14 CALLE PIEL CANELA                                                        COAMO             PR      00769
EMPARERADOS BORICUA                      ADDRESS ON FILE
EMPI LLC                                 URB EL PEDREGAL                                  254 CALLE BASALTO                                                                SAN GERMAN        PR      00683‐8547
EMPIRE COMPANY INC                       PO BOX 7066                                                                                                                       PONCE             PR      00732‐7066
EMPIRE ENTERTAIMENT INC                  352 CALLE SAN CLAUDIO STE 1 PMB 204                                                                                               SAN JUAN          PR      00926‐4144
Empire Fire & Marine Insurance Company   13810 FNB Parkway                                                                                                                 Omaha             NE      68154
Empire Fire & Marine Insurance Company   Attn: Cheryl Nelson, Circulation of Risk         1400 American Lane                             Corporate Law                     Schaumburg        IL      60196
Empire Fire & Marine Insurance Company   Attn: Chuck Treanor, Premiun Tax Contact         1400 American Lane                             Corporate Law                     Schaumburg        IL      60196
Empire Fire & Marine Insurance Company   Attn: Dennis Kerrigan , Vice President           1400 American Lane                             Corporate Law                     Schaumburg        IL      60196
Empire Fire & Marine Insurance Company   Attn: Eileen Maloney, Regulatory Compliance Gov1400 American Lane                               Corporate Law                     Schaumburg        IL      60196
Empire Fire & Marine Insurance Company   Attn: Susan Kendziora, Consumer Complaint Cont1400 American Lane                                Corporate Law                     Schaumburg        IL      60196
Empire Fire & Marine Insurance Company   c/o Law Offices of Ivan M. Fernandez, Agent for S1400 American Lane                             Corporate Law                     Schaumburg        IL      60196
Empire Gas Co, Inc.                      109 Andes St Urb Monte Rey                                                                                                        San Juan          PR      00926
Empire Gas Co, Inc.                      PO Box 353651                                                                                                                     San Juan          PR      00936‐3651
EMPIRE GAS COMPANY INC.                  PO BOX 363651                                                                                                                     SAN JUAN          PR      00936‐3651
Empleados Civiles Organizados (ECO)      Méndez Cotto, Jorge L.                           PO Box 190684                                                                    San Juan          PR      00919
Empleados Civiles Organizados (ECO)      Méndez Cotto, Jorge L.                           Urb El Paraiso                                 114 Calle Amazonas                San Juan          PR      00926
EMPLEADOS GERENC HACIENDA                HC 1 BOX 5293                                                                                                                     BARRANQUITAS      PR      00794
EMPLEADOS GERENC HACIENDA, USWA          DEPARTAMENTO DE HACIENDA                                                                                                          SAN JUAN          PR      00902
EMPLEADOS OCPR
Employers Insurance Company of Wausau    2000 Westwood Drive                                                                                                               Wausau            WI      54401
Employers Insurance Company of Wausau    Attn: Dexter Legg, Vice President                175 Berkeley Street                            Suite Garlock M‐10‐F              Boston            MA      02116
Employers Insurance Company of Wausau    Attn: George Ryan, Premiun Tax Contact           175 Berkeley Street                            Suite Garlock M‐10‐F              Boston            MA      02116
Employers Insurance Company of Wausau    Attn: Joseph A. Gilles, President                175 Berkeley Street                            Suite Garlock M‐10‐F              Boston            MA      02116
Employers Insurance Company of Wausau    Attn: Krista Young, Circulation of Risk          175 Berkeley Street                            Suite Garlock M‐10‐F              Boston            MA      02116
Employers Insurance Company of Wausau    Attn: Krista Young, Consumer Complaint Contact 175 Berkeley Street                              Suite Garlock M‐10‐F              Boston            MA      02116
Employers Insurance Company of Wausau    Attn: Paul Mattera, Regulatory Compliance Gover175 Berkeley Street                              Suite Garlock M‐10‐F              Boston            MA      02116
Employers Insurance Company of Wausau    c/o Eastern America Insurance Agency, Agent for 175 Berkeley Street                             Suite Garlock M‐10‐F              Boston            MA      02116
EMPLOYMENT CONSULTING SERVICES INC       LOMAS DEL SOL                                    63 CALLE CASIOPEA                                                                GURABO            PR      00778‐8903
EMPLOYMENT SOLUTIONS PRO INC             MARAMAR PLAZA                                    101 AVE SAN PATRICIO SUITE 1120                                                  GUAYNABO          PR      00968
EMPOWER INC                              3343 PEACHTREE RD NE SUITE 510                                                                                                    ATLANTA           GA      30326
EMPOWER INC                              AREA DEL TESORO                                  DIVISION DE RECLAMACIONES                                                        SAN JUAN          PR      00902‐4140
EMPOWERMRNT STRATEGIES LLC               COND VERDE LUZ APT 307                                                                                                            VEGA ALTA         PR      00692
EMPRESA CMJ LLC                          PO BOX 459                                                                                                                        YABUCOA           PR      00767
EMPRESA MUNICIPAL AREA RECREATIVA        MEDIA LUNA                                       HC 3 BOX 10606                                                                   COMERIO           PR      00782
EMPRESA MUNICIPAL PISCINAS AGUAS         TERMALES                                         PO BOX 1875                                                                      COAMO             PR      00769
EMPRESA MUNICIPAL SERVICIOS DE SEGURIDAD PO BOX 1875                                                                                                                       COAMO             PR      00769
EMPRESA MUNICIPAL TODO DEPORTE           PO BOX 1875                                                                                                                       COAMO             PR      00769
EMPRESA R ABAD RAMIREZ/ALMACENE OFI ART PO BOX 1313                                                                                                                        CABO ROJO         PR      00623
EMPRESAS MIGMARILY INC                   PO BOX 1967                                                                                                                       LAS PIEDRAS       PR      00771‐1967
EMPRESAS A CORDERO BADILLO INC           PLAZA DEL MAR                                    BO LAPA KM 3                                                                     SALINAS           PR      00751
EMPRESAS A CORDERO BADILLO INC           PO BOX 458                                                                                                                        CATAÐO            PR      00963
EMPRESAS A CORDERO BADILLO INC           PO BOX 458                                                                                                                        CATANO            PR      00963
EMPRESAS ADWISE, INC                     PO BOX 395                                                                                                                        MANATI            PR      00674‐0395
EMPRESAS AGRICOLAS AULET                 1000 ASHFORD AVENUE                              APARTMENT 8                                                                      SAN JUAN          PR      00907
EMPRESAS AGRICOLAS AULET                 1000 AVE ASHFORD APT 8                                                                                                            SAN JUAN          PR      00907
EMPRESAS AGRICOLAS DEL CENTRO            PO BOX 1009                                                                                                                       CASTANER          PR      00631
EMPRESAS AGRICOLAS ISAELIS INC           PO BOX 5144                                                                                                                       SAN SEBASTIAN     PR      00685
EMPRESAS AGRICOLAS JOMAR, LLC            RR 1 BOX 37600                                                                                                                    SAN SEBASTIAN     PR      00685
EMPRESAS AGRICOLAS RUCAJOAN INC          P O BOX 1165                                                                                                                      SAN SEBASTIAN     PR      00685
EMPRESAS AGRICOLAS SAN PABLO             RD 129 K 11.3 SUR                                                                                                                 LARES             PR      00669
EMPRESAS AGRICOLAS SAN PABLO INC         BO BUENOS AIRES CARR 129 KM 11.3                                                                                                  LARES             PR      00669
EMPRESAS AGRICOLAS SAN PABLO, INC.       PO BOX 1099                                                                                                                       LARES             PR      00669




                                                                                                                       Page 2569 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2570 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                              Address1                                   Address2                                   Address3   Address4   City              State   PostalCode   Country
EMPRESAS AGRICOLAS TOLEDO INC              PO BOX 820                                                                                                  HATILLO           PR      00659
EMPRESAS AGUSTIN MUNOZ INC                 PO BOX 800552                                                                                               PONCE             PR      00780‐0552
EMPRESAS ALICEA CEBOLLERO INC              PO BOX 1619                                                                                                 CANOVANAS         PR      00729
EMPRESAS ALVARADO TORRES                   ADDRESS ON FILE
EMPRESAS ALVARO TORRES                     ADDRESS ON FILE
EMPRESAS AMBIENTES & EQUIPO                414 AVE MONOZ RIVERA PISO 10                                                                                SAN JUAN          PR      00918
EMPRESAS ARR                               PO BOX 5373                                                                                                 CAGUAS            PR      00726
EMPRESAS ARR INC                           AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
EMPRESAS ARR INC                           BOX 4961 SUITE 257                                                                                          CAGUAS            PR      00726
EMPRESAS ARR INC                           PO BOX 5373                                                                                                 CAGUA             PR      00726
EMPRESAS ARR INC                           Y BANCO DE DESARROLLO ECONOMICO            PO BOX 2134                                                      SAN JUAN          PR      00922‐2134
EMPRESAS ARR, INC.                         PO BOX 5373                                                                                                 CAGUAS            PR      00726
EMPRESAS BARSAN INC                        PO BOX 6969                                                                                                 BAYAMON           PR      00960
EMPRESAS BERRIOS INC                       BO BAYAMON                                 CARR 172 KM 49 7                                                 CIDRA             PR      00739
EMPRESAS BERRIOS INC                       PO BOX 674                                                                                                  CIDRA             PR      00739‐0674
EMPRESAS BONILLA MALDONADO INC             P O BOX 113                                SAINT JUST STATION                                               TRUJILLO ALTO     PR      00978
EMPRESAS BORIQUE INC                       C 28 URB SIERRA LINDA                                                                                       CABO ROJO         PR      00623
EMPRESAS BORIQUE INC                       URB SIERRA LINDA                           C 28                                                             CABO ROJO         PR      00623
EMPRESAS CABAN INC                         PO BOX 467                                                                                                  BAYAMON           PR      00960‐0467
EMPRESAS CATALINO SANCHEZ                  ADDRESS ON FILE
EMPRESAS CATALINO SANCHEZ                  ADDRESS ON FILE
EMPRESAS CATALINO SANCHEZ                  ADDRESS ON FILE
EMPRESAS COLIBRI INC                       PO BOX 536                                                                                                  NAGUABO           PR      00718
EMPRESAS CRECIENDO CR3, INC.               CALLE MUNOZ RIVERA # 38                                                                                     NAGUABO           PR      00718
EMPRESAS CRECIENDO CR3, INC.               HC‐55 BOX 8826                                                                                              CEIBA             PR      00735
EMPRESAS DE DESARROLLO ECON DE TIERRA A    ADDRESS ON FILE
EMPRESAS DE GAS CO                         PO BOX 1025                                                                                                 SABANA SECA       PR      00952‐1025
EMPRESAS DE GAS CO, INC.                   PO BOX 1025                                                                                                 BAYAMON           PR      00952‐0000
EMPRESAS DE GAS CO, INC.                   URB. INDUSTRIAL CORUJO LOTE 1 HATO TEJA #2                                                                  BAYAMON           PR      00952‐0000
EMPRESAS DEL ESPIRITU SANTO V A , INC      9 CALLE ORIENTE                                                                                             MAYAGUEZ          PR      00680‐5002
EMPRESAS ECHEVARRIA INC                    BO AMELIA 38                               AVE PONCE DE LEON                                                GUAYNABO          PR      00965
EMPRESAS EL BARRIO INC                     PO BOX 81024                                                                                                CAROLINA          PR      00981
EMPRESAS EZQ INC                           PO BOX 362493                                                                                               SAN JUAN          PR      00925
EMPRESAS FIGUEROA GOYTIA                   PO BOX 1468                                                                                                 TRUJILLO ALTO     PR      00977‐1468
EMPRESAS FORTIS                            ADDRESS ON FILE
EMPRESAS GIUSTI INC                        P O BOX 381                                                                                                 TOA BAJA          PR      00951
EMPRESAS GONZALEZ BRIGNONI                 ADDRESS ON FILE
EMPRESAS GUARIONEX INC                     URB CASA LINDA COURT                       7 CALLE A                                                        CAROLINA          PR      00959
EMPRESAS HERNANDEZ MERCADO INC             1055 CALLE BRUMBAUGH                                                                                        SAN JUAN          PR      00925
EMPRESAS IBUYUMU INC DBA DORADO ICE        & WATER PLANT                              ROAD 693 425 PMB 227                                             DORADO            PR      00646
EMPRESAS J C INC                           P O BOX 8829                                                                                                HUMACAO           PR      00792
EMPRESAS JAMAY INC                         P O BOX 199                                                                                                 CEIBA             PR      00735
EMPRESAS JBR INC                           HC 3 BOX 8798                                                                                               BARRANQUITAS      PR      00794
EMPRESAS JIMMY FERRER INC                  COND COLINAS DE BAYAMON                    APT 1310                                                         BAYAMON           PR      00956
EMPRESAS JJ RIVE DBA TECHNOLOGY PLUS INC   AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
EMPRESAS JJ RIVE DBA TECHNOLOGY PLUS INC   PO BOX 1338                                                                                                 COAMO             PR      00769
EMPRESAS JULIAN INC                        PO BOX 238                                                                                                  MOCA              PR      00676
EMPRESAS JYG INC                           801 TAURO VENUS GARDENS                                                                                     SAN JUAN          PR      00926
EMPRESAS LA CUBANITA                       ADDRESS ON FILE
EMPRESAS LA CUBANITA                       ADDRESS ON FILE
EMPRESAS LA CUBANITA                       P.M.B. 118 P.O. BOX 4952                                                                                    CAGUAS            PR      00725
EMPRESAS LA CUBANITA DBA SIXTO L LOPEZ     PMB 118                                    PO BOX 4952                                                      CAGUAS            PR      00726
EMPRESAS LA CUBANITA INC                   P O BOX 4952                                                                                                CAGUAS            PR      00725
EMPRESAS LA CUBANITA INC                   PMB 118 BOX 4952                                                                                            CAGUAS            PR      00726
EMPRESAS LA CUBANITA INC                   PMB 4952 SUITE 118                                                                                          CAGUAS            PR      00726
EMPRESAS LA CUBANITA INC                   PO BOX 4252 SUITE 118                                                                                       CAGUAS            PR      00726
EMPRESAS LAS PIEDRAS MEMORIAL              P O BOX 1967                                                                                                LAS PIEDRAS       PR      00771
EMPRESAS LEAF INC /DBA FRUTATION EDIBLE    400 CALLE CALAF SUITE 69                                                                                    SAN JUAN          PR      00918‐1314
EMPRESAS LEON MENDEZ INC                   PO BOX 330                                                                                                  BARCELONETA       PR      00617
EMPRESAS LORIE S E                         ADDRESS ON FILE




                                                                                                                  Page 2570 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2571 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                  Address2                                   Address3   Address4   City              State   PostalCode   Country
EMPRESAS LOYOLA I S EN C S E             ADDRESS ON FILE
EMPRESAS MARCELINO SOLA INC              PO BOX 1335                                                                                                GURABO            PR      00778
EMPRESAS MARTINEZ IBARRA SERV Y SOLUCION ADDRESS ON FILE
EMPRESAS MASSO                           ADDRESS ON FILE
EMPRESAS MATIAS INC                      PO BOX 1747                                                                                                JUNCOS            PR      00777
EMPRESAS MATOS FEBUS INC                 RR 3 BOX 10423‐1                                                                                           TOA ALTA          PR      00953‐9705
EMPRESAS MELENDEZ CRUZ INC               PO BOX 718                                                                                                 MAYAGUEZ          PR      00681‐0718
EMPRESAS MI MANSION INC                  HC 10 BOX 7494                                                                                             SABANA GRANDE     PR      00637‐9673
EMPRESAS MOLINA & ROBLES INC DBA         PO BOX 3893                                                                                                BAYAMON           PR      00958‐0893
EMPRESAS MOLINA & ROBLES, INC.           PO BOX 3893                                                                                                BAYAMON           PR      00958‐0893
EMPRESAS MUÐOZ INC                       SABANA REAL                               C 1 APDO 24                                                      SAN LORENZO       PR      00754
EMPRESAS MUNDO MOTOR IMP. CORP           PO BOX 6249                               MARINA STATION                                                   MAYAGUEZ          PR      00681
EMPRESAS MUNICIPAL DE MANTENIMIENTO Y ORNATO DE CARRETERAS                         PO BOX 1875                                                      COAMO             PR      00769
EMPRESAS MUNICIPALES                     APARTADO 1008                                                                                              AGUADILLA         PR      00605‐0000
EMPRESAS MUNICIPALES                     TONY LUKES / MUNICIPIO ADUADILLA PO BOX 1008                                                               AGUADILLA         PR      00605‐0000
EMPRESAS MUNICIPALES TOALTENAS           PO BOX 82                                                                                                  TOA ALTA          PR      00954
EMPRESAS MUNOZ INC                       SABANA REAL                               C 1 APDO 24                                                      SAN LORENZO       PR      00754
EMPRESAS MUNOZ INC.                      SABANA REAL C 1 APDO 24                   C 1 APDO 24                                                      SAN LORENZO       PR      00754‐0000
EMPRESAS OMAJEDE INC                     BCO DESARROLLO ECONOMICO PR               P O BOX 2134                                                     SAN JUAN          PR      00922‐2134
EMPRESAS OMAJEDE INC                     EDIF LA ELECTRONICA                       1608 CALLE BORI SUITE 218                                        SAN JUAN          PR      00927
EMPRESAS ORTIZ DIAZ CORP                 PO BOX 1563                                                                                                COROZAL           PR      00783
EMPRESAS ORTZ BRUNET                     PO BOX 1839                                                                                                GUAYNABO          PR      00970‐1839
EMPRESAS PARODI INC                      PMB 226 819 AVE HOSTOS                                                                                     PONCE             PR      00716‐1107
EMPRESAS PERORDI, INC.                   PO BOX 191463                                                                                              SAN JUAN          PR      00919‐1463
EMPRESAS PERORDI, INC.                   PO BOX 71325 SUITE 26                                                                                      SAN JUAN          PR      00936
EMPRESAS PLAYA JOYUDA                    HC 3 BOX 16310                                                                                             CABO ROJO         PR      00623
EMPRESAS PLAYA JOYUDA DBA PARADOR PERICHHC 02 BOX 16310                                                                                             CABO ROJO         PR      00623
EMPRESAS PLAYA JOYUDA INC                HC 02 BOX 16310                                                                                            CABO ROJO         PR      00623
EMPRESAS PUCHO INC.                      P.O. BOX 991                                                                                               AGUADA            PR      00602
EMPRESAS PUERTORRIQUENAS DE CONSERV INC URB SABANERA DE DORADO                     495 CAMINO DEL YUNQUE                                            DORADO            PR      00646
EMPRESAS PUERTORRIQUENAS DE DESARROLLO P O BOX 366006                                                                                               SAN JUAN          PR      00936‐6006
EMPRESAS PUERTORRIQUENAS DE DESARROLLO 975 AVE HOSTOS                              SUITE 420                                                        MAYAGUEZ          PR      00680‐1255
EMPRESAS PUNTOFIJO INC                   1120 AVE PONCE DE LEON                                                                                     SAN JUAN          PR      00925
EMPRESAS R A INC                         AVE LOMAS VERDES                          3V‐8 ESQ JACINTO                                                 BAYAMON           PR      00959 3309
EMPRESAS R ABAD RAMIREZ INC              PO BOX 1313                                                                                                CABO ROJO         PR      00623
EMPRESAS R ABAD RAMIREZ OFFICE ART INC   PO BOX 1313                                                                                                CABO ROJO         PR      00623
EMPRESAS RIVERA SIACA                    ADDRESS ON FILE
EMPRESAS ROLON INC                       PO BOX 1547                                                                                                DORADO            PR      00646‐1547
EMPRESAS ROSANA                          ADDRESS ON FILE
EMPRESAS SABON INC DBA ECONO COAMO       PO BOX 789                                                                                                 RIO GRANDE        PR      00745
EMPRESAS SERVICIOS OPTIMOS               P O BOX 2247                                                                                               COAMO             PR      00769
EMPRESAS SILCAR INC                      VILLA DEL CARMEN                          930 CALLE SAMARIA                                                PONCE             PR      00716‐2127
EMPRESAS SOLER & TITITO S CATERING       PO BOX 296                                                                                                 CAGUAS            PR      00726
EMPRESAS SOLER , INC                     PO BOX 296                                                                                                 CAGUAS            PR      00726‐0296
EMPRESAS STEWART FUNERARIAS              157 CALLE VILLA SUITE 101                                                                                  PONCE             PR      00730
EMPRESAS STEWART FUNERARIAS              77 CALLE COMERIO                                                                                           YAUCO             PR      00698
EMPRESAS STEWART FUNERARIAS              PO BOX 2841                                                                                                BAYAMON           PR      00960‐2841
EMPRESAS STEWART FUNERARIAS              PO BOX 880                                                                                                 SAN JUAN          PR      00919‐0880
EMPRESAS TERRAZAS                        ADDRESS ON FILE
EMPRESAS TOLEDO INC                      1056 AVE MUNOZ RIVERA                     707 EDIF FIRST FEDERAL                                           SAN JUAN          PR      00927
EMPRESAS TORRES BATISTA                  ADDRESS ON FILE
EMPRESAS TORRES BATISTA INC              VEGA BAJA CENTRO SHOPPING CENTER          CARR 2 INT 155                                                   VEGA BAJA         PR      00693
EMPRESAS VILLAGROSA                      ADDRESS ON FILE
EMPRESAS W RIOS INC                      PO BOX 1466                                                                                                HATILLO           PR      00659
EMPRESAS WINEL                           PO BOX 4022                               BAYAMON GARDENS STATION                                          BAYAMON           PR      00959
EMPS SERVICES INC                        JARD DE ARECIBO                           O3 CALLE MI                                                      ARECIBO           PR      00612‐2821
EMR ELECTRICAL CONTRACTOR                HC 1 BOX 1044B                                                                                             ARECIBO           PR      00612‐9713
EMR ENTERPRISES                          PO BOX 362197                                                                                              SAN JUAN          PR      00936‐2197
EMR ENTERPRISES CORPORATION              P O BOX 362197                                                                                             SAN JUAN          PR      00936‐2197
EMR ENTERPRISES, CORP                    PO BOX 362197                                                                                              SAN JUAN          PR      00936‐2197




                                                                                                               Page 2571 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2572 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                        Address1                            Address2                                Address3   Address4   City           State   PostalCode   Country
EMSER PORTABLE SOLUTIONS CORP        COND VILLAS DEL MONTE               6050 CARR 844 SUITE 46                                        SAN JUAN       PR      00926
EMTECH REFRIGERATION SERVICES, INC   URB LOS CAOBOS                      2103 CALLE MOTILLO                                            PONCE          PR      00716
EMY A. TOUSEF CASTELLAR              ADDRESS ON FILE
EMY GUZMAN NOGUERAS                  ADDRESS ON FILE
EMY LEE ESCALERA ORTIZ               ADDRESS ON FILE
EMYNETTE RAMIREZ SOTO                ADDRESS ON FILE
EMZ DISTRIBUTORS INC                 URB COSTA NORTE                     198 CALLE ARENA                                               HATILLO        PR      00659
EN EL NOMBRE DE JESUS INC            PO BOX 50429                                                                                      TOA BAJA       PR      00950‐0429
EN PLENA FIESTA INC                  ALT RIO GRANDE                      R953 CALLE 18                                                 RIO GRANDE     PR      00745‐3217
ENA E RIVERA MELENDEZ                ADDRESS ON FILE
ENA GUZMAN ROSARIO                   ADDRESS ON FILE
ENA I OCTAVIANI SANTANA              ADDRESS ON FILE
ENAIDA COLON GARCIA                  ADDRESS ON FILE
ENALDO SANTOS SANCHEZ                ADDRESS ON FILE
ENAMORADO, MAYRALIZ                  ADDRESS ON FILE
ENASTO NIEVES FIGUEROA               ADDRESS ON FILE
ENATURA LLC                          252 AVE PONCE DE LEON CITY TOWERS   SUITE 401                                                     SAN JUAN       PR      00918
ENCANTADA SERVICE                    FERNANDEZ JUNCOS STATION            PO BOX 8375                                                   SAN JUAN       PR      00910
ENCANTADA SERVICE                    PO BOX 8375 FDEZ JUNCOS STA                                                                       SAN JUAN       PR      00910
ENCANTADA TRAVEL                     2057 CALLE LOIZA                                                                                  SAN JUAN       PR      00914
ENCANTO RESTAURANTS INC              P O BOX 11858                                                                                     SAN JUAN       PR      00922‐1858
ENCANTO SUNRISE INC                  P O BOX 11858                                                                                     SAN JUAN       PR      00922
ENCARNACION ALVARADO MARQUEZ         ADDRESS ON FILE
ENCARNACION ASTACIO, RAIZA           ADDRESS ON FILE
ENCARNACION AYALA, ALBA N            ADDRESS ON FILE
ENCARNACION BAEZ, SANDRA             ADDRESS ON FILE
ENCARNACION BELARDO, LUZ M           ADDRESS ON FILE
ENCARNACION BENABE, OMAIRA           ADDRESS ON FILE
ENCARNACION BENITEZ, JULIAN          ADDRESS ON FILE
ENCARNACION BENITEZ, SONIA I         ADDRESS ON FILE
ENCARNACION BENITEZ, SONIA I         ADDRESS ON FILE
ENCARNACION BERMUDEZ, LIRREY         ADDRESS ON FILE
ENCARNACION BURGOS, ANGELIZ          ADDRESS ON FILE
ENCARNACION BURGOS, ANGELIZ          ADDRESS ON FILE
ENCARNACION BURGOS, BELKY J          ADDRESS ON FILE
ENCARNACION CALCANO, RITA            ADDRESS ON FILE
ENCARNACION CALO, DABIAN             ADDRESS ON FILE
ENCARNACION CAMIS, YOLANDA           ADDRESS ON FILE
ENCARNACION CAMIS, ZENAIDA           ADDRESS ON FILE
ENCARNACION CANALES, ANGEL           ADDRESS ON FILE
ENCARNACION CANALES, EVARISTA        ADDRESS ON FILE
ENCARNACION CANALES, LUIS            ADDRESS ON FILE
ENCARNACION CANALES, OLGA            ADDRESS ON FILE
Encarnacion Canales, Yaitza          ADDRESS ON FILE
ENCARNACION CANCEL, ELBA I.          ADDRESS ON FILE
ENCARNACION CANCEL, ELBA I.          ADDRESS ON FILE
ENCARNACION CANINO MD, GASPAR        ADDRESS ON FILE
ENCARNACION CAPPACETTI, FRANCES      ADDRESS ON FILE
ENCARNACION CARABALLO, CARMEN        ADDRESS ON FILE
ENCARNACION CARABALLO, CARMEN R      ADDRESS ON FILE
ENCARNACION CARABALLO, EDWIN A       ADDRESS ON FILE
ENCARNACION CARABALLO, IVONNE M      ADDRESS ON FILE
ENCARNACION CARABALLO, LILLIAN M     ADDRESS ON FILE
ENCARNACION CARABALLO, MAYRA         ADDRESS ON FILE
Encarnacion Carrasqui, Ana           ADDRESS ON FILE
ENCARNACION CARRASQUILLO, MILAGROS   ADDRESS ON FILE
ENCARNACION CARRENO, ROBERT          ADDRESS ON FILE
ENCARNACION CASTRO, ALEXIS           ADDRESS ON FILE
ENCARNACION CASTRO, CARLOS M         ADDRESS ON FILE
Encarnación Castro, Carlos M.        ADDRESS ON FILE




                                                                                                  Page 2572 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2573 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ENCARNACION CASTRO, EDUARDO         ADDRESS ON FILE
ENCARNACION CASTRO, JAIME E         ADDRESS ON FILE
ENCARNACION CASTRO, LUIS            ADDRESS ON FILE
ENCARNACION CASTRO, MADELYN         ADDRESS ON FILE
ENCARNACION CASTRO, MILDRED         ADDRESS ON FILE
ENCARNACION CEPEDA, MYRNA           ADDRESS ON FILE
ENCARNACION CEPEDA, REINA           ADDRESS ON FILE
Encarnacion Cepeda, Roberto         ADDRESS ON FILE
ENCARNACION CIRILO, MIGUEL          ADDRESS ON FILE
ENCARNACION COLON, EDWIN            ADDRESS ON FILE
Encarnacion Colon, Iris M           ADDRESS ON FILE
ENCARNACION COLON, JOEL             ADDRESS ON FILE
ENCARNACION COLON, LUIS             ADDRESS ON FILE
ENCARNACION COLON, RUTH             ADDRESS ON FILE
ENCARNACION COLON, VERONICA         ADDRESS ON FILE
ENCARNACION CONCEPCION              ADDRESS ON FILE
ENCARNACION CORDERO, CLARISSA       ADDRESS ON FILE
ENCARNACION CORDOVA, ANA M          ADDRESS ON FILE
ENCARNACION CORREA, AILEEN          ADDRESS ON FILE
ENCARNACION CORREA, HECTOR          ADDRESS ON FILE
Encarnacion Correa, Joel            ADDRESS ON FILE
ENCARNACION CORREA, MARANGELY       ADDRESS ON FILE
ENCARNACION CORREA, MIGUEL          ADDRESS ON FILE
ENCARNACION CORREA, MIGUEL A        ADDRESS ON FILE
ENCARNACION CORREA, SHEILA          ADDRESS ON FILE
ENCARNACION COSME, GLADYS           ADDRESS ON FILE
ENCARNACION COSME, TOMAS            ADDRESS ON FILE
ENCARNACION COSS, MILDRED Y         ADDRESS ON FILE
ENCARNACION CRUZ MD, JOSE M         ADDRESS ON FILE
ENCARNACION CRUZ MD, JOSE M         ADDRESS ON FILE
ENCARNACION CRUZ, CARLOS            ADDRESS ON FILE
Encarnacion Cruz, Carlos A          ADDRESS ON FILE
ENCARNACION CRUZ, DAMARIS           ADDRESS ON FILE
ENCARNACION CRUZ, DYMARIE           ADDRESS ON FILE
ENCARNACION CRUZ, ELMO              ADDRESS ON FILE
ENCARNACION CRUZ, ESTHER            ADDRESS ON FILE
ENCARNACION CRUZ, FELIX             ADDRESS ON FILE
ENCARNACION CRUZ, GILBERT           ADDRESS ON FILE
ENCARNACION CRUZ, HECTOR L          ADDRESS ON FILE
ENCARNACION CRUZ, LUIS A            ADDRESS ON FILE
ENCARNACION CRUZ, MAGDALIZ          ADDRESS ON FILE
ENCARNACION CRUZ, ROBERTO           ADDRESS ON FILE
ENCARNACION CRUZ, ROSA              ADDRESS ON FILE
ENCARNACION CRUZ, TERESA            ADDRESS ON FILE
ENCARNACION DAVILA, RAFAEL          ADDRESS ON FILE
ENCARNACION DE JESUS, CHARLOTTE M   ADDRESS ON FILE
ENCARNACION DE JESUS, DEBORA        ADDRESS ON FILE
ENCARNACION DE LA CRUZ, JANET       ADDRESS ON FILE
ENCARNACION DEL VALLE, ALEXIE       ADDRESS ON FILE
ENCARNACION DEL VALLE, CARMEN L     ADDRESS ON FILE
ENCARNACION DEL VALLE, KELVIN       ADDRESS ON FILE
ENCARNACION DEL VALLE, LILLIAM      ADDRESS ON FILE
ENCARNACION DELGADO QUINONES        ADDRESS ON FILE
ENCARNACION DELGADO, GISEL          ADDRESS ON FILE
ENCARNACION DELGADO, JESUS          ADDRESS ON FILE
Encarnacion Delgado, Jorge          ADDRESS ON FILE
ENCARNACION DELGADO, LUIS A.        ADDRESS ON FILE
ENCARNACION DELGADO, MILAGROS       ADDRESS ON FILE
ENCARNACION DELGADO, ROLANDO        ADDRESS ON FILE
ENCARNACION DELGADO, RUTH           ADDRESS ON FILE




                                                                                Page 2573 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2574 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ENCARNACION DENIS, JUANITA         ADDRESS ON FILE
ENCARNACION DENIS, MARIA L         ADDRESS ON FILE
ENCARNACION DIAZ, CARMEN           ADDRESS ON FILE
ENCARNACION DIAZ, DINELIA          ADDRESS ON FILE
ENCARNACION DIAZ, GEDEON           ADDRESS ON FILE
ENCARNACION DIAZ, GILBERTO         ADDRESS ON FILE
ENCARNACION DIAZ, GRETCHEN         ADDRESS ON FILE
ENCARNACION DIAZ, JENIFER K.       ADDRESS ON FILE
ENCARNACION DIAZ, JOSE             ADDRESS ON FILE
ENCARNACION DIAZ, JOSE A           ADDRESS ON FILE
Encarnacion Diaz, Luz A            ADDRESS ON FILE
ENCARNACION DIAZ, MARIA A          ADDRESS ON FILE
ENCARNACION DIAZ, MELVIN           ADDRESS ON FILE
ENCARNACION DIAZ, NANCY            ADDRESS ON FILE
ENCARNACION DIAZ, PILAR            ADDRESS ON FILE
ENCARNACION DIAZ, STEVEN           ADDRESS ON FILE
ENCARNACION DOMINGUEZ, JUAN        ADDRESS ON FILE
ENCARNACION ENCARNACION, DARLYN    ADDRESS ON FILE
ENCARNACION ENCARNACION, JUAN      ADDRESS ON FILE
ENCARNACION ENCARNACION, OSMAR     ADDRESS ON FILE
ENCARNACION ESCOBAR, KENNETH       ADDRESS ON FILE
ENCARNACION FANCO, ANDI            ADDRESS ON FILE
ENCARNACION FEBRES, LEE            ADDRESS ON FILE
ENCARNACION FERNANDEZ, ELVIN       ADDRESS ON FILE
Encarnacion Ferrer, Alexie         ADDRESS ON FILE
ENCARNACION FERRER, DAVID E        ADDRESS ON FILE
ENCARNACION FIGUEROA, ADLIN        ADDRESS ON FILE
ENCARNACION FIGUEROA, LUZ DE       ADDRESS ON FILE
ENCARNACION FIGUEROA, LUZ DE LOS   ADDRESS ON FILE
ENCARNACION FRANCO, EMILIO         ADDRESS ON FILE
ENCARNACION FUENTES, LUIS A        ADDRESS ON FILE
ENCARNACION FUENTES, ORLANDO       ADDRESS ON FILE
ENCARNACION GARCIA, AMBAR          ADDRESS ON FILE
ENCARNACION GARCIA, BRENDA         ADDRESS ON FILE
ENCARNACION GARCIA, IDELIZ         ADDRESS ON FILE
ENCARNACION GARCIA, KATIRIA        ADDRESS ON FILE
Encarnacion Garcia, Katiria E      ADDRESS ON FILE
ENCARNACION GARCIA, NELSON         ADDRESS ON FILE
ENCARNACION GAUTIER, DIALMA        ADDRESS ON FILE
ENCARNACION GAUTIER, GLADYS E.     ADDRESS ON FILE
ENCARNACION GAUTIER, JANNETTE      ADDRESS ON FILE
ENCARNACION GOMEZ, JORGE           ADDRESS ON FILE
ENCARNACION GOMEZ, RAYMOND         ADDRESS ON FILE
ENCARNACION GOMEZ, WILFREDO        ADDRESS ON FILE
ENCARNACION GONZALEZ, ANA L        ADDRESS ON FILE
ENCARNACION GONZALEZ, ANGEL        ADDRESS ON FILE
ENCARNACION GONZALEZ, JOSE M       ADDRESS ON FILE
ENCARNACION GONZALEZ, NEYSHA       ADDRESS ON FILE
ENCARNACION GONZALEZ, YANIRA       ADDRESS ON FILE
ENCARNACION GUEITS, MARTA Y        ADDRESS ON FILE
ENCARNACION GUZMAN, LUIS M         ADDRESS ON FILE
ENCARNACION HERNANDEZ, CARMEN      ADDRESS ON FILE
ENCARNACION HERNANDEZ, DAMARIS     ADDRESS ON FILE
ENCARNACION HERNANDEZ, JORGE       ADDRESS ON FILE
ENCARNACION HERNANDEZ, JUSAM E.    ADDRESS ON FILE
ENCARNACION HERNANDEZ, MARISOL     ADDRESS ON FILE
ENCARNACION HERNANDEZ, MARISOL     ADDRESS ON FILE
ENCARNACION HERNANDEZ, MITDALIA    ADDRESS ON FILE
ENCARNACION HERNANDEZ, OBED        ADDRESS ON FILE
ENCARNACION HIRALDO, JOSUE         ADDRESS ON FILE




                                                                               Page 2574 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2575 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ENCARNACION HIRALDO, RANDOLF     ADDRESS ON FILE
ENCARNACION JIMENEZ, CHRISTIAN   ADDRESS ON FILE
ENCARNACION KUILAN MD, EDWIN     ADDRESS ON FILE
ENCARNACION KUILAN, CIRILO       ADDRESS ON FILE
ENCARNACION LANZO, JORGE         ADDRESS ON FILE
Encarnacion Lanzo, Jorge L       ADDRESS ON FILE
ENCARNACION LEBRON, NEREIDA      ADDRESS ON FILE
ENCARNACION LEDESMA, ANGEL A     ADDRESS ON FILE
ENCARNACION LIZARDI, MARIA       ADDRESS ON FILE
ENCARNACION LOPEZ, EDALIZ        ADDRESS ON FILE
ENCARNACION LOPEZ, ELI S         ADDRESS ON FILE
ENCARNACION LOPEZ, EUGENIO       ADDRESS ON FILE
ENCARNACION LOPEZ, GILBERTO      ADDRESS ON FILE
ENCARNACION LOPEZ, GILBERTO      ADDRESS ON FILE
ENCARNACION LOPEZ, JOSE          ADDRESS ON FILE
ENCARNACION LOPEZ, MYRIAM E.     ADDRESS ON FILE
ENCARNACION MARCANO, AGUSTIN     ADDRESS ON FILE
ENCARNACION MARIN, ANGEL L.      ADDRESS ON FILE
Encarnacion Marin, Blanca I      ADDRESS ON FILE
ENCARNACION MARIN, GENOVEVA      ADDRESS ON FILE
ENCARNACION MARIN, NELSON        ADDRESS ON FILE
ENCARNACION MARQUEZ, AMARILLYS   ADDRESS ON FILE
ENCARNACION MARQUEZ, AMARILYS    ADDRESS ON FILE
ENCARNACION MARQUEZ, CARMEN      ADDRESS ON FILE
ENCARNACION MARQUEZ, DAVIS       ADDRESS ON FILE
ENCARNACION MARQUEZ, JARIDA      ADDRESS ON FILE
ENCARNACION MARQUEZ, SAIRA E     ADDRESS ON FILE
ENCARNACION MARTINEZ, CIARLA     ADDRESS ON FILE
ENCARNACION MARTINEZ, MILAGROS   ADDRESS ON FILE
ENCARNACION MASSA, AWILDA        ADDRESS ON FILE
ENCARNACION MASSA, MANUEL        ADDRESS ON FILE
Encarnacion Massa, Melvin R.     ADDRESS ON FILE
ENCARNACION MD, BEVERLY          ADDRESS ON FILE
ENCARNACION MEDERO, SATURNINO    ADDRESS ON FILE
ENCARNACION MEDINA, JOSE         ADDRESS ON FILE
ENCARNACION MEDINA, JULIA        ADDRESS ON FILE
ENCARNACION MEDINA, LUZ E        ADDRESS ON FILE
ENCARNACION MEDINA,JULIA         ADDRESS ON FILE
ENCARNACION MELEDEZ, RAQUEL      ADDRESS ON FILE
Encarnacion Millan, Jose J       ADDRESS ON FILE
ENCARNACION MILLAN, WILLIAM      ADDRESS ON FILE
ENCARNACION MOLINA, EVELYN       ADDRESS ON FILE
ENCARNACION MONGE, DANIEL        ADDRESS ON FILE
ENCARNACION NAVARRO, EVA M.      ADDRESS ON FILE
ENCARNACION NAVARRO, HILDA L.    ADDRESS ON FILE
ENCARNACION NAVARRO, JOSE D.     ADDRESS ON FILE
ENCARNACION NAVARRO, SAMUEL      ADDRESS ON FILE
ENCARNACION NAZARIO, IRIS B      ADDRESS ON FILE
ENCARNACION NAZARIO, ISABEL      ADDRESS ON FILE
ENCARNACION NIEVES, CARMEN       ADDRESS ON FILE
ENCARNACION NIEVES, ELIUDI       ADDRESS ON FILE
Encarnacion Nieves, Samuel       ADDRESS ON FILE
ENCARNACION NIEVES, SAMUEL       ADDRESS ON FILE
ENCARNACION NIEVES, SERGIO A.    ADDRESS ON FILE
ENCARNACION NOVA, OMAYRA         ADDRESS ON FILE
ENCARNACION OCASIO, CARMEN       ADDRESS ON FILE
ENCARNACION OFERRAL, JOSEFA      ADDRESS ON FILE
Encarnacion Ortiz, Eugenio       ADDRESS ON FILE
ENCARNACION OSORIO, CARMEN B     ADDRESS ON FILE
ENCARNACION OSORIO, FRANCIS      ADDRESS ON FILE




                                                                             Page 2575 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2576 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ENCARNACION OSORIO, ROBERTO        ADDRESS ON FILE
ENCARNACION PABON, ADOLFO          ADDRESS ON FILE
ENCARNACION PABON, MARELYS         ADDRESS ON FILE
ENCARNACION PABON, MARISOL         ADDRESS ON FILE
ENCARNACION PAK, ERICK             ADDRESS ON FILE
ENCARNACION PEREZ, EMIL            ADDRESS ON FILE
ENCARNACION PEREZ, ILEANA          ADDRESS ON FILE
ENCARNACION PEREZ, IRIS M          ADDRESS ON FILE
ENCARNACION PEREZ, JOSE            ADDRESS ON FILE
ENCARNACION PEROZA, ENID           ADDRESS ON FILE
ENCARNACION PEROZA, VICMAR         ADDRESS ON FILE
ENCARNACION PEROZA, VICMAR         ADDRESS ON FILE
ENCARNACION PICHARDO, VICTOR       ADDRESS ON FILE
ENCARNACION PIMENTEL, MILAGROS     ADDRESS ON FILE
ENCARNACION PIMENTEL, SANDRA I     ADDRESS ON FILE
ENCARNACION PIZARRO, CARLOS        ADDRESS ON FILE
ENCARNACION PIZARRO, IVAN R.       ADDRESS ON FILE
ENCARNACION PIZARRO, LAURA M       ADDRESS ON FILE
ENCARNACION PIZARRO, SANTIAGO      ADDRESS ON FILE
ENCARNACION PLUGUEZ, CATHERINE     ADDRESS ON FILE
ENCARNACION PLUGUEZ, MATILDE       ADDRESS ON FILE
ENCARNACION PLUGUZ, MATILDE        ADDRESS ON FILE
ENCARNACION PRIETO, ADA L          ADDRESS ON FILE
ENCARNACION PRIETO, MYRNA          ADDRESS ON FILE
ENCARNACION QUILES, JOSE           ADDRESS ON FILE
ENCARNACIÓN QUINONEZ GONZÁLEZ      ADDRESS ON FILE
ENCARNACION QUITANA, MELANIE       ADDRESS ON FILE
ENCARNACION RAMOS, BETSY L         ADDRESS ON FILE
ENCARNACION RAMOS, JOSE            ADDRESS ON FILE
ENCARNACION RAMOS, JOSE            ADDRESS ON FILE
ENCARNACION RAMOS, MAYRA           ADDRESS ON FILE
ENCARNACION REYES, BRENDA          ADDRESS ON FILE
ENCARNACION REYES, JUAN            ADDRESS ON FILE
ENCARNACION REYES, NESTOR          ADDRESS ON FILE
ENCARNACION RIOS, ELSA I           ADDRESS ON FILE
ENCARNACION RIOS, JOEL             ADDRESS ON FILE
ENCARNACION RIVERA, ANA I.         ADDRESS ON FILE
ENCARNACION RIVERA, ANGEL          ADDRESS ON FILE
ENCARNACION RIVERA, ANNETTE        ADDRESS ON FILE
Encarnacion Rivera, Antonio        ADDRESS ON FILE
ENCARNACION RIVERA, DAVID          ADDRESS ON FILE
ENCARNACION RIVERA, EDGAR          ADDRESS ON FILE
ENCARNACION RIVERA, EDGARDO        ADDRESS ON FILE
ENCARNACION RIVERA, EDWIN          ADDRESS ON FILE
ENCARNACION RIVERA, EDWIN          ADDRESS ON FILE
ENCARNACION RIVERA, EMILIE         ADDRESS ON FILE
ENCARNACION RIVERA, JERSON         ADDRESS ON FILE
ENCARNACION RIVERA, LUIS           ADDRESS ON FILE
ENCARNACION RIVERA, LUZ A          ADDRESS ON FILE
ENCARNACION RIVERA, LUZ A          ADDRESS ON FILE
ENCARNACION RIVERA, MIGDALIA       ADDRESS ON FILE
ENCARNACION RIVERA, MILISSA        ADDRESS ON FILE
ENCARNACION RIVERA, MYRIAM D       ADDRESS ON FILE
ENCARNACION RIVERA, NELSON         ADDRESS ON FILE
ENCARNACION RIVERA, NELSON O       ADDRESS ON FILE
Encarnacion Robles, Jose           ADDRESS ON FILE
Encarnacion Robles, Joselyn        ADDRESS ON FILE
ENCARNACION RODRIGUEZ, CARMEN D.   ADDRESS ON FILE
ENCARNACION RODRIGUEZ, DAMARY      ADDRESS ON FILE
ENCARNACION RODRIGUEZ, DAVID       ADDRESS ON FILE




                                                                               Page 2576 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2577 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                        Address2                   Address3         Address4   City         State   PostalCode   Country
ENCARNACION RODRIGUEZ, JAZMINE    ADDRESS ON FILE
ENCARNACION RODRIGUEZ, JAZZMINE   ADDRESS ON FILE
ENCARNACION RODRIGUEZ, MARISOL    ADDRESS ON FILE
ENCARNACION RODRIGUEZ, NORMA I    ADDRESS ON FILE
ENCARNACION RODRIGUEZ, ROSANNA    ADDRESS ON FILE
ENCARNACION RODRIGUEZ, SAMUEL     ADDRESS ON FILE
ENCARNACION RODRIGUEZ, TERESA     ADDRESS ON FILE
ENCARNACION ROLDAN, JOSE          ADDRESS ON FILE
ENCARNACION ROMAN, JULIO A        ADDRESS ON FILE
ENCARNACION RUIZ, ROBERTO         ADDRESS ON FILE
ENCARNACION SALDANA, VICTOR M     ADDRESS ON FILE
ENCARNACION SANCHEZ, GERARDO      ADDRESS ON FILE
ENCARNACION SANCHEZ, OLGA         ADDRESS ON FILE
ENCARNACION SANTANA, ANGELA       ADDRESS ON FILE
ENCARNACION SANTANA, FELIX        ADDRESS ON FILE
ENCARNACION SANTIAGO, JOANN       ADDRESS ON FILE
ENCARNACION SANTIAGO, JULIO C.    ADDRESS ON FILE
ENCARNACION SANTIAGO, LUIS        ADDRESS ON FILE
ENCARNACION SANTIAGO, LUIS A.     ADDRESS ON FILE
ENCARNACION SANTIAGO, MARIA E     ADDRESS ON FILE
ENCARNACION SANTIAGO, RAFAEL      ADDRESS ON FILE
ENCARNACION SANTOS, EILEEN        ADDRESS ON FILE
ENCARNACION SIACA MD, MARIA D     ADDRESS ON FILE
ENCARNACION SIACA, BASILIA        ADDRESS ON FILE
Encarnacion Siaca, Jorge L        ADDRESS ON FILE
ENCARNACION SOLIMAN, PEDRO        ADDRESS ON FILE
ENCARNACION SUAREZ, EILEEN        ADDRESS ON FILE
ENCARNACION SULLIVAN, LIZZETTE    ADDRESS ON FILE
ENCARNACION TORRES, JOSE          ADDRESS ON FILE
ENCARNACION TORRES, JOSE          ADDRESS ON FILE
ENCARNACION TORRES, NILDA M.      ADDRESS ON FILE
ENCARNACION TORRES, NILKA         ADDRESS ON FILE
ENCARNACION VALDEZ, ALEJANDRO     ADDRESS ON FILE
ENCARNACION VASQUEZ, ANTONIO      ADDRESS ON FILE
ENCARNACION VASSALLO, DORIS       ADDRESS ON FILE
ENCARNACION VAZQUEZ, BARBARA      ADDRESS ON FILE
ENCARNACION VAZQUEZ, BELKIS       ADDRESS ON FILE
                                                                                             1353 AVE. LUIS
ENCARNACIÓN VÁZQUEZ, BELKIS       LCDA. YARLENE JIMENEZ ROSARIO   PMB 133                    VIGOREAUX                   GUAYNABO     PR      00966‐2700
ENCARNACION VAZQUEZ, BELKIS       ADDRESS ON FILE
ENCARNACION VEGA LOPEZ            ADDRESS ON FILE
ENCARNACION VEGA, CARLOS J        ADDRESS ON FILE
ENCARNACION VEGA, CEFERINO        ADDRESS ON FILE
ENCARNACION VELAZQUEZ, ISABEL     ADDRESS ON FILE
ENCARNACION VILLALONGO, ELVIN     ADDRESS ON FILE
ENCARNACION VIZCARRONDO, ALMA     ADDRESS ON FILE
ENCARNACION VIZCARRONDO, NORMA    ADDRESS ON FILE
ENCARNACION WALKER, ROBERT A.     ADDRESS ON FILE
ENCARNACION WALKER, ROBERTO       ADDRESS ON FILE
ENCARNACION, ALEIDA               ADDRESS ON FILE
ENCARNACION, BETSY                ADDRESS ON FILE
ENCARNACION, ENID D               ADDRESS ON FILE
ENCARNACION, FRANK                ADDRESS ON FILE
ENCARNACION, GRISELLE             ADDRESS ON FILE
Encarnacion, Lersy                ADDRESS ON FILE
ENCARNACION, PETRA                ADDRESS ON FILE
ENCARNACION, YADIRA M             ADDRESS ON FILE
ENCARNACIONDOMINGUEZ, DANIEL      ADDRESS ON FILE
ENCARNACIONFIGUEROA, JUDITH       ADDRESS ON FILE
ENCARNACIONHERNANDEZ, JESUS       ADDRESS ON FILE




                                                                              Page 2577 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2578 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                                Address1                                 Address2                                Address3       Address4   City           State   PostalCode   Country
ENCARNACIUON OSORIO, GLADYS E.               ADDRESS ON FILE
ENCARNITA PAREDES MORO                       ADDRESS ON FILE
ENCHAUTEGUI CRUZ, EVELYN                     ADDRESS ON FILE
ENCHAUTEGUI DIAZ, ILEANA                     ADDRESS ON FILE
ENCHAUTEGUI ENCHAUTEGUI, YARITZA             ADDRESS ON FILE
ENCHAUTEGUI GARCIA, JOSE M.                  ADDRESS ON FILE
ENCHAUTEGUI GARCIA, JUAN                     ADDRESS ON FILE
ENCHAUTEGUI MONTANEZ, DAVID                  ADDRESS ON FILE
ENCHAUTEGUI MONTANEZ, LUZ R                  ADDRESS ON FILE
ENCHAUTEGUI PEREZ, JULIE M                   ADDRESS ON FILE
ENCHAUTEGUI PEREZ, LEONOR                    ADDRESS ON FILE
ENCHAUTEGUI RAMOS, GEORGE                    ADDRESS ON FILE
ENCHAUTEGUI RAMOS, WILLIAM                   ADDRESS ON FILE
ENCHAUTEGUI RODRIGUEZ, NYDIA                 ADDRESS ON FILE
ENCHAUTEGUI ROMAN, LUIS                      ADDRESS ON FILE
ENCHAUTEGUI ROMAN, RAMONITA                  ADDRESS ON FILE
ENCHAUTEGUI ROQUE, JOSE                      ADDRESS ON FILE
ENCHAUTEGUI ROSA, ANA                        ADDRESS ON FILE
ENCHAUTEGUI ROSA, EDWARD                     ADDRESS ON FILE
ENCHAUTEGUI VAZQUEZ, FERNANDO                ADDRESS ON FILE
ENCHAUTEGUI, LUIS M.                         ADDRESS ON FILE
ENCIJAR HASSAN RIOS                          ADDRESS ON FILE
ENCINAS COLL, LALYANNA                       ADDRESS ON FILE
ENCO MANUFACTURING CORP.                     BALDORIOTY 43                                                                                              CIDRA          PR      00739‐0000
ENCORE MANAGEMENT                            PO BOX 195523                                                                                              SAN JUAN       PR      00919‐5523
ENCUADERNACIONES CESAR RODRIGUEZ             ADDRESS ON FILE
ENCUADERNACIONES CESAR RODRIGUEZ             ADDRESS ON FILE
ENCUADERNACIONES CESAR RODRIGUEZ             LOS MILLONES K‐10                        V CONTESSA                                                        BAYAMON        PR      00956
ENDARA ALVAREZ, RODRIGO                      ADDRESS ON FILE
ENDARA ALVAREZ, TASHA L                      ADDRESS ON FILE
ENDEL M RAMOS RODRIGUEZ                      ADDRESS ON FILE
ENDEL RODRIGUEZ CORTES                       JANE A. BECKER‐WHITAKER                  PO BOX 9023914                                                    SAN JUAN       PR      00902‐3914
ENDER J VEGA CORREA                          ADDRESS ON FILE
Enderton De Jesus, Leslie L                  ADDRESS ON FILE
ENDI ALEQUIN, JANET                          ADDRESS ON FILE
ENDI GOMEZ, TULIO JOSE                       ADDRESS ON FILE
ENDICIA                                      285 SHERMAN AVE                                                                                            PALO ALTO      CA      94306‐1864
ENDIX GROUP INC                              PO BOX 2205                                                                                                VEGA BAJA      PR      00694
ENDOCRINE & DIABETES CENTER                  STE 250 2200 OPTIZ BLVD                                                                                    WOODBRIDGE     VA      22191
ENDOCRINE ASSOCIATES LLC                     MEDICAL RECORD                           3180 MAIN ST STE 105                                              BRIDGEPORT     CT      06606
ENDOCRINOLOGY ASSOCIATION                    MEDICAL RECORDS                          9097 E DESERT COVE                      STE 250                   SCOTTDALE      AZ      85251
ENDOUROLOGICAL INSTITUTE INC                 TORRE DE AUXILIO MUTUO OFIC 608 AVE PONCE DE LEON 735                                                      SAN JUAN       PR      00917
Endurance American Specialty Insurance       Administrative Office                    4 Manhattanville Road                                             Purchase       NY      10577
Endurance American Specialty Insurance CompanAttn: John Zachry, President             4 Manhattanville Road                   3rd Floor                 Purchase       NY      10577
Endurance Assurance Corporation              750 3rd Avenue Floor 2                                                                                     New York       NY      10017
Endurance Assurance Corporation              Attn: Christopher Donelan, President     333 Westchester Avenue                  White Plains              New York       NY      10604
Endurance Assurance Corporation              Attn: Laura Shanahan, President          333 Westchester Avenue                  White Plains              New York       NY      10604
ENDY D TORRES CRUZ                           ADDRESS ON FILE
ENEDIGNA CARDONA VAZQUEZ                     ADDRESS ON FILE
ENEDINA FANA ALCANTARA                       ADDRESS ON FILE
ENEID ROUTTE GOMEZ                           PO BOX 9020058                                                                                             SAN JUAN       PR      00902‐0058
Eneida Aviles Rodriguez                      ADDRESS ON FILE
ENEIDA BONILLA NAVARRO                       ADDRESS ON FILE
ENEIDA CAMACHO RAVELO                        ADDRESS ON FILE
ENEIDA COLON LARA                            ADDRESS ON FILE
ENEIDA CORDERO DELGADO                       ADDRESS ON FILE
ENEIDA DELGADO BONILLA                       ADDRESS ON FILE
ENEIDA DIAZ MEDINA                           ADDRESS ON FILE
ENEIDA DIAZ MORALES                          ADDRESS ON FILE
ENEIDA E PADILLA AYALA                       ADDRESS ON FILE




                                                                                                               Page 2578 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2579 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                           Address1                       Address2                                  Address3   Address4   City          State   PostalCode   Country
ENEIDA E. GONZALEZ GONZALEZ             ADDRESS ON FILE
ENEIDA ENID VÉLEZ TORRES                LCDO. HARRY SANTOS COLONDRES   PO BOX 120 MERCEDITA                                            MERCEDITA     PR      00715‐0120
ENEIDA GALLOZA AVILES                   ADDRESS ON FILE
ENEIDA HERNANDEZ NIEVES                 ADDRESS ON FILE
ENEIDA I SANTIAGO RIVERA                ADDRESS ON FILE
ENEIDA L ORTIZ VAZQUEZ                  ADDRESS ON FILE
ENEIDA LOPEZ GALARZA                    ADDRESS ON FILE
ENEIDA LOZADA FLORES                    ADDRESS ON FILE
ENEIDA LUZ AYALA CARTAGENA V DEPARTAMENTLCDO HERIBERTO QUINONES        PO BOX 7041                                                     CAGUAS        PR      00726 7041
ENEIDA LUZ AYALA CARTAGENA V DEPARTAMENTLCDO HERIBERTO QUINONES        URBANIZACION SABANERA CAMINO DE LOS JARDINES 392                CIDRA         PR      00739
ENEIDA M GONZALEZ PEREZ                 ADDRESS ON FILE
ENEIDA M MURIEL GARCIA                  ADDRESS ON FILE
ENEIDA MARTINEZ MULERO                  ADDRESS ON FILE
ENEIDA MEDINA PINA                      ADDRESS ON FILE
ENEIDA MELENDEZ DE TORRES               ADDRESS ON FILE
ENEIDA MENDEZ VALENTIN                  ADDRESS ON FILE
ENEIDA MOJICA NUNEZ                     ADDRESS ON FILE
ENEIDA MOJICA NUNEZ                     ADDRESS ON FILE
ENEIDA NIEVES                           ADDRESS ON FILE
ENEIDA NIEVES MARTIR                    ADDRESS ON FILE
ENEIDA NIEVES MARTIR                    ADDRESS ON FILE
ENEIDA ORTIZ RUIZ                       ADDRESS ON FILE
ENEIDA PAGAN HERNANDEZ                  ADDRESS ON FILE
ENEIDA PEREZ ORTIZ                      ADDRESS ON FILE
ENEIDA RAMOS REYES                      ADDRESS ON FILE
ENEIDA RIOS SANCHEZ                     ADDRESS ON FILE
ENEIDA RIVERA DEIDA                     ADDRESS ON FILE
ENEIDA RODRIGUEZ CAMACHO                ADDRESS ON FILE
ENEIDA RODRIGUEZ CARTAGENA              ADDRESS ON FILE
ENEIDA RODRIGUEZ GALINDEZ               ADDRESS ON FILE
ENEIDA RODRIGUEZ GONZALEZ               ADDRESS ON FILE
ENEIDA RODRIGUEZ QUINONES               ADDRESS ON FILE
ENEIDA ROSADO ALEJANDRO                 ADDRESS ON FILE
ENEIDA ROSADO ROLON                     ADDRESS ON FILE
ENEIDA S GARCIA QUINONES                ADDRESS ON FILE
ENEIDA S SIERRA LUGO                    ADDRESS ON FILE
ENEIDA SANTANA COSME                    ADDRESS ON FILE
ENEIDA SANTANA Y BRENDA M ROSAS MUNIZ ADDRESS ON FILE
ENEIDA TROCHE ALICEA                    ADDRESS ON FILE
ENEIDA VARGAS RODRIGUEZ                 ADDRESS ON FILE
ENEIDA VEGA RIVERA                      ADDRESS ON FILE
ENEIDA VILLARUBIA RIVERA                ADDRESS ON FILE
ENEIDY B MERCADO NARVAEZ                ADDRESS ON FILE
ENEL M PEREZ MONTE                      ADDRESS ON FILE
ENEL M PEREZ MONTE                      ADDRESS ON FILE
ENEL M PEREZ MONTE                      ADDRESS ON FILE
ENELIA ORTEGA BRANA                     ADDRESS ON FILE
ENELIDA JIMENEZ TERRON                  ADDRESS ON FILE
ENELLY RIVERA ROMERO                    ADDRESS ON FILE
ENELLY RIVERA ROMERO                    ADDRESS ON FILE
ENEMENCIO RECAREY PAYERO                ADDRESS ON FILE
ENEMIAS MARQUEZ MELENDEZ                ADDRESS ON FILE
ENEMIAS MARQUEZ MELENDEZ                ADDRESS ON FILE
ENEMIAS SOTO CRUZ                       ADDRESS ON FILE
ENERALDO SERRANO GIRAL                  ADDRESS ON FILE
ENERCIDA MARTINEZ MENA                  ADDRESS ON FILE
ENERGETIKS CHIROPRACTIC CENTER PSC      URB SANTA ROSA                 10‐23 CALLE 3                                                   BAYAMON       PR      00959‐6612
ENERGIA 2000 INC                        PO BOX 4295                                                                                    BAYAMON       PR      00958
ENERGY ELECTRIC IND SUPPLY INC          PO BOX 6017 PMB 191                                                                            CAROLINA      PR      00984‐6017
ENERGY GAS STATION                      PO BOX 21431                                                                                   SAN JUAN      PR      00928




                                                                                                  Page 2579 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2580 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                         Address1                           Address2                                      Address3   Address4   City            State   PostalCode   Country
ENERGY MANAGEMENT & ENGINERIKS CORPORAPO BOX 1955                                                                                            CIALES          PR      00638
ENERGY PROD & ENGINEERING CORP        425 CARR 693 STE 1 PMB 363                                                                             DORADO          PR      00646
ENERGY PRODUCTS & ENGINEERING RETIR   425 CARR 693 STE 1 PMB 363                                                                             DORADO          PR      00646
ENERGY SYSTEMS OF CARIBBEAN INC.      CALLE 400 KALAF 351                                                                                    SAN JUAN        PR      00918
ENERGY SYSTEMS OF CARIBBEGE           PO BOX 1851                                                                                            SABANA SECA     PR      00952‐1851
ENERIS M MEDINA LLORENS               ADDRESS ON FILE
ENERIS Y LOZADA PAGAN                 ADDRESS ON FILE
ENERIS Y. RIOS VELEZ                  ADDRESS ON FILE
ENERIS Y. RIOS VELEZ                  ADDRESS ON FILE
ENERMECH PSC                          URB. SANTA JUANITA                 CALLE 14 X‐11                                                       CAGUAS          PR      00725
ENEROLIZA PALMERO COMPUSANO           ADDRESS ON FILE
ENEROLIZA PALMERO COMPUSANO           ADDRESS ON FILE
ENERSIDA TERRERO BURGOS               ADDRESS ON FILE
ENERSYS ENGINEERING CORP              CARR 165 TORRE 90 STE 312                                                                              GUAYNABO        PR      00968‐8058
ENERSYS ENGINEERING CORPORATION       CARR. #165                         TORRE 90 SUITE 312                                                  GUAYNABO        PR      00968‐8058
ENES EDUCATIONAL GROUP INC.           PO BOX 19808                                                                                           SAN JUAN        PR      00910
ENES EDUCATIONAL GROUP INC.           PO BOX 55418                       STATION ONE                                                         BAYAMON         PR      00960
ENEYSHA CARRASQUILLO LANZOT           ADDRESS ON FILE
ENEYZA BARRETO GONZALEZ               ADDRESS ON FILE
ENFANT DIVIN CORP DBA COMBAT ZONE     PMB 10                             PO BOX 9117                                                         BAYAMON         PR      00960
ENFASIS                               5TA VILLA CAROLINA                 194‐20 CALLE 517                                                    CAROLINA        PR      00985
ENFASIS INVESTIGACION SOCIAL          PO BOX 190113                                                                                          SAN JUAN        PR      00919‐0113
ENFERMEDADES DEL RINON PSC            PO BOX 13040                                                                                           SAN JUAN        PR      00908
ENFOCARTE INC                         COND MONTE NORTE                   AVE HOSTOS 175 APT 720 A                                            SAN JUAN        PR      00918
ENFOQUE FILM CORP                     URB BORINQUEN                      Q 34 CALLE ANTONIA SAEZ                                             CABO ROJO       PR      00623
ENG MIGUEL A BONILLA, P S C           URB EL SENORIAL #315 AVE WINSTON   CHURCHILL                                                           SAN JUAN        PR      00926
ENGEL RAMOS MD, ROBERT                ADDRESS ON FILE
ENGEL RAMOS, JEANETTE M               ADDRESS ON FILE
ENGELBERT PEREZ GARCIA                ADDRESS ON FILE
ENGELBERTH RODRIGUEZ BAUTISTA         ADDRESS ON FILE
ENGELL RIVERA, BRIAN D.               ADDRESS ON FILE
ENGELL RIVERA, EDWARD                 ADDRESS ON FILE
ENGELL RIVERA, MEG E                  ADDRESS ON FILE
ENGER ARMANDO SANTANA ALVAREZ         ADDRESS ON FILE
ENGIE IRIZARRY MALDONADO              P.O. BOX 561375                                                                                        GUAYANILLA      PR      00656‐0000
ENGINEERED METAL FORM & MFG INC       EXT ROOSEVELT                      450 CALLE ARRIGOITIA                                                SAN JUAN        PR      00918
ENGINEERED PARTS & SERVICE, INC.      P.O. BOX 1899                                                                                          VEGA ALTA       PR      00692‐1899
ENGINEERED PARTS AND SERVICES INC     PO BOX 1899                                                                                            VEGA ALTA       PR      00692
ENGINEERED SOLUTIONS PC S             79 CALLE VIZCARRONDO                                                                                   CAGUAS          PR      00725‐3664
ENGINEERING ARCHITECTURAL             PO BOX 51446                                                                                           TOA BAJA        PR      00950
ENGINEERING & COMMUNICATION GROUP     P O BOX 526                                                                                            CAROLINA        PR      00986
ENGINEERING & PLANNING SERVICES LLC   PO BOX 79288                                                                                           CAROLINA        PR      00984
ENGINEERING DESIGN & TESTING          1022 12 STATE STREET                                                                                   CAYCE           SC      29033
ENGINEERING EXAMINATION SERVICES      150 FOURTH                         AVE NORTH SUITE 800                                                 NASHVILLE       TN      37219‐2417
ENGINEERING PRODUCTS CO INC           PO BOX 192079                                                                                          SAN JUAN        PR      00919
ENGINEERING PRODUCTS CO INC           ROYAL IND PARK                     CARR 869 KM 1 5 DLDE M LOCAL 5                                      CATAÐO          PR      00962
ENGINEERING PRODUCTS CO INC           ROYAL IND PARK                     CARR 869 KM 1 5 DLDE M LOCAL 5                                      CATANO          PR      00962
ENGINEERING SERVICES SOLUTIONS        PO BOX 732                                                                                             DORADO          PR      00646‐0732
ENGINEERING SOLUTION FIRM INC         PMB 332                            PO BOX 4960                                                         CAGUAS          PR      00726‐4960
ENGINEERS MANAGER A RESEARCHERS       ADDRESS ON FILE
ENGIWORKS CORP                        PO BOX 8728                                                                                            CAGUAS          PR      00726
ENGIWORKS CORP                        URB SAN ALFONSO                    A 11 AVE DEGETAU                                                    CAGUAS          PR      00725
ENGLAND BAYRON, CARMEN                ADDRESS ON FILE
ENGLAND BAYRON, VIRGIN                ADDRESS ON FILE
ENGLAND RIVERA, EDWARD                ADDRESS ON FILE
ENGLAND RODRIGUEZ, RAUL E             ADDRESS ON FILE
ENGLAND RODRIGUEZ, RAUL E             ADDRESS ON FILE
ENGLAND ROMERO, EDUARDO               ADDRESS ON FILE
ENGLAND ROMERO, PEGGY                 ADDRESS ON FILE
ENGLEWOOD HOSP & MED CTER             PO BOX 48304                                                                                           NEWARK          NJ      07101




                                                                                                     Page 2580 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2581 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ENGLEWOOD HOSPITAL AND MEDICAL CENTER   P.O. BOX 452                                                                     BOGOTA       NJ      07603
ENHIL LOPEZ DE VICTORIA MELENDEZ        ADDRESS ON FILE
ENHORABUENA INC                         P O BOX 2352                                                                     BAYAMON      PR      00960
ENIA E CAPO MORALES                     ADDRESS ON FILE
ENIBETH FLORES VAZQUEZ                  ADDRESS ON FILE
ENID A CANCEL IRIZARRY                  ADDRESS ON FILE
ENID A ORTEGA PEREZ                     ADDRESS ON FILE
ENID A RODRIGUEZ GONZALEZ               ADDRESS ON FILE
ENID A RODRIGUEZ VALENTIN               ADDRESS ON FILE
ENID A VELEZ BAREA                      ADDRESS ON FILE
ENID B DIAZ OSCANA                      ADDRESS ON FILE
ENID BADILLO                            ADDRESS ON FILE
ENID BAEZ ACEVEDO                       ADDRESS ON FILE
ENID BERMUDEZ DE JESUS                  ADDRESS ON FILE
ENID BERMUDEZ TORRES                    ADDRESS ON FILE
ENID BLASINI RUBERO                     ADDRESS ON FILE
ENID C MALAVE QUINONES                  ADDRESS ON FILE
ENID C RODRIGUEZ                        ADDRESS ON FILE
ENID C. IRIZARRY GONZALEZ               ADDRESS ON FILE
ENID COLON VEGA                         ADDRESS ON FILE
ENID CRISTINA RIVERA                    ADDRESS ON FILE
ENID D FLORES RUIZ                      ADDRESS ON FILE
ENID D ORTIZ VAZQUEZ                    ADDRESS ON FILE
ENID D RODRIGUEZ TORRES                 ADDRESS ON FILE
ENID D VARGAS DELGADO                   ADDRESS ON FILE
ENID DEL CARMEN ORTIZ RENOVALES         ADDRESS ON FILE
ENID DEL CARMEN RIVERA VELAZQUEZ        ADDRESS ON FILE
ENID DEL R VEGA QUINONES                ADDRESS ON FILE
ENID DIAZ MONTANEZ                      ADDRESS ON FILE
ENID DIAZ NIEVES                        ADDRESS ON FILE
ENID DREVON PEREZ                       ADDRESS ON FILE
ENID E ALVARADO GUZMAN                  ADDRESS ON FILE
ENID E RIVERA FIGUEROA                  ADDRESS ON FILE
ENID ELIAS ROJAS                        ADDRESS ON FILE
ENID ENCARNACION DE JESUS               ADDRESS ON FILE
ENID ENCARNACION DE JESUS               ADDRESS ON FILE
ENID ESPADA DAVILA                      ADDRESS ON FILE
ENID FLORES INFANTE                     ADDRESS ON FILE
ENID G DIAZ DE FERRO                    ADDRESS ON FILE
ENID GOMEZ FERRER                       ADDRESS ON FILE
ENID GONZALEZ                           ADDRESS ON FILE
ENID GONZALEZ ORTIZ                     ADDRESS ON FILE
ENID HERNANDEZ SERRANO                  ADDRESS ON FILE
ENID I VEGA RODRIGUEZ                   ADDRESS ON FILE
ENID IRIZARRY CRUZ                      ADDRESS ON FILE
ENID ISAAC COSTOSO                      ADDRESS ON FILE
ENID J FELICIANO FRATICELLI             ADDRESS ON FILE
ENID J FIGUEROA COLON                   ADDRESS ON FILE
ENID J RIVERA NUNEZ                     ADDRESS ON FILE
ENID J. ARAMBARY MARRERO                ADDRESS ON FILE
ENID J. FELICIANO FRATICELLI            ADDRESS ON FILE
ENID J. GARCIA RIVERA                   ADDRESS ON FILE
ENID L RODRIGUEZ SOLTREN                ADDRESS ON FILE
ENID L SERRANO IRIZARRY                 ADDRESS ON FILE
ENID LOPEZ GUZMAN                       ADDRESS ON FILE
ENID LOPEZ LOPEZ                        ADDRESS ON FILE
ENID LOPEZ OSORIO                       ADDRESS ON FILE
ENID M BLASCO REILLO                    ADDRESS ON FILE
ENID M BLASCO REILLO                    ADDRESS ON FILE
ENID M CARMONA                          ADDRESS ON FILE




                                                                                    Page 2581 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2582 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                        Address2                               Address3   Address4            City         State   PostalCode   Country
ENID M CARTAGENA VILLANUEVA             ADDRESS ON FILE
ENID M CONCEPCION RODRIGUEZ             ADDRESS ON FILE
ENID M COTTO RIOS                       ADDRESS ON FILE
ENID M DEL VALLE RUIZ                   ADDRESS ON FILE
ENID M FIGUEROA ROSARIO                 ADDRESS ON FILE
ENID M FUENTES ECHEVARRIA               ADDRESS ON FILE
ENID M GIGLIOTTY LOPEZ                  ADDRESS ON FILE
ENID M GONZALEZ GONZALEZ                ADDRESS ON FILE
ENID M GONZALEZ MULERO                  ADDRESS ON FILE
ENID M IGLESIAS DIAZ                    ADDRESS ON FILE
ENID M LEBRON ROMERO                    ADDRESS ON FILE
ENID M LUGO MEDINA                      ADDRESS ON FILE
ENID M MELENDEZ FUENTES                 ADDRESS ON FILE
ENID M PEREZ DENIZA                     ADDRESS ON FILE
ENID M PEREZ RODRIGUEZ                  ADDRESS ON FILE
ENID M RIVERA PACHECO                   ADDRESS ON FILE
ENID M RIVERA RIVERA                    ADDRESS ON FILE
ENID M RODRIGUEZ RIVERA                 ADDRESS ON FILE
ENID M SANTOS CRUZ                      ADDRESS ON FILE
ENID M VELEZ VALLE                      ADDRESS ON FILE
ENID M. AGOSTO RIVERA                   ADDRESS ON FILE
                                                                                                                          201 AVE. ARTERIAL
ENID M. REQUENA RODRÍGUEZ Y JORGE D. REQUJORGE L. ARMENTEROS CHERVONI   COND. GALERÍA SUITE 2                  PMB 202    HOSTOS              SAN JUAN     PR      00918‐1405
ENID MARIE OSORIO MARCANO                ADDRESS ON FILE
ENID MARTINEZ RIVERA                     ADDRESS ON FILE
ENID MELENDEZ GAETAN                     ADDRESS ON FILE
ENID MERCADO DECLET                      ADDRESS ON FILE
ENID MERCADO SERRANO                     ADDRESS ON FILE
ENID MOLINARY CINTRON                    ADDRESS ON FILE
ENID MONTANEZ MARRERO                    ADDRESS ON FILE
ENID MORALES ROMERO                      ADDRESS ON FILE
ENID ORTIZ AGOSTINI                      ADDRESS ON FILE
ENID PACHECO RUIZ                        ADDRESS ON FILE
ENID PLUMEY SOTO                         ADDRESS ON FILE
ENID POLANCO LAFONTAINE                  ADDRESS ON FILE
ENID QUINONES GONZALEZ                   ADDRESS ON FILE
ENID R MAYENS NAZARIO                    ADDRESS ON FILE
ENID R TORO VEGA                         ADDRESS ON FILE
ENID REYES CORREA                        ADDRESS ON FILE
ENID REYES DOMINGUEZ                     ADDRESS ON FILE
ENID RIVERA /NELVIS RIVERA/JOSE RIVERA   ADDRESS ON FILE
ENID RIVERA JIMENEZ                      ADDRESS ON FILE
ENID RIVERA MERCADO                      ADDRESS ON FILE
ENID RIVERA TUBENS                       ADDRESS ON FILE
ENID RODRIGUEZ LOPEZ                     ADDRESS ON FILE
ENID RODRIGUEZ NEGRON                    ADDRESS ON FILE
ENID RODRIGUEZ RODRIGUEZ                 ADDRESS ON FILE
ENID RODRIGUEZ ROSADO                    ADDRESS ON FILE
ENID ROMAN MERCADO                       ADDRESS ON FILE
ENID ROSADO NEGRON                       ADDRESS ON FILE
ENID ROSADO NEGRON                       ADDRESS ON FILE
ENID S COLON LOPEZ                       ADDRESS ON FILE
ENID S MEDINA ROJAS                      ADDRESS ON FILE
ENID S PEREZ FERNANDEZ                   ADDRESS ON FILE
ENID S RODRIGUEZ BINET                   ADDRESS ON FILE
ENID SANTIAGO SAEZ                       ADDRESS ON FILE
ENID SERRANO FLAISHER                    ADDRESS ON FILE
ENID STEPANOF                            ADDRESS ON FILE
ENID TORRES LUGO                         ADDRESS ON FILE
ENID TORRES ROBLEDO                      ADDRESS ON FILE




                                                                                                Page 2582 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2583 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                        Address1                               Address2                                   Address3        Address4   City              State   PostalCode   Country
ENID V MADERA TORO                   ADDRESS ON FILE
ENID V.MELENDEZ CORREA               ADDRESS ON FILE
ENID VARGAS DEL VALLE                ADDRESS ON FILE
ENID VARGAS RIVERA                   ADDRESS ON FILE
ENID VELAZQUEZ                       ADDRESS ON FILE
ENID VERA ACEVEDO                    ADDRESS ON FILE
ENID VILA RIVERA                     ADDRESS ON FILE
ENID VILLAFANE FIGUEROA              ADDRESS ON FILE
ENID W DEGRO MARFISI                 ADDRESS ON FILE
ENID Y RIVERA HERNANDEZ              ADDRESS ON FILE
ENID Y VILLEGAS HENRIQUEZ            ADDRESS ON FILE
ENID Y. CANDELARIA WILLIAMS          ADDRESS ON FILE
ENID YANIRA COLON MENDOZA Y OTROS    LCDA. MARITZA LÓPEZ CAMUY(ABOGADA ASEGUPO BOX 195587                                                         SAN JUAN          PR      00919‐5587
ENID YANIRA COLON MENDOZA Y OTROS    LCDO. JUAN CORCHADO JUARBE             URB HERMANAS DAVILA                        AVE. BETANCES   I‐2        Bayamón           PR      00959
ENID Z LACEN PIZARRO                 ADDRESS ON FILE
ENID Z.QUILES DIAZ                   ADDRESS ON FILE
ENID ZURITA RODRIGUEZ                ADDRESS ON FILE
ENIDCILIA SOTO CAMACHO               ADDRESS ON FILE
ENIDSABEL TORRES RODRIGUEZ           ADDRESS ON FILE
ENIEL RODRIGUEZ DIAZ                 ADDRESS ON FILE
ENIGNA VIDEO SYSTEMS CORP            PO BOX 79                                                                                                    CAYEY             PR      00737
ENILDA RODRIGUEZ PAGAN               ADDRESS ON FILE
ENILDA RODRIGUEZ PAGAN               ADDRESS ON FILE
ENILL MONTALVO MORALES               ADDRESS ON FILE
ENIO E MONTES SANTIAGO               ADDRESS ON FILE
ENIO R FERRIS TORRES                 ADDRESS ON FILE
ENIO R SUASNAVAR TORRES              ADDRESS ON FILE
ENIO RAFAEL SEPULVEDA ORTIZ          ADDRESS ON FILE
ENIO REFRIGERATOR SERVICES           CARR 861 B 21 SIERRA LINDA                                                                                   BAYAMON           PR      00957
ENIO RUSSEN PENA                     ADDRESS ON FILE
ENITH A BANCHS VINAS                 ADDRESS ON FILE
ENITH M VALDES ORTIZ                 ADDRESS ON FILE
ENITH MULERO ALGARIN                 ADDRESS ON FILE
ENITYASET RODRIGUEZ SANTOS           ADDRESS ON FILE
ENITZA CABAN GONZALEZ                ADDRESS ON FILE
ENITZA CRUZ CORREA                   ADDRESS ON FILE
ENITZA M CRUZ MEDINA                 ADDRESS ON FILE
ENITZA TORRES ROSA                   ADDRESS ON FILE
ENIVELISSE VAZQUEZ BURGOS            ADDRESS ON FILE
ENIVELYS BETANCOURT APONTE           ADDRESS ON FILE
ENJOLRAS ALICEA CINTRON              ADDRESS ON FILE
ENJOYMENT INC                        PO BOX 594                                                                                                   TRUJILLO ALTO     PR      00977‐0594
ENLACE MERCANTIL INTERNATIONAL       ADDRESS ON FILE
ENLACES INTEGRATED COUNSILTING INC   PO BOX 193009                                                                                                SAN JUAN          PR      00919
ENMARCADOS ALEGRES                   ADDRESS ON FILE
ENNA RODRIGUEZ VAZQUEZ               ADDRESS ON FILE
ENNIE CARTAGENA MUNOZ                ADDRESS ON FILE
ENNIO A GAUD FIGUEROA                ADDRESS ON FILE
ENNIO BELLIA FIGHERA                 ADDRESS ON FILE
ENNIO QUIRINDONGO LUGO               ADDRESS ON FILE
ENNIR J BETANCOURT CRUZ              ADDRESS ON FILE
ENNIS APRN , KATHLEEN A              ADDRESS ON FILE
ENNOVATION, CORP                     PO BOX 8155                                                                                                  SAN JUAN          PR      00910
E‐NNOVATIONS TECHNOLOGIES SIST       JARD DE MEDITERRANEO                   384 CALLE JARDIN LIBERTAD                                             TOA ALTA          PR      00953‐3646
ENNOVETION CORP                      LOIZA VALLEY                           A 55 CALLE ROSA                                                       CANOVANAS         PR      00729
ENNY DE JESUS URENA                  ADDRESS ON FILE
ENNYS L LOPEZ RIVERA                 ADDRESS ON FILE
ENOC AYALA HERNANDEZ                 ADDRESS ON FILE
ENOC AYALA VILLANUEVA                ADDRESS ON FILE
ENOC CRESPO ELLIN                    ADDRESS ON FILE




                                                                                                        Page 2583 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2584 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                      Address2                     Address3   Address4             City         State   PostalCode   Country
ENOC DANIEL CINTRON RIVERA        ADDRESS ON FILE
ENOC FRANCISCO RAMOS PEREZ        LCDO. EDWIN CASTRO FONTANEZ   PMB 101 390                  Suite #1   Carr. 853 Carolina   CAROLINA     PR      00987‐8799
ENOC G RAMOS LIZARDI              ADDRESS ON FILE
ENOC POMALES CASTELLANO           ADDRESS ON FILE
ENOC RAMOS CANCEL                 ADDRESS ON FILE
ENOC TORRES ROBLES                ADDRESS ON FILE
ENOCK CEDENO SANTIAGO             ADDRESS ON FILE
ENOEL SANCHEZ ROMAN               ADDRESS ON FILE
ENORY HERNANDEZ RODRIGUEZ         ADDRESS ON FILE
ENOS E PIZARRO HERNANDEZ          ADDRESS ON FILE
ENOX CEDENO AVILLAN               ADDRESS ON FILE
ENR SERVICE INC                   HC 1 BOX 6024                                                                              AIBONITO     PR      00705‐9756
ENRICO SARTORI                    ADDRESS ON FILE
ENRICO VARGAS SANTIAGO            ADDRESS ON FILE
ENRICO VARGAS SANTIAGO            ADDRESS ON FILE
ENRIGHT NIEVES, STEPHANIE         ADDRESS ON FILE
ENRIQUE A BALLADARES              ADDRESS ON FILE
ENRIQUE A COLLAZO SUAREZ          ADDRESS ON FILE
ENRIQUE A CRUZ ORTIZ              ADDRESS ON FILE
ENRIQUE A DE JESUS SANCHEZ        ADDRESS ON FILE
ENRIQUE A EMMANUELLI ORTIZ        ADDRESS ON FILE
ENRIQUE A GONZALEZ TORO           ADDRESS ON FILE
ENRIQUE A MANFREDY RODRIGUEZ      ADDRESS ON FILE
ENRIQUE A NANITA CASTILLO         ADDRESS ON FILE
ENRIQUE A PAOLI ORTIZ             ADDRESS ON FILE
ENRIQUE A PEREZ ACEVEDO           ADDRESS ON FILE
ENRIQUE A RODRIGUEZ               ADDRESS ON FILE
ENRIQUE A RODRIGUEZ ALAMO         ADDRESS ON FILE
ENRIQUE A. CARDONA                ADDRESS ON FILE
ENRIQUE A. CARDONA                ADDRESS ON FILE
ENRIQUE ABRUNA LOJO               ADDRESS ON FILE
ENRIQUE ADAMES SOTO               ADDRESS ON FILE
ENRIQUE ALCARAZ MICHELI           ADDRESS ON FILE
ENRIQUE ALMEIDA ALONSO            ADDRESS ON FILE
ENRIQUE ALVARADO HERNADEZ         ADDRESS ON FILE
ENRIQUE AMADOR BRAVO              ADDRESS ON FILE
ENRIQUE APONTE VALENTIN           ADDRESS ON FILE
ENRIQUE ARIAS MALDONADO           ADDRESS ON FILE
ENRIQUE ARVELO BRITO              ADDRESS ON FILE
ENRIQUE AYALA REYES               ADDRESS ON FILE
ENRIQUE AYALA REYES               ADDRESS ON FILE
ENRIQUE BAEZ GONZALEZ             ADDRESS ON FILE
ENRIQUE BALLESTAS CASANOVA        ADDRESS ON FILE
ENRIQUE BALLESTAS CASANOVA        ADDRESS ON FILE
ENRIQUE BALLESTAS CASANOVA        ADDRESS ON FILE
ENRIQUE BALLESTER MELENDEZ        ADDRESS ON FILE
ENRIQUE BERNABE RODRIGUEZ         ADDRESS ON FILE
ENRIQUE BIRLICKI WYPYCHYNSSHI     ADDRESS ON FILE
ENRIQUE BOSCH GOSALVEZ            ADDRESS ON FILE
ENRIQUE BURGOS RODRIGUEZ          ADDRESS ON FILE
ENRIQUE CALERO CARRION            ADDRESS ON FILE
ENRIQUE CAMACHO HUERTAS           ADDRESS ON FILE
ENRIQUE CARABALLO / LUZ MARCANO   ADDRESS ON FILE
ENRIQUE CARBONELL MAMERY          ADDRESS ON FILE
ENRIQUE CARMOEGA QUIROS           ADDRESS ON FILE
ENRIQUE CARRILLO ARROYO           ADDRESS ON FILE
ENRIQUE CARRION SEGARRA           ADDRESS ON FILE
ENRIQUE CASTILLO GOMEZ            ADDRESS ON FILE
ENRIQUE CHAVIER                   ADDRESS ON FILE
ENRIQUE COLLAZO PELIZ             ADDRESS ON FILE




                                                                              Page 2584 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2585 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ENRIQUE CORCINO FUENTE                    ADDRESS ON FILE
ENRIQUE CORTES RIVERA                     ADDRESS ON FILE
ENRIQUE CORTES RIVERA                     ADDRESS ON FILE
ENRIQUE CORTES Y DORIS ANDUJAR            ADDRESS ON FILE
ENRIQUE CRUZ VALI                         ADDRESS ON FILE
ENRIQUE DE LEON CRUZ                      ADDRESS ON FILE
ENRIQUE DELGADO CUEVAS                    ADDRESS ON FILE
ENRIQUE DIAZ                              ADDRESS ON FILE
ENRIQUE DIAZ DE JESUS                     ADDRESS ON FILE
ENRIQUE DIAZ DE JESUS                     ADDRESS ON FILE
ENRIQUE DIAZ GARCIA                       ADDRESS ON FILE
ENRIQUE DIAZ VELAZQUEZ                    ADDRESS ON FILE
ENRIQUE E VELEZ RIVE                      ADDRESS ON FILE
ENRIQUE ESCOBAR / EDUARDO ESCOBAR         ADDRESS ON FILE
ENRIQUE ESCOBAR RESTO                     ADDRESS ON FILE
ENRIQUE ESCUTER LUQUIS                    ADDRESS ON FILE
ENRIQUE ESTRADA GUZMAN                    ADDRESS ON FILE
ENRIQUE F BARED ATAMPAR                   ADDRESS ON FILE
ENRIQUE F CLAUDIO RODRIGUEZ               ADDRESS ON FILE
ENRIQUE F FELICIANO ALVAREZ               ADDRESS ON FILE
ENRIQUE F GARAY RIVERA                    ADDRESS ON FILE
ENRIQUE F GELPI                           ADDRESS ON FILE
ENRIQUE FELIZ MOREY                       ADDRESS ON FILE
ENRIQUE FIGUEROA HERNANDEZ/ A M ELETRIC   PO BOX 1212                                                                      MAYAGUEZ     PR      00681
ENRIQUE FIGUEROA RIVERA                   ADDRESS ON FILE
ENRIQUE FIGUEROA SERRANO                  ADDRESS ON FILE
ENRIQUE FREIRIA UMPIERRE                  ADDRESS ON FILE
ENRIQUE G DE TORRES COLON                 ADDRESS ON FILE
ENRIQUE G PEREZ PRADO                     ADDRESS ON FILE
ENRIQUE G PEREZ PRADO                     ADDRESS ON FILE
ENRIQUE GALARZA Y YOLANDA GALARZA         ADDRESS ON FILE
ENRIQUE GARCIA CHAPARRO                   ADDRESS ON FILE
ENRIQUE GARCIA HERNANDEZ                  ADDRESS ON FILE
ENRIQUE GARCIA SERRANO                    ADDRESS ON FILE
ENRIQUE GARCIA TORRES                     ADDRESS ON FILE
ENRIQUE GARCIA TORRES                     ADDRESS ON FILE
ENRIQUE GASCOT IZQUIERDO                  ADDRESS ON FILE
ENRIQUE GERENA NUNEZ                      ADDRESS ON FILE
ENRIQUE GODINEZ MORALES                   ADDRESS ON FILE
ENRIQUE GONZALEZ ORTIZ                    ADDRESS ON FILE
ENRIQUE GONZALEZ ROBLES                   ADDRESS ON FILE
ENRIQUE GONZALEZ, JOSE                    ADDRESS ON FILE
ENRIQUE GOZALEZ MARRERO                   ADDRESS ON FILE
ENRIQUE HERNANDEZ CORTES                  ADDRESS ON FILE
ENRIQUE HIDALGO GALARZA                   ADDRESS ON FILE
ENRIQUE I LOPEZ LOPEZ                     ADDRESS ON FILE
ENRIQUE IRIZARRY SAN MIGUEL               ADDRESS ON FILE
ENRIQUE J CALDERON ROBLES                 ADDRESS ON FILE
ENRIQUE J COLON MOJICA                    ADDRESS ON FILE
ENRIQUE J LANDRON NAVAS                   ADDRESS ON FILE
ENRIQUE J LOPEZ ORTIZ Y CARMEN M GARCIA   ADDRESS ON FILE
ENRIQUE J MARTINEZ BERMUDEZ               ADDRESS ON FILE
ENRIQUE J MENDOZA MENDEZ                  ADDRESS ON FILE
ENRIQUE J PEREZ ALVAREZ                   ADDRESS ON FILE
ENRIQUE J RIVERA ORTIZ                    ADDRESS ON FILE
ENRIQUE J RODRIGUEZ GONZALEZ              ADDRESS ON FILE
ENRIQUE J TORRES ROCHE                    ADDRESS ON FILE
ENRIQUE JARA PINO                         ADDRESS ON FILE
ENRIQUE JIMENEZ                           ADDRESS ON FILE
ENRIQUE JOSE HERNANDEZ ORTEGA             ADDRESS ON FILE




                                                                                      Page 2585 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2586 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                           Address1                 Address2                                   Address3    Address4   City             State   PostalCode   Country
ENRIQUE JOVE JIMENEZ                    ADDRESS ON FILE
ENRIQUE JULIA RAMOS                     ADDRESS ON FILE
ENRIQUE JULIA RAMOS                     ADDRESS ON FILE
ENRIQUE JURADO RODRIGUEZ                ADDRESS ON FILE
ENRIQUE L DOMINGUEZ NIEVES              ADDRESS ON FILE
ENRIQUE L VILLAHERMOSA                  ADDRESS ON FILE
ENRIQUE LAUSELL CARRION                 ADDRESS ON FILE
ENRIQUE LLANOS RIVERA                   ADDRESS ON FILE
ENRIQUE LLANTIN RIVERA DBA WEST PEST    CONTRO PR                URB PUERTA DE COMBATE                      BUZON 170              BOQUERON         PR      00622‐1230
ENRIQUE LLUCH FRONTERA                  ADDRESS ON FILE
ENRIQUE LOPEZ MOLINA                    ADDRESS ON FILE
ENRIQUE LOPEZ VARGAS                    ADDRESS ON FILE
ENRIQUE LUGO TEXIDOR                    ADDRESS ON FILE
ENRIQUE LUIS PINEIRO                    ADDRESS ON FILE
ENRIQUE M FERRER                        ADDRESS ON FILE
Enrique M. Lopez Perez                  ADDRESS ON FILE
ENRIQUE MAESTRE VEGA                    ADDRESS ON FILE
ENRIQUE MALDONADO ANDUJAR               ADDRESS ON FILE
ENRIQUE MALDONADO HERNANDEZ             ADDRESS ON FILE
ENRIQUE MALDONADO VALE                  ADDRESS ON FILE
ENRIQUE MANGUAL FLORES                  ADDRESS ON FILE
ENRIQUE MANGUAL MORALES                 ADDRESS ON FILE
ENRIQUE MANUEL NAVARRETE                ADDRESS ON FILE
ENRIQUE MARTINO BERMUDEZ                ADDRESS ON FILE
ENRIQUE MELENDEZ CARTAGENA              ADDRESS ON FILE
ENRIQUE MELENDEZ GARCIA                 ADDRESS ON FILE
ENRIQUE MENDEZ LORENZO Y JESSICA M ROMANADDRESS ON FILE
ENRIQUE MILLAN RAMOS                    ADDRESS ON FILE
ENRIQUE MOLINA CUEVAS                   ADDRESS ON FILE
ENRIQUE MONTES ROLDAN                   ADDRESS ON FILE
ENRIQUE MORALES NAVARRO                 ADDRESS ON FILE
ENRIQUE MUNIZ RIVERA                    ADDRESS ON FILE
ENRIQUE N VELA COLON                    ADDRESS ON FILE
ENRIQUE NASSAR & ASOCIADOS              ADDRESS ON FILE
ENRIQUE NAZARIO OLIVERAS                ADDRESS ON FILE
ENRIQUE NIEVES                          ADDRESS ON FILE
ENRIQUE NIEVES HERNANDEZ                ADDRESS ON FILE
ENRIQUE NIEVES NIEVES                   ADDRESS ON FILE
ENRIQUE NIGGEMANN                       ADDRESS ON FILE
ENRIQUE O FIGUEROA SANTIAGO             ADDRESS ON FILE
ENRIQUE ORENGO ANCIANI                  ADDRESS ON FILE
ENRIQUE ORTIZ GUERRA                    ADDRESS ON FILE
ENRIQUE ORTIZ RODRIGUEZ                 ADDRESS ON FILE
ENRIQUE ORTIZ RODRIGUEZ                 ADDRESS ON FILE
ENRIQUE ORTIZ TORRES                    ADDRESS ON FILE
ENRIQUE OSORIO CONCEPCION               ADDRESS ON FILE
ENRIQUE OSORIO JULIO                    ADDRESS ON FILE
ENRIQUE PACHECO CAMACHO/ EP ENERGY LLC QUINTAS DE CABO ROJO      196 CALLE CANARIO                                                 CABO ROJO        PR      00623
ENRIQUE PAGAN                           HC‐01 BOX 8001                                                                             SANTA ISABEL     PR      00757
ENRIQUE PAGAN BEAUCHAMP                 ADDRESS ON FILE
ENRIQUE PAGAN ZAMBRANA                  ADDRESS ON FILE
ENRIQUE PASARELL JULIAO                 ADDRESS ON FILE
ENRIQUE PERAL LAW OFFICES, PSC          PASEO DEL BOSQUE         340 AVE DONA FELISA RINCON DE APT 2508                            SAN JUAN         PR      00926‐6641
ENRIQUE PEREZ DIAZ                      ADDRESS ON FILE
ENRIQUE PEREZ FIGUEROA                  ADDRESS ON FILE
ENRIQUE PEREZ QUIJANO                   ADDRESS ON FILE
ENRIQUE PEREZ VAZQUEZ                   ADDRESS ON FILE
ENRIQUE PINET LANZO                     ADDRESS ON FILE
ENRIQUE PIOVANETTI PIETRI MD, J         ADDRESS ON FILE
ENRIQUE QUINONES AROCHO                 ADDRESS ON FILE




                                                                                             Page 2586 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2587 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                              Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
ENRIQUE QUINONES MAISONET                  ADDRESS ON FILE
ENRIQUE QUINONES MOLINA                    ADDRESS ON FILE
ENRIQUE R ADAMES/ ERAS LEGAL SERVICE CSP   434 AVE HOSTOS                                                                        SAN JUAN     PR      00918
ENRIQUE R CAPO TRUYOL                      ADDRESS ON FILE
ENRIQUE R DE ORBETA CONTRERAS              ADDRESS ON FILE
ENRIQUE R LUGO VALENTIN                    ADDRESS ON FILE
ENRIQUE R LUIGGI LOPEZ                     ADDRESS ON FILE
ENRIQUE R PIOVANETTI                       ADDRESS ON FILE
ENRIQUE R SIACA ESTEVES                    ADDRESS ON FILE
ENRIQUE RAMIREZ RODRIGUEZ                  ADDRESS ON FILE
ENRIQUE RAMOS                              ADDRESS ON FILE
ENRIQUE RAMOS CASTILLO                     ADDRESS ON FILE
ENRIQUE RAMOS ORTIZ                        ADDRESS ON FILE
ENRIQUE RAMOS QUINONES                     ADDRESS ON FILE
ENRIQUE RAMOS UMPIERRE                     ADDRESS ON FILE
ENRIQUE RAMOS VAZQUEZ                      ADDRESS ON FILE
ENRIQUE REBOLLO PORTELA                    ADDRESS ON FILE
ENRIQUE REYES CAMACHO                      ADDRESS ON FILE
ENRIQUE RIVAS MELENDEZ                     ADDRESS ON FILE
ENRIQUE RIVERA AYALA                       ADDRESS ON FILE
ENRIQUE RIVERA CALCANO                     ADDRESS ON FILE
ENRIQUE RIVERA MALDONADO                   ADDRESS ON FILE
ENRIQUE RIVERA MATOS                       ADDRESS ON FILE
ENRIQUE RIVERA NIEVES                      ADDRESS ON FILE
ENRIQUE RIVERA PEREZ                       ADDRESS ON FILE
ENRIQUE ROBERT CARRASQUILLO                ADDRESS ON FILE
ENRIQUE ROBLES / MIGDALIA ROBLES           ADDRESS ON FILE
ENRIQUE RODRIGUEZ /MILAGROS CINTRON        ADDRESS ON FILE
ENRIQUE RODRIGUEZ CACERES                  ADDRESS ON FILE
ENRIQUE RODRIGUEZ COLON                    ADDRESS ON FILE
ENRIQUE RODRIGUEZ CRUZ                     ADDRESS ON FILE
ENRIQUE RODRIGUEZ MARQUEZ                  ADDRESS ON FILE
ENRIQUE RODRIGUEZ OTERO                    ADDRESS ON FILE
ENRIQUE RODRIGUEZ RIVERA                   ADDRESS ON FILE
ENRIQUE RODRIGUEZ ROSARIO                  ADDRESS ON FILE
ENRIQUE RODRIGUEZ SUAREZ                   ADDRESS ON FILE
ENRIQUE RODRIGUEZ VELAZQUEZ                ADDRESS ON FILE
ENRIQUE ROMAN BARRETO, JULIO               ADDRESS ON FILE
ENRIQUE ROMAN MENA                         ADDRESS ON FILE
ENRIQUE ROSA MORALES                       ADDRESS ON FILE
ENRIQUE ROSADO BAEZ                        ADDRESS ON FILE
ENRIQUE ROSADO MATIAS                      ADDRESS ON FILE
ENRIQUE ROSARIO                            ADDRESS ON FILE
ENRIQUE ROSARIO AVILLAN                    ADDRESS ON FILE
ENRIQUE ROSARIO FORTUNO                    ADDRESS ON FILE
ENRIQUE ROSSY FULLANA                      ADDRESS ON FILE
ENRIQUE RUIZ & ASOCIADO PSC.               P.O. BOX 360977                                                                       SAN JUAN     PR      00936‐0977
ENRIQUE RUIZ ASOCIADO                      AVE AMERCO MIRANDA 1226   REPTO. METROPOLITANO                                        SAN JUAN     PR      00921
ENRIQUE RUIZ MORALES                       ADDRESS ON FILE
ENRIQUE SALGADO RODRIGUEZ                  ADDRESS ON FILE
ENRIQUE SANCHEZ GALLOZA                    ADDRESS ON FILE
ENRIQUE SANCHEZ LOPEZ                      ADDRESS ON FILE
ENRIQUE SANCHEZ RODRIGUEZ                  ADDRESS ON FILE
ENRIQUE SANTIAGO CARDONA                   ADDRESS ON FILE
ENRIQUE SANTIAGO GREO                      ADDRESS ON FILE
ENRIQUE SANTIAGO RAMOS                     ADDRESS ON FILE
ENRIQUE SANTIAGO RIVERA                    ADDRESS ON FILE
ENRIQUE SANTIAGO TORRES                    ADDRESS ON FILE
ENRIQUE SANTIAGO, JUAN                     ADDRESS ON FILE
ENRIQUE SEGARRA / LUIS E SEGARRA           ADDRESS ON FILE




                                                                                            Page 2587 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2588 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                               Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
ENRIQUE SERRANO CASTRO                      ADDRESS ON FILE
ENRIQUE SILVA AYALA MD, JOSE                ADDRESS ON FILE
ENRIQUE SOTO BERMUDEZ                       ADDRESS ON FILE
ENRIQUE SOTO DBA KIKES CATERION             PO BOX 1357                                                                      AGUADA          PR      00602
ENRIQUE TORRE, LUIS F                       ADDRESS ON FILE
ENRIQUE TORRES PEREZ                        ADDRESS ON FILE
ENRIQUE TORRES TURELL                       ADDRESS ON FILE
ENRIQUE TRINIDAD ADORNO                     ADDRESS ON FILE
ENRIQUE TRINIDAD APONTE                     ADDRESS ON FILE
ENRIQUE UBARRI BLANES                       ADDRESS ON FILE
ENRIQUE UMPIERRE SUAREZ                     ADDRESS ON FILE
ENRIQUE VALE VALE                           ADDRESS ON FILE
ENRIQUE VARGAS MARTINEZ                     ADDRESS ON FILE
ENRIQUE VAZQUEZ CLAUDIO                     ADDRESS ON FILE
ENRIQUE VAZQUEZ PRESTAMO                    ADDRESS ON FILE
ENRIQUE VAZQUEZ ROBLES                      ADDRESS ON FILE
Enrique Vazquez, Carlos J                   ADDRESS ON FILE
ENRIQUE VEGA RIOPEDRE                       ADDRESS ON FILE
ENRIQUE VÉLEZ PÉREZ Y ENRIQUE VÉLEZ AYALA   LCDO. ANGEL R. MANGUAL    PO BOX 801055                                          COTO LAUREL     PR      00780‐1055
ENRIQUE VELEZ RODRIGUEZ                     ADDRESS ON FILE
ENRIQUE VIERA GUZMAN                        ADDRESS ON FILE
ENRIQUE VILLAZEVALLOS RODRIGUEZ             ADDRESS ON FILE
ENRIQUE VILLAZEVALLOS RODRIGUEZ             ADDRESS ON FILE
ENRIQUE ZAMOT MERCADO                       ADDRESS ON FILE
ENRIQUETA HERNANDEZ GONZALEZ                ADDRESS ON FILE
ENRIQUETA MONTANEZ ROSARIO                  ADDRESS ON FILE
ENRIQUEZ ALVAREZ, LEONOR                    ADDRESS ON FILE
ENRIQUEZ APONTE, CARLOS M                   ADDRESS ON FILE
ENRIQUEZ ARCE, CARLOS                       ADDRESS ON FILE
ENRIQUEZ BAEZ, MARISOL                      ADDRESS ON FILE
ENRIQUEZ BERRIO, ALEXIS                     ADDRESS ON FILE
ENRIQUEZ BERRIOS, EDWIN                     ADDRESS ON FILE
ENRIQUEZ BETANCOURT, LUZ                    ADDRESS ON FILE
ENRIQUEZ CAPON, JOHN                        ADDRESS ON FILE
ENRIQUEZ DE JESUS, VICTOR                   ADDRESS ON FILE
ENRIQUEZ DE LA PAZ, JOSE                    ADDRESS ON FILE
ENRIQUEZ DELGADO, LOUIS                     ADDRESS ON FILE
ENRIQUEZ FIGUEROA, WALESKA                  ADDRESS ON FILE
ENRIQUEZ FLORES, VIVIAN                     ADDRESS ON FILE
ENRIQUEZ GEORGI, AXEL                       ADDRESS ON FILE
ENRIQUEZ GONZALEZ, JOSE                     ADDRESS ON FILE
ENRIQUEZ GONZALEZ, XAVIER                   ADDRESS ON FILE
ENRIQUEZ GUZMAN, PEDRO H                    ADDRESS ON FILE
ENRIQUEZ MARIN, JOSE                        ADDRESS ON FILE
ENRIQUEZ MENDEZ, IRIS S                     ADDRESS ON FILE
ENRIQUEZ MORENO, OSVALDO                    ADDRESS ON FILE
ENRIQUEZ ORTIZ, EMMA                        ADDRESS ON FILE
ENRIQUEZ PEREZ, MARTHA P                    ADDRESS ON FILE
ENRIQUEZ RAMOS, BETTY                       ADDRESS ON FILE
ENRIQUEZ RAMOS, JORGE                       ADDRESS ON FILE
Enriquez Rentas, Nancy Y.                   ADDRESS ON FILE
ENRIQUEZ RIVERA, CARLA                      ADDRESS ON FILE
ENRIQUEZ RODRIGUEZ, IGRI S                  ADDRESS ON FILE
ENRIQUEZ RODRIGUEZ, JAVIER                  ADDRESS ON FILE
ENRIQUEZ SANTIAGO, JUAN                     ADDRESS ON FILE
ENRIQUEZ SANTIAGO, JUAN C.                  ADDRESS ON FILE
ENRIQUEZ SEIDERS MD, ELISA                  ADDRESS ON FILE
ENRIQUEZ TROCHE, SOFIA                      ADDRESS ON FILE
ENRIQUEZ VAZQUEZ, LUIS                      ADDRESS ON FILE
ENRIQUEZ VAZQUEZ, MILAGROS                  ADDRESS ON FILE




                                                                                        Page 2588 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2589 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                           Creditor Matrix

Creditor Name                            Address1                                         Address2                                      Address3               Address4      City              State   PostalCode   Country
ENRIQUEZ VEGA, ABEL E                    ADDRESS ON FILE
ENRIQUEZ VEGA, ILSA A                    ADDRESS ON FILE
ENRIQUEZ VEGA, MIGUEL                    ADDRESS ON FILE
ENRIQUEZ VEGA, TIRSA V                   ADDRESS ON FILE
ENRIQUEZ, IVONNE M.                      ADDRESS ON FILE
ENRIQUEZ, ZENAIDA                        ADDRESS ON FILE
ENRIZO ARIAS, ORLANDO                    ADDRESS ON FILE
ENROLL NOW PR LLC                        452 AVE PONCE DE LEON STE 401‐A                                                                                                     SAN JUAN          PR      00918
ENSCO CARIBE, INC.                       P O BOX 361282                                                                                                                      SAN JUAN          PR      00936‐1282
ENSENAT DUENO, CARMEN M                  ADDRESS ON FILE
ENSUENOS DE GABIAS INC                   PO BOX 1328                                                                                                                         AIBONITO          PR      00705
ENSUENOS DE MUJER                        AVE JOBOS CARR 459 KM 11.5                       BOX 8543                                                                           ISABELA           PR      00662
ENSUENOS DE MUJER                        AVE. JOBOS, BUZON 8543                                                                                                              ISABELA           PR      00662
ENSUENOS DE PUERTO RICO                  P O BOX 580                                                                                                                         GUAYNABO          PR      00970
ENT AND ALLERGY ASSOCIATES               160 HAWLEY LANE                                  SUITE 202                                                                          TRUMBULL          CT      06611
ENT SPECIALTIES INC                      P O BOX 2111                                                                                                                        GUAYNABO          PR      00970‐2111
ENT SPECIALTIES, INC                     PO BOX 361034                                                                                                                       SAN JUAN          PR      00936‐1034
ENTECH DESIGN & PROJECT MANAGEMENT P S C 352 CALLE SAN CLAUDIO PMB 173                                                                                                       SAN JUAN          PR      00926
ENTECH DESIGN AND PROJECT MANAGEMENT 1665 VICTOR M LABIOSA AVE                            STE304                                                                             SAN JUAN          PR      00926
ENTECH DESIGN AND PROJECT MANAGEMENT 1665 VICTOR M. LABIOSA AVE.                          SUITE 304                                                                          SAN JUAN          PR      00926
ENTENZA CABRERA MD, FERNANDO             ADDRESS ON FILE
ENTER LIFE AMBULANCES CORP               76 CALLE GEORGETTI ALTOS                                                                                                            SAN JUAN          PR      00928
ENTERNAINMENT IN MOTION LLC              URB LAGOS DE PLATA                               N 9 CALLE 14                                                                       TOA BAJA          PR      00949
ENTERNTAINMENT CENTER INC                JOSÉ GUEITS                                      FRANCIS & GUEITS LAW OFICES                   PO BOX 267
ENTERPRICE EVENTS INC                    CORPORATE OFFICE PARK                            36 MARTINEZ NADAL HIGHWAY                     SUITE 204 BOX 707                    GUAYNABO          PR      00966
ENTERPRISE HOLDINGS INC                  P O BOX 405738                                                                                                                      ATLANTA           GA      30384‐5738
ENTERPRISE HOLDINGS INC                  PO BOX 724016                                                                                                                       ATLANTA           GA      31139‐9998
ENTERPRISE NETWORK SOLUTIONS LLC         PO BOX 13894                                                                                                                        SAN JUAN          PR      00908
ENTERPRISE PLATINUM INC                  COTO LAUREL                                      PO BOX 801081                                                                      PONCE             PR      00780
ENTERPRISE PLATINUM, INC                 PO BOX 801081                                                                                                                       COTO LAUREL       PR      00780
                                                                                                                                        250 MuÃ±oz Rivera
ENTERPRISE RISK I.I.                     Attn: Eric Miller, Principal Representative      American International Plaza                  Avenue, Suite 710                    Hato Rey          PR      00918
                                                                                                                                        250 MuÃ±oz Rivera
ENTERPRISE RISK I.I.                     Attn: Joseph Taussig, President                  American International Plaza                  Avenue, Suite 710                    Hato Rey          PR      00918
                                                                                                                                        250 MuÃ±oz Rivera
ENTERPRISE RISK I.I.                     c/o Pinnacle Actuarial Resources, Inc, Actuary   American International Plaza                  Avenue, Suite 710                    Hato Rey          PR      00918
                                                                                                                                        250 MuÃ±oz Rivera
ENTERPRISE RISK I.I.                     c/o RSM Puerto Rico, External Auditor            American International Plaza                  Avenue, Suite 710                    Hato Rey          PR      00918
ENTERPRISE RISK I.I.
ENTERPRISE SERVICES CARIBE LLC           350 CHARDON AVE. CHARDON TOWER                   SUITE 810                                                                          SAN JUAN          PR      00918
ENTERPRISES SECURITY SOLUTION            URB RIO GRANDE EST                               X1 CALLE 26                                                                        RIO GRANDE        PR      00745‐5112

ENTERTAINMENT CENTER                     ÁNGEL E. GONZÁLEZ ORTIZ                          BANCO COOPERATIVO PLAZA                       623 AVE. Ponce DE LEÓN STE. 605‐B    SAN JUAN          PR      00917‐4820

ENTERTAINMENT CENTER INC.                ANGEL E. GONZALEZ ORTIZ Y EFRAIN GONZALEZ CBANCO COOPERATIVO PLAZA                             623 AVE. Ponce DE LEON SUITE 605‐D   SAN JUAN          PR      00917‐4820
ENTERTAINMENT IN MOTION LLC              CARR 188 KM 07                             SECTOR INDUSTRIAL SAN ISIDRO                                                             CANOVANAS         PR      00729
ENTRERIOS CORRIENTES HOMEOWNER ASSOC INPMB 51 BOX 2500                                                                                                                       TRUJILLO ALTO     PR      00977
ENTRETENIMIENTO SIN LIMITE               CENTRO COM.ALTAMESA                        1386‐B CALLE SAN JACNT URB ALTAMESA                 RIO PIEDRAS                          SAN JUAN          PR      00921‐0000
ENTRIALGO GRANADO, KAREN                 ADDRESS ON FILE
Entrust                                  P O Box 7483                               Postal Station A                                                                         Toronto           ON      M5W 3C1      Canada
ENUDIO A COLON CEDENO                    HC 01 BOX 4217                                                                                                                      VILLALBA          PR      00766‐9711
ENUES OBED GUADALUPE GONZALEZ            ADDRESS ON FILE
ENUT CORP                                4TA SECC VILLA CAROLINA                    143 8 CALLE 401                                                                          CAROLINA          PR      00985
ENVEJECER ARMONIA INC                    PO BOX 2400                                                                                                                         AIBONITO          PR      00705
ENVEJECER EN ARMONIA INC                 P O BOX 2400                                                                                                                        AIBONITO          PR      00705
ENVIRO PERMITS INC                       PO BOX 1176                                                                                                                         TOA ALTA          PR      00954
ENVIRO SAFETY COMPLIANCE ALTERNATIVE     PONCE DE LEON AVENUE 623 OFFICE 703 B                                                                                               HATO REY          PR      00917
ENVIRO SAFETY COMPLIANCE ALTERNATIVE INC ADDRESS ON FILE
ENVIRO SOURE INC.                        P O BOX 4990                                                                                                                                          PR      00685‐4990
ENVIROMANAGERS CORP                      PALACIO IMPERIAL                           1389 PERSIA ST                                                                           TOA ALTA          PR      00953




                                                                                                                         Page 2589 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 2590 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                         Creditor Matrix

Creditor Name                           Address1                                           Address2                                   Address3   Address4   City             State   PostalCode   Country
ENVIROMENT CONDITIONING SERVICE         PO BOX 195018                                                                                                       SAN JUAN         PR      00919
ENVIROMENTAL & PROJET MANAGER CORP      B 31 MONTE CARLO                                                                                                    VEJA BAJA        PR      00693
ENVIROMENTAL ASSOCIATES INC             AREA DEL TESORO                                    DIVISION DE RECLAMACIONES                                        SAN JUAN         PR      00902‐4140
ENVIROMENTAL INVENTORY & CONSULTINGGROPO BOX 56163                                                                                                          BAYAMON          PR      00960
ENVIROMENTAL POWER                      PO BOX 414                                                                                                          MERCEDITA        PR      00715‐0414
ENVIROMENTAL PROTECTION AGENCY          LAS VEGAS FINANCE CENTER 4220 S MARYLAND PKWY BLDG C SU                                                             LAS VEGAS        NV      89119
ENVIROMENTAL QUALITY LAB/PV PROPERTIES MINILLAS INDUSTRIAL PARK                            60 CALLE E                                                       BAYAMON          PR      00959
ENVIROMENTAL QUALITY LABORATORIO        PO BOX 11458                                       SANTURCE                                                         SAN JUAN         PR      00910‐1458
ENVIROMENTAL RESOURCE GROUP             RR 8 BOX 2099                                                                                                       BAYAMON          PR      00956
ENVIROMENTAL RESOURCES MANAGEMENT       PO BOX 192291                                                                                                       SAN JUAN         PR      00919‐2291
ENVIROMENTAL SYSTEMS RESEARCH INSTITUTE FILE 54630                                                                                                          LOS ANGELES      CA      90074‐4630
ENVIROMENTAL XCHANGE INFORMATION & TEC CUPEY PROFESIONAL MAIL                                                                                               SAN JUAN         PR      00926
ENVIRONIC ENGINERING GROUP CORP         P O BOX 29595                                                                                                       SAN JUAN         PR      00929
ENVIRONIC RECYCLING SERVICES, INC.      PO BOX 29535                                                                                                        SAN JUAN         PR      00929‐0535
ENVIRONICS ENGINEERING GROUP CORP       P.O. BOX 29535                                                                                                      SAN JUAN         PR      00929‐0535
ENVIRONICS ENGINERING GROUP CORP        AREA DEL TESORO                                    DIVISION DE RECLAMACIONES                                        SAN JUAN         PR      00902‐4140
ENVIRONICS ENGINERING GROUP CORP        P O BOX 29535                                                                                                       SAN JUAN         PR      00929
ENVIRONMENTA RESOURCE TECHNOLOGIES      PO BOX 195336                                                                                                       SAN JUAN         PR      00919‐5336
ENVIRONMENTAL & TRANSPORT GROUP, INC    URB MARIANI                                        1575 AVE MUNOZ RIVERA PMB 372                                    PONCE            PR      00717
ENVIRONMENTAL ASSESSMENT CONSULTING INCPO BOX 11                                                                                                            HORMIGUEROS      PR      00660
ENVIRONMENTAL CONSULTANT GROUP INC      VILLA CAROLINA                                     68‐12 CALLE 55                                                   CAROLINA         PR      00985‐4930
ENVIRONMENTAL HEALTH & SAFETY SERVICES PMB 142400 CALLE CALAF                                                                                               SAN JUAN         PR      00693‐0000
ENVIRONMENTAL HYDROLOGY LAW CONSULT URB VALPARAISO                                         J5 VALPARAISO CALLE 3                                            LEVITTOWN        PR      00949
ENVIRONMENTAL PROTECTION AGENCY         P O BOX 979076                                                                                                      ST LOUIS         MO      63197‐9000
Environmental Protection Agency (EPA)   Ariel Rios                                         1200 Pennsylvania Ave., NW                                       Washington       DC      20460
Environmental Protection Agency (EPA)   Attn: Ariel Rios                                   1200 Pennsylvania Ave., NW                                       Washington       DC      20460
ENVIRONMENTAL QUALITY LAB INC           PO BOX 11095                                                                                                        SAN JUAN         PR      00910‐2195
ENVIRONMENTAL TRAINING & PROFESSIONAL GUAYAMA ST AA‐38 SANTA GUANITA                                                                                        BAYAMON          PR      00956
ENVIRORESOURCES INC                     HC 01 BOX 5595                                                                                                      BARRANQUITAS     PR      00794
ENVIRORESOURCES INC                     MIRADOR BAIROA                                                                                                      CAGUAS           PR      00727
ENVIROSOLUTIONS                         PO BOX 4960 PMB 194                                                                                                 CAGUAS           PR      00726
ENVIROTAB , INC                         HC ‐ 72 BOX 3766 PMB 316                                                                                            NARANJITO        PR      00719‐9788
ENVIROTAB INC                           PMB 316                                            HC 72 BOX 3766                                                   NARANJITO        PR      00719‐9788
ENVISION ENERGY CORP                    5 AVE APOLO                                                                                                         GUAYNABO         PR      00969
Envision Insurance Company              181 East Aurora Road                               Suite 201                                                        Twinsburg        OH      44087
Envision Insurance Company              Attn: Deanna Homer, Consumer Complaint Conta2181 East Aurora Road                                                   Twinsburg        OH      44087
Envision Insurance Company              Attn: Eugene Samuels, Circulation of Risk          2181 East Aurora Road                                            Twinsburg        OH      44087
Envision Insurance Company              Attn: Eugene Samuels, Regulatory Compliance Go2181 East Aurora Road                                                 Twinsburg        OH      44087
Envision Insurance Company              Attn: Scott Gonia, Premiun Tax Contact             2181 East Aurora Road                                            Twinsburg        OH      44087
Envision Insurance Company              Attn: William Epling, President                    2181 East Aurora Road                                            Twinsburg        OH      44087
Envision Insurance Company              c/o CGF Insurance, L.L.C., Agent for Service of Pro2181 East Aurora Road                                            Twinsburg        OH      44087
ENVISION TECHNOLOGIES                   MSC 345 100 GRAN BOULEVARD PASEOS                  SUITE 112                                                        SAN JUAN         PR      00926‐5955
ENYA ENID SANTIAGO FRANCO               HC 43 BOX 11531                                                                                                     CAYEY            PR      00736
ENYBETTE RIVERA CATALA                  APARTADO 211                                                                                                        NARAJINTO        PR      00719
ENZO R VAZQUEZ LATIMER                  ADDRESS ON FILE
ENZON PHARMACEUTICALS, INC              PO BOX 15406                                                                                                        NEWARK           NJ      07192‐5406
EONETT R RODRIGUEZ BONILLA              ADDRESS ON FILE
EOS EVENTS INC                          50 PASEO COVADONGA                                                                                                  SAN JUAN         PR      00901
EOUNTAIN CHRISTIAN BILINGUAL SCHOOL     PO BOX 1528                                                                                                         VEGA BAJA        PR      00694
EP ENTERPRISES                          URB COUNTRY CLUB                                   822 CALLE MOLUCAS                                                SAN JUAN         PR      00924‐1723
EPA INACTIVO                            P O BOX 979087                                                                                                      ST LOUIS         MO      63197‐9000
EPAFRODITO MELENDEZ RIVERA              ADDRESS ON FILE
EPC EQUIPO PRO CONVALESCENCIA INC       URB EL PARAISO                                     107 CALLE GANGES EDIF JIHP                                       SAN JUAN         PR      00926‐2915
EPG INSURANCE INC                       P O BOX 171199                                                                                                      MEMPHIS          TN      38187
EPG INSURANCE INC                       PO BOX 171199                                                                                                       MENPHIS          TN      38187
EPHRATA COMMUNITY HOSPITAL              169 MARTIN AVE                                     PO BOX 1002                                                      EPHRATA          PA      17522‐1022
EPI A BIOMET CO                         P O BOX 1359                                                                                                        GUAYNABO         PR      00970
EPIC MEDICAL SUPPLY                     4 EXT VILLA CAROLINA                               143‐8 CALLE 401                                                  CAROLINA         PR      00985
EPIFANIA CRUZ VAZQUEZ                   LCDO ARNALDO J IRIZARRY IRIZARRY                   114 CALLE DR SANTIAGO VEVE STE 108
EPIFANIA DE JESÚS                       ADDRESS ON FILE




                                                                                                                       Page 2590 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2591 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                  Address2                                 Address3   Address4   City           State   PostalCode   Country
EPIFANIA ESCOBAR Y/O AGUSTIN SOTO        ADDRESS ON FILE
EPIFANIA NEGRON PICART                   ADDRESS ON FILE
EPIFANIA QUINONES RODRIGUEZ              ADDRESS ON FILE
EPIFANIA RALAT SANTIAGO                  ADDRESS ON FILE
EPIFANIA RIOPEDRE RODRIGUEZ              LCDA. IVETTE R. GARCIA CRUZ               PO BOX 373151                                                  Cayey          PR      00737‐3151
EPIFANIO ALDAHONDO DELGADO               ADDRESS ON FILE
EPIFANIO BURGOS CALDERON                 ADDRESS ON FILE
EPIFANIO CASANOVA FEBUS                  ADDRESS ON FILE
EPIFANIO CORDERO RIVERA                  ADDRESS ON FILE
EPIFANIO ESPARRA CARATTINI               ADDRESS ON FILE
EPIFANIO FELICIANO VEGA                  ADDRESS ON FILE
EPIFANIO FLORES OYOLA                    ADDRESS ON FILE
EPIFANIO GONZALEZ CAMACHO                ADDRESS ON FILE
EPIFANIO HERNANDEZ CRUZ                  ADDRESS ON FILE
EPIFANIO HERNANDEZ NIEVES                ADDRESS ON FILE
EPIFANIO J POLANCO                       ADDRESS ON FILE
EPIFANIO LOPEZ MARTINEZ                  ADDRESS ON FILE
EPIFANIO LORENZO ACEVEDO                 ADDRESS ON FILE
EPIFANIO MENDEZ HERNANDEZ                ADDRESS ON FILE
EPIFANIO MULERO SERRANO                  ADDRESS ON FILE
EPIFANIO MULERO SERRANO                  ADDRESS ON FILE
EPIFANIO RODRIGUEZ FELICIANO             ADDRESS ON FILE
EPIFANIO RUSSI RAMOS                     ADDRESS ON FILE
EPIFANIO SANTANA DE LA ROSA              ADDRESS ON FILE
EPIFANIO SOTO PEREZ                      ADDRESS ON FILE
EPIFANIO TORRES MORALES Y MARGARITA CANTLCDA. NORMA IRIS VEGA GARCIA               CALLE GOYCO NUM. 36 APARTADO 515                               NAGUABO        PR      00718
EPIFANIO TORRES RODRIGUEZ                ADDRESS ON FILE
EPIFANIO VARGAS GONZALEZ                 ADDRESS ON FILE
EPIFANIO VELEZ/ CARMEN VELEZ             ADDRESS ON FILE
EPIPE ENGINEERING LLC                    AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                      SAN JUAN       PR      00902‐4140
EPIPE ENGINEERING LLC                    PO BOX 1357                                                                                              BAYAMON        PR      00960
EPJ RENEWABLE                            PO BOX 3636                                                                                              MAYAGUEZ       PR      00681
EPPEDDORF NORTH AMERICA INC.             PO BOX 13275                                                                                             NEWARK         NJ      07101‐3275
EPPS MELENDEZ, BRIAN                     ADDRESS ON FILE
EPR MARINE WILDONG CONSTRUCION SERVICES,CALLE MIRAFLORES ESQ. VILLA VERDE MUELLE 15P.O BOX 13987                                                                 PR      00907
EPSILON CONSTRUCTION CORP                PMB 247 P O BOX 30500                                                                                    MANATI         PR      00674
EPSTEIN BECKER & GREEN P C               200 SOUTH BISCAYNE BOULEVARD              STE 4300 W F C                                                 MIAMI          FL      33131
EPSTEINS MORALES, IVING J                ADDRESS ON FILE
EPUMPS SOLUTIONS LLC                     PO BOX 1357                                                                                              BAYAMON        PR      00960
EPV GENERAL SERVICES INC.                AVENIDA DOCTOR SUSONI #132                                                                               HATILLO        PR      00659‐0000
EQ METAL ARTS, INC                       PO BOX 182                                                                                               CAMUY          PR      00627‐0182
EQ SOFTBALL MASC LOS MONTANESES UTUADO 205 AVE ROLANDO CABANAS                                                                                    UTUADO         PR      00641
EQR Safety Fire Corp.                    Quiñones, Emisael                         PMB 458 PO BOX 6022                                            CAROLINA       PR      00984
EQUILIBRIUM                              1101 FIFTH AVENUE SUITE 200                                                                              SAN RAFAEL     CA      94901
EQUILIN MELENDEZ, HARRY                  ADDRESS ON FILE
EQUINE ASSOCIATES OF P R                 PO BOX 1672                                                                                              CANOVANAS      PR      00729
EQUIP AA SUP LOS ANTESALISTAS DE CATANO PO BOX 715                                                                                                CATANO         PR      00963
EQUIPEX INTERNACIONAL PR INC             LA CERAMICA INDUSTRIAL PARK               B 2 UNIT 5                                                     CAROLINA       PR      00985
EQUIPEX INTERNACIONAL PR INC             PO BOX 3403                                                                                              CAROLINA       PR      00984‐3403
EQUIPMENT PLUSINC                        PMB 614 HC 01 BOX 29030                                                                                  CAGUAS         PR      00725
EQUIPMENT SALES ENGINEERING CORP         PO BOX 29024                                                                                             SAN JUAN       PR      00929
EQUIPMENT SERVICES INC                   BOX 71325 SUITE 7                                                                                        SAN JUAN       PR      00936
EQUIPO                                   RR #9 BOX 1870                                                                                           SAN JUAN       PR      00926
EQUIPO AA CARIDUROS DE FAJARDO INC       PO BOX 691                                                                                               FAJARDO        PR      00738
EQUIPO AA CARIDUROS DE FAJARDO INC       URB MONTE BRISAS III                      3F23 CALLE 101                                                 FAJARDO        PR      00738
EQUIPO AA GIGANTES CAROLINA CORP         P O BOX 715                                                                                              CATANO         PR      00963
EQUIPO BALONCESTO CAPITANES DE ARECIBO 152 RODRIGUEZ IRIZARRY                                                                                     ARECIBO        PR      00612
EQUIPO BALONCESTO JUV EXPLOSIVOS MOCA P O BOX 372                                                                                                 MOCA           PR      00676
EQUIPO BASEBALL JJ                       HC 09 58838                                                                                              CAGUAS         PR      00725
EQUIPO BASEBALL LOS BRAVOS CAT 9/10 ANOS P O BOX 1672                                                                                             UTUADO         PR      00641




                                                                                                             Page 2591 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2592 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                             Address2                                   Address3   Address4   City               State   PostalCode   Country
EQUIPO BASEBALL LOS PIRATAS 11/12 ANOS   J 14 URB JESUS M LAGO                                                                                 UTUADO             PR      00641
EQUIPO BASEBALL LOS PIRATAS 15‐16        LOS PENAS                            1A CALLE SORRETO 10                                              SAN JUAN           PR      00924
EQUIPO BASEBALL LOS SONICS 7/8 ANOS      BOX 546                                                                                               UTUADO             PR      00611
EQUIPO BASEBALL NEW YANKEES              CATEGORIA 13 Y 14 ANOS /LUIS ORTIZ   RES SAN ALBERTO GDENS EDIF 3 APT 36                              UTUADO             PR      00641
EQUIPO BEISBOL DOBLE A PEREGRINOS INC    PO BOX 853                                                                                            HORMIGUEROS        PR      00660
EQUIPO BEISBOL JUV TIBURONES AGUADILLA   PO BOX 4302                                                                                           AGUADILLA          PR      00605
EQUIPO CLASE A DE PINONES INC            HC 01 BOX 7304                                                                                        LOIZA              PR      00772
EQUIPO CLASE A PASTILLO                  HC 02 BOX 10012                                                                                       JUANA DIAZ         PR      00795
EQUIPO CLASE A PUNTA SANTIAGO INC        PO BOX 698                                                                                            PUNTA SANTIAGO     PR      00741
EQUIPO CREATIVO INC                      URB MANSIONES DE SANTA PAULA         CALLE A 8                                                        GUAYNABO           PR      00969
EQUIPO DE BEISBOL AA JUVENIL DE UTUADO   187 AVE ESTEVEZ                                                                                       UTUADO             PR      00641
EQUIPO DE BEISBOL AA MONTANESES UTUADO P O BOX 27                                                                                              UTUADO             PR      00641
EQUIPO DE BEISBOL CLASE A DEL BARRIO     MARIANA DE HUMACAO INC               HC 1 BOX 17135                                                   HUMACAO            PR      00791
EQUIPO DE BEISBOL COLICEBA ISABELA INC   JARDINES DE MIRAMEZ                  F 8 CALLE CEREZAL                                                ISABELA            PR      00662
EQUIPO DE BEISBOL NACIONAL DE P R        PO BOX 191897                                                                                         SAN JUAN           PR      00919‐1897
EQUIPO DE BEISBOL NACIONAL DE P R INC    PO BOX 191897                                                                                         SAN JUAN           PR      00918
EQUIPO DE PRO CONVALECENCIA              RR 9 BOX 1870                                                                                         SAN JUAN           PR      00926
EQUIPO DE SOFTBALL DE LAS PIEDRAS        LOS RETADORES INC                    HC 03 BOX 7861                                                   LAS PIEDRAS        PR      00771
EQUIPO DE SOFTBOL SUPERIOR FEMENINO LAS INDUSTRIALES INC                                                                                       BARCELONETA        PR      00617
EQUIPO DIAMOND BACKS                     HC 03 BOX 20490                                                                                       RIO GRANDE         PR      00745
EQUIPO DOBLE A SUPERIOR MASCULINO LOS    PLATANEROS DE COROZAL INC            PO BOX 715                                                       CATANO             PR      00963
EQUIPO GINECOLOGICO OBSTETRICO DE SALUD PO BOX 7375                                                                                            CAGUAS             PR      00726
EQUIPO KNIGHTS                           CIUDAD UNIVERSITARIA                 AA 9 CALLE 32                                                    TRUJILLO ALTO      PR      00976
EQUIPO LOS ANGELITOS PENA POBRE          HC 1 BOX 4552                                                                                         NAGUABO            PR      00718‐9722
EQUIPO LOS BRAVOS JR INC                 P O BOX 62                                                                                            CIDRA              PR      00739
EQUIPO NACIONAL FEMENINO JUVENIL DE POLO ACUATICO DE PR INC                   PO BOX 10528                                                     SAN JUAN           PR      00922
EQUIPO NACIONAL TACKWON‐DO PUERTO RICO P O BOX 371893                                                                                          CAYEY              PR      00737‐1893
EQUIPO NACIONAL TAEKWON DO P R ANT CORP PO BOX 371893                                                                                          CAYEY              PR      00737‐1883
EQUIPO NATACION LLANEROS DE TOA BAJA     PO BOX 52320                                                                                          TOA BAJA           PR      00950
EQUIPO PENA POBRE SOFTBALL TEAM          HC 02 BOX 4497                                                                                        LAS PIEDRAS        PR      00771
EQUIPO PEQUENAS LIGAS BO TUQUE           SANTIAGO Y LIMA                      BOX 15                                                           NAGUABO            PR      00718
EQUIPO SOFTBALL LOS MAESTROS             P O BOX 645                                                                                           YABUCOA            PR      00767
EQUIPO SUP. MASCULINO SOFTBALL CA.CORP PO BOX F‐15                                                                                             CATANO             PR      00967
EQUIPO Y CONSTRUCTORA RVD INC            LA MUDA CONSTRACT BRANCH                                                                              CAGUAS             PR      00725
EQUIPOS COMERCIALES INC                  1029 AVE JESUS T PINERO                                                                               SAN JUAN           PR      00920
EQUIPOS DE CAROLINA CORP                 PLAZA CAROLINA STA                   PO BOX 9120                                                      CAROLINA           PR      00988
EQUIPOS MED DEL CARIBE INC               PO BOX 564                                                                                            LAS MARIAS         PR      00670‐0564
EQUIPOS MEDICOS DEL NOROESTE             HC 4 BOX 15196                                                                                        MOCA               PR      00676
EQUIPOS MEDICOS DEL SUR                  PO BOX 915                                                                                            YAUCO              PR      00698
EQUIPOS MEDICOS LA MONTANA               CARR 891 KM 15.0 SALIDA DEL PUEBLO                                                                    COROZAL            PR      00783
EQUIPOS PRO ‐ IMPEDIDOS , INC.           P. O. BOX 9734                                                                                        CAGUAS             PR      00726‐0000
EQUIPOS PRO CONVALECENCIA INC            RR 37 BOX 1870                                                                                        SAN JUAN           PR      00926‐9728
EQUIPOS PRO IMPEDIDOS , INC              BOX 9734                                                                                              CAGUAS             PR      00725
EQUIPOS Y CONSTRUCTORA RVD INC           LA MUDA CONTRACT BRANCH              CARR 1 KM 22 HM 3                                                CAGUAS             PR      00725
EQUISALES INC                            P O BOX 270284                                                                                        SAN JUAN           PR      00927‐0284
EQUITECH CORP                            138 AVE WINTON CHURCHILL             PMB 927                                                          SAN JUAN           PR      00926‐6023
EQUITECH CORP                            URB CROWN HLS                        138 AVE WINSTON CHURCHILL                                        SAN JUAN           PR      00926‐6013
EQUITY DE PUERTO RICO, INC.              PO BOX 5415                                                                                           SAN JUAN           PR      00906‐5415
ER ENGINEERING INC                       L 131 URB ALTURAS DE MIRADERO                                                                         CABO ROJO          PR      00623
ER PROFESSIONAL SERVICES CORP            PO BOX 6255                                                                                           MAYAGUEZ           PR      00681‐6255
ER SERVICIOS MANTENIMIENTO INC           URB VISTAMAR                         1012 CALLE NAVARRA                                               CAROLINA           PR      00983‐1642
ER TRANSPORT INCORPORATED                HC 1 BOX 4949                                                                                         NAGUABO            PR      00718‐9571
ERA A WATERS COMPANY                     16341 TABLE MOUNTAIN PARKWAY                                                                          GOLDEN             CO      80403
ERA INSURANCE INC                        PO BOX 1431                                                                                           JUNCOS             PR      00777‐1431
ERA ORTHOPEDICS CORP.                    P.O. BOX 1449                                                                                         LUQUILLO           PR      00773
ERADIN ORTIZ                             ADDRESS ON FILE
ERAIDA SANCHEZ RIVERA                    ADDRESS ON FILE
ERALIS MORALES REYES                     ADDRESS ON FILE
ERANIO COLLAZO OCASIO                    ADDRESS ON FILE
ERANS SANTIAGO, JOSEFINA                 ADDRESS ON FILE




                                                                                                          Page 2592 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2593 of 3500
                                                                             17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                 Address1                  Address2                             Address3   Address4   City         State   PostalCode   Country
ERASMO COLON COLON            RR01 BOX 10512                                                                       OROCOVIS     PR      00720‐9607
ERASMO GARCIA SOTOMAYOR       ADDRESS ON FILE
ERASMO LEBRON MONCLOVA        ADDRESS ON FILE
ERASMO MARTINEZ COUVERTIER    ADDRESS ON FILE
ERASMO MEDERO GENARO          ADDRESS ON FILE
ERASMO RAMOS, INC             CALLE JAJOME              1753 URB CROWN HILL                                        SAN JUAN     PR      00926
ERASMO REYES PENA             ADDRESS ON FILE
ERASMO RODRIGUEZ ORTIZ        ADDRESS ON FILE
ERASMO ROLDAN OQUENDO         ADDRESS ON FILE
ERASMO SERRANO SERRANO        ADDRESS ON FILE
ERASTO FELICIANO              ADDRESS ON FILE
ERASTO FELICIANO DIAZ         ADDRESS ON FILE
ERASTO SANTIAGO AREVALO       ADDRESS ON FILE
ERAZMO A DAVILA MELTZ         ADDRESS ON FILE
ERAZO ALVARADO, AMAURY        ADDRESS ON FILE
ERAZO ALVELO, EDGAR           ADDRESS ON FILE
ERAZO ALVELO, EDGAR J.        ADDRESS ON FILE
ERAZO BAEZ, FRANCISCA         ADDRESS ON FILE
ERAZO BURGOS, DANIEL          ADDRESS ON FILE
ERAZO BURGOS, LOIDA           ADDRESS ON FILE
ERAZO BURGOS, RAQUEL          ADDRESS ON FILE
ERAZO CALDERON, NELSON        ADDRESS ON FILE
ERAZO CEPEDA, GLADYS          ADDRESS ON FILE
ERAZO CEPEDA, SONIA I         ADDRESS ON FILE
ERAZO COTTO, CARLOS V         ADDRESS ON FILE
ERAZO CRUZ, JOSE M            ADDRESS ON FILE
ERAZO CRUZ, PLACIDA           ADDRESS ON FILE
ERAZO CRUZ, ROLANDO           ADDRESS ON FILE
ERAZO CRUZ, WILNELIA          ADDRESS ON FILE
ERAZO CRUZ, YAHIRA            ADDRESS ON FILE
ERAZO DIAZ, BRUNILDA          ADDRESS ON FILE
ERAZO DIAZ, CARLOS            ADDRESS ON FILE
ERAZO DIAZ, MIGDALIA          ADDRESS ON FILE
Erazo Felix, Luis D           ADDRESS ON FILE
ERAZO GARCIA, NOEL            ADDRESS ON FILE
ERAZO GONZALEZ, JENNIE E      ADDRESS ON FILE
ERAZO GUTIERREZ, CLARA        ADDRESS ON FILE
ERAZO GUZMAN, AURELIA         ADDRESS ON FILE
ERAZO HERNANDEZ, JUAN A       ADDRESS ON FILE
ERAZO KUILAN, RUBEN           ADDRESS ON FILE
ERAZO LOZADA, ELIAH           ADDRESS ON FILE
ERAZO LOZADA, RAUL            ADDRESS ON FILE
ERAZO MALDONADO, JORGE M      ADDRESS ON FILE
ERAZO MALDONADO, JUAN M       ADDRESS ON FILE
ERAZO MEJIAS, ANGEL L         ADDRESS ON FILE
ERAZO MORALES, ANA            ADDRESS ON FILE
ERAZO MORALES, IRIS           ADDRESS ON FILE
ERAZO MORALES, JUDITH J       ADDRESS ON FILE
ERAZO MORALES, NELSON         ADDRESS ON FILE
ERAZO NAZARIO, ANA M          ADDRESS ON FILE
ERAZO NIEVES, ALEXANDER       ADDRESS ON FILE
ERAZO NIEVES, JOSE A          ADDRESS ON FILE
ERAZO NIEVES, LUZ E           ADDRESS ON FILE
ERAZO OLIVIERI, LINA G        ADDRESS ON FILE
ERAZO ORTEGA, MICHAEL         ADDRESS ON FILE
ERAZO ORTIZ, TIRSON L.        ADDRESS ON FILE
ERAZO PEREZ, MARIA DE LOS A   ADDRESS ON FILE
ERAZO RAMIREZ, ISAAC          ADDRESS ON FILE
ERAZO RAMIREZ, JESUS          ADDRESS ON FILE
ERAZO RAMON, CARLOS A.        ADDRESS ON FILE




                                                                              Page 2593 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2594 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                           Address1                  Address2                                Address3   Address4   City              State   PostalCode   Country
ERAZO RAMOS, ADRIA E.                   ADDRESS ON FILE
ERAZO RAMOS, ELIEMIL                    ADDRESS ON FILE
ERAZO RAMOS, RAMON                      ADDRESS ON FILE
ERAZO RIVERA, ARLENE                    ADDRESS ON FILE
ERAZO RIVERA, JOSE                      ADDRESS ON FILE
ERAZO ROBLES, HECTOR R.                 ADDRESS ON FILE
ERAZO ROBLES, HECTOR R.                 ADDRESS ON FILE
ERAZO RODRIGUEZ, ANIBAL                 ADDRESS ON FILE
ERAZO RODRIGUEZ, CARIELIS               ADDRESS ON FILE
ERAZO RODRIGUEZ, CARMELO                ADDRESS ON FILE
ERAZO RODRIGUEZ, DORCAS                 ADDRESS ON FILE
ERAZO RODRIGUEZ, DORCAS                 ADDRESS ON FILE
ERAZO RODRIGUEZ, GLORIA E               ADDRESS ON FILE
ERAZO RODRIGUEZ, JUAN                   ADDRESS ON FILE
ERAZO RODRIGUEZ, MARITZA                ADDRESS ON FILE
ERAZO RODRIGUEZ, NELLIDIZ               ADDRESS ON FILE
ERAZO ROMAN, CARLOS A.                  ADDRESS ON FILE
ERAZO ROSARIO, JENNIE                   ADDRESS ON FILE
ERAZO SANTIAGO, CARMEN M                ADDRESS ON FILE
ERAZO SANTIAGO, GERARDO                 ADDRESS ON FILE
ERAZO SANTIAGO, JASON                   ADDRESS ON FILE
ERAZO SANTIAGO, JOSE                    ADDRESS ON FILE
ERAZO SANTIAGO, RAMON                   ADDRESS ON FILE
ERAZO SANTIAGO, VICTOR M                ADDRESS ON FILE
ERAZO SERRANO, HEIDY                    ADDRESS ON FILE
ERAZO TAVAREZ, WILLNELIA                ADDRESS ON FILE
ERAZO TORRES, ADA                       ADDRESS ON FILE
ERAZO TORRES, EDNA                      ADDRESS ON FILE
ERAZO TORRES, EULISES                   ADDRESS ON FILE
ERAZO TORRES, FELIX                     ADDRESS ON FILE
ERAZO VAZQUEZ, HILDA                    ADDRESS ON FILE
ERAZO VIERA, RICARDO                    ADDRESS ON FILE
ERAZO, ANNETTE                          ADDRESS ON FILE
ERAZO, KATHERINE                        ADDRESS ON FILE
ERB PARALEGAL SERVICE INC               URB MUNOZ RIVERA          1113 CALLE LOS FRAILES                                        GUAYNABO          PR      00969‐3546
ERBA CRUZ, LUIS                         ADDRESS ON FILE
ERBE, SETH                              ADDRESS ON FILE
ERC COMPUTER TRAINING & SOFTWARE SERVICEPO BOX 190838                                                                           SAN JUAN          PR      00919‐0838
ERC INTEGRATED COMMUNICATIONS           100 CARRETERA 165 SU                                                                    GUAYNABO          PR      00968‐8052
ERC MANUFACTURING CORP                  HC 71 BOX 3150                                                                          NARANJITO         PR      00719
ERC SOLUTION, INC                       PO BOX 190877                                                                           SAN JUAN          PR      00919‐0877
ERC SOLUTIONS INC                       G 10 CALLE ONEILL                                                                       SAN JUAN          PR      00918
ERCILIA M GARCIA AYALA                  ADDRESS ON FILE
ERCILIA RIVERA RIVERA                   ADDRESS ON FILE
ERCILIA RIVERA RIVERA                   ADDRESS ON FILE
ERCILIO NIEVES RIVERA                   ADDRESS ON FILE
ERCILLA VALENTIN CALVENTE               ADDRESS ON FILE
ERDIN VEGA GARCIA                       ADDRESS ON FILE
ERDULFO SALCEDO PARES                   ADDRESS ON FILE
EREDIA E SOTO VELEZ                     ADDRESS ON FILE
EREDIA E SOTO VELEZ                     ADDRESS ON FILE
ERENIA CONCEPCION                       ADDRESS ON FILE
ERG A/C CONTRACTORS                     PMB 284                   PO BOX 7891                                                   GUAYNABO          PR      00970‐7891
ERGAS MD, ENRIQUE                       ADDRESS ON FILE
ERGO DIRECT .COM                        510 ELM STREET                                                                          SAN CARLOS        CA      94070
ERGO IN DEMAND INC                      4900 INDUSRY DRIVE                                                                      CENTRAL POINT     OR      97502
ERGODY TORRES DAVILA                    ADDRESS ON FILE
ERGON CARIBBEAN CORP                    PO BOX 832                                                                              GUAYNABO          PR      00970
ERHARD A VAZQUEZ MORALES                ADDRESS ON FILE
ERHARD A. VAZQUEZ MORALES               LCDO. ARMANDO PIETRI      1225 AVE. MUÑOZ RIVERA                                        PONCE             PR      00717




                                                                                           Page 2594 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2595 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
ERIANA RIVERA BROCO             ADDRESS ON FILE
ERIBERTO GONZALEZ VEGA          ADDRESS ON FILE
ERIC / AUTO COLLISION           PO BOX 202                                                                       HATILLO           PR      00659
ERIC A ARROYO RAMIREZ           ADDRESS ON FILE
ERIC A BETANCOURT SANTAELLA     ADDRESS ON FILE
ERIC A BOLORIN VEGA             ADDRESS ON FILE
ERIC A CORDERO ALFONSO          ADDRESS ON FILE
ERIC A GARCIA MARRERO           ADDRESS ON FILE
ERIC A GONZALEZ ECHEVARRIA      ADDRESS ON FILE
ERIC A GOYCO VELEZ              ADDRESS ON FILE
ERIC A JIMENEZ ACEVEDO          ADDRESS ON FILE
ERIC A MARQUEZ GUERRA           ADDRESS ON FILE
ERIC A MARRERO ARROYO           ADDRESS ON FILE
ERIC A MELENDEZ RAMOS           ADDRESS ON FILE
ERIC A PABON MERCADO            ADDRESS ON FILE
ERIC A REYES RODRIGUEZ          ADDRESS ON FILE
ERIC A SANTIAGO GUZMAN          ADDRESS ON FILE
ERIC A VARGAS IRIZARRY          ADDRESS ON FILE
ERIC A VEGA REYES               ADDRESS ON FILE
ERIC A VELASCO ALVAREZ          ADDRESS ON FILE
ERIC A. GONZALEZ PEREZ          ADDRESS ON FILE
ERIC A. MARQUEZ GUERRA          ADDRESS ON FILE
ERIC A. OLIVERAS RIVERA         ADDRESS ON FILE
ERIC ADELAIDE GAMESS            ADDRESS ON FILE
ERIC AGUAYO LOPEZ               ADDRESS ON FILE
ERIC ALBINO RODRIGUEZ           ADDRESS ON FILE
ERIC ALFARO CALERO              ADDRESS ON FILE
ERIC ALONSO VEGA                ADDRESS ON FILE
ERIC APONTE SANTIAGO            ADDRESS ON FILE
ERIC AQUINO GARCIA              ADDRESS ON FILE
ERIC ARCHILLA TRINIDAD CORP     PO BOX 5081                                                                      CAGUAS            PR      00726‐5081
ERIC B CHANDLER HEALTH CENTER   277 GEORGE ST                                                                    NEW BRUNSWICK     NJ      08901
ERIC BACHIER ROMAN              ADDRESS ON FILE
ERIC BADILLO BLAS               ADDRESS ON FILE
ERIC BAYO VARGAS                ADDRESS ON FILE
ERIC BEACHAMP CINTRON           ADDRESS ON FILE
ERIC BOEDELIES DIAZ             ADDRESS ON FILE
ERIC BRANA KUILAN               ADDRESS ON FILE
ERIC CAMANO DONES               ADDRESS ON FILE
ERIC CANCEL ALGARIN             ADDRESS ON FILE
ERIC CARDOZA LOPEZ              ADDRESS ON FILE
ERIC CARRION RAMIREZ            ADDRESS ON FILE
ERIC CASTRO GIL                 ADDRESS ON FILE
ERIC CASTRO ROSADO              ADDRESS ON FILE
ERIC COLON BERRIOS              ADDRESS ON FILE
ERIC CURBELO MENDEZ             ADDRESS ON FILE
ERIC D MARTINEZ RODRIGUEZ       ADDRESS ON FILE
ERIC D NAGLE                    ADDRESS ON FILE
ERIC D RIVERA APONTE            ADDRESS ON FILE
ERIC D RODRIGUEZ BUONOMO        ADDRESS ON FILE
ERIC D RYAN RODRIGUEZ           ADDRESS ON FILE
ERIC D TORRES MARTINEZ          ADDRESS ON FILE
ERIC D. PINEIRO                 ADDRESS ON FILE
ERIC DE LA CRUZ IGLESIAS        ADDRESS ON FILE
ERIC DEKONY VIERA               ADDRESS ON FILE
ERIC DELGADO SANTIAGO           ADDRESS ON FILE
ERIC DIEZ DE LA ROSA            ADDRESS ON FILE
ERIC DOMENECH Y MAYRA ALVAREZ   ADDRESS ON FILE
ERIC DURAN ROSA                 ADDRESS ON FILE
ERIC E FERNANDEZ BERRIOS        ADDRESS ON FILE




                                                                            Page 2595 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2596 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                          Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
ERIC E NIEVES COLON                    ADDRESS ON FILE
ERIC E PAGAN SOTO                      ADDRESS ON FILE
ERIC E SANTOS MEDINA                   ADDRESS ON FILE
ERIC ESCALANTE DELGADO                 ADDRESS ON FILE
ERIC ESCOBAR MOREIRA                   ADDRESS ON FILE
ERIC ESPONDA CABRERA                   ADDRESS ON FILE
ERIC F ROBLES OTERO                    ADDRESS ON FILE
ERIC F VAZQUEZ ORTIZ                   ADDRESS ON FILE
ERIC F. VAZQUEZ ORTIZ                  ADDRESS ON FILE
ERIC FALCON RAMOS                      ADDRESS ON FILE
ERIC FIGUEROA                          ADDRESS ON FILE
ERIC FUENTES QUINONES                  ADDRESS ON FILE
ERIC FUENTES QUINONES                  ADDRESS ON FILE
ERIC G CARDONA VELEZ                   ADDRESS ON FILE
ERIC G GONZALEZ HERNANDEZ              ADDRESS ON FILE
ERIC G MARTINEZ TORRES                 ADDRESS ON FILE
ERIC G ORTEGA RIVERA                   ADDRESS ON FILE
ERIC G SANTIAGO GONZALEZ               ADDRESS ON FILE
ERIC G. GONZALEZ HERNANDEZ             ADDRESS ON FILE
ERIC GARCIA CONCEPCION                 ADDRESS ON FILE
ERIC GARCIA RODRIGUEZ                  ADDRESS ON FILE
ERIC GIL SANCHEZ SANTANA               ADDRESS ON FILE
ERIC GONZALEZ                          ADDRESS ON FILE
ERIC GONZALEZ MORALES                  ADDRESS ON FILE
ERIC GRAFALS SEMIDEL                   ADDRESS ON FILE
ERIC HERNANDEZ BATALLA                 ADDRESS ON FILE
ERIC HERNANDEZ FELICIANO               ADDRESS ON FILE
ERIC HERRERA RIVERA                    ADDRESS ON FILE
ERIC HONMA                             ADDRESS ON FILE
ERIC I FIGUEROA GONZALEZ               ADDRESS ON FILE
ERIC ICE CREAM (EDY'S ICE CREAM)       ADDRESS ON FILE
ERIC J ANDINO DEL VALLE                ADDRESS ON FILE
ERIC J BARRIOS LOPEZ                   ADDRESS ON FILE
ERIC J BERRIOS BELTRAN                 ADDRESS ON FILE
ERIC J CALCANO CRUZ                    ADDRESS ON FILE
ERIC J CARO BONILLA                    ADDRESS ON FILE
ERIC J COLLAZO COLON                   ADDRESS ON FILE
ERIC J COTTO MATOS                     ADDRESS ON FILE
ERIC J COTTO MATOS                     ADDRESS ON FILE
ERIC J DE JESUS SANTIAGO               ADDRESS ON FILE
ERIC J DELGADO BIAGGI                  ADDRESS ON FILE
ERIC J DOMINGUEZ MILLAN/GASPAR DOMINGUEADDRESS ON FILE
ERIC J FREYTES DE CHOUDENS             ADDRESS ON FILE
ERIC J GONZALEZ RIVERA                 ADDRESS ON FILE
ERIC J HERNANDEZ NIEVES                ADDRESS ON FILE
ERIC J MALAVE APONTE                   ADDRESS ON FILE
ERIC J MARTINEZ CRUZ                   ADDRESS ON FILE
ERIC J MARTINEZ HERNANDEZ              ADDRESS ON FILE
ERIC J MARTINEZ HERNANDEZ              ADDRESS ON FILE
ERIC J MARTINEZ LEON                   ADDRESS ON FILE
ERIC J MARTINEZ VAZQUEZ                ADDRESS ON FILE
ERIC J MELENDEZ HERNANDEZ              ADDRESS ON FILE
ERIC J MILLAN                          ADDRESS ON FILE
ERIC J OJEDA MARTINEZ                  ADDRESS ON FILE
ERIC J OQUENDO RIVERA                  ADDRESS ON FILE
ERIC J ORTIZ ROSADO                    ADDRESS ON FILE
ERIC J PABON MORALES                   ADDRESS ON FILE
ERIC J PACHECO CAMACHO                 ADDRESS ON FILE
ERIC J PAGAN RIVERA                    ADDRESS ON FILE
ERIC J PASTRANA HERNANDEZ              ADDRESS ON FILE




                                                                                    Page 2596 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2597 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City             State   PostalCode   Country
ERIC J PIJUAN TORRES                       ADDRESS ON FILE
ERIC J RIVERA LLORENS                      ADDRESS ON FILE
ERIC J RIVERA MATOS DBA ERIC TRANSPORT S   HC 01 BOX 3854                                                                   SANTA ISABEL     PR      00757
ERIC J RIVERA SANTIAGO                     ADDRESS ON FILE
ERIC J RUIZ                                ADDRESS ON FILE
ERIC J RUIZ VIZCARRONDO                    ADDRESS ON FILE
ERIC J SANTIAGO CORREA                     ADDRESS ON FILE
ERIC J SANTIAGO PIETRI                     ADDRESS ON FILE
ERIC J TORRES REYES                        ADDRESS ON FILE
ERIC J VAZQUEZ CORDERO                     ADDRESS ON FILE
ERIC J VAZQUEZ ROSARIO                     ADDRESS ON FILE
ERIC J. COLON CARRSQUILLO                  ADDRESS ON FILE
ERIC J. COLON CARRSQUILLO                  ADDRESS ON FILE
ERIC J. MEDINA MULERO                      ADDRESS ON FILE
ERIC JAVIER ALEJANDRO                      ADDRESS ON FILE
ERIC JOEL MARTINEZ RODRIGUEZ               ADDRESS ON FILE
ERIC JOHNSON MD, GLEN                      ADDRESS ON FILE
ERIC JOSUE ORTIZ MEDERO                    ADDRESS ON FILE
ERIC L IRIZARRY ELIAS                      ADDRESS ON FILE
ERIC LABOY MAISONET                        ADDRESS ON FILE
ERIC LABRADOR ROSA                         ADDRESS ON FILE
ERIC LUGO GOTAY                            ADDRESS ON FILE
ERIC LUGO RIOS                             ADDRESS ON FILE
ERIC M BAEZ PEREZ                          ADDRESS ON FILE
ERIC M COLON APONTE                        ADDRESS ON FILE
ERIC M GONZALEZ LEBRON                     ADDRESS ON FILE
ERIC M GONZALEZ MEDINA                     ADDRESS ON FILE
ERIC M JURADO LOPEZ                        ADDRESS ON FILE
ERIC M LLANOS LLANOS                       ADDRESS ON FILE
ERIC M PABON ROSADO                        ADDRESS ON FILE
ERIC M RAMIREZ BELTRAN                     ADDRESS ON FILE
ERIC M TORO GUERRIDO                       ADDRESS ON FILE
ERIC M VIGOREAUX RIVERA                    ADDRESS ON FILE
ERIC M. MARTINEZ COLON                     ADDRESS ON FILE
ERIC MARRERO AIZPRUA                       ADDRESS ON FILE
ERIC MARTINEZ ACEVEDO                      ADDRESS ON FILE
ERIC MARTINEZ PEREZ                        ADDRESS ON FILE
ERIC MARTINEZ ROSARIO                      ADDRESS ON FILE
ERIC MARTINEZ SANTIAGO                     ADDRESS ON FILE
ERIC MATTA COSTA                           ADDRESS ON FILE
ERIC MEJIAS CAMACHO                        ADDRESS ON FILE
ERIC MENDEZ CANCEL                         ADDRESS ON FILE
ERIC MERCADO GONZALEZ                      ADDRESS ON FILE
ERIC MERCADO MORALES                       ADDRESS ON FILE
ERIC MIRANDA MUELLER                       ADDRESS ON FILE
ERIC MORALES MORALES                       ADDRESS ON FILE
ERIC MORALES MUNIZ                         ADDRESS ON FILE
ERIC MORALES TORRES                        ADDRESS ON FILE
ERIC N COLON LUCCA                         ADDRESS ON FILE
ERIC N COLON LUCCA                         ADDRESS ON FILE
ERIC N COTTO CORREA                        ADDRESS ON FILE
ERIC N GIRON QUILINCHINI                   ADDRESS ON FILE
ERIC N MATOS RODRIGUEZ                     ADDRESS ON FILE
ERIC N TORRES ALMODOVAR                    ADDRESS ON FILE
ERIC NIEVES DIAZ                           ADDRESS ON FILE
ERIC NIEVES MAISONET                       ADDRESS ON FILE
ERIC NOEL MOLINA CRUZ                      ADDRESS ON FILE
ERIC O NAVARRO MOJICA                      ADDRESS ON FILE
ERIC O NEGRON IRIZARRY                     ADDRESS ON FILE
ERIC O. JACKSON                            ADDRESS ON FILE




                                                                                       Page 2597 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2598 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                          Address1                  Address2                                    Address3        Address4   City         State   PostalCode   Country
ERIC O. RUIZ BELEN                     ADDRESS ON FILE
ERIC OJEDA RAMIREZ                     ADDRESS ON FILE
ERIC OMAR RODRIGUEZ MUNOZ              ADDRESS ON FILE
ERIC OMAR VELAZQUEZ RAMOS              ADDRESS ON FILE
ERIC ORTIZ LLAVONA                     ADDRESS ON FILE
ERIC ORTIZ SERRANO                     ADDRESS ON FILE
ERIC PIMENTEL MEDINA                   ADDRESS ON FILE
ERIC PINEIRO CARRERO                   ADDRESS ON FILE
ERIC PORRATA CRUZ                      ADDRESS ON FILE
ERIC QUETGLAS                          ADDRESS ON FILE
ERIC QUINONES                          ADDRESS ON FILE
ERIC QUINONES                          ADDRESS ON FILE
ERIC R CINTRON / RUTH E SOTO           ADDRESS ON FILE
ERIC R COLLAZO TORRES                  ADDRESS ON FILE
ERIC R FERNANDEZ FLORES                ADDRESS ON FILE
ERIC R FLORES ACOSTA                   ADDRESS ON FILE
ERIC R GUZMAN GONZALEZ                 ADDRESS ON FILE
ERIC R LOPEZ RODRIGUEZ                 ADDRESS ON FILE
ERIC R MUNOZ CANDANEDO                 ADDRESS ON FILE
ERIC R MUNOZ CANDANEDO                 ADDRESS ON FILE
ERIC R ORTIZ TORRES                    ADDRESS ON FILE
ERIC R RODRIGUEZ ARROCHO               ADDRESS ON FILE
ERIC R VERA SANCHEZ                    ADDRESS ON FILE
ERIC R. LOPEZ RODRIGUEZ                ADDRESS ON FILE
ERIC RAFAEL VELAZQUEZ FONTANEZ         ADDRESS ON FILE
ERIC RAMIREZ GUADALUPE                 ADDRESS ON FILE
ERIC RAMOS RODRIGUEZ                   ADDRESS ON FILE
ERIC RIOS PLAZA                        ADDRESS ON FILE
ERIC RIVERA CANDELARIO                 ADDRESS ON FILE
ERIC RIVERA MARTINEZ                   ADDRESS ON FILE
ERIC RIVERA ROSARIO                    ADDRESS ON FILE
ERIC RIVERA SANTOS                     ADDRESS ON FILE
ERIC RIVERA VELEZ                      PROPIO DERECHO            INST CORRECCIONAL FASE III ANEXO A‐9 3793   Ponce BY PASS              Ponce        PR      00728‐1504
ERIC ROBLES RODRIGUEZ                  ADDRESS ON FILE
ERIC RODRIGUEZ DIAZ                    ADDRESS ON FILE
ERIC RODRIGUEZ PULIDO                  ADDRESS ON FILE
ERIC ROMERO JORGE/ER MEDICAL BILLING   URB ALTAMESA              1449 AVE SAN IGNACIO                                                   SAN JUAN     PR      00921‐4718
ERIC RUIZ RAMOS                        ADDRESS ON FILE
ERIC S MARTINEZ PAGAN                  ADDRESS ON FILE
ERIC S RIVERA LABOY                    ADDRESS ON FILE
ERIC SANCHEZ SALGADO                   ADDRESS ON FILE
ERIC SANTIAGO AGUAYO                   ADDRESS ON FILE
ERIC SANTIAGO ALMESTICA                ADDRESS ON FILE
ERIC SANTIAGO RIVERA                   ADDRESS ON FILE
ERIC SNYDER DE LA VEGA                 ADDRESS ON FILE
ERIC SOTO ORTIZ                        ADDRESS ON FILE
ERIC T ADLER                           ADDRESS ON FILE
ERIC T ADLER                           ADDRESS ON FILE
ERIC TORRES RODRIGUEZ                  ADDRESS ON FILE
ERIC VAN RIVERA RIVERA                 ADDRESS ON FILE
ERIC VARELA VARGAS                     ADDRESS ON FILE
ERIC VAZQUEZ SANTIAGO                  ADDRESS ON FILE
ERIC VEGA ROQUE                        ADDRESS ON FILE
ERIC VEGA SANTANA                      ADDRESS ON FILE
ERIC VELAZQUEZ JUST                    ADDRESS ON FILE
ERIC X MORALES SNYDER                  ADDRESS ON FILE
ERIC X PEREZ RODRIGUEZ                 ADDRESS ON FILE
ERIC Y PADRO RAMOS                     ADDRESS ON FILE
ERIC Y SIERRA MULLER                   ADDRESS ON FILE
ERICA A GARCIA MATOS                   ADDRESS ON FILE




                                                                                              Page 2598 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2599 of 3500
                                                                               17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                   Address1                         Address2                                   Address3   Address4   City           State   PostalCode   Country
ERICA CANDELARIA DE JESUS       ADDRESS ON FILE
ERICA CANDELARIA DE JESUS       ADDRESS ON FILE
ERICA CARDONA LOPEZ             ADDRESS ON FILE
ERICA G NIEVES SANTIAGO         ADDRESS ON FILE
ERICA I. REXACH DIAZ            ADDRESS ON FILE
ERICA L MATA                    ADDRESS ON FILE
ERICA LOPEZ MERCADO             ADDRESS ON FILE
ERICA M CLAUDIO RIVERA          ADDRESS ON FILE
ERICA M RODRIGUEZ CALDERON      ADDRESS ON FILE
ERICA M ROMAN HERNANDEZ         ADDRESS ON FILE
ERICA MARTINEZ RIVERA           ADDRESS ON FILE
ERICA NAVARRO CARRILLO          ADDRESS ON FILE
ERICA PINERO SIERRA             ADDRESS ON FILE
ERICA RAMOS MERCED              ADDRESS ON FILE
ERICA SANTOS MAS                ADDRESS ON FILE
ERICA VELEZ ROSADO              ADDRESS ON FILE
ERICA VELEZ ROSADO              ADDRESS ON FILE
ERICARLOS MORALES LIZARDI       ADDRESS ON FILE
ERICBERTO SANTANA SANTANA       ADDRESS ON FILE
ERICBERTO SANTOS MALDONADO      ADDRESS ON FILE
ERICH G. RIVERA MURILLO         ADDRESS ON FILE
ERICHA ORTIZ RIVERA             ADDRESS ON FILE
ERICK A MELENDEZ REYES          ADDRESS ON FILE
ERICK A NATAL ZAYAS             ADDRESS ON FILE
ERICK A NAVEDO CORREA           ADDRESS ON FILE
ERICK A POSTIGO QUINONES        ADDRESS ON FILE
ERICK A SANTIAGO LOPEZ          ADDRESS ON FILE
ERICK A SOLA MORALES            ADDRESS ON FILE
ERICK ALBERTO CASANOVA RIVERA   ADDRESS ON FILE
ERICK ALMODOVAR SANTOS          ADDRESS ON FILE
ERICK ALVAREZ ROMAN             ADDRESS ON FILE
ERICK AMARO GARCIA              ADDRESS ON FILE
ERICK APONTE GUZMAN             ADDRESS ON FILE
ERICK ASTASIO MARRERO           ADDRESS ON FILE
ERICK B RODRIGUEZ ARROYO        ADDRESS ON FILE
ERICK BENITEZ BURGOS            ADDRESS ON FILE
ERICK CARABALLO MERCADO         ADDRESS ON FILE
ERICK COURET RIOS               ADDRESS ON FILE
ERICK D RAMOS SANCHEZ           ADDRESS ON FILE
ERICK D RIVERA COLON            ADDRESS ON FILE
ERICK D RIVERA OLIVIERI         ADDRESS ON FILE
ERICK D. CEPEDA CRUZ            ADDRESS ON FILE
ERICK DANIEL MONTANEZ VEGA      ADDRESS ON FILE
ERICK DE JESUS ECHEVARRIA       ADDRESS ON FILE
ERICK DE JESUS HARRISON         LCDO. RAFAEL R. ROQUE NGUYEN     523 AVE. SAN LUIS SUITE 1                                        ARECIBO        PR      00612
ERICK DELGADO LOZADA            LCDA. ROSA CARABALLO RODRÍGUEZ   725 CARR. 385                                                    PEÑUELAS       PR      00624
ERICK E AGILAR JIMENEZ          ADDRESS ON FILE
ERICK E KOLTHFF BENNER          ADDRESS ON FILE
ERICK E MELENDEZ VILLALOBO      ADDRESS ON FILE
ERICK E RODRIGUEZ RODRIGUEZ     ADDRESS ON FILE
ERICK F MENDEZ COLON            ADDRESS ON FILE
ERICK F. RIOS ALVARADO          LCDO. ERASMO LEÓN ROSARIO        LCDO. ERASMO LEÓN ROSARIO PO BOX 842                             JUANA DÍAZ     PR      00795
ERICK G LOPEZ NAZARIO           ADDRESS ON FILE
ERICK G LOPEZ NAZARIO           ADDRESS ON FILE
ERICK G MARTINEZ VIDAL          ADDRESS ON FILE
ERICK G NIEVES RIVERA           ADDRESS ON FILE
ERICK G ROBLES BREA             ADDRESS ON FILE
ERICK G TORRES RODRIGUEZ        ADDRESS ON FILE
ERICK G VILLEGAS FONSECA        ADDRESS ON FILE
ERICK GABRIEL CARRASQUILLO      ADDRESS ON FILE




                                                                                             Page 2599 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2600 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                  Address1                                 Address2                                   Address3   Address4   City         State   PostalCode   Country
ERICK GALARZA CORNIER          ADDRESS ON FILE
ERICK GALVAN RODRIGUEZ         ADDRESS ON FILE
ERICK GARCIA ARROYO            ADDRESS ON FILE
ERICK GARCIA ORTIZ             ADDRESS ON FILE
ERICK GONZALEZ CHEVERE         ADDRESS ON FILE
ERICK GONZALEZ VILLANUEVA      ADDRESS ON FILE
ERICK HADDOCK LOZADA           ADDRESS ON FILE
ERICK HERNANDEZ SANTIAGO       ADDRESS ON FILE
ERICK I BELARDO CLAUDIO        ADDRESS ON FILE
ERICK IRIZARRY BURGOS          ADDRESS ON FILE
ERICK IRIZARRY LOPEZ           ADDRESS ON FILE
ERICK J CAMACHO DIAZ           ADDRESS ON FILE
ERICK J DIAZ BURGOS            ADDRESS ON FILE
ERICK J GONZALEZ MENDEZ        ADDRESS ON FILE
ERICK J QUINONES DELGADO       ADDRESS ON FILE
ERICK J RIVERA VAZQUEZ         ADDRESS ON FILE
ERICK J RODRIGUEZ RODRIGUEZ    ADDRESS ON FILE
ERICK J ROSARIO TORRES         ADDRESS ON FILE
ERICK J. DE JESUS SILVA        LCDO. CHRISTIAN FRANCIS MARTÍNEZ (DEMANDAPO BOX 267                                                       CAGUAS       PR      00726
ERICK J. DE JESUS SILVA        LCDO. FERNANDO MACHADO FIGUEROA (DEMANPO BOX 363928                                                       SAN JUAN     PR      00936‐3928
ERICK JAMES SALCEDO CARVAJAL   ADDRESS ON FILE
ERICK JAVIER GONZALEZ PEREZ    ADDRESS ON FILE
ERICK JAVIER GONZALEZ PEREZ    ADDRESS ON FILE
ERICK JOEL GARCIA RIVERA       ADDRESS ON FILE
ERICK JOEL VEGA SANCHEZ        ADDRESS ON FILE
ERICK L GONZALEZ MALDONADO     ADDRESS ON FILE
ERICK LEARNDRO ACOSTA DÍAZ     JANE HOFFMANN MOURIÑO                    PO BOX 7742                                                      SAN JUAN     PR      00916‐7742
ERICK LUIS AYALA PEREZ         ADDRESS ON FILE
ERICK M ANDREW GONZALEZ        ADDRESS ON FILE
ERICK M QUINTANA ACEVEDO       ADDRESS ON FILE
ERICK M QUINTANA ACEVEDO       ADDRESS ON FILE
ERICK M SOTO AYALA             ADDRESS ON FILE
ERICK M SURENS PADILLA         ADDRESS ON FILE
ERICK M TORO COLON             ADDRESS ON FILE
ERICK M TORRES NAVARRO         ADDRESS ON FILE
ERICK MARIN ROMAN              LCDO. ARMANDO PIETRI TORRES              1225 AVENIDA MUÑOZ RIVERA                                        Ponce        PR      00717
ERICK MARTINEZ                 ADDRESS ON FILE
ERICK MARTY RULLAN             ADDRESS ON FILE
ERICK MCDONALD                 ADDRESS ON FILE
ERICK MELENDEZ BAEZ            ADDRESS ON FILE
ERICK MEMORIAL SERV INC        HC 02 BOX 7174                                                                                            OROCOVIS     PR      00720
ERICK MONSERRATE CRUZ          ADDRESS ON FILE
ERICK MORALES PEREZ            ADDRESS ON FILE
ERICK MYRTIL RENE              ADDRESS ON FILE
ERICK NIEVES RIVERA            ADDRESS ON FILE
ERICK NOEL TORRES RAMOS        ADDRESS ON FILE
ERICK O CASANAS BURGOS         ADDRESS ON FILE
ERICK O GUADALUPE              ADDRESS ON FILE
ERICK O RIVERA MUNIZ           ADDRESS ON FILE
ERICK O RIVERA SOSTRE          ADDRESS ON FILE
ERICK O. PINERO RIVERA         ADDRESS ON FILE
ERICK PAGAN MONERT             ADDRESS ON FILE
ERICK PEREZ PADILLA            ADDRESS ON FILE
ERICK R DIEPPA ALMODOVAR       ADDRESS ON FILE
ERICK R ORTIZ                  ADDRESS ON FILE
ERICK R TORRES GARCIA          ADDRESS ON FILE
ERICK RAMIREZ, JORGE           ADDRESS ON FILE
ERICK RIVERA GARCIA            ADDRESS ON FILE
ERICK RIVERA MIRANDA           ADDRESS ON FILE
ERICK RODRIGUEZ CASTRO         ADDRESS ON FILE




                                                                                                    Page 2600 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2601 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                       Address1                              Address2                                     Address3      Address4   City           State   PostalCode   Country
ERICK RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
ERICK RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
ERICK S ALEJANDRO ALEJANDRO         ADDRESS ON FILE
ERICK SANTIAGO PEREZ                ADDRESS ON FILE
ERICK SOTO ECHEVARRIA               ADDRESS ON FILE
ERICK TORRES PANTOJA                ADDRESS ON FILE
ERICK TORRES RODRIGUEZ              ADDRESS ON FILE
ERICK UJAQUE MARTINEZ               ADDRESS ON FILE
ERICK V KOLTHOFF CARABALLO          ADDRESS ON FILE
ERICK V KOLTHOFF CARABALLO          ADDRESS ON FILE
ERICK VALENTIN FLORES               ADDRESS ON FILE
ERICK VALENTIN FLORES               ADDRESS ON FILE
ERICK VEGA SILVA                    ADDRESS ON FILE
ERICK VELEZ GARCIA                  ADDRESS ON FILE
ERICK VIDAL VILLEGAS                ADDRESS ON FILE
ERICK W SANTOS OJEDA                ADDRESS ON FILE
ERICK X MAYO NIEVES                 ADDRESS ON FILE
ERICK X MAYO NIEVES                 ADDRESS ON FILE
ERICK X SUAREZ SANTIAGO             ADDRESS ON FILE
ERICK Y COSME SANTIAGO              ADDRESS ON FILE
ERICK Y. MENDEZ CANDELARIA          ADDRESS ON FILE
ERICKA ALVERIO MORAN                ADDRESS ON FILE
ERICKA DENNIS RIVERA MANGUAL        ADDRESS ON FILE
ERICKA LOPEZ CORTES                 ADDRESS ON FILE
ERICKA MORALES GONZALEZ             ADDRESS ON FILE
ERICKSON ROBERTO GARCIA CABRERA     ADDRESS ON FILE
ERICS TRANSMISIONES AUTOMATICAS     26 AVE GEORGETTI                                                                                            CAGUAS         PR      00725
ERICSON MARTINEZ ACEVEDO            ADDRESS ON FILE
ERICSON SANCHEZ PREKS               ADDRESS ON FILE
ERIDA BERMUDEZ BURGOS               ADDRESS ON FILE
ERIDANIA COLON PEREZ                ADDRESS ON FILE
ERIDANIA LOPEZ DIAZ                 ADDRESS ON FILE
ERIE COUNTY CORRECTIONAL FACILITY   11581 WALDEN AVE                                                                                            ALDEN          NY      14004
ERIE COUNTY MEDICAL CENTER          925 NORTH POINT PKWY STE 350                                                                                ALPHARETTA     GA      30005‐5214
ERIE FAMILY HEALTH CENTER           ATTN MEDICAL RECORDS DEPT             1701 W SUPERIOR 2ND FL                                                CHICAGO        IL      60622‐0000
ERIED BENITEZ ORTIZ                 ADDRESS ON FILE
ERIEL E RAMOS PIZARRO               ADDRESS ON FILE
ERIEL MERCADO NIEVES                ADDRESS ON FILE
ERIEL RAMOS PIZARRO                 ADDRESS ON FILE
ERIEL VAZQUEZ PARDO                 ADDRESS ON FILE
ERIEL VELEZ MALAVE                  ADDRESS ON FILE
ERIEL VELEZ MALAVE                  LCDA. SYLVIA M. SOTO MATOS            Urb. La Planicie D‐18 Calle2                                          Cayey          PR      00736
ERIEL VELEZ MALAVE                  LCDO. MAXIMILIANO TRUJILLO GONZÁLEZ   PO Box 364847 / PMB 429 100 Grand Paseos Blvd. Suite 112              SAN JUAN       PR      00926‐5955
ERIEL VELEZ MALAVE                  LCDO. RAFAEL ALVAREZ FORTUÑO          PO Box 364847 / PMB 429 100 Grand Paseos Blvd. Suite 112              SAN JUAN       PR      00926‐5955
ERIER E DAVILA CARABALLO            ADDRESS ON FILE
ERIER NEGRON BELTRAN                ADDRESS ON FILE
ERIEZER BATISTA RIVERA              ADDRESS ON FILE
ERIK BENITEZ BURGOS                 ADDRESS ON FILE
ERIK BORGES RODRIGUEZ               ADDRESS ON FILE
ERIK C DELGADO AVILA                ADDRESS ON FILE
ERIK CASANAS FIGUEROA               ADDRESS ON FILE
ERIK D COLLAZO SAN MIGUEL           ADDRESS ON FILE
ERIK DIAZ                           ADDRESS ON FILE
ERIK E MARTINEZ GUZMAN              ADDRESS ON FILE
ERIK FELICIANO LOPEZ                ADDRESS ON FILE
ERIK G. MEDINA PI                   ADDRESS ON FILE
ERIK J RAMIREZ NAZARIO              ADDRESS ON FILE
ERIK JON RISOLVATO CARCIO           ADDRESS ON FILE
ERIK M SANTIAGO FEBRES              ADDRESS ON FILE
ERIK RIVERA MARCHAND                ADDRESS ON FILE




                                                                                                        Page 2601 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2602 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ERIK X RIVERA PEREZ                       ADDRESS ON FILE
ERIK X. RIVERA                            ADDRESS ON FILE
ERIK X. RIVERA PEREZ                      ADDRESS ON FILE
ERIKA A CALCANO CRUZ                      ADDRESS ON FILE
ERIKA A CARLO DE JESUS/ ARLENE DE JESUS   ADDRESS ON FILE
ERIKA A. RIVERA ACEVEDO                   ADDRESS ON FILE
ERIKA ADORNO DIAZ                         ADDRESS ON FILE
ERIKA AGOSTO BURGOS                       ADDRESS ON FILE
ERIKA ALCANTARA MARTNEZ                   ADDRESS ON FILE
ERIKA AROCHO SANTOS                       ADDRESS ON FILE
ERIKA B ISAAC VEGA                        ADDRESS ON FILE
ERIKA BERRIOS BERRIOS                     ADDRESS ON FILE
ERIKA CAMACHO OLMO                        ADDRESS ON FILE
ERIKA CAMACHO OLMO                        ADDRESS ON FILE
ERIKA COLON NAVARRO                       ADDRESS ON FILE
ERIKA CORIANO REYES                       ADDRESS ON FILE
ERIKA D. RIVERA RIVERA                    ADDRESS ON FILE
ERIKA E FIGUEROA GARCIA                   ADDRESS ON FILE
ERIKA E VAZQUEZ PEREZ                     ADDRESS ON FILE
ERIKA ENID VEGA MIRANDA                   ADDRESS ON FILE
ERIKA FELICIANO SUAREZ                    ADDRESS ON FILE
ERIKA FERNANDEZ                           ADDRESS ON FILE
ERIKA FERNANDEZ ROSARIO                   ADDRESS ON FILE
ERIKA GISSELLE VAZQUEZ TORRES             ADDRESS ON FILE
ERIKA GOMEZ ORTIZ                         ADDRESS ON FILE
ERIKA GONZALEZ DELGADO                    ADDRESS ON FILE
ERIKA GONZALEZ DIAZ                       ADDRESS ON FILE
ERIKA I ECHEVARRIA TORRES                 ADDRESS ON FILE
ERIKA I PEREZ DE JESUS                    ADDRESS ON FILE
ERIKA I SEPULVEDA QUINONES                ADDRESS ON FILE
ERIKA I SOTO DE JESUS                     ADDRESS ON FILE
ERIKA I. CRUZ ALVARADO                    ADDRESS ON FILE
ERIKA IRIZARRY VILLANUEVA                 ADDRESS ON FILE
ERIKA J MARTINEZ                          ADDRESS ON FILE
ERIKA J RODRIGUEZ MENDOZA                 ADDRESS ON FILE
ERIKA J. JIMENEZ ARGUINZONI               ADDRESS ON FILE
ERIKA JANICE RIOS RODRIGUEZ               ADDRESS ON FILE
ERIKA LAZA QUINONEZ                       ADDRESS ON FILE
ERIKA LOPEZ MELENDEZ                      ADDRESS ON FILE
ERIKA LOZADA VEGA                         ADDRESS ON FILE
ERIKA M BENABE GONZALEZ                   ADDRESS ON FILE
ERIKA M MOLINA TORRES                     ADDRESS ON FILE
ERIKA M MONTANEZ OLMEDA                   ADDRESS ON FILE
ERIKA M PEREZ GUZMAN                      ADDRESS ON FILE
ERIKA M RIVERA ROMAN                      ADDRESS ON FILE
ERIKA M RODRIGUEZ                         ADDRESS ON FILE
ERIKA M RODRIGUEZ ORTIZ                   ADDRESS ON FILE
ERIKA M ROSADO SALGADO                    ADDRESS ON FILE
ERIKA M TRAVIS AYALA                      ADDRESS ON FILE
ERIKA M VERA RIOS                         ADDRESS ON FILE
ERIKA M. GANDIA SANCHEZ                   ADDRESS ON FILE
ERIKA M. LOPEZ COLON                      ADDRESS ON FILE
ERIKA M. MUSSNER                          ADDRESS ON FILE
ERIKA M. RIVERA CRUZ                      ADDRESS ON FILE
ERIKA MALDONADO ROMAN                     ADDRESS ON FILE
ERIKA MEDINA GARCIA                       ADDRESS ON FILE
ERIKA MENDEZ AROCHO                       ADDRESS ON FILE
ERIKA MENDEZ HERNANDEZ                    ADDRESS ON FILE
ERIKA MIRACH VEGA                         ADDRESS ON FILE
ERIKA MOLINA VERGARA                      ADDRESS ON FILE




                                                                                      Page 2602 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2603 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                            Address1                  Address2                                   Address3   Address4   City          State   PostalCode   Country
ERIKA MONTANEZ                           ADDRESS ON FILE
ERIKA MONTANEZ RESTO                     ADDRESS ON FILE
ERIKA N ESPADA SANTOS                    ADDRESS ON FILE
ERIKA NUNEZ RUBERT                       ADDRESS ON FILE
ERIKA NUNEZ RUBERT                       ADDRESS ON FILE
ERIKA OCASIO RIVERA                      ADDRESS ON FILE
ERIKA PAZOS CEVALLOS                     ADDRESS ON FILE
ERIKA PORRATA VAZQUEZ                    ADDRESS ON FILE
ERIKA QUINONES NAVEDO                    ADDRESS ON FILE
ERIKA QUINONES PIZARRO                   ADDRESS ON FILE
ERIKA REYES LEBRON                       ADDRESS ON FILE
ERIKA RIVERA FELICIE                     ADDRESS ON FILE
ERIKA RIVERA RAMIREZ                     ADDRESS ON FILE
ERIKA RODRIGUEZ OLMO                     ADDRESS ON FILE
ERIKA RODRIGUEZ PLAZA                    ADDRESS ON FILE
ERIKA RODRIGUEZ RUIZ                     ADDRESS ON FILE
ERIKA ROLON LATORRE / SANDRA LATORRE     ADDRESS ON FILE
ERIKA ROLON PEREZ                        ADDRESS ON FILE
ERIKA ROSA RODRIGUEZ                     ADDRESS ON FILE
ERIKA SANTIAGO NEGRON                    ADDRESS ON FILE
ERIKA TORRES BADILLO                     ADDRESS ON FILE
ERIKA VARGAS ROLON                       ADDRESS ON FILE
ERIKA VELEZ ORTIZ                        ADDRESS ON FILE
ERIKA VELEZ ORTIZ                        ADDRESS ON FILE
ERIKA Y PELLOT CRESPO                    ADDRESS ON FILE
ERIKA Y. CORIANO REYES                   ADDRESS ON FILE
ERIKA Y. CORIANO REYES                   ADDRESS ON FILE
ERIKA Y. CORIANO REYES                   ADDRESS ON FILE
ERIKSON SEPULVEDA, ELAINE J              ADDRESS ON FILE
ERILIBETH RIBOT ESPADA                   ADDRESS ON FILE
ERIMARIE WILLIAMS DIAZ                   ADDRESS ON FILE
ERIO D. QUINONES VILLAHERMOSA            ADDRESS ON FILE
ERIOMAR J RIVERA JUSINO                  ADDRESS ON FILE
ERIONEXIS VIVES ROSA                     ADDRESS ON FILE
ERIS M GONZALEZ CLAUSELL                 ADDRESS ON FILE
ERISH K VEGA VIERA                       ADDRESS ON FILE
ERISMARIS MILLAN BONILLA                 ADDRESS ON FILE
ERISON CORTES MENDEZ                     ADDRESS ON FILE
ERITH T PENA JUAREZ                      ADDRESS ON FILE
ERITZA M COLON BARBOSA                   ADDRESS ON FILE
ERIVEL AYALA AMOIT                       ADDRESS ON FILE
ERIZEL TORRES DBA GUADIANA BUS LINE      AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN      PR      00902‐4140
ERIZEL TORRES DBA GUADIANA BUS LINE      P O BOX 879                                                                                NARANJITO     PR      00717
ERIZEL TORRES TORRES                     AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN      PR      00902‐4140
ERIZEL TORRES TORRES                     BOX 879                                                                                    NARANJITO     PR      00719
ERK CONSTRUCTION & MANTENIANCE SERVICE   RR 01 BOX 12107                                                                            MANATI        PR      00674
ERLEEN J MELENDEZ REYES                  ADDRESS ON FILE
ERLIBERLISTH DELGADO BURGOS              ADDRESS ON FILE
ERLIN MARTINEZ MARTINEZ                  ADDRESS ON FILE
ERLINDA MARRERO MORALES                  ADDRESS ON FILE
ERLINE M ALVAREZ RAMIREZ                 ADDRESS ON FILE
ERLIS ORTIZ SERRANO                      ADDRESS ON FILE
ERLYN RAMIREZ DIAZ                       ADDRESS ON FILE
ERM COPIER & BUSINESS EQUIPMENT, INC.    136 CALLE VIVES                                                                            PONCE         PR      00730‐3506
ERM SAFETY INC                           PO BOX 6586                                                                                MAYAGUEZ      PR      00681‐6586
ERMAN, DANUTE                            ADDRESS ON FILE
ERMEL M RIVERA GUZMAN                    ADDRESS ON FILE
ERMELINDA ADORNO VALENTIN                ADDRESS ON FILE
ERMELINDA DIAZ/ ANIBAL VELEZ             ADDRESS ON FILE
ERMELINDA MERCADO JIMENEZ                ADDRESS ON FILE




                                                                                               Page 2603 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2604 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                   Address2                        Address3            Address4   City      State   PostalCode   Country
ERMELINDA MIRANDA MENDEZ             ADDRESS ON FILE
ERMELINDA MIRANDA MENDEZ             ADDRESS ON FILE
ERMELINDA ROMAN OCASIO               ADDRESS ON FILE
ERMELINDA ROMAN OCASIO               ADDRESS ON FILE
ERMELINDA RUIZ TORRES                ADDRESS ON FILE
ERMELINDO OSTOLAZA MUNOZ             ADDRESS ON FILE
ERMELINDO OSTOLAZA MUNOZ             ADDRESS ON FILE
ERMELINDO OSTOLAZA MUNOZ             ADDRESS ON FILE
ERMELINDO RIVERA MARQUEZ             ADDRESS ON FILE
ERMELINDO SALDANA RIVERA             ADDRESS ON FILE
ERMELINDO SALDANA RIVERA             ADDRESS ON FILE
ERMELINDO SALDANA RIVERA             ADDRESS ON FILE
ERMELINDO SANCHEZ VELEZ              ADDRESS ON FILE
ERMI O TORRES CAMACHO                ADDRESS ON FILE
ERMIDES CORREA QUINONES              ADDRESS ON FILE
ERMILA RODRIGUEZ CARDONA             ADDRESS ON FILE
ERMIN RODRIGUEZ JORGE                ADDRESS ON FILE
ERMIS M HERNANDEZ RUIZ               ADDRESS ON FILE
ERMITANIO GARCIA GARCIA              ADDRESS ON FILE
ERMITANO MARTINEZ ALICEA             ADDRESS ON FILE
ERMITANO ORTIZ RUIZ                  ADDRESS ON FILE
ERNA P OCASIO FIGUEROA               ADDRESS ON FILE
ERNANDEZ GONZALEZ, YAJAIRA           ADDRESS ON FILE
ERNANDEZ ROSADO, NYD                 ADDRESS ON FILE
ERNEST CRISSON CANCEL                ADDRESS ON FILE
ERNEST GABRIEL PAGAN ORTIZ           ADDRESS ON FILE
ERNEST HEATH ALBERT                  ADDRESS ON FILE
ERNEST INACAY MD                     701 W MILK BLVD STE 2                                                                     TAMPA     FL      33603
ERNEST INACAY, MD                    701 W MLK BLVD ‐ STE 1                                                                    TAMPA     FL      33603
ERNEST L LOVELAND / NILSA I VARGAS   ADDRESS ON FILE
ERNEST SOTO RIVERA                   ADDRESS ON FILE
ERNEST VILLAFANE MORALES             ADDRESS ON FILE
ERNESTA RAMOS ORTIZ                  ADDRESS ON FILE
ERNESTINA DE LA ROSA PORTES          ADDRESS ON FILE
ERNESTINA DISDIER GONZALEZ           ADDRESS ON FILE
ERNESTINA FERNANDEZ COLLAZO          ADDRESS ON FILE
ERNESTINA ORTIZ COLON                ADDRESS ON FILE
ERNESTINA PACHECO ECHEVARIA          ADDRESS ON FILE
ERNESTINA RODRIGUEZ CONDE            ADDRESS ON FILE
ERNESTINA RODRIGUEZ CONDE            ADDRESS ON FILE
ERNESTINA ROMAN VERGES               ADDRESS ON FILE
ERNESTINA ROMAN VERGES               ADDRESS ON FILE
ERNESTINA TORRES ADORNO              ADDRESS ON FILE
ERNESTINA VALIENTE                   CABRERA COLÓN, CARLOS M.   COND PONCIANA                   9140 CALLE MARINA   STE 202    PONCE     PR      00717
ERNESTINA VELAZQUEZ RODRIGUEZ        ADDRESS ON FILE
ERNESTO A ALONSO LABORI              ADDRESS ON FILE
ERNESTO A CORDERO RODRIGUEZ          ADDRESS ON FILE
ERNESTO A DOMINGUEZ LOZADA           ADDRESS ON FILE
ERNESTO A GONZALEZ MARTORELL         ADDRESS ON FILE
ERNESTO A LOMBAY ANDINO              ADDRESS ON FILE
ERNESTO A LOMBAY QUINONES            ADDRESS ON FILE
ERNESTO A PUJOLS MOLINA              ADDRESS ON FILE
ERNESTO A RIVERA UMPIERRE            ADDRESS ON FILE
ERNESTO A SAVIN0N RODRIGUEZ          ADDRESS ON FILE
ERNESTO A SMITH BRINGAS              ADDRESS ON FILE
ERNESTO A VAZQUEZ MARTINEZ           ADDRESS ON FILE
ERNESTO A VELOZ SANTANA              ADDRESS ON FILE
ERNESTO A. ALONSO LABORI             ADDRESS ON FILE
ERNESTO ACEVEDO BAEZ                 ADDRESS ON FILE
ERNESTO ACOSTA MATOS                 ADDRESS ON FILE




                                                                                 Page 2604 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2605 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
ERNESTO ACOSTA SANTANA                    ADDRESS ON FILE
ERNESTO ADAMES VELEZ                      ADDRESS ON FILE
ERNESTO ADORNO VELAZQUEZ                  ADDRESS ON FILE
ERNESTO ALVERIO BAEZ                      ADDRESS ON FILE
ERNESTO AMARO GONZALEZ                    ADDRESS ON FILE
ERNESTO AQUINO PLAZA                      ADDRESS ON FILE
ERNESTO AVEZUELA PEREZ                    ADDRESS ON FILE
ERNESTO AYALA AYALA                       ADDRESS ON FILE
ERNESTO BAEZ CARRASQUILLO                 ADDRESS ON FILE
ERNESTO BAEZ FIGUEROA                     ADDRESS ON FILE
ERNESTO BAEZ HERNANDEZ                    ADDRESS ON FILE
ERNESTO BAEZ MIRANDA                      ADDRESS ON FILE
ERNESTO BAEZ ROSADO                       ADDRESS ON FILE
ERNESTO BAEZ ROSADO                       ADDRESS ON FILE
ERNESTO BAEZ SAEZ                         ADDRESS ON FILE
ERNESTO BATISTA MIRANDA                   ADDRESS ON FILE
ERNESTO BATISTA MIRANDA                   ADDRESS ON FILE
ERNESTO BERRIOS SANTANA                   ADDRESS ON FILE
ERNESTO BOLORIN                           ADDRESS ON FILE
ERNESTO CAMACHO PAGAN                     ADDRESS ON FILE
ERNESTO CARABALLO BROOKS                  ADDRESS ON FILE
ERNESTO CASTILLO MORALES                  ADDRESS ON FILE
ERNESTO CASTRO CARABALLO                  ADDRESS ON FILE
ERNESTO CINTRON CASADO                    ADDRESS ON FILE
ERNESTO CLASS DIAZ                        ADDRESS ON FILE
ERNESTO COLON CRESPO                      ADDRESS ON FILE
ERNESTO COLON PEREZ                       ADDRESS ON FILE
ERNESTO COLON RODRIGUEZ                   ADDRESS ON FILE
ERNESTO D BORGES SARRAGA                  ADDRESS ON FILE
ERNESTO D MORALES GONZALEZ                ADDRESS ON FILE
ERNESTO D SANTIAGO RODRIGUEZ              ADDRESS ON FILE
ERNESTO D VELEZ QUINONES                  ADDRESS ON FILE
ERNESTO DIAZ ACEVEDO                      ADDRESS ON FILE
ERNESTO DIAZ VELAZQUEZ                    ADDRESS ON FILE
ERNESTO E CONCEPCION VILLALOBOS           ADDRESS ON FILE
ERNESTO E GUERRA SOLTERO                  ADDRESS ON FILE
ERNESTO ESPADA CRUZ                       ADDRESS ON FILE
ERNESTO F RODRIGUEZ SURIS ESTATE          1263 CARR 19 APT 15I                                                             GUAYNABO        PR      00966‐2735
ERNESTO FERNANDEZ DURAN                   ADDRESS ON FILE
ERNESTO FERNANDEZ PEREZ                   ADDRESS ON FILE
ERNESTO FIGUEROA ORTIZ                    ADDRESS ON FILE
ERNESTO FIGUEROA ROMAN                    ADDRESS ON FILE
ERNESTO GOMEZ MONTANEZ                    ADDRESS ON FILE
ERNESTO GONZALEZ                          ADDRESS ON FILE
ERNESTO GONZALEZ INC                      PO BOX 1622                                                                      ARECIBO         PR      00688
ERNESTO GONZALEZ PINERO                   ADDRESS ON FILE
ERNESTO GUZMAN GUTIERREZ                  ADDRESS ON FILE
ERNESTO HERNANDEZ COLON                   ADDRESS ON FILE
ERNESTO I ARROYO SANCHEZ                  ADDRESS ON FILE
ERNESTO I RIVERA RIVERA                   ADDRESS ON FILE
ERNESTO J BARRAL CUSIDO                   ADDRESS ON FILE
ERNESTO J MALAVE SANTIAGO DBA JM          MALAVE SERVICES           PO BOX 800804                                          COTO LAUREL     PR      00780
ERNESTO J PANISSE NIEVES                  ADDRESS ON FILE
ERNESTO J RIVERA RODRIGUEZ/ ABAD BRITO    ADDRESS ON FILE
ERNESTO J SANTIAGO FLORES                 ADDRESS ON FILE
ERNESTO J VEGA IRLANDA DBA HTT SERVICES   PO BOX 99                                                                        SAN GERMAN      PR      00683
ERNESTO J VEGA LEON                       ADDRESS ON FILE
ERNESTO J. DE JESUS DBA EDJ SALES         924 AVE. HOSTOS                                                                  PONCE           PR      00716‐1113
ERNESTO J. MIRANDA FRANCO                 ADDRESS ON FILE
ERNESTO JIMENEZ MONTES                    ADDRESS ON FILE




                                                                                      Page 2605 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2606 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                           Address1                       Address2                       Address3          Address4             City         State   PostalCode   Country
ERNESTO JOSE NEGRON IRIZARRY            ADDRESS ON FILE
ERNESTO JOSE ZAYAS GARCIA               ADDRESS ON FILE
ERNESTO L BAEZ TORRES                   ADDRESS ON FILE
ERNESTO L CABRERA/DBA/DESIGNERS & CONTR CIM II 90 CARR 165 SUITE 310                                                                         GUAYNABO     PR      00968
ERNESTO L CHIESA APONTE                 ADDRESS ON FILE
ERNESTO L DAVILA MARIN                  ADDRESS ON FILE
ERNESTO L JUAN CHINEA                   ADDRESS ON FILE
ERNESTO L RODRIGUEZ/ SANDRA MARTINEZ    ADDRESS ON FILE
ERNESTO L SOTO APONTE                   ADDRESS ON FILE
ERNESTO L TOLEDO ALVERIO                ADDRESS ON FILE
ERNESTO L TORRES BERMEJO                ADDRESS ON FILE
ERNESTO L VERGNE RAMOS                  ADDRESS ON FILE
ERNESTO LEBRON GONZALEZ                 ADDRESS ON FILE
ERNESTO LOPEZ & ASOCIADO                ADDRESS ON FILE
ERNESTO LOPEZ AVILES                    ADDRESS ON FILE
ERNESTO LOPEZ DIAZ                      ADDRESS ON FILE
ERNESTO LOPEZ REINES INC                URB FAIRVIEW                   G1 CALLE 11                                                           SAN JUAN     PR      00926
ERNESTO LUGO MOTA                       ADDRESS ON FILE
ERNESTO LUIS ANZIANI GONZALEZ           ADDRESS ON FILE
ERNESTO LUIS MARTIN LOSADA              ADDRESS ON FILE
ERNESTO M GONZALEZ CENTENO              ADDRESS ON FILE
ERNESTO M OLIVARES GOMEZ                ADDRESS ON FILE
ERNESTO M ORTIZ RIVERA                  ADDRESS ON FILE
ERNESTO MARQUEZ DE LEON                 ADDRESS ON FILE
ERNESTO MARTINEZ RIVERA                 ADDRESS ON FILE
ERNESTO MARTINEZ RODRIGUEZ              ADDRESS ON FILE
ERNESTO MEDINA GONZALEZ                 ADDRESS ON FILE
ERNESTO MORALES CRUZ                    ADDRESS ON FILE
ERNESTO MORALES RAMOS                   ADDRESS ON FILE
ERNESTO MUNIZ HERNANDEZ                 ADDRESS ON FILE
ERNESTO NEGRON DBA COROZAL AUTO SERVICE PMB 3011                       PO BOX 90000                                                          COROZAL      PR      00783
ERNESTO NEGRON DBA COROZAL AUTO SERVICE PO BOX 1375                                                                                          COROZAL      PR      00783
ERNESTO NIEVES GARCIA                   ADDRESS ON FILE
ERNESTO NUNEZ CABAN                     ADDRESS ON FILE
ERNESTO NUNEZ ORTIZ                     ADDRESS ON FILE
ERNESTO OCHART RESTO                    ADDRESS ON FILE
ERNESTO ORTEGA HERNANDEZ                ADDRESS ON FILE
ERNESTO ORTEGA TOLEDO                   ADDRESS ON FILE
ERNESTO ORTIZ TORRES                    ADDRESS ON FILE
ERNESTO PACHECO PENA                    ADDRESS ON FILE
ERNESTO PADILLA                         ADDRESS ON FILE
ERNESTO PAGAN RODRIGUEZ                 ADDRESS ON FILE
ERNESTO PELEGRINA                       ADDRESS ON FILE
ERNESTO PENA                            ADDRESS ON FILE
ERNESTO PENA / D/B/A ROTULOS PENA       ADDRESS ON FILE
ERNESTO PEREZ CARTAGENA                 ADDRESS ON FILE
                                                                                                                        AVE. CALDERON #110
ERNESTO PÉREZ OCASIO                      ERNESTO PEREZ OCASIO         COND. VILLA                    CAROLINA COURT,   APT. 1501,           CAROLINA     PR      00985
ERNESTO PEREZ PENA                        ADDRESS ON FILE
ERNESTO PEREZ RODRIGUEZ                   ADDRESS ON FILE
ERNESTO PLAZA MANSO                       ADDRESS ON FILE
ERNESTO QUINONES JIMENEZ                  ADDRESS ON FILE
ERNESTO QUINONES LEBRON                   ADDRESS ON FILE
ERNESTO R NEGRON MARRERO                  ADDRESS ON FILE
ERNESTO R RIVERA GANDIA                   ADDRESS ON FILE
ERNESTO R TANTAO GONZALEZ                 ADDRESS ON FILE
ERNESTO R. QUILES MOLINA                  ADDRESS ON FILE
ERNESTO RAICES MONTIJO                    ADDRESS ON FILE
ERNESTO RAMOS ECHEVARRIA                  ADDRESS ON FILE
ERNESTO RAMOS FERNANDEZ                   ADDRESS ON FILE




                                                                                       Page 2606 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2607 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                          Address2                                          Address3            Address4   City            State   PostalCode   Country
ERNESTO RAMOS FIGUEROA                   ADDRESS ON FILE
ERNESTO RAMOS LIZARDI                    ADDRESS ON FILE
ERNESTO RAMOS MALDONADO                  ADDRESS ON FILE
ERNESTO RAMOS PEREZ                      ADDRESS ON FILE
ERNESTO RAMOS RUIZ                       ADDRESS ON FILE
ERNESTO RENTAS Y NORMA FERNANDEZ         ADDRESS ON FILE
ERNESTO REYES GONZALEZ                   ADDRESS ON FILE
ERNESTO REYES MONTESQUIEUS               ADDRESS ON FILE
ERNESTO RIOS ADORNO                      ADDRESS ON FILE
ERNESTO RIVERA                           ADDRESS ON FILE
ERNESTO RIVERA FIGUEROA                  ADDRESS ON FILE
ERNESTO RIVERA GARCIA                    ADDRESS ON FILE
ERNESTO RIVERA RIVERA                    ADDRESS ON FILE
ERNESTO RIVERA RIVERA                    ADDRESS ON FILE
ERNESTO RIVERA RODRIGUEZ                 ADDRESS ON FILE
ERNESTO RIVERA ROSARIO                   ADDRESS ON FILE
ERNESTO RIVERA TORRES                    ADDRESS ON FILE
ERNESTO RIVERA VARGAS                    ADDRESS ON FILE
ERNESTO ROCHER ROSA                      ADDRESS ON FILE
ERNESTO RODAS                            ADDRESS ON FILE
ERNESTO RODRIGUEZ ALVARADO               ADDRESS ON FILE
ERNESTO RODRIGUEZ ALZUGARAY              ADDRESS ON FILE
ERNESTO RODRIGUEZ PEREZ                  ADDRESS ON FILE
ERNESTO RODRIGUEZ QUINONES               ADDRESS ON FILE
ERNESTO RODRIGUEZ ROBLES                 ADDRESS ON FILE
ERNESTO RODRIGUEZ RODRIGUEZ Y GLORIGLORI PO BOX 330190                                                                                                      PONCE           PR      00733‐0190
ERNESTO RODRIGUEZ SANTANA                ADDRESS ON FILE
ERNESTO ROSA BIGIO                       ADDRESS ON FILE
ERNESTO ROSARIO MARTINEZ                 ADDRESS ON FILE
ERNESTO ROVIRA GANDARA                   ADDRESS ON FILE
ERNESTO RUIZ LEBRON                      ADDRESS ON FILE
ERNESTO RUIZ ORTIZ                       ADDRESS ON FILE
ERNESTO RUIZ ROMERO                      DEMANDANTE (POR DERECHO PROPIO)   Lago Horizonte 2025 calle Zafiro                                                 COTO LUREL      PR      00780
ERNESTO RUIZ ROMERO                      DEMANDANTE ERNESTO RUIZ ROMERO    Lago Horizonte 2025 calle Zafiro                                                 COTO LUREL      PR      00780
ERNESTO RUIZ ROMERO                      LCDA. ALYS COLLAZO BOUGEOIS       PO Box 331429                                                                    Ponce           PR      00733‐1429
ERNESTO RUIZ ROMERO                      LCDO. RICARDO A. RAMÍREZ LUGO     PO Box 195587                                                                    SAN JUAN        PR      00919‐5587
ERNESTO RUIZ ROMERO                      SR. ERNESTO RUIZ ROMERO           LAGO HORIZONTE                                    2025 CALLE ZAFIRO              COTO LAUREL     PR      00780
ERNESTO SANCHEZ CASTRO                   ADDRESS ON FILE
ERNESTO SANCHEZ RODRIGUEZ                ADDRESS ON FILE
ERNESTO SANTIAGO PEREZ                   ADDRESS ON FILE
ERNESTO SANTIAGO PEREZ                   ADDRESS ON FILE
ERNESTO SANTINI CAISEDA                  ADDRESS ON FILE
ERNESTO SANTINI CAISEDA                  ADDRESS ON FILE
ERNESTO SANTINI HERNANDEZ                ADDRESS ON FILE
ERNESTO SGROI HERNANDEZ                  ADDRESS ON FILE
ERNESTO SOLTERO HARRINGTON               ADDRESS ON FILE
ERNESTO TAPIA DE JESUS                   ADDRESS ON FILE
ERNESTO TIRADO SANCHEZ                   ADDRESS ON FILE
ERNESTO TORO RODRIGUEZ                   ADDRESS ON FILE
ERNESTO TORRES HERNANDEZ                 ADDRESS ON FILE
ERNESTO TORRES MELENDEZ                  ADDRESS ON FILE
ERNESTO TORRES RUIZ                      ADDRESS ON FILE
ERNESTO VALENTIN CRUZ                    ADDRESS ON FILE
ERNESTO VAZQUEZ ORTEGA                   ADDRESS ON FILE
ERNESTO VAZQUEZ RECCA                    ADDRESS ON FILE
ERNESTO VELEZ REYES                      ADDRESS ON FILE
ERNESTO VIDAL BECERRA                    ADDRESS ON FILE
ERNESTO VILLANUEVA MORALES               ADDRESS ON FILE
ERNESTO VIRELLA TORRES                   ADDRESS ON FILE
ERNESTO WILLIAM BRANA                    ADDRESS ON FILE




                                                                                                              Page 2607 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2608 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                            Address1                   Address2                                Address3   Address4   City         State   PostalCode   Country
ERNESTO WILLIAM BRANA                    ADDRESS ON FILE
ERNESTO YUNES MENDEZ                     ADDRESS ON FILE
ERNESTY VEGA ORTIZ                       ADDRESS ON FILE
ERNEYS R. DEYNES MORALES                 ADDRESS ON FILE
ERNIC BARRETO MARTINEZ                   ADDRESS ON FILE
ERNIE ALGARIN RIVERA                     ADDRESS ON FILE
ERNIE ECHANDIA COLON                     ADDRESS ON FILE
ERNIE J RODRIGUEZ HERNANDEZ              ADDRESS ON FILE
ERNIE MEJIAS DIAZ                        ADDRESS ON FILE
ERNIE MELENDEZ HUERTA                    ADDRESS ON FILE
ERNIE RODRIGUEZ MILLET                   ADDRESS ON FILE
ERNIE ROLDAN MEDINA                      ADDRESS ON FILE
ERNIE TORRES REYES                       ADDRESS ON FILE
ERNIE VELAZQUEZ MUNOZ                    ADDRESS ON FILE
ERNIE X ALBINO RODRIGUEZ                 ADDRESS ON FILE
ERNIE X RIVERA COLLAZO                   ADDRESS ON FILE
ERNIEL MARTINEZ SANCHEZ                  ADDRESS ON FILE
ERNNIE H MARTINEZ SOTOMAYOR              ADDRESS ON FILE
ERNST & YOUNG LLP                        1000 SCOTIABANK PLAZA      273 AVE PONCE DE LEON                                         SAN JUAN     PR      00917
ERNST & YOUNG LLP                        1201 ELM STREET STE 1400                                                                 DALLAS       TX      75270
ERNST & YOUNG LLP                        PLAZA 273 PISO 10          273 AVE PONCE DE LEON                                         SAN JUAN     PR      00917
ERNST HUCKELHOFEN                        ADDRESS ON FILE
ERNST YOUNG LLP                          1000 SCOTIABANK PLAZA      273 PONCE DE LEON AVE.                                        HATO REY     PR      00917‐1989
ERNY AGUILAR RODRIGUEZ                   ADDRESS ON FILE
EROHILDA NIEVES DIAZ                     ADDRESS ON FILE
EROHITA SUAREZ ALVARADO                  ADDRESS ON FILE
EROILDA CRESPO RUIZ                      ADDRESS ON FILE
EROILDA RODRIGUEZ                        PO BOX 204                                                                               YAUCO        PR      00698‐0204
EROILDO BONILLA BONILLA                  ADDRESS ON FILE
EROZ J RODRIGUEZ HERNANDEZ               ADDRESS ON FILE
ERROL DE JESUS COLOM                     ADDRESS ON FILE
ERROLL COLON PARADISO                    ADDRESS ON FILE
ERS OAKBROOK                             AREA DEL TESORO            DIV DE RECLAMACIONES                                          SAN JUAN     PR      00902‐4140
ERTEC P S C ENVIRONMENTAL CONSULTANTS    PO BOX 195336                                                                            SAN JUAN     PR      00919‐5336
ERTEC‐ P S C ENVIRONMENTAL CONSULTANTS   PO BOX 195336                                                                            SAN JUAN     PR      00919‐5336
ERVIN A RODRIGUEZ LABOY                  ADDRESS ON FILE
ERVIN F ORTIZ ROLON                      ADDRESS ON FILE
ERVIN ISAAC RODRIGUEZ CONCEPCION         ADDRESS ON FILE
ERVIN J CHAPARRO SANCHEZ                 ADDRESS ON FILE
ERVIN L TORRES SIRRA                     ADDRESS ON FILE
ERVIN LABOY CARABALLO                    ADDRESS ON FILE
ERVIN OCASIO / CHRISTIAN ARCE            ADDRESS ON FILE
ERVIN PEREZ                              ADDRESS ON FILE
ERVIN R VEGA GARCIA                      ADDRESS ON FILE
ERVIN RIVERA CASTELLAR                   ADDRESS ON FILE
ERVIN RODRIGUEZ VELEZ                    ADDRESS ON FILE
ERVIN ROMERO VEGA                        ADDRESS ON FILE
ERVIN ROSA RAMOS                         ADDRESS ON FILE
ERVIN ZAYAS ORTIZ                        ADDRESS ON FILE
ERVITA PEREZ                             ADDRESS ON FILE
ERWIN A MAYOL ROSADO                     ADDRESS ON FILE
ERWIN BRUNO MENDEZ                       ADDRESS ON FILE
ERWIN D MORALES ROJAS                    ADDRESS ON FILE
ERWIN J RIEFKOHL MARTY                   ADDRESS ON FILE
ERWIN ORTIZ RIOS                         ADDRESS ON FILE
ERWIN PEREZ SANCHEZ                      ADDRESS ON FILE
ERWIN R SUAZO MARTINEZ                   ADDRESS ON FILE
ERWIN V ORTIZ RODRIGUEZ                  ADDRESS ON FILE
ERWING A PARRA DE JESUS                  ADDRESS ON FILE
ERWING A. PARRA DE JESUS                 ADDRESS ON FILE




                                                                                             Page 2608 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2609 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                            Address1                   Address2                                   Address3   Address4   City             State   PostalCode   Country
ERWING A. PARRA DE JESUS                 ADDRESS ON FILE
ERWINS FELICIANO ECHEVARRIA              ADDRESS ON FILE
ERWIRK G GIBOYEAUX                       ADDRESS ON FILE
ES TEVEZ CORTES, ERIKA                   ADDRESS ON FILE
ESAI RIVERA GOTAY                        ADDRESS ON FILE
ESAM A HUSSEIN HASSAN                    ADDRESS ON FILE
ESAN CONCRETE MIX                        SABANA BRANCH              P O BOX 949054                                                   VEGA BAJA        PR      00694
ESANE GUADALUPE MARQUEZ                  ADDRESS ON FILE
ESAU RODRIGUEZ BETANCOURT                ADDRESS ON FILE
ESAU RUIZ MUNIZ                          ADDRESS ON FILE
ESAUL RODRIGUEZ CRUZ                     ADDRESS ON FILE
ESAUU HERNANDEZ GOMEZ                    ADDRESS ON FILE
ESB PUERTO RICO CORP                     PO BOX 4825                                                                                 CAROLINA         PR      00984‐4825
ESB PUERTO RICO CORPORATION              PO BOX 4825                                                                                 CAROLINA         PR      00987
ESBERG RUIZ, JOHN A.                     ADDRESS ON FILE
ESBRI AMADOR, RICARDO LUIS               ADDRESS ON FILE
ESBRI COSME, LYNELL                      ADDRESS ON FILE
ESBRI COSME, LYNELL J.                   ADDRESS ON FILE
ESBRI LOMBA, HUMBERTO R                  ADDRESS ON FILE
ESBRI ORTIZ, ALFONSA                     ADDRESS ON FILE
ESC ABELARDO DIAZ ALFARO                 ADDRESS ON FILE
ESC ADOLFINA IRIZARRY                    ADDRESS ON FILE
ESC ARISTIDES CALES QUIROS               ADDRESS ON FILE
ESC BENITA GONZALEZ QUINONES             ADDRESS ON FILE
ESC CARMEN VIGNALS ROSARIO               ADDRESS ON FILE
ESC COM ESP EN DEP DEL ALBERQUE OLIMPICO PO BOX 2004                                                                                 SALINAS          PR      00751
ESC COMUNIDAD LUIS MUNOS MARIN           PO BOX 3501‐274                                                                             JUANA DIAZ       PR      00795
ESC DE BONBA Y PLENA DARIE CARIDAD BRENS ADDRESS ON FILE
ESC DE COMUNIDA INTERMEDIA SABANA LLANA ADDRESS ON FILE
ESC DE LA COM ERNESTINA BRACERO PEREZ    ADDRESS ON FILE
ESC DE LA COM GENARO CAUTINO VAZQUEZ     CALLE ASHFORD              Y SAN AGUSTIN BOX 90                                             GUAYAMA          PR      00785
ESC DE LA COM JESUS MARIA QUINONES       VILLA PALMERAS             2212 AVE EDUARDO CONDE                                           SAN JUAN         PR      00915
ESC DE LA COM LUIS MUNOZ MARIN           PO BOX 1116                                                                                 ARECIBO          PR      00613
ESC DE LA COM LUIS MUNOZ RIVERA          PO BOX 98                                                                                   LAS PIEDRAS      PR      00771
ESC DE LA COM RAFAEL CORDERO             PO BOX 630217                                                                               CATANO           PR      00963‐0217
ESC DE LA COM SEVERO E COLBERG RAMIREZ   PO BOX 1150                                                                                 CABO ROJO        PR      00623
ESC DE LA COMUN DR GUSTAVO MUNOS DIAZ FINAL CALLE ROMAN ROSA                                                                         AGUAS BUENAS     PR      00703
ESC DE LA COMUNIDAD ANDRES SOTO QUINONEP O BOX 128                                                                                   YABUCOA          PR      00767
ESC DE LA COMUNIDAD ANGEL RAMOS          1RA EXT URB COUNTRY CLUB   CALLE SISONTE Y DENOTIERA                                        SAN JUAN         PR      00924
ESC DE LA COMUNIDAD CARMEN CASASUS MARTBOX CARRERAS                                                                                  ANASCO           PR      00623
ESC DE LA COMUNIDAD CARMEN CASASUS MARTPO BOX 1576                                                                                   ANASCO           PR      00610
ESC DE LA COMUNIDAD JESUS T PINEIRO      PO BOX 3158                                                                                 MANATI           PR      00674
ESC DE LA COMUNIDAD JESUS T PINEIRO      VEGA BAJA LAKES            I 15 CALLE 9                                                     VEGA BAJA        PR      00693
ESC DE LA COMUNIDAD LA ESPERANZA         PUERTO NUEVO               CALLE 19 N E                                                     SAN JUAN         PR      00921
ESC DE LA COMUNIDAD LUIS MUNOZ RIVERA    58 CALLE MATIAS GONZALEZ                                                                    GURABO           PR      00778
ESC DE LA COMUNIDAD LUIS T BALINAS       BO MULAS                   P O BOX 68                                                       AGUAS BUENAS     PR      00703
ESC DE LA COMUNIDAD VENUS GARDENS        PO BOX 1211 SA JUST STA                                                                     SAN JUAN         PR      00978‐1211
ESC DESAR Y ENTRENAMIENTO VOL JUANA DIAZ URB LAS FLORES             CALLE 3‐14                                                       JUANA DIAZ       PR      00795
ESC ELEM PINAS ARRIBA                    ADDRESS ON FILE
ESC EMILIANO FIGUEROA TORRES             ADDRESS ON FILE
ESC ESPECIALIZADA BILIGUE JUAN P DE LEON ADDRESS ON FILE
ESC EUGENIA M HOSTOS MAYAGUEZ CLASE 59 BO PARIS                     78 CALLE MIGUEL A SANTINI                                        MAYAGUEZ         PR      00680
ESC EUGENIA M HOSTOS MAYAGUEZ CLASE 59 URB ALTURAS DE FLAMBOYAN     N 67 CALLE 23                                                    BAYAMON          PR      00924
ESC EUGENIO M DE HOSTOS                  ADDRESS ON FILE
ESC FORMACION FUTBOLISTAS ESPANOLA EFFE ADDRESS ON FILE
ESC FRANCISCO MARIANO QUINONES           ADDRESS ON FILE
ESC FRANCISCO MARIANO QUINONES           ADDRESS ON FILE
ESC GABRIELA MISTRAL CASTANER            ADDRESS ON FILE
ESC HORACE MANN                          ADDRESS ON FILE
ESC INDUSTRIAL PARA MUJERES VEGA ALTA    ATT RECORD MEDICO          PO BOX 1079                                                      VEGA ALTA        PR      00762




                                                                                                Page 2609 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2610 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                            Address1                              Address2                              Address3   Address4   City         State   PostalCode   Country
ESC INFANTIL CARITA DE ANGEL             ADDRESS ON FILE
ESC INT TALLABOA ALTA                    P O B OX 1010                                                                                     PENUELAS     PR      00624
ESC JAIME CASTANER                       ADDRESS ON FILE
ESC JESUS T PINERO                       ADDRESS ON FILE
ESC JOSE EMILIO LUGO                     ADDRESS ON FILE
ESC JOSE SANTOS QUINONEZ                 ADDRESS ON FILE
ESC JOSE VIZCARRONDO ANESES              ADDRESS ON FILE
ESC JOSE VIZCARRONDO ANESES              ADDRESS ON FILE
ESC JOSEFINA MUNOZ DE BERNIER            ADDRESS ON FILE
ESC LA COM LUIS MUNOZ RIVERA CAROLINA I H 13 CALLE LUIS MUNOZ RIVERA                                                                       CAROLINA     PR      00986
ESC LA COM LUIS MUNOZ RIVERA CAROLINA I PO BOX 7848                                                                                        CAROLINA     PR      00985
ESC LUIS MUðOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUðOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOS RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ MARIN                     ADDRESS ON FILE
ESC LUIS MUNOZ MARIN                     ADDRESS ON FILE
ESC LUIS MUNOZ MARIN                     ADDRESS ON FILE
ESC LUIS MUNOZ MARIN                     ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA                    ADDRESS ON FILE
ESC LUIS MUNOZ RIVERA II                 ADDRESS ON FILE
ESC LUZ ENEIDA COLON                     ADDRESS ON FILE
ESC MARIA T PINEIRO/CLASE GRADUANDA 2004 CALLE LOS MARQUES FINAL SABANA SECA                                                               TOA BAJA     PR      00952
ESC MARIA T PINEIRO/CLASE GRADUANDA 2004 PO BOX 495                                                                                        TOA BAJA     PR      00952
ESC MIGUEL A SANTRO                      ADDRESS ON FILE
ESC NARCISO RABELL / PROG ED FISICA Y/O  ADDRESS ON FILE
ESC RAFAEL QUINONES VIDAL                ADDRESS ON FILE
ESC RAMON MARIN SOLA                     ADDRESS ON FILE
ESC RAMON QUINONES PACHECO               ADDRESS ON FILE
ESC REG BILINGUE RAMIREZ DE ARELLANO     ADDRESS ON FILE
ESC S U MANUEL TORRES VILLAFANE          ADDRESS ON FILE
ESC SECUNDARIA GERARDO SELLES SOLA INC   URB SAN PEDRO STATE                   E 14 CALLE SAN PEDRO                                        CAGUAS       PR      00725
ESC SUP FRANCISCO OLLER‐ CATANO          ADDRESS ON FILE
ESC SUP JOSEFA VELEZ BAUZA               ADDRESS ON FILE
ESC SUP LUIS MUNOZ MARIN CLASE EXTS 98   ADDRESS ON FILE
ESC SUP RAMON QUINONES MEDINA            ADDRESS ON FILE
ESC SUPERIOR JUAN SUAREZ PELEGRINA       ADDRESS ON FILE
ESC SUPERIOR LUIS MUNOZ MARIN            ADDRESS ON FILE
ESC SUPERIOR PATRIA LATORRE/SOLIER MARTI ADDRESS ON FILE
ESC TOMAS MASO RIVERA ( INT PINAS)       ADDRESS ON FILE
Esc. Medicina Y Ciencias Salud Ponce     PO BOX 7004                                                                                       PONCE        PR      00732‐0000
ESCABI CELA, JOSE L.                     ADDRESS ON FILE
ESCABI CELA, JOSE L.                     ADDRESS ON FILE
ESCABI MENDEZ, FERNANDO J.               ADDRESS ON FILE
Escabi Morales, Cesar E                  ADDRESS ON FILE
ESCABI PAGAN MD, RAFAEL E                ADDRESS ON FILE
ESCABI PENA, NOEMI                       ADDRESS ON FILE
ESCABI PEREZ, JOSE                       ADDRESS ON FILE
ESCABI QUILES, JENNIFER                  ADDRESS ON FILE
ESCABI RAMIREZ, ARMANDO                  ADDRESS ON FILE
ESCABI,NIXCY                             ADDRESS ON FILE
ESCABIR RODRIGUEZ,ROBERTO                ADDRESS ON FILE
ESCAJADILLO CRUZ, HENRY                  ADDRESS ON FILE
Escajadillo Cruz, Vannenrys C            ADDRESS ON FILE
ESCAJADILLO CRUZ, VANNENRYS CHATZEL      ADDRESS ON FILE
ESCALANA PEREZ SANCHEZ                   FRANCISCO J. VIZCARRONDO‐TORRES       PO BOX 195642                                               SAN JUAN     PR      00919‐5642




                                                                                                      Page 2610 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2611 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESCALANTE ANTONETTI, ANGEL LUIS   ADDRESS ON FILE
ESCALANTE ANTONETTI, JOSE L       ADDRESS ON FILE
ESCALANTE BAQUERO, RICARDO        ADDRESS ON FILE
ESCALANTE CINTRON, IRMA I         ADDRESS ON FILE
ESCALANTE COLON, ANGEL F          ADDRESS ON FILE
ESCALANTE COLON, PEDRO            ADDRESS ON FILE
ESCALANTE DE JESUS, ELIAN         ADDRESS ON FILE
ESCALANTE DELGADO, CECILIA        ADDRESS ON FILE
Escalante Delgado, Eric           ADDRESS ON FILE
ESCALANTE DELGADO, MARIA T        ADDRESS ON FILE
ESCALANTE DIAZ, JUAN              ADDRESS ON FILE
ESCALANTE ESCALANTE, VIRGILIO     ADDRESS ON FILE
ESCALANTE FACUNDO, LAURA          ADDRESS ON FILE
ESCALANTE FONSECA, JUAN           ADDRESS ON FILE
ESCALANTE GONZALEZ, HECTOR        ADDRESS ON FILE
ESCALANTE LEON, JOSE              ADDRESS ON FILE
ESCALANTE MELENDEZ, LUZ           ADDRESS ON FILE
Escalante Nieves, Edgardo         ADDRESS ON FILE
ESCALANTE ORTIZ, ELIZABETH        ADDRESS ON FILE
ESCALANTE ORTIZ, MARITZA          ADDRESS ON FILE
ESCALANTE ORTIZ, MARITZA          ADDRESS ON FILE
ESCALANTE OSUNA, MARIA DEL        ADDRESS ON FILE
ESCALANTE PASTRANA, JOEL          ADDRESS ON FILE
ESCALANTE RAMIREZ, LUIS           ADDRESS ON FILE
ESCALANTE RIVERA, DIXON           ADDRESS ON FILE
ESCALANTE RIVERA, DIXON           ADDRESS ON FILE
ESCALANTE RIVERA, ELY             ADDRESS ON FILE
ESCALANTE RODRIGUEZ, JOSE L       ADDRESS ON FILE
ESCALANTE RODRIGUEZ, MARTA        ADDRESS ON FILE
ESCALANTE RODRIGUEZ, XIOMARA      ADDRESS ON FILE
ESCALANTE RODRIGUEZ, YANITZA      ADDRESS ON FILE
ESCALANTE ROQUE, MARITZA          ADDRESS ON FILE
ESCALANTE SALAZAR, ROBERTO J      ADDRESS ON FILE
ESCALANTE SANTIAGO, MARIA         ADDRESS ON FILE
ESCALANTE SILVESTRE, MARIELY      ADDRESS ON FILE
ESCALANTE TORRES, FELIX           ADDRESS ON FILE
ESCALANTE TORRES, HILDA           ADDRESS ON FILE
ESCALANTE TORRES, VIRGEN M        ADDRESS ON FILE
ESCALANTE TROCHE, EVELYN          ADDRESS ON FILE
ESCALANTE VAZQUEZ, GLENDA         ADDRESS ON FILE
Escalante Vazquez, Luis A         ADDRESS ON FILE
ESCALANTE, MARTA                  ADDRESS ON FILE
ESCALANTE, STEPHANIE              ADDRESS ON FILE
ESCALENA MUNOZ, NOEL              ADDRESS ON FILE
Escalera Acosta, Melissa          ADDRESS ON FILE
ESCALERA ACOSTA, SHARONLY         ADDRESS ON FILE
ESCALERA ALICEA, YARITZA          ADDRESS ON FILE
ESCALERA AMADOR, CARLOS           ADDRESS ON FILE
ESCALERA ANDINO, FELIX            ADDRESS ON FILE
ESCALERA ANDINO, FELIX            ADDRESS ON FILE
ESCALERA ANDINO, MARICELA         ADDRESS ON FILE
ESCALERA AVILES, ALFREDO          ADDRESS ON FILE
ESCALERA AVILES, DORIAL F.        ADDRESS ON FILE
ESCALERA AYALA, ANA M             ADDRESS ON FILE
ESCALERA AYALA, FELIX             ADDRESS ON FILE
ESCALERA AYALA, FELIX DE V        ADDRESS ON FILE
ESCALERA AYALA, GUILLERMO         ADDRESS ON FILE
ESCALERA AYALA, RAFAEL            ADDRESS ON FILE
ESCALERA BENITEZ, JOSE            ADDRESS ON FILE
ESCALERA BENITEZ, LUIS            ADDRESS ON FILE




                                                                              Page 2611 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2612 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Escalera Caldero, Inocencio          ADDRESS ON FILE
ESCALERA CALDERON, CARLOS            ADDRESS ON FILE
ESCALERA CALDERON, GERMAN            ADDRESS ON FILE
ESCALERA CALDERON, RUBEN             ADDRESS ON FILE
ESCALERA CALDERON, WILNELIA          ADDRESS ON FILE
ESCALERA CALDERON, WILNELIA          ADDRESS ON FILE
ESCALERA CALDERON,NYDIA J.           ADDRESS ON FILE
ESCALERA CANALES, MARISELA           ADDRESS ON FILE
ESCALERA CANDELARIO, JOSE R          ADDRESS ON FILE
ESCALERA CANTRES, ROBERTO            ADDRESS ON FILE
ESCALERA CARATINI,JOHNNY             ADDRESS ON FILE
ESCALERA CARDONA, ILIA               ADDRESS ON FILE
ESCALERA CARDONA, OBSVALDO           ADDRESS ON FILE
ESCALERA CASANOVA, MARIA E           ADDRESS ON FILE
ESCALERA CIFREDO, VIVIAN J           ADDRESS ON FILE
ESCALERA CLEMENTE, EDUARDO           ADDRESS ON FILE
ESCALERA CLEMENTE, JOSE              ADDRESS ON FILE
ESCALERA CLEMENTE, MARIA DE LOS A.   ADDRESS ON FILE
ESCALERA CLEMENTE, MARIA FRANCISCA   ADDRESS ON FILE
ESCALERA CLEMENTE, NITZA             ADDRESS ON FILE
ESCALERA CLEMENTE, VILMA LIZ         ADDRESS ON FILE
ESCALERA CORCHADO, WILBERTO          ADDRESS ON FILE
ESCALERA CORCHADO, WILFREDO          ADDRESS ON FILE
ESCALERA CORTIJO, RUBEN              ADDRESS ON FILE
ESCALERA CRUZ, CYNTHIA               ADDRESS ON FILE
ESCALERA CRUZ, JUAN                  ADDRESS ON FILE
ESCALERA CRUZ, ZURISHADAI            ADDRESS ON FILE
ESCALERA DAVILA, CAROL               ADDRESS ON FILE
ESCALERA DE LA CRUZ, STEPHANIE       ADDRESS ON FILE
ESCALERA DEL TORO, LUIS              ADDRESS ON FILE
Escalera Del Valle, Rafael           ADDRESS ON FILE
ESCALERA DIAZ, ANA C                 ADDRESS ON FILE
ESCALERA DIAZ, JOSE A.               ADDRESS ON FILE
Escalera Duprey, Ernesto O.          ADDRESS ON FILE
Escalera Escaler, Margarita          ADDRESS ON FILE
ESCALERA ESCALERA, ANDREA            ADDRESS ON FILE
ESCALERA ESCALERA, FELIX             ADDRESS ON FILE
ESCALERA ESCALERA, FELIX             ADDRESS ON FILE
ESCALERA ESCALERA, JANET             ADDRESS ON FILE
ESCALERA ESCALERA, JANET             ADDRESS ON FILE
ESCALERA ESCALERA, JUAN              ADDRESS ON FILE
ESCALERA ESCALERA, RAMON L.          ADDRESS ON FILE
ESCALERA ESCALERA, ZENAIDA           ADDRESS ON FILE
ESCALERA ESCOBAR, JOSE ROBERTO       ADDRESS ON FILE
ESCALERA ESCOBAR, MILITZA            ADDRESS ON FILE
ESCALERA FEBUS, JOSE L               ADDRESS ON FILE
ESCALERA FEBUS, MAGALI               ADDRESS ON FILE
ESCALERA FELICIANO, HILDA E          ADDRESS ON FILE
ESCALERA FELICIANO, HILDA R          ADDRESS ON FILE
ESCALERA FERNANDEZ, IRAIDA           ADDRESS ON FILE
ESCALERA FERNANDEZ, MARIA C.         ADDRESS ON FILE
ESCALERA FERRAN, VIVIAN              ADDRESS ON FILE
ESCALERA FERRERAS, JESSICA M         ADDRESS ON FILE
ESCALERA FIGUEROA, BRUNILDA          ADDRESS ON FILE
ESCALERA FIGUEROA, SANTIAGO          ADDRESS ON FILE
ESCALERA FIGUEROA, SAUL              ADDRESS ON FILE
ESCALERA FLORES, JOSE JR             ADDRESS ON FILE
ESCALERA FLORES, NOEL                ADDRESS ON FILE
ESCALERA FLORES, SONIA E             ADDRESS ON FILE
ESCALERA FONTANEZ, NORMINES          ADDRESS ON FILE




                                                                                 Page 2612 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2613 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESCALERA FREYTES, ARLEEN         ADDRESS ON FILE
ESCALERA GARCIA, ARLYMARIE       ADDRESS ON FILE
ESCALERA GEIGEL, JOSE            ADDRESS ON FILE
ESCALERA GOLDILLA, RAFAEL        ADDRESS ON FILE
ESCALERA GONZALEZ, MILAGROS      ADDRESS ON FILE
ESCALERA GUADALUPE, ROSA         ADDRESS ON FILE
ESCALERA GUTIERREZ, MARIA        ADDRESS ON FILE
ESCALERA JAMES, CARLOS           ADDRESS ON FILE
ESCALERA JAMES, CECIBETH         ADDRESS ON FILE
ESCALERA JIMENEZ, ERNESTO        ADDRESS ON FILE
ESCALERA KNIGHT, CELESTINA       ADDRESS ON FILE
ESCALERA LATORRE, NEREIDA        ADDRESS ON FILE
ESCALERA LUGO, CHARLIE           ADDRESS ON FILE
ESCALERA LUGO, KAREN M           ADDRESS ON FILE
ESCALERA MALDONADO, FERNANDO     ADDRESS ON FILE
ESCALERA MARRERO, EDGARDO        ADDRESS ON FILE
ESCALERA MARRERO, LUIS           ADDRESS ON FILE
ESCALERA MARTINEZ, JESSICA       ADDRESS ON FILE
ESCALERA MASSO, WANDA            ADDRESS ON FILE
ESCALERA MATIENZO, GILBERTO      ADDRESS ON FILE
ESCALERA MATOS, AURELIA          ADDRESS ON FILE
ESCALERA MATOS, AURELIA          ADDRESS ON FILE
ESCALERA MELENDEZ, JASON         ADDRESS ON FILE
ESCALERA MELENDEZ, WALESKA       ADDRESS ON FILE
ESCALERA MERCADO, RICARDO        ADDRESS ON FILE
ESCALERA MERCED, JAVIER          ADDRESS ON FILE
ESCALERA MOLINA, CHRISTIAN       ADDRESS ON FILE
ESCALERA MORALES, JOSE           ADDRESS ON FILE
ESCALERA MORALES, JOSE WILLIAM   ADDRESS ON FILE
ESCALERA MORALES, VICTOR         ADDRESS ON FILE
ESCALERA MORCILIO, AURORA        ADDRESS ON FILE
Escalera Munoz, Josue            ADDRESS ON FILE
Escalera Munoz, Noel             ADDRESS ON FILE
ESCALERA OLIVI, MAYRA            ADDRESS ON FILE
ESCALERA OLIVIERI, YEIDY M       ADDRESS ON FILE
ESCALERA OLIVO, MAYRA            ADDRESS ON FILE
ESCALERA ORTIZ, BETSAIDA         ADDRESS ON FILE
ESCALERA ORTIZ, EMY              ADDRESS ON FILE
ESCALERA ORTIZ, EMY LEE          ADDRESS ON FILE
ESCALERA ORTIZ, MILDRED          ADDRESS ON FILE
ESCALERA ORTIZ, MODESTO          ADDRESS ON FILE
ESCALERA ORTIZ, NORMA I          ADDRESS ON FILE
ESCALERA OSORIO, WANDA E.        ADDRESS ON FILE
ESCALERA OTERO, CARMEN M         ADDRESS ON FILE
ESCALERA PABELLON, ELLIOT        ADDRESS ON FILE
ESCALERA PABON, MARITZA          ADDRESS ON FILE
Escalera Pagan, Hector J         ADDRESS ON FILE
ESCALERA PAGAN, RICHARD          ADDRESS ON FILE
ESCALERA PEREIRA, ANA DELIA      ADDRESS ON FILE
ESCALERA PEREIRA, FELIX          ADDRESS ON FILE
ESCALERA PEREIRA, MAGALY         ADDRESS ON FILE
Escalera Perez, Jose R.          ADDRESS ON FILE
ESCALERA PEREZ, LYANA            ADDRESS ON FILE
ESCALERA PIZARRO, ADELAIDA       ADDRESS ON FILE
ESCALERA PIZARRO, EUSEBIA        ADDRESS ON FILE
ESCALERA PIZARRO, FERNANDO       ADDRESS ON FILE
ESCALERA PIZARRO, GILMARIE       ADDRESS ON FILE
ESCALERA PIZARRO, HERMINIO       ADDRESS ON FILE
ESCALERA PIZARRO, JOSE A         ADDRESS ON FILE
ESCALERA PIZARRO, JULIA          ADDRESS ON FILE




                                                                             Page 2613 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2614 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                     Address1                                 Address2                                Address3   Address4   City         State   PostalCode   Country
ESCALERA PIZARRO, LAURA A         ADDRESS ON FILE
ESCALERA PIZARRO, MARIA           ADDRESS ON FILE
ESCALERA PIZARRO, MARIA C         ADDRESS ON FILE
ESCALERA PIZARRO, NILKAMARIE      ADDRESS ON FILE
ESCALERA PIZARRO, NURIA V         ADDRESS ON FILE
ESCALERA PIZARRO, WILLIAM         ADDRESS ON FILE
Escalera Quinones, Clara E        ADDRESS ON FILE
ESCALERA QUINONES, SANTA S        ADDRESS ON FILE
ESCALERA RIOS, MARIA I            ADDRESS ON FILE
ESCALERA RIVERA, AMABEL           ADDRESS ON FILE
ESCALERA RIVERA, AMANDA           ADDRESS ON FILE
ESCALERA RIVERA, ANA ROSA         ADDRESS ON FILE
ESCALERA RIVERA, CARLOS           ADDRESS ON FILE
Escalera Rivera, Charlie          ADDRESS ON FILE
ESCALERA RIVERA, GILBERTO         ADDRESS ON FILE
Escalera Rivera, Henry            ADDRESS ON FILE
ESCALERA RIVERA, IVONNE           ADDRESS ON FILE
ESCALERA RIVERA, LENIZ            ADDRESS ON FILE
ESCALERA RIVERA, LENIZ I          ADDRESS ON FILE
ESCALERA RIVERA, LESLIE I         ADDRESS ON FILE
ESCALERA RIVERA, MARIA DEL C      ADDRESS ON FILE
ESCALERA RIVERA, MAYRA            ADDRESS ON FILE
ESCALERA RIVERA, MYRTA R          ADDRESS ON FILE
ESCALERA RIVERA, NESMARY          ADDRESS ON FILE
ESCALERA RIVERA, NESMARY          ADDRESS ON FILE
ESCALERA RIVERA, PAULA            ADDRESS ON FILE
ESCALERA RIVERA, SANDRA I         ADDRESS ON FILE
ESCALERA RIVERA, VIRGILIO         ADDRESS ON FILE
Escalera Rivera, Yilenia          ADDRESS ON FILE
ESCALERA RIVERA, YILENIA          ADDRESS ON FILE
ESCALERA RODRIGUEZ, JESSIKA       ADDRESS ON FILE
ESCALERA RODRIGUEZ, RAFAELA       ADDRESS ON FILE
ESCALERA ROMAN, LAURA             ADDRESS ON FILE
ESCALERA ROMERO, CARLOS           ADDRESS ON FILE
ESCALERA ROMERO, JOSEFA           ADDRESS ON FILE
ESCALERA ROMERO, JUAN R.          ADDRESS ON FILE
ESCALERA ROMERO, NELSON           ADDRESS ON FILE
ESCALERA ROMERO, SUSANA           ADDRESS ON FILE
ESCALERA ROMERO, SUSANA           ADDRESS ON FILE
ESCALERA ROMERO, WANDA O.         ADDRESS ON FILE
ESCALERA ROMERO, ZULMA LIZ        ADDRESS ON FILE
ESCALERA ROSADO, ANDY             ADDRESS ON FILE
ESCALERA ROSARIO, ABDON           ADDRESS ON FILE
ESCALERA SALA, RAFAEL             ADDRESS ON FILE
ESCALERA SALAMAN, ALBERTO L       ADDRESS ON FILE
ESCALERA SALAMAN, JOSE O          ADDRESS ON FILE
ESCALERA SALAMAN, MARIA E         ADDRESS ON FILE
ESCALERA SANCHEZ, ISEL            ADDRESS ON FILE
ESCALERA SANCHEZ, SANDRA          ADDRESS ON FILE
ESCALERA SANTELL, DAIANNA         ADDRESS ON FILE
ESCALERA SANTIAG, NATHALY         ADDRESS ON FILE
ESCALERA SANTIAGO FRANCISCO A.    DEMANDANTE: LCDO. LUIS CABRERA MEDINA DEMANDANTE: PO BOX 6648                                          CAGUAS       PR      00726‐6648
ESCALERA SANTIAGO FRANCISCO A.    ELA POR LA ASEGURADORA INTEGRAND: BUFETE ELA POR LA ASEGURADORA INTEGRAND: PO BOX 9024081              SAN JUAN     PR      00902
ESCALERA SANTIAGO, HECTOR         ADDRESS ON FILE
ESCALERA SANTIAGO, JACQUELINE E   ADDRESS ON FILE
ESCALERA SANTIAGO, KEISHLA        ADDRESS ON FILE
ESCALERA SANTIAGO, KEYLA          ADDRESS ON FILE
ESCALERA SANTIAGO, MARISELA       ADDRESS ON FILE
ESCALERA SANTIAGO, MARISELA       ADDRESS ON FILE
ESCALERA SANTIAGO, NATHALY        ADDRESS ON FILE




                                                                                                     Page 2614 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2615 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
ESCALERA SANTIAGO, RICARDO         ADDRESS ON FILE
ESCALERA SANTIAGO, WANDA           ADDRESS ON FILE
Escalera Santos, Freddie           ADDRESS ON FILE
ESCALERA SANTOS, FREDDIE           ADDRESS ON FILE
ESCALERA SANTOS, OLGA              ADDRESS ON FILE
ESCALERA TAPIA, RAMON LUIS         ADDRESS ON FILE
ESCALERA THOMAS, JOSE A            ADDRESS ON FILE
ESCALERA TORRES, DESIREE           ADDRESS ON FILE
ESCALERA TORRES, NATHALIA          ADDRESS ON FILE
ESCALERA VEGA, HILDA               ADDRESS ON FILE
ESCALERA VEGA, TATIANA             ADDRESS ON FILE
ESCALERA VEGA, YISELLE I.          ADDRESS ON FILE
ESCALERA VIERA, RAMON L            ADDRESS ON FILE
ESCALERA ZAPATA, ARELYS E.         ADDRESS ON FILE
Escalera Zarzuela, Jose A          ADDRESS ON FILE
ESCALERA, FRANCISCO                ADDRESS ON FILE
ESCALERA, INOCENCIA                ADDRESS ON FILE
ESCALERA, JOSE HERIBERTO           ADDRESS ON FILE
ESCALERA, JUAN                     ADDRESS ON FILE
ESCALERAPIZARRO, CRUZ A            ADDRESS ON FILE
ESCALERA‐SANTIAGO, ERIK            ADDRESS ON FILE
ESCALET GARCIA, LYDIA              ADDRESS ON FILE
ESCALONA COLMENERO MD, JAIME       ADDRESS ON FILE
ESCALONA COLON, LIMARIE            ADDRESS ON FILE
ESCALONA COYANTE, ROSSY            ADDRESS ON FILE
ESCALONA CRUZ, MARIA               ADDRESS ON FILE
ESCALONA GONZALEZ, CARMEN          ADDRESS ON FILE
ESCALONA GUERRA, SONIA             ADDRESS ON FILE
ESCALONA GUTIERREZ, MARIO          ADDRESS ON FILE
ESCALONA MARRERO MD, CARMEN R      ADDRESS ON FILE
ESCALONA MARRERO, CARMEN R.        ADDRESS ON FILE
ESCALONA MERCADER, GRETCHELLE      ADDRESS ON FILE
ESCALONA MERCADER, HANSEN          ADDRESS ON FILE
ESCALONA RIVERA, VICTOR            ADDRESS ON FILE
ESCALONA RUIZ, GERARDO             ADDRESS ON FILE
ESCALONA TERAN, JAIRO              ADDRESS ON FILE
ESCAMBRON BEACH CLUB               PO BOX 9023774                                                                   SAN JUAN      PR      00902‐3774
ESCAMILO QUINONES, CARMEN          ADDRESS ON FILE
ESCANDON DOMINICCI, JADIRA         ADDRESS ON FILE
ESCANDON II NEGRON, MORAIMA        ADDRESS ON FILE
ESCANDON NEGRON, MORAIMA           ADDRESS ON FILE
ESCANDON VELAZQUEZ, ZEIDY          ADDRESS ON FILE
ESCANELLAS & JUAN PSC              204 AVE DOMENECH                                                                 SAN JUAN      PR      00918
ESCANELLAS JORDAN, MARIEDITH       ADDRESS ON FILE
Escanio Quinones, Albert           ADDRESS ON FILE
ESCANIO QUINONES, ORLANDO          ADDRESS ON FILE
ESCANO GONZALEZ, ANABEL            ADDRESS ON FILE
ESCAPA FERNANDEZ, CELIA INES       ADDRESS ON FILE
ESCARFULLERY CRISOSTOMO, AMNERYS   ADDRESS ON FILE
ESCARFULLERY RIVERA, BARBARA       ADDRESS ON FILE
ESCARIZ VAZQUEZ, MERCEDES          ADDRESS ON FILE
ESCASENA CASTELLANOS, MONICA       ADDRESS ON FILE
ESCASO PEREZ, MARIA                ADDRESS ON FILE
ESCENA LATINA INC                  PMB 278                   PO BOX 20000                                           CANOVANAS     PR      00729‐0042
ESCENAS LATINAS INC                PMB 278 PO BOX 20,000                                                            CANOVANAS     PR      00729
ESCENAS LATINAS INC                PO BOX 22372                                                                     SAN JUAN      PR      00931‐2372
ESCH EMMERT, LORA L                ADDRESS ON FILE
ESCHEIK YEPEZ, LINDA               ADDRESS ON FILE
ESCLAVON MATIAS, AWILDA            ADDRESS ON FILE
ESCLAVON MATIAS, EDNA M            ADDRESS ON FILE




                                                                               Page 2615 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2616 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESCLAVON SEGUINOT, MARINA              ADDRESS ON FILE
ESCLUSA ZAYAS, NOMARIE A               ADDRESS ON FILE
ESCO EQUIPMEN RENTAL CORP              PO BOX 4040                                                                      CAROLINA     PR      00984‐4040
ESCO EQUIPMENT RENTALS CORP (INTACO)   PO BOX 4040                                                                      CAROLINA     PR      00984‐4040
ESCO GROUP INC                         P O BOX 3269                                                                     CAROLINA     PR      00987
ESCO MFG INC                           PO BOX 2331                                                                      TOA BAJA     PR      00951
ESCOBALES CUEVAS, BERNICE              ADDRESS ON FILE
ESCOBALES ESCOBALES, MARIA M.          ADDRESS ON FILE
ESCOBALES ESCOBALES, ZULMA             ADDRESS ON FILE
ESCOBALES FELICIANO, INES M.           ADDRESS ON FILE
ESCOBALES GONZALEZ, DAVID              ADDRESS ON FILE
ESCOBALES MEDINA, MIRIAM               ADDRESS ON FILE
ESCOBALES NUNEZ, MARTA I               ADDRESS ON FILE
ESCOBALES NUQEZ, LUZ N                 ADDRESS ON FILE
Escobales Perez, Jose A.               ADDRESS ON FILE
ESCOBALES PEREZ, NORMAN LUIS           ADDRESS ON FILE
ESCOBALES RAMIREZ, LUZ N               ADDRESS ON FILE
ESCOBALES RAMOS, LAURA                 ADDRESS ON FILE
ESCOBALES RAMOS, LAURA L               ADDRESS ON FILE
ESCOBALES RAMOS, ROSA O                ADDRESS ON FILE
ESCOBALES RAMOS, YOEL                  ADDRESS ON FILE
ESCOBALES RIVERA, EDUARDO              ADDRESS ON FILE
ESCOBALES RIVERA, ERIKA                ADDRESS ON FILE
ESCOBALES RODRIGUEZ, IVANIANETTE       ADDRESS ON FILE
ESCOBALES ROSA, LIONEL                 ADDRESS ON FILE
ESCOBALES ROSA, LIONEL                 ADDRESS ON FILE
ESCOBALES RUIZ, MYRNA                  ADDRESS ON FILE
Escobales Santiago, Jose M             ADDRESS ON FILE
ESCOBALES TALAVERA, JOSE               ADDRESS ON FILE
ESCOBALES TORRES, IXCIA I              ADDRESS ON FILE
ESCOBALES TORRES, JOMAYRA              ADDRESS ON FILE
ESCOBALES, DAMIAN                      ADDRESS ON FILE
ESCOBALES, MONSERRATE                  ADDRESS ON FILE
ESCOBAR ., FELIX J                     ADDRESS ON FILE
ESCOBAR ACEVEDO, IRIS                  ADDRESS ON FILE
ESCOBAR ACEVEDO, IRIS D                ADDRESS ON FILE
ESCOBAR ACEVEDO, ROSA                  ADDRESS ON FILE
ESCOBAR ACEVEDO, ROSA E                ADDRESS ON FILE
ESCOBAR AGUIAR, GERARDO                ADDRESS ON FILE
ESCOBAR ALEJANDRO, AIXA                ADDRESS ON FILE
ESCOBAR ANDINO, ANGEL M                ADDRESS ON FILE
ESCOBAR ANDINO, ANGEL M                ADDRESS ON FILE
ESCOBAR ARCE JR, JOSE                  ADDRESS ON FILE
ESCOBAR ARIZMENDI, LILLIAN IVETTE      ADDRESS ON FILE
ESCOBAR AYALA, ORLANDO                 ADDRESS ON FILE
ESCOBAR BARRETO, CARMEN L.             ADDRESS ON FILE
ESCOBAR BARRETO, JANNETTE I            ADDRESS ON FILE
Escobar Barreto, Jose E.               ADDRESS ON FILE
ESCOBAR BARRETO, MARIA                 ADDRESS ON FILE
ESCOBAR BARRETO, MARIA C               ADDRESS ON FILE
ESCOBAR BARRETO, MARIBEL               ADDRESS ON FILE
ESCOBAR BARRETO, NANCY M               ADDRESS ON FILE
ESCOBAR BELARDO, ALEIDA                ADDRESS ON FILE
ESCOBAR BELARDO, PETRA                 ADDRESS ON FILE
ESCOBAR BERGOLLO, ZORAIDA              ADDRESS ON FILE
ESCOBAR BONILLA, AIDA                  ADDRESS ON FILE
ESCOBAR BRAVO, CARLOS                  ADDRESS ON FILE
ESCOBAR CABAN, CACINDIA                ADDRESS ON FILE
Escobar Caban, Daniel                  ADDRESS ON FILE
ESCOBAR CABAN, DANIEL                  ADDRESS ON FILE




                                                                                   Page 2616 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2617 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESCOBAR CABAN, YESENIA         ADDRESS ON FILE
ESCOBAR CALCANO, NORMA         ADDRESS ON FILE
ESCOBAR CALDERON, YAMARIS      ADDRESS ON FILE
ESCOBAR CAMACHO, NAHAIMA       ADDRESS ON FILE
ESCOBAR CARDONA, LOURDES       ADDRESS ON FILE
ESCOBAR CARDONA, LUIS          ADDRESS ON FILE
ESCOBAR CARO, SARA T           ADDRESS ON FILE
ESCOBAR CARRERAS, RACHEL       ADDRESS ON FILE
ESCOBAR CASTRO, LUZ D          ADDRESS ON FILE
ESCOBAR CEBALLO, FELIPE        ADDRESS ON FILE
ESCOBAR CEPEDA, PABLO A.       ADDRESS ON FILE
ESCOBAR CLAUSELL, DOMINGO      ADDRESS ON FILE
ESCOBAR CLAUSELL, SANTA V      ADDRESS ON FILE
ESCOBAR CLEMENTE, JESUS        ADDRESS ON FILE
ESCOBAR COLON, EMMA E          ADDRESS ON FILE
ESCOBAR CONTRERAS, PATRICIO    ADDRESS ON FILE
ESCOBAR CORDOBA, FEDERICO      ADDRESS ON FILE
ESCOBAR CORDOVA, HERMIN        ADDRESS ON FILE
ESCOBAR CORREA, JEANETTE       ADDRESS ON FILE
ESCOBAR CRUZ, CARMEN J         ADDRESS ON FILE
ESCOBAR CRUZ, ELSIE            ADDRESS ON FILE
ESCOBAR DATIL, JOSE A          ADDRESS ON FILE
ESCOBAR DE MORENO, ANA E       ADDRESS ON FILE
ESCOBAR DE SIERRA, LIBERTAD    ADDRESS ON FILE
ESCOBAR DEBIEN, ANA M          ADDRESS ON FILE
ESCOBAR DEBIEN, RAUL           ADDRESS ON FILE
ESCOBAR DEL VALLE, YEIDY M.    ADDRESS ON FILE
ESCOBAR DIAZ, TANIA            ADDRESS ON FILE
ESCOBAR DONES, LYDIA           ADDRESS ON FILE
Escobar Dorrscheid, Maria A    ADDRESS ON FILE
ESCOBAR ESCOBAR, RAMON         ADDRESS ON FILE
ESCOBAR FALU, NELLIE           ADDRESS ON FILE
Escobar Falu, Roberto          ADDRESS ON FILE
ESCOBAR FELIX, CARMEN L.       ADDRESS ON FILE
ESCOBAR FELIX, CARMEN N        ADDRESS ON FILE
ESCOBAR FELIX, LUIS E          ADDRESS ON FILE
ESCOBAR FERNANDEZ, MILAGROS    ADDRESS ON FILE
ESCOBAR FIGUEROA, ERICK        ADDRESS ON FILE
ESCOBAR FLORES, LIXLIA M       ADDRESS ON FILE
ESCOBAR GALINDEZ, JACQUELINE   ADDRESS ON FILE
ESCOBAR GALINDEZ, MARGARITA    ADDRESS ON FILE
ESCOBAR GARCIA, JADYRAH        ADDRESS ON FILE
ESCOBAR GARCIA, JAMYLAH        ADDRESS ON FILE
ESCOBAR GARCIA, JANET          ADDRESS ON FILE
ESCOBAR GARCIA, JOSE           ADDRESS ON FILE
ESCOBAR GARCIA, JULIO          ADDRESS ON FILE
ESCOBAR GOMEZ, CARMEN B        ADDRESS ON FILE
ESCOBAR GOMEZ, JOSE            ADDRESS ON FILE
ESCOBAR GOMEZ, RAMON           ADDRESS ON FILE
ESCOBAR GOMEZ, ROSABELLE       ADDRESS ON FILE
ESCOBAR GONZALEZ, ELSA         ADDRESS ON FILE
ESCOBAR GONZALEZ, ELVIN        ADDRESS ON FILE
ESCOBAR GONZALEZ, ELVIN E      ADDRESS ON FILE
ESCOBAR GONZALEZ, EUGENIA      ADDRESS ON FILE
ESCOBAR GONZALEZ, MARIA        ADDRESS ON FILE
ESCOBAR GONZALEZ, NANCY E      ADDRESS ON FILE
ESCOBAR GONZALEZ, NILDA        ADDRESS ON FILE
ESCOBAR GONZALEZ,KEILA         ADDRESS ON FILE
ESCOBAR GUANILL, GABRIELA      ADDRESS ON FILE
ESCOBAR HERNANDEZ, JOSE        ADDRESS ON FILE




                                                                           Page 2617 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2618 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESCOBAR HERNANDEZ, SAMUEL     ADDRESS ON FILE
ESCOBAR IGLESIAS, DENYLUZ     ADDRESS ON FILE
ESCOBAR IRIZARRY, ARGEL       ADDRESS ON FILE
ESCOBAR JIMENEZ, GLORIA E     ADDRESS ON FILE
ESCOBAR LOPEZ, MARTA V.       ADDRESS ON FILE
Escobar Lorenzo, Jose R       ADDRESS ON FILE
ESCOBAR LUGO, JOSE            ADDRESS ON FILE
ESCOBAR LUGO, JOSE J.         ADDRESS ON FILE
ESCOBAR MACHADO, CARMEN D     ADDRESS ON FILE
Escobar Machado, Rene         ADDRESS ON FILE
ESCOBAR MACHADO, WILFREDO     ADDRESS ON FILE
ESCOBAR MACHICOTE, CARMEN I   ADDRESS ON FILE
ESCOBAR MAISONET, LYDIA E.    ADDRESS ON FILE
ESCOBAR MARADIAGA, DENNI      ADDRESS ON FILE
ESCOBAR MARIN, CARMEN M       ADDRESS ON FILE
ESCOBAR MARQUEZ, NASHALIE     ADDRESS ON FILE
Escobar Martinez, Andres      ADDRESS ON FILE
ESCOBAR MARTINEZ, ANDRES      ADDRESS ON FILE
ESCOBAR MARTINEZ, ANDRES A.   ADDRESS ON FILE
ESCOBAR MARTINEZ, HECTOR      ADDRESS ON FILE
ESCOBAR MARTINEZ, HECTOR      ADDRESS ON FILE
ESCOBAR MARTINEZ, LISSETTE    ADDRESS ON FILE
ESCOBAR MATOS, ABNER          ADDRESS ON FILE
ESCOBAR MD, FERNANDO          ADDRESS ON FILE
ESCOBAR MEDINA, RAFAEL        ADDRESS ON FILE
ESCOBAR MEDINA, VICTOR        ADDRESS ON FILE
ESCOBAR MERCADO, ELIZABETH    ADDRESS ON FILE
ESCOBAR MERCADO, ELIZABETH    ADDRESS ON FILE
ESCOBAR MOLINA, JAVIER        ADDRESS ON FILE
ESCOBAR MORALES, AMY L.       ADDRESS ON FILE
ESCOBAR MORALES, JAIME        ADDRESS ON FILE
ESCOBAR MORALES, NAYDA E.     ADDRESS ON FILE
ESCOBAR MORENO, SANDRALEE     ADDRESS ON FILE
ESCOBAR NAVARRO, JOSE A       ADDRESS ON FILE
ESCOBAR NEGRON, BARBARA       ADDRESS ON FILE
ESCOBAR NEGRON, MAYRA         ADDRESS ON FILE
ESCOBAR NIEVES, ALEJANDRO     ADDRESS ON FILE
ESCOBAR ORTIZ, DORA L         ADDRESS ON FILE
ESCOBAR ORTIZ, ELID           ADDRESS ON FILE
ESCOBAR ORTIZ, ELIZAM         ADDRESS ON FILE
ESCOBAR ORTIZ, JINETTE        ADDRESS ON FILE
Escobar Ortiz, Jose M         ADDRESS ON FILE
ESCOBAR ORTIZ, LEXSY          ADDRESS ON FILE
ESCOBAR ORTIZ, LUIS R.        ADDRESS ON FILE
ESCOBAR ORTIZ, MARIA L        ADDRESS ON FILE
ESCOBAR ORTIZ, SARA L.        ADDRESS ON FILE
ESCOBAR ORTIZ, SARA L.        ADDRESS ON FILE
ESCOBAR OTERO, NILMARIE       ADDRESS ON FILE
ESCOBAR PABON, ANA I.         ADDRESS ON FILE
Escobar Padro, Efrain         ADDRESS ON FILE
Escobar Padro, Luis F         ADDRESS ON FILE
ESCOBAR PADRO, RAFAEL         ADDRESS ON FILE
ESCOBAR PAGAN, LUIS           ADDRESS ON FILE
ESCOBAR PEREZ, ALEXIS         ADDRESS ON FILE
ESCOBAR PEREZ, CARMEN I       ADDRESS ON FILE
ESCOBAR PEREZ, JOSE           ADDRESS ON FILE
ESCOBAR PEREZ, KARLA J.       ADDRESS ON FILE
ESCOBAR PEREZ, MARIBEL        ADDRESS ON FILE
ESCOBAR PEREZ, SONIA N        ADDRESS ON FILE
ESCOBAR PEREZ, WANDA          ADDRESS ON FILE




                                                                          Page 2618 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2619 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Escobar Pineiro, Luis A         ADDRESS ON FILE
ESCOBAR PINEIRO, MIDNA L        ADDRESS ON FILE
ESCOBAR PORTALATIN, GUILLERMO   ADDRESS ON FILE
ESCOBAR QUINONES, AIDA          ADDRESS ON FILE
ESCOBAR QUINONES, NILDA         ADDRESS ON FILE
ESCOBAR QUINONES, ROBERTO       ADDRESS ON FILE
ESCOBAR RAMIREZ, YASBEL         ADDRESS ON FILE
ESCOBAR RAMOS, JOEL             ADDRESS ON FILE
ESCOBAR RAMOS, MURIEL           ADDRESS ON FILE
ESCOBAR RAMOS, OSVALDO          ADDRESS ON FILE
ESCOBAR REYES, JAIME            ADDRESS ON FILE
ESCOBAR RIVERA, ADY             ADDRESS ON FILE
ESCOBAR RIVERA, BASILIO         ADDRESS ON FILE
ESCOBAR RIVERA, IVIS I          ADDRESS ON FILE
ESCOBAR RIVERA, JOSELY          ADDRESS ON FILE
ESCOBAR RIVERA, JUAN            ADDRESS ON FILE
ESCOBAR RIVERA, JUAN            ADDRESS ON FILE
ESCOBAR RIVERA, KRISTAL         ADDRESS ON FILE
ESCOBAR RIVERA, LUIS            ADDRESS ON FILE
ESCOBAR RIVERA, NORBERTO        ADDRESS ON FILE
ESCOBAR RIVERA, SANDRA          ADDRESS ON FILE
ESCOBAR RIVERA, SANDRA          ADDRESS ON FILE
ESCOBAR RIVERA, ZUMALLA         ADDRESS ON FILE
ESCOBAR ROBLES, CARMEN D        ADDRESS ON FILE
ESCOBAR ROBLES, GLAMARIS        ADDRESS ON FILE
ESCOBAR ROBLES, JORGE           ADDRESS ON FILE
ESCOBAR ROBLES, JORGE           ADDRESS ON FILE
ESCOBAR ROBLES, RAMON           ADDRESS ON FILE
ESCOBAR ROBLES, RAMON A         ADDRESS ON FILE
ESCOBAR RODRIGUEZ, EDGARDO      ADDRESS ON FILE
ESCOBAR RODRIGUEZ, FELIZ H.     ADDRESS ON FILE
ESCOBAR RODRIGUEZ, JUAN         ADDRESS ON FILE
ESCOBAR RODRIGUEZ, KITSA        ADDRESS ON FILE
ESCOBAR RODRIGUEZ, MIGUEL       ADDRESS ON FILE
ESCOBAR RODRIGUEZ, ROQUE        ADDRESS ON FILE
ESCOBAR RODRIGUEZ, ROSA I       ADDRESS ON FILE
ESCOBAR ROLDAN, RAMONITA E      ADDRESS ON FILE
ESCOBAR ROMERO, VICENTA H       ADDRESS ON FILE
ESCOBAR ROSA, ELBA              ADDRESS ON FILE
ESCOBAR ROSA, JOSE              ADDRESS ON FILE
ESCOBAR ROSA, LISANDRO          ADDRESS ON FILE
ESCOBAR ROSARIO, CARMEN         ADDRESS ON FILE
ESCOBAR ROSARIO, CARMEN         ADDRESS ON FILE
ESCOBAR ROSARIO, LYDIA          ADDRESS ON FILE
ESCOBAR ROSARIO, ROBERTO        ADDRESS ON FILE
ESCOBAR ROSARIO, SONIA IVETTE   ADDRESS ON FILE
ESCOBAR SANTANA, RAFAEL         ADDRESS ON FILE
ESCOBAR SANTIAGO, CESAR         ADDRESS ON FILE
ESCOBAR SANTIAGO, ELIEZER       ADDRESS ON FILE
ESCOBAR SANTIAGO, LUZ M         ADDRESS ON FILE
ESCOBAR SARDINA, JORGE          ADDRESS ON FILE
ESCOBAR SOTO, MARIA E           ADDRESS ON FILE
ESCOBAR SOTO, TAMARA            ADDRESS ON FILE
ESCOBAR TORRES, BRUNILDA        ADDRESS ON FILE
ESCOBAR TORRES, EVELYN          ADDRESS ON FILE
ESCOBAR TORRES, JOSE A          ADDRESS ON FILE
ESCOBAR VALLE, ALBERTO          ADDRESS ON FILE
ESCOBAR VARGAS, LUIS            ADDRESS ON FILE
ESCOBAR VARGAS, RICARDO         ADDRESS ON FILE
ESCOBAR VAZQUEZ, CARLOS         ADDRESS ON FILE




                                                                            Page 2619 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2620 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                          Address1                                    Address2                         Address3   Address4   City         State   PostalCode   Country
Escobar Vazquez, Efrain                ADDRESS ON FILE
ESCOBAR VAZQUEZ, VICTOR                ADDRESS ON FILE
ESCOBAR VELOZ, LAURA                   ADDRESS ON FILE
ESCOBAR VIDOT, JOSEFINA                ADDRESS ON FILE
ESCOBAR VIDOT, JOSEFINA                ADDRESS ON FILE
ESCOBAR VILLA, ALEXANDER               ADDRESS ON FILE
ESCOBAR, ANGEL                         ADDRESS ON FILE
ESCOBAR, ELSA                          ADDRESS ON FILE
ESCOBAR, JAQUELINE                     ADDRESS ON FILE
ESCOBAR, MARIA                         ADDRESS ON FILE
ESCOBARCASTRO, EDUARDO                 ADDRESS ON FILE
ESCOBOSA, PABLO                        ADDRESS ON FILE
ESCODA COREANO, FRANCISCO              ADDRESS ON FILE
ESCODA DEL VALLE, REY                  ADDRESS ON FILE
ESCOLA GOMEZ, MONSERRAT                ADDRESS ON FILE
ESCOLAR GONZALEZ, ROSAURA              ADDRESS ON FILE
ESCOLAR KRAYOLA ,CENTRO PRE            ADDRESS ON FILE
ESCOLARA TRANSPORT LLC                 PO BOX 4952 PMB 496                                                                                CAGUAS       PR      00726‐4952
ESCOLARA TRANSPORT, LLC                PMB 496 PO BOX 4952                                                                                CAGUAS       PR      00726‐4952
ESCORCIA TAFUR, JOSE                   ADDRESS ON FILE
ESCORIAL DEVELOPMENT / MAPFRE PRAICO   PMB 33                                      400 CALLE CALAF                                        SAN JUAN     PR      00918
ESCORIAL MRI & CT IMAGING CENTER       SUITE 170 ESCORIAL OFFICE BUILDING ONE AVE SUR 1400                                                CAROLINA     PR      00937
ESCORIAZA SAAVEDRA, LAURA              ADDRESS ON FILE
ESCORIAZA SAAVEDRA, MARY H             ADDRESS ON FILE
ESCORIAZA SANTANA, PHILLIP A           ADDRESS ON FILE
ESCORP SERVICES CORPORATION            PO BOX 1005                                                                                        HATILLO      PR      00659‐1005
ESCOTO CAMACHO, SYLVIA G.              ADDRESS ON FILE
ESCOTO COTTE, MERCEDES A               ADDRESS ON FILE
ESCOTO ZELAYA, JOSUE                   ADDRESS ON FILE
ESCOTTO MEDINA, NIURKA                 ADDRESS ON FILE
ESCOTTO MORALES, BIANCA M.             ADDRESS ON FILE
ESCRIBA LOPEZ, HAYDEE M                ADDRESS ON FILE
ESCRIBA QUINONEZ, CYNTHIA              ADDRESS ON FILE
ESCRIBANO ARCE, ERIC                   ADDRESS ON FILE
ESCRIBANO BERNACET, DAISY              ADDRESS ON FILE
ESCRIBANO BURGOS, MARYVELISSE          ADDRESS ON FILE
ESCRIBANO CAMPOS, JORGE                ADDRESS ON FILE
ESCRIBANO CASTRO, ARMANDO              ADDRESS ON FILE
ESCRIBANO CASTRO, EILEEN               ADDRESS ON FILE
ESCRIBANO CLAUDIO, JUAN                ADDRESS ON FILE
Escribano Claudio, Lucy                ADDRESS ON FILE
ESCRIBANO COLON, EVA                   ADDRESS ON FILE
ESCRIBANO COLON, EVA                   ADDRESS ON FILE
ESCRIBANO COLON, LISA                  ADDRESS ON FILE
ESCRIBANO COLON, ROBERTO               ADDRESS ON FILE
Escribano Cora, Jannette               ADDRESS ON FILE
ESCRIBANO CRESPO, VICTOR               ADDRESS ON FILE
ESCRIBANO DE JESUS, ELIZABETH          ADDRESS ON FILE
ESCRIBANO DE JESUS, LUIS               ADDRESS ON FILE
ESCRIBANO DIAZ, BELKIS M               ADDRESS ON FILE
ESCRIBANO FERNANDEZ, JAVIER            ADDRESS ON FILE
ESCRIBANO FIGUEROA, ANGEL              ADDRESS ON FILE
ESCRIBANO FONTANEZ, NORA I             ADDRESS ON FILE
ESCRIBANO FUENTES, LUIS R              ADDRESS ON FILE
ESCRIBANO JIMENEZ, JANICE              ADDRESS ON FILE
ESCRIBANO LOPEZ, ANGEL E.              ADDRESS ON FILE
ESCRIBANO MAGUAL, LUIS A               ADDRESS ON FILE
ESCRIBANO MALDONADO, MARIA             ADDRESS ON FILE
ESCRIBANO MALDONADO, MARIA D           ADDRESS ON FILE
ESCRIBANO MARRERO, MIGUEL A            ADDRESS ON FILE




                                                                                                     Page 2620 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2621 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESCRIBANO MARRERO, MONSERRATE       ADDRESS ON FILE
ESCRIBANO MARTINEZ, ANGEL           ADDRESS ON FILE
ESCRIBANO MARTINEZ, FEDERICO F      ADDRESS ON FILE
ESCRIBANO MEDINA, GILBERTO          ADDRESS ON FILE
ESCRIBANO MEDINA, JORGE L.          ADDRESS ON FILE
ESCRIBANO MEDINA, ROSA              ADDRESS ON FILE
ESCRIBANO MEDINA, ROSA              ADDRESS ON FILE
ESCRIBANO MELENDEZ, VANESSA         ADDRESS ON FILE
ESCRIBANO MIRANDA, PABLO            ADDRESS ON FILE
Escribano Miranda, Pablo R          ADDRESS ON FILE
ESCRIBANO MORALES, MARILUZ          ADDRESS ON FILE
ESCRIBANO NEGRON, RAFAEL            ADDRESS ON FILE
ESCRIBANO PASTRANA, JENNIFER M      ADDRESS ON FILE
ESCRIBANO PEREZ, DORALIS            ADDRESS ON FILE
ESCRIBANO RAMOS, EVA                ADDRESS ON FILE
ESCRIBANO REYES, ANGEL M            ADDRESS ON FILE
ESCRIBANO RIOS, MARIA LUISA         ADDRESS ON FILE
ESCRIBANO RIVERA, CARMEN M          ADDRESS ON FILE
ESCRIBANO ROBELLO, JOSEPH D.        ADDRESS ON FILE
ESCRIBANO ROBELLO, REBECCA          ADDRESS ON FILE
ESCRIBANO ROBELLO, REBECCA          ADDRESS ON FILE
Escribano Rodrig, Esteban J         ADDRESS ON FILE
ESCRIBANO ROMAN, LUIS O.            ADDRESS ON FILE
ESCRIBANO ROMAN, YOLANDA MICHELLE   ADDRESS ON FILE
ESCRIBANO ROSA, AINELLE             ADDRESS ON FILE
ESCRIBANO ROSA, JENNY               ADDRESS ON FILE
ESCRIBANO ROSA, LUZ M               ADDRESS ON FILE
ESCRIBANO ROSADO, BRENDALI          ADDRESS ON FILE
ESCRIBANO ROSSY, JORGE A.           ADDRESS ON FILE
ESCRIBANO RUIZ, DADIA               ADDRESS ON FILE
ESCRIBANO SANCHEZ, ANDRES           ADDRESS ON FILE
ESCRIBANO SANCHEZ, CECILIA          ADDRESS ON FILE
ESCRIBANO SANTANA, VILMA            ADDRESS ON FILE
ESCRIBANO SANTIAGO, JOSE            ADDRESS ON FILE
ESCRIBANO TORRES, ARELIZ            ADDRESS ON FILE
ESCRIBANO TRINIDAD, GLORIA E.       ADDRESS ON FILE
ESCRIBANO URBINA, LILLIAN I         ADDRESS ON FILE
ESCRIBANO VELEZ, ROSA               ADDRESS ON FILE
ESCRIBANO VELEZ, YOFFRED            ADDRESS ON FILE
ESCRIBANO VILLAFANE, RAFAEL A       ADDRESS ON FILE
ESCRIBANO ZAYAS, NILEDIZ            ADDRESS ON FILE
ESCRIBANO ZAYAS, NILEDIZ            ADDRESS ON FILE
ESCRIBANO ZAYAS, WILFREDO           ADDRESS ON FILE
ESCRIBANO, ZAIDA J                  ADDRESS ON FILE
ESCRIBANOMONTALVO, JOSE A           ADDRESS ON FILE
ESCROGGIN CEDANO, ESTERVINA         ADDRESS ON FILE
ESCUADRA INTERIOR CORP              URB CAPARRA TERR          1612 CALLE 4 SW                                        SAN JUAN     PR      00921‐1449
ESCUDERO ACOSTA, JORGE              ADDRESS ON FILE
ESCUDERO BETANCOURT, WINETTE X      ADDRESS ON FILE
ESCUDERO CHABERT, JANET             ADDRESS ON FILE
ESCUDERO CHU, KARINA                ADDRESS ON FILE
ESCUDERO CINTRON, SONIA J.          ADDRESS ON FILE
ESCUDERO COBB, ALFONSO              ADDRESS ON FILE
ESCUDERO COBB, SONIA                ADDRESS ON FILE
ESCUDERO DIAZ, NAYDA                ADDRESS ON FILE
ESCUDERO FERNANDEZ, JOEL            ADDRESS ON FILE
ESCUDERO GINES, JOSE                ADDRESS ON FILE
ESCUDERO IRIZARRY, JOSE             ADDRESS ON FILE
ESCUDERO LOPEZ, CARMEN              ADDRESS ON FILE
ESCUDERO LOPEZ, CARMEN M            ADDRESS ON FILE




                                                                                Page 2621 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2622 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                             Address1                                  Address2                                     Address3   Address4   City            State   PostalCode   Country
ESCUDERO MALDONADO, AMID                  ADDRESS ON FILE
ESCUDERO MALDONADO, IDARIS                ADDRESS ON FILE
ESCUDERO MAYMI, RAUL                      ADDRESS ON FILE
ESCUDERO MORALES, ALBERTO R.              ADDRESS ON FILE
ESCUDERO MORALES, GLORIA                  ADDRESS ON FILE
ESCUDERO ORTIZ, JUDITH                    ADDRESS ON FILE
Escudero Ortiz, Raul                      ADDRESS ON FILE
ESCUDERO ORTIZ, ROSADEL                   ADDRESS ON FILE
ESCUDERO PEREZ, CESAR                     ADDRESS ON FILE
ESCUDERO PRATTS, GABRIEL                  ADDRESS ON FILE
ESCUDERO REYES, EVELJA M.                 ADDRESS ON FILE
ESCUDERO RIVERA MD, IRIS M                ADDRESS ON FILE
ESCUDERO RIVERA, DONALD                   ADDRESS ON FILE
ESCUDERO RIVERA, ESTHER                   ADDRESS ON FILE
ESCUDERO RIVERA, IRIS MARGARITA           ADDRESS ON FILE
ESCUDERO RIVERA, LUZ Y                    ADDRESS ON FILE
ESCUDERO RODRIGUEZ, CARLOS                ADDRESS ON FILE
ESCUDERO RODRIGUEZ, CARLOS                ADDRESS ON FILE
ESCUDERO RODRIGUEZ, LOLIMAR               ADDRESS ON FILE
ESCUDERO ROSADO, MARIA L.                 ADDRESS ON FILE
ESCUDERO SAEZ, JYBETTSSY M                ADDRESS ON FILE
ESCUDERO SANTIAGO, FELIX                  ADDRESS ON FILE
ESCUDERO SANTIAGO, RAYMOND                ADDRESS ON FILE
ESCUDERO SUAREZ, ANTONIO                  ADDRESS ON FILE
ESCUDERO SUAREZ, JUAN                     ADDRESS ON FILE
ESCUELA ALCIDES FIGUEROA                  ADDRESS ON FILE
ESCUELA AVANZADA DE ADM REC HUMANOS Y L 452 AVE PONCE DE LEON                                                                                          HATO REY        PR      00918
ESCUELA BONIFACIO SANCHEZ JIMENEZ         119 CALLE SAN JOSE                                                                                           AIBONITO        PR      00705
ESCUELA CATOLICA DE LA SALLE              P O BOX 61                                                                                                   ANASCO          PR      00610
ESCUELA COMUNIDAD LUIS MUNOZ IGLESIAS     ADDRESS ON FILE
ESCUELA DE ARTES PLASTICAS                PO BOX 9021112                                                                                               SAN JUAN        PR      00902‐1112
ESCUELA DE ARTES PLASTICAS DE PUERTO RICO PO BOX 9021112                                                                                               SAN JUAN        PR      00902‐1112
ESCUELA DE BALONCESTO ORO BASKET INC      PO BOX 1979                                                                                                  OROCOVIS        PR      00720
ESCUELA DE DERECHO PONTIFICIA UNIV.       2250 AVE. LAS AMÉRICAS                    SUITE 543                                                          PONCE           PR      00717‐9997
ESCUELA DE DERECHO UPR                    DERECHO ‐APDO. POSTAL 23349 EST. UNIVERSIDAD                                                                 RIO PIEDRAS     PR      00931
ESCUELA DE FUTBOL TAURINOS DE CAYEY       PO BOX 10000 SUITE 233                                                                                       CAYEY           PR      00737
ESCUELA DE LA COM LUIS MUNIZ SOUFFRONT PO BOX 10517                                                                                                    SAN JUAN        PR      00921
ESCUELA DE LA COMUN ELEM DANIEL WEBSTER APARTADO 549                                                                                                   PENUELAS        PR      00624
ESCUELA DE LA COMUNIDAD ANGEL RAMOS       URB COUNTRY CLUB                          1 CALLE SINSONTE                                                   SAN JUAN        PR      00924
ESCUELA DE LA COMUNIDAD ANTONIO RIVERA PO BOX 80110                                                                                                    COROZAL         PR      00783
ESCUELA DE LA COMUNIDAD EL SENORIAL       URB EL SENORIAL                           CALLE PIO VAROJAS ESQ FEIJO                                        SAN JUAN        PR      00926
ESCUELA DE MEDICINA DENTAL UNIVERSIDAD DEPO BOX 365067                                                                                                 SAN JUAN        PR      00936
ESCUELA DE MEDICINA SAN JUAN BAUTISTA     AREA DE TESORO                            DIVISION DE CONCILIACION                                           SAN JUAN        PR      00902‐4140
ESCUELA DE MEDICINA SAN JUAN BAUTISTA     PO BOX 4968                                                                                                  CAGUAS          PR      00726‐4964
ESCUELA DE OPTOMETRIA                     UNIVERSIDAD INTERAMERICANA                500 AVE JOHN WILL HARRY                                            BAYAMON         PR      00956‐3255
ESCUELA DE TROQUELERIA Y HERRAMENTAJE     150 CARR #174                             URB INDUSTRIAL MINILAS                                             BAYAMON         PR      00959
ESCUELA DR RAMON E BETANCES               URB LA PROVIEDENCIA                       2229 CALLE SUCRE                                                   PONCE           PR      00728
ESCUELA ELEMENTAL DE VILLA CAPRI          URB VILLA CAPRI                           1139 CALLE TOSCANIA                                                SAN JUAN        PR      00924
ESCUELA ESPECIAL NILMAR                   PO BOX 4878                                                                                                  SAN JUAN        PR      00905
ESCUELA ESPECIALIZADA AGROECOLOGICA       LAURA MERCADO                             PO BOX 588                                                         SAN GERMAN      PR      00636
ESCUELA EUGENIO MARIA DE HOSTOS           ADDRESS ON FILE
ESCUELA EUGENIO MARIA DE HOSTOS           RR 2 BOX 20 A                                                                                                SAN JUAN        PR      00926‐9701
ESCUELA FEDERICO FUTBOL INC               PO BOX 250641                                                                                                AGUADILLA       PR      00604
ESCUELA FRANCISCO ROQUE MUNOZ             PO BOX 790                                                                                                   NARANJITO       PR      00719
Escuela Hotelera de San Juan              229 Calle Guayama San Juan                                                                                   San Juan        PR      00917
Escuela Hotelera de San Juan              CALLE GUAYAMA #229                                                                                           SAN JUAN        PR      00917
ESCUELA HOTELERA DE SAN JUAN              HATO REY                                  229 CALLE GUAYAMA                                                  SAN JUAN        PR      00917
ESCUELA HOTELERA DE SAN JUAN INC          229 CALLE GUAYAMA                                                                                            SAN JUAN        PR      00917
ESCUELA INT JUAN RAMON JIMENEZ            PO BOX 29856                                                                                                 SAN JUAN        PR      00929‐0556
ESCUELA ISABEL SUAREZ                     PO BOX 1874                                                                                                  ANASCO          PR      00610




                                                                                                                  Page 2622 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2623 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                Address2                                     Address3       Address4   City               State   PostalCode   Country
ESCUELA JOSE SEVERO QUINONES             URB JOSE SEVERO QUINONES                CALLE ULISES ORTIZ Y JOSE DE DIEGO                                     CAROLINA           PR      00985
ESCUELA JUAN I VEGA                      PO BOX 9100                                                                                                    SAN JUAN           PR      00908‐0163
ESCUELA JUAN PONCE DE LEON               PO BOX 9252                                                                                                    HUMACAO            PR      00792
ESCUELA JULIO MILLAN CEPEDA              COMUNIDAD LA DOLORES                    CALLE CHILE                                                            RIO GRANDE         PR      00745
ESCUELA JULIO MILLAN CEPEDA              P O BOX 43002                           SUITE 389                                                              RIO GRANDE         PR      00745
ESCUELA LOS CANOS                        651 BO TANAMA                           CARR 10 RAMAL INT                                                      ARECIBO            PR      00612
ESCUELA LOS CANOS                        BO SAN FRANCISCO                        3 CALLE MARTE                                                          ARECIBO            PR      00613
ESCUELA LUIS MUNOZ MARIN                 BO PINAS SECTOR LA MORA                 BOX 1123                                                               COMERIO            PR      00782
ESCUELA LUIS MUNOZ MARIN                 PO BOX 868                                                                                                     CABO ROJO          PR      00623
ESCUELA LUIS MUNOZ RIVERA                124 CALLE DR CUETO                                                                                             UTUADO             PR      00641
ESCUELA LUIS MUNOZ RIVERA                PO BOX 371                                                                                                     SABANA GRANDE      PR      00637
ESCUELA LUIS MUNOZ RIVERA II             G 6 VILLA ESPERANZA                                                                                            PONCE              PR      00731
ESCUELA MARIA MONTANEZ GOMEZ             PO BOX 5475                                                                                                    CAGUAS             PR      00726‐5475
ESCUELA MERCEDES MORALES                 AVE. ESMERALDA 53                       PMB 195                                                                GUAYNABO           PR      00969‐4429
ESCUELA NACIONAL DE COOPERATIVISMO       PMS 171                                 PO BOX 191007                                                          SAN JUAN           PR      00919
ESCUELA NACIONAL DE COOPERATIVISMO       RMS 171 B                               PO BOX 194000                                                          SAN JUAN           PR      00919‐4000
ESCUELA NINOS UNIENDO AL MUNDO INC       PO BOX 871                                                                                                     CAGUAS             PR      00726‐0871
ESCUELA SAN AGUSTIN                      URB SAN AGUSTIN                         CALLE 6                                                                SAN JUAN           PR      00929
ESCUELA SANTO DOMINGO SAVIO              P O BOX 14125                                                                                                  SAN JUAN           PR      00916
ESCUELA SEBASTIAN PABON ALVES            PARC COROZO                             CARR 301 KM 9                                                          CABO ROJO          PR      00623
ESCUELA SEGUNDARIA DE COM AMALIA MARIN URB PARADISE HILLS                        1648 CALLE PENASCO                                                     SAN JUAN           PR      00926
ESCUELA SUPERIOR VOCACIONAL DE CIDRA     CARR 171 KM 0 7 BO SUD                                                                                         CIDRA              PR      00739
ESCUELA TECNICA DE ELECTRICIDAD INC      RECINTO SAN JUAN                        65 INT STATION                               PO BOX 29743              SAN JUAN           PR      00929
Escuela Técnica de Electrididad          Calle Villa #190                                                                                               Ponce              PR      00730
ESCUELA TRINA PADILLA DE SANZ            950 AVE JESUS T PINERO                                                                                         SAN JUAN           PR      00921
ESCUELA VOCACIONAL AGRICOLA SOLLER       P O BOX 840                                                                                                    CAMUY              PR      00627
ESCUELA Y COMUNIDAD OPTIMA Y             ESCUELA COMUNIDAD OPTIMA Y SUSTENTABLE DPO BOX 837                                                             MARICAO            PR      00606
ESCUELA Y COMUNIDAD OPTIMA Y             SUSTENTABLE DEL PUEBLO, INC.            PO BOX 1117                                                            LARES              PR      00669
ESCULTURAS TORRUELLAS                    COND. TENERIFE APT 1201                 1507 AVE ASHFORD                                                       SAN JUAN           PR      00911
ESCUTE CEBALLOS, YARISIS                 ADDRESS ON FILE
ESCUTE DAVILA, AUREA                     ADDRESS ON FILE
ESCUTE LEVEST, MARIA DE L.               ADDRESS ON FILE
ESCUTE QUINONES, HAYDEE                  ADDRESS ON FILE
ESCUTE QUINONES, JOSE M                  ADDRESS ON FILE
ESCUTER LUQUIS, ENRIQUE                  ADDRESS ON FILE
ESDRAS M ORTIZ CRUZ                      BO PLAYA                                93 CALLE CALAMAR                                                       PONCE              PR      00717
ESDRAS SANTIAGO MERCED                   ADDRESS ON FILE
ESDRAS VELEZ                             ADDRESS ON FILE
eSecuritel Holdings, LLC                 2325 Lakeview Parkway                   Suite 700                                                              Alpharetta         GA      30009
eSecuritel Holdings, LLC                 2325 Lakeview Pkwy                                                                                             Alpharetta         GA      30009
ESEIN HOLDINGS LCC                       PO BOX 1350                                                                                                    TRUJILLO ALTO      PR      00977‐1350
ESEMSE INC                               PO BOX 1731                                                                                                    CABO ROJO          PR      00623
ESENCIAS                                 19 CALLE FLOR GERENA STE B                                                                                     HUMACAO            PR      00791
ESG CONSULTING UC/ESSENTIAL SERV FOR     GOVERMENT LLC                                                                                                  SAN JUAN           PR      00907
ESI ACQUISITION INC                      823 BROAD STREET                                                                                               AUGUSTA            GA      30901
ESI ACQUISITION, INC / DBA INTERMEDIX    6451 N. FEDERAL HWY                     SUITE 1000                                                             FT. LAUDERDALE     FL      33308
ESJ RESORT LLC‐EL SAN JUAN HOTEL         6063 AVENIDA ISLA VERDE                                                                                        CAROLINA           PR      00979
ESJ TOWERS INC                           6165 AVE ISLA VERDE SUITE 2200                                                                                 CAROLINA           PR      00979‐5729
ESLI                                     2000, CARR. 8177, SUITE 26PMB #500                                                                             GUAYNABO           PR      00966
ESMELIDA GONZALEZ CRUZ                   ADDRESS ON FILE
ESMERALDA ARROYO CRESPO                  ADDRESS ON FILE
ESMERALDA BATISTA PEREZ                  ADDRESS ON FILE
ESMERALDA CORREA QUILES                  ADDRESS ON FILE
ESMERALDA COTTO SANCHEZ                  ADDRESS ON FILE
ESMERALDA DE JESUS CRUZ                  ADDRESS ON FILE
ESMERALDA EXPRESS DRY CLEANING           URB. P. LEON #13, AVE. ESMERALDA                                                                               GUAYNABO           PR      00969
ESMERALDA EXPRESS DRY CLEANING SASTRERIA URB PONCE DE LEON                       13 AVE ESMERALDA                                                       GUAYNABO           PR      00969
ESMERALDA MIRANDA LAMA                   ADDRESS ON FILE
ESMERALDA PEREZ ARROYO                   ADDRESS ON FILE
ESMERALDA PEREZ/ RAYMOND HERNANDEZ       ADDRESS ON FILE




                                                                                                               Page 2623 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2624 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                            Address1                             Address2                                Address3   Address4   City          State   PostalCode   Country
ESMERALDA QUINONES ROMAN                 ADDRESS ON FILE
ESMERALDA RIOS ACEVEDO                   ADDRESS ON FILE
ESMERALDA RODRIGUEZ GONZALEZ             ADDRESS ON FILE
ESMERALDA ROSADO ROSARIO                 ADDRESS ON FILE
ESMERALDA ROSARIO GARCIA                 ADDRESS ON FILE
ESMERALDA SEDA SEPULVEDA                 ADDRESS ON FILE
ESMERALDA VAZQUEZ ACEVEDO                ADDRESS ON FILE
ESMERALDO BAUZO PINTO                    ADDRESS ON FILE
ESMERALDO NIEVES TORRES                  ADDRESS ON FILE
ESMIRNA NEGRO IRLANDA                    ADDRESS ON FILE
Esmirna Puerta al Paraiso Eterno Corp.   2653 CARR. 459 K 8.1 SAN ANTONIO                                                                   AGUADILLA     PR      00690‐0000
ESMIRNAPUERT AL PARAISO ETERNO CORP      BZN.2653 CARR.459 K8.1 SAN ANTONIO                                                                 AGUADILLA     PR      00690
ESMO CORP                                PO BOX 25297                                                                                       SAN JUAN      PR      00928
ESMO CORP                                URB SAN IGNACIO                      1702 CALLE SAN ESTEBAN                                        SAN JUAN      PR      00927
ESMURIA BURGOS, MARGARITA                ADDRESS ON FILE
ESMURRIA GONZALEZ, ANTONIO               ADDRESS ON FILE
ESMURRIA GONZALEZ, LUIS ANGEL            ADDRESS ON FILE
ESMURRIA HERNANDEZ, EDWIN                ADDRESS ON FILE
ESMURRIA HERNANDEZ, EFRAIN               ADDRESS ON FILE
ESMURRIA HERNANDEZ, LUIS O.              ADDRESS ON FILE
ESMURRIA PLUGUEZ, JUAN                   ADDRESS ON FILE
ESMURRIA RIVERA, JORGE J                 ADDRESS ON FILE
ESMURRIA RIVERA, SANDRA                  ADDRESS ON FILE
Esmurria Santiago, Anibal                ADDRESS ON FILE
ESMURRIA SANTIAGO, EDWIN                 ADDRESS ON FILE
ESMURRIA SANTIAGO, EFRAIN                ADDRESS ON FILE
ESMURRIA SANTIAGO, ROSA                  ADDRESS ON FILE
Esmurria Torres, Jose M                  ADDRESS ON FILE
Esmurria Torres, Noel                    ADDRESS ON FILE
ESMURRIA TORRES, NOEL                    ADDRESS ON FILE
ESMURRIA VAZQUEZ, DAISY J.               ADDRESS ON FILE
Esmurrias De Jesus, Edgardo              ADDRESS ON FILE
ESMURRIAS HERNANDEZ, IRAIDA              ADDRESS ON FILE
Esmurrias Rivera, Luis E.                ADDRESS ON FILE
ESNARD DE ALVAREZ, ELENA                 ADDRESS ON FILE
ESOLUTIONS INC                           MANS DE CALDAS                       6 CALLE SAN CARLOS                                            SAN JUAN      PR      00926‐5330
ESOTERIX INC                             22 BLOOMINGDALE DRIVE                                                                              SCARSDALE     NY      10583
ESOV S VELAZQUEZ SUAREZ                  ADDRESS ON FILE
ESOV SIUL VELAZQUEZ SUAREZ               ADDRESS ON FILE
ESPACIO TAFT INC                         104 CALLE TAFT                                                                                     SAN JUAN      PR      00911‐2016
ESPADA ALEJANDRO, DAVID                  ADDRESS ON FILE
ESPADA ALICEA, ANTONIO                   ADDRESS ON FILE
ESPADA ALICEA, NESTOR                    ADDRESS ON FILE
ESPADA APONTE,YANIRA I.                  ADDRESS ON FILE
ESPADA ARROYO, ADALBERTO                 ADDRESS ON FILE
ESPADA BARRIOS, CARLOS J                 ADDRESS ON FILE
ESPADA BARRIOS, RAFAEL                   ADDRESS ON FILE
ESPADA BERMUDEZ, NILDA V                 ADDRESS ON FILE
ESPADA BERNARDI, ANA M                   ADDRESS ON FILE
ESPADA BERNARDI, JORGE L.                ADDRESS ON FILE
ESPADA BERNARDI, PORFIRIO                ADDRESS ON FILE
ESPADA BERRIOS, LUIS M.                  ADDRESS ON FILE
ESPADA BERRIOS, LUIS R.                  ADDRESS ON FILE
ESPADA BERRIOS, MARIA J                  ADDRESS ON FILE
ESPADA CARO, CARMEN D                    ADDRESS ON FILE
ESPADA CARTAGENA, LUIS                   ADDRESS ON FILE
ESPADA CASTILLO, MAGALY I                ADDRESS ON FILE
ESPADA CASTILLO, MARIANO                 ADDRESS ON FILE
ESPADA COLON, CARLOS                     ADDRESS ON FILE
ESPADA COLON, CARMEN D                   ADDRESS ON FILE




                                                                                                       Page 2624 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2625 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESPADA COLON, EDMARIE        ADDRESS ON FILE
ESPADA COLON, ELIMARIE       ADDRESS ON FILE
ESPADA COLON, ELIMARIE       ADDRESS ON FILE
ESPADA COLON, JOHANNA        ADDRESS ON FILE
ESPADA COLON, JORGE          ADDRESS ON FILE
ESPADA COLON, JOSEFINA       ADDRESS ON FILE
ESPADA COLON, LUZ E          ADDRESS ON FILE
ESPADA COLON, MAYRA L        ADDRESS ON FILE
ESPADA COLON, MERVIN         ADDRESS ON FILE
ESPADA COLON, NEFTALI        ADDRESS ON FILE
ESPADA COLON, OSVALDO        ADDRESS ON FILE
ESPADA COLON, SAM            ADDRESS ON FILE
ESPADA COLON, SAMUEL         ADDRESS ON FILE
ESPADA COLON, SONIA M        ADDRESS ON FILE
ESPADA CRUZ, CARLOS          ADDRESS ON FILE
ESPADA CRUZ, CARLOS T        ADDRESS ON FILE
Espada Cruz, Ernesto         ADDRESS ON FILE
ESPADA CRUZ, JOSE LUIS       ADDRESS ON FILE
ESPADA CUBANO, VILMA         ADDRESS ON FILE
ESPADA DAVID, EVELYN M.      ADDRESS ON FILE
ESPADA DAVILA, ANGEL M       ADDRESS ON FILE
ESPADA DAVILA, ENID          ADDRESS ON FILE
ESPADA DAVILA, SONIA I       ADDRESS ON FILE
ESPADA DE JESUS, HIRAM       ADDRESS ON FILE
ESPADA DE JESUS, HIRAM O.    ADDRESS ON FILE
Espada De Jesus, Isai        ADDRESS ON FILE
ESPADA DE LA CRUZ, LOURDES   ADDRESS ON FILE
Espada Diaz, Miguel A        ADDRESS ON FILE
Espada Dominicci, Hugo R     ADDRESS ON FILE
ESPADA ESPADA, CATHERINE     ADDRESS ON FILE
ESPADA ESPADA, LORRAINE      ADDRESS ON FILE
ESPADA FEBO, REBECCA         ADDRESS ON FILE
ESPADA FEBO, REBECCA         ADDRESS ON FILE
ESPADA FRANCO, GLORIA M      ADDRESS ON FILE
ESPADA GARCIA, FREDDIE       ADDRESS ON FILE
ESPADA GARCIA, GRISEL        ADDRESS ON FILE
ESPADA GARCIA, LINDA         ADDRESS ON FILE
ESPADA GARCIA, PASTORA       ADDRESS ON FILE
ESPADA GOITIA, ILIA E.       ADDRESS ON FILE
ESPADA GONZALEZ, AURORA      ADDRESS ON FILE
ESPADA GONZALEZ, DINAH R     ADDRESS ON FILE
ESPADA GONZALEZ, ELISAMUEL   ADDRESS ON FILE
ESPADA GONZALEZ, HERENIA     ADDRESS ON FILE
ESPADA GONZALEZ, JOSE A      ADDRESS ON FILE
ESPADA GONZALEZ, JOSE E      ADDRESS ON FILE
ESPADA GONZALEZ, JOSE M      ADDRESS ON FILE
ESPADA GONZALEZ, MARIA M     ADDRESS ON FILE
ESPADA GONZALEZ, SANDRA      ADDRESS ON FILE
ESPADA GONZALEZ, YAMAIRA     ADDRESS ON FILE
ESPADA GUILBE, FRANCES E.    ADDRESS ON FILE
ESPADA HEREDIA, XAVIER       ADDRESS ON FILE
ESPADA HERNANDEZ, PETRA      ADDRESS ON FILE
ESPADA IRIZARRY, ELBA I      ADDRESS ON FILE
ESPADA IRIZARRY, JUDITH      ADDRESS ON FILE
ESPADA LASANTA, FERNANDO     ADDRESS ON FILE
ESPADA LEBRON, JANET         ADDRESS ON FILE
ESPADA LEBRON, NIDIA         ADDRESS ON FILE
ESPADA LEON, HILDA J         ADDRESS ON FILE
ESPADA LOPEZ, GICELLIS       ADDRESS ON FILE
ESPADA LOPEZ, JASMIN S       ADDRESS ON FILE




                                                                         Page 2625 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2626 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESPADA LOPEZ, SAMIR            ADDRESS ON FILE
ESPADA LUNA, FELIX             ADDRESS ON FILE
ESPADA LUNA, ROSALINA          ADDRESS ON FILE
ESPADA LUPIANEZ, MARISEL       ADDRESS ON FILE
ESPADA MALDONADO, JAIME A      ADDRESS ON FILE
Espada Marrero, Alex           ADDRESS ON FILE
ESPADA MARTINEZ, ANA R         ADDRESS ON FILE
ESPADA MARTINEZ, ARNALDO       ADDRESS ON FILE
ESPADA MARTINEZ, CARMIN        ADDRESS ON FILE
ESPADA MARTINEZ, CHRISTIAN J   ADDRESS ON FILE
ESPADA MARTINEZ, DEBORA        ADDRESS ON FILE
Espada Martinez, Eric N.       ADDRESS ON FILE
ESPADA MARTINEZ, FERNANDO      ADDRESS ON FILE
ESPADA MARTINEZ, ILEANA V.     ADDRESS ON FILE
ESPADA MARTINEZ, ILIA A        ADDRESS ON FILE
ESPADA MARTINEZ, JANNETTE      ADDRESS ON FILE
ESPADA MARTINEZ, JANNETTE      ADDRESS ON FILE
ESPADA MARTINEZ, MIGUEL        ADDRESS ON FILE
Espada Martinez, Miguel A.     ADDRESS ON FILE
ESPADA MARTINEZ, VANESSA       ADDRESS ON FILE
Espada Mateo, Carlos E         ADDRESS ON FILE
Espada Mateo, Carlos M.        ADDRESS ON FILE
ESPADA MATEO, EVELYN           ADDRESS ON FILE
ESPADA MATEO, FLORA            ADDRESS ON FILE
ESPADA MATEO, MARIA DEL C.     ADDRESS ON FILE
ESPADA MATEO, MARISOL          ADDRESS ON FILE
ESPADA MATEO, PEDRO L          ADDRESS ON FILE
ESPADA MATEO, SAIRA            ADDRESS ON FILE
ESPADA MATEO,MARIA D.          ADDRESS ON FILE
Espada Matos, Benny I          ADDRESS ON FILE
ESPADA MATOS, LUIS I.          ADDRESS ON FILE
ESPADA MATOS, ROSA M           ADDRESS ON FILE
ESPADA MATTEI, ENID            ADDRESS ON FILE
ESPADA MELENDEZ, CARMEN M.     ADDRESS ON FILE
ESPADA MENDEZ, ALEJANDRO       ADDRESS ON FILE
ESPADA MENDEZ, MARITZA         ADDRESS ON FILE
ESPADA MENDEZ, MARITZA         ADDRESS ON FILE
ESPADA MIRANDA, CARLOS         ADDRESS ON FILE
ESPADA MOLINA, ANGEL L         ADDRESS ON FILE
ESPADA MORALES, ANGEL          ADDRESS ON FILE
ESPADA MORALES, ANGEL G        ADDRESS ON FILE
ESPADA NEGRON, NELL M          ADDRESS ON FILE
ESPADA ORTA, LUIS              ADDRESS ON FILE
ESPADA ORTIZ, ALEX             ADDRESS ON FILE
ESPADA ORTIZ, FELIX L.         ADDRESS ON FILE
ESPADA ORTIZ, IVETTE           ADDRESS ON FILE
ESPADA ORTIZ, JOSE R           ADDRESS ON FILE
ESPADA ORTIZ, LUZ N            ADDRESS ON FILE
ESPADA ORTIZ, MARTA M.         ADDRESS ON FILE
ESPADA ORTIZ, NITZA M          ADDRESS ON FILE
ESPADA ORTIZ, SANTA            ADDRESS ON FILE
ESPADA ORTIZ, SONIA I          ADDRESS ON FILE
ESPADA ORTIZ, YARIZ            ADDRESS ON FILE
ESPADA PAGAN, DAISY            ADDRESS ON FILE
ESPADA PEREZ, JOSE             ADDRESS ON FILE
ESPADA PEREZ, LETICIA          ADDRESS ON FILE
Espada Perez, Sheila I         ADDRESS ON FILE
ESPADA PEREZ, WANDA I          ADDRESS ON FILE
ESPADA RAMOS, MILITZA          ADDRESS ON FILE
ESPADA REYES, JUAN C           ADDRESS ON FILE




                                                                           Page 2626 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2627 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                          Address1                              Address2                          Address3   Address4   City         State   PostalCode   Country
ESPADA REYES, MARIA DE                 ADDRESS ON FILE
ESPADA REYES, OMAYRA                   ADDRESS ON FILE
ESPADA RIOS, NANCY                     ADDRESS ON FILE
Espada Rios, Nancy I                   ADDRESS ON FILE
ESPADA RIOS, WILLIAM                   ADDRESS ON FILE
ESPADA RIVERA, AIDA L                  ADDRESS ON FILE
ESPADA RIVERA, CARLOS                  ADDRESS ON FILE
ESPADA RIVERA, CARLOS                  ADDRESS ON FILE
Espada Rivera, Carlos A                ADDRESS ON FILE
ESPADA RIVERA, FRANCES                 ADDRESS ON FILE
ESPADA RIVERA, ISRAEL                  ADDRESS ON FILE
ESPADA RIVERA, JOEL                    ADDRESS ON FILE
Espada Rivera, Jose G.                 ADDRESS ON FILE
ESPADA RIVERA, JUANITA                 ADDRESS ON FILE
ESPADA RIVERA, LIZANDRA                ADDRESS ON FILE
ESPADA RIVERA, LUIS                    ADDRESS ON FILE
ESPADA RIVERA, LUIS                    ADDRESS ON FILE
ESPADA RIVERA, PERLA                   ADDRESS ON FILE
ESPADA RIVERA, SYLVIA E                ADDRESS ON FILE
ESPADA RODRIGUEZ, ALEXAIDA             ADDRESS ON FILE
Espada Rodriguez, Juan                 ADDRESS ON FILE
ESPADA RODRÍGUEZ, NIKOLE               LCDA. MICHELLE SILVESTRIZ ALEJANDRO   PO BOX 13282                                            SAN JUAN     PR      00908
ESPADA RODRIGUEZ, SANTA                ADDRESS ON FILE
ESPADA RODRIGUEZ, ZULMA I              ADDRESS ON FILE
ESPADA ROLON, JOSE M                   ADDRESS ON FILE
ESPADA ROMAN, ASHLEY                   ADDRESS ON FILE
ESPADA ROMAN, RICARDO                  ADDRESS ON FILE
ESPADA ROSA, JOSE                      ADDRESS ON FILE
Espada Rosa, Jose L.                   ADDRESS ON FILE
ESPADA ROSADO, HILDA R.                ADDRESS ON FILE
ESPADA ROSADO, YESMARIE                ADDRESS ON FILE
ESPADA ROSADO, ZORAIDA                 ADDRESS ON FILE
Espada Sanchez, Hector                 ADDRESS ON FILE
ESPADA SANCHEZ, ORVIL                  ADDRESS ON FILE
ESPADA SANCHEZ, WILMER                 ADDRESS ON FILE
ESPADA SANDOVAL, LUIS R                ADDRESS ON FILE
ESPADA SANTANA MD, JAVIER              ADDRESS ON FILE
ESPADA SANTIAGO, CARMEN                ADDRESS ON FILE
Espada Santiago, Julio D               ADDRESS ON FILE
Espada Santiago, Luis O                ADDRESS ON FILE
ESPADA SANTIAGO, LUZ A                 ADDRESS ON FILE
ESPADA SANTIAGO, MARITZA               ADDRESS ON FILE
ESPADA SANTOS, ALEXANDER               ADDRESS ON FILE
ESPADA SANTOS, MARGARITA               ADDRESS ON FILE
ESPADA SOTO, ANAD.                     ADDRESS ON FILE
ESPADA SOTO, AWILDA                    ADDRESS ON FILE
ESPADA SOTO, EDUARDO                   ADDRESS ON FILE
ESPADA SOTO, MILITZA                   ADDRESS ON FILE
ESPADA TORRES, ELVIN                   ADDRESS ON FILE
ESPADA TORRES, LUIS                    ADDRESS ON FILE
ESPADA TORRES, PEDRO                   ADDRESS ON FILE
ESPADA TORRES, ROSAURA M               ADDRESS ON FILE
ESPADA VAZQUEZ, MARIA DE LOS ANGELES   ADDRESS ON FILE
ESPADA VAZQUEZ, MIGDALIA               ADDRESS ON FILE
ESPADA VAZQUEZ, SONIA                  ADDRESS ON FILE
ESPADA VEGA, SAMUEL                    ADDRESS ON FILE
ESPADA VEGA, SAMUEL                    ADDRESS ON FILE
ESPADA VEGA, SAUL                      ADDRESS ON FILE
Espada Vives, Ray J                    ADDRESS ON FILE
ESPADA Y ASSOCIADOS INC                URB PARQUE DE BUCARE II               B 20 CALLE TUREY                                        GUAYNABO     PR      00969




                                                                                                Page 2627 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2628 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESPADA, ANGEL G.               ADDRESS ON FILE
ESPADA, EDGAR                  ADDRESS ON FILE
ESPADA, LYDIA M.               ADDRESS ON FILE
Espada‐Martínez, Olga          ADDRESS ON FILE
ESPAILLAT CENTENO, ALEXIS      ADDRESS ON FILE
ESPAILLAT CENTENO, ALEXIS      ADDRESS ON FILE
ESPAILLAT CENTENO, GERARDO     ADDRESS ON FILE
ESPAILLAT COLON, CELENIA V     ADDRESS ON FILE
ESPAILLAT FELICIANO, LUZ       ADDRESS ON FILE
ESPAILLAT FELICIANO, LUZ E     ADDRESS ON FILE
ESPAILLAT HERNANDEZ, LUISA     ADDRESS ON FILE
ESPAILLAT PENA, CESAR          ADDRESS ON FILE
ESPAILLAT PEREZ, ROBERTO       ADDRESS ON FILE
ESPANOL ARTEAGA, VERONICA      ADDRESS ON FILE
ESPANOL ENCARNACION, RAFAEL    ADDRESS ON FILE
ESPANOL ENCARNACION, RAFAEL    ADDRESS ON FILE
ESPANOL REYES, GRIMARI         ADDRESS ON FILE
ESPANOL RODRIGUEZ, MAGALY J    ADDRESS ON FILE
ESPARA RIVERA & ASSOC          COND CECILIA CALLE ROSA   SUITE 509                                              CAROLINA     PR      00979
ESPAROLINI MIRANDA, LUZ M      ADDRESS ON FILE
ESPAROLINI PAGAN, ROBERT       ADDRESS ON FILE
ESPARRA ALBELO, JORGE          ADDRESS ON FILE
ESPARRA ALVARADO, CARLOS       ADDRESS ON FILE
ESPARRA ALVAREZ, JOSEPH        ADDRESS ON FILE
ESPARRA ALVAREZ, JOSEPH E.     ADDRESS ON FILE
ESPARRA BARRIOS, KAIDALIE      ADDRESS ON FILE
ESPARRA BERRIOS, LISETTE       ADDRESS ON FILE
ESPARRA CANSOBRE, CARMEN E     ADDRESS ON FILE
ESPARRA CARTAGENA, JULIO       ADDRESS ON FILE
Esparra Cartagena, Orlando     ADDRESS ON FILE
ESPARRA COLLAZO, CARMEN        ADDRESS ON FILE
ESPARRA COLLAZO, FERNANDO      ADDRESS ON FILE
ESPARRA COLLAZO, LOURDES       ADDRESS ON FILE
ESPARRA COLLAZO, MIGUEL        ADDRESS ON FILE
ESPARRA COLON, ANGEL           ADDRESS ON FILE
ESPARRA COLON, DAMARIS         ADDRESS ON FILE
ESPARRA COLON, JOSE FELIX      ADDRESS ON FILE
ESPARRA COLON, LEMUEL          ADDRESS ON FILE
ESPARRA COLON, ORLANDO         ADDRESS ON FILE
ESPARRA CRUZ, ANGEL            ADDRESS ON FILE
Esparra David, Ana L           ADDRESS ON FILE
ESPARRA MALAVE, FRANCISCO J    ADDRESS ON FILE
ESPARRA MALAVE, MARTA E        ADDRESS ON FILE
ESPARRA MARTINEZ, DANNY        ADDRESS ON FILE
ESPARRA MARTINEZ, IVAN         ADDRESS ON FILE
ESPARRA MARTINEZ, MANUEL       ADDRESS ON FILE
ESPARRA MATOS, IDA H           ADDRESS ON FILE
ESPARRA MATOS, IRAIDA          ADDRESS ON FILE
ESPARRA MENDOZA, JOSE A        ADDRESS ON FILE
ESPARRA MERCADO, LEMUEL        ADDRESS ON FILE
ESPARRA MORALES, GINGER        ADDRESS ON FILE
ESPARRA NIEVES, AMERICA        ADDRESS ON FILE
ESPARRA NUNEZ, MILLIEANNETTE   ADDRESS ON FILE
ESPARRA ORTIZ, ALBERTO         ADDRESS ON FILE
ESPARRA ORTIZ, JOSE            ADDRESS ON FILE
ESPARRA ORTIZ, MARIA           ADDRESS ON FILE
ESPARRA ORTIZ, MIGDALIA        ADDRESS ON FILE
ESPARRA PEREZ, MAGDALENA       ADDRESS ON FILE
ESPARRA RAMOS, CLAUDETTE       ADDRESS ON FILE
ESPARRA RIVERA, DOMINGO        ADDRESS ON FILE




                                                                           Page 2628 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2629 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                       Address1                            Address2                            Address3   Address4   City             State   PostalCode   Country
ESPARRA RIVERA, RAFAEL              ADDRESS ON FILE
ESPARRA ROSARIO, JAVIER             ADDRESS ON FILE
ESPARRA ROSELLO, JOSE               ADDRESS ON FILE
ESPARRA ROSELLO, LYDIA M            ADDRESS ON FILE
ESPARRA SAEZ, BENITO                ADDRESS ON FILE
ESPARRA SANTOS, CARLOS              ADDRESS ON FILE
ESPARRA TORRES, WALESKA             ADDRESS ON FILE
ESPARRA VAZQUEZ, MINERVA            ADDRESS ON FILE
ESPARRA VEGA, STEPHANTE L.          ADDRESS ON FILE
ESPARRA VEGA, ZILMARIE              ADDRESS ON FILE
ESPARRA, ALICIA                     ADDRESS ON FILE
ESPARZA RAZO MD, BOGART R           ADDRESS ON FILE
ESPARZA RAZO, BOGART R.             ADDRESS ON FILE
ESPASAS ALEMANY, JOANNA             ADDRESS ON FILE
ESPASAS GARCIA, RAFAEL M            ADDRESS ON FILE
ESPASAS PEREZ, CARLOS               ADDRESS ON FILE
ESPEJEL RIVERA, MIGUEL              ADDRESS ON FILE
ESPENDEZ CARRASQUILLO, EDUARDO R.   ADDRESS ON FILE
ESPENDEZ MARTINEZ, LEXIER           ADDRESS ON FILE
ESPENDEZ MONTE, PRISCILLA           ADDRESS ON FILE
ESPENDEZ SANTISTEBAN, CYNTHIA G.    ADDRESS ON FILE
ESPENDEZ, DAPHNE                    ADDRESS ON FILE
ESPER MD , WILLIAM A                ADDRESS ON FILE
ESPERANZA A DE JESUS HERNANDEZ      COND BAHIA A APT 1201                                                                         SAN JUAN         PR      00907
ESPERANZA AM OR VIDA ADUL INST.     RR‐4 BOX 530 BO CERRO GORDO                                                                   BAYAMON          PR      00956
ESPERANZA AMOR VIDA ADULTO          R.R. 4 BOX 530                      BO. CERRO GORDO                                           BAYAMON          PR      00956
ESPERANZA AMOR Y VIDA ADULOS INC.   BAYAMON PR                                                                                    BAYAMON          PR      00956
ESPERANZA AMOR Y VIDA INST.         RR‐4 2890                                                                                     BAYAMON          PR      00956
ESPERANZA BELTRAN, MARITZA          ADDRESS ON FILE
ESPERANZA BERMUDEZ LUNA             ADDRESS ON FILE
ESPERANZA CEPEDA ONORO              ADDRESS ON FILE
ESPERANZA CORTES MORALES            ADDRESS ON FILE
ESPERANZA CUEVAS CASTILLO           ADDRESS ON FILE
ESPERANZA DE AMOR, INC              CARR.978 KM.1.4 PARCELA 238         BARRIO CHUPACALLOS                                        CEIBA            PR      00735
ESPERANZA DE UN NUEVO AMOR, INC.    PMB 14 BOX 70011                                                                              FAJARDO          PR      00738
ESPERANZA EN EL MANANA INC          PO BOX 2959                                                                                   JUNCOS           PR      00777
ESPERANZA ENCARNACION MARTE         ADDRESS ON FILE
ESPERANZA FELICIANO APOLINARIS      ADDRESS ON FILE
ESPERANZA GONZALEZ LOPEZ            ADDRESS ON FILE
ESPERANZA HEALTH CENTER             2940 N 5TH ST                                                                                 PHILADELPHIA     PA      19133
ESPERANZA HEALTH CENTER INC         1331 E WYOMING AVE                                                                            PHILADELPHIA     PA      19124
ESPERANZA HEALTLH CENTER            4417 NORTH 6TH STREET                                                                         PHILADELPHIA     PA      19140
ESPERANZA LINARES MELITON           ADDRESS ON FILE
ESPERANZA LORENZO ALERS             ADDRESS ON FILE
ESPERANZA M BATISTA MARTINEZ        ADDRESS ON FILE
ESPERANZA MARTIN                    ADDRESS ON FILE
ESPERANZA MARTINEZ VAZQUEZ          ADDRESS ON FILE
ESPERANZA MEDINA MEDINA             ADDRESS ON FILE
ESPERANZA MESA RIJOS                ADDRESS ON FILE
ESPERANZA ORTIZ JUSTINIANO          ADDRESS ON FILE
ESPERANZA PADIN REXACH              ADDRESS ON FILE
ESPERANZA PAGAN ACEVEDO             ADDRESS ON FILE
ESPERANZA PARA LA VEJEZ             ADDRESS ON FILE
ESPERANZA PASTRANA GONZALEZ         ADDRESS ON FILE
ESPERANZA PEREZ PEREZ               ADDRESS ON FILE
ESPERANZA PEREZ RODRIGUEZ           ADDRESS ON FILE
ESPERANZA QUINONES ORTIZ            ADDRESS ON FILE
ESPERANZA RODRIGUEZ MONTANEZ        ADDRESS ON FILE
ESPERANZA RODRIGUEZ TORRES          180 CALLA # 22 URB. PONCE DE LEON                                                             GUAYNABO         PR      00969
ESPERANZA ROLON RIVERA              ADDRESS ON FILE




                                                                                             Page 2629 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2630 of 3500
                                                                              17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                  Address1                             Address2                  Address3   Address4   City         State   PostalCode   Country
ESPERANZA ROMAN CRUZ           ADDRESS ON FILE
ESPERANZA SERRANO, ALEJANDRO   ADDRESS ON FILE
ESPERANZA UNIDA INC            38 C/ HUCAR BO SABANETAS MERCEDITA                                                   PONCE        PR      00715
ESPERANZA VELAZQUEZ MORALES    ADDRESS ON FILE
ESPERANZA VELAZQUEZ ORTIZ      ADDRESS ON FILE
ESPERANZO CRUZ MEDINA          ADDRESS ON FILE
ESPERON MACHUCA, RAFAEL        ADDRESS ON FILE
ESPERON MACHUCA, RAFAEL        ADDRESS ON FILE
ESPIET CABRERA, ELIZABETH      ADDRESS ON FILE
ESPIET COLON, DAMARIS          ADDRESS ON FILE
ESPIET LOPEZ, MILDRED          ADDRESS ON FILE
ESPIET MIRAY MD, JUAN A        ADDRESS ON FILE
ESPIET RIOS, CARMEN A          ADDRESS ON FILE
ESPIET RIOS, SONIA DEL PILAR   ADDRESS ON FILE
ESPIET RIVERA, RAQUEL E        ADDRESS ON FILE
ESPINA ARROYO, FRANCISCO       ADDRESS ON FILE
ESPINA ARROYO, SAUDI           ADDRESS ON FILE
ESPINA BERRIOS, MILAGROS       ADDRESS ON FILE
ESPINA CONCEPTS CORP           352 SAN CLAUDIO SUITE 305                                                            SAN JUAN     PR      00926
ESPINA MARTI, CAMILA           ADDRESS ON FILE
ESPINA PONTON, JOSE            ADDRESS ON FILE
ESPINAL ALCINA, JAVIER         ADDRESS ON FILE
ESPINAL ALMONTE, ADALJISA      ADDRESS ON FILE
ESPINAL ALONSO, PEDRO A        ADDRESS ON FILE
Espinal Baez, Diogenes R       ADDRESS ON FILE
ESPINAL BRITO, LIGIA           ADDRESS ON FILE
ESPINAL CABRERA, ISMARLIEN     ADDRESS ON FILE
ESPINAL CABRERA, JONATHAN      ADDRESS ON FILE
ESPINAL CRUZ, AVELINO          ADDRESS ON FILE
ESPINAL DOMINGUEZ, TOMAS A.    ADDRESS ON FILE
ESPINAL ESPINAL, FELIX         ADDRESS ON FILE
ESPINAL FAJARDO, JAIME         ADDRESS ON FILE
ESPINAL FALERO, KEVIN N        ADDRESS ON FILE
ESPINAL FIGUEROA, NANCY        ADDRESS ON FILE
Espinal Gonzalez, Luis R.      ADDRESS ON FILE
ESPINAL HEREDIA, ANDRES        ADDRESS ON FILE
ESPINAL HERNANDEZ, IVETTE      ADDRESS ON FILE
ESPINAL HOLGUIN, CARLOS        ADDRESS ON FILE
ESPINAL LOPEZ, MARCO           ADDRESS ON FILE
ESPINAL MATIAS, DALMARIS       ADDRESS ON FILE
ESPINAL MATIAS, DALMARIS       ADDRESS ON FILE
ESPINAL MATIAS, DALMARIS       ADDRESS ON FILE
ESPINAL MEJIA, RUBEN           ADDRESS ON FILE
ESPINAL MENA, FERNANDO         ADDRESS ON FILE
ESPINAL PAGAN, YESENIA         ADDRESS ON FILE
ESPINAL PERALTA, JOSE          ADDRESS ON FILE
ESPINAL RIOS, JAYSON           ADDRESS ON FILE
Espinal Rodriguez, Jose M.     ADDRESS ON FILE
ESPINAL RODRIGUEZ, NANCY       ADDRESS ON FILE
ESPINAL RODRIGUEZ, SUSANA      ADDRESS ON FILE
ESPINAL ROHENA, RAFAEL         ADDRESS ON FILE
ESPINAL ROSADO, YENTL          ADDRESS ON FILE
ESPINAL SANCHEZ, YIRA          ADDRESS ON FILE
ESPINAL SANTANA, LUZ A.        ADDRESS ON FILE
ESPINAL SANTOS, MIGUEL A.      ADDRESS ON FILE
ESPINAL SURUN, JENNY           ADDRESS ON FILE
ESPINAL SURUN, NILDA L         ADDRESS ON FILE
ESPINAL TEJEDA, ANGEL          ADDRESS ON FILE
ESPINAL VARGAS, JUANA          ADDRESS ON FILE
ESPINAL VAZQUEZ, ANTHONY       ADDRESS ON FILE




                                                                               Page 2630 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2631 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                   Address2                        Address3   Address4   City            State   PostalCode   Country
ESPINAL VILLANUEVA,KENNETH ALEXIS   ADDRESS ON FILE
ESPINAL, VIRGILIO                   ADDRESS ON FILE
ESPINAR CRUZ, ANA                   ADDRESS ON FILE
ESPINAR CRUZ, ENID                  ADDRESS ON FILE
ESPINDOLA FERNANDEZ, STELLA M       ADDRESS ON FILE
ESPINEL CASTRO, GLORIMAR            ADDRESS ON FILE
ESPINEL COLON, MARITZA              ADDRESS ON FILE
ESPINEL CUEVAS, JOSE                ADDRESS ON FILE
Espinel Cuevas, Jose A.             ADDRESS ON FILE
ESPINEL NIEVES, CARMEN L            ADDRESS ON FILE
ESPINELL BERRIOS, YESENIA           ADDRESS ON FILE
ESPINELL CASTRO, JORGE              ADDRESS ON FILE
ESPINELL CASTRO, LUIS N.            ADDRESS ON FILE
ESPINELL CASTRO, MARIVED            ADDRESS ON FILE
ESPINELL CHEVRES, LAUDELINA         ADDRESS ON FILE
ESPINELL CINTRON, ANIBAL            ADDRESS ON FILE
ESPINELL CINTRON, HECTOR            ADDRESS ON FILE
ESPINELL CINTRON, MELANNIE          ADDRESS ON FILE
ESPINELL GONZALEZ, NELSON R.        ADDRESS ON FILE
ESPINELL LAMAS, JESSED              ADDRESS ON FILE
ESPINELL NARVAEZ, OMARY             ADDRESS ON FILE
ESPINELL OTERO, DALILA              ADDRESS ON FILE
ESPINELL OTERO, EVELIRIS            ADDRESS ON FILE
ESPINELL OTERO, HILDA               ADDRESS ON FILE
ESPINELL PEDROSA, LISANDRA          ADDRESS ON FILE
ESPINELL PEREZ, MILDRED             ADDRESS ON FILE
ESPINELL PINTADO, NORMA             ADDRESS ON FILE
ESPINELL SANABRIA, GLORIA E         ADDRESS ON FILE
ESPINELL SANABRIA, WANDA            ADDRESS ON FILE
ESPINELL SILVA, AMARILYS            ADDRESS ON FILE
ESPINELL SILVA, HECTOR              ADDRESS ON FILE
ESPINELL VAZQUEZ, DAMARIS           ADDRESS ON FILE
ESPINELL VAZQUEZ, IDARMIS           ADDRESS ON FILE
ESPINELL VAZQUEZ, IRMA              ADDRESS ON FILE
ESPINELL VAZQUEZ, JANNETTE          ADDRESS ON FILE
ESPINELL VAZQUEZ, JOSE              ADDRESS ON FILE
ESPINET COLON, CARLOS               ADDRESS ON FILE
ESPINET CORDERO, CRISTINO           ADDRESS ON FILE
ESPINET DE JESUS, JORGE             ADDRESS ON FILE
ESPINET DOMINGUEZ, JEAN             ADDRESS ON FILE
ESPINET FLORES, LILLIAN             ADDRESS ON FILE
ESPINET GARCIA, LISSY               ADDRESS ON FILE
ESPINET GARCIA, LUIS                ADDRESS ON FILE
ESPINET GONZALEZ, IVELISSE          ADDRESS ON FILE
ESPINET ORTIZ, MARIA DE LOS         ADDRESS ON FILE
ESPINET ORTIZ, RAFAEL               ADDRESS ON FILE
ESPINET PEREZ, EFRAIN               ADDRESS ON FILE
ESPINET PEREZ, RAFAEL               ADDRESS ON FILE
ESPINET QUINTANA, JUDITH M.         ADDRESS ON FILE
ESPINET QUINTANA, MARIA D           ADDRESS ON FILE
Espinet Rosado, Rosa E              ADDRESS ON FILE
ESPINET SERRANO, RAFAEL             ADDRESS ON FILE
ESPINET TORRES, CAROLINE            ADDRESS ON FILE
ESPINO APONTE, CARMEN M             ADDRESS ON FILE
Espino Fuentes, Harry               ADDRESS ON FILE
ESPINO GONZALEZ, KAREN              ADDRESS ON FILE
ESPINO HERNANDEZ, ANA               ADDRESS ON FILE
ESPINO MARTINEZ, ELSA               ADDRESS ON FILE
ESPINO MARTÍNEZ, ELSA               LCDA. HILDA COLON RIVERA   PO BOX 219                                            BARRANQUITA     PR      00794
ESPINO MENA, NAYDIA I               ADDRESS ON FILE




                                                                                Page 2631 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2632 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESPINO MERCADO, CYNTHIA           ADDRESS ON FILE
ESPINO NARVAEZ, NURINALDA         ADDRESS ON FILE
ESPINO PITRE, MARIA E             ADDRESS ON FILE
ESPINO RAMIREZ, DAPHNE            ADDRESS ON FILE
Espino Ramirez, Manuel M          ADDRESS ON FILE
ESPINO RIVERA, AGUSTIN            ADDRESS ON FILE
ESPINO RIVERA, ROCHELLIE          ADDRESS ON FILE
ESPINO SANCHEZ, EDLIZ             ADDRESS ON FILE
ESPINO SANTANA, IDELISE M         ADDRESS ON FILE
ESPINO SEPULVEDA, EMILY           ADDRESS ON FILE
ESPINO SOTO, ABRAHAM              ADDRESS ON FILE
ESPINO TORRES, ANDRES             ADDRESS ON FILE
ESPINO VALCARCEL, RAFAEL          ADDRESS ON FILE
ESPINO VALENTIN, DORCA            ADDRESS ON FILE
ESPINO VALENTIN, DORCA            ADDRESS ON FILE
ESPINOSA SANTIAGO, JOSE ARNALDO   ADDRESS ON FILE
ESPINOSA & ESPINOSA INC           PO BOX 20230                                                                     SAN JUAN     PR      00928‐0230
ESPINOSA ALDOY, JUAN A            ADDRESS ON FILE
ESPINOSA ALMESTICA, JEFFREY       ADDRESS ON FILE
ESPINOSA APONTE, ROSA             ADDRESS ON FILE
ESPINOSA APONTE, ROSA M.          ADDRESS ON FILE
Espinosa Aristud, Luis E          ADDRESS ON FILE
ESPINOSA ARROYO, MARILYN          ADDRESS ON FILE
ESPINOSA ASTACIO, CARMEN M        ADDRESS ON FILE
ESPINOSA AUTO GLASS               P O BOX 6417                                                                     BAYAMON      PR      00959
ESPINOSA BABILONIA, FELIX         FERMIN L. ARRAIZA NAVAS   APARTADO 40473                                         SAN JUAN     PR      00940‐0473
ESPINOSA BABILONIA, FELIX         MELBA DIAZ RAMIREZ        APARTADO 40473                                         SAN JUAN     PR      00940‐0473
ESPINOSA BAEZ, EDDIE              ADDRESS ON FILE
ESPINOSA BELTRAN, NANCY           ADDRESS ON FILE
ESPINOSA BURGOS, JACKELINE        ADDRESS ON FILE
ESPINOSA BUSINESS SOLUTIONS       RR 2 BOX 5646                                                                    CIDRA        PR      00739‐9670
ESPINOSA CAMACHO, YANNICK         ADDRESS ON FILE
ESPINOSA CANCEL, ANA M            ADDRESS ON FILE
ESPINOSA CANCEL, JUAN             ADDRESS ON FILE
ESPINOSA CANDELARIA, ISMAEL       ADDRESS ON FILE
ESPINOSA CARDONA, RAFAEL A        ADDRESS ON FILE
ESPINOSA CASSO, VICTOR            ADDRESS ON FILE
ESPINOSA CASTELLANOS, JOSEPH      ADDRESS ON FILE
ESPINOSA CASTILLO, BRAULIO E.     ADDRESS ON FILE
ESPINOSA CASTILLO, VIONNETTE      ADDRESS ON FILE
ESPINOSA COLLAZO, IVETTE          ADDRESS ON FILE
ESPINOSA COLON, VILMARIE          ADDRESS ON FILE
ESPINOSA CORALES, MARTA           ADDRESS ON FILE
ESPINOSA CORALES, ROSA E          ADDRESS ON FILE
ESPINOSA CORALES, SALVADOR        ADDRESS ON FILE
ESPINOSA CORTES, CARMELO          ADDRESS ON FILE
ESPINOSA CRUZ, CAMILLE            ADDRESS ON FILE
Espinosa Cruz, Gilberto           ADDRESS ON FILE
ESPINOSA CRUZ, LUIS R             ADDRESS ON FILE
ESPINOSA DAVILA, NYDIA I          ADDRESS ON FILE
ESPINOSA DE LA CRUZ, ARNALDO      ADDRESS ON FILE
ESPINOSA DESPIAU, MARJORIE        ADDRESS ON FILE
ESPINOSA DESPIAU, SUSANA          ADDRESS ON FILE
ESPINOSA DIAZ, ANGEL              ADDRESS ON FILE
ESPINOSA DIAZ, ELIANID            ADDRESS ON FILE
ESPINOSA DIAZ, EURIDIS            ADDRESS ON FILE
ESPINOSA DIAZ, JOSE               ADDRESS ON FILE
Espinosa Diaz, Jose A             ADDRESS ON FILE
ESPINOSA DIAZ, LEIDA L.           ADDRESS ON FILE
ESPINOSA DIAZ, LIBERTAD           ADDRESS ON FILE




                                                                              Page 2632 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2633 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESPINOSA DIAZ, LOIDA                 ADDRESS ON FILE
ESPINOSA ESPINOSA, LEISHLA M         ADDRESS ON FILE
Espinosa Espinosa, Luis A            ADDRESS ON FILE
ESPINOSA ESPINOSA, REINALDO          ADDRESS ON FILE
ESPINOSA ESPINOSA, YARIXZA           ADDRESS ON FILE
ESPINOSA FELICIANO, GILBERTO         ADDRESS ON FILE
ESPINOSA FIGUEROA, ALMA              ADDRESS ON FILE
ESPINOSA FIGUEROA, ALMA M.           ADDRESS ON FILE
ESPINOSA FIGUEROA, LUZ ENEIDA        ADDRESS ON FILE
ESPINOSA FIGUEROA, OLGA I.           ADDRESS ON FILE
ESPINOSA FLORES, GLADYS              ADDRESS ON FILE
ESPINOSA GARCIA, NELIS L             ADDRESS ON FILE
ESPINOSA GLASS SHOP                  PO BOX 6417                                                                      BAYAMON      PR      00960‐6417
ESPINOSA GOMEZ, LINA                 ADDRESS ON FILE
ESPINOSA GONZALEZ, EDGARDO           ADDRESS ON FILE
ESPINOSA GONZALEZ, GABRIEL GERARDO   ADDRESS ON FILE
ESPINOSA GONZALEZ, JOSE              ADDRESS ON FILE
ESPINOSA GONZALEZ, JUAN A            ADDRESS ON FILE
ESPINOSA GREEN, ANA I                ADDRESS ON FILE
ESPINOSA GREEN, ROSA                 ADDRESS ON FILE
ESPINOSA GREEN, ROSA JEANNETTE       ADDRESS ON FILE
ESPINOSA HERNANDEZ, CARMEN           ADDRESS ON FILE
ESPINOSA HERNANDEZ, JOSE J.          ADDRESS ON FILE
ESPINOSA HUERTAS, FRANCISCO          ADDRESS ON FILE
ESPINOSA IRIZARRY, MELISSA           ADDRESS ON FILE
ESPINOSA JAIME, ALICIA               ADDRESS ON FILE
ESPINOSA LABOY, PEDRO                ADDRESS ON FILE
ESPINOSA LAPAIX, ISABEL              ADDRESS ON FILE
ESPINOSA LARA, DANTE RAFAEL          ADDRESS ON FILE
ESPINOSA LOPEZ, SEBASTIAN            ADDRESS ON FILE
ESPINOSA LUGO, ANGELICA              ADDRESS ON FILE
ESPINOSA LUGO, IVELISSE              ADDRESS ON FILE
ESPINOSA LUGO, JORGE                 ADDRESS ON FILE
ESPINOSA LUGO, MARIA L.              ADDRESS ON FILE
ESPINOSA LUGO, MIGDALIA              ADDRESS ON FILE
ESPINOSA LUGO, SONIA                 ADDRESS ON FILE
ESPINOSA LUGO, YARELIS               ADDRESS ON FILE
ESPINOSA MARITNES, NELUDIS           ADDRESS ON FILE
ESPINOSA MARTINEZ, DAMARIS           ADDRESS ON FILE
ESPINOSA MARTINEZ, JAVIER            ADDRESS ON FILE
ESPINOSA MARTINEZ, JORGE L           ADDRESS ON FILE
Espinosa Martinez, Luis A            ADDRESS ON FILE
ESPINOSA MARTINEZ, LUZ IDALIA        ADDRESS ON FILE
ESPINOSA MARTINEZ, PEDRO             ADDRESS ON FILE
ESPINOSA MENDEZ, GIDEL               ADDRESS ON FILE
ESPINOSA MENDEZ, LEYLANIE            ADDRESS ON FILE
ESPINOSA MENDEZ, OLGA I.             ADDRESS ON FILE
ESPINOSA MERCADO, MEYEICHEA          ADDRESS ON FILE
ESPINOSA MILLET, GLORIMAR            ADDRESS ON FILE
ESPINOSA MORALES, ELIZABETH M.       ADDRESS ON FILE
ESPINOSA MORALES, IVONNE             ADDRESS ON FILE
Espinosa Morales, Jesus M            ADDRESS ON FILE
ESPINOSA MORALES, MAYRA H            ADDRESS ON FILE
ESPINOSA MORALES, MICHAEL N          ADDRESS ON FILE
Espinosa Morales, Samuel             ADDRESS ON FILE
ESPINOSA MORALES, SANDRA J           ADDRESS ON FILE
ESPINOSA NAZARIO, ENID DEL C         ADDRESS ON FILE
ESPINOSA NOVA, MAYERLING             ADDRESS ON FILE
Espinosa Ortiz, Alexis A             ADDRESS ON FILE
ESPINOSA ORTIZ, JAVIER               ADDRESS ON FILE




                                                                                 Page 2633 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2634 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESPINOSA OTERO, AUREA            ADDRESS ON FILE
ESPINOSA PADIN, JUAN             ADDRESS ON FILE
ESPINOSA PADIN, LISANDRA         ADDRESS ON FILE
ESPINOSA PADIN, LUIS             ADDRESS ON FILE
ESPINOSA PADIN,ARLENE            ADDRESS ON FILE
ESPINOSA PEREZ, GILBERTO         ADDRESS ON FILE
ESPINOSA PEREZ, JAVIER           ADDRESS ON FILE
ESPINOSA PEREZ, MADELINE         ADDRESS ON FILE
ESPINOSA PEREZ, RICKY N          ADDRESS ON FILE
ESPINOSA PEREZ, WILFREDO         ADDRESS ON FILE
ESPINOSA PINZON, HUMBERTO        ADDRESS ON FILE
ESPINOSA PINZON, ZAIDA           ADDRESS ON FILE
ESPINOSA PLACA, FERNANDO         ADDRESS ON FILE
ESPINOSA PLUAS, ANGELA           ADDRESS ON FILE
ESPINOSA RAMIREZ, DORIS          ADDRESS ON FILE
ESPINOSA RAMON, RAFAEL           ADDRESS ON FILE
ESPINOSA RAMOS, GILBERTO         ADDRESS ON FILE
ESPINOSA RAMOS, GILBERTO         ADDRESS ON FILE
ESPINOSA RAMOS, IRIS N           ADDRESS ON FILE
ESPINOSA RIVER A, MARTA M        ADDRESS ON FILE
ESPINOSA RIVERA, LUIS            ADDRESS ON FILE
ESPINOSA RIVERA, MARLYN A        ADDRESS ON FILE
ESPINOSA RIVERA, MARTIN          ADDRESS ON FILE
Espinosa Rivera, Ramon A         ADDRESS ON FILE
ESPINOSA RODRIGUEZ, ANDRES       ADDRESS ON FILE
Espinosa Rodriguez, Carlos       ADDRESS ON FILE
ESPINOSA RODRIGUEZ, EDGARDO      ADDRESS ON FILE
ESPINOSA RODRIGUEZ, FAUSTO       ADDRESS ON FILE
ESPINOSA RODRIGUEZ, ILEANA       ADDRESS ON FILE
ESPINOSA RODRIGUEZ, JORGE        ADDRESS ON FILE
Espinosa Rodriguez, Nestor I.    ADDRESS ON FILE
ESPINOSA RODRIGUEZ, ONELIA       ADDRESS ON FILE
ESPINOSA RODRIGUEZ, WIDALYS      ADDRESS ON FILE
ESPINOSA RODRIGUEZ, YARESLI      ADDRESS ON FILE
ESPINOSA ROLDAN, EDGAR           ADDRESS ON FILE
ESPINOSA ROSA, ADA L             ADDRESS ON FILE
ESPINOSA ROSA, EDWARDO I         ADDRESS ON FILE
ESPINOSA ROSA, EDWARDO I.        ADDRESS ON FILE
ESPINOSA ROSADO, EVYFLOR         ADDRESS ON FILE
ESPINOSA RUIZ, LUIS A            ADDRESS ON FILE
Espinosa Sanchez, Edwin          ADDRESS ON FILE
ESPINOSA SANCHEZ, ELENA          ADDRESS ON FILE
ESPINOSA SANCHEZ, MICHELE N      ADDRESS ON FILE
ESPINOSA SANCHEZ, NATIVIDAD      ADDRESS ON FILE
ESPINOSA SANCHEZ, ZULMA          ADDRESS ON FILE
ESPINOSA SANTANA, JANETTE        ADDRESS ON FILE
ESPINOSA SANTIAGO, ALEXANDER     ADDRESS ON FILE
ESPINOSA SANTIAGO, HECTOR        ADDRESS ON FILE
ESPINOSA SANTIAGO, INABELL       ADDRESS ON FILE
Espinosa Santiago, Jorge L       ADDRESS ON FILE
ESPINOSA SEDA, HILDA E           ADDRESS ON FILE
ESPINOSA SERRANO, JESUS          ADDRESS ON FILE
ESPINOSA TARNIELLA, EDGAR        ADDRESS ON FILE
ESPINOSA TEXACO SERVICE CENTER   255 URB ALTAMONTE                                                                CAMUY        PR      00627‐2612
ESPINOSA TEXACO SERVICE CENTER   HC 03 BOX 31891                                                                  HATILLO      PR      00659
Espinosa Tirado, Raymond         ADDRESS ON FILE
ESPINOSA TOLEDO, BLANCA          ADDRESS ON FILE
ESPINOSA TORRES, JERONIMO        ADDRESS ON FILE
ESPINOSA TORRES, JOSE A          ADDRESS ON FILE
ESPINOSA URENA, SENIA            ADDRESS ON FILE




                                                                             Page 2634 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2635 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                         Address1                        Address2                                    Address3   Address4   City          State   PostalCode   Country
ESPINOSA VALENTIN, ANIBAL             ADDRESS ON FILE
ESPINOSA VALENTIN, ANIBAL E.          ADDRESS ON FILE
ESPINOSA VARGAS, ANA T                ADDRESS ON FILE
ESPINOSA VARGAS, LUZ E.               ADDRESS ON FILE
ESPINOSA VARGAS, MARIBEL              ADDRESS ON FILE
ESPINOSA VAZQUEZ, ADRIAN              ADDRESS ON FILE
ESPINOSA VAZQUEZ, LINDA               ADDRESS ON FILE
ESPINOSA VAZQUEZ, YOLANDA             ADDRESS ON FILE
ESPINOSA VEGA, GLORIA E               ADDRESS ON FILE
ESPINOSA VEGA, JOSE R                 ADDRESS ON FILE
ESPINOSA VEGA, NERIDA                 ADDRESS ON FILE
ESPINOSA VILLEGAS, JUAN               ADDRESS ON FILE
ESPINOSA VIRELLA, IVETTE              ADDRESS ON FILE
Espinosa Viruet, Nelson               ADDRESS ON FILE
ESPINOSA, NELSON                      ADDRESS ON FILE
ESPINOSA, NEREIDA                     ADDRESS ON FILE
ESPINOSA, SUSANA                      ADDRESS ON FILE
ESPINOSARODRIGUEZ, MAXIMINO           ADDRESS ON FILE
ESPINOZA GUTIERREZ, JUDHTH            ADDRESS ON FILE
ESPINOZA LOPEZ, BARBARA               ADDRESS ON FILE
ESPINOZA MD , LUIS R                  ADDRESS ON FILE
ESPINOZA RODRIGUEZ, BEATRIZ           ADDRESS ON FILE
ESPINOZA YAZQUEZ, ALBERTO             ADDRESS ON FILE
ESPIRAL MONTESSORI INC                URB FLORAL PARK                 119 C/ MATIENZO CINTRON                                           SAN JUAN      PR      00917
ESPIRAL MONTESSORI INC                URB FLORAL PARK                 119 CALLE MATIENZO CINTRON                                        SAN JUAN      PR      00917
ESPIRITA POSADA DE LA CARIDAD EGI D   P. O. BOX 194668                                                                                  SAN JUAN      PR      00919
ESPIRITU SANTOS, ANASTACIO            ADDRESS ON FILE
ESPN REGIONAL TV INC                  11001 RUSHMURZ DRIVE                                                                              CHARLOTTE     NC      28277
ESPOCETTI RODRIGUEZ, OLIVER           ADDRESS ON FILE
ESPOLA SANTANA, MARIA                 ADDRESS ON FILE
ESPOLA SEPULVEDA, AXEL                ADDRESS ON FILE
ESPONDA FLORES, LUZ C                 ADDRESS ON FILE
ESPONDA RAMOS, OMAR                   ADDRESS ON FILE
ESPONDA RAMOS, OMAR L.                ADDRESS ON FILE
ESPONJITAS DE LA MONTANA              ADDRESS ON FILE
ESPREE, VIRGINIA                      ADDRESS ON FILE
ESPRESSO VENDORS, INC                 PMB 176                         1357 AVE. ASHFORD                                                 SAN JUAN      PR      00907
ESQ LEGAL SERVICES PSC                P O BOX 193813                                                                                    SAN JUAN      PR      00919‐3813
ESQUEMA TALLER DE ARQUITECTURA PSC    1812 AVE PONCE DE LEON PISO 3                                                                     SAN JUAN      PR      00909
ESQUER ITURRIOS, JACQUELINE           ADDRESS ON FILE
ESQUERDO CRUZ MD, LUIS A              ADDRESS ON FILE
ESQUERDO CRUZ, SONIA                  ADDRESS ON FILE
ESQUERDO CRUZ, SONIA E                ADDRESS ON FILE
ESQUERDO DEL VALLE, LYMARIE           ADDRESS ON FILE
ESQUERDO MARRERO, HILDA T             ADDRESS ON FILE
ESQUERDO MARRERO, JOSE O              ADDRESS ON FILE
ESQUERDO MARTINEZ, VICTOR             ADDRESS ON FILE
ESQUERDO NAZARIO, AMAYRA              ADDRESS ON FILE
ESQUERDO NAZARIO, OMAYRA              ADDRESS ON FILE
ESQUERDO PESANTE, AWILDA              ADDRESS ON FILE
ESQUERDO RIOS, IDELISA                ADDRESS ON FILE
ESQUERDO RIVERA, YARINET              ADDRESS ON FILE
ESQUIABRO HERNANDEZ, GLORIA E         ADDRESS ON FILE
ESQUILI N ALAMO, YAMIL                ADDRESS ON FILE
ESQUILIN AGOSTO, EVELYN               ADDRESS ON FILE
Esquilin Alamo, Marianne              ADDRESS ON FILE
Esquilin Alamo, Mayte                 ADDRESS ON FILE
Esquilin Algarin, Christian D.        ADDRESS ON FILE
ESQUILIN ALVAREZ, ELIER               ADDRESS ON FILE
ESQUILIN AYALA, RAYMOND               ADDRESS ON FILE




                                                                                                   Page 2635 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2636 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESQUILIN BERRIOS, CARMEN        ADDRESS ON FILE
ESQUILIN BERRIOS, SIXTO         ADDRESS ON FILE
ESQUILIN BETANCOURT, CARLOS     ADDRESS ON FILE
ESQUILIN BETANCOURT, DOLORES    ADDRESS ON FILE
ESQUILIN BURGOS, JOSE M         ADDRESS ON FILE
ESQUILIN CANALES, ANA           ADDRESS ON FILE
ESQUILIN CANDELARIO, JOSE E     ADDRESS ON FILE
ESQUILIN CARMONA, MARY          ADDRESS ON FILE
ESQUILIN CARRASQUILLO, MONICA   ADDRESS ON FILE
ESQUILIN CARRERO, PAMELA        ADDRESS ON FILE
ESQUILIN CARRERO, SAMUEL        ADDRESS ON FILE
ESQUILIN CARRERO, SHIRLEY M     ADDRESS ON FILE
ESQUILIN CARRERO, SHIRLEY M     ADDRESS ON FILE
Esquilin Carrion, Angel S       ADDRESS ON FILE
ESQUILIN CARRION, CARMEN I      ADDRESS ON FILE
ESQUILIN CARRRERO, SAMUEL J.    ADDRESS ON FILE
ESQUILIN CINTRON, FE            ADDRESS ON FILE
ESQUILIN CINTRON, ROSA          ADDRESS ON FILE
Esquilin Clemente, Angel M      ADDRESS ON FILE
ESQUILIN COLLAZO, VICTOR        ADDRESS ON FILE
Esquilin Correa, Francisco      ADDRESS ON FILE
ESQUILIN CORREA, FRANCISCO      ADDRESS ON FILE
ESQUILIN CRUZ, AIDA             ADDRESS ON FILE
ESQUILIN CRUZ, GAVINO           ADDRESS ON FILE
ESQUILIN CRUZ, MELBA            ADDRESS ON FILE
ESQUILIN CRUZ, MELBA            ADDRESS ON FILE
ESQUILIN CRUZ, MIGUEL           ADDRESS ON FILE
ESQUILIN CRUZ, TAMARA           ADDRESS ON FILE
ESQUILIN CRUZ, ZORAIDA          ADDRESS ON FILE
ESQUILIN DAVILA, VILMARIE       ADDRESS ON FILE
ESQUILIN DE JESUS, JULIO        ADDRESS ON FILE
ESQUILIN DE LEON, JOSEFINA      ADDRESS ON FILE
ESQUILIN DE LEON, MARITZA       ADDRESS ON FILE
ESQUILIN DE LEON, VICTOR J      ADDRESS ON FILE
ESQUILIN ESCOBAR, ALEYSHKA      ADDRESS ON FILE
ESQUILIN ESCOBAR, LUIS A        ADDRESS ON FILE
Esquilin Esquilin, Carmelo      ADDRESS ON FILE
ESQUILIN ESQUILIN, CARMELO      ADDRESS ON FILE
ESQUILIN ESQUILIN, ELIZABETH    ADDRESS ON FILE
ESQUILIN ESQUILIN, EVELYNE I.   ADDRESS ON FILE
Esquilin Esquilin, Marcelino    ADDRESS ON FILE
ESQUILIN ESQUILIN, MARIO        ADDRESS ON FILE
ESQUILIN FALCON, MIRIAM         ADDRESS ON FILE
ESQUILIN FEBRES, JANICE M.      ADDRESS ON FILE
ESQUILIN FIGUEROA, NANCY        ADDRESS ON FILE
ESQUILIN FIGUEROA, ZORAIDA      ADDRESS ON FILE
ESQUILIN FUENTES, FLOR M        ADDRESS ON FILE
ESQUILIN GARAY, HENRY           ADDRESS ON FILE
ESQUILIN GARCIA, LUZ N.         ADDRESS ON FILE
ESQUILIN GARCIA, RAFAEL         ADDRESS ON FILE
Esquilin Garcia, Tayna          ADDRESS ON FILE
ESQUILIN GERENA, IVAN           ADDRESS ON FILE
ESQUILIN GERENA, MARIAM         ADDRESS ON FILE
ESQUILIN GOMEZ, DIANILDA        ADDRESS ON FILE
ESQUILIN GOMEZ, NILDA L         ADDRESS ON FILE
ESQUILIN GONZALEZ, DAVID        ADDRESS ON FILE
ESQUILIN GONZALEZ, SANDRA       ADDRESS ON FILE
ESQUILIN GUZMAN, MARTA N        ADDRESS ON FILE
ESQUILIN HUERTAS, MIGUEL        ADDRESS ON FILE
ESQUILIN JIMENEZ, AGUSTIN       ADDRESS ON FILE




                                                                            Page 2636 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2637 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESQUILIN JIMENEZ, MARCELO E      ADDRESS ON FILE
ESQUILIN LANZO, EDGAR            ADDRESS ON FILE
ESQUILIN LANZO, EIS              ADDRESS ON FILE
ESQUILIN LANZO, EIS              ADDRESS ON FILE
ESQUILIN LEBRON, GIANCARLO       ADDRESS ON FILE
ESQUILIN LLORET, ANNA            ADDRESS ON FILE
ESQUILIN LOPEZ, CARMEN M         ADDRESS ON FILE
ESQUILIN LOPEZ, EUNICE           ADDRESS ON FILE
ESQUILIN LOPEZ, JOSE R           ADDRESS ON FILE
ESQUILIN LOZADA, ADIBEL          ADDRESS ON FILE
ESQUILIN LUGO, HECTOR            ADDRESS ON FILE
ESQUILIN LUGO, JACKELINE         ADDRESS ON FILE
ESQUILIN MALDONADO, EDGARDO      ADDRESS ON FILE
ESQUILIN MARCANO, JOSE L.        ADDRESS ON FILE
ESQUILIN MARIN, GERMAN           ADDRESS ON FILE
ESQUILIN MARQUEZ, FRANCISCO J    ADDRESS ON FILE
ESQUILIN MARQUEZ, ROBERTO        ADDRESS ON FILE
ESQUILIN MARQUEZ,JOSE L          ADDRESS ON FILE
ESQUILIN MEDINA, JALIRYS         ADDRESS ON FILE
ESQUILIN MEDINA, JOSHUA          ADDRESS ON FILE
ESQUILIN MEDINA, MILAURISE       ADDRESS ON FILE
ESQUILIN MELENDEZ, JESUS M.      ADDRESS ON FILE
ESQUILIN MILLAN, IDALIA          ADDRESS ON FILE
ESQUILIN MILLAN, JESSICA         ADDRESS ON FILE
ESQUILIN MILLAN, JORGE E         ADDRESS ON FILE
ESQUILIN MOLINA, MINERVA         ADDRESS ON FILE
ESQUILIN MOLINA,MINERVA          ADDRESS ON FILE
ESQUILIN MONGE, EDGAR            ADDRESS ON FILE
ESQUILIN MORALES, DAMARIS        ADDRESS ON FILE
ESQUILIN MORALES, LUIS           ADDRESS ON FILE
ESQUILIN NAVARRO, GERARDO        ADDRESS ON FILE
ESQUILIN NOGUEZ, HILDA I.        ADDRESS ON FILE
ESQUILIN NUNEZ, EMMA             ADDRESS ON FILE
ESQUILIN NUNEZ, RAFAELA          ADDRESS ON FILE
ESQUILIN ORTA, EVA               ADDRESS ON FILE
ESQUILIN ORTIZ, JASON            ADDRESS ON FILE
Esquilin Ortiz, Wilfredo         ADDRESS ON FILE
ESQUILIN OSORIO, LAURIE A.       ADDRESS ON FILE
ESQUILIN OSORIO, MIGUEL          ADDRESS ON FILE
ESQUILIN OSORIO, VALERIE         ADDRESS ON FILE
ESQUILIN OTERO, KATHERINE I      ADDRESS ON FILE
ESQUILIN PASTOR, SONIA           ADDRESS ON FILE
ESQUILIN PEREZ, DAVID            ADDRESS ON FILE
ESQUILIN PEREZ, NELLY            ADDRESS ON FILE
ESQUILIN PIZARRO, CARLOS I       ADDRESS ON FILE
ESQUILIN PIZARRO, JOSE A.        ADDRESS ON FILE
ESQUILIN PIZARRO, SAMMY          ADDRESS ON FILE
ESQUILIN PIZARRO, SAMMY          ADDRESS ON FILE
ESQUILIN POMALES, CARMEN I       ADDRESS ON FILE
ESQUILIN POMALES, NILDA          ADDRESS ON FILE
ESQUILIN PRINCIPE, MARISOL       ADDRESS ON FILE
Esquilin Quinones, Elier E       ADDRESS ON FILE
ESQUILIN QUINONES, ESTHER        ADDRESS ON FILE
ESQUILIN QUINONEZ, YADIER        ADDRESS ON FILE
ESQUILIN QUINTANA, MARIA DEL C   ADDRESS ON FILE
ESQUILIN RAMIREZ, HORTENSIA      ADDRESS ON FILE
Esquilin Ramirez, Mayra          ADDRESS ON FILE
ESQUILIN RAMOS, BELITZA          ADDRESS ON FILE
ESQUILIN RAMOS, JORGE            ADDRESS ON FILE
ESQUILIN RIOS, ROSE MARIE        ADDRESS ON FILE




                                                                             Page 2637 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2638 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                         Address1                              Address2                           Address3   Address4   City          State   PostalCode   Country
ESQUILIN RIVERA, ANGEL                ADDRESS ON FILE
ESQUILIN RIVERA, CHRISTIAN            ADDRESS ON FILE
ESQUILIN RIVERA, FREDDIE              ADDRESS ON FILE
ESQUILIN RIVERA, GUSTAVO              ADDRESS ON FILE
ESQUILIN RIVERA, INES                 ADDRESS ON FILE
ESQUILIN RIVERA, JENNIFER             ADDRESS ON FILE
ESQUILIN RIVERA, JOANLISE             ADDRESS ON FILE
ESQUILIN RIVERA, JULIO                ADDRESS ON FILE
ESQUILIN RIVERA, MARIA M              ADDRESS ON FILE
ESQUILIN RIVERA, MARJORIE             ADDRESS ON FILE
ESQUILIN RIVERA, PEDRO P.             ADDRESS ON FILE
ESQUILIN RIVERA, SANDRA               ADDRESS ON FILE
ESQUILIN RIVERA, SYLVIA               ADDRESS ON FILE
ESQUILIN RIVERA, WALESKA              ADDRESS ON FILE
ESQUILIN RIVERA, YOVANI               ADDRESS ON FILE
ESQUILIN RIVERA,CARLOS                ADDRESS ON FILE
Esquilin Robles, Hector M             ADDRESS ON FILE
ESQUILIN RODRIGUEZ, ADRIANA           ADDRESS ON FILE
ESQUILIN RODRIGUEZ, ALEXANDRA         ADDRESS ON FILE
ESQUILIN RODRIGUEZ, CANDELARIO        ADDRESS ON FILE
ESQUILIN RODRIGUEZ, CANDELARIO        ADDRESS ON FILE
ESQUILIN RODRIGUEZ, CARLOS A.         ADDRESS ON FILE
ESQUILIN RODRIGUEZ, ILUMINADA         ADDRESS ON FILE
ESQUILIN RODRIGUEZ, MAGALY            ADDRESS ON FILE
ESQUILIN RODRIGUEZ, MIRTHA            ADDRESS ON FILE
ESQUILIN RODRIGUEZ, REY               ADDRESS ON FILE
ESQUILIN RODRIGUEZ, RUBEN             ADDRESS ON FILE
Esquilin Rodriguez, Victor M          ADDRESS ON FILE
ESQUILIN RODRIGUEZ, YEUDIEL           ADDRESS ON FILE
ESQUILIN RODRIGUEZ, ZORAIDA           ADDRESS ON FILE
ESQUILIN ROJAS, CARMELO               ADDRESS ON FILE
ESQUILIN ROSADO, CARLOS               ADDRESS ON FILE
ESQUILIN ROSADO, JOSE                 ADDRESS ON FILE
ESQUILIN ROSARIO, CARLOS              ADDRESS ON FILE
ESQUILIN ROSARIO, JUAN                ADDRESS ON FILE
ESQUILIN SALVA, RAMON                 ADDRESS ON FILE
ESQUILIN SANCHEZ, JUSTO               ADDRESS ON FILE
ESQUILIN SANCHEZ, RICHARD             ADDRESS ON FILE
ESQUILIN SANTIAGO, IVETTE A           ADDRESS ON FILE
ESQUILIN SANTIAGO, JOHNNY             ADDRESS ON FILE
ESQUILIN SANTIAGO, WILMARI            ADDRESS ON FILE
ESQUILIN SOLER, ANA I                 ADDRESS ON FILE
ESQUILIN SOLER, CLARIBEL              ADDRESS ON FILE
ESQUILIN TORRES, LUIS                 ADDRESS ON FILE
Esquilin Torres, Luis D               ADDRESS ON FILE
Esquilin Velazquez, Jose C            ADDRESS ON FILE
ESQUILIN VELEZ, ANA M.                ADDRESS ON FILE
ESQUILIN VELEZ, IRIS V                ADDRESS ON FILE
ESQUILIN VELOZ, YANCY C.              ADDRESS ON FILE
ESQUILIN VILLANUEVA, HILDA I.         ADDRESS ON FILE
ESQUILIN, GEORGE                      ADDRESS ON FILE
ESQUIVEL HERRERA, LUIS                ADDRESS ON FILE
ESSEN MEDICAL ASSOCIATES              PO BOX 788                                                                                     HARTSDALE     NY      10530
ESSENCE FOR LIFE INC                  URB COUNTRY CLUB                      929 CALLE DURBEC                                         SAN JUAN      PR      00924
ESSENTIAL PHARMACIST SERV             AVENIDA TITO CASTRO                   301C DRAWER201                                           PONCE         PR      00731
ESSENTIALS PHARMACIST SERVICES INC    609 AVE TITO CASTRO STE 102 PMB 201                                                            PONCE         PR      00716
ESSENTIUM GROUP, LLC                  B‐5 TABONUCO ST., SUITE 216 PMB 112                                                            GUAYNABO      PR      00968‐3022
ESSIE SARAH RUTH BRYANT               ADDRESS ON FILE
ESSIS TRAINING INC                    URB VILLA DEL CARMEN                  2732 CALLE TOLEDO                                        PONCE         PR      00716‐2032
ESSO SERVICENTRO/VELEZ ESSO SERVICE   P O BOX 324                                                                                    ANASCO        PR      00610




                                                                                                Page 2638 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2639 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                             Address1                     Address2                                  Address3   Address4   City              State   PostalCode   Country
ESSO STANDARD OIL CO.                     PO BOX 4369                                                                                  SAN JUAN          PR      00936‐4269
ESSO STANDARD OIL COMPANY PR              OLD SAN STATION              PO BOX 50001                                                    SAN JUAN          PR      00902
ESSROC SAN JUAN INC                       CARR 2 KM 26 7 BO ESPINOSA                                                                   DORADO            PR      00646
EST DEFENSA CIVIL Y LUZ M CEDENO RIVERA   PO BOX 9066597                                                                               SAN JUAN          PR      00906‐6597
EST TALENTOSOS INC C/O GLADYS PINEIRO     PO BOX 31070                                                                                 SAN JUAN          PR      00929
ESTABLO CARIEGO INC Y BANCO DESARROLLO    ECONOMICO PARA PTO RICO      P O BOX 2134                                                    SAN JUAN          PR      00922‐2134
ESTABLO PENSYLVANIA                       PO BOX 361360                                                                                SAN JUAN          PR      00936‐1360
ESTACION CORA GUAL                        PO BOX 1433                                                                                  ARROYO            PR      00714
ESTACION EXPERIMENTAL DE LAJAS            HC 2 BOX 11656                                                                               LAJAS             PR      00667
ESTACION TEXACO GOMICENTRO                10 CALLE JESUS T PINERO                                                                      PATILLAS          PR      00723
ESTACIONAMIENTO NATAL HERMANOS            AVE. 65 INF. K 2.0           SUITE 20                                                        SAN JUAN          PR      00927
ESTACY CONQUET REYES                      CIUDAD UNIVERSITARIA         A1 9 AVE PERIFERIAL                                             TRUJILLO ALTO     PR      00976
ESTADA BAEZ, EDWIN                        ADDRESS ON FILE
ESTADES BETANCOURT, ANGELA                ADDRESS ON FILE
ESTADES BOYER, JO ANN                     ADDRESS ON FILE
ESTADES BOYER, JO‐ANN                     ADDRESS ON FILE
ESTADES CARRASQUILLO, OBED                ADDRESS ON FILE
ESTADES CINTRON, WILMER                   ADDRESS ON FILE
ESTADES COTTO, RAFAEL                     ADDRESS ON FILE
ESTADES DEL LLANO, RAUL                   ADDRESS ON FILE
ESTADES GARCIA, VIRGINIA                  ADDRESS ON FILE
ESTADES HERNANDEZ, ARNALDO                ADDRESS ON FILE
ESTADES HERNANDEZ, MARILYN                ADDRESS ON FILE
ESTADES MADERA, MILAGROS                  ADDRESS ON FILE
ESTADES MALDONADO, LUIS R                 ADDRESS ON FILE
ESTADES MUNIZ, MARIA                      ADDRESS ON FILE
ESTADES QUIROS, DANELYS                   ADDRESS ON FILE
ESTADES ROMAN, JULIO                      ADDRESS ON FILE
ESTADES ROMAN, WANDA IVELLISSE            ADDRESS ON FILE
ESTADES ROQUE, RAFAEL A.                  ADDRESS ON FILE
ESTADES SANTALIZ, JOHANN                  ADDRESS ON FILE
ESTADIA FELIZ INC.                        P. O. BOX 404                                                                                CAROLINA          PR      00986
ESTALI ORENGO CARABALLO                   URB HACIENDA CONCORDIA       11099 CALLE AZALEA                                              SANTA ISABEL      PR      00759
ESTAMPADO DEPORTIVO                       P.O. BOX 998                                                                                 GUAYNABO          PR      0098
ESTAMPADOS AZ                             VILLA UNIVERSITARIA          K‐26 CALLE 2                                                    HUMACAO           PR      00791‐0000
ESTAMPADOS CARIBE                         ESQ ELEONOR ROOSEVELT        398 AVE MUNOZ RIVERA                                            SAN JUAN          PR      00918
ESTAMPAS DE MI PAIS                       APARTADO 22808               UPR STATION                                                     SAN JUAN          PR      00931
ESTANCIA CORAZON                          AREA DEL TESORO              CONTADURIA GENERAL                                              SAN JUAN          PR      00902
ESTANCIA CORAZON                          PO BOX 3309                                                                                  MAYAGUEZ          PR      00681
ESTANCIA CORAZON INC                      AREA DEL TESORO              CONTADURIA GENERAL                                              SAN JUAN          PR      00902
ESTANCIA CORAZON INC                      PO BOX 3309                                                                                  MAYAGUEZ          PR      00681
ESTANCIA SERENA, INC.                     PO BOX 271                                                                                   JUNCOS            PR      00777
ESTANCIAS DE, SABANANA                    ADDRESS ON FILE
ESTANCIAS VEMIR INC                       P O BOX 1367                                                                                 TRUJILLO ALTO     PR      00977‐1367
ESTANISLAU MEDINA, PAUL H.                ADDRESS ON FILE
ESTARELLA AGUIRRE, JOSE I                 ADDRESS ON FILE
ESTARELLAS ESTARELLAS, MARIA M            ADDRESS ON FILE
ESTARELLAS PRODUCTS CORP                  PO BOX 190059                                                                                SAN JUAN          PR      00919
ESTARELLAS QUILES, FRANCISCO G.           ADDRESS ON FILE
ESTARELLAS SABATER, MARIA DEL C.          ADDRESS ON FILE
ESTARELLAS SABATER, MARIA DEL C.          ADDRESS ON FILE
ESTATE DANIEL COIFMAN                     PO BOX 9507                                                                                  SAN JUAN          PR      00908‐0507
ESTATE FELIPA ARROYO GONZALEZ             ADDRESS ON FILE
ESTATE NELSON TORRES Y SARA TORRES        ADDRESS ON FILE
ESTATE OF AHMED L SAWI                    ADDRESS ON FILE
ESTATE OF ALAN COWLISHAW                  ADDRESS ON FILE
ESTATE OF ALEXANDER T RAGAN               COND PARQ DE LAS FUENTES     690 CALLE CESAR GONZALEZ APT PH103                              SAN JUAN          PR      00918 3907
ESTATE OF ALFRED HERGER                   ADDRESS ON FILE
ESTATE OF ANA S RODRIGUEZ FIGUEROA        URB TINTILLO GDNS            1 AVE WALL                                                      GUAYNABO          PR      00966‐1649
ESTATE OF ANN CORNELIA MURDAUGH           ADDRESS ON FILE




                                                                                                  Page 2639 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2640 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                         Address1                           Address2                            Address3   Address4   City         State   PostalCode   Country
ESTATE OF ANN STRZESZEWSKI            ADDRESS ON FILE
ESTATE OF ANNE DOOLEY                 ADDRESS ON FILE
ESTATE OF ANTONIA GUERRIOS ORTIZ      SR. DOMINGO RIVERA ROSADO PRO SE   NOT AVAILABLE
ESTATE OF ARTURO CHRISTENSEN          ADDRESS ON FILE
ESTATE OF BERTRAND SHAFFER            ADDRESS ON FILE
ESTATE OF BLAS HERNANDEZ MARCANO      ADDRESS ON FILE
ESTATE OF BLNCHE GROSS DECEASED       ADDRESS ON FILE
ESTATE OF CARLOS A CENTENO            PO BOX 9020663                                                                               SAN JUAN     PR      00902‐0663
ESTATE OF CARMEN ROCHESTER RONNIE     ADDRESS ON FILE
ESTATE OF CATHERINE O WEIR            ADDRESS ON FILE
ESTATE OF DAISY L SCHNEIDER           ADDRESS ON FILE
ESTATE OF EDWARD P GIAIMO JR          ADDRESS ON FILE
ESTATE OF EHEL J HERRON               ADDRESS ON FILE
ESTATE OF ERNEST E KICLITER WINN      PO BOX 366856                                                                                SAN JUAN     PR      00936
ESTATE OF FERMIN IRIZARRY             ADDRESS ON FILE
ESTATE OF FRANCESCA RIGAUD            ADDRESS ON FILE
ESTATE OF FREDDY GERSON LEMMER        ADDRESS ON FILE
ESTATE OF FRUCTUOSO LAMBOY            ADDRESS ON FILE
ESTATE OF GENEVA B HEIPLEY            ADDRESS ON FILE
ESTATE OF GILDA ARVIZU‐ HAYDEE ATILES ADDRESS ON FILE
ESTATE OF HANS HEITKOENIG             ADDRESS ON FILE
ESTATE OF HAYDEE ATILES               ADDRESS ON FILE
ESTATE OF HERMINIO HERNANDEZ MORENO   ADDRESS ON FILE
ESTATE OF HIRAM TORRES RIGUAL         ADDRESS ON FILE
ESTATE OF JEREMIAH JOCHNOWITZ         ADDRESS ON FILE
ESTATE OF JESUS VELAZQUEZ ARROYO      ADDRESS ON FILE
ESTATE OF JOSE A BON MORALES          ADDRESS ON FILE
ESTATE OF JOSE I CARVAJAL CUERVO      URB VISTAMAR                       F5 CALLE JAEN                                             CAROLINA     PR      00983‐1508
ESTATE OF JOSE L MOLINA ALICEA        ADDRESS ON FILE
ESTATE OF JOSE V CHANG                ADDRESS ON FILE
ESTATE OF JOSE V CHANG Y ANA G CHANG  ADDRESS ON FILE
ESTATE OF JOSEPH QUINONES             ADDRESS ON FILE
ESTATE OF JUAN LABADIE                CONWAY 3909                        LAKE PROVIDENCE DR                                        HARVEY       LA      70058
ESTATE OF JULIA MERCADO MENDEZ        ADDRESS ON FILE
ESTATE OF LEOPOLDO SANTIAGO MELENDEZ  ADDRESS ON FILE
ESTATE OF MANUEL GONZALEZ             ADDRESS ON FILE
ESTATE OF MANUEL ROJAS                ADDRESS ON FILE
ESTATE OF MANUEL VILLAFANE            ADDRESS ON FILE
ESTATE OF MARIA DE LOS ANGELES BODDEN ADDRESS ON FILE
ESTATE OF MARINA PRISCILLA GEORGE     ADDRESS ON FILE
ESTATE OF MARTIN CAVANAGH             ADDRESS ON FILE
ESTATE OF MICHAEL WOODBURY CORNU      ADDRESS ON FILE
ESTATE OF MIRTA CRUZ                  ADDRESS ON FILE
ESTATE OF NATHAN RIFKINSON            1351 AVE MAGDALENA APT 14B                                                                   SAN JUAN     PR      00907
ESTATE OF OLGA BARBER                 URB LA COLINA                      B10 CALLE B                                               GUAYNABO     PR      00969‐3261
ESTATE OF PAUL GREEN                  425 PARK AVE FL 27                                                                           NEW YORK     NY      10022‐3517
ESTATE OF PAULINE LYONS               ADDRESS ON FILE
ESTATE OF PORFIRIO ORTIZ TORRES       ADDRESS ON FILE
ESTATE OF RAFAEL F ECHAVARRIA         ADDRESS ON FILE
ESTATE OF RANDALL E JENKINS           ADDRESS ON FILE
ESTATE OF RICHARD J CUMMINS           ADDRESS ON FILE
ESTATE OF SAN JUAN EURITE             PO BOX 3088                                                                                  HARVEY       LA      70059‐3088
ESTATE OF VERA BRYANT                 ADDRESS ON FILE
ESTATE OF WEATHERLY T KAVANACH        ADDRESS ON FILE
ESTATE OF WILLIAM J VAFIADES          ADDRESS ON FILE
ESTATE OF WILLIAM S POSTEN            ADDRESS ON FILE
ESTATE OF ZACHARIAH REUBEN            ADDRESS ON FILE
ESTATEOF ANDRES GUARDARRAMA Y EMMA COLADDRESS ON FILE
ESTATEXIA POLITICA CORP               130 WINSTON CHURCHILL AVE          SUITE 1 PMB 210                                           SAN JUAN     PR      00926
ESTAVILLO ARCELAY, DOGARIS            ADDRESS ON FILE




                                                                                              Page 2640 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2641 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                       Address1                  Address2                              Address3   Address4   City           State   PostalCode   Country
ESTEBA VELEZ PEREZ                  ADDRESS ON FILE
Esteba Zayas, Jose E                ADDRESS ON FILE
ESTEBAN ALVARADO PEREZ              ADDRESS ON FILE
ESTEBAN ALVAREZ MEDINA              ADDRESS ON FILE
ESTEBAN ARZUAGA PEREZ               ADDRESS ON FILE
ESTEBAN AYALA LACEN                 ADDRESS ON FILE
ESTEBAN BERRIOS FEBO                ADDRESS ON FILE
ESTEBAN BUS LINE INC                HC 4 BOX 7871                                                                         JUANA DIAZ     PR      00795
ESTEBAN BUS LINE INC.               HC 4 BOX 8306                                                                         JUANA DIAZ     PR      00795
ESTEBAN CABAN DE JESUS              ADDRESS ON FILE
ESTEBAN CABAN DE JESUS              ADDRESS ON FILE
ESTEBAN CABAN DE JESUS              ADDRESS ON FILE
ESTEBAN CANDELARIA PONCE            ADDRESS ON FILE
ESTEBAN CANEVARO JULIA              ADDRESS ON FILE
ESTEBAN CARDONA LOPEZ               ADDRESS ON FILE
ESTEBAN COLON MARTINEZ              ADDRESS ON FILE
ESTEBAN COLON ORTIZ                 ADDRESS ON FILE
ESTEBAN COLON, EDNA E.              ADDRESS ON FILE
ESTEBAN CUEBAS IRIZARRY             ADDRESS ON FILE
ESTEBAN CUEVAS IRIZARRY             ADDRESS ON FILE
ESTEBAN CUEVAS PEREA                ADDRESS ON FILE
ESTEBAN DE JESUS FLAZ FLAZ          ADDRESS ON FILE
ESTEBAN DIAZ DIAZ                   ADDRESS ON FILE
ESTEBAN DORTA DORTA                 ADDRESS ON FILE
ESTEBAN ESCALERA PIZARRO            ADDRESS ON FILE
ESTEBAN ESCUTE DAVILA               ADDRESS ON FILE
ESTEBAN FELIX BULTRON               ADDRESS ON FILE
ESTEBAN FERNANDEZ PENA              ADDRESS ON FILE
ESTEBAN FIGUEROA                    ADDRESS ON FILE
ESTEBAN FLORES CARDONA              ADDRESS ON FILE
ESTEBAN FRIAS RUIZ                  ADDRESS ON FILE
ESTEBAN HERNANDEZ RODRIGUEZ         ADDRESS ON FILE
ESTEBAN HERNANDEZ VERA              ADDRESS ON FILE
ESTEBAN I FERNANDEZ NODA            ADDRESS ON FILE
ESTEBAN J RUIZ RODRIGUEZ            ADDRESS ON FILE
ESTEBAN L RODRIGUEZ VELAZQUEZ       ADDRESS ON FILE
ESTEBAN LIMA                        ADDRESS ON FILE
ESTEBAN LINARES MARTIN              ADDRESS ON FILE
ESTEBAN LLOP RAMIREZ                ADDRESS ON FILE
ESTEBAN LOPEZ MALDONADO             ADDRESS ON FILE
ESTEBAN LOPEZ OLVARRIA              ADDRESS ON FILE
ESTEBAN LOPEZ PINEDA                ADDRESS ON FILE
ESTEBAN LOPEZ ZAYAS                 ADDRESS ON FILE
ESTEBAN M JAIME ROCHE               ADDRESS ON FILE
ESTEBAN MALDONADO FELICIANO         ADDRESS ON FILE
ESTEBAN MARTES ALTURET              ADDRESS ON FILE
ESTEBAN MARTINEZ SERRANO            ADDRESS ON FILE
ESTEBAN MD, LOURDES                 ADDRESS ON FILE
ESTEBAN MENDEZ LUCIANO              ADDRESS ON FILE
ESTEBAN MENDEZ SOTO                 ADDRESS ON FILE
ESTEBAN MONTES DBA AEM ENTERPRISE   AVE ASHFORD               1451 EDIF LA GALERIA                                        SAN JUAN       PR      00907
ESTEBAN MORA DELGADO                ADDRESS ON FILE
ESTEBAN MORALES DIAZ                ADDRESS ON FILE
ESTEBAN MUJICA COTTO                ADDRESS ON FILE
ESTEBAN NAVARRO ARCHILLA            ADDRESS ON FILE
ESTEBAN NIEVES FIGUEROA             ADDRESS ON FILE
ESTEBAN ORTIZ                       ADDRESS ON FILE
ESTEBAN ORTIZ                       ADDRESS ON FILE
ESTEBAN ORTIZ                       ADDRESS ON FILE
ESTEBAN ORTIZ CARTAGENA             ADDRESS ON FILE




                                                                                     Page 2641 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2642 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
ESTEBAN ORTIZ LOPEZ               ADDRESS ON FILE
ESTEBAN ORTIZ RODRIGUEZ           ADDRESS ON FILE
ESTEBAN PAGAN FIGUEROA            ADDRESS ON FILE
ESTEBAN PEREZ ORTIZ               ADDRESS ON FILE
ESTEBAN PEREZ PEREZ               ADDRESS ON FILE
ESTEBAN PEREZ RIVERA              ADDRESS ON FILE
ESTEBAN PEREZ SUAREZ              ADDRESS ON FILE
ESTEBAN PEREZ UBIETA              ADDRESS ON FILE
ESTEBAN PESANTE                   ADDRESS ON FILE
ESTEBAN QUINONES CENTENO          ADDRESS ON FILE
ESTEBAN RAFAEL BENITEZ MERCADER   ADDRESS ON FILE
ESTEBAN RIVERA APONTE             ADDRESS ON FILE
ESTEBAN RIVERA APONTE             ADDRESS ON FILE
ESTEBAN RIVERA BONANO             ADDRESS ON FILE
ESTEBAN RIVERA FONTANEZ           ADDRESS ON FILE
ESTEBAN RIVERA HIRALDO            ADDRESS ON FILE
ESTEBAN RIVERA OCASIO             ADDRESS ON FILE
ESTEBAN RIVERA RIVERA             ADDRESS ON FILE
ESTEBAN RODRIGUEZ GONZALEZ        ADDRESS ON FILE
ESTEBAN RODRIGUEZ MARRERO         ADDRESS ON FILE
ESTEBAN RODRIGUEZ MORALES         ADDRESS ON FILE
ESTEBAN RODRIGUEZ VAZQUEZ         ADDRESS ON FILE
ESTEBAN ROHENA DOMINGUEZ          ADDRESS ON FILE
ESTEBAN ROMERO                    ADDRESS ON FILE
ESTEBAN ROSADO ORTIZ              ADDRESS ON FILE
ESTEBAN RUIZ RUIZ                 ADDRESS ON FILE
ESTEBAN SANCHEZ ESPINOSA          ADDRESS ON FILE
ESTEBAN SANTANA RIVERA            ADDRESS ON FILE
ESTEBAN SANTIAGO RODRIGUEZ        ADDRESS ON FILE
ESTEBAN SANTIAGO RODRIGUEZ        ADDRESS ON FILE
ESTEBAN SIERRA PEREZ              ADDRESS ON FILE
ESTEBAN SOSA DIAZ                 ADDRESS ON FILE
ESTEBAN SOSA DIAZ                 ADDRESS ON FILE
ESTEBAN TORRES, GERARDO           ADDRESS ON FILE
ESTEBAN TORRES, LUZ E             ADDRESS ON FILE
ESTEBAN VALENTIN GUERRERO         ADDRESS ON FILE
ESTEBAN VAN TOLL RODRIGUEZ        ADDRESS ON FILE
ESTEBAN VARGAS GIL                ADDRESS ON FILE
ESTEBAN VEGA, HERMAN              ADDRESS ON FILE
ESTEBAN VEGA, MADELINE D.         ADDRESS ON FILE
ESTEBAN WILLIAM CRUZ              ADDRESS ON FILE
ESTEBAN ZAVALA PAGAN              ADDRESS ON FILE
ESTEBANEZ HEINZMAN, JAVIER        ADDRESS ON FILE
ESTEBANIA GARCIA DIAZ             ADDRESS ON FILE
ESTEBANIA MARQUEZ ALEJANDRO       ADDRESS ON FILE
ESTEBANIA MELENDEZ RIVERA         ADDRESS ON FILE
ESTEBANIA RAMIREZ PALOMO          ADDRESS ON FILE
ESTEBANIA SAEZ CASTRO             ADDRESS ON FILE
ESTEBITA AUTO CORP                PO BOX 70005                                                                     FAJARDO       PR      00738
ESTEBITA MOTORS INC               P.O. BOX 1663                                                                    CANOVANAS     PR      00729
ESTEBITA MOTORS INC               PO BOX 1732                                                                      CANOVANAS     PR      00729
ESTEFAN G SALAZAR RAMOS           ADDRESS ON FILE
ESTEFAN VELAZQUEZ, ZULMARIE       ADDRESS ON FILE
ESTEFANI VELAZQUEZ, WANDA         ADDRESS ON FILE
ESTEFANIA P PIERAS HILERA         ADDRESS ON FILE
ESTEFANIA RODRIGUEZ BAEZ          ADDRESS ON FILE
ESTEFANY M TORRES COLON           ADDRESS ON FILE
ESTEFANY RODRIGUEZ RODRIGUEZ      ADDRESS ON FILE
ESTEL, JEAN                       ADDRESS ON FILE
ESTELA BURGOS, GLORIA E.          ADDRESS ON FILE




                                                                              Page 2642 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2643 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                    Address2                                   Address3         Address4               City         State   PostalCode   Country
ESTELA CRUZ, VIRGEN                     ADDRESS ON FILE
ESTELA CRUZ, VIRGEN M                   ADDRESS ON FILE
ESTELA DE JESUS, JUAN                   ADDRESS ON FILE
ESTELA FIGUEROA, FRANK                  ADDRESS ON FILE
ESTELA GARCIA FERNANDEZ/NELSON A SANTANAADDRESS ON FILE
ESTELA GARCIA FERNANDEZ/NELSON A SANTANAADDRESS ON FILE
ESTELA I VALLES ACOSTA                  ADDRESS ON FILE
ESTELA INESTA QUINONES                  ADDRESS ON FILE
ESTELA LOPEZ PEREZ                      ADDRESS ON FILE
ESTELA M QUINTANA CARDONA               ADDRESS ON FILE
ESTELA M VEGA VAZQUEZ                   ADDRESS ON FILE
ESTELA MALAVE, MARGARITA                ADDRESS ON FILE
ESTELA MORALES                          ADDRESS ON FILE
ESTELA NUNEZ, CARMEN                    ADDRESS ON FILE
ESTELA OLIVERAS, RAMON                  ADDRESS ON FILE
ESTELA OLIVERAS, VALERIE                ADDRESS ON FILE
ESTELA OLIVERAS, YARELIS                ADDRESS ON FILE
ESTELA RAMOS, CARMEN D.                 ADDRESS ON FILE
ESTELA RIVAS NINA                       ADDRESS ON FILE
Estela Rivera, Oscar O                  ADDRESS ON FILE
ESTELA RODRIGUEZ, FRANSHELYS            ADDRESS ON FILE
ESTELA RUIZ PEREZ                       ADDRESS ON FILE
ESTELA SANCHEZ, MIKE                    ADDRESS ON FILE
ESTELA SINTIAGO FIGUEROA                ADDRESS ON FILE
ESTELA TORRES, LOU                      ADDRESS ON FILE
                                                                                                               1353 AVE. LUIS
ESTELA TORRES, LOU                      YARLENE JIMENEZ ROSARIO     PMB‐133                                    VIGOREAUZ                               GUAYNABO     PR      00966‐2700
ESTELA VARGAS, IRMA                     ADDRESS ON FILE
ESTELA VAZQUEZ, HAROL                   ADDRESS ON FILE
ESTELA VAZQUEZ, LUIS                    ADDRESS ON FILE
ESTELLA MULERO, OMAYRA                  ADDRESS ON FILE
ESTELLA Y RIVERA RIVAS                  ADDRESS ON FILE
ESTELLE CAQUIAS VEVE                    ADDRESS ON FILE
ESTELLE L VILAR SANTOS                  ADDRESS ON FILE
ESTELLE L VILAR SANTOS                  ADDRESS ON FILE
ESTELRITZ VEGA, DORAIMA                 ADDRESS ON FILE
ESTEPA SANTIAGO, CAMILLE                ADDRESS ON FILE
ESTEPA SANTIAGO, CARLINDA               ADDRESS ON FILE
ESTEPA SERRANO, MERCEDES                ADDRESS ON FILE
ESTEPHANY MALDONADO MORALES             ADDRESS ON FILE
ESTEPHANY TORRES NAZARIO                ADDRESS ON FILE
ESTER M. MORENO RUIZ                    ADDRESS ON FILE
ESTER M. MORENO RUIZ                    ADDRESS ON FILE
ESTERAS ARROYO, EVA                     ADDRESS ON FILE
ESTERAS CINTRON, LUIS ORLANDO Y OTROS   LCDO. HOSTOS GALLARDO       LCDO. HOSTOS GALLARDO                      PO BOX 70244                            SAN JUAN     PR      00936‐8244

ESTERAS CINTRON, LUIS ORLANDO Y OTROS   LCDO. RUBÉN TORRES DÁVILA   LCDO. RUBÉN TORRES DÁVILA                  URB. PARADÍS     CALLE BALDORIOTY D‐3   CAGUAS       PR      00725
ESTERAS CRUZ, LUIS                      ADDRESS ON FILE
ESTERAS CRUZ, LUIS O                    ADDRESS ON FILE
ESTERAS CRUZ, LUIS O                    ADDRESS ON FILE
ESTERAS DEL RIO, DALEXA                 ADDRESS ON FILE
ESTERAS GORDIAN, MICHAEL                ADDRESS ON FILE
ESTERAS MACIAS MD, JOSE V               ADDRESS ON FILE
ESTERAS MARTINEZ, CHRISTIAN E.          ADDRESS ON FILE
ESTERAS NIEVES, JOSUE                   ADDRESS ON FILE
ESTERAS REYES, MELISSA                  ADDRESS ON FILE
Esteras Rivera, Olivet                  ADDRESS ON FILE
ESTERAS RODRIGUEZ, GUSTAVO              ADDRESS ON FILE
ESTERAS RODRIGUEZ, JOSE                 ADDRESS ON FILE
ESTERAS ROMAN, LUZ I                    ADDRESS ON FILE




                                                                                                Page 2643 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2644 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                       Address1                   Address2                              Address3     Address4             City          State   PostalCode   Country
ESTERAS VAZQUEZ MD, DORIS           ADDRESS ON FILE
ESTERBINA ESCROGGIN CEDANO          ADDRESS ON FILE
ESTERBINA GARCIA JIMENEZ            ADDRESS ON FILE
ESTERBINA RAMOS DIAZ                ADDRESS ON FILE
ESTERIS ISOMEDIC SERVICES           PO BOX 415                                                                                         VEGA ALTA     PR      00692
ESTERRICH INDUSTRIAL SALES CORP     PO BOX 3844                                                                                        GUAYNABO      PR      00970‐3844
ESTERRICH LOMBAY, GABRIEL           ADDRESS ON FILE

ESTERRICH LOMBAY, GABRIEL           JAVIER A. COLLAZO CORREA   BANCO POPULAR CENTER                  SUITE 1110   209 MUNOZ RIVERA AVE. SAN JUAN     PR      00918
ESTERRICH LOMBAY, GABRIEL           ADDRESS ON FILE
ESTERRICH LOMBAY, RICARDO           ADDRESS ON FILE
ESTERRICH RIVERA, VERUSCHKA         ADDRESS ON FILE
ESTERVINA DE PENA DE PENA           ADDRESS ON FILE
ESTERVINA DIAZ GARCIA               ADDRESS ON FILE
ESTERVINA ESCROGGIN CEDANO          ADDRESS ON FILE
ESTEVA BAEZ, GISELLA                ADDRESS ON FILE
ESTEVA BAEZ, IVONNE                 ADDRESS ON FILE
ESTEVA BAEZ, IVONNE Y.              ADDRESS ON FILE
ESTEVA BAEZ, JOSE E                 ADDRESS ON FILE
ESTEVA BAEZ, JOSE E.                ADDRESS ON FILE
ESTEVA BAEZ, SANDRA                 ADDRESS ON FILE
ESTEVA BAEZ, SANDRA                 ADDRESS ON FILE
ESTEVA CANCEL, JAIME                ADDRESS ON FILE
ESTEVA CRESPO, MICHELLE             ADDRESS ON FILE
ESTEVA CRUZ, CARLOS                 ADDRESS ON FILE
ESTEVA CRUZ, CARMEN I               ADDRESS ON FILE
ESTEVA CRUZ, MIRIAM                 ADDRESS ON FILE
ESTEVA DELGADO, MADELINE            ADDRESS ON FILE
ESTEVA DELGADO, MARILYN             ADDRESS ON FILE
ESTEVA DELGADO, MARILYN             ADDRESS ON FILE
ESTEVA HEAL MD, RAFAEL              ADDRESS ON FILE
ESTEVA LOPEZ, ISABEL                ADDRESS ON FILE
ESTEVA LOPEZ, REBECA                ADDRESS ON FILE
ESTEVA NADAL, MARIA                 ADDRESS ON FILE
ESTEVA ORTIZ, EGDA                  ADDRESS ON FILE
ESTEVA PACHECO, JOEL                ADDRESS ON FILE
ESTEVA RIVERA, NORMA I              ADDRESS ON FILE
ESTEVA ROSARIO, LILLIAM             ADDRESS ON FILE
ESTEVA TAVAREZ, SONIA               ADDRESS ON FILE
ESTEVA TIRADO, MAYRA                ADDRESS ON FILE
Esteva Tirado, Miurka               ADDRESS ON FILE
ESTEVA VIRELLA, JAIME               ADDRESS ON FILE
ESTEVA VIRELLA, JAIME SAMUEL        ADDRESS ON FILE
ESTEVA VIRELLA, MONICA              ADDRESS ON FILE
ESTEVAN DE MIGUEL, PEDRO            ADDRESS ON FILE
ESTEVE ESTEVEZ, CAROLINA            ADDRESS ON FILE
ESTEVEN DIAZ MENDOZA                ADDRESS ON FILE
ESTEVEN FIGUEROA PAGAN              ADDRESS ON FILE
Esteves Barreto, Arcelio E          ADDRESS ON FILE
ESTEVES AMADOR, IRENE               ADDRESS ON FILE
ESTEVES ARRECHE, CATERINA           ADDRESS ON FILE
ESTEVES ARRECHE, RAFAEL             ADDRESS ON FILE
ESTEVES ARROYO, MILAGROS            ADDRESS ON FILE
Esteves Barrera, Anthony M          ADDRESS ON FILE
ESTEVES BARRERA, CYBELE Y.          ADDRESS ON FILE
ESTEVES BARRERA, KESTHIN            ADDRESS ON FILE
ESTEVES BARRERA, KESTHIN M          ADDRESS ON FILE
ESTEVES BARRERTO, ARCELIO EDUARDO   ADDRESS ON FILE
ESTEVES BARRETO, JESUS              ADDRESS ON FILE
ESTEVES BARRETO, JESUS              ADDRESS ON FILE




                                                                                      Page 2644 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2645 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                  Address1                                Address2                                 Address3              Address4          City      State   PostalCode   Country
ESTEVES CARDONA, IAN           ADDRESS ON FILE
ESTEVES CASIANO, RENE          ADDRESS ON FILE
ESTEVES CENTENO, DAMARIS       ADDRESS ON FILE
ESTEVES CENTENO, DAMARIS E.    ADDRESS ON FILE
ESTEVES CONTRERAS, EURONICE    ADDRESS ON FILE
ESTEVES DE CLASS, MYRNA        ADDRESS ON FILE
ESTEVES DE LA CRUZ, NICOLAS    ADDRESS ON FILE
ESTEVES DIAZ, JOAN             ADDRESS ON FILE
ESTEVES ESTEVES, JORGE         ADDRESS ON FILE
ESTEVES ESTEVES, OLGA          ADDRESS ON FILE
ESTEVES ESTRELLA, FRANCISCO    ADDRESS ON FILE
ESTEVES GARCIA, JOSE           ADDRESS ON FILE
ESTEVES GONZALEZ, LUIS         ADDRESS ON FILE
ESTEVES GONZALEZ, NAHIMARY     ADDRESS ON FILE

ESTEVES GONZÁLEZ, PABLO        PABLO ESTEVES GONZÁLEZ(CONFINADO POR DERINSTITUCIÓN MÁXIMA SEGURIDAD Ponce       SECCIÓN C‐2 CELDA 2026 3699 Ponce BYP   PONCE     PR      00728‐1500
ESTEVES HERNANDEZ, EMANUEL     ADDRESS ON FILE
ESTEVES IRIZARRY, LUIS         ADDRESS ON FILE
ESTEVES JIMENEZ, KRISMAR       ADDRESS ON FILE
ESTEVES JIMENEZ, LUIS          ADDRESS ON FILE
ESTEVES LUCIANO, CLARA         ADDRESS ON FILE
ESTEVES LUCIANO, MILITZA       ADDRESS ON FILE
ESTEVES LUCIANO, PASTORA       ADDRESS ON FILE
ESTEVES LUCIANO, RUPERTA       ADDRESS ON FILE
Esteves Lugo, Heriberto        ADDRESS ON FILE
Esteves Martinez, Jaime        ADDRESS ON FILE
ESTEVES MARTINEZ, LIZ I        ADDRESS ON FILE
ESTEVES MASSO, JUAN A.         ADDRESS ON FILE
Esteves Matta, Edward          ADDRESS ON FILE
Esteves Matta, Javier          ADDRESS ON FILE
ESTEVES MAYA, JOSE             ADDRESS ON FILE
ESTEVES MENA, EVA              ADDRESS ON FILE
ESTEVES MENDEZ, JOSE           ADDRESS ON FILE
ESTEVES MONTANO, EDGARDO       ADDRESS ON FILE
ESTEVES MORALES, JO MARIE      ADDRESS ON FILE
ESTEVES MORENO, BRENDA L       ADDRESS ON FILE
ESTEVES MUINAS, CAMILO         ADDRESS ON FILE
ESTEVES OCASIO, IVELISSE       ADDRESS ON FILE
ESTEVES OLAVARRIA, YARITZA     ADDRESS ON FILE
Esteves Pagan, Vicente         ADDRESS ON FILE
ESTEVES PEREZ, NOELIA          ADDRESS ON FILE
ESTEVES PEREZ, NOROHILDA       ADDRESS ON FILE
ESTEVES RIVERA, AIDA M         ADDRESS ON FILE
ESTEVES RIVERA, ANIBAL         ADDRESS ON FILE
ESTEVES RIVERA, ELBA           ADDRESS ON FILE
ESTEVES RIVERA, HERIBERTO      ADDRESS ON FILE
ESTEVES RIVERA, NELSON         ADDRESS ON FILE
ESTEVES RIVERA, OSVALDO        ADDRESS ON FILE
ESTEVES RODRIGUEZ, EDGARDO     ADDRESS ON FILE
ESTEVES RODRIGUEZ, RITA T      ADDRESS ON FILE
ESTEVES RODRIGUEZ, SANTIAGO    ADDRESS ON FILE
ESTEVES ROSADO, JORGE          ADDRESS ON FILE
ESTEVES ROSADO, NORBERTO       ADDRESS ON FILE
ESTEVES SALINAS, CARLOS        ADDRESS ON FILE
ESTEVES SERRANO, ANNETTE       ADDRESS ON FILE
ESTEVES SERRANO, ANNETTE DEL   ADDRESS ON FILE
ESTEVES SOLER, HAYDEE          ADDRESS ON FILE
Esteves Suarez, Heriberto      ADDRESS ON FILE
Esteves Suarez, Omar           ADDRESS ON FILE
Esteves Torres, Hector II      ADDRESS ON FILE




                                                                                                 Page 2645 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2646 of 3500
                                                                               17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                   Address1                          Address2                        Address3   Address4   City         State   PostalCode   Country
ESTEVES VALENTIN, EDUARDO       ADDRESS ON FILE
ESTEVES VELAZQUEZ, NELIDA       ADDRESS ON FILE
ESTEVES VELEZ, BLANCA I         ADDRESS ON FILE
ESTEVES VELEZ, RAMSIS G         ADDRESS ON FILE
ESTEVES VILLANUEVA, JUDITH      ADDRESS ON FILE
ESTEVES, ANTHONY M              ADDRESS ON FILE
ESTEVES, NELSON                 ADDRESS ON FILE
ESTEVEZ ALCOLADO, SANTIAGO      ADDRESS ON FILE
ESTEVEZ ALVAREZ, CARMEN H.      ADDRESS ON FILE
ESTEVEZ DATIZ, CONCEPCION       ADDRESS ON FILE
ESTEVEZ DATIZ, MARIA L          ADDRESS ON FILE
ESTEVEZ DATIZ, ROSA J           ADDRESS ON FILE
ESTEVEZ DE CHOUDENS, ROSALIND   ADDRESS ON FILE
ESTEVEZ DIAZ, JAVIER            ADDRESS ON FILE
ESTEVEZ DIAZ, MARIA B           ADDRESS ON FILE
ESTEVEZ GUERRERO, ROLANDO       ADDRESS ON FILE
ESTEVEZ GUTIERREZ, DANIEL       ADDRESS ON FILE
ESTEVEZ GUTIERREZ, EVELYN       ADDRESS ON FILE
ESTEVEZ GUTIERREZ, JULIO        ADDRESS ON FILE
ESTEVEZ LEON, PATRICIO          ADDRESS ON FILE
ESTEVEZ MARTINEZ, JONAIDA       ADDRESS ON FILE
ESTEVEZ MARTINEZ, JORGE E.      ADDRESS ON FILE
ESTEVEZ MARTINEZ, LYSSETTE      ADDRESS ON FILE
ESTEVEZ MATTA, JAVIER           ADDRESS ON FILE
ESTEVEZ MEDINA, BRYAN O.        ADDRESS ON FILE
ESTEVEZ MENDEZ, CARLOS          ADDRESS ON FILE
ESTEVEZ MENDEZ, CARLOS L.       ADDRESS ON FILE
ESTEVEZ MENDEZ, GLADYS          ADDRESS ON FILE
ESTEVEZ MIRANDA, ALAN J         ADDRESS ON FILE
ESTEVEZ MUINAS, CAMILO E        ADDRESS ON FILE
ESTEVEZ NAZARIO, FERNANDO       ADDRESS ON FILE
ESTEVEZ ORTIZ, MARLENE          ADDRESS ON FILE
ESTEVEZ PEREZ, JOSE F           ADDRESS ON FILE
ESTEVEZ PONS, MARIA I.          ADDRESS ON FILE
ESTEVEZ REGALADO, BETSY         ADDRESS ON FILE
ESTEVEZ REGALADO, BETSY         ADDRESS ON FILE
ESTEVEZ RIVERA, CARMEN A        ADDRESS ON FILE
Estevez Roman, Nancy I          ADDRESS ON FILE
Estevez Rosado, Norberto        ADDRESS ON FILE
ESTEVEZ SEGURA, JOSE            ADDRESS ON FILE
ESTEVEZ TERC, ROBERTO           ADDRESS ON FILE
ESTEVEZ TOUSARD, MIRIAM         ADDRESS ON FILE
ESTEVEZ VELEZ, GLADYVETTE       ADDRESS ON FILE
ESTEVEZ VELEZ, SERGIO           ADDRESS ON FILE
ESTEVEZ VELEZ, SERGIO E.        ADDRESS ON FILE
ESTEVEZ VILLANUEVA, MARISOL     ADDRESS ON FILE
ESTEVEZ VILLANUEVA, MILDRED     ADDRESS ON FILE
ESTEVEZ, AGUSTINA P.            LCDA. GRISSELLE GONZALEZ NEGRON   PO BOX 11155                                          SAN JUAN     PR      00922‐1155
ESTEVEZ, AGUSTINA P.            LCDO. DAVID FERNANDEZ ESTEVES     PO BOX 9023518                                        SAN JUAN     PR      00902‐3518
ESTEVEZ, DANYZ                  ADDRESS ON FILE
ESTEVEZ, HUGO                   ADDRESS ON FILE
ESTHER A ORTEGA RODRIGUEZ       ADDRESS ON FILE
ESTHER A. MORENO BONET          ADDRESS ON FILE
ESTHER A. QUINONES MONTES       ADDRESS ON FILE
ESTHER B ROSADO MORALES         ADDRESS ON FILE
ESTHER BERRIOS ARROYO           ADDRESS ON FILE
ESTHER BURGOS CAMACHO           ADDRESS ON FILE
ESTHER CABALLERO FIGUEROA       ADDRESS ON FILE
ESTHER CALDERON ASTACIO         ADDRESS ON FILE
ESTHER CAMACHO TORRES           ADDRESS ON FILE




                                                                                   Page 2646 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2647 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                          Address1                   Address2                               Address3   Address4   City         State   PostalCode   Country
ESTHER COLON SANTIAGO                  ADDRESS ON FILE
ESTHER COLON SUAREZ                    ADDRESS ON FILE
ESTHER CRESPIN CREDIT ESQ.             ADDRESS ON FILE
ESTHER CRUZ RAMOS                      ADDRESS ON FILE
ESTHER CRUZ RAMOS                      ADDRESS ON FILE
ESTHER CRUZ SANTONI                    ADDRESS ON FILE
ESTHER CRUZ SOJO                       ADDRESS ON FILE
ESTHER CUBANO MONAGAS                  ADDRESS ON FILE
ESTHER DE JESUS VILLAFANE              ADDRESS ON FILE
ESTHER DIAZ QUINONES                   ADDRESS ON FILE
ESTHER DUMENG ABREU                    ADDRESS ON FILE
ESTHER FIGUEROA PARA FRANKIE ALMODOVAR ADDRESS ON FILE
ESTHER FIGUEROA RIOS                   ADDRESS ON FILE
ESTHER GOMEZ TORRES                    ADDRESS ON FILE
ESTHER GONZALEZ MORALES                ADDRESS ON FILE
ESTHER HEREDIA ALAMO                   ADDRESS ON FILE
ESTHER HERNANDEZ GARCIA                ADDRESS ON FILE
ESTHER HERNANDEZ RODRIGUEZ             ADDRESS ON FILE
ESTHER I DE JESUS CASTRO               ADDRESS ON FILE
ESTHER I SANCHEZ PEREZ                 ADDRESS ON FILE
ESTHER I. DE JESUS CASTRO              ADDRESS ON FILE
ESTHER J ORTIZ ORTIZ                   ADDRESS ON FILE
ESTHER JIMENEZ RAMIREZ                 ADDRESS ON FILE
ESTHER JUSINO SANTIAGO                 ADDRESS ON FILE
ESTHER L AGUILA RIVERA                 ADDRESS ON FILE
ESTHER L SERRANO MATOS                 ADDRESS ON FILE
ESTHER L. RIVERA PIMENTEL              ADDRESS ON FILE
ESTHER LEYRA‐BENITEZ                   ADDRESS ON FILE
ESTHER LOPEZ RODRIGUEZ                 ADDRESS ON FILE
ESTHER LUISA GARAY CANABAL             ADDRESS ON FILE
ESTHER M CHEVERE GALARZA               ADDRESS ON FILE
ESTHER M COLOM MEDINA                  ADDRESS ON FILE
ESTHER M ESPONDA NUNEZ                 ADDRESS ON FILE
ESTHER M ITARA LOPEZ                   ADDRESS ON FILE
ESTHER M LOZADA                        ADDRESS ON FILE
ESTHER M MARTINEZ /JOSE NICOLAU        ADDRESS ON FILE
ESTHER M NATER MAISONET                ADDRESS ON FILE
ESTHER M PAGAN BAYONA                  ADDRESS ON FILE
ESTHER M PAGAN SERRANO                 ADDRESS ON FILE
ESTHER M PEREZ ALERS                   ADDRESS ON FILE
ESTHER M PEREZ REYES                   ADDRESS ON FILE
ESTHER M PIMENTEL RODRIGUEZ            ADDRESS ON FILE
ESTHER M RAMOS REYES                   ADDRESS ON FILE
ESTHER M RENTAS ANCIANI                ADDRESS ON FILE
ESTHER M RIVERA SANTIAGO               ADDRESS ON FILE
ESTHER M VALENTIN NUNEZ                ADDRESS ON FILE
ESTHER M. FONSECA ZAYAS                ADDRESS ON FILE
ESTHER M. GARCÍA VARELA                LUIS MADERA                PO BOX 13695                                                 SAN JUAN     PR      00908‐3695
ESTHER M. RIVERA MELENDEZ              ADDRESS ON FILE
ESTHER MACHADO PEREZ                   ADDRESS ON FILE
ESTHER MACHADO PEREZ                   ADDRESS ON FILE
ESTHER MALDONADO SANTOS                ADDRESS ON FILE
ESTHER MALDONADO Y MARIA MARTINEZ      ADDRESS ON FILE
ESTHER MARIA VELEZ SALVA               ADDRESS ON FILE
ESTHER MARIE LOZADA CRUZ               ADDRESS ON FILE
ESTHER MARTINEZ REMEDIOS               ADDRESS ON FILE
ESTHER MEDINA HERNANDEZ                ADDRESS ON FILE
ESTHER MEJIAS CALDER                   ADDRESS ON FILE
ESTHER MERCADO                         JUAN H. SAAVEDRA CASTRO    PO BOX 9021782                                               SAN JUAN     PR      00902‐1782
ESTHER MERCADO                         LAURA DOMINGUEZ LLERANDI   30 REPARTO PINERO ST.                                        GUAYNABO     PR      00969




                                                                                          Page 2647 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2648 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                        Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
ESTHER MERCADO SANTANA               ADDRESS ON FILE
ESTHER MONTANEZ ORTIZ                ADDRESS ON FILE
ESTHER MONTENEGRO BARRIOS            ADDRESS ON FILE
ESTHER MORALES ORTIZ                 ADDRESS ON FILE
ESTHER N AGOSTO DIAZ                 ADDRESS ON FILE
ESTHER N ROMAN TORO                  ADDRESS ON FILE
ESTHER N. MELENDEZ HERNANDEZ         ADDRESS ON FILE
ESTHER OLMO RODRIGUEZ                ADDRESS ON FILE
ESTHER PIZARRO MILLAN                ADDRESS ON FILE
ESTHER QUINTERO CARTAGENA            ADDRESS ON FILE
ESTHER RAMIREZ MONTALVO              ADDRESS ON FILE
ESTHER RAMOS PAGAN                   ADDRESS ON FILE
ESTHER RAMOS PEREZ                   ADDRESS ON FILE
ESTHER RIOS CRESPO                   ADDRESS ON FILE
ESTHER RIOS RODRIGUEZ                ADDRESS ON FILE
ESTHER RIVERA RIVERA                 ADDRESS ON FILE
ESTHER RIVERA VEGA                   ADDRESS ON FILE
ESTHER RODRIGUEZ COLON               ADDRESS ON FILE
ESTHER RODRIGUEZ DE JESUS            ADDRESS ON FILE
ESTHER RODRIGUEZ Y HERMINIA SANTOS   ADDRESS ON FILE
ESTHER ROSADO SANCHEZ                ADDRESS ON FILE
ESTHER SANTOS PACHECO                ADDRESS ON FILE
ESTHER SERRANO OCASIO                ADDRESS ON FILE
ESTHER SOSA NIEVES                   ADDRESS ON FILE
ESTHER SOTO IRIZARRY                 ADDRESS ON FILE
ESTHER TIRADO                        ADDRESS ON FILE
ESTHER TORRES MORALES                ADDRESS ON FILE
ESTHER TORRES MORALES                ADDRESS ON FILE
ESTHER V CASTILLO LOZANO             ADDRESS ON FILE
ESTHER VALENTIN MENDEZ               ADDRESS ON FILE
ESTHER VAQUER JULIA                  ADDRESS ON FILE
ESTHER VELEZ CRUZ                    ADDRESS ON FILE
ESTHER VELEZ SANTIAGO                ADDRESS ON FILE
ESTHER VICENTE                       ADDRESS ON FILE
ESTHER VILLARRUBIA GONZALEZ          ADDRESS ON FILE
ESTHER Y. BERRIOS DAVILA             ADDRESS ON FILE
ESTHER Z MACEIRA JIRAU               ADDRESS ON FILE
ESTHERMARIE RIVERA ORTIZ             ADDRESS ON FILE
ESTIEN MELENDEZ, CARMEN D.           ADDRESS ON FILE
ESTIEN MELENDEZ, CARMEN D.           ADDRESS ON FILE
ESTIEN RODRIGUEZ, AIDA               ADDRESS ON FILE
Eston Amor, Juan                     ADDRESS ON FILE
ESTRADA ABRAHAMS, ERMELINDA          ADDRESS ON FILE
ESTRADA ACEVEDO, KAROL               ADDRESS ON FILE
ESTRADA ADORNO, ANGELA               ADDRESS ON FILE
ESTRADA ADORNO, MARITZA              ADDRESS ON FILE
ESTRADA ADORNO, WILFREDO             ADDRESS ON FILE
ESTRADA ALEJANDRO, HAYDEE            ADDRESS ON FILE
ESTRADA ALEJANDRO, JESUS             ADDRESS ON FILE
ESTRADA ALEJANDRO, NORMA I           ADDRESS ON FILE
Estrada Almodovar, Jose              ADDRESS ON FILE
ESTRADA ALVARADO, MYRNA              ADDRESS ON FILE
ESTRADA ANGULO, MIGUEL               ADDRESS ON FILE
ESTRADA APONTE, AIME L.              ADDRESS ON FILE
ESTRADA APONTE, EDDIE                ADDRESS ON FILE
ESTRADA ARROYO, EMELI                ADDRESS ON FILE
ESTRADA AUTO AIR                     BO APEADERO               HC 764 BUZON 6214                                        PATILLAS     PR      00723
ESTRADA AVILES, GLADYS               ADDRESS ON FILE
ESTRADA AYALA, DELIS                 ADDRESS ON FILE
ESTRADA AYALA, JARIER                ADDRESS ON FILE




                                                                                   Page 2648 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2649 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESTRADA AYALA, JARIER            ADDRESS ON FILE
ESTRADA BAEZ, KARINA             ADDRESS ON FILE
ESTRADA BARADA, EDWIN R.         ADDRESS ON FILE
ESTRADA BARADA, JOEL             ADDRESS ON FILE
ESTRADA BARRETO, JUAN            ADDRESS ON FILE
ESTRADA BARRETO, MICHELLE        ADDRESS ON FILE
Estrada Batista, Willhem         ADDRESS ON FILE
ESTRADA BATISTA, WILMA L         ADDRESS ON FILE
Estrada Batista, Wilmer          ADDRESS ON FILE
Estrada Benitez, Xavier J.       ADDRESS ON FILE
ESTRADA BOLIVAR, JOSE            ADDRESS ON FILE
Estrada Bonano, Oscar J          ADDRESS ON FILE
ESTRADA BONILLA, FRANCISCA       ADDRESS ON FILE
ESTRADA BONILLA, FRANCISCA       ADDRESS ON FILE
ESTRADA BRAVO, ERIC              ADDRESS ON FILE
ESTRADA CABEZA, JOHNNY           ADDRESS ON FILE
ESTRADA CAMACHO, ARIANNE         ADDRESS ON FILE
ESTRADA CANALES, VICTOR          ADDRESS ON FILE
ESTRADA CARDONA, SAMUEL          ADDRESS ON FILE
ESTRADA CARRASQUILLO, GILMARIE   ADDRESS ON FILE
ESTRADA CARRASQUILLO, MARGIE     ADDRESS ON FILE
ESTRADA CARRERAS, JESSICA        ADDRESS ON FILE
ESTRADA CARRILLO, DAVID          ADDRESS ON FILE
ESTRADA CARRILLO, NELSON         ADDRESS ON FILE
ESTRADA CARRION, SHARON          ADDRESS ON FILE
ESTRADA CASTILLO, LEYDA          ADDRESS ON FILE
ESTRADA CASTILLO, MAYRA          ADDRESS ON FILE
ESTRADA CASTILLO, MAYRA          ADDRESS ON FILE
ESTRADA CASTILLO, WANDA E.       ADDRESS ON FILE
ESTRADA CASTRO, CARMEN           ADDRESS ON FILE
ESTRADA CHICLANA, RAFAEL         ADDRESS ON FILE
ESTRADA CLAUDIO, REYNALDO        ADDRESS ON FILE
ESTRADA CLAUDIO, ZAIDA M         ADDRESS ON FILE
ESTRADA COLLAZO MD, FIDEL        ADDRESS ON FILE
ESTRADA COLLAZO, CARMEN          ADDRESS ON FILE
ESTRADA COLLAZO, FIDEL           ADDRESS ON FILE
ESTRADA COLLAZO, PEDRO           ADDRESS ON FILE
ESTRADA COLLAZO, REYNALDO        ADDRESS ON FILE
ESTRADA COLOMBANI, ERICK         ADDRESS ON FILE
ESTRADA COLON, JESSICA           ADDRESS ON FILE
ESTRADA COLON, MILAGROS          ADDRESS ON FILE
ESTRADA COLON, NEREIDA           ADDRESS ON FILE
ESTRADA COLON, NOEMI             ADDRESS ON FILE
ESTRADA COLON, ODEMARIS          ADDRESS ON FILE
ESTRADA COLON, SONIA R           ADDRESS ON FILE
Estrada Colon, Waldemar          ADDRESS ON FILE
ESTRADA COLON, WALDEMAR          ADDRESS ON FILE
ESTRADA CORA, ALEXIS             ADDRESS ON FILE
ESTRADA CORREA, JOSE J.          ADDRESS ON FILE
ESTRADA CORREA, SILVIA           ADDRESS ON FILE
ESTRADA COSTA, RAFAEL            ADDRESS ON FILE
ESTRADA COTTO, MARIA D           ADDRESS ON FILE
ESTRADA COTTO, MARIAN            ADDRESS ON FILE
ESTRADA CRAIG, MICHELLE          ADDRESS ON FILE
Estrada Crespo, Daniel           ADDRESS ON FILE
ESTRADA CRUZ, ADA                ADDRESS ON FILE
ESTRADA CRUZ, ERIK A.            ADDRESS ON FILE
ESTRADA CRUZ, JOSE A             ADDRESS ON FILE
ESTRADA CRUZ, JOSE A             ADDRESS ON FILE
ESTRADA CRUZ, SARA L             ADDRESS ON FILE




                                                                             Page 2649 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2650 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESTRADA CRUZ, WALBERTO         ADDRESS ON FILE
ESTRADA CRUZ, WILMER           ADDRESS ON FILE
ESTRADA CRUZ, YAHAIRA          ADDRESS ON FILE
ESTRADA DE JESUS, SHEILA       ADDRESS ON FILE
ESTRADA DE JESUS, YARITZA      ADDRESS ON FILE
ESTRADA DEIDA, ALEJANDRO       ADDRESS ON FILE
ESTRADA DEL CAMPO, OMAR        ADDRESS ON FILE
ESTRADA DEL CAMPO, TAMARA      ADDRESS ON FILE
ESTRADA DEL VALLE, JANET       ADDRESS ON FILE
ESTRADA DEL VALLE, MIRIAM      ADDRESS ON FILE
ESTRADA DEL VALLE, NOEL        ADDRESS ON FILE
ESTRADA DELGADO, IVETTE        ADDRESS ON FILE
ESTRADA DELGADO, JOSE          ADDRESS ON FILE
ESTRADA DELGADO, LYDIA         ADDRESS ON FILE
ESTRADA DELGADO, MILDA         ADDRESS ON FILE
ESTRADA DIAZ, AIDA N           ADDRESS ON FILE
ESTRADA DIAZ, ANGELA           ADDRESS ON FILE
ESTRADA DIAZ, CARMEN           ADDRESS ON FILE
ESTRADA DIAZ, CHRISTIAN        ADDRESS ON FILE
ESTRADA DIAZ, JENNIFER V       ADDRESS ON FILE
ESTRADA DIAZ, JESUS            ADDRESS ON FILE
ESTRADA DIAZ, JESUS A          ADDRESS ON FILE
ESTRADA DIAZ, MODESTO          ADDRESS ON FILE
Estrada Diaz, Modesto          ADDRESS ON FILE
ESTRADA DIAZ, MODESTO          ADDRESS ON FILE
ESTRADA DIAZ, ROSA I.          ADDRESS ON FILE
ESTRADA ECHEVARRIA, MARLENE    ADDRESS ON FILE
ESTRADA FEBO, VALERIE          ADDRESS ON FILE
Estrada Febres, Luis           ADDRESS ON FILE
ESTRADA FERNANDEZ, ANNETTE     ADDRESS ON FILE
ESTRADA FERNANDEZ, ANNETTE F   ADDRESS ON FILE
ESTRADA FERNANDEZ, JOSE        ADDRESS ON FILE
ESTRADA FERRER, GERARDO        ADDRESS ON FILE
ESTRADA FERRER, ROSA M.        ADDRESS ON FILE
ESTRADA FIGUEROA, AIDA L       ADDRESS ON FILE
ESTRADA FIGUEROA, GONZALO      ADDRESS ON FILE
ESTRADA FIGUEROA, IRMA         ADDRESS ON FILE
ESTRADA FIGUEROA, JUAN         ADDRESS ON FILE
ESTRADA FIGUEROA, LIZA         ADDRESS ON FILE
ESTRADA FIGUEROA, MARISABEL    ADDRESS ON FILE
ESTRADA FIGUEROA, YAMARI       ADDRESS ON FILE
ESTRADA FLORES, ZORAIDA        ADDRESS ON FILE
ESTRADA GALARZA, DAVID         ADDRESS ON FILE
ESTRADA GALARZA, IRENE         ADDRESS ON FILE
ESTRADA GALARZA, NIDIA E       ADDRESS ON FILE
ESTRADA GALARZA, NOEL          ADDRESS ON FILE
ESTRADA GARCIA, CESAR          ADDRESS ON FILE
Estrada Garcia, Daisy          ADDRESS ON FILE
ESTRADA GARCIA, DANIEL         ADDRESS ON FILE
ESTRADA GARCIA, ELVIN          ADDRESS ON FILE
ESTRADA GARCIA, IXCIA          ADDRESS ON FILE
ESTRADA GARCIA, LUZ E          ADDRESS ON FILE
ESTRADA GARCIA, MYRNA          ADDRESS ON FILE
ESTRADA GARCIA, YASMIN         ADDRESS ON FILE
ESTRADA GARCIA, YOHIRALIES     ADDRESS ON FILE
ESTRADA GOMEZ, MARCOS          ADDRESS ON FILE
ESTRADA GONZALEZ, JORGE        ADDRESS ON FILE
ESTRADA GONZALEZ, KATHERINE    ADDRESS ON FILE
ESTRADA GONZALEZ, LUIS         ADDRESS ON FILE
ESTRADA GONZALEZ, LYDIA E      ADDRESS ON FILE




                                                                           Page 2650 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2651 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESTRADA GONZALEZ, YESENIA         ADDRESS ON FILE
ESTRADA GUADALUPE, FRANK          ADDRESS ON FILE
ESTRADA GUZMAN, FRANCISCO A.      ADDRESS ON FILE
ESTRADA HASSELL, LUZ P            ADDRESS ON FILE
ESTRADA HERNANDEZ, CARMEN R       ADDRESS ON FILE
ESTRADA HERNANDEZ, DESIREE        ADDRESS ON FILE
ESTRADA HERNANDEZ, JOEL I         ADDRESS ON FILE
ESTRADA HERNANDEZ, JOSE           ADDRESS ON FILE
ESTRADA HERNANDEZ, JOSE A         ADDRESS ON FILE
ESTRADA HERNANDEZ, LOURDES        ADDRESS ON FILE
ESTRADA HERNANDEZ, LOURDES        ADDRESS ON FILE
ESTRADA HERNANDEZ, LUIS           ADDRESS ON FILE
ESTRADA HERNANDEZ, NOEL           ADDRESS ON FILE
ESTRADA HERNANDEZ, SONIA N        ADDRESS ON FILE
ESTRADA HIDALGO, ERIKA            ADDRESS ON FILE
ESTRADA LANZA, MARILYN            ADDRESS ON FILE
ESTRADA LEBRON, ANGEL             ADDRESS ON FILE
ESTRADA LEBRON, DAMARIS           ADDRESS ON FILE
ESTRADA LEBRON, JOSE              ADDRESS ON FILE
ESTRADA LEBRON, NYDIA             ADDRESS ON FILE
ESTRADA LEBRON, NYDIA I           ADDRESS ON FILE
ESTRADA LEBRON, SONIA I           ADDRESS ON FILE
ESTRADA LEDESMA, MARIELYS         ADDRESS ON FILE
ESTRADA LLINAS, YARIBETH          ADDRESS ON FILE
Estrada Lopez, Felipe Saul        ADDRESS ON FILE
ESTRADA LOPEZ, IVETTE             ADDRESS ON FILE
ESTRADA LOPEZ, LEOCADIA           ADDRESS ON FILE
ESTRADA LOPEZ, SARA               ADDRESS ON FILE
ESTRADA LOPEZ, SAUL               ADDRESS ON FILE
ESTRADA LOPEZ, WALESKA            ADDRESS ON FILE
ESTRADA LOZADA, MABEL             ADDRESS ON FILE
ESTRADA LUGO, ANGELICA            ADDRESS ON FILE
ESTRADA LUGO, CLAUDIA             ADDRESS ON FILE
ESTRADA MALDONADO, CESAR          ADDRESS ON FILE
ESTRADA MALDONADO, LIZ            ADDRESS ON FILE
ESTRADA MANATOU, MARTA DE LOS R   ADDRESS ON FILE
ESTRADA MANATOV, JANETTE          ADDRESS ON FILE
ESTRADA MANTANEZ, CELIAN          ADDRESS ON FILE
ESTRADA MARQUEZ, ANA H            ADDRESS ON FILE
ESTRADA MARTINEZ, BRUNILDA        ADDRESS ON FILE
ESTRADA MARTINEZ, CARLOS          ADDRESS ON FILE
ESTRADA MARTINEZ, CARMEN I        ADDRESS ON FILE
ESTRADA MARTINEZ, JESUS L         ADDRESS ON FILE
ESTRADA MASSAS, LICERPIDIA        ADDRESS ON FILE
ESTRADA MEDERO, NAISHA J          ADDRESS ON FILE
ESTRADA MEDINA, EDWIN             ADDRESS ON FILE
ESTRADA MELENDEZ, HARA M          ADDRESS ON FILE
ESTRADA MELENDEZ, VIVIANA         ADDRESS ON FILE
ESTRADA MENA, BENJAMIN            ADDRESS ON FILE
ESTRADA MENDOZA, AIDA             ADDRESS ON FILE
ESTRADA MENDOZA, DAMARIS          ADDRESS ON FILE
ESTRADA MENDOZA, MONICA           ADDRESS ON FILE
ESTRADA MERCED, BIENVENIDO        ADDRESS ON FILE
ESTRADA MERCED, BIENVENIDO        ADDRESS ON FILE
ESTRADA MERCED, SAMUEL            ADDRESS ON FILE
ESTRADA MEZA, GLORIA              ADDRESS ON FILE
ESTRADA MIRANDA, ARMANDO          ADDRESS ON FILE
ESTRADA MIRANDA, VICTOR L.        ADDRESS ON FILE
ESTRADA MIRANDA,ARMANDO           ADDRESS ON FILE
ESTRADA MOJICA, MANUEL            ADDRESS ON FILE




                                                                              Page 2651 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2652 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                      Address1                       Address2                                 Address3   Address4   City         State   PostalCode   Country
ESTRADA MOLL, ANA                  ADDRESS ON FILE
ESTRADA MOLL, IRMA T               ADDRESS ON FILE
ESTRADA MONGE, JAMES               ADDRESS ON FILE
ESTRADA MONTANEZ, IRMARYS          ADDRESS ON FILE
ESTRADA MONTANEZ, SHEILA           ADDRESS ON FILE
ESTRADA MORALES, DANIEL            ADDRESS ON FILE
ESTRADA MORALES, LUCY I.           ADDRESS ON FILE
ESTRADA MULERO, CARLOS E.          ADDRESS ON FILE
ESTRADA MUNIZ, EMMA                ADDRESS ON FILE
ESTRADA MUNIZ, JENNY               ADDRESS ON FILE
ESTRADA MUNOZ, JULIO R.            ADDRESS ON FILE
ESTRADA NAVARRO, BETTY E           ADDRESS ON FILE
ESTRADA NAVARRO, NELSON            ADDRESS ON FILE
ESTRADA NEGRON, LORIMAR            ADDRESS ON FILE
ESTRADA NEGRON, MARIBEL            ADDRESS ON FILE
ESTRADA NEGRON, NARCISA            ADDRESS ON FILE
ESTRADA NERIS, JORGE               ADDRESS ON FILE
Estrada Neris, Jorge D             ADDRESS ON FILE
ESTRADA NERIS, JUAN A.             ADDRESS ON FILE
Estrada Neris, Modesto             ADDRESS ON FILE
ESTRADA NERIS, MODESTO             ADDRESS ON FILE
ESTRADA NIEVES, JONATHAN           ADDRESS ON FILE
ESTRADA OCASIO, CARMELO            ADDRESS ON FILE
ESTRADA OCASIO, JAVIER             ADDRESS ON FILE
ESTRADA OCASIO, JOSE               ADDRESS ON FILE
ESTRADA OCASIO, LUZ C              ADDRESS ON FILE
ESTRADA OCASIO, MARIA J.           ADDRESS ON FILE
Estrada Ocasio, Reinaldo           ADDRESS ON FILE
ESTRADA OCASIO, YOLANDA            ADDRESS ON FILE
Estrada Ojeda, Enrique             ADDRESS ON FILE
ESTRADA OLAVARRIA, JOSE A          ADDRESS ON FILE
ESTRADA OLIVER, BRIDGET            ADDRESS ON FILE
ESTRADA OLIVER, LUIS               ADDRESS ON FILE
ESTRADA OLIVER, LUIS G             ADDRESS ON FILE
ESTRADA OQUENDO, JUAN              ADDRESS ON FILE
ESTRADA OQUENDO, KEYLA ENID        ADDRESS ON FILE
Estrada Orozco, Nedtalee           ADDRESS ON FILE
ESTRADA ORTEGA, ANGEL              ADDRESS ON FILE
ESTRADA ORTEGA, EDGAR D            ADDRESS ON FILE
ESTRADA ORTEGA, LIZA I.            ADDRESS ON FILE
Estrada Ortiz, Francisco J         ADDRESS ON FILE
ESTRADA ORTIZ, KEVIN               ADDRESS ON FILE
ESTRADA ORTIZ, LUIS                ADDRESS ON FILE
ESTRADA ORTIZ, LUIS                ADDRESS ON FILE
ESTRADA ORTIZ, NOEMA               ADDRESS ON FILE
ESTRADA ORTIZ, SUHAILY             ADDRESS ON FILE
Estrada Otero, Guillermo           ADDRESS ON FILE
ESTRADA PABON, ERIC                ADDRESS ON FILE
Estrada Padilla, Noel              ADDRESS ON FILE
Estrada Padilla, Victor R.         ADDRESS ON FILE
ESTRADA PAGAN ANTHONY B. Y OTROS   LCDO. JOSÉ R. OLMO RODRÍGUEZ   EL CENTRO I OFICINA 215                                        SAN JUAN     PR      00918
ESTRADA PARIS, RAUL                ADDRESS ON FILE
ESTRADA PASSAPERA, EVELYN          ADDRESS ON FILE
ESTRADA PASTRANA, JUAN A           ADDRESS ON FILE
ESTRADA PASTRANA, OMAYRA L         ADDRESS ON FILE
ESTRADA PENA, EVA L                ADDRESS ON FILE
ESTRADA PENA, JULIA                ADDRESS ON FILE
ESTRADA PENA, JULIA                ADDRESS ON FILE
ESTRADA PENA, MARIA E              ADDRESS ON FILE
ESTRADA PENA, NELSON               ADDRESS ON FILE




                                                                                            Page 2652 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2653 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESTRADA PENA, NEREIDA             ADDRESS ON FILE
ESTRADA PEREZ, CARLOS             ADDRESS ON FILE
ESTRADA PEREZ, DENNIS             ADDRESS ON FILE
ESTRADA PEREZ, GLENDALI           ADDRESS ON FILE
ESTRADA PEREZ, HILDA E            ADDRESS ON FILE
ESTRADA PEREZ, JAVIER             ADDRESS ON FILE
ESTRADA PEREZ, JEANIALISSE        ADDRESS ON FILE
ESTRADA PEREZ, KARINA             ADDRESS ON FILE
ESTRADA PEREZ, MANUEL             ADDRESS ON FILE
ESTRADA PEREZ, MARCOS A           ADDRESS ON FILE
ESTRADA PEREZ, MAYRA              ADDRESS ON FILE
ESTRADA PEREZ, WILLIAM            ADDRESS ON FILE
ESTRADA PEREZ, ZAIDA I            ADDRESS ON FILE
ESTRADA PINERO, ANGELINA          ADDRESS ON FILE
ESTRADA POL, KATHERINE            ADDRESS ON FILE
ESTRADA POL, MYRNA                ADDRESS ON FILE
ESTRADA POL, NILSA                ADDRESS ON FILE
ESTRADA QUILES, ALEJANDRO         ADDRESS ON FILE
ESTRADA QUINONES, ABIMAEL         ADDRESS ON FILE
ESTRADA QUINONES, DAVID           ADDRESS ON FILE
ESTRADA QUINONES, ENILDA          ADDRESS ON FILE
ESTRADA RAMIREZ, BRUNILDA         ADDRESS ON FILE
ESTRADA RAMIREZ, TOMAS            ADDRESS ON FILE
ESTRADA RAMOS, ANTONIO            ADDRESS ON FILE
ESTRADA RAMOS, WANDA              ADDRESS ON FILE
ESTRADA RESTO, GRISEL             ADDRESS ON FILE
ESTRADA RESTO, JOSE               ADDRESS ON FILE
ESTRADA RESTO, NILKA              ADDRESS ON FILE
ESTRADA REVERON, JESUS            ADDRESS ON FILE
ESTRADA REYES, BLANCA M           ADDRESS ON FILE
ESTRADA REYES, CRISTIAN           ADDRESS ON FILE
ESTRADA REYES, ERICK              DIEGO LEDEE               PO BOX 891                                             GUAYAMA      PR      00785
ESTRADA REYES, SANDRA I           ADDRESS ON FILE
ESTRADA REYEZ, EMMA I             ADDRESS ON FILE
ESTRADA RIVAS, ADALICIA           ADDRESS ON FILE
ESTRADA RIVAS, ANA L              ADDRESS ON FILE
ESTRADA RIVAS, AVENTURADA         ADDRESS ON FILE
ESTRADA RIVAS, FLOR M             ADDRESS ON FILE
ESTRADA RIVAS, IRAIDA             ADDRESS ON FILE
ESTRADA RIVAS, LUZ Z              ADDRESS ON FILE
ESTRADA RIVERA, BETSY             ADDRESS ON FILE
ESTRADA RIVERA, ELEAZAR           ADDRESS ON FILE
ESTRADA RIVERA, ELEAZAR           ADDRESS ON FILE
ESTRADA RIVERA, ERICK A           ADDRESS ON FILE
Estrada Rivera, Erick A.          ADDRESS ON FILE
ESTRADA RIVERA, ERIK              ADDRESS ON FILE
ESTRADA RIVERA, FELIPE A          ADDRESS ON FILE
Estrada Rivera, Fernando          ADDRESS ON FILE
ESTRADA RIVERA, IRENE             ADDRESS ON FILE
ESTRADA RIVERA, JORGE             ADDRESS ON FILE
Estrada Rivera, Jorge L           ADDRESS ON FILE
ESTRADA RIVERA, JOSELINE NABELL   ADDRESS ON FILE
ESTRADA RIVERA, LINDA FE          ADDRESS ON FILE
ESTRADA RIVERA, MARIA             ADDRESS ON FILE
ESTRADA RIVERA, OSCAR L.          ADDRESS ON FILE
ESTRADA RIVERA, RANDY             ADDRESS ON FILE
ESTRADA RIVERA, WALESKA           ADDRESS ON FILE
ESTRADA RODRIGUEZ, AIDA E         ADDRESS ON FILE
ESTRADA RODRIGUEZ, JESUS          ADDRESS ON FILE
ESTRADA RODRIGUEZ, JOHANA         ADDRESS ON FILE




                                                                              Page 2653 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2654 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                      Address1                         Address2                              Address3      Address4   City         State   PostalCode   Country
ESTRADA RODRIGUEZ, LUIS            ADDRESS ON FILE
ESTRADA RODRIGUEZ, MIRIAM ESTHER   ADDRESS ON FILE
ESTRADA RODRIGUEZ, NELLY L         ADDRESS ON FILE
ESTRADA RODRIGUEZ, NELSON          ADDRESS ON FILE
ESTRADA RODRIGUEZ, PAOLA           ADDRESS ON FILE
ESTRADA RODRIGUEZ,ELIZABETH        ADDRESS ON FILE
ESTRADA ROHENA, BRENDA             ADDRESS ON FILE
ESTRADA ROHENA, GEORGINA           ADDRESS ON FILE
Estrada Rojas, Hector L            ADDRESS ON FILE
ESTRADA ROJAS, JESSICA             ADDRESS ON FILE
ESTRADA ROJAS, MILDRED             ADDRESS ON FILE
ESTRADA ROLON, CARMEN              ADDRESS ON FILE
ESTRADA ROLON, CESAR               ADDRESS ON FILE
ESTRADA ROMAN, MANUEL              ADDRESS ON FILE
ESTRADA ROMERO, ILEANET            ADDRESS ON FILE
ESTRADA ROSARIO, EDWIN             ADDRESS ON FILE
ESTRADA RUIZ, CHISTOPHER           ADDRESS ON FILE
ESTRADA RUIZ, CRISTOPHER           ADDRESS ON FILE
Estrada Ruiz, Ferdinand            ADDRESS ON FILE
ESTRADA RUIZ, FRANCISCO            ADDRESS ON FILE
ESTRADA RUIZ, HILDA E              ADDRESS ON FILE
ESTRADA RUIZ, JANICE               ADDRESS ON FILE
ESTRADA SALGADO, CARMEN S          ADDRESS ON FILE
Estrada Salgado, Luis E            ADDRESS ON FILE
ESTRADA SANCHEZ, MIGUEL A          ADDRESS ON FILE
Estrada Sanchez, Noel              ADDRESS ON FILE
ESTRADA SANCHEZ, XAVIER            ADDRESS ON FILE
ESTRADA SANTANA, DAVID             ADDRESS ON FILE
ESTRADA SANTANA, JACKELINE         ADDRESS ON FILE
Estrada Santana, Michael           ADDRESS ON FILE
ESTRADA SANTANA, MICHAEL           ADDRESS ON FILE
ESTRADA SANTIAGO, ANTONIO          LCDO. PEDRO JOEL LANDRAU LOPEZ   AVE. DOMENECH 207                     OFICINA 106              SAN JUAN     PR      00918
ESTRADA SANTIAGO, ANTONIO          LCDO. WILLIAM MARINI ROMAN       PO BOX 1688 LARES PR                                           LARES        PR      00669
ESTRADA SANTIAGO, CHRISTIAN        ADDRESS ON FILE
ESTRADA SANTIAGO, HECTOR           ADDRESS ON FILE
Estrada Santiago, Hector L.        ADDRESS ON FILE
ESTRADA SANTIAGO, LEISA            ADDRESS ON FILE
ESTRADA SANTOS, DAMARIS            ADDRESS ON FILE
ESTRADA SANTOS, GLORIA             ADDRESS ON FILE
ESTRADA SANTOS, JUAN               ADDRESS ON FILE
ESTRADA SANTOS, MARIA DE LOS A     ADDRESS ON FILE
ESTRADA SEDA, GILBERTO             ADDRESS ON FILE
ESTRADA SEGARRA, NOEMI             ADDRESS ON FILE
ESTRADA SEPULVEDA, MARGARITA       ADDRESS ON FILE
ESTRADA SEPULVEDA, SERGIO          ADDRESS ON FILE
ESTRADA SERRANO, EVELYN            ADDRESS ON FILE
ESTRADA SERRANO, JULIO             ADDRESS ON FILE
Estrada Serrano, Julio E           ADDRESS ON FILE
Estrada Serrano, Yomar             ADDRESS ON FILE
ESTRADA SIERRA, KATHY              ADDRESS ON FILE
ESTRADA SILVA, RAUL J              ADDRESS ON FILE
ESTRADA SOTO, ANGEL                ADDRESS ON FILE
ESTRADA SOTO, JENNIFER             ADDRESS ON FILE
ESTRADA SOTO, JOSE                 ADDRESS ON FILE
ESTRADA SOTO, JOSE                 ADDRESS ON FILE
ESTRADA SOTOMAYOR, CAROLYN         ADDRESS ON FILE
ESTRADA TARAZA, LYDIA              ADDRESS ON FILE
ESTRADA TOLEDO, JOHN               ADDRESS ON FILE
ESTRADA TOLENTINO, MARIA           ADDRESS ON FILE
ESTRADA TORRES, JOSE               ADDRESS ON FILE




                                                                                           Page 2654 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2655 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                      Address1                         Address2                    Address3   Address4   City             State   PostalCode   Country
ESTRADA TORRES, LEONELIZA          ADDRESS ON FILE
ESTRADA TORRES, MICHELLE           ADDRESS ON FILE
ESTRADA VARGAS, ANA L              ADDRESS ON FILE
ESTRADA VARGAS, BEATRICE           ADDRESS ON FILE
ESTRADA VARGAS, DAISY              ADDRESS ON FILE
ESTRADA VARGAS, JORGE              ADDRESS ON FILE
ESTRADA VARGAS, WANDA              ADDRESS ON FILE
ESTRADA VAZQUEZ, MARIO C.          ADDRESS ON FILE
Estrada Vazquez, Sylvia            ADDRESS ON FILE
ESTRADA VEGA, CARMEN B.            ADDRESS ON FILE
ESTRADA VEGA, MANUEL               ADDRESS ON FILE
ESTRADA VEGA, RAMON                ADDRESS ON FILE
ESTRADA VELAZQUEZ, JOSE            ADDRESS ON FILE
ESTRADA VELAZQUEZ, PEDRO           ADDRESS ON FILE
ESTRADA VELAZQUEZ, ZULMA           ADDRESS ON FILE
ESTRADA VELEZ, DOLORES             ADDRESS ON FILE
ESTRADA VELEZ, JAIME               ADDRESS ON FILE
ESTRADA VIERA, ABIUD               ADDRESS ON FILE
ESTRADA VILLANUEVA, CRISTOBAL      ADDRESS ON FILE
ESTRADA, EDGARDO                   ADDRESS ON FILE
ESTRADA, HECTOR L.                 ADDRESS ON FILE
ESTRADA, PALOMA KRYSTAL            ADDRESS ON FILE
ESTRADA,FELIX                      ADDRESS ON FILE
ESTRADAA ANDUJAR, JESUS            ADDRESS ON FILE
ESTRADAS AVILES, PEDRO             ADDRESS ON FILE
ESTRATEGIA A COMMUNICATIONS        P O BOX 13267                                                                      SAN JUAN         PR      00908
ESTRELLA A VAN DERDYS VIDAL        ADDRESS ON FILE
Estrella Abreu, Carlos M           ADDRESS ON FILE
ESTRELLA AGOSTO, JOSE R            ADDRESS ON FILE
ESTRELLA AGOSTO, LUIS A.           ADDRESS ON FILE
ESTRELLA ALEJANDRO, JANET          ADDRESS ON FILE
ESTRELLA ALVELO, RICARDO           ADDRESS ON FILE
ESTRELLA ANDINO, MYRNA             ADDRESS ON FILE
ESTRELLA APONTE, OFELIA            ADDRESS ON FILE
ESTRELLA BAEZ, YAZMIN              ADDRESS ON FILE
ESTRELLA BARADA, LUZ E.            ADDRESS ON FILE
ESTRELLA CABRERA, RICARDO          ADDRESS ON FILE
ESTRELLA CEREZO, ARIEL             ADDRESS ON FILE
Estrella Cerezo, Javier            ADDRESS ON FILE
ESTRELLA CEREZO, JAVIER            ADDRESS ON FILE
ESTRELLA CONCEPCION, LUIS          ADDRESS ON FILE
ESTRELLA CORREA, AMARIS            ADDRESS ON FILE
ESTRELLA CORREA, AYDELIS A         ADDRESS ON FILE
ESTRELLA CRUZ, JONATHAN GONZALEZ   LCDO. JAIME A. ALCOVER DELGADO   PO Box 919                                        QUEBRADILLAS     PR      00678‐0919
ESTRELLA D SANTIAGO PEREZ          ADDRESS ON FILE
ESTRELLA DE JESUS, PATRICIA L      ADDRESS ON FILE
ESTRELLA DE RIVERA, ANA            ADDRESS ON FILE
ESTRELLA DIAZ SANCHEZ              ADDRESS ON FILE
ESTRELLA DIAZ, YAITZA E            ADDRESS ON FILE
ESTRELLA DOMENECH ALFONSO          ADDRESS ON FILE
ESTRELLA ELECTRICAL SERVICE        HC 05 BOX 27168                                                                    CAMUY            PR      00627
ESTRELLA ESTRELLA, CAONABO         ADDRESS ON FILE
ESTRELLA FERNANDEZ, DIANA          ADDRESS ON FILE
ESTRELLA FRAGOSA, RAQUEL           ADDRESS ON FILE
ESTRELLA FRAGOSO, LEONOR           ADDRESS ON FILE
ESTRELLA GALARZA, ANGELO           ADDRESS ON FILE
ESTRELLA GARCIA SOLER              ADDRESS ON FILE
ESTRELLA GARCIA, ISABELINO         ADDRESS ON FILE
ESTRELLA GARCIA, RAYMOND           ADDRESS ON FILE
Estrella Garcia, Raymond L.        ADDRESS ON FILE




                                                                                 Page 2655 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2656 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                      Address1                       Address2                               Address3                Address4   City         State   PostalCode   Country
ESTRELLA GARCIA, WANDA I           ADDRESS ON FILE
ESTRELLA GONZALEZ, AMADA T         ADDRESS ON FILE
ESTRELLA GONZALEZ, AMADA T         ADDRESS ON FILE
ESTRELLA GONZALEZ, ELBA            ADDRESS ON FILE
ESTRELLA GONZALEZ, FERNANDO        ADDRESS ON FILE
ESTRELLA GONZALEZ, JOSE            ADDRESS ON FILE
ESTRELLA GONZALEZ, JUAN C.         ADDRESS ON FILE
ESTRELLA GONZALEZ, LUIS O.         ADDRESS ON FILE
ESTRELLA GUERRERO, JORGE           ADDRESS ON FILE
ESTRELLA GUERRERO, MERY J          ADDRESS ON FILE
ESTRELLA HERRERA, ANDREA A         ADDRESS ON FILE
ESTRELLA JIMENEZ HERNANDEZ         ADDRESS ON FILE
ESTRELLA JIMENEZ, JOHANNA          ADDRESS ON FILE
ESTRELLA JUARBE, LUZ I             ADDRESS ON FILE
                                                                                                         452 Ponce DE LEON STE
ESTRELLA L. CRUZ CORTES            LCDO. JOSE A. MORALES ARROYO   EDIF ASOC DE MAESTROS                  514                                SAN JUAN     PR      00918‐3413
ESTRELLA LOPEZ COLON               ADDRESS ON FILE
ESTRELLA LOPEZ, AIDA               ADDRESS ON FILE
ESTRELLA LOPEZ, AIDA               ADDRESS ON FILE
ESTRELLA LOPEZ, RAFAEL             ADDRESS ON FILE
ESTRELLA LUGO FELICIANO            ADDRESS ON FILE
ESTRELLA MARRERO, JACQUELINE       ADDRESS ON FILE
ESTRELLA MARTINEZ, ANGEL           ADDRESS ON FILE
ESTRELLA MARTINEZ, LUIS            ADDRESS ON FILE
ESTRELLA MARTINEZ, LUIS            ADDRESS ON FILE
ESTRELLA MARTIR / PRIMITIVA LUGO   ADDRESS ON FILE
ESTRELLA MATOS, GLORIA I.          ADDRESS ON FILE
ESTRELLA MATOS, RUTH               ADDRESS ON FILE
ESTRELLA MELENDEZ, DANIEL          ADDRESS ON FILE
ESTRELLA MELENDEZ, JASON           ADDRESS ON FILE
ESTRELLA MERCADO, BENJAMIN         ADDRESS ON FILE
ESTRELLA MIRANDA MARRERO           ADDRESS ON FILE
ESTRELLA MORALES, ANTONIO          ADDRESS ON FILE
ESTRELLA MORALES, CARMEN G         ADDRESS ON FILE
ESTRELLA MORALES, EDUARDO R.       ADDRESS ON FILE
ESTRELLA MORALES, MIGDALIA         ADDRESS ON FILE
ESTRELLA MUNOZ BELTRAN             ADDRESS ON FILE
ESTRELLA MUNOZ, OSVALDO            ADDRESS ON FILE
ESTRELLA NUNEZ CALDERO             ADDRESS ON FILE
ESTRELLA ORTEGA, LORNA E           ADDRESS ON FILE
ESTRELLA ORTIZ, ANDRES             ADDRESS ON FILE
ESTRELLA PEREZ SANCHEZ             ADDRESS ON FILE
ESTRELLA PEREZ, AMALIA             ADDRESS ON FILE
ESTRELLA PEREZ, ANA JORMELYS       ADDRESS ON FILE
ESTRELLA PEREZ, LEONARDO           ADDRESS ON FILE
Estrella Perez, Marcos A.          ADDRESS ON FILE
ESTRELLA PEREZ, RAMON A            ADDRESS ON FILE
ESTRELLA PEREZVALDIVIESO, MAYRA    ADDRESS ON FILE
ESTRELLA PIERLUISI, ROSELLE        ADDRESS ON FILE
ESTRELLA POMALES, YIRIAM N         ADDRESS ON FILE
Estrella Quinones, Victor M.       ADDRESS ON FILE
ESTRELLA RAMOS, ALLERTSE           ADDRESS ON FILE
ESTRELLA RAMOS, JOSE               ADDRESS ON FILE
ESTRELLA RAMOS, MARIVY             ADDRESS ON FILE
ESTRELLA REYES, ANA                ADDRESS ON FILE
ESTRELLA REYES, JOSE               ADDRESS ON FILE
ESTRELLA REYES, NOEL               ADDRESS ON FILE
ESTRELLA REYES, NOEL               ADDRESS ON FILE
ESTRELLA RIOS, FELICIA             ADDRESS ON FILE
ESTRELLA RIOS, JESSICA             ADDRESS ON FILE




                                                                                          Page 2656 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2657 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                          Address1                                 Address2                                  Address3   Address4   City          State   PostalCode   Country
ESTRELLA RIOS, WENDY                   ADDRESS ON FILE
ESTRELLA RIVERA, ANA D                 ADDRESS ON FILE
ESTRELLA RIVERA, JULISSA               ADDRESS ON FILE
ESTRELLA RIVERA, LUIS                  ADDRESS ON FILE
ESTRELLA RIVERA, MAGDA                 ADDRESS ON FILE
ESTRELLA RIVERA, VANESSA               ADDRESS ON FILE
ESTRELLA RODRIGUEZ, GLISETTE           ADDRESS ON FILE
ESTRELLA RODRIGUEZ, TRINIDAD           ADDRESS ON FILE
ESTRELLA ROJAS, ZEIDA                  ADDRESS ON FILE
ESTRELLA ROMERO, MARISOL               ADDRESS ON FILE
ESTRELLA ROMERO, MARISOL               ADDRESS ON FILE
Estrella Rosado, Rosa I                ADDRESS ON FILE
ESTRELLA SANTIAGO LUGO                 ADDRESS ON FILE
ESTRELLA SANTIAGO LUGO                 ADDRESS ON FILE
ESTRELLA SANTOS, JUAN                  ADDRESS ON FILE
ESTRELLA SOTO                          ADDRESS ON FILE
ESTRELLA SOTO PEREZ                    ADDRESS ON FILE
ESTRELLA SOTO VALENTIN                 ADDRESS ON FILE
ESTRELLA SOTO, ANETTE                  ADDRESS ON FILE
ESTRELLA SOTO, MARIA DE LOS A.         ADDRESS ON FILE
ESTRELLA TORRES, ANNA M.               ADDRESS ON FILE
ESTRELLA TORRES, CARMEN                ADDRESS ON FILE
ESTRELLA TORRES, IVONNE                ADDRESS ON FILE
ESTRELLA TORRES, NILDA L               ADDRESS ON FILE
ESTRELLA TORRES, ROXANA                ADDRESS ON FILE
ESTRELLA URETA, MIRCORD                ADDRESS ON FILE
ESTRELLA VAZQUEZ, JOMARIE              ADDRESS ON FILE
ESTRELLA VAZQUEZ, MARIBLANCA           ADDRESS ON FILE
ESTRELLA VEGA, JORGE                   ADDRESS ON FILE
ESTRELLA VEGA, JORGE L.                ADDRESS ON FILE
ESTRELLA VEGA, LUZ D.                  ADDRESS ON FILE
ESTRELLA ZAMBRANA, SYLKIA L.           ADDRESS ON FILE
ESTRELLA, ADELA                        ADDRESS ON FILE
ESTRELLA, WILBERT                      ADDRESS ON FILE
ESTRELLAGUZMAN, RAFAEL                 ADDRESS ON FILE
ESTRELLAS ORIENTALES PROPERTIES CORP   PO BOX 4317                                                                                              VEGA BAJA     PR      00694‐4317
ESTRELLITA ACEVEDO TRINIDAD            ADDRESS ON FILE
ESTRELLITA ACEVEDO TRINIDAD            LA PROPIA APELANTE POR DERECHO PROPIO.   URB. LOMAS VERDES CALLE PABONA 446                              BAYAMON       PR      00956
ESTRELLITA B VELEZ SOTO                ADDRESS ON FILE
ESTREMARA HERNANDEZ, WILLIAM           ADDRESS ON FILE
ESTREMERA ACEVEDO, ANTONIO             ADDRESS ON FILE
ESTREMERA CANTRES, MARIA               ADDRESS ON FILE
ESTREMERA CARABALLO, LISSETTE          ADDRESS ON FILE
ESTREMERA CASANOVA, YAZMIN             ADDRESS ON FILE
ESTREMERA COLON, JUAN                  ADDRESS ON FILE
ESTREMERA CRUZ, CARMELO                ADDRESS ON FILE
ESTREMERA CRUZ, JOSE                   ADDRESS ON FILE
ESTREMERA CRUZ, WALESKA                ADDRESS ON FILE
ESTREMERA DE JESUS, BRENDA             ADDRESS ON FILE
ESTREMERA DE JESUS, ERNESTO R          ADDRESS ON FILE
ESTREMERA DE JESUS, JOSEFA             ADDRESS ON FILE
ESTREMERA DE JESUS, LUIS               ADDRESS ON FILE
ESTREMERA DE JESUS, LUIS E             ADDRESS ON FILE
ESTREMERA DEID, LISSETTE               ADDRESS ON FILE
Estremera Deida, Javier A              ADDRESS ON FILE
ESTREMERA DELEO, NAZARETH              ADDRESS ON FILE
ESTREMERA DIAZ, ARCADIO                ADDRESS ON FILE
ESTREMERA DIAZ, MIGDALIA               ADDRESS ON FILE
ESTREMERA DIAZ, RAUL                   ADDRESS ON FILE
ESTREMERA FELICIANO, CARMEN D          ADDRESS ON FILE




                                                                                                           Page 2657 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2658 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
ESTREMERA FELICIANO, CARMEN M    ADDRESS ON FILE
ESTREMERA FELICIANO, RAFAEL A    ADDRESS ON FILE
ESTREMERA FIGUEROA, TRACY        ADDRESS ON FILE
ESTREMERA GARAY, HERMEDA         ADDRESS ON FILE
ESTREMERA GONZALEZ, EVELYN       ADDRESS ON FILE
ESTREMERA GONZALEZ, LUCRECIA     ADDRESS ON FILE
ESTREMERA GONZALEZ, MIRTA        ADDRESS ON FILE
Estremera Gonzalez, Orlando      ADDRESS ON FILE
ESTREMERA GONZALEZ, WILLIAM      ADDRESS ON FILE
ESTREMERA GONZALEZ, ZENAIDA      ADDRESS ON FILE
ESTREMERA HERNANDEZ, SUHAIL      ADDRESS ON FILE
ESTREMERA JIMENEZ, BETZAIDA      ADDRESS ON FILE
ESTREMERA JIMENEZ, EDWIN         ADDRESS ON FILE
ESTREMERA JIMENEZ, MANUEL A.     ADDRESS ON FILE
Estremera Llitera, Victor M.     ADDRESS ON FILE
ESTREMERA LUGO, DAMARIS          ADDRESS ON FILE
ESTREMERA LUGO, MARIDELIA        ADDRESS ON FILE
ESTREMERA MARTINEZ, SHEILA       ADDRESS ON FILE
ESTREMERA MEDINA, YESENIA        ADDRESS ON FILE
ESTREMERA MENDEZ, ALEXANDER      ADDRESS ON FILE
ESTREMERA MENDEZ, JUAN B         ADDRESS ON FILE
ESTREMERA MENDEZ, LANETTE        ADDRESS ON FILE
Estremera Mendez, William        ADDRESS ON FILE
ESTREMERA MERCADO, AIDA L        ADDRESS ON FILE
ESTREMERA MILLAN, KATHERINE      ADDRESS ON FILE
ESTREMERA MILLAN, KATHERINE      ADDRESS ON FILE
ESTREMERA MONTENEGRO, EFREN      ADDRESS ON FILE
ESTREMERA MONTES, WILLIAM        ADDRESS ON FILE
ESTREMERA MURPHY, IRIS D         ADDRESS ON FILE
Estremera Nieves, Angel L        ADDRESS ON FILE
Estremera Nieves, Pedro L        ADDRESS ON FILE
ESTREMERA ORTIZ, JUANITA         ADDRESS ON FILE
ESTREMERA ORTIZ, JUANITA         ADDRESS ON FILE
ESTREMERA ORTIZ, MARIELA         ADDRESS ON FILE
ESTREMERA ORTIZ, MIRIAM          ADDRESS ON FILE
ESTREMERA ORTIZ, VIVIAN C        ADDRESS ON FILE
ESTREMERA PEREZ, CARLOS R.       ADDRESS ON FILE
ESTREMERA PEREZ, JAVIER          ADDRESS ON FILE
ESTREMERA PEREZ, YESENIA         ADDRESS ON FILE
ESTREMERA PLAZA, LUIS            ADDRESS ON FILE
ESTREMERA RAMOS, MIOSOTY         ADDRESS ON FILE
ESTREMERA REILLO, MARILYN        ADDRESS ON FILE
ESTREMERA REILLO, MARILYN        ADDRESS ON FILE
ESTREMERA REILLO, MIGUEL         ADDRESS ON FILE
ESTREMERA RIOS, EDGARDO          ADDRESS ON FILE
ESTREMERA RIVERA, DIANA          ADDRESS ON FILE
ESTREMERA RIVERA, EMILY          ADDRESS ON FILE
ESTREMERA RODRIGUEZ, CARMEN I.   ADDRESS ON FILE
ESTREMERA RODRIGUEZ, DIANA       ADDRESS ON FILE
Estremera Roman, Gloria I        ADDRESS ON FILE
ESTREMERA ROMAN, KATHALINE       ADDRESS ON FILE
ESTREMERA RUIZ, MARIA M          ADDRESS ON FILE
ESTREMERA RUIZ, RICHARD          ADDRESS ON FILE
ESTREMERA SANCHEZ, VALERY        ADDRESS ON FILE
ESTREMERA SANTANA, EDWIN         ADDRESS ON FILE
ESTREMERA SANTANA, EDWIN         ADDRESS ON FILE
ESTREMERA SANTIAGO, ANDRES       ADDRESS ON FILE
ESTREMERA SANTIAGO, JOHANNA      ADDRESS ON FILE
ESTREMERA SANTIAGO, JOHANNA      ADDRESS ON FILE
ESTREMERA SANTIAGO, MADELYN      ADDRESS ON FILE




                                                                             Page 2658 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2659 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                          Address1                              Address2                                   Address3   Address4   City            State   PostalCode   Country
ESTREMERA SANTIAGO, NELSON             ADDRESS ON FILE
ESTREMERA SIERRA, SHEILA I.            ADDRESS ON FILE
Estremera Sierra, Sheila Ivette        ADDRESS ON FILE
ESTREMERA SOTO, ETIENNE                ADDRESS ON FILE
ESTREMERA SOTO, JOSE R                 ADDRESS ON FILE
ESTREMERA SOTO, JUAN J                 ADDRESS ON FILE
ESTREMERA TORRES, JANETTE              ADDRESS ON FILE
ESTREMERA TORRES, JOSE                 ADDRESS ON FILE
Estremera Vargas, Vivianse             ADDRESS ON FILE
ESTREMERA VAZQUEZ, WANDA I             ADDRESS ON FILE
ESTREMERA VEGA, JESSICA                ADDRESS ON FILE
ESTREMERA VELAZQUEZ, ISABEL            ADDRESS ON FILE
ESTREMERA, ARCANGEL                    ADDRESS ON FILE
Estremera, Juan A                      ADDRESS ON FILE
ESTREMERAPLAZA, FRANCISCO A            ADDRESS ON FILE
ESTREMERAS ROMAN, ANTONIO              ADDRESS ON FILE
ESTREMERAS SOTO, AIDA                  ADDRESS ON FILE
ESTREMERASOTO, JOSE A.                 ADDRESS ON FILE
ESTRONZA GRACIA, ZULEYKA               ADDRESS ON FILE
ESTRONZA MALDONADO, AGUSTIN            ADDRESS ON FILE
ESTRONZA MALDONADO, YAMARIS            ADDRESS ON FILE
Estronza Martinez, Richard             ADDRESS ON FILE
ESTRONZA RODRIGEZ, JOSE L              ADDRESS ON FILE
ESTRONZA RODRIGUEZ, NILDA E            ADDRESS ON FILE
ESTRONZA TORO, ANIXXA M                ADDRESS ON FILE
ESTRONZA VARGAS, BLANCA                ADDRESS ON FILE
ESTRONZA VELEZ, CARMEN M               ADDRESS ON FILE
ESTRONZA VELEZ, HUMBERTO               ADDRESS ON FILE
ESTRUCTURAS AE PSC                     ADDRESS ON FILE
ESTRUCTURAS AE PSC                     352 CALLE SAN CLAUDIO STE 1 PMB 213                                                                    SAN JUAN        PR      00926‐4144
ESTUDILLO RIVAS, JESUS                 ADDRESS ON FILE
ESTUDIO GRAFICO UNIVERSAL              CALLE AIBONITO 1451 PDA. 20                                                                            SANTURCE        PR      00909
ESTUDIO INTERLINEA CORP                67 IER PISO CALLE LOS BANOS                                                                            SAN JUAN        PR      00911
ESTUDIO INTERLINEA CORP                AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                        SAN JUAN        PR      00902‐4140
ESTUDIO LABORAL                        APARTADO 1211                                                                                          LAS PIEDRAS     PR      00771
ESTUDIO LEGAL DEL 2000                 URB SANTA ROSA                        51‐49 AVE MAIN                                                   BAYAMON         PR      00959
ESTUDIO LEGAL ECHEANDIA Y ASOCIADOS    PO BOX 140549                                                                                          ARECIBO         PR      00614‐0549
ESTUDIO LEGAL MARRERO ALCANTARA PSC    PO BOX 310                                                                                             MANATI          PR      00674
ESTUDIO LEGAL MARRERO‐ALCANTARA, PSC   CARR #2 KM 4238                                                                                        VEGA BAJA       PR      00693
ESTUDIO TECNICOS INC                   AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                        SAN JUAN        PR      00902‐4140
ESTUDIO TECNICOS INC                   PO BOX 12144                                                                                           SAN JUAN        PR      00914‐0144
ESTUDIOS COMERCIALES INC               P O BOX 9021194                                                                                        SAN JUAN        PR      00902‐1194
ESTUDIOS TECNICOS INC                  APARTADO 12144                                                                                         SAN JUAN        PR      00914‐0144
ESTUDIOS TECNICOS INC                  PO BOX 12144                                                                                           SAN JUAN        PR      00914‐0144
ESTUPINAN CASTRO, JOSE                 ADDRESS ON FILE
ESTUPINAN CASTRO, MARITZA              ADDRESS ON FILE
ESTUPIQAN RODRIGUEZ, CELIA             ADDRESS ON FILE
ESUILIN MELENDEZ, JESUS                ADDRESS ON FILE
ET ENGRAVING                           ROYAL PALM                            IK16 AVE NOGAL URB ROYAL PALM                                    BAYAMON         PR      00956
ETANISLAO MARTINEZ DIAZ                ADDRESS ON FILE
ETANISLAO MAYMI SANTIAGO               ADDRESS ON FILE
ETANISLAO NAVARRO RODRIGUEZ            ADDRESS ON FILE
ETANISLAO RODRIGUEZ CRUZ               ADDRESS ON FILE
ETECO INC                              HC 3 BOX 10607                                                                                         JUANA DIAZ      PR      00795‐9591
ETELVINA GARCIA/ ANDRES VELASCO        ADDRESS ON FILE
ETEMADI, JINOUS                        ADDRESS ON FILE
ETHAN A TEJADA SANCHEZ                 ADDRESS ON FILE
ETHEL L JIMENEZ TULIER                 ADDRESS ON FILE
ETHEL M TORRES ARROYO                  ADDRESS ON FILE
ETHEL M. SANTIAGO FIGUEROA             ADDRESS ON FILE




                                                                                                         Page 2659 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2660 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                   Address1                               Address2                                      Address3   Address4   City              State   PostalCode   Country
ETHELDREDA MERCADO VIERA        ADDRESS ON FILE
ETHERIDGE MD , BARBARA A        ADDRESS ON FILE
ETHERL G RUIZ FERNANDEZ         ADDRESS ON FILE
ETHERLINDA RENTA ZAYAS          ADDRESS ON FILE
ETHICON LLC/ SUNE WPRI LLC      475 CALLE C                            STE 401                                                             GUAYNABO          PR      00969
ETHICON LLC/ SUNE WPRI LLC      HATO INDUSTRIAL PARK                   ROAD 183 KM 8.3                                                     SAN LORENZO       PR      00754
ETHIEL A LOPEZ RODRIGUEZ        ADDRESS ON FILE
ETHIER SOTO GONZALEZ            ADDRESS ON FILE
ETHMARIE GONZALEZ RIVERA        ADDRESS ON FILE
ETHOS PROGRAM INC / ETHOS       CARIBBEAN MEDICAL CENTRE               2275 PONCE BY PASS SUITE 204                                        PONCE             PR      00717
ETIENNE GUADALUPE, RUFUS        ADDRESS ON FILE
ETIENNE GUADALUPE, RUFUS        ADDRESS ON FILE
ETIENNE MUNOZ Y EVELYN LOPEZ    ADDRESS ON FILE
ETIENNE ROLON                   ADDRESS ON FILE
ETIONY ALDARONDO                ADDRESS ON FILE
ETMAR AWARDS                    ADDRESS ON FILE
ETNA E. ALEJANDRO RODRIGUEZ     ADDRESS ON FILE
ETNA I RODRIGUEZ LEON           ADDRESS ON FILE
ETR ASSOCIATES                  100 ENTERPRISE WAY SUITE G300                                                                              SCOTTS VALLEY     CA      95066
ETR CONSULTING ENGINERRS PSC    COND SENORIAL PLAZA                    1326 CALLE SALUD SUITE 510                                          PONCE             PR      00717
ETS ADMINISTRATION INC          823 CALLE JOSE MARTI                                                                                       SAN JUAN          PR      00907‐3321
ETS PAYPHONES INC               PO BOX 143209                                                                                              FAYETTEVILLE      GA      30214
ETTIENE LUGO GOTAY              ADDRESS ON FILE
ETTIENNE ALICEA LOZADA          ADDRESS ON FILE
ETTIENNE LUGO DELGADO           ADDRESS ON FILE
EUARCIA ROSARIO OTERO           ADDRESS ON FILE
EUCLID SPIRAL PAPER TUBE CORP   VALLE SAN LUIS VIA DE LA MONTANA 325                                                                       CAGUAS            PR      00725‐0000
EUCLIDES BAEZ CRUZ              ADDRESS ON FILE
EUCLIDES BRIGNONI VERA          ADDRESS ON FILE
EUCLIDES FELICIANO MENDEZ       ADDRESS ON FILE
EUCLIDES PEREZ COLLAZO          ADDRESS ON FILE
EUDALDO BAEZ GALIB              ADDRESS ON FILE
EUDALES JACKS, ANGELA M         ADDRESS ON FILE
EUDE S HERNANDEZ SONERA         ADDRESS ON FILE
EUDEL RODRIGUEZ SANTIAGO        ADDRESS ON FILE
EUDELFIO REYES MUNIZ            ADDRESS ON FILE
EUDEMAR MALDONADO PEREZ         ADDRESS ON FILE
EUDEN RODRIGUEZ AQUINO          ADDRESS ON FILE
EUDES AUTO PARTS                ADDRESS ON FILE
EUDES M NEGRON MOLINA           ADDRESS ON FILE
EUDIS CEDE¥A CASTRO             ADDRESS ON FILE
EUDIS CEDEÐO CASTRO             ADDRESS ON FILE
EUDIS CEDENA CASTRO             ADDRESS ON FILE
EUDIS CEDENO CASTRO             ADDRESS ON FILE
EUFEMIA CINTRON CORDERO         ADDRESS ON FILE
EUFEMIA RIVERA ORTIZ            ADDRESS ON FILE
EUFEMIA RODRIGUEZ SOTO          ADDRESS ON FILE
EUFEMIO ATANACIO OLIVERAS       ADDRESS ON FILE
EUFEMIO COLON MENDOZA           ADDRESS ON FILE
EUFEMIO DE LEON BERRIOS         ADDRESS ON FILE
EUFEMIO DIAZ HICIANO            ADDRESS ON FILE
EUFEMIO LOPEZ RODRIGUEZ         ADDRESS ON FILE
EUFEMIO MARTINEZ CINTRON        ADDRESS ON FILE
EUFEMIO MEDINA SANCHEZ          ADDRESS ON FILE
EUFEMIO RODRIGUEZ               ADDRESS ON FILE
EUFEMIO RODRIGUEZ RUIZ          ADDRESS ON FILE
EUFEMIO SANTIAGO RODRIGUEZ      ADDRESS ON FILE
EUFEMIO SIERRA GONZALEZ         ADDRESS ON FILE
EUFEMIO VILLANUEVA              ADDRESS ON FILE
EUFORIAS SALON                  ADDRESS ON FILE




                                                                                                      Page 2660 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2661 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EUFRACIA ACOSTA, SALUSTIANO      ADDRESS ON FILE
EUFRACIA BERRIOS VALENTIN        ADDRESS ON FILE
EUFRANK CACERES PARRA            ADDRESS ON FILE
EUGENE A. FURSETH PEREZ          ADDRESS ON FILE
EUGENE AYERS TRINIDAD            ADDRESS ON FILE
EUGENE G DERIEUX SUAREZ          ADDRESS ON FILE
EUGENE J DU BIELAK               ADDRESS ON FILE
EUGENE RODRIGUEZ COLON           ADDRESS ON FILE
EUGENE SEGUIS MEDINA             ADDRESS ON FILE
EUGENE VAZQUEZ DOMINGUEZ         ADDRESS ON FILE
EUGENIA BELTRAN LAVIENA          ADDRESS ON FILE
EUGENIA CAMARENO MONTANEZ        ADDRESS ON FILE
EUGENIA CORDERO                  ADDRESS ON FILE
EUGENIA HERENCIA GARCIA          ADDRESS ON FILE
EUGENIA I ORSINI HERENCIA        ADDRESS ON FILE
EUGENIA IRIZARRY RIVERA          ADDRESS ON FILE
EUGENIA MAYORAL WIRSHING         ADDRESS ON FILE
EUGENIA ORTIZ GONZALEZ           ADDRESS ON FILE
EUGENIA RIVERA COLLAZO           ADDRESS ON FILE
EUGENIA RIVERA LOZADA            ADDRESS ON FILE
EUGENIA RODRIGUEZ BARRERA        ADDRESS ON FILE
EUGENIA RODRIGUEZ BARRERA        ADDRESS ON FILE
EUGENIA ROMAN COLLAZO            ADDRESS ON FILE
EUGENIA SANTOS MARCANO           ADDRESS ON FILE
EUGENIA V LOPEZ DROZ             ADDRESS ON FILE
EUGENIA VENTURA REYES            ADDRESS ON FILE
EUGENIA VENTURA REYES            ADDRESS ON FILE
EUGENIE BELFORT                  ADDRESS ON FILE
EUGENIO A CANO COREA             ADDRESS ON FILE
EUGENIO A COLON PADILLA          ADDRESS ON FILE
EUGENIO A GUARDIOLA WISCOVICH    ADDRESS ON FILE
EUGENIO A LOMBA ORTIZ            ADDRESS ON FILE
EUGENIO ALEMANY                  ADDRESS ON FILE
EUGENIO ALEXANDRINO AMADOR       ADDRESS ON FILE
EUGENIO ALICEA                   ADDRESS ON FILE
EUGENIO AMARO RAMOS              ADDRESS ON FILE
EUGENIO APONTE FIGUEROA          ADDRESS ON FILE
EUGENIO APONTE FIGUEROA / CRIM   ADDRESS ON FILE
EUGENIO BABRBOSA BURGOS          ADDRESS ON FILE
EUGENIO BAEZ ROSADO              ADDRESS ON FILE
EUGENIO BARBOSA BURGOS           ADDRESS ON FILE
EUGENIO BERRIOS RIVERA           ADDRESS ON FILE
EUGENIO C VICENTE                ADDRESS ON FILE
EUGENIO CARDONA OTERO            ADDRESS ON FILE
EUGENIO CARDONA V LOZADA         ADDRESS ON FILE
EUGENIO COLON MORENO             ADDRESS ON FILE
EUGENIO COTTO QUINONES           ADDRESS ON FILE
EUGENIO CRUZ BRITO               ADDRESS ON FILE
EUGENIO CRUZ CRUZ                ADDRESS ON FILE
EUGENIO DIAZ RIVERA              ADDRESS ON FILE
EUGENIO E GARCIA MOLINA          ADDRESS ON FILE
EUGENIO E GONZALEZ CASTILLO      ADDRESS ON FILE
EUGENIO G SOTO SANTANA           ADDRESS ON FILE
EUGENIO GARCIA CINTRON           ADDRESS ON FILE
EUGENIO GARCIA MARTINEZ          ADDRESS ON FILE
EUGENIO GOMEZ MARTINEZ           ADDRESS ON FILE
EUGENIO GONZALEZ CARABALLO       ADDRESS ON FILE
EUGENIO GONZALEZ CRUZ            ADDRESS ON FILE
EUGENIO GONZALEZ HERNANDEZ       ADDRESS ON FILE
EUGENIO GONZALEZ JORGE           ADDRESS ON FILE




                                                                             Page 2661 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2662 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                             Address1                    Address2                                  Address3   Address4   City         State   PostalCode   Country
EUGENIO H FONTANES SANTOS                 ADDRESS ON FILE
EUGENIO HERNANDEZ ORTIZ                   ADDRESS ON FILE
EUGENIO J GEIGEL FUENTES                  ADDRESS ON FILE
EUGENIO L VEGA/WANDA I ARCHILLA           ADDRESS ON FILE
EUGENIO LUGO QUIRINDONGO                  ADDRESS ON FILE
EUGENIO M SANTOS HUERTAS                  ADDRESS ON FILE
EUGENIO MALAVE ORTIZ                      ADDRESS ON FILE
EUGENIO MALDONADO COLLAZO                 ADDRESS ON FILE
EUGENIO MARTINEZ LOMBA                    ADDRESS ON FILE
EUGENIO MARTINEZ NAZARIO                  ADDRESS ON FILE
EUGENIO MARTINEZ POZO                     ADDRESS ON FILE
EUGENIO MEDINA SOTO                       ADDRESS ON FILE
EUGENIO MERCADO MERCADO                   ADDRESS ON FILE
EUGENIO MESTRE SUAREZ                     ADDRESS ON FILE
EUGENIO MORALES MALDONADO                 ADDRESS ON FILE
EUGENIO MULERO PORTELA                    ADDRESS ON FILE
EUGENIO MUNIZ MUNIZ                       ADDRESS ON FILE
EUGENIO MUNIZ MUNIZ                       ADDRESS ON FILE
EUGENIO MUNOZ IRIZARY                     ADDRESS ON FILE
EUGENIO MUNOZ IRIZARY                     ADDRESS ON FILE
EUGENIO N ROJAS PEREZ                     ADDRESS ON FILE
EUGENIO NUNEZ SIERRA                      ADDRESS ON FILE
EUGENIO ONEILL AVEZUELA                   ADDRESS ON FILE
EUGENIO ORTIZ DBA ORTIZ EXTERMINATING & G PO BOX 4422                                                                                 CAROLINA     PR      00984
EUGENIO ORTIZ MATOS                       ADDRESS ON FILE
EUGENIO OYOLA C/O ROSA FERNANDEZ OYOLA ADDRESS ON FILE
EUGENIO PEREZ APONTE                      ADDRESS ON FILE
EUGENIO PEREZ LOPEZ                       ADDRESS ON FILE
EUGENIO PRADO RODRIGUEZ                   ADDRESS ON FILE
EUGENIO QUIÐONES VELEZ                    ADDRESS ON FILE
EUGENIO QUINONES VELEZ                    ADDRESS ON FILE
EUGENIO QUINTANA POLANCO                  ADDRESS ON FILE
EUGENIO R PORTILLA SANCHEZ                ADDRESS ON FILE
EUGENIO R QUITANA PIZARRA                 ADDRESS ON FILE
EUGENIO R RODRIGUEZ MORALES               ADDRESS ON FILE
EUGENIO RAMOS BRACERO                     ADDRESS ON FILE
EUGENIO RIOS FANTAUZZI                    ADDRESS ON FILE
EUGENIO RIVERA COTTO                      ADDRESS ON FILE
EUGENIO RIVERA LOZADA                     ADDRESS ON FILE
EUGENIO RIVERA LOZADA                     ADDRESS ON FILE
EUGENIO RIVERA OLIVERA                    ADDRESS ON FILE
EUGENIO RIVERA RIOS                       ADDRESS ON FILE
EUGENIO RODRÍGUEZ BORRERO                 LCDO. JOSÉ J. GARCÍA DÍAZ   PMB 1127 CALLE PARIS 243                                        SAN JUAN     PR      00917
EUGENIO RODRIGUEZ LABOY                   ADDRESS ON FILE
EUGENIO RODRIGUEZ MUNIZ                   ADDRESS ON FILE
EUGENIO ROMERO ORTIZ                      ADDRESS ON FILE
EUGENIO SANCHEZ AYMAT                     ADDRESS ON FILE
EUGENIO SANTIAGO CANCEL                   ADDRESS ON FILE
EUGENIO SANTIAGO CANCEL                   ADDRESS ON FILE
EUGENIO SANTIAGO MARRERO                  ADDRESS ON FILE
EUGENIO SANTIAGO RIVERA                   ADDRESS ON FILE
EUGENIO SANTIAGO ROSARIO                  ADDRESS ON FILE
EUGENIO SERAFIN INC                       PO BOX 1409                                                                                 BAYAMON      PR      00960
EUGENIO TIRADO RIVERA                     ADDRESS ON FILE
EUGENIO TORRES COLON                      ADDRESS ON FILE
EUGENIO TORRES DIAZ                       ADDRESS ON FILE
EUGENIO TORRES TORRES                     ADDRESS ON FILE
EUGENIO TRINIDAD FLORES                   ADDRESS ON FILE
EUGENIO VALENTIN MENDEZ                   ADDRESS ON FILE
EUGENIO YULIAN                            ADDRESS ON FILE




                                                                                                 Page 2662 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2663 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                             Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
EUGUI PACHECO, JENNIE                     ADDRESS ON FILE
EULALIA BERNARD ARROYO                    ADDRESS ON FILE
EULALIA CRUZ QUINONES                     ADDRESS ON FILE
EULALIA GOMEZ HUERTAS /LA COCINA GLADYS   BO MARTIN GONZALEZ                                                                CAROLINA     PR      00987
EULALIA GONZALEZ FIGUEROA                 ADDRESS ON FILE
EULALIA GONZALEZ GONZALEZ                 ADDRESS ON FILE
EULALIA MONGE RIVERA                      ADDRESS ON FILE
EULALIA NEGRON ESPINET                    ADDRESS ON FILE
EULALIA NIEVES FEBLES                     ADDRESS ON FILE
EULALIA PIZARRO ANDINO                    ADDRESS ON FILE
EULALIA QUINONES RODRIGUEZ                ADDRESS ON FILE
EULALIA RAMOS DE RIOS                     ADDRESS ON FILE
EULALIA RIVERA FERNANDEZ                  ADDRESS ON FILE
EULALIA RIVERA ORTEGA                     ADDRESS ON FILE
EULALIA RIVERA ROSARIO                    ADDRESS ON FILE
EULALIO A TORRES ESTATE                   URB PARK GDNS             H9 CALLE GLACIER                                        SAN JUAN     PR      00926‐2115
EULALIO ORTIZ ORTOLAZA                    ADDRESS ON FILE
EULALIO ROMAN CUBA                        ADDRESS ON FILE
EULANDO PINERO GAGO                       ADDRESS ON FILE
EULANDO PINERO GAGO                       ADDRESS ON FILE
EULANDO PINERO GAGO                       ADDRESS ON FILE
EULICES A SUAREZ LOPEZ                    ADDRESS ON FILE
EULISES SANDOVAL ORTIZ                    ADDRESS ON FILE
EULOGIA OQUENDO OQUENDO                   ADDRESS ON FILE
EULOGIA QUINONES CANALES                  ADDRESS ON FILE
EULOGIA ROSARIO ORTIZ                     ADDRESS ON FILE
EULOGIA VALLE                             ADDRESS ON FILE
EULOGIO BERMUDEZ ROMERO                   ADDRESS ON FILE
EULOGIO CRUZ MONTANEZ                     ADDRESS ON FILE
EULOGIO DIAZ FELIX                        ADDRESS ON FILE
EULOGIO GOMEZ BORRERO                     ADDRESS ON FILE
EULOGIO GOMEZ BORRERO                     ADDRESS ON FILE
EULOGIO NIEVES CRESPO                     ADDRESS ON FILE
EULOGIO SOTO MANIZ                        ADDRESS ON FILE
EULOGIO TROCHE TORRES                     ADDRESS ON FILE
EUNICE A PAGAN VEGA                       ADDRESS ON FILE
EUNICE A. VAZQUEZ SANTOS                  ADDRESS ON FILE
EUNICE AYALA LATIMER                      ADDRESS ON FILE
EUNICE CENTENO SANCHEZ                    ADDRESS ON FILE
EUNICE DIAZ TORRES                        ADDRESS ON FILE
EUNICE FERNANDEZ RODRIGUEZ                ADDRESS ON FILE
EUNICE H PIKE VELEZ                       ADDRESS ON FILE
EUNICE J MUNOZ RIVERA                     ADDRESS ON FILE
EUNICE L GUZMAN REYES                     ADDRESS ON FILE
EUNICE LABOY MARRERO                      ADDRESS ON FILE
EUNICE LOPEZ TRUJILLO                     ADDRESS ON FILE
EUNICE M RODRIGUEZ                        ADDRESS ON FILE
EUNICE M. VALDEZ RAMIREZ                  ADDRESS ON FILE
EUNICE MA. ZAYAS GRULLON                  ADDRESS ON FILE
EUNICE MOLINA BERMUDEZ                    ADDRESS ON FILE
EUNICE MUNOZ PEREZ                        ADDRESS ON FILE
EUNICE N. VELEZ GONZALEZ                  ADDRESS ON FILE
EUNICE N. VELEZ GONZALEZ                  ADDRESS ON FILE
EUNICE PAGAN RODRIGUEZ                    ADDRESS ON FILE
EUNICE PEREZ CRUZ                         ADDRESS ON FILE
EUNICE R ECHEVARRIA MURILLO               ADDRESS ON FILE
EUNICE ROSADO CRESPO                      ADDRESS ON FILE
EUNICE S CANDELARIA DE JESUS              ADDRESS ON FILE
EUNIS CONTRERA MATOS                      ADDRESS ON FILE
EUNISE HERNANDEZ TAMARGO                  ADDRESS ON FILE




                                                                                       Page 2663 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2664 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                            Address1                        Address2                                     Address3                Address4   City              State   PostalCode   Country
EUNISSE HERNANDEZ QUINONES               ADDRESS ON FILE
EURASQUIN MARTINEZ, DIANA E              ADDRESS ON FILE
EURASQUIN MARTINEZ, MARIA J.             ADDRESS ON FILE
EUREMIO ALVARADO NEGRON                  ADDRESS ON FILE
EURIDICE CRUZ CEDENO                     ADDRESS ON FILE
EURIEL ACEVEDO RODRIGUEZ                 ADDRESS ON FILE
EURIPIDES ABREU ALEMAR                   ADDRESS ON FILE
EURIPIDES LUGO Y/O OLGA PEREZ            ADDRESS ON FILE
EURO AMERICANA DE EDICIONES CORP         200 AVE FERNANDEZ JUNCOS        SUITE 1 EST SAGRADO CORAZON                                                     SANTURCE          PR      00909
EURO AMERICANA DE EDICIONES CORP         PO BOX 195697                                                                                                   SAN JUAN          PR      00919‐5697
EURO ENGINEERING CONTRACTOR INC          PO BOX 9510                                                                                                     BAYAMON           PR      00960
EURO EQUIPMENT & SUPPLIES                PO BOX 190588                                                                                                   SAN JUAN          PR      00919‐0588
EURO KITCHENS INC                        PO BOX 4315                                                                                                     BAYAMON           PR      00958
EURO RSCG INC                            PO BOX 191646                                                                                                   SAN JUAN          PR      00919‐1646
EUROAMERICA DE EDICIONES CORP.           P. O. BOX 195697                                                                                                SAN JUAN          PR      00919‐5697
EUROAMERICANA DE EDICIONES               PO BOX 195697                                                                                                   SAN JUAN          PR      00919‐5697
EUROBANK                                 270 AVE MUNOZ RIVERA                                                                                            SAN JUAN          PR      00917‐0917

EUROBANK, EUROLEASE Y CARIBBEAN ALLIANCE LCDO. LUIS A. CARRION TAVAREZ   650 PLAZA SUITE 204                          650 AVE. MUNOZ RIVERA              SAN JUAN          PR      00918
EUROJAPON DISTRIBUTORS INC               2135 CARR 2 ST 15               PMB 234                                                                         BAYAMON           PR      00959‐5234
EUROKA AUTO PARTS INC                    GF 7 MARGINAL LAS MONJITAS                                                                                      PONCE             PR      00731
EUROPA PINERO GONZALEZ                   CAMBRIDGE PARK                  C 8 CALLE CHESTNUT                                                              SAN JUAN          PR      00926‐1431
EUROPEAN AUTO XPERT                      URB ESTANCIAS DE TORTUGUERO     CALLE TULIPA H 543                                                              VEGA BAJA         PR      00693
EUROPEAN DISTRIBUTORS, INC               HC 05 BOX 7300                                                                                                  GUAYNABO          PR      00971
EUROPEAN TUNNIG                          PUERTO NUEVO                    1366 CALLE8                                                                     SAN JUAN          PR      00920
EUROSPACE , INC.                         P. O. BOX 79141                                                                                                 CAROLINA          PR      00984‐9141
EUROSTAGE INC                            URB LAS VEGAS                   29 CALLE 16                                                                     CATANO            PR      00962
EUSEBIA ACOSTA Y/O MIRTA SANTIAGO        BO COCO NUEVO                   59 CALLE JOSE DE DIEGO                                                          SALINAS           PR      00751
EUSEBIA ARIAS MALDONADO                  ADDRESS ON FILE
EUSEBIA PERALTA RAMOS                    ADDRESS ON FILE
EUSEBIO ACEVEDO PEREZ                    ADDRESS ON FILE
EUSEBIO ADAMES MUNIZ                     ADDRESS ON FILE
EUSEBIO ARIAS, RAMON                     ADDRESS ON FILE
EUSEBIO BARBOSA RIVERA                   ADDRESS ON FILE
EUSEBIO CORTIJO APONTE                   ADDRESS ON FILE
EUSEBIO CRUZ ORTIZ                       ADDRESS ON FILE
EUSEBIO CRUZ SANTIAGO                    ADDRESS ON FILE
EUSEBIO D AMARO DE JESUS                 ADDRESS ON FILE
EUSEBIO GONZALEZ DUARTE                  ADDRESS ON FILE
EUSEBIO GONZALEZ VAZQUEZ                 ADDRESS ON FILE
EUSEBIO HERNANDEZ, ALTAGRACIA            ADDRESS ON FILE
EUSEBIO J COLON LEBRON                   ADDRESS ON FILE
EUSEBIO LAUREANO LORA                    ADDRESS ON FILE
EUSEBIO M MEJIA                          ADDRESS ON FILE
EUSEBIO MERCEDES DE PENA                 ADDRESS ON FILE
EUSEBIO ORTEGA BENAZARIO                 ADDRESS ON FILE
EUSEBIO PEREZ LLERAS                     ADDRESS ON FILE
EUSEBIO RAMOS ROSADO                     ADDRESS ON FILE
EUSEBIO REYES, MIRIAM R.                 ADDRESS ON FILE
EUSEBIO SANTIAGO SANTANA Y NELSON D SOTO ADDRESS ON FILE
EUSEBIO SIGARAN, CHRISTIAN               ADDRESS ON FILE
EUSEBIO URENA CEDENO                     ADDRESS ON FILE
EUSEBIO VAZQUEZ, ANGEL                   ADDRESS ON FILE
EUSEBIO VEGA MARRERO                     ADDRESS ON FILE
EUSEBIO VELEZ LORENZO                    LCDO. MICHAEL CORONA            110 CALLE BORINQUEN                          SUITE 4‐1                          TRUJILLO ALTO     PR      00976
EUSEBIOS CATERING                        BO PINAS                        RR 01 BOX 11460                                                                 TOA ALTA          PR      00953‐9715
EUSELIO CARRION FELICIANO                ADDRESS ON FILE
EUSTACIO BAEZ QUINONES                   ADDRESS ON FILE
EUSTACIO REYES ROLASCO                   ADDRESS ON FILE
EUSTACIO RODRIGUEZ RIVERA                ADDRESS ON FILE




                                                                                                       Page 2664 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2665 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EUSTACIO SANTIAGO ORTEGA                 ADDRESS ON FILE
EUSTAQUIO CALES ALVAREZ                  ADDRESS ON FILE
EUSTAQUIO MEDINA, EUCLIDES               ADDRESS ON FILE
EUSTAQUIO SANTIAGO ROSA                  ADDRESS ON FILE
EUSTAQUIO VAZQUEZ ORTIZ                  ADDRESS ON FILE
EUSTAQUIO VAZQUEZ ORTIZ                  ADDRESS ON FILE
EUSTIQUIO VIERA SANCHEZ                  ADDRESS ON FILE
EUTERPE CHARLES MEDINA                   ADDRESS ON FILE
EUWEMA KEAN, JEFFREY                     ADDRESS ON FILE
EV LAW PSC /EVELYN ADE JESUS RODRIGUEZ   MSC 1533                  HC 04 BOX 44374                                        CAGUAS       PR      00727
EVA A BETANCOURT PAGAN                   ADDRESS ON FILE
EVA ACUNA CRUZ                           ADDRESS ON FILE
EVA ACUNA CRUZ                           ADDRESS ON FILE
EVA ACUNA CRUZ                           ADDRESS ON FILE
EVA ARAYA RAMIREZ                        ADDRESS ON FILE
EVA ARAYA RAMIREZ                        JOSÉ FRANCO RIVERA        PO BOX 16834                                           SAN JUAN     PR      00907‐6834
EVA ARROYO RODRIGUEZ                     ADDRESS ON FILE
EVA BAEZ GAUD                            ADDRESS ON FILE
EVA BAEZ SANTANA                         ADDRESS ON FILE
EVA CALDERON SANTOS                      ADDRESS ON FILE
EVA CO DE JESUS COLLAZO                  ADDRESS ON FILE
EVA CORDERO CRUZ                         ADDRESS ON FILE
EVA D MATOS CORTES                       ADDRESS ON FILE
EVA D MATOS CORTES                       ADDRESS ON FILE
EVA D ROBLES HERNANDEZ                   ADDRESS ON FILE
EVA DE JESUS GONZALEZ                    ADDRESS ON FILE
EVA DE JESUS VISCARRONDO                 ADDRESS ON FILE
EVA DEL C SIERRA RODRIGUEZ               ADDRESS ON FILE
EVA DEL RIO AGUILAR                      ADDRESS ON FILE
EVA DIAZ SOTO                            ADDRESS ON FILE
EVA DIAZ TORRES                          ADDRESS ON FILE
EVA E AVILA CUADRADO                     ADDRESS ON FILE
EVA E RIVERA VELEZ                       ADDRESS ON FILE
EVA E ROSADO ACEVEDO                     ADDRESS ON FILE
EVA E TORO JIMENEZ                       ADDRESS ON FILE
EVA E. DE JESUS CARRASCO                 ADDRESS ON FILE
EVA E. FIGUEROA HERNANDEZ                ADDRESS ON FILE
EVA ENID FIGUEROA HERNANDEZ              ADDRESS ON FILE
EVA FIGUEROA LOPEZ                       ADDRESS ON FILE
EVA FORTUNA RIVERA                       ADDRESS ON FILE
EVA G QUINONES MARTINEZ Y WILLIAM GARCIA ADDRESS ON FILE
EVA G. VENEGAS CARMONA                   ADDRESS ON FILE
EVA GARCIA DAVILA                        ADDRESS ON FILE
EVA GARCIA LLORENS                       ADDRESS ON FILE
EVA GARCIA LOPEZ                         ADDRESS ON FILE
EVA GONZALEZ PAONESSA                    ADDRESS ON FILE
EVA H MORALES RIVERA                     ADDRESS ON FILE
EVA H SANTIAGO ROSADO                    ADDRESS ON FILE
EVA I BAEZ COSME                         ADDRESS ON FILE
EVA I CALDERON VILLAFANE                 ADDRESS ON FILE
EVA I MENDEZ BABILONIA                   ADDRESS ON FILE
EVA IBARZABAL RODRIGUEZ                  ADDRESS ON FILE
EVA J CRUZ DONES                         ADDRESS ON FILE
EVA J VALENTIN RIVERA                    ADDRESS ON FILE
EVA J. ARROYO CORA                       ADDRESS ON FILE
EVA JUSINO VAZQUEZ                       ADDRESS ON FILE
EVA L ACEVEDO BONILLA                    ADDRESS ON FILE
EVA L BAEZ MOJICA                        ADDRESS ON FILE
EVA L CARTAGENA SANCHEZ                  ADDRESS ON FILE
EVA L ESTRADA PENA                       ADDRESS ON FILE




                                                                                     Page 2665 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2666 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
EVA L GARCIA ROSARIO                      ADDRESS ON FILE
EVA L MARTINEZ ORTIZ                      ADDRESS ON FILE
EVA L ORTA VELEZ                          ADDRESS ON FILE
EVA L RODRIGUEZ COLON                     ADDRESS ON FILE
EVA L ROMERO PORTALATIN                   ADDRESS ON FILE
EVA L SANTIAGO CINTRON                    ADDRESS ON FILE
EVA L SANTIAGO PADILLA                    ADDRESS ON FILE
EVA L SERRANO MUNOZ                       ADDRESS ON FILE
EVA L TORRES MELENDEZ                     ADDRESS ON FILE
EVA L VALENTIN GONZALEZ                   ADDRESS ON FILE
EVA L. COLON MALDONADO                    ADDRESS ON FILE
EVA L. HERNANDEZ DIAZ                     ADDRESS ON FILE
EVA L. HERNANDEZ DIAZ                     ADDRESS ON FILE
EVA L. ORTIZ CAMACHO                      ADDRESS ON FILE
EVA L. SOSTRE RODRIGUEZ                   ADDRESS ON FILE
EVA LANDRON                               ADDRESS ON FILE
EVA LIZARDI RODRIGUEZ                     ADDRESS ON FILE
EVA LUISA SANCHEZ ORTIZ                   ADDRESS ON FILE
EVA LUZ SANCHEZ                           ADDRESS ON FILE
EVA M CONCEPCION OQUENDO                  ADDRESS ON FILE
EVA M CRUZ ECHEVARRIA                     ADDRESS ON FILE
EVA M LARRAURI                            ADDRESS ON FILE
EVA M MALDONADO CRUZ                      ADDRESS ON FILE
EVA M MARQUEZ CRUZ                        ADDRESS ON FILE
EVA M MORALES SANTIAGO                    ADDRESS ON FILE
EVA M ORTIZ VAZQUEZ                       ADDRESS ON FILE
EVA M PORTILLO OTAROLA                    ADDRESS ON FILE
EVA M. CEDENO CORTES                      ADDRESS ON FILE
EVA M. FLORES GONZALEZ                    ADDRESS ON FILE
EVA MACHADO PEREZ                         ADDRESS ON FILE
EVA MALDONADO DEL VALLE                   ADDRESS ON FILE
EVA MARIE MARRERO MARTINEZ                ADDRESS ON FILE
EVA MARTI MENDEZ                          ADDRESS ON FILE
EVA MATIAS CAMACHO                        ADDRESS ON FILE
EVA MATOS PARDO                           ADDRESS ON FILE
EVA MONTALVO VELEZ                        ADDRESS ON FILE
EVA N AYALA/ JOSE DIAZ                    ADDRESS ON FILE
EVA N COLLAZO OTERO                       ADDRESS ON FILE
EVA N ECHEVARRY / MIGUEL A OLIVO          ADDRESS ON FILE
EVA N FEBRES JIMENEZ                      ADDRESS ON FILE
EVA N LAMBOY LEBRON                       ADDRESS ON FILE
EVA N MORELL TOLEDO                       ADDRESS ON FILE
EVA N NIEVES QUINONES/ PURA ENERGIA INC   PO BOX 306                                                                       AGUADA       PR      00602
EVA N PEREZ QUINTANA                      ADDRESS ON FILE
EVA N RODRIGUEZ MILLAN                    ADDRESS ON FILE
EVA NAZARIO SANTANA                       ADDRESS ON FILE
EVA NEVAREZ CANDELARIA                    ADDRESS ON FILE
EVA NILDA ALVARADO RODRIGUEZ              ADDRESS ON FILE
EVA OCASIO QUINONES                       ADDRESS ON FILE
EVA ORTIZ SERRANO                         ADDRESS ON FILE
EVA P ROJAS PEREZ                         ADDRESS ON FILE
EVA PEREZ COSME                           ADDRESS ON FILE
EVA R MARTINEZ TORRES                     ADDRESS ON FILE
EVA RIVERA COLON                          ADDRESS ON FILE
EVA RODRIGUEZ CINTRON                     ADDRESS ON FILE
EVA RODRIGUEZ GERONES                     ADDRESS ON FILE
EVA ROSADO LEBRON                         ADDRESS ON FILE
EVA ROSARIO HUERTAS                       ADDRESS ON FILE
EVA S RAMOS HERNANDEZ                     ADDRESS ON FILE
Eva S. Lebrón Montes                      ADDRESS ON FILE




                                                                                      Page 2666 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2667 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                             Address1                       Address2                                     Address3   Address4   City                State   PostalCode   Country
EVA SANJURJO                              ADDRESS ON FILE
EVA SANTIAGO CRUZ                         ADDRESS ON FILE
EVA SEPULVEDA GONZALEZ                    ADDRESS ON FILE
EVA T CRUZ FIGUEROA                       ADDRESS ON FILE
EVA TORRES HERNANDEZ                      ADDRESS ON FILE
EVA V PIZARRO CLAUDIO                     ADDRESS ON FILE
EVA VALENTIN ESPINAL                      ADDRESS ON FILE
EVA VELAZQUEZ CALZADA                     ADDRESS ON FILE
EVA VELAZQUEZ QUINONEZ                    ADDRESS ON FILE
EVA VELAZQUEZ SOUCHET                     ADDRESS ON FILE
EVA VELAZQUEZ SOUCHET                     ADDRESS ON FILE
EVA Y. RADINSON PEREZ                     ADDRESS ON FILE
EVA Z PEREZ                               ADDRESS ON FILE
EVACION CONTRIBUTIV / VIOLA L RODRIGUEZ   ADDRESS ON FILE
EVACUSLED, INC                            29 RANGEMORE ROAD TORONTO                                                                         ONTARIO             ON      M8Z 5H8      Canada
EVADILIA CORDERO                          ADDRESS ON FILE
EVALIX RESTO SUAREZ                       ADDRESS ON FILE
EVALIZ RIVERA MEDINA                      ADDRESS ON FILE
EVALUACION TRATAMIENTO Y SERVICIOS INT.   PMB 673                        PO BOX 7105                                                        PONCE               PR      00732
EVALUATION AND RESEARCH GROUP             AREA DEL TESORO                DIVISION DE RECLAMACIONES                                          SAN JUAN            PR      00902‐4140
EVALUATION AND RESEARCH GROUP             COND CRYSTAL HOUSE             368 AVE DE DIEGO SUITE 1101                                        SAN JUAN            PR      00923
EVALUATION AND RESEARCH GROUP             PORTAL DE LOS PINOS            RR 36 BOX C43                                                      SAN JUAN            PR      00926
EVALUATION AND RESEARCH GROUP             URB LA CUMBRE                  617 CALLE JEFFERSON                                                SAN JUAN            PR      00926
EVALYN J BEAUCHAMP                        ADDRESS ON FILE
EVAMARIE MENDEZ TORRES                    ADDRESS ON FILE
EVAN E APONTE ROSA                        ADDRESS ON FILE
EVAN J VENEGAS DIAZ                       ADDRESS ON FILE
EVAN NICHOLS BOIRIE                       ADDRESS ON FILE
EVANELIE RONDON DIAZ                      ADDRESS ON FILE
EVANGELICAL COMMUNITY HOSPITAL            PO BOX 61507                                                                                      KING OF PRUSSIA     PA      19406
EVANGELICAL SCHOOL FOR THE DEAF           HC 1 PO BOX 7111                                                                                  LUQUILLO            PR      00773‐9602
EVANGELINA B.OCASIO RODRIGUEZ             ADDRESS ON FILE
EVANGELINA CIFUENTES CASTRO               ADDRESS ON FILE
EVANGELINA COLON FANTAUZZI                ADDRESS ON FILE
EVANGELINA ENCARNACION SALDANA            ADDRESS ON FILE
EVANGELINA LEBRON HERNANDEZ               ADDRESS ON FILE
EVANGELINA LOPEZ PLAZA                    1373 CALLE LUCHETTI APT 1373                                                                      SAN JUAN            PR      00907
EVANGELINA MERCADO MEDRANO                ADDRESS ON FILE
EVANGELINA QUINONES LOPEZ                 ADDRESS ON FILE
EVANGELINA RIVERA                         ADDRESS ON FILE
EVANGELINA RIVERA IRIZARRY                ADDRESS ON FILE
EVANGELINA RIVERA SANTIAGO                JUAN P. RIVERA ROMAN           PO BOX‐7498                                                        PONCE               PR      00732
EVANGELINA TIRADO COLON                   ADDRESS ON FILE
EVANGELINA VALENTIN                       ADDRESS ON FILE
EVANGELINE B OCASIO RODRIGUEZ             ADDRESS ON FILE
EVANGELINE B OCASIO RODRIGUEZ             ADDRESS ON FILE
EVANGELINE T GARLAND GONZALEZ             ADDRESS ON FILE
EVANGELIO SANTOS NEGRON                   ADDRESS ON FILE
EVANGELISTA ARROYO ROSARIO                ADDRESS ON FILE
EVANGELISTA ARROYO ROSARIO                ADDRESS ON FILE
EVANGELISTA COLON VARGAS                  ADDRESS ON FILE
EVANGELISTA DIAZ TROCHE                   ADDRESS ON FILE
EVANGELISTA FUENTES LOPEZ                 ADDRESS ON FILE
EVANGELISTA GARCIA                        ADDRESS ON FILE
EVANGELISTA GAUTHIER MONTANEZ             ADDRESS ON FILE
EVANGELISTA GUERRERO, ANGEL R             ADDRESS ON FILE
EVANGELISTA MALDONADO ORTIZ               ADDRESS ON FILE
EVANGELISTA MD, THOMAS                    ADDRESS ON FILE
EVANGELISTA REINOSO, MARTHA               ADDRESS ON FILE




                                                                                                       Page 2667 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2668 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                              Address1                            Address2                                   Address3   Address4             City          State   PostalCode   Country
                                                                                                                                     EDIFICIO HERNANDEZ
EVANGELISTA RIOS EXCIA                     LCDO. EDWIN H. SEPULVEDA VALENTIN   CALLEOGRESO #91                            SUITE C    LEBRON               AGUADILLA     PR      00603
EVANGELLIS RODRIGUEZ                       ADDRESS ON FILE
EVANGELY M PEREZ VAZQUEZ                   ADDRESS ON FILE
EVANILDA FELICIANO RODRIGUEZ               ADDRESS ON FILE
EVANNETTE SEDA PEREZ                       ADDRESS ON FILE
EVANS ALBIZU/ SENORA DE LA VIRGEN MILAGR   ADDRESS ON FILE
EVANS GONZALEZ, ARLINE                     ADDRESS ON FILE
EVANS MD , JOSEPH J                        ADDRESS ON FILE
EVANS MD, ROBERT                           ADDRESS ON FILE
EVANS NEWTON INCORPORATED                  LAS CUMBRES, 667 CALLE TAFT                                                                                    SAN JUAN      PR      00920
EVANS SUAREZ, DONAL                        ADDRESS ON FILE
Evanston Insurance Company                 Attn: Paul Springman, President     10 Parkway North                                                           Deerfield     IL      60015
Evanston Insurance Company                 Ten Parkway North                                                                                              Deerfield     IL      60015
EVARISTA CANDELARIA SANTIAGO               ADDRESS ON FILE
EVARISTO CINTRON                           ADDRESS ON FILE
EVARISTO CRUZ MORALES                      ADDRESS ON FILE
EVARISTO DIAZ SERRANO                      ADDRESS ON FILE
EVARISTO DIAZ SERRANO                      ADDRESS ON FILE
EVARISTO FEBUS HUERTAS                     ADDRESS ON FILE
EVARISTO GARCIA MONTANEZ                   ADDRESS ON FILE
EVARISTO GARCIA MONTANEZ                   ADDRESS ON FILE
EVARISTO MALDONADO RODRIGUEZ               ADDRESS ON FILE
EVARISTO MALDONADO RODRIGUEZ               ADDRESS ON FILE
EVARISTO MARRERO MONTESINO                 ADDRESS ON FILE
EVARISTO MERCADO SOTO                      ADDRESS ON FILE
EVARISTO REYES MARTINEZ                    ADDRESS ON FILE
EVARISTO REYES MARTINEZ                    ADDRESS ON FILE
EVARISTO REYES RIVERA                      ADDRESS ON FILE
EVARISTO RIVERA COLON                      ADDRESS ON FILE
EVARISTO RIVERA GONZALEZ                   ADDRESS ON FILE
EVARISTO RODRIGUEZ OQUENDO                 ADDRESS ON FILE
EVARISTO RONDON FEBUS                      ADDRESS ON FILE
EVARISTO ROSARIO LOPEZ                     ADDRESS ON FILE
EVARISTO ROSARIO ORTIZ                     ADDRESS ON FILE
EVARISTO SALGADO ROBLES                    ADDRESS ON FILE
EVARISTO SCHETTINI NAVARRO                 ADDRESS ON FILE
EVARISTO SCHETTINI NAVARRO                 ADDRESS ON FILE
EVARISTO SCHETTINI NAVARRO                 ADDRESS ON FILE
EVARISTO VELEZ FORTUNO                     ADDRESS ON FILE
EVAS INIFORM AND MORE                      URB MARIOLGA                        R 9 AVE LUIS MUNOZ RIVERA                                                  CAGUAS        PR      00725
EVBUOMWAN, FELIX                           ADDRESS ON FILE
EVC CORPORATION                            HC 2 BOX 6526                                                                                                  LOIZA         PR      00772‐9640
EVE FLORES, YENNELLY                       ADDRESS ON FILE
EVE SCHLESINGER, JENNIFER                  ADDRESS ON FILE
EVECHARRIA BURGOS, RAMON L                 ADDRESS ON FILE
EVELIDZA VAZQUEZ DEL VALLE                 ADDRESS ON FILE
EVELIN RAMOS BARBOSA                       ADDRESS ON FILE
EVELINA HERNANDEZ FELICIANO                ADDRESS ON FILE
EVELINA RIVERA SANTIAGO                    ADDRESS ON FILE
EVELINA SOLER TORRES                       ADDRESS ON FILE
EVELIO A ROMAN NORMANDIA                   ADDRESS ON FILE
EVELIO ACOSTA PIZARRO                      ADDRESS ON FILE
EVELIO AGUDO MUNIZ                         ADDRESS ON FILE
EVELIO ALEJANDRO RIVERA V ELA              FRANCISCO DEL VALLE SOSA            PO BOX 190076                                                              SAN JUAN      PR      00919‐0076
EVELIO ALEJANDRO RIVERA V ELA              KILMARIES MALDONADO PEREZ           PO BOX 11155                                                               SAN JUAN      PR      00922‐1155
EVELIO AVILA VELEZ                         ADDRESS ON FILE
EVELIO CARABALLO ORENGO                    ADDRESS ON FILE
EVELIO CORTES RODRIGUEZ                    ADDRESS ON FILE
EVELIO DROZ RAMOS                          ADDRESS ON FILE




                                                                                                           Page 2668 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2669 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                       Address1                              Address2                                Address3   Address4   City         State   PostalCode   Country
EVELIO PEREZ CENTENO                ADDRESS ON FILE
EVELIO PEREZ MEDINA                 ADDRESS ON FILE
EVELIO PINA PEREZ                   ADDRESS ON FILE
EVELIO SANTIAGO DAVID               ADDRESS ON FILE
EVELISA VELEZ CARDONA               ADDRESS ON FILE
EVELISES VILAFANE GUZMAN            ADDRESS ON FILE
EVELISSA MEDINA FUENTES             ADDRESS ON FILE
EVELISSE COLON CARRERO              ADDRESS ON FILE
EVELISSE KETTERING MORALES          ADDRESS ON FILE
EVELISSE RIVERA AYALA               ADDRESS ON FILE
EVELIXSA MARTINEZ ALICEA            ADDRESS ON FILE
EVELIZ E. TOMEI TORO                ADDRESS ON FILE
EVELYDIS CABELLO RAMOS              ADDRESS ON FILE
EVELYN                              LCDO. JAIME A. PICÓ NIEVES            PO BOX 70199                                                  SAN JUAN     PR      00936
EVELYN A QUINONES Y EVELYN GARCIA   ADDRESS ON FILE
EVELYN A SAMPAYO RAMOS              PABLO LUGO LEBRON                     PO BOX 8051                                                   HUMACAO      PR      00792‐8051
EVELYN A. DE JESUS RODRIGUEZ        ADDRESS ON FILE
EVELYN A. VIERA CORCHADO            ADDRESS ON FILE
EVELYN ACOSTA VARGAS                ADDRESS ON FILE
EVELYN AGOSTO CRUZ                  ADDRESS ON FILE
EVELYN AGUIRRE LOPEZ                ADDRESS ON FILE
EVELYN ALAGO MERCADO                ADDRESS ON FILE
EVELYN ALFONSO CINTRON              ADDRESS ON FILE
EVELYN ALVARADO BAEZ                ADDRESS ON FILE
EVELYN ALVAREZ ADORNO               ADDRESS ON FILE
EVELYN AMOROS RAMOS                 ADDRESS ON FILE
EVELYN ANDRADES PEARSON             ADDRESS ON FILE
EVELYN ANDUJAR ANDUJAR              ADDRESS ON FILE
EVELYN ANDUJAR CORDERO              ADDRESS ON FILE
EVELYN ANGULO ENCARNACION           ADDRESS ON FILE
EVELYN AQUINO JIMENEZ               ADDRESS ON FILE
EVELYN AQUINO ROSADO                ADDRESS ON FILE
EVELYN AROCHO ORTIZ                 ADDRESS ON FILE
EVELYN ARROYO CORTES                ADDRESS ON FILE
EVELYN ARROYO ORTIZ                 ADDRESS ON FILE
EVELYN ARROYO QUIÑONES              LCDA. WANDA I. MARÍN LUGO             1225 Ave. Muñoz Rivera                                        Ponce        PR      0071‐0635
EVELYN ARROYO QUIÑONES              LCDO. JESÚS MANUEL MORALES IRIZARRY   P. O. Box 33‐1042                                             Ponce        PR      00733‐1042
EVELYN AVILES SAEZ                  ADDRESS ON FILE
EVELYN AYALA VEGA                   ADDRESS ON FILE
EVELYN B MUNIZ SUAREZ               ADDRESS ON FILE
EVELYN B. BURGOS ORTIZ              ADDRESS ON FILE
EVELYN BADILLO LOPEZ                ADDRESS ON FILE
EVELYN BAEZ COLON                   ADDRESS ON FILE
EVELYN BAEZ COLON                   ADDRESS ON FILE
Evelyn Baez Lopez                   ADDRESS ON FILE
EVELYN BAEZ OSORIO                  ADDRESS ON FILE
EVELYN BAEZ ROSADO                  ADDRESS ON FILE
EVELYN BARRIENTOS IDEFONSO          ADDRESS ON FILE
EVELYN BASCÓ MALDONADO V ELA        LCDO. MIGUEL CANCIO ARCELAY           PO BOX 8414                                                   SAN JUAN     PR      00910
EVELYN BATISTA MATOS                ADDRESS ON FILE
EVELYN BATISTA RODRIGUEZ            ADDRESS ON FILE
EVELYN BERMUDEZ, ANTHONY F          ADDRESS ON FILE
EVELYN BERRIOS HERNANDEZ            ADDRESS ON FILE
EVELYN BERRIOS VEGA                 ADDRESS ON FILE
EVELYN BETANCOURT VILLANUEVA        ADDRESS ON FILE
EVELYN BRACERO MARRERO              ADDRESS ON FILE
EVELYN BREGON GARCIA                ADDRESS ON FILE
EVELYN BURGOS HERNANDEZ             ADDRESS ON FILE
EVELYN BURGOS LUZUNARIS             ADDRESS ON FILE
EVELYN C GUENARD VARGAS             ADDRESS ON FILE




                                                                                                   Page 2669 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2670 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                              Address1                       Address2                                 Address3   Address4   City          State   PostalCode   Country
EVELYN C NAZARIO JUSINO                    ADDRESS ON FILE
EVELYN CABRERA CRUZ                        ADDRESS ON FILE
EVELYN CABRERA CRUZ                        ADDRESS ON FILE
EVELYN CAEZ FERNANDEZ                      ADDRESS ON FILE
EVELYN CALDERON                            ADDRESS ON FILE
EVELYN CALDERON ALVAREZ                    ADDRESS ON FILE
EVELYN CALDERON ALVAREZ                    ADDRESS ON FILE
EVELYN CALDERON PARRILLA                   ADDRESS ON FILE
EVELYN CAMACHO QUINONES                    ADDRESS ON FILE
EVELYN CANCEL PERAZA                       ADDRESS ON FILE
EVELYN CARRILLO FUENTES                    ADDRESS ON FILE
EVELYN CASILLA TOLENTINO                   ADDRESS ON FILE
EVELYN CASTRO GONZALEZ                     ADDRESS ON FILE
EVELYN CASTRO MATOS                        ADDRESS ON FILE
EVELYN CASTRO Y JANNA N GALINDEZ           ADDRESS ON FILE
EVELYN CENTENO DE JESUS                    ADDRESS ON FILE
EVELYN CEREZO SANTIAGO                     ADDRESS ON FILE
EVELYN CINTRON ABREU                       ADDRESS ON FILE
EVELYN CINTRON ABREU                       ADDRESS ON FILE
EVELYN COLLAZO MESTRE                      ADDRESS ON FILE
EVELYN COLLAZO RIVERA                      ADDRESS ON FILE
EVELYN COLLAZO SANTIAGO                    ADDRESS ON FILE
EVELYN COLLAZO SANTIAGO                    ADDRESS ON FILE
EVELYN COLON FIGUEROA                      ADDRESS ON FILE
EVELYN COLON FORTI                         ADDRESS ON FILE
EVELYN COLON JIMENEZ                       ADDRESS ON FILE
EVELYN COLON LUNA                          ADDRESS ON FILE
EVELYN COLON MARTINEZ                      LCDO. WENDELL W. COLÓN MUÑOZ   LCDO. WENDELL W. COLÓN MUÑOZ PO BOX 7970                       Ponce         PR      00732
EVELYN COLON QUINTANA                      ADDRESS ON FILE
EVELYN COLON ROSA                          ADDRESS ON FILE
EVELYN CONCEPCION ABALOS                   ADDRESS ON FILE
EVELYN CONCEPCION CALDERA                  ADDRESS ON FILE
EVELYN CORALES RAMOS                       ADDRESS ON FILE
EVELYN CORDERO CHAPARRO                    ADDRESS ON FILE
EVELYN CORDOVA PABON                       ADDRESS ON FILE
EVELYN CORIANO ANDALUZ                     ADDRESS ON FILE
EVELYN CORREA CORREA                       ADDRESS ON FILE
EVELYN CORTES LABOY                        ADDRESS ON FILE
EVELYN CORTES VALLE                        ADDRESS ON FILE
EVELYN CRESPO IRRIZARY                     ADDRESS ON FILE
EVELYN CRESPO IRRIZARY                     ADDRESS ON FILE
EVELYN CRUZ ACOSTA                         ADDRESS ON FILE
EVELYN CRUZ ARCE                           ADDRESS ON FILE
EVELYN CRUZ BERRIOS                        ADDRESS ON FILE
EVELYN CRUZ CUMBA                          ADDRESS ON FILE
EVELYN CRUZ GONZALEZ                       ADDRESS ON FILE
EVELYN CRUZ GUTIERREZ                      ADDRESS ON FILE
EVELYN CRUZ GUZMAN                         ADDRESS ON FILE
EVELYN CRUZ MONSERRATE                     ADDRESS ON FILE
EVELYN CRUZ RAMOS                          ADDRESS ON FILE
EVELYN CUADRA                              ADDRESS ON FILE
EVELYN D CORA SANTIAGO                     ADDRESS ON FILE
EVELYN D HERNANDEZ TOLENTINO               ADDRESS ON FILE
EVELYN D. FIGUEROA ROSARIO                 ADDRESS ON FILE
EVELYN DALMAU ALVAREZ                      ADDRESS ON FILE
EVELYN DAVILA / CLASE GRADUANDA DEL 1968   P O BOX 187                                                                                   CABO ROJO     PR      00623
EVELYN DE JESUS CARABALLO                  ADDRESS ON FILE
EVELYN DE JESUS DELGADO                    ADDRESS ON FILE
EVELYN DE JESUS MONTALVO                   ADDRESS ON FILE
EVELYN DE JESUS SOTO                       ADDRESS ON FILE




                                                                                                    Page 2670 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2671 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                          Address1                  Address2                                  Address3   Address4   City      State   PostalCode   Country
EVELYN DE LEON ERAZO                   ADDRESS ON FILE
EVELYN DEL PILAR CABRERA SOTO          ADDRESS ON FILE
EVELYN DELGADO JURADO                  ADDRESS ON FILE
EVELYN DELGADO RIVERA                  ADDRESS ON FILE
EVELYN DIAZ LOPEZ                      ADDRESS ON FILE
EVELYN DIAZ LOPEZ                      ADDRESS ON FILE
EVELYN DIAZ NIEVES                     ADDRESS ON FILE
EVELYN DIAZ NIEVES                     ADDRESS ON FILE
EVELYN DIAZ SANTANA                    ADDRESS ON FILE
EVELYN DIAZ TORRES                     ADDRESS ON FILE
EVELYN DIAZ VAZQUEZ                    ADDRESS ON FILE
EVELYN E CENTENO/ ORLANDO BURGOS       ADDRESS ON FILE
EVELYN E LUGO FLORES                   ADDRESS ON FILE
EVELYN E. VAZQUEZ VAZQUEZ              ADDRESS ON FILE
EVELYN ENCHAUTEGUI CRUZ                ADDRESS ON FILE
EVELYN ESCOBAR RAMIREZ                 ADDRESS ON FILE
EVELYN ESQUILIN AGOSTO                 ADDRESS ON FILE
EVELYN FERNANDEZ RIVERA                ADDRESS ON FILE
EVELYN FERNANDEZ ROSADO                ADDRESS ON FILE
EVELYN FERRER ACEVEDO                  ADDRESS ON FILE
EVELYN FIGUEROA AYALA                  ADDRESS ON FILE
EVELYN FIGUEROA DELGADO                ADDRESS ON FILE
EVELYN FIGUEROA MARTINEZ               ADDRESS ON FILE
EVELYN FIGUEROA RAMIREZ                ADDRESS ON FILE
EVELYN FIGUEROA RODRIGUEZ              ADDRESS ON FILE
EVELYN FLORES COLON                    ADDRESS ON FILE
EVELYN FLORES DEL TORO                 ADDRESS ON FILE
EVELYN FLORES DIAZ                     ADDRESS ON FILE
EVELYN FLORES PACHECO                  ADDRESS ON FILE
EVELYN FRAGOSA LASSALLE                ADDRESS ON FILE
EVELYN FREIJOMIL CEDENO                ADDRESS ON FILE
EVELYN FUENTES TORRES                  ADDRESS ON FILE
EVELYN GARCIA CASTILLO                 ADDRESS ON FILE
EVELYN GARCIA GARCIA                   ADDRESS ON FILE
EVELYN GARCIA PAGAN                    ADDRESS ON FILE
EVELYN GARCÍA PÉREZ
EVELYN GARCIA PUMAREJO                 ADDRESS ON FILE
EVELYN GOMEZ MARTINEZ                  ADDRESS ON FILE
EVELYN GONZALEZ                        ADDRESS ON FILE
EVELYN GONZALEZ                        ADDRESS ON FILE
EVELYN GONZALEZ                        ADDRESS ON FILE
EVELYN GONZALEZ GARCIA                 ADDRESS ON FILE
EVELYN GONZALEZ GONZALEZ               ADDRESS ON FILE
EVELYN GONZALEZ MEDINA                 ADDRESS ON FILE
EVELYN GONZALEZ ORTIZ                  ADDRESS ON FILE
EVELYN GONZALEZ ORTIZ                  ADDRESS ON FILE
EVELYN GONZALEZ QUINONES               ADDRESS ON FILE
EVELYN GONZALEZ RODRIGUEZ              ADDRESS ON FILE
EVELYN GONZALEZ ROLON                  ADDRESS ON FILE
EVELYN GONZALEZ SANCHEZ                ADDRESS ON FILE
EVELYN GONZALEZ SANCHEZ                ADDRESS ON FILE
EVELYN GONZALEZ V DEPARTAMENTO EDUCACIOLCDA AMELIA M CINTRON     URB SAN ANTONIO 1939 AVE LAS AMERICAS                           Ponce     PR      00728‐1815
EVELYN GUARDIOLA LA PUERTA             ADDRESS ON FILE
EVELYN GUZMAN BOSCH                    ADDRESS ON FILE
EVELYN HERNANDEZ GARCIA                ADDRESS ON FILE
EVELYN HERNANDEZ HERNANDEZ             ADDRESS ON FILE
EVELYN HERNANDEZ VIVES                 ADDRESS ON FILE
EVELYN HERRERA MARTINEZ                ADDRESS ON FILE
EVELYN I CAMACHO IZQUIERO              ADDRESS ON FILE
EVELYN I CRESPO VADI                   ADDRESS ON FILE




                                                                                            Page 2671 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2672 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                        Address2                   Address3   Address4   City         State   PostalCode   Country
EVELYN I FIGUEROA FELICIANO        ADDRESS ON FILE
EVELYN I FLORES CORTES             ADDRESS ON FILE
EVELYN I LOPEZ CORTES              ADDRESS ON FILE
EVELYN I ORTIZ GARCIA              ADDRESS ON FILE
EVELYN I RIVERA VEGA               ADDRESS ON FILE
EVELYN I RODRIGUEZ ROBLES          ADDRESS ON FILE
EVELYN I SANTIAGO                  ADDRESS ON FILE
EVELYN IRENE CALDERON              ADDRESS ON FILE
EVELYN IRENE CALDERON              ADDRESS ON FILE
EVELYN J CHICO TORRES              ADDRESS ON FILE
EVELYN J CLEMENTE DIAZ             ADDRESS ON FILE
EVELYN J JOHSON ROSARIO            ADDRESS ON FILE
EVELYN J KUILAN COSME              ADDRESS ON FILE
EVELYN J. SERRANO QUINONES         ADDRESS ON FILE
EVELYN JANNET GARCIA               ADDRESS ON FILE
EVELYN L MELENDEZ GONZALEZ         ADDRESS ON FILE
EVELYN L RODRIGUEZ BERNECER        ADDRESS ON FILE
EVELYN LA COSTA NIEVES             ADDRESS ON FILE
EVELYN LAUREANO OSORIO             ADDRESS ON FILE
EVELYN LAUREANO OSORIO             ADDRESS ON FILE
EVELYN LEBRON SOTO                 ADDRESS ON FILE
EVELYN LLAMAS MALAVE               ADDRESS ON FILE
EVELYN LOPEZ                       ADDRESS ON FILE
EVELYN LOPEZ ALAMO                 ADDRESS ON FILE
EVELYN LOPEZ CARRION               ADDRESS ON FILE
EVELYN LOPEZ DIAZ                  ADDRESS ON FILE
EVELYN LOPEZ GARCIA                ADDRESS ON FILE
EVELYN LOPEZ LEON                  ADDRESS ON FILE
EVELYN LOPEZ MALDONADO             ADDRESS ON FILE
EVELYN LOPEZ MINER                 ADDRESS ON FILE
EVELYN LOPEZ NEGRON                ADDRESS ON FILE
EVELYN LOPEZ ORTIZ                 ADDRESS ON FILE
EVELYN LOPEZ PEREZ                 ADDRESS ON FILE
EVELYN LOPEZ PONS                  ADDRESS ON FILE
EVELYN LOPEZ QUINONEZ              ADDRESS ON FILE
EVELYN LOPEZ SANTIAGO              ADDRESS ON FILE
EVELYN LOPEZ TORRES                ADDRESS ON FILE
EVELYN LUGO DELGADO                ADDRESS ON FILE
EVELYN LUGO GUZMAN                 ADDRESS ON FILE
EVELYN M AYALA / ADRIANA P COLON   ADDRESS ON FILE
EVELYN M BAEZ DIAZ                 ADDRESS ON FILE
EVELYN M CAMACHO QUINONES          ADDRESS ON FILE
EVELYN M GINES RIVERA              ADDRESS ON FILE
EVELYN M ORTIZ FIGUEROA            ADDRESS ON FILE
EVELYN M ORTIZ GOMEZ               ADDRESS ON FILE
EVELYN M PENALOZA FALU             ADDRESS ON FILE
EVELYN M REYES SANTIAGO            ADDRESS ON FILE
EVELYN M RIVERA SANTIAGO           ADDRESS ON FILE
EVELYN M RIVERA TORRES             ADDRESS ON FILE
EVELYN M ROMAN MONTALVO            ADDRESS ON FILE
EVELYN M SALGADO VELEZ             ADDRESS ON FILE
EVELYN M. COLON COLON              ADDRESS ON FILE
EVELYN M. GUILBE MORALES           ADDRESS ON FILE
EVELYN M. RIOS CORPS               VILLAS DE CASTRO C‐18 CALLE 4                                                    CAGUAS       PR      00725‐0000
EVELYN MALDONADO MATOS             ADDRESS ON FILE
EVELYN MANGUAL RODRIGUEZ           ADDRESS ON FILE
EVELYN MARIN APONTE                ADDRESS ON FILE
EVELYN MARRERO FELICIANO           ADDRESS ON FILE
EVELYN MARTELL RIVERA              ADDRESS ON FILE
EVELYN MARTINEZ FUENTES            ADDRESS ON FILE




                                                                               Page 2672 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2673 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                           Address1                    Address2                        Address3   Address4   City         State   PostalCode   Country
EVELYN MARTINEZ PEREZ                   ADDRESS ON FILE
EVELYN MARTINEZ RIVERA                  ADDRESS ON FILE
EVELYN MARTINEZ RIVERA                  ADDRESS ON FILE
EVELYN MARTINEZ ROMAN                   ADDRESS ON FILE
EVELYN MARTINO EDUCATIONAL TRUST FUND FOPO BOX 336793                                                                     PONCE        PR      00733‐6793
EVELYN MATIAS MENDEZ                    ADDRESS ON FILE
EVELYN MATOS MELENDEZ                   ADDRESS ON FILE
EVELYN MATOS RODRIGUEZ                  ADDRESS ON FILE
EVELYN MEJIAS RODRIGUEZ                 ADDRESS ON FILE
EVELYN MELENDEZ CARRION                 ADDRESS ON FILE
EVELYN MELENDEZ MELENDEZ                ADDRESS ON FILE
EVELYN MELENDEZ ORTIZ                   ADDRESS ON FILE
EVELYN MELIA MUNIZ                      ADDRESS ON FILE
EVELYN MENDEZ CRUZ                      ADDRESS ON FILE
EVELYN MENDEZ MENDEZ                    ADDRESS ON FILE
EVELYN MENDEZ MENDEZ                    ADDRESS ON FILE
EVELYN MENDEZ Y MARIANA CUEVAS          ADDRESS ON FILE
EVELYN MERCADO MARTINEZ                 ADDRESS ON FILE
EVELYN MERCADO NIEVES                   ADDRESS ON FILE
EVELYN MERCADO RIOS                     ADDRESS ON FILE
EVELYN MERCADO SANTIAGO                 ADDRESS ON FILE
EVELYN MERCED MIRABAL                   ADDRESS ON FILE
EVELYN MILLETE MENDEZ                   ADDRESS ON FILE
EVELYN MOLINA LABOY                     ADDRESS ON FILE
EVELYN MONTALVO ORTIZ                   ADDRESS ON FILE
EVELYN MONTANEZ MEDINA                  ADDRESS ON FILE
EVELYN MONTANEZ ROMAN                   ADDRESS ON FILE
EVELYN MORALES BENITEZ                  ADDRESS ON FILE
EVELYN MORALES HERNANDEZ                ADDRESS ON FILE
EVELYN MORALES HERNANDEZ                ADDRESS ON FILE
EVELYN MORALES MARRERO                  ADDRESS ON FILE
EVELYN MORALES ROBLES                   ADDRESS ON FILE
EVELYN MORALES RODRIGUEZ                ADDRESS ON FILE
EVELYN MORALES VILA                     ADDRESS ON FILE
EVELYN MORENO ORTIZ                     ADDRESS ON FILE
EVELYN MOYA                             ADDRESS ON FILE
EVELYN MU¥OZ                            ADDRESS ON FILE
EVELYN MU¥OZ RIVERA                     ADDRESS ON FILE
EVELYN MULERO SERRANO                   ADDRESS ON FILE
EVELYN MUNIZ TORRES                     ADDRESS ON FILE
EVELYN MUÑOZ ALVELO                     WILLIAM VEGUILLA DE JESUS   PO BOX 1395                                           SALINAS      PR      00751
EVELYN MUNOZ ARVELO                     ADDRESS ON FILE
EVELYN MUNOZ SANTIAGO                   ADDRESS ON FILE
EVELYN MUNOZ SANTIAGO                   ADDRESS ON FILE
EVELYN N. LLIRAN LOPEZ                  ADDRESS ON FILE
EVELYN NAZARIO LEDUC                    ADDRESS ON FILE
EVELYN NEGRON MACHADO                   ADDRESS ON FILE
EVELYN NEGRON NIEVES                    ADDRESS ON FILE
EVELYN NEGRON ORTIZ                     ADDRESS ON FILE
EVELYN NEGRON REYES                     ADDRESS ON FILE
EVELYN NEGRON RUIZ                      ADDRESS ON FILE
EVELYN NIEVES ALBINO                    ADDRESS ON FILE
EVELYN NIEVES GARCIA                    ADDRESS ON FILE
EVELYN NIEVES GARCIA                    ADDRESS ON FILE
EVELYN NIEVES NIEVES                    ADDRESS ON FILE
EVELYN NIEVES SANTIAGO                  ADDRESS ON FILE
EVELYN OLIVERAS ROMERO                  ADDRESS ON FILE
EVELYN OLMEDO BARRETO                   ADDRESS ON FILE
EVELYN ORTEGA ORTIZ                     ADDRESS ON FILE
EVELYN ORTIZ CINTRON                    ADDRESS ON FILE




                                                                                     Page 2673 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2674 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                             Address1                             Address2                                   Address3               Address4      City         State   PostalCode   Country
EVELYN ORTIZ COLON                        ADDRESS ON FILE
EVELYN ORTIZ GUZMAN                       LCDA. JOHANNA SMITH MIRÓ             1250 AVENIDA Ponce DE LEON                 EDIFICIO SAN JOSE      OFICINA 800   SAN JUAN     PR      00907
EVELYN ORTIZ GUZMAN                       LCDA. TERESITA MERCADO VIZCARRONDO   POB OX 70244                                                                    SAN JUAN     PR      00936‐8244
EVELYN ORTIZ GUZMAN                       LCDO. JORGE J. LÓPEZ LÓPEZ           Calle 1 #15                                BAYAMON Gardens                      Bayamon      PR      00960
EVELYN ORTIZ GUZMAN                       LCDO. LUIS G. CABRERA MEDINA         APARTADO 6648                                                                   CAGUAS       PR      00726‐6648
EVELYN ORTIZ GUZMAN                       LCDO. RUBÉN TORRES DÁVILA            CALLE BALDORIOTY D‐3 URB. PARADÍS                                               CAGUAS       PR      00725
EVELYN ORTIZ LOPEZ                        ADDRESS ON FILE
EVELYN ORTIZ MANGUAL                      ADDRESS ON FILE
EVELYN ORTIZ MARTINEZ                     ADDRESS ON FILE
EVELYN ORTIZ PENA                         ADDRESS ON FILE
EVELYN ORTIZ QUINONEZ                     ADDRESS ON FILE
EVELYN ORTIZ RIVERA                       ADDRESS ON FILE
EVELYN ORTIZ ROSADO                       ADDRESS ON FILE
EVELYN ORTIZ SUAREZ                       ADDRESS ON FILE
EVELYN OSORIO CAMACHO                     ADDRESS ON FILE
EVELYN OTERO                              ADDRESS ON FILE
EVELYN OTERO FIGUEROA                     ADDRESS ON FILE
EVELYN OTERO NAZARIO                      ADDRESS ON FILE
EVELYN PAGAN VAZQUEZ                      ADDRESS ON FILE
EVELYN PEREZ RODRIGUEZ                    ADDRESS ON FILE
EVELYN PEREZ ROSA                         ADDRESS ON FILE
EVELYN PEREZ ROSA                         ADDRESS ON FILE
EVELYN PEREZ TRINIDAD                     ADDRESS ON FILE
EVELYN PINEIRO MALDONADO                  ADDRESS ON FILE
EVELYN PINERO BOIRA                       ADDRESS ON FILE
EVELYN PLAZA GONZALEZ / TROPHYS GALLERY   ADDRESS ON FILE
                                                                                                                          623 AVENIDA Ponce DE
EVELYN PRATTS COLLAZO                     LCDO. RAFAEL ORTIZ MENDOZA           EDIFICIO BANCO COOPERATIVO PLAZA           LEÓN                   SUITE 501‐A   SAN JUAN     PR      00917‐4805
EVELYN QUILES ROSARIO                     ADDRESS ON FILE
EVELYN QUINONES ADORNO                    ADDRESS ON FILE
EVELYN QUINONES CARRASQUILLO              ADDRESS ON FILE
EVELYN QUINONES CARRASQUILLO              ADDRESS ON FILE
EVELYN QUINONES MELENDEZ                  ADDRESS ON FILE
EVELYN QUINONES SANCHEZ                   ADDRESS ON FILE
EVELYN QUINONEZ Y JAVIER HERNANDEZ        ADDRESS ON FILE
EVELYN R ACOSTA JEREZ                     ADDRESS ON FILE
EVELYN R CANCEL ALVARADO                  ADDRESS ON FILE
EVELYN R GONZALEZ ECHEVARRIA              ADDRESS ON FILE
EVELYN R VELEZ GONZALEZ WILSON GONZALEZ   ADDRESS ON FILE
EVELYN RABELO DONES                       ADDRESS ON FILE
EVELYN RAMIREZ ENRIQUE                    ADDRESS ON FILE
EVELYN RAMIREZ LOZANO                     ADDRESS ON FILE
EVELYN RAMIREZ LUGO                       ADDRESS ON FILE
EVELYN RAMIREZ VAZQUEZ                    ADDRESS ON FILE
EVELYN RAMOS LOPEZ                        ADDRESS ON FILE
EVELYN RAMOS RODRIGUEZ                    ADDRESS ON FILE
EVELYN RAMOS ROSADO                       ADDRESS ON FILE
EVELYN REMIGIO LOPEZ                      ADDRESS ON FILE
EVELYN REYES ALICEA                       ADDRESS ON FILE
EVELYN REYES COLON                        ADDRESS ON FILE
EVELYN REYES DIAZ                         ADDRESS ON FILE
EVELYN REYES MERCED                       ADDRESS ON FILE
EVELYN REYES OLIVERAS                     ADDRESS ON FILE
EVELYN REYES RODRIGUEZ                    ADDRESS ON FILE
EVELYN REYES TORRES                       ADDRESS ON FILE
EVELYN RIOS DE JESUS                      ADDRESS ON FILE
EVELYN RIOS DE JESUS                      ADDRESS ON FILE
EVELYN RIOS HEREIDA                       ADDRESS ON FILE
EVELYN RIVERA                             ADDRESS ON FILE
EVELYN RIVERA BAEZ                        ADDRESS ON FILE




                                                                                                           Page 2674 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2675 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                         Address1                        Address2                       Address3   Address4   City         State   PostalCode   Country
EVELYN RIVERA CANCEL                  ADDRESS ON FILE
EVELYN RIVERA CLEMENTE                ADDRESS ON FILE
EVELYN RIVERA CLEMENTE                ADDRESS ON FILE
EVELYN RIVERA CORDERO                 ADDRESS ON FILE
EVELYN RIVERA FLORES                  ADDRESS ON FILE
EVELYN RIVERA GARCIA                  ADDRESS ON FILE
EVELYN RIVERA GARCIA                  ADDRESS ON FILE
EVELYN RIVERA GONZALEZ                ADDRESS ON FILE
EVELYN RIVERA GONZALEZ                ADDRESS ON FILE
EVELYN RIVERA LUGO                    ADDRESS ON FILE
EVELYN RIVERA OJEDA                   FERNANDO MONTANEZ DELERME       PO BOX 10744                                         SAN JUAN     PR      00922
EVELYN RIVERA OLIVERO                 ADDRESS ON FILE
EVELYN RIVERA QUINONES                ADDRESS ON FILE
EVELYN RIVERA ROMERO                  ADDRESS ON FILE
EVELYN RIVERA ROSA                    ADDRESS ON FILE
EVELYN RIVERA ROSARIO                 ADDRESS ON FILE
EVELYN RIVERA SOTO                    ADDRESS ON FILE
EVELYN RIVERA TORRES                  ADDRESS ON FILE
EVELYN RIVERA TORRES                  ADDRESS ON FILE
EVELYN RIVERA VIERA                   ADDRESS ON FILE
EVELYN RIVERA VIERA                   ADDRESS ON FILE
EVELYN ROBLES BARRIENTOS              ADDRESS ON FILE
EVELYN ROBLES BAUZA                   ADDRESS ON FILE
Evelyn Robles Lozada                  ADDRESS ON FILE
EVELYN ROBLES WILLIAMS                ADDRESS ON FILE
EVELYN RODRIGUEZ                      ADDRESS ON FILE
EVELYN RODRIGUEZ / ANGEL L ALGARIN    ADDRESS ON FILE
EVELYN RODRIGUEZ ANDUJAR              ADDRESS ON FILE
EVELYN RODRIGUEZ CALDERON             ADDRESS ON FILE
EVELYN RODRIGUEZ CINTRON              ADDRESS ON FILE
EVELYN RODRIGUEZ CLAUDIO              ADDRESS ON FILE
EVELYN RODRIGUEZ DAVILA               ADDRESS ON FILE
EVELYN RODRIGUEZ MOLINA               ADDRESS ON FILE
EVELYN RODRIGUEZ PARA EDGARDO TAPIA   ADDRESS ON FILE
EVELYN RODRIGUEZ REYES                ADDRESS ON FILE
EVELYN RODRIGUEZ RIOS                 ADDRESS ON FILE
EVELYN RODRIGUEZ ROSADO               ADDRESS ON FILE
EVELYN RODRIGUEZ RUIZ                 ADDRESS ON FILE
EVELYN RODRIGUEZ RUIZ                 ADDRESS ON FILE
EVELYN RODRIGUEZ TORRES               ADDRESS ON FILE
EVELYN ROJAS SERRANO                  ADDRESS ON FILE
EVELYN ROMERO ROSARIO                 ADDRESS ON FILE
EVELYN ROSADO ORTIZ                   ADDRESS ON FILE
EVELYN ROSADO RESTO                   ADDRESS ON FILE
EVELYN ROSADO VEGA                    ADDRESS ON FILE
EVELYN ROSARIO FIGUEROA               ADDRESS ON FILE
EVELYN ROSARIO GALBE                  ADDRESS ON FILE
EVELYN ROSARIO LOPEZ                  ADDRESS ON FILE
EVELYN ROSARIO NUNEZ                  ADDRESS ON FILE
EVELYN ROSARIO SERRANO                ADDRESS ON FILE
EVELYN ROSARIO SERRANO                ADDRESS ON FILE
EVELYN ROSARIO VELEZ                  ADDRESS ON FILE
EVELYN RUBIO FERNANDEZ                ADDRESS ON FILE
EVELYN RUIZ BRUNO                     LCDO. JOSÉ C. MARTÍNEZ TOLEDO   PO BOX 362132                                        SAN JUAN     PR      00936‐2132
EVELYN RUIZ CENTENO                   ADDRESS ON FILE
EVELYN RUIZ HERNANDEZ                 ADDRESS ON FILE
EVELYN RUIZ SANTIAGO                  ADDRESS ON FILE
EVELYN RUTH PEREZ OCASIO              ADDRESS ON FILE
EVELYN S GELY RAMOS                   ADDRESS ON FILE
EVELYN S OTERO CONCEPCION             ADDRESS ON FILE




                                                                                      Page 2675 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2676 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                      Address1                   Address2                                   Address3     Address4   City      State   PostalCode   Country
EVELYN S. ALMODOVAR PUANTONG       ADDRESS ON FILE
EVELYN SALAS LOPEZ                 ADDRESS ON FILE
EVELYN SANCHEZ FERRER              ADDRESS ON FILE
EVELYN SANCHEZ FLORES              ADDRESS ON FILE
EVELYN SANCHEZ RIVERA              ADDRESS ON FILE
EVELYN SANCHEZ SANTIAGO            ADDRESS ON FILE
EVELYN SANCHEZ VAZQUEZ             ADDRESS ON FILE
EVELYN SANCHEZ VAZQUEZ             ADDRESS ON FILE
EVELYN SANCHEZ VIDAL               ADDRESS ON FILE
EVELYN SANDOVAL MIRANDA            ADDRESS ON FILE
EVELYN SANTANA                     ADDRESS ON FILE
EVELYN SANTANA CACERES             ADDRESS ON FILE
EVELYN SANTIAGO CRUZ               ADDRESS ON FILE
EVELYN SANTIAGO LEBRON             ADDRESS ON FILE
EVELYN SANTIAGO LOPEZ              ADDRESS ON FILE
EVELYN SANTIAGO REYES              ADDRESS ON FILE
EVELYN SANTIAGO RUIZ               ADDRESS ON FILE
EVELYN SANTIAGO RUIZ               ADDRESS ON FILE
EVELYN SANTIAGO TORRES             ADDRESS ON FILE
EVELYN SANTINI MÉLENDEZ            LCDA. MIGNA RIVERA ORTIZ   CRUZ & RIVERA LAW OFFICES                  PO BOX 768              COAMO     PR      00769
EVELYN SANTO DOMINGO NEGRON        ADDRESS ON FILE
EVELYN SANTOS COLON                ADDRESS ON FILE
EVELYN SANTOS MONTES               ADDRESS ON FILE
EVELYN SEGUINOT PEREZ              ADDRESS ON FILE
EVELYN SEPULVEDA LOZADA            ADDRESS ON FILE
EVELYN SERPA SOTO                  ADDRESS ON FILE
EVELYN SERRANO CASTRO              ADDRESS ON FILE
EVELYN SIERRA TORRES               ADDRESS ON FILE
EVELYN SILVA                       ADDRESS ON FILE
EVELYN SOLER LAMBERTY              ADDRESS ON FILE
EVELYN SOTO CABAN                  ADDRESS ON FILE
EVELYN SOTO GALARZA                ADDRESS ON FILE
EVELYN SOTO PLANTEN                ADDRESS ON FILE
Evelyn T Marquez Escobar           ADDRESS ON FILE
EVELYN TALAVERA OCASIO             ADDRESS ON FILE
EVELYN TAPIA TAPIA                 ADDRESS ON FILE
EVELYN TIRADO PEREZ                ADDRESS ON FILE
EVELYN TOLENTINO MARCANO           ADDRESS ON FILE
EVELYN TORRES ACEVEDO              ADDRESS ON FILE
EVELYN TORRES BECERRIL             ADDRESS ON FILE
EVELYN TORRES CRUZ                 ADDRESS ON FILE
EVELYN TORRES FALCON               ADDRESS ON FILE
EVELYN TORRES GONZALEZ             ADDRESS ON FILE
EVELYN TORRES MARQUEZ              ADDRESS ON FILE
EVELYN TORRES MONTALVO             ADDRESS ON FILE
EVELYN TORRES RODRIGUEZ            ADDRESS ON FILE
EVELYN TORRES RODRIGUEZF           ADDRESS ON FILE
EVELYN TORRESVALLES                ADDRESS ON FILE
EVELYN TOSADO QUINONES             ADDRESS ON FILE
EVELYN TOSADO QUINONES             ADDRESS ON FILE
EVELYN TRICOCHE                    ADDRESS ON FILE
EVELYN TRINIDAD BENITEZ            ADDRESS ON FILE
EVELYN TRUJILLO ORTIZ              ADDRESS ON FILE
EVELYN V COLON HERNANDEZ           ADDRESS ON FILE
EVELYN VALENTIN COLON              ADDRESS ON FILE
EVELYN VALENTIN CORTES             ADDRESS ON FILE
EVELYN VALENTIN MARRERO            ADDRESS ON FILE
EVELYN VALENTIN MARRERO            ADDRESS ON FILE
EVELYN VALENTIN Y RUBEN GONZALEZ   ADDRESS ON FILE
EVELYN VALLELLANES AYALA           ADDRESS ON FILE




                                                                                          Page 2676 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2677 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                         Address1                                        Address2                                   Address3   Address4   City               State   PostalCode   Country
EVELYN VARGAS MARTINEZ                ADDRESS ON FILE
EVELYN VAZQUEZ ALICEA                 ADDRESS ON FILE
EVELYN VAZQUEZ CABRERA                ADDRESS ON FILE
EVELYN VAZQUEZ MEDINA                 ADDRESS ON FILE
EVELYN VAZQUEZ ORTIZ                  ADDRESS ON FILE
EVELYN VEGA CRUZ                      ADDRESS ON FILE
EVELYN VEGA ZAYAS                     ADDRESS ON FILE
EVELYN VEGUILLA FIGUEROA              ADDRESS ON FILE
EVELYN VELAZQUEZ CRUZ                 ADDRESS ON FILE
EVELYN VELAZQUEZ CRUZ                 ADDRESS ON FILE
EVELYN VELAZQUEZ VEGA                 ADDRESS ON FILE
EVELYN VELEZ DIAZ                     ADDRESS ON FILE
EVELYN VELEZ RODRIGUEZ                ADDRESS ON FILE
EVELYN VELEZ VELEZ                    ADDRESS ON FILE
EVELYN VELILLA MIRABAL                ADDRESS ON FILE
EVELYN VICENTE / GONZALO VICENTE      ADDRESS ON FILE
EVELYN VICENTE/ JUDITH VICENTE        ADDRESS ON FILE
EVELYN VIERA SANTANA                  ADDRESS ON FILE
EVELYN Y PEREZ ALVAREZ                ADDRESS ON FILE
EVELYN ZAMBRANA ROSADO                ADDRESS ON FILE
EVELYN ZAPATA CABRERA                 ADDRESS ON FILE
EVEN E. COLON BURGOS                  ADDRESS ON FILE
EVEN M HERNANDEZ LAGUER               ADDRESS ON FILE
EVENTOS GRAFICOS INC                  URB LOS INGENIEROS                              504 CALLE FERNANDO CALDER                                        SAN JUAN           PR      00918‐2753
EVENTO'S SIP INC                      COND GUANAJIBO STE 211 R                                                                                         MAYAGUEZ           PR      00680
EVENTS BY US                          URB VISTAMAR MARINA                             B 11 C/ PONTEVEDRA                                               CAROLINA           PR      00983
EVENTS DESIGN GROUP INC               800 CALLE DEL PARQUE                                                                                             SAN JUAN           PR      00909‐2852
EVER A MADERA ATILES                  ADDRESS ON FILE
EVER CANCEL TORRES                    ADDRESS ON FILE
EVER CARDOZA SEDA                     ADDRESS ON FILE
EVER PADILLA RUIZ                     ADDRESS ON FILE
EVER PADILLA RUIZ                     ADDRESS ON FILE
EVERARDO VELEZ PI¥ERO                 ADDRESS ON FILE
EVERARDO VELEZ PINERO                 ADDRESS ON FILE
EVEREADY PR, INC                      CAPARRA HEIGHTS STATIONS                        P O BOX 2108                                                     SAN JUAN           PR      00922‐2108
EVEREDITH MALDONADO RIVERA            ADDRESS ON FILE
Everest Indemnity Insurance Company   477 Martinsville Road                           `                                                                Liberty Corner     NJ      07938‐0830
Everest Indemnity Insurance Company   Attn: Keith Shoemaker, Principal Representative PO Box 830                                                       Liberty Corner     NJ      07938
Everest Reinsurance Company           477 Martinsville Road                           PO Box 830                                                       Liberty Corner     NJ      07938‐0830
Everest Reinsurance Company           Attn: Keith Shoemaker, Vice President           PO Box 830                                                       Liberty Corner     NJ      79380‐830
Everett Diaz, Catalina                ADDRESS ON FILE
EVERETTE WILLA R                      ADDRESS ON FILE
EVERGLADES BOATS / DOUGHERTY SARAH    ADDRESS ON FILE
Evergreen Enterprises, Inc.           5915 Midlothian Turnpike                                                                                         Richmond           VA      23225
EVERGREEN LANDSCAPING INC             CALLE EL MORRO N 17                             URB PARK GARDENS                                                 SAN JUAN           PR      00926
EVERGREEN LANDSCAPING INC.            CALLE EL MORRO N‐17 URB. PARK GARDENS                                                                            SAN JUAN           PR      00926‐0000
EVERGREEN NEUROSURGERY CENTER         ATTN MEDICAL RECORDS                            17070 RED OAK DR STE 507                                         HOUSTON            TX      77090‐2617
EVERIDYS FIGUEROA JUSTINO             ADDRESS ON FILE
EVERIS USA INC                        11921 FREEDON DRIVE                             SUITE 720                                                        RESTON             VA      20190
EVERLIDIS GONZALEZ RODRIGUEZ          ADDRESS ON FILE
EVERLIDIS MILLAN MARTINEZ             ADDRESS ON FILE
EVERLIDYS HERNANDEZ BENEJAM           ADDRESS ON FILE
EVERLIDYS ROSSNER FIGUEROA            ADDRESS ON FILE
EVERMEDIA INC.                        168 WINSTON CHURCHILL                           AVE EL SENORIAL                                                  SAN JUAN           PR      00926‐6013
Everspan Financial Guarantee Corp.    Attn: Bongi Zungu, Vice President               One State Street                                                 New York           NY      10004
Everspan Financial Guarantee Corp.    Attn: Diana Adams, President                    One State Street                                                 New York           NY      10004
Everspan Financial Guarantee Corp.    Attn: Kevin Doyle, President                    One State Street                                                 New York           NY      10004
Everspan Financial Guarantee Corp.    Attn: Melissa Velie, Vice President             One State Street                                                 New York           NY      10004
Everspan Financial Guarantee Corp.    Attn: Reinhard Kress, Premiun Tax Contact       One State Street                                                 New York           NY      10004
Everspan Financial Guarantee Corp.    Attn: Stephen Ksenak, Circulation of Risk       One State Street                                                 New York           NY      10004




                                                                                                                  Page 2677 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2678 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                           Address1                                      Address2                                   Address3   Address4   City             State   PostalCode   Country
Everspan Financial Guarantee Corp.      Attn: Stephen Ksenak, Consumer Complaint Cont One State Street                                                 New York         NY      10004
Everspan Financial Guarantee Corp.      One State Street Plaza                                                                                         New York         NY      10004
EVERTEC                                 PO BOX 364527                                                                                                  SAN JUAN         PR      00910
EVERTEC INC                             1860 PONCE DE LEON                                                                                             SAN JUAN         PR      00910
EVERTEC INC                             AREA DE TESORO                                DIVISION DE RECLAMACIONES                                        SAN JUAN         PR      00902‐4140
EVERTEC INC                             PO BOX 364527                                                                                                  SAN JUAN         PR      00936‐4527
EVERTSZ CORTES, JOHANNKA                ADDRESS ON FILE
EVETTE MEJIAS RIVERA                    ADDRESS ON FILE
EVEXPO INC                              URB VISTAMAR                                  314 CALLE CATALUNA                                               CAROLINA         PR      00983‐1852
EVIAN L ALBERT CAMACHO                  ADDRESS ON FILE
EVIAN LINETTE ALBERT CAMACHO            ADDRESS ON FILE
EVIAN LINETTE ALBERT CAMACHO            ADDRESS ON FILE
EVIDENTIA PUBLISHING BV                 ERICAWEG 2                                                                                                     HUIZEN           NL      1272 CT      Netherlands
EVIE COLON QUINTANA                     ADDRESS ON FILE
EVIE COLON QUINTANA                     ADDRESS ON FILE
EVIE DEL C IRIZARRY DOMENECH            ADDRESS ON FILE
EVILYS CARRION ESQUILIN                 ADDRESS ON FILE
EVIMIR BENABE RIVERA                    ADDRESS ON FILE
EVIN A ROMAN                            ADDRESS ON FILE
EVIN RIVERA BENITEZ                     ADDRESS ON FILE
EVINMOTORS P R INC                      P O BOX 1770                                                                                                   CAROLINA         PR      00984‐1770
EVITA TORRES SANTANA                    ADDRESS ON FILE
EV‐LOP CORPORATION                      EDIFICIO DEL PARQUE 218                       CALLE DEL PARQUE APT 3A                                          SAN JUAN         PR      00912
EVLYN ALVAREZ ROSADO                    ADDRESS ON FILE
EVOLUTION CLEANING SER INC              SECT PLAYITA                                  5 CALLE PARGO                                                    PONCE            PR      00716
EVOLUTION ENTERTAINMENT INC             PRADERAS DEL SUR                              713 CALLE CEDRO                                                  SANTA ISABEL     PR      00757‐2057
EVOLUTION PLUMBING CORP                 C/PARAGUAY 519               CC               URB FLORAL PARK                                                  SAN JUAN         PR      00917
EVOLUTION PRESS INC                     P O BOX 2197                                                                                                   GUAYNABO         PR      00970
EVOLUTION QUALITY GUARD INC             AVENIDA ANDALUCIA                             3500 SUITE 4                                                     SAN JUAN         PR      00926
EVOLUTION WIRELESS                      110 WING STREET, BASE RAMEY                                                                                    AGUADILLA        PR      00604
EVOLUZIONE CORP                         100 AVE SAN PATRICIO PLAZA                    LOCAL A 4                                                        GUAYNABO         PR      00968
EVY M. RODRIGUEZ ROURA                  ADDRESS ON FILE
EVYAN M FIGUEROA GALARZA                ADDRESS ON FILE
EVYFLOR ESPINOSA ROSADO                 LCDA. SUHAIL CABÁN LÓPEZ                      PO BOX 1711                                                      AGUADA           PR      00602‐1711
EVYLINDA NEGRON RUIZ                    ADDRESS ON FILE
EWCO INC                                1639 AVE JESUS T PINERO                                                                                        SAN JUAN         PR      00920
EWCO INC.                               AVE. JESUS T. PINEIRO #1639 CAPARRA TERRACE PUERTO NUEV                                                                         PR      00920
EWCO INC. DBA ALTERNADORES Y STARTERS   CAPARRA HEIGHTS                               1639 AVE J T PINERO                                              SAN JUAN         PR      00920
EWEND MD, MATTHEW                       ADDRESS ON FILE
EXACTUS CONSULTING LLC                  452 AVE MUNOZ RIVERA                                                                                           SAN JUAN         PR      00918
EXAMINATION RESOURCES LLC               3475 PIEDMONT ROAD STE 410                                                                                     ATLANTA          GA      30305
EXAN CANDELARIA MALDONADO               ADDRESS ON FILE
EXCALIBUR HOTEL CASINO                  3850 LAS VEGAS BLVD SOUTH                                                                                      LAS VEGAS        NV      89109
EXCALIBUR TECHNOLOGIES COPR             URB PASEO DEL PRADO                           156 CALLE PRADERA                                                CAROLINA         PR      00987
EXCALIBUR TECHNOLOGIES CORP             URB PASEO DEL PRADO                           156 CALLE PRADERA                                                CAROLINA         PR      00987
EXCALIBUR TECHNOLOGIES CORP             URB PASEO DEL PRADO                                                                                            CAROLINA         PR      00987
EXCEL LEGAL PARTNERS AND SERVICES       35 JUAN C BORBON PSC                          SUITE 67 PMB 463                                                 GUAYNABO         PR      00969
EXCEL NAZARIO VEGA                      ADDRESS ON FILE
EXCEL PROMOTIONAL PRODUCTS LLC          PO BOX 364983                                                                                                  SAN JUAN         PR      00936‐4983
EXCEL REHABILITATION                    URB CONDADO MODERNO M 13                                                                                       CAGUAS           PR      00725
EXCELACOM PUERTO RICO INC               11710 PLAZA AMERICA DR STE 1002                                                                                RESTON           VA      20190‐4771
EXCELL INC                              PO BOX 190131                                                                                                  SAN JUAN         PR      00919‐0131
EXCELLENCE EATING EXPERIENCE CORP       PMB 2515                                      PO BOX 6400                                                      CAYEY            PR      00737
EXCELLENCE INEDUCATION INC              PO BOX 4956 SUITE 1192                                                                                         CAGUAS           PR      00726
EXCELLENCE UNIFORMS / GINNETTE RAMOS    URB VERSALLES                                 Q‐15 CALLE 16                                                    BAYAMON          PR      00959
EXCELLENT AMBULANCE SERVICE , INC.      PMB 680 , 138 AVE. WINSTON CHURCHILL                                                                           SAN JUAN         PR      00626‐6023
EXCELLENT AUTO PAINTING INC             JARD DE PALMAREJO                             P7 CALLE 15                                                      CANOVANAS        PR      00729‐2828
EXCELLENT C G LLC                       PO BOX 6400                                                                                                    CAYEY            PR      00737‐6400
EXCELLENT CLEANING                      2735 PISO 1 LOCAL 2                           EDIFICIO PASEO BUULEVARD                                         TOA BAJA         PR      00949
EXCELLENT ENGINEERING EQUIPMENT INC     PO BOX 6792                                                                                                    MAYAGUEZ         PR      00681‐6792




                                                                                                                  Page 2678 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2679 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                       Creditor Matrix

Creditor Name                              Address1                                       Address2                                  Address3   Address4   City                 State   PostalCode   Country
EXCELLENT PRINT                            P. O. BOX 360885                                                                                               SAN JUAN             PR      00936‐0885
EXCELLENT SECURITY INVESTIGATION INC       473 CALLE COMERIO                                                                                              BAYAMON              PR      00957
EXCELLENTE ENGINEERING EQUIPMENT, INC      PO BOX 6792                                                                                                    MAYAGUEZ             PR      00681‐6791
EXCELLENTIA, INC.                          URB. EL MIRADOR                                CALLE 7 I‐6                                                     SAN JUAN             PR      00926
EXCELLERE CONSULTING ASSOCIATES            CPG GALERIA PASEOS                             100 GRAN BULEVAR PASEOS                                         SAN JUAN             PR      00926
EXCELLERE CONSULTING ASSOCIATES INC        GALERIA PASEOS                                 100 GRAN BULEVAR PASEOS STE 402                                 SAN JUAN             PR      00926
EXCELLERE CONSULTING ASSOCIATES INC        PLAZA SAN FRANCISCO SUITE 100                  201 AVE DE DIEGO                                                SAN JUAN             PR      00927
EXCELLERE CONSULTING ASSOCIATES INC        PLAZA SAN FRANCISCO SUITE 100                                                                                  SAN JUAN             PR      00927
EXCELLERE CONSULTING ASSOCIATES INC.       CPG GALERIA PASEOS                             100 GRAN BULEVAR PASEOS STE 402                                 SAN JUAN             PR      00926
EXCELLERE CONSULTING ASSOCIATES, INC.      GALLERIA PASEOS 100 GRAN BULEVAR PASEOS SUITE 402                                                              SAN JUAN             PR      00926‐0000
EXCEPTIONAL CHILDREN'S CENTER              3702 MONTECILLO COURT                                                                                          TRUJILLO ALTO        PR      00976
Excia Gonzalez, Francisco                  ADDRESS ON FILE
EXCIA RODRIGUEZ, ALEJANDRO                 ADDRESS ON FILE
EXCIA VELEZ, WILMA Y                       ADDRESS ON FILE
EXCLOSA MOLINA, XIOMARA                    ADDRESS ON FILE
EXCLUSA ALVAREZ, YANEURY                   ADDRESS ON FILE
EXCLUSA GREEN, ANABELLE                    ADDRESS ON FILE
EXCLUSA MOLINA, EMMANUEL                   ADDRESS ON FILE
EXCLUSA MONTALVO, JOSE A.                  ADDRESS ON FILE
EXCLUSA OLIVO, GLADYS                      ADDRESS ON FILE
EXCLUSA RIVERA, GEORGE                     ADDRESS ON FILE
EXCLUSA SOTO, ANANIAS                      ADDRESS ON FILE
EXCLUSIVE AUTO PERFORMACE CORP/EXCLUSIVEPO BOX 23318                                                                                                      SAN JUAN             PR      00931
EXCLUSIVE DESING PRINTING CORP             HC 2 BOX 2287                                                                                                  CABO ROJO            PR      00622‐9342
EXCLUSIVE MEDICAL SERVICES, INC            PO BOX 371                                                                                                     SABANA GRANDE        PR      00637
EXCLUSIVE MEDICAL SUPPLY & RESP SERV INC P O BOX 1227                                                                                                     CAROLINA             PR      00986
EXCLUSIVE MEDICAL SUPPLY AND RESPIRATORY P.O. BOX 1227                                                                                                    CAROLINA             PR      00870
EXCURSIONES ECO INC                        BDA ISRAEL 320 B                               CALLE TEXIDOR                                                   SAN JUAN             PR      00917
EXCUSA ZAYAS, DEBORA                       ADDRESS ON FILE
EXCUTRAIN                                  THE ATRIUM OFFICE CENTER                       530 AVE DE LA CONSTITUCI                                        SAN JUAN             PR      00901
EXECUMED CORP                              MARAMAR PLAZA                                  101 AVE SAN PATRICIO STE 860                                    GUAYNABO             PR      00968‐2681
EXECUTIVE ADVERTISING                      1925 FRANCISCO ZUNIGA FAIR VIEW                                                                                SAN JUAN             PR      00926
EXECUTIVE ADVERTISING                      PMB 11                                         HC 1 BOX 29030                                                  CAGUAS               PR      00723‐8900
EXECUTIVE ADVERTISING                      URB FAIRVIEW                                   1925 FRANCISCO ZUNIGA                                           SAN JUAN             PR      00926
EXECUTIVE AIRLINES INC                     PO BOX 38082                                                                                                   SAN JUAN             PR      00937
EXECUTIVE BC CORP                          URB LA CUMBRE                                  273 CALLE SIERRA MORENA                                         SAN JUAN             PR      00926‐5575
EXECUTIVE COLLECTION / FASHION GROUP INC 257 AVE BARBOSA                                                                                                  SAN JUAN             PR      00917
EXECUTIVE EDUCATION NETWORK                1406 PETERMAN DR                                                                                               ALEXANDRIA           LA      71301
EXECUTIVE EDUCATION NETWORK                4809 WHITE HALL BLVD                                                                                           ALEXANDRIA           LA      71303
EXECUTIVE LEADERSHIP                       CUSTOMER SERVICE                               PO BOX 9070                                                     McLEAN               VA      22102‐0070
EXECUTIVE PROTECTION INSTITUTE             PO BOX 802                                                                                                     BERRYVILLE           VA      22611
EXECUTIVE RIDE SEDAN & LIMOUSINE SERVICES 7830 BACKLICK ROAD SUITE 404 A                                                                                  SPRINGFIELD          VA      22150
Executive Risk Specialty Insurance Company 15 Mountain View Road                                                                                          Warren               NJ      07059
Executive Risk Specialty Insurance Company Attn: Robert Midwood, Principal Representative 202B Hall's Mill Road                                           Whitehouse Station   NJ      08889
EXECUTIVE TRANSPORTATION INC               PO BOX 7091                                                                                                    SAN JUAN             PR      00916‐7091
EXECUTRAIN COMPUTER DE P R                 THE ATRIUM OFFICE CENTER                       530 AVE PONCE DE LEON                                           SAN JUAN             PR      00901‐2304
EXECUTRAIN OF PUERTO RICO                  THE ATRIUM OFFICE CENTER                       530 AVE DE LA CONSTITUCIO                                       SAN JUAN             PR      00901‐2304
EXECUTRIAN DE PUERTO RICO                  530 AVE. LA CONSTITUCION                                                                                       SAN JUAN             PR      00901‐2304
EXEL CLASS CRUZ                            AVE. BETANCES J‐16 HERMANAS DAVILA                                                                             BAYAMON              PR      00959‐0000
EXEL I. PEREZ VARGAS                       LCDO. LUIS ORTIZ SEGURA                        PO BOX 9024098                                                  SAN JUAN             PR      00902‐4098
EXEL I. PEREZ VARGAS                       LCDO. PABLO COLÓN SANTIAGO                     URB. CONSTANCIA 1739 PASEO LAS COLINAS                          PONCE                PR      00717‐2234
EXEL IRIZARRY CASIANO                      URB VILLA UNIVERSITARIA                        BD 9 C/ 31                                                      HUMACAO              PR      00791
EXEL L SANTIAGO SERRANO                    PARCELAS LAS PELAS                             F 61 CALLE 6                                                    YAUCO                PR      00698
EXEL OFARRILL ENCARNACION                  URB VISTAMAR MARINA                            B11 CALLE PONTEVEDRA                                            CAROLINA             PR      00983
EXELIX CONTRACCTOR CORP                    P O BOX 9224                                                                                                   SAN JUAN             PR      00908
EXEMPLA HEALTHCARE                         GOOD SAMARITAN MEDICAL CENTER                  PO BOX 5303                                                     DENVER               CO      80217‐5303
EXER NOEL GALARZA RODRIGUEZ                HC 4 BOX 12454                                                                                                 YAUCO                PR      00698
EXERTUS GROUP                              PMB 359                                        PO BOX 4956                                                     CAGUAS               PR      00726
EXERTUS GROUP INC                          PO BOX 4956 PMB 359                                                                                            CAGUAS               PR      00726‐4956
EXETER GROUP INC                           PO BOX 990048                                                                                                  BOSTON               MA      02199‐0048




                                                                                                                     Page 2679 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2680 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                            Address1                       Address2                                     Address3          Address4   City              State   PostalCode   Country
EXHIBITOR EVENTS ALL MEDIA INC           PO BOX 194421                                                                                            SAN JUAN          PR      00919
EXHIBITS UNLIMITED INC                   EL CONQUISTADOR                Q7 CALLE 14                                                               TRUJILLO ALTO     PR      00976
EXHIBITS UNLIMITED INC                   PO BOX 7820                                                                                              CAROLINA          PR      00986
Exia Lugo, Luis D                        ADDRESS ON FILE
Exia Santiago, Wilson J                  ADDRESS ON FILE
EXIO M RIVERA MARRERO                    ADDRESS ON FILE
EXITO EMPRESARIAL AJC INC                DORADO DEL MAR                 JJ38 CALLE PLAYA                                                          DORADO            PR      00646
EXITO MANAGEMENT INC                     AVE CONDADO                    607 SUITE 301                                                             SAN JUAN          PR      00907
EXITO, INC.                              PO BOX 1705                                                                                              YABUCOA           PR      00767
EXOL L MORALES RODRIGUEZ                 ADDRESS ON FILE
EXOLOCK INC                              URB BARALT                     H 2 AVE PRINCIPAL                                                         FAJARDO           PR      00738
EXOR MATEO ESPADA                        ADDRESS ON FILE
EXOTIQUE SALON ESSENTIAL                 700 CONDADO AVE                                                                                          SAN JUAN          PR      00907
EXPEDITER SERVICES INC                   PO BOX 29624                                                                                             SAN JUAN          PR      00929
EXPERIENCED CAR RENTAL, INC              LCDO. MARIO E. PEREZ TORRES    1‐A CALLE VIRTUD                             EDIFICIO GARCIA              Ponce             PR      00730‐3804
EXPERT GROUP SOLUTIONS CORP              PO BOX 7891 PMB 129                                                                                      GUAYNABO          PR      00970
EXPERT MARKETING COMMUNICATIONS INC      PO BOX 69001 PMB 175                                                                                     HATILLO           PR      00659‐6901
EXPERT MECHANIC SERVICES                 BO BUENA VISTA                 57 CALLE CORONEL SOTO                                                     MAYAGUEZ          PR      00680
EXPERT MECHANIC SERVICES                 BO MANI                        CARR 2 KM 148 HM 7 ROAD 341                                               MAYAGUEZ          PR      00680
EXPERT TECHNICAL SERVICES GROUP          PMB 690                        1353 AVE LUIS VIGOREAX                                                    GUAYNABO          PR      00966
EXPERT TRANSMISSIONS                     URB MAGNOLIA GARDENS           N 29 AVE MAGNOLIA                                                         BAYAMON           PR      00956
EXPERTISE MEDICAL PROF SERVICE INC       PO BOX 2933                                                                                              GUAYNABO          PR      00970
EXPLORA CENTRO ACADEMICO Y TERAPEUTICO   CALLE CARAZO # 110                                                                                       GUAYNABO          PR      00969
EXPLORADOR URBANO INC                    PO BOX 2326                                                                                              MAYAGUEZ          PR      00681‐2326
EXPLORER ADVENTURE PR INC                PO BOX 9020191                                                                                           SAN JUAN          PR      00902‐0191
EXPLORER COMPANY LLP                     653 PONCE DE LEON OFICINA 2B                                                                             SAN JUAN          PR      00908
EXPLORER COMPANY LLP                     COND VICK CENTER               867 MUNOZ RIVERA STE C 402                                                SAN JUAN          PR      00925
EXPO CARIBE INC                          PO BOX 195457                                                                                            SAN JUAN          PR      00927
EXPO CARIBE INC.                         P.O. BOX 195507                                                                                          SAN JUAN          PR      00919‐0000
EXPO DESIGN INC                          CORUJO IND PARK                46 CALLE C                                                                BAYAMON           PR      00961
EXPO DISPLAY CARIBBEAN                   PO BOX 195457                                                                                            SAN JUAN          PR      00919
EXPO DISPLAY CARIBBEAN                   URB SAN FRANCISCO                                                                                        SAN JUAN          PR      00927‐6350
EXPO DISPLAYS CARIBBEAN INC.             PO BOX 195457                                                                                            SAN JUAN          PR      00919
EXPO GALLERY INC                         PMB 514 1353                   AVE LUIS VIGOREAUX                                                        GUAYNABO          PR      00966‐2715
EXPO MEDIC INC                           P O BOX 321                                                                                              FAJARDO           PR      00738
EXPOSITO CARRASQUILLO MD, ANTONIO        ADDRESS ON FILE
EXPOSITO RODRIGUEZ, ANGEL                ADDRESS ON FILE
EXPOSITO TURULL, MANUEL                  ADDRESS ON FILE
EXPRESO DEL TIO LUCAS                    BDA ESPERANZA CALLE A 22                                                                                 GUANICA           PR      00653
EXPRESS CELULAR CORP                     163 CALLE JOSE L LINARES                                                                                 QUEBRADILLAS      PR      00678‐1714
EXPRESS COACH INC                        PMB 929                        267 CALLE SIERRA MORENA                                                   SAN JUAN          PR      00926‐5583
EXPRESS DIESEL                           BOX 4952                       SUITE 444                                                                 CAGUAS            PR      00725
EXPRESS FIRE PRODUCTS , INC.             P. O. BOX 870                                                                                            BAYAMOM           PR      00960‐0000
EXPRESS FOOD MARKET INC                  PMB 562                        140 AVE RAFAEL CORDERO                                                    CAGUAS            PR      00725
EXPRESS GRAPHICS LLC                     1156 AVE JESUS T PINERO        CAPARRA TERRACE                                                           SAN JUAN          PR      00921
EXPRESS GRAPHICS LLC                     JESUS T PINERO 1156                                                                                      SAN JUAN          PR      00921
EXPRESS LABELS                           PO BOX 3136                                                                                              GUAYNABO          PR      00970
EXPRESS OFFICE PRODUCT, INC.             PO BOX 2120                                                                                              BAYAMON           PR      00794
EXPRESS OFFICE PRODUCTS                  PO BOX 2120                                                                                              BAYAMON           PR      00960
EXPRESS OFFICE PRODUCTS INC              PO BOX 51742                                                                                             TOA BAJA          PR      00950‐1742
EXPRESS OFFICE PRODUCTS, INC             P.O. BOX 2120                                                                                            BAYAMON           PR      00960‐2120
EXPRESS OFFICE SUPPLY CORP               BOX 58                                                                                                   SAN JUAN          PR      00926‐9778
EXPRESS OFFICE SUPPLY CORP               RR 2 BOX 58                                                                                              SAN JUAN          PR      00926‐9778
EXPRESS OFFICE SUPPLY, CORP              RR 2 BOX 58                                                                                              TRUJILLO ALTO     PR      00926‐9778
EXPRESS PHARMACY INC                     HC 9 BOX 13327                                                                                           AGUADILLA         PR      00603
EXPRESS REPAIR SERVICE INC               CARR 198 KM 16.1               BO CEIBA NORTE                                                            JUNCOS            PR      00777
EXPRESS ROOTER INC                       URB CROWN HLS                  138 AVE WINSTON CHURCHILL STE 1 PMB 781                                   SAN JUAN          PR      00926
EXPRESS TITLE INSURANCE AGENCY INC       PO BOX 364003                                                                                            SAN JUAN          PR      00936‐4003
EXPRESS TOOL                             MSC 1004 HC 4 BOX 44374                                                                                  CAGUAS            PR      00725
EXPRESS TRANSPORT LLC                    HC 2 BOX 8461                                                                                            AIBONITO          PR      00705‐9610




                                                                                                      Page 2680 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2681 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                           Address1                            Address2                                    Address3   Address4   City              State   PostalCode   Country
EXPRESSION ART & CRAFF                  BO PUEBLO                           CARR 2 KM 83.6                                                    HATILLO           PR      00659
EXPRESSIONS FLOWERS                     PO BOX 4892                                                                                           CAROLINA          PR      00984
EXPRESSIONS FLOWERS                     VILLA FONTANA                       2UR 629 AVE SANCHEZ OSORIO                                        CAROLINA          PR      00983
EXPRESSO MUFFLERS                       CALLE 22 AA‐2 RIVERVIEW                                                                               BAYAMON           PR      00961
EXPRESSWAY GRAPHICS CORP                PO BOX 3185                                                                                           ARECIBO           PR      00613
EXQUISITECES DON PEDRO                  APARTADO 1818                                                                                         CIDRA             PR      00739
EXTASIS INC                             URB SABANERA DEL RIO                35 CAMINO DE LAS AZUCENAS                                         GURABO            PR      00778‐5206
EXTASY PRINTS                           PO BOX 608                                                                                            CABO ROJO         PR      00623
EXTERMINADOR DEL OESTE                  ALT DE MAYAGUEZ                     3217 CALLE MARQUESA                                               MAYAGUEZ          PR      00682‐6251
EXTERMINOW PEST CONTROL                 1706 URB BRISAS DEL PRADO                                                                             SANTA ISABEL      PR      00757
EXTINGUIDORES DEL CARIBE                CAPARRA TERRACE                     1332 CALLE DORADO                                                 SAN JUAN          PR      00920
EXTINGUIDORES DEL CARIBE                CAPARRA TERRACE                     1332 CALLE DORADO URB PUERTO NUEVO                                SAN JUAN          PR      00920
EXTINTORES DEL CARIBE                   CAPARRA TERRACE                     1332 CALLE DORADO                                                 SAN JUAN          PR      00920‐0000
EXTINTORES DEL CARIBE                   CAPARRA TERRACE                     1332 CALLE DORADO URB PUERTO NUEVO                                SAN JUAN          PR      00920‐0000
EXTRA BASES, INC.                       PO BOX 4996                                                                                           AGUADILLA         PR      00605
EXTRA CLEAN MOTORS CORP                 URB CONDADO MODERNO                 C 25 CALLE 3                                                      CAGUAS            PR      00725
EXTRA SPACE MANAGEMENT INC              108 TRINIDAD ST                                                                                       SAN JUAN          PR      00917
EXTREME GRAPHICS , INC.                 95 MACADAMIA URB. JARDIN DEL ESTE                                                                     NAGUABO           PR      00718‐0000
EXTREME GRAPHICS INC                    P.O BOX 25                                                                                            NAGUABO           PR      00718
EXTREME GRAPHICS INC                    URB. INDUSTRIAL EL DUQUE            CARR 31 KM 2.4                                                    NAGUABO           PR      00718
EXTREME MASTER PERSONAL TRAINING EMPT   LAS COLINAS                         F 28 CALLE 6                                                      TOA BAJA          PR      00949
EXTREME SECURITY AND DATA, INC.         CAPARRA HEIGTHS 604 AVE. ESCORIAL                                                                     SAN JUAN          PR      00920‐0000
EYAD ALI FARES                          ADDRESS ON FILE
EYBETH CORTES MALDONADO                 ADDRESS ON FILE
EYDA RIVERA MORALES                     ADDRESS ON FILE
EYDALI HERNANDEZ GARCES                 ADDRESS ON FILE
EYDIE M ARROYO BAEZ                     ADDRESS ON FILE
EYDIN A RIVERA PORTES                   ADDRESS ON FILE
EYE CARE OPTICAL                        36 GAUTIER BENITEZ                  SUITE 101                                                         CAGUAS            PR      00725
EYE CARE OPTICAL                        73 PH HERNANDEZ                                                                                       HATILLO           PR      00659
EYE CARE SPECIALISTS SC                 735 W WISCONSIN AVE 400                                                                               MILWAUKEE         WI      53233
EYE CENTER                              CAROLINA SHOPPING COURT                                                                               CAROLINA          PR      00985
EYE CENTER                              EL TRIGAL PLAZA SHOPPING CENTER     CAR 2 ESQ 119 STE 4                                               MANATI            PR      00674
EYE CENTER                              SAN SEBASTIAN SHOPPING CENTER       4100 AVE A ESTRADA STE 283                                        SAN SEBASTIAN     PR      00685
EYE DESING OPTICAL‐COSUTORO VISUAL      68 CALLE BARCELO B                                                                                    BARRANQUITAS      PR      00794
EYE EXPRESS 20‐20 INC                   PO BOX 938                                                                                            CANOVANAS         PR      00729
EYE MART OPTICAS                        RIO HONDO                           B50 CALLE RIO BAYAMON                                             BAYAMON           PR      00960
EYE PHYSICIANS SURGEONS                 1207 N SCOTT ST                                                                                       WILMINGTON        DE      19806
EYE SURGERY SPECIALIST OF P R           CALL BOX 8407 FDEZ JUNCOS                                                                             SAN JUAN          PR      00910‐8407
EYE TECH CO.                            PO BOX 9370                                                                                           CAROLINA          PR      00988
EYES EXAMINATIONS                       13529 BEACH BLVD SUITE 102 103                                                                        JACKSONVILLE      FL      32246
EYES OPTIC CLINICA VISUAL               PO BOX 1137                                                                                           TOA ALTA          PR      00954‐1137
EYESIHGT AND SURGERY                    299 CAREW STREET                    SUITE 201                                                         SPRINGFIELD       MA      01104
EYLA L ROZO MONTALVO                    ADDRESS ON FILE
EYLA VANESSA                            VALLE SAN LUIS 324                                                                                    CAGUAS            PR      00725
EYLEEN J PAGAN GOMEZ                    ADDRESS ON FILE
EYLEEN MERCADO RODRIGUEZ                ADDRESS ON FILE
EYLEEN MORALES DIAZ                     ADDRESS ON FILE
EYLIN ORTIZ CARTAGENA                   ADDRESS ON FILE
EYMY M OLMO DE JESUS                    ADDRESS ON FILE
EYRA D BARBOSA PINERO                   ADDRESS ON FILE
EYRA DE LOS SANTOS                      ADDRESS ON FILE
EYRA I SANCHEZ CONDE                    ADDRESS ON FILE
EYRA JOHAN MOTA LUGO                    LCDO. CARLOS T. RODRIGUEZ           PO BOX 194803                                                     SAN JUAN          PR      00919‐4803
EYRA PEREZ CALDERON                     ADDRESS ON FILE
EZ CELULLAR INC                         PO BOX 649                                                                                            SAN SEBASTIAN     PR      00685‐0649
EZ REHAB SOLUTIONS                      7315 HANOVER PKWY                                                                                     GREENBELT         MD      20770
EZEQUIEL ACEVEDO VALENTIN               ADDRESS ON FILE
EZEQUIEL ALVAREZ MELENDEZ               ADDRESS ON FILE
EZEQUIEL ANTHONY MANNERS                ADDRESS ON FILE




                                                                                                         Page 2681 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2682 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                             Address1                      Address2                                  Address3   Address4   City         State   PostalCode   Country
EZEQUIEL AROCHO GONZALEZ                  ADDRESS ON FILE
EZEQUIEL BENITEZ RIVERA                   ADDRESS ON FILE
EZEQUIEL BERROCALES LUGO                  ADDRESS ON FILE
EZEQUIEL CONCEPCION MARTINEZ              ADDRESS ON FILE
EZEQUIEL CRUZ ROBLES                      ADDRESS ON FILE
EZEQUIEL DOMENECH BADILLO                 ADDRESS ON FILE
EZEQUIEL FELICIANO MERCADO                ADDRESS ON FILE
EZEQUIEL GONZALEZ                         ADDRESS ON FILE
EZEQUIEL GONZALEZ                         ADDRESS ON FILE
EZEQUIEL GONZALEZ                         ADDRESS ON FILE
EZEQUIEL GONZALEZ OZUNA                   ADDRESS ON FILE
EZEQUIEL GUZMAN ALICEA                    ADDRESS ON FILE
EZEQUIEL GUZMAN CLEMENTE                  ADDRESS ON FILE
EZEQUIEL GUZMAN CLEMENTE                  ADDRESS ON FILE
EZEQUIEL HERNANDEZ                        ADDRESS ON FILE
EZEQUIEL JOSE NIEVES AYALA                ADDRESS ON FILE
EZEQUIEL LAFONTAINE BARREIRO              ADDRESS ON FILE
EZEQUIEL MATIAS PEREZ                     ADDRESS ON FILE
EZEQUIEL MEDINA RODRIGUEZ                 ADDRESS ON FILE
EZEQUIEL MIRANDA DELGADO                  ADDRESS ON FILE
EZEQUIEL MOLINA RAMOS                     ADDRESS ON FILE
EZEQUIEL OLAVARRIA GONZALEZ               ADDRESS ON FILE
EZEQUIEL ORSINI RODRIGUEZ                 ADDRESS ON FILE
EZEQUIEL ORTIZ LANZO                      ADDRESS ON FILE
EZEQUIEL PENA PEREZ                       ADDRESS ON FILE
EZEQUIEL R MEDINA GOMEZ                   ADDRESS ON FILE
EZEQUIEL RAMOS PIZARRO                    ADDRESS ON FILE
EZEQUIEL RIVERA RODRIGUEZ                 ADDRESS ON FILE
EZEQUIEL RODRÍGUEZ RIVERA                 LCDO. JAIME FERRER FONTANEZ   URB. REPARTO MONTELLANO CALLE B D‐1                             Cayey        PR      00736
Ezequiel Romero Visarden                  ADDRESS ON FILE
EZEQUIEL RUIZ MILLAN                      ADDRESS ON FILE
EZEQUIEL SAEZ SAEZ                        ADDRESS ON FILE
EZEQUIEL SANTIAGO ACEVEDO                 ADDRESS ON FILE
EZEQUIEL SANTIAGO RIVERA                  ADDRESS ON FILE
EZEQUIEL SOTO QUINONES                    ADDRESS ON FILE
EZEQUIEL TORRES MANON                     ADDRESS ON FILE
EZEQUIEL TORRES REYES                     ADDRESS ON FILE
EZEQUIEL VALENTIN GONZALEZ                ADDRESS ON FILE
EZEQUIEL VARGAS ORENGO                    ADDRESS ON FILE
EZEQUIER ABRIL ARCE                       ADDRESS ON FILE
EZEQUIER ABRIL ARCE                       ADDRESS ON FILE
EZER MORENO SOLER                         ADDRESS ON FILE
E‐ZPASS NY                                P.O. BOX 15185                                                                                ALBANY       NY      12212‐5185
EZQUERRA LLANOS, GUILLERMO                ADDRESS ON FILE
EZRA S ELKAYAM                            ADDRESS ON FILE
EZRA S. ELKAYAM , MD                      ADDRESS ON FILE
F & A PROFESSIONAL SERVICES CORP.         RR‐8 BOX 1995 PMB 298                                                                         BAYAMON      PR      00956
F & B CONSTUCCION CORP                    PMB 416 HC 01 BOX 29030                                                                       CAGUAS       PR      00725‐8900
F & C ALL UNIFORMS INC                    2341 BOULEVARD                LUIS A FERRER SUITE 101                                         PONCE        PR      00717‐2125
F & J M CARRERA INC.                      PO BOX 362589                                                                                 SAN JUAN     PR      00936‐2589
F & J M CARRERA INC.                      PO BOX 364704                                                                                 SAN JUAN     PR      00936‐4704
F & JM CARRERA INC Y BANCO SANTANDER PR   PO BOX 362589                                                                                 SAN JUAN     PR      00936‐2589
F & JM CARRERA INC Y BANCO SANTANDER PR   PO BOX 364704                                                                                 SAN JUAN     PR      00936‐4704
F & M CONTRACTORS INC                     260 COLL Y TOSTE ST                                                                           SAN JUAN     PR      00918
F & R CONSTRUCTION CORP                   PO BOX 9932                                                                                   SAN JUAN     PR      00908‐9932
F & S ACQUISITION SE                      BOX 11226                                                                                     SAN JUAN     PR      00922‐1226
F ALVIRA INC                              AVE EDUARDO CONDE # 2301                                                                      SAN JUAN     PR      00915‐0000
F AND V TRANSPORT AND LINE SERVICE INC    QTA DEL RIO                   B2 PLAZA CINCO                                                  BAYAMON      PR      00961‐3005
F BARAGAÐO PHARMACEUTICAL                 PO BOX 364421                                                                                 SAN JUAN     PR      00936‐4421
F BARAGANO PHARMACEUTICAL                 PO BOX 364421                                                                                 SAN JUAN     PR      00936 4421




                                                                                                   Page 2682 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2683 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                    Address1                                Address2                                Address3   Address4   City              State   PostalCode   Country
F C A DEVELOPMENT INC            P O BOX 29758                                                                                         SAN JUAN          PR      00929
F CASTILLO COMPANY INC           PO BOX 190432                                                                                         SAN JUAN          PR      00919‐0432
FEMA                             P O BOX 530217                                                                                        ATLANTA           GA      30353
F G AUTO RETAILS INC             1970 AVE EMERITO ESTRADA                                                                              SAN SEBASTIAN     PR      00685
F H T INC                        PO BOX 7814                                                                                           PONCE             PR      00732
F I S INC                        PO BOX 8526 FDEZ JUNCOS STA                                                                           SAN JUAN          PR      00910‐8526
F MORA AND ASOCIADOS INC         VILLAS DE PALMA REAL                    201 CALLE DUKE APT TH3                                        SAN JUAN          PR      00927‐4122
F OLAZABAL AND CIA INC           PO BOX 2926                                                                                           BAYAMON           PR      00960
F R CONSULTING GROUP PS          HACIENDA SAN JOSE                       441 VIA CAMPINA                                               CAGUAS            PR      00727
F S MEDICAL INC.                 PMB 149 PO BOX 6022                                                                                   CAROLINA          PR      00984
F S SURVEYING CORP               PO BOX 2075                                                                                           AIBONITO          PR      00705
F SANCHEZ LABOY INC              URB PANORAMA                            A1 CALLE 2                                                    BAYAMON           PR      00957
F SANCHEZ LABOY INC              URB PANORAMA ESTATES                    A 1 CALLE 2                                                   BAYAMON           PR      00957
F T CLINICAL LABORATORIES IN     PO BOX 143233                                                                                         ARECIBO           PR      00614
F&R CONSTRUCTION GROUP INC.      HARVARD 1010 ESQ. INTERAMERICANA UNIVERSITY RIO PIEDRA                                                SAN JUAN          PR      00927
F. & J. M. CARRERA , INC.        P. O. BOX 4704                                                                                        SAN JUAN          PR      00922‐0000
F. OLAZABAL & CO., INC.          PO BOX 2926                                                                                           BAYAMON           PR      00960
F.E. CORP                        PO BOX 2000                                                                                           CATANO            PR      00963‐2000
F.L.A.M. CORP                    PO BOX 172                                                                                            LAS PIEDRAS       PR      00771
F1 AUTO WORKS & COLLISION CORP   PO BOX 662                                                                                            HATILLO           PR      00659‐0662
Fabelo Huyke, Michelle D.        ADDRESS ON FILE
FABERLLE CORREA, MERCEDES        ADDRESS ON FILE
FABERLLE HERNANDEZ, ISRAEL       ADDRESS ON FILE
FABERLLE LERDO, SANDRA           ADDRESS ON FILE
FABERLLE MATOS, YADIRA           ADDRESS ON FILE
FABERY RODRIGUEZ, CARMEN         ADDRESS ON FILE
FABERY TORRES, AILEEN            ADDRESS ON FILE
FABERY TORRES, ALFREDO           ADDRESS ON FILE
FABERY TORRES, ARMANDO           ADDRESS ON FILE
FABERY TORRES, RICARDO           ADDRESS ON FILE
FABERY TORRES, ZULAIKA           ADDRESS ON FILE
FABIAN A LOPEZ NIEVES            ADDRESS ON FILE
FABIAN A LOPEZ NIEVES            ADDRESS ON FILE
FABIAN ARCE MORALES              ADDRESS ON FILE
FABIAN ARCE MORALES              ADDRESS ON FILE
FABIAN ARGUETA, RAFAEL           ADDRESS ON FILE
FABIAN ARROYO RODRIGUEZ          ADDRESS ON FILE
FABIAN ARROYO, PAOLA Y           ADDRESS ON FILE
FABIAN CARDONA COREANO           ADDRESS ON FILE
FABIAN DEL VALLE MARTINEZ        ADDRESS ON FILE
FABIAN DIAZ HERNANDEZ            ADDRESS ON FILE
Fabian Disla, Juana I.           ADDRESS ON FILE
FABIAN DUARTE BENTANCOR          ADDRESS ON FILE
FABIAN ESPINA RIVERA             ADDRESS ON FILE
FABIAN FERNANDEZ ARIAZA          LIC. ANGEL RODRIGUEZ GARALLARDE         PMB 170 PO BOX 194000                                         SAN JUAN          PR      00919‐4000
FABIAN FLORES, WANDA I           ADDRESS ON FILE
FABIAN G ASENCIO TORRES          ADDRESS ON FILE
FABIAN GARABITO, SONIA V         ADDRESS ON FILE
FABIAN GONZALEZ HERNANDEZ        ADDRESS ON FILE
FABIAN GONZALEZ HERNANDEZ        ADDRESS ON FILE
FABIAN GONZALEZ, CARLA           ADDRESS ON FILE
FABIAN GONZALEZ, NATALIA         ADDRESS ON FILE
FABIAN H FLORES RIVERA           ADDRESS ON FILE
FABIAN J ANTOMMARCHI LOPEZ       ADDRESS ON FILE
FABIAN J RODRIGUEZ COLON         ADDRESS ON FILE
FABIAN JIMENEZ, DIGNORA          ADDRESS ON FILE
FABIAN LOPEZ GONZALEZ            ADDRESS ON FILE
FABIAN MAESTRE, JAIME            ADDRESS ON FILE
FABIAN MAESTRE, JOSE             ADDRESS ON FILE
FABIAN MALDONADO, FRANCISCO      ADDRESS ON FILE




                                                                                                  Page 2683 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2684 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                            Address1                  Address2                                 Address3   Address4   City          State   PostalCode   Country
FABIAN MALDONADO, JUAN GABRIEL           ADDRESS ON FILE
FABIAN MEDINA SANTORI                    ADDRESS ON FILE
FABIAN MENDEZ / GCS INC                  ADDRESS ON FILE
FABIAN MENDEZ ROSADO                     ADDRESS ON FILE
FABIAN MENDEZ ROSADO                     ADDRESS ON FILE
FABIAN N LEON MEDINA                     ADDRESS ON FILE
FABIAN NAZARIO GONZALEZ                  ADDRESS ON FILE
FABIAN O VISBAL ORTIZ                    ADDRESS ON FILE
FABIAN ORTIZ RODRIGUEZ                   ADDRESS ON FILE
FABIAN R LOPEZ ORTIZ                     ADDRESS ON FILE
FABIAN RAMIREZ TORRES                    ADDRESS ON FILE
FABIAN RENTAS RODRIGUEZ                  ADDRESS ON FILE
FABIAN REYES / MANUEL REYES              ADDRESS ON FILE
FABIAN RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
FABIAN RODRIGUEZ TORRES                  ADDRESS ON FILE
FABIAN RODRIGUEZ VAZQUEZ                 ADDRESS ON FILE
FABIAN ROMAN DE JESUS /ANGELINA DE JESUS ADDRESS ON FILE
FABIAN ROMAN, JOHANNA                    ADDRESS ON FILE
FABIAN SANTOS, FELIX                     ADDRESS ON FILE
FABIAN VELAZQUEZ LOPEZ                   ADDRESS ON FILE
FABIAN VELEZ ORENGO                      ADDRESS ON FILE
FABIANA BARASORDA VIERA                  ADDRESS ON FILE
FABIANA DE JESUS SERRANO A/C GUESELLA SE ADDRESS ON FILE
FABIANA M ARROYO RODRIGUEZ               ADDRESS ON FILE
FABIANA NEVADO MORALES                   ADDRESS ON FILE
FABIANA PEREZ LOPEZ                      ADDRESS ON FILE
FABIANA W BALLE REY                      ADDRESS ON FILE
FABIANI RODRIGUEZ MD, MIGUEL A           ADDRESS ON FILE
FABIJAN CONSTRUCTION                     ADDRESS ON FILE
FABINAEL MEDICAL CORP                    PO BOX 4187                                                                              AGUADILLA     PR      00605
FABIO A HERNANDEZ PAEZ                   ADDRESS ON FILE
FABIO A QUINONES ZAYAS                   ADDRESS ON FILE
FABIO C ALBA CONCEPCION                  ADDRESS ON FILE
FABIO E VILLEGAS BERRIO                  ADDRESS ON FILE
FABIO GARCIA PASSALACQUA                 ADDRESS ON FILE
FABIO H LUGO M D                         COTTO LAURELL             309 TORRE SAN CRISTOBAL                                        PONCE         PR      00780‐2856
FABIO R PEREZ MOLINA                     ADDRESS ON FILE
FABIO TASSAN MAZZOCCO                    ADDRESS ON FILE
FABIOLA A PLAZA PEREZ                    ADDRESS ON FILE
FABIOLA A PLAZA VAZQUEZ                  ADDRESS ON FILE
FABIOLA ACARON PORRATA DORIA             ADDRESS ON FILE
FABIOLA CASTRILLON MEJIAS                ADDRESS ON FILE
FABIOLA D CARABALLO HERNANDEZ            ADDRESS ON FILE
FABIOLA E BILLOCH CASTANERA              ADDRESS ON FILE
FABIOLA GRISELLE ARROYO RAMIREZ          ADDRESS ON FILE
FABIOLA GUZMAN RIVERA                    ADDRESS ON FILE
FABIOLA L COLLAZO VAZQUEZ/MARTA VAZQUEZ ADDRESS ON FILE
FABIOLA M DAVILA FIGUEROA                ADDRESS ON FILE
FABIOLA M MANFREDI BAEZ                  ADDRESS ON FILE
FABIOLA M MARTINEZ RIVERA                ADDRESS ON FILE
FABIOLA M MIRANDARIOS/ VANESSA RIOS      ADDRESS ON FILE
FABIOLA M RIVERA PEREZ                   ADDRESS ON FILE
FABIOLA M SEMIDEI ORTIZ                  ADDRESS ON FILE
FABIOLA M VELEZ CUMBA                    ADDRESS ON FILE
FABIOLA M. OLIVARES TORRES               ADDRESS ON FILE
FABIOLA MARTINEZ SANTANA                 ADDRESS ON FILE
FABIOLA NIEVES SANCHEZ                   ADDRESS ON FILE
FABIOLA ORTIZ APARICIO                   ADDRESS ON FILE
FABIOLA PLAZA VAZQUEZ / NANCY VAZQUEZ    ADDRESS ON FILE
FABIOLA T ACEVEDO A/C LUIS ACEVEDO TORRE ADDRESS ON FILE




                                                                                             Page 2684 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2685 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                           Address1                          Address2                                   Address3   Address4   City              State   PostalCode   Country
FABIOLA TORRES VARELA                   ADDRESS ON FILE
FABIOLA V. LEON                         ADDRESS ON FILE
FABIOLA VALLE IRIZARRY                  ADDRESS ON FILE
FABIOLA ZAYAS RODRIGUEZ                 ADDRESS ON FILE
FABRE BURGOS, EDNITA                    ADDRESS ON FILE
FABRE CASTRO, RICARDO A.                ADDRESS ON FILE
FABRE LABOY, JOSE                       ADDRESS ON FILE
FABRE LABOY, JOSE                       ADDRESS ON FILE
FABRE LABOY, RAFAEL                     ADDRESS ON FILE
FABRE MARTINEZ, JESUS                   ADDRESS ON FILE
FABRE MARTINEZ, MYRTA                   ADDRESS ON FILE
FABRE NIEVES, JUDITH                    ADDRESS ON FILE
FABRE ORTIZ, NORBERTO                   ADDRESS ON FILE
FABRE RAMIREZ, MIGUEL                   ADDRESS ON FILE
FABRE REYNOSO, MARIA D                  ADDRESS ON FILE
FABRE RIVERA, SALVADOR                  ADDRESS ON FILE
FABRE RODRIGUEZ, SONIA                  ADDRESS ON FILE
FABRE RUIZ, CARLOS                      ADDRESS ON FILE
Fabre, Maria I                          ADDRESS ON FILE
FABREGAS ALVAREZ, JORGE                 ADDRESS ON FILE
Fabregas Morales, Carlos A              ADDRESS ON FILE
Fabregas Ramirez, Jose O                ADDRESS ON FILE
Fabregas Ruiz, Miguel                   ADDRESS ON FILE
FABREGAS SOTELO, ZORAIDA                ADDRESS ON FILE
FABREGAT PEREZ, ILEANA                  ADDRESS ON FILE
FABRES LABOY, JESUS                     ADDRESS ON FILE
FABRI MONTANEZ TORRES                   ADDRESS ON FILE
FABRICA DE DULCE LA FE                  HC 01 BOX 20719                                                                                    CAGUAS            PR      00725
FABRICA DE MUEBLES GINNETTE             BOX 1315                                                                                           YAUCO             PR      00698
FABRICA DE MUEBLES LA CABORROJENA INC   PO BOX 87                                                                                          CABO ROJO         PR      00623
FABRICA DE MUEBLES LUGO INC             PO BOX 1187                                                                                        YAUCO             PR      00698
FABRICA MUEBLES GINNETTE                CARRETERA 371 KM 3 4              ALMACIGO ALTO                                                    YAUCO             PR      00698
FABRICIANO A ESCOBAR ARANGO             ADDRESS ON FILE
FABRICIANO PEREZ ORTIZ                  ADDRESS ON FILE
FABRICIO COLON, RICARDO                 ADDRESS ON FILE
FABRICIO FERNANDEZ, MARIA M.            ADDRESS ON FILE
FABRINEDITO INC                         CONDOMINIO PLAZA DEL PARQUE 288                                                                    TRUJILLO ALTO     PR      00976
FABRIZIO & ASSOC INC                    3801 CHANTICLEER CT                                                                                TALLAHASSEE       FL      32311‐3628
FAC DERECHO EUGENIO MA HOSTOS           BARCO DE PAPEL                    APARTADO 1900                                                    MAYAGUEZ          PR      00681
FACCIO & PABON ROCA LAW OFFICES         URB HEYDE PARK 249 LAS MARIAS                                                                      SAN JUAN          PR      00927
FACCIO CRUZ, BALWINIA                   ADDRESS ON FILE
FACCIO GELABERT, FERNANDO               ADDRESS ON FILE
FACCIO LABOY, FERNANDO                  ADDRESS ON FILE
FACCIO LOPEZ, GILBERTO                  ADDRESS ON FILE
FACCIO PEREZ, LISSETTE                  ADDRESS ON FILE
FACCIO RIVERA, ANGEL                    ADDRESS ON FILE
FACCIO RIVERA, JOSE                     ADDRESS ON FILE
FACCIO RIVERA, LIZZAN                   ADDRESS ON FILE
FACEBANK INTERNATIONAL CORP             CENTRO INTERNATIONAL MERCADEO     100 CARR 165 ST 202                                              GUAYNABO          PR      00968
FACENDA RODRIGUEZ, MAYRA G              ADDRESS ON FILE
FACEY MENDEZ, VICENTE                   ADDRESS ON FILE
FACEY SOTO, AIREEN                      ADDRESS ON FILE
FACF TRUST & FEDERICO CARDONA FIRPI     LCDO. JOSE A. HERNANDEZ VELEZ     THE AUTRIUM OFFICE CENTER 530 AVE. CONSTITUCION                  SAN JUAN          PR      00901‐2304
FACHINI ROSIM, ESTEVAO                  ADDRESS ON FILE
FACIL AUTO INC                          708 AVE 65TH DE INFANTERIA                                                                         SAN JUAN          PR      00924
FACILITIES ENGINEERING SERVICES, CORP   400 CALAF SUITE 415                                                                                SAN JUAN          PR      00918
FACOBRA INC ( SUBWAY PLAZA DE ARMAS )   SOL 105 APT 201                                                                                    SAN JUAN          PR      00901
Facsimile Paper Connection              PO BOX 363122                                                                                      SAN JUAN          PR      00936‐3122
FACSIMILE PAPER CONNECTION CORP         AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
FACSIMILE PAPER CONNECTION CORP         PO BOX 363122                                                                                      SAN JUAN          PR      00936




                                                                                                      Page 2685 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2686 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                        Creditor Matrix

Creditor Name                            Address1                                        Address2                                    Address3      Address4   City              State   PostalCode   Country
Factory Mutual Insurance Company         270 Central Avenue                              PO Box 7500                                                          Johnston          RI      02919‐4949
Factory Mutual Insurance Company         Attn: Jay Swiatek, Consumer Complaint Contact   270 Central Ave.                            PO Box 7500              Johnston          RI      02919
Factory Mutual Insurance Company         Attn: John Pomeroy, Vice President              270 Central Ave.                            PO Box 7500              Johnston          RI      02919
Factory Mutual Insurance Company         Attn: Nelson Wester, Vice President             270 Central Ave.                            PO Box 7500              Johnston          RI      02919
Factory Mutual Insurance Company         Attn: Shivan Subramaniam, President             270 Central Ave.                            PO Box 7500              Johnston          RI      02919
FACTU RUSH INC                           RR 7 BOX 17123                                                                                                       TOA ALTA          PR      00953‐8843
FACTUMED INC                             405 AVE ESMERALDA STE 2 PMB 110                                                                                      GUAYNABO          PR      00969
FACTUMED INC                             PMB 110 405 AVE ESMERALDA                       SUITE 2                                                              GUAYNABO          PR      00969‐4457
FACTURACION ESPECIALIZADA                PO BOX 1140                                                                                                          AIBONITO          PR      00705‐1140
FACULTAD DERECHO EUGENIO MARIA DE HOSTOPO BOX 1900                                                                                                            MAYAGUEZ          PR      00681
FACUNDO DI MAURO VAZQUEZ                 ADDRESS ON FILE
FACUNDO VELAZQUEZ, JOSE R                ADDRESS ON FILE
FADHEL CASTELLVI, EDUARDO                ADDRESS ON FILE
FADYRO DISTRIBUTORS INC                  PO BOX 1299                                                                                                          SAN LORENZO       PR      00754‐1299
FAEDRA S VAZQUEZ RODRIGUEZ               ADDRESS ON FILE
FAGES TORRES, SUSAN M.                   ADDRESS ON FILE
FAGET BETANCOURT, ANA                    ADDRESS ON FILE
FAGET OLIVAR MD, GUILLERMO               ADDRESS ON FILE
FAGUNDO CRUZ, CARMEN J                   ADDRESS ON FILE
FAGUNDO FAGUNDO, FERNANDO                ADDRESS ON FILE
FAGUNDO FAS, CARMEN J.                   ADDRESS ON FILE
FAGUNDO NARANJO, LAZARO                  ADDRESS ON FILE
FAGUNDO OJEDA, DENNIS                    ADDRESS ON FILE
FAGUNDO VELEZ, MAYRA                     ADDRESS ON FILE
FAGUNDO VELEZ, MAYRA                     ADDRESS ON FILE
FAGUNDO ZAPATA, ELIZABETH                ADDRESS ON FILE
FAGUNDO, DWIGHT I.                       ADDRESS ON FILE
FAHED IÑIGO MD, GEORGE                   ADDRESS ON FILE
FAHED INIGO, GEORGE PAUL                 ADDRESS ON FILE
FAHMI ALKHATIB, WAEL                     ADDRESS ON FILE
FAHMI KHATIB, MOHAMED                    ADDRESS ON FILE
FAHMY, MICHEL                            ADDRESS ON FILE
FAICA, MELVIN                            ADDRESS ON FILE
FAIERMAN MD, EIAL                        ADDRESS ON FILE
FAIR BANK                                PO BOX 191265                                                                                                        SAN JUAN          PR      00919‐1265
FAIR CONSTRUCTION INC.                   CARRILLO DELGADO RICARDO E                      403 CALLE DEL PARQUE STE 6                                           SAN JUAN          PR      00912‐3709
FAIR HAVEN COMMUNITY HEALTH CENTER       374 GRAND AVE                                                                                                        NEW HAVEN         CT      06513
FAIRBANKS PSYCHIATRIC AND NEUROLOGICAL CL1919 LATHROP ST STE 220                                                                                              FAIRBANKS         AK      99701
FAIRVIEW BROOKLYN PARK CLINIC            10000 ZANE AVE N                                                                                                     BROOKLYN PARK     MN      55443
FAIRVIEW HEALTH SERVICES                 400 STINSON BLVD                                                                                                     MINNEAPOLIS       MN      55413
FAIRVIEW RIDGES HOSPITAL                 PO BOX 19072                                                                                                         GREEN BAY         WI      54307‐9072
FAISCA MONTALVO, DAYANETTE               ADDRESS ON FILE
FAISCA MONTALVO, HEIDI                   ADDRESS ON FILE
FAISCA ROSADO MD, WILFREDO               ADDRESS ON FILE
FAISCA ROSADO, WILFRED                   ADDRESS ON FILE
FAITH WALLACE                            ADDRESS ON FILE
FAITHFUL & GOULD INC                     4030 W BOY SCOUT BLVD STE 700                                                                                        TAMPA             FL      33607
Faivre Delerme, Warren                   ADDRESS ON FILE
FAIX CORTES, YANIRA                      ADDRESS ON FILE
FAIX FIGUEROA, EVELYN M                  ADDRESS ON FILE
FAJAR MARRERO, JOSE M.                   ADDRESS ON FILE
FAJARDO ALCALA, HERIBERTO                ADDRESS ON FILE
FAJARDO ALTURET, CECILIO                 ADDRESS ON FILE
FAJARDO ARZUAGA, JESUS                   ADDRESS ON FILE
FAJARDO ARZUAGA, RAMONA                  ADDRESS ON FILE
FAJARDO BAEZ, AMABLE                     ADDRESS ON FILE
FAJARDO CASTRO, EDMARIE                  ADDRESS ON FILE
FAJARDO DELGADO, GLORIA E                ADDRESS ON FILE
FAJARDO DIAZ, MATILDE                    ADDRESS ON FILE
FAJARDO FORD INC                         P O BOX 981                                                                                                          FAJARDO           PR      00738‐0981




                                                                                                                      Page 2686 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2687 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                      Address1                             Address2                               Address3   Address4   City            State   PostalCode   Country
FAJARDO FORD, INC                  PMB 194                              PO BOX 70005                                                 FAJARDO         PR      00738‐7005
FAJARDO GARCIA, CAROL E            ADDRESS ON FILE
FAJARDO GARCIA, NATALIA            ADDRESS ON FILE
FAJARDO GONZALEZ, GRACE            ADDRESS ON FILE
FAJARDO HEREDIA, DUGLAS A          ADDRESS ON FILE
FAJARDO IMAGING INC                P O BOX 490                                                                                       PUERTO REAL     PR      00740‐0490
FAJARDO IMAGING INC                PO BOX 490                                                                                        FAJARDO         PR      00738
FAJARDO IMAGING M R I C S P        PO BOX 490                                                                                        FAJARDO         PR      00740
FAJARDO INN                        PO BOX 4309                                                                                       FAJARDO         PR      00740
FAJARDO INN SE                     PO BOX 4309                                                                                       PUERTO REAL     PR      00740
FAJARDO INN; SE                    #52 PARCELAS BELTRAN                                                                              FAJARDO         PR      00740‐0000
FAJARDO INN; SE                    P. O. BOX 4309                       PUERTO REAL                                                  FAJARDO         PR      00740‐0000
FAJARDO LOAYZA, ROSA M             ADDRESS ON FILE
FAJARDO MANTILLA, MILTON           ADDRESS ON FILE
FAJARDO MORALES, RAFAEL            ADDRESS ON FILE
FAJARDO OLAYS, EFRAIN              ADDRESS ON FILE
FAJARDO OLAYS, LUIS                ADDRESS ON FILE
FAJARDO RIVERA, RADAMES            ADDRESS ON FILE
FAJARDO RIVERA, RAFAEL A           ADDRESS ON FILE
FAJARDO RIVERA, WILLIAM            ADDRESS ON FILE
FAJARDO RIVERO, RACHELLE           ADDRESS ON FILE
FAJARDO ROJAS, ZURYS               ADDRESS ON FILE
FAJARDO ROSA, JENNIFER             ADDRESS ON FILE
FAJARDO ROSA, JENNIFER             ADDRESS ON FILE
FAJARDO SANABRIA, RAFAEL           ADDRESS ON FILE
FAJARDO SANCHEZ, VIVIANA           ADDRESS ON FILE
FAJARDO SCHOOL AND OFFICE SUPPLY   COL EVANGELICO REV LUIS A CASILLAS   1256 AVE LAURO PINERO                                        FAJARDO         PR      00738
FAJARDO TOLENTINO, JOHALY          ADDRESS ON FILE
FAJARDO TORRES, DAMARIS            ADDRESS ON FILE
FAJARDO TORRES, YOMARIS            ADDRESS ON FILE
Fajardo Vega, Jose A.              ADDRESS ON FILE
FAJARDO VELEZ, VICTOR R            ADDRESS ON FILE
FAJARDO VERDEJO, CARLOS            ADDRESS ON FILE
FAJARDO VERDEJO, CARLOS R          ADDRESS ON FILE
FAJARDO, ALEX A                    ADDRESS ON FILE
FAKHRI MUBARAK RAMOS               ESTANCIAS VELAZQUEZ                  50 CALLE MIRAMAR                                             ISABELA         PR      00662
FALAK RODRIGUEZ, SHARON            ADDRESS ON FILE
FALBE PORTELA, VIVIAN              ADDRESS ON FILE
FALCHE FELICIANO, LUZ I.           ADDRESS ON FILE
FALCHE MELENDEZ, ALBEN             ADDRESS ON FILE
FALCHE PACHECO, ABEL               ADDRESS ON FILE
FALCHE PACHECO, MARIA DE LOS A     ADDRESS ON FILE
FALCHE RODRIGUEZ, SOR ALLENY P.    ADDRESS ON FILE
FALCON AGOSTO, ISAURA A            ADDRESS ON FILE
FALCON ALICEA, GENARO              ADDRESS ON FILE
FALCON ALVAREZ, MAYRA              ADDRESS ON FILE
FALCON AMBULANCE                   CALLE 12 SS ‐ 19 URB. CANA                                                                        BAYAMON         PR      00957‐0000
FALCON ANDINO, BETZAIDA            ADDRESS ON FILE
FALCON ANDINO, CARMEN E            ADDRESS ON FILE
FALCON AVILES, LUIS                ADDRESS ON FILE
FALCON AYALA, GRETCHEN Y           ADDRESS ON FILE
FALCON AYALA, JEANNETTE            ADDRESS ON FILE
FALCON BAERGA, JOSE A.             ADDRESS ON FILE
FALCON BAERGA, JOSE A.             ADDRESS ON FILE
FALCON BAEZ, STEPHANIE             ADDRESS ON FILE
FALCON BELTRAN, CARMEN I           ADDRESS ON FILE
FALCON BERMUDEZ, JESUS             ADDRESS ON FILE
Falcon Bonilla, Roberto            ADDRESS ON FILE
FALCON CABRERA, IRIS D             ADDRESS ON FILE
FALCON CAMACHO, ANA                ADDRESS ON FILE




                                                                                                Page 2687 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2688 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                               Address1                   Address2                            Address3               Address4   City         State   PostalCode   Country
FALCON CAMACHO, CARLOS                      ADDRESS ON FILE
FALCON CARATINI, ROBERTO                    ADDRESS ON FILE
FALCON CARDONA, JOSE N.                     ADDRESS ON FILE
FALCON CARDONA, JOSE N.                     ADDRESS ON FILE
FALCON CARO MD, GONZALO                     ADDRESS ON FILE
FALCON CARO, NEFTALI                        ADDRESS ON FILE
FALCON CARO, RUBEN                          ADDRESS ON FILE
Falcon Carrillo, Hector L                   ADDRESS ON FILE
FALCON CASILLAS, ELENA                      ADDRESS ON FILE
FALCON CAZANAS, RAUL                        ADDRESS ON FILE
FALCON CHAPARRO, JOSE A                     ADDRESS ON FILE
FALCON COLON, INELIA E                      ADDRESS ON FILE
FALCON COLON, ISMAEL A                      ADDRESS ON FILE
FALCON COLON, LUZ ELIA Y ELIA LUZ FALCON CO ALONDRA FRAGA MELENDEZ     PO BOX 29074                                                          SAN JUAN     PR      00929
FALCON COLON, LUZ ELIA Y ELIA LUZ FALCON CO FELIPE FONTANEZ SULLIVAN   PO BOX 365067                                                         SAN JUAN     PR      00936‐5067
FALCON COLON, LUZ ELIA Y ELIA LUZ FALCON CO HECTOR COLLAZO             CALLE GUAYAMA #556                                                    SAN JUAN     PR      00918
FALCON CORRERO, JOSHUA                      ADDRESS ON FILE
FALCON CORTES, MARIA                        ADDRESS ON FILE
FALCON COTTO, JANNETTE                      ADDRESS ON FILE
FALCON COTTO, RAUL A                        ADDRESS ON FILE
FALCON CRUZ, CARMEN M                       ADDRESS ON FILE
FALCON CRUZ, CARMEN R                       ADDRESS ON FILE
FALCON CRUZ, ELEANA K.                      ADDRESS ON FILE
FALCON CRUZ, EVELYN                         ADDRESS ON FILE
FALCON CRUZ, MONSERRATE                     ADDRESS ON FILE
FALCON CRUZ, NELLY                          ADDRESS ON FILE
FALCON CRUZ, ROBERTO                        ADDRESS ON FILE
FALCON CUADRADO, FACUNDO                    ADDRESS ON FILE
FALCON CUEVAS, JOSE                         ADDRESS ON FILE
FALCON CUEVAS, LINNETTE                     ADDRESS ON FILE
FALCON DAVILA, VICTOR                       ADDRESS ON FILE
FALCON DE LEON, DAVID                       ADDRESS ON FILE
FALCON DE LEON, JOSUE                       ADDRESS ON FILE
FALCON DEL TORO, LICELY                     ADDRESS ON FILE
FALCON DELGADO, CECIBELLE                   ADDRESS ON FILE
FALCON DELGADO, CELIBELLE                   ADDRESS ON FILE
FALCON DELGADO, KARINA                      ADDRESS ON FILE
FALCON DIAZ, CARMEN                         ADDRESS ON FILE
FALCON DIAZ, DIANA 0                        ADDRESS ON FILE
FALCON DIAZ, FELIX                          ADDRESS ON FILE
FALCON DIAZ, JOSE                           ADDRESS ON FILE
FALCON DIAZ, JUAN                           ADDRESS ON FILE
FALCON DIAZ, MARIA S                        ADDRESS ON FILE
FALCON DIAZ, NELSON R.                      ADDRESS ON FILE
FALCON DIAZ, NOEMI                          ADDRESS ON FILE
FALCON EMANUELLI, JUAN F                    ADDRESS ON FILE
FALCON EMMANUELLI, JANET                    ADDRESS ON FILE
FALCON EMMANUELLI, JUAN                     ADDRESS ON FILE
FALCON FALCON, PAULA                        ADDRESS ON FILE
FALCON FIGUEROA, ANTONIO                    ADDRESS ON FILE
FALCON FIGUEROA, LORRY                      ADDRESS ON FILE
FALCON FIGUEROA, PAULA                      ADDRESS ON FILE
FALCON FLORAS, JORGE                        ADDRESS ON FILE
FALCÓN FRANQUI, JANETTE                     ALONDRA FRAGA MELENDEZ     PO BOX 29074                                                          SAN JUAN     PR      00929‐0074
                                                                                                           500 AVE MUÑOZ RIVERA
FALCÓN FRANQUI, JANETTE                   JOSE R. OLMO RODRIGUEZ       EDIF EL CENTRO I                    STE 215                           SAN JUAN     PR      00918
FALCON GALARZA, CARLOS                    ADDRESS ON FILE
FALCON GALARZA, INELD M.                  ADDRESS ON FILE
FALCON GARCIA, NYDIA M.                   ADDRESS ON FILE
FALCON GOMEZ, IVETTE                      ADDRESS ON FILE




                                                                                            Page 2688 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2689 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FALCON GOMEZ, LEYLA C         ADDRESS ON FILE
FALCON GONZALEZ, ANGEL        ADDRESS ON FILE
FALCON GONZALEZ, CARMEN J     ADDRESS ON FILE
FALCON GONZALEZ, DENISSE M    ADDRESS ON FILE
FALCON GONZALEZ, JACKSON      ADDRESS ON FILE
FALCON GONZALEZ, JUAN A.      ADDRESS ON FILE
FALCON GONZALEZ, OTONIEL      ADDRESS ON FILE
FALCON GONZALEZ, SILA         ADDRESS ON FILE
FALCON GORDILLO, ANA          ADDRESS ON FILE
FALCON GORDILLO, ANGEL        ADDRESS ON FILE
FALCON GUZMAN, CHRISTIAN      ADDRESS ON FILE
FALCON GUZMAN, ITSA D         ADDRESS ON FILE
FALCON GUZMAN, JESSICA I.     ADDRESS ON FILE
FALCON GUZMAN, LUZ A          ADDRESS ON FILE
FALCON HERNANDEZ, ADA I       ADDRESS ON FILE
FALCON HERNANDEZ, ELISA       ADDRESS ON FILE
FALCON HERNANDEZ, JENNIFER    ADDRESS ON FILE
FALCON HERNANDEZ, KARELING    ADDRESS ON FILE
FALCON HERNANDEZ, VIRNA       ADDRESS ON FILE
FALCON HUERTAS, LIZIRMA       ADDRESS ON FILE
FALCON HUERTAS, NORMA L       ADDRESS ON FILE
FALCON IRENE, FERMINA         ADDRESS ON FILE
FALCON LAGUNA, ILEANA         ADDRESS ON FILE
FALCON LAGUNA, ILEANA         ADDRESS ON FILE
FALCON LOPEZ, CARMEN L.       ADDRESS ON FILE
FALCON LOPEZ, EVELYN          ADDRESS ON FILE
FALCON LOPEZ, FERNANDO        ADDRESS ON FILE
FALCON LOPEZ, ISRAEL          ADDRESS ON FILE
FALCON LOPEZ, JAINA           ADDRESS ON FILE
FALCON LOPEZ, JUAN CARLOS     ADDRESS ON FILE
FALCON LOPEZ, RAMON A         ADDRESS ON FILE
FALCON LOPEZ, YUMAILA         ADDRESS ON FILE
FALCON LORENZO, MILDRED       ADDRESS ON FILE
FALCON LOZADA, JOSE           ADDRESS ON FILE
FALCON LOZADA, MARIA I        ADDRESS ON FILE
FALCON MALAVE, MERLYN L.      ADDRESS ON FILE
FALCON MALDONADO, DAVID       ADDRESS ON FILE
Falcon Maldonado, Nelida      ADDRESS ON FILE
FALCON MALDONADO, OLGA I      ADDRESS ON FILE
FALCON MARTINEZ, ISOANNETTE   ADDRESS ON FILE
FALCON MARTINEZ, MELIZA       ADDRESS ON FILE
FALCON MARTINEZ, NOEL         ADDRESS ON FILE
FALCON MARTINEZ, OSCAR        ADDRESS ON FILE
FALCON MARTINEZ, SHEILA       ADDRESS ON FILE
FALCON MATOS MD, CARLOS A     ADDRESS ON FILE
FALCON MATOS, WANDA I         ADDRESS ON FILE
FALCON MEJIA, CYNTHIA         ADDRESS ON FILE
FALCON MELENDEZ, DOMINGO      ADDRESS ON FILE
Falcon Melendez, Ivette       ADDRESS ON FILE
FALCON MELENDEZ, JORGE        ADDRESS ON FILE
FALCON MELENDEZ, MARGARITA    ADDRESS ON FILE
FALCON MERCED, JEISY M        ADDRESS ON FILE
FALCON MERCED, JULIO C        ADDRESS ON FILE
Falcon Montanez, Yarelis      ADDRESS ON FILE
FALCON MONTANEZ, YARIMAR      ADDRESS ON FILE
FALCON MORALES, CAROLYN       ADDRESS ON FILE
FALCON MUNIZ, HUGO A          ADDRESS ON FILE
FALCON NEGRON, ANA            ADDRESS ON FILE
FALCON NEGRON, ANA L          ADDRESS ON FILE
FALCON NEGRON, ENRIQUE        ADDRESS ON FILE




                                                                          Page 2689 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2690 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FALCON NEGRON, FERNANDO       ADDRESS ON FILE
FALCON NEGRON, MARGARITA      ADDRESS ON FILE
FALCON NEGRON, MIRIAM         ADDRESS ON FILE
FALCON NEGRON, WILFREDO       ADDRESS ON FILE
FALCON OCASIO, ANGEL          ADDRESS ON FILE
FALCON OCASIO, ARACELIS       ADDRESS ON FILE
FALCON OCASIO, JANET          ADDRESS ON FILE
FALCON OCASIO, NORMA          ADDRESS ON FILE
FALCON OLIVERAS, ANGEL        ADDRESS ON FILE
FALCON OLIVERAS, CARMEN M     ADDRESS ON FILE
FALCON OLIVERAS, ESTHER       ADDRESS ON FILE
FALCON OLIVERAS, IRIS R.      ADDRESS ON FILE
FALCON OQUENDO, CARLOS        ADDRESS ON FILE
FALCON PABON, EVELYN          ADDRESS ON FILE
FALCON PABON, LUZ M.          ADDRESS ON FILE
FALCON PABON, STEVEN          ADDRESS ON FILE
FALCON PAGAN, AWILDA          ADDRESS ON FILE
FALCON PAGAN, NOEMI           ADDRESS ON FILE
Falcon Perez, Hugo            ADDRESS ON FILE
FALCON PRINTING               RR 1 BUZON 11450          BO PINAS                                               TOA ALTA     PR      00953
FALCON QUINTANA, SANDRA       ADDRESS ON FILE
FALCON RAMIRE, MICHAEL        ADDRESS ON FILE
FALCON RAMIREZ, ARNALDO       ADDRESS ON FILE
FALCON RAMIREZ, RICARDO       ADDRESS ON FILE
FALCON RAMOS, LIZMARIS        ADDRESS ON FILE
FALCON RAMOS, MICHAEL         ADDRESS ON FILE
FALCON RAMOS, RAMON           ADDRESS ON FILE
FALCON RAMOS, ROSIMAR         ADDRESS ON FILE
FALCON REYES, CARMEN L        ADDRESS ON FILE
FALCON REYES, ELIEZER         ADDRESS ON FILE
FALCON REYES, NILDA           ADDRESS ON FILE
FALCON RIVERA, ALBERTO        ADDRESS ON FILE
FALCON RIVERA, CARLOS         ADDRESS ON FILE
FALCON RIVERA, CARMELO        ADDRESS ON FILE
FALCON RIVERA, FELIX A.       ADDRESS ON FILE
FALCON RIVERA, FRANKIE        ADDRESS ON FILE
FALCON RIVERA, GUILLERMO      ADDRESS ON FILE
FALCON RIVERA, IRIS N.        ADDRESS ON FILE
FALCON RIVERA, JENNIFER       ADDRESS ON FILE
FALCON RIVERA, JULIA R        ADDRESS ON FILE
Falcon Rivera, Leticia        ADDRESS ON FILE
FALCON RIVERA, MADELINE       ADDRESS ON FILE
FALCON RIVERA, NANCY          ADDRESS ON FILE
FALCON RIVERA, YAHAIRA        ADDRESS ON FILE
FALCON ROBLES, JENNY E        ADDRESS ON FILE
FALCON RODRIGUEZ, ANGEL       ADDRESS ON FILE
FALCON RODRIGUEZ, CARMEN I.   ADDRESS ON FILE
FALCON RODRIGUEZ, DIALIZ      ADDRESS ON FILE
FALCON RODRIGUEZ, ELVIN       ADDRESS ON FILE
FALCON RODRIGUEZ, GLORIE A    ADDRESS ON FILE
FALCON RODRIGUEZ, ISRAEL      ADDRESS ON FILE
FALCON RODRIGUEZ, JAVIER      ADDRESS ON FILE
FALCON RODRIGUEZ, JOSE        ADDRESS ON FILE
FALCON RODRIGUEZ, JOSE L.     ADDRESS ON FILE
FALCON RODRIGUEZ, JUAN        ADDRESS ON FILE
Falcon Rodriguez, Samuel      ADDRESS ON FILE
FALCON RODRIGUEZ, SAMUEL      ADDRESS ON FILE
FALCON RODRIGUEZ, SONIA       ADDRESS ON FILE
Falcon Rodriguez, Yolanda     ADDRESS ON FILE
FALCON ROJAS, JOSE D          ADDRESS ON FILE




                                                                          Page 2690 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2691 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FALCON ROMAN, ABRAHAM             ADDRESS ON FILE
FALCON ROMAN, CARMEN M            ADDRESS ON FILE
FALCON ROMAN, FELIX               ADDRESS ON FILE
FALCON ROMAN, MARTA M             ADDRESS ON FILE
FALCON ROMERO, MARIELA            ADDRESS ON FILE
FALCON ROSA, DIEGO                ADDRESS ON FILE
FALCON ROSA, DIEGO M              ADDRESS ON FILE
FALCON ROSADO, CLARIBEL           ADDRESS ON FILE
FALCON SALAS, CARLOS              ADDRESS ON FILE
FALCON SALAS, ILSA J.             ADDRESS ON FILE
FALCON SALCEDO, YAMIL             ADDRESS ON FILE
FALCON SANCHEZ & ASSOC            P O BOX 366397                                                                   SAN JUAN     PR      00936
FALCON SANCHEZ & ASSOCIATES PSC   P O BOX 366397                                                                   SAN JUAN     PR      00936‐6397
FALCON SANCHEZ CONSULTING         P O BOX 366397                                                                   SAN JUAN     PR      00936
FALCON SANCHEZ, CARLOS E.         ADDRESS ON FILE
FALCON SANCHEZ, EDILBERTO         ADDRESS ON FILE
FALCON SANCHEZ, HECTOR J.         ADDRESS ON FILE
FALCON SANCHEZ, SABRINA           ADDRESS ON FILE
FALCON SANCHEZ, WILFREDO          ADDRESS ON FILE
FALCON SANTIAGO, EDGARDO          ADDRESS ON FILE
FALCON SANTIAGO, JOAN             ADDRESS ON FILE
FALCON SANTIAGO, JULIO            ADDRESS ON FILE
FALCON SANTIAGO, LEONIDES         ADDRESS ON FILE
FALCON SANTIAGO, PEDRO            ADDRESS ON FILE
FALCON SANTOS, JUAN               ADDRESS ON FILE
FALCON SEIN, IVAN                 ADDRESS ON FILE
FALCON SIERRA, LUZ S              ADDRESS ON FILE
FALCON SORIANO, WENDY I           ADDRESS ON FILE
FALCON SUAREZ, LUZ M              ADDRESS ON FILE
FALCON TARRATS, RAQUEL            ADDRESS ON FILE
FALCON THOMPSON, DANIEL           ADDRESS ON FILE
FALCON TORRES MD, FELIX A         ADDRESS ON FILE
FALCON TORRES, BETSY              ADDRESS ON FILE
FALCON TORRES, CARLOS             ADDRESS ON FILE
FALCON TORRES, GIOVANNI           ADDRESS ON FILE
FALCON TORRES, GREYSH             ADDRESS ON FILE
FALCON TORRES, ILSAIRIS           ADDRESS ON FILE
FALCON TORRES, LUMARIS            ADDRESS ON FILE
FALCON TORRES, MANUEL             ADDRESS ON FILE
FALCON VARELA, JOSE               ADDRESS ON FILE
FALCON VARELA, MARIA              ADDRESS ON FILE
FALCON VARGAS, TEODOSIO           ADDRESS ON FILE
FALCON VARGAS, TEODOSIO           ADDRESS ON FILE
FALCON VAZQUEZ II, ANGEL          ADDRESS ON FILE
FALCON VAZQUEZ, ANGEL             ADDRESS ON FILE
Falcon Vazquez, Felix             ADDRESS ON FILE
FALCON VAZQUEZ, JOSUE             ADDRESS ON FILE
FALCON VAZQUEZ, RAUL              ADDRESS ON FILE
FALCON VAZQUEZ, VICENTE           ADDRESS ON FILE
FALCON VEGA, DENISE               ADDRESS ON FILE
FALCON VELAZQUEZ, OMAR            ADDRESS ON FILE
FALCON VELAZQUEZ, OMAR D          ADDRESS ON FILE
FALCON VILLALOBOS, MARIA M.       ADDRESS ON FILE
FALCON VILLANUEVA, FELIPA         ADDRESS ON FILE
FALCON VILLEGAS, ABIMAEL          ADDRESS ON FILE
FALCON, JOSE                      ADDRESS ON FILE
FALCON, LEYLA G.                  ADDRESS ON FILE
FALCON, RICHARD                   ADDRESS ON FILE
FALCONERIS GUTIERREZ CORNIEL      VALLE ARRIBA HEIGHTS      CALLE 204 DF 3                                         CAROLINA     PR      00983
FALCONI ARROYO, GLORIMAR          ADDRESS ON FILE




                                                                              Page 2691 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2692 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FALCONI GONZALEZ, REYSHA      ADDRESS ON FILE
FALCONI OLIVERAS, JAVIER      ADDRESS ON FILE
FALCONI ROSA, RAMON           ADDRESS ON FILE
FALCONI ROSA, WILFREDO        ADDRESS ON FILE
FALCONI SANTANA, MARIA E      ADDRESS ON FILE
FALERO ALCANTARA, FELIX       ADDRESS ON FILE
FALERO ANDINO, LUZ            ADDRESS ON FILE
Falero Andino, Luz V          ADDRESS ON FILE
FALERO APONTE, BARBARA        ADDRESS ON FILE
FALERO APONTE, JORGE          ADDRESS ON FILE
FALERO AYALA, LAURA R         ADDRESS ON FILE
FALERO CANALES, JOSE          ADDRESS ON FILE
FALERO CEBALLOS, WILLIAM      ADDRESS ON FILE
FALERO COLON, JANET           ADDRESS ON FILE
FALERO COLON, JANET           ADDRESS ON FILE
FALERO DE LA PAZ, JAZAEL      ADDRESS ON FILE
FALERO DIAZ, ANGIE            ADDRESS ON FILE
FALERO DURAN, ALMARIS         ADDRESS ON FILE
FALERO GOMEZ, HECTOR          ADDRESS ON FILE
FALERO GOMEZ, RAFAEL          ADDRESS ON FILE
FALERO HERNANDEZ, ELSA M      ADDRESS ON FILE
FALERO LA SANTA, ALBA R       ADDRESS ON FILE
FALERO LA, SANTA MARIA        ADDRESS ON FILE
FALERO LOPEZ, RAFAEL          ADDRESS ON FILE
FALERO LOPEZ, WILLIAM         ADDRESS ON FILE
FALERO MEDINA, JUSTO          ADDRESS ON FILE
FALERO MELENDEZ, LUZ M        ADDRESS ON FILE
FALERO MELENDEZ, WANDA L.     ADDRESS ON FILE
FALERO MONGE, CHRISTOPHER     ADDRESS ON FILE
FALERO MORALES, MARIA L       ADDRESS ON FILE
FALERO ORTIZ, AVELINO         ADDRESS ON FILE
FALERO ORTIZ, CRYSTAL         ADDRESS ON FILE
FALERO PEREZ, ABRAHAM         ADDRESS ON FILE
FALERO PEREZ, FRANCISCO       ADDRESS ON FILE
FALERO PERFECTO, JANISSE      ADDRESS ON FILE
FALERO PIZARRO, ERICA         ADDRESS ON FILE
FALERO QUINONES, JOSE         ADDRESS ON FILE
FALERO RAMOS, CARLOS R.       ADDRESS ON FILE
FALERO RAMOS, ERIC M          ADDRESS ON FILE
FALERO RIJOS, IRMA            ADDRESS ON FILE
FALERO RIVERA, ALEX           ADDRESS ON FILE
FALERO RIVERA, CARMEN A       ADDRESS ON FILE
FALERO RIVERA, JOSE           ADDRESS ON FILE
FALERO RIVERA, JOSE A         ADDRESS ON FILE
FALERO RIVERA, JOSE J         ADDRESS ON FILE
FALERO RIVERA, LILLIAM        ADDRESS ON FILE
FALERO RIVERA, LILLIAN E.     ADDRESS ON FILE
FALERO RODRIGUEZ, CRISTOBAL   ADDRESS ON FILE
FALERO ROMERO, ELBA L         ADDRESS ON FILE
FALERO ROMERO, JULIO A        ADDRESS ON FILE
FALERO ROMERO, SANDRA I       ADDRESS ON FILE
FALERO ROSARIO, MARIBEL       ADDRESS ON FILE
FALERO SEPULVEDA, ZOAR        ADDRESS ON FILE
FALERO TORRES, GUILLERMO      ADDRESS ON FILE
FALERO VAZQUEZ, NATALIE       ADDRESS ON FILE
FALGAS ANDINO, MARIA E        ADDRESS ON FILE
FALGAS OROZCO, JOSE           ADDRESS ON FILE
FALGAS OROZCO, JUANITA        ADDRESS ON FILE
FALGAS RODRIGUEZ, WILMA       ADDRESS ON FILE
FALGAS RODRIGUEZ, WILMA M.    ADDRESS ON FILE




                                                                          Page 2692 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2693 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                        Address1                            Address2                  Address3   Address4   City         State   PostalCode   Country
FALGUERAS MEDEROS, ANA               ADDRESS ON FILE
FALIN M GONZALEZ MADERA              ADDRESS ON FILE
FALK, THERESE                        ADDRESS ON FILE
FALTO CRUZ, HERRICK                  ADDRESS ON FILE
FALTO CRUZ, ZORAIDA L.               ADDRESS ON FILE
FALTO DETRES MD, PEDRO C             ADDRESS ON FILE
FALTO LARACUENTE, LINNETTE           ADDRESS ON FILE
FALTO PADILLA, EVELYN                ADDRESS ON FILE
FALU ACEVEDO, NOEL                   ADDRESS ON FILE
FALU ALLENDE, JUAN                   ADDRESS ON FILE
FALU AREIZAGA, AUREA                 ADDRESS ON FILE
FALU AREIZAGA, SARAI                 ADDRESS ON FILE
FALU AYALA, DAIRALEE                 ADDRESS ON FILE
FALU BADILLO, SAUDHY                 ADDRESS ON FILE
FALU BAREZ, MATILDE                  ADDRESS ON FILE
FALU BAREZ, NILDA                    ADDRESS ON FILE
FALU BAREZ, SONIA                    ADDRESS ON FILE
FALU BATISTA, ELIZABETH              ADDRESS ON FILE
FALU BATISTA, EMILY                  ADDRESS ON FILE
Falu Benitez, Josefina               ADDRESS ON FILE
FALU CABRERA, JOSE                   ADDRESS ON FILE
FALU CABRERA, YAIRA D.               ADDRESS ON FILE
FALU CARRASQUILLO, NORAIMA I.        ADDRESS ON FILE
FALU CARRASQUILLO, YAMAYRA           ADDRESS ON FILE
FALU CINTRON, YANIRA                 ADDRESS ON FILE
Falu Colon, Jeannette I              ADDRESS ON FILE
FALU CRUZ, HECTOR                    ADDRESS ON FILE
FALU CRUZ, JESSICA                   ADDRESS ON FILE
FALU CRUZ, TANIA                     ADDRESS ON FILE
FALU ESCALERA, EDNA M                ADDRESS ON FILE
FALU ESCALERA, JENETTE               ADDRESS ON FILE
FALU FALU, NILDA R                   ADDRESS ON FILE
FALU FEBRES, CARMELO                 ADDRESS ON FILE
FALU FEBRES, CIPRIAN                 ADDRESS ON FILE
FALU FEBRES, ZAIDA                   ADDRESS ON FILE
FALU FIGUEROA, EDGARDO               ADDRESS ON FILE
FALU FIGUEROA, JOSE L                ADDRESS ON FILE
FALU FLOWERS & FUNERAL HOME , CORP   PO BOX 352                                                                          TOA BAJA     PR      00954
FALU FLOWERS & FUNERAL HOME CORP     CARR 865 KM 2.3 CANDELARIA ARENAS                                                   TOA BAJA     PR      00949
FALU FUENTES, ANGEL                  ADDRESS ON FILE
FALU FUENTES, EMILIO                 ADDRESS ON FILE
FALU FUENTES, MARIA E.               ADDRESS ON FILE
FALU GARCIA, DIANNE                  ADDRESS ON FILE
FALU GONZALEZ, MELVIN                ADDRESS ON FILE
FALU GONZALEZ, RAMON E               ADDRESS ON FILE
Falu Marte, Felix                    ADDRESS ON FILE
FALU MARTES, FELIX                   ADDRESS ON FILE
FALU MARTINEZ, IRIS J                ADDRESS ON FILE
FALU MENDEZ, OMAR                    ADDRESS ON FILE
FALU MENDEZ, RUBEN                   ADDRESS ON FILE
FALU MORALES, CARLOS                 ADDRESS ON FILE
FALU ORTIZ, BELINDA                  ADDRESS ON FILE
FALU PERAZA, ROBERTO                 ADDRESS ON FILE
FALU PEREZ, ANA                      ADDRESS ON FILE
Falu Perez, Ana A                    ADDRESS ON FILE
FALU PESANTE, PIO                    ADDRESS ON FILE
FALU PIZARRO, MILAGROS               ADDRESS ON FILE
FALU RAMOS, ROSA                     ADDRESS ON FILE
FALU RAMOS, ROSA M.                  ADDRESS ON FILE
FALU RAMOS, ROSA MARIA               ADDRESS ON FILE




                                                                                    Page 2693 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                                    Desc:
                                                                Exhibit A-1 - Creditor     Matrix
                                                                                     Case No.              Page 2694 of 3500
                                                                                              17 BK 3283‐LTS
                                                                                                                                 Creditor Matrix

Creditor Name                                  Address1                                         Address2                                      Address3   Address4   City              State   PostalCode   Country
FALU REYES, ELADIA                             ADDRESS ON FILE
FALU REYES, JOSE                               ADDRESS ON FILE
FALU REYES, ZULEYKA I.                         ADDRESS ON FILE
FALU RIVERA, JOSE D.                           ADDRESS ON FILE
FALU RIVERA, PEDRO                             ADDRESS ON FILE
FALU RIVERA, SANDRA                            ADDRESS ON FILE
FALU RODRIGUEZ, BRENDA                         ADDRESS ON FILE
FALU ROMAN, MARY                               ADDRESS ON FILE
FALU SALGADO,NYROBI                            ADDRESS ON FILE
FALU SANTIAGO, YAMILL                          ADDRESS ON FILE
FALU SANTOS, RAMON L.                          ADDRESS ON FILE
FALU TRANSMISSION                              PO BOX 2412                                                                                                          TOA BAJA          PR      00951
FALU VILLEGAS, DELMA R                         ADDRESS ON FILE
FALU VILLEGAS, DELMA R.                        ADDRESS ON FILE
FALU VILLEGAS, MARIA M.                        ADDRESS ON FILE
FALU, NAHARA                                   ADDRESS ON FILE
FALU, NOEMI                                    ADDRESS ON FILE
Fam. y Com. en Accion Pro‐S. M. de P.R.        URB. VILLA ALEGRE G‐11 CALLE 8                                                                                       GURABO            PR      00778‐0000
FAMA & ASSOCIATES INC                          BOX 9298                                                                                                             SAN JUAN          PR      00908‐9198
FAMA CORONADO, SERGIO                          ADDRESS ON FILE
FAMANIA AMARO, JOSE                            ADDRESS ON FILE
FAMANIA RODRIGUEZ, JULIO                       ADDRESS ON FILE
Famania Torres, Michael                        ADDRESS ON FILE
FAME TRAVEL                                    URB HERMANAS DAVILA                              I 14 AVE BETANCES                                                   BAYAMON           PR      00959
FAMILIA CABRERA, MONICA                        ADDRESS ON FILE
FAMILIA CARABALLO CALES INC                    VILLAS DEL CAFETAL II                            R10 CALLE EXCELSA                                                   YAUCO             PR      00698‐3173
FAMILIA GLASS, MARIA                           ADDRESS ON FILE
FAMILIA JAVIER, SOFIA                          ADDRESS ON FILE
FAMILIA RIOS, HECTOR                           ADDRESS ON FILE
FAMILIA RIOS, HECTOR L.                        ADDRESS ON FILE
FAMILIA ROSA, YARIXA                           ADDRESS ON FILE
FAMILIA ROSARIO, TEODOCIA M                    ADDRESS ON FILE
FAMILIA, FRANCISCO A                           ADDRESS ON FILE
FAMILIA, RAFAEL                                ADDRESS ON FILE
FAMILY CARE COUNSELING CENTER                  501 WASHINGTON                                   SUITE 700                                                           READING           PA      19601
FAMILY CARE SPECIALIST                         MEDICAL RECORDS                                  10696 SE US HWY 441                                                 BELLEVIEW         FL      34420‐2802
FAMILY EMERGENCY MEDICINE REDHHOK FAMIL 6500 REDHOOK                                            PLAZA SUITE 205                                                     ST THOMAS         VI      00802
FAMILY FABRIC INC                              PO BOX 576                                                                                                           AGUADA            PR      00602
FAMILY FABRICS, INC.                           CARR 2 KM 138.6                                                                                                      AGUADA            PR      00602
FAMILY FOR YOU                                 URB ROYAL TOWN                                   7 8 CALLE 50 A                                                      BAYAMON           PR      00956
FAMILY HEALTH CARE AT NO GEN                   MEDICAL RECORDS                                  1879 MADISON AVE                                                    NEW YORK          NY      10035
FAMILY HEALTH CENTER                           ATTN: MEDICAL RECORDS                            2501 N ORANGE AVE STE 235                                           ORLANDO           FL      32804
FAMILY HEALTH CENTER OF GREATER ORLANDO 2911 RED BUG LAKE RD                                                                                                        CASSELBERRY       FL      32707‐5929
FAMILY HEALTH CENTER OF SAN DIEGO              823 GATEWAY CENTER WAY                                                                                               SAN DIEGO         CA      92102‐4541
FAMILY HEALTH CENTERS OF SOUTHWEST FLORIDMEDICAL RECORDS                                        PO BOX 1357                                                         FT MYERS          FL      33901
FAMILY HEALTH GROUP SS CSP                     PO BOX 5446                                                                                                          SAN SEBASTIAN     PR      00685‐5446
FAMILY HEALTH OF GEORGETOWN                    2 LEE AVE UNIT 103                                                                                                   GEORGETOWN        DE      19947
FAMILY HEALTH SERVICES                         ATTN MEDICAL DERCORD                             95 E CHAUTAUQUA ST                                                  MAYVILLE          NY      14757
FAMILY HEALTH SERVICES OF WEST                 2057 N UNIVERSITY DR                                                                                                 SUNRISE           FL      33322
FAMILY HEALTH SOCIAL SERVICE CENTER            26 QUEEN STREET                                                                                                      WORCESTER         MA      01610
FAMILY HEARING CENTER                          COND SAN VICENTE                                 8169 CALLE CONCORDIA STE 205                                        PONCE             PR      00717‐1564
Family Heritage Life Insurance Company of      6001 East Royalton Road                          Suite 200                                                           Clevland          OH      44147
Family Heritage Life Insurance Company of Amer Attn: Howard L. Lewis, President                 PO Box 470608                                                       Cleveland         OH      44147
Family Heritage Life Insurance Company of Amer Attn: Jerome Grabowski, Vice President           PO Box 470608                                                       Cleveland         OH      44147
Family Heritage Life Insurance Company of Amer Attn: John Wise, Premiun Tax Contact             PO Box 470608                                                       Cleveland         OH      44147
Family Heritage Life Insurance Company of Amer Attn: Jose Alvarez, Agent for Service of Process PO Box 470608                                                       Cleveland         OH      44147
Family Heritage Life Insurance Company of Amer Attn: Kevin Wicktora, Circulation of Risk        PO Box 470608                                                       Cleveland         OH      44147
Family Heritage Life Insurance Company of Amer Attn: Kevin Wicktora, Consumer Complaint ContaPO Box 470608                                                          Cleveland         OH      44147
Family Heritage Life Insurance Company of Amer Attn: Kevin Wicktora, Regulatory Compliance GovPO Box 470608                                                         Cleveland         OH      44147
FAMILY HOUSE MY NEW                            URB ROYAL TOWN C/48 I‐1                                                                                              BAYAMON           PR      00956




                                                                                                                               Page 2694 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2695 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                             Address1                                   Address2                                     Address3   Address4   City              State   PostalCode   Country
FAMILY MEDICAL CENTER                     22 NORTH FRANKLYN AVE                      1ST FLOOR                                                          PLEASANTVILLE     NJ      08232
FAMILY MEDICAL CENTER                     PO BOX 83                                                                                                     CORNING           AR      72422
FAMILY MEDICAL CENTER AT DOVER            375 EAST MCFARLAN STREET                   STE 2                                                              DOVER             NJ      07801‐3628
FAMILY MEDICINE CENTER                    CARR. #3 KM. 151.4                         BO. COQUI                                                          AGUIRRE           PR      00704
FAMILY OPTICAL CENTER DBA FAMILY VISION   623 YAUCO PLAZA II                                                                                            YAUCO             PR      00698
FAMILY PHYSICIAN HEALTH CENTER            5616 6TH AVE                                                                                                  BROOKLYN          NY      11220
FAMILY PHYSICIAN OF CONWAY                MEDICAL RECORDS                            3333 S CONWAY RD                                                   ORLANDO           FL      32812
FAMILY PHYSICIANS OF HUNTERS CREEK        ATTN MEDICAL RECORDS                       14075 TOWN LOOP BLVD                                               ORLANDO           FL      32837
FAMILY PHYSICIANS OF LAKE UNDERHILL       ATTN MEDICAL RECORDS                       10829 DYLAN LOREN CIR                                              ORLANDO           FL      32825
FAMILY PRACTICE                           8344 CLAIREMONT MESA BLV                   SUITE 201                                                          SAN DIEGO         CA      92111
FAMILY PRACTICE CENTER PC                 131 JPM ROAD                                                                                                  LEWISBURG         PA      17837
FAMILY PRACTICE SPECIALIST PSC            GALERIA MEDICA                             64 CALLE SANTA CRUZ STE 208                                        BAYAMON           PR      00961
FAMILY PRACTICE WEST INC                  5212 W BROAD ST                                                                                               COLUMBUS          OH      43228
FAMILY PRESERVATION SERVICES INC          MEDICAL RECORDS                            11428 N 53RD ST                                                    TAMPA             FL      33617
FAMILY QUICK LUNCH                        53 CALLE VALERIANO MUNOZ OESTE                                                                                SAN LORENZO       PR      00754
FAMILY SECRET HELPERS INC                 URB ROSA MARIA                             F18 CALLE 5                                                        CAROLINA          PR      00985
FAMILY SERVICES                           430 NORTH CANAL STREET                                                                                        LAWRENCE          MA      01840
FAMILY SOLUTIONS INC                      9016 RIVER CRESCENT                                                                                           SOUFFLOK          VA      23433
FAMILY VISION CENTER                      83 CALLE UNION                                                                                                PONCE             PR      00664
FAMILY VISION CENTER                      PLAZA DEL OESTE SHOPPING CTR               #321 AVE CASTRO PEREZ                                              SAN GERMAN        PR      00683
FAMILY VISION CENTER                      PLAZA JUANA DIAZ LOCAL 9                   CARR 52 INT 149                                                    JUANA DIAZ        PR      00795
FAMILY VISION CENTER                      YAUCO PLAZA LOCAL 14                                                                                          YAUCO             PR      00698
FAMILY VISION CENTER INC                  GALERIAS PONCENAS                          83 CALLE UNION STE 129                                             PONCE             PR      00730
FAMMA & ASSOCIATES                        670 AVE. PONCE DE LEON                     EDIF. CARIBBEAN TOWERS, SUITE 22                                   SAN JUAN          PR      00908
FAMMA & ASSOCIATES                        MINILLAS STATION                           P O BOX 41288                                                      SAN JUAN          PR      00940
FAMOS,FELIPE                              ADDRESS ON FILE
FAMOSA AMERICA INC                        1357 AVE ASHFORD STE 2 PMB 225                                                                                SAN JUAN          PR      00907
FAMOUS, ROSLYN                            ADDRESS ON FILE
FANA ANDRADE, MARIA                       ADDRESS ON FILE
FANA ANDRADES, MARIA                      ADDRESS ON FILE
FANA MARTE, ANA                           ADDRESS ON FILE
FANA ROSADO, JEFFREY                      ADDRESS ON FILE
FANCISCO VILA OLIVERA                     P O BOX 131                                                                                                   CAGUAS            PR      00726
FANCY BALLOONS                            CALLE JESUS FIGUEROA LC‐10 URB. FRONTERA                                                                      BAYAMON           PR      00949
FANCY FABRICS & BEADS CORP                PO BOX 1405                                                                                                   SAN GERMAN        PR      00683
FANCZI TORRES, NICOLAS                    ADDRESS ON FILE
FANDINO BURGOS, ROSMERY                   ADDRESS ON FILE
FANDUIZ ALVAREZ, ANDREA                   ADDRESS ON FILE
Fanfan Figueroa, Jose G                   ADDRESS ON FILE
FANFAN MCKENZIE, LLAMARI M                ADDRESS ON FILE
FANFAN PASTRANA, GILKA ILEANA             ADDRESS ON FILE
FANFAN RIVERA, ROBERTO                    ADDRESS ON FILE
FANFAN ROMAN, JOSE G.                     ADDRESS ON FILE
FANFAN SANTIAGO, GLORIA E                 ADDRESS ON FILE
FANFAN VEGA, ILKA L.                      ADDRESS ON FILE
FANG GUOYU                                ADDRESS ON FILE
FANIS CONSTRUCTION                        HC 3 BOX 6632                                                                                                 HUMACAO           PR      00791
FANIXA RESTO OCASIO                       URB MIRAFLORES                             38‐5 CALLE 49                                                      BAYAMON           PR      00957
FANJUL SANTIAGO, EDWIN                    ADDRESS ON FILE
FANJUL SANTIAGO, FRANCIS                  ADDRESS ON FILE
FANJUL VERAS, HAYDEE G                    ADDRESS ON FILE
FANNY A. ORTIZ TORRES                     ADDRESS ON FILE
FANNY C. SANTANA PACHECO                  ADDRESS ON FILE
FANNY DONE BRITO                          ADDRESS ON FILE
FANNY GRISELLE MELENDEZ MELENDEZ          ADDRESS ON FILE
FANNY GRISELLE MELENDEZ MELENDEZ          ADDRESS ON FILE
FANNY R LOPEZ GOMEZ                       MARINA STATION                             PO BOX 8068                                                        MAYAGUEZ          PR      00681‐8068
FANTASTIC DRY CLEANER & TAILOR            625 AVE PONCE DE LEON PARADA 11                                                                               SAN JUAN          PR      00907
FANTASTIC STABLE INC                      SANTA MARIA                                4 FLOR DE LIS                                                      SAN JUAN          PR      00927‐6202
FANTAUZI, CARMEN                          ADDRESS ON FILE




                                                                                                                   Page 2695 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2696 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FANTAUZZI ACEVEDO, KARLA         ADDRESS ON FILE
FANTAUZZI COLON, MARTIN          ADDRESS ON FILE
FANTAUZZI COTTO, AMERICA         ADDRESS ON FILE
FANTAUZZI COTTO, IDALIA I.       ADDRESS ON FILE
FANTAUZZI COTTO, IDALIA I.       ADDRESS ON FILE
FANTAUZZI DE JESUS, EVA H        ADDRESS ON FILE
FANTAUZZI DE JESUS, WILLIAM      ADDRESS ON FILE
FANTAUZZI DE LA CRUZ, JUAN       ADDRESS ON FILE
FANTAUZZI DIAZ, NELLY M.         ADDRESS ON FILE
FANTAUZZI FANTAUZZI, JOSE F      ADDRESS ON FILE
FANTAUZZI FELIU, IVETTE          ADDRESS ON FILE
FANTAUZZI FONTANEZ, VERONICA     ADDRESS ON FILE
FANTAUZZI GARCIA, ZULEIMA        ADDRESS ON FILE
Fantauzzi Giorgi, Antonio        ADDRESS ON FILE
FANTAUZZI GONZALEZ, EGIDIO       ADDRESS ON FILE
FANTAUZZI GOUTIERREZ, AIDA       ADDRESS ON FILE
FANTAUZZI LOPEZ, ABDIEL          ADDRESS ON FILE
FANTAUZZI LOPEZ, SHAIRA          ADDRESS ON FILE
FANTAUZZI LUGO, EVELYN           ADDRESS ON FILE
FANTAUZZI LUGO, MARIA I.         ADDRESS ON FILE
FANTAUZZI MARTINEZ, LUIS M       ADDRESS ON FILE
FANTAUZZI MENDEZ, LUZ IVELISSE   ADDRESS ON FILE
FANTAUZZI MENDEZ, OSVALDO I.     ADDRESS ON FILE
FANTAUZZI MORALES, MARIA D.      ADDRESS ON FILE
FANTAUZZI NAZARIO, LUZ E         ADDRESS ON FILE
FANTAUZZI NAZARIO, RAFAEL        ADDRESS ON FILE
FANTAUZZI ORTIZ, HIPOLITO        ADDRESS ON FILE
FANTAUZZI ORTIZ, ODEMARIS        ADDRESS ON FILE
FANTAUZZI PEREZ, LUIS G.         ADDRESS ON FILE
FANTAUZZI PÉREZ, LUIS G.         ADDRESS ON FILE
FANTAUZZI PONCE, MARIELA         ADDRESS ON FILE
FANTAUZZI PORTALATIN, CRISTINO   ADDRESS ON FILE
FANTAUZZI RAMOS, MARICELY        ADDRESS ON FILE
FANTAUZZI RAMOS, RAMON           ADDRESS ON FILE
FANTAUZZI RAMOS, RAMON L         ADDRESS ON FILE
Fantauzzi Redillo, Edwin         ADDRESS ON FILE
FANTAUZZI REDILLO, EDWIN         ADDRESS ON FILE
FANTAUZZI RIVERA, YAHAIRA        ADDRESS ON FILE
FANTAUZZI RODRIGUEZ, GERTRUDIS   ADDRESS ON FILE
FANTAUZZI RODRIGUEZ, ROSA M      ADDRESS ON FILE
FANTAUZZI ROSADO, AUREA          ADDRESS ON FILE
FANTAUZZI ROSARIO, LUZ           ADDRESS ON FILE
FANTAUZZI SOTO, PETRONILA        ADDRESS ON FILE
FANTAUZZI TORRES, TOMAS          ADDRESS ON FILE
FANTAUZZI VALENTIN, IVETTE       ADDRESS ON FILE
FANTAUZZI VALENTIN, MICHAEL      ADDRESS ON FILE
FANTAUZZI VAZQUEZ, ALBERTO       ADDRESS ON FILE
FANTAUZZI VAZQUEZ, AMELIA        ADDRESS ON FILE
FANTAUZZI VILLANUEVA, ROSEBETH   ADDRESS ON FILE
FANTAUZZI, LUIS A.               ADDRESS ON FILE
FANTAUZZIROMERO, CARLOS          ADDRESS ON FILE
FANTAUZZY MARTINEZ, LUIS         ADDRESS ON FILE
FANTUZZI CASTRO, JOSE            ADDRESS ON FILE
FARABEE REGIONAL MHMR, HELEN     ADDRESS ON FILE
FARACLAS PHOTAKIS, NICHOLAS      ADDRESS ON FILE
FARAH M MARTINEZ MENDOZA         ADDRESS ON FILE
FARDONK MOJICA, RAYMUNDO         ADDRESS ON FILE
FARDONK OYOLA, PEDRO             ADDRESS ON FILE
FARDONK RODRIGUEZ, BETMARIE      ADDRESS ON FILE
FARE RENTAS, WILMA I.            ADDRESS ON FILE




                                                                             Page 2696 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2697 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FARE SANTIAGO, ZULMA              ADDRESS ON FILE
FARECELLI GUEDEZ, PAUL            ADDRESS ON FILE
FARES RIOS, RASMIAH MASHHOUR      ADDRESS ON FILE
FARES VEGA, JACKELINE             ADDRESS ON FILE
FARFAN MENDOZA, WILLINTON         ADDRESS ON FILE
FARGA RIJOS, RALPH                ADDRESS ON FILE
FARGAS ALVAREZ, SANTOS            ADDRESS ON FILE
FARGAS ANDINO, YADIEL             ADDRESS ON FILE
FARGAS AYUSO, ANGEL               ADDRESS ON FILE
FARGAS AYUSO, REYNALDO            ADDRESS ON FILE
FARGAS BENITEZ, LOURDES M         ADDRESS ON FILE
FARGAS BENITEZ, LOURDES M         ADDRESS ON FILE
FARGAS BERBERENA, ESTEBAN         ADDRESS ON FILE
FARGAS BERBERENA, ESTEBAN A       ADDRESS ON FILE
FARGAS BULTRON, BERTA             ADDRESS ON FILE
FARGAS CANALES, PROVIDENCIA       ADDRESS ON FILE
FARGAS CARRASCO, EDUARDO          ADDRESS ON FILE
Fargas Carrasco, Sandra           ADDRESS ON FILE
FARGAS CASTRO, FRANCES            ADDRESS ON FILE
FARGAS CORREA, JANETTE            ADDRESS ON FILE
FARGAS DIAZ, HECTOR               ADDRESS ON FILE
FARGAS DIAZ, HECTOR               ADDRESS ON FILE
FARGAS DIAZ, IRIS J               ADDRESS ON FILE
FARGAS DIAZ, LUZ MINERVA          ADDRESS ON FILE
FARGAS DIAZ, WENDA ISAMAR         ADDRESS ON FILE
FARGAS ESCALERA, ASUNCION         ADDRESS ON FILE
FARGAS ESCALERA, MYRIAM           ADDRESS ON FILE
FARGAS FEBRES, YOLANDA            ADDRESS ON FILE
FARGAS FIGUEROA, NYDIA O.         ADDRESS ON FILE
FARGAS GARCIA, LUIS               ADDRESS ON FILE
FARGAS GONZALEZ, JENNY M          ADDRESS ON FILE
FARGAS HERNANDEZ, ROSANY          ADDRESS ON FILE
FARGAS LLANOS, BARBARA E.         ADDRESS ON FILE
FARGAS LLANOS, NANCY              ADDRESS ON FILE
FARGAS LLANOS, SANDRA             ADDRESS ON FILE
FARGAS LLANOS, YAMILKA            ADDRESS ON FILE
FARGAS LOPEZ, IVONNE              ADDRESS ON FILE
FARGAS PEREZ, IVELISSE            ADDRESS ON FILE
FARGAS PEREZ, JOSE                ADDRESS ON FILE
FARGAS PEREZ, VICTOR L.           ADDRESS ON FILE
FARGAS PIZARRO, RAFAEL A.         ADDRESS ON FILE
FARGAS PIZARRO, SANDRA E          ADDRESS ON FILE
FARGAS QUINONES, JOHNSUE          ADDRESS ON FILE
FARGAS RIVERA, ANA C              ADDRESS ON FILE
FARGAS RIVERA, LUZ D              ADDRESS ON FILE
FARGAS RIVERA, NATIVIDAD          ADDRESS ON FILE
FARGAS RODRIGUEZ, LORENA DEL C.   ADDRESS ON FILE
FARGAS RODRIGUEZ, MARIBEL         ADDRESS ON FILE
FARGAS SUAREZ, LIZDALIA           ADDRESS ON FILE
FARGAS TORRES, CARLOS             ADDRESS ON FILE
FARGAS TORRES, GLORIMAR           ADDRESS ON FILE
FARGAS WALKER, CRUZ               ADDRESS ON FILE
FARGAS, JOHNNY                    ADDRESS ON FILE
FARGASBULTRON, CARLOS L           ADDRESS ON FILE
FARHA A. AJAJ                     ADDRESS ON FILE
FARHAN RODRIGUEZ, ANISA           ADDRESS ON FILE
FARHAN RODRIGUEZ, FATIMA          ADDRESS ON FILE
FARHAN RODRIGUEZ, NERY            ADDRESS ON FILE
FARIA AGOSTO, IVETTE              ADDRESS ON FILE
FARIA ALVAREZ, CARMELO N          ADDRESS ON FILE




                                                                              Page 2697 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2698 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FARIA ASTOR, SELEIDA              ADDRESS ON FILE
FARIA CABRERA, ROSARITO           ADDRESS ON FILE
FARIA CARDEZ, EDWIN               ADDRESS ON FILE
Faria Collazo, Sigfredo Enrique   ADDRESS ON FILE
FARIA DE GRACIA, GLORIA           ADDRESS ON FILE
FARIA DE GRACIA, LOURDES          ADDRESS ON FILE
FARIA FELICIANO, YELITZA          ADDRESS ON FILE
FARIA FIGUEROA, CARLOS            ADDRESS ON FILE
FARIA GONZALEZ, TIRSA M           ADDRESS ON FILE
Faria Gonzalez, William           ADDRESS ON FILE
FARIA HERANDEZ, ALYSHA            ADDRESS ON FILE
FARIA HERNANDEZ, PATRICIA         ADDRESS ON FILE
FARIA JIMENEZ, JEAN C             ADDRESS ON FILE
FARIA JOVE, ANA                   ADDRESS ON FILE
FARIA MALDONADO, DORALISSE        ADDRESS ON FILE
FARIA MARTINEZ, CARMEN I          ADDRESS ON FILE
FARIA MARTINEZ, EDWIN             ADDRESS ON FILE
FARIA MARTINEZ, JAVIER            ADDRESS ON FILE
Faria Martinez, Javier A          ADDRESS ON FILE
FARIA MEDINA, ODALIZ              ADDRESS ON FILE
FARIA MENDEZ, DANIEL              ADDRESS ON FILE
FARIA MORALES, INORIS             ADDRESS ON FILE
FARIA NIEVES, WILLIAM             ADDRESS ON FILE
FARIA OYOLA, LIZYBETH             ADDRESS ON FILE
FARIA OYOLA, ODLANIER             ADDRESS ON FILE
FARIA PAGAN, AUREA                ADDRESS ON FILE
FARIA PEREZ, ANGEL                ADDRESS ON FILE
FARIA PEREZ, DELISSE              ADDRESS ON FILE
FARIA RAMIREZ, FRANCES            ADDRESS ON FILE
FARIA RODRIGUEZ, EDUARDI R.       ADDRESS ON FILE
FARIA RODRIGUEZ, EDUARDO          ADDRESS ON FILE
FARIA SANCHEZ, LYNNETTE           ADDRESS ON FILE
Faria Santos, Raul                ADDRESS ON FILE
FARIA SERRANO, JOAQUIN            ADDRESS ON FILE
FARIA SOSA, VIRGENMINA            ADDRESS ON FILE
FARIA SOTO, ANTONIO               ADDRESS ON FILE
FARIA TORRES, ILUMINADA           ADDRESS ON FILE
FARIA UGARTE, LUZ E.              ADDRESS ON FILE
FARIA VEGA, SIGFREDO              ADDRESS ON FILE
FARIAS JIMENEZ, JOSE L            ADDRESS ON FILE
FARIAS MEDICAL CLINIC             525 PENN ST                                                                      READING      PA      19601
FARIAS OSTOLAZA, ORLANDO          ADDRESS ON FILE
FARIAS SERRANO, MARIA E           ADDRESS ON FILE
FARIAS SOLARI, PERCY              ADDRESS ON FILE
FARIAS VILLACARCEL, EDWARDS       ADDRESS ON FILE
FARID ABDAL, ALIA                 ADDRESS ON FILE
FARID ABRAHAM                     ADDRESS ON FILE
FARID MD , AYMAN E                ADDRESS ON FILE
FARIDE EL HAGE                    ADDRESS ON FILE
FARINACCI FERNOS, JORGE M         ADDRESS ON FILE
FARINACCI MORALES, LUIS           ADDRESS ON FILE
FARINACCI MORALES, MALVIN P       ADDRESS ON FILE
FARINACCI RAMOS, IRMARIE          ADDRESS ON FILE
FARINACCI SABATHIE, MARIA         ADDRESS ON FILE
FARINACCI VILARO, JORGE A         ADDRESS ON FILE
FARINACCI VILARO, MARLENE A.      ADDRESS ON FILE
FARINAS, YESSID                   ADDRESS ON FILE
FARINE CALIX, VALERIE             ADDRESS ON FILE
FARIS COLON, JOSE L               ADDRESS ON FILE
FARIS DE JESUS, ALBERTO           ADDRESS ON FILE




                                                                              Page 2698 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2699 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                           Address1                                Address2                                Address3   Address4   City              State   PostalCode   Country
FARIS ELBA, LUIS A                      ADDRESS ON FILE
FARIS ELBAS, CLARA E                    ADDRESS ON FILE
FARIS RIOS, YALITZA                     ADDRESS ON FILE
FARIS RODRIGUEZ, JOSE A.                ADDRESS ON FILE
FARIS ROMAN, LAURA E.                   ADDRESS ON FILE
FARIS ROMAN, NOELIA                     ADDRESS ON FILE
FARIS SULAIMAN ATRA                     ADDRESS ON FILE
Faris Tirado, Janet                     ADDRESS ON FILE
FARMACIA ADONAI INC                     21 CALLE DR ULISES CLAVELL                                                                            PONCE             PR      00716
FARMACIA ALEXANDRA                      P O BOX 20375                                                                                         SAN JUAN          PR      00928
FARMACIA AMIGA INC                      AVENIDA PASEO DE LOS GIGANTES           CENTRO COMERCIAL MONSERRATE PLAZA                             CAROLINA          PR      00985
FARMACIA ASTURIAS, L L C                URB QUINTA DEL RIO                      PLAZA 18 J‐4                                                  BAYAMON           PR      00961
FARMACIA BELLO INC                      400 CALLE CALAF PMB 136                                                                               SAN JUAN          PR      00918‐1314
FARMACIA BELMONTE INC/ROBERTO D ACOSTA MARTIN                                   PO BOX 1085                                                   HORMIGUEROS       PR      00660
FARMACIA CAGUAS INC                     #10 DR GOYCO                                                                                          CAGUAS            PR      00725
FARMACIA CALDAS                         PO BOX 1146                                                                                           BOQUERON          PR      00622
FARMACIA CDT DR. JAVIER J ANTON         PLAZA DEL MERCADO RAFAEL HERNANDEZ LOTE 23                                                            RIO PIEDRAS       PR      00928
FARMACIA CHAVES INC                     PO BOX 85                                                                                             ISABELA           PR      00662
FARMACIA CINTRON                        70 CALLE DR CUETO                                                                                     UTUADO            PR      00641
FARMACIA CUQUIMARIC                     PO BOX 362                                                                                            BOQUERON          PR      00622
FARMACIA DE TODOS INC                   P O BOX 1069                                                                                          GURABO            PR      00778
FARMACIA DEL CARMEN DE VILLALBA INC     41 CALLE MUNOZ RIVERA                                                                                 VILLALBA          PR      00766
FARMACIA DEL PUEBLO                     33 MUNOZ RIVERA                                                                                       RINCON            PR      00677
FARMACIA DIVINO NINO                    835 CALLE CONCEPCION VIERA                                                                            MOCA              PR      00676
FARMACIA DOS BOCAS                      CARR 181 KM. 9.1 BO DOS BOCAS                                                                         TRUJILLO ALTO     PR      00976‐0000
FARMACIA EL APOTECARIO                  #625 AVE. TITO CASTRO SUITE 101                                                                       PONCE             PR      00716‐0000
FARMACIA FELICIANO INC                  PO BOX 490                                                                                            YABUCOA           PR      00767
FARMACIA FERRARI INC                    PO BOX 6                                                                                              AGUADILLA         PR      00605
FARMACIA GARCIA                         121 CALLE VIDAL FELIX                                                                                 HATILLO           PR      00659
FARMACIA GARCIA                         PO BOX 67                                                                                             HATILLO           PR      00659
FARMACIA GENESIS LLC                    59 CALLE DAGUEY                                                                                       ANASCO            PR      00610
FARMACIA ILEANA                         905 CALLE MUNOZ RIVERA                                                                                PENUELA           PR      00624
FARMACIA JARDINES DE LOIZA INC          PO BOX 528                                                                                            LOIZA             PR      00772
FARMACIA JOMARI INC                     18 CALLE MUNOZ RIVERA                                                                                 PATILLAS          PR      00723
FARMACIA LA AMISTAD INC                 HC 1 BOX 8017                                                                                         TOA BAJA          PR      00949
FARMACIA LA CANDELARIA INC/ SYNERLUTION PO BOX 3590                                                                                           LAJAS             PR      00667
FARMACIA LA CURVA                       2916 AVE MILITAR                                                                                      ISABELA           PR      00662
FARMACIA LA FAMILIA                     CAAR 174 KM4.6 CALLE 10                 BAR. JUAN SANCHEZ                                             BAYAMON           PR      00956
FARMACIA LA INMACULADA                  PO BOX 1753                                                                                           JUNCOS            PR      00777‐1753
Farmacia La Milagrosa                   Ave. San Carlos, Esq. Comercio                                                                        Aguadilla         PR      00603
FARMACIA LA MONSERRATE                  19 MUNOZ RIVERA                                                                                       SALINAS           PR      00751
FARMACIA LORRAINE INC                   I 11 URB VILLA FLORES MARGINAL                                                                        MERCEDITA         PR      00715
FARMACIA LORRAINE INC                   PO BOX 238                                                                                            MERCEDITA         PR      00715
FARMACIA LOS ANGELES                    4406 AVE MILITAR                                                                                      ISABELA           PR      00662
FARMACIA MARIA INC                      PO BOX 412                                                                                            GUAYAMA           PR      00785‐0412
FARMACIA MEDIANIA                       PO BOX 528                                                                                            LOIZA             PR      00772
FARMACIA MEDICAL PLAZA DBA DARYLIS PRAS PMB 120                                 PO BOX 4972                                                   CAGUAS            PR      00726
FARMACIA MORELL                         1 MUNOZ RIVERA OESTE                                                                                  CAMUY             PR      00627
Farmacia Nogueras                       Calle Muñoz Rivera #11                                                                                Ricon             PR      00677
FARMACIA NOGUERAS                       MUÑOZ RIVERA 11 OESTE                                                                                 RINCON            PR      00677
FARMACIA NUEVA                          5 CALLE CARRO                                                                                         SAN GERMAN        PR      00683
FARMACIA QUINONES                       CALLE MUNOZ RIVERA 418 C/O BOX 8                                                                      PENUELAS          PR      00624‐0000
FARMACIA RAISA INC/ MARIBEL CANDELARIA  PO BOX 516                                                                                            RINCON            PR      00677
FARMACIA RAMALLOSA INC                  PO BOX 270                                                                                            AGUAS BUENAS      PR      00703
FARMACIA SAGRADO INC                    3 CALLE ANGEL G MARTINEZ                                                                              SABANA GRANDE     PR      00637
Farmacia San Antonio                    Carr 113 Km. 3.6                                                                                      Quebradilla       PR      00678
FARMACIA SAN ANTONIO                    PO BOX 1369                                                                                           HATILLO           PR      00659
FARMACIA SAN ANTONIO DE AGUADA INC      PO BOX 1061                                                                                           AGUADA            PR      00602‐1061
FARMACIA SAN ANTONIO DE VIEQUES         PO BOX 243                                                                                            VIEQUES           PR      00765‐0243
FARMACIA SAN FERNANDO INC               PO BOX 133                                                                                            TOA ALTA          PR      00954




                                                                                                         Page 2699 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2700 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                         Address1                      Address2                                   Address3             Address4   City            State   PostalCode   Country
FARMACIA SAN JOSE                     APT 186                                                                                                  LARES           PR      00669
FARMACIA SAN JOSE                     CALLE ALGARIN ESQ BADORIOTY   NUM 58                                                                     JUNCOS          PR      00777
Farmacia San Jose                                                                                                                              Lares           PR      00669
FARMACIA SAN MIGUEL                   BOX 907                                                                                                  HATILLO         PR      00659
FARMACIA SONIA MUNOZ DE TORO          61 CALLE COMERCIO                                                                                        JUANA DIAZ      PR      00795
FARMACIA TANON                        AVE. NOGAL I ROYAL PALM                                                                                  BAYAMON         PR      00956‐0000
FARMACIA TU FAMILIA CORP              P O BOX 6749                                                                                             CAGUAS          PR      00725
FARMACIA VARGAS                       1000 AVE JESUS T PINEIRO                                                                                 SAN JUAN        PR      00921
FARMACIA VILLA CARMEN                 URB VILLA CARMEN              AVE LUIS MUNOZ MARIN Q‐48                                                  CAGUAS          PR      00725
FARMACIA YANI INC                     PO BOX 164                                                                                               MOCA            PR      00676
FARMACIA YOMAR INC                    ESQUINA CALLE POST 160 SUR    160 CALLE DR RAMON E BETANCES S                                            MAYAGUEZ        PR      00680‐4061
FARMACIAS ASTURIAS                    URB RIVER VIEW                BLOQ ZAL‐6 CALLE 36                        AVE RAMON L RIVERA              BAYAMON         PR      00961
FARMER, LAUREN                        ADDRESS ON FILE
FARO CONFERENCE                       102 LEMAY ST.                                                                                            AGUADILLA       PR      00603
FAROKHZADEH LOPEZ, KATYANA            ADDRESS ON FILE
FARRAH M RODRIGUEZ DE LA ROSA         ADDRESS ON FILE
FARRAH QUILES MASON                   ADDRESS ON FILE
FARRAH REICH SEMPRIT                  ADDRESS ON FILE
FARRAIT DE LEON, LAURIE               ADDRESS ON FILE
FARRAIT NIEVES, GILBERTO              ADDRESS ON FILE
FARRAIT NIEVES, VIVIAN                ADDRESS ON FILE
FARRAIT RODRIGUEZ, ERNESTO            ADDRESS ON FILE
FARRARO MAYA, JOSE                    ADDRESS ON FILE
FARRARO PLAU, CARLOS                  ADDRESS ON FILE
FARRARO PLAUD, CARLOS                 ADDRESS ON FILE
FARRE BRANAS, GEORGE                  ADDRESS ON FILE
FARRE ROSADO, SILVIA                  ADDRESS ON FILE
FARRINGTON CAPLLONCH, PETER M         ADDRESS ON FILE
FARRINGTON ZAPATA, JOSE               ADDRESS ON FILE
FARRULLA MATOS, RAUL                  ADDRESS ON FILE
FARRULLA MATOS, RAUL                  ADDRESS ON FILE
FARZAN MD, DAVID                      ADDRESS ON FILE
FAS ALZAMORA, ANTONIO J               ADDRESS ON FILE
FAS ALZAMORA, MARGARITA               ADDRESS ON FILE
FAS BLONDET, REBECCA                  ADDRESS ON FILE
FAS IGLESIAS, JOSE                    ADDRESS ON FILE
FAS IZQUIERDO, CRISTAL                ADDRESS ON FILE
FAS PACHECO, ILEANA ISABEL            ADDRESS ON FILE
FAS QUINONES, JOSE                    ADDRESS ON FILE
FAS QUINONES, JOSE                    ADDRESS ON FILE
FAS RAMIREZ, JOSUE                    ADDRESS ON FILE
FAS RIVERA, YOLANDA                   ADDRESS ON FILE
FAS SANTIAGO, JOSE                    ADDRESS ON FILE
FAS SANTIAGO, MARIA DEL PILAR         ADDRESS ON FILE
FAS SANTIAGO, OLGA                    ADDRESS ON FILE
FASE III ARQUITECTURA CSP             URB LOMAS DE CAROLINA         D‐15 CALLE YUNQUESITO                                                      CAROLINA        PR      00987
FASHION GROUP                         257 AVE BARBOSA                                                                                          HATO REY        PR      00917
FASHIONISTA INC                       MONTEHIEDRA OFFICE CENTRE     9615 AVE LOS ROMEROS                                                       SAN JUAN        PR      00926‐0000
FAST & HEALTHY FODDS CORP             URB LA CUMBRE                 106 CALLE LAS VEGAS                                                        SAN JUAN        PR      00926
FAST BEEPER COMM INC                  PO BOX 30                                                                                                CAGUAS          PR      00726‐0030
FAST COFFEE LLC                       PO BOX 8830                                                                                              CAROLINA        PR      00988
FAST COLLECTION CORPORATION           COLINAS DEL BOSQUE            1150 CARR 2 APT 27                                                         BAYAMON         PR      00961‐7371
FAST CRUZ AMBULANCE                   PO BOX 1591                                                                                              SABANA SECA     PR      00952
FAST CRUZ AMBULANCE CORP              PO BOX 1591                                                                                              SABANA SECA     PR      00952
FAST ENTERPRISES LLC                  800 PARK BLVD SUITE 720                                                                                  BOISE           ID      83712
FAST FOOD MANAGEMENT                  FIRST BANK BUILDING SUITE     507 1519 PONCE DE LEON                                                     SAN JUAN        PR      00909
FAST LANE FRACHISING INC.             EDIFICIO FAST LANE            2501 CARR 177                                                              GUAYNABO        PR      00969 5120
FAST LINE CORP                        LOMAS DE CAROLIONA            2F18 CALLE 58A                                                             CAROLINA        PR      009827‐805
FAST OFFICE & COMPUTER SUPPLY, INC    CALLE AGUADILLA               #24                                                                        HATO REY        PR      00917‐0000
FAST OFFICE & COMPUTERS SUPPLY INC.   24 CALLE AGUADILLA                                                                                       SAN JUAN        PR      00917




                                                                                                Page 2700 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2701 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                         Address1                                 Address2                                    Address3   Address4   City         State   PostalCode   Country
FAST OFFICE + COMPUTER SUPPLIER       24 CALLE AGUADILLA                                                                                         HATO REY     PR      00917
FAST OFFICE + COMPUTER SUPPLY         24 CALLE AGUADILLA                                                                                         HATO REY     PR      00917
FAST OFFICE AND COMPUTER SUPPLY INC   24 CALLE AGUADILLA                                                                                         SAN JUAN     PR      00917
FAST OFFICE COMPUTER SUPPLY INC       CALLE AGUADILLA 24                                                                                         SAN JUAN     PR      00917
FAST PRO INTERNATIONAL                PO BOX 250                                                                                                 BAYAMON      PR      00960‐0250
FAST SINGS                            CARR #2 7.2                              BLDG#136                                                          GUAYNABO     PR      00966
FAST STEEL                            PO BOX 360827                                                                                              SAN JUAN     PR      00936‐0827
FAST STEEL CORP                       PO BOX 360827                                                                                              SAN JUAN     PR      00936‐0827
FAST V LLC                            PTA LAS MARIAS                           21 FORTE                                                          SAN JUAN     PR      00913‐4711
FASTENAL COMPANY                      2001 THEURER BLVD                                                                                          WINONA       MN      55987
FASTENAL COMPANY                      CENTRO DE DIST LOTE A‐1                  AVE TONY SANTANA AIRPORT LMM                                      CAROLINA     PR      00979
FASTLINK COMMUNICATIONS, INC.         32 BOULEVARD DE LA MEDIA LUNA APTO9204                                                                     CAROLINA     PR      00987
FASTSIGNS                             CARR # 2 KM 7.2                          BLDG # 136                                                        GUAYNABO     PR      00966
FASTVUE INC                           5701 LONETREE BLVd                       SUITE 220/221 J                                                   ROCKLIN      CA      95765
FATHI HASAN, SHIFA                    ADDRESS ON FILE
FATIMA FARHAN RODRIGUEZ               URB VILLA DEL CAFETAL II                 K‐26 CALLE ANDRES SANTIAGO                                        YAUCO        PR      00698
FATIMA MARTINEZ TORO                  ADDRESS ON FILE
FATIMA MARTINEZ TORRES                ADDRESS ON FILE
FATIMA SANTINI                        ADDRESS ON FILE
FATIMAH FEHMI IBRAHIM                 ADDRESS ON FILE
FATOH ASAD JOSEF                      ADDRESS ON FILE
FATZINGER CONSULTING INC              35 WALKER TERRACE NE                                                                                       ATLANTA      GA      30309
FAU ORTHOPAEDIC GROUP INC             109 CALLE MARIA MOCZO                                                                                      SAN JUAN     PR      00911
FAUDON MOVIES                         40 C ONE LINCOLN PLAZA                                                                                     NEW YORK     NY      10023
FAULKNER HERNANDEZ, ADOLFO            ADDRESS ON FILE
FAULKNER HERNANDEZ, GLADYS A          ADDRESS ON FILE
FAULKNER RODRIGUEZ, MAXIMO E          ADDRESS ON FILE
FAURA CIRINO, LISANDRA                ADDRESS ON FILE
FAURA CLAVELL MD, LUIS E              ADDRESS ON FILE
FAURA LOPEZ, CARLOS                   ADDRESS ON FILE
FAURA RODRIGUEZ, CARMEN M.            ADDRESS ON FILE
FAURA RODRIGUEZ, DELIA E.             ADDRESS ON FILE
FAURE MAURAS, CARLOS                  ADDRESS ON FILE
FAUSTINO A RIVERA RIVERA              ADDRESS ON FILE
FAUSTINO ALICEA MONGE                 ADDRESS ON FILE
FAUSTINO ALICEA VEGA                  ADDRESS ON FILE
FAUSTINO ANDRADES PORTALATIN          ADDRESS ON FILE
FAUSTINO AYALA DIAZ                   ADDRESS ON FILE
FAUSTINO DE JESUS CASTILLO            ADDRESS ON FILE
FAUSTINO DEL VALLE VEGA               ADDRESS ON FILE
FAUSTINO DEL VALLE VEGA               ADDRESS ON FILE
FAUSTINO DELGADO CAMACHO              ADDRESS ON FILE
FAUSTINO LOPEZ                        ADDRESS ON FILE
FAUSTINO LOPEZ MATOS                  ADDRESS ON FILE
FAUSTINO ORTEGA ESPINELL              ADDRESS ON FILE
FAUSTINO OTERO MONTES                 ADDRESS ON FILE
FAUSTINO POMALES POMALES              ADDRESS ON FILE
FAUSTINO RIVERA LOPEZ                 ADDRESS ON FILE
FAUSTINO RIVERA NEGRON                ADDRESS ON FILE
FAUSTINO RUIZ RODRIGUEZ               ADDRESS ON FILE
FAUSTINO TORRES DELGADO               ADDRESS ON FILE
FAUSTINO TOSADO MEDINA                ADDRESS ON FILE
FAUSTO A. ARROYO IRIZARRY             ADDRESS ON FILE
FAUSTO BORIA CARCANO, MD              ADDRESS ON FILE
FAUSTO CARRASQUILLO DIAZ              ADDRESS ON FILE
FAUSTO MARRERO BONILLA                ADDRESS ON FILE
FAUSTO N ABREU PENA                   ADDRESS ON FILE
FAUSTO R ESPAILLAT HENRY              ADDRESS ON FILE
FAUSTO RAMOS, KIM                     ADDRESS ON FILE
FAUSTO ROLDAN GARCIA                  ADDRESS ON FILE




                                                                                                            Page 2701 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2702 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                       Address1                              Address2                                   Address3         Address4   City             State   PostalCode   Country
FAUSTO SANCHEZ BODERO               ADDRESS ON FILE
FAUSTO SANCHEZ, LEILA M             ADDRESS ON FILE
FAUSTO SANTIAGO Y GLADYS SANTIAGO   ADDRESS ON FILE
FAVALE PEREZ, CARLAMARIE            ADDRESS ON FILE
FAVALE ROMAN, MILKA                 ADDRESS ON FILE
FAVALES ROMAN, RAFAEL               ADDRESS ON FILE
FAVELA PRODUCTION LLC               2167 GENERAL DEL VALLE                                                                                       SAN JUAN         PR      00913
FAVIAN HERNANDEZ VEGA               ADDRESS ON FILE
FAVIAN SANTOS FLORES                ADDRESS ON FILE
FAVIO G RAMOS BAEZ                  ADDRESS ON FILE
FAVIO LAUREANO LORA                 ADDRESS ON FILE
FAVIO T. RODRIGUEZ VELAZQUEZ        ADDRESS ON FILE
FAVIOLA LEON TORRES                 ADDRESS ON FILE
FAVIOLA MELENDEZ RODRIGUEZ          ADDRESS ON FILE
FAVIOLA VEGA DELGADO                ADDRESS ON FILE
FAVOT MEIRINIO, JOSE                ADDRESS ON FILE
FAWZI T. MOHAMMAD                   ADDRESS ON FILE
FAX MELENDEZ, MARIA DE L            ADDRESS ON FILE
FAX MELENDEZ, RAFAEL                ADDRESS ON FILE
FAYEK SALE JURIEH                   LUIS A. BURGOS RIVERA                 APARTADO 2464                                                          GUAYAMA          PR      00785
FAYETTEVILLE NEUROLOGY              1766 METROMEDICAL DR                                                                                         FAYETTEVILLE     NC      28304‐3861
FAZAA CORP                          PMB 434 CALLE ENSENADA 366                                                                                   SAN JUAN         PR      00920‐3526
FAZAA CORP / FAZAA FOOD SERVICE     PO BOX 8690                           FERNANDEZ JUNCOS ST                                                    SAN JUAN         PR      00910
FAZAA CORPORATION                   AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                              SAN JUAN         PR      00902‐4140
FAZAA CORPORATION                   P.O. BOX 8690 FERNANDEZ JUNCOS STA.                                                                          SAN JUAN         PR      00910‐0000
FAZAA CORPORATION                   PMB 434                               366 CALLE ENSENADA                                                     SAN JUAN         PR      00920‐3526
FAZAA CORPORATION                   PO BOX 8690                                                                                                  SAN JUAN         PR      00910
FAZAA FOOD SERVICE                  PO BOX 8690                           FERNANDEZ JUNCOS STATION                                               SAN JUAN         PR      00910
FAZAA FOOD SERVICE                  PO BOX 8690                                                                                                  SAN JUAN         PR      00910
FAZAA FOOD SERVICES                 PO BOX 8690                                                                                                  SAN JUAN         PR      00910
FBI COMUNICACIONES                  P O BOX 194388                                                                                               SAN JUAN         PR      00919‐4388
FCA Service Contracts LLC           1000 Chrysler Dr., Cims: 485‐14‐78                                                                           Auburn Hills     MI      48326
FCA Service Contracts LLC           Attn: Alan D'Agostini, President      26001 Lawrence Avenue                      CIMS 423‐04‐06              Center Line      MI      48015
FCM PRODUCTS INC                    13727 SW 152ND ST # 127                                                                                      MIAMI            FL      33177
FCO PLANELL DOSAL MD, CARLOS        ADDRESS ON FILE
FDA DENTAL PLAN FUND                PLAZA LAS AMERICAS TOWERS             F D ROOSEVELT AVE STE 525                                              SAN JUAN         PR      00918
FDA DENTAL PLAN FUND                PO BOX 6978                                                                                                  BAYAMON          PR      00960
FDDS MANAGEMENT & ENGINEERING PSC   PLAZA CUPEY GARDENS                   15 200 CUPEY GARDENS AVE SUITE 10 E                                    SAN JUAN         PR      00926
FDIC RCVR 10229 EUROBANK            AREA DE TESORO                        DIVISION DE RECLAMACIONES                                              SAN JUAN         PR      00902‐4140
FDIC RCVR 10229 EUROBANK            BACU MAIL STOP 17.1                   PO BOX 971774                                                          DALLAS           TX      75397‐1774
FDIC RCVR 10229 EUROBANK            ESQUINA RUIZ BELVIS                   32 CALLE ACOSTA                                                        CAGUAS           PR      00725
FDIC RCVR 10229 EUROBANK            FERNANDEZ JUNCOS STATION              PO BOX 11855                                                           SAN JUAN         PR      00910‐3855
FDIC RCVR 10229 EUROBANK            PO BOX 191009                                                                                                SAN JUAN         PR      00919 1009
FDIC RCVR 10230 RG PREMIER BANK     280 AVE JESUS T. PI¨EIRO                                                                                     SAN JUAN         PR      00918
FDIC RCVR 10230 RG PREMIER BANK     BACU MAIL STOP 17.1                   PO BOX 971774                                                          DALLAS           TX      75397‐1774
FDIC RCVR 10230 RG PREMIER BANK     FERNANDEZ JUNCOS ST                   PO BOX 11855                                                           SAN JUAN         PR      00910‐3855
FDIC RCVR 10230 RG PREMIER BANK     PO BOX 362394                                                                                                SAN JUAN         PR      00936‐2394
FDIC RCVR 10230 RG PREMIER BANK     UNCLAIMED PROPERTY GROUP              P O BOX 130235                                                         DALLAS           TX      75313‐0235
FDIC RCVR 10231 WESTERN BANK P R    BACU MAIL STOP 17.1                   PO BOX 971774                                                          DALLAS           TX      75397‐1774
FDIC RCVR 10231 WESTERN BANK P R    PO BOX 1180                                                                                                  MAYAGUEZ         PR      00681‐1180
FDIC RCVR 10231 WESTERN BANK P R    PO BOX 130235                                                                                                DALLAS           TX      75313‐0235
FDIC RCVR 10513 DORAL BANK          1451 AVE FD ROOSEVELT                                                                                        SAN JUAN         PR      00920
FDIC RCVR 10513 DORAL BANK          AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                              SAN JUAN         PR      00902‐4140
FDIC RCVR 10513 DORAL BANK          DORAL BANK CENTER                     279 AVE PONCE DE LEON                                                  SAN JUAN         PR      00917
FDIC RCVR 10513 DORAL BANK          DPTO TARJETAS BANCARIAS               P O BOX 71306                                                          SAN JUAN         PR      00936‐8406
FDIC RCVR 10513 DORAL BANK          P O BOX 130235                                                                                               DALLAS           TX      75313‐0235
FDIC RCVR 10513 DORAL BANK          PO BOX 71529                                                                                                 SAN JUAN         PR      00936‐8629
FE EUNICE RAMOS DE ARMAS            COND VISTA VERDE                      150 B CARR 849                                                         SAN JUAN         PR      00924
FE POL, IRMA                        ADDRESS ON FILE
FEAL CRUZ, RAUL                     ADDRESS ON FILE




                                                                                                      Page 2702 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2703 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FEAL VEGA, DAVID               ADDRESS ON FILE
FEBALDO GUTIERREZ ZAYAS        ADDRESS ON FILE
FEBALDO GUTIERREZ ZAYAS        ADDRESS ON FILE
FEBLES AGOSTO, MIGDALIA        ADDRESS ON FILE
FEBLES ALICEA, JOMARA          ADDRESS ON FILE
FEBLES ALVELO, ALBERTO         ADDRESS ON FILE
FEBLES ALVELO, CHRISTOPHER     ADDRESS ON FILE
FEBLES BERDECIA, ANGEL         ADDRESS ON FILE
FEBLES BONILLA, FELIXBERTO     ADDRESS ON FILE
FEBLES BONILLA, STEPHANIE      ADDRESS ON FILE
FEBLES CABALLERO, OXIL         ADDRESS ON FILE
FEBLES CENTENO, JORGE          ADDRESS ON FILE
FEBLES CRUZ, EDWIN             ADDRESS ON FILE
FEBLES CRUZ, MICHELLE          ADDRESS ON FILE
FEBLES CRUZ,EDWIN              ADDRESS ON FILE
FEBLES DELGADO, NITZA          ADDRESS ON FILE
FEBLES DOMENA, ZOLYMAR         ADDRESS ON FILE
FEBLES DURAN, LYDIA M          ADDRESS ON FILE
FEBLES DURAN, MILDRED E        ADDRESS ON FILE
FEBLES ECHEVARRIA, RICARDO     ADDRESS ON FILE
FEBLES FELICIANO, GUSTAVO      ADDRESS ON FILE
FEBLES GARCIA, ANTONIO         ADDRESS ON FILE
FEBLES GARCIA, LESBIA          ADDRESS ON FILE
FEBLES GARCIA, LESBIA          ADDRESS ON FILE
FEBLES GONZALEZ, CYNTHIA       ADDRESS ON FILE
FEBLES GONZALEZ, JOSUE         ADDRESS ON FILE
FEBLES GONZALEZ, LUIS          ADDRESS ON FILE
FEBLES GONZALEZ, RAMON         ADDRESS ON FILE
FEBLES GONZALEZ, RAQUEL        ADDRESS ON FILE
FEBLES GUTIERREZ MD, VIDAL A   ADDRESS ON FILE
FEBLES GUTIERREZ, HAYDELITZ    ADDRESS ON FILE
FEBLES HALE, FRANCES           ADDRESS ON FILE
FEBLES LEON, CARMEN            ADDRESS ON FILE
FEBLES LEON, ELSA N            ADDRESS ON FILE
FEBLES LEON, MAYDA I           ADDRESS ON FILE
FEBLES LEON, OSVALDO L         ADDRESS ON FILE
FEBLES LOURIDO, NEIZA          ADDRESS ON FILE
FEBLES LOURIDO, NEIZA          ADDRESS ON FILE
FEBLES MARRERO, KEVIN          ADDRESS ON FILE
FEBLES MARRERO, KEVIN          ADDRESS ON FILE
FEBLES MATEO, ADLIN M.         ADDRESS ON FILE
Febles Medina, Alan            ADDRESS ON FILE
FEBLES MEDINA, ELSA            ADDRESS ON FILE
FEBLES MEDINA, JOANN           ADDRESS ON FILE
FEBLES MEDINA, SAUL            ADDRESS ON FILE
FEBLES MEJIAS, EDGAR J         ADDRESS ON FILE
FEBLES MEJIAS, RICARDO L       ADDRESS ON FILE
Febles Mejias, Ricardo L       ADDRESS ON FILE
FEBLES MOLINI, KRISTEL         ADDRESS ON FILE
FEBLES MONTALVO, CARMELO       ADDRESS ON FILE
FEBLES MONTALVO, CHARLES       ADDRESS ON FILE
FEBLES NEGRON, AMNERIS         ADDRESS ON FILE
FEBLES NEGRON, ANGEL M         ADDRESS ON FILE
FEBLES NEGRON, BRUNILDA        ADDRESS ON FILE
FEBLES NEGRON, ELINES          ADDRESS ON FILE
FEBLES NEGRON, ISABELITA       ADDRESS ON FILE
FEBLES NEGRON, ISABELITA       ADDRESS ON FILE
FEBLES NIEVES, MARIA           ADDRESS ON FILE
Febles Ortega, Hector          ADDRESS ON FILE
FEBLES OTERO, ANA              ADDRESS ON FILE




                                                                           Page 2703 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2704 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FEBLES OTERO, MARIA C           ADDRESS ON FILE
Febles Pabon, Araminta          ADDRESS ON FILE
Febles Pabon, Milagros          ADDRESS ON FILE
FEBLES PAGAN, GLADYS            ADDRESS ON FILE
FEBLES PLAZA, YADIRA            ADDRESS ON FILE
FEBLES RAMOS, LUIS              ADDRESS ON FILE
FEBLES RENTAS, FELIX JUAN       ADDRESS ON FILE
FEBLES RIVERA, ASTRID           ADDRESS ON FILE
FEBLES RIVERA, CARMEN L         ADDRESS ON FILE
FEBLES RIVERA, CLARITZA         ADDRESS ON FILE
FEBLES RIVERA, JAIME            ADDRESS ON FILE
FEBLES RIVERA, JULIENNE DE R    ADDRESS ON FILE
FEBLES RIVERA, LYANN            ADDRESS ON FILE
FEBLES RIVERA, SYLVIA E         ADDRESS ON FILE
FEBLES RIVERA, YESENIA          ADDRESS ON FILE
FEBLES RIVERA, YESENIA          ADDRESS ON FILE
FEBLES RODRIGUEZ, DIANIS M      ADDRESS ON FILE
FEBLES RODRIGUEZ, ENRIQUE       ADDRESS ON FILE
FEBLES ROSARIO, ANGEL           ADDRESS ON FILE
FEBLES SISCO, LISSETTE E.       ADDRESS ON FILE
FEBLES TORRES, GERALDO          ADDRESS ON FILE
FEBLES TORRES, HIRAM            ADDRESS ON FILE
FEBLES TORRES, MICHELLE         ADDRESS ON FILE
FEBLES VALENTIN MD, CELESTINA   ADDRESS ON FILE
FEBLES VALENTIN, BLANCA N       ADDRESS ON FILE
FEBLES VAZQUEZ, EDGARDO         ADDRESS ON FILE
FEBLES VAZQUEZ, ISMAEL          ADDRESS ON FILE
FEBLES VELEZ, JESSICA           ADDRESS ON FILE
FEBLES, ALEXIS                  ADDRESS ON FILE
FEBLES,RAFAEL                   ADDRESS ON FILE
Feblez Alicea, Jose R           ADDRESS ON FILE
FEBO ACEVEDO, JONATHAN          ADDRESS ON FILE
FEBO ACEVEDO, YETZABEL          ADDRESS ON FILE
FEBO ALVELO, EVELYN             ADDRESS ON FILE
Febo Alvelo, Jose R             ADDRESS ON FILE
FEBO ALVELO, WILLIAM            ADDRESS ON FILE
FEBO BERRIOS, MARIA             ADDRESS ON FILE
Febo Berrios, Zaida             ADDRESS ON FILE
FEBO BOARMAN, RAMONA            ADDRESS ON FILE
FEBO BORIA, HUGO                ADDRESS ON FILE
FEBO BURGOS, ANA L              ADDRESS ON FILE
FEBO CARMONA, MARITZA           ADDRESS ON FILE
FEBO CARRASQUILLO, ALEXANDRA    ADDRESS ON FILE
FEBO CASIANO, JORGE             ADDRESS ON FILE
FEBO CASTRO, LUZ E              ADDRESS ON FILE
FEBO COLLAZO, JORGE             ADDRESS ON FILE
FEBO COLON, LAURA E.            ADDRESS ON FILE
FEBO COLON, LIANA M             ADDRESS ON FILE
FEBO COLON, LYMARI              ADDRESS ON FILE
FEBO COLON, MARIA DEL C         ADDRESS ON FILE
FEBO COTTO, SAMUEL              ADDRESS ON FILE
FEBO CRUZ, JOSE                 ADDRESS ON FILE
Febo Cruz, Juana                ADDRESS ON FILE
FEBO CRUZ, RICHARD              ADDRESS ON FILE
FEBO DIAZ, HECTOR               ADDRESS ON FILE
FEBO DURAN, MILMARY             ADDRESS ON FILE
FEBO DURAN, RUBEN D             ADDRESS ON FILE
FEBO DURAN, VASTI               ADDRESS ON FILE
FEBO ENCARNACION, ROSA A        ADDRESS ON FILE
FEBO ENCARNACION, ROSA A.       ADDRESS ON FILE




                                                                            Page 2704 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2705 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Febo Febo, Anibal            ADDRESS ON FILE
FEBO FEBO, BRENDA I          ADDRESS ON FILE
FEBO FEBO, JUSTA             ADDRESS ON FILE
FEBO FEBO, NELSON            ADDRESS ON FILE
FEBO FRANCO, LUIS            ADDRESS ON FILE
FEBO LOPEZ, FRANCIS          ADDRESS ON FILE
FEBO LOPEZ,FRANCHELLI        ADDRESS ON FILE
FEBO MARIN, CARLOS           ADDRESS ON FILE
Febo Marin, Orlando          ADDRESS ON FILE
FEBO MARTINEZ, MARY ANN      ADDRESS ON FILE
FEBO MATOS, RAFAEL           ADDRESS ON FILE
FEBO MENDEZ, AMARILYS        ADDRESS ON FILE
FEBO MENDEZ, JANETTE         ADDRESS ON FILE
FEBO NAZARIO, NORMA I        ADDRESS ON FILE
FEBO NEGRON, KEILA           ADDRESS ON FILE
FEBO NEGRON, SARIEL          ADDRESS ON FILE
FEBO PAGAN, GLADYS O         ADDRESS ON FILE
FEBO PARRILLA, JONATHAN      ADDRESS ON FILE
FEBO QUINONEZ, DAVID         ADDRESS ON FILE
FEBO REYES MD, HORIDEL G     ADDRESS ON FILE
FEBO RIVERA, CARLOS M        ADDRESS ON FILE
FEBO RIVERA, CARLYMAR        ADDRESS ON FILE
FEBO RIVERA, DIANA           ADDRESS ON FILE
FEBO RIVERA, IRMA I          ADDRESS ON FILE
FEBO RIVERA, JOSEFINA        ADDRESS ON FILE
FEBO RIVERA, KETSY L         ADDRESS ON FILE
FEBO RIVERA, MARLENE         ADDRESS ON FILE
FEBO RODRIGUEZ, ANTHONY      ADDRESS ON FILE
FEBO RODRIGUEZ, ENEIDA       ADDRESS ON FILE
FEBO RODRIGUEZ, LUIS R       ADDRESS ON FILE
FEBO RODRIGUEZ, OLGA         ADDRESS ON FILE
FEBO RODRIGUEZ, SANDRA       ADDRESS ON FILE
FEBO RODRIGUEZ, XIOMARA      ADDRESS ON FILE
FEBO ROMAN, JOHANNA          ADDRESS ON FILE
FEBO ROMANY, JAVIER          ADDRESS ON FILE
FEBO SANCHEZ, ALBERTO        ADDRESS ON FILE
FEBO SANTIAGO, ELIZABETH     ADDRESS ON FILE
FEBO SANTIAGO, GLADYS        ADDRESS ON FILE
FEBO SANTIAGO, LUIS          ADDRESS ON FILE
FEBO SANTIAGO, NELSON        ADDRESS ON FILE
FEBO SANTIAGO, NORMA I.      ADDRESS ON FILE
FEBO SANTIAGO, OLGA          ADDRESS ON FILE
FEBO SERRANO, DAVID          ADDRESS ON FILE
FEBO SERRANO, HECTOR         ADDRESS ON FILE
FEBO TORRES, MARIBEL         ADDRESS ON FILE
FEBO VAZQUEZ, MARINIL        ADDRESS ON FILE
FEBO VAZQUEZ, NYDIA          ADDRESS ON FILE
FEBO VEGA, LUZ E             ADDRESS ON FILE
FEBRE ALEMANY, DIANA         ADDRESS ON FILE
FEBRE DE LA TORRES, MARIA    ADDRESS ON FILE
FEBRE FUENTES, CARMEN        ADDRESS ON FILE
Febre Robles, Angel          ADDRESS ON FILE
FEBRE RODRIGUEZ, SARAH       ADDRESS ON FILE
FEBRES ACEVEDO, PAOLA        ADDRESS ON FILE
FEBRES ALAMO, IVETTE         ADDRESS ON FILE
FEBRES ALLENDE, CINTHIA E    ADDRESS ON FILE
FEBRES ALMESTICA, CARMEN L   ADDRESS ON FILE
FEBRES ARISTUD, AMAURY       ADDRESS ON FILE
FEBRES ARISTUD, CARMEN C     ADDRESS ON FILE
FEBRES ARROYO, YAZBEL        ADDRESS ON FILE




                                                                         Page 2705 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2706 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FEBRES AYALA, ALEXIE           ADDRESS ON FILE
FEBRES AYUSO, AUREA J          ADDRESS ON FILE
FEBRES AYUSO, JOSEIAN L        ADDRESS ON FILE
FEBRES BENITEZ, AGRIPINA       ADDRESS ON FILE
FEBRES BENITEZ, ANA J          ADDRESS ON FILE
FEBRES BENITEZ, FERNANDO       ADDRESS ON FILE
FEBRES BENITEZ, GLENDALIZ      ADDRESS ON FILE
FEBRES BENITEZ, IRIS CELIS     ADDRESS ON FILE
FEBRES BENITEZ, ISABEL         ADDRESS ON FILE
FEBRES BERRIOS, CELIMAR        ADDRESS ON FILE
FEBRES BERRIOS, GLORIA         ADDRESS ON FILE
FEBRES BERRIOS, TITO           ADDRESS ON FILE
FEBRES BERRIOS, TITO           ADDRESS ON FILE
Febres Bracer, Yahaira         ADDRESS ON FILE
FEBRES BULTRON, SANTOS LUIS    ADDRESS ON FILE
FEBRES CALDERON, FERNANDO      ADDRESS ON FILE
FEBRES CASADO, AIDA            ADDRESS ON FILE
FEBRES CASADO, HECTOR          ADDRESS ON FILE
FEBRES CASADO, HECTOR Y.       ADDRESS ON FILE
FEBRES CASADO, JANET           ADDRESS ON FILE
FEBRES CASELLAS, CARMEN G.     ADDRESS ON FILE
FEBRES CASELLAS, RAFAEL        ADDRESS ON FILE
FEBRES CINTRQN, JULIO E        ADDRESS ON FILE
FEBRES COLLADO, CARLOS         ADDRESS ON FILE
FEBRES COTTO, EDWIN            ADDRESS ON FILE
FEBRES CRUZ, FRANCISCO         ADDRESS ON FILE
FEBRES CRUZ, NELSON            ADDRESS ON FILE
FEBRES CRUZ, RAMON             ADDRESS ON FILE
FEBRES CRUZ, RAMON L.          ADDRESS ON FILE
Febres De Estrada, Awilda      ADDRESS ON FILE
FEBRES DE JESUS, FREDDY        ADDRESS ON FILE
FEBRES DE JESUS, LUZ C         ADDRESS ON FILE
Febres De Jesus, Victor H      ADDRESS ON FILE
FEBRES DEL VALLE, MINERVA      ADDRESS ON FILE
FEBRES DEL VALLE, YESENIA      ADDRESS ON FILE
FEBRES DELGADO, BELISA         ADDRESS ON FILE
FEBRES DELGADO, LEYDA P        ADDRESS ON FILE
FEBRES DELGADO, LEYDA P.       ADDRESS ON FILE
FEBRES DELGADO, MARIA DEL C.   ADDRESS ON FILE
FEBRES DIAZ, LAURA E           ADDRESS ON FILE
FEBRES ECHEVARRIA, JOLINES     ADDRESS ON FILE
FEBRES ELIAS, BARBARA          ADDRESS ON FILE
FEBRES FALU, ISABEL            ADDRESS ON FILE
FEBRES FALU, LUISA             ADDRESS ON FILE
FEBRES FARREL, RONALD          ADDRESS ON FILE
FEBRES FEBRES, ANGEL S.        ADDRESS ON FILE
FEBRES FEBRES, ELIZABETH       ADDRESS ON FILE
FEBRES FEBRES, ESTHER          ADDRESS ON FILE
FEBRES FEBRES, LUIS A          ADDRESS ON FILE
FEBRES FEBRES, LUZ A           ADDRESS ON FILE
FEBRES FIGUEROA, LUZ           ADDRESS ON FILE
FEBRES FIGUEROA, LUZ S.        ADDRESS ON FILE
FEBRES FIGUEROA, LUZ S.        ADDRESS ON FILE
FEBRES FIGUEROA, MARIA T       ADDRESS ON FILE
FEBRES FLORES, LYDIA A         ADDRESS ON FILE
FEBRES FONSECA, ANGEL L        ADDRESS ON FILE
FEBRES GARCIA, CARLOS          ADDRESS ON FILE
FEBRES GARCIA, DAVID           ADDRESS ON FILE
Febres Garcia, Jose V          ADDRESS ON FILE
FEBRES GARCIA, MILDRED         ADDRESS ON FILE




                                                                           Page 2706 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2707 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
FEBRES GARCIA, NORMA                     ADDRESS ON FILE
FEBRES GONZALEZ, AMAURY                  ADDRESS ON FILE
FEBRES GONZALEZ, EVELYN                  ADDRESS ON FILE
FEBRES GONZALEZ, EVELYN                  ADDRESS ON FILE
Febres Gonzalez, Giovanni                ADDRESS ON FILE
FEBRES GONZALEZ, JUANITA                 ADDRESS ON FILE
Febres Gonzalez, Migdalia                ADDRESS ON FILE
Febres Gonzalez, Sebastian               ADDRESS ON FILE
FEBRES GONZALEZ, VIRGINIA                ADDRESS ON FILE
FEBRES HERNANDEZ, EVELYN                 ADDRESS ON FILE
FEBRES HERNANDEZ, HECTOR                 ADDRESS ON FILE
FEBRES HERNANDEZ, SHARON S               ADDRESS ON FILE
FEBRES HERNANDEZ, WALESKA S.             ADDRESS ON FILE
FEBRES HIRALDO, ROSA                     ADDRESS ON FILE
FEBRES JIMENEZ, EVA N                    ADDRESS ON FILE
FEBRES JORGE, ALEJANDRO                  ADDRESS ON FILE
FEBRES LLANOS, ANA M                     ADDRESS ON FILE
FEBRES MAESO, MARIA A                    ADDRESS ON FILE
FEBRES MARTINEZ, ANDRES                  ADDRESS ON FILE
FEBRES MARTINEZ, ELOY                    ADDRESS ON FILE
Febres Martinez, Eloy J                  ADDRESS ON FILE
FEBRES MARTINEZ, SANDRA DEL CARMEN       ADDRESS ON FILE
FEBRES MATOS, JESUS                      ADDRESS ON FILE
FEBRES MATOS, SERGIO                     ADDRESS ON FILE
FEBRES MELENDEZ, GRISELLE                ADDRESS ON FILE
FEBRES MELENDEZ, GRISELLE                ADDRESS ON FILE
FEBRES MIRANDA, LOURDES                  ADDRESS ON FILE
FEBRES MORALES, ALEJANDRINA              ADDRESS ON FILE
FEBRES MORALES, ANA ROSA                 ADDRESS ON FILE
FEBRES MORALES, CLEMENTE                 ADDRESS ON FILE
FEBRES MORALES, ENID                     ADDRESS ON FILE
FEBRES MORALES, MAGDA I.                 ADDRESS ON FILE
FEBRES MORALES, ROSA E.                  ADDRESS ON FILE
FEBRES MORALES, VIRGINIA                 ADDRESS ON FILE
FEBRES MUNIZ, YAJAIRA                    ADDRESS ON FILE
FEBRES NAZARIO, EDGARDO                  ADDRESS ON FILE
FEBRES NAZARIO, ONIX                     ADDRESS ON FILE
FEBRES NAZARIO, ONIX                     ADDRESS ON FILE
Febres Negron, Manuel                    ADDRESS ON FILE
FEBRES NEGRON, VILMA                     ADDRESS ON FILE
FEBRES NIEVES, GUILLERMO JOSE            ADDRESS ON FILE
FEBRES OCASIO, IVONNE                    ADDRESS ON FILE
FEBRES OCASIO, ODALYS                    ADDRESS ON FILE
FEBRES ORTIZ, AIDA E                     ADDRESS ON FILE
FEBRES ORTIZ, GIOVANNY                   ADDRESS ON FILE
FEBRES ORTIZ, GREYCHA                    ADDRESS ON FILE
FEBRES ORTIZ, JOSE A                     ADDRESS ON FILE
FEBRES PASTRANA, IRIS                    ADDRESS ON FILE
FEBRES PEREZ, RAFAEL                     ADDRESS ON FILE
FEBRES PIZARRO, DAVID                    ADDRESS ON FILE
FEBRES PIZARRO, ISMAEL                   ADDRESS ON FILE
FEBRES QUINONES, CARILYN                 ADDRESS ON FILE
FEBRES QUINONES, MIGUEL A.               ADDRESS ON FILE
FEBRES QUINONES, ROSA O.                 ADDRESS ON FILE
FEBRES REFRIGERATION AND AIR CONDITION   HC 03 BOX 7842                                                                   CANOVANAS     PR      00729‐0000
FEBRES REYES, NATIVIDAD                  ADDRESS ON FILE
Febres Rios, Heidy                       ADDRESS ON FILE
FEBRES RIOS, MARIA M                     ADDRESS ON FILE
FEBRES RIVAS, NOEMI                      ADDRESS ON FILE
Febres Rivera, Candido                   ADDRESS ON FILE




                                                                                     Page 2707 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2708 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FEBRES RIVERA, ESTEBANIA      ADDRESS ON FILE
FEBRES RIVERA, FELIPE         ADDRESS ON FILE
FEBRES RIVERA, FRANCISCO J.   ADDRESS ON FILE
FEBRES RIVERA, IRIS           ADDRESS ON FILE
FEBRES RIVERA, JENAY          ADDRESS ON FILE
FEBRES RIVERA, JENAY M        ADDRESS ON FILE
FEBRES RIVERA, LOURDES        ADDRESS ON FILE
FEBRES RODRIGUEZ, BRENDALIZ   ADDRESS ON FILE
FEBRES RODRIGUEZ, CELINESS    ADDRESS ON FILE
FEBRES RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
FEBRES RODRIGUEZ, EVA M       ADDRESS ON FILE
FEBRES RODRIGUEZ, IRVING      ADDRESS ON FILE
FEBRES RODRIGUEZ, JANICE      ADDRESS ON FILE
FEBRES RODRIGUEZ, JOSE        ADDRESS ON FILE
FEBRES RODRIGUEZ, JOSE        ADDRESS ON FILE
FEBRES RODRIGUEZ, JOSE L      ADDRESS ON FILE
FEBRES RODRIGUEZ, KATHERINE   ADDRESS ON FILE
FEBRES RODRIGUEZ, LILLIBET    ADDRESS ON FILE
FEBRES RODRIGUEZ, LOREN       ADDRESS ON FILE
FEBRES RODRIGUEZ, LUIS        ADDRESS ON FILE
Febres Rodriguez, Luis D.     ADDRESS ON FILE
FEBRES RODRIGUEZ, LUISA       ADDRESS ON FILE
FEBRES RODRIGUEZ, MARIALYS    ADDRESS ON FILE
FEBRES RODRIGUEZ, NYDIA       ADDRESS ON FILE
FEBRES RODRIGUEZ, RAMON       ADDRESS ON FILE
FEBRES RODRIGUEZ, YOMARIS     ADDRESS ON FILE
FEBRES RODRIGUEZ, YOMARIS     ADDRESS ON FILE
FEBRES ROMERO, EPIFANIA       ADDRESS ON FILE
FEBRES ROMERO, MARGIELYN      ADDRESS ON FILE
FEBRES ROMERO, MAYDALYN       ADDRESS ON FILE
FEBRES ROMERO, TYRON          ADDRESS ON FILE
FEBRES ROSA, JOSE             ADDRESS ON FILE
FEBRES ROSADO, SOFIA          ADDRESS ON FILE
FEBRES SALICRUP, ARNALDO J    ADDRESS ON FILE
FEBRES SALICRUP, NORANYS      ADDRESS ON FILE
FEBRES SANCHEZ, GLORIA E      ADDRESS ON FILE
FEBRES SANCHEZ, GREGORIA      ADDRESS ON FILE
FEBRES SANCHEZ, ORLANDO       ADDRESS ON FILE
FEBRES SANJURJO, SAYRA ENID   ADDRESS ON FILE
FEBRES SANJURJO, VICTOR       ADDRESS ON FILE
FEBRES SANTIAGO, IRIS N       ADDRESS ON FILE
FEBRES SANTIAGO, NILDA Y      ADDRESS ON FILE
FEBRES TAPIA, CARMEN E        ADDRESS ON FILE
FEBRES TAPIA, MIGDALIA        ADDRESS ON FILE
FEBRES TORRES, NOELIA         ADDRESS ON FILE
FEBRES TORRES, VIVIAN         ADDRESS ON FILE
FEBRES VADI, LORNA            ADDRESS ON FILE
FEBRES VARGAS, ERNESTO        ADDRESS ON FILE
FEBRES VIERA, EDGARDO         ADDRESS ON FILE
FEBRESDEBARRETO, ANA L        ADDRESS ON FILE
FEBRESGONZALEZ, TRINIDAD      ADDRESS ON FILE
FEBRESROMAN, ANA C.           ADDRESS ON FILE
FEBUS ALICEA, ADA N           ADDRESS ON FILE
FEBUS ALICEA, CARLOS          ADDRESS ON FILE
FEBUS ALINDATO, BENJAMIN      ADDRESS ON FILE
Febus Allende, Raymundo       ADDRESS ON FILE
FEBUS ALVELO, GERARDO O       ADDRESS ON FILE
FEBUS APONTE, CARMEN L        ADDRESS ON FILE
FEBUS APONTE, GISSELLE        ADDRESS ON FILE
FEBUS APONTE, JOEL            ADDRESS ON FILE




                                                                          Page 2708 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2709 of 3500
                                                                              17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                  Address1                                 Address2                            Address3            Address4   City         State   PostalCode   Country
FEBUS APONTE, NILDA I          ADDRESS ON FILE
FEBUS BAEZ, LUZ D              ADDRESS ON FILE
FEBUS BERRIOS, JORGE           ADDRESS ON FILE
FEBUS BERRIOS, MILDRED         ADDRESS ON FILE
FEBUS BETANCOURT, BRUNILDA     ADDRESS ON FILE
FEBUS BURGOS, BRUNILDA         ADDRESS ON FILE
FEBUS CANCEL, ELIOTT           ADDRESS ON FILE
FEBUS CANCEL, VIVIANA          ADDRESS ON FILE
FEBUS CARATINI, ISRAEL         ADDRESS ON FILE
FEBUS CARATTINI, JULIA M       ADDRESS ON FILE
FEBUS CASIANO, ODIMARIS        ADDRESS ON FILE
FEBUS CENTENO, PEDRO           ADDRESS ON FILE
FEBUS COLLAZO, YARITZA         ADDRESS ON FILE
FEBUS COLON, CARLOS            ADDRESS ON FILE
FEBUS COLON, YOLANDA           ADDRESS ON FILE
Febus Concepcion, Jackeline    ADDRESS ON FILE
FEBUS CRUZ, JULIO              ADDRESS ON FILE
Febus Davila, Betsy            ADDRESS ON FILE
FEBUS DAVILA, IRVING           ADDRESS ON FILE
FEBUS DAVILA, RAYMOND          ADDRESS ON FILE
FEBUS DE JESUS, EDGARDO        ADDRESS ON FILE
FEBUS DE JESUS, ROSELISA       ADDRESS ON FILE
FEBUS DIAZ, ABIGAIL            ADDRESS ON FILE
FEBUS DIAZ, CRYSTAL            ADDRESS ON FILE
FEBUS DIAZ, IRAIDA             ADDRESS ON FILE
FEBUS EMANUELLI, JOSE D.       ADDRESS ON FILE
FEBUS FEBUS, ISMAEL            ADDRESS ON FILE
FEBUS FEBUS, JUAN              ADDRESS ON FILE
FEBUS FELICIANO, ROBERTO       ADDRESS ON FILE
FEBUS FIGUEROA, JAVIER         ADDRESS ON FILE
FEBUS FIGUEROA, JUAN           ADDRESS ON FILE
                                                                                                            AVE. SAN PATRICIO
FEBUS GARCIA, CRUZ E.          LCDO. PEDRO J. SANTANA GONZÁLEZ, SIMONET SMIRAMAR PLAZA 101                  SUITE 1120                     GUAYNABO     PR      00968
FEBUS GARCIA, MAGALI           ADDRESS ON FILE
FEBUS GIERBOLINI, GUILLERMO    ADDRESS ON FILE
FEBUS GONZALEZ, LUIS           ADDRESS ON FILE
FEBUS GONZALEZ, MARIA          ADDRESS ON FILE
FEBUS HUERTAS, MARITZA         ADDRESS ON FILE
FEBUS HUERTAS, YOLANDA         ADDRESS ON FILE
FEBUS IRIZARRY, LUIS           ADDRESS ON FILE
Febus Irizarry, Luis F         ADDRESS ON FILE
FEBUS LAGOS, MICHAEL           ADDRESS ON FILE
FEBUS LOPEZ, EDDIE             ADDRESS ON FILE
FEBUS LOPEZ, LOUIS             ADDRESS ON FILE
FEBUS LOPEZ, YANIRA            ADDRESS ON FILE
FEBUS LUCIANO, MICHAEL         ADDRESS ON FILE
FEBUS MALDONADO, IVELISSE      ADDRESS ON FILE
FEBUS MARCANO, GLADYS          ADDRESS ON FILE
FEBUS MARCANO, LUIS            ADDRESS ON FILE
FEBUS MARRERO, ANGEL LUIS      ADDRESS ON FILE
FEBUS MARTINEZ, GIOVANNI G.    ADDRESS ON FILE
FEBUS MARTINEZ, JOSEPH G.      ADDRESS ON FILE
FEBUS MARTINEZ, YITZA H        ADDRESS ON FILE
FEBUS MATOS, YANIRA            ADDRESS ON FILE
FEBUS MERCADO, FERNANDO LUIS   ADDRESS ON FILE
FEBUS MOLINA, NORMARIE         ADDRESS ON FILE
Febus Montanez, Carlos J       ADDRESS ON FILE
FEBUS MONTANEZ, IVETTE         ADDRESS ON FILE
FEBUS MORALES, GASPAR          ADDRESS ON FILE
FEBUS NIEVES, JOEL             ADDRESS ON FILE




                                                                                             Page 2709 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2710 of 3500
                                                                            17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                Address1                  Address2                               Address3   Address4   City       State   PostalCode   Country
FEBUS NIEVES, YOLANDA        ADDRESS ON FILE
FEBUS OCASIO, BLANCA I       ADDRESS ON FILE
FEBUS OCASIO, CARMEN         ADDRESS ON FILE
FEBUS OCASIO, CARMEN M       ADDRESS ON FILE
FEBUS OCASIO, DAISY          ADDRESS ON FILE
FEBUS OCASIO, DAMARIS        ADDRESS ON FILE
FEBUS ORTEGA, ANTONIO        ADDRESS ON FILE
FEBUS ORTEGA, GISELLE M      ADDRESS ON FILE
FEBUS ORTEGA, VIVIANETTE     ADDRESS ON FILE
Febus Ortiz, Arsenio         ADDRESS ON FILE
FEBUS ORTIZ, CARMEN L        ADDRESS ON FILE
FEBUS ORTIZ, ELVIS A.        ADDRESS ON FILE
FEBUS ORTIZ, FELIX A         ADDRESS ON FILE
FEBUS ORTIZ, FRANCISCO       ADDRESS ON FILE
FEBUS ORTIZ, GILBERTO        ADDRESS ON FILE
FEBUS ORTIZ, IGNACIO R       ADDRESS ON FILE
FEBUS ORTIZ, JOSE            ADDRESS ON FILE
FEBUS ORTIZ, LUZ MARIA       ADDRESS ON FILE
FEBUS ORTIZ, MELISA          ADDRESS ON FILE
FEBUS ORTIZ, MELISSA         ADDRESS ON FILE
FEBUS ORTIZ, ROSA M          ADDRESS ON FILE
FEBUS ORTIZ, YERIKA          ADDRESS ON FILE
FEBUS ORTIZ, YERYLISA        ADDRESS ON FILE
FEBUS PACHECO, MIGDALIS      ADDRESS ON FILE
FEBUS PADILLA, JOSE M        ADDRESS ON FILE
FEBUS PAGAN, LUIS            ADDRESS ON FILE
FEBUS PAGAN, WANDA           ADDRESS ON FILE
FEBUS PEDRAZA, CARMEN M      ADDRESS ON FILE
FEBUS PEDRAZA, NITZA         ADDRESS ON FILE
FEBUS PEREZ, BEATRIZ         ADDRESS ON FILE
FEBUS PEREZ, BEATRIZ         ADDRESS ON FILE
Febus Pica, Gladys I         ADDRESS ON FILE
FEBUS PORTALATIN, MORAIMA    ADDRESS ON FILE
FEBUS RAMOS, ANTONIA         ADDRESS ON FILE
FEBUS RENTA, MAYRA           ADDRESS ON FILE
FEBUS RENTA, RAUL G          ADDRESS ON FILE
FEBUS RIVERA, CARMEN A       ADDRESS ON FILE
FEBUS RIVERA, FELIX          ADDRESS ON FILE
FEBUS RIVERA, JOSE ULISES    ADDRESS ON FILE
FEBUS RIVERA, VERONICA       ADDRESS ON FILE
FEBUS ROBLES, ANA L          ADDRESS ON FILE
FEBUS RODRIGUEZ, ANGEL       ADDRESS ON FILE
FEBUS RODRIGUEZ, CARMEN D.   ADDRESS ON FILE
FEBUS RODRIGUEZ, ERICK       ADDRESS ON FILE
FEBUS RODRIGUEZ, GILDREN     ADDRESS ON FILE
FEBUS RODRIGUEZ, JOSE        ADDRESS ON FILE
FEBUS RODRIGUEZ, MARIA DEL   ADDRESS ON FILE
FEBUS RODRIGUEZ, MARIA M     ADDRESS ON FILE
FEBUS RODRIGUEZ, SANDRA      ADDRESS ON FILE
FEBUS ROOFING CORP           BO CUCHARILLA             24 CALLE BUEN CONSEJO                                        CATANO     PR      00962
FEBUS ROQUE, MILAGROS        ADDRESS ON FILE
FEBUS ROSADO, EDWIN          ADDRESS ON FILE
FEBUS SANCHEZ, JULIO         ADDRESS ON FILE
FEBUS SANTIAGO, ELIJAH       ADDRESS ON FILE
FEBUS SANTIAGO, HECTOR R     ADDRESS ON FILE
FEBUS SANTIAGO, LUZ M        ADDRESS ON FILE
FEBUS SANTIAGO, MAYRA I      ADDRESS ON FILE
FEBUS SANTINI, ANGEL C.      ADDRESS ON FILE
FEBUS SANTINI, FRANCISCO R   ADDRESS ON FILE
FEBUS SANTOS, CARMEN         ADDRESS ON FILE




                                                                               Page 2710 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 2711 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                              Address2                                     Address3                  Address4   City             State   PostalCode   Country
FEBUS SEPULVEDA, CHARLIE                 ADDRESS ON FILE
FEBUS SOTO, JULISSA                      ADDRESS ON FILE
FEBUS SUAREZ, BRENDA M                   ADDRESS ON FILE
FEBUS SUAREZ, CARMEN M                   ADDRESS ON FILE
FEBUS TAPIA, JENNIFER                    ADDRESS ON FILE
FEBUS TORRES, ANA L                      ADDRESS ON FILE
Febus Torres, Felix                      ADDRESS ON FILE
FEBUS VAZQUEZ, CARLOS                    ADDRESS ON FILE
FEBUS VAZQUEZ, LENNYS                    ADDRESS ON FILE
FEBUS VAZQUEZ, MOISES                    ADDRESS ON FILE
FEBUS VAZQUEZ, RICKY                     ADDRESS ON FILE
FEBUS, RAUL                              ADDRESS ON FILE
FED CENTRAL TRAB CAP HACIENDA            DEPARTAMENTO DE HACIENDA              EDIFICIO INTENDENTE RAMIREZ                                                       SAN JUAN         PR      00902
FED CENTRAL TRAB CAP HACIENDA            PO BOX 11542                          CAPARRA HEIGHTS STATION                                                           SAN JUAN         PR      00922‐1542
FED DE MONTANISTAS P R / FRANKLIN MORENO HC 02 BOX 7503                                                                                                          CAMUY            PR      00627
FED DEL DEPORTE DE CABALLO PASO FINO P R PMB 1736                              243 CALLE PARIS                                                                   SAN JUAN         PR      00917‐3632
FED NACIONAL BALONCESTO EN SILLA RUEDAS P O BOX 12153                                                                                                            SAN JUAN         PR      00914‐2153
FED NACIONAL DE DOMINO PUERTO RICO INC HC 33 BOX 4466                                                                                                            DORADO           PR      00646
FED PNA DE JUDO JORGE L NEGRON           P O BOX 8                                                                                                               SAN JUAN         PR      00902
FED PUERT POLICIA Y TEC SEG              EDIFICIO INTENDENTE RAMIREZ           DEPARTAMENTO DE HACIENDA                                                          SAN JUAN         PR      00901
FED PUERTORRIQUENA DE TENIS DE MESA      AREA DE TESORO                        DIVISION DE RECLAMACIONES                                                         SAN JUAN         PR      00902‐4140
FED PUERTORRIQUENA DE TENIS DE MESA      PO BOX 1773                                                                                                             UTUADO           PR      00641
FED PUERTORRIQUENA DE TENIS DE MESA      URB SANTA ROSA                        22 CALLE 25 50                                                                    BAYAMON          PR      00959
FED. PUERT POLICIA TEC SEG               PO BOX 190684                                                                                                           SAN JUAN         PR      00919‐0684
FEDATO REYNOSO, RITA                     ADDRESS ON FILE
FEDEA PRANDY GALVEZ                      HC 2 BOX 4503                                                                                                           SABANA HOYOS     PR      00668
FEDELTA INSURANCE CORP                   PO BOX 195562                                                                                                           SAN JUAN         PR      00919‐5562
FEDERACION CENTRAL DE TRABAJADORES       PEDRO ROLDÁN CARRASQUILLO             SUITE 112‐225 100 GRAN BULEVAR PASEOS                                             SAN JUAN         PR      00926‐5955

Federación Central de Trabajadores (FCT)        Acevedo Zambrana, Luisa        PO Box 11542                                 Caparra Heights Station              San Juan         PR      00922‐1542
Federación Central de Trabajadores (FCT)        Acevedo Zambrana, Luisa        Urb. Hermanas Dávila #91 Ave. Betances                                            Bayamón          PR      00959
Federación Central de Trabajadores (FCT)‐Comisión Industrial de PR
Federación Central de Trabajadores (FCT)‐Compa Lloret, Andrés                  Urb. Hermanas Dávila                         91 Ave. Betancez                     Bayamón          PR      00957
FEDERACION DE AJEDREZ DE PR INC                 PO BOX 9023182                                                                                                   SAN JUAN         PR      00902‐3182
FEDERACION DE ALCALDES DE PR                    ANAIS SANCHEZ PEÑA             90 CANDELERO DR. APT 64                                                           HUMACAO          PR      00791‐7903
FEDERACION DE ALCALDES DE PR                    ANTONIO BAUZA TORRES           AVE MUÑOZ RIVERA CONDOMINIO LEHMANS STE. 402                                      HATO REY         PR      00918
FEDERACION DE ALCALDES DE PR                    ANTONIO J. FAS PACHECO         PO BOX 1098                                                                       CABO ROJO        PR      00623
FEDERACION DE ALCALDES DE PR                    ARNALDO IRIZARRY IRIZARRY      112 CALLE DR. VEVE STE                                                            SAN GERMAN       PR      00683
FEDERACION DE ALCALDES DE PR                    EDGARDO R. GIMENEZ CALDERÍN    PO BOX 8765                                                                       SAN JUAN         PR      00910
FEDERACION DE ALCALDES DE PR                    EDWIN A. AVILES PÉREZ          PO BOX 6255                                                                       MAYAGUEZ         PR      00680
                                                                                                                     1606 AVE Ponce DE
FEDERACION DE ALCALDES DE PR                EILEEN LANDRON GUARDIOLA           EDIFICIO JULIO BOGOROCIN STE. 501     LEON                                        SAN JUAN         PR      00909
FEDERACION DE ALCALDES DE PR                FERNANDO SEPULVEDA SILVA           PO BOX 202                                                                        CABO ROJO        PR      00623
FEDERACION DE ALCALDES DE PR                GERARDO CRUZ MALDONADO             PO BOX 51 CEIBA                                                                   CEIBA            PR      00735
FEDERACION DE ALCALDES DE PR                JORGE E. RIVERA BENIQUEZ           105 AVE. ROOSVELT APT. 602                                                        SAN JUAN         PR      00917
FEDERACION DE ALCALDES DE PR                JOSE MARTINEZ CUSTODIO             PO BOX 599                                                                        UTUADO           PR      00641‐0599
FEDERACION DE ALCALDES DE PR                JUAN ANGEL SANTOS BERRIOS          PO BOX 9102                                                                       HUMACAO          PR      00792
FEDERACION DE ALCALDES DE PR                JUAN APONTE CASTRO                 JUANA DIAZ                                                                        JUANA DIAZ       PR      00795
FEDERACION DE ALCALDES DE PR                JULIO A GONZALEZ FIGUEROA          PMB 637 138 AVE WINSTON CHURCHILL                                                 SAN JUAN         PR      00926‐6023
FEDERACION DE ALCALDES DE PR                KEVIN A. DEYNES ROMERO             PO BOX 852                                                                        SALINAS          PR      00751
FEDERACION DE ALCALDES DE PR                LCDA. MYRNA ORTIZ                  PO BOX 364                                                                        LAS PIERDRAS     PR      00771
FEDERACION DE ALCALDES DE PR                LCDO. ALEJANDRO SALGADO RIVERA     PO BOX 201                                                                        ARROYO           PR      00714
FEDERACION DE ALCALDES DE PR                LCDO. LUIS A. ORTIZ CARRASQUILLO   PO BOX 458                                                                        YABUCOA          PR      00767‐0458
                                                                                                                     APT. 7B AVE. SAN
FEDERACION DE ALCALDES DE PR                LUIS E. MELENDEZ CINTRON           MANSIONES LOS CAOBOS                  PATRICIO J6                                 GUAYNABO         PR      00968
FEDERACION DE ALCALDES DE PR                MARIA DEL CARMEN GITANY ALONSO     PO BOX 3898                                                                       MAYAGUEZ         PR      00681‐3898
FEDERACION DE ALCALDES DE PR                MUNICIPIO AUTONOMO DE HUMACAO      PO BOX 178                                                                        HUMACAO          PR      00792
FEDERACION DE ALCALDES DE PR                PEDRO E. ORTIZ ALVAREZ             PO BOX 9009                                                                       Ponce            PR      00732‐9009
FEDERACION DE ALCALDES DE PR                RAFAEL PEREZ ABREU DELGADO         REPARTO MARQUES C‐2 CALLE 4                                                       ARECIBO          PR      00612‐915
FEDERACION DE ALCALDES DE PR                RAUL I GRAJALES GARCIA             PO BOX 16371                                                                      SAN JUAN         PR      00908‐6371




                                                                                                             Page 2711 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                                                             Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 2712 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                                                            Creditor Matrix

Creditor Name                                  Address1                                   Address2                                       Address3                 Address4   City              State   PostalCode   Country
FEDERACION DE ALCALDES DE PR                   RICARDO M. PRIETO GARCIA                   6 CALLE CELIS AGUILERA                         201ª                                FAJARDO           PR      00738
FEDERACION DE ALCALDES DE PR                   SAMUEL GONZALEZ GONZALEZ                   QPO BOX 1785 RIO GRANDE                                                            SAN LORENZO       PR      00754‐0258
FEDERACION DE ALCALDES DE PR                   VANESSA Y JIMENEZ CUEVAS                   SUMMIT HILLS 569 HILL SIDE ST                                                      SAN JUAN          PR      00920‐4353
FEDERACION DE ALCALDES DE PR                   WANDA CRUZ PACHECO                         AVILES, CRUZ & ASOCIADOS                       P. O. BOX 6255                      MAYAGÜEZ          PR      00681‐6255
FEDERACION DE ARBITROS BALONCESTO              CAPITULO DE CAGUAS                         P.O. BOX 4952                                  SUITE 292                           CAGUAS            PR      00726‐4952
FEDERACION DE ARBITROS BALONCESTO DE PR CAPITULO DE PONCE                                 PO BOX 7828                                                                        PONCE             PR      00732
FEDERACION DE BALONCESTO DE PR                 JARDINES DE CAPARRAS                       3 AVE RUIZ SOLER                                                                   BAYAMON           PR      00959
FEDERACION DE BALONCESTO DE PR                 PO BOX 363947                                                                                                                 SAN JUAN          PR      00936‐3947
FEDERACION DE BALONCESTO SUPERIOR DE PR JARDINES DE CAPARRAS                              3 AVE RUIZ SOLER                                                                   BAYAMON           PR      00959
FEDERACION DE BALONCESTO SUPERIOR DE PR PO BOX 224                                                                                                                           COAMO             PR      00769
FEDERACION DE BALONCESTO SUPERIOR DE PR PO BOX 363947                                                                                                                        SAN JUAN          PR      00936‐3947
FEDERACION DE BALONCESTO SUPERIOR DE PR PO BOX 3947                                                                                                                          SAN JUAN          PR      00936
FEDERACION DE BOLOS DE P R INC                 ADDRESS ON FILE
Federación de Camioneros de Guaynabo           Machuca, Isaías                            PO Box 3518                                                                        Guaynabo          PR      00970
FEDERACION DE CICLISMO DE PR INC               PO BOX 194674                                                                                                                 SAN JUAN          PR      00919‐4674
FEDERACION DE CICLISMO DE PR INC               PO BOX 9020342                                                                                                                SAN JUAN          PR      00902‐0342
FEDERACION DE DOMINO DE PR INC                 HC 02 BOX 16520                                                                                                               ARECIBO           PR      00612‐9042
Federación de Empleados Gerenciales de la ASEMCortés Fernández, Angel R.                  RR 5 Box 8729                                  Sector Los Acevedos                 Bayamón           PR      00956
Federación de Empleados Gerenciales y ProfesionMarrero, Awilda                            Urb. El Cerezal                                1701 Calle Orinoco                  San Juan          PR      00926
FEDERACION DE FISICOCULTURISMO Y FITNESS PO BOX 4424                                                                                                                         CAROLINA          PR      00784
FEDERACION DE LUCHAS ASOC DE PR INC            URB CAPARRA TERRACE                        1530 CALLE 30 SO                                                                   SAN JUAN          PR      00921
FEDERACION DE MAESTROS DE PR                   EDIFICIO PLAN DE SALUD DE LA FMPR CALLE NAVARRO #6                                                                            HATO REY          PR      00918

Federación de Maestros de Puerto Rico          Martínez Padilla, Mercedes                 Urb El Caribe                                  1572 Ave Ponce de León              San Juan          PR      00926‐2710
FEDERACION DE MUNICIPIOS DE PR                 CAPITAL CENTER BUILDING                    PO BOX 805                                                                         SAN JUAN          PR      00918‐0805
Federación de Oficiales de Custodia de PR      Vega, Adalberto                            Edif La Electrónica Ste 326                    1608 Calle Bori                     San Juan          PR      00927
FEDERACION DE POWERLIFTINEZ DE PR INC          PO BOX 3485                                                                                                                   MAYAGUEZ          PR      00681
FEDERACION DE REMO DE PR INC                   VILLAS DE CUPEY                            C7 ZENOBIA                                                                         SAN JUAN          PR      00926
FEDERACION DE SALVAVIDAS DE PUERTO RICO PO BOX 55336 STA 1                                                                                                                   BAYAMON           PR      00960
FEDERACION DE SOFTBOL DE P R INC               PMB 116                                    PO BOX 7891                                                                        GUAYNABO          PR      00970‐7891
FEDERACION DE TAEKWONDO DE PUERTO RICO PMB 294                                            PO BOX 607061                                                                      BAYAMON           PR      00960
Federación de Trabajadores de la Empresa PrivadVillalba Rodríguez, Víctor M.              Urb Puerto Nuevo                               1214 Calle Cádiz                    San Juan          PR      00920
Federación de Trabajadores de Puerto Rico (FTPRRodríguez Baéz, José M.                    PO Box 16989                                                                       San Juan          PR      00910‐1689
Federación de Trabajadores de Puerto Rico (FTPRRodríguez Baéz, José M.                    1704 Ave. Ponce de León                        Ste. 201                            Santurce          PR      00909‐1951
FEDERACION DE VELA DE P R INC                  B 28 URB LA COLINA                                                                                                            GUAYNABO          PR      00969
FEDERACION DIRECTOR LOCALES                    AREA DEL TESORO                            PAGADURIA                                                                          SAN JUAN          PR      00902
FEDERACION DIRECTOR LOCALES                    CARR 190 3100 SUIT 201                                                                                                        CAROLINA          PR      00983
Federación Laborista Recinto de Mayaguez       Echevarria Moreno, Daniel                  Bo Miradero                                    804 Carr 108                        Mayagüez          PR      00680
FEDERACION LEGISLADORES MUNICIPALES PR P O BOX 367123                                                                                                                        SAN JUAN          PR      00936‐7123
FEDERACION PTORRIQUENA CLUB Y NEG PROF P O BOX 194643                                                                                                                        SAN JUAN          PR      00919‐4643
FEDERACION PTORRIQUENA DEPORTE ECUESTE PO BOX 363206                                                                                                                         SAN JUAN          PR      00902
FEDERACION PUERT DE KARATE Y ARTES             MARCIALES AFINES FEPUKA CORP               PO BOX 1844                                                                        AIBONITO          PR      00705
FEDERACION PUERTORIQUENA DE JUDO INC           PO BOX 9020008                                                                                                                SAN JUAN          PR      00902‐0008
FEDERACION PUERTORIQUENA DE JUDO INC           PO BOX 9300063                                                                                                                SAN JUAN          PR      00930
FEDERACION PUERTORIQUENA DE NATACION INCPO BOX 361249                                                                                                                        SAN JUAN          PR      00936‐1249
FEDERACION PUERTORRIQUENA BADMINTON IN SAN GERARDO                                        1738 DALLAS                                                                        SAN JUAN          PR      00926
FEDERACION PUERTORRIQUENA DE                   DEPORTISTAS CIEGOS                         URB INTERAMERICANA                             AN 1 CALLE 29                       TRUJILLO ALTO     PR      00976
FEDERACION PUERTORRIQUENA DE BALONMANOINC                                                 PO BOX 138                                                                         RIO GRANDE        PR      00745
FEDERACION PUERTORRIQUENA DE BOXEO INC PO BOX 9020396                                                                                                                        SAN JUAN          PR      00902‐0396
FEDERACION PUERTORRIQUENA DE CANOTAJE INPO BOX 9020008                                                                                                                       SAN JUAN          PR      00902‐0008
FEDERACION PUERTORRIQUENA DE FUTBOL            P O BOX 360556                                                                                                                SAN JUAN          PR      00936‐0556
FEDERACION PUERTORRIQUENA DE GIMNASIA ADDRESS ON FILE
FEDERACION PUERTORRIQUENA DE GIMNASIA ADDRESS ON FILE
FEDERACION PUERTORRIQUENA DE GIMNASIA ADDRESS ON FILE
FEDERACION PUERTORRIQUENA DE GIMNASIA ADDRESS ON FILE
FEDERACION PUERTORRIQUENA DE HOCKEY            418 CALLE SUIZA APT 203                                                                                                       SAN JUAN          PR      00917‐3621
FEDERACION PUERTORRIQUENA DE JUDO              PO BOX 9020008                                                                                                                SAN JUAN          PR      00902‐0008
FEDERACION PUERTORRIQUENA DE POLICIAS          AREA DEL TESORO                            DIV DE RECLAMACIONES                                                               SAN JUAN          PR      00902
FEDERACION PUERTORRIQUENA DE POLICIAS          PO BOX 190684                                                                                                                 SAN JUAN          PR      00919 0684
Federación Puertorriqueña de Policías (FPP)    Echevarría Hernández, Nelson               PO Box 190684                                                                      San Juan          PR      00936




                                                                                                                          Page 2712 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                                Exhibit A-1 - Creditor     Matrix
                                                                                     Case No.              Page 2713 of 3500
                                                                                              17 BK 3283‐LTS
                                                                                                                             Creditor Matrix

Creditor Name                                  Address1                                         Address2                                  Address3             Address4   City                 State   PostalCode   Country
Federación Puertorriqueña de Policías (FPP)    Echevarría Hernández, Nelson                     Urb El Paraiso                            114 Calle Amazonas              Río Piedras          PR      00926‐2809
Federación Puertorriqueña de Trabajadores (FPT)Ufarry, Edward                                   Urb Puerto Nuevo                          516 Calle Dresde                San Juan             PR      00920
FEDERACION PUERTORRIQUENA DE VOLEIBOL PO BOX 363711                                                                                                                       SAN JUAN             PR      00936‐3711
FEDERACION PUERTORRIQUENA DE VOLEIBOL URB SAN FRANCISCO                                         4 AVE DE DIEGO                                                            SAN JUAN             PR      00927
FEDERACION PUERTORRIQUENA DETRABAJADORPUERTO NUEVO                                              516 CALLE DRESDE                                                          SAN JUAN             PR      00920
FEDERACION SERVIDORES PUBLICOS                 PROFESIONALES DE PR INC                          PO BOX 11542                                                              SAN JUAN             PR      00922‐1542
FEDERACION TUJAN SPORT INC                     PO BOX 1154                                                                                                                LAS PIEDRAS          PR      00771
FEDERAL AVIATION ADMINISTRATION                500 CARR 190                                                                                                               CAROLINA             PR      00979
FEDERAL BUREAU OF PRISONS                      320 FIRST ST NW ROMM 5009                                                                                                  WASHINGTON D C       DC      20534
FEDERAL BUREAU OF PRISONS                      810 7 TH STREET N W 5 TH FLOOR                                                                                             WASHINGTON           DC      20531
FEDERAL BUREAU OF PRISONS                      AREA DEL TESORO                                  DIVISION DE RECLAMACIONES                                                 SAN JUAN             PR      00902‐4140
FEDERAL BUREAU OF PRISONS                      TECH WORLD BLDG                                  ROOM 404 500 C ST NW                                                      WASHINGTON           DC      20472
Federal Communications Commission (FCC)        Ajit Pai                                         445 12th St., SW                                                          Washington           DC      20554
Federal Communications Commission (FCC)        Attn: Ajit Pai                                   445 12th St., SW                                                          Washington           DC      20554
FEDERAL CORRECTIONAL INSTITUTION FCI           PO BOX 3933                                                                                                                PENSACOLA            FL      32516
FEDERAL DEPOSIT INSURANCE CORPORATION 1601 BRYAN ST                                                                                                                       DALLAS               TX      75201
FEDERAL DEPOSIT INSURANCE CORPORATION 1910 PACIFIC AVE                                                                                                                    DALLAS               TX      75201
FEDERAL DEPOSIT INSURANCE CORPORATION PO BOX 130235                                                                                                                       DALLAS               TX      75313‐0235
Federal Emergency Management Agency (FEMA) Attn: Bob Fenton                                     500 C St., SW                                                             Washington           DC      20472
Federal Emergency Management Agency (FEMA) Bob Fenton                                           500 C St., SW                                                             Washington           DC      20472
FEDERAL EMERGENCY MANAGEMENT‐FEMA              PO BOX 530217                                                                                                              ATLANTA              GA      30353‐0217
FEDERAL EMERGENCY MANAGEMENT‐FEMA              PO BOX 70941                                                                                                               CHARLOTTE            NC      28272‐0941
FEDERAL EXPRESS                                AREA DEL TESORO                                  DIVISION DE RECLAMACIONES                                                 SAN JUAN             PR      00902‐4140
FEDERAL EXPRESS CORP.                          # 13773123‐1                                     PO BOX 332                                                                MEMPHIS              IN      38194‐4721
FEDERAL FIRE SERVICES                          7276 AVE AGUADILLA                                                                                                         ISABELA              PR      00662
FEDERAL INDUSTRIES INC                         PMB 113                                          HC 1 BOX 29030                                                            CAGUAS               PR      00725‐8900
Federal Insurance Company                      15 Mountainview Rd                                                                                                         Warren               NJ      07059‐6711
Federal Insurance Company                      Attn: Kathleen Castano, Regulatory Compliance G202B Hall's Mill Road                                                       Whitehouse Station   NJ      08889
Federal Insurance Company                      Attn: Ron Calavano, Annual Statement             202B Hall's Mill Road                                                     Whitehouse Station   NJ      08889
Federal Insurance Company                      Attn: Thomas Ganter, Vice President              202B Hall's Mill Road                                                     Whitehouse Station   NJ      08889
Federal Insurance Company                      c/o Benitez Insurance Agency, Agent for Service o202B Hall's Mill Road                                                     Whitehouse Station   NJ      08889
FEDERAL LAW ENFORCEMENT TRAINING CENTER 1131 CHAPEL CROSSING RD                                                                                                           GLYNCO               GA      31524
FEDERAL LAW ENFORCEMENT TRAINING CTER DEPARTMENT OF HOMELAND SECURITY                           1131 CHAPEL CROSSING RD FINANCE 66                                        GLYNCO               GA      31524
FEDERAL MOGUL CORP                             1600 NORTHPARK                                                                                                             WESTON               FL      33326
FEDERAL MOTOR CARRIER SAFETY ADM               1200 NEW JERSEY AVE SE                           WEST WING 6TJ FLOOR                                                       WASHINGTON           DC      20590
FEDERAL MOTOR CARRIER SAFETY ADM               AREA DEL TESORO                                  DIVISION DE RECLAMACIONES                                                 SAN JUAN             PR      00902‐4140
FEDERAL PROBATION OFFICE                       FEDERAL BLDG                                     150 AVE CHARDON STE 400                                                   SAN JUAN             PR      00918‐1741
FEDERAL PROTECTIVE ADVISOR                     P O BOX 456                                                                                                                MERCEDITA            PR      00715
FEDERAL TRAVEL REPORT                          8230 LESSBURG PIKE                                                                                                         VIENA                VA      220182
Federal Warranty Service Corporation           28 Liberty Street                                                                                                          New York             NY      10005
Federal Warranty Service Corporation           Attn: Jeff Unterreiner, President                260 Interstate North Circle, SE                                           Atlanta              GA      30339
Federal Warranty Service Corporation           Attn: Keith Meier, President                     260 Interstate North Circle, SE                                           Atlanta              GA      30339
FEDERATION OF STATE MASSAGE                    7111 W. 151ST STREET, SUITE 356                                                                                            OVERLAND PARK        KS      66223
FEDERATION OF TAX ADMINISTRATORS               444 N CAPITOL STREET                             NW STE 348                                                                WASHINGTON           DC      20001
FEDERICK BETANCOURT RODRIGUEZ                  ADDRESS ON FILE
FEDERICK N SCHELLHORN ROSARIO                  ADDRESS ON FILE
FEDERICO A RIVERA Y LUIS A RIVERA              ADDRESS ON FILE
FEDERICO ARROYO VARGAS                         ADDRESS ON FILE
FEDERICO AYALA TORRES                          ADDRESS ON FILE
FEDERICO BAUZO HERNANDEZ                       ADDRESS ON FILE
FEDERICO BORRERO QUINONES                      ADDRESS ON FILE
FEDERICO BRAVO SANTIAGO                        ADDRESS ON FILE
FEDERICO CARDONA FIRPI                         ADDRESS ON FILE
FEDERICO COLON ZAYAS                           ADDRESS ON FILE
FEDERICO CORREA LEON                           ADDRESS ON FILE
FEDERICO DEL RIO VAZQUEZ                       ADDRESS ON FILE
FEDERICO DIAZ LAMBERTY                         ADDRESS ON FILE
FEDERICO FUENTES MOLINA                        ADDRESS ON FILE
FEDERICO GARCIA BRAVO/ VIP ENERGY              ADDRESS ON FILE
FEDERICO HERNANDEZ COLON                       ADDRESS ON FILE




                                                                                                                           Page 2713 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2714 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                              Address1                        Address2                                Address3   Address4   City           State   PostalCode   Country
FEDERICO IRIZARRY ANDUJAR DBA BRUSH DIST   CALLE VALENCIA # 176 VISTAMAR                                                                 CAROLINA       PR      00983‐0000
FEDERICO J BOLIVAR VILLAMIL                ADDRESS ON FILE
FEDERICO J GREGORY GONZALEZ                ADDRESS ON FILE
FEDERICO J SANCHEZ ORTIZ                   ADDRESS ON FILE
FEDERICO LOPEZ VILLAFANE                   ADDRESS ON FILE
FEDERICO MALDONADO BARRETO                 ADDRESS ON FILE
FEDERICO MALDONADO ENCARNACION             ADDRESS ON FILE
FEDERICO MARANGES                          ADDRESS ON FILE
FEDERICO MATHEU RODRIGUEZ                  ADDRESS ON FILE
FEDERICO PACHECO SIERRA                    ADDRESS ON FILE
FEDERICO PACHECO SIERRA                    ADDRESS ON FILE
FEDERICO PELLOT                            ADDRESS ON FILE
FEDERICO PEREZ RODRIGUEZ                   ADDRESS ON FILE
FEDERICO PEREZ SOTO                        ADDRESS ON FILE
FEDERICO PUIG CASERO                       ADDRESS ON FILE
FEDERICO R HERNANDEZ PICO                  ADDRESS ON FILE
FEDERICO RIVERA VIDAL                      ADDRESS ON FILE
FEDERICO RODRIGUEZ LOPEZ                   ADDRESS ON FILE
FEDERICO RODRIGUEZ VARGAS                  ADDRESS ON FILE
FEDERICO ROJAS MONDINI                     ADDRESS ON FILE
FEDERICO ROSA VELDEZ Y ROSELY PEREZ        ADDRESS ON FILE
FEDERICO ROSARIO ESTRADA                   ADDRESS ON FILE
FEDERICO STUBBE GONZALEZ                   ADDRESS ON FILE
FEDERICO TORRES FERNANDEZ                  ADDRESS ON FILE
FEDERICO TORRES FERNANDEZ                  ADDRESS ON FILE
FEDERICO TORRES MEDINA                     ADDRESS ON FILE
FEDERICO TURBI MALENA                      ADDRESS ON FILE
FEDERICO VAZQUEZ ALEQUIN                   ADDRESS ON FILE
FEDERICO VEGUILLA APONTE                   ADDRESS ON FILE
FEDEX                                      PO BOX 371461                                                                                 PITTSBURGH     PA      15250‐7461
FEDEX CORPORATION                          1790 KIRBY PARKWAY STE 400                                                                    MEMPHIS        TN      38138
FEDLOAN/ US DEPARTMENT OF EDUCATION        AREA DEL TESORO                 DIV DE RECLAMACIONES                                          SAN JUAN       PR      00902‐4140
FEDLOAN/ US DEPARTMENT OF EDUCATION        P O BOX 4140                                                                                  GREENVILLE     TX      75403
FEDLOAN/ US DEPARTMENT OF EDUCATION        P O BOX 4142                                                                                  GREENVILLE     TX      75403‐4142
FEDLOAN/ US DEPARTMENT OF EDUCATION        PO BOX 36008                                                                                  KNOXVILLE      TN      37930‐6008
FEDLOAN/ US DEPARTMENT OF EDUCATION        PO BOX 530210                                                                                 ATLANTA        GA      30353‐0210
FEDMEDICAL CARE                            100 CARR 165                    SUITE C 106                                                   GUAYNABO       PR      00968
FEHIDALYS CARTAGENA FELICIANO              ADDRESS ON FILE
FEI PROD DISTRIBUTORS BY PARAGARD DIRECT   3101 GAYLORD PKWY                                                                             FRISCO         TX      75034
FEIJOO MARRERO, AILEEM E.                  ADDRESS ON FILE
FEIJOO MARRERO, AILEEM E.                  ADDRESS ON FILE
FEIJOO MARRERO, EDWIN F                    ADDRESS ON FILE
FEIJOO MARRERO, LIZBETH                    ADDRESS ON FILE
FEIJOO NIEVES, CELIA R.                    ADDRESS ON FILE
FEIJOO ORTIZ, NEREIDA                      ADDRESS ON FILE
FEIJOO ORTIZ, TERESA                       ADDRESS ON FILE
FEIJOO TIRADO, JOSUE                       ADDRESS ON FILE
Feijoo Tirado, Josue E                     ADDRESS ON FILE
FEIJOO TIRADO, JOSUE E                     ADDRESS ON FILE
FEIJOO TIRADO, ROBERTO A                   ADDRESS ON FILE
FEIJOO TORRES, EDWIN                       ADDRESS ON FILE
FEIJOO ZORRILLA, JOSE F.                   ADDRESS ON FILE
FEIRIS SOTO SANTIAGO                       ADDRESS ON FILE
FEJ CARIBE PAINT CORP                      BO RIO CANAS KM 27 4                                                                          CAGUAS         PR      00726
FEJ CARIBE PAINT CORP                      P O BOX 8757                                                                                  CAGUAS         PR      00926‐0000
FEJ CARIBE PAINT CORP                      PMB 34 HC 01 BOX 29030                                                                        CAGUAS         PR      00725‐8900
FEJ CARIBE PAINTS CORP                     PO BOX 8757                     BO RIO CAAS KM 27 HM4                                         CACUAS         PR      00726
FEJ CARIBE PAINTS CORP                     PO BOX 8757                     BO RIO CAÄAS KM 27 HM4                                        ACUAS          PR      00726‐0000
FEJED QUIJANO, ESTHER                      ADDRESS ON FILE
FEJGIELMAN LEVY, FEDERICO                  ADDRESS ON FILE




                                                                                                    Page 2714 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2715 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                     Address2                                Address3   Address4   City         State   PostalCode   Country
FELCOM AUTOMOTIVE INC                  P O BOX 3022                                                                               MAYAGUEZ     PR      00681‐3022
FELCON AUTO RETAIL, INC                PO BOX 3223                                                                                ARECIBO      PR      00613
FELCON AUTOMOTIVE INC                  PO BOX 3022 MARINA STATION                                                                 MAYAGUEZ     PR      00681‐3022
FELCON AUTOMOTIVE INC DBA MAYAGUEZ FORDPO BOX 3022                                                                                MAYAGUEZ     PR      00681
FELDMAN & SHEPHERD                     TRIB SUP DE NEW JERSEY                                                                     MERCER       NJ      00902
FELDMAN SOLER, ALANA                   ADDRESS ON FILE
FELDSTEIN DEL VALLE, JOSEPH G.         ADDRESS ON FILE
FELI VAZQUEZ MAISONET                  ADDRESS ON FILE
FELIACIANO GARCIA, DIANA V.            ADDRESS ON FILE
FELIBERTI ALDEBOL MD, NORMA            ADDRESS ON FILE
FELIBERTI CINTRON, ROBERTO             ADDRESS ON FILE
FELIBERTI IRIZARRY MD, ALICIA G        ADDRESS ON FILE
FELIBERTI LOPEZ, MARIA                 ADDRESS ON FILE
FELIBERTI MEDINA, DENNIS               ADDRESS ON FILE
FELIBERTO ASENCIO TORRES               ADDRESS ON FILE
FELIBERTO MALDONADO LOPEZ              ADDRESS ON FILE
FELIBERTO RODRIGUEZ SANTANA            ADDRESS ON FILE
FELIBERTO SANCHEZ MIRANDA              ADDRESS ON FILE
FELIBERTO VARGAS                       ADDRESS ON FILE
FELIBERTY ACEVEDO, JOSE                ADDRESS ON FILE
FELIBERTY ACOSTA, ANA                  ADDRESS ON FILE
FELIBERTY CASIANO, JESUS I.            ADDRESS ON FILE
FELIBERTY DE JESUS, ALMA               ADDRESS ON FILE
FELIBERTY FELIBERTI, VICENTA N         ADDRESS ON FILE
FELIBERTY GONZALEZ, EVELYN             ADDRESS ON FILE
Feliberty Gonzalez, Nestor             ADDRESS ON FILE
FELIBERTY IRIZARRY, BETSY E            ADDRESS ON FILE
FELIBERTY IRIZARRY, GIAN               ADDRESS ON FILE
FELIBERTY LOPEZ, ANGEL J               ADDRESS ON FILE
FELIBERTY MONTALVO, JOSE               ADDRESS ON FILE
FELIBERTY MORALES, EVELYN              ADDRESS ON FILE
FELIBERTY MORALES, WILFREDO            ADDRESS ON FILE
FELIBERTY NAVARRO, MINGYAR             ADDRESS ON FILE
FELIBERTY NUNEZ, CHARLIE               ADDRESS ON FILE
FELIBERTY NUNEZ, JUANITO               ADDRESS ON FILE
FELIBERTY NUNEZ, NOEL                  ADDRESS ON FILE
FELIBERTY ORTIZ, PEDRO                 ADDRESS ON FILE
FELIBERTY ORTIZ, PEDRO J               ADDRESS ON FILE
FELIBERTY ORTIZ, RENE O                ADDRESS ON FILE
FELIBERTY RIOS, NELIDA                 ADDRESS ON FILE
FELIBERTY RODRIGUEZ, AMARILYS          ADDRESS ON FILE
FELIBERTY RODRIGUEZ, ZAIRA             ADDRESS ON FILE
FELIBERTY RUIZ, ANNETTE                ADDRESS ON FILE
FELIBERTY RUIZ, ANNETTE                ADDRESS ON FILE
FELIBERTY RUIZ, JANNETTE               ADDRESS ON FILE
FELIBERTY SANCHEZ, LUIS M.             ADDRESS ON FILE
FELIBERTY TORRES, MONSERRATE           ADDRESS ON FILE
FELICANO COLON, ANGEL L                ADDRESS ON FILE
FELICE ROMAN, VERONICA B               ADDRESS ON FILE
FELICES VARGAS, JORGE                  ADDRESS ON FILE
FELICI GIOVANINI, MARCOS               ADDRESS ON FILE
FELICI GIOVANINI, MARCOS E.            ADDRESS ON FILE
FELICIA A ZAPATA CEBALLO               ADDRESS ON FILE
FELICIA AVILES RIVERA                  ADDRESS ON FILE
FELICIA DURAN REMIGIO                  ADDRESS ON FILE
FELICIA GUERRERO MARTE                 ADDRESS ON FILE
FELICIA GUERRERO MARTE                 ADDRESS ON FILE
FELICIA HILRALDO SILVERIO V ELA        AGNES I. POVENTUD            171 C/ CHARDON STE 102                                        SAN JUAN     PR      00920
FELICIA REYES PEREZ                    ADDRESS ON FILE
FELICIA SANTANA RIVERA                 ADDRESS ON FILE




                                                                                             Page 2715 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2716 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                      Address1                                Address2                                  Address3        Address4   City         State   PostalCode   Country
FELICIA SANTANA RIVERA             ADDRESS ON FILE
FELICIANA REYES MORALES, ET ALS.   LCDA. OLGA ALVAREZ GONZÁLEZ(ABOGADA ASEGPO BOX 70244                                                         SAN JUAN     PR      00936‐8244
                                                                                                                     54 RESOLUCION
FELICIANA REYES MORALES, ET ALS.   LCDO. RICARDO J,. CACHO RODRÍGUEZ       EDIFICIO COOPERATIVA DE AHORRO Y CREDITO MOFICINA 303                SAN JUAN     PR      00920
FELICIANIO IRIZARRY, MIGDALIA      ADDRESS ON FILE
FELICIANO ABBARRAN, ELIZABETH      ADDRESS ON FILE
FELICIANO ACEVEDO MD, WILKINS      ADDRESS ON FILE
FELICIANO ACEVEDO, ADA L           ADDRESS ON FILE
FELICIANO ACEVEDO, ALFREDO         ADDRESS ON FILE
FELICIANO ACEVEDO, DAISY           ADDRESS ON FILE
FELICIANO ACEVEDO, FRANCISCO       ADDRESS ON FILE
FELICIANO ACEVEDO, JUAN            ADDRESS ON FILE
FELICIANO ACEVEDO, LUIS D.         ADDRESS ON FILE
FELICIANO ACEVEDO, LUZ             ADDRESS ON FILE
FELICIANO ACEVEDO, MARIA I         ADDRESS ON FILE
FELICIANO ACEVEDO, MARIA M         ADDRESS ON FILE
FELICIANO ACEVEDO, MARITZA         ADDRESS ON FILE
Feliciano Acevedo, Martin          ADDRESS ON FILE
FELICIANO ACEVEDO, MIGUEL A.       ADDRESS ON FILE
FELICIANO ACEVEDO, NEREIDA         ADDRESS ON FILE
FELICIANO ACEVEDO, OLGA            ADDRESS ON FILE
FELICIANO ACEVEDO, PEDRO           ADDRESS ON FILE
FELICIANO ACEVEDO, REINALDA        ADDRESS ON FILE
FELICIANO ACEVEDO, WILKINS         ADDRESS ON FILE
FELICIANO ACEVEDO, XAVIER          ADDRESS ON FILE
FELICIANO ACEVEDO, YAHAIRA         ADDRESS ON FILE
FELICIANO ACEVEDO, YAMIRIS         ADDRESS ON FILE
FELICIANO ACEVEDO, YVONNE          ADDRESS ON FILE
FELICIANO ACOSTA, CARLOS J         ADDRESS ON FILE
FELICIANO ACOSTA, DUVEL A          ADDRESS ON FILE
FELICIANO ACOSTA, JESSICA          ADDRESS ON FILE
FELICIANO ACOSTA, JOHN             ADDRESS ON FILE
FELICIANO ACOSTA, LORRAINE         ADDRESS ON FILE
FELICIANO ACOSTA, LOURDES          ADDRESS ON FILE
FELICIANO ADAMES, JOSE             ADDRESS ON FILE
FELICIANO ADORNO, ADELA            ADDRESS ON FILE
FELICIANO ADORNO, BENJAMIN         ADDRESS ON FILE
Feliciano Adorno, Norbert A        ADDRESS ON FILE
FELICIANO ADRIAN, IVINIEL          ADDRESS ON FILE
FELICIANO AGOSTO, ANAIDA           ADDRESS ON FILE
FELICIANO AGOSTO, AWILDA           ADDRESS ON FILE
FELICIANO AGOSTO, ELVIN            ADDRESS ON FILE
FELICIANO AGOSTO, VICTOR M         ADDRESS ON FILE
FELICIANO AGUAYO, ANGEL            ADDRESS ON FILE
FELICIANO AGUIAR, CARMEN L         ADDRESS ON FILE
FELICIANO AGUIAR, RAFAEL A.        ADDRESS ON FILE
FELICIANO AGUIAR, RAFAEL A.        ADDRESS ON FILE
FELICIANO AGUIAR, RAFAEL E         ADDRESS ON FILE
FELICIANO AGUILA, ROBERTO          ADDRESS ON FILE
FELICIANO AGUILAR, ILEANA          ADDRESS ON FILE
Feliciano Aguilar, Rafael          ADDRESS ON FILE
FELICIANO ALBARRAN, ONELIA         ADDRESS ON FILE
FELICIANO ALBARRAN, ONELIA         ADDRESS ON FILE
FELICIANO ALBINO, RAMON C.         ADDRESS ON FILE
FELICIANO ALBINO, RIGOBERTO        ADDRESS ON FILE
FELICIANO ALBINO, ROSA             ADDRESS ON FILE
FELICIANO ALGARIN, AIDA L          ADDRESS ON FILE
FELICIANO ALGARIN, BRENDA L        ADDRESS ON FILE
FELICIANO ALICEA, ALENAIRA         ADDRESS ON FILE
FELICIANO ALICEA, ALIDA R          ADDRESS ON FILE




                                                                                                      Page 2716 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2717 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO ALICEA, GRISELLE        ADDRESS ON FILE
FELICIANO ALICEA, GRISELLE        ADDRESS ON FILE
FELICIANO ALICEA, JAYLEEN         ADDRESS ON FILE
FELICIANO ALICEA, MARISOL         ADDRESS ON FILE
FELICIANO ALMODOVAR, JUANA M      ADDRESS ON FILE
FELICIANO ALMODOVAR, NELSON       ADDRESS ON FILE
FELICIANO ALVARADO, GLADYS        ADDRESS ON FILE
FELICIANO ALVARADO, MARIANA       ADDRESS ON FILE
FELICIANO ALVARADO, RONALD        ADDRESS ON FILE
FELICIANO ALVAREZ, ADA            ADDRESS ON FILE
FELICIANO ALVAREZ, ENRIQUE        ADDRESS ON FILE
FELICIANO ALVAREZ, HECTOR         ADDRESS ON FILE
FELICIANO ALVAREZ, JANIXA M.      ADDRESS ON FILE
FELICIANO ALVAREZ, JESUS M.       ADDRESS ON FILE
FELICIANO AMADEO, ANTHONY         ADDRESS ON FILE
FELICIANO AMADEO, ANTHONY         ADDRESS ON FILE
FELICIANO ANDRADES, GIANKARLO     ADDRESS ON FILE
Feliciano Andujar, Elsie          ADDRESS ON FILE
FELICIANO ANTONGIORGI, HIPOLITO   ADDRESS ON FILE
FELICIANO APOLINARIO, GLORIA      ADDRESS ON FILE
FELICIANO APOLINARIO, GLORIA      ADDRESS ON FILE
FELICIANO APOLINARIS, ESPERANZA   ADDRESS ON FILE
FELICIANO APOLINARIS, JACINTA     ADDRESS ON FILE
FELICIANO APOLINARIS, JULIO       ADDRESS ON FILE
FELICIANO APONTE, FREDDIE         ADDRESS ON FILE
FELICIANO APONTE, LEIDA           ADDRESS ON FILE
Feliciano Aponte, Luz Nelly       ADDRESS ON FILE
FELICIANO APONTE, MARIBEL         ADDRESS ON FILE
FELICIANO APONTE, VICTOR          ADDRESS ON FILE
FELICIANO AQUINO, ELIZABETH       ADDRESS ON FILE
FELICIANO AQUINO, GLADYS          ADDRESS ON FILE
FELICIANO ARCE, BRUNILDA          ADDRESS ON FILE
FELICIANO ARCE, NEFTALI           ADDRESS ON FILE
FELICIANO ARLEQUIN, EFRAIN        ADDRESS ON FILE
FELICIANO AROCHO, EDNA E          ADDRESS ON FILE
FELICIANO ARROYO, ANDRES          ADDRESS ON FILE
FELICIANO ARROYO, ELAINE          ADDRESS ON FILE
FELICIANO ARROYO, MAYRA E         ADDRESS ON FILE
FELICIANO ARROYO, NILSA           ADDRESS ON FILE
FELICIANO ARROYO, VICTOR          ADDRESS ON FILE
FELICIANO ARROYO, YADIMAR I       ADDRESS ON FILE
FELICIANO ASTACIO MD, NEREIDA     ADDRESS ON FILE
FELICIANO ASTACIO, GABRIEL        ADDRESS ON FILE
FELICIANO ASTACIO, NEREIDA I.     ADDRESS ON FILE
FELICIANO ASTACIO, RAFAEL         ADDRESS ON FILE
FELICIANO ASTACIO, RAFAEL         ADDRESS ON FILE
FELICIANO ATRA, VERONICA L        ADDRESS ON FILE
FELICIANO AUDIFFRED, LUISA I      ADDRESS ON FILE
FELICIANO AVILES MD, EDUARDO      ADDRESS ON FILE
FELICIANO AVILES, EDGARDO         ADDRESS ON FILE
FELICIANO AVILES, EDUARDO         ADDRESS ON FILE
Feliciano Aviles, Edwin R         ADDRESS ON FILE
FELICIANO AVILES, JESUS           ADDRESS ON FILE
Feliciano Aviles, Jose G          ADDRESS ON FILE
FELICIANO AVILES, JOSE G          ADDRESS ON FILE
FELICIANO AVILES, LUZ ENEIDA      ADDRESS ON FILE
FELICIANO AVILES, MAGDA           ADDRESS ON FILE
FELICIANO AVILES, MAGDA L         ADDRESS ON FILE
FELICIANO AVILES, TERESA          ADDRESS ON FILE
FELICIANO AVILES, WILSON          ADDRESS ON FILE




                                                                              Page 2717 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2718 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO AVILES, YVETTE         ADDRESS ON FILE
FELICIANO AYALA, CARLOS E.       ADDRESS ON FILE
FELICIANO AYALA, ERNESTINA       ADDRESS ON FILE
FELICIANO AYALA, IDAMIA          ADDRESS ON FILE
FELICIANO AYALA, LUIS            ADDRESS ON FILE
FELICIANO AYALA, NORMA I.        ADDRESS ON FILE
FELICIANO AYALA, PABLO           ADDRESS ON FILE
FELICIANO AYALA, RIGOBERTO       ADDRESS ON FILE
Feliciano Ayala, Sonia           ADDRESS ON FILE
Feliciano Badillo, Mariela       ADDRESS ON FILE
Feliciano Badillo, Maritza       ADDRESS ON FILE
FELICIANO BAEZ, GERARDA          ADDRESS ON FILE
FELICIANO BAEZ, HERMINIO         ADDRESS ON FILE
FELICIANO BAEZ, MILLY            ADDRESS ON FILE
FELICIANO BAEZ, MILLY            ADDRESS ON FILE
FELICIANO BAEZ, NOBEL            ADDRESS ON FILE
FELICIANO BAEZ, NORMA            ADDRESS ON FILE
FELICIANO BAEZ, OMAIRA           ADDRESS ON FILE
FELICIANO BALAGUER, GERALD       ADDRESS ON FILE
FELICIANO BALAGUER, GERALD       ADDRESS ON FILE
Feliciano Balaguer, Jeffrey      ADDRESS ON FILE
FELICIANO BARRETO, NOEL          ADDRESS ON FILE
FELICIANO BARRETO, YOLANDA       ADDRESS ON FILE
FELICIANO BAYON, MELINDA         ADDRESS ON FILE
FELICIANO BELLO, LILLIAN I       ADDRESS ON FILE
FELICIANO BERRIOS, TOMAS A       ADDRESS ON FILE
FELICIANO BINET, MIGUEL A        ADDRESS ON FILE
FELICIANO BITHORN, JOSE F        ADDRESS ON FILE
FELICIANO BOBE, JEANNIFER        ADDRESS ON FILE
FELICIANO BONANO, GUELMI V       ADDRESS ON FILE
FELICIANO BONILLA, ANGEL L.      ADDRESS ON FILE
FELICIANO BONILLA, JULIA         ADDRESS ON FILE
Feliciano Bonilla, Julio C       ADDRESS ON FILE
FELICIANO BONILLA, MARIA D       ADDRESS ON FILE
FELICIANO BONILLA, MARIA DEL P   ADDRESS ON FILE
FELICIANO BORRERO, HELEN I       ADDRESS ON FILE
FELICIANO BORRERO, MARIO         ADDRESS ON FILE
FELICIANO BORRERO, NANCY         ADDRESS ON FILE
FELICIANO BORRERO, SONIA         ADDRESS ON FILE
FELICIANO BOU, CARMEN M          ADDRESS ON FILE
FELICIANO BRAS, REBECCA          ADDRESS ON FILE
FELICIANO BRUNO, NELSON          ADDRESS ON FILE
Feliciano Bruno, Nelson L.       ADDRESS ON FILE
FELICIANO BURGOS, ARLENE         ADDRESS ON FILE
FELICIANO BURGOS, CARMEN M       ADDRESS ON FILE
FELICIANO BURGOS, MARTA I        ADDRESS ON FILE
FELICIANO BURGOS, NYDIA          ADDRESS ON FILE
FELICIANO CABALLERO, AMELIA      ADDRESS ON FILE
FELICIANO CABAN, CARMELO         ADDRESS ON FILE
FELICIANO CABAN, IVAN            ADDRESS ON FILE
FELICIANO CABAN, JESUS           ADDRESS ON FILE
FELICIANO CABAN, JIMMY           ADDRESS ON FILE
FELICIANO CABAN, LYDIA           ADDRESS ON FILE
FELICIANO CABEZA, EDWIN          ADDRESS ON FILE
FELICIANO CABEZA, WINDALYS       ADDRESS ON FILE
FELICIANO CABEZA, WINDALYS       ADDRESS ON FILE
FELICIANO CABRERA, CHIARA L.     ADDRESS ON FILE
FELICIANO CABRERA, ELSIE         ADDRESS ON FILE
FELICIANO CABRERA, ESTEVAN       ADDRESS ON FILE
Feliciano Calderon, William      ADDRESS ON FILE




                                                                             Page 2718 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2719 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO CALES, JOSE                ADDRESS ON FILE
FELICIANO CALES, MIQUEAS             ADDRESS ON FILE
FELICIANO CALES, RAFAEL              ADDRESS ON FILE
FELICIANO CALES, WILMA L             ADDRESS ON FILE
Feliciano Callejo, Benny             ADDRESS ON FILE
FELICIANO CAMACHO, JOSE M.           ADDRESS ON FILE
FELICIANO CAMACHO, MARITZA           ADDRESS ON FILE
FELICIANO CAMACHO, SAMUEL            ADDRESS ON FILE
FELICIANO CAMACHO, YESENIA           LCDO. HECTOR A. CASTRO    APARTADO 227                                           YABUCOA      PR      00767
FELICIANO CAMPOS, KELVIN             ADDRESS ON FILE
FELICIANO CAMUY, MARCO               ADDRESS ON FILE
FELICIANO CANCEL, CARLOS             ADDRESS ON FILE
FELICIANO CANCEL, GLORILIN           ADDRESS ON FILE
FELICIANO CANDELAR, GIOVANNI         ADDRESS ON FILE
FELICIANO CANDELARIA, YAMIRIALYS     ADDRESS ON FILE
FELICIANO CAQUIAS, EMMA              ADDRESS ON FILE
FELICIANO CAQUIAS, IRAIMARIE         ADDRESS ON FILE
FELICIANO CAQUIAS, ROBERTO           ADDRESS ON FILE
FELICIANO CAQUIAS, SILVIA            ADDRESS ON FILE
FELICIANO CARABAL, FERNANDO          ADDRESS ON FILE
Feliciano Carabal, Reinaldo          ADDRESS ON FILE
FELICIANO CARABALLO, ALFREDO         ADDRESS ON FILE
FELICIANO CARABALLO, ANIBAL          ADDRESS ON FILE
FELICIANO CARABALLO, DOMINGO         ADDRESS ON FILE
FELICIANO CARABALLO, DULCE           ADDRESS ON FILE
FELICIANO CARABALLO, EMILLIE         ADDRESS ON FILE
FELICIANO CARABALLO, GUILLERMO       ADDRESS ON FILE
FELICIANO CARABALLO, HERNAN          ADDRESS ON FILE
FELICIANO CARABALLO, IRMA            ADDRESS ON FILE
FELICIANO CARABALLO, ISABEL          ADDRESS ON FILE
Feliciano Caraballo, Israel          ADDRESS ON FILE
FELICIANO CARABALLO, LESVIA          ADDRESS ON FILE
FELICIANO CARABALLO, MAYRA           ADDRESS ON FILE
FELICIANO CARABALLO, MIRTA           ADDRESS ON FILE
FELICIANO CARABALLO, MONSERRATE E.   ADDRESS ON FILE
FELICIANO CARDONA, NATASHA           ADDRESS ON FILE
Feliciano Carrasq, Mariemma          ADDRESS ON FILE
FELICIANO CARRASQUILLO, IRIS Y       ADDRESS ON FILE
FELICIANO CARRERAS, LUIS A.          ADDRESS ON FILE
FELICIANO CARRILLO, JOSEFINA         ADDRESS ON FILE
FELICIANO CARRILLO, MARIAM           ADDRESS ON FILE
FELICIANO CARRILLO, RANDOLPH         ADDRESS ON FILE
FELICIANO CARRUCINI, ANGEL G         ADDRESS ON FILE
FELICIANO CARTAGENA, BRUNILDA        ADDRESS ON FILE
FELICIANO CASANAS, DARWIN            ADDRESS ON FILE
FELICIANO CASANAS, FERNANDO          ADDRESS ON FILE
FELICIANO CASANAS, FERNANDO          ADDRESS ON FILE
FELICIANO CASANAS, VICTOR            ADDRESS ON FILE
Feliciano Casanova, Vanessa          ADDRESS ON FILE
FELICIANO CASIANO, ADRIAN            ADDRESS ON FILE
FELICIANO CASIANO, ELBA              ADDRESS ON FILE
FELICIANO CASIANO, IVEN              ADDRESS ON FILE
FELICIANO CASIANO, OLGA D            ADDRESS ON FILE
FELICIANO CASSAS, EDUARDO            ADDRESS ON FILE
FELICIANO CASTILLO, ELISANGIE        ADDRESS ON FILE
FELICIANO CASTILLO, GREGORIO         ADDRESS ON FILE
FELICIANO CASTILLO, JOSE             ADDRESS ON FILE
FELICIANO CASTILLO, KATHARINA        ADDRESS ON FILE
FELICIANO CASTILLO, MIGDALIA         ADDRESS ON FILE
FELICIANO CASTILLO, RAFAEL           ADDRESS ON FILE




                                                                                 Page 2719 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2720 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO CASTRO, LIONEL         ADDRESS ON FILE
Feliciano Cataquet, Nelson J     ADDRESS ON FILE
FELICIANO CECILIA, JEANNETTE     ADDRESS ON FILE
FELICIANO CECILIA, LINNETTE      ADDRESS ON FILE
FELICIANO CENTENO, RICARDO       ADDRESS ON FILE
FELICIANO CENTENO, RICARDO       ADDRESS ON FILE
Feliciano Cerezo, Ray A          ADDRESS ON FILE
Feliciano Chaparro, Eludina      ADDRESS ON FILE
FELICIANO CHAPARRO, LUCIA        ADDRESS ON FILE
FELICIANO CHAPARRO, LYDIA E.     ADDRESS ON FILE
FELICIANO CHARLES, NELSON        ADDRESS ON FILE
FELICIANO CHAVES, FRANCISCO      ADDRESS ON FILE
FELICIANO CHICO, JOSUE           ADDRESS ON FILE
FELICIANO CINTRON, CHAROL        ADDRESS ON FILE
FELICIANO CINTRON, CHAROL W      ADDRESS ON FILE
FELICIANO CINTRON, DAMARIS       ADDRESS ON FILE
FELICIANO CINTRON, JOSE L.       ADDRESS ON FILE
FELICIANO CINTRON, JULIA         ADDRESS ON FILE
FELICIANO CINTRON, LILLIAM       ADDRESS ON FILE
FELICIANO CINTRON, LILLIAN A     ADDRESS ON FILE
FELICIANO COLLAZO, ANNETTE F.    ADDRESS ON FILE
Feliciano Collazo, Jose E.       ADDRESS ON FILE
FELICIANO COLON, ABEL            ADDRESS ON FILE
FELICIANO COLON, BLANCA I.       ADDRESS ON FILE
FELICIANO COLON, CARLOS          ADDRESS ON FILE
FELICIANO COLON, CARLOS J        ADDRESS ON FILE
Feliciano Colon, Daisy           ADDRESS ON FILE
FELICIANO COLON, DIANA           ADDRESS ON FILE
FELICIANO COLON, EDUARDO         ADDRESS ON FILE
FELICIANO COLON, ELSA            ADDRESS ON FILE
FELICIANO COLON, GLADYS          ADDRESS ON FILE
FELICIANO COLON, GUALBERTO       ADDRESS ON FILE
FELICIANO COLON, GUILLERMO       ADDRESS ON FILE
FELICIANO COLON, JESUS           ADDRESS ON FILE
FELICIANO COLON, JIMMY           ADDRESS ON FILE
FELICIANO COLON, JOSE            ADDRESS ON FILE
Feliciano Colon, Jose A          ADDRESS ON FILE
FELICIANO COLON, LIMARY          ADDRESS ON FILE
FELICIANO COLON, LUZ L           ADDRESS ON FILE
FELICIANO COLON, MARGARITA       ADDRESS ON FILE
FELICIANO COLON, MARIA           ADDRESS ON FILE
FELICIANO COLON, MARIA           ADDRESS ON FILE
FELICIANO COLON, MARISOL         ADDRESS ON FILE
FELICIANO COLON, SALVADOR        ADDRESS ON FILE
FELICIANO COLON, SAMUEL          ADDRESS ON FILE
FELICIANO COLON, SONIA N         ADDRESS ON FILE
FELICIANO COLON, TAMARA          ADDRESS ON FILE
FELICIANO COLONDRES, MARIEL      ADDRESS ON FILE
FELICIANO COLONDRES, SHARON      ADDRESS ON FILE
FELICIANO CONCEPCION, JOSEY M.   ADDRESS ON FILE
FELICIANO CONCEPCION, JULIO      ADDRESS ON FILE
FELICIANO CONCEPCION, ORLANDO    ADDRESS ON FILE
FELICIANO CORCHADO, AIXA         ADDRESS ON FILE
FELICIANO CORDERO, BETANIA       ADDRESS ON FILE
FELICIANO CORDERO, FRANCISCO     ADDRESS ON FILE
FELICIANO CORDERO, JOSE          ADDRESS ON FILE
Feliciano Cordero, Jose F        ADDRESS ON FILE
Feliciano Cordero, Jose L        ADDRESS ON FILE
FELICIANO CORDERO, JUDITH        ADDRESS ON FILE
FELICIANO CORDERO, MINERVA       ADDRESS ON FILE




                                                                             Page 2720 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2721 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO CORDERO, MINERVA        ADDRESS ON FILE
FELICIANO CORDERO, ROBERTO        ADDRESS ON FILE
FELICIANO CORDERO, VALENTIN       ADDRESS ON FILE
FELICIANO CORNIER, ALEXI          ADDRESS ON FILE
FELICIANO CORNIER, EVELYN         ADDRESS ON FILE
FELICIANO CORNIER, MELVIN         ADDRESS ON FILE
Feliciano Correa, Carmen Y        ADDRESS ON FILE
Feliciano Correa, Gilberto        ADDRESS ON FILE
FELICIANO CORREA, GLADYS          ADDRESS ON FILE
FELICIANO CORREA, JOSE            ADDRESS ON FILE
FELICIANO CORREA, MARIBEL         ADDRESS ON FILE
FELICIANO CORREA, YESENIA         ADDRESS ON FILE
FELICIANO CORTES CARMEN           ADDRESS ON FILE
FELICIANO CORTES, ALEXANDER       ADDRESS ON FILE
FELICIANO CORTES, AMARILIS        ADDRESS ON FILE
FELICIANO CORTES, ANGEL           ADDRESS ON FILE
FELICIANO CORTES, FRANCISCO       ADDRESS ON FILE
FELICIANO CORTES, JACOB           ADDRESS ON FILE
FELICIANO CORTES, JEANELIZ        ADDRESS ON FILE
Feliciano Cortes, Maribel         ADDRESS ON FILE
FELICIANO CORTES, NELSON          ADDRESS ON FILE
FELICIANO CORTES, NILDA N         ADDRESS ON FILE
FELICIANO CORTES, YOLANDA         ADDRESS ON FILE
FELICIANO CRESPI, ENRIQUE         ADDRESS ON FILE
FELICIANO CRESPO, CARMEN          ADDRESS ON FILE
FELICIANO CRESPO, DENNIS          ADDRESS ON FILE
Feliciano Crespo, Elvin           ADDRESS ON FILE
FELICIANO CRESPO, ELVIN           ADDRESS ON FILE
FELICIANO CRESPO, ESTHER          ADDRESS ON FILE
Feliciano Crespo, Hector L        ADDRESS ON FILE
Feliciano Crespo, Jesus           ADDRESS ON FILE
FELICIANO CRESPO, LUIS            ADDRESS ON FILE
FELICIANO CRESPO, NILDA R         ADDRESS ON FILE
FELICIANO CRESPO, ROBERTO         ADDRESS ON FILE
FELICIANO CRESPO, ROSA            ADDRESS ON FILE
FELICIANO CRESPO, ROSA            ADDRESS ON FILE
FELICIANO CRESPO, ROSALIA         ADDRESS ON FILE
FELICIANO CRUZ FERNANDO           ADDRESS ON FILE
FELICIANO CRUZ, ALEJANDRINA       ADDRESS ON FILE
FELICIANO CRUZ, ARQUELIO          ADDRESS ON FILE
FELICIANO CRUZ, CANDITA           ADDRESS ON FILE
Feliciano Cruz, Carlos            ADDRESS ON FILE
FELICIANO CRUZ, CARLOS R          ADDRESS ON FILE
FELICIANO CRUZ, DANIEL            ADDRESS ON FILE
FELICIANO CRUZ, EDILBERTO         ADDRESS ON FILE
FELICIANO CRUZ, ELIONIDES         ADDRESS ON FILE
FELICIANO CRUZ, EMILY             ADDRESS ON FILE
FELICIANO CRUZ, FERNANDO          ADDRESS ON FILE
FELICIANO CRUZ, GLENDALYS         ADDRESS ON FILE
FELICIANO CRUZ, JEANNETTE         ADDRESS ON FILE
FELICIANO CRUZ, JOAQUIN           ADDRESS ON FILE
FELICIANO CRUZ, LILLIAM           ADDRESS ON FILE
FELICIANO CRUZ, LUIS A            ADDRESS ON FILE
Feliciano Cruz, Luis G            ADDRESS ON FILE
FELICIANO CRUZ, MANUEL            ADDRESS ON FILE
Feliciano Cruz, Manuel Alejandr   ADDRESS ON FILE
FELICIANO CRUZ, MARIA DE LOS A    ADDRESS ON FILE
FELICIANO CRUZ, MERCEDITAS        ADDRESS ON FILE
FELICIANO CRUZ, OLGA L            ADDRESS ON FILE
Feliciano Cruz, Rafael A          ADDRESS ON FILE




                                                                              Page 2721 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2722 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO CRUZ, TAMARA           ADDRESS ON FILE
FELICIANO CRUZ, WILLIAM          ADDRESS ON FILE
FELICIANO CRUZ, WILLIAM          ADDRESS ON FILE
FELICIANO CRUZ, YELISSA M        ADDRESS ON FILE
FELICIANO CRUZ, YELISSA M        ADDRESS ON FILE
FELICIANO CUEVAS, KELLY          ADDRESS ON FILE
FELICIANO CUEVAS, NANCY          ADDRESS ON FILE
FELICIANO DAVID, JUAN C          ADDRESS ON FILE
FELICIANO DAVILA, MELVIN         ADDRESS ON FILE
FELICIANO DAVILA, MINERVA        ADDRESS ON FILE
FELICIANO DE BENABE, EVELYN      ADDRESS ON FILE
Feliciano De Feo, Deanna N       ADDRESS ON FILE
FELICIANO DE JESUS, ANGELA       ADDRESS ON FILE
FELICIANO DE JESUS, HECTOR       ADDRESS ON FILE
FELICIANO DE JESUS, RITA         ADDRESS ON FILE
FELICIANO DE JESUS, ZAIDA        ADDRESS ON FILE
FELICIANO DE LA ROSA, CARLA A.   ADDRESS ON FILE
FELICIANO DE LEON, ALEX A.       ADDRESS ON FILE
Feliciano De Leon, Martin        ADDRESS ON FILE
FELICIANO DE MELECIO, CARMEN     ADDRESS ON FILE
FELICIANO DE SANABRIA, SENAIDA   ADDRESS ON FILE
FELICIANO DEGALDO, NOELIA        ADDRESS ON FILE
FELICIANO DEL RIO, GERONIMO      ADDRESS ON FILE
FELICIANO DEL VALLE, BLANCA I.   ADDRESS ON FILE
FELICIANO DEL VALLE, WILNELIA    ADDRESS ON FILE
FELICIANO DELGADO, LUZ           ADDRESS ON FILE
FELICIANO DELGADO, LUZ           ADDRESS ON FILE
FELICIANO DELGADO, NEFTALI       ADDRESS ON FILE
Feliciano Delgado, Wanda I       ADDRESS ON FILE
FELICIANO DIAZ, AIDA             ADDRESS ON FILE
FELICIANO DIAZ, CARLOS           ADDRESS ON FILE
FELICIANO DIAZ, ERASTO           ADDRESS ON FILE
FELICIANO DIAZ, GISELA           ADDRESS ON FILE
FELICIANO DIAZ, HECTOR           ADDRESS ON FILE
FELICIANO DIAZ, IRIS             ADDRESS ON FILE
FELICIANO DIAZ, JULIA R          ADDRESS ON FILE
FELICIANO DIAZ, LIMARIS          ADDRESS ON FILE
FELICIANO DIAZ, MARIA DE LOS A   ADDRESS ON FILE
FELICIANO DIAZ, MARICELY         ADDRESS ON FILE
FELICIANO DIAZ, MARISEL          ADDRESS ON FILE
Feliciano Diaz, William          ADDRESS ON FILE
FELICIANO DISLA, ALEX            ADDRESS ON FILE
FELICIANO DOMINGUEZ, ALBERTO     ADDRESS ON FILE
FELICIANO DOMINGUEZ, ALEXANDER   ADDRESS ON FILE
FELICIANO DOMNGUEZ, DIANILIS     ADDRESS ON FILE
FELICIANO DONES, ALBERTO         ADDRESS ON FILE
FELICIANO DONES, RAFAEL          ADDRESS ON FILE
FELICIANO DUEN, CARMEN M         ADDRESS ON FILE
Feliciano Echevarr, Maribel      ADDRESS ON FILE
FELICIANO ECHEVARRI, BRENDA      ADDRESS ON FILE
FELICIANO ECHEVARRI, BRENDA      ADDRESS ON FILE
FELICIANO ECHEVARRIA, BRENDA     ADDRESS ON FILE
FELICIANO ECHEVARRIA, IVETTE     ADDRESS ON FILE
FELICIANO ECHEVARRIA, LUIS A     ADDRESS ON FILE
FELICIANO ECHEVARRIA, LUIS F.    ADDRESS ON FILE
FELICIANO ECHEVARRIA, LULU       ADDRESS ON FILE
FELICIANO ECHEVARRIA, MARIA      ADDRESS ON FILE
FELICIANO ECHEVARRIA, MARIA      ADDRESS ON FILE
FELICIANO ECHEVARRIA, MARIAM     ADDRESS ON FILE
FELICIANO ECHEVARRIA, MARITZA    ADDRESS ON FILE




                                                                             Page 2722 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2723 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO ECHEVARRIA, ROSITA      ADDRESS ON FILE
FELICIANO ECHEVARRIA, ROSITA      ADDRESS ON FILE
FELICIANO ECHEVARRIA, SARAH I     ADDRESS ON FILE
FELICIANO ECHEVARRIA, SILKA J     ADDRESS ON FILE
FELICIANO ELIAS CALDERON          ADDRESS ON FILE
FELICIANO EMANUELLI, ROBERTO      ADDRESS ON FILE
FELICIANO EMMANUELLI, JACKELINE   ADDRESS ON FILE
FELICIANO ESPERANZA, BRENDA A     ADDRESS ON FILE
FELICIANO ESPINOSA, ELY           ADDRESS ON FILE
FELICIANO ESPINOSA, ERICK S       ADDRESS ON FILE
FELICIANO ESPINOSA, MILAGROS      ADDRESS ON FILE
FELICIANO ESTRADA, CARMEN J       ADDRESS ON FILE
FELICIANO ESTRADA, ENIDZA         ADDRESS ON FILE
FELICIANO ESTRADA, LUIS R         ADDRESS ON FILE
FELICIANO ESTRADA, WILLIAM        ADDRESS ON FILE
FELICIANO ESTREMERA, ANGEL R      ADDRESS ON FILE
FELICIANO EVERTSZ, RAYSALEE       ADDRESS ON FILE
Feliciano Febus, Jorge            ADDRESS ON FILE
FELICIANO FEBUS, NOEL             ADDRESS ON FILE
FELICIANO FELICIANO, ANGELA       ADDRESS ON FILE
FELICIANO FELICIANO, CARLOS A     ADDRESS ON FILE
FELICIANO FELICIANO, CELIA        ADDRESS ON FILE
FELICIANO FELICIANO, DANIEL       ADDRESS ON FILE
FELICIANO FELICIANO, ELBA         ADDRESS ON FILE
FELICIANO FELICIANO, GLORIMAR     ADDRESS ON FILE
FELICIANO FELICIANO, GRISEL       ADDRESS ON FILE
FELICIANO FELICIANO, JORGE O.     ADDRESS ON FILE
FELICIANO FELICIANO, JOSE F       ADDRESS ON FILE
FELICIANO FELICIANO, JOSLYN       ADDRESS ON FILE
Feliciano Feliciano, Kelvin       ADDRESS ON FILE
FELICIANO FELICIANO, LISANDRA     ADDRESS ON FILE
FELICIANO FELICIANO, MARILYN      ADDRESS ON FILE
FELICIANO FELICIANO, MIGDALIA     ADDRESS ON FILE
FELICIANO FELICIANO, MILDRED      ADDRESS ON FILE
Feliciano Feliciano, Noel         ADDRESS ON FILE
FELICIANO FELICIANO, NOEL         ADDRESS ON FILE
FELICIANO FELICIANO, ROBERT       ADDRESS ON FILE
FELICIANO FELICIANO, ROSA H       ADDRESS ON FILE
FELICIANO FELICIANO, ROSAIDA      ADDRESS ON FILE
FELICIANO FELICIANO, VICTOR       ADDRESS ON FILE
FELICIANO FELICIANO, WANDA I      ADDRESS ON FILE
FELICIANO FELICIANO, WANDA L      ADDRESS ON FILE
FELICIANO FELICIANO, WILLIAM      ADDRESS ON FILE
FELICIANO FELIU, ROSA M.          ADDRESS ON FILE
Feliciano Felix, Osvaldo          ADDRESS ON FILE
Feliciano Fernandez, Antonio      ADDRESS ON FILE
FELICIANO FERNANDEZ, ANTONIO      ADDRESS ON FILE
FELICIANO FERNANDEZ, HAYXA        ADDRESS ON FILE
FELICIANO FERNANDEZ, MORAIMA      ADDRESS ON FILE
FELICIANO FERNANDEZ, RANDY        ADDRESS ON FILE
FELICIANO FERRER, CARMEN M        ADDRESS ON FILE
FELICIANO FERRER, PABLO           ADDRESS ON FILE
FELICIANO FERRER, WILFREDO        ADDRESS ON FILE
FELICIANO FIGUEROA, ANDRES        ADDRESS ON FILE
FELICIANO FIGUEROA, ANGEL         ADDRESS ON FILE
FELICIANO FIGUEROA, CARLOS        ADDRESS ON FILE
FELICIANO FIGUEROA, CARLOS        ADDRESS ON FILE
FELICIANO FIGUEROA, CLARISSA      ADDRESS ON FILE
Feliciano Figueroa, Daniel        ADDRESS ON FILE
FELICIANO FIGUEROA, EDGARDO       ADDRESS ON FILE




                                                                              Page 2723 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2724 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO FIGUEROA, EVELYN        ADDRESS ON FILE
FELICIANO FIGUEROA, HILDA J       ADDRESS ON FILE
FELICIANO FIGUEROA, JAVIER        ADDRESS ON FILE
FELICIANO FIGUEROA, JEANNETTE     ADDRESS ON FILE
FELICIANO FIGUEROA, JOSE A        ADDRESS ON FILE
FELICIANO FIGUEROA, KELLYNETTE    ADDRESS ON FILE
FELICIANO FIGUEROA, MARGARITA     ADDRESS ON FILE
FELICIANO FIGUEROA, MELVA         ADDRESS ON FILE
FELICIANO FIGUEROA, MELVA         ADDRESS ON FILE
Feliciano Figueroa, Militza       ADDRESS ON FILE
FELICIANO FIGUEROA, RAFA          ADDRESS ON FILE
Feliciano Figueroa, Samuel A.     ADDRESS ON FILE
FELICIANO FIGUEROA, ZORAIDA       ADDRESS ON FILE
FELICIANO FLECHA, DAVID           ADDRESS ON FILE
FELICIANO FLORES SILVA            ADDRESS ON FILE
Feliciano Flores, Carlos M        ADDRESS ON FILE
FELICIANO FLORES, CARMEN L        ADDRESS ON FILE
FELICIANO FLORES, EFRAIN          ADDRESS ON FILE
FELICIANO FLORES, HEYDEE          ADDRESS ON FILE
Feliciano Flores, Raul            ADDRESS ON FILE
FELICIANO FONTANEZ, ANGEL         ADDRESS ON FILE
Feliciano Fontanez, Luis A        ADDRESS ON FILE
FELICIANO FONTANEZ, LUIZ          ADDRESS ON FILE
FELICIANO FORTY, ROBERT           ADDRESS ON FILE
FELICIANO FRANCESCHINI, MANUEL    ADDRESS ON FILE
FELICIANO FRATICELLI, ENID        ADDRESS ON FILE
FELICIANO FRATICELLI, GLADYS      ADDRESS ON FILE
FELICIANO FRATICELLI, GLADYS O.   ADDRESS ON FILE
Feliciano Freytes, Armando        ADDRESS ON FILE
FELICIANO FRONTERA, FRANCISCO A   ADDRESS ON FILE
FELICIANO FUENTES, MARIA E.       ADDRESS ON FILE
FELICIANO FUENTES, VICTOR L       ADDRESS ON FILE
FELICIANO FUENTES, VICTOR L       ADDRESS ON FILE
FELICIANO GALARZA, ANA I          ADDRESS ON FILE
FELICIANO GALARZA, ANIBAL         ADDRESS ON FILE
FELICIANO GALARZA, BEATRIZ        ADDRESS ON FILE
FELICIANO GALARZA, CANDIDA        ADDRESS ON FILE
FELICIANO GALVAN, JUAN A          ADDRESS ON FILE
FELICIANO GARCIA, AIDA            ADDRESS ON FILE
FELICIANO GARCIA, ANGEL M         ADDRESS ON FILE
FELICIANO GARCIA, ANGELIE         ADDRESS ON FILE
FELICIANO GARCIA, DANIEL          ADDRESS ON FILE
FELICIANO GARCIA, DIANA           ADDRESS ON FILE
FELICIANO GARCIA, EDITH           ADDRESS ON FILE
FELICIANO GARCIA, ELSA            ADDRESS ON FILE
FELICIANO GARCIA, JUAN            ADDRESS ON FILE
FELICIANO GARCIA, PABLO           ADDRESS ON FILE
FELICIANO GARCIA, RUBEN           ADDRESS ON FILE
FELICIANO GARCIA, SARAI           ADDRESS ON FILE
FELICIANO GARCIA, YARIELIS        ADDRESS ON FILE
FELICIANO GARCIA, ZORAIDA         ADDRESS ON FILE
FELICIANO GAUTIER, ARMANDO        ADDRESS ON FILE
FELICIANO GAUTIER, ARMANDO        ADDRESS ON FILE
FELICIANO GAYA, ANGEL             ADDRESS ON FILE
Feliciano Gaya, Angel J           ADDRESS ON FILE
FELICIANO GAYA, LIZETTE           ADDRESS ON FILE
FELICIANO GIBOYEAUX, ISABEL       ADDRESS ON FILE
FELICIANO GIL, ELMIS I            ADDRESS ON FILE
FELICIANO GOMEZ, MARGARITA        ADDRESS ON FILE
FELICIANO GONZALE, HERMINIO       ADDRESS ON FILE




                                                                              Page 2724 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2725 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO GONZALEZ, AIDA E        ADDRESS ON FILE
FELICIANO GONZALEZ, ALBERTO       ADDRESS ON FILE
FELICIANO GONZALEZ, ALEXIS        ADDRESS ON FILE
FELICIANO GONZALEZ, ANGEL L       ADDRESS ON FILE
FELICIANO GONZALEZ, CARMEN        ADDRESS ON FILE
FELICIANO GONZALEZ, CARMEN        ADDRESS ON FILE
FELICIANO GONZALEZ, CARMEN M.     ADDRESS ON FILE
FELICIANO GONZALEZ, CARMEN M.     ADDRESS ON FILE
FELICIANO GONZALEZ, CINDY         ADDRESS ON FILE
FELICIANO GONZALEZ, CONFESORA     ADDRESS ON FILE
FELICIANO GONZALEZ, DAYRA E.      ADDRESS ON FILE
FELICIANO GONZALEZ, EDNA          ADDRESS ON FILE
FELICIANO GONZALEZ, EDWIN         ADDRESS ON FILE
FELICIANO GONZALEZ, EDWIN P       ADDRESS ON FILE
FELICIANO GONZALEZ, ELIZABETH     ADDRESS ON FILE
Feliciano Gonzalez, Elvin J       ADDRESS ON FILE
FELICIANO GONZALEZ, GLENDALY      ADDRESS ON FILE
FELICIANO GONZALEZ, GUSTAVO       ADDRESS ON FILE
FELICIANO GONZALEZ, ISAAC         ADDRESS ON FILE
FELICIANO GONZALEZ, ISKA          ADDRESS ON FILE
FELICIANO GONZALEZ, JESSICA       ADDRESS ON FILE
FELICIANO GONZALEZ, JOEL          ADDRESS ON FILE
FELICIANO GONZALEZ, JOHANNA       ADDRESS ON FILE
Feliciano Gonzalez, Jomar R       ADDRESS ON FILE
FELICIANO GONZALEZ, JOSE          ADDRESS ON FILE
Feliciano Gonzalez, Jose M        ADDRESS ON FILE
FELICIANO GONZALEZ, JUANITA       ADDRESS ON FILE
FELICIANO GONZALEZ, LEXMES        ADDRESS ON FILE
Feliciano Gonzalez, Linardo       ADDRESS ON FILE
FELICIANO GONZALEZ, LISSETTE      ADDRESS ON FILE
FELICIANO GONZALEZ, LIZ           ADDRESS ON FILE
FELICIANO GONZALEZ, LIZA          ADDRESS ON FILE
FELICIANO GONZALEZ, LOURDES       ADDRESS ON FILE
FELICIANO GONZALEZ, LOURDES       ADDRESS ON FILE
FELICIANO GONZALEZ, LUIS          ADDRESS ON FILE
FELICIANO GONZALEZ, LUIS M        ADDRESS ON FILE
FELICIANO GONZALEZ, LYNNETTE      ADDRESS ON FILE
FELICIANO GONZALEZ, MARIA         ADDRESS ON FILE
FELICIANO GONZALEZ, MARIA DEL C   ADDRESS ON FILE
FELICIANO GONZALEZ, MARIA E       ADDRESS ON FILE
Feliciano Gonzalez, Maria L       ADDRESS ON FILE
FELICIANO GONZALEZ, MARIANO       ADDRESS ON FILE
FELICIANO GONZALEZ, MARILYN       ADDRESS ON FILE
FELICIANO GONZALEZ, MARITZA       ADDRESS ON FILE
FELICIANO GONZALEZ, MINERVA       ADDRESS ON FILE
FELICIANO GONZALEZ, MONICA        ADDRESS ON FILE
FELICIANO GONZALEZ, NILDA         ADDRESS ON FILE
FELICIANO GONZALEZ, NOA           ADDRESS ON FILE
FELICIANO GONZALEZ, ORLANDO       ADDRESS ON FILE
FELICIANO GONZALEZ, ORLANDO       ADDRESS ON FILE
FELICIANO GONZALEZ, RADAMES       ADDRESS ON FILE
FELICIANO GONZALEZ, RAIMUNDO      ADDRESS ON FILE
FELICIANO GONZALEZ, RAYMOND       ADDRESS ON FILE
FELICIANO GONZALEZ, RENZO         ADDRESS ON FILE
Feliciano Gonzalez, Roberto       ADDRESS ON FILE
FELICIANO GONZALEZ, ROSA M        ADDRESS ON FILE
FELICIANO GONZALEZ, SARAHI        ADDRESS ON FILE
FELICIANO GONZALEZ, SILVIA        ADDRESS ON FILE
FELICIANO GONZALEZ, SONIA         ADDRESS ON FILE
FELICIANO GONZALEZ, SONIA         ADDRESS ON FILE




                                                                              Page 2725 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2726 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO GONZALEZ, SUIRKA           ADDRESS ON FILE
FELICIANO GONZALEZ, WALESKA          ADDRESS ON FILE
FELICIANO GONZALEZ, WALESKA          ADDRESS ON FILE
FELICIANO GONZALEZ, WILFREDO         ADDRESS ON FILE
FELICIANO GONZALEZ, WILMERT          ADDRESS ON FILE
FELICIANO GONZALEZ, YADIRA           ADDRESS ON FILE
FELICIANO GONZALEZ, ZORY             ADDRESS ON FILE
FELICIANO GOTAY, IRIS Z.             ADDRESS ON FILE
Feliciano Gotay, Miguel A.           ADDRESS ON FILE
FELICIANO GRACIA, JOSE               ADDRESS ON FILE
FELICIANO GRAFALS, EDWIN             ADDRESS ON FILE
FELICIANO GRAJALES, MODESTA          ADDRESS ON FILE
FELICIANO GUADALUPE, OSCAR           ADDRESS ON FILE
FELICIANO GUTIEREEZ, WILMARYS        ADDRESS ON FILE
FELICIANO GUTIERREZ, DAVID           ADDRESS ON FILE
FELICIANO GUTIERREZ, NELLY I         ADDRESS ON FILE
FELICIANO GUZMAN MD, EFRAIN A        ADDRESS ON FILE
FELICIANO GUZMAN, ELVIN              ADDRESS ON FILE
FELICIANO GUZMAN, JUAN L.            ADDRESS ON FILE
FELICIANO GUZMAN, NOEL               ADDRESS ON FILE
FELICIANO HEREDIA, SONIA             ADDRESS ON FILE
FELICIANO HEREDIA, SONIA             ADDRESS ON FILE
FELICIANO HERNANDEZ MD, MARIA        ADDRESS ON FILE
FELICIANO HERNANDEZ, ANA M           ADDRESS ON FILE
FELICIANO HERNANDEZ, BRENDA L        ADDRESS ON FILE
FELICIANO HERNANDEZ, CARLOS          ADDRESS ON FILE
FELICIANO HERNANDEZ, DENIS           ADDRESS ON FILE
Feliciano Hernandez, Eduardo         ADDRESS ON FILE
FELICIANO HERNANDEZ, ELVIN           ADDRESS ON FILE
FELICIANO HERNANDEZ, ERNESTO         ADDRESS ON FILE
FELICIANO HERNANDEZ, ERNESTO DE J.   ADDRESS ON FILE
FELICIANO HERNANDEZ, GREGORIO        ADDRESS ON FILE
FELICIANO HERNANDEZ, HECTOR E        ADDRESS ON FILE
FELICIANO HERNANDEZ, HERBERT         ADDRESS ON FILE
FELICIANO HERNANDEZ, HILDA           ADDRESS ON FILE
FELICIANO HERNANDEZ, ISRAEL          ADDRESS ON FILE
Feliciano Hernandez, Janeila         ADDRESS ON FILE
FELICIANO HERNANDEZ, JANETTE         ADDRESS ON FILE
FELICIANO HERNANDEZ, JEISIY M        ADDRESS ON FILE
FELICIANO HERNANDEZ, JOSE F          ADDRESS ON FILE
FELICIANO HERNANDEZ, JOSE M          ADDRESS ON FILE
FELICIANO HERNANDEZ, JOSE M.         ADDRESS ON FILE
FELICIANO HERNANDEZ, KEISHLA E       ADDRESS ON FILE
FELICIANO HERNANDEZ, LESLIE I        ADDRESS ON FILE
FELICIANO HERNANDEZ, LETICIA         ADDRESS ON FILE
FELICIANO HERNANDEZ, LOURDES         ADDRESS ON FILE
FELICIANO HERNANDEZ, LUIS            ADDRESS ON FILE
FELICIANO HERNANDEZ, MARIA J.        ADDRESS ON FILE
FELICIANO HERNANDEZ, MAYRA           ADDRESS ON FILE
FELICIANO HERNANDEZ, MAYRA L.        ADDRESS ON FILE
FELICIANO HERNANDEZ, MAYRA L.        ADDRESS ON FILE
FELICIANO HERNANDEZ, MILTON A        ADDRESS ON FILE
FELICIANO HERNANDEZ, PAULA           ADDRESS ON FILE
FELICIANO HERNANDEZ, RAFAEL          ADDRESS ON FILE
FELICIANO HERNANDEZ, SAMUEL          ADDRESS ON FILE
FELICIANO HERNANDEZ, TOMASITA        ADDRESS ON FILE
FELICIANO HERNANDEZ, VIRGILIO        ADDRESS ON FILE
FELICIANO HERNANDEZ, WANDA I         ADDRESS ON FILE
Feliciano Hernandez, Wandaly         ADDRESS ON FILE
FELICIANO HERNANDEZ, WILNETTE        ADDRESS ON FILE




                                                                                 Page 2726 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2727 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                       Address1                  Address2                               Address3          Address4   City        State   PostalCode   Country
FELICIANO HERNANDEZ, YARILIS        ADDRESS ON FILE
FELICIANO HERNANDEZ, YARIZEIDA      ADDRESS ON FILE
FELICIANO HERNANDEZ, YOLANDA        ADDRESS ON FILE
FELICIANO HERNANDEZ, ZULMA I        ADDRESS ON FILE
FELICIANO HERNANDEZ,BETSYLVIA       ADDRESS ON FILE
FELICIANO HERRERA, AUDDIE J         ADDRESS ON FILE
FELICIANO HERRERA, MARIA DEL R      ADDRESS ON FILE
FELICIANO HIDALGO, DAVID            ADDRESS ON FILE
FELICIANO HILL MD, NEREIDA          ADDRESS ON FILE
FELICIANO HOYOS, DIOCELINA          ADDRESS ON FILE
FELICIANO IBANEZ, JOSE J.           ADDRESS ON FILE
FELICIANO INGLES, SAMUEL            ADDRESS ON FILE
FELICIANO IRIGOYEN, JOSE A.         ADDRESS ON FILE
FELICIANO IRIZARRY, CHRISTIAN       ADDRESS ON FILE
FELICIANO IRIZARRY, EFRAIN          ADDRESS ON FILE
FELICIANO IRIZARRY, FREDESWINDA     ADDRESS ON FILE
FELICIANO IRIZARRY, HECTOR          ADDRESS ON FILE
FELICIANO IRIZARRY, NILSIMIDEE M    ADDRESS ON FILE
FELICIANO IRIZARRY, PAOLA           ADDRESS ON FILE
FELICIANO IRIZARRY, REINALDO        ADDRESS ON FILE
FELICIANO IRIZARRY, SONIA I         ADDRESS ON FILE
FELICIANO ISALES, RAFAEL            ADDRESS ON FILE
FELICIANO JIMENEZ MD, CARLOS A      ADDRESS ON FILE
FELICIANO JIMENEZ, ANTONIO          ADDRESS ON FILE
FELICIANO JIMENEZ, DARIBEL          ADDRESS ON FILE
FELICIANO JIMENEZ, FRANCHESKA M     ADDRESS ON FILE
FELICIANO JIMENEZ, HECTOR           ADDRESS ON FILE
FELICIANO JIMENEZ, MARCOS           ADDRESS ON FILE
FELICIANO JIMENEZ, MARIBEL          ADDRESS ON FILE
Feliciano Jimenez, Wilfredo         ADDRESS ON FILE
FELICIANO JORDAN, JEAN              ADDRESS ON FILE
FELICIANO JORDAN, RAUL              ADDRESS ON FILE
FELICIANO JUARBE, MOISES            ADDRESS ON FILE
FELICIANO JUSTINIANO, ANGELINE D.   ADDRESS ON FILE
FELICIANO JUSTINIANO, SHERLEY       ADDRESS ON FILE
FELICIANO JUSTINIANO, SHERLEY       ADDRESS ON FILE
FELICIANO LA SANTA, CARLOS          ADDRESS ON FILE
FELICIANO LA SANTA, RAMON           ADDRESS ON FILE
FELICIANO LABARCA, CARLOS R         ADDRESS ON FILE
FELICIANO LAGARES, CLAUDENCIA       ADDRESS ON FILE
Feliciano Laguer, Wanda             ADDRESS ON FILE
FELICIANO LARACUENTE, DANIEL        ADDRESS ON FILE
FELICIANO LARACUENTE, EDDIE         ADDRESS ON FILE
                                                                                                     MARGINAL VICTOR
FELICIANO LASALLE, CARMEN Y OTROS   VIRGILIO GONZALEZ PEREZ   CALLE ARAGON EDIF 319                  ROJAS #1                     ARECIBO     PR      00612
FELICIANO LASALLE, WANDA            ADDRESS ON FILE
FELICIANO LASANTA, IVETTE           ADDRESS ON FILE
Feliciano Lasanta, Ivette           ADDRESS ON FILE
FELICIANO LEDEY, DEBRA I            ADDRESS ON FILE
FELICIANO LEON, INGRID              ADDRESS ON FILE
Feliciano Leon, Ingrid J            ADDRESS ON FILE
FELICIANO LEON, WILFREDO            ADDRESS ON FILE
FELICIANO LETRIZ, JORGE I.          ADDRESS ON FILE
FELICIANO LETRIZ, MARILU            ADDRESS ON FILE
FELICIANO LETRIZ, ROSA              ADDRESS ON FILE
FELICIANO LIRIANO, GLORIMAR         ADDRESS ON FILE
FELICIANO LOPEZ, ADA                ADDRESS ON FILE
FELICIANO LOPEZ, BRUNILDA           ADDRESS ON FILE
FELICIANO LOPEZ, CARLOS             ADDRESS ON FILE
FELICIANO LOPEZ, EDGAR              ADDRESS ON FILE




                                                                                      Page 2727 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2728 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO LOPEZ, ELIZABETH                 ADDRESS ON FILE
FELICIANO LOPEZ, EPIFANIA                  ADDRESS ON FILE
Feliciano Lopez, Erik                      ADDRESS ON FILE
FELICIANO LOPEZ, EVELYN                    ADDRESS ON FILE
FELICIANO LOPEZ, FELIX E                   ADDRESS ON FILE
FELICIANO LOPEZ, FRANCISCO                 ADDRESS ON FILE
FELICIANO LOPEZ, ISRAEL                    ADDRESS ON FILE
FELICIANO LOPEZ, JAYMARIE                  ADDRESS ON FILE
FELICIANO LOPEZ, JOEL                      ADDRESS ON FILE
FELICIANO LOPEZ, JOHANNA                   ADDRESS ON FILE
FELICIANO LOPEZ, LUIS A                    ADDRESS ON FILE
FELICIANO LOPEZ, MARIA                     ADDRESS ON FILE
Feliciano Lopez, Mayra                     ADDRESS ON FILE
FELICIANO LOPEZ, NANCY                     ADDRESS ON FILE
FELICIANO LOPEZ, NANCY I                   ADDRESS ON FILE
FELICIANO LOPEZ, OLGA N                    ADDRESS ON FILE
FELICIANO LOPEZ, PABLO                     ADDRESS ON FILE
FELICIANO LOPEZ, RAMONITA                  ADDRESS ON FILE
Feliciano Lopez, Raul                      ADDRESS ON FILE
Feliciano Lopez, Rosali                    ADDRESS ON FILE
FELICIANO LOPEZ, SAMUEL                    ADDRESS ON FILE
FELICIANO LOPEZ, WILLIAM                   ADDRESS ON FILE
FELICIANO LOPEZ, ZENAIDA                   ADDRESS ON FILE
FELICIANO LOPZ, CARLA                      ADDRESS ON FILE
FELICIANO LORENZO, ELVIS                   ADDRESS ON FILE
FELICIANO LORENZO, ROBERTO                 ADDRESS ON FILE
FELICIANO LORENZO, VANESSA                 ADDRESS ON FILE
FELICIANO LOZADA, GLADYS                   ADDRESS ON FILE
FELICIANO LOZADA, GLADYS                   ADDRESS ON FILE
FELICIANO LOZADA, MAGALY                   ADDRESS ON FILE
FELICIANO LOZADA, MARIA                    ADDRESS ON FILE
FELICIANO LOZADA, MITCHEL                  ADDRESS ON FILE
FELICIANO LUCIANO ELECTRIC AND CONST INC   HC 2 BOX 6732                                                                    ADJUNTAS     PR      00601
FELICIANO LUCIANO, ISAMAR                  ADDRESS ON FILE
FELICIANO LUCIANO, RUTH E                  ADDRESS ON FILE
FELICIANO LUGO, BENJAMIN                   ADDRESS ON FILE
FELICIANO LUGO, DALIA                      ADDRESS ON FILE
FELICIANO LUGO, HERIBERTO                  ADDRESS ON FILE
FELICIANO LUGO, LUIS                       ADDRESS ON FILE
FELICIANO LUGO, MARIA G                    ADDRESS ON FILE
FELICIANO LUGO, MIGUEL                     ADDRESS ON FILE
FELICIANO LUINA, CARLOS                    ADDRESS ON FILE
FELICIANO LUINA, JUAN                      ADDRESS ON FILE
FELICIANO LUNA, EMANUEL                    ADDRESS ON FILE
FELICIANO MACHADO, NELSON                  ADDRESS ON FILE
Feliciano Madera, Armando                  ADDRESS ON FILE
FELICIANO MAIZONET QUINONES                ADDRESS ON FILE
FELICIANO MALAVE, ANGEL                    ADDRESS ON FILE
Feliciano Malave, Angel E.                 ADDRESS ON FILE
Feliciano Malave, Maria A                  ADDRESS ON FILE
FELICIANO MALDONADO, AFORTUNADO            ADDRESS ON FILE
FELICIANO MALDONADO, FELIPE                ADDRESS ON FILE
FELICIANO MALDONADO, HARRY                 ADDRESS ON FILE
FELICIANO MALDONADO, JOSE E                ADDRESS ON FILE
FELICIANO MALDONADO, JUAN                  ADDRESS ON FILE
FELICIANO MALDONADO, MARTA O.              ADDRESS ON FILE
FELICIANO MALDONADO, NOELIA I              ADDRESS ON FILE
FELICIANO MALDONADO, OMAYRA                ADDRESS ON FILE
FELICIANO MALDONADO, SANDRA M              ADDRESS ON FILE
FELICIANO MARCUCCI, ANDRES                 ADDRESS ON FILE




                                                                                       Page 2728 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2729 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO MARCUCCI, EVELYN      ADDRESS ON FILE
FELICIANO MARCUCCI, GERARDO     ADDRESS ON FILE
FELICIANO MARISELA NIEVES       ADDRESS ON FILE
FELICIANO MARQUEZ, DENISE       ADDRESS ON FILE
FELICIANO MARQUEZ, FREDDIE      ADDRESS ON FILE
FELICIANO MARQUEZ, JANICE       ADDRESS ON FILE
FELICIANO MARQUEZ, RAFAEL       ADDRESS ON FILE
FELICIANO MARRERO, CLARITZA     ADDRESS ON FILE
FELICIANO MARRERO, ELIZABETH    ADDRESS ON FILE
FELICIANO MARTES, CARMEN M      ADDRESS ON FILE
FELICIANO MARTES, JOSE          ADDRESS ON FILE
FELICIANO MARTINEZ, AARON       ADDRESS ON FILE
Feliciano Martinez, Carlos O.   ADDRESS ON FILE
FELICIANO MARTINEZ, CARMEN R    ADDRESS ON FILE
FELICIANO MARTINEZ, DELIA       ADDRESS ON FILE
FELICIANO MARTINEZ, DENNIS      ADDRESS ON FILE
Feliciano Martinez, Elisha      ADDRESS ON FILE
FELICIANO MARTINEZ, GILBERT     ADDRESS ON FILE
FELICIANO MARTINEZ, HAYDEE      ADDRESS ON FILE
FELICIANO MARTINEZ, IVAN        ADDRESS ON FILE
FELICIANO MARTINEZ, JOAQUIN     ADDRESS ON FILE
FELICIANO MARTINEZ, JOSE M      ADDRESS ON FILE
FELICIANO MARTINEZ, JOVANI      ADDRESS ON FILE
FELICIANO MARTINEZ, KETSY ANN   ADDRESS ON FILE
FELICIANO MARTINEZ, LUIS        ADDRESS ON FILE
FELICIANO MARTINEZ, LYDIA       ADDRESS ON FILE
FELICIANO MARTINEZ, MARIA       ADDRESS ON FILE
FELICIANO MARTINEZ, MARILYN C   ADDRESS ON FILE
FELICIANO MARTINEZ, MELODY M    ADDRESS ON FILE
FELICIANO MARTINEZ, MIGUEL      ADDRESS ON FILE
FELICIANO MARTINEZ, REBECCA     ADDRESS ON FILE
FELICIANO MARTINEZ, SALVADOR    ADDRESS ON FILE
FELICIANO MARTINEZ, TERESA      ADDRESS ON FILE
FELICIANO MARTINEZ, XIOMARA     ADDRESS ON FILE
FELICIANO MARTINEZ, XIOMARA     ADDRESS ON FILE
FELICIANO MARTIR, HECTOR N      ADDRESS ON FILE
FELICIANO MARTIR, JANNETTE      ADDRESS ON FILE
FELICIANO MARTIR, WANDA         ADDRESS ON FILE
FELICIANO MASSANET, LUIS E.     ADDRESS ON FILE
FELICIANO MATEO, EDNA           ADDRESS ON FILE
Feliciano Matias, Alexis        ADDRESS ON FILE
FELICIANO MATIAS, MADELINE      ADDRESS ON FILE
FELICIANO MATIAS, ZORAIDA       ADDRESS ON FILE
FELICIANO MATOS, ADAMARYS       ADDRESS ON FILE
FELICIANO MATOS, ALVIN          ADDRESS ON FILE
FELICIANO MATOS, CHRISTIAN      ADDRESS ON FILE
FELICIANO MATOS, CRISTINA C.    ADDRESS ON FILE
FELICIANO MATOS, CYNTHIA        ADDRESS ON FILE
FELICIANO MATOS, ELADIO         ADDRESS ON FILE
FELICIANO MATOS, JOHNYRAM       ADDRESS ON FILE
FELICIANO MATOS, JOSE           ADDRESS ON FILE
FELICIANO MATOS, LILLIAM H      ADDRESS ON FILE
FELICIANO MD, BENIGNO           ADDRESS ON FILE
FELICIANO MEDINA, ADMA M        ADDRESS ON FILE
FELICIANO MEDINA, CARMEN G      ADDRESS ON FILE
FELICIANO MEDINA, DOLLY         ADDRESS ON FILE
FELICIANO MEDINA, DOLLY E       ADDRESS ON FILE
FELICIANO MEDINA, JOSE D        ADDRESS ON FILE
FELICIANO MEDINA, JULIO         ADDRESS ON FILE
FELICIANO MEDINA, MIGUEL        ADDRESS ON FILE




                                                                            Page 2729 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2730 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO MEDINA, NESTOR O.           ADDRESS ON FILE
FELICIANO MEDINA, NESTOR O.           ADDRESS ON FILE
FELICIANO MEJIAS, FELIPE J            ADDRESS ON FILE
FELICIANO MEJIAS, ISABEL              ADDRESS ON FILE
FELICIANO MELENDEZ, AUDBERTO          ADDRESS ON FILE
FELICIANO MELENDEZ, BRENDA            ADDRESS ON FILE
FELICIANO MELENDEZ, GERARDO L.        ADDRESS ON FILE
FELICIANO MELENDEZ, JISELA            ADDRESS ON FILE
Feliciano Melendez, Jose D            ADDRESS ON FILE
FELICIANO MELENDEZ, JULIO             ADDRESS ON FILE
Feliciano Melendez, Luis A.           ADDRESS ON FILE
FELICIANO MELENDEZ, MARIA DE LOS A.   ADDRESS ON FILE
FELICIANO MELENDEZ, MIGUEL            ADDRESS ON FILE
FELICIANO MELENDEZ, WANDA             ADDRESS ON FILE
Feliciano Mendez, Alejandro           ADDRESS ON FILE
FELICIANO MENDEZ, ANGIE M             ADDRESS ON FILE
FELICIANO MENDEZ, ANIBAL              ADDRESS ON FILE
Feliciano Mendez, Carmen A.           ADDRESS ON FILE
FELICIANO MENDEZ, CARMEN S            ADDRESS ON FILE
FELICIANO MENDEZ, ERNESTINA           ADDRESS ON FILE
FELICIANO MENDEZ, GENOVEVA            ADDRESS ON FILE
FELICIANO MENDEZ, GLADYS M            ADDRESS ON FILE
FELICIANO MENDEZ, JAVIER              ADDRESS ON FILE
FELICIANO MENDEZ, JUAN                ADDRESS ON FILE
FELICIANO MENDEZ, MARIA P             ADDRESS ON FILE
FELICIANO MENDEZ, MARITZA L           ADDRESS ON FILE
FELICIANO MENDEZ, MISAEL              ADDRESS ON FILE
FELICIANO MENDEZ, MONSERRATE          ADDRESS ON FILE
FELICIANO MENDEZ, NEREIDA             ADDRESS ON FILE
FELICIANO MENDEZ, OSCAR               ADDRESS ON FILE
FELICIANO MENDEZ, SANTOS              ADDRESS ON FILE
FELICIANO MENDEZ, ZAIDA M             ADDRESS ON FILE
FELICIANO MERCADO, EZEQUIEL           ADDRESS ON FILE
FELICIANO MERCADO, GUILLERMO          ADDRESS ON FILE
FELICIANO MERCADO, HECTOR E.          ADDRESS ON FILE
Feliciano Mercado, Ismael             ADDRESS ON FILE
FELICIANO MERCADO, IVAN               ADDRESS ON FILE
FELICIANO MERCADO, JAVIER A           ADDRESS ON FILE
Feliciano Mercado, Joel               ADDRESS ON FILE
FELICIANO MERCADO, RUTH Y.            ADDRESS ON FILE
FELICIANO MERCADO, SVETLANA J         ADDRESS ON FILE
FELICIANO MERCED, MATIS               ADDRESS ON FILE
FELICIANO MINCA, FELIX H              ADDRESS ON FILE
Feliciano Minca, Yelitza              ADDRESS ON FILE
FELICIANO MINGUELA, MINERVA           ADDRESS ON FILE
FELICIANO MIRANDA, ANDRES             ADDRESS ON FILE
FELICIANO MIRANDA, CARLA F            ADDRESS ON FILE
FELICIANO MIRANDA, DAVID              ADDRESS ON FILE
FELICIANO MIRANDA, IVAN               ADDRESS ON FILE
FELICIANO MIRANDA, IVAN               ADDRESS ON FILE
FELICIANO MIRANDA, LANDY MAR          ADDRESS ON FILE
FELICIANO MISLA, EDWIN                ADDRESS ON FILE
FELICIANO MISLA, GLENDALIZ            ADDRESS ON FILE
FELICIANO MISLA, ORLANDO              ADDRESS ON FILE
FELICIANO MISLA, SANDRA J.            ADDRESS ON FILE
FELICIANO MOJICA, MARIA D             ADDRESS ON FILE
FELICIANO MOJICA, MARIA DE            ADDRESS ON FILE
FELICIANO MOLINA, MAYRA               ADDRESS ON FILE
FELICIANO MOLINARY, MARTA E           ADDRESS ON FILE
FELICIANO MONELL, ADAN                ADDRESS ON FILE




                                                                                  Page 2730 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2731 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO MONELL, JOSEAN        ADDRESS ON FILE
FELICIANO MONELL, KAREN O       ADDRESS ON FILE
FELICIANO MONELL, MISAEL        ADDRESS ON FILE
FELICIANO MONROIG, JORGE        ADDRESS ON FILE
FELICIANO MONTALVO, NICOLE A    ADDRESS ON FILE
FELICIANO MONTIJO, ILIANA       ADDRESS ON FILE
FELICIANO MONTILLA, ERMELINDA   ADDRESS ON FILE
FELICIANO MONTILLA, MARTA       ADDRESS ON FILE
FELICIANO MORALES MD, WILLIAM   ADDRESS ON FILE
FELICIANO MORALES, ANDRES       ADDRESS ON FILE
FELICIANO MORALES, BARBARA      ADDRESS ON FILE
FELICIANO MORALES, DAVID F      ADDRESS ON FILE
FELICIANO MORALES, EDGAR        ADDRESS ON FILE
FELICIANO MORALES, EDISON       ADDRESS ON FILE
FELICIANO MORALES, EDWIN D      ADDRESS ON FILE
FELICIANO MORALES, HECTOR       ADDRESS ON FILE
FELICIANO MORALES, IBIS M       ADDRESS ON FILE
FELICIANO MORALES, JOSUE O.     ADDRESS ON FILE
FELICIANO MORALES, LESLIE       ADDRESS ON FILE
FELICIANO MORALES, MARIEL       ADDRESS ON FILE
FELICIANO MORALES, MARIEL Z     ADDRESS ON FILE
Feliciano Morales, Mariel Z     ADDRESS ON FILE
FELICIANO MORALES, NEIZA        ADDRESS ON FILE
FELICIANO MORALES, NORBERT J    ADDRESS ON FILE
FELICIANO MORALES, NORMA E      ADDRESS ON FILE
FELICIANO MORALES, RAUL         ADDRESS ON FILE
FELICIANO MORALES, ROBERTO      ADDRESS ON FILE
FELICIANO MORALES, WANDALIZ     ADDRESS ON FILE
FELICIANO MORALES, XIOMARA      ADDRESS ON FILE
FELICIANO MORALES, YARELI       ADDRESS ON FILE
FELICIANO MORENO, IRIS M        ADDRESS ON FILE
FELICIANO MORLES, EVA L         ADDRESS ON FILE
FELICIANO MOYA, CARINELL        ADDRESS ON FILE
FELICIANO MOYA, LUZ             ADDRESS ON FILE
FELICIANO MUNIZ, CELY I         ADDRESS ON FILE
FELICIANO MUNIZ, DAVID          ADDRESS ON FILE
FELICIANO MUNIZ, ERNESTO        ADDRESS ON FILE
FELICIANO MUNIZ, MIGUEL A       ADDRESS ON FILE
FELICIANO MUNIZ, NAISHA         ADDRESS ON FILE
FELICIANO MUNIZ, NELSON         ADDRESS ON FILE
FELICIANO MUNOZ, KAREN L        ADDRESS ON FILE
FELICIANO MUNOZ, RAUL           ADDRESS ON FILE
FELICIANO MUQOZ, PEDRO          ADDRESS ON FILE
FELICIANO NAZARIO, JAMES        ADDRESS ON FILE
FELICIANO NEGRON, JANET         ADDRESS ON FILE
FELICIANO NEGRON, JESSICA       ADDRESS ON FILE
FELICIANO NEGRON, JOSUE         ADDRESS ON FILE
Feliciano Negron, Juan Manuel   ADDRESS ON FILE
FELICIANO NEGRON, MAYRA         ADDRESS ON FILE
FELICIANO NIEVES, AIDA          ADDRESS ON FILE
FELICIANO NIEVES, ALBERTO       ADDRESS ON FILE
Feliciano Nieves, Alvaro        ADDRESS ON FILE
FELICIANO NIEVES, ANA           ADDRESS ON FILE
Feliciano Nieves, Armando J     ADDRESS ON FILE
FELICIANO NIEVES, AWILDA E      ADDRESS ON FILE
FELICIANO NIEVES, DARVIN        ADDRESS ON FILE
FELICIANO NIEVES, EDGARDO       ADDRESS ON FILE
FELICIANO NIEVES, GABRIEL       ADDRESS ON FILE
FELICIANO NIEVES, GIL           ADDRESS ON FILE
FELICIANO NIEVES, JACQUELINE    ADDRESS ON FILE




                                                                            Page 2731 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2732 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO NIEVES, LOURDES       ADDRESS ON FILE
FELICIANO NIEVES, LUIS          ADDRESS ON FILE
Feliciano Nieves, Moises        ADDRESS ON FILE
FELICIANO NIEVES, MOISES        ADDRESS ON FILE
FELICIANO NIEVES, RUFINO        ADDRESS ON FILE
FELICIANO NIEVES, SONIA         ADDRESS ON FILE
FELICIANO NIEVES, WALDEMAR      ADDRESS ON FILE
Feliciano Nieves, William       ADDRESS ON FILE
FELICIANO NIEVES, YAMIRA        ADDRESS ON FILE
FELICIANO NUNEZ, ZAIRA          ADDRESS ON FILE
FELICIANO OCANA, YADIRA         ADDRESS ON FILE
FELICIANO OCASIO, LOURDES       ADDRESS ON FILE
FELICIANO OCASIO, LUIS A        ADDRESS ON FILE
FELICIANO OCASIO, MAIDELYN      ADDRESS ON FILE
FELICIANO OCTTAVIANI, SAUL      ADDRESS ON FILE
FELICIANO OLAN, DANESA I        ADDRESS ON FILE
FELICIANO OLAN, JUAN R          ADDRESS ON FILE
FELICIANO OLAN, MYRNA           ADDRESS ON FILE
FELICIANO OLAN, SANTIAGO        ADDRESS ON FILE
FELICIANO OLAN, WALESKA         ADDRESS ON FILE
FELICIANO OLAN, WALESKA         ADDRESS ON FILE
FELICIANO OLAVARRIA, CARLOS     ADDRESS ON FILE
FELICIANO OLAVARRIA, ISABELO    ADDRESS ON FILE
FELICIANO OLIVENCIA, ISMAEL     ADDRESS ON FILE
FELICIANO OLIVENCIA, TEODORO    ADDRESS ON FILE
Feliciano Olivera, Fernando     ADDRESS ON FILE
FELICIANO OLIVERAS, CARLOS A    ADDRESS ON FILE
FELICIANO OLIVERAS, EMILSE      ADDRESS ON FILE
FELICIANO OLIVO, ALEJANDRO      ADDRESS ON FILE
Feliciano Olmo, Abigail         ADDRESS ON FILE
FELICIANO OQUENDO, BENJAMIN     ADDRESS ON FILE
FELICIANO OQUENDO, WILFREDO     ADDRESS ON FILE
FELICIANO ORENGO, LERCY         ADDRESS ON FILE
FELICIANO ORENGO, TERESA DE J   ADDRESS ON FILE
FELICIANO ORENGO, VIRGINIA      ADDRESS ON FILE
FELICIANO ORENGO, WILMER        ADDRESS ON FILE
FELICIANO ORTEGA, JORGE         ADDRESS ON FILE
FELICIANO ORTEGA, LUZ E.        ADDRESS ON FILE
FELICIANO ORTEGA, PEDRO A       ADDRESS ON FILE
FELICIANO ORTIZ, ANGEL R        ADDRESS ON FILE
FELICIANO ORTIZ, ARELIS         ADDRESS ON FILE
FELICIANO ORTIZ, AWILDA         ADDRESS ON FILE
Feliciano Ortiz, Carmen Del P   ADDRESS ON FILE
FELICIANO ORTIZ, CARMEN E       ADDRESS ON FILE
FELICIANO ORTIZ, CARMEN M.      ADDRESS ON FILE
FELICIANO ORTIZ, EDUARDO        ADDRESS ON FILE
FELICIANO ORTIZ, ELVIN          ADDRESS ON FILE
FELICIANO ORTIZ, HERIBERTO      ADDRESS ON FILE
Feliciano Ortiz, Johanna        ADDRESS ON FILE
FELICIANO ORTIZ, JOHANNA        ADDRESS ON FILE
FELICIANO ORTIZ, JOSE           ADDRESS ON FILE
FELICIANO ORTIZ, JOSE L         ADDRESS ON FILE
FELICIANO ORTIZ, MARIA          ADDRESS ON FILE
FELICIANO ORTIZ, MARIA E        ADDRESS ON FILE
FELICIANO ORTIZ, MARIA I.       ADDRESS ON FILE
FELICIANO ORTIZ, MARIA I.       ADDRESS ON FILE
FELICIANO ORTIZ, MARILIN        ADDRESS ON FILE
FELICIANO ORTIZ, MARISABEL      ADDRESS ON FILE
FELICIANO OTERO, JAVIER         ADDRESS ON FILE
FELICIANO PABON, ADORIS         ADDRESS ON FILE




                                                                            Page 2732 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2733 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO PABON, JACINTA       ADDRESS ON FILE
FELICIANO PABON, MARGARITA     ADDRESS ON FILE
Feliciano Pacheco, Angel       ADDRESS ON FILE
FELICIANO PACHECO, CARMEN A    ADDRESS ON FILE
FELICIANO PACHECO, DIGNA W     ADDRESS ON FILE
FELICIANO PACHECO, RICARDO     ADDRESS ON FILE
Feliciano Pacheco, Wilson      ADDRESS ON FILE
FELICIANO PADILLA BENJAMIN     ADDRESS ON FILE
FELICIANO PADILLA, AMARIS J    ADDRESS ON FILE
FELICIANO PADILLA, ANGEL       ADDRESS ON FILE
FELICIANO PADILLA, BRENDALIZ   ADDRESS ON FILE
FELICIANO PADILLA, MIGUEL      ADDRESS ON FILE
FELICIANO PADILLA, WANDA       ADDRESS ON FILE
FELICIANO PADILLA, ZOBEYDA     ADDRESS ON FILE
FELICIANO PADRO, RAMON         ADDRESS ON FILE
FELICIANO PAGAN, ADALBERTO     ADDRESS ON FILE
FELICIANO PAGAN, ANA           ADDRESS ON FILE
FELICIANO PAGAN, ANA I         ADDRESS ON FILE
FELICIANO PAGAN, CARLOS G      ADDRESS ON FILE
FELICIANO PAGAN, JANET M       ADDRESS ON FILE
Feliciano Pagan, Jose J        ADDRESS ON FILE
FELICIANO PAGAN, LISDAMARIE    ADDRESS ON FILE
FELICIANO PAGAN, LUIS F        ADDRESS ON FILE
FELICIANO PAGAN, MADELINE      ADDRESS ON FILE
FELICIANO PAGAN, MARITZA       ADDRESS ON FILE
FELICIANO PAGAN, MARTA M       ADDRESS ON FILE
FELICIANO PAGAN, NELIDA R      ADDRESS ON FILE
FELICIANO PAGAN, TERESA        ADDRESS ON FILE
FELICIANO PAGAN, VANESSA       ADDRESS ON FILE
FELICIANO PALLICIA, SARA M     ADDRESS ON FILE
FELICIANO PALOMO, LEONEL       ADDRESS ON FILE
Feliciano Pe&a, Carlos B       ADDRESS ON FILE
FELICIANO PELLOT, JOEL         ADDRESS ON FILE
FELICIANO PELLOT, LIMARYS      ADDRESS ON FILE
FELICIANO PENA, YEILEEN        ADDRESS ON FILE
FELICIANO PEREIRA, FELICITA    ADDRESS ON FILE
FELICIANO PEREZ MD, JOSE M     ADDRESS ON FILE
FELICIANO PEREZ, ABRAHAM       ADDRESS ON FILE
FELICIANO PEREZ, ADRIAN        ADDRESS ON FILE
FELICIANO PEREZ, ANDERSON      ADDRESS ON FILE
FELICIANO PEREZ, ANGEL L       ADDRESS ON FILE
FELICIANO PEREZ, ARILYN I      ADDRESS ON FILE
FELICIANO PEREZ, ARMANDO       ADDRESS ON FILE
FELICIANO PEREZ, AWILDA N      ADDRESS ON FILE
FELICIANO PEREZ, BRENDA        ADDRESS ON FILE
FELICIANO PEREZ, BRENDA        ADDRESS ON FILE
FELICIANO PEREZ, CARLOS G.     ADDRESS ON FILE
FELICIANO PEREZ, CARMEN        ADDRESS ON FILE
FELICIANO PEREZ, CARMEN E      ADDRESS ON FILE
FELICIANO PEREZ, CARMEN H      ADDRESS ON FILE
FELICIANO PEREZ, CARMEN M      ADDRESS ON FILE
FELICIANO PEREZ, DAHIANA       ADDRESS ON FILE
FELICIANO PEREZ, DANIEL        ADDRESS ON FILE
FELICIANO PEREZ, DIANETTE      ADDRESS ON FILE
FELICIANO PEREZ, DULCIDIO      ADDRESS ON FILE
FELICIANO PEREZ, EDWARD        ADDRESS ON FILE
FELICIANO PEREZ, EFRAIN        ADDRESS ON FILE
FELICIANO PEREZ, ELADIO        ADDRESS ON FILE
FELICIANO PEREZ, ESPERANZA     ADDRESS ON FILE
FELICIANO PEREZ, FELICITA      ADDRESS ON FILE




                                                                           Page 2733 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2734 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Feliciano Perez, Ferdinand      ADDRESS ON FILE
FELICIANO PEREZ, FERDINAND      ADDRESS ON FILE
FELICIANO PEREZ, HAYDEE         ADDRESS ON FILE
FELICIANO PEREZ, HAYDEE         ADDRESS ON FILE
FELICIANO PEREZ, HIRAM          ADDRESS ON FILE
FELICIANO PEREZ, IRMA I.        ADDRESS ON FILE
FELICIANO PEREZ, IVAN           ADDRESS ON FILE
FELICIANO PEREZ, JEANMILETTE    ADDRESS ON FILE
FELICIANO PEREZ, JEANNETTE      ADDRESS ON FILE
FELICIANO PEREZ, JOSE           ADDRESS ON FILE
FELICIANO PEREZ, JUAN           ADDRESS ON FILE
FELICIANO PEREZ, LESBIA N       ADDRESS ON FILE
FELICIANO PEREZ, LUZ            ADDRESS ON FILE
FELICIANO PEREZ, LUZ S          ADDRESS ON FILE
FELICIANO PEREZ, MAGGIE         ADDRESS ON FILE
FELICIANO PEREZ, MARITZA M      ADDRESS ON FILE
FELICIANO PEREZ, MARTINA        ADDRESS ON FILE
FELICIANO PEREZ, MIRTHIA        ADDRESS ON FILE
FELICIANO PEREZ, MYRTA C        ADDRESS ON FILE
Feliciano Perez, Pablo          ADDRESS ON FILE
FELICIANO PEREZ, PABLO          ADDRESS ON FILE
FELICIANO PEREZ, RADAMES        ADDRESS ON FILE
FELICIANO PEREZ, RADAMES        ADDRESS ON FILE
FELICIANO PEREZ, RADAMES        ADDRESS ON FILE
Feliciano Perez, Rafael         ADDRESS ON FILE
Feliciano Perez, Rafael A       ADDRESS ON FILE
FELICIANO PEREZ, SUZETTE        ADDRESS ON FILE
FELICIANO PINERO, LUZ N.        ADDRESS ON FILE
FELICIANO PINTO, LUIS Y         ADDRESS ON FILE
FELICIANO PLA, EDWIN N          ADDRESS ON FILE
FELICIANO PLAZA, ABDUL X.       ADDRESS ON FILE
Feliciano Plaza, Ahiezer        ADDRESS ON FILE
FELICIANO PLAZA, JILDANIE       ADDRESS ON FILE
FELICIANO PLAZA, TAMARA M       ADDRESS ON FILE
FELICIANO PORTALATIN, MARCOS    ADDRESS ON FILE
FELICIANO PORTELA, DELILAH      ADDRESS ON FILE
FELICIANO PRIETO, JULIO HIRAM   ADDRESS ON FILE
FELICIANO PULLIZA, IRVING R     ADDRESS ON FILE
FELICIANO PUMAREJO, GABRIEL     ADDRESS ON FILE
FELICIANO PUMAREJO, JULIO       ADDRESS ON FILE
FELICIANO QUESADA, DANIEL       ADDRESS ON FILE
FELICIANO QUILES, ABRAHAM       ADDRESS ON FILE
FELICIANO QUILES, JUAN R        ADDRESS ON FILE
FELICIANO QUINONES, ANGEL M     ADDRESS ON FILE
FELICIANO QUINONES, CHARLIE     ADDRESS ON FILE
FELICIANO QUINONES, EMANUEL     ADDRESS ON FILE
FELICIANO QUINONES, EVELYN      ADDRESS ON FILE
FELICIANO QUINONES, FLORIE      ADDRESS ON FILE
FELICIANO QUINONES, MICHAEL     ADDRESS ON FILE
FELICIANO QUINONES, MICHAEL     ADDRESS ON FILE
FELICIANO QUINONES, RAFAEL      ADDRESS ON FILE
FELICIANO QUINONEZ, LYDIA E     ADDRESS ON FILE
FELICIANO QUINTANA, EDWIN       ADDRESS ON FILE
FELICIANO QUINTANA, MARISOL     ADDRESS ON FILE
FELICIANO QUIROS, CHRISTIAN     ADDRESS ON FILE
FELICIANO QUIROS, JOSE          ADDRESS ON FILE
FELICIANO QUIROS, JOSE M        ADDRESS ON FILE
FELICIANO RAMIEZ, JORGE         ADDRESS ON FILE
FELICIANO RAMIREZ, CARMEN       ADDRESS ON FILE
FELICIANO RAMIREZ, CHRISTIAN    ADDRESS ON FILE




                                                                            Page 2734 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2735 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO RAMIREZ, EVA V         ADDRESS ON FILE
FELICIANO RAMIREZ, FRANCISCO     ADDRESS ON FILE
Feliciano Ramirez, Guillermo     ADDRESS ON FILE
FELICIANO RAMIREZ, JOHANNIE      ADDRESS ON FILE
FELICIANO RAMIREZ, JOSE          ADDRESS ON FILE
FELICIANO RAMIREZ, JOSE M.       ADDRESS ON FILE
FELICIANO RAMIREZ, JUAN J        ADDRESS ON FILE
FELICIANO RAMIREZ, LILLIAM M     ADDRESS ON FILE
Feliciano Ramirez, Miguel A.     ADDRESS ON FILE
FELICIANO RAMIREZ, NORENID       ADDRESS ON FILE
FELICIANO RAMIREZ, WILFREDO      ADDRESS ON FILE
FELICIANO RAMOS, ALBERTO         ADDRESS ON FILE
FELICIANO RAMOS, AMARILIS        ADDRESS ON FILE
FELICIANO RAMOS, ANA I.          ADDRESS ON FILE
FELICIANO RAMOS, BASILIA         ADDRESS ON FILE
FELICIANO RAMOS, CARMEN          ADDRESS ON FILE
FELICIANO RAMOS, CARMEN A        ADDRESS ON FILE
FELICIANO RAMOS, CHATTERLYS      ADDRESS ON FILE
Feliciano Ramos, Ernesto         ADDRESS ON FILE
FELICIANO RAMOS, HAYDEE          ADDRESS ON FILE
FELICIANO RAMOS, HERMINIO        ADDRESS ON FILE
FELICIANO RAMOS, ILEANA          ADDRESS ON FILE
FELICIANO RAMOS, INGRID          ADDRESS ON FILE
FELICIANO RAMOS, JANICE          ADDRESS ON FILE
FELICIANO RAMOS, JOSE A.         ADDRESS ON FILE
FELICIANO RAMOS, LESLIE A        ADDRESS ON FILE
Feliciano Ramos, Luis A.         ADDRESS ON FILE
FELICIANO RAMOS, MICHELLE        ADDRESS ON FILE
FELICIANO RAMOS, MILDRED M       ADDRESS ON FILE
FELICIANO RAMOS, MIRIAM E        ADDRESS ON FILE
FELICIANO RAMOS, NEREIDA         ADDRESS ON FILE
FELICIANO RAMOS, NOEMI           ADDRESS ON FILE
FELICIANO RAMOS, RAFAEL A        ADDRESS ON FILE
FELICIANO RAMOS, SONIA           ADDRESS ON FILE
FELICIANO RAMOS, VERONICA        ADDRESS ON FILE
FELICIANO RAMOS,MANUEL           ADDRESS ON FILE
FELICIANO RASHID, S              ADDRESS ON FILE
FELICIANO RESTO, LUIS E          ADDRESS ON FILE
FELICIANO REYES, ALICE           ADDRESS ON FILE
FELICIANO REYES, ANGEL           ADDRESS ON FILE
FELICIANO REYES, BARBARA DEL C   ADDRESS ON FILE
FELICIANO REYES, BLANCA I        ADDRESS ON FILE
FELICIANO REYES, CARMEN D        ADDRESS ON FILE
FELICIANO REYES, FRANCISCO G     ADDRESS ON FILE
FELICIANO REYES, GWENDOLLYN      ADDRESS ON FILE
FELICIANO REYES, HECTOR J        ADDRESS ON FILE
FELICIANO REYES, JUAN            ADDRESS ON FILE
FELICIANO REYES, MIGUEL A        ADDRESS ON FILE
FELICIANO REYES, RAMON           ADDRESS ON FILE
FELICIANO RIOS, JAVIER           ADDRESS ON FILE
FELICIANO RIOS, JUAN J           ADDRESS ON FILE
FELICIANO RIOS, MOISES           ADDRESS ON FILE
FELICIANO RIOS, MOISES J.        ADDRESS ON FILE
FELICIANO RIOS, PEDRO A          ADDRESS ON FILE
FELICIANO RIOS, ROSA             ADDRESS ON FILE
FELICIANO RIVERA                 ADDRESS ON FILE
FELICIANO RIVERA CARTAGENA JR    ADDRESS ON FILE
FELICIANO RIVERA MD, CELIA D     ADDRESS ON FILE
FELICIANO RIVERA, ABIMAEL        ADDRESS ON FILE
FELICIANO RIVERA, ABIMAEL        ADDRESS ON FILE




                                                                             Page 2735 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2736 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO RIVERA, ADALBERTO    ADDRESS ON FILE
FELICIANO RIVERA, ADALBERTO    ADDRESS ON FILE
FELICIANO RIVERA, ALBA L       ADDRESS ON FILE
FELICIANO RIVERA, ALICE D      ADDRESS ON FILE
FELICIANO RIVERA, AMANDA       ADDRESS ON FILE
Feliciano Rivera, Arquelio     ADDRESS ON FILE
FELICIANO RIVERA, ASTRID       ADDRESS ON FILE
FELICIANO RIVERA, BIENVENIDA   ADDRESS ON FILE
FELICIANO RIVERA, BILLY        ADDRESS ON FILE
FELICIANO RIVERA, CARLOS A     ADDRESS ON FILE
FELICIANO RIVERA, CARLOS I.    ADDRESS ON FILE
FELICIANO RIVERA, CARMEN L     ADDRESS ON FILE
FELICIANO RIVERA, CARMEN N     ADDRESS ON FILE
FELICIANO RIVERA, CELIMAR      ADDRESS ON FILE
FELICIANO RIVERA, CELSO M      ADDRESS ON FILE
FELICIANO RIVERA, CYNTHIA I.   ADDRESS ON FILE
FELICIANO RIVERA, DAISY        ADDRESS ON FILE
FELICIANO RIVERA, DAVID        ADDRESS ON FILE
FELICIANO RIVERA, DOLLY        ADDRESS ON FILE
FELICIANO RIVERA, ELBA         ADDRESS ON FILE
FELICIANO RIVERA, ELIEL        ADDRESS ON FILE
FELICIANO RIVERA, ELIEZER      ADDRESS ON FILE
FELICIANO RIVERA, ELIZABETH    ADDRESS ON FILE
FELICIANO RIVERA, EZEQUIEL     ADDRESS ON FILE
FELICIANO RIVERA, FERNANDO     ADDRESS ON FILE
FELICIANO RIVERA, FLORIMAR     ADDRESS ON FILE
FELICIANO RIVERA, FRANCISCO    ADDRESS ON FILE
FELICIANO RIVERA, GASPAR       ADDRESS ON FILE
Feliciano Rivera, Gerardo      ADDRESS ON FILE
FELICIANO RIVERA, GLADYS       ADDRESS ON FILE
FELICIANO RIVERA, GLORYBEL     ADDRESS ON FILE
FELICIANO RIVERA, HECTOR M     ADDRESS ON FILE
FELICIANO RIVERA, HENRY        ADDRESS ON FILE
FELICIANO RIVERA, HILDA        ADDRESS ON FILE
FELICIANO RIVERA, HILDA I      ADDRESS ON FILE
FELICIANO RIVERA, IRIS         ADDRESS ON FILE
Feliciano Rivera, Iris S       ADDRESS ON FILE
FELICIANO RIVERA, IRISBELLY    ADDRESS ON FILE
FELICIANO RIVERA, IRMA Y       ADDRESS ON FILE
FELICIANO RIVERA, IVELISSE     ADDRESS ON FILE
FELICIANO RIVERA, IVONNE       ADDRESS ON FILE
FELICIANO RIVERA, JAIME        ADDRESS ON FILE
FELICIANO RIVERA, JALITSA      ADDRESS ON FILE
FELICIANO RIVERA, JENNY        ADDRESS ON FILE
FELICIANO RIVERA, JESSICA      ADDRESS ON FILE
FELICIANO RIVERA, JESUS        ADDRESS ON FILE
FELICIANO RIVERA, JOEL         ADDRESS ON FILE
FELICIANO RIVERA, JOEL         ADDRESS ON FILE
FELICIANO RIVERA, JOSE A.      ADDRESS ON FILE
FELICIANO RIVERA, JUAN         ADDRESS ON FILE
FELICIANO RIVERA, JULIO        ADDRESS ON FILE
FELICIANO RIVERA, JULISSA      ADDRESS ON FILE
Feliciano Rivera, Karla T      ADDRESS ON FILE
FELICIANO RIVERA, LIONEL       ADDRESS ON FILE
FELICIANO RIVERA, LISBETH      ADDRESS ON FILE
FELICIANO RIVERA, LISINETTE    ADDRESS ON FILE
FELICIANO RIVERA, LORRAINE     ADDRESS ON FILE
FELICIANO RIVERA, LUIS         ADDRESS ON FILE
FELICIANO RIVERA, LUZ M        ADDRESS ON FILE
FELICIANO RIVERA, LUZ M        ADDRESS ON FILE




                                                                           Page 2736 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2737 of 3500
                                                                                17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                    Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
FELICIANO RIVERA, LUZ N.         ADDRESS ON FILE
FELICIANO RIVERA, MARIELY        ADDRESS ON FILE
FELICIANO RIVERA, MARIELY        ADDRESS ON FILE
FELICIANO RIVERA, MARILYN        ADDRESS ON FILE
FELICIANO RIVERA, MARISOL        ADDRESS ON FILE
FELICIANO RIVERA, MAXIMINO       ADDRESS ON FILE
FELICIANO RIVERA, MELVIN         ADDRESS ON FILE
FELICIANO RIVERA, MELVIN D       ADDRESS ON FILE
FELICIANO RIVERA, MERCEDES       ADDRESS ON FILE
Feliciano Rivera, Michael A.     ADDRESS ON FILE
FELICIANO RIVERA, MIGUEL         ADDRESS ON FILE
FELICIANO RIVERA, MINERVA        ADDRESS ON FILE
FELICIANO RIVERA, MYRNAELISSE    ADDRESS ON FILE
FELICIANO RIVERA, NILDA L.       ADDRESS ON FILE
FELICIANO RIVERA, NILSA L        ADDRESS ON FILE
FELICIANO RIVERA, NIXALIE        ADDRESS ON FILE
FELICIANO RIVERA, NIXALIE        ADDRESS ON FILE
FELICIANO RIVERA, NOEL E         ADDRESS ON FILE
FELICIANO RIVERA, NYDIA R        ADDRESS ON FILE
FELICIANO RIVERA, OMAYRA         ADDRESS ON FILE
Feliciano Rivera, Orlando        ADDRESS ON FILE
FELICIANO RIVERA, PABLO J.       ADDRESS ON FILE
FELICIANO RIVERA, PETRY M.       ADDRESS ON FILE
FELICIANO RIVERA, RAFAEL         ADDRESS ON FILE
FELICIANO RIVERA, RICARDO        ADDRESS ON FILE
FELICIANO RIVERA, ROSA           ADDRESS ON FILE
Feliciano Rivera, Ruben          ADDRESS ON FILE
FELICIANO RIVERA, SAMUEL         ADDRESS ON FILE
FELICIANO RIVERA, SOL J          ADDRESS ON FILE
FELICIANO RIVERA, TANIA          ADDRESS ON FILE
FELICIANO RIVERA, WILFREDO       ADDRESS ON FILE
FELICIANO RIVERA, WILFREDO       ADDRESS ON FILE
Feliciano Rivera, William        ADDRESS ON FILE
FELICIANO RIVERA, WILLIAM        ADDRESS ON FILE
Feliciano Rivera, Yamilet N.     ADDRESS ON FILE
FELICIANO RIVERA, YAMIRA         ADDRESS ON FILE
FELICIANO RIVERA, YELISSA        ADDRESS ON FILE
FELICIANO RIVERA, YESSICA        ADDRESS ON FILE
FELICIANO RIVERA, ZENAIDA        ADDRESS ON FILE
FELICIANO RIVERA, ZORAIDA        ADDRESS ON FILE
FELICIANO ROBERTS, LUIS          ADDRESS ON FILE
FELICIANO ROBLES, DARLENE D      ADDRESS ON FILE
FELICIANO ROBLES, ISMAEL         ADDRESS ON FILE
FELICIANO ROBLES, NEISHMA        ADDRESS ON FILE
FELICIANO ROBLES, ROBERTO        ALEXANDRA NOLLA           3051 AVE JUAN HERNANDEZ ORTIZ STE 202                           ISABELA      PR      00662
FELICIANO ROBLES, ROBERTO        ALONDRA FRAGA             PO BOX 29074                                                    SAN JUAN     PR      00929
FELICIANO ROBLES, ROBERTO        DAVID FERNANDEZ ESTEVES   PO BOX 9022563                                                  SAN JUAN     PR      00902‐2563
FELICIANO ROBLES, ROBERTO        HOSTOS GALLARDO           PO BOX 70244                                                    SAN JUAN     PR      00936‐8244
FELICIANO ROBLES, ROBERTO        MARIANA FRAGA             PO BOX 29074                                                    SAN JUAN     PR      00929
FELICIANO ROBLES, RUTH N         ADDRESS ON FILE
FELICIANO ROBLES, SONIA          ADDRESS ON FILE
FELICIANO ROBLES, WILLIAM        ADDRESS ON FILE
Feliciano Rodr, Francisco J      ADDRESS ON FILE
Feliciano Rodrigue, Domingo      ADDRESS ON FILE
Feliciano Rodrigue, Gracian      ADDRESS ON FILE
FELICIANO RODRIGUEZ MD, DAPHNE   ADDRESS ON FILE
FELICIANO RODRIGUEZ, ALBA I      ADDRESS ON FILE
FELICIANO RODRIGUEZ, ALEXIS      ADDRESS ON FILE
FELICIANO RODRIGUEZ, ALICIA      ADDRESS ON FILE
FELICIANO RODRIGUEZ, ALNED       ADDRESS ON FILE




                                                                                      Page 2737 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2738 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO RODRIGUEZ, AMARILIS      ADDRESS ON FILE
FELICIANO RODRIGUEZ, ANA E         ADDRESS ON FILE
FELICIANO RODRIGUEZ, ANA I         ADDRESS ON FILE
FELICIANO RODRIGUEZ, ANA L         ADDRESS ON FILE
FELICIANO RODRIGUEZ, ANGEL L       ADDRESS ON FILE
FELICIANO RODRIGUEZ, ANTONIO       ADDRESS ON FILE
FELICIANO RODRIGUEZ, ARMARYS       ADDRESS ON FILE
FELICIANO RODRIGUEZ, BEATRIZ       ADDRESS ON FILE
FELICIANO RODRIGUEZ, CARLOS        ADDRESS ON FILE
FELICIANO RODRIGUEZ, CARLOS A      ADDRESS ON FILE
Feliciano Rodriguez, Carlos A.     ADDRESS ON FILE
Feliciano Rodriguez, Carmen D.     ADDRESS ON FILE
Feliciano Rodriguez, Christian     ADDRESS ON FILE
Feliciano Rodriguez, Clara I       ADDRESS ON FILE
FELICIANO RODRIGUEZ, DAMARIS       ADDRESS ON FILE
FELICIANO RODRIGUEZ, DAPHNE        ADDRESS ON FILE
FELICIANO RODRIGUEZ, DINAH         ADDRESS ON FILE
FELICIANO RODRIGUEZ, EDDIE         ADDRESS ON FILE
FELICIANO RODRIGUEZ, EDDIE N       ADDRESS ON FILE
FELICIANO RODRIGUEZ, EDGARDO       ADDRESS ON FILE
FELICIANO RODRIGUEZ, ELIZABETH     ADDRESS ON FILE
FELICIANO RODRIGUEZ, EVANILDA      ADDRESS ON FILE
FELICIANO RODRIGUEZ, FABIAN        ADDRESS ON FILE
FELICIANO RODRIGUEZ, FLOR          ADDRESS ON FILE
FELICIANO RODRIGUEZ, GLORIA        ADDRESS ON FILE
FELICIANO RODRIGUEZ, HAYDI         ADDRESS ON FILE
FELICIANO RODRIGUEZ, HECTOR L.     ADDRESS ON FILE
FELICIANO RODRIGUEZ, IDEL          ADDRESS ON FILE
Feliciano Rodriguez, Irving        ADDRESS ON FILE
FELICIANO RODRIGUEZ, JACKELINE     ADDRESS ON FILE
FELICIANO RODRIGUEZ, JEANETTE      ADDRESS ON FILE
FELICIANO RODRIGUEZ, JELLY         ADDRESS ON FILE
FELICIANO RODRIGUEZ, JENNIFER      ADDRESS ON FILE
FELICIANO RODRIGUEZ, JOANA         ADDRESS ON FILE
FELICIANO RODRIGUEZ, JONATHAN      ADDRESS ON FILE
FELICIANO RODRIGUEZ, JORGE         ADDRESS ON FILE
FELICIANO RODRIGUEZ, JOSE A.       ADDRESS ON FILE
Feliciano Rodriguez, Jose H        ADDRESS ON FILE
FELICIANO RODRIGUEZ, JOSE L        ADDRESS ON FILE
Feliciano Rodriguez, Jose L        ADDRESS ON FILE
FELICIANO RODRIGUEZ, JOSE L        ADDRESS ON FILE
FELICIANO RODRIGUEZ, JUAN          ADDRESS ON FILE
FELICIANO RODRIGUEZ, JUAN          ADDRESS ON FILE
FELICIANO RODRIGUEZ, JUAN          ADDRESS ON FILE
FELICIANO RODRIGUEZ, KELVIN        ADDRESS ON FILE
FELICIANO RODRIGUEZ, LENICE        ADDRESS ON FILE
FELICIANO RODRIGUEZ, LIZZETTE      ADDRESS ON FILE
FELICIANO RODRIGUEZ, LIZZETTE      ADDRESS ON FILE
FELICIANO RODRIGUEZ, LUIS          ADDRESS ON FILE
FELICIANO RODRIGUEZ, LUIS          ADDRESS ON FILE
FELICIANO RODRIGUEZ, MADELINE      ADDRESS ON FILE
FELICIANO RODRIGUEZ, MAGALY        ADDRESS ON FILE
FELICIANO RODRIGUEZ, MARGARITA     ADDRESS ON FILE
FELICIANO RODRIGUEZ, MARIA DEL C   ADDRESS ON FILE
FELICIANO RODRIGUEZ, MARIANA       ADDRESS ON FILE
FELICIANO RODRIGUEZ, MARIBEL       ADDRESS ON FILE
FELICIANO RODRIGUEZ, MARIELYS      ADDRESS ON FILE
Feliciano Rodriguez, Marta         ADDRESS ON FILE
FELICIANO RODRIGUEZ, MARTA         ADDRESS ON FILE
FELICIANO RODRIGUEZ, MERCEDES      ADDRESS ON FILE




                                                                               Page 2738 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2739 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO RODRIGUEZ, MICHELLE    ADDRESS ON FILE
FELICIANO RODRIGUEZ, OCTAVIO     ADDRESS ON FILE
FELICIANO RODRIGUEZ, OLGA E      ADDRESS ON FILE
FELICIANO RODRIGUEZ, OLGA L.     ADDRESS ON FILE
FELICIANO RODRIGUEZ, ORLANDO     ADDRESS ON FILE
FELICIANO RODRIGUEZ, PEDRO A     ADDRESS ON FILE
FELICIANO RODRIGUEZ, QUINO       ADDRESS ON FILE
FELICIANO RODRIGUEZ, RAMON       ADDRESS ON FILE
FELICIANO RODRIGUEZ, REINALDO    ADDRESS ON FILE
FELICIANO RODRIGUEZ, REYMOND     ADDRESS ON FILE
FELICIANO RODRIGUEZ, RICARDO     ADDRESS ON FILE
FELICIANO RODRIGUEZ, RICARDO L   ADDRESS ON FILE
FELICIANO RODRIGUEZ, ROSA Z      ADDRESS ON FILE
FELICIANO RODRIGUEZ, ROSANNA     ADDRESS ON FILE
FELICIANO RODRIGUEZ, SAMUEL      ADDRESS ON FILE
FELICIANO RODRIGUEZ, SANDRA      ADDRESS ON FILE
FELICIANO RODRIGUEZ, TASSYN      ADDRESS ON FILE
FELICIANO RODRIGUEZ, VICTOR      ADDRESS ON FILE
Feliciano Rodriguez, Victor M    ADDRESS ON FILE
Feliciano Rodriguez, Walter      ADDRESS ON FILE
FELICIANO RODRIGUEZ, WILDELIA    ADDRESS ON FILE
FELICIANO RODRIGUEZ, ZOE M       ADDRESS ON FILE
FELICIANO ROJAS, MANUELA         ADDRESS ON FILE
FELICIANO ROLDAN, ESMIRNA        ADDRESS ON FILE
Feliciano Roldan, Middelio       ADDRESS ON FILE
FELICIANO ROLDAN, RUTH           ADDRESS ON FILE
FELICIANO ROLON, ANTHONY         ADDRESS ON FILE
FELICIANO ROLON, ENID M          ADDRESS ON FILE
FELICIANO ROLON, MIGUEL          ADDRESS ON FILE
FELICIANO ROMAN, ARMANDO C.      ADDRESS ON FILE
FELICIANO ROMAN, AXEL            ADDRESS ON FILE
Feliciano Roman, Genaro          ADDRESS ON FILE
FELICIANO ROMAN, JOHNNY A        ADDRESS ON FILE
FELICIANO ROMAN, JOSE F          ADDRESS ON FILE
FELICIANO ROMAN, JOSIANE A       ADDRESS ON FILE
FELICIANO ROMAN, MAG LARI        ADDRESS ON FILE
FELICIANO ROMAN, RUTH N          ADDRESS ON FILE
Feliciano Romero, Angel L        ADDRESS ON FILE
FELICIANO ROMERO, NATANAEL       ADDRESS ON FILE
Feliciano Rosa, Edwin            ADDRESS ON FILE
FELICIANO ROSA, ESTEBAN          ADDRESS ON FILE
FELICIANO ROSA, KIARA L          ADDRESS ON FILE
FELICIANO ROSA, MIRTA            ADDRESS ON FILE
FELICIANO ROSA, REBECA           ADDRESS ON FILE
FELICIANO ROSA, RUTH             ADDRESS ON FILE
FELICIANO ROSADO, ANA M.         ADDRESS ON FILE
FELICIANO ROSADO, ANGELA         ADDRESS ON FILE
FELICIANO ROSADO, CARMEN P       ADDRESS ON FILE
FELICIANO ROSADO, DANIEL         ADDRESS ON FILE
FELICIANO ROSADO, EDITH          ADDRESS ON FILE
FELICIANO ROSADO, IDA L          ADDRESS ON FILE
FELICIANO ROSADO, JARITZA        ADDRESS ON FILE
FELICIANO ROSADO, JESSICA        ADDRESS ON FILE
FELICIANO ROSADO, JESUS          ADDRESS ON FILE
FELICIANO ROSADO, LISBETH        ADDRESS ON FILE
FELICIANO ROSADO, MAIRA I        ADDRESS ON FILE
Feliciano Rosado, Miguel Angel   ADDRESS ON FILE
FELICIANO ROSADO, NELIDA         ADDRESS ON FILE
FELICIANO ROSADO, ODILIO         ADDRESS ON FILE
FELICIANO ROSADO, ROBERTO        ADDRESS ON FILE




                                                                             Page 2739 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2740 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO ROSADO, WILLIAM       ADDRESS ON FILE
FELICIANO ROSARIO, ADELAIDA     ADDRESS ON FILE
FELICIANO ROSARIO, ANA D        ADDRESS ON FILE
FELICIANO ROSARIO, GLADYS       ADDRESS ON FILE
FELICIANO ROSARIO, ISABEL       ADDRESS ON FILE
FELICIANO ROSARIO, JORGE        ADDRESS ON FILE
FELICIANO ROSARIO, OVELIS F     ADDRESS ON FILE
FELICIANO ROVIRA, JANELLE       ADDRESS ON FILE
FELICIANO RUBERTE, ROBERTO      ADDRESS ON FILE
FELICIANO RUIZ, AIDA            ADDRESS ON FILE
FELICIANO RUIZ, AIDA L          ADDRESS ON FILE
FELICIANO RUIZ, AIDA L          ADDRESS ON FILE
FELICIANO RUIZ, BRENDA I        ADDRESS ON FILE
FELICIANO RUIZ, BRENDALIZ       ADDRESS ON FILE
Feliciano Ruiz, Carlos          ADDRESS ON FILE
FELICIANO RUIZ, CHRISTOPHER     ADDRESS ON FILE
FELICIANO RUIZ, DOMINGA         ADDRESS ON FILE
FELICIANO RUIZ, ELIGIO          ADDRESS ON FILE
FELICIANO RUIZ, FERNANDO        ADDRESS ON FILE
FELICIANO RUIZ, IDAMARIS        ADDRESS ON FILE
FELICIANO RUIZ, ISRAEL          ADDRESS ON FILE
FELICIANO RUIZ, JOSE L.         ADDRESS ON FILE
FELICIANO RUIZ, JUAN            ADDRESS ON FILE
FELICIANO RUIZ, JULIA           ADDRESS ON FILE
FELICIANO RUIZ, LILLIAM         ADDRESS ON FILE
FELICIANO RUIZ, LUZ M           ADDRESS ON FILE
FELICIANO RUIZ, LYDIA J.        ADDRESS ON FILE
FELICIANO RUIZ, MAGALY          ADDRESS ON FILE
FELICIANO RUIZ, MARIA A         ADDRESS ON FILE
FELICIANO RUIZ, NILSA           ADDRESS ON FILE
FELICIANO RUIZ, OLGA            ADDRESS ON FILE
FELICIANO RUIZ, ROSEDELY        ADDRESS ON FILE
FELICIANO RUIZ, TERESA          ADDRESS ON FILE
FELICIANO RUIZ, WANDA           ADDRESS ON FILE
FELICIANO RUIZ, YARITZA         ADDRESS ON FILE
FELICIANO RUPERTO, ALEXIS       ADDRESS ON FILE
FELICIANO SAEZ, GABRIEL         ADDRESS ON FILE
FELICIANO SAEZ, OMAYRA          ADDRESS ON FILE
FELICIANO SAEZ, OMAYRA          ADDRESS ON FILE
FELICIANO SAGARDIA, JOSE        ADDRESS ON FILE
FELICIANO SALCEDO, MILDRED      ADDRESS ON FILE
FELICIANO SALVA, JUAN C         ADDRESS ON FILE
FELICIANO SAMBOLIN, EDWIN       ADDRESS ON FILE
FELICIANO SAMBOLIN, EDWIN       ADDRESS ON FILE
FELICIANO SAMOT, BIENVENIDO     ADDRESS ON FILE
FELICIANO SAMOT, WALDEMAR       ADDRESS ON FILE
FELICIANO SANABRIA              ADDRESS ON FILE
FELICIANO SANABRIA, ELBA I      ADDRESS ON FILE
FELICIANO SANABRIA, ROSA        ADDRESS ON FILE
FELICIANO SANCHEZ, AIMEE        ADDRESS ON FILE
FELICIANO SANCHEZ, ALEXANDER    ADDRESS ON FILE
FELICIANO SANCHEZ, ANGEL        ADDRESS ON FILE
FELICIANO SANCHEZ, BRENDA LIZ   ADDRESS ON FILE
FELICIANO SANCHEZ, CLAUDIA      ADDRESS ON FILE
FELICIANO SANCHEZ, EDGARDO      ADDRESS ON FILE
FELICIANO SANCHEZ, GLORIA       ADDRESS ON FILE
FELICIANO SANCHEZ, JEIDALYS     ADDRESS ON FILE
FELICIANO SANCHEZ, JORGE        ADDRESS ON FILE
FELICIANO SANCHEZ, LUZ D        ADDRESS ON FILE
FELICIANO SANCHEZ, LUZ M        ADDRESS ON FILE




                                                                            Page 2740 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2741 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO SANCHEZ, LYNNETTE        ADDRESS ON FILE
FELICIANO SANCHEZ, MARITZA         ADDRESS ON FILE
FELICIANO SANCHEZ, MELISSA         ADDRESS ON FILE
FELICIANO SANCHEZ, MOISES          ADDRESS ON FILE
FELICIANO SANCHEZ, PAOLA           ADDRESS ON FILE
FELICIANO SANCHEZ, RYAND O         ADDRESS ON FILE
FELICIANO SANCHEZ, SAUL            ADDRESS ON FILE
FELICIANO SANCHEZ, TOMASA          ADDRESS ON FILE
FELICIANO SANTANA, ALMA Y          ADDRESS ON FILE
FELICIANO SANTANA, DORKA           ADDRESS ON FILE
FELICIANO SANTANA, JORGE L         ADDRESS ON FILE
FELICIANO SANTANA, MANUEL A.       ADDRESS ON FILE
FELICIANO SANTANA, MARIA E.        ADDRESS ON FILE
FELICIANO SANTANA, WALDEMAR        ADDRESS ON FILE
FELICIANO SANTANA, YOLANDA         ADDRESS ON FILE
FELICIANO SANTANA, ZULEIMA         ADDRESS ON FILE
FELICIANO SANTIAGO IRIS, YOLANDA   ADDRESS ON FILE
FELICIANO SANTIAGO, AILEEN         ADDRESS ON FILE
FELICIANO SANTIAGO, ANA            ADDRESS ON FILE
FELICIANO SANTIAGO, ANA            ADDRESS ON FILE
FELICIANO SANTIAGO, ANA A          ADDRESS ON FILE
FELICIANO SANTIAGO, ANGEL          ADDRESS ON FILE
FELICIANO SANTIAGO, BERNARDO       ADDRESS ON FILE
FELICIANO SANTIAGO, BRIAN          ADDRESS ON FILE
FELICIANO SANTIAGO, CYNKHIA        ADDRESS ON FILE
FELICIANO SANTIAGO, CYNTHIA        ADDRESS ON FILE
Feliciano Santiago, Daniel         ADDRESS ON FILE
Feliciano Santiago, David          ADDRESS ON FILE
FELICIANO SANTIAGO, DIANA          ADDRESS ON FILE
FELICIANO SANTIAGO, EDNA           ADDRESS ON FILE
FELICIANO SANTIAGO, EDNA C         ADDRESS ON FILE
FELICIANO SANTIAGO, EDWIN          ADDRESS ON FILE
FELICIANO SANTIAGO, ENRIQUE        ADDRESS ON FILE
FELICIANO SANTIAGO, EVELINA        ADDRESS ON FILE
FELICIANO SANTIAGO, ISMAEL         ADDRESS ON FILE
FELICIANO SANTIAGO, JORELLY        ADDRESS ON FILE
FELICIANO SANTIAGO, JOSE L         ADDRESS ON FILE
FELICIANO SANTIAGO, LAURA I        ADDRESS ON FILE
FELICIANO SANTIAGO, LEIDA          ADDRESS ON FILE
FELICIANO SANTIAGO, LOURDES        ADDRESS ON FILE
FELICIANO SANTIAGO, LUIS           ADDRESS ON FILE
Feliciano Santiago, Luis R         ADDRESS ON FILE
FELICIANO SANTIAGO, MAGDY          ADDRESS ON FILE
FELICIANO SANTIAGO, MARCELO        ADDRESS ON FILE
FELICIANO SANTIAGO, MARIA A        ADDRESS ON FILE
FELICIANO SANTIAGO, MARIA D.       ADDRESS ON FILE
FELICIANO SANTIAGO, MARIA DEL      ADDRESS ON FILE
FELICIANO SANTIAGO, MAYRA          ADDRESS ON FILE
FELICIANO SANTIAGO, MIGUEL ANGEL   ADDRESS ON FILE
FELICIANO SANTIAGO, NILSA E.       ADDRESS ON FILE
FELICIANO SANTIAGO, OMAR           ADDRESS ON FILE
FELICIANO SANTIAGO, PEDRO          ADDRESS ON FILE
Feliciano Santiago, Pedro A        ADDRESS ON FILE
FELICIANO SANTIAGO, RAUL           ADDRESS ON FILE
FELICIANO SANTIAGO, ROSITA         ADDRESS ON FILE
FELICIANO SANTIAGO, ROSSY E        ADDRESS ON FILE
FELICIANO SANTIAGO, RUTH N         ADDRESS ON FILE
FELICIANO SANTIAGO, SAMUEL         ADDRESS ON FILE
FELICIANO SANTIAGO, YOLIVETTE      ADDRESS ON FILE
FELICIANO SANTIAGO, YOLIVETTE      ADDRESS ON FILE




                                                                               Page 2741 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2742 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO SANTOS, AMELIO         ADDRESS ON FILE
FELICIANO SANTOS, AMPARO         ADDRESS ON FILE
FELICIANO SANTOS, ERIC           ADDRESS ON FILE
FELICIANO SANTOS, EVELYN         ADDRESS ON FILE
FELICIANO SANTOS, FRANCISCA      ADDRESS ON FILE
FELICIANO SANTOS, HERIBERTO      ADDRESS ON FILE
FELICIANO SANTOS, MARIA J        ADDRESS ON FILE
FELICIANO SANTOS, MARIA J        ADDRESS ON FILE
Feliciano Seda, Jorge Omar       ADDRESS ON FILE
FELICIANO SEDA, OMAYRA           ADDRESS ON FILE
FELICIANO SEGARRA, ELISA         ADDRESS ON FILE
FELICIANO SEGARRA, FREDDY        ADDRESS ON FILE
FELICIANO SEGARRA, NEREIDA       ADDRESS ON FILE
FELICIANO SEGARRA, NYDIA         ADDRESS ON FILE
FELICIANO SEGUI, JULIO E.        ADDRESS ON FILE
FELICIANO SEPULVEDA MD, JOSE I   ADDRESS ON FILE
FELICIANO SEPULVEDA, EDWIN       ADDRESS ON FILE
FELICIANO SEPULVEDA, JULIO A.    ADDRESS ON FILE
FELICIANO SEPULVEDA, MILDRED     ADDRESS ON FILE
FELICIANO SEPULVEDA, RAMON       ADDRESS ON FILE
FELICIANO SEPULVEDA, RIGOBERTO   ADDRESS ON FILE
FELICIANO SERRA, OLGA            ADDRESS ON FILE
FELICIANO SERRANO, ALICIA        ADDRESS ON FILE
FELICIANO SERRANO, AMARILIS      ADDRESS ON FILE
FELICIANO SERRANO, FELIX         ADDRESS ON FILE
FELICIANO SERRANO, JUAN          ADDRESS ON FILE
FELICIANO SERRANO, OMY           ADDRESS ON FILE
FELICIANO SERRANO, RICARDO       ADDRESS ON FILE
FELICIANO SERRANO, WILLIAM       ADDRESS ON FILE
FELICIANO SIERRA, LUIS F.        ADDRESS ON FILE
FELICIANO SILVA, ADRIAN A        ADDRESS ON FILE
Feliciano Silva, Nelida          ADDRESS ON FILE
FELICIANO SOSA, CARLOS M.        ADDRESS ON FILE
FELICIANO SOSA, FRANCES          ADDRESS ON FILE
FELICIANO SOSA, FRANCES          ADDRESS ON FILE
FELICIANO SOTO, ANIBAL           ADDRESS ON FILE
FELICIANO SOTO, BRUNILDA         ADDRESS ON FILE
FELICIANO SOTO, CARLOS R         ADDRESS ON FILE
FELICIANO SOTO, CORALY           ADDRESS ON FILE
FELICIANO SOTO, ELIZABETH        ADDRESS ON FILE
Feliciano Soto, Javier           ADDRESS ON FILE
FELICIANO SOTO, JEFFREY          ADDRESS ON FILE
FELICIANO SOTO, JESSMIN          ADDRESS ON FILE
FELICIANO SOTO, LISA             ADDRESS ON FILE
FELICIANO SOTO, MARIBEL          ADDRESS ON FILE
FELICIANO SOTO, MARIBEL          ADDRESS ON FILE
FELICIANO SOTO, MARISOL          ADDRESS ON FILE
FELICIANO SOTO, MIGDALIA         ADDRESS ON FILE
FELICIANO SOTO, MINERVA          ADDRESS ON FILE
FELICIANO SOTO, NILDA R.         ADDRESS ON FILE
FELICIANO SOTO, RAFAEL           ADDRESS ON FILE
FELICIANO SOTO, SINDYA I         ADDRESS ON FILE
FELICIANO SOTO, VICTOR           ADDRESS ON FILE
FELICIANO SOTO, WILLIAM          ADDRESS ON FILE
FELICIANO SOTO, YADITZA          ADDRESS ON FILE
FELICIANO SOTOMAYOR, FELIX       ADDRESS ON FILE
FELICIANO SOTOMAYOR, JOSE        ADDRESS ON FILE
FELICIANO SOTOMAYOR, OSVALDO     ADDRESS ON FILE
FELICIANO SOUFRONT, ROBERTO      ADDRESS ON FILE
FELICIANO STRICKER, MINERVA      ADDRESS ON FILE




                                                                             Page 2742 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2743 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO SUAREZ, ERIKA                  ADDRESS ON FILE
FELICIANO SUAREZ, PEDRO                  ADDRESS ON FILE
FELICIANO SULE, SUHEILLY                 ADDRESS ON FILE
FELICIANO TAPIA, LENIN                   ADDRESS ON FILE
FELICIANO TAPIA, SONIA                   ADDRESS ON FILE
FELICIANO TARAFA, ALEXIS                 ADDRESS ON FILE
FELICIANO TARAFA, FRANCES MARIE          ADDRESS ON FILE
FELICIANO TARAFA, MILAGROS               ADDRESS ON FILE
FELICIANO TARRO, VIONETTE                ADDRESS ON FILE
Feliciano Tavarez, Cynthia               ADDRESS ON FILE
FELICIANO TAVAREZ, LUIS J                ADDRESS ON FILE
FELICIANO TAVAREZ, PERSIDA               ADDRESS ON FILE
FELICIANO TAVAREZ, VICTOR A              ADDRESS ON FILE
FELICIANO TIRADO, DAISY                  ADDRESS ON FILE
FELICIANO TIRE DISTRIBUTOR INC           HC 1 BOX 6600‐1                                                                  MOCA         PR      00676
FELICIANO TOLLINCHI, ELIA R              ADDRESS ON FILE
FELICIANO TOLLINCHI, ELIA R.             ADDRESS ON FILE
FELICIANO TORRES, ADA D                  ADDRESS ON FILE
FELICIANO TORRES, ALBERTO                ADDRESS ON FILE
FELICIANO TORRES, ALEXANDER              ADDRESS ON FILE
FELICIANO TORRES, AMANDA M               ADDRESS ON FILE
FELICIANO TORRES, ANGEL                  ADDRESS ON FILE
Feliciano Torres, Angel R                ADDRESS ON FILE
FELICIANO TORRES, ARIEL                  ADDRESS ON FILE
FELICIANO TORRES, BETZAIDA               ADDRESS ON FILE
FELICIANO TORRES, CARMEN                 ADDRESS ON FILE
FELICIANO TORRES, CARMEN M               ADDRESS ON FILE
FELICIANO TORRES, DINORAH                ADDRESS ON FILE
FELICIANO TORRES, DORIS                  ADDRESS ON FILE
FELICIANO TORRES, DORIS                  ADDRESS ON FILE
FELICIANO TORRES, EDGAR                  ADDRESS ON FILE
FELICIANO TORRES, EIMMY                  ADDRESS ON FILE
FELICIANO TORRES, ELSIE                  ADDRESS ON FILE
FELICIANO TORRES, FRANCES                ADDRESS ON FILE
FELICIANO TORRES, FRANCES A              ADDRESS ON FILE
FELICIANO TORRES, HECTOR                 ADDRESS ON FILE
FELICIANO TORRES, JEANNETTE              ADDRESS ON FILE
FELICIANO TORRES, JESSICA                ADDRESS ON FILE
FELICIANO TORRES, JIMMY                  ADDRESS ON FILE
FELICIANO TORRES, JOADYS                 ADDRESS ON FILE
FELICIANO TORRES, JOSE                   ADDRESS ON FILE
Feliciano Torres, Jose E                 ADDRESS ON FILE
FELICIANO TORRES, JOSE L.                ADDRESS ON FILE
FELICIANO TORRES, LUIS                   ADDRESS ON FILE
Feliciano Torres, Luis A                 ADDRESS ON FILE
FELICIANO TORRES, LUIS A                 ADDRESS ON FILE
FELICIANO TORRES, LUIS A                 ADDRESS ON FILE
FELICIANO TORRES, LUIS E                 ADDRESS ON FILE
FELICIANO TORRES, LUZ D                  ADDRESS ON FILE
FELICIANO TORRES, MARALY                 ADDRESS ON FILE
FELICIANO TORRES, MARANGELY              ADDRESS ON FILE
FELICIANO TORRES, MARIA                  ADDRESS ON FILE
FELICIANO TORRES, MARIA                  ADDRESS ON FILE
FELICIANO TORRES, MARIA DE LOS ANGELES   ADDRESS ON FILE
FELICIANO TORRES, MARIA DEL C            ADDRESS ON FILE
FELICIANO TORRES, MARIA J                ADDRESS ON FILE
FELICIANO TORRES, MARIANELA              ADDRESS ON FILE
FELICIANO TORRES, MARIBEL                ADDRESS ON FILE
FELICIANO TORRES, MELVIN                 ADDRESS ON FILE
FELICIANO TORRES, MIRNA H                ADDRESS ON FILE




                                                                                     Page 2743 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2744 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO TORRES, MIRTHA         ADDRESS ON FILE
FELICIANO TORRES, OLGA           ADDRESS ON FILE
FELICIANO TORRES, OLGA           ADDRESS ON FILE
FELICIANO TORRES, OVELIO         ADDRESS ON FILE
FELICIANO TORRES, PABLO          ADDRESS ON FILE
FELICIANO TORRES, RICHARD A      ADDRESS ON FILE
FELICIANO TORRES, XIOMARA        ADDRESS ON FILE
FELICIANO TORRES, YAMIR E        ADDRESS ON FILE
FELICIANO TORRES, YESENIA        ADDRESS ON FILE
FELICIANO TORRES, YESENIA        ADDRESS ON FILE
FELICIANO TORRES,FABIOLA N.      ADDRESS ON FILE
FELICIANO TRICOCHE, SUSAN        ADDRESS ON FILE
FELICIANO URIONDO, JOSE          ADDRESS ON FILE
FELICIANO VALEDON, FELIX J       ADDRESS ON FILE
FELICIANO VALEDON, MARISOL       ADDRESS ON FILE
FELICIANO VALEDON, MYRNA E       ADDRESS ON FILE
FELICIANO VALENTIN, ALIDEXMI     ADDRESS ON FILE
FELICIANO VALENTIN, ANA M.       ADDRESS ON FILE
FELICIANO VALENTIN, ANAIDA       ADDRESS ON FILE
Feliciano Valentin, Billy        ADDRESS ON FILE
FELICIANO VALENTIN, FELIX        ADDRESS ON FILE
FELICIANO VALENTIN, FELIX        ADDRESS ON FILE
FELICIANO VALENTIN, GREGORIO     ADDRESS ON FILE
FELICIANO VALENTIN, JAVIER       ADDRESS ON FILE
FELICIANO VALENTIN, JORGE        ADDRESS ON FILE
FELICIANO VALENTIN, LUIS         ADDRESS ON FILE
FELICIANO VALIENTE, JUAN C.      ADDRESS ON FILE
FELICIANO VALIENTE, JUAN C.      ADDRESS ON FILE
FELICIANO VALLE, GREGORIO        ADDRESS ON FILE
FELICIANO VALLE, LUIS            ADDRESS ON FILE
FELICIANO VALLE, WALTER          ADDRESS ON FILE
FELICIANO VALLE, ZORAIDA         ADDRESS ON FILE
FELICIANO VALLS, CALEB ENRIQUE   ADDRESS ON FILE
Feliciano Varela, Alberto        ADDRESS ON FILE
FELICIANO VARELA, NORMA          ADDRESS ON FILE
FELICIANO VARGAS, BETHZAIDA      ADDRESS ON FILE
FELICIANO VARGAS, CARMEN S       ADDRESS ON FILE
FELICIANO VARGAS, DANIEL         ADDRESS ON FILE
FELICIANO VARGAS, DENISE         ADDRESS ON FILE
FELICIANO VARGAS, EVARISTA       ADDRESS ON FILE
FELICIANO VARGAS, GLADYS C       ADDRESS ON FILE
FELICIANO VARGAS, IRMA E         ADDRESS ON FILE
Feliciano Vargas, Jorge L        ADDRESS ON FILE
FELICIANO VARGAS, JOSE           ADDRESS ON FILE
FELICIANO VARGAS, JOSE A         ADDRESS ON FILE
Feliciano Vargas, Jose R.        ADDRESS ON FILE
FELICIANO VARGAS, JULIO          ADDRESS ON FILE
FELICIANO VARGAS, LUZ            ADDRESS ON FILE
Feliciano Vargas, Milton         ADDRESS ON FILE
FELICIANO VARGAS, MILTON         ADDRESS ON FILE
FELICIANO VARGAS, NYDIA          ADDRESS ON FILE
FELICIANO VARGAS, VILMA          ADDRESS ON FILE
FELICIANO VAZQUEZ, ANGELICA M    ADDRESS ON FILE
FELICIANO VAZQUEZ, JOSE A.       ADDRESS ON FILE
FELICIANO VAZQUEZ, MONSERRATE    ADDRESS ON FILE
FELICIANO VAZQUEZ, NYDIA E       ADDRESS ON FILE
Feliciano Vazquez, Rashid S.     ADDRESS ON FILE
FELICIANO VAZQUEZ, REINA I       ADDRESS ON FILE
FELICIANO VAZQUEZ, SAMUEL        ADDRESS ON FILE
FELICIANO VAZQUEZ, YAIVELISSE    ADDRESS ON FILE




                                                                             Page 2744 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2745 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Feliciano Vega, Alexis Tomas      ADDRESS ON FILE
Feliciano Vega, Cristobal         ADDRESS ON FILE
FELICIANO VEGA, DAVID             ADDRESS ON FILE
FELICIANO VEGA, EDWIN             ADDRESS ON FILE
FELICIANO VEGA, EDWIN L           ADDRESS ON FILE
Feliciano Vega, Epifanio          ADDRESS ON FILE
FELICIANO VEGA, FERNANDO J        ADDRESS ON FILE
FELICIANO VEGA, GLADYS            ADDRESS ON FILE
FELICIANO VEGA, GLORIA            ADDRESS ON FILE
FELICIANO VEGA, JINNY             ADDRESS ON FILE
FELICIANO VEGA, JOSE              ADDRESS ON FILE
Feliciano Vega, Jose A.           ADDRESS ON FILE
FELICIANO VEGA, JUAN              ADDRESS ON FILE
FELICIANO VEGA, JULIO E.          ADDRESS ON FILE
FELICIANO VEGA, KEVIN             ADDRESS ON FILE
FELICIANO VEGA, LUIS A.           ADDRESS ON FILE
FELICIANO VEGA, LUIS F            ADDRESS ON FILE
FELICIANO VEGA, MILAGROS          ADDRESS ON FILE
FELICIANO VEGA, ORLANDO           ADDRESS ON FILE
Feliciano Vega, Pedro Antonio     ADDRESS ON FILE
FELICIANO VEGA, RICHARD           ADDRESS ON FILE
FELICIANO VEGA, ROLANDO           ADDRESS ON FILE
FELICIANO VEGA, ROLANDO           ADDRESS ON FILE
FELICIANO VEGA, VICTOR M.         ADDRESS ON FILE
FELICIANO VELAZQUEZ, DIANA        ADDRESS ON FILE
FELICIANO VELAZQUEZ, DIANA I      ADDRESS ON FILE
FELICIANO VELAZQUEZ, EDWIN        ADDRESS ON FILE
FELICIANO VELAZQUEZ, EDWIN        ADDRESS ON FILE
FELICIANO VELAZQUEZ, MAGDA        ADDRESS ON FILE
FELICIANO VELAZQUEZ, MODESTO      ADDRESS ON FILE
FELICIANO VELAZQUEZ, NANCY        ADDRESS ON FILE
FELICIANO VELAZQUEZ, PEDRO J      ADDRESS ON FILE
FELICIANO VELAZQUEZ, RICARDO      ADDRESS ON FILE
FELICIANO VELAZQUEZ, WILNIVIA     ADDRESS ON FILE
FELICIANO VELEZ, ALVIN            ADDRESS ON FILE
FELICIANO VELEZ, CHRISTIAN        ADDRESS ON FILE
FELICIANO VELEZ, ELVER            ADDRESS ON FILE
FELICIANO VELEZ, FREDESWINDA      ADDRESS ON FILE
FELICIANO VELEZ, GLORIA           ADDRESS ON FILE
FELICIANO VELEZ, IRENE            ADDRESS ON FILE
FELICIANO VELEZ, JASON D          ADDRESS ON FILE
Feliciano Velez, Jesus            ADDRESS ON FILE
FELICIANO VELEZ, JOSE             ADDRESS ON FILE
FELICIANO VELEZ, JOSE A           ADDRESS ON FILE
FELICIANO VELEZ, LIZ H            ADDRESS ON FILE
FELICIANO VELEZ, LIZ H            ADDRESS ON FILE
FELICIANO VELEZ, LORNA J          ADDRESS ON FILE
FELICIANO VELEZ, MARGARITA        ADDRESS ON FILE
FELICIANO VELEZ, MARIA DE LOS A   ADDRESS ON FILE
FELICIANO VELEZ, MARIA M          ADDRESS ON FILE
FELICIANO VELEZ, MARIAN           ADDRESS ON FILE
FELICIANO VELEZ, MARITZA          ADDRESS ON FILE
FELICIANO VELEZ, MELVIN           ADDRESS ON FILE
FELICIANO VELEZ, MILITZA          ADDRESS ON FILE
FELICIANO VELEZ, MILTON           ADDRESS ON FILE
FELICIANO VELEZ, NATALIE          ADDRESS ON FILE
FELICIANO VELEZ, NORMA E.         ADDRESS ON FILE
FELICIANO VELEZ, OSCAR            ADDRESS ON FILE
Feliciano Velez, Pascual A        ADDRESS ON FILE
FELICIANO VELEZ, PETER            ADDRESS ON FILE




                                                                              Page 2745 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2746 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIANO VELEZ, WALTER                   ADDRESS ON FILE
FELICIANO VILLAFANE, EDWIN                ADDRESS ON FILE
FELICIANO VILLAFANE, SARILIZ              ADDRESS ON FILE
Feliciano Villafane, William              ADDRESS ON FILE
FELICIANO VILLALOBOS, ALEXIS              ADDRESS ON FILE
FELICIANO VILLANUEVA, CARMEN              ADDRESS ON FILE
FELICIANO VIRELLA, ANITA                  ADDRESS ON FILE
FELICIANO ZAYAS, FRANCES M                ADDRESS ON FILE
FELICIANO ZAYAS, JAVIER                   ADDRESS ON FILE
FELICIANO ZAYAS, WALTER                   ADDRESS ON FILE
FELICIANO ZAYAS, WALTER                   ADDRESS ON FILE
FELICIANO ZAYAS, WILMER                   ADDRESS ON FILE
FELICIANO ZURITA, RAYMOND                 ADDRESS ON FILE
FELICIANO, ADALBERTO                      ADDRESS ON FILE
FELICIANO, AIDA                           ADDRESS ON FILE
FELICIANO, CARMEN                         ADDRESS ON FILE
FELICIANO, DAVID                          ADDRESS ON FILE
FELICIANO, EVA K                          ADDRESS ON FILE
FELICIANO, EVA K                          ADDRESS ON FILE
FELICIANO, FELIX R.                       ADDRESS ON FILE
FELICIANO, GLORIBEL                       ADDRESS ON FILE
FELICIANO, HECTOR                         ADDRESS ON FILE
FELICIANO, IRIS N                         ADDRESS ON FILE
FELICIANO, IRIS N                         ADDRESS ON FILE
FELICIANO, JACKELINE                      ADDRESS ON FILE
FELICIANO, JOSE                           ADDRESS ON FILE
FELICIANO, JOSE A                         ADDRESS ON FILE
FELICIANO, JULIO                          ADDRESS ON FILE
FELICIANO, KATHIA                         ADDRESS ON FILE
FELICIANO, LUIS                           ADDRESS ON FILE
FELICIANO, LUIS                           ADDRESS ON FILE
FELICIANO, LYDIA                          ADDRESS ON FILE
FELICIANO, MARIA DEL C.                   ADDRESS ON FILE
FELICIANO, RAFAEL A.                      ADDRESS ON FILE
FELICIANO, RICHARD                        ADDRESS ON FILE
FELICIANO, RUBEN                          ADDRESS ON FILE
FELICIANO, SANDRA                         ADDRESS ON FILE
FELICIANO, SEDA & ASSOCIATES CPA P.S.C.   URB. LA ARBOLEDA          #100 STREET 18                                         SALINAS      PR      00751
FELICIANO, YARITZA                        ADDRESS ON FILE
FELICIANO, ZULAY                          ADDRESS ON FILE
FELICIANO,ABIMAE                          ADDRESS ON FILE
FELICIANO,HERIBERTO                       ADDRESS ON FILE
FELICIANO,JOSE A.                         ADDRESS ON FILE
FELICIANO,LEONARDO                        ADDRESS ON FILE
FELICIANOADORNO, PEDRO L                  ADDRESS ON FILE
FELICIANOCUEBAS, SAMUEL                   ADDRESS ON FILE
Feliciano‐Jiménez, María                  ADDRESS ON FILE
FELICIANOMANTILLA, GIL A                  ADDRESS ON FILE
Feliciano‐Nieves, Gladys                  ADDRESS ON FILE
FELICIANORIVERA, MILAGROS                 ADDRESS ON FILE
FELICIANOS MEDICAL                        HC 01 BOX 6670                                                                   MOCA         PR      00676‐0000
FELICIANOZAYAS, LYDIA E                   ADDRESS ON FILE
FELICIDAD BERNARD ALEQUIN                 ADDRESS ON FILE
FELICIDAD L ROMERO                        ADDRESS ON FILE
FELICIDAD ORTIZ VAZQUEZ                   ADDRESS ON FILE
FELICIE MEDINA, ROBERTO                   ADDRESS ON FILE
FELICIE MEJIAS, JOSE R.                   ADDRESS ON FILE
FELICIE MORALES, CYNTHIA                  ADDRESS ON FILE
FELICIE RIVERA, JUDITH                    ADDRESS ON FILE
FELICIE SANTANA, RUBEN                    ADDRESS ON FILE




                                                                                      Page 2746 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2747 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELICIE SANTANA, RUBEN                 ADDRESS ON FILE
FELICIE SOTO, ADA                      ADDRESS ON FILE
FELICIE VALDES, MIGDALIA E.            ADDRESS ON FILE
FELICIER CARRILLO, CRISTINA            ADDRESS ON FILE
FELICIER CUADRADO, DIMARIS             ADDRESS ON FILE
FELICIER CUADRADO, JESSINIA            ADDRESS ON FILE
FELICIER DE LA CRUZ, JOSE I.           ADDRESS ON FILE
FELICIER HERNANDEZ, ANA ROSA           ADDRESS ON FILE
FELICIER HERNANDEZ, LUZ D              ADDRESS ON FILE
FELICIER ROSARIO, CARLOS I.            ADDRESS ON FILE
FELICIER ROSARIO, CARMEN E.            ADDRESS ON FILE
FELICIER ROSARIO, CARMEN E.            ADDRESS ON FILE
FELICIES OQUENDO, MILTON               ADDRESS ON FILE
FELICINDO MEJIAS                       ADDRESS ON FILE
FELICINDO RIJO                         ADDRESS ON FILE
FELICITA ALICANO ESCALERA              ADDRESS ON FILE
FELICITA ANDINO LEMOIS                 ADDRESS ON FILE
FELICITA AVILES CURET                  ADDRESS ON FILE
FELICITA AYALA MURIEL                  ADDRESS ON FILE
FELICITA BARBOSA VALDES                ADDRESS ON FILE
FELICITA BERMUDEZ CANCEL               ADDRESS ON FILE
FELICITA BURGOS VELAZQUEZ              ADDRESS ON FILE
FELICITA CAMACHO HERNANDEZ             ADDRESS ON FILE
FELICITA CARABALLO DE JESUS            ADDRESS ON FILE
FELICITA CARCANO RODRIGUEZ             ADDRESS ON FILE
FELICITA CARCANO RODRIGUEZ             ADDRESS ON FILE
FELICITA CINTRON SANTANA               ADDRESS ON FILE
FELICITA COLON ROHENA                  ADDRESS ON FILE
FELICITA CORDERO RIVERA                ADDRESS ON FILE
FELICITA COTTO FIGUEROA                ADDRESS ON FILE
FELICITA COTTO GONZALEZ                ADDRESS ON FILE
FELICITA CRUZ DIAZ                     ADDRESS ON FILE
FELICITA DEL VALLE DEL VALLE           ADDRESS ON FILE
FELICITA DIAZ LOPEZ                    ADDRESS ON FILE
FELICITA DIAZ LOPEZ                    ADDRESS ON FILE
FELICITA DIAZ VIERA                    ADDRESS ON FILE
FELICITA FALCON GUZMAN                 ADDRESS ON FILE
FELICITA FIGUEROA / LILLIAN CAMARENO   ADDRESS ON FILE
FELICITA GALVEZ SANTOS                 ADDRESS ON FILE
FELICITA GARCIA RAMOS                  ADDRESS ON FILE
FELICITA GONZALEZ CALDERON             ADDRESS ON FILE
FELICITA GONZALEZ FLORES               ADDRESS ON FILE
FELICITA GUZMAN ALMENAS                ADDRESS ON FILE
FELICITA HERNANDEZ RIVERA              ADDRESS ON FILE
FELICITA HERNANDEZ RODRIGUEZ           ADDRESS ON FILE
FELICITA LEBRON GONZALEZ               ADDRESS ON FILE
FELICITA LEBRON MUNOZ                  ADDRESS ON FILE
FELICITA LEBRON MUNOZ                  ADDRESS ON FILE
FELICITA LEBRON MUNOZ                  ADDRESS ON FILE
FELICITA LLANOS CARMONA                ADDRESS ON FILE
FELICITA LOPEZ AQUINO                  ADDRESS ON FILE
FELICITA MANGUAL SANTIAGO              ADDRESS ON FILE
FELICITA MANSO SANJURJO                ADDRESS ON FILE
FELICITA MARRERO PARRILLA              ADDRESS ON FILE
FELICITA MARTINEZ SANTIAGO             ADDRESS ON FILE
FELICITA MARTINEZ SANTOS               ADDRESS ON FILE
FELICITA MELENDEZ HABOUSH              ADDRESS ON FILE
FELICITA MELENDEZ VAZQUEZ              ADDRESS ON FILE
FELICITA MIRANDA MUðOZ                 ADDRESS ON FILE
FELICITA MIRANDA MUNOZ                 ADDRESS ON FILE




                                                                                   Page 2747 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2748 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                    Address1                           Address2                                       Address3   Address4   City         State   PostalCode   Country
FELICITA MIRANDA MUNOZ           ADDRESS ON FILE
FELICITA MIRANDA MUNOZ           ADDRESS ON FILE
FELICITA MONTANEZ FIGUEROA       ADDRESS ON FILE
FELICITA MORALES SANTIAGO        ADDRESS ON FILE
FELICITA MUNIZ COSME             ADDRESS ON FILE
FELICITA NEGRON RIVERA           ADDRESS ON FILE
FELICITA NIEVES RAMOS            ADDRESS ON FILE
FELICITA NU¥EZ ROSADO            ADDRESS ON FILE
FELICITA OLIVERO NEGRON          ADDRESS ON FILE
FELICITA ORTIZ PASTRANA          ADDRESS ON FILE
FELICITA ORTIZ RIVERA            ADDRESS ON FILE
FELICITA ORTIZ RODRIGUEZ         ADDRESS ON FILE
FELICITA OTERO AND MARIA OTERO   ADDRESS ON FILE
FELICITA PACHECO CARABALLO       ADDRESS ON FILE
FELICITA PAGAN SANCHEZ           ADDRESS ON FILE
FELICITA PARRA MORELL            ADDRESS ON FILE
FELICITA PENA DE JESUS           ADDRESS ON FILE
FELICITA PENA ROQUE              ADDRESS ON FILE
FELICITA PEREZ MARTINEZ          ADDRESS ON FILE
FELICITA PINA COLON              ADDRESS ON FILE
FELICITA POLANCO PEREZ           ADDRESS ON FILE
FELICITA POMALES REYES           ADDRESS ON FILE
FELICITA RAMOS REYES             ADDRESS ON FILE
FELICITA REYES MELENDEZ          LIC. GREGORIO VAZQUEZ LOZADA       LIC. GREGORIO VAZQUEZ LOZADA ‐ PASEO EL VERDE 3201                   CAGUAS       PR      00725
FELICITA REYES MELENDEZ          LIC. JAZMIN I ESCODA VALDES        LIC. JAZMIN I ESCODA VALDES ‐ APARTADO 5844                          CAGUAS       PR      00726‐5844
FELICITA RIOS VAZQUEZ            ADDRESS ON FILE
FELICITA RIVERA LOZADA           ADDRESS ON FILE
FELICITA RIVERA MARRERO          ADDRESS ON FILE
FELICITA RIVERA MARTINEZ         ADDRESS ON FILE
FELICITA RIVERA VIZCARRONDO      ADDRESS ON FILE
FELICITA RIVERA ZAYAS            ADDRESS ON FILE
FELICITA ROBLES ROSADO           ADDRESS ON FILE
FELICITA RODRIGUEZ PRINCIPE      ADDRESS ON FILE
FELICITA RODRIGUEZ ROSARIO       ADDRESS ON FILE
FELICITA ROLDAN OCASIO           ADDRESS ON FILE
FELICITA ROMAN RAMOS             ADDRESS ON FILE
FELICITA ROSA RODRIGUEZ          ADDRESS ON FILE
FELICITA ROSARIO                 ADDRESS ON FILE
FELICITA ROSARIO ALVAREZ         ADDRESS ON FILE
FELICITA RVIERA VIZCARRONDO      ADDRESS ON FILE
FELICITA SANABRIA PERAZA         ADDRESS ON FILE
FELICITA SANCHEZ ORTIZ           ADDRESS ON FILE
FELÍCITA SÁNCHEZ ORTIZ           LCDA. ALEXANDRA SÁNCHEZ MITCHELL   101 AVE. SAN PATRICIO STE. 1120                                      GUAYNABO     PR      00968
FELICITA SANTA TORRES            ADDRESS ON FILE
FELICITA SANTIAGO BAEZ           ADDRESS ON FILE
FELICITA SANTIAGO DE JESUS       ADDRESS ON FILE
FELICITA SANTIAGO GONEZ          ADDRESS ON FILE
FELICITA SEGARRA REYES           ADDRESS ON FILE
FELICITA SEVILLA CASTRO          ADDRESS ON FILE
FELICITA SOLIS MARTINEZ          ADDRESS ON FILE
FELICITA TANTAO ECHEVARRIA       ADDRESS ON FILE
FELICITA TORRES CARABALLO        ADDRESS ON FILE
FELICITA TORRES GONZALEZ         ADDRESS ON FILE
FELICITA TORRES OSORIO           ADDRESS ON FILE
FELICITA TORRES OSORIO           ADDRESS ON FILE
FELICITA TORRES VELEZ            ADDRESS ON FILE
FELICITA VAZQUEZ ALEQUIN         ADDRESS ON FILE
FELICITA VAZQUEZ BAEZ            ADDRESS ON FILE
FELICITA VAZQUEZ MIRANDA         ADDRESS ON FILE
FELICITA VEGA CRUZ               ADDRESS ON FILE




                                                                                                  Page 2748 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2749 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                           Address1                                  Address2                                     Address3         Address4             City         State   PostalCode   Country
FELICITA VEGA CRUZ                      ADDRESS ON FILE
FELICITA VEGA FIGUEROA                  ADDRESS ON FILE
FELICITA VEGA RIVERA                    ADDRESS ON FILE
FELICITA VENDRELL VALENTIN              ADDRESS ON FILE
FELICITA VILLAFANE VILLAFANE            ADDRESS ON FILE
FELICITA WILLIANS NIEVES                ADDRESS ON FILE
FELICITE MAURICE, GARY                  ADDRESS ON FILE
FELIJOJO CORP                           HC 7 BOX 20937                                                                                                               MAYAGUEZ     PR      00680‐9003
                                                                                                                                                Ponce DE LEÓN NÚM.
FELINO CORPORATION                      LCDO. JOSE L. VILLAMIL CASANOVA            MCS PLAZA                                   SUITE 804 AVE.   255                  HATO REY     PR      00917
FELIPA CASTILLO CALDERON                ADDRESS ON FILE
FELIPA DE JESUS MIESES                  ADDRESS ON FILE
FELIPA FAJARDO CANALES                  ADDRESS ON FILE
FELIPA MARTINEZ Y NORMA PEREZ           ADDRESS ON FILE
FELIPA N MERCADO GARCIA                 ADDRESS ON FILE
FELIPA PORTALATIN MONTANEZ              ADDRESS ON FILE
FELIPA SANTIAGO ORTIZ                   ADDRESS ON FILE
FELIPA SOTO FLORES                      ADDRESS ON FILE
FELIPA SOTO FLORES                      ADDRESS ON FILE
FELIPE A ALGARIN ECHANDI                ADDRESS ON FILE
FELIPE A COLON ALONSO                   ADDRESS ON FILE
FELIPE A RIVERA DESSUS                  ADDRESS ON FILE
FELIPE A RIVERA TORRES                  ADDRESS ON FILE
FELIPE A RODRIGUEZ Y AIXA M RODRIGUEZ   ADDRESS ON FILE
FELIPE A SANTIAGO MALDONADO             ADDRESS ON FILE
FELIPE A VARGAS BARRETA                 ADDRESS ON FILE
FELIPE ALGARÍN ECHANDI                  LCDO. JOSÉ A. MORALES BOSCIO Y LCDO. HARRY 1454 AVE. FERNÁNDEZ JUNCOS                                                        SAN JUAN     PR      00909
FELIPE ALICEA HORRACH                   ADDRESS ON FILE
FELIPE ALVERIO MERCADO                  ADDRESS ON FILE
FELIPE ANTONIO CAMPOS DIAZ              ADDRESS ON FILE
FELIPE ARES SOLIS                       ADDRESS ON FILE
FELIPE ARROYO LEBRON                    ADDRESS ON FILE
FELIPE ARVELO MUNIZ                     ADDRESS ON FILE
FELIPE BAEZ GUTIERREZ                   ADDRESS ON FILE
FELIPE BAEZ LUGO                        ADDRESS ON FILE
FELIPE BENICIO SANCHEZ                  ADDRESS ON FILE
FELIPE BERRIOS LOPEZ                    ADDRESS ON FILE
FELIPE CANDELARIA CEPEDA                ADDRESS ON FILE
FELIPE CANDELARIA SANTOS                ADDRESS ON FILE
FELIPE CARRASQUILLO MALDONADO           ADDRESS ON FILE
FELIPE CASIANO CARABALLO                ADDRESS ON FILE
FELIPE CASTILLO PEREZ                   ADDRESS ON FILE
FELIPE CASTRO REYES                     ADDRESS ON FILE
FELIPE COLON BORGES                     ADDRESS ON FILE
FELIPE COLON VITALI                     ADDRESS ON FILE
FELIPE COLON Y MIGDALIA CINTRON         ADDRESS ON FILE
FELIPE COTTO Y DIANA L RIOS             ADDRESS ON FILE
FELIPE CRUZ GUZMAN                      ADDRESS ON FILE
FELIPE CRUZ HERNANDEZ                   ADDRESS ON FILE
FELIPE CUERVO, IVETTE                   ADDRESS ON FILE
FELIPE D RODRIGUEZ MATOS                ADDRESS ON FILE
FELIPE DEIDA VARGAS                     ADDRESS ON FILE
FELIPE DIAZ NUNEZ                       ADDRESS ON FILE
FELIPE DIAZ NUNEZ                       ADDRESS ON FILE
FELIPE DIAZ WALKER                      ADDRESS ON FILE
FELIPE E EFRECE MORENO                  ADDRESS ON FILE
FELIPE EMMANUEL CASTRO BERASTAIN        ADDRESS ON FILE
FELIPE ESPINEL                          ADDRESS ON FILE
FELIPE F PLA BAQUERO                    ADDRESS ON FILE
FELIPE FEBRES RIVERA                    ADDRESS ON FILE




                                                                                                                Page 2749 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2750 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                         Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
FELIPE FERNANDEZ CINTRON              ADDRESS ON FILE
FELIPE FERRER ADRIEL                  ADDRESS ON FILE
FELIPE FLORES TIRADO                  ADDRESS ON FILE
FELIPE FRÍAS SANTANA                  LCDO LUIS A GIERBOLINI    PO BOX 364567                                                   SAN JUAN     PR      00936‐4567
FELIPE GARCIA BUIL Y WESTERN BANK     AREA DE TESORO            DIVISION DE CONCILIACION                                        SAN JUAN     PR      00902
FELIPE GARCIA BUIL Y WESTERN BANK     PO BOX 1180                                                                               MAYAGUEZ     PR      00681
FELIPE GOMEZ CALCANO                  ADDRESS ON FILE
FELIPE GONZALEZ GONZALEZ              ADDRESS ON FILE
FELIPE GONZALEZ SANCHEZ               ADDRESS ON FILE
FELIPE GUZMAN RIVERA                  ADDRESS ON FILE
FELIPE GUZMAN RIVERA                  ADDRESS ON FILE
FELIPE HERNANDEZ MERCADO              ADDRESS ON FILE
FELIPE I DEL VALLE ALMODOVAR          ADDRESS ON FILE
FELIPE III SANTIAGO ORTIZ             ADDRESS ON FILE
FELIPE ILLAS VELAZQUEZ                ADDRESS ON FILE
FELIPE IZQUIERDO TOUZET               ADDRESS ON FILE
FELIPE J ARIAS QUINONES               ADDRESS ON FILE
FELIPE J ARIAS QUINONES               ADDRESS ON FILE
FELIPE J RODRIGUEZ NIETO              ADDRESS ON FILE
FELIPE LOPEZ ANTONETTY                ADDRESS ON FILE
FELIPE LUYANDO FIGEROA                ADDRESS ON FILE
FELIPE MELENDEZ DE LEON               ADDRESS ON FILE
FELIPE MENDEZ PEREZ Y NELSON D SOTO   ADDRESS ON FILE
FELIPE MERCADO ROSARIO                ADDRESS ON FILE
FELIPE MESTRE SERRANO                 ADDRESS ON FILE
FELIPE MIRANDA, ELLIOT                ADDRESS ON FILE
FELIPE MONTALVO BETANCES              ADDRESS ON FILE
FELIPE MORALES ADORNO                 ADDRESS ON FILE
FELIPE MORALES MILLAN                 ADDRESS ON FILE
FELIPE MORALES MOLL                   ADDRESS ON FILE
FELIPE N TORRES LAMARQUE              ADDRESS ON FILE
FELIPE NARVAEZ MARRERO                ADDRESS ON FILE
FELIPE NEGRON COLON                   ADDRESS ON FILE
FELIPE NUNEZ BONILLA                  ADDRESS ON FILE
FELIPE NUNEZ, NELLY A.                ADDRESS ON FILE
FELIPE O HERNANDEZ TORRES             ADDRESS ON FILE
FELIPE OLMEDA AVILES                  ADDRESS ON FILE
FELIPE ORTEGA MUNIZ                   ADDRESS ON FILE
FELIPE ORTIZ VALENTIN                 ADDRESS ON FILE
FELIPE OSONAS MORELL                  ADDRESS ON FILE
FELIPE OTERO BAEZ                     ADDRESS ON FILE
FELIPE PAGAN BERROCALES               ADDRESS ON FILE
FELIPE PEREZ ROSARIO                  ADDRESS ON FILE
FELIPE PITRE MONTALVO                 ADDRESS ON FILE
FELIPE QUINONES MALDONADO             ADDRESS ON FILE
FELIPE QUINONEZ BATISTA               ADDRESS ON FILE
FELIPE RALAT                          ADDRESS ON FILE
FELIPE RAMIREZ IRIZARRY               ADDRESS ON FILE
FELIPE RAMIREZ, CHRISTIAN             ADDRESS ON FILE
FELIPE RAMOS PEREZ/ ELIZABETH PEREZ   ADDRESS ON FILE
FELIPE RIJO RIJO                      ADDRESS ON FILE
FELIPE RIVERA ESTREMERA               ADDRESS ON FILE
FELIPE RIVERA SANCHEZ                 ADDRESS ON FILE
FELIPE RODRIGUEZ ALVARADO             CALLE VARSOVIA #33                                                                        COAMO        PR      00769
FELIPE RODRIGUEZ GARAY                ADDRESS ON FILE
FELIPE RODRIGUEZ GROUP                URB VILLAS DEL CARMEN     B10 CALLE 3                                                     GURABO       PR      00778
FELIPE RODRIGUEZ LEBRON               ADDRESS ON FILE
FELIPE RODRIGUEZ LOPEZ                ADDRESS ON FILE
FELIPE RODRIGUEZ RODRIGUEZ            ADDRESS ON FILE
FELIPE ROMAN CABAN                    ADDRESS ON FILE




                                                                                           Page 2750 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2751 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELIPE ROMERO DIAZ                       ADDRESS ON FILE
FELIPE ROSARIO GARCIA / LINDA E RIVERA   ADDRESS ON FILE
FELIPE ROSARIO PINERO                    ADDRESS ON FILE
FELIPE RUIZ SOSA                         ADDRESS ON FILE
FELIPE S BAEZ QUINONES                   ADDRESS ON FILE
FELIPE S SANTANA RAMIREZ                 ADDRESS ON FILE
FELIPE S. ORTIZ                          ADDRESS ON FILE
FELIPE SANABRIA QUINONES                 ADDRESS ON FILE
FELIPE SANCHEZ SANTIAGO                  ADDRESS ON FILE
FELIPE SANTIAGO MARTINEZ                 ADDRESS ON FILE
FELIPE SANTIAGO RIOS                     ADDRESS ON FILE
FELIPE SANTIAGO RODRIGUEZ                ADDRESS ON FILE
FELIPE SANTUCHI FELICIANO                ADDRESS ON FILE
FELIPE SERRANO ROSARIO                   ADDRESS ON FILE
FELIPE TORRES GUADALUPE                  ADDRESS ON FILE
FELIPE TORRES HERNANDEZ                  ADDRESS ON FILE
FELIPE TORRES LEON                       ADDRESS ON FILE
FELIPE TORRES TORRES                     ADDRESS ON FILE
FELIPE VARGAS SANTOS DBA WESTERN PAPER   P. O. BOX 2528                                                                   MOCA         PR      00676‐0000
FELIPE VAZQUEZ CRUZ                      ADDRESS ON FILE
FELIPE VAZQUEZ DE JESUS                  ADDRESS ON FILE
FELIPE VAZQUEZ SANTOS                    ADDRESS ON FILE
FELIPE VEGA HERNANDEZ                    ADDRESS ON FILE
FELIPE VELEZ MUNIZ                       ADDRESS ON FILE
FELIPEZ ALEMANY, MANUEL                  ADDRESS ON FILE
FELIPEZ ALEMANY, NATALIA                 ADDRESS ON FILE
FELISA COLON ORTIZ                       ADDRESS ON FILE
FELISA CORTES QUILES                     ADDRESS ON FILE
FELISA MADERA RENTAS                     ADDRESS ON FILE
FELISA VAZQUEZ RODRIGUEZ                 ADDRESS ON FILE
FELITO CEDENO RIJO                       ADDRESS ON FILE
FELITO F LOPEZ ALICEA                    ADDRESS ON FILE
FELIU ACEVEDO, ISRAEL                    ADDRESS ON FILE
FELIU BAEZ, JOSE                         ADDRESS ON FILE
FELIU BAEZ, LAURA                        ADDRESS ON FILE
FELIU BAEZ, LUIS E                       ADDRESS ON FILE
FELIU CARRILLO, VIVIAN I                 ADDRESS ON FILE
FELIU CATALA, IRSA M                     ADDRESS ON FILE
FELIU COTTE, MERCEDMARIE                 ADDRESS ON FILE
FELIU COTTE, OLVAN A                     ADDRESS ON FILE
FELIU COTTY, LORENA                      ADDRESS ON FILE
FELIU COTTY, WANDA                       ADDRESS ON FILE
FELIU DIAZ, AIDA LUZ                     ADDRESS ON FILE
FELIU DIAZ, AIDALIZ                      ADDRESS ON FILE
FELIU DIAZ, LEN MARIE                    ADDRESS ON FILE
FELIU GONZALEZ, JUAN                     ADDRESS ON FILE
FELIU GONZALEZ, MARLENE                  ADDRESS ON FILE
FELIU JUSINO, IVAN                       ADDRESS ON FILE
Feliu Lee, Louis S                       ADDRESS ON FILE
FELIU LOZADA, MARIA B.                   ADDRESS ON FILE
FELIU MERCADO, NILDA Z                   ADDRESS ON FILE
FELIU MIRANDA, OSVALDO                   ADDRESS ON FILE
FELIU OLIVER, FRANCISCO                  ADDRESS ON FILE
FELIU QUINONES, JORGE                    ADDRESS ON FILE
FELIU QUINONES, LAURA Y                  ADDRESS ON FILE
FELIU RABASSA, GERALDINE                 ADDRESS ON FILE
FELIU RABASSA, GUALBERTO                 ADDRESS ON FILE
FELIU RAMIREZ, AIDA M.                   ADDRESS ON FILE
FELIU RAMIREZ, RENE A                    ADDRESS ON FILE
FELIU RIVERA, JAVIER A.                  ADDRESS ON FILE




                                                                                     Page 2751 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2752 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELIU RODRIGUEZ, HARRY                     ADDRESS ON FILE
Feliu Rodriguez, Harry X                   ADDRESS ON FILE
FELIU ROSADO MD, DOMINGO                   ADDRESS ON FILE
FELIU ROSADO, ALBERTO                      ADDRESS ON FILE
FELIU RUIZ, MIRIAM                         ADDRESS ON FILE
FELIU TORRES, ALEXANDRA                    ADDRESS ON FILE
Feliu Torres, Julio C                      ADDRESS ON FILE
FELIU UGARTE, ISABELITA                    ADDRESS ON FILE
FELIU VARELA, EDUARDO                      ADDRESS ON FILE
FELIU VARELA, JULIA A.                     ADDRESS ON FILE
FELIU VARELA, MARIA DE LOS A.              ADDRESS ON FILE
FELIUT GUZMAN DEL VALLE                    ADDRESS ON FILE
FELIX A ACOSTA CRUZ                        ADDRESS ON FILE
FELIX A ANDINO RODRIGUEZ                   ADDRESS ON FILE
FELIX A BETANCES REXACH                    ADDRESS ON FILE
FELIX A BONNET ALVAREZ                     ADDRESS ON FILE
FELIX A CAMACHO MENA                       ADDRESS ON FILE
FELIX A CAMACHO ORTIZ                      ADDRESS ON FILE
FELIX A CASIANO RODRIGUEZ                  ADDRESS ON FILE
FELIX A COLON ARRIETA                      ADDRESS ON FILE
FELIX A CONCEPCION SANTANA                 ADDRESS ON FILE
FELIX A CORTES ORTIZ                       ADDRESS ON FILE
FELIX A COTTO FEBO                         ADDRESS ON FILE
FELIX A COTTO GARCIA                       ADDRESS ON FILE
FELIX A CRUZ CASTRO                        ADDRESS ON FILE
FELIX A DI CRISTINA MIRANDA                ADDRESS ON FILE
FELIX A FALCON RIVERA                      ADDRESS ON FILE
FELIX A FALCON RIVERA                      ADDRESS ON FILE
FELIX A GONZALEZ CARABALLO                 ADDRESS ON FILE
FELIX A GORBEA ORTIZ                       ADDRESS ON FILE
FELIX A HERNANDEZ MILLAN                   ADDRESS ON FILE
FELIX A IRIZARRY NIEVES                    ADDRESS ON FILE
FELIX A LASALLE LASALLE                    ADDRESS ON FILE
FELIX A LEBRON PENA                        ADDRESS ON FILE
FELIX A LEBRON SALDANA / ANA R DE LEBRON   ADDRESS ON FILE
FELIX A LIZASUAIN MARTINEZ                 ADDRESS ON FILE
FELIX A LIZASUAIN MARTINEZ                 ADDRESS ON FILE
FELIX A LOPEZ CALDERON                     ADDRESS ON FILE
FELIX A LOPEZ FRANQUI                      ADDRESS ON FILE
FELIX A MALDONADO RIVERA/ LEILA A RIVERA   ADDRESS ON FILE
FELIX A MARTINEZ CUEVAS                    ADDRESS ON FILE
FELIX A MARTINEZ MOLIGAN                   ADDRESS ON FILE
FELIX A MEDINA ORTIZ                       ADDRESS ON FILE
FELIX A MENDEZ BRAVO                       ADDRESS ON FILE
FELIX A MENDEZ PINERO                      ADDRESS ON FILE
FELIX A MERCADO IRIZARRY                   ADDRESS ON FILE
FELIX A MOLINA ESCOBALES                   ADDRESS ON FILE
FELIX A MORALES IGLESIAS                   ADDRESS ON FILE
FELIX A MORALES MANGUAL                    ADDRESS ON FILE
FELIX A MORALES SANCHEZ                    ADDRESS ON FILE
FELIX A NEGRON CANCEL                      ADDRESS ON FILE
FELIX A OTERO QUINONES                     ADDRESS ON FILE
FELIX A PABON OCASIO                       ADDRESS ON FILE
FELIX A PADILLA ROMERO                     ADDRESS ON FILE
FELIX A PAGAN GONZALEZ                     ADDRESS ON FILE
FELIX A PELLICIER FIGUEROA                 ADDRESS ON FILE
FELIX A PENA YAPOR                         ADDRESS ON FILE
FELIX A RAMOS AYALA                        ADDRESS ON FILE
FELIX A RIVERA DORAN                       ADDRESS ON FILE
FELIX A RIVERA GONZALEZ                    ADDRESS ON FILE




                                                                                       Page 2752 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2753 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                              Address1                  Address2                                     Address3           Address4        City             State   PostalCode   Country
FELIX A RIVERA PIZARRO                     ADDRESS ON FILE
FELIX A RIVERA RIVERA                      ADDRESS ON FILE
FELIX A RIVERA SAEZ                        ADDRESS ON FILE
FELIX A ROBLES ALOYO                       ADDRESS ON FILE
FELIX A RODRIGUEZ MEJIA                    ADDRESS ON FILE
FELIX A RODRIGUEZ MEJIA                    ADDRESS ON FILE
FELIX A ROSA MARIN                         ADDRESS ON FILE
FELIX A RUIZ DIAZ                          ADDRESS ON FILE
FELIX A SALAS ADORNO                       ADDRESS ON FILE
FELIX A SILVA ROSADO                       ADDRESS ON FILE
FELIX A SOTOMAYOR RAMOS                    ADDRESS ON FILE
FELIX A TORANO DIAZ                        ADDRESS ON FILE
FELIX A TORRES HERNANDEZ                   ADDRESS ON FILE
FELIX A VEGA GARCIA                        ADDRESS ON FILE
FELIX A VELEZ                              ADDRESS ON FILE
FELIX A VILLANUEVA CRUZ                    ADDRESS ON FILE
FELIX A ZAMOT RODRIGUEZ                    ADDRESS ON FILE
FELIX A ZAYAS COLON                        ADDRESS ON FILE
FELIX A. ACEVEDO MUNIZ                     ADDRESS ON FILE
FELIX A. AVILEZ SANTIAGO                   ADDRESS ON FILE
FELIX A. MATIAS LOPEZ                      ADDRESS ON FILE
FELIX A. MEDINA                            ADDRESS ON FILE
FELIX A. MERCEDES NARANJO                  ADDRESS ON FILE
FELIX A. MIGENIS LOPEZ                     ADDRESS ON FILE
FELIX A. RIOS LOPEZ/DBA TONIN DISTRIBUTO   APARTADO 922                                                                                              BARRANQUITAS     PR      00794
FELIX A. RIVERA ALBARRACIN                 ADDRESS ON FILE
FELIX A. RIVERA RIVERA                     ADDRESS ON FILE
FELIX A. RODRIGUEZ MEJIAS                  FELIX RODRIGUEZ MEJIA     253 CALLE CHILE APTO 10‐B                                                       HATO REY         PR      00917
FELIX ABRAMS GANDIA                        ADDRESS ON FILE
FELIX ACEVEDO, ESTEFANIA                   ADDRESS ON FILE
FELIX ADAMS, ERICK                         ADDRESS ON FILE
FELIX AGOSTO REYES                         ADDRESS ON FILE
FELIX AGOSTO, SUSAYLIN                     ADDRESS ON FILE
Felix Alan Castro Burgos                   ADDRESS ON FILE
FELIX ALDIVA, MADELINE                     ADDRESS ON FILE
FELIX ALICEA, CARMEN I                     ADDRESS ON FILE
Felix Almodovar Almodovar                  ADDRESS ON FILE
FELIX ALONSO, ALMA D.                      ADDRESS ON FILE
FELIX ALVARADO MORALES                     ADDRESS ON FILE
FELIX ALVARADO RIVERA                      ADDRESS ON FILE
FELIX ALVERIO JIMENEZ                      ADDRESS ON FILE
FELIX ANDINO GONZALEZ                      ADDRESS ON FILE
FELIX ANDINO, HIPOLITO                     ADDRESS ON FILE
FELIX ANDINO, JOSEFINA                     ADDRESS ON FILE
FELIX ANDINO, RAMONA                       ADDRESS ON FILE
FELIX ANGEL RODRIGUEZ GOTAY                ADDRESS ON FILE
FELIX ANGULO RODRIGUEZ                     ADDRESS ON FILE
FELIX APONTE GONZALEZ                      ADDRESS ON FILE
FELIX ARCE DIAZ                            ADDRESS ON FILE
FELIX ARROYO NIEVES                        ADDRESS ON FILE
Felix Arroyo, Iglory                       ADDRESS ON FILE
FELIX ARROYO, IGLORY                       ADDRESS ON FILE
FELIX ARROYO, LUIS                         ADDRESS ON FILE
Felix Arrufat, Peter X                     ADDRESS ON FILE
                                                                                                                SECT. LAS CUCHARAS
FELIX ARTU GARCÍA                          MPC FÉLIX ARTU GARCIA     INSTITUCIÓN ADULTOS224 C‐25 SECCIÓN AZUL C 3793‐                Ponce BY PASS   Ponce            PR      00728‐1504
FELIX ARVELO, GERALDINA                    ADDRESS ON FILE
FELIX ASSAD EL BURAI                       ASSAD EL BURAI FELIX      CALLE JOSE E. PEDREIRA JG – 11 7MA SECC.     LEVITTOWN                          TOA BAJA         PR      00949
FELIX AUTO PARTS                           PO BOX 190876                                                                                             SAN JUAN         PR      00919‐0876
FELIX AVILES                               ADDRESS ON FILE




                                                                                                   Page 2753 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2754 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                    Address1                               Address2                                     Address3          Address4   City         State   PostalCode   Country
FELIX AVILES MEJIAS              ADDRESS ON FILE
                                                                                                                     ANTIGUO EDIF EL
FELIX AVILES Y KIMBERLY AVILES   LIC JOSE M. CARRERAS PEREZ              #252 CALLE SAN JOSE PISO 3                  MUNDO             VIEJO      SAN JUAN     PR      00901
FELIX AYALA, JHUANNIE            ADDRESS ON FILE
FELIX AYALA, VANESSA             ADDRESS ON FILE
FELIX AYUSO AVILES               ADDRESS ON FILE
FELIX AYUSO AVILES               SR. FELIX AYUSO AVILES                  PO BOX 576                                                               CAROLINA     PR      00986
FELIX B CORDERO ROCA             ADDRESS ON FILE
FELIX B FERRER TORO              ADDRESS ON FILE
FELIX B SANTIAGO SANTIAGO        ADDRESS ON FILE
FELIX BAEZ, JOHANNA              ADDRESS ON FILE
FELIX BAEZ, MONSERRATE           ADDRESS ON FILE
FELIX BARBOSA RAMOS              ADDRESS ON FILE
FELIX BARBOSA ROMAN              ADDRESS ON FILE
FELIX BARRERAS ACOSTA            ADDRESS ON FILE
FELIX BARRETO, RAMON             ADDRESS ON FILE
FELIX BELLO DE LA CRUZ           ADDRESS ON FILE
FELIX BERMUDEZ VAZQUEZ           ADDRESS ON FILE
FELIX BOBE VEGA                  ADDRESS ON FILE
FELIX BOU NEVAREZ                ADDRESS ON FILE
FELIX C CRUZ RODRIGUEZ           ADDRESS ON FILE
FELIX C SALAS SANCHEZ            ADDRESS ON FILE
FELIX C. RODRIGUEZ ALAYON        ADDRESS ON FILE
FELIX CABRERA ROSARIO            ADDRESS ON FILE
FELIX CABRERA, FELIX L           ADDRESS ON FILE
FELIX CALCANO, ALEJANDRO         ADDRESS ON FILE
FELIX CALCANO, ALEXIE            ADDRESS ON FILE
FELIX CALCANO, ALEXIE            ADDRESS ON FILE
FELIX CALDERON RODRIGUEZ         ADDRESS ON FILE
FELIX CALZADA, IVONNE            ADDRESS ON FILE
FELIX CARABALLO                  ADDRESS ON FILE
FELIX CARMONA CRUZ               ADDRESS ON FILE
FELIX CARMONA, MARITZA           ADDRESS ON FILE
FELIX CARRASQUILLO COLON         ADDRESS ON FILE
FELIX CARRASQUILLO LOPEZ         ADDRESS ON FILE
FELIX CARRASQUILLO PIZARRO       ADDRESS ON FILE
FELIX CASADO, MILADY             ADDRESS ON FILE
FELIX CASANOVA, RAUL             ADDRESS ON FILE
FELIX CASIANO MERCADO            ADDRESS ON FILE
FELIX CASTRO CARRION             ADDRESS ON FILE
FELIX CEDENO HERNANDEZ           ADDRESS ON FILE
FELIX CEPEDA ORTIZ               ADDRESS ON FILE
FELIX CINTRON, CARMELO           ADDRESS ON FILE
FELIX CINTRON, YARI              ADDRESS ON FILE
FELIX COLON ANDALUZ              ADDRESS ON FILE
FELIX COLON ESTATE               PO BOX 56                                                                                                        GUAYAMA      PR      00785‐0056
FELIX COLON RIVERA               ADDRESS ON FILE
FELIX COLON RODRIGUEZ            LIC. MANUEL DURAN RODRIGUEZ ‐ ABOGADO DE1139 AVE. AMERICO MITRANDA                                               SAN JUAN     PR      00921
FELIX COLON SIERRA               ADDRESS ON FILE
FELIX COLON TORRES               ADDRESS ON FILE
FELIX COLON, ANGIEMAR            ADDRESS ON FILE
FELIX COLON, CARMEN M            ADDRESS ON FILE
FELIX COLON, GLORIBELL           ADDRESS ON FILE
FELIX COLON, LUZ M.              ADDRESS ON FILE
FELIX COLON, YOLINET             ADDRESS ON FILE
FELIX CONDE TORRES               ADDRESS ON FILE
FELIX CORDERO, YOVANIE           ADDRESS ON FILE
FELIX CORREA, MILDRED            ADDRESS ON FILE
FELIX COTTO FLORES               ADDRESS ON FILE
FELIX COTTO LOPEZ                ADDRESS ON FILE




                                                                                                      Page 2754 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2755 of 3500
                                                                             17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                 Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
FELIX COTTO, JOSE O.          ADDRESS ON FILE
FELIX CRESPO COLON            ADDRESS ON FILE
FELIX CRUET, LYDIA            ADDRESS ON FILE
FELIX CRUZ LAGUER             ADDRESS ON FILE
FELIX CRUZ LAGUER             ADDRESS ON FILE
FELIX CRUZ ORTIZ              ADDRESS ON FILE
FELIX CRUZ PADILLA            ADDRESS ON FILE
FELIX CRUZ SANTOS             ADDRESS ON FILE
FELIX CRUZ TORRES             ADDRESS ON FILE
FELIX CRUZ, ALBERTO           ADDRESS ON FILE
FELIX CRUZ, CARMEN            ADDRESS ON FILE
FELIX CRUZ, DIGNA             ADDRESS ON FILE
Felix Cruz, Jose              ADDRESS ON FILE
FELIX CRUZ, JOSE A            ADDRESS ON FILE
FELIX CRUZ, JOSE A.           ADDRESS ON FILE
FELIX CRUZ, NOEMI             ADDRESS ON FILE
FELIX CRUZ, VALENTINA         ADDRESS ON FILE
FELIX D DE JESUS VERA         ADDRESS ON FILE
FELIX D DELGADO MONTALVO      ADDRESS ON FILE
FELIX D ECHEVARRIA QUINONES   ADDRESS ON FILE
FELIX D REYES ZAVALA          ADDRESS ON FILE
FELIX D RIVERA ROCHE          ADDRESS ON FILE
FELIX D ROQUE OSORIO          ADDRESS ON FILE
FELIX D TORRES ROSARIO        ADDRESS ON FILE
FELIX DANIEL TORRES QUILES    ADDRESS ON FILE
FELIX DAVID FRANCO LUYANDO    ADDRESS ON FILE
FELIX DAVILA, LUIS            ADDRESS ON FILE
FELIX DE JESUS NIEVES         ADDRESS ON FILE
FELIX DE JESUS, ANA           ADDRESS ON FILE
FELIX DE JESUS, DIGNA Z       ADDRESS ON FILE
Felix De Jesus, Edwin I.      ADDRESS ON FILE
FELIX DE JESUS, ENRIQUE       ADDRESS ON FILE
FELIX DE JESUS, JOSE          ADDRESS ON FILE
FELIX DE JESUS, JOSE          ADDRESS ON FILE
FELIX DE JESUS, LUIS A        ADDRESS ON FILE
FELIX DE JESUS, MARIO         ADDRESS ON FILE
Felix De Jesus, Miguel A      ADDRESS ON FILE
FÉLIX DE JESÚS, MIGUEL A.     LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
FÉLIX DE JESÚS, MIGUEL A.     LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
Felix De Jesus, Orlando       ADDRESS ON FILE
FELIX DE JESUS, ORLANDO       ADDRESS ON FILE
FELIX DE JESUS, RAMON         ADDRESS ON FILE
FELIX DEL VALLE, JOWIN        ADDRESS ON FILE
FELIX DELGADO                 ADDRESS ON FILE
FELIX DELGADO RODRIGUEZ       ADDRESS ON FILE
FELIX DELGADO VAZQUEZ         ADDRESS ON FILE
FELIX DELGADO, JAVIER O.      ADDRESS ON FILE
FELIX DIAZ AVILES             ADDRESS ON FILE
FELIX DIAZ CASTILLO           ADDRESS ON FILE
FELIX DIAZ VAZQUEZ            ADDRESS ON FILE
FELIX DIAZ VEGA               ADDRESS ON FILE
FELIX DIAZ, JUAN              ADDRESS ON FILE
FELIX DIAZ, MARIA E.          ADDRESS ON FILE
FELIX DIAZ, VICTOR            ADDRESS ON FILE
FELIX DIAZ, YAMILKA           ADDRESS ON FILE
FELIX DOMINGUEZ CALDERON      ADDRESS ON FILE
FELIX DONDEYNE, JOSE          ADDRESS ON FILE
FELIX DONES VELAZQUEZ         ADDRESS ON FILE
FELIX E APONTE SANCHEZ        ADDRESS ON FILE
FELIX E FERRER LIBRAN         ADDRESS ON FILE




                                                                                   Page 2755 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2756 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FELIX E FIGUEROA LOPEZ                     ADDRESS ON FILE
FELIX E GARDON ALVAREZ                     ADDRESS ON FILE
FELIX E GONZALEZ MELENDEZ                  ADDRESS ON FILE
FELIX E LOPEZ                              ADDRESS ON FILE
FELIX E MALDONADO SANTOS                   ADDRESS ON FILE
FELIX E MALDONADO SANTOS                   ADDRESS ON FILE
FELIX E MARRERO RAMOS                      ADDRESS ON FILE
FELIX E MARTINEZ MEDINA                    ADDRESS ON FILE
FELIX E MOLINA DIAZ                        ADDRESS ON FILE
FELIX E RIVERA TORRES                      ADDRESS ON FILE
FELIX E RODRIGUEZ AGUIRRE                  ADDRESS ON FILE
FELIX E RODRIGUEZ FELICIANO                ADDRESS ON FILE
FELIX E ROMERO MARSHALL                    ADDRESS ON FILE
FELIX E ROMERO MARSHALL                    ADDRESS ON FILE
FELIX E ROSARIO CORDERO                    ADDRESS ON FILE
FELIX E SERRANO ROMAN                      ADDRESS ON FILE
FELIX E TORRES SANTIAGO                    ADDRESS ON FILE
FELIX E ZAYAS COLON                        ADDRESS ON FILE
FELIX E. COLON BANOS                       ADDRESS ON FILE
FELIX E. FUENTES LATORRE                   ADDRESS ON FILE
FELIX ECHEVARIA MARTINEZ                   ADDRESS ON FILE
FELIX ECHEVARRIA AFANADOR                  ADDRESS ON FILE
FELIX ELIAS DE JESUS                       ADDRESS ON FILE
FELIX ENCARNACION GARCIA                   ADDRESS ON FILE
FELIX ENCARNACION PASTRANA                 ADDRESS ON FILE
FELIX ENCARNACION, ANASTACIO               ADDRESS ON FILE
FELIX ESCALERA ANDINO                      ADDRESS ON FILE
FELIX ESTEVES, MAGALY J                    ADDRESS ON FILE
FELIX F FLORES CARRION                     ADDRESS ON FILE
FELIX F GARAYALDE                          ADDRESS ON FILE
FELIX F MORALES BAEZ                       ADDRESS ON FILE
FELIX FELICIANO                            ADDRESS ON FILE
FELIX FELICIANO ARRIETA                    ADDRESS ON FILE
FELIX FELICIANO QUINONES                   ADDRESS ON FILE
FELIX FELIX, YORK                          ADDRESS ON FILE
FELIX FERNANDEZ VAZQUEZ                    ADDRESS ON FILE
FELIX FERRER MIRANDA                       ADDRESS ON FILE
FELIX FIGUEROA TORRES                      ADDRESS ON FILE
FELIX FIGUEROA, EDWIN                      ADDRESS ON FILE
FELIX FIGUEROA, HECTOR R                   ADDRESS ON FILE
FELIX FLORES, IVONNE                       ADDRESS ON FILE
FELIX FONTANEZ, JUAN C.                    ADDRESS ON FILE
FELIX FUENTES Y ROSA VAZQUEZ               PO BOX 2752                                                                      GUAYNABO     PR      00970
FELIX FUENTES, GLENDA L.                   ADDRESS ON FILE
FELIX G ACEVEDO RUIZ                       ADDRESS ON FILE
FELIX G ALEJANDRO PEREZ                    ADDRESS ON FILE
FELIX G AVILES SANTOS                      ADDRESS ON FILE
FELIX G DEL RIO RODRIGUEZ                  ADDRESS ON FILE
FELIX G DELGADO VARGAS / FELIX R DELGADO   ADDRESS ON FILE
FELIX G ECHEVARRIA SANTIAGO                ADDRESS ON FILE
FELIX G GUARDIOLA DIAZ                     ADDRESS ON FILE
FELIX G MIRANDA BERRIOS                    ADDRESS ON FILE
FELIX G VERDEJO SANCHEZ                    ADDRESS ON FILE
FELIX G. LOPEZ DIAZ                        ADDRESS ON FILE
FELIX G. LOPEZ LISOJO                      ADDRESS ON FILE
FELIX G. ROSADO RAMOS                      ADDRESS ON FILE
FELIX GABRIEL LEON MARTINEZ                ADDRESS ON FILE
FELIX GALARZA ALVAREZ                      ADDRESS ON FILE
FELIX GARCIA BERMUDEZ                      ADDRESS ON FILE
FELIX GARCIA DIAZ                          ADDRESS ON FILE




                                                                                       Page 2756 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2757 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                          Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
FELIX GARCIA RAMOS                     ADDRESS ON FILE
FELIX GARCIA, ANGEL                    ADDRESS ON FILE
FELIX GARCIA, BETZAIDA                 ADDRESS ON FILE
Felix Garcia, Carlos                   ADDRESS ON FILE
FELIX GARCIA, NEREIDA                  ADDRESS ON FILE
FELIX GARCIA, ROSA I                   ADDRESS ON FILE
FELIX GOMEZ RODRIGUEZ                  ADDRESS ON FILE
FELIX GOMEZ, VILMA                     ADDRESS ON FILE
FELIX GONZALEZ ALVAREZ                 ADDRESS ON FILE
FELIX GONZALEZ ALVAREZ                 ADDRESS ON FILE
FELIX GONZALEZ ALVAREZ                 ADDRESS ON FILE
FELIX GONZALEZ CARRASQUILLO            ADDRESS ON FILE
FELIX GONZALEZ CORTES                  ADDRESS ON FILE
FELIX GONZALEZ GUERRIDO                ADDRESS ON FILE
FELIX GONZALEZ MARTINEZ                ADDRESS ON FILE
FELIX GONZALEZ RODRIGUEZ               ADDRESS ON FILE
FELIX GONZALEZ ROSARIO                 ADDRESS ON FILE
Felix Gonzalez, Carlos H.              ADDRESS ON FILE
FELIX GONZALEZ, GILBERTO               ADDRESS ON FILE
FELIX GONZALEZ, JOSE                   ADDRESS ON FILE
FELIX GONZALEZ, JOSE                   ADDRESS ON FILE
FELIX GONZALEZ, LUANIE T               ADDRESS ON FILE
FELIX GONZALEZ, RAFAEL                 ADDRESS ON FILE
FELIX GONZALEZ, RAMON                  ADDRESS ON FILE
FELIX GONZALEZ, VANESSA                ADDRESS ON FILE
FELIX GONZALEZ, YAHAIRA                ADDRESS ON FILE
FELIX GONZALEZ, YAJAIRA                ADDRESS ON FILE
FELIX GUILLERMO GUZMAN MOYETT          ADDRESS ON FILE
FELIX GUTIERREZ PARA ALIVETTE CRUZ     ADDRESS ON FILE
FELIX HERNANDEZ CASADO/ HOGAR LA PAZ   ADDRESS ON FILE
FELIX HERNANDEZ DOMENECH               ADDRESS ON FILE
FELIX HERNANDEZ MENDEZ                 ADDRESS ON FILE
FELIX HERNANDEZ, CARMELO               ADDRESS ON FILE
FELIX HERNANDEZ, DAMARIS               ADDRESS ON FILE
FELIX HERNANDEZ, GLADYS                ADDRESS ON FILE
FELIX HERNANDEZ, GLADYS                ADDRESS ON FILE
FELIX HERNANDEZ, GLAGYS                ADDRESS ON FILE
FELIX HERNANDEZ, ROSA A                ADDRESS ON FILE
FELIX HIDALGO, ALEX                    ADDRESS ON FILE
FELIX I CORTES VAZQUEZ                 ADDRESS ON FILE
FELIX I LEON LEON                      ADDRESS ON FILE
FELIX I MARTINEZ LOPEZ                 ADDRESS ON FILE
FELIX I RIVERA CINTRON                 ADDRESS ON FILE
FELIX I ROJAS FORERO                   ADDRESS ON FILE
FELIX INIGO AGOSTINI ESTATE            URB BALDRICH              CALLE INDEPENDENCIA #561                                        HATO REY     PR      00918
Felix Irizarry Martinez                ADDRESS ON FILE
FELIX IVAN PENA                        ADDRESS ON FILE
FELIX J ARROYO VALCARCE                ADDRESS ON FILE
FELIX J CAPELES ROSADO                 ADDRESS ON FILE
FELIX J CHINEA GARCIA                  ADDRESS ON FILE
FELIX J COLON ALVARADO                 ADDRESS ON FILE
FELIX J CRUZ SOTO                      ADDRESS ON FILE
FELIX J FEBUS TORRES                   ADDRESS ON FILE
FELIX J FUENTES TORRES                 ADDRESS ON FILE
FELIX J GARCIA OTERO                   ADDRESS ON FILE
FELIX J IRIZARRY/ROSNNY MORALES        ADDRESS ON FILE
FELIX J LOPEZ REYES                    ADDRESS ON FILE
FELIX J MADERA MADERA                  ADDRESS ON FILE
FELIX J MALDONADO MARRERO              ADDRESS ON FILE
FELIX J MEDINA CRUZ                    ADDRESS ON FILE




                                                                                            Page 2757 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2758 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                           Address1                                    Address2                                   Address3         Address4             City          State   PostalCode   Country
FELIX J MORET MEDINA / LEYLA I MEDINA   ADDRESS ON FILE
FELIX J MUNOZ RODRIGUEZ                 ADDRESS ON FILE
FELIX J MUNOZ RODRIGUEZ                 ADDRESS ON FILE
FELIX J NUNEZ MOLINA                    ADDRESS ON FILE
FELIX J PEREZ CHINEA                    ADDRESS ON FILE
FELIX J QUINONES SEGUI/ MARIBEL SEGUI   COM LAS FLORES                              BUZON 37 CALLE LAS FLORES                                                        AGUADA        PR      00602
FELIX J RAMOS FLORES                    ADDRESS ON FILE
FELIX J RIVERA PEREZ                    ADDRESS ON FILE
FELIX J RIVERA VEGA                     ADDRESS ON FILE
FELIX J RIVERA/ NILSA TORRES            ADDRESS ON FILE
FELIX J RODRIGUEZ AGUIRRE               ADDRESS ON FILE
FELIX J RODRIGUEZ ALAYON                ADDRESS ON FILE
FELIX J RODRIGUEZ APONTE                ADDRESS ON FILE
FELIX J RODRIGUEZ VAZQUEZ               ADDRESS ON FILE
FELIX J SAAVEDRA SALAS                  ADDRESS ON FILE
FELIX J SALGADO CORREA                  ADDRESS ON FILE
FELIX J SANTIAGO DE JESUS               ADDRESS ON FILE
FELIX J SANTIAGO GARCIA                 ADDRESS ON FILE
FELIX J SANTIAGO SOLIVAN                ADDRESS ON FILE
FELIX J TORO HERNANDEZ                  ADDRESS ON FILE
FELIX J TORRES RODRIGUEZ                ADDRESS ON FILE
FELIX J VARGAS PEREZ                    ADDRESS ON FILE
FÉLIX J. MELÉNDEZ MARTINEZ              ADDRESS ON FILE
FELIX J. ORTIZ ADDARICH                 ADDRESS ON FILE
FELIX J. SANTA COLON                    ADDRESS ON FILE
FELIX JAVIER MORALES LOPEZ              ADDRESS ON FILE
FELIX JIMENEZ, PAULINA                  ADDRESS ON FILE
FELIX JOHAN ARROYO NAZARIO              ADDRESS ON FILE
FÉLIX JOHAN MALDONADO                   RODRIGUEZ HUEMER, MYRIA A                   PO BOX 856                                                                       VEGA BAJA     PR      00694‐2454
FELIX JORGE GONZALEZ                    ADDRESS ON FILE
FELIX JOSUE PEREZ CHINEA                ADDRESS ON FILE
FELIX KITCHEN DECOR                     HC‐01 BOX 4083                                                                                                               COROZAL       PR      00783
FELIX L CALDERON NEVAREZ                ADDRESS ON FILE
FELIX L CANDELARIO VENTURA              ADDRESS ON FILE
FELIX L DAVILA RODRIGUEZ                ADDRESS ON FILE
FELIX L ESPADA ORTIZ                    ADDRESS ON FILE
FELIX L FLORES FIGUEROA                 ADDRESS ON FILE
FELIX L GONZALEZ RIVERA                 ADDRESS ON FILE
FELIX L LATIMER ALVAREZ                 ADDRESS ON FILE
FELIX L MATIAS ORTIZ                    ADDRESS ON FILE
FELIX L NEGRON GONZALEZ                 ADDRESS ON FILE
FELIX L REXACH Y SARA OLIVENCIA         ADDRESS ON FILE
FELIX L RIVERA MILLAN                   ADDRESS ON FILE
FELIX L RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
FELIX L RUIZ ORTIZ                      ADDRESS ON FILE
FELIX L SANTIAGO                        ADDRESS ON FILE
FELIX L TORRES RODRIGUEZ                ADDRESS ON FILE
FELIX L VALLE AVILES                    ADDRESS ON FILE
FELIX L VARGAS GONZALEZ                 ADDRESS ON FILE
FELIX L VAZQUEZ ORTIZ                   CALLE SANTA CRUZ #74 RIVERSIDE PLAZA 16‐E                                                                                    BAYAMON       PR      00961
FELIX L. CALDERON NEVAREZ               ADDRESS ON FILE

FELIX L. GARCÍA ALVARADO                FERNANDO JOSÉ RIVERA CASELLAS               COND. EL CENTRO II                         SUITES 228‐229   AVE. MUÑOZ RIVERA 500 SAN JUAN     PR      00918
FELIX LA SANTA ROBLES                   ADDRESS ON FILE
FELIX LARACUENTE                        ADDRESS ON FILE
FELIX LARACUENTE COLON                  ADDRESS ON FILE
FELIX LAUGIER                           ADDRESS ON FILE
FELIX LAUREANO, JUAN                    ADDRESS ON FILE
FELIX LAVIENA CRUZ                      ADDRESS ON FILE
FELIX LEBRON, EDWIN                     ADDRESS ON FILE




                                                                                                                Page 2758 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2759 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                           Address1                                Address2                               Address3                 Address4   City                State   PostalCode   Country
FELIX LEBRON, MILDRED                   ADDRESS ON FILE
FELIX LEON RIVERA                       LCDO BERNARDO NEGRON MONTALVO           27 CALLE MUNOZ                                                             RIVERA VILLALBA     PR      00766
FELIX LISOJO MUNOZ                      ADDRESS ON FILE
FELIX LIZAZOAIN ORTIZ                   ADDRESS ON FILE
FELIX LLORENS SANTINI                   ADDRESS ON FILE
FELIX LOPEZ FELICIANO                   ADDRESS ON FILE
FELIX LOPEZ MENDOZA                     ADDRESS ON FILE
FELIX LOPEZ PEREZ                       ADDRESS ON FILE
FELIX LOPEZ RIVERA                      ADDRESS ON FILE
FELIX LOPEZ, CHEZZET LI                 ADDRESS ON FILE
FELIX LOPEZ, CRISTINO                   ADDRESS ON FILE
FELIX LOPEZ, EDDIE                      ADDRESS ON FILE
FELIX LOPEZ, EDDIE                      ADDRESS ON FILE
FELIX LOPEZ, GLORIA                     ADDRESS ON FILE
FELIX LOPEZ, GRETCHEN M                 ADDRESS ON FILE
FELIX LORENZO, CRISTINA                 ADDRESS ON FILE
FELIX LORENZO, CRISTINA                 ADDRESS ON FILE
FELIX LUGO RIVERA                       ADDRESS ON FILE
FELIX LUGO, PRISCILA                    ADDRESS ON FILE
FELIX LUIS MARTINEZ BERRIOS             ADDRESS ON FILE
FELIX LUIS RODRIGUEZ DE JESUS           ADDRESS ON FILE
FELIX M BURGOS SANTIAGO                 ADDRESS ON FILE
FELIX M CINTRON SERRANO                 ADDRESS ON FILE
FELIX M COLLAZO A/C GLADYS NOGUERA      ADDRESS ON FILE
FELIX M CRIQUIT JIUS                    ADDRESS ON FILE
FELIX M CRUZ DE ALBA                    ADDRESS ON FILE
FELIX M CRUZ SANTIAGO                   ADDRESS ON FILE
FELIX M FELIZ ACOSTA                    ADDRESS ON FILE
FÉLIX M FIGUEROA LORENZO                ADDRESS ON FILE
FELIX M FUENTES                         ADDRESS ON FILE
FELIX M GAGO BARRETO                    ADDRESS ON FILE
FELIX M LLANOS Y HILDA I GEREDA         ADDRESS ON FILE
FELIX M MALDONADO NARVAEZ               ADDRESS ON FILE
FELIX M MELENDEZ RAMOS                  ADDRESS ON FILE
FELIX M NEGRON                          ADDRESS ON FILE
FELIX M ODIOTT‐SANCHEZ                  ADDRESS ON FILE
FELIX M RENTAS CORONADO                 ADDRESS ON FILE
FELIX M REYES MARQUEZ                   ADDRESS ON FILE
FELIX M RIVERA BORGES/SYNERLUTION INC   P O BOX 3181                                                                                                       MAYAGUEZ            PR      00681
FELIX M RIVERA MOYA                     ADDRESS ON FILE
FELIX M RODRIGUEZ RIOS                  ADDRESS ON FILE
FELIX M RODRIGUEZ VARGAS                ADDRESS ON FILE
FELIX M SANTOS                          ADDRESS ON FILE
FELIX M SANTOS                          ADDRESS ON FILE
FELIX M SANTOS SANTIAGO                 ADDRESS ON FILE
FELIX M TOYENS FERNANDEZ                ADDRESS ON FILE
FELIX M VARGAS SANTOS                   ADDRESS ON FILE
FELIX M VELAZQUEZ RODRIGUEZ             ADDRESS ON FILE
FELIX M VELAZQUEZ SANCHEZ               ADDRESS ON FILE
FELIX M. ALVAREZ CARRION                LCDA. GAUDELYN SÁNCHEZ MEJÍAS(ABOGADA ASPO BOX 1482                                                                GUAYNABO            PR      00970‐1482
FELIX M. ALVAREZ CARRION                LCDA. GLADYS E. ACEVEDO ROBLES          PO BOX 194000                                                              SAN JUAN            PR      00919‐4000
FELIX M. ALVAREZ CARRION                LCDA. VERÓNICA M. ORTIZ GALICHET        CENTRO INTERNACIONAL DE MERCADEO TORRE 100 CARR. 165 STE. 509              GUAYNABO            PR      00968‐8052
FELIX M. ALVAREZ CARRION                LCDO. JOHN DONATO OLIVENCIA             PO Box 364522                                                              San Juan            PR      00936‐4522
FELIX M. ALVAREZ CARRION                LCDO. LUIS VIZCARRONDO ORTIZ            PO BOX 364522                                                              SAN JUAN            PR      00936‐4522
FELIX M. REYES REYES                    ADDRESS ON FILE
FELIX M. RODRIGUEZ VARGAS               ADDRESS ON FILE
FELIX MADERA RAMOS                      ADDRESS ON FILE
FELIX MALDONADO MELENDEZ                ADDRESS ON FILE
FELIX MALDONADO ROQUE                   ADDRESS ON FILE
FELIX MALDONADO, ANGEL I                ADDRESS ON FILE




                                                                                                           Page 2759 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                              Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2760 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                        Address2                             Address3               Address4        City         State   PostalCode   Country
FELIX MANUEL PENA CASTILLO             ADDRESS ON FILE
FELIX MANUEL RESTO RODRIGUEZ           ADDRESS ON FILE
FELIX MANUEL RIVERA MERCADO            ADDRESS ON FILE
FELIX MARQUEZ DREW                     ADDRESS ON FILE
FELIX MARRERO NAZARIO                  ADDRESS ON FILE
FELIX MARRERO NAZARIO                  ADDRESS ON FILE
FELIX MARRERO, CARLOS                  ADDRESS ON FILE
FELIX MARRERO, MARTA                   ADDRESS ON FILE
FELIX MARTINEZ MORALES                 ADDRESS ON FILE
FELIX MARTINEZ PEREZ                   ADDRESS ON FILE
FELIX MARTINEZ, ALEX                   ADDRESS ON FILE
FELIX MARTINEZ, MARILYN                ADDRESS ON FILE
FELIX MARTINEZ, MICHELLE               ADDRESS ON FILE
FELIX MARTINEZ, MIGDALIA               ADDRESS ON FILE
FELIX MARTINEZ, SUGEY                  ADDRESS ON FILE
FELIX MATEO TORRES                     ADDRESS ON FILE
FELIX MATIAS PARDO                     ADDRESS ON FILE
FELIX MATOS ARROYO                     ADDRESS ON FILE
FELIX MATOS PENA                       ADDRESS ON FILE
FELIX MATOS PENA                       ADDRESS ON FILE
FELIX MATOS RIVERA                     ADDRESS ON FILE
FELIX MATOS SANTANA                    ADDRESS ON FILE
FELIX MATOS, ABIGAIL                   ADDRESS ON FILE
FELIX MATTOS, VICTOR                   ADDRESS ON FILE
FELIX MEJIA, NELSON                    ADDRESS ON FILE
FELIX MEJIAS ORTIZ                     LCDA. GAUDELYN SÁNCHEZ MEJÍAS   PO BOX 1482                                                                 GUAYNABO     PR      00970‐1482
FELIX MEJIAS ORTIZ                     LCDO. RAFAEL O. BAELLA ORS;                                      563 CALLE PEDRO A. BIGAY   EXT. BALDRICH   SAN JUAN     PR      00918
FELIX MELENDEZ VARGAS                  ADDRESS ON FILE
FELIX MELENDEZ, AGNES M                ADDRESS ON FILE
FELIX MELENDEZ, HUGO R                 ADDRESS ON FILE
FELIX MENDEZ ORTIZ                     ADDRESS ON FILE
FELIX MENDOZA ACOSTA                   ADDRESS ON FILE
FELIX MENDOZA BENITEZ                  ADDRESS ON FILE
FELIX MERCADO DE JESUS                 GENOVEVA VALENTÍN SOTO          PO BOX 13695                                                                SAN JUAN     PR      00908‐3695
FELIX MERCADO, CARMEN L                ADDRESS ON FILE
FELIX MERCED DIAZ DBA DIDACTICOS       PO BOX 1036                                                                                                 GURABO       PR      00778
FELIX MERCED DIAZ DBA DIDACTICOS       URB PRECIOSA GURABO             X 7 CALLE VERDE LUZ                                                         GURABO       PR      00778
FELIX MIGUEL GONZALEZ SANTIAGO         ADDRESS ON FILE
FELIX MILLAN, IVELISSE                 ADDRESS ON FILE
FELIX MIRANDA FRASQUERI                ADDRESS ON FILE
FELIX MOLINA FLORES DBA PR SOLUTIONS   PO BOX 50090                                                                                                TOA BAJA     PR      00950
FELIX MONTALVO CANINO                  ADDRESS ON FILE
FELIX MONTANEZ ROSA                    ADDRESS ON FILE
FELIX MONTANEZ, FELICITA               ADDRESS ON FILE
FELIX MONTANEZ, JULIA                  ADDRESS ON FILE
FELIX MONTES ENCARNACION               ADDRESS ON FILE
FELIX MONTILLA, JUAN                   ADDRESS ON FILE
FELIX MORALES BRITO                    ADDRESS ON FILE
FELIX MORALES CRUZ                     ADDRESS ON FILE
FELIX MORALES MARIN                    ADDRESS ON FILE
FELIX MORALES VIERA                    ADDRESS ON FILE
FELIX MORALES VIERA                    ADDRESS ON FILE
FELIX MORALES, GERMAN                  ADDRESS ON FILE
FELIX MORALES, MARIA DEL MAR           ADDRESS ON FILE
FELIX MORENO QUINONES                  ADDRESS ON FILE
FELIX N BERMUDEZ RODRIGUEZ             ADDRESS ON FILE
FELIX N LEAL LOPEZ                     ADDRESS ON FILE
FELIX N MELENDEZ LUNA                  ADDRESS ON FILE
FELIX N NEGRON RIVERA                  ADDRESS ON FILE
FELIX N ORTIZ ALEJANDRO                ADDRESS ON FILE




                                                                                             Page 2760 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2761 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                            Address1                            Address2                          Address3   Address4             City          State   PostalCode   Country
FELIX N PEREZ TORO                       ADDRESS ON FILE
FELIX N ROMAN Y O MFS CONSULTING ENGIN   URB SUSAN COURT                     1 CALLE PATRICIA                                                  GUAYNABO      PR      00966
FELIX N VARGAS SANTOS                    ADDRESS ON FILE
FELIX NAVARRO COSME                      ADDRESS ON FILE
FELIX NAVARRO SANCHEZ                    ADDRESS ON FILE
FELIX NEGRON ACOSTA                      ADDRESS ON FILE
FELIX NEGRON BURGOS                      ADDRESS ON FILE
FELIX NEGRON LAUREANO                    ADDRESS ON FILE
FELIX NEGRON LOPEZ                       ADDRESS ON FILE
FELIX NIEVES CASTRO                      LCDO. JUAN C. RÍOS PÉREZ            PO BOX 902443                                                     SAN JUAN      PR      00902‐0443
FELIX NIEVES POLA                        ADDRESS ON FILE
FELIX NIEVES, MARIA A                    ADDRESS ON FILE
FELIX NUNEZ RUIZ                         ADDRESS ON FILE
FELIX O BONILLA MELENDEZ                 ADDRESS ON FILE
FELIX O MALDONADO                        ADDRESS ON FILE
FELIX O PACHECO SANTOS                   ADDRESS ON FILE
FELIX O QUINTANA LUGO                    ADDRESS ON FILE
FELIX O SOTO FLORES                      ADDRESS ON FILE
FELIX O. BONILLA MELENDEZ                ADDRESS ON FILE
FÉLIX O. COLÓN BERNARD                   LCDO. OSVALDO TOLEDO GARCIA         PO BOX 190938                                                     SAN JUAN      PR      00919‐0938
FELIX OCASIO VARGAS                      ADDRESS ON FILE
                                                                                                                          EDIFICIO HERNANDEZ
FELIX OCASIO VASGAS                      LCDO. EDWIN H. SEPULVEDA VALENTIN   CALLEOGRESO #91                   SUITE C    LEBRON               AGUADILLA     PR      00603
FELIX OLMO CALDERON                      ADDRESS ON FILE
FELIX OLMO Y PATRICIA CASTILLO           ADDRESS ON FILE
FELIX OMAR SANTIAGO RAMOS                ADDRESS ON FILE
FELIX ONEILL GRACIA                      ADDRESS ON FILE
Felix Orengo, Cesar                      ADDRESS ON FILE
FELIX ORENGO, DAISY                      ADDRESS ON FILE
FELIX ORTIZ ABRAHAM                      ADDRESS ON FILE
FELIX ORTIZ GONZALEZ                     ADDRESS ON FILE
FELIX ORTIZ ROSADO                       ADDRESS ON FILE
FELIX ORTIZ RUIZ                         ADDRESS ON FILE
FELIX ORTIZ, EDNA L.                     ADDRESS ON FILE
FELIX ORTIZ, GUIMARIE                    ADDRESS ON FILE
Felix Ortiz, Ivelisse                    ADDRESS ON FILE
FELIX ORTIZ, JUAN E                      ADDRESS ON FILE
FELIX ORTIZ, MARANGELY                   ADDRESS ON FILE
FELIX ORTIZ, MARISEL                     ADDRESS ON FILE
FELIX ORTIZ, MARTIN                      ADDRESS ON FILE
Felix Ortiz, Rafael                      ADDRESS ON FILE
Felix Ortiz, Wilfredo                    ADDRESS ON FILE
FELIX OTERO, ENRIQUE                     ADDRESS ON FILE
FELIX P SANTIAGO SANTOS                  ADDRESS ON FILE
FELIX PAGAN RIVERA                       ADDRESS ON FILE
Felix Pares Hernandez                    ADDRESS ON FILE
FELIX PELLOT TAVAREZ                     ADDRESS ON FILE
FELIX PENA, MARISOL                      ADDRESS ON FILE
FELIX PERALES, MARIO                     ADDRESS ON FILE
FELIX PIZARRO, CARLOS E                  ADDRESS ON FILE
FELIX PLUMEY                             ADDRESS ON FILE
FELIX PREIRA GONZÁLEZ                    ADDRESS ON FILE
FELIX PUYARENA PABON                     ADDRESS ON FILE
FELIX QUINONES CARTAGENA                 ADDRESS ON FILE
FELIX QUINONES CARTAGENA                 ADDRESS ON FILE
FELIX QUINONES RAMIREZ                   ADDRESS ON FILE
FELIX QUINONES RUIZ                      ADDRESS ON FILE
FELIX QUIRINDONGO SANTIAGO               ADDRESS ON FILE
FELIX R ACEVEDO COTTO                    ADDRESS ON FILE
FELIX R DE JESUS MELENDEZ                ADDRESS ON FILE




                                                                                                Page 2761 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2762 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                    Address1                        Address2                                    Address3            Address4   City         State   PostalCode   Country
FELIX R DELGADO /FELIX DELGADO   ADDRESS ON FILE
FELIX R DIAZ ROSADO              ADDRESS ON FILE
FELIX R EGIPCIACO FIGUEROA       ADDRESS ON FILE
FELIX R FALERO ALCANTARA         ADDRESS ON FILE
FELIX R GOMEZ / EMILSIE PEREZ    ADDRESS ON FILE
FELIX R JIMENEZ SERRANO          ADDRESS ON FILE
FELIX R JOSEPH RODAS             ADDRESS ON FILE
FELIX R MALDONADO ROBLES         ADDRESS ON FILE
FELIX R MALDONADO ROBLES         ADDRESS ON FILE
FELIX R MELENDEZ OCASIO          ADDRESS ON FILE
FELIX R MONTERO ALVAREZ          ADDRESS ON FILE
FELIX R MONTES VELEZ             ADDRESS ON FILE
FELIX R MORALES GONZALEZ         ADDRESS ON FILE
FELIX R MORALES LOPEZ            ADDRESS ON FILE
FELIX R MORALES NEGRON           ADDRESS ON FILE
FELIX R ORTIZ GARCIA             ADDRESS ON FILE
FELIX R PENA ABAD                ADDRESS ON FILE
FELIX R PERDOMO SILVERA          ADDRESS ON FILE
FELIX R RAMOS DE JESUS           ADDRESS ON FILE
FELIX R RIVERA AVILES            ADDRESS ON FILE
FELIX R SANTIAGO RODRIGUEZ       ADDRESS ON FILE
FELIX R VAZQUEZ LUGO             ADDRESS ON FILE
FELIX R VEGA SALA                ADDRESS ON FILE
FELIX R. AGOSTO MELENDEZ         ADDRESS ON FILE
FELIX R. BAEZ AQUINO             ADDRESS ON FILE
FELIX R. GOMEZ VELAZQUEZ         ADDRESS ON FILE
FELIX R. VELAZQUEZ RIOS          ADDRESS ON FILE
FELIX RAMIRE Z, ZOILA A          ADDRESS ON FILE
FELIX RAMIREZ DIAZ               ADDRESS ON FILE
FELIX RAMIREZ RUIZ               ADDRESS ON FILE
FELIX RAMOS BERRIOS              ADDRESS ON FILE
FELIX RAMOS GONZALEZ             ADDRESS ON FILE
FELIX RAMOS TORRES               ADDRESS ON FILE
FELIX RAMOS, ADELMARIE           ADDRESS ON FILE
FELIX RAMOS, IVONNE              ADDRESS ON FILE
FELIX RAUL LOPEZ GONZALEZ        ADDRESS ON FILE
FELIX RESTO, JOSE                ADDRESS ON FILE
FELIX RESTO, JOSE A              ADDRESS ON FILE
FELIX REYES ROSADO               ADDRESS ON FILE
FELIX REYES, CYNTHIA             ADDRESS ON FILE
FELIX RIOS JIMENEZ               ADDRESS ON FILE
FELIX RIVAS OTERO                ADDRESS ON FILE
FELIX RIVAS ROSADO               ADDRESS ON FILE
FELIX RIVERA                     ADDRESS ON FILE
FELIX RIVERA ALICEA              ADDRESS ON FILE
FELIX RIVERA BORGES GASTR CSP    PO BOX 3181                                                                                                MAYAGUEZ     PR      00681
FELIX RIVERA CARABALLO           ADDRESS ON FILE
FELIX RIVERA CINTRON             ADDRESS ON FILE
FELIX RIVERA CLEMENTE            ADDRESS ON FILE
FELIX RIVERA COLON               ADDRESS ON FILE
FELIX RIVERA DE JESUS            ADDRESS ON FILE
FELIX RIVERA MONTALVO            ADDRESS ON FILE
FELIX RIVERA MORALES             ADDRESS ON FILE
FELIX RIVERA PEREZ               ADDRESS ON FILE
FELIX RIVERA QUINONES            ADDRESS ON FILE
FELIX RIVERA RIVERA              SR. FÉLIX RIVERA RIVERA         INSTITUCIÓN MÁXIMA SEGURIDAD                PO BOX 10786        B‐5 6013   PONCE        PR      00732
FELIX RIVERA RODRIGUEZ           ADDRESS ON FILE
FELIX RIVERA RODRIGUEZ           ADDRESS ON FILE
                                                                                                             1353 AVENIDA LUIS
FELIX RIVERA RODRIGUEZ           LCDA. YARLENE JIMÉNEZ ROSARIO   PMB 133                                     VIGOREAUX                      GUAYNABO     PR      00966‐2700




                                                                                           Page 2762 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2763 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                              Address1                  Address2                              Address3   Address4   City        State   PostalCode   Country
FELIX RIVERA ROSA                          ADDRESS ON FILE
FELIX RIVERA VILLALOBOS                    ADDRESS ON FILE
FELIX RIVERA VILLALOBOS                    ADDRESS ON FILE
FELIX RIVERA, DINORAH                      ADDRESS ON FILE
FELIX RIVERA, EDNA                         ADDRESS ON FILE
FELIX RIVERA, EDNA                         ADDRESS ON FILE
FELIX RIVERA, GABRIEL                      ADDRESS ON FILE
FELIX RIVERA, HEIDY M                      ADDRESS ON FILE
FELIX RIVERA, JORGE                        ADDRESS ON FILE
FELIX RIVERA, JOSE                         ADDRESS ON FILE
FELIX RIVERA, JUANITA                      ADDRESS ON FILE
FELIX RIVERA, MARIA DE L                   ADDRESS ON FILE
FELIX RIVERA, MARIELY                      ADDRESS ON FILE
FELIX RIVERA, MAYRA                        ADDRESS ON FILE
FELIX RODRIGUEZ                            ADDRESS ON FILE
FELIX RODRIGUEZ ALICEA                     ADDRESS ON FILE
FELIX RODRIGUEZ ARCHEVAL                   ADDRESS ON FILE
FELIX RODRIGUEZ CABRERA                    ADDRESS ON FILE
FELIX RODRIGUEZ COLON                      ADDRESS ON FILE
FELIX RODRIGUEZ CORTES                     ADDRESS ON FILE
FELIX RODRIGUEZ DBA CITY OFFICE SUPPLIES   PO BOX 1669                                                                           BAYAMON     PR      00960
FELIX RODRIGUEZ DBA CITY OFFICE SUPPLIES   URB EL SALVADOR           A 2 MARGINAL CARR #2                                        MANATI      PR      00674
FELIX RODRIGUEZ LUGO                       ADDRESS ON FILE
FELIX RODRIGUEZ MAIZONET                   ADDRESS ON FILE
FELIX RODRIGUEZ MATOS                      ADDRESS ON FILE
Felix Rodriguez Medina                     ADDRESS ON FILE
FELIX RODRIGUEZ ORTIZ                      ADDRESS ON FILE
FELIX RODRIGUEZ PEREZ                      ADDRESS ON FILE
FELIX RODRIGUEZ PORTALATIN                 ADDRESS ON FILE
FELIX RODRIGUEZ RIVERA                     ADDRESS ON FILE
FELIX RODRIGUEZ VEGA                       ADDRESS ON FILE
FELIX RODRIGUEZ Y MIGDALIA RAMOS           ADDRESS ON FILE
FELIX RODRIGUEZ, ALEXANDER                 ADDRESS ON FILE
FELIX RODRIGUEZ, ALEXANDER                 ADDRESS ON FILE
FELIX RODRIGUEZ, ANGEL L.                  ADDRESS ON FILE
FELIX RODRIGUEZ, ANGELINA                  ADDRESS ON FILE
FELIX RODRIGUEZ, AWILDA                    ADDRESS ON FILE
FELIX RODRIGUEZ, BENIGNO                   ADDRESS ON FILE
FELIX RODRIGUEZ, CARMEN                    ADDRESS ON FILE
FELIX RODRIGUEZ, EDGAR                     ADDRESS ON FILE
FELIX RODRIGUEZ, EDGARDO J                 ADDRESS ON FILE
FELIX RODRIGUEZ, ELVIRA                    ADDRESS ON FILE
FELIX RODRIGUEZ, ESTHER                    ADDRESS ON FILE
FELIX RODRIGUEZ, EVELIO                    ADDRESS ON FILE
FELIX RODRIGUEZ, FREDDIE                   ADDRESS ON FILE
FELIX RODRIGUEZ, IBIS                      ADDRESS ON FILE
FELIX RODRIGUEZ, ISIDRO                    ADDRESS ON FILE
FELIX RODRIGUEZ, ISIDRO                    ADDRESS ON FILE
Felix Rodriguez, Jorge J                   ADDRESS ON FILE
FELIX RODRIGUEZ, JOSE                      ADDRESS ON FILE
FELIX RODRIGUEZ, LUIS A                    ADDRESS ON FILE
FELIX RODRIGUEZ, MARAIDA I.                ADDRESS ON FILE
FELIX RODRIGUEZ, MARIA                     ADDRESS ON FILE
FELIX RODRIGUEZ, MIGUEL                    ADDRESS ON FILE
FELIX RODRIGUEZ, MIRIAM I                  ADDRESS ON FILE
FELIX RODRIGUEZ, NELLY I                   ADDRESS ON FILE
FELIX RODRIGUEZ, NEYSHA                    ADDRESS ON FILE
FELIX RODRIGUEZ, ORLANDO                   ADDRESS ON FILE
FELIX ROJAS                                ADDRESS ON FILE
FELIX ROJAS, IVETTE L                      ADDRESS ON FILE




                                                                                            Page 2763 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2764 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                            Address1                   Address2                                   Address3   Address4   City         State   PostalCode   Country
FELIX ROLANDO SOTO RIOS                  ADDRESS ON FILE
FELIX ROLDAN DIAZ                        ADDRESS ON FILE
FELIX ROLDAN, CARLOS                     ADDRESS ON FILE
FELIX ROMAN CARRASQUILLO                 ADDRESS ON FILE
FELIX ROMERO CRUZ                        ADDRESS ON FILE
Felix Romero, Pablo R.                   ADDRESS ON FILE
FELIX ROQUE ARZOLA                       ADDRESS ON FILE
Félix Rosado Marquez                     ADDRESS ON FILE
FELIX ROSADO Y ANA M NUNEZ               ADDRESS ON FILE
FELIX ROSADO, LUIS A.                    ADDRESS ON FILE
FELIX ROSARIO COLON                      ADDRESS ON FILE
FELIX ROSARIO PENA                       ADDRESS ON FILE
FELIX ROSARIO, JOSE                      ADDRESS ON FILE
FELIX ROSARIO, XAVIER                    ADDRESS ON FILE
FELIX RUBEN SERRANO ORLANDO              ADDRESS ON FILE
FELIX RUIZ RODRIGUEZ                     ADDRESS ON FILE
FELIX S MIRANDA MARRERO                  ADDRESS ON FILE
FELIX SABATER TORRES                     ADDRESS ON FILE
FELIX SALAS QUINONES                     ADDRESS ON FILE
FELIX SAN MIGUEL LOPEZ                   ADDRESS ON FILE
FELIX SANCHEZ                            ADDRESS ON FILE
FELIX SANCHEZ REYES                      ADDRESS ON FILE
FELIX SANCHEZ, RAMON                     ADDRESS ON FILE
FELIX SANDOVAL PIZARRO                   ADDRESS ON FILE
FELIX SANTANA LOPEZ                      ADDRESS ON FILE
FELIX SANTANA, JULIO                     ADDRESS ON FILE
FELIX SANTIAGO ORTIZ                     ADDRESS ON FILE
FELIX SANTIAGO RIVERA                    ADDRESS ON FILE
FELIX SANTIAGO ROMAN                     ADDRESS ON FILE
FELIX SANTIAGO SANTOS                    ADDRESS ON FILE
FELIX SANTIAGO, EDNA                     ADDRESS ON FILE
FELIX SANTIAGO, JORGE                    ADDRESS ON FILE
FELIX SANTIAGO, MILDRED L                ADDRESS ON FILE
FELIX SANTO DOMINGO GUERRIDO Y ORALYS TO LCDO. JOSÉ VÉLEZ PEREA     35 CALLE JUAN C BORBON STE 67‐115                                GUAYNABO     PR      00969‐5375
FELIX SANTOS GONZALEZ                    ADDRESS ON FILE
FELIX SANTOS GONZALEZ                    LYDIA APONTE MALAVE        5 CALLE NUÑEZ ROMEU                                              CAYEY        PR      00736
FELIX SANTOS LUIS BELLARDO               ADDRESS ON FILE
FELIX SANTOS SEPULVEDA                   ADDRESS ON FILE
FELIX SEPULVEDA CANCEL                   ADDRESS ON FILE
FELIX SEPULVEDA MEDINA                   ADDRESS ON FILE
FELIX SEPULVEDA OQUENDO                  ADDRESS ON FILE
FELIX SERRANO Y PATRICIA PAGAN           ADDRESS ON FILE
FELIX SEVILLA CEDENO                     ADDRESS ON FILE
FELIX SILVA REYES                        ADDRESS ON FILE
FELIX SOTO CEREZO                        ADDRESS ON FILE
FELIX SOTO QUINONEZ                      ADDRESS ON FILE
FELIX SOTO VALENTIN                      ADDRESS ON FILE
FELIX SOTO, OMAR                         ADDRESS ON FILE
FELIX SUAREZ, LERCY M.                   ADDRESS ON FILE
FELIX SUAREZ, OSWAIDA                    ADDRESS ON FILE
FELIX T QUINONES VAZQUEZ                 ADDRESS ON FILE
FELIX T SANTOS SIERRA                    ADDRESS ON FILE
FELIX TAPIA VELAZQUEZ                    ADDRESS ON FILE
FELIX TIRADO, ANA M                      ADDRESS ON FILE
Felix Tirado, Jose                       ADDRESS ON FILE
FELIX TIRADO, JULIA DE LOS               ADDRESS ON FILE
FELIX TIRADO, PEDRO                      ADDRESS ON FILE
FELIX TOMEY, ALEJANDRO                   ADDRESS ON FILE
FELIX TORO ARROYO                        ADDRESS ON FILE
FELIX TORO RODRIGUEZ                     ADDRESS ON FILE




                                                                                                Page 2764 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2765 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                              Address1                     Address2                        Address3                  Address4   City         State   PostalCode   Country
FELIX TORO, ROSE M                         ADDRESS ON FILE
FELIX TORRES CINTRON                       ADDRESS ON FILE
FELIX TORRES DE LA CRUZ                    ADDRESS ON FILE
FELIX TORRES ECHEVARRIA                    ADDRESS ON FILE
FELIX TORRES FUENTES                       ADDRESS ON FILE
FELIX TORRES RODRIGUEZ                     ADDRESS ON FILE
FELIX TORRES RODRIGUEZ                     ADDRESS ON FILE
FELIX TORRES TAVAREZ                       ADDRESS ON FILE
FELIX TORRES VAZQUEZ                       ADDRESS ON FILE
FELIX TORRES VILLAFANE                     ADDRESS ON FILE
FELIX TORRES, CARLOS                       ADDRESS ON FILE
FELIX TORRES, EVELYN                       ADDRESS ON FILE
FELIX TORRES, LUZ CELENIA                  ADDRESS ON FILE
FELIX TORRES, PEDRO                        ADDRESS ON FILE
FELIX TRULLENQUE FERNANDEZ                 ADDRESS ON FILE
FELIX TUBENS TORRES                        ADDRESS ON FILE
FELIX TURBIDES, JUNIOR                     ADDRESS ON FILE
FELIX V CABAN ACEVEDO                      ADDRESS ON FILE
FELIX V MELENDEZ CARRASQUILLO              ADDRESS ON FILE
FELIX V MELENDEZ CARRASQUILLO              ADDRESS ON FILE
FELIX V MELENDEZ CARRASQUILLO              ADDRESS ON FILE
FELIX V PEREZ TORRES                       ADDRESS ON FILE
FELIX V SANTOS ORTIZ                       ADDRESS ON FILE
FELIX VALDES, MARIA                        ADDRESS ON FILE
FELIX VARGAS LUGO                          ADDRESS ON FILE
FELIX VARGAS MORISCO                       ADDRESS ON FILE
FELIX VAZQUEZ ALICEA                       ADDRESS ON FILE
FELIX VAZQUEZ BURGOS                       ADDRESS ON FILE
FELIX VAZQUEZ MERCADO                      ADDRESS ON FILE
FELIX VAZQUEZ ROSARIO                      ADDRESS ON FILE
FELIX VAZQUEZ, ALBERTO                     ADDRESS ON FILE
FELIX VAZQUEZ, CYNTHIA M                   ADDRESS ON FILE
FELIX VAZQUEZ, EDGARDO                     ADDRESS ON FILE
FELIX VAZQUEZ, EVELYN                      ADDRESS ON FILE
FELIX VAZQUEZ, NAOMI                       ADDRESS ON FILE
FELIX VAZQUEZ, NELSON E                    ADDRESS ON FILE
FELIX VAZQUEZ, OLGA E                      ADDRESS ON FILE
FELIX VAZQUEZ, RICHARD                     ADDRESS ON FILE
FELIX VAZQUEZ, SANDRA                      ADDRESS ON FILE
FELIX VEGA FEBO                            ADDRESS ON FILE
FELIX VEGA, DAMARIS                        ADDRESS ON FILE
FELIX VEGUILLA, NORMA I                    ADDRESS ON FILE
FELIX VEINTIDOS VICENTE                    ADDRESS ON FILE
FELIX VELAZQUEZ, OLGA M                    ADDRESS ON FILE
FELIX VELEZ LAMBOY                         ADDRESS ON FILE
FELIX VERDEJO CRUZ                         ADDRESS ON FILE
FELIX VICENTE MELENDEZ                     ADDRESS ON FILE
FELIX VIERA, MARIA I                       ADDRESS ON FILE
FELIX VILA, RITA E.                        ADDRESS ON FILE
FELIX VILLEGAS, YASHIRA                    ADDRESS ON FILE
FELIX VIZCARRONDO, MORAIMA                 ADDRESS ON FILE
FELIX W NEGRON BRIZUELA                    ADDRESS ON FILE
FELIX X RODRIGUEZ APONTE                   ADDRESS ON FILE
FELIX X. MALDONADO D/B/A UNIVERSAL SALES   HC 03 BOX 16730                                                                                   COROZAL      PR      00783
FELIX X. MALDONADO TORRES                  ADDRESS ON FILE
FELIX Y MERCEDES MARTINEZ / LUZ MARTINEZ   ADDRESS ON FILE
FELIX ZAMBRANA RIVERA                      ADDRESS ON FILE
FELIX ZAMOT RODRIGUEZ                      LCDO. JAIME AGRAIT LLADÓ C   PO BOX 19‐5193                                                       SAN JUAN     PR      00919‐5193

FELIX ZAMOT RODRIGUEZ                      LCDO.JULIO TORRES MUÑOZ      URB. ATENAS                     B‐35 CALLE ELLIOT VÉLEZ              MANATI       PR      00674




                                                                                         Page 2765 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2766 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City             State   PostalCode   Country
FELIX ZAMOT RODRIGUEZ                     LCDO.LUIS PALOU BALSA     PO BOX 195287                                          SAN JUAN         PR      00919‐5287
FELIX ZAYAS, OTILIO                       ADDRESS ON FILE
FELIX, JORJE J                            ADDRESS ON FILE
FELIX, JOSE A                             ADDRESS ON FILE
FELIX, LUIS                               ADDRESS ON FILE
FELIXANDER RIVERA DBA FONTANEZ BUS LINE   RR 10 BOX 10201                                                                  SAN JUAN         PR      00926
FELIXANDER RIVERA DBA FONTANEZ BUS LINE   RR 36 BOX 7900                                                                   SAN JUAN         PR      00926
FELIXBRITO, JANET                         ADDRESS ON FILE
FELIXZAYAS, MITCHEL                       ADDRESS ON FILE
FELIZ ACOSTA, CARMEN                      ADDRESS ON FILE
FELIZ ACOSTA, RAFAEL                      ADDRESS ON FILE
FELIZ BELEN LATIMER                       ADDRESS ON FILE
FELIZ CABAN PEREZ                         ADDRESS ON FILE
FELIZ CARRION, ELIS D                     ADDRESS ON FILE
FELIZ CESPEDES, ABRAHAM                   ADDRESS ON FILE
FELIZ COLON, PEDRO                        ADDRESS ON FILE
FELIZ DIAZ RODRIGUEZ                      PO BOX 982 PATILLAS                                                              PATILLAS         PR      00723
FELIZ DIAZ, ALCIBIADES                    ADDRESS ON FILE
FELIZ FELIZ, MARCOS                       ADDRESS ON FILE
FELIZ FELIZ, MIRIAM A.                    ADDRESS ON FILE
FELIZ FELIZ, MIRIAN A                     ADDRESS ON FILE
FELIZ FELIZ, YORKY                        ADDRESS ON FILE
FELIZ GARCIA, PURA MARIA                  ADDRESS ON FILE
FELIZ GONZALEZ, PEDRO                     ADDRESS ON FILE
FELIZ LEBREAULT MD, RAFAEL                ADDRESS ON FILE
FELIZ LEBREAULT, RAFAEL                   ADDRESS ON FILE
FELIZ LOPEZ, NATALY                       ADDRESS ON FILE
FELIZ LUNA, NINOTCHKA                     ADDRESS ON FILE
FELIZ M ORTIZ ORTIZ                       ADDRESS ON FILE
FELIZ MARTE, CESAR N                      ADDRESS ON FILE
FELIZ MATOS, TEILE                        ADDRESS ON FILE
FELIZ MATOS, TEILE                        ADDRESS ON FILE
FELIZ MD , MARCOS A                       ADDRESS ON FILE
FELIZ MEDINA, DELMIRA                     ADDRESS ON FILE
FELIZ MEDINA, DELMIRA                     ADDRESS ON FILE
FELIZ MEDINA, ROSVELYN                    ADDRESS ON FILE
FELIZ MEDINA, SORANGEL                    ADDRESS ON FILE
FELIZ MENDEZ MD, NESTOR J                 ADDRESS ON FILE
FELIZ MOQUETE, KAREN                      ADDRESS ON FILE
Feliz Morey, Enrique                      ADDRESS ON FILE
FELIZ MOREY, ENRIQUE                      ADDRESS ON FILE
FELIZ R NIEVES MARTIR                     ADDRESS ON FILE
FELIZ REYES, CYNTHIA                      ADDRESS ON FILE
FELIZ RODRIGUEZ, NILSON D.                ADDRESS ON FILE
FELIZ RODRIGUEZ, WANDA                    ADDRESS ON FILE
FELIZ SANTOS, JULIO A                     ADDRESS ON FILE
FELIZ, HECTOR RAFAEL                      ADDRESS ON FILE
FELIZ, MARCOS                             ADDRESS ON FILE
FELLEX OMAR RODRIGUEZ                     ADDRESS ON FILE
FELL'S SCHOOL TRANSPORT, CORP.            PO BOX 308                                                                       COROZAL          PR      00783
FELMARIE DEL C CRUZ MORALES               ADDRESS ON FILE
FELMARIE DEL CARMEN CRUZ MORALES          ADDRESS ON FILE
FELOS AUTO SALES                          HC 3 BOX 9677                                                                    LARES            PR      00669
FELS THANNER, ANNA A.                     ADDRESS ON FILE
FELSI THANNER MD, ANNA                    ADDRESS ON FILE
FELSIE GOICOECHEA FUENTES                 ADDRESS ON FILE
FELSPEN MD, REBECA                        ADDRESS ON FILE
FELTON CARIBE INC                         PO BOX 191538                                                                    SAN JUAN         PR      00919
FELTON ORTIZ, BRENDA                      ADDRESS ON FILE
FELUMAR CONSTRUCCION                      HC 02 BOX 6996                                                                   BARRANQUITAS     PR      00794




                                                                                      Page 2766 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2767 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                     Address1                         Address2                              Address3   Address4   City            State   PostalCode   Country
FELVIO ROSARIO DIAZ               ADDRESS ON FILE
FEMBPUR CORP                      P O BOX 3171                                                                                 BAYAMON         PR      00960
FEMENIAS ALVAREZ, ANA             ADDRESS ON FILE
FEMENIAS JOVE, PATRICIA           ADDRESS ON FILE
FEMINO DUCEY QUELER ORTHOPAEDIC   45 FRANKLIN AVE                                                                              NUTLEY          NJ      07032‐0000
FEMKE BAKKER MANK                 ADDRESS ON FILE
FENDER ANDINO HERNANDEZ           ADDRESS ON FILE
FENDI J CRUZ DIAZ                 ADDRESS ON FILE
FENEQUE AGRON, JOSE               ADDRESS ON FILE
FENEQUE CARO, LUIS                ADDRESS ON FILE
FENEQUE RUIZ, CARMEN M            ADDRESS ON FILE
FENG BAEZ, JEAN PIERRE            ADDRESS ON FILE
FENG HE, GUO RONG                 ADDRESS ON FILE
FENG LIANG, BRAD                  ADDRESS ON FILE
FENG NUA SHENG                    ADDRESS ON FILE
FENG, CHONG                       ADDRESS ON FILE
FENG, DANNY                       ADDRESS ON FILE
FENNER TUBO, VALERIE              ADDRESS ON FILE
FENOLLAL MELENDEZ, SONIA          ADDRESS ON FILE
FENOLLAL MERCADO, AGNES M         ADDRESS ON FILE
FENOLLAL NEGRON, SHEYLA           ADDRESS ON FILE
FENOLLAL RODRIGUEZ, RUBEN         ADDRESS ON FILE
FENSTER SCHOOL                    8505 E OCOTILLO DRIVE                                                                        TUCSAN          AZ      85750
FENWAL INC                        FENWAL AVENUE                    CARR 122 KM 0.5                                             SAN GERMAN      PR      00683
FENWAL INC                        PO BOX 832                                                                                   MARICAO         PR      00606
FENWAL INC.                       3 CORPORATE DRIVE                                                                            LAKE ZURICH     IL      60047
FENWAL INTERNATIONAL INC          PO BOX 832                                                                                   MARICAO         PR      00606
FENWAL INT'L INC                  ROAD 357 K M 0 8                                                                             MARICAO         PR      00606‐0000
FEO ACEVEDO, EDITH E.             ADDRESS ON FILE
FEO GONZALEZ, JUAN                ADDRESS ON FILE
FEO PACHECO, MARIA                ADDRESS ON FILE
FEQUIERE GARDERE MD, CHARLES J    ADDRESS ON FILE
FER GIO CORP.                     URB VALLE DE ANDALUCIA           2921 CALLE LORCA                                            PONCE           PR      00728
FER GIO CORP.                     URB. TERRA SENORIAL              CALLE CASTANIA # 144                                        PONCE           PR      00732
FERDINAD SANABRIA RAMOS           ADDRESS ON FILE
FERDINAD SANTIAGO IRIZARRY        ADDRESS ON FILE
FERDINAN ACEVEDO COLON            ADDRESS ON FILE
FERDINAN MARIN RIVERA             ADDRESS ON FILE
FERDINAN NUNEZ VELEZ              ADDRESS ON FILE
FERDINAN SANTIAGO MELENDEZ        ADDRESS ON FILE
FERDINAND A DE JESUS SELLA        ADDRESS ON FILE
FERDINAND A GAROFALO              ADDRESS ON FILE
FERDINAND ABADIA CANALES          ADDRESS ON FILE
FERDINAND ACOSTA PROSPER          ADDRESS ON FILE
FERDINAND ACOSTA VIDAL            ADDRESS ON FILE
FERDINAND ARROYO DEL RIO          URB. MONTERREY 902 CALLE OTOAO                                                               MAYAGUEZ        PR      00680‐5186
FERDINAND BAEZ TIRADO             ADDRESS ON FILE
FERDINAND BATIZ CHAMORRO          ADDRESS ON FILE
FERDINAND C MONTALVO VILLA        ADDRESS ON FILE
FERDINAND CARTAGENA SOSA          ADDRESS ON FILE
FERDINAND CASTRO FERNANDEZ        ADDRESS ON FILE
FERDINAND CEDENO RIVERA           ADDRESS ON FILE
FERDINAND CENTENO PAGAN           ADDRESS ON FILE
FERDINAND CONTRERAS, ISA          ADDRESS ON FILE
FERDINAND CRUZ CUEVAS             ADDRESS ON FILE
FERDINAND DIAZ IRIZARRY           ADDRESS ON FILE
FERDINAND FERRER CRUZ             ADDRESS ON FILE
FERDINAND FIGUEROA POMALES        ADDRESS ON FILE
FERDINAND FUENTES MOLINA          ADDRESS ON FILE
FERDINAND GONZALEZ RODRIGUEZ      ADDRESS ON FILE




                                                                                          Page 2767 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2768 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                             Address1                           Address2                                Address3              Address4    City            State   PostalCode   Country
FERDINAND IRIZARRY SANTIAGO               ADDRESS ON FILE
FERDINAND J GONZALEZ MUNIZ                ADDRESS ON FILE
FERDINAND LOPEZ CRUZ                      ADDRESS ON FILE
FERDINAND LOZADA, PEDRO F                 ADDRESS ON FILE
FERDINAND LUGO GONZALEZ                   ADDRESS ON FILE
FERDINAND MALDONADO ECHEVARRIA            ADDRESS ON FILE
FERDINAND MARTINEZ SOTOMAYOR              LCDO. EDGAR HERNÁNDEZ SÁNCHEZ      PO BOX 364966                                                             SAN JUAN        PR      00936‐4966

FERDINAND MARTINEZ SOTOMAYOR              LCDO. GUILLERMO MOJICA MALDONADO   LCDO. GUILLERMO MOJICA MALDONADO        AVE. MUÑOZ RIVERA 894 SUITE 210   RÍO PIEDRAS     PR      00927
FERDINAND MEDINA                          ADDRESS ON FILE
FERDINAND MEJIAS MERCADO                  ADDRESS ON FILE
FERDINAND MELENDEZ APONTE                 ADDRESS ON FILE
FERDINAND MELENDEZ LUCIANO                ADDRESS ON FILE
FERDINAND MERCADO RAMOS                   ADDRESS ON FILE
FERDINAND MOLINA SERRANO                  ADDRESS ON FILE
FERDINAND MONTERO HERNANDEZ               ADDRESS ON FILE
FERDINAND MUNICH PALACIOS                 ADDRESS ON FILE
FERDINAND MUNIZ GONZALEZ                  ADDRESS ON FILE
FERDINAND NAZARIO VAZQUEZ                 ADDRESS ON FILE
FERDINAND NAZARIO VAZQUEZ                 ADDRESS ON FILE
FERDINAND NEGRON NEGRON                   ADDRESS ON FILE
FERDINAND NEGRON/ ERIKA FELICIANO         ADDRESS ON FILE
FERDINAND OCASIO RIVERA                   ADDRESS ON FILE
FERDINAND OCASIO VELEZ                    ADDRESS ON FILE
FERDINAND ORTIZ ORTIZ                     ADDRESS ON FILE
FERDINAND PEREZ VAZQUEZ                   ADDRESS ON FILE
FERDINAND RAMOS, OLGA L                   ADDRESS ON FILE
FERDINAND RIVERA ARCE                     ADDRESS ON FILE
FERDINAND RIVERA ORTIZ                    ADDRESS ON FILE
FERDINAND RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
FERDINAND ROMAN                           ADDRESS ON FILE
FERDINAND RUIZ CARABALLO                  ADDRESS ON FILE
FERDINAND TORRES PADILLA                  ADDRESS ON FILE
FERDINAND VARGAS VARGAS                   ADDRESS ON FILE
FERDINAND VARGAS VELAZQUEZ                ADDRESS ON FILE
FERDINAND VEGA / AURORA MARQUEZ           ADDRESS ON FILE
FERDINANDO TORRES DAVILA                  ADDRESS ON FILE
FERER LOPEZ, RICARDO                      ADDRESS ON FILE
FERGELEC CINTRON, JOANNE                  ADDRESS ON FILE
FERGUSON RODRIGUEZ, RANDY                 ADDRESS ON FILE
FERGUSON RODRIGUEZ, RANDY                 ADDRESS ON FILE
FERI                                      PO BOX 363136                                                                                                SAN JUAN        PR      00936‐3136
FE‐RI CONSTRUCTION, INC.                  PO BOX 363136                                                                                                SAN JUAN        PR      00936‐3136
Feria Carlo, Lorraine A.                  ADDRESS ON FILE
FERIA INTERNACIONAL DEL LIBRO PR INC      658 CALLE HOARE                                                                                              SAN JUAN        PR      00907
FERIA INTERNACIONAL DEL LIBRO PR INC      P O BOX 9066272                                                                                              SAN JUAN        PR      00906‐6272
FERIA INTERNACIONAL DEL LIBRO PR INC      P O BOX 9090                                                                                                 SAN JUAN        PR      00908
Feria Sierra, Geraldine                   ADDRESS ON FILE
FERIA SIERRA, GERALDINE                   ADDRESS ON FILE
FERIA Y CARNAVAL TURISMO P R DEL CARIBE   PO BOX 30513                                                                                                 SAN JUAN        PR      00929‐1513
FERICELLI CASTILLO PAUL J                 ADDRESS ON FILE
FERICELLI CASTILLO, PAUL J.               ADDRESS ON FILE
FERICELLI CASTILLO, ROSA MARIA            ADDRESS ON FILE
FERICO P. GIRARDI, MD                     523 EAST 72ND STREET                                                                                         NEW YORK        NY      10021
FERLY J CASTELLANO COSME                  ADDRESS ON FILE
FERMAINT ALDARONDO, KARLA                 ADDRESS ON FILE
FERMAINT ALLENDE, AUNERIS                 ADDRESS ON FILE
FERMAINT CRUZ, ANGELA                     ADDRESS ON FILE
FERMAINT ESCRIBA, GABRIEL                 ADDRESS ON FILE
Fermaint Feliciano, Jaime                 ADDRESS ON FILE




                                                                                                      Page 2768 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2769 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                             Address1                  Address2                            Address3           Address4     City        State   PostalCode   Country
FERMAINT GARCIA, MARIA V                  ADDRESS ON FILE
FERMAINT GONZALEZ, JOEL                   ADDRESS ON FILE
FERMAINT GONZALEZ, NOMAR                  ADDRESS ON FILE
FERMAINT GONZALEZ, REYNEL                 ADDRESS ON FILE
FERMAINT HERRERA, FERNANDO                ADDRESS ON FILE
FERMAINT LOPEZ, VICTOR                    ADDRESS ON FILE
FERMAINT MUJICA, REGINO                   ADDRESS ON FILE
FERMAINT OCASIO, MARIBEL                  ADDRESS ON FILE
Fermaint Payano, Rafael A                 ADDRESS ON FILE
FERMAINT QUINONES, IVONNE E               ADDRESS ON FILE
FERMAINT RIOS, FRANCISCO                  ADDRESS ON FILE
FERMAINT RIVERA, WILMA                    ADDRESS ON FILE
FERMAINT TORRES, EDGAR                    ADDRESS ON FILE
FERMAINT TORRES, MARILUZ                  ADDRESS ON FILE
FERMAINT TORRES, MARISOL                  ADDRESS ON FILE
FERMAINT TORRES, MELVIN                   ADDRESS ON FILE
FERMAINTT ADORNO, JULIO                   ADDRESS ON FILE
Fermaintt Adorno, Julio H                 ADDRESS ON FILE
FERMAINTT HERANDEZ, KEENAN IVAN           ADDRESS ON FILE
FERMAINTT MERCADO, GISELLE R              ADDRESS ON FILE
Fermaintt Navedo, Rafael A                ADDRESS ON FILE
FERMAINTT SALAS, MIGDALIA                 ADDRESS ON FILE
FERMARIE ESTRADA VAZQUEZ                  ADDRESS ON FILE
FERMARYLISE Y QUINONES GARCIA             ADDRESS ON FILE
FERMENTATION CONSULTANTS INC              PO BOX 2439                                                                                   COAMO       PR      00769
FERMIN A.LOPEZ RIVERA                     ADDRESS ON FILE
FERMIN ARIAS, EILEEN                      ADDRESS ON FILE
FERMIN C MIRANDA HERNANDEZ                ADDRESS ON FILE
FERMIN COLON COLON                        ADDRESS ON FILE
FERMIN COMAS CASTILLO Y ALTAGRACIA SOTO   ADDRESS ON FILE
FERMIN CORREA SANTIAGO                    ADDRESS ON FILE
FERMIN COTTO, GAMALIS                     ADDRESS ON FILE
FERMIN COTTO, GLADYMAR                    ADDRESS ON FILE
FERMIN DIAZ, JORGE                        ADDRESS ON FILE
FERMIN DISLA, FRANCISCO                   FRANCISCO FERMIN DISLA    INTITUCIÓN BAYAMON                  501 EDIFICIO 1‐B   BOX 607073   BAYAMON     PR      00960
FERMIN FERNANDEZ, LEONIDAS                ADDRESS ON FILE
FERMIN FIGUEROA GONZALEZ                  ADDRESS ON FILE
FERMIN FRACINETTI CAPO                    ADDRESS ON FILE
FERMIN GONZALEZ, SULEIKA                  ADDRESS ON FILE
FERMIN HERNANDEZ ABAD                     ADDRESS ON FILE
FERMIN HERNANDEZ ABAD                     ADDRESS ON FILE
FERMIN LASALLE JORDAN                     ADDRESS ON FILE
FERMIN LAVENDER, SHARRA                   ADDRESS ON FILE
FERMIN LEBRON NIEVES                      ADDRESS ON FILE
FERMIN LOPEZ PADILLA                      ADDRESS ON FILE
FERMIN MEDRANO, LUISA                     ADDRESS ON FILE
FERMIN MENDEZ NIEVES                      ADDRESS ON FILE
FERMIN MENDEZ, JULIO                      ADDRESS ON FILE
FERMIN NARVAEZ ALEJANDRO                  ADDRESS ON FILE
FERMIN NIEVES ROMAN                       ADDRESS ON FILE
FERMIN PENA, JULIANA E.                   ADDRESS ON FILE
FERMIN PENA, ROXANNA                      ADDRESS ON FILE
FERMIN QUINONEZ SANCHEZ                   ADDRESS ON FILE
FERMIN RIOS FLORES                        ADDRESS ON FILE
FERMIN RIVERA RAMOS                       ADDRESS ON FILE
FERMIN RIVERA, FAUSTO                     ADDRESS ON FILE
FERMIN SANTANA, ELVIS                     ADDRESS ON FILE
FERMIN SANTIAGO BERMUDEZ                  ADDRESS ON FILE
FERMIN SEGARRA VAZQUEZ                    ADDRESS ON FILE
FERMIN TORRES RIVERA                      ADDRESS ON FILE




                                                                                         Page 2769 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2770 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERMIN UREQA, CARMEN J           ADDRESS ON FILE
FERMIN VAZQUEZ, MARIBEL          ADDRESS ON FILE
FERMINA VAZQUEZ                  ADDRESS ON FILE
FERMINA VELEZ MOSQUEDA           ADDRESS ON FILE
FERMINA VIDRO/ ADRIAN VELEZ      ADDRESS ON FILE
FERMINO TALAVERA, SORSYRET       ADDRESS ON FILE
FERNADEZ CAMACHO, CARMEN R       ADDRESS ON FILE
FERNADEZ MORALES, JONATHAN       ADDRESS ON FILE
FERNADEZ MOREIRA, MARGARITA      ADDRESS ON FILE
FERNADEZ PEREZ, ESTHER           ADDRESS ON FILE
FERNADEZ RUBIO, BARBARA          ADDRESS ON FILE
FERNADEZ SANTIAGO, HERODES       ADDRESS ON FILE
FERNADEZ VALDES, ANIBAL          ADDRESS ON FILE
FERNADO L. RÍOS VIERA
FERNADO PEREZ GONZALEZ           ADDRESS ON FILE
FERNAN PENA, JUDY                ADDRESS ON FILE
FERNAN R VARGAS LA SANTA         ADDRESS ON FILE
FERNAND GRACIA VAZQUEZ           ADDRESS ON FILE
FERNAND MD, ROBERT               ADDRESS ON FILE
FERNANDA BENITEZ CRUZ            ADDRESS ON FILE
FERNANDA I OLVERA POLANCO        ADDRESS ON FILE
FERNANDA VIERA AYALA             ADDRESS ON FILE
FERNANDE L ROMAN CUEVAS          ADDRESS ON FILE
FERNANDE MOLINA, HERIBERTO       ADDRESS ON FILE
FERNANDEO M GONZALEZ HERNANDEZ   ADDRESS ON FILE
FERNANDEZ ABADIA, INGRID J       ADDRESS ON FILE
FERNANDEZ ABADIA, JENNIPHER      ADDRESS ON FILE
FERNANDEZ ABALDE, LYDIA          ADDRESS ON FILE
FERNANDEZ ABRAMS, CHRISTIAN      ADDRESS ON FILE
FERNANDEZ ACEVEDO, LOUIS         ADDRESS ON FILE
FERNANDEZ ADORNO, CLARIBEL       ADDRESS ON FILE
FERNANDEZ AGOSTO, GLORIA         ADDRESS ON FILE
FERNANDEZ AGOSTO,ELEAZAR         ADDRESS ON FILE
FERNANDEZ AGUILA, WILLIAM        ADDRESS ON FILE
FERNANDEZ AGUILA, YADIRA         ADDRESS ON FILE
FERNANDEZ ALAMO, JAZMIN          ADDRESS ON FILE
FERNANDEZ ALAMO, JULIA           ADDRESS ON FILE
FERNANDEZ ALAMO, LUZ             ADDRESS ON FILE
FERNANDEZ ALAMO, NYDIA I.        ADDRESS ON FILE
FERNANDEZ ALBERTORIO, BRUNILDA   ADDRESS ON FILE
FERNANDEZ ALEJANDRO, ANGEL       ADDRESS ON FILE
FERNANDEZ ALEJANDRO, JENNIFER    ADDRESS ON FILE
FERNANDEZ ALGARIN, SANDRA I      ADDRESS ON FILE
FERNANDEZ ALICEA, EIDY Y         ADDRESS ON FILE
FERNANDEZ ALICEA, JANICE A       ADDRESS ON FILE
FERNANDEZ ALICEA, YARISMAR       ADDRESS ON FILE
FERNANDEZ ALLENDE, JESUS         ADDRESS ON FILE
FERNANDEZ ALLENDE, LISSETTE      ADDRESS ON FILE
Fernandez Almeyda, Julio A.      ADDRESS ON FILE
FERNANDEZ ALVAREZ, ALICE M       ADDRESS ON FILE
Fernandez Alvarez, Arlene        ADDRESS ON FILE
FERNANDEZ ALVAREZ, AURELIO       ADDRESS ON FILE
FERNANDEZ ALVAREZ, KARLA         ADDRESS ON FILE
Fernandez Alvarez, Marlene       ADDRESS ON FILE
FERNANDEZ ALVAREZ, MARLENE       ADDRESS ON FILE
FERNANDEZ ALVAREZ, RAQUEL        ADDRESS ON FILE
FERNANDEZ AMARAT, MADELINE       ADDRESS ON FILE
FERNANDEZ ANDINO, KELLY          ADDRESS ON FILE
FERNANDEZ ANDUJAR,ANA JULIA      ADDRESS ON FILE
FERNANDEZ ANGUIZOLA, ISABEL      ADDRESS ON FILE




                                                                             Page 2770 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2771 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ APARICIO, NESTOR        ADDRESS ON FILE
FERNANDEZ APARICIO, NESTOR        ADDRESS ON FILE
Fernandez Aponte, Bill A          ADDRESS ON FILE
FERNANDEZ APONTE, IVELISSE        ADDRESS ON FILE
FERNANDEZ APONTE, JENNY           ADDRESS ON FILE
FERNANDEZ APONTE, JUAN F          ADDRESS ON FILE
FERNANDEZ APONTE, LUIS F          ADDRESS ON FILE
FERNANDEZ APONTE, MARTA           ADDRESS ON FILE
FERNANDEZ APONTE, RAFAEL          ADDRESS ON FILE
FERNANDEZ APONTE, YESSENIA        ADDRESS ON FILE
FERNANDEZ ARDOIS PEREZ, LUIS      ADDRESS ON FILE
FERNANDEZ ARGOTE INS CORP         PO BOX 9023793                                                                   SAN JUAN     PR      00902‐3793
FERNANDEZ ARGUELLES, OMAR         ADDRESS ON FILE
FERNANDEZ ARIAS, LOURDES I        ADDRESS ON FILE
FERNANDEZ ARROYO, JOSE MIGUEL     ADDRESS ON FILE
FERNANDEZ ARROYO, LIZA            ADDRESS ON FILE
FERNANDEZ ARROYO, LIZA O          ADDRESS ON FILE
FERNANDEZ ARROYO, OLGA            ADDRESS ON FILE
FERNANDEZ ARROYO, TANIA           ADDRESS ON FILE
FERNANDEZ ASTACIO, JUANA          ADDRESS ON FILE
Fernandez Astor, Luis N           ADDRESS ON FILE
FERNANDEZ AVILES, EDGAR           ADDRESS ON FILE
FERNANDEZ AVILES, IVONNE          ADDRESS ON FILE
FERNANDEZ AVILES, IZAIRA          ADDRESS ON FILE
Fernandez Aviles, Jorge           ADDRESS ON FILE
FERNANDEZ AVILES, JOSE O          ADDRESS ON FILE
FERNANDEZ AVILES, WANDA I         ADDRESS ON FILE
FERNANDEZ AYALA, BRIAN            ADDRESS ON FILE
Fernandez Ayala, John Michael     ADDRESS ON FILE
FERNANDEZ AZIZI, ROXANA           ADDRESS ON FILE
FERNANDEZ BAEZ, AIDA E            ADDRESS ON FILE
FERNANDEZ BAEZ, DIANA I.          ADDRESS ON FILE
FERNANDEZ BAEZ, DIANIBEL          ADDRESS ON FILE
FERNANDEZ BAEZ, QUETZY            ADDRESS ON FILE
Fernandez Baez, Yarimar           ADDRESS ON FILE
FERNANDEZ BAEZ, YARIMAR           ADDRESS ON FILE
FERNANDEZ BARBOSA MD, KENEL       ADDRESS ON FILE
FERNANDEZ BARBOSA, ANGEL          ADDRESS ON FILE
FERNANDEZ BARQUET, SERVANDO       ADDRESS ON FILE
FERNANDEZ BARRETO, CRISTINA       ADDRESS ON FILE
FERNANDEZ BARRETO, PEDRO          ADDRESS ON FILE
FERNANDEZ BARRON, CRISTINA        ADDRESS ON FILE
FERNANDEZ BATISTA, JOSE A.        ADDRESS ON FILE
FERNANDEZ BATISTA, VICTOR         ADDRESS ON FILE
Fernandez Benitez, Adolfo G       ADDRESS ON FILE
FERNANDEZ BENITEZ, LAURO          ADDRESS ON FILE
FERNANDEZ BENITEZ, LAURO L        ADDRESS ON FILE
Fernandez Berdeguez, Miguel       ADDRESS ON FILE
FERNANDEZ BERMUDEZ, PERSYS        ADDRESS ON FILE
Fernandez Bermudez, Vilma H       ADDRESS ON FILE
FERNANDEZ BERNAL, MARIA           ADDRESS ON FILE
FERNANDEZ BERNAL, MARIA           ADDRESS ON FILE
FERNANDEZ BERRIOS, ANNIELISAURY   ADDRESS ON FILE
FERNANDEZ BERRIOS, ERIC           ADDRESS ON FILE
FERNANDEZ BERRIOS, JOSE           ADDRESS ON FILE
FERNANDEZ BERRIOS, LUIS O.        ADDRESS ON FILE
Fernandez Betancourt, Aileen      ADDRESS ON FILE
FERNANDEZ BETANCOURT, JENNIFER    ADDRESS ON FILE
Fernandez Betancourt, Martha I    ADDRESS ON FILE
FERNANDEZ BETANCOURT, ZORABEL     ADDRESS ON FILE




                                                                              Page 2771 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2772 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ BIBIEL, VICTOR           ADDRESS ON FILE
FERNANDEZ BLANCO, LYMARIE          ADDRESS ON FILE
FERNANDEZ BLAS, YOLANDA            ADDRESS ON FILE
Fernandez Boneu, Junnior A         ADDRESS ON FILE
FERNANDEZ BONHOMME, YASHIRA        ADDRESS ON FILE
FERNANDEZ BORGES, JOSE             ADDRESS ON FILE
FERNANDEZ BORGES, NILDA            ADDRESS ON FILE
FERNANDEZ BOU, JULIO               ADDRESS ON FILE
FERNANDEZ BOU, LOURDES             ADDRESS ON FILE
FERNANDEZ BREWER, ALEXIS           ADDRESS ON FILE
FERNANDEZ BRILLON, ROSE M          ADDRESS ON FILE
FERNANDEZ BRITO MD, BEATRIZ H      ADDRESS ON FILE
FERNANDEZ BUIL, CARLOS A.          ADDRESS ON FILE
FERNANDEZ BUITRAGO, NATALIA        ADDRESS ON FILE
FERNANDEZ BURGOS, BRENDA E         ADDRESS ON FILE
FERNANDEZ BURGOS, DAVID            ADDRESS ON FILE
FERNANDEZ BURGOS, ROSALLYA         ADDRESS ON FILE
FERNANDEZ CABALLERO, FRANCISCO     ADDRESS ON FILE
FERNANDEZ CABANILLAS, JUAN         ADDRESS ON FILE
FERNANDEZ CABRERA, MIRELLA         ADDRESS ON FILE
FERNANDEZ CABRERA, SONIA           ADDRESS ON FILE
FERNANDEZ CABRERO, AGUSTIN         ADDRESS ON FILE
FERNANDEZ CADENAS, SERVANDO        ADDRESS ON FILE
FERNANDEZ CALDERON, ROSELINE       ADDRESS ON FILE
FERNANDEZ CALDERON, YVETTE         ADDRESS ON FILE
Fernandez Calo, Priscilla          ADDRESS ON FILE
FERNANDEZ CALZADA, FRANCHESCA      ADDRESS ON FILE
FERNANDEZ CAMACHO, ANA M           ADDRESS ON FILE
FERNANDEZ CAMACHO, CHARLENE        ADDRESS ON FILE
Fernandez Camacho, Jose A          ADDRESS ON FILE
FERNANDEZ CAMACHO, MERCEDES        ADDRESS ON FILE
FERNANDEZ CAMAÑO MD, HOSTOS        ADDRESS ON FILE
FERNANDEZ CAMPOS, FERMARI          ADDRESS ON FILE
FERNANDEZ CAMPOS, MAURICIO         ADDRESS ON FILE
FERNANDEZ CAMPOS, RONALD           ADDRESS ON FILE
FERNANDEZ CANALES, JORGE           ADDRESS ON FILE
FERNANDEZ CANCEL, CONRADO          ADDRESS ON FILE
FERNANDEZ CANCEL, JOSE M.          ADDRESS ON FILE
FERNANDEZ CANDELARIA, CARMEN L     ADDRESS ON FILE
FERNANDEZ CANDELARIO, MIOSOTI      ADDRESS ON FILE
Fernandez Caraballo, Arnaldo L     ADDRESS ON FILE
FERNANDEZ CARABALLO, ARNALDO L.    ADDRESS ON FILE
FERNANDEZ CARABALLO, LISANDRA      ADDRESS ON FILE
FERNANDEZ CARABALLO, SILVIA N.     ADDRESS ON FILE
FERNANDEZ CARDERO, LYNETTE         ADDRESS ON FILE
FERNANDEZ CARDONA, ROSA A.         ADDRESS ON FILE
FERNANDEZ CARLO, FRANCISCO         ADDRESS ON FILE
FERNANDEZ CARLO, MARIA E           ADDRESS ON FILE
FERNANDEZ CARMONA, FRANKIE         ADDRESS ON FILE
FERNANDEZ CARMONA, LOURDES         ADDRESS ON FILE
FERNANDEZ CARMONA, MILAGROS        ADDRESS ON FILE
FERNANDEZ CARRANZA, JESSICA        ADDRESS ON FILE
FERNANDEZ CARRASQUILLO, ABIGAIL    ADDRESS ON FILE
FERNANDEZ CARRASQUILLO, JONATHAN   ADDRESS ON FILE
FERNANDEZ CARRASQUILLO, LURVIA     ADDRESS ON FILE
FERNANDEZ CARRASQUILLO, MARIA J    ADDRESS ON FILE
FERNANDEZ CARRASQUILLO, MAYRA W    ADDRESS ON FILE
FERNANDEZ CARRASQUILLO,RENE        ADDRESS ON FILE
FERNANDEZ CARRASSQUILLO, MARILYN   ADDRESS ON FILE
FERNANDEZ CARRERAS, CARIDAD        ADDRESS ON FILE




                                                                               Page 2772 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2773 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ CARRION, KELIX XAVIER     ADDRESS ON FILE
FERNANDEZ CARRION, MARIA            ADDRESS ON FILE
Fernandez Cartagen, Juanita         ADDRESS ON FILE
FERNANDEZ CARTAGENA, ALMA           ADDRESS ON FILE
FERNANDEZ CARTAGENA, JULIO          ADDRESS ON FILE
FERNANDEZ CARTAGENA, MYRIAM         ADDRESS ON FILE
FERNANDEZ CASADO, JUAN R            ADDRESS ON FILE
FERNANDEZ CASAS, RAFAEL             ADDRESS ON FILE
FERNANDEZ CASASAYAS, MIGUEL A.      ADDRESS ON FILE
FERNANDEZ CASTANER, RAFAEL          ADDRESS ON FILE
FERNANDEZ CASTANER, RAFAEL          ADDRESS ON FILE
FERNANDEZ CASTILLO, MARYLLIAM       ADDRESS ON FILE
FERNANDEZ CASTILLO, RODULFO         ADDRESS ON FILE
FERNANDEZ CASTRO, MERALI            ADDRESS ON FILE
FERNANDEZ CASTRO, SARA              ADDRESS ON FILE
FERNANDEZ CASTRODAD, JETZAEL        ADDRESS ON FILE
FERNANDEZ CEBALLO, ELBA L           ADDRESS ON FILE
FERNANDEZ CEBALLOS, CARMEN A        ADDRESS ON FILE
FERNANDEZ CEDENO, JOHNNY            ADDRESS ON FILE
FERNANDEZ CINTRON, FELIPE           ADDRESS ON FILE
FERNANDEZ CINTRON, NILDA M          ADDRESS ON FILE
FERNANDEZ COLBERG, SIGRID           ADDRESS ON FILE
FERNANDEZ COLLAZO, MELISSA          ADDRESS ON FILE
FERNANDEZ COLLAZO, RAMONITA         ADDRESS ON FILE
FERNANDEZ COLLAZO, RAMONITA         ADDRESS ON FILE
FERNANDEZ COLLAZO, YESENIA          ADDRESS ON FILE
FERNANDEZ COLLINS & RIVERO VERGNE   ADDRESS ON FILE
FERNANDEZ COLON, CARLOS             ADDRESS ON FILE
FERNANDEZ COLON, CARMEN E           ADDRESS ON FILE
FERNANDEZ COLON, GERARDO            ADDRESS ON FILE
FERNANDEZ COLON, GERARDO            ADDRESS ON FILE
FERNANDEZ COLON, IVONNE M           ADDRESS ON FILE
FERNANDEZ COLON, JENNIFER           ADDRESS ON FILE
FERNANDEZ COLON, JOSE               ADDRESS ON FILE
FERNANDEZ COLON, JOSE A             ADDRESS ON FILE
FERNANDEZ COLON, JOSE R.            ADDRESS ON FILE
FERNANDEZ COLON, LISSETTE           ADDRESS ON FILE
FERNANDEZ COLON, MANUEL             ADDRESS ON FILE
FERNANDEZ COLON, MARINES            ADDRESS ON FILE
FERNANDEZ COLON, NESTOR A           ADDRESS ON FILE
FERNANDEZ COLON, ORLANDO            ADDRESS ON FILE
FERNANDEZ COLON, OSVALDO            ADDRESS ON FILE
FERNANDEZ COLON, PABLO              ADDRESS ON FILE
Fernandez Colon, Ramiro             ADDRESS ON FILE
FERNANDEZ COLON, RUBEN              ADDRESS ON FILE
FERNANDEZ COLON, RUTH               ADDRESS ON FILE
FERNANDEZ CONCEPCION, JOSE          ADDRESS ON FILE
FERNANDEZ CONCEPCION, JULIO         ADDRESS ON FILE
FERNANDEZ CONCEPCION, MYRIAM        ADDRESS ON FILE
FERNANDEZ CONCEPCION, ORLANIA       ADDRESS ON FILE
FERNANDEZ CONTADOR, JOSE            ADDRESS ON FILE
FERNANDEZ CONTES, IDELISSE          ADDRESS ON FILE
FERNANDEZ CORCHADO, CARMEN L        ADDRESS ON FILE
FERNANDEZ CORCHADO, HECTOR          ADDRESS ON FILE
FERNANDEZ CORCHADO, JANICE          ADDRESS ON FILE
Fernandez Corchado, Lillian G.      ADDRESS ON FILE
Fernandez Corchado, Raul            ADDRESS ON FILE
FERNANDEZ CORCHADO, VICTOR D.       ADDRESS ON FILE
FERNANDEZ CORDERO, FERNANDO         ADDRESS ON FILE
FERNANDEZ CORDERO, HECTOR           ADDRESS ON FILE




                                                                                Page 2773 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2774 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ CORDERO, HECTOR             ADDRESS ON FILE
FERNANDEZ CORDERO, MADELINE           ADDRESS ON FILE
FERNANDEZ CORDERO, MANUEL J.          ADDRESS ON FILE
FERNANDEZ CORDERO, MANUEL J.          ADDRESS ON FILE
FERNANDEZ CORDERO, TANISHA            ADDRESS ON FILE
FERNANDEZ CORDERO, VIVIAN D. LOS A.   ADDRESS ON FILE
FERNANDEZ CORDOVA, EDWIN              ADDRESS ON FILE
FERNANDEZ CORDOVA, EFRAIN             ADDRESS ON FILE
FERNANDEZ CORDOVA, IRMA L             ADDRESS ON FILE
FERNANDEZ CORDOVA, JAVIER             ADDRESS ON FILE
FERNANDEZ CORDOVA, JOSUE              ADDRESS ON FILE
FERNANDEZ COREANO, FERNANDO           ADDRESS ON FILE
FERNANDEZ CORNIER, NICOLAS            ADDRESS ON FILE
FERNANDEZ CORRALES, ENRIQUE           ADDRESS ON FILE
FERNANDEZ CORREA, EDUARDO J           ADDRESS ON FILE
FERNANDEZ CORREA, FERNANDO I.         ADDRESS ON FILE
Fernandez Correa, Jose L              ADDRESS ON FILE
FERNANDEZ CORREA, LUIS                ADDRESS ON FILE
Fernandez Correa, Luis R              ADDRESS ON FILE
FERNANDEZ CORREA, PABLO               ADDRESS ON FILE
FERNANDEZ CORREA, YAMARIES            ADDRESS ON FILE
FERNANDEZ COSME, HENRY                ADDRESS ON FILE
FERNANDEZ COTTO, CARMEN M.            ADDRESS ON FILE
FERNANDEZ COTTO, GERARDO              ADDRESS ON FILE
FERNANDEZ COTTO, GLORIA M.            ADDRESS ON FILE
Fernandez Cotto, Juan                 ADDRESS ON FILE
FERNANDEZ COTTO, MERELYN              ADDRESS ON FILE
FERNANDEZ COTTO, MERELYN              ADDRESS ON FILE
FERNANDEZ CRESPO, JOEL                ADDRESS ON FILE
FERNANDEZ CRESPO, VIVIAN              ADDRESS ON FILE
FERNANDEZ CRUZ, ANGEL                 ADDRESS ON FILE
FERNANDEZ CRUZ, CARLOS                ADDRESS ON FILE
Fernandez Cruz, Carlos A              ADDRESS ON FILE
FERNANDEZ CRUZ, CARMEN I.             ADDRESS ON FILE
FERNANDEZ CRUZ, DEMETRIA              ADDRESS ON FILE
FERNANDEZ CRUZ, EDWIN GAMMAL          ADDRESS ON FILE
FERNANDEZ CRUZ, FERNANDO              ADDRESS ON FILE
FERNANDEZ CRUZ, JUAN                  ADDRESS ON FILE
FERNANDEZ CRUZ, JUDITH                ADDRESS ON FILE
FERNANDEZ CRUZ, JUSTINA               ADDRESS ON FILE
FERNANDEZ CRUZ, KEVYZ                 ADDRESS ON FILE
FERNANDEZ CRUZ, LESLIE                ADDRESS ON FILE
FERNANDEZ CRUZ, LIZA M                ADDRESS ON FILE
FERNANDEZ CRUZ, LIZA M                ADDRESS ON FILE
FERNANDEZ CRUZ, MARIA T               ADDRESS ON FILE
FERNANDEZ CRUZ, MAYRA                 ADDRESS ON FILE
Fernandez Cruz, Michel G.             ADDRESS ON FILE
FERNANDEZ CRUZ, MILAGROS              ADDRESS ON FILE
FERNANDEZ CRUZ, MIRIAM                ADDRESS ON FILE
FERNANDEZ CRUZ, PABLO                 ADDRESS ON FILE
FERNANDEZ CRUZ, TAHNEE                ADDRESS ON FILE
FERNANDEZ CRUZ, TAHNEE LEE            ADDRESS ON FILE
FERNANDEZ CUELLO, ONNABEL             ADDRESS ON FILE
FERNANDEZ CUELLO, ONNABEL             ADDRESS ON FILE
FERNANDEZ CUEVAS MD, JOSE O           ADDRESS ON FILE
FERNANDEZ CUEVAS, JOSE O.             ADDRESS ON FILE
FERNANDEZ DAVILA, ADRIAN              ADDRESS ON FILE
FERNANDEZ DAVILA, EMELY               ADDRESS ON FILE
FERNANDEZ DAVILA, JOEL                ADDRESS ON FILE
FERNANDEZ DAVILA, MERCEDES            ADDRESS ON FILE




                                                                                  Page 2774 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2775 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ DE JESUS, AIDA           ADDRESS ON FILE
FERNANDEZ DE JESUS, CARMEN         ADDRESS ON FILE
FERNANDEZ DE JESUS, DOMINGO        ADDRESS ON FILE
FERNANDEZ DE JESUS, GLENDA L.      ADDRESS ON FILE
FERNANDEZ DE JESUS, JENNIFER       ADDRESS ON FILE
FERNANDEZ DE JESUS, JENNIFER       ADDRESS ON FILE
FERNANDEZ DE JESUS, LILLIAN E      ADDRESS ON FILE
FERNANDEZ DE JESUS, LUZ M.         ADDRESS ON FILE
FERNANDEZ DE JESUS, MARIA A.       ADDRESS ON FILE
FERNANDEZ DE JESUS, SONIA N.       ADDRESS ON FILE
FERNANDEZ DE JESUS, VICKY M        ADDRESS ON FILE
FERNANDEZ DE LAHONGRAIS, JOSE      ADDRESS ON FILE
FERNANDEZ DE LEON, HECTOR M.       ADDRESS ON FILE
FERNANDEZ DE LEON, ISAIAS          ADDRESS ON FILE
FERNANDEZ DE LEON, RAMON           ADDRESS ON FILE
FERNANDEZ DE PENA, DORIS I.        ADDRESS ON FILE
Fernandez De Reyes, Marta B        ADDRESS ON FILE
FERNANDEZ DE RIVERA, IRMA          ADDRESS ON FILE
FERNANDEZ DE TORRES, VELEN         ADDRESS ON FILE
FERNANDEZ DECENA, PABLO            ADDRESS ON FILE
FERNANDEZ DEL MORAL, JESUS         ADDRESS ON FILE
FERNANDEZ DEL MORAL, MARIA M       ADDRESS ON FILE
FERNANDEZ DEL VALLE, JUAN          ADDRESS ON FILE
FERNANDEZ DEL VALLE, LINDA N       ADDRESS ON FILE
FERNANDEZ DEL VALLE, LUZ E.        ADDRESS ON FILE
FERNANDEZ DEL VALLE, LYDIA M.      ADDRESS ON FILE
FERNANDEZ DELGADO, ALFONSO         ADDRESS ON FILE
FERNANDEZ DELGADO, ANA J.          ADDRESS ON FILE
FERNANDEZ DELGADO, GERDOLIS M      ADDRESS ON FILE
FERNANDEZ DELGADO, LINO            ADDRESS ON FILE
FERNANDEZ DELGADO, MARIA C         ADDRESS ON FILE
FERNANDEZ DELGADO, MARIBEL         ADDRESS ON FILE
FERNANDEZ DELGADO, NYDIA E         ADDRESS ON FILE
FERNANDEZ DELGADO, PABLO           ADDRESS ON FILE
FERNANDEZ DEMORIZI MD, DAYRA       ADDRESS ON FILE
FERNANDEZ DEMORIZI, DAYRA          ADDRESS ON FILE
FERNANDEZ DIAMANTE, ABRAHAM        ADDRESS ON FILE
FERNANDEZ DIAMANTE, ELEAZAR        ADDRESS ON FILE
FERNANDEZ DIAZ DE TUESTA, JOSHUA   ADDRESS ON FILE
FERNANDEZ DIAZ, ALBERTO            ADDRESS ON FILE
FERNANDEZ DIAZ, ALIDA              ADDRESS ON FILE
FERNANDEZ DIAZ, ANGEL              ADDRESS ON FILE
FERNANDEZ DIAZ, ARACELIS           ADDRESS ON FILE
FERNANDEZ DIAZ, BLANCA             ADDRESS ON FILE
FERNANDEZ DIAZ, BRYAN              ADDRESS ON FILE
FERNANDEZ DIAZ, CARMEN             ADDRESS ON FILE
FERNANDEZ DIAZ, DAVID              ADDRESS ON FILE
FERNANDEZ DIAZ, FRANCISCO          ADDRESS ON FILE
FERNANDEZ DIAZ, FRANCISCO          ADDRESS ON FILE
FERNANDEZ DIAZ, GABRIEL JAVIER     ADDRESS ON FILE
FERNANDEZ DIAZ, GLORIA DEL C       ADDRESS ON FILE
Fernandez Diaz, Ivan A             ADDRESS ON FILE
FERNANDEZ DIAZ, JESUS              ADDRESS ON FILE
FERNANDEZ DIAZ, JORGE R.           ADDRESS ON FILE
FERNANDEZ DIAZ, JULIA              ADDRESS ON FILE
FERNANDEZ DIAZ, LUIS               ADDRESS ON FILE
FERNANDEZ DIAZ, LUIS E.            ADDRESS ON FILE
FERNANDEZ DIAZ, MELINA             ADDRESS ON FILE
FERNANDEZ DIAZ, RAFAEL             ADDRESS ON FILE
FERNANDEZ DIAZ, RAUL M.            ADDRESS ON FILE




                                                                               Page 2775 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2776 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ DIAZ, RICARDO            ADDRESS ON FILE
FERNANDEZ DIRREU, GWEN             ADDRESS ON FILE
FERNANDEZ DOMENECH, PEDRO          ADDRESS ON FILE
FERNANDEZ DONES, JOSUE             ADDRESS ON FILE
FERNANDEZ DROZ, ALMA L             ADDRESS ON FILE
FERNANDEZ DROZ, JULIA A            ADDRESS ON FILE
FERNANDEZ DROZ, LUIS E             ADDRESS ON FILE
FERNANDEZ DUCHESNE, JOSE A         ADDRESS ON FILE
FERNANDEZ DUHARTE, YDDANA          ADDRESS ON FILE
FERNANDEZ DURAN, ERNESTO           ADDRESS ON FILE
FERNANDEZ ECHAVARRY, MAURICO       ADDRESS ON FILE
Fernandez Echevarria, Luis A       ADDRESS ON FILE
FERNANDEZ EGIPCIACO, MARIE E.      ADDRESS ON FILE
FERNANDEZ ENCARNACION MD, NOE      ADDRESS ON FILE
FERNANDEZ ENCARNACION, JOSE M      ADDRESS ON FILE
FERNANDEZ ENCARNACION,JOSE         ADDRESS ON FILE
FERNANDEZ ESPADA, ARNALDO          ADDRESS ON FILE
Fernandez Espada, Arnaldo L        ADDRESS ON FILE
FERNANDEZ ESPADA, CARMEN J         ADDRESS ON FILE
FERNANDEZ ESPADA, VALERIE          ADDRESS ON FILE
FERNANDEZ ESQUILIN, MIGUELINA      ADDRESS ON FILE
FERNANDEZ ESQUILIN, SONIA          ADDRESS ON FILE
FERNANDEZ ESTABANEZ, CARMEN        ADDRESS ON FILE
FERNANDEZ ESTEBANEZ, JOSE E.       ADDRESS ON FILE
FERNANDEZ ESTEVE, MARIA            ADDRESS ON FILE
FERNANDEZ ESTEVE, MIGUEL J         ADDRESS ON FILE
FERNANDEZ ESTEVES, JOSE            ADDRESS ON FILE
FERNANDEZ ESTEVES, JOSE L.         ADDRESS ON FILE
FERNANDEZ ESTEVEZ, IBBIS M         ADDRESS ON FILE
FERNANDEZ ESTEVEZ, NORMA J.        ADDRESS ON FILE
FERNANDEZ ESTRADA, HECTOR          ADDRESS ON FILE
FERNANDEZ ESTRELLA, IRMA R         ADDRESS ON FILE
FERNANDEZ ESTRELLA, JOSE R         ADDRESS ON FILE
FERNANDEZ FARACCO, JAIRO           ADDRESS ON FILE
FERNANDEZ FEBLES, VANESSA          ADDRESS ON FILE
Fernandez Febo, Jose A             ADDRESS ON FILE
FERNANDEZ FEBRES, MYRIAM           ADDRESS ON FILE
FERNANDEZ FEBUS, EVELYN            ADDRESS ON FILE
FERNANDEZ FEBUS, MIRIAM            ADDRESS ON FILE
FERNANDEZ FELICIANO, JAVIER        ADDRESS ON FILE
FERNANDEZ FELICIANO, LOREN         ADDRESS ON FILE
FERNANDEZ FERMAINTT, CHRISTOPHER   ADDRESS ON FILE
FERNANDEZ FERMIN, ABELARDO         ADDRESS ON FILE
FERNANDEZ FERNANDEZ, ANGEL LUIS    ADDRESS ON FILE
FERNANDEZ FERNANDEZ, BELENI        ADDRESS ON FILE
FERNANDEZ FERNANDEZ, BRENDA LEE    ADDRESS ON FILE
FERNANDEZ FERNANDEZ, BRIAN         ADDRESS ON FILE
FERNANDEZ FERNANDEZ, CARMEN I      ADDRESS ON FILE
Fernandez Fernandez, Carol Lee     ADDRESS ON FILE
FERNANDEZ FERNANDEZ, DAVID         ADDRESS ON FILE
FERNANDEZ FERNANDEZ, DORCAS D      ADDRESS ON FILE
FERNANDEZ FERNANDEZ, FELICITA      ADDRESS ON FILE
FERNANDEZ FERNANDEZ, GIOMAR        ADDRESS ON FILE
FERNANDEZ FERNANDEZ, HECTOR        ADDRESS ON FILE
FERNANDEZ FERNANDEZ, HECTOR        ADDRESS ON FILE
Fernandez Fernandez, Hector G.     ADDRESS ON FILE
Fernandez Fernandez, Heriberto     ADDRESS ON FILE
FERNANDEZ FERNANDEZ, HILDA N       ADDRESS ON FILE
FERNANDEZ FERNANDEZ, LEONEL        ADDRESS ON FILE
FERNANDEZ FERNANDEZ, LILLIAM L     ADDRESS ON FILE




                                                                               Page 2776 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2777 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ FERNANDEZ, LUZ M       ADDRESS ON FILE
FERNANDEZ FERNANDEZ, MARIA       ADDRESS ON FILE
FERNANDEZ FERNANDEZ, MAYRA E     ADDRESS ON FILE
FERNANDEZ FERNANDEZ, MERYLINE    ADDRESS ON FILE
FERNANDEZ FERNANDEZ, MIRIAM      ADDRESS ON FILE
FERNANDEZ FERNANDEZ, MORAIMA     ADDRESS ON FILE
FERNANDEZ FERNANDEZ, ORLANDO     ADDRESS ON FILE
FERNANDEZ FERNANDEZ, PEDRO       ADDRESS ON FILE
FERNANDEZ FERNANDEZ, REMIGIO     ADDRESS ON FILE
FERNANDEZ FERRA, ROBERTO         ADDRESS ON FILE
FERNANDEZ FIGUEROA, ANA E        ADDRESS ON FILE
FERNANDEZ FIGUEROA, ANGEL M      ADDRESS ON FILE
FERNANDEZ FIGUEROA, AUDELIS      ADDRESS ON FILE
FERNANDEZ FIGUEROA, DELYS D.     ADDRESS ON FILE
FERNANDEZ FIGUEROA, DENIS        ADDRESS ON FILE
FERNANDEZ FIGUEROA, EDWIN        ADDRESS ON FILE
FERNANDEZ FIGUEROA, ILEANA       ADDRESS ON FILE
FERNANDEZ FIGUEROA, IRIS         ADDRESS ON FILE
FERNANDEZ FIGUEROA, IVONNE       ADDRESS ON FILE
FERNANDEZ FIGUEROA, IVONNE       ADDRESS ON FILE
Fernandez Figueroa, Luis         ADDRESS ON FILE
FERNANDEZ FIGUEROA, MIGUEL       ADDRESS ON FILE
FERNANDEZ FIGUEROA, OLGAMARIS    ADDRESS ON FILE
Fernandez Figueroa, Rey F        ADDRESS ON FILE
FERNANDEZ FIGUEROA, WILFREDO     ADDRESS ON FILE
Fernandez Flores, Aaron A        ADDRESS ON FILE
FERNANDEZ FLORES, CARLOS         ADDRESS ON FILE
FERNANDEZ FLORES, ERIC           ADDRESS ON FILE
FERNANDEZ FLORES, EVA URI        ADDRESS ON FILE
FERNANDEZ FLORES, HILDALYS DEL   ADDRESS ON FILE
FERNANDEZ FLORES, LYNESKA        ADDRESS ON FILE
FERNANDEZ FLORES, MIGUEL A.      ADDRESS ON FILE
FERNANDEZ FONTAN, ADALBERTO      ADDRESS ON FILE
FERNANDEZ FONTAN, CARMEN         ADDRESS ON FILE
FERNANDEZ FONTAN, CATALINA       ADDRESS ON FILE
FERNANDEZ FONTAN, CATALINA       ADDRESS ON FILE
FERNANDEZ FONTAN, LULA           ADDRESS ON FILE
FERNANDEZ FONTAN, LULA LUCIA     ADDRESS ON FILE
FERNANDEZ FONTAN, LULA LUCIA     ADDRESS ON FILE
FERNANDEZ FONTAN, MARIA          ADDRESS ON FILE
FERNANDEZ FRAGOSO, ROSARIO       ADDRESS ON FILE
FERNANDEZ FRAGOSO, ZAIDA         ADDRESS ON FILE
FERNANDEZ FRAGUADA, JULISSA      ADDRESS ON FILE
FERNANDEZ FRANCESCHI, NANETTE    ADDRESS ON FILE
FERNANDEZ FRANCO, DIANA M        ADDRESS ON FILE
FERNANDEZ FRANCO, JOSE           ADDRESS ON FILE
Fernandez Franco, Jose A         ADDRESS ON FILE
FERNANDEZ FRATICELLI, ISAAC      ADDRESS ON FILE
FERNANDEZ FUENTES, IRMA          ADDRESS ON FILE
FERNANDEZ FUENTES, MARIO         ADDRESS ON FILE
FERNANDEZ FUENTES, MARIO         ADDRESS ON FILE
FERNANDEZ FUENTES, TOMAS         ADDRESS ON FILE
FERNANDEZ FUNERAL SERVICES INC   PO BOX 896                                                                       MAYAGUEZ     PR      00681‐0896
FERNANDEZ GALAN, ISMAEL          ADDRESS ON FILE
FERNANDEZ GALARZA, GLENDALY      ADDRESS ON FILE
FERNANDEZ GAMBOA, PEDRO          ADDRESS ON FILE
FERNANDEZ GARAY, FABIOLA         ADDRESS ON FILE
FERNANDEZ GARCIA MD, DIANA       ADDRESS ON FILE
FERNANDEZ GARCIA, ALBA N         ADDRESS ON FILE
FERNANDEZ GARCIA, ALEXIS         ADDRESS ON FILE




                                                                             Page 2777 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2778 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ GARCIA, CARMEN L        ADDRESS ON FILE
FERNANDEZ GARCIA, CONRADO         ADDRESS ON FILE
FERNANDEZ GARCIA, ELSY            ADDRESS ON FILE
FERNANDEZ GARCIA, EMMANUEL        ADDRESS ON FILE
FERNANDEZ GARCIA, FLAVIA          ADDRESS ON FILE
FERNANDEZ GARCIA, FLAVIA          ADDRESS ON FILE
FERNANDEZ GARCIA, FRANCISCO A.    ADDRESS ON FILE
Fernandez Garcia, Holvin          ADDRESS ON FILE
FERNANDEZ GARCIA, HOLVIN          ADDRESS ON FILE
FERNANDEZ GARCIA, IRMA            ADDRESS ON FILE
FERNANDEZ GARCIA, JANICE M        ADDRESS ON FILE
FERNANDEZ GARCIA, JOSE R.         ADDRESS ON FILE
FERNANDEZ GARCIA, MARIELY         ADDRESS ON FILE
FERNANDEZ GARCIA, MARY L          ADDRESS ON FILE
FERNANDEZ GARCIA, ROSARIE         ADDRESS ON FILE
FERNANDEZ GARCIA, WAYNE           ADDRESS ON FILE
Fernandez Garcia, Zulma           ADDRESS ON FILE
FERNANDEZ GAVINO, RAUL I          ADDRESS ON FILE
FERNANDEZ GILL, ISABEL            ADDRESS ON FILE
FERNANDEZ GINORIO, DANIEL         ADDRESS ON FILE
FERNANDEZ GINORIO, GLADYS A       ADDRESS ON FILE
FERNANDEZ GINORIO, GLADYS A.      ADDRESS ON FILE
FERNANDEZ GIRAUD, ISABEL          ADDRESS ON FILE
FERNANDEZ GLEZ, WILFREDO          ADDRESS ON FILE
FERNANDEZ GOMEZ, ALEJANDRO        ADDRESS ON FILE
FERNANDEZ GOMEZ, ALLEGRA C        ADDRESS ON FILE
FERNANDEZ GOMEZ, ARLENE           ADDRESS ON FILE
FERNANDEZ GOMEZ, CARLOS           ADDRESS ON FILE
Fernandez Gomez, Eliezer          ADDRESS ON FILE
FERNANDEZ GOMEZ, JOSEFINA         ADDRESS ON FILE
FERNANDEZ GOMEZ, JULIE M          ADDRESS ON FILE
FERNANDEZ GOMEZ, LUIS             ADDRESS ON FILE
FERNANDEZ GOMEZ, MARIA E          ADDRESS ON FILE
FERNANDEZ GOMEZ, NEFTALI          ADDRESS ON FILE
FERNANDEZ GOMEZ, NEFTALI          ADDRESS ON FILE
FERNANDEZ GOMEZ, RAMON A.         ADDRESS ON FILE
FERNANDEZ GONZALEZ MD, RICARDO    ADDRESS ON FILE
FERNANDEZ GONZALEZ, ADAM          ADDRESS ON FILE
FERNANDEZ GONZALEZ, ADRIAN        ADDRESS ON FILE
FERNANDEZ GONZALEZ, ANA L         ADDRESS ON FILE
FERNANDEZ GONZALEZ, ANGEL         ADDRESS ON FILE
FERNANDEZ GONZALEZ, ANGEL L       ADDRESS ON FILE
Fernandez Gonzalez, Anibal        ADDRESS ON FILE
FERNANDEZ GONZALEZ, DALISA        ADDRESS ON FILE
FERNANDEZ GONZALEZ, DALISA        ADDRESS ON FILE
FERNANDEZ GONZALEZ, EDMUNDO       ADDRESS ON FILE
FERNANDEZ GONZALEZ, ELIZABETH     ADDRESS ON FILE
FERNANDEZ GONZALEZ, ELVIN         ADDRESS ON FILE
FERNANDEZ GONZALEZ, ENRIQUE       ADDRESS ON FILE
FERNANDEZ GONZALEZ, EVELYN        ADDRESS ON FILE
FERNANDEZ GONZALEZ, FERNANDO      ADDRESS ON FILE
FERNANDEZ GONZALEZ, FERNANDO J    ADDRESS ON FILE
FERNANDEZ GONZALEZ, FERNANDO J.   ADDRESS ON FILE
FERNANDEZ GONZALEZ, IVELISSE      ADDRESS ON FILE
FERNANDEZ GONZALEZ, JACKELINE     ADDRESS ON FILE
FERNANDEZ GONZALEZ, JOE E         ADDRESS ON FILE
FERNANDEZ GONZALEZ, JONATHAN      ADDRESS ON FILE
FERNANDEZ GONZALEZ, JOSE          ADDRESS ON FILE
FERNANDEZ GONZALEZ, JOSE          ADDRESS ON FILE
FERNANDEZ GONZALEZ, JOSE          ADDRESS ON FILE




                                                                              Page 2778 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2779 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ GONZALEZ, JOSE L        ADDRESS ON FILE
FERNANDEZ GONZALEZ, JUAN          ADDRESS ON FILE
FERNANDEZ GONZALEZ, LUIS M        ADDRESS ON FILE
FERNANDEZ GONZALEZ, MAGALY        ADDRESS ON FILE
Fernandez Gonzalez, Maria         ADDRESS ON FILE
FERNANDEZ GONZALEZ, MARIA M       ADDRESS ON FILE
FERNANDEZ GONZALEZ, NORMA L       ADDRESS ON FILE
FERNANDEZ GONZALEZ, RAMON         ADDRESS ON FILE
FERNANDEZ GONZALEZ, RUTH          ADDRESS ON FILE
FERNANDEZ GONZALEZ, SONIA N       ADDRESS ON FILE
FERNANDEZ GONZALEZ, STEPHANIE     ADDRESS ON FILE
FERNANDEZ GONZALEZ, VALENTIN      ADDRESS ON FILE
FERNANDEZ GONZALEZ, WAYNE         ADDRESS ON FILE
FERNANDEZ GONZALEZ, ZULLYANN      ADDRESS ON FILE
FERNANDEZ GORDON, WENDY           ADDRESS ON FILE
FERNANDEZ GRAULAU, MIGUEL         ADDRESS ON FILE
FERNANDEZ GRULLON, JOSE           ADDRESS ON FILE
FERNANDEZ GUADALUPE, ROXANNE      ADDRESS ON FILE
FERNANDEZ GUTIERREZ, VERONICA     ADDRESS ON FILE
Fernandez Guzman, Axel D.         ADDRESS ON FILE
FERNANDEZ GUZMAN, MELISSA N       ADDRESS ON FILE
FERNANDEZ HEINZMAN, NANCY         ADDRESS ON FILE
FERNANDEZ HERNANDE Z, MILAGROS    ADDRESS ON FILE
Fernandez Hernande, Sonia M       ADDRESS ON FILE
FERNANDEZ HERNANDEZ, ANA H.       ADDRESS ON FILE
FERNANDEZ HERNANDEZ, ANA M        ADDRESS ON FILE
FERNANDEZ HERNANDEZ, CARMEN       ADDRESS ON FILE
FERNANDEZ HERNANDEZ, CARMEN       ADDRESS ON FILE
FERNANDEZ HERNANDEZ, DAMARIS      ADDRESS ON FILE
FERNANDEZ HERNANDEZ, EDDA         ADDRESS ON FILE
FERNANDEZ HERNANDEZ, EDMEE        ADDRESS ON FILE
FERNANDEZ HERNANDEZ, FELIX        ADDRESS ON FILE
FERNANDEZ HERNANDEZ, JESSICA      ADDRESS ON FILE
Fernandez Hernandez, Jesus A      ADDRESS ON FILE
FERNANDEZ HERNANDEZ, JOMAR        ADDRESS ON FILE
FERNANDEZ HERNANDEZ, JORG M       ADDRESS ON FILE
FERNANDEZ HERNANDEZ, JORGE        ADDRESS ON FILE
Fernandez Hernandez, Julio E      ADDRESS ON FILE
FERNANDEZ HERNANDEZ, LUIS         ADDRESS ON FILE
FERNANDEZ HERNANDEZ, LUIS         ADDRESS ON FILE
FERNANDEZ HERNANDEZ, MARCOLINA    ADDRESS ON FILE
FERNANDEZ HERNANDEZ, MARITZA      ADDRESS ON FILE
FERNANDEZ HERNANDEZ, MIGDALIA     ADDRESS ON FILE
FERNANDEZ HERNANDEZ, MONICA I     ADDRESS ON FILE
Fernandez Hernandez, Oscar        ADDRESS ON FILE
FERNANDEZ HERNANDEZ, RAMONITA     ADDRESS ON FILE
FERNANDEZ HERNANDEZ, ROSALINA     ADDRESS ON FILE
FERNANDEZ HERNANDEZ, SHEILA       ADDRESS ON FILE
FERNANDEZ HERNANDEZ, WILLY A.     ADDRESS ON FILE
FERNANDEZ HERRERA, ANGEL          ADDRESS ON FILE
FERNANDEZ HERRERA, NILDA          ADDRESS ON FILE
FERNANDEZ HIRALDO, LUZ A          ADDRESS ON FILE
FERNANDEZ HNDEZ., RITA M.         ADDRESS ON FILE
FERNANDEZ HNDEZ., RITA M.         ADDRESS ON FILE
FERNANDEZ HUGGINS, FRANCISCO J.   ADDRESS ON FILE
FERNANDEZ IRIZARRY, YASMIN        ADDRESS ON FILE
FERNANDEZ IZQUIERDO, OCTAVIO      ADDRESS ON FILE
FERNANDEZ JIMENEZ MD, JONATHAN    ADDRESS ON FILE
FERNANDEZ JIMENEZ, CRISTINA       ADDRESS ON FILE
FERNANDEZ JIMENEZ, ENID G         ADDRESS ON FILE




                                                                              Page 2779 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2780 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ JIMENEZ, FERNANDO     ADDRESS ON FILE
FERNANDEZ JIMENEZ, KEYLA        ADDRESS ON FILE
FERNANDEZ JIMENEZ, NELSON       ADDRESS ON FILE
FERNANDEZ JIMENEZ, RUBEN        ADDRESS ON FILE
FERNANDEZ JIMENEZ, YARITZA      ADDRESS ON FILE
FERNANDEZ JIMENEZ, YUANY E.     ADDRESS ON FILE
FERNANDEZ JUANES, ALBERTO       ADDRESS ON FILE
FERNANDEZ JUNGHANNS, NORMALIZ   ADDRESS ON FILE
FERNANDEZ JURADO, JOSE M        ADDRESS ON FILE
FERNANDEZ LANZO, CARMEN J       ADDRESS ON FILE
FERNANDEZ LAPORTE, SANDRA       ADDRESS ON FILE
FERNANDEZ LASALLE, ANA E.       ADDRESS ON FILE
FERNANDEZ LEAL, MARTHA          ADDRESS ON FILE
FERNANDEZ LEBRON, ALEX          ADDRESS ON FILE
FERNANDEZ LEBRON, ALEX Y.       ADDRESS ON FILE
FERNANDEZ LEBRON, ANICIA S      ADDRESS ON FILE
FERNANDEZ LEBRON, CARMEN C      ADDRESS ON FILE
Fernandez Lebron, Daniel        ADDRESS ON FILE
FERNANDEZ LEBRON, DANIEL        ADDRESS ON FILE
FERNANDEZ LEBRON, ISABEL        ADDRESS ON FILE
FERNANDEZ LEBRON, MARICRUZ C    ADDRESS ON FILE
FERNANDEZ LEBRON, MELISSA       ADDRESS ON FILE
FERNANDEZ LEBRON, MIGDALIA      ADDRESS ON FILE
FERNANDEZ LEON, ERNESTINA       ADDRESS ON FILE
FERNANDEZ LEON, FIRPO           ADDRESS ON FILE
FERNANDEZ LEON, JOSE L          ADDRESS ON FILE
FERNANDEZ LEON, LILLIAN         ADDRESS ON FILE
FERNANDEZ LEON, LILLIAN         ADDRESS ON FILE
FERNANDEZ LEON, LUIS ALEXIS     ADDRESS ON FILE
FERNANDEZ LEON, MANUEL          ADDRESS ON FILE
FERNANDEZ LEON, RAUL            ADDRESS ON FILE
FERNANDEZ LIMAS, WALBERTO       ADDRESS ON FILE
FERNANDEZ LLANOS, CARMEN        ADDRESS ON FILE
FERNANDEZ LONGO, JAVIER         ADDRESS ON FILE
Fernandez Lopategui, Jose A     ADDRESS ON FILE
FERNANDEZ LOPATEGUI, MARIA Y.   ADDRESS ON FILE
FERNANDEZ LOPEZ MD, SAMUEL A    ADDRESS ON FILE
FERNANDEZ LOPEZ, AIDA           ADDRESS ON FILE
FERNANDEZ LOPEZ, ALEX           ADDRESS ON FILE
FERNANDEZ LOPEZ, CARMEN         ADDRESS ON FILE
FERNANDEZ LOPEZ, CARMEN D.      ADDRESS ON FILE
FERNANDEZ LOPEZ, CRISTOBAL      ADDRESS ON FILE
FERNANDEZ LOPEZ, EDGARDO L      ADDRESS ON FILE
FERNANDEZ LOPEZ, ELLIOT         ADDRESS ON FILE
Fernandez Lopez, Elliot M.      ADDRESS ON FILE
FERNANDEZ LOPEZ, ELSIE          ADDRESS ON FILE
FERNANDEZ LOPEZ, EMILIO J       ADDRESS ON FILE
Fernandez Lopez, Evelyn         ADDRESS ON FILE
FERNANDEZ LOPEZ, FRANCISCA      ADDRESS ON FILE
FERNANDEZ LOPEZ, GERMAN D       ADDRESS ON FILE
FERNANDEZ LOPEZ, HECTOR         ADDRESS ON FILE
FERNANDEZ LOPEZ, ISABEL         ADDRESS ON FILE
Fernandez Lopez, Jesus          ADDRESS ON FILE
FERNANDEZ LOPEZ, JESUS          ADDRESS ON FILE
Fernandez Lopez, Juan M         ADDRESS ON FILE
FERNANDEZ LOPEZ, JUANA          ADDRESS ON FILE
FERNANDEZ LOPEZ, LEONARDO       ADDRESS ON FILE
FERNANDEZ LOPEZ, LUIS P         ADDRESS ON FILE
FERNANDEZ LOPEZ, MARILYN        ADDRESS ON FILE
FERNANDEZ LOPEZ, MARTHA C       ADDRESS ON FILE




                                                                            Page 2780 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2781 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                    Address2                       Address3   Address4   City         State   PostalCode   Country
FERNANDEZ LOPEZ, VICTORIA         ADDRESS ON FILE
FERNANDEZ LOPEZ, VIVIAN           ADDRESS ON FILE
FERNANDEZ LOZADA, IVAN            ADDRESS ON FILE
FERNANDEZ LOZADA, LUIS A          ADDRESS ON FILE
Fernandez Lozada, Maria M         ADDRESS ON FILE
FERNANDEZ LOZADA, OMAR            ADDRESS ON FILE
FERNANDEZ LOZADA, VANNESSA        ADDRESS ON FILE
FERNANDEZ LUBE, MARIA             ADDRESS ON FILE
FERNANDEZ LUGO, MAGDALENA         ADDRESS ON FILE
FERNANDEZ LUIS, JOSE M.           ADDRESS ON FILE
FERNANDEZ MACHIN, HECTOR Y.       ADDRESS ON FILE
FERNANDEZ MALDONADO, EFRAIN       ADDRESS ON FILE
FERNANDEZ MALDONADO, ELADIO       ADDRESS ON FILE
FERNANDEZ MALDONADO, JAVIER J.    ADDRESS ON FILE
Fernandez Maldonado, Jorge        ADDRESS ON FILE
FERNANDEZ MALDONADO, JOSE         ADDRESS ON FILE
FERNANDEZ MALDONADO, LEONARDO     ADDRESS ON FILE
FERNANDEZ MALDONADO, MELISSA      ADDRESS ON FILE
FERNANDEZ MALDONADO, NEREIDA      ADDRESS ON FILE
FERNANDEZ MALDONADO, PEDRO        ADDRESS ON FILE
FERNANDEZ MALDONADO, RAYMOND      ADDRESS ON FILE
FERNANDEZ MALDONADO, ROSA M       ADDRESS ON FILE
FERNANDEZ MALDONADO, WANDA        ADDRESS ON FILE
FERNANDEZ MANGUAL, BRENDA I       ADDRESS ON FILE
FERNANDEZ MANGUAL, ERIKA          ADDRESS ON FILE
FERNANDEZ MANGUAL, HECTOR         ADDRESS ON FILE
FERNANDEZ MANGUAL, VICMARIE       ADDRESS ON FILE
FERNANDEZ MANZANO, DEMETRIO       ADDRESS ON FILE
FERNANDEZ MARCANO, MARILYN        ADDRESS ON FILE
FERNANDEZ MARCIAL, ELSEN          ADDRESS ON FILE
FERNANDEZ MARCIAL, NANNETTE       ADDRESS ON FILE
FERNANDEZ MARIN, ANA M            ADDRESS ON FILE
FERNANDEZ MARIÑO MD, VICENTE      ADDRESS ON FILE
FERNANDEZ MARRERO, FEDERICO       ADDRESS ON FILE
FERNANDEZ MARRERO, FERNANDO       ADDRESS ON FILE
FERNANDEZ MARRERO, JAIME          ADDRESS ON FILE
FERNANDEZ MARRERO, JESSICA        ADDRESS ON FILE
FERNANDEZ MARRERO, JESSICA        ADDRESS ON FILE
FERNANDEZ MARRERO, LUIS           ADDRESS ON FILE
FERNANDEZ MARRERO, MARIA L        ADDRESS ON FILE
FERNÁNDEZ MARRERO, MARTA B.       GLORIA E. BORGES FERANDEZ   PO BOX 69                                            COAMO        PR      00769
FERNANDEZ MARRERO, MYRIAM         ADDRESS ON FILE
FERNANDEZ MARTIN, ANAYARI         ADDRESS ON FILE
FERNANDEZ MARTIN, GUILLERMO       ADDRESS ON FILE
FERNANDEZ MARTINEZ, ADAMARI       ADDRESS ON FILE
FERNANDEZ MARTINEZ, AMADO         ADDRESS ON FILE
FERNANDEZ MARTINEZ, ANGEL L       ADDRESS ON FILE
FERNANDEZ MARTINEZ, ARACELIS      ADDRESS ON FILE
FERNANDEZ MARTINEZ, ASNEL         ADDRESS ON FILE
FERNANDEZ MARTINEZ, CRUZ          ADDRESS ON FILE
FERNANDEZ MARTINEZ, EIMILY        ADDRESS ON FILE
FERNANDEZ MARTINEZ, EVA L         ADDRESS ON FILE
FERNANDEZ MARTINEZ, FRANCES       ADDRESS ON FILE
FERNANDEZ MARTINEZ, FRANCISCO A   ADDRESS ON FILE
FERNANDEZ MARTINEZ, FRANCISCO A   ADDRESS ON FILE
FERNANDEZ MARTINEZ, JESUS         ADDRESS ON FILE
Fernandez Martinez, Jesus F       ADDRESS ON FILE
Fernandez Martinez, Jose O.       ADDRESS ON FILE
FERNANDEZ MARTINEZ, JOSUE         ADDRESS ON FILE
FERNANDEZ MARTINEZ, KATIA         ADDRESS ON FILE




                                                                              Page 2781 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2782 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ MARTINEZ, LETZA         ADDRESS ON FILE
FERNANDEZ MARTINEZ, MANUEL        ADDRESS ON FILE
FERNANDEZ MARTINEZ, MARCOS        ADDRESS ON FILE
FERNANDEZ MARTINEZ, MARTINA       ADDRESS ON FILE
FERNANDEZ MARTINEZ, MIGDALIA      ADDRESS ON FILE
FERNANDEZ MARTINEZ, NEFTALI       ADDRESS ON FILE
FERNANDEZ MARTINEZ, NILMARY       ADDRESS ON FILE
FERNANDEZ MARTINEZ, ORLANDO       ADDRESS ON FILE
FERNANDEZ MATOS, NANCY            ADDRESS ON FILE
FERNANDEZ MAYMI, ANNIE            ADDRESS ON FILE
FERNANDEZ MAYMI, ANNIE G          ADDRESS ON FILE
FERNANDEZ MD , JULIE M            ADDRESS ON FILE
FERNANDEZ MEDERO MD, ROSANGELA    ADDRESS ON FILE
FERNANDEZ MEDERO, JULIO           ADDRESS ON FILE
FERNANDEZ MEDERO, ROSANGELA       ADDRESS ON FILE
FERNANDEZ MEDERO, TANIA L.        ADDRESS ON FILE
FERNANDEZ MEDINA, CARMEN M.       ADDRESS ON FILE
FERNANDEZ MEDINA, CHRISTIAN       ADDRESS ON FILE
FERNANDEZ MEDINA, JORGE           ADDRESS ON FILE
FERNANDEZ MEDINA, LUZ M           ADDRESS ON FILE
FERNANDEZ MEDINA, RAMON           ADDRESS ON FILE
FERNANDEZ MEDINA, VANESSA M       ADDRESS ON FILE
FERNANDEZ MEJIAS, MANUEL          ADDRESS ON FILE
FERNANDEZ MELENDEZ, ALEXANDRA M   ADDRESS ON FILE
FERNANDEZ MELENDEZ, ANGEL M       ADDRESS ON FILE
Fernandez Melendez, Angel M       ADDRESS ON FILE
FERNANDEZ MELENDEZ, EDITH         ADDRESS ON FILE
FERNANDEZ MELENDEZ, ELIZABETH     ADDRESS ON FILE
FERNANDEZ MELENDEZ, ELIZABETH     ADDRESS ON FILE
FERNANDEZ MELENDEZ, EMANUEL       ADDRESS ON FILE
FERNANDEZ MELENDEZ, FRANSUAS      ADDRESS ON FILE
FERNANDEZ MELENDEZ, HECTOR        ADDRESS ON FILE
FERNANDEZ MELENDEZ, JOSE          ADDRESS ON FILE
FERNANDEZ MELENDEZ, LOUIS         ADDRESS ON FILE
FERNANDEZ MELENDEZ, MARIBEL       ADDRESS ON FILE
FERNANDEZ MELENDEZ, MIRIAM        ADDRESS ON FILE
FERNANDEZ MELENDEZ, WILMA         ADDRESS ON FILE
FERNANDEZ MENA, MARIA DE L        ADDRESS ON FILE
FERNANDEZ MENDEZ, JOSE            ADDRESS ON FILE
FERNANDEZ MERCADO, GLADYS         ADDRESS ON FILE
FERNANDEZ MERCADO, GLADYS         ADDRESS ON FILE
FERNANDEZ MERCADO, JUAN           ADDRESS ON FILE
FERNANDEZ MERCADO, MIGUEL         ADDRESS ON FILE
FERNANDEZ MIGUEZ, JOSE            ADDRESS ON FILE
FERNANDEZ MILAN, IDALIA           ADDRESS ON FILE
FERNANDEZ MILAN, OLGA             ADDRESS ON FILE
FERNANDEZ MILLAN, RAFAEL          ADDRESS ON FILE
FERNANDEZ MILLAN, RAFAEL          ADDRESS ON FILE
Fernandez Miralles, Elsa          ADDRESS ON FILE
FERNANDEZ MIRALLES, ELSA          ADDRESS ON FILE
FERNANDEZ MIRANDA, IVELISSE       ADDRESS ON FILE
FERNANDEZ MIRANDA, MARITZA        ADDRESS ON FILE
FERNANDEZ MIRANDA, MIZRAIM        ADDRESS ON FILE
FERNANDEZ MIRANDA, PABLO          ADDRESS ON FILE
FERNANDEZ MIRO, GLORIA M.         ADDRESS ON FILE
FERNANDEZ MOJICA, IBRAIN          ADDRESS ON FILE
FERNANDEZ MOJICA, JOSE A          ADDRESS ON FILE
FERNANDEZ MOLINA, DAMARYS Y       ADDRESS ON FILE
FERNANDEZ MOLINA, GISELYS         ADDRESS ON FILE
FERNANDEZ MOLINA, GISELYS D       ADDRESS ON FILE




                                                                              Page 2782 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2783 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ MONROIG, CARLOS       ADDRESS ON FILE
FERNANDEZ MONTALVO, MARIA       ADDRESS ON FILE
FERNANDEZ MONTALVO, WILDA M     ADDRESS ON FILE
FERNANDEZ MONTANEZ, CARMEN L    ADDRESS ON FILE
FERNANDEZ MONTANEZ, CARMEN L.   ADDRESS ON FILE
FERNANDEZ MONTANEZ, FRANCISCO   ADDRESS ON FILE
FERNANDEZ MONTANEZ, JOSE        ADDRESS ON FILE
FERNANDEZ MONTANEZ, LUZ         ADDRESS ON FILE
Fernandez Montero, Elvin        ADDRESS ON FILE
FERNANDEZ MONTERO, FRANCISCO    ADDRESS ON FILE
FERNANDEZ MONTERO, LYNNETTE     ADDRESS ON FILE
FERNANDEZ MORA, ANAIDEL         ADDRESS ON FILE
FERNANDEZ MORA, ROSA M.         ADDRESS ON FILE
FERNANDEZ MORALES, ALEXIS       ADDRESS ON FILE
FERNANDEZ MORALES, ANA M        ADDRESS ON FILE
FERNANDEZ MORALES, ANGELICA     ADDRESS ON FILE
FERNANDEZ MORALES, AWILDA       ADDRESS ON FILE
FERNANDEZ MORALES, CARMEN N     ADDRESS ON FILE
FERNANDEZ MORALES, DAMIAN       ADDRESS ON FILE
Fernandez Morales, Gerardo      ADDRESS ON FILE
FERNANDEZ MORALES, GREGORIO     ADDRESS ON FILE
FERNANDEZ MORALES, JANET        ADDRESS ON FILE
FERNANDEZ MORALES, JOSE E       ADDRESS ON FILE
FERNANDEZ MORALES, JUANA M      ADDRESS ON FILE
FERNANDEZ MORALES, MARGARITA    ADDRESS ON FILE
Fernandez Morales, Maria T      ADDRESS ON FILE
FERNANDEZ MORALES, NANCY        ADDRESS ON FILE
FERNANDEZ MORALES, NORMA I      ADDRESS ON FILE
FERNANDEZ MORALES, RAMONITA     ADDRESS ON FILE
FERNANDEZ MORALES, VERONICA     ADDRESS ON FILE
FERNANDEZ MORALES, VICTOR       ADDRESS ON FILE
FERNANDEZ MORALES, WALESKA      ADDRESS ON FILE
FERNANDEZ MORAN, RAMONITA       ADDRESS ON FILE
FERNANDEZ MORAN, SUHEY M        ADDRESS ON FILE
FERNANDEZ MOREL, RAMON          ADDRESS ON FILE
Fernandez Morell, Gilbert       ADDRESS ON FILE
Fernandez Mulero, Dalin         ADDRESS ON FILE
Fernandez Mulero, Yolanda       ADDRESS ON FILE
FERNANDEZ MUNDO, DARNES D       ADDRESS ON FILE
FERNANDEZ MUNIZ, JOHN           ADDRESS ON FILE
FERNANDEZ MUÑOZ MD, AMANDA      ADDRESS ON FILE
FERNANDEZ MUÑOZ MD, BRENDA      ADDRESS ON FILE
FERNANDEZ MUNOZ, MARITZA        ADDRESS ON FILE
FERNANDEZ MUNOZ, VICTOR         ADDRESS ON FILE
FERNANDEZ MUNQZ, SOCORRO        ADDRESS ON FILE
FERNANDEZ NADAL, WILLY          ADDRESS ON FILE
FERNANDEZ NARVAEZ, DAVID        ADDRESS ON FILE
FERNANDEZ NARVAEZ, MIGUEL A.    ADDRESS ON FILE
FERNANDEZ NARVAEZ, TOMAS        ADDRESS ON FILE
FERNANDEZ NATALIZIO, JOSE       ADDRESS ON FILE
FERNANDEZ NAVARRO, ALEXANDRA    ADDRESS ON FILE
Fernandez Navarro, Reinaldo     ADDRESS ON FILE
FERNANDEZ NAVEDO, MIGUEL        ADDRESS ON FILE
FERNANDEZ NEGRON, JOSE          ADDRESS ON FILE
Fernandez Negron, Jose M.       ADDRESS ON FILE
FERNANDEZ NEGRON, JUAN          ADDRESS ON FILE
Fernandez Negron, Mariluz       ADDRESS ON FILE
FERNANDEZ NEGRON, NORMA I       ADDRESS ON FILE
FERNANDEZ NEGRON, WANDA         ADDRESS ON FILE
Fernandez Negron, Wanda I       ADDRESS ON FILE




                                                                            Page 2783 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2784 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ NIEVES, EDWIN          ADDRESS ON FILE
FERNANDEZ NIEVES, GABRIELA       ADDRESS ON FILE
FERNANDEZ NIEVES, GABRIELA       ADDRESS ON FILE
FERNANDEZ NIEVES, GLORIMAR       ADDRESS ON FILE
FERNANDEZ NIEVES, HIPOLITO       ADDRESS ON FILE
FERNANDEZ NIEVES, IVETTE         ADDRESS ON FILE
FERNANDEZ NIEVES, JOHANNA        ADDRESS ON FILE
FERNANDEZ NIEVES, JUAN           ADDRESS ON FILE
Fernandez Nieves, Juan O         ADDRESS ON FILE
FERNANDEZ NIEVES, MARISOL        ADDRESS ON FILE
FERNANDEZ NIVES, MARIELA         ADDRESS ON FILE
FERNANDEZ NOVALES, JORGE         ADDRESS ON FILE
FERNANDEZ NUÑEZ MD, LOURDEZ      ADDRESS ON FILE
FERNANDEZ NUNEZ, AMAURY          ADDRESS ON FILE
FERNANDEZ NUNEZ, JUAN            ADDRESS ON FILE
FERNANDEZ NUNEZ, LENDRULY        ADDRESS ON FILE
Fernandez Ocacio, Hector M       ADDRESS ON FILE
FERNANDEZ OCHOA, JUAN M.         ADDRESS ON FILE
FERNANDEZ OLIVERAS, CLARA I      ADDRESS ON FILE
FERNANDEZ OLIVERI, JUAN          ADDRESS ON FILE
FERNANDEZ OLIVIERI, JUAN         ADDRESS ON FILE
FERNANDEZ OLMEDA, EMILIO         ADDRESS ON FILE
FERNANDEZ OLMEDA, WANDA V        ADDRESS ON FILE
FERNANDEZ OQUENDO, DANIEL        ADDRESS ON FILE
FERNANDEZ ORAMA, YOELVIS         ADDRESS ON FILE
FERNANDEZ ORENSE, MARIA          ADDRESS ON FILE
Fernandez Ortega, Angel L        ADDRESS ON FILE
FERNANDEZ ORTIZ, ALBERTO         ADDRESS ON FILE
FERNANDEZ ORTIZ, AMELIA          ADDRESS ON FILE
FERNANDEZ ORTIZ, BRUNILDA        ADDRESS ON FILE
FERNANDEZ ORTIZ, CECILIO         ADDRESS ON FILE
FERNANDEZ ORTIZ, EVA             ADDRESS ON FILE
FERNANDEZ ORTIZ, HECTOR          ADDRESS ON FILE
FERNANDEZ ORTIZ, JANNETTE        ADDRESS ON FILE
FERNANDEZ ORTIZ, JORGE           ADDRESS ON FILE
FERNANDEZ ORTIZ, JOSE            ADDRESS ON FILE
FERNANDEZ ORTIZ, JULIO I         ADDRESS ON FILE
FERNANDEZ ORTIZ, KEVIN           ADDRESS ON FILE
FERNANDEZ ORTIZ, NILDA I         ADDRESS ON FILE
Fernandez Ortiz, Rafael          ADDRESS ON FILE
FERNANDEZ ORTIZ, VICTOR A        ADDRESS ON FILE
FERNANDEZ ORTIZ, WANDA           ADDRESS ON FILE
FERNANDEZ OTERO, CARMARY         ADDRESS ON FILE
FERNANDEZ OTERO, GERARDO         ADDRESS ON FILE
FERNANDEZ OTERO, GLORYMAR        ADDRESS ON FILE
FERNANDEZ OTERO, JUAN            ADDRESS ON FILE
FERNANDEZ OTERO, NEREIDA         ADDRESS ON FILE
FERNANDEZ OTERO, NILSA           ADDRESS ON FILE
FERNANDEZ OYOLA, ALEX            ADDRESS ON FILE
FERNANDEZ PABON, ANA M           ADDRESS ON FILE
FERNANDEZ PACHECO, JOSE          ADDRESS ON FILE
FERNANDEZ PACHECO, MARLENE       ADDRESS ON FILE
FERNANDEZ PADILLA MD, CLARISSA   ADDRESS ON FILE
FERNANDEZ PADILLA, GILBERTO      ADDRESS ON FILE
FERNANDEZ PADILLA, OSVALDO       ADDRESS ON FILE
FERNANDEZ PADILLA, RODOLFO       ADDRESS ON FILE
FERNANDEZ PADIN, SOFIA R.        ADDRESS ON FILE
Fernandez Padin, Sofia R.        ADDRESS ON FILE
FERNANDEZ PADRO, DAVID           ADDRESS ON FILE
FERNANDEZ PAGAN, ANTONIO L.      ADDRESS ON FILE




                                                                             Page 2784 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2785 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                   Address2                                  Address3               Address4   City       State   PostalCode   Country
FERNÁNDEZ PAGAN, ANTONIO L.    ADDRESS ON FILE
FERNANDEZ PAGAN, CANDIDO       ADDRESS ON FILE
FERNANDEZ PAGAN, CARMEN I      ADDRESS ON FILE
FERNANDEZ PAGAN, DIANA I.      ADDRESS ON FILE
FERNANDEZ PAGAN, EDNA          ADDRESS ON FILE
FERNANDEZ PAGAN, ERITA         ADDRESS ON FILE
FERNANDEZ PAGAN, JOSE          ADDRESS ON FILE
FERNANDEZ PAGAN, JUANITA       ADDRESS ON FILE
FERNANDEZ PAGAN, LUIS O.       ADDRESS ON FILE
FERNANDEZ PAGAN, MARIA         ADDRESS ON FILE
FERNANDEZ PAGAN, OLGA          ADDRESS ON FILE
FERNANDEZ PAGAN, RINALDI       ADDRESS ON FILE
FERNANDEZ PAGAN, ROSELYN       ADDRESS ON FILE
FERNANDEZ PALMER, MANUEL A.    ADDRESS ON FILE
FERNANDEZ PANTOJA, IBETH E     ADDRESS ON FILE
FERNANDEZ PAREJO, CLAUDIA E.   ADDRESS ON FILE
FERNANDEZ PARIS, JUAN M        ADDRESS ON FILE
FERNANDEZ PARRILLA, JORGE      ADDRESS ON FILE
FERNANDEZ PASTRANA, IVYS       ADDRESS ON FILE
FERNANDEZ PAULINO, SAMUEL      ADDRESS ON FILE
FERNANDEZ PEDRA, DESIREE A     ADDRESS ON FILE
FERNANDEZ PENA, ANGEL          ADDRESS ON FILE
FERNANDEZ PENA, WANDA I        ADDRESS ON FILE
FERNANDEZ PERALTA, CARLA Y.    ADDRESS ON FILE
FERNANDEZ PERELLO, NYDIA       ADDRESS ON FILE
FERNANDEZ PEREZ, ABNER         ADDRESS ON FILE
FERNANDEZ PEREZ, AIDA H        ADDRESS ON FILE
FERNANDEZ PEREZ, ANA E.        ADDRESS ON FILE
Fernandez Perez, Ana M         ADDRESS ON FILE
FERNANDEZ PEREZ, CARLINA       ADDRESS ON FILE
FERNANDEZ PEREZ, CARLOS L.     ADDRESS ON FILE
FERNANDEZ PEREZ, DAVID         ADDRESS ON FILE
FERNANDEZ PEREZ, ELIAS         ADDRESS ON FILE
FERNANDEZ PEREZ, ELIOT M.      ADDRESS ON FILE
Fernandez Perez, Fernando      ADDRESS ON FILE
FERNANDEZ PEREZ, IMEE          ADDRESS ON FILE
Fernandez Perez, Jose          ADDRESS ON FILE
FERNANDEZ PEREZ, LILLIAM       ADDRESS ON FILE
FERNANDEZ PEREZ, LUIS          ADDRESS ON FILE
FERNANDEZ PEREZ, LYDIA M       ADDRESS ON FILE
FERNANDEZ PEREZ, MAGDIEL       ADDRESS ON FILE
FERNANDEZ PEREZ, MANUEL        ADDRESS ON FILE
FERNANDEZ PEREZ, MARISOL       ADDRESS ON FILE
FERNANDEZ PEREZ, MARISOL       ADDRESS ON FILE
FERNANDEZ PEREZ, NIKY          ADDRESS ON FILE
FERNANDEZ PEREZ, OSCAR         ADDRESS ON FILE
FERNANDEZ PEREZ, PEDRO L       ADDRESS ON FILE
FERNANDEZ PEREZ, RUTH M        ADDRESS ON FILE
FERNANDEZ PEREZ, RUTH M        ADDRESS ON FILE
FERNANDEZ PEREZ, SANDRA        ADDRESS ON FILE
FERNANDEZ PEREZ, SANDRA        ADDRESS ON FILE
FERNANDEZ PEREZ, VICTOR        ADDRESS ON FILE
FERNANDEZ PEREZ, WANDA I       ADDRESS ON FILE

FERNÁNDEZ PÉREZ, YESENIA       LCDA. MARYSE ROLDÁN RUIZ   LCDA. MARYSE ROLDÁN RUIZ                  BETANCES #43 BOX 514              CAGUAS     PR      00726
FERNANDEZ PI, IRIS M.          ADDRESS ON FILE
FERNANDEZ PI, WILLIAM          ADDRESS ON FILE
FERNANDEZ PIETRI, JAIME        ADDRESS ON FILE
FERNANDEZ PIEVE, DILIA E       ADDRESS ON FILE
FERNANDEZ PIEVE, MARILDA       ADDRESS ON FILE




                                                                                     Page 2785 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2786 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ PINA, KARLA B               ADDRESS ON FILE
FERNANDEZ PINERO, ERNESTO             ADDRESS ON FILE
FERNANDEZ PINERO, RAFAEL              ADDRESS ON FILE
FERNANDEZ PINTOS, MARIA V.            ADDRESS ON FILE
FERNANDEZ PINTOS, MARIA V.            ADDRESS ON FILE
FERNANDEZ PIZARRO, JESSICA E          ADDRESS ON FILE
FERNANDEZ PIZARRO, MARIA I            ADDRESS ON FILE
FERNANDEZ PIZARRO, ZAIDA              ADDRESS ON FILE
FERNANDEZ PIZARRO, ZAIDA              ADDRESS ON FILE
FERNANDEZ PLANAS, NORMA               ADDRESS ON FILE
FERNANDEZ PLUMBING CONTRACTORS INC    BO HATO TEJAS             105 CARR 864                                           BAYAMON      PR      00959‐4255
FERNANDEZ POL, SONIA                  ADDRESS ON FILE
FERNANDEZ POLO, JOSE                  ADDRESS ON FILE
FERNANDEZ PORTALATIN, BELISA          ADDRESS ON FILE
FERNANDEZ PORTALATIN, WILMER          ADDRESS ON FILE
FERNANDEZ PORTO, JORGE                ADDRESS ON FILE
FERNANDEZ POU, JULIO                  ADDRESS ON FILE
FERNANDEZ POVEZ, JOSELYN              ADDRESS ON FILE
FERNANDEZ POWER, MARIA                ADDRESS ON FILE
FERNANDEZ PRATTS, AGI                 ADDRESS ON FILE
FERNANDEZ PRATTS, FERNANDO            ADDRESS ON FILE
FERNANDEZ QUEIPO, JOSE                ADDRESS ON FILE
FERNANDEZ QUESADA, MARIA C.           ADDRESS ON FILE
FERNANDEZ QUESADA, RAFAEL             ADDRESS ON FILE
FERNANDEZ QUEVEDO, TOMAS              ADDRESS ON FILE
FERNANDEZ QUILES, LETICIA             ADDRESS ON FILE
FERNANDEZ QUILES, ORLANDO             ADDRESS ON FILE
FERNANDEZ QUINONES, IVETTE            ADDRESS ON FILE
FERNANDEZ QUINONES, JOSSY LYNN        ADDRESS ON FILE
FERNANDEZ QUINONES, VICTOR            ADDRESS ON FILE
FERNANDEZ QUINTANA, JEANELLY M        ADDRESS ON FILE
FERNANDEZ RAMIREZ, GUSTAVO A          ADDRESS ON FILE
FERNANDEZ RAMIREZ, JANET              ADDRESS ON FILE
FERNANDEZ RAMIREZ, ONIS V.            ADDRESS ON FILE
FERNANDEZ RAMIREZ, PABLO              ADDRESS ON FILE
FERNANDEZ RAMIREZ, REBECA ALEXANDRA   ADDRESS ON FILE
FERNANDEZ RAMIREZ, TIRZAH             ADDRESS ON FILE
FERNANDEZ RAMIREZ, TIRZAH I           ADDRESS ON FILE
FERNANDEZ RAMIREZ, XIOMARA            ADDRESS ON FILE
Fernandez Ramos, Angel F              ADDRESS ON FILE
FERNANDEZ RAMOS, ANTONIO              ADDRESS ON FILE
FERNANDEZ RAMOS, CARLOS L             ADDRESS ON FILE
FERNANDEZ RAMOS, DAYNA G              ADDRESS ON FILE
FERNANDEZ RAMOS, FRANCES              ADDRESS ON FILE
FERNANDEZ RAMOS, FRANCES              ADDRESS ON FILE
FERNANDEZ RAMOS, JUAN LUIS            ADDRESS ON FILE
FERNANDEZ RAMOS, LUIS                 ADDRESS ON FILE
FERNANDEZ RAMOS, LUZ M.               ADDRESS ON FILE
FERNANDEZ RAMOS, LYLLIAN              ADDRESS ON FILE
FERNANDEZ RAMOS, MARGARITA            ADDRESS ON FILE
FERNANDEZ RAMOS, MARGARITA            ADDRESS ON FILE
FERNANDEZ RAMOS, MILAGROS             ADDRESS ON FILE
FERNANDEZ RAMOS, NANCY                ADDRESS ON FILE
FERNANDEZ RAMOS, PEDRO                ADDRESS ON FILE
FERNANDEZ RAMOS, RAUL                 ADDRESS ON FILE
FERNANDEZ RAMOS, RICARDO              ADDRESS ON FILE
FERNANDEZ RAMOS, RICARDO              ADDRESS ON FILE
FERNANDEZ RAMOS, VICTOR               ADDRESS ON FILE
FERNANDEZ RAMOS, ZULMA                ADDRESS ON FILE
FERNANDEZ RENTA, RAISA                ADDRESS ON FILE




                                                                                  Page 2786 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2787 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ RENTAS, MARIVEE          ADDRESS ON FILE
FERNANDEZ REPOLLET, CARMEN C       ADDRESS ON FILE
FERNANDEZ RETAMAR, HECTOR          ADDRESS ON FILE
FERNANDEZ REYES, BARTOLO           ADDRESS ON FILE
FERNANDEZ REYES, BELNA             ADDRESS ON FILE
FERNANDEZ REYES, BETCSY E.         ADDRESS ON FILE
FERNANDEZ REYES, CARMELO           ADDRESS ON FILE
FERNANDEZ REYES, CARMEN M          ADDRESS ON FILE
FERNANDEZ REYES, CLARIBEL          ADDRESS ON FILE
FERNANDEZ REYES, DENNYS            ADDRESS ON FILE
FERNANDEZ REYES, GIL               ADDRESS ON FILE
FERNANDEZ REYES, GLORIMAR          ADDRESS ON FILE
FERNANDEZ REYES, JAVIER A          ADDRESS ON FILE
FERNANDEZ REYES, JORGE             ADDRESS ON FILE
FERNANDEZ REYES, JOSE A            ADDRESS ON FILE
FERNANDEZ REYES, JOSE E            ADDRESS ON FILE
Fernandez Reyes, Miguel A          ADDRESS ON FILE
FERNANDEZ REYES, MIGUEL A.         ADDRESS ON FILE
FERNANDEZ REYES, MYRIAM            ADDRESS ON FILE
FERNANDEZ REYES, OCTAVIO           ADDRESS ON FILE
FERNANDEZ REYES, PEDRO             ADDRESS ON FILE
FERNANDEZ REYES, PEDRO N           ADDRESS ON FILE
FERNANDEZ REYES, RAMON E           ADDRESS ON FILE
FERNANDEZ REYNOSO, SERGIO          ADDRESS ON FILE
FERNANDEZ RIECKEHOFF, LESLIE ANN   ADDRESS ON FILE
FERNANDEZ RIOS MD, MILITZA         ADDRESS ON FILE
FERNANDEZ RIOS, CARMEN N           ADDRESS ON FILE
FERNANDEZ RIOS, EDWIN              ADDRESS ON FILE
FERNANDEZ RIOS, GUILLERMO          ADDRESS ON FILE
FERNANDEZ RIOS, LOURDES            ADDRESS ON FILE
FERNANDEZ RIVAS, ANNETTE           ADDRESS ON FILE
FERNANDEZ RIVAS, EDWARD            ADDRESS ON FILE
FERNANDEZ RIVAS, LEIRYBETH         ADDRESS ON FILE
FERNANDEZ RIVAS, MIGDALIA          ADDRESS ON FILE
FERNANDEZ RIVERA GILBERTO          LUIS BERDECIA             PO BOX 2713                                            BAYAMON      PR      00960
FERNANDEZ RIVERA, ANA L            ADDRESS ON FILE
FERNANDEZ RIVERA, ANGEL            ADDRESS ON FILE
FERNANDEZ RIVERA, ANGEL            ADDRESS ON FILE
FERNANDEZ RIVERA, BRENDA           ADDRESS ON FILE
FERNANDEZ RIVERA, CAROLA           ADDRESS ON FILE
FERNANDEZ RIVERA, DAMARIS          ADDRESS ON FILE
FERNANDEZ RIVERA, ELIZABETH        ADDRESS ON FILE
FERNANDEZ RIVERA, EVELYN           ADDRESS ON FILE
FERNANDEZ RIVERA, FRANCES A        ADDRESS ON FILE
FERNANDEZ RIVERA, FRANKLYN         ADDRESS ON FILE
FERNANDEZ RIVERA, HAYDEE           ADDRESS ON FILE
FERNANDEZ RIVERA, HECTOR D         ADDRESS ON FILE
FERNANDEZ RIVERA, HECTOR L.        ADDRESS ON FILE
FERNANDEZ RIVERA, HECTOR LUIS      ADDRESS ON FILE
FERNANDEZ RIVERA, HECTOR R         ADDRESS ON FILE
FERNANDEZ RIVERA, ILEEN            ADDRESS ON FILE
FERNANDEZ RIVERA, IVETTE           ADDRESS ON FILE
FERNANDEZ RIVERA, JANEIRY          ADDRESS ON FILE
FERNANDEZ RIVERA, JESSICA          ADDRESS ON FILE
FERNANDEZ RIVERA, JUAN A           ADDRESS ON FILE
FERNANDEZ RIVERA, JUAN A.          ADDRESS ON FILE
FERNANDEZ RIVERA, KARLA M.         ADDRESS ON FILE
FERNANDEZ RIVERA, KERMIT           ADDRESS ON FILE
FERNANDEZ RIVERA, LISSETTE         ADDRESS ON FILE
FERNANDEZ RIVERA, LOIDA R          ADDRESS ON FILE




                                                                               Page 2787 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2788 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ RIVERA, LUIS            ADDRESS ON FILE
FERNANDEZ RIVERA, LUIS            ADDRESS ON FILE
FERNANDEZ RIVERA, LUIS            ADDRESS ON FILE
FERNANDEZ RIVERA, LUIS E.         ADDRESS ON FILE
FERNANDEZ RIVERA, MARIA B         ADDRESS ON FILE
FERNANDEZ RIVERA, MARIA E         ADDRESS ON FILE
Fernandez Rivera, Marianita       ADDRESS ON FILE
FERNANDEZ RIVERA, MARIELLE        ADDRESS ON FILE
FERNANDEZ RIVERA, MAYRA           ADDRESS ON FILE
FERNANDEZ RIVERA, MICHELLE        ADDRESS ON FILE
FERNANDEZ RIVERA, MIGUEL          ADDRESS ON FILE
FERNANDEZ RIVERA, MINERVA         ADDRESS ON FILE
FERNANDEZ RIVERA, MIRALIS         ADDRESS ON FILE
FERNANDEZ RIVERA, PETRA J         ADDRESS ON FILE
Fernandez Rivera, Raul A          ADDRESS ON FILE
FERNANDEZ RIVERA, RICARDO         ADDRESS ON FILE
FERNANDEZ RIVERA, RUTH M.         ADDRESS ON FILE
FERNANDEZ RIVERA, SHARLEN         ADDRESS ON FILE
FERNANDEZ RIVERA, VIRGINIA        ADDRESS ON FILE
FERNANDEZ RIVERA, YELITZA         ADDRESS ON FILE
FERNANDEZ RIVERA, YOISMEL         ADDRESS ON FILE
FERNANDEZ ROBLES, AYLEEN          ADDRESS ON FILE
FERNANDEZ ROBLES, MARIELY         ADDRESS ON FILE
FERNANDEZ ROBLES, MARTA I         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ MD, PEDRO J   ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ANA H        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ANGEL        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ANGELITA     ADDRESS ON FILE
Fernandez Rodriguez, Annie        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, BEATRIZ      ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, BLANCA       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, BRENDA       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, BRENDA L.    ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, BRENDALY     ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, CARLOS       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, CARLOS       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, CARLOS       ADDRESS ON FILE
Fernandez Rodriguez, Christine    ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, DAMARYS      ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, DAMARYS      ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, DAVIS        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, EDNA L       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ELIO         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ELLIE E      ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ELSA         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ESTEBAN      ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, EUNICE       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, EUNICE       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, FELIX        ADDRESS ON FILE
Fernandez Rodriguez, Freddie      ADDRESS ON FILE
Fernandez Rodriguez, Hugo R       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, IDA L.       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ISAMAR       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, IVELISSE J   ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JAIME        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JANISSE      ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JENNIFER     ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JORGE        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JORGE        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JORGE L      ADDRESS ON FILE




                                                                              Page 2788 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2789 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ RODRIGUEZ, JOSE            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JOSE            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JOSE            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JOSE            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JOSE A          ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JOSE R.         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JUAN C          ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JUAN GABRIEL    ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JUAN GABRIEL    ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JULIO           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, JULIO C         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, KAREN           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, KAROL           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, KATIMAR         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, LIZA            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, LUIS            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, LUIS            ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MAGGIE          ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MANUEL          ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MANUEL J        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MARIA DEL C     ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MARIA DEL L.    ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MARIA J.        ADDRESS ON FILE
Fernandez Rodriguez, Maria V         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MARISELI        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MARISOL         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MERESLYN        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MIGUEL A        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, MIRTA           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, NILSA           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, NOEL D.         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, NORMA           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, PEDRO A         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, PILAR M         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, RICARDO         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ROCIO           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ROGELIO         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ROSA DE LOS A   ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ROSA E          ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ROSA J          ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, RUBEN           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, SHARON E        ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, TERESA M.       ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, WANDA           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, WENDY           ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, XIOMARA         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, YULIXAH         ADDRESS ON FILE
FERNANDEZ RODRIGUEZ, ZUANIA S        ADDRESS ON FILE
FERNANDEZ ROJAS, ADELAIDA            ADDRESS ON FILE
FERNANDEZ ROJAS, AMPARO              ADDRESS ON FILE
FERNANDEZ ROJAS, AMPARO              ADDRESS ON FILE
FERNANDEZ ROJAS, JUAN                ADDRESS ON FILE
FERNANDEZ ROJAS, MARIELI             ADDRESS ON FILE
FERNANDEZ ROJAS, MILAGROS            ADDRESS ON FILE
FERNANDEZ ROLDAN, CARMEN I           ADDRESS ON FILE
FERNANDEZ ROLDAN, JUDITH             ADDRESS ON FILE
FERNANDEZ ROMAN, DAVID               ADDRESS ON FILE
FERNANDEZ ROMAN, DAVID               ADDRESS ON FILE
Fernandez Roman, Guillermo           ADDRESS ON FILE
FERNANDEZ ROMAN, JUDY                ADDRESS ON FILE




                                                                                 Page 2789 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2790 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ ROMAN, LUZ               ADDRESS ON FILE
FERNANDEZ ROMAN, RAMON             ADDRESS ON FILE
FERNANDEZ ROMAN, WANDA             ADDRESS ON FILE
FERNANDEZ ROMERO, MAYRA            ADDRESS ON FILE
FERNANDEZ ROMERO, PAOLA            ADDRESS ON FILE
FERNANDEZ ROMEU, CAMELIA           ADDRESS ON FILE
FERNANDEZ ROMEU, JOSE              ADDRESS ON FILE
FERNANDEZ RONDON, ANGEL            ADDRESS ON FILE
FERNANDEZ ROQUE, DALIANNE          ADDRESS ON FILE
FERNANDEZ ROSA MD, CARLOS A        ADDRESS ON FILE
FERNANDEZ ROSA, ELIZABETH          ADDRESS ON FILE
FERNANDEZ ROSA, IRMA I.            ADDRESS ON FILE
FERNANDEZ ROSA, JONATHAN A         ADDRESS ON FILE
FERNANDEZ ROSA, KAREN              ADDRESS ON FILE
FERNANDEZ ROSA, KARLA              ADDRESS ON FILE
FERNANDEZ ROSA, MARIA DEL C        ADDRESS ON FILE
FERNANDEZ ROSA, MIRIAM A           ADDRESS ON FILE
FERNANDEZ ROSA, NYDIA M            ADDRESS ON FILE
FERNANDEZ ROSA, RAMON              ADDRESS ON FILE
FERNANDEZ ROSA, SANTIAGO           ADDRESS ON FILE
Fernandez Rosa, Yadira             ADDRESS ON FILE
FERNANDEZ ROSADO, AIDA             ADDRESS ON FILE
FERNANDEZ ROSADO, ANGEL            ADDRESS ON FILE
FERNANDEZ ROSADO, HILDA            ADDRESS ON FILE
FERNANDEZ ROSADO, JESSICA          ADDRESS ON FILE
FERNANDEZ ROSADO, JESSICA          ADDRESS ON FILE
FERNANDEZ ROSADO, JOHANNA          ADDRESS ON FILE
FERNANDEZ ROSADO, JOHN             ADDRESS ON FILE
Fernandez Rosado, Jose             ADDRESS ON FILE
FERNANDEZ ROSADO, ZUJEIRY          ADDRESS ON FILE
FERNANDEZ ROSARIO, ALBERTO         ADDRESS ON FILE
FERNANDEZ ROSARIO, CLAUDETTE       ADDRESS ON FILE
FERNANDEZ ROSARIO, LUIS            ADDRESS ON FILE
FERNANDEZ ROSARIO, LUIS D.         ADDRESS ON FILE
FERNANDEZ ROSARIO, MARIA           ADDRESS ON FILE
FERNANDEZ ROSARIO, MARIA Y.        ADDRESS ON FILE
FERNANDEZ ROSARIO, MARILYN         ADDRESS ON FILE
FERNANDEZ ROSARIO, NOELIA          ADDRESS ON FILE
FERNANDEZ ROSARIO, SENIA M         ADDRESS ON FILE
FERNANDEZ ROSARIO, VERONICA        ADDRESS ON FILE
FERNANDEZ ROSARIO, VIRGINIA        ADDRESS ON FILE
FERNANDEZ ROSAS, MIGUEL            ADDRESS ON FILE
FERNANDEZ ROSSELLE, LIZA           ADDRESS ON FILE
FERNANDEZ RUBIO, SUSANA DE LA C    ADDRESS ON FILE
FERNANDEZ RUIZ, BRISEIDA           ADDRESS ON FILE
FERNANDEZ RUIZ, BRISEIDA           ADDRESS ON FILE
FERNANDEZ RUIZ, ENRIQUE            ADDRESS ON FILE
FERNANDEZ RUIZ, JUAN D.            ADDRESS ON FILE
FERNANDEZ RUIZ, LILLIAM I          ADDRESS ON FILE
FERNANDEZ RUIZ, LIZETTE            ADDRESS ON FILE
FERNANDEZ RUIZ, SONIA              ADDRESS ON FILE
FERNANDEZ RUIZ, VILMA C            ADDRESS ON FILE
FERNANDEZ RULLAN, DAMARIS          ADDRESS ON FILE
FERNANDEZ RULLAN, FRANCISCO        ADDRESS ON FILE
FERNANDEZ SALCEDO, JOEVANI         ADDRESS ON FILE
FERNANDEZ SALDANA, WENDOLYN        ADDRESS ON FILE
FERNANDEZ SALDAÑA, WENDOLYN        ADDRESS ON FILE
FERNANDEZ SALICRUP, BRIAN          ADDRESS ON FILE
Fernandez Salicrup, Javier A.      ADDRESS ON FILE
FERNANDEZ SALICRUP, JOSE ANTONIO   ADDRESS ON FILE




                                                                               Page 2790 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2791 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ SAN INOCENCIO, VICTOR   ADDRESS ON FILE
FERNANDEZ SANCHEZ, DIANA          ADDRESS ON FILE
FERNANDEZ SANCHEZ, HIDEKEL        ADDRESS ON FILE
FERNANDEZ SANCHEZ, LISSETTE       ADDRESS ON FILE
FERNANDEZ SANCHEZ, LUIS           ADDRESS ON FILE
FERNANDEZ SANCHEZ, OMAYRA         ADDRESS ON FILE
FERNANDEZ SANCHEZ, RAFAEL         ADDRESS ON FILE
FERNANDEZ SANCHEZ, ROSA M         ADDRESS ON FILE
FERNANDEZ SANCHEZ, VICTOR         ADDRESS ON FILE
FERNANDEZ SANTA, ERICK            ADDRESS ON FILE
FERNANDEZ SANTA, JOSE             ADDRESS ON FILE
Fernandez Santa, Jose C           ADDRESS ON FILE
FERNANDEZ SANTA, SIXDALI          ADDRESS ON FILE
Fernandez Santaella, Luis         ADDRESS ON FILE
FERNANDEZ SANTANA, EDMUNDO J.     ADDRESS ON FILE
FERNANDEZ SANTANA, IRISCELI       ADDRESS ON FILE
FERNANDEZ SANTANA, IVAN           ADDRESS ON FILE
FERNANDEZ SANTIAGO, CONCHITA      ADDRESS ON FILE
FERNANDEZ SANTIAGO, CRUZ M.       ADDRESS ON FILE
FERNANDEZ SANTIAGO, DENISE        ADDRESS ON FILE
FERNANDEZ SANTIAGO, EMILIA        ADDRESS ON FILE
FERNANDEZ SANTIAGO, FELICITA      ADDRESS ON FILE
FERNANDEZ SANTIAGO, JENNY         ADDRESS ON FILE
FERNANDEZ SANTIAGO, JONATHAN      ADDRESS ON FILE
FERNANDEZ SANTIAGO, LOURDES       ADDRESS ON FILE
FERNANDEZ SANTIAGO, LUIS          ADDRESS ON FILE
FERNANDEZ SANTIAGO, LUIS A        ADDRESS ON FILE
FERNANDEZ SANTIAGO, MARA          ADDRESS ON FILE
FERNANDEZ SANTIAGO, MARICELY      ADDRESS ON FILE
FERNANDEZ SANTIAGO, MARILIN       ADDRESS ON FILE
FERNANDEZ SANTIAGO, MYRNA         ADDRESS ON FILE
FERNANDEZ SANTIAGO, OMAIRA I      ADDRESS ON FILE
FERNANDEZ SANTIAGO, PEDRO R       ADDRESS ON FILE
FERNANDEZ SANTIAGO, REINALDO      ADDRESS ON FILE
FERNANDEZ SANTIAGO, SALVADORA     ADDRESS ON FILE
FERNANDEZ SANTIAGO, WILFREDO      ADDRESS ON FILE
FERNANDEZ SANTIAGO, WILFREDO      ADDRESS ON FILE
FERNANDEZ SANTIAGO, WILMARIE      ADDRESS ON FILE
FERNANDEZ SANTOS, BRENDA I        ADDRESS ON FILE
FERNANDEZ SANTOS, CARLOS          ADDRESS ON FILE
FERNANDEZ SANTOS, CARLOS          ADDRESS ON FILE
FERNANDEZ SANTOS, DAWYN           ADDRESS ON FILE
FERNANDEZ SANYET, JADIX D.        ADDRESS ON FILE
FERNANDEZ SANZ, NORMA E           ADDRESS ON FILE
FERNANDEZ SAVELLI, DANIEL         ADDRESS ON FILE
FERNANDEZ SCHMICH, NORMA          ADDRESS ON FILE
Fernandez Segarra, Carlos Migue   ADDRESS ON FILE
FERNANDEZ SEGARRA, HAYDEE N       ADDRESS ON FILE
FERNANDEZ SEGARRA, NELSON         ADDRESS ON FILE
FERNANDEZ SEIJO, YELITZA          ADDRESS ON FILE
FERNANDEZ SEIJO, YELITZA          ADDRESS ON FILE
FERNANDEZ SEMIDEY, CORALIS        ADDRESS ON FILE
FERNANDEZ SEMIDEY, JOSE J.        ADDRESS ON FILE
FERNANDEZ SERRANO, KATHIE         ADDRESS ON FILE
FERNANDEZ SERRANO, LUIS           ADDRESS ON FILE
FERNANDEZ SERRANO, LYDIA M        ADDRESS ON FILE
FERNANDEZ SERRU, ALEJANDRO        ADDRESS ON FILE
FERNANDEZ SEVERINO, OSMAR         ADDRESS ON FILE
FERNANDEZ SIERRA, DENISSE         ADDRESS ON FILE
FERNANDEZ SIERRA, ERICH           ADDRESS ON FILE




                                                                              Page 2791 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2792 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ SIFRE MD, CARLOS       ADDRESS ON FILE
FERNANDEZ SIFRE MD, LUIS         ADDRESS ON FILE
FERNANDEZ SILVA, CARMEN          ADDRESS ON FILE
FERNANDEZ SILVA, IAN             ADDRESS ON FILE
FERNANDEZ SILVA, JUAN            ADDRESS ON FILE
FERNANDEZ SILVA, JUAN M          ADDRESS ON FILE
FERNANDEZ SILVA, MARIO           ADDRESS ON FILE
FERNANDEZ SILVA, VIRGINIA        ADDRESS ON FILE
FERNANDEZ SISSA, CLARA           ADDRESS ON FILE
FERNANDEZ SISSA, DOLORES L.      ANTONIO ROIG LORENZO
FERNANDEZ SISSA, DOLORES L.      ENRIQUE MENDOZA MENDEZ
FERNANDEZ SISSA, DOLORES L.      MIGUEL CARRERES DIAZ
FERNANDEZ SISSA, DOLORES L.      NELLYMARIE LOPEZ DIAZ
FERNANDEZ SISSA, DOLORES L.      OTTO MULLER VAZQUEZ
FERNANDEZ SISSA, DOLORES L.      VICENTE BALBAS FELICES
Fernandez Solano, Carmelo        ADDRESS ON FILE
FERNANDEZ SOLER, RONALD          ADDRESS ON FILE
FERNANDEZ SOLER, SANDRA E        ADDRESS ON FILE
FERNANDEZ SOLIS, JOSE            ADDRESS ON FILE
FERNANDEZ SOLTERO MD, RAFAEL M   ADDRESS ON FILE
FERNANDEZ SOSA MD, ISABEL R      ADDRESS ON FILE
FERNANDEZ SOSA, AIDA             ADDRESS ON FILE
FERNANDEZ SOSA, BLANCA           ADDRESS ON FILE
FERNANDEZ SOSA, EDWIN            ADDRESS ON FILE
FERNANDEZ SOSA, FRANCISCO        ADDRESS ON FILE
FERNANDEZ SOSA, ISABEL           ADDRESS ON FILE
FERNANDEZ SOSA, MIGUEL           ADDRESS ON FILE
FERNANDEZ SOSA, NILDA C.         ADDRESS ON FILE
FERNANDEZ SOTO MD, HECTOR M      ADDRESS ON FILE
FERNANDEZ SOTO, ANA W            ADDRESS ON FILE
FERNANDEZ SOTO, CARMEN           ADDRESS ON FILE
FERNANDEZ SOTO, ELIEZER          ADDRESS ON FILE
FERNANDEZ SOTO, ELIEZER          ADDRESS ON FILE
FERNANDEZ SOTO, JAMES L          ADDRESS ON FILE
FERNANDEZ SOTO, OMAR J           ADDRESS ON FILE
FERNANDEZ SOTO, RICARDO          ADDRESS ON FILE
FERNANDEZ SOTOMAYOR, ALVIN       ADDRESS ON FILE
FERNANDEZ SOTOMAYOR, DIANA E     ADDRESS ON FILE
FERNANDEZ SUAREZ, CARLOS         ADDRESS ON FILE
FERNANDEZ SUAREZ, MIRIAM         ADDRESS ON FILE
FERNANDEZ SUFFRON, LUIS          ADDRESS ON FILE
FERNANDEZ TAMAYO MD, MARIA E     ADDRESS ON FILE
FERNANDEZ TAMAYO, MARIA E.       ADDRESS ON FILE
FERNANDEZ TAPIA, MIGUEL          ADDRESS ON FILE
FERNANDEZ TAVARES, RADHAMES      ADDRESS ON FILE
FERNANDEZ TAVAREZ, BISMARK       ADDRESS ON FILE
FERNANDEZ TAVAREZ, RUTH          ADDRESS ON FILE
FERNANDEZ TOLEDO, GUILLERMO      ADDRESS ON FILE
FERNANDEZ TOLEDO, JAN MARIE      ADDRESS ON FILE
FERNANDEZ TORRES MD, ALBERTO     ADDRESS ON FILE
FERNANDEZ TORRES, ANA C          ADDRESS ON FILE
FERNANDEZ TORRES, ANA L          ADDRESS ON FILE
Fernandez Torres, Carolina       ADDRESS ON FILE
FERNANDEZ TORRES, CHRISTIAN      ADDRESS ON FILE
FERNANDEZ TORRES, DIANA          ADDRESS ON FILE
FERNANDEZ TORRES, ENRIQUE        ADDRESS ON FILE
FERNANDEZ TORRES, FERNANDO       ADDRESS ON FILE
FERNANDEZ TORRES, FERNANDO       ADDRESS ON FILE
Fernandez Torres, Fernando J     ADDRESS ON FILE
FERNANDEZ TORRES, HECTOR         ADDRESS ON FILE




                                                                             Page 2792 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2793 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ TORRES, HILDA M.       ADDRESS ON FILE
FERNANDEZ TORRES, IDALIA         ADDRESS ON FILE
FERNANDEZ TORRES, IRIS           ADDRESS ON FILE
FERNANDEZ TORRES, IVETTE         ADDRESS ON FILE
FERNANDEZ TORRES, JOEL           ADDRESS ON FILE
FERNANDEZ TORRES, JOEL           ADDRESS ON FILE
FERNANDEZ TORRES, JOSE           ADDRESS ON FILE
FERNANDEZ TORRES, JOSE E         ADDRESS ON FILE
FERNANDEZ TORRES, JUAN A         ADDRESS ON FILE
FERNANDEZ TORRES, JULIA          ADDRESS ON FILE
FERNANDEZ TORRES, JULIO E        ADDRESS ON FILE
FERNANDEZ TORRES, KARLA F.       ADDRESS ON FILE
FERNANDEZ TORRES, KARLA F.       ADDRESS ON FILE
FERNANDEZ TORRES, LOURDES        ADDRESS ON FILE
Fernandez Torres, Maria C        ADDRESS ON FILE
FERNANDEZ TORRES, MARIA D.       ADDRESS ON FILE
FERNANDEZ TORRES, MELISSA        ADDRESS ON FILE
FERNANDEZ TORRES, MIRTA          ADDRESS ON FILE
FERNANDEZ TORRES, MIRTA          ADDRESS ON FILE
FERNANDEZ TORRES, NANCY          ADDRESS ON FILE
FERNANDEZ TORRES, SOL            ADDRESS ON FILE
FERNANDEZ TORRES, YAMET          ADDRESS ON FILE
FERNANDEZ TRINIDAD, LAURA R.     ADDRESS ON FILE
FERNANDEZ TRINIDAD, MARIA M      ADDRESS ON FILE
FERNANDEZ TRINIDAD, MIGUEL A     ADDRESS ON FILE
FERNANDEZ TRINIDAD, PEDRO        ADDRESS ON FILE
FERNANDEZ UMPIERRE, ISMAEL       ADDRESS ON FILE
FERNANDEZ UMPIERRE, JESUS        ADDRESS ON FILE
FERNANDEZ USERA, ANA M.          ADDRESS ON FILE
FERNANDEZ VALE, ZULEIMA          ADDRESS ON FILE
FERNANDEZ VALENTIN, AMALIA L     ADDRESS ON FILE
FERNANDEZ VALENTIN, GLENDA       ADDRESS ON FILE
FERNANDEZ VALENTIN, LIZABETH     ADDRESS ON FILE
FERNANDEZ VALENTIN, LIZABETH     ADDRESS ON FILE
FERNANDEZ VALENTIN, RANDOLPH     ADDRESS ON FILE
FERNANDEZ VALENTIN, ROGELIO      ADDRESS ON FILE
FERNANDEZ VAN CLEVE, GUILLERMO   ADDRESS ON FILE
FERNANDEZ VAN CLEVE, JOHN        ADDRESS ON FILE
FERNANDEZ VARGAS, ARAMIS         ADDRESS ON FILE
FERNANDEZ VARGAS, FERNANDO       ADDRESS ON FILE
FERNANDEZ VARGAS, LUIS           ADDRESS ON FILE
FERNANDEZ VARGAS, NISSYBETH      ADDRESS ON FILE
FERNANDEZ VAZQUEZ MD, LUIS C     ADDRESS ON FILE
FERNANDEZ VAZQUEZ, BLANCA        ADDRESS ON FILE
FERNANDEZ VAZQUEZ, CHRIS         ADDRESS ON FILE
FERNANDEZ VAZQUEZ, HEISHA        ADDRESS ON FILE
FERNANDEZ VAZQUEZ, JORGE         ADDRESS ON FILE
FERNANDEZ VAZQUEZ, JOSE          ADDRESS ON FILE
FERNANDEZ VAZQUEZ, LUIS          ADDRESS ON FILE
FERNANDEZ VAZQUEZ, LUIS          ADDRESS ON FILE
FERNANDEZ VAZQUEZ, MICHAEL       ADDRESS ON FILE
FERNANDEZ VAZQUEZ, MIGUEL A      ADDRESS ON FILE
FERNANDEZ VAZQUEZ, MIRIAM        ADDRESS ON FILE
FERNANDEZ VAZQUEZ, MOISES        ADDRESS ON FILE
FERNANDEZ VAZQUEZ, NATALIA       ADDRESS ON FILE
FERNANDEZ VAZQUEZ, RAFAEL        ADDRESS ON FILE
FERNANDEZ VAZQUEZ, VLADIMIR      ADDRESS ON FILE
FERNANDEZ VAZQUEZ, WILLIAM       ADDRESS ON FILE
FERNANDEZ VEGA, ANILDA           ADDRESS ON FILE
FERNANDEZ VEGA, CARMEN P         ADDRESS ON FILE




                                                                             Page 2793 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2794 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ VEGA, ILEANA             ADDRESS ON FILE
FERNANDEZ VEGA, JIMMY              ADDRESS ON FILE
FERNANDEZ VEGA, JOSE               ADDRESS ON FILE
FERNANDEZ VEGA, JOSE R             ADDRESS ON FILE
FERNANDEZ VEGA, JULIO I.           ADDRESS ON FILE
FERNANDEZ VEGA, MARIA              ADDRESS ON FILE
FERNANDEZ VEGA, MARICARMEN         ADDRESS ON FILE
FERNANDEZ VEGA, MARIELA            ADDRESS ON FILE
FERNANDEZ VEGA, NESTOR M.          ADDRESS ON FILE
FERNANDEZ VEGA, SONIA              ADDRESS ON FILE
FERNANDEZ VEGA, ZORAIDA            ADDRESS ON FILE
FERNANDEZ VELAZQUEZ, JUAN R.       ADDRESS ON FILE
Fernandez Velazquez, Osvaldo       ADDRESS ON FILE
FERNANDEZ VELAZQUEZ, SURAMY        ADDRESS ON FILE
FERNANDEZ VELEZ, ARLENE            ADDRESS ON FILE
FERNANDEZ VELEZ, CARMEN            ADDRESS ON FILE
FERNANDEZ VELEZ, DORIS M           ADDRESS ON FILE
Fernandez Velez, Efrain            ADDRESS ON FILE
FERNANDEZ VELEZ, GLADYS            ADDRESS ON FILE
Fernandez Velez, Jovanny           ADDRESS ON FILE
FERNANDEZ VELEZ, MAYRA             ADDRESS ON FILE
FERNANDEZ VELEZ, MIGDALIA          ADDRESS ON FILE
FERNANDEZ VERA, ANDRES             ADDRESS ON FILE
FERNANDEZ VERA, JOSE               ADDRESS ON FILE
FERNANDEZ VILLAFANE, JESUS E       ADDRESS ON FILE
FERNANDEZ VILLANUEVA, ISMAEL       ADDRESS ON FILE
FERNANDEZ VILLANUEVA, KEISLA       ADDRESS ON FILE
FERNANDEZ VILLARONGA MD, ZULMA M   ADDRESS ON FILE
FERNANDEZ VILLEGAS, MARIA L        ADDRESS ON FILE
FERNANDEZ VINALES, MARIA           ADDRESS ON FILE
FERNANDEZ VIRELLA, ISMARIE         ADDRESS ON FILE
FERNANDEZ VIRELLA, JOSUE           ADDRESS ON FILE
FERNANDEZ WOLLEMBERG, MANUEL       ADDRESS ON FILE
FERNANDEZ ZAPATA, ROBERTO          ADDRESS ON FILE
FERNANDEZ ZAYAS, CARLOS            ADDRESS ON FILE
FERNANDEZ ZAYAS, JACQUELIN         ADDRESS ON FILE
FERNANDEZ ZAYAS, JACQUELIN         ADDRESS ON FILE
FERNANDEZ ZAYAS, NILDA             ADDRESS ON FILE
FERNANDEZ, ADALBERTO               ADDRESS ON FILE
FERNANDEZ, ALEXANDER               ADDRESS ON FILE
FERNANDEZ, ALEXIS                  ADDRESS ON FILE
FERNANDEZ, ANNY L                  ADDRESS ON FILE
FERNANDEZ, BLADIMIRO               ADDRESS ON FILE
FERNANDEZ, CANDELARIA              ADDRESS ON FILE
FERNANDEZ, DAYANARA                ADDRESS ON FILE
FERNANDEZ, EDWIN                   ADDRESS ON FILE
FERNANDEZ, FELIX ERNESTO           ADDRESS ON FILE
FERNANDEZ, FRANCISCO               ADDRESS ON FILE
FERNANDEZ, JORGE                   ADDRESS ON FILE
FERNANDEZ, JORGE A                 ADDRESS ON FILE
FERNANDEZ, JOSE                    ADDRESS ON FILE
FERNANDEZ, JOSE FRANCISCO          ADDRESS ON FILE
FERNANDEZ, JOSE M                  ADDRESS ON FILE
FERNANDEZ, LYNETTE                 ADDRESS ON FILE
FERNANDEZ, MARGARITA               ADDRESS ON FILE
FERNANDEZ, MARIA A.                ADDRESS ON FILE
FERNANDEZ, MARIA DEL C             ADDRESS ON FILE
FERNANDEZ, MARIA DEL C             ADDRESS ON FILE
FERNANDEZ, MARIELA                 ADDRESS ON FILE
FERNANDEZ, MARIYADALIS             ADDRESS ON FILE




                                                                               Page 2794 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2795 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                        Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDEZ, MYRNA L                   ADDRESS ON FILE
FERNANDEZ, ORLANDO                   ADDRESS ON FILE
FERNANDEZ, SANTOS                    ADDRESS ON FILE
FERNANDEZ, WAYNE                     ADDRESS ON FILE
FERNANDEZ,ANAYARI                    ADDRESS ON FILE
FERNANDEZ,FRANSISCO E.               ADDRESS ON FILE
FERNANDEZ,GIL                        ADDRESS ON FILE
FERNANDEZ,IVE                        ADDRESS ON FILE
FERNANDEZCABRERA, CARMEN             ADDRESS ON FILE
FERNANDEZPABON, MIGUEL A             ADDRESS ON FILE
FERNANDEZREYES, GILBERTO             ADDRESS ON FILE
FERNANDEZRIVERA, CONFESOR            ADDRESS ON FILE
FERNANDEZTRINIDAD, WILLIAM           ADDRESS ON FILE
FERNANDINI ALICEA, EVELYN            ADDRESS ON FILE
FERNANDINI ARROYO, JOSE              ADDRESS ON FILE
FERNANDINI ARROYO, JOSELINE          ADDRESS ON FILE
FERNANDINI BURGOS, VIRGEN M          ADDRESS ON FILE
FERNANDINI CAMUY, ALBERTO            ADDRESS ON FILE
FERNANDINI CONCEPCION, LUIS M        ADDRESS ON FILE
FERNANDINI CORNIER, IDEL A.          ADDRESS ON FILE
FERNANDINI GALINDO, CARLOS           ADDRESS ON FILE
FERNANDINI GUIVAS, JASMIN            ADDRESS ON FILE
FERNANDINI LAMBOY, MAYRA             ADDRESS ON FILE
FERNANDINI MORALES, MADELINE         ADDRESS ON FILE
FERNANDINI RUIZ, PORFIRIO            ADDRESS ON FILE
FERNANDINI RUIZ, ROLANDO             ADDRESS ON FILE
FERNANDINI TORRE, EMMANUEL           ADDRESS ON FILE
FERNANDINI TORRES, ANGEL             ADDRESS ON FILE
FERNANDINI TORRES, WALTER            ADDRESS ON FILE
Fernandini Torres, Walter O          ADDRESS ON FILE
FERNANDITO LLANOS QUIÑONES           LCDO. CESAR LUGO
FERNANDO A BAERGA IBANEZ             ADDRESS ON FILE
FERNANDO A CASABLANCA TORRES         ADDRESS ON FILE
FERNANDO A COLON RODRIGUEZ           ADDRESS ON FILE
FERNANDO A FERNANDEZ ROSARIO         ADDRESS ON FILE
FERNANDO A FERNANDEZ ROSARIO         ADDRESS ON FILE
FERNANDO A FERRER CRUZ               ADDRESS ON FILE
FERNANDO A FRIAS                     ADDRESS ON FILE
FERNANDO A GONZALEZ SUKIE            ADDRESS ON FILE
FERNANDO A MATEO MATEO               ADDRESS ON FILE
FERNANDO A MENDEZ VEGA               ADDRESS ON FILE
FERNANDO A PINERO AMARAL             ADDRESS ON FILE
FERNANDO A RIVERA ARTILES            ADDRESS ON FILE
FERNANDO A RIVERA HERNANDEZ          ADDRESS ON FILE
FERNANDO A RIVERA ZAMBRANA           ADDRESS ON FILE
FERNANDO A RODRIGUEZ/EDUARDO ARREDONDADDRESS ON FILE
FERNANDO A ROIG GARCIA               ADDRESS ON FILE
FERNANDO A ROJAS FELICIANO           ADDRESS ON FILE
FERNANDO A SULSONA SANTIAGO          ADDRESS ON FILE
FERNANDO A VAZQUEZ MARRERO           ADDRESS ON FILE
FERNANDO A. CRUZ GARCIA              ADDRESS ON FILE
FERNANDO ABRUNA CHARNECO             ADDRESS ON FILE
FERNANDO ABRUNA CHARNECO             ADDRESS ON FILE
FERNANDO ACEVEDO SANTOS              ADDRESS ON FILE
FERNANDO ACOSTA PARDO                ADDRESS ON FILE
FERNANDO ALMEYDA ROMAN               ADDRESS ON FILE
FERNANDO ALVARADO CINTRON            ADDRESS ON FILE
FERNANDO ALVARADO MUNOZ              ADDRESS ON FILE
FERNANDO ALVAREZ LOMBA               ADDRESS ON FILE
FERNANDO AMADOR PARES                ADDRESS ON FILE




                                                                                  Page 2795 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2796 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                           Address1                    Address2                                    Address3    Address4   City         State   PostalCode   Country
FERNANDO AMARO MARTINEZ                 ADDRESS ON FILE
FERNANDO AMARO RIVERA                   ADDRESS ON FILE
FERNANDO ANDINO PIZARRO                 ADDRESS ON FILE
FERNANDO BALLESTER IRIZARRY             ADDRESS ON FILE
FERNANDO BALMORI DBA BALMORI VIDEO LIGHTURB. TERRAZAS DE CAROLINA   AD ‐ 7 CALLE 32                                                    CAROLINA     PR      00987
FERNANDO BARNES ROSICH                  PO BOX 331031                                                                                  PONCE        PR      00733‐1031
FERNANDO BARNES VELEZ                   ADDRESS ON FILE
FERNANDO BARRON                         ADDRESS ON FILE
FERNANDO BARRON GUERIN                  ADDRESS ON FILE
FERNANDO BATISTA MORALES                ADDRESS ON FILE
FERNANDO BATISTA RIVERA                 ADDRESS ON FILE
FERNANDO BATISTA VELEZ                  ADDRESS ON FILE
FERNANDO BELTRAN PEREZ                  ADDRESS ON FILE
FERNANDO BELTRAN RODRIGUEZ              ADDRESS ON FILE
FERNANDO BERRIOS VAZQUEZ                ADDRESS ON FILE
FERNANDO BETANCOURT                     ADDRESS ON FILE
FERNANDO BETANCOURT GOMEZ               ADDRESS ON FILE
FERNANDO BETANCOURT GOMEZ               ADDRESS ON FILE
FERNANDO BODON MUNIZ                    ADDRESS ON FILE
FERNANDO BONNET MERCIER                 ADDRESS ON FILE
FERNANDO BRAVO LABOY                    ADDRESS ON FILE
FERNANDO BUESO PEREZ                    ADDRESS ON FILE
FERNANDO CABAN BALAGUER                 ADDRESS ON FILE
FERNANDO CABANILLAS ESCALONA            ADDRESS ON FILE
FERNANDO CALOCA TORRES                  ADDRESS ON FILE
FERNANDO CAMPOAMOR REDIN                ADDRESS ON FILE
FERNANDO CAPELES HERNANDEZ              ADDRESS ON FILE
FERNANDO CARABALLO SOTO                 ADDRESS ON FILE
FERNANDO CARDONA                        ARMANDO CARDONA             AVE. DE DIEGO #61                           SUITE 2‐A              SAN JUAN     PR      00911
FERNANDO CARMONA RIVERA                 ADDRESS ON FILE
FERNANDO CHICO AGUILAR                  ADDRESS ON FILE
FERNANDO CHOLLET BRIGNONI               ADDRESS ON FILE
FERNANDO CINTRON MADERO                 ADDRESS ON FILE
FERNANDO CINTRON ONATIVIA               ADDRESS ON FILE
FERNANDO COLON                          ADDRESS ON FILE
FERNANDO COLÓN GARCIA                   ADDRESS ON FILE
FERNANDO COLON MALAVE                   ADDRESS ON FILE
FERNANDO COLON ROSADO                   ADDRESS ON FILE
FERNANDO COMULADA ORTIZ                 CESTERO MOSCOSO RAMON A     27 CALLE GONZALEZ GIUSTI OFIC. 300                                 GUAYNABO     PR      00968‐3076
FERNANDO CORDERO PACHECO                ADDRESS ON FILE
FERNANDO CORDERO SOTO                   ADDRESS ON FILE
FERNANDO COSTAS SANTIAGO                ADDRESS ON FILE
FERNANDO COSTAS SANTIAGO                ADDRESS ON FILE
FERNANDO CRESPO NEGRON                  ADDRESS ON FILE
FERNANDO D SERRANO ORTIZ                ADDRESS ON FILE
FERNANDO DE LEON DEFENDINI              ADDRESS ON FILE
FERNANDO DIAZ RIVERA                    ADDRESS ON FILE
FERNANDO DOMINGUEZ RIVERA               ADDRESS ON FILE
FERNANDO E FAGUNDO                      ADDRESS ON FILE
FERNANDO E ORTIZ ARBONA                 ADDRESS ON FILE
FERNANDO E OTERO                        ADDRESS ON FILE
FERNANDO E PINEIRO CADIZ                ADDRESS ON FILE
FERNANDO E PLA BARBY                    ADDRESS ON FILE
FERNANDO E RODRIGUEZ MARTINEZ           ADDRESS ON FILE
FERNANDO E ROURA RIZZO                  ADDRESS ON FILE
FERNANDO E. AGRAIT                      ADDRESS ON FILE
FERNANDO E. ROURA RIZZO                 ADDRESS ON FILE
FERNANDO E. SAGARDIA VAZQUEZ            ADDRESS ON FILE
FERNANDO ECHEANDIA                      ADDRESS ON FILE
FERNANDO ECHEANDIA FUSTER               ADDRESS ON FILE




                                                                                                 Page 2796 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2797 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                           Address1                Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDO EMANUELLI SILVA                ADDRESS ON FILE
FERNANDO ESCALERA PIZARRO               ADDRESS ON FILE
FERNANDO FELICIANO AGUIAR               ADDRESS ON FILE
FERNANDO FERNANDEZ AGUILO               ADDRESS ON FILE
FERNANDO FERNANDEZ MARIN                ADDRESS ON FILE
FERNANDO FERNANDEZ RODRIGUEZ            ADDRESS ON FILE
FERNANDO FERRE VERA                     ADDRESS ON FILE
FERNANDO FIGUEROA ALMODOVAR             ADDRESS ON FILE
FERNANDO FIGUEROA ARGUESO               ADDRESS ON FILE
FERNANDO FIGUEROA MARRERO               ADDRESS ON FILE
FERNANDO FIGUEROA MARTINEZ              ADDRESS ON FILE
FERNANDO FLORES ROSARIO                 ADDRESS ON FILE
FERNANDO FRAGOSO VILLANUEVA             ADDRESS ON FILE
FERNANDO FRANCO RIVERA                  ADDRESS ON FILE
FERNANDO FRANCO RODRIGUEZ               ADDRESS ON FILE
FERNANDO G ALICEA BATISTA               ADDRESS ON FILE
FERNANDO G COTTO ROQUE                  ADDRESS ON FILE
FERNANDO G SEPULVEDA RODRIGUEZ          ADDRESS ON FILE
FERNANDO GALARZA CRUZ                   ADDRESS ON FILE
FERNANDO GARCIA GARCIA                  ADDRESS ON FILE
FERNANDO GARCIA IRIZARRY                ADDRESS ON FILE
FERNANDO GARCIA SANTOS                  ADDRESS ON FILE
FERNANDO GARCIA VALENTIN                ADDRESS ON FILE
FERNANDO GATTORNO JIRAU                 ADDRESS ON FILE
FERNANDO GIRALDEZ YABRA                 ADDRESS ON FILE
FERNANDO GONZALEZ JIMENEZ               ADDRESS ON FILE
FERNANDO GONZALEZ RODRIGUEZ             ADDRESS ON FILE
FERNANDO GONZALEZ TROCHE                ADDRESS ON FILE
FERNANDO GONZALEZ VEGA                  ADDRESS ON FILE
FERNANDO GONZALEZ Y/O HECTOR RIVERA RUSSADDRESS ON FILE
FERNANDO GRAJALES QUINONES              ADDRESS ON FILE
FERNANDO GRAJALES TEJERAS               ADDRESS ON FILE
FERNANDO GREGORY PEREZ                  ADDRESS ON FILE
FERNANDO GUERRERO COTTOS                ADDRESS ON FILE
FERNANDO GUERRERO QUINONEZ              ADDRESS ON FILE
FERNANDO GUILLIANI VIRUET               ADDRESS ON FILE
FERNANDO GUZMAN ESQUILIN                ADDRESS ON FILE
FERNANDO H GONZALEZ RODRIGUEZ           ADDRESS ON FILE
FERNANDO H PRADO                        ADDRESS ON FILE
FERNANDO H SANCHEZ RIOS                 ADDRESS ON FILE
FERNANDO H SOTO PINA                    ADDRESS ON FILE
FERNANDO HERNANDEZ DBA UNIQUE PROMOTIODOS PINOS TOWN HOUSES     CALLE 3‐I‐18                                           SAN JUAN     PR      00923
FERNANDO HERNANDEZ GONZALEZ             ADDRESS ON FILE
FERNANDO HOLGUIN REED                   ADDRESS ON FILE
FERNANDO I JIMENEZ BELVIS               ADDRESS ON FILE
FERNANDO I MEDINA CEDENO                ADDRESS ON FILE
FERNANDO I MONLLOR PACHECO              ADDRESS ON FILE
FERNANDO I PONT MARCHESE                ADDRESS ON FILE
FERNANDO I SALDANA RODRIGUEZ            ADDRESS ON FILE
FERNANDO IRIZARRY MUNOZ                 ADDRESS ON FILE
FERNANDO J ALVAREZ GABRIEL              ADDRESS ON FILE
FERNANDO J ALVAREZ MORALES              ADDRESS ON FILE
FERNANDO J BILLOCH RIOS                 ADDRESS ON FILE
FERNANDO J BIRD PICO                    ADDRESS ON FILE
FERNANDO J BORRERO CARABALLO            ADDRESS ON FILE
FERNANDO J CASTRO ROSARIO               ADDRESS ON FILE
FERNANDO J COLON NUNEZ                  ADDRESS ON FILE
FERNANDO J COLON SUAREZ                 ADDRESS ON FILE
FERNANDO J DAVILA LOPEZ                 ADDRESS ON FILE
FERNANDO J GANDIA RIVERA                ADDRESS ON FILE




                                                                                  Page 2797 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2798 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDO J GONZALEZ VEGA                 ADDRESS ON FILE
FERNANDO J JIMENEZ ENRIQUEZ              ADDRESS ON FILE
FERNANDO J LAGO LOPEZ                    ADDRESS ON FILE
FERNANDO J LOPEZ SANTANA                 ADDRESS ON FILE
FERNANDO J MARCELLAN PEREZ               ADDRESS ON FILE
FERNANDO J MARTINEZ RIVERA               ADDRESS ON FILE
FERNANDO J MAYORAL GARCIA                ADDRESS ON FILE
FERNANDO J MERCADO RODRIGUEZ             ADDRESS ON FILE
FERNANDO J MOLINI VIZCARRONDO            ADDRESS ON FILE
FERNANDO J NAZARIO                       ADDRESS ON FILE
FERNANDO J ORONOZ RODRIGUEZ              ADDRESS ON FILE
FERNANDO J RAMOS RIVERA                  ADDRESS ON FILE
FERNANDO J RODRIGUEZ CABALLERO           ADDRESS ON FILE
FERNANDO J RODRIGUEZ/ NELIA M PADILLA    ADDRESS ON FILE
FERNANDO J TORRES EMMANUELLI             ADDRESS ON FILE
FERNANDO J VAZQUEZ COLLAZO               ADDRESS ON FILE
FERNANDO J VEGA PANETO                   ADDRESS ON FILE
FERNANDO J. ECHEGARAY ROMERO             ADDRESS ON FILE
FERNANDO JUARBE GONZALEZ                 ADDRESS ON FILE
FERNANDO L ARZUAGA RODRIGUEZ             ADDRESS ON FILE
FERNANDO L ATILES FRANCESCHI             ADDRESS ON FILE
FERNANDO L BATISTA VELEZ DBA BATISTA BUS 91 SECT CAMPO ALEGRE                                                             UTUADO       PR      00641
FERNANDO L CERDA SOTO                    ADDRESS ON FILE
FERNANDO L CHANZA GONZALEZ               ADDRESS ON FILE
FERNANDO L COLLAZO RODRIGUEZ             ADDRESS ON FILE
FERNANDO L COLON CINTRON                 ADDRESS ON FILE
FERNANDO L COLON CINTRON                 ADDRESS ON FILE
FERNANDO L COLON PEREZ                   ADDRESS ON FILE
FERNANDO L CONDE CASIANO                 ADDRESS ON FILE
FERNANDO L CORREA SUAREZ                 ADDRESS ON FILE
FERNANDO L CRUZ MARTES                   ADDRESS ON FILE
FERNANDO L CRUZ NEGRON                   ADDRESS ON FILE
FERNANDO L DIAZ LENTINI/ NICOLE MARIE    ADDRESS ON FILE
FERNANDO L DIAZ RIVERA                   ADDRESS ON FILE
FERNANDO L FIGUEROA SANTIAGO             ADDRESS ON FILE
FERNANDO L GARRIGA FRANCO                ADDRESS ON FILE
FERNANDO L GHIGLIOTTI LAGARES M          ADDRESS ON FILE
FERNANDO L GONZALEZ MORALES              ADDRESS ON FILE
FERNANDO L GONZALEZ ZAYAS                ADDRESS ON FILE
FERNANDO L JIMENEZ COLLAZO               ADDRESS ON FILE
FERNANDO L LEVANDE LOPEZ                 ADDRESS ON FILE
FERNANDO L MARTINEZ / MARTINEZ AMBULANCADDRESS ON FILE
FERNANDO L MELENDEZ LOPEZ                ADDRESS ON FILE
FERNANDO L MELENDEZ SANTIAGO             ADDRESS ON FILE
FERNANDO L MUNIZ QUINONES                ADDRESS ON FILE
FERNANDO L NATAL RIOS                    ADDRESS ON FILE
FERNANDO L NIEVES BORRERO                ADDRESS ON FILE
FERNANDO L ORSINI SANTOS                 ADDRESS ON FILE
FERNANDO L ORTIZ ALICEA                  ADDRESS ON FILE
FERNANDO L ORTIZ IRIZARRY                ADDRESS ON FILE
FERNANDO L PENA MIRABAL                  ADDRESS ON FILE
FERNANDO L PEREZ RODRIGUEZ               ADDRESS ON FILE
FERNANDO L RIVERA                        ADDRESS ON FILE
FERNANDO L RIVERA MONTANEZ               ADDRESS ON FILE
FERNANDO L RODRIGUEZ MERCADO             ADDRESS ON FILE
FERNANDO L RODRIGUEZ MUNIZ               ADDRESS ON FILE
FERNANDO L ROSA DE JESUS                 ADDRESS ON FILE
FERNANDO L ROSA MIRABAL                  ADDRESS ON FILE
FERNANDO L ROSARIO CARDONA               ADDRESS ON FILE
FERNANDO L SANTIAGO ORTIZ                ADDRESS ON FILE




                                                                                     Page 2798 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2799 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                          Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
FERNANDO L SANTOS NUNEZ                ADDRESS ON FILE
FERNANDO L SANTOS RIVERA               ADDRESS ON FILE
FERNANDO L SIERRA GONZALEZ             ADDRESS ON FILE
FERNANDO L SOSTRE GONZALEZ             ADDRESS ON FILE
FERNANDO L VEGA PADUA                  ADDRESS ON FILE
FERNANDO L VELEZ Y HILDIANA RODRIGUEZ  ADDRESS ON FILE
FERNANDO L VILLAR ROBLES               ADDRESS ON FILE
FERNANDO L. ALVAREZ ORTIZ              ADDRESS ON FILE
FERNANDO L. TORRES RAMIREZ             ADDRESS ON FILE
FERNANDO L. TORRES RAMIREZ             ADDRESS ON FILE
FERNANDO L.VILLAR ROBRES               ADDRESS ON FILE
FERNANDO LABOY COLON                   ADDRESS ON FILE
FERNANDO LACOT GONZALEZ                ADDRESS ON FILE
FERNANDO LASSALLE ESTRADA              ADDRESS ON FILE
FERNANDO LEDUC DEL VALLE               ADDRESS ON FILE
FERNANDO LLAVONA RAMIA                 ADDRESS ON FILE
FERNANDO LLAVONA RAMIA                 ADDRESS ON FILE
FERNANDO LOPEZ IRIZARRY                ADDRESS ON FILE
FERNANDO LOPEZ PATINO                  ADDRESS ON FILE
FERNANDO LUGO LAVIENA                  ADDRESS ON FILE
FERNANDO LUGO RIVERA                   ADDRESS ON FILE
FERNANDO LUGO TORRES                   ADDRESS ON FILE
FERNANDO LUIS TORRES TORRES            ADDRESS ON FILE
FERNANDO M CRUZ MORALES                ADDRESS ON FILE
FERNANDO M MARTINEZ SCHMIDT            ADDRESS ON FILE
FERNANDO M MARTINEZ SCHMIDT            ADDRESS ON FILE
FERNANDO M NUNEZ ROBLES                ADDRESS ON FILE
FERNANDO M RABELL ECHEGARAY            ADDRESS ON FILE
FERNANDO M RIVERA DIAZ                 ADDRESS ON FILE
FERNANDO M RODRIGUEZ ISAAC             ADDRESS ON FILE
FERNANDO M. CARDONA RIVERA             ADDRESS ON FILE
FERNANDO MAISONET                      ADDRESS ON FILE
FERNANDO MALDONADO RODRIGUEZ           ADDRESS ON FILE
Fernando Marrero Laureano              ADDRESS ON FILE
FERNANDO MARTINEZ MUNOZ                ADDRESS ON FILE
FERNANDO MATTINA                       ADDRESS ON FILE
FERNANDO MEDINA                        ADDRESS ON FILE
FERNANDO MEDINA MARTINEZ               ADDRESS ON FILE
FERNANDO MELENDEZ GONZALEZ             ADDRESS ON FILE
FERNANDO MELENDEZ SANTIAGO             ADDRESS ON FILE
FERNANDO MENDEZ CINTRON                ADDRESS ON FILE
FERNANDO MENENDEZ GONZALEZ             ADDRESS ON FILE
FERNANDO MERCADO CAMACHO               ADDRESS ON FILE
FERNANDO MININO                        ADDRESS ON FILE
FERNANDO MIRANDA                       ADDRESS ON FILE
FERNANDO MIRANDA ALBARRAN              ADDRESS ON FILE
FERNANDO MIRANDA ROMAN                 ADDRESS ON FILE
FERNANDO MOJICA O NEILL                ADDRESS ON FILE
FERNANDO MOJICA O NEILL                ADDRESS ON FILE
FERNANDO MONTALVO CINTRON              ADDRESS ON FILE
FERNANDO MONTANEZ DELERME              ADDRESS ON FILE
FERNANDO MONTANO VERA                  ADDRESS ON FILE
FERNANDO MORA/HILDA RIVERA/YADIRAROSAR ADDRESS ON FILE
FERNANDO MORALES FOURNIER              ADDRESS ON FILE
FERNANDO MORELL CORTES                 ADDRESS ON FILE
FERNANDO MORENO ORAMA                  ADDRESS ON FILE
FERNANDO MUNIZ JUSTINIANO              ADDRESS ON FILE
FERNANDO MUNOZ & ASOCIADOS             APARTADO 9657                                                                     CAGUAS       PR      00726
FERNANDO MUNOZ OCASIO                  ADDRESS ON FILE
FERNANDO MUNOZ OCASIO                  ADDRESS ON FILE




                                                                                    Page 2799 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2800 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                     Address2                                  Address3   Address4   City         State   PostalCode   Country
FERNANDO NATAL ASENCIO                   ADDRESS ON FILE
FERNANDO NAVARRO PEREZ                   ADDRESS ON FILE
FERNANDO NERIS FLORES                    ADDRESS ON FILE
FERNANDO NICHOLLS PIZARRO                ADDRESS ON FILE
FERNANDO NIEVES V ELA                    LIC JOSÉ CASANOVA ELDERMAN   224 AVE DOMENECH SUITE 2                                        SAN JUAN     PR      00918
FERNANDO NUNEZ NAZARIO                   ADDRESS ON FILE
FERNANDO O MARRERO HERNANDEZ             ADDRESS ON FILE
FERNANDO O ZAMBRANA AVILES               ADDRESS ON FILE
FERNANDO O. RODRIGUEZ AMSTRONG           ADDRESS ON FILE
FERNANDO OCASIO BLANCO                   ADDRESS ON FILE
FERNANDO OCASIO VILLA                    ADDRESS ON FILE
FERNANDO OLIVERO BARRETO                 ADDRESS ON FILE
FERNANDO OLIVERO BARRETO, ELSA LORA CRUZ ADDRESS ON FILE
FERNANDO OLIVERO LORA                    ADDRESS ON FILE
FERNANDO OLIVO GONZALEZ                  ADDRESS ON FILE
FERNANDO ONEIL CAMPOS                    ADDRESS ON FILE
FERNANDO OROZCO GONZALEZ                 ADDRESS ON FILE
FERNANDO ORSINI RIVERA                   ADDRESS ON FILE
FERNANDO ORTEGA ALVAREZ                  ADDRESS ON FILE
FERNANDO ORTEGA ALVAREZ                  ADDRESS ON FILE
FERNANDO ORTIZ                           ADDRESS ON FILE
FERNANDO ORTIZ ACOSTA                    ADDRESS ON FILE
FERNANDO ORTIZ BAEZ                      ADDRESS ON FILE
FERNANDO ORTIZ ORTIZ                     ADDRESS ON FILE
FERNANDO ORTIZ TORRES                    ADDRESS ON FILE
FERNANDO PEREZ CABALLERO                 ADDRESS ON FILE
FERNANDO PEREZ DEL VALLE                 ADDRESS ON FILE
FERNANDO PEREZ DEL VALLE                 ADDRESS ON FILE
FERNANDO PEREZ ESPINA                    ADDRESS ON FILE
FERNANDO PEREZ NEGRON                    ADDRESS ON FILE
FERNANDO PINEIRO PINERO                  ADDRESS ON FILE
FERNANDO PONCE MALAVE                    ADDRESS ON FILE
FERNANDO PORTELA GUEVARA                 ADDRESS ON FILE
FERNANDO PRIETO MELECIO                  ADDRESS ON FILE
FERNANDO PRIETO MELECIO                  ADDRESS ON FILE
FERNANDO QUINONES                        ADDRESS ON FILE
FERNANDO QUINONES MUNOZ                  ADDRESS ON FILE
FERNANDO QUINONEZ COLON                  ADDRESS ON FILE
FERNANDO QUINTANA                        ADDRESS ON FILE
FERNANDO QUINTERO RODRIGUEZ              RR 2 BOX 5098                                                                                TOA ALTA     PR      00953‐8910
FERNANDO R FERNANDEZ                     ADDRESS ON FILE
FERNANDO R FORTUNO COLON                 ADDRESS ON FILE
FERNANDO R MUNIZ PEREZ                   ADDRESS ON FILE
FERNANDO R RIVERA ROMAN                  ADDRESS ON FILE
FERNANDO R. RAMOS ROSA                   ADDRESS ON FILE
FERNANDO RAMIREZ GOMEZ                   ADDRESS ON FILE
FERNANDO RAMIREZ GOMEZ                   ADDRESS ON FILE
FERNANDO RAMOS RODRIGUEZ                 ADDRESS ON FILE
FERNANDO REYES RODRIGUEZ                 ADDRESS ON FILE
FERNANDO RINCON URIGUEN                  ADDRESS ON FILE
FERNANDO RIOS LEBRON                     ADDRESS ON FILE
FERNANDO RIOS LOPEZ                      ADDRESS ON FILE
FERNANDO RIVERA GONZALEZ                 ADDRESS ON FILE
FERNANDO RIVERA HERNANDEZ                ADDRESS ON FILE
FERNANDO RIVERA HERNÁNDEZ                JOSE E. PEREZ BURGOS         APARTADO 1062                                                   GUAYAMA      PR      00785
FERNANDO RIVERA MARRERO                  ADDRESS ON FILE
FERNANDO RIVERA MATOS                    ADDRESS ON FILE
FERNANDO RIVERA NIEVES                   ADDRESS ON FILE
FERNANDO RIVERA RODRIGUEZ                ADDRESS ON FILE
FERNANDO RIVERA RUIG                     ADDRESS ON FILE




                                                                                                 Page 2800 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2801 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                          Address1                           Address2                                    Address3   Address4   City            State   PostalCode   Country
FERNANDO RIVERA SANTIAGO               ADDRESS ON FILE
FERNANDO RODRIGUEZ                     ADDRESS ON FILE
FERNANDO RODRIGUEZ FELICIANO           ADDRESS ON FILE
FERNANDO RODRIGUEZ FELIZ               ADDRESS ON FILE
FERNANDO RODRIGUEZ MARTINEZ            ADDRESS ON FILE
FERNANDO RODRIGUEZ MATEO               ADDRESS ON FILE
FERNANDO RODRIGUEZ NAVEDO              ADDRESS ON FILE
FERNANDO RODRIGUEZ SERRANO             ADDRESS ON FILE
FERNANDO RODRIGUEZ SOTO                ADDRESS ON FILE
FERNANDO ROJAS DIAZ                    ADDRESS ON FILE
Fernando Rolón Vázquez                 ADDRESS ON FILE
FERNANDO ROMAN LOPEZ                   ADDRESS ON FILE
FERNANDO ROMAN SARRAGA                 ADDRESS ON FILE
FERNANDO ROMERO RODRIGUEZ              ADDRESS ON FILE
FERNANDO ROSADO ARROYO                 ADDRESS ON FILE
FERNANDO ROSARIO                       ADDRESS ON FILE
FERNANDO ROURE FALCO                   ADDRESS ON FILE
FERNANDO RUIZ DE JESUS                 ADDRESS ON FILE
FERNANDO RUIZ JR                       ADDRESS ON FILE
FERNANDO RUIZ RODRIGUEZ                ADDRESS ON FILE
FERNANDO RUIZ ROSADO                   ADDRESS ON FILE
Fernando Ruiz Torres                   ADDRESS ON FILE
FERNANDO S DESCARTES SOLER             ADDRESS ON FILE
FERNANDO S LOPEZ SANTOS                ADDRESS ON FILE
FERNANDO SALABARRIA MELENDEZ           ADDRESS ON FILE
FERNANDO SALAZAR GARCIA                ADDRESS ON FILE
FERNANDO SALDANA DIAZ                  ADDRESS ON FILE
FERNANDO SANCHEZ LOPEZ                 ADDRESS ON FILE
FERNANDO SANCHEZ RODRIGUEZ             ADDRESS ON FILE
FERNANDO SANTIAGO DELGADO              ADDRESS ON FILE
FERNANDO SANTIAGO ORTIZ                ADDRESS ON FILE
FERNANDO SANTIAGO PEREZ                ADDRESS ON FILE
FERNANDO SANTIAGO REYES                LCDO. CARLOS R. PADILLA MONTALVO   URB. PERLA DEL SUR 2435 PASEO PERLA DEL SUR STE 201               Ponce           PR      00717
FERNANDO SANTIAGO RODRIGUEZ            ADDRESS ON FILE
FERNANDO SANTOS PAGAN                  HECTOR GRAU ORTIZ                  N‐67 CALLE 23 ALTURAS DE FLAMBOYAN                                BAYAMON         PR      00959
FERNANDO SANTOS TORRES                 ADDRESS ON FILE
FERNANDO SEDA AGUILA                   ADDRESS ON FILE
FERNANDO SEDANO ROMAN / ELIZABETH ROMA ADDRESS ON FILE
FERNANDO SEMIDEY MONTANEZ              ADDRESS ON FILE
FERNANDO SILVA TORRES                  ADDRESS ON FILE
FERNANDO SOTO CLAUDIO                  ADDRESS ON FILE
FERNANDO SOTO MERCADO                  ADDRESS ON FILE
FERNANDO SUAREZ HUERTAS                ADDRESS ON FILE
FERNANDO SULLIVAN REYES                ADDRESS ON FILE
FERNANDO SUMAZA LABORDE                ADDRESS ON FILE
FERNANDO SUREDA MALDONADO              ADDRESS ON FILE
FERNANDO TARAFA PEREZ                  ADDRESS ON FILE
FERNANDO TILO CHACON                   ADDRESS ON FILE
FERNANDO TORRES GALARZA                ADDRESS ON FILE
FERNANDO TORRES GALARZA                ADDRESS ON FILE
FERNANDO TORRES MELENDEZ               ADDRESS ON FILE
FERNANDO TORRES PIETRI                 ADDRESS ON FILE
FERNANDO TORRES ROSADO                 LCDA. CARLIA N. SOTO PADUA         URB. ALTURAS DE FLAMBOYÁN JJ‐14             CALLE 31              Bayamón         PR      00959
FERNANDO TORRES ROSADO                 LCDO. PEDRO I. RIVERA MARTÍNEZ     PO BOX 750                                                        SABANA SECA     PR      00952‐0750
FERNANDO TORRES SANTIAGO               ADDRESS ON FILE
FERNANDO TORRES ZAPATER                ADDRESS ON FILE
FERNANDO TROCHE RIVERA                 ADDRESS ON FILE
FERNANDO VARGAS MARTINEZ               ADDRESS ON FILE
FERNANDO VEGA, MICHAEL J               ADDRESS ON FILE
FERNANDO VELAZQUEZ GONZALEZ            ADDRESS ON FILE




                                                                                                       Page 2801 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2802 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                     Address1                  Address2                                   Address3              Address4            City            State   PostalCode   Country
FERNANDO VELEZ MONTANEZ           ADDRESS ON FILE
FERNANDO VERA SERRANO             ADDRESS ON FILE
FERNANDO VILLANUEVA BONILLA       ADDRESS ON FILE
FERNANDO VILLANUEVA BONILLA       ADDRESS ON FILE
FERNANDO VILLANUEVA BONILLA       ADDRESS ON FILE
FERNANDO VILLARINI QUINONES       ADDRESS ON FILE
FERNANDO VIVES GONZALEZ           ADDRESS ON FILE
FERNANDO VIVES GONZALEZ           ADDRESS ON FILE
FERNANDO X RIVERA MALDONADO       ADDRESS ON FILE
FERNANDO Y DE JESUS NEGRON        RES BELLA VISTA HEIGHT    EDIF G 3 APTO 2                                                                      BAYAMON         PR      00957
FERNANDO YAMIL GARCIA SIERRA      ADDRESS ON FILE
FERNANDO ZALACAIN GARCIA          ADDRESS ON FILE
FERNANDO, FRANCISCO               ADDRESS ON FILE
FERNANDO, RODRIGUEZ               ADDRESS ON FILE
FERNDANDEZ CRUZ, DIGNA            ADDRESS ON FILE
FERNEQUE RUIZ, GRISELLY           ADDRESS ON FILE
FERNNADEZ RIVERA, DESSIRE E       ADDRESS ON FILE
FERNOS FIGARELLI, ADA             ADDRESS ON FILE
FERNOS LOPEZ, MARIA D.            ADDRESS ON FILE
FERNOS RIDDICK, RODRIGO           ADDRESS ON FILE
FERNOS SAGEBIEN, ANTONIO J        ADDRESS ON FILE
FERNOS SUAREZ, MANUEL             ADDRESS ON FILE
FERNOS SUAREZ, MERIELIS           ADDRESS ON FILE
FERNOS VAZQUEZ, JOSE O.           ADDRESS ON FILE
FERR AGRICOLA PENA                HC 20 BOX 20792                                                                                                SAN LORENZO     PR      00754‐9601
FERR ALMACENES ARILOPE            PO BOX 4003                                                                                                    AGUADILLA       PR      00605
FERR CAGUAS COMMERCIAL CO INC     PO BOX 8819                                                                                                    CAGUAS          PR      00726
FERR COMERCIAL SAN JOSE INC       44 CALLE MAYOR CANTERA                                                                                         PONCE           PR      00730‐3023
FERRA BLANCO, LUIS Y              ADDRESS ON FILE
Ferra Colon, Cesar                ADDRESS ON FILE
FERRA FERNANDEZ, GUSTAVO          ADDRESS ON FILE
FERRA GARCIA, ALEX M              ADDRESS ON FILE
FERRA GEYLS, ALBERTO              ADDRESS ON FILE
FERRA JIMENEZ, JAIME L.           ADDRESS ON FILE
FERRA OTERO, RUBEN                ADDRESS ON FILE
FERRA PIETRI, AIXA                ADDRESS ON FILE
FERRA RAMOS, ALBERTO              ADDRESS ON FILE
FERRA RUIZ, JULIA                 ADDRESS ON FILE
FERRA TIRADO, GRETCHEN IVELISSE   ADDRESS ON FILE
FERRAIOLI SUAREZ, MARIA           ADDRESS ON FILE
FERRAIOLI WYLAND, MARYORIE        ADDRESS ON FILE
FERRAIUOLI HORNEDO, URSULA        ADDRESS ON FILE
FERRAIUOLI LLC                    221 PLAZA BUILDING        PONCE DE LEON AVENUE 4TH FLOOR                                                       SAN JUAN        PR      00917
FERRAN COBALLES, NILDA            ADDRESS ON FILE
Ferran Delgado, Hector I          ADDRESS ON FILE
FERRAN DONES, NATALIE M           ADDRESS ON FILE
FERRAN MARTINEZ, CARLOS           ADDRESS ON FILE
FERRAN MARTINEZ, DIANA M          ADDRESS ON FILE
FERRAN MONTERO, AIDA E            ADDRESS ON FILE
FERRAN QUINTANA, ROGER            ADDRESS ON FILE
FERRAN RHEDER MD, JUAN            ADDRESS ON FILE
FERRAN RIVERA, JOSE R.            HÉCTOR MAURÁS             51 CALLE VIRGILIO SÁNCHEZ                                                            ARROYO          PR      00714
                                                                                                                             CENTRO DE SEGUROS
FERRAN RIVERA, JOSE R.            MIGUEL NAZARIO                                                   701 Ponce DE LEÓN AVE.,   BLDG. SUITE 401,    SAN JUAN        PR      00907
FERRAN RIVERA, NICOLE             ADDRESS ON FILE
Ferran Rodriguez, Rafael A        ADDRESS ON FILE
FERRAN SALAS, MARIA DE            ADDRESS ON FILE
FERRAN SALAS, MARIA DE            ADDRESS ON FILE
FERRAN TORRES, MAYRA              ADDRESS ON FILE
FERRANDINO CASTRO, STEPHANIE      ADDRESS ON FILE




                                                                                        Page 2802 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2803 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
FERRANTE CRUZ, GIOVANNI         ADDRESS ON FILE
FERRANTE PATRIARCHI, FEDERICO   ADDRESS ON FILE
FERRAO AYALA, MARIELI           ADDRESS ON FILE
FERRAO AYALA, SADILKA           ADDRESS ON FILE
FERRAO DELGADO, LINDIN          ADDRESS ON FILE
FERRAO MARRERO, ABDIEL          ADDRESS ON FILE
FERRAO PEREZ, JESSICA           ADDRESS ON FILE
FERRAO PEREZ, YOVANDAVID        ADDRESS ON FILE
FERRAO RIVERA, GERARDO          ADDRESS ON FILE
Ferrao Santiago, Jose E         ADDRESS ON FILE
Ferrao Santiago, Julio E        ADDRESS ON FILE
FERRARI LAW PSC                 PO BOX 988                                                                       AGUADILLA     PR      00605‐0988
FERRARI LUGO MD, CRISTINA       ADDRESS ON FILE
FERRARO MD, LISA                ADDRESS ON FILE
FERRE CROSSLEY, JOHN            ADDRESS ON FILE
FERRE CROSSLEY, JOHN W          ADDRESS ON FILE
FERRE TORRES, VANYA             ADDRESS ON FILE
FERREIRA ALMONTE, BELKIS        ADDRESS ON FILE
FERREIRA BIGIO, MARINA          ADDRESS ON FILE
FERREIRA CINTRON, RAFAEL        ADDRESS ON FILE
FERREIRA CRUZ, MANUEL           ADDRESS ON FILE
FERREIRA CRUZ, TANIA M          ADDRESS ON FILE
FERREIRA DEL VALLE, YASMIN      ADDRESS ON FILE
FERREIRA GARCIA, GLORIA         ADDRESS ON FILE
Ferreira Garcia, Jorge          ADDRESS ON FILE
FERREIRA GARCIA, MARIEL         ADDRESS ON FILE
FERREIRA GARCIA, MARIEL         ADDRESS ON FILE
Ferreira Garcia, Roberto        ADDRESS ON FILE
FERREIRA GUZMAN, MARTIN         ADDRESS ON FILE
FERREIRA HERNANDEZ, ALEXANDER   ADDRESS ON FILE
FERREIRA JIMENEZ, BRUNILDA      ADDRESS ON FILE
FERREIRA LOPEZ, NANCY           ADDRESS ON FILE
FERREIRA MARTIR, EDGARDO        ADDRESS ON FILE
FERREIRA MARTIR, ERIC           ADDRESS ON FILE
FERREIRA MELENDEZ, CLARIBEL     ADDRESS ON FILE
FERREIRA MERCED, GIOVANNA       ADDRESS ON FILE
FERREIRA MUNOZ, ALEX S          ADDRESS ON FILE
FERREIRA MUNOZ, MYKIE I         ADDRESS ON FILE
FERREIRA NOEL, JAVIER           ADDRESS ON FILE
FERREIRA PINTO, LUIS            ADDRESS ON FILE
FERREIRA RAMOS, PEDRO J         ADDRESS ON FILE
FERREIRA REYES, IVAN            ADDRESS ON FILE
FERREIRA REYES, LUZ             ADDRESS ON FILE
FERREIRA REYES, MARGA F.        ADDRESS ON FILE
FERREIRA REYES, MARGA F.        ADDRESS ON FILE
FERREIRA RIVERA, LUIS           ADDRESS ON FILE
FERREIRA ROJAS, ALEIDY          ADDRESS ON FILE
FERREIRA ROSARIO, VILMA N.      ADDRESS ON FILE
FERREIRA SANTOS, JOSE F.        ADDRESS ON FILE
FERREIRA SILVA, NARCISO         ADDRESS ON FILE
FERREIRA SUAREZ, JOSE R         ADDRESS ON FILE
Ferreira Trinidad, Manuel       ADDRESS ON FILE
FERREIRA TRINIDAD, MILAGROS     ADDRESS ON FILE
FERREIRA URENA, JOSE            ADDRESS ON FILE
FERREIRA VALENTIN, AWILDA       ADDRESS ON FILE
FERREIRA VALENTIN, EMANUEL      ADDRESS ON FILE
FERREIRA VIERA, RICARDO         ADDRESS ON FILE
FERREIRA VILLEGAS, RUTH         ADDRESS ON FILE
FERREIRA, HIGINIO               ADDRESS ON FILE
FERREIRA, VICTOR                ADDRESS ON FILE




                                                                            Page 2803 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2804 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERREIRO COBB, CRISTINA           ADDRESS ON FILE
FERREIRO, SERGIO                  ADDRESS ON FILE
FERRER ACEVEDO, EVELYN            ADDRESS ON FILE
FERRER ACEVEDO, LOIDA             ADDRESS ON FILE
FERRER ACEVEDO, MATILDE           ADDRESS ON FILE
FERRER ACEVEDO, YASHIRA J         ADDRESS ON FILE
FERRER ACOSTA, YARASHIELD         ADDRESS ON FILE
FERRER AGUAYO, CARLOS             ADDRESS ON FILE
FERRER ALICEA, CARLOS R           ADDRESS ON FILE
FERRER ALICEA, EDDA               ADDRESS ON FILE
FERRER ALICEA, FRANCIS            ADDRESS ON FILE
FERRER ALICEA, JUAN M             ADDRESS ON FILE
FERRER ALICEA, NILDA B            ADDRESS ON FILE
FERRER ALICEA, WILSON             ADDRESS ON FILE
FERRER ALLENDE, LILLIAM           ADDRESS ON FILE
FERRER ALLENDE,JONATHAN           ADDRESS ON FILE
Ferrer Alma, Alexander            ADDRESS ON FILE
Ferrer Alma, Carmen L             ADDRESS ON FILE
FERRER ALMA, LUIS                 ADDRESS ON FILE
FERRER ALMODOVAR, ONEIDA          ADDRESS ON FILE
FERRER ALVARADO, FRANCISCO E      ADDRESS ON FILE
FERRER ALVAREZ, JAIME             ADDRESS ON FILE
FERRER AMARO, EDUARDO             ADDRESS ON FILE
FERRER ANAVITATE, IDA             ADDRESS ON FILE
FERRER ANDINO, GISELA             ADDRESS ON FILE
FERRER ANDINO, GLADYS             ADDRESS ON FILE
Ferrer Andino, Jacinta            ADDRESS ON FILE
FERRER ANDINO, MARTA Z            ADDRESS ON FILE
FERRER APONTE, CHRISTIAN          ADDRESS ON FILE
FERRER APONTE, MORAIMA            ADDRESS ON FILE
FERRER ARBELO, HECTOR             ADDRESS ON FILE
FERRER ARBELO, SORIAM             ADDRESS ON FILE
FERRER AROCHO, ANGEL              ADDRESS ON FILE
FERRER ARROYO, JANICE             ADDRESS ON FILE
FERRER ARROYO, RAFAEL             ADDRESS ON FILE
FERRER ARROYO, WANDA I            ADDRESS ON FILE
FERRER ATILLES, RAUL              ADDRESS ON FILE
FERRER AULET, JOVANY              ADDRESS ON FILE
FERRER BAEZ, MIRZA M              ADDRESS ON FILE
FERRER BARBOSA, HECTOR L          ADDRESS ON FILE
FERRER BARRETO, CARMEN J          ADDRESS ON FILE
FERRER BENITEZ, YADIRA IVELISSE   ADDRESS ON FILE
FERRER BERDECIA, JOSE I           ADDRESS ON FILE
FERRER BERDECIA, LISANDRA         ADDRESS ON FILE
FERRER BERRIOS, GIL A.            ADDRESS ON FILE
FERRER BERRIOS, JANICE            ADDRESS ON FILE
FERRER BERRIOS, JANICE            ADDRESS ON FILE
FERRER BERRIOS, JOSE M.           ADDRESS ON FILE
FERRER BERRIOS, JOSE M.           ADDRESS ON FILE
FERRER BERRIOS, MARIA I           ADDRESS ON FILE
FERRER BONET, AIXA                ADDRESS ON FILE
FERRER BONET, MARY                ADDRESS ON FILE
FERRER BONILLA, ALEJANDRO         ADDRESS ON FILE
FERRER BORIA, VIVIAN              ADDRESS ON FILE
FERRER BOSQUES, LUIS              ADDRESS ON FILE
FERRER BOSQUES, LUIS A.           ADDRESS ON FILE
FERRER BRAVO, NATALIA             ADDRESS ON FILE
FERRER BRAVO, NATALIA             ADDRESS ON FILE
FERRER BRAVO, SUHAIL              ADDRESS ON FILE
FERRER BRIONES, JAVIER            ADDRESS ON FILE




                                                                              Page 2804 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2805 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER BROOKS, JHON             ADDRESS ON FILE
FERRER BURGOS, LYDIA            ADDRESS ON FILE
FERRER BURGOS, RAUL             ADDRESS ON FILE
FERRER BUXO, LAURA I            ADDRESS ON FILE
FERRER CALCANO, JHESENELI       ADDRESS ON FILE
FERRER CAMACHO, ALMARIE         ADDRESS ON FILE
FERRER CAMACHO, RAFAEL          ADDRESS ON FILE
FERRER CAMACHO, ROSA E          ADDRESS ON FILE
FERRER CAMACHO, ROSAEL          ADDRESS ON FILE
FERRER CANALS, JOSEMILIO        ADDRESS ON FILE
FERRER CANCEL, ROBERTO S        ADDRESS ON FILE
FERRER CARABALLO, DAVID R.      ADDRESS ON FILE
Ferrer Caraballo, David R.      ADDRESS ON FILE
FERRER CARABALLO, EDDA          ADDRESS ON FILE
FERRER CARABALLO, JOSE J        ADDRESS ON FILE
FERRER CARMONA, FRANCISCO       ADDRESS ON FILE
FERRER CARMONA, LESLIE A        ADDRESS ON FILE
FERRER CASTELLON, ALMA          ADDRESS ON FILE
FERRER CASTRO, LUCIA            ADDRESS ON FILE
FERRER CASTRO, RUTH E           ADDRESS ON FILE
FERRER CEDENO, OTILIO           ADDRESS ON FILE
FERRER CHARDON, LUIS M.         ADDRESS ON FILE
FERRER CINTRON, MAGALY          ADDRESS ON FILE
FERRER COLON, ANIBAL S          ADDRESS ON FILE
FERRER COLON, DAISY             ADDRESS ON FILE
FERRER COLON, DAISY             ADDRESS ON FILE
FERRER COLON, DAISY             ADDRESS ON FILE
FERRER COLON, JANETT            ADDRESS ON FILE
FERRER COLON, MILAGROS          ADDRESS ON FILE
FERRER COLON, SAMUEL E          ADDRESS ON FILE
FERRER COLON, WANDA             ADDRESS ON FILE
FERRER CONCEPCION, MIGUEL       ADDRESS ON FILE
FERRER CORDERO, ANDREA          ADDRESS ON FILE
FERRER CORDERO, GLORIA          ADDRESS ON FILE
FERRER CORDERO, RAUL            ADDRESS ON FILE
Ferrer Cordero, Roberto         ADDRESS ON FILE
FERRER CORDERO, SILVETTE M.     ADDRESS ON FILE
FERRER CORPORATION              PO BOX 190632                                                                    SAN JUAN     PR      00919‐0632
FERRER COSME, HECTOR M          ADDRESS ON FILE
FERRER CRUZ, ALEXANDER          ADDRESS ON FILE
FERRER CRUZ, EDWIN J            ADDRESS ON FILE
FERRER CRUZ, JACKSUAL           ADDRESS ON FILE
FERRER CRUZ, JACQUELINE         ADDRESS ON FILE
FERRER CRUZ, JANNETTE           ADDRESS ON FILE
FERRER CUEVAS, AIDA L           ADDRESS ON FILE
FERRER CUEVAS, ARACELI E        ADDRESS ON FILE
FERRER DAVILA, ANGEL            ADDRESS ON FILE
FERRER DAVILA, BLANCA           ADDRESS ON FILE
FERRER DE ACOSTA, NELLY         ADDRESS ON FILE
FERRER DEL RIO, RABSARIS        ADDRESS ON FILE
FERRER DEL ROSARIO, GABRIEL E   ADDRESS ON FILE
FERRER DEL VALLE, DOROTHY       ADDRESS ON FILE
FERRER DIAZ, ADA L              ADDRESS ON FILE
FERRER DIAZ, ADOLFO             ADDRESS ON FILE
FERRER DIAZ, ALEXANDER          ADDRESS ON FILE
FERRER DIAZ, BETZAIDA           ADDRESS ON FILE
FERRER DIAZ, GABRIELA C         ADDRESS ON FILE
FERRER DIAZ, VILMA C            ADDRESS ON FILE
FERRER DUCHESNE, YOLANDA M      ADDRESS ON FILE
FERRER FERNANDEZ, CARLOS A      ADDRESS ON FILE




                                                                            Page 2805 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2806 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER FERRER, CARLOS          ADDRESS ON FILE
Ferrer Ferrer, Gilberto        ADDRESS ON FILE
FERRER FERRER, JUAN            ADDRESS ON FILE
FERRER FIGUEROA, BARBARA       ADDRESS ON FILE
FERRER FIGUEROA, ELIZABETH     ADDRESS ON FILE
FERRER FIGUEROA, ESTHER        ADDRESS ON FILE
FERRER FIGUEROA, HILDA         ADDRESS ON FILE
FERRER FIGUEROA, KATHIA        ADDRESS ON FILE
FERRER FIGUEROA, LUIS          ADDRESS ON FILE
FERRER FIGUEROA, ROBERTO       ADDRESS ON FILE
Ferrer Figueroa, Steven        ADDRESS ON FILE
FERRER FLORES, KRIZIA          ADDRESS ON FILE
FERRER FONSECA, ALICIA         ADDRESS ON FILE
FERRER FONT, CARMEN H.         ADDRESS ON FILE
FERRER FONT, RICARDO           ADDRESS ON FILE
FERRER FONTANEZ, SHIRLEY       ADDRESS ON FILE
FERRER FRANCO, KARLA N         ADDRESS ON FILE
FERRER FRATICELLI, CARMEN B.   ADDRESS ON FILE
FERRER GAGO, SONIA M           ADDRESS ON FILE
FERRER GARCIA, BRENDALIZ       ADDRESS ON FILE
FERRER GARCIA, BRENDALIZ       ADDRESS ON FILE
FERRER GARCIA, DAISY           ADDRESS ON FILE
FERRER GARCIA, DAMARYS         ADDRESS ON FILE
FERRER GARCIA, EDNA DE LOS     ADDRESS ON FILE
FERRER GARCIA, FERNANDO        ADDRESS ON FILE
FERRER GARCIA, JOSE            ADDRESS ON FILE
FERRER GARCIA, MILAGROS        ADDRESS ON FILE
FERRER GARCIA, NICOLAS         ADDRESS ON FILE
FERRER GARCIA, SARA I          ADDRESS ON FILE
FERRER GARCIA, ZAIDA           ADDRESS ON FILE
FERRER GARRIGA, NANCY          ADDRESS ON FILE
FERRER GONZALEZ, ADNERIS       ADDRESS ON FILE
FERRER GONZALEZ, ARLEY A       ADDRESS ON FILE
FERRER GONZALEZ, CHARLYN       ADDRESS ON FILE
FERRER GONZALEZ, JOSE A.       ADDRESS ON FILE
FERRER GONZALEZ, LYNIBEL       ADDRESS ON FILE
FERRER GONZALEZ, MARIA S.      ADDRESS ON FILE
FERRER GONZALEZ, NELIDA        ADDRESS ON FILE
Ferrer Gonzalez, Nestor        ADDRESS ON FILE
FERRER GRANIELA, CAROL         ADDRESS ON FILE
FERRER GUERRA, NILSA M         ADDRESS ON FILE
FERRER HERNANDEZ, ANGEL E      ADDRESS ON FILE
FERRER HERNANDEZ, LUIS         ADDRESS ON FILE
FERRER HERNANDEZ, LUIS         ADDRESS ON FILE
FERRER HERNANDEZ, RAFAEL A     ADDRESS ON FILE
FERRER HERNANDEZ, WALTER       ADDRESS ON FILE
FERRER HERNANDEZ, YVETTE R     ADDRESS ON FILE
FERRER HERNANDEZ, ZULMA        ADDRESS ON FILE
FERRER HERRERA, ANA M          ADDRESS ON FILE
FERRER HOPGOOD, IVONNE         ADDRESS ON FILE
FERRER HOPGOOD, LORRAINE       ADDRESS ON FILE
FERRER HORNEDO, DENNIS         ADDRESS ON FILE
FERRER HORNEDO, DENNISD        ADDRESS ON FILE
FERRER HUERTAS, MARIA T        ADDRESS ON FILE
FERRER IGLESIAS, LESLIE A      ADDRESS ON FILE
FERRER IRIZARRY, JAIME         ADDRESS ON FILE
FERRER IRIZARRY, MARISOL       ADDRESS ON FILE
FERRER IRIZARRY, MIGUEL A      ADDRESS ON FILE
FERRER IRIZARRY, OSCAR         ADDRESS ON FILE
FERRER JANETT                  ADDRESS ON FILE




                                                                           Page 2806 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2807 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER JUARBE, OMAR           ADDRESS ON FILE
FERRER LARACUENTE, DAMARIS    ADDRESS ON FILE
FERRER LARACUENTE, MARITZA    ADDRESS ON FILE
FERRER LARACUENTE, MILDRED    ADDRESS ON FILE
FERRER LIBRAN, FELIX E        ADDRESS ON FILE
FERRER LIZARDI, DENISE M      ADDRESS ON FILE
Ferrer Lizardi, John Eric     ADDRESS ON FILE
FERRER LIZARDI, REBECCA       ADDRESS ON FILE
FERRER LLANOS, ESTHER         ADDRESS ON FILE
FERRER LOPEZ, ARNALDO         ADDRESS ON FILE
FERRER LOPEZ, DORIAN          ADDRESS ON FILE
FERRER LOPEZ, HAYDEE          ADDRESS ON FILE
FERRER LOPEZ, JOSE            ADDRESS ON FILE
FERRER LOPEZ, JOSE F.         ADDRESS ON FILE
FERRER LOPEZ, JOSE R          ADDRESS ON FILE
FERRER LOPEZ, LINA            ADDRESS ON FILE
FERRER LOPEZ, LINA            ADDRESS ON FILE
FERRER LORES, MARIANNI        ADDRESS ON FILE
FERRER LORES, MARIANNI        ADDRESS ON FILE
FERRER LOZADA, LEE A          ADDRESS ON FILE
FERRER LOZADA, LUCILA         ADDRESS ON FILE
FERRER LOZADA, SOPHIA M       ADDRESS ON FILE
FERRER LOZADA, TERESA         ADDRESS ON FILE
FERRER LOZANO, ALBA           ADDRESS ON FILE
FERRER LUGO, JABNNEL          ADDRESS ON FILE
FERRER LUGO, SANTOS           ADDRESS ON FILE
FERRER LUGO, WILLIAM          ADDRESS ON FILE
Ferrer Maldonado, Carmen A    ADDRESS ON FILE
FERRER MALDONADO, GLADYS      ADDRESS ON FILE
FERRER MALDONADO, GLADYS      ADDRESS ON FILE
FERRER MALDONADO, LUZ R       ADDRESS ON FILE
FERRER MALDONADO, NORMA L     ADDRESS ON FILE
FERRER MALDONADO, NYDIA       ADDRESS ON FILE
FERRER MARCANO, ELI           ADDRESS ON FILE
FERRER MARQUEZ, DOMINGO       ADDRESS ON FILE
FERRER MARQUEZ, ENCARNACION   ADDRESS ON FILE
FERRER MARQUEZ, JOSE A.       ADDRESS ON FILE
FERRER MARRERO, CLAUDIO       ADDRESS ON FILE
FERRER MARRERO, ESTEBAN       ADDRESS ON FILE
FERRER MARRERO, JESSICA       ADDRESS ON FILE
FERRER MARRERO, LUIS          ADDRESS ON FILE
FERRER MARTELL, ANGEL         ADDRESS ON FILE
FERRER MARTES, VIVIANA        ADDRESS ON FILE
FERRER MARTES, VIVIANA        ADDRESS ON FILE
FERRER MARTINEZ, ANGEL        ADDRESS ON FILE
FERRER MARTINEZ, ANGEL L      ADDRESS ON FILE
FERRER MARTINEZ, CHARLIE      ADDRESS ON FILE
FERRER MARTINEZ, ELISA A      ADDRESS ON FILE
FERRER MARTINEZ, IVONNE       ADDRESS ON FILE
FERRER MARTINEZ, LISSETTE     ADDRESS ON FILE
FERRER MARTINEZ, MIGUEL A.    ADDRESS ON FILE
FERRER MARTY, SHARON C        ADDRESS ON FILE
FERRER MARTY, SHEILA W        ADDRESS ON FILE
FERRER MATOS, PEDRO           ADDRESS ON FILE
FERRER MEDINA, EDGARDO        ADDRESS ON FILE
FERRER MEDINA, GINA H         ADDRESS ON FILE
FERRER MEDINA, JESUS M        ADDRESS ON FILE
FERRER MEDINA, LILLIAN        ADDRESS ON FILE
FERRER MEDINA, MILAGROS       ADDRESS ON FILE
FERRER MEDINA, RUBEN          ADDRESS ON FILE




                                                                          Page 2807 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2808 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER MEJIAS, HOWARD         ADDRESS ON FILE
FERRER MELENDEZ, ALFREDO      ADDRESS ON FILE
FERRER MELENDEZ, LUZ M        ADDRESS ON FILE
FERRER MELENDEZ, NIEVES       ADDRESS ON FILE
FERRER MELENDEZ, SONIA        ADDRESS ON FILE
FERRER MELENDEZ, WANDA        ADDRESS ON FILE
FERRER MENA, AILEEN M.        ADDRESS ON FILE
FERRER MENA, MARIA D.         ADDRESS ON FILE
FERRER MERCADO, DOMINGO A.    ADDRESS ON FILE
FERRER MERCADO, ISIS K        ADDRESS ON FILE
FERRER MERCADO, NANCY         ADDRESS ON FILE
FERRER MONTALVO, HERIBERTO    ADDRESS ON FILE
FERRER MONTALVO, MARLY        ADDRESS ON FILE
FERRER MONTALVO, RAFAEL A     ADDRESS ON FILE
FERRER MONTANEZ, LYDIA E.     ADDRESS ON FILE
FERRER MONTANEZ, MARY A       ADDRESS ON FILE
FERRER MONTES, IVETTE         ADDRESS ON FILE
FERRER MONTES, JANNETTE       ADDRESS ON FILE
FERRER MONTIJO, ANTONIO       ADDRESS ON FILE
Ferrer Morales, Abdiel        ADDRESS ON FILE
FERRER MORALES, DIANA N       ADDRESS ON FILE
FERRER MORALES, LUIS          ADDRESS ON FILE
FERRER MORALES, MIGUEL A.     ADDRESS ON FILE
FERRER MORALES, ROGELIO O     ADDRESS ON FILE
FERRER MULLER, VIRMER         ADDRESS ON FILE
FERRER MUNIZ, CHRISTIAN       ADDRESS ON FILE
FERRER MUNOZ, EVELYN          ADDRESS ON FILE
FERRER MUNOZ, VIVIAN          ADDRESS ON FILE
FERRER MUNOZ, YVONNE          ADDRESS ON FILE
FERRER NEGRON, JOSE           ADDRESS ON FILE
FERRER NEGRON, RAFAEL         ADDRESS ON FILE
FERRER NEVAREZ, VALERIE       ADDRESS ON FILE
FERRER NEVAREZ, VALERIE       ADDRESS ON FILE
FERRER NIEVES, ATZADAMARIS    ADDRESS ON FILE
FERRER NIEVES, CARMEN         ADDRESS ON FILE
FERRER NIEVES, GILBERT        ADDRESS ON FILE
FERRER NIEVES, PEDRO          ADDRESS ON FILE
FERRER NIEVES, SANTOS         ADDRESS ON FILE
FERRER NIEVES, SOLIMAR        ADDRESS ON FILE
FERRER NIEVES, SOLIMAR        ADDRESS ON FILE
Ferrer Nieves, Victor J       ADDRESS ON FILE
FERRER NUNEZ, SAUL            ADDRESS ON FILE
FERRER NUNEZ, SHARIANA        ADDRESS ON FILE
FERRER OBREGON, JOHNNY E      ADDRESS ON FILE
FERRER OBREGON, MILAGROS      ADDRESS ON FILE
FERRER OCASIO, WANDA I        ADDRESS ON FILE
FERRER OJEDA, IVAN            ADDRESS ON FILE
FERRER OLIVENCIA, HECTOR      ADDRESS ON FILE
Ferrer Olivencia, Hector I.   ADDRESS ON FILE
FERRER OLIVERI, AGNES         ADDRESS ON FILE
FERRER OLMOS, RAMONA          ADDRESS ON FILE
FERRER ORTIZ, BLANCA          ADDRESS ON FILE
FERRER ORTIZ, DORCAS L        ADDRESS ON FILE
FERRER ORTIZ, JESUS           ADDRESS ON FILE
FERRER ORTIZ, LUZ V           ADDRESS ON FILE
FERRER ORTIZ, MYRTA D         ADDRESS ON FILE
FERRER ORTIZ, ZILKIA          ADDRESS ON FILE
Ferrer Pabon, Jose            ADDRESS ON FILE
FERRER PABON, MIGDALIA M      ADDRESS ON FILE
FERRER PABON, ZORAIDA         ADDRESS ON FILE




                                                                          Page 2808 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2809 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER PADILLA, ELVIN         ADDRESS ON FILE
FERRER PADILLA, FRANCISCO     ADDRESS ON FILE
FERRER PAGAN, ALBERT          ADDRESS ON FILE
FERRER PAGAN, SYRA            ADDRESS ON FILE
FERRER PAGAN, SYRA MERCEDES   ADDRESS ON FILE
Ferrer Paris, Nereida         ADDRESS ON FILE
FERRER PARRILLA, GUSTAVO      ADDRESS ON FILE
Ferrer Parrilla, Rosa I       ADDRESS ON FILE
FERRER PAZ, JOSE              ADDRESS ON FILE
Ferrer Paz, Manuel A.         ADDRESS ON FILE
FERRER PEREZ, ALFREDO         ADDRESS ON FILE
FERRER PEREZ, ALFREDO         ADDRESS ON FILE
FERRER PEREZ, CARLOS          ADDRESS ON FILE
FERRER PEREZ, CARLOS M.       ADDRESS ON FILE
FERRER PEREZ, CARMEN          ADDRESS ON FILE
FERRER PEREZ, CARMEN GLORIA   ADDRESS ON FILE
FERRER PEREZ, ELSA I.         ADDRESS ON FILE
FERRER PEREZ, JORGE ARIEL     ADDRESS ON FILE
FERRER PEREZ, MARIA J         ADDRESS ON FILE
FERRER PEREZ, MYRNA           ADDRESS ON FILE
FERRER PEREZ, REINALDO        ADDRESS ON FILE
FERRER PEREZ, RICARDO J       ADDRESS ON FILE
FERRER PEREZ, TERESA          ADDRESS ON FILE
FERRER PICART, CYNTHIA M      ADDRESS ON FILE
FERRER PROSPER, LUIS          ADDRESS ON FILE
FERRER PUJALS, LUCAS          ADDRESS ON FILE
FERRER QUILES, RUBEN          ADDRESS ON FILE
FERRER QUINONEZ, EDALIZ       ADDRESS ON FILE
FERRER QUINTERO, MELBA        ADDRESS ON FILE
FERRER RAMIREZ, LUIS          ADDRESS ON FILE
Ferrer Ramos, Esther M        ADDRESS ON FILE
Ferrer Ramos, Jose A          ADDRESS ON FILE
FERRER RAMOS, LAURA           ADDRESS ON FILE
FERRER RAMOS, LUZ             ADDRESS ON FILE
FERRER RENTAS, AILET          ADDRESS ON FILE
FERRER REYES, JANICE          ADDRESS ON FILE
FERRER REYES, NILDA NERI      ADDRESS ON FILE
FERRER REYES, OSCAR           ADDRESS ON FILE
Ferrer Reyes, Rosa I.         ADDRESS ON FILE
FERRER REYES, SONIA M.        ADDRESS ON FILE
FERRER RIOS, CRYSTAL          ADDRESS ON FILE
FERRER RIOS, HECTOR           ADDRESS ON FILE
FERRER RIOS, YADHIRA          ADDRESS ON FILE
FERRER RIVAS, CARLOS J        ADDRESS ON FILE
Ferrer Rivera, Carlos J.      ADDRESS ON FILE
FERRER RIVERA, CARMEN C       ADDRESS ON FILE
FERRER RIVERA, DIANA          ADDRESS ON FILE
FERRER RIVERA, GILMARIE       ADDRESS ON FILE
FERRER RIVERA, ISIS           ADDRESS ON FILE
FERRER RIVERA, ISIS           ADDRESS ON FILE
Ferrer Rivera, John           ADDRESS ON FILE
FERRER RIVERA, JOSE           ADDRESS ON FILE
FERRER RIVERA, JOSE R         ADDRESS ON FILE
FERRER RIVERA, JULIO          ADDRESS ON FILE
FERRER RIVERA, LETICIA        ADDRESS ON FILE
FERRER RIVERA, LUIS           ADDRESS ON FILE
FERRER RIVERA, MARIO          ADDRESS ON FILE
FERRER RIVERA, MICHAEL        ADDRESS ON FILE
FERRER RIVERA, MIGUEL         ADDRESS ON FILE
FERRER RIVERA, MIGUEL A.      ADDRESS ON FILE




                                                                          Page 2809 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2810 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER RIVERA, MIRIAM          ADDRESS ON FILE
FERRER RIVERA, NELLY           ADDRESS ON FILE
FERRER RIVERA, OMAR            ADDRESS ON FILE
Ferrer Rivera, Osvaldo         ADDRESS ON FILE
FERRER RIVERA, RAFAEL          ADDRESS ON FILE
FERRER RIVERA, VILMA I.        ADDRESS ON FILE
FERRER RIVERA, VILMA I.        ADDRESS ON FILE
FERRER RIVERA, YOLANDA I       ADDRESS ON FILE
FERRER ROBLES, CINDYBETH       ADDRESS ON FILE
Ferrer Robles, Jose            ADDRESS ON FILE
FERRER ROBLES, WINDYBETH       ADDRESS ON FILE
FERRER RODRIGUEZ, ADIALIANIS   ADDRESS ON FILE
FERRER RODRIGUEZ, AMILCAR      ADDRESS ON FILE
FERRER RODRIGUEZ, ANGEL L      ADDRESS ON FILE
Ferrer Rodriguez, Carlos A     ADDRESS ON FILE
Ferrer Rodriguez, Carlos F     ADDRESS ON FILE
FERRER RODRIGUEZ, CARMEN G     ADDRESS ON FILE
FERRER RODRIGUEZ, CELESTE A    ADDRESS ON FILE
FERRER RODRIGUEZ, CELESTE A    ADDRESS ON FILE
FERRER RODRIGUEZ, CESAR        ADDRESS ON FILE
FERRER RODRIGUEZ, DEBORAH      ADDRESS ON FILE
FERRER RODRIGUEZ, ERNESTO      ADDRESS ON FILE
FERRER RODRIGUEZ, EVELYN       ADDRESS ON FILE
FERRER RODRIGUEZ, FELIPE       ADDRESS ON FILE
FERRER RODRIGUEZ, GILBERTO     ADDRESS ON FILE
Ferrer Rodriguez, Henry        ADDRESS ON FILE
FERRER RODRIGUEZ, IRIS N       ADDRESS ON FILE
FERRER RODRIGUEZ, IVAN         ADDRESS ON FILE
FERRER RODRIGUEZ, LISANDRA     ADDRESS ON FILE
FERRER RODRIGUEZ, MARICARMEN   ADDRESS ON FILE
FERRER RODRIGUEZ, MARITZA      ADDRESS ON FILE
FERRER RODRIGUEZ, MARTA        ADDRESS ON FILE
FERRER RODRIGUEZ, MILDRED      ADDRESS ON FILE
Ferrer Rodriguez, Rafael       ADDRESS ON FILE
FERRER RODRIGUEZ, RAFAEL       ADDRESS ON FILE
FERRER RODRIGUEZ, RAFAEL A.    ADDRESS ON FILE
Ferrer Rodriguez, Robert       ADDRESS ON FILE
FERRER RODRIGUEZ, ROSA I.      ADDRESS ON FILE
FERRER RODRIGUEZ, WILFREDO     ADDRESS ON FILE
FERRER ROHENA, CARLO R.        ADDRESS ON FILE
FERRER ROJAS, DORCAS           ADDRESS ON FILE
FERRER ROLON, MODESTA          ADDRESS ON FILE
FERRER ROMAN, CARMEN J         ADDRESS ON FILE
FERRER ROMAN, JOSE             ADDRESS ON FILE
FERRER ROMAN, JOSE E           ADDRESS ON FILE
FERRER ROMAN, LISSETTE         ADDRESS ON FILE
FERRER ROMAN, MONICA           ADDRESS ON FILE
FERRER ROMAN, NOEMI            ADDRESS ON FILE
FERRER ROMAN, SONIA L          ADDRESS ON FILE
FERRER ROMERO, FRANK D         ADDRESS ON FILE
FERRER ROSA, ELIZABETH         ADDRESS ON FILE
Ferrer Rosado, Jose            ADDRESS ON FILE
Ferrer Rosado, Milagros H      ADDRESS ON FILE
FERRER ROSARIO, BLANCA         ADDRESS ON FILE
FERRER ROSARIO, JOSE           ADDRESS ON FILE
FERRER RUIZ, GISELA            ADDRESS ON FILE
FERRER RUIZ, LUIS              ADDRESS ON FILE
FERRER SALCEDO, ZULEYKA        ADDRESS ON FILE
FERRER SANCHEZ, IRIS D         ADDRESS ON FILE
FERRER SANCHEZ, SAUL           ADDRESS ON FILE




                                                                           Page 2810 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2811 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER SANCHEZ, YASHIRA N     ADDRESS ON FILE
FERRER SANJURJO, CARMEN D     ADDRESS ON FILE
FERRER SANJURJO, DAVID        ADDRESS ON FILE
FERRER SANJURJO, LUZ          ADDRESS ON FILE
FERRER SANJURJO, MARIA V      ADDRESS ON FILE
FERRER SANJURJO, NYMIA        ADDRESS ON FILE
FERRER SANTANA, MARIEL        ADDRESS ON FILE
FERRER SANTIAGO, ASTRID R     ADDRESS ON FILE
FERRER SANTIAGO, CARMEN A     ADDRESS ON FILE
FERRER SANTIAGO, DAMARIS      ADDRESS ON FILE
FERRER SANTIAGO, ELENA        ADDRESS ON FILE
FERRER SANTIAGO, GIL A        ADDRESS ON FILE
FERRER SANTIAGO, GLADYS       ADDRESS ON FILE
FERRER SANTIAGO, IRENE        ADDRESS ON FILE
FERRER SANTIAGO, ISABEL       ADDRESS ON FILE
FERRER SANTIAGO, JULIO        ADDRESS ON FILE
Ferrer Santiago, Luis R       ADDRESS ON FILE
FERRER SANTIAGO, RAFAEL       ADDRESS ON FILE
FERRER SANTIAGO, RISELA B     ADDRESS ON FILE
FERRER SANTIAGO, VICTOR       ADDRESS ON FILE
Ferrer Santiago, Victor M     ADDRESS ON FILE
FERRER SANTIAGO, WILMA I.     ADDRESS ON FILE
FERRER SANTOS, AGNES M        ADDRESS ON FILE
FERRER SANTOS, JOSE A         ADDRESS ON FILE
FERRER SERRANO, CARMEN A      ADDRESS ON FILE
FERRER SIACA, ELBA M          ADDRESS ON FILE
Ferrer Silva, Raymond         ADDRESS ON FILE
FERRER SILVA, ROSA            ADDRESS ON FILE
FERRER SILVER, KEVIN L        ADDRESS ON FILE
FERRER SONS DEVELOPMENT INC   HC 02 BOX 4028                                                                   LUQUILLO     PR      00773
Ferrer Soto, Adalberto        ADDRESS ON FILE
FERRER SOTO, CHRISTIAN        ADDRESS ON FILE
FERRER SOTO, ELIZABETH        ADDRESS ON FILE
FERRER SOTO, HECTOR           ADDRESS ON FILE
FERRER SOTO, JUAN C.          ADDRESS ON FILE
FERRER SOTO, RAMON A.         ADDRESS ON FILE
FERRER SOTO, RUBEN            ADDRESS ON FILE
Ferrer Suarez, Nestor I.      ADDRESS ON FILE
FERRER TALAVERA, VENANCIA     ADDRESS ON FILE
FERRER TAVERAS, JULIO         ADDRESS ON FILE
FERRER TEXIDOR, MIGUEL        ADDRESS ON FILE
FERRER TOLEDO, MELISSA        ADDRESS ON FILE
FERRER TOLEDO, RALIP M        ADDRESS ON FILE
FERRER TORO, FELIX            ADDRESS ON FILE
FERRER TORO, MELANIE          ADDRESS ON FILE
FERRER TORRES MD, DIMAS       ADDRESS ON FILE
FERRER TORRES, ANA A          ADDRESS ON FILE
FERRER TORRES, ANGELA         ADDRESS ON FILE
FERRER TORRES, CARMEN M       ADDRESS ON FILE
FERRER TORRES, EMILIO         ADDRESS ON FILE
FERRER TORRES, JUAN           ADDRESS ON FILE
FERRER TORRES, LUIS A         ADDRESS ON FILE
FERRER TORRES, MARIA          ADDRESS ON FILE
FERRER TORRES, MARIA DEL      ADDRESS ON FILE
FERRER TORRES, MICHAEL        ADDRESS ON FILE
FERRER TORRES, MIGUEL         ADDRESS ON FILE
FERRER TORRES, VANYA          ADDRESS ON FILE
FERRER TORRES, VICTOR         ADDRESS ON FILE
FERRER TORRES, WAYLISA        ADDRESS ON FILE
FERRER TROCHE, JONATHAN       ADDRESS ON FILE




                                                                          Page 2811 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2812 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FERRER URBINA MD, BELEN          ADDRESS ON FILE
FERRER URBINA, GLADYS            ADDRESS ON FILE
FERRER VALDES, IVONNE            ADDRESS ON FILE
FERRER VALENTIN, ALEX            ADDRESS ON FILE
FERRER VALENTIN, MARGARET J      ADDRESS ON FILE
FERRER VALENTIN, MYRELI          ADDRESS ON FILE
FERRER VALENTIN, PAULA           ADDRESS ON FILE
FERRER VALENTIN, SANDRO          ADDRESS ON FILE
FERRER VALLE, WALESKA            ADDRESS ON FILE
Ferrer Vargas, Ismael            ADDRESS ON FILE
FERRER VARGAS, XIOMARA           ADDRESS ON FILE
FERRER VAZQUEZ OTERO, OSCAR      ADDRESS ON FILE
FERRER VAZQUEZ, CARLOS A.        ADDRESS ON FILE
FERRER VAZQUEZ, CATHERINE E      ADDRESS ON FILE
FERRER VAZQUEZ, ELSA I           ADDRESS ON FILE
FERRER VAZQUEZ, FRANCISCO        ADDRESS ON FILE
FERRER VAZQUEZ, GILBERTO         ADDRESS ON FILE
FERRER VAZQUEZ, GISELA           ADDRESS ON FILE
FERRER VAZQUEZ, LUZ NEREIDA      ADDRESS ON FILE
FERRER VAZQUEZ, MANUEL           ADDRESS ON FILE
FERRER VAZQUEZ, MAVELIS          ADDRESS ON FILE
FERRER VAZQUEZ, OMAR             ADDRESS ON FILE
Ferrer Vazquez, Sonia N          ADDRESS ON FILE
FERRER VEGA, CARMEN D            ADDRESS ON FILE
FERRER VEGA, CRUZ M              ADDRESS ON FILE
FERRER VEGA, ENRIQUE             ADDRESS ON FILE
Ferrer Vega, Luis A.             ADDRESS ON FILE
Ferrer Velazquez, Eduardo        ADDRESS ON FILE
FERRER VELEZ, CRIMILDA           ADDRESS ON FILE
FERRER VELEZ, LYNDA              ADDRESS ON FILE
FERRER VICTORIA, DERICK          ADDRESS ON FILE
FERRER VISCASILLAS, PRISCILLA    ADDRESS ON FILE
FERRER VIVES, MILAGROS           ADDRESS ON FILE
FERRER ZAPARA, NILMARIE          ADDRESS ON FILE
FERRER ZAPATA, ALFREDO           ADDRESS ON FILE
FERRER, KIARA                    ADDRESS ON FILE
FERRER, MARIA DEL C              ADDRESS ON FILE
FERRER, SANTOS                   ADDRESS ON FILE
FERRER,AMILCAR                   ADDRESS ON FILE
FERRER,AMILCAR                   ADDRESS ON FILE
FERRER,CARLOS M.                 ADDRESS ON FILE
FERRERA ACEVEDO, FERNANDO        ADDRESS ON FILE
FERRERA CRUZ, JONATHAN           ADDRESS ON FILE
FERRERA HURTADO, ARMANDO         ADDRESS ON FILE
FERRERAS BAEZ, JACQUELINE        ADDRESS ON FILE
FERRERAS GARRIGA, SOLYMAR        ADDRESS ON FILE
FERRERAS RODRIGUEZ, TEODOSIA E   ADDRESS ON FILE
FERRERAS VELEZ, PAOLA            ADDRESS ON FILE
FERRERAS VILLAFAN, WIGBERTO      ADDRESS ON FILE
FERRERIS DE JESUS, NICOLAS       ADDRESS ON FILE
FERRERIS HERNANDEZ, CARLOS R     ADDRESS ON FILE
FERRERIS IRIZARRY, JOSE          ADDRESS ON FILE
FERRERIS NIEVES, MARTA N         ADDRESS ON FILE
FERRERIS VAZQUEZ MD, MANUEL      ADDRESS ON FILE
FERRERIS VELEZ, CARMEN S         ADDRESS ON FILE
FERRERO CARRASQUILLO, ANA        ADDRESS ON FILE
FERRERO CARRASQUILLO, ANA M      ADDRESS ON FILE
FERRERO CHAPERO MD, JOSE V       ADDRESS ON FILE
FERRERO CHAPERO, MERCEDITA       ADDRESS ON FILE
FERRERTERIA AMADOR               CARR. #2 KM 88.3                                                                 HATILLO      PR      00659




                                                                             Page 2812 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2813 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                             Address1                               Address2                             Address3    Address4   City             State   PostalCode   Country
FERRES CORDERO MD, ANGEL R                ADDRESS ON FILE
FERRES LUGO, ONOFRE J.                    ADDRESS ON FILE
FERRES SANTIAGO, MILLIE                   ADDRESS ON FILE
FERRETERIA & AGROCENTRO EL SIETE          RR 3 BOX 10168                                                                                     TOA ALTA         PR      00953
FERRETERIA ABRAHAM INC                    CAPARRA TERRACE                        1534 CALLE 16 SO                                            SAN JUAN         PR      00922‐1974
FERRETERIA ABRAHAM INC                    PO BOX 11974                                                                                       SAN JUAN         PR      00922‐1974
Ferreteria ACE Berrios, Inc.              Alturas de Brisas. 81‐94 Num25                                                                     Bayamon          PR      00961
Ferreteria ACE Comercial Berrios          Carr. 172, Calle Barcelo 64                                                                        Cidra            PR      00739
FERRETERIA ACE TORTUGUERO                 PO BOX 404                                                                                         VEGA BAJA        PR      00694
FERRETERIA ACE VALOIS PAGAN               1478 TITO CASTRO AVE.                                                                              PONCE            PR      00716‐4712
FERRETERIA AGRICOLA ASA INC               PO BOX 499                                                                                         MARICAO          PR      00606
FERRETERIA ALVAREZ DEL NORTE,INC          42556 CARR 2                                                                                       QUEBRADILLAS     PR      00678
FERRETERIA AMADOR                         CARR 2 KM 88.3 BUZON 94                                                                            HATILLO          PR      00659
FERRETERIA AMADOR                         CARR 2 KM 88.33 BUZON 94                                                                           HATILLO          PR      00659
FERRETERIA AMADOR INC/ENERGIA Y SOL PR    CARR 2 KM 88.3 BUZON 94                                                                            HATILLO          PR      00659
FERRETERIA BERRIOS                        ADM DE CORRECCION                      PO BOX 29086                                                SAN JUAN         PR      00928‐0086
FERRETERIA BERRIOS                        BRISAS DE SIERRA BAYAMON               BLQ 94 25 CALLE 81                                          BAYAMON          PR      00961
FERRETERIA BERRIOS INC/PURA ENERGIA INC   81‐4 25 ALTURAS DE BRISAS                                                                          BAYAMON          PR      00961
FERRETERIA BERRIOS INC/PURA ENERGIA INC   ADM DE CORRECCION                      PO BOX 29086                                                SAN JUAN         PR      00928‐0086
FERRETERIA CAMPAMENTO INC                 PO BOX 172                                                                                         CIALES           PR      00638
FERRETERIA CANDELARIA MD TRADINGN CORP    PO BOX 1326                                                                                        BAYAMON          PR      00960‐1326
Ferreteria Casa Agricola                  HC 02, Box 7510                                                                                    Camuy            PR      00627
FERRETERIA CHRISTIAN, INC.                Carr. 455, Km. 3.2                                                                                 Camuy            PR      00627
FERRETERIA COLOR Y DISENO                 43 MORELL CAMPOS                       CARR 10 KM 7 3                                              PONCE            PR      00731
FERRETERIA COMERCIAL CARABALLO INC        1072 AVE FERNANDEZ JUNCOS                                                                          SAN JUAN         PR      00907
FERRETERIA COMERCIAL JJ, INC              CARR 492 KM 0.1 BO LECHUGA                                                                         HATILLO          PR      00659
Ferreteria Comercial Lechuga              PO BOX 1742                                                                                        Arecibo          PR      00613
FERRETERIA DAVID RODRIGUEZ                BO PINA                                CARR 829 KM 2.4                                             TOA ALTA         PR      00953
FERRETERIA DEL CENTRO                     HC 02 BOX 7300                                                                                     OROCOVIS         PR      00720
Ferreteria Delgado                        Carr. 119, Km. 5.5                                                                                 Camuy            PR      00627
FERRETERIA DELGADO                        HC 2 BOX 10405                                                                                     COMERIO          PR      00782
FERRETERIA EL CANON                       APARTADO 762                                                                                       BARRANQUITAS     PR      00794
FERRETERIA EL CENTRO                      PO BOX 517                                                                                         NAGUABO          PR      00718
FERRETERIA EL COMETA                      AVE BORINQUEN #2201                    ESQ CALLE WEBB                       BO OBRERO              SANTURCE         PR      00915
FERRETERIA EL COMETA                      AVE. BORINQUEN #2201                   ESQ WEBB                             BO OBRERO              SAN JUAN         PR      00915
FERRETERIA EL COMETA                      BO OBRERO                              2201 AVE BORINQUEN                                          SAN JUAN         PR      00915
FERRETERIA EL COMETA                      ESQ WEBB BO OBRERO                     2201 AVE BORINQUEN                                          SAN JUAN         PR      00915‐0000
FERRETERIA EL COMETA                      ESQ. WEBB BARRIO OBRERO                AVE. BORINQUEN 2201                                         SAN TURCE        PR      00915
FERRETERIA EL COMETA                      OFICINA DE LA GOBERNADORA              PO BOX 9020082                                              SAN JUAN         PR      00902
FERRETERIA EL COMETA , INC.               AVE. BORINQUEN 2201 BO. OBRERO                                                                     SAN JUAN         PR      00915‐0000
FERRETERIA EL COMETA INC                  AVE BORINQUEN 2201                                                                                 SAN JUAN         PR      00915
FERRETERIA EL COMETA INC                  BORINQUEN AVE 2201 ESQ WEBB BO OBERO                                                               SAN JUAN         PR      00915
FERRETERIA EL COMETA, INC.                2201 AVE. BORINQUEN, ESQ WEBB                                                                      SAN JUAN         PR      00915
FERRETERIA EL COROZO                      BO SABANA HOYOS                        CARR 690 KM 3.2                                             VEGA ALTA        PR      00962
FERRETERIA EL GIGANTE                     LA OLIMPIA C ‐ 41                                                                                  ADJUNTAS         PR      00601‐0000
Ferreteria El Pajuil                      PO BOX 1355                                                                                        Hatillo          PR      00659
FERRETERIA EL PALACIO                     PO BOX 1811                                                                                        ANASCO           PR      00610
Ferreteria El Pare                        Hc 02, Box 7510                                                                                    Camuy            PR      00627
FERRETERIA EL PARE DE CAMUY CORP          HC 2 BOX 7415                                                                                      CAMUY            PR      00627
Ferreteria El Rey                         Carr. 119, Km 11.7                                                                                 Camuy            PR      00627
FERRETERIA EL TESORO DEL EBANISTA         251 CALLE GUAYAMA                                                                                  SAN JUAN         PR      00917‐4202
Ferreteria Felix Lopez Figueroa Inc.      Po Box 37                                                                                          Las Piedras      PR      00771
FERRETERIA FONTAN INC                     CARR 2 KM 56.5                                                                                     BARCELONETA      PR      00617
FERRETERIA FRAGOSA                        CASA BLANCA                            CARR 988 313                                                LUQUILLO         PR      00773
FERRETERIA GONZALEZ                       17 CALLE MUNOZ RIVERA                                                                              ADJUNTAS         PR      00601
FERRETERIA H FORTIZ INC                   APARTADO 1552                                                                                      VEGA BAJA        PR      00694
FERRETERIA HERMANOS BARRETO               PO BOX 140328                                                                                      ARECIBO          PR      00612
FERRETERIA HNOS. SANCHEZ INC.             P.O. BOX 714                                                                                       DORADO           PR      00646‐0000
FERRETERIA INTERNATIONAL INC              14 2DA AVE NOGAL                                                                                   BAYAMON          PR      00956
FERRETERIA INTERNATIONAL INC              AVE FERNANDEZ JUNCOS 6072                                                                          SAN JUAN         PR      00907




                                                                                                       Page 2813 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2814 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                             Address1                            Address2                                   Address3   Address4   City              State   PostalCode   Country
FERRETERIA ISABELA STEEL SERVICES         AVE MILITAR                         BOX 4110                                                         ISABELA           PR      00662
FERRETERIA JOE'S HOME CENTER INC          CARR 2 KM 34.4                                                                                       VEGA BAJA         PR      00693
Ferreteria JW                             Carr. 129 Km 8.3                                                                                     Hatillo           PR      00659
FERRETERIA LA CHIMENEA                    HC 2 BOX 5859                                                                                        PENUELAS          PR      00624
FERRETERIA LA FAMA                        AVE BORINQUEN 2216                                                                                   SANTURCE          PR      00915
Ferreteria La Feria                       Ave. Barbosa #727                                                                                    Santurce          PR      00915
FERRETERIA LA FERIA #2                    BO OBRERO 2114 AVE BORINQUEN                                                                         SANTURCE          PR      00920
FERRETERIA LA MONTANA                     PO BOX 94                                                                                            NARANJITO         PR      00719
FERRETERIA LA NUEVA EUROPA                1501 AVE PONCE DE LEON                                                                               SANTURCE          PR      00909
FERRETERIA LOS CAMIONEROS                 HC 3 BOX 9899                                                                                        LARES             PR      00669
FERRETERIA LOS NIETOS                     3962 CARR 2                                                                                          VEGA BAJA         PR      00694
FERRETERIA M. OTERO Y CIA, INC.           APARTADO 848                                                                                         MANATI            PR      00674
FERRETERIA MADERAS 3 C                    PO BOX 11279                                                                                         SAN JUAN          PR      00922
FERRETERIA MARGIE                         280 AVE LAURO PINERO                                                                                 CEIBA             PR      00735
FERRETERIA MARTIN GONZALEZ                URB ALTO APOLO                      2124 CALLE ONFALA                                                GUAYNABO          PR      00969
FERRETERIA MARTINEZ                       O DOS BOCA                          CARR 181 KM 9.6                                                  TRUJILLO ALTO     PR      00979
FERRETERIA MENDEZ INC                     200 CALLE SAN AGUSTIN                                                                                SAN JUAN          PR      00902
FERRETERIA MENDEZ INC                     OFICINA DE LA GOBERNADORA           PO BOX 9020082                                                   SAN JUAN          PR      00902
FERRETERIA MENDEZ INC                     PO BOX 9023501                                                                                       SAN JUAN          PR      00902‐3501
FERRETERIA MENDEZ INC                     PO BOX 9066505                                                                                       SAN JUAN          PR      00906‐6505
FERRETERIA MENDEZ INC                     PUERTA DE TIERRA                    PO BOX 5477                                                      SAN JUAN          PR      00906
FERRETERIA MENDEZ INC‐ NUM PATRONAL INC   PO BOX 9066505                                                                                       SAN JUAN          PR      00906‐6505
FERRETERIA MERINO INC                     PO BOX 9627                                                                                          SANTURCE          PR      00910‐0000
FERRETERIA MERINO INC                     PO BOX 9627 700 LABRA AVE                                                                            SAN JUAN          PR      00908‐0000
FERRETERIA MINILLAS                       PO BOX 4100                                                                                          BAYAMON           PR      00958‐1100
FERRETERIA MINILLAS INC                   PO BOX 4100                                                                                          BAYAMON           PR      00958
FERRETERIA MIRAMAR DBA A GARCIA & CO.     AREA DEL TESORO                     DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
FERRETERIA MIRAMAR DBA A GARCIA & CO.     PO BOX 1265                                                                                          ARECIBO           PR      00613
FERRETERIA MIRAMAR DBA A GARCIA & CO.     PO BOX 141600                                                                                        ARECIBO           PR      00614‐1600
FERRETERIA MIRAMAR DBA A GARCIA & CO.     PO BOX 1667                                                                                          ARECIBO           PR      00613
FERRETERIA NIEVES LUMBER                  12 CALLE JESUS T PINERO                                                                              PATILLAS          PR      00723
FERRETERIA ORONOZ                         P. O. BOX 1581                                                                                       SAN SEBASTIAN     PR      00685‐0000
Ferreteria Pajuil                         Po Box 1355                                                                                          Hatillo           PR      00659
FERRETERIA PALOMAS #2                     BO CAMASEYES                                                                                         AGUADILLA         PR      00602
FERRETERIA PAPO PINA                      HC 01 BOX 10275                                                                                      TOA BAJA          PR      00949
FERRETERIA RABANAL                        PO BOX 510                                                                                           AIBONITO          PR      00705
FERRETERIA RAMONCITO                      BO GUAVATE                          21625 SECT APONTE                                                CAYEY             PR      00736
FERRETERIA RIVERA LUPIANEZ , INC.         CALLE SAN JOSE # 100 OESTE                                                                           AIBONITO          PR      00705‐0000
FERRETERIA ROMAN                          CALLE BETANCES # 28                                                                                  UTUADO            PR      00641‐0000
Ferreteria San Jose                       HC 05 Box 18064                                                                                      Arecibo           PR      00612
FERRETERIA SANTA ISABEL                   43 CALLE BETANCES                                                                                    SANTA ISABEL      PR      00757
FERRETERIA SANTANA INC                    HC 01 BOX 8526                                                                                       SAN GERMAN        PR      00683
FERRETERIA SANTIAGO LOPEZ                 PO BOX 853                                                                                           LAJAS             PR      00667
FERRETERIA SANTIAGO LOPEZ                 URB. EL VALLE 94, CALLE MIRTOS                                                                       LAJAS             PR      00667
FERRETERIA SANTIAGO LOPEZ INC             URB EL VALLE                        94 CALLE MIRTOS                                                  LAJAS             PR      00667
FERRETERIA SOLAR EL ALMACIGO INC          DEPT DE LA VIVIENDA                 606 AVE BARBOSA                                                  SAN JUAN          PR      00926
FERRETERIA SOLAR EL ALMACIGO INC          PO BOX 1606                                                                                          YAUCO             PR      00698‐1606
FERRETERIA SOLAR EL ALMACIGO INC          PO BOX 3035                                                                                          YAUCO             PR      00698‐3035
FERRETERIA SOLAR EL ALMACIGO INC          PO BOX 9024275                                                                                       SAN JUAN          PR      00902‐4275
FERRETERIA TESORO EN MADERAS              HC 645 BOX 6265                                                                                      TRUJILLO ALTO     PR      00976
FERRETERIA TORRES                         SUMMIT HILLS                        1747 JESUS T PINERO                                              SAN JUAN          PR      00920
FERRETERIA TORRES E HIJOS                 CARR 130 KM 1.1                                                                                      HATILLO           PR      00659
FERRETERIA VEGA ALTA , INC.               P. O. BOX 219                                                                                        VEGA ALTA         PR      00692‐0000
FERRETERIA VEGA ALTA, IC.                 PO BOX 219                                                                                           VEGA ALTA         PR      00692
Ferreteria Y Casa Agricola San Miguel     Carr. Pipo Crespo, Sect Las Vegas                                                                    Camuy             PR      00627
FERRETERIA Y GRAVERO SAINT JUST           CARR 848 SAINT JUST                 KM 2 HM 2 205                                                    TRUJILLO ALTO     PR      00978
FERRETERIAS PLUM‐PLAS                     1002 AVE FD ROOSEVELT                                                                                SAN JUAN          PR      00920
FERREYRA TONDOLO, RICARDO                 ADDRESS ON FILE
FERRI NAVARRO, MILAGROS                   ADDRESS ON FILE
FERRI ROSARIO, DAVID                      ADDRESS ON FILE




                                                                                                          Page 2814 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2815 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                Address2                                       Address3       Address4   City            State   PostalCode   Country
FERRI TORRES, GABRIEL                    ADDRESS ON FILE
FERRIN ALDAS, MAGDALENA                  ADDRESS ON FILE
FERRIOL ALONSO, ANTONIO                  ADDRESS ON FILE
FERRIS MUJICA, YESIKA                    ADDRESS ON FILE
FERRIS ROMAN, ALAN                       ADDRESS ON FILE
FERRIS ROMAN, ALLEN                      ADDRESS ON FILE
FERRIS ROMAN, EILEEN                     ADDRESS ON FILE
FERRIS, ALEJANDRO                        ADDRESS ON FILE
FERRO DIAZ, STEVEN R                     ADDRESS ON FILE
FERRO FAJARDO, NATALIA                   ADDRESS ON FILE
FERRO FAJARDO, NATALIA                   ADDRESS ON FILE
FERRO HOLDING CORP                       URB SABANERA DORADO                     429 CAMINO DEL SUSUA                                                     DORADO          PR      00646‐0000
FERRO, SEGUNDO J.                        ADDRESS ON FILE
FERROVIAL AGROMAN LLC                    1250 AVE P DE LEON                      SUITE 901                                                                SAN JUAN        PR      00907
FESCO INC                                PO BOX 2706                                                                                                      MAYAGUEZ        PR      00681
FESHOLD HERNANDE, JEANNETTE              ADDRESS ON FILE
FESHOLD NAZARIO, IRIS N                  ADDRESS ON FILE
FESHOLD ROSA, HELEN                      ADDRESS ON FILE
FESHOLD ROSA, JOHANNES                   ADDRESS ON FILE
FESR TRANSPORT INC                       HC 2 BOX 11907                                                                                                   MOCA            PR      00676‐8358
FESTIVAL CINE INTERNACIONAL DE SAN JUAN  PMB 374 1507 AVE PONCE DE LEON                                                                                   SAN JUAN        PR      00909
FESTIVAL DE LA ESPERANZA CORP            HC 22 BOX 9614                                                                                                   JUNCOS          PR      00777
FESTIVAL DE LA LONGANIZA RECRE CULTURAL PO BOX 627                                                                                                        OROCOVIS        PR      00720
FESTIVAL EL JOBO INC                     BOX 682                                                                                                          COMERIO         PR      00782
FESTIVAL MUSICAL LATINO AMERICANO INC    P O BOX 9020137                                                                                                  SAN JUAN        PR      00902‐0137
FESTIVAL NACIONAL DEL CAFE FRE           PO BOX 3059                                                                                                      YAUCO           PR      00698
FESTIVAL Y MARATON MUJER PUERTORRIQUENABO SABANA ENEAS                           355 CALLE 12                                                             SAN GERMAN      PR      00683
FESTIVO INC                              361 SAN JORGE                                                                                                    SAN JUAN        PR      00912
FESTIVO PR COM, INC.                     357 CALLE SAN JORGE                                                                                              SAN JUAN        PR      00912
FESTIVOL CORP                            VILLA NEVARES                           1073 CALLE 3                                                             SAN JUAN        PR      00927‐5124
FESTNA TRADING CORP.                     P. O. BOX 13392                                                                                                  SAN JUAN        PR      00908‐0000
FEVE SANDOVAL, DIDIER                    ADDRESS ON FILE
FEYJOO HERNANDEZ, EDDA L                 ADDRESS ON FILE
FF GENERAL CONTRACTORS INC               URB URB COUNTRY CLUB                    C 416 CALLE ML 9                                                         CAROLINA        PR      00982
FF LAW OFFICE, PSC                       PO BOX 193384                                                                                                    SAN JUAN        PR      00919‐3384
FFP NEW MEDIA PR LLC                     364 CALLE SAN JORGE                     APTO 2 H                                                                 SAN JUAN        PR      00911
FG 2, INC.                               HC 3 BOX 35438                                                                                                   MAYAGUEZ        PR      00680‐9131
FG CONTRACTOR INC                        P O BOX 857                                                                                                      SAN ANTONIO     PR      00690
FGE & ASSOCIATES PSC                     PMB 772                                 1353 AVE LUIS VIGOREAUX                                                  GUAYNABO        PR      00966
FGM ENGINEERING SERVICES CORP            PO BOX 3031                                                                                                      VEGA ALTA       PR      00692
FGR MEDIA LLC                            URB SABANERA DEL RIO                                                             497                             GURABO          PR      00778
FGUEROA MONTALVO, JOSE L                 ADDRESS ON FILE
FHC CSCO ESC MEDICINA DE PONCE AGUADILLA FHC‐CENTRO SALUD CONDUCTUAL (AGUADILLA) PO BOX 7004                                                              PONCE           PR      00732
FHC CSCO ESC MEDICINA DE PONCE COAMO     FHC‐CENTRO SALUD CONDUCTUAL(CESCO)      132 JOSE I QUINTON (ALTOS) STE 1                                         COAMO           PR      00769
FHC HEALTH SYSTEM                        URB CARIBE                              1549 CALLE ALDA                                                          SAN JUAN        PR      00926‐2709
FHCHS OF PUERTO RICO                     17 CALLE 2                              SUITE 520                                                                GUAYNABO        PR      00968‐1750
FHCHS OF PUERTO RICO                     17 CALLE 2 SUITE 520                                                                                             GUAYNABO        PR      00968
FHP WEST VALLEY CENTER                   ATTN MEDICAL RECORDS                    3730 W 4700 S                                                            W VALLEY        UT      84118
FHS FIRST HEALTH SYSTEM                  CENTRO COMERCIAL HUMACAO                EDIFICIO 10A LOCAL 3 Y 4 AVENIDA               FONT MARTELO              HUMACAO         PR      00791
FI 413 CORP                              PO BOX 9026                                                                                                      CAGUAS          PR      00726
FIALLO DE VILLANUEVA, SONIA DEL C.       ADDRESS ON FILE
FIALLO SANCHEZ, CESAR                    ADDRESS ON FILE
FIALLO SANCHEZ, CESAR                    ADDRESS ON FILE
Fiber Optic Systems, Corp.               METRO OFFICE PARK 7 CALLE 1             SUITE 204                                                                GUAYNABO        PR      00968‐1718
FICUS PRODUCTIONS CORP                   COND COSMOPOLITAN                       555 CALLE MONSERRATE APT 203                                             SAN JUAN        PR      00907
FID DE CONSERVACION E HISTORIA VIEQUEZ   138 CALLE FLAMBOYAN                                                                                              VIEQUES         PR      00765
FID ISABEL FONALLEDAS RUBERT R           PO BOX 71450                                                                                                     SAN JUAN        PR      00936‐8550
FID MERCADO PADILLA                      VALLE ARRIBA STATION                    PO BOX 3799                                                              CAROLINA        PR      00984
FID VADIM ANDREE NIKITINE                27 AVE JORGE GONZALEZ STE 300                                                                                    GUAYNABO        PR      00968
FIDALGO BENET, YASMIN E                  ADDRESS ON FILE




                                                                                                               Page 2815 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2816 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                            Address1                                  Address2                                      Address3   Address4   City           State   PostalCode   Country
FIDALGO BENETT, MAGDA                    ADDRESS ON FILE
FIDALGO CASTRO, CARMEN A                 ADDRESS ON FILE
FIDALGO CORDOVA, GLORIA                  ADDRESS ON FILE
FIDALGO DIAZ 411 SE                      URB EL ALAMO                              A 8 CALLE LAREDO                                                    GUAYNABO       PR      00969
FIDALGO DOMINGUEZ, GERARDO               ADDRESS ON FILE
FIDALGO MUNOZ, CLARA T.                  ADDRESS ON FILE
FIDDLER GONZALEZ & RODRIGUEZ             PO BOX 363507                                                                                                 SAN JUAN       PR      00936‐3507
FIDDLER GONZALEZ Y RODRIGUEZ PSC         ORIENTAL CENTER 254                       AVE MUNOZ RIVERA P1                                                 SAN JUAN       PR      00918
FIDDLER GONZALEZ Y RODRIGUEZ PSC         PO BOX 195607                                                                                                 SAN JUAN       PR      00919‐5607
FIDDLER GONZALEZ Y RODRIGUEZ PSC         PO BOX 363507                                                                                                 SAN JUAN       PR      00936‐3507
FIDE ALBERTO R ESTEVES                   171 CALLE DEL PARQUE PH6                                                                                      SAN JUAN       PR      00909
FIDE ALFREDO A MARTINEZ ALVAREZ          EDIF CENTRO DE SEGUROS                    701 AVE PONCE DE LEON STE 407                                       SAN JUAN       PR      00907‐3248
FIDE BENEFICIO RAMON I RODRIGUEZ MORALES HC 1 BOX 6331                                                                                                 GUAYNABO       PR      00971
FIDE CANDELARIO GONZALEZ                 PO BOX 8127                                                                                                   CAGUAS         PR      00626
FIDE CASTRO ORTIZ                        URB VEDADO                                115 CALLE HIJA DEL CARIBE                                           SAN JUAN       PR      00918
FIDE CORE DEVELOPMENT TF                 PO BOX 1660                                                                                                   MAYAGUEZ       PR      00681
FIDE EDUCATIVO F RODRIGUEZ               19‐22 AVE RAMIREZ DE ARELLANO STE 7 PMB                                                                       GUAYNABO       PR      00966‐3175
FIDE ESPECIAL F RODRIGUEZ                PMB 33                                    19 22 AVE RAMIREZ DE ARELLANO                                       GUAYNABO       PR      00966
FIDE ESTELA I ZABALETA                   PO BOX 366736                                                                                                 SAN JUAN       PR      00936‐6736
FIDE ESTHER BEJAR BEJAR                  PO BOX 270126                                                                                                 SAN JUAN       PR      00928‐2926
FIDE FAMILIAR FERNANDEZ LOMBARD          PO BOX 9023905                                                                                                SAN JUAN       PR      00901
FIDE FIGUEROA LUGO                       PO BOX 800459                                                                                                 PONCE          PR      00780‐0459
FIDE GARCIA MANTILLA                     PO BOX 10399                                                                                                  SAN JUAN       PR      00922‐0399
FIDE HELVETIA M PEREZ                    497 AVE EMILIANO POL STE 594                                                                                  SAN JUAN       PR      00902
FIDE HIJAS LUIS FERNANDEZ ONDINA         PO BOX 191429                                                                                                 SAN JUAN       PR      00919‐1429
FIDE ISABEL ALVAREZ RUIZ                 PO BOX 360781                                                                                                 SAN JUAN       PR      00936
FIDE ISABEL FONALLEDAS RUBERT            PO BOX 71450                                                                                                  SAN JUAN       PR      00936‐8550
FIDE JORGE E UNANUE LOPEZ                PO BOX 601467                                                                                                 BAYAMON        PR      00960‐6067
FIDE MARTIN BONIN                        PO BOX 192862                                                                                                 SAN JUAN       PR      00919
FIDE MATA                                PO BOX 1660                                                                                                   MAYAGUEZ       PR      00681
FIDE NIETOS RAMON E CANCIO GUZMAN        COND MIRAMAR ROYAL‐TORRE NOR              706 CALLE ROOSEVELT APT 1‐1001                                      SAN JUAN       PR      00907‐3470
FIDE NOGA ESTHER LOPEZ PUMAREJO          MANS DE GUAYNABO                          B9 CALLE 2                                                          GUAYNABO       PR      00969‐5246
FIDE PUNTA GORDA                         PO BOX 1660                                                                                                   MAYAGUEZ       PR      00681‐1660
FIDE ROSADO DIAZ                         PO BOX 361                                                                                                    SAN GERMAN     PR      00683‐0361
FIDE SEBASTIAN JOSE JAVIER PONS REXACH   PO BOX 366215                                                                                                 SAN JUAN       PR      00936
FIDE TORO FREIRE                         LAGUNA PARK                               550 CALLE MONSERRATE APT 8                                          SAN JUAN       PR      00907
FIDEI IRREVOCABLE MARQUEZ‐ROSSY          URB GARCIA                                20 CALLE A                                                          SAN JUAN       PR      00926‐5102
FIDEICO BENEFICIO CARLOS A SANTIAGO      LOS ARBOLES DE MONTEHIEDRA                600 BLVD DE LA MONTANA APT 371                                      SAN JUAN       PR      00926‐7115
FIDEICOMISO 1137950 MARIBEL LUCIANO      PO BOX 506                                                                                                    BOQUERON       PR      00622‐0506
FIDEICOMISO ACOSTA CANAS                 URB TORRIMAR                              8‐17 PASEO DE LA ALHAMBRA                                           GUAYNABO       PR      00966‐3149
FIDEICOMISO AIDA BIRD CANALS             PO BOX 21952                                                                                                  SAN JUAN       PR      00931
FIDEICOMISO ALEJANDRO ESTEBAN RODRIGUEZ SPO BOX PO BOX 364588                                                                                          SAN JUAN       PR      00936‐4588
FIDEICOMISO ALEROS TRUST II              POBOX 513                                                                                                     SAN GERMAN     PR      00683
FIDEICOMISO ALEXANDRA S SANTIAGO NEGRON LOS ARBOLES DE MONTEHIEDRA                 600 BLVD DE LA MONTANA APT 371                                      SAN JUAN       PR      00926‐7115
FIDEICOMISO ALFREDO J FERNANDEZ          EDIF CENTRO DE SEGUROS                    701 AVE PONCE DE LEON STE 407                                       SAN JUAN       PR      00907‐3248
FIDEICOMISO ALVARO BIRD CANALS           PO BOX 21952                                                                                                  SAN JUAN       PR      00931
FIDEICOMISO ANA S CORDERO MELLADO        PO BOX 946                                                                                                    DORADO         PR      00646‐0946
FIDEICOMISO ANDRE R GOMEZ LOPEZ ESTUDIOS EXT VILLA CAPARRA                         C2 CALLE FLORENCIA                                                  GUAYNABO       PR      00966‐1722
FIDEICOMISO ANDRE R GOMEZ LOPEZ NECESIDA EXT VILLA CAPARRA                         C2 CALLE FLORENCIA                                                  GUAYNABO       PR      00966‐1722
FIDEICOMISO ANDRES R GOMEZ LOPEZ ESESTUD EXT VILLA CAPARRA                         C2 CALLE FLORENCIA                                                  GUAYNABO       PR      00966‐1722
FIDEICOMISO ANNE MARIE UNANUE LOPEZ      PO BOX 601467                                                                                                 BAYAMON        PR      00960‐6067
FIDEICOMISO ANTONIO RAFAEL FERNANDEZ TOREDIF CENTRO DE SEGUROS                     701 AVE PONCE DE LEON STE 407                                       SAN JUAN       PR      00907‐3248
FIDEICOMISO ANTONIO REYES BONAR          URB PINERO                                88 CALLE ALHAMBRA                                                   SAN JUAN       PR      00917‐3111
FIDEICOMISO AROSTEGUI                    25 HARBOUR VIEW DRIVE                                                                                         HUMACAO        PR      00791
FIDEICOMISO ARTURO J CADILLA             VILLA CAPARRA                             H10 CALLE H                                                         GUAYNABO       PR      00966‐1740
FIDEICOMISO AYALA RIVERA                 PO BOX 1568                                                                                                   MAYAGUEZ       PR      00681
FIDEICOMISO BAYOUTH LACAZE               1217 BUCKWOOD DR                                                                                              ORLANDO        FL      32806‐7033
FIDEICOMISO BLANCA MARI SOMOZA           EDIF CENTRO DE SEGUROS                    701 AVE PONCE DE LEON STE 407                                       SAN JUAN       PR      00907‐3248
FIDEICOMISO BUHLER LABOY                 URB SAN ALFONSO                           A14 AVE DEGETAU                                                     CAGUAS         PR      00725‐6446
FIDEICOMISO CADILLA REBOLLEDO            VILLA CAPARRA                             H10 CALLE H                                                         GUAYNABO       PR      00966‐1740




                                                                                                               Page 2816 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2817 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                              Address1                                 Address2                                      Address3   Address4   City              State   PostalCode   Country
FIDEICOMISO CALUGAFE                       PO BOX 477                                                                                                   MAYAGUEZ          PR      00681‐0477
FIDEICOMISO CARMEN G TRIGO SUAREZ          PO BOX 11850 PMB 101                                                                                         SAN JUAN          PR      00922‐1850
FIDEICOMISO CARRASQUILLO RAMIREZ           PO BOX 273                                                                                                   CAGUAS            PR      00726‐0273
FIDEICOMISO CGNG                           PO BOX 299                                                                                                   MAYAGUEZ          PR      00681‐0299
FIDEICOMISO COLON SANTIAGO                 RR 12 BOX 10383                                                                                              BAYAMON           PR      00956‐9813
FIDEICOMISO CONSERVACION/HISTORIA VIEQUE CALLE FLAMBOYAN #138                                                                                           VIEQUES           PR      00761‐0138
FIDEICOMISO CONTRERAS‐GOMEZ                PO BOX 3074                                                                                                  MAYAGUEZ          PR      00681‐3074
FIDEICOMISO CRISTINA MARTINEZ ALVAREZ      EDIF CENTRO DE SEGUROS                   701 AVE PONCE DE LEON STE 407                                       SAN JUAN          PR      00907‐3248
FIDEICOMISO CRISTINA Y ERIC STUBBE NEVARES URB GARDEN HLS                           K3 CALLE GREEN VLY                                                  GUAYNABO          PR      00966‐2604
FIDEICOMISO DE ALFREDO LATIMER, GORBEA Y MEAN PARK SAN                              2061 CALLE CACIQUE                                                  SAN JUAN          PR      00911‐1513
FIDEICOMISO DE ALISA D NEGRON              URB BALDRICH                             203 CALLE PRESIDENTE RAMIREZ                                        SAN JUAN          PR      00918‐4319
FIDEICOMISO DE BALLETS DE SAN JUAN         P O BOX 79769                                                                                                CAROLINA          PR      00984
FIDEICOMISO DE CARLOS A UNANUE LOPEZ       PO BOX 601467                                                                                                BAYAMON           PR      00960‐6067
FIDEICOMISO DE CIENCIA TECNOLOGIA E INVE CIA DE FOMENTO                             355 AVE ROOSEVELT PISO 4                                            SAN JUAN          PR      00918
FIDEICOMISO DE CONSERVACION DE P R         AREA DEL TESORO                          CONTADURIA GENERAL                                                  SAN JUAN          PR      00902
FIDEICOMISO DE CONSERVACION DE P R         PO BOX 90235                                                                                                 SAN JUAN          PR      00902‐3554
FIDEICOMISO DE CONSERVACION DE P R         PO BOX 9023554                                                                                               SAN JUAN          PR      00902‐3554
FIDEICOMISO DE JESUS PENA                  PO BOX 6902                                                                                                  CAGUAS            PR      00726‐6902
FIDEICOMISO DEL CASTILLO GARCIA            1357 AVE ASHFORD STE 223                                                                                     SAN JUAN          PR      00901
FIDEICOMISO EM AGUIRRE                     URB ALHAMBRA                             2606 CALLE LINDARAJA                                                PONCE             PR      00716‐3856
FIDEICOMISO EMILIO RAFAEL BARBOSA          EDIF CENTRO DE SEGUROS                   701 AVE PONCE DE LEON STE 407                                       SAN JUAN          PR      00907‐3248
FIDEICOMISO ENRIQUE J RIVERA RIVERA        PO BOX 7109                                                                                                  CAGUAS            PR      00726‐7109
FIDEICOMISO ESCUELA DE DERECHO             PO BOX 23349                                                                                                 SAN JUAN          PR      00931
FIDEICOMISO ESPOSOS BENMAMAN MEDINA        PO BOX 986                                                                                                   MANATI            PR      00674‐0986
FIDEICOMISO ESTELA I ZABALETA              PO BOX 9020886                                                                                               SAN JUAN          PR      00902‐0886
FIDEICOMISO FAM                            URB CONDADO VIEJO                        40 CALLE GARDENIA                                                   CAGUAS            PR      00725‐2466
FIDEICOMISO FAMILIA CAPOTE PLA             82 CALLE KINGS CT                                                                                            SAN JUAN          PR      00911
FIDEICOMISO FAMILIA FRIAS LOPEZ            PO BOX 3092                                                                                                  ARECIBO           PR      00613‐3092
FIDEICOMISO FAMILIA ROMAN MALAVE           PO BOX 2044                                                                                                  SAN SEBASTIAN     PR      00685
FIDEICOMISO FANNY GARRATON                 PO BOX 364665                                                                                                SAN JUAN          PR      00936‐4665
FIDEICOMISO FELIX I CALDERON               592 CALLE CESAR GONZALEZ APT 1014                                                                            SAN JUAN          PR      00918
FIDEICOMISO FERNANDEZ VALDEZ               PO BOX 800809                                                                                                COTO LAUREL       PR      00780‐0809
FIDEICOMISO FOSSAS SUAREZ TRUST            2167 CALLE LOIZA                                                                                             SAN JUAN          PR      00913‐4512
FIDEICOMISO GABRIEL A RIVERA               PO BOX 7109                                                                                                  CAGUAS            PR      00726‐7109
FIDEICOMISO GABRIEL ANDRES BARBOSA MARTI EDIF CENTRO DE SEGUROS                     701 AVE PONCE DE LEON STE 407                                       SAN JUAN          PR      00907‐3248
FIDEICOMISO GARCAN                         PO BOX 494                                                                                                   ISABELA           PR      00662‐0494
FIDEICOMISO GEALVI                         PO BOX 9784                                                                                                  ARECIBO           PR      00613‐9784
FIDEICOMISO GL NEVARES GONZALEZ            MANS GARDEN HLS                          F4 CALLE 6                                                          GUAYNABO          PR      00966‐2710
FIDEICOMISO GORBEA DIAZ                    PO BOX 191429                                                                                                SAN JUAN          PR      00919‐1429
FIDEICOMISO GUILLERMO JUAN TORRUELLSERRAPO BOX 65                                                                                                       MERCEDITA         PR      00715‐0065
FIDEICOMISO H JORDAN III                   COND HATO REY PLAZA                      200 AVE JESUS T PINERO APT 17D                                      SAN JUAN          PR      00918‐4159
FIDEICOMISO HERMANOS SANTANA               PO BOX 191089                                                                                                SAN JUAN          PR      00919‐1089
FIDEICOMISO HERNANDEZ BENABE               PO BOX 367059                                                                                                SAN JUAN          PR      00936
FIDEICOMISO HERNANDEZ CASTRODAD            HC 06 BOX 72502                                                                                              CAGUAS            PR      00725‐9511
FIDEICOMISO HERNANDEZ CASTRODAD            HC 6 BOX 72502                                                                                               CAGUAS            PR      00725‐9511
FIDEICOMISO HERNANDEZ CASTRODAD            HYC 06 BOX 72502                                                                                             CAGUAS            PR      00725‐9511
FIDEICOMISO HERNANDEZ CASTRODAD            PMB 265 PO BOX 4985                                                                                          CAGUAS            PR      00726‐4985
FIDEICOMISO HNOS MARCHAND BENMAMAN PO BOX 986                                                                                                           MANATI            PR      00674‐0986
FIDEICOMISO HOPKINS                        89 DE DIEGO SUITE 105 PMB 646 SAN JUAN   PR                                                                  SAN JUAN          PR      00927
FIDEICOMISO INIGO FAS                      PO BOX 1265                                                                                                  MAYAGUEZ          PR      00681‐1265
FIDEICOMISO IRREVOCABLE CS SURIAANA        PO BOX 946                                                                                                   DORADO            PR      00646
FIDEICOMISO ISABEL FONALLEDAS RUBERT J2    PO BOX 71450                                                                                                 SAN JUAN          PR      00936‐8550
FIDEICOMISO ISABEL HELENA SOFIA MARTINEZ A 701 AVE PONCE DE LEON STE 407                                                                                SAN JUAN          PR      00907
FIDEICOMISO ISABELLA M ZAYAS DUBON         P.O. BOX 192336                                                                                              SAN JUAN          PR      00919‐2336
FIDEICOMISO JAVIER A CALDERON CASTR        500 CALLE CESAR GONZALEZ                                                                                     SAN JUAN          PR      00918‐2652
FIDEICOMISO JAVIER JOSUE VAZQUEZ           410 PASEO DEL PRINCIPE                                                                                       PONCE             PR      00716‐2854
FIDEICOMISO JIMENEZ RIVERA                 URB MONTEHIEDRA                          217 CALLE ZORZAL                                                    SAN JUAN          PR      00926‐7111
FIDEICOMISO JORDAN SANCHEZ                 PO BOX 190132                                                                                                SAN JUAN          PR      00919‐0132
FIDEICOMISO JORGE I RIVERA RIVERA          PO BOX 7109                                                                                                  CAGUAS            PR      00726‐7109
FIDEICOMISO JUARBE LUGO                    TERRAZAS PARQ ESCORIAL                   603 BLVD MEDIA LUNA APT 4506                                        CAROLINA          PR      00987‐6618




                                                                                                                 Page 2817 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2818 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                              Address1                                 Address2                                      Address3   Address4   City            State   PostalCode   Country
FIDEICOMISO KARIAN ISABEL VAZQUEZ          410 PASEO DEL PRINCIPE                                                                                       PONCE           PR      00716‐2854
FIDEICOMISO LA ESCUELA DE DERECHO UPR      PO BOX 23349                                                                                                 SAN JUAN        PR      00931
FIDEICOMISO LA FAMILIA                     3 SECTOR SANTA TERESITA                                                                                      NARANJITO       PR      00719‐8739
FIDEICOMISO LALMFC                         2011 AVE PEDRO ALBIZU CAMPOS                                                                                 AGUADILLA       PR      00603
FIDEICOMISO LAS MESAS                      PO BOX 1194                                                                                                  MAYAGUEZ        PR      00681‐1194
FIDEICOMISO LASA CORTES                    PO BOX 545 EL SENORIAL MAIN STATION                                                                          SAN JUAN        PR      00926
FIDEICOMISO LEBRON RODRIGUEZ               COND PARQUE DE LOYOLA                    500 AVE PINERO SUITE 1205                                           SAN JUAN        PR      00918
FIDEICOMISO LOPEZ FALERO                   3071 AVE ALEJANDRINO PMB 230                                                                                 GUAYNABO        PR      00969 4800
FIDEICOMISO LUGO RIVERA                    PO BOX 9                                                                                                     HORMIGUEROS     PR      00660‐0009
FIDEICOMISO LUIS ALEXIS ROMAN              EXT ROOSEVELT                            391 CALLE SARGENTO MEDINA                                           SAN JUAN        PR      00918‐3823
FIDEICOMISO LUIS C VILLAFANEZ              PO BOX 8369                                                                                                  SAN JUAN        PR      00910‐0369
FIDEICOMISO MALOY DUFOUR                   PO BOX 2762                                                                                                  SAN JUAN        PR      00936‐2762
FIDEICOMISO MANGUAL CARDONA                PO BOX 1673                                                                                                  CANOVANAS       PR      00729
FIDEICOMISO MARIA DEL MAR FUENTES FUENTE PO BOX 3443                                                                                                    GUAYNABO        PR      00970
FIDEICOMISO MARIA E FLORES RAMIREZ         URB GARDEN VILLE                         D 8 CALLE BRAZIL                                                    GUAYNABO        PR      00966
FIDEICOMISO MARIA E RAMIREZ BENIQUEZ       HC 61 BOX 34653                                                                                              AGUADA          PR      00602‐9413
FIDEICOMISO MARIAELENA SOMOZA FERNANDEZEDIF CENTRO DE SEGUROS                       701 AVE PONCE DE LEON STE 407                                       SAN JUAN        PR      00907‐3248
FIDEICOMISO MAURICIO I NICOLAS BARB        EDIF CENTRO DE SEGUROS                   701 AVE PONCE DE LEON STE 407                                       SAN JUAN        PR      00907‐3248
FIDEICOMISO MERCADO VIZCARRONDO            PO BOX 9023980                                                                                               SAN JUAN        PR      00902‐3980
FIDEICOMISO MIRGIA ROMAN                   PO BOX 1868                                                                                                  ISABELA         PR      00662‐1868
FIDEICOMISO MIRZA MATOS CASTILLO           LA CIMA DE TORRIMAR                      14 CARR 833 APT 1603                                                GUAYNABO        PR      00969
FIDEICOMISO MOSQUERA PARDO                 985 CARR 349 APT 804                                                                                         MAYAGUEZ        PR      00680‐8415
FIDEICOMISO MUNOZ LOPEZ                    COND LAS MESAS                           985 CARR 349 APT 804                                                MAYAGUEZ        PR      00680 8415
FIDEICOMISO MYRNA VICTORIA SUAREZ RIOS     C/O EUROBANK                             270 AVE MUNOZ RIVERA                                                SAN JUAN        PR      00918
FIDEICOMISO NATALIA SOFIA BERNAL FERNANDEEDIF CENTRO DE SEGUROS                     701 AVE PONCE DE LEON STE 407                                       SAN JUAN        PR      00907‐3248
FIDEICOMISO OCD                            DEPARTAMENTO DE HACIENDA                 PO BOX 9022501                                                      SAN JUAN        PR      00902‐2501
FIDEICOMISO OLIMPICO DE PR                 P O BOX 2004                                                                                                 SALINAS         PR      00751
FIDEICOMISO OLIMPICO DE PUERTO RICO        APARTADO 2004                                                                                                SALINAS         PR      00751‐0000
FIDEICOMISO OLIMPICO DE PUERTO RICO        CARR. 712 KM 0.3                                                                                             SALINAS         PR      00751‐0000
FIDEICOMISO OLIMPICO DE PUERTO RICO        PO BOX 2004                                                                                                  SALINAS         PR      00751
FIDEICOMISO OTERO PEREZ                    PO BOX 143691                                                                                                ARECIBO         PR      00614‐3691
FIDEICOMISO PARA BENEDICIO DE NORMA IRIS AURB BALDRICH                              203 CALLE PRESIDENTE RAMIREZ                                        SAN JUAN        PR      00918‐4319
FIDEICOMISO PARA EL RETIRO WALESKA OLIVENCPO BOX 191429                                                                                                 SAN JUAN        PR      00919‐1429
FIDEICOMISO PARA ESCUELA DE DERECHO        PO BOX 23349                                                                                                 SAN JUAN        PR      00931‐3349
FIDEICOMISO PARA LA ESCUELA DE DERECHO     PO BOX 23349                                                                                                 SAN JUAN        PR      00931‐3349
FIDEICOMISO PARA LA ESCUELA DE DERECHO     SEGUNDO PISO ESCUELA DE DERECHO UPR OFIC PO.BOX 23349                                                        SAN JUAN        PR      00931‐3349
FIDEICOMISO PEDRO A ZABALETA               PO BOX 366736                                                                                                SAN JUAN        PR      00936‐6736
FIDEICOMISO PINO LOPEZ                     PO BOX 299                                                                                                   MAYAGUEZ        PR      00681‐0299
FIDEICOMISO REBECA J NEGRON DAMSKY         URB BALDRICH                             203 CALLE PRESIDENTE RAMIREZ                                        SAN JUAN        PR      00918‐4319
FIDEICOMISO RIVAS RODRIGUEZ                F 17 EXT SANTA ELENA CALLE 4                                                                                 GUAYANILLA      PR      00656
FIDEICOMISO RIVERA GARCIA                  PASEO DEL PRADO                          F2 CAMINO LAS MARGARITAS                                            SAN JUAN        PR      00926‐5915
FIDEICOMISO RODRIGUEZ SERRANO              COND METRO PLAZA                         303 CALLE VILLAMIL APT 503                                          SAN JUAN        PR      00907
FIDEICOMISO RODRIGUEZ‐CORAPI               URB MONTEHIEDRA                          211 CALLE ZORZAL                                                    SAN JUAN        PR      00926‐7111
FIDEICOMISO RUANO DELA IGLESIA             PO BOX 6699                                                                                                  MAYAGUEZ        PR      00681
FIDEICOMISO SONIA VILA MALAVE              PO BOX 8764                                                                                                  SAN JUAN        PR      00910‐0764
FIDEICOMISO SOSA MARTINEZ                  PO BOX 1318                                                                                                  MAYAGUEZ        PR      00681
FIDEICOMISO SOTO MARTINEZ                  PO BOX 13616                                                                                                 SAN JUAN        PR      00908‐3616
FIDEICOMISO SOTOMAYOR CANDELARIA           HC 8 BOX 45023                                                                                               AGUADILLA       PR      00603‐9717
FIDEICOMISO SUAREZ BENITEZ                 C/O EUROBANK                             270 AVE MUNOZ RIVERA                                                SAN JUAN        PR      00918
FIDEICOMISO SYLVETTE CANCIO ACEVEDO        COND MIRAMAR ROYAL‐TORRE NOR             706 CALLE ROOSEVELT APT 1‐1001                                      SAN JUAN        PR      00907‐3470
FIDEICOMISO TESTMENTARIO FRANCISCO ALONSPO BOX 192453                                                                                                   SAN JUAN        PR      00919‐2453
FIDEICOMISO VALENTIN‐CAMUNAS               PO BOX 39                                                                                                    AGUADILLA       PR      00605‐0039
FIDEICOMISO VANNESA BAYONET DIAZ           URB TORREMOLINOS                         H14 CALLE E                                                         GUAYNABO        PR      00969‐3728
FIDEICOMISO VEGA RIVERA                    COND SAN LUIS                            54 CALLE PALMERAS APT 503                                           SAN JUAN        PR      00901‐2426
FIDEICOMISO VEROLIA                        PO BOX 10122                                                                                                 SAN JUAN        PR      00908‐1122
FIDEICOMISO VICENTE A SUAREZ RIOS          C/O EUROBANK                             270 AVE MUNOZ RIVERA                                                SAN JUAN        PR      00918
FIDEICOMISO VIVA                           PO BOX 364428                                                                                                SAN JUAN        PR      00936
FIDEIUCOMIISO EN BENEFICIO DE PEDRO JOSE ZAPO BOX 192336                                                                                                SAN JUAN        PR      00919‐2336
FIDEL A COLLAZO SANTIAGO                   ADDRESS ON FILE
FIDEL A IRIZARRY IRIZARRY                  ADDRESS ON FILE




                                                                                                                Page 2818 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                                 Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 2819 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                          Creditor Matrix

Creditor Name                              Address1                                            Address2                                   Address3            Address4           City              State   PostalCode   Country
FIDEL A SANTANA MARRERO                    ADDRESS ON FILE
FIDEL AUTO                                 H C 3 BOX 33526                                                                                                                       AGUADA            PR      00602
FIDEL BARRIONUEVO RIVERA                   ADDRESS ON FILE
FIDEL CABRERA CABRERA                      ADDRESS ON FILE
FIDEL CRUZADO VEGA                         ADDRESS ON FILE
FIDEL CRUZADO VEGA                         ADDRESS ON FILE
FIDEL CRUZADO VEGA                         ADDRESS ON FILE
FIDEL DE GRACIA COLON                      ADDRESS ON FILE
FIDEL DE GRACIA COLON                      ADDRESS ON FILE
FIDEL E RIVERA ALVARADO                    ADDRESS ON FILE
FIDEL ESTRADA COLLAZO                      ADDRESS ON FILE
FIDEL FIGUEROA RIVERA                      ADDRESS ON FILE
FIDEL GONZALEZ ALMENAS                     ADDRESS ON FILE
FIDEL GONZALEZ ALMENAS                     ADDRESS ON FILE
FIDEL IRIZARRY RIVERA                      LCDA. CAREN A. RUIZ PÉREZ                           LCDA. CAREN A. RUIZ PÉREZ CALLE ANGEL G. MARTINEZ #5                              SABANA GRANDE     PR      00637
FIDEL IRIZARRY RIVERA                      LCDO. JOSÉ M. BRACETE ALMODOVAR                     LCDO. JOSÉ M. BRACETE ALMODOVAR             PO BOX 189                            YAUCO             PR      00698
FIDEL LOZANO GALLARDO                      ADDRESS ON FILE
FIDEL MUNIZ HERNANDEZ                      ADDRESS ON FILE
FIDEL ORTIZ LABOY                          ADDRESS ON FILE
FIDEL PADILLA SANTOS                       ADDRESS ON FILE
FIDEL RODRIGUEZ ARGUINZONI                 ADDRESS ON FILE
FIDEL RODRIGUEZ DE JESUS                   ADDRESS ON FILE
FIDEL SANTIAGO TORRES                      ADDRESS ON FILE
FIDEL TIRADO JUARBE                        ADDRESS ON FILE
FIDEL VAZQUEZ ROSADO                       ADDRESS ON FILE
FIDEL VELEZ RODRIGUEZ                      ADDRESS ON FILE
FIDELA PINET DE PIZARRO                    ADDRESS ON FILE
FIDELA SOTO NIEVES                         ADDRESS ON FILE
FIDELINA DEL VALLE TIRADO                  ADDRESS ON FILE
FIDELINA LOZANO ARBOLEDA                   ADDRESS ON FILE
FIDELINA RODRIGUEZ ORTIZ                   ADDRESS ON FILE
FIDELINA RODRIGUEZ QUINONES                ADDRESS ON FILE
FIDELINA VELAZQUEZ VELAZQUEZ               ADDRESS ON FILE
FIDELIS SOLUTIONS LLC                      PO BOX 191198                                                                                                                         SAN JUAN          PR      00919
Fidelity & Guaranty Life Insurance Company Attn: Christopher Bacon, Premiun Tax Contact 1001 Fleet Street                                                                        Baltimore         MD      21202
Fidelity & Guaranty Life Insurance Company Attn: Eric Marhoun, Regulatory Compliance Gove 1001 Fleet Street                                                                      Baltimore         MD      21202
Fidelity & Guaranty Life Insurance Company Attn: Eric Marhoun, Vice President                  1001 Fleet Street                                                                 Baltimore         MD      21202
Fidelity & Guaranty Life Insurance Company Attn: Jason Kaster, Consumer Complaint Contact 1001 Fleet Street                                                                      Baltimore         MD      21202
Fidelity & Guaranty Life Insurance Company Attn: Jodi Hyde, Circulation of Risk                1001 Fleet Street                                                                 Baltimore         MD      21202
Fidelity & Guaranty Life Insurance Company c/o FGR Corporate Services, Inc., Agent for Servic 1001 Fleet Street                                                                  Baltimore         MD      21202
Fidelity & Guaranty Life Insurance Company Ruan II Center                                      601 Locust Street                                                                 De Moines         IA      50309
FIDELITY AND DEPOSIT CO                    T1‐14 CORPORATE TAX DEPARTME                        1400 AMERICAN LN                                                                  SCHAUMBURG        IL      60196‐5452
Fidelity And Deposit Company of Maryland   600 Red Brook Boulevard                             4th Floor                                                                         Owings Mills      MD      21117
Fidelity And Deposit Company of Maryland   Attn: Cheryl Neson, Circulation of Risk             1400 American Lane                                                                Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   Attn: Chuck Treanor, Premiun Tax Contact            1400 American Lane                                                                Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   Attn: David Bower, Vice President                   1400 American Lane                                                                Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   Attn: Dennis Kerrigan, Vice President               1400 American Lane                                                                Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   Attn: Eileen Maloney, Regulatory Compliance Gov1400 American Lane                                                                     Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   Attn: Nancy Mueller, President                      1400 American Lane                                                                Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   Attn: Susan Kendziora, Consumer Complaint Cont1400 American Lane                                                                      Schaumburg        IL      60196
Fidelity And Deposit Company of Maryland   c/o Law Offices of Ivan M. Fernandez, Agent for S1400 American Lane                                                                   Schaumburg        IL      60196
FIDELITY AND DEPOSIT COMPANY OF MARYLANDGERMAN A. RIECKEHOFF                                   GERMAN RIECKEHOFF                          CALLE URUGUAY 273   CENTRUM PLAZA 5A   SAN JUAN          PR      00917
FIDELITY AND DEPOSIT COMPANY OF MARYLANDLAURA MALDONADO‐RODRIGUEZ                              LAURA MALDONADO LAW OFFICE                 PO BOX 191736                          SAN JUAN          PR      00919
FIDELITY NATIONAL INSURANCE COMPANY        601 RIVERSIDE                                       AVE BLDG 5 SUITE 200                                                              JACKSONVILLE      FL      32204
Fidelity National Title Insurance Company  601 Riverside Avenue                                                                                                                  Jacksonville      FL      32204
Fidelity National Title Insurance Company  Attn: Jan Wilson, President                         601 Riverside Avenue                                                              Jacksonville      FL      32204
Fidelity National Title Insurance Company  Attn: John Chytraus, Circulation of Risk            601 Riverside Avenue                                                              Jacksonville      FL      32204
Fidelity National Title Insurance Company  Attn: See Rennie, Premiun Tax Contact               601 Riverside Avenue                                                              Jacksonville      FL      32204
Fidelity National Title Insurance Company  c/o Fidelity National Title Gruop Puerto Rico, Inc. 601 Riverside Avenue                                                              Jacksonville      FL      32204
Fidelity National Title Insurance Company  c/o Regulatory Department, Consumer Complain 601 Riverside Avenue                                                                     Jacksonville      FL      32204




                                                                                                                        Page 2819 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2820 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                               Address1                                      Address2                              Address3   Address4   City                State   PostalCode   Country
Fidelity National Title Insurance Company   c/o Regulatory Department, Regulatory Complian601 Riverside Avenue                                        Jacksonville        FL      32204
FIDELITY PROPERTY INCOME TRUST              EXCHANGE PLACE                                                                                            BOSTON              MA      02109‐2881
Fidelity Warranty Services, Inc.            500 Jim Moran Boulevard                                                                                   Deerfield Beach     FL      33442
FIDENCIA GONZALEZ                           ADDRESS ON FILE
FIDENCIO MENDEZ CORDERO                     ADDRESS ON FILE
FIDEOCOMISO LOPEZ LOPEZ                     URB VISTA VERDE                               47 URB VISTA VERDE                                          CAMUY               PR      00627‐3302
FIDES LAW GROUP LLC                         PO BOX 153                                                                                                CABO ROJO           PR      00623
FIDIA A ARIAS PIMENTEL                      ADDRESS ON FILE
FIDIAS H. MORENO ALVALLE                    ADDRESS ON FILE
FIDICOMISO CARLOS JOSE CASTELL              PO BOX 360781                                                                                             SAN JUAN            PR      00936
FIDUCIARY DIONISIO MIRANDA PEREZ            PO BOX 364704                                                                                             SAN JUAN            PR      00936‐4704
FIDUCIARY FOR THE BENEFIT OF AGNES D FUER   PO BOX 1298                                                                                               GUAYNABO            PR      00970‐1298
FIEDLER & FRIAS ARQUITECTOS                 CALLE CESAR GONZALEZ 356                                                                                  SAN JUAN            PR      00918‐2114
FIEDLER DAMIANI, JEAN MICHEL                ADDRESS ON FILE
FIEGUEROA RIVERA, IRIS A.                   ADDRESS ON FILE
FIEL MARTINEZ, NANCY                        ADDRESS ON FILE
FIELD & PERMITS PSC                         URB LOS ANGELES                               46 CALLE TAURO                                              CAROLINA            PR      00979
Fields Arosemena, Luis A                    ADDRESS ON FILE
FIELDS AROSEMENA, LUIS ALBERTO              ADDRESS ON FILE
FIELDS GARCIA, CHARLENE                     ADDRESS ON FILE
FIELDS, SARAH                               ADDRESS ON FILE
FIERRES GONZALEZ, JUAN                      ADDRESS ON FILE
FIESTECITA DBA SUZBEIDAD RIVERA MURPHY      VILLA BLANCA                                  22 AVE MUNOZ MARIN                                          CAGUAS              PR      00725
FIFA CORP                                   MCS 549 WINSTON CHURCHILL 138                                                                             SAN JUAN            PR      00926
FIFTH MATE PRODUCTION INC                   500 S BUENA VISTA STREET                                                                                  BURBANK             CA      91521
FIFTH&PACIFIC COMPANIES PUERTO RICOINC      8TH FL TAX DEPT                               5901 W SIDE AVE                                             NORTH BERGEN        NJ      07047‐6451
FIGARELLA RIESTRA, MAREN                    ADDRESS ON FILE
Figarella Riestra, Maren                    ADDRESS ON FILE
FIGARELLA VIRAZEL, GUY M                    ADDRESS ON FILE
FIGARO BARETT, LOURDES                      ADDRESS ON FILE
FIGARO BARETT, LOURDES                      ADDRESS ON FILE
FIGARO KELLY, MIGDALIA                      ADDRESS ON FILE
FIGARO KELLY, OLGA M                        ADDRESS ON FILE
FIGUEIRA LOPEZ, CHANATHA M                  ADDRESS ON FILE
FIGUEIRAS REVUELTA, ANTONIA                 ADDRESS ON FILE
FIGUEIRAS REVUELTA, CONSUELO                ADDRESS ON FILE
FIGUEORA ZAYAS, ELSA                        ADDRESS ON FILE
FIGUER A ORTIZ, OLGA                        ADDRESS ON FILE
FIGUERA RODRIGUEZ, ROSA                     ADDRESS ON FILE
FIGUERAS ALVAREZ & ASSOC.                   AVE HOSTOS # 511                              204 SUITE                                                   SAN JUAN            PR      00917
FIGUERAS ALVAREZ, JORGE                     ADDRESS ON FILE
FIGUERAS COLON, WILFREDO                    ADDRESS ON FILE
Figueras Cruz, Leonardo                     ADDRESS ON FILE
FIGUERAS FIGUEROA, MARIA DEL C              ADDRESS ON FILE
FIGUERAS GONZALEZ, JOSE M.                  ADDRESS ON FILE
FIGUERAS IDELFONSO, JENNIFE                 ADDRESS ON FILE
FIGUERAS PEREZ, MOISES                      ADDRESS ON FILE
FIGUERAS TORRES, WILFREDO                   ADDRESS ON FILE
FIGUERAS, EMMA I.                           ADDRESS ON FILE
FIGUERE ENTERPRISE CORPORATION              URB MUNOZ MARIN                               4 CALLE 2                                                   SAN LORENZO         PR      00754
FIGUEREDO BREA, ROBERTO                     ADDRESS ON FILE
FIGUEREDO RESTO, JORGE A.                   ADDRESS ON FILE
FIGUEREO JAQUES, BIVIANA M                  ADDRESS ON FILE
FIGUEREO JIMENEZ, GREGORIO                  ADDRESS ON FILE
FIGUEREO MD, SANTIAGO                       ADDRESS ON FILE
FIGUEREO, JOHANNY                           ADDRESS ON FILE
FIGUERO ACOSTA, PEDRO                       ADDRESS ON FILE
FIGUERO MARTINEZ, ARNALDO                   ADDRESS ON FILE
FIGUERO QUINONES, JOHN                      ADDRESS ON FILE
FIGUEROA ACEVEDO, ISMAEL                    ADDRESS ON FILE




                                                                                                                 Page 2820 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2821 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Figueroa Albino, Enrique       ADDRESS ON FILE
Figueroa Cintron, Roberto      ADDRESS ON FILE
FIGUEROA GUADALUPE, JUANA M.   ADDRESS ON FILE
FIGUEROA ., PAULA I            ADDRESS ON FILE
FIGUEROA ABREU, ALBA K.        ADDRESS ON FILE
FIGUEROA ABREU, LISA E         ADDRESS ON FILE
FIGUEROA ABREU, MARCIA         ADDRESS ON FILE
FIGUEROA ACEVEDO, ALFREDO      ADDRESS ON FILE
FIGUEROA ACEVEDO, EDWIN E      ADDRESS ON FILE
FIGUEROA ACEVEDO, EUGENIO      ADDRESS ON FILE
FIGUEROA ACEVEDO, GUILLERMO    ADDRESS ON FILE
FIGUEROA ACEVEDO, JORGE        ADDRESS ON FILE
FIGUEROA ACEVEDO, JOSE         ADDRESS ON FILE
FIGUEROA ACEVEDO, JOSE M       ADDRESS ON FILE
FIGUEROA ACEVEDO, JUAN         ADDRESS ON FILE
FIGUEROA ACEVEDO, LORAINE      ADDRESS ON FILE
FIGUEROA ACEVEDO, LYNNETTE     ADDRESS ON FILE
FIGUEROA ACEVEDO, MAIRA        ADDRESS ON FILE
Figueroa Acevedo, Patria       ADDRESS ON FILE
Figueroa Acevedo, Raul         ADDRESS ON FILE
FIGUEROA ACEVEDO, REINALDO     ADDRESS ON FILE
FIGUEROA ACEVEDO, TATIANA      ADDRESS ON FILE
Figueroa Acevedo, Tomas J      ADDRESS ON FILE
FIGUEROA ACEVEDO, WILLIAM      ADDRESS ON FILE
FIGUEROA ACEVEDO, WILLIAM      ADDRESS ON FILE
Figueroa Acosta, Carlos M      ADDRESS ON FILE
FIGUEROA ACOSTA, ELYNETTE      ADDRESS ON FILE
FIGUEROA ACOSTA, JASELLY       ADDRESS ON FILE
Figueroa Acosta, Juana Y       ADDRESS ON FILE
FIGUEROA ACOSTA, ROBERTO       ADDRESS ON FILE
FIGUEROA ACOSTA, WANDA         ADDRESS ON FILE
FIGUEROA ADORNO, ELADIA        ADDRESS ON FILE
FIGUEROA ADORNO, JOSE E        ADDRESS ON FILE
FIGUEROA AGOSTINI, IVONNE      ADDRESS ON FILE
FIGUEROA AGOSTO, ANGEL         ADDRESS ON FILE
FIGUEROA AGOSTO, BLANCA IRIS   ADDRESS ON FILE
FIGUEROA AGOSTO, CARMEN M      ADDRESS ON FILE
FIGUEROA AGOSTO, DELIANNE      ADDRESS ON FILE
FIGUEROA AGOSTO, IBET          ADDRESS ON FILE
FIGUEROA AGOSTO, JAVIER        ADDRESS ON FILE
FIGUEROA AGOSTO, JOSE L        ADDRESS ON FILE
FIGUEROA AGOSTO, LUZ V         ADDRESS ON FILE
FIGUEROA AGOSTO, LYDIA E       ADDRESS ON FILE
FIGUEROA AGOSTO, MARIA DEL C   ADDRESS ON FILE
FIGUEROA AGOSTO, ORLANDO       ADDRESS ON FILE
FIGUEROA AGOSTO, RAUL          ADDRESS ON FILE
FIGUEROA AGRINSONI, EDITH      ADDRESS ON FILE
FIGUEROA AGRINSONI, LOREILY    ADDRESS ON FILE
FIGUEROA AGRINSONI, RAMON E.   ADDRESS ON FILE
FIGUEROA AGRON, JOSE A         ADDRESS ON FILE
Figueroa Agront, Noemi         ADDRESS ON FILE
FIGUEROA AGRONT, NOEMI         ADDRESS ON FILE
FIGUEROA AGUALIP, DAMARIS      ADDRESS ON FILE
FIGUEROA AGUALIP, MARILYN      ADDRESS ON FILE
FIGUEROA AGUAYO, YASMAR        ADDRESS ON FILE
FIGUEROA AGUAYO, YOMAR         ADDRESS ON FILE
FIGUEROA AHORRIO, MANUEL       ADDRESS ON FILE
FIGUEROA ALAMO, ANGEL M.       ADDRESS ON FILE
FIGUEROA ALAMO, JESSICA        ADDRESS ON FILE
FIGUEROA ALAMO, LUZ            ADDRESS ON FILE




                                                                           Page 2821 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2822 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA ALAMO, MADELYNE             ADDRESS ON FILE
FIGUEROA ALAMO, MARIEL A             ADDRESS ON FILE
FIGUEROA ALBELO, GLENDALIZ           ADDRESS ON FILE
FIGUEROA ALBINO, MARITZA I           ADDRESS ON FILE
FIGUEROA ALBIZU, IVETTE              ADDRESS ON FILE
Figueroa Alcala, Gregorio            ADDRESS ON FILE
FIGUEROA ALCALA, PAMELA              ADDRESS ON FILE
FIGUEROA ALDOY, IRIS M               ADDRESS ON FILE
FIGUEROA ALEMAN, JAVIER              ADDRESS ON FILE
FIGUEROA ALEMANY, PAOLA              ADDRESS ON FILE
FIGUEROA ALENOT, MARILISA            ADDRESS ON FILE
FIGUEROA ALERS, ISABEL E             ADDRESS ON FILE
FIGUEROA ALERS, ROSITA               ADDRESS ON FILE
FIGUEROA ALICEA, AIDA                ADDRESS ON FILE
FIGUEROA ALICEA, CARLOS              ADDRESS ON FILE
FIGUEROA ALICEA, CARLOS E            ADDRESS ON FILE
FIGUEROA ALICEA, EFRAIN              ADDRESS ON FILE
FIGUEROA ALICEA, ESTHER              ADDRESS ON FILE
FIGUEROA ALICEA, FRANCISCO J         ADDRESS ON FILE
FIGUEROA ALICEA, JEFFREY             ADDRESS ON FILE
FIGUEROA ALICEA, JOSE                ADDRESS ON FILE
FIGUEROA ALICEA, KRISTINA            ADDRESS ON FILE
FIGUEROA ALICEA, LISSETTE            ADDRESS ON FILE
FIGUEROA ALICEA, LORRAINE            ADDRESS ON FILE
FIGUEROA ALICEA, LOURDES             ADDRESS ON FILE
FIGUEROA ALICEA, MARCELINO           ADDRESS ON FILE
FIGUEROA ALICEA, MARIA M             ADDRESS ON FILE
Figueroa Alicea, Miguel              ADDRESS ON FILE
FIGUEROA ALICEA, MYRNA               ADDRESS ON FILE
FIGUEROA ALICEA, SANTA               ADDRESS ON FILE
FIGUEROA ALICEA, SONIA               ADDRESS ON FILE
FIGUEROA ALICEA, SONIA               ADDRESS ON FILE
FIGUEROA ALMODOVAR, CHRISTOPHER      ADDRESS ON FILE
FIGUEROA ALMODOVAR, HERIBERTO        ADDRESS ON FILE
FIGUEROA ALMODOVAR, JUANITA          ADDRESS ON FILE
FIGUEROA ALMODOVAR, LUIS             ADDRESS ON FILE
FIGUEROA ALMODOVAR, MARIBEL          ADDRESS ON FILE
FIGUEROA ALONSO, CARMEN S            ADDRESS ON FILE
FIGUEROA ALONSO, CARMEN S.           ADDRESS ON FILE
FIGUEROA ALVARADO, ALEXANDRA MARIE   ADDRESS ON FILE
Figueroa Alvarado, Brunilda          ADDRESS ON FILE
FIGUEROA ALVARADO, BRUNILDA          ADDRESS ON FILE
FIGUEROA ALVARADO, BRUNILDA          ADDRESS ON FILE
FIGUEROA ALVARADO, CARLOS            ADDRESS ON FILE
FIGUEROA ALVARADO, GRISELLE          ADDRESS ON FILE
FIGUEROA ALVARADO, ISRAEL            ADDRESS ON FILE
FIGUEROA ALVARADO, MELISSA           ADDRESS ON FILE
FIGUEROA ALVARADO, MELVIN J          ADDRESS ON FILE
FIGUEROA ALVARADO, NICHOLE           ADDRESS ON FILE
FIGUEROA ALVARADO, OMAR              ADDRESS ON FILE
FIGUEROA ALVARADO, ROBERTO           ADDRESS ON FILE
FIGUEROA ALVARADO, ROSA              ADDRESS ON FILE
FIGUEROA ALVARADO, VICTOR I.         ADDRESS ON FILE
FIGUEROA ALVAREZ, AMARILIS           ADDRESS ON FILE
FIGUEROA ALVAREZ, ANGEL              ADDRESS ON FILE
FIGUEROA ALVAREZ, EDWIN              ADDRESS ON FILE
FIGUEROA ALVAREZ, ESTHER             ADDRESS ON FILE
FIGUEROA ALVAREZ, EUGENIO            ADDRESS ON FILE
Figueroa Alvarez, Frank              ADDRESS ON FILE
FIGUEROA ALVAREZ, FRANK              ADDRESS ON FILE




                                                                                 Page 2822 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2823 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA ALVAREZ, GLORIMAR          ADDRESS ON FILE
FIGUEROA ALVAREZ, HARRY             ADDRESS ON FILE
FIGUEROA ALVAREZ, IRMA              ADDRESS ON FILE
FIGUEROA ALVAREZ, ISABEL            ADDRESS ON FILE
FIGUEROA ALVAREZ, JOSE              ADDRESS ON FILE
FIGUEROA ALVAREZ, LISMARIE          ADDRESS ON FILE
FIGUEROA ALVAREZ, MAGDALIS          ADDRESS ON FILE
FIGUEROA ALVAREZ, MARIBEL           ADDRESS ON FILE
FIGUEROA ALVAREZ, MARIELA           ADDRESS ON FILE
FIGUEROA ALVAREZ, MARY A.           ADDRESS ON FILE
FIGUEROA ALVAREZ, MIGUEL E.         ADDRESS ON FILE
FIGUEROA ALVAREZ, MILAGROS DE L A   ADDRESS ON FILE
FIGUEROA ALVAREZ, MILDRED G         ADDRESS ON FILE
FIGUEROA ALVAREZ, MILTON            ADDRESS ON FILE
FIGUEROA ALVAREZ, MONSERRATE        ADDRESS ON FILE
FIGUEROA ALVAREZ, MYRNA             ADDRESS ON FILE
FIGUEROA ALVAREZ, NOELIA            ADDRESS ON FILE
FIGUEROA ALVAREZ, SALVADOR          ADDRESS ON FILE
FIGUEROA ALVAREZ, SANDRA I          ADDRESS ON FILE
FIGUEROA ALVAREZ, SANDRA L          ADDRESS ON FILE
FIGUEROA ALVAREZ, VICTORIA          ADDRESS ON FILE
FIGUEROA ALVELO, CARLOS             ADDRESS ON FILE
Figueroa Alverea, Ruben             ADDRESS ON FILE
FIGUEROA AMADEO,REYNALDO            ADDRESS ON FILE
FIGUEROA AMALBERT, JENNIFER         ADDRESS ON FILE
Figueroa Amoros, Maria M            ADDRESS ON FILE
FIGUEROA ANAYA, EDWIN               ADDRESS ON FILE
Figueroa Anaya, Miraida             ADDRESS ON FILE
FIGUEROA ANDINO, ABRAHAM            ADDRESS ON FILE
FIGUEROA ANDINO, ALEXANDRA          ADDRESS ON FILE
FIGUEROA ANDINO, ANGEL D            ADDRESS ON FILE
FIGUEROA ANDINO, CARMEN M.          ADDRESS ON FILE
FIGUEROA ANDINO, FRANCISCO          ADDRESS ON FILE
FIGUEROA ANDINO, MARIA DEL          ADDRESS ON FILE
FIGUEROA ANDINO, MARIA DEL CARMEN   ADDRESS ON FILE
FIGUEROA ANDRADE, RAQUEL            ADDRESS ON FILE
FIGUEROA ANDUJAR, CARMEN            ADDRESS ON FILE
FIGUEROA ANDUJAR, DAISY             ADDRESS ON FILE
Figueroa Andujar, Jose M            ADDRESS ON FILE
FIGUEROA ANGELET, ELI               ADDRESS ON FILE
FIGUEROA ANGLERO, KATHERINE         ADDRESS ON FILE
FIGUEROA APONTE, ALBA E             ADDRESS ON FILE
FIGUEROA APONTE, ALBA E             ADDRESS ON FILE
FIGUEROA APONTE, ANA I              ADDRESS ON FILE
FIGUEROA APONTE, ANGEL A.           ADDRESS ON FILE
FIGUEROA APONTE, CARMEN M           ADDRESS ON FILE
FIGUEROA APONTE, EDNA               ADDRESS ON FILE
FIGUEROA APONTE, EDNA               ADDRESS ON FILE
FIGUEROA APONTE, ELVIN              ADDRESS ON FILE
FIGUEROA APONTE, GLORIBEL           ADDRESS ON FILE
FIGUEROA APONTE, ILIANISSE          ADDRESS ON FILE
FIGUEROA APONTE, INGRID M           ADDRESS ON FILE
FIGUEROA APONTE, JOHN               ADDRESS ON FILE
FIGUEROA APONTE, MYRIAM I.          ADDRESS ON FILE
FIGUEROA APONTE, MYRTA ENID         ADDRESS ON FILE
FIGUEROA APONTE, NORMA              ADDRESS ON FILE
FIGUEROA APONTE, NORMA I            ADDRESS ON FILE
FIGUEROA APONTE, VICTOR             ADDRESS ON FILE
FIGUEROA APONTE, VIVIAN E           ADDRESS ON FILE
FIGUEROA APONTE, YARNILUZ           ADDRESS ON FILE




                                                                                Page 2823 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2824 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Figueroa Aquino, Samuel            ADDRESS ON FILE
FIGUEROA ARANA, YARIANA            ADDRESS ON FILE
FIGUEROA ARCE, HARRY W             ADDRESS ON FILE
FIGUEROA ARCE, IRIS J              ADDRESS ON FILE
FIGUEROA ARCE, LUZ I               ADDRESS ON FILE
FIGUEROA ARCELAY, MAYDA            ADDRESS ON FILE
FIGUEROA ARCELAY, OLGA I           ADDRESS ON FILE
FIGUEROA ARCHILLA, CARMEN DEL R    ADDRESS ON FILE
FIGUEROA ARES, EMINELIA            ADDRESS ON FILE
FIGUEROA ARES, MERARI              ADDRESS ON FILE
Figueroa Ares, Samuel              ADDRESS ON FILE
FIGUEROA ARGUESO, LUIS             ADDRESS ON FILE
FIGUEROA ARIZMENDI, MANUEL         ADDRESS ON FILE
FIGUEROA ARJENIS, J                ADDRESS ON FILE
FIGUEROA ARMAIZ, MAYRA             ADDRESS ON FILE
FIGUEROA ARRIAGA, DIALIS BARBARA   ADDRESS ON FILE
FIGUEROA ARROY, MARIANELA          ADDRESS ON FILE
FIGUEROA ARROYO, ADA C.            ADDRESS ON FILE
FIGUEROA ARROYO, CARMEN            ADDRESS ON FILE
FIGUEROA ARROYO, CYNTHIA A         ADDRESS ON FILE
FIGUEROA ARROYO, EDWIN             ADDRESS ON FILE
FIGUEROA ARROYO, EDWIN             ADDRESS ON FILE
FIGUEROA ARROYO, EFRAIN            ADDRESS ON FILE
FIGUEROA ARROYO, EMILIO            ADDRESS ON FILE
FIGUEROA ARROYO, GUILLERMO         ADDRESS ON FILE
Figueroa Arroyo, Josefa M          ADDRESS ON FILE
FIGUEROA ARROYO, MARCO             ADDRESS ON FILE
FIGUEROA ARROYO, NILSA             ADDRESS ON FILE
FIGUEROA ARROYO, PEDRO             ADDRESS ON FILE
Figueroa Arroyo, Pedro L           ADDRESS ON FILE
FIGUEROA ARROYO, TERESA            ADDRESS ON FILE
FIGUEROA ARROYO,EFRAIN             ADDRESS ON FILE
FIGUEROA ARUS, ILIA                ADDRESS ON FILE
FIGUEROA ARUS, ILSA                ADDRESS ON FILE
FIGUEROA ASTACIO, AWILDA           ADDRESS ON FILE
FIGUEROA AULET, LUIS               ADDRESS ON FILE
FIGUEROA AULET, LUIS               ADDRESS ON FILE
FIGUEROA AVIDOT, JUAN A.           ADDRESS ON FILE
FIGUEROA AVILA, ANABEL             ADDRESS ON FILE
FIGUEROA AVILA, JUAN C             ADDRESS ON FILE
FIGUEROA AVILES, DORIS D           ADDRESS ON FILE
FIGUEROA AVILES, EDDIE             ADDRESS ON FILE
FIGUEROA AVILES, HECTOR M.         ADDRESS ON FILE
Figueroa Aviles, Jose A            ADDRESS ON FILE
FIGUEROA AVILES, MARISELIS         ADDRESS ON FILE
FIGUEROA AYALA, CARMEN D           ADDRESS ON FILE
FIGUEROA AYALA, EVELYN             ADDRESS ON FILE
FIGUEROA AYALA, HERIBERTO          ADDRESS ON FILE
FIGUEROA AYALA, INDALECIO          ADDRESS ON FILE
FIGUEROA AYALA, JEANNETTE          ADDRESS ON FILE
Figueroa Ayala, Jose E             ADDRESS ON FILE
FIGUEROA AYALA, JOSE EMILIO        ADDRESS ON FILE
Figueroa Ayala, Karla Michelle     ADDRESS ON FILE
Figueroa Ayala, Luis J             ADDRESS ON FILE
Figueroa Ayala, Maria              ADDRESS ON FILE
FIGUEROA AYALA, MARIA              ADDRESS ON FILE
FIGUEROA AYALA, MARIA I.           ADDRESS ON FILE
FIGUEROA AYALA, NARDDY             ADDRESS ON FILE
FIGUEROA AYALA, NORMA I            ADDRESS ON FILE
Figueroa Ayala, Rafael             ADDRESS ON FILE




                                                                               Page 2824 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2825 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA AYALA, RAFAEL             ADDRESS ON FILE
FIGUEROA AYALA, RAFAEL             ADDRESS ON FILE
FIGUEROA AYALA, RAMON L.           ADDRESS ON FILE
FIGUEROA AYALA, ROSA               ADDRESS ON FILE
FIGUEROA AYUSO, MARIA E            ADDRESS ON FILE
FIGUEROA BADILLO, LIVETTE          ADDRESS ON FILE
Figueroa Badillo, Wilson           ADDRESS ON FILE
FIGUEROA BAEZ, ADANEPH             ADDRESS ON FILE
FIGUEROA BAEZ, ADRIANA C           ADDRESS ON FILE
FIGUEROA BAEZ, AGUSTIN             ADDRESS ON FILE
Figueroa Baez, Bernardo            ADDRESS ON FILE
FIGUEROA BAEZ, CARMEN L            ADDRESS ON FILE
FIGUEROA BAEZ, DANIEL              ADDRESS ON FILE
FIGUEROA BAEZ, EDUARDO             ADDRESS ON FILE
FIGUEROA BAEZ, ELISA               ADDRESS ON FILE
FIGUEROA BAEZ, EVELYN              ADDRESS ON FILE
FIGUEROA BAEZ, FRANCISCA           ADDRESS ON FILE
FIGUEROA BAEZ, IRIS                ADDRESS ON FILE
FIGUEROA BAEZ, ISANDER             ADDRESS ON FILE
FIGUEROA BAEZ, ISRAEL              ADDRESS ON FILE
Figueroa Baez, Israel              ADDRESS ON FILE
FIGUEROA BAEZ, JOSE                ADDRESS ON FILE
Figueroa Baez, Jose A.             ADDRESS ON FILE
FIGUEROA BAEZ, JUAN                ADDRESS ON FILE
FIGUEROA BAEZ, MARIA E             ADDRESS ON FILE
Figueroa Baez, Marisol             ADDRESS ON FILE
Figueroa Baez, Midiam              ADDRESS ON FILE
FIGUEROA BAEZ, MILDRED N.          ADDRESS ON FILE
FIGUEROA BAEZ, MIRELLA             ADDRESS ON FILE
FIGUEROA BAEZ, RAFAEL              ADDRESS ON FILE
FIGUEROA BAEZ, RIGOBERTO           ADDRESS ON FILE
FIGUEROA BAEZ, SONIA               ADDRESS ON FILE
FIGUEROA BAEZ, SYLVIA I            ADDRESS ON FILE
FIGUEROA BAEZ, YADIRA              ADDRESS ON FILE
FIGUEROA BARBOSA, GILBERTO         ADDRESS ON FILE
FIGUEROA BARRETO, CHRISTIAN        ADDRESS ON FILE
Figueroa Barreto, Maria M.         ADDRESS ON FILE
FIGUEROA BARRETO, MARILYN          ADDRESS ON FILE
FIGUEROA BARRIOS, RAIMUNDO         ADDRESS ON FILE
FIGUEROA BARRIOS, ROSARIO          ADDRESS ON FILE
FIGUEROA BATISTA, LOURDES          ADDRESS ON FILE
FIGUEROA BATISTA, LYDIA E          ADDRESS ON FILE
FIGUEROA BATISTA, MARIA M          ADDRESS ON FILE
FIGUEROA BATISTA, NILDA L          ADDRESS ON FILE
FIGUEROA BATIZ, VERONICA           ADDRESS ON FILE
FIGUEROA BEAUCHAMP, CARMEN         ADDRESS ON FILE
FIGUEROA BELTRAN, CARMEN           ADDRESS ON FILE
Figueroa Beltran, Javier D         ADDRESS ON FILE
Figueroa Bengochea, Nestor         ADDRESS ON FILE
FIGUEROA BENITEZ, ANA L            ADDRESS ON FILE
FIGUEROA BENITEZ, ANA L.           ADDRESS ON FILE
FIGUEROA BENITEZ, CHRISTIAN OMAR   ADDRESS ON FILE
FIGUEROA BENITEZ, JOSE M.          ADDRESS ON FILE
FIGUEROA BENITEZ, JUAN             ADDRESS ON FILE
FIGUEROA BENJAMIN, IVAN            ADDRESS ON FILE
FIGUEROA BENJAMIN, NELSON          ADDRESS ON FILE
FIGUEROA BENTIEZ, YOMAYRA          ADDRESS ON FILE
Figueroa Berberena, David L        ADDRESS ON FILE
FIGUEROA BERBERENA, DAVID L.       ADDRESS ON FILE
FIGUEROA BERBERENA, JONATHAN       ADDRESS ON FILE




                                                                               Page 2825 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2826 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                      Address1                           Address2                               Address3   Address4   City         State   PostalCode   Country
FIGUEROA BERDECIA, AURY            ADDRESS ON FILE
FIGUEROA BERDECIA, AURY            ADDRESS ON FILE
FIGUEROA BERLEY, OSCAR             ADDRESS ON FILE
FIGUEROA BERLY, LEONEL             ADDRESS ON FILE
FIGUEROA BERMUDEZ, ERLEEN I        ADDRESS ON FILE
FIGUEROA BERMUDEZ, JOSE            ADDRESS ON FILE
FIGUEROA BERMUDEZ, MYRNA L         ADDRESS ON FILE
Figueroa Bernard, Morayma I.       ADDRESS ON FILE
Figueroa Bernier, Jose L           ADDRESS ON FILE
FIGUEROA BERNIER, PABLO            ADDRESS ON FILE
Figueroa Bernier, Ramon            ADDRESS ON FILE
FIGUEROA BERRIOS, ANGEL F.         CATALINA ROSARIO SUARÉZ            PO BOX 1368                                                  OROCOVIS     PR      00720
FIGUEROA BERRIOS, ANGEL F.         FLOR SELENITA RODRIGUEZ GONZÁLEZ   503 C/MODESTA APT 507                                        SAN JUAN     PR      00924‐4519
FIGUEROA BERRIOS, CARMEN           ADDRESS ON FILE
FIGUEROA BERRIOS, CARMEN           ADDRESS ON FILE
FIGUEROA BERRIOS, CARMEN H.        ADDRESS ON FILE
FIGUEROA BERRIOS, CARMEN R         ADDRESS ON FILE
FIGUEROA BERRIOS, GILBERTO         ADDRESS ON FILE
FIGUEROA BERRIOS, KIOMARELYS       ADDRESS ON FILE
FIGUEROA BERRIOS, LUZ G            ADDRESS ON FILE
FIGUEROA BERRIOS, MARIA M          ADDRESS ON FILE
FIGUEROA BERRIOS, NILDA I          ADDRESS ON FILE
Figueroa Berrios, Pedro            ADDRESS ON FILE
FIGUEROA BERRIOS, ROSA L           ADDRESS ON FILE
FIGUEROA BERRIOS, ZURIEL           ADDRESS ON FILE
FIGUEROA BERRIOS, ZURIEL R.        ADDRESS ON FILE
FIGUEROA BETANCOURT, CARLOS        ADDRESS ON FILE
FIGUEROA BETANCOURT, CARMEN L      ADDRESS ON FILE
FIGUEROA BETANCOURT, EDGAR         ADDRESS ON FILE
FIGUEROA BETANCOURT, IVETTE        ADDRESS ON FILE
FIGUEROA BETANCOURT, JOEL          ADDRESS ON FILE
FIGUEROA BETANCOURT, JOEL RAFAEL   ADDRESS ON FILE
FIGUEROA BETANCOURT, LIZBETH       ADDRESS ON FILE
Figueroa Betancourt, Omar          ADDRESS ON FILE
FIGUEROA BETANCOURT, RAFAELA       ADDRESS ON FILE
Figueroa Betancourt, Robert        ADDRESS ON FILE
FIGUEROA BETANCOURT, YARIMAR       ADDRESS ON FILE
FIGUEROA BIDOT, DANISHKA           ADDRESS ON FILE
FIGUEROA BIGIO, LUZ E.             ADDRESS ON FILE
FIGUEROA BIGIO, PORFIRIO           ADDRESS ON FILE
Figueroa Birriel, Gary             ADDRESS ON FILE
FIGUEROA BIRRIEL, RUBEN            ADDRESS ON FILE
FIGUEROA BIRRIEL, ZAIDA            ADDRESS ON FILE
FIGUEROA BLANCO, LUZ M             ADDRESS ON FILE
FIGUEROA BLANCO, MIGDA L           ADDRESS ON FILE
FIGUEROA BLASINI, JORGE            ADDRESS ON FILE
FIGUEROA BLASINI, LINNETTE         ADDRESS ON FILE
FIGUEROA BOBE, CALEX               ADDRESS ON FILE
FIGUEROA BOBE, CARLOS              ADDRESS ON FILE
FIGUEROA BOBE, LUIS                ADDRESS ON FILE
FIGUEROA BOCANEGRA, RAMON          ADDRESS ON FILE
FIGUEROA BOCANEGRA, RAMON F        ADDRESS ON FILE
FIGUEROA BOLIO MD, SIEGFRIED       ADDRESS ON FILE
FIGUEROA BONILLA, EVELYN           ADDRESS ON FILE
Figueroa Bonilla, Exor R           ADDRESS ON FILE
FIGUEROA BONILLA, FERNANDO         ADDRESS ON FILE
FIGUEROA BONILLA, GRISELLE         ADDRESS ON FILE
FIGUEROA BONILLA, JOSE A           ADDRESS ON FILE
FIGUEROA BONILLA, LYDIA E          ADDRESS ON FILE
FIGUEROA BONILLA, MARVIN           ADDRESS ON FILE




                                                                                              Page 2826 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2827 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA BONILLA, NITZA         ADDRESS ON FILE
FIGUEROA BONILLA, RICARDO       ADDRESS ON FILE
FIGUEROA BONILLA, ROSARIO       ADDRESS ON FILE
Figueroa Bordonaba, Eddie O.    ADDRESS ON FILE
FIGUEROA BORDOY, JOSE D         ADDRESS ON FILE
FIGUEROA BORGES, DIANE S.       ADDRESS ON FILE
FIGUEROA BORIA, RADAMES         ADDRESS ON FILE
FIGUEROA BORRERO, ANGEL         ADDRESS ON FILE
FIGUEROA BORRERO, LUIS SAMUEL   ADDRESS ON FILE
FIGUEROA BORRERO, MARIE C       ADDRESS ON FILE
FIGUEROA BORRES, JANET          ADDRESS ON FILE
FIGUEROA BOSCH, ANA I           ADDRESS ON FILE
FIGUEROA BOTIA, LUIS            ADDRESS ON FILE
FIGUEROA BOTIA, LUZ             ADDRESS ON FILE
FIGUEROA BRACERO, KEISH         ADDRESS ON FILE
FIGUEROA BRANUELAS, DIANA       ADDRESS ON FILE
FIGUEROA BRENES, PEDRO          ADDRESS ON FILE
FIGUEROA BRITAPAJA, JOSE R      ADDRESS ON FILE
FIGUEROA BRITO, MARIA L         ADDRESS ON FILE
FIGUEROA BRITO, PEDRO FELIX     ADDRESS ON FILE
FIGUEROA BROWN, GERARDO         ADDRESS ON FILE
FIGUEROA BRUNO, JUSTA           ADDRESS ON FILE
FIGUEROA BRUNO, MIGUEL          ADDRESS ON FILE
FIGUEROA BRUNO, MIGUEL A        ADDRESS ON FILE
FIGUEROA BRUSO, MARIA I.        ADDRESS ON FILE
Figueroa Buitrago, Gerardo J.   ADDRESS ON FILE
FIGUEROA BURGOS, ADELA          ADDRESS ON FILE
FIGUEROA BURGOS, AIDA L         ADDRESS ON FILE
FIGUEROA BURGOS, ALICIA         ADDRESS ON FILE
FIGUEROA BURGOS, ANA            ADDRESS ON FILE
Figueroa Burgos, Arnaldo J      ADDRESS ON FILE
Figueroa Burgos, Benjamin       ADDRESS ON FILE
FIGUEROA BURGOS, CARMEN M       ADDRESS ON FILE
FIGUEROA BURGOS, CARMEN O       ADDRESS ON FILE
FIGUEROA BURGOS, CELINES        ADDRESS ON FILE
FIGUEROA BURGOS, EDWIN          ADDRESS ON FILE
FIGUEROA BURGOS, ELIEZER        ADDRESS ON FILE
FIGUEROA BURGOS, ELIZABETH      ADDRESS ON FILE
FIGUEROA BURGOS, ELIZABETH      ADDRESS ON FILE
FIGUEROA BURGOS, GENESIS        ADDRESS ON FILE
FIGUEROA BURGOS, HERIBERTO      ADDRESS ON FILE
FIGUEROA BURGOS, IVONNE         ADDRESS ON FILE
FIGUEROA BURGOS, JESSICA        ADDRESS ON FILE
FIGUEROA BURGOS, JUAN G.        ADDRESS ON FILE
FIGUEROA BURGOS, LINNELYS       ADDRESS ON FILE
FIGUEROA BURGOS, MILDRED        ADDRESS ON FILE
FIGUEROA BURGOS, NORA H         ADDRESS ON FILE
FIGUEROA BURGOS, OLGA           ADDRESS ON FILE
FIGUEROA BYRON, LOYDA M         ADDRESS ON FILE
Figueroa Byron, Manuel          ADDRESS ON FILE
FIGUEROA BYRON, WANDA I         ADDRESS ON FILE
Figueroa Caban, Ada A           ADDRESS ON FILE
FIGUEROA CABAN, ELIZABETH       ADDRESS ON FILE
FIGUEROA CABAN, FELIX           ADDRESS ON FILE
FIGUEROA CABAN, LUIS            ADDRESS ON FILE
FIGUEROA CABAN, MARIA I         ADDRESS ON FILE
FIGUEROA CABAN, OMAR            ADDRESS ON FILE
FIGUEROA CABAN, SANDRA I        ADDRESS ON FILE
FIGUEROA CABELLO, ROBERT        ADDRESS ON FILE
FIGUEROA CABEZUDO, CARMEN L     ADDRESS ON FILE




                                                                            Page 2827 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2828 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA CABEZUDO, JOSE         ADDRESS ON FILE
FIGUEROA CABEZUDO, RAFAEL A     ADDRESS ON FILE
FIGUEROA CABEZUDO, RAFAEL A     ADDRESS ON FILE
FIGUEROA CABRERA, ALEJANDRO     ADDRESS ON FILE
FIGUEROA CABRERA, GUILLERMO     ADDRESS ON FILE
FIGUEROA CABRERA, IDALIS        ADDRESS ON FILE
FIGUEROA CABRERA, IDELISA M.    ADDRESS ON FILE
FIGUEROA CABRERA, IVAN          ADDRESS ON FILE
FIGUEROA CABRERA, JEDON         ADDRESS ON FILE
FIGUEROA CABRERA, WANDA I       ADDRESS ON FILE
FIGUEROA CABRERA, ZAIRYMAR      ADDRESS ON FILE
FIGUEROA CABRERO, DIANA         ADDRESS ON FILE
FIGUEROA CACERES, DIANA M       ADDRESS ON FILE
FIGUEROA CACERES, SERAFIN       ADDRESS ON FILE
FIGUEROA CAJIGAS, MANUEL        ADDRESS ON FILE
Figueroa Calcano, Wilfredo      ADDRESS ON FILE
FIGUEROA CALCANO, WILFREDO      ADDRESS ON FILE
FIGUEROA CALDERON, ALEXIS       ADDRESS ON FILE
FIGUEROA CALDERON, EDWIN N.     ADDRESS ON FILE
FIGUEROA CALDERON, NANCY E      ADDRESS ON FILE
Figueroa Calderon, Ramon A      ADDRESS ON FILE
FIGUEROA CALDERON, VALERIE      ADDRESS ON FILE
FIGUEROA CALDERON, YOLANDA      ADDRESS ON FILE
FIGUEROA CALZAMILIA, ANGEL      ADDRESS ON FILE
FIGUEROA CALZAMILLA, VICTOR     ADDRESS ON FILE
FIGUEROA CAMACHO, EDWIN         ADDRESS ON FILE
FIGUEROA CAMACHO, JOSE          ADDRESS ON FILE
FIGUEROA CAMACHO, JOSE MANUEL   ADDRESS ON FILE
FIGUEROA CAMACHO, JULIA E.      ADDRESS ON FILE
FIGUEROA CAMACHO, JULIO         ADDRESS ON FILE
FIGUEROA CAMACHO, LUIS          ADDRESS ON FILE
FIGUEROA CAMACHO, MARIA D       ADDRESS ON FILE
FIGUEROA CAMACHO, MARIA M       ADDRESS ON FILE
FIGUEROA CAMACHO, MARIELY       ADDRESS ON FILE
FIGUEROA CAMACHO, RUTH          ADDRESS ON FILE
FIGUEROA CAMACHO, WILLIAM       ADDRESS ON FILE
FIGUEROA CAMPOS, ARLENE         ADDRESS ON FILE
FIGUEROA CAMUNAS, JESSICA       ADDRESS ON FILE
FIGUEROA CANCEL, ALEX           ADDRESS ON FILE
FIGUEROA CANDELARIA, ALEXIS     ADDRESS ON FILE
FIGUEROA CANDELARIA, ROSA       ADDRESS ON FILE
FIGUEROA CANDELARIA, ZELIDEH    ADDRESS ON FILE
Figueroa Candelario, Enrique    ADDRESS ON FILE
FIGUEROA CANTRE, LUIS           ADDRESS ON FILE
FIGUEROA CANTRE, MIGDALIA       ADDRESS ON FILE
FIGUEROA CAPELES, MARICARMEN    ADDRESS ON FILE
FIGUEROA CARABALLO, ABIGAIL     ADDRESS ON FILE
FIGUEROA CARABALLO, ANGEL       ADDRESS ON FILE
FIGUEROA CARABALLO, BETSY       ADDRESS ON FILE
Figueroa Caraballo, Daniel      ADDRESS ON FILE
FIGUEROA CARABALLO, DANIEL      ADDRESS ON FILE
FIGUEROA CARABALLO, EDGARDO     ADDRESS ON FILE
FIGUEROA CARABALLO, FDO.        ADDRESS ON FILE
FIGUEROA CARABALLO, FDO.        ADDRESS ON FILE
FIGUEROA CARABALLO, HERIBERTO   ADDRESS ON FILE
Figueroa Caraballo, Hiram       ADDRESS ON FILE
FIGUEROA CARABALLO, ILIANA      ADDRESS ON FILE
FIGUEROA CARABALLO, INOCENCIO   ADDRESS ON FILE
FIGUEROA CARABALLO, INOCENCIO   ADDRESS ON FILE
FIGUEROA CARABALLO, JOHNNY      ADDRESS ON FILE




                                                                            Page 2828 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2829 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA CARABALLO, JORGE           ADDRESS ON FILE
FIGUEROA CARABALLO, JOSE E          ADDRESS ON FILE
FIGUEROA CARABALLO, LINNETTE I.     ADDRESS ON FILE
FIGUEROA CARABALLO, LOYDA E         ADDRESS ON FILE
FIGUEROA CARABALLO, LUIS NOE        ADDRESS ON FILE
FIGUEROA CARABALLO, MARTHA          ADDRESS ON FILE
FIGUEROA CARABALLO, MELISSA         ADDRESS ON FILE
FIGUEROA CARABALLO, MELISSA I.      ADDRESS ON FILE
Figueroa Caraballo, Sandra A        ADDRESS ON FILE
FIGUEROA CARBALLO, ANGEL R          ADDRESS ON FILE
FIGUEROA CARBALLO, MARIA DEL C.     ADDRESS ON FILE
FIGUEROA CARBONELL, YARET           ADDRESS ON FILE
FIGUEROA CARCOLZE, RUTH A           ADDRESS ON FILE
FIGUEROA CARDONA, AWILDA            ADDRESS ON FILE
FIGUEROA CARDONA, BLANCA            ADDRESS ON FILE
FIGUEROA CARDONA, BRENDALIS         ADDRESS ON FILE
Figueroa Cardona, Carlos E          ADDRESS ON FILE
FIGUEROA CARDONA, GABRIEL           ADDRESS ON FILE
FIGUEROA CARDONA, IRIS              ADDRESS ON FILE
FIGUEROA CARDONA, JOANNA            ADDRESS ON FILE
Figueroa Carides, Jose M            ADDRESS ON FILE
FIGUEROA CARIDES, MIGUEL            ADDRESS ON FILE
Figueroa Carillo, Pablo             ADDRESS ON FILE
FIGUEROA CARLO, JULIO               ADDRESS ON FILE
FIGUEROA CARMONA, ENEDY J           ADDRESS ON FILE
FIGUEROA CARMONA, NORBERTO          ADDRESS ON FILE
Figueroa Carrasco, Jose D           ADDRESS ON FILE
FIGUEROA CARRASQUILLO MD, WANDA M   ADDRESS ON FILE
FIGUEROA CARRASQUILLO, CARLOS       ADDRESS ON FILE
FIGUEROA CARRASQUILLO, ELIUD        ADDRESS ON FILE
FIGUEROA CARRASQUILLO, ENRIQUE      ADDRESS ON FILE
FIGUEROA CARRASQUILLO, ERIC         ADDRESS ON FILE
FIGUEROA CARRASQUILLO, HUMBERTO     ADDRESS ON FILE
FIGUEROA CARRASQUILLO, JERRY        ADDRESS ON FILE
Figueroa Carrasquillo, Margarit     ADDRESS ON FILE
FIGUEROA CARRASQUILLO, MARIA M      ADDRESS ON FILE
FIGUEROA CARRASQUILLO, WANDA M.     ADDRESS ON FILE
FIGUEROA CARRER MD, JUAN            ADDRESS ON FILE
FIGUEROA CARRER PHD, JUAN           ADDRESS ON FILE
FIGUEROA CARRER PSYD, JUAN G        ADDRESS ON FILE
FIGUEROA CARRILLO, CARMEN L.        ADDRESS ON FILE
FIGUEROA CARRILLO, GABRIEL          ADDRESS ON FILE
FIGUEROA CARRILLO, JUAN             ADDRESS ON FILE
FIGUEROA CARRILLO, JULIO            ADDRESS ON FILE
FIGUEROA CARRION, AMPARO            ADDRESS ON FILE
FIGUEROA CARRION, ANIBAL            ADDRESS ON FILE
FIGUEROA CARRION, AUDELIZ           ADDRESS ON FILE
FIGUEROA CARRION, CYNTHIA M         ADDRESS ON FILE
Figueroa Carrion, Eleinn N          ADDRESS ON FILE
FIGUEROA CARRION, ISRAEL            ADDRESS ON FILE
FIGUEROA CARRION, JEYLLIANIE        ADDRESS ON FILE
FIGUEROA CARTAGENA, GUSTAVO E       ADDRESS ON FILE
FIGUEROA CARTAGENA, HILDA L         ADDRESS ON FILE
FIGUEROA CARTAGENA, HILDA R         ADDRESS ON FILE
FIGUEROA CASANOVA, INGRID           ADDRESS ON FILE
FIGUEROA CASANOVA, MIGUEL           ADDRESS ON FILE
FIGUEROA CASIANO, GUADA G           ADDRESS ON FILE
FIGUEROA CASILLAS, ELIEZER          ADDRESS ON FILE
FIGUEROA CASILLAS, OTONIEL          ADDRESS ON FILE
FIGUEROA CASTELLANO, DANIEL         ADDRESS ON FILE




                                                                                Page 2829 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2830 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA CASTELLANO, JULIO       ADDRESS ON FILE
FIGUEROA CASTELLANOS, MILAGROS   ADDRESS ON FILE
FIGUEROA CASTILLO, DOMINGO       ADDRESS ON FILE
FIGUEROA CASTILLO, EDNA          ADDRESS ON FILE
FIGUEROA CASTILLO, MARIA M.      ADDRESS ON FILE
FIGUEROA CASTRERO, ESTHER        ADDRESS ON FILE
Figueroa Castrero, Lelys         ADDRESS ON FILE
FIGUEROA CASTRERO, LELYS         ADDRESS ON FILE
FIGUEROA CASTRERO, LUIS E        ADDRESS ON FILE
FIGUEROA CASTRO, ANGELICA M      ADDRESS ON FILE
FIGUEROA CASTRO, ANNABELLE       ADDRESS ON FILE
FIGUEROA CASTRO, CARLOS          ADDRESS ON FILE
FIGUEROA CASTRO, CARMELO         ADDRESS ON FILE
FIGUEROA CASTRO, HERIBERTO       ADDRESS ON FILE
FIGUEROA CASTRO, JOSE A          ADDRESS ON FILE
Figueroa Castro, Jose A.         ADDRESS ON FILE
Figueroa Castro, Jose L          ADDRESS ON FILE
FIGUEROA CASTRO, JUAN            ADDRESS ON FILE
FIGUEROA CASTRO, JUAN A          ADDRESS ON FILE
FIGUEROA CASTRO, LOURDES         ADDRESS ON FILE
FIGUEROA CASTRO, MELISA          ADDRESS ON FILE
FIGUEROA CASTRO, MYRIAM          ADDRESS ON FILE
FIGUEROA CASTRO, MYRIAM L        ADDRESS ON FILE
FIGUEROA CATALA, ALBA L          ADDRESS ON FILE
FIGUEROA CATALA, CARMEN          ADDRESS ON FILE
FIGUEROA CATALA, LUZ C           ADDRESS ON FILE
FIGUEROA CATALAN, MARIA          ADDRESS ON FILE
FIGUEROA CAY, CARMEN L.          ADDRESS ON FILE
FIGUEROA CAY, JAVIER             ADDRESS ON FILE
FIGUEROA CAY, OMAR               ADDRESS ON FILE
FIGUEROA CEDENO, LUIS NOBERTO    ADDRESS ON FILE
FIGUEROA CEDENO, SOED            ADDRESS ON FILE
FIGUEROA CEDENO, SOED O.         ADDRESS ON FILE
FIGUEROA CEDRES, GREGORIA        ADDRESS ON FILE
FIGUEROA CEDRES, JUAN            ADDRESS ON FILE
FIGUEROA CENTENO, BRENDA         ADDRESS ON FILE
FIGUEROA CENTENO, EFRAIN         ADDRESS ON FILE
FIGUEROA CENTENO, HEIDI          ADDRESS ON FILE
FIGUEROA CENTENO, HEIDI          ADDRESS ON FILE
FIGUEROA CENTENO, MARIA M        ADDRESS ON FILE
FIGUEROA CEPEDA, JANEIRA         ADDRESS ON FILE
FIGUEROA CEPEDA, JOSE R          ADDRESS ON FILE
FIGUEROA CEPEDA, PAUL            ADDRESS ON FILE
FIGUEROA CHAMIER, RAFAEL         ADDRESS ON FILE
FIGUEROA CHARDON, CARMEN A       ADDRESS ON FILE
FIGUEROA CHEVERE, IVONNE M       ADDRESS ON FILE
FIGUEROA CHEVRES, MAIRYM         ADDRESS ON FILE
FIGUEROA CHICO, LINDA            ADDRESS ON FILE
FIGUEROA CHICO, SONIA I          ADDRESS ON FILE
FIGUEROA CHIMELIS, ROSA M.       ADDRESS ON FILE
FIGUEROA CHIMELIS, ROSA M.       ADDRESS ON FILE
FIGUEROA CINTRON, AIXA           ADDRESS ON FILE
FIGUEROA CINTRON, ANGEL L.       ADDRESS ON FILE
FIGUEROA CINTRON, CARLOS E.      ADDRESS ON FILE
Figueroa Cintron, Carlos L.      ADDRESS ON FILE
FIGUEROA CINTRON, CARMEN         ADDRESS ON FILE
FIGUEROA CINTRON, CARMEN L       ADDRESS ON FILE
FIGUEROA CINTRON, CASILDA        ADDRESS ON FILE
FIGUEROA CINTRON, DIANA          ADDRESS ON FILE
FIGUEROA CINTRON, KATIRIA        ADDRESS ON FILE




                                                                             Page 2830 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2831 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA CINTRON, MARGARITA     ADDRESS ON FILE
FIGUEROA CINTRON, MARICARMEN    ADDRESS ON FILE
FIGUEROA CINTRON, MARILU        ADDRESS ON FILE
FIGUEROA CINTRON, NORMA I       ADDRESS ON FILE
FIGUEROA CINTRON, ROSA          ADDRESS ON FILE
FIGUEROA CINTRON, VICTOR        ADDRESS ON FILE
FIGUEROA CLAS, AGRIPINO         ADDRESS ON FILE
FIGUEROA CLASS, JUANA           ADDRESS ON FILE
FIGUEROA CLAUDIO, CECILIA       ADDRESS ON FILE
FIGUEROA CLAUDIO, CONCHITA      ADDRESS ON FILE
FIGUEROA CLAUDIO, FERMIN        ADDRESS ON FILE
FIGUEROA CLAUDIO, GISELLE       ADDRESS ON FILE
FIGUEROA CLAUDIO, IVELISSE      ADDRESS ON FILE
FIGUEROA CLEMENTE, BETZY        ADDRESS ON FILE
FIGUEROA CLEMENTE, EMERIDA      ADDRESS ON FILE
FIGUEROA COLLAZO, ANA M         ADDRESS ON FILE
Figueroa Collazo, Angel R       ADDRESS ON FILE
FIGUEROA COLLAZO, ARMANDO A     ADDRESS ON FILE
FIGUEROA COLLAZO, CANDIDA       ADDRESS ON FILE
FIGUEROA COLLAZO, CARLOS        ADDRESS ON FILE
Figueroa Collazo, Carlos R.     ADDRESS ON FILE
FIGUEROA COLLAZO, IDALIA        ADDRESS ON FILE
FIGUEROA COLLAZO, IRMA          ADDRESS ON FILE
FIGUEROA COLLAZO, JACQUELINE    ADDRESS ON FILE
FIGUEROA COLLAZO, JAVIER        ADDRESS ON FILE
FIGUEROA COLLAZO, JOSE A        ADDRESS ON FILE
FIGUEROA COLLAZO, JOSE R.       ADDRESS ON FILE
FIGUEROA COLLAZO, MANUEL        ADDRESS ON FILE
FIGUEROA COLLAZO, MARGARITA     ADDRESS ON FILE
FIGUEROA COLLAZO, MARIA E       ADDRESS ON FILE
FIGUEROA COLLAZO, MARIA I       ADDRESS ON FILE
FIGUEROA COLLAZO, MAYRA A       ADDRESS ON FILE
FIGUEROA COLLAZO, MILDRED       ADDRESS ON FILE
FIGUEROA COLLAZO, ORLANDO       ADDRESS ON FILE
FIGUEROA COLLAZO, YAMITZA       ADDRESS ON FILE
FIGUEROA COLLAZO, YAMITZA       ADDRESS ON FILE
FIGUEROA COLLAZO, YEDARIS M.    ADDRESS ON FILE
FIGUEROA COLOMBANI, CARLOS R    ADDRESS ON FILE
FIGUEROA COLOMBANI, RUBEN       ADDRESS ON FILE
FIGUEROA COLON, ADA I.          ADDRESS ON FILE
FIGUEROA COLON, ADA L           ADDRESS ON FILE
FIGUEROA COLON, ALEJANDRO       ADDRESS ON FILE
FIGUEROA COLON, ALEXANDER       ADDRESS ON FILE
FIGUEROA COLON, ALICSHA M       ADDRESS ON FILE
FIGUEROA COLON, AMPARO          ADDRESS ON FILE
FIGUEROA COLON, ANA I.          ADDRESS ON FILE
FIGUEROA COLON, ANA R           ADDRESS ON FILE
FIGUEROA COLON, ARAEL           ADDRESS ON FILE
FIGUEROA COLON, BIANCA          ADDRESS ON FILE
FIGUEROA COLON, BRELAND         ADDRESS ON FILE
FIGUEROA COLON, CARMEN L        ADDRESS ON FILE
FIGUEROA COLON, CHEZELL A       ADDRESS ON FILE
FIGUEROA COLON, DAMARIS         ADDRESS ON FILE
FIGUEROA COLON, DEBBIE          ADDRESS ON FILE
FIGUEROA COLON, DEBBIE          ADDRESS ON FILE
FIGUEROA COLON, DIANA           ADDRESS ON FILE
FIGUEROA COLON, ELIZABETH       ADDRESS ON FILE
FIGUEROA COLON, ELSIE D         ADDRESS ON FILE
FIGUEROA COLON, ENID JENNETTE   ADDRESS ON FILE
FIGUEROA COLON, FERDINAND       ADDRESS ON FILE




                                                                            Page 2831 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2832 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA COLON, FERMIN         ADDRESS ON FILE
FIGUEROA COLON, FERMIN         ADDRESS ON FILE
Figueroa Colon, Georgie        ADDRESS ON FILE
FIGUEROA COLON, GLADYS         ADDRESS ON FILE
FIGUEROA COLON, GLADYS         ADDRESS ON FILE
FIGUEROA COLON, GLISEL         ADDRESS ON FILE
FIGUEROA COLON, GLORIA E       ADDRESS ON FILE
FIGUEROA COLON, GRICEL         ADDRESS ON FILE
FIGUEROA COLON, IVAN           ADDRESS ON FILE
FIGUEROA COLON, JANETTE        ADDRESS ON FILE
FIGUEROA COLON, JANETTE        ADDRESS ON FILE
FIGUEROA COLON, JANETTE        ADDRESS ON FILE
FIGUEROA COLON, JANETTE        ADDRESS ON FILE
FIGUEROA COLON, JAVIER         ADDRESS ON FILE
FIGUEROA COLON, JEANNETTE      ADDRESS ON FILE
FIGUEROA COLON, JENNY          ADDRESS ON FILE
FIGUEROA COLON, JESUS          ADDRESS ON FILE
FIGUEROA COLON, JORGE          ADDRESS ON FILE
FIGUEROA COLON, JOSE           ADDRESS ON FILE
FIGUEROA COLON, JOSE           ADDRESS ON FILE
FIGUEROA COLON, JOSE A         ADDRESS ON FILE
Figueroa Colon, Juan           ADDRESS ON FILE
FIGUEROA COLON, JUAN           ADDRESS ON FILE
Figueroa Colon, Juan P         ADDRESS ON FILE
FIGUEROA COLON, JUAN P.        ADDRESS ON FILE
FIGUEROA COLON, JULIO          ADDRESS ON FILE
Figueroa Colon, Krishnna       ADDRESS ON FILE
Figueroa Colon, Loren          ADDRESS ON FILE
FIGUEROA COLON, LUIS A         ADDRESS ON FILE
FIGUEROA COLON, LUIS A.        ADDRESS ON FILE
FIGUEROA COLON, LUZ M          ADDRESS ON FILE
FIGUEROA COLON, MADELINE       ADDRESS ON FILE
FIGUEROA COLON, MARCOS A       ADDRESS ON FILE
FIGUEROA COLON, MARI           ADDRESS ON FILE
FIGUEROA COLON, MARIA A        ADDRESS ON FILE
FIGUEROA COLON, MARIAEULALIA   ADDRESS ON FILE
FIGUEROA COLON, MELVIN         ADDRESS ON FILE
FIGUEROA COLON, MIGDALIA       ADDRESS ON FILE
FIGUEROA COLON, MIRELY         ADDRESS ON FILE
FIGUEROA COLON, MIRIAM G       ADDRESS ON FILE
FIGUEROA COLON, MYRTA          ADDRESS ON FILE
FIGUEROA COLON, NEREIDA        ADDRESS ON FILE
FIGUEROA COLON, NIURKA M       ADDRESS ON FILE
FIGUEROA COLON, NORMA I        ADDRESS ON FILE
FIGUEROA COLON, NYDIA I        ADDRESS ON FILE
FIGUEROA COLON, OMAR           ADDRESS ON FILE
FIGUEROA COLON, PEDRO          ADDRESS ON FILE
FIGUEROA COLON, RAFAEL         ADDRESS ON FILE
FIGUEROA COLON, RAMONITA       ADDRESS ON FILE
FIGUEROA COLON, RAUL           ADDRESS ON FILE
FIGUEROA COLON, RAUL           ADDRESS ON FILE
FIGUEROA COLON, RENE           ADDRESS ON FILE
Figueroa Colon, Reyes          ADDRESS ON FILE
FIGUEROA COLON, ROBERTO A      ADDRESS ON FILE
FIGUEROA COLON, SOMARIE        ADDRESS ON FILE
FIGUEROA COLON, VANESSA        ADDRESS ON FILE
FIGUEROA COLON, VANESSA        ADDRESS ON FILE
FIGUEROA COLON, VANEZA A       ADDRESS ON FILE
FIGUEROA COLON, WILLIAM        ADDRESS ON FILE
FIGUEROA COLON, YASHIRA        ADDRESS ON FILE




                                                                           Page 2832 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2833 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                        Address2                   Address3         Address4   City         State   PostalCode   Country
FIGUEROA CONCEPCION, CORAL DEL       ADDRESS ON FILE
FIGUEROA CONCEPCION, JAYMARY         ADDRESS ON FILE
FIGUEROA CONCEPCION, JEANNETTE       ADDRESS ON FILE
FIGUEROA CONCEPCION, JULIO           ADDRESS ON FILE
FIGUEROA CONCEPCION, LEYDA XIOMARA   ADDRESS ON FILE
FIGUEROA CONCEPCION, MIRTHELIZ       ADDRESS ON FILE
FIGUEROA CONCEPCION, NELSON          ADDRESS ON FILE
FIGUEROA CONTRERAS, LUIS             ADDRESS ON FILE
FIGUEROA CORA, LUIS                  ADDRESS ON FILE
FIGUEROA CORCHADO, LYDIA E.          ADDRESS ON FILE
FIGUEROA CORCHADO, REINALDO          ADDRESS ON FILE
FIGUEROA CORCINO, JOSE               ADDRESS ON FILE
FIGUEROA CORCINO, JULIANNE           ADDRESS ON FILE
FIGUEROA CORDERO MD, OSVALDO         ADDRESS ON FILE
Figueroa Cordero, Abdiel             ADDRESS ON FILE
FIGUEROA CORDERO, LYNEL              ADDRESS ON FILE
FIGUEROA CORDERO, TANIA DEL CARMEN   ADDRESS ON FILE
FIGUEROA CORDOVA, ONEIDA             ADDRESS ON FILE
FIGUEROA CORDOVA,BETHZAIDA           ADDRESS ON FILE
FIGUEROA CORIANO, LYDIA              ADDRESS ON FILE
FIGUEROA CORREA, ANEDDA              ADDRESS ON FILE
FIGUEROA CORREA, ANGEL L.            ADDRESS ON FILE
FIGUEROA CORREA, ANGELINE L          ADDRESS ON FILE
FIGUEROA CORREA, CARMEN M            ADDRESS ON FILE
FIGUEROA CORREA, FELIX               ADDRESS ON FILE
FIGUEROA CORREA, FELIX A             ADDRESS ON FILE
FIGUEROA CORREA, JACMARY             ADDRESS ON FILE
FIGUEROA CORREA, JANIRA              ADDRESS ON FILE
FIGUEROA CORREA, JUAN                ADDRESS ON FILE
FIGUEROA CORREA, KARLA               ADDRESS ON FILE
Figueroa Correa, Loreto              ADDRESS ON FILE
FIGUEROA CORREA, LUIS                ADDRESS ON FILE
FIGUEROA CORREA, LUIS E              ADDRESS ON FILE
FIGUEROA CORREA, LYDIA H             ADDRESS ON FILE
FIGUEROA CORREA, MARIA               ADDRESS ON FILE
FIGUEROA CORREA, MARIA DEL C.        ADDRESS ON FILE
FIGUEROA CORREA, MARIA E             ADDRESS ON FILE
                                                                                                1353 AVE. LUIS
FIGUEROA CORREA, MARÍA E.            LCDA. YARLENE JIMÉNEZ ROSARIO   PMB 133                    VIGOREAUX                   GUAYNABO     PR      00966‐2700
FIGUEROA CORREA, MARIETTE G.         ADDRESS ON FILE
FIGUEROA CORREA, MIGDALYS            ADDRESS ON FILE
FIGUEROA CORREA, NAYDA I             ADDRESS ON FILE
FIGUEROA CORREA, NORMA               ADDRESS ON FILE
FIGUEROA CORREA, UNIXY               ADDRESS ON FILE
Figueroa Corte, Guillermina          ADDRESS ON FILE
FIGUEROA CORTES, ANGEL R             ADDRESS ON FILE
FIGUEROA CORTES, ELIAS               ADDRESS ON FILE
FIGUEROA CORTES, EVELYN S            ADDRESS ON FILE
FIGUEROA CORTES, GLORIVETTE          ADDRESS ON FILE
FIGUEROA CORTES, MIOZOTYS            ADDRESS ON FILE
FIGUEROA CORTES, NANCY I             ADDRESS ON FILE
FIGUEROA CORTES, YOLANDA             ADDRESS ON FILE
FIGUEROA CORTIJO, GABRIEL            ADDRESS ON FILE
FIGUEROA COSME, DANIEL               ADDRESS ON FILE
FIGUEROA COSME, EDUARDO              ADDRESS ON FILE
FIGUEROA COSME, EMILIO               ADDRESS ON FILE
FIGUEROA COSME, IVETTE               ADDRESS ON FILE
FIGUEROA COSME, LOURDES M            ADDRESS ON FILE
FIGUEROA COSME, MAYLEE               ADDRESS ON FILE
FIGUEROA COSME, MIRTA S              ADDRESS ON FILE




                                                                                 Page 2833 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2834 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA COSME, NANCY             ADDRESS ON FILE
FIGUEROA COSTOSO, GABRIEL         ADDRESS ON FILE
FIGUEROA COTTO, ADALBERTO         ADDRESS ON FILE
FIGUEROA COTTO, AIDA              ADDRESS ON FILE
FIGUEROA COTTO, JOSE M            ADDRESS ON FILE
Figueroa Cotto, Jose M            ADDRESS ON FILE
FIGUEROA COTTO, LUISA M           ADDRESS ON FILE
FIGUEROA COTTO, MARIA M           ADDRESS ON FILE
FIGUEROA COTTO, NAYDA             ADDRESS ON FILE
Figueroa Cotto, Nayda E           ADDRESS ON FILE
FIGUEROA COTTO, NELSON            ADDRESS ON FILE
FIGUEROA COTTO, NILDA             ADDRESS ON FILE
FIGUEROA COTTO, RAQUEL            ADDRESS ON FILE
FIGUEROA COTTO, SONIA             ADDRESS ON FILE
FIGUEROA COTTO, WANDA             ADDRESS ON FILE
FIGUEROA COTTO, WILFREDO          ADDRESS ON FILE
FIGUEROA COTTO, YEILIAM           ADDRESS ON FILE
FIGUEROA COTTO, YEIMELIZ          ADDRESS ON FILE
FIGUEROA COUVERTIER, JOANNIE      ADDRESS ON FILE
FIGUEROA COUVERTIER, RUTH N       ADDRESS ON FILE
FIGUEROA CRESPO, HECTOR L.        ADDRESS ON FILE
FIGUEROA CRESPO, HERNANDO         ADDRESS ON FILE
FIGUEROA CRESPO, IRIS M           ADDRESS ON FILE
FIGUEROA CRESPO, LUIS             ADDRESS ON FILE
FIGUEROA CRESPO, MIGDALIA         ADDRESS ON FILE
FIGUEROA CRESPO, MIGDALIA         ADDRESS ON FILE
FIGUEROA CRESPO, MILTON           ADDRESS ON FILE
FIGUEROA CRESPO, NELLY            ADDRESS ON FILE
FIGUEROA CRESPO, NELLY M.         ADDRESS ON FILE
FIGUEROA CRESPO, SONIA N          ADDRESS ON FILE
FIGUEROA CRESPO, WANDA IVELISSE   ADDRESS ON FILE
FIGUEROA CRUZ MD, WANDA L         ADDRESS ON FILE
FIGUEROA CRUZ MD, WILDA           ADDRESS ON FILE
FIGUEROA CRUZ, AIDA I             ADDRESS ON FILE
FIGUEROA CRUZ, AMARILIS           ADDRESS ON FILE
FIGUEROA CRUZ, AMILCAR            ADDRESS ON FILE
FIGUEROA CRUZ, ANA I.             ADDRESS ON FILE
FIGUEROA CRUZ, ANA M              ADDRESS ON FILE
FIGUEROA CRUZ, ANDRES A.          ADDRESS ON FILE
FIGUEROA CRUZ, ANGEL              ADDRESS ON FILE
FIGUEROA CRUZ, ANGEL A.           ADDRESS ON FILE
FIGUEROA CRUZ, ANTONIO            ADDRESS ON FILE
FIGUEROA CRUZ, ANTONIO            ADDRESS ON FILE
FIGUEROA CRUZ, ARIEL              ADDRESS ON FILE
FIGUEROA CRUZ, AWILDA M           ADDRESS ON FILE
FIGUEROA CRUZ, BLANCA I           ADDRESS ON FILE
FIGUEROA CRUZ, BLAS               ADDRESS ON FILE
FIGUEROA CRUZ, BLAS E             ADDRESS ON FILE
FIGUEROA CRUZ, BRENDA             ADDRESS ON FILE
FIGUEROA CRUZ, CARMEN DALIDA      ADDRESS ON FILE
FIGUEROA CRUZ, CATALINA           ADDRESS ON FILE
FIGUEROA CRUZ, DAMARIS            ADDRESS ON FILE
FIGUEROA CRUZ, DANIEL             ADDRESS ON FILE
FIGUEROA CRUZ, ELIAS              ADDRESS ON FILE
FIGUEROA CRUZ, ELSA               ADDRESS ON FILE
Figueroa Cruz, Emeridaly          ADDRESS ON FILE
FIGUEROA CRUZ, ENID M             ADDRESS ON FILE
FIGUEROA CRUZ, ENRIQUE            ADDRESS ON FILE
FIGUEROA CRUZ, EPIFANIO           ADDRESS ON FILE
FIGUEROA CRUZ, EVELYN             ADDRESS ON FILE




                                                                              Page 2834 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2835 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA CRUZ, FELIX          ADDRESS ON FILE
FIGUEROA CRUZ, FRANCHESKA     ADDRESS ON FILE
FIGUEROA CRUZ, GERSON         ADDRESS ON FILE
FIGUEROA CRUZ, GILBERTO       ADDRESS ON FILE
Figueroa Cruz, Gladys         ADDRESS ON FILE
FIGUEROA CRUZ, GLORIA         ADDRESS ON FILE
FIGUEROA CRUZ, GLORYANNE      ADDRESS ON FILE
FIGUEROA CRUZ, GONZALO        ADDRESS ON FILE
Figueroa Cruz, Grace Marie    ADDRESS ON FILE
FIGUEROA CRUZ, GREGORIO JR.   ADDRESS ON FILE
FIGUEROA CRUZ, HECTOR         ADDRESS ON FILE
FIGUEROA CRUZ, HECTOR         ADDRESS ON FILE
Figueroa Cruz, Hector L       ADDRESS ON FILE
FIGUEROA CRUZ, HECTOR M       ADDRESS ON FILE
FIGUEROA CRUZ, HECTOR M       ADDRESS ON FILE
FIGUEROA CRUZ, IRIS M.        ADDRESS ON FILE
FIGUEROA CRUZ, IVAN           ADDRESS ON FILE
FIGUEROA CRUZ, IVONNE         ADDRESS ON FILE
FIGUEROA CRUZ, JENNY          ADDRESS ON FILE
Figueroa Cruz, Jesus          ADDRESS ON FILE
Figueroa Cruz, Jesus L        ADDRESS ON FILE
FIGUEROA CRUZ, JOEL           ADDRESS ON FILE
FIGUEROA CRUZ, JOEL           ADDRESS ON FILE
FIGUEROA CRUZ, JOSE           ADDRESS ON FILE
Figueroa Cruz, Jose L         ADDRESS ON FILE
Figueroa Cruz, Jose L         ADDRESS ON FILE
Figueroa Cruz, Jose R         ADDRESS ON FILE
Figueroa Cruz, Joselyne       ADDRESS ON FILE
FIGUEROA CRUZ, JUAN           ADDRESS ON FILE
FIGUEROA CRUZ, JUAN           ADDRESS ON FILE
FIGUEROA CRUZ, JUAN ANTONIO   ADDRESS ON FILE
FIGUEROA CRUZ, JUAN ANTONIO   ADDRESS ON FILE
Figueroa Cruz, Juan R         ADDRESS ON FILE
FIGUEROA CRUZ, KORITZA        ADDRESS ON FILE
FIGUEROA CRUZ, LESLIE         ADDRESS ON FILE
FIGUEROA CRUZ, LISSEDIA       ADDRESS ON FILE
FIGUEROA CRUZ, LUIS           ADDRESS ON FILE
FIGUEROA CRUZ, LUIS F         ADDRESS ON FILE
FIGUEROA CRUZ, MARIA          ADDRESS ON FILE
FIGUEROA CRUZ, MARIA D        ADDRESS ON FILE
FIGUEROA CRUZ, MARIA E        ADDRESS ON FILE
FIGUEROA CRUZ, MARIA I.       ADDRESS ON FILE
FIGUEROA CRUZ, MARIAT.        ADDRESS ON FILE
FIGUEROA CRUZ, MERVIN         ADDRESS ON FILE
FIGUEROA CRUZ, MICHELLE       ADDRESS ON FILE
FIGUEROA CRUZ, NAYDA C.       ADDRESS ON FILE
FIGUEROA CRUZ, NELIDA         ADDRESS ON FILE
FIGUEROA CRUZ, NELIDA         ADDRESS ON FILE
FIGUEROA CRUZ, NORA           ADDRESS ON FILE
FIGUEROA CRUZ, OLGA L         ADDRESS ON FILE
FIGUEROA CRUZ, ORIALIS        ADDRESS ON FILE
FIGUEROA CRUZ, PABLO          ADDRESS ON FILE
FIGUEROA CRUZ, PEDRO J        ADDRESS ON FILE
FIGUEROA CRUZ, PEDRO L.       ADDRESS ON FILE
FIGUEROA CRUZ, PEPIN          ADDRESS ON FILE
FIGUEROA CRUZ, RAFAEL         ADDRESS ON FILE
FIGUEROA CRUZ, ROBERTO        ADDRESS ON FILE
FIGUEROA CRUZ, ROSAIDA        ADDRESS ON FILE
FIGUEROA CRUZ, SANDRA         ADDRESS ON FILE
FIGUEROA CRUZ, SANDRA         ADDRESS ON FILE




                                                                          Page 2835 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2836 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA CRUZ, SHEILA A.       ADDRESS ON FILE
FIGUEROA CRUZ, SHEILLA A.      ADDRESS ON FILE
FIGUEROA CRUZ, SOLMARI         ADDRESS ON FILE
Figueroa Cruz, Sylvia          ADDRESS ON FILE
FIGUEROA CRUZ, VERONICA        ADDRESS ON FILE
Figueroa Cruz, Victor          ADDRESS ON FILE
FIGUEROA CRUZ, VILMA L         ADDRESS ON FILE
FIGUEROA CRUZ, WALDEMAR        ADDRESS ON FILE
FIGUEROA CRUZ, WARREN          ADDRESS ON FILE
FIGUEROA CRUZ, WILFREDO        ADDRESS ON FILE
FIGUEROA CRUZ, WILFREDO        ADDRESS ON FILE
FIGUEROA CRUZ, XIOMARA         ADDRESS ON FILE
FIGUEROA CRUZ, XIOMARA         ADDRESS ON FILE
FIGUEROA CRUZ, YOLANDA         ADDRESS ON FILE
FIGUEROA CRUZ,ELIZABETH        ADDRESS ON FILE
FIGUEROA CRUZ,LESLIE           ADDRESS ON FILE
FIGUEROA CRUZ,SUGEILY M.       ADDRESS ON FILE
FIGUEROA CRUZADO, NORBERTO     ADDRESS ON FILE
FIGUEROA CUADRADO, CARMEN M    ADDRESS ON FILE
FIGUEROA CUADRADO, JOSE G      ADDRESS ON FILE
FIGUEROA CUADRADO, OLGA I      ADDRESS ON FILE
FIGUEROA CUEVA, MAYRA          ADDRESS ON FILE
FIGUEROA CUEVAS, ARLETTE       ADDRESS ON FILE
FIGUEROA CUEVAS, ILEANA M      ADDRESS ON FILE
FIGUEROA CUEVAS, IRVING        ADDRESS ON FILE
FIGUEROA CUEVAS, IVELISSE      ADDRESS ON FILE
Figueroa Cuevas, Jesus M       ADDRESS ON FILE
FIGUEROA CUEVAS, MAYRA         ADDRESS ON FILE
FIGUEROA CUEVAS, SHEILA M.     ADDRESS ON FILE
FIGUEROA CUEVAS, VIVIAN E      ADDRESS ON FILE
FIGUEROA CURET, MELISSA        ADDRESS ON FILE
Figueroa Curet, Wilson         ADDRESS ON FILE
FIGUEROA DALMAU, ANA R.        ADDRESS ON FILE
FIGUEROA DALMAU, ANNA R.       ADDRESS ON FILE
FIGUEROA DAVILA, ABIMAEL       ADDRESS ON FILE
FIGUEROA DAVILA, ADIANEZ       ADDRESS ON FILE
FIGUEROA DAVILA, EDDIE         ADDRESS ON FILE
Figueroa Davila, Ernesto       ADDRESS ON FILE
FIGUEROA DAVILA, GRETZA A.     ADDRESS ON FILE
FIGUEROA DAVILA, JAVIER        ADDRESS ON FILE
FIGUEROA DAVILA, JOEL          ADDRESS ON FILE
FIGUEROA DAVILA, LESBIA        ADDRESS ON FILE
FIGUEROA DAVILA, LILLIAN I.    ADDRESS ON FILE
FIGUEROA DAVILA, MIGDALIA      ADDRESS ON FILE
FIGUEROA DAVILA, MILDRED       ADDRESS ON FILE
FIGUEROA DAVILA, MIRIAM        ADDRESS ON FILE
FIGUEROA DAVILA, MYRIAM R      ADDRESS ON FILE
FIGUEROA DAVILA, RUBEN         ADDRESS ON FILE
FIGUEROA DAVIS, RUBEN          ADDRESS ON FILE
FIGUEROA DE ACOSTA, NELLIE     ADDRESS ON FILE
FIGUEROA DE ALVAREZ, TERESA    ADDRESS ON FILE
FIGUEROA DE CUBA, LUCIOLA      ADDRESS ON FILE
FIGUEROA DE DIAZ, JUANA        ADDRESS ON FILE
Figueroa De Garcia, Carmen     ADDRESS ON FILE
FIGUEROA DE GONZALEZ, CARMEN   ADDRESS ON FILE
FIGUEROA DE GUZMAN, GLORIA E   ADDRESS ON FILE
FIGUEROA DE JESUS, AIXA        ADDRESS ON FILE
FIGUEROA DE JESUS, ANGEL L     ADDRESS ON FILE
FIGUEROA DE JESUS, ASUNCION    ADDRESS ON FILE
FIGUEROA DE JESUS, BASILIO     ADDRESS ON FILE




                                                                           Page 2836 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2837 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Figueroa De Jesus, David          ADDRESS ON FILE
FIGUEROA DE JESUS, EDWIN          ADDRESS ON FILE
FIGUEROA DE JESUS, FRANKIE        ADDRESS ON FILE
FIGUEROA DE JESUS, JESUS R        ADDRESS ON FILE
FIGUEROA DE JESUS, JOSE           ADDRESS ON FILE
FIGUEROA DE JESUS, JOSE           ADDRESS ON FILE
FIGUEROA DE JESUS, JOSE           ADDRESS ON FILE
FIGUEROA DE JESUS, JOSE A         ADDRESS ON FILE
FIGUEROA DE JESUS, JOSE A         ADDRESS ON FILE
FIGUEROA DE JESUS, JUAN           ADDRESS ON FILE
FIGUEROA DE JESUS, KIARA          ADDRESS ON FILE
FIGUEROA DE JESUS, LIZBETH        ADDRESS ON FILE
FIGUEROA DE JESUS, MARGARITA      ADDRESS ON FILE
FIGUEROA DE JESUS, MARIA DE L     ADDRESS ON FILE
FIGUEROA DE JESUS, MARIA E        ADDRESS ON FILE
FIGUEROA DE JESUS, YAZMIN         ADDRESS ON FILE
FIGUEROA DE LA CRUZ, INOCENCIO    ADDRESS ON FILE
Figueroa De La Cruz, Janice Mar   ADDRESS ON FILE
FIGUEROA DE LEON, CARMEN          ADDRESS ON FILE
FIGUEROA DE LEON, JOANNY          ADDRESS ON FILE
FIGUEROA DE LEON, JOSE            ADDRESS ON FILE
Figueroa De Leon, Luis G          ADDRESS ON FILE
FIGUEROA DE LEON, SANDRA          ADDRESS ON FILE
FIGUEROA DE LEON, SANDRA I        ADDRESS ON FILE
FIGUEROA DE LEON, THAMAR          ADDRESS ON FILE
FIGUEROA DE LEON, YOLANDA         ADDRESS ON FILE
FIGUEROA DE LOS SANTOS, MARIA M   ADDRESS ON FILE
FIGUEROA DE LUGO, CARMEN          ADDRESS ON FILE
FIGUEROA DE NAZARIO, CARMEN I     ADDRESS ON FILE
FIGUEROA DE RODRIGUEZ, GERARDA    ADDRESS ON FILE
FIGUEROA DE ROSADO, SYLVIA        ADDRESS ON FILE
FIGUEROA DE VARGAS, SONIA         ADDRESS ON FILE
FIGUEROA DEIDA, PETRA I           ADDRESS ON FILE
FIGUEROA DEL LLANO, DOMINGO       ADDRESS ON FILE
FIGUEROA DEL TORO, ISABEL         ADDRESS ON FILE
FIGUEROA DEL TORO, NANCY          ADDRESS ON FILE
FIGUEROA DEL VALLE, ALBA          ADDRESS ON FILE
FIGUEROA DEL VALLE, CARLOS        ADDRESS ON FILE
FIGUEROA DEL VALLE, EVELYN        ADDRESS ON FILE
FIGUEROA DEL VALLE, EVELYN J      ADDRESS ON FILE
Figueroa Del Valle, Hector L      ADDRESS ON FILE
FIGUEROA DEL VALLE, IRVING        ADDRESS ON FILE
FIGUEROA DEL VALLE, JACKELINE     ADDRESS ON FILE
FIGUEROA DEL VALLE, RENE          ADDRESS ON FILE
FIGUEROA DEL VALLE, ROBERTO       ADDRESS ON FILE
FIGUEROA DEL VALLE, TOMAS         ADDRESS ON FILE
FIGUEROA DELBREY, DAYRA A         ADDRESS ON FILE
FIGUEROA DELGADO MD, EDWIN O      ADDRESS ON FILE
FIGUEROA DELGADO, ADIEL           ADDRESS ON FILE
FIGUEROA DELGADO, ALBERTO         ADDRESS ON FILE
FIGUEROA DELGADO, AXEL            ADDRESS ON FILE
FIGUEROA DELGADO, AXEL M.         ADDRESS ON FILE
FIGUEROA DELGADO, EDGARDO         ADDRESS ON FILE
FIGUEROA DELGADO, ELENID          ADDRESS ON FILE
FIGUEROA DELGADO, INEABELLE       ADDRESS ON FILE
FIGUEROA DELGADO, JAILEEN         ADDRESS ON FILE
FIGUEROA DELGADO, JESSICA         ADDRESS ON FILE
FIGUEROA DELGADO, JORGE           ADDRESS ON FILE
FIGUEROA DELGADO, JOSE E          ADDRESS ON FILE
FIGUEROA DELGADO, LISSETTE        ADDRESS ON FILE




                                                                              Page 2837 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2838 of 3500
                                                                            17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                Address1                  Address2                                 Address3      Address4   City       State   PostalCode   Country
FIGUEROA DELGADO, LUZ E      ADDRESS ON FILE
FIGUEROA DELGADO, MARIELA    ADDRESS ON FILE
FIGUEROA DELGADO, MARITZA    ADDRESS ON FILE
FIGUEROA DELGADO, MERALIS    ADDRESS ON FILE
FIGUEROA DELGADO, RAFAEL     ADDRESS ON FILE
FIGUEROA DELTORO, CESIA      ADDRESS ON FILE
Figueroa Desarden, Efrain    ADDRESS ON FILE
FIGUEROA DESARDEN, EFRAIN    ADDRESS ON FILE
FIGUEROA DEYA, ROSEMARY      ADDRESS ON FILE
FIGUEROA DIAZ MD, IVAN       ADDRESS ON FILE
FIGUEROA DIAZ, ALBERTO       ADDRESS ON FILE
FIGUEROA DIAZ, ALEJANDRINA   ADDRESS ON FILE
FIGUEROA DIAZ, ANA           ADDRESS ON FILE
FIGUEROA DIAZ, ANABELL       ADDRESS ON FILE
FIGUEROA DIAZ, ANDRES        ADDRESS ON FILE
FIGUEROA DIAZ, ANDRES        ADDRESS ON FILE
FIGUEROA DIAZ, ANGEL         ADDRESS ON FILE
FIGUEROA DIAZ, ARCADIA       ADDRESS ON FILE
FIGUEROA DIAZ, AUREA E       ADDRESS ON FILE
FIGUEROA DIAZ, AWILDA        ADDRESS ON FILE
FIGUEROA DIAZ, BRAULIO E.    ADDRESS ON FILE
FIGUEROA DIAZ, CARMEN I      ADDRESS ON FILE
FIGUEROA DIAZ, CARMEN J      ADDRESS ON FILE
FIGUEROA DIAZ, CARMEN L      ADDRESS ON FILE
FIGUEROA DIAZ, CARMEN L      ADDRESS ON FILE
FIGUEROA DIAZ, EDWIN         ADDRESS ON FILE
FIGUEROA DIAZ, GILBERTO      ADDRESS ON FILE
FIGUEROA DIAZ, GILBERTO      ADDRESS ON FILE
FIGUEROA DÍAZ, GILBERTO Z.   POR DERECHO PROPIO        URB. BONNEVILLE GARDENS                  CALLE 6 K‐7              CAGUAS     PR      00725
FIGUEROA DIAZ, GREGORIO      ADDRESS ON FILE
Figueroa Diaz, Haydee        ADDRESS ON FILE
FIGUEROA DIAZ, HAYDEE        ADDRESS ON FILE
FIGUEROA DIAZ, HILDA         ADDRESS ON FILE
FIGUEROA DIAZ, IRIS N.       ADDRESS ON FILE
FIGUEROA DIAZ, IVAN          ADDRESS ON FILE
FIGUEROA DIAZ, JANET         ADDRESS ON FILE
FIGUEROA DIAZ, JANICE        ADDRESS ON FILE
FIGUEROA DIAZ, JAVIER        ADDRESS ON FILE
FIGUEROA DIAZ, JESSICA       ADDRESS ON FILE
FIGUEROA DIAZ, JOSE          ADDRESS ON FILE
FIGUEROA DIAZ, JOSE          ADDRESS ON FILE
FIGUEROA DIAZ, JOSE          ADDRESS ON FILE
FIGUEROA DIAZ, JOSE E.       ADDRESS ON FILE
FIGUEROA DIAZ, JOSE L.       ADDRESS ON FILE
FIGUEROA DIAZ, JOSE L.       ADDRESS ON FILE
FIGUEROA DIAZ, JULIO E.      ADDRESS ON FILE
FIGUEROA DIAZ, JULIO L       ADDRESS ON FILE
FIGUEROA DIAZ, LAURA         ADDRESS ON FILE
FIGUEROA DIAZ, LINELLY       ADDRESS ON FILE
FIGUEROA DIAZ, LOURDES       ADDRESS ON FILE
FIGUEROA DIAZ, LUIS          ADDRESS ON FILE
FIGUEROA DIAZ, MANUEL        ADDRESS ON FILE
FIGUEROA DIAZ, MARIA         ADDRESS ON FILE
FIGUEROA DIAZ, MARIA S.      ADDRESS ON FILE
FIGUEROA DIAZ, MARIBEL       ADDRESS ON FILE
Figueroa Diaz, Mayra         ADDRESS ON FILE
FIGUEROA DIAZ, MAYRA         ADDRESS ON FILE
Figueroa Diaz, Mayra I       ADDRESS ON FILE
FIGUEROA DIAZ, MERLIZA       ADDRESS ON FILE
FIGUEROA DIAZ, MIRTA E       ADDRESS ON FILE




                                                                                 Page 2838 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2839 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA DIAZ, NELSON           ADDRESS ON FILE
FIGUEROA DIAZ, ORLANDO          ADDRESS ON FILE
FIGUEROA DIAZ, PEDRO A          ADDRESS ON FILE
FIGUEROA DIAZ, RAMON            ADDRESS ON FILE
FIGUEROA DIAZ, RAUL             ADDRESS ON FILE
FIGUEROA DIAZ, SANDRA I         ADDRESS ON FILE
FIGUEROA DIAZ, SARA M.          ADDRESS ON FILE
FIGUEROA DIAZ, SEBASTIAN        ADDRESS ON FILE
FIGUEROA DIAZ, SUANETTE         ADDRESS ON FILE
FIGUEROA DIAZ, VANESSA          ADDRESS ON FILE
FIGUEROA DIAZ, VICTOR           ADDRESS ON FILE
Figueroa Diaz, Victor S         ADDRESS ON FILE
FIGUEROA DIAZ, VIONET           ADDRESS ON FILE
FIGUEROA DIAZ, VIRGINIA         ADDRESS ON FILE
FIGUEROA DIAZ, WILFREDO         ADDRESS ON FILE
FIGUEROA DIAZ, XAVIER O.        ADDRESS ON FILE
FIGUEROA DIAZ, YAIZAMARIE       ADDRESS ON FILE
FIGUEROA DIAZ, YAMARIS          ADDRESS ON FILE
FIGUEROA DIAZ, YANIRA A.        ADDRESS ON FILE
FIGUEROA DIAZ, YANIRA I         ADDRESS ON FILE
FIGUEROA DIAZ, ZULMARIE         ADDRESS ON FILE
FIGUEROA DIEZ MD, MARIO         ADDRESS ON FILE
FIGUEROA DOMINGUEZ, EMILIA      ADDRESS ON FILE
FIGUEROA DOMINGUEZ, GLORIA E    ADDRESS ON FILE
FIGUEROA DOMINGUEZ, NELSON      ADDRESS ON FILE
FIGUEROA DONES, CARLOS          ADDRESS ON FILE
FIGUEROA DUARATE, ILEANA        ADDRESS ON FILE
FIGUEROA DURAN, IRVIN           ADDRESS ON FILE
FIGUEROA DURAN, JESSICA         ADDRESS ON FILE
FIGUEROA ECHEVARRIA, ANTONIO    ADDRESS ON FILE
FIGUEROA ECHEVARRIA, HECTOR     ADDRESS ON FILE
FIGUEROA ECHEVARRIA, JULIO      ADDRESS ON FILE
FIGUEROA ECHEVARRIA, MARCIAL    ADDRESS ON FILE
FIGUEROA ECHEVARRIA, MARIA D    ADDRESS ON FILE
FIGUEROA ECHEVARRIA, MARINA     ADDRESS ON FILE
FIGUEROA ECHEVARRIA, NEREID     ADDRESS ON FILE
FIGUEROA ECHEVARRIA, NEREIDA    ADDRESS ON FILE
FIGUEROA EMANUELLI, PAOLA       ADDRESS ON FILE
Figueroa Encarnac, Rafael A     ADDRESS ON FILE
FIGUEROA ENCARNACION, EMILIO    ADDRESS ON FILE
FIGUEROA ENCARNACION, JUAN C.   ADDRESS ON FILE
FIGUEROA ENCARNACION, KYRSIS    ADDRESS ON FILE
FIGUEROA ERAZO, ELGA I.         ADDRESS ON FILE
FIGUEROA ESCOBAR, RAFAEL I      ADDRESS ON FILE
FIGUEROA ESCOBAR, RAFAEL I      ADDRESS ON FILE
FIGUEROA ESPADA, ANGEL          ADDRESS ON FILE
FIGUEROA ESPADA, LESLIE         ADDRESS ON FILE
FIGUEROA ESPADA, LILLIAM I      ADDRESS ON FILE
FIGUEROA ESPADA, RAMON L.       ADDRESS ON FILE
Figueroa Esparza, Martin K.     ADDRESS ON FILE
FIGUEROA ESQUILIN, WILFREDO     ADDRESS ON FILE
FIGUEROA ESQUILIN, WILFREDO     ADDRESS ON FILE
FIGUEROA ESTACIE, LIZETTE       ADDRESS ON FILE
FIGUEROA ESTACIE, LIZETTE       ADDRESS ON FILE
FIGUEROA ESTASIE, NERYLU        ADDRESS ON FILE
FIGUEROA ESTELA, KARLA M        ADDRESS ON FILE
FIGUEROA ESTRELLA, ELYNETTE     ADDRESS ON FILE
FIGUEROA ESTRELLA, EVA L        ADDRESS ON FILE
FIGUEROA ESTRELLA, MARICELLI    ADDRESS ON FILE
FIGUEROA ESTRELLA, WANDA        ADDRESS ON FILE




                                                                            Page 2839 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2840 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA ESTRELLA, YOLANDA      ADDRESS ON FILE
FIGUEROA FAJARDO, AMPARO        ADDRESS ON FILE
Figueroa Falcon, Eduardo        ADDRESS ON FILE
FIGUEROA FARGAS, ELIEZER        ADDRESS ON FILE
FIGUEROA FEBRES, JULIA E.       ADDRESS ON FILE
FIGUEROA FEBU, GISELLE J.       ADDRESS ON FILE
FIGUEROA FEBUS, ANABELLE        ADDRESS ON FILE
FIGUEROA FEBUS, HECTOR MANUEL   ADDRESS ON FILE
FIGUEROA FELICIANO, ANA I       ADDRESS ON FILE
FIGUEROA FELICIANO, ANAIDA      ADDRESS ON FILE
FIGUEROA FELICIANO, BESSIE      ADDRESS ON FILE
FIGUEROA FELICIANO, DAMARIS     ADDRESS ON FILE
FIGUEROA FELICIANO, EDDIE       ADDRESS ON FILE
FIGUEROA FELICIANO, EDDIE       ADDRESS ON FILE
FIGUEROA FELICIANO, IRIS J      ADDRESS ON FILE
FIGUEROA FELICIANO, IVAN        ADDRESS ON FILE
FIGUEROA FELICIANO, JOHN        ADDRESS ON FILE
FIGUEROA FELICIANO, JULIO       ADDRESS ON FILE
FIGUEROA FELICIANO, JULIO       ADDRESS ON FILE
FIGUEROA FELICIANO, KIANNA      ADDRESS ON FILE
FIGUEROA FELICIANO, LEISHLA S   ADDRESS ON FILE
FIGUEROA FELICIANO, LINDA       ADDRESS ON FILE
FIGUEROA FELICIANO, LUIS A.     ADDRESS ON FILE
FIGUEROA FELICIANO, MARIA A     ADDRESS ON FILE
FIGUEROA FELICIANO, MARIA L.    ADDRESS ON FILE
FIGUEROA FELICIANO, MARIBEL     ADDRESS ON FILE
FIGUEROA FELICIANO, MARIBEL     ADDRESS ON FILE
FIGUEROA FELICIANO, MARIO       ADDRESS ON FILE
FIGUEROA FELICIANO, MIRIAM      ADDRESS ON FILE
FIGUEROA FELICIANO, NATIVIDAD   ADDRESS ON FILE
Figueroa Feliciano, Omar        ADDRESS ON FILE
FIGUEROA FELICIANO, RUBEN       ADDRESS ON FILE
FIGUEROA FELICIANO, SANTOS      ADDRESS ON FILE
FIGUEROA FELICIANO, SHEILA      ADDRESS ON FILE
FIGUEROA FELICIANO, VICENTE     ADDRESS ON FILE
FIGUEROA FELICIANO, WILFREDO    ADDRESS ON FILE
FIGUEROA FELIX, ANA DELIA       ADDRESS ON FILE
FIGUEROA FELIX, JUAN            ADDRESS ON FILE
FIGUEROA FELIX, NELSON          ADDRESS ON FILE
FIGUEROA FERNANDEZ, ARCELYS     ADDRESS ON FILE
FIGUEROA FERNANDEZ, CARMEN      ADDRESS ON FILE
FIGUEROA FERNANDEZ, CARMEN A    ADDRESS ON FILE
Figueroa Fernandez, Frankie     ADDRESS ON FILE
FIGUEROA FERNANDEZ, GISELA      ADDRESS ON FILE
FIGUEROA FERNANDEZ, IRMA        ADDRESS ON FILE
FIGUEROA FERNANDEZ, JESUS M     ADDRESS ON FILE
FIGUEROA FERNANDEZ, JOSE        ADDRESS ON FILE
FIGUEROA FERNANDEZ, JUAN        ADDRESS ON FILE
FIGUEROA FERNANDEZ, MARITZA     ADDRESS ON FILE
FIGUEROA FERNANDEZ, PEDRO       ADDRESS ON FILE
FIGUEROA FERNANDEZ, RAMON       ADDRESS ON FILE
FIGUEROA FERNANDEZ, RAMON       ADDRESS ON FILE
FIGUEROA FERNANDEZ, RAMON A.    ADDRESS ON FILE
FIGUEROA FERNANDEZ, WANDA       ADDRESS ON FILE
FIGUEROA FERNANDEZ, WANDA       ADDRESS ON FILE
FIGUEROA FERREIRA, NIRA J       ADDRESS ON FILE
FIGUEROA FERRER, CARLOS         ADDRESS ON FILE
FIGUEROA FERRER, CARMEN A.      ADDRESS ON FILE
FIGUEROA FERRER, DESIREE E.     ADDRESS ON FILE
FIGUEROA FERRER, HAYDEE         ADDRESS ON FILE




                                                                            Page 2840 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2841 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA FERRER, HECTOR M.         ADDRESS ON FILE
FIGUEROA FERRER, ILUMINADA         ADDRESS ON FILE
FIGUEROA FERRER, JORGE             ADDRESS ON FILE
FIGUEROA FERRER, JOSE              ADDRESS ON FILE
FIGUEROA FERRER, JOSE E.           ADDRESS ON FILE
FIGUEROA FERRER, JOSUE A           ADDRESS ON FILE
FIGUEROA FERRER, MANUEL            ADDRESS ON FILE
FIGUEROA FERRER, WENDYMAR          ADDRESS ON FILE
Figueroa Figueroa, Abraham         ADDRESS ON FILE
FIGUEROA FIGUEROA, ABRAHAM         ADDRESS ON FILE
FIGUEROA FIGUEROA, AIDA            ADDRESS ON FILE
Figueroa Figueroa, Alejandro       ADDRESS ON FILE
FIGUEROA FIGUEROA, ANA             ADDRESS ON FILE
FIGUEROA FIGUEROA, ANA I.          ADDRESS ON FILE
FIGUEROA FIGUEROA, ANA L           ADDRESS ON FILE
FIGUEROA FIGUEROA, ANA MARGARITA   ADDRESS ON FILE
FIGUEROA FIGUEROA, ANA Y           ADDRESS ON FILE
Figueroa Figueroa, Anselmo         ADDRESS ON FILE
FIGUEROA FIGUEROA, ANTONIA         ADDRESS ON FILE
FIGUEROA FIGUEROA, AWILDA          ADDRESS ON FILE
FIGUEROA FIGUEROA, BELEN           ADDRESS ON FILE
FIGUEROA FIGUEROA, BRIAN           ADDRESS ON FILE
FIGUEROA FIGUEROA, CARLOS          ADDRESS ON FILE
FIGUEROA FIGUEROA, CARLOS          ADDRESS ON FILE
FIGUEROA FIGUEROA, CARLOS          ADDRESS ON FILE
Figueroa Figueroa, Carlos M.       ADDRESS ON FILE
FIGUEROA FIGUEROA, CARMEN          ADDRESS ON FILE
FIGUEROA FIGUEROA, CARMEN D        ADDRESS ON FILE
FIGUEROA FIGUEROA, CARMEN I        ADDRESS ON FILE
FIGUEROA FIGUEROA, CARMEN M        ADDRESS ON FILE
FIGUEROA FIGUEROA, CARMEN M        ADDRESS ON FILE
FIGUEROA FIGUEROA, CARMEN N.       ADDRESS ON FILE
FIGUEROA FIGUEROA, CELIA           ADDRESS ON FILE
FIGUEROA FIGUEROA, DAISY A.        ADDRESS ON FILE
FIGUEROA FIGUEROA, DAISY M.        ADDRESS ON FILE
FIGUEROA FIGUEROA, DIEGO L         ADDRESS ON FILE
FIGUEROA FIGUEROA, DORA I          ADDRESS ON FILE
FIGUEROA FIGUEROA, EDWIN           ADDRESS ON FILE
FIGUEROA FIGUEROA, EDWIN ARNALDO   ADDRESS ON FILE
FIGUEROA FIGUEROA, EVARISTO        ADDRESS ON FILE
FIGUEROA FIGUEROA, EVELYN          ADDRESS ON FILE
Figueroa Figueroa, Felix           ADDRESS ON FILE
FIGUEROA FIGUEROA, FELIX           ADDRESS ON FILE
Figueroa Figueroa, Felix G.        ADDRESS ON FILE
FIGUEROA FIGUEROA, FERNANDO        ADDRESS ON FILE
FIGUEROA FIGUEROA, GEORGE          ADDRESS ON FILE
FIGUEROA FIGUEROA, GLORIVEE        ADDRESS ON FILE
FIGUEROA FIGUEROA, HAMILTON        ADDRESS ON FILE
FIGUEROA FIGUEROA, INOCENCIA       ADDRESS ON FILE
FIGUEROA FIGUEROA, IRIS M          ADDRESS ON FILE
FIGUEROA FIGUEROA, ISAI            ADDRESS ON FILE
FIGUEROA FIGUEROA, IVAN            ADDRESS ON FILE
FIGUEROA FIGUEROA, JONATHAN        ADDRESS ON FILE
FIGUEROA FIGUEROA, JOSE            ADDRESS ON FILE
FIGUEROA FIGUEROA, JOSE            ADDRESS ON FILE
FIGUEROA FIGUEROA, JOSE E          ADDRESS ON FILE
FIGUEROA FIGUEROA, JOSE R          ADDRESS ON FILE
FIGUEROA FIGUEROA, JUAN            ADDRESS ON FILE
FIGUEROA FIGUEROA, JUAN            ADDRESS ON FILE
FIGUEROA FIGUEROA, JUAN F.         ADDRESS ON FILE




                                                                               Page 2841 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2842 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA FIGUEROA, JUANITA               ADDRESS ON FILE
FIGUEROA FIGUEROA, JUSTINIANO            ADDRESS ON FILE
FIGUEROA FIGUEROA, LAURA M               ADDRESS ON FILE
FIGUEROA FIGUEROA, LISANDRA              ADDRESS ON FILE
FIGUEROA FIGUEROA, LUIS                  ADDRESS ON FILE
FIGUEROA FIGUEROA, LUIS                  ADDRESS ON FILE
FIGUEROA FIGUEROA, LUIS                  ADDRESS ON FILE
FIGUEROA FIGUEROA, LUIS F                ADDRESS ON FILE
Figueroa Figueroa, Luis R.               ADDRESS ON FILE
FIGUEROA FIGUEROA, LUZ M                 ADDRESS ON FILE
FIGUEROA FIGUEROA, LUZ M                 ADDRESS ON FILE
FIGUEROA FIGUEROA, MARIA                 ADDRESS ON FILE
FIGUEROA FIGUEROA, MARIA J               ADDRESS ON FILE
FIGUEROA FIGUEROA, MARIA M               ADDRESS ON FILE
FIGUEROA FIGUEROA, MIGUEL                ADDRESS ON FILE
FIGUEROA FIGUEROA, MILAGROS              ADDRESS ON FILE
FIGUEROA FIGUEROA, MILAGROS              ADDRESS ON FILE
FIGUEROA FIGUEROA, MYRIAM                ADDRESS ON FILE
FIGUEROA FIGUEROA, MYRNA C               ADDRESS ON FILE
FIGUEROA FIGUEROA, MYRTA                 ADDRESS ON FILE
FIGUEROA FIGUEROA, NARCISO               ADDRESS ON FILE
FIGUEROA FIGUEROA, NECTARINA             ADDRESS ON FILE
FIGUEROA FIGUEROA, NEFTALI               ADDRESS ON FILE
FIGUEROA FIGUEROA, NYDIA C               ADDRESS ON FILE
FIGUEROA FIGUEROA, OLGA I.               ADDRESS ON FILE
Figueroa Figueroa, Orlando               ADDRESS ON FILE
FIGUEROA FIGUEROA, RAFAEL                ADDRESS ON FILE
Figueroa Figueroa, Ricardo               ADDRESS ON FILE
FIGUEROA FIGUEROA, SANTOS                ADDRESS ON FILE
FIGUEROA FIGUEROA, SARA                  ADDRESS ON FILE
FIGUEROA FIGUEROA, SARA                  ADDRESS ON FILE
FIGUEROA FIGUEROA, SHIRLEY ANN Y OTROS   RAFAEL RIVERA SANCHEZ     PO BOX 191884                                          SAN JUAN     PR      00919‐1884
FIGUEROA FIGUEROA, SHIRLEY ANN Y OTROS   RAISAAC COLÓN RIOS        POBOX 810386                                           CAROLINA     PR      00981
FIGUEROA FIGUEROA, SONIA E               ADDRESS ON FILE
FIGUEROA FIGUEROA, STEPHANIE             ADDRESS ON FILE
FIGUEROA FIGUEROA, WANDA                 ADDRESS ON FILE
FIGUEROA FIGUEROA, YAMILA                ADDRESS ON FILE
FIGUEROA FIGUEROA, YVELISSE              ADDRESS ON FILE
FIGUEROA FIGUEROA, ZAIDA                 ADDRESS ON FILE
FIGUEROA FIGUEROA, ZENAIDA               ADDRESS ON FILE
FIGUEROA FILGUEIRA, ANA                  ADDRESS ON FILE
FIGUEROA FILGUEIRA, ANA M                ADDRESS ON FILE
FIGUEROA FILGUEIRA, LUIS                 ADDRESS ON FILE
FIGUEROA FINES, ANGEL                    ADDRESS ON FILE
FIGUEROA FLORES, CARLOS                  ADDRESS ON FILE
FIGUEROA FLORES, CARMEN                  ADDRESS ON FILE
FIGUEROA FLORES, DANIEL                  ADDRESS ON FILE
FIGUEROA FLORES, DANIEL                  ADDRESS ON FILE
FIGUEROA FLORES, EMIGDIO                 ADDRESS ON FILE
FIGUEROA FLORES, EVANGELINA              ADDRESS ON FILE
FIGUEROA FLORES, EVELYN                  ADDRESS ON FILE
FIGUEROA FLORES, JOSE                    ADDRESS ON FILE
FIGUEROA FLORES, JUAN                    ADDRESS ON FILE
Figueroa Flores, Juan J                  ADDRESS ON FILE
FIGUEROA FLORES, MARIE                   ADDRESS ON FILE
FIGUEROA FLORES, RAYMOND                 ADDRESS ON FILE
FIGUEROA FLORES, RUTH D                  ADDRESS ON FILE
FIGUEROA FLORES, YARITZA                 ADDRESS ON FILE
FIGUEROA FLORES,JORGE J.                 ADDRESS ON FILE
FIGUEROA FONSECA, EDWIN                  ADDRESS ON FILE




                                                                                     Page 2842 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2843 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA FONSECA, EDWIN          ADDRESS ON FILE
FIGUEROA FONTANEZ, ANA           ADDRESS ON FILE
FIGUEROA FONTANEZ, CATALINO      ADDRESS ON FILE
FIGUEROA FONTANEZ, LEYDA E       ADDRESS ON FILE
FIGUEROA FONTANEZ, NATIVIDAD     ADDRESS ON FILE
FIGUEROA FORTE, JAVIER           ADDRESS ON FILE
FIGUEROA FRAGOSA, WALESKA        ADDRESS ON FILE
FIGUEROA FRANCO, EDGAR           ADDRESS ON FILE
FIGUEROA FRANQUI, JOSE           ADDRESS ON FILE
FIGUEROA FRATICELLI, GLENCY      ADDRESS ON FILE
FIGUEROA FREYTES, DENESYN        ADDRESS ON FILE
FIGUEROA FREYTES, GLENDALYS      ADDRESS ON FILE
FIGUEROA FUENTES STHENCEF        ADDRESS ON FILE
FIGUEROA FUENTES, CARMEN M.      ADDRESS ON FILE
FIGUEROA FUENTES, ILEANA J.      ADDRESS ON FILE
FIGUEROA FUENTES, LUIS           ADDRESS ON FILE
FIGUEROA FUENTES, LUIS           ADDRESS ON FILE
FIGUEROA FUENTES, SANTOS         ADDRESS ON FILE
FIGUEROA FULLADOZA, FRANCHESKA   ADDRESS ON FILE
FIGUEROA GALARZA, SAUL           ADDRESS ON FILE
FIGUEROA GALARZA, VANESSA        ADDRESS ON FILE
FIGUEROA GALARZA, WILLIAM        ADDRESS ON FILE
FIGUEROA GALARZA, WILMA I.       ADDRESS ON FILE
FIGUEROA GALINDEZ, IRIS M.       ADDRESS ON FILE
FIGUEROA GALLARDO, JULIA M       ADDRESS ON FILE
FIGUEROA GALLARDO, MARTA         ADDRESS ON FILE
FIGUEROA GAMERO, ANTONIO         ADDRESS ON FILE
Figueroa Garay, Jose A           ADDRESS ON FILE
FIGUEROA GARCED, DIGNA L         ADDRESS ON FILE
FIGUEROA GARCED, ENID            ADDRESS ON FILE
FIGUEROA GARCIA, ALBERTO         ADDRESS ON FILE
FIGUEROA GARCIA, ALEXANDER       ADDRESS ON FILE
FIGUEROA GARCIA, ALMA            ADDRESS ON FILE
FIGUEROA GARCIA, AMARILYS        ADDRESS ON FILE
FIGUEROA GARCIA, AMARILYS        ADDRESS ON FILE
FIGUEROA GARCIA, AMPARO          ADDRESS ON FILE
FIGUEROA GARCIA, ANA LIZ         ADDRESS ON FILE
FIGUEROA GARCIA, ANA M           ADDRESS ON FILE
FIGUEROA GARCIA, ANA T           ADDRESS ON FILE
FIGUEROA GARCIA, ANASTACIO       ADDRESS ON FILE
FIGUEROA GARCIA, BERNICE         ADDRESS ON FILE
FIGUEROA GARCIA, CANDIDA         ADDRESS ON FILE
FIGUEROA GARCIA, CARLOS R        ADDRESS ON FILE
FIGUEROA GARCIA, DELIO           ADDRESS ON FILE
FIGUEROA GARCIA, DESIREE         ADDRESS ON FILE
FIGUEROA GARCIA, EDGARDO         ADDRESS ON FILE
FIGUEROA GARCIA, EDMEE M         ADDRESS ON FILE
FIGUEROA GARCIA, EDWIN           ADDRESS ON FILE
Figueroa Garcia, Edwin L         ADDRESS ON FILE
Figueroa Garcia, Efrain          ADDRESS ON FILE
FIGUEROA GARCIA, ELIZABETH       ADDRESS ON FILE
FIGUEROA GARCIA, ELIZABETH       ADDRESS ON FILE
FIGUEROA GARCIA, ERIKA E.        ADDRESS ON FILE
FIGUEROA GARCIA, FRANCES         ADDRESS ON FILE
FIGUEROA GARCIA, FRANCISCA       ADDRESS ON FILE
FIGUEROA GARCIA, GABRIELA V.     ADDRESS ON FILE
FIGUEROA GARCIA, HILDA L         ADDRESS ON FILE
FIGUEROA GARCIA, HIPOLITO        ADDRESS ON FILE
FIGUEROA GARCIA, IRISH           ADDRESS ON FILE
Figueroa Garcia, Jacinto         ADDRESS ON FILE




                                                                             Page 2843 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2844 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA GARCIA, JENNETSIE         ADDRESS ON FILE
FIGUEROA GARCIA, JOAN M            ADDRESS ON FILE
FIGUEROA GARCIA, JOE               ADDRESS ON FILE
FIGUEROA GARCIA, JORGE             ADDRESS ON FILE
FIGUEROA GARCIA, JORGE             ADDRESS ON FILE
FIGUEROA GARCIA, JORGE L           ADDRESS ON FILE
FIGUEROA GARCIA, JOSE R            ADDRESS ON FILE
FIGUEROA GARCIA, JOSE R.           ADDRESS ON FILE
FIGUEROA GARCIA, JOVANA            ADDRESS ON FILE
FIGUEROA GARCIA, JUAN              ADDRESS ON FILE
FIGUEROA GARCIA, JUDITH            ADDRESS ON FILE
FIGUEROA GARCIA, KAREN A           ADDRESS ON FILE
Figueroa Garcia, Luiggie           ADDRESS ON FILE
Figueroa Garcia, Luis              ADDRESS ON FILE
FIGUEROA GARCIA, LUIS              ADDRESS ON FILE
FIGUEROA GARCIA, LUISA             ADDRESS ON FILE
FIGUEROA GARCIA, LUZ M.            ADDRESS ON FILE
FIGUEROA GARCIA, MANUEL            ADDRESS ON FILE
FIGUEROA GARCIA, MARIELY           ADDRESS ON FILE
FIGUEROA GARCIA, MARITZA           ADDRESS ON FILE
FIGUEROA GARCIA, MICHELE M.        ADDRESS ON FILE
FIGUEROA GARCIA, MIGUEL A          ADDRESS ON FILE
FIGUEROA GARCIA, NANCY             ADDRESS ON FILE
FIGUEROA GARCIA, NEFTALI           ADDRESS ON FILE
FIGUEROA GARCIA, NERVADIRIS        ADDRESS ON FILE
Figueroa Garcia, Nilsa             ADDRESS ON FILE
FIGUEROA GARCIA, NILSA             ADDRESS ON FILE
Figueroa Garcia, Oscar Enrique     ADDRESS ON FILE
FIGUEROA GARCIA, RADAMES           ADDRESS ON FILE
FIGUEROA GARCIA, RAFAEL            ADDRESS ON FILE
FIGUEROA GARCIA, RAFAEL            ADDRESS ON FILE
FIGUEROA GARCIA, ROBINSON          ADDRESS ON FILE
FIGUEROA GARCIA, RUTH M            ADDRESS ON FILE
FIGUEROA GARCIA, SANDRA I          ADDRESS ON FILE
FIGUEROA GARCIA, SANTOS S          ADDRESS ON FILE
FIGUEROA GARCIA, SUHAIL            ADDRESS ON FILE
FIGUEROA GARCIA, THANIS            ADDRESS ON FILE
FIGUEROA GARCIA, WILBERTO          ADDRESS ON FILE
FIGUEROA GARCIA, WILFREDO          ADDRESS ON FILE
FIGUEROA GARCIA, XIOMARIES         ADDRESS ON FILE
FIGUEROA GARCIA, XIOMARIES         ADDRESS ON FILE
FIGUEROA GARCIA, YAZMIN            ADDRESS ON FILE
FIGUEROA GARCIA, ZILKA             ADDRESS ON FILE
FIGUEROA GARCIA, ZULEYKA           ADDRESS ON FILE
FIGUEROA GARMEDIA, RAFAEL          ADDRESS ON FILE
FIGUEROA GASTON, MIRTA M           ADDRESS ON FILE
FIGUEROA GAUD, ALVIN               ADDRESS ON FILE
FIGUEROA GAUD, SANDRA I            ADDRESS ON FILE
FIGUEROA GAVILLAN, ISAURA          ADDRESS ON FILE
FIGUEROA GAVILLAN, WILMAGIE        ADDRESS ON FILE
FIGUEROA GAVILLAN, WILMAGUIE       ADDRESS ON FILE
FIGUEROA GELY, EDWIN               ADDRESS ON FILE
FIGUEROA GERENA, ANA I             ADDRESS ON FILE
FIGUEROA GERENA, ISMAEL            ADDRESS ON FILE
FIGUEROA GIBSON, DAVID             ADDRESS ON FILE
FIGUEROA GIBSON, GEISHA M          ADDRESS ON FILE
FIGUEROA GIBSON, LOREE             ADDRESS ON FILE
FIGUEROA GIL DE LA MADRID, ANGEL   ADDRESS ON FILE
FIGUEROA GIRALDES, BLADIMIR        ADDRESS ON FILE
FIGUEROA GIRALDES, SANDRA          ADDRESS ON FILE




                                                                               Page 2844 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2845 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA GOMEZ, ANA I              ADDRESS ON FILE
FIGUEROA GOMEZ, DAVID              ADDRESS ON FILE
FIGUEROA GOMEZ, ELLIOT             ADDRESS ON FILE
FIGUEROA GOMEZ, GLADYS             ADDRESS ON FILE
FIGUEROA GOMEZ, JAISON             ADDRESS ON FILE
FIGUEROA GOMEZ, JOSE               ADDRESS ON FILE
FIGUEROA GOMEZ, JUAN JOSE          ADDRESS ON FILE
FIGUEROA GOMEZ, JUANA              ADDRESS ON FILE
FIGUEROA GOMEZ, LUZ M              ADDRESS ON FILE
FIGUEROA GOMEZ, LYDIA              ADDRESS ON FILE
FIGUEROA GOMEZ, MARIA S            ADDRESS ON FILE
FIGUEROA GOMEZ, MARJORIE           ADDRESS ON FILE
FIGUEROA GOMEZ, MARTA M            ADDRESS ON FILE
Figueroa Gomez, Milva E            ADDRESS ON FILE
FIGUEROA GOMEZ, PEDRO J            ADDRESS ON FILE
FIGUEROA GOMEZ, SARAI              ADDRESS ON FILE
Figueroa Gomez, Stephanie          ADDRESS ON FILE
FIGUEROA GOMEZ, VALERIA            ADDRESS ON FILE
FIGUEROA GONZALEZ MD, ARIEL        ADDRESS ON FILE
FIGUEROA GONZALEZ, AMARILIS        ADDRESS ON FILE
FIGUEROA GONZALEZ, AMBAR           ADDRESS ON FILE
FIGUEROA GONZALEZ, ANA L           ADDRESS ON FILE
FIGUEROA GONZALEZ, ANGEL           ADDRESS ON FILE
FIGUEROA GONZALEZ, ANGEL L         ADDRESS ON FILE
FIGUEROA GONZALEZ, ANTHONY         ADDRESS ON FILE
FIGUEROA GONZALEZ, BRUNILDA        ADDRESS ON FILE
FIGUEROA GONZALEZ, CARLOS          ADDRESS ON FILE
FIGUEROA GONZALEZ, CARMEN L        ADDRESS ON FILE
FIGUEROA GONZALEZ, CAYETANO        ADDRESS ON FILE
FIGUEROA GONZALEZ, CEFERINA        ADDRESS ON FILE
FIGUEROA GONZALEZ, CLARYTA         ADDRESS ON FILE
Figueroa Gonzalez, Claryta         ADDRESS ON FILE
FIGUEROA GONZALEZ, CRUCITA         ADDRESS ON FILE
FIGUEROA GONZALEZ, DAMARIS         ADDRESS ON FILE
FIGUEROA GONZALEZ, DAVID           ADDRESS ON FILE
FIGUEROA GONZALEZ, DENISSA         ADDRESS ON FILE
FIGUEROA GONZALEZ, DYMARIE         ADDRESS ON FILE
FIGUEROA GONZALEZ, EDISON EDWARD   ADDRESS ON FILE
Figueroa Gonzalez, Edwin           ADDRESS ON FILE
FIGUEROA GONZALEZ, ELBA I          ADDRESS ON FILE
FIGUEROA GONZALEZ, ELIZABETH       ADDRESS ON FILE
FIGUEROA GONZALEZ, ELVIN           ADDRESS ON FILE
Figueroa Gonzalez, Enrique         ADDRESS ON FILE
FIGUEROA GONZALEZ, ERIC            ADDRESS ON FILE
FIGUEROA GONZALEZ, ERIC I          ADDRESS ON FILE
FIGUEROA GONZALEZ, ESMERALDA       ADDRESS ON FILE
FIGUEROA GONZALEZ, EVELYN          ADDRESS ON FILE
FIGUEROA GONZALEZ, FERNANDO        ADDRESS ON FILE
FIGUEROA GONZALEZ, FLOR M          ADDRESS ON FILE
FIGUEROA GONZALEZ, FRANCISCA       ADDRESS ON FILE
FIGUEROA GONZALEZ, GLENDALISS      ADDRESS ON FILE
FIGUEROA GONZALEZ, HECTOR          ADDRESS ON FILE
FIGUEROA GONZALEZ, HECTOR          ADDRESS ON FILE
FIGUEROA GONZALEZ, HECTOR          ADDRESS ON FILE
FIGUEROA GONZALEZ, IRIS R.         ADDRESS ON FILE
FIGUEROA GONZALEZ, IVETTE          ADDRESS ON FILE
FIGUEROA GONZALEZ, JESUS           ADDRESS ON FILE
FIGUEROA GONZALEZ, JESUS           ADDRESS ON FILE
Figueroa Gonzalez, Joann           ADDRESS ON FILE
FIGUEROA GONZALEZ, JORGE           ADDRESS ON FILE




                                                                               Page 2845 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2846 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                       Address1                  Address2                                   Address3   Address4   City         State   PostalCode   Country
FIGUEROA GONZALEZ, JOSE             ADDRESS ON FILE
FIGUEROA GONZALEZ, JOSE             ADDRESS ON FILE
FIGUEROA GONZALEZ, JOSE             ADDRESS ON FILE
FIGUEROA GONZALEZ, JOSE I           ADDRESS ON FILE
FIGUEROA GONZALEZ, JOSE R           ADDRESS ON FILE
FIGUEROA GONZALEZ, JUAN             ADDRESS ON FILE
Figueroa Gonzalez, Juan C.          ADDRESS ON FILE
FIGUEROA GONZALEZ, JUANITA          ADDRESS ON FILE
FIGUEROA GONZALEZ, KATIANA          ADDRESS ON FILE
Figueroa Gonzalez, Kenia Y.         ADDRESS ON FILE
FIGUEROA GONZALEZ, LEINAMAR         ADDRESS ON FILE
FIGUEROA GONZALEZ, LINO             ADDRESS ON FILE
FIGUEROA GONZALEZ, LUCIA            ADDRESS ON FILE
FIGUEROA GONZALEZ, LUIS A           ADDRESS ON FILE
FIGUEROA GONZALEZ, LUZ D            ADDRESS ON FILE
FIGUEROA GONZALEZ, LUZ M            ADDRESS ON FILE
FIGUEROA GONZALEZ, MADELYN          ADDRESS ON FILE
FIGUEROA GONZALEZ, MANUEL           ADDRESS ON FILE
FIGUEROA GONZALEZ, MARIA            ADDRESS ON FILE
FIGUEROA GONZALEZ, MARIA            ADDRESS ON FILE
FIGUEROA GONZALEZ, MARIA L          ADDRESS ON FILE
FIGUEROA GONZALEZ, MARIA M          ADDRESS ON FILE
Figueroa Gonzalez, Marie C          ADDRESS ON FILE
FIGUEROA GONZALEZ, MARILYN          ADDRESS ON FILE
FIGUEROA GONZALEZ, MARTA M          ADDRESS ON FILE
FIGUEROA GONZALEZ, MARYLIZ          ADDRESS ON FILE
FIGUEROA GONZALEZ, MAX              ADDRESS ON FILE
FIGUEROA GONZALEZ, MAYRA L          ADDRESS ON FILE
FIGUEROA GONZÁLEZ, MELISSA          LCDA. GAILY BULTRÓN       PMB 291 #1353 RD. 19                                             GUAYNABO     PR      00966‐2700
FIGUEROA GONZÁLEZ, MELISSA          LCDA. ROSA WARD CID       COND. EL CENTRO I 500 MUÑOZ RIVERA SUITE 249                     SAN JUAN     PR      00918
FIGUEROA GONZALEZ, MIGUEL           ADDRESS ON FILE
FIGUEROA GONZALEZ, MORAIMA I.       ADDRESS ON FILE
FIGUEROA GONZALEZ, MYRTA S          ADDRESS ON FILE
FIGUEROA GONZALEZ, NATHANIEL        ADDRESS ON FILE
FIGUEROA GONZALEZ, NELSON           ADDRESS ON FILE
FIGUEROA GONZALEZ, NELSON F         ADDRESS ON FILE
FIGUEROA GONZALEZ, NEYSA            ADDRESS ON FILE
FIGUEROA GONZALEZ, NILSA            ADDRESS ON FILE
FIGUEROA GONZALEZ, OLGA             ADDRESS ON FILE
FIGUEROA GONZALEZ, OLGA             ADDRESS ON FILE
FIGUEROA GONZALEZ, OSVALDO          ADDRESS ON FILE
FIGUEROA GONZALEZ, OTILIA           ADDRESS ON FILE
Figueroa Gonzalez, Pedro            ADDRESS ON FILE
FIGUEROA GONZALEZ, PEDRO J.         ADDRESS ON FILE
FIGUEROA GONZALEZ, RAMON            ADDRESS ON FILE
FIGUEROA GONZALEZ, RAQUEL           ADDRESS ON FILE
FIGUEROA GONZALEZ, RAQUEL           ADDRESS ON FILE
FIGUEROA GONZALEZ, ROBERTO          ADDRESS ON FILE
FIGUEROA GONZALEZ, SANDRA           ADDRESS ON FILE
FIGUEROA GONZALEZ, SANDRA           ADDRESS ON FILE
FIGUEROA GONZALEZ, SARA I           ADDRESS ON FILE
FIGUEROA GONZALEZ, SHIRLEY DENISE   ADDRESS ON FILE
FIGUEROA GONZALEZ, SOR I            ADDRESS ON FILE
FIGUEROA GONZALEZ, SYLMARIE         ADDRESS ON FILE
FIGUEROA GONZALEZ, VICTOR D.        ADDRESS ON FILE
FIGUEROA GONZALEZ, WANDA I          ADDRESS ON FILE
FIGUEROA GONZALEZ, WILLIAM A        ADDRESS ON FILE
FIGUEROA GONZALEZ, YAMILETTE        ADDRESS ON FILE
FIGUEROA GONZALEZ, YESENIA          ADDRESS ON FILE
FIGUEROA GONZALEZ, YHOMARA          ADDRESS ON FILE




                                                                                          Page 2846 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2847 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA GONZALEZ, YOLANDA      ADDRESS ON FILE
FIGUEROA GONZALEZ,MELISSA       ADDRESS ON FILE
FIGUEROA GORDIAN, FERNANDO L.   ADDRESS ON FILE
FIGUEROA GRACIA, CARLOS         ADDRESS ON FILE
FIGUEROA GREO, ANGEL A          ADDRESS ON FILE
FIGUEROA GREO, JOSE L           ADDRESS ON FILE
FIGUEROA GUADALUPE, HILDA       ADDRESS ON FILE
Figueroa Guadalupe, Jesus R     ADDRESS ON FILE
FIGUEROA GUADALUPE, LYDIA E     ADDRESS ON FILE
FIGUEROA GUADALUPE, MYRNA       ADDRESS ON FILE
FIGUEROA GUADALUPE, YARITZA     ADDRESS ON FILE
FIGUEROA GUAP, ELVIRA           ADDRESS ON FILE
FIGUEROA GUERRA, JUAN A         ADDRESS ON FILE
FIGUEROA GUILLONT, OLGA         ADDRESS ON FILE
FIGUEROA GUISAO, AMADA          ADDRESS ON FILE
FIGUEROA GUISAO, NOEMI          ADDRESS ON FILE
FIGUEROA GUISAO, NYLSA          ADDRESS ON FILE
FIGUEROA GUTIERREZ, BRYAN       ADDRESS ON FILE
FIGUEROA GUTIERREZ, EDWIN       ADDRESS ON FILE
FIGUEROA GUTIERREZ, EMILIO      ADDRESS ON FILE
FIGUEROA GUTIERREZ, FRANCISCO   ADDRESS ON FILE
FIGUEROA GUTIERREZ, MONICA M    ADDRESS ON FILE
FIGUEROA GUZMAN MD, LUZ D       ADDRESS ON FILE
FIGUEROA GUZMAN, ALIDA          ADDRESS ON FILE
FIGUEROA GUZMAN, ANA            ADDRESS ON FILE
FIGUEROA GUZMAN, ANA L          ADDRESS ON FILE
FIGUEROA GUZMAN, CARMEN E       ADDRESS ON FILE
FIGUEROA GUZMAN, FRANCISCO      ADDRESS ON FILE
FIGUEROA GUZMAN, FREDDIE        ADDRESS ON FILE
FIGUEROA GUZMAN, GLORIA         ADDRESS ON FILE
FIGUEROA GUZMAN, HECTOR L.      ADDRESS ON FILE
FIGUEROA GUZMAN, JOSE           ADDRESS ON FILE
FIGUEROA GUZMAN, LUIS ALBERTO   ADDRESS ON FILE
FIGUEROA GUZMAN, MARIA DEL C    ADDRESS ON FILE
FIGUEROA GUZMAN, MARIA I        ADDRESS ON FILE
FIGUEROA GUZMAN, MARIA S        ADDRESS ON FILE
FIGUEROA GUZMAN, MINERVA        ADDRESS ON FILE
FIGUEROA GUZMAN, MINERVA        ADDRESS ON FILE
FIGUEROA GUZMAN, NESTOR J       ADDRESS ON FILE
FIGUEROA GUZMAN, TAMARA         ADDRESS ON FILE
FIGUEROA GUZMAN, WANDA          ADDRESS ON FILE
FIGUEROA GUZMAN, WANDA L        ADDRESS ON FILE
FIGUEROA GUZMAN, WILFREDO       ADDRESS ON FILE
FIGUEROA GUZMAN, YASENIA        ADDRESS ON FILE
FIGUEROA HENRIQUEZ, ADA I       ADDRESS ON FILE
FIGUEROA HENRIQUEZ, BERNARDO    ADDRESS ON FILE
FIGUEROA HENRIQUEZ, DESIREE     ADDRESS ON FILE
FIGUEROA HEREDIA, VIRGENMINA    ADDRESS ON FILE
FIGUEROA HEREDIA, YANIRA        ADDRESS ON FILE
FIGUEROA HEREDIA, YANIRA        ADDRESS ON FILE
FIGUEROA HERNAIZ, LUIS          ADDRESS ON FILE
FIGUEROA HERNAIZ, LUMARIE       ADDRESS ON FILE
FIGUEROA HERNANDEZ MD, DAVID    ADDRESS ON FILE
FIGUEROA HERNANDEZ, AMY         ADDRESS ON FILE
Figueroa Hernandez, Ana D       ADDRESS ON FILE
FIGUEROA HERNANDEZ, ANA M       ADDRESS ON FILE
Figueroa Hernandez, Angel L     ADDRESS ON FILE
FIGUEROA HERNANDEZ, ANGEL L.    ADDRESS ON FILE
FIGUEROA HERNANDEZ, ANGELITA    ADDRESS ON FILE
FIGUEROA HERNANDEZ, BENJAMIN    ADDRESS ON FILE




                                                                            Page 2847 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2848 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA HERNANDEZ, BENJAMIN     ADDRESS ON FILE
FIGUEROA HERNANDEZ, BLANCA M     ADDRESS ON FILE
FIGUEROA HERNANDEZ, CARMEN C     ADDRESS ON FILE
FIGUEROA HERNANDEZ, CARMENCITA   ADDRESS ON FILE
FIGUEROA HERNANDEZ, CLARIBEL     ADDRESS ON FILE
FIGUEROA HERNANDEZ, DAGMARIE     ADDRESS ON FILE
FIGUEROA HERNANDEZ, DAMARIS      ADDRESS ON FILE
FIGUEROA HERNANDEZ, DAMARIS      ADDRESS ON FILE
FIGUEROA HERNANDEZ, DAVID        ADDRESS ON FILE
FIGUEROA HERNANDEZ, EDGAR        ADDRESS ON FILE
FIGUEROA HERNANDEZ, EDGAR        ADDRESS ON FILE
FIGUEROA HERNANDEZ, EDGAR        ADDRESS ON FILE
FIGUEROA HERNANDEZ, ELISADEL     ADDRESS ON FILE
FIGUEROA HERNANDEZ, ELISADEL     ADDRESS ON FILE
FIGUEROA HERNANDEZ, ELSIE E.     ADDRESS ON FILE
FIGUEROA HERNANDEZ, ELVELISSE    ADDRESS ON FILE
FIGUEROA HERNANDEZ, EVA E.       ADDRESS ON FILE
FIGUEROA HERNANDEZ, EVA ENID     ADDRESS ON FILE
FIGUEROA HERNANDEZ, EVA Y        ADDRESS ON FILE
FIGUEROA HERNANDEZ, EVELYN       ADDRESS ON FILE
FIGUEROA HERNANDEZ, EVELYN       ADDRESS ON FILE
FIGUEROA HERNANDEZ, GABRIEL      ADDRESS ON FILE
FIGUEROA HERNANDEZ, GABRIEL      ADDRESS ON FILE
Figueroa Hernandez, Gilberto O   ADDRESS ON FILE
FIGUEROA HERNANDEZ, HARRY        ADDRESS ON FILE
FIGUEROA HERNANDEZ, HECTOR       ADDRESS ON FILE
FIGUEROA HERNANDEZ, IDALIA       ADDRESS ON FILE
FIGUEROA HERNANDEZ, ILIANA       ADDRESS ON FILE
Figueroa Hernandez, Ivis T.      ADDRESS ON FILE
FIGUEROA HERNANDEZ, JAELYN       ADDRESS ON FILE
Figueroa Hernandez, Jamylette    ADDRESS ON FILE
FIGUEROA HERNANDEZ, JOSE         ADDRESS ON FILE
FIGUEROA HERNANDEZ, JOSE         ADDRESS ON FILE
FIGUEROA HERNANDEZ, JOSE A       ADDRESS ON FILE
FIGUEROA HERNANDEZ, JOSE L       ADDRESS ON FILE
FIGUEROA HERNANDEZ, JUAN         ADDRESS ON FILE
Figueroa Hernandez, Julio C      ADDRESS ON FILE
FIGUEROA HERNANDEZ, KAMILLE      ADDRESS ON FILE
FIGUEROA HERNANDEZ, KETLIN       ADDRESS ON FILE
FIGUEROA HERNANDEZ, LENEL        ADDRESS ON FILE
FIGUEROA HERNANDEZ, LESLIE A.    ADDRESS ON FILE
FIGUEROA HERNANDEZ, LUIS         ADDRESS ON FILE
FIGUEROA HERNANDEZ, LUIS E       ADDRESS ON FILE
FIGUEROA HERNANDEZ, LUMARYS      ADDRESS ON FILE
Figueroa Hernandez, Luz V        ADDRESS ON FILE
FIGUEROA HERNANDEZ, LYDIA E      ADDRESS ON FILE
FIGUEROA HERNANDEZ, LYDIA R      ADDRESS ON FILE
FIGUEROA HERNANDEZ, LYMARI E     ADDRESS ON FILE
FIGUEROA HERNANDEZ, MARIA        ADDRESS ON FILE
FIGUEROA HERNANDEZ, MARIALVI     ADDRESS ON FILE
FIGUEROA HERNANDEZ, MARINA       ADDRESS ON FILE
FIGUEROA HERNANDEZ, MARISOL      ADDRESS ON FILE
FIGUEROA HERNANDEZ, MARLUAN      ADDRESS ON FILE
FIGUEROA HERNANDEZ, MICHAEL A.   ADDRESS ON FILE
FIGUEROA HERNANDEZ, MICHEAL A.   ADDRESS ON FILE
Figueroa Hernandez, Miguel       ADDRESS ON FILE
Figueroa Hernandez, Minerva      ADDRESS ON FILE
FIGUEROA HERNANDEZ, NOEMI        ADDRESS ON FILE
FIGUEROA HERNANDEZ, NYDIA A      ADDRESS ON FILE
FIGUEROA HERNANDEZ, OSCAR        ADDRESS ON FILE




                                                                             Page 2848 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2849 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA HERNANDEZ, OSVALDO L   ADDRESS ON FILE
FIGUEROA HERNANDEZ, RAMFIS A    ADDRESS ON FILE
FIGUEROA HERNANDEZ, RAUL E      ADDRESS ON FILE
FIGUEROA HERNANDEZ, SAMUEL      ADDRESS ON FILE
FIGUEROA HERNANDEZ, SAMUEL      ADDRESS ON FILE
Figueroa Hernandez, Samuel      ADDRESS ON FILE
Figueroa Hernandez, Sueanette   ADDRESS ON FILE
FIGUEROA HERNANDEZ, VIDALINA    ADDRESS ON FILE
FIGUEROA HERNANDEZ, YOLANDA     ADDRESS ON FILE
FIGUEROA HERNANDEZ, ZULIMAR     ADDRESS ON FILE
FIGUEROA HERNENDEZ, ENELIDA     ADDRESS ON FILE
FIGUEROA HERRERA, GABRIEL       ADDRESS ON FILE
FIGUEROA HERRERA, GABRIEL       ADDRESS ON FILE
FIGUEROA HERRERA, HUGO          ADDRESS ON FILE
FIGUEROA HERRERA, ZENAIDA       ADDRESS ON FILE
FIGUEROA HIRALDO, MINERVA       ADDRESS ON FILE
FIGUEROA HOMS, JOSEAN           ADDRESS ON FILE
FIGUEROA HORNEDO, TAURINO       ADDRESS ON FILE
FIGUEROA HORRUITINOR, EDUARDO   ADDRESS ON FILE
FIGUEROA HUERTA, ERNICK         ADDRESS ON FILE
FIGUEROA HUERTA, IVELLISSE      ADDRESS ON FILE
FIGUEROA HUERTAS, FERNANDO      ADDRESS ON FILE
Figueroa Huertas, Jose D        ADDRESS ON FILE
FIGUEROA HUERTAS, JOSE D.       ADDRESS ON FILE
FIGUEROA HUERTAS, NELLY M       ADDRESS ON FILE
FIGUEROA IBARRY, DANNY          ADDRESS ON FILE
FIGUEROA IGLESIA, JORGE         ADDRESS ON FILE
FIGUEROA ILARRAZA, INEYSHA      ADDRESS ON FILE
FIGUEROA ILDEFONSO, ABIGAIL     ADDRESS ON FILE
FIGUEROA INOSTROZA, MARCELINO   ADDRESS ON FILE
FIGUEROA IRIZARRY, ANGEL        ADDRESS ON FILE
FIGUEROA IRIZARRY, ANGEL LUIS   ADDRESS ON FILE
FIGUEROA IRIZARRY, CARMELO      ADDRESS ON FILE
FIGUEROA IRIZARRY, DENISE       ADDRESS ON FILE
Figueroa Irizarry, Edgard       ADDRESS ON FILE
FIGUEROA IRIZARRY, GRISEL       ADDRESS ON FILE
FIGUEROA IRIZARRY, IDANIZ       ADDRESS ON FILE
Figueroa Irizarry, Jose O.      ADDRESS ON FILE
FIGUEROA IRIZARRY, LUIS O       ADDRESS ON FILE
FIGUEROA IRIZARRY, MIGDALIA     ADDRESS ON FILE
FIGUEROA IRIZARRY, MIGUEL       ADDRESS ON FILE
FIGUEROA IRIZARRY, MIGUEL       ADDRESS ON FILE
FIGUEROA IRIZARRY, MILAGROS     ADDRESS ON FILE
FIGUEROA IRIZARRY, MILDRED      ADDRESS ON FILE
FIGUEROA IRIZARRY, MIRTA J      ADDRESS ON FILE
FIGUEROA IRIZARRY, ROSAURA      ADDRESS ON FILE
FIGUEROA JANEIRO, ROSA M        ADDRESS ON FILE
FIGUEROA JARAMILLO, NORMA       ADDRESS ON FILE
FIGUEROA JARVIS, DANA M         ADDRESS ON FILE
FIGUEROA JARVIS, MARY M         ADDRESS ON FILE
FIGUEROA JIMENEZ, ARELIS        ADDRESS ON FILE
Figueroa Jimenez, Armando       ADDRESS ON FILE
FIGUEROA JIMENEZ, CARLOS        ADDRESS ON FILE
FIGUEROA JIMENEZ, CARMEN        ADDRESS ON FILE
FIGUEROA JIMENEZ, DORIS N.      ADDRESS ON FILE
FIGUEROA JIMENEZ, ELBA          ADDRESS ON FILE
FIGUEROA JIMENEZ, FRANCISCO     ADDRESS ON FILE
FIGUEROA JIMENEZ, IVAN          ADDRESS ON FILE
FIGUEROA JIMENEZ, IVAN          ADDRESS ON FILE
FIGUEROA JIMENEZ, JONATHAN      ADDRESS ON FILE




                                                                            Page 2849 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2850 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA JIMENEZ, JUAN          ADDRESS ON FILE
FIGUEROA JIMENEZ, LUIS A        ADDRESS ON FILE
FIGUEROA JIMENEZ, LUIS A.       ADDRESS ON FILE
FIGUEROA JIMENEZ, LUIS J        ADDRESS ON FILE
FIGUEROA JIMENEZ, NIRMA C       ADDRESS ON FILE
FIGUEROA JIMENEZ, OLGA          ADDRESS ON FILE
FIGUEROA JIMENEZ, PATRICIA      ADDRESS ON FILE
Figueroa Jimenez, Ramon A       ADDRESS ON FILE
FIGUEROA JIMENEZ, TERESA        ADDRESS ON FILE
FIGUEROA JIMENEZ, WILLIAM       ADDRESS ON FILE
FIGUEROA JIMENEZ, WILLIAM       ADDRESS ON FILE
FIGUEROA JIMENEZ, YOLIMAR       ADDRESS ON FILE
FIGUEROA JIMENEZ, YOLIMAR       ADDRESS ON FILE
FIGUEROA JR MD, LEORNARDO       ADDRESS ON FILE
FIGUEROA JURADO, JOHANNA        ADDRESS ON FILE
FIGUEROA JURADO, JOHNNY N       ADDRESS ON FILE
FIGUEROA JUSINO, ROBERTO        ADDRESS ON FILE
FIGUEROA KILGORE, HIRAM         ADDRESS ON FILE
FIGUEROA KILGORE, MIGUEL A      ADDRESS ON FILE
FIGUEROA KORTRIGHT, JOSE        ADDRESS ON FILE
FIGUEROA LA FUENTE, JOANN       ADDRESS ON FILE
FIGUEROA LA LINDEZ, ANTONIA I   ADDRESS ON FILE
FIGUEROA LA TORRE, CARLOS       ADDRESS ON FILE
FIGUEROA LA TORRE, CARLOS L     ADDRESS ON FILE
FIGUEROA LA TORRE, JUAN         ADDRESS ON FILE
FIGUEROA LABORDE MARY, LUZ      ADDRESS ON FILE
FIGUEROA LABOY, ANTHONY         ADDRESS ON FILE
FIGUEROA LABOY, CARMEN          ADDRESS ON FILE
FIGUEROA LABOY, HAYDEE          ADDRESS ON FILE
FIGUEROA LABOY, MARIBELLA       ADDRESS ON FILE
FIGUEROA LABOY, MARILYN         ADDRESS ON FILE
FIGUEROA LABOY, STAECY          ADDRESS ON FILE
FIGUEROA LAGUNA, MONICA         ADDRESS ON FILE
FIGUEROA LAJARA, MAILYN         ADDRESS ON FILE
FIGUEROA LAMBOY, LILLIAM        ADDRESS ON FILE
FIGUEROA LAMBOY, LILLIAM        ADDRESS ON FILE
FIGUEROA LAMBOY, LILLIAM        ADDRESS ON FILE
FIGUEROA LANDRAU, CARMEN        ADDRESS ON FILE
FIGUEROA LANDRON, JULIA         ADDRESS ON FILE
FIGUEROA LANZO, BRENDA L        ADDRESS ON FILE
FIGUEROA LARACUENTE, LUIS E     ADDRESS ON FILE
FIGUEROA LARACUENTE, YANIRA     ADDRESS ON FILE
FIGUEROA LARACUENTE, ZORAIDA    ADDRESS ON FILE
FIGUEROA LARREGOITY, RAFAEL     ADDRESS ON FILE
FIGUEROA LATONI, MAGALI         ADDRESS ON FILE
FIGUEROA LATORRE, EULOGIO       ADDRESS ON FILE
FIGUEROA LAUREANO, CARMELO      ADDRESS ON FILE
FIGUEROA LAUREANO, CARMEN M     ADDRESS ON FILE
FIGUEROA LAUREANO, JUAN R       ADDRESS ON FILE
FIGUEROA LAVARADO, MARICARMEN   ADDRESS ON FILE
FIGUEROA LAVAT, HERBERT         ADDRESS ON FILE
FIGUEROA LEANDRY, YARA          ADDRESS ON FILE
FIGUEROA LEANDRY, YARA          ADDRESS ON FILE
FIGUEROA LEBRON, ADLIN E.       ADDRESS ON FILE
FIGUEROA LEBRON, FELIX M.       ADDRESS ON FILE
FIGUEROA LEBRON, HADA L         ADDRESS ON FILE
FIGUEROA LEBRON, JUAN           ADDRESS ON FILE
FIGUEROA LEBRON, MELISSA        ADDRESS ON FILE
FIGUEROA LEBRON, ROBERTO A      ADDRESS ON FILE
FIGUEROA LEBRON, RUTH           ADDRESS ON FILE




                                                                            Page 2850 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2851 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA LEBRON, YAMARIELIES   ADDRESS ON FILE
FIGUEROA LEON, ESTEFANY        ADDRESS ON FILE
FIGUEROA LEON, ISA             ADDRESS ON FILE
FIGUEROA LEON, REY             ADDRESS ON FILE
FIGUEROA LEYRO, DANIEL         ADDRESS ON FILE
FIGUEROA LEYRO, GLORIA         ADDRESS ON FILE
FIGUEROA LIGGETT, REBECCA      ADDRESS ON FILE
FIGUEROA LIGGETT, SUSANA       ADDRESS ON FILE
FIGUEROA LIZ, VICTOR           ADDRESS ON FILE
FIGUEROA LLERAS, LESLIE ANN    ADDRESS ON FILE
FIGUEROA LLOPIZ, ANA           ADDRESS ON FILE
FIGUEROA LLOPIZ, ANA M.        ADDRESS ON FILE
FIGUEROA LLOPIZ, ROSARIO       ADDRESS ON FILE
FIGUEROA LLOVEROL, NEIDA M     ADDRESS ON FILE
FIGUEROA LOARTE, BRUNILDA      ADDRESS ON FILE
FIGUEROA LOARTE, JOSE          ADDRESS ON FILE
FIGUEROA LOPEZ MD, WALTER      ADDRESS ON FILE
FIGUEROA LOPEZ, ANA E          ADDRESS ON FILE
Figueroa Lopez, Anthony        ADDRESS ON FILE
FIGUEROA LOPEZ, ANTHONY        ADDRESS ON FILE
FIGUEROA LOPEZ, ANTOINETTE     ADDRESS ON FILE
FIGUEROA LOPEZ, ARLENE         ADDRESS ON FILE
FIGUEROA LOPEZ, BRENDA         ADDRESS ON FILE
FIGUEROA LOPEZ, BRENDA L.      ADDRESS ON FILE
FIGUEROA LOPEZ, CARLOS         ADDRESS ON FILE
FIGUEROA LOPEZ, CARMEN G       ADDRESS ON FILE
Figueroa Lopez, Carmen M       ADDRESS ON FILE
FIGUEROA LOPEZ, CHRISTIAN      ADDRESS ON FILE
Figueroa Lopez, Eva            ADDRESS ON FILE
FIGUEROA LOPEZ, EVELYN         ADDRESS ON FILE
FIGUEROA LOPEZ, FELIX          ADDRESS ON FILE
FIGUEROA LOPEZ, FRANCISCO      ADDRESS ON FILE
FIGUEROA LOPEZ, GEOVANNA       ADDRESS ON FILE
FIGUEROA LOPEZ, GEOVANNA M.    ADDRESS ON FILE
FIGUEROA LOPEZ, GISELA         ADDRESS ON FILE
FIGUEROA LOPEZ, GLADYS         ADDRESS ON FILE
FIGUEROA LOPEZ, GLENDA L       ADDRESS ON FILE
FIGUEROA LOPEZ, HECTOR         ADDRESS ON FILE
Figueroa Lopez, Hector L.      ADDRESS ON FILE
FIGUEROA LOPEZ, HECTOR L.      ADDRESS ON FILE
FIGUEROA LOPEZ, HILDA I.       ADDRESS ON FILE
FIGUEROA LOPEZ, HULDA LI       ADDRESS ON FILE
FIGUEROA LOPEZ, INGRID         ADDRESS ON FILE
FIGUEROA LOPEZ, IVAN           ADDRESS ON FILE
FIGUEROA LOPEZ, JESSICA        ADDRESS ON FILE
FIGUEROA LOPEZ, JESUS          ADDRESS ON FILE
Figueroa Lopez, Joaquin        ADDRESS ON FILE
FIGUEROA LOPEZ, JOAQUIN        ADDRESS ON FILE
FIGUEROA LOPEZ, JOEL           ADDRESS ON FILE
FIGUEROA LOPEZ, JORGE          ADDRESS ON FILE
FIGUEROA LOPEZ, JOSE           ADDRESS ON FILE
FIGUEROA LOPEZ, JOSE           ADDRESS ON FILE
FIGUEROA LOPEZ, JOSE           ADDRESS ON FILE
FIGUEROA LOPEZ, JOSE O         ADDRESS ON FILE
FIGUEROA LOPEZ, JOSSIE         ADDRESS ON FILE
FIGUEROA LOPEZ, KATHERINE Z    ADDRESS ON FILE
FIGUEROA LOPEZ, LILIBETH       ADDRESS ON FILE
FIGUEROA LOPEZ, LOURDES        ADDRESS ON FILE
FIGUEROA LOPEZ, LUIS           ADDRESS ON FILE
FIGUEROA LOPEZ, LUIS           ADDRESS ON FILE




                                                                           Page 2851 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2852 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA LOPEZ, LUIS A         ADDRESS ON FILE
FIGUEROA LOPEZ, MAGUELIN       ADDRESS ON FILE
FIGUEROA LOPEZ, MARIA DEL C.   ADDRESS ON FILE
FIGUEROA LOPEZ, MARIBEL        ADDRESS ON FILE
FIGUEROA LOPEZ, MARY R.        ADDRESS ON FILE
FIGUEROA LOPEZ, MYRNA          ADDRESS ON FILE
FIGUEROA LOPEZ, NELSON         ADDRESS ON FILE
FIGUEROA LOPEZ, NORBERTO       ADDRESS ON FILE
FIGUEROA LOPEZ, PEDRO J        ADDRESS ON FILE
FIGUEROA LOPEZ, POLETT         ADDRESS ON FILE
Figueroa Lopez, Samuel E       ADDRESS ON FILE
FIGUEROA LOPEZ, SAMUEL R.      ADDRESS ON FILE
FIGUEROA LOPEZ, SANDRA         ADDRESS ON FILE
Figueroa Lopez, Saul E         ADDRESS ON FILE
FIGUEROA LOPEZ, SERGIO         ADDRESS ON FILE
FIGUEROA LOPEZ, SKARLET        ADDRESS ON FILE
FIGUEROA LOPEZ, SOCORRO        ADDRESS ON FILE
FIGUEROA LOPEZ, VANESSA        ADDRESS ON FILE
FIGUEROA LOPEZ, VICTOR         ADDRESS ON FILE
Figueroa Lopez, Victor A       ADDRESS ON FILE
FIGUEROA LOPEZ, VIVIAN         ADDRESS ON FILE
FIGUEROA LOPEZ, WILBERTO       ADDRESS ON FILE
FIGUEROA LOPEZ, WILLIAM        ADDRESS ON FILE
FIGUEROA LOPEZ, WILSON         ADDRESS ON FILE
FIGUEROA LOPEZ, YADIRA         ADDRESS ON FILE
FIGUEROA LOPEZ, YASHIRA        ADDRESS ON FILE
FIGUEROA LOPEZ, ZAIDA I.       ADDRESS ON FILE
FIGUEROA LORENZANA, GLENDA     ADDRESS ON FILE
FIGUEROA LORENZANA, GLENDA     ADDRESS ON FILE
FIGUEROA LORENZANA, GLORIMAR   ADDRESS ON FILE
FIGUEROA LORENZO, ALICIA       ADDRESS ON FILE
FIGUEROA LORENZO, JOHANNA      ADDRESS ON FILE
FIGUEROA LOYOLA, MILDRED M     ADDRESS ON FILE
FIGUEROA LOZA, JORGE           ADDRESS ON FILE
FIGUEROA LOZADA, CARMEN S      ADDRESS ON FILE
FIGUEROA LOZADA, JACQUELINE    ADDRESS ON FILE
FIGUEROA LOZADA, LETICIA       ADDRESS ON FILE
FIGUEROA LOZADA, LILLIAN       ADDRESS ON FILE
FIGUEROA LUCCA, AMARILYS       ADDRESS ON FILE
FIGUEROA LUCCA, ISABEL         ADDRESS ON FILE
FIGUEROA LUCIANO, AMILCAR      ADDRESS ON FILE
FIGUEROA LUCIANO, ARNALDO      ADDRESS ON FILE
FIGUEROA LUCIANO, FRANCISCO    ADDRESS ON FILE
Figueroa Luciano, Ricky        ADDRESS ON FILE
FIGUEROA LUGO, AILEEN          ADDRESS ON FILE
FIGUEROA LUGO, CALEB           ADDRESS ON FILE
FIGUEROA LUGO, CARMEN R        ADDRESS ON FILE
Figueroa Lugo, Daniel A        ADDRESS ON FILE
Figueroa Lugo, Daniel E        ADDRESS ON FILE
FIGUEROA LUGO, DARLENE I       ADDRESS ON FILE
Figueroa Lugo, Deborah         ADDRESS ON FILE
FIGUEROA LUGO, DEBORAH         ADDRESS ON FILE
FIGUEROA LUGO, DORIS           ADDRESS ON FILE
FIGUEROA LUGO, EDWIN           ADDRESS ON FILE
FIGUEROA LUGO, ELSIE I         ADDRESS ON FILE
FIGUEROA LUGO, JEANNETTE M     ADDRESS ON FILE
FIGUEROA LUGO, JESUS           ADDRESS ON FILE
FIGUEROA LUGO, JOSE A          ADDRESS ON FILE
FIGUEROA LUGO, JOSE A.         ADDRESS ON FILE
FIGUEROA LUGO, JUANA M         ADDRESS ON FILE




                                                                           Page 2852 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2853 of 3500
                                                                                17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                    Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
FIGUEROA LUGO, KELLY             ADDRESS ON FILE
FIGUEROA LUGO, MARIA             ADDRESS ON FILE
Figueroa Lugo, Miguel E          ADDRESS ON FILE
FIGUEROA LUGO, MORAIMA           ADDRESS ON FILE
FIGUEROA LUGO, OSVALDO           ADDRESS ON FILE
FIGUEROA LUGO, OSVALDO           ADDRESS ON FILE
FIGUEROA LUGO, RIGOBERTO         ADDRESS ON FILE
FIGUEROA LUGO, YADIRA            ADDRESS ON FILE
FIGUEROA LUGO, YADIRA            ADDRESS ON FILE
FIGUEROA LUNA, CHRISTIAN E       ADDRESS ON FILE
FIGUEROA LUNA, VILMA M.          ADDRESS ON FILE
FIGUEROA LUNA, WALTER            ADDRESS ON FILE
FIGUEROA LUQUIS, GERARDO         ADDRESS ON FILE
FIGUEROA LUZANARIS, JOHNNY       ADDRESS ON FILE
FIGUEROA MACIAS, ZULEY           ADDRESS ON FILE
FIGUEROA MADERA, EFRAIN          ADDRESS ON FILE
FIGUEROA MADERA, MARIA M.        ADDRESS ON FILE
FIGUEROA MAISONET, IRMARILIZ     ADDRESS ON FILE
FIGUEROA MAISONET, JULIO         ADDRESS ON FILE
FIGUEROA MAISONET, JULIO I.      ADDRESS ON FILE
FIGUEROA MALAVE, ALBERTO         ADDRESS ON FILE
Figueroa Malave, Edwin           ADDRESS ON FILE
FIGUEROA MALAVE, EDWIN           ADDRESS ON FILE
Figueroa Malave, Evelyn          ADDRESS ON FILE
FIGUEROA MALAVE, ROSALINDA       ADDRESS ON FILE
FIGUEROA MALAVE, RUBEN           ADDRESS ON FILE
FIGUEROA MALAVE, RUBEN           ADDRESS ON FILE
FIGUEROA MALAVET, JORGE L        ADDRESS ON FILE
FIGUEROA MALDONAD, CARMEN I      ADDRESS ON FILE
FIGUEROA MALDONADO, ADELIZ       ADDRESS ON FILE
FIGUEROA MALDONADO, ARLING N     ADDRESS ON FILE
FIGUEROA MALDONADO, AWILDA       ADDRESS ON FILE
FIGUEROA MALDONADO, CARLOS R     ADDRESS ON FILE
Figueroa Maldonado, Carmelo      ADDRESS ON FILE
FIGUEROA MALDONADO, CARMELO      ADDRESS ON FILE
Figueroa Maldonado, Carmen       ADDRESS ON FILE
FIGUEROA MALDONADO, EDGARDO      ADDRESS ON FILE
FIGUEROA MALDONADO, EDUARDO      ADDRESS ON FILE
Figueroa Maldonado, Edwin        ADDRESS ON FILE
FIGUEROA MALDONADO, EDWIN        LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
FIGUEROA MALDONADO, EDWIN        LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
FIGUEROA MALDONADO, EFRAIN       ADDRESS ON FILE
FIGUEROA MALDONADO, ELIEZER      ADDRESS ON FILE
FIGUEROA MALDONADO, ELVIS        ADDRESS ON FILE
FIGUEROA MALDONADO, ENID Y       ADDRESS ON FILE
FIGUEROA MALDONADO, ENRIQUE      ADDRESS ON FILE
FIGUEROA MALDONADO, ISMAEL       ADDRESS ON FILE
FIGUEROA MALDONADO, IVONNE A     ADDRESS ON FILE
Figueroa Maldonado, Johnny       ADDRESS ON FILE
FIGUEROA MALDONADO, JOMARIE      ADDRESS ON FILE
FIGUEROA MALDONADO, JOMARIE      ADDRESS ON FILE
FIGUEROA MALDONADO, JORGE        ADDRESS ON FILE
Figueroa Maldonado, Jose         ADDRESS ON FILE
FIGUEROA MALDONADO, JOSE ANGEL   ADDRESS ON FILE
FIGUEROA MALDONADO, JUAN         ADDRESS ON FILE
FIGUEROA MALDONADO, KELVIN       ADDRESS ON FILE
FIGUEROA MALDONADO, LEYDA G      ADDRESS ON FILE
FIGUEROA MALDONADO, LUIS         ADDRESS ON FILE
FIGUEROA MALDONADO, LUIS J       ADDRESS ON FILE
FIGUEROA MALDONADO, MARGARITA    ADDRESS ON FILE




                                                                                      Page 2853 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2854 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MALDONADO, MARIA DEL       ADDRESS ON FILE
FIGUEROA MALDONADO, MARIA DELC      ADDRESS ON FILE
FIGUEROA MALDONADO, MARIA E         ADDRESS ON FILE
FIGUEROA MALDONADO, MARIA J         ADDRESS ON FILE
FIGUEROA MALDONADO, MARIA S.        ADDRESS ON FILE
FIGUEROA MALDONADO, MARIBEL         ADDRESS ON FILE
FIGUEROA MALDONADO, MARICELA        ADDRESS ON FILE
FIGUEROA MALDONADO, MARTIN          ADDRESS ON FILE
FIGUEROA MALDONADO, MAYRA           ADDRESS ON FILE
FIGUEROA MALDONADO, MAYRA           ADDRESS ON FILE
FIGUEROA MALDONADO, MAYRA I         ADDRESS ON FILE
FIGUEROA MALDONADO, MIGUEL          ADDRESS ON FILE
FIGUEROA MALDONADO, MYRNA           ADDRESS ON FILE
FIGUEROA MALDONADO, MYRNA           ADDRESS ON FILE
FIGUEROA MALDONADO, NELSON          ADDRESS ON FILE
FIGUEROA MALDONADO, NEREIDA         ADDRESS ON FILE
FIGUEROA MALDONADO, NOEL            ADDRESS ON FILE
FIGUEROA MALDONADO, PEDRO           ADDRESS ON FILE
Figueroa Maldonado, Victor          ADDRESS ON FILE
FIGUEROA MALDONADO, YANIRA          ADDRESS ON FILE
FIGUEROA MANGUAL, FELIX L           ADDRESS ON FILE
FIGUEROA MANGUAL, ISRAEL            ADDRESS ON FILE
FIGUEROA MANGUAL, REYES             ADDRESS ON FILE
FIGUEROA MANSO, ROSA M              ADDRESS ON FILE
FIGUEROA MARCANO, CARLOS            ADDRESS ON FILE
FIGUEROA MARCANO, FELICITA          ADDRESS ON FILE
FIGUEROA MARCANO, IVAN              ADDRESS ON FILE
FIGUEROA MARCANO, LETICIA           ADDRESS ON FILE
FIGUEROA MARCIAL, REBECA            ADDRESS ON FILE
FIGUEROA MARGARITO, CHIRSTINE       ADDRESS ON FILE
FIGUEROA MARGARITO, RUBEN           ADDRESS ON FILE
FIGUEROA MARGARY, JEAN P            ADDRESS ON FILE
FIGUEROA MARIANI, DIANA             ADDRESS ON FILE
FIGUEROA MARIN, MARIA DEL P         ADDRESS ON FILE
FIGUEROA MARQUEZ, AIDA L            ADDRESS ON FILE
FIGUEROA MARQUEZ, JOHN              ADDRESS ON FILE
FIGUEROA MARQUEZ, JUAN              ADDRESS ON FILE
FIGUEROA MARQUEZ, MIRIAM            ADDRESS ON FILE
FIGUEROA MARQUEZ, NILDA             ADDRESS ON FILE
FIGUEROA MARQUEZ, PEDRO J.          ADDRESS ON FILE
Figueroa Marquez, Raul              ADDRESS ON FILE
FIGUEROA MARQUEZ, WANDA             ADDRESS ON FILE
FIGUEROA MARRERO, AIDA L.           ADDRESS ON FILE
FIGUEROA MARRERO, ALEXANDRA         ADDRESS ON FILE
FIGUEROA MARRERO, ALYSSA            ADDRESS ON FILE
FIGUEROA MARRERO, CARLOS            ADDRESS ON FILE
FIGUEROA MARRERO, DIMARIS           ADDRESS ON FILE
FIGUEROA MARRERO, ERIC              ADDRESS ON FILE
FIGUEROA MARRERO, FERNANDO          ADDRESS ON FILE
FIGUEROA MARRERO, INOCENCIO         ADDRESS ON FILE
FIGUEROA MARRERO, IVAN              ADDRESS ON FILE
FIGUEROA MARRERO, JONATHAN          ADDRESS ON FILE
FIGUEROA MARRERO, JOSE              ADDRESS ON FILE
FIGUEROA MARRERO, JOSE              ADDRESS ON FILE
FIGUEROA MARRERO, LEONARD           ADDRESS ON FILE
FIGUEROA MARRERO, MADELIN           ADDRESS ON FILE
FIGUEROA MARRERO, MARIA DE LOS A.   ADDRESS ON FILE
FIGUEROA MARRERO, MARIVETTE         ADDRESS ON FILE
FIGUEROA MARRERO, MARIVETTE         ADDRESS ON FILE
FIGUEROA MARRERO, MONICA            ADDRESS ON FILE




                                                                                Page 2854 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2855 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                       Address1                                   Address2                                 Address3         Address4   City         State   PostalCode   Country
FIGUEROA MARRERO, OMAR A            ADDRESS ON FILE
FIGUEROA MARRERO, OSCAR             ADDRESS ON FILE
FIGUEROA MARRERO, TANIA             ADDRESS ON FILE
FIGUEROA MARRERO, TERESA            ADDRESS ON FILE
FIGUEROA MARTELL, VANGELO Y OTROS   AFI‐ LCDO. YAMIL VEGA PACHECO              SE DESCONOCE NO HA ASUMIDO FORMALMENTE
                                                                                                                     534 CALLE OCTAVIO
FIGUEROA MARTELL, VANGELO Y OTROS   AREIKO‐AFI‐ LCDA. KARLA M. FLORES MEDINA   URB. ROOSEVELT                        MARCANO                        SAN JUAN     PR      00918‐2747
FIGUEROA MARTELL, VANGELO Y OTROS   CO‐DMTES‐ LCDA. LINDA HERNANDEZ VARGAS     691 AVE. SANTA TERESA JOURNET         SUITE 102                      MAYAGUEZ     PR      00681
FIGUEROA MARTELL, VANGELO Y OTROS   DMTE‐ LCDO. WILSON GALARZA GALARZA         623 AVE. Ponce DE LEÓN                SUITE 803                      HATO REY     PR      00917
FIGUEROA MARTES, ARMANDO            ADDRESS ON FILE
FIGUEROA MARTES, ARMANDO            ADDRESS ON FILE
FIGUEROA MARTES, EDGAR              ADDRESS ON FILE
FIGUEROA MARTI, CARMEN F.           ADDRESS ON FILE
FIGUEROA MARTI, JOSUE               ADDRESS ON FILE
FIGUEROA MARTIN, EDUARDO            ADDRESS ON FILE
FIGUEROA MARTINEZ, AIMEE            ADDRESS ON FILE
FIGUEROA MARTINEZ, ALCIDES J        ADDRESS ON FILE
FIGUEROA MARTINEZ, ALEX             ADDRESS ON FILE
FIGUEROA MARTINEZ, ALONDRA          ADDRESS ON FILE
FIGUEROA MARTINEZ, ANA              ADDRESS ON FILE
FIGUEROA MARTINEZ, ANA H            ADDRESS ON FILE
FIGUEROA MARTINEZ, ANA R            ADDRESS ON FILE
FIGUEROA MARTINEZ, ANGEL            ADDRESS ON FILE
FIGUEROA MARTINEZ, BELKIS           ADDRESS ON FILE
FIGUEROA MARTINEZ, BERNARDO         ADDRESS ON FILE
FIGUEROA MARTINEZ, BRENDA           ADDRESS ON FILE
FIGUEROA MARTINEZ, CARLOS           ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN           ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN           ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN J         ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN M         ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN NOELI     ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN T         ADDRESS ON FILE
FIGUEROA MARTINEZ, CARMEN Y         ADDRESS ON FILE
FIGUEROA MARTINEZ, CHRISTINA        ADDRESS ON FILE
Figueroa Martinez, David C.         ADDRESS ON FILE
FIGUEROA MARTINEZ, EDDY             ADDRESS ON FILE
FIGUEROA MARTINEZ, EDILBERTO        ADDRESS ON FILE
FIGUEROA MARTINEZ, ELISA            ADDRESS ON FILE
FIGUEROA MARTINEZ, FERNANDO         ADDRESS ON FILE
FIGUEROA MARTINEZ, GAMALIEL         ADDRESS ON FILE
FIGUEROA MARTINEZ, GLORIA           ADDRESS ON FILE
FIGUEROA MARTINEZ, GRISELLE         ADDRESS ON FILE
Figueroa Martinez, Hector L         ADDRESS ON FILE
Figueroa Martinez, Idelisa          ADDRESS ON FILE
FIGUEROA MARTINEZ, IDIVIMARY        ADDRESS ON FILE
FIGUEROA MARTINEZ, ISAIAS           ADDRESS ON FILE
FIGUEROA MARTINEZ, IVAN E           ADDRESS ON FILE
FIGUEROA MARTINEZ, IVELISSE         ADDRESS ON FILE
FIGUEROA MARTINEZ, IVELISSE         ADDRESS ON FILE
FIGUEROA MARTINEZ, JANE             ADDRESS ON FILE
FIGUEROA MARTINEZ, JASON            ADDRESS ON FILE
FIGUEROA MARTINEZ, JAVIER           ADDRESS ON FILE
FIGUEROA MARTINEZ, JONATHAN         ADDRESS ON FILE
FIGUEROA MARTINEZ, JORGE            ADDRESS ON FILE
FIGUEROA MARTINEZ, JUAN             ADDRESS ON FILE
FIGUEROA MARTINEZ, JUAN             ADDRESS ON FILE
Figueroa Martinez, Juan E           ADDRESS ON FILE
FIGUEROA MARTINEZ, KATHERINE        ADDRESS ON FILE
FIGUEROA MARTINEZ, LUIS             ADDRESS ON FILE




                                                                                                         Page 2855 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2856 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MARTINEZ, LUIS A.          ADDRESS ON FILE
FIGUEROA MARTINEZ, LUIS A.          ADDRESS ON FILE
FIGUEROA MARTINEZ, MAITE            ADDRESS ON FILE
Figueroa Martinez, Manuel E         ADDRESS ON FILE
FIGUEROA MARTINEZ, MARIA            ADDRESS ON FILE
FIGUEROA MARTINEZ, MARIA            ADDRESS ON FILE
FIGUEROA MARTINEZ, MARIA DE LOS A   ADDRESS ON FILE
FIGUEROA MARTINEZ, MARY JANE        ADDRESS ON FILE
FIGUEROA MARTINEZ, NILSA            ADDRESS ON FILE
FIGUEROA MARTINEZ, NYDIA S          ADDRESS ON FILE
FIGUEROA MARTINEZ, PABLO G.         ADDRESS ON FILE
FIGUEROA MARTINEZ, RADAMES          ADDRESS ON FILE
FIGUEROA MARTINEZ, RONNIE           ADDRESS ON FILE
FIGUEROA MARTINEZ, SAMUEL           ADDRESS ON FILE
FIGUEROA MARTINEZ, SHEILY           ADDRESS ON FILE
FIGUEROA MARTINEZ, SONIA            ADDRESS ON FILE
FIGUEROA MARTINEZ, VIRGINIA         ADDRESS ON FILE
FIGUEROA MARTINEZ, WILNELIA         ADDRESS ON FILE
FIGUEROA MARTINEZ, YALITZA          ADDRESS ON FILE
FIGUEROA MARZAN, CARLOS             ADDRESS ON FILE
FIGUEROA MARZAN, MIGUEL A.          ADDRESS ON FILE
FIGUEROA MASSANET,MELISSA           ADDRESS ON FILE
FIGUEROA MATEO, MARY                ADDRESS ON FILE
FIGUEROA MATEO, NXEL J              ADDRESS ON FILE
Figueroa Mateo, Otoniel             ADDRESS ON FILE
FIGUEROA MATIAS, ARIEL              ADDRESS ON FILE
FIGUEROA MATIAS, JESSICA            ADDRESS ON FILE
FIGUEROA MATIAS, ZENAIDA            ADDRESS ON FILE
FIGUEROA MATOS, ALEXANDER           ADDRESS ON FILE
FIGUEROA MATOS, ALEXANDER           ADDRESS ON FILE
FIGUEROA MATOS, ANGEL M             ADDRESS ON FILE
FIGUEROA MATOS, FELIX J.            ADDRESS ON FILE
FIGUEROA MATOS, GLADYS E            ADDRESS ON FILE
FIGUEROA MATOS, HECTOR M            ADDRESS ON FILE
FIGUEROA MATOS, LUIS                ADDRESS ON FILE
FIGUEROA MATOS, MADELINE            ADDRESS ON FILE
FIGUEROA MATOS, MAYRA J             ADDRESS ON FILE
FIGUEROA MATOS, REINALDO            ADDRESS ON FILE
FIGUEROA MATOS, VANESA D            ADDRESS ON FILE
FIGUEROA MATOS, VERONICA D.         ADDRESS ON FILE
FIGUEROA MATOS, WILSON              ADDRESS ON FILE
FIGUEROA MATTA, JOSIERMAR           ADDRESS ON FILE
FIGUEROA MD, NOEL                   ADDRESS ON FILE
FIGUEROA MEDERO, RAQUEL             ADDRESS ON FILE
FIGUEROA MEDINA, ALBA Y             ADDRESS ON FILE
FIGUEROA MEDINA, ANA M.             ADDRESS ON FILE
FIGUEROA MEDINA, ANGEL              ADDRESS ON FILE
FIGUEROA MEDINA, ANGEL M            ADDRESS ON FILE
FIGUEROA MEDINA, BRENDA             ADDRESS ON FILE
FIGUEROA MEDINA, BRENDA L           ADDRESS ON FILE
FIGUEROA MEDINA, CARLOS J           ADDRESS ON FILE
FIGUEROA MEDINA, CARMEN             ADDRESS ON FILE
FIGUEROA MEDINA, EDWIN A.           ADDRESS ON FILE
FIGUEROA MEDINA, JACKELINE          ADDRESS ON FILE
FIGUEROA MEDINA, JESSICA            ADDRESS ON FILE
FIGUEROA MEDINA, JOHENY ZAIRINE     ADDRESS ON FILE
FIGUEROA MEDINA, JOHN               ADDRESS ON FILE
FIGUEROA MEDINA, JOHN               ADDRESS ON FILE
FIGUEROA MEDINA, JOSELITO           ADDRESS ON FILE
Figueroa Medina, Luis A             ADDRESS ON FILE




                                                                                Page 2856 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2857 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MEDINA, LUIS A.          ADDRESS ON FILE
FIGUEROA MEDINA, MAGALY           ADDRESS ON FILE
FIGUEROA MEDINA, MARIA E.         ADDRESS ON FILE
FIGUEROA MEDINA, MARIA JOSEFINA   ADDRESS ON FILE
FIGUEROA MEDINA, MARICELLE        ADDRESS ON FILE
FIGUEROA MEDINA, MARTHA R         ADDRESS ON FILE
FIGUEROA MEDINA, MIGUEL A         ADDRESS ON FILE
FIGUEROA MEDINA, MYRNA            ADDRESS ON FILE
FIGUEROA MEDINA, NATALIA          ADDRESS ON FILE
FIGUEROA MEDINA, NILDA            ADDRESS ON FILE
FIGUEROA MEDINA, WALDEMAR         ADDRESS ON FILE
FIGUEROA MEDINA, WILVELISSE       ADDRESS ON FILE
FIGUEROA MEJIAS, IVAN             ADDRESS ON FILE
FIGUEROA MEJIAS, IVELISSE         ADDRESS ON FILE
FIGUEROA MEJIAS, JOSE L           ADDRESS ON FILE
FIGUEROA MEJIAS, LIZ D            ADDRESS ON FILE
FIGUEROA MEJIAS, MIGUEL           ADDRESS ON FILE
FIGUEROA MEJIAS, ROSA E           ADDRESS ON FILE
FIGUEROA MELENDEZ MD, VICTOR      ADDRESS ON FILE
FIGUEROA MELENDEZ, ABRAHAM        ADDRESS ON FILE
FIGUEROA MELENDEZ, ALBERTA        ADDRESS ON FILE
FIGUEROA MELENDEZ, ANGEL          ADDRESS ON FILE
FIGUEROA MELENDEZ, ARISVEL        ADDRESS ON FILE
FIGUEROA MELENDEZ, CARMEN A       ADDRESS ON FILE
FIGUEROA MELENDEZ, CHRISTIAN      ADDRESS ON FILE
FIGUEROA MELENDEZ, DAMARIS        ADDRESS ON FILE
FIGUEROA MELENDEZ, GERALYS        ADDRESS ON FILE
FIGUEROA MELENDEZ, IRIS           ADDRESS ON FILE
FIGUEROA MELENDEZ, KAROL J        ADDRESS ON FILE
FIGUEROA MELENDEZ, LEONOR         ADDRESS ON FILE
FIGUEROA MELENDEZ, LESLIE         ADDRESS ON FILE
FIGUEROA MELENDEZ, LINNETTE       ADDRESS ON FILE
FIGUEROA MELENDEZ, LORENZO        ADDRESS ON FILE
FIGUEROA MELENDEZ, MAGDA          ADDRESS ON FILE
FIGUEROA MELENDEZ, MANUEL         ADDRESS ON FILE
FIGUEROA MELENDEZ, MORGAN         ADDRESS ON FILE
FIGUEROA MELENDEZ, NELSON A       ADDRESS ON FILE
FIGUEROA MELENDEZ, NORBERTO       ADDRESS ON FILE
FIGUEROA MELENDEZ, SHEILA         ADDRESS ON FILE
FIGUEROA MELENDEZ, VIANGERIS      ADDRESS ON FILE
FIGUEROA MELENDEZ, VLADIMIR       ADDRESS ON FILE
FIGUEROA MELENDEZ, WANDA I        ADDRESS ON FILE
Figueroa Melendez, William        ADDRESS ON FILE
FIGUEROA MELENDEZ, YOLANDA        ADDRESS ON FILE
FIGUEROA MENA, JULIA              ADDRESS ON FILE
FIGUEROA MENA, ROSAEILY           ADDRESS ON FILE
FIGUEROA MENDEZ, ANIBAL           ADDRESS ON FILE
FIGUEROA MENDEZ, BLANCA           ADDRESS ON FILE
FIGUEROA MENDEZ, CARLOS A.        ADDRESS ON FILE
FIGUEROA MENDEZ, DAPHNE           ADDRESS ON FILE
FIGUEROA MENDEZ, DIANETTE E       ADDRESS ON FILE
FIGUEROA MENDEZ, EDWIN            ADDRESS ON FILE
FIGUEROA MENDEZ, ERIC             ADDRESS ON FILE
FIGUEROA MENDEZ, FELIX            ADDRESS ON FILE
FIGUEROA MENDEZ, GABRIEL          ADDRESS ON FILE
FIGUEROA MENDEZ, GILBERTO         ADDRESS ON FILE
FIGUEROA MENDEZ, HECTOR J.        ADDRESS ON FILE
FIGUEROA MENDEZ, HIRAM            ADDRESS ON FILE
FIGUEROA MENDEZ, IRMA             ADDRESS ON FILE
FIGUEROA MENDEZ, JOSE             ADDRESS ON FILE




                                                                              Page 2857 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2858 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MENDEZ, JOSE D          ADDRESS ON FILE
FIGUEROA MENDEZ, JOSE E          ADDRESS ON FILE
FIGUEROA MENDEZ, JOSE E          ADDRESS ON FILE
FIGUEROA MENDEZ, JOSE R.         ADDRESS ON FILE
FIGUEROA MENDEZ, KARLA M         ADDRESS ON FILE
FIGUEROA MENDEZ, LIZ B           ADDRESS ON FILE
FIGUEROA MENDEZ, SAMUEL          ADDRESS ON FILE
FIGUEROA MERCADO, ALBERT         ADDRESS ON FILE
FIGUEROA MERCADO, ALBERT         ADDRESS ON FILE
FIGUEROA MERCADO, CARMEN M       ADDRESS ON FILE
FIGUEROA MERCADO, FELIX          ADDRESS ON FILE
FIGUEROA MERCADO, GLORIA         ADDRESS ON FILE
FIGUEROA MERCADO, GLORIA E       ADDRESS ON FILE
FIGUEROA MERCADO, HUMBERTO       ADDRESS ON FILE
FIGUEROA MERCADO, IVETTE         ADDRESS ON FILE
FIGUEROA MERCADO, JOSE           ADDRESS ON FILE
FIGUEROA MERCADO, LLUVIA         ADDRESS ON FILE
FIGUEROA MERCADO, MARIA I        ADDRESS ON FILE
FIGUEROA MERCADO, MILDRED        ADDRESS ON FILE
FIGUEROA MERCADO, SILVIA I       ADDRESS ON FILE
FIGUEROA MERCADO, SIXTA          ADDRESS ON FILE
FIGUEROA MERCADO, WANDA I        ADDRESS ON FILE
FIGUEROA MERCADO, YARITZA        ADDRESS ON FILE
FIGUEROA MILLAN, EDNA L          ADDRESS ON FILE
FIGUEROA MILLAN, JUAN            ADDRESS ON FILE
FIGUEROA MIRANDA, CRISTINA       ADDRESS ON FILE
Figueroa Miranda, Damarys        ADDRESS ON FILE
FIGUEROA MIRANDA, DANIEL         ADDRESS ON FILE
FIGUEROA MIRANDA, DIELIZ         ADDRESS ON FILE
FIGUEROA MIRANDA, EDDIE          ADDRESS ON FILE
FIGUEROA MIRANDA, JAVIER         ADDRESS ON FILE
FIGUEROA MIRANDA, JORGE A        ADDRESS ON FILE
FIGUEROA MIRANDA, JOSE           ADDRESS ON FILE
FIGUEROA MIRANDA, JOSE           ADDRESS ON FILE
Figueroa Miranda, Jose R         ADDRESS ON FILE
FIGUEROA MIRANDA, JUAN           ADDRESS ON FILE
FIGUEROA MIRANDA, KEILA          ADDRESS ON FILE
FIGUEROA MIRANDA, MARIA DEL C.   ADDRESS ON FILE
FIGUEROA MIRANDA, MARIELIS       ADDRESS ON FILE
FIGUEROA MIRANDA, MIGDALIA       ADDRESS ON FILE
FIGUEROA MIRANDA, MIGUEL         ADDRESS ON FILE
FIGUEROA MIRANDA, MIGUEL A.      ADDRESS ON FILE
FIGUEROA MIRANDA, NEFTALI        ADDRESS ON FILE
FIGUEROA MIRANDA, OLGA           ADDRESS ON FILE
FIGUEROA MIRANDA, RAQUEL         ADDRESS ON FILE
FIGUEROA MIRANDA, RUBEN          ADDRESS ON FILE
FIGUEROA MIRANDA, SARAH          ADDRESS ON FILE
FIGUEROA MIRANDA, WILSON         ADDRESS ON FILE
FIGUEROA MOJICA, ADRIAN          ADDRESS ON FILE
FIGUEROA MOJICA, JULIO           ADDRESS ON FILE
FIGUEROA MOJICA, LUCY            ADDRESS ON FILE
FIGUEROA MOJICA, LUIS            ADDRESS ON FILE
FIGUEROA MOJICA, LUZ             ADDRESS ON FILE
FIGUEROA MOJICA, NEREIDA         ADDRESS ON FILE
FIGUEROA MOJICA, ORLANDO M       ADDRESS ON FILE
FIGUEROA MOJICA, RAFAEL          ADDRESS ON FILE
FIGUEROA MOLINA, CARMEN M.       ADDRESS ON FILE
FIGUEROA MOLINA, CARMEN M.       ADDRESS ON FILE
FIGUEROA MOLINA, FLORENCIO       ADDRESS ON FILE
FIGUEROA MOLINA, FLORENCIO       ADDRESS ON FILE




                                                                             Page 2858 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2859 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MOLINA, GERARDO         ADDRESS ON FILE
FIGUEROA MOLINA, GERARDO         ADDRESS ON FILE
FIGUEROA MOLINA, MARANGELY       ADDRESS ON FILE
FIGUEROA MOLINA, MARIAN          ADDRESS ON FILE
FIGUEROA MOLINA, PAUL            ADDRESS ON FILE
FIGUEROA MOLINA, RAUL            ADDRESS ON FILE
FIGUEROA MOLINA, RUBEN           ADDRESS ON FILE
FIGUEROA MOLINA, WANDA C         ADDRESS ON FILE
FIGUEROA MOLINA, WILFREDO        ADDRESS ON FILE
FIGUEROA MOLINARI, DANIEL        ADDRESS ON FILE
FIGUEROA MOLINARI, FRANCISCO     ADDRESS ON FILE
FIGUEROA MONELL, AURA R.         ADDRESS ON FILE
FIGUEROA MONELL, BEATRIZ M.      ADDRESS ON FILE
FIGUEROA MONELL, SONIA           ADDRESS ON FILE
FIGUEROA MONROIG, ANGEL          ADDRESS ON FILE
FIGUEROA MONROIG, ANGEL L.       ADDRESS ON FILE
FIGUEROA MONROIG, LUIS J.        ADDRESS ON FILE
FIGUEROA MONROIG, YARIBEL C.     ADDRESS ON FILE
FIGUEROA MONSERRATE, ANGEL       ADDRESS ON FILE
FIGUEROA MONSERRATE, ANGEL       ADDRESS ON FILE
FIGUEROA MONSERRATE, ELIZABETH   ADDRESS ON FILE
FIGUEROA MONSERRATE, GLADYS      ADDRESS ON FILE
Figueroa Monserrate, Hector R    ADDRESS ON FILE
FIGUEROA MONSERRATE, RAFAEL      ADDRESS ON FILE
FIGUEROA MONTALVO, ALEXANDRA     ADDRESS ON FILE
FIGUEROA MONTALVO, JAVIER        ADDRESS ON FILE
Figueroa Montalvo, Marianela     ADDRESS ON FILE
FIGUEROA MONTALVO, MARIANELA     ADDRESS ON FILE
Figueroa Montalvo, Nestor L      ADDRESS ON FILE
Figueroa Montalvo, Roberto       ADDRESS ON FILE
FIGUEROA MONTANEZ, ENRIQUE       ADDRESS ON FILE
Figueroa Montanez, Javier G      ADDRESS ON FILE
FIGUEROA MONTANEZ, JOSE          ADDRESS ON FILE
FIGUEROA MONTANEZ, MAGDALENA     ADDRESS ON FILE
FIGUEROA MONTANO, CARMEN         ADDRESS ON FILE
FIGUEROA MONTERO, LUIS A         ADDRESS ON FILE
FIGUEROA MONTERO, ZAYANA         ADDRESS ON FILE
FIGUEROA MONTES, AIDA I          ADDRESS ON FILE
FIGUEROA MONTES, CHARLEEN        ADDRESS ON FILE
FIGUEROA MONTES, LUIS            ADDRESS ON FILE
FIGUEROA MONTES, MARIA           ADDRESS ON FILE
FIGUEROA MONTES, MARIA L.        ADDRESS ON FILE
FIGUEROA MONTES, MIDALY          ADDRESS ON FILE
FIGUEROA MONTES, SONIA N         ADDRESS ON FILE
Figueroa Montezuma, Angel G      ADDRESS ON FILE
FIGUEROA MONTIEL, JOHANNA        ADDRESS ON FILE
FIGUEROA MONTILLA, HECTOR M      ADDRESS ON FILE
FIGUEROA MONZON, JOSE            ADDRESS ON FILE
FIGUEROA MONZON, VIOLETA         ADDRESS ON FILE
FIGUEROA MORA, ANGELA            ADDRESS ON FILE
FIGUEROA MORALES, ABNER          ADDRESS ON FILE
FIGUEROA MORALES, ANA            ADDRESS ON FILE
FIGUEROA MORALES, ANA M          ADDRESS ON FILE
Figueroa Morales, Angel R.       ADDRESS ON FILE
FIGUEROA MORALES, ARTURO         ADDRESS ON FILE
FIGUEROA MORALES, ASHLEY R.      ADDRESS ON FILE
FIGUEROA MORALES, CARLOS         ADDRESS ON FILE
FIGUEROA MORALES, CARMELO        ADDRESS ON FILE
FIGUEROA MORALES, CARMEN L       ADDRESS ON FILE
FIGUEROA MORALES, CLAUDIA I.     ADDRESS ON FILE




                                                                             Page 2859 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2860 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MORALES, CLEMENCIA      ADDRESS ON FILE
FIGUEROA MORALES, DAMIAN         ADDRESS ON FILE
FIGUEROA MORALES, DARIO          ADDRESS ON FILE
FIGUEROA MORALES, DAROK          ADDRESS ON FILE
FIGUEROA MORALES, EDITH E        ADDRESS ON FILE
FIGUEROA MORALES, ERNESTO J      ADDRESS ON FILE
Figueroa Morales, Geannette      ADDRESS ON FILE
FIGUEROA MORALES, HEBER          ADDRESS ON FILE
FIGUEROA MORALES, HILDA M        ADDRESS ON FILE
FIGUEROA MORALES, IDALIA         ADDRESS ON FILE
FIGUEROA MORALES, IRIS M         ADDRESS ON FILE
FIGUEROA MORALES, IRIS M.        ADDRESS ON FILE
FIGUEROA MORALES, JAVIER         ADDRESS ON FILE
FIGUEROA MORALES, JESUS R        ADDRESS ON FILE
FIGUEROA MORALES, JORGE          ADDRESS ON FILE
FIGUEROA MORALES, JORGE E.       ADDRESS ON FILE
FIGUEROA MORALES, JOSE           ADDRESS ON FILE
FIGUEROA MORALES, JOSE           ADDRESS ON FILE
FIGUEROA MORALES, JOSE A.        ADDRESS ON FILE
FIGUEROA MORALES, JOSE D         ADDRESS ON FILE
FIGUEROA MORALES, JOSE R         ADDRESS ON FILE
Figueroa Morales, Juanita        ADDRESS ON FILE
FIGUEROA MORALES, JULIO          ADDRESS ON FILE
FIGUEROA MORALES, JULIO A        ADDRESS ON FILE
FIGUEROA MORALES, JUSTINO        ADDRESS ON FILE
FIGUEROA MORALES, LESLIE         ADDRESS ON FILE
Figueroa Morales, Lilliam        ADDRESS ON FILE
FIGUEROA MORALES, LILLIAM        ADDRESS ON FILE
FIGUEROA MORALES, LUIS D         ADDRESS ON FILE
FIGUEROA MORALES, LUIS O         ADDRESS ON FILE
FIGUEROA MORALES, MANUEL DE J.   ADDRESS ON FILE
Figueroa Morales, Marcos         ADDRESS ON FILE
FIGUEROA MORALES, MARIA          ADDRESS ON FILE
FIGUEROA MORALES, MIGUEL E.      ADDRESS ON FILE
FIGUEROA MORALES, MILDRED        ADDRESS ON FILE
FIGUEROA MORALES, MORAIMA        ADDRESS ON FILE
FIGUEROA MORALES, MYRIAM         ADDRESS ON FILE
FIGUEROA MORALES, NELSON         ADDRESS ON FILE
FIGUEROA MORALES, NELSON         ADDRESS ON FILE
FIGUEROA MORALES, NILDA          ADDRESS ON FILE
FIGUEROA MORALES, NORBERTO       ADDRESS ON FILE
FIGUEROA MORALES, NORMA          ADDRESS ON FILE
FIGUEROA MORALES, NYLSA          ADDRESS ON FILE
FIGUEROA MORALES, ORLANDO        ADDRESS ON FILE
FIGUEROA MORALES, PATRICIA       ADDRESS ON FILE
FIGUEROA MORALES, PAULA          ADDRESS ON FILE
FIGUEROA MORALES, PEDRO J        ADDRESS ON FILE
Figueroa Morales, Quetcy A.      ADDRESS ON FILE
FIGUEROA MORALES, RAFAEL A.      ADDRESS ON FILE
FIGUEROA MORALES, RAFAEL N       ADDRESS ON FILE
FIGUEROA MORALES, ROSA M.        ADDRESS ON FILE
FIGUEROA MORALES, SARA           ADDRESS ON FILE
FIGUEROA MORALES, SUJEILY        ADDRESS ON FILE
FIGUEROA MORALES, VIONESKA       ADDRESS ON FILE
FIGUEROA MORALES, WALTER A.      ADDRESS ON FILE
Figueroa Morales, William D      ADDRESS ON FILE
FIGUEROA MORALES, ZAHAYRA        ADDRESS ON FILE
FIGUEROA MORAN, JAVIER O         ADDRESS ON FILE
FIGUEROA MORENO, AUREA E         ADDRESS ON FILE
FIGUEROA MORENO, CARMEN          ADDRESS ON FILE




                                                                             Page 2860 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2861 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA MORENO, ILIANEXCIS        ADDRESS ON FILE
Figueroa Moreno, Michelle          ADDRESS ON FILE
FIGUEROA MORGADE, CARLOS ENRIQUE   ADDRESS ON FILE
FIGUEROA MORGADE, MARIA M          ADDRESS ON FILE
FIGUEROA MOYA, BRUNILDA            ADDRESS ON FILE
FIGUEROA MOYA, JUAN C.             ADDRESS ON FILE
FIGUEROA MOYA, MARISOL             ADDRESS ON FILE
FIGUEROA MOYA, WILFREDO            ADDRESS ON FILE
Figueroa Mujica, Rochelly          ADDRESS ON FILE
FIGUEROA MULERO, OMAYRA A          ADDRESS ON FILE
FIGUEROA MULET, HULDA B.           ADDRESS ON FILE
FIGUEROA MULET, JOSE               ADDRESS ON FILE
FIGUEROA MUNDO, GILBERTO           ADDRESS ON FILE
FIGUEROA MUNDO, YADIRA             ADDRESS ON FILE
FIGUEROA MUÑIZ MD, EDGARDO         ADDRESS ON FILE
FIGUEROA MUNIZ, IRIS M.            ADDRESS ON FILE
FIGUEROA MUNIZ, IRIS M.            ADDRESS ON FILE
FIGUEROA MUNIZ, JOSELYN            ADDRESS ON FILE
FIGUEROA MUNOZ, EDWIN              ADDRESS ON FILE
FIGUEROA MUNOZ, ERIC               ADDRESS ON FILE
FIGUEROA MUNOZ, HECTOR             ADDRESS ON FILE
FIGUEROA MUNOZ, LUIS               ADDRESS ON FILE
FIGUEROA MUNOZ, NELLY E            ADDRESS ON FILE
FIGUEROA MUNOZ, ROBERTO            ADDRESS ON FILE
FIGUEROA MUNOZ, WALESKA            ADDRESS ON FILE
FIGUEROA MUQIZ, ZILDA              ADDRESS ON FILE
FIGUEROA MUQOZ, EDNA E             ADDRESS ON FILE
FIGUEROA NARVAEZ, DAISY            ADDRESS ON FILE
FIGUEROA NARVAEZ, DAISY            ADDRESS ON FILE
FIGUEROA NARVAEZ, JOE              ADDRESS ON FILE
FIGUEROA NARVAEZ, JOSE             ADDRESS ON FILE
FIGUEROA NARVAEZ, RUBEN            ADDRESS ON FILE
FIGUEROA NATAL, ARTURO             ADDRESS ON FILE
FIGUEROA NATAL, SUSAN I.           ADDRESS ON FILE
FIGUEROA NATAL, SUSAN Y            ADDRESS ON FILE
FIGUEROA NATER, RAQUEL E.          ADDRESS ON FILE
FIGUEROA NAVARRO, ALEJANDRO        ADDRESS ON FILE
FIGUEROA NAVARRO, ERIK             ADDRESS ON FILE
FIGUEROA NAVARRO, GUILLERMO        ADDRESS ON FILE
FIGUEROA NAVARRO, ROSAMAR          ADDRESS ON FILE
FIGUEROA NAVARRO, VICTOR A         ADDRESS ON FILE
Figueroa Navas, Sandra E           ADDRESS ON FILE
FIGUEROA NAVEDO, ABIGAIL           ADDRESS ON FILE
FIGUEROA NAVEDO, AMANDA M          ADDRESS ON FILE
FIGUEROA NAVEDO, ELIAS             ADDRESS ON FILE
FIGUEROA NAVEDO, NERI L            ADDRESS ON FILE
FIGUEROA NAZARIO, ALEXANDER        ADDRESS ON FILE
FIGUEROA NAZARIO, AMPARO           ADDRESS ON FILE
FIGUEROA NAZARIO, CAROLINE         ADDRESS ON FILE
FIGUEROA NAZARIO, EDWILDO          ADDRESS ON FILE
FIGUEROA NAZARIO, GISELLE          ADDRESS ON FILE
FIGUEROA NAZARIO, LUIS G.          ADDRESS ON FILE
FIGUEROA NAZARIO, OMAR             ADDRESS ON FILE
FIGUEROA NAZARIO, OMAR             ADDRESS ON FILE
FIGUEROA NAZARIO, OMAR             ADDRESS ON FILE
FIGUEROA NAZARIO, SERGIO           ADDRESS ON FILE
FIGUEROA NAZARIO, WILFREDO         ADDRESS ON FILE
FIGUEROA NEGRO, ANAIS Z            ADDRESS ON FILE
FIGUEROA NEGRON, BRENDA            ADDRESS ON FILE
Figueroa Negron, Carmen            ADDRESS ON FILE




                                                                               Page 2861 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2862 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA NEGRON, CARMEN      ADDRESS ON FILE
FIGUEROA NEGRON, EMMANUEL    ADDRESS ON FILE
FIGUEROA NEGRON, IRMA I      ADDRESS ON FILE
FIGUEROA NEGRON, JESSICA     ADDRESS ON FILE
FIGUEROA NEGRON, JOSHUA      ADDRESS ON FILE
FIGUEROA NEGRON, LEILA       ADDRESS ON FILE
FIGUEROA NEGRON, LIZBETTE    ADDRESS ON FILE
FIGUEROA NEGRON, LUIS A      ADDRESS ON FILE
Figueroa Negron, Luis G      ADDRESS ON FILE
FIGUEROA NEGRON, LUZ L       ADDRESS ON FILE
FIGUEROA NEGRON, MARIA M     ADDRESS ON FILE
FIGUEROA NEGRON, MARIALIS    ADDRESS ON FILE
FIGUEROA NEGRON, MARIELA     ADDRESS ON FILE
FIGUEROA NEGRON, MARILYN     ADDRESS ON FILE
FIGUEROA NEGRON, MARTA E.    ADDRESS ON FILE
FIGUEROA NEGRON, MICHAEL     ADDRESS ON FILE
FIGUEROA NEGRON, NAKISHA     ADDRESS ON FILE
Figueroa Negron, Ramonita    ADDRESS ON FILE
FIGUEROA NEGRON, RICHARD     ADDRESS ON FILE
FIGUEROA NEGRON, SANTOS      ADDRESS ON FILE
FIGUEROA NEGRON, TOMAS       ADDRESS ON FILE
FIGUEROA NEGRON, YANIL       ADDRESS ON FILE
FIGUEROA NEGRON, ZORAIDA     ADDRESS ON FILE
FIGUEROA NEVARES, FERNANDO   ADDRESS ON FILE
FIGUEROA NEVAREZ, LEILANI    ADDRESS ON FILE
FIGUEROA NIETO, OLGA         ADDRESS ON FILE
Figueroa Nieves, Amalyn      ADDRESS ON FILE
FIGUEROA NIEVES, AMALYN      ADDRESS ON FILE
FIGUEROA NIEVES, ANAIS       ADDRESS ON FILE
FIGUEROA NIEVES, ANTOLINA    ADDRESS ON FILE
FIGUEROA NIEVES, CARLOS G.   ADDRESS ON FILE
FIGUEROA NIEVES, DEYMARIE    ADDRESS ON FILE
FIGUEROA NIEVES, EDMEE       ADDRESS ON FILE
FIGUEROA NIEVES, EDMEE D     ADDRESS ON FILE
FIGUEROA NIEVES, ELBA N      ADDRESS ON FILE
FIGUEROA NIEVES, ELEUTERIO   ADDRESS ON FILE
Figueroa Nieves, Elsa M      ADDRESS ON FILE
FIGUEROA NIEVES, ENID        ADDRESS ON FILE
FIGUEROA NIEVES, JANNETTE    ADDRESS ON FILE
FIGUEROA NIEVES, JAVIER      ADDRESS ON FILE
FIGUEROA NIEVES, JEANETTE    ADDRESS ON FILE
FIGUEROA NIEVES, JOSE        ADDRESS ON FILE
Figueroa Nieves, Jose E      ADDRESS ON FILE
FIGUEROA NIEVES, JOSEFINA    ADDRESS ON FILE
FIGUEROA NIEVES, JULITZA     ADDRESS ON FILE
FIGUEROA NIEVES, LUIS M      ADDRESS ON FILE
FIGUEROA NIEVES, MAGDALENA   ADDRESS ON FILE
FIGUEROA NIEVES, MARGARITA   ADDRESS ON FILE
FIGUEROA NIEVES, MARIDALIA   ADDRESS ON FILE
FIGUEROA NIEVES, MARISEL     ADDRESS ON FILE
FIGUEROA NIEVES, MARISEL     ADDRESS ON FILE
FIGUEROA NIEVES, MARTA S     ADDRESS ON FILE
FIGUEROA NIEVES, MAYRA       ADDRESS ON FILE
FIGUEROA NIEVES, MELBA M.    ADDRESS ON FILE
FIGUEROA NIEVES, NORMA J     ADDRESS ON FILE
FIGUEROA NIEVES, NYDIA       ADDRESS ON FILE
Figueroa Nieves, Petra L     ADDRESS ON FILE
FIGUEROA NIEVES, SAMUEL A    ADDRESS ON FILE
Figueroa Nieves, Sonia A     ADDRESS ON FILE
FIGUEROA NIEVES, VICTOR M    ADDRESS ON FILE




                                                                         Page 2862 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2863 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                  Address1                             Address2                                 Address3   Address4   City         State   PostalCode   Country
FIGUEROA NIEVES, VIRGINIA      ADDRESS ON FILE
FIGUEROA NIEVES, XIOMARA I     ADDRESS ON FILE
FIGUEROA NIEVES, YARIETZY      ADDRESS ON FILE
FIGUEROA NIEVES, ZULEIKA       ADDRESS ON FILE
FIGUEROA NIEVES, ZULEIKA       ADDRESS ON FILE
FIGUEROA NOBOA, LUZ NEREIDA    ADDRESS ON FILE
FIGUEROA NOGUES MD, FANNY G    ADDRESS ON FILE
FIGUEROA NOGUES, FANNY         ADDRESS ON FILE
FIGUEROA NORIEGA, ALBERTO      ADDRESS ON FILE
FIGUEROA NORMANDIA, CARMEN     ADDRESS ON FILE
FIGUEROA NUNEZ, CARLOS         ADDRESS ON FILE
FIGUEROA NUNEZ, JOSE           ADDRESS ON FILE
Figueroa Nunez, Josue          ADDRESS ON FILE
FIGUEROA NUNEZ, WILFREDO       ADDRESS ON FILE
FIGUEROA OCASIO, ANGEL L.      ADDRESS ON FILE
FIGUEROA OCASIO, ARIEL         LCDO. ANTONIO RODRÍGUEZ FRATICELLI   224 AVE. DOMENECH‐SUITE NÚMERO 1                               SAN JUAN     PR      00918
FIGUEROA OCASIO, ARIEL         LCDO. MIGUEL MORALES FAJARDO         PO BOX 9021722                                                 SAN JUAN     PR      00902‐1722
FIGUEROA OCASIO, BLANCA I.     ADDRESS ON FILE
FIGUEROA OCASIO, EMMANUEL      ADDRESS ON FILE
FIGUEROA OCASIO, HECTOR        ADDRESS ON FILE
FIGUEROA OCASIO, JOAQUIN       ADDRESS ON FILE
FIGUEROA OCASIO, JOSE M.       ADDRESS ON FILE
FIGUEROA OCASIO, MARTA         ADDRESS ON FILE
FIGUEROA OCASIO, MYRIAM        ADDRESS ON FILE
FIGUEROA OCASIO, MYRIAM        ADDRESS ON FILE
FIGUEROA OCASIO, PEDRO         ADDRESS ON FILE
FIGUEROA OJEDA, ANGELA         ADDRESS ON FILE
FIGUEROA OJEDA, EDWIN          ADDRESS ON FILE
FIGUEROA OJEDA, ERNESTO        ADDRESS ON FILE
FIGUEROA OJEDA, JANNETTE       ADDRESS ON FILE
FIGUEROA OJEDA, MARILUZ        ADDRESS ON FILE
FIGUEROA OJEDA, ORLANDO        ADDRESS ON FILE
Figueroa Olan, Freddy O        ADDRESS ON FILE
FIGUEROA OLAVARRIA, ISMAEL     ADDRESS ON FILE
FIGUEROA OLAVARRIA, JOSE       ADDRESS ON FILE
FIGUEROA OLAVARRIA, OMAR A.    ADDRESS ON FILE
FIGUEROA OLAVARRIA, RUBEN      ADDRESS ON FILE
FIGUEROA OLIVER, LUIS          ADDRESS ON FILE
Figueroa Oliver, Noelia        ADDRESS ON FILE
FIGUEROA OLIVERA, JESSICA      ADDRESS ON FILE
Figueroa Olivera, Victor M.    ADDRESS ON FILE
FIGUEROA OLIVERAS, ANGEL L     ADDRESS ON FILE
FIGUEROA OLIVERAS, LUZ         ADDRESS ON FILE
FIGUEROA OLIVERO, JOMARY       ADDRESS ON FILE
FIGUEROA OLIVIERI, JOSE        ADDRESS ON FILE
FIGUEROA OLIVO, ADELA          ADDRESS ON FILE
FIGUEROA OLMEDA, EFRAIN        ADDRESS ON FILE
Figueroa Olmeda, Gregorio      ADDRESS ON FILE
FIGUEROA OLMEDA, KELVIN        ADDRESS ON FILE
FIGUEROA OLMO, ERNESTO         ADDRESS ON FILE
FIGUEROA OLMO, LUIS            ADDRESS ON FILE
Figueroa Olvino, Jose A        ADDRESS ON FILE
FIGUEROA O'NEILL, CARLOS       ADDRESS ON FILE
FIGUEROA ONEILL, HECTOR L      ADDRESS ON FILE
FIGUEROA ONGAY, VIRGINIA       ADDRESS ON FILE
FIGUEROA ONOFRE, BLANCA        ADDRESS ON FILE
FIGUEROA OQUENDO, AILEEN       ADDRESS ON FILE
Figueroa Oquendo, Greachen M   ADDRESS ON FILE
FIGUEROA OQUENDO, MAILYN       ADDRESS ON FILE
FIGUEROA OQUENDO, RAMON L      ADDRESS ON FILE




                                                                                              Page 2863 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2864 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                     Address1                  Address2                          Address3   Address4   City         State   PostalCode   Country
FIGUEROA ORCINI, HECTOR           ADDRESS ON FILE
FIGUEROA ORELLANA, ALEX           ADDRESS ON FILE
FIGUEROA ORELLANA, DALIANA        ADDRESS ON FILE
FIGUEROA ORELLANO, GEIGEL         ADDRESS ON FILE
FIGUEROA OROSCO, ROBERTO          ADDRESS ON FILE
FIGUEROA OROZCO, ELIZABETH        ADDRESS ON FILE
FIGUEROA OROZCO, ROBERTO          ADDRESS ON FILE
FIGUEROA OROZO, VICTOR            ADDRESS ON FILE
FIGUEROA ORSINI, AILEEN           ADDRESS ON FILE
FIGUEROA ORSINI, ANTHONY          ADDRESS ON FILE
FIGUEROA ORSINI, JULIO            ADDRESS ON FILE
FIGUEROA ORTEGA, CARLOS           ADDRESS ON FILE
FIGUEROA ORTEGA, DAMARIS          ADDRESS ON FILE
FIGUEROA ORTEGA, ELIGIO           ADDRESS ON FILE
FIGUEROA ORTEGA, LUIS J           ADDRESS ON FILE
FIGUEROA ORTEGA, MARIA            ADDRESS ON FILE
FIGUEROA ORTEGA, MIGDALIA         ADDRESS ON FILE
FIGUEROA ORTEGA, MIGUEL           ADDRESS ON FILE
FIGUEROA ORTEGA, RAUL             ADDRESS ON FILE
FIGUEROA ORTEGA, ROSA M           ADDRESS ON FILE
FIGUEROA ORTEGA, SANTOS R         ADDRESS ON FILE
FIGUEROA ORTEGA, WALDEMAR         ADDRESS ON FILE
FIGUEROA ORTEGA, WANDA I.         ADDRESS ON FILE
FIGUEROA ORTIZ, ALBA N            ADDRESS ON FILE
FIGUEROA ORTIZ, ANA L             ADDRESS ON FILE
FIGUEROA ORTIZ, ANA M             ADDRESS ON FILE
FIGUEROA ORTIZ, ARACELIS SHELLY   ADDRESS ON FILE
FIGUEROA ORTIZ, BENITA            ADDRESS ON FILE
FIGUEROA ORTIZ, BETTY             ADDRESS ON FILE
FIGUEROA ORTIZ, BRENDA            ADDRESS ON FILE
FIGUEROA ORTIZ, CARLOS            ADDRESS ON FILE
FIGUEROA ORTIZ, CARMEN            ADDRESS ON FILE
FIGUEROA ORTIZ, CARMEN LOURDES    ADDRESS ON FILE
FIGUEROA ORTIZ, CARMEN S          ADDRESS ON FILE
FIGUEROA ORTIZ, CARMEN V          ADDRESS ON FILE
FIGUEROA ORTIZ, CAROL             ADDRESS ON FILE
FIGUEROA ORTIZ, CRUZ              ADDRESS ON FILE
FIGUEROA ORTIZ, DAISY             ADDRESS ON FILE
Figueroa Ortiz, Daisy C.          ADDRESS ON FILE
FIGUEROA ORTIZ, DENISE            ADDRESS ON FILE
FIGUEROA ORTIZ, DENNY             ADDRESS ON FILE
FIGUEROA ORTIZ, ELBA I.           ADDRESS ON FILE
FIGUEROA ORTIZ, ELSIE E.          ADDRESS ON FILE
FIGUEROA ORTIZ, ENID Y            ADDRESS ON FILE
FIGUEROA ORTIZ, ENRIQUE           ADDRESS ON FILE
FIGUEROA ORTIZ, ERNESTO           ADDRESS ON FILE
FIGUEROA ORTIZ, FELICITA          ADDRESS ON FILE
FIGUEROA ORTIZ, GLADYS M          ADDRESS ON FILE
FIGUEROA ORTIZ, GLORIVEE          ADDRESS ON FILE
FIGUEROA ORTIZ, GRISELLE          ADDRESS ON FILE
FIGUEROA ORTIZ, ISRAEL            ADDRESS ON FILE
FIGUEROA ORTIZ, IVONNE M.         ADDRESS ON FILE
FIGUEROA ORTIZ, JANNETTE          ADDRESS ON FILE
FIGUEROA ORTIZ, JESUS             ADDRESS ON FILE
FIGUEROA ORTIZ, JOAN M.           ADDRESS ON FILE
FIGUEROA ORTIZ, JORGE             ADDRESS ON FILE
FIGUEROA ORTIZ, JOSUE             FERMIN ARRAIZA            PO BOX 9023951 ‐                                        SAN JUAN     PR      00902
FIGUEROA ORTIZ, JUAN              ADDRESS ON FILE
FIGUEROA ORTIZ, JUAN C            ADDRESS ON FILE
FIGUEROA ORTIZ, JUANITA           ADDRESS ON FILE




                                                                               Page 2864 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2865 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA ORTIZ, JULIO         ADDRESS ON FILE
FIGUEROA ORTIZ, KARITZA       ADDRESS ON FILE
FIGUEROA ORTIZ, KRYSTAL       ADDRESS ON FILE
Figueroa Ortiz, Linef M       ADDRESS ON FILE
Figueroa Ortiz, Luis A        ADDRESS ON FILE
FIGUEROA ORTIZ, LUZ M.        ADDRESS ON FILE
FIGUEROA ORTIZ, LYDIA         ADDRESS ON FILE
FIGUEROA ORTIZ, MARIA D       ADDRESS ON FILE
FIGUEROA ORTIZ, MARIA DE L    ADDRESS ON FILE
FIGUEROA ORTIZ, MARILYN       ADDRESS ON FILE
FIGUEROA ORTIZ, MARITZA I.    ADDRESS ON FILE
FIGUEROA ORTIZ, MAYTEE        ADDRESS ON FILE
FIGUEROA ORTIZ, MICHELE       ADDRESS ON FILE
FIGUEROA ORTIZ, MICHELLE      ADDRESS ON FILE
FIGUEROA ORTIZ, MIGDALIA      ADDRESS ON FILE
Figueroa Ortiz, Miguel        ADDRESS ON FILE
FIGUEROA ORTIZ, MOISES        ADDRESS ON FILE
FIGUEROA ORTIZ, NANCY         ADDRESS ON FILE
FIGUEROA ORTIZ, NELSON        ADDRESS ON FILE
FIGUEROA ORTIZ, NORMA I       ADDRESS ON FILE
FIGUEROA ORTIZ, NYRMA         ADDRESS ON FILE
Figueroa Ortiz, Nyrma I       ADDRESS ON FILE
FIGUEROA ORTIZ, OMAR          ADDRESS ON FILE
FIGUEROA ORTIZ, ORLANDO       ADDRESS ON FILE
FIGUEROA ORTIZ, PEDRO         ADDRESS ON FILE
FIGUEROA ORTIZ, RAFAEL        ADDRESS ON FILE
Figueroa Ortiz, Ramon L       ADDRESS ON FILE
FIGUEROA ORTIZ, REYNALDO      ADDRESS ON FILE
FIGUEROA ORTIZ, REYNALDO      ADDRESS ON FILE
FIGUEROA ORTIZ, ROSA          ADDRESS ON FILE
Figueroa Ortiz, Ruben         ADDRESS ON FILE
FIGUEROA ORTIZ, RUBEN         ADDRESS ON FILE
FIGUEROA ORTIZ, SAMUEL        ADDRESS ON FILE
Figueroa Ortiz, Sandro        ADDRESS ON FILE
FIGUEROA ORTIZ, SANTA V       ADDRESS ON FILE
FIGUEROA ORTIZ, SARAI         ADDRESS ON FILE
FIGUEROA ORTIZ, SILVIA E      ADDRESS ON FILE
FIGUEROA ORTIZ, SONIA         ADDRESS ON FILE
FIGUEROA ORTIZ, SORAYA        ADDRESS ON FILE
FIGUEROA ORTIZ, SYLVIA        ADDRESS ON FILE
FIGUEROA ORTIZ, VICTOR M      ADDRESS ON FILE
FIGUEROA ORTIZ, WANDA I       ADDRESS ON FILE
FIGUEROA ORTIZ, WANDA M       ADDRESS ON FILE
FIGUEROA ORTIZ, WILFREDO      ADDRESS ON FILE
FIGUEROA ORTIZ, WILFREDO      ADDRESS ON FILE
FIGUEROA ORTIZ, WILLIAM       ADDRESS ON FILE
FIGUEROA ORTIZ, WILSON        ADDRESS ON FILE
FIGUEROA ORTIZ, YARITZA       ADDRESS ON FILE
FIGUEROA ORTIZ, YELIMAR       ADDRESS ON FILE
FIGUEROA ORTIZ, ZOE           ADDRESS ON FILE
FIGUEROA ORTIZ, ZULEYKA       ADDRESS ON FILE
FIGUEROA ORTOLAZA, CARLOS     ADDRESS ON FILE
Figueroa Ortolaza, Carlos J   ADDRESS ON FILE
FIGUEROA ORTOLAZA, MARILYNN   ADDRESS ON FILE
FIGUEROA ORTOLAZA, WANDA      ADDRESS ON FILE
FIGUEROA OSORIO, CLARIMAR     ADDRESS ON FILE
FIGUEROA OSORIO, EFRAIN       ADDRESS ON FILE
FIGUEROA OSORIO, JENNIFER     ADDRESS ON FILE
FIGUEROA OSORIO, MARTHA G     ADDRESS ON FILE
FIGUEROA OSORIO, NELSON       ADDRESS ON FILE




                                                                          Page 2865 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2866 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3     Address4   City           State   PostalCode   Country
Figueroa Ostolaza, Melvin       ADDRESS ON FILE
FIGUEROA OTERO MD, IVAN         ADDRESS ON FILE
FIGUEROA OTERO, ANYAH N         ADDRESS ON FILE
Figueroa Otero, Clara L         ADDRESS ON FILE
FIGUEROA OTERO, HECTOR J        ADDRESS ON FILE
FIGUEROA OTERO, ISRAEL          ADDRESS ON FILE
FIGUEROA OTERO, IVELISSE        ADDRESS ON FILE
FIGUEROA OTERO, IVELISSE        ADDRESS ON FILE
FIGUEROA OTERO, MANUEL          ADDRESS ON FILE
FIGUEROA OTERO, MOISES          ADDRESS ON FILE
FIGUEROA OTERO, NATALIA         ADDRESS ON FILE
FIGUEROA OTERO, NELLY S.        ADDRESS ON FILE
FIGUEROA OTERO, NORMA J         ADDRESS ON FILE
FIGUEROA OTERO, NYDIA           ADDRESS ON FILE
FIGUEROA OTERO, NYDIA           ADDRESS ON FILE
FIGUEROA OTERO, OTONIEL         ADDRESS ON FILE
FIGUEROA OTERO, RAFAEL          ADDRESS ON FILE
FIGUEROA OTERO, SANTIAGO        ADDRESS ON FILE
FIGUEROA OTERO, TERESITA        ADDRESS ON FILE
FIGUEROA OYOLA, DAMIAN          ADDRESS ON FILE
FIGUEROA OYOLA, LISANDRA        ADDRESS ON FILE
FIGUEROA OYOLA, LISANIZ MARIE   ADDRESS ON FILE
FIGUEROA PABON, CARMEN          ADDRESS ON FILE
FIGUEROA PABON, EYDYE           ADDRESS ON FILE
FIGUEROA PABON, PEDRO           ADDRESS ON FILE
FIGUEROA PABON, YARIMIL         ADDRESS ON FILE
FIGUEROA PACHECO, ELAINE        ADDRESS ON FILE
FIGUEROA PACHECO, JILIXA        ADDRESS ON FILE
FIGUEROA PADILLA, AWILDA        ADDRESS ON FILE
FIGUEROA PADILLA, BERNICE       ADDRESS ON FILE
FIGUEROA PADILLA, JUAN E        ADDRESS ON FILE
FIGUEROA PADILLA, MARIA E       ADDRESS ON FILE
FIGUEROA PADILLA, MIGDALIA      ADDRESS ON FILE
FIGUEROA PADUA, ALICIA          ADDRESS ON FILE
Figueroa Padua, Hector L.       ADDRESS ON FILE
FIGUEROA PAGAN, ARTURO          ADDRESS ON FILE
FIGUEROA PAGAN, AURORA          ADDRESS ON FILE
FIGUEROA PAGAN, BRUNILDA        ADDRESS ON FILE
FIGUEROA PAGAN, CESAR           ADDRESS ON FILE
FIGUEROA PAGAN, DAMARIS         ADDRESS ON FILE
FIGUEROA PAGAN, DORIVETTE       ADDRESS ON FILE
FIGUEROA PAGAN, EDUARDO         ADDRESS ON FILE
FIGUEROA PAGAN, ELIZABETH       ADDRESS ON FILE
FIGUEROA PAGAN, ELSA            ADDRESS ON FILE
FIGUEROA PAGAN, EMILY           ADDRESS ON FILE
FIGUEROA PAGAN, ERIC            ADDRESS ON FILE
FIGUEROA PAGAN, ESTEVEN         ADDRESS ON FILE
FIGUEROA PAGAN, FELICITA        ADDRESS ON FILE
FIGUEROA PAGAN, FRANCISCO       ADDRESS ON FILE
FIGUEROA PAGAN, FRANK           ADDRESS ON FILE
FIGUEROA PAGAN, GLORIANN        ADDRESS ON FILE
FIGUEROA PAGAN, ISNERY          ADDRESS ON FILE
FIGUEROA PAGÁN, ISNERY M.       POR DERECHO PROPIO        PO BOX 16216                     MONTEBELLO              RIO GRANDE     PR      00745
FIGUEROA PAGAN, JAVIER          ADDRESS ON FILE
FIGUEROA PAGAN, JAVIER          ADDRESS ON FILE
FIGUEROA PAGAN, JOHANNA         ADDRESS ON FILE
FIGUEROA PAGAN, JORGE           ADDRESS ON FILE
FIGUEROA PAGAN, JUAN B          ADDRESS ON FILE
FIGUEROA PAGAN, JULIA           ADDRESS ON FILE
FIGUEROA PAGAN, LOUIS L.        ADDRESS ON FILE




                                                                            Page 2866 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2867 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA PAGAN, LOURDES V          ADDRESS ON FILE
FIGUEROA PAGAN, MARA               ADDRESS ON FILE
FIGUEROA PAGAN, MARCEL M.          ADDRESS ON FILE
FIGUEROA PAGAN, MARCEL M.          ADDRESS ON FILE
FIGUEROA PAGAN, MARIE O            ADDRESS ON FILE
FIGUEROA PAGAN, MARITZA            ADDRESS ON FILE
Figueroa Pagan, Martha D.          ADDRESS ON FILE
FIGUEROA PAGAN, MIGUEL             ADDRESS ON FILE
FIGUEROA PAGAN, SALLY M            ADDRESS ON FILE
FIGUEROA PAGAN, SHEYLA M           ADDRESS ON FILE
FIGUEROA PANETO, ANA M             ADDRESS ON FILE
FIGUEROA PANTOJA, DAISY            ADDRESS ON FILE
FIGUEROA PARIS, ANGELIS M          ADDRESS ON FILE
FIGUEROA PARIS, ARACELIS           ADDRESS ON FILE
FIGUEROA PARIS, CARMEN J           ADDRESS ON FILE
FIGUEROA PARRILLA, ANGEL M         ADDRESS ON FILE
FIGUEROA PARRILLA, ELIZABETH       ADDRESS ON FILE
Figueroa Parrilla, Virgen M        ADDRESS ON FILE
FIGUEROA PASTRANA, MYRIAM I.       ADDRESS ON FILE
FIGUEROA PEDRAZA, CARMEN D.        ADDRESS ON FILE
FIGUEROA PEDROSA, MIGUEL           ADDRESS ON FILE
FIGUEROA PEDROSA, ROSE A           ADDRESS ON FILE
FIGUEROA PELLOT, ALICIA            ADDRESS ON FILE
FIGUEROA PELLOT, BETHZAIDA         ADDRESS ON FILE
FIGUEROA PELLOT, SAMUEL FIGUEROA   ADDRESS ON FILE
FIGUEROA PENA, DINAH E             ADDRESS ON FILE
FIGUEROA PENA, EDNA                ADDRESS ON FILE
FIGUEROA PENA, ISRAEL              ADDRESS ON FILE
FIGUEROA PENA, JUAN                ADDRESS ON FILE
FIGUEROA PENA, LUZ D.              ADDRESS ON FILE
FIGUEROA PENA, LUZ E.              ADDRESS ON FILE
FIGUEROA PENA, MIDDELI             ADDRESS ON FILE
FIGUEROA PENA, ZORIBEL             ADDRESS ON FILE
FIGUEROA PENALBERT, GERALD         ADDRESS ON FILE
FIGUEROA PENALOZA, AILEEN          ADDRESS ON FILE
FIGUEROA PENALOZA, HOMMY JOSE      ADDRESS ON FILE
FIGUEROA PENALOZA, LUZ M           ADDRESS ON FILE
FIGUEROA PERALES, FELIX            ADDRESS ON FILE
FIGUEROA PERDOMO, CHRISTIAN        ADDRESS ON FILE
FIGUEROA PERDOMO, VICTOR M         ADDRESS ON FILE
FIGUEROA PEREIRA, SAMUEL V.        ADDRESS ON FILE
FIGUEROA PEREZ MD, FELIX M         ADDRESS ON FILE
FIGUEROA PEREZ WANDA I             ADDRESS ON FILE
FIGUEROA PEREZ, ACISCLO R          ADDRESS ON FILE
FIGUEROA PEREZ, AGUSTIN            ADDRESS ON FILE
FIGUEROA PEREZ, AIDA L             ADDRESS ON FILE
Figueroa Perez, Alfredo            ADDRESS ON FILE
FIGUEROA PEREZ, ALMA I             ADDRESS ON FILE
FIGUEROA PEREZ, AMAURY             ADDRESS ON FILE
FIGUEROA PEREZ, ANA M              ADDRESS ON FILE
FIGUEROA PEREZ, ANABEL             ADDRESS ON FILE
FIGUEROA PEREZ, ANABEL             ADDRESS ON FILE
FIGUEROA PEREZ, ANTONIO            ADDRESS ON FILE
FIGUEROA PEREZ, AYLDA              ADDRESS ON FILE
FIGUEROA PEREZ, BEBE               ADDRESS ON FILE
FIGUEROA PEREZ, CARMEN D           ADDRESS ON FILE
FIGUEROA PEREZ, CARMEN L           ADDRESS ON FILE
FIGUEROA PEREZ, CARMEN M           ADDRESS ON FILE
FIGUEROA PEREZ, CARMEN M.          ADDRESS ON FILE
FIGUEROA PEREZ, DAMARIS            ADDRESS ON FILE




                                                                               Page 2867 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2868 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA PEREZ, DANIEL         ADDRESS ON FILE
FIGUEROA PEREZ, DANNY M        ADDRESS ON FILE
Figueroa Perez, Diego          ADDRESS ON FILE
FIGUEROA PEREZ, DORIS N        ADDRESS ON FILE
FIGUEROA PEREZ, EDGARDO        ADDRESS ON FILE
FIGUEROA PEREZ, EDWIN          ADDRESS ON FILE
FIGUEROA PEREZ, EIDA M         ADDRESS ON FILE
FIGUEROA PEREZ, ELIDUVINA      ADDRESS ON FILE
FIGUEROA PEREZ, ELIZABETH      ADDRESS ON FILE
FIGUEROA PEREZ, EMIGDIO        ADDRESS ON FILE
FIGUEROA PEREZ, EMMANUEL       ADDRESS ON FILE
FIGUEROA PEREZ, EVANGELIA      ADDRESS ON FILE
FIGUEROA PEREZ, FRANK          ADDRESS ON FILE
FIGUEROA PEREZ, FRANK R        ADDRESS ON FILE
FIGUEROA PEREZ, FRANKIE        ADDRESS ON FILE
FIGUEROA PEREZ, GISELA         ADDRESS ON FILE
FIGUEROA PEREZ, HELEN          ADDRESS ON FILE
FIGUEROA PEREZ, IRIS B         ADDRESS ON FILE
FIGUEROA PEREZ, IRMA Y         ADDRESS ON FILE
FIGUEROA PEREZ, IVAN           ADDRESS ON FILE
FIGUEROA PEREZ, JAVIER         ADDRESS ON FILE
FIGUEROA PEREZ, JAVIER         ADDRESS ON FILE
FIGUEROA PEREZ, JEAN           ADDRESS ON FILE
FIGUEROA PEREZ, JENNIFER       ADDRESS ON FILE
FIGUEROA PEREZ, JONATHAN       ADDRESS ON FILE
FIGUEROA PEREZ, JOSE           ADDRESS ON FILE
FIGUEROA PEREZ, JOSE           ADDRESS ON FILE
FIGUEROA PEREZ, JOSE           ADDRESS ON FILE
FIGUEROA PEREZ, JOSE E.        ADDRESS ON FILE
Figueroa Perez, Juan           ADDRESS ON FILE
FIGUEROA PEREZ, JUAN           ADDRESS ON FILE
FIGUEROA PEREZ, JUAN           ADDRESS ON FILE
FIGUEROA PEREZ, JULIA          ADDRESS ON FILE
FIGUEROA PEREZ, LOURDES        ADDRESS ON FILE
FIGUEROA PEREZ, LUIS A         ADDRESS ON FILE
FIGUEROA PEREZ, MABEL          ADDRESS ON FILE
FIGUEROA PEREZ, MARIA          ADDRESS ON FILE
FIGUEROA PEREZ, MARIA DE C     ADDRESS ON FILE
FIGUEROA PEREZ, MARIA E.       ADDRESS ON FILE
FIGUEROA PEREZ, MERCEDES       ADDRESS ON FILE
FIGUEROA PEREZ, MICHELLE       ADDRESS ON FILE
FIGUEROA PEREZ, MIGUEL         ADDRESS ON FILE
FIGUEROA PEREZ, PEDRO          ADDRESS ON FILE
FIGUEROA PEREZ, PEDRO A.       ADDRESS ON FILE
FIGUEROA PEREZ, RAFAEL         ADDRESS ON FILE
Figueroa Perez, Rafael         ADDRESS ON FILE
FIGUEROA PEREZ, RAFAEL         ADDRESS ON FILE
FIGUEROA PEREZ, RAFAEL         ADDRESS ON FILE
FIGUEROA PEREZ, RICARDO        ADDRESS ON FILE
FIGUEROA PEREZ, ROBERTO        ADDRESS ON FILE
FIGUEROA PEREZ, ROBERTO JOSE   ADDRESS ON FILE
FIGUEROA PEREZ, ROGER          ADDRESS ON FILE
FIGUEROA PEREZ, ROSE E.        ADDRESS ON FILE
FIGUEROA PEREZ, RUTH M         ADDRESS ON FILE
FIGUEROA PEREZ, SANTOS         ADDRESS ON FILE
FIGUEROA PEREZ, SHARON         ADDRESS ON FILE
FIGUEROA PEROZA, JULIO         ADDRESS ON FILE
FIGUEROA PETERSON, ROBERTO J   ADDRESS ON FILE
FIGUEROA PICKERING, JULIA      ADDRESS ON FILE
FIGUEROA PICKERING, JULIA      ADDRESS ON FILE




                                                                           Page 2868 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2869 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA PICORELLI, IVELISSE      ADDRESS ON FILE
Figueroa Pieranton, Julio C       ADDRESS ON FILE
FIGUEROA PINA, KEVIN              ADDRESS ON FILE
FIGUEROA PINAN, CARMEN D          ADDRESS ON FILE
FIGUEROA PINEDO, KAINA            ADDRESS ON FILE
FIGUEROA PINEIRO, ARMANDO         ADDRESS ON FILE
FIGUEROA PINEIRO, JANET           ADDRESS ON FILE
FIGUEROA PINEIRO, MARIO           ADDRESS ON FILE
FIGUEROA PINEIRO, SONIA           ADDRESS ON FILE
FIGUEROA PINEIRO, SONIA           ADDRESS ON FILE
FIGUEROA PINEIRO, VICTOR          ADDRESS ON FILE
FIGUEROA PINERO, FRANCISCO        ADDRESS ON FILE
FIGUEROA PINERO, FRANCISCO        ADDRESS ON FILE
FIGUEROA PINERO, JOSE A.          ADDRESS ON FILE
FIGUEROA PINERO, RADAMES          ADDRESS ON FILE
FIGUEROA PINET, BETZAIDA          ADDRESS ON FILE
FIGUEROA PINET, EUGENIO           ADDRESS ON FILE
FIGUEROA PINGETTI, YVONNE         ADDRESS ON FILE
FIGUEROA PINO, MARILYN            ADDRESS ON FILE
FIGUEROA PIQEIRO, SONIA           ADDRESS ON FILE
FIGUEROA PIZARRO, ANGEL           ADDRESS ON FILE
FIGUEROA PIZARRO, GEORGINA        ADDRESS ON FILE
Figueroa Pizarro, Luis A          ADDRESS ON FILE
FIGUEROA PIZARRO, ROLAND          ADDRESS ON FILE
FIGUEROA PIZARRO, YAZZYAN         ADDRESS ON FILE
FIGUEROA PLAZA, CARMEN            ADDRESS ON FILE
FIGUEROA PLAZA, PEDRO J.          ADDRESS ON FILE
FIGUEROA PLUMEY, PRISCILLA        ADDRESS ON FILE
FIGUEROA POMALES, JOSE            ADDRESS ON FILE
FIGUEROA POMALES, REINALDO A.     ADDRESS ON FILE
Figueroa Portalati, Julio C       ADDRESS ON FILE
FIGUEROA PORTALATIN, ALEXIS       ADDRESS ON FILE
FIGUEROA PORTALATIN, JULIO        ADDRESS ON FILE
FIGUEROA POVENTUD, LUIS A         ADDRESS ON FILE
FIGUEROA POVENTUD, MARCIAL        ADDRESS ON FILE
FIGUEROA PROPERE, EDDIE           ADDRESS ON FILE
FIGUEROA PUENTE, LILLIAN          ADDRESS ON FILE
FIGUEROA QUERO, LUIS              ADDRESS ON FILE
FIGUEROA QUESTELL, CARMELO        ADDRESS ON FILE
FIGUEROA QUESTELL, CARMELO        ADDRESS ON FILE
FIGUEROA QUESTELL,CARMEN          ADDRESS ON FILE
FIGUEROA QUEVEDO, ALEJANDRO       ADDRESS ON FILE
FIGUEROA QUEZADA, VIVIAN          ADDRESS ON FILE
FIGUEROA QUIANES, JOSE            ADDRESS ON FILE
FIGUEROA QUILES, WANDA I.         ADDRESS ON FILE
FIGUEROA QUILES, WANDA I.         ADDRESS ON FILE
Figueroa Quinones, Carlos J       ADDRESS ON FILE
FIGUEROA QUINONES, CARMEN         ADDRESS ON FILE
FIGUEROA QUINONES, CARMEN L       ADDRESS ON FILE
FIGUEROA QUINONES, EMMA           ADDRESS ON FILE
FIGUEROA QUINONES, ERIKA          ADDRESS ON FILE
Figueroa Quinones, Hector L       ADDRESS ON FILE
FIGUEROA QUINONES, JORGE L        ADDRESS ON FILE
FIGUEROA QUINONES, JUAN           ADDRESS ON FILE
Figueroa Quinones, Kenneth        ADDRESS ON FILE
FIGUEROA QUINONES, KENNETH        ADDRESS ON FILE
Figueroa Quinones, Luis Antonio   ADDRESS ON FILE
FIGUEROA QUINONES, MARIBEL        ADDRESS ON FILE
FIGUEROA QUINONES, MICHELLE       ADDRESS ON FILE
FIGUEROA QUINONES, MILAGROS       ADDRESS ON FILE




                                                                              Page 2869 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2870 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA QUINONES, MILDRED       ADDRESS ON FILE
FIGUEROA QUINONES, NANCY         ADDRESS ON FILE
FIGUEROA QUINONES, NILMARIS E.   ADDRESS ON FILE
Figueroa Quinones, Orlando       ADDRESS ON FILE
FIGUEROA QUINONES, PAMELA        ADDRESS ON FILE
Figueroa Quinones, Rafael        ADDRESS ON FILE
Figueroa Quinones, Roberto A     ADDRESS ON FILE
FIGUEROA QUINONES, TOMMY         ADDRESS ON FILE
FIGUEROA QUINONES, VILMA R       ADDRESS ON FILE
FIGUEROA QUINONES, YEZABELL M    ADDRESS ON FILE
FIGUEROA QUINONES, YVETTE        ADDRESS ON FILE
FIGUEROA QUINONEZ, CARLOS J.     ADDRESS ON FILE
FIGUEROA QUINONEZ, PEDRO         ADDRESS ON FILE
Figueroa Quintan, Elizabeth      ADDRESS ON FILE
Figueroa Quintana, Enrique       ADDRESS ON FILE
FIGUEROA QUINTANA, JESUS         ADDRESS ON FILE
FIGUEROA QUINTANA, JORGE R       ADDRESS ON FILE
Figueroa Quintana, Laura M       ADDRESS ON FILE
FIGUEROA QUINTERO, LUIS          ADDRESS ON FILE
FIGUEROA RAMIREZ, CARMEN J       ADDRESS ON FILE
FIGUEROA RAMIREZ, EFRAIN         ADDRESS ON FILE
FIGUEROA RAMIREZ, GABRIEL        ADDRESS ON FILE
FIGUEROA RAMIREZ, GABRIEL        ADDRESS ON FILE
FIGUEROA RAMIREZ, ISMAEL         ADDRESS ON FILE
FIGUEROA RAMIREZ, ISMAEL         ADDRESS ON FILE
FIGUEROA RAMIREZ, JOSE A         ADDRESS ON FILE
Figueroa Ramirez, Jose L.        ADDRESS ON FILE
Figueroa Ramirez, Jose M         ADDRESS ON FILE
FIGUEROA RAMIREZ, JULIO E.       ADDRESS ON FILE
FIGUEROA RAMIREZ, LYDIA E        ADDRESS ON FILE
FIGUEROA RAMIREZ, MARIA I        ADDRESS ON FILE
Figueroa Ramirez, Migdalia       ADDRESS ON FILE
FIGUEROA RAMIREZ, SALLY Y        ADDRESS ON FILE
FIGUEROA RAMIREZ, YAMARIE        ADDRESS ON FILE
FIGUEROA RAMIREZ, YOLANDA        ADDRESS ON FILE
FIGUEROA RAMOS, ALFREDO          ADDRESS ON FILE
FIGUEROA RAMOS, ANA L            ADDRESS ON FILE
FIGUEROA RAMOS, ANA M            ADDRESS ON FILE
FIGUEROA RAMOS, ANGELICA         ADDRESS ON FILE
FIGUEROA RAMOS, AXEL             ADDRESS ON FILE
FIGUEROA RAMOS, BETZAIDA         ADDRESS ON FILE
FIGUEROA RAMOS, CARLOS           ADDRESS ON FILE
FIGUEROA RAMOS, CARLOS B         ADDRESS ON FILE
FIGUEROA RAMOS, CARLOS R.        ADDRESS ON FILE
FIGUEROA RAMOS, CARMEN           ADDRESS ON FILE
FIGUEROA RAMOS, CARMEN           ADDRESS ON FILE
FIGUEROA RAMOS, CARMEN I         ADDRESS ON FILE
FIGUEROA RAMOS, CARMEN I.        ADDRESS ON FILE
FIGUEROA RAMOS, DAMARIS          ADDRESS ON FILE
FIGUEROA RAMOS, DAVID            ADDRESS ON FILE
FIGUEROA RAMOS, DAVID            ADDRESS ON FILE
Figueroa Ramos, Demetria         ADDRESS ON FILE
FIGUEROA RAMOS, EDWIN            ADDRESS ON FILE
FIGUEROA RAMOS, EILEEN M         ADDRESS ON FILE
FIGUEROA RAMOS, EILEEN M.        ADDRESS ON FILE
FIGUEROA RAMOS, ELIZABETH        ADDRESS ON FILE
FIGUEROA RAMOS, EVELIZ           ADDRESS ON FILE
FIGUEROA RAMOS, EZEQUIEL         ADDRESS ON FILE
FIGUEROA RAMOS, GLADYS           ADDRESS ON FILE
FIGUEROA RAMOS, GLENDA L         ADDRESS ON FILE




                                                                             Page 2870 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2871 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RAMOS, HECTOR        ADDRESS ON FILE
FIGUEROA RAMOS, JAVIER        ADDRESS ON FILE
FIGUEROA RAMOS, JAVIER        ADDRESS ON FILE
FIGUEROA RAMOS, JOSE          ADDRESS ON FILE
Figueroa Ramos, Jose L        ADDRESS ON FILE
FIGUEROA RAMOS, JUAN          ADDRESS ON FILE
FIGUEROA RAMOS, JUAN R        ADDRESS ON FILE
FIGUEROA RAMOS, KENELMA       ADDRESS ON FILE
FIGUEROA RAMOS, LILLIAM       ADDRESS ON FILE
FIGUEROA RAMOS, LISSAN        ADDRESS ON FILE
Figueroa Ramos, Luis A        ADDRESS ON FILE
FIGUEROA RAMOS, LUZ M         ADDRESS ON FILE
FIGUEROA RAMOS, LUZ S         ADDRESS ON FILE
FIGUEROA RAMOS, LYDELIZ       ADDRESS ON FILE
FIGUEROA RAMOS, MANUEL        ADDRESS ON FILE
FIGUEROA RAMOS, MANUEL        ADDRESS ON FILE
FIGUEROA RAMOS, MARISEL       ADDRESS ON FILE
FIGUEROA RAMOS, MARIVELISSE   ADDRESS ON FILE
FIGUEROA RAMOS, MIGUEL        ADDRESS ON FILE
FIGUEROA RAMOS, MILAGROS I    ADDRESS ON FILE
FIGUEROA RAMOS, MONICA        ADDRESS ON FILE
FIGUEROA RAMOS, MONICA        ADDRESS ON FILE
FIGUEROA RAMOS, NATIVIDAD     ADDRESS ON FILE
Figueroa Ramos, Nilda I       ADDRESS ON FILE
FIGUEROA RAMOS, ODALIS        ADDRESS ON FILE
FIGUEROA RAMOS, ONIX M        ADDRESS ON FILE
FIGUEROA RAMOS, RAMON         ADDRESS ON FILE
FIGUEROA RAMOS, RICARDO       ADDRESS ON FILE
FIGUEROA RAMOS, RUTH M        ADDRESS ON FILE
FIGUEROA RAMOS, SAMIRIS       ADDRESS ON FILE
Figueroa Ramos, Santos        ADDRESS ON FILE
FIGUEROA RAMOS, SONIA N       ADDRESS ON FILE
FIGUEROA RAMOS, SUSANA        ADDRESS ON FILE
FIGUEROA RAMOS, TAMARA        ADDRESS ON FILE
FIGUEROA RAMOS, VICTOR        ADDRESS ON FILE
FIGUEROA RAMOS, VILMARIE      ADDRESS ON FILE
FIGUEROA RAMOS, VIRGENMINA    ADDRESS ON FILE
FIGUEROA RAMOS, WANDA         ADDRESS ON FILE
FIGUEROA RAMOS, WILLIAM       ADDRESS ON FILE
FIGUEROA RANGEL, JOSEPH       ADDRESS ON FILE
FIGUEROA RANGEL, LEONIK       ADDRESS ON FILE
FIGUEROA RANGEL, MIGUEL       ADDRESS ON FILE
FIGUEROA REBOLLO, ADALBERTO   ADDRESS ON FILE
FIGUEROA REBOLLO, SUHEILL     ADDRESS ON FILE
FIGUEROA REDONDO, YOLIMAR     ADDRESS ON FILE
FIGUEROA REGUERO, JOHANNA     ADDRESS ON FILE
FIGUEROA REGUERO, JORGE I.    ADDRESS ON FILE
FIGUEROA REGUERO, SIGRID M    ADDRESS ON FILE
FIGUEROA RENTA, ERNESTO       ADDRESS ON FILE
FIGUEROA RENTAS, PABLO        ADDRESS ON FILE
FIGUEROA RENTAS, YAMILIZA     ADDRESS ON FILE
FIGUEROA REQUENA, HECTOR      ADDRESS ON FILE
FIGUEROA RESTO, ADA I         ADDRESS ON FILE
FIGUEROA RESTO, CARMEN A      ADDRESS ON FILE
Figueroa Resto, Carmen A.     ADDRESS ON FILE
FIGUEROA RESTO, IRAIDA        ADDRESS ON FILE
FIGUEROA RESTO, JAVIER        ADDRESS ON FILE
FIGUEROA RETAMA, JOSE         ADDRESS ON FILE
FIGUEROA RETAMAR, ANTHONY     ADDRESS ON FILE
FIGUEROA REXACH, ALBA N       ADDRESS ON FILE




                                                                          Page 2871 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2872 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA REYES, ALTAGRACIA   ADDRESS ON FILE
FIGUEROA REYES, ANGEL        ADDRESS ON FILE
FIGUEROA REYES, ARLINEE      ADDRESS ON FILE
FIGUEROA REYES, ENITZA       ADDRESS ON FILE
FIGUEROA REYES, FELIX        ADDRESS ON FILE
FIGUEROA REYES, FERNANDO     ADDRESS ON FILE
FIGUEROA REYES, GLENDALYS    ADDRESS ON FILE
FIGUEROA REYES, IRVING       ADDRESS ON FILE
FIGUEROA REYES, JAIME O.     ADDRESS ON FILE
FIGUEROA REYES, JEAN         ADDRESS ON FILE
FIGUEROA REYES, JESSICA      ADDRESS ON FILE
FIGUEROA REYES, JOSE         ADDRESS ON FILE
FIGUEROA REYES, JOSE         ADDRESS ON FILE
FIGUEROA REYES, KAREN        ADDRESS ON FILE
FIGUEROA REYES, KAREN S.     ADDRESS ON FILE
FIGUEROA REYES, LOURDES      ADDRESS ON FILE
FIGUEROA REYES, LUIS         ADDRESS ON FILE
FIGUEROA REYES, LUIS         ADDRESS ON FILE
FIGUEROA REYES, LUIS D.      ADDRESS ON FILE
FIGUEROA REYES, LUIS O       ADDRESS ON FILE
FIGUEROA REYES, LUZ E        ADDRESS ON FILE
FIGUEROA REYES, MADELINE     ADDRESS ON FILE
FIGUEROA REYES, NICOLAS      ADDRESS ON FILE
FIGUEROA REYES, NORIS        ADDRESS ON FILE
FIGUEROA REYES, OSWALDO      ADDRESS ON FILE
FIGUEROA REYES, RAMON        ADDRESS ON FILE
FIGUEROA REYES, RITA         ADDRESS ON FILE
FIGUEROA REYES, ROBERTO      ADDRESS ON FILE
Figueroa Reyes, Rolando      ADDRESS ON FILE
FIGUEROA REYES, WILFREDO     ADDRESS ON FILE
FIGUEROA REYES, YOLANDA      ADDRESS ON FILE
FIGUEROA RIJO, NORMARY       ADDRESS ON FILE
FIGUEROA RIOS MD, ERIC N     ADDRESS ON FILE
FIGUEROA RIOS, ANA E         ADDRESS ON FILE
FIGUEROA RIOS, ANA ESTHER    ADDRESS ON FILE
FIGUEROA RIOS, ANA L         ADDRESS ON FILE
FIGUEROA RIOS, CARMELO       ADDRESS ON FILE
FIGUEROA RIOS, CARMEN M      ADDRESS ON FILE
FIGUEROA RIOS, DENISE        ADDRESS ON FILE
FIGUEROA RIOS, EMMA I        ADDRESS ON FILE
FIGUEROA RIOS, ERIC          ADDRESS ON FILE
FIGUEROA RIOS, ESTHER        ADDRESS ON FILE
FIGUEROA RIOS, ESTHER M      ADDRESS ON FILE
FIGUEROA RIOS, EVELYN M      ADDRESS ON FILE
FIGUEROA RIOS, EZRA          ADDRESS ON FILE
FIGUEROA RIOS, HECTOR        ADDRESS ON FILE
FIGUEROA RIOS, HUSMAIL       ADDRESS ON FILE
FIGUEROA RIOS, JUAN          ADDRESS ON FILE
FIGUEROA RIOS, LUZ M         ADDRESS ON FILE
FIGUEROA RIOS, MANUEL        ADDRESS ON FILE
Figueroa Rios, Miguel A.     ADDRESS ON FILE
FIGUEROA RIOS, MILDRED Y.    ADDRESS ON FILE
FIGUEROA RIOS, MORAIMA       ADDRESS ON FILE
FIGUEROA RIOS, RAFAEL        ADDRESS ON FILE
FIGUEROA RIOS, RAMONITA      ADDRESS ON FILE
FIGUEROA RIOS, RIGOBERTO     ADDRESS ON FILE
FIGUEROA RIOS, WALMER        ADDRESS ON FILE
FIGUEROA RIOS, WILMARYS      ADDRESS ON FILE
FIGUEROA RIOS, WILMARYS      ADDRESS ON FILE
FIGUEROA RIOS, YADIRA E.     ADDRESS ON FILE




                                                                         Page 2872 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2873 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RIOS,GRISEL E.         ADDRESS ON FILE
FIGUEROA RIVAS, CARLOS M.       ADDRESS ON FILE
FIGUEROA RIVAS, CARMEN          ADDRESS ON FILE
FIGUEROA RIVAS, CARMEN E        ADDRESS ON FILE
FIGUEROA RIVAS, CARMEN I        ADDRESS ON FILE
FIGUEROA RIVAS, IRIS N          ADDRESS ON FILE
FIGUEROA RIVAS, JOEL            ADDRESS ON FILE
FIGUEROA RIVAS, KEVIN J.        ADDRESS ON FILE
FIGUEROA RIVAS, MINERVA         ADDRESS ON FILE
Figueroa Rivas, Wilfredo        ADDRESS ON FILE
FIGUEROA RIVERA MD, ANTONIO L   ADDRESS ON FILE
FIGUEROA RIVERA MD, ARMSTRONG   ADDRESS ON FILE
FIGUEROA RIVERA MD, RAMON L     ADDRESS ON FILE
FIGUEROA RIVERA, ABIGAIL        ADDRESS ON FILE
FIGUEROA RIVERA, ABRAHAM        ADDRESS ON FILE
FIGUEROA RIVERA, ADA L          ADDRESS ON FILE
Figueroa Rivera, Adrian         ADDRESS ON FILE
FIGUEROA RIVERA, AIDA L         ADDRESS ON FILE
FIGUEROA RIVERA, AIDA L.        ADDRESS ON FILE
FIGUEROA RIVERA, AIDANES        ADDRESS ON FILE
FIGUEROA RIVERA, ALBERTO        ADDRESS ON FILE
FIGUEROA RIVERA, ALEX           ADDRESS ON FILE
FIGUEROA RIVERA, ALEXIS         ADDRESS ON FILE
FIGUEROA RIVERA, ALTAGRACIA     ADDRESS ON FILE
FIGUEROA RIVERA, ANA R.         ADDRESS ON FILE
FIGUEROA RIVERA, ANGEL          ADDRESS ON FILE
FIGUEROA RIVERA, ANGEL          ADDRESS ON FILE
FIGUEROA RIVERA, ANGEL A        ADDRESS ON FILE
FIGUEROA RIVERA, ANGEL M        ADDRESS ON FILE
FIGUEROA RIVERA, ANGELA         ADDRESS ON FILE
FIGUEROA RIVERA, ANGELICA       ADDRESS ON FILE
FIGUEROA RIVERA, ANGELINA       ADDRESS ON FILE
FIGUEROA RIVERA, ANNJOLLY M     ADDRESS ON FILE
FIGUEROA RIVERA, ANSELMA        ADDRESS ON FILE
FIGUEROA RIVERA, ANSTRONG       ADDRESS ON FILE
FIGUEROA RIVERA, ANTONIO        ADDRESS ON FILE
FIGUEROA RIVERA, ARACELIS       ADDRESS ON FILE
FIGUEROA RIVERA, ARLENE         ADDRESS ON FILE
FIGUEROA RIVERA, BENITA         ADDRESS ON FILE
Figueroa Rivera, Betty          ADDRESS ON FILE
FIGUEROA RIVERA, CARLOS         ADDRESS ON FILE
Figueroa Rivera, Carlos         ADDRESS ON FILE
FIGUEROA RIVERA, CARLOS         ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN         ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN         ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN D       ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN G.      ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN I       ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN J       ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN M       ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN M       ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN S       ADDRESS ON FILE
FIGUEROA RIVERA, CARMEN Y       ADDRESS ON FILE
FIGUEROA RIVERA, CATALINA       ADDRESS ON FILE
FIGUEROA RIVERA, CATHERINE      ADDRESS ON FILE
FIGUEROA RIVERA, CELSO          ADDRESS ON FILE
FIGUEROA RIVERA, CHRISTIAN      ADDRESS ON FILE
FIGUEROA RIVERA, DAVID          ADDRESS ON FILE
FIGUEROA RIVERA, DAVID          ADDRESS ON FILE
FIGUEROA RIVERA, DIANA I        ADDRESS ON FILE




                                                                            Page 2873 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2874 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RIVERA, DIOMARALIS           ADDRESS ON FILE
FIGUEROA RIVERA, DOMENECH             ADDRESS ON FILE
FIGUEROA RIVERA, EDGARDO              ADDRESS ON FILE
FIGUEROA RIVERA, EDUARDO              ADDRESS ON FILE
FIGUEROA RIVERA, EDWIN                ADDRESS ON FILE
FIGUEROA RIVERA, EDWIN                ADDRESS ON FILE
FIGUEROA RIVERA, ELBA M               ADDRESS ON FILE
FIGUEROA RIVERA, ELIO                 ADDRESS ON FILE
FIGUEROA RIVERA, ELIUD                ADDRESS ON FILE
FIGUEROA RIVERA, ELIZABETH            ADDRESS ON FILE
FIGUEROA RIVERA, ELSA I               ADDRESS ON FILE
FIGUEROA RIVERA, EMANUEL              ADDRESS ON FILE
FIGUEROA RIVERA, EMILLY               ADDRESS ON FILE
FIGUEROA RIVERA, ENELIA M             ADDRESS ON FILE
FIGUEROA RIVERA, EPIFANIO             ADDRESS ON FILE
FIGUEROA RIVERA, ERIC                 ADDRESS ON FILE
FIGUEROA RIVERA, ERNESTINA            ADDRESS ON FILE
FIGUEROA RIVERA, FELICITA             ADDRESS ON FILE
FIGUEROA RIVERA, FELIX                ADDRESS ON FILE
FIGUEROA RIVERA, FELIX                ADDRESS ON FILE
FIGUEROA RIVERA, FRANCISCO            ADDRESS ON FILE
FIGUEROA RIVERA, FRANCISCO J.         ADDRESS ON FILE
FIGUEROA RIVERA, FRANK                ADDRESS ON FILE
FIGUEROA RIVERA, GERARDO              ADDRESS ON FILE
Figueroa Rivera, Gladys               ADDRESS ON FILE
FIGUEROA RIVERA, GLADYS               ADDRESS ON FILE
FIGUEROA RIVERA, GLORIA               ADDRESS ON FILE
FIGUEROA RIVERA, GLORIA               ADDRESS ON FILE
FIGUEROA RIVERA, GLORIA M.            ADDRESS ON FILE
Figueroa Rivera, Gloria M.            ADDRESS ON FILE
FIGUEROA RIVERA, GRETCHEN             ADDRESS ON FILE
FIGUEROA RIVERA, GRISEL               ADDRESS ON FILE
FIGUEROA RIVERA, GWEN                 ADDRESS ON FILE
FIGUEROA RIVERA, HAYDEE               ADDRESS ON FILE
FIGUEROA RIVERA, HECTOR L             ADDRESS ON FILE
Figueroa Rivera, Hector L             ADDRESS ON FILE
FIGUEROA RIVERA, HECTOR R             ADDRESS ON FILE
FIGUEROA RIVERA, HERIBERTO            ADDRESS ON FILE
FIGUEROA RIVERA, HERMINIO             ADDRESS ON FILE
FIGUEROA RIVERA, ILIA                 ADDRESS ON FILE
FIGUEROA RIVERA, ILKA Y               ADDRESS ON FILE
FIGUEROA RIVERA, IRIS                 ADDRESS ON FILE
FIGUEROA RIVERA, ISABEL               ADDRESS ON FILE
FIGUEROA RIVERA, ISAURA               ADDRESS ON FILE
FIGUEROA RIVERA, ITSA M               ADDRESS ON FILE
FIGUEROA RIVERA, JACINTO              ADDRESS ON FILE
FIGUEROA RIVERA, JAIME                ADDRESS ON FILE
FIGUEROA RIVERA, JAN                  ADDRESS ON FILE
FIGUEROA RIVERA, JANICE               ADDRESS ON FILE
FIGUEROA RIVERA, JAVIER               ADDRESS ON FILE
FIGUEROA RIVERA, JAVIER               ADDRESS ON FILE
Figueroa Rivera, Javier G             ADDRESS ON FILE
FIGUEROA RIVERA, JEAN                 ADDRESS ON FILE
Figueroa Rivera, Jeisy Marie          ADDRESS ON FILE
FIGUEROA RIVERA, JEMARIE DEL CARMEN   ADDRESS ON FILE
FIGUEROA RIVERA, JENNIFER L           ADDRESS ON FILE
FIGUEROA RIVERA, JESSICA              ADDRESS ON FILE
FIGUEROA RIVERA, JESSICA              ADDRESS ON FILE
FIGUEROA RIVERA, JESSICA              ADDRESS ON FILE
FIGUEROA RIVERA, JESUS                ADDRESS ON FILE




                                                                                  Page 2874 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2875 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RIVERA, JESUS O.         ADDRESS ON FILE
FIGUEROA RIVERA, JORGE            ADDRESS ON FILE
FIGUEROA RIVERA, JORGE I.         ADDRESS ON FILE
FIGUEROA RIVERA, JOSE             ADDRESS ON FILE
FIGUEROA RIVERA, JOSE             ADDRESS ON FILE
FIGUEROA RIVERA, JOSE             ADDRESS ON FILE
FIGUEROA RIVERA, JOSE B.          ADDRESS ON FILE
FIGUEROA RIVERA, JOSE D           ADDRESS ON FILE
FIGUEROA RIVERA, JOSE L.          ADDRESS ON FILE
FIGUEROA RIVERA, JOSUE N          ADDRESS ON FILE
FIGUEROA RIVERA, JUAN             ADDRESS ON FILE
Figueroa Rivera, Juan             ADDRESS ON FILE
FIGUEROA RIVERA, JUAN             ADDRESS ON FILE
FIGUEROA RIVERA, JUAN             ADDRESS ON FILE
FIGUEROA RIVERA, JUAN             ADDRESS ON FILE
FIGUEROA RIVERA, JUAN             ADDRESS ON FILE
FIGUEROA RIVERA, JUAN B           ADDRESS ON FILE
FIGUEROA RIVERA, JULIO            ADDRESS ON FILE
FIGUEROA RIVERA, JULIO C.         ADDRESS ON FILE
FIGUEROA RIVERA, KELVIN           ADDRESS ON FILE
FIGUEROA RIVERA, LEILANI          ADDRESS ON FILE
FIGUEROA RIVERA, LESLIE           ADDRESS ON FILE
FIGUEROA RIVERA, LESLIE           ADDRESS ON FILE
FIGUEROA RIVERA, LIMARIS T        ADDRESS ON FILE
FIGUEROA RIVERA, LOURDES          ADDRESS ON FILE
FIGUEROA RIVERA, LUCIANO          ADDRESS ON FILE
FIGUEROA RIVERA, LUIS             ADDRESS ON FILE
FIGUEROA RIVERA, LUIS             ADDRESS ON FILE
FIGUEROA RIVERA, LUIS J           ADDRESS ON FILE
FIGUEROA RIVERA, LUIS J           ADDRESS ON FILE
Figueroa Rivera, Luis M           ADDRESS ON FILE
FIGUEROA RIVERA, LUZ J.           ADDRESS ON FILE
FIGUEROA RIVERA, LUZ N.           ADDRESS ON FILE
FIGUEROA RIVERA, LYDIA E          ADDRESS ON FILE
FIGUEROA RIVERA, LYMARI           ADDRESS ON FILE
FIGUEROA RIVERA, LYMARIE          ADDRESS ON FILE
FIGUEROA RIVERA, LYNTHA ARIANNE   ADDRESS ON FILE
FIGUEROA RIVERA, MADELINE         ADDRESS ON FILE
FIGUEROA RIVERA, MAGDALENA        ADDRESS ON FILE
FIGUEROA RIVERA, MANUEL           ADDRESS ON FILE
FIGUEROA RIVERA, MANUELA          ADDRESS ON FILE
FIGUEROA RIVERA, MARIA            ADDRESS ON FILE
FIGUEROA RIVERA, MARIA DEL C      ADDRESS ON FILE
FIGUEROA RIVERA, MARIA S          ADDRESS ON FILE
FIGUEROA RIVERA, MARIA V.         ADDRESS ON FILE
FIGUEROA RIVERA, MARIANGELY       ADDRESS ON FILE
FIGUEROA RIVERA, MARIE OLGA       ADDRESS ON FILE
FIGUEROA RIVERA, MARILYN          ADDRESS ON FILE
FIGUEROA RIVERA, MARILYN          ADDRESS ON FILE
FIGUEROA RIVERA, MARISOL          ADDRESS ON FILE
FIGUEROA RIVERA, MARITZA          ADDRESS ON FILE
FIGUEROA RIVERA, MARITZA          ADDRESS ON FILE
FIGUEROA RIVERA, MATILDE          ADDRESS ON FILE
Figueroa Rivera, Mayra I.         ADDRESS ON FILE
FIGUEROA RIVERA, MERITZA          ADDRESS ON FILE
FIGUEROA RIVERA, MIGDALIA         ADDRESS ON FILE
FIGUEROA RIVERA, MIGDALY          ADDRESS ON FILE
FIGUEROA RIVERA, MIGUEL           ADDRESS ON FILE
Figueroa Rivera, Miguel A         ADDRESS ON FILE
FIGUEROA RIVERA, MILAGROS         ADDRESS ON FILE




                                                                              Page 2875 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2876 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RIVERA, MIOSOTY       ADDRESS ON FILE
FIGUEROA RIVERA, MONSERRATE    ADDRESS ON FILE
FIGUEROA RIVERA, NADYA         ADDRESS ON FILE
FIGUEROA RIVERA, NANCY         ADDRESS ON FILE
FIGUEROA RIVERA, NARCISO       ADDRESS ON FILE
FIGUEROA RIVERA, NAYSEL I.     ADDRESS ON FILE
FIGUEROA RIVERA, NEIDA E       ADDRESS ON FILE
FIGUEROA RIVERA, NEREIDA       ADDRESS ON FILE
FIGUEROA RIVERA, NILDA T       ADDRESS ON FILE
FIGUEROA RIVERA, NINO          ADDRESS ON FILE
FIGUEROA RIVERA, NOEMI         ADDRESS ON FILE
FIGUEROA RIVERA, NORMA I       ADDRESS ON FILE
FIGUEROA RIVERA, NORMA I       ADDRESS ON FILE
FIGUEROA RIVERA, OLGA I        ADDRESS ON FILE
FIGUEROA RIVERA, OMAR          ADDRESS ON FILE
Figueroa Rivera, Orlando       ADDRESS ON FILE
FIGUEROA RIVERA, OSVALDO       ADDRESS ON FILE
FIGUEROA RIVERA, PATRICIA      ADDRESS ON FILE
FIGUEROA RIVERA, PEDRO         ADDRESS ON FILE
FIGUEROA RIVERA, PEDRO         ADDRESS ON FILE
Figueroa Rivera, Pedro J       ADDRESS ON FILE
FIGUEROA RIVERA, PEDRO J.      ADDRESS ON FILE
FIGUEROA RIVERA, RAFAEL        ADDRESS ON FILE
Figueroa Rivera, Rafael        ADDRESS ON FILE
FIGUEROA RIVERA, RAMONA        ADDRESS ON FILE
FIGUEROA RIVERA, RAUL          ADDRESS ON FILE
FIGUEROA RIVERA, REYNALDO      ADDRESS ON FILE
FIGUEROA RIVERA, RICARDO       ADDRESS ON FILE
Figueroa Rivera, Rolando       ADDRESS ON FILE
FIGUEROA RIVERA, ROSALYN       ADDRESS ON FILE
FIGUEROA RIVERA, RUBILDA       ADDRESS ON FILE
FIGUEROA RIVERA, RUTH          ADDRESS ON FILE
FIGUEROA RIVERA, RUTH          ADDRESS ON FILE
Figueroa Rivera, Ruth N        ADDRESS ON FILE
FIGUEROA RIVERA, SANDRA H      ADDRESS ON FILE
Figueroa Rivera, Shiara M.     ADDRESS ON FILE
FIGUEROA RIVERA, SOFIA DEL P   ADDRESS ON FILE
FIGUEROA RIVERA, SONIA         ADDRESS ON FILE
FIGUEROA RIVERA, SYL           ADDRESS ON FILE
FIGUEROA RIVERA, TOMAS         ADDRESS ON FILE
FIGUEROA RIVERA, URSULA E.     ADDRESS ON FILE
FIGUEROA RIVERA, VICTOR        ADDRESS ON FILE
FIGUEROA RIVERA, VICTOR        ADDRESS ON FILE
Figueroa Rivera, Victor A      ADDRESS ON FILE
FIGUEROA RIVERA, VIOLETA       ADDRESS ON FILE
FIGUEROA RIVERA, WANDA I.      ADDRESS ON FILE
Figueroa Rivera, Wilfredo      ADDRESS ON FILE
FIGUEROA RIVERA, WILMA         ADDRESS ON FILE
FIGUEROA RIVERA, XIOMARA       ADDRESS ON FILE
FIGUEROA RIVERA, YADHIRA I     ADDRESS ON FILE
FIGUEROA RIVERA, YARELIS       ADDRESS ON FILE
FIGUEROA RIVERA, YASHIRA       ADDRESS ON FILE
FIGUEROA RIVERA, YASMARIE      ADDRESS ON FILE
FIGUEROA RIVERA, YOLANDA       ADDRESS ON FILE
FIGUEROA RIVERA, ZORAIDA       ADDRESS ON FILE
FIGUEROA RIVERA, ZULEYKA       ADDRESS ON FILE
FIGUEROA RIVERA,NILKA          ADDRESS ON FILE
FIGUEROA ROBLEDO, BRAYAN O     ADDRESS ON FILE
FIGUEROA ROBLEDO, LYDIA        ADDRESS ON FILE
FIGUEROA ROBLEDO, ZULEIKA      ADDRESS ON FILE




                                                                           Page 2876 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2877 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA ROBLES, ALEXANDER      ADDRESS ON FILE
FIGUEROA ROBLES, BARBARA Z.     ADDRESS ON FILE
FIGUEROA ROBLES, BERKYA I       ADDRESS ON FILE
FIGUEROA ROBLES, BERKYA I.      ADDRESS ON FILE
FIGUEROA ROBLES, DIRCE L        ADDRESS ON FILE
FIGUEROA ROBLES, EDDY           ADDRESS ON FILE
FIGUEROA ROBLES, EDWIN          ADDRESS ON FILE
FIGUEROA ROBLES, ELIZABETH      ADDRESS ON FILE
FIGUEROA ROBLES, GADIEL         ADDRESS ON FILE
FIGUEROA ROBLES, IRIS           ADDRESS ON FILE
FIGUEROA ROBLES, IRIS A.        ADDRESS ON FILE
FIGUEROA ROBLES, JOEL           ADDRESS ON FILE
FIGUEROA ROBLES, JOSE           ADDRESS ON FILE
FIGUEROA ROBLES, JOSE R.        ADDRESS ON FILE
FIGUEROA ROBLES, JULIA I        ADDRESS ON FILE
FIGUEROA ROBLES, KATHERINE      ADDRESS ON FILE
FIGUEROA ROBLES, KATHERINE      ADDRESS ON FILE
FIGUEROA ROBLES, MARIO          ADDRESS ON FILE
FIGUEROA ROBLES, RICHARD        ADDRESS ON FILE
FIGUEROA ROBLES, YASMIN         ADDRESS ON FILE
FIGUEROA ROBLETO, VIOLETA       ADDRESS ON FILE
FIGUEROA RODRGUEZ, JESSICA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ALEXIS      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ALISBEL     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ALMA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, AMELIA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANA         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANA         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANA J       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANA L.      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANDRES      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANGEL L.    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANGEL R     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANNIE L     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ANTONIO E   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ARLENE      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ARNALDO     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, AUREA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, AWILDA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, BENITO      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, BETSY       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, BLANCA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, BRYAN       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARINA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARLOS      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARLOS M    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARLYN      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN G    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN M    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN M.   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CARMEN M.   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CELINA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, CRUZ        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DAISY       ADDRESS ON FILE
Figueroa Rodriguez, Damaris     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DAMARIS     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DANIEL      ADDRESS ON FILE




                                                                            Page 2877 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2878 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                   Address1                             Address2                                  Address3      Address4   City         State   PostalCode   Country
FIGUEROA RODRIGUEZ, DAVID       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DEIZY       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DERUBEN     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DIEGO       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DIOANNIE    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, DORIS       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, EDGARD      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, EDGARD      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, EDMUNDO     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, EDNA        ADDRESS ON FILE
Figueroa Rodriguez, Edwin       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, EDWIN       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ELISA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ELSA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ELSIE       ADDRESS ON FILE
Figueroa Rodriguez, Enrique     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ERICK       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, FABIAN      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, FELI        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, FELIPE      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, FREDDY      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, GEISHA      ADDRESS ON FILE
FIGUEROA RODRÍGUEZ, GEISHA      LCDO. SAÚL ROMÁN SANTIAGO            PO BOX 191739                                                      SAN JUAN     PR      00919‐1736
FIGUEROA RODRIGUEZ, GEISHA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, GIULIANO    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, GLORIMAR    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, GUARIONEX   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HARRY       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HECTOR      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HECTOR      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HELEN       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HENRY       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HIGINIO     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HILDA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HILDA M     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HIPOLITO    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, HUMBERTO    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, IRIS        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, IRIS M.     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ISMAEL      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ISMAEL      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, IVAN        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, IVONNE      ADDRESS ON FILE
Figueroa Rodriguez, Jalicxa     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JANIRA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JANMARY     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JANMARY     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JAVIER      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JAVIER E    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JENNIFER    ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JESUS       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JESUS       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JESUS E.    ADDRESS ON FILE
Figueroa Rodriguez, Joeen       ADDRESS ON FILE
FIGUEROA RODRÍGUEZ, JOEL        LCDA. KARLA BEATRIZ ÁLVAREZ NEGRÓN   LCDA. KARLA BEATRIZ ÁLVAREZ NEGRÓN        PO BOX 2307              GUAYAMA      PR      00785
FIGUEROA RODRIGUEZ, JOHNNY      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JONATHAN    ADDRESS ON FILE




                                                                                                Page 2878 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2879 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RODRIGUEZ, JONATHAN         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JONATHAN         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JORGE            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JORGE L          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSE             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSE             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSE             ADDRESS ON FILE
Figueroa Rodriguez, Jose A.          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSE H           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSE O           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSUE            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JOSUE            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JUAN             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JUAN             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JUAN R.          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JUDITH           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JULIA J.         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, JULIO            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, KALITCHI         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, KEISHLA          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, KEISLA           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LADISLAO         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LILLIAM          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LILLIAN          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LISSETTE         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS             ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS A.          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUIS A.          ADDRESS ON FILE
Figueroa Rodriguez, Luis D.          ADDRESS ON FILE
Figueroa Rodriguez, Luis O           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUZ              ADDRESS ON FILE
Figueroa Rodriguez, Luz E            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUZ E            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUZ I            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, LUZ N.           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARCOS ANTONIO   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARGARITA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA DEL C.     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA E          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA J          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA M          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA M          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIA V.         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIAM S.        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MARIBEL          ADDRESS ON FILE
Figueroa Rodriguez, Mario M          ADDRESS ON FILE
Figueroa Rodriguez, Martin           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MIGUEL           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MIGUEL           ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MIGUEL A.        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MILDRED          ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MIRTA            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MIRTA            ADDRESS ON FILE
FIGUEROA RODRIGUEZ, MYRIAM           ADDRESS ON FILE




                                                                                 Page 2879 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2880 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RODRIGUEZ, MYURKA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NANCY        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NATALIE      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NELIDA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NELSON       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NEYSHA       ADDRESS ON FILE
Figueroa Rodriguez, Noemi E      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NORELIX      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, NORMA I.     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, PABLO        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, PAOLA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, PEDRO        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, PETER        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, PORFIRIO     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAFAEL       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAMON        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAMON        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAQUEL       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAUL         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAUL         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAUL         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RAUL         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RENATO       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RENE         ADDRESS ON FILE
FIGUEROA RODRIGUEZ, REYES        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, REYES        ADDRESS ON FILE
Figueroa Rodriguez, Roberto      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ROBERTO      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ROBERTO      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ROSA I.      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ROSAURA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, RUBEN        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SAIME        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SANTIAGO     ADDRESS ON FILE
Figueroa Rodriguez, Sara L       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SHIRLEY      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SILVIA E     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SONIA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SONIA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SUHEIL       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SUSANA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SYLVIA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, SYLVIA J     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, TERESA       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, UBALDO       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VANESSA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VERONICA L   ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VICTOR       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VICTOR       ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VIRMARIE     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VIRMARIE     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, VIRMARIE     ADDRESS ON FILE
Figueroa Rodriguez, Vladimir     ADDRESS ON FILE
FIGUEROA RODRIGUEZ, WANDA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, YAMIRIS      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, YARITZA      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, YOMARIS      ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ZOEMA        ADDRESS ON FILE
FIGUEROA RODRIGUEZ, ZORAIDA      ADDRESS ON FILE
FIGUEROA RODRIQUEZ, MODESTO      ADDRESS ON FILE




                                                                             Page 2880 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2881 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA RODZ., HECTOR L      ADDRESS ON FILE
FIGUEROA ROHENA, IRMA N       ADDRESS ON FILE
FIGUEROA ROHENA, MYRIAM R     ADDRESS ON FILE
FIGUEROA ROJAS, JORGE         ADDRESS ON FILE
FIGUEROA ROJAS, JOSE          ADDRESS ON FILE
FIGUEROA ROJAS, PATSULIVIA    ADDRESS ON FILE
FIGUEROA ROJAS, VIRGINIA A.   ADDRESS ON FILE
FIGUEROA ROJAS, WANDA I       ADDRESS ON FILE
FIGUEROA ROJAS, YOLANDA       ADDRESS ON FILE
FIGUEROA ROLDAN, ABRAHAM      ADDRESS ON FILE
FIGUEROA ROLDAN, ANTONIO      ADDRESS ON FILE
FIGUEROA ROLDAN, CARMEN D     ADDRESS ON FILE
FIGUEROA ROLDAN, CARMEN L     ADDRESS ON FILE
FIGUEROA ROLDAN, ELIX X.      ADDRESS ON FILE
FIGUEROA ROLDAN, MARIBEL      ADDRESS ON FILE
FIGUEROA ROLDAN, MIGDALIA     ADDRESS ON FILE
FIGUEROA ROLDAN, ORLANDO      ADDRESS ON FILE
FIGUEROA ROLDAN, SANTA        ADDRESS ON FILE
FIGUEROA ROLDAN, VANESSA      ADDRESS ON FILE
FIGUEROA ROLON, ANGEL         ADDRESS ON FILE
FIGUEROA ROMAN, CARMEN G      ADDRESS ON FILE
FIGUEROA ROMAN, CARMEN M      ADDRESS ON FILE
FIGUEROA ROMAN, ERNESTO       ADDRESS ON FILE
FIGUEROA ROMAN, GUILLERMINA   ADDRESS ON FILE
FIGUEROA ROMAN, JERALYN       ADDRESS ON FILE
FIGUEROA ROMAN, JOEL          ADDRESS ON FILE
FIGUEROA ROMAN, LUIS          ADDRESS ON FILE
FIGUEROA ROMAN, MARIA I.      ADDRESS ON FILE
FIGUEROA ROMAN, RUTH          ADDRESS ON FILE
FIGUEROA ROMAN, VICENTE       ADDRESS ON FILE
FIGUEROA ROMAN, WALDEMAR      ADDRESS ON FILE
FIGUEROA ROMAN, WILFREDO M    ADDRESS ON FILE
FIGUEROA ROMAN, WILNELIA      ADDRESS ON FILE
FIGUEROA ROMAN, YOLANDA I     ADDRESS ON FILE
FIGUEROA ROMAN, ZULMA         ADDRESS ON FILE
FIGUEROA ROMANACCE, ENRIQUE   ADDRESS ON FILE
FIGUEROA ROMERO, BRUNILDA     ADDRESS ON FILE
FIGUEROA ROMERO, EDGARDO      ADDRESS ON FILE
Figueroa Roque, Edith Z       ADDRESS ON FILE
FIGUEROA ROSA, CARMEN         ADDRESS ON FILE
FIGUEROA ROSA, EDUARDO        ADDRESS ON FILE
FIGUEROA ROSA, FLOR           ADDRESS ON FILE
FIGUEROA ROSA, JOSE           ADDRESS ON FILE
FIGUEROA ROSA, JOSE           ADDRESS ON FILE
FIGUEROA ROSA, JOSE R.        ADDRESS ON FILE
Figueroa Rosa, Lucila         ADDRESS ON FILE
FIGUEROA ROSA, MARIA          ADDRESS ON FILE
FIGUEROA ROSA, MARIA DEL C.   ADDRESS ON FILE
FIGUEROA ROSA, RAFAEL         ADDRESS ON FILE
FIGUEROA ROSA, RAFAEL R       ADDRESS ON FILE
FIGUEROA ROSA, ROLANDO        ADDRESS ON FILE
FIGUEROA ROSA, ROSA           ADDRESS ON FILE
FIGUEROA ROSA, VICTOR         ADDRESS ON FILE
FIGUEROA ROSA, YAJAIRA        ADDRESS ON FILE
FIGUEROA ROSADO, CARMEN H     ADDRESS ON FILE
FIGUEROA ROSADO, EDUVIGIS     ADDRESS ON FILE
FIGUEROA ROSADO, ENID         ADDRESS ON FILE
FIGUEROA ROSADO, ERIK         ADDRESS ON FILE
FIGUEROA ROSADO, EUDOSIA      ADDRESS ON FILE
FIGUEROA ROSADO, FELIX        ADDRESS ON FILE




                                                                          Page 2881 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2882 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA ROSADO, GERARDO L    ADDRESS ON FILE
Figueroa Rosado, Germain      ADDRESS ON FILE
FIGUEROA ROSADO, GLADYS       ADDRESS ON FILE
FIGUEROA ROSADO, HAYTZAM      ADDRESS ON FILE
Figueroa Rosado, James O.     ADDRESS ON FILE
FIGUEROA ROSADO, JAVIER       ADDRESS ON FILE
FIGUEROA ROSADO, JESSICA      ADDRESS ON FILE
FIGUEROA ROSADO, JOEL J       ADDRESS ON FILE
FIGUEROA ROSADO, JORGE L      ADDRESS ON FILE
Figueroa Rosado, Jose M       ADDRESS ON FILE
FIGUEROA ROSADO, JOSEAN       ADDRESS ON FILE
FIGUEROA ROSADO, KEVIN A      ADDRESS ON FILE
FIGUEROA ROSADO, LYMARIS      ADDRESS ON FILE
FIGUEROA ROSADO, MARIA        ADDRESS ON FILE
FIGUEROA ROSADO, MARIA        ADDRESS ON FILE
FIGUEROA ROSADO, MARIBEL      ADDRESS ON FILE
FIGUEROA ROSADO, MARTA        ADDRESS ON FILE
FIGUEROA ROSADO, MATEA        ADDRESS ON FILE
FIGUEROA ROSADO, MYRNALY      ADDRESS ON FILE
FIGUEROA ROSADO, RAFAEL       ADDRESS ON FILE
FIGUEROA ROSADO, SALVADOR     ADDRESS ON FILE
FIGUEROA ROSADO, XAVIER       ADDRESS ON FILE
FIGUEROA ROSADO, YESENIA      ADDRESS ON FILE
FIGUEROA ROSARIO, ANA D       ADDRESS ON FILE
FIGUEROA ROSARIO, ANA L       ADDRESS ON FILE
FIGUEROA ROSARIO, ANGEL       ADDRESS ON FILE
FIGUEROA ROSARIO, AURORA      ADDRESS ON FILE
FIGUEROA ROSARIO, AURORA      ADDRESS ON FILE
FIGUEROA ROSARIO, AWILDA      ADDRESS ON FILE
Figueroa Rosario, Carlos E    ADDRESS ON FILE
FIGUEROA ROSARIO, CARMEN L.   ADDRESS ON FILE
FIGUEROA ROSARIO, CARMEN Z.   ADDRESS ON FILE
FIGUEROA ROSARIO, DAISY       ADDRESS ON FILE
Figueroa Rosario, Edwin       ADDRESS ON FILE
FIGUEROA ROSARIO, EDWIN       ADDRESS ON FILE
FIGUEROA ROSARIO, EVELYN D    ADDRESS ON FILE
Figueroa Rosario, Frances M   ADDRESS ON FILE
FIGUEROA ROSARIO, GLADYS      ADDRESS ON FILE
FIGUEROA ROSARIO, GLENDA L    ADDRESS ON FILE
FIGUEROA ROSARIO, HARRY       ADDRESS ON FILE
FIGUEROA ROSARIO, HECTOR      ADDRESS ON FILE
FIGUEROA ROSARIO, JASON C.    ADDRESS ON FILE
FIGUEROA ROSARIO, JORGE       ADDRESS ON FILE
FIGUEROA ROSARIO, JOSSELYN    ADDRESS ON FILE
FIGUEROA ROSARIO, JUAN S.     ADDRESS ON FILE
FIGUEROA ROSARIO, LEONOR      ADDRESS ON FILE
Figueroa Rosario, Luis A      ADDRESS ON FILE
FIGUEROA ROSARIO, LUIS O      ADDRESS ON FILE
FIGUEROA ROSARIO, MARIANITA   ADDRESS ON FILE
Figueroa Rosario, Miguel A    ADDRESS ON FILE
FIGUEROA ROSARIO, NANCY E.    ADDRESS ON FILE
FIGUEROA ROSARIO, NEIDA I     ADDRESS ON FILE
FIGUEROA ROSARIO, ROBERTO     ADDRESS ON FILE
FIGUEROA ROSARIO, SOCORRO     ADDRESS ON FILE
FIGUEROA ROSARIO, SONIA       ADDRESS ON FILE
FIGUEROA ROSARIO, VICTOR M    ADDRESS ON FILE
FIGUEROA ROSAS, MARTA I       ADDRESS ON FILE
Figueroa Rossy, Sofia J       ADDRESS ON FILE
FIGUEROA ROURE MD, MYRNA S    ADDRESS ON FILE
FIGUEROA ROURE, LOURDES       ADDRESS ON FILE




                                                                          Page 2882 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2883 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                     Address1                      Address2                                 Address3   Address4   City         State   PostalCode   Country
FIGUEROA ROVIRA MD, FRANCISCO J   ADDRESS ON FILE
FIGUEROA RUBERO, GLADYS MARIA     ADDRESS ON FILE
FIGUEROA RUIZ, AMPARO             ADDRESS ON FILE
Figueroa Ruiz, Carlos M           ADDRESS ON FILE
FIGUEROA RUIZ, CARMEN M           ADDRESS ON FILE
FIGUEROA RUIZ, DELIA              ADDRESS ON FILE
FIGUEROA RUIZ, EDWIN              ADDRESS ON FILE
FIGUEROA RUIZ, ERIKA              ADDRESS ON FILE
FIGUEROA RUIZ, GREGORIO           ADDRESS ON FILE
Figueroa Ruiz, Hector             ADDRESS ON FILE
FIGUEROA RUIZ, JENNIFER           ADDRESS ON FILE
FIGUEROA RUIZ, JOSE               ADDRESS ON FILE
FIGUEROA RUIZ, JUAN               ADDRESS ON FILE
FIGUEROA RUIZ, LUIS G             ADDRESS ON FILE
FIGUEROA RUIZ, LYDIA M            ADDRESS ON FILE
FIGUEROA RUIZ, MARIA DEL PILAR    ADDRESS ON FILE
FIGUEROA RUIZ, MARIELA            ADDRESS ON FILE
FIGUEROA RUIZ, NATALIO            LIC GRACE FIGUEROA IRIZARRY   PO BOX 193813                                                  SAN JUAN     PR      00919‐3813
FIGUEROA RUIZ, NATALIO            LIC NOEMÍ CORTES              1353 AVE LUIS VIGOREAUX                                        GUAYNABO     PR      00966
FIGUEROA RUIZ, PAULA              ADDRESS ON FILE
FIGUEROA RUIZ, ROSA I             ADDRESS ON FILE
FIGUEROA RUIZ, SANDRA I           ADDRESS ON FILE
FIGUEROA RUIZ, SYLVIA             ADDRESS ON FILE
FIGUEROA RUIZ, WANDA              ADDRESS ON FILE
FIGUEROA RUIZ, YOZAN              ADDRESS ON FILE
FIGUEROA RUPERTO, ELDALIES        ADDRESS ON FILE
FIGUEROA RUPERTO, GRISEL          ADDRESS ON FILE
FIGUEROA RUPERTO, MARITZA         ADDRESS ON FILE
FIGUEROA RUPERTO, MILAGROS        ADDRESS ON FILE
FIGUEROA RUPERTO, PAULAEE         ADDRESS ON FILE
FIGUEROA RUSSE, ANTONIO           ADDRESS ON FILE
FIGUEROA SAAVEDRA, LYDIANA        ADDRESS ON FILE
Figueroa Saez, Alba L             ADDRESS ON FILE
FIGUEROA SAEZ, MARIA G            ADDRESS ON FILE
FIGUEROA SAEZ, MOISES             ADDRESS ON FILE
FIGUEROA SAGASTIBELZA, LEONOR     ADDRESS ON FILE
FIGUEROA SAGASTIBERZA, LEONOR     ADDRESS ON FILE
FIGUEROA SALAMANCA, RAUL          ADDRESS ON FILE
FIGUEROA SALIVIA, LIANI           ADDRESS ON FILE
FIGUEROA SALOME, AIDA C           ADDRESS ON FILE
FIGUEROA SAMBOLIN, MARICELI       ADDRESS ON FILE
FIGUEROA SAMBOLÍN, MARICELI       ADDRESS ON FILE
FIGUEROA SAMBOLIN, MARICELI       ADDRESS ON FILE
FIGUEROA SANABRIA, CARMEN J       ADDRESS ON FILE
FIGUEROA SANABRIA, GLORIA         ADDRESS ON FILE
FIGUEROA SANABRIA, MILDRED        ADDRESS ON FILE
Figueroa Sancha, Jose E.          ADDRESS ON FILE
FIGUEROA SANCHEZ, ANDY            ADDRESS ON FILE
FIGUEROA SANCHEZ, ANGEL           ADDRESS ON FILE
FIGUEROA SANCHEZ, BLANCA I        ADDRESS ON FILE
FIGUEROA SANCHEZ, CARMEN          ADDRESS ON FILE
FIGUEROA SANCHEZ, CARMEN          ADDRESS ON FILE
FIGUEROA SANCHEZ, CARMEN D.       ADDRESS ON FILE
FIGUEROA SANCHEZ, CARMEN J.       ADDRESS ON FILE
FIGUEROA SANCHEZ, CARMEN M        ADDRESS ON FILE
FIGUEROA SANCHEZ, CARMENCITA      ADDRESS ON FILE
Figueroa Sanchez, Celia           ADDRESS ON FILE
Figueroa Sanchez, David E.        ADDRESS ON FILE
FIGUEROA SANCHEZ, ELAINE          ADDRESS ON FILE
FIGUEROA SANCHEZ, ELBA            ADDRESS ON FILE




                                                                                          Page 2883 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2884 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA SANCHEZ, GLORIA E.     ADDRESS ON FILE
FIGUEROA SANCHEZ, HECTOR W      ADDRESS ON FILE
FIGUEROA SANCHEZ, ILSA          ADDRESS ON FILE
FIGUEROA SANCHEZ, INGEMAR       ADDRESS ON FILE
FIGUEROA SANCHEZ, IVIS A.       ADDRESS ON FILE
FIGUEROA SANCHEZ, JAVIER        ADDRESS ON FILE
Figueroa Sanchez, Javier        ADDRESS ON FILE
FIGUEROA SANCHEZ, JESUS         ADDRESS ON FILE
FIGUEROA SANCHEZ, JOHANNA       ADDRESS ON FILE
Figueroa Sanchez, Jorge         ADDRESS ON FILE
FIGUEROA SANCHEZ, JOSE          ADDRESS ON FILE
FIGUEROA SANCHEZ, JOSE A.       ADDRESS ON FILE
FIGUEROA SANCHEZ, JUAN MANUEL   ADDRESS ON FILE
FIGUEROA SANCHEZ, LOURDES       ADDRESS ON FILE
FIGUEROA SANCHEZ, LOURDES       ADDRESS ON FILE
FIGUEROA SANCHEZ, LOURDES L     ADDRESS ON FILE
FIGUEROA SANCHEZ, LUIS          ADDRESS ON FILE
FIGUEROA SANCHEZ, LUIS A        ADDRESS ON FILE
FIGUEROA SANCHEZ, LUZ E         ADDRESS ON FILE
FIGUEROA SANCHEZ, MARIA E       ADDRESS ON FILE
FIGUEROA SANCHEZ, MARIA M       ADDRESS ON FILE
FIGUEROA SANCHEZ, MARIAM        ADDRESS ON FILE
FIGUEROA SANCHEZ, MARISOL       ADDRESS ON FILE
FIGUEROA SANCHEZ, MARTA L       ADDRESS ON FILE
FIGUEROA SANCHEZ, MICHELLE      ADDRESS ON FILE
Figueroa Sanchez, Miguel A      ADDRESS ON FILE
FIGUEROA SANCHEZ, MIGUEL A      ADDRESS ON FILE
FIGUEROA SANCHEZ, MILAGROS      ADDRESS ON FILE
Figueroa Sanchez, Nemesio       ADDRESS ON FILE
FIGUEROA SANCHEZ, RAMON         ADDRESS ON FILE
FIGUEROA SANCHEZ, RAMONITA      ADDRESS ON FILE
FIGUEROA SANCHEZ, RAUL          ADDRESS ON FILE
FIGUEROA SANCHEZ, ROBERTO       ADDRESS ON FILE
FIGUEROA SANCHEZ, ROSA          ADDRESS ON FILE
FIGUEROA SANCHEZ, ROSA          ADDRESS ON FILE
FIGUEROA SANCHEZ, ROSA          ADDRESS ON FILE
FIGUEROA SANCHEZ, SANTOS        ADDRESS ON FILE
FIGUEROA SANCHEZ, XAVIER        ADDRESS ON FILE
FIGUEROA SANCHEZ, YANITZA       ADDRESS ON FILE
FIGUEROA SANDOVAL, RAFAEL       ADDRESS ON FILE
FIGUEROA SANJURJO, MARIA L.     ADDRESS ON FILE
FIGUEROA SANTA, GRICELI         ADDRESS ON FILE
FIGUEROA SANTA, YOBAN           ADDRESS ON FILE
FIGUEROA SANTAELLA, JOSE A.     ADDRESS ON FILE
FIGUEROA SANTALIZ, NORMA        ADDRESS ON FILE
Figueroa Santana, Angel L       ADDRESS ON FILE
FIGUEROA SANTANA, ANGELA        ADDRESS ON FILE
FIGUEROA SANTANA, ANGELINA      ADDRESS ON FILE
FIGUEROA SANTANA, CARMEN        ADDRESS ON FILE
FIGUEROA SANTANA, EDWIN         ADDRESS ON FILE
FIGUEROA SANTANA, EDWIN F       ADDRESS ON FILE
FIGUEROA SANTANA, EVELYN G      ADDRESS ON FILE
Figueroa Santana, Ivonne        ADDRESS ON FILE
FIGUEROA SANTANA, JIMMY         ADDRESS ON FILE
FIGUEROA SANTANA, JOSE          ADDRESS ON FILE
FIGUEROA SANTANA, JULIO         ADDRESS ON FILE
FIGUEROA SANTANA, LYDIA         ADDRESS ON FILE
FIGUEROA SANTANA, NELSON        ADDRESS ON FILE
FIGUEROA SANTANA, NORMA         ADDRESS ON FILE
Figueroa Santana, Osvaldo       ADDRESS ON FILE




                                                                            Page 2884 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2885 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA SANTANA, PETRA         ADDRESS ON FILE
FIGUEROA SANTANA, RAYMOND       ADDRESS ON FILE
FIGUEROA SANTANA, REYSHA        ADDRESS ON FILE
FIGUEROA SANTANA, WILFREDO      ADDRESS ON FILE
FIGUEROA SANTIAGO, ADELAIDA     ADDRESS ON FILE
FIGUEROA SANTIAGO, ALEX O       ADDRESS ON FILE
FIGUEROA SANTIAGO, ANA          ADDRESS ON FILE
FIGUEROA SANTIAGO, ANDRES       ADDRESS ON FILE
FIGUEROA SANTIAGO, ANGEL        ADDRESS ON FILE
FIGUEROA SANTIAGO, ANGEL M      ADDRESS ON FILE
FIGUEROA SANTIAGO, ANTONIO      ADDRESS ON FILE
FIGUEROA SANTIAGO, ARISDELIS    ADDRESS ON FILE
FIGUEROA SANTIAGO, ASTRID M     ADDRESS ON FILE
FIGUEROA SANTIAGO, BRENDA LIZ   ADDRESS ON FILE
FIGUEROA SANTIAGO, CARLOS       ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN       ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN       ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN C     ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN G.    ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN I.    ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN L     ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN L     ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN L     ADDRESS ON FILE
FIGUEROA SANTIAGO, CARMEN L.    ADDRESS ON FILE
FIGUEROA SANTIAGO, DANIEL       ADDRESS ON FILE
FIGUEROA SANTIAGO, DANNA        ADDRESS ON FILE
FIGUEROA SANTIAGO, DAVID        ADDRESS ON FILE
FIGUEROA SANTIAGO, EDWIN        ADDRESS ON FILE
FIGUEROA SANTIAGO, EDWIN        ADDRESS ON FILE
FIGUEROA SANTIAGO, EFRAIN       ADDRESS ON FILE
FIGUEROA SANTIAGO, ELI S.       ADDRESS ON FILE
FIGUEROA SANTIAGO, ELIZABETH    ADDRESS ON FILE
FIGUEROA SANTIAGO, FELIPE       ADDRESS ON FILE
FIGUEROA SANTIAGO, FERNANDO     ADDRESS ON FILE
FIGUEROA SANTIAGO, FERNANDO     ADDRESS ON FILE
FIGUEROA SANTIAGO, GABRIEL      ADDRESS ON FILE
FIGUEROA SANTIAGO, GLENDAMARY   ADDRESS ON FILE
FIGUEROA SANTIAGO, HARRY        ADDRESS ON FILE
FIGUEROA SANTIAGO, HARRY        ADDRESS ON FILE
FIGUEROA SANTIAGO, HILDA M      ADDRESS ON FILE
FIGUEROA SANTIAGO, HIRIANA      ADDRESS ON FILE
FIGUEROA SANTIAGO, INGRID       ADDRESS ON FILE
FIGUEROA SANTIAGO, IRAIDA       ADDRESS ON FILE
FIGUEROA SANTIAGO, IRMA M       ADDRESS ON FILE
FIGUEROA SANTIAGO, JACOB        ADDRESS ON FILE
FIGUEROA SANTIAGO, JAHAIRA      ADDRESS ON FILE
Figueroa Santiago, Javier       ADDRESS ON FILE
FIGUEROA SANTIAGO, JESSYCA      ADDRESS ON FILE
FIGUEROA SANTIAGO, JOSE         ADDRESS ON FILE
FIGUEROA SANTIAGO, JOSE A       ADDRESS ON FILE
FIGUEROA SANTIAGO, JOSE M       ADDRESS ON FILE
FIGUEROA SANTIAGO, JOSE M.      ADDRESS ON FILE
FIGUEROA SANTIAGO, JOSE R.      ADDRESS ON FILE
FIGUEROA SANTIAGO, JOSE V       ADDRESS ON FILE
FIGUEROA SANTIAGO, JUANA        ADDRESS ON FILE
FIGUEROA SANTIAGO, JUANITA      ADDRESS ON FILE
FIGUEROA SANTIAGO, JULISSA      ADDRESS ON FILE
FIGUEROA SANTIAGO, JULISSA      ADDRESS ON FILE
FIGUEROA SANTIAGO, KATHERINE    ADDRESS ON FILE
FIGUEROA SANTIAGO, LILIA K      ADDRESS ON FILE




                                                                            Page 2885 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2886 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA SANTIAGO, LUIS              ADDRESS ON FILE
FIGUEROA SANTIAGO, LUIS              ADDRESS ON FILE
FIGUEROA SANTIAGO, LUIS D            ADDRESS ON FILE
Figueroa Santiago, Luis G            ADDRESS ON FILE
FIGUEROA SANTIAGO, MARELYN           ADDRESS ON FILE
FIGUEROA SANTIAGO, MARIA A.          ADDRESS ON FILE
FIGUEROA SANTIAGO, MARIA L           ADDRESS ON FILE
FIGUEROA SANTIAGO, MARISELIS         ADDRESS ON FILE
FIGUEROA SANTIAGO, MARISETTE         ADDRESS ON FILE
FIGUEROA SANTIAGO, MAXIMO            ADDRESS ON FILE
FIGUEROA SANTIAGO, MIGDALIA          ADDRESS ON FILE
FIGUEROA SANTIAGO, MILAGROS          ADDRESS ON FILE
FIGUEROA SANTIAGO, MIRIAM            ADDRESS ON FILE
FIGUEROA SANTIAGO, NELLY E           ADDRESS ON FILE
FIGUEROA SANTIAGO, NIDIA E           ADDRESS ON FILE
FIGUEROA SANTIAGO, PEDRO             ADDRESS ON FILE
FIGUEROA SANTIAGO, PROVIDENCIA       ADDRESS ON FILE
FIGUEROA SANTIAGO, RAMON A           ADDRESS ON FILE
FIGUEROA SANTIAGO, ROBERTO           ADDRESS ON FILE
FIGUEROA SANTIAGO, SAMUEL            ADDRESS ON FILE
FIGUEROA SANTIAGO, SAMUEL            ADDRESS ON FILE
FIGUEROA SANTIAGO, TERESA            ADDRESS ON FILE
FIGUEROA SANTIAGO, VERONICA          ADDRESS ON FILE
FIGUEROA SANTIAGO, VICENTE E.        ADDRESS ON FILE
FIGUEROA SANTIAGO, VICTOR            ADDRESS ON FILE
FIGUEROA SANTIAGO, WALESKA           ADDRESS ON FILE
FIGUEROA SANTIAGO, WALESKA           ADDRESS ON FILE
FIGUEROA SANTIAGO, WILLIAM           ADDRESS ON FILE
FIGUEROA SANTOS BUCH, JACQUELINE M   ADDRESS ON FILE
FIGUEROA SANTOS, ADA                 ADDRESS ON FILE
Figueroa Santos, Adela               ADDRESS ON FILE
FIGUEROA SANTOS, ANA                 ADDRESS ON FILE
FIGUEROA SANTOS, CARMEN              ADDRESS ON FILE
FIGUEROA SANTOS, EDUARDO             ADDRESS ON FILE
FIGUEROA SANTOS, ELIZABETH           ADDRESS ON FILE
FIGUEROA SANTOS, ELIZABETH           ADDRESS ON FILE
FIGUEROA SANTOS, FERNANDO            ADDRESS ON FILE
FIGUEROA SANTOS, FLORITA             ADDRESS ON FILE
FIGUEROA SANTOS, GERARDO             ADDRESS ON FILE
FIGUEROA SANTOS, GLORIA ESTHER       ADDRESS ON FILE
FIGUEROA SANTOS, GRISELLE            ADDRESS ON FILE
FIGUEROA SANTOS, ILIA M              ADDRESS ON FILE
FIGUEROA SANTOS, JARIAN              ADDRESS ON FILE
FIGUEROA SANTOS, JAVIER              ADDRESS ON FILE
FIGUEROA SANTOS, JOSE                ADDRESS ON FILE
FIGUEROA SANTOS, JOSE M              ADDRESS ON FILE
FIGUEROA SANTOS, LUIS A              ADDRESS ON FILE
FIGUEROA SANTOS, LUIS A              ADDRESS ON FILE
FIGUEROA SANTOS, LUIS A              ADDRESS ON FILE
FIGUEROA SANTOS, MARY S              ADDRESS ON FILE
FIGUEROA SANTOS, MYRIAM              ADDRESS ON FILE
FIGUEROA SANTOS, NANCY               ADDRESS ON FILE
FIGUEROA SANTOS, RACHELLY            ADDRESS ON FILE
FIGUEROA SANTOS, ROSAURA             ADDRESS ON FILE
FIGUEROA SANTOS, ZQRAIDA             ADDRESS ON FILE
FIGUEROA SEGARRA, SERGIO             ADDRESS ON FILE
FIGUEROA SEIN, CARMEN C              ADDRESS ON FILE
FIGUEROA SEIN, CARMEN C.             ADDRESS ON FILE
FIGUEROA SELLAS, ISOLINA             ADDRESS ON FILE
FIGUEROA SELPUVEDA, ANGEL            ADDRESS ON FILE




                                                                                 Page 2886 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2887 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA SEMPRIT, AWILMA        ADDRESS ON FILE
FIGUEROA SEPULVEDA MD, MAGALY   ADDRESS ON FILE
FIGUEROA SEPULVEDA, ANGEL       ADDRESS ON FILE
FIGUEROA SEPULVEDA, HERIBERTO   ADDRESS ON FILE
Figueroa Sepulveda, Ismael      ADDRESS ON FILE
FIGUEROA SEPULVEDA, RAMON L.    ADDRESS ON FILE
FIGUEROA SEPULVEDA, SARA        ADDRESS ON FILE
FIGUEROA SEPULVEDA, TOMAS       ADDRESS ON FILE
FIGUEROA SEPULVEDA, WADETTE     ADDRESS ON FILE
FIGUEROA SEPULVEDA, ZULEMA      ADDRESS ON FILE
FIGUEROA SEPULVEDA, ZULEMA      ADDRESS ON FILE
FIGUEROA SERABALLS, NITZA I     ADDRESS ON FILE
FIGUEROA SERBIA, GINAIRA        ADDRESS ON FILE
FIGUEROA SERRANO, ANA           ADDRESS ON FILE
FIGUEROA SERRANO, ANGEL         ADDRESS ON FILE
FIGUEROA SERRANO, ANGEL         ADDRESS ON FILE
FIGUEROA SERRANO, ANGEL         ADDRESS ON FILE
FIGUEROA SERRANO, BRYAN         ADDRESS ON FILE
FIGUEROA SERRANO, EDDIE         ADDRESS ON FILE
FIGUEROA SERRANO, EDWIN         ADDRESS ON FILE
FIGUEROA SERRANO, ENRIQUE       ADDRESS ON FILE
FIGUEROA SERRANO, FELIX         ADDRESS ON FILE
Figueroa Serrano, Isabelo       ADDRESS ON FILE
FIGUEROA SERRANO, JAYSON        ADDRESS ON FILE
FIGUEROA SERRANO, JOSE A        ADDRESS ON FILE
Figueroa Serrano, Julio C       ADDRESS ON FILE
FIGUEROA SERRANO, MARIA DEL C   ADDRESS ON FILE
FIGUEROA SERRANO, PABLO         ADDRESS ON FILE
FIGUEROA SERRANO, RAMON         ADDRESS ON FILE
FIGUEROA SERRANO, RAMON E.      ADDRESS ON FILE
FIGUEROA SERRANO, ROBERTO C     ADDRESS ON FILE
FIGUEROA SERRANO, VICTOR R.     ADDRESS ON FILE
FIGUEROA SERRANO, YAMILET       ADDRESS ON FILE
FIGUEROA SIERRA, CARLOS         ADDRESS ON FILE
Figueroa Sierra, Carmen S       ADDRESS ON FILE
FIGUEROA SIERRA, CLARIBEL       ADDRESS ON FILE
FIGUEROA SIERRA, ENRIQUE        ADDRESS ON FILE
FIGUEROA SIERRA, LUZ DELIA      ADDRESS ON FILE
FIGUEROA SIERRA, SILKIA M       ADDRESS ON FILE
FIGUEROA SIERRA, SOFIA          ADDRESS ON FILE
FIGUEROA SIERRA, VICENTE A      ADDRESS ON FILE
FIGUEROA SIERRA, YADIRA         ADDRESS ON FILE
FIGUEROA SIERRA, YANIRA         ADDRESS ON FILE
FIGUEROA SIERRA, YAZMIN         ADDRESS ON FILE
FIGUEROA SIFUENTES, ZENAIDA     ADDRESS ON FILE
FIGUEROA SILVA, CONSUELO        ADDRESS ON FILE
FIGUEROA SILVA, MARISARA        ADDRESS ON FILE
FIGUEROA SILVA, MILAGROS        ADDRESS ON FILE
FIGUEROA SILVA, ROBERTO         ADDRESS ON FILE
FIGUEROA SILVA, STEPHANIE       ADDRESS ON FILE
FIGUEROA SILVA, VERONICA        ADDRESS ON FILE
FIGUEROA SILVESTRE, DAVID       ADDRESS ON FILE
FIGUEROA SILVESTRE, DAVID       ADDRESS ON FILE
FIGUEROA SOJO, ANTHONY          ADDRESS ON FILE
FIGUEROA SOLIS, EDMI L          ADDRESS ON FILE
FIGUEROA SOLIS, LUZ D           ADDRESS ON FILE
FIGUEROA SOLIS, MARIA M.        ADDRESS ON FILE
Figueroa Solis, Rafael A        ADDRESS ON FILE
FIGUEROA SOLIS, VICTOR A.       ADDRESS ON FILE
FIGUEROA SOLTERO, HARRY         ADDRESS ON FILE




                                                                            Page 2887 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2888 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA SOSA, ADALBERTO      ADDRESS ON FILE
FIGUEROA SOSA, ANA C          ADDRESS ON FILE
FIGUEROA SOSA, JAVIER         ADDRESS ON FILE
FIGUEROA SOSA, MIRIAM         ADDRESS ON FILE
FIGUEROA SOSTRE, MILAGROS     ADDRESS ON FILE
Figueroa Soto, Abimael        ADDRESS ON FILE
FIGUEROA SOTO, ALLAN          ADDRESS ON FILE
FIGUEROA SOTO, ANAMARY        ADDRESS ON FILE
FIGUEROA SOTO, CARLOS I       ADDRESS ON FILE
Figueroa Soto, Carlos I.      ADDRESS ON FILE
FIGUEROA SOTO, CARMEN         ADDRESS ON FILE
Figueroa Soto, Concepcion     ADDRESS ON FILE
FIGUEROA SOTO, DAVID          ADDRESS ON FILE
FIGUEROA SOTO, ELIZABETH      ADDRESS ON FILE
Figueroa Soto, Hector         ADDRESS ON FILE
FIGUEROA SOTO, IVAN O         ADDRESS ON FILE
FIGUEROA SOTO, JAVIER         ADDRESS ON FILE
FIGUEROA SOTO, JAVIER         ADDRESS ON FILE
FIGUEROA SOTO, LUCILA         ADDRESS ON FILE
FIGUEROA SOTO, LUIS R.        ADDRESS ON FILE
FIGUEROA SOTO, LUIS R.        ADDRESS ON FILE
FIGUEROA SOTO, MARISOL        ADDRESS ON FILE
FIGUEROA SOTO, MERCEDES       ADDRESS ON FILE
FIGUEROA SOTO, MILAGROS J.    ADDRESS ON FILE
FIGUEROA SOTO, YVETTE M       ADDRESS ON FILE
FIGUEROA SOTOMAYOR, BRENDA    ADDRESS ON FILE
FIGUEROA SOTOMAYOR, BRENDA    ADDRESS ON FILE
FIGUEROA SOTOMAYOR, MELVIN    ADDRESS ON FILE
FIGUEROA SOTOMAYOR, SONIA I   ADDRESS ON FILE
FIGUEROA STEINBERG, JAVIER    ADDRESS ON FILE
FIGUEROA SUAREZ, JUAN A       ADDRESS ON FILE
FIGUEROA SUAREZ, RAFAEL       ADDRESS ON FILE
FIGUEROA SUAREZ, SHEILA       ADDRESS ON FILE
FIGUEROA SURIS, IRIS N        ADDRESS ON FILE
Figueroa Talavera, Melvin     ADDRESS ON FILE
FIGUEROA TANON, VANESA        ADDRESS ON FILE
FIGUEROA TELLADO, JAVIER      ADDRESS ON FILE
FIGUEROA TELLADO, JOSE        ADDRESS ON FILE
FIGUEROA TELLES, LUIS         ADDRESS ON FILE
FIGUEROA THOMAS, CARMENN.     ADDRESS ON FILE
FIGUEROA TIRADO, AWILDA       ADDRESS ON FILE
FIGUEROA TIRADO, LIZA         ADDRESS ON FILE
FIGUEROA TIRADO, RAFAEL       ADDRESS ON FILE
FIGUEROA TIRADO, WANDA I      ADDRESS ON FILE
FIGUEROA TOLEDO, JESUS        ADDRESS ON FILE
FIGUEROA TORO, DIANA L        ADDRESS ON FILE
FIGUEROA TORRALES, LUIS F     ADDRESS ON FILE
FIGUEROA TORRES MD, YOLANDA   ADDRESS ON FILE
FIGUEROA TORRES, ABILA        ADDRESS ON FILE
FIGUEROA TORRES, ADA N        ADDRESS ON FILE
FIGUEROA TORRES, ADALBERTO    ADDRESS ON FILE
FIGUEROA TORRES, ADALISS      ADDRESS ON FILE
FIGUEROA TORRES, ALEXIS       ADDRESS ON FILE
FIGUEROA TORRES, ALEXIS       ADDRESS ON FILE
FIGUEROA TORRES, AMPARO       ADDRESS ON FILE
FIGUEROA TORRES, ANA          ADDRESS ON FILE
FIGUEROA TORRES, ANA M        ADDRESS ON FILE
FIGUEROA TORRES, ANGEL        ADDRESS ON FILE
FIGUEROA TORRES, ANGEL        ADDRESS ON FILE
FIGUEROA TORRES, ANGEL A      ADDRESS ON FILE




                                                                          Page 2888 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2889 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA TORRES, ANGELITA      ADDRESS ON FILE
FIGUEROA TORRES, ARLENE        ADDRESS ON FILE
FIGUEROA TORRES, BENJAMIN      ADDRESS ON FILE
FIGUEROA TORRES, BRYANT        ADDRESS ON FILE
FIGUEROA TORRES, CARLOS A      ADDRESS ON FILE
FIGUEROA TORRES, CARLOS A      ADDRESS ON FILE
Figueroa Torres, Carlos I      ADDRESS ON FILE
FIGUEROA TORRES, CARLOS J      ADDRESS ON FILE
FIGUEROA TORRES, CARMELO       ADDRESS ON FILE
FIGUEROA TORRES, CARMEN D      ADDRESS ON FILE
FIGUEROA TORRES, CARMEN E      ADDRESS ON FILE
FIGUEROA TORRES, CARMEN G      ADDRESS ON FILE
FIGUEROA TORRES, CARMEN L      ADDRESS ON FILE
FIGUEROA TORRES, CARMEN S      ADDRESS ON FILE
FIGUEROA TORRES, CELESTE       ADDRESS ON FILE
Figueroa Torres, David         ADDRESS ON FILE
FIGUEROA TORRES, DAVID         ADDRESS ON FILE
FIGUEROA TORRES, DENNIS        ADDRESS ON FILE
Figueroa Torres, Diego         ADDRESS ON FILE
FIGUEROA TORRES, DIGNA         ADDRESS ON FILE
FIGUEROA TORRES, EDGAR         ADDRESS ON FILE
FIGUEROA TORRES, EDGAR A.      ADDRESS ON FILE
FIGUEROA TORRES, ELVIN         ADDRESS ON FILE
FIGUEROA TORRES, ENRIQUE       ADDRESS ON FILE
Figueroa Torres, Esperanza     ADDRESS ON FILE
FIGUEROA TORRES, EVELYN        ADDRESS ON FILE
FIGUEROA TORRES, FARAH         ADDRESS ON FILE
Figueroa Torres, Felix         ADDRESS ON FILE
Figueroa Torres, Felix L       ADDRESS ON FILE
FIGUEROA TORRES, FRANCHESCA    ADDRESS ON FILE
FIGUEROA TORRES, GERARDO       ADDRESS ON FILE
FIGUEROA TORRES, GISELLE       ADDRESS ON FILE
FIGUEROA TORRES, HAYDEE S      ADDRESS ON FILE
FIGUEROA TORRES, HECTOR I.     ADDRESS ON FILE
Figueroa Torres, Hector M      ADDRESS ON FILE
Figueroa Torres, Hector R      ADDRESS ON FILE
FIGUEROA TORRES, HENRY         ADDRESS ON FILE
FIGUEROA TORRES, HUMBERTO      ADDRESS ON FILE
FIGUEROA TORRES, IRAIDA        ADDRESS ON FILE
FIGUEROA TORRES, IRENE         ADDRESS ON FILE
FIGUEROA TORRES, IRMARIE       ADDRESS ON FILE
FIGUEROA TORRES, JENNIESHA     ADDRESS ON FILE
FIGUEROA TORRES, JENNIFER D    ADDRESS ON FILE
FIGUEROA TORRES, JENNIFFER M   ADDRESS ON FILE
FIGUEROA TORRES, JESICA        ADDRESS ON FILE
Figueroa Torres, Jesus         ADDRESS ON FILE
FIGUEROA TORRES, JESUS M       ADDRESS ON FILE
Figueroa Torres, Jorge L       ADDRESS ON FILE
FIGUEROA TORRES, JOSE          ADDRESS ON FILE
FIGUEROA TORRES, JOSE          ADDRESS ON FILE
FIGUEROA TORRES, JOSE          ADDRESS ON FILE
FIGUEROA TORRES, JOSE M        ADDRESS ON FILE
FIGUEROA TORRES, JOSSIE        ADDRESS ON FILE
FIGUEROA TORRES, JOSSIE I      ADDRESS ON FILE
FIGUEROA TORRES, JUAN          ADDRESS ON FILE
FIGUEROA TORRES, JUAN          ADDRESS ON FILE
FIGUEROA TORRES, JUAN R        ADDRESS ON FILE
FIGUEROA TORRES, JUDITH        ADDRESS ON FILE
FIGUEROA TORRES, JULIO T.      ADDRESS ON FILE
FIGUEROA TORRES, KELMY         ADDRESS ON FILE




                                                                           Page 2889 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2890 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA TORRES, KENIA L     ADDRESS ON FILE
FIGUEROA TORRES, LETICIA     ADDRESS ON FILE
FIGUEROA TORRES, LETICIA     ADDRESS ON FILE
FIGUEROA TORRES, LINETTE     ADDRESS ON FILE
FIGUEROA TORRES, LISAMUEL    ADDRESS ON FILE
FIGUEROA TORRES, LUCAS R     ADDRESS ON FILE
FIGUEROA TORRES, LUIS        ADDRESS ON FILE
FIGUEROA TORRES, LUIS        ADDRESS ON FILE
FIGUEROA TORRES, LUIS A      ADDRESS ON FILE
FIGUEROA TORRES, LUIS A      ADDRESS ON FILE
FIGUEROA TORRES, LUZ A       ADDRESS ON FILE
FIGUEROA TORRES, LUZ V       ADDRESS ON FILE
FIGUEROA TORRES, LYNETTE     ADDRESS ON FILE
FIGUEROA TORRES, MANUEL      ADDRESS ON FILE
FIGUEROA TORRES, MARIA       ADDRESS ON FILE
FIGUEROA TORRES, MARIA       ADDRESS ON FILE
FIGUEROA TORRES, MARIA C     ADDRESS ON FILE
FIGUEROA TORRES, MARIANA     ADDRESS ON FILE
FIGUEROA TORRES, MARIBEL     ADDRESS ON FILE
FIGUEROA TORRES, MARIBEL     ADDRESS ON FILE
FIGUEROA TORRES, MARIBEL     ADDRESS ON FILE
FIGUEROA TORRES, MARIELI     ADDRESS ON FILE
FIGUEROA TORRES, MARISOL     ADDRESS ON FILE
FIGUEROA TORRES, MARITZA     ADDRESS ON FILE
FIGUEROA TORRES, MARTA       ADDRESS ON FILE
FIGUEROA TORRES, MARY        ADDRESS ON FILE
FIGUEROA TORRES, MARYBELL    ADDRESS ON FILE
FIGUEROA TORRES, MAYDA I     ADDRESS ON FILE
FIGUEROA TORRES, MICHAEL     ADDRESS ON FILE
FIGUEROA TORRES, MIGUEL      ADDRESS ON FILE
FIGUEROA TORRES, MILAGROS    ADDRESS ON FILE
FIGUEROA TORRES, MILAGROS    ADDRESS ON FILE
FIGUEROA TORRES, MILAGROS    ADDRESS ON FILE
FIGUEROA TORRES, MILTON      ADDRESS ON FILE
FIGUEROA TORRES, NAIDA M     ADDRESS ON FILE
FIGUEROA TORRES, NANCY       ADDRESS ON FILE
FIGUEROA TORRES, NANCY       ADDRESS ON FILE
FIGUEROA TORRES, NATIVIDAD   ADDRESS ON FILE
FIGUEROA TORRES, NILDA       ADDRESS ON FILE
FIGUEROA TORRES, NILDA I     ADDRESS ON FILE
FIGUEROA TORRES, NILSA       ADDRESS ON FILE
FIGUEROA TORRES, NOEL        ADDRESS ON FILE
FIGUEROA TORRES, NORLUANY    ADDRESS ON FILE
FIGUEROA TORRES, NORMA       ADDRESS ON FILE
FIGUEROA TORRES, ONIL        ADDRESS ON FILE
FIGUEROA TORRES, PEDRO       ADDRESS ON FILE
FIGUEROA TORRES, RAFAEL      ADDRESS ON FILE
FIGUEROA TORRES, RAFAEL      ADDRESS ON FILE
FIGUEROA TORRES, RAFAEL      ADDRESS ON FILE
Figueroa Torres, Rafael E    ADDRESS ON FILE
FIGUEROA TORRES, RAMON       ADDRESS ON FILE
FIGUEROA TORRES, RAUL        ADDRESS ON FILE
FIGUEROA TORRES, REYNALDO    ADDRESS ON FILE
FIGUEROA TORRES, ROBERTO     ADDRESS ON FILE
FIGUEROA TORRES, ROBERTO     ADDRESS ON FILE
Figueroa Torres, Rosa        ADDRESS ON FILE
FIGUEROA TORRES, ROSA E      ADDRESS ON FILE
FIGUEROA TORRES, ROSSANA     ADDRESS ON FILE
Figueroa Torres, Ruben O     ADDRESS ON FILE
FIGUEROA TORRES, RUTH H      ADDRESS ON FILE




                                                                         Page 2890 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2891 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                       Address1                  Address2                                 Address3   Address4   City        State   PostalCode   Country
FIGUEROA TORRES, SOLIMAR            ADDRESS ON FILE
FIGUEROA TORRES, SUJEIDY            ADDRESS ON FILE
FIGUEROA TORRES, VIVIEN             ADDRESS ON FILE
FIGUEROA TORRES, WANDA I            ADDRESS ON FILE
Figueroa Torres, William            ADDRESS ON FILE
FIGUEROA TORRES, WILLIAM            ADDRESS ON FILE
FIGUEROA TORRES, WILSON             ADDRESS ON FILE
FIGUEROA TORRES, XIOMARA JEANETTE   ADDRESS ON FILE
FIGUEROA TORRES, YAMULKA            ADDRESS ON FILE
FIGUEROA TORRES, YAZMIN             ADDRESS ON FILE
FIGUEROA TORRES, ZAIDA              ADDRESS ON FILE
Figueroa Torres, Zulma              ADDRESS ON FILE
FIGUEROA TOYENTS, WILFREDO          ADDRESS ON FILE
FIGUEROA TRAVEL                     PLAZA PENUELA             165 CARR 385 SUITE B 60                                        PENUELA     PR      00624‐7502
FIGUEROA TRAVERSO, EDDIE            ADDRESS ON FILE
FIGUEROA TRAVERSO, HERIBERTO        ADDRESS ON FILE
FIGUEROA TRAVERSO, JOSE             ADDRESS ON FILE
FIGUEROA TRAVERSO, MAGARITA         ADDRESS ON FILE
FIGUEROA TRAVERSO, MAGDALENA        ADDRESS ON FILE
FIGUEROA TRINIDAD, ARTURO           ADDRESS ON FILE
FIGUEROA TRINIDAD, BLANCA           ADDRESS ON FILE
FIGUEROA TRINIDAD, CARLOS           ADDRESS ON FILE
FIGUEROA TRINIDAD, GILBERTO         ADDRESS ON FILE
FIGUEROA TRINIDAD, LIZ              ADDRESS ON FILE
FIGUEROA TRINIDAD, ORLANDO          ADDRESS ON FILE
FIGUEROA TRINIDAD, ROBERTO          ADDRESS ON FILE
FIGUEROA TRINIDAD, WILLIAM          ADDRESS ON FILE
FIGUEROA TRINIDAD, YARA             ADDRESS ON FILE
Figueroa Trinidad, Yoel F           ADDRESS ON FILE
FIGUEROA TROCHE, ARIEL G            ADDRESS ON FILE
FIGUEROA TROCHE, ARNALDO            ADDRESS ON FILE
FIGUEROA TRUJILLO, NILDA E          ADDRESS ON FILE
FIGUEROA UJAQUE, ROBERTO            ADDRESS ON FILE
FIGUEROA ULLOA, JUAN                ADDRESS ON FILE
FIGUEROA VAILLANT, TOMASITA         ADDRESS ON FILE
FIGUEROA VALENTIN, ADELAIDA         ADDRESS ON FILE
FIGUEROA VALENTIN, ADELAIDA         ADDRESS ON FILE
FIGUEROA VALENTIN, AIDYN            ADDRESS ON FILE
FIGUEROA VALENTIN, ALEJANDRO        ADDRESS ON FILE
FIGUEROA VALENTIN, CARMEN           ADDRESS ON FILE
FIGUEROA VALENTIN, EDWIN            ADDRESS ON FILE
FIGUEROA VALENTIN, ISRAEL           ADDRESS ON FILE
FIGUEROA VALENTIN, JORGE            ADDRESS ON FILE
FIGUEROA VALENTIN, LUIS             ADDRESS ON FILE
FIGUEROA VALENTIN, NILMA G          ADDRESS ON FILE
FIGUEROA VALENTIN, YHOMARA          ADDRESS ON FILE
FIGUEROA VALLE, JUAN F              ADDRESS ON FILE
FIGUEROA VALLE, TAMARA              ADDRESS ON FILE
FIGUEROA VALLEJO, GERARDO           ADDRESS ON FILE
FIGUEROA VALLES, ANA I.             ADDRESS ON FILE
FIGUEROA VALLES, NAYDA              ADDRESS ON FILE
FIGUEROA VALLES, ORLANDO            ADDRESS ON FILE
FIGUEROA VARGAS MD, SANDRA          ADDRESS ON FILE
FIGUEROA VARGAS, ANGEL              ADDRESS ON FILE
FIGUEROA VARGAS, ANNETTE            ADDRESS ON FILE
FIGUEROA VARGAS, ANNETTE            ADDRESS ON FILE
FIGUEROA VARGAS, CARLOS             ADDRESS ON FILE
FIGUEROA VARGAS, EDGARDO            ADDRESS ON FILE
FIGUEROA VARGAS, ELIZABETH          ADDRESS ON FILE
FIGUEROA VARGAS, ENRIQUE            ADDRESS ON FILE




                                                                                        Page 2891 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2892 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA VARGAS, GLORIA M      ADDRESS ON FILE
FIGUEROA VARGAS, ISRAEL        ADDRESS ON FILE
FIGUEROA VARGAS, IVELISSE      ADDRESS ON FILE
FIGUEROA VARGAS, MARGARITA     ADDRESS ON FILE
FIGUEROA VARGAS, MILAGROS      ADDRESS ON FILE
FIGUEROA VARGAS, OLGA I        ADDRESS ON FILE
FIGUEROA VARGAS, VALERIE       ADDRESS ON FILE
FIGUEROA VARGAS, YVETTE F      ADDRESS ON FILE
FIGUEROA VASALLO, MICJAIL A.   ADDRESS ON FILE
FIGUEROA VASSALLO, OMAR        ADDRESS ON FILE
FIGUEROA VAZQUEZ, AIXA         ADDRESS ON FILE
FIGUEROA VAZQUEZ, AIXA         ADDRESS ON FILE
FIGUEROA VAZQUEZ, ANGEL        ADDRESS ON FILE
FIGUEROA VAZQUEZ, ANGELA M     ADDRESS ON FILE
FIGUEROA VAZQUEZ, AXEL         ADDRESS ON FILE
FIGUEROA VAZQUEZ, AYLEEN       ADDRESS ON FILE
FIGUEROA VAZQUEZ, BRUNILDA B   ADDRESS ON FILE
FIGUEROA VAZQUEZ, CAMELIA      ADDRESS ON FILE
FIGUEROA VAZQUEZ, CAMELIA      ADDRESS ON FILE
FIGUEROA VAZQUEZ, CARLOS       ADDRESS ON FILE
FIGUEROA VAZQUEZ, CYNTHIA N    ADDRESS ON FILE
FIGUEROA VAZQUEZ, DANIEL       ADDRESS ON FILE
FIGUEROA VAZQUEZ, DIANA V      ADDRESS ON FILE
FIGUEROA VAZQUEZ, EDGAR        ADDRESS ON FILE
FIGUEROA VAZQUEZ, EDGAR S      ADDRESS ON FILE
FIGUEROA VAZQUEZ, EDGAR S      ADDRESS ON FILE
FIGUEROA VAZQUEZ, EDMARIE      ADDRESS ON FILE
FIGUEROA VAZQUEZ, FELIX        ADDRESS ON FILE
FIGUEROA VAZQUEZ, FERMIN       ADDRESS ON FILE
FIGUEROA VAZQUEZ, GERMAN       ADDRESS ON FILE
FIGUEROA VAZQUEZ, GLORIA       ADDRESS ON FILE
FIGUEROA VAZQUEZ, GUILLERMO    ADDRESS ON FILE
FIGUEROA VAZQUEZ, HECTOR       ADDRESS ON FILE
FIGUEROA VAZQUEZ, HELEN L      ADDRESS ON FILE
FIGUEROA VAZQUEZ, JENNIFER     ADDRESS ON FILE
FIGUEROA VAZQUEZ, JENNIFER     ADDRESS ON FILE
FIGUEROA VAZQUEZ, JENNIFER     ADDRESS ON FILE
FIGUEROA VAZQUEZ, JESUS        ADDRESS ON FILE
FIGUEROA VAZQUEZ, JESUS        ADDRESS ON FILE
FIGUEROA VAZQUEZ, JONATHAN     ADDRESS ON FILE
FIGUEROA VAZQUEZ, JOSE         ADDRESS ON FILE
FIGUEROA VAZQUEZ, JOSE R       ADDRESS ON FILE
FIGUEROA VAZQUEZ, JOSE V.      ADDRESS ON FILE
FIGUEROA VAZQUEZ, JOSEFINA     ADDRESS ON FILE
FIGUEROA VAZQUEZ, JOSUE        ADDRESS ON FILE
FIGUEROA VAZQUEZ, JUDITH       ADDRESS ON FILE
FIGUEROA VAZQUEZ, KAREN        ADDRESS ON FILE
FIGUEROA VAZQUEZ, LOURDES      ADDRESS ON FILE
FIGUEROA VAZQUEZ, LUIS O.      ADDRESS ON FILE
FIGUEROA VAZQUEZ, LUIS O.      ADDRESS ON FILE
FIGUEROA VAZQUEZ, LUMARIE      ADDRESS ON FILE
FIGUEROA VAZQUEZ, LUMARIE      ADDRESS ON FILE
FIGUEROA VAZQUEZ, LYDIA        ADDRESS ON FILE
FIGUEROA VAZQUEZ, MAGALY       ADDRESS ON FILE
FIGUEROA VAZQUEZ, MARIA        ADDRESS ON FILE
FIGUEROA VAZQUEZ, MARIA S      ADDRESS ON FILE
FIGUEROA VAZQUEZ, MARIAM       ADDRESS ON FILE
FIGUEROA VAZQUEZ, MIGDALIA     ADDRESS ON FILE
FIGUEROA VAZQUEZ, MIGUEL       ADDRESS ON FILE
FIGUEROA VAZQUEZ, MINERVA      ADDRESS ON FILE




                                                                           Page 2892 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2893 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA VAZQUEZ, NANCY I       ADDRESS ON FILE
FIGUEROA VAZQUEZ, OMAR          ADDRESS ON FILE
FIGUEROA VAZQUEZ, OMAR ALEXIS   ADDRESS ON FILE
FIGUEROA VAZQUEZ, ORLANDO       ADDRESS ON FILE
FIGUEROA VAZQUEZ, PAULA         ADDRESS ON FILE
Figueroa Vazquez, Roberto       ADDRESS ON FILE
FIGUEROA VAZQUEZ, SHERLIE       ADDRESS ON FILE
FIGUEROA VAZQUEZ, TANYA         ADDRESS ON FILE
FIGUEROA VAZQUEZ, WILFREDO I    ADDRESS ON FILE
FIGUEROA VAZQUEZ,RAMON          ADDRESS ON FILE
FIGUEROA VEGA, AIMEE            ADDRESS ON FILE
FIGUEROA VEGA, AMBAR            ADDRESS ON FILE
FIGUEROA VEGA, ANA L            ADDRESS ON FILE
FIGUEROA VEGA, ANGEL L          ADDRESS ON FILE
FIGUEROA VEGA, BELYIN           ADDRESS ON FILE
FIGUEROA VEGA, CARLOS           ADDRESS ON FILE
FIGUEROA VEGA, CARLOS           ADDRESS ON FILE
FIGUEROA VEGA, GERMAN           ADDRESS ON FILE
FIGUEROA VEGA, GILBERTO         ADDRESS ON FILE
Figueroa Vega, Homar            ADDRESS ON FILE
FIGUEROA VEGA, INGRID V         ADDRESS ON FILE
FIGUEROA VEGA, JANETTE          ADDRESS ON FILE
FIGUEROA VEGA, JAVIER A.        ADDRESS ON FILE
FIGUEROA VEGA, JOHANNA L        ADDRESS ON FILE
FIGUEROA VEGA, JOSE E.          ADDRESS ON FILE
FIGUEROA VEGA, JUAN A           ADDRESS ON FILE
FIGUEROA VEGA, JULIO            ADDRESS ON FILE
FIGUEROA VEGA, LUIS             ADDRESS ON FILE
Figueroa Vega, Luis A           ADDRESS ON FILE
FIGUEROA VEGA, LUZ M            ADDRESS ON FILE
FIGUEROA VEGA, MARGARITA        ADDRESS ON FILE
FIGUEROA VEGA, MARIA            ADDRESS ON FILE
FIGUEROA VEGA, MARIA DEL C      ADDRESS ON FILE
FIGUEROA VEGA, NELSON           ADDRESS ON FILE
FIGUEROA VEGA, NYDIA            ADDRESS ON FILE
FIGUEROA VEGA, PAUL             ADDRESS ON FILE
FIGUEROA VEGA, PEDRO            ADDRESS ON FILE
FIGUEROA VEGA, RAQUEL           ADDRESS ON FILE
FIGUEROA VEGA, ROSA             ADDRESS ON FILE
FIGUEROA VEGA, ROSA E.          ADDRESS ON FILE
FIGUEROA VEGA, RUBEN            ADDRESS ON FILE
FIGUEROA VEGA, SONIA N          ADDRESS ON FILE
FIGUEROA VEGA, VIRGEN           ADDRESS ON FILE
Figueroa Velazqu, Eduardo M     ADDRESS ON FILE
FIGUEROA VELAZQUEZ, ANTHONY     ADDRESS ON FILE
FIGUEROA VELAZQUEZ, ANTHONY     ADDRESS ON FILE
FIGUEROA VELAZQUEZ, CARLOS      ADDRESS ON FILE
Figueroa Velazquez, Carlos E    ADDRESS ON FILE
FIGUEROA VELAZQUEZ, DORIS       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, EDWIN       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, EDWIN       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, ELSA M      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, EMERITA     ADDRESS ON FILE
FIGUEROA VELAZQUEZ, GLORY       ADDRESS ON FILE
Figueroa Velazquez, Glory I.    ADDRESS ON FILE
Figueroa Velazquez, Hector R.   ADDRESS ON FILE
FIGUEROA VELAZQUEZ, HIRAM       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, IDALIA      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, IDALIA      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, JAVIER      ADDRESS ON FILE




                                                                            Page 2893 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2894 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Figueroa Velazquez, Javier E.    ADDRESS ON FILE
FIGUEROA VELAZQUEZ, MARIA        ADDRESS ON FILE
FIGUEROA VELAZQUEZ, MARIA T      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, MARTA        ADDRESS ON FILE
FIGUEROA VELAZQUEZ, MIGUEL       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, NORA E       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, OLGA I       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, OMAR         ADDRESS ON FILE
FIGUEROA VELAZQUEZ, OMAR         ADDRESS ON FILE
FIGUEROA VELAZQUEZ, ORLANDO      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, SERGIO L.    ADDRESS ON FILE
FIGUEROA VELAZQUEZ, VICTOR       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, YAMILKA      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, YANIRA       ADDRESS ON FILE
FIGUEROA VELAZQUEZ, YOLANDA      ADDRESS ON FILE
FIGUEROA VELAZQUEZ, YOLANDA      ADDRESS ON FILE
FIGUEROA VELEZ, ABIMAEL          ADDRESS ON FILE
FIGUEROA VELEZ, ALEJANDRO        ADDRESS ON FILE
FIGUEROA VELEZ, ARACELIS         ADDRESS ON FILE
FIGUEROA VELEZ, AXEL             ADDRESS ON FILE
FIGUEROA VELEZ, CRISTHIAN M.     ADDRESS ON FILE
FIGUEROA VELEZ, CYNTHIA          ADDRESS ON FILE
FIGUEROA VELEZ, DANNY A          ADDRESS ON FILE
Figueroa Velez, Edgar            ADDRESS ON FILE
FIGUEROA VELEZ, HEGBERT A        ADDRESS ON FILE
FIGUEROA VELEZ, IDSA Y           ADDRESS ON FILE
FIGUEROA VELEZ, ISRAEL           ADDRESS ON FILE
FIGUEROA VELEZ, JANETTE          ADDRESS ON FILE
FIGUEROA VELEZ, JANETTE          ADDRESS ON FILE
FIGUEROA VELEZ, JANNETTE MARIE   ADDRESS ON FILE
FIGUEROA VELEZ, JENNIFER         ADDRESS ON FILE
FIGUEROA VELEZ, JORGE M.         ADDRESS ON FILE
FIGUEROA VELEZ, JUAN             ADDRESS ON FILE
FIGUEROA VELEZ, LIRIANYS         ADDRESS ON FILE
FIGUEROA VELEZ, LORIMAR          ADDRESS ON FILE
Figueroa Velez, Luis A           ADDRESS ON FILE
FIGUEROA VELEZ, MARCOS L         ADDRESS ON FILE
FIGUEROA VELEZ, NANCY E.         ADDRESS ON FILE
Figueroa Velez, Osvaldo          ADDRESS ON FILE
FIGUEROA VELEZ, WANDA I          ADDRESS ON FILE
FIGUEROA VELEZ, WILSON           ADDRESS ON FILE
FIGUEROA VELEZ, ZAMILCA          ADDRESS ON FILE
Figueroa Velez, Zenaida          ADDRESS ON FILE
FIGUEROA VENGAS, HEYDEE Y.       ADDRESS ON FILE
FIGUEROA VERA, NELSON            ADDRESS ON FILE
FIGUEROA VERA, VICTOR            ADDRESS ON FILE
FIGUEROA VERA, VICTOR A          ADDRESS ON FILE
FIGUEROA VERDEJO, MARIA E        ADDRESS ON FILE
FIGUEROA VICENTE, JUAN           ADDRESS ON FILE
FIGUEROA VICENTY, ARLENE         ADDRESS ON FILE
FIGUEROA VICENTY, RICARDO        ADDRESS ON FILE
FIGUEROA VIDOT, MARIA L          ADDRESS ON FILE
FIGUEROA VIDOT, WILLIAM          ADDRESS ON FILE
FIGUEROA VIERA, JESUS            ADDRESS ON FILE
FIGUEROA VIERA, MARIA            ADDRESS ON FILE
FIGUEROA VIERA, WILLIAM          ADDRESS ON FILE
FIGUEROA VIGO, CARMEN            ADDRESS ON FILE
FIGUEROA VILA, NICOLE            ADDRESS ON FILE
FIGUEROA VILA, TATIANA           ADDRESS ON FILE
FIGUEROA VILLA, YAZDEL           ADDRESS ON FILE




                                                                             Page 2894 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2895 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FIGUEROA VILLAFANE, ALICIA      ADDRESS ON FILE
FIGUEROA VILLAFANE, JUAN F.     ADDRESS ON FILE
FIGUEROA VILLAFANE, RAFAEL      ADDRESS ON FILE
FIGUEROA VILLAFANE, YESINIA     ADDRESS ON FILE
FIGUEROA VILLAFAQE, WILFREDO    ADDRESS ON FILE
FIGUEROA VILLALBA, BETSASAR     ADDRESS ON FILE
FIGUEROA VILLALBA, BRENDA       ADDRESS ON FILE
FIGUEROA VILLALBA, TAIMI        ADDRESS ON FILE
Figueroa Villalobos, Hector J   ADDRESS ON FILE
FIGUEROA VILLALOBOS, JASHIRA    ADDRESS ON FILE
FIGUEROA VILLALOBOS, JOSE       ADDRESS ON FILE
FIGUEROA VILLALOBOS, JOSE       ADDRESS ON FILE
FIGUEROA VILLALOBOS, MIGUEL     ADDRESS ON FILE
FIGUEROA VILLALONGO, GABRIEL    ADDRESS ON FILE
FIGUEROA VILLALONGO, TERESITA   ADDRESS ON FILE
FIGUEROA VILLANUEVA, IRIS Z     ADDRESS ON FILE
FIGUEROA VILLANUEVA, LUIS A     ADDRESS ON FILE
FIGUEROA VILLANUEVA, MIGUEL     ADDRESS ON FILE
FIGUEROA VILLEGA, JORGE L       ADDRESS ON FILE
FIGUEROA VILLEGAS, CONSUELO     ADDRESS ON FILE
FIGUEROA VILLEGAS, VICTORIA     ADDRESS ON FILE
FIGUEROA VIZCARRONDO, EDWIN J   ADDRESS ON FILE
FIGUEROA VIZCARRONDO, GILBERT   ADDRESS ON FILE
FIGUEROA WESSENDORF, MONICA     ADDRESS ON FILE
FIGUEROA WHALEN, KELLY A        ADDRESS ON FILE
FIGUEROA WONG, HERY M           ADDRESS ON FILE
FIGUEROA YACE, DIANA            ADDRESS ON FILE
FIGUEROA YI, ANGELA             ADDRESS ON FILE
FIGUEROA YI, ANGELA             ADDRESS ON FILE
FIGUEROA YI, VERONICA           ADDRESS ON FILE
FIGUEROA ZABALA, IRIS J.        ADDRESS ON FILE
FIGUEROA ZAMBRANA, JOSE L.      ADDRESS ON FILE
Figueroa Zaragoza, Willmaries   ADDRESS ON FILE
FIGUEROA ZAVALA, VANESSA        ADDRESS ON FILE
FIGUEROA ZAYAS, BRIAN           ADDRESS ON FILE
FIGUEROA ZAYAS, BRIAN G.        ADDRESS ON FILE
FIGUEROA ZAYAS, EFRAIN          ADDRESS ON FILE
FIGUEROA ZAYAS, ILEANA          ADDRESS ON FILE
FIGUEROA ZAYAS, JOSE            ADDRESS ON FILE
FIGUEROA ZAYAS, JOSE V          ADDRESS ON FILE
FIGUEROA ZAYAS, MARVIN G        ADDRESS ON FILE
FIGUEROA ZENO, SAMMY            ADDRESS ON FILE
FIGUEROA, ALCIDES               ADDRESS ON FILE
FIGUEROA, ALFREDO               ADDRESS ON FILE
FIGUEROA, ANGELA R              ADDRESS ON FILE
FIGUEROA, ANTONIO               ADDRESS ON FILE
FIGUEROA, ARACELIS              ADDRESS ON FILE
FIGUEROA, AYALA                 ADDRESS ON FILE
FIGUEROA, BETHZAIDA             ADDRESS ON FILE
FIGUEROA, CARLOS                ADDRESS ON FILE
FIGUEROA, CARMELO               ADDRESS ON FILE
Figueroa, Carmen M.             ADDRESS ON FILE
FIGUEROA, CESAR                 ADDRESS ON FILE
FIGUEROA, DANIEL                ADDRESS ON FILE
Figueroa, Daryes Rodriguez      ADDRESS ON FILE
FIGUEROA, DOMINGO               ADDRESS ON FILE
FIGUEROA, EDWIN                 ADDRESS ON FILE
FIGUEROA, FLORENTINO            ADDRESS ON FILE
FIGUEROA, FRANK                 ADDRESS ON FILE
FIGUEROA, JEANNETTE DEL C       ADDRESS ON FILE




                                                                            Page 2895 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2896 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                     Address2                      Address3   Address4   City         State   PostalCode   Country
FIGUEROA, JESUS                  ADDRESS ON FILE
FIGUEROA, JOSE                   ADDRESS ON FILE
FIGUEROA, JOSE                   ADDRESS ON FILE
FIGUEROA, JOSE                   ADDRESS ON FILE
FIGUEROA, JOSE L.                ADDRESS ON FILE
FIGUEROA, JUAN CARLOS            ADDRESS ON FILE
FIGUEROA, KATHERINE              ADDRESS ON FILE
FIGUEROA, KAYLO A.               ADDRESS ON FILE
FIGUEROA, LUIS                   ADDRESS ON FILE
FIGUEROA, LUIS                   ADDRESS ON FILE
FIGUEROA, LUZ S                  ADDRESS ON FILE
FIGUEROA, MANUEL                 ADDRESS ON FILE
FIGUEROA, MANUEL                 ADDRESS ON FILE
FIGUEROA, MARIA                  ADDRESS ON FILE
FIGUEROA, MARIA L                ADDRESS ON FILE
FIGUEROA, MARIA SOCORRO          ADDRESS ON FILE
FIGUEROA, MARIBEL                ADDRESS ON FILE
FIGUEROA, MARICHELLE             ADDRESS ON FILE
FIGUEROA, MARJORIE               ADDRESS ON FILE
FIGUEROA, MIGUEL                 ADDRESS ON FILE
FIGUEROA, MIGUEL                 ADDRESS ON FILE
FIGUEROA, MIGUEL D.              ADDRESS ON FILE
FIGUEROA, MINERVA                ADDRESS ON FILE
FIGUEROA, NATALIE                ADDRESS ON FILE
FIGUEROA, RAFAEL A.              ADDRESS ON FILE
FIGUEROA, RAQUEL                 ADDRESS ON FILE
FIGUEROA, ROBERTO                ADDRESS ON FILE
FIGUEROA, SAUL                   ADDRESS ON FILE
FIGUEROA, VANESSA                ADDRESS ON FILE
FIGUEROA, VICTOR                 ADDRESS ON FILE
FIGUEROA,CARLOS                  ADDRESS ON FILE
FIGUEROA,JOSE                    ADDRESS ON FILE
FIGUEROA,JOSE A.                 ADDRESS ON FILE
FIGUEROA,LUCAS                   ADDRESS ON FILE
FIGUEROA,MARIA L.                ADDRESS ON FILE
FIGUEROA,RICHARD                 ADDRESS ON FILE
FIGUEROA,RICHARD                 ADDRESS ON FILE
Figueroa‐Calderón, Miguel        ADDRESS ON FILE
FIGUEROACOLON, FILIBERTO         ADDRESS ON FILE
FIGUEROACORDERO, DAVID           ADDRESS ON FILE
FIGUEROALUGO, MARIA F            ADDRESS ON FILE
FIGUEROAMULLER, JOSE L.          ADDRESS ON FILE
FIGUEROAPEREIRA, ESPERANZA       ADDRESS ON FILE
FIGUEROAPEREZ, ALEXIS            ADDRESS ON FILE
FIGUEROARIVERA, HIPOLITO         ADDRESS ON FILE
FIGUEROARODRIGUEZ, NATALIE       ADDRESS ON FILE
FIGUEROARODRIGUEZ, NORMA         ADDRESS ON FILE
FIGUEROASANCHEZ, MARY A.         ADDRESS ON FILE
FIGUEROASANCHEZ, MAURITANIA      ADDRESS ON FILE
FIGUEROAVILLEGAS, EVELYN         ADDRESS ON FILE
FIGUEROLA FERNANDEZ, MIGUEL      ADDRESS ON FILE
FIGUEROLA GOYANES, YIRIANIS M.   ADDRESS ON FILE
FIGUEROLA HERNANDEZ, CIELO       ADDRESS ON FILE
FIGUERQA CORA, AIDA              ADDRESS ON FILE
FIGUIEROA MELENDEZ, NILDA G      ADDRESS ON FILE
FIGUROA ACEVEDO, HERMINIO        ADDRESS ON FILE
FIGUROA FIGUEROA, SHIRLEY ANN    ADDRESS ON FILE
FIGUROA RODRIGUEZ, DIEG          ADDRESS ON FILE
FIGUROA RODRIGUEZ, ROBERTO       ADDRESS ON FILE
FILEONE LLC                      5520 DILLARD DRIVE STE 280                                                       CARY         NC      27518‐9237




                                                                             Page 2896 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2897 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                         Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
FILIBERTO CARTAGENA COLON             ADDRESS ON FILE
FILIBERTO COLON MARTINEZ              ADDRESS ON FILE
FILIBERTO DESA PENA                   ADDRESS ON FILE
FILIBERTO GONZALEZ PEREZ              ADDRESS ON FILE
FILIBERTO GUZMAN ALVARADO             ADDRESS ON FILE
FILIBERTO HERNANDEZ TORRES            ADDRESS ON FILE
FILIBERTO LAGARES DIAZ                ADDRESS ON FILE
FILIBERTO MUNIZ SOULETTE              ADDRESS ON FILE
FILIBERTO RIVERA CENTENO              ADDRESS ON FILE
FILIBERTO RIVERA REYES                ADDRESS ON FILE
FILIBERTO TORRES GONZALEZ             GENOVEVA VALENTÍN SOTO    PO BOX 13695                                                  SAN JUAN     PR      00908‐3695
FILIBERTO ZAYAS MATEO                 ADDRESS ON FILE
FILIBERTY CASTILLO, BRAULIO           ADDRESS ON FILE
FILIGRANA CSP                         P O BOX 41307                                                                           SAN JUAN     PR      00940
FILIGRANA,C S P                       COND EVEREST APT 104      51 EVEREST ST                                                 SAN JUAN     PR      00926
FILION CASTRO, MARICELY               ADDRESS ON FILE
FILION MUNIZ, CARMEN                  ADDRESS ON FILE
FILION RODRIGUEZ, JOANNA              ADDRESS ON FILE
FILION RODRIGUEZ, LUIS JOSUE          ADDRESS ON FILE
FILION TRUJILLO, ELIZABETH            ADDRESS ON FILE
FILIPETTI ORTIZ, YASHIRA              ADDRESS ON FILE
FILIPPELLI MARTINEZ, LUIS             ADDRESS ON FILE
FILIPPELLI MARTINEZ, MARIA D          ADDRESS ON FILE
FILIPPETTI FIGUEROA, MADELINE         ADDRESS ON FILE
FILIPPETTI FIGUEROA, MARIBEL          ADDRESS ON FILE
FILIPPETTI FIGUEROA, NELVIN           ADDRESS ON FILE
FILIPPETTI NATAL, JANITZA             ADDRESS ON FILE
FILIPPETTI ORANGO, IRIS               ADDRESS ON FILE
FILIPPETTI PEREZ, ADA L               ADDRESS ON FILE
FILIPPETTI PEREZ, AIDA E              ADDRESS ON FILE
FILIPPETTI PEREZ, IRIS N              ADDRESS ON FILE
FILIPPETTI ROMAN, AUDREY              ADDRESS ON FILE
FILIPPETTI ROMAN, LOURDES I           ADDRESS ON FILE
FILIPPETTI ZAYAS, FELIX               ADDRESS ON FILE
FILIPPETTI ZAYAS, JUAN                ADDRESS ON FILE
FILIPPI MD, MATTHEW                   ADDRESS ON FILE
FILISHA INC                           326 BO BAJURAS                                                                          ISABELA      PR      00662‐2182
FILLION CORMIER, MARIE                ADDRESS ON FILE
FILM PRODUCTION SERVICES INC          304 NEWBURY STREET 463                                                                  BOSTON       MA      02115
FILM PRODUCTION SERVICES INC          PMB 524 89 DE DIEGO AVE   SUITE 105                                                     SAN JUAN     PR      00927
FILMOTECA NACIONAL INC                355 FD ROOSEVELT AVE      SUITE 106                                                     SAN JUAN     PR      00918
FILMS MEDIA PRO HD INC                P35 CALLE 18              URB EL CORTIJO                                                BAYAMON      PR      00956
FILOMENA DE JESUS MENDEZ              ADDRESS ON FILE
FILOMENA DE LA CRUZ POLANCO           ADDRESS ON FILE
FILOMENA LASALLE BOSQUES              ADDRESS ON FILE
FILOMENA MONTALVO / ANDRES MONTALVO   URB FLORAL PARK           62 CALLE JUAN P DUARTE                                        SAN JUAN     PR      00917‐3504
FILOMENA RIVERA MARTINEZ              ADDRESS ON FILE
FILOMENA SUED JIMENEZ                 ADDRESS ON FILE
FILOMENO ALICEA, BRYAN                ADDRESS ON FILE
FILOMENO CARRION, MYRNA               ADDRESS ON FILE
FILOMENO CARRION, VIRGENMINA          ADDRESS ON FILE
FILOMENO CASTILLO, IVAN               ADDRESS ON FILE
FILOMENO CASTRO, NAYDA                ADDRESS ON FILE
FILOMENO HERNANDEZ, OMAR              ADDRESS ON FILE
FILOMENO MARRERO, CARMEN              ADDRESS ON FILE
FILOMENO MONGE, CARMEN G              ADDRESS ON FILE
FILOMENO MONTALVO PEREZ               ADDRESS ON FILE
FILOMENO PACHECO, MILDRED             ADDRESS ON FILE
FILOMENO PAGAN, EDWIN                 ADDRESS ON FILE
FILOMENO PARRILLA, CLARA              ADDRESS ON FILE




                                                                                         Page 2897 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2898 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                            Address1                             Address2                                  Address3        Address4   City              State   PostalCode   Country
FILOMENO PEREZ, OLGA                     ADDRESS ON FILE
FILOMENO RAMOS, BRUNILDA                 ADDRESS ON FILE
FILOMENO RIVERA PEREZ                    ADDRESS ON FILE
FILOMENO RIVERA, EILEEN                  ADDRESS ON FILE
FILOMENO RIVERA, MATILDE                 ADDRESS ON FILE
FILOMENO RIVERA, RAQUEL                  ADDRESS ON FILE
FILOMENO RODRIGUEZ, YARILIN              ADDRESS ON FILE
FILOMENO SALGADO, JOSE                   ADDRESS ON FILE
FILOMENO SALGADO, JOSE                   ADDRESS ON FILE
FILOMENO SESSMAN, SHARLENE               ADDRESS ON FILE
FILPO FERNANDEZ, JUAN                    ADDRESS ON FILE
FILPO FILPO, RUBEN                       ADDRESS ON FILE
FILPO MUNOZ,SORANGEL                     ADDRESS ON FILE
FILPO ROBLES, VICTOR                     ADDRESS ON FILE
FILPO ROMAN, VICTOR                      ADDRESS ON FILE
FILPO URENA, NERYS                       ADDRESS ON FILE
FILS LAMOUR MD, FEROL                    ADDRESS ON FILE
FILTERTEK DE PUERTO RICO                 ADDRESS ON FILE
FILTRATION PARTICLES TECNIQUES INC       URB CAPARRA HTS                      711 AVE ESCORIAL                                                     SAN JUAN          PR      00920‐4732
FINA MEDEROS, CARMEN                     ADDRESS ON FILE
FINALE CARDENAS, ALFREDO                 ADDRESS ON FILE
FINALES DIEGUEZ, EDELIO                  ADDRESS ON FILE
FINALVA PEREZ RESTO                      ADDRESS ON FILE
FINALVA PEREZ RESTO                      ADDRESS ON FILE
FINAN MD , WILLIAM F                     ADDRESS ON FILE
FINANCE OF AMERICA REVERSE               JOEL A. FIGUEROA RIVERA              GLS LEGAL SERVICES LLC                    PO BOX 367308              SAN JUAN          PR      00936
FINANCIAL & ACCOUNTING BUSINESS SOLUTIONSURB OASIS GDNS                       M18 CALLE 18                                                         GUAYNABO          PR      00969‐3412
FINANCIAL & TAX CONSULTING SERVICES, INC PO BOX 363402                                                                                             SAN JUAN          PR      00936‐3402
FINANCIAL ACCOUNTING FOUNDATION          PO BOX 30800                                                                                              HARTFORD          CT      06150‐0800
FINANCIAL ACCOUNTING STANDARD BOARD      401 MERRITT 7                        PO BOX 5116                                                          NORWALK           CT      06856‐5116
FINANCIAL AND MANAGEMENT CONSULTINGSERSAN JUAN                                COLINAS DE MONTE CARLO CALLE A B22                                   SAN JUAN          PR      00924
FINANCIAL GAP ADMINISTRATOR LLC          1670 FENPARK DRIVE                                                                                        FENTON            MO      63026
FINANCIAL GUARANTY INSURANCE COMPANY 125 PARK AVENUE                                                                                               NEW YORK          NY      10017
Financial Guaranty Insurance Company     463 Seventh Avenue                                                                                        New York          NY      10018
Financial Guaranty Insurance Company     Attn: David Griff, Vice President    125 Park Avenue                           5th Floor                  New York          NY      10017
Financial Guaranty Insurance Company     Attn: Howard Pfeffer, President      125 Park Avenue                           5th Floor                  New York          NY      10017
Financial Guaranty Insurance Company     Attn: Steven Natko, Vice President   125 Park Avenue                           5th Floor                  New York          NY      10017
Financial Guaranty Insurance Company     Carolanne Gardner, General Counsel   463 Seventh Avenue                        16th Floor                 New York          NY      10018
FINANCIAL INDUSTRY REGULATORY AUTHORITY FINANCE TAX                           9509 KEY WEST AVE                                                    ROCKVILLE         MD      20850
FINANCIAL SECURITY ASSURANCE INC         31 WEST 52ND STREET                                                                                       NEW YORK          NY      10019
FINANCIAL TIMES                          PO BOX 1627                                                                                               NEWBURGH          NY      12551‐9976
Finanxial, Corp.                         PO BOX 23063                                                                                              SAN JUAN          PR      00931‐3063
FINCA AGRICOLA LUIS I MELENDEZ           HC 02 BOX 6876                                                                                            BARRANQUITAS      PR      00794
FINCA ALMA ADENTRO INC                   PO BOX 3169 HATO ARRIBA STATION                                                                           SAN SEBASTIAN     PR      00685
FINCA BERNAL INC                         PO BOX 3092                                                                                               SAN SEBASTIAN     PR      00685
FINCA ENCARNACION INC                    HC 5 BOX 23862                                                                                            LAJAS             PR      00667
FINCA ERMITA PICON INC                   PO BOX 79876                                                                                              CAROLINA          PR      00984
FINCA LA PERLA INC                       PO BOX 140039                                                                                             ARECIBO           PR      00614‐0039
FINCA MATILDE V ELA, DRNA                LCDO. CESAR HERNÁNDEZ COLÓN          PO BOX 3312041                                                       PONCE             PR      00733‐1041
FINCA MATILDE, INC.                      ALONDRA FRAGA MELÉNDEZ               PO BOX 29074                                                         SAN JUAN          PR      00929‐0074
FINCA MATILDE, INC.                      LCDO. ARIEL FÉLIX CINTRÓN            ACT                                       PO BOX 42007               SAN JUAN          PR      00940
FINCA PENONES INC                        112 CALLE MCKINLEY E                                                                                      MAYAGUEZ          PR      00680‐5059
FINCA SOREC INC                          URB LUCHETTY                         83 SIRRA BERDECIA                                                    MANATI            PR      00674
FINCH MATEO MD, ANA D                    ADDRESS ON FILE
FINDING ACCOUNTANTS INC                  URB CROWN HLS                        138 AVE WINSTON CHURCHILL PMB 422                                    SAN JUAN          PR      00926
FINE ART CINEMA CORPORATION              P O BOX 19116                                                                                             SAN JUAN          PR      00910‐9116
FINE LINK SERVICES, CORP                 VILLA NUEVA                          CALLE 2 E33                                                          CAGUAS            PR      00725
FINES AMADOR, WILFREDO                   ADDRESS ON FILE
FINES CHANZA, MARIA                      ADDRESS ON FILE
FINES FERRER, CARLOS A                   ADDRESS ON FILE




                                                                                                         Page 2898 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2899 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                       Address1                                         Address2                                  Address3     Address4   City               State   PostalCode   Country
FINES HERNANDEZ, NADGEE             ADDRESS ON FILE
FINES HERNANDEZ, VERLEE L.          ADDRESS ON FILE
FINES MALDONADO, LYMARI I           ADDRESS ON FILE
FINES MALDONADO, NAILEEN S.         ADDRESS ON FILE
FINES RIVERA, NORMA                 ADDRESS ON FILE
FINES RIVERA, NYDIA                 ADDRESS ON FILE
FINES RIVERA, SAUL                  ADDRESS ON FILE
FINETTO BOLZI, ANA                  ADDRESS ON FILE
FINK, GREGORY                       ADDRESS ON FILE
FINKELSTEIN LOPEZ, JERRY H          ADDRESS ON FILE
FINN IRREVOCABLE INVESTMENT TRUST   PO BOX 360136                                                                                                      SAN JUAN           PR      00936‐0136
FINOLI RIVERA, GABRIEL G            ADDRESS ON FILE
FIOL BENITEZ, WANDA I.              ADDRESS ON FILE
FIOL DESCHAMPS, EUGENIO             ADDRESS ON FILE
FIOL FIOL, HECTOR                   ADDRESS ON FILE
FIOL FUMERO, LUIS G                 ADDRESS ON FILE
FIOL LAY, LIDIA                     ADDRESS ON FILE
FIOL MATTA, CARLOS                  ADDRESS ON FILE
FIOL MATTA, CARLOS J                ADDRESS ON FILE
FIOL MORA, TEODORO                  ADDRESS ON FILE
FIOL PICO, MANUEL B.                ADDRESS ON FILE
FIOL SILVA MD, ZORAIDA              ADDRESS ON FILE
FIOL TORRES, EDITH                  ADDRESS ON FILE
FIOL, LUIS D                        ADDRESS ON FILE
FIOLA GARCIA, ROBERTO               ADDRESS ON FILE
FIOLDALIZA MUNIZ AMARANTE           ADDRESS ON FILE
FIOR DELIZ COLON SENQUIZ            ADDRESS ON FILE
FIOR SANTANA ORTIZ                  ADDRESS ON FILE
FIOR SANTIAGO TORRES                ADDRESS ON FILE
FIORDALIZA BRADLEY DE LA CRUZ       ADDRESS ON FILE
FIORDALIZA CARTY BOYER              ADDRESS ON FILE
FIORE VEGA, DELIA                   ADDRESS ON FILE
FIORE VEGA, LAURA                   ADDRESS ON FILE
FIPA DENTAL OFFICE PSC              CIUDAD JARDIN III                                137 CALLE MALAGUETA                                               TOA ALTA           PR      00953
FIQUEROA COLLAZO, MILDRED           ADDRESS ON FILE
FIQUEROA ORTIZ, MIGDALIA            ADDRESS ON FILE
FIQUEROA RODRIGUEZ, LUZ M.          ADDRESS ON FILE
FIQUEROA SAEZ, FLOR M               ADDRESS ON FILE
FIQUEROA TORRES, TAMARA             ADDRESS ON FILE
FIRE AND SECURITY PREVETION SY      HC 6 BOX 66261                                                                                                     AGUADILLA          PR      00603
FIRE CONTROL                        P.O. BOX 192076                                                                                                    SAN JUAN           PR      00919
FIRE CONTROL CORP                   PO BOX 193318                                                                                                      SAN JUAN           PR      00919
FIRE CONTROL CORPORATION            PO BOX 192076                                                                                                      SAN JUAN           PR      00919
FIRE PROTECTION SERVICES            AVE CAMPO RICO BLQ 3 NUM 1                                                                                         SABANA GARDENS     PR      00630
FIRE SAFE, INC                      PO BOX 592                                                                                                         SAINT JUST         PR      00978‐0592
FIRE SAFE, INC.                     P O BOX 592, SAINT JUST                                                                                            RIO PIEDRAS        PR      00978‐0592
FIRE SAFETY FLOW INC                URB PARAISO DE COAMO                             709 CALLE AMISTAD                                                 COAMO              PR      00769
FIRE SCHOOL USA CORP                6727 MISSION CLUB BOULEVARD 101                                                                                    ORLANDO            FL      32821
FIREHOUSE BURGERS AND FRIES         PO BOX 14394                                                                                                       SAN JUAN           PR      00916
Fireman's Fund Insurance Company    Attn: Antonio Derossi, Vice President            225 W. Washington St                      Suite 1800              Chicago            IL      60606
Fireman's Fund Insurance Company    Attn: Arthur E Moossmann, Jr., President         225 W. Washington St                      Suite 1800              Chicago            IL      60606
Fireman's Fund Insurance Company    Attn: Griffin Christel, Consumer Complaint Conta 225 W. Washington St                      Suite 1800              Chicago            IL      60606
Fireman's Fund Insurance Company    Attn: Walter Grote, Vice President               225 W. Washington St                      Suite 1800              Chicago            IL      60606
Fireman's Fund Insurance Company    Attn: William Paukovitz, Vice President          225 W. Washington St                      Suite 1800              Chicago            IL      60606
Fireman's Fund Insurance Company    c/o Allianz Global Corporate & Specialty         225 W. Washington Street                  Suite 1800              Chicago            IL      60606
FIREMEDIC AMBULANCE CORP            5 CALLE ARZUAGA STE 2 PMB 264                                                                                      SAN JUAN           PR      00925‐3701
FIREWORKS OF PUERTO RICO            PO BOX 16350                                                                                                       SAN JUAN           PR      00908
FIROUZTALE MD, EDWARD               ADDRESS ON FILE
FIRPI ALVARADO, MORAIMA             ADDRESS ON FILE
FIRPI CRUZ, JENNETTE                ADDRESS ON FILE




                                                                                                                Page 2899 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                                 Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2900 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                            Creditor Matrix

Creditor Name                              Address1                                        Address2                                      Address3         Address4                City             State   PostalCode   Country
FIRPI MATOS, LUIS E                        ADDRESS ON FILE
FIRPI MORELL, MARITZA                      ADDRESS ON FILE
FIRPI NIEVES, GLENDA IVETTE                ADDRESS ON FILE
FIRPI REYES, JORGE                         ADDRESS ON FILE
FIRPI RIVERA, JULIO CESAR                  ADDRESS ON FILE
FIRPI SOLIS, ENID                          ADDRESS ON FILE
FIRPI SOLIS, MYRNA                         ADDRESS ON FILE
FIRPI SOLIS, MYRNA                         ADDRESS ON FILE
FIRPO DALMAU, IRTHA                        ADDRESS ON FILE
FIRST ADVANTAGE LNS OCC.                   HEALTH SOLUTIONS INC.                           P.O. BOX 404064                                                                        ATLANTA          GA      30384‐4064
FIRST AMERICAN TITLE INSURANCE             1 FIRST AMERICAN WAY                                                                                                                   SANTA ANA        CA      92707
First American Title Insurance Company     16 West Main Street                                                                                                                    Rochester        NY      14614
First American Title Insurance Company     Attn: Barbara Willis, Vice President            1 First American Way                                                                   Santa Ana        CA      92707
First American Title Insurance Company     Attn: Gary Lewis, President                     1 First American Way                                                                   Santa Ana        CA      92707
First American Title Insurance Company     Attn: James Nelson , Circulation of Risk        1 First American Way                                                                   Santa Ana        CA      92707
First American Title Insurance Company     Attn: James Nelson , Consumer Complaint Contac1 First American Way                                                                     Santa Ana        CA      92707
First American Title Insurance Company     Attn: James Nelson , Regulatory Compliance Gove1 First American Way                                                                    Santa Ana        CA      92707
First American Title Insurance Company     c/o The Prentice Hall Corporation System, Agent 1 First American Way                                                                   Santa Ana        CA      92707
FIRST BANK                                 IVAN APONTE                                     650 Plaza Building Suite 502           650 Ave. Muñoz Rivera                           San Juan         PR      00918
                                                                                                                                  1509 CALLE LOPEZ
FIRST BANK                                   KEILA ORTEGA                               AMERICAN AIRLINES BUILDING PISO 10        LANDRON                                         SAN JUAN         PR      00911
FIRST BANK                                   LCDA. FRANCIS T. PAGAN                     1509 CALLE OPEZ LANDRON AMERICAN AIRLINE BUILDING SUITE 1200                              SAN JUAN         PR      00911
First Bank                                   Lebron, Felipe                             P.O. 9146                                                                                 San Juan         PR      00908‐0146
FIRST BANK                                   LUIS A. CARRIÓN TAVÁREZ E IVÁN APONTE FIGUE650 Plaza                                 Suite 204               650 Ave. Muñoz Rivera   San Juan         PR      00918
FIRST BANK                                   LUIS CARRION TAVAREZ                       650 Plaza Building Suite 502              650 Ave. Muñoz Rivera                           San Juan         PR      00918
FIRST BANK Y UNIVERSAL INSURANCE COMPANLCDO. LUIS A. CARRION TAVAREZ                    650 PLAZA SUITE                           204 650 AVE.            MUNOZ RIVERA            SAN JUAN         PR      00918
FIRST BANK INSURANCE AGENCY INC              PO BOX 9146                                                                                                                          SAN JUAN         PR      00908‐0146
FIRST BANK PR                                1130 AVE. MUNOZ RIVERA                                                                                                               SAN JUAN         PR      00927
FIRST BANK PR                                116 CALLE ANTONIO LOPEZ                                                                                                              HUMACAO          PR      00792
FIRST BANK PR                                1519 AVE PONCE DE LEON                                                                                                               SAN JUAN         PR      00908
FIRST BANK PR                                300 TANCA STREET CORNER                    RECINTO SUR                                                                               SAN JUAN         PR      00901
FIRST BANK PR                                515 AVE FERNANDEZ JUNCOS                   PDA 8                                                                                     SAN JUAN         PR      00901
FIRST BANK PR                                AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                                                 SAN JUAN         PR      00902‐4140
FIRST BANK PR                                AREA DEL TESORO                            DIVISION DE PAGADURIA                                                                     SAN JUAN         PR      00902
FIRST BANK PR                                BO LA PICA                                 CARR 140 KM 2 2                                                                           JAYUYA           PR      00664
FIRST BANK PR                                BO SABANA HOYOS                            PO BOX 31000 SUITE 2                                                                      SABANA HOYOS     PR      00688
FIRST BANK PR                                CARR 105 KM 0.9                                                                                                                      MAYAGUEZ         PR      00680
FIRST BANK PR                                CARR 3 KM 32.9                             BO LAS 3T                                                                                 RIO GRANDE       PR      00745
FIRST BANK PR                                HC 02 BOX 8050                                                                                                                       JAYUYA           PR      00664
FIRST BANK PR                                OPERACIONES SUCURSALES                     SANTURCE BUILDING (273)                   PO BOX 9146                                     SANTURCE         PR      00908‐0146
FIRST BANK PR                                P O BOX 1005                                                                                                                         GUAYAMA          PR      00785
FIRST BANK PR                                P O BOX 1079                                                                                                                         VEGA ALTA        PR      00692
FIRST BANK PR                                P O BOX 326                                                                                                                          ARECIBO          PR      00612
FIRST BANK PR                                P O BOX 60‐307                                                                                                                       BAYAMON          PR      00960
FIRST BANK PR                                PO BOX 11868                                                                                                                         SAN JUAN         PR      00910‐9998
FIRST BANK PR                                PO BOX 3999                                                                                                                          AGUADILLA        PR      00605
FIRST BANK PR                                PO BOX 7285                                                                                                                          PONCE            PR      00732‐7285
FIRST BANK PR                                PO BOX 9146                                                                                                                          SAN JUAN         PR      00908
FIRST BANK PR                                TARJETAS BANCARIAS                         P O BOX 9146                                                                              SANTURCE         PR      00908‐0146
FIRST BANK PUERTO RICO                       C/TETUAN 206 EDIF BANCO POPULAR SUITE 501                                                                                            SAN JUAN         PR      00901
FIRST BANK QBE OPTIMA INS. CO. MARIA M. MEDLCDO. CARLOS VICKY MORELL BORRERO            APARTADO 8247 CALLE PLAYERA # 129 URB. CONDADO MODERNO                                    CAGUAS           PR      00726
FIRST BANK QBE OPTIMA INS. CO. MARIA M. MEDLCDO. FRANCISCO SAN MIGUEL‐FUXENCH           PO BOX 190406                                                                             SAN JUAN         PR      00919‐0406
FIRST BANK Y CARIBBEAN ALLIANCE INS. CO.     LIC. LUIS CARRION TAVAREZ                  650 PLAZA SUITE 204 650 AVE. MUÑOZ RIVERA                                                 SAN JUAN         PR      00918
FIRST BANK Y OPTIMA INSURANCE COMPANY        LIC. FRANCISCO SAN MIGUEL FUXENCH          PO BOX 190406                                                                             SAN JUAN         PR      00919
FIRST BANK Y OTROS                           FRANCIS T. PAGÁN Y KEILA M. ORTEGA         1509 López Landrón                        Piso 12                                         San Juan         PR      00911
                                                                                                                                  1509 CALLE LOPEZ
FIRST BANK Y UNIVERSAL INS. Y JUAN LUIS HERNÁKEILA ORTEGA                               AMERICAN AIRLINES BUILDING PISO 10        LANDRON                                         SAN JUAN         PR      00911
FIRST BANK Y UNIVERSAL INSURANCE COMPANY KILMARIS MALDONADO PEREZ                       PO BOX 11155                                                                              SAN JUAN         PR      00922‐1155
FIRST BANK Y UNIVERSAL INSURANCE COMPANY LCDO. ANNETTE M. PRATS PALERM                  AMERICAN AIRLINES BUILDING 1509 LOPEZ LANDRON 10 TH FLOOR                                 SAN JUAN         PR      00911




                                                                                                                          Page 2900 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                        Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 2901 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                              Address1                                   Address2                                    Address3              Address4          City                State   PostalCode    Country

FIRST BANK Y UNIVERSAL INSURANCE COMPANY LCDO. LUIS A. CARRION TAVAREZ                     650 PLAZA SUITE 204                       650 AVE. MUNOZ RIVERA                SAN JUAN            PR      00918
FIRST BANK Y UNIVERSAL INSURANCE COMPANY LCDO. LUIS A. CARRION TAVAREZ                     650 PLAZA SUITE                           204 650 AVE.          MUNOZ RIVERA   SAN JUAN            PR      00918
FIRST BANK Y UNIVERSAL INSURANCE COMPANY LIC. LUIS CARRION TAVAREZ / LIC. IVAN APONTE 650 PLAZA SUITE 204 650 AVE. MUÑOZ RIVERA                                           SAN JUAN            PR      00918
FIRST BANK‐CUENTA ESPECIAL CONFINADOS        P.O.BOX 8318                                                                                                                 SAN JUAN            PR      00910‐0318
FIRST BANK‐CUENTA ESPECIAL CONFINADOS        PO BOX 60307                                                                                                                 BAYAMON             PR      00960‐0000
FIRST BANK‐CUENTA ESPECIAL CONFINADOS        PO BOX 9146                                                                                                                  SAN JUAN            PR      00908‐0146
FIRST CARIBBEAN EDUCATIONAL GROUP            MERCANTIL PLAZA BUILDING                      AVE PONCE DE LEON SUITE 616                                                    SAN JUAN            PR      00918
FIRST CARIBBEAN EDUCATIONAL GROUP            PMB 204                                       B‐5 CALLE TABONUCO, SUITE A‐9                                                  GUAYNABO            PR      00968
FIRST CARIBBEAN EDUCATIONAL GROUP            PMB 204                                       B 5 CALLE TABONUCO SUITE A 9                                                   GUAYNABO            PR      00968
FIRST CHOICE ARMOR                           209 YELTON STREET                                                                                                            SPINDALE            NC      28160
FIRST CHOISE PROSTHETIC                      909 AVE TITO CASTRO STE 714                                                                                                  PONCE               PR      00716‐4722
FIRST CHOISE PROSTHETIC                      PO BOX 800942                                                                                                                COTO LAUREL         PR      00780
FIRST CLASS AMBULANCE INC                    RR 1 BOX 37154                                                                                                               SAN SEBASTIAN       PR      00685
FIRST CLASS INSURANCE INC                    URB LOMAS VERDES                              3B2 CALLE LIRIO                                                                BAYAMON             PR      00956
FIRST CLASS PARAMEDICS                       PO BOX 931                                                                                                                   JUANA DIAZ          PR      00795
FIRST COAST PRIMARY CARE                     ATTN MEDICAL RECORDS                          1201 MONUMENT RD STE 201B                                                      JACKSONVILLE        FL      32225
FIRST COAST SERVICE OPTIONS, INC.            532 RIVERSIDE AVENUE ROC 17T                                                                                                 JACKSONVILLE        FL      32202
FIRST DATA CORPORATION                       6200 S QUEBEC ST STE 270 A                                                                                                   GREENWOOD VILLAGE   CO      80111
FIRST DATA GOVERNMENT SOLUTIONS INC          PC BOX 2086                                                                                                                  ENGLEWOOD           CO      80150‐2086
FIRST HEALTH CALL CORP                       COTTO STATION                                 PO BOX 9976                                                                    ARECIBO             PR      00613
FIRST HEALTH SYSTEMS FHC                     CALLE COMERCIO 55                                                                                                            YAUCO               PR      00698
FIRST HOSPITAL PANAMERICANO                  PO BOX 1398                                                                                                                  CIDRA               PR      00939‐1398
FIRST HR MOTORS REBUILDERS INC               URB FLORAL PARK                               5 CALLE GUAYAMA                                                                SAN JUAN            PR      00917
FIRST IND TECHNOLOGICAL COLLEGE INC          181 URB LOS PINOS                                                                                                            ARECIBOS            PR      00612
FIRST LEASING Y UNIVERSAL INSURANCE COMPA LIC KEILA ORTEGA CASALS Y LIC FRANCIS T. PAGA 1509 CALLE OPEZ LANDRON AMERICAN AIRLINE BUILDING SUITE 1200                      SAN JUAN            PR      00911
FIRST LEASING, FIRST LEASING & RENTAL CORP Y LCDA. ANA L. GONZALEZ CABRERA                 CALLE JIMENEZ GARCIA # 28 URB. PLA                                             CAGUAS              PR      00725
FIRST LEASING, FIRST LEASING & RENTAL CORP Y LCDO. LUIS A. CARRION TAVAREZ                 650 PLAZA SUITE 204 650 AVE. MUNOZ RIVERA                                      SAN JUAN            PR      00918
FIRST MANAGEMENT CORP                        PO BOX 10563                                                                                                                 SAN JUAN            PR      00922
FIRST MEDICAL                                P O BOX 144090                                                                                                               ARECIBO             PR      00614‐4090
FIRST MEDICAL                                P O BOX 9950                                  COTTO STATION                                                                  ARECIBO             PR      00613
FIRST MEDICAL                                PO BOX 191580                                                                                                                SAN JUAN            PR      00919‐1580
FIRST MEDICAL CENTER INC                     PO BOX 1103                                                                                                                  COMERIO             PR      00782‐1103
FIRST MEDICAL HEALTH PLAN                    AREA DEL TESORO                               DIV CONTADURIA GENERAL                                                         SAN JUAN            PR      00902
FIRST MEDICAL HEALTH PLAN                    AREA DEL TESORO                               DIVISION DE RECLAMACIONES                                                      SAN JUAN            PR      00902‐4140
FIRST MEDICAL HEALTH PLAN                    P O BOX 70264                                                                                                                SAN JUAN            PR      00936
FIRST MEDICAL HEALTH PLAN                    PO BOX 191118                                                                                                                SAN JUAN            PR      00919‐1118
FIRST MEDICAL HEALTH PLAN                    PO BOX 191580                                                                                                                SAN JUAN            PR      00919‐1580
FIRST MEDICAL HEALTH PLAN                    PO BOX 70166                                                                                                                 SAN JUAN            PR      00936
FIRST MEDICAL HEALTH PLAN                    UNION PLAZA BLDG                              416 AVE PONCE DE LEON SUITE PHB                                                SAN JUAN            PR      00918
FIRST MEDICAL HEALTH PLAN                    URB EL VEDADO                                 424 CALLE AGUEYBANA                                                            SAN JUAN            PR      00919
FIRST MEDICAL HEALTH PLAN , INC.             EXT. VILLA CAPARRA MARGINAL                   BUCHANAN 530 GUAYNABO                                                          SAN JUAN            PR      00966
FIRST MEDICAL HEALTH PLAN , INC.             PO BOX 191580                                                                                                                SAN JUAN            PR      00919‐1580
First Medical Health Plan, Inc.              Attn: Carmen Feliciano Vargas, Vice President PO Box 191580                                                                  San Juan            PR      91915‐919
First Medical Health Plan, Inc.              Attn: Cesar Ramirez, Vice President           PO Box 191580                                                                  San Juan            PR      91915‐919
First Medical Health Plan, Inc.              Attn: Francisco Artau, President              PO Box 191580                                                                  San Juan            PR      91915‐919
First Medical Health Plan, Inc.              Attn: Hector Fuentes Febles, Vice President   PO Box 191580                                                                  San Juan            PR      91915‐919
First Medical Health Plan, Inc.              Attn: Jose Pagan, Vice President              PO Box 191580                                                                  San Juan            PR      91915‐919
First Medical Health Plan, Inc.              Attn: William Zayas, Vice President           PO Box 191580                                                                  San Juan            PR      91915‐919
First Medical Health Plan, Inc.              Ext. Villa Caparra                            530 Calle Marginal Buchanan                                                    Guaynabo            PR      00966
FIRST MEDICAL INC.                           BOX 191580                                                                                                                   SAN JUAN            PR      00919‐1580
FIRST NATIONAL REHABILITATION SERVICES       114 OLD COUNTRY RD LL76                                                                                                      MINEOLA             NY      11501
FIRST POINT HEALTHCARE GROUP INC.            605 CONDADO ST. SUITE 611 SAN ALBERTO BLDG.                                                                                  SAN JUAN            PR      000907‐3811
FIRST SCHOOL BILINGUAL                       112 CALLE PAJAROS                             HATO TEJAS                                                                     BAYAMON             PR      00956
FIRST SCHOOL BILINQUIE                       112 CALLE PAJAROS                             HATO TEJAS                                                                     BAYAMON             PR      00658
First Specialty Insurance Corporation        Attn: David Newkirk, Principal Representative PO Box 2991                                                                    Overland Park       KS      66202‐1391
First Specialty Insurance Corporation        PO Box 2991                                                                                                                  Overland Park       KS      66202‐1391
FIRST TRANSIT OF PUERTO RICO, INC.           PO BOX 195576                                                                                                                SAN JUAN            PR      00919‐5576
FIRST TRUCK LEASE CORP                       PO BOX 2489                                                                                                                  TOA BAJA            PR      00953
FIRSTBANK                                    LCDO. DAVID RODRIGUEZ ENCARNACIÓN, REPRE PO BOX 29477                                                                        SAN JUAN            PR      00929‐0477




                                                                                                                   Page 2901 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                           Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2902 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                     Creditor Matrix

Creditor Name                              Address1                                  Address2                                     Address3        Address4   City            State   PostalCode   Country
FIRSTBANK                                  LCDO. JAIME B. GONZÁLEZ MERCADO, REPRESENPO BOX 777                                                               ARECIBO         PR      00613
FIRSTBANK                                  LCDO. REINALDO RODRÍGUEZ OJEDA, REPRESENTFIRSTBANK                                     PO BOX 363907              SAN JUAN        PR      00936‐3907
FIRSTCARE MISSION CROSSOVER                8344 CLAIREMONT MESA BLVD SUITE 201                                                                               SAN DIEGO       CA      92111
FIRUZEH SHOKOOH VALLE                      ADDRESS ON FILE
FISCHBACH CAMERON, SHERYL A                ADDRESS ON FILE
FISCHBACH FELICIANO, KAREN                 ADDRESS ON FILE
FISCHBACH MENENDEZ, CLARIBEL               ADDRESS ON FILE
FISCHBACH MOTTA, HENRY                     ADDRESS ON FILE
FISCHBACH MOTTA, KEVIN                     ADDRESS ON FILE
FISCHER MD, MICHAEL                        ADDRESS ON FILE
FISHEADS PRINTS INC                        OCEN PARK                                 2055 COND ESPANA APT 402                                                SAN JUAN        PR      00911
FISHER SCIENTIFIC CO                       2000 PARK LANE                                                                                                    PITTSBURGH      PA      15275
FISHER SCIENTIFIC CO                       CARRETERA # 1 K.M. 56.4                   BARRIO MONTELLANO                                                       CAYEY           PR      00736
FISHER SCIENTIFIC CO                       PO BOX 360 153                                                                                                    PITTSBURGH      PA      15250
FISHER SCIENTIFIC CO                       PO BOX 8500                                                                                                       CAYEY           PR      00737
FISHER SCIENTIFIC CO.                      BO MONTELLANO 1 STATE RD                                                                                          CAYEY           PR      00737
FISHERMANS WHARF                           2324 CALLE LOIZA PUNTA LAS MARIAS                                                                                 SANTURCE        PR      00913
FISHKILL CORRECTIONAL FACILITY             MED RECORDS                               BOX 307                                                                 BEACON          NY      12508
FISIO MED                                  VILLA CAROLINA                            135‐9 CALLE 401                                                         CAROLINA        PR      00985‐4006
FISIOTERAPIA DEL NORTE                     350 CARR 2                                                                                                        VEGA ALTA       PR      00692
FISIOTERAPIA EN LA MONTAÐA                 PO BOX 1854                                                                                                       MOROVIS         PR      00687
FISIOTERAPIA EN LA MONTANA                 PO BOX 1854                                                                                                       MOROVIS         PR      00687
FITNESS FOR LIFE CARIBBEAN LLC             350 AVE ESCORIAL ESQ ROOSEVELT STE 104                                                                            SAN JUAN        PR      00920
FITNESS WAREHOUSE                          260 AVE JESUS T PINERO UNIVERSITY GARDENS                                                                         SAN JUAN        PR      00927
FITNESS WAREHOUSE                          JT PINERO 260 UNIVERSITY GDNS                                                                                     SAN JUAN        PR      00000‐0000
FITNESS WAREHOUSE                          URB UNIVERSITY GARDENS                    260 AVE PIEIRO                                                          SAN JUAN        PR      00927
FITNESS WAREHOUSE                          URB UNIVERSITY GARDENS                    260 AVE PI¨EIRO                                                         SAN JUAN        PR      00927
FITZERALD E COUTINHO                       ADDRESS ON FILE
FITZPATRICK MD , CARMEN A                  ADDRESS ON FILE
FITZPATRICK, DAVID                         ADDRESS ON FILE
FIUNTE CARVAJAL, YASNELY                   ADDRESS ON FILE
FIVE DEVELOPMENT CORP                      235 PMB                                   3071 ALEJANDRINO AVE                                                    GUAYNABO        PR      00969
FIVE RIVERS MEDICAL CENTER                 MEDICAL RECORD ADMINISTRATOR              2801 MEDICAL CENTER DRIVE                                               POCAHONTAS      AR      72455
FIVE STAR DEVELOPMENT GROUP INC            PO BOX 11976                                                                                                      SAN JUAN        PR      00922‐1976
FIVE STARS EDUCATIONAL CASTLE              359 PARQUE DEL SOL                                                                                                BAYAMON         PR      00959
FIVESENSES LLC                             103 CALLE SAN JORGE                                                                                               SAN JUAN        PR      00911
FJ BUS SERVICE INC                         PO BO X1258                                                                                                       AIBONITO        PR      00705
FJ ELECTRICAL &GENERAL CONTRACTORS INC     HC 3 BOX 10915                                                                                                    CAMUY           PR      00627‐9616
FJ SUPPLY INC                              PASEO AMBAR                               J 2734 LEVITTWN                                                         TOA BAJA        PR      00949
FJ SUPPLY, INC.                            PASEO AMBAR J 2734                        2DA. SECC. LEVITTOWN                                                    TOA BAJA        PR      00949‐3307
FJ TRANSPORT INC                           RIO PLANTATION                            CALLE 1 OESTE 15‐A                                                      BAYAMON         PR      00958
FL HOSPITAL CENTRA CARE                    MEDICAL RECORDS                           15701 STATE RD 50 STE 101                                               CLERMONT        FL      34711
FL HOSPITAL FISH MEMORIAL PSYCHIATRIC SERV 1061 MEDICAL CENTER DR STE 205                                                                                    ORANGE CITY     FL      32763
FL HOSPITAL SPORTS MEDICINE AND REHAB      ATTN MEDICAL RECORDS                      400 CELEBRATION PL STE C200                                             CELEBRATION     FL      34747
FLAC TRUST                                 PO BOX 1498                                                                                                       VEGA BAJA       PR      00694‐1498
FLAGG BROTHER PR INC                       PO BOX 17                                                                                                         NASHVILLE       TN      37202
FLAGSHIP RESORT                            8020 TARTAK STREET                                                                                                CAROLINA        PR      00979
FLAGSHIP RESORT PROPERTIES D/B/A           HOLIDAY INN SAN JUAN                      8020 CALLE TARTAK                                                       CAROLINA        PR      00979
FLAGSHIP RESORT PROPERTIES D/B/A           VERDANZA HOTEL                            8020 CALLE TARTAK                                                       CAROLINA        PR      00979
FLAGSHIP RESORT PROPERTIES S.E.            CALLE TARTAK 8020                                                                                                 CAROLINA        PR      00979‐0000
FLAGSHIP RESORT PROPERTIES,S.E.D/B/A       CALLE TARTAK #8020                                                                                                CAROLINA        PR      00979
FLAM, SHEREEN                              ADDRESS ON FILE
FLAMBOYAN LANDSCAPING CORP                 CONDOMINIO LOS LIRIOS 110                 CALLE LAS FLORES APTO 4‐C                                               SAN JUAN        PR      00907
FLAMBOYAN SANTOS INC                       PO BOX 1723                                                                                                       CAYEY           PR      00737
FLAMBOYAN TRANSPORT                        APARTADO 596                              QUEBRADA CEIBA                                                          PENUELAS        PR      00624
FLAMBOYAN TRANSPORT                        BARRIO QUEBRADA CEIBA                                                                                             PENUELAS        PR      00624
FLAMENCO AIR                               PO BOX 810352                                                                                                     CAROLINA        PR      00981
FLANDERS, SAMUEL                           ADDRESS ON FILE
Flanegien Orti, Anna Esther                ADDRESS ON FILE
FLANEGIEN ORTIZ, JANICE                    ADDRESS ON FILE




                                                                                                                   Page 2902 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2903 of 3500
                                                                            17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
FLANES ACEVEDO INC           PO BOX 726                                                                         AGUADA       PR      00602
FLAQUE COMAS MD, JOSE        ADDRESS ON FILE
FLAQUER MENDOZA, IRVIN A     ADDRESS ON FILE
FLAQUER MENDOZA, OMAR        ADDRESS ON FILE
FLAQUER SANCHEZ, JULIA       ADDRESS ON FILE
FLASH BACK GROUP INC         GPO BOX 195154                                                                     SAN JUAN     PR      00919‐5154
FLASH BACK GROUP INC         MANS DE MONTECASINO II    590 CALLE REINITA                                        TOA ALTA     PR      00953
FLASH BACK GROUP INC         PO BOX 195154                                                                      SAN JUAN     PR      00919‐5154
FLASH WIRELESS, LLC          1000 PROGRESS PLACE NE                                                             CONCORD      NC      28025
FLASHPOINT                   PO BOX 50671                                                                       TOA BAJA     PR      00950‐0671
FLATLEY MD , MICHAEL C       ADDRESS ON FILE
FLAVIA ALTAMIRANO GOMEZ      ADDRESS ON FILE
FLAVIA E. CASTRO GONZALEZ    ADDRESS ON FILE
FLAVIA GARCIA TIRADO         ADDRESS ON FILE
FLAVIA LUGO DE MARICHAL      ADDRESS ON FILE
FLAVIA MENDEZ                ADDRESS ON FILE
FLAVIA RIVERA VELAZQUEZ      ADDRESS ON FILE
FLAVIA Z ACEVEDO ORTIZ       ADDRESS ON FILE
FLAVIO A MONSEGUR CASTILLO   ADDRESS ON FILE
FLAVIO E HERNANDEZ RAMIREZ   ADDRESS ON FILE
FLAVIO J CARRENO             ADDRESS ON FILE
FLAZ FLAZ, ESTEBAN           ADDRESS ON FILE
FLAZ FLAZ, GEORGINA          ADDRESS ON FILE
FLAZ FLAZ, GUADALUPE         ADDRESS ON FILE
FLAZ FLAZ, MARITA            ADDRESS ON FILE
FLAZ SANTANA, TEODORO        ADDRESS ON FILE
FLECHA ACEVEDO, WILSON J     ADDRESS ON FILE
FLECHA ALEJANDRO, ESTEBAN    ADDRESS ON FILE
FLECHA ALVAREZ, OMAYLA       ADDRESS ON FILE
FLECHA ALVAREZ, YILDA        ADDRESS ON FILE
FLECHA AYALA, MANUEL         ADDRESS ON FILE
FLECHA AYALA, MARITZA E      ADDRESS ON FILE
FLECHA BERMUDEZ, FELIXA      ADDRESS ON FILE
FLECHA BURGOS, ISMAEL        ADDRESS ON FILE
FLECHA BURGOS, MARIELL       ADDRESS ON FILE
FLECHA BURGOS, VANESSA       ADDRESS ON FILE
FLECHA CARRION, ANGEL M.     ADDRESS ON FILE
FLECHA CASILLAS, EFRAIN      ADDRESS ON FILE
FLECHA CASILLAS, JOSE        ADDRESS ON FILE
FLECHA CASILLAS, MARIA E     ADDRESS ON FILE
FLECHA CASTRO, SHAIRA        ADDRESS ON FILE
FLECHA CASTRO, WILLIAM A.    ADDRESS ON FILE
FLECHA COLON, LUZ N.         ADDRESS ON FILE
FLECHA CRUZ, ALICE           ADDRESS ON FILE
FLECHA CRUZ, JOSE I.         ADDRESS ON FILE
FLECHA CRUZ, JOSEPHINE       ADDRESS ON FILE
FLECHA CRUZ, ZULMA           ADDRESS ON FILE
FLECHA CUADRADO, ALEXANDRA   ADDRESS ON FILE
FLECHA DE JESUS MD, MIGUEL   ADDRESS ON FILE
FLECHA DE JESUS, ISMAEL      ADDRESS ON FILE
FLECHA DE LEON, JAVIER       ADDRESS ON FILE
FLECHA DE LEON, MOISES       ADDRESS ON FILE
FLECHA DEL VALLE, OLGA       ADDRESS ON FILE
FLECHA DEL VALLE, SANDRA     ADDRESS ON FILE
FLECHA DELGADO, MIGDALIA     ADDRESS ON FILE
FLECHA DIAZ, SAMUEL          ADDRESS ON FILE
FLECHA ESPINOSA, NILSA I     ADDRESS ON FILE
FLECHA FLECHA, ANGELA M      ADDRESS ON FILE
FLECHA FLECHA, JUAN          ADDRESS ON FILE
Flecha Flecha, Juan E.       ADDRESS ON FILE




                                                                           Page 2903 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2904 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                            Address1                     Address2                          Address3   Address4   City            State   PostalCode   Country
FLECHA FLECHA, MARISOL                   ADDRESS ON FILE
FLECHA FLORES, HECTOR                    ADDRESS ON FILE
FLECHA FLORES,HECTOR L.                  ADDRESS ON FILE
FLECHA GARCIA, MARALIZ                   ADDRESS ON FILE
FLECHA GARCIA, SAMMY                     ADDRESS ON FILE
Flecha Gonzalez, Diosito                 ADDRESS ON FILE
FLECHA LOZADA, ADELAIDA                  ADDRESS ON FILE
Flecha Maldonado, Miguel A               ADDRESS ON FILE
FLECHA MARTINEZ, EDUARDO                 ADDRESS ON FILE
FLECHA MARTINEZ, JOSE                    ADDRESS ON FILE
FLECHA MARTINEZ, LINETTE                 ADDRESS ON FILE
FLECHA MEDINA, JUAN R                    ADDRESS ON FILE
FLECHA MERCED, SANDRA                    ADDRESS ON FILE
Flecha Mestre, Jorge L.                  ADDRESS ON FILE
Flecha Mestre, Judith                    ADDRESS ON FILE
FLECHA MESTRE, LILLIAM                   ADDRESS ON FILE
FLECHA MESTRE, LILLIAM                   ADDRESS ON FILE
FLECHA MESTRE, MARIA I.                  ADDRESS ON FILE
FLECHA MOJICA, ANDRES                    ADDRESS ON FILE
Flecha Ortiz, Alex Alejandro             ADDRESS ON FILE
FLECHA ORTIZ, YOLIANGELLY                ADDRESS ON FILE
FLECHA PEREZ, OMAR                       ADDRESS ON FILE
FLECHA REYES, ANA E                      ADDRESS ON FILE
FLECHA REYES, JUAN                       ADDRESS ON FILE
FLECHA REYES, JUANITA                    ADDRESS ON FILE
FLECHA REYES, PORFIRIA                   ADDRESS ON FILE
FLECHA REYES, RENE                       ADDRESS ON FILE
FLECHA RIVERA, MAIKA Y                   ADDRESS ON FILE
FLECHA RODRIGUEZ, YADITZA E              ADDRESS ON FILE
FLECHA RODRIGUEZ, YAZMAR                 ADDRESS ON FILE
FLECHA ROMAN, MARCELINA                  ADDRESS ON FILE
FLECHA ROMAN, MARIA A.                   ADDRESS ON FILE
FLECHA ROMAN, MARIA L                    ADDRESS ON FILE
FLECHA ROSSY, MILAGROS                   ADDRESS ON FILE
FLECHA SANCHEZ, ALEXANDER                ADDRESS ON FILE
FLECHA SANTANA, AIDA I                   ADDRESS ON FILE
FLECHA SANTIAGO, ALBERTO                 ADDRESS ON FILE
FLECHA VIERA, ANNABELLE                  ADDRESS ON FILE
FLECHA, JOHAN                            ADDRESS ON FILE
FLECHA, ROBERTO                          ADDRESS ON FILE
FLECHARIVERA, TOMAS                      ADDRESS ON FILE
FLEET CAR WASH                           ADDRESS ON FILE
FLEET CAR WASH AND MAINTENANCE SERVICE G PMB 524 RAFAEL CORDERO 200   STE 140                                                 CAGUAS          PR      00725
FLEETS EQUIMENT & EMERGENCY SYSTEM       250 MUOZ RIVERA ST.                                                                                  PR      00738
FLEITES CARRASQUILLO,AMNELLYS            ADDRESS ON FILE
FLEITES MADRIGAL, EMMA                   ADDRESS ON FILE
FLEMING NEGRON, CYD                      ADDRESS ON FILE
FLEPAK SHARED                            P O BOX 4321                                                                         BAYAMON         PR      00958
FLERIDA I PICHARDO ARIAS                 ADDRESS ON FILE
FLERIDA MARIE PERALTA                    ADDRESS ON FILE
FLERIDA MARTE PERALTA                    ADDRESS ON FILE
FLERIDA TORRES PUYARENA                  ADDRESS ON FILE
FLETE PENA, LOURDES                      ADDRESS ON FILE
FLEXIBLE & INTEGRATED TECHNICAL SERVICES PO BOX 666                                                                           DORADO          PR      00646‐0666
FLEXTEL CORP                             POBOX 141943                                                                         ARECIBO         PR      00614
FLI CHI AUTO PARTS INC/SOLE OWNER        4080 AVE MILITAR                                                                     ISABELA         PR      00662
FLICHI AUTO PARTS                        CARR 2 KM 110‐6              4080 AVE MILITAR                                        ISABELA         PR      00662
FLIEGELMAN MD , LAWRENCE J               ADDRESS ON FILE
FLIR RADIATION INC                       100 MIDLAND RD                                                                       OAK RIDGE       TN      37830
FLIR SURVELLANCE INC                     25 ESQUIRE ROAD                                                                      N BILLERICA     MA      001862




                                                                                         Page 2904 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2905 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                         Address1                      Address2                                      Address3   Address4   City              State   PostalCode   Country
FLL CONSTRUCTION INC                  P O BOX 798                                                                                       SAN SEBASTIAN     PR      00685
FLL CONSTRUCTION INC                  PO BOX 789                                                                                        SAN SEBASTIAN     PR      00685
FLOATING CITY ENGINEERING PSC         1214 HOSTOS AVE.STE. 103                                                                          PONCE             PR      00717
FLOBASKET CORP AC/ FELIX JR RAMIREZ   PO BOX 580                                                                                        FAJARDO           PR      00738
FLOIRAN COLON NIEVES                  ADDRESS ON FILE
FLOOD RESEARCH GROUP INC              PO BOX 307                                                                                        BARCELONETA       PR      00617‐0307
FLOOR PLAN COPR                       ADDRESS ON FILE
FLOOR PLAN CORP                       COND PONCE DE LEON GDNS       50 CALLE 8 APT 906                                                  GUAYNABO          PR      00966
FLOR A DEL RIO                        ADDRESS ON FILE
FLOR A FELIX CONCEPCION               ADDRESS ON FILE
FLOR A ILLAS SERRANO                  ADDRESS ON FILE
FLOR ALVAREZ LOPEZ                    ADDRESS ON FILE
FLOR APONTE VALENTIN                  ADDRESS ON FILE
FLOR BELTRAN MORALES                  ADDRESS ON FILE
FLOR CASIANO BAEZ                     ADDRESS ON FILE
FLOR CENTENO CALIZ                    ADDRESS ON FILE
FLOR CINTRÓN VÉLEZ                    LCDO. ARMANDO PIETRI TORRES   1225 AVE. MUÑOZ RIVERA                                              PONCE             PR      00717
FLOR COLON NEGRON                     ADDRESS ON FILE
FLOR COSME ALEJANDRO                  ADDRESS ON FILE
FLOR COSME TORRES                     ADDRESS ON FILE
FLOR D SANCHEZ SEGARRA                ADDRESS ON FILE
FLOR D. ORTIZ RAMOS                   ADDRESS ON FILE
FLOR DAVILA SUAREZ                    ADDRESS ON FILE
FLOR DE CAHILLO INC                   PO BOX 526                                                                                        LOIZA             PR      00772
FLOR DE MARIA DIAZ GONZALEZ           ADDRESS ON FILE
FLOR DEL R. ANDREU ALICEA             ADDRESS ON FILE
FLOR DEL ROSARIO OSORIO HENRIQUEZ     ADDRESS ON FILE
FLOR DEL ROSARIO OSSORIO HENRIQUEZ    ADDRESS ON FILE
FLOR DELIZ ROJAS GUZMAN               ADDRESS ON FILE
FLOR E MATTOS DE JESUS                ADDRESS ON FILE
FLOR E TORO CAMACHO                   ADDRESS ON FILE
FLOR E. NARCISO FARIAS                ADDRESS ON FILE
FLOR G SURITA ACOSTA                  ADDRESS ON FILE
FLOR GARCIA ORTIZ                     ADDRESS ON FILE
FLOR I CIRIACO/CAROLINA WESSIN        EVELYN WESSIN                 14 CALLE PEDRO E URENA APT 201                                      GAZCUE                    10205        DOMINICAN REPUBLIC
FLOR I JORDAN ALBERT                  ADDRESS ON FILE
FLOR I SOTO ACEVEDO                   ADDRESS ON FILE
FLOR LOPEZ BURGOS                     ADDRESS ON FILE
FLOR M FELICIANO ROMAN                ADDRESS ON FILE
FLOR M LAUREANO RAMOS                 ADDRESS ON FILE
FLOR M LAUREANO RAMOS                 ADDRESS ON FILE
FLOR M LOPEZ RIVERA                   ADDRESS ON FILE
FLOR M ORTIZ VARGAS                   ADDRESS ON FILE
FLOR M PENA GUZMAN                    ADDRESS ON FILE
FLOR M RIVERA ALMODOVAR               ADDRESS ON FILE
FLOR M RIVERA VAZQUEZ                 ADDRESS ON FILE
FLOR M RUIZ MANZANO                   ADDRESS ON FILE
FLOR M SUAREZ RIVERA                  ADDRESS ON FILE
FLOR M TOLEDO ESCALANTE               ADDRESS ON FILE
FLOR M. BENITEZ TORRES                ADDRESS ON FILE
FLOR M. SANCHEZ RAMOS                 ADDRESS ON FILE
FLOR MARIA ALVAREZ PEREZ              ADDRESS ON FILE
FLOR MARIA DIAZ FONTAN                ADDRESS ON FILE
FLOR MARIA SANTRE CEPEDA              ADDRESS ON FILE
FLOR MARQUEZ                          ADDRESS ON FILE
FLOR MARTINEZ RAMIREZ                 ADDRESS ON FILE
FLOR MELENDEZ                         ADDRESS ON FILE
FLOR MELENDEZ MONTANEZ                ADDRESS ON FILE
FLOR MELENDEZ MONTANEZ                ADDRESS ON FILE
FLOR MUNIZ YORDAN                     ADDRESS ON FILE




                                                                                                Page 2905 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2906 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                      Address1                  Address2                            Address3   Address4   City          State   PostalCode   Country
FLOR MUNIZ YORDAN                  ADDRESS ON FILE
FLOR N VELEZ DIAZ                  ADDRESS ON FILE
FLOR ORTIZ QUIROS                  ADDRESS ON FILE
FLOR PINA SOLERO                   ADDRESS ON FILE
FLOR ROBLES GOMEZ                  ADDRESS ON FILE
FLOR RODRIGUEZ MENDEZ              ADDRESS ON FILE
FLOR RUIZ MANZANO                  ADDRESS ON FILE
FLOR SAENZ CARRION                 ADDRESS ON FILE
FLOR SAENZ RAMOS                   ADDRESS ON FILE
FLOR VAZQUEZ AIR CONDITION, INC.   HC 6 BOX 2300                                                                       PONCE         PR      00731
FLORA ANDINO CATALAN               ADDRESS ON FILE
FLORA BRANE GARCET                 ADDRESS ON FILE
FLORA BY ARQUETIPO                 ADDRESS ON FILE
FLORA BY ARQUETIPO INC             PO BOX 16572                                                                        SAN JUAN      PR      00908
FLORA COLON HERNANDEZ              ADDRESS ON FILE
FLORA DAVILA PINERO                ADDRESS ON FILE
FLORA E MUNOZ RIVERA               ADDRESS ON FILE
FLORA E VEGA ALMODOVAR             ADDRESS ON FILE
FLORA FAGET LOPEZ                  ADDRESS ON FILE
Flora Gutierrez, Ricardo           ADDRESS ON FILE
FLORA L MANON HERRERA              ADDRESS ON FILE
FLORA M HERRERO DE LEE             ADDRESS ON FILE
FLORA M TORRES SANTIAGO            ADDRESS ON FILE
FLORA ORTIZ, JORGE                 ADDRESS ON FILE
FLORA SANCHEZ SANTIAGO             ADDRESS ON FILE
FLORA SANTIAGO, EMELINA            ADDRESS ON FILE
Flora Santiago, Ricardo            ADDRESS ON FILE
FLORA SOTO MARTINEZ                ADDRESS ON FILE
FLORA Y ADIANTUM                   ADDRESS ON FILE
FLORABEL R TORO RODRIGUEZ          ADDRESS ON FILE
Floran Adorno, Josue               ADDRESS ON FILE
FLORAN ADORNO, JOSUE               ADDRESS ON FILE
FLORAN CREATIVE METAL, LLC         CALLE GALICIA AK‐77       SANTA JUANITA                                             BAYAMON       PR      00956
FLORAN DIAZ, EDWIN                 ADDRESS ON FILE
FLORAN DIAZ, JOSE F                ADDRESS ON FILE
FLORAN DIAZ, PABLO                 ADDRESS ON FILE
FLORAN DIAZ, PABLO                 ADDRESS ON FILE
FLORAN HERNANDEZ, MARITZA          ADDRESS ON FILE
FLORAN RIVERA, JOSE A              ADDRESS ON FILE
FLORAN RODRIGUEZ, ABRAHAM          ADDRESS ON FILE
FLORAN RODRIGUEZ, EFRAIN           ADDRESS ON FILE
FLORAN RODRIGUEZ, ELIAS            ADDRESS ON FILE
FLORAN RODRIGUEZ, MIGUEL A         ADDRESS ON FILE
FLORAN RODRIGUEZ, NEHEMIAS         ADDRESS ON FILE
FLORAN ROSARIO,ALEJANDRA M.        ADDRESS ON FILE
FLORAN SANCHEZ, LUIS A             ADDRESS ON FILE
FLORAN TIRADO, JOSE                ADDRESS ON FILE
FLORAN VAZQUEZ, JOSE A             ADDRESS ON FILE
FLORAN VAZQUEZ, MANUEL             ADDRESS ON FILE
FLORAN VAZQUEZ, MANUEL             ADDRESS ON FILE
FLORAN, LLC                        ACQUALINA                 186 CARR 2 APT 402                                        GUAYNABO      PR      00966
FLORANGEL GERMOSO PENA             ADDRESS ON FILE
FLORE SANTIAGO, ISMAEL             ADDRESS ON FILE
FLORELIS DUQUE QUINONES            ADDRESS ON FILE
FLORENCE CHILD GUIDANCE CENTER     402 N FULTON ST                                                                     ALLENTOWN     PA      18102
FLORENCIA MERCADO LABOY            ADDRESS ON FILE
FLORENCIA QUINONES                 ADDRESS ON FILE
FLORENCIANI FLORRENCIANI, MILTON   ADDRESS ON FILE
FLORENCIANI VARGAS, ADA            ADDRESS ON FILE
FLORENCIANI VARGAS, ADA M          ADDRESS ON FILE




                                                                                  Page 2906 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2907 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                            Address1                            Address2                  Address3   Address4   City         State   PostalCode   Country
FLORENCIANI VARGAS, SONIA N              ADDRESS ON FILE
FLORENCIANO RAMOS, ADRIAN                ADDRESS ON FILE
FLORENCIO A PAYANO MEJIA                 ADDRESS ON FILE
FLORENCIO ARROYO IRIZARRY                ADDRESS ON FILE
FLORENCIO BERRIOS CASTRODAD              ADDRESS ON FILE
FLORENCIO DIAZ DIAZ                      ADDRESS ON FILE
FLORENCIO SANCHEZ, OMELGA                ADDRESS ON FILE
FLORENCIO SANTIAGO SESENTON              ADDRESS ON FILE
FLORENCIO SUAREZ MORCIGLIO               ADDRESS ON FILE
Florencio Torres Torres                  ADDRESS ON FILE
FLORENCIO VELEZ HERVAS                   ADDRESS ON FILE
FLORENTINA DE JESUS CARRASQUILLO         ADDRESS ON FILE
FLORENTINA DIAZ SANTOS                   ADDRESS ON FILE
FLORENTINA OTERO/ JOSE E RIVERA          ADDRESS ON FILE
FLORENTINA REYES SOTO                    ADDRESS ON FILE
FLORENTINA TIRADO SANTIAGO               ADDRESS ON FILE
FLORENTINA VAZQUEZ FIGUEROA              ADDRESS ON FILE
FLORENTINA VAZQUEZ FIGUEROA              ADDRESS ON FILE
FLORENTINO ALVAREZ LOZADA                ADDRESS ON FILE
FLORENTINO BAEZ BAEZ                     ADDRESS ON FILE
FLORENTINO BELTRAN CARDONA               ADDRESS ON FILE
FLORENTINO BLANCO                        ADDRESS ON FILE
FLORENTINO CALCANO PIZARRO               ADDRESS ON FILE
FLORENTINO CASTRO Y CARMEN N PAGÁN       ADDRESS ON FILE
FLORENTINO CINTRON CINTRON               ADDRESS ON FILE
FLORENTINO LOZADA MERCADO                ADDRESS ON FILE
FLORENTINO RODRIGUEZ IRIZARRY            ADDRESS ON FILE
FLORENTINO ROSARIO TEBERA                ADDRESS ON FILE
FLORENTINO VARGAS SANCHEZ                ADDRESS ON FILE
FLORENTINO VILLEGAS CATALA               ADDRESS ON FILE
FLORES & FEBLES INSURANCE BROKERS CORP   5900 AVE ISLA VERDE STE 2 PMB 323                                                   CAROLINA     PR      00979‐5747
FLORES A ACEVEDO GONZALEZ                ADDRESS ON FILE
FLORES ACEVEDO, DAYRA                    ADDRESS ON FILE
FLORES ACEVEDO, IVY                      ADDRESS ON FILE
FLORES ACEVEDO, JESUS M.                 ADDRESS ON FILE
FLORES ACEVEDO, JOSE                     ADDRESS ON FILE
FLORES ACEVEDO, MARIA A                  ADDRESS ON FILE
FLORES ACEVEDO, WILFREDO                 ADDRESS ON FILE
FLORES ACOSTA, CARMEN M                  ADDRESS ON FILE
FLORES ACOSTA, EFRAIN                    ADDRESS ON FILE
FLORES ACOSTA, EFRAIN A.                 ADDRESS ON FILE
FLORES ACOSTA, ELVIN J                   ADDRESS ON FILE
FLORES ACOSTA, RAQUEL                    ADDRESS ON FILE
FLORES ACOSTA, RICHARD                   ADDRESS ON FILE
FLORES ACOSTA, SANDRA                    ADDRESS ON FILE
Flores Acosta, Victor J                  ADDRESS ON FILE
Flores Acosta, Wilberto J                ADDRESS ON FILE
FLORES ADAMS, QUISILINDA                 ADDRESS ON FILE
FLORES ADAMS, ROXAN M.                   ADDRESS ON FILE
FLORES ADORNO, ANA I.                    ADDRESS ON FILE
FLORES ADORNO, CARLOS L.                 ADDRESS ON FILE
FLORES ADORNO, CARMEN                    ADDRESS ON FILE
FLORES ADORNO, EDDIE Z                   ADDRESS ON FILE
FLORES ADORNO, LUZ V                     ADDRESS ON FILE
FLORES ADORNO, LUZ V                     ADDRESS ON FILE
FLORES ADORNO, RAFAEL                    ADDRESS ON FILE
FLORES ADORNO, REYNALDO                  ADDRESS ON FILE
FLORES AGOSTO, ANARIS                    ADDRESS ON FILE
FLORES AGOSTO, MARIA DE LOS A.           ADDRESS ON FILE
FLORES AGOSTO, MAYRA G                   ADDRESS ON FILE




                                                                                        Page 2907 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2908 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES AGOSTO, VICTOR M           ADDRESS ON FILE
FLORES AGRINSONI, MIGUEL          ADDRESS ON FILE
FLORES AGUAYO, JOSE A             ADDRESS ON FILE
FLORES ALAMO, PROVIDENCIA         ADDRESS ON FILE
FLORES ALBINO, JOSEFA             ADDRESS ON FILE
FLORES ALDUEN, DOEL J             ADDRESS ON FILE
FLORES ALICEA, CLARIZA            ADDRESS ON FILE
FLORES ALICEA, DIANA L.           ADDRESS ON FILE
FLORES ALICEA, IRIS               ADDRESS ON FILE
FLORES ALICEA, IRIS D             ADDRESS ON FILE
FLORES ALICEA, MARADIALI          ADDRESS ON FILE
FLORES ALMODOVAR MD, HECTOR       ADDRESS ON FILE
FLORES ALMODOVAR, GLORIA M        ADDRESS ON FILE
FLORES ALMODOVAR, MILAGROS        ADDRESS ON FILE
FLORES ALMODOVAR, RAUL            ADDRESS ON FILE
FLORES ALOMAR, LUIS               ADDRESS ON FILE
FLORES ALVAREZ, ANGEL             ADDRESS ON FILE
FLORES ALVAREZ, ASTRID            ADDRESS ON FILE
FLORES ALVAREZ, EVELISSE          ADDRESS ON FILE
FLORES ALVAREZ, GISELLE           ADDRESS ON FILE
FLORES ALVAREZ, LINO              ADDRESS ON FILE
FLORES ALVAREZ, RAMSES            ADDRESS ON FILE
FLORES ANTOMMARCHI, ROBERTO       ADDRESS ON FILE
FLORES ANTOMMARCHI, ROBERTO       ADDRESS ON FILE
FLORES APONTE MD, HECTOR L        ADDRESS ON FILE
Flores Aponte, Abraham            ADDRESS ON FILE
FLORES APONTE, FRANCISCO          ADDRESS ON FILE
FLORES APONTE, HECTOR             ADDRESS ON FILE
FLORES APONTE, JOSE IVAN          ADDRESS ON FILE
FLORES APONTE, MARIA DE LOURDES   ADDRESS ON FILE
FLORES APONTE, OLWIL              ADDRESS ON FILE
FLORES APONTE, RAFAEL             ADDRESS ON FILE
FLORES APONTE, SHEILA MARIE       ADDRESS ON FILE
FLORES AQUINO, MARILYN            ADDRESS ON FILE
FLORES ARBOLAY, ELSIE             ADDRESS ON FILE
Flores Arce, Valentin             ADDRESS ON FILE
FLORES AROCHO, FELIPE             ADDRESS ON FILE
FLORES ARROYO, HELIA              ADDRESS ON FILE
FLORES ARROYO, REGALADA           ADDRESS ON FILE
FLORES ARROYO, VANESSA            ADDRESS ON FILE
FLORES ASTACIO, YAZMIN            ADDRESS ON FILE
FLORES AVILA, WILBERTO            ADDRESS ON FILE
Flores Ayala, Ivan                ADDRESS ON FILE
FLORES AYALA, LYDIA               ADDRESS ON FILE
FLORES AYALA, NEFTALI             ADDRESS ON FILE
Flores Ayala, Pedro               ADDRESS ON FILE
FLORES AYALA, WANDA               ADDRESS ON FILE
FLORES AYALAS, JOSE               ADDRESS ON FILE
FLORES AYUSO, HECTOR M            ADDRESS ON FILE
FLORES AYUSO, JUAN                ADDRESS ON FILE
FLORES BAEZ, CARLOS               ADDRESS ON FILE
FLORES BAEZ, CARMEN               ADDRESS ON FILE
FLORES BAEZ, CARMEN               ADDRESS ON FILE
FLORES BAEZ, ISMAEL               ADDRESS ON FILE
FLORES BAEZ, ISRAEL               ADDRESS ON FILE
FLORES BAEZ, JOSE                 ADDRESS ON FILE
FLORES BAGU, LAURA E              ADDRESS ON FILE
FLORES BARRETO, DAVID             ADDRESS ON FILE
FLORES BARRETO, ILLIADYS A        ADDRESS ON FILE
FLORES BARRIOS, ANGEL R           ADDRESS ON FILE




                                                                              Page 2908 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2909 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES BENITEZ, STEPHANIE           ADDRESS ON FILE
FLORES BENITEZ, VANESSA             ADDRESS ON FILE
FLORES BERGANZA, ROBERTO            ADDRESS ON FILE
FLORES BERMUDEZ, ALBERTO            ADDRESS ON FILE
FLORES BERMUDEZ, AMARILIS           ADDRESS ON FILE
Flores Bermudez, Elvin L            ADDRESS ON FILE
FLORES BERMUDEZ, HECTOR L           ADDRESS ON FILE
FLORES BERMUDEZ, HECTOR R.          ADDRESS ON FILE
FLORES BERMUDEZ, JEANNETTE          ADDRESS ON FILE
FLORES BERMUDEZ, JOSE               ADDRESS ON FILE
FLORES BERMUDEZ, MARIA E.           ADDRESS ON FILE
FLORES BERMUDEZ, RONALD             ADDRESS ON FILE
FLORES BERNIER, KERMIT              ADDRESS ON FILE
FLORES BERRIOS, NEMESIS M           ADDRESS ON FILE
FLORES BERRIOS, RAYDA L             ADDRESS ON FILE
FLORES BETANCOURT, CARMEN L         ADDRESS ON FILE
FLORES BETANCOURT, EFRAIN           ADDRESS ON FILE
FLORES BETANCOURT, FELICITA         ADDRESS ON FILE
FLORES BETANCOURT, LESLIE           ADDRESS ON FILE
FLORES BETANCOURT, MIGUEL           ADDRESS ON FILE
FLORES BETANCOURT, MYRIAM           ADDRESS ON FILE
FLORES BIDO, MARIA P                ADDRESS ON FILE
FLORES BIRRIEL, ERIKA               ADDRESS ON FILE
FLORES BONILLA, ERICKSONA           ADDRESS ON FILE
FLORES BONILLA, ERIKA               ADDRESS ON FILE
FLORES BONILLA, FELICITA            ADDRESS ON FILE
FLORES BONILLA, LUIS A              ADDRESS ON FILE
FLORES BONILLA, LUZ A               ADDRESS ON FILE
FLORES BONILLA, MARIA               ADDRESS ON FILE
FLORES BONILLA, MAYRA               ADDRESS ON FILE
FLORES BONILLA, NINOSHKA Y          ADDRESS ON FILE
FLORES BONILLA, ROBERTO             ADDRESS ON FILE
FLORES BONILLA, VILMA               ADDRESS ON FILE
FLORES BORGES, DAMARIS              ADDRESS ON FILE
FLORES BORGES, ELVIN                ADDRESS ON FILE
FLORES BORGES, NILDA R              ADDRESS ON FILE
FLORES BORRERO, MARCELA DEL PILAR   ADDRESS ON FILE
FLORES BOSQUE, MAGDA                ADDRESS ON FILE
Flores Bosques, Alvin               ADDRESS ON FILE
FLORES BULA, IVAN                   ADDRESS ON FILE
FLORES BUS LINE INC.                PO BOX 1193                                                                      LAJAS        PR      00667
FLORES CABALLERO, BARBARA           ADDRESS ON FILE
FLORES CABALLERO, GLORIA            ADDRESS ON FILE
FLORES CABAN MD, LUIS               ADDRESS ON FILE
FLORES CABAN, DAVID                 ADDRESS ON FILE
FLORES CABASSA, GLORYCER            ADDRESS ON FILE
FLORES CABRERA, ANABEL              ADDRESS ON FILE
FLORES CACERES, ROSA                ADDRESS ON FILE
FLORES CACERES, VICTOR M            ADDRESS ON FILE
FLORES CALABRIA, JUNA               ADDRESS ON FILE
FLORES CALDER, SHIRLEY              ADDRESS ON FILE
FLORES CALDERON, JESSICA            ADDRESS ON FILE
FLORES CALDERON, MARIBEL            ADDRESS ON FILE
FLORES CALDONA, JORGE               ADDRESS ON FILE
FLORES CAMACHO MD, AXEL D           ADDRESS ON FILE
FLORES CAMACHO, CARMEN              ADDRESS ON FILE
FLORES CAMACHO, MAYRA I             ADDRESS ON FILE
FLORES CAMACHO, OSCAR               ADDRESS ON FILE
FLORES CAMACHO, RAFAEL              ADDRESS ON FILE
FLORES CAMACHO, VERLYANE            ADDRESS ON FILE




                                                                                Page 2909 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2910 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
FLORES CAMACHO, WILSON           ADDRESS ON FILE
Flores Camacho, Yanira Ivonne    ADDRESS ON FILE
FLORES CAMILO, JOSE A.           ADDRESS ON FILE
FLORES CAMILO, LUZ M             ADDRESS ON FILE
FLORES CANALES, JORGE            ADDRESS ON FILE
Flores Canales, Jorge A          ADDRESS ON FILE
FLORES CANALES, YADMILA          ADDRESS ON FILE
FLORES CANCEL, WANDA             ADDRESS ON FILE
FLORES CANDELARIA, RAFAEL        ADDRESS ON FILE
Flores Candelaria, Rafael J      ADDRESS ON FILE
FLORES CANDELARIO, EVELYN        ADDRESS ON FILE
FLORES CANDELARIO, NOELIA        ADDRESS ON FILE
FLORES CAPELES, JOSE R.          ADDRESS ON FILE
FLORES CARABALL, VERONICA        ADDRESS ON FILE
FLORES CARABALLO, ABIGAIL        ADDRESS ON FILE
FLORES CARABALLO, GEORGINA       ADDRESS ON FILE
FLORES CARABALLO, IRIS N         ADDRESS ON FILE
FLORES CARABALLO, LUIS           ADDRESS ON FILE
FLORES CARABALLO, MARIA D        ADDRESS ON FILE
FLORES CARBONELL, CARLOS A       ADDRESS ON FILE
FLORES CARDONA, ESTEBAN          ADDRESS ON FILE
FLORES CARDONA, MIGDALIA         ADDRESS ON FILE
FLORES CARDONA, RUBEN            ADDRESS ON FILE
FLORES CARMONA, CELESTINO        ADDRESS ON FILE
FLORES CARMONA, ELVIN            ADDRESS ON FILE
FLORES CARMONA, MARILYN          ADDRESS ON FILE
FLORES CARO, MIGUEL              ADDRESS ON FILE
FLORES CARPIO, EFRAIN            ADDRESS ON FILE
FLORES CARRASQUILLO, ARSENIO     ADDRESS ON FILE
FLORES CARRASQUILLO, FELIPE      ADDRESS ON FILE
Flores Carrasquillo, Jose L      ADDRESS ON FILE
FLORES CARRASQUILLO, JUAN        ADDRESS ON FILE
FLORES CARRASQUILLO, KATHERINE   ADDRESS ON FILE
FLORES CARRASQUILLO, LILLIAN     ADDRESS ON FILE
FLORES CARRASQUILLO, MARLEN      ADDRESS ON FILE
FLORES CARRASQUILLO, RENE        ADDRESS ON FILE
FLORES CARRASQUILLO, RUBEN       ADDRESS ON FILE
FLORES CARRASQUILLO, RUTH        ADDRESS ON FILE
Flores Carreras, Felix Ramon     ADDRESS ON FILE
FLORES CARRILLO, CARMEN          ADDRESS ON FILE
FLORES CARRION, ANTONIA          ADDRESS ON FILE
FLORES CARRION, CARMEN           ADDRESS ON FILE
FLORES CARRION, FELIX F          ADDRESS ON FILE
FLORES CARRION, JUAN             ADDRESS ON FILE
FLORES CARRION, MARISEL          ADDRESS ON FILE
FLORES CARRION, NOELIA           ADDRESS ON FILE
FLORES CARRION, VICTOR           ADDRESS ON FILE
FLORES CASAS MARGARITA INC       PO BOX 1527                                                                      LAS PIEDRAS     PR      00771
FLORES CASIANO, EDUARDO          ADDRESS ON FILE
FLORES CASIANO, VERENA           ADDRESS ON FILE
FLORES CASILLAS, KARLA           ADDRESS ON FILE
FLORES CASILLLAS, CARLOS M       ADDRESS ON FILE
FLORES CASTILLO, BLANCA R.       ADDRESS ON FILE
FLORES CASTILLO, LESLIE S        ADDRESS ON FILE
FLORES CASTILLO, LUIS R.         ADDRESS ON FILE
FLORES CASTILLO, VIRGINIA        ADDRESS ON FILE
FLORES CASTRO, CARMEN D          ADDRESS ON FILE
FLORES CASTRO, HECTOR            ADDRESS ON FILE
FLORES CASTRO, JORGE J.          ADDRESS ON FILE
Flores Castro, Minerva           ADDRESS ON FILE




                                                                             Page 2910 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2911 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES CASTRO, SUSANA          ADDRESS ON FILE
FLORES CENTENO, YARELISE       ADDRESS ON FILE
FLORES CHAPARRO, CARMEN N      ADDRESS ON FILE
FLORES CHARNECO, SANTIAGO      ADDRESS ON FILE
FLORES CHARRIEZ, ROSA E        ADDRESS ON FILE
FLORES CHEVERE MD, VICTOR L    ADDRESS ON FILE
FLORES CINTRON, GERARDO        ADDRESS ON FILE
FLORES CINTRON, NELLY          ADDRESS ON FILE
FLORES CLAUDIO, EUNICE         ADDRESS ON FILE
FLORES CLAVIJO, GREGORIO       ADDRESS ON FILE
FLORES COLLADO, ILEANA M.      ADDRESS ON FILE
FLORES COLLAZO, ANGEL          ADDRESS ON FILE
FLORES COLLAZO, CECILIA        ADDRESS ON FILE
FLORES COLON, ABIGAIL          ADDRESS ON FILE
FLORES COLON, ALICIA           ADDRESS ON FILE
FLORES COLON, ANGEL            ADDRESS ON FILE
FLORES COLON, ANGEL M          ADDRESS ON FILE
FLORES COLON, CARMEN D         ADDRESS ON FILE
FLORES COLON, DOMINGO R.       ADDRESS ON FILE
Flores Colon, Edith            ADDRESS ON FILE
FLORES COLON, EFRAIN           ADDRESS ON FILE
FLORES COLON, EVELYN           ADDRESS ON FILE
FLORES COLON, EVELYN           ADDRESS ON FILE
FLORES COLON, EVELYN           ADDRESS ON FILE
FLORES COLON, GLADYS           ADDRESS ON FILE
FLORES COLON, ISABEL           ADDRESS ON FILE
FLORES COLON, IVELIZE          ADDRESS ON FILE
FLORES COLON, JANIRA           ADDRESS ON FILE
FLORES COLON, JEAN CARLOS      ADDRESS ON FILE
FLORES COLON, JOEL             ADDRESS ON FILE
FLORES COLON, JOHANNA          ADDRESS ON FILE
FLORES COLON, JOSE A           ADDRESS ON FILE
Flores Colon, Jose F           ADDRESS ON FILE
FLORES COLON, JOSE L.          ADDRESS ON FILE
FLORES COLON, JUSTO            ADDRESS ON FILE
Flores Colon, Luis             ADDRESS ON FILE
FLORES COLON, MARIA A          ADDRESS ON FILE
Flores Colon, Maria De Los A   ADDRESS ON FILE
FLORES COLON, MARIA J          ADDRESS ON FILE
FLORES COLON, MARJORIE         ADDRESS ON FILE
FLORES COLON, MICHAEL          ADDRESS ON FILE
Flores Colon, Migdalia         ADDRESS ON FILE
FLORES COLON, OMAR             ADDRESS ON FILE
FLORES COLON, RAUL             ADDRESS ON FILE
FLORES COLON, REINALDO         ADDRESS ON FILE
FLORES COLON, REY              ADDRESS ON FILE
FLORES COLON, REY FRANCISCO    ADDRESS ON FILE
Flores Colon, Saulo A          ADDRESS ON FILE
FLORES COLON, VICTOR           ADDRESS ON FILE
FLORES COLON, YESENIA          ADDRESS ON FILE
FLORES COMA, MARIBEL           ADDRESS ON FILE
FLORES CONCEPCION, JAN         ADDRESS ON FILE
FLORES CONCEPCION, JONATHAN    ADDRESS ON FILE
FLORES CONTRERAS, MILDRED      ADDRESS ON FILE
FLORES CORDERO, ADNELLYS       ADDRESS ON FILE
FLORES CORDERO, LUIS           ADDRESS ON FILE
FLORES CORREA, ARLENE          ADDRESS ON FILE
FLORES CORREA, CARLOS          ADDRESS ON FILE
Flores Cortes, Carlos M        ADDRESS ON FILE
FLORES CORTES, EDNA            ADDRESS ON FILE




                                                                           Page 2911 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2912 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES CORTES, EVELYN       ADDRESS ON FILE
FLORES CORTES, LUCIANO      ADDRESS ON FILE
FLORES CORTES, LUCIANO      ADDRESS ON FILE
FLORES CORTES, MARISOL      ADDRESS ON FILE
FLORES CORTES, MICHAEL D.   ADDRESS ON FILE
FLORES CORTES, MORAIMA      ADDRESS ON FILE
FLORES CORTES, ORLANDO      ADDRESS ON FILE
Flores Cortes, Orlando A    ADDRESS ON FILE
FLORES COSME, CORAL         ADDRESS ON FILE
FLORES COSS, YAZMIN         ADDRESS ON FILE
FLORES COTTE, ANTONIO       ADDRESS ON FILE
FLORES COTTE, JOSE A.       ADDRESS ON FILE
FLORES COTTO, ISMAEL        ADDRESS ON FILE
FLORES COTTO, MARGARITA     ADDRESS ON FILE
FLORES COTTO, MAYRA         ADDRESS ON FILE
FLORES COTTO, MORAIMA       ADDRESS ON FILE
FLORES CRESPO, ELBA         ADDRESS ON FILE
FLORES CRESPO, EVA          ADDRESS ON FILE
FLORES CRESPO, JORGE        ADDRESS ON FILE
FLORES CRESPO, JOSE O.      ADDRESS ON FILE
FLORES CRESPO, JOSE O.      ADDRESS ON FILE
FLORES CRESPO, JUANA M      ADDRESS ON FILE
FLORES CRESPO, LUIS A.      ADDRESS ON FILE
FLORES CRESPO, MARIA S      ADDRESS ON FILE
FLORES CRESPO, MYRIAM C.    ADDRESS ON FILE
FLORES CRUZ, AMALKY J       ADDRESS ON FILE
FLORES CRUZ, ANA            ADDRESS ON FILE
FLORES CRUZ, ANA E          ADDRESS ON FILE
FLORES CRUZ, ANGEL L        ADDRESS ON FILE
FLORES CRUZ, CARLOS         ADDRESS ON FILE
FLORES CRUZ, CARLOS A       ADDRESS ON FILE
FLORES CRUZ, CARMELO        ADDRESS ON FILE
FLORES CRUZ, CRISTOBAL      ADDRESS ON FILE
Flores Cruz, Cruz           ADDRESS ON FILE
FLORES CRUZ, EDGAR          ADDRESS ON FILE
FLORES CRUZ, EDNA M         ADDRESS ON FILE
FLORES CRUZ, EILEEN Y       ADDRESS ON FILE
Flores Cruz, Elba           ADDRESS ON FILE
FLORES CRUZ, EMILIO         ADDRESS ON FILE
FLORES CRUZ, FERNANDO       ADDRESS ON FILE
FLORES CRUZ, IDALIA         ADDRESS ON FILE
FLORES CRUZ, ISABEL         ADDRESS ON FILE
FLORES CRUZ, JAVIER         ADDRESS ON FILE
Flores Cruz, Jorge          ADDRESS ON FILE
FLORES CRUZ, JOSE           ADDRESS ON FILE
FLORES CRUZ, JOSE G         ADDRESS ON FILE
FLORES CRUZ, KAREN          ADDRESS ON FILE
FLORES CRUZ, LEILA          ADDRESS ON FILE
FLORES CRUZ, LISANDRA       ADDRESS ON FILE
FLORES CRUZ, LUIS E.        ADDRESS ON FILE
FLORES CRUZ, LUIS ENRIQUE   ADDRESS ON FILE
FLORES CRUZ, LYSANDRA       ADDRESS ON FILE
FLORES CRUZ, MARIA J        ADDRESS ON FILE
FLORES CRUZ, MARIANO        ADDRESS ON FILE
FLORES CRUZ, MERALYS        ADDRESS ON FILE
FLORES CRUZ, NEIMARI        ADDRESS ON FILE
FLORES CRUZ, NIXSALIS       ADDRESS ON FILE
FLORES CRUZ, ROSA           ADDRESS ON FILE
FLORES CRUZ, ROSA I         ADDRESS ON FILE
FLORES CRUZ, SAMUEL         ADDRESS ON FILE




                                                                        Page 2912 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2913 of 3500
                                                                            17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                Address1                   Address2                              Address3              Address4   City         State   PostalCode   Country
FLORES CRUZ, SAMUEL          ADDRESS ON FILE
FLORES CRUZ, SERGIO          ADDRESS ON FILE
FLORES CRUZ, SOPHIA          ADDRESS ON FILE
FLORES CRUZ, STEFANIE        ADDRESS ON FILE
FLORES CRUZ, ZOMARY          ADDRESS ON FILE
Flores Cruzado, Luz D        ADDRESS ON FILE
FLORES CUADRADO, ANA         ADDRESS ON FILE
FLORES CUADRADO, DAISY       ADDRESS ON FILE
FLORES CUADRADO, EDGAR       ADDRESS ON FILE
FLORES CUADRADO, LUIS        ADDRESS ON FILE
FLORES CURET, EDGARD R       ADDRESS ON FILE
FLORES CURET, JENNIFER J     ADDRESS ON FILE
FLORES DASTA, JUAN R.        ADDRESS ON FILE
Flores Dasta, Maritza        ADDRESS ON FILE
FLORES DASTA, ZONNIA         ADDRESS ON FILE
FLORES DAVID, ADRIAN         ADDRESS ON FILE
FLORES DAVID, BERNARDO       ADDRESS ON FILE
FLORES DAVID, IVONNE         ADDRESS ON FILE
FLORES DAVILA, DAVID         ADDRESS ON FILE
FLORES DAVILA, EDNA E.       ADDRESS ON FILE
FLORES DAVILA, WILKINS       ADDRESS ON FILE
FLORES DE AMILL, EVELYN      ADDRESS ON FILE
FLORES DE CASTRO, IVETTE Y   ADDRESS ON FILE
FLORES DE HOSTOS MD, EDDY    ADDRESS ON FILE
FLORES DE JESUS VILMA        ALBERTO COURET             PO BOX 268                                                             CAROLINA     PR      00986‐0286
FLORES DE JESUS VILMA        ALONDRA FRAGA              PO BOX 29074                                                           SAN JUAN     PR      00929
FLORES DE JESUS VILMA        RAFAEL DÁVILA (ASEM)       PO BOX 2129                                                            SAN JUAN     PR      00922‐2129
FLORES DE JESUS, ADA I       ADDRESS ON FILE
FLORES DE JESUS, ADA IRIS    ADDRESS ON FILE
FLORES DE JESUS, AURORA      ADDRESS ON FILE
FLORES DE JESUS, BRENDA      ADDRESS ON FILE
FLORES DE JESUS, EDDIE       ADDRESS ON FILE
FLORES DE JESUS, GERARDO     ADDRESS ON FILE
FLORES DE JESUS, JACKELINE   ADDRESS ON FILE
FLORES DE JESUS, JESMAR      ADDRESS ON FILE
FLORES DE JESUS, JORGE L.    ADDRESS ON FILE
FLORES DE JESUS, JOSE M.     ADDRESS ON FILE
FLORES DE JESUS, JULISSA     ADDRESS ON FILE
FLORES DE JESUS, LIZZIE      ADDRESS ON FILE
FLORES DE JESUS, NAILEEN     ADDRESS ON FILE
FLORES DE JESUS, OMAR        ADDRESS ON FILE
FLORES DE JESUS, RAUL        ADDRESS ON FILE
FLORES DE JESUS, REINALDO    ADDRESS ON FILE
FLORES DE JESUS, ROBERTO     ADDRESS ON FILE
FLORES DE JESUS, VILMA       ADDRESS ON FILE
FLORES DE LA CRUZ, GERSON    ADDRESS ON FILE
FLORES DE LEON, NELIDA       ADDRESS ON FILE
FLORES DE LEON, NORIAM       ADDRESS ON FILE
FLORES DE SIACA, JUANITA     ADDRESS ON FILE
FLORES DEL TORO, AUREA L     ADDRESS ON FILE
FLORES DEL TORO, JULIA C     ADDRESS ON FILE
                                                                                              1473 AVENIDA WILSON
FLORES DEL VALLE JUAN C.     LCDA. MARIANA BULA         THE TOWER AT CONDADO                  SUITE 304                        SAN JUAN     PR      00907
                                                                                              1473 AVENIDA WILSON
FLORES DEL VALLE JUAN C.     LCDA. MAYRA LÓPEZ MULERO   THE TOWER AT CONDADO                  SUITE 304                        SAN JUAN     PR      00907
                                                                                              1473 AVENIDA WILSON
FLORES DEL VALLE JUAN C.     LCDA. XAIRA SANTIAGO       THE TOWER AT CONDADO                  SUITE 304                        SAN JUAN     PR      00907
FLORES DEL VALLE, KAREN A    ADDRESS ON FILE
FLORES DEL VALLE, MERCEDES   ADDRESS ON FILE
FLORES DEL VALLE, RICARDO    ADDRESS ON FILE




                                                                               Page 2913 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2914 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                  Address1                         Address2                                     Address3       Address4   City         State   PostalCode   Country
FLORES DEL VALLE, SHARON       ADDRESS ON FILE
FLORES DELGADO, ERNESTO        ADDRESS ON FILE
FLORES DELGADO, ERNESTO        ADDRESS ON FILE
FLORES DELGADO, GERARDO        ADDRESS ON FILE
FLORES DELGADO, LEANDRO        ADDRESS ON FILE
FLORES DELGADO, LYMARIE        ADDRESS ON FILE
FLORES DELGADO, MARIA M        ADDRESS ON FILE
FLORES DELGADO, PASCUAL        ADDRESS ON FILE
FLORES DELGADO, ROLANDO        ADDRESS ON FILE
FLORES DELGADO, VIRGINIA       ADDRESS ON FILE
FLORES DENIS, DANIEL           ADDRESS ON FILE
FLORES DIAZ, ABNER             ADDRESS ON FILE
FLORES DIAZ, ANGEL D.          ADDRESS ON FILE
FLORES DIAZ, CARMEN M          ADDRESS ON FILE
FLORES DIAZ, CARMEN M.         ADDRESS ON FILE
FLORES DIAZ, DANA G            ADDRESS ON FILE
FLORES DIAZ, EVELYN            ADDRESS ON FILE
FLORES DIAZ, FERNANDO          ADDRESS ON FILE
FLORES DIAZ, GICELA            ADDRESS ON FILE
FLORES DIAZ, GLADYS            ADDRESS ON FILE
FLORES DIAZ, JACQUELINE        ADDRESS ON FILE
Flores Diaz, Jaime             ADDRESS ON FILE
FLORES DIAZ, JENIFFER          ADDRESS ON FILE
FLORES DIAZ, JESUS M.          ADDRESS ON FILE
FLORES DIAZ, JOHANIS           ADDRESS ON FILE
FLORES DIAZ, JORGE L.          ADDRESS ON FILE
FLORES DIAZ, JOSE A.           ADDRESS ON FILE
FLORES DIAZ, JUDITH            ADDRESS ON FILE
FLORES DIAZ, LEANDRO           ADDRESS ON FILE
FLORES DIAZ, LEANDRO           L CDA. GENOVEVA VALENTIN SOTO    SERVIDORES PÚBLICOS UNIDOS DE                PO BOX 13695              SAN JUAN     PR      00908‐3695
FLORES DIAZ, LUIS              ADDRESS ON FILE
FLORES DIAZ, NATALY            ADDRESS ON FILE
FLORES DIAZ, OMAR              ADDRESS ON FILE
FLORES DIAZ, OMAR              LCDO. PEDRO JOEL LANDARU LOPEZ   AVE. DOMENECH 207                            OFICINA 106               SAN JUAN     PR      00918
FLORES DIAZ, OMAR              ADDRESS ON FILE
FLORES DIAZ, OMAR              ADDRESS ON FILE
FLORES DIAZ, RAFAEL A.         ADDRESS ON FILE
FLORES DIAZ, RAMON J.          ADDRESS ON FILE
FLORES DIAZ, RAMONA            ADDRESS ON FILE
FLORES DIAZ, SALLY             ADDRESS ON FILE
FLORES DIAZ, SONIA             ADDRESS ON FILE
FLORES DIAZ, VICTOR            ADDRESS ON FILE
FLORES DIAZ, YOLANDA V.        ADDRESS ON FILE
FLORES DIAZ, ZAIDA M           ADDRESS ON FILE
FLORES DIEPPA, CARLOS          ADDRESS ON FILE
FLORES DIEPPA, CHRISTIAN       ADDRESS ON FILE
FLORES DIEPPA, LUIS A.         ADDRESS ON FILE
FLORES DONES, ARVIN            ADDRESS ON FILE
FLORES DONES, ROZAHURY         ADDRESS ON FILE
FLORES DUENO, SANDRA           ADDRESS ON FILE
FLORES DUQUE, FELIMAR          ADDRESS ON FILE
FLORES ECHEVARRIA, PEDRO L     ADDRESS ON FILE
FLORES ENCARNACION, ALEX       ADDRESS ON FILE
FLORES ENCARNACION, CARMEN M   ADDRESS ON FILE
FLORES ESCRIBANO, FRANCISCO    ADDRESS ON FILE
FLORES ESCRIBANO, MIGUEL       ADDRESS ON FILE
FLORES ESMURRIA, RUTH          ADDRESS ON FILE
FLORES ESQUILIN, SHERLEY       ADDRESS ON FILE
FLORES ESTADES, JOSE           ADDRESS ON FILE
FLORES ESTRADA, CARMEN         ADDRESS ON FILE




                                                                                           Page 2914 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2915 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES ESTRONZA, LINETTE      ADDRESS ON FILE
FLORES FALCON, CARMEN E       ADDRESS ON FILE
FLORES FEBO, MICHELLE         ADDRESS ON FILE
FLORES FEBRES, JEANNETTE      ADDRESS ON FILE
FLORES FEBRES, JENNY I        ADDRESS ON FILE
FLORES FELICIANO, ANGELA      ADDRESS ON FILE
FLORES FELICIANO, JAVIER R.   ADDRESS ON FILE
FLORES FELICIANO, LEONARDO    ADDRESS ON FILE
FLORES FELICIANO, LYDIA       ADDRESS ON FILE
FLORES FELICIANO, OLGA M      ADDRESS ON FILE
Flores Fernandez, Arianys     ADDRESS ON FILE
FLORES FERNANDEZ, DAISY       ADDRESS ON FILE
FLORES FERNANDEZ, EDDIE       ADDRESS ON FILE
FLORES FERNANDEZ, ENID        ADDRESS ON FILE
FLORES FERNANDEZ, JANISSE     ADDRESS ON FILE
FLORES FERNANDEZ, JANISSE     ADDRESS ON FILE
FLORES FERNANDEZ, JANISSE     ADDRESS ON FILE
FLORES FERNANDEZ, PABLO       ADDRESS ON FILE
FLORES FERREIRO, LUIS M       ADDRESS ON FILE
FLORES FERRER, CARLOS         ADDRESS ON FILE
FLORES FIGUEROA, AIDA         ADDRESS ON FILE
FLORES FIGUEROA, ANGEL        ADDRESS ON FILE
FLORES FIGUEROA, AUSBERTO     ADDRESS ON FILE
FLORES FIGUEROA, AUSBERTO     ADDRESS ON FILE
FLORES FIGUEROA, EFRAIN       ADDRESS ON FILE
FLORES FIGUEROA, FRANCES      ADDRESS ON FILE
FLORES FIGUEROA, GUILLERMO    ADDRESS ON FILE
FLORES FIGUEROA, IRIS Y.      ADDRESS ON FILE
FLORES FIGUEROA, JOSE         ADDRESS ON FILE
FLORES FIGUEROA, MELVIN E     ADDRESS ON FILE
FLORES FIGUEROA, MIGUEL       ADDRESS ON FILE
FLORES FIGUEROA, SAMALIS      ADDRESS ON FILE
FLORES FIGUEROA, VIOLETA      ADDRESS ON FILE
FLORES FIGUEROA, ZORAIDA      ADDRESS ON FILE
FLORES FLANCO, LUISA          ADDRESS ON FILE
FLORES FLORES, ALBERTO        ADDRESS ON FILE
FLORES FLORES, AMARILYS       ADDRESS ON FILE
FLORES FLORES, AMARILYS       POR DDERECHO PROPIO       PO BOX 177                                             COMERIO      PR      00782
FLORES FLORES, ANA            ADDRESS ON FILE
FLORES FLORES, ANGEL M        ADDRESS ON FILE
FLORES FLORES, CARMEN A       ADDRESS ON FILE
FLORES FLORES, CARMEN L       ADDRESS ON FILE
FLORES FLORES, CARMEN M       ADDRESS ON FILE
FLORES FLORES, CECILIA        ADDRESS ON FILE
FLORES FLORES, FRANCISCO      ADDRESS ON FILE
FLORES FLORES, JAIME          ADDRESS ON FILE
FLORES FLORES, JENNIFER       ADDRESS ON FILE
FLORES FLORES, JORGE          ADDRESS ON FILE
FLORES FLORES, JOSSIE         ADDRESS ON FILE
FLORES FLORES, JULIO          ADDRESS ON FILE
FLORES FLORES, LUIS           ADDRESS ON FILE
Flores Flores, Luis A         ADDRESS ON FILE
Flores Flores, Luis Vidal     ADDRESS ON FILE
FLORES FLORES, MARILYN        ADDRESS ON FILE
FLORES FLORES, MIGUEL A       ADDRESS ON FILE
FLORES FLORES, NAOMI L.       ADDRESS ON FILE
FLORES FLORES, NEREIDA        ADDRESS ON FILE
FLORES FLORES, RICARDO        ADDRESS ON FILE
Flores Flores, Roberto        ADDRESS ON FILE
FLORES FLORES, RUTH D.        ADDRESS ON FILE




                                                                          Page 2915 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2916 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES FLORES, VICTOR J.         ADDRESS ON FILE
FLORES FLORES, VIRGINIA          ADDRESS ON FILE
FLORES FLORES, WALDEMAR N        ADDRESS ON FILE
FLORES FLORES, WANDA             ADDRESS ON FILE
FLORES FLORES, YAHAIRA           ADDRESS ON FILE
FLORES FONOLLOSA, EFRAIN         ADDRESS ON FILE
FLORES FONOLLOSA, PAULA          ADDRESS ON FILE
FLORES FONTANEZ, DAMARIS         ADDRESS ON FILE
FLORES FONTANEZ, ENRIQUE         ADDRESS ON FILE
FLORES FONTANEZ, INES            ADDRESS ON FILE
Flores Fontanez, Luis O.         ADDRESS ON FILE
FLORES FORASTIERI, INES          ADDRESS ON FILE
Flores Franco, Iraida            ADDRESS ON FILE
Flores Franco, Luis A            ADDRESS ON FILE
FLORES FUENTES, ANGEL            ADDRESS ON FILE
FLORES FUENTES, JOSE A.          ADDRESS ON FILE
FLORES FUENTES, MARIA DE LOS A   ADDRESS ON FILE
FLORES GALARZA, DORCAS           ADDRESS ON FILE
FLORES GALARZA, FERNANDO         ADDRESS ON FILE
FLORES GALARZA, HECTOR           ADDRESS ON FILE
Flores Galarza, Jose             ADDRESS ON FILE
FLORES GALARZA, JOSE             ADDRESS ON FILE
FLORES GALARZA, JOSE             ADDRESS ON FILE
FLORES GALARZA, JOSE             ADDRESS ON FILE
FLORES GALARZA, JUAN A           ADDRESS ON FILE
FLORES GALARZA, VICTOR M         ADDRESS ON FILE
Flores Galvez, Esteban           ADDRESS ON FILE
FLORES GARCED, ELSA              ADDRESS ON FILE
FLORES GARCIA, ANA               ADDRESS ON FILE
FLORES GARCIA, ANGEL             ADDRESS ON FILE
FLORES GARCIA, ARMANDO           ADDRESS ON FILE
FLORES GARCIA, ARMANDO           ADDRESS ON FILE
FLORES GARCIA, CARMEN            ADDRESS ON FILE
FLORES GARCIA, DESIREE           ADDRESS ON FILE
FLORES GARCIA, DOMINGO           ADDRESS ON FILE
FLORES GARCIA, FRANCES L         ADDRESS ON FILE
FLORES GARCIA, GERARDO           ADDRESS ON FILE
FLORES GARCIA, GLORIA            ADDRESS ON FILE
FLORES GARCIA, JONATHAN          ADDRESS ON FILE
FLORES GARCIA, JORGE N.          ADDRESS ON FILE
FLORES GARCIA, JOSE              ADDRESS ON FILE
FLORES GARCIA, JOSE A            ADDRESS ON FILE
FLORES GARCIA, KENNETH           ADDRESS ON FILE
FLORES GARCIA, LUIS              ADDRESS ON FILE
FLORES GARCIA, LUIS A            ADDRESS ON FILE
FLORES GARCIA, LUZ M             ADDRESS ON FILE
FLORES GARCIA, MARYERIS          ADDRESS ON FILE
FLORES GARCIA, MIGDALIA          ADDRESS ON FILE
FLORES GARCIA, YAMILETTE         ADDRESS ON FILE
FLORES GARCIA, ZULMARY           ADDRESS ON FILE
FLORES GARRIGA, FELIX            ADDRESS ON FILE
FLORES GARRIGA, FELIX            ADDRESS ON FILE
FLORES GARRIGA, ROBERTO          ADDRESS ON FILE
Flores Garriga, Roberto          ADDRESS ON FILE
FLORES GASTON, LUZ E             ADDRESS ON FILE
FLORES GAUTIER, ORI              ADDRESS ON FILE
FLORES GAYA VICTOR               ADDRESS ON FILE
FLORES GERENA, ANGEL             ADDRESS ON FILE
Flores Gerena, Angel L           ADDRESS ON FILE
FLORES GERENA, CARMEN H          ADDRESS ON FILE




                                                                             Page 2916 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2917 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                   Address1                         Address2                                     Address3                Address4   City        State   PostalCode    Country
Flores Giraud, Victor W         ADDRESS ON FILE
FLORES GOMEZ, EMIGDA            ADDRESS ON FILE
FLORES GOMEZ, ISMAEL            ADDRESS ON FILE
FLORES GOMEZ, LUZ C             ADDRESS ON FILE
FLORES GOMEZ, LUZ M             ADDRESS ON FILE
Flores Gomez, Marco Y           ADDRESS ON FILE
FLORES GOMEZ, MARIBEL           ADDRESS ON FILE
FLORES GOMEZ, NUBILUSTRE        ADDRESS ON FILE
FLORES GONZALEZ, ANA M          ADDRESS ON FILE
FLORES GONZALEZ, ANA R          ADDRESS ON FILE
FLORES GONZALEZ, CARLOS         ADDRESS ON FILE
FLORES GONZALEZ, CARLOS E       ADDRESS ON FILE
FLORES GONZALEZ, CARLOS J       ADDRESS ON FILE
Flores Gonzalez, Carlos J.      ADDRESS ON FILE
FLORES GONZALEZ, CARMEN         ADDRESS ON FILE
FLORES GONZALEZ, CESAR E        ADDRESS ON FILE
FLORES GONZALEZ, CHRISTIAN      ADDRESS ON FILE
FLORES GONZALEZ, ERVING         ADDRESS ON FILE
FLORES GONZALEZ, EVELYN         ADDRESS ON FILE
FLORES GONZALEZ, FRANCIS        ADDRESS ON FILE
Flores Gonzalez, Frederick      ADDRESS ON FILE
FLORES GONZÁLEZ, FREDERICK      LCDA. BRENDAIRIN CRUZ SANTIAGO   URB. VILLA DEL CARMEN                        2736 CALLE TOLEDO                  PONCE       PR      00716‐02235
Flores Gonzalez, Heriberto      ADDRESS ON FILE
FLORES GONZALEZ, HILDA I        ADDRESS ON FILE
FLORES GONZALEZ, IVAN           ADDRESS ON FILE
FLORES GONZALEZ, JEANNETTE      ADDRESS ON FILE
FLORES GONZALEZ, JOSE           ADDRESS ON FILE
Flores Gonzalez, Jose Antonio   ADDRESS ON FILE
Flores Gonzalez, Jose M.        ADDRESS ON FILE
                                                                                                              CALLE FLOR GERENA #51
FLORES GONZÁLEZ, JOSÉ M.        LCDA. RUTH E. AQUINO GARCÍA      LCDA. RUTH E. AQUINO GARCÍA                  (ALTOS)                            HUMACAO     PR      00791
FLORES GONZALEZ, JUANITA        ADDRESS ON FILE
FLORES GONZALEZ, LISSETTE       ADDRESS ON FILE
FLORES GONZALEZ, LOURDES        ADDRESS ON FILE
FLORES GONZALEZ, LUIS           ADDRESS ON FILE
FLORES GONZALEZ, LUIS           ADDRESS ON FILE
FLORES GONZALEZ, LUIS A         ADDRESS ON FILE
FLORES GONZALEZ, LUIS B         ADDRESS ON FILE
Flores Gonzalez, Manuel E       ADDRESS ON FILE
FLORES GONZALEZ, MAYERYLEEN     ADDRESS ON FILE
FLORES GONZALEZ, MIGDALIA       ADDRESS ON FILE
FLORES GONZALEZ, MIGUEL         ADDRESS ON FILE
FLORES GONZALEZ, NELIDA         ADDRESS ON FILE
FLORES GONZALEZ, RICARDO        ADDRESS ON FILE
FLORES GONZALEZ, SAMUEL         ADDRESS ON FILE
FLORES GONZALEZ, VANESSA        ADDRESS ON FILE
Flores Gonzalez, William        ADDRESS ON FILE
FLORES GONZALEZ, YVONNE         ADDRESS ON FILE
FLORES GOTAY, CAMILLE           ADDRESS ON FILE
FLORES GOTAY, EDWARD            ADDRESS ON FILE
FLORES GUADALUPE, EFRAIN        ADDRESS ON FILE
FLORES GUEVARA, JOSE            ADDRESS ON FILE
FLORES GUEVARA, JOSE A          ADDRESS ON FILE
FLORES GUEVARA, MIGDALIA        ADDRESS ON FILE
Flores Guilloty, Edmundo        ADDRESS ON FILE
FLORES GUZMAN, ALICIA           ADDRESS ON FILE
FLORES GUZMAN, ANA M            ADDRESS ON FILE
FLORES GUZMAN, CARMEN J         ADDRESS ON FILE
FLORES GUZMAN, JAIMARIE         ADDRESS ON FILE
FLORES GUZMAN, JAN              ADDRESS ON FILE




                                                                                               Page 2917 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2918 of 3500
                                                                               17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                   Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
Flores Guzman, Juanita          ADDRESS ON FILE
FLORES GUZMAN, JULIO            ADDRESS ON FILE
Flores Guzman, Luis A           ADDRESS ON FILE
FLORES GUZMAN, MARISOL          ADDRESS ON FILE
Flores Guzman, Pedro L          ADDRESS ON FILE
FLORES HERNANDEZ, ADALBERTO     ADDRESS ON FILE
FLORES HERNANDEZ, ALBERTO       ADDRESS ON FILE
FLORES HERNANDEZ, ANGEL         ADDRESS ON FILE
FLORES HERNANDEZ, ANTONIA       ADDRESS ON FILE
FLORES HERNANDEZ, BRENDA L      ADDRESS ON FILE
FLORES HERNANDEZ, DAMARIS       ADDRESS ON FILE
FLORES HERNANDEZ, IVAN          ADDRESS ON FILE
FLORES HERNANDEZ, JOSE          ADDRESS ON FILE
FLORES HERNANDEZ, MARIA A       ADDRESS ON FILE
FLORES HERNANDEZ, OLGA          ADDRESS ON FILE
FLORES HERNANDEZ, ROBERTO       ADDRESS ON FILE
FLORES HERNANDEZ, SHEILA        ADDRESS ON FILE
FLORES HERNANDEZ, SHEILA M      ADDRESS ON FILE
FLORES HERNANDEZ, SINDY         ADDRESS ON FILE
FLORES HERNANDEZ, YOVANSKA      ADDRESS ON FILE
FLORES HERRERA, GLORIMAR        ADDRESS ON FILE
FLORES HERRERA, GLORIMAR        ADDRESS ON FILE
FLORES HERRERA, JOEL            ADDRESS ON FILE
FLORES HOME CARE INC            CARR 963 PMB 184425                                                                     DORADO       PR      00646
FLORES HOME CARE INC            CITY VIEW PLAZA II        48 CARR 165 SUITE 2000                                        GUAYNABO     PR      00968
Flores Huertas, Aurea E         ADDRESS ON FILE
Flores Huertas, Clarita         ADDRESS ON FILE
FLORES HUERTAS, CLARITA         ADDRESS ON FILE
FLORES HUERTAS, HILDA           ADDRESS ON FILE
FLORES HUGGINS, JESUS A.        ADDRESS ON FILE
FLORES IGLESIAS, MARIA DE       ADDRESS ON FILE
Flores Iglesias, Migdalia       ADDRESS ON FILE
FLORES INFANTE, ENID            ADDRESS ON FILE
FLORES INGLES, IVONNE           ADDRESS ON FILE
FLORES INOSTROZA, JANERIS       ADDRESS ON FILE
Flores Irizarry, Gilbert        ADDRESS ON FILE
FLORES IRIZARRY, LENA           ADDRESS ON FILE
FLORES IRIZARRY, LUIS J         ADDRESS ON FILE
FLORES IRIZARRY, ROSA M         ADDRESS ON FILE
Flores Jaiman, Florencio G      ADDRESS ON FILE
FLORES JAIMAN, LESLIE           ADDRESS ON FILE
FLORES JAVIER, ISIDRO           ADDRESS ON FILE
FLORES JAY CORTES CORTES        ADDRESS ON FILE
FLORES JENARO, IRIA C           ADDRESS ON FILE
FLORES JIMENEZ, NILSA           ADDRESS ON FILE
FLORES JIMENEZ, OSVALDO M.      ADDRESS ON FILE
FLORES JORGE, HECTOR            ADDRESS ON FILE
FLORES JORGE, LOYDA M           ADDRESS ON FILE
FLORES JORGE, NANCY             ADDRESS ON FILE
Flores Justiniano, Jennett      ADDRESS ON FILE
FLORES JUSTINIANO, LEIDA        ADDRESS ON FILE
Flores Justiniano, Leida        ADDRESS ON FILE
FLORES LABAULT, CRISTINA        ADDRESS ON FILE
FLORES LABRADOR, GIAN           ADDRESS ON FILE
FLORES LABRADOR, HECTOR         ADDRESS ON FILE
FLORES LARA, LUIS               ADDRESS ON FILE
FLORES LARACUENTE, ZULEYKA      ADDRESS ON FILE
FLORES LAUREANO, LUCY           ADDRESS ON FILE
FLORES LAZZARINE, MARIA DEL R   ADDRESS ON FILE
FLORES LEBRON, DELIA            ADDRESS ON FILE




                                                                                   Page 2918 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2919 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES LEBRON, EPIFANIO       ADDRESS ON FILE
FLORES LEBRON, IRMA           ADDRESS ON FILE
FLORES LEON, ANDREITA         ADDRESS ON FILE
FLORES LEON, MIGDALIA         ADDRESS ON FILE
FLORES LLANOS, MARIA V.       ADDRESS ON FILE
FLORES LLANOS, SAUL           ADDRESS ON FILE
FLORES LLANOS, SAUL           ADDRESS ON FILE
FLORES LLUVERAS, RAELY M      ADDRESS ON FILE
FLORES LOPEZ MD, REGINO       ADDRESS ON FILE
FLORES LOPEZ, ADELAIDA        ADDRESS ON FILE
FLORES LOPEZ, ANA P           ADDRESS ON FILE
FLORES LOPEZ, ANGEL L         ADDRESS ON FILE
FLORES LOPEZ, ANTONIO         ADDRESS ON FILE
FLORES LOPEZ, AUREMIR         ADDRESS ON FILE
FLORES LOPEZ, ELBA R          ADDRESS ON FILE
FLORES LOPEZ, ELIZABETH       ADDRESS ON FILE
FLORES LOPEZ, HECTOR          ADDRESS ON FILE
FLORES LOPEZ, HECTOR M        ADDRESS ON FILE
Flores Lopez, Hector M.       ADDRESS ON FILE
FLORES LOPEZ, JOSE            ADDRESS ON FILE
FLORES LOPEZ, JOSE R.         ADDRESS ON FILE
FLORES LOPEZ, LUISA           ADDRESS ON FILE
FLORES LOPEZ, MARGARO         ADDRESS ON FILE
FLORES LOPEZ, MARIA           ADDRESS ON FILE
FLORES LOPEZ, MARIA S         ADDRESS ON FILE
FLORES LOPEZ, OLGA            ADDRESS ON FILE
FLORES LOPEZ, RAMON           ADDRESS ON FILE
FLORES LOPEZ, TY              ADDRESS ON FILE
FLORES LOPEZ, WILLIAM         ADDRESS ON FILE
FLORES LORENZO, RICARDO       ADDRESS ON FILE
FLORES LOZADA, ANA M          ADDRESS ON FILE
Flores Lozada, Aurelia        ADDRESS ON FILE
Flores Lozada, Emilio         ADDRESS ON FILE
FLORES LOZADA, GLORIA         ADDRESS ON FILE
FLORES LOZADA, JENNIFER       ADDRESS ON FILE
FLORES LOZADA, JOSE           ADDRESS ON FILE
FLORES LOZADA, LUIS O         ADDRESS ON FILE
FLORES LOZADA, MANUEL         ADDRESS ON FILE
FLORES LUCIANO, NORMA I       ADDRESS ON FILE
FLORES LUGO, ABNER            ADDRESS ON FILE
FLORES LUGO, ANGEL I          ADDRESS ON FILE
Flores Lugo, Eddie            ADDRESS ON FILE
FLORES LUGO, EDDIE            ADDRESS ON FILE
FLORES LUGO, ELIZABETH        ADDRESS ON FILE
FLORES MACHADO, JULIO E       ADDRESS ON FILE
FLORES MADERA, INES           ADDRESS ON FILE
FLORES MALAVE, EMERITO        ADDRESS ON FILE
FLORES MALAVE, JOSE           ADDRESS ON FILE
FLORES MALAVE, MARCOS         ADDRESS ON FILE
FLORES MALAVE, YARELIS        ADDRESS ON FILE
FLORES MALDONADO, ADALBERTO   ADDRESS ON FILE
FLORES MALDONADO, CARMEN M    ADDRESS ON FILE
FLORES MALDONADO, ESTHER      ADDRESS ON FILE
FLORES MALDONADO, GLADYS      ADDRESS ON FILE
FLORES MALDONADO, GLORIA      ADDRESS ON FILE
FLORES MALDONADO, GLORIA E    ADDRESS ON FILE
FLORES MALDONADO, JULIO A     ADDRESS ON FILE
FLORES MALDONADO, OMAR        ADDRESS ON FILE
FLORES MALDONADO, VICTOR      ADDRESS ON FILE
FLORES MANGUAL, HECTOR        ADDRESS ON FILE




                                                                          Page 2919 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2920 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES MANGUAL, NIVEA            ADDRESS ON FILE
FLORES MANGUAL, NORMA I          ADDRESS ON FILE
FLORES MARCANO, LILLIAM N        ADDRESS ON FILE
FLORES MARCIAL, ROCHELY M        ADDRESS ON FILE
FLORES MARQUEZ, KATIA            ADDRESS ON FILE
FLORES MARRERO, ABIGAIL          ADDRESS ON FILE
FLORES MARRERO, ALEXIS           ADDRESS ON FILE
FLORES MARRERO, ALEXIS           ADDRESS ON FILE
FLORES MARRERO, CARMEN           ADDRESS ON FILE
FLORES MARRERO, DERRICK          ADDRESS ON FILE
FLORES MARRERO, EMMA R           ADDRESS ON FILE
FLORES MARRERO, HOMMY            ADDRESS ON FILE
FLORES MARRERO, JOSE             ADDRESS ON FILE
FLORES MARRERO, JOSE L           ADDRESS ON FILE
FLORES MARRERO, PABLO            ADDRESS ON FILE
FLORES MARRERO, WANDA            ADDRESS ON FILE
FLORES MARTE, LILLIAN M          ADDRESS ON FILE
FLORES MARTE, MYRNA L            ADDRESS ON FILE
FLORES MARTELL, LAURA            ADDRESS ON FILE
FLORES MARTELL, LAURA            ADDRESS ON FILE
FLORES MARTI, MILTON             ADDRESS ON FILE
FLORES MARTINEZ, AIDA L          ADDRESS ON FILE
FLORES MARTINEZ, CARLOS          ADDRESS ON FILE
FLORES MARTINEZ, CARMEN          ADDRESS ON FILE
FLORES MARTINEZ, CARMEN G        ADDRESS ON FILE
FLORES MARTINEZ, DAGMARIE        ADDRESS ON FILE
Flores Martinez, Dionny          ADDRESS ON FILE
FLORES MARTINEZ, FERMINA         ADDRESS ON FILE
FLORES MARTINEZ, GRISELLIS M     ADDRESS ON FILE
FLORES MARTINEZ, IRIS            ADDRESS ON FILE
FLORES MARTINEZ, JENY ANN        ADDRESS ON FILE
FLORES MARTINEZ, JOSE            ADDRESS ON FILE
Flores Martinez, Juan M          ADDRESS ON FILE
FLORES MARTINEZ, KANISHA M       ADDRESS ON FILE
FLORES MARTINEZ, MARANYELIT      ADDRESS ON FILE
FLORES MARTINEZ, MARGARITA       ADDRESS ON FILE
Flores Martinez, Pedro           ADDRESS ON FILE
FLORES MARTINEZ, REY             ADDRESS ON FILE
FLORES MARTINEZ, REY FRANCISCO   ADDRESS ON FILE
Flores Martinez, Ricardo         ADDRESS ON FILE
Flores Martinez, Richard R.      ADDRESS ON FILE
FLORES MARTINEZ, ROBERTO         ADDRESS ON FILE
FLORES MARTINEZ, SANDRA I.       ADDRESS ON FILE
FLORES MARTINEZ, SARA            ADDRESS ON FILE
Flores Martinez, Yazmil J        ADDRESS ON FILE
FLORES MARZAN, RUBEN             ADDRESS ON FILE
FLORES MASSAS, JULIA E.          ADDRESS ON FILE
FLORES MASSAS, LUIS G            ADDRESS ON FILE
FLORES MASSO, NILDA              ADDRESS ON FILE
FLORES MATEO, LILLIANA M         ADDRESS ON FILE
FLORES MATOS, GLADYNEL           ADDRESS ON FILE
FLORES MATOS, PEDRO A.           ADDRESS ON FILE
FLORES MAURIS, JUAN              ADDRESS ON FILE
FLORES MD , MARIA S              ADDRESS ON FILE
FLORES MEDINA, EDUARDO           ADDRESS ON FILE
Flores Medina, Edward            ADDRESS ON FILE
FLORES MEDINA, FRANCISCO         ADDRESS ON FILE
FLORES MEDINA, ISABEL            ADDRESS ON FILE
FLORES MEDINA, ISABEL            ADDRESS ON FILE
FLORES MEDINA, ISABEL            ADDRESS ON FILE




                                                                             Page 2920 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2921 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                               Address1                 Address2                         Address3   Address4   City         State   PostalCode   Country
Flores Medina, Jacqueline                   ADDRESS ON FILE
FLORES MEDINA, JACQUELINE                   ADDRESS ON FILE
FLORES MEDINA, JUAN                         ADDRESS ON FILE
Flores Medina, Julio                        ADDRESS ON FILE
FLORES MEDINA, JULIO R                      ADDRESS ON FILE
FLORES MEDINA, KARLA                        ADDRESS ON FILE
FLORES MEDINA, KEILA                        ADDRESS ON FILE
FLORES MEDINA, RADAISA                      ADDRESS ON FILE
FLORES MEDINA, RICARDO V                    ADDRESS ON FILE
FLORES MEDINA, ROBERTO                      ADDRESS ON FILE
FLORES MEDINA, SARA                         ADDRESS ON FILE
FLORES MEJIAS, PASCUAL                      ADDRESS ON FILE
FLORES MEJIAS, VIVIAN                       ADDRESS ON FILE
FLORES MELENDEZ, BRUNILDA                   ADDRESS ON FILE
FLORES MELENDEZ, CARLOTA                    ADDRESS ON FILE
Flores Melendez, Domingo                    ADDRESS ON FILE
FLORES MELENDEZ, EUNICE                     ADDRESS ON FILE
FLORES MELENDEZ, HERIBERTO                  ADDRESS ON FILE
FLORES MELENDEZ, LUIS                       ADDRESS ON FILE
FLORES MELENDEZ, MARISOL                    ADDRESS ON FILE
FLORES MELENDEZ, MARITZA                    ADDRESS ON FILE
FLORES MELENDEZ, MIGDALIA                   ADDRESS ON FILE
FLORES MELENDEZ, OLGA                       ADDRESS ON FILE
FLORES MELENDEZ, ROLANDO                    ADDRESS ON FILE
FLORES MELENDEZ, ROSA                       ADDRESS ON FILE
FLORES MELENDEZ, ROSA H                     ADDRESS ON FILE
FLORES MELENDEZ, RUTH                       ADDRESS ON FILE
FLORES MELENDEZ, VILMA A                    ADDRESS ON FILE
FLORES MELENDEZ, WALIX M                    ADDRESS ON FILE
FLORES MELENDEZ, WILDA                      ADDRESS ON FILE
Flores Melendez, Wilfredo                   ADDRESS ON FILE
FLORES MELO, AWILDA                         ADDRESS ON FILE
FLORES MENDEZ, NORBERTO                     ADDRESS ON FILE
Flores Mendoza, Samuel                      ADDRESS ON FILE
FLORES MERCADO, ASTRID E.                   ADDRESS ON FILE
FLORES MERCADO, JALEISHA                    ADDRESS ON FILE
FLORES MERCADO, MARIO                       ADDRESS ON FILE
FLORES MERCADO, NELSON                      ADDRESS ON FILE
FLORES MERCADO, WILFREDO                    ADDRESS ON FILE
FLORES MERCED, EMERITA                      ADDRESS ON FILE
FLORES MERCED, FELIPE                       ADDRESS ON FILE
FLORES MERCED, FELIPE                       ADDRESS ON FILE
FLORES MERCED, IVELISSE                     ADDRESS ON FILE
FLORES MERCED, RAMON                        ADDRESS ON FILE
FLORES MERCED, VIVIAN                       ADDRESS ON FILE
FLORES MIRANDA, ANA                         ADDRESS ON FILE
FLORES MIRANDA, AWILDA                      ADDRESS ON FILE
Flores Miranda, Benjamin                    ADDRESS ON FILE
FLORES MIRANDA, JUMARIE                     ADDRESS ON FILE
FLORES MIRANDA, MARIEL                      ADDRESS ON FILE
FLORES MIRANDA, RAMONITA                    ADDRESS ON FILE
FLORES MOJICA, DANIEL                       ADDRESS ON FILE
FLORES MOJICA, DANIEL                       ADDRESS ON FILE
FLORES MÓJICA, DANIEL; JACKELINE SOTO PÉREZ LCDA. NORA CRUZ MOLINA   PO BOX 2795                                            ARECIBO      PR      00613‐2795
FLORES MOJICA, DAYANNIE                     ADDRESS ON FILE
FLORES MOJICA, EDGARDO                      ADDRESS ON FILE
FLORES MOJICA, LUIS M.                      ADDRESS ON FILE
FLORES MOJICA, MARIELA                      ADDRESS ON FILE
FLORES MOJICA, VILMARIE                     ADDRESS ON FILE
FLORES MOLINA, ANA                          ADDRESS ON FILE




                                                                                       Page 2921 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2922 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES MOLINA, RAMON A       ADDRESS ON FILE
FLORES MOLINA, WILFREDO      ADDRESS ON FILE
FLORES MONTALVO, ANGEL L     ADDRESS ON FILE
FLORES MONTALVO, DAMARY      ADDRESS ON FILE
FLORES MONTALVO, GRACE E     ADDRESS ON FILE
FLORES MONTALVO, HILDALIZ    ADDRESS ON FILE
FLORES MONTALVO, MAYRA       ADDRESS ON FILE
FLORES MONTALVO, REINALDO    ADDRESS ON FILE
FLORES MONTALVO, SIGNIA M.   ADDRESS ON FILE
FLORES MONTANEZ, CLEMENTE    ADDRESS ON FILE
FLORES MONTANEZ, GISELLE     ADDRESS ON FILE
FLORES MONTAÑEZ, GISELLE     ADDRESS ON FILE
FLORES MONTANEZ, JOSEFINA    ADDRESS ON FILE
FLORES MONTANEZ, LYDIA E     ADDRESS ON FILE
FLORES MONTANEZ, RITA E      ADDRESS ON FILE
FLORES MONTANEZ, SIRIS       ADDRESS ON FILE
FLORES MONTANEZ, SOLYMAR     ADDRESS ON FILE
FLORES MONTANEZ, YASMIN      ADDRESS ON FILE
FLORES MONTES, TARA A        ADDRESS ON FILE
FLORES MORA, LINDA R.        ADDRESS ON FILE
FLORES MORALES, ALEXANDER    ADDRESS ON FILE
FLORES MORALES, BRENDA I.    ADDRESS ON FILE
FLORES MORALES, BRENDA I.    ADDRESS ON FILE
FLORES MORALES, CALEB        ADDRESS ON FILE
FLORES MORALES, CARLOS       ADDRESS ON FILE
FLORES MORALES, CARMEN D     ADDRESS ON FILE
FLORES MORALES, DAISY        ADDRESS ON FILE
FLORES MORALES, DANIEL       ADDRESS ON FILE
FLORES MORALES, DIDA         ADDRESS ON FILE
FLORES MORALES, ELIZABETH    ADDRESS ON FILE
FLORES MORALES, ELIZABETH    ADDRESS ON FILE
FLORES MORALES, ELSA         ADDRESS ON FILE
FLORES MORALES, ENID         ADDRESS ON FILE
FLORES MORALES, FRANCISCA    ADDRESS ON FILE
FLORES MORALES, ITZA         ADDRESS ON FILE
Flores Morales, Itza A       ADDRESS ON FILE
FLORES MORALES, JANICE       ADDRESS ON FILE
FLORES MORALES, JIMMY        ADDRESS ON FILE
Flores Morales, Jose S       ADDRESS ON FILE
FLORES MORALES, JOSUE        ADDRESS ON FILE
Flores Morales, Luis A       ADDRESS ON FILE
FLORES MORALES, MAYTE        ADDRESS ON FILE
FLORES MORALES, NESTOR       ADDRESS ON FILE
FLORES MORALES, NOEL         ADDRESS ON FILE
Flores Morales, Pedro M      ADDRESS ON FILE
FLORES MORALES, WALESKA      ADDRESS ON FILE
FLORES MORALES, YAHAIRA      ADDRESS ON FILE
Flores Moreira, Carlos J     ADDRESS ON FILE
FLORES MORENO, FELICITA      ADDRESS ON FILE
FLORES MORENO, LIBIA         ADDRESS ON FILE
FLORES MORIS, EDGARDO        ADDRESS ON FILE
FLORES MORIS, EDGARDO        ADDRESS ON FILE
FLORES MORIS, ROLANDO        ADDRESS ON FILE
FLORES MOYA, SYLVIA          ADDRESS ON FILE
FLORES MOYET, ROSA M         ADDRESS ON FILE
FLORES MOYETT, HERMAN A      ADDRESS ON FILE
FLORES MUJICA, ANGEL         ADDRESS ON FILE
FLORES MULERO, SHEYLA        ADDRESS ON FILE
FLORES MUNOZ ELIGIO          ADDRESS ON FILE
FLORES MUNOZ, CARMEN         ADDRESS ON FILE




                                                                         Page 2922 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2923 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES MUNOZ, CRUZ             ADDRESS ON FILE
FLORES MUNOZ, ELIZABETH        ADDRESS ON FILE
Flores Munoz, Ernesto          ADDRESS ON FILE
Flores Munoz, Genaro           ADDRESS ON FILE
FLORES MUNOZ, JOSE             ADDRESS ON FILE
FLORES MUNOZ, LUIS A.          ADDRESS ON FILE
FLORES MUNOZ, SONIA I          ADDRESS ON FILE
FLORES MUNOZ, YALISCA          ADDRESS ON FILE
FLORES MURIEL, ALBERT          ADDRESS ON FILE
FLORES NARVAEZ, RAFAEL         ADDRESS ON FILE
FLORES NAVARRO, IRIS           ADDRESS ON FILE
FLORES NAVARRO, IRIS M.        ADDRESS ON FILE
FLORES NAZARIO, ANGEL E.       ADDRESS ON FILE
FLORES NAZARIO, HILDA          ADDRESS ON FILE
FLORES NAZARIO, JENNIFER       ADDRESS ON FILE
FLORES NAZARIO, LUIS A         ADDRESS ON FILE
FLORES NAZARIO, LUNA           ADDRESS ON FILE
Flores Nazario, Pedro J        ADDRESS ON FILE
FLORES NEGRON, BRENDALI        ADDRESS ON FILE
FLORES NEGRON, ELIZABETH       ADDRESS ON FILE
FLORES NEGRON, GERMAINE        ADDRESS ON FILE
FLORES NEGRON, MAGDALENA       ADDRESS ON FILE
FLORES NEGRON, MARILU          ADDRESS ON FILE
Flores Negron, Orlando         ADDRESS ON FILE
FLORES NEGRON, SAUL            ADDRESS ON FILE
FLORES NEGRON, SAUL            ADDRESS ON FILE
FLORES NEGRON, WANDA           ADDRESS ON FILE
FLORES NERIS, JAVIER           ADDRESS ON FILE
FLORES NIEVES, CARMEN          ADDRESS ON FILE
FLORES NIEVES, CARMEN EVELYN   ADDRESS ON FILE
FLORES NIEVES, CARMEN I        ADDRESS ON FILE
FLORES NIEVES, CRUCITA         ADDRESS ON FILE
Flores Nieves, Jimmy           ADDRESS ON FILE
FLORES NIEVES, LUIS R.         ADDRESS ON FILE
FLORES NIEVES, MARIA DE L      ADDRESS ON FILE
FLORES NIEVES, MARITZA         ADDRESS ON FILE
FLORES NIEVES, MICHAEL         ADDRESS ON FILE
FLORES NIEVES, NOEL            ADDRESS ON FILE
FLORES NIEVES, RAFAEL          ADDRESS ON FILE
FLORES NIEVES, YARITZA         ADDRESS ON FILE
FLORES NIGAGLIONI, JEAN        ADDRESS ON FILE
FLORES NUNEZ, MARIELA          ADDRESS ON FILE
FLORES OCASIO, AMILCAR         ADDRESS ON FILE
FLORES OCASIO, DARGEE          ADDRESS ON FILE
FLORES OCASIO, FREDDY          ADDRESS ON FILE
FLORES OCASIO, HECTOR          ADDRESS ON FILE
FLORES OCASIO, JORY            ADDRESS ON FILE
FLORES OCASIO, JOSE G          ADDRESS ON FILE
FLORES OCASIO, MARIA C         ADDRESS ON FILE
FLORES OFARRIL, RICARDO        ADDRESS ON FILE
FLORES OJEDA, ADA              ADDRESS ON FILE
FLORES OJEDA, CARMEN L         ADDRESS ON FILE
FLORES OJEDA, ROSA I.          ADDRESS ON FILE
FLORES OLAN, CARMEN E          ADDRESS ON FILE
FLORES OLIVERAS, CARMEN A      ADDRESS ON FILE
FLORES OLIVERAS, DORIS         ADDRESS ON FILE
FLORES OLIVERAS, DORIS         ADDRESS ON FILE
FLORES OLIVERAS, ELMER         ADDRESS ON FILE
FLORES ONOFRE, HERMINIO        ADDRESS ON FILE
FLORES ONOFRE, HERMINIO        ADDRESS ON FILE




                                                                           Page 2923 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2924 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES OPIO, ANA H.          ADDRESS ON FILE
Flores Opio, Luis R          ADDRESS ON FILE
FLORES OPIO, MODESTA         ADDRESS ON FILE
FLORES OQUENDO, CAMILO       ADDRESS ON FILE
FLORES OQUENDO, JORGE J      ADDRESS ON FILE
FLORES OQUENDO, JUAN O       ADDRESS ON FILE
FLORES OQUENDO, PABLO        ADDRESS ON FILE
FLORES OQUENDO, RAMON        ADDRESS ON FILE
FLORES OQUENDO, ZULEIKA      ADDRESS ON FILE
Flores Orellana, Jose Ivan   ADDRESS ON FILE
FLORES ORELLANO, JANET       ADDRESS ON FILE
FLORES ORTA, MELISSA         ADDRESS ON FILE
FLORES ORTEGA, CARLOS A.     ADDRESS ON FILE
FLORES ORTIZ, ALEXIS         ADDRESS ON FILE
FLORES ORTIZ, ANDREA         ADDRESS ON FILE
FLORES ORTIZ, ANDREA         ADDRESS ON FILE
FLORES ORTIZ, ANDREA         ADDRESS ON FILE
FLORES ORTIZ, ANDRES         ADDRESS ON FILE
FLORES ORTIZ, ARCADIO        ADDRESS ON FILE
Flores Ortiz, Benito         ADDRESS ON FILE
FLORES ORTIZ, BRENDA         ADDRESS ON FILE
FLORES ORTIZ, CARMEN E       ADDRESS ON FILE
FLORES ORTIZ, EDGAR          ADDRESS ON FILE
FLORES ORTIZ, FRANCISCO J.   ADDRESS ON FILE
FLORES ORTIZ, FRANK R        ADDRESS ON FILE
FLORES ORTIZ, GLORIA I       ADDRESS ON FILE
FLORES ORTIZ, HERMINIA       ADDRESS ON FILE
FLORES ORTIZ, HIDELIA        ADDRESS ON FILE
FLORES ORTIZ, JORGE          ADDRESS ON FILE
FLORES ORTIZ, JOSE           ADDRESS ON FILE
FLORES ORTIZ, JOSE E         ADDRESS ON FILE
FLORES ORTIZ, JOSE L         ADDRESS ON FILE
FLORES ORTIZ, JUAN C         ADDRESS ON FILE
FLORES ORTIZ, JULIA          ADDRESS ON FILE
FLORES ORTIZ, LILLIAN        ADDRESS ON FILE
FLORES ORTIZ, LIMARIE        ADDRESS ON FILE
Flores Ortiz, Luis D.        ADDRESS ON FILE
FLORES ORTIZ, MARGARITA      ADDRESS ON FILE
FLORES ORTIZ, MARIA S        ADDRESS ON FILE
FLORES ORTIZ, MARTA          ADDRESS ON FILE
FLORES ORTIZ, MAXIMINO       ADDRESS ON FILE
FLORES ORTIZ, NOELIA         ADDRESS ON FILE
FLORES ORTIZ, RAFAEL ANGEL   ADDRESS ON FILE
FLORES ORTIZ, REINALDO       ADDRESS ON FILE
FLORES ORTIZ, RICHARD        ADDRESS ON FILE
FLORES ORTIZ, RODOLFO        ADDRESS ON FILE
FLORES ORTIZ, ROSA           ADDRESS ON FILE
FLORES ORTIZ, VICTORIA       ADDRESS ON FILE
FLORES ORTIZ, WINA I         ADDRESS ON FILE
FLORES ORTIZ, XIOMARA        ADDRESS ON FILE
FLORES OTERO, CARMEN         ADDRESS ON FILE
FLORES OTERO, EDWARD         ADDRESS ON FILE
Flores Otero, Evarista       ADDRESS ON FILE
FLORES OTERO, SOL M          ADDRESS ON FILE
Flores Oyola, Epifanio       ADDRESS ON FILE
FLORES OYOLA, SYLVIA M       ADDRESS ON FILE
FLORES PABON, ALODIA         ADDRESS ON FILE
FLORES PABON, IVONNE         ADDRESS ON FILE
FLORES PABON, JUDY           ADDRESS ON FILE
FLORES PABON, MARIA M        ADDRESS ON FILE




                                                                         Page 2924 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 2925 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES PABON, NORMA I      ADDRESS ON FILE
FLORES PACHECO, HERMINIA   ADDRESS ON FILE
FLORES PADILLA, MARIA      ADDRESS ON FILE
FLORES PAGAN, ERNESTO      ADDRESS ON FILE
FLORES PAGAN, ERNESTO      ADDRESS ON FILE
FLORES PAGAN, JAIME E      ADDRESS ON FILE
FLORES PAGAN, MARIA C      ADDRESS ON FILE
FLORES PAGAN, MARIA C.     ADDRESS ON FILE
FLORES PAGAN, RUBEN        ADDRESS ON FILE
FLORES PAGAN, VALERIE      ADDRESS ON FILE
FLORES PAGAN, VERONICA     ADDRESS ON FILE
FLORES PALOS, JOVITA       ADDRESS ON FILE
FLORES PANTOJA, IRIS J     ADDRESS ON FILE
FLORES PANTOJA, MARIA      ADDRESS ON FILE
FLORES PANTOJAS, CARLOS    ADDRESS ON FILE
FLORES PARDO, ALBA L       ADDRESS ON FILE
FLORES PARDO, NELSON       ADDRESS ON FILE
FLORES PARDO, SONIA        ADDRESS ON FILE
FLORES PAZ, IVONNE Z.      ADDRESS ON FILE
FLORES PAZ, MARIA V.       ADDRESS ON FILE
FLORES PEDRAZA, JOSE       ADDRESS ON FILE
FLORES PEDRAZA, VALENTIN   ADDRESS ON FILE
FLORES PEDRAZA, YOLANDA    ADDRESS ON FILE
FLORES PENA, ANGEL         ADDRESS ON FILE
FLORES PENA, JOSELITO      ADDRESS ON FILE
FLORES PEREZ, AIDA I       ADDRESS ON FILE
FLORES PEREZ, ANGIEMAR     ADDRESS ON FILE
FLORES PEREZ, CARLOS       ADDRESS ON FILE
FLORES PEREZ, CARLOS       ADDRESS ON FILE
FLORES PEREZ, CARLOS C     ADDRESS ON FILE
FLORES PEREZ, CARLOS C     ADDRESS ON FILE
FLORES PEREZ, CARLOS J     ADDRESS ON FILE
FLORES PEREZ, CARLOS R     ADDRESS ON FILE
FLORES PEREZ, ELSA M       ADDRESS ON FILE
FLORES PEREZ, FLORDANIZ    ADDRESS ON FILE
FLORES PEREZ, FLORDELUZ    ADDRESS ON FILE
FLORES PEREZ, GILBERTO     ADDRESS ON FILE
FLORES PEREZ, IEHSUS       ADDRESS ON FILE
FLORES PEREZ, IVAN         ADDRESS ON FILE
FLORES PEREZ, JANICE       ADDRESS ON FILE
Flores Perez, Javier       ADDRESS ON FILE
FLORES PEREZ, JESUS M      ADDRESS ON FILE
FLORES PEREZ, JOHANNA      ADDRESS ON FILE
FLORES PEREZ, JOSE         ADDRESS ON FILE
FLORES PEREZ, JOSE         ADDRESS ON FILE
FLORES PEREZ, JUAN E       ADDRESS ON FILE
FLORES PEREZ, LAURA E      ADDRESS ON FILE
Flores Perez, Luz M        ADDRESS ON FILE
FLORES PEREZ, MARIA        ADDRESS ON FILE
FLORES PEREZ, MARIA DE L   ADDRESS ON FILE
FLORES PEREZ, MARIA E      ADDRESS ON FILE
FLORES PEREZ, MELISSA O.   ADDRESS ON FILE
FLORES PEREZ, MILITZA      ADDRESS ON FILE
FLORES PEREZ, MILITZA      ADDRESS ON FILE
FLORES PEREZ, PEDRO        ADDRESS ON FILE
FLORES PEREZ, PETER        ADDRESS ON FILE
FLORES PEREZ, PRISCILLA    ADDRESS ON FILE
FLORES PEREZ, RAFAEL       ADDRESS ON FILE
FLORES PEREZ, RAMON        ADDRESS ON FILE
FLORES PEREZ, RENE         ADDRESS ON FILE




                                                                       Page 2925 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2926 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES PEREZ, RICARDO         ADDRESS ON FILE
FLORES PEREZ, ROBERTO         ADDRESS ON FILE
FLORES PEREZ, SANDRA I        ADDRESS ON FILE
FLORES PEREZ, SANTIAGO        ADDRESS ON FILE
FLORES PEREZ, VANESSA         ADDRESS ON FILE
FLORES PEREZ, WANDA           ADDRESS ON FILE
FLORES PEREZ, WANDA           ADDRESS ON FILE
FLORES PINERO, LOIDELIS       ADDRESS ON FILE
FLORES PINO, CARLOS           ADDRESS ON FILE
FLORES PINO, DENISSE          ADDRESS ON FILE
FLORES PIZARRO, CRISTINA R.   ADDRESS ON FILE
FLORES PIZARRO, DANIEL        ADDRESS ON FILE
FLORES PIZARRO, SANTOS        ADDRESS ON FILE
FLORES POGGIE, LUIS           ADDRESS ON FILE
FLORES POLANCO, CAMALIS       ADDRESS ON FILE
FLORES POLANCO, MARIELIS      ADDRESS ON FILE
FLORES POLOS, VICTOR          ADDRESS ON FILE
FLORES PONCE, CARMEN J        ADDRESS ON FILE
FLORES POU, KAREN             ADDRESS ON FILE
FLORES PREZ, JOHANNA          ADDRESS ON FILE
Flores Quinones, Adelfin      ADDRESS ON FILE
Flores Quinones, Alexis       ADDRESS ON FILE
FLORES QUINONES, KEYSHA       ADDRESS ON FILE
FLORES QUINONES, LISVETTE     ADDRESS ON FILE
FLORES QUINONES, NEYSHA       ADDRESS ON FILE
FLORES QUINONES, ROBERTO      ADDRESS ON FILE
FLORES QUINONES, XIOMARA      ADDRESS ON FILE
FLORES QUINONEZ, PEDRO        ADDRESS ON FILE
FLORES QUINTANA, DIONISI      ADDRESS ON FILE
FLORES QUINTERO, TATIANA      ADDRESS ON FILE
FLORES RAMIREZ, BETSY I       ADDRESS ON FILE
FLORES RAMIREZ, DAVID         ADDRESS ON FILE
FLORES RAMIREZ, DORIS         ADDRESS ON FILE
FLORES RAMIREZ, EMMANUEL      ADDRESS ON FILE
FLORES RAMIREZ, JULIO E.      ADDRESS ON FILE
FLORES RAMIREZ, LEANDRA       ADDRESS ON FILE
FLORES RAMIREZ, MARILYN       ADDRESS ON FILE
FLORES RAMIREZ, MARLENE       ADDRESS ON FILE
FLORES RAMIREZ, NANCY         ADDRESS ON FILE
FLORES RAMIREZ, PEDRO         ADDRESS ON FILE
FLORES RAMIREZ, PEDRO         ADDRESS ON FILE
FLORES RAMOS, CARLOS A.       ADDRESS ON FILE
FLORES RAMOS, CARMEN R        ADDRESS ON FILE
FLORES RAMOS, FRANCISCO       ADDRESS ON FILE
FLORES RAMOS, FREDESWINDA     ADDRESS ON FILE
FLORES RAMOS, JAIME           ADDRESS ON FILE
FLORES RAMOS, JOSE            ADDRESS ON FILE
FLORES RAMOS, JOSE LUIS       ADDRESS ON FILE
FLORES RAMOS, JUAN            ADDRESS ON FILE
FLORES RAMOS, LIZA Y          ADDRESS ON FILE
FLORES RAMOS, LUIS E.         ADDRESS ON FILE
FLORES RAMOS, MAGDALY         ADDRESS ON FILE
FLORES RAMOS, MANUEL          ADDRESS ON FILE
Flores Ramos, Oscar           ADDRESS ON FILE
FLORES RAMOS, RAMON           ADDRESS ON FILE
FLORES RAMOS, RAMON           ADDRESS ON FILE
FLORES RAMOS, VICTOR S        ADDRESS ON FILE
FLORES RAYO, VIOLETA          ADDRESS ON FILE
FLORES RESTO, JESSICA         ADDRESS ON FILE
FLORES REYES, ALEJANDRO       ADDRESS ON FILE




                                                                          Page 2926 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 2927 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES REYES, ANTONIA D     ADDRESS ON FILE
FLORES REYES, DAMARIS       ADDRESS ON FILE
FLORES REYES, EDUARDO       ADDRESS ON FILE
FLORES REYES, FRANCISCO     ADDRESS ON FILE
FLORES REYES, JAVIER        ADDRESS ON FILE
FLORES REYES, JESSICA       ADDRESS ON FILE
FLORES REYES, JOSE          ADDRESS ON FILE
FLORES REYES, JUAN P        ADDRESS ON FILE
FLORES REYES, MARIA A       ADDRESS ON FILE
FLORES REYES, MARIA T       ADDRESS ON FILE
FLORES REYES, MIGUEL        ADDRESS ON FILE
FLORES REYES, MIGUEL A      ADDRESS ON FILE
FLORES REYES, MYRNA L       ADDRESS ON FILE
FLORES REYES, SOFIA         ADDRESS ON FILE
FLORES RIOS MD, RAMON       ADDRESS ON FILE
FLORES RIOS, ALEXANDER      ADDRESS ON FILE
FLORES RIOS, ANA H          ADDRESS ON FILE
FLORES RIOS, CARLOS         ADDRESS ON FILE
FLORES RIOS, DELIS M        ADDRESS ON FILE
FLORES RIOS, IDELISA I      ADDRESS ON FILE
FLORES RIOS, MARIA H        ADDRESS ON FILE
FLORES RIOS, RAUL           ADDRESS ON FILE
FLORES RIOS, RAUL           ADDRESS ON FILE
FLORES RIOS, SONIA          ADDRESS ON FILE
Flores Rios, Vanessa        ADDRESS ON FILE
FLORES RIVAS, JULIA         ADDRESS ON FILE
FLORES RIVAS, LUIS A        ADDRESS ON FILE
FLORES RIVERA, ALFONSO      ADDRESS ON FILE
FLORES RIVERA, ANA          ADDRESS ON FILE
FLORES RIVERA, ANA L        ADDRESS ON FILE
FLORES RIVERA, ANA M.       ADDRESS ON FILE
FLORES RIVERA, ANGEL        ADDRESS ON FILE
FLORES RIVERA, ANGEL A      ADDRESS ON FILE
FLORES RIVERA, ANGEL L      ADDRESS ON FILE
FLORES RIVERA, ANNIE        ADDRESS ON FILE
FLORES RIVERA, ANNIE Z      ADDRESS ON FILE
FLORES RIVERA, ANTHONY      ADDRESS ON FILE
FLORES RIVERA, ARMANDO      ADDRESS ON FILE
FLORES RIVERA, ASHLEY       ADDRESS ON FILE
FLORES RIVERA, AWILDA       ADDRESS ON FILE
FLORES RIVERA, BRENDA I     ADDRESS ON FILE
FLORES RIVERA, CARMELO      ADDRESS ON FILE
FLORES RIVERA, ELIZABETH    ADDRESS ON FILE
FLORES RIVERA, ELIZABETH    ADDRESS ON FILE
FLORES RIVERA, ELVIS        ADDRESS ON FILE
FLORES RIVERA, ELVIS        ADDRESS ON FILE
FLORES RIVERA, ERIC         ADDRESS ON FILE
FLORES RIVERA, FERNANDO     ADDRESS ON FILE
FLORES RIVERA, GISELA       ADDRESS ON FILE
FLORES RIVERA, HECTOR       ADDRESS ON FILE
FLORES RIVERA, HECTOR       ADDRESS ON FILE
FLORES RIVERA, HERIBERTO    ADDRESS ON FILE
FLORES RIVERA, HERIBERTO    ADDRESS ON FILE
FLORES RIVERA, HERMINIO     ADDRESS ON FILE
FLORES RIVERA, IRIS M       ADDRESS ON FILE
FLORES RIVERA, IRVIN        ADDRESS ON FILE
FLORES RIVERA, ISIS K.      ADDRESS ON FILE
FLORES RIVERA, JACQUELINE   ADDRESS ON FILE
FLORES RIVERA, JANNETTE     ADDRESS ON FILE
FLORES RIVERA, JAVIER       ADDRESS ON FILE




                                                                        Page 2927 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2928 of 3500
                                                                               17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                   Address1                        Address2                                  Address3   Address4   City           State   PostalCode   Country
FLORES RIVERA, JERRY            ADDRESS ON FILE
FLORES RIVERA, JOHANNA          ADDRESS ON FILE
FLORES RIVERA, JONATHAN         ADDRESS ON FILE
Flores Rivera, Jorge David      ADDRESS ON FILE
FLORES RIVERA, JOSE             ADDRESS ON FILE
Flores Rivera, Jose A           ADDRESS ON FILE
FLORES RIVERA, KAREN            ADDRESS ON FILE
FLORES RIVERA, KARLA MICHELLE   ADDRESS ON FILE
FLORES RIVERA, KIMBERLEY        ADDRESS ON FILE
FLORES RIVERA, LOURDES I.       ADDRESS ON FILE
FLORES RIVERA, LUCILA           ADDRESS ON FILE
FLORES RIVERA, LUCILA           ADDRESS ON FILE
FLORES RIVERA, LYSMARY          ADDRESS ON FILE
FLORES RIVERA, MARIA            ADDRESS ON FILE
FLORES RIVERA, MARIA DE LOS A   ADDRESS ON FILE
FLORES RIVERA, MARIA V          ADDRESS ON FILE
FLORES RIVERA, MARIANITA        ADDRESS ON FILE
FLORES RIVERA, MARIELI          ADDRESS ON FILE
FLORES RIVERA, MARILYN          ADDRESS ON FILE
FLORES RIVERA, MARIO            ADDRESS ON FILE
FLORES RIVERA, NANCY            ADDRESS ON FILE
FLORES RIVERA, NEFTALI          ADDRESS ON FILE
FLORES RIVERA, NOEMI            ADDRESS ON FILE
FLORES RIVERA, NOEMI            ADDRESS ON FILE
FLORES RIVERA, NORMA I.         ADDRESS ON FILE
FLORES RIVERA, NYDIA M          ADDRESS ON FILE
FLORES RIVERA, OMAR             ADDRESS ON FILE
FLORES RIVERA, ORLANDO          ADDRESS ON FILE
Flores Rivera, Pedro M          ADDRESS ON FILE
FLORES RIVERA, RAMON            ADDRESS ON FILE
FLORES RIVERA, RAMONA           ADDRESS ON FILE
FLORES RIVERA, RAUL F           ADDRESS ON FILE
FLORES RIVERA, ROBERTO R        ADDRESS ON FILE
FLORES RIVERA, SIRAIDA          ADDRESS ON FILE
FLORES RIVERA, STEWART          ADDRESS ON FILE
FLORES RIVERA, TERESA           ADDRESS ON FILE
FLORES RIVERA, TILIA L          ADDRESS ON FILE
FLORES RIVERA, VIVIANNETTE      ADDRESS ON FILE
FLORES RIVERA, WANDA            ADDRESS ON FILE
FLORES RIVERA, WANDA            ADDRESS ON FILE
FLORES RIVERA, WANDA I          ADDRESS ON FILE
FLORES RIVERA, WANDA I          ADDRESS ON FILE
FLORES RIVERA, WILBERTO         ADDRESS ON FILE
FLORES RIVERA, WILFREDO         ADDRESS ON FILE
FLORES RIVERA, WILFREDO         ADDRESS ON FILE
FLORES RIVERA, WILLIAM          ADDRESS ON FILE
FLORES RIVERA, XIOMARA          ADDRESS ON FILE
Flores Rivera, Zoraida          ADDRESS ON FILE
FLORES RIVERA, ZORAIDA          ADDRESS ON FILE
FLORES RIVERA,AILEEN            ADDRESS ON FILE
FLORES ROCAFORT, LOURDES        ADDRESS ON FILE
FLORES RODRIGUEZ                PROPIO DERECHO                  INST MAXIMA SEGURIDAD PO BOX 10786 B‐5 4024                     Ponce          PR      00732
FLORES RODRIGUEZ FELICIANO      LCDO. JOSÉ L. MILLÁN FIGUEROA   PO Box 1164                                                     SAN GERMAN     PR      00683
FLORES RODRIGUEZ FELICIANO      LCDO. RAÚL AQUINO FIGUEROA      PO Box 494                                                      Añasco         PR      00610
FLORES RODRIGUEZ, ABISAEL       ADDRESS ON FILE
FLORES RODRIGUEZ, AIXA          ADDRESS ON FILE
FLORES RODRIGUEZ, AIXA J.       ADDRESS ON FILE
FLORES RODRIGUEZ, ANA E         ADDRESS ON FILE
FLORES RODRIGUEZ, ANGEL         ADDRESS ON FILE
FLORES RODRIGUEZ, ANTONIO       ADDRESS ON FILE




                                                                                           Page 2928 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2929 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES RODRIGUEZ, ARELYS         ADDRESS ON FILE
FLORES RODRIGUEZ, BEDA I         ADDRESS ON FILE
FLORES RODRIGUEZ, BERNARDA       ADDRESS ON FILE
FLORES RODRIGUEZ, BERNARDO       ADDRESS ON FILE
Flores Rodriguez, Carlos R.      ADDRESS ON FILE
FLORES RODRIGUEZ, CARMEN A       ADDRESS ON FILE
FLORES RODRIGUEZ, DAISY          ADDRESS ON FILE
FLORES RODRIGUEZ, DAVID          ADDRESS ON FILE
FLORES RODRIGUEZ, EDUARDO        ADDRESS ON FILE
Flores Rodriguez, Elvin          ADDRESS ON FILE
FLORES RODRIGUEZ, ERIC X         ADDRESS ON FILE
Flores Rodriguez, Erica L        ADDRESS ON FILE
FLORES RODRIGUEZ, FRANCESS       ADDRESS ON FILE
FLORES RODRIGUEZ, FRANCHELYS     ADDRESS ON FILE
FLORES RODRIGUEZ, FRANCISCO J    ADDRESS ON FILE
FLORES RODRIGUEZ, FRANCISCO J.   ADDRESS ON FILE
FLORES RODRIGUEZ, GLORICELLE     ADDRESS ON FILE
FLORES RODRIGUEZ, HECTOR         ADDRESS ON FILE
FLORES RODRIGUEZ, HECTOR         ADDRESS ON FILE
FLORES RODRIGUEZ, HECTOR J       ADDRESS ON FILE
FLORES RODRIGUEZ, IVAN           ADDRESS ON FILE
FLORES RODRIGUEZ, IVETTE         ADDRESS ON FILE
FLORES RODRIGUEZ, JANNETTE       ADDRESS ON FILE
FLORES RODRIGUEZ, JESSIE         ADDRESS ON FILE
FLORES RODRIGUEZ, JOSE           ADDRESS ON FILE
FLORES RODRIGUEZ, JOSE M         ADDRESS ON FILE
FLORES RODRIGUEZ, LAURA C.       ADDRESS ON FILE
FLORES RODRIGUEZ, LOURDES        ADDRESS ON FILE
FLORES RODRIGUEZ, LUIS           ADDRESS ON FILE
FLORES RODRIGUEZ, LUIS A         ADDRESS ON FILE
FLORES RODRIGUEZ, LUIS E.        ADDRESS ON FILE
FLORES RODRIGUEZ, LYMARI         ADDRESS ON FILE
FLORES RODRIGUEZ, LYMARI         ADDRESS ON FILE
FLORES RODRIGUEZ, MAGDALENO      ADDRESS ON FILE
FLORES RODRIGUEZ, MANELIE        ADDRESS ON FILE
FLORES RODRIGUEZ, MARCIAL        ADDRESS ON FILE
FLORES RODRIGUEZ, MARIA D        ADDRESS ON FILE
FLORES RODRIGUEZ, MARIA E        ADDRESS ON FILE
FLORES RODRIGUEZ, MARIA S        ADDRESS ON FILE
FLORES RODRIGUEZ, MARTA          ADDRESS ON FILE
FLORES RODRIGUEZ, MIGDALIA       ADDRESS ON FILE
FLORES RODRIGUEZ, MILAGROS       ADDRESS ON FILE
FLORES RODRIGUEZ, MIREYA J.      ADDRESS ON FILE
FLORES RODRIGUEZ, MIREYA J.      ADDRESS ON FILE
FLORES RODRIGUEZ, NILDA          ADDRESS ON FILE
FLORES RODRIGUEZ, NOELIA         ADDRESS ON FILE
FLORES RODRIGUEZ, NOEMI          ADDRESS ON FILE
Flores Rodriguez, Rafael         ADDRESS ON FILE
FLORES RODRIGUEZ, RAFAEL         ADDRESS ON FILE
FLORES RODRIGUEZ, RAFAEL         ADDRESS ON FILE
Flores Rodriguez, Rafael R       ADDRESS ON FILE
FLORES RODRIGUEZ, RAMON          ADDRESS ON FILE
FLORES RODRIGUEZ, RICHARD        ADDRESS ON FILE
FLORES RODRIGUEZ, ROSEMARIE      ADDRESS ON FILE
FLORES RODRIGUEZ, RUTH A         ADDRESS ON FILE
FLORES RODRIGUEZ, SANDRA I       ADDRESS ON FILE
FLORES RODRIGUEZ, VICTOR         ADDRESS ON FILE
Flores Rodriguez, Vladimir       ADDRESS ON FILE
FLORES RODRIGUEZ, VLADIMIR       ADDRESS ON FILE
FLORES RODRIGUEZ, WESLEY         ADDRESS ON FILE




                                                                             Page 2929 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2930 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES RODRIGUEZ, WESLEY      ADDRESS ON FILE
Flores Rodriguez, Wesley R    ADDRESS ON FILE
Flores Rodriguez, Wydalis     ADDRESS ON FILE
FLORES RODRIGUEZ, YAMIRA      ADDRESS ON FILE
FLORES RODRIGUEZ, YEISA M     ADDRESS ON FILE
FLORES RODRIGUEZ, YESENIA     ADDRESS ON FILE
FLORES RODRIGUEZ, YESSENIA    ADDRESS ON FILE
FLORES RODRIGUEZ, YOLINETTE   ADDRESS ON FILE
FLORES RODRIGUEZ, ZAIRINA     ADDRESS ON FILE
FLORES ROHENA, JUAN J         ADDRESS ON FILE
FLORES ROJAS, FRANCISCA       ADDRESS ON FILE
FLORES ROJAS, SUZETTE         ADDRESS ON FILE
FLORES ROJAS, WILLIE          ADDRESS ON FILE
FLORES ROLDAN, CARLOS         ADDRESS ON FILE
FLORES ROLDAN, DOMITILA       ADDRESS ON FILE
FLORES ROLDAN, GLORIA         ADDRESS ON FILE
FLORES ROLDAN, HECTOR         ADDRESS ON FILE
FLORES ROLDAN, JEANNETTE      ADDRESS ON FILE
FLORES ROLDAN, LYDIA          ADDRESS ON FILE
FLORES ROLDAN, MELISSA        ADDRESS ON FILE
FLORES ROLDAN, STEPHANIE      ADDRESS ON FILE
FLORES ROLDAN, WILFREDO       ADDRESS ON FILE
FLORES ROLDAN, WILLIAM        ADDRESS ON FILE
FLORES ROMAN CRESPO           ADDRESS ON FILE
FLORES ROMAN, AMARIS M        ADDRESS ON FILE
FLORES ROMAN, AMERICO         ADDRESS ON FILE
FLORES ROMAN, ANA I.          ADDRESS ON FILE
FLORES ROMAN, ANGELA          ADDRESS ON FILE
FLORES ROMAN, ANTONIO         ADDRESS ON FILE
Flores Roman, Joel            ADDRESS ON FILE
FLORES ROMAN, JOEL            ADDRESS ON FILE
FLORES ROMAN, JOSE            ADDRESS ON FILE
FLORES ROMAN, JOSE L          ADDRESS ON FILE
FLORES ROMAN, JUANITA         ADDRESS ON FILE
FLORES ROMAN, KASSANDRA       ADDRESS ON FILE
FLORES ROMAN, KASSANDRA       ADDRESS ON FILE
FLORES ROMAN, LINA            ADDRESS ON FILE
FLORES ROMAN, VICENTE         ADDRESS ON FILE
FLORES ROMAN, WANDA           ADDRESS ON FILE
FLORES ROSA, ANA S            ADDRESS ON FILE
FLORES ROSA, ANGEL P          ADDRESS ON FILE
FLORES ROSA, CARLOS           ADDRESS ON FILE
FLORES ROSA, COSME            ADDRESS ON FILE
FLORES ROSA, EMILIO           ADDRESS ON FILE
FLORES ROSA, GLADYS           ADDRESS ON FILE
FLORES ROSA, JOSE             ADDRESS ON FILE
FLORES ROSA, JUAN             ADDRESS ON FILE
FLORES ROSA, JULIO            ADDRESS ON FILE
FLORES ROSA, MYRNELIS         ADDRESS ON FILE
FLORES ROSADO, ALEXANDRA      ADDRESS ON FILE
FLORES ROSADO, GEORGINA       ADDRESS ON FILE
FLORES ROSADO, JESUS          ADDRESS ON FILE
FLORES ROSADO, MICHELLE       ADDRESS ON FILE
FLORES ROSADO, MICHELLE       ADDRESS ON FILE
FLORES ROSADO, OMARJADHIR     ADDRESS ON FILE
FLORES ROSADO, OMAYRA         ADDRESS ON FILE
FLORES ROSADO, PRIMITIVO      ADDRESS ON FILE
Flores Rosado, Vanessa        ADDRESS ON FILE
FLORES ROSADO, WILFRANCIS     ADDRESS ON FILE
Flores Rosario, Angel R       ADDRESS ON FILE




                                                                          Page 2930 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2931 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES ROSARIO, JESUS              ADDRESS ON FILE
FLORES ROSARIO, JULIO              ADDRESS ON FILE
FLORES ROSARIO, LUCY               ADDRESS ON FILE
FLORES ROSARIO, LUIS A             ADDRESS ON FILE
FLORES ROSARIO, LUIS A             ADDRESS ON FILE
FLORES ROSARIO, MIGDALIA           ADDRESS ON FILE
FLORES ROSELLO, CRISTINA A         ADDRESS ON FILE
FLORES ROSELLO, MARIA DE F         ADDRESS ON FILE
FLORES RUIZ, ANGEL L               ADDRESS ON FILE
FLORES RUIZ, AUGUSTO III           ADDRESS ON FILE
FLORES RUIZ, BENEIDA               ADDRESS ON FILE
FLORES RUIZ, BERNARDO              ADDRESS ON FILE
FLORES RUIZ, GLADYS                ADDRESS ON FILE
FLORES RUIZ, JORGE                 ADDRESS ON FILE
FLORES RUIZ, JOSE                  ADDRESS ON FILE
FLORES RUIZ, JOSE D.               ADDRESS ON FILE
FLORES RUIZ, MARIBEL               ADDRESS ON FILE
FLORES RUIZ, RAFAEL                ADDRESS ON FILE
FLORES RUIZ, RAFAEL                ADDRESS ON FILE
FLORES RUIZ, RUT H E               ADDRESS ON FILE
FLORES RUIZ, ZAMARIS               ADDRESS ON FILE
FLORES SAEZ, ISABEL                ADDRESS ON FILE
FLORES SAEZ, MERCYVETTE            ADDRESS ON FILE
FLORES SAEZ, OSCAR                 ADDRESS ON FILE
FLORES SAEZ, WAILIANY              ADDRESS ON FILE
FLORES SAEZ, WILLIAM               ADDRESS ON FILE
FLORES SANABRIA, CESAR             ADDRESS ON FILE
FLORES SANABRIA, CESAR             ADDRESS ON FILE
FLORES SANABRIA, MARIA C           ADDRESS ON FILE
FLORES SANCHEZ, AILEEN             ADDRESS ON FILE
FLORES SANCHEZ, ANGEL              ADDRESS ON FILE
FLORES SANCHEZ, BETSY A            ADDRESS ON FILE
Flores Sanchez, Carlos             ADDRESS ON FILE
FLORES SANCHEZ, CARLOS             ADDRESS ON FILE
FLORES SANCHEZ, ELIZABETH          ADDRESS ON FILE
Flores Sanchez, Eric               ADDRESS ON FILE
FLORES SANCHEZ, ERIC               ADDRESS ON FILE
FLORES SANCHEZ, HECTOR             ADDRESS ON FILE
FLORES SANCHEZ, JUAN               ADDRESS ON FILE
FLORES SANCHEZ, MARGARITA          ADDRESS ON FILE
FLORES SANCHEZ, MARIA DEL C        ADDRESS ON FILE
FLORES SANCHEZ, MARIA S            ADDRESS ON FILE
FLORES SANCHEZ, MARISOL            ADDRESS ON FILE
Flores Sanchez, Pedro              ADDRESS ON FILE
FLORES SANCHEZ, RICARDO            ADDRESS ON FILE
FLORES SANCHEZ, VICTOR M           ADDRESS ON FILE
FLORES SANCHEZ, WALTER             ADDRESS ON FILE
FLORES SANTANA, ANA D              ADDRESS ON FILE
FLORES SANTANA, CARMEN M           ADDRESS ON FILE
FLORES SANTANA, JUAN               ADDRESS ON FILE
FLORES SANTANA, KATHERINE          ADDRESS ON FILE
FLORES SANTANA, KATHERINE          ADDRESS ON FILE
FLORES SANTANA, LESLIE             ADDRESS ON FILE
FLORES SANTANA, NEREIDA            ADDRESS ON FILE
FLORES SANTANA, RICHARD G.         ADDRESS ON FILE
FLORES SANTANA, WILMA              ADDRESS ON FILE
FLORES SANTEL, MIGUEL              ADDRESS ON FILE
FLORES SANTIAGO BUS SERVICE, INC   HC 1 BOX 5472                                                                    YABUCOA      PR      00767
FLORES SANTIAGO, ADA C             ADDRESS ON FILE
FLORES SANTIAGO, ALBERTO           ADDRESS ON FILE




                                                                               Page 2931 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2932 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES SANTIAGO, ALEX          ADDRESS ON FILE
FLORES SANTIAGO, ANABEL        ADDRESS ON FILE
FLORES SANTIAGO, ANGEL         ADDRESS ON FILE
FLORES SANTIAGO, AUGUSTO       ADDRESS ON FILE
FLORES SANTIAGO, BOLIVAR       ADDRESS ON FILE
FLORES SANTIAGO, CARMEN J      ADDRESS ON FILE
FLORES SANTIAGO, CLEMENTE      ADDRESS ON FILE
FLORES SANTIAGO, EDGAR         ADDRESS ON FILE
FLORES SANTIAGO, EDWIN         ADDRESS ON FILE
FLORES SANTIAGO, EFRAIN        ADDRESS ON FILE
FLORES SANTIAGO, EMMA          ADDRESS ON FILE
FLORES SANTIAGO, HAROLD        ADDRESS ON FILE
FLORES SANTIAGO, HAROLD H.     ADDRESS ON FILE
FLORES SANTIAGO, HECTOR I      ADDRESS ON FILE
FLORES SANTIAGO, IRMALIS       ADDRESS ON FILE
FLORES SANTIAGO, IRMALIS       ADDRESS ON FILE
FLORES SANTIAGO, IRMALÍS       ADDRESS ON FILE
FLORES SANTIAGO, ISMAEL        ADDRESS ON FILE
FLORES SANTIAGO, IVONNE        ADDRESS ON FILE
FLORES SANTIAGO, JACKELINE T   ADDRESS ON FILE
FLORES SANTIAGO, JOSE          ADDRESS ON FILE
FLORES SANTIAGO, JOSE I        ADDRESS ON FILE
FLORES SANTIAGO, JOSE M        ADDRESS ON FILE
FLORES SANTIAGO, JOSE M        ADDRESS ON FILE
FLORES SANTIAGO, LIDIANA       ADDRESS ON FILE
FLORES SANTIAGO, LOURDES       ADDRESS ON FILE
FLORES SANTIAGO, LUIS          ADDRESS ON FILE
FLORES SANTIAGO, LUZ           ADDRESS ON FILE
FLORES SANTIAGO, LYDIA M       ADDRESS ON FILE
FLORES SANTIAGO, MADELINE      ADDRESS ON FILE
FLORES SANTIAGO, MARITZA       ADDRESS ON FILE
FLORES SANTIAGO, MOISES E      ADDRESS ON FILE
FLORES SANTIAGO, MYRIAM J.     ADDRESS ON FILE
FLORES SANTIAGO, RAFAEL        ADDRESS ON FILE
FLORES SANTIAGO, RAMON         ADDRESS ON FILE
FLORES SANTIAGO, RAYMOND       ADDRESS ON FILE
FLORES SANTIAGO, ROBERTO       ADDRESS ON FILE
FLORES SANTIAGO, SAMUEL        ADDRESS ON FILE
FLORES SANTIAGO, STEPHANIE     ADDRESS ON FILE
Flores Santiago, Wilfredo      ADDRESS ON FILE
FLORES SANTIAGO, WILMARY       ADDRESS ON FILE
FLORES SANTOS, HEIDY L.        ADDRESS ON FILE
FLORES SANTOS, JOHANNA E       ADDRESS ON FILE
FLORES SANTOS, JOSE            ADDRESS ON FILE
FLORES SANTOS, JOSE            ADDRESS ON FILE
FLORES SANTOS, JOSE D          ADDRESS ON FILE
Flores Santos, Jose D          ADDRESS ON FILE
FLORES SANTOS, MARYELI         ADDRESS ON FILE
FLORES SANTOS, MAYRA           ADDRESS ON FILE
FLORES SANTOS, RAYSA M.        ADDRESS ON FILE
FLORES SANTOS, YOLANDA         ADDRESS ON FILE
FLORES SEDA, FRANCELIS         ADDRESS ON FILE
FLORES SEDA, HECTOR            ADDRESS ON FILE
FLORES SELLES, EDWIN H         ADDRESS ON FILE
FLORES SEPULVEDA, ARLENE       ADDRESS ON FILE
FLORES SEPULVEDA, JAVIER       ADDRESS ON FILE
FLORES SEPULVEDA, JOSE         ADDRESS ON FILE
FLORES SEPULVEDA, MELANIE      ADDRESS ON FILE
FLORES SEPULVEDA, NITZA E      ADDRESS ON FILE
FLORES SERRANO, AMELIA         ADDRESS ON FILE




                                                                           Page 2932 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2933 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
FLORES SERRANO, ANA R           ADDRESS ON FILE
FLORES SERRANO, DANNY           ADDRESS ON FILE
FLORES SERRANO, GLADYS          ADDRESS ON FILE
FLORES SERRANO, IDALIA          ADDRESS ON FILE
FLORES SERRANO, JOSE            ADDRESS ON FILE
FLORES SERRANO, LUIS            ADDRESS ON FILE
FLORES SERRANO, MIGDALIA        ADDRESS ON FILE
FLORES SERRANO, NELLY           ADDRESS ON FILE
FLORES SERRANO, PEDRO           ADDRESS ON FILE
FLORES SERRANO, YANIRA          ADDRESS ON FILE
FLORES SIACA, GABRIEL           ADDRESS ON FILE
FLORES SIERRA, MARIA            ADDRESS ON FILE
FLORES SILVA, CESAR A           ADDRESS ON FILE
FLORES SILVA, FELICIANO         ADDRESS ON FILE
FLORES SILVA, FELICITA          ADDRESS ON FILE
FLORES SILVA, JOSE              ADDRESS ON FILE
FLORES SILVA, JOSE              ADDRESS ON FILE
Flores Silva, Jose Monserrate   ADDRESS ON FILE
FLORES SILVA, LELIS Y.          ADDRESS ON FILE
FLORES SILVA, MERCEDES          ADDRESS ON FILE
FLORES SILVA, RUTH M            ADDRESS ON FILE
FLORES SILVA, VILMA             ADDRESS ON FILE
FLORES SIMONETTI, EMILIA        ADDRESS ON FILE
FLORES SIMONETTI, FRANCIS W.    ADDRESS ON FILE
FLORES SOLA, MILTON             ADDRESS ON FILE
FLORES SOSA, ENID               ADDRESS ON FILE
FLORES SOTO, ANGEL              ADDRESS ON FILE
Flores Soto, Jose A.            ADDRESS ON FILE
FLORES SOTO, LAURIMAR           ADDRESS ON FILE
FLORES SOTO, MANUEL             ADDRESS ON FILE
FLORES SOTO, RICARDO            ADDRESS ON FILE
FLORES SOTO, SUE HELEN          ADDRESS ON FILE
FLORES SUAREZ, CARMEN M         ADDRESS ON FILE
FLORES SUAREZ, LIONEL           ADDRESS ON FILE
FLORES SUAREZ, MARISOL          ADDRESS ON FILE
FLORES TELLADO, ALBA            ADDRESS ON FILE
FLORES TIRADO, EDDIE            ADDRESS ON FILE
FLORES TIRADO, EDNA             ADDRESS ON FILE
Flores Tirado, Felipe           ADDRESS ON FILE
FLORES TIRADO, GLORIA N         ADDRESS ON FILE
FLORES TIRADO, MYRIAM           ADDRESS ON FILE
FLORES TIRADO, NANCY I.         ADDRESS ON FILE
FLORES TIRE CENTER              LA GLORIA                 HC 61 BOX 4414                                         TRUJILLO ALTO     PR      00976
FLORES TORO, NAYDA L            ADDRESS ON FILE
Flores Torres, Alejandro        ADDRESS ON FILE
FLORES TORRES, ANA M            ADDRESS ON FILE
FLORES TORRES, ANGEL M          ADDRESS ON FILE
FLORES TORRES, ANGELA           ADDRESS ON FILE
FLORES TORRES, BENEDICTA        ADDRESS ON FILE
FLORES TORRES, BLANCA R.        ADDRESS ON FILE
FLORES TORRES, BRUNILDA         ADDRESS ON FILE
FLORES TORRES, CARLOS           ADDRESS ON FILE
Flores Torres, Carlos D         ADDRESS ON FILE
FLORES TORRES, CARMEN           ADDRESS ON FILE
FLORES TORRES, CARMEN L         ADDRESS ON FILE
FLORES TORRES, CHARLIE          ADDRESS ON FILE
FLORES TORRES, DEBORAH I        ADDRESS ON FILE
FLORES TORRES, EDWIN J          ADDRESS ON FILE
FLORES TORRES, ELLIUD E         ADDRESS ON FILE
FLORES TORRES, ERIC             ADDRESS ON FILE




                                                                            Page 2933 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2934 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES TORRES, FELIX          ADDRESS ON FILE
FLORES TORRES, FRANCES        ADDRESS ON FILE
FLORES TORRES, FRANCIS W      ADDRESS ON FILE
FLORES TORRES, FRANCISCO      ADDRESS ON FILE
FLORES TORRES, GABRIEL        ADDRESS ON FILE
Flores Torres, Gil A          ADDRESS ON FILE
FLORES TORRES, HERMES         ADDRESS ON FILE
FLORES TORRES, JAIME          ADDRESS ON FILE
FLORES TORRES, JESSICA        ADDRESS ON FILE
FLORES TORRES, JESSICA        ADDRESS ON FILE
FLORES TORRES, JESSICA        ADDRESS ON FILE
FLORES TORRES, JOSE           ADDRESS ON FILE
Flores Torres, Jose           ADDRESS ON FILE
FLORES TORRES, JOSE           ADDRESS ON FILE
FLORES TORRES, JOSE           ADDRESS ON FILE
FLORES TORRES, JOSE A.        ADDRESS ON FILE
FLORES TORRES, JUAN           ADDRESS ON FILE
FLORES TORRES, JUAN A.        ADDRESS ON FILE
FLORES TORRES, KAREM L.       ADDRESS ON FILE
FLORES TORRES, KARLO X        ADDRESS ON FILE
FLORES TORRES, KERMIT         ADDRESS ON FILE
FLORES TORRES, LEYDA M        ADDRESS ON FILE
FLORES TORRES, LILLIAN        ADDRESS ON FILE
FLORES TORRES, LUCIA          ADDRESS ON FILE
FLORES TORRES, LUIS           ADDRESS ON FILE
FLORES TORRES, LUIS           ADDRESS ON FILE
FLORES TORRES, LUIS           ADDRESS ON FILE
FLORES TORRES, LUIS           ADDRESS ON FILE
Flores Torres, Luis A         ADDRESS ON FILE
FLORES TORRES, MARCIAL        ADDRESS ON FILE
FLORES TORRES, MARIA DE L     ADDRESS ON FILE
FLORES TORRES, MARIA E        ADDRESS ON FILE
FLORES TORRES, MARTA          ADDRESS ON FILE
FLORES TORRES, MIRIAM         ADDRESS ON FILE
FLORES TORRES, MYRTELLIZA     ADDRESS ON FILE
FLORES TORRES, PERFECTO       ADDRESS ON FILE
Flores Torres, Rafael         ADDRESS ON FILE
FLORES TORRES, RAFAEL         ADDRESS ON FILE
FLORES TORRES, RAMON          ADDRESS ON FILE
FLORES TORRES, RAMON          ADDRESS ON FILE
FLORES TORRES, ROSA           ADDRESS ON FILE
FLORES TORRES, ROSA           ADDRESS ON FILE
FLORES TORRES, SAMUEL         ADDRESS ON FILE
FLORES TORRES, SONIA N        ADDRESS ON FILE
FLORES TORRES, VICTOR M       ADDRESS ON FILE
FLORES TORRES, XIOMARA        ADDRESS ON FILE
FLORES TORRES, YACHIRA        ADDRESS ON FILE
FLORES TORRES, YOMARA         ADDRESS ON FILE
FLORES TORRES, ZULMA          ADDRESS ON FILE
FLORES TRINIDAD, ALEXIS       ADDRESS ON FILE
FLORES UJAQUE, VINNIE         ADDRESS ON FILE
FLORES URBINA, TATIANA        ADDRESS ON FILE
FLORES VADDY, FELIX           ADDRESS ON FILE
FLORES VALCARCEL, ADALBERTO   ADDRESS ON FILE
FLORES VALENTIN, AMARIS       ADDRESS ON FILE
FLORES VALENTIN, CARMEN M     ADDRESS ON FILE
FLORES VALENTIN, JENNIFER     ADDRESS ON FILE
FLORES VALENTIN, LUISA M      ADDRESS ON FILE
FLORES VALENTIN, MYRNA        ADDRESS ON FILE
FLORES VALENTIN, PABLO        ADDRESS ON FILE




                                                                          Page 2934 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2935 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES VALERA, NEREIDA         ADDRESS ON FILE
FLORES VALLE, GILDA E          ADDRESS ON FILE
FLORES VALLE, GILDA E          ADDRESS ON FILE
FLORES VALLLEJO, INGRID M      ADDRESS ON FILE
FLORES VARGAS, MELISSA         ADDRESS ON FILE
FLORES VARGAS, NORMA           ADDRESS ON FILE
FLORES VARGAS, PEDRO           ADDRESS ON FILE
FLORES VARGAS, WALTER          ADDRESS ON FILE
FLORES VARGAS, WILFREDO        ADDRESS ON FILE
FLORES VASQUEZ, RAYMOND        ADDRESS ON FILE
FLORES VAZQUEZ MD, NESTOR J    ADDRESS ON FILE
FLORES VAZQUEZ, ANGEL          ADDRESS ON FILE
FLORES VAZQUEZ, ENIBETH        ADDRESS ON FILE
FLORES VAZQUEZ, FELIX          ADDRESS ON FILE
FLORES VAZQUEZ, GILDALIS       ADDRESS ON FILE
FLORES VAZQUEZ, GRISELLE       ADDRESS ON FILE
FLORES VAZQUEZ, IRIS J.        ADDRESS ON FILE
FLORES VAZQUEZ, IRIS J.        ADDRESS ON FILE
FLORES VAZQUEZ, JEANNETTE      ADDRESS ON FILE
FLORES VAZQUEZ, JOSE           ADDRESS ON FILE
FLORES VAZQUEZ, JOSE           ADDRESS ON FILE
FLORES VAZQUEZ, JOSE           ADDRESS ON FILE
FLORES VAZQUEZ, JOSE           ADDRESS ON FILE
Flores Vazquez, Jose D.        ADDRESS ON FILE
FLORES VAZQUEZ, JOSE I         ADDRESS ON FILE
FLORES VAZQUEZ, JOSE R.        ADDRESS ON FILE
FLORES VAZQUEZ, LUZ            ADDRESS ON FILE
Flores Vazquez, Miguel         ADDRESS ON FILE
Flores Vazquez, Ruben          ADDRESS ON FILE
FLORES VAZQUEZ, YANITZA        ADDRESS ON FILE
FLORES VEGA, ASTRID            ADDRESS ON FILE
FLORES VEGA, BRENDA            ADDRESS ON FILE
FLORES VEGA, BRENDA            ADDRESS ON FILE
FLORES VEGA, CARLOS M          ADDRESS ON FILE
Flores Vega, Javier T          ADDRESS ON FILE
FLORES VEGA, JEANETTE          ADDRESS ON FILE
FLORES VEGA, JEANETTE          ADDRESS ON FILE
FLORES VEGA, JESSICA           ADDRESS ON FILE
FLORES VEGA, JOSE              ADDRESS ON FILE
FLORES VEGA, LOURDES           ADDRESS ON FILE
FLORES VEGA, MARGARITA         ADDRESS ON FILE
FLORES VEGA, MARIA V           ADDRESS ON FILE
Flores Vega, Ramon H           ADDRESS ON FILE
FLORES VEGUILLA, SILVIA        ADDRESS ON FILE
FLORES VELAQUEZ, NELIDA        ADDRESS ON FILE
FLORES VELAZQUEZ, ELIZABETH    ADDRESS ON FILE
Flores Velazquez, Luis Angel   ADDRESS ON FILE
FLORES VELAZQUEZ, MIGDALIA     ADDRESS ON FILE
FLORES VELAZQUEZ, MIGDALIA     ADDRESS ON FILE
FLORES VELAZQUEZ, NELIDA       ADDRESS ON FILE
FLORES VELEZ, BETTY            ADDRESS ON FILE
FLORES VELEZ, BRUNILDA         ADDRESS ON FILE
FLORES VELEZ, ELMY             ADDRESS ON FILE
FLORES VELEZ, FERNANDO J       ADDRESS ON FILE
FLORES VELEZ, FRANCISCO J.     ADDRESS ON FILE
FLORES VELEZ, IRIS A           ADDRESS ON FILE
Flores Velez, Jose R.          ADDRESS ON FILE
FLORES VELEZ, LIZADELLE        ADDRESS ON FILE
FLORES VELEZ, MARISA Y         ADDRESS ON FILE
FLORES VELEZ, MELIZABETH       ADDRESS ON FILE




                                                                           Page 2935 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2936 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FLORES VELEZ, MIGUEL                      ADDRESS ON FILE
FLORES VELEZ, NORIS                       ADDRESS ON FILE
Flores Velez, Reinaldo                    ADDRESS ON FILE
FLORES VELEZ, VANESSA                     ADDRESS ON FILE
FLORES VELEZ, WANDA I                     ADDRESS ON FILE
FLORES VERGARA, IDALIA                    ADDRESS ON FILE
FLORES VERGARA, NORALIS                   ADDRESS ON FILE
FLORES VIALIZ, PHILIP                     ADDRESS ON FILE
FLORES VICENTE, JUAN                      ADDRESS ON FILE
FLORES VIDAL, CHRISTIANE MARI             ADDRESS ON FILE
FLORES VIDAL, HILDA                       ADDRESS ON FILE
FLORES VIDAL,CHRISTIE MARI                ADDRESS ON FILE
FLORES VIERA, LUIS                        ADDRESS ON FILE
FLORES VIERA, PETRA D                     ADDRESS ON FILE
FLORES VILANOVA, STEPHEN                  ADDRESS ON FILE
FLORES VILLALONGO, CARMEN I               ADDRESS ON FILE
Flores Villalongo, Jose D                 ADDRESS ON FILE
FLORES VILLALONGO, OLGA                   ADDRESS ON FILE
FLORES VILLALTA, SELMA                    ADDRESS ON FILE
FLORES VILLEGAS, ELBA I.                  ADDRESS ON FILE
FLORES VILLEGAS, MILAGROS                 ADDRESS ON FILE
FLORES VIVES, IDARMIZ                     ADDRESS ON FILE
FLORES VIVES, IDARMIZ                     ADDRESS ON FILE
FLORES WALKER, DASHILA                    ADDRESS ON FILE
FLORES WALKER, MICHELLE                   ADDRESS ON FILE
FLORES Y ALGO MAS / FUN Y CAPILLA PEDRO   20 JESUS T PINERO                                                                PATILLAS     PR      00723
FLORES ZAPATA, JONATHAN                   ADDRESS ON FILE
FLORES ZAYAS, ADALBERTO                   ADDRESS ON FILE
FLORES ZAYAS, HIRAM                       ADDRESS ON FILE
FLORES ZAYAS, JAVIER                      ADDRESS ON FILE
FLORES ZAYAS, MARILYN                     ADDRESS ON FILE
FLORES ZAYAS, ROLANDO                     ADDRESS ON FILE
FLORES ZAYAS, ROLANDO                     ADDRESS ON FILE
FLORES ZAYAS, WIGNA                       ADDRESS ON FILE
FLORES ZAYAS, ZOBEIDA                     ADDRESS ON FILE
FLORES, ADALBERTO                         ADDRESS ON FILE
Flores, Adnerys                           ADDRESS ON FILE
Flores, Agustin                           ADDRESS ON FILE
FLORES, ALEXANDER J.                      ADDRESS ON FILE
FLORES, ALMA I                            ADDRESS ON FILE
FLORES, ANGEL                             ADDRESS ON FILE
FLORES, CARLOS R.                         ADDRESS ON FILE
FLORES, HECTOR                            ADDRESS ON FILE
FLORES, ISABEL                            ADDRESS ON FILE
FLORES, JAVIER                            ADDRESS ON FILE
FLORES, JENNIFER                          ADDRESS ON FILE
FLORES, JUAN C                            ADDRESS ON FILE
FLORES, JUAN V.                           ADDRESS ON FILE
FLORES, MIGUEL A.                         ADDRESS ON FILE
FLORES, MILTON ELIAS                      ADDRESS ON FILE
FLORES, RAFAEL                            ADDRESS ON FILE
FLORES,RUBEN A.                           ADDRESS ON FILE
FLORES‐AYFFAN SANTANA, ZAYRA              ADDRESS ON FILE
FLORESGONZALEZ, CARLOS M                  ADDRESS ON FILE
FLORESGONZALEZ, JUAN C                    ADDRESS ON FILE
FLORESHERNANDEZ, GUILLERMO                ADDRESS ON FILE
FLORESLAFORET, GERARDO                    ADDRESS ON FILE
FLORESMONTALVO, VICTOR E                  ADDRESS ON FILE
FLORESMUNOZ, ELIGIO                       ADDRESS ON FILE
FLORESPERALES, MIRIAN R                   ADDRESS ON FILE




                                                                                      Page 2936 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2937 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                 Address2                                    Address3   Address4   City                State   PostalCode   Country
FLORESRIVERA, JAVIER A                   ADDRESS ON FILE
FLORESRIVERA, WILFREDO                   ADDRESS ON FILE
FLORESRIVERA, WILLIAM                    ADDRESS ON FILE
FLORESVEGA, DIANA                        ADDRESS ON FILE
FLOREZ CASTANO, CARLOS                   ADDRESS ON FILE
FLOREZ CASTANO, LINA                     ADDRESS ON FILE
FLOREZ COLON, JULIO                      ADDRESS ON FILE
FLOREZ ORTIZ, FRANCISCO                  ADDRESS ON FILE
FLORIAN ALGARIN, MIGUEL                  ADDRESS ON FILE
FLORIAN FABIAN, AIDA M                   ADDRESS ON FILE
FLORIAN ORTIZ, MOISES M.                 ADDRESS ON FILE
FLORIAN PEÑA MD, GANIMEDES               ADDRESS ON FILE
FLORIBERT PEREZ GONZALEZ                 ADDRESS ON FILE
FLORIDA ARTHRITIS & RHEUMATISM INC       ATTN MEDICAL RECORDS                     201 HILDA ST STE 22                                               KISSIMMEE           FL      34741
FLORIDA BAKERY INC                       PO BOX 336119                                                                                              PONCE               PR      00733
FLORIDA CANCER SPECIALIST                ATTN MEDICAL RECORDS                     2401 60TH STREET CT W                                             BRADENTON           FL      34209
FLORIDA CANCER SPECIALISTS               8344 CLAIREMONT MESA BLVD                SUITE 201                                                         SAN DIEGO           CA      92111
FLORIDA DEPARTMENT OF EDUCATION          1940 N. MONROE STREET                                                                                      TALLAHASEE          FL      32303‐1940
FLORIDA EPILEPSY CENTER                  615 E PRINCETON STREET                   SUITE 540                                                         ORLANDO             FL      32803
FLORIDA EYE CENTER                       1515 9TH AVENUE NORTH                                                                                      ST PETERSBURG       FL      33705
FLORIDA EYE CLINIC                       160 BOSTON AVE                                                                                             ALTAMONTE SPRINGS   FL      32701
FLORIDA HEART ASSOCIATES                 1550 BARKLEY CIR                                                                                           FORT MYERS          FL      33907
FLORIDA HEART VASCULAR CENTER            511 MEDICAL PLAZA DRIVE                  SUITE 101                                                         LEESBURG            FL      34748
FLORIDA HOSPITAL                         545 JOHN CARPENTER PWY                   STE 700                                                           IRVING              TX      75062
FLORIDA HOSPITAL                         PO BOX 862304                                                                                              ORLANDO             FL      32866‐2304
FLORIDA HOSPITAL
FLORIDA HOSPITAL CANCER INSTITUTE        ATTN MEDICAL RECORDS                     2501 N ORANGE AV STE 689                                          ORLANDO             FL      32804
FLORIDA HOSPITAL CARROLLWOOD             PO BOX 409669                                                                                              ATLANTA             GA      30384‐9669
FLORIDA HOSPITAL CELEBRATION             PO BOX 409822                                                                                              ATLANTA             GA      30384‐9822
FLORIDA HOSPITAL CENTRA CARE             MEDICAL RECORDS                          2301 SAND LAKE RD                                                 ORLANDO             FL      32809‐7639
FLORIDA HOSPITAL EAST ORLANDO
FLORIDA HOSPITAL FISH MEMORIAL           PO BOX 409822                                                                                              ATLANTA             GA      30384‐9822
FLORIDA HOSPITAL TRANSPLANT CENTER       MEDICAL RECORDS                           2415 N ORANGE AVE STE 700                                        ORLANDO             FL      32804
FLORIDA HOSPITAL WINTER PARK             PO BOX 152472                                                                                              IRVING              TX      75015‐2472
FLORIDA HOSPITAL ZEPHYRHILLS             PO BOX 15082                                                                                               BROOKSVILLE         FL      34604
FLORIDA INSTITUTE FOR NEUROLOGIC REHAB   ATTN MEDICAL RECORDS                      PO BOX 1348                                                      WAUCHULA            FL      33873
FLORIDA MEDICAL CENTER HOSPITAL          PO BOX 19058                                                                                               GREEN BAY           WI      54307
FLORIDA ORTHOPAEDIC ASSOC PA             PO BOX 403747                                                                                              ATLANTA             GA      30384‐3747
FLORIDA ORTHOPAEDIC ASSOCIATES PA        740 W PLYMOUTH AVENUE                                                                                      DELAND              FL      32720
FLORIDA READING & VISION TECH INC        P O BOX 519                                                                                                FORT LAUDARDSLE     NY      33302‐0519
FLORIDA REALTY                           7 CALLE JOSE DE DIEGO                                                                                      FLORIDA             PR      00650
FLORIDA SPINE CARE CENTER                ATTN MEDICAL RECORDS                      PO BOX 568008                                                    ORLANDO             FL      32856‐8008
FLORIDO COLLAZO, ROLANDO                 ADDRESS ON FILE
FLORIDO ROSA, WANDA L                    ADDRESS ON FILE
FLORIDO VAZQUEZ, SANDRA G                ADDRESS ON FILE
FLORIDO VELAZQUEZ, GENOVEVA              ADDRESS ON FILE
FLORIMAR ENTERPRISE INC                  PO BOX 2130                                                                                                VEGA BAJA           PR      00694
FLORISTERIA CASA MARINA                  34 CALLE MUNOZ RIVERA BOX 571                                                                              MAUNABO             PR      00707
FLORISTERIA LA CAMPINA                   CIUDAD UNIVERSITARIA                      B 1 5 AVE PERIFERAL                                              TRUJILLO ALTO       PR      00976
FLORISTERIA OCACIONES                    CARR 159 KM 16 4 BO MAVILLA                                                                                COROZAL             PR      00783
FLORISTERIA PENA POBRE                   HC 1 BOX 4633                                                                                              NAGUABO             PR      00718
FLORISTERIA VINAS                        RES LUIS LIOREN TORRES                    EDIF 22 APT 466                                                  SAN JUAN            PR      00913
FLORITA L NOGUERAS RUIZ                  ADDRESS ON FILE
FLORITA MASSAS MASSAS                    ADDRESS ON FILE
FLORITA MORALES Y RAFAEL GONZALEZ        COND FIRST FEDERAL                        AVE MUNOZ RIVERA STE 601                                         SAN JUAN            PR      00927
FLORITA SUSTACHE SUSTACHE                ADDRESS ON FILE
FLORMARI RODRIGUEZ ATILES                ADDRESS ON FILE
FLORSIDA GARCIA CARBONELL                ADDRESS ON FILE
FLOUR DANIEL CARIBBEAN INC               PO BOX 70364                                                                                               SAN JUAN            PR      00936‐3640
FLOWER & FLORIST SERVICES                URB. LAGO HORIZONTE 2517 CALLE RUBI COTO LAUREL                                                            PONCE               PR      00780‐2418




                                                                                                               Page 2937 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2938 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                           Address1                          Address2                                  Address3   Address4   City            State   PostalCode   Country
FLOWER WEDDING DESIGNERS BY TIFFANY INC URB SANTA ROSA                    51‐35 AVE MAIN                                                  BAYAMON         PR      00959
FLOWERS EXPRESS INC LTD                 915 SANTA TERESA JOURNET                                                                          MAYAGUEZ        PR      00682
FLP SERVICES CORP                       250 CALLE MUNOZ RIVERA                                                                            FAJARDO         PR      00738
FLUID ENERGY INC                        PO BOX 2329                                                                                       GUAYNABO        PR      00970
FLUSHING HOSPITAL MEDICAL CENTER        45TH AVE AT PARSONS BLVD                                                                          FLUSHING        NY      11355‐2100
FLY MD , ERIN M                         ADDRESS ON FILE
FLYNN CINTRON, ANA                      ADDRESS ON FILE
FLYNN CINTRON, JORGE                    ADDRESS ON FILE
FLYNN FUERTES, JOHN                     ADDRESS ON FILE
FLYNN FUERTES, JOHN M                   ADDRESS ON FILE
FLYNN, MICHAEL                          ADDRESS ON FILE
FLYNN, TIMOTHY                          ADDRESS ON FILE
FM VAMC                                 113 COMMANCHE RD                                                                                  FT MEADE        SD      57741
FMC DIALYSIS SERVICES OF CANOVANAS      CARR 3 KM 19.9                    PO BOX 1604                                                     CANOVANAS       PR      00729‐1604
FMG TRADING LLC                         PO BOX 194062                                                                                     SAN JUAN        PR      00919‐4062
FMS ADVANCE SYSTEMS GROUP               8150 LEESBURG PIKE                SUITE 1150                                                      VIENNA          VA      22182
FMT INC Y/O BANCO DES ECONOMICO PR      SUITE 112 PMB 396 100             100 GRAND BOULEVARD LOS PASEOS                                  SAN JUAN        PR      00926
FN INDUSTRIAL SUPPLY                    1575 AVE MUNOZ RIVERA SUITE 271                                                                   PONCE           PR      00717‐0211
FNC CONSULTANTS P S C                   P O BOX 299                                                                                       AGUADILLA       PR      00605
FOAM CEM CARIBE INC                     PO BOX 13000                                                                                      SAN JUAN        PR      00908
FOAM CEM CARIBE, INC.                   CARR 831 KM 2.5                   SECTOR LA LOMITA                                                BAYAMÓN         PR      00956
FOAMCEN CARIBE INC                      PO BOX 13000                                                                                      SAN JUAN        PR      00908
FOCAL POINT INC                         PMB 731                           1353 AVE LUIS VIGOREAUX                                         GUAYNABO        PR      00966
FOCUS BUSINESS COMMUNICATIONS INC       PO BOX 11856                                                                                      SAN JUAN        PR      00922
FOCUS RISK MANAGEMENT SPECIALIST        PMB 592                           AUSTRAL 1353 AVE LUIS VIGOREAUX                                 GUAYNABO        PR      00966
FOCUS RISK MANAGEMENT SPECIALISTS, CORP AVE LUIS VIGOREAUX 1353           PMB 592                                                         GUAYNABO        PR      00966
FOCUS RM SPECIALIST, CORP.              AVE. LUIS VIGOREAUX               PMB 582 1353                                                    GUAYNABO        PR      00966
FOCUS RM SPECIALISTS CORP               PMB 592                           1353 AVE LUIS VIGOREAUX                                         GUAYNABO        PR      00966
FOFUCHAS INC                            PUERTO NUEVO                      268 AVE DE DIEGO                                                SAN JUAN        PR      00920
FOGEL CARIBBEAN CORP                    170 AVE PEDRO ALBIZU CAMPOS                                                                       AGUADILLA       PR      00603
FOGEL CARIBBEAN CORPORATION             170 AVE. PEDRO ALBIZU CAMPOS                                                                      AGUADILLA       PR      00603‐0000
FOGLEMAN DAVILA, ROSE                   ADDRESS ON FILE
FOLCH ALFONZO, OLGA                     ADDRESS ON FILE
FOLCH COLON, ALMA L                     ADDRESS ON FILE
FOLCH COLON, ALMA L                     ADDRESS ON FILE
FOLCH COLON, EVELYN                     ADDRESS ON FILE
FOLCH DEL VALLE, MINERVA                ADDRESS ON FILE
Folch Echevarria, Francisco             ADDRESS ON FILE
FOLCH FERNANDEZ, ALBERTO L              ADDRESS ON FILE
FOLCH MIRANDA, JOSE                     ADDRESS ON FILE
FOLCH MOTTA, KARL                       ADDRESS ON FILE
FOLCH RAMIREZ, DIANA I                  ADDRESS ON FILE
FOLCH RODRIGUEZ, GLADYS B               ADDRESS ON FILE
FOLCH ROSADO, ALEXIS                    ADDRESS ON FILE
FOLCH SERRANO, KAREN                    ADDRESS ON FILE
Folch Torres, Axel                      ADDRESS ON FILE
FOLDER PRINTERS                         5920 BOWCROFT ST.                                                                                 LOS ANGELES     CA      90016
FOLEI                                   CALLE RUPERTO BURGOS              SECTOR ANICETO CRUZ CANDELERO                                   HUMACAO         PR      00791‐9646
FOLEI GROUP INC                         HC 11 BOX 12806                                                                                   HUMACAO         PR      00791‐9646
FOLEY & LARDNER LLP                     300 K STREET NW SUITE 500                                                                         WASHINGTON      DC      20007
FOMENTO DE EMPRESAS TRABAJADORES DUENORR 36 BZN 6137                                                                                      SAN JUAN        PR      00926
FONALLEDAS LOPEZ, OLGA                  ADDRESS ON FILE
FONALLEDAS MUNOZ, ELSA                  ADDRESS ON FILE
FONCECA MILLAN, ANTONIO                 ADDRESS ON FILE
FONDEUR TORRES, SHIRLEY                 ADDRESS ON FILE
FONDEUR URBINA, JOSE M.                 ADDRESS ON FILE
FONDITA DIVINO NINO JESUS               ADDRESS ON FILE
FONDO DE AYUDA SOCIAL DEL LEONISMO D 51 AVE. FERNANDEZ JUNCOS # 953                                                                       SAN JUAN        PR      00936
FONDO DE BENEFICIOS AL TRABAJADOR       P O BOX 11542                                                                                     SAN JUAN        PR      00692
FONDO FOMENTO INDUSTRIA DE HUEVOS / ASDAP O BOX 126                                                                                       CAGUAS          PR      00726‐0126




                                                                                                     Page 2938 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                          Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2939 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                           Address1                       Address2                                 Address3            Address4   City         State   PostalCode   Country
FONDO FOMENTO INDUSTRIA DE HUEVOS / ASDAPO BOX 9200                    EDIF PLAZA 20 PISO 2                     AVE HIPODROMO 603              SAN JUAN     PR      00908‐0200
FONDO FOMENTO INDUSTRIA DEL HUEVOS      P O BOX 126                                                                                            CAGUAS       PR      00726 0126
FONDO FOMENTO INDUSTRIA DEL HUEVOS      PO BOX 1138                                                                                            TOA ALTA     PR      00954‐1138
FONDO FOMENTO INDUSTRIA LECHERA         PO BOX 360454                                                                                          SAN JUAN     PR      00936
FONDO PARA EL FOMENTO DE LA INDUSTRIA   DE CARNE DE CERDO DE PR        P O BOX 9254                                                            SAN JUAN     PR      00908
FONDO SEGURO ESTADO                     DEPT HACIENDA                                                                                          SAN JUAN     PR      00901
FONDO UNIDOS                            PO BOX 191914                                                                                          SAN JUAN     PR      00919‐1914
Fondon Merino, David A                  ADDRESS ON FILE
FONDOS BENEFICOS UNIDOS                 PO BOX 191914                                                                                          SAN JUAN     PR      00919‐1914
FONDOS UNIDOS                           INTENDENTE RAMIREZ                                                                                     SAN JUAN     PR      00901
FONDOS UNIDOS DE PUERTO RICO            MARGINAL LOS ANGELES ESQUINA   BOULEVARD PDA.26 1/2 SANTURCE                                           SAN JUAN     PR      00923
FONDOS UNIDOS DE PUERTO RICO            P.O. BOX 191914                                                                                        SAN JUAN     PR      00919‐1914
FONDOS UNIDOS DE PUERTO RICO , INC      PO BOX 191914                                                                                          SAN JUAN     PR      00919‐1914
FONDOS UNIDOS PR INC                    PO BOX 191914                                                                                          SAN JUAN     PR      00919‐1914
FONFRIAS REYES, CARMEN                  ADDRESS ON FILE
FONG BORRERO, MEI                       ADDRESS ON FILE
FONG CHANG, FRANCISCO                   ADDRESS ON FILE
FONG NG, TEEM                           ADDRESS ON FILE
FONG, ANDREW                            ADDRESS ON FILE
Fonollosa Cruz, Pablo                   ADDRESS ON FILE
FONOLLOSA OCASIO, JACKELINE             ADDRESS ON FILE
FONRODONA GELABERT, CALIXTA             ADDRESS ON FILE
Fonrodona Gelabert, Victor              ADDRESS ON FILE
Fonrodona Martin, Ismael                ADDRESS ON FILE
Fonrodona Savino, Joanne M              ADDRESS ON FILE
FONRODONA SAVINO, SIOMARA               ADDRESS ON FILE
FONSECA AGOSTO, MELVIN                  ADDRESS ON FILE
FONSECA AGUIRRE, ERIC                   ADDRESS ON FILE
FONSECA ALICEA, JOSE                    ADDRESS ON FILE
FONSECA ALICEA, KATIRIA                 ADDRESS ON FILE
FONSECA ALVARADO, ROSANA                ADDRESS ON FILE
FONSECA APONTE, BIANCA                  ADDRESS ON FILE
FONSECA APONTE, MILDRED                 ADDRESS ON FILE
FONSECA ARROYO, LESLIE A                ADDRESS ON FILE
FONSECA ARROYO, MARIA                   ADDRESS ON FILE
FONSECA AYALA, CARMEN I                 ADDRESS ON FILE
FONSECA AYALA, EDWIN OCTAVIO            ADDRESS ON FILE
FONSECA AYALA, MARIA DEL C              ADDRESS ON FILE
FONSECA AYALA, RICARDO                  ADDRESS ON FILE
Fonseca Ayala, Tomas                    ADDRESS ON FILE
FONSECA BAEZ, ANA H.                    ADDRESS ON FILE
Fonseca Baez, Felipe                    ADDRESS ON FILE
FONSECA BAEZ, MARIO                     ADDRESS ON FILE
FONSECA BAEZ, RAMONITA                  ADDRESS ON FILE
FONSECA BAEZ, VICTOR                    ADDRESS ON FILE
FONSECA BENABE, AMARILYS                ADDRESS ON FILE
FONSECA BENITEZ, JUANA                  ADDRESS ON FILE
FONSECA BERMUDEZ, TITO                  ADDRESS ON FILE
FONSECA BILBRAUT, CARLOS                ADDRESS ON FILE
FONSECA BILBRAUT, SHEILA                ADDRESS ON FILE
Fonseca Bilbraut, Sheila V.             ADDRESS ON FILE
FONSECA BONILLA, ANGELICA               ADDRESS ON FILE
FONSECA BONILLA, ANGELICA               ADDRESS ON FILE
FONSECA BORRAS, GLADYS                  ADDRESS ON FILE
FONSECA BORRAS, TOMAS                   ADDRESS ON FILE
FONSECA BRANA, ALMARIS                  ADDRESS ON FILE
FONSECA BRANA, CARMEN N                 ADDRESS ON FILE
FONSECA CABRERA, VILMARIE               ADDRESS ON FILE
FONSECA CAEZ, CARMEN D                  ADDRESS ON FILE
FONSECA CAMPOS, EVELYN                  ADDRESS ON FILE




                                                                                                 Page 2939 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2940 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONSECA CANNET, LISSETTE         ADDRESS ON FILE
FONSECA CARABALLO, NELSON        ADDRESS ON FILE
Fonseca Carmona, Esther          ADDRESS ON FILE
FONSECA CARRASCO, OLGA M         ADDRESS ON FILE
FONSECA CASILLAS, PABLO          ADDRESS ON FILE
FONSECA CASTILLO, HUGO E         ADDRESS ON FILE
FONSECA CHARRIEZ, CARMEN L.      ADDRESS ON FILE
FONSECA COLON, CARMEN E          ADDRESS ON FILE
FONSECA COLON, LUZ N             ADDRESS ON FILE
FONSECA COLON, NELMARY           ADDRESS ON FILE
FONSECA COLON, YADIRA            ADDRESS ON FILE
FONSECA CONDE, MARISOL           ADDRESS ON FILE
FONSECA CONDE, VIVIAN            ADDRESS ON FILE
FONSECA CONDE, VIVIAN            ADDRESS ON FILE
FONSECA CORIANO, KETSY M.        ADDRESS ON FILE
FONSECA COSS, MARIA J            ADDRESS ON FILE
FONSECA CRESCIONI, MANUEL        ADDRESS ON FILE
FONSECA CRESPO, ARNALDO J.       ADDRESS ON FILE
FONSECA CRUZ, HECTOR             ADDRESS ON FILE
FONSECA CRUZ, ROCKNEE            ADDRESS ON FILE
FONSECA CUBANO, FRANCHESKA       ADDRESS ON FILE
FONSECA DE JESUS, CARMEN J.      ADDRESS ON FILE
FONSECA DE JESUS, EMMA           ADDRESS ON FILE
Fonseca De Jesus, Luis M.        ADDRESS ON FILE
FONSECA DE JESUS, MARIA E        ADDRESS ON FILE
FONSECA DE JESUS, OLGA           ADDRESS ON FILE
FONSECA DEL VALLE, ABIGAIL       ADDRESS ON FILE
FONSECA DEL VALLE, MARGARITA     ADDRESS ON FILE
FONSECA DEL VALLE, MARIA S.      ADDRESS ON FILE
FONSECA DEL VALLE, NATANAEL      ADDRESS ON FILE
FONSECA DELGADO, JOSE            ADDRESS ON FILE
FONSECA DIAZ, ANGEL L            ADDRESS ON FILE
FONSECA DIAZ, ANGELA             ADDRESS ON FILE
FONSECA DIAZ, NOE                ADDRESS ON FILE
FONSECA DIAZ, OMAR               ADDRESS ON FILE
FONSECA ENCARNACION, MONICA      ADDRESS ON FILE
Fonseca Erazo, Ivette S          ADDRESS ON FILE
FONSECA ERAZO, JESUS E.          ADDRESS ON FILE
FONSECA ERAZO, JESUS J           ADDRESS ON FILE
FONSECA ERAZO, JESUS R.          ADDRESS ON FILE
FONSECA ESTEVES, NORMA L         ADDRESS ON FILE
FONSECA ESTRADA, ALFREDO         ADDRESS ON FILE
FONSECA FELIX, ELVIN             ADDRESS ON FILE
FONSECA FELIX, JESUS             ADDRESS ON FILE
FONSECA FELIX, LEONARDO          ADDRESS ON FILE
FONSECA FIGUEROA, LUIS           ADDRESS ON FILE
FONSECA FLORES, DOREIDA          ADDRESS ON FILE
FONSECA FONSECA, BRENDA          ADDRESS ON FILE
FONSECA FONSECA, LISANDRA        ADDRESS ON FILE
FONSECA FONSECA, LISANDRA        ADDRESS ON FILE
FONSECA FONSECA, MIGUEL          ADDRESS ON FILE
FONSECA FONSECA, MILAGROS        ADDRESS ON FILE
FONSECA FRANCO, JUAN             ADDRESS ON FILE
FONSECA FUENTES, HERIBERTO       ADDRESS ON FILE
FONSECA GALLARDO, FRANCISCO      ADDRESS ON FILE
FONSECA GARCIA, ERICA            ADDRESS ON FILE
FONSECA GARCIA, JUREMA           ADDRESS ON FILE
FONSECA GARCIA, RAFAEL ANTONIO   ADDRESS ON FILE
FONSECA GERENA, DINA M           ADDRESS ON FILE
FONSECA GOMEZ, JACQUELINE        ADDRESS ON FILE




                                                                             Page 2940 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2941 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONSECA GONZALEZ, DAVID        ADDRESS ON FILE
FONSECA GONZALEZ, GRISEL       ADDRESS ON FILE
FONSECA GONZALEZ, JENNY        ADDRESS ON FILE
Fonseca Gonzalez, Jose A       ADDRESS ON FILE
FONSECA GONZALEZ, JUAN PABLO   ADDRESS ON FILE
FONSECA GONZALEZ, LUIS         ADDRESS ON FILE
FONSECA GONZALEZ, NEREIDA      ADDRESS ON FILE
FONSECA GONZALEZ, NEREIDA      ADDRESS ON FILE
Fonseca Guilfu, Angel G        ADDRESS ON FILE
FONSECA GUILFU, FELIX R        ADDRESS ON FILE
FONSECA GUILFU, JOSE D         ADDRESS ON FILE
FONSECA GUILFU, MARISELA       ADDRESS ON FILE
FONSECA GUILFU, YANIRA         ADDRESS ON FILE
FONSECA GUZMAN, MARIEL         ADDRESS ON FILE
FONSECA GUZMAN, MARITSA        ADDRESS ON FILE
FONSECA GUZMAN, ORLANDO R      ADDRESS ON FILE
FONSECA HERNANDEZ, ALEXANDRA   ADDRESS ON FILE
FONSECA HERNANDEZ, AXEL        ADDRESS ON FILE
FONSECA HERNANDEZ, EDDA E      ADDRESS ON FILE
FONSECA HERNANDEZ, JENSEN      ADDRESS ON FILE
Fonseca Hernandez, Miguel A    ADDRESS ON FILE
FONSECA HILERIO, NELIA         ADDRESS ON FILE
FONSECA JOUBERT, ROSE M        ADDRESS ON FILE
FONSECA JOURBERT, LIZA         ADDRESS ON FILE
FONSECA LAGO, DENNISE          ADDRESS ON FILE
FONSECA LARA, INA S            ADDRESS ON FILE
FONSECA LEBRON, CARMEN S       ADDRESS ON FILE
FONSECA LEBRON, YARA E         ADDRESS ON FILE
FONSECA LLAVET, CINDIE         ADDRESS ON FILE
FONSECA LOPEZ, CARMEN N.       ADDRESS ON FILE
FONSECA LOPEZ, JALEEZ          ADDRESS ON FILE
FONSECA LOZADA, HECTOR         ADDRESS ON FILE
FONSECA LUGO, ALBERTO R.       ADDRESS ON FILE
FONSECA LUGO, ELBA E           ADDRESS ON FILE
FONSECA MACHIN, IDALEEZ        ADDRESS ON FILE
FONSECA MACHIN, NORMARIE       ADDRESS ON FILE
FONSECA MARRERO, ROSA          ADDRESS ON FILE
FONSECA MARRERO, SOFIA         ADDRESS ON FILE
FONSECA MARRERO, VICTOR        ADDRESS ON FILE
FONSECA MARTINEZ, EVELYN       ADDRESS ON FILE
FONSECA MARTINEZ, MILAGROS     ADDRESS ON FILE
FONSECA MARTINEZ, RAFAEL       ADDRESS ON FILE
FONSECA MARTINEZ, SASLEIDE     ADDRESS ON FILE
FONSECA MARTINEZ, SONIA        ADDRESS ON FILE
FONSECA MATOS, LUIS            ADDRESS ON FILE
FONSECA MEDINA, CARMELO        ADDRESS ON FILE
Fonseca Melendez, Daniel       ADDRESS ON FILE
FONSECA MELENDEZ, LUIS A       ADDRESS ON FILE
FONSECA MELENDEZ, MAYRA I      ADDRESS ON FILE
FONSECA MELENDEZ, OMAR         ADDRESS ON FILE
FONSECA MELENDEZ, VILMA L      ADDRESS ON FILE
FONSECA MILLAN, ANTONIO        ADDRESS ON FILE
FONSECA MOJICA, JOSE           ADDRESS ON FILE
FONSECA MOLINA, JOSE ANTONIO   ADDRESS ON FILE
FONSECA MONTANEZ, DAMASO       ADDRESS ON FILE
FONSECA MORALES, ADA N         ADDRESS ON FILE
FONSECA MORALES, GLORIA M.     ADDRESS ON FILE
FONSECA MORALES, JUAN          ADDRESS ON FILE
FONSECA MORALES, JUDITH        ADDRESS ON FILE
FONSECA MORALES, LYMARIE       ADDRESS ON FILE




                                                                           Page 2941 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 2942 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONSECA MULERO, BLANCA       ADDRESS ON FILE
FONSECA MULERO, DQRIS        ADDRESS ON FILE
FONSECA MULERO, JOSE M       ADDRESS ON FILE
FONSECA MULERO, RAMON L      ADDRESS ON FILE
FONSECA MULERO, TERESA       ADDRESS ON FILE
FONSECA NAVARRO, EVELYN      ADDRESS ON FILE
FONSECA NIEVES, JOSE         ADDRESS ON FILE
FONSECA NIEVES, JOSE         ADDRESS ON FILE
FONSECA OCASIO, SURELYS      ADDRESS ON FILE
FONSECA OLIVERAS, JOSE       ADDRESS ON FILE
FONSECA OLIVERAS, XAVIER     ADDRESS ON FILE
FONSECA OLMEDA, CARLOS M.    ADDRESS ON FILE
FONSECA OLMEDA, IVELISSE     ADDRESS ON FILE
FONSECA OLMEDA, RICARDO      ADDRESS ON FILE
FONSECA ORELLANA, PEDRO J    ADDRESS ON FILE
FONSECA ORTA, CARLOS         ADDRESS ON FILE
FONSECA ORTA, ELBA I         ADDRESS ON FILE
FONSECA ORTEGA, FREDDY       ADDRESS ON FILE
FONSECA ORTIZ, ALVIN         ADDRESS ON FILE
FONSECA ORTIZ, BETSY         ADDRESS ON FILE
FONSECA ORTIZ, CARMEN S      ADDRESS ON FILE
FONSECA ORTIZ, JACKELINE     ADDRESS ON FILE
FONSECA ORTIZ, JOANNIE       ADDRESS ON FILE
FONSECA PADILLA, ALEXANDER   ADDRESS ON FILE
FONSECA PADILLA, LESLIE      ADDRESS ON FILE
FONSECA PAGAN, CARLA         ADDRESS ON FILE
FONSECA PAGAN, RAYMUNDO      ADDRESS ON FILE
FONSECA PEPIN, ZULMA         ADDRESS ON FILE
FONSECA PEREZ, ALBERTO       ADDRESS ON FILE
Fonseca Perez, Francisco J   ADDRESS ON FILE
FONSECA PEREZ, JONATHAN      ADDRESS ON FILE
FONSECA PEREZ, LUIS          ADDRESS ON FILE
FONSECA PLAZA, JOSE          ADDRESS ON FILE
FONSECA RAMOS, CARMEN        ADDRESS ON FILE
FONSECA RAMOS, CARMEN I      ADDRESS ON FILE
FONSECA RAMOS, GAMALIEL      ADDRESS ON FILE
FONSECA RAMOS, JOSE          ADDRESS ON FILE
FONSECA RAMOS, JOSE A        ADDRESS ON FILE
FONSECA RAMOS, MANUEL        ADDRESS ON FILE
FONSECA RAMOS, MARGARITA     ADDRESS ON FILE
FONSECA RESTO, NITZA         ADDRESS ON FILE
Fonseca Rios, Ana L          ADDRESS ON FILE
FONSECA RIOS, DAVID          ADDRESS ON FILE
FONSECA RIVAS, EMERLINDA     ADDRESS ON FILE
FONSECA RIVERA, ALMODOVAR    ADDRESS ON FILE
FONSECA RIVERA, ANDREITA     ADDRESS ON FILE
FONSECA RIVERA, ANGEL L      ADDRESS ON FILE
FONSECA RIVERA, ANGELICA M   ADDRESS ON FILE
FONSECA RIVERA, ANGELICA M   ADDRESS ON FILE
FONSECA RIVERA, BEATRIZ      ADDRESS ON FILE
FONSECA RIVERA, CARMEN       ADDRESS ON FILE
FONSECA RIVERA, CARMEN I.    ADDRESS ON FILE
FONSECA RIVERA, FELIX        ADDRESS ON FILE
FONSECA RIVERA, IRIS         ADDRESS ON FILE
FONSECA RIVERA, JAIME        ADDRESS ON FILE
FONSECA RIVERA, JOANNIE      ADDRESS ON FILE
FONSECA RIVERA, JOE          ADDRESS ON FILE
FONSECA RIVERA, JULIA        ADDRESS ON FILE
FONSECA RIVERA, LESLIE Y.    ADDRESS ON FILE
FONSECA RIVERA, LUZ M        ADDRESS ON FILE




                                                                         Page 2942 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2943 of 3500
                                                                              17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                  Address1                          Address2                                 Address3              Address4    City              State   PostalCode   Country
FONSECA RIVERA, MANUELA A.     ADDRESS ON FILE
FONSECA RIVERA, MARGARITA      ADDRESS ON FILE
FONSECA RIVERA, MARIBEL        ADDRESS ON FILE
FONSECA RIVERA, MARILYN        ADDRESS ON FILE
FONSECA RIVERA, MAYRA A        ADDRESS ON FILE
FONSECA RIVERA, NORMA I        ADDRESS ON FILE
FONSECA RIVERA, RAFAEL         ADDRESS ON FILE
FONSECA RIVERA, RAMIRO         ADDRESS ON FILE
FONSECA RIVERA, ROBERTO        ADDRESS ON FILE
FONSECA RIVERA, SONIA I        ADDRESS ON FILE
FONSECA RIVERA, TAINA          ADDRESS ON FILE
FONSECA RIVERA, VICENTE        ADDRESS ON FILE
FONSECA RIVERA, WILLIAM        ADDRESS ON FILE
FONSECA RIVERA, YAMELIS        ADDRESS ON FILE
Fonseca Rodriguez, Alejandro   ADDRESS ON FILE
FONSECA RODRIGUEZ, ALEJANDRO   ADDRESS ON FILE
FONSECA RODRIGUEZ, ANGEL       ADDRESS ON FILE
FONSECA RODRIGUEZ, BENJAMIN    ADDRESS ON FILE
FONSECA RODRIGUEZ, CARMEN I    ADDRESS ON FILE
FONSECA RODRIGUEZ, ELINET      ADDRESS ON FILE
FONSECA RODRIGUEZ, ELINNET     ADDRESS ON FILE
FONSECA RODRIGUEZ, IVELISSE    ADDRESS ON FILE
FONSECA RODRIGUEZ, IVETTE      ADDRESS ON FILE
FONSECA RODRIGUEZ, JOSE        ADDRESS ON FILE
FONSECA RODRIGUEZ, JOSE A.     ADDRESS ON FILE
FONSECA RODRIGUEZ, LUIS        ADDRESS ON FILE
FONSECA RODRIGUEZ, LUIS A.     ADDRESS ON FILE
FONSECA RODRIGUEZ, LUZ         ADDRESS ON FILE
Fonseca Rodriguez, Maritza     ADDRESS ON FILE
Fonseca Rodriguez, Mayra       ADDRESS ON FILE
FONSECA RODRIGUEZ, NELSON      ADDRESS ON FILE
FONSECA RODRÍGUEZ, NILSA I.    LCDO. HAROLD A. VÁZQUEZ PEDRAZA   LCDO. HAROLD A. VÁZQUEZ PEDRAZA          PO BOX 8832                       CAGUAS            PR      00726‐8832
FONSECA RODRÍGUEZ, NILSA I.    LCDO. MICHAEL CORONA MUÑOZ        LCDO. MICHAEL CORONA MUÑOZ               110 CALLE BORINQUEN   SUITE 4‐1   TRUJILLO ALTO     PR      00976
FONSECA RODRIGUEZ, RAFAEL A    ADDRESS ON FILE
FONSECA RODRIGUEZ, RAMON       ADDRESS ON FILE
FONSECA ROJAS, RICHARD         ADDRESS ON FILE
FONSECA ROLDAN, VICTOR         ADDRESS ON FILE
FONSECA ROQUE, ANA I           ADDRESS ON FILE
FONSECA ROSA, DARITSABEL       ADDRESS ON FILE
FONSECA ROSADO, JONATHAN       ADDRESS ON FILE
FONSECA ROSADO, LUIS           ADDRESS ON FILE
Fonseca Rosado, Luis           ADDRESS ON FILE
Fonseca Rossy, Nelson          ADDRESS ON FILE
FONSECA RUIZ, MARIA M          ADDRESS ON FILE
FONSECA SALICETI, EDUARDO      ADDRESS ON FILE
FONSECA SANCHEZ, GLORIA M      ADDRESS ON FILE
FONSECA SANCHEZ, RENE          ADDRESS ON FILE
FONSECA SANTA, KRISTOPHER      ADDRESS ON FILE
FONSECA SANTIAGO, ARELYS       ADDRESS ON FILE
FONSECA SANTIAGO, HOWARD       ADDRESS ON FILE
FONSECA SANTIAGO, IRIS E.      ADDRESS ON FILE
FONSECA SANTIAGO, JESUS        ADDRESS ON FILE
FONSECA SANTIAGO, MARIA D      ADDRESS ON FILE
FONSECA SANTIAGO, MARIA DE     ADDRESS ON FILE
FONSECA SANTIAGO, ORLANDO      ADDRESS ON FILE
FONSECA SERRANO, OSCAR E.      ADDRESS ON FILE
FONSECA SERRANO, RUTH E        ADDRESS ON FILE
FONSECA SERRANO, SARA          ADDRESS ON FILE
FONSECA SIERRA, PRISCILLA      ADDRESS ON FILE
FONSECA SOLA, MARIA S.         ADDRESS ON FILE




                                                                                           Page 2943 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2944 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONSECA SOLA, MILAGROS             ADDRESS ON FILE
FONSECA SOLER, ADA E               ADDRESS ON FILE
FONSECA SOTO, LORYMAR DEL CARMEN   ADDRESS ON FILE
Fonseca St. Kitts, Luis E.         ADDRESS ON FILE
FONSECA ST. KITTS, LUIS E.         ADDRESS ON FILE
FONSECA ST.KITTS, ALICIA           ADDRESS ON FILE
Fonseca Sustache, Angel            ADDRESS ON FILE
FONSECA TORRES, ANGELICA           ADDRESS ON FILE
FONSECA TORRES, CARMEN L           ADDRESS ON FILE
FONSECA TORRES, EDWIN              ADDRESS ON FILE
FONSECA TORRES, EMMA R             ADDRESS ON FILE
FONSECA TORRES, JOSE               ADDRESS ON FILE
FONSECA TORRES, JOSE O.            ADDRESS ON FILE
FONSECA TORRES, LUZ E.             ADDRESS ON FILE
FONSECA TORRES, MIGUEL             ADDRESS ON FILE
FONSECA TORRES, MIGUEL             ADDRESS ON FILE
FONSECA TORRES, MYRNA E            ADDRESS ON FILE
FONSECA TORRES, ROSA P             ADDRESS ON FILE
FONSECA TORRS, MARIA I             ADDRESS ON FILE
FONSECA TRUJILLO, EMMANUEL         ADDRESS ON FILE
FONSECA TRUJILLO, JOAN C           ADDRESS ON FILE
FONSECA TRUJILLO, JOAN C.          ADDRESS ON FILE
FONSECA VALENCIA, GUADALUPE        ADDRESS ON FILE
FONSECA VAZQUEZ, ANTONIO           ADDRESS ON FILE
FONSECA VAZQUEZ, JOSE              ADDRESS ON FILE
FONSECA VAZQUEZ, JUSTINO           ADDRESS ON FILE
FONSECA VAZQUEZ, LUCILA            ADDRESS ON FILE
FONSECA VAZQUEZ, MARGARET          ADDRESS ON FILE
FONSECA VAZQUEZ, MARILUZ           ADDRESS ON FILE
FONSECA VAZQUEZ, PABLO             ADDRESS ON FILE
FONSECA VEGA, IGNACIO              ADDRESS ON FILE
Fonseca Victoria, Ignacio          ADDRESS ON FILE
Fonseca Viera, Osvaldo             ADDRESS ON FILE
FONSECA VILLEGAS, RAQUEL M         ADDRESS ON FILE
FONSECA ZAYAS, ESTHER M            ADDRESS ON FILE
FONSECA ZAYAS, ESTHER M.           ADDRESS ON FILE
FONSECA ZAYAS, JOSE                ADDRESS ON FILE
FONSECA, ALEJANDRO                 ADDRESS ON FILE
FONSECA, RICARDO                   ADDRESS ON FILE
FONSECA, TAINA                     ADDRESS ON FILE
FONSECALARA, JUAN G                ADDRESS ON FILE
FONSECAMULERO, JOSE                ADDRESS ON FILE
FONT ACEVEDO, CORPUS FRANCISCO     ADDRESS ON FILE
FONT ACEVEDO, EDWIN E              ADDRESS ON FILE
FONT ALVAREZ, AWILDA               ADDRESS ON FILE
FONT ALVELO, JAVIER                ADDRESS ON FILE
FONT ALVELO, JAVIER                ADDRESS ON FILE
FONT ALVELO, MARIA M.              ADDRESS ON FILE
FONT BONET, LUIS                   ADDRESS ON FILE
FONT BONET, MARGARITA              ADDRESS ON FILE
FONT BOSQUES, BETZAIDA             ADDRESS ON FILE
FONT CARO, HECTOR                  ADDRESS ON FILE
FONT CASANA, BLANCA M.             ADDRESS ON FILE
FONT CASTRO, CARLOS                ADDRESS ON FILE
FONT COLLAZO, CARLOS J             ADDRESS ON FILE
FONT CRUZ, AUREA                   ADDRESS ON FILE
FONT CRUZ, NUBIA M                 ADDRESS ON FILE
FONT CUENCAS, FELIX                ADDRESS ON FILE
FONT DE HERNANDEZ, JENNY I         ADDRESS ON FILE
FONT DE ORTIZ, ANGELICA            ADDRESS ON FILE




                                                                               Page 2944 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2945 of 3500
                                                                               17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                   Address1                               Address2                           Address3   Address4   City              State   PostalCode   Country
FONT DE SANTIAGO, JOSE          DMTE‐ JOSE M. FONT DE SANTIAGO         360 AVE. DOMENECH                  APT. 314              SASN JUAN         PR      00918
FONT DE SANTIAGO, JOSE          LCDA. GLADYS RODRIGUEZ OROZCO          PO BOX 7066                                              SAN JUAN          PR      00916‐7066
FONT DE SANTIAGO, JOSE          LCDO. RAFAEL LUGO PRATS/FERNANDO MACHADPO BOX 363928                                            SAN JUAN          PR      00936‐3928
FONT DE SANTIAGO, OSVALDO E     ADDRESS ON FILE
FONT DIAZ, ANGEL T              ADDRESS ON FILE
FONT DIAZ, EDUARDO              ADDRESS ON FILE
FONT DIAZ, STEPHANIE            ADDRESS ON FILE
FONT FONT, VICTOR               ADDRESS ON FILE
FONT GARCIA, DANIEL             ADDRESS ON FILE
FONT GONZALEZ, EVARISTO         ADDRESS ON FILE
FONT GONZALEZ, YESENIA          ADDRESS ON FILE
FONT HERNANDEZ, ANTONIO         ADDRESS ON FILE
FONT INSURANCE INC              PO BOX 1641                                                                                     SAN SEBASTIAN     PR      00685
FONT JORDAN, LAURA              ADDRESS ON FILE
FONT LEBRON, CARMEN             ADDRESS ON FILE
FONT LEBRON, CARMEN I           ADDRESS ON FILE
FONT LOPEZ MD, FREDERICK        ADDRESS ON FILE
FONT LOPEZ, ADA L.              ADDRESS ON FILE
FONT LOPEZ, ALEXANDRA D         ADDRESS ON FILE
FONT LOPEZ, ARACELIS            ADDRESS ON FILE
FONT LOPEZ, JUAN                ADDRESS ON FILE
FONT MARTELO HOME CARE          P O BOX 9206                                                                                    HUMACAO           PR      00792
Font Martinez, Ricardo B        ADDRESS ON FILE
FONT MATOS, EMILIO              ADDRESS ON FILE
FONT MATOS, LESLIE              ADDRESS ON FILE
FONT MERCADO, JANIA T.          ADDRESS ON FILE
FONT MORALES, ELIZABETH         ADDRESS ON FILE
FONT MORALES, LUCRECIA          ADDRESS ON FILE
FONT MORALES, LYDIA E           ADDRESS ON FILE
FONT ORONOZ MD, YVONNE M        ADDRESS ON FILE
FONT ORTIZ, INES                ADDRESS ON FILE
FONT ORTIZ, JANET               ADDRESS ON FILE
FONT PADILLA, WANDA             ADDRESS ON FILE
FONT RAMIREZ, MARIA D           ADDRESS ON FILE
FONT RIEFKOHL, GRETCHEN MARIE   ADDRESS ON FILE
FONT RIEFKOHL, LUIS U.          ADDRESS ON FILE
Font Rios, Hipolito             ADDRESS ON FILE
FONT RIOS, HIPOLITO             ADDRESS ON FILE
FONT RIVERA, ANA                ADDRESS ON FILE
FONT RIVERA, CARMEN             ADDRESS ON FILE
FONT RIVERA, ISABEL             ADDRESS ON FILE
FONT RIVERA, MIRIAM             ADDRESS ON FILE
FONT ROBERT, EDUARDO            ADDRESS ON FILE
FONT RODRIGUEZ, MARIA G.        ADDRESS ON FILE
FONT ROSA, SHEILLYN             ADDRESS ON FILE
FONT ROSARIO, JULIA V           ADDRESS ON FILE
FONT ROSARIO, VILMARIE          ADDRESS ON FILE
FONT RUIZ, EDWIN B              ADDRESS ON FILE
FONT RUSK, JOYCE E              ADDRESS ON FILE
FONT SALAS, JUANA S             ADDRESS ON FILE
FONT SANCHEZ, ROSAEL            ADDRESS ON FILE
FONT SANCHEZ, WILLIAM           ADDRESS ON FILE
FONT SANTANA, CARMEN M          ADDRESS ON FILE
FONT SANTANA, FRANCOISE         ADDRESS ON FILE
FONT SANTIAGO, BETZABETH        ADDRESS ON FILE
FONT SANTIAGO, BETZABETH I.     ADDRESS ON FILE
Font Santiago, Jessica          ADDRESS ON FILE
FONT SANTIAGO, ROBERTO          ADDRESS ON FILE
FONT SANTIAGO, ROXANA           ADDRESS ON FILE
FONT SEGARRA, MILTON            ADDRESS ON FILE




                                                                                           Page 2945 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2946 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                      Address2                     Address3   Address4   City         State   PostalCode   Country
FONT SUAREZ, BEATRIZ             ADDRESS ON FILE
FONT SUAREZ, ILEANA              ADDRESS ON FILE
FONT SUAREZ, LISSETTE            ADDRESS ON FILE
FONT TRANSLATIONS                CALLE CALAF 400, SUITE 268,                                                                   PR      00918‐1314
FONT VALENCIA, HECTOR L          ADDRESS ON FILE
FONT VARGAS, JOSE                ADDRESS ON FILE
FONT VELEZ, DENNISSE             ADDRESS ON FILE
FONT VILLANUEVA, GLENDALYS       ADDRESS ON FILE
FONT ZAMBRANA, PEDRO E           ADDRESS ON FILE
Font Zambrana, Pedro E           ADDRESS ON FILE
FONT, FELIPE                     ADDRESS ON FILE
FONT, WILLIAM                    ADDRESS ON FILE
FONTAINE FALCON, CARMEN M        ADDRESS ON FILE
FONTAINE MENDEZ, CONCHITA        ADDRESS ON FILE
FONTAINE TORRES, CRISTIAN        ADDRESS ON FILE
FONTAINEBLEU PLAZA DEVELOPMENT   PO BOX 194000                                                                    SAN JUAN     PR      00919‐0000
FONTAINEBLEU PLAZA S E           PO BOX 194000                                                                    SAN JUAN     PR      00919
FONTAN BERMUDEZ, NANCY           ADDRESS ON FILE
FONTAN BRULL, HECVIN             ADDRESS ON FILE
FONTAN BRULL, ROSARIO            ADDRESS ON FILE
FONTAN COLON, YOVANY             ADDRESS ON FILE
FONTAN DEL VALLE, IRIS M.        ADDRESS ON FILE
FONTAN DEL VALLE, JUAN A         ADDRESS ON FILE
FONTAN DONATO, CRYSTAL MARIE     ADDRESS ON FILE
FONTAN ESPINOSA, ANA             ADDRESS ON FILE
FONTAN ESPINOSA, JOSE I.         ADDRESS ON FILE
FONTAN FONTAN, ISABEL            ADDRESS ON FILE
FONTAN FONTAN, LUCIA             ADDRESS ON FILE
FONTAN FONTAN, PEDRO             ADDRESS ON FILE
FONTAN FONTAN, ROSA C            ADDRESS ON FILE
FONTAN FORTIS, MANUELA           ADDRESS ON FILE
FONTAN LA SANTA, OLGA C          ADDRESS ON FILE
FONTAN LABOY, ERIBERTO           ADDRESS ON FILE
FONTAN LAFONTAINE, OSCAR         ADDRESS ON FILE
FONTAN LASANTA, REYNALDO         ADDRESS ON FILE
FONTAN MARRERO, JOSE E           ADDRESS ON FILE
FONTAN MELENDEZ, CARLOS          ADDRESS ON FILE
FONTAN MENDOZA, TANIA            ADDRESS ON FILE
FONTAN NAVARRO, LUDALIS          ADDRESS ON FILE
FONTAN NIEVES, ANGEL             ADDRESS ON FILE
FONTAN NIEVES, ENGRACIA          ADDRESS ON FILE
FONTAN NIEVES, MARIA DE L        ADDRESS ON FILE
FONTAN NIEVES, MARIA DEL C       ADDRESS ON FILE
FONTAN NIEVES, NEREIDA           ADDRESS ON FILE
FONTAN OLIVO, LUIS A.            ADDRESS ON FILE
FONTAN OLIVO, LUZ                ADDRESS ON FILE
FONTAN OLIVO, MARIA DEL C        ADDRESS ON FILE
Fontan Olivo, Victor J           ADDRESS ON FILE
FONTAN ORTIZ, ANGEL              ADDRESS ON FILE
FONTAN ORTIZ, LUIS E             ADDRESS ON FILE
Fontan Otero, Ruben              ADDRESS ON FILE
Fontan Pagan, Angel A            ADDRESS ON FILE
FONTAN PAGAN, MAGDALENA          ADDRESS ON FILE
FONTAN PAGAN, SERAFIN            ADDRESS ON FILE
FONTAN PAGAN, SONIA              ADDRESS ON FILE
FONTAN PENA, FERNANDO            ADDRESS ON FILE
FONTAN QUINONES, ANTONIA         ADDRESS ON FILE
FONTAN RAMOS, MARIA DE LOS A.    ADDRESS ON FILE
FONTAN RIVERA, ANGEL_ MANUE      ADDRESS ON FILE
FONTAN RIVERA, CARMEN            ADDRESS ON FILE




                                                                             Page 2946 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2947 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONTAN RIVERA, DOLORES DEL C      ADDRESS ON FILE
FONTAN RIVERA, GLLADYS            ADDRESS ON FILE
FONTAN RIVERA, JUAN J             ADDRESS ON FILE
FONTAN RIVERA, JULIA M            ADDRESS ON FILE
FONTAN RIVERA, VICTOR             ADDRESS ON FILE
FONTAN RODRIGUEZ, ANGEL G         ADDRESS ON FILE
FONTAN ROSARIO, SHIRLEY           ADDRESS ON FILE
FONTAN ROSARIO, YASMIN            ADDRESS ON FILE
FONTAN SANTIAGO, NILDA            ADDRESS ON FILE
FONTAN SANTOS, FRANCISCO          ADDRESS ON FILE
FONTAN SANTOS, ZAIDA              ADDRESS ON FILE
FONTAN TORRES, ANGEL              ADDRESS ON FILE
FONTAN TORRES, JULIAN             ADDRESS ON FILE
FONTAN VALLE, ALEXIS              ADDRESS ON FILE
FONTAN VEGA, ANGEL R              ADDRESS ON FILE
FONTAN, OSCAR L.                  ADDRESS ON FILE
FONTANA RIVERA, JOSE A            ADDRESS ON FILE
FONTANALS CUEVAS, JAIME D.        ADDRESS ON FILE
FONTANALS VILLAFANE, JOSE A.      ADDRESS ON FILE
FONTANE HOYOS, CAMILA             ADDRESS ON FILE
FONTANELLA LARA, ANTONIO          ADDRESS ON FILE
FONTANES GOMEZ, LAURA             ADDRESS ON FILE
FONTANES GOMEZ, LAURA             ADDRESS ON FILE
Fontanes Gomez, Laura Rebecca     ADDRESS ON FILE
FONTANES NIEVES, JESUS            ADDRESS ON FILE
FONTANES OLIVO, ROBERTO           ADDRESS ON FILE
FONTANES RIVERA, LUIS             ADDRESS ON FILE
FONTANES RIVERA, LUIS             ADDRESS ON FILE
FONTANES TORRES, MARIA DE L       ADDRESS ON FILE
FONTANES VIERA, RAFAEL            ADDRESS ON FILE
FONTANET ALGARIN, AIDA            ADDRESS ON FILE
FONTANET ALVAREZ, LUZ E           ADDRESS ON FILE
FONTANET ALVAREZ, LUZ E.          ADDRESS ON FILE
FONTANET AVILES MD, FRANCISCO J   ADDRESS ON FILE
FONTANET AVILES, JACQUELINE       ADDRESS ON FILE
FONTANET GRANA MD, RICARDO        ADDRESS ON FILE
FONTANET MARQUEZ, LUISA           ADDRESS ON FILE
FONTANET MARQUEZ, LYNNETTE        ADDRESS ON FILE
FONTANET MARQUEZ, LYNNETTE        ADDRESS ON FILE
FONTANET MELENDEZ, JAIME F        ADDRESS ON FILE
FONTANET ORLANDO, SIXTO           ADDRESS ON FILE
FONTANET PINERO, SYLVETTE         ADDRESS ON FILE
FONTANET RIOS, CHRISTIAN D        ADDRESS ON FILE
FONTANET SANCHEZ MD, RICARDO      ADDRESS ON FILE
Fontanet Santiago, Joanne         ADDRESS ON FILE
FONTANET SMITH, CAROLENE          ADDRESS ON FILE
FONTANEZ ACEVEDO, FERMARIELIZ     ADDRESS ON FILE
FONTANEZ ACEVEDO, MARIBEL         ADDRESS ON FILE
FONTANEZ ADORNO, FLOR             ADDRESS ON FILE
FONTANEZ ADORNO, TRINIDAD         ADDRESS ON FILE
FONTANEZ ALDEA, MARIA DE LOS A    ADDRESS ON FILE
FONTANEZ ALVARADO, GILBERTO       ADDRESS ON FILE
FONTANEZ ALVIRA, MARLAYNA         ADDRESS ON FILE
FONTANEZ ANAYA, IGNACIO           ADDRESS ON FILE
FONTANEZ APONTE, CYNTHIA          ADDRESS ON FILE
FONTANEZ APONTE, GLENDA           ADDRESS ON FILE
FONTANEZ APONTE, HECTOR           ADDRESS ON FILE
FONTANEZ APONTE, JANIS M.         ADDRESS ON FILE
FONTANEZ APONTE, JUAN             ADDRESS ON FILE
FONTANEZ APONTE, MIGUEL           ADDRESS ON FILE




                                                                              Page 2947 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2948 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONTANEZ ARROYO, MARIAN           ADDRESS ON FILE
FONTANEZ ARROYO, SONLYS           ADDRESS ON FILE
FONTANEZ ARROYO, YARIELA          ADDRESS ON FILE
FONTANEZ ASTOR, DEBORAH           ADDRESS ON FILE
FONTANEZ AYALA, CARMEN M          ADDRESS ON FILE
FONTANEZ AYALA, LAURA             ADDRESS ON FILE
FONTANEZ AYALA, MARIA DEL C       ADDRESS ON FILE
FONTANEZ AYALA, MARITZA           ADDRESS ON FILE
FONTANEZ BAEZ, JOSE L.            ADDRESS ON FILE
FONTANEZ BARRIS, LIZ              ADDRESS ON FILE
FONTANEZ BERRIOS, AMALIA R        ADDRESS ON FILE
FONTANEZ BERRIOS, JACKELINE       ADDRESS ON FILE
FONTANEZ BERRIOS, KARLA           ADDRESS ON FILE
FONTANEZ BERRIOS, KARLA C         ADDRESS ON FILE
FONTANEZ BERRIOS, MARIA           ADDRESS ON FILE
FONTANEZ BERRIOS, MIGDALIA        ADDRESS ON FILE
FONTANEZ BERRIOS, OLGA J          ADDRESS ON FILE
FONTANEZ BERVERENA, JAVIER        ADDRESS ON FILE
FONTANEZ BORGES, MARIA L          ADDRESS ON FILE
FONTANEZ BOULOGNE, MARGARITA      ADDRESS ON FILE
Fontanez Bruno, Ivan              ADDRESS ON FILE
FONTANEZ BRUNO, YADIRA            ADDRESS ON FILE
FONTANEZ CALDERO, ZOBEIDA         ADDRESS ON FILE
Fontanez Calderon, Jesus          ADDRESS ON FILE
FONTANEZ CAMACHO, ANA V           ADDRESS ON FILE
FONTANEZ CAMACHO, MARCOS          ADDRESS ON FILE
FONTANEZ CAMUNAS, JORGE           ADDRESS ON FILE
FONTANEZ CANDELARIO, VILMARIE     ADDRESS ON FILE
FONTANEZ CANUELAS, OMAR           ADDRESS ON FILE
FONTANEZ CARABALLO, MARISOL       ADDRESS ON FILE
FONTANEZ CARDONA, KIARA           ADDRESS ON FILE
FONTANEZ CARMONA, ANA D           ADDRESS ON FILE
FONTANEZ CARMONA, FREDESWINDA     ADDRESS ON FILE
FONTANEZ CARMONA, JOSE            ADDRESS ON FILE
FONTANEZ CARMONA, VIVIANA         ADDRESS ON FILE
FONTANEZ CARRASQUILLO, LAURA      ADDRESS ON FILE
FONTANEZ CARRILLO, WILMER         ADDRESS ON FILE
FONTANEZ CARRION, ENRIQUE         ADDRESS ON FILE
FONTANEZ CARTAGENA, JOSE R        ADDRESS ON FILE
FONTANEZ CASTILLO, CORAL DEL M.   ADDRESS ON FILE
FONTANEZ CASTILLO, GRACE M        ADDRESS ON FILE
FONTANEZ CASTILLO, IRIS           ADDRESS ON FILE
FONTANEZ CASTILLO, NOEMI          ADDRESS ON FILE
FONTANEZ CENTENO, ANA H           ADDRESS ON FILE
FONTANEZ CINTRON, MARITZA         ADDRESS ON FILE
FONTANEZ CLAUDIO, CHIRISTIAN      ADDRESS ON FILE
FONTANEZ CLAUDIO, MARILU          ADDRESS ON FILE
FONTANEZ COLON, EMILIO            ADDRESS ON FILE
FONTANEZ COLON, HAYDEE            ADDRESS ON FILE
FONTANEZ COLON, JOSE              ADDRESS ON FILE
Fontanez Colon, Juan O            ADDRESS ON FILE
FONTANEZ COLON, LISANDRA          ADDRESS ON FILE
FONTANEZ COLON, MARA B.           ADDRESS ON FILE
FONTANEZ COLON, MILAGROS          ADDRESS ON FILE
Fontanez Colon, Moises            ADDRESS ON FILE
FONTANEZ COLON, TANGELA           ADDRESS ON FILE
Fontanez Correa, Jorge            ADDRESS ON FILE
Fontanez Correa, Jose L           ADDRESS ON FILE
FONTANEZ CORTES, EDGARDO L        ADDRESS ON FILE
FONTANEZ CORTES, MAGALY           ADDRESS ON FILE




                                                                              Page 2948 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2949 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                     Address1                          Address2                                  Address3       Address4   City            State   PostalCode   Country
FONTANEZ CORTEZ, OMAYRA           ADDRESS ON FILE
FONTANEZ CORTIJO, EDWIN           ADDRESS ON FILE
FONTANEZ CORTIJO, EDWIN           ADDRESS ON FILE
FONTANEZ CORTIJO, HECTOR L        ADDRESS ON FILE
Fontanez Cortijo, Jesus           ADDRESS ON FILE
FONTANEZ COSME, NELIDA            ADDRESS ON FILE
FONTANEZ COTTO, ANA               ADDRESS ON FILE
FONTANEZ COTTO, JEYSHA            ADDRESS ON FILE
FONTANEZ COTTO, LUISA             ADDRESS ON FILE
FONTANEZ COTTO, PATRICIA          ADDRESS ON FILE
FONTANEZ COTTO, RAFAELA           ADDRESS ON FILE
FONTANEZ COTTO, SHEILA            ADDRESS ON FILE
FONTANEZ CRESPO, SARAHI           ADDRESS ON FILE
FONTANEZ CRUZ, AGUSTIN            ADDRESS ON FILE
FONTANEZ CRUZ, AMPARO             ADDRESS ON FILE
FONTANEZ CRUZ, DAVID              ADDRESS ON FILE
FONTANEZ CRUZ, EDUARDO            ADDRESS ON FILE
FONTANEZ CRUZ, EFRAIN             ADDRESS ON FILE
FONTANEZ CRUZ, ELBA               ADDRESS ON FILE
FONTANEZ CRUZ, JOSE M             ADDRESS ON FILE
FONTANEZ CRUZADO, HILDA R         ADDRESS ON FILE
FONTANEZ CRUZADO, VICTOR M        ADDRESS ON FILE
FONTANEZ CRUZADO, WILMA           ADDRESS ON FILE
FONTANEZ DAVILA, ISMAEL           ADDRESS ON FILE
Fontanez De Jesus, Carlos L       ADDRESS ON FILE
Fontanez De Jesus, Miguel A.      ADDRESS ON FILE
FONTANEZ DE JESUS, SHEILA MARIE   ADDRESS ON FILE
FONTANEZ DE JESUS, VANESSA M.     ADDRESS ON FILE
FONTANEZ DE JESUS, VANESSA M.     ADDRESS ON FILE
FONTANEZ DE JESUS, YINERVA        ADDRESS ON FILE
FONTANEZ DELGADO, EVELYN          ADDRESS ON FILE
FONTANEZ DELGADO, MARIA           ADDRESS ON FILE
Fontanez Delgado, Maria D         ADDRESS ON FILE
FONTANEZ DELGADO, MIGUEL A.       ADDRESS ON FILE
FONTANEZ DELGADO, OLGA I          ADDRESS ON FILE
FONTANEZ DIAZ, HIPOLITO           ADDRESS ON FILE
FONTÁNEZ DÍAZ, MARÍA M. Y OTROS   LCDA. MELBA DEL C. RAMOS APONTE   LCDA. MELBA DEL C. RAMOS APONTE           APARTADO 945              SAN LORENZO     PR      00754
FONTANEZ DIAZ, SONIA              ADDRESS ON FILE
FONTANEZ ENRIQUEZ, MARIOLGA       ADDRESS ON FILE
FONTANEZ ESQUILIN, MARIA          ADDRESS ON FILE
FONTANEZ ESQUILIN, SONIA M        ADDRESS ON FILE
FONTANEZ FALCON, NITZA            ADDRESS ON FILE
Fontanez Feliciano, Jose          ADDRESS ON FILE
FONTANEZ FELICIANO, JUAN A        ADDRESS ON FILE
FONTANEZ FELICIANO, LYDIA M       ADDRESS ON FILE
FONTANEZ FELICIANO, SONIA N       ADDRESS ON FILE
FONTANEZ FERMAINT, TAMAR          ADDRESS ON FILE
FONTANEZ FIGUEROA, ARACELIS       ADDRESS ON FILE
FONTANEZ FIGUEROA, EDGARDO        ADDRESS ON FILE
FONTANEZ FIGUEROA, OSCAR          ADDRESS ON FILE
Fontanez Figueroa, Pablo          ADDRESS ON FILE
FONTANEZ FLECHA, DEBORA           ADDRESS ON FILE
FONTANEZ FLECHA, JULIA R          ADDRESS ON FILE
FONTANEZ FONTANEZ MD, JULIO       ADDRESS ON FILE
FONTANEZ FONTANEZ, MARIAM E.      ADDRESS ON FILE
Fontanez Freytes, Luis A          ADDRESS ON FILE
FONTANEZ FUENTES, ILEANA          ADDRESS ON FILE
FONTANEZ FUENTES, ILEANA          ADDRESS ON FILE
FONTANEZ GARCIA, ALEJANDRO        ADDRESS ON FILE
FONTANEZ GARCIA, DENISSE          ADDRESS ON FILE




                                                                                               Page 2949 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2950 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONTANEZ GARCIA, IVELISSE        ADDRESS ON FILE
FONTANEZ GARCIA, JOSE            ADDRESS ON FILE
FONTANEZ GARCIA, SANDRA G        ADDRESS ON FILE
FONTANEZ GARCIA, YOLANDITA       ADDRESS ON FILE
FONTANEZ GENARO, IGNA B.         ADDRESS ON FILE
FONTANEZ GOIRE, MYRNA E          ADDRESS ON FILE
FONTANEZ GOMEZ, LARIEL           ADDRESS ON FILE
FONTANEZ GOMEZ, ZORAIDA          ADDRESS ON FILE
Fontanez Gonzalez, Aidyn         ADDRESS ON FILE
FONTANEZ GONZALEZ, JOEL          ADDRESS ON FILE
FONTANEZ GONZALEZ, JUSTO         ADDRESS ON FILE
FONTANEZ GONZALEZ, LINNETTE      ADDRESS ON FILE
FONTANEZ GONZALEZ, LUIS          ADDRESS ON FILE
Fontanez Guzman, Angel R         ADDRESS ON FILE
FONTANEZ GUZMAN, IRVING          ADDRESS ON FILE
FONTANEZ GUZMAN, WILLIAM         ADDRESS ON FILE
FONTANEZ GUZMAN, YADIRA          ADDRESS ON FILE
FONTANEZ GUZMAN, YAMARIS         ADDRESS ON FILE
FONTANEZ GUZMAN, YAMARIS         ADDRESS ON FILE
FONTANEZ GUZMAN, YAMARIS         ADDRESS ON FILE
FONTANEZ HANCE, ISMAEL           ADDRESS ON FILE
FONTANEZ HANCE, OSCAR G.         ADDRESS ON FILE
FONTANEZ HERNANDEZ, GABRIEL      ADDRESS ON FILE
FONTANEZ HERNANDEZ, JUAN         ADDRESS ON FILE
FONTANEZ HERNANDEZ, MARIA        ADDRESS ON FILE
FONTANEZ HERNANDEZ, MARIA M      ADDRESS ON FILE
FONTANEZ HERNANDEZ, MAYRA I      ADDRESS ON FILE
FONTANEZ HUERTAS, FRANCISCO      ADDRESS ON FILE
FONTANEZ JIMENEZ, ANGEL          ADDRESS ON FILE
FONTANEZ JIMENEZ, ANGEL M.       ADDRESS ON FILE
FONTANEZ JIMENEZ, KATHIA M       ADDRESS ON FILE
Fontanez Lasanta, Daisy          ADDRESS ON FILE
FONTANEZ LASANTA, EVELYN         ADDRESS ON FILE
Fontanez Lasanta, Felix          ADDRESS ON FILE
FONTANEZ LASASANTA, ELIZABETH    ADDRESS ON FILE
FONTANEZ LONG, MARTA             ADDRESS ON FILE
FONTANEZ LOPEZ, ANGEL L          ADDRESS ON FILE
FONTANEZ LOPEZ, JESUS            ADDRESS ON FILE
FONTANEZ LOPEZ, JUAN C           ADDRESS ON FILE
FONTANEZ LOPEZ, MARTIN           ADDRESS ON FILE
FONTANEZ LOPEZ, MIGUEL           ADDRESS ON FILE
FONTANEZ LOPEZ, NITZA            ADDRESS ON FILE
FONTANEZ LOPEZ, NITZA I          ADDRESS ON FILE
FONTANEZ LOPEZ, YAHAIRA I.       ADDRESS ON FILE
FONTANEZ LOPEZ, YAHAIRA IVETTE   ADDRESS ON FILE
FONTANEZ LOZADA, GABRIEL         ADDRESS ON FILE
FONTANEZ LUGO, ARACELIS          ADDRESS ON FILE
FONTANEZ MARCANO, GLORIA E       ADDRESS ON FILE
FONTANEZ MARIN, NESVIA           ADDRESS ON FILE
FONTANEZ MARQUEZ, DORA E.        ADDRESS ON FILE
FONTANEZ MARTINEZ, DIANA E       ADDRESS ON FILE
FONTANEZ MARTINEZ, ISAURA        ADDRESS ON FILE
FONTANEZ MATEO, BRENDA I         ADDRESS ON FILE
FONTANEZ MATEO, IVELISSE B       ADDRESS ON FILE
FONTANEZ MATOS, JOSE             ADDRESS ON FILE
Fontanez Matos, Jose M           ADDRESS ON FILE
FONTANEZ MEDINA, BENEDICTA       ADDRESS ON FILE
FONTANEZ MEDINA, ENRIQUE         ADDRESS ON FILE
FONTANEZ MEDINA, JOSE            ADDRESS ON FILE
FONTANEZ MEDINA, JUAN A.         ADDRESS ON FILE




                                                                             Page 2950 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2951 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONTANEZ MEDINA, NEREIDA           ADDRESS ON FILE
FONTANEZ MEJIAS, GUSTAVO           ADDRESS ON FILE
FONTANEZ MELENDEZ, ANDRES          ADDRESS ON FILE
FONTANEZ MELENDEZ, CARMEN N        ADDRESS ON FILE
FONTANEZ MELENDEZ, ELI S.          ADDRESS ON FILE
FONTANEZ MELENDEZ, JORGE L         ADDRESS ON FILE
FONTANEZ MELENDEZ, PEDRO           ADDRESS ON FILE
FONTANEZ MELENDEZ, RUTH E          ADDRESS ON FILE
FONTANEZ MENDEZ, JOSE              ADDRESS ON FILE
FONTANEZ MENDEZ, MARIA             ADDRESS ON FILE
FONTANEZ MENDEZ, MARIA             ADDRESS ON FILE
Fontanez Mendoza, Victor R         ADDRESS ON FILE
Fontanez Mercado, Carlos C         ADDRESS ON FILE
FONTANEZ MERCADO, MARIA DEL R      ADDRESS ON FILE
Fontanez Molina, Adalberto         ADDRESS ON FILE
FONTANEZ MOLINA, LUZ N.            ADDRESS ON FILE
FONTANEZ MONTANEZ, ELSA            ADDRESS ON FILE
FONTANEZ MONTANEZ, MARIA           ADDRESS ON FILE
FONTANEZ MONTERO, HILDA            ADDRESS ON FILE
FONTANEZ MORALES, CARMEN           ADDRESS ON FILE
FONTANEZ MORALES, JAVIER           ADDRESS ON FILE
FONTANEZ MORALES, JULIA            ADDRESS ON FILE
FONTANEZ MORALES, MIGUEL           ADDRESS ON FILE
FONTANEZ MORALES, TERESA           ADDRESS ON FILE
FONTANEZ MORALES, TERESA           ADDRESS ON FILE
FONTANEZ MORENO, CATALINO          ADDRESS ON FILE
FONTANEZ MORENO, NATALIS M.        ADDRESS ON FILE
FONTANEZ MULERO, CARMEN S          ADDRESS ON FILE
FONTANEZ NIEVES MD, LINNETTE       ADDRESS ON FILE
FONTANEZ NIEVES, JUAN              ADDRESS ON FILE
FONTANEZ NIEVES, JUAN              ADDRESS ON FILE
FONTANEZ NIEVES, KARINA            ADDRESS ON FILE
FONTANEZ NIEVES, MARIA DE LOS A.   ADDRESS ON FILE
FONTANEZ NIEVES, PORTALATIN        ADDRESS ON FILE
FONTANEZ NIEVES, RAFAEL J          ADDRESS ON FILE
FONTANEZ NIEVES, REY               ADDRESS ON FILE
Fontanez Nieves, Rey F             ADDRESS ON FILE
FONTANEZ NUNEZ, JAVIER             ADDRESS ON FILE
FONTANEZ OCASIO, ZULMA             ADDRESS ON FILE
FONTANEZ OJEA, IVETTE              ADDRESS ON FILE
FONTANEZ OLIVERAS, MARIBEL         ADDRESS ON FILE
FONTANEZ OLIVERAS, SANDRA I        ADDRESS ON FILE
FONTANEZ ORTIZ, ANGEL              ADDRESS ON FILE
FONTANEZ ORTIZ, CARLOS A.          ADDRESS ON FILE
FONTANEZ ORTIZ, GLORIA             ADDRESS ON FILE
FONTANEZ ORTIZ, IVETTE             ADDRESS ON FILE
FONTANEZ ORTIZ, JERANPHER          ADDRESS ON FILE
FONTANEZ ORTIZ, JOSE               ADDRESS ON FILE
FONTANEZ ORTIZ, MIGUEL             ADDRESS ON FILE
Fontanez Ortiz, Myrna N            ADDRESS ON FILE
FONTANEZ ORTIZ, NYDIA L            ADDRESS ON FILE
FONTANEZ ORTIZ, SAMAIDA            ADDRESS ON FILE
FONTANEZ OSORIO, MARTIN            ADDRESS ON FILE
FONTANEZ OTERO, CARLOS I           ADDRESS ON FILE
FONTANEZ OTERO, CARMEN             ADDRESS ON FILE
FONTANEZ OTERO, NANCY              ADDRESS ON FILE
FONTANEZ OYOLA, FLOR               ADDRESS ON FILE
FONTANEZ OYOLA, JUANITA M          ADDRESS ON FILE
FONTANEZ PADILLA, CLARIBEL         ADDRESS ON FILE
FONTANEZ PADILLA, EDUARDO L        ADDRESS ON FILE




                                                                               Page 2951 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2952 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                             Address2                        Address3   Address4   City         State   PostalCode   Country
FONTANEZ PADILLA, PEDRO        ADDRESS ON FILE
FONTANEZ PENA, JOSE A          ADDRESS ON FILE
FONTANEZ PENA, JUANA           ADDRESS ON FILE
FONTANEZ PERDOMO, ALMA I       ADDRESS ON FILE
FONTANEZ PEREIRA, EDWIN        ADDRESS ON FILE
FONTANEZ PEREIRA, JUAN C       ADDRESS ON FILE
Fontanez Perez, Alice N.       ADDRESS ON FILE
FONTANEZ PEREZ, ANGEL          ADDRESS ON FILE
FONTANEZ PEREZ, CARLOS A.      ADDRESS ON FILE
FONTANEZ PEREZ, CARMEN         ADDRESS ON FILE
FONTANEZ PEREZ, CARMEN LAURA   ADDRESS ON FILE
FONTANEZ PEREZ, ELENA          ADDRESS ON FILE
FONTANEZ PEREZ, ENIDZA         ADDRESS ON FILE
FONTANEZ PEREZ, GABRIELLE M.   ADDRESS ON FILE
FONTANEZ PEREZ, LUIS ANGEL     ADDRESS ON FILE
FONTANEZ PEREZ, LUZ E          ADDRESS ON FILE
FONTANEZ PEREZ, MARGARITA      ADDRESS ON FILE
FONTANEZ PEREZ, MARIA L        ADDRESS ON FILE
FONTANEZ PEREZ, NANCY          ADDRESS ON FILE
FONTANEZ PEREZ, NEREIDA        ADDRESS ON FILE
FONTANEZ PEREZ, PEDRO          ADDRESS ON FILE
FONTANEZ PEREZ, PEDRO J        ADDRESS ON FILE
FONTANEZ PEREZ, ROSA           ADDRESS ON FILE
FONTANEZ PLAZA, CARMEN M       ADDRESS ON FILE
FONTANEZ PLAZA, DOMINGA        ADDRESS ON FILE
FONTANEZ POUPART, CRISTOBAL    ADDRESS ON FILE
FONTANEZ QUILES, BRENDA M      ADDRESS ON FILE
FONTANEZ QUILES, SABRINA       ADDRESS ON FILE
FONTANEZ QUINONES, ANGEL L.    ADDRESS ON FILE
FONTANEZ QUINONES, ANGELA      ADDRESS ON FILE
FONTANEZ QUINONES, FRANCISCO   ADDRESS ON FILE
FONTANEZ QUINONES, JUANITA     ADDRESS ON FILE
FONTANEZ QUINONES, WILLIAM     ADDRESS ON FILE
FONTANEZ QUINONES, WILLIAM     ADDRESS ON FILE
FONTÁNEZ RAMOS ANA             LCDA. TERESITA MERCADO VIZCARRONDO   PO BOX 70244                                          SAN JUAN     PR      00936‐8244
FONTÁNEZ RAMOS ANA             LCDO. CARLOS RODRÍGUEZ MARÍN         POBOX 8052                                            Bayamón      PR      00960‐8052
FONTÁNEZ RAMOS ANA             LCDO. LUIS R. ORTIZ                  PO BOX 9024098                                        SAN JUAN     PR      00902‐4098
Fontanez Ramos, Alexandro      ADDRESS ON FILE
FONTANEZ RAMOS, AMARILY        ADDRESS ON FILE
FONTANEZ RAMOS, BETHZAIDA      ADDRESS ON FILE
FONTANEZ REYES MD, NYDIA E     ADDRESS ON FILE
FONTANEZ REYES, ELIZABETH      ADDRESS ON FILE
FONTANEZ REYES, FELIPE         ADDRESS ON FILE
FONTANEZ REYES, JUANITA        ADDRESS ON FILE
FONTANEZ REYES, MARIBEL        ADDRESS ON FILE
FONTANEZ REYES, MIGUEL         ADDRESS ON FILE
FONTANEZ RIVAS, CARLOS         ADDRESS ON FILE
FONTANEZ RIVAS, CARLOS         ADDRESS ON FILE
FONTANEZ RIVAS, CARLOS F       ADDRESS ON FILE
FONTANEZ RIVERA, AIDA E        ADDRESS ON FILE
FONTANEZ RIVERA, ANA V         ADDRESS ON FILE
FONTANEZ RIVERA, CARLOS        ADDRESS ON FILE
FONTANEZ RIVERA, CARMEN        ADDRESS ON FILE
FONTANEZ RIVERA, CARMEN S      ADDRESS ON FILE
FONTANEZ RIVERA, ELBA          ADDRESS ON FILE
FONTANEZ RIVERA, EMILIANO      ADDRESS ON FILE
FONTANEZ RIVERA, FRANCISCO     ADDRESS ON FILE
FONTANEZ RIVERA, FREDERICK     ADDRESS ON FILE
FONTANEZ RIVERA, GIOVANNI      ADDRESS ON FILE
FONTANEZ RIVERA, IVELISSE      ADDRESS ON FILE




                                                                                     Page 2952 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2953 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONTANEZ RIVERA, JOSE          ADDRESS ON FILE
FONTANEZ RIVERA, JOSE A.       ADDRESS ON FILE
FONTANEZ RIVERA, JOSE ANGEL    ADDRESS ON FILE
Fontanez Rivera, Jose M        ADDRESS ON FILE
FONTANEZ RIVERA, JOSE R        ADDRESS ON FILE
FONTANEZ RIVERA, JUANITA       ADDRESS ON FILE
FONTANEZ RIVERA, JULIO         ADDRESS ON FILE
FONTANEZ RIVERA, KARLA D       ADDRESS ON FILE
FONTANEZ RIVERA, KENIA M       ADDRESS ON FILE
Fontanez Rivera, Luis          ADDRESS ON FILE
FONTANEZ RIVERA, LUIS A        ADDRESS ON FILE
FONTANEZ RIVERA, MARGARITA     ADDRESS ON FILE
Fontanez Rivera, Miguel A      ADDRESS ON FILE
FONTANEZ RIVERA, NILDA L       ADDRESS ON FILE
FONTANEZ RIVERA, NINOSHKA      ADDRESS ON FILE
FONTANEZ RIVERA, ROBERTO       ADDRESS ON FILE
FONTANEZ RIVERA, RUTH          ADDRESS ON FILE
FONTANEZ RIVERA, VIRGEN T.     ADDRESS ON FILE
FONTANEZ RIVERA, WANDA E       ADDRESS ON FILE
FONTANEZ RIVERA, YARITZA       ADDRESS ON FILE
FONTANEZ ROBERTO, AMARILYS     ADDRESS ON FILE
FONTANEZ ROBERTO, JOSE M.      ADDRESS ON FILE
FONTANEZ ROBLEDO, MYRTA I      ADDRESS ON FILE
FONTANEZ ROBLES, HERMINIO      ADDRESS ON FILE
Fontanez Rodrigu, Adalberto    ADDRESS ON FILE
Fontanez Rodriguez, Angel L    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, CARLOS     ADDRESS ON FILE
Fontanez Rodriguez, Carlos J   ADDRESS ON FILE
FONTANEZ RODRIGUEZ, CARMEN I   ADDRESS ON FILE
FONTANEZ RODRIGUEZ, DARLENE    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, EUGENIO    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, FALARIS    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, IRMA       ADDRESS ON FILE
FONTANEZ RODRIGUEZ, IVELISSE   ADDRESS ON FILE
FONTANEZ RODRIGUEZ, JUANITA    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, LILLIAN    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, LUZ T      ADDRESS ON FILE
FONTANEZ RODRIGUEZ, MARLENE    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, MELVIN     ADDRESS ON FILE
FONTANEZ RODRIGUEZ, MIRTA      ADDRESS ON FILE
FONTANEZ RODRIGUEZ, NATALIA    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, NORMA I    ADDRESS ON FILE
FONTANEZ RODRIGUEZ, RUBY       ADDRESS ON FILE
FONTANEZ ROJAS, JAVIER         ADDRESS ON FILE
FONTANEZ ROLDAN, ILIA          ADDRESS ON FILE
Fontanez Rolon, Eduardo        ADDRESS ON FILE
FONTANEZ ROLON, EDUARDO        ADDRESS ON FILE
FONTANEZ ROLON, JUAN           ADDRESS ON FILE
FONTANEZ ROLON, SYLMA          ADDRESS ON FILE
FONTANEZ ROSA, MARGARITA       ADDRESS ON FILE
FONTANEZ ROSA, OSCAR           ADDRESS ON FILE
FONTANEZ ROSA, RAFAEL          ADDRESS ON FILE
FONTANEZ RUIZ, CARMEN L        ADDRESS ON FILE
FONTANEZ RUIZ, JANNETTE        ADDRESS ON FILE
FONTANEZ RUIZ, WANDA           ADDRESS ON FILE
FONTANEZ SANCHEZ, ANA M        ADDRESS ON FILE
FONTANEZ SANCHEZ, ANGEL        ADDRESS ON FILE
FONTANEZ SANCHEZ, BILDAD       ADDRESS ON FILE
FONTANEZ SANCHEZ, EVELYN       ADDRESS ON FILE
Fontanez Sanchez, Janice M     ADDRESS ON FILE




                                                                           Page 2953 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2954 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FONTANEZ SANCHEZ, LYDIA         ADDRESS ON FILE
FONTANEZ SANCHEZ, MIGUEL A.     ADDRESS ON FILE
FONTANEZ SANCHEZ, RUTH DAISY    ADDRESS ON FILE
FONTANEZ SANTANA, MARIA         ADDRESS ON FILE
FONTANEZ SANTIAGO, CARMEN I     ADDRESS ON FILE
FONTANEZ SANTIAGO, DANIEL       ADDRESS ON FILE
FONTANEZ SANTIAGO, ELIZABETH    ADDRESS ON FILE
FONTANEZ SANTIAGO, MARIA        ADDRESS ON FILE
FONTANEZ SANTIAGO, NEIDA        ADDRESS ON FILE
FONTANEZ SANTIAGO, NILKA        ADDRESS ON FILE
FONTANEZ SANTIAGO, SEVERO       ADDRESS ON FILE
FONTANEZ SANTIAGO, SIGFRIDO     ADDRESS ON FILE
Fontanez Santos, Alfredo        ADDRESS ON FILE
FONTANEZ SANTOS, SANTA          ADDRESS ON FILE
FONTANEZ SANTOS, SIULMARIE      ADDRESS ON FILE
FONTANEZ SELLOT, ORLANDO        ADDRESS ON FILE
FONTANEZ SERRANO, ENRIQUE       ADDRESS ON FILE
Fontanez Serrano, Enrique R     ADDRESS ON FILE
FONTANEZ SERRANO, FREDERICK     ADDRESS ON FILE
FONTANEZ SERRANO, LISA          ADDRESS ON FILE
FONTANEZ SOSA, MARIANELA        ADDRESS ON FILE
FONTANEZ SOSA, SHEILA           ADDRESS ON FILE
FONTANEZ SOTO, KRISTIAN         ADDRESS ON FILE
FONTANEZ TAPIA, FABIOLA         ADDRESS ON FILE
FONTANEZ TAPIA, RAQUEL          ADDRESS ON FILE
FONTANEZ TORRES, ANGEL          ADDRESS ON FILE
FONTANEZ TORRES, ERIKA          ADDRESS ON FILE
FONTANEZ TORRES, ILEANA         ADDRESS ON FILE
FONTANEZ TORRES, MARIA DEL      ADDRESS ON FILE
Fontanez Torres, Maria M        ADDRESS ON FILE
FONTANEZ TORRES, MARITZA        ADDRESS ON FILE
Fontanez Torres, Marta I        ADDRESS ON FILE
FONTANEZ TORRES, NYDIA DEL C.   ADDRESS ON FILE
FONTANEZ TORRES, RITA           ADDRESS ON FILE
FONTANEZ TRINIDAD, ANDRES       ADDRESS ON FILE
FONTANEZ VAZQUEZ, AIDA M        ADDRESS ON FILE
FONTANEZ VAZQUEZ, JOSE A.       ADDRESS ON FILE
FONTANEZ VAZQUEZ, LUIS          ADDRESS ON FILE
FONTANEZ VELAZQUEZ, GAIMY       ADDRESS ON FILE
FONTANEZ VELEZ, LUCIA           ADDRESS ON FILE
FONTANEZ VELEZ, XAVIER          ADDRESS ON FILE
FONTANEZ VICENTE, BRENDA L      ADDRESS ON FILE
FONTANEZ VICENTE, ENITH M       ADDRESS ON FILE
Fontanez Vicente, Juan A        ADDRESS ON FILE
FONTANEZ VICENTE, SOL           ADDRESS ON FILE
FONTANEZ VILLAFANE, GIL         ADDRESS ON FILE
FONTANEZ VILLALOBOS, LUZ M.     ADDRESS ON FILE
FONTANEZ VILLANUEVA, LUZ E      ADDRESS ON FILE
FONTANEZ ZAYAS, JOSHUA          ADDRESS ON FILE
FONTANEZ, CARLOS A              ADDRESS ON FILE
FONTANEZ, CONFESOR              ADDRESS ON FILE
FONTANEZ, ENITH                 ADDRESS ON FILE
FONTANEZ, ORLANDO               ADDRESS ON FILE
FONTANEZ, TANIA                 ADDRESS ON FILE
FONTANEZGARCIA, JUAN            ADDRESS ON FILE
FONTANILLA ESPINAL, EMMANUEL    ADDRESS ON FILE
FONTANILLAS MD , JOSE A         ADDRESS ON FILE
FONTANILLAS PINO, LUIS          ADDRESS ON FILE
FONTAQEZ ANDINO, ENEDINA        ADDRESS ON FILE
FONTAQEZ CORTES, GABRIEL E      ADDRESS ON FILE




                                                                            Page 2954 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2955 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                            Address1                       Address2                                      Address3   Address4   City              State   PostalCode   Country
FONTE VAZQUEZ, JOSE                      ADDRESS ON FILE
FOO SUAREZ, INEABEL                      ADDRESS ON FILE
FOO SUAREZ, JAMES                        ADDRESS ON FILE
FOOD ADVENTURE CORP                      P O BOX 9362                                                                                       SAN JUAN          PR      00907
FOOD ANALYTICAL SERVICES INC             PO BOX 1154                                                                                        JUNCOS            PR      00777
FOOD CITY / MIGUEL VELEZ QUINONES        P O BOX 775                                                                                        LAJAS             PR      00667
Food Safety Certification & Consulting   P.O BOX 648                                                                                        BAYAMON           PR      00960‐0648
FOOD SAFETY CERTIFICATION CORP           P O BOX 648                                                                                        BAYAMÓN           PR      00960‐0648
FOOSHE PEREZ, MARYLIN                    ADDRESS ON FILE
FOOSSE CARRION, OLGA I                   ADDRESS ON FILE
FOOT & ANKLE CENTER OF PHILADELPHIA      CENTER CITY OFFICE             235 NORTH BROAD ST SUITE 300                                        PHILADELPHIA      PA      19107
FOOT LOCKER                              233 BROADWAY                                                                                       NEW YORK          NY      10279‐0099
FOOT LOCKER INC                          3543 SIMPSON FERRY RD                                                                              CAMP HILL         PA      17011
FOOT LOCKER RETAIL INC                   PO BOX 2731                                                                                        HARRISBURG        PA      17105
FOOT LOCKER SPECIALTY INC                HATO REY TOWER SUITE 805       268 MUNOZ RIVERA AVE                                                SAN JUAN          PR      00918
FOOTSTAR CORPORATION                     933 MCARTHUR BLVD                                                                                  MAHWAH            NJ      07430
FOR MEDIA GROUP                          PO BOX 1928                                                                                        CAROLINA          PR      00984‐1928
FOR MEDIA GROUP INC                      PO BOX 1928                                                                                        CAROLINA          PR      00984‐1928
FOR Roofing Contractors, Inc.            Urb. Reparto Metropolitano     Calle 11 SE #1014                                                   San Juan          PR      00921
FORASTIERI VELEZ,JUAN                    ADDRESS ON FILE
FORBES BENITEZ, LUCRECIA                 ADDRESS ON FILE
FORBES BERRIOS, RAYMOND                  ADDRESS ON FILE
FORCE LINK CORP                          161 SAN JORGE STREET STE 402                                                                       SAN JUAN          PR      00911
FORCE LINK CORP                          PO BOX 16143                                                                                       SAN JUAN          PR      00907
FORCE TEMPORARY SERVICES INC             PO BOX 195013                                                                                      SAN JUAN          PR      00919
FORCINO RUBERO, ERNESTO                  ADDRESS ON FILE
FORCULUS LLC                             P O BOX 10560                  CAPARRA STATION                                                     SAN JUAN          PR      00922‐0560
FORD DEL SUR                             P O BOX 7365                                                                                       PONCE             PR      00732‐7365
FORD HERNANDEZ, GERALD                   ADDRESS ON FILE
FORD HERNANDEZ, RAUL                     ADDRESS ON FILE
FORD INTERNATIONAL BUSINESS              PO BOX 11957                                                                                       SAN JUAN          PR      00922‐1957
FORD MOTOR COMPANY                       PO BOX 724016                                                                                      ATLANTA           GA      31139‐9998
FORD MOTOR CREDIT                        PO BOX 364189                                                                                      SAN JUAN          PR      00936‐4189
FORD, NILSA                              ADDRESS ON FILE
FORDE, PETER                             ADDRESS ON FILE
FORENSIC ENGINEERING SERVICES            PO BOX 5544                                                                                        CAGUAS            PR      00726
FORENSIC STORE INC                       695 ALDERMAN ROAD                                                                                  PALM HARBOR       FL      34683
FORENSICS INC                            PO BOX 13267                                                                                       SAN JUAN          PR      00908
Fores Galarza, Edward                    ADDRESS ON FILE
FORES PADILLA, JORGE L                   ADDRESS ON FILE
FORES SANCHEZ, GLORYMAR                  ADDRESS ON FILE
FOREST HILL FAM HLTH ASSOC               MEDICAL RECORDS                465 MT PROSPECT AVE                                                 NEWARK            NJ      07104
FOREST HILLS HOSPITAL                    207‐05 76TH AVE                                                                                    NEW HYDE PARK     NY      11040
FOREST VIEW PSYCHIATRIC HOSPITAL         ATTN MEDICAL RECORDS           1055 MEDICAL PARK DR SE                                             GRAND RAPIDS      MI      49546‐3671
FORESTIER BACO, GRETZA                   ADDRESS ON FILE
FORESTIER CUERDA, WALDEMAR               ADDRESS ON FILE
FORESTIER DIAZ, FLORILDA                 ADDRESS ON FILE
Forestier Figueroa, Michael              ADDRESS ON FILE
FORESTIER FRADERA, EDGAR                 ADDRESS ON FILE
FORESTIER GONZALEZ, WALDEMAR             ADDRESS ON FILE
FORESTIER IRIZARRY, JESSICA              ADDRESS ON FILE
FORESTIER MALDONADO, EMILIO J            ADDRESS ON FILE
FORESTIER MALDONADO, MAIDA L             ADDRESS ON FILE
FORESTIER MONTALVO, RICARDO I            ADDRESS ON FILE
FORESTIER MORET, MARIA D                 ADDRESS ON FILE
FORESTIER ORTIZ, IBIS E                  ADDRESS ON FILE
FORESTIER ORTIZ, JULIA E                 ADDRESS ON FILE
FORESTIER RAMIREZ, ILIA I                ADDRESS ON FILE
FORESTIER RAMOS, HUMBERTO                ADDRESS ON FILE
FORESTIER RIVERA, CARMEN Y               ADDRESS ON FILE




                                                                                                       Page 2955 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2956 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                        Address1                                     Address2                                     Address3               Address4   City              State   PostalCode   Country
Forestier Rivera, Jose Luis          ADDRESS ON FILE
FORESTIER TORRES, ANGEL              ADDRESS ON FILE
FORESTIER TORRES, ERNESTO            ADDRESS ON FILE
FORESTIER TORRES, MARGARITA          ADDRESS ON FILE
Forethought Life Insurance Company   300 North Meridian Street                    Suite 1800                                                                     Indianapolis      IN      46204
Forethought Life Insurance Company   Attn: David Mullen, Vice President           One Forethought Center                                                         Batesville        IN      47006
Forethought Life Insurance Company   Attn: Maureen Henderson, Circulation of Risk One Forethought Center                                                         Batesville        IN      47006
Forethought Life Insurance Company   Attn: Maureen Henderson, Consumer Complaint One Forethought Center                                                          Batesville        IN      47006
Forethought Life Insurance Company   Attn: Walter Dixon, Vice President           One Forethought Center                                                         Batesville        IN      47006
FORETHOUGHT LIFE INSURANCE COMPANY   ONE FORETHOUGHT CENTER                       PO BOX 151                                                                     BATESVILLE        IN      47006‐9997
FOREVER LEARNING INC                 URB SAN PATRICIO                             30 CALLE MANUEL RIVERA FERRER                                                  GUAYNABO          PR      00968
FORJAN SANTOS, DOLORES               ADDRESS ON FILE
FORM WORX                            1601 TRAPELO RD                                                                                                             WALTHAM           MA      02154
FORMADOR INC                         PMB 648                                      CARR PR 19‐1353                                                                GUAYNABO          PR      00966
FORMBY HERNANDEZ, KAREN              ADDRESS ON FILE
FORMEL KILLFOILE, QUINN L.           ADDRESS ON FILE
FORNARIS DURAN, MARINA               ADDRESS ON FILE
FORNARIS MD , IGNACIO H              ADDRESS ON FILE
FORNARIS OCASIO, VIVIANA             ADDRESS ON FILE
FORNARIS RULLAN, GUILLERMO           ADDRESS ON FILE
FORNARIS RULLAN, MAGGIE              ADDRESS ON FILE
FORNES ALVARADO, ALMA                ADDRESS ON FILE
Fornes Arcelay, Dagmary              ADDRESS ON FILE
FORNES CAMACHO, JENNIE               ADDRESS ON FILE
FORNES DE JESUS, JOSE A              ADDRESS ON FILE
FORNES DE JESUS, MARICELI            ADDRESS ON FILE
FORNES DECHETH, RAFAEL               ADDRESS ON FILE
FORNES DECHETH, RAFAEL               ADDRESS ON FILE
FORNES DECHETH, RAFAEL               ADDRESS ON FILE
Fornes Decheth, Rafael A.            ADDRESS ON FILE
FORNES LUGO, RUTH                    ADDRESS ON FILE
FORNES MORALES, JOSE R               ADDRESS ON FILE
FORNES MORALES, MARTA                ADDRESS ON FILE
FORNES MORALES, PEDRO                ADDRESS ON FILE
FORNES PEREZ, ILEANA                 ADDRESS ON FILE
FORNES PEREZ, LOURDES M.             ADDRESS ON FILE
FORNES PEREZ,LOURDES                 ADDRESS ON FILE
FORNES RODRIGUEZ, ROSA               ADDRESS ON FILE
                                                                                                                               CALLE J. VISCARRONDO
FORNES RODRIGUEZ, ROSA               DERECHO PROPIO                             URB. RAMIREZ DE ARELLANO                       #2                                MAYAGUEZ          PR      00680
FORNES VELEZ, DIANA                  ADDRESS ON FILE
FORONDA, STEVEN                      ADDRESS ON FILE
FORREY RAMOS, MARGARETT              ADDRESS ON FILE
FORS ROBAINA, ENRIQUE I              ADDRESS ON FILE
FORST GARCIA, MAYRA L                ADDRESS ON FILE
FORSYTHE ISALES, PHOEBE              ADDRESS ON FILE
FORT CAMPBELL HOSPITAL               650 JOEL DR                                                                                                                 FORT CAMPBELL     KY      41223
FORT CORREA, ALEXIS                  ADDRESS ON FILE
FORT ESTEVES, MARIELI                ADDRESS ON FILE
FORT ESTEVES, MYRIAM I.              ADDRESS ON FILE
FORT FERNANDEZ, JAIME                ADDRESS ON FILE
FORT FERNANDEZ, KARLA                ADDRESS ON FILE
FORT MARTINEZ, JESUS                 ADDRESS ON FILE
FORT MARTINEZ, ZHAHEIDA              ADDRESS ON FILE
Fort Montalvo, Mary L                ADDRESS ON FILE
FORT ORTEGA, NYDIA                   ADDRESS ON FILE
FORT PINERO, ELBA I                  ADDRESS ON FILE
FORT RIVERA, ALBERTO                 ADDRESS ON FILE
FORT RIVERA, CARLOS                  ADDRESS ON FILE
FORT RIVERA, SHADDAI                 ADDRESS ON FILE




                                                                                                             Page 2956 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2957 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City             State   PostalCode   Country
FORT, MARIA M.                      ADDRESS ON FILE
FORT,JESUS                          ADDRESS ON FILE
FORTALEZA REHAB CENTERS             133 W HUNTING PARK AVE                                                           PHILADELPHIA     PA      19140
FORTALEZA SECURITY INC              PO BOX 6273                                                                      MAYAGUEZ         PR      00681‐6273
FORTE GRAFAL, IRIS                  ADDRESS ON FILE
FORTE PEREZ, ANA M.                 ADDRESS ON FILE
FORTE SANCHEZ, CARMEN D             ADDRESS ON FILE
FORTES BERRIOS, EMANUEL             ADDRESS ON FILE
FORTES DAVILA, MAYRA Y              ADDRESS ON FILE
FORTEZA BERRY, CARLOS               ADDRESS ON FILE
FORTEZA GARCIA, MARIA E             ADDRESS ON FILE
FORTEZA GARCIA‐BARBON, TATIANA      ADDRESS ON FILE
FORTI ISALES MD, LUIS R             ADDRESS ON FILE
FORTI JIMENEZ, JORGE                ADDRESS ON FILE
FORTI MALDONADO, LIMARIE            ADDRESS ON FILE
Forti Perez, Nelson                 ADDRESS ON FILE
FORTI PEREZ, NELSON                 ADDRESS ON FILE
FORTI, THOMAS III                   ADDRESS ON FILE
FORTIER AVILES, SANDRA I            ADDRESS ON FILE
FORTIER CARRASQUILLO, CARMEN L      ADDRESS ON FILE
FORTIER DE LA CRUZ, VIVIANA         ADDRESS ON FILE
FORTIER DIAZ, ADOLFO                ADDRESS ON FILE
Fortier Gonzalez, Alfredo           ADDRESS ON FILE
FORTIER GONZALEZ, ALFREDO           ADDRESS ON FILE
FORTIER GUZMAN, DANIL M             ADDRESS ON FILE
FORTIER MELENDEZ, MARIA DE LOS A.   ADDRESS ON FILE
FORTIER RIVERA, BEATRICE            ADDRESS ON FILE
FORTIER RIVERA, PROVIDENCIA         ADDRESS ON FILE
FORTIER ROSADO, EDNA                ADDRESS ON FILE
FORTIER SANTOS, GARY                ADDRESS ON FILE
FORTIER, JOSE                       ADDRESS ON FILE
FORTIN BOWEL, JORGE                 ADDRESS ON FILE
FORTIS FONTAN, JOSE A.              ADDRESS ON FILE
FORTIS FONTAN, JOSE A.              ADDRESS ON FILE
FORTIS OCASIO, AILEEN               ADDRESS ON FILE
FORTIS OCASIO, PEDRO                ADDRESS ON FILE
FORTIS OLMO, CLARIBEL               ADDRESS ON FILE
FORTIS PEREZ, CARLOS                ADDRESS ON FILE
FORTIS PINERO, ANGEL M.             ADDRESS ON FILE
FORTIS RIVERA, ANGEL                ADDRESS ON FILE
FORTIS RIVERA, HILDA M.             ADDRESS ON FILE
FORTIS RIVERA, JESICA               ADDRESS ON FILE
FORTIS RIVERA, JORGE                ADDRESS ON FILE
FORTIS RIVERA, MYRNA I.             ADDRESS ON FILE
FORTIS RIVERA, ROBERTO              ADDRESS ON FILE
FORTIS RIVERA, YARIMAR              ADDRESS ON FILE
FORTIS SANTIAGO, AZARHI DEL         ADDRESS ON FILE
FORTIS SANTIAGO, JULIA H            ADDRESS ON FILE
FORTIS SUAREZ, ANGEL C              ADDRESS ON FILE
FORTIS TORRES, OLIDIA               ADDRESS ON FILE
FORTIS, MARTA R.                    ADDRESS ON FILE
FORTO CHEMICAL CORP                 PO BOX 910                                                                       GUAYNABO         PR      00970
FORTO SALES CORPORATION             PO BOX 910                                                                       GUAYNABO         PR      00970
FORTUN SAN MIGUEL, GUILLERMO        ADDRESS ON FILE
FORTUNA GARCIA, ANDRES              ADDRESS ON FILE
FORTUNA GARCIA, ANDRES              ADDRESS ON FILE
FORTUNA GARCIA, TERESA              ADDRESS ON FILE
FORTUNA GONZALEZ, RAUL              ADDRESS ON FILE
FORTUNA MORALES, CARLOS             ADDRESS ON FILE
FORTUNA MORALES, GRISELLE           ADDRESS ON FILE




                                                                                Page 2957 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2958 of 3500
                                                                              17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                  Address1                    Address2                            Address3   Address4   City            State   PostalCode   Country
FORTUNA PEREZ AYALA            ADDRESS ON FILE
FORTUNA VAZQUEZ, CARMEN        ADDRESS ON FILE
FORTUNA VAZQUEZ, JOSE M        ADDRESS ON FILE
FORTUNADO IRIZARRY, VICTOR     CANDIDA R. RENTAS ANCIANI   CARR 506 SUITE 203                                        COTO LAUREL     PR      00780‐2925
FORTUNATO BENITEZ RODRIGUEZ    ADDRESS ON FILE
FORTUNATO COLON PARRILLA       ADDRESS ON FILE
FORTUNATO FRONTERA GONZALEZ    ADDRESS ON FILE
FORTUNATO FRONTERA GONZALEZ    ADDRESS ON FILE
FORTUNATO IANUZZI, CARMEN J    ADDRESS ON FILE
FORTUNATO MD , JULIE M         ADDRESS ON FILE
FORTUNET CARABALLO, FRANKLIN   ADDRESS ON FILE
FORTUNET OJEDA, BRENDA E       ADDRESS ON FILE
FORTUNO BORRERO, JINNY         ADDRESS ON FILE
FORTUNO BORRERO, MORAIMA       ADDRESS ON FILE
FORTUNO BORRERO, TAMARA        ADDRESS ON FILE
FORTUNO BURSET, CARLOS         ADDRESS ON FILE
FORTUNO BURSET, LUIS G.        ADDRESS ON FILE
FORTUNO CANDELAS, CARMEN       ADDRESS ON FILE
FORTUNO CASANOVA, GEAN CARLO   ADDRESS ON FILE
FORTUNO COLON, FERNANDO        ADDRESS ON FILE
FORTUNO COSIMI, JAIME          ADDRESS ON FILE
Fortuno Martinez, Jaime E      ADDRESS ON FILE
FORTUNO ORTIZ, JOLIANNE        ADDRESS ON FILE
FORTUNO ORTIZ, LOISETTE M      ADDRESS ON FILE
FORTUÑO PADILLA MD, ARMANDO    ADDRESS ON FILE
FORTUNO PEREZ, SARA S          ADDRESS ON FILE
FORTUNO RODRIGUEZ, SANTIAGO    ADDRESS ON FILE
FORTUNO ROMAN, CARMEN          ADDRESS ON FILE
FORTUNO RUIZ, ANA TERESA       ADDRESS ON FILE
FORTUNO RUIZ, CECILIA          ADDRESS ON FILE
FORTUQO DE AGUAYO, MARITZA     ADDRESS ON FILE
FORTY BURGOS, KELVIN           ADDRESS ON FILE
FORTY CABRERA, GARY            ADDRESS ON FILE
FORTY CARRASQUILLO, ABIGAIL    ADDRESS ON FILE
FORTY CARRASQUILLO, HEIDY      ADDRESS ON FILE
FORTY CARRASQUILLO, JULIO      ADDRESS ON FILE
FORTY CASILLAS, DALMARIE       ADDRESS ON FILE
FORTY CASILLAS, DALMARIE       ADDRESS ON FILE
FORTY DIAZ, ANTONIO            ADDRESS ON FILE
FORTY ESTREMERAS, MARIA M      ADDRESS ON FILE
FORTY FRAGUADA, ROSA M         ADDRESS ON FILE
FORTY GARCIA, ANGIE            ADDRESS ON FILE
FORTY GARCIA, ANGIE E          ADDRESS ON FILE
FORTY MARQUEZ, HILEYSKA        ADDRESS ON FILE
FORTY MOLINA, JUAN             ADDRESS ON FILE
FORTY MOLINA, LIZANDRA         ADDRESS ON FILE
FORTY MORELL, CARMEN I.        ADDRESS ON FILE
FORTY NIEVES, ABIMAEL          ADDRESS ON FILE
FORTY NIEVES, ADAM             ADDRESS ON FILE
FORTY NIEVES, ALEXANDER        ADDRESS ON FILE
FORTY NIEVES, ANA L            ADDRESS ON FILE
FORTY NIEVES, JESUS            ADDRESS ON FILE
FORTY NIEVES, JOSE             ADDRESS ON FILE
FORTY NIEVES, JOSE J.          ADDRESS ON FILE
FORTY NIEVES, MARIA            ADDRESS ON FILE
FORTY NIEVES, PABLO            ADDRESS ON FILE
FORTY ORTIZ, LUZ M             ADDRESS ON FILE
FORTY PABON, CARMEN            ADDRESS ON FILE
FORTY PEREZ, JULIO             ADDRESS ON FILE
FORTY REYES, NELLIE            ADDRESS ON FILE




                                                                                Page 2958 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2959 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                            Address1                          Address2                              Address3   Address4   City               State   PostalCode   Country
FORTY REYES, ORLANDO                     ADDRESS ON FILE
FORTY SANCHEZ, OLIMPIA                   ADDRESS ON FILE
FORTY SANCHEZ, REMBERTO                  ADDRESS ON FILE
FORTY SANTOS, HARRY                      ADDRESS ON FILE
FORTY, ANA D.                            ADDRESS ON FILE
FORTYS DIAZ, MIRMARIE                    ADDRESS ON FILE
FORTYS RAMIREZ, JOSE                     ADDRESS ON FILE
FORTYS RIVERA, LIZETTE                   ADDRESS ON FILE
FORTYS ROSADO, KALIL                     ADDRESS ON FILE
FORTYZ HIRALDO, HUMBERTO                 ADDRESS ON FILE
FORTYZ JIMENEZ, YAMIL ENID               ADDRESS ON FILE
FORTYZ RIVERA, WANDA I.                  ADDRESS ON FILE
FORTYZ RIVERA, WANDA I.                  ADDRESS ON FILE
FORWARD HOLDING CO LLC                   PO BOX 363051                                                                                 SAN JUAN           PR      00936
FORWARD INTERNATIONAL                    KRYMSKA 13 100 00 PRAHA 10                                                                    CZECH REPUBLIC                          CZECH REPUBLIC
FORZUTTI, FAVIO                          ADDRESS ON FILE
FOSS NORTH AMERICA                       8091 WALLACE ROAD                                                                             EDEN PRAIRIE       MN      55344
FOSS NORTH AMERICA , INC                 3006 SOLUTIONS CENTER                                                                         CHICAGO            IL      60677‐3000
FOSSAS BARED, CAROLINA                   ADDRESS ON FILE
FOSSAS BLANCO, JOSE                      ADDRESS ON FILE
FOSSAS LOPECEPERO MD, JOSE L             ADDRESS ON FILE
FOSSAS MARXUACH, ACISCLO                 ADDRESS ON FILE
FOSSAS NEGRON, GILBERTO A                ADDRESS ON FILE
FOSSE DIAZ, EVELYN                       ADDRESS ON FILE
FOSSE MANZANO, MARISOL                   ADDRESS ON FILE
Fosse Morales, Juan Jose                 ADDRESS ON FILE
FOSTER ALEMAN, DAVID                     ADDRESS ON FILE
FOSTER COLON, EMILIA                     ADDRESS ON FILE
FOSTER COLON, HAYDEE                     ADDRESS ON FILE
FOSTER COLON, MARISA                     ADDRESS ON FILE
FOSTER HUERTAS, CLIFFORD                 ADDRESS ON FILE
FOSTER KISSELL, ANNA                     ADDRESS ON FILE
FOSTER LEVINE, JOSEPH                    ADDRESS ON FILE
FOSTER MARTINEZ, GABRIELA                ADDRESS ON FILE
FOSTER, MERCEDES C                       ADDRESS ON FILE
FOSTER, RAFAEL                           ADDRESS ON FILE
FOSTER, SANDRA                           ADDRESS ON FILE
FOTHERIGHHAM, KURTIS                     ADDRESS ON FILE
FOTO HEAVY INC                           URB VENUS GARDENS NORTE           1681 CALLE SALTILLO                                         SAN JUAN           PR      00926‐4641
FOTO IMAGEN INC                          6 CALLE 65 DE INFANTERIA N                                                                    LAJAS              PR      00667
FOTO MAX                                 65 INFANTERIA SHOPPING CENTER                                                                 SAN JUAN           PR      00923
FOTOMAX INC                              65TH INFANTERIA SHOPPING CENTER                                                               RIO PIEDRAS        PR      00923‐0000
FOUGERAT DE DOVER, JEANNETTE             ADDRESS ON FILE
FOUGERAT DE DOVER, JEANNETTE             ADDRESS ON FILE
FOUNDATION FOR PUERTO RICO               PO BOX 366578                                                                                 SAN JUAN           PR      00936‐6578
FOUNDATION PROFESSIONAL DEVELOPMENT      CENTER/PURA ENERGIA INC           PO BOX 4365                                                 AGUADILLA          PR      00605
FOUNDATIONS CONSULTING GROUP INC         URB MONTECASINO                   92 CALLE TABONUCO                                           TOA ALTA           PR      00953‐3726
FOUNTAIN BUSINESS GROUP                  PO BOX 79478                                                                                  CAROLINA           PR      00984‐9478
FOUNTAIN CHRISTIAN BILINGUAL SCHOOL      GUAYAMA, INC.                     PO BOX 1705                                                 GUAYAMA            PR      00785
FOUNTAIN CHRISTIAN BILINGUAL SCHOOL      P.O. BOX 334146                                                                               PONCE              PR      00733‐4146
FOUNTAIN CHRISTIAN BILINGUAL SCHOOL      PO BOX 1528                                                                                   VEGA BAJA          PR      00694
FOUNTAIN CHRISTIAN BILINGUAL SCHOOL GUAY PO BOX 1705                                                                                   GUAYAMA            PR      00785‐1705
FOUNTAIN POWERBOATS INC                  1653 WHICHARDS BEACH ROAD                                                                     WASHINGTON         WA      NC 27889
FOUR ALICEA, FRANCIS                     ADDRESS ON FILE
FOUR AS KIDS CORP ‐ KIDS PLANET          MONTE CARLO                       1267 AVE MONTE CARLO                                        SAN JUAN           PR      00924
FOUR DIAMOND TRADING INC                 PLAZA CAROLINA STA                PO BOX 8756                                                 CAROLINA           PR      00988‐8756
FOUR POINTS BY SHERATON CAGUAS REAL      50 C ALAMBRA EN GRANADA BLVD                                                                  CAGUAS             PR      00726
FOUR POINTS BY SHERATON CAGUAS REAL      LOIZA STATION                     PO BOX 6007                                                 SAN JUAN           PR      00914
FOUR POINTS SHERATON                     LOIZA STATION                                                                                 SAN JUAN           PR      00914
FOUR STAR AVIATION INC                   AIRPORT STATION                   PO BOX 37750                                                SAN JUAN           PR      00937




                                                                                                  Page 2959 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2960 of 3500
                                                                               17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                   Address1                   Address2                                  Address3   Address4   City         State   PostalCode   Country
FOUR STAR AVIATION INC          PO BOX 37750               AIRPORT STATION                                                 SAN JUAN     PR      00937
FOURNIER AMADOR, IRVING         ADDRESS ON FILE
FOURNIER ARQUITECTURA CPS       PMB 336                    130 WINSTON CHURCHIL AVE SUITE 1                                SAN JUAN     PR      00926‐6018
FOURNIER BERMUDEZ, KRYSABEL     ADDRESS ON FILE
FOURNIER BRACERO, MELVIN        ADDRESS ON FILE
FOURNIER CINTRON, MAYRA         ADDRESS ON FILE
FOURNIER COLLAZO, RUTHANA       ADDRESS ON FILE
FOURNIER COMEGYS, IVONNE        ADDRESS ON FILE
FOURNIER CORDOVA, LIZA M        ADDRESS ON FILE
FOURNIER CRUZ, IVONNE           ADDRESS ON FILE
FOURNIER DASTA, FRANK           ADDRESS ON FILE
FOURNIER DASTA, ZORAIDA         ADDRESS ON FILE
FOURNIER DE DIAZ, LYDIA E       ADDRESS ON FILE
FOURNIER FIGUEROA, MARIVETTE    ADDRESS ON FILE
FOURNIER GONZALEZ, CARLOS       ADDRESS ON FILE
FOURNIER GRAW, LYDIA            ADDRESS ON FILE
FOURNIER GUZMAN, SHIRLEY        ADDRESS ON FILE
FOURNIER HERNANDEZ, RAFAEL      ADDRESS ON FILE
FOURNIER JIMENEZ, CARLOS        ADDRESS ON FILE
FOURNIER MATEO, LILLIAM         ADDRESS ON FILE
FOURNIER NIGAGLIONI, RUBEN      ADDRESS ON FILE
FOURNIER NIGAGLIONI, YADHIRA    ADDRESS ON FILE
Fournier Nigaglioni, Yadhira    ADDRESS ON FILE
FOURNIER NUNEZ, LUIS            ADDRESS ON FILE
FOURNIER OLAVARRIA, MANUEL R.   ADDRESS ON FILE
FOURNIER ORAMA, RAMON           ADDRESS ON FILE
FOURNIER OTERO, EVELYN          ADDRESS ON FILE
FOURNIER OTERO, JORGE           ADDRESS ON FILE
FOURNIER PANTOJAS, LISANDRA     ADDRESS ON FILE
FOURNIER QUINONES, GISELLE M    ADDRESS ON FILE
FOURNIER RAMOS, MILAGROS        ADDRESS ON FILE
FOURNIER REBOLLO MD, JOSE R     ADDRESS ON FILE
FOURNIER REBOLLO, CARLOS E      ADDRESS ON FILE
FOURNIER RIEMPP, SUSAN L.       ADDRESS ON FILE
FOURNIER RIOS, HEROHILDA        ADDRESS ON FILE
FOURNIER RODRIGUEZ, TAMARIS     ADDRESS ON FILE
Fournier Rossy, Jorge A.        ADDRESS ON FILE
FOURNIER RUBERO, DAVID          ADDRESS ON FILE
FOURNIER SANCHEZ, TATIANA       ADDRESS ON FILE
FOURNIER THODE, FRANCISCO L.    ADDRESS ON FILE
FOURNIER VAZQUEZ, GUANIN        ADDRESS ON FILE
FOURNIER VILLANUEVA, JONATHAN   ADDRESS ON FILE
FOURNIER ZAYAS, JORGE R         ADDRESS ON FILE
FOURNIER ZAYAS, LUZ             ADDRESS ON FILE
FOURNIER ZAYAS, LUZ M           ADDRESS ON FILE
FOURQUET BARNES, ANGEL A        ADDRESS ON FILE
FOURQUET BARNES, PAUL           ADDRESS ON FILE
FOURQUET BARNES, PAUL           ADDRESS ON FILE
FOURQUET QUINTANA, HAYDEE       ADDRESS ON FILE
FOURTH FLOOR MANAGEMENT CORP    268 AVE PONCE DE LEON      SUITE 402                                                       SAN JUAN     PR      00918
FOURTH FLOOR MANAGEMENT INC     268 PONCE DE LEON AVENUE   SUITE 402                                                       HATO REY     PR      00918
FOWLER BRAVO, RONALD            ADDRESS ON FILE
FOWLER LANGUAGE SERVICE         PO BOX 921                                                                                 GUAYNABO     PR      00970
FOWLER LORENZO, LIZA            ADDRESS ON FILE
FOWLER LORENZO, LIZABETH L      ADDRESS ON FILE
FOX ACEVEDO, JAMES              ADDRESS ON FILE
FOX BADILLO, DIANA H            ADDRESS ON FILE
FOX CARRION, GIOVANNA           ADDRESS ON FILE
FOX TRAILERS INC                PO BOX 2334                                                                                TOA BAJA     PR      00951
FOXMAEL ESCALERA FLORES         ADDRESS ON FILE




                                                                                      Page 2960 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2961 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                       Address1                                    Address2                                   Address3   Address4   City            State   PostalCode   Country
FOXY EYEWARE CORP                   URB DORADO DEL MAR                          FF11 CALLE PISCIS                                                DORADO          PR      00646
FP+1,LLC                            URB MUNOZ RIVERA                            CALLE ACUARELA A‐11,L‐1‐3                                        GUAYNABO        PR      00969
FPC BUSINESS FORMS                  PO BOX 9366                                 PLAZA CAROLINA STATION                                           CAROLINA        PR      00988‐9366
FPC BUSINESS FORMS & SYSTEMS        PO BOX 9366 PLAZA CAROLINA STATION                                                                           CAROLINA        PR      00988
FPC BUSINESS FORMS & SYSTEMS CORP   P.O.BOX 9366 PLAZA CAROLINA STATION                                                                          CAROLINA        PR      00988‐9366
FPC BUSINESS FORMS & SYSTEMS CORP   PO BOX 9366                                                                                                  CAROLINA        PR      00988‐9366
FPMG DBA ORLANDO NEURO SURGERY      1605 W FAIRBANKS AVENUE                                                                                      WINTER PARK     FL      32789
FPMG DBA RADIOLOGY SPECIALISTS      PO BOX 864414                                                                                                ORLANDO         PR      33886‐4414
FPMG‐DBA ORLANDO SURGERY            1605 W FAIRBANKS AVENUE                                                                                      WINTERPARK      FL      32789
FPMG‐DBA RADIOLOGY SPECIALIST       PO BOX 864414                                                                                                ORLANDO         FL      32886‐4414
FPV & GALINDEZ CPA                  P O BOX 364152                                                                                               SAN JUAN        PR      00936‐4152
FPV & GALINDEZ, CPA, PSC            PO BOX 364152                                                                                                SAN JUAN        PR      00936‐4152
FPV GALINDEZ CPAS PSC               PO BOX 364152                                                                                                SAN JUAN        PR      00936
FRACINETTI ARQUITECTOS, CSP         COND PLAZA DE DIEGO, 310 AVE. DE DIEGO STE 103                                                               SAN JUAN        PR      00909
FRACINETTI CAPO, FERMIN             ADDRESS ON FILE
FRACISCA FIGUEROA MARTINEZ          ADDRESS ON FILE
FRADERA ACEVEDO, JUAN               ADDRESS ON FILE
FRADERA ACEVEDO, RAFAEL E.          ADDRESS ON FILE
FRADERA CARABALLO, JUAN F           ADDRESS ON FILE
FRADERA CARABALLO, LISANDRA         ADDRESS ON FILE
FRADERA CORA, LUZ A                 ADDRESS ON FILE
Fradera Cruz, Janet E               ADDRESS ON FILE
FRADERA DELGADO, ANA                ADDRESS ON FILE
FRADERA LA TORRES, JOHN             ADDRESS ON FILE
FRADERA MIRANDA, EDWIN              ADDRESS ON FILE
FRADERA MIRANDA, RAMON              ADDRESS ON FILE
FRADERA PAGAN, AXEL                 ADDRESS ON FILE
FRADERA PAGAN, GRETCHEN             ADDRESS ON FILE
FRADERA SANCHEZ, JUAN               ADDRESS ON FILE
FRADERA VAZQUEZ, ALBERTO            ADDRESS ON FILE
FRADERA VAZQUEZ, ALBERTO            ADDRESS ON FILE
FRADERA VELEZ, ROSANNA              ADDRESS ON FILE
FRADERA VICENTE, RAMON R            ADDRESS ON FILE
FRADERA VILLAFANE, CORALYS A        ADDRESS ON FILE
FRADERA, JEAN                       ADDRESS ON FILE
FRAGA BERRIOS MD, IVONNE            ADDRESS ON FILE
FRAGA CARRASQUILLO, JUAN            ADDRESS ON FILE
FRAGA CARRASQUILLO, JUAN G.         ADDRESS ON FILE
FRAGA GARCIA, GINA M                ADDRESS ON FILE
FRAGA MELENDEZ, MARIANA             ADDRESS ON FILE
FRAGA MILLAN MD, CARLOS J           ADDRESS ON FILE
FRAGA QUEVEDO, MICHELLE             ADDRESS ON FILE
FRAGA, MARIA                        ADDRESS ON FILE
FRAGELA ACOSTA, HUMBERTO            ADDRESS ON FILE
FRAGELA ZAYAS, MOISES               ADDRESS ON FILE
FRAGELA ZAYAS, MOISES               ADDRESS ON FILE
FRAGOSA ALICEA, JUDITH              ADDRESS ON FILE
FRAGOSA ALVAREZ, JOSE               ADDRESS ON FILE
FRAGOSA COLLAZO, CARLOS             ADDRESS ON FILE
FRAGOSA CORCINO, LYDIA E            ADDRESS ON FILE
FRAGOSA CRUZ, ELSIE D.              ADDRESS ON FILE
FRAGOSA CRUZ, YESENIA               ADDRESS ON FILE
FRAGOSA DELGADO, NOELIA             ADDRESS ON FILE
FRAGOSA FONTANEZ, ZALMAYRA          ADDRESS ON FILE
FRAGOSA ORTEGA, ANIBAL              ADDRESS ON FILE
FRAGOSA RESTO, JEANNETTE M.         ADDRESS ON FILE
FRAGOSA RODRIGUEZ, IRIS N.          ADDRESS ON FILE
FRAGOSAGARCIA, NYDIA                ADDRESS ON FILE
FRAGOSO CORREA, MILAGROS            ADDRESS ON FILE
FRAGOSO GONZALEZ, ARMANDO J         ADDRESS ON FILE




                                                                                                            Page 2961 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2962 of 3500
                                                                               17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                   Address1                  Address2                                       Address3   Address4   City         State   PostalCode   Country
FRAGOSO GONZALEZ, EMANUEL J     ADDRESS ON FILE
FRAGOSO GONZALEZ, JULIO C.      ADDRESS ON FILE
FRAGOSO GRAZIANI, JUAN          ADDRESS ON FILE
FRAGOSO GRAZIANI, JUAN M.       ADDRESS ON FILE
FRAGOSO MARCANO, ADA N          ADDRESS ON FILE
FRAGOSO MERCADO, MIDNA          ADDRESS ON FILE
FRAGOSO NEGRON, NELA M          ADDRESS ON FILE
FRAGOSO NEGRON, ROBERTO         ADDRESS ON FILE
FRAGOSO QUINONES, ARACELIS      ADDRESS ON FILE
FRAGOSO QUINONES, JESSICA M     ADDRESS ON FILE
FRAGOSO RESTO, FERNANDO C       ADDRESS ON FILE
FRAGOSO RIVERA, CARLOS M        ADDRESS ON FILE
FRAGOSO RIVERA, DARIS M         ADDRESS ON FILE
FRAGOSO RIVERA, EDWIN A         ADDRESS ON FILE
FRAGOSO RIVERA, FRANCISCO       ADDRESS ON FILE
FRAGOSO RIVERA, GLENDALY        ADDRESS ON FILE
FRAGOSO RODRIGUEZ, JESUS        ADDRESS ON FILE
FRAGOSO RODRIGUEZ, JOHN J.      ADDRESS ON FILE
FRAGOSO RODRIGUEZ, LEILA        ADDRESS ON FILE
FRAGOSO RODRIGUEZ, LEILA M.M.   ADDRESS ON FILE
FRAGOSO RODRIGUEZ, LUIS R.      ADDRESS ON FILE
FRAGOSO RODRIGUEZ, MARIE L      ADDRESS ON FILE
FRAGOSO ROMERO, CARLOS          ADDRESS ON FILE
FRAGOSO ROMERO, MARISOL         ADDRESS ON FILE
FRAGOSO SERRANO, PEDRO          ADDRESS ON FILE
FRAGOSO TORRES, MILDRED         ADDRESS ON FILE
FRAGOSO VALENTIN, NILDA         ADDRESS ON FILE
FRAGOSO VAZQUEZ, VERONICA I.    ADDRESS ON FILE
FRAGRADA NUNEZ, ADAIN           ADDRESS ON FILE
FRAGUADA ALMENAS, CHRISTIAN     ADDRESS ON FILE
FRAGUADA CARRASQUILLO, RENE     OSCAR GONZALEZ BADILLO    1055 AVE. JF KENNEDEY STE 303                                        SAN JUAN     PR      00920‐1723
Fraguada Correa, Ramon          ADDRESS ON FILE
FRAGUADA CORTES, CRISTIAN O     ADDRESS ON FILE
FRAGUADA FELEICIANO, JONATHAN   ADDRESS ON FILE
FRAGUADA FIGUEROA, ANA R        ADDRESS ON FILE
FRAGUADA FIGUEROA, WILSON       ADDRESS ON FILE
FRAGUADA HERNANDEZ, ELIZABETH   ADDRESS ON FILE
FRAGUADA LLAVONA, MANUEL        ADDRESS ON FILE
FRAGUADA MARIN, DELIA A         ADDRESS ON FILE
FRAGUADA MARQUEZ, YISELA        ADDRESS ON FILE
FRAGUADA NIEVES, LUIS           ADDRESS ON FILE
FRAGUADA NUNEZ, ADAIN           ADDRESS ON FILE
FRAGUADA PEREZ MD, LUIS A       ADDRESS ON FILE
FRAGUADA REYES MD, ANGEL L      ADDRESS ON FILE
FRAGUADA RIOS, WANDA            ADDRESS ON FILE
FRAGUADA RIOS, WANDA            ADDRESS ON FILE
FRAGUADA RIVERA, JOSE A         ADDRESS ON FILE
FRAGUADA RIVERA, LUZ S          ADDRESS ON FILE
FRAGUADA RODRIGUEZ, EDUARDO     ADDRESS ON FILE
FRAGUADA RODRIGUEZ, EDUARDO     ADDRESS ON FILE
FRAGUADA ROMAN, CARMEN M        ADDRESS ON FILE
FRAGUADA ROSADO, ANA            ADDRESS ON FILE
FRAGUADA ROSADO, ILEANA         ADDRESS ON FILE
FRAGUADA ROSADO, JOSE           ADDRESS ON FILE
FRAGUADA SANTIAGO, ANGEL R.     ADDRESS ON FILE
FRAGUADA SANTOS, MARIA M        ADDRESS ON FILE
FRAGUADA TOLEDO, MARIA E.       ADDRESS ON FILE
FRAGUADA TOLEDO, ROSE M.        ADDRESS ON FILE
FRAGUADA TORRES, IVAN           ADDRESS ON FILE
FRAGUADA VEGA, LUIS             ADDRESS ON FILE




                                                                                          Page 2962 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2963 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                        Address1                                  Address2                                    Address3    Address4   City                State   PostalCode   Country
FRAGUADA VILLANUEVA, EDNA S          ADDRESS ON FILE
FRAGUADA, MARIA EUGENIA              ADDRESS ON FILE
FRAGUADA, ROSSEANNA                  ADDRESS ON FILE
FRAIGCOMAR BASKETBALL ACADEMY CORP   URB MUNIZ RIVERA                          1112 CALLE LOS FRAILES                                             GUAYNABO            PR      00969
FRAILE ROMEU, MAGDALENA S            ADDRESS ON FILE
FRAITES NEGRON, JESSICA              ADDRESS ON FILE
FRAKLIN W VIDAL SANCHEZ              ADDRESS ON FILE
FRALEY BOOHER, CAROL                 ADDRESS ON FILE
FRALIA RIVERA DIAZ                   ADDRESS ON FILE
FRAMAR DISTRIBUTORS CORP             AVE SIMON MADERA LOCAL #13                                                                                   SAN JUAN            PR      00924
FRAME GONZALEZ, KAREM                ADDRESS ON FILE
FRAME MD , EDWARD L                  ADDRESS ON FILE
FRAMIL DURAN, LOURDES                ADDRESS ON FILE
FRAMIL FERRAN, CARLA                 ADDRESS ON FILE
FRAMIN Z GONZALEZ MELON              ADDRESS ON FILE
FRAN ENCARNACION                     ADDRESS ON FILE
FRAN J PEREZ GALARZA                 ADDRESS ON FILE
FRANCART CORP                        EST REALES                                28 CALLE DUQUE WINDSOR                                             GUAYNABO            PR      00969‐5321
FRANCE AZUR COMMUNICATION            4 RUE DU MARECHAL FOCH                                                                                       CANNES                      06400        FRANCE
FRANCECHI LOPEZ, EDDIE               ADDRESS ON FILE
FRANCEL MILLET TORRES                ADDRESS ON FILE
FRANCELIN PADILLA ORTIZ              ADDRESS ON FILE
FRANCELIS ORTIZ PAGAN                ADDRESS ON FILE
FRANCELYN DE JESUS RODRIGUEZ         ADDRESS ON FILE
FRANCELYS GONZALEZ ACEVEDO           ADDRESS ON FILE
FRANCELYS GONZALEZ ACEVEDO           ADDRESS ON FILE
FRANCENE D ANDINO ACEVEDO            ADDRESS ON FILE
FRANCES A CRUZ IRIZARRY              ADDRESS ON FILE
FRANCES A GALAN TORRES               ADDRESS ON FILE
FRANCES A GONZALEZ FERRER            ADDRESS ON FILE
FRANCES A SOTO RIVERA                ADDRESS ON FILE
FRANCES A TORRES CONTRERAS           ADDRESS ON FILE
FRANCES ACEVEDO TORANO               ADDRESS ON FILE
FRANCES ACEVEDO TORANO               ADDRESS ON FILE
Frances Alebrande                    ADDRESS ON FILE
FRANCES ALVAREZ CANDELARIO           ADDRESS ON FILE
FRANCES APELLANIZ ARROYO             ADDRESS ON FILE
FRANCES APONTE TRAVIESO              ADDRESS ON FILE
FRANCES B GONZALEZ ARVELO            ADDRESS ON FILE
FRANCES BATISTA OQUENDO              ADDRESS ON FILE
FRANCES BERMUDEZ MOLINA              ADDRESS ON FILE
FRANCES BETANCOURT, HECTOR D         ADDRESS ON FILE
FRANCES BONAPARTE DURAN              ADDRESS ON FILE
FRANCES CANCEL HERNANDEZ             ADDRESS ON FILE
FRANCES CARLO                        CAROLIN HUNT COTTRELL; MICHAEL C. MCKAY; Y2000 POWELL ST. SUITE 1400                                         EMERYVILLE          CA      94608
FRANCES CARLO                        J. BARTON GOPLERUD; ANDREW B. HOWIE;      501 GRAND RIDGE DRIVE                       SUITE 100              WEST DES MOINES     IA      50265
FRANCES CARLO                        JANE BECKER WHITAKER                      PO BOX 9023914                                                     SAN JUAN            PR      00902‐3914
FRANCES CARLO                        LCDOS. JANE BECKER WHITAKER               PO BOX 9023914                                                     SAN JUAN            PR      00902
FRANCES CARRASQUILLO PERALES         ADDRESS ON FILE
FRANCES CASIANO ORTIZ                ADDRESS ON FILE
FRANCES CINTRON FIGUEROA             ADDRESS ON FILE
FRANCES CINTRON LOPEZ                ADDRESS ON FILE
FRANCES CLORIE TARDY RIVERA          ADDRESS ON FILE
FRANCES CO & VAZQUEZ OYOLA           ADDRESS ON FILE
FRANCES COLLAZO DE LEON              ADDRESS ON FILE
FRANCES COLON BAEZ                   ADDRESS ON FILE
FRANCES COLON, DANIEL                ADDRESS ON FILE
FRANCES D HANES LOPEZ                ADDRESS ON FILE
FRANCES D JIMENEZ FIGUEROA           ADDRESS ON FILE
FRANCES DAVILA SUAREZ                ADDRESS ON FILE




                                                                                                            Page 2963 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2964 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                           Address1                                Address2                      Address3   Address4   City         State   PostalCode   Country
FRANCES DAVILA SUAREZ                   ADDRESS ON FILE
FRANCES DEL CARMEN ORTIZ RODRIGUEZ      ADDRESS ON FILE
FRANCES DELANO COLLAZO                  ADDRESS ON FILE
FRANCES DIAZ URRUTIA                    ADDRESS ON FILE
FRANCES E CANDELARIA SOTO               ADDRESS ON FILE
FRANCES E DIAZ DELGADO                  ADDRESS ON FILE
FRANCES E FUENTES TORRES                ADDRESS ON FILE
FRANCES E TORRES MARTINEZ               ADDRESS ON FILE
FRANCES E. CRUZ ORELLANA                ADDRESS ON FILE
FRANCES E. PEREZ LOPEZ                  GENOVEVA VALENTÍN SOTOILSA RODRÍGUEZ CANPO BOX 13695                                        SAN JUAN     PR      00908‐3695
FRANCES ELIESER CRUZ                    ADDRESS ON FILE
FRANCES ESCALET MALDONADO               ADDRESS ON FILE
FRANCES ESQUILIN MARQUEZ                ADDRESS ON FILE
FRANCES G AVILES ZENGOTITA              ADDRESS ON FILE
FRANCES G TARDY RIVERA                  ADDRESS ON FILE
FRANCES G VALENTIN GONZALEZ             ADDRESS ON FILE
FRANCES GALAN, CELIA M.                 ADDRESS ON FILE
FRANCES GALLARDO                        ADDRESS ON FILE
FRANCES GARAYUA CARTAGENA               ADDRESS ON FILE
FRANCES GARCIA DE JESUS                 ADDRESS ON FILE
FRANCES GARCIA HAGHVEDIAN/FRANCISCO GAR LCDO. ROBERTO ALONSO SANTIAGO           APARTADO 913                                        GUAYNABO     PR      00970
FRANCES GLORIE TARDY RIVERA             ADDRESS ON FILE
FRANCES GONZALEZ CANTRES                ADDRESS ON FILE
FRANCES GONZALEZ MARTINEZ               ADDRESS ON FILE
FRANCES GONZALEZ RAMOS                  ADDRESS ON FILE
FRANCES GONZALEZ ROMERO                 ADDRESS ON FILE
FRANCES GUZMAN BERRIOS                  ADDRESS ON FILE
FRANCES HERNANDEZ MUNOZ                 ADDRESS ON FILE
FRANCES HERNANDEZ MUNOZ                 ADDRESS ON FILE
FRANCES HERNANDEZ RODRIGUEZ             ADDRESS ON FILE
FRANCES HERNANDEZ RODRIGUEZ             ADDRESS ON FILE
FRANCES I GONZALEZ CRESPO               ADDRESS ON FILE
FRANCES I GONZALEZ FELICIANO            ADDRESS ON FILE
FRANCES I RODRIGUEZ MORALES             ADDRESS ON FILE
FRANCES J BURGOS ROBLES                 ADDRESS ON FILE
FRANCES J JIMENEZ TRINIDAD              ADDRESS ON FILE
FRANCES J PONCE MORALES                 ADDRESS ON FILE
FRANCES J SANTIAGO ORTIZ                ADDRESS ON FILE
FRANCES J. PIZARRO RIVERA               ADDRESS ON FILE
FRANCES J. SANTIAGO ORTIZ               ADDRESS ON FILE
FRANCES JOANNE RODRIGUEZ BLASINI        ADDRESS ON FILE
FRANCES K SANCHEZ DE LEON               ADDRESS ON FILE
FRANCES L ADORNO HERNANDEZ              ADDRESS ON FILE
FRANCES L CARRERO ROMAN                 ADDRESS ON FILE
FRANCES L CENTENO                       ADDRESS ON FILE
FRANCES L FUENTES ORTIZ                 ADDRESS ON FILE
FRANCES L REYES PAGAN                   ADDRESS ON FILE
FRANCES L ROBLES MEDINA                 ADDRESS ON FILE
FRANCES L SANCHEZ ROSS                  ADDRESS ON FILE
FRANCES L SOTO RAMOS                    ADDRESS ON FILE
FRANCES L SOTOMAYOR RODRIGUEZ           ADDRESS ON FILE
FRANCES L. CARABALLO ARROYO             ADDRESS ON FILE
FRANCES LOPEZ QUINONES                  ADDRESS ON FILE
FRANCES LOPEZ ROMAN                     ADDRESS ON FILE
FRANCES LORELLE DE JESUS CRESPO         ADDRESS ON FILE
FRANCES LOREY GONZALEZ                  ADDRESS ON FILE
FRANCES LUGO ROMAN                      ADDRESS ON FILE
FRANCES M ACOSTA PIZARRO                ADDRESS ON FILE
FRANCES M ANDUJAR RIVERA                ADDRESS ON FILE
FRANCES M BARTOLOMEI RUIZ               ADDRESS ON FILE




                                                                                               Page 2964 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2965 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCES M BRAVO NEGRON              ADDRESS ON FILE
FRANCES M CALDERAS MORENO           ADDRESS ON FILE
FRANCES M CARTAGENA OLIVIER         ADDRESS ON FILE
FRANCES M CIFUENTES GOMEZ           ADDRESS ON FILE
FRANCES M CONCEPCION DE CONINCK     ADDRESS ON FILE
FRANCES M FELICIANO TARAFA          ADDRESS ON FILE
FRANCES M FELIX MORALES             ADDRESS ON FILE
FRANCES M GONZALEZ VELEZ            ADDRESS ON FILE
FRANCES M LEBRON RIVERA             ADDRESS ON FILE
FRANCES M LIND RIVERA               ADDRESS ON FILE
FRANCES M LOPEZ NARVAEZ             ADDRESS ON FILE
FRANCES M MELENDEZ ALICEA           ADDRESS ON FILE
FRANCES M MERCED ACEVEDO            ADDRESS ON FILE
FRANCES M MORELL COLBERG            ADDRESS ON FILE
FRANCES M RAMOS RAMIREZ             ADDRESS ON FILE
FRANCES M RIVERA RIVAS              ADDRESS ON FILE
FRANCES M RODRIGUEZ NUNEZ           ADDRESS ON FILE
FRANCES M RODRIGUEZ RIVERA          ADDRESS ON FILE
FRANCES M ROMERO OLIVERAS           ADDRESS ON FILE
FRANCES M ROSARIO RIVERA            ADDRESS ON FILE
FRANCES M ROURA VEGA                ADDRESS ON FILE
FRANCES M SALICHS POU               ADDRESS ON FILE
FRANCES M TORRES GREEN              ADDRESS ON FILE
FRANCES M ZAYAS CASTILLO            ADDRESS ON FILE
FRANCES M. CARTAGENA OLIVIERI       ADDRESS ON FILE
FRANCES M. HERNANDEZ FUSTER         ADDRESS ON FILE
FRANCES M. MARCANO RAMOS            ADDRESS ON FILE
FRANCES M. RAMOS VELAZQUEZ          ADDRESS ON FILE
FRANCES MARIE CATALA CHINEA         ADDRESS ON FILE
FRANCES MARIE LEON SANTIAGO         ADDRESS ON FILE
FRANCES MARIE TORRES GREEN          ADDRESS ON FILE
FRANCES MARTINEZ                    ADDRESS ON FILE
FRANCES MARTINEZ CARDONA            ADDRESS ON FILE
FRANCES MATTER COSTAS               ADDRESS ON FILE
FRANCES MATTHEW Y CHAYANNE L ORTA   ADDRESS ON FILE
FRANCES MOJICA SEPULVEDA            ADDRESS ON FILE
FRANCES MORALES QUINTERO            ADDRESS ON FILE
FRANCES N FERRER ALICEA             ADDRESS ON FILE
FRANCES N GIRAUD MONTES             ADDRESS ON FILE
FRANCES N TAPIA LEBRON              ADDRESS ON FILE
FRANCES NATER PINEIRO               ADDRESS ON FILE
FRANCES NEGRON MUNTANER             ADDRESS ON FILE
FRANCES NUNEZ VENTURA               ADDRESS ON FILE
FRANCES OJEDA IRIZARRY              ADDRESS ON FILE
FRANCES OLIVER ROMAN                ADDRESS ON FILE
FRANCES OLIVERAS DIAZ               ADDRESS ON FILE
FRANCES OLIVIERI CASILLAS           ADDRESS ON FILE
FRANCES ORTEGA PEREZ                ADDRESS ON FILE
FRANCES ORTIZ CARRASQUILLO          ADDRESS ON FILE
FRANCES ORTIZ FERNANDEZ             ADDRESS ON FILE
FRANCES ORTIZ GONZALEZ              ADDRESS ON FILE
FRANCES ORTIZ MORALES               ADDRESS ON FILE
FRANCES P COLON ORTIZ               ADDRESS ON FILE
FRANCES P RIVERA SANTIAGO           ADDRESS ON FILE
FRANCES P VELEZ BARTOLOMEI          ADDRESS ON FILE
FRANCES PORTOCARRERO                ADDRESS ON FILE
FRANCES PORTOCARRERO BALDRICH       ADDRESS ON FILE
FRANCES QUINONES AYALA              ADDRESS ON FILE
FRANCES QUINONES DEL CASTILLO       ADDRESS ON FILE
FRANCES R VERGNE SOTOMAYOR          ADDRESS ON FILE




                                                                                Page 2965 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 2966 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                              Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
FRANCES RAMIREZ/YOLANDA COTARELO           ADDRESS ON FILE
FRANCES REYES VELEZ                        ADDRESS ON FILE
FRANCES RIVERA OYOLA                       ADDRESS ON FILE
FRANCES RODRIGUEZ ORTIZ                    ADDRESS ON FILE
FRANCES RODRIGUEZ SALICRUP                 ADDRESS ON FILE
FRANCES RODRIGUEZ TORRES                   ADDRESS ON FILE
FRANCES RUIZ VEGA                          ADDRESS ON FILE
FRANCES S CHARLEMAN SIMPSON                ADDRESS ON FILE
FRANCES S ORTEGA SANTOS                    ADDRESS ON FILE
FRANCES S SANTOS MARRERO                   ADDRESS ON FILE
FRANCES SANCHEZ CANCIO                     ADDRESS ON FILE
FRANCES SANCHEZ CRUZ                       ADDRESS ON FILE
FRANCES SANTANA SANTIAGO                   ADDRESS ON FILE
Frances Santiago & Asociado Bufete Legal   PMB 273                   352 Ave. San Claudio                                        San Juan     PR      00926
FRANCES SEDA SEDA                          ADDRESS ON FILE
FRANCES SOLA SANTIAGO                      ADDRESS ON FILE
FRANCES SUAREZ IZQUIERDO                   ADDRESS ON FILE
FRANCES T PEREZ ARIAS                      ADDRESS ON FILE
FRANCES T VAZQUEZ RODRIGUEZ                ADDRESS ON FILE
FRANCES TORRES ALEJANDRO                   ADDRESS ON FILE
FRANCES TORRES SAEZ                        ADDRESS ON FILE
FRANCES V CASTRO PARRILLA                  ADDRESS ON FILE
FRANCES VAZQUEZ AYALA                      ADDRESS ON FILE
FRANCES VELAZQUEZ ROMERO                   ADDRESS ON FILE
FRANCES VILLEGAS, RAUL                     ADDRESS ON FILE
FRANCES X PRESTIA DIAZ                     ADDRESS ON FILE
FRANCES Y HERNANDEZ ORTIZ                  ADDRESS ON FILE
FRANCES Y RIVERA AVILES                    ADDRESS ON FILE
FRANCES Y. URBINA JIMÉNEZ                  JOSÉ A. VELÁZQUEZ GRAU    PO BOX 251                                                  CAGUAS       PR      00726
FRANCES ZOE W SOTO MELENDEZ                ADDRESS ON FILE
FRANCES, COOTS                             ADDRESS ON FILE
FRANCESC J. BADIA MUR                      ADDRESS ON FILE
FRANCESCA N. SAMPAYO GONZALEZ              ADDRESS ON FILE
FRANCESCA TESTANI VAZQUEZ                  ADDRESS ON FILE
FRANCESCHI ALFONSO, VIVIANA                ADDRESS ON FILE
FRANCESCHI CARRERO, WENDELL                ADDRESS ON FILE
FRANCESCHI CASIANO, ABIMAEL                ADDRESS ON FILE
FRANCESCHI CASIANO, LORENZA                ADDRESS ON FILE
FRANCESCHI CASIANO, MARICELA               ADDRESS ON FILE
FRANCESCHI CASIANO, MARICELA               ADDRESS ON FILE
FRANCESCHI COLON, LESLIE                   ADDRESS ON FILE
FRANCESCHI COLON, MARTA I                  ADDRESS ON FILE
FRANCESCHI COLON, VIRMARIE                 ADDRESS ON FILE
FRANCESCHI CONDE MD, RAUL                  ADDRESS ON FILE
FRANCESCHI DAVILA, AIDA L                  ADDRESS ON FILE
FRANCESCHI DIAZ, CLARIBEL                  ADDRESS ON FILE
FRANCESCHI DIAZ, CLARIBEL                  ADDRESS ON FILE
FRANCESCHI DIAZ, KATHERINE                 ADDRESS ON FILE
FRANCESCHI ESCOBAR, MARIA L.               ADDRESS ON FILE
FRANCESCHI ESCOBAR, PABLO J                ADDRESS ON FILE
FRANCESCHI FELICIANO, JOSELINE             ADDRESS ON FILE
FRANCESCHI FIGUEROA, MIGUEL A              ADDRESS ON FILE
FRANCESCHI GOMEZ, GABRIEL                  ADDRESS ON FILE
FRANCESCHI GOMEZ, JOAQUIN                  ADDRESS ON FILE
FRANCESCHI GOMEZ, JOAQUIN                  ADDRESS ON FILE
Franceschi Gonzalez, Enrique               ADDRESS ON FILE
FRANCESCHI GONZALEZ, NILSA                 ADDRESS ON FILE
FRANCESCHI GUADALUPE, ALVIN J              ADDRESS ON FILE
FRANCESCHI JOGLAR, EMILMAR                 ADDRESS ON FILE
FRANCESCHI LOPEZ, ARNALDO                  ADDRESS ON FILE




                                                                                            Page 2966 of 10031
                                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                 The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                              Exhibit A-1 - Creditor     Matrix
                                                                                   Case No.              Page 2967 of 3500
                                                                                            17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCESCHI LUGO, CARLOS                      ADDRESS ON FILE
FRANCESCHI MARTINEZ, MARGARITA M.            ADDRESS ON FILE
FRANCESCHI MENDEZ, ANGEL                     ADDRESS ON FILE
FRANCESCHI MENDEZ, ANGEL                     ADDRESS ON FILE
FRANCESCHI NAZARIO MD, IVETTE                ADDRESS ON FILE
Franceschi Negron, Hector                    ADDRESS ON FILE
Franceschi Noriega, Luis M                   ADDRESS ON FILE
FRANCESCHI ORTIZ, ANAIDA                     ADDRESS ON FILE
FRANCESCHI ORTIZ, RAMON A                    ADDRESS ON FILE
FRANCESCHI OTERO, ALEXIS                     ADDRESS ON FILE
FRANCESCHI OTERO, ROXANA                     ADDRESS ON FILE
FRANCESCHI PORTALATIN, SONIA E.              ADDRESS ON FILE
FRANCESCHI RIOS, ZULAIDA                     ADDRESS ON FILE
FRANCESCHI RIVERA, EILEEN DEL C              ADDRESS ON FILE
FRANCESCHI RIVERA, WILLIAM                   ADDRESS ON FILE
FRANCESCHI RODRIGUEZ, LILLIANNE              ADDRESS ON FILE
FRANCESCHI RODRIGUEZ, MARIO R.               ADDRESS ON FILE
FRANCESCHI RODRIGUEZ, WANDA                  ADDRESS ON FILE
FRANCESCHI ROMAN, GELINORIS                  ADDRESS ON FILE
FRANCESCHI RUIZ, BRENDALIZ                   ADDRESS ON FILE
FRANCESCHI RUIZ, PEDRO                       ADDRESS ON FILE
FRANCESCHI RUIZ, PEDRO                       ADDRESS ON FILE
FRANCESCHI SANDIN, PEDRO                     ADDRESS ON FILE
FRANCESCHI SANTIAGO, MIGUEL                  ADDRESS ON FILE
FRANCESCHI SANTIAGO, MILAGROS                ADDRESS ON FILE
Franceschi Seda, Manuel                      ADDRESS ON FILE
FRANCESCHI TORRES, EDUARDO                   ADDRESS ON FILE
FRANCESCHI TORRES, MICHELLE                  ADDRESS ON FILE
FRANCESCHI TRISTANI, ANGEL                   ADDRESS ON FILE
FRANCESCHI VAZQUEZ, EDGARDO                  ADDRESS ON FILE
FRANCESCHI VAZQUEZ, NOEMI                    ADDRESS ON FILE
FRANCESCHI VAZQUEZ, NOEMI                    ADDRESS ON FILE
FRANCESCHI ZAYAS, MARIA DEL C.               ADDRESS ON FILE
Franceschini Caraballo, Isaac E              ADDRESS ON FILE
FRANCESCHINI CARLO MD, JOSE A                ADDRESS ON FILE
FRANCESCHINI CARLO, M.D., F.A.P.A, JOSE A.   ADDRESS ON FILE
FRANCESCHINI COLON, AWILDA                   ADDRESS ON FILE
FRANCESCHINI CORNIER, NORBERTO               ADDRESS ON FILE
FRANCESCHINI DIAZ, FRANCES                   ADDRESS ON FILE
FRANCESCHINI DIAZ, LEYDA                     ADDRESS ON FILE
Franceschini Felici, Luis A                  ADDRESS ON FILE
FRANCESCHINI GHIGLIOTTY, ANGELICA            ADDRESS ON FILE
FRANCESCHINI GONZALEZ, CARLOS J.             ADDRESS ON FILE
FRANCESCHINI GONZALEZ, ERNAMID               ADDRESS ON FILE
FRANCESCHINI HERNANDEZ, KARLA M              ADDRESS ON FILE
FRANCESCHINI IRIZARRY, MAGALI                ADDRESS ON FILE
FRANCESCHINI IRIZARRY, MAYRA E               ADDRESS ON FILE
FRANCESCHINI JORGE, MICHELLE                 ADDRESS ON FILE
FRANCESCHINI LAJARA, ROXANNE M               ADDRESS ON FILE
FRANCESCHINI ORTIZ, RAUL                     ADDRESS ON FILE
FRANCESCHINI ORTIZ, RENE                     ADDRESS ON FILE
FRANCESCHINI PACHECO, JULIO                  ADDRESS ON FILE
FRANCESCHINI PASCUAL, RENE W                 ADDRESS ON FILE
FRANCESCHINI ROCHE, MARIELA                  ADDRESS ON FILE
FRANCESCHINI RODRIGUEZ, AIDA I.              ADDRESS ON FILE
FRANCESCHINI RODRIGUEZ, SARAH                ADDRESS ON FILE
FRANCESCHINI RODRIGUEZ, VIVIAN J.            ADDRESS ON FILE
FRANCESCHINI RODRIGUEZ, WANDA                ADDRESS ON FILE
FRANCESCHINI ROMAGUERA, LUIS ALBERTO         ADDRESS ON FILE
Franceschini Roman, Serafin                  ADDRESS ON FILE




                                                                                         Page 2967 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 2968 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCESCHINI SALGADO, ALAN        ADDRESS ON FILE
FRANCESCHINI SALGADO, CARLOS      ADDRESS ON FILE
FRANCESCHINI SANTIAGO, LILLY      ADDRESS ON FILE
FRANCESCHINI SEPULVEDA, RAQUEL    ADDRESS ON FILE
FRANCESCHINI SERRANO, ELBA I.     ADDRESS ON FILE
FRANCESCHINI, CARLOS              ADDRESS ON FILE
FRANCESCHINI, EDDA E              ADDRESS ON FILE
FRANCESCHINI, GLORIA E            ADDRESS ON FILE
FRANCESCHINI, WILLIAM             ADDRESS ON FILE
FRANCESCHINI,WILLIAM              ADDRESS ON FILE
FRANCESCHKA DE LEON LOPEZ         ADDRESS ON FILE
FRANCESCO RODRIGUEZ ROMAN         ADDRESS ON FILE
FRANCESHI CENTENO, TSUNAMI        ADDRESS ON FILE
FRANCESHI RIVERA, EVAMIN          ADDRESS ON FILE
Franceshi Seda, Jose A            ADDRESS ON FILE
FRANCESHINI NIEVES, FRANKLIN      ADDRESS ON FILE
FRANCESHINI NIEVES, WILLIAM       ADDRESS ON FILE
FRANCESKA GANDIA QUINONES         ADDRESS ON FILE
FRANCESKA TORRES PEREZ            ADDRESS ON FILE
FRANCETTE J THOMAS GOMEZ          ADDRESS ON FILE
FRANCHE DE LEON ZAPATA            ADDRESS ON FILE
FRANCHE DE LEON ZAPATA            ADDRESS ON FILE
FRANCHELIES ALVIRA CRUZ           ADDRESS ON FILE
FRANCHELLY RIVERA CINTRON         ADDRESS ON FILE
FRANCHELY RODRIGUEZ ORTIZ         ADDRESS ON FILE
FRANCHESCA BELLEROSES RODRIGUEZ   ADDRESS ON FILE
FRANCHESCA CRUZ PEREZ             ADDRESS ON FILE
FRANCHESCA DEL PILAR CRUZ PEREZ   ADDRESS ON FILE
FRANCHESCA FERNANDEZ CALZADA      ADDRESS ON FILE
FRANCHESCA L MELETICHE PEREZ      ADDRESS ON FILE
FRANCHESCA LEE MELETICHE PEREZ    ADDRESS ON FILE
FRANCHESCA M LABOY RIVERA         ADDRESS ON FILE
FRANCHESCA M RAMOS VAZQUEZ        ADDRESS ON FILE
FRANCHESCA MOLINA MALDONADO       ADDRESS ON FILE
FRANCHESCA NUNEZ MELENDEZ         ADDRESS ON FILE
FRANCHESCA VALDES ORTEGA          ADDRESS ON FILE
FRANCHESCA VARGAS LOPEZ           ADDRESS ON FILE
FRANCHESCO PENA                   ADDRESS ON FILE
FRANCHESKA A MODESTTI NUNEZ       ADDRESS ON FILE
FRANCHESKA BARBARA RAMOS          ADDRESS ON FILE
FRANCHESKA BARBIERI MILLAN        ADDRESS ON FILE
FRANCHESKA BAYRON RIVERA          ADDRESS ON FILE
FRANCHESKA BENABE RIOS            ADDRESS ON FILE
FRANCHESKA C VIJO RODRIGUEZ       ADDRESS ON FILE
FRANCHESKA CABAN TRINIDAD         ADDRESS ON FILE
FRANCHESKA CEDENO GOMEZ           ADDRESS ON FILE
FRANCHESKA CINTRON BOU            ADDRESS ON FILE
FRANCHESKA GARCIA CORUJO          ADDRESS ON FILE
FRANCHESKA GONZALEZ VAZQUEZ       ADDRESS ON FILE
FRANCHESKA HERNANDEZ ROSARIO      ADDRESS ON FILE
FRANCHESKA HERNANDEZ ROSARIO      ADDRESS ON FILE
FRANCHESKA I AMADEO DELGADO       ADDRESS ON FILE
FRANCHESKA L RIVERA CRUZ          ADDRESS ON FILE
FRANCHESKA LEE MOREU GONZALEZ     ADDRESS ON FILE
FRANCHESKA LUEGO GANDIA           ADDRESS ON FILE
FRANCHESKA M AGOSTO ROJAS         ADDRESS ON FILE
FRANCHESKA M AVILES MELENDEZ      ADDRESS ON FILE
FRANCHESKA M CASAS RIVERA         ADDRESS ON FILE
FRANCHESKA M FUENTES MUNIZ        ADDRESS ON FILE
FRANCHESKA M GONZALEZ SEPULVEDA   ADDRESS ON FILE




                                                                              Page 2968 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2969 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                      Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
FRANCHESKA M GONZALEZ SEPULVEDA    ADDRESS ON FILE
FRANCHESKA M GONZALEZ SEPULVEDA    ADDRESS ON FILE
FRANCHESKA M PICHARDO VARGAS       ADDRESS ON FILE
FRANCHESKA M RIVERA RODRIGUEZ      ADDRESS ON FILE
FRANCHESKA M ROLDAN MARIN          ADDRESS ON FILE
FRANCHESKA M RUIZ FELICIANO        ADDRESS ON FILE
FRANCHESKA M SANTIAGO              ADDRESS ON FILE
FRANCHESKA M TORRES RIVERA         ADDRESS ON FILE
FRANCHESKA M VILLANUEVA DELGADO    ADDRESS ON FILE
FRANCHESKA M VILLANUEVA DELGADO    ADDRESS ON FILE
FRANCHESKA M.PINTADO VEGA          ADDRESS ON FILE
FRANCHESKA MARIE PEREIRA RIVERA    ADDRESS ON FILE
FRANCHESKA MATOS ADORNO            ADDRESS ON FILE
FRANCHESKA MELENDEZ                ADDRESS ON FILE
FRANCHESKA MENDEZ RIVERA           ADDRESS ON FILE
FRANCHESKA N RUIZ AVILES           ADDRESS ON FILE
FRANCHESKA ORTIZ TORRECH           ADDRESS ON FILE
FRANCHESKA PADUA GUZMAN            ADDRESS ON FILE
FRANCHESKA PADUA GUZMAN            ADDRESS ON FILE
FRANCHESKA PEREZ MARTINEZ          ADDRESS ON FILE
FRANCHESKA PINEDA RIVERA           ADDRESS ON FILE
FRANCHESKA QUINONES RIVERA         ADDRESS ON FILE
FRANCHESKA REYES ACEVEDO           ADDRESS ON FILE
FRANCHESKA REYES MARTINEZ          ADDRESS ON FILE
FRANCHESKA RIVERA FRAGOSO          ADDRESS ON FILE
FRANCHESKA RIVERA RUIZ             ADDRESS ON FILE
FRANCHESKA ROCHE RIVERA            ADDRESS ON FILE
FRANCHESKA RODRIGUEZ ORTIZ         ADDRESS ON FILE
FRANCHESKA RODRIGUEZ VARGAS        ADDRESS ON FILE
FRANCHESKA ROLON ROLON             ADDRESS ON FILE
FRANCHESKA SENERIS VEGA            ADDRESS ON FILE
FRANCHESKA TORRES SANCHEZ          ADDRESS ON FILE
FRANCHESKA TORRES SANCHEZ          ADDRESS ON FILE
FRANCHESKA VALDES CIRINO           ADDRESS ON FILE
FRANCHESKA VAZQUEZ AVILES          ADDRESS ON FILE
FRANCHESKA VEGA GONZALEZ           ADDRESS ON FILE
FRANCHESKA YARI RIVERA             ADDRESS ON FILE
FRANCHESKAM PACHECO CAMACHO        ADDRESS ON FILE
FRANCHEZKA COLON JIMENEZ           ADDRESS ON FILE
FRANCIA E GIL RODRIGUEZ            ADDRESS ON FILE
FRANCIA MAVILA, RICARDO            ADDRESS ON FILE
FRANCIA PEREZ, DEBORA              ADDRESS ON FILE
FRANCIA PRIETO, YOED               ADDRESS ON FILE
FRANCIANNETTE PINEIRO COLLAZO      ADDRESS ON FILE
FRANCIASCO GIL GARRIGA             ADDRESS ON FILE
FRANCIBETH GOMEZ PIZARRO           ADDRESS ON FILE
FRANCIELIZ VELAZQUEZ VALE          ADDRESS ON FILE
FRANCINE L HENRY NIEVES            ADDRESS ON FILE
FRANCINE M IDELFONSO SANCHEZ       ADDRESS ON FILE
FRANCINE M REYES VEGA              ADDRESS ON FILE
FRANCINETTI ARQUITECTOS CSP        COND PLAZA DE DIEGO       310 AVE DE DIEGO STE 103                                        SAN JUAN     PR      00909‐1716
FRANCIS A ALVAREZ ROSARIO          ADDRESS ON FILE
FRANCIS ACOSTA PEREZ               ADDRESS ON FILE
FRANCIS ALVARADO, JOSEPHINE        ADDRESS ON FILE
FRANCIS ANTHUAN MORALES GONZALEZ   ADDRESS ON FILE
FRANCIS AYALA LOPERA               ADDRESS ON FILE
FRANCIS AYALA, MARIA J.            ADDRESS ON FILE
FRANCIS BELTRAN                    ADDRESS ON FILE
FRANCIS BERNARD CRUZ               ADDRESS ON FILE
FRANCIS BERRIOS LOPEZ              ADDRESS ON FILE




                                                                                        Page 2969 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2970 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                      Address1                    Address2                                  Address3   Address4   City         State   PostalCode   Country
FRANCIS COLBERG PAGAN              ADDRESS ON FILE
FRANCIS COLLAZO/ SONIA FUENTES     ADDRESS ON FILE
Francis Colon, Luis                ADDRESS ON FILE
FRANCIS CORDERO RIVERA             ADDRESS ON FILE
FRANCIS CORTES LAJARA              ADDRESS ON FILE
FRANCIS D ECHEVARRIA TORRES        ADDRESS ON FILE
FRANCIS DANIEL NINA ESTRELLA       ADDRESS ON FILE
FRANCIS DELGADO, BENJAMIN          ADDRESS ON FILE
FRANCIS DELGADO, CAMILLE           ADDRESS ON FILE
FRANCIS DOUGLAS, BEVERLY           ADDRESS ON FILE
FRANCIS DOUGLAS, IVETTE            ADDRESS ON FILE
FRANCIS E RODRIGUEZ VEGA           ADDRESS ON FILE
FRANCIS E RUIZ RAMIREZ             ADDRESS ON FILE
FRANCIS E VELEZ JIMENEZ            ADDRESS ON FILE
FRANCIS F NEGRON ALVAREZ           ADDRESS ON FILE
FRANCIS FIGUEROA MARTINEZ          ADDRESS ON FILE
FRANCIS GALAN, CELIA M             ADDRESS ON FILE
FRANCIS GARCIA RIVERA              ADDRESS ON FILE
FRANCIS I DIAZ MEDINA              ADDRESS ON FILE
FRANCIS IRIZARRY COLON             ADDRESS ON FILE
FRANCIS J CORDERO COLON            ADDRESS ON FILE
FRANCIS J DE JESUS FALERO          ADDRESS ON FILE
FRANCIS J MATEO DIAZ               ADDRESS ON FILE
FRANCIS J RENTAS CASIANO           ADDRESS ON FILE
FRANCIS J RODRIGUEZ RUIZ           ADDRESS ON FILE
FRANCIS JAVIER COLON ADAMES        ADDRESS ON FILE
FRANCIS JAVIER GALICIA FELICIANO   ADDRESS ON FILE
FRANCIS JOHN, CLAUDIA              ADDRESS ON FILE
FRANCIS L DE JESUS CASTRO          ADDRESS ON FILE
FRANCIS L STACKPOOLE               ADDRESS ON FILE
FRANCIS M GONZALEZ TORRES          ADDRESS ON FILE
FRANCIS M ORTIZ PEREZ              ADDRESS ON FILE
FRANCIS M SANTOS DIAZ              ADDRESS ON FILE
FRANCIS M TORRES REYES             ADDRESS ON FILE
FRANCIS M. BURGADO SANTIAGO        ADDRESS ON FILE
FRANCIS M. ENCARNACION OSORIO      ADDRESS ON FILE
FRANCIS M. ENCARNACION OSORIO      ADDRESS ON FILE
FRANCIS MARCON, LUIS               ADDRESS ON FILE
FRANCIS MARIE GONZALEZ REYES       ADDRESS ON FILE
FRANCIS MARTINEZ, CHRISTIAN J.     ADDRESS ON FILE
FRANCIS MATOS VAZQUEZ              ADDRESS ON FILE
FRANCIS MILORD CALDERON            ADDRESS ON FILE
FRANCIS NIEVES RUIZ                LCDO. FRANCIS NIEVES RUIZ   PMB‐1296,243 CALLE PARIS                                        SAN JUAN     PR      00917‐3632
FRANCIS NIEVES RUIZ                NIEVES RUIZ, FRANCIS        PO BOX 11398                                                    SAN JUAN     PR      00910‐1398
FRANCIS OCASIO                     ADDRESS ON FILE
FRANCIS ORTIZ HUERTAS              ADDRESS ON FILE
FRANCIS R MALDONADO                ADDRESS ON FILE
FRANCIS RAMIREZ PADOVANI           ADDRESS ON FILE
FRANCIS REYES, MICHAEL             ADDRESS ON FILE
FRANCIS RODRIGUEZ MERCADO          ADDRESS ON FILE
FRANCIS RODRIGUEZ, VERONICA        ADDRESS ON FILE
FRANCIS ROLDAN HERNANDEZ           ADDRESS ON FILE
FRANCIS ROSARIO, DOLORES R         ADDRESS ON FILE
FRANCIS ROSARIO, ILIA M            ADDRESS ON FILE
FRANCIS ROSARIO, LUIS              ADDRESS ON FILE
FRANCIS RUIZ PINEYRO               ADDRESS ON FILE
FRANCIS SANCHEZ, NORMA E           ADDRESS ON FILE
FRANCIS SANTIAGO GONZALEZ          ADDRESS ON FILE
FRANCIS SOSTRE MALDONADO ASOC      ADDRESS ON FILE
FRANCIS SOTO DE JESUS              ADDRESS ON FILE




                                                                                          Page 2970 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2971 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
FRANCIS SOTO MELENDEZ                 ADDRESS ON FILE
FRANCIS T PAGAN MARTINEZ              ADDRESS ON FILE
FRANCIS THILLET, ADA M                ADDRESS ON FILE
FRANCIS TORRES IBANEZ                 ADDRESS ON FILE
FRANCIS TORRES PEREZ                  ADDRESS ON FILE
FRANCIS V CANALES ORTIZ               ADDRESS ON FILE
FRANCIS VAZQUEZ MERCADO               ADDRESS ON FILE
FRANCIS W MARTINEZ FERNANDEZ          ADDRESS ON FILE
FRANCIS W MARTINEZ FERNANDEZ          ADDRESS ON FILE
FRANCIS Y MORALES PEREZ               ADDRESS ON FILE
FRANCIS Z RAMOS VALENTIN              ADDRESS ON FILE
FRANCIS, SANDRA                       ADDRESS ON FILE
FRANCISBET GONZALEZ BURGOS            ADDRESS ON FILE
FRANCISC0 MANZANO OTERO               ADDRESS ON FILE
FRANCISCA A RAYA TROCHE               ADDRESS ON FILE
FRANCISCA ADORNO NATAL                ADDRESS ON FILE
FRANCISCA ARRACHE FERRER              ADDRESS ON FILE
FRANCISCA ARZUAGA DAVILA              ADDRESS ON FILE
FRANCISCA AVILES APONTE               ADDRESS ON FILE
FRANCISCA AYALA MARCANO               ADDRESS ON FILE
FRANCISCA BONILLA MOREL               ADDRESS ON FILE
FRANCISCA BRITO MIRAMBEAU             ADDRESS ON FILE
FRANCISCA CARABALLO RIVERA            ADDRESS ON FILE
FRANCISCA CASTILLO AYALA              ADDRESS ON FILE
FRANCISCA CASTRO VILLANUEVA           ADDRESS ON FILE
FRANCISCA CRUZ PEREZ                  ADDRESS ON FILE
FRANCISCA DAVILA COLON                ADDRESS ON FILE
FRANCISCA DE JESUS MONCLOVA           ADDRESS ON FILE
FRANCISCA DE LOS SANTOS               ADDRESS ON FILE
FRANCISCA DELGADO GARCIA              ADDRESS ON FILE
FRANCISCA DIAZ ROMERO                 ADDRESS ON FILE
FRANCISCA ESTRADA BONILLA             ADDRESS ON FILE
FRANCISCA FELICIANO SANTOS            ADDRESS ON FILE
FRANCISCA FERNANDEZ LOPEZ             ADDRESS ON FILE
FRANCISCA FIGUEROA GARCIA             ADDRESS ON FILE
FRANCISCA FRONTERA OLIVER             ADDRESS ON FILE
FRANCISCA GONZALEZ CRUZ               ADDRESS ON FILE
FRANCISCA GUEVARA FELIZ               ADDRESS ON FILE
FRANCISCA GUZMAN RODRIGUEZ            LIC HECTOR PEÑA DE LEÓN   PO BOX 788                                             SAINT JUST     PR      00978
FRANCISCA HERNANDEZ JIMENEZ           ADDRESS ON FILE
FRANCISCA HERNANDEZ JIMENEZ           ADDRESS ON FILE
FRANCISCA I RAMOS CRUZ                ADDRESS ON FILE
FRANCISCA LEON DAVILA                 ADDRESS ON FILE
FRANCISCA LOPEZ QUI¥ONEZ              ADDRESS ON FILE
FRANCISCA LOPEZ RAMOS                 ADDRESS ON FILE
FRANCISCA M POMALES SUAREZ            ADDRESS ON FILE
FRANCISCA MAESTRE TORRES              ADDRESS ON FILE
FRANCISCA MALAVE                      ADDRESS ON FILE
FRANCISCA MARRERO MARTE               ADDRESS ON FILE
FRANCISCA MARTINEZ RIOS               ADDRESS ON FILE
FRANCISCA MORA COREANO                ADDRESS ON FILE
FRANCISCA NAZARIO PINERO              ADDRESS ON FILE
FRANCISCA NIEVES MOLINA               ADDRESS ON FILE
FRANCISCA NUNEZ SANCHEZ               ADDRESS ON FILE
FRANCISCA OQUENDO ROQUE               ADDRESS ON FILE
FRANCISCA ORENGO ROSA                 ADDRESS ON FILE
FRANCISCA OTERO Y/O ISRAEL TRAVIESO   ADDRESS ON FILE
FRANCISCA PENA LOPEZ                  ADDRESS ON FILE
FRANCISCA PEREZ LOPEZ                 ADDRESS ON FILE
FRANCISCA PEREZ LOPEZ                 ADDRESS ON FILE




                                                                                  Page 2971 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2972 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                           Address1                        Address2                              Address3   Address4   City         State   PostalCode   Country
FRANCISCA PEREZ ROSARIO                 ADDRESS ON FILE
FRANCISCA QUINONEZ OTERO                ADDRESS ON FILE
FRANCISCA REYES FERRER                  ADDRESS ON FILE
FRANCISCA REYNOSO / HENRY E REYNOSO     ADDRESS ON FILE
FRANCISCA ROHENA SANCHEZ                ADDRESS ON FILE
FRANCISCA ROMAN COLLAZO                 ADDRESS ON FILE
FRANCISCA ROSA DE JESUS                 ADDRESS ON FILE
FRANCISCA ROSA GUZMAN                   ADDRESS ON FILE
FRANCISCA RUIZ VEGA                     ADDRESS ON FILE
FRANCISCA SANTAELLA BONILLA             ADDRESS ON FILE
FRANCISCA SANTIAGO RIVERA               DEMANDANTE POR DERECHO PROPIO   PMB‐19 PO BOX 607071                                        BAYAMON      PR      00960
FRANCISCA SOTELO                        ADDRESS ON FILE
FRANCISCA VALLESCORBO MERCEDES          ADDRESS ON FILE
FRANCISCA VARGAS HERRERA                ADDRESS ON FILE
FRANCISCA VAZQUEZ                       ADDRESS ON FILE
FRANCISCA VAZQUEZ FIGUEROA              ADDRESS ON FILE
FRANCISCA VEGA                          ADDRESS ON FILE
FRANCISCA VELEZ ORTIZ                   ADDRESS ON FILE
FRANCISCA VIVO COLON                    ADDRESS ON FILE
FRANCISCO A ARRIETA PLA                 PO BOX 364481                                                                               SAN JUAN     PR      00936‐4481
FRANCISCO A BAEZ ESPINEL                ADDRESS ON FILE
FRANCISCO A BARRIOS QUINONEZ            ADDRESS ON FILE
FRANCISCO A BEJARANO LOPEZ              ADDRESS ON FILE
FRANCISCO A CATALA MIGUEZ               ADDRESS ON FILE
FRANCISCO A CEDENO LARACUENTE           ADDRESS ON FILE
FRANCISCO A CINTRON GUTIERREZ           ADDRESS ON FILE
FRANCISCO A COLON RODRIGUEZ             ADDRESS ON FILE
FRANCISCO A CRUZ ROMERO                 ADDRESS ON FILE
FRANCISCO A DE JESUS AVILES             ADDRESS ON FILE
FRANCISCO A FELICIANO VARGAS            ADDRESS ON FILE
FRANCISCO A FIGUEROA RAMIREZ            ADDRESS ON FILE
FRANCISCO A FLORIMON PAREDES            ADDRESS ON FILE
FRANCISCO A GALLOZA REGALADO            ADDRESS ON FILE
FRANCISCO A GONZALEZ VELEZ              ADDRESS ON FILE
FRANCISCO A HERNANDEZ GARCIA            ADDRESS ON FILE
FRANCISCO A LUGO CARDONA                ADDRESS ON FILE
FRANCISCO A MARCANO VAZQUEZ             ADDRESS ON FILE
FRANCISCO A MARRERO GONZALEZ            ADDRESS ON FILE
FRANCISCO A ORTIZ IRIZARRY              ADDRESS ON FILE
FRANCISCO A ORTIZ PADUA                 ADDRESS ON FILE
FRANCISCO A ORTIZ RIVERA                ADDRESS ON FILE
FRANCISCO A POUERIET RODRIGUEZ          ADDRESS ON FILE
FRANCISCO A QUINONES RIVERA             ADDRESS ON FILE
FRANCISCO A QUINONES RIVERA             ADDRESS ON FILE
FRANCISCO A RESTO TORRES                ADDRESS ON FILE
FRANCISCO A RIVERA LOZANO               ADDRESS ON FILE
FRANCISCO A RIVERA QUIJANO              ADDRESS ON FILE
FRANCISCO A RODRIGUEZ ALICEA            ADDRESS ON FILE
FRANCISCO A SANTIAGO CINTRON            ADDRESS ON FILE
FRANCISCO A TORRES ARROYO               ADDRESS ON FILE
Francisco A. Figueroa Molinari          ADDRESS ON FILE
FRANCISCO ACEVEDO                       ADDRESS ON FILE
FRANCISCO ACEVEDO GARCIA                ADDRESS ON FILE
FRANCISCO ACEVEDO RIVERA                ADDRESS ON FILE
FRANCISCO ACOSTA VELEZ/FRANCISCA ACOSTA ADDRESS ON FILE
FRANCISCO ADORNO/ ANTONIA SANTIAGO      HC 7 BOX 3509                                                                               PONCE        PR      00731
FRANCISCO ADRIAN SUAREZ                 ADDRESS ON FILE
FRANCISCO ADROVER FUEYO                 ADDRESS ON FILE
FRANCISCO ADROVER FUEYO                 ADDRESS ON FILE
FRANCISCO AGOSTO ROSADO                 ADDRESS ON FILE




                                                                                               Page 2972 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2973 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                          Address1                            Address2                                  Address3   Address4   City        State   PostalCode   Country
FRANCISCO AGUEDA / RAMONA RODRIGUEZ    ADDRESS ON FILE
FRANCISCO AGUIRRE MIGOYA               ADDRESS ON FILE
FRANCISCO ALBA MOURIZ                  ADDRESS ON FILE
FRANCISCO ALBERTO MUNOZ LOPEZ          ADDRESS ON FILE
FRANCISCO ALICEA MARTINEZ              ADDRESS ON FILE
FRANCISCO ALICEA RIVERA                ADDRESS ON FILE
FRANCISCO ALMEIDA LEON                 ADDRESS ON FILE
FRANCISCO ALVARADO JIMENEZ             ADDRESS ON FILE
FRANCISCO ALVARADO MOLINA              ADDRESS ON FILE
FRANCISCO ALVAREZ MARTINEZ             ADDRESS ON FILE
FRANCISCO AMADOR ORTIZ                 ADDRESS ON FILE
FRANCISCO AMADOR RAMIREZ               ADDRESS ON FILE
FRANCISCO ANAYA VEGA                   LCDO. IVAN MONTALVO                 CALLE B D‐1 URB. ZREPARTO METROPOLITANO                         Cayey       PR      00736
FRANCISCO ANDRADES PANIAGUA            ADDRESS ON FILE
FRANCISCO ANTONIO SANTIAGO CINTRON     ADDRESS ON FILE
FRANCISCO APONTE AYALA                 ADDRESS ON FILE
FRANCISCO APONTE BERRIOS               ADDRESS ON FILE
FRANCISCO APONTE HERNANDEZ             ADDRESS ON FILE
FRANCISCO APONTE SUSTACHE              ADDRESS ON FILE
FRANCISCO ARCE CUEVAS                  ADDRESS ON FILE
FRANCISCO ARENCIBIA ALBITE             ADDRESS ON FILE
FRANCISCO ARROYO CARRERA               ADDRESS ON FILE
FRANCISCO ARROYO FIGUEROA              ADDRESS ON FILE
FRANCISCO ARROYO GONZALEZ              ADDRESS ON FILE
FRANCISCO ARROYO RODRIGUEZ             ADDRESS ON FILE
FRANCISCO AVILES MARTINEZ              ADDRESS ON FILE
FRANCISCO AYENDE                       ADDRESS ON FILE
FRANCISCO AYENDE DE JESUS              ADDRESS ON FILE
FRANCISCO BAEZ IRIZARRY                ADDRESS ON FILE
FRANCISCO BAEZ LOPEZ                   ADDRESS ON FILE
FRANCISCO BAEZ NAZARIO                 ADDRESS ON FILE
FRANCISCO BAEZ SANTIAGO                ADDRESS ON FILE
FRANCISCO BAEZ SOTO                    ADDRESS ON FILE
FRANCISCO BALAGUER ROSARIO             ADDRESS ON FILE
FRANCISCO BARRIENTOS                   ADDRESS ON FILE
FRANCISCO BARTOLOMEI NAZARIO           ADDRESS ON FILE
FRANCISCO BATISTA DBA BATISTA OFFICE   URB. SIERRA BAYAMON 70‐3 CALLE 60                                                                   BAYAMON     PR      00961‐0000
FRANCISCO BATISTA RAMOS                ADDRESS ON FILE
FRANCISCO BAYO VEGA                    ADDRESS ON FILE
FRANCISCO BECERRA FERNANDEZ            ADDRESS ON FILE
Francisco Beltran Berrios              ADDRESS ON FILE
Francisco Beltran Berrios              ADDRESS ON FILE
FRANCISCO BELTRAN RAMIREZ              ADDRESS ON FILE
FRANCISCO BERGES BUISAC                ADDRESS ON FILE
FRANCISCO BERGES BUISAC                ADDRESS ON FILE
FRANCISCO BERGES BUISAC                ADDRESS ON FILE
FRANCISCO BILLOCH                      ADDRESS ON FILE
FRANCISCO BIRRIEL DE JESUS             ADDRESS ON FILE
Francisco Blanco Rodriguez             ADDRESS ON FILE
FRANCISCO BONET RIVERA                 ADDRESS ON FILE
FRANCISCO BONILA FELICIANO             ADDRESS ON FILE
FRANCISCO BONILLA                      ADDRESS ON FILE
FRANCISCO BRUNO MALDONADO              ADDRESS ON FILE
FRANCISCO BRUNO ORELLANO               ADDRESS ON FILE
FRANCISCO BURGOS ARROYO                ADDRESS ON FILE
FRANCISCO BURGOS LOPEZ                 ADDRESS ON FILE
FRANCISCO C PARRA M D ,LLC             PO BOX 1061                                                                                         MANATI      PR      00674
FRANCISCO CABANAS SEIDEDOS             ADDRESS ON FILE
FRANCISCO CABELLO DOMINGUEZ            ADDRESS ON FILE
FRANCISCO CABRERA, SOLSIRIS            ADDRESS ON FILE




                                                                                                      Page 2973 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2974 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCISCO CACERES                      ADDRESS ON FILE
FRANCISCO CALDERON SANTIAGO            ADDRESS ON FILE
FRANCISCO CAMACHO BAEZ                 ADDRESS ON FILE
FRANCISCO CAMACHO TORRES               ADDRESS ON FILE
FRANCISCO CANABAL LOPEZ                ADDRESS ON FILE
FRANCISCO CANALES MENDEZ               ADDRESS ON FILE
FRANCISCO CARABALLO BORRERO            ADDRESS ON FILE
FRANCISCO CARBAJAL DELGADO             ADDRESS ON FILE
FRANCISCO CARDONA FIGUEROA             ADDRESS ON FILE
FRANCISCO CARINO ESQUILIN              ADDRESS ON FILE
FRANCISCO CARRERA MIRANDA              ADDRESS ON FILE
FRANCISCO CARRERAS MIRANDA             ADDRESS ON FILE
FRANCISCO CARRILLO BRITO               ADDRESS ON FILE
FRANCISCO CARTAGENA MORALES            ADDRESS ON FILE
FRANCISCO CASTELLO ESPINO              ADDRESS ON FILE
FRANCISCO CASTRO LABOY                 ADDRESS ON FILE
FRANCISCO CATALA RONDON                ADDRESS ON FILE
FRANCISCO CEDENO VILLANUEVA            ADDRESS ON FILE
FRANCISCO CHAVEZ CASTELLON             ADDRESS ON FILE
FRANCISCO CHIROQUE BENITES             ADDRESS ON FILE
FRANCISCO CINTRON TORRES               ADDRESS ON FILE
FRANCISCO CIRINO FUENTES               ADDRESS ON FILE
FRANCISCO CIRINO FUENTES               ADDRESS ON FILE
FRANCISCO CLAUDIO CLAUDIO              ADDRESS ON FILE
FRANCISCO CLAUDIO RAMIREZ              ADDRESS ON FILE
FRANCISCO CLAUDIORAMIREZ               ADDRESS ON FILE
FRANCISCO COLON BONILLA                ADDRESS ON FILE
FRANCISCO COLON VALE                   ADDRESS ON FILE
FRANCISCO COLON VALENTIN               ADDRESS ON FILE
FRANCISCO COLON VIERA                  ADDRESS ON FILE
FRANCISCO CONCEPCION CINTRON           ADDRESS ON FILE
FRANCISCO CONCEPCION RODRIGUEZ         ADDRESS ON FILE
FRANCISCO CONSTRUCTION INTERIOR, INC   PO BOX 762                                                                       FAJARDO      PR      00738‐0762
FRANCISCO CORDERO PEREZ                ADDRESS ON FILE
FRANCISCO COREANO NEGRON               ADDRESS ON FILE
FRANCISCO CORNELIO ROSA                ADDRESS ON FILE
FRANCISCO CORNELIO SOSA                ADDRESS ON FILE
FRANCISCO CORTES COLON                 ADDRESS ON FILE
FRANCISCO COSME MARTINEZ               ADDRESS ON FILE
FRANCISCO COSTAS RIVERA                ADDRESS ON FILE
Francisco Cotto Ortiz                  ADDRESS ON FILE
FRANCISCO COTTO SOSTRE                 ADDRESS ON FILE
FRANCISCO CRESPO SANTOS                ADDRESS ON FILE
FRANCISCO CRUZ                         ADDRESS ON FILE
FRANCISCO CRUZ MALDONADO               ADDRESS ON FILE
FRANCISCO CRUZ MATOS                   ADDRESS ON FILE
FRANCISCO CRUZ RODRIGUEZ               ADDRESS ON FILE
FRANCISCO CRUZ SANTOS                  ADDRESS ON FILE
FRANCISCO CRUZ SERRANO                 ADDRESS ON FILE
FRANCISCO CRUZ VAZQUEZ                 ADDRESS ON FILE
FRANCISCO CUEBAS ARBONA                ADDRESS ON FILE
FRANCISCO D GONZALEZ RUIZ              ADDRESS ON FILE
FRANCISCO D LOPEZ MARTINEZ             ADDRESS ON FILE
Francisco D Rivera Maldonado           ADDRESS ON FILE
FRANCISCO DAVILA TORO                  ADDRESS ON FILE
FRANCISCO DAVILA VARGAS                ADDRESS ON FILE
FRANCISCO DE ASIS TORO OSUNA           ADDRESS ON FILE
FRANCISCO DE BOKJA JIMENEZ CRESPO      ADDRESS ON FILE
FRANCISCO DE JESUS                     ADDRESS ON FILE
FRANCISCO DE JESUS DELGADO             ADDRESS ON FILE




                                                                                   Page 2974 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2975 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
FRANCISCO DE JESUS RIOS                 ADDRESS ON FILE
FRANCISCO DE JESUS SOTO                 ADDRESS ON FILE
FRANCISCO DE LA CRUZ Y JULIA CRUZ       ADDRESS ON FILE
FRANCISCO DE LA TORRE                   ADDRESS ON FILE
FRANCISCO DE LEON                       ADDRESS ON FILE
FRANCISCO DE PENA RAMIREZ               ADDRESS ON FILE
FRANCISCO DEL OLMO COLLADO              ADDRESS ON FILE
FRANCISCO DIAZ GARCIA                   ADDRESS ON FILE
FRANCISCO DIAZ HERNANDEZ                ADDRESS ON FILE
FRANCISCO DIAZ MARTINEZ                 ADDRESS ON FILE
FRANCISCO DIAZ MASSO / BERMUDE          P O BOX 192596                                                                   SAN JUAN        PR      00919
FRANCISCO DIAZ RODRIGUEZ                ADDRESS ON FILE
FRANCISCO DIAZ RODRIGUEZ                ADDRESS ON FILE
FRANCISCO DIAZ SILVA                    ADDRESS ON FILE
FRANCISCO DOMINGUEZ ORTEGA              ADDRESS ON FILE
FRANCISCO DOMINGUEZ VILLAFAðE           ADDRESS ON FILE
FRANCISCO DOMINGUEZ VILLAFANE           ADDRESS ON FILE
FRANCISCO DOX MILLAN                    ADDRESS ON FILE
FRANCISCO E ALVAREZ RUIZ                ADDRESS ON FILE
FRANCISCO E BALL ROSA                   ADDRESS ON FILE
FRANCISCO E GUZMAN INC                  PO BOX 1042                                                                      SABANA SECA     PR      00952
FRANCISCO E LOPEZ RODRIGUEZ             ADDRESS ON FILE
FRANCISCO E POL MARIN                   ADDRESS ON FILE
FRANCISCO E ROSARIO ORTIZ               ADDRESS ON FILE
FRANCISCO E VALDEZ MORALES              ADDRESS ON FILE
FRANCISCO E. DUARTE PENA                ADDRESS ON FILE
FRANCISCO ECHEVARRIA RIVERA             ADDRESS ON FILE
FRANCISCO ELIAS AYALA                   ADDRESS ON FILE
FRANCISCO ELIAS CANCEL                  ADDRESS ON FILE
FRANCISCO ESCOBAR HERNANDEZ             ADDRESS ON FILE
FRANCISCO ESTARELLAS QUILES             ADDRESS ON FILE
FRANCISCO ESTRADA RUIZ                  ADDRESS ON FILE
FRANCISCO EXCIA GONZALEZ                ADDRESS ON FILE
FRANCISCO FEBLES SANTIAGO               ADDRESS ON FILE
FRANCISCO FEBRES CRUZ                   ADDRESS ON FILE
FRANCISCO FEBUS RIVERA                  ADDRESS ON FILE
FRANCISCO FELIBERTY IRIZARRY            ADDRESS ON FILE
FRANCISCO FELICIANO CRUZ Y LUZ P CRUZ   ADDRESS ON FILE
FRANCISCO FELICIANO MIRANDA             ADDRESS ON FILE
FRANCISCO FERNANDEZ ALVAREZ             ADDRESS ON FILE
FRANCISCO FERNANDEZ CHIQUES LLC         PO BOX 9748                                                                      SAN JUAN        PR      00908
FRANCISCO FERNANDEZ DELGADO             ADDRESS ON FILE
FRANCISCO FERNANDEZ DIAZ                ADDRESS ON FILE
FRANCISCO FERNANDEZ DIAZ                ADDRESS ON FILE
FRANCISCO FERNANDEZ HUGGINS             ADDRESS ON FILE
FRANCISCO FERNANDEZ TORRES              ADDRESS ON FILE
FRANCISCO FERNANDEZ, LUIS               ADDRESS ON FILE
FRANCISCO FERRAIUOLI SUAREZ             ADDRESS ON FILE
FRANCISCO FERRER Y NILDA C MARCANO      ADDRESS ON FILE
FRANCISCO FIGUEROA                      ADDRESS ON FILE
FRANCISCO FIGUEROA ANDINO               ADDRESS ON FILE
FRANCISCO FIGUEROA CAMACHO              ADDRESS ON FILE
FRANCISCO FIGUEROA MELENDEZ             ADDRESS ON FILE
FRANCISCO FIGUEROA PAGAN                ADDRESS ON FILE
FRANCISCO FIGUEROA PIðERO               ADDRESS ON FILE
FRANCISCO FIGUEROA PIðERO               ADDRESS ON FILE
FRANCISCO FIGUEROA PINERO               ADDRESS ON FILE
FRANCISCO FIGUEROA PINERO               ADDRESS ON FILE
FRANCISCO FIGUEROA PINERO               ADDRESS ON FILE
FRANCISCO FIGUEROA TOLINCHE             ADDRESS ON FILE




                                                                                    Page 2975 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2976 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCISCO FONTANEZ QUINONES             ADDRESS ON FILE
FRANCISCO FONTANEZ RIVERA               ADDRESS ON FILE
FRANCISCO FRANCES, MIOSOTIS             ADDRESS ON FILE
FRANCISCO FRANCES, MIOSOTIS             ADDRESS ON FILE
FRANCISCO FRANCO GAUTIER                ADDRESS ON FILE
FRANCISCO FREIRIA ESCUDERO              ADDRESS ON FILE
FRANCISCO FRIAS PEREZ                   ADDRESS ON FILE
FRANCISCO FUENTES RIVERA                ADDRESS ON FILE
FRANCISCO FUENTES RIVERA                ADDRESS ON FILE
FRANCISCO FUENTES/ AZ ENERGY LLC        M 17 URB CERRO REAL                                                              GUAYNABO     PR      00969
FRANCISCO G ARTEGA MARTINEZ             ADDRESS ON FILE
FRANCISCO G COLON COLON                 ADDRESS ON FILE
FRANCISCO G GARCIA RIVERA               ADDRESS ON FILE
FRANCISCO G JIMENEZ ADORNO              ADDRESS ON FILE
FRANCISCO G PADRO PEREZ                 ADDRESS ON FILE
FRANCISCO G PADRO PEREZ                 ADDRESS ON FILE
FRANCISCO G RIVERA CRUZ                 ADDRESS ON FILE
FRANCISCO G VAZQUEZ FONTANEZ            ADDRESS ON FILE
FRANCISCO GALAN RIVERA                  ADDRESS ON FILE
FRANCISCO GARCIA ALONSO                 ADDRESS ON FILE
FRANCISCO GARCIA COLON                  ADDRESS ON FILE
FRANCISCO GARCIA FEBRES                 ADDRESS ON FILE
FRANCISCO GARCIA KREIDLER               ADDRESS ON FILE
FRANCISCO GARCIA NUNEZ                  ADDRESS ON FILE
FRANCISCO GARCIA NUNEZ                  ADDRESS ON FILE
FRANCISCO GARCIA ROSADO                 ADDRESS ON FILE
FRANCISCO GARCIA, ZULMARIS              ADDRESS ON FILE
FRANCISCO GERARDO AYALA ALVAREZ         ADDRESS ON FILE
FRANCISCO GOMEZ HERNANDEZ               ADDRESS ON FILE
Francisco Gómez Pagan                   ADDRESS ON FILE
FRANCISCO GOMEZ PAULINO                 ADDRESS ON FILE
FRANCISCO GOMEZ RIVERA                  ADDRESS ON FILE
FRANCISCO GONZALEZ                      ADDRESS ON FILE
FRANCISCO GONZALEZ BENITEZ              ADDRESS ON FILE
FRANCISCO GONZALEZ GONZALEZ             ADDRESS ON FILE
FRANCISCO GONZALEZ IBARRA               ADDRESS ON FILE
FRANCISCO GONZALEZ MALAVE               ADDRESS ON FILE
FRANCISCO GONZALEZ MARRERO              ADDRESS ON FILE
FRANCISCO GONZALEZ MEDINA               ADDRESS ON FILE
FRANCISCO GONZALEZ MORALES              ADDRESS ON FILE
FRANCISCO GONZALEZ NEVAREZ              ADDRESS ON FILE
FRANCISCO GONZALEZ PEREZ                ADDRESS ON FILE
FRANCISCO GONZALEZ QUINONES             ADDRESS ON FILE
FRANCISCO GONZALEZ ROCHE                ADDRESS ON FILE
FRANCISCO GONZALEZ RODRIGUEZ            ADDRESS ON FILE
FRANCISCO GONZALEZ RODRIGUEZ            ADDRESS ON FILE
FRANCISCO GONZALEZ ROSADO               ADDRESS ON FILE
FRANCISCO GONZALEZ SANCHEZ              ADDRESS ON FILE
FRANCISCO GONZALEZ Y PURA ALDREY GONZALEADDRESS ON FILE
FRANCISCO GOYTIA MORALES                ADDRESS ON FILE
FRANCISCO GRANADO MORALES               ADDRESS ON FILE
FRANCISCO GRILLO GONZALEZ               ADDRESS ON FILE
FRANCISCO GUADALUPE ARROYO              ADDRESS ON FILE
FRANCISCO GUERRA SANTIAGO               ADDRESS ON FILE
FRANCISCO GUTIERREZ                     ADDRESS ON FILE
FRANCISCO GUTIERREZ                     ADDRESS ON FILE
FRANCISCO GUTIERREZ JIMENEZ             ADDRESS ON FILE
FRANCISCO GUTIERREZ MONTANEZ            ADDRESS ON FILE
FRANCISCO GUTIERREZ RIVERA              ADDRESS ON FILE
FRANCISCO GUZMAN HERNANDEZ              ADDRESS ON FILE




                                                                                    Page 2976 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2977 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCISCO HERMINIO FUSTER ARROYO   ADDRESS ON FILE
FRANCISCO HERNANDEZ                ADDRESS ON FILE
FRANCISCO HERNANDEZ FALCON         ADDRESS ON FILE
FRANCISCO HERRERO ROVIRA           ADDRESS ON FILE
FRANCISCO HUERTAS RIVERA           ADDRESS ON FILE
FRANCISCO HUERTAS RIVERA           ADDRESS ON FILE
FRANCISCO HUERTAS RIVERA           ADDRESS ON FILE
FRANCISCO I AVILES MORRIS          ADDRESS ON FILE
FRANCISCO I BERMUDEZ ZENON         ADDRESS ON FILE
FRANCISCO I DE LEON                ADDRESS ON FILE
FRANCISCO I IRRIZARRY MEJIAS       ADDRESS ON FILE
FRANCISCO I LACOMBA ROMAN          ADDRESS ON FILE
FRANCISCO I ROSADO DURAN           ADDRESS ON FILE
FRANCISCO I VALENTIN RODRIGUEZ     ADDRESS ON FILE
FRANCISCO I VILARINO RODRIGUEZ     ADDRESS ON FILE
FRANCISCO IRIZARRY DIAZ            ADDRESS ON FILE
FRANCISCO IRON WORKS Y/O           URB REXVILLE              B1‐5 CALLE 35                                          BAYAMON      PR      00957
FRANCISCO IV RIOS VEGA             ADDRESS ON FILE
FRANCISCO IVAN PRADA               ADDRESS ON FILE
FRANCISCO J ADAMES RAMOS           ADDRESS ON FILE
FRANCISCO J AGUILA NUNEZ           ADDRESS ON FILE
FRANCISCO J ALICEA CRESPO          ADDRESS ON FILE
FRANCISCO J ALVAREZ GABRIEL        ADDRESS ON FILE
FRANCISCO J AMIEIRO                ADDRESS ON FILE
FRANCISCO J APONTE TORRES          ADDRESS ON FILE
FRANCISCO J ARMSTRONG TORRES       ADDRESS ON FILE
FRANCISCO J AVILES APONTE          ADDRESS ON FILE
FRANCISCO J AYALA BARCELO          ADDRESS ON FILE
FRANCISCO J AYALA BARCELO          ADDRESS ON FILE
FRANCISCO J BARBOSA ALVAREZ        ADDRESS ON FILE
FRANCISCO J BATISTA FRATICELLI     ADDRESS ON FILE
FRANCISCO J BENITEZ COTTO          ADDRESS ON FILE
FRANCISCO J BIAGGI LANDRON         ADDRESS ON FILE
FRANCISCO J BONILLA PADIN          ADDRESS ON FILE
FRANCISCO J BOTIFOLL MERENTES      ADDRESS ON FILE
FRANCISCO J BURGOS HERNANDEZ       ADDRESS ON FILE
FRANCISCO J CARDONA MARTINO        ADDRESS ON FILE
FRANCISCO J CASALDUC               ADDRESS ON FILE
FRANCISCO J CASALDUC DELGADO       ADDRESS ON FILE
FRANCISCO J CASTANER PADRO         ADDRESS ON FILE
FRANCISCO J CINTRON CASADO         ADDRESS ON FILE
FRANCISCO J COLLAZO MELENDEZ       ADDRESS ON FILE
FRANCISCO J COLON BERRIOS          ADDRESS ON FILE
FRANCISCO J COLON FERRER           ADDRESS ON FILE
FRANCISCO J COLON GARCIA           ADDRESS ON FILE
FRANCISCO J CORA CASADO            ADDRESS ON FILE
FRANCISCO J CRESPO QUINONES        ADDRESS ON FILE
FRANCISCO J CRESPO QUINONES        ADDRESS ON FILE
FRANCISCO J CRUZ GONZALEZ          ADDRESS ON FILE
FRANCISCO J CRUZADO CARRION        ADDRESS ON FILE
FRANCISCO J DE JESUS               ADDRESS ON FILE
FRANCISCO J DE JESUS GUZMAN        ADDRESS ON FILE
FRANCISCO J DEL OLMO ARROYO        ADDRESS ON FILE
FRANCISCO J DELGADO LA LUZ         ADDRESS ON FILE
FRANCISCO J DIAZ CORTIJO           ADDRESS ON FILE
FRANCISCO J DIAZ DIAZ              ADDRESS ON FILE
FRANCISCO J DIAZ RIVERA            ADDRESS ON FILE
FRANCISCO J DOELTER BAEZ           ADDRESS ON FILE
FRANCISCO J FRANCO MOJICA          ADDRESS ON FILE
FRANCISCO J GARCIA RODRIGUEZ       ADDRESS ON FILE




                                                                               Page 2977 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2978 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCISCO J GIERBOLINI BERMUDEZ          ADDRESS ON FILE
FRANCISCO J GONZALEZ MAGAS               ADDRESS ON FILE
FRANCISCO J GONZALEZ MAGAZ               ADDRESS ON FILE
FRANCISCO J GONZALEZ MUNIZ               ADDRESS ON FILE
FRANCISCO J GONZALEZ RIOS                ADDRESS ON FILE
FRANCISCO J GONZALEZ TORRES              ADDRESS ON FILE
FRANCISCO J GRAJALES FERNANDEZ           ADDRESS ON FILE
FRANCISCO J GRAU VELAZQUEZ               ADDRESS ON FILE
FRANCISCO J GUZMAN AYALA                 ADDRESS ON FILE
FRANCISCO J GUZMAN FALCON                ADDRESS ON FILE
FRANCISCO J GUZMAN RIVERA                ADDRESS ON FILE
FRANCISCO J HERNANDEZ / NOELIA HERNANDEZ ADDRESS ON FILE
FRANCISCO J HERNANDEZ CRUZ               ADDRESS ON FILE
FRANCISCO J IGLESIAS SEVILLANO           ADDRESS ON FILE
FRANCISCO J JIMENEZ ALVAREZ              ADDRESS ON FILE
FRANCISCO J JORGE NEGRON                 ADDRESS ON FILE
FRANCISCO J LEBRON DE ALBA               ADDRESS ON FILE
FRANCISCO J LOPEZ DUENO                  ADDRESS ON FILE
FRANCISCO J LOPEZ RIVERA                 ADDRESS ON FILE
FRANCISCO J LOPEZ RODRIGUEZ              ADDRESS ON FILE
FRANCISCO J LOPEZ VINCENTY               ADDRESS ON FILE
FRANCISCO J LUGO RIVERA                  ADDRESS ON FILE
FRANCISCO J LUNA CRUZ                    ADDRESS ON FILE
FRANCISCO J MALDONADO MORALES            ADDRESS ON FILE
FRANCISCO J MARRERO RODRIGUEZ            ADDRESS ON FILE
FRANCISCO J MARTINEZ CRESPO              ADDRESS ON FILE
FRANCISCO J MARTINEZ OTERO               ADDRESS ON FILE
FRANCISCO J MATIAS RAMOS                 ADDRESS ON FILE
FRANCISCO J MATOS                        ADDRESS ON FILE
FRANCISCO J MEDINA CARDONA               ADDRESS ON FILE
FRANCISCO J MELENDEZ BARRERA             ADDRESS ON FILE
FRANCISCO J MELENDEZ QUINONES            ADDRESS ON FILE
FRANCISCO J MENDEZ RIVERA                ADDRESS ON FILE
FRANCISCO J MENENDEZ CAMPOS              ADDRESS ON FILE
FRANCISCO J MERCADO TORRES               ADDRESS ON FILE
FRANCISCO J MERCED HERNANDEZ             ADDRESS ON FILE
FRANCISCO J MIRANDA DEL VALLE            ADDRESS ON FILE
FRANCISCO J MONSERRATE RODRIGUEZ         ADDRESS ON FILE
FRANCISCO J MORALES SANTIAGO             ADDRESS ON FILE
FRANCISCO J MORGANTI HERNANDEZ           ADDRESS ON FILE
FRANCISCO J MUJICA DE LEON               ADDRESS ON FILE
FRANCISCO J NOGUE RUIZ                   ADDRESS ON FILE
FRANCISCO J OLIVERA MAGRANER             ADDRESS ON FILE
FRANCISCO J ORTIZ                        ADDRESS ON FILE
FRANCISCO J ORTIZ BERRIOS                ADDRESS ON FILE
FRANCISCO J ORTIZ BONILLA                ADDRESS ON FILE
FRANCISCO J ORTIZ ESTRADA                ADDRESS ON FILE
FRANCISCO J ORTIZ GARCIA                 ADDRESS ON FILE
FRANCISCO J ORTIZ MELENDEZ               ADDRESS ON FILE
FRANCISCO J PADILLA SERPA                ADDRESS ON FILE
FRANCISCO J PAGAN PAGAN                  ADDRESS ON FILE
FRANCISCO J PEGUERO                      ADDRESS ON FILE
FRANCISCO J PEREZ FONSECA                ADDRESS ON FILE
FRANCISCO J PEREZ GIL                    ADDRESS ON FILE
FRANCISCO J PEREZ MEDINA                 ADDRESS ON FILE
FRANCISCO J PEREZ NEUMAN                 ADDRESS ON FILE
FRANCISCO J PEREZ RIVERA                 ADDRESS ON FILE
FRANCISCO J PEREZ VEGA                   ADDRESS ON FILE
FRANCISCO J PORTALATIN MATOS             ADDRESS ON FILE
FRANCISCO J PUMAREJO GARCIA              ADDRESS ON FILE




                                                                                     Page 2978 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 2979 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCISCO J QUI¥ONEZ RIERA                ADDRESS ON FILE
FRANCISCO J QUINTANA                      ADDRESS ON FILE
FRANCISCO J RAMOS & ASOCIADOS C S P       PO BOX 191993                                                                    SAN JUAN     PR      00919
FRANCISCO J RAMOS CORERO                  ADDRESS ON FILE
FRANCISCO J RAMOS NIEVES                  ADDRESS ON FILE
FRANCISCO J RAMOS ORTIZ                   ADDRESS ON FILE
FRANCISCO J RAMOS ORTIZ                   ADDRESS ON FILE
FRANCISCO J RAMOS VELAZQUEZ               ADDRESS ON FILE
FRANCISCO J REYES                         ADDRESS ON FILE
FRANCISCO J REYES VALE                    ADDRESS ON FILE
FRANCISCO J RIOS OTERO                    ADDRESS ON FILE
FRANCISCO J RIVERA ALVAREZ                ADDRESS ON FILE
FRANCISCO J RIVERA BERRIOS                ADDRESS ON FILE
FRANCISCO J RIVERA DBA F.J. BUS SERVICE   PO BOX 1258                                                                      AIBONITO     PR      00705
FRANCISCO J RIVERA DELGADO                ADDRESS ON FILE
FRANCISCO J RIVERA FONTANET               ADDRESS ON FILE
FRANCISCO J RIVERA MATOS                  ADDRESS ON FILE
FRANCISCO J RIVERA MORALES                ADDRESS ON FILE
FRANCISCO J RIVERA NEGRON                 ADDRESS ON FILE
FRANCISCO J RIVERA PEREZ                  ADDRESS ON FILE
FRANCISCO J RIVERA SANTIAGO               ADDRESS ON FILE
FRANCISCO J RIVERA SERRANO                ADDRESS ON FILE
FRANCISCO J RIVERA VEGA                   ADDRESS ON FILE
FRANCISCO J RODRIGUEZ BONILLA             ADDRESS ON FILE
FRANCISCO J RODRIGUEZ CINTRON             ADDRESS ON FILE
FRANCISCO J RODRIGUEZ FLORES              ADDRESS ON FILE
FRANCISCO J RODRIGUEZ GONZALEZ            ADDRESS ON FILE
FRANCISCO J RODRIGUEZ HERNANDEZ           ADDRESS ON FILE
FRANCISCO J RODRIGUEZ MICHEL              ADDRESS ON FILE
FRANCISCO J RODRIGUEZ OLIVIERI            ADDRESS ON FILE
FRANCISCO J RODRIGUEZ RODRIGUEZ           ADDRESS ON FILE
FRANCISCO J RODRIGUEZ SANCHEZ             ADDRESS ON FILE
FRANCISCO J ROJAS PAGAN                   ADDRESS ON FILE
FRANCISCO J RULLAN CAPARROS               ADDRESS ON FILE
FRANCISCO J SALICHS                       ADDRESS ON FILE
FRANCISCO J SANCHEZ SANTIAGO              ADDRESS ON FILE
FRANCISCO J SANTIAGO SANJURJO             ADDRESS ON FILE
FRANCISCO J SENERIZ                       ADDRESS ON FILE
FRANCISCO J SERRANO ROMAN                 ADDRESS ON FILE
FRANCISCO J SOTO ALICEA                   ADDRESS ON FILE
FRANCISCO J SOTO ALICEA                   ADDRESS ON FILE
FRANCISCO J SOTO SANTIAGO                 ADDRESS ON FILE
FRANCISCO J TEVENAL CRESPO                ADDRESS ON FILE
FRANCISCO J TIMOTHEE VEGA                 ADDRESS ON FILE
FRANCISCO J TIRADO VEQUILLA               ADDRESS ON FILE
FRANCISCO J TOLEDO MENDEZ                 ADDRESS ON FILE
FRANCISCO J TORRES                        ADDRESS ON FILE
FRANCISCO J TORRES BORRERO                ADDRESS ON FILE
FRANCISCO J VALENTIN                      ADDRESS ON FILE
FRANCISCO J VALENTIN RODRIGUEZ            ADDRESS ON FILE
FRANCISCO J VARGAS LAGARES                ADDRESS ON FILE
FRANCISCO J VEGA CENTENO                  ADDRESS ON FILE
FRANCISCO J VELEZ LOZADA                  ADDRESS ON FILE
FRANCISCO J VELEZ RAMOS                   ADDRESS ON FILE
FRANCISCO J VELEZ ROBLES                  ADDRESS ON FILE
FRANCISCO J VERA GONZALEZ                 ADDRESS ON FILE
FRANCISCO J VERA GONZALEZ                 ADDRESS ON FILE
FRANCISCO J VERGES HERNANDEZ              ADDRESS ON FILE
FRANCISCO J VIERA TIRADO                  ADDRESS ON FILE
FRANCISCO J VILLAFANE                     ADDRESS ON FILE




                                                                                      Page 2979 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2980 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                             Address1                        Address2                          Address3   Address4   City          State   PostalCode   Country
FRANCISCO J VILLAFANE GARCIA              ADDRESS ON FILE
FRANCISCO J VIZCARRONDO TORRES            ADDRESS ON FILE
FRANCISCO J. CASTRO OLIVERAS              ADDRESS ON FILE
FRANCISCO J. COLON COLLAZO                ADDRESS ON FILE
FRANCISCO J. CRESPO QUINONES              ADDRESS ON FILE
FRANCISCO J. DIAZ COLON                   ADDRESS ON FILE
FRANCISCO J. DIAZ CORTIJO                 ADDRESS ON FILE
FRANCISCO J. ESCOTO GARCIA                ADDRESS ON FILE
FRANCISCO J. GOMEZ                        ADDRESS ON FILE
FRANCISCO J. MARTINEZ CRESPO              ADDRESS ON FILE
Francisco J. Morales Santiago             ADDRESS ON FILE
FRANCISCO J. PLAZA ORTIZ                  ADDRESS ON FILE
FRANCISCO J. RIVERA TORRES                ADDRESS ON FILE
FRANCISCO J. SOTO ALICEA                  ADDRESS ON FILE
FRANCISCO JANNIEL ROSARIO CARRAQUILLO     ADDRESS ON FILE
FRANCISCO JAVIER BONILLA GONZALEZ         ADDRESS ON FILE
FRANCISCO JAVIER GONZALEZ PARES           ADDRESS ON FILE
FRANCISCO JAVIER HERNANDEZ MENDEZ         ADDRESS ON FILE
FRANCISCO JAVIER LUPIANEZ VELEZ           ADDRESS ON FILE
FRANCISCO JAVIER MARRERO MARTINEZ         ADDRESS ON FILE
FRANCISCO JAVIER MARTINEZ RODRIGUEZ       ADDRESS ON FILE
FRANCISCO JAVIER PARGA MIRANDA            ADDRESS ON FILE
FRANCISCO JAVIER PARGA MIRANDA            ADDRESS ON FILE
FRANCISCO JAVIER TORRES COLON             ADDRESS ON FILE
FRANCISCO JEREMIAS DELGADO                ADDRESS ON FILE
FRANCISCO JIMENEZ BONILLA                 ADDRESS ON FILE
FRANCISCO JIMENEZ MONTEMAR                ADDRESS ON FILE
FRANCISCO JIMENEZ ROSADO                  ADDRESS ON FILE
FRANCISCO JOGLAR PESQUERA                 ADDRESS ON FILE
FRANCISCO JORGE MONTALVO                  ADDRESS ON FILE
FRANCISCO JOSE DE JESUS CRUZ              ADDRESS ON FILE
FRANCISCO JOSE DEL OLMO ARROYO            ADDRESS ON FILE
FRANCISCO JOSE MARTIN CASO                ADDRESS ON FILE
FRANCISCO JOSE RODRIGUEZ MICHEL           ADDRESS ON FILE
FRANCISCO JOUBERT CANALES                 ADDRESS ON FILE
FRANCISCO L ACEVEDO NOGUERAS              ADDRESS ON FILE
FRANCISCO L ACEVEDO NOGUERAS              ADDRESS ON FILE
FRANCISCO L BONET TORRES                  ADDRESS ON FILE
FRANCISCO L MARTINEZ SANCHEZ              ADDRESS ON FILE
FRANCISCO L PEREZ                         ADDRESS ON FILE
FRANCISCO L RIVERA MENDEZ                 ADDRESS ON FILE
FRANCISCO L RIVERA TORRES                 ADDRESS ON FILE
FRANCISCO LA FONTAINE MONTERO             ADDRESS ON FILE
FRANCISCO LAFONTAINE COLON                ADDRESS ON FILE
FRANCISCO LAFONTAINE INTERNAL MEDICINE, C EST DE TORTUGUERO               415 CALLE TULANE                                        VEGA BAJA     PR      00693‐3643
FRANCISCO LAGUER MARTINEZ                 ADDRESS ON FILE
FRANCISCO LAPORTE MONTANEZ                ADDRESS ON FILE
FRANCISCO LEBRON DIAZ                     ADDRESS ON FILE
FRANCISCO LEDESMA JIMENEZ                 ADDRESS ON FILE
FRANCISCO LEON CUMBA                      ADDRESS ON FILE
FRANCISCO LEON CUMBA                      ADDRESS ON FILE
FRANCISCO LIZARDI MONTA¥EZ                ADDRESS ON FILE
FRANCISCO LOPEZ DIAZ                      ADDRESS ON FILE
FRANCISCO LOPEZ LLERA                     ADDRESS ON FILE
FRANCISCO LOPEZ MARTÍNEZ                  LCDA. NORANA SANCHEZ ALVARADO   HC‐01 BOX 6187                                          CABO ROJO     PR      00623
FRANCISCO LOPEZ MEDINA                    ADDRESS ON FILE
FRANCISCO LOPEZ MENDOZA                   ADDRESS ON FILE
FRANCISCO LOPEZ QUINONES                  ADDRESS ON FILE
FRANCISCO LOPEZ ROSA                      ADDRESS ON FILE
FRANCISCO LOPEZ TORRES                    ADDRESS ON FILE




                                                                                             Page 2980 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2981 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                         Address2                              Address3         Address4   City         State   PostalCode   Country
FRANCISCO LORENZO LORENZO               ADDRESS ON FILE
FRANCISCO LORENZO ORAMA                 ADDRESS ON FILE
FRANCISCO LOZADA MERCED                 ADDRESS ON FILE
Francisco Lozada Vazquez                ADDRESS ON FILE
FRANCISCO LUGO LUNA                     ADDRESS ON FILE
FRANCISCO LUNA SANCHEZ                  ADDRESS ON FILE
FRANCISCO M ALVARADO EMANUELLI          ADDRESS ON FILE
FRANCISCO M BEAUCHAMP SANCHEZ           ADDRESS ON FILE
FRANCISCO M FRIAS Y CARMEN M LOPEZ      ADDRESS ON FILE
FRANCISCO M LOPEZ CORTES                ADDRESS ON FILE
FRANCISCO M LOPEZ GONZALEZ/ECO ENERGY AGMONTEHIDRA                       225 TURPIAL                                                       SAN JUAN     PR      00926
FRANCISCO M LOPEZ ROMO                  ADDRESS ON FILE
FRANCISCO M LOPEZ ROMO                  ADDRESS ON FILE
FRANCISCO M NEGRON SANTIAGO             ADDRESS ON FILE
FRANCISCO M ORTIZ DE ALBA               ADDRESS ON FILE
FRANCISCO M RAMIREZ RIVERA              ADDRESS ON FILE
FRANCISCO M ROSA MARRERO                ADDRESS ON FILE
FRANCISCO M SCALLEY BIRD                ADDRESS ON FILE
FRANCISCO M. RIOS BACO                  MARÍA DE LOURDES GUZMÁN          AVE. HOSTOS #573                      URB. BALDRICH,              HATO REY     PR      00918
FRANCISCO M. RIOS BACO                  WILFREDO RODRIGUEZ ADORNO        PO BOX 360924                                                     SAN JUAN     PR      00936‐0924
FRANCISCO M. ROMERO CRUZ                ADDRESS ON FILE
FRANCISCO MALDONADO BRAVO               ADDRESS ON FILE
FRANCISCO MALDONADO FRONTERA            ADDRESS ON FILE
FRANCISCO MALDONADO PEREZ               ADDRESS ON FILE
FRANCISCO MALDONADO VILLANUEVA          ADDRESS ON FILE
FRANCISCO MARI VARGAS                   ADDRESS ON FILE
FRANCISCO MARIN CRUZ                    ADDRESS ON FILE
FRANCISCO MARQUEZ LOZADA                ADDRESS ON FILE
FRANCISCO MARRERO MOTTA                 ADDRESS ON FILE
FRANCISCO MARTÍNEZ ÁLVAREZ              SR. FRANCISCO MARTÍNEZ ÁLVAREZ   300 COND. EL MILENIO                  CALLE 220        APT. 904   CAROLINA     PR      00982
FRANCISCO MARTINEZ AVILES               ADDRESS ON FILE
FRANCISCO MARTINEZ CONTRERAS            ADDRESS ON FILE
FRANCISCO MARTINEZ LUGO                 ADDRESS ON FILE
FRANCISCO MARTINEZ MARRERO              ADDRESS ON FILE
FRANCISCO MARTINEZ MARRERO              ADDRESS ON FILE
FRANCISCO MARTINEZ MARTINEZ             ADDRESS ON FILE
FRANCISCO MARTINEZ MARTINEZ             ADDRESS ON FILE
FRANCISCO MARTINEZ MARTINEZ             ADDRESS ON FILE
FRANCISCO MARTINEZ MARTINEZ             ADDRESS ON FILE
FRANCISCO MARTINEZ MENDOZA              ADDRESS ON FILE
FRANCISCO MARTINEZ MERCADO              ADDRESS ON FILE
FRANCISCO MARTINEZ ORTIZ                ADDRESS ON FILE
FRANCISCO MARTINEZ PANETO               ADDRESS ON FILE
FRANCISCO MARTINEZ RIVERA               ADDRESS ON FILE
FRANCISCO MARTINEZ ROSADO               ADDRESS ON FILE
FRANCISCO MARTINEZ, LINDA C             ADDRESS ON FILE
FRANCISCO MARTORELL NIEVES              ADDRESS ON FILE
FRANCISCO MATIAS ALVAREZ                ADDRESS ON FILE
FRANCISCO MATOS FERNANDEZ               ADDRESS ON FILE
FRANCISCO MATOS VAZQUEZ                 ADDRESS ON FILE
FRANCISCO MEDERO FERNANDEZ              ADDRESS ON FILE
FRANCISCO MEJIAS RODRIGUEZ              ADDRESS ON FILE
FRANCISCO MELENDEZ MERLY                ADDRESS ON FILE
FRANCISCO MELENDEZ RODRIGUEZ            ADDRESS ON FILE
FRANCISCO MELENDEZ VILLEGAS             ADDRESS ON FILE
FRANCISCO MENDEZ RIVERA                 ADDRESS ON FILE
FRANCISCO MENDOZA PEREZ                 ADDRESS ON FILE
FRANCISCO MERCADO CASIANO               ADDRESS ON FILE
FRANCISCO MERCADO MENDEZ                ADDRESS ON FILE
FRANCISCO MERCADO MENDEZ                ADDRESS ON FILE




                                                                                                Page 2981 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2982 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3      Address4   City         State   PostalCode   Country
FRANCISCO MERCADO NIEVES              ADDRESS ON FILE
FRANCISCO MERCADO RODRIGUEZ           ADDRESS ON FILE
FRANCISCO MERCED GONZALEZ             ADDRESS ON FILE
Francisco Miranda Manzano             ADDRESS ON FILE
FRANCISCO MIRANDA ORTIZ               ADDRESS ON FILE
FRANCISCO MIRANDA ROSADO              ADDRESS ON FILE
FRANCISCO MIRANDA SANCHEZ             ADDRESS ON FILE
FRANCISCO MIRANDA VALLES              ADDRESS ON FILE
FRANCISCO MIRANDA VITALI              ADDRESS ON FILE
FRANCISCO MOJICA NUNEZ                ADDRESS ON FILE
FRANCISCO MOLINA GARCIA               ADDRESS ON FILE
FRANCISCO MOLINA GARCIA               ADDRESS ON FILE
FRANCISCO MONTALVO DUMONT             ADDRESS ON FILE
FRANCISCO MONTALVO Y/O NILDA PEREZ    ADDRESS ON FILE
FRANCISCO MONTANEZ HERNANDEZ          ADDRESS ON FILE
FRANCISCO MONTANEZ HERNANDEZ          ADDRESS ON FILE
FRANCISCO MONTANEZ MATOS              ADDRESS ON FILE
FRANCISCO MONTES RIVERA               ADDRESS ON FILE
FRANCISCO MORALES ACEVEDO             ADDRESS ON FILE
FRANCISCO MORALES BURGOS              ADDRESS ON FILE
FRANCISCO MORALES CANDELARIA          ADDRESS ON FILE
FRANCISCO MORALES GONZALEZ / EDISON   ENERGY ENGINEERING        URB EL ALAMO                     B6 VERACRUZ              GUAYNABO     PR      00969
FRANCISCO MORALES TORRES              ADDRESS ON FILE
FRANCISCO MORENO COLON                ADDRESS ON FILE
FRANCISCO MOYETT MERCEDES             ADDRESS ON FILE
FRANCISCO MUNIZ MARTINEZ              ADDRESS ON FILE
FRANCISCO MUNOZ                       ADDRESS ON FILE
FRANCISCO MUNOZ FELICIANO             ADDRESS ON FILE
FRANCISCO NARVAEZ RIVERA              ADDRESS ON FILE
FRANCISCO NAVARRO BAEZ                ADDRESS ON FILE
FRANCISCO NAVARRO BAEZ                ADDRESS ON FILE
FRANCISCO NEGRON FERNANDEZ            ADDRESS ON FILE
FRANCISCO NEGRON MUNOZ                ADDRESS ON FILE
FRANCISCO NIEVES RIVERA               ADDRESS ON FILE
FRANCISCO NIEVES ROBLES               ADDRESS ON FILE
FRANCISCO NIEVES TORRES               ADDRESS ON FILE
FRANCISCO NIEVES VALLE                ADDRESS ON FILE
FRANCISCO NOBLE GARCIA                ADDRESS ON FILE
FRANCISCO NORIEGA COLON               ADDRESS ON FILE
FRANCISCO O ALVAREZ CANALES           ADDRESS ON FILE
FRANCISCO O CABRERA GUERRIDO          ADDRESS ON FILE
FRANCISCO O CASTRO HERNANDEZ          ADDRESS ON FILE
FRANCISCO O RUIZ HERNANDEZ            ADDRESS ON FILE
FRANCISCO O. ORTIZ CABRERA            ADDRESS ON FILE
FRANCISCO OCASIO FIGUEROA             ADDRESS ON FILE
FRANCISCO OCASIO ORTIZ                ADDRESS ON FILE
FRANCISCO OLMO ESCOBAR                ADDRESS ON FILE
FRANCISCO OLMO VELEZ                  ADDRESS ON FILE
FRANCISCO OQUENDO CALDERAS            ADDRESS ON FILE
FRANCISCO ORAMAS RUIZ                 ADDRESS ON FILE
FRANCISCO ORTIZ DEL VALLE             ADDRESS ON FILE
FRANCISCO ORTIZ DEL VALLE             ADDRESS ON FILE
FRANCISCO ORTIZ FEBUS                 ADDRESS ON FILE
FRANCISCO ORTIZ FLORES                ADDRESS ON FILE
FRANCISCO ORTIZ HERNANDEZ             ADDRESS ON FILE
FRANCISCO ORTIZ JUSTINIANO            ADDRESS ON FILE
FRANCISCO ORTIZ MARCANO               ADDRESS ON FILE
FRANCISCO ORTIZ MORALES               ADDRESS ON FILE
FRANCISCO ORTIZ POLANCO               ADDRESS ON FILE
FRANCISCO ORTIZ RODRIGUEZ             ADDRESS ON FILE




                                                                                  Page 2982 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 2983 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                            Address1                            Address2                                     Address3    Address4   City         State   PostalCode   Country
FRANCISCO ORTIZ ROMAN                    ADDRESS ON FILE
FRANCISCO ORTIZ ROSADO                   ADDRESS ON FILE
FRANCISCO ORTIZ ROSARIO                  ADDRESS ON FILE
FRANCISCO ORTIZ SANTINI                  ADDRESS ON FILE
FRANCISCO ORTIZ TRUCKING INC             PO BOX 352                                                                                              SALINAS      PR      00751‐0352
FRANCISCO ORTIZ, DIXON M                 ADDRESS ON FILE
FRANCISCO OTERO LOPEZ                    ADDRESS ON FILE
FRANCISCO OTERO TAVAREZ DBA MI COCINA    61 CALLE JOSE DE DIEGO                                                                                  CIALES       PR      00638
FRANCISCO P GONZALEZ PAGAN               ADDRESS ON FILE
FRANCISCO P GONZALEZ PAGAN               ADDRESS ON FILE
FRANCISCO PACHECO Y MARIA ALVAREZ        ADDRESS ON FILE
FRANCISCO PADILLA HERNANDEZ              ADDRESS ON FILE
FRANCISCO PADRON VELEZ                   ADDRESS ON FILE
FRANCISCO PAGAN DOMENA                   ADDRESS ON FILE
FRANCISCO PAGAN RODRIGUEZ                ADDRESS ON FILE
FRANCISCO PAREDES LUCIANO                ADDRESS ON FILE
FRANCISCO PASCACIO MENDEZ                ADDRESS ON FILE
FRANCISCO PAZ VILARINO                   ADDRESS ON FILE
FRANCISCO PEGUERO, CAMILLE               ADDRESS ON FILE
FRANCISCO PEGUERO, XAVIER                ADDRESS ON FILE
FRANCISCO PELLICIER DE JESUS             ADDRESS ON FILE
FRANCISCO PENA BAEZ                      ADDRESS ON FILE
FRANCISCO PENA CRUZ                      ADDRESS ON FILE
FRANCISCO PENA LOPEZ                     ADDRESS ON FILE
FRANCISCO PENA MENDEZ                    ADDRESS ON FILE
FRANCISCO PENA VAZQUEZ                   ADDRESS ON FILE
FRANCISCO PERALTA, RAMON A.              ADDRESS ON FILE
FRANCISCO PEREIRA RUIZ V DEPARTAMENTO DE LCDO. FRANCISCO J. GONZALEZ MAGAZ   1519 Ponce DE LEÓN                           SUITE 805              SAN JUAN     PR      00909
FRANCISCO PEREYO DIAZ                    ADDRESS ON FILE
FRANCISCO PEREZ                          ADDRESS ON FILE
FRANCISCO PEREZ BLAIR                    ADDRESS ON FILE
FRANCISCO PEREZ GONZALEZ                 ADDRESS ON FILE
FRANCISCO PEREZ MEDINA                   ADDRESS ON FILE
FRANCISCO PEREZ NIEVES                   ADDRESS ON FILE
FRANCISCO PEREZ PASTRANA                 ADDRESS ON FILE
FRANCISCO PEREZ POLANCO                  LCDO. RICARDO PRIETO GARCIA         6 CALLE CELIS AGUILERA SUITE 201‐A                                  FAJARDO      PR      00738
FRANCISCO PEREZ RAMOS                    ADDRESS ON FILE
FRANCISCO PEREZ RIVERA                   ADDRESS ON FILE
FRANCISCO PEREZ RIVERA                   ADDRESS ON FILE
FRANCISCO PEREZ VARELA                   ADDRESS ON FILE
FRANCISCO PEREZ VELAZQUEZ                ADDRESS ON FILE
FRANCISCO PEREZ VELAZQUEZ                ADDRESS ON FILE
FRANCISCO PEREZ VELAZQUEZ                ADDRESS ON FILE
FRANCISCO PEREZ VELAZQUEZ                ADDRESS ON FILE
FRANCISCO PICHARDO HENRIQUEZ             ADDRESS ON FILE
FRANCISCO PIZARRO MELENDEZ               ADDRESS ON FILE
FRANCISCO PORTILLA GONZALEZ              ADDRESS ON FILE
FRANCISCO PUJOL LAW OFFICE PSC           COND PLAZA ATLANTICO                APT 1101                                                            CAROLINA     PR      00979
FRANCISCO PUJOL LAW OFFICE PSC           CONDOMINIO PLAZA ATLANTICO          APT 1101                                                            CAROLINA     PR      00979
FRANCISCO QUIÐONES CARABALLO             ADDRESS ON FILE
FRANCISCO QUINONES CARABALLO             ADDRESS ON FILE
FRANCISCO QUINONES MAISONET              ADDRESS ON FILE
FRANCISCO QUINONES OCASIO                ADDRESS ON FILE
FRANCISCO QUINONES ORTIZ                 ADDRESS ON FILE
FRANCISCO QUINONES SISCO                 ADDRESS ON FILE
FRANCISCO QUINONEZ GONZALEZ              ADDRESS ON FILE
FRANCISCO QUINTANA LOPEZ                 ADDRESS ON FILE
FRANCISCO R AGUAYO COLON                 ADDRESS ON FILE
FRANCISCO R ARENAS RODRIGUEZ             ADDRESS ON FILE
FRANCISCO R BAERGA VAZQUEZ               ADDRESS ON FILE




                                                                                                           Page 2983 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2984 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                        Address1                         Address2                                     Address3   Address4   City             State   PostalCode   Country
FRANCISCO R CINTRON TORRES           ADDRESS ON FILE
FRANCISCO R GONZALEZ COLON           ADDRESS ON FILE
FRANCISCO R GONZALEZ COLON           ADDRESS ON FILE
FRANCISCO R HERNANDEZ MORALES        ADDRESS ON FILE
FRANCISCO R HERNANDEZ ROSARIO        ADDRESS ON FILE
FRANCISCO R KLEIN MOYA               ADDRESS ON FILE
FRANCISCO R LABORDE GONZALEZ         ADDRESS ON FILE
FRANCISCO R MEDINA MALDONADO         ADDRESS ON FILE
FRANCISCO R MORENO JIMENEZ           ADDRESS ON FILE
FRANCISCO R ORTIZ BELLO              ADDRESS ON FILE
FRANCISCO R PINEIRO LOPEZ            ADDRESS ON FILE
FRANCISCO R. ARENAS RODRIGUEZ        ADDRESS ON FILE
FRANCISCO RADINSON CARABALLO         ADDRESS ON FILE
FRANCISCO RADINSON PEREZ             ADDRESS ON FILE
FRANCISCO RAMIREZ RIOS               ADDRESS ON FILE
FRANCISCO RAMIREZ SANTIAGO           ADDRESS ON FILE
FRANCISCO RAMOS CANCEL               LCDO. EDWIN RIVERA CINTRON       UGT PO BOX 29247 ESTACIÓN 65 DE INFANTERIA                         SAN JUAN         PR      00929
FRANCISCO RAMOS GALARZA              ADDRESS ON FILE
FRANCISCO RAMOS LAUREANO             ADDRESS ON FILE
FRANCISCO RAMOS PEREZ                ADDRESS ON FILE
FRANCISCO RAMOS TORRES               ADDRESS ON FILE
FRANCISCO RENE MORALES CRUZ          ADDRESS ON FILE
FRANCISCO RESTO / LITZA T OCASIO     URB MIRAFLORES                   38‐5 CALLE 49                                                      BAYAMON          PR      00957‐3803
FRANCISCO RESTO FLORES               ADDRESS ON FILE
FRANCISCO REYES ALICEA               ADDRESS ON FILE
FRANCISCO REYES CRUZ                 ADDRESS ON FILE
FRANCISCO REYES GOMEZ                ADDRESS ON FILE
FRANCISCO REYES HERNANDEZ            ADDRESS ON FILE
FRANCISCO REYES SANCHEZ              ADDRESS ON FILE
FRANCISCO REYES VALDES               ADDRESS ON FILE
FRANCISCO REYES, CLARA               ADDRESS ON FILE
FRANCISCO REYES, CLARA               ADDRESS ON FILE
FRANCISCO REYNOSO SOTELO             ADDRESS ON FILE
FRANCISCO RIVERA                     ADDRESS ON FILE
FRANCISCO RIVERA                     ADDRESS ON FILE
FRANCISCO RIVERA AQUINO              ADDRESS ON FILE
FRANCISCO RIVERA CRUZ                ADDRESS ON FILE
FRANCISCO RIVERA DE JESUS            ADDRESS ON FILE
FRANCISCO RIVERA ESTRADA             ADDRESS ON FILE
FRANCISCO RIVERA ESTRADA             LCDO. JUAN CORREA RODRIGUEZ      PO BOX 64                                                          AGUAS BUENAS     PR      00703
FRANCISCO RIVERA FIGUEROA            ADDRESS ON FILE
FRANCISCO RIVERA FIGUEROA INC        URB MERCEDITA                    41 CALLE COMERCIO                                                  PONCE            PR      00730‐5106
FRANCISCO RIVERA HERNANDEZ           ADDRESS ON FILE
FRANCISCO RIVERA HERNANDEZ Y OTROS   LCDO. GILBERTO RODRIGUEZ ZAYAS   PO BOX 2195                                                        GUAYAMA          PR      00785
FRANCISCO RIVERA LABRADOR            ADDRESS ON FILE
FRANCISCO RIVERA MAYOL               ADDRESS ON FILE
FRANCISCO RIVERA MERCADO             ADDRESS ON FILE
FRANCISCO RIVERA MONROIG             ADDRESS ON FILE
FRANCISCO RIVERA MUNIZ               ADDRESS ON FILE
FRANCISCO RIVERA ORTIZ               ADDRESS ON FILE
FRANCISCO RIVERA PAGAN               ADDRESS ON FILE
FRANCISCO RIVERA QUIANEZ             ADDRESS ON FILE
FRANCISCO RIVERA RIVERA              ADDRESS ON FILE
FRANCISCO RIVERA RODRIGUEZ           ADDRESS ON FILE
FRANCISCO RIVERA RUIZ                ADDRESS ON FILE
FRANCISCO RIVERA SANCHEZ             ADDRESS ON FILE
FRANCISCO RIVERA SANTIAGO            ADDRESS ON FILE
FRANCISCO RIVERA SOTO                ADDRESS ON FILE
FRANCISCO RIVERA TORRES              ADDRESS ON FILE
FRANCISCO RIVERA VARGAS              ADDRESS ON FILE




                                                                                                  Page 2984 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                  Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2985 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                          Address1                              Address2                                       Address3   Address4   City              State   PostalCode   Country
FRANCISCO RIVERA VELAZQUEZ             ADDRESS ON FILE
FRANCISCO RIVERA VELEZ                 ADDRESS ON FILE
FRANCISCO RODRIGUEZ DE LA OBRA         ADDRESS ON FILE
FRANCISCO RODRIGUEZ GONZALEZ           ADDRESS ON FILE
FRANCISCO RODRIGUEZ GUZMAN             ADDRESS ON FILE
FRANCISCO RODRIGUEZ LEGRAND            ADDRESS ON FILE
FRANCISCO RODRIGUEZ MARRERO            ADDRESS ON FILE
FRANCISCO RODRIGUEZ MARRERO            ADDRESS ON FILE
FRANCISCO RODRIGUEZ MARRERO            ADDRESS ON FILE
FRANCISCO RODRÍGUEZ MARRERO            LCDO. JOSÉ AVILÉS LAMBERTY            MANSIONES DE SAN MARTIN STE 17                                       SAN JUAN          PR      00924
FRANCISCO RODRIGUEZ PEREZ              ADDRESS ON FILE
FRANCISCO RODRIGUEZ PETANAS            ADDRESS ON FILE
FRANCISCO RODRIGUEZ RIVERA             ADDRESS ON FILE
FRANCISCO RODRIGUEZ RODRIGUEZ          ADDRESS ON FILE
FRANCISCO RODRIGUEZ RUIZ               ADDRESS ON FILE
FRANCISCO RODRIGUEZ SACRISTAN          ADDRESS ON FILE
FRANCISCO RODRIGUEZ SALLABERRY         ADDRESS ON FILE
FRANCISCO RODRIGUEZ VARGAS             ADDRESS ON FILE
FRANCISCO RODRIGUEZ‐EMA CORDERO        ADDRESS ON FILE
FRANCISCO ROJAS ROJAS                  ADDRESS ON FILE
FRANCISCO ROLON ORTOLAZA               ADDRESS ON FILE
FRANCISCO ROMAN                        ADDRESS ON FILE
FRANCISCO ROMAN ACEVEDO                ADDRESS ON FILE
FRANCISCO ROMAN GARCIA                 ADDRESS ON FILE
FRANCISCO ROMAN HERNANDEZ              ADDRESS ON FILE
FRANCISCO ROMAN MARTINEZ               ADDRESS ON FILE
FRANCISCO ROMAN MEDINA DBA COMERCIAL ROHC‐01 BOX 11624                                                                                            SAN SEBASTIAN     PR      00685‐0000
FRANCISCO ROSA FLORES                  ADDRESS ON FILE
FRANCISCO ROSA RIOS                    ADDRESS ON FILE
FRANCISCO ROSA SERRANO                 ADDRESS ON FILE
FRANCISCO ROSADO COLOMER               ADDRESS ON FILE
FRANCISCO ROSADO MARTINEZ              ADDRESS ON FILE
FRANCISCO ROSADO MONTANEZ              ADDRESS ON FILE
FRANCISCO ROSARIO BRULL                ADDRESS ON FILE
FRANCISCO ROSARIO ROMAN                ADDRESS ON FILE
FRANCISCO ROSARIO, MAGDA               ADDRESS ON FILE
FRANCISCO RUIZ PEREZ                   ADDRESS ON FILE
FRANCISCO RUSCALLEDA GONZALEZ          ADDRESS ON FILE
FRANCISCO S BONILLA GONZALEZ           ADDRESS ON FILE
FRANCISCO SABAT CARMONA                ADDRESS ON FILE
FRANCISCO SAENZ CASTRO                 ADDRESS ON FILE
FRANCISCO SALDANA ALAMO                ADDRESS ON FILE
FRANCISCO SALINAS VALENCIA             ADDRESS ON FILE
FRANCISCO SAMALOT SOLER                ADDRESS ON FILE
FRANCISCO SANCHEZ                      ADDRESS ON FILE
FRANCISCO SANCHEZ / CARMEN MARSHAL     COND EL GENERALIFE                    G 4 AVE SAN PATRICIO APT 1204                                        GUAYNABO          PR      00968‐3222
FRANCISCO SANCHEZ AVILES               ADDRESS ON FILE
FRANCISCO SÁNCHEZ RODRÍGUEZ 685‐967    LCDO. FRANCISCO J. GONZÁLEZ MALAGAZ   1519 Ponce DE LEÓN STE 801                                           SAN JUAN          PR      00907
FRANCISCO SANCHEZ VIDAL                ADDRESS ON FILE
FRANCISCO SANTIAGO CARRASCO            ADDRESS ON FILE
FRANCISCO SANTIAGO FELICIANO           ADDRESS ON FILE
FRANCISCO SANTIAGO GONZALEZ            ADDRESS ON FILE
FRANCISCO SANTIAGO HENRIQUEZ           ADDRESS ON FILE
FRANCISCO SANTIAGO MORENO              ADDRESS ON FILE
FRANCISCO SANTIAGO PACHECO             ADDRESS ON FILE
FRANCISCO SANTIAGO PACHECO             ADDRESS ON FILE
FRANCISCO SANTIAGO PACHECO             ADDRESS ON FILE
FRANCISCO SANTIAGO PACHECO             ADDRESS ON FILE
FRANCISCO SANTIAGO RODRIGUEZ           ADDRESS ON FILE
FRANCISCO SANTIAGO SANJURJO            ADDRESS ON FILE




                                                                                                             Page 2985 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2986 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                         Address2                              Address3   Address4   City       State   PostalCode   Country
FRANCISCO SANTIAGO SERRANO              LIC MARJORIE RIVERA TORRES       PO BOX 7255                                                 CAGUAS     PR      00726‐7255
FRANCISCO SANTIAGO SOTO                 ADDRESS ON FILE
FRANCISCO SANTIAGO V ELA                LIC MARJORIE RIVERA              PO BOX 7255                                                 CAGUAS     PR      00726‐7255
FRANCISCO SANTOS MARTINEZ               ADDRESS ON FILE
FRANCISCO SCHMIDT TORRES                ADDRESS ON FILE
FRANCISCO SEDA DELGADO                  ADDRESS ON FILE
FRANCISCO SEPULVEDA GARCIA              ADDRESS ON FILE
FRANCISCO SERRANO                       ADDRESS ON FILE
FRANCISCO SILVA MARIANI                 ADDRESS ON FILE
FRANCISCO SILVA SANTIAGO                ADDRESS ON FILE
FRANCISCO SINIGAGLIA CARABALLO          ADDRESS ON FILE
FRANCISCO SOLER TANCO                   ADDRESS ON FILE
FRANCISCO SOLIS FIGUEROA                ADDRESS ON FILE
FRANCISCO SOLIS SCHARON                 ADDRESS ON FILE
FRANCISCO SOMOZA MARTINEZ               ADDRESS ON FILE
FRANCISCO SOTO FRANCESHI                ADDRESS ON FILE
FRANCISCO SOTO TOMASINY                 ADDRESS ON FILE
FRANCISCO T DEL VALLE VIZCARRONDO       ADDRESS ON FILE
FRANCISCO TORAL MUNOZ                   ADDRESS ON FILE
FRANCISCO TORANODBA VAQUERIA FRANCISCO TORANO/GREEN ENERGY & FUELS INC   HC 3 BOX 12096                                              UTUADO     PR      00641
FRANCISCO TORIBIO, JULISSA              ADDRESS ON FILE
FRANCISCO TORO GONZALEZ                 ADDRESS ON FILE
FRANCISCO TORO OSUNA                    ADDRESS ON FILE
FRANCISCO TORRES BONILLA                ADDRESS ON FILE
FRANCISCO TORRES FELICIANO              ADDRESS ON FILE
FRANCISCO TORRES FELICIANO              ADDRESS ON FILE
FRANCISCO TORRES OQUENDO                TOMAS SANTIAGO ROMERO            3 CALLE HOSTOS NORTE                                        GUYAMA     PR      00784
FRANCISCO TORRES ORTIZ                  ADDRESS ON FILE
FRANCISCO TORRES QUIJANO                ADDRESS ON FILE
FRANCISCO TORRES QUILES                 ADDRESS ON FILE
FRANCISCO TORRES RIVERA                 ADDRESS ON FILE
FRANCISCO TORRES RIVERA                 ADDRESS ON FILE
FRANCISCO TORRES SANTOS RETIREMENT PLAN ADDRESS ON FILE
FRANCISCO TORRES TORRES                 ADDRESS ON FILE
FRANCISCO UMPIERRE VELA                 ADDRESS ON FILE
FRANCISCO URQUIA DIAZ                   ADDRESS ON FILE
FRANCISCO V HERNANDEZ PEREZ             ADDRESS ON FILE
FRANCISCO VALCARCEL MULERO              ADDRESS ON FILE
FRANCISCO VALENTIN ALEQUIN              ADDRESS ON FILE
FRANCISCO VALENTIN MORALES              ADDRESS ON FILE
FRANCISCO VALENTIN SERRANO              ADDRESS ON FILE
FRANCISCO VALLADARES DEL VALLE          ADDRESS ON FILE
FRANCISCO VARGAS RAMIREZ                ADDRESS ON FILE
FRANCISCO VAZQUE MOJICA                 ADDRESS ON FILE
FRANCISCO VAZQUEZ                       ADDRESS ON FILE
FRANCISCO VAZQUEZ / ELSA M MARTINEZ     ADDRESS ON FILE
FRANCISCO VAZQUEZ DE LEON               ADDRESS ON FILE
FRANCISCO VAZQUEZ MUNOZ                 ADDRESS ON FILE
FRANCISCO VAZQUEZ RIVERA                ADDRESS ON FILE
FRANCISCO VAZQUEZ RIVERA                ADDRESS ON FILE
FRANCISCO VAZQUEZ TAVAREZ               ADDRESS ON FILE
FRANCISCO VEGA ALDARONDO                ADDRESS ON FILE
FRANCISCO VEGA COLLAZO                  ADDRESS ON FILE
FRANCISCO VEGA SANTELL                  ADDRESS ON FILE
FRANCISCO VELAZQUEZ IRIZARRY            ADDRESS ON FILE
FRANCISCO VELAZQUEZ VELAZQUEZ           ADDRESS ON FILE
FRANCISCO VELAZQUEZ VELEZ               ADDRESS ON FILE
FRANCISCO VELEZ MALAVE                  ADDRESS ON FILE
FRANCISCO VELEZ PEREZ                   ADDRESS ON FILE
FRANCISCO VELEZ SILVA                   ADDRESS ON FILE




                                                                                                Page 2986 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 2987 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCISCO VELEZ VALENTIN           ADDRESS ON FILE
FRANCISCO VICENTE ORTIZ            ADDRESS ON FILE
FRANCISCO VIDAL ANCIANI            ADDRESS ON FILE
FRANCISCO VILLALOBOS PINEIRO       ADDRESS ON FILE
FRANCISCO VIRELLA MELENDEZ         ADDRESS ON FILE
FRANCISCO X CARABALLO PENA         ADDRESS ON FILE
FRANCISCO X SENDRA FIGUEROA        ADDRESS ON FILE
FRANCISCO X SERBIA QUEIPO          ADDRESS ON FILE
FRANCISCO, ARMESTICA               ADDRESS ON FILE
FRANCISCUS PRODUCTIONS             68 OJEDA STREET                                                                  SAN JUAN     PR      00907
FRANCISOCO RESTO GOMEZ             ADDRESS ON FILE
FRANCISQUINI ACOSTA, CYD MARIE     ADDRESS ON FILE
FRANCISQUINI OQUENDO, SHIARA       ADDRESS ON FILE
FRANCISQUINI OQUENDO, SHIARA       ADDRESS ON FILE
FRANCISZEK DEMBOWSKI, ALEKSANDER   ADDRESS ON FILE
FRANCKIE CRUZ ROSARIO              ADDRESS ON FILE
FRANCO A LEBRON                    ADDRESS ON FILE
FRANCO ALEJANDRO, CARMEN           ADDRESS ON FILE
FRANCO ALEJANDRO, MARIA DEL C      ADDRESS ON FILE
FRANCO ALEJANDRO, MARIA T          ADDRESS ON FILE
FRANCO ALICEA, ARMANDO             ADDRESS ON FILE
FRANCO ALMESTICA, JAVIER A         ADDRESS ON FILE
FRANCO ALVAREZ BERRIOS             ADDRESS ON FILE
FRANCO APONTE, SHIRLEY             ADDRESS ON FILE
FRANCO APONTE, VANESSA             ADDRESS ON FILE
FRANCO AQUINO, CRISTINA            ADDRESS ON FILE
FRANCO AYALA, JULIA J              ADDRESS ON FILE
FRANCO BARRIL, PEDRO               ADDRESS ON FILE
FRANCO BEITIA, GRISELLE            ADDRESS ON FILE
FRANCO BELTRAN, ADARIS             ADDRESS ON FILE
FRANCO BERMUDEZ, LUZ               ADDRESS ON FILE
FRANCO BERMUDEZ, ROSA E            ADDRESS ON FILE
FRANCO BONES, JOSE A               ADDRESS ON FILE
Franco Borrero, Jose L             ADDRESS ON FILE
FRANCO CAJIGAS, SHEIDIMAR          ADDRESS ON FILE
FRANCO CALIXTO, JOHANNA            ADDRESS ON FILE
Franco Canales, Marilyn            ADDRESS ON FILE
FRANCO CARDONA, PERLA              ADDRESS ON FILE
FRANCO CARMONA, ANNIE              ADDRESS ON FILE
FRANCO CARRION, ANTONIO            ADDRESS ON FILE
FRANCO CARRION, ATANACIO           ADDRESS ON FILE
FRANCO CARRION, MARY L             ADDRESS ON FILE
FRANCO CARRION, MARY O.            ADDRESS ON FILE
FRANCO CINTRON, CARMEN N           ADDRESS ON FILE
FRANCO CINTRON, ZULMA              ADDRESS ON FILE
FRANCO COLLAZO, RAFAEL             ADDRESS ON FILE
FRANCO COLLAZO, RAFAEL             ADDRESS ON FILE
FRANCO COLON, ABDIEL               ADDRESS ON FILE
FRANCO COLON, DAN                  ADDRESS ON FILE
FRANCO COLON, LINDA                ADDRESS ON FILE
FRANCO COLON, LINDA                ADDRESS ON FILE
FRANCO COLON, LUIS                 ADDRESS ON FILE
FRANCO COLON, MANUEL               ADDRESS ON FILE
FRANCO COLON, MANUEL               ADDRESS ON FILE
FRANCO COLON, MAYRA                ADDRESS ON FILE
FRANCO COLON, NORMA                ADDRESS ON FILE
FRANCO COLON, RICARDO              ADDRESS ON FILE
FRANCO COLON, RICARDO              ADDRESS ON FILE
FRANCO CORTES, MARIA T             ADDRESS ON FILE
FRANCO COSME, ANGELA               ADDRESS ON FILE




                                                                               Page 2987 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 2988 of 3500
                                                                             17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                 Address1                     Address2                                   Address3           Address4   City         State   PostalCode   Country
FRANCO COTTO, RAFAEL          ADDRESS ON FILE
FRANCO CRUZ, AIDA             ADDRESS ON FILE
FRANCO CRUZ, DILIAN           ADDRESS ON FILE
FRANCO CRUZ, ELIZABETH        ADDRESS ON FILE
FRANCO CRUZ, MAGDA            ADDRESS ON FILE
FRANCO CRUZ, MAGDA W          ADDRESS ON FILE
FRANCO CRUZ, MARCOS           ADDRESS ON FILE
FRANCO CRUZ, MARTA            ADDRESS ON FILE
FRANCO CRUZ, NATHANAEL        ADDRESS ON FILE
FRANCO DE JESUS, FELIX E.     ADDRESS ON FILE
FRANCO DE JESUS, RAFAEL A     ADDRESS ON FILE
FRANCO DE LA ROSA, SHIRLEY    ADDRESS ON FILE
FRANCO DEL TORO, ROBERTO      ADDRESS ON FILE
FRANCO DEL VALLE, RAQUEL      ADDRESS ON FILE
FRANCO DEL VALLE, SANDRA      ADDRESS ON FILE
FRANCO DELGADO, HECTOR M.     ADDRESS ON FILE
FRANCO DIAZ, ADIARYS          ADDRESS ON FILE
FRANCO DIAZ, ALEX             ADDRESS ON FILE
FRANCO DIAZ, ANTONIO          ADDRESS ON FILE
FRANCO DIAZ, ANTONIO L.       ADDRESS ON FILE
FRANCO DIAZ, AUREA            ADDRESS ON FILE
FRANCO DIAZ, CARMEN M.        ADDRESS ON FILE
FRANCO DIAZ, NEREIDA          ADDRESS ON FILE
FRANCO DOMINGUEZ, MANUEL      ADDRESS ON FILE
FRANCO DOMINICCI, LUCIA       ADDRESS ON FILE
FRANCO DOMINICCI, LUZ M       ADDRESS ON FILE
FRANCO DOMINICCI, MARIA R     ADDRESS ON FILE
FRANCO DOMINICII, ANGEL R     ADDRESS ON FILE
FRANCO DONES, LUIS            ADDRESS ON FILE
FRANCO DQMINICCI, MYRTA A     ADDRESS ON FILE
FRANCO ECHEVARRIA, KEILA      ADDRESS ON FILE
Franco Echevarria, Marybel    ADDRESS ON FILE
FRANCO ESQUILIN, MARIA I.     ADDRESS ON FILE
FRANCO FEBRES, ELIZABETH      ADDRESS ON FILE
FRANCO FELIX, IVELISSE        ADDRESS ON FILE
FRANCO FELIX, NATALIE         ADDRESS ON FILE
FRANCO FELIX, PAULA           ADDRESS ON FILE
FRANCO FELIZ, ISABEL          ADDRESS ON FILE
FRANCO FERNANDEZ, VANESA      ADDRESS ON FILE
FRANCO FIGUEROA, BRIGIDA      ADDRESS ON FILE
FRANCO FIGUEROA, FELIX        ADDRESS ON FILE
FRANCO FIGUEROA, HILDA L      ADDRESS ON FILE
Franco Figueroa, Luis A       ADDRESS ON FILE
FRANCO FIGUEROA, MANUEL       ADDRESS ON FILE
FRANCO FIGUEROA, MANUEL L     JUAN M. FRONTERA SUAU;       CAPITAL CENTER BUILDING SUITE 305 AVE. ARTERIAL HOSTOS #239              SAN JUAN     PR      00918
FRANCO FIGUEROA, MANUEL L     LCDA. ZAIDEÉ ACEVEDO VILÁ    COND. VICK CENTER SUITE C‐402 867 AVE. MUÑOZ RIVERA                      SAN JUAN     PR      00925
FRANCO FIGUEROA, MANUEL L     LCDO. EDUARDO VERA RAMÍREZ   1606 Ave. Ponce De LEÓN SUITE 501 EDIF. BOGORICIN                        SAN JUAN     PR      00909
FRANCO FIGUEROA, MILAGROS     ADDRESS ON FILE
FRANCO FIGUEROA, NILDA        ADDRESS ON FILE
FRANCO FRANCO, ELSA           ADDRESS ON FILE
FRANCO FRANCO, RICARDO        ADDRESS ON FILE
FRANCO FRATICELLI, MARIA V    ADDRESS ON FILE
FRANCO FRATICELLI, PEDRO E.   ADDRESS ON FILE
FRANCO GALINDEZ, IDALIS       ADDRESS ON FILE
FRANCO GARCIA, DORELYS        ADDRESS ON FILE
FRANCO GARCIA, EDGARDO        ADDRESS ON FILE
FRANCO GARCIA, EDWIN          ADDRESS ON FILE
FRANCO GARCIA, EDWIN          ADDRESS ON FILE
FRANCO GINORIO, DAWILMAR      ADDRESS ON FILE
FRANCO GINORIO, WILDAMAR      ADDRESS ON FILE




                                                                                       Page 2988 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2989 of 3500
                                                                              17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                  Address1                    Address2                            Address3               Address4         City         State   PostalCode   Country
FRANCO GOMEZ, NILKA            ADDRESS ON FILE
FRANCO GONZALEZ, AIDA L        ADDRESS ON FILE
FRANCO GONZALEZ, ARMANDO       ADDRESS ON FILE
FRANCO GONZALEZ, ARMANDO       ADDRESS ON FILE
FRANCO GONZALEZ, DAVID         ADDRESS ON FILE
Franco Gonzalez, Nereida       ADDRESS ON FILE
FRANCO GONZALEZ, NOELIA        ADDRESS ON FILE
FRANCO GONZALEZ, RAFAEL        ADDRESS ON FILE
FRANCO GONZALEZ, ROSA I        ADDRESS ON FILE
FRANCO GONZALEZ, YASEL         ADDRESS ON FILE
FRANCO GONZALEZ, YAZEL         ADDRESS ON FILE
FRANCO GUEVARA, MARIA A        ADDRESS ON FILE
FRANCO H BIAGGI DE CASENAVE    ADDRESS ON FILE
FRANCO HERNANDEZ, IDALIS       ADDRESS ON FILE
FRANCO HERNANDEZ, MANUEL       ADDRESS ON FILE
FRANCO HERNANDEZ, YATZEL       ADDRESS ON FILE
FRANCO HUERTAS, LYDIA          ADDRESS ON FILE
FRANCO IRIZARRY, CAMILLE       ADDRESS ON FILE
FRANCO J CATALA DIAZ           ADDRESS ON FILE
FRANCO JIMENEZ, CONSTANZA      ADDRESS ON FILE
FRANCO JIMENEZ, WILLIAM        ADDRESS ON FILE
FRANCO LABOY, MODESTO          ADDRESS ON FILE
FRANCO LEBRON ORTIZ            ADDRESS ON FILE
FRANCO LEBRON, ALEXANDER       ADDRESS ON FILE
FRANCO LEBRON, FELIX           ADDRESS ON FILE
FRANCO LECAROZ, CARLOS J.      ADDRESS ON FILE
FRANCO LINARES, FELIPE         ADDRESS ON FILE
FRANCO LOPEZ, MANUEL           ADDRESS ON FILE
FRANCO LOPEZ, MARIA L          ADDRESS ON FILE
FRANCO LOPEZ, REY F.           ADDRESS ON FILE
FRANCO LOPEZ, REYNALDO         ADDRESS ON FILE
FRANCO LOPEZ, WILMA Y          ADDRESS ON FILE
FRANCO LOZANO, SHEILA          ADDRESS ON FILE
FRANCO LUNA, ARNALDO           ADDRESS ON FILE
FRANCO LUNA, CARLOS            ADDRESS ON FILE
FRANCO LUYANDO, ALEXIS         ADDRESS ON FILE
FRANCO LUYANDO, ALEXIS         ADDRESS ON FILE
FRANCO MACHADO, CARLOS         ADDRESS ON FILE
FRANCO MACHUCA, HECTOR         ADDRESS ON FILE
FRANCO MALAVE, FRANCES         ADDRESS ON FILE
FRANCO MALAVE, FRANCES         ADDRESS ON FILE
FRANCO MALAVE, JOSE            ADDRESS ON FILE
FRANCO MALAVE, SYLVIA A        ADDRESS ON FILE
FRANCO MALDONADO, CARLOS       ADDRESS ON FILE
FRANCO MALDONADO, NYLKA        ADDRESS ON FILE
FRANCO MALDONADO, VERONICA     ADDRESS ON FILE
FRANCO MARCANO, CINDY M        ADDRESS ON FILE
FRANCO MARCANO, LISAURA        ADDRESS ON FILE
FRANCO MARCANO, LUIS M.        ADDRESS ON FILE
FRANCO MARRERO, EVELYN         ADDRESS ON FILE
FRANCO MARRERO, GABRIEL        ADDRESS ON FILE
FRANCO MARRERO, GABRIEL        ADDRESS ON FILE
FRANCO MARTINEZ, ROSA          ADDRESS ON FILE
FRANCO MATEO, ANA L            ADDRESS ON FILE
                                                                                               BAYAMON 501 EDIF
FRANCO MATEO, LUIS             LUIS FRANCO MATEO           INTITUCIÓN BAYAMON                  SECC C                 P.O BOX 607073   BAYAMON      PR      00960
FRANCO MATEO, LUIS A Y OTROS   JOHANNA GILOT OPPENHEIMER   PO BOX 369                                                                  SAN JUAN     PR      00936‐0369

FRANCO MATEO, LUIS A Y OTROS   JOSE PEREZ RODRIGUEZ        PMB 280                             3071 AVE ALEJANDRINO                    GUAYNABO     PR      00969‐7035




                                                                                Page 2989 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 2990 of 3500
                                                                              17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                  Address1                    Address2                             Address3   Address4                City         State   PostalCode   Country

FRANCO MATEO, LUIS A Y OTROS   MIGUEL A. NAZARIO BRICEÑO   EDIF CENTRO SEGUROS                  701 AVE.   Ponce DE LEON STE 401   SAN JUAN     PR      00907
FRANCO MATEO, ROBERTO          ADDRESS ON FILE
FRANCO MATTA MD, AWILDA        ADDRESS ON FILE
FRANCO MATTA, AMARILYS         ADDRESS ON FILE
FRANCO MATTA, AWILDA           ADDRESS ON FILE
FRANCO MAYORAL, JOSE           ADDRESS ON FILE
Franco Maysonet, Yelenys M.    ADDRESS ON FILE
FRANCO MD , LUIS A             ADDRESS ON FILE
FRANCO MEDINA, ELINES          ADDRESS ON FILE
FRANCO MELENDEZ, EVELYN        ADDRESS ON FILE
FRANCO MELENDEZ, MARIA J       ADDRESS ON FILE
FRANCO MENDOZA, JOSE           ADDRESS ON FILE
FRANCO MENENDEZ, MANUEL        ADDRESS ON FILE
FRANCO MERCADO, CARMEN         ADDRESS ON FILE
FRANCO MERCADO, ORLANDO        ADDRESS ON FILE
FRANCO MOLINA, ANTONIO         ADDRESS ON FILE
FRANCO MOLINA, CARMEN L.       ADDRESS ON FILE
FRANCO MOLINA, MARTA           ADDRESS ON FILE
FRANCO MONGE, JANNETTE         ADDRESS ON FILE
FRANCO MONGE, JIMMY            ADDRESS ON FILE
Franco Morales, Angel A        ADDRESS ON FILE
FRANCO MORALES, ANTONIO        ADDRESS ON FILE
FRANCO MORALES, LUIS           ADDRESS ON FILE
FRANCO MORALES, MARYLIN I.     ADDRESS ON FILE
FRANCO MORALES, VICENTE        ADDRESS ON FILE
FRANCO NEGRON, GADIEL          ADDRESS ON FILE
FRANCO NEGRON, JESUS           ADDRESS ON FILE
FRANCO NEGRON, JESUS R         ADDRESS ON FILE
FRANCO NEGRON, KIANA           ADDRESS ON FILE
FRANCO NEGRON, RICHARD         ADDRESS ON FILE
FRANCO NIEVES, DANIEL          ADDRESS ON FILE
FRANCO NIEVES, EMMA            ADDRESS ON FILE
FRANCO NIEVES, EMMA            ADDRESS ON FILE
FRANCO NIEVES, JEHIEL          ADDRESS ON FILE
FRANCO NOGUERAS, MARIA J       ADDRESS ON FILE
FRANCO NUNEZ, GYSSELL          ADDRESS ON FILE
FRANCO NUNEZ, MARIA V          ADDRESS ON FILE
FRANCO NUNEZ, RAFAEL           ADDRESS ON FILE
Franco Ocasio, David           ADDRESS ON FILE
FRANCO OCASIO, LUIS D          ADDRESS ON FILE
FRANCO OLAVE, ALBERTO          ADDRESS ON FILE
FRANCO OLIVO, ZULEIRA          ADDRESS ON FILE
FRANCO ORTEGA, ANGEL L.        ADDRESS ON FILE
FRANCO ORTEGA, PAQUITO         ADDRESS ON FILE
FRANCO ORTIZ, ALEJO            ADDRESS ON FILE
FRANCO ORTIZ, FELIX            ADDRESS ON FILE
FRANCO ORTIZ, HECTOR           ADDRESS ON FILE
FRANCO ORTIZ, NANCY S          ADDRESS ON FILE
FRANCO ORTIZ, RUBEN            ADDRESS ON FILE
Franco Ortiz, Tom              ADDRESS ON FILE
Franco Pagan, Milagros         ADDRESS ON FILE
FRANCO PARIS, MAYRA E          ADDRESS ON FILE
Franco Perez, Braulio          ADDRESS ON FILE
FRANCO PEREZ, JOEL E.          ADDRESS ON FILE
FRANCO PEREZ, JOSE G           ADDRESS ON FILE
FRANCO PEREZ, LINNETTE         ADDRESS ON FILE
Franco Perez, Loyda Y          ADDRESS ON FILE
FRANCO PEREZ, MODESTO          ADDRESS ON FILE
FRANCO PEREZ, MODESTO          ADDRESS ON FILE




                                                                                 Page 2990 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 2991 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANCO PLAZA, MICHELLE                 ADDRESS ON FILE
FRANCO QUILES MARIANI                  ADDRESS ON FILE
FRANCO QUILES MARIANI LAW OFFICE PSC   PO BOX 366829                                                                    SAN JUAN     PR      00936
FRANCO QUILES‐MARIANI LAW OFFICE       PO BOX 366829                                                                    SAN JUAN     PR      00936
FRANCO QUINONES, SHEILA I              ADDRESS ON FILE
FRANCO QUINONEZ, MARIA DEL C.          ADDRESS ON FILE
Franco Ramirez, Maria M                ADDRESS ON FILE
FRANCO RAMIREZ, PEGGY E                ADDRESS ON FILE
FRANCO RAMIREZ, PEGGY E                ADDRESS ON FILE
FRANCO RAMOS, ANGELICA                 ADDRESS ON FILE
Franco Ramos, Carlos J                 ADDRESS ON FILE
FRANCO RAMOS, DEBORAH Y                ADDRESS ON FILE
FRANCO RAMOS, DESSERY                  ADDRESS ON FILE
FRANCO RAMOS, WANDA                    ADDRESS ON FILE
FRANCO RAMOS, ZYNTHIA                  ADDRESS ON FILE
FRANCO RENTA, RAFAEL                   ADDRESS ON FILE
FRANCO RENTAS MD, RAFAEL               ADDRESS ON FILE
FRANCO RENTAS, AWILDA                  ADDRESS ON FILE
FRANCO RESTO, BRENDA I.                ADDRESS ON FILE
FRANCO RESTO, CARMEN                   ADDRESS ON FILE
FRANCO RESTO, LORRAINE                 ADDRESS ON FILE
FRANCO REVENTOS, MILDRED J             ADDRESS ON FILE
Franco Reyes, Alfonso                  ADDRESS ON FILE
FRANCO REYES, FRANCHI                  ADDRESS ON FILE
FRANCO REYES, IRIS                     ADDRESS ON FILE
Franco Reyes, Miguel A                 ADDRESS ON FILE
FRANCO REYES, VANESSA                  ADDRESS ON FILE
FRANCO REYES, VANESSA                  ADDRESS ON FILE
FRANCO RINCON, RUTH BEBA               ADDRESS ON FILE
FRANCO RINCON, TAMARA                  ADDRESS ON FILE
FRANCO RIVAS, PABLO                    ADDRESS ON FILE
FRANCO RIVAS,MARCOLINA                 ADDRESS ON FILE
Franco Rivera, Aleida J                ADDRESS ON FILE
FRANCO RIVERA, CARMEN                  ADDRESS ON FILE
FRANCO RIVERA, CYNTHIA V.              ADDRESS ON FILE
FRANCO RIVERA, FERNANDO                ADDRESS ON FILE
FRANCO RIVERA, JOSE                    ADDRESS ON FILE
FRANCO RIVERA, JUAN A                  ADDRESS ON FILE
FRANCO RIVERA, JUDITH                  ADDRESS ON FILE
FRANCO RIVERA, JUDITH                  ADDRESS ON FILE
FRANCO RIVERA, LILLIANA                ADDRESS ON FILE
FRANCO RIVERA, YAMILKA A.              ADDRESS ON FILE
FRANCO RODRIGUEZ, ADOLFO               ADDRESS ON FILE
FRANCO RODRIGUEZ, ALBA E               ADDRESS ON FILE
FRANCO RODRIGUEZ, DORA I               ADDRESS ON FILE
FRANCO RODRIGUEZ, ERIC                 ADDRESS ON FILE
FRANCO RODRIGUEZ, FLORA M              ADDRESS ON FILE
FRANCO RODRIGUEZ, FRANCISCO            ADDRESS ON FILE
FRANCO RODRIGUEZ, IGNERIS              ADDRESS ON FILE
FRANCO RODRIGUEZ, MARIA DE LOS         ADDRESS ON FILE
FRANCO RODRIGUEZ, MARIELY              ADDRESS ON FILE
FRANCO RODRIGUEZ, MIGUEL               ADDRESS ON FILE
FRANCO RODRIGUEZ, NORMA                ADDRESS ON FILE
FRANCO RODRIGUEZ, PORFIRIO             ADDRESS ON FILE
FRANCO RODRIGUEZ, ROSALYN              ADDRESS ON FILE
Franco Rojas, William                  ADDRESS ON FILE
FRANCO ROMAN, MAIRYM                   ADDRESS ON FILE
Franco Romero, Jesus M.                ADDRESS ON FILE
FRANCO ROMERO, PEDRO G                 ADDRESS ON FILE
FRANCO ROQUE, LYDIA                    ADDRESS ON FILE




                                                                                   Page 2991 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2992 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                        Address1                  Address2                             Address3            Address4   City         State   PostalCode   Country
FRANCO ROSADO, ABDIEL J              ADDRESS ON FILE
FRANCO ROSADO,PHYLLIS                ADDRESS ON FILE
FRANCO ROSALY PEREZ / MAXIMO SOLAR   INDUSTRIES                URB EXT SANTA MARIA                  Q 5 CALLE PETUNIA              SAN JUAN     PR      00927
FRANCO ROSARIO, MARIA DE LO A        ADDRESS ON FILE
FRANCO ROSARIO, MARJORIE             ADDRESS ON FILE
FRANCO SALAMANCA, RAMON A.           ADDRESS ON FILE
FRANCO SANCHEZ, ISRAEL               ADDRESS ON FILE
FRANCO SANTIAGO, ALEX                ADDRESS ON FILE
FRANCO SANTIAGO, CARMEN J            ADDRESS ON FILE
Franco Santiago, Jose M              ADDRESS ON FILE
FRANCO SANTOS, ADA M                 ADDRESS ON FILE
FRANCO SANTOS, GUSTAVO               ADDRESS ON FILE
FRANCO SANTOS, MELANIE               ADDRESS ON FILE
FRANCO SERRANO, JOSE A               ADDRESS ON FILE
FRANCO SERRANO, JUAN E               ADDRESS ON FILE
FRANCO SERRANO, JUAN E               ADDRESS ON FILE
FRANCO SERRANO, SARA                 ADDRESS ON FILE
FRANCO SIERRA, ANGELICA              ADDRESS ON FILE
FRANCO SOTO, KAROLA J                ADDRESS ON FILE
FRANCO SOTO, MARIA                   ADDRESS ON FILE
FRANCO SOTO, MARIA M.                ADDRESS ON FILE
FRANCO STEEVE, EUARDO                ADDRESS ON FILE
FRANCO TAPIA, MIRTHA A.              ADDRESS ON FILE
FRANCO TORRES, ANDRES                ADDRESS ON FILE
FRANCO TORRES, CARLOS J              ADDRESS ON FILE
Franco Torres, Carmen M.             ADDRESS ON FILE
FRANCO TORRES, ELBA I                ADDRESS ON FILE
FRANCO TORRES, LOURDES               ADDRESS ON FILE
FRANCO TORRES, LUIS                  ADDRESS ON FILE
FRANCO TORRES, MARIA                 ADDRESS ON FILE
FRANCO VALENTIN, EDWIN A.            ADDRESS ON FILE
FRANCO VALLE MENDOZA                 ADDRESS ON FILE
FRANCO VALLE, JOSE                   ADDRESS ON FILE
FRANCO VARGAS, ORLANDO               ADDRESS ON FILE
FRANCO VARGAS, WANDA I.              ADDRESS ON FILE
FRANCO VAZQUEZ, ANSELMA M            ADDRESS ON FILE
FRANCO VAZQUEZ, GLADYS N.            ADDRESS ON FILE
FRANCO VAZQUEZ, JOSE                 ADDRESS ON FILE
FRANCO VAZQUEZ, MAYRA                ADDRESS ON FILE
FRANCO VEGA, JOSE J                  ADDRESS ON FILE
FRANCO VEGA, SONIA W.                ADDRESS ON FILE
FRANCO VELAZQUEZ, IRAIDA             ADDRESS ON FILE
FRANCO VELAZQUEZ, YAMIXA E           ADDRESS ON FILE
FRANCO VELEZ, JOSE R                 ADDRESS ON FILE
FRANCO VELEZ, MARCO                  ADDRESS ON FILE
Franco Velez, Michelle               ADDRESS ON FILE
FRANCO VELEZ, MICHELLE               ADDRESS ON FILE
FRANCO VELEZ, MICHELLE               ADDRESS ON FILE
FRANCO VELEZ, RAFAEL A               ADDRESS ON FILE
FRANCO VELEZ, WALKER                 ADDRESS ON FILE
Franco Villafane, Antonio            ADDRESS ON FILE
FRANCO VILLAFANE, PEDRO              ADDRESS ON FILE
FRANCO VILLEGAS, MARCELO             ADDRESS ON FILE
FRANCO W PIETRI LEITH                ADDRESS ON FILE
FRANCO YAMBO MD, GLORIAN             ADDRESS ON FILE
FRANCO ZAYAS, LUIS                   ADDRESS ON FILE
FRANCO, CARLA                        ADDRESS ON FILE
FRANCO, GIOVANNI                     ADDRESS ON FILE
FRANCO, LEONARDO                     ADDRESS ON FILE
FRANCO, RUBEN                        ADDRESS ON FILE




                                                                                     Page 2992 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 2993 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                         Address1                        Address2                                    Address3   Address4   City         State   PostalCode   Country
FRANCOIS CHARLEMAGNE, RUDDY           ADDRESS ON FILE
FRANCOIS KUILAN, MARCOS               ADDRESS ON FILE
FRANCOIS R EDROOZ                     ADDRESS ON FILE
FRANCOIS S VELEZ HERNANDEZ            ADDRESS ON FILE
FRANCOIS STEVEN VELEZ VELEZ           ADDRESS ON FILE
FRANCOISE GILORMINI MERLE             ADDRESS ON FILE
FRANCOISE N LUGO TORRES               ADDRESS ON FILE
FRANCOULON, ADRIANA F.                ADDRESS ON FILE
FRANDK QUINONES LEBRON                ADDRESS ON FILE
FRANGUADA RIVERA, JESUS R.            ADDRESS ON FILE
FRANJOL LARA, ADRIAN                  ADDRESS ON FILE
FRANJUL JULIAO, RAFAEL                ADDRESS ON FILE
FRANK A BUSTELO ALVARADO              ADDRESS ON FILE
FRANK ACEVEDO IRIZARRY                ADDRESS ON FILE
FRANK ALEJANDRO ROSARIO OCASIO        ADDRESS ON FILE
FRANK ANDREW HEFFELFINGER             ADDRESS ON FILE
FRANK AQUINO LUGO                     ADDRESS ON FILE
FRANK ARAN SERRANO                    ADDRESS ON FILE
FRANK BAEZ QUINONES                   ADDRESS ON FILE
FRANK BILLICK                         ADDRESS ON FILE
FRANK BORRERO BURGOS                  ADDRESS ON FILE
FRANK CATALA MORALES                  ADDRESS ON FILE
FRANK CERAMIC                         ADDRESS ON FILE
FRANK CERAMIC                         ADDRESS ON FILE
FRANK CERAMIC SHOP                    AREA DEL TESORO                 DIVISION DE RECLAMACIONES                                         SAN JUAN     PR      00902‐4140
FRANK CERAMIC SHOP                    C/8 bLOQ. 1 # 2 Sabana Grande                                                                     Carolina     PR      00983‐0000
FRANK CERAMIC SHOP                    SABANA GARDENS                  4‐2 CALLE 8 AVE CAMPO RICO                                        CAROLINA     PR      00983
FRANK COLLAZO ASOCIATE                ADDRESS ON FILE
FRANK COLLAZO, WILLIAM                ADDRESS ON FILE
FRANK CORA PENA                       ADDRESS ON FILE
FRANK CORTES AMARAL                   ADDRESS ON FILE
FRANK D INSERNI MILAM/ ECOLOGIC ALL   B 12 GREEN VALLEY                                                                                 GUAYNABO     PR      00966
FRANK D RODRIGUEZ ROBLES              ADDRESS ON FILE
FRANK DAVILA COLON                    ADDRESS ON FILE
FRANK DE ORTIZ, FRANCELINE            ADDRESS ON FILE
FRANK DELGADO NAZARIO                 ADDRESS ON FILE
FRANK DIAZ VASCONCELLOS               ADDRESS ON FILE
FRANK DIAZ VASCONCELLOS               ADDRESS ON FILE
FRANK DUVIVIER, PETER D               ADDRESS ON FILE
FRANK E GONZALEZ IRIZARRY             ADDRESS ON FILE
FRANK E MALDONADO TORRES              ADDRESS ON FILE
FRANK E RIVERA VELEZ                  ADDRESS ON FILE
FRANK E. MORALES BARRETO              ADDRESS ON FILE
FRANK ELECTRIC SERVICES INC           1005 AVE HOSTOS                                                                                   PONCE        PR      00716 1101
FRANK ELECTRIC SERVICES INC           105 AVE HOSTOS                                                                                    PONCE        PR      00716
FRANK ESCOBAR ROGER                   ADDRESS ON FILE
FRANK FERNANDO MARTINEZ ORTIZ         ADDRESS ON FILE
FRANK FIGUEROA ROCHE                  ADDRESS ON FILE
FRANK FIGUEROA RODRIGUEZ              ADDRESS ON FILE
FRANK FUENTES ORTIZ                   ADDRESS ON FILE
FRANK G RUIZ RIVERA                   ADDRESS ON FILE
FRANK G SOLIVAN SERRANO               ADDRESS ON FILE
FRANK GREGORY SANTIAGO                ADDRESS ON FILE
FRANK H. BENITEZ CRUZ                 ADDRESS ON FILE
FRANK HERNANDEZ FLORES                ADDRESS ON FILE
FRANK J LOPEZ MORALES                 ADDRESS ON FILE
FRANK J RIVERA FRANCESHI              ADDRESS ON FILE
FRANK J SANTIAGO VELAZQUEZ            ADDRESS ON FILE
FRANK J. ESPINAR JUSTINIANO           ADDRESS ON FILE
FRANK L CRESCIONI COLON               ADDRESS ON FILE




                                                                                                   Page 2993 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 2994 of 3500
                                                                               17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                   Address1                      Address2                                  Address3         Address4   City                 State   PostalCode   Country
FRANK L MARIN                   ADDRESS ON FILE
FRANK L RODRIGUEZ GARCIA        ADDRESS ON FILE
FRANK LA TORRE VARELA           ADDRESS ON FILE
FRANK LEBRON MARTINEZ           DIEGO LEDEE BAZAN             APARTADO 891                                                          GUAYAMA              PR      00785
FRANK LOPEZ GONZALEZ            ADDRESS ON FILE
FRANK LOPEZ ORTIZ               ADDRESS ON FILE
FRANK LOPEZ PAGAN               ADDRESS ON FILE
                                                                                                        1711 PASEO LAS
FRANK LUIS CORDERO MEJIAS       LCDO. CARLOS GARCIA MORALES   MARGINAL URB. CONSTANCIA                  COLONIAS                    PONCE                PR      00717
FRANK M ARROYO                  ADDRESS ON FILE
FRANK M BONNELLY SAGREDO        ADDRESS ON FILE
FRANK M FERNANDEZ ROSARIO       ADDRESS ON FILE
FRANK M RIVERA ORTIZ            ADDRESS ON FILE
FRANK MANCIONE                  ADDRESS ON FILE
FRANK MARIN                     ADDRESS ON FILE
FRANK MARLON VALOY NUNEZ        ADDRESS ON FILE
FRANK MONTES RAMOS              ADDRESS ON FILE
FRANK MORALES LUGO              ADDRESS ON FILE
FRANK MORALES RODRIGUEZ         ADDRESS ON FILE
FRANK MORALES VAZQUEZ           ADDRESS ON FILE
FRANK MORALES, CARMEN M         ADDRESS ON FILE
FRANK MUNIZ ROSADO              ADDRESS ON FILE
FRANK NAZARIO ORSINI            ADDRESS ON FILE
FRANK NAZARIO ORSINO            ADDRESS ON FILE
FRANK O VELEZ CUBIAN            ADDRESS ON FILE
FRANK OCHOA SALINAS             ADDRESS ON FILE
FRANK ONESIMO CAMACHO SALDANA   ADDRESS ON FILE
FRANK ORTIZ MERCADO             ADDRESS ON FILE
FRANK PABEY CARABALLO           ADDRESS ON FILE
FRANK PADILLA CARRASQUILLO      ADDRESS ON FILE
FRANK PEREZ CIRIACO             ADDRESS ON FILE
FRANK PEREZ LOPEZ               ADDRESS ON FILE
FRANK PEREZ LOPEZ               ADDRESS ON FILE
FRANK PLATA, JULIO E.           ADDRESS ON FILE
FRANK POLA RODRIGUEZ            ADDRESS ON FILE
FRANK QUINONES JIMENEZ          ADDRESS ON FILE
FRANK QUINONES VIGO             ADDRESS ON FILE
FRANK R ACEVEDO ACEVEDO         ADDRESS ON FILE
FRANK R ARMSTRONG ANSELMI       ADDRESS ON FILE
FRANK R PABEY VELEZ             ADDRESS ON FILE
FRANK R PEREZ BURGOS            ADDRESS ON FILE
FRANK R RODRIGUEZ CALDERON      ADDRESS ON FILE
FRANK R RODRIGUEZ RIVERA        ADDRESS ON FILE
FRANK R SERRANO BONILLA         ADDRESS ON FILE
FRANK R SMITH ROMERO            ADDRESS ON FILE
FRANK R VELAZQUEZ ACEVEDO       ADDRESS ON FILE
Frank R. Goyco Cruz             ADDRESS ON FILE
FRANK RAMIREZ HENRIQUEZ         ADDRESS ON FILE
FRANK RAMOS MARTINEZ            ADDRESS ON FILE
FRANK RIOS ZAYAS                ADDRESS ON FILE
FRANK RIVERA ORTIZ              ADDRESS ON FILE
FRANK RODRÍGUEZ CORREA          ADDRESS ON FILE
FRANK RODRIGUEZ FELICIANO       ADDRESS ON FILE
FRANK RODRIGUEZ LEON            ADDRESS ON FILE
FRANK RODRIGUEZ MARCUCCI        ADDRESS ON FILE
FRANK RODRIGUEZ SANABRIA        ADDRESS ON FILE
FRANK ROMAN TORRES              ADDRESS ON FILE
FRANK S CENTRAL SERVICE         B2 ALLE PARQUE DE LA LUNA                                                                           BAIROA PARK CAGUAS   PR      00725
FRANK SANFILIPPO AIXALA         ADDRESS ON FILE
FRANK SENERIZ VEGA              ADDRESS ON FILE




                                                                                         Page 2994 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 2995 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
FRANK SEPULVEDA MARRERO              ADDRESS ON FILE
FRANK SORRENTINI MORALES             ADDRESS ON FILE
FRANK SOTOMAYOR PEDROSA              ADDRESS ON FILE
FRANK SUAREZ PEREZ                   ADDRESS ON FILE
FRANK SUGDEN CASTILLO                ADDRESS ON FILE
FRANK TORRES ORTIZ                   ADDRESS ON FILE
FRANK TOTTI VIZCARRONDO              ADDRESS ON FILE
FRANK VAZQUEZ SANCHEZ                ADDRESS ON FILE
FRANK VELEZ, MARY J                  ADDRESS ON FILE
FRANK X FERRER GONZALEZ              ADDRESS ON FILE
FRANK, MORGAN                        ADDRESS ON FILE
FRANKEN BENITEZ, IVELISSE            ADDRESS ON FILE
FRANKFORD HOSPITAL CANCER CTR        3998 RED LION RD SU 130                                                          PHILA           PA      19114
FRANKI CABAN BADILLO                 ADDRESS ON FILE
FRANKI MARTINEZ COLON                ADDRESS ON FILE
FRANKIE A RODRIGUEZ RIVAS            ADDRESS ON FILE
FRANKIE AMADOR RODRIGUEZ             ADDRESS ON FILE
FRANKIE BAERGA CASTRO                ADDRESS ON FILE
FRANKIE CARVAJAL TUFINO              ADDRESS ON FILE
FRANKIE DIAZ CASTRELLO               ADDRESS ON FILE
FRANKIE DIAZ OTERO                   ADDRESS ON FILE
FRANKIE E BAERGA MERCADO             ADDRESS ON FILE
FRANKIE G PINEIRO RIVERA             ADDRESS ON FILE
FRANKIE G ROLON ALVELO               ADDRESS ON FILE
FRANKIE GUADALUPE TORO               ADDRESS ON FILE
FRANKIE J CASTRO ROJAS               ADDRESS ON FILE
FRANKIE JOVE MATOS Y SONIA ACEVEDO   ADDRESS ON FILE
FRANKIE MONTALVO AMONES              ADDRESS ON FILE
FRANKIE MORALES BERRIOS              ADDRESS ON FILE
FRANKIE ORTIZ MALDONADO              ADDRESS ON FILE
FRANKIE OZORES SANTIAGO              ADDRESS ON FILE
FRANKIE PAGAN RODRIGUEZ              ADDRESS ON FILE
FRANKIE PEREZ CRUZ                   ADDRESS ON FILE
FRANKIE PEREZ RIVERA                 ADDRESS ON FILE
FRANKIE RAMOS MONTANEZ               ADDRESS ON FILE
FRANKIE RIVERA BAEZ                  ADDRESS ON FILE
FRANKIE RIVERA HERNANDEZ             ADDRESS ON FILE
FRANKIE RIVERA ROMAN                 ADDRESS ON FILE
FRANKIE SANTIAGO PACHECO             ADDRESS ON FILE
FRANKIE SANTIAGO SANTIAGO            ADDRESS ON FILE
FRANKIE SANTO RIVERA                 ADDRESS ON FILE
FRANKIE VELEZ, MARITZA               ADDRESS ON FILE
FRANKIE Y RODRIGUEZ ALVARADO         ADDRESS ON FILE
FRANKIE ZAYAS CORDERO                ADDRESS ON FILE
FRANKIN PEREZ GONZALEZ               ADDRESS ON FILE
FRANKLIN A HERRERA MELO              ADDRESS ON FILE
FRANKLIN A MATHIAS                   ADDRESS ON FILE
FRANKLIN A ROCAFORT MALDONADO        ADDRESS ON FILE
FRANKLIN A ROCAFORT MALDONADO DBA    ROCAFORD GROUP            PO BOX 366281                                          SAN JUAN        PR      00936
FRANKLIN A VALOY NUNEZ               ADDRESS ON FILE
FRANKLIN ALEQUIN VEGA                ADDRESS ON FILE
FRANKLIN BROWN MD, PAUL              ADDRESS ON FILE
FRANKLIN CAPACETTI RIVERA            ADDRESS ON FILE
FRANKLIN COUNTY MENTAL HEALTH        107 INDUSTRIAL DR STE B                                                          LOUISBURG       NC      27549
FRANKLIN COVEY PUERTO RICO INC       MONTE CLARO               PLAZA 30 MN‐34                                         BAYAMON         PR      00961
FRANKLIN COVEY PUERTO RICO INC       PO BOX 1861                                                                      SABANA SECA     PR      00952‐1861
FRANKLIN CRESPO RUIZ                 ADDRESS ON FILE
FRANKLIN CRUZ LINARES                ADDRESS ON FILE
FRANKLIN DIAZ GARCIA                 ADDRESS ON FILE
FRANKLIN DOMENECH BLAS               ADDRESS ON FILE




                                                                                 Page 2995 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 2996 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                   Address2                                    Address3   Address4   City           State   PostalCode   Country
FRANKLIN F ROSADO VAZQUEZ               ADDRESS ON FILE
FRANKLIN FUSTER VENEGAS                 ADDRESS ON FILE
FRANKLIN GARCIA VALENTIN                ADDRESS ON FILE
FRANKLIN GOMEZ                          ADDRESS ON FILE
FRANKLIN H BEARDSLEY RODRIGUEZ          ADDRESS ON FILE
FRANKLIN J RIVERA VEGA                  ADDRESS ON FILE
FRANKLIN J ROMAN MARTINEZ               ADDRESS ON FILE
FRANKLIN LANTIGUA FERMIN                ADDRESS ON FILE
FRANKLIN LANZO PIZARRO                  ADDRESS ON FILE
FRANKLIN LUGO MENDEZ                    ADDRESS ON FILE
FRANKLIN PACHECO PIERANTONI             ADDRESS ON FILE
FRANKLIN PADILLA ORTIZ                  ADDRESS ON FILE
FRANKLIN PAZ PERALTA                    ADDRESS ON FILE
FRANKLIN R CASADO CRUZ                  ADDRESS ON FILE
FRANKLIN RIVERA CARRASQUILLO            ADDRESS ON FILE
FRANKLIN RIVERA CARRASQUILLO            ADDRESS ON FILE
FRANKLIN RIVERA CONCEPCION              ADDRESS ON FILE
FRANKLIN RIVERA MARTINEZ                ADDRESS ON FILE
FRANKLIN RIVERA RIVERA                  CALLE 10 #508 BO. OBRERO                                                                     SANTURCE       PR      00915
FRANKLIN RODRIGUEZ MANGUAL              ADDRESS ON FILE
FRANKLIN SANTIAGO CRUZ                  ADDRESS ON FILE
FRANKLIN SANZ ACOSTA                    ADDRESS ON FILE
FRANKLIN SIFRE GONZALEZ                 ADDRESS ON FILE
FRANKLIN SIFRE IRIZARRY                 ADDRESS ON FILE
FRANKLIN SILVERIO PIMENTEL              ADDRESS ON FILE
FRANKLIN TEJADA                         ADDRESS ON FILE
FRANKLIN TROCHE DUCOT                   ADDRESS ON FILE
FRANKLIN VALDEZ                         ADDRESS ON FILE
Franklin Vidal Soto                     ADDRESS ON FILE
FRANKLYN AYALA TIRADO                   ADDRESS ON FILE
FRANKLYN FUENTES FUENTES                ADDRESS ON FILE
FRANKLYN GERENA NEGRON                  ADDRESS ON FILE
FRANKLYN GONZALEZ LUGO                  ADDRESS ON FILE
FRANKLYN I IRIZARRY CUADRADO            ADDRESS ON FILE
FRANKLYN LUGO VALENTIN                  ADDRESS ON FILE
FRANKLYN MARTINEZ GARCIA                ADDRESS ON FILE
FRANKLYN MATOS CAMARGO                  ADDRESS ON FILE
FRANKLYN RIVERA /EVERLIDYS PAMIAS       ADDRESS ON FILE
FRANKLYN RIVERA JIMENEZ                 ADDRESS ON FILE
FRANKLYN RIVERA TORRES                  ADDRESS ON FILE
FRANKLYN ROMAN CARRERO                  ADDRESS ON FILE
FRANKLYN SOTO VEGA                      ADDRESS ON FILE
FRANKLYN VALDIVIESO LUCIANO             ADDRESS ON FILE
FRANKLYN ZAMBRANA ROSADO                ADDRESS ON FILE
FRANKLYN ZAMBRANA ROSADO                ADDRESS ON FILE
FRANKS CERAMICS SHOP                    URB SABANA GDNS            4‐2 CALLE 8 AVE CAMPO RICO                                        CAROLINA       PR      00983
FRANKS CHASSIS CONTAINER REPAIRS, INC   HC 3 BOX 19157                                                                               RIO GRANDE     PR      00745‐9785
FRANK'S CONSTRUCCION INC.               PO BOX 1622                                                                                  UTUADO         PR      00641‐1622
FRANKS MD , ERIC H                      ADDRESS ON FILE
FRANKY IRIZARRY LLERAS                  ADDRESS ON FILE
Franky Montanez, Silvia                 ADDRESS ON FILE
FRANKY ORTIZ PEREZ                      ADDRESS ON FILE
FRANKY RAMOS NEGRON                     ADDRESS ON FILE
FRANKY VALENTIN, FABIAN                 ADDRESS ON FILE
FRANLIZ GARCIA MARTINEZ                 ADDRESS ON FILE
FRANQUI ACEVEDO, DAVID                  ADDRESS ON FILE
FRANQUI ACEVEDO, JESENIA                ADDRESS ON FILE
FRANQUI ALAMEDA, LUZ S                  ADDRESS ON FILE
FRANQUI ATILES, GISELA                  ADDRESS ON FILE
FRANQUI ATILES, JOSUE                   ADDRESS ON FILE




                                                                                                Page 2996 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2997 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRANQUI AVILES, GLORIVETTE       ADDRESS ON FILE
Franqui Berdecia, Harry J.       ADDRESS ON FILE
FRANQUI CAJIGAS, LOURDES         ADDRESS ON FILE
Franqui Cajigas, Luis F          ADDRESS ON FILE
FRANQUI CARLO, REINALDO          ADDRESS ON FILE
FRANQUI CASTILLO, JUAN           ADDRESS ON FILE
Franqui Cofresi, Maribel         ADDRESS ON FILE
FRANQUI COLLAZO, ALEXIS          ADDRESS ON FILE
FRANQUI CONCEPCION, ANGEL        ADDRESS ON FILE
FRANQUI CONCEPCION, CARMEN       ADDRESS ON FILE
FRANQUI CONCEPCION, CARMEN M.    ADDRESS ON FILE
FRANQUI CRUZ, OLGA Y             ADDRESS ON FILE
Franqui Cruz, Rafael             ADDRESS ON FILE
Franqui Cruz, Rafael             ADDRESS ON FILE
FRANQUI CUEVAS, DEBORAH          ADDRESS ON FILE
FRANQUI CUEVAS, LISSMARY         ADDRESS ON FILE
FRANQUI DE JESUS, JOSE           ADDRESS ON FILE
FRANQUI DE VELEZ, CARMEN N       ADDRESS ON FILE
FRANQUI DIAZ, IRAIMA             ADDRESS ON FILE
FRANQUI ESPIET, LUIS             ADDRESS ON FILE
FRANQUI ESPIET, LUIS             ADDRESS ON FILE
FRANQUI FLORES MD, PORFIRIO      ADDRESS ON FILE
FRANQUI FLORES, AWILDA ROSA      ADDRESS ON FILE
FRANQUI FLORES, JORGE            ADDRESS ON FILE
FRANQUI FLORES, PORFIRIO         ADDRESS ON FILE
FRANQUI FRANQUI, NELITZA         ADDRESS ON FILE
FRANQUI GONZALEZ, EDWIN          ADDRESS ON FILE
FRANQUI GONZALEZ, JAHDIEL        ADDRESS ON FILE
FRANQUI GONZALEZ, JEMUEL         ADDRESS ON FILE
FRANQUI GONZALEZ, JENNIFER       ADDRESS ON FILE
FRANQUI GONZALEZ, KEVIN          ADDRESS ON FILE
FRANQUI GONZALEZ, LUZ E          ADDRESS ON FILE
FRANQUI GONZALEZ, MADELINE       ADDRESS ON FILE
Franqui Hermina, Marcos A        ADDRESS ON FILE
Franqui Herminia, Marcos A       ADDRESS ON FILE
FRANQUI HERNANDEZ, ANA L         ADDRESS ON FILE
FRANQUI HERNANDEZ, HECTOR L.     ADDRESS ON FILE
FRANQUI HERNANDEZ, HECTOR LUIS   ADDRESS ON FILE
FRANQUI HERNANDEZ, JOSE          ADDRESS ON FILE
FRANQUI HERNANDEZ, SANDRA        ADDRESS ON FILE
FRANQUI ISAAC, CHARLINE          ADDRESS ON FILE
Franqui Lopez, Joanna            ADDRESS ON FILE
FRANQUI MARTINEZ, LOURDES        ADDRESS ON FILE
FRANQUI MARTINEZ, WILMA          ADDRESS ON FILE
FRANQUI MENDEZ, CARMEN L         ADDRESS ON FILE
FRANQUI MOLINA, ROSA J           ADDRESS ON FILE
FRANQUI MONSEGUR, XAVIER         ADDRESS ON FILE
FRANQUI MORALES, LISANDRA        ADDRESS ON FILE
FRANQUI MORALES, LIZBETH         ADDRESS ON FILE
FRANQUI MURIEL, JUANITA          ADDRESS ON FILE
FRANQUI NIEVES, EVA L            ADDRESS ON FILE
FRANQUI OLIVERA, NYLSA G         ADDRESS ON FILE
Franqui Ortiz, Tomas             ADDRESS ON FILE
FRANQUI PAGAN MD, WILSON         ADDRESS ON FILE
FRANQUI PAGAN, MARITZA I         ADDRESS ON FILE
FRANQUI PALERMO, ROBERTO         ADDRESS ON FILE
FRANQUI PEREZ, JOSE              ADDRESS ON FILE
FRANQUI PEREZ, JOSEPH            ADDRESS ON FILE
Franqui Perez, Joseph S          ADDRESS ON FILE
FRANQUI PORTELA, GILDA           ADDRESS ON FILE




                                                                             Page 2997 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 2998 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                       Address1                        Address2                                     Address3        Address4   City         State   PostalCode   Country
FRANQUI QUILES, AMPARO              ADDRESS ON FILE
FRANQUI RAMOS, BRENDA L             ADDRESS ON FILE
FRANQUI RAMOS, MELVIN               ADDRESS ON FILE
FRANQUI RIOS, IVONNE                ADDRESS ON FILE
FRANQUI RIVERA, ANTONIO             ADDRESS ON FILE
FRANQUI RIVERA, AURORA              ADDRESS ON FILE
FRANQUI RIVERA, CARMEN              ADDRESS ON FILE
FRANQUI RIVERA, GHEISA              ADDRESS ON FILE
FRANQUI RIVERA, IVONNE              ADDRESS ON FILE
FRANQUI RIVERA, ROSA                ADDRESS ON FILE
FRANQUI RODRIGUEZ, CARMEN L         ADDRESS ON FILE
FRANQUI RODRIGUEZ, MAYRA            ADDRESS ON FILE
FRANQUI ROMAN, AUREA E              ADDRESS ON FILE
FRANQUI ROMAN, ELENA                ADDRESS ON FILE
Franqui Roman, Israel               ADDRESS ON FILE
FRANQUI ROMAN, JOSE R               ADDRESS ON FILE
Franqui Roman, Rafael               ADDRESS ON FILE
FRANQUI ROMAN, SAMUEL               ADDRESS ON FILE
Franqui Rosa, Grisselle             ADDRESS ON FILE
FRANQUI ROSA, LOURDES Z             ADDRESS ON FILE
FRANQUI ROSARIO, JUAN               ADDRESS ON FILE
FRANQUI ROSARIO, JUAN A             ADDRESS ON FILE
FRANQUI RUIZ, NELLIE                ADDRESS ON FILE
FRANQUI SANCHEZ, JORGE              ADDRESS ON FILE
FRANQUI SANCHEZ, MARILYN            ADDRESS ON FILE
FRANQUI SANTANA, LILLIAM            ADDRESS ON FILE
FRANQUI SANTIAGO, IVELISSE          ADDRESS ON FILE
FRANQUI TERRON, GLADYSEL            ADDRESS ON FILE
FRANQUI TORRES, DIALMA              ADDRESS ON FILE
FRANQUI, IVELISSE                   LCDO. JOSÉ C. MARTÍNEZ TOLEDO   LCDO. JOSÉ C. MARTÍNEZ TOLEDO                PO BOX 362132              SAN JUAN     PR      00936‐2132
FRANQUI, JOSE F                     ADDRESS ON FILE
Franquiz Acevedo, David             ADDRESS ON FILE
FRANQUIZ ACEVEDO, ROLANDO           ADDRESS ON FILE
FRANQUIZ CARRILLO, ALFREDO          ADDRESS ON FILE
FRANQUIZ COTTO, LUIS                ADDRESS ON FILE
FRANQUIZ DIAZ, ISABEL               ADDRESS ON FILE
FRANQUIZ MATOS MD, ALEXANDER        ADDRESS ON FILE
FRANQUIZ MATOS MD, JOSE M           ADDRESS ON FILE
FRANQUIZ MATOS, JOSE M.             ADDRESS ON FILE
FRANQUIZ MELENDEZ, NELSON           ADDRESS ON FILE
FRANQUIZ RIVERA, GERARDO            ADDRESS ON FILE
FRANQUIZ ROSARIO, RICARDO           ADDRESS ON FILE
FRANQUIZ SALAS, ANA                 ADDRESS ON FILE
FRANSHELY RAMOS SANTOS              ADDRESS ON FILE
FRANSHESCA COLON DAVILA             ADDRESS ON FILE
FRANSHESCA M GONZALEZ RODRIGUEZ     ADDRESS ON FILE
FRANSHESKA ALEJANDRO MARTINEZ       ADDRESS ON FILE
FRANSHESKA ROSADO TOLENTINO         ADDRESS ON FILE
FRANSKELIZ SIERRA                   ADDRESS ON FILE
FRANVAL, INC.                       PO BOX 360866                                                                                           SAN JUAN     PR      00936
FRANYELICA RIVERA FUENTES           ADDRESS ON FILE
FRANZ, KRISTINA                     ADDRESS ON FILE
FRANZET HERNANDEZ / ULBALDO DUANY   ADDRESS ON FILE
FRASQUERI BERRIOS, MARIA DEL C      ADDRESS ON FILE
FRASQUERI BERRIOS, MARITZA          ADDRESS ON FILE
FRASQUERI FELICIANO, WILLIAM        ADDRESS ON FILE
FRASQUERI PINEIRO, MARTA E          ADDRESS ON FILE
FRASQUERI RESTO, JEAN               ADDRESS ON FILE
FRASQUERI RIOS, RUTH                ADDRESS ON FILE
FRASQUERI TOSTE, RAFAEL             ADDRESS ON FILE




                                                                                                Page 2998 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 2999 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRASQUERI TOSTE, ZORAIDA         ADDRESS ON FILE
FRAT OFIC CUSTODIA               ADDRESS ON FILE
Fratcher Perez, Laura S.         ADDRESS ON FILE
FRATERNIDAD GAMMA PHI RHO INC    PO BOX 265                                                                       GUANICA      PR      00653
FRATERNIDAD OMICRON PHI CHI      ADDRESS ON FILE
FRATICELLE SANYET, IAN           ADDRESS ON FILE
FRATICELLI ALMODOVAR, RAQUEL     ADDRESS ON FILE
FRATICELLI ALVARADO, LUZ D       ADDRESS ON FILE
FRATICELLI ARROYO, ANGELA        ADDRESS ON FILE
Fraticelli Arroyo, Jesus         ADDRESS ON FILE
FRATICELLI CABRERA, JUAN         ADDRESS ON FILE
FRATICELLI CALES, LETTIS         ADDRESS ON FILE
FRATICELLI CANDAL, FELIPE        ADDRESS ON FILE
FRATICELLI CRESPO, EVA           ADDRESS ON FILE
FRATICELLI CRUZ, WILLIAM         ADDRESS ON FILE
FRATICELLI DATIS, ANTHONY        ADDRESS ON FILE
FRATICELLI DE LEON, DAKMARY      ADDRESS ON FILE
FRATICELLI DE TROCHE, MONSITA    ADDRESS ON FILE
FRATICELLI FERRANDO, ISABEL      ADDRESS ON FILE
FRATICELLI FIGUEROA, ANGEL       ADDRESS ON FILE
FRATICELLI FIGUEROA, DANIEL D.   ADDRESS ON FILE
FRATICELLI FIGUEROA, MARIBEL     ADDRESS ON FILE
FRATICELLI FIQUEROA, EDNA        ADDRESS ON FILE
FRATICELLI FRATICELLI, CARLOS    ADDRESS ON FILE
FRATICELLI GALARZA, ALINA        ADDRESS ON FILE
FRATICELLI GALARZA, ZORAIDA      ADDRESS ON FILE
FRATICELLI GARCIA, VERA A        ADDRESS ON FILE
FRATICELLI GONZALEZ, DANITZA     ADDRESS ON FILE
FRATICELLI GONZALEZ, FREDDIE     ADDRESS ON FILE
FRATICELLI LLERAS, LUIS          ADDRESS ON FILE
Fraticelli Lleras, Luis A        ADDRESS ON FILE
FRATICELLI LUGO, JOSE            ADDRESS ON FILE
FRATICELLI LUGO, JOSE            ADDRESS ON FILE
FRATICELLI LUGO, JOSE            ADDRESS ON FILE
FRATICELLI MALDONADO, MARIA J    ADDRESS ON FILE
FRATICELLI MARTINEZ, CARLOS      ADDRESS ON FILE
FRATICELLI MARTINEZ, ROBERTO     ADDRESS ON FILE
FRATICELLI MEJIA, LIBIA L.       ADDRESS ON FILE
FRATICELLI MEJIAS, NITZA A       ADDRESS ON FILE
FRATICELLI MERCADO, JUAN         ADDRESS ON FILE
FRATICELLI MERCADO, LISSETTE     ADDRESS ON FILE
FRATICELLI MORALES, PORFIRIO     ADDRESS ON FILE
FRATICELLI NIEVES MD, ANGEL L    ADDRESS ON FILE
FRATICELLI NIEVES, CARLOS        ADDRESS ON FILE
FRATICELLI OLIVER, JEFFRY        ADDRESS ON FILE
FRATICELLI ORTIZ, BRENDA         ADDRESS ON FILE
FRATICELLI PAGAN, ALBERTO        ADDRESS ON FILE
FRATICELLI PAGAN, CARMEN J       ADDRESS ON FILE
FRATICELLI PAGAN, ROSA           ADDRESS ON FILE
FRATICELLI QUINONES, LEIRA       ADDRESS ON FILE
FRATICELLI QUIROS, LIGNERIS      ADDRESS ON FILE
FRATICELLI RAMOS, CARMEN E       ADDRESS ON FILE
FRATICELLI RAMOS, MAGDALENA      ADDRESS ON FILE
FRATICELLI REBOLLAR, FRANCISCO   ADDRESS ON FILE
FRATICELLI RODRIGUEZ, ANA        ADDRESS ON FILE
FRATICELLI RODRIGUEZ, ANA D      ADDRESS ON FILE
Fraticelli Rodriguez, Jaime      ADDRESS ON FILE
FRATICELLI RODRIGUEZ, JULIO      ADDRESS ON FILE
FRATICELLI ROSADO, RICARDO       ADDRESS ON FILE
FRATICELLI SACARELLO, LUIS       ADDRESS ON FILE




                                                                             Page 2999 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3000 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FRATICELLI SANTANA, ETIENNE      ADDRESS ON FILE
FRATICELLI SANTANA, JOSE         ADDRESS ON FILE
FRATICELLI SANTIAGO, ANDRES      ADDRESS ON FILE
FRATICELLI SANTIAGO, GIL         ADDRESS ON FILE
FRATICELLI SANTIAGO, LUIS A.     ADDRESS ON FILE
FRATICELLI SANTIAGO, MARIA M     ADDRESS ON FILE
FRATICELLI TORRES, ANA R         ADDRESS ON FILE
FRATICELLI TORRES, JOSE          ADDRESS ON FILE
FRATICELLI TORRES, MIGDALIA      ADDRESS ON FILE
FRATICELLI TORRES, MILAGROS E.   ADDRESS ON FILE
FRATICELLI TORRES, MILDRED       ADDRESS ON FILE
FRATICELLI TORRES, NIVIA C       ADDRESS ON FILE
FRATICELLI TRUCKING CO INC       529 FIRM DELIVERY                                                                PENUELAS     PR      00624
FRATICELLI TRUCKING CO INC       FIRM DELIVERY             529 CARR 385                                           PENUELAS     PR      00624
FRATICELLI VAZQUEZ, AURORA       ADDRESS ON FILE
Fraticelli Vazquez, Porfirio     ADDRESS ON FILE
FRATICELLI VELEZ, ANGEL          ADDRESS ON FILE
FRATICELLI VELEZ, CARMELINA      ADDRESS ON FILE
Fraticelli Vilanova, Sergio A.   ADDRESS ON FILE
FRATICELLY DE JIMENEZ, AIDA N    ADDRESS ON FILE
FRATICELLY DIAZ, AUREA E         ADDRESS ON FILE
FRATICELLY RODRIGUEZ, LYDIA      ADDRESS ON FILE
FRATICHELLI AQUINO, KELLYNES     ADDRESS ON FILE
FRATICHELLI SANTIAGO, NINETTE    ADDRESS ON FILE
FRATICHELLI VAZQUEZ, MARIA       ADDRESS ON FILE
FRAU & ASOCIADOS                 PO BOX 331150                                                                    PONCE        PR      00733‐1150
FRAU CESPEDES, PETER F           ADDRESS ON FILE
FRAU CLAS, ANA C                 ADDRESS ON FILE
FRAU CONCEPCION, MIGUEL          ADDRESS ON FILE
FRAU ESCUDERO, JUAN A.           ADDRESS ON FILE
FRAU GALARZA, MERCEDES           ADDRESS ON FILE
FRAU LARRACUENTE, ELIEZER        ADDRESS ON FILE
FRAU NICOLE, ISABEL              ADDRESS ON FILE
FRAU ORTIZ, JINORIS Z            ADDRESS ON FILE
FRAU RAMOS, MIGUEL               ADDRESS ON FILE
FRAUEN GROUP INC                 PO BOX 1497                                                                      GUAYNABO     PR      00970‐1497
FRAUSTO ROJAS, MARIA G           ADDRESS ON FILE
FRAVAL FRANCILLETTE, CARLOS      ADDRESS ON FILE
FRAWING J JUSINO PEREZ           ADDRESS ON FILE
FRAY L PELLOT CRUZ               ADDRESS ON FILE
FRAY L RAMIREZ VELAZQUEZ         ADDRESS ON FILE
FRAY LOUIS MARTINEZ HODGES       ADDRESS ON FILE
FRAY LUIS CAMACHO RODRIGUEZ      ADDRESS ON FILE
FRD AMILL, MARILYN               ADDRESS ON FILE
FRECHEL FIGUEROA, JOSE           ADDRESS ON FILE
FRECHEL SILVA, RAFAEL            ADDRESS ON FILE
FRED A VILLAFANE SANTIAGO        ADDRESS ON FILE
FRED ACEVEDO, NERIS Y.           ADDRESS ON FILE
FRED ALMEDA, IVONNE L.           ADDRESS ON FILE
FRED AMILL, XIOMARA              ADDRESS ON FILE
FRED APONTE, LOYDA               ADDRESS ON FILE
FRED AVILES, HAYDEE              ADDRESS ON FILE
FRED AVILES, LILLIAM E           ADDRESS ON FILE
FRED BARRETO, NEISHALY           ADDRESS ON FILE
FRED CARRASQUILLO, LUIS F        ADDRESS ON FILE
FRED CARRILLO, ALICIA            ADDRESS ON FILE
Fred Carrillo, Luis O            ADDRESS ON FILE
FRED CARRILLO, MIRIAM            ADDRESS ON FILE
FRED COSTA ROSA                  ADDRESS ON FILE
FRED CRESPO, LUIS                ADDRESS ON FILE




                                                                             Page 3000 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3001 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City            State   PostalCode   Country
FRED ENCARNACION, EMMA                  ADDRESS ON FILE
FRED ENCARNACION, FRANCISCA             ADDRESS ON FILE
FRED ESQUILIN, JUAN L                   ADDRESS ON FILE
FRED GARCIA, ANGEL L.                   ADDRESS ON FILE
FRED GARCIA, DAIZABETH                  ADDRESS ON FILE
FRED GARCIA, EDNA                       ADDRESS ON FILE
FRED GARCIA, EDNA                       ADDRESS ON FILE
FRED GARCIA, EDNA                       ADDRESS ON FILE
FRED GARCIA, JOSE M                     ADDRESS ON FILE
FRED GINES, JOSHUA                      ADDRESS ON FILE
FRED GINES, NELSON O                    ADDRESS ON FILE
FRED HERNANDEZ SANTIAGO                 ADDRESS ON FILE
FRED HERNANDEZ, DIANA                   ADDRESS ON FILE
FRED HERNANDEZ, NAYDA                   ADDRESS ON FILE
FRED MALDONADO, RUTH N                  ADDRESS ON FILE
FRED MARRERO, ELBA L                    ADDRESS ON FILE
FRED MENDEZ ABRAHAM                     ADDRESS ON FILE
Fred Molina, Oscar                      ADDRESS ON FILE
FRED NAVARRO, LENNY A.                  ADDRESS ON FILE
FRED ORLANDO, YOLANDA                   ADDRESS ON FILE
Fred Ortiz, Juan                        ADDRESS ON FILE
FRED ORTIZ, MIGUEL                      ADDRESS ON FILE
FRED PEREZ, CATHERINE                   ADDRESS ON FILE
FRED PEREZ, LUZ E.                      ADDRESS ON FILE
FRED PEREZ, MELANY                      ADDRESS ON FILE
FRED PRYOR SEMINARS                     REMITTANCE PAYMENT        PO BOX 410498                                          KANSAS CITY     MO      64141‐0498
FRED QUILES, ANA M                      ADDRESS ON FILE
FRED RAMOS, EVELYN                      ADDRESS ON FILE
FRED RAMOS, LILLIAM                     ADDRESS ON FILE
FRED RAMOS, NELSON                      ADDRESS ON FILE
FRED REICHARD VILLAFANE                 ADDRESS ON FILE
FRED REYES, BLANCA                      ADDRESS ON FILE
Fred Reyes, Blanca Iris                 ADDRESS ON FILE
FRED REYES, CARLOS                      ADDRESS ON FILE
FRED RIVERA, IVETTE                     ADDRESS ON FILE
FRED RIVERA, VICTOR                     ADDRESS ON FILE
FRED RODRIGUEZ, ALONDRA                 ADDRESS ON FILE
Fred Rodriguez, Jorge L.                ADDRESS ON FILE
FRED RODRIGUEZ, VILMA E.                ADDRESS ON FILE
FRED ROSADO, ROSA                       ADDRESS ON FILE
FRED ROSARIO RIOS                       ADDRESS ON FILE
FRED SALGADO, LUIS                      ADDRESS ON FILE
FRED SANCHEZ, CARMELO                   ADDRESS ON FILE
FRED SANCHEZ, ELIZABETH                 ADDRESS ON FILE
FRED SANJURJO, CARLOS                   ADDRESS ON FILE
FRED SANJURJO, DAFNE                    ADDRESS ON FILE
FRED SANTANA MD, ROBERTO                ADDRESS ON FILE
FRED TRINIDAD, MARIA D                  ADDRESS ON FILE
FRED VALENTIN, LUIS                     ADDRESS ON FILE
FRED VELEZ, ANA I                       ADDRESS ON FILE
FRED ZAPATA, STEPHANIE                  ADDRESS ON FILE
FREDALEX MOTOCYCLE                      ADDRESS ON FILE
FREDALYS ROSARIO CONTRERAS              ADDRESS ON FILE
FREDASI ROSARIO REYES                   ADDRESS ON FILE
FREDDI A. LINARES ROMERO                ADDRESS ON FILE
FREDDIE A CAJIGAS CHAPARRO              ADDRESS ON FILE
FREDDIE A DIAZ MORAN                    ADDRESS ON FILE
FREDDIE A HERNANDEZ PADIN               ADDRESS ON FILE
FREDDIE AGRAIT FELICIANO H/N/C AGRAIT   ADDRESS ON FILE
FREDDIE ANDINO VILLEGAS                 ADDRESS ON FILE




                                                                                    Page 3001 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3002 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                           Address1                        Address2                       Address3   Address4   City            State   PostalCode   Country
FREDDIE APONTE CRUZ                     ADDRESS ON FILE
FREDDIE APONTE LOZADA                   ADDRESS ON FILE
FREDDIE AYALA DIAZ                      ADDRESS ON FILE
FREDDIE AYUSO ROSA                      ADDRESS ON FILE
FREDDIE BARRETO REYES                   ADDRESS ON FILE
FREDDIE CARIDES GONZALEZ                ADDRESS ON FILE
FREDDIE CINTRON PAGAN                   ADDRESS ON FILE
FREDDIE COLON MORENO                    ADDRESS ON FILE
FREDDIE CORDERO ESCOBALES               ADDRESS ON FILE
FREDDIE DICKSON QUINONEZ                ADDRESS ON FILE
FREDDIE E MERCADO LOPEZ                 ADDRESS ON FILE
FREDDIE E TORRES DIAZ                   ADDRESS ON FILE
FREDDIE E VELAZQUE FELICIANO            ADDRESS ON FILE
FREDDIE FALCON REYES                    ADDRESS ON FILE
FREDDIE FERNANDEZ RODRIGUEZ             ADDRESS ON FILE
FREDDIE FIGUEROA MELENDEZ               ADDRESS ON FILE
FREDDIE G ORTIZ LLINAS                  ADDRESS ON FILE
FREDDIE GALARZA MARTINEZ                ADDRESS ON FILE
FREDDIE GALARZA MARTÍNEZ                SR. FREDDIE GALARZA MARTÍNEZ    HC 02 BOX 343                                        YAUCO           PR      00698
FREDDIE GUADALUPE DELGADO               ADDRESS ON FILE
FREDDIE H CORREA CUBANO                 ADDRESS ON FILE
FREDDIE H ROMAN AVILES                  ADDRESS ON FILE
FREDDIE H. ROMAN                        ADDRESS ON FILE
FREDDIE HERNANDEZ RODRIGUEZ             ADDRESS ON FILE
FREDDIE HERNANDEZ RODRIGUEZ             ADDRESS ON FILE
FREDDIE I ACEVEDO COLL                  ADDRESS ON FILE
FREDDIE JOVAN MEDINA CRUZ               ADDRESS ON FILE
FREDDIE LORENZO DE JESUS                ADDRESS ON FILE
FREDDIE LUGO GINES                      ADDRESS ON FILE
FREDDIE M CASTILLO HERNANDEZ            ADDRESS ON FILE
FREDDIE MARCANO GONZALEZ                ADDRESS ON FILE
FREDDIE MARTINEZ SOTO                   ADDRESS ON FILE
FREDDIE MATOS LOPEZ                     ADDRESS ON FILE
FREDDIE MATOS LOPEZ                     ADDRESS ON FILE
FREDDIE MONTANEZ LOPEZ / MAYDA CASTRO   ADDRESS ON FILE
FREDDIE MORALES TORRES                  ADDRESS ON FILE
FREDDIE MUNIZ RAMIREZ                   ADDRESS ON FILE
FREDDIE NEGRON SANCHEZ                  ADDRESS ON FILE
FREDDIE OSCAR TORRES GOMEZ              ADDRESS ON FILE
FREDDIE PÉREZ SERRANO                   LCDO. MIGUEL A. RIVERA MEDINA   RR‐3 BOX 3724                                        RIO PIEDRAS     PR      00926
FREDDIE RODRIGUEZ                       ADDRESS ON FILE
FREDDIE RODRIGUEZ PAGAN                 ADDRESS ON FILE
FREDDIE RODRIGUEZ RIVERA                ADDRESS ON FILE
FREDDIE RUIZ RODRIGUEZ                  ADDRESS ON FILE
FREDDIE SEPULVEDA SANTIAGO              ADDRESS ON FILE
FREDDIE W VELEZ SANTIAGO                ADDRESS ON FILE
FREDDY A HERNANDEZ MARTINEZ             ADDRESS ON FILE
FREDDY A RAYMOND CORREA                 ADDRESS ON FILE
FREDDY A RODRIGUEZ ORTIZ                ADDRESS ON FILE
FREDDY A. RODRIGUEZ RDRZ.               ADDRESS ON FILE
FREDDY BARBOSA COLON                    ADDRESS ON FILE
FREDDY BENITEZ ECHEVARRIA               ADDRESS ON FILE
FREDDY BLANCO SANTANA                   ADDRESS ON FILE
FREDDY BURGOS BAEZ                      ADDRESS ON FILE
FREDDY COCA ALMANZAR                    ADDRESS ON FILE
FREDDY CRANE SERVICE INC                PMB 198 HC 01 BOX 29030                                                              CAGUAS          PR      00725
FREDDY CRANE SERVICE INC                URB TURABO GARDENS              S 13 CALLE 22                                        CAGUAS          PR      00725
FREDDY CRANE SERVICE INC                URB TURABO GDNS                 S13 CALLE 22                                         CAGUAS          PR      00727
FREDDY CRUZ BONILLA                     ADDRESS ON FILE
FREDDY DOMENECH DOMENECH                ADDRESS ON FILE




                                                                                        Page 3002 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3003 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                      Address1                         Address2                        Address3   Address4   City           State   PostalCode   Country
FREDDY E RIVERA OCASIO             ADDRESS ON FILE
FREDDY FIGUEROA                    ADDRESS ON FILE
FREDDY FLORES FUENTES              ADDRESS ON FILE
FREDDY G MORALES ORTIZ             ADDRESS ON FILE
FREDDY GARCIA GONZALEZ             ADDRESS ON FILE
FREDDY GONZALEZ SERRANO            ADDRESS ON FILE
FREDDY H GARCIA HIDALGO            ADDRESS ON FILE
FREDDY HERNANDEZ BELLON            ADDRESS ON FILE
FREDDY IDONA FERNANDEZ             ADDRESS ON FILE
FREDDY IDONA FERNANDEZ             ADDRESS ON FILE
FREDDY IDONA FERNANDEZ             ADDRESS ON FILE
FREDDY J CARRERAS ALVARADO         ADDRESS ON FILE
FREDDY J ORTIZ DIAZ                ADDRESS ON FILE
FREDDY J. CARRERAS ALVARADO        ADDRESS ON FILE
FREDDY L GARCIA ESQUILIN           ADDRESS ON FILE
FREDDY LUIS VELEZ SANTIAGO         ADDRESS ON FILE
FREDDY M PEREZ RAMIREZ             ADDRESS ON FILE
FREDDY MALDONADO PEREZ             ADDRESS ON FILE
FREDDY MARTINEZ                    ADDRESS ON FILE
FREDDY MARTINEZ GONZALEZ           ADDRESS ON FILE
FREDDY MARTINEZ RIVERA             ADDRESS ON FILE
FREDDY MAS VARGAS                  ADDRESS ON FILE
FREDDY MEDINA RAMOS                ADDRESS ON FILE
FREDDY MEDINA RAMOS                ADDRESS ON FILE
FREDDY MORALES CASILLAS            ADDRESS ON FILE
FREDDY MORALES MONTALVO            ADDRESS ON FILE
FREDDY MURIEL CINTRON              ADDRESS ON FILE
FREDDY O VAZQUEZ DIAZ              ADDRESS ON FILE
FREDDY ORTIZ DE JESUS              ADDRESS ON FILE
FREDDY ORTIZ RIVERA                ADDRESS ON FILE
FREDDY PEREZ /MARIA S SALCEDO      ADDRESS ON FILE
FREDDY PFIGUEROA SALAZAR           ADDRESS ON FILE
FREDDY RODRIGUEZ CALAF             ADDRESS ON FILE
FREDDY RODRIGUEZ DE LA CRUZ        ADDRESS ON FILE
FREDDY RODRIGUEZ RIVERA            ADDRESS ON FILE
FREDDY RUIZ MARTINEZ               ADDRESS ON FILE
FREDDY RUIZ MONTANEZ               ADDRESS ON FILE
FREDDY SALLENT AQUINO              ADDRESS ON FILE
FREDDY SAMPOLL INC                 P O BOX 9046                                                                           PONCE          PR      00732
FREDDY SANCHEZ LABOY               ADDRESS ON FILE
FREDDY SANTIAGO RODRIGUEZ          ADDRESS ON FILE
FREDDY SANTOS SANTIAGO             ADDRESS ON FILE
FREDDY SEDA Y/O SANDRA I ANAYA     ADDRESS ON FILE
FREDDY SERVICE STATION INC         PO BOX 3502 7                                                                          JUANA DIAZ     PR      00795
FREDDY SERVICE STATION INC         VILLA EL ENCANTO                 M3 CALLE 8                                            JUANA DIAZ     PR      00795
FREDDY TEJADA HENRIQUE             ADDRESS ON FILE
FREDDY TORRES DOMINGUEZ            ADDRESS ON FILE
FREDDY TORRES RODRIGUEZ            ADDRESS ON FILE
FREDDY TRINIDAD MURIEL             ADDRESS ON FILE
FREDDY VARELA BERRIOS              ADDRESS ON FILE
FREDDY VARELA BERRIOS              ADDRESS ON FILE
FREDDY VARGAS RODRIGUEZ            ADDRESS ON FILE
FREDDY VEGA ORELLANIS              LCDO. RAMÓN E. SEGARRA BERRÍOS   PO BOX 9023853                                        SAN JUAN       PR      00902‐3853
FREDDY VELAZQUEZ FIGUEROA          ADDRESS ON FILE
FREDDY VELEZ LLITERAS              ADDRESS ON FILE
FREDDY VILLAMIZAR                  ADDRESS ON FILE
FREDDY ZAYAS LOPEZ                 ADDRESS ON FILE
FREDERIC ROCAFORT                  ADDRESS ON FILE
FREDERICK A CORTES RIVEA           ADDRESS ON FILE
FREDERICK BEDER DAB FDB SERVICES   352 AVE SAN CLAUDIO PMB 104                                                            SAN JUAN       PR      00926




                                                                                     Page 3003 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3004 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                             Address1                         Address2                                  Address3                Address4       City          State   PostalCode   Country
FREDERICK CHASE                           ADDRESS ON FILE
FREDERICK COLL GUERRERO                   ADDRESS ON FILE
FREDERICK CORDERO RIVERA                  ADDRESS ON FILE
FREDERICK CRUZ NUNEZ                      ADDRESS ON FILE
FREDERICK D BEDER DBA FDB SERVICES        352 AVE SAN CLAUDIO PMB 104                                                                                       SAN JUAN      PR      00926‐4117
FREDERICK E WENDT HUGHES                  ADDRESS ON FILE
FREDERICK FLORES GONZALEZ                 ADDRESS ON FILE
FREDERICK GARCIA ARRYO                    ADDRESS ON FILE
FREDERICK GAUTHIER HERRERA                ADDRESS ON FILE
FREDERICK GAUTIER HERRERA                 ADDRESS ON FILE
FREDERICK MARTINEZ NEGRON                 ADDRESS ON FILE
FREDERICK MUHLACH SANTOS                  ADDRESS ON FILE
FREDERICK RODRIGUEZ RODRIGUEZ             ADDRESS ON FILE
FREDERICK VAZQUEZ MARTINEZ                ADDRESS ON FILE
FREDERICK Y RIOS GONZALEZ                 ADDRESS ON FILE
FREDERICKS, GERALD                        ADDRESS ON FILE
FREDERIK ITHIER COLON                     ADDRESS ON FILE
FREDERIKSTED MENTAL HEALTH CLINIC         516 STRAND ST                    FREDERIKSTED                                                                     ST CROIX      VI      00840
FREDERIQUE, EDMOND                        ADDRESS ON FILE
FREDESVINDA RAMIREZ Y AIDA LUNA           ADDRESS ON FILE
FREDESVINDA REYES RODRIGUEZ               ADDRESS ON FILE
                                                                                                                     DIVISION DE SERVICIOS
FREDESVINDA REYES RODRÍGUEZ               LCDO. JUAN E. SERRANO SANTIAGO   ASOCIACION DE EMPLEADOS DEL ELA           LEGALES                 PO BOX 70199   SAN JUAN      PR      00936‐8190
FREDESWINDA BAEZ                          ADDRESS ON FILE
FREDESWINDA BAEZ                          ADDRESS ON FILE
FREDESWINDA CARRAU ACOSTA                 ADDRESS ON FILE
FREDESWINDA CARRAU ACOSTA                 ADDRESS ON FILE
FREDESWINDA GARCÍA RAMIREZ DE ARELLANO    ADDRESS ON FILE
FREDESWINDA MUðIZ CABAN                   ADDRESS ON FILE
FREDESWINDA MUNIZ CABAN                   ADDRESS ON FILE
FREDESWINDA MUNIZ CABAN                   ADDRESS ON FILE
FREDESWINDA QUINONEZ CARABALLO            ADDRESS ON FILE
FREDESWINDA RODRIGUEZ LOPEZ               ADDRESS ON FILE
FREDESWINDA SANCHEZ RODRIGUEZ             ADDRESS ON FILE
FREDESWINDA SANTOS PIZARRO                ADDRESS ON FILE
FREDESWINDA VALENTIN VALENTIN             ADDRESS ON FILE
FREDESWINDA VALENTIN VALENTIN             ADDRESS ON FILE
FREDESWINDA VALENTIN VALENTIN             ADDRESS ON FILE
FREDIVEL PEREZ FUENTES                    ADDRESS ON FILE
FREDIVERTO ACEVEDO MORALES                ADDRESS ON FILE
FREDRICK VEGA LOZADA                      ADDRESS ON FILE
FREDRIK WILHELM HAENSCH MUDRACK           ADDRESS ON FILE
FREDY E MONTES DIPP                       ADDRESS ON FILE
FREDY E MONTES DIPP                       ADDRESS ON FILE
FREDY E VARELA LOPEZ DBA DIRSTRIBUIDORA   VARELA                           HC 04 BOX 6641                                                                   COROZAL       PR      00783
FREDY ORTIZ RODRIGUEZ Y/O LUIS M CRESPO   ADDRESS ON FILE
FREDY VARELA BERRIOS                      ADDRESS ON FILE
FREDY VARELA BERRIOS                      ADDRESS ON FILE
FREDY VARELA LOPEZ                        ADDRESS ON FILE
FREDY VARELA/ DISTRIBUDORA VARELA         HC 04 BOX 6641                                                                                                    COROZAL       PR      00783
FREDY VARELA/DBA/AGRO CAMPO DE PR         BO. PALES BLANCA 4.3 CARR. 803                                                                                    COROZAL       PR      00783
FREDYSWINDA TORRES DROZ                   ADDRESS ON FILE
FREDYWILDA REYES GONZALEZ                 ADDRESS ON FILE
FREDYWILDA REYES GONZALEZ                 LIC. JORGE RAMOS MORA            PMB 790138 CALLE WISTON CHURCHILL                                                SAN JUAN      PR      00926‐6023
FREE 2 VOICE LLC                          161 PANORAMA VILLAGE                                                                                              BAYAMON       PR      00957
FREE CLINIC OF ALLENTOWN AT               224 N 6TH ST                                                                                                      ALLENTOWN     PA      18102‐4129
FREE, JESSICA                             ADDRESS ON FILE
FREEDA JUSINO SIERRA                      ADDRESS ON FILE
Freedom Networks, LLC                     PO Box 1806                                                                                                       Vega Baja     PR      00694‐1806
FREEHILL, EMILY                           ADDRESS ON FILE




                                                                                                      Page 3004 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                 Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3005 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                                    Address1                             Address2                                 Address3               Address4   City              State   PostalCode   Country
FREEMAN DANIEL, RANDY                            ADDRESS ON FILE
FREEMAN DECORATING SERVICES INC                  P O BOX 660613                                                                                                  DALLAS            TX      75266‐0613
FREEMAN EMMANUELLI, MARGUERITE                   ADDRESS ON FILE
FREEMAN EXPOSITIONS INC                          PO BOX 660613                                                                                                   DALLAS            TX      75266‐0613
FREER HERNANDEZ, ALEXANDRA                       ADDRESS ON FILE
FREER HERNANDEZ, ALEXANDRA M.                    ADDRESS ON FILE
FREESE SUAREZ MD, RAMON                          ADDRESS ON FILE
FREESTYLE ENTERPRISES, INC                       COLINAS DE FAIRVIEW                  4T11 CALLE 209                                                             TRUJILLO ALTO     PR      00976‐8235
FREEZE SUAREZ, RAMON                             ADDRESS ON FILE
FREIDA GONZALEZ TORRES                           ADDRESS ON FILE
FREIDA RENTAS ARCE                               ADDRESS ON FILE
FREIGHT GRACIA, ANA M                            ADDRESS ON FILE
FREIGHTLINER TRUCK & SERVICE INC                 PALMAS INDUSTRIAL PARK               CARR 869 KM 1 5                                                            CATANO            PR      00962
FREIJE ORTIZ, VIVIANA                            ADDRESS ON FILE
FREIJO SUAREZ, JOSE                              ADDRESS ON FILE
FREIJOMIL CEDENO, JUAN M                         ADDRESS ON FILE
FREIMOT TOMEL AFANADOR                           ADDRESS ON FILE
FREIRE BAEZ, JAIME                               ADDRESS ON FILE
FREIRE BORGES, CARLOS                            ADDRESS ON FILE
FREIRE BORGES, LUIS F.                           ADDRESS ON FILE
FREIRE BURGOS, NIVIA                             ADDRESS ON FILE
FREIRE BURGOS, NIVIA D.                          ADDRESS ON FILE
FREIRE FAJARDO, ARNALDO R                        ADDRESS ON FILE
FREIRE FAJARDO, DEBRAH                           ADDRESS ON FILE
FREIRE FLORIT, VIVIANA                           ADDRESS ON FILE
Freire Melendez, Juan C                          ADDRESS ON FILE
FREIRE ORTIZ, ALFRED                             ADDRESS ON FILE
FREIRE PEREZ, LUIS ANGEL                         ADDRESS ON FILE
FREIRE RABELL, FERNANDO                          ADDRESS ON FILE
FREIRE RODRIGUEZ, ADRIA A                        ADDRESS ON FILE
FREIRE RODRIGUEZ, ANA                            ADDRESS ON FILE
FREIRE RODRIGUEZ, RAMON                          ADDRESS ON FILE
FREIRE ROLON, JUAN RAMON                         ADDRESS ON FILE
FREIRE ROSARIO, MANUEL                           ADDRESS ON FILE
FREIRE ROSARIO, MIGDALIA                         ADDRESS ON FILE
FREIRE SANTOS, RAUL                              ADDRESS ON FILE
FREIRE TORRES, JENNY                             ADDRESS ON FILE
FREIRE, LUIS                                     ADDRESS ON FILE
FREIRIA SANCHEZ, MANUEL                          ADDRESS ON FILE
FREIZA LLC                                       PO BOX 486                                                                                                      DORADO            PR      00646
FREMA SERVICES INC                               VILLA CAROLINA                       115‐15 CALLE 73                                                            CAROLINA          PR      00985‐4168
FREMAIN ORTEGA DE JESUS                          ADDRESS ON FILE
FREMAINT IRIZARRY, JUAN                          ADDRESS ON FILE
FREMAINT VELEZ, OSCAR I.                         ADDRESS ON FILE
FREMAINT, MARILIDIA                              ADDRESS ON FILE
FRENCESCHI PADILLA, CARLOS                       ADDRESS ON FILE
FRENCH BROWN, SAMUEL                             ADDRESS ON FILE
FRENCH BROWN, SAMUEL D.                          ADDRESS ON FILE
FRENCH CIRCUNS, ERIC H.                          ADDRESS ON FILE
FRENCHYS AMBULANCE INC                           PO BOX 735                                                                                                      JUNCOS            PR      00777
FRENIS W HOFFMAN                                 ADDRESS ON FILE
Frente Amplio de Camioneros y sus afiliadas      Rodríguez Figueroa, Victor           Lago Alto                                A3 Calle Carite                   Trujillo Alto     PR      00976
Frente Unido de Policías Organizados (FUPO)      Figueroa Torres, Diego               PO Box 5261                                                                Carolina          PR      00984‐5261
Frente Unido de Policías Organizados (FUPO)      Figueroa Torres, Diego               Calle Tizol #53                          Esq. Brumbaugh #1165              Río Piedras       PR      00925
Frente Unido de Policías Organizados (FUPO) ‐ Ca Figueroa Torres, Diego               PO Box 5261                                                                Carolina          PR      00984‐5261
Frente Unido de Policías Organizados (FUPO) ‐ Ca Figueroa Torres, Diego               Calle Tizol #53                          Esq. Brumbaugh #1165              Río Piedras       PR      00925
FRENTE UNIDO DE POLICÍAS ORGANIZADOS DE P LCDA. NYDIA E. RODRIGUEZ MARTINEZ           PO BOX 4155                                                                CAROLINA          PR      00984‐4155
FRENTE UNIDO DE POLICÍAS ORGANIZADOS DE P LCDO. JOSE F. AVILES LAMBERTY / LCDO. FERNANMANSIONES DE SAN MARTÍN                  SUITE 17                          SAN JUAN          PR      00924‐4586
Fres Camacho, Hiram                              ADDRESS ON FILE
FRES COLON, NESTOR                               ADDRESS ON FILE




                                                                                                                Page 3005 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3006 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                             Address1                  Address2                                   Address3         Address4   City              State   PostalCode   Country
FRES COLON, NESTOR                        ADDRESS ON FILE
FRES KUILAN, LUIS                         ADDRESS ON FILE
FRESE AMARO, NILDA                        ADDRESS ON FILE
FRESENIO MEDICAL CARE                     1072 AVE MIRAMAR          CARR NO 2 KM 78.5                                                      ARECIBO           PR      00612
FRESENIO MEDICAL CARE                     URB SANTA JUANITA         2 SANTA JUANITA SHOPPING CENTER                                        BAYAMON           PR      00956‐4703
FRESENIUS HEALTH PARTNERS PUERTO RICO LLC 920 WINTER STREET                                                                                WALTHAM           MA      02451
FRESENIUS KIDNEY CARE CAYEY               PO BOX 371057                                                                                    CAYEY             PR      00737
FRESENIUS MEDICAL CARE                    461 CALLE FRANCIA                                                                                SAN JUAN          PR      00917
FRESENIUS MEDICAL CARE                    FMC VEGA ALTA DIALISIS    1 CALLE JACINTO SEIJO                                                  VEGA ALTA         PR      00692
FRESENIUS MEDICAL CARE                    URB VISTAMAR              C8 AVE PONTEZUELA                                                      CAROLINA          PR      00983
FRESENIUS MEDICAL CARE DIALYSIS CENTER    PO BOX 364663                                                                                    SAN JUAN          PR      00936‐4663
FRESENIUS MEDICAL CARE HOLDINGS INC       920 WINTER ST                                                                                    WALTHAM           MA      02451‐1457
FRESENIUS MEDICAL CARE NORTH AMERICA      7309 RAMON POWER                                                                                 PONCE             PR      00717‐1501
FRESENIUS MEDICAL CARE NORTH AMERICA      CENTRO DE DIALISIS        PO BOX 3516                                MARINA STATION              MAYAGUEZ          PR      00681
FRESENIUS MEDICAL CARE RIO PIEDRAS        1535 AVE PONCE DE LEON    BARRIO EL CINCO                                                        SAN JUAN          PR      00926
FRESH ALTERNATIVES INC                    VILLA CARMEN              Q 43 AVE LUIS M MARIN                                                  CAGUAS            PR      00725
FRESH POINT + A ONE PRODUCE DAIRY         2300 N W 19 STREET        POMPANO BEACH                                                          FLORIDA           FL      33069
FRESH POINT + A ONE PRODUCE DAIRY         AREA DEL TESORO           DIVISION DE RECLAMACIONES                                              SAN JUAN          PR      00902‐4140
FRESH START CLINIC                        1725 EAST 12 TH ST        SUITE 201                                                              BROOKLYN          NY      11229
FRESHPOINT PUERTO RICO LLC                2300 NW 19TH STREET                                                                              POMPANO BEACH     FL      33069
FRESNEDA CADAVEDO, MAIRCARMEN             ADDRESS ON FILE
FRESNEDA MOZO, FELIPE                     ADDRESS ON FILE
FRESNEDA MOZO, MARTIN                     ADDRESS ON FILE
FRESSE ALVAREZ, AXEL                      ADDRESS ON FILE
FRESSE GONZALEZ, MELVING A                ADDRESS ON FILE
FRESSE GONZALEZ, VIVIAN Y.                ADDRESS ON FILE
FRESSE MARTINEZ, RODOLFO                  ADDRESS ON FILE
FRESSE PAGAN, NILDA                       ADDRESS ON FILE
FRESSE PEREZ, ZARITMA                     ADDRESS ON FILE
FRESSE PEREZ, ZARITMA                     ADDRESS ON FILE
FRESSE RODRIGUEZ, FERNANDO                ADDRESS ON FILE
FRESSE RODRIGUEZ, ROSA M.                 ADDRESS ON FILE
Fresse Rojas, Alfredo                     ADDRESS ON FILE
FRET BURGOS, JOSE                         ADDRESS ON FILE
FRET CORTES, ELISA                        ADDRESS ON FILE
FRET DELGADO, PAUL G.                     ADDRESS ON FILE
FRET DELGADO, PEDRO J.                    ADDRESS ON FILE
FRET HERNANDEZ, REYNALDO                  ADDRESS ON FILE
FRET HERNANDEZ, RICHARD                   ADDRESS ON FILE
FRET MERCADO, MARIA T                     ADDRESS ON FILE
FRET MORALES, ANGEL                       ADDRESS ON FILE
FRET NATAL, ROBERTO                       ADDRESS ON FILE
FRET PABON, DOLORES                       ADDRESS ON FILE
FRET QUILES, ARTURO                       ADDRESS ON FILE
FRET QUILES, CARMEN                       ADDRESS ON FILE
Fret Quiles, Carmen A                     ADDRESS ON FILE
FRET QUINONES, KIMBERLY                   ADDRESS ON FILE
FRET RODRIGUEZ, ELIZABETH                 ADDRESS ON FILE
Fret Rodríguez, Sasha                     ADDRESS ON FILE
FRET RODRIGUEZ, SASHA                     ADDRESS ON FILE
FRET RODRIGUEZ, TANIA                     ADDRESS ON FILE
FRET ROMAN, JOHANNA                       ADDRESS ON FILE
FRET, NOEL                                ADDRESS ON FILE
FRETS RIVERA, WALBERT                     ADDRESS ON FILE
FRETS RIVERA, WALBERT                     ADDRESS ON FILE
FRETTS ARCE, JACQUELINE                   ADDRESS ON FILE
FRETTS MULERO, AIXA                       ADDRESS ON FILE
FREWERT PECK, FREDERICK                   ADDRESS ON FILE
FREXULFE LLC                              PO BOX 364588                                                                                    SAN JUAN          PR      00936‐4588
FREYDA DELGADO                            ADDRESS ON FILE




                                                                                                Page 3006 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3007 of 3500
                                                                               17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                   Address1                  Address2                           Address3   Address4   City         State   PostalCode   Country
FREYRE ACEVEDO, LUIS            ADDRESS ON FILE
FREYRE BARRERA, MARLA J.        ADDRESS ON FILE
FREYRE CONDE, GUSTAVO           ADDRESS ON FILE
Freyre Conde, Gustavo Adolfo    ADDRESS ON FILE
FREYRE CONDE, JOSE              ADDRESS ON FILE
FREYRE CONDE, JOSE              ADDRESS ON FILE
FREYRE CUEBAS, CRISTINA         ADDRESS ON FILE
FREYRE CUEVAS, JESSICA          ADDRESS ON FILE
FREYRE FIGUEROA, EMMANUEL       ADDRESS ON FILE
FREYRE FIGUEROA, EMMANUEL       ADDRESS ON FILE
FREYRE FIGUEROA, ERNESTO J.     ADDRESS ON FILE
FREYRE GONZALEZ MD, NILSA I     ADDRESS ON FILE
FREYRE MARIN, JOSE              ADDRESS ON FILE
FREYRE MARIN, MADELINE          ADDRESS ON FILE
FREYRE MUSSES, GUSTAVO          ADDRESS ON FILE
FREYRE PACHECO, BRENDA L        ADDRESS ON FILE
FREYRE PACHECO, BRENDA L        ADDRESS ON FILE
FREYRE PAGAN, LIZMARIE          ADDRESS ON FILE
FREYRE PEREZ MD, JOSE M         ADDRESS ON FILE
FREYRE PEREZ, JOSE              ADDRESS ON FILE
FREYRE RAMIREZ, LUIS            ADDRESS ON FILE
FREYRE RAMOS, EMANUEL           ADDRESS ON FILE
FREYRES DE CHOUDENS, NICOLE     ADDRESS ON FILE
Freyte Rodriguez, Jazmin        ADDRESS ON FILE
FREYTES ACEVEDO, LOURDES M.     ADDRESS ON FILE
FREYTES ACEVEDO, MILTON         ADDRESS ON FILE
FREYTES ACEVEDO, ROBERT         ADDRESS ON FILE
FREYTES AGUAYO, MIGDALIA        ADDRESS ON FILE
FREYTES ANDINO, AIXA            ADDRESS ON FILE
FREYTES BAUTISTA, RAIZA         ADDRESS ON FILE
FREYTES BELLO, KERVIN Y         ADDRESS ON FILE
FREYTES BELLO, LIDARIS Y        ADDRESS ON FILE
FREYTES BORRERO, JEFFREY        ADDRESS ON FILE
FREYTES BURGOS, ELSA E          ADDRESS ON FILE
FREYTES BURGOS, FELIX           ADDRESS ON FILE
FREYTES CACHO, ALICE            ADDRESS ON FILE
FREYTES CHOUDENS, NOCOLE        ADDRESS ON FILE
FREYTES COBIAN, ANA L.          ADDRESS ON FILE
FREYTES CORTES, SANTA           ADDRESS ON FILE
FREYTES CUTRERA, RAFAEL         ADDRESS ON FILE
FREYTES CUTRERA, RAFAEL         ADDRESS ON FILE
FREYTES CUTRERAS, CARMEN J      ADDRESS ON FILE
FREYTES DE JESUS, DAVID         ADDRESS ON FILE
FREYTES DEL RIO MD, RODRIGO     ADDRESS ON FILE
FREYTES DEL RIO, RODRIGO        ADDRESS ON FILE
FREYTES DEL RIO, RODRIGO        ADDRESS ON FILE
FREYTES DIAZ, ISRAEL            ADDRESS ON FILE
FREYTES ECHEVARRIA, AIDYL Y.    ADDRESS ON FILE
FREYTES EURO IMPORTS INC        URB MUNOZ RIVERA          21 CALLE ACUARELA                                        GUAYNABO     PR      00969 5040
FREYTES FIGUEROA, MILLIE        ADDRESS ON FILE
FREYTES GARCIA, EVELYN M        ADDRESS ON FILE
Freytes Gines, Benjamin         ADDRESS ON FILE
FREYTES HERNANDEZ, CRISTINA J   ADDRESS ON FILE
Freytes Hernandez, Edward M     ADDRESS ON FILE
FREYTES HERNANDEZ, LIZA         ADDRESS ON FILE
FREYTES HERNANDEZ, OMAR         ADDRESS ON FILE
FREYTES JIMENEZ, YOLANDA        ADDRESS ON FILE
FREYTES LUGO MD, LUIS           ADDRESS ON FILE
Freytes Maldonado, Angel        ADDRESS ON FILE
Freytes Maldonado, Carmen Z     ADDRESS ON FILE




                                                                              Page 3007 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3008 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FREYTES MALDONADO, ELIGIO        ADDRESS ON FILE
Freytes Maldonado, Lourdes       ADDRESS ON FILE
FREYTES MALDONADO, RENIER        ADDRESS ON FILE
FREYTES MALDONADO, ZAIDA         ADDRESS ON FILE
FREYTES MANZANO, HERMINIO        ADDRESS ON FILE
FREYTES MARTINEZ, YAIRA          ADDRESS ON FILE
FREYTES MATOS, JOSE              ADDRESS ON FILE
Freytes Matos, Jose R.           ADDRESS ON FILE
FREYTES MONT, FEDERICO           ADDRESS ON FILE
FREYTES MONT, VICTOR             ADDRESS ON FILE
FREYTES MOYA, ELIMARYS           ADDRESS ON FILE
FREYTES MOYA, EMANUEL            ADDRESS ON FILE
Freytes Negron, Felix R          ADDRESS ON FILE
FREYTES NEGRON, MAYRA J          ADDRESS ON FILE
FREYTES NEGRON, SILVIA I         ADDRESS ON FILE
FREYTES NEGRON, SONIA M          ADDRESS ON FILE
FREYTES NUNEZ, MAGDA X           ADDRESS ON FILE
FREYTES OQUENDO, ANAVYS          ADDRESS ON FILE
FREYTES OQUENDO, ANIBAL          ADDRESS ON FILE
FREYTES OQUENDO, ANIBAL EMILIO   ADDRESS ON FILE
FREYTES PABON, ABIMELEC          ADDRESS ON FILE
FREYTES PAGAN, ODALIZ            ADDRESS ON FILE
FREYTES PAGAN, RAMON A           ADDRESS ON FILE
FREYTES PEREZ, JAVIER A          ADDRESS ON FILE
FREYTES PEREZ, JERRY             ADDRESS ON FILE
FREYTES PEREZ, JORGE M           ADDRESS ON FILE
FREYTES QUILES, AIDA             ADDRESS ON FILE
FREYTES QUILES, CARMEN           ADDRESS ON FILE
FREYTES RIVAS, NOELIA            ADDRESS ON FILE
FREYTES RIVERA, SONIA E          ADDRESS ON FILE
FREYTES RODRIGUEZ, LYDIA E       ADDRESS ON FILE
FREYTES RODRIGUEZ, NELSON        ADDRESS ON FILE
FREYTES ROJAS, DENAMY            ADDRESS ON FILE
FREYTES ROJAS, MIANED            ADDRESS ON FILE
FREYTES ROJAS, MIANED            ADDRESS ON FILE
FREYTES SAEZ, AXEL               ADDRESS ON FILE
FREYTES SANCHEZ, CARMEN M        ADDRESS ON FILE
FREYTES SANCHEZ, DIANA           ADDRESS ON FILE
FREYTES SANTIAGO, LEONELL        ADDRESS ON FILE
FREYTES SANTIAGO, LEONELL        ADDRESS ON FILE
FREYTES SANTIAGO, RAMON          ADDRESS ON FILE
FREYTES SERRANO, SAMARITZ        ADDRESS ON FILE
FREYTES SIERRA, BENJAMIN         ADDRESS ON FILE
FREYTES SOLA, DORIS              ADDRESS ON FILE
FREYTES TORRES, NELLY I          ADDRESS ON FILE
FREYTES VALLE, NELSON            ADDRESS ON FILE
FREYTES VALLE, NELSON D          ADDRESS ON FILE
FREYTES VELEZ, LYDIA             ADDRESS ON FILE
FREYTES VERA, SANDRA             ADDRESS ON FILE
FREYTES, LAURA E                 ADDRESS ON FILE
FREYTESSANCHEZ, HECTOR L         ADDRESS ON FILE
FREYTIZ ROSADO, ANGELICA         ADDRESS ON FILE
FRIAS ARIZA, JOSE                ADDRESS ON FILE
FRIAS DIAZ, DIORIS               ADDRESS ON FILE
FRIAS DIAZ, FRANCY E.            ADDRESS ON FILE
FRIAS ESTRADA, CAMILA            ADDRESS ON FILE
FRIAS FERNANDEZ, WAGNER          ADDRESS ON FILE
FRIAS HERRERA, FELIX             ADDRESS ON FILE
FRIAS JAIME, ELIZABETH           ADDRESS ON FILE
FRIAS LARA, LARISSA              ADDRESS ON FILE




                                                                             Page 3008 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3009 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                              Address1                         Address2                           Address3   Address4   City           State   PostalCode   Country
FRIAS LOPEZ, RAFAEL                        ADDRESS ON FILE
FRIAS MARTINEZ, DANIA R.                   ADDRESS ON FILE
FRIAS MEDINA, MARIA G                      ADDRESS ON FILE
FRIAS MENDEZ, JOSE                         ADDRESS ON FILE
FRIAS MENDEZ, JOSHUA                       ADDRESS ON FILE
FRIAS MORALES, ALBERTO                     ADDRESS ON FILE
Frias Morales, Dhamaris                    ADDRESS ON FILE
FRIAS NUNEZ, FAUSTO                        ADDRESS ON FILE
FRIAS PACHECO, ANA C                       ADDRESS ON FILE
FRIAS PIMENTEL, EDILBERTO                  ADDRESS ON FILE
Frias Rivera, Jose L.                      ADDRESS ON FILE
FRIAS RIVERA, LUIS                         ADDRESS ON FILE
Frias Rivera, Luis H.                      ADDRESS ON FILE
FRIAS RODRIGUEZ, ASELIS                    ADDRESS ON FILE
FRIAS ROSADO, ARELIX                       ADDRESS ON FILE
FRIAS SANCHEZ, ULISES                      ADDRESS ON FILE
FRIAS SANTIAGO, CHARLES                    ADDRESS ON FILE
FRIAS SERRANO, CARLOS                      ADDRESS ON FILE
FRIAS SERRANO, EUGENIO                     ADDRESS ON FILE
FRIAS SOTERO, YLVANIA                      ADDRESS ON FILE
FRIAS SOTERO, YLVANIA                      ADDRESS ON FILE
FRIAS TABOAS, LUIS AUGUSTO                 ADDRESS ON FILE
FRIDMA CORP                                PO BOX 31                                                                                 MERCEDITA      PR      00715‐0000
FRIDMA CORP & GENERAL CONTRACTORS          PO BOX 31                                                                                 MERCEDITA      PR      00715
FRIDMA CORP & GENERAL CONTRACTORS          PO BOX 31 MERCEDITA                                                                       PONCE          PR      00715
FRIEDA RAMIREZ HERNANDEZ                   ADDRESS ON FILE
FRIEDA V MORALES SEDA                      ADDRESS ON FILE
FRIEDBERG PA , SCOTT L                     ADDRESS ON FILE
FRIEDEL INVESTMENT INC                     PMB 370 1353                     CARR 19                                                  GUAYNABO       PR      00966‐2700
FRIEDMAN & FEIGER LLC                      221 PONCE DE LEON AVE STE 1202                                                            SAN JUAN       PR      00917
FRIEDMAN EISENSTEIN, JEFFREY               ADDRESS ON FILE
FRIEND & SMITH CO INC                      PO BOX 366206                                                                             SAN JUAN       PR      00936‐6206
FRIENDS HOSPITAL                           PO BOX 4356                                                                               WILMINFTON     DE      19807
FRIENDSHIP PLACE DAY CARE CENTER, INC      PO BOX 3593                                                                               JUNCOS         PR      00777
FRIENDSHIP PLACE DAY CARE INC.             PO BOX 3593                                                                               JUNCOS         PR      00777
FRIGORIFICO HATO REY MEAT MARKET           URB FLORAL PARK                  153 CALLE GUAYAMA                                        SAN JUAN       PR      00917‐4511
FRIGORIFICO HATO REY MEAT MARKET           URB FLORAL PARK                                                                           SAN JUAN       PR      00917‐4511
FRIGORIFICO HATO REY MEAT MARKET           URB FLORAL PARK GUAYAMA 153      153 CALLE GUAYAMA                                        SAN JUAN       PR      00917‐4511
FRIGORIFICO MARIN INC                      URB SIERRA BAYAMON               CALLE 3 BLOQUE 2                                         BAYAMON        PR      00959
FRIGORIFICO PLAZA AGUADILLA INC            PO BOX 1143                                                                               MOCA           PR      00676
FRIGORIFICO Y ALMACEN DEL TURABO INC       P O BOX 5906                                                                              CAGUAS         PR      00726
FRIGORIFICO Y ALMACEN DEL TURABO INC       PO BOX 7919                                                                               CAGUAS         PR      00726‐7919
FRIGORIFICO Y ALMACEN DEL TURABO, INC      APARTADO 7919                                                                             CAGUAS         PR      00725‐0000
FRIGORIFICO Y ALMACEN DEL TURABO, INC      AVENIDA LUIS MUNOZ MARIN         ESQUINA GEORGETTI                                        CAGUAS         PR      00725‐0000
FRINGE AREA IV, LLC                        PO BOX 71450                                                                              SAN JUAN       PR      00936‐8550
FRITO LAY SNACKS CA Y/O FRITO LAY QUAKER   668 CUBITA ST                                                                             GUAYNABO       PR      00969‐2801
FRITZ MACIAS, SONIA                        ADDRESS ON FILE
FRITZ, SONIA                               ADDRESS ON FILE
FRITZY SOUND GROUP                         REPARTO METROPOLITANO            1201 CALLE44 SE                                          SAN JUAN       PR      00921
FRNCESCHINI, REBECA I.                     ADDRESS ON FILE
FROILAN ALFOMBRAS                          FERNANDEZ JUNCOS PDA 26                                                                   SANTURCE       PR      00100
FROILAN AVILES PAGAN                       ADDRESS ON FILE
FROILAN CRUZ SOTO                          ADDRESS ON FILE
FROILAN IRIZARRY SANABRIA                  ADDRESS ON FILE
FROILAN MALPICA GONZALEZ                   ADDRESS ON FILE
FROILAN NEGRON MARRERO                     ADDRESS ON FILE
FROILAN ROSARIO RODRIGUEZ                  ADDRESS ON FILE
FROMER, PATRICK                            ADDRESS ON FILE
FROMETA INC                                PO BOX 2246                                                                               GUAYAMA        PR      00785
FROMETA INC                                PO BOX 330505                                                                             PONCE          PR      00733




                                                                                                Page 3009 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3010 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                         Address1                            Address2                                 Address3   Address4   City          State   PostalCode   Country
FROMM MARTINEZ, OLGA                  ADDRESS ON FILE
FRONCA INC                            HC 8 BOX 64052                                                                                     ARECIBO       PR      00612
FRONT SIGHT ANESTHESIA PSC            PO BOX 250435                                                                                      AGUADILLA     PR      00604
FRONTANES HEREDIA, MARY ANN           ADDRESS ON FILE
FRONTANES MARTINEZ, SOSIE             ADDRESS ON FILE
Frontanes Santiag, Patricio           ADDRESS ON FILE
Frontanes Santiago, Pablo             ADDRESS ON FILE
Frontanes Yeye, Angel M               ADDRESS ON FILE
FRONTANES YEYE, PATRICK               ADDRESS ON FILE
Frontanes Yeye, Patrick Jr.           ADDRESS ON FILE
FRONTANEZ AYALA, PABLO                ADDRESS ON FILE
FRONTANEZ BARTOLOMEI, MARICARMEN      ADDRESS ON FILE
FRONTANEZ BARTOLOMEI, ROBERTO J.      ADDRESS ON FILE
FRONTANEZ DOMIMGUEZ, EXAVIER          ADDRESS ON FILE
Frontanez Dominguez, Exavier          ADDRESS ON FILE
FRONTANEZ IRIZARRY, EDID              ADDRESS ON FILE
FRONTANEZ PABON, ANGEL                ADDRESS ON FILE
FRONTANEZ YEYE, ANGEL                 ADDRESS ON FILE
FRONTANY BOU, YANIT D                 ADDRESS ON FILE
FRONTANY MARIN, MYRTHA                ADDRESS ON FILE
FRONTERA BAEZ, MARIA                  ADDRESS ON FILE
Frontera Cruz, Francisca              ADDRESS ON FILE
FRONTERA CRUZ, LOURDES                ADDRESS ON FILE
FRONTERA CRUZ, MONSERRATE             ADDRESS ON FILE
FRONTERA DAVILA, LUIS                 ADDRESS ON FILE
FRONTERA ESTERRICH, ANTONIO           ADDRESS ON FILE
FRONTERA ESTERRICH, JAIME             ADDRESS ON FILE
FRONTERA FERNANDEZ, JOAQUIN           ADDRESS ON FILE
FRONTERA FERNANDEZ, LUIS              ADDRESS ON FILE
FRONTERA GONZALEZ, LUIS               ADDRESS ON FILE
FRONTERA HERNANDEZ, EVA               ADDRESS ON FILE
FRONTERA HERNANDEZ, MILTON JAVIER     ADDRESS ON FILE
FRONTERA LAMBOY, LISANDRA             ADDRESS ON FILE
FRONTERA LAMBOY, MARILYN              ADDRESS ON FILE
FRONTERA MONTALVO, MARIA              ADDRESS ON FILE
FRONTERA NIEVES, OSCAR                ADDRESS ON FILE
FRONTERA NIEVES, RAMON                ADDRESS ON FILE
FRONTERA OLIVER, MARGARITA            ADDRESS ON FILE
FRONTERA ORTA, CARLOS JAVIER          ADDRESS ON FILE
FRONTERA PHILIPPI MD, MIGUEL A        ADDRESS ON FILE
FRONTERA RODRIGUEZ MD, HERMINIO       ADDRESS ON FILE
FRONTERA RODRIGUEZ, SYLVIA            ADDRESS ON FILE
FRONTERA ROMAN, GLORIMAR              ADDRESS ON FILE
FRONTERA ROURA MD, ERNESTO A          ADDRESS ON FILE
FRONTERA ROURA, ERNESTO               ADDRESS ON FILE
FRONTERA ROURA, ERNESTO               ADDRESS ON FILE
FRONTERA SANTANA, CARLOS              ADDRESS ON FILE
FRONTERA SANTIAGO, ANTONIO A          ADDRESS ON FILE
Frontera Suau Law Offices PSC         Capital Center Building Suite 305   Ave Arterial Hostos 239                                        San Juan      PR      00918‐1476
FRONTERA SUAU, CARLOS                 ADDRESS ON FILE
FRONTERA SUAU, JOSE                   ADDRESS ON FILE
FRONTERA TACORONTE, AILEEN            ADDRESS ON FILE
FRONTERA TACORONTE, EDISABEL          ADDRESS ON FILE
FRONTERA TACORONTE, LIZBETH           ADDRESS ON FILE
FRONTERA, DAVID                       ADDRESS ON FILE
FRONTERAS VARGAS MD, MARIA            ADDRESS ON FILE
FRONTIER COMMUNICATIONS NORTHWEST INC 63 STONE ST                         3RD FLOOR UCP                                                  ROCHESTER     NY      14604
FRONTRUNNERS PUERTO RICO              ADDRESS ON FILE
FROYO METRO LLC                       URB EL VALLE                        363 ESPINO REAL                                                CAGUAS        PR      00727‐3232
FROZEN DESSERTS INC                   PO BOX 8923                                                                                        BAYAMON       PR      00960‐8923




                                                                                                    Page 3010 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3011 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                         Address1                      Address2                                 Address3   Address4   City              State   PostalCode   Country
FRRERICO MONTANANA                    ADDRESS ON FILE
FRUTAS Y VEGETALES LOPEZ ORTIZ, INC   BOX 1030                                                                                     COROZAL           PR      00783
FRUTO DIAZ FALCON                     ADDRESS ON FILE
FRUTOS DE LA MONTANA LARES            ADDRESS ON FILE
FRUTOS DEL GUACABO INC                P O BOX 178                                                                                  MANATI            PR      00674
FRUTTERY BARN                         ADDRESS ON FILE
FRUTTERY BARN ALTAMIRA                ADDRESS ON FILE
FRUTTERY BERRY BOYS CO                ADDRESS ON FILE
FRYE MALDONADO, HAROLD                ADDRESS ON FILE
FRYE MALDONADO, HAROLD                ADDRESS ON FILE
FRYE PINA, MILLIE                     ADDRESS ON FILE
FRYE PINA, MILLIE                     ARTURO O. RIOS ESCRIBANO      PO BOX 29146                                                   SAN JUAN          PR      00929‐0146
FRYE PIÑA, MILLIE                     LCDA. INEABELLE SOLA ALBINO   PO BOX 367991                                                  SAN JUAN          PR      00936
FSD CONTRACTORS INC                   PO BOX 1209                                                                                  TRUJILLO ALTO     PR      00977‐1201
FSR CONSTRUCTION ENGINEERING CORP     PMB STE 149                   90 AVE PLAZA RIO HONDO                                         BAYAMON           PR      00961
FTD INTERIOR CONTRACTORS INC          SUITE 112 MSC 296             100 GRAN BULEVAR PASEOS                                        SAN JUAN          PR      00926
FTI CONSULTING INC                    909 COMMERCE ROAD                                                                            ANNAPOLIS         MD      21401
FU MING CORP                          PO BOX 269                                                                                   BARCELONETA       PR      00617
FU WA CHINA INC                       URB VILLA DEL SOL             213 CALLE MARBELLA                                             CAROLINA          PR      00983
FU YIU INC                            61 AVE ESMERALDA                                                                             GUAYNABO          PR      00969
FUCHUAL MONTE, RUBEN                  ADDRESS ON FILE
FUCILE NELSON, TONI                   ADDRESS ON FILE
FUCILLE ASSOCIATES                    PO BOX 3466                                                                                  SAN JUAN          PR      00904
FUCOL                                 ADDRESS ON FILE
FUEL @ SITE                           ADDRESS ON FILE
FUENRES JAIMAN, AIDA A                ADDRESS ON FILE
FUENTE ALEMAN, IDA                    ADDRESS ON FILE
FUENTE MEDINA, JOSE                   ADDRESS ON FILE
FUENTE RIVERA, GENARA                 ADDRESS ON FILE
FUENTE RIVERA, MARIA E                ADDRESS ON FILE
FUENTES , HECTOR RAMOS                ADDRESS ON FILE
FUENTES ., JOSE E                     ADDRESS ON FILE
Fuentes Acevedo, Glamaris             ADDRESS ON FILE
FUENTES ACEVEDO, GLAMARIS             ADDRESS ON FILE
FUENTES ACEVEDO, JORGE L.             ADDRESS ON FILE
Fuentes Acevedo, Moises               ADDRESS ON FILE
FUENTES ACEVEDO, SOFIA                ADDRESS ON FILE
FUENTES ACOSTA, FRANCISCO             ADDRESS ON FILE
FUENTES AGENJO, RAYMOND F.            ADDRESS ON FILE
FUENTES AGOSTINI, JORGE               ADDRESS ON FILE
FUENTES AGOSTINI, JOSE A              ADDRESS ON FILE
FUENTES AGOSTO, IVELISSE              ADDRESS ON FILE
FUENTES AGOSTO, JAVIER                ADDRESS ON FILE
Fuentes Agosto, Orlando               ADDRESS ON FILE
FUENTES AGOSTO, SAMUEL                ADDRESS ON FILE
FUENTES ALBINO, CARMEN B              ADDRESS ON FILE
FUENTES ALBINO, WANDA J               ADDRESS ON FILE
FUENTES ALICEA, MARIA E               ADDRESS ON FILE
FUENTES ALICEA, MORAYMA               ADDRESS ON FILE
FUENTES ALLENDE, LORNA C.             ADDRESS ON FILE
FUENTES ALVARADO, AIDA L.             ADDRESS ON FILE
FUENTES ALVARADO, EDWIN R.            ADDRESS ON FILE
FUENTES ALVARADO, SANTA P             ADDRESS ON FILE
FUENTES ALVAREZ, BILLY                ADDRESS ON FILE
FUENTES ALVAREZ, EMMANUEL J           ADDRESS ON FILE
FUENTES ALVAREZ, FERNANDO             ADDRESS ON FILE
FUENTES ALVAREZ, HELEN M              ADDRESS ON FILE
FUENTES ANDREU, ISRAEL                ADDRESS ON FILE
FUENTES ANDUJAR, IRIS                 ADDRESS ON FILE
FUENTES APONTE MD, ANSELMO            ADDRESS ON FILE




                                                                                              Page 3011 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3012 of 3500
                                                                             17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                 Address1                  Address2                              Address3   Address4   City         State   PostalCode   Country
FUENTES APONTE, AILEEN        ADDRESS ON FILE
FUENTES APONTE, AILEEN        ADDRESS ON FILE
FUENTES APONTE, JENNIFER      ADDRESS ON FILE
FUENTES APONTE, LUZ V         ADDRESS ON FILE
FUENTES APONTE, PEDRO         ADDRESS ON FILE
FUENTES ARROYO, GABRIEL       ADDRESS ON FILE
FUENTES ARTACHE, JOSE         ADDRESS ON FILE
FUENTES ASTACIO, JOSE         ADDRESS ON FILE
FUENTES ASTACIO, JOSE         ADDRESS ON FILE
FUENTES AVILA, SUHELLY        ADDRESS ON FILE
FUENTES AYALA, CARMEN L.      ADDRESS ON FILE
FUENTES AYALA, JOSE           ADDRESS ON FILE
FUENTES AYALA, JOSE M.        ADDRESS ON FILE
FUENTES AYALA, LUIS           ADDRESS ON FILE
FUENTES AYALA, LUIS A         ADDRESS ON FILE
FUENTES AYALA, MIRELLA        ADDRESS ON FILE
FUENTES AYALA, OSCAR          ADDRESS ON FILE
FUENTES AYALA, RUBEN          ADDRESS ON FILE
FUENTES AYALA, SANDRA M       ADDRESS ON FILE
FUENTES AYALA, SANDRA M.      ADDRESS ON FILE
FUENTES AYALA, WILIBARDO      ADDRESS ON FILE
FUENTES AYALA, WILIBARDO      ADDRESS ON FILE
FUENTES BAEZ, CLARIBEL        ADDRESS ON FILE
FUENTES BAEZ, FRANCES E.      ADDRESS ON FILE
FUENTES BAEZ, JOSE            ADDRESS ON FILE
FUENTES BAEZ, JOSE E.         ADDRESS ON FILE
FUENTES BAEZ, MIGDALIA        ADDRESS ON FILE
FUENTES BARRETO, LENNYS B     ADDRESS ON FILE
FUENTES BARRETO, VIVIAN       ADDRESS ON FILE
FUENTES BAUZO, MICHELLE       ADDRESS ON FILE
FUENTES BBQ INC               URB ALTAMESA              1323 AVE SAN ALFONSO                                        SAN JUAN     PR      00921‐3620
FUENTES BENABE, JOHN MANUEL   ADDRESS ON FILE
FUENTES BENITEZ, PABLO        ADDRESS ON FILE
FUENTES BERMUDEZ, MARIA I     ADDRESS ON FILE
FUENTES BERRIOS, ARIEL        ADDRESS ON FILE
FUENTES BERRIOS, DEBORAH      ADDRESS ON FILE
FUENTES BERRIOS, ELSA YALIZ   ADDRESS ON FILE
FUENTES BERRIOS, FRANCISCO    ADDRESS ON FILE
FUENTES BERRIOS, LAYSA        ADDRESS ON FILE
FUENTES BERRIOS, LUIS         ADDRESS ON FILE
FUENTES BERRIOS, LUIS         ADDRESS ON FILE
FUENTES BERRIOS, LUZ          ADDRESS ON FILE
FUENTES BERRIOS, MARIA G      ADDRESS ON FILE
FUENTES BERRIOS, NORMA I      ADDRESS ON FILE
FUENTES BERRIOS, WILFREDO     ADDRESS ON FILE
FUENTES BLANCO, GUILLERMO     ADDRESS ON FILE
FUENTES BONILLA, ILEANA       ADDRESS ON FILE
FUENTES BONILLA, LYDIA E.     ADDRESS ON FILE
FUENTES BONILLA, RAQUEL       ADDRESS ON FILE
FUENTES BOSQUE, ISMAEL        ADDRESS ON FILE
FUENTES BOSQUE, NAYDAMAR      ADDRESS ON FILE
FUENTES BURGOS, DEBORAH       ADDRESS ON FILE
FUENTES BURGOS, DEBORAH       ADDRESS ON FILE
FUENTES BURGOS, JUAN C.       ADDRESS ON FILE
FUENTES BURGOS, RIGOBERTO     ADDRESS ON FILE
FUENTES CABAN, BETZAIDA       ADDRESS ON FILE
FUENTES CABAN, MIGDALIA       ADDRESS ON FILE
FUENTES CABAN, MYRIAM DEL C   ADDRESS ON FILE
FUENTES CABAN, WILFREDO       ADDRESS ON FILE
FUENTES CABRERA, ADRIAN       ADDRESS ON FILE




                                                                               Page 3012 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3013 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES CABRERA, YOVANNIA       ADDRESS ON FILE
FUENTES CANALES, JOSEAN         ADDRESS ON FILE
FUENTES CANALES, MARTA          ADDRESS ON FILE
FUENTES CANCEL, GLENDA          ADDRESS ON FILE
FUENTES CANUELAS, JOSE          ADDRESS ON FILE
FUENTES CANUELAS, VILMA L       ADDRESS ON FILE
FUENTES CARABALLO, RAYMOND J.   ADDRESS ON FILE
FUENTES CARDONA, MELISSA        ADDRESS ON FILE
FUENTES CARDONA, NOELANIE       ADDRESS ON FILE
Fuentes Cardona, Randalnell     ADDRESS ON FILE
FUENTES CARMONA, DANNY L        ADDRESS ON FILE
FUENTES CARMONA, IVELISSE       ADDRESS ON FILE
FUENTES CARMONA, JEANNIE        ADDRESS ON FILE
FUENTES CARRASQUI, MILAGROS     ADDRESS ON FILE
Fuentes Carrasquillo, Domingo   ADDRESS ON FILE
FUENTES CARRASQUILLO, ELIBETH   ADDRESS ON FILE
FUENTES CARRASQUILLO, JUAN      ADDRESS ON FILE
FUENTES CARRASQUILLO, NILDA     ADDRESS ON FILE
FUENTES CARRION, CARLOS         ADDRESS ON FILE
FUENTES CARRION, CARMEN R       ADDRESS ON FILE
FUENTES CARRION, MARITZA        ADDRESS ON FILE
FUENTES CASANOVA, OLGA I.       ADDRESS ON FILE
FUENTES CASILLAS, JUAN C.       ADDRESS ON FILE
Fuentes Casillas, Juan C.       ADDRESS ON FILE
FUENTES CASTANEDA, ONEILLY      ADDRESS ON FILE
FUENTES CASTILLA, LUIS          ADDRESS ON FILE
FUENTES CASTILLO, GLORIA M.     ADDRESS ON FILE
FUENTES CASTRELLO, SANDRA I.    ADDRESS ON FILE
FUENTES CATALA, JESSICA         ADDRESS ON FILE
FUENTES CATALA, NORBERTO        ADDRESS ON FILE
FUENTES CEPEDA, MYRNA           ADDRESS ON FILE
Fuentes Chabonier, Edgard C     ADDRESS ON FILE
FUENTES CHARBONIER, NESTOR      ADDRESS ON FILE
FUENTES CHARON, MARGARITA       ADDRESS ON FILE
FUENTES CINTRON, ANNIELLA V     ADDRESS ON FILE
FUENTES CINTRON, MARTA          ADDRESS ON FILE
FUENTES CIRILO, IVETTE          ADDRESS ON FILE
FUENTES CIRINO, BELKIS          ADDRESS ON FILE
FUENTES CIRINO, LOAIZA          ADDRESS ON FILE
FUENTES CIRINO, MIGUEL          ADDRESS ON FILE
Fuentes Claudio, Carlos J       ADDRESS ON FILE
FUENTES COLLAZO, DAVID G        ADDRESS ON FILE
FUENTES COLLAZO, ROGELIO        ADDRESS ON FILE
FUENTES COLLET, YAMARIS         ADDRESS ON FILE
FUENTES COLON, ADRIAN           ADDRESS ON FILE
FUENTES COLON, AMANDA           ADDRESS ON FILE
FUENTES COLON, BRUNILDA         ADDRESS ON FILE
FUENTES COLON, CRUZ             ADDRESS ON FILE
FUENTES COLON, EDGARDO J        ADDRESS ON FILE
FUENTES COLON, ELBA             ADDRESS ON FILE
FUENTES COLON, FANIA            ADDRESS ON FILE
Fuentes Colon, Felix            ADDRESS ON FILE
FUENTES COLON, JAVIER           ADDRESS ON FILE
FUENTES COLON, LUZ YVONNE       ADDRESS ON FILE
FUENTES COLON, MARITZA          ADDRESS ON FILE
FUENTES COLON, NANCY            ADDRESS ON FILE
FUENTES COLON, SANDRA           ADDRESS ON FILE
FUENTES CONCEPCION, MIGDALIA    ADDRESS ON FILE
FUENTES CONCEPCION, MIGDALIA    ADDRESS ON FILE
FUENTES CORREA, GLORIANN        ADDRESS ON FILE




                                                                            Page 3013 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3014 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES COSME, HECTOR           ADDRESS ON FILE
FUENTES COSME, JAVIER           ADDRESS ON FILE
FUENTES COSME, JAVIER A         ADDRESS ON FILE
FUENTES COSME, PETRA            ADDRESS ON FILE
FUENTES COTO, SERAFIN           ADDRESS ON FILE
FUENTES COTTO, SERAFIN          ADDRESS ON FILE
FUENTES CRESPO, LAURA E.        ADDRESS ON FILE
FUENTES CRUZ, CARLOS            ADDRESS ON FILE
FUENTES CRUZ, DALIA             ADDRESS ON FILE
FUENTES CRUZ, GABRIEL           ADDRESS ON FILE
FUENTES CRUZ, GLADYS N          ADDRESS ON FILE
FUENTES CRUZ, HAYDEE            ADDRESS ON FILE
FUENTES CRUZ, HECTOR            ADDRESS ON FILE
FUENTES CRUZ, IVONNE            ADDRESS ON FILE
FUENTES CRUZ, IVONNE HILDA      ADDRESS ON FILE
FUENTES CRUZ, JAVIER            ADDRESS ON FILE
FUENTES CRUZ, LUZ S.            ADDRESS ON FILE
FUENTES CRUZ, LYMARIE           ADDRESS ON FILE
FUENTES CRUZ, MARCOLINA         ADDRESS ON FILE
FUENTES CRUZ, ODALYS            ADDRESS ON FILE
FUENTES CUBANO, ISMARIE         ADDRESS ON FILE
FUENTES DAVILA, GIAN            ADDRESS ON FILE
Fuentes Davila, Jose R          ADDRESS ON FILE
FUENTES DE JESUS, ENRIQUE       ADDRESS ON FILE
FUENTES DE JESUS, JESSICA       ADDRESS ON FILE
FUENTES DE JESUS, JOSE A.       ADDRESS ON FILE
FUENTES DE JESUS, JOSE C        ADDRESS ON FILE
FUENTES DE JESUS, JOSEFA        ADDRESS ON FILE
FUENTES DE JESUS, MARIA         ADDRESS ON FILE
FUENTES DE JESUS, MARIA V       ADDRESS ON FILE
FUENTES DE JESUS, SHIOMARY      ADDRESS ON FILE
FUENTES DE LA CRUZ, TATIANA     ADDRESS ON FILE
FUENTES DE LAS CUEVAS, VICTOR   ADDRESS ON FILE
Fuentes De Nieves, Luz E        ADDRESS ON FILE
FUENTES DE PAZ, MAURA           ADDRESS ON FILE
FUENTES DE PUJOLS, KARLA        ADDRESS ON FILE
FUENTES DE RIOS, EVELYN         ADDRESS ON FILE
FUENTES DEL VALLE, LUZ N        ADDRESS ON FILE
FUENTES DELGADO, JORGE          ADDRESS ON FILE
FUENTES DELGADO, NORMA I        ADDRESS ON FILE
FUENTES DENIZAC, MAYLEEN        ADDRESS ON FILE
FUENTES DESPIAU, EMMANUEL       ADDRESS ON FILE
FUENTES DEVIS, ANGELA           ADDRESS ON FILE
FUENTES DIAZ, ALFREDO           ADDRESS ON FILE
FUENTES DIAZ, CARLOS            ADDRESS ON FILE
FUENTES DIAZ, CELSO A.          ADDRESS ON FILE
FUENTES DIAZ, GLENDA            ADDRESS ON FILE
FUENTES DIAZ, IRMA              ADDRESS ON FILE
FUENTES DIAZ, JOE               ADDRESS ON FILE
FUENTES DIAZ, JOSE JAVIER       ADDRESS ON FILE
FUENTES DIAZ, LUIS A.           ADDRESS ON FILE
FUENTES DIAZ, LYMARIS           ADDRESS ON FILE
FUENTES DIAZ, LYMARIS           ADDRESS ON FILE
FUENTES DONADO, DAYANARA        ADDRESS ON FILE
FUENTES DREVON, MANUEL          ADDRESS ON FILE
FUENTES DURAN, DENNISSE         ADDRESS ON FILE
FUENTES ECHEVARRIA, ENID        ADDRESS ON FILE
FUENTES ECHEVARRIA, OMAR        ADDRESS ON FILE
FUENTES ECHEVARRIA, SONIA I.    ADDRESS ON FILE
FUENTES ECHEVARRIA, SONIA I.    ADDRESS ON FILE




                                                                            Page 3014 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3015 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES ECHEVARRIA, WILFREDO   ADDRESS ON FILE
Fuentes Encarnacion, Jose R    ADDRESS ON FILE
FUENTES ENCARNACION, NEISHA    ADDRESS ON FILE
FUENTES ESCALERA, DANIEL A     ADDRESS ON FILE
FUENTES ESCOBAR, JACINTO       ADDRESS ON FILE
FUENTES ESCOBAR, LINEDYS       ADDRESS ON FILE
FUENTES ESTRADA, ALEXANDRA     ADDRESS ON FILE
FUENTES ESTRADA, EDDY          ADDRESS ON FILE
Fuentes Estrada, Javier        ADDRESS ON FILE
FUENTES ESTRADA, MARISOL       ADDRESS ON FILE
FUENTES FAURA, CARLOS          ADDRESS ON FILE
FUENTES FAURA, SYLMARIE        ADDRESS ON FILE
FUENTES FEBLES, IVETTE         ADDRESS ON FILE
FUENTES FEBLES, LIZETTE        ADDRESS ON FILE
FUENTES FEBUS, NORBERT         ADDRESS ON FILE
FUENTES FEBUS, NORBERT         ADDRESS ON FILE
FUENTES FELICIANO, YOLANDA     ADDRESS ON FILE
FUENTES FELIX, FERNANDO E      ADDRESS ON FILE
FUENTES FELIX, HECTOR          ADDRESS ON FILE
FUENTES FELIX, WILFREDO        ADDRESS ON FILE
Fuentes Fernandez, Annette     ADDRESS ON FILE
FUENTES FERNANDEZ, GREGORIO    ADDRESS ON FILE
FUENTES FERNANDEZ, JUAN        ADDRESS ON FILE
FUENTES FERNANDEZ, RICARDO     ADDRESS ON FILE
FUENTES FERRER, FABRIEL        ADDRESS ON FILE
FUENTES FIGUEROA, ANTONIO      ADDRESS ON FILE
FUENTES FIGUEROA, CARMEN E     ADDRESS ON FILE
FUENTES FIGUEROA, ENID         ADDRESS ON FILE
FUENTES FIGUEROA, HERMAN       ADDRESS ON FILE
FUENTES FIGUEROA, JONNATHAN    ADDRESS ON FILE
FUENTES FIGUEROA, JUAN         ADDRESS ON FILE
FUENTES FIGUEROA, KATHIA       ADDRESS ON FILE
FUENTES FIGUEROA, LUZ          ADDRESS ON FILE
FUENTES FIGUEROA, MARIBEL      ADDRESS ON FILE
FUENTES FIGUEROA, SHEINA       ADDRESS ON FILE
FUENTES FIGUEROA, SHEINA D     ADDRESS ON FILE
FUENTES FIGUEROA, VICTOR       ADDRESS ON FILE
FUENTES FIGUEROA, WILSA I.     ADDRESS ON FILE
FUENTES FIGUEROA, YANITZA      ADDRESS ON FILE
FUENTES FLORES, EBY WALESKA    ADDRESS ON FILE
FUENTES FLORES, JANICE M       ADDRESS ON FILE
FUENTES FLORES, MARTA M        ADDRESS ON FILE
FUENTES FLORES, MINERVA        ADDRESS ON FILE
FUENTES FLORES, MINERVA        ADDRESS ON FILE
FUENTES FLORES, OMAR A         ADDRESS ON FILE
FUENTES FLORES, SAMUEL         ADDRESS ON FILE
FUENTES FORTY, CARLOS          ADDRESS ON FILE
FUENTES FRAGOSO, NILSA R       ADDRESS ON FILE
FUENTES FRED, MONICA           ADDRESS ON FILE
Fuentes Fuentes, Antonio       ADDRESS ON FILE
FUENTES FUENTES, ARNALDO       ADDRESS ON FILE
FUENTES FUENTES, CARMEN D      ADDRESS ON FILE
FUENTES FUENTES, CARMEN L      ADDRESS ON FILE
FUENTES FUENTES, GILBERTO      ADDRESS ON FILE
FUENTES FUENTES, GLORIA        ADDRESS ON FILE
Fuentes Fuentes, Jose E        ADDRESS ON FILE
FUENTES FUENTES, JOSE L.       ADDRESS ON FILE
FUENTES FUENTES, JOSE M        ADDRESS ON FILE
FUENTES FUENTES, JOSHUAN       ADDRESS ON FILE
Fuentes Fuentes, Juan Jose     ADDRESS ON FILE




                                                                           Page 3015 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3016 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES FUENTES, LUIS ANTONIO   ADDRESS ON FILE
FUENTES FUENTES, REY            ADDRESS ON FILE
FUENTES FUENTES, WILMA L        ADDRESS ON FILE
FUENTES FUENTES, YADIRA M.      ADDRESS ON FILE
Fuentes Galarza, Eddie L.       ADDRESS ON FILE
FUENTES GARAY, ALMA             ADDRESS ON FILE
FUENTES GARAY, JUAN E           ADDRESS ON FILE
FUENTES GARCIA, ALANA           ADDRESS ON FILE
FUENTES GARCIA, ANGEL R         ADDRESS ON FILE
FUENTES GARCIA, ARACELIS        ADDRESS ON FILE
FUENTES GARCIA, BRENDA          ADDRESS ON FILE
FUENTES GARCIA, DEBRA           ADDRESS ON FILE
FUENTES GARCIA, JORGE           ADDRESS ON FILE
Fuentes Garcia, Jose A          ADDRESS ON FILE
Fuentes Garcia, Julio E         ADDRESS ON FILE
FUENTES GARCIA, KARLA           ADDRESS ON FILE
FUENTES GARCIA, MERALYS         ADDRESS ON FILE
FUENTES GARCIA, WANDA           ADDRESS ON FILE
FUENTES GIUSTI, JEROME          ADDRESS ON FILE
FUENTES GONZALEZ, ADALBERTO     ADDRESS ON FILE
FUENTES GONZALEZ, ARMANDO       ADDRESS ON FILE
FUENTES GONZALEZ, AXEL A.       ADDRESS ON FILE
FUENTES GONZALEZ, EDDIE P       ADDRESS ON FILE
FUENTES GONZALEZ, GLORIMAR      ADDRESS ON FILE
Fuentes Gonzalez, Jose L.       ADDRESS ON FILE
FUENTES GONZALEZ, LUZ           ADDRESS ON FILE
FUENTES GONZALEZ, MARTA         ADDRESS ON FILE
FUENTES GONZALEZ, NYDIA I.      ADDRESS ON FILE
FUENTES GONZALEZ, VILMA         ADDRESS ON FILE
FUENTES GRACIA, OSCAR           ADDRESS ON FILE
FUENTES GUTIERREZ, JOSE A       ADDRESS ON FILE
FUENTES GUTIERREZ, JUAN         ADDRESS ON FILE
FUENTES GUTIERREZ, MYRIAM       ADDRESS ON FILE
FUENTES GUTIERREZ, SONIA        ADDRESS ON FILE
FUENTES HADDOCK, KATYMARY       ADDRESS ON FILE
FUENTES HART, RAYMOND           ADDRESS ON FILE
FUENTES HERNANDEZ, ARLEEN       ADDRESS ON FILE
FUENTES HERNANDEZ, CARLOS       ADDRESS ON FILE
FUENTES HERNANDEZ, CARLOS       ADDRESS ON FILE
FUENTES HERNANDEZ, CELIMAR      ADDRESS ON FILE
FUENTES HERNANDEZ, EMMA         ADDRESS ON FILE
FUENTES HERNANDEZ, IVETTE       ADDRESS ON FILE
FUENTES HERNANDEZ, JUDITH       ADDRESS ON FILE
FUENTES HERNANDEZ, MARIA        ADDRESS ON FILE
FUENTES HERNANDEZ, MISHEL       ADDRESS ON FILE
FUENTES HERNANDEZ, MYRNA I      ADDRESS ON FILE
FUENTES HERNANDEZ, OMAYRA       ADDRESS ON FILE
FUENTES INGUENZA MD, JOSE       ADDRESS ON FILE
FUENTES IRIZARRY, DOEL          ADDRESS ON FILE
FUENTES IRIZARRY, LEONEL        ADDRESS ON FILE
FUENTES JAIMAN, AIDA R.         ADDRESS ON FILE
FUENTES JAIMAN, JOSE            ADDRESS ON FILE
FUENTES JIMENEZ, CARLOS         ADDRESS ON FILE
FUENTES JIMENEZ, EDWIN          ADDRESS ON FILE
FUENTES JIMENEZ, RIGO           ADDRESS ON FILE
FUENTES JIMENEZ, THAYSHA N      ADDRESS ON FILE
FUENTES JUSINO, MILITZA         ADDRESS ON FILE
FUENTES JUSTINIANO, MILAGROS    ADDRESS ON FILE
FUENTES LA SANTA, MANUEL        ADDRESS ON FILE
FUENTES LACEN, LISANDRA         ADDRESS ON FILE




                                                                            Page 3016 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3017 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES LACEN, MARYQUEL         ADDRESS ON FILE
FUENTES LALAITE, OSMAR A.       ADDRESS ON FILE
FUENTES LANZO, EDICTA I.        ADDRESS ON FILE
FUENTES LANZO, JUAN O           ADDRESS ON FILE
FUENTES LANZO, MEYLIN           ADDRESS ON FILE
FUENTES LANZO, NEFTALI          ADDRESS ON FILE
FUENTES LASANTA, CARMEN L       ADDRESS ON FILE
FUENTES LASANTA, JUAN           ADDRESS ON FILE
FUENTES LASANTA, MARICELY       ADDRESS ON FILE
FUENTES LAZZARINI, ANDRES       ADDRESS ON FILE
FUENTES LAZZARINI, ENRIQUE J.   ADDRESS ON FILE
FUENTES LAZZARINI, ENRIQUE J.   ADDRESS ON FILE
FUENTES LEBRON, MIRIAM V        ADDRESS ON FILE
FUENTES LEONARDO, JOSE R        ADDRESS ON FILE
FUENTES LINARES, VALERIE        ADDRESS ON FILE
FUENTES LLOVET, CAROLINE        ADDRESS ON FILE
FUENTES LOPEZ, ADRIAN           ADDRESS ON FILE
FUENTES LOPEZ, BEATRIZ          ADDRESS ON FILE
FUENTES LOPEZ, CARMEN L         ADDRESS ON FILE
FUENTES LOPEZ, FELIPE           ADDRESS ON FILE
FUENTES LOPEZ, GABRIEL A        ADDRESS ON FILE
Fuentes Lopez, Herminio         ADDRESS ON FILE
FUENTES LOPEZ, JOSE             ADDRESS ON FILE
FUENTES LOPEZ, JOSE             ADDRESS ON FILE
Fuentes Lopez, Juan R           ADDRESS ON FILE
FUENTES LOPEZ, LILLIAM          ADDRESS ON FILE
FUENTES LOPEZ, LOIDA E.         ADDRESS ON FILE
FUENTES LOPEZ, MIGUEL A.        ADDRESS ON FILE
FUENTES LOPEZ, NILDA M          ADDRESS ON FILE
FUENTES LOPEZ, RAUL             ADDRESS ON FILE
FUENTES LOPEZ, ROLANDO          ADDRESS ON FILE
FUENTES LOPEZ, SONIA            ADDRESS ON FILE
FUENTES LOPEZ, SONIA N.         ADDRESS ON FILE
FUENTES LOPEZ, SONIA N.         ADDRESS ON FILE
Fuentes Lopez, Williams         ADDRESS ON FILE
FUENTES LOPEZ, YADIRA           ADDRESS ON FILE
FUENTES LOPEZ, ZULAIKA          ADDRESS ON FILE
FUENTES LORENZO, MIRNA          ADDRESS ON FILE
FUENTES LOZA, ADRIAN A.         ADDRESS ON FILE
FUENTES LOZADA, BENY G          ADDRESS ON FILE
FUENTES LOZADA, GRACIELA C      ADDRESS ON FILE
FUENTES LOZADA, MIGUEL          ADDRESS ON FILE
Fuentes Lozada, Roberto         ADDRESS ON FILE
FUENTES MADONADO, MAYRA D       ADDRESS ON FILE
FUENTES MALDONADO, AGNES M      ADDRESS ON FILE
FUENTES MALDONADO, ANA A        ADDRESS ON FILE
Fuentes Maldonado, Carlos       ADDRESS ON FILE
FUENTES MALDONADO, EDITH        ADDRESS ON FILE
FUENTES MALDONADO, ROBERTO      ADDRESS ON FILE
Fuentes Mantilla, Abdias        ADDRESS ON FILE
FUENTES MANTILLA, ABDIAS        ADDRESS ON FILE
FUENTES MARQUES, RAUL           ADDRESS ON FILE
FUENTES MARQUEZ, JUAN L         ADDRESS ON FILE
FUENTES MARRERO, BETZAIDA       ADDRESS ON FILE
FUENTES MARRERO, ELAINE         ADDRESS ON FILE
FUENTES MARRERO, FIDEL          ADDRESS ON FILE
FUENTES MARRERO, LISA           ADDRESS ON FILE
FUENTES MARRERO, ROBERTO        ADDRESS ON FILE
FUENTES MARTINEZ, ALEXIS        ADDRESS ON FILE
FUENTES MARTINEZ, AWILDA        ADDRESS ON FILE




                                                                            Page 3017 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3018 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES MARTINEZ, BRIGITTE     ADDRESS ON FILE
FUENTES MARTINEZ, JOSE A       ADDRESS ON FILE
FUENTES MARTINEZ, JOSE R.      ADDRESS ON FILE
FUENTES MARTINEZ, JUAN         ADDRESS ON FILE
FUENTES MARTINEZ, JUAN         ADDRESS ON FILE
FUENTES MARTINEZ, LESBIA A     ADDRESS ON FILE
FUENTES MARTINEZ, LORRAINE     ADDRESS ON FILE
FUENTES MARTINEZ, LUIS         ADDRESS ON FILE
FUENTES MARTINEZ, MAYRA        ADDRESS ON FILE
FUENTES MARTINEZ, NYDIA M      ADDRESS ON FILE
FUENTES MAS, STEPHANIE         ADDRESS ON FILE
FUENTES MATOS, ARTURO          ADDRESS ON FILE
FUENTES MATOS, JEFFREY         ADDRESS ON FILE
FUENTES MATOS, MARIA           ADDRESS ON FILE
FUENTES MATOS, MARIELYS        ADDRESS ON FILE
FUENTES MATOS, MAYRA L.        ADDRESS ON FILE
FUENTES MATTA, JORGE A.        ADDRESS ON FILE
FUENTES MAYMI, MARGARITA       ADDRESS ON FILE
FUENTES MD , JOSE N            ADDRESS ON FILE
FUENTES MD, ERNESTO            ADDRESS ON FILE
Fuentes Medina, Adalberto      ADDRESS ON FILE
FUENTES MEDINA, ANA T          ADDRESS ON FILE
FUENTES MEDINA, YAMIL          ADDRESS ON FILE
FUENTES MEJIAS, GASPAR         ADDRESS ON FILE
FUENTES MELENDEZ, EDGAR        ADDRESS ON FILE
FUENTES MELENDEZ, LUZ M        ADDRESS ON FILE
FUENTES MELENDEZ, MINERVA      ADDRESS ON FILE
FUENTES MELENDEZ, OLGA I.      ADDRESS ON FILE
FUENTES MELENDEZ, OLGA I.      ADDRESS ON FILE
FUENTES MELENDEZ, WILMA        ADDRESS ON FILE
FUENTES MENDEZ, CLARYS         ADDRESS ON FILE
FUENTES MENDEZ, CLARYS I       ADDRESS ON FILE
FUENTES MENDEZ, EDGARDO L      ADDRESS ON FILE
FUENTES MENENDEZ, ALEX         ADDRESS ON FILE
FUENTES MERCADO, JULY M.       ADDRESS ON FILE
FUENTES MERCADO, LERIAN M      ADDRESS ON FILE
FUENTES MERCADO, LUIS          ADDRESS ON FILE
FUENTES MERCADO, MARITZA       ADDRESS ON FILE
Fuentes Mercado, Rene          ADDRESS ON FILE
FUENTES MERCADO, ROSELYN       ADDRESS ON FILE
FUENTES MERCADO, YAHAIRA       ADDRESS ON FILE
FUENTES MILLALONCO, MARCELA    ADDRESS ON FILE
FUENTES MILLAN, CARMEN L       ADDRESS ON FILE
FUENTES MILLAN, FRANCISCO M    ADDRESS ON FILE
FUENTES MILLAN, JANNELLY       ADDRESS ON FILE
FUENTES MILLAN, JONATHAN       ADDRESS ON FILE
FUENTES MILLAN, JUAN E         ADDRESS ON FILE
FUENTES MIRANDA, IRIS          ADDRESS ON FILE
FUENTES MOCTEZUMA, ARI ANTMI   ADDRESS ON FILE
FUENTES MOCTEZUMA, LUZ N       ADDRESS ON FILE
FUENTES MOLINA HECTOR          ADDRESS ON FILE
FUENTES MOLINA, AMADOR         ADDRESS ON FILE
FUENTES MOLINA, ARMANDO        ADDRESS ON FILE
FUENTES MOLINA, BERNICE        ADDRESS ON FILE
FUENTES MOLINA, CARLOS M       ADDRESS ON FILE
FUENTES MOLINA, DELFIN J.      ADDRESS ON FILE
FUENTES MOLINA, EDWIN          ADDRESS ON FILE
FUENTES MOLINA, EDWIN          ADDRESS ON FILE
FUENTES MOLINA, EDWIN          ADDRESS ON FILE
FUENTES MOLINA, EVANGELINA     ADDRESS ON FILE




                                                                           Page 3018 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3019 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES MOLINA, FERDINAND     ADDRESS ON FILE
FUENTES MOLINA, JOSE E        ADDRESS ON FILE
FUENTES MOLINA, JUAN          ADDRESS ON FILE
FUENTES MOLINA, LUZ N         ADDRESS ON FILE
FUENTES MOLINA, LUZ N.        ADDRESS ON FILE
FUENTES MOLINA, MARCELINO     ADDRESS ON FILE
FUENTES MONGE, JOSE A.        ADDRESS ON FILE
FUENTES MONGE, LYDIA E        ADDRESS ON FILE
FUENTES MONGE, MARGARITA      ADDRESS ON FILE
FUENTES MONGE, MYRIAM         ADDRESS ON FILE
FUENTES MONJE, JUAN           ADDRESS ON FILE
FUENTES MORALES, ADRIANA      ADDRESS ON FILE
FUENTES MORALES, ANGEL        ADDRESS ON FILE
FUENTES MORALES, CARLOS R     ADDRESS ON FILE
FUENTES MORALES, CARMEN M     ADDRESS ON FILE
FUENTES MORALES, DANIEL       ADDRESS ON FILE
FUENTES MORALES, DAVID        ADDRESS ON FILE
FUENTES MORALES, ISIS         ADDRESS ON FILE
FUENTES MORALES, IVETTE       ADDRESS ON FILE
FUENTES MORALES, JORGE        ADDRESS ON FILE
FUENTES MORALES, LYSSETTE     ADDRESS ON FILE
FUENTES MORALES, MARIA        ADDRESS ON FILE
FUENTES MORALES, MARISOL      ADDRESS ON FILE
FUENTES MORALES, MAYRA        ADDRESS ON FILE
FUENTES MORALES, NIURKA       ADDRESS ON FILE
FUENTES MORALES, NOELIA       ADDRESS ON FILE
Fuentes Morales, Pedro A      ADDRESS ON FILE
Fuentes Muniz, Frances        ADDRESS ON FILE
Fuentes Muñiz, Francheska M   ADDRESS ON FILE
Fuentes Narvaez, Edwin        ADDRESS ON FILE
FUENTES NARVAEZ, EDWIN        ADDRESS ON FILE
Fuentes Navarro, Iris         ADDRESS ON FILE
FUENTES NAVARRO, IRIS         ADDRESS ON FILE
FUENTES NAVARRO, JACOB I      ADDRESS ON FILE
FUENTES NEGRON, CARMEN M      ADDRESS ON FILE
FUENTES NEGRON, IRMARY        ADDRESS ON FILE
FUENTES NEGRON, KENNETH A.    ADDRESS ON FILE
FUENTES NEGRON, SABINO        ADDRESS ON FILE
FUENTES NEGRON, STEVEN        ADDRESS ON FILE
FUENTES NIEVES, ALBA N        ADDRESS ON FILE
FUENTES NIEVES, EDDIE         ADDRESS ON FILE
FUENTES NIEVES, HECTOR        ADDRESS ON FILE
FUENTES NIEVES, JONATHAN      ADDRESS ON FILE
FUENTES NIEVES, MADELINE      ADDRESS ON FILE
FUENTES NIEVES, MARIA         ADDRESS ON FILE
FUENTES NIEVES, MARIBEL       ADDRESS ON FILE
FUENTES NIEVES, RODEL         ADDRESS ON FILE
Fuentes Nieves, William       ADDRESS ON FILE
FUENTES NOBOA, ALBA           ADDRESS ON FILE
FUENTES NUNEZ, ADRIANA        ADDRESS ON FILE
FUENTES NYDIA, CARTAGENA      ADDRESS ON FILE
FUENTES OCASIO, JOSE JAVIER   ADDRESS ON FILE
FUENTES OCASIO, MARIA L       ADDRESS ON FILE
FUENTES OLIQUE, DORALDINA     ADDRESS ON FILE
FUENTES OLIVENCIA, JAVIER     ADDRESS ON FILE
FUENTES OLIVERO, PATRICIA     ADDRESS ON FILE
FUENTES ORTEGA, ANA           ADDRESS ON FILE
FUENTES ORTEGA, ANA C         ADDRESS ON FILE
FUENTES ORTIZ, ANA L          ADDRESS ON FILE
FUENTES ORTIZ, ANGEL L        ADDRESS ON FILE




                                                                          Page 3019 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3020 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES ORTIZ, ARACELIS         ADDRESS ON FILE
FUENTES ORTIZ, CARMEN D         ADDRESS ON FILE
FUENTES ORTIZ, CARMEN F         ADDRESS ON FILE
FUENTES ORTIZ, CARMEN M         ADDRESS ON FILE
FUENTES ORTIZ, EDNA M           ADDRESS ON FILE
FUENTES ORTIZ, EDWIN            ADDRESS ON FILE
Fuentes Ortiz, Eladio           ADDRESS ON FILE
FUENTES ORTIZ, ELIZABETH        ADDRESS ON FILE
FUENTES ORTIZ, ENRIQUE          ADDRESS ON FILE
FUENTES ORTIZ, ESTEBAN          ADDRESS ON FILE
FUENTES ORTIZ, FRANCES          ADDRESS ON FILE
FUENTES ORTIZ, FRANCHESCA       ADDRESS ON FILE
FUENTES ORTIZ, FRANK            ADDRESS ON FILE
FUENTES ORTIZ, IRIS D           ADDRESS ON FILE
FUENTES ORTIZ, IRIS V           ADDRESS ON FILE
FUENTES ORTIZ, IVETTE SOCORRO   ADDRESS ON FILE
FUENTES ORTIZ, JOSE             ADDRESS ON FILE
FUENTES ORTIZ, JOSE A           ADDRESS ON FILE
FUENTES ORTIZ, JOSE A           ADDRESS ON FILE
FUENTES ORTIZ, LEKNA M          ADDRESS ON FILE
FUENTES ORTIZ, LIZ MAURA        ADDRESS ON FILE
FUENTES ORTIZ, LIZMARIE         ADDRESS ON FILE
FUENTES ORTIZ, LUZ              ADDRESS ON FILE
FUENTES ORTIZ, LYDIA            ADDRESS ON FILE
FUENTES ORTIZ, MANUEL DE J      ADDRESS ON FILE
FUENTES ORTIZ, MARCELINA        ADDRESS ON FILE
FUENTES ORTIZ, MARIA DE L       ADDRESS ON FILE
FUENTES ORTIZ, MARIA DEL C      ADDRESS ON FILE
FUENTES ORTIZ, MARITZA          ADDRESS ON FILE
FUENTES ORTIZ, MARYBELLE        ADDRESS ON FILE
FUENTES ORTIZ, MILAGROS         ADDRESS ON FILE
FUENTES ORTIZ, MINERVA          ADDRESS ON FILE
FUENTES ORTIZ, MINERVA          ADDRESS ON FILE
FUENTES ORTIZ, MINERVA          ADDRESS ON FILE
FUENTES ORTIZ, MINERVA          ADDRESS ON FILE
FUENTES ORTIZ, NAELIS           ADDRESS ON FILE
FUENTES ORTIZ, NILDA            ADDRESS ON FILE
Fuentes Ortiz, Nitza D          ADDRESS ON FILE
FUENTES ORTIZ, NYDIA F          ADDRESS ON FILE
FUENTES ORTIZ, PEDRO J          ADDRESS ON FILE
FUENTES ORTIZ, RAFAELA          ADDRESS ON FILE
FUENTES ORTIZ, RAMON B.         ADDRESS ON FILE
FUENTES ORTIZ, RICKY            ADDRESS ON FILE
FUENTES ORTIZ, SANDRA I         ADDRESS ON FILE
FUENTES ORTIZ, SERGIA M         ADDRESS ON FILE
FUENTES ORTIZ, TERESA           ADDRESS ON FILE
FUENTES OSORIO, CARLOS M        ADDRESS ON FILE
FUENTES OSORIO, JAKE            ADDRESS ON FILE
FUENTES OSORIO, JOSE            ADDRESS ON FILE
FUENTES OSORIO, JOSE M          ADDRESS ON FILE
Fuentes Osorio, Jose R          ADDRESS ON FILE
FUENTES OSORIO, MILKA           ADDRESS ON FILE
FUENTES OSORIO, XAVIER          ADDRESS ON FILE
FUENTES OTERO, CINTHYA          ADDRESS ON FILE
FUENTES OTERO, HECTOR L.        ADDRESS ON FILE
FUENTES OTERO, KHEILA           ADDRESS ON FILE
FUENTES OTERO, OMAYRA           ADDRESS ON FILE
Fuentes Pacheco, Antonio        ADDRESS ON FILE
FUENTES PACHECO, MANUEL A.      ADDRESS ON FILE
Fuentes Pacheco, Pedro          ADDRESS ON FILE




                                                                            Page 3020 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3021 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES PAGAN, JASMIN           ADDRESS ON FILE
FUENTES PAGAN, JASMIN           ADDRESS ON FILE
FUENTES PAGAN, JORGE            ADDRESS ON FILE
FUENTES PAGAN, NORCA            ADDRESS ON FILE
FUENTES PANET, VLADIMIR A       ADDRESS ON FILE
FUENTES PARRILLA, FELIX M.      ADDRESS ON FILE
Fuentes Parrilla, Joel A.       ADDRESS ON FILE
FUENTES PARRILLA, JOSE L        ADDRESS ON FILE
FUENTES PARRILLA, MARITZA       ADDRESS ON FILE
FUENTES PARRILLA, MONICA        ADDRESS ON FILE
FUENTES PARRILLA, SAMUEL        ADDRESS ON FILE
Fuentes Pastrana, Javier        ADDRESS ON FILE
Fuentes Pedroza, Arlene         ADDRESS ON FILE
FUENTES PEDROZA, HERIBERTO      ADDRESS ON FILE
FUENTES PEDROZA, MARIBEL        ADDRESS ON FILE
FUENTES PENALOZA, JUAN P.       ADDRESS ON FILE
FUENTES PEREZ, ALEXANDER        ADDRESS ON FILE
FUENTES PEREZ, ANGEL            ADDRESS ON FILE
FUENTES PEREZ, EVELYN           ADDRESS ON FILE
FUENTES PEREZ, ISMAEL           ADDRESS ON FILE
FUENTES PEREZ, JENNIFER         ADDRESS ON FILE
FUENTES PEREZ, JEZRAEL          ADDRESS ON FILE
FUENTES PEREZ, JOEL             ADDRESS ON FILE
FUENTES PEREZ, JOSE             ADDRESS ON FILE
Fuentes Perez, Jose E           ADDRESS ON FILE
FUENTES PEREZ, JUAN             ADDRESS ON FILE
FUENTES PEREZ, LUIS J           ADDRESS ON FILE
FUENTES PEREZ, MADELYN          ADDRESS ON FILE
FUENTES PEREZ, OLGA E           ADDRESS ON FILE
FUENTES PEREZ, RITA             ADDRESS ON FILE
FUENTES PEREZ, ROSARIO          ADDRESS ON FILE
FUENTES PEREZ, VILMA I          ADDRESS ON FILE
FUENTES PEREZ, YARILIS          ADDRESS ON FILE
FUENTES PIMENTEL, ROLANDO       ADDRESS ON FILE
FUENTES PINANGO, MARIA DEL C    ADDRESS ON FILE
FUENTES PINERO, JOSE R.         ADDRESS ON FILE
FUENTES PINET, CARLA            ADDRESS ON FILE
FUENTES PINET, CARLA            ADDRESS ON FILE
FUENTES PINET, JOSE LIUS        ADDRESS ON FILE
FUENTES PINTO, EDMANUEL         ADDRESS ON FILE
FUENTES PINTO, JORGE L          ADDRESS ON FILE
FUENTES PIZARRO, ANGEL YADIEL   ADDRESS ON FILE
FUENTES PIZARRO, CLAY           ADDRESS ON FILE
Fuentes Pizarro, Clay F.        ADDRESS ON FILE
FUENTES PIZARRO, EDWIN          ADDRESS ON FILE
FUENTES PIZARRO, EDWIN          ADDRESS ON FILE
FUENTES PIZARRO, JANIEL E       ADDRESS ON FILE
FUENTES PIZARRO, JANIEL E.      ADDRESS ON FILE
FUENTES PIZARRO, LUIS F         ADDRESS ON FILE
FUENTES PLAZA, CARLOS           ADDRESS ON FILE
FUENTES POLO, WINDY             ADDRESS ON FILE
FUENTES POMALES, BENJAMIN       ADDRESS ON FILE
FUENTES POMALES, RUTH N         ADDRESS ON FILE
FUENTES QUINONES, AIXA          ADDRESS ON FILE
FUENTES QUINONES, EDUARDO       ADDRESS ON FILE
FUENTES QUINONES, ERIC D.       ADDRESS ON FILE
FUENTES QUINONES, GLORYVETTE    ADDRESS ON FILE
Fuentes Quinones, Juan E.       ADDRESS ON FILE
FUENTES QUINONES, KARLA M.      ADDRESS ON FILE
FUENTES QUINONES, MARIA E       ADDRESS ON FILE




                                                                            Page 3021 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3022 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES QUINONEZ, AUREA       ADDRESS ON FILE
FUENTES QUINTANA, MANUEL      ADDRESS ON FILE
FUENTES QUIQONES, JORGE L     ADDRESS ON FILE
FUENTES RAMIREZ, JAIME        ADDRESS ON FILE
FUENTES RAMIREZ, JESSICA      ADDRESS ON FILE
FUENTES RAMIREZ, RICARDO      ADDRESS ON FILE
FUENTES RAMOS, AIDA I.        ADDRESS ON FILE
FUENTES RAMOS, AMARILYS       ADDRESS ON FILE
FUENTES RAMOS, ANGEL D        ADDRESS ON FILE
FUENTES RAMOS, CARLOS         ADDRESS ON FILE
FUENTES RAMOS, CARLOS         ADDRESS ON FILE
FUENTES RAMOS, CARMEN         ADDRESS ON FILE
FUENTES RAMOS, CARMEN T       ADDRESS ON FILE
FUENTES RAMOS, EDILBERTO      ADDRESS ON FILE
FUENTES RAMOS, EDNA I         ADDRESS ON FILE
FUENTES RAMOS, HECTOR         ADDRESS ON FILE
FUENTES RAMOS, JAVIER         ADDRESS ON FILE
FUENTES RAMOS, JAVIER         ADDRESS ON FILE
FUENTES RAMOS, JORGE          ADDRESS ON FILE
Fuentes Ramos, Justino        ADDRESS ON FILE
FUENTES RAMOS, LIVIA I        ADDRESS ON FILE
FUENTES RAMOS, MARIELA        ADDRESS ON FILE
FUENTES RAMOS, MIGUEL         ADDRESS ON FILE
FUENTES RAMOS, PEDRO          ADDRESS ON FILE
FUENTES RAMOS, RAMON          ADDRESS ON FILE
FUENTES RAMOS, SAMUEL         ADDRESS ON FILE
Fuentes Ranero, Alexis        ADDRESS ON FILE
FUENTES REYES, ANA G          ADDRESS ON FILE
FUENTES REYES, DENISE         ADDRESS ON FILE
FUENTES REYES, EDGARDO        ADDRESS ON FILE
FUENTES REYES, EVARLENE       ADDRESS ON FILE
FUENTES REYES, FELIX          ADDRESS ON FILE
Fuentes Reyes, Felix J        ADDRESS ON FILE
FUENTES REYES, JAVIER         ADDRESS ON FILE
FUENTES REYES, JORGE M        ADDRESS ON FILE
FUENTES REYES, JOSE A         ADDRESS ON FILE
FUENTES REYES, LUIS           ADDRESS ON FILE
FUENTES REYES, NYDIA A        ADDRESS ON FILE
FUENTES REYES, STACEY         ADDRESS ON FILE
FUENTES RIOS, ANTONIO         ADDRESS ON FILE
FUENTES RIOS, MARGARITA       ADDRESS ON FILE
FUENTES RIOS, MARGARITA       ADDRESS ON FILE
FUENTES RIOS, OMAR            ADDRESS ON FILE
FUENTES RIOS, ZAHILYN         ADDRESS ON FILE
FUENTES RIVERA, AIDA TERESA   ADDRESS ON FILE
FUENTES RIVERA, AIDALICE      ADDRESS ON FILE
Fuentes Rivera, Alberto       ADDRESS ON FILE
FUENTES RIVERA, ALEXANDRA     ADDRESS ON FILE
FUENTES RIVERA, ANIBAL        ADDRESS ON FILE
FUENTES RIVERA, BRENDA I.     ADDRESS ON FILE
FUENTES RIVERA, CAMILLE       ADDRESS ON FILE
FUENTES RIVERA, CHARLES       ADDRESS ON FILE
FUENTES RIVERA, CHRISTIAN     ADDRESS ON FILE
Fuentes Rivera, Daniel        ADDRESS ON FILE
FUENTES RIVERA, DAVID         ADDRESS ON FILE
FUENTES RIVERA, DIANA         ADDRESS ON FILE
FUENTES RIVERA, DIANA         ADDRESS ON FILE
FUENTES RIVERA, EDWIN         ADDRESS ON FILE
FUENTES RIVERA, EDWIN A       ADDRESS ON FILE
FUENTES RIVERA, EFRAIN        ADDRESS ON FILE




                                                                          Page 3022 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                                                    Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3023 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                          Address1                                   Address2                                      Address3             Address4            City         State   PostalCode   Country
FUENTES RIVERA, ELIZABETH              ADDRESS ON FILE
FUENTES RIVERA, EVA M                  ADDRESS ON FILE
FUENTES RIVERA, EVARISTO               ADDRESS ON FILE
FUENTES RIVERA, FRANCISCO              ADDRESS ON FILE
FUENTES RIVERA, GABRIEL                ADDRESS ON FILE
FUENTES RIVERA, HILDA R                ADDRESS ON FILE
Fuentes Rivera, Horacio                ADDRESS ON FILE
FUENTES RIVERA, IRIS                   ADDRESS ON FILE
FUENTES RIVERA, IRIS D                 ADDRESS ON FILE
FUENTES RIVERA, JENNIFER M             ADDRESS ON FILE
FUENTES RIVERA, JESUS                  ADDRESS ON FILE
FUENTES RIVERA, JOSE                   ADDRESS ON FILE
Fuentes Rivera, Jose A.                ADDRESS ON FILE
FUENTES RIVERA, JULIO E.               ADDRESS ON FILE
                                                                                                                                478 CALLE JOSÉ A.
                                                                                                                                CANALS SUITE 1A
FUENTES RIVERA, KAREN ODALYS Y OTROS   LCDO. IVÁN A. COLÓN MORALES                URB. ROOSEVELT                                (ALTOS)                                  SAN JUAN     PR      00918‐2723
                                                                                                                                                     478 CALLE JOSÉ A.
                                                                                                                                                     CANALS SUITE 1A
FUENTES RIVERA, KAREN ODALYS Y OTROS   LCDO. LUIS E. FUSTÉ LACOURT                LCDA. LAURA R. RODRÍGUEZ VÉLEZ                URB. ROOSEVELT       (ALTOS)             SAN JUAN     PR      00918‐2723
                                                                                                                                450 CÉSAR GONZÁLEZ
FUENTES RIVERA, KAREN ODALYS Y OTROS   LCDO. LUIS E. FUSTÉ LACOURTLCDO. PEDRO J. RE LCDO. LUIS E. FUSTÉ LACOURT                 (2DO NIVEL)          PO BOX 194921       SAN JUAN     PR      00919‐4921
FUENTES RIVERA, KAREN ODALYS Y OTROS   LCDO. PEDRO J. REYERO GONZÁLEZ               LCDO. PEDRO J. REYERO GONZÁLEZ              PO BOX 70313                             SAN JUAN     PR      00936‐8313
FUENTES RIVERA, LIONEL                 ADDRESS ON FILE
FUENTES RIVERA, LOURDES                ADDRESS ON FILE
FUENTES RIVERA, LUCILA                 ADDRESS ON FILE
FUENTES RIVERA, LUIS                   ADDRESS ON FILE
FUENTES RIVERA, LUISA                  ADDRESS ON FILE
FUENTES RIVERA, LYDIA                  ADDRESS ON FILE
Fuentes Rivera, Madeline               ADDRESS ON FILE
FUENTES RIVERA, MARIA                  ADDRESS ON FILE
FUENTES RIVERA, MARIA                  ADDRESS ON FILE
FUENTES RIVERA, MARIA DE LOS           ADDRESS ON FILE
Fuentes Rivera, Nehemias               ADDRESS ON FILE
FUENTES RIVERA, NEHEMIAS               ADDRESS ON FILE
FUENTES RIVERA, REBECA L               ADDRESS ON FILE
Fuentes Rivera, Ricardo                ADDRESS ON FILE
FUENTES RIVERA, ROSA L.                ADDRESS ON FILE
FUENTES RIVERA, SHIRLEY                ADDRESS ON FILE
FUENTES RIVERA, SUSETTE                ADDRESS ON FILE
FUENTES RIVERA, TELESFORO              ADDRESS ON FILE
FUENTES RIVERA, TERESITA               ADDRESS ON FILE
FUENTES RIVERA, VERONICA               ADDRESS ON FILE
FUENTES RIVERA, VICTOR                 ADDRESS ON FILE
FUENTES RIVERA, WANDA                  ADDRESS ON FILE
FUENTES RIVERA, YESENIA                ADDRESS ON FILE
FUENTES ROBERT, NORBERTO               ADDRESS ON FILE
FUENTES ROBINSON, CARMEN M             ADDRESS ON FILE
FUENTES ROBLEDO, JASNIL                ADDRESS ON FILE
FUENTES ROBLES, MARIA L.               ADDRESS ON FILE
FUENTES ROBLES, MARIBEL                ADDRESS ON FILE
FUENTES ROBLES, MILAGROS               ADDRESS ON FILE
FUENTES ROCHE, JOSE                    ADDRESS ON FILE
FUENTES RODRIGUEZ, ALEJANDRO           ADDRESS ON FILE
FUENTES RODRIGUEZ, ANA D.              ADDRESS ON FILE
FUENTES RODRIGUEZ, ANA G               ADDRESS ON FILE
FUENTES RODRIGUEZ, ANA H               ADDRESS ON FILE
FUENTES RODRIGUEZ, ANDRES R.           ADDRESS ON FILE
FUENTES RODRIGUEZ, ANGEL               ADDRESS ON FILE
FUENTES RODRIGUEZ, CARMEN R.           ADDRESS ON FILE




                                                                                                               Page 3023 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3024 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES RODRIGUEZ, DANIEL        ADDRESS ON FILE
FUENTES RODRIGUEZ, DIANA         ADDRESS ON FILE
FUENTES RODRIGUEZ, DIOSA         ADDRESS ON FILE
FUENTES RODRIGUEZ, EDUARDO       ADDRESS ON FILE
FUENTES RODRIGUEZ, EDWIN A.      ADDRESS ON FILE
FUENTES RODRIGUEZ, GERALD        ADDRESS ON FILE
FUENTES RODRIGUEZ, HECTOR        ADDRESS ON FILE
FUENTES RODRIGUEZ, HECTOR        ADDRESS ON FILE
FUENTES RODRIGUEZ, IVAN          ADDRESS ON FILE
FUENTES RODRIGUEZ, LIZ K         ADDRESS ON FILE
FUENTES RODRIGUEZ, LIZETTE       ADDRESS ON FILE
FUENTES RODRIGUEZ, LIZVETTE      ADDRESS ON FILE
FUENTES RODRIGUEZ, MARTHA R      ADDRESS ON FILE
FUENTES RODRIGUEZ, MELITZA       ADDRESS ON FILE
FUENTES RODRIGUEZ, NATASHA       ADDRESS ON FILE
FUENTES RODRIGUEZ, PEDRO J       ADDRESS ON FILE
FUENTES RODRIGUEZ, RICARDO       ADDRESS ON FILE
FUENTES RODRIGUEZ, ROSA          ADDRESS ON FILE
FUENTES RODRIGUEZ, SONIA         ADDRESS ON FILE
FUENTES RODRIGUEZ, YAHAIRA       ADDRESS ON FILE
FUENTES RODRIGUEZ, ZULMA         ADDRESS ON FILE
FUENTES ROJAS, HEIDY             ADDRESS ON FILE
FUENTES ROJAS, RICARDO           ADDRESS ON FILE
FUENTES ROLDAN, JOSE E           ADDRESS ON FILE
FUENTES ROLDAN, MARTIN           ADDRESS ON FILE
FUENTES ROLON, CARMEN D.         ADDRESS ON FILE
FUENTES ROMAN, ANGEL             ADDRESS ON FILE
FUENTES ROMAN, DANIEL            ADDRESS ON FILE
FUENTES ROMAN, GABRIEL J         ADDRESS ON FILE
FUENTES ROMAN, JAIME A           ADDRESS ON FILE
Fuentes Roman, Joel              ADDRESS ON FILE
FUENTES ROMAN, LUIS              ADDRESS ON FILE
FUENTES ROMAN, TANIA             ADDRESS ON FILE
FUENTES ROMERO, KRISIAN          ADDRESS ON FILE
FUENTES ROMERO, SANDRA L.        ADDRESS ON FILE
FUENTES ROMERO, SANDRA LIZETTE   ADDRESS ON FILE
FUENTES RONDON, JULIO            ADDRESS ON FILE
FUENTES ROSA, ARLYN              ADDRESS ON FILE
FUENTES ROSA, ELSA               ADDRESS ON FILE
FUENTES ROSA, ISMAEL             ADDRESS ON FILE
FUENTES ROSA, JUAN               ADDRESS ON FILE
FUENTES ROSA, KELVIN             ADDRESS ON FILE
FUENTES ROSADO, CHRISTIAN        ADDRESS ON FILE
FUENTES ROSADO, ENIEL            ADDRESS ON FILE
FUENTES ROSADO, GIOVANIER        ADDRESS ON FILE
FUENTES ROSADO, LEIDY M          ADDRESS ON FILE
FUENTES ROSADO, LEIDY M          ADDRESS ON FILE
FUENTES ROSADO, SHEILA M         ADDRESS ON FILE
FUENTES ROSARIO, ANA V           ADDRESS ON FILE
FUENTES ROSARIO, EDGARDO         ADDRESS ON FILE
FUENTES ROSARIO, JOSE            ADDRESS ON FILE
FUENTES ROSARIO, MYRNA L         ADDRESS ON FILE
Fuentes Rosario, Pablo           ADDRESS ON FILE
FUENTES RUIZ, ALAN               ADDRESS ON FILE
Fuentes Ruiz, Jorge L            ADDRESS ON FILE
FUENTES RUIZ, MIGDALIA           ADDRESS ON FILE
FUENTES RUIZ, MIGDALIA           ADDRESS ON FILE
FUENTES RUIZ, REBECA             ADDRESS ON FILE
FUENTES RUIZ, VERONICA           ADDRESS ON FILE
FUENTES RUIZ, VIVIAN             ADDRESS ON FILE




                                                                             Page 3024 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3025 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES SANCHEZ, BRENDA L.      ADDRESS ON FILE
FUENTES SANCHEZ, ELIZABETH      ADDRESS ON FILE
FUENTES SANCHEZ, ENID           ADDRESS ON FILE
FUENTES SANCHEZ, JORGE          ADDRESS ON FILE
FUENTES SANCHEZ, JORGE          ADDRESS ON FILE
FUENTES SANCHEZ, JORGE          ADDRESS ON FILE
FUENTES SANCHEZ, MARILUZ        ADDRESS ON FILE
FUENTES SANCHEZ, MELVIN         ADDRESS ON FILE
FUENTES SANCHEZ, RICARDO        ADDRESS ON FILE
FUENTES SANCHEZ, TABATA         ADDRESS ON FILE
FUENTES SANCHEZ, ZULMARIE       ADDRESS ON FILE
FUENTES SANJURJO, CARLOS R      ADDRESS ON FILE
Fuentes Sanjurjo, Jinai S.      ADDRESS ON FILE
FUENTES SANJURJO, LISANDRA I    ADDRESS ON FILE
FUENTES SANJURJO, VALERIE A.    ADDRESS ON FILE
Fuentes Santana, Edgardo L.     ADDRESS ON FILE
FUENTES SANTIAGO MD, YAZMIN     ADDRESS ON FILE
Fuentes Santiago, Eddie         ADDRESS ON FILE
FUENTES SANTIAGO, GIOVANNA I.   ADDRESS ON FILE
FUENTES SANTIAGO, JOSE          ADDRESS ON FILE
FUENTES SANTOS, BENJAMIN        ADDRESS ON FILE
FUENTES SANTOS, CARLOS          ADDRESS ON FILE
FUENTES SANTOS, ESTHER          ADDRESS ON FILE
FUENTES SANTOS, MARAN           ADDRESS ON FILE
FUENTES SANTOS, YESENIA         ADDRESS ON FILE
FUENTES SASTRE, GABRIEL         ADDRESS ON FILE
FUENTES SASTRE, GABRIEL         ADDRESS ON FILE
FUENTES SASTRE, ROXDALIA        ADDRESS ON FILE
FUENTES SEMPRIT, JACKELINE      ADDRESS ON FILE
FUENTES SERRANO, JOSE           ADDRESS ON FILE
FUENTES SERRANO, JOSE A.        ADDRESS ON FILE
FUENTES SERRANO, JOSE A.        ADDRESS ON FILE
FUENTES SERVICE STATION INC     BO SALDINERA              1 CARR 693                                             DORADO       PR      00646
FUENTES SILVA, EDNA I           ADDRESS ON FILE
FUENTES SILVA, JOEL             ADDRESS ON FILE
FUENTES SILVA, SANDRA J         ADDRESS ON FILE
Fuentes Sosa, Alfredo           ADDRESS ON FILE
FUENTES SOTO, JOSE              ADDRESS ON FILE
FUENTES SOTO, SONIA             ADDRESS ON FILE
FUENTES SOTOMAYOR, ELIZABETH    ADDRESS ON FILE
FUENTES SUAREZ, GABRIELA        ADDRESS ON FILE
FUENTES SUAREZ, HILDA           ADDRESS ON FILE
FUENTES SUAREZ, NILKA           ADDRESS ON FILE
FUENTES TIRADO, JOSE            ADDRESS ON FILE
Fuentes Tirado, Jose R          ADDRESS ON FILE
FUENTES TOLEDO, IRIS            ADDRESS ON FILE
Fuentes Tolentino, Moises       ADDRESS ON FILE
FUENTES TORRES, ANGEL           ADDRESS ON FILE
FUENTES TORRES, DAVID           ADDRESS ON FILE
FUENTES TORRES, EUCLIDES        ADDRESS ON FILE
FUENTES TORRES, FINAMEL         ADDRESS ON FILE
FUENTES TORRES, GLENDA          ADDRESS ON FILE
FUENTES TORRES, GLENDA          ADDRESS ON FILE
FUENTES TORRES, HECTOR          ADDRESS ON FILE
FUENTES TORRES, ILIANETTE       ADDRESS ON FILE
FUENTES TORRES, JORGE           ADDRESS ON FILE
FUENTES TORRES, JOSE            ADDRESS ON FILE
FUENTES TORRES, JOSE            ADDRESS ON FILE
FUENTES TORRES, JULIO           ADDRESS ON FILE
FUENTES TORRES, KETTY           ADDRESS ON FILE




                                                                            Page 3025 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3026 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
FUENTES TORRES, LUZ M          ADDRESS ON FILE
FUENTES TORRES, MAGALY         ADDRESS ON FILE
FUENTES TORRES, MARIELLY       ADDRESS ON FILE
FUENTES TORRES, OSVALDO        ADDRESS ON FILE
FUENTES TORRES, SAMUEL         ADDRESS ON FILE
FUENTES TORRES, WALESKA        ADDRESS ON FILE
FUENTES TORRES, WANDA I        ADDRESS ON FILE
FUENTES TORRES, WILLIAM        ADDRESS ON FILE
FUENTES VALCARCEL, ANDRALIS    ADDRESS ON FILE
FUENTES VALCARCEL, JAVIER      ADDRESS ON FILE
FUENTES VALENTIN, ANIBAL       ADDRESS ON FILE
FUENTES VALENTIN, DELFIN       ADDRESS ON FILE
FUENTES VALENTIN, IDALYS       ADDRESS ON FILE
FUENTES VALENTIN, SOFIA        ADDRESS ON FILE
FUENTES VARELA, CARLOS         ADDRESS ON FILE
FUENTES VARGAS, JUDITH         ADDRESS ON FILE
FUENTES VARGAS, ROBERTO        ADDRESS ON FILE
FUENTES VAZQUEZ, JANEABELLE    ADDRESS ON FILE
FUENTES VAZQUEZ, JANEABELLE    ADDRESS ON FILE
FUENTES VAZQUEZ, JOHN          ADDRESS ON FILE
FUENTES VAZQUEZ, JOSUE         ADDRESS ON FILE
FUENTES VAZQUEZ, JUANITA       ADDRESS ON FILE
FUENTES VAZQUEZ, JUDALYS       ADDRESS ON FILE
FUENTES VAZQUEZ, LEIRA         ADDRESS ON FILE
FUENTES VAZQUEZ, MAGDALENA     ADDRESS ON FILE
FUENTES VAZQUEZ, MARIA         ADDRESS ON FILE
FUENTES VAZQUEZ, MARIA E       ADDRESS ON FILE
FUENTES VAZQUEZ, MARIA S.      ADDRESS ON FILE
FUENTES VAZQUEZ, MAYRA R       ADDRESS ON FILE
FUENTES VAZQUEZ, MELITZA       ADDRESS ON FILE
FUENTES VAZQUEZ, RAMON L.      ADDRESS ON FILE
FUENTES VAZQUEZ, RAQUEL        ADDRESS ON FILE
FUENTES VAZQUEZ, TERESA        ADDRESS ON FILE
FUENTES VAZQUEZ, YADIRA        ADDRESS ON FILE
Fuentes Vazquez, Yanira        ADDRESS ON FILE
FUENTES VAZQUEZ, YANIRA        ADDRESS ON FILE
FUENTES VEGA, GEORGINA         ADDRESS ON FILE
Fuentes Vega, Moises           ADDRESS ON FILE
Fuentes Velazquez, Carlos E.   ADDRESS ON FILE
FUENTES VELAZQUEZ, ERICK       ADDRESS ON FILE
FUENTES VELAZQUEZ, JESUS       ADDRESS ON FILE
FUENTES VELAZQUEZ, JOSE        ADDRESS ON FILE
FUENTES VELAZQUEZ, PORFIRIA    ADDRESS ON FILE
FUENTES VELAZQUEZ, VIVIAN L    ADDRESS ON FILE
FUENTES VELAZQUEZ, ZORAIDA     ADDRESS ON FILE
FUENTES VELEZ, DAVID           ADDRESS ON FILE
FUENTES VELEZ, GRACE M         ADDRESS ON FILE
FUENTES VELEZ, ILIANEXCIS      ADDRESS ON FILE
FUENTES VELEZ, JAMILETTE       ADDRESS ON FILE
FUENTES VELEZ, JAMILETTE       ADDRESS ON FILE
FUENTES VELEZ, RUBEN           ADDRESS ON FILE
FUENTES VELLON, FRANCES        ADDRESS ON FILE
FUENTES VERDEJO, ALEXIS        ADDRESS ON FILE
FUENTES VERGARA, CHAMARY       ADDRESS ON FILE
FUENTES VERGARA, CHAMARY       ADDRESS ON FILE
FUENTES VERGARA, ODALYS        ADDRESS ON FILE
FUENTES VIERA, THANIANA        ADDRESS ON FILE
FUENTES VIGUIE, MARUJA         ADDRESS ON FILE
FUENTES VILLANUEVA, DELMA J    ADDRESS ON FILE
FUENTES VILLANUEVA, HONIS      ADDRESS ON FILE




                                                                           Page 3026 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3027 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                     Address1                  Address2                                  Address3   Address4   City          State   PostalCode   Country
FUENTES VILLANUEVA, JUANA         ADDRESS ON FILE
FUENTES VILLEGAS, ANGEL D         ADDRESS ON FILE
FUENTES VILLEGAS, JUAN M          ADDRESS ON FILE
FUENTES VILLEGAS, OLGA I          ADDRESS ON FILE
FUENTES WALKER, SASHA             ADDRESS ON FILE
FUENTES, AIDA LUZ                 ADDRESS ON FILE
FUENTES, DALIA I                  ADDRESS ON FILE
FUENTES, EFRAIN                   ADDRESS ON FILE
FUENTES, ELVIS                    ADDRESS ON FILE
FUENTES, HENRI J                  ADDRESS ON FILE
Fuentes, Jose Armando             ADDRESS ON FILE
FUENTES, JOSEFINO                 ADDRESS ON FILE
FUENTES, JUAN                     ADDRESS ON FILE
FUENTES, JUAN                     ADDRESS ON FILE
FUENTES, JULIO E                  ADDRESS ON FILE
FUENTES, LUIS A                   ADDRESS ON FILE
FUENTES, MARIA D                  ADDRESS ON FILE
FUENTES, MARIA V                  ADDRESS ON FILE
FUENTES, PEDRO                    ADDRESS ON FILE
FUENTES, ROLANDO                  ADDRESS ON FILE
FUENTES,DENNIS                    ADDRESS ON FILE
FUENTESCRUZ, PEDRO                ADDRESS ON FILE
FUENTESFERNANDEZ, CARMEN          ADDRESS ON FILE
FUENTESGONZALEZ, MARTA            ADDRESS ON FILE
FUENTESMALDONADO, ROBERTO         ADDRESS ON FILE
FUENTESMORALES, ALBERTO           ADDRESS ON FILE
FUENTESNUNEZ, MAXIMINO            ADDRESS ON FILE
FUENTEZ FLORES, IVAN E.           ADDRESS ON FILE
FUENTEZ GARCIA, JAYSON R.         ADDRESS ON FILE
FUENTEZ HERNANDEZ, CARMEN         ADDRESS ON FILE
FUENTEZ OSORIO, MILKA             ADDRESS ON FILE
FUENTEZ RIVERA, CARMEN            ADDRESS ON FILE
FUERTE SKERRETT, LUIS             ADDRESS ON FILE
FUERTES BBQ                       ADDRESS ON FILE
FUERTES GONZALEZ, HAIDY           ADDRESS ON FILE
FUERTES HERNANDEZ, JOSE           ADDRESS ON FILE
FUERTES LABAYEN, PEDRO            ADDRESS ON FILE
FUERTES MASAROVIC, WILLIAM        ADDRESS ON FILE
FUERTES PLANAS MD, JOSE M         ADDRESS ON FILE
FUERTES ROMEU, RENE               ADDRESS ON FILE
FUERTES SANTIAGO, ORIETA          ADDRESS ON FILE
FUERTES TEXIDOR, JUAN C.          ADDRESS ON FILE
FUERTES TEXIDOR, JUAN C.          ADDRESS ON FILE
FUERTES TORRES, LUIS              ADDRESS ON FILE
FUERTES VELEZ, CARMEN             ADDRESS ON FILE
FUERTES VELEZ, MARIA              ADDRESS ON FILE
FUIGUEROA LUGO, DANIEL            ADDRESS ON FILE
FULCRO INSURANCE INC              PO BOX 9024048                                                                            SAN JUAN      PR      00936‐4048
FULGENCIO CORREA GUTIERREZ        ADDRESS ON FILE
FULL ADVERSTISING EXPRESS, CORP   URB COUNTRY CLUB          JD7 CALLE 230                                                   CAROLINA      PR      00982‐2702
FULL ADVERTISING EXPRESS          P O BOX 1745                                                                              CAROLINA      PR      00984
FULL HOUSE DEVELOPMENT INC        REPTO METROPOLITANO       1311 AVE AMERICO MIRANDA                                        SAN JUAN      PR      00921
FULL POWER ELECTRICAL CORP        PO BOX 3873                                                                               CAROLINA      PR      00984
FULL POWER GENERATOR CORP.        P.O. BOX 3873                                                                             CAROLINA      PR      00984
FULL POWER TESTING CORP           PO BOX 3873                                                                               CAROLINA      PR      00984‐3873
FULL POWER TESTING CORP.          P O BOX 3873                                                                                            PR      00984‐0000
FULL SAIL UNIVERSITY              ADDRESS ON FILE
FULLANA ACOSTA, LEONARDO          ADDRESS ON FILE
FULLANA ACOSTA, ROSA              ADDRESS ON FILE
FULLANA HEAVY WORKS CORP          P O BOX 1634                                                                              VEGA BAJA     PR      00964




                                                                                       Page 3027 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3028 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                           Address1                           Address2                                   Address3       Address4   City         State   PostalCode   Country
FULLANA HERNANDEZ, CARMEN               ADDRESS ON FILE
FULLANA HERNANDEZ, MARIA T              ADDRESS ON FILE
Fullena Hernandez, Maria T              ADDRESS ON FILE
FULLER BRUSH                            PO BOX 362617                                                                                           SAN JUAN     PR      00936
FULLER BRUSH CO PR INC                  AREA DEL TESORO                    DIVISION DE RECLAMACIONES                                            SAN JUAN     PR      00902‐4140
FULLER BRUSH CO PR INC                  PO BOX 362617                                                                                           SAN JUAN     PR      00936‐2617
FULLER GARCIA, JAM M                    ADDRESS ON FILE
FULLER, JOHN                            ADDRESS ON FILE
FULMORE & ASSOC CHIROPRACTIC HEALTH     ATTN MEDICAL RECORDS               1500 W GORE                                                          ORLANDO      FL      32805
FULTON COUNTY HEALTH CENTER             725 S SHOOP AVE                                                                                         WAUSEON      OH      43567
FULTON MD, MICHAEL                      ADDRESS ON FILE
FULTON, SEAN                            ADDRESS ON FILE
FULVIO, PASQUALE                        ADDRESS ON FILE
FUMERO CABAN, BRUNILDA                  ADDRESS ON FILE
FUMERO CARRION, JUAN J                  ADDRESS ON FILE
FUMERO GONZALEZ, GIOVANNY               ADDRESS ON FILE
FUMERO GONZALEZ, MIKE                   ADDRESS ON FILE
FUMERO MALAVE, FELIX                    ADDRESS ON FILE
FUMERO MALAVE, FELIX R.                 ADDRESS ON FILE
FUMERO MALDONADO, PEDRO                 ADDRESS ON FILE
FUMERO PANETO, ANGELA                   ADDRESS ON FILE
FUMERO PEREZ MD, ILEANA M               ADDRESS ON FILE
FUMERO PEREZ MD, JAIME F                ADDRESS ON FILE
FUMERO PEREZ MD, JOSE R                 ADDRESS ON FILE
FUMERO PEREZ MD, JUAN J                 ADDRESS ON FILE
FUMERO PEREZ MD, JUAN J                 ADDRESS ON FILE
FUMERO PEREZ, ELISA                     ADDRESS ON FILE
FUMERO PEREZ, ELISA                     ADDRESS ON FILE
Fumero Perez, Julio                     ADDRESS ON FILE
FUMERO PUGLIESSI, FELIX                 ADDRESS ON FILE
FUMERO RIVERA, CHEILA                   ADDRESS ON FILE
FUMERO RIVERA, EDITH                    ADDRESS ON FILE
FUMERO RIVERA, EDITH                    ADDRESS ON FILE
FUMERO RODRIGUEZ, DAMARIS               ADDRESS ON FILE
FUMERO RODRIGUEZ, MIRIAM                ADDRESS ON FILE
FUMERO TORRES, ANGEL                    ADDRESS ON FILE
Fumero Torres, Jose M                   ADDRESS ON FILE
FUMERO TORRES, XAVIER                   ADDRESS ON FILE
FUMERO VAZQUEZ, JUAN F                  ADDRESS ON FILE
FUMIGACION LC                           ADDRESS ON FILE
FUMIGACION LC, INC.                     PO BOX 367267                                                                                           SAN JUAN     PR      00936‐7267
FUN EL BUEN PASTOR CEIBA                ADDRESS ON FILE
FUN ENTERPRISES INC                     PO BOX 7                                                                                                CATANO       PR      00936
FUN JAYUYA MEMORIAL                     ADDRESS ON FILE
FUN PUERTORRIQUENA SINDROME DOWN        ADDRESS ON FILE
FUN VALLEY PARK                         ADDRESS ON FILE
FUN VALLEY PARK                         ADDRESS ON FILE
FUN VALLEY PARK                         ADDRESS ON FILE
FUN VALLEY PARK INC                     P O BOX 93                                                                                              CAMUY        PR      00627‐0093
FUN. SANTO CRISTO DE LA SALUD           ADDRESS ON FILE
FUN.TONITO FLORES                       ADDRESS ON FILE
FUNCTIONAL CAPACITY AND EVALUATION CENTEGALERIA PASEO MALL                 112 SUITE 161                                                        SAN JUAN     PR      00926
FUND ACCION SOCIAL REFUGIO ETERNO INC   P O BOX 8388                                                                                            BAYAMON      PR      00960
FUND CHANA GODSTEIN/SAMUEL LEVIS INC    776 AVE PONCE DE LEON STE 20                                                                            SAN JUAN     PR      00923
FUND DE ACCION SOCIAL RESPLANDOR INC    PO BOX 29401                                                                                            SAN JUAN     PR      00929‐0401
FUND DE ESCLEROSIS MULTIPLE DE PR INC   AREA DEL TESORO                    DIVISION DE RECLAMACIONES                                            SAN JUAN     PR      00902‐4140
FUND DE ESCLEROSIS MULTIPLE DE PR INC   CENTRO INTERNACIONAL DE MERCADEO   TORRE 1 SUITE 403                          100 CARR 165              GUAYNABO     PR      00968
FUND EDUCATIVA CONCEPCION MARTIN/SONIFEP O BOX 70006                                                                                            FAJARDO      PR      00738
FUND JOSE SANCHEZ, SOCIEDAD HUMANITARIA CALLE MEERHOFF NERI 343            VILLA PALMERAS                                                       SAN JUAN     PR      00915
FUND PUERTORRIQUEÐA DES INT EMOCIONAL P O BOX 8265                                                                                              CAGUAS       PR      00726




                                                                                                       Page 3028 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3029 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                          Address1                            Address2                                    Address3              Address4   City            State   PostalCode   Country
FUND PUERTORRIQUEÐA INV PREV SUICIDIO  P O BOX 20938                                                                                                    SAN JUAN        PR      00928‐0938
FUND PUERTORRIQUENA DES INT EMOCIONAL P O BOX 8265                                                                                                      CAGUAS          PR      00726
FUND PUERTORRIQUENA INV PREV SUICIDIO  P O BOX 20938                                                                                                    SAN JUAN        PR      00928‐0938
FUND PUERTORRIQUENO PRO DESARROLLO DEP P O BOX 4770                                                                                                     CAROLINA        PR      00984‐4770
FUND SOCIO EDUCATIVA DE CAGUAS         PO BOX 4952                         SUITE 238                                                                    CAGUAS          PR      00725
FUND UNIDOS POR EL NUEVO SIGLO INC     PLAZA JARDINES 4012                 SUITE 15                                                                     VEGA BAJA       PR      00693
FUND. CHANA GOLDSTEIN & SAMUEL LEVIS   776 PONCE DE LEON BOX 20                                                                                         SAN JUAN        PR      00925
FUND. CHANA GOLDSTEIN & SAMUEL LEVIS   AVE. PONCE DE LEON 776                                                                                           SAN JUAN        PR      00925
FUNDACION 4 INC                        PO BOX 801469                                                                                                    COTO LAUREL     PR      00780‐1469
FUNDACION A.M.A.R., INC.               P.O. BOX 361173                                                                                                  SAN JUAN        PR      00936
FUNDACION ACCION SOCIAL                PO BOX 8388                                                                                                      BAYAMON         PR      00960
FUNDACION ACCION SOCIAL EL SHADDAI     PO BOX 1389                                                                                                      CAROLINA        PR      00986‐1389
FUNDACION ACCION SOCIAL EL SHADDAI INC AREA DEL TESORO                     DIVISION DE RECLAMACIONES                                                    SAN JUAN        PR      00902‐4140
                                                                                                                       NUMERO 48 CARRETERA
FUNDACION AGENDA CIUDADANA             CITY VIEW PLAZA                     SUITE 510                                   16                               GUAYNABO        PR      00968‐3000
FUNDACION AGENDA CIUDADANA             CITY VIEW PLAZA                     48 CARR 165 SUITE 1120                                                       GUAYNABO        PR      00968
FUNDACION AJEDREZ RAFAEL ORTIZ PR INC  PO BOX 1803                                                                                                      CAGUAS          PR      00726‐1803
FUNDACION ALAS A LA MUJER INC          PO BOX 360205                                                                                                    SAN JUAN        PR      00936‐0205
FUNDACION ALAS A LA MUJER, INC.        PMB 495                             89 DE DIEGO AVE. SUITE 105                                                   SAN JUAN        PR      00922
FUNDACION ALS, INC.                    P.O. BOX 2672                                                                                                    BAYAMON         PR      00960
FUNDACION A‐MAR PARA NINOS QUEMADOS, INP.O. BOX 13399                                                                                                   SAN JUAN        PR      00908
FUNDACION AMIGOS DEL CINE              P O BOX 5426 100                                                                                                 SAN JOSE                             COSTA RICA
FUNDACION ARTE EN CONCRETO             PO BOX 364487                                                                                                    SAN JUAN        PR      00936‐4487
FUNDACION ARTURO SOMOHANO              APARTADO 9113                       SANTURCE STATION                                                             SANTURCE        PR      00908

FUNDACION ARTURO SOMOHANO INC            ORQUESTA FILARMONICA DE PR        AREA DEL TESORO                             CONTADURIA GENERAL               SAN JUAN        PR      00902
FUNDACION ARTURO SOMOHANO INC            PO BOX 192593                                                                                                  SAN JUAN        PR      00919‐2593
FUNDACION BANCO POPULAR INC              PO BOX 71563                                                                                                   SAN JUAN        PR      00936‐8663
FUNDACION BIBLIOTECA RAFAEL HERNANDEZ BOX 2030                                                                                                          PONCE           PR      00733‐2030
FUNDACION BIBLIOTECA RAFAEL HERNANDEZ PO BOX 2030                                                                                                       PONCE           PR      00733‐2030
FUNDACION BIBLIOTECA RAFAEL HERNANDEZ PO BOX 9020659                                                                                                    SAN JUAN        PR      00902
FUNDACION CASA HOGAR INC.                HC 01 BOX 1895 BO. MOROVIS SUR                                                                                 MOROVIS         PR      00687
FUNDACION CASA JOSE INC                  PO BOX 6567                                                                                                    CAGUAS          PR      00726‐6567
FUNDACION CAUSA EN ACCION INC            URB LAS LEANDRAS                  CALLE 5 Q 11                                                                 HUMACAO         PR      00791
FUNDACION CAUSA EN ACCION, INC.          URB. LAS LEANDRAS. CALLE 5 Q‐11                                                                                HUMACAO         PR      00791
FUNDACION CENTRO PEDIATRICO DE DIABETES PO BOX 6453 LOIZA STATION                                                                                       SAN JUAN        PR      00914‐6453
FUNDACION CENTRO PEDRIATICO DE DIABETES PO OX 6453                                                                                                      SAN JUAN        PR      00914‐6453
FUNDACION CHANA & SAMUEL LEVIS INC       776 PONCE DE LEON BOX 20                                                                                       SAN JUAN        PR      00925
FUNDACION CHANA GOLDSTEIN Y SAMUEL LEVIS 776 PONCE DE LEON BZN.20                                                                                       SAN JUAN        PR      00925‐0000
FUNDACION COAMENOS POR LA NINEZ INC      22 CALLE BALDORIOTY               CALLE CARRION MADURO                                                         COAMO           PR      00769
FUNDACION COAMENOS POR LA NINEZ INC      PO BOX 287                                                                                                     COAMO           PR      00769
FUNDACION CONDICIONES DE LA TIROIDE INC CARR 21 SO LAS LOMAS U‐3‐19                                                                                     SAN JUAN        PR      00921
FUNDACION COSTA DEL SOL INC              URB VILLA LOS OLMOS               7 CALLE 3                                                                    SAN JUAN        PR      00927
FUNDACION COSTQ DEL SOL, INC.            URB. VILLA LOS OLMOS CALLE 3 #7                                                                                SAN JUAN        PR      00927
FUNDACION DE CULEBRA INC.                APARTADO 331                                                                                                   CULEBRA         PR      00775‐0331
FUNDACION DE ESCLEROSIS MULTIPLES        PMB 196                           PO BOX 194000                                                                SAN JUAN        PR      00919
FUNDACION DE HOGARES PARA TRABAJADORES P O BOX 11798                                                                                                    SAN JUAN        PR      00910‐1798
FUNDACION DEPORTIVA INDIOS MAYAGUEZ INC URB SULTANA                        802 CALLE LISBOA                                                             MAYAGUEZ        PR      00680‐1607
FUNDACION DEPORTIVA PONCE LEONES INC     URB JARD DE PONCE                 D 9 CALLE C                                                                  PONCE           PR      00730
FUNDACION DESARROLLO HOGAR PROPIO        PO BOX 5250                                                                                                    CAGUAS          PR      00726‐5250
FUNDACION DIEGO LIZARDI                  PO BOX 360485                                                                                                  SAN JUAN        PR      00936‐0485
FUNDACION ECHO CULTURAL                  URB RAMEY                         306B CIRCULO D                                                               AGUADILLA       PR      00603‐1333
FUNDACION EDDIE RIOS MELLADO INC         P O BOX 191715                                                                                                 SAN JUAN        PR      00917‐1715
FUNDACION EDUCATIVA ANA G MEN            APARTYADO 21345                                                                                                RIO PIEDRAS     PR      00928
FUNDACION EDUCATIVA CAF                  PMB 9023565                                                                                                    SAN JUAN        PR      00902‐3565
FUNDACION EDUCATIVA CAF INC              PMB 9023565                                                                                                    SAN JUAN        PR      00902
FUNDACION EDUCATIVA CONCEPCION MARTIN I CALL BOX 70006                                                                                                  FAJARDO         PR      00738
FUNDACION EDUCATIVA HIMA SAN P           PO BOX 4980                                                                                                    CAGUAS          PR      00726
FUNDACION EDUCATIVA HIMA SAN PABLO       PO BOX 4980                                                                                                    CAGUAS          PR      00726
FUNDACION EDUCATIVA ISIDRO A. SANCHEZ    PO BOX 193782                                                                                                  SAN JUAN        PR      00919




                                                                                                        Page 3029 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3030 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                            Address1                           Address2                                       Address3               Address4   City              State   PostalCode   Country
FUNDACION EL ANGEL DE MGUEL COTTO, INC PO BOX 5160                                                                                                           CAGUAS            PR      00726
FUNDACION ESPERANZA CRIOLLA INC          URB IDAMARIS GARDENS               B 30 CALLE ANGELINO FUENTES                                                      CAGUAS            PR      00727
FUNDACION ESPERANZA CRIOLLA INC.         URB IDAMARIS GARDENS               CALLE ANGELINO FUENTES B#30                                                      CAGUAS            PR      00727
FUNDACION ESPOSAS DE ROTARIOS            PRO NINOS CON IMPEDIMENTOS         PMB 483‐89AVE DE DIEGO STE 105                                                   SAN JUAN          PR      00927‐6348
FUNDACION FATIMA RIVERA RUIZ INC         PO BOX 364847                                                                                                       SAN JUAN          PR      00936‐4847
FUNDACION FIST INC                       120 CARR 693                                                                                                        DORADO            PR      00646
FUNDACION FOLKLORICA CULT RAFAEL CEPEDA PO BOX 3324 VALLE ARRIBA HGTS                                                                                        CAROLINA          PR      00984‐3324
FUNDACION FONDO ACCESO A LA JUSTICIA,INC AREA DEL TESORO                    DIVISION CONTADURIA GENERAL                                                      SAN JUAN          PR      00920
FUNDACION FORJADORES DE ESPERANZAS INC PO BOX 1638                                                                                                           CANOVANAS         PR      00729‐1638
FUNDACION GE RIATRICA CASA DE CAMP O     P.O.BOX 40511                                                                                                       SAN JUAN          PR      00940
FUNDACION HIMA SAN PABLO, INC.           PO BOX 2060                                                                                                         BAYAMON           PR      00960‐2060
FUNDACION HIMA SAN PABLO, INC.           PO BOX 4980                                                                                                         CAGUAS            PR      00726
FUNDACION HOGAR ELISA MARIA LAZALA       POLO INC                           PARK GARDENS GETTYSBURG T‐3                                                      SAN JUAN          PR      00926
FUNDACION INTERGRACION Y FORT DE FAMILIA JARD DE CAGUAS                     16 CALLE A                                                                       CAGUAS            PR      00725
FUNDACION INTERNACIONAL JOSE SANCHEZ     SOCIEDAD HUMANITARIA INC           COND LEOPOLDO FIGUEROA I                       364 DE DIEGO APT 815              SAN JUAN          PR      00923
FUNDACION INTERNATIONAL BALTAZAR GARZON5 CALLE DEL CODO                                                                                                      MADRID                    00000        SPAIN
FUNDACION INTERNATIONAL JOSE SANCHEZ     SOCIEDAD HUMANITARIA               CALLE MERHOFF #343                             VILLA PALMERAS                    SAN JUAN          PR      00915
FUNDACION INVESTIGACION DE DIEGO         998 AVE MUÑOZ RIVERA                                                                                                RIO PIEDRAS       PR      00927
FUNDACION JOSE CHEGUI TORRES             PO BOX 2006                                                                                                         AIBONITO          PR      00705
FUNDACION LATINOAMERICANA PARA LA MUSICCONTEMPORANEA                        URB JARDINES METROPOLITANOS                    977 CALLE VOLTA                   SAN JUAN          PR      00927
FUNDACION LEGADO AZUL                    2305 CALLE CACIQUE                                                                                                  SAN JUAN          PR      00913
FUNDACION LIONS QUEST DE PUERTO RICO, IN 109 ESTE MENDEZ VIGO                                                                                                MAYAGUEZ          PR      00680
FUNDACION LUCIERNAGAS INC                PO BOX 4441                                                                                                         AGUADILLA         PR      00605
FUNDACION LUIS MIRANDA CASANAS           PO BOX 71338                                                                                                        SAN JUAN          PR      00936‐8438
FUNDACION LUIS MUNOZ MARIN               AREA DEL TESORO                    CONTADURIA GENERAL                                                               SAN JUAN          PR      00902
FUNDACION LUIS MUNOZ MARIN               PO BOX 362367                                                                                                       SAN JUAN          PR      00936
FUNDACION LUIS MUNOZ MARIN               RR 2 BOX 5                                                                                                          SAN JUAN          PR      00926
FUNDACION LUIS MUNOZ MARIN               RR 2 P O BOX 5                                                                                                      SAN JUAN          PR      00926‐9719
FUNDACION LUIS MUNOZ MARIN               RUTA RURAL # 2 BUZON 5                                                                                              SAN JUAN          PR      00926‐9766
FUNDACION LUIS MUNOZ MARIN               SABANA LLAN WARD                   STATE ROAD 877 KM 0.4                                                            SAN JUAN          PR      00926
FUNDACION MARELSY HERNANDEZ              INSTITUTO FILIOS JARDIN BOTANICO   CALLE CEIBA                                                                      SAN JUAN          PR      00936
FUNDACION MAYAGUEZ 2010 INC              PO BOX 3248                        58 CALLE RAMOS ANTONINI ESTE                                                     MAYAGUEZ          PR      00681
FUNDACION MIGUEL ANGEL ALVAREZ           356 CALLE CESAR GONZALEZ                                                                                            HATO REY          PR      00918
FUNDACION MISION PUERTO RICO INC         CALLE HOGAR DEL NINO               CARR 176 KM 4 BOX 1722                                                           SAN JUAN          PR      00926
FUNDACION MODESTO GOTAY                  BO LAS CUEVAS                      CARR 876 KM 4 6                                                                  TRUJILLO ALTO     PR      00926
FUNDACION MODESTO GOTAY                  PO BOX 665                                                                                                          TRUJILLO ALTO     PR      00977
FUNDACION MOVIMIENTO ETICO INC           P O BOX 195445                                                                                                      SAN JUAN          PR      00919‐5445
FUNDACION MUSICA Y PAIS INC              URB BALDRICH                       252 TOUS SOTO                                                                    SAN JUAN          PR      00918
FUNDACION MUSICAL DE PONCE INC           6 CALLE VIRTUD                                                                                                      PONCE             PR      00730‐3806
FUNDACION NACIONAL CULTURA POPULAR INC P O BOX 9023971                                                                                                       SAN JUAN          PR      00902‐3971
FUNDACION PARA EL DESARROLLO DE PR INC   URB SAN IGNACIO                    1711 CALLE SAN EDMUNDO                                                           SAN JUAN          PR      00927‐6541
FUNDACION PARA EL DESARROLLO Y FORMACIONAGUAS BONENSE                       4 CALLE PEDRO ALBIZU                                                             AGUAS BUENAS      PR      00703
FUNDACION PARA LA RECREACION             LA EDUCACION Y EL DEPORTE          URB MONTEBELLO                                 781 CALLE COLLARINA               DORADO            PR      00960
FUNDACION PARA LA RESTAURACION DEL       CASCO URBANO DE RIO PIEDRAS INC    898 MUNOZ RIVERA AVE STE 300                                                     SAN JUAN          PR      00927
FUNDACION PEDIATRICA DE DIABETES         PO BOX 6453                                                                                                         SAN JUAN          PR      00914‐6453
FUNDACION PEDRO ROSELLO GONZALEZ         31‐A PINE GROVE CONDO                                                                                               CAROLINA          PR      00979
FUNDACION PEPE H RODRIGUEZ               700 COND MIRANDA STE 302                                                                                            SAN JUAN          PR      00907
FUNDACION PONY BEISBOL LLORENS TORRES IN RES LLORENS TORRES                 EDIF 52 APT 1036                                                                 SAN JUAN          PR      00913
FUNDACION PRO DESARROLLO COL SANTA CRUZ BOX 1809                                                                                                             TRUJILLO ALTO     PR      00977
FUNDACION PRO NINOS IMPEDIDOS DE ORIENTEURB VILLA HUMACAO                   A 8 CALLE 14                                                                     HUMACAO           PR      00661
FUNDACION PRO‐AYUDA DE PUERTO RICO       CAPARRA OFFICE CENTER              22 CALLE GONZALEZ GIUTI STE 204                                                  GUAYNABO          PR      00968
FUNDACION PUERTORRIQUENA DE PARKINSON PO BOX 365031                                                                                                          SAN JUAN          PR      00936‐5031
FUNDACION PUERTORRIQUENA DEL RINON INC PO BOX 29793                                                                                                          SAN JUAN          PR      00929‐9793
FUNDACION PUERTORRIQUENA HUMANIDADES PO BOX 9023920                                                                                                          SAN JUAN          PR      00902
FUNDACION PUERTORRIQUENA ZARZUELA Y OPEPO BOX 192881                                                                                                         SAN JUAN          PR      00919‐2881
FUNDACION RICHIE ROMANO INC              P O BOX 25307                                                                                                       SAN JUAN          PR      00902
FUNDACION ROBERTO SANCHEZ VILELLA        APARTADO 9024152                                                                                                    SAN JUAN          PR      00902‐4152
FUNDACION ROBERTO SANCHEZ VILELLA        CALLE ESCORIAL 416                                                                                                  SAN JUAN          PR      00920
FUNDACION ROBERTO SANCHEZ VILELLA        PO BOX 195492                                                                                                       SAN JUAN          PR      00919‐5492
FUNDACION ROBERTO SANCHEZ VILELLA        PO BOX 9024152                                                                                                      SAN JUAN          PR      00902‐4152




                                                                                                         Page 3030 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3031 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                          Address1                                    Address2                                Address3   Address4   City              State   PostalCode   Country
FUNDACION SILA M CALDERON              URB SANTA RITA                              CALLE GONZALEZ 1012                                           SAN JUAN          PR      00925
FUNDACION SILA M CALDERON INC          URB SANTA RITA                              1012 CALLE GONZALEZ                                           SAN JUAN          PR      00925
FUNDACION SILA M. CALDERON             URB SANTA RITA                              1012 CALLE GONZALEZ                                           SAN JUAN          PR      00925
FUNDACION TOMAS RODRIGUEZ MEDINA       JARDINES DE RIO GRANDE                      CALLE 46, AZ‐116                                              RIO GRANDE        PR      00745
FUNDACION U.P.E.N.S., INC.             P.O. BOX 4157                                                                                             VEGA BAJA         PR      00694‐0000
FUNDACION UHS                          P O 23319                                                                                                 SAN JUAN          PR      00931‐3304
FUNDACION WILNELIA MERCED FORSYTH      PO BOX 194000 PMB 367                                                                                     SAN JUAN          PR      00919‐4000
FUNDACION WILNELIA MERCED FORSYTH      PO BOX 9066234                                                                                            SAN JUAN          PR      00906‐6234
FUNDACION WILNELIA MERCED FORSYTH INC PO BOX 9066234                                                                                             SAN JUAN          PR      00906‐6234
FUNDADOR GARCIA SOTO                   HC 1 BOX 6485                                                                                             SANTA ISABEL      PR      00757
FUNDADOR RIVERA Y/O GLORIA RIVERA      132 CALLE CECILIA DOMINGUEZ                                                                               GUAYAMA           PR      00784
FUNDADORES DE ANASCO INC               PO BOX 2414                                                                                               ANASCO            PR      00610
FUNDAMENTAL PRODUCTS CORP.             100 CARR. 165                               OFICINA 504                                                   GUAYNABO          PR      00968‐8052
FUNDATION PUERTORIQUENA SINDROME DOWNPO BOX 195273                                                                                               SAN JUAN          PR      00919‐5273
FUNDESCO                               P O BOX 6300                                                                                              CAGUAS            PR      00726‐6300
FUNDESCO, INC.                         POBOX 6300                                                                                                CAGUAS            PR      00726‐6300
FUNDORA RIVADULLA, JANETTE             ADDRESS ON FILE
FUNDORA SABALIER, ALEJANDRO            ADDRESS ON FILE
FUNERARIA ACEVEDO BUITRAGO             PO BOX 93                                                                                                 MAUNABO           PR      00707
FUNERARIA AGUAS BUENAS MEMORIAL INC    PO BOX 211                                                                                                AGUA BUENAS       PR      00703
FUNERARIA AIBONITO MEMORIAL            PO BOX 2033                                                                                               AIBONITO          PR      00705‐2033
FUNERARIA ALMODOVAR MONTILLA           CALLE GENERAL DE VALLE #1011 URB.LAS DELICIAS                                                             RIO PIEDRAS       PR      00924‐0000
FUNERARIA ALTERNATIVE CREMATION        P O BOX 56210                                                                                             BAYAMON           PR      00960
FUNERARIA AMADOR                       #152 CALLE DE JESUS CORTES                                                                                ARECIBO           PR      00612
FUNERARIA AMADOR                       191 CARR #2                                                                                               HATILLO           PR      00659
FUNERARIA AMELIA MEMORIAL              ESQ DIEGO VEGA BO AMELIA                    48 CALLE BALDORIOTY                                           CATANO            PR      00962
FUNERARIA ANASCO MEMORIAL/ RUBEN RIVERA35 CALLE VICTORIA                                                                                         ANASCO            PR      00610
FUNERARIA ASENCIO                      SANTA JUANITA                               WA 2 AVE SANTA JUANITA                                        BAYAMON           PR      00956
FUNERARIA AVELLANET FUNERAL HOME       33 CALLE ISIDRO                                                                                           SABANA GRANDE     PR      00637
FUNERARIA AVILES                       PO BOX 775                                                                                                SAN GERMAN        PR      00683
FUNERARIA BELMAR                       118 AVE BARBOSA                                                                                           CATANO            PR      00962
FUNERARIA BELMAR                       PO BOX 659                                                                                                CATANO            PR      00963‐0659
FUNERARIA BONETA GONZALEZ INC          1 RAMON DE JESUS SIERRA                                                                                   LARES             PR      00669
FUNERARIA BORINQUEN FUNERAL HOME       PO BOX 14245                                                                                              SAN JUAN          PR      00916
FUNERARIA CAMPO RICO MEMORIAL INC      URB COUNTRY CLUB                            PA15 CALLE 276                                                CAROLINA          PR      00982
FUNERARIA CAMPO RICO MENORIAL          AVE. CAMPO RICO #PA‐15                      COUNTRY CLUB                                                  CAROLINA          PR      00982‐0000
FUNERARIA CANATORIO LOPEZ MEMORIAL     SECTOR MORELL CAMPOS                        20 CALLE VICTORIA                                             PONCE             PR      00730
FUNERARIA CARLITOS ROMAN               P O BOX 211                                                                                               AGUAS BUENAS      PR      00703‐0211
FUNERARIA CAROLINA MEMORIAL            25 SAN ANTONIO                                                                                            RIO GRANDE        PR      00745
FUNERARIA CARRION MEMORIAL,INC         URB DEL PILAR                               102 CALLE MUNOZ RIVERA                                        CANOVANAS         PR      00729
FUNERARIA CAYEY MEMORIAL               AVE. JOSE DE DIEGO 209                      OESTE                                                         CAYEY             PR      00736
FUNERARIA CEIBA FUNERAL HOME           PO BOX 473                                                                                                CEIBA             PR      00735
FUNERARIA CHARY & HERNANDEZ            HC 1 BOX 4497                                                                                             COROZAL           PR      00783
FUNERARIA COAMENA                      15 CALLE FLORENCIO SANTIAGO                                                                               COAMO             PR      00769
FUNERARIA COAMENA                      CALLE FLORENCIO SANTIAGO 15                                                                               COAMO             PR      00769
FUNERARIA COLON MEMORIAL               PO BOX 157                                                                                                PENUELAS          PR      00624
FUNERARIA CONCEPCION                   P O BOX 3446                                                                                              MANATI            PR      00674
FUNERARIA CONCEPCION % MANUEL SANTIA   PO BOX 3446                                                                                               MANATI            PR      00674
FUNERARIA CORREA                       PO BOX 2082                                                                                               MOROVIS           PR      00687
FUNERARIA CORREA HIJO                  PO BOX 3235                                                                                               MANATI            PR      00674
FUNERARIA CRESPO & ALONSO              P O BOX 1522                                                                                              MOCA              PR      00676
FUNERARIA CRISTO REY                   PO BOX 3372                                                                                               ARECIBO           PR      00613‐3372
FUNERARIA DE PEDRO                     ESQUINA ENRIQUE GONZALEZ                    7 CALLE DUQUES NORTE                                          GUAYAMA           PR      00784
FUNERARIA DEL CARMEN                   33 CALLE WILSON                                                                                           CATANO            PR      00962
FUNERARIA DEL CARMEN                   CALLE WILSON NUM 33                                                                                       CATANO            PR      00962
FUNERARIA DEL CARMEN                   PO BOX 3135                                                                                               CATANO            PR      00963
FUNERARIA DEL CARMEN                   PO BOX 3135 AMELIZ CONST STATION                                                                          CATANO            PR      00963
FUNERARIA DEL CARMEN MEMORIAL          4 MUNOZ RIVERA                              APARTADO 27                                                   ADJUNTAS          PR      00601
FUNERARIA DEL NOROESTE INC             PO BOX 1375                                                                                               ISABELA           PR      00662
FUNERARIA DIAZ                         72 CALLE MUNOZ RIVERA                                                                                     TOA ALTA          PR      00953




                                                                                                            Page 3031 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3032 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                     Address1                             Address2                                    Address3   Address4   City              State   PostalCode   Country
FUNERARIA DIAZ ALCANTARA          CALLE SAN ANTONIO 25                                                                                   RIO GRANDE        PR      00745
FUNERARIA EBENEZER                158 SANTIAGO IGLESIAS PANTIN                                                                           FAJARDO           PR      00738
FUNERARIA EHRET INC               PO BOX 19086                                                                                           SAN JUAN          PR      00910‐1086
FUNERARIA EL REPOSO               P O BOX 109                                                                                            CAYEY             PR      00737
FUNERARIA EL REPOSO INC           PO BOX 109                                                                                             CAYEY             PR      00737
FUNERARIA ESCARDILLE              111 CALLE ROBLES                                                                                       SAN JUAN          PR      00925
FUNERARIA FAJARDO MEMORIAL        P O BOX 4138                                                                                           CAROLINA          PR      00984
FUNERARIA FERMIN RIVERA INC       CALLE TOMAS CARRION MADURO           Y DEGETAU                                                         JUANA DIAZ        PR      00795
FUNERARIA FERNANDEZ               PO BOX 1844                                                                                            ANASCO            PR      00610
FUNERARIA FERNANDEZ BADILLO       AVE LOMAS VERDES 1H ‐ 1                                                                                BAYAMON           PR      00956
FUNERARIA FERREIRA MEMORIAL       146 AVE UNIVERSIDAD INTERAMERICANA                                                                     SAN GERMAN        PR      00683
FUNERARIA FRANKIE MEMORIAL        PO BOX 2178                                                                                            RIO GRANDE        PR      00745
FUNERARIA FRANKIE MEMORIAL LLC    PO BOX 2178                                                                                            RIO GRANDE        PR      00745
FUNERARIA FUENTES DE JESUS        BOX 819                                                                                                JAYUYA            PR      00664
FUNERARIA FUENTES DE JESUS        PO BOX 819                                                                                             JAYUYA            PR      00664
FUNERARIA GONZALEZ INC            PO BOX 615                           169 SAN FELIPE                                                    ARECIBO           PR      00613
FUNERARIA GUERRA GONZALEZ         HC‐01                                BOX 6153                                                          GUAYNABO          PR      00971
FUNERARIA HERNANDEZ               HC‐03, BOX 11754                                                                                       COROZAL           PR      00783
FUNERARIA HERNANDEZ RIVERA        P O BOX 3991                                                                                           AGUADILLA         PR      00605
FUNERARIA IRIZARRY                PO BOX 875                                                                                             LARES             PR      00669
FUNERARIA ISABELA MEMORIAL        AVE. JUAN HERNANDEZ ORTIZ            #3308                                                             ISABELA           PR      00662
FUNERARIA J AVILES MEMORIAL INC   97 AVE 5 DE DICIEMBRE                                                                                  SABANA GRANDE     PR      00637‐1934
FUNERARIA JALVIN                  32 CALLE MANUEL HERNANDEZ ROSA                                                                         ANASCO            PR      00610
FUNERARIA JALVIN                  P O BOX 346                                                                                            ANASCO            PR      00610
FUNERARIA LA CRUZ                 PO BOX 19086                                                                                           SAN JUAN          PR      00910‐1086
FUNERARIA LA MONSELLATE           PO BOX 464                                                                                             SALINAS           PR      00751
FUNERARIA LA MONSERRATE           BOX 442                                                                                                HORMIGUEROS       PR      00660
FUNERARIA LA PAZ                  CALLE GEORGETTI #123                                                                                   COMERIO           PR      00782
FUNERARIA LANDRON                 RR 06 BOX 6456                                                                                         TOA ALTA          PR      00953
FUNERARIA LAS PIEDRAS MEMORIAL    P O BOX 1967                                                                                           LAS PIEDRAS       PR      00771
FUNERARIA LOIZA MEMORIAL          BOX 503                                                                                                LOIZA             PR      00772
FUNERARIA MENDEZ MEMORIAL         804 CALLE MUNOZ RIVERA                                                                                 PENUELAS          PR      00624
FUNERARIA MENDEZ VIGO             CALLE SANTIAGO RIERA PALMER #51      ESQUINA PABLO CASALS                                              MAYAGUEZ          PR      00680
FUNERARIA MENDEZ VIGO             PABLO CASALS                         17 ESQUINA SANTIAGO R PALMER                                      MAYAGUEZ          PR      00680
FUNERARIA MERCADO FRANCIS         252 MUNOZ RIVERA                                                                                       FAJARDO           PR      00738
FUNERARIA MERCADO FRANCIS         61 MUNOZ RIVERA                                                                                        FAJARDO           PR      00738
FUNERARIA MIRANDA INC.            PO BOX 202                                                                                             JUNCOS            PR      00777
FUNERARIA MOCA MEMORIAL           APARTADO 475                                                                                           MOCA              PR      00676
FUNERARIA MOCA MEMORIAL           BOX 475                                                                                                MOCA              PR      00676
FUNERARIA MONTALVO                28 CALLE QUINONES                                                                                      CABO ROJO         PR      00623
FUNERARIA MONTE SANTO INC         HC 2 BOX 13493                                                                                         AGUAS BUENAS      PR      00703‐9607
FUNERARIA MONTEHIEDRA             107 CAMINO CARRAU ATABEY                                                                               MAYAGUEZ          PR      00680
FUNERARIA MONTEHIEDRA             56 CALLE SAN SALVADOR SUR                                                                              MAYAGUEZ          PR      00680
FUNERARIA MUNOZ MEMORIAL          HC 645 BOX 6622                                                                                        TRUJILLO ALTO     PR      00976
FUNERARIA MUNOZ MEMORIAL          HC 645 BOX 6690                                                                                        TRUJILLO ALTO     PR      00976
FUNERARIA NALDY AMADOR CORP       150 AVE MUNOZ RIVERA ESTE                                                                              CAMUY             PR      00627
FUNERARIA OROCOVIS MEMORIAL INC   PO BOX 302                                                                                             OROCOVIS          PR      00720
FUNERARIA PACHECO                 CALLE MEJIAS #26                                                                                       YAUCO             PR      00698
FUNERARIA PAGAN MEMORIAL          PO BOX 8808                                                                                            BAYAMON           PR      00960‐8808
FUNERARIA PALIN NIETO             P O BOX 4057                                                                                           VEGA BAJA         PR      00693
FUNERARIA PATILLAS MEMORIAL       PO BOX 686                                                                                             PATILLAS          PR      00723
FUNERARIA PEPINO MEMORIAL         PEPINO PARK & FUNERAL HOME                                                                             SAN SEBASTIAN     PR      00685
FUNERARIA PEREZ LLAVONA           CALLE GEORGETTI # 23                                                                                   COMERIO           PR      00782
FUNERARIA PEREZ SANTONI           2111 AVE PEDRO ALBIZU CAMPOS                                                                           RINCON            PR      00677
FUNERARIA PI¥ERO MEMORIAL         4‐13 AVE MUNOZ RIVERA                                                                                  TRUJILLO ALTO     PR      00760
FUNERARIA PINERO MEMORIAL         4 CALLE MUNOZ RIVERA                                                                                   TRUJILLO ALTO     PR      00977
FUNERARIA PONCE MEMORIAL          BO CUATRO CALLES                     593 AVE LA CEIBA                                                  PONCE             PR      00717‐1911
FUNERARIA RAMOS                   PO BOX 142464                                                                                          ARECIBO           PR      00614‐2464
FUNERARIA RIO GRANDE MEMORIAL     62 SAN ANTONIO                                                                                         RIO GRANDE        PR      00745
FUNERARIA RIO GRANDE MEMORIAL     HC 02 BOX 17760                                                                                        RIO GRANDE        PR      00745




                                                                                                 Page 3032 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3033 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                             Address1                        Address2                                    Address3   Address4   City              State   PostalCode   Country
FUNERARIA RIO GRANDE MEMORIAL             P O BOX 2178                                                                                      RIO GRANDE        PR      00745
FUNERARIA RIPOLL MEMORIAL, INC            HC‐01                           BOX 9086                                                          TOA BAJA          PR      00949‐9086
FUNERARIA RODOX MEMORIAL                  CARR RAMAL 2                    448 SECT PAMPANOS                                                 PONCE             PR      00717
FUNERARIA RODRIGUEZ OSORIO                HC 01 BOX 6171                                                                                    CANOVANAS         PR      00729
FUNERARIA RODRIGUEZ, INC                  PO BOX 119                                                                                        VILLALBA          PR      00766
FUNERARIA ROLON                           PO BOX 430                                                                                        COROZAL           PR      00783
FUNERARIA ROSSY MEMORIAL                  PO BOX 1559                                                                                       JAYUYA            PR      00664
FUNERARIA SAGRADO CORAZON                 CALLE COLON #123                                                                                  AGUADA            PR      00602
FUNERARIA SAN ANDRES                      HC 01 BOX 5183                                                                                    BARRANQUITAS      PR      00794
FUNERARIA SAN ANDRES ENTERPRISES          HC 01 BOX 5183                                                                                    BARRANQUITAS      PR      00794
FUNERARIA SAN ANTONIO                     26 AVE. LULIO SAAVEDRA                                                                            ISABELA           PR      00662
FUNERARIA SAN ANTONIO                     6 CALLE MUNOZ RIVERA                                                                              PATILLAS          PR      00723
FUNERARIA SAN ANTONIO                     PO BOX 1022                                                                                       ISABELA           PR      00662
FUNERARIA SAN ISIDRO MEMORIAL             CALLE #5 PARCELAS 73            SAN ISIDRO                                                        CANOVANAS         PR      00729
FUNERARIA SAN JOSE                        P.O. BOX 1784                                                                                     OROCOVIS          PR      00720‐0000
FUNERARIA SAN LORENZO MEMORIAL            155 CALLE JOSE SOUS                                                                               SAN LORENZO       PR      00754
FUNERARIA SAN MIGUEL MEMORIAL             BO SAN ISIDRO                   CARR 188 KM 1.4                                                   CANOVANAS         PR      00927
FUNERARIA SAN SEBASTIAN MEMORIAL, INC.    EXPRESO 111, BO. GUATEMALA                                                                        SAN SEBASTIAN     PR      00685
FUNERARIA SANTA MARIA INC                 P O BOX 5157                                                                                      PONCE             PR      00733‐5157
FUNERARIA SANTA TERESA                    713 CALLE DR LOYOLA                                                                               PENUELAS          PR      00624
FUNERARIA SANTA TERESA INC                713 CALLE DR LOYOLA                                                                               PENUELAS          PR      00624
FUNERARIA SANTO CRISTO DE LA SALUD        QUEBRADA CEIBA #901                                                                               PENUELAS          PR      00624
FUNERARIA SENDERO DE LUZ INC              140 CALLE LUIS MUNOZ RIVERA                                                                       GUAYANILLA        PR      00656
FUNERARIA SENORIAL MEMORIAL               CALLE VILLA SUITE 134                                                                             PONCE             PR      00730
FUNERARIA SHALOM MEMORIAL                 1646 BO SABANETAS                                                                                 PONCE             PR      00716‐2975
FUNERARIA SHALOM MEMORIAL                 1646 PASEO VILLA FLORES                                                                           PONCE             PR      00716
FUNERARIA SOTO RODRIGUEZ                  URB CRISTAL                     70 CALLE A                                                        AGUADILLA         PR      00603
FUNERARIA SOTO RODRIGUEZ                  URB CRISTAL CALLE A # 70                                                                          AGUADILLA         PR      00603
FUNERARIA TOAVILLE                        CARR. 867 BUZON 10                                                                                TOA BAJA          PR      00949
FUNERARIA TONITO FLORES                   CARR. 31 SALIDA HACIA NAGUABO                                                                     JUNCOS            PR      00777
FUNERARIA TONITO FLORES                   PO BOX 1210                                                                                       JUNCOS            PR      00777
FUNERARIA UTUADO MEMORIAL                 PO BOX 66                                                                                         UTUADO            PR      00641
FUNERARIA VALENTIN MEMORIAL               CALLE PEDRO ROSARIO #8                                                                            AIBONITO          PR      00705
FUNERARIA Y CAPILLA AVILES RAMOS          CALLE VICTOR CURBELO                                                 1835                         QUEBRADILLAS      PR      00678
FUNERARIA Y CAPILLA CARRION MEMORIAL      102 CALLE MUNOZ RIVERA                                                                            CANOVANAS         PR      00729
FUNERARIA Y CAPILLA CORDERO               PO BOX 998                                                                                        BARCELONETA       PR      00617
FUNERARIA Y CAPILLA DEL CENTRO            BO CEDRO ARRIBA                 HC 72 BOX 4080                                                    NARANJITO         PR      00719
FUNERARIA Y CAPILLA ETERNA LUZ            PO BOX 508                                                                                        BARCELONETA       PR      00617
FUNERARIA Y CAPILLA ETERNA LUZ INC        BDA CATALANA                    81 CALLE 2                                                        BARCELONETA       PR      00617‐2768
FUNERARIA Y CAPILLA GONZALEZ MARRER       HC 5 BOX 93568                                                                                    ARECIBO           PR      00612
FUNERARIA Y CAPILLAS BERRIOS              PO BOX 1649                                                                                       COROZAL           PR      00783
FUNERARIA Y CAPILLAS CARRASCO             252 MUNOZ RIVERA                                                                                  FAJARDO           PR      00738
FUNERARIA Y CAPILLAS DIAZ                 72 CALLE MUNOZ RIVERA                                                                             TOA ALTA          PR      00693‐2426
FUNERARIA Y CAPILLAS EL BUEN PASTOR INC   HC 08 BOX 89060                 BARRIO HOYAMALA                                                   SAN SEBASTIAN     PR      00685
FUNERARIA Y CAPILLAS JUNIOR MEMORIAL      CALLE DON CHEMARY #38                                                                             MOCA              PR      00676
FUNERARIA Y CAPILLAS LA FE                54 CALLE CRISTOBAL COLON INT                                                                      YABUCOA           PR      00767
FUNERARIA Y CAPILLAS LAS MERCEDES         BOX 1185                                                                                          SAN LORENZO       PR      00754
FUNERARIA Y CAPILLAS MALAVE               89 CALLE 65 DE INF                                                                                ANASCO            PR      00610
FUNERARIA Y CAPILLAS MELVIN AMADOR        282 AVE. MU¥OZ RIVERA                                                                             CAMUY             PR      00627
FUNERARIA Y CAPILLAS MUNOZ LABOY          61 CALLE LUIS MUNOZ RIVERA                                                                        YABUCOA           PR      00767
FUNERARIA Y CAPILLAS NARANJITO MEMORIAL   PO BOX 274                                                                                        NARANJITO         PR      00719
FUNERARIA Y CAPILLAS NEVAREZ              P O BOX 3013                                                                                      VEGA ALTA         PR      00692
FUNERARIA Y CAPILLAS PACHECO INC          PO BOX 1781                                                                                       YAUCO             PR      00698‐1781
FUNERARIA Y CAPILLAS SAN BLAS             44 CALLE BOBBY CAPO                                                                               COAMO             PR      00769
FUNERARIA Y CAPILLAS SAN JORGE            CAPARRA TERRACE                 1595 AVE AMERICO MIRANDA                                          SAN JUAN          PR      00921
FUNERARIA Y CAPILLAS SAN RAMON            43 CALLE LUIS FELIPE DESSU                                                                        JUANA DIAZ        PR      00795
FUNERARIA Y CEMENTERIO FUENTE DE LUZ      CALLE 5                         BDA. COLLAZO                                                      VEGA BAJA         PR      00693
FUNERARIA Y FLORISTERIA CARRASCO          252 MUNOZ RIVERA                                                                                  FAJARDO           PR      00738
FUNERARIA Y FLORISTERIA CARRASCO          MUNOZ RIVERA 252                                                                                  FAJARDO           PR      00738
FUNERARIA YABUCOA MEMORIAL INC            2 CALLE CATALINA MORALES                                                                          YABUCOA           PR      00767




                                                                                                     Page 3033 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3034 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                    Address1                                   Address2                                  Address3   Address4   City         State   PostalCode    Country
FUNERARIAS JUNIOR MEMORIAL INC   1029 AVE COUNTRY CLUB                                                                                      CAMUY        PR      00627
FUNES CARNIAGO, HILDELISE        ADDRESS ON FILE
FUNES PACHECO, ELIANA B.         ADDRESS ON FILE
FUNEZ FUNEZ, MARIO E             ADDRESS ON FILE
FUNEZ SORIANO, FRANCIA I         ADDRESS ON FILE
FUNG MERCED, MARIA               ADDRESS ON FILE
FUNG RIVERA, MERINIE             ADDRESS ON FILE
FUNG WU, WEN CHON                ADDRESS ON FILE
FUNG YEE, RICKY                  ADDRESS ON FILE
FUNG YEE, STEPHEN Y.             ADDRESS ON FILE
FUNITURE MEDIC                   PO BOX 360058                                                                                              SAN JUAN     PR      00936‐0058
FUPO                             ADDRESS ON FILE
Furench Gomez, Edwin             ADDRESS ON FILE
FURIEL AUTO CORP                 LCDO. JOSE RESTO HUERTAS                   URB. VISTALAGO #102 CIUDAD JARDIN                               GURABO       PR      00778
FURIPACA INC                     P O BOX 1244                                                                                               COAMO        PR      00769
FURNITURE WAREHOUSE OUTLET       P O BOX 69                                 PUEBLO STATION                                                  CAROLINA     PR      00936‐0069
FURNIZ CARRION, BRENDA           ADDRESS ON FILE
FURSETH GONZALEZ, CHRISTIAN      ADDRESS ON FILE
FURSETH PEREZ, EUGENE A.         ADDRESS ON FILE
FUSARO, ANNE                     ADDRESS ON FILE
FUSE TELECOM, LLCA               URB. PALACIOS DE MARBELLA 1003 CALLE DEL PALMAR                                                            TOA ALTA     PR      00953‐5208
FUSION CONSULLING GROUP          1353 AVE LUIS VIGOREAUX 574                                                                                GUAYNABO     PR      00966
FUSION CONSULTING GROUP INC      1353 RD 19                                 #574                                                            GUAYNABO     PR      00966
FUSION WORKS INC                 120 AVE CONDADO PICO CENTER                STE 102                                                         SAN JUAN     PR      000907‐2755
FUSION WORKS INC                 COND PICO CENTER                           120 AVE CONDADO SUITE 102                                       SAN JUAN     PR      00907
FUSIONWORKS INC                  PICO CENTER 120 SUITE 102                  CONDADO AVE                                                     SAN JUAN     PR      000907‐2755
FUSSA OCASIO, FERNANDO           ADDRESS ON FILE
FUSSA SOLER, JOSE                ADDRESS ON FILE
FUSTE FONTANEZ, PURA I.          ADDRESS ON FILE
FUSTE GONZALEZ, JOSE             ADDRESS ON FILE
FUSTE LACOURT, LUIS E.           ADDRESS ON FILE
FUSTE LACOURT, REYNALDO          ADDRESS ON FILE
FUSTE PEREZ, ROBERTO             ADDRESS ON FILE
FUSTE RIVERO, NITZA              ADDRESS ON FILE
FUSTE TORRES, ELIA R             ADDRESS ON FILE
FUSTER ACEVEDO, ANGEL L          ADDRESS ON FILE
FUSTER AGOSTO, ALBERTO           ADDRESS ON FILE
FUSTER ARENAS, XYAN              ADDRESS ON FILE
FUSTER ARROYO, CARMEN            ADDRESS ON FILE
FUSTER ARROYO, CARMEN N          ADDRESS ON FILE
FUSTER BECERRIL, ZULEYKA         ADDRESS ON FILE
FUSTER BERLINGERI MD, ROBERTO    ADDRESS ON FILE
FUSTER BERLINGERI, JAIME B.      ADDRESS ON FILE
FUSTER CARDOSO, ESTHER           ADDRESS ON FILE
FUSTER CORDERO, JOSE             ADDRESS ON FILE
FUSTER CRUZ, WALESKA             ADDRESS ON FILE
FUSTER DROSS, STANLEY            ADDRESS ON FILE
FUSTER FELIX, EVELYN             ADDRESS ON FILE
FUSTER GALARZA, MIRNA            ADDRESS ON FILE
FUSTER HERNANDEZ, RODNY Y        ADDRESS ON FILE
FUSTER LAVIN, ANA M.             ADDRESS ON FILE
FUSTER LAVIN, JOSE               ADDRESS ON FILE
FUSTER LEBRON, IVAN F            ADDRESS ON FILE
FUSTER MARRERO, FRANCISCO        ADDRESS ON FILE
FUSTER MARRERO, MYRNA L          ADDRESS ON FILE
FUSTER MARRERO, SONIA            ADDRESS ON FILE
FUSTER MARTINEZ, JUAN            ADDRESS ON FILE
FUSTER MARTINEZ, MANUEL          ADDRESS ON FILE
FUSTER MEDINA, CANDIDA           ADDRESS ON FILE
FUSTER MERCADO, JAVIER           ADDRESS ON FILE




                                                                                                       Page 3034 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3035 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                           Address1                             Address2                                       Address3   Address4   City               State   PostalCode   Country
FUSTER ORTIZ, ZULEIHA                   ADDRESS ON FILE
FUSTER PACHECO, LUIS E                  ADDRESS ON FILE
Fuster Perez, Roberto C.                ADDRESS ON FILE
Fuster Perez, Roberto E                 ADDRESS ON FILE
FUSTER QUINTANA, LUIS                   ADDRESS ON FILE
FUSTER QUINTANA, LUIS R                 ADDRESS ON FILE
FUSTER RAMOS, CARMEN L                  ADDRESS ON FILE
FUSTER RAMOS, DAVID                     ADDRESS ON FILE
FUSTER RAMOS, FELIX                     ADDRESS ON FILE
FUSTER RAMOS, FRANCES                   ADDRESS ON FILE
FUSTER RIVERA, JESSICA                  ADDRESS ON FILE
FUSTER RIVERA, YOLANDA                  ADDRESS ON FILE
FUSTER RODRIGUEZ, OMAR                  ADDRESS ON FILE
FUSTER RODRIGUEZ, VIOLETA               ADDRESS ON FILE
FUSTER RODRIGUEZ, WILFREDO              ADDRESS ON FILE
FUSTER ROMERO, LUIS                     ADDRESS ON FILE
FUSTER ROMERO, MARY L.                  ADDRESS ON FILE
FUSTER ROMERO, RUT M                    ADDRESS ON FILE
FUSTER ROMERO, WILFREDO                 ADDRESS ON FILE
FUSTER SOTO, PERSIO                     ADDRESS ON FILE
FUSTER TRANSPORT, INC                   URB ESTANCIAS                        CALLE VIA SAN JUAN PLAZA 5 D 36                                      BAYAMON            PR      00961
FUSTER TROCHE, ILEANA M.                ADDRESS ON FILE
FUSTER TROCHE, ZULMA I                  ADDRESS ON FILE
FUSTER VELEZ, EDWIN                     ADDRESS ON FILE
FUSTER VELEZ, JAMES                     ADDRESS ON FILE
FUSTER VIGIER, JOSE E.                  ADDRESS ON FILE
FUSTER ZALDUONDO, JAIME                 ADDRESS ON FILE
FUSTER ZALDUONDO, MARIA LUISA           ADDRESS ON FILE
FUSTER, JONATHAN                        ADDRESS ON FILE
FUSTERFELIX, NORMA                      ADDRESS ON FILE
FUTAGO BONSAI, INC.                     21 CAMINO TOMAS MORALES                                                                                   SAN JUAN           PR      00926
FUTANGO BONSAI INC                      21 CAMINO TOMAS MORALES                                                                                   SAN JUAN           PR      00926
FUTURA DEVELOPMENT OF PUERTO RICO       TETUAN 207                                                                                                OLD SAN JUAN       PR      00901
FUTURE LEARNING FLC CORP                EXT MARISOL CALLE 3 BZN 106                                                                               ARECIBO            PR      00612
FUTURE LEARNING FLC CORP                PO BOX 3863                                                                                               AGUADILLA          PR      00605
FUTURE PUBLISHING LTD                   TOWER HOUSE SOVEREIGN PARK           LATHKILL STREET MARKET                                               LEICESTERSHIRE             LE169EF      UK
FUTURE TECHNOLOGY INC                   PO BOX 195694                                                                                             SAN JUAN           PR      00919
FUXENCH LOPEZ MD, ZAIDA Z               ADDRESS ON FILE
FUXENCH SANCHEZ, EDITH                  ADDRESS ON FILE
FV ADVERTISING & ADVISORS               PO BOX 889                                                                                                FAJARDO            PR      00738
FYC IN CLAIM INC                        PO BOX 35000 PMB 20107                                                                                    CANOVANAS          PR      00729‐0014
FYC INFORMATION TECHNOLOGIES GROUP CORPURB LA ANTIGUA                        LB25 CALLE VIA MALLORCA                                              TRUJILLO ALTO      PR      00976
FYFFE TOTKA, GREGG                      ADDRESS ON FILE
FZ SECURITY SERVICES INC                HC 4 BOX 20800                                                                                            LAJAS              PR      00667
G ‐ CONTRACTORS GROUP , INC.            PMB 299, SUITE 2 405 ESMERALDA AVE                                                                        GUAYNABO           PR      00969‐0000
G WIRELESS, INC                         HC 1 BOX 4426                                                                                             QUEBRADILLAS       PR      00678
G & G CONSULTING CORP                   URB SABANERA DEL RIO                 237 CAMINO DEL GUARAGUAO                                             GURABO             PR      00778‐5236
G & G CONSULTING, CORP                  HC‐5 BOX 28450                                                                                            UTUADO             PR      00641
G & M BUILDERS AND INTERIORS DESIGN     PO BOX 1035                                                                                               DORADO             PR      00646
G & R LAW OFFICES, PSC                  PO BOX 9022512                                                                                            SAN JUAN           PR      00902‐2512
G 8 INC GRUPOS DE LOS OCHO COM ALEDANAS AL CANO MARTIN PENA                  LAS MONJAS 162 CALLE PACHIN MARIN                                    SAN JUAN           PR      00917
G A INVESTORS S E                       PO BOX 6359                                                                                               CAGUAS             PR      00726‐6359
G AND G CONSULTING CORP                 URB SABANERA DEL RIO                 237 CALLE GUARAGUAO                                                  GURABO             PR      00778
G AND G REALTY INC                      PO BOX 547                                                                                                DORADO             PR      00646
G AND O CORP                            PO BOX 193846                                                                                             SAN JUAN           PR      00919
G AND T AUTO SERVICE INC                PO BOX 767                                                                                                TOA BAJA           PR      00951‐0767
G B CONTRACTOR                          ADDRESS ON FILE
G CODE LLC                              PARK GARDENS                         E 43 MARACAIBO                                                       SAN JUAN           PR      00926
G CONTRACTORS GROUP INC                 405 AVE ESMERALDA STE 2 PMB 299                                                                           GUAYNABO           PR      00969
G CONTRACTORS GROUP INC                 PMB 299 SUITE 2                      405 ESMERALDA AVE                                                    GUAYNABO           PR      00969




                                                                                                          Page 3035 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3036 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                              Address1                                Address2                                   Address3   Address4   City              State   PostalCode   Country
G E APPLIANCE CARIBBEAN AND CO             PO BOX 9                                                                                                 CAROLINA          PR      00986
G E D ANNUAL CONTRACT                      ADDRESS ON FILE
G E FLEET SERVICE OF PR                    PO BX 11902                                                                                              SAN JUAN          PR      00922
G ENVIRONMENT P S C                        PO BOX 13753                                                                                             SAN JUAN          PR      00908‐3753
G H B CORP‐H/N/C TINO GAS                  PO BOX 70205                                                                                             SAN JUAN          PR      00936‐8205
G J FIRE BURGLARY EQUIPMENT                PO BOX 367173                                                                                            SAN JUAN          PR      00936‐7173
G J L CONTRACTOR INC                       PO BOX 2020                                                                                              BARCELONETA       PR      00617‐2020
G LADY E PEREZ BRUNET                      ADDRESS ON FILE
G LLINAS Y CIA S EN C                      PO BOX 25                                                                                                YAUCO             PR      00698
G M CLEANLY CORP                           URB EL ENCANTO                          1019 CALLE GIRASOL                                               JUNCOS            PR      00777
G M G COMMERCIAL CORP                      PO BOX 4435                                                                                              VEGA BAJA         PR      00694‐4435
G MAITENANCE SERVICES INC                  VILLA UNIVERSITARIA                     71 CALLE CENTRAL ROIG                                            GUAYAMA           PR      00784‐7304
G MANAGEMENT CORP                          PO BOX 276                                                                                               TRUJILLO ALTO     PR      00978
G NAVAS & ASOCIADOS INC                    CONDOMINIO PICO                         120 AVE CONDADO SUITE 303                                        SAN JUAN          PR      00907
G P ELECTRICAL SERVICES                    HC 15 BOX 16160                                                                                          HUMACAO           PR      00791
G P S TECHNICAL CONSULTANTS INC            URB VILLA ESPANA                        R24 CALLE CORDOVA                                                BAYAMON           PR      00961
G V SYSTEM CORP                            PO BOX 361622                                                                                            SAN JUAN          PR      00936
G WORKS INC                                TORREMOLINOS                            A 13 CALLE L                                                     GUAYNABO          PR      00969
G WORKS, INC.                              TORREMOLINOS                            CALLE L A‐13                                                     GUAYNABO          PR      00969
G WORKS, INC.                              URB. TORREMOLINOS                       CALLE MARGINAL 177, A‐13                                         GUAYNABO          PR      00969‐3747
G WORKS, INC.                              Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                      SAN JUAN          PR      00922‐2134
G,A ORTHODONTISC PSC                       PO BOX 142031                                                                                            ARECIBO           PR      00614‐2031
G.D.V. GROUP INC                           131 AVE ELEANOR ROOSEVELT STE 1                                                                          SAN JUAN          PR      00918
G2T INGENIERIA, CSP                        URB LOS CAMINOS                         91 CALLE UCAR                                                    SAN LORENZO       PR      00754‐9972
G4S SECURE SOLUTIONS (PUERTO RICO), INC.   PO BOX 3952                                                                                              GUAYNABO          PR      00970‐3952
G4S SECURITY SERVICES INC                  P O BOX 3952                                                                                             GUAYNABO          PR      00970‐3952
GA AIRCRAFT ACCESSORIES CORP               203 CALLE GUAYAMA ALTOS                                                                                  SAN JUAN          PR      00917
GA AIRCRAFT ACCESSORIES CORP               CALLE GUAYAMA 203 ALTOS                                                                                  SAN JUAN          PR      00917
GA CHEE CHEN CHEN                          ADDRESS ON FILE
GA COMMUNICATIONS, INC                     HC 5 BOX 47150                                                                                           VEGA BAJA         PR      00693‐8600
GA CONSULTING ASSOCIATES LLC               212 REGAN LANE                                                                                           VOORHEES          NJ      08043
GA DEVELOPERS SE                           P O BOX 19400 PMB 369                                                                                    SAN JUAN          PR      00919
GA NIF CSP                                 PO BOX 3000 PMB 257‐C                                                                                    COAMO             PR      00769‐6000
GA PRODUCTS & CO INC                       P O BOX 363294                                                                                           SAN JUAN          PR      00936‐3294
GABALDON SOTO, NORIS G                     ADDRESS ON FILE
GABIANGIE BERRIOS RODRIGUEZ                ADDRESS ON FILE
GABILONDO PEDRAZA, IMANOL                  ADDRESS ON FILE
GABINO CARRILLO                            ADDRESS ON FILE
GABINO CEDENO MALDONADO                    ADDRESS ON FILE
GABINO CROKKE, ZENELLY                     ADDRESS ON FILE
GABINO CROOKE, JANELLE E                   ADDRESS ON FILE
GABINO CRUZ, FRANCISCO                     ADDRESS ON FILE
GABINO DIAZ RODRIGUEZ                      ADDRESS ON FILE
GABINO FELICIANO SOTO                      ADDRESS ON FILE
GABINO GARCES                              ADDRESS ON FILE
GABINO GARCIA DAVILA                       ADDRESS ON FILE
GABINO GARCIA DAVILA                       ADDRESS ON FILE
GABINO GARCIA, JOSE F.                     ADDRESS ON FILE
Gabino Garcia, Jose F.                     ADDRESS ON FILE
GABINO MEDINA, JORGE                       ADDRESS ON FILE
GABINO ROMAN, WILLIAM                      ADDRESS ON FILE
GABINO SANTIAGO, YAMARIS                   ADDRESS ON FILE
GABINO VELEZ VALENTIN                      ADDRESS ON FILE
GABOT LORA, CARMEN D.                      ADDRESS ON FILE
GABRIEL A AGUIRRE VILLARONGA               ADDRESS ON FILE
GABRIEL A ARMAIZ PENA                      ADDRESS ON FILE
GABRIEL A COLACIOPPO ALVAREZ               ADDRESS ON FILE
GABRIEL A COLLAZO ROSA                     ADDRESS ON FILE
GABRIEL A COLON PEREIRA / ENID A PEREIRA   ADDRESS ON FILE
GABRIEL A CORREA COLON                     ADDRESS ON FILE




                                                                                                               Page 3036 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3037 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                             Address1                     Address2                         Address3   Address4   City              State   PostalCode   Country
GABRIEL A COTTO /FELIX A COTTO FEBO       ADDRESS ON FILE
GABRIEL A DELGADO                         ADDRESS ON FILE
GABRIEL A FONSECA RODRIGUEZ               ADDRESS ON FILE
GABRIEL A GARCIA LOPEZ                    ADDRESS ON FILE
GABRIEL A GOMEZ SANTIAGO                  ADDRESS ON FILE
GABRIEL A IRIZARRY LOZADA                 ADDRESS ON FILE
GABRIEL A MALDONADO                       ADDRESS ON FILE
GABRIEL A MALDONADO ROSARIO               ADDRESS ON FILE
GABRIEL A MARRERO BETANCOURT              ADDRESS ON FILE
GABRIEL A MATOS SALAS                     ADDRESS ON FILE
GABRIEL A MEDINA LAZUS                    ADDRESS ON FILE
GABRIEL A MELENDEZ COLON                  ADDRESS ON FILE
GABRIEL A MERCADO                         ADDRESS ON FILE
GABRIEL A MOLINA BACHILLER                ADDRESS ON FILE
GABRIEL A MOLINA FONTANEZ                 ADDRESS ON FILE
GABRIEL A MOLINA FONTANEZ                 ADDRESS ON FILE
GABRIEL A OLIVERAS TORRES                 ADDRESS ON FILE
GABRIEL A ORTIZ REDONDO                   ADDRESS ON FILE
GABRIEL A PANTOJAS FLORES                 ADDRESS ON FILE
GABRIEL A PEREIRA TORRELLAS               ADDRESS ON FILE
GABRIEL A RAMOS ROSA                      ADDRESS ON FILE
GABRIEL A RIVERA MARTINEZ                 ADDRESS ON FILE
GABRIEL A RIVERA SANCHEZ                  ADDRESS ON FILE
GABRIEL A RIVERA SANTIAGO                 ADDRESS ON FILE
GABRIEL A RODRIGUEZ DIAZ                  ADDRESS ON FILE
GABRIEL A RODRIGUEZ VELAQUEZ              ADDRESS ON FILE
GABRIEL A RUSSE ROSADO                    ADDRESS ON FILE
GABRIEL A SANCHEZ FLORES                  ADDRESS ON FILE
GABRIEL A SANTIAGO ALICEA                 ADDRESS ON FILE
GABRIEL A SANTIAGO ORTIZ                  ADDRESS ON FILE
GABRIEL A SEDA GONZALEZ                   ADDRESS ON FILE
GABRIEL A TORRES FEBUS                    ADDRESS ON FILE
GABRIEL A VARGAS                          ADDRESS ON FILE
GABRIEL A VARGAS                          ADDRESS ON FILE
GABRIEL A VEGA RODRIGUEZ                  ADDRESS ON FILE
GABRIEL A. RIVERA RIVERA                  ADDRESS ON FILE
GABRIEL ACEVEDO ROMAN                     ADDRESS ON FILE
GABRIEL AFANADOR CRUZ                     ADDRESS ON FILE
GABRIEL AGOSTO RESTO                      ADDRESS ON FILE
Gabriel Agosto, Juan                      ADDRESS ON FILE
GABRIEL ALAMO, IVONNE M                   ADDRESS ON FILE
GABRIEL ALEJANDRO GIL MIRANDA             ADDRESS ON FILE
GABRIEL ALEJANDRO GIL MIRANDA             ADDRESS ON FILE
GABRIEL ALICEA ALVERIO                    ADDRESS ON FILE
GABRIEL ALMEDINA                          ADDRESS ON FILE
GABRIEL ALVAREZ MEDINA                    ADDRESS ON FILE
GABRIEL AMILL DBA PUBLICACIONES YUQUIYU   1131 AVE. JESUS T. PINEIRO                                                          SAN JUAN          PR      00920
GABRIEL ANDINO BAEZ                       ADDRESS ON FILE
GABRIEL ANDRES PEREIRA TORRELLAS          ADDRESS ON FILE
GABRIEL ANGLERO GONZALEZ                  ADDRESS ON FILE
GABRIEL ANTONIO DOMINGUEZ DE JESUS/       METZY DE JESUS               PO BOX 522                                             TRUJILLO ALTO     PR      00926
GABRIEL ARMANDO PEREZ FERRER              ADDRESS ON FILE
GABRIEL AVILES GONZALEZ                   ADDRESS ON FILE
GABRIEL B VELEZ SUAU                      ADDRESS ON FILE
GABRIEL BARRETO FIGUEROA                  ADDRESS ON FILE
GABRIEL BERDIAS, FRANCISCO                ADDRESS ON FILE
GABRIEL BERRIOS VÉLEZ                     ELADIO MALAVE NUÑEZ          APARTADO 371265                                        CAYEY             PR      00737‐1265
GABRIEL BIRRIEL RAMOS                     ADDRESS ON FILE
GABRIEL BONILLA VALEDON                   ADDRESS ON FILE
GABRIEL BUENDIA MORALES                   ADDRESS ON FILE




                                                                                         Page 3037 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3038 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GABRIEL CABAN, JOSE L.                 ADDRESS ON FILE
GABRIEL CABEZAS MARRERO                ADDRESS ON FILE
GABRIEL CABRERA COLON                  ADDRESS ON FILE
GABRIEL CARABALLO CARABALLO            ADDRESS ON FILE
GABRIEL CARABALLO OVALLES              ADDRESS ON FILE
GABRIEL CARTAGENA                      ADDRESS ON FILE
GABRIEL CASTRO GONZALEZ                ADDRESS ON FILE
GABRIEL CENTENO, IRIS N.               ADDRESS ON FILE
GABRIEL COLLAZO BURGOS                 ADDRESS ON FILE
GABRIEL COLON                          ADDRESS ON FILE
GABRIEL COLON CABALLERO                ADDRESS ON FILE
GABRIEL COLON CABALLERO                ADDRESS ON FILE
GABRIEL COLON RIVERA                   ADDRESS ON FILE
GABRIEL CORDERO VEGA                   ADDRESS ON FILE
GABRIEL CORTES HERNANDEZ               ADDRESS ON FILE
GABRIEL CORTES HERNANDEZ               ADDRESS ON FILE
GABRIEL COSME CONCEPCION               ADDRESS ON FILE
GABRIEL CRUZ DIAZ                      ADDRESS ON FILE
GABRIEL CRUZ ORTIZ                     ADDRESS ON FILE
GABRIEL CRUZ SALGADO                   ADDRESS ON FILE
GABRIEL CRUZ, CARMEN M                 ADDRESS ON FILE
GABRIEL D RAMOS PINERO                 ADDRESS ON FILE
GABRIEL D SERRANO VELEZ                ADDRESS ON FILE
GABRIEL DE GRACIA ORTIZ                ADDRESS ON FILE
GABRIEL DE JESUS PEREZ                 ADDRESS ON FILE
GABRIEL DE JESUS RODRIGUEZ             ADDRESS ON FILE
GABRIEL DE JESUS TORO                  ADDRESS ON FILE
GABRIEL DE JESUS TORRES                ADDRESS ON FILE
GABRIEL DE JESUS, ELENA A              ADDRESS ON FILE
GABRIEL DEL RIO SOLA                   ADDRESS ON FILE
GABRIEL DELGADO ROSADO                 ADDRESS ON FILE
GABRIEL DELGADO ROSADO                 ADDRESS ON FILE
GABRIEL DEMORIZI, IDANI                ADDRESS ON FILE
GABRIEL DENIS, MARCELL                 ADDRESS ON FILE
GABRIEL DIAZ CASTRO                    ADDRESS ON FILE
GABRIEL DIAZ, HECTOR                   ADDRESS ON FILE
GABRIEL E ALVAREZ MARTINEZ             ADDRESS ON FILE
GABRIEL E ALVAREZ MARTINEZ             ADDRESS ON FILE
GABRIEL E ANDINO ACEVEDO               ADDRESS ON FILE
GABRIEL E CASILLAS MALDONADO           ADDRESS ON FILE
GABRIEL E CORCHADO MENDEZ              ADDRESS ON FILE
GABRIEL E FERRER Y MARIA DEL ROSARIO   ADDRESS ON FILE
GABRIEL E GUTIERREZ VILLANUEVA         ADDRESS ON FILE
GABRIEL E LOPEZ ORTIZ                  ADDRESS ON FILE
GABRIEL E LOYOLA HERNANDEZ             ADDRESS ON FILE
GABRIEL E LUGO RODRIGUEZ               ADDRESS ON FILE
GABRIEL E MOJICA RODRIGUEZ             ADDRESS ON FILE
GABRIEL E MOYA VAZQUEZ                 ADDRESS ON FILE
GABRIEL E MUNOZ KLINGER                ADDRESS ON FILE
GABRIEL E PAGAN CORDERO                ADDRESS ON FILE
GABRIEL E QUILES GARCIA                ADDRESS ON FILE
GABRIEL E RIVERA APONTE                ADDRESS ON FILE
GABRIEL E SANCHEZ IRIZARRY             ADDRESS ON FILE
GABRIEL E TERRON CANDELARIA            ADDRESS ON FILE
GABRIEL E VAZQUEZ GONZALEZ             ADDRESS ON FILE
GABRIEL E. ANDINO ACEVEDO              ADDRESS ON FILE
GABRIEL E. LUGO RODRIGUEZ              ADDRESS ON FILE
GABRIEL E. PRIETO RIVERA               ADDRESS ON FILE
GABRIEL E. RODRIGUEZ RODRIGUEZ         ADDRESS ON FILE
GABRIEL ENGRAVING CENTER INC           P O BOX 2184                                                                     SAN JUAN     PR      00919




                                                                                   Page 3038 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3039 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                         Address2                              Address3     Address4         City         State   PostalCode   Country
GABRIEL ENGRAVING CENTER INC.            PO BOX 192184                                                                                        SAN JUAN     PR      00919
GABRIEL ESTERRICH LOMBAY                 ADDRESS ON FILE
                                                                                                                             209 AVE. MUNOZ
GABRIEL ESTERRICH LOMBAY                 LCDO. JAVIER A. COLLAZO CORREA   BANCO POPULAR CENTER                  SUITE 1110   RIVERA AVE.      SAN JUAN     PR      00918
GABRIEL F GUZMAN BHAGGAN                 ADDRESS ON FILE
GABRIEL F LABOY RIVERA                   ADDRESS ON FILE
GABRIEL FERRER/ MIGUEL FERRER /          ADDRESS ON FILE
GABRIEL FIGUEROA RAMIREZ                 ADDRESS ON FILE
GABRIEL FIGUEROA RAMIREZ                 ADDRESS ON FILE
GABRIEL FIGUEROA SANTIAGO                ADDRESS ON FILE
GABRIEL FLORES                           ADDRESS ON FILE
GABRIEL G DEL TORO FERRER                ADDRESS ON FILE
GABRIEL G DEL TORO FERRER                ADDRESS ON FILE
GABRIEL G QUINONEZ ZAMBRANA              ADDRESS ON FILE
GABRIEL GABRIEL, CRISTINA                ADDRESS ON FILE
GABRIEL GABRIEL, MARIA C                 ADDRESS ON FILE
GABRIEL GARCIA GARCIA                    ADDRESS ON FILE
GABRIEL GARCIA GUEVARA                   ADDRESS ON FILE
GABRIEL GARCIA ROSADO A/C JESSICA ROSADO ADDRESS ON FILE
GABRIEL GARCIA SOTO                      ADDRESS ON FILE
GABRIEL GARCIA VEGA                      ADDRESS ON FILE
GABRIEL GARCIA VILELLA                   ADDRESS ON FILE
GABRIEL GIRALDO SANTIAGO                 ADDRESS ON FILE
GABRIEL GONZALEZ RIVERA                  ADDRESS ON FILE
GABRIEL GONZALEZ, ROSA                   ADDRESS ON FILE
GABRIEL H SOTO IRIZARRY                  ADDRESS ON FILE
GABRIEL HERNANDEZ AVILES                 ADDRESS ON FILE
GABRIEL HERNANDEZ JIMENEZ                ADDRESS ON FILE
GABRIEL HERNANDEZ VELEZ                  ADDRESS ON FILE
GABRIEL HERNANDEZ, ANDRES                ADDRESS ON FILE
GABRIEL HIRAM PEREZ RIVERA               ADDRESS ON FILE
Gabriel Huertas Gonzalez                 ADDRESS ON FILE
GABRIEL I DIAZ VAZQUEZ                   ADDRESS ON FILE
GABRIEL IRIZARRY QUINONEZ                ADDRESS ON FILE
GABRIEL IRIZARRY VILLAFANE               ADDRESS ON FILE
GABRIEL IRIZARRY VILLATONE               ADDRESS ON FILE
GABRIEL J ALONSO SERRA                   ADDRESS ON FILE
GABRIEL J ALONSO SERRA                   ADDRESS ON FILE
GABRIEL J BELARDO DEL RIO                ADDRESS ON FILE
GABRIEL J CRUZ FLORES                    ADDRESS ON FILE
GABRIEL J HERNANDEZ ACOSTA               ADDRESS ON FILE
GABRIEL J LOPEZ ARRIETA                  ADDRESS ON FILE
GABRIEL J MORALES JORDAN                 ADDRESS ON FILE
GABRIEL J ORTIZ GARCIA                   ADDRESS ON FILE
GABRIEL J PADILLA GARCIA                 ADDRESS ON FILE
GABRIEL J PALERN MARTINEZ                ADDRESS ON FILE
GABRIEL J RAMIREZ RAMOS                  ADDRESS ON FILE
GABRIEL J RAMOS VELEZ                    ADDRESS ON FILE
GABRIEL J RIVERA MORALES                 ADDRESS ON FILE
GABRIEL J TORRES HERNANDEZ               ADDRESS ON FILE
GABRIEL J VIVONI GALLART                 ADDRESS ON FILE
GABRIEL J. CASTRO HERNANDEZ              ADDRESS ON FILE
GABRIEL J. FUENTES ROMAN                 ADDRESS ON FILE
GABRIEL J. MANZANARES CAINAS             ADDRESS ON FILE
GABRIEL J. MARTINEZ RODRIGUEZ            ADDRESS ON FILE
GABRIEL J. SICARDO OCASIO                ADDRESS ON FILE
GABRIEL JIMENEZ, IRMA N.                 ADDRESS ON FILE
GABRIEL JOEL FIGUEROA                    ADDRESS ON FILE
GABRIEL JOSE AGUAYO DIAZ                 ADDRESS ON FILE
GABRIEL JOSE RAMOS GONZALEZ              ADDRESS ON FILE




                                                                                                 Page 3039 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3040 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GABRIEL JOSE RAMOS GONZALEZ        ADDRESS ON FILE
GABRIEL JUSTINIANO VALENTIN        ADDRESS ON FILE
GABRIEL L PENAGARICANO             ADDRESS ON FILE
GABRIEL LAZU CRUZ                  ADDRESS ON FILE
GABRIEL LEON RODRIGUEZ             ADDRESS ON FILE
GABRIEL LOPEZ PACHECO              ADDRESS ON FILE
GABRIEL LOPEZ RODRIGUEZ            ADDRESS ON FILE
GABRIEL LOPEZ RODRIGUEZ            ADDRESS ON FILE
GABRIEL LOPEZ SANCHEZ              ADDRESS ON FILE
GABRIEL LOPEZ SERRANO              ADDRESS ON FILE
GABRIEL LUCIANO BAEZ               ADDRESS ON FILE
GABRIEL M COLON VAZQUEZ            ADDRESS ON FILE
GABRIEL M ESTERAS SERRANO          ADDRESS ON FILE
GABRIEL M HERNANDEZ JUSINO         ADDRESS ON FILE
GABRIEL M NIEVES SIERRA            ADDRESS ON FILE
GABRIEL M RAMOS                    ADDRESS ON FILE
GABRIEL MAISONET, JIMARA           ADDRESS ON FILE
GABRIEL MALDONADO MARTINEZ         ADDRESS ON FILE
GABRIEL MALDONADO RIOS             ADDRESS ON FILE
GABRIEL MALDONADO TORRES           ADDRESS ON FILE
GABRIEL MANGUAL COSME              ADDRESS ON FILE
GABRIEL MANUEL RODRIGUEZ MIRABAL   ADDRESS ON FILE
GABRIEL MANZANO ORTIZ              ADDRESS ON FILE
GABRIEL MARTINEZ GRUEIRO           ADDRESS ON FILE
GABRIEL MATOS ORTIZ                ADDRESS ON FILE
GABRIEL MATOS TOLEDO               ADDRESS ON FILE
GABRIEL MEDINA TORRES              ADDRESS ON FILE
GABRIEL MELENDEZ AVILA             ADDRESS ON FILE
GABRIEL MELENDEZ GUADALUPE         ADDRESS ON FILE
GABRIEL MELENDEZ, CHRISTINA        ADDRESS ON FILE
GABRIEL MENDEZ CRUZ                ADDRESS ON FILE
GABRIEL MENDEZ TORRES              ADDRESS ON FILE
GABRIEL MERCADO PEREZ              ADDRESS ON FILE
GABRIEL MERCADO, LUIS A            ADDRESS ON FILE
GABRIEL MERCED SERRANO             ADDRESS ON FILE
GABRIEL MIRABAL RAMOS              ADDRESS ON FILE
GABRIEL MIRANDA BRAVO              ADDRESS ON FILE
GABRIEL MIRANDA RAMIREZ            ADDRESS ON FILE
GABRIEL MORA QUINTERO              ADDRESS ON FILE
GABRIEL MORALES, AGUSTIN           ADDRESS ON FILE
GABRIEL MORALES, AGUSTIN           ADDRESS ON FILE
GABRIEL MORALES, JOSE A.           ADDRESS ON FILE
GABRIEL MORALES, NEREIDA           ADDRESS ON FILE
GABRIEL MORENO OQUENDO             ADDRESS ON FILE
GABRIEL MULERO GLAS                ADDRESS ON FILE
GABRIEL MUNIZ RIVERA               ADDRESS ON FILE
GABRIEL MUNOZ KLINGER              ADDRESS ON FILE
GABRIEL N RODRIGUEZ FLECHA         ADDRESS ON FILE
GABRIEL NEGRON RODRIGUEZ           ADDRESS ON FILE
GABRIEL NIEVES COLLAZO             ADDRESS ON FILE
GABRIEL NOGUERA COLBERG            ADDRESS ON FILE
GABRIEL O BASS RIVERA              ADDRESS ON FILE
GABRIEL O MEDINA RIVERA            ADDRESS ON FILE
GABRIEL O MEDINA RIVERA            ADDRESS ON FILE
GABRIEL O MERCEDES LUCAS           ADDRESS ON FILE
GABRIEL O RAMOS DIAZ               ADDRESS ON FILE
GABRIEL O RAMOS DIAZ               ADDRESS ON FILE
GABRIEL O REDONDO MIRANDA          ADDRESS ON FILE
GABRIEL O RIVERA RESTO             ADDRESS ON FILE
GABRIEL O SANTOS LOPEZ             ADDRESS ON FILE




                                                                               Page 3040 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3041 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                              Address1                        Address2                                  Address3   Address4   City         State   PostalCode   Country
GABRIEL O SERRANO PENA / SIRI PENA PEREZ   ADDRESS ON FILE
GABRIEL O. RUBERO ENTERPRISES              PO BOX 1346                     CARR 566 KM 1 BO. SALTOS                                        OROCOVIS     PR      00720
GABRIEL OJEDA QUEVEDO                      ADDRESS ON FILE
GABRIEL OLAVARRIA HERNANDEZ                ADDRESS ON FILE
GABRIEL OLIVERAS IRIZARRY                  ADDRESS ON FILE
GABRIEL OLMEDA                             ADDRESS ON FILE
GABRIEL ORTA MARTINEZ                      ADDRESS ON FILE
GABRIEL ORTIZ LAGUERRE                     ADDRESS ON FILE
GABRIEL PAGAN COLON MD, ANGEL              ADDRESS ON FILE
GABRIEL PAGAN LLORENS                      ADDRESS ON FILE
GABRIEL PASTRANA                           ADDRESS ON FILE
GABRIEL PEDRAZA COLLAZO                    ADDRESS ON FILE
GABRIEL PEREZ LOPEZ                        A. LCDA. MARISABEL PARET DROS   PO BOX 1466                                                     MAYAGÜEZ     PR      00681‐1466
GABRIEL PEREZ RODRIGUEZ                    ADDRESS ON FILE
GABRIEL PEREZ RODRIGUEZ                    ADDRESS ON FILE
GABRIEL PEREZ RODRIGUEZ                    ADDRESS ON FILE
GABRIEL PEREZ, ANGEL                       ADDRESS ON FILE
GABRIEL PEREZ, CARLOS                      ADDRESS ON FILE
GABRIEL PLACIDO ROMAN                      ADDRESS ON FILE
GABRIEL QUINONES ACOSTA                    ADDRESS ON FILE
GABRIEL QUINONES SANTIAGO                  ADDRESS ON FILE
GABRIEL R AVILES APONTE                    ADDRESS ON FILE
GABRIEL R CANALES ESTRADA                  ADDRESS ON FILE
GABRIEL R FLORES SOTO                      ADDRESS ON FILE
GABRIEL R NIN SUAREZ                       ADDRESS ON FILE
GABRIEL R REYES VAZQUEZ                    ADDRESS ON FILE
GABRIEL R SANTIAGO MUNOZ                   ADDRESS ON FILE
GABRIEL R SANTIAGO MUNOZ                   ADDRESS ON FILE
GABRIEL RAMOS                              ADDRESS ON FILE
GABRIEL RAMOS CORDERO                      ADDRESS ON FILE
GABRIEL RAMOS CRUZ                         ADDRESS ON FILE
GABRIEL RAMOS DONATE                       ADDRESS ON FILE
GABRIEL REYES HERNANDEZ                    ADDRESS ON FILE
GABRIEL REYES, JOSHUA                      ADDRESS ON FILE
GABRIEL RIVERA CINTRON                     ADDRESS ON FILE
GABRIEL RIVERA DIAZ                        ADDRESS ON FILE
GABRIEL RIVERA LOPEZ                       ADDRESS ON FILE
GABRIEL RIVERA OLIVENCIA                   ADDRESS ON FILE
GABRIEL RIVERA ORTEGA                      ADDRESS ON FILE
GABRIEL RIVERA PACHECO                     ADDRESS ON FILE
GABRIEL RIVERA SANTIAGO                    ADDRESS ON FILE
GABRIEL RIVERA SANTIAGO                    ADDRESS ON FILE
GABRIEL RIVERA VARGAS                      ADDRESS ON FILE
GABRIEL RIVERO, DIANA M                    ADDRESS ON FILE
GABRIEL ROBLES VILLALOBOS                  ADDRESS ON FILE
GABRIEL RODRIGUEZ                          ADDRESS ON FILE
GABRIEL RODRIGUEZ                          ADDRESS ON FILE
GABRIEL RODRIGUEZ CARRASQUILLO             ADDRESS ON FILE
GABRIEL RODRIGUEZ GINES                    ADDRESS ON FILE
GABRIEL RODRIGUEZ GONZALEZ                 ADDRESS ON FILE
GABRIEL RODRIGUEZ HERNANDEZ                ADDRESS ON FILE
GABRIEL RODRIGUEZ SALDANA                  ADDRESS ON FILE
GABRIEL RODRIGUEZ SANTIAGO                 ADDRESS ON FILE
GABRIEL RODRIGUEZ, CARLOS                  ADDRESS ON FILE
Gabriel Rodriguez, Guillermo               ADDRESS ON FILE
GABRIEL RODRIGUEZ, JORGE                   ADDRESS ON FILE
GABRIEL ROLDAN GARCIA                      ADDRESS ON FILE
GABRIEL ROLDAN ROSARIO                     ADDRESS ON FILE
GABRIEL ROMAN ANDUJAR                      ADDRESS ON FILE
GABRIEL ROMERO FRANQUI                     ADDRESS ON FILE




                                                                                                      Page 3041 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3042 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                           Address1                   Address2                               Address3   Address4   City         State   PostalCode   Country
GABRIEL ROSA DELGADO                    ADDRESS ON FILE
GABRIEL RUBERO ENTERPRISES INC          PO BOX 1346                                                                             OROCOVIS     PR      00720
GABRIEL RUBIO COLON                     ADDRESS ON FILE
GABRIEL RUIZ MELENDEZ                   ADDRESS ON FILE
GABRIEL RUIZ TOLLINCHI                  VILLA DEL CAFETAL          I 128 CALLE 13                                               YAUCO        PR      00698
GABRIEL RUIZ, CARLOS                    ADDRESS ON FILE
GABRIEL S SANTIAGO APONTE               ADDRESS ON FILE
GABRIEL SANCHEZ MARTINEZ                ADDRESS ON FILE
GABRIEL SANCHEZ ROMAN                   ADDRESS ON FILE
GABRIEL SANTANA BATISTA                 ADDRESS ON FILE
GABRIEL SANTIAGO ACEVEDO                ADDRESS ON FILE
GABRIEL SANTIAGO, YANIRA                ADDRESS ON FILE
GABRIEL SOTO CUADRADO INC               HC 1 BOX 16949                                                                          HUMACAO      PR      00791
GABRIEL STERLING RAMOS                  LIC. JULIO VARGAS APONTE   PMB 2013390 CARR. 853                                        CAROLINA     PR      00987‐8799
GABRIEL SUREN BONES                     ADDRESS ON FILE
GABRIEL T FIGUEROA TORRES               ADDRESS ON FILE
GABRIEL TERRON JIMENEZ                  ADDRESS ON FILE
GABRIEL TORRES ALVARADO                 ADDRESS ON FILE
GABRIEL TORRES ALVARADO                 ADDRESS ON FILE
GABRIEL TORRES PEREZ                    ADDRESS ON FILE
GABRIEL TORRES PUJOLS                   ADDRESS ON FILE
GABRIEL TORRES RIVERA                   ADDRESS ON FILE
GABRIEL VAZQUEZ RAMOS                   ADDRESS ON FILE
GABRIEL VAZQUEZ SEGARRA                 ADDRESS ON FILE
GABRIEL VELAZQUEZ RIVERA                ADDRESS ON FILE
GABRIEL VELEZ RIOS                      ADDRESS ON FILE
GABRIEL VERGARA SOTO                    ADDRESS ON FILE
GABRIEL X MESTRE TORRES                 ADDRESS ON FILE
GABRIEL Y MORALES NAVARRO               ADDRESS ON FILE
GABRIEL ZENO, CARLOS A                  ADDRESS ON FILE
GABRIEL ZENO, LENIE                     ADDRESS ON FILE
GABRIEL ZENO, RONNIE                    ADDRESS ON FILE
GABRIEL, ALCIDES DENIS                  ADDRESS ON FILE
GABRIEL, CARLOS O                       ADDRESS ON FILE
GABRIEL, LEYDI                          ADDRESS ON FILE
GABRIELA A CRUZ FELICIANO               ADDRESS ON FILE
GABRIELA A LOPEZ ROSA                   ADDRESS ON FILE
GABRIELA A LUGO LOYOLA                  ADDRESS ON FILE
GABRIELA C ESCALERA ORTIZ               ADDRESS ON FILE
GABRIELA CASTILLO BENCOSME              ADDRESS ON FILE
GABRIELA DIAZ GONZALEZ                  ADDRESS ON FILE
GABRIELA FERNANDEZ CABRERA              ADDRESS ON FILE
GABRIELA FIRPI MORALES                  ADDRESS ON FILE
GABRIELA FONTANEZ/ GABRIELA GONZALEZ    ADDRESS ON FILE
GABRIELA GATA GARCIA                    ADDRESS ON FILE
GABRIELA GENOVEVA PAREDES ZERTUCHE      ADDRESS ON FILE
GABRIELA GONZALEZ IZQUIERDO             ADDRESS ON FILE
GABRIELA I DE JESUS TORRES              ADDRESS ON FILE
GABRIELA IVETTE FARINACCI PONS          ADDRESS ON FILE
GABRIELA J RIVERA SANCHEZ               ADDRESS ON FILE
GABRIELA J TORRES                       ADDRESS ON FILE
GABRIELA LA TORRE CINTRON               ANGEL A. TRIANA LOPEZ      PO BOX 2927                                                  GUAYNABO     PR      00970‐2927
GABRIELA LOPEZ MORALES                  ADDRESS ON FILE
GABRIELA M CARRERO CRESPO               ADDRESS ON FILE
GABRIELA M OQUENDO/ANNIE RIVERA CANALES ADDRESS ON FILE
GABRIELA M. RODRIGUEZ NIELSEN           ADDRESS ON FILE
GABRIELA MEDINA CAMACHO                 ADDRESS ON FILE
GABRIELA MONTALVO MEDINA                ADDRESS ON FILE
GABRIELA MORA LLORENS                   ADDRESS ON FILE
GABRIELA N COLON ORTIZ                  ADDRESS ON FILE




                                                                                           Page 3042 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3043 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                              Address1                       Address2                                Address3   Address4   City         State   PostalCode   Country
GABRIELA N RAMOS DIAZ                      ADDRESS ON FILE
GABRIELA N SANTIAGO RODRIGUEZ              ADDRESS ON FILE
GABRIELA P OPPENHEIMER LUGARO              ADDRESS ON FILE
GABRIELA P SANGUINET LOZADA                ADDRESS ON FILE
GABRIELA PADILLA MUNOZ / FRANCES MUNOZ     ADDRESS ON FILE
GABRIELA RIVERA RIVERO                     ADDRESS ON FILE
GABRIELA ROLON AYALA                       ADDRESS ON FILE
GABRIELA ROMAN COLON                       ADDRESS ON FILE
GABRIELA ROMAN COLON                       ADDRESS ON FILE
GABRIELA ROSARIO / ROSARIO RODRIGUEZ       ADDRESS ON FILE
GABRIELA SIFRE                             ADDRESS ON FILE
GABRIELA T CRESPO PENAGARICANO             ADDRESS ON FILE
GABRIELA TORRES AROCHO                     ADDRESS ON FILE
GABRIELA TORRES RODRIGUEZ                  ADDRESS ON FILE
GABRIELA V ORTIZ VAZQUEZ                   ADDRESS ON FILE
GABRIELA VAGUER RIVERA / NOELIA C RIVERA   ADDRESS ON FILE
GABRIELLA CASTIEL FOLCH                    ADDRESS ON FILE
GABRIELLA RIVERA RIVERO                    ADDRESS ON FILE
GABRIELLE A RUIZ TUDO                      ADDRESS ON FILE
GABRIELLE M RIVERA RIVERA                  ADDRESS ON FILE
GABRIELLE M RODRIGUEZ FRANCO               ADDRESS ON FILE
GABRIELLE M. FONTANEZ PEREZ                ADDRESS ON FILE
GABRIELYS ROSADO RODRIGUEZ                 ADDRESS ON FILE
GABRYEL R.FLORES LUGO                      ADDRESS ON FILE
GABY A CECILIO GONZALEZ                    ADDRESS ON FILE
GABY MINI DONAS INC                        ZONA INDUSTRIAL SABANA ABAJO   1338 CALLE RIO DANUBIO                                        CAROLINA     PR      00982
GABY PEREZ CINTRON                         ADDRESS ON FILE
GAC ASOCIADOS PSC                          PO BOX 51                                                                                    CEIBA        PR      00735‐0051
GAC & ASOCIADOS PSC                        URB BARALT                     I 31 AVE PRINCIPAL                                            FAJARDO      PR      00738
GACIA PEREZ ROBERTO CARLOS                 ADDRESS ON FILE
GADAM CONFERENCES                          URB VERSALLES S‐3 CALLE 17                                                                   BAYAMON      PR      00959‐2137
GADDIEL A MARTINEZ COLON                   ADDRESS ON FILE
GADDIEL E TRINIDAD SOTO                    ADDRESS ON FILE
GADDIEL MORALES OLIVERA                    ADDRESS ON FILE
GADDIEL SANTANA LOPEZ                      ADDRESS ON FILE
GADDIER GARCIA GARCIA                      ADDRESS ON FILE
GADEA CASTRO, GEORGINA                     ADDRESS ON FILE
GADEA DELBREY, VIOMARY                     ADDRESS ON FILE
GADEA DIAZ, CARLOS R                       ADDRESS ON FILE
GADEA FRANCO, MATTHEW                      ADDRESS ON FILE
GADEA LOPEZ, CARLOS                        ADDRESS ON FILE
GADEA MORA, CARLOS                         ADDRESS ON FILE
GADEA REYES, JYLVONNETTE                   ADDRESS ON FILE
GADEA RIVERA, HECTOR O                     ADDRESS ON FILE
GADEA RIVERA, JULIA D                      ADDRESS ON FILE
GADEA RODRIGUEZ, ELIZABETH                 ADDRESS ON FILE
GADEA TORRES, JOSEA                        ADDRESS ON FILE
GADEA TORRES, MARITZA                      ADDRESS ON FILE
GADIEL A RIVERA VILLANUEVA                 ADDRESS ON FILE
GADIEL A RODRIGUEZ ROBLES                  ADDRESS ON FILE
GADIEL E. MERCED ALVAREZ                   ADDRESS ON FILE
GADIEL FRANCO NEGRON                       ADDRESS ON FILE
GADIEL I RIOS SOTO                         ADDRESS ON FILE
GADIEL J FIGUEROA ROBLES                   ADDRESS ON FILE
GADIEL MELÉNDEZ ORTIZ                      ALFREDO ORTIZ RIVERA           PEDRO ROSARIO # 2                                             AIBONITO     PR      00705
GADIEL MELENDEZ ZAYAS                      ADDRESS ON FILE
GADIEL MIRANDA ACEVEDA                     ADDRESS ON FILE
GADIEL PAGAN CRUZ                          ADDRESS ON FILE
GADIEL PEREZ VAZQUEZ                       ADDRESS ON FILE
GADIEL SANTIAGO GUZMAN                     ADDRESS ON FILE




                                                                                                   Page 3043 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3044 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                   Creditor Matrix

Creditor Name                            Address1                  Address2                                     Address3   Address4   City              State   PostalCode   Country
GADIEL SANTIAGO NEGRON                   ADDRESS ON FILE
GADYMEL MENDEZ LOPEZ                     ADDRESS ON FILE
GAED REALTY INC                          PO BOX 1662                                                                                  CANOVANAS         PR      00729
GAEG ENGINEERING GROUP PSC               PO BOX 9191                                                                                  HUMACAO           PR      00792‐9191
GAETAN CLAUDIO, ADALYN                   ADDRESS ON FILE
GAETAN COLON, JACINTO                    ADDRESS ON FILE
GAETAN DECLET, LOREEN                    ADDRESS ON FILE
GAETAN GONZALEZ, JULIA I                 ADDRESS ON FILE
GAETAN MEJIAS, ELISEO                    ADDRESS ON FILE
GAETAN NATAL, DORIS ANN                  ADDRESS ON FILE
GAETAN PENA, JUAN                        ADDRESS ON FILE
GAETAN PENA, RAMONITA                    ADDRESS ON FILE
GAETAN PERDOMO, MARIO                    ADDRESS ON FILE
GAETAN RIVERA, JOSE M                    ADDRESS ON FILE
GAETAN SIERRA, WANDA I                   ADDRESS ON FILE
GAETAN SOTO, ELIZABETH                   ADDRESS ON FILE
GAETAN SOTO, MARIA                       ADDRESS ON FILE
GAETAN VELAZQUEZ, IVONNE E               ADDRESS ON FILE
GAF ELECTRIC & GENERAL CONTRACTOR, CORP. P.O. BOX 441                                                                                 GURABO,           PR      00778‐0000
GAGLIANI RIVERA, SHEILA D                ADDRESS ON FILE
GAGO APONTE, MARIA ESTHER                ADDRESS ON FILE
Gago Barreto, Felix M                    ADDRESS ON FILE
GAGO GELICA, MERCEDES                    ADDRESS ON FILE
GAGO PINEIRO, JORGE                      ADDRESS ON FILE
GAGO RIVERA, JORGE                       ADDRESS ON FILE
GAGO SANABRIA, EDGARDO                   ADDRESS ON FILE
GAGO SUAREZ, NILDA I.                    ADDRESS ON FILE
GAGOT ESCOBOSA, HERMES G                 ADDRESS ON FILE
GAGOT VELEZ, CARMEN A.                   ADDRESS ON FILE
GAIBI APONTE, FRANCES M                  ADDRESS ON FILE
GAIBI RODRIGUEZ, IKBAL                   ADDRESS ON FILE
GAIL MUNIZ AGUIAR                        ADDRESS ON FILE
GAIL RAMOS MARTINEZ                      ADDRESS ON FILE
GAIL RIORDAN                             ADDRESS ON FILE
GAIN COORDINATING CENTER                 LIGHHOUSE INST CENTER     CHESTNUT HEAITH SYSTEMS 448                                        WYLIE DR NORMAL   IL      61761
GAINES VAZQUEZ, ANGELA                   ADDRESS ON FILE
GAINES VAZQUEZ, ANGELA R.                ADDRESS ON FILE
GAITAN BELTRAN, AIXA T.                  ADDRESS ON FILE
GAITHER INTL P R INC                     PO BOX 70211                                                                                 SAN JUAN          PR      00936
GAJATE, VERONICA                         ADDRESS ON FILE
GALA AGUILERA, SANTIAGO                  ADDRESS ON FILE
GALA AGUILERA, SANTIAGO J.               ADDRESS ON FILE
GALA ALVAREZ, HECTOR H                   ADDRESS ON FILE
GALA M ROMERO ALICEA                     ADDRESS ON FILE
GALA RIVERA DELGADO                      ADDRESS ON FILE
GALA TRAVEL AGENCY                       ADDRESS ON FILE
GALAFA SIERRA, JUAN A                    ADDRESS ON FILE
GALAGARZA FRAGOSO, ADA D                 ADDRESS ON FILE
GALAN AGUILAR, ORLANDO                   ADDRESS ON FILE
GALAN ALICEA, JUDITH A                   ADDRESS ON FILE
GALAN ALVARADO, JOHNNY                   ADDRESS ON FILE
GALAN APONTE, SULEIKA D.                 ADDRESS ON FILE
GALAN AUDIFFRED, JUAN L                  ADDRESS ON FILE
GALAN AUDIFRED, LEISHA M                 ADDRESS ON FILE
GALAN BATISTA, WANDA                     ADDRESS ON FILE
GALAN BONET, EDWIN                       ADDRESS ON FILE
GALAN CANCEL, WIDNELIA                   ADDRESS ON FILE
Galan Colon, Charlinet                   ADDRESS ON FILE
GALAN COLON, DIPCIANET                   ADDRESS ON FILE
GALAN COLON, JESSICA F                   ADDRESS ON FILE




                                                                                                 Page 3044 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3045 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALAN COLON, JORGE              ADDRESS ON FILE
GALAN COLON, RAQUEL             ADDRESS ON FILE
Galan Cordero, Manuel Alberto   ADDRESS ON FILE
GALAN CRESPO, CARMEN            ADDRESS ON FILE
GALAN CRESPO, CARMEN I          ADDRESS ON FILE
GALAN CRESPO, WILFREDO          ADDRESS ON FILE
GALAN CRUZ, JAVIER              ADDRESS ON FILE
GALAN CRUZ, JAVIER A.           ADDRESS ON FILE
GALAN CRUZ, JAVIER A.           ADDRESS ON FILE
Galan Cuevas, Jonathan          ADDRESS ON FILE
GALAN DEIDA, VICTOR             ADDRESS ON FILE
GALAN DIAZ, CARMELO             ADDRESS ON FILE
GALAN DIAZ, GLORY M             ADDRESS ON FILE
GALAN DIAZ, IVETTE              ADDRESS ON FILE
GALAN DIAZ, JENNIFER            ADDRESS ON FILE
GALAN DIAZ, LILLIAM M.          ADDRESS ON FILE
GALAN DORTA, ZENNY I            ADDRESS ON FILE
GALAN FELICIANO, MIRNA          ADDRESS ON FILE
GALAN GERENA, IRMA I            ADDRESS ON FILE
GALAN HUERTAS, AGATHA           ADDRESS ON FILE
GALAN JIMENEZ, YOLANDA DEL C    ADDRESS ON FILE
GALAN KERCADO, CARLOS           ADDRESS ON FILE
GALAN KERCADO, DANIEL           ADDRESS ON FILE
GALAN KERCADO, DANIEL J.        ADDRESS ON FILE
GALAN KERCADO, TEXO             ADDRESS ON FILE
GALAN LAMAR, LIBRADA M          ADDRESS ON FILE
GALAN LOPEZ, JEALIANNETTE C     ADDRESS ON FILE
Galan Lopez, Jose               ADDRESS ON FILE
GALAN MARRERO, LOYDA E          ADDRESS ON FILE
GALAN MARTINEZ, MOISES          ADDRESS ON FILE
GALAN MENDOZA, DAVID            ADDRESS ON FILE
GALAN MOLINA, SANDRA            ADDRESS ON FILE
GALAN MONTALVO, ANDRES          ADDRESS ON FILE
GALAN MONTIJO, CARLOS           ADDRESS ON FILE
GALAN MORALES, IVETTE           ADDRESS ON FILE
GALAN NEGRON,JUAN D.            ADDRESS ON FILE
Galan Ostolaza, Brenda N.       ADDRESS ON FILE
Galan Pena, Xavier R            ADDRESS ON FILE
GALAN PINEDA, LILIAN E.         ADDRESS ON FILE
GALAN PINEIRO, JORGE            ADDRESS ON FILE
GALAN PLANELL, NOLSEN           ADDRESS ON FILE
GALAN PLAZA, EDWIN              ADDRESS ON FILE
GALAN RAMIREZ, CARLOS           ADDRESS ON FILE
GALAN RAMIREZ, JUAN             ADDRESS ON FILE
GALAN REYES, GEOVANI            ADDRESS ON FILE
GALAN RIVERA, ABDIEL            ADDRESS ON FILE
GALAN RIVERA, CHRYSTAL          ADDRESS ON FILE
GALAN RIVERA, EZEQUIEL          ADDRESS ON FILE
GALAN RIVERA, GAMALIEL          ADDRESS ON FILE
GALAN RIVERA, KEILA             ADDRESS ON FILE
GALAN RIVERA, KERVIN            ADDRESS ON FILE
GALAN RODRIGUEZ, MARDADDY       ADDRESS ON FILE
GALAN RODRIGUEZ, MARDADDY       ADDRESS ON FILE
GALAN ROJAS, JOSE               ADDRESS ON FILE
GALAN ROMAN, JARELYS            ADDRESS ON FILE
GALAN ROMERO, IVELISSE          ADDRESS ON FILE
Galan Rosa, Edward              ADDRESS ON FILE
GALAN RUIZ, NELSON              ADDRESS ON FILE
GALAN RUIZ, VIVIAN              ADDRESS ON FILE
GALAN SANCHEZ, TIRSA            ADDRESS ON FILE




                                                                            Page 3045 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3046 of 3500
                                                                               17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                   Address1                   Address2                                   Address3       Address4   City              State   PostalCode   Country
GALAN TALAVERA, DAVID           ADDRESS ON FILE
GALAN TORRES, FRANCES           ADDRESS ON FILE
Galan Valentin, Luis O          ADDRESS ON FILE
GALAN VAZQUEZ, ABIGAIL          ADDRESS ON FILE
GALAN VAZQUEZ, NEREIDA          ADDRESS ON FILE
GALAN VAZQUEZ, ROBERTO          ADDRESS ON FILE
GALAN VELAZQUEZ, LINDA          ADDRESS ON FILE
GALAN VELEZ, HECTOR L.          ADDRESS ON FILE
GALAN VELEZ, JESSYVELL          ADDRESS ON FILE
GALAN VIERA, IRIS               ADDRESS ON FILE
GALAN VIERA, LUIS A             ADDRESS ON FILE
GALAN VIERA, ROSA O             ADDRESS ON FILE
GALANES ROSA, BLANCA            ADDRESS ON FILE
GALANZA RAMIREZ, GISELA         ADDRESS ON FILE
GALARCE FOURNIER, MARIA DEL C   ADDRESS ON FILE
GALARZA ACEVEDO, CARMEN         ADDRESS ON FILE
GALARZA ACEVEDO, CARMEN         ADDRESS ON FILE
GALARZA ACEVEDO, LUIS A         ADDRESS ON FILE
GALARZA AGOSTO, MARISOL         ADDRESS ON FILE
GALARZA AIR CONDITIONING        A 21 URB VILLA ROSA III                                                                         GUAYAMA           PR      00784
GALARZA ALBINO, XAVIER          ADDRESS ON FILE
GALARZA ALGARIN, JULIO          ADDRESS ON FILE
GALARZA ALGARIN, YESSICA        ADDRESS ON FILE
GALARZA ALICEA, GUILLERMO       ADDRESS ON FILE
GALARZA ALMODOVAR MD, RUBEN     ADDRESS ON FILE
GALARZA ALMODOVAR, RUBEN        ADDRESS ON FILE
Galarza Alvarez, Wilfredo       ADDRESS ON FILE
GALARZA ALVELO, CARMEN          ADDRESS ON FILE
GALARZA ARBONA MD, JOSE L       ADDRESS ON FILE
GALARZA ARBONA, JOSE            ADDRESS ON FILE
GALARZA BAEZ, MICHAEL           ADDRESS ON FILE
GALARZA BAEZ, MIGUEL            DERECHO PROPIO             CIUDAD UNIVERSITARIA                       Z‐7 CALLE 27              TRUJILLO ALTO     PR      00976
GALARZA BAEZ, MOISES            ADDRESS ON FILE
GALARZA BAEZ, VIVIAN            ADDRESS ON FILE
GALARZA BEIGELMAN, CYD          ADDRESS ON FILE
GALARZA BURGOS, KARYLIN         ADDRESS ON FILE
GALARZA BURGOS, LOUISE          ADDRESS ON FILE
GALARZA BURGOS, LOUISE          ADDRESS ON FILE
GALARZA BURGOS, RADAMES         ADDRESS ON FILE
GALARZA BURGOS, RADOYKA         ADDRESS ON FILE
GALARZA CALDERON, CARMEN        ADDRESS ON FILE
GALARZA CAMACHO, FLORENCE       ADDRESS ON FILE
GALARZA CAMACHO, WILLIAM        ADDRESS ON FILE
GALARZA CAPIELLO, LUZ V.        ADDRESS ON FILE
Galarza Capielo, Jose E         ADDRESS ON FILE
GALARZA CARABALLO, EMMANUEL D   ADDRESS ON FILE
Galarza Caraballo, John A       ADDRESS ON FILE
GALARZA CARABALLO, ZOMAYRA      ADDRESS ON FILE
GALARZA CARMONA, EDUARDO        ADDRESS ON FILE
GALARZA CASTRO, SONIA           ADDRESS ON FILE
GALARZA CHARES, JOSEPH          ADDRESS ON FILE
GALARZA CINTRON, JESSICA        LCDO. EITON ARROYO MUÑIZ   153 Valle E. Vazquez Baez                                            MAYAGUEZ          PR      00680
GALARZA CLAUDIO, ISABEL         ADDRESS ON FILE
GALARZA CLAUDIO, MIRIAM         ADDRESS ON FILE
GALARZA CLAUDIO, ROBERTO        ADDRESS ON FILE
GALARZA CLAUDIO, SANDRA         ADDRESS ON FILE
GALARZA COLON, CARMEN M         ADDRESS ON FILE
GALARZA COLON, EDUARDO          ADDRESS ON FILE
GALARZA COLON, ERIC             ADDRESS ON FILE
GALARZA COLON, EUSEBIA          ADDRESS ON FILE




                                                                                       Page 3046 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3047 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALARZA COLON, GUALBERTO        ADDRESS ON FILE
GALARZA COLON, PEDRO            ADDRESS ON FILE
GALARZA COLON, RADAMES          ADDRESS ON FILE
GALARZA COLON, RIGOBERTO        ADDRESS ON FILE
GALARZA CONCEPCION, MAGALY      ADDRESS ON FILE
GALARZA CONTRERAS, JAVIER       ADDRESS ON FILE
GALARZA CORDERO, EDNA           ADDRESS ON FILE
GALARZA CORDERO, MIRTA          ADDRESS ON FILE
GALARZA CORDERO, NILDA          ADDRESS ON FILE
Galarza Cordero, Olga I         ADDRESS ON FILE
GALARZA CORDERO, RENE           ADDRESS ON FILE
GALARZA CORDERO, WILSON         ADDRESS ON FILE
GALARZA CORREA, HECTOR          ADDRESS ON FILE
GALARZA CORREA, HECTOR          ADDRESS ON FILE
GALARZA CORTES, IVAN            ADDRESS ON FILE
GALARZA CRESPO, ZAYSHA          ADDRESS ON FILE
GALARZA CRUZ, AIDA G            ADDRESS ON FILE
GALARZA CRUZ, ELBA              ADDRESS ON FILE
GALARZA CRUZ, ELBA              ADDRESS ON FILE
GALARZA CRUZ, JOWER             ADDRESS ON FILE
GALARZA CRUZ, LUIS              ADDRESS ON FILE
GALARZA CRUZ, MAGALY            ADDRESS ON FILE
GALARZA CRUZ, MARISOL           ADDRESS ON FILE
GALARZA CRUZ, SEVERO            ADDRESS ON FILE
GALARZA CRUZ, WANDA E           ADDRESS ON FILE
GALARZA CRUZADO, CARMEN         ADDRESS ON FILE
GALARZA CUEVAS, NESTOR A        ADDRESS ON FILE
GALARZA DAVILA, CARMEN D        ADDRESS ON FILE
GALARZA DAVILA, FRANKIE A       ADDRESS ON FILE
Galarza Davila, Jose L          ADDRESS ON FILE
Galarza Davila, Juan R          ADDRESS ON FILE
GALARZA DAVILA, MARIA I         ADDRESS ON FILE
GALARZA DAVILA, RAMON           ADDRESS ON FILE
GALARZA DE JESUS, MARISOL       ADDRESS ON FILE
GALARZA DE JESUS, PEDRO         ADDRESS ON FILE
GALARZA DE LA ROSA, ESTEBAN     ADDRESS ON FILE
GALARZA DEL VALLE, ANASTACIA    ADDRESS ON FILE
GALARZA DEL VALLE, CALIXTA      ADDRESS ON FILE
GALARZA DEYNES, FELICITA        ADDRESS ON FILE
GALARZA DIAZ, NESTOR D          ADDRESS ON FILE
GALARZA DIAZ, NESTOR LUIS       ADDRESS ON FILE
GALARZA DOMINGUEZ, MARTA        ADDRESS ON FILE
GALARZA DOMINGUEZ, MARTA        ADDRESS ON FILE
GALARZA DOMINGUEZ, VIRGINIA     ADDRESS ON FILE
GALARZA DONES, AMPARO           ADDRESS ON FILE
GALARZA DONES, JORGE L          ADDRESS ON FILE
GALARZA ESCOBAR MD, LUIS S      ADDRESS ON FILE
GALARZA ESCOBAR, LIMARIE        ADDRESS ON FILE
GALARZA ESCOBAR, LIMARIE        ADDRESS ON FILE
GALARZA ESCOBAR, NANCY          ADDRESS ON FILE
GALARZA FELICIANO, ANGEL M.     ADDRESS ON FILE
GALARZA FELICIANO, JAVIER       ADDRESS ON FILE
GALARZA FELICIANO, JOSE R       ADDRESS ON FILE
GALARZA FELICIANO, LUZ M        ADDRESS ON FILE
GALARZA FELICIANO, NELSON       ADDRESS ON FILE
GALARZA FIGUEROA, ALEJANDRO     ADDRESS ON FILE
Galarza Figueroa, Geyl          ADDRESS ON FILE
Galarza Figueroa, Jorge L       ADDRESS ON FILE
GALARZA FIGUEROA, JOSE JAVIER   ADDRESS ON FILE
GALARZA FIGUEROA, JUAN          ADDRESS ON FILE




                                                                            Page 3047 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3048 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALARZA FIGUEROA, JUAN A      ADDRESS ON FILE
GALARZA FIGUEROA, MARIEVA     ADDRESS ON FILE
GALARZA FIGUEROA, MARILYN     ADDRESS ON FILE
GALARZA FIGUEROA, WALIS       ADDRESS ON FILE
GALARZA FLORES, IVETTE        ADDRESS ON FILE
GALARZA FLORES, JAHAIRA       ADDRESS ON FILE
GALARZA FLORES, JOSE L.       ADDRESS ON FILE
GALARZA FLORES, MARIA         ADDRESS ON FILE
GALARZA FLORES, TEOFILO       ADDRESS ON FILE
GALARZA FLORES, YARELIS       ADDRESS ON FILE
GALARZA FRESSE, DAVID         ADDRESS ON FILE
GALARZA GALARZA, CELESTE      ADDRESS ON FILE
GALARZA GALARZA, EMILY        ADDRESS ON FILE
Galarza Galarza, Juan E       ADDRESS ON FILE
GALARZA GALARZA, RAQUEL       ADDRESS ON FILE
GALARZA GALARZA, WILSON       ADDRESS ON FILE
GALARZA GARCIA, ARACELIS      ADDRESS ON FILE
GALARZA GARCIA, ARACELIS      ADDRESS ON FILE
GALARZA GARCIA, EDDY          ADDRESS ON FILE
GALARZA GARCIA, JOSE          ADDRESS ON FILE
GALARZA GARCIA, JOSE L.       ADDRESS ON FILE
GALARZA GARCIA, KIARA         ADDRESS ON FILE
GALARZA GARCIA, LAURA         ADDRESS ON FILE
GALARZA GARCIA, LAURA         ADDRESS ON FILE
GALARZA GARCIA, LETICIA       ADDRESS ON FILE
Galarza Garcia, Leticia       ADDRESS ON FILE
Galarza Garcia, Ralph         ADDRESS ON FILE
GALARZA GARCIA, ROBERTO       ADDRESS ON FILE
GALARZA GARCIA, YOLIMA O.     ADDRESS ON FILE
GALARZA GONZALEZ, ALFREDO     ADDRESS ON FILE
GALARZA GONZALEZ, ANA         ADDRESS ON FILE
GALARZA GONZALEZ, ANGEL J.    ADDRESS ON FILE
GALARZA GONZALEZ, CARMEN M    ADDRESS ON FILE
GALARZA GONZALEZ, CARMEN M    ADDRESS ON FILE
GALARZA GONZALEZ, EVELYN      ADDRESS ON FILE
GALARZA GONZALEZ, GLADYS      ADDRESS ON FILE
GALARZA GONZALEZ, GLORIBEE    ADDRESS ON FILE
GALARZA GONZALEZ, GLORIBEE    ADDRESS ON FILE
GALARZA GONZALEZ, GUARIONEX   ADDRESS ON FILE
GALARZA GONZALEZ, NILDA       ADDRESS ON FILE
GALARZA GONZALEZ, OLGA        ADDRESS ON FILE
GALARZA GONZALEZ, ONIX        ADDRESS ON FILE
Galarza Gonzalez, Ramon       ADDRESS ON FILE
GALARZA GONZALEZ, RAMON A     ADDRESS ON FILE
GALARZA GUADALUPE, ANA        ADDRESS ON FILE
Galarza Guadalupe, Jaime M.   ADDRESS ON FILE
GALARZA GUTIERREZ, ROSA M     ADDRESS ON FILE
GALARZA HERMINA, ANGEL        ADDRESS ON FILE
GALARZA HERMINA, ANGEL M.     ADDRESS ON FILE
Galarza Hernandez, Alex J.    ADDRESS ON FILE
Galarza Hernandez, Alexis     ADDRESS ON FILE
GALARZA HERNANDEZ, ALEXIS     ADDRESS ON FILE
GALARZA HERNANDEZ, AMNERIS    ADDRESS ON FILE
GALARZA HERNANDEZ, JORGE      ADDRESS ON FILE
GALARZA HERNANDEZ, JOSE       ADDRESS ON FILE
GALARZA HERNANDEZ, LUIS       ADDRESS ON FILE
Galarza Hernandez, Luis O.    ADDRESS ON FILE
GALARZA HERNANDEZ, OLGA M     ADDRESS ON FILE
GALARZA HUSSEIN, YARITZA      ADDRESS ON FILE
Galarza Irizarry, Julio A.    ADDRESS ON FILE




                                                                          Page 3048 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3049 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALARZA ISERN, JASMINE         ADDRESS ON FILE
GALARZA ISERN, JONATHAN        ADDRESS ON FILE
GALARZA JORDAN, ANDRES         ADDRESS ON FILE
GALARZA LABOY, RAFAEL          ADDRESS ON FILE
GALARZA LEBRON, AMABEL         ADDRESS ON FILE
GALARZA LLANOS, LUIS           ADDRESS ON FILE
GALARZA LOPEZ, AUREO           ADDRESS ON FILE
GALARZA LOPEZ, CELIA EUNICE    ADDRESS ON FILE
GALARZA LOPEZ, DIONISIO        ADDRESS ON FILE
Galarza Lopez, Frankie         ADDRESS ON FILE
GALARZA LOPEZ, JACQUELINE      ADDRESS ON FILE
GALARZA LOPEZ, JOHANYS         ADDRESS ON FILE
Galarza Lopez, Lesvia L        ADDRESS ON FILE
GALARZA LOPEZ, MARIA           ADDRESS ON FILE
GALARZA LOPEZ, MERCEDES        ADDRESS ON FILE
GALARZA LOPEZ, SANDRA          ADDRESS ON FILE
GALARZA LORENZO, CARMEN        ADDRESS ON FILE
GALARZA MADERA, MIGUEL A       ADDRESS ON FILE
GALARZA MADERA, RAQUEL         ADDRESS ON FILE
GALARZA MALDONADO, ALBERTO L   ADDRESS ON FILE
GALARZA MALDONADO, ARIELIS     ADDRESS ON FILE
Galarza Maldonado, Felix A.    ADDRESS ON FILE
GALARZA MALDONADO, MILDRED     ADDRESS ON FILE
GALARZA MALDONADO, NEREIDA     ADDRESS ON FILE
GALARZA MALDONADO, NEREIDA     ADDRESS ON FILE
GALARZA MARQUEZ, WILLIAM       ADDRESS ON FILE
GALARZA MARTINEZ, ALICIA       ADDRESS ON FILE
GALARZA MARTINEZ, BRENDA       ADDRESS ON FILE
GALARZA MARTINEZ, DANIEL       ADDRESS ON FILE
GALARZA MARTINEZ, EDMANUEL     ADDRESS ON FILE
GALARZA MARTINEZ, EILA M       ADDRESS ON FILE
GALARZA MARTINEZ, ELBA M       ADDRESS ON FILE
GALARZA MARTINEZ, ELIZGUEL     ADDRESS ON FILE
GALARZA MARTINEZ, ELIZGUEL     ADDRESS ON FILE
GALARZA MARTINEZ, FREDDIE      ADDRESS ON FILE
GALARZA MARTINEZ, JORGE E      ADDRESS ON FILE
Galarza Martinez, Jose A       ADDRESS ON FILE
Galarza Martinez, Juan         ADDRESS ON FILE
Galarza Martinez, Rafael       ADDRESS ON FILE
GALARZA MARTINEZ, RICARDO      ADDRESS ON FILE
GALARZA MARTINEZ, TITO         ADDRESS ON FILE
GALARZA MARTINEZ, VILMA        ADDRESS ON FILE
GALARZA MARTINEZ, YAVIER       ADDRESS ON FILE
GALARZA MATHEU, OMAR           ADDRESS ON FILE
GALARZA MATOS, LUIS            ADDRESS ON FILE
GALARZA MEDINA, ISABEL         ADDRESS ON FILE
GALARZA MEDINA, SIXTA          ADDRESS ON FILE
GALARZA MELENDEZ, ELIZABETH    ADDRESS ON FILE
GALARZA MELENDEZ, NOEL         ADDRESS ON FILE
Galarza Melendez, Sugeily      ADDRESS ON FILE
GALARZA MELENDEZ, TERESA       ADDRESS ON FILE
GALARZA MELENDEZ, WANDA L.     ADDRESS ON FILE
GALARZA MENDEZ, CARMEN C       ADDRESS ON FILE
GALARZA MENDEZ, FLOR M         ADDRESS ON FILE
GALARZA MENDEZ, OMAYRA         ADDRESS ON FILE
GALARZA MERCADO, ADALIZ        ADDRESS ON FILE
GALARZA MERCADO, DANIEL        ADDRESS ON FILE
GALARZA MERCADO, JOSE R        ADDRESS ON FILE
GALARZA MERCADO, REINALDO      ADDRESS ON FILE
GALARZA MERCADO, SONIA         ADDRESS ON FILE




                                                                           Page 3049 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3050 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALARZA MORALES, ELINETH       ADDRESS ON FILE
GALARZA MORALES, JOSE N.       ADDRESS ON FILE
GALARZA MOYET, CARLOS          ADDRESS ON FILE
GALARZA MOYET, EFRAIN          ADDRESS ON FILE
GALARZA MUNIZ, IVONNE          ADDRESS ON FILE
Galarza Muniz, Ricardo         ADDRESS ON FILE
GALARZA NAVARRO, YOLANDA       ADDRESS ON FILE
GALARZA NEGRON, JAVIER         ADDRESS ON FILE
GALARZA NIEVES, ANTONIA        ADDRESS ON FILE
GALARZA NIEVES, LUISA          ADDRESS ON FILE
GALARZA NIEVES, SARA           ADDRESS ON FILE
GALARZA NIEVES, SARA           ADDRESS ON FILE
GALARZA NIEVEZ, LUISA          ADDRESS ON FILE
GALARZA OCASIO, LEXIE          ADDRESS ON FILE
GALARZA OCASIO, MARIO          ADDRESS ON FILE
GALARZA OLIVERAS, ILEANA       ADDRESS ON FILE
GALARZA ORTEGA, ANA            ADDRESS ON FILE
GALARZA ORTEGA, ANA L          ADDRESS ON FILE
GALARZA ORTIZ, AMNERIS         ADDRESS ON FILE
GALARZA ORTIZ, ANDREA          ADDRESS ON FILE
GALARZA ORTIZ, CARMEN          ADDRESS ON FILE
GALARZA ORTIZ, HECNIE Z.       ADDRESS ON FILE
GALARZA ORTIZ, HECTOR          ADDRESS ON FILE
Galarza Ortiz, Jeanette        ADDRESS ON FILE
GALARZA ORTIZ, JOSYANN         ADDRESS ON FILE
GALARZA ORTIZ, NIDZA C         ADDRESS ON FILE
Galarza Ortiz, Wilmer          ADDRESS ON FILE
GALARZA PACHECO, ANA           ADDRESS ON FILE
GALARZA PACHECO, DAIRIS        ADDRESS ON FILE
GALARZA PACHECO, JAIME         ADDRESS ON FILE
Galarza Pacheco, Lizbeth       ADDRESS ON FILE
GALARZA PACHECO, YANIRA        ADDRESS ON FILE
Galarza Padro, Wilfredo        ADDRESS ON FILE
GALARZA PAGAN, ABIGAIL         ADDRESS ON FILE
Galarza Pagan, Isander         ADDRESS ON FILE
GALARZA PAGAN, LUIS J          ADDRESS ON FILE
GALARZA PAGAN, MELVIN          ADDRESS ON FILE
GALARZA PAGAN, NORA G          ADDRESS ON FILE
GALARZA PEDRAZA, HILDA R       ADDRESS ON FILE
GALARZA PEDRAZA, JAVIER        ADDRESS ON FILE
GALARZA PENA, MELISSA          ADDRESS ON FILE
GALARZA PEREZ, CHEVIL          ADDRESS ON FILE
GALARZA PEREZ, JORGE           ADDRESS ON FILE
GALARZA PEREZ, LOURDES         ADDRESS ON FILE
GALARZA PEREZ, LUZ E           ADDRESS ON FILE
GALARZA PEREZ, MARILYN         ADDRESS ON FILE
GALARZA POMALES, ESTHERMARIE   ADDRESS ON FILE
GALARZA PORTALATIN, OLGA I     ADDRESS ON FILE
GALARZA QUILES, GLADYS         ADDRESS ON FILE
GALARZA QUILES, GLADYS         ADDRESS ON FILE
GALARZA QUILES, NILDA E        ADDRESS ON FILE
GALARZA QUILES, YOLANDA        ADDRESS ON FILE
GALARZA QUINONES, AIXAIDEE     ADDRESS ON FILE
GALARZA QUINONES, EDWIN        ADDRESS ON FILE
GALARZA QUINONES, EXEL N.      ADDRESS ON FILE
GALARZA QUIÑONES, EXEL N.      ADDRESS ON FILE
GALARZA QUINONES, JOSHUA       ADDRESS ON FILE
Galarza Quinones, Roberto      ADDRESS ON FILE
GALARZA QUINONES, SOSTYCELIE   ADDRESS ON FILE
GALARZA QUINONEZ, JOSHUA       ADDRESS ON FILE




                                                                           Page 3050 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3051 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALARZA QUINTANA, JOSE          ADDRESS ON FILE
GALARZA RAMIREZ, JOEY D         ADDRESS ON FILE
GALARZA RAMIREZ, MARIA          ADDRESS ON FILE
GALARZA RAMOS, ALIZETT          ADDRESS ON FILE
Galarza Ramos, Ana W.           ADDRESS ON FILE
GALARZA RAMOS, BRENDA           ADDRESS ON FILE
GALARZA RAMOS, IRIS             ADDRESS ON FILE
GALARZA RAMOS, IRIS A           ADDRESS ON FILE
GALARZA RAMOS, LUIS R           ADDRESS ON FILE
GALARZA RAMOS, WILFREDO         ADDRESS ON FILE
GALARZA REYES, CARMEN C         ADDRESS ON FILE
GALARZA REYES, JOSE             ADDRESS ON FILE
GALARZA REYES, LUZ D            ADDRESS ON FILE
GALARZA RIVAS, REINALDO         ADDRESS ON FILE
GALARZA RIVERA, AMELIA          ADDRESS ON FILE
GALARZA RIVERA, AXEL D          ADDRESS ON FILE
GALARZA RIVERA, CARMELO G       ADDRESS ON FILE
GALARZA RIVERA, CARMEN          ADDRESS ON FILE
GALARZA RIVERA, EVELYN          ADDRESS ON FILE
GALARZA RIVERA, GREY M          ADDRESS ON FILE
Galarza Rivera, Jorge           ADDRESS ON FILE
GALARZA RIVERA, MARLYN          ADDRESS ON FILE
GALARZA RIVERA, MELVIN          ADDRESS ON FILE
GALARZA RIVERA, MERQUI          ADDRESS ON FILE
GALARZA RIVERA, NAIMARA         ADDRESS ON FILE
GALARZA RIVERA, OMAR            ADDRESS ON FILE
Galarza Rivera, Pedro           ADDRESS ON FILE
Galarza Rivera, Radames         ADDRESS ON FILE
GALARZA RIVERA, SONIA           ADDRESS ON FILE
GALARZA RIVERA, VELMILIZ        ADDRESS ON FILE
GALARZA RIVERA, VICTOR          ADDRESS ON FILE
GALARZA ROBLES, NEFTALI         ADDRESS ON FILE
GALARZA RODRIGUEZ, ELIZA        ADDRESS ON FILE
GALARZA RODRIGUEZ, HECTOR       ADDRESS ON FILE
GALARZA RODRIGUEZ, JOSE         ADDRESS ON FILE
GALARZA RODRIGUEZ, MARCELINO    ADDRESS ON FILE
GALARZA RODRIGUEZ, MAYRA        ADDRESS ON FILE
GALARZA RODRIGUEZ, MONSERRATE   ADDRESS ON FILE
Galarza Rodriguez, Omar         ADDRESS ON FILE
GALARZA RODRIGUEZ, RITA A.      ADDRESS ON FILE
GALARZA RODRIGUEZ, SANDRA I     ADDRESS ON FILE
GALARZA ROJAS, OSCAR            ADDRESS ON FILE
GALARZA ROSARIO, ALBERTO        ADDRESS ON FILE
GALARZA ROSARIO, CARLOS         ADDRESS ON FILE
GALARZA RUIZ, ARCANGEL          ADDRESS ON FILE
GALARZA RUIZ, LUZ M             ADDRESS ON FILE
GALARZA RUIZ, ROSABEL           ADDRESS ON FILE
GALARZA SAAVEDRA, CARMEN V      ADDRESS ON FILE
GALARZA SAAVEDRA, JUAN E        ADDRESS ON FILE
GALARZA SAAVEDRA, MARIA T       ADDRESS ON FILE
GALARZA SAAVEDRA, PABLO         ADDRESS ON FILE
GALARZA SAEZ, CARLOS            ADDRESS ON FILE
GALARZA SALCEDO, NILSA J        ADDRESS ON FILE
GALARZA SANABRIA, CARLOS M      ADDRESS ON FILE
GALARZA SANABRIA, EDWIN         ADDRESS ON FILE
GALARZA SANABRIA, NOEMI         ADDRESS ON FILE
GALARZA SANCHEZ, EYDA           ADDRESS ON FILE
GALARZA SANTALIZ, YOLANDA       ADDRESS ON FILE
GALARZA SANTALIZ, YOWANDA       ADDRESS ON FILE
Galarza Santana, Evelyn         ADDRESS ON FILE




                                                                            Page 3051 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3052 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALARZA SANTANA, RAUL D        ADDRESS ON FILE
GALARZA SANTIAGO, BILLY        ADDRESS ON FILE
GALARZA SANTIAGO, CARMEN N     ADDRESS ON FILE
GALARZA SANTIAGO, DANNY        ADDRESS ON FILE
GALARZA SANTIAGO, DIGNA        ADDRESS ON FILE
Galarza Santiago, Fernando     ADDRESS ON FILE
GALARZA SANTIAGO, JORGE        ADDRESS ON FILE
GALARZA SANTIAGO, MARISEL      ADDRESS ON FILE
GALARZA SANTIAGO, RENE         ADDRESS ON FILE
GALARZA SANTIAGO, ROMUALDO     ADDRESS ON FILE
GALARZA SANTIAGO, WILFRIDO     ADDRESS ON FILE
GALARZA SANTOS, JAVIER         ADDRESS ON FILE
GALARZA SCHELMETY, ANGEL       ADDRESS ON FILE
GALARZA SEPULVEDA, MARISOL     ADDRESS ON FILE
GALARZA SEPULVEDA, VICTOR J    ADDRESS ON FILE
GALARZA SOSA, ALEXANDER        ADDRESS ON FILE
GALARZA SOSA, DAVID            ADDRESS ON FILE
GALARZA SOSA, EDIHMIR          ADDRESS ON FILE
GALARZA SOSA, ROBERTO          ADDRESS ON FILE
GALARZA SOSA, ROBERTO G.       ADDRESS ON FILE
GALARZA SOTO, CARMEN L         ADDRESS ON FILE
Galarza Soto, Julio E          ADDRESS ON FILE
GALARZA SOTO, MARIA DEL C.     ADDRESS ON FILE
GALARZA SOTO, MARISEL          ADDRESS ON FILE
GALARZA SOTO, MARISEL          ADDRESS ON FILE
GALARZA SOTO, NEREIDA          ADDRESS ON FILE
GALARZA TIRADO, BIANCA         ADDRESS ON FILE
GALARZA TIRADO, MAXIMILIANO    ADDRESS ON FILE
GALARZA TOLENTINO, WILSON      ADDRESS ON FILE
GALARZA TOLLINCHI, EDGARD L    ADDRESS ON FILE
GALARZA TOLLINCHI, EDGARD L    ADDRESS ON FILE
GALARZA TORRES, ADALBERTO      ADDRESS ON FILE
Galarza Torres, Alejandro J.   ADDRESS ON FILE
GALARZA TORRES, ARNALDO        ADDRESS ON FILE
GALARZA TORRES, GERARDO        ADDRESS ON FILE
GALARZA TORRES, GLADYS         ADDRESS ON FILE
GALARZA TORRES, HECTOR         ADDRESS ON FILE
GALARZA TORRES, HERIBERTO      ADDRESS ON FILE
GALARZA TORRES, LOURDES        ADDRESS ON FILE
GALARZA TORRES, MANUEL         ADDRESS ON FILE
GALARZA TORRES, MERALIES       ADDRESS ON FILE
Galarza Torres, Osvaldo        ADDRESS ON FILE
Galarza Torres, Roberto        ADDRESS ON FILE
GALARZA TORRES, SHERALYN       ADDRESS ON FILE
GALARZA TORRES, STEPHANIE M    ADDRESS ON FILE
GALARZA TROCHE, BLANCA J       ADDRESS ON FILE
GALARZA VALENCIA, EDWIN        ADDRESS ON FILE
Galarza Valentin, Geyl D       ADDRESS ON FILE
GALARZA VALENTIN, HECTOR G     ADDRESS ON FILE
GALARZA VALENTIN, MYRNA I      ADDRESS ON FILE
GALARZA VARGAS, CARMEN         ADDRESS ON FILE
GALARZA VARGAS, ILIA M         ADDRESS ON FILE
GALARZA VARGAS, JOHNNY         ADDRESS ON FILE
GALARZA VARGAS, JOSE A.        ADDRESS ON FILE
GALARZA VARGAS,SANDRA          ADDRESS ON FILE
GALARZA VAZQUEZ, ANGEL L.      ADDRESS ON FILE
GALARZA VAZQUEZ, EDWIN         ADDRESS ON FILE
GALARZA VAZQUEZ, EDWIN R       ADDRESS ON FILE
Galarza Vazquez, Jessenia      ADDRESS ON FILE
GALARZA VAZQUEZ, JUAN S.       ADDRESS ON FILE




                                                                           Page 3052 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3053 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                          Address1                          Address2                                   Address3   Address4   City         State   PostalCode   Country
GALARZA VAZQUEZ, KRISHNAMURTI          ADDRESS ON FILE
GALARZA VAZQUEZ, MELISSA               ADDRESS ON FILE
GALARZA VAZQUEZ, MIRIAM                ADDRESS ON FILE
GALARZA VAZQUEZ, RAFAEL                ADDRESS ON FILE
GALARZA VAZQUEZ, SOL A                 ADDRESS ON FILE
GALARZA VAZQUEZ, ZORAIDA               ADDRESS ON FILE
GALARZA VEGA, ALEXIS                   ADDRESS ON FILE
GALARZA VEGA, DIANE                    ADDRESS ON FILE
GALARZA VEGA, ISRAEL                   ADDRESS ON FILE
GALARZA VEGA, IVEL D.                  ADDRESS ON FILE
GALARZA VEGA, LUIS D                   ADDRESS ON FILE
GALARZA VEGA, RENNIE L.                ADDRESS ON FILE
GALARZA VELAZQUEZ, ISRAEL              ADDRESS ON FILE
GALARZA VELAZQUEZ, JANICE              ADDRESS ON FILE
GALARZA VELAZQUEZ, WILYAMIR            ADDRESS ON FILE
GALARZA VELEZ, ANA                     ADDRESS ON FILE
GALARZA VELEZ, FRANCISCO               ADDRESS ON FILE
GALARZA VELEZ, JUAN                    ADDRESS ON FILE
GALARZA VELEZ, ROLANDO                 ADDRESS ON FILE
Galarza Velez, Wilfredo                ADDRESS ON FILE
GALARZA VILLANUEVA, CARLOS             ADDRESS ON FILE
GALARZA VILLANUEVA, MADELINE           ADDRESS ON FILE
GALARZA VILLANUEVA, MAGDA E.           ADDRESS ON FILE
GALARZA VILLEGAS, ENID                 ADDRESS ON FILE
GALARZA ZAYAS, ADA S                   ADDRESS ON FILE
GALARZA, DANIEL                        ADDRESS ON FILE
GALARZA, DAVID                         ADDRESS ON FILE
GALARZA, DIANA                         ADDRESS ON FILE
GALARZA, JORGE E                       ADDRESS ON FILE
GALARZA, MARIA DEL C                   ADDRESS ON FILE
GALARZA, VICTOR                        ADDRESS ON FILE
GALARZA, YARITZA                       ADDRESS ON FILE
GALARZACORDERO, HECTOR G               ADDRESS ON FILE
GALASSO, AMANDA                        ADDRESS ON FILE
GALATEO SERVICE STATION LLC            URB SABANERA                      CAMINO LAS CALANDRIAS #77                                        DORADO       PR      00646
GALATZAN FRATICELLI, DAVID             ADDRESS ON FILE
GALATZAN SERRANO, RICARDO              ADDRESS ON FILE
GALAY LOPEZ, EDDIE                     ADDRESS ON FILE
GALBAN CORTES, DENISE                  ADDRESS ON FILE
GALBAN CORTES, NESTOR                  ADDRESS ON FILE
GALBIS RODRIGUEZ, MAGALI               ADDRESS ON FILE
GALDAMEZ REYES, VIVIAN E.              ADDRESS ON FILE
GALDON FIGUEROA, JUANITA               ADDRESS ON FILE
GALDON RAMOS, JEAN                     ADDRESS ON FILE
GALDOS CRUZ, FABIOLA                   ADDRESS ON FILE
GALE                                   ADDRESS ON FILE
GALEAS PINOS, KEYLA J                  ADDRESS ON FILE
GALEN H GONZALEZ NUNEZ                 ADDRESS ON FILE
GALENOS                                MEDICINA DE FAMILIA Y DEPORTIVA   PO BOX 4952 STE 93                                               CAGUAS       PR      00726‐4952
GALERA DUCOS, NELSON                   ADDRESS ON FILE
GALERA SANTIGO, EDGARDO                ADDRESS ON FILE
GALERIA 100 ESTATE CORP.               PO BOX 6447                                                                                        MAYAGUEZ     PR      00681‐6447
GALERIA AQUAMARINA                     APARTADO 194021                                                                                    SAN JUAN     PR      00919‐4021
GALERIA DE INMORTALES DEL FUTBOL       ADDRESS ON FILE
GALERIA DE REGALOS                     ADDRESS ON FILE
GALERIA INMORTALES DEPORTE CABORROJENO ADDRESS ON FILE
GALERIA KIUT                           ADDRESS ON FILE
GALERIA LA CASA DEL MARCO              AVE. CENTRAL 1765                                                                                               PR      00920
GALERIA ONATE                          ADDRESS ON FILE
GALERIA PETRUS                         ADDRESS ON FILE




                                                                                                     Page 3053 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3054 of 3500
                                                                               17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                   Address1                   Address2                                 Address3   Address4   City         State   PostalCode   Country
GALERIA SANRA ROSA INC          PO BOX 19134                                                                              SAN JUAN     PR      00910‐1134
GALERIA SOTO                    UNIVERSITY GARDENS         266A AVE PINERO ESTE                                           SAN JUAN     PR      00927
GALERIA VICENTE                 461 AVE HOSTOS                                                                            SAN JUAN     PR      00925
GALGUERA ALVAREZ, JUAN          ADDRESS ON FILE
GALI ALBINO, RENE               ADDRESS ON FILE
GALI CARTAGENA, ILEANA          ADDRESS ON FILE
GALI CARTAGENA, MARITZA         ADDRESS ON FILE
GALI MARRERO, MARIO             ADDRESS ON FILE
GALI PADILLA, SAMUEL            ADDRESS ON FILE
GALI RIVERA, LUZ M              ADDRESS ON FILE
GALI RIVERA, MIGDALIA           ADDRESS ON FILE
Gali Rivera, Nelson             ADDRESS ON FILE
GALI RODRIGUEZ, JOSE A          ADDRESS ON FILE
GALI RODRIGUEZ, MARILYN         ADDRESS ON FILE
GALI RODRIGUEZ, MAYRA I         ADDRESS ON FILE
GALI RODRIGUEZ, MILDRED         ADDRESS ON FILE
GALI RODRIGUEZ, YASHIRA         ADDRESS ON FILE
GALI ROSADO, JUANA              ADDRESS ON FILE
GALI ROSADO, MARIA DE LOS       ADDRESS ON FILE
GALIANA REYES, CARENI           ADDRESS ON FILE
Galiano Acevedo, Rafael         ADDRESS ON FILE
GALIANO LOPEZ, CHRYSTAL         ADDRESS ON FILE
GALIANO LOPEZ, LUIS             ADDRESS ON FILE
GALIANO MANCO, LOUIS            ADDRESS ON FILE
GALIANO MANCO, RONALD           ADDRESS ON FILE
GALIANO MARTINEZ, CARMEN E.     ADDRESS ON FILE
GALIANO ORTIZ, WALBERT          ADDRESS ON FILE
GALIANO PEREZ, FRANCELLI        ADDRESS ON FILE
GALIANO PEREZ, MAGALY           ADDRESS ON FILE
GALIANO PEREZ, MARLYN           ADDRESS ON FILE
GALIANO QUINONES, CARLOS A.     ADDRESS ON FILE
GALIANO RIVERA, MERIDA          ADDRESS ON FILE
Galiano Rodriguez, Elvin        ADDRESS ON FILE
GALIANO RODRIGUEZ, NAYDA        ADDRESS ON FILE
GALIANO RODRIGUEZ, NOEL         ADDRESS ON FILE
Galiano Rodriguez, Noel A       ADDRESS ON FILE
GALIANO SANTANA, GLENDALIZ      ADDRESS ON FILE
GALIANO SANTANA, LUZ E          ADDRESS ON FILE
GALIANO SUAREZ, YARIANAH        ADDRESS ON FILE
GALIANO TORO, SANTIAGO          ADDRESS ON FILE
GALIANO VELAZQUEZ, VANESSA      ADDRESS ON FILE
GALIANY CRUZ, PERRY             ADDRESS ON FILE
GALIANY MERCADO, NANCY          ADDRESS ON FILE
GALIB BRAS, JUDY                ADDRESS ON FILE
GALIB FRAMGII MD, HAMID         ADDRESS ON FILE
GALIBER MD, DANTE               ADDRESS ON FILE
GALIBFRANGIE FIOL, NAJDA        ADDRESS ON FILE
GALIB‐FRANGIE FIOL, ZAIMAR      ADDRESS ON FILE
GALIB‐FRANGIE, YUSSEF           ADDRESS ON FILE
GALICHET SUAREZ, HILDA P        ADDRESS ON FILE
Galicia Acevedo, Alfredo        ADDRESS ON FILE
GALICIA BONILLA, EDDIE          ADDRESS ON FILE
GALICIA BONILLA, EDDIE          ADDRESS ON FILE
GALICIA FELICIANO, FRANCIS      ADDRESS ON FILE
GALICIA NIEVES, ERUDINA         ADDRESS ON FILE
GALICIA SHELL SERVICE STATION   AVE CAMPO RICO CALLE 122   JARDINES DE CONTRY CLUB                                        CAROLINA     PR      00983 RT55
GALICIA TRAVERSO, JESLIE        ADDRESS ON FILE
GALINALDIS VEGA MD, CINTHIA     ADDRESS ON FILE
GALINANES FIGUEROA, JOSE R      ADDRESS ON FILE
GALINANES GIRALDEZ, DIANA M.    ADDRESS ON FILE




                                                                                     Page 3054 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3055 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALINDE ALVAREZ, FRANCISCO       ADDRESS ON FILE
GALINDEZ AGOSTO, JERRY           ADDRESS ON FILE
Galindez Agosto, Josue           ADDRESS ON FILE
GALINDEZ ALFARO, MIGUEL          ADDRESS ON FILE
GALINDEZ ALVAREZ, ANDREA         ADDRESS ON FILE
GALINDEZ ALVAREZ, FELICITA       ADDRESS ON FILE
Galindez Amezquit, Gamalier      ADDRESS ON FILE
GALINDEZ AMEZQUITA, WANDA        ADDRESS ON FILE
GALINDEZ CABRERA, NANCY          ADDRESS ON FILE
GALINDEZ CAMPOS, LUZ M           ADDRESS ON FILE
GALINDEZ CANALES, EVELYN         ADDRESS ON FILE
GALINDEZ CASTILLO, VICTOR        ADDRESS ON FILE
GALINDEZ CASTRO, JACKSON         ADDRESS ON FILE
GALINDEZ COLON, LEILA M          ADDRESS ON FILE
GALINDEZ COLON, MIRLIANA         ADDRESS ON FILE
Galindez De Jesus, Gamalier      ADDRESS ON FILE
GALINDEZ ERAZO, MIGDALIA M.      ADDRESS ON FILE
GALINDEZ FELICIANO, MARIO        ADDRESS ON FILE
GALINDEZ FELICIANO, ROBERTO      ADDRESS ON FILE
GALINDEZ FERNANDEZ, DEYANIRA     ADDRESS ON FILE
Galindez Garcia, Dayna           ADDRESS ON FILE
GALINDEZ HERNANDEZ MD, NELLY     ADDRESS ON FILE
GALINDEZ MALAVE, JOSE D.         ADDRESS ON FILE
GALINDEZ MALDONADO, JOHN         ADDRESS ON FILE
GALINDEZ MATOS MD, LAURA I       ADDRESS ON FILE
GALINDEZ MELENDEZ, HECTOR        ADDRESS ON FILE
GALINDEZ MELENDEZ, JAVIER        ADDRESS ON FILE
GALINDEZ MORALES, AUREA E        ADDRESS ON FILE
GALINDEZ MORALES, MINERVA        ADDRESS ON FILE
GALINDEZ NEGRON, JOSEFINA        ADDRESS ON FILE
GALINDEZ OCASIO, RAFAEL          ADDRESS ON FILE
GALINDEZ ORTEGA, ESTEBAN I       ADDRESS ON FILE
GALINDEZ PASTRANA, LUIS A.       ADDRESS ON FILE
GALINDEZ RIVERA, NORBERTO        ADDRESS ON FILE
GALINDEZ RODRIGUEZ, JANET        ADDRESS ON FILE
GALINDEZ ROMERO, CLAUDIO         ADDRESS ON FILE
GALINDEZ ROSA, DAYKA             ADDRESS ON FILE
GALINDEZ ROSA, DAYLA J           ADDRESS ON FILE
GALINDEZ SERRANO, JOSHUA         ADDRESS ON FILE
GALINDEZ SIERRA, CARMEN S.       ADDRESS ON FILE
GALINDEZ SIERRA, EDNA E          ADDRESS ON FILE
GALINDEZ SOTO, YESENIA           ADDRESS ON FILE
GALINDEZ STELLA, AILEEN          ADDRESS ON FILE
GALINDEZ STELLA, BEATRIZ         ADDRESS ON FILE
GALINDEZ TANCO, BRUNILDA         ADDRESS ON FILE
GALINDEZ TANCO, BRUNILDA         ADDRESS ON FILE
GALINDEZ TORRES, AMANDA          ADDRESS ON FILE
GALINDEZ TORRES, ANAIS           ADDRESS ON FILE
GALINDEZ TORRES, JAIME           ADDRESS ON FILE
GALINDEZ VALDES, JORGE           ADDRESS ON FILE
GALINDEZ VILLEGAS, ROBERTO       ADDRESS ON FILE
GALINDEZ, JOSE A                 ADDRESS ON FILE
GALINDEZMARTINEZ, LUIS A         ADDRESS ON FILE
GALINDO ALEJANDRINO, ADALINA     ADDRESS ON FILE
GALINDO ALICEA, LEONOR           ADDRESS ON FILE
GALINDO ALMODOVAR, PROVIDENCIA   ADDRESS ON FILE
GALINDO CHICO, STEVEN            ADDRESS ON FILE
GALINDO CORDERO, CARMEN L        ADDRESS ON FILE
GALINDO CUPELES, VIVIAN P        ADDRESS ON FILE
Galindo Denizac, Pablo           ADDRESS ON FILE




                                                                             Page 3055 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3056 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALINDO DIAZ, SILMA                  ADDRESS ON FILE
GALINDO ENRIQUEZ, MYRTELINA          ADDRESS ON FILE
GALINDO FERREIRA, SONIA MARIA        ADDRESS ON FILE
GALINDO HORTA, ISRAEL                ADDRESS ON FILE
GALINDO IRIZARRY, AWILDA A           ADDRESS ON FILE
GALINDO IRIZARRY, SAMUEL             ADDRESS ON FILE
GALINDO IRIZARRY, WILLIAM            ADDRESS ON FILE
GALINDO LEBRON, CARMEN Y             ADDRESS ON FILE
GALINDO LOPEZ DE VICTORIA, ZORAIDA   ADDRESS ON FILE
GALINDO MALAVE, NAHOMI               ADDRESS ON FILE
GALINDO NAVARRO, LYNES               ADDRESS ON FILE
GALINDO NEGRON, MANUEL               ADDRESS ON FILE
GALINDO ORTIZ, DIAMARIS              ADDRESS ON FILE
Galindo Ortiz, Jose                  ADDRESS ON FILE
GALINDO PAGAN, JULIO                 ADDRESS ON FILE
GALINDO PLAZA, INES L                ADDRESS ON FILE
GALINDO PLAZA, NORMA L               ADDRESS ON FILE
GALINDO POBLETE, DAVID               ADDRESS ON FILE
GALINDO RIVERA, JOSE                 ADDRESS ON FILE
GALINDO RIVERA, LOURDES M.           ADDRESS ON FILE
GALINDO RIVERA, LUZ N.               ADDRESS ON FILE
GALINDO RODRIGUEZ, ALEXANDER         ADDRESS ON FILE
GALINDO ROMERO, AIDA E               ADDRESS ON FILE
GALINDO ROSA, LEONARDO               ADDRESS ON FILE
GALINDO ROSADO, WANDA I              ADDRESS ON FILE
GALINDO SERRANO, MILDRED             ADDRESS ON FILE
GALINDO TORRES, PEDRO EFRAIN         ADDRESS ON FILE
GALINDO TORRES, RAMON                ADDRESS ON FILE
GALINDO VEGA, JULIO                  ADDRESS ON FILE
GALINDO VICENS, SULEIKA W            ADDRESS ON FILE
GALION AUTO PARTS                    HC 02 BOX 5297                                                                   PENUELAS     PR      00624
GALITSKIKH, ALEXANDER                ADDRESS ON FILE
GALLARD IANNELLI, SHANTI             ADDRESS ON FILE
GALLARDO AVILES, AILEEN              ADDRESS ON FILE
GALLARDO AVILES, BETSY               ADDRESS ON FILE
GALLARDO AVILES, BETSY               ADDRESS ON FILE
GALLARDO BROWNING, DOT               ADDRESS ON FILE
GALLARDO CABALLER, LAURA             ADDRESS ON FILE
GALLARDO CABRERA, SHEILA A.          ADDRESS ON FILE
GALLARDO CARRANZA, JOSE              ADDRESS ON FILE
GALLARDO DE LEON, ALEXANDRA          ADDRESS ON FILE
GALLARDO DE SANCHEZ, IRIS M          ADDRESS ON FILE
GALLARDO GARCIA, MARIANA             ADDRESS ON FILE
GALLARDO GONZALEZ, MIRIAM            ADDRESS ON FILE
GALLARDO IRIZARRY, ANTONIO           ADDRESS ON FILE
GALLARDO LOPEZ, LISANDRA             ADDRESS ON FILE
GALLARDO MARTINEZ, JULIA M           ADDRESS ON FILE
GALLARDO MATTEI, CRISTINA            ADDRESS ON FILE
GALLARDO MENDEZ MD, RAFAEL           ADDRESS ON FILE
GALLARDO MENDOZA, JOSE A             ADDRESS ON FILE
GALLARDO MOLERO, LUZ M               ADDRESS ON FILE
GALLARDO OLIVARES, MARIBEL           ADDRESS ON FILE
GALLARDO OTERO, JORGE                ADDRESS ON FILE
GALLARDO PACHECO, HERIBERTO          ADDRESS ON FILE
GALLARDO RALAT, KATHERINE            ADDRESS ON FILE
GALLARDO RAMIREZ, JORGE              ADDRESS ON FILE
GALLARDO RAMIREZ, MILAGROS           ADDRESS ON FILE
GALLARDO RAMOS, BRIGIDO              ADDRESS ON FILE
GALLARDO RAMOS, JULIA                ADDRESS ON FILE
GALLARDO RAMOS, TAYRA                ADDRESS ON FILE




                                                                                 Page 3056 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3057 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                       Address1                            Address2                            Address3   Address4   City         State   PostalCode   Country
GALLARDO RIOS,SHEILA N.             ADDRESS ON FILE
GALLARDO RIVERA, ORLANDO            ADDRESS ON FILE
GALLARDO RIVERA, ORLANDO            ADDRESS ON FILE
GALLARDO RODRIGUEZ, DIEGO           ADDRESS ON FILE
GALLARDO RODRIGUEZ, NITZA E         ADDRESS ON FILE
GALLARDO SANTIAGO, RUBEN            ADDRESS ON FILE
GALLARDO VARELA, JEAN               ADDRESS ON FILE
GALLARDO VILLAR, ALBERTO            ADDRESS ON FILE
GALLARDO VILLAR, MARCIA             ADDRESS ON FILE
GALLARDO, CRUZ & TORRES, INC        CALLE BARCELO #7                                                                              CIDRA        PR      00739
GALLARDO, DIEGO SANCHEZ             ADDRESS ON FILE
GALLARDO, ELSA                      ADDRESS ON FILE
GALLARDO, OLGA                      ADDRESS ON FILE
GALLARDO, XIORALYS                  ADDRESS ON FILE
GALLARDOS FUENTES, MARIA DE LOS A   ADDRESS ON FILE
GALLART LOPEZ, GISELA               ADDRESS ON FILE
Gallart Marquez, Jose A.            ADDRESS ON FILE
GALLEGO LOPEZ, LUIS A               ADDRESS ON FILE
GALLEGO PACHECO, JENNIFER           ADDRESS ON FILE
GALLEGO PAGAN, EILEEN               ADDRESS ON FILE
GALLEGO PAGAN, EILEEN YAMELL        ADDRESS ON FILE
GALLEGO QUILES, YAMILKA             ADDRESS ON FILE
GALLEGO REYES, CONSUELO             ADDRESS ON FILE
GALLEGO TRANSPORT DIST              HC 01 BOX 5780                                                                                AIBONITO     PR      00705
GALLEGO, ANA                        ADDRESS ON FILE
GALLEGOS MATOS, ADELE E             ADDRESS ON FILE
GALLEGUILLO, HECTOR                 ADDRESS ON FILE
GALLERY CUISENE INC                 URB SAN SALVADOR                    B3 MARGINAL MANATI                                        MANATI       PR      00674
GALLERY DETAIL CENTER               CALLE CHILE 255‐A LA MILLA DE ORO                                                             HATO REY     PR      00919
GALLERY INSTITUTION INC             PO BOX 333                                                                                    MANATI       PR      00674
GALLERY MARBLE & STONE CO           PO BOX 363388                                                                                 SAN JUAN     PR      00936‐3388
GALLERY MARKET CORP                 HC 3 BOX 14563                                                                                YAUCO        PR      00698
GALLERY VERTICAL                    URB SIERRA LINDA                    M16 CALLE 6                                               BAYAMON      PR      00957
GALLETE, LEONEL                     ADDRESS ON FILE
GALLETI GALVEZ, ARTURO              ADDRESS ON FILE
GALLETI QUIROS, ITZA I              ADDRESS ON FILE
GALLETI SANTIAGO, MARIA E           ADDRESS ON FILE
GALLETI TORRES, FRANCIS             ADDRESS ON FILE
GALLETTI ACOSTA, MARCOS             ADDRESS ON FILE
GALLETTI LOPEZ, ARTURO              ADDRESS ON FILE
GALLETTI, MARIA L                   ADDRESS ON FILE
GALLETTY RODRIGUEZ, AGNES M         ADDRESS ON FILE
GALLIANO ARROYO, SALVADOR           ADDRESS ON FILE
GALLIANO PARDO, ALINA               ADDRESS ON FILE
GALLICK MD , GREGORY S              ADDRESS ON FILE
GALLINA MD, JESSICA                 ADDRESS ON FILE
GALLIPEAU, AMY                      ADDRESS ON FILE
GALLISA BENITEZ, GIDDEL             ADDRESS ON FILE
GALLISA BENITEZ, GIDDEL J           ADDRESS ON FILE
GALLISA BISBAL, CARLOS              ADDRESS ON FILE
GALLISA HERNANDEZ, JUAN             ADDRESS ON FILE
GALLISA HISCOTT, ARIANA             ADDRESS ON FILE
GALLISA MURIENTE, SOFIA             ADDRESS ON FILE
GALLISA, ALEXIS                     ADDRESS ON FILE
GALLISA, DANIEL                     ADDRESS ON FILE
GALLITOS DE ISABELA INC             P O BOX 1470                                                                                  ISABELA      PR      00662
GALLO SERRANO,JOSE                  ADDRESS ON FILE
Gallosa Gonzalez, Samuel            ADDRESS ON FILE
GALLOSA NEGRON, MARIA               ADDRESS ON FILE
GALLOWAY CEPEDA, WILLIAM D          ADDRESS ON FILE




                                                                                             Page 3057 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3058 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALLOWAY VERDEJO, MARIA J        ADDRESS ON FILE
GALLOWEY CEPEDA, SALLY           ADDRESS ON FILE
GALLOZA ACEVEDO, IVELISSE        ADDRESS ON FILE
GALLOZA ACEVEDO, JESSICA         ADDRESS ON FILE
GALLOZA ACEVEDO, MIGDALIA        ADDRESS ON FILE
GALLOZA ACEVEDO, YANIRA          ADDRESS ON FILE
GALLOZA AGRONT, LIMARYS          ADDRESS ON FILE
GALLOZA ARROYO, NORYS            ADDRESS ON FILE
GALLOZA BERRIOS, JESICA          ADDRESS ON FILE
GALLOZA CASILLAS, JUAN           ADDRESS ON FILE
GALLOZA CHAPARRO, CARLOS         ADDRESS ON FILE
GALLOZA CHAPARRO, ELVIS          ADDRESS ON FILE
Galloza Chaparro, Javier         ADDRESS ON FILE
GALLOZA CHAPARRO, JEANETTE       ADDRESS ON FILE
GALLOZA CHAPARRO, JOSE A         ADDRESS ON FILE
GALLOZA CONTY, AIDA I            ADDRESS ON FILE
GALLOZA CORDERO, BENITA          ADDRESS ON FILE
GALLOZA CORDERO, BRIGIDA         ADDRESS ON FILE
GALLOZA CORDERO, RAMON           ADDRESS ON FILE
GALLOZA CORDERO, ROBERTO         ADDRESS ON FILE
GALLOZA CRUZ, REBECCA            ADDRESS ON FILE
GALLOZA ECHEVARRIA, YOLANDA      ADDRESS ON FILE
GALLOZA GALICIA, IRIS M          ADDRESS ON FILE
GALLOZA GALICIA, MIGDALIA        ADDRESS ON FILE
GALLOZA GALLOZA, CANDELARIO      ADDRESS ON FILE
GALLOZA GALLOZA, NOEL            ADDRESS ON FILE
GALLOZA GONZALEZ, CARLOS R       ADDRESS ON FILE
GALLOZA GONZALEZ, EDWIN          ADDRESS ON FILE
GALLOZA GONZALEZ, FRANCISCA      ADDRESS ON FILE
GALLOZA GONZALEZ, HAYDEE         ADDRESS ON FILE
GALLOZA GONZALEZ, MARGARITA      ADDRESS ON FILE
GALLOZA GONZALEZ, MILAGROS       ADDRESS ON FILE
GALLOZA GONZALEZ, SAMUEL         ADDRESS ON FILE
GALLOZA GONZALEZ, TERESITA       ADDRESS ON FILE
GALLOZA GONZALEZ, WILFREDO       ADDRESS ON FILE
GALLOZA LAGUER, HECTOR A         ADDRESS ON FILE
GALLOZA LOPEZ, NOELIA            ADDRESS ON FILE
GALLOZA MANGUAL, JOSELITO        ADDRESS ON FILE
GALLOZA MENDEZ, LUZ E            ADDRESS ON FILE
GALLOZA MENDOZA, ELEUTERIO       ADDRESS ON FILE
GALLOZA MENDOZA, ESTHER M        ADDRESS ON FILE
GALLOZA MENDOZA, JUANITA         ADDRESS ON FILE
GALLOZA MILLAN, DORIS            ADDRESS ON FILE
GALLOZA MILLAN, DORIS            ADDRESS ON FILE
GALLOZA OCASIO, LEONARDO J.      ADDRESS ON FILE
GALLOZA OCASIO, LEONARDO J.      ADDRESS ON FILE
GALLOZA OTERO, EDGARDO           ADDRESS ON FILE
GALLOZA PEREZ, DAVID             ADDRESS ON FILE
GALLOZA PEREZ, ELBA              ADDRESS ON FILE
GALLOZA PEREZ, MARIA I           ADDRESS ON FILE
Galloza Perez, Nereida           ADDRESS ON FILE
GALLOZA PEREZ, WANDA J           ADDRESS ON FILE
GALLOZA RAMIREZ, DIANA           ADDRESS ON FILE
GALLOZA RAMIREZ, SONIA           ADDRESS ON FILE
GALLOZA REGALADO, FRANCISCO A.   ADDRESS ON FILE
GALLOZA RIVERA, SUHEIN           ADDRESS ON FILE
GALLOZA RODRIGUEZ, EMANUEL       ADDRESS ON FILE
GALLOZA RUIZ, ANA                ADDRESS ON FILE
GALLOZA RUIZ, GRENDALI           ADDRESS ON FILE
GALLOZA RUIZ, LUIS               ADDRESS ON FILE




                                                                             Page 3058 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3059 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GALLOZA SANTIAGO, AMPARO        ADDRESS ON FILE
GALLOZA SANTIAGO, DANIEL        ADDRESS ON FILE
GALLOZA SANTIAGO, EUSEBIO       ADDRESS ON FILE
GALLOZA SANTIAGO, HECTOR E      ADDRESS ON FILE
GALLOZA SANTIAGO, MABEL         ADDRESS ON FILE
GALLOZA SANTIAGO, ROSA          ADDRESS ON FILE
GALLOZA SERRANO, BEATRIZ        ADDRESS ON FILE
GALLOZA SERRANO, HECTOR N       ADDRESS ON FILE
GALLOZA SERRANO, MARIA W.       ADDRESS ON FILE
GALLOZA SOTO, STACY M           ADDRESS ON FILE
GALLOZA VALLE, EVELYN           ADDRESS ON FILE
GALLOZA VALLE, JOSE             ADDRESS ON FILE
GALLOZA VARGAS, ALCADIO         ADDRESS ON FILE
GALLOZA VAZQUEZ, BRENDALIZ      ADDRESS ON FILE
GALO B SEGARRA ALONSO           ADDRESS ON FILE
GALO E BORGES BERDECIA          ADDRESS ON FILE
GALO I LEGUILLOU ENCARNACION    ADDRESS ON FILE
GALO SERVICES LLC               PO BOX 10007                                                                     GUAYAMA      PR      00785
GALOFFIN CALDERON, MARIA        ADDRESS ON FILE
GALOFFIN LOPEZ, JORGE           ADDRESS ON FILE
GALREZ OROZCO, CHRISTIAN        ADDRESS ON FILE
GALVA LEBRON, RAFAEL            ADDRESS ON FILE
GALVA PENA, WILBERT             ADDRESS ON FILE
GALVA PENA, WILBERT             ADDRESS ON FILE
GALVA RODRIGUEZ MD, ROBERTO A   ADDRESS ON FILE
GALVA RODRIGUEZ, ADRIANA M      ADDRESS ON FILE
GALVA RODRIGUEZ, MARGARET       ADDRESS ON FILE
GALVAN ALDARONDO, JAIME         ADDRESS ON FILE
GALVAN ALFARO, ELVIA V          ADDRESS ON FILE
GALVAN ALMA, VERONICA           ADDRESS ON FILE
Galvan Castro, Luis A           ADDRESS ON FILE
GALVAN CRUZ, ALBERTO            ADDRESS ON FILE
GALVAN DE JESUS, MATTHEW        ADDRESS ON FILE
GALVAN FELICIANO, ERIK          ADDRESS ON FILE
GALVAN FELICIANO, JULISSA I     ADDRESS ON FILE
Galvan Hernandez, Carmen E      ADDRESS ON FILE
GALVAN LOPEZ, MIGUEL A          ADDRESS ON FILE
GALVAN MACHADO, AMARILYS        ADDRESS ON FILE
GALVAN MACHADO, VICTOR A        ADDRESS ON FILE
GALVAN MONTALVO, CELIDA         ADDRESS ON FILE
GALVAN MUNOZ, JAIME             ADDRESS ON FILE
GALVAN RODRIGUEZ, ALBERTO       ADDRESS ON FILE
GALVAN RODRIGUEZ, ERICK         ADDRESS ON FILE
GALVAN RUIZ, JUAN               ADDRESS ON FILE
GALVAN, ARIANNA                 ADDRESS ON FILE
GALVES OCASIO, LUCAS            ADDRESS ON FILE
Galvez Beras, Nancy             ADDRESS ON FILE
GALVEZ CALCANO, MINERVA         ADDRESS ON FILE
GALVEZ CLAUDIO, LUCAS           ADDRESS ON FILE
GALVEZ DE LEON, RAMON R         ADDRESS ON FILE
GALVEZ GALLEGOS, EMIR           ADDRESS ON FILE
GALVEZ MARTINEZ, EUNICE         ADDRESS ON FILE
GALVEZ MARTINEZ, GIOVANNI       ADDRESS ON FILE
GALVEZ MORAN, JOHN              ADDRESS ON FILE
GALVEZ OCACIO, MARTA M          ADDRESS ON FILE
GALVEZ OCASIO, LUZ D.           ADDRESS ON FILE
GALVEZ ORTIZ, GABRIEL           ADDRESS ON FILE
GALVEZ ORTIZ, JESUS             ADDRESS ON FILE
GALVEZ ORTIZ, MARIBEL           ADDRESS ON FILE
GALVEZ PABON, PEDRO             ADDRESS ON FILE




                                                                            Page 3059 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3060 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                      Address1                  Address2                                  Address3                 Address4   City         State   PostalCode   Country
GALVEZ REYES, RAMON                ADDRESS ON FILE
GALVEZ REYES, RAMON                ADDRESS ON FILE
GALVEZ RODRIGUEZ, YAITZA AIMED     ADDRESS ON FILE
GALVEZ ROMERO, MARILYN             ADDRESS ON FILE
GALVEZ SANTOS, FELICITA            ADDRESS ON FILE
GALVEZ SANTOS, FELICITA            ADDRESS ON FILE
GALVEZ SANTOS, FELICITA            ADDRESS ON FILE
GALVEZ TORRES, AMANDA              ADDRESS ON FILE
GALVINS SITZLER, MICHAEL           ADDRESS ON FILE

GAM REALTY LLC                     MARIANO A. MIER ROMEU     POPULAR CENTER BUILDING SUITE 1133        208 Ponce DE LEÓN AVE.              SAN JUAN     PR      00918
GAMA ELECTRIC AND MORE INC         URB MIRAFLORES            28‐4 CALLE 34                                                                 BAYAMON      PR      00957
GAMA ENGINEERIN CORP               PO BOX 360453                                                                                           SAN JUAN     PR      00936
GAMA GROUP INC                     PO BOX 8631                                                                                             BAYAMON      PR      00960‐8631
GAMA QUALITY CONTRACTORS           CARLOSE. ARROYO GRAULAU   CALLE PERSEO 501 APT. 5B                                                      SAN JUAN     PR      00920
GAMA RENTAL CORP                   PO BOX 9022974                                                                                          SAN JUAN     PR      00902
GAMALIEL DE JESUS PEREZ            ADDRESS ON FILE
GAMALIEL DIAZ MALDONADO            ADDRESS ON FILE
GAMALIEL GALAN RIVERA              ADDRESS ON FILE
GAMALIEL MONTANO MERCADO           ADDRESS ON FILE
GAMALIEL NAVARRO RAMOS             ADDRESS ON FILE
GAMALIEL NAVARRO RAMOS             ADDRESS ON FILE
GAMALIEL OLMEDA VERGARA            ADDRESS ON FILE
GAMALIEL RAMOS SOLER               ADDRESS ON FILE
GAMALIEL RIVERA RIVERA             ADDRESS ON FILE
GAMALIEL RODRIGUEZ BALLESTER       ADDRESS ON FILE
GAMALIEL RODRIGUEZ LOPEZ           ADDRESS ON FILE
GAMALIEL RODRIGUEZ LOPEZ           ADDRESS ON FILE
GAMALIEL VAZQUEZ FLORES            ADDRESS ON FILE
GAMALIEL VEGA DE JESUS             ADDRESS ON FILE
GAMALIEL VEGA RUIZ                 ADDRESS ON FILE
GAMALIEL VERA MENDEZ               ADDRESS ON FILE
GAMALIER A MATIAS CAY              ADDRESS ON FILE
GAMALIER AYALA GONZALEZ            ADDRESS ON FILE
GAMALIER BERMUDEZ RUIZ             ADDRESS ON FILE
GAMALIER LOPEZ CARRASQUILLO        ADDRESS ON FILE
GAMALIER OLIVERAS ALVAREZ          ADDRESS ON FILE
GAMALIER ORTIZ MERCADO             ADDRESS ON FILE
GAMALIER OTERO PEREZ               ADDRESS ON FILE
GAMALIER OTERO RODRIGUEZ           ADDRESS ON FILE
GAMALIER PAGAN MARIN               ADDRESS ON FILE
GAMALIER PAGAN MARIN               ADDRESS ON FILE
GAMALIER PEDROZA NEGRON            ADDRESS ON FILE
GAMALIER RAMOS SERRANO             ADDRESS ON FILE
GAMALIER RIVERA FONTAN             ADDRESS ON FILE
GAMALIER RODRIGUEZ ACEVEDO         ADDRESS ON FILE
GAMALIER ROSALY ALERS              ADDRESS ON FILE
GAMALIER TRICOCHE ORTIZ            ADDRESS ON FILE
GAMALIER VELILLA SOTO              ADDRESS ON FILE
GAMAR L ZARAGOZA GARCIA            ADDRESS ON FILE
GAMARRA CORTIJO, FELIZA            ADDRESS ON FILE
GAMBALE PABON, GERALD              ADDRESS ON FILE
GAMBARO FERRER, IRIS N             ADDRESS ON FILE
GAMBARO HERNANDEZ, MIOSOTI         ADDRESS ON FILE
GAMBARO RENTAS, ELIZABETH          ADDRESS ON FILE
GAMBARO ROQUE, ROSELINE            ADDRESS ON FILE
GAMBARO TORRES, ANGELYN T          ADDRESS ON FILE
GAMBARO, LUIS I                    ADDRESS ON FILE
GAMBARROTTI CAMACHO, NISHELLE      ADDRESS ON FILE
GAMBEDOTTI CARRASQUILLO, NANCY A   ADDRESS ON FILE




                                                                                        Page 3060 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3061 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GAMBEDOTTI ITURRINO, VALERIE   ADDRESS ON FILE
GAMBINO MD, CALOGERO           ADDRESS ON FILE
GAMBOA FIGUEROA, FRANCES       ADDRESS ON FILE
GAMBOA MEDINA, GLADYS          ADDRESS ON FILE
GAMBOA MEDINA, MIGUEL A        ADDRESS ON FILE
GAMBOA MERCADO, MARLENNY       ADDRESS ON FILE
GAMELEE A ACOBE VAZQUEZ        ADDRESS ON FILE
GAMERO ESPINOSA, CESAR R.      ADDRESS ON FILE
GAMESS PIERROT, ERIC           ADDRESS ON FILE
GAMEZ MARTINEZ, CARMEN R       ADDRESS ON FILE
GAMEZ TORRES, CARLOS ALBERTO   ADDRESS ON FILE
GAMEZ TORRES, OSCAR            ADDRESS ON FILE
GAMEZ TORRES, OSCAR EDUARDO    ADDRESS ON FILE
GAMILY GONZALEZ RIVERA         ADDRESS ON FILE
GAMIOLY B GREEN                ADDRESS ON FILE
GAMIOLY GREEN CACERES          ADDRESS ON FILE
GAMONEDA MONTES, MARIA C       ADDRESS ON FILE
GAMUNDI CESTERO, BARTOLOME     ADDRESS ON FILE
GANADEROS BORGES INC           P O BOX 1037                                                                     NAGUABO      PR      00718‐1037
GANADEROS DE HATILLO           ADDRESS ON FILE
GANCEDO LUCIANO, DAVID         ADDRESS ON FILE
GANDARA CASTRODAD, IRAIDA      ADDRESS ON FILE
GANDARA LANDRON, JOSE A.       ADDRESS ON FILE
GANDARA MENENDEZ, FELIPE       ADDRESS ON FILE
GANDARA PEREA, JOSE            ADDRESS ON FILE
GANDARA SANJUAN, MAXIMO        ADDRESS ON FILE
GANDARA SANTIAGO, SANDRA       ADDRESS ON FILE
GANDARA UMPIERRE, KEYLA M      ADDRESS ON FILE
GANDARILLA BURGOS, JULIA       ADDRESS ON FILE
GANDARILLA BURGOS, LYDIA       ADDRESS ON FILE
GANDARILLA CABAN, MARLENE Y    ADDRESS ON FILE
GANDARILLA CARDEC, FRANCES M   ADDRESS ON FILE
GANDARILLA GUERRA, FRANCISCO   ADDRESS ON FILE
GANDARILLA RAMOS, EMMA         ADDRESS ON FILE
GANDARILLA RIVERA, DIANA       ADDRESS ON FILE
GANDARILLA RUIZ, MARIA Z.      ADDRESS ON FILE
GANDARILLA TORRES, EDWIN       ADDRESS ON FILE
GANDARILLA TRABAL, CARMEN L    ADDRESS ON FILE
GANDARILLA TRABAL, LOURDES     ADDRESS ON FILE
GANDARILLA VELEZ, MIGUEL       ADDRESS ON FILE
GANDELL ALVAREZ, DAVID         ADDRESS ON FILE
GANDIA CARABALLO, PAUL         ADDRESS ON FILE
Gandia Caraballo, Paul L.      ADDRESS ON FILE
GANDIA CARO, JOSE              ADDRESS ON FILE
GANDIA CEDO, URSA I            ADDRESS ON FILE
GANDIA CEDO, ZORAIDA           ADDRESS ON FILE
GANDIA CINTRON, AUDREE L       ADDRESS ON FILE
GANDIA CINTRON, CARLOS         ADDRESS ON FILE
GANDIA COLON, FRANK            ADDRESS ON FILE
GANDIA DE JESUS, ESTHER        ADDRESS ON FILE
Gandia Echevarria, Brenda L    ADDRESS ON FILE
GANDIA FABIAN, MARIA           ADDRESS ON FILE
GANDIA FERRER, MYRNA I         ADDRESS ON FILE
GANDIA GARCIA, GILBERTO        ADDRESS ON FILE
GANDIA GARCIA, VICTOR          ADDRESS ON FILE
GANDIA HUERTA, MELISSA         ADDRESS ON FILE
GANDIA LOPEZ, IDALIA           ADDRESS ON FILE
GANDIA LOUBRIEL, MERYLIN       ADDRESS ON FILE
GANDIA LUGO, JESSICA           ADDRESS ON FILE
GANDIA LUGO, MARIA A           ADDRESS ON FILE




                                                                           Page 3061 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3062 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GANDIA MANTARAS MD, LUIS T        ADDRESS ON FILE
GANDIA MARIN, SONIA               ADDRESS ON FILE
GANDIA MINGUELA, NORMA I          ADDRESS ON FILE
GANDIA MONTIJO, YAYLEEN           ADDRESS ON FILE
GANDIA MORALES, JOSE              ADDRESS ON FILE
GANDIA MUNIZ, CRUZ M              ADDRESS ON FILE
GANDIA NEGRON, GUILLERMO          ADDRESS ON FILE
GANDIA PABON, ZAIDA               ADDRESS ON FILE
GANDIA PEREZ, ALADINO             ADDRESS ON FILE
Gandia Perez, Gerardo             ADDRESS ON FILE
GANDIA PEREZ, HERNAN              ADDRESS ON FILE
GANDIA PEREZ, HERNAN              ADDRESS ON FILE
GANDIA PEREZ, JANIRIS             ADDRESS ON FILE
GANDIA PEREZ, JAROSKY             ADDRESS ON FILE
GANDIA PEREZ, LYNNETTE            ADDRESS ON FILE
GANDIA PEREZ, MARIBEL             ADDRESS ON FILE
GANDIA PEREZ, NOEMI               ADDRESS ON FILE
GANDIA PIZARRO, ALEXANDER         ADDRESS ON FILE
GANDIA POLO, VILMA                ADDRESS ON FILE
GANDIA PORTELA, AMELIA            ADDRESS ON FILE
GANDIA REYES, FRANK               ADDRESS ON FILE
GANDIA RIVERA, FERNANDO           ADDRESS ON FILE
GANDIA RIVERA, GUSTAVO            ADDRESS ON FILE
GANDIA RIVERA, SIXTO              ADDRESS ON FILE
GANDIA SANTIAGO, FRANCISCO        ADDRESS ON FILE
GANDIA SANTIAGO, MIGDALIA         ADDRESS ON FILE
GANDIA SANTOS, EDWIN              ADDRESS ON FILE
GANDIA SANTOS, JOVAN              ADDRESS ON FILE
GANDIA SEDA, SUSINDY              ADDRESS ON FILE
GANDIA SEGUNDO, GABRIEL           ADDRESS ON FILE
GANDIA SOLER, JORGE               ADDRESS ON FILE
GANDIA TIRADO, IRIS M             ADDRESS ON FILE
GANDIA TORRES, JOSE R.            ADDRESS ON FILE
GANDIA TORRES, NORMA I            ADDRESS ON FILE
GANDIA TORRES, SANDRA I           ADDRESS ON FILE
GANDIA TORRES, WANDA              ADDRESS ON FILE
GANDIA VELAZQUEZ, JOSE R.         ADDRESS ON FILE
GANDIA VELAZQUEZ, JOSE R.         ADDRESS ON FILE
GANDIA, NATALIA                   ADDRESS ON FILE
GANDIAGA CABRERA, CARLOS          ADDRESS ON FILE
GANDIS VAZQUEZ, MARVIN            ADDRESS ON FILE
GANDULLA CASIANO, NEFTALI         ADDRESS ON FILE
GANDULLA DIAZ, ISABEL C.          ADDRESS ON FILE
GANDULLA PAOLI, INGRID            ADDRESS ON FILE
GANDULLA SANTIAGO, WILDA          ADDRESS ON FILE
GANDULLA SEDA, ANA M              ADDRESS ON FILE
GANJOO MD , DIDA K                ADDRESS ON FILE
GANTOS, HECTOR M.                 ADDRESS ON FILE
GANTUS MARRERO, ELBA              ADDRESS ON FILE
GANZALEZ MAYSONET, GERALDINE      ADDRESS ON FILE
GAONA REYES, CARLOS ARTURO        ADDRESS ON FILE
GAONA REYES, JAIME                ADDRESS ON FILE
GAP PUERTO RICO LTD               ADDRESS ON FILE
GAR CONSULTANT GROUP INC          ADDRESS ON FILE
GARABITO DIAZ, DENISE DEL C.      ADDRESS ON FILE
GARABITO DIAZ, ELGA               ADDRESS ON FILE
GARABITO DIAZ, KARMY J            ADDRESS ON FILE
GARABITO DIAZ, ZAHIRA             ADDRESS ON FILE
GARAGE ADORNO                     ADDRESS ON FILE
GARAGE ASOMANTE SERVICE STATION   HC 2 BOX 8146                                                                    AIBONITO     PR      00705




                                                                              Page 3062 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3063 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                         Address1                                   Address2                                  Address3   Address4   City                 State   PostalCode   Country
GARAGE BETANCES                       ADDRESS ON FILE
GARAGE CABASSA                        ADDRESS ON FILE
GARAGE CARLITOS                       ADDRESS ON FILE
GARAGE CARRAU                         ADDRESS ON FILE
GARAGE CURCIO                         URB. MONTE CARLO MF‐ 43 PLAZA 15                                                                           BAYAMON              PR      00961
GARAGE ESSO                           ADDRESS ON FILE
GARAGE FRANK                          TAPICERIA PARIS AVE. FERNANDEZ JUNCOS 1263                                                                 PDA. 18 ‐ SANTURCE   PR      00907
GARAGE FRANK INC                      1263 AVE FERNANDEZ JUNCOS                                                                                  SANTURCE             PR      00910
GARAGE FRANK INC                      PO BOX 19026                                                                                               SANTURCE             PR      00910
GARAGE FRANKS INC                     1263 AVE FERNANDEZ JUNCOS                                                                                  SAN JUAN             PR      00915
GARAGE FRANKS INC                     PO BOX 19026                                                                                               SAN JUAN             PR      00910
GARAGE FRANKS INC                     PO BOX 19026                               FERNANDEZ JUNCOS STATION                                        SAN JUAN             PR      00908‐0000
GARAGE FRANKS INC                     PO BOX 19026 FDEZ JUNCOS STA                                                                               SAN JUAN             PR      00910‐0000
GARAGE GAMALIER                       ADDRESS ON FILE
GARAGE GONZALEZ                       ADDRESS ON FILE
GARAGE GUINCHA                        PO BOX 488                                                                                                 MARICAO              PR      00606
GARAGE HENRY E HIJO                   ADDRESS ON FILE
GARAGE HILGO , INC.                   P. O. BOX 72 SAINT JUST                                                                                    SAINT JUST           PR      00978‐0072
GARAGE HILGO INC                      ADDRESS ON FILE
GARAGE HILGO INC                      ADDRESS ON FILE
GARAGE HILGO, INC.                    PO BOX 72                                  CARR 2 #112                                                     SAINT JUST           PR      00978‐0072
GARAGE HUMBERTO                       ADDRESS ON FILE
GARAGE HUMBERTO                       ADDRESS ON FILE
GARAGE HUMBERTO                       ADDRESS ON FILE
GARAGE ISLA VERDE INC                 BO MANI                                    2915 CARR 2                                                     MAYAGUEZ             PR      00680
GARAGE ISLA VERDE INC                 PO BOX 70262                                                                                               SAN JUAN             PR      00979
GARAGE ISLA VERDE INC                 RR 1 BOX 29                                                                                                CAROLINA             PR      00979
GARAGE JIMENEZ                        ADDRESS ON FILE
GARAGE JOSE A RAMOS INC               PO BOX 582                                                                                                 PENUELAS             PR      00624
GARAGE LEBRON                         ADDRESS ON FILE
GARAGE LOS CUADOS                     ADDRESS ON FILE
GARAGE LUCAS                          ADDRESS ON FILE
GARAGE MARTINEZ                       ADDRESS ON FILE
GARAGE MOLINA                         ADDRESS ON FILE
GARAGE MONACO INC                     PMB 143                                    1353 RD 19                                                      GUAYNABO             PR      00966‐2700
GARAGE MULTI‐SERVICIOS, INC           1054 SANTANA                                                                                               ARECIBO              PR      00612
GARAGE OCASIO                         ADDRESS ON FILE
GARAGE OCASIO                         ADDRESS ON FILE
GARAGE OCASIO INC                     STE 125A FELIX CORDOVA DAVILA                                                                              MANATI               PR      00674
GARAGE RAFY                           ADDRESS ON FILE
GARAGE RAFY                           ADDRESS ON FILE
GARAGE RAMOS                          ADDRESS ON FILE
GARAGE RAMOS                          ADDRESS ON FILE
GARAGE RENATO BERDUT                  AVE PONCE DE LEON 510                                                                                      HATO REY             PR      00917
GARAGE REPARTO FLAMINGO               ADDRESS ON FILE
GARAGE REY                            ADDRESS ON FILE
GARAGE REY                            ADDRESS ON FILE
GARAGE RICHIE                         ADDRESS ON FILE
GARAGE RICHIE & FRANK                 AVE. EDUARDO CONDE                         2115 VILLA PALMERAS                                             SANTURCE             PR      00915
GARAGE RICHIE & FRANK                 VILLA PALMERAS                             2115 EDUARDO CONDE                                              SAN JUAN             PR      00915
GARAGE RICKY ‐ LILLIAN LOPEZ CEPERO   ADDRESS ON FILE
GARAGE ROBLES                         ADDRESS ON FILE
GARAGE ROMERO, INC.                   65 INF. STATION, PO BOX 31340                                                                              SAN JUAN             PR      00924
GARAGE TOTY                           ADDRESS ON FILE
GARAJE ALBERTO                        ADDRESS ON FILE
GARAJE BENIQUEZ                       ADDRESS ON FILE
GARAJE CAMILO                         ADDRESS ON FILE
GARAJE CAMILO INC                     ALTOS DE LA FUENTE                         CALLE 1D‐12                                                     CAGUAS               PR      00725
GARAJE CAMILO INC.                    CALLE I D‐12 ALTO DE LA FUENTE                                                                             CAGUAS               PR      00725
GARAJE CARLOS A ZAPATERO              ADDRESS ON FILE




                                                                                                            Page 3063 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3064 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                         Address1                    Address2                                 Address3   Address4   City              State   PostalCode   Country
GARAJE EL REY                         ADDRESS ON FILE
GARAJE EL REY                         ADDRESS ON FILE
GARAJE HILGO                          ADDRESS ON FILE
Garaje Hilgo Inc.                     PO BOX 72                                                                                  SAINT JUST        PR      00978
GARAJE LA VICTORIA CORP               P M B 166                   P O BOX 80000                                                  ISABELA           PR      00662
GARAJE MATTEI                         ADDRESS ON FILE
GARAJE MIRANDA TIRE CENTER/ CHARLIE   PO BOX 6761                 SANTA ROSA UNIT                                                BAYAMON           PR      00960
GARAJE PALMAR SHELL                   ADDRESS ON FILE
GARAJE PEPE LINEA                     PO BOX 1118                                                                                TRUJILLO ALTO     PR      00977
GARAJE PICHON, INC.                   BOX 225                                                                                    HATILLO           PR      00659
GARAJE RICKY/LILLIAM LOPEZ CEPERO     PEDRO MARQUEZ # 3 BOX 157                                                                  CULEBRA           PR      00775‐0000
GARAJE RIVERA AND MACHINE SHOP        RR 11 BOX 3815                                                                             BAYAMON           PR      00956
GARAJE RUBEN                          CALLE GUAYAMA #229                                                                         HATO REY          PR      00917
GARAJE RUBEN INC                      PMB 487 SUITE 140           200 AVE. RAFAEL CORDERO                                        GAGUAS            PR      00725
GARAJE RUBEN INC                      PO BOX 364447                                                                              SAN JUAN          PR      00936‐4447
GARAJE TANAN                          ADDRESS ON FILE
GARAJE Y JUNKER ORSINI                RR 01 BOX 2080                                                                             ANASCO            PR      00610
GARAKANI KAVEH, NATALIE               ADDRESS ON FILE
GARALLARDE RIVERA, JOSE A             ADDRESS ON FILE
GARATTINI RIVERA, ANGEL               ADDRESS ON FILE
GARAU DIAZ MD, PRISCILA               ADDRESS ON FILE
GARAU DIAZ, IVAN                      ADDRESS ON FILE
GARAU MEDINA, ERNESTO                 ADDRESS ON FILE
GARAVITO MEDINA, JUAN C.              ADDRESS ON FILE
GARAVITO SANCHEZ, DANIEL              ADDRESS ON FILE
GARAVITO SANCHEZ, HECTOR              ADDRESS ON FILE
GARAY ANDINO, YELIAN                  ADDRESS ON FILE
GARAY APONTE, GISANDRA                ADDRESS ON FILE
GARAY APONTE, GISANDRA                ADDRESS ON FILE
GARAY APONTE, GUILLERMO               ADDRESS ON FILE
GARAY APONTE, LOURDES M.              ADDRESS ON FILE
Garay Badillo, Iris N                 ADDRESS ON FILE
GARAY BORRERO, ALICELY                ADDRESS ON FILE
GARAY CAMACHO, DAMARIS                ADDRESS ON FILE
GARAY CAMACHO, LIZA M.                ADDRESS ON FILE
GARAY CANABAL, ESTHER L               ADDRESS ON FILE
GARAY CARCANO, NITZA M                ADDRESS ON FILE
GARAY CARRERAS, ERNESTO               ADDRESS ON FILE
GARAY CASTELLANOS, LOURDES            ADDRESS ON FILE
GARAY CHARLEMAN, LUANNE               ADDRESS ON FILE
GARAY COLON, AIDA I                   ADDRESS ON FILE
GARAY COLON, EVELYN                   ADDRESS ON FILE
GARAY COLON, NELSON                   ADDRESS ON FILE
GARAY COLON, TOMAS                    ADDRESS ON FILE
GARAY COLON, WANDA E                  ADDRESS ON FILE
GARAY COTTO, LISANDRA                 ADDRESS ON FILE
GARAY COTTO, NORMA I.                 ADDRESS ON FILE
GARAY COTTO, YESEIDA                  ADDRESS ON FILE
GARAY COUVERTIER, SANDRA              ADDRESS ON FILE
GARAY CRUZ, ARLYN A                   ADDRESS ON FILE
GARAY CRUZ, ARVEL                     ADDRESS ON FILE
GARAY CRUZ, CARMEN G                  ADDRESS ON FILE
GARAY DAVILA, JAIME W                 ADDRESS ON FILE
GARAY DE JESUS, ALFONSO               ADDRESS ON FILE
GARAY DE JESUS, GENOVEVA              ADDRESS ON FILE
GARAY DE JESUS, JEANNETTE             ADDRESS ON FILE
GARAY DE JESUS, JUAN                  ADDRESS ON FILE
GARAY DE LEON, CARMEN O.              ADDRESS ON FILE
GARAY DIAZ, GLORIVEE                  ADDRESS ON FILE
GARAY DIAZ, HECTOR M                  ADDRESS ON FILE




                                                                                            Page 3064 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3065 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARAY DIAZ, JULISSA           ADDRESS ON FILE
GARAY DIAZ, LUIS              ADDRESS ON FILE
GARAY ESPEJO, YVONNE          ADDRESS ON FILE
GARAY FERNANDEZ, WANDA I      ADDRESS ON FILE
GARAY FLORES, NOEMI           ADDRESS ON FILE
GARAY FLORES, ROSITA          ADDRESS ON FILE
GARAY GALARZA, ANGELA         ADDRESS ON FILE
GARAY GALARZA, JOSE           ADDRESS ON FILE
GARAY GARAY, LAURA E          ADDRESS ON FILE
GARAY GARAY, ZENAIDA          ADDRESS ON FILE
GARAY GARCIA, MARCIAL         ADDRESS ON FILE
GARAY GARCIA, MARIAM          ADDRESS ON FILE
GARAY GARCIA, MARIAM ENID     ADDRESS ON FILE
GARAY GARCIA, OMAYRA          ADDRESS ON FILE
GARAY GERENA, LUIS            ADDRESS ON FILE
GARAY GOMEZ, MARIA            ADDRESS ON FILE
GARAY GONZALEZ, DAISY         ADDRESS ON FILE
Garay Gonzalez, Juan A        ADDRESS ON FILE
GARAY GONZALEZ, REYNALDO      ADDRESS ON FILE
GARAY GONZALEZ, RUBEN         ADDRESS ON FILE
GARAY GONZALEZ, SHEILA        ADDRESS ON FILE
GARAY GONZALEZ, SONIA         ADDRESS ON FILE
GARAY GONZALEZ, ZAIDA         ADDRESS ON FILE
GARAY HERNANDEZ, VAIHITIARE   ADDRESS ON FILE
Garay Jr., Modesto            ADDRESS ON FILE
GARAY LEBRON, RAUL            ADDRESS ON FILE
GARAY LOPEZ, ARGENIS          ADDRESS ON FILE
GARAY LOPEZ, ELISABET         ADDRESS ON FILE
GARAY LOPEZ, ELISABET         ADDRESS ON FILE
GARAY LOPEZ, FELIX            ADDRESS ON FILE
GARAY LOPEZ, MAUDE            ADDRESS ON FILE
GARAY LOPEZ, ROSA             ADDRESS ON FILE
GARAY LUQUE, DAVID            ADDRESS ON FILE
GARAY LUQUE, LUIS             ADDRESS ON FILE
GARAY MARQUEZ, ANGEL D        ADDRESS ON FILE
GARAY MARQUEZ, DIALIS E.      ADDRESS ON FILE
GARAY MARQUEZ, GRISELL        ADDRESS ON FILE
GARAY MARQUEZ, RUBEN          ADDRESS ON FILE
GARAY MARRERO, AIDA           ADDRESS ON FILE
GARAY MARRERO, JESSICA        ADDRESS ON FILE
GARAY MARRERO, MARITZA        ADDRESS ON FILE
GARAY MARRERO, SHIRLEY A.     ADDRESS ON FILE
GARAY MARTINEZ, HECTOR        ADDRESS ON FILE
GARAY MARTINEZ, IVETTE        ADDRESS ON FILE
GARAY MARTINEZ, IVETTE L      ADDRESS ON FILE
GARAY MATOS, ALBERTO          ADDRESS ON FILE
GARAY MELENDEZ, IVONNE        ADDRESS ON FILE
GARAY MELENDEZ, JOHANNIE      ADDRESS ON FILE
GARAY MELENDEZ, NELLYE        ADDRESS ON FILE
GARAY MIRANDA, MARIA C.       ADDRESS ON FILE
GARAY MONSANTO, RAUL          ADDRESS ON FILE
GARAY MONTANEZ, GILBERTO      ADDRESS ON FILE
GARAY MONTES, MAYRA E         ADDRESS ON FILE
GARAY MORALES, HILDA          ADDRESS ON FILE
GARAY MORALES, KAREN L.       ADDRESS ON FILE
GARAY MORALES, MARITZA        ADDRESS ON FILE
GARAY MORALES, SAMUEL         ADDRESS ON FILE
GARAY MUNOZ, MILLIE           ADDRESS ON FILE
GARAY NIEVES, JULIO           ADDRESS ON FILE
GARAY NUNEZ, LEYDA            ADDRESS ON FILE




                                                                          Page 3065 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3066 of 3500
                                                                            17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                Address1                      Address2                                    Address3            Address4               City        State   PostalCode   Country
GARAY OH, ILIANA             ADDRESS ON FILE
GARAY OSORIO, LUZ I          ADDRESS ON FILE
GARAY OSORIO, MARIA M        ADDRESS ON FILE
GARAY OTERO, LUZ             ADDRESS ON FILE
GARAY PADILLA, JOSE L        ADDRESS ON FILE
GARAY PADILLA, SANTIAGO E    ADDRESS ON FILE
GARAY PARRILLA, DANNYS       ADDRESS ON FILE
GARAY PENA, JAVIER           ADDRESS ON FILE
GARAY PENA, MARIE A          ADDRESS ON FILE
GARAY PEREZ, MARCOS          ADDRESS ON FILE
GARAY PEREZ, ROBERTO L.      ADDRESS ON FILE
GARAY PEREZ, VIRGINIA        ADDRESS ON FILE

GARAY PICÓN, JOSÉ M.         SR. JOSÉ MIGUEL GARAY PICÓN   CELDA 3‐K 106‐A DE LA INSTITUCIÓN CORRECCIO 501 CARR. #5 AVE.   ENTRAL JUANITA FINAL   Bayamón     PR      00960
GARAY QUINONES, DUHAMEL      ADDRESS ON FILE
GARAY QUINONES, LUIS         ADDRESS ON FILE
GARAY RESTO, DAVID           ADDRESS ON FILE
GARAY REYES, JONATHAN        ADDRESS ON FILE
GARAY RIVERA, EMILIO         ADDRESS ON FILE
Garay Rivera, Jesus          ADDRESS ON FILE
GARAY RIVERA, KELVIN A.      ADDRESS ON FILE
GARAY RIVERA, MIGDALIA       ADDRESS ON FILE
GARAY RIVERA, NILKA          ADDRESS ON FILE
Garay Rivera, Rosa M.        ADDRESS ON FILE
GARAY RODRIGUEZ, CARMEN      ADDRESS ON FILE
GARAY RODRIGUEZ, ESTEBAN     ADDRESS ON FILE
GARAY RODRIGUEZ, IGNACIO     ADDRESS ON FILE
Garay Rodriguez, Ismael      ADDRESS ON FILE
GARAY RODRIGUEZ, JESE        ADDRESS ON FILE
GARAY RODRIGUEZ, JOSE        ADDRESS ON FILE
GARAY RODRIGUEZ, LUIS        ADDRESS ON FILE
GARAY RODRIGUEZ, LUZ         ADDRESS ON FILE
GARAY RODRIGUEZ, SANDRA      ADDRESS ON FILE
GARAY RODRIGUEZ, YAMIRELIS   ADDRESS ON FILE
GARAY ROJA, MARGARITA        ADDRESS ON FILE
GARAY ROJAS, JOSEFINA        ADDRESS ON FILE
GARAY ROJAS, RAMONITA        ADDRESS ON FILE
GARAY ROJAS, VALENTIN        ADDRESS ON FILE
GARAY ROMAN, DAVID           ADDRESS ON FILE
GARAY ROMAN, JUAN MANUEL     ADDRESS ON FILE
GARAY ROSA, DAMASA           ADDRESS ON FILE
GARAY ROSA, ISABEL           ADDRESS ON FILE
GARAY ROSA, MARIA            ADDRESS ON FILE
GARAY ROSADO, ARNALDO J      ADDRESS ON FILE
GARAY ROSADO, BRENDA         ADDRESS ON FILE
GARAY ROSARIO, DAMARIS       ADDRESS ON FILE
GARAY ROSARIO, NITZA         ADDRESS ON FILE
GARAY RUBIO, CHRISTIAN       ADDRESS ON FILE
GARAY SALAMANCA, ANGEL M     ADDRESS ON FILE
GARAY SALAMANCA, JOSELYN     ADDRESS ON FILE
GARAY SANCHEZ, GLADYS        ADDRESS ON FILE
GARAY SANTIAGO, CARLOS F.    ADDRESS ON FILE
GARAY SANTIAGO, EDDIE        ADDRESS ON FILE
GARAY SANTIAGO, JENNIFER     ADDRESS ON FILE
GARAY SERRANO, EDWIN G       ADDRESS ON FILE
GARAY SERRANO, GLADYTZA M    ADDRESS ON FILE
GARAY SERRANO, RICARDO       ADDRESS ON FILE
Garay Sierra, Jeannette      ADDRESS ON FILE
GARAY SILVA, LIZANNETTE      ADDRESS ON FILE
GARAY SOLANO, GILBERT        ADDRESS ON FILE




                                                                                        Page 3066 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3067 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARAY SOLANO, ZULEIKA                   ADDRESS ON FILE
GARAY SOTO, NILKA N                     ADDRESS ON FILE
GARAY SUAREZ, CARMELO                   ADDRESS ON FILE
GARAY SUAREZ, DIANA E.                  ADDRESS ON FILE
Garay Suarez, Ismael                    ADDRESS ON FILE
GARAY SUAREZ, MARISOL                   ADDRESS ON FILE
GARAY SUAREZ, PAULA                     ADDRESS ON FILE
GARAY TIRADO, BRIZELLIS                 ADDRESS ON FILE
GARAY TORRES, GUILLERMO                 ADDRESS ON FILE
GARAY TORRES, PEGGY                     ADDRESS ON FILE
GARAY TRICOCHE, MARIANGIE               ADDRESS ON FILE
GARAY VARGAS, MARGARITA                 ADDRESS ON FILE
GARAY VARGAS, SONIA M.                  ADDRESS ON FILE
GARAY VAZQUEZ, LUZ M                    ADDRESS ON FILE
GARAY VEGA, EMILIO                      ADDRESS ON FILE
GARAY VEGA, EMILIO                      ADDRESS ON FILE
GARAY VELAZQUEZ, JOSE                   ADDRESS ON FILE
GARAY VELAZQUEZ, VERONICA I             ADDRESS ON FILE
GARAY VELEZ, PROVIDENCIA                ADDRESS ON FILE
GARAY, CARMELITO                        ADDRESS ON FILE
GARAYALDE COTRONEO MD, GLENN J          ADDRESS ON FILE
GARAYALDE MARTINEZ, MARILIN             ADDRESS ON FILE
GARAYALDE PEREZ, GRACE M                ADDRESS ON FILE
GARAYALDE RIJOS, WALESKA                ADDRESS ON FILE
GARAYCOLON, ERIC J                      ADDRESS ON FILE
GARAYORTIZ, LEANDRO                     ADDRESS ON FILE
Garayua Arce, Jorge L                   ADDRESS ON FILE
Garayua Arce, Jose L.                   ADDRESS ON FILE
GARAYUA CANDELARIA, ABRAHAM             ADDRESS ON FILE
GARAYUA DE JESUS, JORGE E.              ADDRESS ON FILE
GARAYUA DIAZ, CARLA                     ADDRESS ON FILE
GARAYUA LOPEZ, MARIA                    ADDRESS ON FILE
GARAYUA MARTINEZ, JANET                 ADDRESS ON FILE
GARAYUA OLMEDA, LOTTIE                  ADDRESS ON FILE
Garayua Pacheco, Carlos R               ADDRESS ON FILE
GARAYUA RAMIREZ DE ARELLA, REINALDO E   ADDRESS ON FILE
GARAYUA RIVERA, JOANSED                 ADDRESS ON FILE
GARAYUA ROSARIO, CINDY                  ADDRESS ON FILE
GARAYUA SANTIAGO, ILIANA                ADDRESS ON FILE
GARAYUA VARGAS, ROBERTO                 ADDRESS ON FILE
GARAYUA VAZQUEZ, NELSON R               ADDRESS ON FILE
GARAYUA VELEZ, NATIVIDAD                ADDRESS ON FILE
GARAYUAN ARCE, JOSE L                   ADDRESS ON FILE
GARBY RUIZ ROSADO                       ADDRESS ON FILE
GARCED ESPADA, ERIKA                    ADDRESS ON FILE
GARCED FALCON, MILHBELL                 ADDRESS ON FILE
GARCED FALCON, SAMUEL                   ADDRESS ON FILE
GARCED FIGUEROA, JAIME                  ADDRESS ON FILE
GARCED FIGUEROA, NAYOMI                 ADDRESS ON FILE
GARCED LUNA, JAVIER                     ADDRESS ON FILE
GARCED MALAVE, LOURDES F                ADDRESS ON FILE
GARCED MALAVE, MIGUEL ANGEL             ADDRESS ON FILE
GARCED MELENDEZ, ORLANDO R.             ADDRESS ON FILE
GARCED MUNOZ, AILEEN                    ADDRESS ON FILE
Garced Munoz, Rafael A                  ADDRESS ON FILE
GARCED NIEVES, EDWIN                    ADDRESS ON FILE
GARCED PEREZ, CARMEN R                  ADDRESS ON FILE
GARCED PEREZ, MIRTA                     ADDRESS ON FILE
GARCED PEREZ, MIRTA IRIS                ADDRESS ON FILE
GARCED RIVERA, GLORIA E                 ADDRESS ON FILE




                                                                                    Page 3067 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3068 of 3500
                                                                             17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                 Address1                  Address2                                     Address3   Address4   City           State   PostalCode   Country
GARCED RIVERA, WILFREDO       ADDRESS ON FILE
GARCED RODRIGUEZ, ENNIVETH    ADDRESS ON FILE
GARCED RODRIGUEZ, JAIME       ADDRESS ON FILE
GARCED RODRIGUEZ, RAQUEL      ADDRESS ON FILE
GARCED TIRADO, SHEYLA         ADDRESS ON FILE
GARCED VEGA, JUAN C           ADDRESS ON FILE
GARCED VEGA, YARITZA          ADDRESS ON FILE
GARCED, GEYLEE                ADDRESS ON FILE
GARCELL ORAN, MILTON          ADDRESS ON FILE
GARCES CAMACHO, ANA R.        ADDRESS ON FILE
GARCES CAMILO, EVELYS M       ADDRESS ON FILE
GARCES CHARRON, JOSE          ADDRESS ON FILE
GARCES CHARRON, JOSE          ADDRESS ON FILE
GARCES DEL VALLE, ELIZABETH   ADDRESS ON FILE
GARCES DEL VALLE, LUIS        ADDRESS ON FILE
GARCES GUERRERO, RAIZA        ADDRESS ON FILE
GARCES JIMENEZ, LUISA         ADDRESS ON FILE
GARCES JUSINO, OLGA M         ADDRESS ON FILE
GARCES LUCENA, JUAN           ADDRESS ON FILE
Garces Maldonado, Israel      ADDRESS ON FILE
Garces Maldonado, Mateo       ADDRESS ON FILE
Garces Maldonado, Sigfredo    ADDRESS ON FILE
GARCES MATOS, LESBIAN         ADDRESS ON FILE
GARCES MORALES, ROSA A        ADDRESS ON FILE
GARCES ORTIZ, FRANCES         ADDRESS ON FILE
GARCES PADIN, JEANIBELL       ADDRESS ON FILE
GARCES PARRILLA, SANDRA       ADDRESS ON FILE
Garces Rivera, Jose E         ADDRESS ON FILE
GARCES RIVERA, LYNNETTE       ADDRESS ON FILE
GARCES RIVERA, MELISSA        ADDRESS ON FILE
GARCES ROSA, MYRNA DE LOSA    ADDRESS ON FILE
GARCES SANTIAGO, AIMAREL      ADDRESS ON FILE
GARCES SANTIAGO, MILTON       ADDRESS ON FILE
GARCES SANTIAGO, MILTON       ADDRESS ON FILE
GARCES TORRES, JOSE           ADDRESS ON FILE
GARCES TORRES, JOSE E.        ADDRESS ON FILE
GARCES TORRES, JOSE E.        ADDRESS ON FILE
GARCES VALENCIA, MATEO        ADDRESS ON FILE
Garces Vazquez, Rafael A      ADDRESS ON FILE
GARCES VEGA, WANDA I          ADDRESS ON FILE
GARCES, MIGUEL                ADDRESS ON FILE
GARCI GARCIA, LUZ             ADDRESS ON FILE
GARCIA RIVERA , LUZ E         ADDRESS ON FILE
GARCIA & ASSOCIATES INC       37193 ADAMS GREEN LANE                                                                       MIDDLEBERG     VA      20117
GARCIA & FONT, CSP            EDIF MARVESA              472 AVE TITO CASTRO STE 405                                        PONCE          PR      00716
GARCIA ABARCA, SEBASTIAN      ADDRESS ON FILE
GARCIA ACABA, JORGE L         ADDRESS ON FILE
GARCIA ACABA, TAINA A         ADDRESS ON FILE
GARCIA ACEVEDO MD, OBED       ADDRESS ON FILE
GARCIA ACEVEDO MD, OBED R     ADDRESS ON FILE
GARCIA ACEVEDO, ALICIA        ADDRESS ON FILE
GARCIA ACEVEDO, AMARILIS      ADDRESS ON FILE
GARCIA ACEVEDO, ANA M.        ADDRESS ON FILE
GARCIA ACEVEDO, CARMEN        ADDRESS ON FILE
GARCIA ACEVEDO, CLARA O       ADDRESS ON FILE
GARCIA ACEVEDO, NESTOR        ADDRESS ON FILE
GARCIA ACEVEDO, RICARDO       ADDRESS ON FILE
Garcia Acevedo, Rosa E        ADDRESS ON FILE
GARCIA ACEVEDO, VICTOR        ADDRESS ON FILE
GARCIA ACEVEDO, YAMILE        ADDRESS ON FILE




                                                                                      Page 3068 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3069 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ACEVEDO, YVETTE        ADDRESS ON FILE
GARCIA ACOSTA, DANNY          ADDRESS ON FILE
GARCIA ACOSTA, EUSEBIO        ADDRESS ON FILE
GARCIA ACOSTA, LIDDA          ADDRESS ON FILE
GARCIA ACOSTA, LOURDES        ADDRESS ON FILE
GARCIA ACOSTA, MARIELY        ADDRESS ON FILE
GARCIA ACOSTA, OLGA I         ADDRESS ON FILE
GARCIA ACOSTA, WANDA          ADDRESS ON FILE
GARCIA ACOSTA, XABIER         ADDRESS ON FILE
GARCIA ACOSTA,KELVIN          ADDRESS ON FILE
GARCIA ADARME, NUBIA          ADDRESS ON FILE
GARCIA ADDARISH, IVELISSE     ADDRESS ON FILE
GARCIA ADORNO, ANGELI         ADDRESS ON FILE
Garcia Adorno, Anthony        ADDRESS ON FILE
Garcia Adorno, Carlos M       ADDRESS ON FILE
GARCIA ADORNO, CYNTHIA        ADDRESS ON FILE
GARCIA ADORNO, DOMINGO        ADDRESS ON FILE
GARCIA ADORNO, EDGAR          ADDRESS ON FILE
GARCIA ADORNO, JENNIFER       ADDRESS ON FILE
GARCIA ADORNO, JOSE           ADDRESS ON FILE
GARCIA ADORNO, MARIA J        ADDRESS ON FILE
GARCIA AGOSTO, AIDA I         ADDRESS ON FILE
GARCIA AGOSTO, ARTHUR G       ADDRESS ON FILE
GARCIA AGOSTO, ARTHUR G       ADDRESS ON FILE
GARCIA AGOSTO, CARMEN J       ADDRESS ON FILE
GARCIA AGOSTO, CARMEN J       ADDRESS ON FILE
GARCIA AGOSTO, HECTOR         ADDRESS ON FILE
GARCIA AGOSTO, HECTOR M       ADDRESS ON FILE
GARCIA AGOSTO, JOSE           ADDRESS ON FILE
GARCIA AGOSTO, MARIA D        ADDRESS ON FILE
GARCIA AGOSTO, MERCEDES       ADDRESS ON FILE
GARCIA AGOSTO, RAMON          ADDRESS ON FILE
GARCIA AGOSTO, ROSITA         ADDRESS ON FILE
GARCIA AGOSTO, SAMUEL         ADDRESS ON FILE
GARCIA AGRINZONI, EDGAR       ADDRESS ON FILE
GARCIA AGUAYO, ETTIENE        ADDRESS ON FILE
GARCIA AGUAYO, JOSE M         ADDRESS ON FILE
GARCIA AGUAYO, ROSA M         ADDRESS ON FILE
GARCIA AGUAYO, ZULEIKA        ADDRESS ON FILE
GARCIA AGUIAR, LUZ E          ADDRESS ON FILE
GARCIA AGUIRRE, LUIS F.       ADDRESS ON FILE
GARCIA ALAMEDA, JOSE          ADDRESS ON FILE
GARCIA ALAMEDA, LEIDA         ADDRESS ON FILE
GARCIA ALAMO, ANA M           ADDRESS ON FILE
GARCIA ALAMO, JUAN            ADDRESS ON FILE
GARCIA ALAMO, MAXIMINO        ADDRESS ON FILE
GARCIA ALBARRAN, AILEEN       ADDRESS ON FILE
GARCIA ALBARRAN, GEOVANNIE    ADDRESS ON FILE
GARCIA ALBARRAN, JORGE L      ADDRESS ON FILE
GARCIA ALBELO, KAREN E        ADDRESS ON FILE
GARCIA ALBERT, BERLYDIS       ADDRESS ON FILE
GARCIA ALBERT, LOURDES        ADDRESS ON FILE
GARCIA ALBERT, NOEL           ADDRESS ON FILE
GARCIA ALBINO, MIGUEL         ADDRESS ON FILE
GARCIA ALBINO, ROSA E         ADDRESS ON FILE
GARCIA ALCAZAR, RODOLFO D     ADDRESS ON FILE
GARCIA ALDAHONDA, JULIE       ADDRESS ON FILE
GARCIA ALEJANDRO, ANNETTE M   ADDRESS ON FILE
GARCIA ALEJANDRO, DENNIS      ADDRESS ON FILE
GARCIA ALEJANDRO, GINORIS E   ADDRESS ON FILE




                                                                          Page 3069 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3070 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ALEJANDRO, JESUS M    ADDRESS ON FILE
GARCIA ALEJANDRO, WALBERT    ADDRESS ON FILE
GARCIA ALEJANDRO, YESENIA    ADDRESS ON FILE
GARCIA ALEMAN, DAISY         ADDRESS ON FILE
GARCIA ALEMAN, JEREMIE       ADDRESS ON FILE
GARCIA ALEMAN, LILLIAN       ADDRESS ON FILE
GARCIA ALEMAN, MAYRA I       ADDRESS ON FILE
GARCIA ALEMAN, RICHARD       ADDRESS ON FILE
GARCIA ALEMAN, WILLIAM       ADDRESS ON FILE
GARCIA ALERS, ROSA A         ADDRESS ON FILE
GARCIA ALGARIN, ADA S        ADDRESS ON FILE
GARCIA ALGARIN, ALEXANDER    ADDRESS ON FILE
GARCIA ALGARIN, CARMEN L     ADDRESS ON FILE
GARCIA ALGARIN, IDALIA       ADDRESS ON FILE
GARCIA ALGARIN, NEFTALI      ADDRESS ON FILE
GARCIA ALGARIN, NOEMI        ADDRESS ON FILE
GARCIA ALGARIN, PEDRO        ADDRESS ON FILE
GARCIA ALGARIN, SONIA        ADDRESS ON FILE
GARCIA ALICEA, CARLOS        ADDRESS ON FILE
GARCIA ALICEA, CAROL         ADDRESS ON FILE
GARCIA ALICEA, DAISY         ADDRESS ON FILE
GARCIA ALICEA, ELISA O       ADDRESS ON FILE
GARCIA ALICEA, IRMA Y.       ADDRESS ON FILE
GARCIA ALICEA, JOSE A        ADDRESS ON FILE
GARCIA ALICEA, LUIS          ADDRESS ON FILE
GARCIA ALICEA, LUIS          ADDRESS ON FILE
GARCIA ALICEA, LUIS          ADDRESS ON FILE
GARCIA ALICEA, LUZ           ADDRESS ON FILE
GARCIA ALICEA, LUZ           ADDRESS ON FILE
GARCIA ALICEA, MANUEL        ADDRESS ON FILE
GARCIA ALICEA, MARCOS L.     ADDRESS ON FILE
GARCIA ALICEA, MARIA DEL C   ADDRESS ON FILE
GARCIA ALICEA, MARILYN       ADDRESS ON FILE
GARCIA ALICEA, MICHAEL       ADDRESS ON FILE
GARCIA ALICEA, RICARDO       ADDRESS ON FILE
GARCIA ALICEA, SANTIAGO      ADDRESS ON FILE
GARCIA ALICEA, VANESSA       ADDRESS ON FILE
Garcia Alicea, Victor M      ADDRESS ON FILE
GARCIA ALICEA, YOLANDA       ADDRESS ON FILE
GARCIA ALICEA,MICHAEL A.     ADDRESS ON FILE
GARCIA ALLENDE, ELSIE        ADDRESS ON FILE
GARCIA ALLENDE, ELSIE        ADDRESS ON FILE
GARCIA ALLENDE, KEYLA        ADDRESS ON FILE
GARCIA ALMENAS, MARYLIN      ADDRESS ON FILE
GARCIA ALMENAS, MARYLIN      ADDRESS ON FILE
GARCIA ALMENAS, MARYLIN      ADDRESS ON FILE
GARCIA ALMODOVAR, ANGEL      ADDRESS ON FILE
GARCIA ALMODOVAR, AWILDA     ADDRESS ON FILE
GARCIA ALMODOVAR, EDEL Y.    ADDRESS ON FILE
Garcia Almodovar, Luis A     ADDRESS ON FILE
GARCIA ALMODOVAR, MARIA      ADDRESS ON FILE
Garcia Almodovar, Maria Z    ADDRESS ON FILE
GARCIA ALMODOVAR, MARIA Z    ADDRESS ON FILE
Garcia Alonso, Kenneth       ADDRESS ON FILE
GARCIA ALONSO, MAYRA         ADDRESS ON FILE
GARCIA ALSINA, HISPANIA      ADDRESS ON FILE
GARCIA ALSINA, JAVIER J.     ADDRESS ON FILE
GARCIA ALVARADO, FELIX       ADDRESS ON FILE
GARCIA ALVARADO, FELIX       ADDRESS ON FILE
GARCIA ALVARADO, JOSE A      ADDRESS ON FILE




                                                                         Page 3070 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3071 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ALVARADO, JOSE A          ADDRESS ON FILE
GARCIA ALVARADO, JOSE D.         ADDRESS ON FILE
GARCIA ALVARADO, KEISHLA         ADDRESS ON FILE
GARCIA ALVARADO, MILAGROS        ADDRESS ON FILE
GARCIA ALVARADO, MILAGROS        ADDRESS ON FILE
GARCIA ALVARADO, NYDIA           ADDRESS ON FILE
GARCIA ALVARADO, RITA I          ADDRESS ON FILE
GARCIA ALVARADO, ROSSY           ADDRESS ON FILE
GARCIA ALVAREZ, AGNES T          ADDRESS ON FILE
GARCIA ALVAREZ, ANNA             ADDRESS ON FILE
Garcia Alvarez, Carlos J         ADDRESS ON FILE
GARCIA ALVAREZ, DIANA M          ADDRESS ON FILE
GARCIA ALVAREZ, EFRAIN W.        ADDRESS ON FILE
GARCIA ALVAREZ, FRANCISCO        ADDRESS ON FILE
Garcia Alvarez, Herminio         ADDRESS ON FILE
GARCIA ALVAREZ, JANET            ADDRESS ON FILE
GARCIA ALVAREZ, LINDA            ADDRESS ON FILE
GARCIA ALVAREZ, LINDA            ADDRESS ON FILE
GARCIA ALVAREZ, NILDA Y          ADDRESS ON FILE
GARCIA ALVAREZ, RAFAEL           ADDRESS ON FILE
GARCIA ALVAREZ, VIRGEN           ADDRESS ON FILE
GARCIA ALVAREZ, WANDA I          ADDRESS ON FILE
GARCIA ALVAREZ, YAMILETTE        ADDRESS ON FILE
GARCIA ALVELO, CARMEN A          ADDRESS ON FILE
GARCIA ALVELO, JONATHAN          ADDRESS ON FILE
GARCIA ALVERIO, CARLOS           ADDRESS ON FILE
GARCIA ALVIRA, YANIRA            ADDRESS ON FILE
GARCIA ALVIRA, YAZMIN            ADDRESS ON FILE
GARCIA AMADOR, JOSEFINA          ADDRESS ON FILE
GARCIA AMARO, ELBA I             ADDRESS ON FILE
GARCIA AMARO, ELBA I.            ADDRESS ON FILE
GARCIA AMARO, ELBIN              ADDRESS ON FILE
GARCIA AMARO, JOSE               ADDRESS ON FILE
GARCIA AMARO, WILLIAM            ADDRESS ON FILE
GARCIA AMEZQUITA, FRANCES        ADDRESS ON FILE
GARCIA ANDINO, BRENDA            ADDRESS ON FILE
GARCIA ANDINO, KEYLA M           ADDRESS ON FILE
GARCIA ANDINO, LEONARDO          ADDRESS ON FILE
GARCIA ANDINO, PETRA             ADDRESS ON FILE
GARCIA ANDINO, ROSA              ADDRESS ON FILE
Garcia Andino, Rosa N            ADDRESS ON FILE
GARCIA ANDINO, VICTOR            ADDRESS ON FILE
GARCIA ANDRADE FOY, ANTONIO      ADDRESS ON FILE
GARCIA ANDRADE FOY, PALOMA       ADDRESS ON FILE
GARCIA ANDRADE, MINERVA          ADDRESS ON FILE
GARCIA ANDUJAR, GRACIELA M       ADDRESS ON FILE
GARCIA ANES, RAYMOND             ADDRESS ON FILE
GARCIA ANESES, ANA L             ADDRESS ON FILE
GARCIA ANESES, RITA S.           ADDRESS ON FILE
Garcia Anglero, Galen N          ADDRESS ON FILE
GARCIA ANGLERO, MARIA DE LOS A   ADDRESS ON FILE
GARCIA ANGULO, ANGEL             ADDRESS ON FILE
GARCIA ANGULO, ANGEL L           ADDRESS ON FILE
GARCIA ANGULO, JESSIE            ADDRESS ON FILE
GARCIA ANTONGIORGI, ITZA E.      ADDRESS ON FILE
GARCIA ANTONGIORGI, JETXY        ADDRESS ON FILE
Garcia Antongiorgi, Onax F       ADDRESS ON FILE
GARCIA ANTONGIORGI, XAIT         ADDRESS ON FILE
GARCIA ANTONGIORGI, XAIT         ADDRESS ON FILE
GARCIA ANTUNA, RICARDO           ADDRESS ON FILE




                                                                             Page 3071 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3072 of 3500
                                                                              17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                  Address1                   Address2                                Address3   Address4   City         State   PostalCode   Country
GARCIA APONTE & QUINONES LLC   PO BOX 9295                                                                              SAN JUAN     PR      00908
GARCIA APONTE, AMADOR          ADDRESS ON FILE
Garcia Aponte, Angel F         ADDRESS ON FILE
GARCIA APONTE, ANNETTE         ADDRESS ON FILE
Garcia Aponte, Artemio         ADDRESS ON FILE
GARCIA APONTE, BLANCA I        ADDRESS ON FILE
GARCIA APONTE, IRIS            ADDRESS ON FILE
GARCIA APONTE, IVETTE M.       ADDRESS ON FILE
GARCIA APONTE, JUAN L.         ADDRESS ON FILE
GARCIA APONTE, NANETTE         ADDRESS ON FILE
GARCIA APONTE, NIVIA L         ADDRESS ON FILE
GARCIA APONTE, NYDIA I         ADDRESS ON FILE
GARCIA APONTE, PEDRO           ADDRESS ON FILE
GARCIA APONTE, RAFAEL          ADDRESS ON FILE
GARCIA APONTE, RICHE           ADDRESS ON FILE
GARCIA APONTE, SONIA           ADDRESS ON FILE
GARCIA APONTE, SONIA           ADDRESS ON FILE
GARCIA AQUINO, AIDA L.         ADDRESS ON FILE
Garcia Aquino, Jose            ADDRESS ON FILE
GARCIA ARANA, JASON            ADDRESS ON FILE
GARCIA ARBELO, JOSE            ADDRESS ON FILE
Garcia Arbona, Jose D.         ADDRESS ON FILE
GARCIA ARBONA, ORLANDO         ADDRESS ON FILE
GARCIA ARCE, ALEIDA            ADDRESS ON FILE
GARCIA ARCE, ALEIDA            ADDRESS ON FILE
GARCIA ARCE, BUENAVENTURA      ADDRESS ON FILE
GARCIA ARCE, CARLOS            ADDRESS ON FILE
GARCIA ARCE, CELIA             ADDRESS ON FILE
GARCIA ARCE, DOMINGO           ADDRESS ON FILE
GARCIA ARCE, HERIBERTO         ADDRESS ON FILE
GARCIA ARCE, MAEL              ADDRESS ON FILE
GARCIA ARCE, MARTA I           ADDRESS ON FILE
GARCIA ARCE, MIRTA             ADDRESS ON FILE
GARCIA ARCE,HERIBERTO          ADDRESS ON FILE
GARCIA ARCHILLA, AURELIO       ADDRESS ON FILE
GARCIA ARIAS, PASCUAL          ADDRESS ON FILE
GARCIA ARISTIZABAL, LUZ A.     ADDRESS ON FILE
GARCIA ARNALDI, JOSE           ADDRESS ON FILE
GARCIA AROCHO, CARMEN          ADDRESS ON FILE
GARCIA AROCHO, HERIBERTO       ADDRESS ON FILE
GARCIA AROCHO, INES M          ADDRESS ON FILE
Garcia Arocho, Mayra           ADDRESS ON FILE
GARCIA AROCHO, REINALDO        ADDRESS ON FILE
GARCIA AROCHO, REYNALDO        ADDRESS ON FILE
Garcia Arocho, Wanda           ADDRESS ON FILE
GARCIA ARQUINZONI, PABLO A     ADDRESS ON FILE
GARCIA ARREGUI & FULLANA       CITIBANK TOWERS STE 1101   252 AVE. PONCE DE LEON                                        HATO REY     PR      00918
GARCIA ARRIAGA, JISABEL        ADDRESS ON FILE
GARCIA ARRIETA, JOSUE          ADDRESS ON FILE
GARCIA ARROYO MD, MADELINE     ADDRESS ON FILE
GARCIA ARROYO, ANIBAL L        ADDRESS ON FILE
GARCIA ARROYO, BENJAMIN        ADDRESS ON FILE
GARCIA ARROYO, BIANCA          ADDRESS ON FILE
GARCIA ARROYO, CARMELO         ADDRESS ON FILE
GARCIA ARROYO, DENNISE M       ADDRESS ON FILE
GARCIA ARROYO, EDWIN N         ADDRESS ON FILE
Garcia Arroyo, Edwin R         ADDRESS ON FILE
GARCIA ARROYO, ELIZABETH       ADDRESS ON FILE
GARCIA ARROYO, ERICKA          ADDRESS ON FILE
GARCIA ARROYO, FELIX           ADDRESS ON FILE




                                                                                   Page 3072 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3073 of 3500
                                                                              17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                  Address1                          Address2                                  Address3      Address4   City      State   PostalCode   Country
GARCIA ARROYO, ISMAEL          ADDRESS ON FILE
Garcia Arroyo, Jose L          ADDRESS ON FILE
GARCIA ARROYO, KATHERINE       ADDRESS ON FILE
GARCIA ARROYO, LILIANA         ADDRESS ON FILE
GARCIA ARROYO, LUZ D           ADDRESS ON FILE
GARCIA ARROYO, MARITZA         ADDRESS ON FILE
GARCIA ARROYO, MATILDE         ADDRESS ON FILE
Garcia Arroyo, Naisha L        ADDRESS ON FILE
GARCIA ARROYO, ODALIS          ADDRESS ON FILE
GARCIA ARROYO, OMAR            ADDRESS ON FILE
Garcia Arroyo, Rafael A.       ADDRESS ON FILE
GARCIA ARROYO, ROSA J          ADDRESS ON FILE
GARCIA ARROYO, SANDRA          ADDRESS ON FILE
GARCIA ARROYO, SANDRA          ADDRESS ON FILE
GARCIA ARROYO, SANTOS          ADDRESS ON FILE
GARCIA ARROYO, SANTOS E.       ADDRESS ON FILE
GARCIA ARROYO, SARA I.         ADDRESS ON FILE
GARCIA ARVELO, MARIA           ADDRESS ON FILE
GARCIA ARZOLA, CARLOS          ADDRESS ON FILE
GARCÍA ARZOLA, CARMEN JULIA    LCDA. BÁRBARA J. NIEVES MERCADO   LCDA. BÁRBARA J. NIEVES MERCADO           PO BOX 2198              CAYEY     PR      00737
GARCÍA ARZOLA, CARMEN JULIA    LCDO. RICARDO ORTIZ MORALES       LCDO. RICARDO ORTIZ MORALES               PO BOX 1816              CAYEY     PR      00737‐1816
GARCIA ARZOLA, JONATHAN        ADDRESS ON FILE
GARCIA ARZOLA, JOSE            ADDRESS ON FILE
GARCIA ARZOLA, JOSE M          ADDRESS ON FILE
GARCIA ARZOLA, RUBEN           ADDRESS ON FILE
Garcia Arzola, Ruben A         ADDRESS ON FILE
GARCIA ARZUAGA, LUIS E.        ADDRESS ON FILE
GARCIA ARZUAGA, MARIA DE LOS   ADDRESS ON FILE
GARCIA ASTACIO, LIZETTE        ADDRESS ON FILE
GARCIA ASTACIO, LUIS A.        ADDRESS ON FILE
GARCIA ASTACIO, NOEL           ADDRESS ON FILE
GARCIA ASTACIO, ROSE E         ADDRESS ON FILE
GARCIA AULI, DIANA M           ADDRESS ON FILE
GARCIA AVENAUT, CARMEN         ADDRESS ON FILE
GARCIA AVILES, CYNTHIA         ADDRESS ON FILE
GARCIA AVILES, ENID            ADDRESS ON FILE
GARCIA AVILES, HERIBERTA       ADDRESS ON FILE
Garcia Aviles, Jesus M         ADDRESS ON FILE
GARCIA AVILES, JOSE            ADDRESS ON FILE
Garcia Aviles, Luis A          ADDRESS ON FILE
GARCIA AVILES, MARIA N.        ADDRESS ON FILE
GARCIA AVILES, NORKA           ADDRESS ON FILE
GARCIA AVILES, RUBEN           ADDRESS ON FILE
Garcia Ayala, Agustin          ADDRESS ON FILE
GARCIA AYALA, AGUSTIN          ADDRESS ON FILE
GARCIA AYALA, ANA              ADDRESS ON FILE
GARCIA AYALA, ANA MARILYN      ADDRESS ON FILE
Garcia Ayala, Beatriz E.       ADDRESS ON FILE
Garcia Ayala, Candido          ADDRESS ON FILE
GARCIA AYALA, ESTHER           ADDRESS ON FILE
GARCIA AYALA, GILBERTO         ADDRESS ON FILE
GARCIA AYALA, ILIANA           ADDRESS ON FILE
GARCIA AYALA, IRIS             ADDRESS ON FILE
GARCIA AYALA, JOSE             ADDRESS ON FILE
GARCIA AYALA, JOSEMARY         ADDRESS ON FILE
GARCIA AYALA, KYDIAN           ADDRESS ON FILE
GARCIA AYALA, LESLIE           ADDRESS ON FILE
GARCIA AYALA, LUIS A           ADDRESS ON FILE
GARCIA AYALA, MACKEY           ADDRESS ON FILE
GARCIA AYALA, MARIBEL          ADDRESS ON FILE




                                                                                            Page 3073 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3074 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA AYALA, NYLSA            ADDRESS ON FILE
GARCIA AYALA, OMAYRIS          ADDRESS ON FILE
Garcia Ayala, Ruben E          ADDRESS ON FILE
Garcia Ayala, Veronica P       ADDRESS ON FILE
GARCIA AYALA, YAIRA            ADDRESS ON FILE
GARCIA AYALA, YARILISSE        ADDRESS ON FILE
GARCIA AYUSO, FRANCISCO        ADDRESS ON FILE
GARCIA AYUSO, ISIS             ADDRESS ON FILE
GARCIA BACHILLER, YAMILKA      ADDRESS ON FILE
GARCIA BADILLO, RADAME         ADDRESS ON FILE
GARCIA BADILLO, RADAME         ADDRESS ON FILE
GARCIA BAEZ, BLESS             ADDRESS ON FILE
GARCIA BAEZ, CARLOS Z.         ADDRESS ON FILE
GARCIA BAEZ, ELVIN             ADDRESS ON FILE
GARCIA BAEZ, EMMANUEL          ADDRESS ON FILE
GARCIA BAEZ, JOEL              ADDRESS ON FILE
Garcia Baez, Jose L            ADDRESS ON FILE
GARCIA BAEZ, JUAN              ADDRESS ON FILE
GARCIA BAEZ, LOURDES L.        ADDRESS ON FILE
GARCIA BAEZ, LOYDA             ADDRESS ON FILE
GARCIA BAEZ, LUDY              ADDRESS ON FILE
GARCIA BAEZ, MILAGROS          ADDRESS ON FILE
GARCIA BAEZ, OFELIA            ADDRESS ON FILE
GARCIA BAEZ, TOMAS             ADDRESS ON FILE
GARCIA BARBOSA, SANTOS         ADDRESS ON FILE
GARCIA BARBOSA, TAMARA         ADDRESS ON FILE
GARCIA BARBOSA, VIRGEN         ADDRESS ON FILE
GARCIA BARBOSA, VIRGEN         ADDRESS ON FILE
GARCIA BARCELO, CRISTINA       ADDRESS ON FILE
GARCIA BARDALES, EMANUEL       ADDRESS ON FILE
GARCIA BARDALES, NOELIA M      ADDRESS ON FILE
GARCIA BAREA, ALICE E.         ADDRESS ON FILE
Garcia Barragan, Jose A.       ADDRESS ON FILE
GARCIA BARREIRA, EDWIN         ADDRESS ON FILE
GARCIA BARRERAS, MARIA         ADDRESS ON FILE
GARCIA BARRETO MD, LUIS        ADDRESS ON FILE
GARCIA BARRETO, ALEX           ADDRESS ON FILE
GARCIA BARRETO, CARMEN L.      ADDRESS ON FILE
GARCIA BARRETO, JUAN           ADDRESS ON FILE
GARCIA BARRETO, JUAN           ADDRESS ON FILE
Garcia Barreto, Nelson         ADDRESS ON FILE
GARCIA BARRETO, NICOLE M       ADDRESS ON FILE
Garcia Barreto, Samuel         ADDRESS ON FILE
GARCIA BARRIERA, LUDIM         ADDRESS ON FILE
GARCIA BARRIOS, JOSE           ADDRESS ON FILE
GARCIA BARRIOS, JOSE           ADDRESS ON FILE
GARCIA BARRIOS, MILAGROS DEL   ADDRESS ON FILE
GARCIA BARROS, IVONNE M.       ADDRESS ON FILE
GARCIA BARROSO, CARMEN         ADDRESS ON FILE
GARCIA BASABE,FELIX            ADDRESS ON FILE
Garcia Basora, Rafael          ADDRESS ON FILE
Garcia Batista, Jose Luis A    ADDRESS ON FILE
GARCIA BATISTA, SAUL           ADDRESS ON FILE
GARCIA BAYON, JESSICA          ADDRESS ON FILE
GARCIA BAYON, JOSE G           ADDRESS ON FILE
Garcia Bazan, Rafael           ADDRESS ON FILE
GARCIA BEITIA, MOISES A        ADDRESS ON FILE
GARCIA BELTRAN, ANA LUISA      ADDRESS ON FILE
GARCIA BELTRAN, CARLOS         ADDRESS ON FILE
GARCIA BELTRAN, CRUZ A         ADDRESS ON FILE




                                                                           Page 3074 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3075 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA BELTRAN, JOAQUIN         ADDRESS ON FILE
GARCIA BELTRAN, JOSE A          ADDRESS ON FILE
GARCIA BELTRAN, JUANA           ADDRESS ON FILE
GARCIA BELTRAN, MARIA E         ADDRESS ON FILE
GARCIA BELTRAN, SOLIMAR         ADDRESS ON FILE
GARCIA BELTRAN, YOLANDA         ADDRESS ON FILE
GARCIA BENEJAM, ELBA            ADDRESS ON FILE
GARCIA BENIQUE, GERARDA         ADDRESS ON FILE
GARCIA BENITEZ, ALEJANDRO       ADDRESS ON FILE
Garcia Benitez, Emmanuelie M.   ADDRESS ON FILE
GARCIA BENITEZ, LUIS            ADDRESS ON FILE
GARCIA BENITEZ, MARIANA         ADDRESS ON FILE
GARCIA BENITEZ, MARIANA         ADDRESS ON FILE
GARCIA BENITEZ, MARITZA         ADDRESS ON FILE
GARCIA BERMUDEZ, AIDA M         ADDRESS ON FILE
GARCIA BERMUDEZ, CARLOS R       ADDRESS ON FILE
GARCIA BERMUDEZ, FELIX          ADDRESS ON FILE
GARCIA BERMUDEZ, JONATHAN       ADDRESS ON FILE
GARCIA BERMUDEZ, JOSE           ADDRESS ON FILE
GARCIA BERMUDEZ, JOSE H.        ADDRESS ON FILE
GARCIA BERMUDEZ, JOSUE          ADDRESS ON FILE
GARCIA BERMUDEZ, LIXANED        ADDRESS ON FILE
GARCIA BERMUDEZ, MARINES        ADDRESS ON FILE
GARCIA BERMUDEZ, MIGUEL A.      ADDRESS ON FILE
GARCIA BERMUDEZ, RAMONITA       ADDRESS ON FILE
GARCIA BERMUDEZ, WALBERTO       ADDRESS ON FILE
GARCIA BERNABE, HILDA           ADDRESS ON FILE
GARCIA BERNABE, JOANSKA         ADDRESS ON FILE
GARCIA BERNABE, ROSAIMAR        ADDRESS ON FILE
GARCIA BERNABE, TANIA           ADDRESS ON FILE
GARCIA BERNAL, MANUEL           ADDRESS ON FILE
GARCIA BERNAL, MAYRA            ADDRESS ON FILE
GARCIA BERNAL,MAYRA             ADDRESS ON FILE
GARCIA BERRIOS, AMARILIS        ADDRESS ON FILE
GARCIA BERRIOS, EDGAR           ADDRESS ON FILE
GARCIA BERRIOS, EDNA            ADDRESS ON FILE
Garcia Berrios, Maria M         ADDRESS ON FILE
GARCIA BERRIOS, MARIA T         ADDRESS ON FILE
GARCIA BERRIOS, REINALDO        ADDRESS ON FILE
GARCIA BERRIOS, THALIA          ADDRESS ON FILE
GARCIA BERRIOS, ZULMA           ADDRESS ON FILE
GARCIA BESABE, FELIX            ADDRESS ON FILE
Garcia Betancourt, Carmen E     ADDRESS ON FILE
GARCIA BETANCOURT, DIANA R.     ADDRESS ON FILE
Garcia Betancourt, Josefa F     ADDRESS ON FILE
GARCIA BETANCOURT, NATANAEL     ADDRESS ON FILE
GARCIA BEZARES, ELIEZER         ADDRESS ON FILE
GARCIA BIRD, CHRISTIAN A        ADDRESS ON FILE
GARCIA BISONO, BENJAMIN         ADDRESS ON FILE
GARCIA BLANCO, ALEXANDRA        ADDRESS ON FILE
GARCIA BLANCO, ANA M            ADDRESS ON FILE
GARCIA BLANCO, MIRIAM           ADDRESS ON FILE
GARCIA BLANCO, RAFAEL           ADDRESS ON FILE
GARCIA BLANCO,LEGNA H.          ADDRESS ON FILE
GARCIA BLANCOVICH, SIMON        ADDRESS ON FILE
GARCIA BONANO, CARLOS R         ADDRESS ON FILE
GARCIA BONANO, DINOTCHKA        ADDRESS ON FILE
GARCIA BONHOMME, MAYRA I        ADDRESS ON FILE
Garcia Bonilla, Ariel           ADDRESS ON FILE
GARCIA BONILLA, ARIEL           ADDRESS ON FILE




                                                                            Page 3075 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3076 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA BONILLA, CANDELARIA      ADDRESS ON FILE
GARCIA BONILLA, CARLOS J.       ADDRESS ON FILE
GARCIA BONILLA, DANIEL          ADDRESS ON FILE
GARCIA BONILLA, DENISSE         ADDRESS ON FILE
GARCIA BONILLA, DENISSE         ADDRESS ON FILE
GARCIA BONILLA, DENISSE         ADDRESS ON FILE
GARCIA BONILLA, GLENDA L        ADDRESS ON FILE
GARCIA BONILLA, HECTOR L        ADDRESS ON FILE
GARCIA BONILLA, JAVIER          ADDRESS ON FILE
GARCIA BONILLA, JORGE L         ADDRESS ON FILE
GARCIA BONILLA, MARISEL         ADDRESS ON FILE
GARCIA BONILLA, RUTH M          ADDRESS ON FILE
GARCIA BONILLA, SUHEIL          ADDRESS ON FILE
GARCIA BONILLA, VLADIMIR        ADDRESS ON FILE
GARCIA BONILLA, WILFREDO        ADDRESS ON FILE
GARCIA BONILLA, ZAMALY          ADDRESS ON FILE
GARCIA BORDALLO, PRAMY          ADDRESS ON FILE
GARCIA BORGES, JOSE             ADDRESS ON FILE
GARCIA BORIA, LUIS RAFAEL       ADDRESS ON FILE
GARCIA BORRERO, ALEXYS          ADDRESS ON FILE
Garcia Borrero, Horacio         ADDRESS ON FILE
GARCIA BORRERO, HORACIO         ADDRESS ON FILE
GARCIA BORRERO, LUIS            ADDRESS ON FILE
GARCIA BORRERO, MAYRA I         ADDRESS ON FILE
GARCIA BORRERO, MONSERRATE      ADDRESS ON FILE
GARCIA BRAVO, LUZ M.            ADDRESS ON FILE
GARCIA BRAVO, WILSON            ADDRESS ON FILE
GARCIA BRENES, MARTA I          ADDRESS ON FILE
Garcia Brignoni, Maria Del C.   ADDRESS ON FILE
GARCIA BRIONES, AMELIA Z.       ADDRESS ON FILE
GARCIA BRISUENO, RAUL           ADDRESS ON FILE
GARCIA BRUCKMAN, OSCAR          ADDRESS ON FILE
GARCIA BRUCKMAN, ROCIO          ADDRESS ON FILE
GARCIA BRUNET, PAOLA            ADDRESS ON FILE
GARCIA BRUNO, GLADYS            ADDRESS ON FILE
GARCIA BRUNO, LINETTE           ADDRESS ON FILE
GARCIA BRUNO, LUZ MARIA         ADDRESS ON FILE
GARCIA BRUNO, TITO E            ADDRESS ON FILE
GARCIA BURGOS MD, JOSE O        ADDRESS ON FILE
GARCIA BURGOS, ANTONIO          ADDRESS ON FILE
GARCIA BURGOS, ARELYS           ADDRESS ON FILE
GARCIA BURGOS, CARLOS J         ADDRESS ON FILE
GARCIA BURGOS, CEFERINA         ADDRESS ON FILE
GARCIA BURGOS, DAMARIS          ADDRESS ON FILE
GARCIA BURGOS, EMERIDA          ADDRESS ON FILE
GARCIA BURGOS, EMILIA           ADDRESS ON FILE
GARCIA BURGOS, FRANCISCO        ADDRESS ON FILE
GARCIA BURGOS, FRANCISCO        ADDRESS ON FILE
Garcia Burgos, Francisco J      ADDRESS ON FILE
GARCIA BURGOS, ILLIAM M         ADDRESS ON FILE
GARCIA BURGOS, JOSE             ADDRESS ON FILE
GARCIA BURGOS, JOSE             ADDRESS ON FILE
GARCIA BURGOS, LUISA M          ADDRESS ON FILE
GARCIA BURGOS, MARILYN          ADDRESS ON FILE
GARCIA BURGOS, MAYRA            ADDRESS ON FILE
GARCIA BURGOS, NELIDA           ADDRESS ON FILE
GARCIA BURGOS, RAQUEL           ADDRESS ON FILE
GARCIA BURGOS, SONIA I          ADDRESS ON FILE
GARCIA BURGOS, TAMARYS          ADDRESS ON FILE
GARCIA BURGOS, VICTORIA         ADDRESS ON FILE




                                                                            Page 3076 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3077 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
GARCIA BURGOS, YAMIR            ADDRESS ON FILE
GARCIA BURGOS, YANIRA           ADDRESS ON FILE
GARCIA BURGOS, YOLANDA          ADDRESS ON FILE
GARCIA BURWOOD, MARIA           ADDRESS ON FILE
GARCIA BUS LINE INC.            HC‐03 BUZON 18310                                                                RIO GRANDE     PR      00745
Garcia Butler, Jaime            ADDRESS ON FILE
GARCIA CABALLERO, ANGEL M.      ADDRESS ON FILE
GARCIA CABALLERO, FRANCISCO     ADDRESS ON FILE
GARCIA CABALLERO, HECTOR        ADDRESS ON FILE
GARCÍA CABALLERO, MARIA ELENA   OSVALDO TOLEDO            PO BOX 190938                                          SAN JUAN       PR      00919
GARCIA CABAN, ELBENEZZER        ADDRESS ON FILE
GARCIA CABAN, ERVIN N           ADDRESS ON FILE
GARCIA CABAN, JONATHAN          ADDRESS ON FILE
GARCIA CABAN, JOSE JAVIER       ADDRESS ON FILE
GARCIA CABAN, LESLIE            ADDRESS ON FILE
GARCIA CABAN, MARGARITA G       ADDRESS ON FILE
Garcia Caban, Mark A            ADDRESS ON FILE
GARCIA CABAN, REINALDO          ADDRESS ON FILE
GARCIA CABAN,JOSUE              ADDRESS ON FILE
GARCIA CABEN, MARCOS            ADDRESS ON FILE
GARCIA CABRERA, ANSELMO         ADDRESS ON FILE
GARCIA CABRERA, BENJAMIN        ADDRESS ON FILE
GARCIA CABRERA, BRENDA L        ADDRESS ON FILE
GARCIA CABRERA, CARMEN R        ADDRESS ON FILE
GARCIA CABRERA, ELIZABETH       ADDRESS ON FILE
GARCIA CABRERA, GLADYS          ADDRESS ON FILE
Garcia Cabrera, Hector          ADDRESS ON FILE
GARCIA CABRERA, HECTOR          ADDRESS ON FILE
GARCIA CABRERA, JACKELINE       ADDRESS ON FILE
GARCIA CABRERA, LARISSA         ADDRESS ON FILE
GARCIA CABRERA, MAGALY          ADDRESS ON FILE
GARCIA CABRERA, MERCEDES        ADDRESS ON FILE
GARCIA CABRERA, MICKNELLY       ADDRESS ON FILE
GARCIA CABRERA, NILSA L         ADDRESS ON FILE
GARCIA CABRERA, OLGA E          ADDRESS ON FILE
GARCIA CABRERA, OMAYRA          ADDRESS ON FILE
GARCIA CABRERA, ZAMIYR          ADDRESS ON FILE
GARCIA CACERES, MILAGROS        ADDRESS ON FILE
GARCIA CACERES, RUBEN           ADDRESS ON FILE
GARCIA CACERES, YARELYS         ADDRESS ON FILE
GARCIA CACHO, JUAN              ADDRESS ON FILE
GARCIA CADIZ, CARMEN F          ADDRESS ON FILE
GARCIA CADIZ, MIGUEL A          ADDRESS ON FILE
GARCIA CADIZ, THEMIS A          ADDRESS ON FILE
GARCIA CADIZ, YAMAIRA           ADDRESS ON FILE
GARCIA CAEZ, JOSE               ADDRESS ON FILE
GARCIA CALCANO, SONIA           ADDRESS ON FILE
GARCIA CALDERON, AWILDA         ADDRESS ON FILE
GARCIA CALDERON, DAVID          ADDRESS ON FILE
GARCIA CALDERON, IVELISSE       ADDRESS ON FILE
GARCIA CALDERON, JESUS          ADDRESS ON FILE
GARCIA CALDERON, LUIS O.        ADDRESS ON FILE
GARCIA CALDERON, LUZ            ADDRESS ON FILE
GARCIA CALDERON, MANUEL D.      ADDRESS ON FILE
GARCIA CALDERON, MIGUEL         ADDRESS ON FILE
GARCIA CALDERON, MYRIAM I       ADDRESS ON FILE
GARCIA CALDERON, SANTOS         ADDRESS ON FILE
GARCIA CALDERON, THALIA         ADDRESS ON FILE
Garcia Calderon, William        ADDRESS ON FILE
GARCIA CALES, JUAN              ADDRESS ON FILE




                                                                            Page 3077 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3078 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA CALO, ABEL               ADDRESS ON FILE
GARCIA CALO, YAMIL              ADDRESS ON FILE
Garcia Camacho, Branys A.       ADDRESS ON FILE
GARCIA CAMACHO, CARLOS RUBEN    ADDRESS ON FILE
GARCIA CAMACHO, EDGAR           ADDRESS ON FILE
GARCIA CAMACHO, EVELYN          ADDRESS ON FILE
GARCIA CAMACHO, GILBERTO        ADDRESS ON FILE
GARCIA CAMACHO, GILBERTO        ADDRESS ON FILE
GARCIA CAMACHO, GLORYVEE        ADDRESS ON FILE
GARCIA CAMACHO, GRISELL         ADDRESS ON FILE
GARCIA CAMACHO, JORGE           ADDRESS ON FILE
GARCIA CAMACHO, LUIS            ADDRESS ON FILE
GARCIA CAMACHO, MARIA DEL C.    ADDRESS ON FILE
GARCIA CAMACHO, NOEL            ADDRESS ON FILE
GARCIA CAMACHO, OLGA I          ADDRESS ON FILE
GARCIA CAMACHO, ONILDA          ADDRESS ON FILE
GARCIA CAMACHO, PRINCESS K      ADDRESS ON FILE
GARCIA CAMACHO, RAFAEL A.       ADDRESS ON FILE
GARCIA CAMACHO, VIVIAN L        ADDRESS ON FILE
GARCIA CAMACHO, YAIZA           ADDRESS ON FILE
GARCIA CAMACHO, YAIZA T         ADDRESS ON FILE
GARCIA CAMACHO, YAMELIS         ADDRESS ON FILE
GARCIA CAMACHO, YANITZA         ADDRESS ON FILE
GARCIA CAMILO, DOLORES          ADDRESS ON FILE
GARCIA CAMILO, DOLORES          ADDRESS ON FILE
GARCIA CAMILO, DOLORES          ADDRESS ON FILE
GARCIA CAMPOS, FELIX            ADDRESS ON FILE
GARCIA CAMPOS, MIGUEL           ADDRESS ON FILE
GARCIA CANALES, CELIA           ADDRESS ON FILE
GARCIA CANAS, GABRIEL           ADDRESS ON FILE
GARCIA CANCEL, ANGEL            ADDRESS ON FILE
GARCIA CANCEL, ANIBAL           ADDRESS ON FILE
GARCIA CANCEL, CARMEN           ADDRESS ON FILE
GARCIA CANCEL, JOEL             ADDRESS ON FILE
GARCIA CANCEL, NOEL             ADDRESS ON FILE
GARCIA CANCEL, SERGIO           ADDRESS ON FILE
Garcia Cancel, Wilfredo         ADDRESS ON FILE
GARCIA CANCIO, MARIA            ADDRESS ON FILE
GARCIA CANCIO, SALVADOR         ADDRESS ON FILE
GARCIA CANDELARIA, ELBA I       ADDRESS ON FILE
GARCIA CANDELARIA, RAFAEL       ADDRESS ON FILE
GARCIA CANDELARIA, SOL          ADDRESS ON FILE
GARCIA CANDELARIO, ANA I        ADDRESS ON FILE
GARCIA CANDELARIO, BIENVENIDO   ADDRESS ON FILE
GARCIA CANS, JOSEPH             ADDRESS ON FILE
GARCIA CANTRE, CARMEN J.        ADDRESS ON FILE
Garcia Cantre, Claudio          ADDRESS ON FILE
GARCIA CANTRES, AIDA            ADDRESS ON FILE
GARCIA CANTRES, SANTOS          ADDRESS ON FILE
GARCIA CAPELES, ANGEL           ADDRESS ON FILE
GARCIA CAPELES, JOSE            ADDRESS ON FILE
Garcia Capeles, Mariellie       ADDRESS ON FILE
GARCIA CARABALLO, AIDA          ADDRESS ON FILE
GARCIA CARABALLO, CORALY        ADDRESS ON FILE
GARCIA CARABALLO, EDGARDO       ADDRESS ON FILE
Garcia Caraballo, Elliot N.     ADDRESS ON FILE
GARCIA CARABALLO, MAGALI        ADDRESS ON FILE
GARCIA CARABALLO, RAFAEL        ADDRESS ON FILE
GARCIA CARAMBOT, MIRIAM         ADDRESS ON FILE
GARCIA CARBONELL, JAISHA M      ADDRESS ON FILE




                                                                            Page 3078 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3079 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA CARCIA, EDWIN              ADDRESS ON FILE
GARCIA CARDONA, EDGARDO           ADDRESS ON FILE
GARCIA CARDONA, HADENER           ADDRESS ON FILE
GARCIA CARDONA, HENRY             ADDRESS ON FILE
GARCIA CARDONA, HENRY             ADDRESS ON FILE
GARCIA CARDONA, JUAN ANTONIO      ADDRESS ON FILE
GARCIA CARDONA, LUCILA            ADDRESS ON FILE
GARCIA CARDONA, NESTOR A          ADDRESS ON FILE
GARCIA CARDONA, NOEMI             ADDRESS ON FILE
GARCIA CARDONA, ORLANDO           ADDRESS ON FILE
Garcia Cardona, Sergio            ADDRESS ON FILE
GARCIA CARDONA, SONIA             ADDRESS ON FILE
GARCIA CARDONA, WILLIAM           ADDRESS ON FILE
GARCIA CARDOZA, ALICE A           ADDRESS ON FILE
GARCIA CARLO, BLANCA M            ADDRESS ON FILE
GARCIA CARLO, GADIER              ADDRESS ON FILE
GARCIA CARLO, GEORGINA            ADDRESS ON FILE
Garcia Carlo, Jesus M             ADDRESS ON FILE
GARCIA CARLO, JORGE               ADDRESS ON FILE
GARCIA CARLO, YOLANDA             ADDRESS ON FILE
GARCIA CARMONA, JOEL              ADDRESS ON FILE
GARCIA CARMONA, STEPHANIE E       ADDRESS ON FILE
GARCIA CARRASCO, CARMEN           ADDRESS ON FILE
GARCIA CARRASQUILLO, ALBERTO      ADDRESS ON FILE
GARCIA CARRASQUILLO, ANA L        ADDRESS ON FILE
GARCIA CARRASQUILLO, ANA L.       ADDRESS ON FILE
GARCIA CARRASQUILLO, EDGAR        ADDRESS ON FILE
GARCIA CARRASQUILLO, ELIZABETH    ADDRESS ON FILE
GARCIA CARRASQUILLO, GABRIEL      ADDRESS ON FILE
GARCIA CARRASQUILLO, GABRIEL      ADDRESS ON FILE
GARCIA CARRASQUILLO, GLORIA       ADDRESS ON FILE
GARCIA CARRASQUILLO, JORGE        ADDRESS ON FILE
GARCIA CARRASQUILLO, JORGE        ADDRESS ON FILE
GARCIA CARRASQUILLO, JORGE        ADDRESS ON FILE
Garcia Carrasquillo, Jose         ADDRESS ON FILE
GARCIA CARRASQUILLO, JOSE A       ADDRESS ON FILE
GARCIA CARRASQUILLO, JOSE M.      ADDRESS ON FILE
GARCIA CARRASQUILLO, JUAN         ADDRESS ON FILE
GARCIA CARRASQUILLO, MARLA        ADDRESS ON FILE
GARCIA CARRASQUILLO, MIGUEL       ADDRESS ON FILE
GARCIA CARRASQUILLO, NYDIA        ADDRESS ON FILE
GARCIA CARRASQUILLO, SAMUEL       ADDRESS ON FILE
GARCIA CARRASQUILLO, SANTA        ADDRESS ON FILE
GARCIA CARRASQUILLO, ZAIDA        ADDRESS ON FILE
GARCIA CARRERAS, ELIZABETH        ADDRESS ON FILE
GARCIA CARRERO, ALICIA            ADDRESS ON FILE
GARCIA CARRERO, CRISTINA          ADDRESS ON FILE
GARCIA CARRERO, JOSE              ADDRESS ON FILE
GARCIA CARRERO, RAMON L           ADDRESS ON FILE
GARCIA CARRILLO, LILLIAN C        ADDRESS ON FILE
Garcia Carrillo, Lillian Del C.   ADDRESS ON FILE
GARCIA CARRILLO, MYRNA            ADDRESS ON FILE
GARCIA CARRILLO, PEDRO L          ADDRESS ON FILE
GARCIA CARRION, ANA HILDA         ADDRESS ON FILE
GARCIA CARRION, EBENEZER          ADDRESS ON FILE
GARCIA CARRION, EUGENIO           ADDRESS ON FILE
GARCIA CARRION, MARIA A           ADDRESS ON FILE
GARCIA CARRION, MARIA DE LOS A    ADDRESS ON FILE
GARCIA CARRION, MARIA M           ADDRESS ON FILE
GARCIA CARRION, MARITZA           ADDRESS ON FILE




                                                                              Page 3079 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3080 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA CARRION, WILMA Y        ADDRESS ON FILE
GARCIA CARRION, YANITZA        ADDRESS ON FILE
GARCIA CARRION, ZORAIDA        ADDRESS ON FILE
GARCIA CARRUCINI, ALEXIS       ADDRESS ON FILE
GARCIA CARTAGENA, DAVID        ADDRESS ON FILE
Garcia Cartagena, Harold       ADDRESS ON FILE
GARCIA CARTAGENA, HECTOR R.    ADDRESS ON FILE
GARCIA CARTAGENA, KERBIN       ADDRESS ON FILE
GARCIA CARTAGENA, LUIS M.      ADDRESS ON FILE
GARCIA CARTAGENA, MARLENE V    ADDRESS ON FILE
GARCIA CARTAGENA, SANTA        ADDRESS ON FILE
GARCIA CARTAGENA, TIMOTHY A.   ADDRESS ON FILE
GARCIA CASADO, JUAN M          ADDRESS ON FILE
GARCIA CASALDUC, MARGARITA C   ADDRESS ON FILE
Garcia Casanova, Carlos        ADDRESS ON FILE
Garcia Casanova, Rudy          ADDRESS ON FILE
GARCIA CASIANO, EDWIN O        ADDRESS ON FILE
GARCIA CASIANO, GILBERTO       ADDRESS ON FILE
GARCIA CASIANO, GONZALO        ADDRESS ON FILE
GARCIA CASIANO, MARIA          ADDRESS ON FILE
GARCIA CASILLAS, AHYRA         ADDRESS ON FILE
GARCIA CASILLAS, ITAMAR        ADDRESS ON FILE
GARCIA CASILLAS, ITAMAR I.     ADDRESS ON FILE
GARCIA CASILLAS, LUZ E         ADDRESS ON FILE
Garcia Casillas, Yamilet       ADDRESS ON FILE
GARCIA CASILLAS, YAMILET       ADDRESS ON FILE
GARCIA CASTANEDA, RAFAEL       ADDRESS ON FILE
GARCIA CASTELLANO, ANNETTE     ADDRESS ON FILE
GARCIA CASTELLANO, ANNETTE     ADDRESS ON FILE
GARCIA CASTELLANO, ANNETTE     ADDRESS ON FILE
GARCIA CASTELLANO, RAFAEL      ADDRESS ON FILE
GARCIA CASTILLO, ENEIDA        ADDRESS ON FILE
GARCIA CASTILLO, MIGUEL        ADDRESS ON FILE
GARCIA CASTRO, CARMEN M        ADDRESS ON FILE
GARCIA CASTRO, EVELYN          ADDRESS ON FILE
GARCIA CASTRO, FLORENTINA      ADDRESS ON FILE
Garcia Castro, Irene           ADDRESS ON FILE
GARCIA CASTRO, IVONNE          ADDRESS ON FILE
GARCIA CASTRO, JOSE            ADDRESS ON FILE
GARCIA CASTRO, JUAN            ADDRESS ON FILE
Garcia Castro, Luis A          ADDRESS ON FILE
GARCIA CASTRO, MANUEL          ADDRESS ON FILE
GARCIA CASTRO, MANUEL          ADDRESS ON FILE
GARCIA CASTRO, MARIA E         ADDRESS ON FILE
GARCIA CASTRO, MARIA F         ADDRESS ON FILE
GARCIA CASTRO, MARIBEL         ADDRESS ON FILE
GARCIA CASTRO, MIRIAM          ADDRESS ON FILE
Garcia Castro, Omar            ADDRESS ON FILE
GARCIA CASTRO, OMAR            ADDRESS ON FILE
GARCIA CASTRO, PERY ANN        ADDRESS ON FILE
GARCIA CASTRO, TANIA M         ADDRESS ON FILE
GARCIA CASTRO, TANIA M         ADDRESS ON FILE
GARCIA CASTRO, VIVIAN F        ADDRESS ON FILE
GARCIA CATALA, CONSTANTINO     ADDRESS ON FILE
GARCIA CATALA, GISELLE         ADDRESS ON FILE
GARCIA CATALAN MD, NALIX       ADDRESS ON FILE
GARCIA CATALAN, ITZEL          ADDRESS ON FILE
GARCIA CEBALLOS, NESTOR G.     ADDRESS ON FILE
GARCIA CEBALLOS, VIVIAN C.     ADDRESS ON FILE
GARCIA CEBOLLERO, WILLIAM      ADDRESS ON FILE




                                                                           Page 3080 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3081 of 3500
                                                                               17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                   Address1                  Address2                                      Address3   Address4   City         State   PostalCode   Country
GARCIA CEDEDA, CARLOS           ADDRESS ON FILE
GARCIA CEDENO, ANA V            ADDRESS ON FILE
Garcia Cedeno, Ruth M           ADDRESS ON FILE
GARCIA CENTENO, GUDELIA         ADDRESS ON FILE
GARCIA CENTURION, JOSETTE       ADDRESS ON FILE
Garcia Cepeda, Juan R           ADDRESS ON FILE
GARCIA CEPEDA, LUIS             ADDRESS ON FILE
GARCIA CEPERO, HERIBERTO        ADDRESS ON FILE
GARCIA CERVANTES, JAVIER        ADDRESS ON FILE
GARCIA CESAREO, JENNIFER        ADDRESS ON FILE
GARCIA CESPEDES INSURANCE INC   P O BOX 191628                                                                                SAN JUAN     PR      00919‐1628
GARCIA CHACON, MARIA            ADDRESS ON FILE
GARCIA CHACON, MINERVA          ADDRESS ON FILE
GARCIA CHAMORRO LAW GROUP PSC   1606 AVE PONCE DE LEON    EDIF JULIO BOGORICIN SUITE 900                                      SAN JUAN     PR      00909
GARCIA CHAMORRO LAW GROUP PSC   33 CALLE BOLIVIA          SUITE 701                                                           SAN JUAN     PR      00917
GARCIA CHAMORRO, EDUARDO        ADDRESS ON FILE
GARCIA CHAMORRO, EDUARDO        ADDRESS ON FILE
GARCIA CHAMORRO, NESTOR L       ADDRESS ON FILE
GARCIA CHAPARRO, ABIMAEL        ADDRESS ON FILE
GARCIA CHAPARRO, ENRIQUE        ADDRESS ON FILE
GARCIA CHAPARRO, JAVIER         ADDRESS ON FILE
GARCIA CHARON, ANGELICK         ADDRESS ON FILE
GARCIA CHARRIEZ, MARIBEL        ADDRESS ON FILE
GARCIA CHARRIEZ, RICHARD        ADDRESS ON FILE
GARCIA CHEVERE, CARMEN M        ADDRESS ON FILE
GARCIA CHRISTIAN, VICTOR        ADDRESS ON FILE
GARCIA CINTRON, AGAPITO         ADDRESS ON FILE
GARCIA CINTRON, ANA             ADDRESS ON FILE
GARCIA CINTRON, CESAR           ADDRESS ON FILE
GARCIA CINTRON, EUGENIO         ADDRESS ON FILE
GARCIA CINTRON, JOSE            ADDRESS ON FILE
GARCIA CINTRON, LUZ DEL C.      ADDRESS ON FILE
GARCIA CINTRON, MARIA DE LOS    ADDRESS ON FILE
GARCIA CINTRON, MIGUEL          ADDRESS ON FILE
GARCIA CINTRON, ROSA E          ADDRESS ON FILE
GARCIA CINTRON, YAMILETTE       ADDRESS ON FILE
GARCIA CIRCUNS, CARMEN          ADDRESS ON FILE
Garcia Cirilo, Wanda            ADDRESS ON FILE
GARCIA CIURO, JORGE             ADDRESS ON FILE
GARCIA CIVIDANES, ZAILIME       ADDRESS ON FILE
GARCIA CIVIDANES, ZENAIREE      ADDRESS ON FILE
GARCIA CLARA, JUDY              ADDRESS ON FILE
GARCIA CLASS, VICTOR H          ADDRESS ON FILE
GARCIA CLAUDIO, BEVELY          ADDRESS ON FILE
GARCIA CLAUDIO, MARIA M         ADDRESS ON FILE
GARCIA CLAUDIO, MERCEDES        ADDRESS ON FILE
GARCIA CLAUDIO, RAFAEL L.       ADDRESS ON FILE
GARCIA CLEMENTE, CARLOS         ADDRESS ON FILE
GARCIA CLEMENTE, MARILYN        ADDRESS ON FILE
GARCIA COLL, CYNTHIA            ADDRESS ON FILE
GARCIA COLLAZO, CHRISTIAN       ADDRESS ON FILE
GARCIA COLLAZO, EDWIN           ADDRESS ON FILE
GARCIA COLLAZO, JOSE A          ADDRESS ON FILE
GARCIA COLLAZO, JOSE R          ADDRESS ON FILE
GARCIA COLLAZO, JUAN A.         ADDRESS ON FILE
GARCIA COLLAZO, NANCY M         ADDRESS ON FILE
GARCIA COLLAZO, PEDRO A         ADDRESS ON FILE
GARCIA COLOM, ERLINDA           ADDRESS ON FILE
GARCIA COLON MD, MARIBEL        ADDRESS ON FILE
GARCIA COLON MD, RAFAEL         ADDRESS ON FILE




                                                                                       Page 3081 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3082 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA COLON, ABIU ABNER    ADDRESS ON FILE
GARCIA COLON, ADRIAN        ADDRESS ON FILE
GARCIA COLON, AIDA          ADDRESS ON FILE
GARCIA COLON, AIRAM         ADDRESS ON FILE
Garcia Colon, Alex          ADDRESS ON FILE
GARCIA COLON, ALMA R        ADDRESS ON FILE
GARCIA COLON, ANGEL         ADDRESS ON FILE
GARCIA COLON, ANGEL         ADDRESS ON FILE
GARCIA COLON, ANTONIO       ADDRESS ON FILE
GARCIA COLON, AUREA         ADDRESS ON FILE
GARCIA COLON, BARBARA       ADDRESS ON FILE
Garcia Colon, Barnaby       ADDRESS ON FILE
GARCIA COLON, BETZAIDA      ADDRESS ON FILE
GARCIA COLON, CARLOS        ADDRESS ON FILE
GARCIA COLON, CARLOS        ADDRESS ON FILE
GARCIA COLON, CARMEN        ADDRESS ON FILE
Garcia Colon, Carmen D.     ADDRESS ON FILE
GARCIA COLON, CLAUDIA       ADDRESS ON FILE
GARCIA COLON, DANIEL        ADDRESS ON FILE
GARCIA COLON, DELY          ADDRESS ON FILE
GARCIA COLON, DENISE        ADDRESS ON FILE
GARCIA COLON, DENNIS        ADDRESS ON FILE
GARCIA COLON, EDGARDO A.    ADDRESS ON FILE
GARCIA COLON, EDNA          ADDRESS ON FILE
GARCIA COLON, EDNA I        ADDRESS ON FILE
GARCIA COLON, ELBA          ADDRESS ON FILE
GARCIA COLON, ELENA         ADDRESS ON FILE
GARCIA COLON, ELIZABETH     ADDRESS ON FILE
GARCIA COLON, ELIZABETH     ADDRESS ON FILE
GARCIA COLON, EVE           ADDRESS ON FILE
GARCIA COLON, FELIX L       ADDRESS ON FILE
GARCIA COLON, FLORENCIO D   ADDRESS ON FILE
GARCIA COLON, FRANCES L     ADDRESS ON FILE
Garcia Colon, Francisco     ADDRESS ON FILE
GARCIA COLON, GERTRUDIS     ADDRESS ON FILE
GARCIA COLON, GLADYS        ADDRESS ON FILE
GARCIA COLON, GUILLERMO     ADDRESS ON FILE
GARCIA COLON, HIPOLITO      ADDRESS ON FILE
GARCIA COLON, IGNA          ADDRESS ON FILE
GARCIA COLON, IGNA          ADDRESS ON FILE
GARCIA COLON, JENNIFER      ADDRESS ON FILE
GARCIA COLON, JONATHAN      ADDRESS ON FILE
GARCIA COLON, JOSE          ADDRESS ON FILE
GARCIA COLON, JOSE          ADDRESS ON FILE
GARCIA COLON, JOSE          ADDRESS ON FILE
GARCIA COLON, JOSE          ADDRESS ON FILE
GARCIA COLON, JOSE A        ADDRESS ON FILE
Garcia Colon, Jose A.       ADDRESS ON FILE
Garcia Colon, Jose Del R    ADDRESS ON FILE
GARCIA COLON, JOSE E        ADDRESS ON FILE
GARCIA COLON, JOSE FELIPE   ADDRESS ON FILE
GARCIA COLON, JOSE JAVIER   ADDRESS ON FILE
GARCIA COLON, JOSE R        ADDRESS ON FILE
GARCIA COLON, JOSEPH E      ADDRESS ON FILE
GARCIA COLON, JULEYSKA      ADDRESS ON FILE
GARCIA COLON, KEILA         ADDRESS ON FILE
GARCIA COLON, KELVIN        ADDRESS ON FILE
Garcia Colon, Lennis M.     ADDRESS ON FILE
GARCIA COLON, LIGIA         ADDRESS ON FILE
GARCIA COLON, LILLIAM       ADDRESS ON FILE




                                                                        Page 3082 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3083 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA COLON, LIONEL           ADDRESS ON FILE
GARCIA COLON, LUZ M            ADDRESS ON FILE
GARCIA COLON, MANUEL           ADDRESS ON FILE
Garcia Colon, Maria H          ADDRESS ON FILE
GARCIA COLON, MARIBEL          ADDRESS ON FILE
GARCIA COLON, MONICA           ADDRESS ON FILE
GARCIA COLON, NERYBEL          ADDRESS ON FILE
GARCIA COLON, NERYBEL          ADDRESS ON FILE
GARCIA COLON, NOEMI            ADDRESS ON FILE
GARCIA COLON, ODALIS           ADDRESS ON FILE
GARCIA COLON, ORLANDO          ADDRESS ON FILE
GARCIA COLON, OSCAR            ADDRESS ON FILE
GARCIA COLON, RAFAEL           ADDRESS ON FILE
GARCIA COLON, RAFAEL           ADDRESS ON FILE
GARCIA COLON, RAFAEL           ADDRESS ON FILE
GARCIA COLON, RAMON            ADDRESS ON FILE
GARCIA COLON, RAUL             ADDRESS ON FILE
GARCIA COLON, RAYMOND JOSE     ADDRESS ON FILE
GARCIA COLON, REYNALDO         ADDRESS ON FILE
GARCIA COLON, RICARDO          ADDRESS ON FILE
GARCIA COLON, ROBERTO CARLO    ADDRESS ON FILE
GARCIA COLON, ROBERTO LUIS     ADDRESS ON FILE
GARCIA COLON, ROSA M           ADDRESS ON FILE
GARCIA COLON, ROSA V.          ADDRESS ON FILE
GARCIA COLON, RUTH             ADDRESS ON FILE
GARCIA COLON, RUTH             ADDRESS ON FILE
GARCIA COLON, RUTH M           ADDRESS ON FILE
GARCIA COLON, SONIA E.         ADDRESS ON FILE
GARCIA COLON, STEVEN           ADDRESS ON FILE
GARCIA COLON, VERONICA         ADDRESS ON FILE
Garcia Colon, Waldemar         ADDRESS ON FILE
Garcia Colon, Waleska E.       ADDRESS ON FILE
GARCIA COLON, WANDA I          ADDRESS ON FILE
GARCIA COLON, WILLIAM          ADDRESS ON FILE
GARCIA COLON, WILMA L          ADDRESS ON FILE
GARCIA COLON, ZOE G            ADDRESS ON FILE
GARCIA COLON, ZURIELY          ADDRESS ON FILE
GARCIA COMULADA, NELLY         ADDRESS ON FILE
GARCIA CONCEPCION, ERIC        ADDRESS ON FILE
Garcia Concepcion, Evelyn      ADDRESS ON FILE
Garcia Concepcion, Fernando    ADDRESS ON FILE
Garcia Concepcion, Francisco   ADDRESS ON FILE
GARCIA CONCEPCION, FRANCISCO   ADDRESS ON FILE
GARCIA CONCEPCION, FRANCISCO   ADDRESS ON FILE
GARCIA CONCEPCION, JOSE        ADDRESS ON FILE
Garcia Concepcion, Jose L      ADDRESS ON FILE
GARCIA CONCEPCION, JUAN        ADDRESS ON FILE
GARCIA CONCEPCION, MABEL       ADDRESS ON FILE
GARCIA CONCEPCION, OLGA I      ADDRESS ON FILE
GARCIA CONCEPCION, WANDA I     ADDRESS ON FILE
GARCIA CONCEPCION, WILLIAM     ADDRESS ON FILE
GARCIA CONDE, VICTOR           ADDRESS ON FILE
GARCIA CONTRERA, ANGELA        ADDRESS ON FILE
GARCIA CONTRERA, ANGELA        ADDRESS ON FILE
GARCIA CONTRERAS, JUAN         ADDRESS ON FILE
GARCIA CORA, MIGUEL            ADDRESS ON FILE
GARCIA CORA, MIGUEL            ADDRESS ON FILE
GARCIA CORA, MIGUEL            ADDRESS ON FILE
Garcia Cora, Miguel A          ADDRESS ON FILE
GARCIA CORALES, ADA A          ADDRESS ON FILE




                                                                           Page 3083 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3084 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA CORCHADO, IDALMIS       ADDRESS ON FILE
Garcia Cordero, Ada M.         ADDRESS ON FILE
GARCIA CORDERO, EVELYN         ADDRESS ON FILE
GARCIA CORDERO, GLADYS         ADDRESS ON FILE
GARCIA CORDERO, JESSICA        ADDRESS ON FILE
GARCIA CORDERO, RICHARD        ADDRESS ON FILE
GARCIA CORDERO, WILFREDO       ADDRESS ON FILE
GARCIA CORDERO, ZULMA I        ADDRESS ON FILE
GARCIA CORDOVA, AMPARO         ADDRESS ON FILE
GARCIA CORDOVA, CARLOS         ADDRESS ON FILE
GARCIA CORDOVA, ENRIQUE        ADDRESS ON FILE
GARCIA CORDOVA, HAROLD E.      ADDRESS ON FILE
GARCIA CORDOVA, HECTOR         ADDRESS ON FILE
GARCIA CORDOVA, MIRIAM         ADDRESS ON FILE
GARCIA CORDOVA, OLGA I         ADDRESS ON FILE
GARCIA CORDOVA, VIVIAN I.      ADDRESS ON FILE
GARCIA CORE, ALEXANDER         ADDRESS ON FILE
GARCIA CORREA, ADA             ADDRESS ON FILE
GARCIA CORREA, ANGEL A.        ADDRESS ON FILE
GARCIA CORREA, CARMEN          ADDRESS ON FILE
GARCIA CORREA, CARMEN P        ADDRESS ON FILE
Garcia Correa, Catherine       ADDRESS ON FILE
GARCIA CORREA, CATHERINE       ADDRESS ON FILE
GARCIA CORREA, DORIS M         ADDRESS ON FILE
GARCIA CORREA, EDELMIRA        ADDRESS ON FILE
GARCIA CORREA, EDGAR           ADDRESS ON FILE
GARCIA CORREA, EILAT S         ADDRESS ON FILE
GARCIA CORREA, ELISHA          ADDRESS ON FILE
GARCIA CORREA, ELISHA M.       ADDRESS ON FILE
GARCIA CORREA, HECTOR          ADDRESS ON FILE
GARCIA CORREA, MARIA           ADDRESS ON FILE
GARCIA CORREA, MARIA DE L      ADDRESS ON FILE
GARCIA CORREA, MARIA DE L      ADDRESS ON FILE
GARCIA CORREA, ROSA DE         ADDRESS ON FILE
GARCIA CORREA, TATIANA         ADDRESS ON FILE
GARCIA CORREA, VICMA           ADDRESS ON FILE
GARCIA CORREA, VICMA E.        ADDRESS ON FILE
GARCIA CORTES, AIDA            ADDRESS ON FILE
GARCIA CORTES, ANA C           ADDRESS ON FILE
GARCIA CORTES, BETHZAIDA       ADDRESS ON FILE
GARCIA CORTES, BLANCA          ADDRESS ON FILE
GARCIA CORTES, ERIC            ADDRESS ON FILE
Garcia Cortes, Ernesto         ADDRESS ON FILE
GARCIA CORTES, ERNESTO         ADDRESS ON FILE
GARCIA CORTES, GUILLERMO       ADDRESS ON FILE
GARCIA CORTES, HECTOR          ADDRESS ON FILE
GARCIA CORTES, JORGE           ADDRESS ON FILE
GARCIA CORTES, LUIS            ADDRESS ON FILE
GARCIA CORTES, LUZ M.          ADDRESS ON FILE
GARCIA CORTES, LUZ M.          ADDRESS ON FILE
GARCIA CORTES, MANUEL          ADDRESS ON FILE
GARCIA CORTES, MARGARITA       ADDRESS ON FILE
GARCIA CORTES, MAY LYNN        ADDRESS ON FILE
GARCIA CORTES, MYRIAM A        ADDRESS ON FILE
GARCIA CORTES, NELLIE ESTHER   ADDRESS ON FILE
Garcia Cortes, Pedro O         ADDRESS ON FILE
GARCIA CORTES, RAUL            ADDRESS ON FILE
GARCIA CORTES, RAUL            ADDRESS ON FILE
GARCIA CORTIJO, ETHEL M        ADDRESS ON FILE
GARCIA CORTON, GLENDALYS       ADDRESS ON FILE




                                                                           Page 3084 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3085 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA CORUJO, FRANCHESKA      ADDRESS ON FILE
GARCIA COSCULLUELA, EDUARDO    ADDRESS ON FILE
GARCIA COSME, CRUZ D           ADDRESS ON FILE
GARCIA COSME, JEANNIE          ADDRESS ON FILE
GARCIA COSME, YANIRA           ADDRESS ON FILE
GARCIA COSS, IRVIN O           ADDRESS ON FILE
GARCIA COSTE, FRANCISCO        ADDRESS ON FILE
GARCIA COTTO, AIDA             ADDRESS ON FILE
GARCIA COTTO, ALVARO           ADDRESS ON FILE
GARCIA COTTO, AUREA E          ADDRESS ON FILE
GARCIA COTTO, CARMELO          ADDRESS ON FILE
GARCIA COTTO, DEBBIE           ADDRESS ON FILE
GARCIA COTTO, EDGAR            ADDRESS ON FILE
GARCIA COTTO, EDWARD           ADDRESS ON FILE
Garcia Cotto, Fredy            ADDRESS ON FILE
GARCIA COTTO, GABRIEL          ADDRESS ON FILE
GARCIA COTTO, LETICIA          ADDRESS ON FILE
GARCIA COTTO, MARIA DE LOS A   ADDRESS ON FILE
GARCIA COTTO, MARIBEL          ADDRESS ON FILE
GARCIA COTTO, MARIBEL          ADDRESS ON FILE
GARCIA COTTO, PABLO            ADDRESS ON FILE
GARCIA COTTO, QUETCY           ADDRESS ON FILE
GARCIA COTTO, QUETCY I         ADDRESS ON FILE
GARCIA COTTO, ZORAIDA          ADDRESS ON FILE
GARCIA COURT, JOSE             ADDRESS ON FILE
GARCIA COVAS, KELLY            ADDRESS ON FILE
GARCIA CREITOFF, NELSON I      ADDRESS ON FILE
GARCIA CRESCIONI, ARTHUR       ADDRESS ON FILE
GARCIA CRESCIONI, KEYLA        ADDRESS ON FILE
Garcia Crespo, Elvin D.        ADDRESS ON FILE
GARCIA CRESPO, FRANCES         ADDRESS ON FILE
GARCIA CRESPO, GLORIA          ADDRESS ON FILE
GARCIA CRESPO, HIPOLITA        ADDRESS ON FILE
GARCIA CRESPO, JAIME           ADDRESS ON FILE
GARCIA CRESPO, LILLIAN         ADDRESS ON FILE
GARCIA CRESPO, LINDA ARAMIS    ADDRESS ON FILE
GARCIA CRESPO, MARITZA         ADDRESS ON FILE
GARCIA CRESPO, RAMON           ADDRESS ON FILE
GARCIA CRESPO, ROSALYN         ADDRESS ON FILE
GARCIA CRESPO, TATIANAK        ADDRESS ON FILE
Garcia Crespo, William         ADDRESS ON FILE
GARCIA CRESPO, ZORAIDA         ADDRESS ON FILE
GARCIA CRUCETA, JOSE P         ADDRESS ON FILE
GARCIA CRUZ MD, FERNANDO A     ADDRESS ON FILE
GARCIA CRUZ, ABELARDO D        ADDRESS ON FILE
GARCIA CRUZ, ABIGAIL           ADDRESS ON FILE
GARCIA CRUZ, ALFREDO           ADDRESS ON FILE
GARCIA CRUZ, ANGEL M.          ADDRESS ON FILE
GARCIA CRUZ, ANGEL N           ADDRESS ON FILE
GARCIA CRUZ, ANIBAL            ADDRESS ON FILE
GARCIA CRUZ, ANIDXA            ADDRESS ON FILE
GARCIA CRUZ, ANTONIA           ADDRESS ON FILE
GARCIA CRUZ, ARELYS            ADDRESS ON FILE
GARCIA CRUZ, BRUNILDA          ADDRESS ON FILE
GARCIA CRUZ, CANDIDO           ADDRESS ON FILE
Garcia Cruz, Carlos            ADDRESS ON FILE
GARCIA CRUZ, CARMEN            ADDRESS ON FILE
GARCIA CRUZ, CARMEN I          ADDRESS ON FILE
GARCIA CRUZ, CARMEN T          ADDRESS ON FILE
GARCIA CRUZ, CATHERINE         ADDRESS ON FILE




                                                                           Page 3085 of 10031
                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                             The Commonwealth of Puerto Rico
                                                                                                                     Desc:
                                          Exhibit A-1 - Creditor     Matrix
                                                               Case No.              Page 3086 of 3500
                                                                        17 BK 3283‐LTS
                                                                       Creditor Matrix

Creditor Name            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA CRUZ, CATHY       ADDRESS ON FILE
GARCIA CRUZ, CYNTHIA     ADDRESS ON FILE
GARCIA CRUZ, DANIEL      ADDRESS ON FILE
GARCIA CRUZ, DANIEL      ADDRESS ON FILE
GARCIA CRUZ, DANIELA     ADDRESS ON FILE
GARCIA CRUZ, DARRYL      ADDRESS ON FILE
GARCIA CRUZ, DAVID       ADDRESS ON FILE
GARCIA CRUZ, DENISE I    ADDRESS ON FILE
GARCIA CRUZ, DIANA       ADDRESS ON FILE
GARCIA CRUZ, EDUARDA     ADDRESS ON FILE
GARCIA CRUZ, ELVIMARIS   ADDRESS ON FILE
GARCIA CRUZ, EMILIO      ADDRESS ON FILE
GARCIA CRUZ, EVA I       ADDRESS ON FILE
GARCIA CRUZ, FELIX       ADDRESS ON FILE
GARCIA CRUZ, GEONERY     ADDRESS ON FILE
Garcia Cruz, Gerobohan   ADDRESS ON FILE
GARCIA CRUZ, GLORIA E    ADDRESS ON FILE
GARCIA CRUZ, GRISEL      ADDRESS ON FILE
GARCIA CRUZ, GRISEL      ADDRESS ON FILE
GARCIA CRUZ, HEDGA J.    ADDRESS ON FILE
GARCIA CRUZ, ISAIDA      ADDRESS ON FILE
GARCIA CRUZ, ISMAEL      ADDRESS ON FILE
GARCIA CRUZ, IVONNE M.   ADDRESS ON FILE
Garcia Cruz, Jael        ADDRESS ON FILE
GARCIA CRUZ, JAINYS      ADDRESS ON FILE
GARCIA CRUZ, JEANETTE    ADDRESS ON FILE
GARCIA CRUZ, JEANNETTE   ADDRESS ON FILE
GARCIA CRUZ, JESSICA     ADDRESS ON FILE
GARCIA CRUZ, JIMARIE     ADDRESS ON FILE
GARCIA CRUZ, JOCELYN     ADDRESS ON FILE
GARCIA CRUZ, JOEL        ADDRESS ON FILE
GARCIA CRUZ, JORGE       ADDRESS ON FILE
GARCIA CRUZ, JORGE       ADDRESS ON FILE
GARCIA CRUZ, JORGE       ADDRESS ON FILE
GARCIA CRUZ, JOSE        ADDRESS ON FILE
GARCIA CRUZ, JOSE        ADDRESS ON FILE
GARCIA CRUZ, JOSE        ADDRESS ON FILE
Garcia Cruz, Jose A      ADDRESS ON FILE
GARCIA CRUZ, JOSE L      ADDRESS ON FILE
Garcia Cruz, Jose L      ADDRESS ON FILE
GARCIA CRUZ, JUAN        ADDRESS ON FILE
GARCIA CRUZ, JUAN M.     ADDRESS ON FILE
GARCIA CRUZ, LEYDA M     ADDRESS ON FILE
GARCIA CRUZ, LUIS M.     ADDRESS ON FILE
GARCIA CRUZ, LUZ D       ADDRESS ON FILE
GARCIA CRUZ, LUZ V       ADDRESS ON FILE
GARCIA CRUZ, MADELINE    ADDRESS ON FILE
GARCIA CRUZ, MADELINE    ADDRESS ON FILE
GARCIA CRUZ, MARIA D     ADDRESS ON FILE
GARCIA CRUZ, MARIA D     ADDRESS ON FILE
GARCIA CRUZ, MARIBEL     ADDRESS ON FILE
GARCIA CRUZ, MARIELA I   ADDRESS ON FILE
GARCIA CRUZ, MARINA      ADDRESS ON FILE
GARCIA CRUZ, MARTA R     ADDRESS ON FILE
GARCIA CRUZ, MINERVA     ADDRESS ON FILE
GARCIA CRUZ, MIRNA G     ADDRESS ON FILE
GARCIA CRUZ, NANCY       ADDRESS ON FILE
GARCIA CRUZ, NEFTALI     ADDRESS ON FILE
GARCIA CRUZ, NELSON      ADDRESS ON FILE
GARCIA CRUZ, OLGA        ADDRESS ON FILE




                                                                     Page 3086 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3087 of 3500
                                                                              17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                  Address1                   Address2                                  Address3           Address4   City            State   PostalCode   Country
GARCIA CRUZ, PEDRO             ADDRESS ON FILE
Garcia Cruz, Raymond           ADDRESS ON FILE
GARCIA CRUZ, RICARDO           ADDRESS ON FILE
GARCIA CRUZ, ROBERTO           ADDRESS ON FILE
GARCIA CRUZ, RONALD            ADDRESS ON FILE
GARCIA CRUZ, ROXANNE           ADDRESS ON FILE
GARCIA CRUZ, SAMUEL            CARLOS E ARROYO GRAULAU    CALLE PERSEO 50 APT 5B                                                  SAN JUAN        PR      00920
GARCIA CRUZ, SAMUEL            JOSE R SANTIAGO ALVAREZ    EXT FOREST HILLS L                       356 CALLE ECUADOR              BAYAMON         PR      00959‐5707
GARCÍA CRUZ, SAMUEL            CARLOS E. ARROYO GRALAU    CENTRO DE ALTAMIRA APT 5B                                               SAN JUAN        PR      00920
GARCÍA CRUZ, SAMUEL            JOSE R. SANTIAGO ALVAREZ   8000 OAKDELL WAY APT 12021 SAN ANTONIO TX 78240                         SAN ANTONIO     TX      78240
GARCIA CRUZ, SAMUEL            ADDRESS ON FILE
GARCIA CRUZ, SONIA I           ADDRESS ON FILE
GARCIA CRUZ, WANDA             ADDRESS ON FILE
GARCIA CRUZ, WANDA E           ADDRESS ON FILE
GARCIA CRUZ, YAMILKA I         ADDRESS ON FILE
GARCIA CRUZ, YANIRIS           ADDRESS ON FILE
GARCIA CRUZ, YOLANDA           ADDRESS ON FILE
GARCIA CRUZ, ZULMA             ADDRESS ON FILE
GARCIA CUADRADO, MARILYN       ADDRESS ON FILE
GARCIA CUBERO, CARLOS A        ADDRESS ON FILE
GARCIA CUEBAS, HEIDY           ADDRESS ON FILE
GARCIA CUEBAS, LOURDES DEL C   ADDRESS ON FILE
GARCIA CUESTA, ERIKA           ADDRESS ON FILE
GARCIA CUEVAS MD, IVAN         ADDRESS ON FILE
GARCIA CUEVAS MD, MILLAN J     ADDRESS ON FILE
GARCIA CUEVAS, BRENDA          ADDRESS ON FILE
GARCIA CUEVAS, CARMEN          ADDRESS ON FILE
GARCIA CUEVAS, EUGENIO         ADDRESS ON FILE
GARCIA CUEVAS, MILLAN          ADDRESS ON FILE
GARCIA CUEVAS, YOHALIZ         ADDRESS ON FILE
GARCIA CUMBA, REINIER          ADDRESS ON FILE
GARCIA CUSTODIO, EVELYN        ADDRESS ON FILE
GARCIA DALMAU, JAIME           ADDRESS ON FILE
GARCIA DAMIAN, FRANCES         ADDRESS ON FILE
GARCIA DAMIANI, ELBA L         ADDRESS ON FILE
Garcia Datil, Alberto          ADDRESS ON FILE
GARCIA DATIL, EMILY            ADDRESS ON FILE
GARCIA DAVILA, ALFREDO         ADDRESS ON FILE
GARCIA DAVILA, ANA D           ADDRESS ON FILE
GARCIA DAVILA, ANA M           ADDRESS ON FILE
GARCIA DAVILA, ANA M           ADDRESS ON FILE
GARCIA DAVILA, CARMEN L        ADDRESS ON FILE
GARCIA DAVILA, CARMEN M        ADDRESS ON FILE
Garcia Davila, Cesar A         ADDRESS ON FILE
GARCIA DAVILA, CESAR A         ADDRESS ON FILE
GARCIA DAVILA, ELIA E          ADDRESS ON FILE
GARCIA DAVILA, HECTOR          ADDRESS ON FILE
GARCIA DAVILA, HECTOR          ADDRESS ON FILE
GARCIA DAVILA, HEYSHA          ADDRESS ON FILE
GARCIA DAVILA, ISIDRO          ADDRESS ON FILE
GARCIA DAVILA, ISMAEL          ADDRESS ON FILE
GARCIA DAVILA, JOSE A          ADDRESS ON FILE
GARCIA DAVILA, LUZ             ADDRESS ON FILE
GARCIA DAVILA, MARIA B         ADDRESS ON FILE
GARCIA DAVILA, OMAR            ADDRESS ON FILE
GARCIA DAVILA, OMAR E          ADDRESS ON FILE
GARCIA DAVILA, OSCAR           ADDRESS ON FILE
GARCIA DAVILA, TERESA M.       ADDRESS ON FILE
GARCIA DAVILA, VICTOR          ADDRESS ON FILE
GARCIA DAVILA, YAIZA N         ADDRESS ON FILE




                                                                                     Page 3087 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3088 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                           Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA DE ACOSTA, CARMEN M              ADDRESS ON FILE
Garcia De Alba, Leslie Ann              ADDRESS ON FILE
GARCIA DE ARMAS, OCTAVIO                ADDRESS ON FILE
GARCIA DE CARO, LUZ CELENIA             ADDRESS ON FILE
GARCIA DE COBIAN, NYDIA L               ADDRESS ON FILE
GARCIA DE DELGADO, NOEMI                ADDRESS ON FILE
GARCIA DE ECHANDY, MARTHA N             ADDRESS ON FILE
GARCIA DE ECHEGARAY, ISRALY             ADDRESS ON FILE
GARCIA DE GANDIAGA, CORAL DEL MAR       ADDRESS ON FILE
GARCIA DE GRACIA, OSCAR                 ADDRESS ON FILE
GARCIA DE JESUS, ANA R                  ADDRESS ON FILE
GARCIA DE JESUS, ANTONIO                ADDRESS ON FILE
GARCIA DE JESUS, CECILIA                ADDRESS ON FILE
GARCIA DE JESUS, DAVID                  ADDRESS ON FILE
GARCIA DE JESUS, ELISA R                ADDRESS ON FILE
GARCIA DE JESUS, ELIZABETH              ADDRESS ON FILE
GARCIA DE JESUS, EMMA I.                ADDRESS ON FILE
GARCIA DE JESUS, ENID C.                ADDRESS ON FILE
GARCIA DE JESUS, FELIX O                ADDRESS ON FILE
GARCIA DE JESUS, ISABEL                 ADDRESS ON FILE
GARCIA DE JESUS, JON                    ADDRESS ON FILE
GARCIA DE JESUS, JONATHAN               ADDRESS ON FILE
GARCIA DE JESUS, JOSE A                 ADDRESS ON FILE
GARCIA DE JESUS, JOSE J.                ADDRESS ON FILE
Garcia De Jesus, Juan                   ADDRESS ON FILE
GARCIA DE JESUS, JUAN                   ADDRESS ON FILE
GARCIA DE JESUS, JUANA                  ADDRESS ON FILE
GARCIA DE JESUS, JUANITA                ADDRESS ON FILE
GARCIA DE JESUS, KRISTIAN               ADDRESS ON FILE
GARCIA DE JESUS, LOURDES E              ADDRESS ON FILE
GARCIA DE JESUS, LUIS                   ADDRESS ON FILE
GARCIA DE JESUS, MARIA DE LOS A.        ADDRESS ON FILE
GARCIA DE JESUS, MARIA J                ADDRESS ON FILE
GARCIA DE JESUS, MARIELY                ADDRESS ON FILE
GARCIA DE JESUS, MARISHELA              ADDRESS ON FILE
GARCIA DE JESUS, MARTIN                 ADDRESS ON FILE
Garcia De Jesus, Miguel                 ADDRESS ON FILE
GARCIA DE JESUS, NELSON                 ADDRESS ON FILE
GARCIA DE JESUS, NORMA IRIS             ADDRESS ON FILE
GARCIA DE JESUS, PEDRO J                ADDRESS ON FILE
GARCIA DE JESUS, ROSA                   ADDRESS ON FILE
GARCIA DE JESUS, SANDRA                 ADDRESS ON FILE
GARCIA DE JESUS, VICTOR                 ADDRESS ON FILE
GARCIA DE JESUS, WANDA I                ADDRESS ON FILE
GARCIA DE JESUS, YOMARIE                ADDRESS ON FILE
GARCIA DE JESUS, ZAIDA J                ADDRESS ON FILE
GARCIA DE JIMENEZ, IVETTE               ADDRESS ON FILE
GARCIA DE LA NO MARIN, ADRIANA          ADDRESS ON FILE
GARCIA DE LA NOCEDA CASTRO, ARTURO A.   ADDRESS ON FILE
GARCIA DE LA NOCEDA MARIN, ADRIANA      ADDRESS ON FILE
GARCIA DE LA NOCEDA, CARLOS             ADDRESS ON FILE
GARCIA DE LA NOCEDA, FERNANDO           ADDRESS ON FILE
GARCIA DE LA NOCEDA, IVAN               ADDRESS ON FILE
GARCIA DE LA NOCEDA, LUIS               ADDRESS ON FILE
GARCIA DE LA NOCEDA, SANDRA             ADDRESS ON FILE
GARCIA DE LA NOCEDS ANGLADA, MARIA      ADDRESS ON FILE
GARCIA DE LA ROSA, PORFIRIO             ADDRESS ON FILE
Garcia De Leon, Daniel                  ADDRESS ON FILE
GARCIA DE LEON, JESUS                   ADDRESS ON FILE
GARCIA DE LEON, JUAN                    ADDRESS ON FILE




                                                                                    Page 3088 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3089 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA DE LEON, JULIA                    ADDRESS ON FILE
GARCIA DE LEON, LUIS R.                  ADDRESS ON FILE
GARCIA DE LEON, MARIA DEL C              ADDRESS ON FILE
GARCIA DE LEON, MIGUEL                   ADDRESS ON FILE
GARCIA DE LEON, YOLANDA                  ADDRESS ON FILE
GARCIA DE LEON, YOLANDA                  ADDRESS ON FILE
GARCIA DE LOPEZ, DIANILDA                ADDRESS ON FILE
GARCIA DE MATTA, MARIA E                 ADDRESS ON FILE
GARCIA DE MIRO, HILDA R                  ADDRESS ON FILE
GARCIA DE NEVAREZ, MERCEDES              ADDRESS ON FILE
GARCIA DE OLIVO, AIDA                    ADDRESS ON FILE
GARCIA DE ORTIZ, ANA L                   ADDRESS ON FILE
GARCIA DE PEREZ, BETSY                   ADDRESS ON FILE
GARCIA DE QUEVEDO MARTINEZ, MARILIA D.   ADDRESS ON FILE
GARCIA DE QUEVEDO MOJICA, JOSE           ADDRESS ON FILE
GARCIA DE QUEVEDO, ANNIE                 ADDRESS ON FILE
GARCIA DE QUEVEDO, CARMEN I              ADDRESS ON FILE
GARCIA DE QUEVEDO, MARIA M               ADDRESS ON FILE
GARCIA DE RIVERA, LOURDES M              ADDRESS ON FILE
GARCIA DE SILVA, ANITA                   ADDRESS ON FILE
Garcia De Thomas, Angel                  ADDRESS ON FILE
GARCIA DE THOMAS, JUAN                   ADDRESS ON FILE
GARCIA DE THOMAS, MYLENE                 ADDRESS ON FILE
GARCIA DE TORRES, EMILIA                 ADDRESS ON FILE
Garcia De Torres, Lydia E                ADDRESS ON FILE
GARCIA DE VAZQUEZ, LIDUVINA              ADDRESS ON FILE
GARCIA DE VEGA, DOMINGA                  ADDRESS ON FILE
GARCIA DE VELEZ, JUANITA                 ADDRESS ON FILE
GARCIA DEJESUS, ANGEL S                  ADDRESS ON FILE
Garcia Del Pilar, Myriam D               ADDRESS ON FILE
GARCIA DEL PILAR, ROSARIO                ADDRESS ON FILE
GARCIA DEL TORO, ANTONIO                 ADDRESS ON FILE
GARCIA DEL VALLE, AIDA                   ADDRESS ON FILE
GARCIA DEL VALLE, AIDA                   ADDRESS ON FILE
GARCIA DEL VALLE, ANNA M                 ADDRESS ON FILE
GARCIA DEL VALLE, CYNTHIA                ADDRESS ON FILE
GARCIA DEL VALLE, EDGARDO                ADDRESS ON FILE
Garcia Del Valle, Jesus A.               ADDRESS ON FILE
GARCIA DEL VALLE, MELANIE                ADDRESS ON FILE
GARCIA DEL VALLE, MELQUIADES             ADDRESS ON FILE
GARCIA DEL VALLE, OMAR                   ADDRESS ON FILE
GARCIA DEL VALLE, VANESSA                ADDRESS ON FILE
GARCIA DEL VALLE, YARILYN                ADDRESS ON FILE
GARCIA DELANOCEDA, FERNANDO              ADDRESS ON FILE
GARCIA DELERME, KAREN L                  ADDRESS ON FILE
GARCIA DELFIN, RAFAEL                    ADDRESS ON FILE
GARCIA DELGADO, ARLENNY                  ADDRESS ON FILE
GARCIA DELGADO, BEATRIZ                  ADDRESS ON FILE
GARCIA DELGADO, CARLOS A.                ADDRESS ON FILE
GARCIA DELGADO, CARMEN                   ADDRESS ON FILE
GARCIA DELGADO, CARMEN I                 ADDRESS ON FILE
GARCIA DELGADO, EFRAIN                   ADDRESS ON FILE
GARCIA DELGADO, EILEEN                   ADDRESS ON FILE
GARCIA DELGADO, EVELYN                   ADDRESS ON FILE
GARCIA DELGADO, FELIX J                  ADDRESS ON FILE
GARCIA DELGADO, FREDDIE                  ADDRESS ON FILE
GARCIA DELGADO, GRISELLY                 ADDRESS ON FILE
GARCIA DELGADO, HARRY                    ADDRESS ON FILE
GARCIA DELGADO, HECTOR                   ADDRESS ON FILE
Garcia Delgado, Hector R                 ADDRESS ON FILE




                                                                                     Page 3089 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3090 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA DELGADO, JORGE          ADDRESS ON FILE
GARCIA DELGADO, JOSE           ADDRESS ON FILE
GARCIA DELGADO, JOSE           ADDRESS ON FILE
GARCIA DELGADO, JOSE A         ADDRESS ON FILE
GARCIA DELGADO, JUAN           ADDRESS ON FILE
GARCIA DELGADO, LETICIA        ADDRESS ON FILE
GARCIA DELGADO, LUIS           ADDRESS ON FILE
GARCIA DELGADO, MARILYN        ADDRESS ON FILE
Garcia Delgado, Mayra I        ADDRESS ON FILE
GARCIA DELGADO, MELANIE I.     ADDRESS ON FILE
GARCIA DELGADO, MIGDALIA       ADDRESS ON FILE
GARCIA DELGADO, MONICA         ADDRESS ON FILE
GARCIA DELGADO, MONICA         ADDRESS ON FILE
GARCIA DELGADO, NAYLA M        ADDRESS ON FILE
GARCIA DELGADO, NELIDA         ADDRESS ON FILE
GARCIA DELGADO, NOEL           ADDRESS ON FILE
Garcia Delgado, Ramon          ADDRESS ON FILE
GARCIA DELGADO, RAMON          ADDRESS ON FILE
Garcia Delgado, Roberto        ADDRESS ON FILE
GARCIA DELGADO, VICTOR         ADDRESS ON FILE
GARCIA DELGADO, VICTOR A       ADDRESS ON FILE
GARCIA DESIDERIO, LOURMARI I   ADDRESS ON FILE
GARCIA DIANA, SARA H           ADDRESS ON FILE
GARCIA DIAZ, ALCIDES           ADDRESS ON FILE
GARCIA DIAZ, ALEXANDER         ADDRESS ON FILE
GARCIA DIAZ, ALICIA            ADDRESS ON FILE
GARCIA DIAZ, ANA               ADDRESS ON FILE
GARCIA DIAZ, ANA               ADDRESS ON FILE
Garcia Diaz, Ana G             ADDRESS ON FILE
GARCIA DIAZ, ANDREA            ADDRESS ON FILE
GARCIA DIAZ, ARIEL             ADDRESS ON FILE
GARCIA DIAZ, CHRISTINE         ADDRESS ON FILE
GARCIA DIAZ, DAMARIS           ADDRESS ON FILE
GARCIA DIAZ, DANELIS           ADDRESS ON FILE
GARCIA DIAZ, EDUARDO           ADDRESS ON FILE
GARCIA DIAZ, ELAINE            ADDRESS ON FILE
GARCIA DIAZ, ELIUT             ADDRESS ON FILE
GARCIA DIAZ, ELLIOT            ADDRESS ON FILE
GARCIA DIAZ, ENRIQUE           ADDRESS ON FILE
Garcia Diaz, Ernesto           ADDRESS ON FILE
GARCIA DIAZ, EUGENIO           ADDRESS ON FILE
GARCIA DIAZ, FELIRIA           ADDRESS ON FILE
GARCIA DIAZ, FELIRIA           ADDRESS ON FILE
GARCIA DIAZ, FELIX             ADDRESS ON FILE
GARCIA DIAZ, FRANCISCO         ADDRESS ON FILE
GARCIA DIAZ, HAYDEE            ADDRESS ON FILE
GARCIA DIAZ, HECTOR            ADDRESS ON FILE
Garcia Diaz, Isaac             ADDRESS ON FILE
GARCIA DIAZ, ISAAC             ADDRESS ON FILE
GARCIA DIAZ, ISABEL            ADDRESS ON FILE
GARCIA DIAZ, ISIDORO           ADDRESS ON FILE
GARCIA DIAZ, IVAN              ADDRESS ON FILE
GARCIA DIAZ, IVELISSE          ADDRESS ON FILE
GARCIA DIAZ, IVETTE M          ADDRESS ON FILE
GARCIA DIAZ, JESUS             ADDRESS ON FILE
GARCIA DIAZ, JOSE              ADDRESS ON FILE
GARCIA DIAZ, JOSE              ADDRESS ON FILE
GARCIA DIAZ, JOSE              ADDRESS ON FILE
GARCIA DIAZ, JOSE ANGEL        ADDRESS ON FILE
Garcia Diaz, Jose J            ADDRESS ON FILE




                                                                           Page 3090 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3091 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Diaz, Jose R            ADDRESS ON FILE
GARCIA DIAZ, JOSUE             ADDRESS ON FILE
GARCIA DIAZ, JOY               ADDRESS ON FILE
GARCIA DIAZ, JUAN C            ADDRESS ON FILE
GARCIA DIAZ, JUAN C            ADDRESS ON FILE
GARCIA DIAZ, JULIAN            ADDRESS ON FILE
GARCIA DIAZ, KEILA             ADDRESS ON FILE
GARCIA DIAZ, LEONARDO          ADDRESS ON FILE
GARCIA DIAZ, LEYDA             ADDRESS ON FILE
GARCIA DIAZ, LIMARYS           ADDRESS ON FILE
GARCIA DIAZ, LUIS              ADDRESS ON FILE
GARCIA DIAZ, LUIS              ADDRESS ON FILE
Garcia Diaz, Luis M            ADDRESS ON FILE
GARCIA DIAZ, LUZ M             ADDRESS ON FILE
GARCIA DIAZ, LYDIA I           ADDRESS ON FILE
GARCIA DIAZ, LYSANDRA M.       ADDRESS ON FILE
GARCIA DIAZ, MARCOS            ADDRESS ON FILE
GARCIA DIAZ, MARIA A           ADDRESS ON FILE
GARCIA DIAZ, MIGDALIA          ADDRESS ON FILE
GARCIA DIAZ, MIGUEL            ADDRESS ON FILE
GARCIA DIAZ, MIRIAM            ADDRESS ON FILE
GARCIA DIAZ, NANCY Y           ADDRESS ON FILE
GARCIA DIAZ, NEREIDA           ADDRESS ON FILE
GARCIA DIAZ, NOEL              ADDRESS ON FILE
GARCIA DIAZ, NORBERTO          ADDRESS ON FILE
GARCIA DIAZ, OLGA M.           ADDRESS ON FILE
GARCIA DIAZ, PATRICIA          ADDRESS ON FILE
GARCIA DIAZ, RAMON             ADDRESS ON FILE
GARCIA DIAZ, RICARDO           ADDRESS ON FILE
GARCIA DIAZ, RUTH              ADDRESS ON FILE
GARCIA DIAZ, SONIA             ADDRESS ON FILE
GARCIA DIAZ, SONIA M           ADDRESS ON FILE
GARCIA DIAZ, SYLDIA D          ADDRESS ON FILE
GARCIA DIAZ, ULSON             ADDRESS ON FILE
GARCIA DIAZ, ULSON DAVID       ADDRESS ON FILE
GARCIA DIAZ, VYDIA             ADDRESS ON FILE
GARCIA DIAZ, VYDIA E.          ADDRESS ON FILE
GARCIA DIAZ, WENDY             ADDRESS ON FILE
Garcia Diaz, Wilfredo          ADDRESS ON FILE
GARCIA DIAZ, WILLIAM           ADDRESS ON FILE
GARCIA DIAZ, YAITZA            ADDRESS ON FILE
GARCIA DIAZ, YARITZA C         ADDRESS ON FILE
GARCIA DIAZ, YESSENIA          ADDRESS ON FILE
GARCIA DIAZ, YOLANDA           ADDRESS ON FILE
GARCIA DIAZ, ZORAIDA           ADDRESS ON FILE
GARCIA DIEPPA, EDWIN           ADDRESS ON FILE
GARCIA DOBLE, RAMON            ADDRESS ON FILE
GARCIA DOMENECH, EDNA A        ADDRESS ON FILE
GARCIA DOMENECH, JONATHAN      ADDRESS ON FILE
GARCIA DOMINGUEZ, ABNER        ADDRESS ON FILE
GARCIA DOMINGUEZ, BRENDA       ADDRESS ON FILE
GARCIA DOMINGUEZ, KERMITH F    ADDRESS ON FILE
GARCIA DOMINGUEZ, LUCILA       ADDRESS ON FILE
Garcia Dominguez, Luis A       ADDRESS ON FILE
GARCIA DOMINGUEZ, MILAGROS M   ADDRESS ON FILE
GARCIA DOMINGUEZ, ROSARIO      ADDRESS ON FILE
GARCIA DOMINICI, MARIA         ADDRESS ON FILE
GARCIA DORBAT, ELIECER         ADDRESS ON FILE
GARCIA DROZ, CASTA I           ADDRESS ON FILE
GARCIA DUMENG, LESLIE          ADDRESS ON FILE




                                                                           Page 3091 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3092 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA DURAN, STEVEN               ADDRESS ON FILE
GARCIA EAQUILIN, LUZ P.            ADDRESS ON FILE
Garcia Echevaria, Joel D.          ADDRESS ON FILE
GARCIA ECHEVARRIA, BRIGITTE        ADDRESS ON FILE
GARCIA ECHEVARRIA, CHRISTIAN S.    ADDRESS ON FILE
GARCIA ECHEVARRIA, GLORIA DEL C.   ADDRESS ON FILE
GARCIA ECHEVARRIA, JOEL            ADDRESS ON FILE
GARCIA ECHEVARRIA, JOSE            ADDRESS ON FILE
GARCIA ECHEVARRIA, JOSE J          ADDRESS ON FILE
GARCIA ECHEVARRIA, KEILA           ADDRESS ON FILE
GARCIA ECHEVARRIA, MARYLIN I.      ADDRESS ON FILE
GARCIA ECHEVARRIA, MIGUEL          ADDRESS ON FILE
GARCIA ECHEVARRIA, ROSA            ADDRESS ON FILE
GARCIA ECHEVARRIA, YAZAMETH M      ADDRESS ON FILE
GARCIA ELIAS, ANA                  ADDRESS ON FILE
GARCIA ELIAS, ARLENE               ADDRESS ON FILE
GARCIA ELIAS, IVAN                 ADDRESS ON FILE
GARCIA ELIAS, IVAN                 ADDRESS ON FILE
GARCIA ELIAS, LETICIA              ADDRESS ON FILE
GARCIA ELIAS, LETICIA              ADDRESS ON FILE
GARCIA EMANUELLI, KAREN            ADDRESS ON FILE
GARCIA ENCARNACION, LUCILA         ADDRESS ON FILE
GARCIA ENCARNACION, LUZ E          ADDRESS ON FILE
GARCIA ENCARNACION, RICHAR         ADDRESS ON FILE
GARCIA ENCARNACION, SANTIAGO       ADDRESS ON FILE
GARCIA ENCARNACION, WILLIAM        ADDRESS ON FILE
GARCIA ENCHAUTEGUI, LUZ            ADDRESS ON FILE
GARCIA ENRIQUEZ, ALEXANDER         ADDRESS ON FILE
GARCIA ERAZO, HYDALYS              ADDRESS ON FILE
GARCIA ESCALERA, ANASTASIO         ADDRESS ON FILE
GARCIA ESCALERA, ANDRES            ADDRESS ON FILE
GARCIA ESCALERA, ANTOLIANO         ADDRESS ON FILE
Garcia Escalera, Avelino           ADDRESS ON FILE
GARCIA ESCOBAR, VILMA E            ADDRESS ON FILE
GARCIA ESCRIBANO, HAYDEE           ADDRESS ON FILE
GARCIA ESCROGGIN, CARLOS           ADDRESS ON FILE
GARCIA ESCROGGIN, LOURDES          ADDRESS ON FILE
GARCIA ESMURRIA, JOSE E            ADDRESS ON FILE
Garcia Esmurria, Melvin J.         ADDRESS ON FILE
GARCIA ESPADA, JORGE               ADDRESS ON FILE
GARCIA ESPERANZA, RAFAEL           ADDRESS ON FILE
GARCIA ESPINAL, BIANCA M           ADDRESS ON FILE
GARCIA ESPINO, BLANCA              ADDRESS ON FILE
GARCIA ESPINO, JUAN                ADDRESS ON FILE
Garcia Esquilin, Carlos            ADDRESS ON FILE
GARCIA ESQUILIN, ERNESTO           ADDRESS ON FILE
Garcia Esquilin, Ernesto J         ADDRESS ON FILE
GARCIA ESQUILIN, PABLO             ADDRESS ON FILE
GARCIA ESQUILIN, SONIA             ADDRESS ON FILE
GARCIA ESQUILIN, VIRGINIA          ADDRESS ON FILE
GARCIA ESTEVA, HERBER              ADDRESS ON FILE
GARCIA ESTRADA, ERICK              ADDRESS ON FILE
GARCIA ESTRADA, GIOVANNY           ADDRESS ON FILE
GARCIA ESTRADA, GRISSELL           ADDRESS ON FILE
Garcia Estrada, Juan L             ADDRESS ON FILE
GARCIA ESTRADA, KETTY              ADDRESS ON FILE
GARCIA ESTRADA, MIRTA              ADDRESS ON FILE
GARCIA ESTRADA, SANTOS             ADDRESS ON FILE
Garcia Estrada, Santos J.          ADDRESS ON FILE
GARCIA ESTRADA, TOMAS L            ADDRESS ON FILE




                                                                               Page 3092 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3093 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ESTRELLA, BRIAN J.      ADDRESS ON FILE
Garcia Estronza, Heriberto     ADDRESS ON FILE
GARCIA ESTRONZA, HERIBERTO     ADDRESS ON FILE
GARCIA FABIAN, JOSE            ADDRESS ON FILE
GARCIA FABREGAS, IRIS D        ADDRESS ON FILE
GARCIA FAJARDO, FELIX          ADDRESS ON FILE
GARCIA FALCON, CARMEN          ADDRESS ON FILE
GARCIA FALCON, IRIS            ADDRESS ON FILE
GARCIA FALCON, LUIS E          ADDRESS ON FILE
GARCIA FALU, DAVID             ADDRESS ON FILE
GARCIA FALU, FILINA            ADDRESS ON FILE
GARCIA FANAS, DELCIA           ADDRESS ON FILE
GARCIA FANEYTT, JORGE          ADDRESS ON FILE
GARCIA FANEYTT, JORGE          ADDRESS ON FILE
GARCIA FANTAUZZI, ZAIDA L      ADDRESS ON FILE
GARCIA FARGAS, JAZMIN          ADDRESS ON FILE
GARCIA FEAL, MICHAEL           ADDRESS ON FILE
GARCIA FEBO, GAMALIEL          ADDRESS ON FILE
GARCIA FEBO, KEYLA Y           ADDRESS ON FILE
GARCIA FEBO, LOIDA A           ADDRESS ON FILE
GARCIA FEBRES, ANA A           ADDRESS ON FILE
GARCIA FEBRES, ANTONIO         ADDRESS ON FILE
GARCIA FEBRES, ANTONIO         ADDRESS ON FILE
GARCIA FEBRES, FRANCISCO       ADDRESS ON FILE
Garcia Febus, Angel R          ADDRESS ON FILE
GARCIA FEBUS, HORACIO          ADDRESS ON FILE
GARCIA FELICIANO, ANA          ADDRESS ON FILE
GARCIA FELICIANO, ANGEL M.     ADDRESS ON FILE
GARCIA FELICIANO, ANTONIO      ADDRESS ON FILE
GARCIA FELICIANO, ANTONIO      ADDRESS ON FILE
GARCIA FELICIANO, ANTONIO      ADDRESS ON FILE
GARCIA FELICIANO, ARTURO T.    ADDRESS ON FILE
GARCIA FELICIANO, CARLOS       ADDRESS ON FILE
GARCIA FELICIANO, CARLOS I.    ADDRESS ON FILE
GARCIA FELICIANO, CYNTHIA      ADDRESS ON FILE
GARCIA FELICIANO, CYNTHIA      ADDRESS ON FILE
GARCIA FELICIANO, EDDIE        ADDRESS ON FILE
Garcia Feliciano, Emanuel      ADDRESS ON FILE
GARCIA FELICIANO, JOSE         ADDRESS ON FILE
GARCIA FELICIANO, JUAN         ADDRESS ON FILE
GARCIA FELICIANO, JUDITH       ADDRESS ON FILE
GARCIA FELICIANO, JULIA M.     ADDRESS ON FILE
Garcia Feliciano, Karelia      ADDRESS ON FILE
GARCIA FELICIANO, KARELIA      ADDRESS ON FILE
GARCIA FELICIANO, KRIMILDA     ADDRESS ON FILE
GARCIA FELICIANO, LESTER R.    ADDRESS ON FILE
GARCIA FELICIANO, LESTER R.    ADDRESS ON FILE
GARCIA FELICIANO, LOURDES S    ADDRESS ON FILE
GARCIA FELICIANO, NELSON       ADDRESS ON FILE
GARCIA FELICIANO, RAFAEL       ADDRESS ON FILE
GARCIA FELICIANO, RENE         ADDRESS ON FILE
GARCIA FELICIANO, VICTOR       ADDRESS ON FILE
GARCIA FELICIANO, YAN          ADDRESS ON FILE
GARCIA FELIX, ANTONIO          ADDRESS ON FILE
GARCIA FELIX, CARMEN           ADDRESS ON FILE
GARCIA FELIX, HECTOR L.        ADDRESS ON FILE
GARCIA FELIX, JUAN             ADDRESS ON FILE
GARCIA FELIX, JUANITA          ADDRESS ON FILE
GARCIA FELIX, MARIA DE LOS A   ADDRESS ON FILE
GARCIA FELIX, YAILYN           ADDRESS ON FILE




                                                                           Page 3093 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3094 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA FERNANDEZ, ANGELA A     ADDRESS ON FILE
GARCIA FERNANDEZ, DANNY        ADDRESS ON FILE
Garcia Fernandez, Edgar J      ADDRESS ON FILE
GARCIA FERNANDEZ, ELIZABETH    ADDRESS ON FILE
GARCIA FERNANDEZ, HECTOR R     ADDRESS ON FILE
Garcia Fernandez, Luis R.      ADDRESS ON FILE
GARCIA FERNANDEZ, MILDELINA    ADDRESS ON FILE
GARCIA FERNANDEZ, NYDIA        ADDRESS ON FILE
GARCIA FERNANDEZ, ROBERTO      ADDRESS ON FILE
GARCIA FERNANDEZ, SAMUEL       ADDRESS ON FILE
GARCIA FERNANDEZ, VIVIANNE     ADDRESS ON FILE
GARCIA FERNANDEZ, WANDALYS     ADDRESS ON FILE
Garcia Fernandez, Wilfredo     ADDRESS ON FILE
GARCIA FERRER, AMELIA          ADDRESS ON FILE
GARCIA FERRER, CARMEN E        ADDRESS ON FILE
Garcia Ferrer, Hector M        ADDRESS ON FILE
GARCIA FERRER, HECTOR M.       ADDRESS ON FILE
GARCIA FERRER, JESUS           ADDRESS ON FILE
Garcia Ferrer, Walter          ADDRESS ON FILE
GARCIA FIGUEROA, ADA           ADDRESS ON FILE
GARCIA FIGUEROA, ADNER         ADDRESS ON FILE
GARCIA FIGUEROA, AGUSTIN       ADDRESS ON FILE
GARCIA FIGUEROA, AISHA         ADDRESS ON FILE
GARCIA FIGUEROA, ANA T         ADDRESS ON FILE
GARCIA FIGUEROA, ANGEL B.      ADDRESS ON FILE
GARCIA FIGUEROA, ANGEL M       ADDRESS ON FILE
GARCIA FIGUEROA, AUREA         ADDRESS ON FILE
Garcia Figueroa, Carlos        ADDRESS ON FILE
GARCIA FIGUEROA, CARLOS        ADDRESS ON FILE
GARCIA FIGUEROA, CARMEN E.     ADDRESS ON FILE
GARCIA FIGUEROA, DIDY          ADDRESS ON FILE
GARCIA FIGUEROA, DOMINGO       ADDRESS ON FILE
GARCIA FIGUEROA, ELIZABETH     ADDRESS ON FILE
GARCIA FIGUEROA, ELSA          ADDRESS ON FILE
GARCIA FIGUEROA, ESTEBAN       ADDRESS ON FILE
GARCIA FIGUEROA, EVELYN        ADDRESS ON FILE
GARCIA FIGUEROA, FELIPE        ADDRESS ON FILE
GARCIA FIGUEROA, FRANCISCA     ADDRESS ON FILE
GARCIA FIGUEROA, GERARDO       ADDRESS ON FILE
GARCIA FIGUEROA, GLADYS        ADDRESS ON FILE
GARCIA FIGUEROA, HECTOR JUAN   ADDRESS ON FILE
GARCIA FIGUEROA, HERNAN        ADDRESS ON FILE
GARCIA FIGUEROA, IDALIZ        ADDRESS ON FILE
GARCIA FIGUEROA, IDALIZ        ADDRESS ON FILE
GARCIA FIGUEROA, IVETTE S      ADDRESS ON FILE
GARCIA FIGUEROA, JOSE          ADDRESS ON FILE
GARCIA FIGUEROA, KAROLEE       ADDRESS ON FILE
GARCIA FIGUEROA, KAROLEE       ADDRESS ON FILE
GARCIA FIGUEROA, KISHIA        ADDRESS ON FILE
GARCIA FIGUEROA, LUZ M.        ADDRESS ON FILE
GARCIA FIGUEROA, MARIA         ADDRESS ON FILE
GARCIA FIGUEROA, MARIA         ADDRESS ON FILE
GARCIA FIGUEROA, MARIA         ADDRESS ON FILE
GARCIA FIGUEROA, MATILDA       ADDRESS ON FILE
GARCIA FIGUEROA, NANCY I.      ADDRESS ON FILE
GARCIA FIGUEROA, NAYDA L       ADDRESS ON FILE
GARCIA FIGUEROA, NIRMA I       ADDRESS ON FILE
GARCIA FIGUEROA, NORA M        ADDRESS ON FILE
GARCIA FIGUEROA, NYDIA M       ADDRESS ON FILE
GARCIA FIGUEROA, REYNALDO      ADDRESS ON FILE




                                                                           Page 3094 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3095 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA FIGUEROA, ROSALIA      ADDRESS ON FILE
GARCIA FIGUEROA, SAMUEL       ADDRESS ON FILE
GARCIA FIGUEROA, SULLY        ADDRESS ON FILE
Garcia Figueroa, William A.   ADDRESS ON FILE
GARCIA FIGUEROA, YOLANDA      ADDRESS ON FILE
GARCIA FLECHA, AIDA           ADDRESS ON FILE
GARCIA FLECHA, ELADIO         ADDRESS ON FILE
Garcia Flores, Alejandro      ADDRESS ON FILE
GARCIA FLORES, AMNERIS        ADDRESS ON FILE
GARCIA FLORES, ANGEL L.       ADDRESS ON FILE
GARCIA FLORES, BETHZAIDA      ADDRESS ON FILE
GARCIA FLORES, BLENDA         ADDRESS ON FILE
GARCIA FLORES, CARMEN M       ADDRESS ON FILE
GARCIA FLORES, EDWIN          ADDRESS ON FILE
GARCIA FLORES, EDWIN          ADDRESS ON FILE
GARCIA FLORES, HAYDEE         ADDRESS ON FILE
GARCIA FLORES, IVAN           ADDRESS ON FILE
GARCIA FLORES, JANET          ADDRESS ON FILE
GARCIA FLORES, JIMMY          ADDRESS ON FILE
GARCIA FLORES, LOURDES E.     ADDRESS ON FILE
GARCIA FLORES, MARCOS         ADDRESS ON FILE
GARCIA FLORES, MARILYN        ADDRESS ON FILE
GARCIA FLORES, MELISSA        ADDRESS ON FILE
GARCIA FLORES, MODESTO        ADDRESS ON FILE
GARCIA FLORES, MODESTO        ADDRESS ON FILE
GARCIA FLORES, NORBERTO       ADDRESS ON FILE
GARCIA FLORES, PASCUAL        ADDRESS ON FILE
GARCIA FLORES, PEDRO          ADDRESS ON FILE
GARCIA FLORES, RENE           ADDRESS ON FILE
GARCIA FLORES, RONALD         ADDRESS ON FILE
GARCIA FLORES, ROSA M         ADDRESS ON FILE
GARCIA FLORES, ROSE M         ADDRESS ON FILE
Garcia Flores, Sixto          ADDRESS ON FILE
GARCIA FLORES, WILNELIA       ADDRESS ON FILE
GARCIA FLORES, ZULMA I        ADDRESS ON FILE
GARCIA FLORES,EDDIE           ADDRESS ON FILE
GARCIA FLOREZ, BLENDA         ADDRESS ON FILE
GARCIA FONSECA, ALEXIS        ADDRESS ON FILE
GARCIA FONSECA, MARA          ADDRESS ON FILE
Garcia Fonseca, Osvaldo       ADDRESS ON FILE
GARCIA FONTANEZ, CARMEN D     ADDRESS ON FILE
GARCIA FONTANEZ, CARMEN G     ADDRESS ON FILE
Garcia Fontanez, Hector M     ADDRESS ON FILE
GARCIA FONTANEZ, LEONARDO     ADDRESS ON FILE
GARCIA FONTANEZ, MARCELINO    ADDRESS ON FILE
GARCIA FONTANEZ, MICHAEL      ADDRESS ON FILE
GARCIA FONTANT, LUIS          ADDRESS ON FILE
GARCIA FONTEBOA, MANUEL       ADDRESS ON FILE
GARCIA FORTES, MARIA DEL C.   ADDRESS ON FILE
GARCIA FORTIER, ARNALDO J     ADDRESS ON FILE
GARCIA FOURNIER, SANDRA       ADDRESS ON FILE
GARCIA FRAGA, LUIS            ADDRESS ON FILE
GARCIA FRAGA, LUIS DAMIAN     ADDRESS ON FILE
Garcia Fragosa, Rosendo       ADDRESS ON FILE
GARCIA FRAGUADA, CLARIBET     ADDRESS ON FILE
GARCIA FRAGUADA, CRISTOBAL    ADDRESS ON FILE
GARCIA FRANCESCHI, FELIX      ADDRESS ON FILE
GARCIA FRANCIS, PEDRO D       ADDRESS ON FILE
GARCIA FRANCO, ARMIDA         ADDRESS ON FILE
GARCIA FRANCO, HECTOR D       ADDRESS ON FILE




                                                                          Page 3095 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3096 of 3500
                                                                             17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                 Address1                         Address2                    Address3   Address4   City       State   PostalCode   Country
GARCIA FRANCO, JENNY          ADDRESS ON FILE
GARCIA FRANCO, MYRIAM         ADDRESS ON FILE
GARCIA FRANCO, RADAMES        ADDRESS ON FILE
GARCIA FRATICELLI, FRANCES    ADDRESS ON FILE
GARCIA FRETTS, CARMEN E.      ADDRESS ON FILE
GARCIA FUENTES, ANGEL         ADDRESS ON FILE
GARCIA FUENTES, EDDIE         ADDRESS ON FILE
GARCIA FUENTES, IRIS O        ADDRESS ON FILE
GARCIA FUENTES, JULIO         ADDRESS ON FILE
GARCIA FUENTES, VENELISSE     ADDRESS ON FILE
GARCIA FUENTES, ZULMA         ADDRESS ON FILE
GARCIA GALAN, FELIX           ADDRESS ON FILE
GARCIA GALAN, FELIX           ADDRESS ON FILE
GARCIA GALAN, NORMA D         ADDRESS ON FILE
GARCIA GALAN, PEDRO L.        ADDRESS ON FILE
GARCIA GALARZA, BRENDA        ADDRESS ON FILE
GARCIA GALARZA, CARMEN L      ADDRESS ON FILE
GARCIA GALARZA, DAISY         ADDRESS ON FILE
GARCIA GALARZA, DAISY         ADDRESS ON FILE
GARCIA GALARZA, GABRIEL       ADDRESS ON FILE
GARCIA GALARZA, JOSE          ADDRESS ON FILE
GARCIA GALARZA, LUIS          ADDRESS ON FILE
GARCIA GALARZA, MARIBELLA     ADDRESS ON FILE
GARCIA GALARZA, MIRIAM S      ADDRESS ON FILE
Garcia Galloza, Edgardo       ADDRESS ON FILE
Garcia Galloza, Javier        ADDRESS ON FILE
GARCIA GALLOZA, WILLIAM       ADDRESS ON FILE
GARCIA GANZALEZ, PABLO        ADDRESS ON FILE
GARCIA GARAMENDI, JUAN        ADDRESS ON FILE
GARCIA GARCES, CARLOS         ADDRESS ON FILE
GARCÍA GARCÍA JASON J.        LCDO. ALEJANDRO SALGADO RIVERA   PO BOX 201                                        ARROYO     PR      00714
GARCIA GARCIA MD, DAVID       ADDRESS ON FILE
GARCIA GARCIA MD, JOSE M      ADDRESS ON FILE
GARCIA GARCIA MD, JUAN C      ADDRESS ON FILE
GARCIA GARCIA, ABNER          ADDRESS ON FILE
GARCIA GARCIA, AIMMY E        ADDRESS ON FILE
GARCIA GARCIA, AIXA           ADDRESS ON FILE
GARCIA GARCIA, ALEX           ADDRESS ON FILE
GARCIA GARCIA, ALEXIS         ADDRESS ON FILE
GARCIA GARCIA, AMANDA I       ADDRESS ON FILE
GARCIA GARCIA, AMARILYS       ADDRESS ON FILE
GARCIA GARCIA, ANGEL          ADDRESS ON FILE
GARCIA GARCIA, ANGEL MANUEL   ADDRESS ON FILE
GARCIA GARCIA, ANTONIA        ADDRESS ON FILE
GARCIA GARCIA, ARACELI        ADDRESS ON FILE
GARCIA GARCIA, ARISTIDES      ADDRESS ON FILE
GARCIA GARCIA, ARMINDO        ADDRESS ON FILE
GARCIA GARCIA, ARNALDO        ADDRESS ON FILE
GARCIA GARCIA, AWILDA         ADDRESS ON FILE
GARCIA GARCIA, BEATRIZ        ADDRESS ON FILE
GARCIA GARCIA, BETTY          ADDRESS ON FILE
GARCIA GARCIA, BETZAIDA       ADDRESS ON FILE
GARCIA GARCIA, BLANCA I       ADDRESS ON FILE
GARCIA GARCIA, CANDIDA        ADDRESS ON FILE
GARCIA GARCIA, CANDIDA R      ADDRESS ON FILE
GARCIA GARCIA, CARLOS         ADDRESS ON FILE
GARCIA GARCIA, CARLOS         ADDRESS ON FILE
Garcia Garcia, Carlos H       ADDRESS ON FILE
GARCIA GARCIA, CARLOS R.      ADDRESS ON FILE
GARCIA GARCIA, CARMEN         ADDRESS ON FILE




                                                                            Page 3096 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3097 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA GARCIA, CARMEN       ADDRESS ON FILE
GARCIA GARCIA, CARMEN D     ADDRESS ON FILE
GARCIA GARCIA, CARMEN G     ADDRESS ON FILE
GARCIA GARCIA, CARMEN I     ADDRESS ON FILE
GARCIA GARCIA, CARMEN L.    ADDRESS ON FILE
GARCIA GARCIA, CARMEN L.    ADDRESS ON FILE
GARCIA GARCIA, CARMEN M     ADDRESS ON FILE
GARCIA GARCIA, CARMEN N     ADDRESS ON FILE
GARCIA GARCIA, CATALINA     ADDRESS ON FILE
GARCIA GARCIA, CELESTINO    ADDRESS ON FILE
GARCIA GARCIA, DALYN E.     ADDRESS ON FILE
GARCIA GARCIA, DAVID        ADDRESS ON FILE
GARCIA GARCIA, DENISSE      ADDRESS ON FILE
GARCIA GARCIA, DINA         ADDRESS ON FILE
Garcia Garcia, Ed William   ADDRESS ON FILE
GARCIA GARCIA, EDWIN        ADDRESS ON FILE
GARCIA GARCIA, ELAINE       ADDRESS ON FILE
GARCIA GARCIA, ELBA         ADDRESS ON FILE
GARCIA GARCIA, ELENA        ADDRESS ON FILE
GARCIA GARCIA, EMILIA       ADDRESS ON FILE
GARCIA GARCIA, ENRIQUE      ADDRESS ON FILE
GARCIA GARCIA, EVELIO       ADDRESS ON FILE
GARCIA GARCIA, EVELYN       ADDRESS ON FILE
GARCIA GARCIA, EVELYN       ADDRESS ON FILE
GARCIA GARCIA, FELIPE       ADDRESS ON FILE
GARCIA GARCIA, FERDINAND    ADDRESS ON FILE
GARCIA GARCIA, FERNANDO     ADDRESS ON FILE
Garcia Garcia, Flor         ADDRESS ON FILE
Garcia Garcia, Freddy       ADDRESS ON FILE
GARCIA GARCIA, GADDIER      ADDRESS ON FILE
GARCIA GARCIA, GADDIER      ADDRESS ON FILE
GARCIA GARCIA, GISELLY      ADDRESS ON FILE
GARCIA GARCIA, GLADYS       ADDRESS ON FILE
GARCIA GARCIA, GLADYS       ADDRESS ON FILE
GARCIA GARCIA, GLORIMAR     ADDRESS ON FILE
GARCIA GARCIA, GRISSEL      ADDRESS ON FILE
GARCIA GARCIA, GUILLERMO    ADDRESS ON FILE
GARCIA GARCIA, HAYDEE       ADDRESS ON FILE
GARCIA GARCIA, HIPOLITA     ADDRESS ON FILE
GARCIA GARCIA, IRIS         ADDRESS ON FILE
GARCIA GARCIA, IRIS P       ADDRESS ON FILE
GARCIA GARCIA, IRMA         ADDRESS ON FILE
GARCIA GARCIA, ISABEL M     ADDRESS ON FILE
GARCIA GARCIA, ISMAEL       ADDRESS ON FILE
GARCIA GARCIA, ISOLINA      ADDRESS ON FILE
GARCIA GARCIA, IVELISA      ADDRESS ON FILE
GARCIA GARCIA, IVETTE       ADDRESS ON FILE
GARCIA GARCIA, JAELENNE     ADDRESS ON FILE
GARCIA GARCIA, JANET        ADDRESS ON FILE
GARCIA GARCIA, JARIELLYS    ADDRESS ON FILE
GARCIA GARCIA, JAVIER       ADDRESS ON FILE
GARCIA GARCIA, JAVIER       ADDRESS ON FILE
GARCIA GARCIA, JAVIER E     ADDRESS ON FILE
GARCIA GARCIA, JAVIER E     ADDRESS ON FILE
GARCIA GARCIA, JAYMARA L    ADDRESS ON FILE
GARCIA GARCIA, JENNY E      ADDRESS ON FILE
GARCIA GARCIA, JESUS        ADDRESS ON FILE
GARCIA GARCIA, JOAQUIN      ADDRESS ON FILE
GARCIA GARCIA, JORGE        ADDRESS ON FILE
GARCIA GARCIA, JORGE        ADDRESS ON FILE




                                                                        Page 3097 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3098 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA GARCIA, JORGE           ADDRESS ON FILE
Garcia Garcia, Jorge L         ADDRESS ON FILE
GARCIA GARCIA, JORGE M         ADDRESS ON FILE
GARCIA GARCIA, JOSE            ADDRESS ON FILE
GARCIA GARCIA, JOSE            ADDRESS ON FILE
GARCIA GARCIA, JOSE            ADDRESS ON FILE
GARCIA GARCIA, JOSE            ADDRESS ON FILE
GARCIA GARCIA, JOSE A          ADDRESS ON FILE
Garcia Garcia, Jose A.         ADDRESS ON FILE
GARCIA GARCIA, JOSE ANTONIO    ADDRESS ON FILE
Garcia Garcia, Jose E          ADDRESS ON FILE
Garcia Garcia, Jose M          ADDRESS ON FILE
GARCIA GARCIA, JOSE M.         ADDRESS ON FILE
GARCIA GARCIA, JOSE R          ADDRESS ON FILE
GARCIA GARCIA, JOSHUA          ADDRESS ON FILE
GARCIA GARCIA, JULIA M         ADDRESS ON FILE
GARCIA GARCIA, JUNAYMARIE      ADDRESS ON FILE
GARCIA GARCIA, KARINA L        ADDRESS ON FILE
GARCIA GARCIA, KRIZIA          ADDRESS ON FILE
GARCIA GARCIA, LISMARIEL       ADDRESS ON FILE
Garcia Garcia, Lourdes E       ADDRESS ON FILE
GARCIA GARCIA, LOURDES I       ADDRESS ON FILE
GARCIA GARCIA, LOURDES J       ADDRESS ON FILE
GARCIA GARCIA, LUIS            ADDRESS ON FILE
GARCIA GARCIA, LUIS            ADDRESS ON FILE
GARCIA GARCIA, LUIS            ADDRESS ON FILE
GARCIA GARCIA, LUIS R          ADDRESS ON FILE
GARCIA GARCIA, LUIS R          ADDRESS ON FILE
GARCIA GARCIA, LUIS R.         ADDRESS ON FILE
GARCIA GARCIA, LUZ D.          ADDRESS ON FILE
GARCIA GARCIA, LUZ D.          ADDRESS ON FILE
GARCIA GARCIA, LYDIA           ADDRESS ON FILE
GARCIA GARCIA, LYDIA           ADDRESS ON FILE
Garcia Garcia, Manuel E.       ADDRESS ON FILE
GARCIA GARCIA, MARIA D         ADDRESS ON FILE
GARCIA GARCIA, MARIA DEL. C.   ADDRESS ON FILE
GARCIA GARCIA, MARIA M         ADDRESS ON FILE
GARCIA GARCIA, MARIA S         ADDRESS ON FILE
GARCIA GARCIA, MARIA Y.        ADDRESS ON FILE
GARCIA GARCIA, MARIANA         ADDRESS ON FILE
GARCIA GARCIA, MARION R.       ADDRESS ON FILE
GARCIA GARCIA, MARITZA         ADDRESS ON FILE
GARCIA GARCIA, MARLENE         ADDRESS ON FILE
GARCIA GARCIA, MARTITA         ADDRESS ON FILE
GARCIA GARCIA, MIGUEL          ADDRESS ON FILE
GARCIA GARCIA, MILAGROS        ADDRESS ON FILE
GARCIA GARCIA, MILAGROS        ADDRESS ON FILE
GARCIA GARCIA, MINERVA         ADDRESS ON FILE
GARCIA GARCIA, MINERVA         ADDRESS ON FILE
GARCIA GARCIA, MIRIAM R        ADDRESS ON FILE
GARCIA GARCIA, MISAEL          ADDRESS ON FILE
GARCIA GARCIA, NANCY S         ADDRESS ON FILE
GARCIA GARCIA, NANCY S         ADDRESS ON FILE
GARCIA GARCIA, NATALIA         ADDRESS ON FILE
GARCIA GARCIA, NELLY M         ADDRESS ON FILE
GARCIA GARCIA, NEREIDA         ADDRESS ON FILE
GARCIA GARCIA, NEREIDA         ADDRESS ON FILE
GARCIA GARCIA, NILDA E.        ADDRESS ON FILE
GARCIA GARCIA, NILDA I         ADDRESS ON FILE
GARCIA GARCIA, OMAYRA          ADDRESS ON FILE




                                                                           Page 3098 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3099 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA GARCIA, OSCAR         ADDRESS ON FILE
GARCIA GARCIA, OSCAR E.      ADDRESS ON FILE
GARCIA GARCIA, PABLO         ADDRESS ON FILE
Garcia Garcia, Patria        ADDRESS ON FILE
GARCIA GARCIA, PEDRO         ADDRESS ON FILE
Garcia Garcia, Pedro J.      ADDRESS ON FILE
GARCIA GARCIA, PRINCESS M    ADDRESS ON FILE
GARCIA GARCIA, RAFAEL        ADDRESS ON FILE
GARCIA GARCIA, RAFAEL        ADDRESS ON FILE
GARCIA GARCIA, RAMONITA      ADDRESS ON FILE
GARCIA GARCIA, RICARDO       ADDRESS ON FILE
GARCIA GARCIA, ROBERTO       ADDRESS ON FILE
Garcia Garcia, Roberto       ADDRESS ON FILE
GARCIA GARCIA, ROBERTO       ADDRESS ON FILE
GARCIA GARCIA, ROBERTO       ADDRESS ON FILE
GARCIA GARCIA, ROSALINDA     ADDRESS ON FILE
Garcia Garcia, Rosarelys     ADDRESS ON FILE
GARCIA GARCIA, ROSARELYS     ADDRESS ON FILE
GARCIA GARCIA, ROXANA        ADDRESS ON FILE
GARCIA GARCIA, SAMAGDY       ADDRESS ON FILE
GARCIA GARCIA, SAMARIE       ADDRESS ON FILE
GARCIA GARCIA, SANTIAGO      ADDRESS ON FILE
GARCIA GARCIA, SONIA N       ADDRESS ON FILE
GARCIA GARCIA, TANIA         ADDRESS ON FILE
GARCIA GARCIA, WALLACE       ADDRESS ON FILE
GARCIA GARCIA, WANDA I       ADDRESS ON FILE
GARCIA GARCIA, WANDA L       ADDRESS ON FILE
GARCIA GARCIA, WILFREDO      ADDRESS ON FILE
GARCIA GARCIA, WILMA         ADDRESS ON FILE
GARCIA GARCIA, WILSON        ADDRESS ON FILE
Garcia Garcia, Yadiris       ADDRESS ON FILE
GARCIA GARCIA, YAILYN        ADDRESS ON FILE
GARCIA GARCIA, YOLANDA       ADDRESS ON FILE
GARCIA GARCIA, ZAIDA R       ADDRESS ON FILE
GARCIA GARCIA,ARMINDO        ADDRESS ON FILE
GARCIA GARCIA,MARION         ADDRESS ON FILE
GARCIA GARRIDO, OMAR         ADDRESS ON FILE
GARCIA GASTON, ANA M         ADDRESS ON FILE
GARCIA GAVILLAN, JESUS       ADDRESS ON FILE
GARCIA GELPI, CARMEN I       ADDRESS ON FILE
GARCIA GELPI, RAMONA         ADDRESS ON FILE
GARCIA GENAO, SERGIA         ADDRESS ON FILE
GARCIA GERARDINO, JULIETTE   ADDRESS ON FILE
GARCIA GERENA, SANDRA        ADDRESS ON FILE
GARCIA GIBOYEAUX, DAYNA      ADDRESS ON FILE
GARCIA GIBOYEAUX, DAYNA      ADDRESS ON FILE
GARCIA GIL, MARIA            ADDRESS ON FILE
GARCIA GIL, MARIA E          ADDRESS ON FILE
GARCIA GIL, PATRICIA         ADDRESS ON FILE
GARCIA GINES, CARMEN         ADDRESS ON FILE
GARCIA GINES, DIANA          ADDRESS ON FILE
GARCIA GINES, DORIS N        ADDRESS ON FILE
GARCIA GINES, WANDA I        ADDRESS ON FILE
GARCIA GINORIO, NAYDA T.     ADDRESS ON FILE
GARCIA GIRALDES, MUGGET      ADDRESS ON FILE
GARCIA GODOY, JOSE J         ADDRESS ON FILE
GARCIA GOITIA, JUSTINA       ADDRESS ON FILE
GARCIA GOMEZ, ALEJANDRO      ADDRESS ON FILE
GARCIA GOMEZ, ANIBAL         ADDRESS ON FILE
GARCIA GOMEZ, BASILIA        ADDRESS ON FILE




                                                                         Page 3099 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3100 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA GOMEZ, BRUNILDA        ADDRESS ON FILE
GARCIA GOMEZ, CARLOS          ADDRESS ON FILE
GARCIA GOMEZ, DOLORES         ADDRESS ON FILE
GARCIA GOMEZ, EDGAR           ADDRESS ON FILE
GARCIA GOMEZ, ISABEL          ADDRESS ON FILE
GARCIA GOMEZ, JACQUELINE      ADDRESS ON FILE
GARCIA GOMEZ, JOSE            ADDRESS ON FILE
GARCIA GOMEZ, MARIA I         ADDRESS ON FILE
GARCIA GOMEZ, PEDRO           ADDRESS ON FILE
GARCIA GOMEZ, RAFAEL          ADDRESS ON FILE
GARCIA GOMEZ, RUBY            ADDRESS ON FILE
GARCIA GOMEZ, ZAIDA L         ADDRESS ON FILE
GARCIA GONZALEZ, AGNES        ADDRESS ON FILE
GARCIA GONZALEZ, ALEXANDRA    ADDRESS ON FILE
GARCIA GONZALEZ, AMERICA      ADDRESS ON FILE
GARCIA GONZALEZ, ANDREA       ADDRESS ON FILE
GARCIA GONZALEZ, ANDREA       ADDRESS ON FILE
GARCIA GONZALEZ, ANGEL L      ADDRESS ON FILE
GARCIA GONZALEZ, ANNETTE      ADDRESS ON FILE
GARCIA GONZALEZ, ANTONIA      ADDRESS ON FILE
GARCIA GONZALEZ, ANTONIO      ADDRESS ON FILE
GARCIA GONZALEZ, AWILDA       ADDRESS ON FILE
GARCIA GONZALEZ, BEATRIZ      ADDRESS ON FILE
GARCIA GONZALEZ, BREIDYS      ADDRESS ON FILE
GARCIA GONZALEZ, BREIDYS P.   ADDRESS ON FILE
GARCIA GONZALEZ, BREIDYS P.   ADDRESS ON FILE
GARCIA GONZALEZ, BRENDA       ADDRESS ON FILE
GARCIA GONZALEZ, BRENDA       ADDRESS ON FILE
Garcia Gonzalez, Carlos       ADDRESS ON FILE
GARCIA GONZALEZ, CARMELO      ADDRESS ON FILE
GARCIA GONZALEZ, CARMEN       ADDRESS ON FILE
GARCIA GONZALEZ, CARMEN M     ADDRESS ON FILE
GARCIA GONZALEZ, CATALINO     ADDRESS ON FILE
GARCIA GONZALEZ, CECILIA      ADDRESS ON FILE
GARCIA GONZALEZ, DELIA        ADDRESS ON FILE
GARCIA GONZALEZ, DELIA I      ADDRESS ON FILE
GARCIA GONZALEZ, DELVIS       ADDRESS ON FILE
GARCIA GONZALEZ, DELVIS R.    ADDRESS ON FILE
GARCIA GONZALEZ, DORIS        ADDRESS ON FILE
GARCIA GONZALEZ, DORIS E      ADDRESS ON FILE
GARCIA GONZALEZ, EDGARDO      ADDRESS ON FILE
GARCIA GONZALEZ, EDWIN        ADDRESS ON FILE
GARCIA GONZALEZ, EDWIN        ADDRESS ON FILE
Garcia Gonzalez, Edwin A      ADDRESS ON FILE
GARCIA GONZALEZ, EDWIN Y      ADDRESS ON FILE
GARCIA GONZALEZ, EFRAIN       ADDRESS ON FILE
GARCIA GONZALEZ, ELIEZER      ADDRESS ON FILE
GARCIA GONZALEZ, ELIUD        ADDRESS ON FILE
Garcia Gonzalez, Emanuel A.   ADDRESS ON FILE
GARCIA GONZALEZ, ESPERANZA    ADDRESS ON FILE
GARCIA GONZALEZ, EVA          ADDRESS ON FILE
GARCIA GONZALEZ, FELIX A      ADDRESS ON FILE
GARCIA GONZALEZ, FELIX M.     ADDRESS ON FILE
Garcia Gonzalez, Freddy       ADDRESS ON FILE
GARCIA GONZALEZ, GABRIEL      ADDRESS ON FILE
GARCIA GONZALEZ, GABRIEL      ADDRESS ON FILE
GARCIA GONZALEZ, GABRIEL      ADDRESS ON FILE
GARCIA GONZALEZ, GABRIEL E    ADDRESS ON FILE
GARCIA GONZALEZ, GABRIEL E.   ADDRESS ON FILE
GARCIA GONZALEZ, GABRIELA     ADDRESS ON FILE




                                                                          Page 3100 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3101 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA GONZALEZ, GLORIA         ADDRESS ON FILE
GARCIA GONZALEZ, GLORIA         ADDRESS ON FILE
GARCIA GONZALEZ, GLORIANNE      ADDRESS ON FILE
GARCIA GONZALEZ, GLORIVEE       ADDRESS ON FILE
GARCIA GONZALEZ, HARRY          ADDRESS ON FILE
GARCIA GONZALEZ, HECTOR         ADDRESS ON FILE
GARCIA GONZALEZ, IRIS I         ADDRESS ON FILE
GARCIA GONZALEZ, ISIDRO         ADDRESS ON FILE
GARCIA GONZALEZ, JANET          ADDRESS ON FILE
GARCIA GONZALEZ, JEANETTE       ADDRESS ON FILE
GARCIA GONZALEZ, JEANNETTE      ADDRESS ON FILE
GARCIA GONZALEZ, JIMB           ADDRESS ON FILE
GARCIA GONZALEZ, JOHN G         ADDRESS ON FILE
GARCIA GONZALEZ, JONATHAN       ADDRESS ON FILE
GARCIA GONZALEZ, JOSE J         ADDRESS ON FILE
GARCIA GONZALEZ, JUAN           ADDRESS ON FILE
GARCIA GONZALEZ, JUAN ENRIQUE   ADDRESS ON FILE
GARCIA GONZALEZ, JUAN L         ADDRESS ON FILE
GARCIA GONZALEZ, JULENY         ADDRESS ON FILE
GARCIA GONZALEZ, JULIO A        ADDRESS ON FILE
GARCIA GONZALEZ, JULIO C.       ADDRESS ON FILE
GARCIA GONZALEZ, KARLA J.       ADDRESS ON FILE
GARCIA GONZALEZ, KATHY          ADDRESS ON FILE
GARCIA GONZALEZ, LESLIE         ADDRESS ON FILE
GARCIA GONZALEZ, LIMARY         ADDRESS ON FILE
GARCIA GONZALEZ, LIZAIDA        ADDRESS ON FILE
GARCIA GONZALEZ, LOURDES M.     ADDRESS ON FILE
GARCIA GONZALEZ, LOURDES M.     ADDRESS ON FILE
GARCIA GONZALEZ, LUCAS          ADDRESS ON FILE
GARCIA GONZALEZ, LUIS A         ADDRESS ON FILE
GARCIA GONZALEZ, LUIS A         ADDRESS ON FILE
GARCIA GONZALEZ, LUIS L         ADDRESS ON FILE
GARCIA GONZALEZ, LUZ E          ADDRESS ON FILE
GARCIA GONZALEZ, LUZ M          ADDRESS ON FILE
Garcia Gonzalez, Marcos A       ADDRESS ON FILE
GARCIA GONZALEZ, MARGARITA      ADDRESS ON FILE
GARCIA GONZALEZ, MARIA DE J     ADDRESS ON FILE
GARCIA GONZALEZ, MARIA I        ADDRESS ON FILE
GARCIA GONZALEZ, MARIA I        ADDRESS ON FILE
Garcia Gonzalez, Maria I.       ADDRESS ON FILE
GARCIA GONZALEZ, MARIA S        ADDRESS ON FILE
GARCIA GONZALEZ, MARIBEL        ADDRESS ON FILE
GARCIA GONZALEZ, MARINILDA      ADDRESS ON FILE
GARCIA GONZALEZ, MARITZA        ADDRESS ON FILE
GARCIA GONZALEZ, MARITZA        ADDRESS ON FILE
GARCIA GONZALEZ, MARLA          ADDRESS ON FILE
GARCIA GONZALEZ, MARY J         ADDRESS ON FILE
GARCIA GONZALEZ, MAYRA          ADDRESS ON FILE
GARCIA GONZALEZ, MAYRA          ADDRESS ON FILE
GARCIA GONZALEZ, MAYRA E        ADDRESS ON FILE
GARCIA GONZALEZ, MAYRIM         ADDRESS ON FILE
GARCIA GONZALEZ, MYRIAM I       ADDRESS ON FILE
GARCIA GONZALEZ, NANCY L        ADDRESS ON FILE
GARCIA GONZALEZ, NANETTE        ADDRESS ON FILE
GARCIA GONZALEZ, NILDA          ADDRESS ON FILE
GARCIA GONZALEZ, PAUL           ADDRESS ON FILE
GARCIA GONZALEZ, PEDRO          ADDRESS ON FILE
Garcia Gonzalez, Pedro A        ADDRESS ON FILE
Garcia Gonzalez, Rafael         ADDRESS ON FILE
GARCIA GONZALEZ, RAMON          ADDRESS ON FILE




                                                                            Page 3101 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3102 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA GONZALEZ, RAQUEL       ADDRESS ON FILE
GARCIA GONZALEZ, RAUL         ADDRESS ON FILE
GARCIA GONZALEZ, RICARDO R    ADDRESS ON FILE
GARCIA GONZALEZ, RICARDO R.   ADDRESS ON FILE
GARCIA GONZALEZ, ROBERTO      ADDRESS ON FILE
GARCIA GONZALEZ, ROQUE L      ADDRESS ON FILE
GARCIA GONZALEZ, ROSA E       ADDRESS ON FILE
GARCIA GONZALEZ, RUTH NOEMI   ADDRESS ON FILE
GARCIA GONZALEZ, SAUL         ADDRESS ON FILE
GARCIA GONZALEZ, SENDY        ADDRESS ON FILE
GARCIA GONZALEZ, SUE‐ANN      ADDRESS ON FILE
GARCIA GONZALEZ, TANIA        ADDRESS ON FILE
GARCIA GONZALEZ, VIRNA        ADDRESS ON FILE
GARCIA GONZALEZ, WANDA        ADDRESS ON FILE
GARCIA GONZALEZ, WILDA A      ADDRESS ON FILE
GARCIA GONZALEZ, WILDAMARYS   ADDRESS ON FILE
GARCIA GONZALEZ, WILFREDO     ADDRESS ON FILE
GARCIA GONZALEZ, WILFREDO     ADDRESS ON FILE
GARCIA GONZALEZ, WILFREDO     ADDRESS ON FILE
Garcia Gonzalez, William      ADDRESS ON FILE
GARCIA GONZALEZ, WILLIAM      ADDRESS ON FILE
GARCIA GONZALEZ, YAHAIRA      ADDRESS ON FILE
Garcia Gonzalez, Yamil        ADDRESS ON FILE
GARCIA GONZALEZ, YASURI       ADDRESS ON FILE
GARCIA GONZALEZ, YOMARIS      ADDRESS ON FILE
GARCIA GONZALEZ, ZELIDETH     ADDRESS ON FILE
GARCIA GONZALEZ, ZULEIKA      ADDRESS ON FILE
GARCIA GONZALEZ,JOSE M.       ADDRESS ON FILE
GARCIA GOTAY, CARLOS          ADDRESS ON FILE
GARCIA GOYCO, CARMEN I.       ADDRESS ON FILE
GARCIA GOYCO, EDGARDO         ADDRESS ON FILE
GARCIA GRACIA, ALBA L         ADDRESS ON FILE
GARCIA GRACIA, CARMELO        ADDRESS ON FILE
GARCIA GRACIA, JESSE J        ADDRESS ON FILE
GARCIA GRACIA, JESSE JOE      ADDRESS ON FILE
GARCIA GRACIA, MONICA         ADDRESS ON FILE
GARCIA GRANJALS, BELEN        ADDRESS ON FILE
GARCIA GREGORY MD, JOSE L     ADDRESS ON FILE
GARCIA GREGORY, GRICEL E.     ADDRESS ON FILE
GARCIA GRILLASCA, ANDRE M     ADDRESS ON FILE
GARCIA GRILLASCA, ENID        ADDRESS ON FILE
Garcia Grullon, Eldon         ADDRESS ON FILE
GARCIA GUADALUPE, AGUSTIN     ADDRESS ON FILE
GARCIA GUADALUPE, VICTOR      ADDRESS ON FILE
GARCIA GUADALUPE, YANIRE      ADDRESS ON FILE
GARCIA GUERRA, CARMEN S       ADDRESS ON FILE
GARCIA GUERRA, FRANCISCO      ADDRESS ON FILE
GARCIA GUERRA, JIMMY          ADDRESS ON FILE
GARCIA GUERRA, MARIA          ADDRESS ON FILE
GARCIA GUERRA, MIGUEL A       ADDRESS ON FILE
GARCIA GUERRA, WANDA I        ADDRESS ON FILE
GARCIA GUERRERO, ATILA        ADDRESS ON FILE
GARCIA GUERRERO, RICARDO      ADDRESS ON FILE
GARCIA GUEVARA, GABRIEL       ADDRESS ON FILE
GARCIA GUEVARA, WILLIAM       ADDRESS ON FILE
GARCIA GUIDICELLI, LINDA J    ADDRESS ON FILE
GARCIA GUILBE, EMMA           ADDRESS ON FILE
GARCIA GUILBE, EMMA           ADDRESS ON FILE
GARCIA GUMA, EFFENDI          ADDRESS ON FILE
GARCIA GURUCHARRI, ALBERTO    ADDRESS ON FILE




                                                                          Page 3102 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3103 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                  Address1                              Address2                                 Address3              Address4         City        State   PostalCode   Country
GARCIA GUTIERREZ, AMADA Z.     ADDRESS ON FILE
GARCIA GUTIERREZ, ERIKA        ADDRESS ON FILE
GARCIA GUTIERREZ, MIGUEL       ADDRESS ON FILE
GARCIA GUTIERREZ, RAFAEL       ADDRESS ON FILE
GARCIA GUTIERREZ, YARIDZA      ADDRESS ON FILE
GARCIA GUZMAN MD, MILTON E     ADDRESS ON FILE
GARCIA GUZMAN, ALBERT          ADDRESS ON FILE
GARCIA GUZMAN, ANA C           ADDRESS ON FILE
GARCIA GUZMAN, ANGEL           ADDRESS ON FILE
GARCIA GUZMAN, ARMANDO         ADDRESS ON FILE
GARCIA GUZMAN, BETSY M         ADDRESS ON FILE
GARCIA GUZMAN, BETTY D.        ADDRESS ON FILE
GARCIA GUZMAN, CIBELLE         ADDRESS ON FILE
GARCIA GUZMAN, DORIS           ADDRESS ON FILE
Garcia Guzman, Ervin           ADDRESS ON FILE
Garcia Guzman, Felix R.        ADDRESS ON FILE
Garcia Guzman, Felix R.        ADDRESS ON FILE
GARCIA GUZMAN, FRANK           ADDRESS ON FILE
GARCIA GUZMAN, GEOVANNI        ADDRESS ON FILE
GARCIA GUZMAN, GRISHELL        ADDRESS ON FILE
GARCIA GUZMAN, HEDIN V.        ADDRESS ON FILE
GARCIA GUZMAN, JOANNE          ADDRESS ON FILE
GARCIA GUZMAN, JOSE            ADDRESS ON FILE
GARCIA GUZMAN, JOSE            ADDRESS ON FILE
GARCIA GUZMAN, LUIS            ADDRESS ON FILE
GARCIA GUZMAN, LUIS A          ADDRESS ON FILE
GARCIA GUZMAN, MARTA           ADDRESS ON FILE
GARCIA GUZMAN, MERCEDES M      ADDRESS ON FILE
GARCIA GUZMAN, MINERVA         ADDRESS ON FILE
GARCIA GUZMAN, NANCY           ADDRESS ON FILE
GARCIA GUZMAN, NELSON J        ADDRESS ON FILE
GARCIA GUZMAN, NILSA           ADDRESS ON FILE
GARCIA GUZMAN, PEDRO           ADDRESS ON FILE
GARCIA GUZMAN, PEDRO           ADDRESS ON FILE
GARCIA GUZMAN, ROBERTO         ADDRESS ON FILE
GARCIA GUZMAN, VICTOR          ADDRESS ON FILE
GARCIA HALL, CRISTINA          ADDRESS ON FILE
GARCIA HDEZ., CAROLYN          ADDRESS ON FILE
GARCIA HERNANDEZ MD, SANTOS    ADDRESS ON FILE
GARCIA HERNANDEZ, ADA          ADDRESS ON FILE
Garcia Hernandez, Alex I       ADDRESS ON FILE
GARCIA HERNANDEZ, ANGEL        ADDRESS ON FILE
GARCIA HERNANDEZ, ANGEL        ADDRESS ON FILE
GARCIA HERNANDEZ, ANGEL M      ADDRESS ON FILE
GARCIA HERNANDEZ, ANTONIO      ADDRESS ON FILE
GARCIA HERNANDEZ, ARCADIO      ADDRESS ON FILE
GARCIA HERNANDEZ, ARIANNE      ADDRESS ON FILE

                                                                                                              BAYAMON INSTITUCION
GARCIA HERNANDEZ, CARLOS M.    CARLOS M. GARCIA HERNANDEZ (CONFINADO) CENTRO CORRECCIONAL DE                  ANEXO 292 EDIFICIO 8C5 PO BOX 60‐700   BAYAMON     PR      00960‐61
GARCIA HERNANDEZ, CARMEN       ADDRESS ON FILE
GARCIA HERNANDEZ, CARMEN A     ADDRESS ON FILE
GARCIA HERNANDEZ, CARMEN D     ADDRESS ON FILE
Garcia Hernandez, Carmen E     ADDRESS ON FILE
GARCIA HERNANDEZ, CARMEN M     ADDRESS ON FILE
Garcia Hernandez, Carolyn      ADDRESS ON FILE
GARCIA HERNANDEZ, CONCEPCION   ADDRESS ON FILE
GARCIA HERNANDEZ, DAISY        ADDRESS ON FILE
Garcia Hernandez, Daniel       ADDRESS ON FILE
GARCIA HERNANDEZ, DOMINGO      ADDRESS ON FILE




                                                                                               Page 3103 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3104 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Hernandez, Edward          ADDRESS ON FILE
GARCIA HERNANDEZ, ELBA            ADDRESS ON FILE
GARCIA HERNANDEZ, ELIZABETH       ADDRESS ON FILE
GARCIA HERNANDEZ, EMILIO          ADDRESS ON FILE
GARCIA HERNANDEZ, ENID            ADDRESS ON FILE
Garcia Hernandez, Gilbert         ADDRESS ON FILE
GARCIA HERNANDEZ, GISELA          ADDRESS ON FILE
GARCIA HERNANDEZ, HECTOR          ADDRESS ON FILE
GARCIA HERNANDEZ, ISMAEL          ADDRESS ON FILE
GARCIA HERNANDEZ, IVAN            ADDRESS ON FILE
GARCIA HERNANDEZ, JESSICA         ADDRESS ON FILE
Garcia Hernandez, Jose D.         ADDRESS ON FILE
GARCIA HERNANDEZ, JOSE L          ADDRESS ON FILE
GARCIA HERNANDEZ, JOSE M.         ADDRESS ON FILE
GARCIA HERNANDEZ, JUAN            ADDRESS ON FILE
GARCIA HERNANDEZ, JUAN            ADDRESS ON FILE
GARCIA HERNANDEZ, JUANA           ADDRESS ON FILE
GARCIA HERNANDEZ, JUDITH          ADDRESS ON FILE
GARCIA HERNANDEZ, LEYDA           ADDRESS ON FILE
GARCIA HERNANDEZ, LEYDA L         ADDRESS ON FILE
GARCIA HERNANDEZ, LONNY M         ADDRESS ON FILE
GARCIA HERNANDEZ, LUCAS           ADDRESS ON FILE
GARCIA HERNANDEZ, LYDIA           ADDRESS ON FILE
GARCIA HERNANDEZ, MARGARITA       ADDRESS ON FILE
GARCIA HERNANDEZ, MARGARITA       ADDRESS ON FILE
GARCIA HERNANDEZ, MARIA           ADDRESS ON FILE
GARCIA HERNANDEZ, MARIA B         ADDRESS ON FILE
GARCIA HERNANDEZ, MARIA BERNICE   ADDRESS ON FILE
GARCIA HERNANDEZ, MARIA C.        ADDRESS ON FILE
GARCIA HERNANDEZ, MARIA DE L.     ADDRESS ON FILE
GARCIA HERNANDEZ, MARIELA C       ADDRESS ON FILE
GARCIA HERNANDEZ, MARYLIN N       ADDRESS ON FILE
Garcia Hernandez, Melvin          ADDRESS ON FILE
GARCIA HERNANDEZ, NEFTALI         ADDRESS ON FILE
GARCIA HERNANDEZ, NOEL            ADDRESS ON FILE
GARCIA HERNANDEZ, OLGA            ADDRESS ON FILE
GARCIA HERNANDEZ, RADAMES         ADDRESS ON FILE
GARCIA HERNANDEZ, RAFAEL          ADDRESS ON FILE
GARCIA HERNANDEZ, RAFAEL          ADDRESS ON FILE
Garcia Hernandez, Ramon L         ADDRESS ON FILE
GARCIA HERNANDEZ, REINALDO        ADDRESS ON FILE
GARCIA HERNANDEZ, ROSALINA        ADDRESS ON FILE
GARCIA HERNANDEZ, ROSALINDA       ADDRESS ON FILE
GARCIA HERNANDEZ, SAUL            ADDRESS ON FILE
GARCIA HERNANDEZ, SAUL            ADDRESS ON FILE
GARCIA HERNANDEZ, SONIA E         ADDRESS ON FILE
GARCIA HERNANDEZ, SULMA           ADDRESS ON FILE
GARCIA HERNANDEZ, TAHIS           ADDRESS ON FILE
Garcia Hernandez, Teofilo         ADDRESS ON FILE
GARCIA HERNANDEZ, WANDA E         ADDRESS ON FILE
GARCIA HERNANDEZ, XIOMARA         ADDRESS ON FILE
GARCIA HERNANDEZ, YESENIA         ADDRESS ON FILE
GARCIA HERRERA, FIOL              ADDRESS ON FILE
GARCIA HICKS, JASLIND             ADDRESS ON FILE
GARCIA HIDALGO, FREDDY            ADDRESS ON FILE
GARCIA HIRALDO, FELIX             ADDRESS ON FILE
GARCIA HIRALDO, JULIA L           ADDRESS ON FILE
GARCIA HIRALDO, MARIA             ADDRESS ON FILE
GARCIA HIRALDO, ROBERTO           ADDRESS ON FILE
GARCIA HUERTAS, ANA               ADDRESS ON FILE




                                                                              Page 3104 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3105 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA HUERTAS, ANA R.          ADDRESS ON FILE
GARCIA HUERTAS, LYNNETTE        ADDRESS ON FILE
GARCIA HUERTAS, MARIA           ADDRESS ON FILE
GARCIA HUERTAS, OLVIN           ADDRESS ON FILE
GARCIA HUERTO, SANDRA           ADDRESS ON FILE
GARCIA HUGHES, KARINA           ADDRESS ON FILE
GARCIA IBARRA, CAROL            ADDRESS ON FILE
GARCIA IBARRA, TANYA            ADDRESS ON FILE
GARCIA IBARRA, TANYA            ADDRESS ON FILE
GARCIA ILARRAZA, TOMAS          ADDRESS ON FILE
GARCIA ILLAS, ARNALDO           ADDRESS ON FILE
GARCIA INCERA, MARIA P          ADDRESS ON FILE
GARCIA INFANTE, BRENDY A.       ADDRESS ON FILE
GARCIA INFANZON, JOSE A         ADDRESS ON FILE
GARCIA IRENE, ISMAEL            ADDRESS ON FILE
GARCIA IRIZARRY, ADA A.         ADDRESS ON FILE
GARCIA IRIZARRY, FERNANDO       ADDRESS ON FILE
GARCIA IRIZARRY, JOAQUIN        ADDRESS ON FILE
GARCIA IRIZARRY, JOHANA         ADDRESS ON FILE
GARCIA IRIZARRY, JOHANNA        ADDRESS ON FILE
GARCIA IRIZARRY, JORGE          ADDRESS ON FILE
GARCIA IRIZARRY, KARLA          ADDRESS ON FILE
GARCIA IRIZARRY, LUZ E          ADDRESS ON FILE
GARCIA IRIZARRY, LUZ M          ADDRESS ON FILE
GARCIA IRIZARRY, MARICELA       ADDRESS ON FILE
GARCIA IRIZARRY, NANCY          ADDRESS ON FILE
Garcia Irizarry, Pablo          ADDRESS ON FILE
GARCIA IRIZARRY, PABLO          ADDRESS ON FILE
GARCIA IRIZARRY, PABLO A.       ADDRESS ON FILE
Garcia Irizarry, Pedro J.       ADDRESS ON FILE
GARCIA IRIZARRY, RAFAELA        ADDRESS ON FILE
GARCIA IRIZARRY, SIGFREDO       ADDRESS ON FILE
GARCIA IRIZARRY, WANDA          ADDRESS ON FILE
Garcia Iturrino, Leonardo       ADDRESS ON FILE
GARCIA ITURRIZAGA, JOSE         ADDRESS ON FILE
GARCIA IZQUIERDO, MARIA DEL P   ADDRESS ON FILE
GARCIA IZQUIERDO, NELSON R      ADDRESS ON FILE
GARCIA JACKSON, ARLENE          ADDRESS ON FILE
GARCIA JAIME, GERGRIE           ADDRESS ON FILE
Garcia Jaime, Iris Y            ADDRESS ON FILE
GARCIA JAIME, LUIS              ADDRESS ON FILE
GARCIA JAIME, NYDIA             ADDRESS ON FILE
GARCIA JAIME, NYDIA E.          ADDRESS ON FILE
GARCIA JANITORIAL SALES         URB VILLAS DEL CARMEN     K 26 CALLE 11                                          GURABO       PR      00778
GARCIA JAUNARENA, ANDRES        ADDRESS ON FILE
GARCIA JAUNARENA, CARLOS R.     ADDRESS ON FILE
GARCIA JAUNARENA, RICARDO       ADDRESS ON FILE
GARCIA JIMENEZ MD, JOSE J       ADDRESS ON FILE
GARCIA JIMENEZ, CAMILLE         ADDRESS ON FILE
GARCIA JIMENEZ, CESAR J         ADDRESS ON FILE
GARCIA JIMENEZ, DAVID           ADDRESS ON FILE
GARCIA JIMENEZ, GABRIEL         ADDRESS ON FILE
GARCIA JIMENEZ, JESUS           ADDRESS ON FILE
GARCIA JIMENEZ, JORGE           ADDRESS ON FILE
GARCIA JIMENEZ, JORGE           ADDRESS ON FILE
GARCIA JIMENEZ, JOSE            ADDRESS ON FILE
Garcia Jimenez, Julio           ADDRESS ON FILE
GARCIA JIMENEZ, LAURA E.        ADDRESS ON FILE
GARCIA JIMENEZ, LISA M          ADDRESS ON FILE
GARCIA JIMENEZ, LIZA MARIE      ADDRESS ON FILE




                                                                            Page 3105 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3106 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA JIMENEZ, LUIS S          ADDRESS ON FILE
GARCIA JIMENEZ, MICHELL L.      ADDRESS ON FILE
GARCIA JIMENEZ, OTILIO          ADDRESS ON FILE
GARCIA JIMENEZ, RICHARD         ADDRESS ON FILE
GARCIA JIMENEZ, RICHARD         ADDRESS ON FILE
GARCIA JIMENEZ, ROSEMARY        ADDRESS ON FILE
GARCIA JIMENEZ, WILBERTO        ADDRESS ON FILE
GARCIA JIMENEZ, WILBERTO        ADDRESS ON FILE
GARCIA JIMENEZ, WILBERTO        ADDRESS ON FILE
GARCIA JORGE, ASHLEY J.         ADDRESS ON FILE
GARCIA JUARBE, ROBERTO          ADDRESS ON FILE
GARCIA JUNARENA MD, LUIS        ADDRESS ON FILE
GARCIA JUSINO, MARIA            ADDRESS ON FILE
GARCIA JUSTINIANO, MARCOS       ADDRESS ON FILE
GARCIA JUSTINIANO, MARIA I      ADDRESS ON FILE
GARCIA KUILAN, DAVID            ADDRESS ON FILE
GARCIA LA LUZ, OLGA M           ADDRESS ON FILE
GARCIA LABOY, ADIARIMAR D C     ADDRESS ON FILE
Garcia Laboy, Josue             ADDRESS ON FILE
GARCIA LABOY, MIGUEL A          ADDRESS ON FILE
GARCIA LABOY, OMAR              ADDRESS ON FILE
GARCIA LABOY, ROBERTO           ADDRESS ON FILE
GARCIA LABOY, YAHAIRA           ADDRESS ON FILE
GARCIA LABOY, YAIRENE           ADDRESS ON FILE
GARCIA LAGARES, JASMINE         ADDRESS ON FILE
GARCIA LAGARES, LORRAINE        ADDRESS ON FILE
GARCIA LAGUNA, ADALIS           ADDRESS ON FILE
GARCIA LANDRON, JERIKA          ADDRESS ON FILE
GARCIA LANZOT, DIANA G          ADDRESS ON FILE
GARCIA LASANTA, EDWIN           ADDRESS ON FILE
GARCIA LASPINA, MELISSA         ADDRESS ON FILE
GARCIA LASPRILLA, STEPHANIE I   ADDRESS ON FILE
GARCIA LATORRE, FELIX           ADDRESS ON FILE
GARCIA LAUREANO, PABLO A        ADDRESS ON FILE
GARCIA LAZU, JHAIRO             ADDRESS ON FILE
GARCIA LEAL, CECILIA            ADDRESS ON FILE
GARCIA LEAL, JOSE ANTONIO       ADDRESS ON FILE
GARCIA LEBRON, ALBERTO          ADDRESS ON FILE
GARCIA LEBRON, BRIAN            ADDRESS ON FILE
GARCIA LEBRON, CARMEN           ADDRESS ON FILE
GARCIA LEBRON, CRISTIAN         ADDRESS ON FILE
GARCIA LEBRON, ELIEZER          ADDRESS ON FILE
GARCIA LEBRON, ELIZABETH        ADDRESS ON FILE
GARCIA LEBRON, JOB              ADDRESS ON FILE
GARCIA LEBRON, MARIBEL          ADDRESS ON FILE
GARCIA LEBRON, MIGDALIA         ADDRESS ON FILE
GARCIA LEBRON, MIGUEL A.        ADDRESS ON FILE
GARCIA LEBRON, NORMA            ADDRESS ON FILE
GARCIA LEBRON, RAMON A          ADDRESS ON FILE
Garcia Lebron, Samuel           ADDRESS ON FILE
GARCIA LEBRON, TOMAS            ADDRESS ON FILE
GARCIA LEBRON, VICTORIA         ADDRESS ON FILE
GARCIA LEDESMA, IVAN M          ADDRESS ON FILE
GARCIA LEDESMA, IVETTE J.       ADDRESS ON FILE
GARCIA LEDUC, LITZA             ADDRESS ON FILE
Garcia Leduc, Marta             ADDRESS ON FILE
Garcia Leduc, Natividad         ADDRESS ON FILE
GARCIA LEON, AILYN              ADDRESS ON FILE
GARCÍA LEÓN, AILYN              ADDRESS ON FILE
GARCIA LEON, ANTOLIANO          ADDRESS ON FILE




                                                                            Page 3106 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3107 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA LEON, ELIZABETH           ADDRESS ON FILE
GARCIA LEON, ERIC                ADDRESS ON FILE
GARCIA LEON, GLADYS              ADDRESS ON FILE
GARCIA LEON, JULIO               ADDRESS ON FILE
GARCIA LEON, RICHARD             ADDRESS ON FILE
GARCIA LEON, VILMARY             ADDRESS ON FILE
GARCIA LIBERATA, MARLIN          ADDRESS ON FILE
GARCIA LINARES, LUSHKA           ADDRESS ON FILE
GARCIA LIZARDI, JOSE L           ADDRESS ON FILE
GARCIA LLANOS, IGNACIO           ADDRESS ON FILE
GARCIA LLANOS, WILNELIA          ADDRESS ON FILE
GARCIA LLORENS MD, MIGUEL A      ADDRESS ON FILE
GARCIA LLORENS, EVA T.           ADDRESS ON FILE
GARCIA LLULL, ELIZABETH          ADDRESS ON FILE
GARCIA LONGORIA, CHRIS           ADDRESS ON FILE
GARCIA LOPERENA, ELISA M.        ADDRESS ON FILE
GARCIA LOPEZ DE VICTORIA, EGLA   ADDRESS ON FILE
GARCIA LOPEZ MD, LUIS F          ADDRESS ON FILE
GARCIA LOPEZ, ADOLFO             ADDRESS ON FILE
Garcia Lopez, Aida               ADDRESS ON FILE
GARCIA LOPEZ, ALEIDA             ADDRESS ON FILE
GARCIA LOPEZ, ALFREDO            ADDRESS ON FILE
GARCIA LOPEZ, ANGEL M            ADDRESS ON FILE
GARCIA LOPEZ, BRUNILDA           ADDRESS ON FILE
GARCIA LOPEZ, CARLOS             ADDRESS ON FILE
GARCIA LOPEZ, CARLOS A           ADDRESS ON FILE
GARCIA LOPEZ, CARMELO            ADDRESS ON FILE
GARCIA LOPEZ, CARMEN J           ADDRESS ON FILE
GARCIA LOPEZ, CASTELAR           ADDRESS ON FILE
GARCIA LOPEZ, CHEIDY             ADDRESS ON FILE
GARCIA LOPEZ, DALILA             ADDRESS ON FILE
GARCIA LOPEZ, EDISON             ADDRESS ON FILE
GARCIA LOPEZ, EDLYN I            ADDRESS ON FILE
Garcia Lopez, Edmanuel           ADDRESS ON FILE
Garcia Lopez, Eduardo            ADDRESS ON FILE
GARCIA LOPEZ, EDWIN              ADDRESS ON FILE
GARCIA LOPEZ, EDWIN X            ADDRESS ON FILE
GARCIA LOPEZ, EMILY              ADDRESS ON FILE
GARCIA LOPEZ, ERIC A             ADDRESS ON FILE
GARCIA LOPEZ, ESTHER             ADDRESS ON FILE
GARCIA LOPEZ, FABIOLA            ADDRESS ON FILE
GARCIA LOPEZ, FELIX              ADDRESS ON FILE
GARCIA LOPEZ, FREDDY             ADDRESS ON FILE
GARCIA LOPEZ, GABRIEL            ADDRESS ON FILE
GARCIA LOPEZ, GERARDO            ADDRESS ON FILE
GARCIA LOPEZ, GERARDO            ADDRESS ON FILE
GARCIA LOPEZ, GLADYS G           ADDRESS ON FILE
GARCIA LOPEZ, GUSTAVO            ADDRESS ON FILE
GARCIA LOPEZ, GUSTAVO A.         ADDRESS ON FILE
Garcia Lopez, Heriberto          ADDRESS ON FILE
GARCIA LOPEZ, HILDA E            ADDRESS ON FILE
GARCIA LOPEZ, IBIS               ADDRESS ON FILE
GARCIA LOPEZ, ISABEL             ADDRESS ON FILE
GARCIA LOPEZ, ISABEL A           ADDRESS ON FILE
GARCIA LOPEZ, JACQUELINE         ADDRESS ON FILE
GARCIA LOPEZ, JAIME              ADDRESS ON FILE
GARCIA LOPEZ, JOSE               ADDRESS ON FILE
GARCIA LOPEZ, JOSE               ADDRESS ON FILE
GARCIA LOPEZ, JOSE               ADDRESS ON FILE
GARCIA LOPEZ, LESVIA M           ADDRESS ON FILE




                                                                             Page 3107 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3108 of 3500
                                                                             17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                 Address1                       Address2                                      Address3         Address4   City         State   PostalCode   Country
GARCIA LOPEZ, LIZA M.         ADDRESS ON FILE
GARCIA LOPEZ, LORRAINE        ADDRESS ON FILE
GARCIA LOPEZ, LUIS            ADDRESS ON FILE
GARCIA LOPEZ, LUIS            ADDRESS ON FILE
GARCIA LOPEZ, LUIS            ADDRESS ON FILE
GARCIA LOPEZ, LUIS A          ADDRESS ON FILE
GARCIA LOPEZ, LUZ I.          ADDRESS ON FILE
GARCIA LOPEZ, LUZ S           ADDRESS ON FILE
GARCIA LOPEZ, MADELINE        ADDRESS ON FILE
GARCIA LOPEZ, MAGDA           ADDRESS ON FILE
GARCIA LOPEZ, MARCELA         ADDRESS ON FILE
GARCIA LOPEZ, MARCO           ADDRESS ON FILE
GARCIA LOPEZ, MARIA DEL       ADDRESS ON FILE
GARCIA LOPEZ, MARIA DEL LOU   ADDRESS ON FILE
GARCIA LOPEZ, MARILYN         ADDRESS ON FILE
GARCIA LOPEZ, MERCEDES        ADDRESS ON FILE
GARCIA LOPEZ, MIGUEL          ADDRESS ON FILE
GARCIA LOPEZ, MIRTA           ADDRESS ON FILE
GARCIA LOPEZ, MYRTA           ADDRESS ON FILE
GARCIA LOPEZ, NILDA A         ADDRESS ON FILE
GARCIA LOPEZ, NORELYS         ADDRESS ON FILE
GARCIA LOPEZ, OFMARA          ADDRESS ON FILE
GARCIA LOPEZ, PABLO J         ADDRESS ON FILE
GARCIA LOPEZ, PEDRO           ADDRESS ON FILE
GARCIA LOPEZ, RENE            ADDRESS ON FILE
GARCIA LOPEZ, ROBERT          ADDRESS ON FILE
GARCIA LOPEZ, ROSANA          ADDRESS ON FILE
GARCIA LOPEZ, SARA            ADDRESS ON FILE
GARCIA LOPEZ, SARA M.         ADDRESS ON FILE
GARCIA LOPEZ, SULYVETTE       ADDRESS ON FILE
GARCIA LOPEZ, SUSANA          ADDRESS ON FILE
GARCIA LOPEZ, SUSANA          ADDRESS ON FILE
GARCIA LOPEZ, SUSANA          ADDRESS ON FILE
GARCIA LOPEZ, TOMASA          ADDRESS ON FILE
                                                                                                           1353 AVE. LUIS
GARCIA LOPEZ, VICTOR          LCDA. MORAIMA S. RÍOS ROBLES   PMB 688                                       VIGOREAUX                   GUAYNABO     PR      00966
GARCIA LOPEZ, VICTOR          LCDO. HAROLD VICENTE           PO BOX 11609                                                              SAN JUAN     PR      00910‐1609
GARCIA LOPEZ, VILMA M         ADDRESS ON FILE
GARCIA LOPEZ, YIOVANY         ADDRESS ON FILE
GARCIA LORENZO, ARLENE        ADDRESS ON FILE
GARCIA LORENZO, JORGE         ADDRESS ON FILE
GARCIA LOUBRIEL, ANGEL        ADDRESS ON FILE
GARCIA LOUBRIEL, JULIO        ADDRESS ON FILE
GARCIA LOUBRIEL, ROSITA       ADDRESS ON FILE
GARCIA LOZADA MD, HERMES R    ADDRESS ON FILE
GARCIA LOZADA, AIDA           ADDRESS ON FILE
GARCÍA LOZADA, CHRISTIAN J.   GUILLERMO SOMOZA COLOMBANI     PO BOX 36603                                                              SAN JUAN     PR      00936
GARCÍA LOZADA, CHRISTIAN J.   JOSE RIOS RIOS                 CHIRINO OFFICE PLAZA 1802 CARR 8838 STE 307                               SAN JUAN     PR      00926‐2745
GARCIA LOZADA, HERMES         ADDRESS ON FILE
GARCIA LOZADA, JUDITH M       ADDRESS ON FILE
GARCIA LOZADA, MARIA          ADDRESS ON FILE
GARCIA LOZADA, MARILEN        ADDRESS ON FILE
GARCIA LOZADA, SONIA          ADDRESS ON FILE
GARCIA LOZANO, FREDDIE        ADDRESS ON FILE
GARCIA LUCENA, AMPARO         ADDRESS ON FILE
GARCIA LUCENA, WILFREDO       ADDRESS ON FILE
GARCIA LUGO MD, JOSE          ADDRESS ON FILE
GARCIA LUGO, ALEXIS           ADDRESS ON FILE
GARCIA LUGO, ANGEL L          ADDRESS ON FILE
GARCIA LUGO, BERLIZABET       ADDRESS ON FILE




                                                                                          Page 3108 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3109 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Lugo, Carmelo          ADDRESS ON FILE
GARCIA LUGO, CARMEN L.        ADDRESS ON FILE
GARCIA LUGO, DEMESIO          ADDRESS ON FILE
GARCIA LUGO, DIANA            ADDRESS ON FILE
Garcia Lugo, Edwin            ADDRESS ON FILE
GARCIA LUGO, ELIEZER          ADDRESS ON FILE
GARCIA LUGO, FERNANDO         ADDRESS ON FILE
Garcia Lugo, Fernando         ADDRESS ON FILE
GARCIA LUGO, FRANCISCO        ADDRESS ON FILE
GARCIA LUGO, FRANCISCO        ADDRESS ON FILE
GARCIA LUGO, GLORIA DEL R     ADDRESS ON FILE
GARCIA LUGO, HECTOR           ADDRESS ON FILE
GARCIA LUGO, ISMAEL           ADDRESS ON FILE
GARCIA LUGO, IVETTE M         ADDRESS ON FILE
GARCIA LUGO, JAVER            ADDRESS ON FILE
GARCIA LUGO, JAVIER           ADDRESS ON FILE
GARCIA LUGO, JAVIER           ADDRESS ON FILE
GARCIA LUGO, JOSE             ADDRESS ON FILE
GARCIA LUGO, JOSE A.          ADDRESS ON FILE
Garcia Lugo, Jose L           ADDRESS ON FILE
GARCIA LUGO, JOSE S.          ADDRESS ON FILE
GARCIA LUGO, JULIANA          ADDRESS ON FILE
GARCIA LUGO, LUIS             ADDRESS ON FILE
GARCIA LUGO, LUIS             ADDRESS ON FILE
GARCIA LUGO, LUIS E           ADDRESS ON FILE
GARCIA LUGO, MAGDALENA        ADDRESS ON FILE
GARCIA LUGO, MARIA            ADDRESS ON FILE
GARCIA LUGO, MIGUEL           ADDRESS ON FILE
Garcia Lugo, Noel             ADDRESS ON FILE
GARCIA LUGO, ORLANDO          ADDRESS ON FILE
GARCIA LUGO, RAFAEL A         ADDRESS ON FILE
GARCIA LUGO, RICARDO          ADDRESS ON FILE
GARCIA LUGO, RICARDO          ADDRESS ON FILE
GARCIA LUGO, RICARDO          ADDRESS ON FILE
GARCIA LUGO, SONIA E          ADDRESS ON FILE
GARCIA LUGO, WANDA            ADDRESS ON FILE
GARCIA LUGO, YOLANDA          ADDRESS ON FILE
GARCIA LUGO, YOLANDA          ADDRESS ON FILE
GARCIA LUNA, DANIEL           ADDRESS ON FILE
GARCIA LUNA, DENNISSE         ADDRESS ON FILE
GARCIA LUNA, WALTER           ADDRESS ON FILE
Garcia Luna, Walter A.        ADDRESS ON FILE
GARCIA MACHADO, ROSEANNE      ADDRESS ON FILE
GARCIA MACHIN, VILMA          ADDRESS ON FILE
GARCIA MACHUCA, BRENDA L      ADDRESS ON FILE
GARCIA MACHUCA, LIZ           ADDRESS ON FILE
GARCIA MACHUCA, LUIS          ADDRESS ON FILE
GARCIA MACIA DBA, JOSE        ADDRESS ON FILE
GARCIA MADERA, HORTENSIA A    ADDRESS ON FILE
GARCIA MADERA, WILSON         ADDRESS ON FILE
GARCIA MAISONET, EDWIN E.     ADDRESS ON FILE
GARCIA MALARET, JEAN          ADDRESS ON FILE
GARCIA MALAVE, FELICITA       ADDRESS ON FILE
GARCIA MALAVE, PEDRO J.       ADDRESS ON FILE
GARCIA MALAVE, SAMUEL         ADDRESS ON FILE
Garcia Malavet, Pedro J       ADDRESS ON FILE
GARCIA MALDONADO, ADA I       ADDRESS ON FILE
GARCIA MALDONADO, ADALBERTO   ADDRESS ON FILE
GARCIA MALDONADO, ADALBERTO   ADDRESS ON FILE
GARCIA MALDONADO, BIANCA      ADDRESS ON FILE




                                                                          Page 3109 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3110 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MALDONADO, DIDIER       ADDRESS ON FILE
GARCIA MALDONADO, EFRAIN       ADDRESS ON FILE
GARCIA MALDONADO, EMILIANO     ADDRESS ON FILE
GARCIA MALDONADO, EVELYN       ADDRESS ON FILE
GARCIA MALDONADO, FRANCISCO    ADDRESS ON FILE
GARCIA MALDONADO, HOLVIN E     ADDRESS ON FILE
GARCIA MALDONADO, IDA          ADDRESS ON FILE
GARCIA MALDONADO, ILEANA E     ADDRESS ON FILE
GARCIA MALDONADO, JAMES E      ADDRESS ON FILE
GARCIA MALDONADO, JANIRA       ADDRESS ON FILE
GARCIA MALDONADO, JUAN         ADDRESS ON FILE
GARCIA MALDONADO, LESLIE E     ADDRESS ON FILE
GARCIA MALDONADO, LILLIAN      ADDRESS ON FILE
Garcia Maldonado, Marcelino    ADDRESS ON FILE
GARCIA MALDONADO, MARGARITA    ADDRESS ON FILE
GARCIA MALDONADO, MARGARITA    ADDRESS ON FILE
GARCIA MALDONADO, MARIA        ADDRESS ON FILE
GARCIA MALDONADO, MARTA        ADDRESS ON FILE
GARCIA MALDONADO, MATILDE      ADDRESS ON FILE
GARCIA MALDONADO, MAYRA        ADDRESS ON FILE
GARCIA MALDONADO, MAYTHE D.    ADDRESS ON FILE
GARCIA MALDONADO, MAYTHE D.    ADDRESS ON FILE
GARCIA MALDONADO, NILDA L      ADDRESS ON FILE
GARCIA MALDONADO, NITZA I.     ADDRESS ON FILE
GARCIA MALDONADO, NITZA I.     ADDRESS ON FILE
GARCIA MALDONADO, PEDRO        ADDRESS ON FILE
GARCIA MALDONADO, PEDRO        ADDRESS ON FILE
GARCIA MALDONADO, RAMONA       ADDRESS ON FILE
GARCIA MALDONADO, RICARDO      ADDRESS ON FILE
GARCIA MALDONADO, ROSA         ADDRESS ON FILE
Garcia Maldonado, Sheila       ADDRESS ON FILE
GARCIA MALDONADO, SHEYLA I     ADDRESS ON FILE
GARCIA MALDONADO, TIMOTHY      ADDRESS ON FILE
GARCIA MALDONADO, WILFREDO     ADDRESS ON FILE
GARCIA MALDONADO, YUMARY       ADDRESS ON FILE
GARCIA MALPICA, JULIA          ADDRESS ON FILE
GARCIA MALPICA, JULIA M.       ADDRESS ON FILE
GARCIA MANGUAL, AMARILIS       ADDRESS ON FILE
GARCIA MANGUAL, CARLOS         ADDRESS ON FILE
Garcia Manuel, Daniel          ADDRESS ON FILE
GARCIA MANUELLI, CHRISTIAN     ADDRESS ON FILE
GARCIA MANZANO, GENETTE        ADDRESS ON FILE
GARCIA MARCANO, AISSA M        ADDRESS ON FILE
GARCIA MARCANO, ENID D         ADDRESS ON FILE
GARCIA MARCANO, IRMA           ADDRESS ON FILE
GARCIA MARCANO, JOSE           ADDRESS ON FILE
GARCIA MARCANO, LUIS A.        ADDRESS ON FILE
GARCIA MARCANO, NATALIA        ADDRESS ON FILE
GARCIA MARCANO, NOEMI          ADDRESS ON FILE
GARCIA MARCANO, SABRIA         ADDRESS ON FILE
GARCIA MARCANO, YAZMALIER      ADDRESS ON FILE
GARCIA MARCUCCI, JACKELINE     ADDRESS ON FILE
GARCIA MARCUCCI, MIRTA         ADDRESS ON FILE
GARCIA MARICHAL, ARGENTINA M   ADDRESS ON FILE
GARCIA MARIN, JAIME L.         ADDRESS ON FILE
GARCIA MARMOL, MARCOS          ADDRESS ON FILE
GARCIA MARQUEZ, CARMELO        ADDRESS ON FILE
GARCIA MARQUEZ, CARMEN S       ADDRESS ON FILE
GARCIA MARQUEZ, GERARDO        ADDRESS ON FILE
GARCIA MARQUEZ, IRIS DEL P     ADDRESS ON FILE




                                                                           Page 3110 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3111 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MARQUEZ, LEONOR            ADDRESS ON FILE
GARCIA MARQUEZ, MARIA DE LOS A.   ADDRESS ON FILE
GARCIA MARQUEZ, ROSA J.           ADDRESS ON FILE
GARCIA MARRERO, ANGEL L           ADDRESS ON FILE
GARCIA MARRERO, ANTONIO           ADDRESS ON FILE
GARCIA MARRERO, ANTONIO A         ADDRESS ON FILE
GARCIA MARRERO, AZGARY            ADDRESS ON FILE
GARCIA MARRERO, BRENDA            ADDRESS ON FILE
GARCIA MARRERO, CHARLIE           ADDRESS ON FILE
GARCIA MARRERO, EDGAR             ADDRESS ON FILE
GARCIA MARRERO, GLADYS            ADDRESS ON FILE
GARCIA MARRERO, HECTOR            ADDRESS ON FILE
GARCIA MARRERO, HECTOR            ADDRESS ON FILE
GARCIA MARRERO, JANITZA           ADDRESS ON FILE
GARCIA MARRERO, JOSE              ADDRESS ON FILE
GARCIA MARRERO, JUAN C.           ADDRESS ON FILE
GARCIA MARRERO, LUZ               ADDRESS ON FILE
GARCIA MARRERO, LUZ O             ADDRESS ON FILE
GARCIA MARRERO, MARIBEL           ADDRESS ON FILE
GARCIA MARRERO, MATILDE           ADDRESS ON FILE
GARCIA MARRERO, PRISCILA          ADDRESS ON FILE
GARCIA MARRERO, SANDRA            ADDRESS ON FILE
GARCIA MARRERO, SANDRA I          ADDRESS ON FILE
GARCIA MARRERO, WANDA             ADDRESS ON FILE
Garcia Marrero, Wilfredo          ADDRESS ON FILE
GARCIA MARRERO, YANITZA           ADDRESS ON FILE
GARCIA MARRERO, YASMARI           ADDRESS ON FILE
GARCIA MARTARELL, MARIA           ADDRESS ON FILE
GARCIA MARTELL, EDWIN             ADDRESS ON FILE
GARCIA MARTIN, CARLOS             ADDRESS ON FILE
GARCIA MARTINEZ, ADA I            ADDRESS ON FILE
GARCIA MARTINEZ, ADRIANA          ADDRESS ON FILE
GARCIA MARTINEZ, AIDA L           ADDRESS ON FILE
GARCIA MARTINEZ, AIDA L           ADDRESS ON FILE
GARCIA MARTINEZ, ALBERTO          ADDRESS ON FILE
GARCIA MARTINEZ, ALBERTO          ADDRESS ON FILE
GARCIA MARTINEZ, ALICE M          ADDRESS ON FILE
GARCIA MARTINEZ, ANA M            ADDRESS ON FILE
GARCIA MARTINEZ, ANGEL L          ADDRESS ON FILE
Garcia Martinez, Angel M          ADDRESS ON FILE
GARCIA MARTINEZ, ANNETTE          ADDRESS ON FILE
GARCIA MARTINEZ, ANNETTE          ADDRESS ON FILE
GARCIA MARTINEZ, BRYAN            ADDRESS ON FILE
GARCIA MARTINEZ, CARLOS           ADDRESS ON FILE
GARCIA MARTINEZ, CARLOS           ADDRESS ON FILE
GARCIA MARTINEZ, CARMEN D         ADDRESS ON FILE
GARCIA MARTINEZ, CORALIS          ADDRESS ON FILE
GARCIA MARTINEZ, DAMARIS          ADDRESS ON FILE
Garcia Martinez, David            ADDRESS ON FILE
GARCIA MARTINEZ, DAVID            ADDRESS ON FILE
GARCIA MARTINEZ, DAVID            ADDRESS ON FILE
GARCIA MARTINEZ, DELIA            ADDRESS ON FILE
GARCIA MARTINEZ, DENNIS G.        ADDRESS ON FILE
GARCIA MARTINEZ, DINELIA M        ADDRESS ON FILE
GARCIA MARTINEZ, EDGAR            ADDRESS ON FILE
GARCIA MARTINEZ, EDGARDO          ADDRESS ON FILE
GARCIA MARTINEZ, EDGARDO          ADDRESS ON FILE
GARCIA MARTINEZ, EDUARDO          ADDRESS ON FILE
GARCIA MARTINEZ, EDWIN            ADDRESS ON FILE
GARCIA MARTINEZ, EDWIN            ADDRESS ON FILE




                                                                              Page 3111 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3112 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MARTINEZ, EDWIN G      ADDRESS ON FILE
GARCIA MARTINEZ, EFRAIN       ADDRESS ON FILE
Garcia Martinez, Efrain H.    ADDRESS ON FILE
GARCIA MARTINEZ, ELIU         ADDRESS ON FILE
GARCIA MARTINEZ, ENA M        ADDRESS ON FILE
GARCIA MARTINEZ, ENEIDA       ADDRESS ON FILE
GARCIA MARTINEZ, EVELYN       ADDRESS ON FILE
GARCIA MARTINEZ, FELIX        ADDRESS ON FILE
GARCIA MARTINEZ, FELIX        ADDRESS ON FILE
GARCIA MARTINEZ, FELIX        ADDRESS ON FILE
Garcia Martinez, Felix R      ADDRESS ON FILE
GARCIA MARTINEZ, FITZGERALD   ADDRESS ON FILE
GARCIA MARTINEZ, FRANLIZ      ADDRESS ON FILE
GARCIA MARTINEZ, GLADYS       ADDRESS ON FILE
Garcia Martinez, Hector R     ADDRESS ON FILE
GARCIA MARTINEZ, IGNERIS      ADDRESS ON FILE
GARCIA MARTINEZ, IRIS         ADDRESS ON FILE
GARCIA MARTINEZ, IRIS A       ADDRESS ON FILE
GARCIA MARTINEZ, IVAN         ADDRESS ON FILE
GARCIA MARTINEZ, IVAN         ADDRESS ON FILE
GARCIA MARTINEZ, JAILEEN      ADDRESS ON FILE
Garcia Martinez, Javier       ADDRESS ON FILE
GARCIA MARTINEZ, JORGE        ADDRESS ON FILE
GARCIA MARTINEZ, JORGE        ADDRESS ON FILE
GARCIA MARTINEZ, JORGE J.     ADDRESS ON FILE
GARCIA MARTINEZ, JOSE         ADDRESS ON FILE
Garcia Martinez, Jose E       ADDRESS ON FILE
GARCIA MARTINEZ, JOSE R       ADDRESS ON FILE
GARCIA MARTINEZ, JOSE R       ADDRESS ON FILE
GARCIA MARTINEZ, JUAN R.      ADDRESS ON FILE
GARCIA MARTINEZ, JUANITA      ADDRESS ON FILE
GARCIA MARTINEZ, JUDITH M     ADDRESS ON FILE
GARCIA MARTINEZ, JULIAN       ADDRESS ON FILE
GARCIA MARTINEZ, LILLIAM A    ADDRESS ON FILE
GARCIA MARTINEZ, LIZA         ADDRESS ON FILE
GARCIA MARTINEZ, LOURDES M    ADDRESS ON FILE
Garcia Martinez, Luis A       ADDRESS ON FILE
GARCIA MARTINEZ, MAGALY M     ADDRESS ON FILE
GARCIA MARTINEZ, MARCOS       ADDRESS ON FILE
GARCIA MARTINEZ, MARIA I.     ADDRESS ON FILE
GARCIA MARTINEZ, MARIBEL      ADDRESS ON FILE
GARCIA MARTINEZ, MARTA        ADDRESS ON FILE
GARCIA MARTINEZ, MIGUEL A     ADDRESS ON FILE
GARCIA MARTINEZ, MYRNA        ADDRESS ON FILE
GARCIA MARTINEZ, NELSON       ADDRESS ON FILE
GARCIA MARTINEZ, NORMA        ADDRESS ON FILE
GARCIA MARTINEZ, NYDIA        ADDRESS ON FILE
Garcia Martinez, Olga I       ADDRESS ON FILE
GARCIA MARTINEZ, ORLANDO      ADDRESS ON FILE
GARCIA MARTINEZ, ROSALINE     ADDRESS ON FILE
GARCIA MARTINEZ, RUBEN        ADDRESS ON FILE
GARCIA MARTINEZ, SAMUEL       ADDRESS ON FILE
GARCIA MARTINEZ, SANDRA       ADDRESS ON FILE
GARCIA MARTINEZ, SARIBETH     ADDRESS ON FILE
GARCIA MARTINEZ, SHEILA       ADDRESS ON FILE
GARCIA MARTINEZ, SONIA M      ADDRESS ON FILE
GARCIA MARTINEZ, SUHEIL       ADDRESS ON FILE
GARCIA MARTINEZ, TAMMY        ADDRESS ON FILE
GARCIA MARTINEZ, WANDA        ADDRESS ON FILE
GARCIA MARTINEZ, WILBUR S.    ADDRESS ON FILE




                                                                          Page 3112 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3113 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MARTINEZ, YAMILETTE   ADDRESS ON FILE
GARCIA MARTINEZ, YANELIS     ADDRESS ON FILE
GARCIA MARTINEZ, YASMIN      ADDRESS ON FILE
GARCIA MARTINEZ, YASMIN      ADDRESS ON FILE
GARCIA MARTINEZ,NAIKA        ADDRESS ON FILE
GARCIA MARTINO, ANDRES R     ADDRESS ON FILE
GARCIA MARTINO, JOSE         ADDRESS ON FILE
Garcia Martir, Guillermo     ADDRESS ON FILE
GARCIA MARTIS, EDIBERTO      ADDRESS ON FILE
GARCIA MARTIS, GERMAN        ADDRESS ON FILE
GARCIA MARTIS, IRIS Y.       ADDRESS ON FILE
GARCIA MARTIS, IVETTE        ADDRESS ON FILE
GARCIA MARTIS, NANCY         ADDRESS ON FILE
GARCIA MARTORELL, LOURDES    ADDRESS ON FILE
GARCIA MATEO MD, JOSE M      ADDRESS ON FILE
GARCIA MATEO, IRIS B         ADDRESS ON FILE
GARCIA MATEO, RUTH           ADDRESS ON FILE
GARCIA MATEO, RUTH E.        ADDRESS ON FILE
GARCIA MATIAS, ABDIEL        ADDRESS ON FILE
GARCIA MATIAS, ERIKA         ADDRESS ON FILE
GARCIA MATIAS, LEILA         ADDRESS ON FILE
GARCIA MATIAS, MICHAEL       ADDRESS ON FILE
GARCIA MATOS, ALBERTO        ADDRESS ON FILE
GARCIA MATOS, CARLOS         ADDRESS ON FILE
Garcia Matos, Carlos J.      ADDRESS ON FILE
GARCIA MATOS, DAMARIS        ADDRESS ON FILE
GARCIA MATOS, DAMARIS        ADDRESS ON FILE
GARCIA MATOS, DORA           ADDRESS ON FILE
GARCIA MATOS, ELBA           ADDRESS ON FILE
GARCIA MATOS, ELBA           ADDRESS ON FILE
GARCIA MATOS, ERICA A        ADDRESS ON FILE
GARCIA MATOS, HECTOR         ADDRESS ON FILE
GARCIA MATOS, HILMARI        ADDRESS ON FILE
GARCIA MATOS, JORGE L.       ADDRESS ON FILE
GARCIA MATOS, VICTOR         ADDRESS ON FILE
GARCIA MATOS, YAMILKA        ADDRESS ON FILE
GARCIA MATTA, MELVIN         ADDRESS ON FILE
GARCIA MATTA, STEVENSON      ADDRESS ON FILE
GARCIA MATTOS, RUTH E        ADDRESS ON FILE
GARCIA MAYA, EVA             ADDRESS ON FILE
GARCIA MAYO, DANIEL          ADDRESS ON FILE
GARCIA MAYO, OLGA L          ADDRESS ON FILE
GARCIA MAYSONET, AGUSTINA    ADDRESS ON FILE
GARCIA MAYSONET, ANTONIA     ADDRESS ON FILE
GARCIA MAYSONET, NERY L      ADDRESS ON FILE
GARCIA MD , LAUREANO P       ADDRESS ON FILE
GARCIA MD , RAFAEL G         ADDRESS ON FILE
GARCIA MD, CARLOS            ADDRESS ON FILE
GARCIA MD, EFRAIN            ADDRESS ON FILE
GARCIA MD, PEDRO             ADDRESS ON FILE
GARCIA MEARKLE, GABRIELA     ADDRESS ON FILE
GARCIA MEDINA, ARELYS        ADDRESS ON FILE
GARCIA MEDINA, ARNOLD A.     ADDRESS ON FILE
GARCIA MEDINA, AURELIO       ADDRESS ON FILE
GARCIA MEDINA, CRISTINA M    ADDRESS ON FILE
GARCIA MEDINA, DAVID         ADDRESS ON FILE
GARCIA MEDINA, DAVID         ADDRESS ON FILE
GARCIA MEDINA, DIEGO         ADDRESS ON FILE
GARCIA MEDINA, EDWIN         ADDRESS ON FILE
GARCIA MEDINA, ELIS M.       ADDRESS ON FILE




                                                                         Page 3113 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3114 of 3500
                                                                               17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                   Address1                  Address2                                    Address3   Address4   City         State   PostalCode   Country
GARCIA MEDINA, ERIC             ADDRESS ON FILE
GARCIA MEDINA, EVELYN           ADDRESS ON FILE
GARCIA MEDINA, GLENDA L         ADDRESS ON FILE
GARCIA MEDINA, GLISEL           ADDRESS ON FILE
GARCIA MEDINA, HERMINIO         ADDRESS ON FILE
GARCIA MEDINA, ISAIAS           ADDRESS ON FILE
GARCIA MEDINA, JESSICA          ADDRESS ON FILE
GARCIA MEDINA, JOSE             ADDRESS ON FILE
GARCIA MEDINA, JOSE             ADDRESS ON FILE
GARCIA MEDINA, JOSE             ADDRESS ON FILE
GARCIA MEDINA, JOSE J.          ADDRESS ON FILE
GARCIA MEDINA, JOSEFINA         ADDRESS ON FILE
GARCIA MEDINA, KAROLIMAR        ADDRESS ON FILE
GARCIA MEDINA, LUZMARI          ADDRESS ON FILE
GARCIA MEDINA, LYDIA            ADDRESS ON FILE
Garcia Medina, Lynette          ADDRESS ON FILE
GARCIA MEDINA, MARIA            ADDRESS ON FILE
GARCIA MEDINA, MARILIA          ADDRESS ON FILE
GARCIA MEDINA, MARIO            ADDRESS ON FILE
GARCIA MEDINA, MICHAEL          ADDRESS ON FILE
GARCIA MEDINA, NANMARIE         ADDRESS ON FILE
GARCIA MEDINA, OLGA L           ADDRESS ON FILE
GARCIA MEDINA, OLGA L.          ADDRESS ON FILE
Garcia Medina, Omayra           ADDRESS ON FILE
GARCIA MEDINA, ORLANDO          ADDRESS ON FILE
GARCIA MEDINA, PEDRO            ADDRESS ON FILE
GARCIA MEDINA, PEDRO L          ADDRESS ON FILE
GARCIA MEDINA, SANDRA E.        ADDRESS ON FILE
GARCIA MEDINA, SARAH I.         ADDRESS ON FILE
GARCIA MEDINA, SHEILA M         ADDRESS ON FILE
GARCIA MEDINA, SORAYA           ADDRESS ON FILE
GARCIA MEDINA, VICTOR           ADDRESS ON FILE
GARCIA MEDINA, WANDA I          ADDRESS ON FILE
GARCIA MEDINA, YAIRI A          ADDRESS ON FILE
GARCIA MEDINA, YOBANIE N        ADDRESS ON FILE
GARCIA MEJIA, JESENIA           ADDRESS ON FILE
GARCIA MEJIA, WANDY             ADDRESS ON FILE
GARCIA MEJIA, WANDY             ADDRESS ON FILE
GARCIA MEJIAS, EDWIN            ADDRESS ON FILE
GARCIA MEJIAS, EVELYN           ADDRESS ON FILE
GARCIA MEJIAS, JOANN            ADDRESS ON FILE
GARCIA MEJIAS, JULIO A          ADDRESS ON FILE
GARCIA MEJIAS, LUIS             ADDRESS ON FILE
GARCIA MEJIAS, NEFTALI          ADDRESS ON FILE
GARCIA MEJIAS, WALDEMAR         ADDRESS ON FILE
Garcia Melecio, Daphne M        ADDRESS ON FILE
GARCIA MELECIO, JOHAN           ADDRESS ON FILE
GARCIA MELENDEZ JARIDA          HARRY ANDUZE              1454 AVE. FERNÁNDEZ JUNCOS                                        SAN JUAN     PR      00909
GARCIA MELENDEZ JOMAR ENRIQUE   ADDRESS ON FILE
GARCIA MELENDEZ, ADA            ADDRESS ON FILE
GARCIA MELENDEZ, ALEXIS R       ADDRESS ON FILE
GARCIA MELENDEZ, ANA T          ADDRESS ON FILE
GARCIA MELENDEZ, ANGEL          ADDRESS ON FILE
GARCIA MELENDEZ, CARLOS         ADDRESS ON FILE
GARCIA MELENDEZ, CARLOS A.      ADDRESS ON FILE
GARCIA MELENDEZ, CARLOS X.      ADDRESS ON FILE
GARCIA MELENDEZ, CARMEN A       ADDRESS ON FILE
García Meléndez, Carmen A.      ADDRESS ON FILE
GARCIA MELENDEZ, EVELYN         ADDRESS ON FILE
GARCIA MELENDEZ, FRANCISCO A    ADDRESS ON FILE




                                                                                       Page 3114 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3115 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MELENDEZ, GISELLE       ADDRESS ON FILE
GARCIA MELENDEZ, HECTOR        ADDRESS ON FILE
GARCIA MELENDEZ, IRIS          ADDRESS ON FILE
GARCIA MELENDEZ, IVELISSE      ADDRESS ON FILE
GARCIA MELENDEZ, IVETTE        ADDRESS ON FILE
GARCIA MELENDEZ, JOSE A.       ADDRESS ON FILE
Garcia Melendez, Jose I        ADDRESS ON FILE
GARCIA MELENDEZ, JOSE M.       ADDRESS ON FILE
GARCIA MELENDEZ, JUAN          ADDRESS ON FILE
GARCIA MELENDEZ, JUAN          ADDRESS ON FILE
GARCIA MELENDEZ, KERMARIE      ADDRESS ON FILE
GARCIA MELENDEZ, LINDA E       ADDRESS ON FILE
GARCIA MELENDEZ, LORRAINE      ADDRESS ON FILE
GARCIA MELENDEZ, LUIS A.       ADDRESS ON FILE
GARCIA MELENDEZ, LUZ M         ADDRESS ON FILE
GARCIA MELENDEZ, LYNDA         ADDRESS ON FILE
Garcia Melendez, Lynda I       ADDRESS ON FILE
GARCIA MELENDEZ, MARIA DEL C   ADDRESS ON FILE
GARCIA MELENDEZ, MAYTEE        ADDRESS ON FILE
Garcia Melendez, Miguel A      ADDRESS ON FILE
GARCIA MELENDEZ, MILEDDY       ADDRESS ON FILE
GARCIA MELENDEZ, NANETTE       ADDRESS ON FILE
GARCIA MELENDEZ, PEDRO         ADDRESS ON FILE
GARCIA MELENDEZ, ROSA E.       ADDRESS ON FILE
GARCIA MELENDEZ, ROSANIE       ADDRESS ON FILE
GARCIA MELENDEZ, SAMUEL        ADDRESS ON FILE
GARCIA MELENDEZ, SHIRLEY       ADDRESS ON FILE
GARCIA MELENDEZ, VANESSA       ADDRESS ON FILE
GARCIA MELENDEZ, WANDA B       ADDRESS ON FILE
GARCIA MELENDEZ, XIOMARA M     ADDRESS ON FILE
GARCIA MELENDEZ, ZORIBELL      ADDRESS ON FILE
GARCIA MELIA, JUAN R           ADDRESS ON FILE
GARCIA MENA, DIOMAR            ADDRESS ON FILE
GARCIA MENDEZ, ALBERTO         ADDRESS ON FILE
Garcia Mendez, Angel           ADDRESS ON FILE
GARCIA MENDEZ, ANGELINE        ADDRESS ON FILE
GARCIA MENDEZ, BRENDA          ADDRESS ON FILE
GARCIA MENDEZ, CARMEN M        ADDRESS ON FILE
GARCIA MENDEZ, EDGARDO         ADDRESS ON FILE
GARCIA MENDEZ, EDWIN           ADDRESS ON FILE
GARCIA MENDEZ, KEYLA           ADDRESS ON FILE
GARCIA MENDEZ, KEYLA Y         ADDRESS ON FILE
Garcia Mendez, Leopoldo        ADDRESS ON FILE
GARCIA MENDEZ, LIZ             ADDRESS ON FILE
GARCIA MENDEZ, LUIS            ADDRESS ON FILE
GARCIA MENDEZ, LUIS            ADDRESS ON FILE
GARCIA MENDEZ, LUIS A          ADDRESS ON FILE
GARCIA MENDEZ, LYDIA           ADDRESS ON FILE
GARCIA MENDEZ, MARTA           ADDRESS ON FILE
GARCIA MENDEZ, MIGUEL A        ADDRESS ON FILE
GARCIA MENDEZ, MIOSOTY         ADDRESS ON FILE
GARCIA MENDEZ, PEDRO           ADDRESS ON FILE
GARCIA MENDEZ, PEDRO L         ADDRESS ON FILE
GARCIA MENDEZ, SANTOS          ADDRESS ON FILE
GARCIA MENDEZ, WANDA           ADDRESS ON FILE
GARCIA MENDOZA, MONICA         ADDRESS ON FILE
GARCIA MENENDEZ, SULEIMY       ADDRESS ON FILE
GARCIA MERCADO, ADELIS         ADDRESS ON FILE
GARCIA MERCADO, ALBA           ADDRESS ON FILE
GARCIA MERCADO, ENEIDA         ADDRESS ON FILE




                                                                           Page 3115 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3116 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MERCADO, JESUS         ADDRESS ON FILE
GARCIA MERCADO, JOSE          ADDRESS ON FILE
GARCIA MERCADO, JOSE L        ADDRESS ON FILE
GARCIA MERCADO, JUAN          ADDRESS ON FILE
GARCIA MERCADO, JUAN          ADDRESS ON FILE
GARCIA MERCADO, JUAN C.       ADDRESS ON FILE
GARCIA MERCADO, LUIS          ADDRESS ON FILE
GARCIA MERCADO, LUIS OMAR     ADDRESS ON FILE
GARCIA MERCADO, MIRIAM        ADDRESS ON FILE
GARCIA MERCADO, MOISES        ADDRESS ON FILE
GARCIA MERCADO, OSVALDO       ADDRESS ON FILE
GARCIA MERCADO, PEDRO         ADDRESS ON FILE
GARCIA MERCADO, PERLA         ADDRESS ON FILE
GARCIA MERCADO, ROBERTO       ADDRESS ON FILE
GARCIA MERCADO, RUBHI         ADDRESS ON FILE
GARCIA MERCADO, RUTH          ADDRESS ON FILE
GARCIA MERCADO, VICTOR        ADDRESS ON FILE
GARCIA MERCED, ALBERTO        ADDRESS ON FILE
GARCIA MERCED, ISAIAS         ADDRESS ON FILE
GARCIA MERCEDES, WILFRED      ADDRESS ON FILE
GARCIA MESTRE, MARGUERITE     ADDRESS ON FILE
GARCIA MICHEO, VILMA M        ADDRESS ON FILE
GARCIA MIELES, DALIA          ADDRESS ON FILE
GARCIA MIELES, DEXY R         ADDRESS ON FILE
GARCIA MILAN, FLORENTINO      ADDRESS ON FILE
Garcia Milan, Jorge           ADDRESS ON FILE
GARCIA MILAN, WANDA R         ADDRESS ON FILE
GARCIA MILLAN, ALICIA M       ADDRESS ON FILE
GARCIA MIRANDA, ADNALY        ADDRESS ON FILE
GARCIA MIRANDA, FRANCISCO     ADDRESS ON FILE
GARCIA MIRANDA, HILDA O.      ADDRESS ON FILE
GARCIA MIRANDA, HILDA O.      ADDRESS ON FILE
GARCIA MIRANDA, IRVIN         ADDRESS ON FILE
GARCIA MIRANDA, JORGE D       ADDRESS ON FILE
GARCIA MIRANDA, JOSE DEL C    ADDRESS ON FILE
GARCIA MIRANDA, MARC          ADDRESS ON FILE
GARCIA MIRANDA, MARIA DEL R   ADDRESS ON FILE
GARCIA MIRANDA, MARILUZ       ADDRESS ON FILE
GARCIA MIRANDA, MARITERE      ADDRESS ON FILE
GARCIA MIRANDA, MEREDITH      ADDRESS ON FILE
GARCIA MIRANDA, MICHELLE      ADDRESS ON FILE
GARCIA MIRANDA, MILDRED       ADDRESS ON FILE
GARCIA MIRANDA, SANTIAGO      ADDRESS ON FILE
GARCIA MOJICA, ANGEL          ADDRESS ON FILE
GARCIA MOJICA, CARMEN G.      ADDRESS ON FILE
GARCIA MOJICA, CRUZ           ADDRESS ON FILE
GARCIA MOJICA, DAISY          ADDRESS ON FILE
GARCIA MOJICA, EMILY          ADDRESS ON FILE
GARCIA MOJICA, JOSE           ADDRESS ON FILE
GARCIA MOJICA, JOSEFINA       ADDRESS ON FILE
GARCIA MOJICA, KELVIN         ADDRESS ON FILE
GARCIA MOJICA, MARIELI        ADDRESS ON FILE
GARCIA MOJICA, MARINES        ADDRESS ON FILE
GARCIA MOJICA, MARYLENE       ADDRESS ON FILE
GARCIA MOJICA, SANDRA M       ADDRESS ON FILE
GARCIA MOLINA, ADA            ADDRESS ON FILE
GARCIA MOLINA, ANGEL          ADDRESS ON FILE
GARCIA MOLINA, ANGEL O.       ADDRESS ON FILE
GARCIA MOLINA, DESIREE        ADDRESS ON FILE
GARCIA MOLINA, ISVILIZ        ADDRESS ON FILE




                                                                          Page 3116 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3117 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA MOLINA, MARIA DE LOURDES   ADDRESS ON FILE
GARCIA MOLINA, OMAR               ADDRESS ON FILE
GARCIA MOLINA, OMAR               ADDRESS ON FILE
GARCIA MOLINA, PEDRO              ADDRESS ON FILE
GARCIA MOLINA, YORELYS            ADDRESS ON FILE
GARCIA MONAHAN, PATRICK           ADDRESS ON FILE
Garcia Monge, Herminia            ADDRESS ON FILE
GARCIA MONJE, MARIA E             ADDRESS ON FILE
GARCIA MONSANTO, RUBEN            ADDRESS ON FILE
GARCIA MONSERRATE, JOSE L         ADDRESS ON FILE
GARCIA MONTALVO, ANA              ADDRESS ON FILE
GARCIA MONTALVO, CARMEN           ADDRESS ON FILE
GARCIA MONTALVO, IDALISSE         ADDRESS ON FILE
GARCIA MONTALVO, JORGE            ADDRESS ON FILE
GARCIA MONTALVO, JOSE             ADDRESS ON FILE
GARCIA MONTALVO, KELSIE           ADDRESS ON FILE
Garcia Montalvo, Pedro A.         ADDRESS ON FILE
GARCIA MONTALVO, VERONICA N       ADDRESS ON FILE
GARCIA MONTALVO, VICTORIA         ADDRESS ON FILE
GARCIA MONTANEZ, CARMEN I         ADDRESS ON FILE
Garcia Montanez, David            ADDRESS ON FILE
GARCIA MONTANEZ, EVARISTO         ADDRESS ON FILE
Garcia Montanez, Fructuoso E      ADDRESS ON FILE
GARCIA MONTANEZ, JESSICA          ADDRESS ON FILE
GARCIA MONTANEZ, JUAN             ADDRESS ON FILE
GARCIA MONTANEZ, JUAN L.          ADDRESS ON FILE
GARCIA MONTANEZ, LUZ              ADDRESS ON FILE
GARCIA MONTANEZ, MARGARITA        ADDRESS ON FILE
GARCIA MONTANEZ, MARIA            ADDRESS ON FILE
GARCIA MONTANEZ, MARY LUZ         ADDRESS ON FILE
Garcia Montanez, Michael          ADDRESS ON FILE
GARCIA MONTANEZ, MINERVA          ADDRESS ON FILE
GARCIA MONTANEZ, NOEMIA           ADDRESS ON FILE
GARCIA MONTANEZ, NOEMIA           ADDRESS ON FILE
GARCIA MONTANEZ, RAFAEL           ADDRESS ON FILE
GARCIA MONTANEZ, RENE             ADDRESS ON FILE
GARCIA MONTANEZ, STEPHANIE        ADDRESS ON FILE
GARCIA MONTANEZ, WANDA            ADDRESS ON FILE
GARCIA MONTANEZ, WANDA I.         ADDRESS ON FILE
GARCIA MONTE, CRUZ                ADDRESS ON FILE
GARCIA MONTERO, CHRISTIAN         ADDRESS ON FILE
GARCIA MONTES, ADA I              ADDRESS ON FILE
GARCIA MONTES, CARMEN M.          ADDRESS ON FILE
GARCIA MONTES, DELIA              ADDRESS ON FILE
GARCIA MONTES, ELENA              ADDRESS ON FILE
GARCIA MONTES, GERARDO            ADDRESS ON FILE
GARCIA MONTES, JOSE               ADDRESS ON FILE
GARCIA MONTES, MANUEL             ADDRESS ON FILE
Garcia Montes, Manuel J.          ADDRESS ON FILE
GARCIA MONTESINO, DORIS           ADDRESS ON FILE
GARCIA MONTESINO, NIURKA          ADDRESS ON FILE
GARCIA MONTIANO, JOSE             ADDRESS ON FILE
GARCIA MONTICETT, WILLIAM         ADDRESS ON FILE
GARCIA MONTIJO, BRUNILDA E        ADDRESS ON FILE
GARCIA MONTIJO, PATRICIA          ADDRESS ON FILE
GARCIA MONTOYA, JORGE             ADDRESS ON FILE
GARCIA MORA, ANA                  ADDRESS ON FILE
GARCIA MORA, ANA C                ADDRESS ON FILE
GARCIA MORA, EDITH                ADDRESS ON FILE
GARCIA MORA, LYNNETTE             ADDRESS ON FILE




                                                                              Page 3117 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3118 of 3500
                                                                              17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                  Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
GARCIA MORALES MD, ROBERTO F   ADDRESS ON FILE
GARCIA MORALES MD, ROBERTO F   ADDRESS ON FILE
GARCIA MORALES, AGUSTIN        ADDRESS ON FILE
GARCIA MORALES, ALEJANDRO      ADDRESS ON FILE
GARCIA MORALES, ANA S          ADDRESS ON FILE
GARCIA MORALES, ANGEL          ADDRESS ON FILE
GARCIA MORALES, ANTONIO        ADDRESS ON FILE
GARCIA MORALES, ARMANDO        ADDRESS ON FILE
Garcia Morales, Benito         ADDRESS ON FILE
GARCIA MORALES, CARLOS J       ADDRESS ON FILE
GARCIA MORALES, CARMEN         ADDRESS ON FILE
GARCIA MORALES, CARYL J        ADDRESS ON FILE
GARCIA MORALES, CINDY M        ADDRESS ON FILE
GARCIA MORALES, ENRIQUE        ADDRESS ON FILE
GARCIA MORALES, ERNESTO        ADDRESS ON FILE
GARCIA MORALES, GLADYS         ADDRESS ON FILE
GARCIA MORALES, GRETCHEN       ADDRESS ON FILE
GARCIA MORALES, GUILLERMO      ADDRESS ON FILE
GARCIA MORALES, HECTOR         ADDRESS ON FILE
GARCIA MORALES, IDANIS I.      ADDRESS ON FILE
GARCIA MORALES, IRENE          ADDRESS ON FILE
GARCIA MORALES, ISAMARIE       ADDRESS ON FILE
GARCÍA MORALES, JAVIER         LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
GARCÍA MORALES, JAVIER         LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
GARCIA MORALES, JEANNETTE      ADDRESS ON FILE
GARCIA MORALES, JENNISA        ADDRESS ON FILE
GARCIA MORALES, JOAQUIN        ADDRESS ON FILE
GARCIA MORALES, JOEL           ADDRESS ON FILE
GARCIA MORALES, JOSE           ADDRESS ON FILE
GARCIA MORALES, JOSE I.        ADDRESS ON FILE
GARCIA MORALES, JOSE J         ADDRESS ON FILE
GARCIA MORALES, JOSEFA         ADDRESS ON FILE
GARCIA MORALES, JOSMEL         ADDRESS ON FILE
GARCIA MORALES, JUAN           ADDRESS ON FILE
GARCIA MORALES, JUAN           ADDRESS ON FILE
GARCIA MORALES, JUANITA        ADDRESS ON FILE
GARCIA MORALES, JULIO          ADDRESS ON FILE
GARCIA MORALES, LEILA          ADDRESS ON FILE
GARCIA MORALES, LORENZO        ADDRESS ON FILE
GARCIA MORALES, LUIS A.        ADDRESS ON FILE
GARCIA MORALES, LUIS O.        ADDRESS ON FILE
GARCIA MORALES, LUZ            ADDRESS ON FILE
GARCIA MORALES, LUZ            ADDRESS ON FILE
GARCIA MORALES, LUZ M          ADDRESS ON FILE
GARCIA MORALES, MADELINE       ADDRESS ON FILE
GARCIA MORALES, MARIA L        ADDRESS ON FILE
GARCIA MORALES, MAYRA          ADDRESS ON FILE
Garcia Morales, Melissa        ADDRESS ON FILE
GARCIA MORALES, MIGDALIZ       ADDRESS ON FILE
Garcia Morales, Miguel A       ADDRESS ON FILE
GARCÍA MORALES, MIGUEL A       LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
GARCÍA MORALES, MIGUEL A       LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
GARCIA MORALES, MILAGROS       ADDRESS ON FILE
GARCIA MORALES, NILDA E        ADDRESS ON FILE
GARCIA MORALES, NOEMA          ADDRESS ON FILE
GARCIA MORALES, NORMA E        ADDRESS ON FILE
GARCIA MORALES, PEDRO          ADDRESS ON FILE
GARCIA MORALES, RAMON          ADDRESS ON FILE
GARCIA MORALES, RICARDO J.     ADDRESS ON FILE
GARCIA MORALES, ROBERTO        ADDRESS ON FILE




                                                                                    Page 3118 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3119 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                        Address1                                     Address2                         Address3   Address4   City     State   PostalCode   Country
Garcia Morales, Roberto L            ADDRESS ON FILE
Garcia Morales, Rosalie              ADDRESS ON FILE
GARCIA MORALES, SANDRA E.            ADDRESS ON FILE
GARCIA MORALES, SHERYL               ADDRESS ON FILE
GARCIA MORALES, VICTOR               ADDRESS ON FILE
GARCIA MORALES, VIDALINA             ADDRESS ON FILE
GARCIA MORELL, ADOLFO J              ADDRESS ON FILE
GARCIA MORELL, LUIS                  ADDRESS ON FILE
GARCIA MORENO, CLARA                 ADDRESS ON FILE
GARCIA MORENO, DANIA                 ADDRESS ON FILE
GARCIA MORENO, FRANCISCO             ADDRESS ON FILE
GARCIA MORENO, KARLY                 ADDRESS ON FILE
GARCIA MORENO, MARIELI               ADDRESS ON FILE
GARCIA MORENO, YAEL                  ADDRESS ON FILE
GARCIA MORGADO, CHRISTIAN            ADDRESS ON FILE
GARCIA MORIS, JOSE A                 ADDRESS ON FILE
GARCIA MOTOR SERVICE SERVICE, INC.   AVE. JESUS T. PINERO 1200, CAPARRA, PR 00921 P.O. BOX 363181                                                 PR      00921
GARCIA MOTTA, ELADIO A               ADDRESS ON FILE
GARCIA MOYET, FRANCISCA              ADDRESS ON FILE
GARCIA MOYET, FRANCISCO              ADDRESS ON FILE
GARCIA MOYET, MARIA L                ADDRESS ON FILE
GARCIA MOYET, NELLY                  ADDRESS ON FILE
GARCIA MOYET, NELLY                  ADDRESS ON FILE
GARCIA MOYETT, PEDRO                 ADDRESS ON FILE
GARCIA MUðIZ BRUNILDA                ADDRESS ON FILE
GARCIA MULERO, MAYRA                 ADDRESS ON FILE
GARCIA MUNIZ BRUNILDA                ADDRESS ON FILE
GARCIA MUNIZ BRUNILDA                ADDRESS ON FILE
GARCIA MUNIZ, ADRIANA                ADDRESS ON FILE
GARCIA MUNIZ, BRUNILDA               ADDRESS ON FILE
GARCIA MUNIZ, BRUNILDA               ADDRESS ON FILE
GARCIA MUNIZ, FELIX                  ADDRESS ON FILE
GARCIA MUNIZ, HUMBERTO               ADDRESS ON FILE
GARCIA MUNIZ, JOSE                   ADDRESS ON FILE
GARCIA MUNIZ, LUCAS                  ADDRESS ON FILE
GARCIA MUNIZ, SAUL                   ADDRESS ON FILE
GARCIA MUNOZ, ABNER                  ADDRESS ON FILE
Garcia Munoz, Abner                  ADDRESS ON FILE
GARCIA MUNOZ, ANA                    ADDRESS ON FILE
GARCIA MUNOZ, ANGEL                  ADDRESS ON FILE
GARCIA MUNOZ, ANGELA M               ADDRESS ON FILE
GARCIA MUNOZ, ELIZABETH              ADDRESS ON FILE
GARCIA MUNOZ, GLADYS I               ADDRESS ON FILE
GARCIA MUNOZ, JADELINE               ADDRESS ON FILE
GARCIA MUNOZ, JAVIER                 ADDRESS ON FILE
GARCIA MUNOZ, LUIS D.                ADDRESS ON FILE
GARCIA MUNOZ, LUIS R                 ADDRESS ON FILE
GARCIA MUNOZ, PEDRO L                ADDRESS ON FILE
Garcia Munoz, Pedro Luis             ADDRESS ON FILE
Garcia Munoz, Rafael                 ADDRESS ON FILE
GARCIA MUNOZ, SIBIL                  ADDRESS ON FILE
GARCIA MUNOZ, YARA                   ADDRESS ON FILE
GARCIA MUSSES, MARIANNE              ADDRESS ON FILE
GARCIA MUXO, MARIO                   ADDRESS ON FILE
GARCIA NADAL, PEDRO D.               ADDRESS ON FILE
GARCIA NADAL, RICARDA                ADDRESS ON FILE
GARCIA NADAL,YOHMARY                 ADDRESS ON FILE
GARCIA NAPOLEONI, FRANCIS D          ADDRESS ON FILE
GARCIA NAPOLEONI, FRANCIS D          ADDRESS ON FILE
GARCIA NARVAEZ, CARMEN I.            ADDRESS ON FILE




                                                                                                    Page 3119 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3120 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA NARVAEZ, IRIS D        ADDRESS ON FILE
GARCIA NARVAEZ, MARIA DEL C   ADDRESS ON FILE
GARCIA NARVAEZ, NESTOR        ADDRESS ON FILE
GARCIA NARVAEZ, NITZA M       ADDRESS ON FILE
GARCIA NATAL, JORGE           ADDRESS ON FILE
Garcia Natal, Juan G.         ADDRESS ON FILE
GARCIA NATAL, SILAS           ADDRESS ON FILE
GARCIA NAVARRO, ANA           ADDRESS ON FILE
GARCIA NAVARRO, AURELIA       ADDRESS ON FILE
GARCIA NAVARRO, CARMEN M      ADDRESS ON FILE
GARCIA NAVARRO, JOSE          ADDRESS ON FILE
GARCIA NAVARRO, JOSUE         ADDRESS ON FILE
GARCIA NAVARRO, LUISA         ADDRESS ON FILE
GARCIA NAVARRO, LUZ           ADDRESS ON FILE
GARCIA NAVARRO, MARITZA       ADDRESS ON FILE
GARCIA NAVARRO, RONALD        ADDRESS ON FILE
GARCIA NAVAS, YOLANDA         ADDRESS ON FILE
GARCIA NAVEDO, ANGEL          ADDRESS ON FILE
Garcia Navedo, Joanna         ADDRESS ON FILE
GARCIA NAVEDO, VALERIA        ADDRESS ON FILE
GARCIA NAVEIRO, REINALDO      ADDRESS ON FILE
GARCIA NAZARIO, ANA           ADDRESS ON FILE
GARCIA NAZARIO, CHRISTIAN     ADDRESS ON FILE
GARCIA NAZARIO, DIOMEDES      ADDRESS ON FILE
GARCIA NAZARIO, JOSE          ADDRESS ON FILE
GARCIA NAZARIO, ROSE          ADDRESS ON FILE
GARCIA NAZARIO, ROSE E        ADDRESS ON FILE
GARCIA NAZARIO, WANDA         ADDRESS ON FILE
GARCIA NEGRON, ANA D.         ADDRESS ON FILE
GARCIA NEGRON, ANICASIO       ADDRESS ON FILE
GARCIA NEGRON, AZLYN          ADDRESS ON FILE
GARCIA NEGRON, AZLYN          ADDRESS ON FILE
GARCIA NEGRON, FELIX J.       ADDRESS ON FILE
Garcia Negron, Hector M       ADDRESS ON FILE
Garcia Negron, Hector M       ADDRESS ON FILE
GARCIA NEGRON, HILDA L        ADDRESS ON FILE
GARCIA NEGRON, JOSE R         ADDRESS ON FILE
GARCIA NEGRON, KELVIN         ADDRESS ON FILE
GARCIA NEGRON, MYRIAM         ADDRESS ON FILE
GARCIA NEGRON, NEIDA          ADDRESS ON FILE
GARCIA NEGRON, NINETTE        ADDRESS ON FILE
GARCIA NEGRON, RENE           ADDRESS ON FILE
GARCIA NEGRON, RICARDO        ADDRESS ON FILE
GARCIA NEGRON, SANDRA I       ADDRESS ON FILE
GARCIA NERIS, AMARILY         ADDRESS ON FILE
GARCIA NERIS, GERARDO         ADDRESS ON FILE
Garcia Neris, Jose M          ADDRESS ON FILE
GARCIA NEVARES, MARISOL       ADDRESS ON FILE
GARCIA NEVARES, MARISOL       ADDRESS ON FILE
GARCIA NEVAREZ, CARMEN L      ADDRESS ON FILE
GARCIA NEVAREZ, JOSE LUIS     ADDRESS ON FILE
GARCIA NEVAREZ, RAFAELA       ADDRESS ON FILE
GARCIA NIEVES MD, RAFAEL      ADDRESS ON FILE
GARCIA NIEVES, AMANDA         ADDRESS ON FILE
GARCIA NIEVES, ANGEL          ADDRESS ON FILE
Garcia Nieves, Carlos         ADDRESS ON FILE
GARCIA NIEVES, CARMEN I       ADDRESS ON FILE
GARCIA NIEVES, EDWIN          ADDRESS ON FILE
GARCIA NIEVES, ELIAS          ADDRESS ON FILE
GARCIA NIEVES, ELIAS          ADDRESS ON FILE




                                                                          Page 3120 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3121 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA NIEVES, GILBERTO      ADDRESS ON FILE
GARCIA NIEVES, GISELLE       ADDRESS ON FILE
GARCIA NIEVES, GISELLE       ADDRESS ON FILE
GARCIA NIEVES, GLADYNEL      ADDRESS ON FILE
GARCIA NIEVES, GRISELLE I.   ADDRESS ON FILE
Garcia Nieves, Hector        ADDRESS ON FILE
GARCIA NIEVES, HILDA N       ADDRESS ON FILE
GARCIA NIEVES, ISANDER       ADDRESS ON FILE
GARCIA NIEVES, JANIRA D      ADDRESS ON FILE
GARCIA NIEVES, JIMMY         ADDRESS ON FILE
GARCIA NIEVES, JOAN          ADDRESS ON FILE
GARCIA NIEVES, JOSE          ADDRESS ON FILE
Garcia Nieves, Jose A        ADDRESS ON FILE
GARCIA NIEVES, JOSE G.       ADDRESS ON FILE
GARCIA NIEVES, JOSE G.       ADDRESS ON FILE
GARCIA NIEVES, JOSUE         ADDRESS ON FILE
GARCIA NIEVES, JUAN          ADDRESS ON FILE
GARCIA NIEVES, LUIS F.       ADDRESS ON FILE
GARCIA NIEVES, LYDIA         ADDRESS ON FILE
GARCIA NIEVES, LYDIA E       ADDRESS ON FILE
GARCIA NIEVES, MARIA V       ADDRESS ON FILE
GARCIA NIEVES, NATALIE       ADDRESS ON FILE
GARCIA NIEVES, NELSON        ADDRESS ON FILE
GARCIA NIEVES, NELSON I.     ADDRESS ON FILE
GARCIA NIEVES, OLGUIMAR      ADDRESS ON FILE
GARCIA NIEVES, RUBEN         ADDRESS ON FILE
GARCIA NIEVES, TERESITA      ADDRESS ON FILE
GARCIA NIEVES, VIVIAN        ADDRESS ON FILE
GARCIA NIEVES, YOLANDA       ADDRESS ON FILE
GARCIA NIEVES, ZULAY E       ADDRESS ON FILE
GARCIA NIEVES,ANA M.         ADDRESS ON FILE
GARCIA NOBLE, GREGORIA       ADDRESS ON FILE
GARCIA NOBOA, RICARDO        ADDRESS ON FILE
GARCIA NOGUERAS, JORGE L     ADDRESS ON FILE
GARCIA NOYA, ANA M.          ADDRESS ON FILE
GARCIA NOYA, ANA M.          ADDRESS ON FILE
GARCIA NOYOLA, MARIBEL       ADDRESS ON FILE
GARCIA NUNEZ, AMARILIS E     ADDRESS ON FILE
Garcia Nunez, Eddie          ADDRESS ON FILE
GARCIA NUNEZ, EDUARDO        ADDRESS ON FILE
GARCIA NUNEZ, FERNANDO       ADDRESS ON FILE
Garcia Nunez, Israel         ADDRESS ON FILE
GARCIA NUNEZ, JORGE          ADDRESS ON FILE
Garcia Nunez, Jose A.        ADDRESS ON FILE
GARCIA NUNEZ, NOELIA         ADDRESS ON FILE
GARCIA NUNEZ, PORFIRIO       ADDRESS ON FILE
GARCIA NUQEZ, CARMEN N       ADDRESS ON FILE
GARCIA OCAMPO MD, ESTHER E   ADDRESS ON FILE
GARCIA OCASIO, ANDY M.       ADDRESS ON FILE
GARCIA OCASIO, BENIGNO       ADDRESS ON FILE
GARCIA OCASIO, CARMELO       ADDRESS ON FILE
GARCIA OCASIO, CARMEN T      ADDRESS ON FILE
GARCIA OCASIO, EDGARDO       ADDRESS ON FILE
GARCIA OCASIO, ELIEZER       ADDRESS ON FILE
GARCIA OCASIO, EMILY         ADDRESS ON FILE
GARCIA OCASIO, JECKSY M.     ADDRESS ON FILE
GARCIA OCASIO, LUIS          ADDRESS ON FILE
GARCIA OCASIO, MILTON        ADDRESS ON FILE
GARCIA OCASIO, MILTON        ADDRESS ON FILE
GARCIA OCASIO, MIRIAM        ADDRESS ON FILE




                                                                         Page 3121 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3122 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA OCASIO, MIRIAM       ADDRESS ON FILE
GARCIA OCASIO, NESTOR       ADDRESS ON FILE
GARCIA OCASIO, RAFAEL E     ADDRESS ON FILE
GARCIA OCASIO, WILFREDO     ADDRESS ON FILE
GARCIA O'FARRIL, PETRA L    ADDRESS ON FILE
GARCIA OJEDA, LUIS          ADDRESS ON FILE
GARCIA OLIVERA, LOREN D     ADDRESS ON FILE
Garcia Oliveras, Jesus      ADDRESS ON FILE
GARCIA OLIVERAS, LORENZO    ADDRESS ON FILE
GARCIA OLIVERAS, NOEL       ADDRESS ON FILE
GARCIA OLIVO, CARMEN G      ADDRESS ON FILE
GARCIA OLIVO, MARIA A       ADDRESS ON FILE
GARCIA OLIVO, MAYRA         ADDRESS ON FILE
GARCIA OLIVO, YEIKA N       ADDRESS ON FILE
GARCIA OLMO, NILDA L        ADDRESS ON FILE
GARCIA OQUENDO, ANGEL L.    ADDRESS ON FILE
GARCIA OQUENDO, ELGA R      ADDRESS ON FILE
GARCIA OQUENDO, GUALBERTO   ADDRESS ON FILE
GARCIA OQUENDO, GUALBERTO   ADDRESS ON FILE
GARCIA OQUENDO, JOSE L      ADDRESS ON FILE
GARCIA OQUENDO, LUIS        ADDRESS ON FILE
GARCIA OQUENDO, MARINELLY   ADDRESS ON FILE
GARCIA OQUENDO, RENE        ADDRESS ON FILE
GARCIA ORENGO, CARMEN D     ADDRESS ON FILE
GARCIA ORENGO, JOSE         ADDRESS ON FILE
GARCIA ORENGO, JOSE E       ADDRESS ON FILE
GARCIA ORENGO, JOSE J       ADDRESS ON FILE
GARCIA ORENGO, MARIA A      ADDRESS ON FILE
GARCIA ORONA, ANGEL         ADDRESS ON FILE
GARCIA ORONA, IBIS L        ADDRESS ON FILE
GARCIA OROPEZA, MARIBEL     ADDRESS ON FILE
GARCIA OROZCO, JAHAIRA      ADDRESS ON FILE
GARCIA OROZCO, JULIA E      ADDRESS ON FILE
GARCIA OROZCO, RITA LUZ     ADDRESS ON FILE
GARCIA OROZCO, WANDA I      ADDRESS ON FILE
GARCIA ORTA, EDUARDO        ADDRESS ON FILE
GARCIA ORTA, LUIS           ADDRESS ON FILE
GARCIA ORTA, LUIS M         ADDRESS ON FILE
GARCIA ORTEGA, ANGEL        ADDRESS ON FILE
GARCIA ORTEGA, BLANCA E     ADDRESS ON FILE
GARCIA ORTEGA, GLORIMAR     ADDRESS ON FILE
GARCIA ORTEGA, LISMARY      ADDRESS ON FILE
GARCIA ORTEGA, MARILIS      ADDRESS ON FILE
GARCIA ORTEGA, NANCY W      ADDRESS ON FILE
GARCIA ORTEGA, NESTOR       ADDRESS ON FILE
GARCIA ORTIZ MD, OSCAR      ADDRESS ON FILE
GARCIA ORTIZ MD, SYLVIA     ADDRESS ON FILE
GARCIA ORTIZ, ALEXI J.      ADDRESS ON FILE
GARCIA ORTIZ, ALFREDO       ADDRESS ON FILE
GARCIA ORTIZ, AMARILLYS     ADDRESS ON FILE
GARCIA ORTIZ, AMERICA       ADDRESS ON FILE
GARCIA ORTIZ, ANA E.        ADDRESS ON FILE
GARCIA ORTIZ, ANA E.        ADDRESS ON FILE
Garcia Ortiz, Anderson      ADDRESS ON FILE
GARCIA ORTIZ, ANDRES        ADDRESS ON FILE
GARCIA ORTIZ, ANGELA        ADDRESS ON FILE
GARCIA ORTIZ, ARACELIS      ADDRESS ON FILE
GARCIA ORTIZ, ARLEEN        ADDRESS ON FILE
GARCIA ORTIZ, ARLEEN        ADDRESS ON FILE
GARCIA ORTIZ, ARLENE        ADDRESS ON FILE




                                                                        Page 3122 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3123 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Ortiz, Arnold J       ADDRESS ON FILE
Garcia Ortiz, Brenda M       ADDRESS ON FILE
GARCIA ORTIZ, CARLOS         ADDRESS ON FILE
Garcia Ortiz, Carlos         ADDRESS ON FILE
GARCIA ORTIZ, CARLOS J       ADDRESS ON FILE
GARCIA ORTIZ, CARLOTA        ADDRESS ON FILE
GARCIA ORTIZ, CARMEN         ADDRESS ON FILE
GARCIA ORTIZ, CARMEN         ADDRESS ON FILE
GARCIA ORTIZ, CARMEN L.      ADDRESS ON FILE
GARCIA ORTIZ, CARMEN M       ADDRESS ON FILE
GARCIA ORTIZ, CARMEN N       ADDRESS ON FILE
GARCIA ORTIZ, CELIA I.       ADDRESS ON FILE
Garcia Ortiz, Charles A.     ADDRESS ON FILE
GARCIA ORTIZ, CHRISTINE      ADDRESS ON FILE
GARCIA ORTIZ, DAYNA I.       ADDRESS ON FILE
GARCIA ORTIZ, DELMA          ADDRESS ON FILE
GARCIA ORTIZ, EDITH          ADDRESS ON FILE
GARCIA ORTIZ, ELADIO         ADDRESS ON FILE
GARCIA ORTIZ, ELIEZER        ADDRESS ON FILE
Garcia Ortiz, Elvin          ADDRESS ON FILE
GARCIA ORTIZ, ELVIN          ADDRESS ON FILE
GARCIA ORTIZ, ENRIQUE        ADDRESS ON FILE
GARCIA ORTIZ, EVE VIRGINIA   ADDRESS ON FILE
GARCIA ORTIZ, FELIPE         ADDRESS ON FILE
Garcia Ortiz, Felipe J.      ADDRESS ON FILE
GARCIA ORTIZ, FERNANDO       ADDRESS ON FILE
GARCIA ORTIZ, FERNANDO       ADDRESS ON FILE
GARCIA ORTIZ, FRANCISCO      ADDRESS ON FILE
Garcia Ortiz, Francisco J    ADDRESS ON FILE
GARCIA ORTIZ, GEORGINA       ADDRESS ON FILE
GARCIA ORTIZ, HECTOR L       ADDRESS ON FILE
GARCIA ORTIZ, HILDA          ADDRESS ON FILE
GARCIA ORTIZ, HILDA I        ADDRESS ON FILE
GARCIA ORTIZ, HILDIGARIVET   ADDRESS ON FILE
GARCIA ORTIZ, IDELISA        ADDRESS ON FILE
GARCIA ORTIZ, ILDEFONSO      ADDRESS ON FILE
GARCIA ORTIZ, IRMA I         ADDRESS ON FILE
GARCIA ORTIZ, ISRAEL         ADDRESS ON FILE
GARCIA ORTIZ, JAVIER         ADDRESS ON FILE
GARCIA ORTIZ, JELSON         ADDRESS ON FILE
GARCIA ORTIZ, JENNIFER       ADDRESS ON FILE
GARCIA ORTIZ, JOHN           ADDRESS ON FILE
GARCIA ORTIZ, JOSE           ADDRESS ON FILE
GARCIA ORTIZ, JOSE           ADDRESS ON FILE
GARCIA ORTIZ, JOSE A         ADDRESS ON FILE
GARCIA ORTIZ, JOSE ALBERTO   ADDRESS ON FILE
GARCIA ORTIZ, JUAN           ADDRESS ON FILE
GARCIA ORTIZ, JUDITH         ADDRESS ON FILE
Garcia Ortiz, Julio          ADDRESS ON FILE
Garcia Ortiz, Julio A        ADDRESS ON FILE
GARCIA ORTIZ, KAREN          ADDRESS ON FILE
GARCIA ORTIZ, KENNETH        ADDRESS ON FILE
GARCIA ORTIZ, KIARA CELIS    ADDRESS ON FILE
GARCIA ORTIZ, LIANETTE       ADDRESS ON FILE
GARCIA ORTIZ, LILLIAM        ADDRESS ON FILE
GARCIA ORTIZ, LISSETTE O     ADDRESS ON FILE
GARCIA ORTIZ, LIZA           ADDRESS ON FILE
GARCIA ORTIZ, LUIS           ADDRESS ON FILE
GARCIA ORTIZ, LUIS           ADDRESS ON FILE
GARCIA ORTIZ, LUIS           ADDRESS ON FILE




                                                                         Page 3123 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3124 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ORTIZ, LUIS A.         ADDRESS ON FILE
GARCIA ORTIZ, LUZ A           ADDRESS ON FILE
GARCIA ORTIZ, LUZ S           ADDRESS ON FILE
GARCIA ORTIZ, MADELINE        ADDRESS ON FILE
GARCIA ORTIZ, MAGGIE          ADDRESS ON FILE
GARCIA ORTIZ, MANUEL          ADDRESS ON FILE
GARCIA ORTIZ, MANUELA         ADDRESS ON FILE
GARCIA ORTIZ, MARIA           ADDRESS ON FILE
GARCIA ORTIZ, MARITZA         ADDRESS ON FILE
GARCIA ORTIZ, MAVELY          ADDRESS ON FILE
GARCIA ORTIZ, MAVELY          ADDRESS ON FILE
GARCIA ORTIZ, MELANIE A       ADDRESS ON FILE
GARCIA ORTIZ, MIGDALIA        ADDRESS ON FILE
GARCIA ORTIZ, MIGDALIA        ADDRESS ON FILE
GARCIA ORTIZ, MYRNA           ADDRESS ON FILE
GARCIA ORTIZ, NANCY           ADDRESS ON FILE
GARCIA ORTIZ, NILKA           ADDRESS ON FILE
GARCIA ORTIZ, NILMA           ADDRESS ON FILE
GARCIA ORTIZ, ORLANDO         ADDRESS ON FILE
GARCIA ORTIZ, OSCAR           ADDRESS ON FILE
Garcia Ortiz, Rafael          ADDRESS ON FILE
GARCIA ORTIZ, RAMON           ADDRESS ON FILE
Garcia Ortiz, Ramon L         ADDRESS ON FILE
GARCIA ORTIZ, RAUL A          ADDRESS ON FILE
GARCIA ORTIZ, ROBERTO         ADDRESS ON FILE
GARCIA ORTIZ, ROSA            ADDRESS ON FILE
Garcia Ortiz, Ruben           ADDRESS ON FILE
GARCIA ORTIZ, RUTH M          ADDRESS ON FILE
GARCIA ORTIZ, SELMA I         ADDRESS ON FILE
GARCIA ORTIZ, SUZETTE         ADDRESS ON FILE
GARCIA ORTIZ, VANELSI         ADDRESS ON FILE
GARCIA ORTIZ, VANIA A         ADDRESS ON FILE
GARCIA ORTIZ, WALMAR          ADDRESS ON FILE
GARCIA ORTIZ, WANDA           ADDRESS ON FILE
GARCIA ORTIZ, WILFREDO        ADDRESS ON FILE
GARCIA ORTIZ, WILFREDO        ADDRESS ON FILE
GARCIA ORTIZ, YANALIZ         ADDRESS ON FILE
GARCIA ORTIZ, YAROT GABRIEL   ADDRESS ON FILE
GARCIA ORTIZ, YOLANDA         ADDRESS ON FILE
GARCIA ORTIZ, YOLANDA         ADDRESS ON FILE
GARCIA ORTIZ, YOLANDA         ADDRESS ON FILE
GARCIA ORTIZ, ZAIRA           ADDRESS ON FILE
GARCIA ORTIZ, ZORAIDA         ADDRESS ON FILE
GARCIA ORTOLAZA, JONATHAN     ADDRESS ON FILE
GARCIA OSORIA, DIANE          ADDRESS ON FILE
GARCIA OSORIA, ENNIT          ADDRESS ON FILE
GARCIA OSORIO, EDWIN          ADDRESS ON FILE
GARCIA OSORIO, LUZ            ADDRESS ON FILE
GARCIA OSORIO, MARICELY       ADDRESS ON FILE
GARCIA OSORIO, WANDA          ADDRESS ON FILE
GARCIA OSTOLAZA, ELENA        ADDRESS ON FILE
GARCIA OTANO, DORIS M         ADDRESS ON FILE
GARCIA OTERO MD, PEDRO        ADDRESS ON FILE
GARCIA OTERO, ADARIS          ADDRESS ON FILE
GARCIA OTERO, ARMANDO         ADDRESS ON FILE
GARCIA OTERO, GLORIA          ADDRESS ON FILE
GARCIA OTERO, LUIS            ADDRESS ON FILE
Garcia Otero, Luis M          ADDRESS ON FILE
GARCIA OTERO, LUZ Z           ADDRESS ON FILE
GARCIA OTERO, MARIA M         ADDRESS ON FILE




                                                                          Page 3124 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3125 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA OTERO, NESTOR             ADDRESS ON FILE
GARCIA OTERO, RAMON              ADDRESS ON FILE
GARCIA OTERO, ROSA               ADDRESS ON FILE
GARCIA OTERO, STEPHANIE          ADDRESS ON FILE
GARCIA OTERO, SYLVIA             ADDRESS ON FILE
GARCIA OTERO, WANDA L            ADDRESS ON FILE
GARCIA OYOLA, JOSE               ADDRESS ON FILE
GARCIA PABELLON, MARIA J         ADDRESS ON FILE
GARCIA PABELLON, YOLANDA         ADDRESS ON FILE
GARCIA PABON, ALFONSO            ADDRESS ON FILE
GARCIA PABON, BERNARDINO         ADDRESS ON FILE
GARCIA PABON, FILIBERTO          ADDRESS ON FILE
GARCIA PABON, IRIS N             ADDRESS ON FILE
GARCIA PABON, LINA R             ADDRESS ON FILE
Garcia Pabon, Lyza M             ADDRESS ON FILE
GARCIA PABON, MARIA DEL C        ADDRESS ON FILE
GARCIA PABON, MARIA T            ADDRESS ON FILE
GARCIA PABON, OVIDIO             ADDRESS ON FILE
GARCIA PABON, OVIDIO J           ADDRESS ON FILE
GARCIA PABON, RAMON              ADDRESS ON FILE
GARCIA PABON, ZAIDY              ADDRESS ON FILE
GARCIA PACHECO, ANGEL L          ADDRESS ON FILE
Garcia Pacheco, Francisco        ADDRESS ON FILE
GARCIA PACHECO, ILETCY           ADDRESS ON FILE
GARCIA PACHECO, JOSE             ADDRESS ON FILE
GARCIA PACHECO, JOSE             ADDRESS ON FILE
GARCIA PACHECO, JOSE M           ADDRESS ON FILE
GARCIA PACHECO, LEONARDO         ADDRESS ON FILE
GARCIA PACHECO, LISSETTE E       ADDRESS ON FILE
Garcia Pacheco, Luis A           ADDRESS ON FILE
GARCIA PACHECO, MARGARITA        ADDRESS ON FILE
GARCIA PACHECO, MARIA            ADDRESS ON FILE
GARCIA PACHECO, MARIA I          ADDRESS ON FILE
GARCIA PACHECO, MIGUEL ANTONIO   ADDRESS ON FILE
GARCIA PACHECO, NIRMA            ADDRESS ON FILE
GARCIA PACHECO, OLGA             ADDRESS ON FILE
GARCIA PACHECO, OSVALDO          ADDRESS ON FILE
GARCIA PACHECO, WILFREDO         ADDRESS ON FILE
GARCIA PADILLA, ALEJANDRO        ADDRESS ON FILE
GARCIA PADILLA, ALEJANDRO        ADDRESS ON FILE
GARCIA PADILLA, DIANA            ADDRESS ON FILE
GARCIA PADILLA, FELICITA         ADDRESS ON FILE
GARCIA PADILLA, GILBERTO         ADDRESS ON FILE
GARCIA PADILLA, JOHANIS          ADDRESS ON FILE
GARCIA PADILLA, JOHANIS T        ADDRESS ON FILE
GARCIA PADILLA, JOSUE            ADDRESS ON FILE
GARCIA PADILLA, MARCOS           ADDRESS ON FILE
GARCIA PADILLA, MIGDALIA         ADDRESS ON FILE
GARCIA PADILLA, PEDRO            ADDRESS ON FILE
GARCIA PADILLA, PRISCILLA        ADDRESS ON FILE
GARCIA PADILLA, SYLVIA L         ADDRESS ON FILE
GARCIA PADILLA, WILFREDO         ADDRESS ON FILE
GARCIA PADIN, ILEANA             ADDRESS ON FILE
Garcia Padin, Wilfredo           ADDRESS ON FILE
GARCIA PADRO, CHARILYS           ADDRESS ON FILE
GARCIA PADRO, ERIKA              ADDRESS ON FILE
GARCIA PADRO, JALIESKY           ADDRESS ON FILE
GARCIA PADUA, MARCOS M.          ADDRESS ON FILE
GARCIA PAGAN, ANGEL L            ADDRESS ON FILE
GARCIA PAGAN, ARTURO             ADDRESS ON FILE




                                                                             Page 3125 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3126 of 3500
                                                                            17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                Address1                   Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA PAGAN, CARMEN R.      ADDRESS ON FILE
GARCIA PAGAN, CESAR          ADDRESS ON FILE
Garcia Pagan, Claribel       ADDRESS ON FILE
GARCIA PAGAN, CLARIBEL       ADDRESS ON FILE
GARCIA PAGAN, EDWIN          ADDRESS ON FILE
GARCIA PAGAN, ELIZABETH      ADDRESS ON FILE
GARCIA PAGAN, LUIS           ADDRESS ON FILE
GARCIA PAGAN, LUIS ENRIQUE   ADDRESS ON FILE
GARCIA PAGAN, MARIANA        ADDRESS ON FILE
GARCIA PAGAN, MIGUEL         ADDRESS ON FILE
GARCIA PAGAN, RAFAEL         ADDRESS ON FILE
GARCIA PAGAN, ROZAIDA        ADDRESS ON FILE
GARCIA PAGAN, SANTA          ADDRESS ON FILE
GARCIA PAGAN, SONIA          ADDRESS ON FILE
GARCIA PAGAN, SONIA M        ADDRESS ON FILE
GARCIA PAGAN, SYLVIA         ADDRESS ON FILE
GARCIA PAGAN, YOMAYRA        ADDRESS ON FILE
GARCIA PALACIOS, LINETTE Y   ADDRESS ON FILE
GARCIA PALLAS, JOSE          ADDRESS ON FILE
GARCIA PALMER, CARLOS        ADDRESS ON FILE
GARCIA PALMER, MARISEL       ADDRESS ON FILE
GARCIA PALMER, TARY DEL      ADDRESS ON FILE
GARCIA PANTOJAS, EVELYN      ADDRESS ON FILE
GARCIA PAPALEO, JESSENIA     ADDRESS ON FILE
GARCIA PARADIS, CLARA M      ADDRESS ON FILE
GARCIA PARES, AWILDA J       ADDRESS ON FILE
GARCIA PARRILLA, ANA M       ADDRESS ON FILE
GARCIA PARRILLA, ANGELINE    ADDRESS ON FILE
GARCIA PARRILLA, MARIA M     ADDRESS ON FILE
GARCIA PARRILLA, MILAGROS    ADDRESS ON FILE
GARCIA PARRILLA, ZULMA       ADDRESS ON FILE
GARCIA PARSONS, ANGEL        ADDRESS ON FILE
GARCIA PARSONS, ANGEL        ADDRESS ON FILE
GARCIA PASCIOLLA, JONATHAN   ADDRESS ON FILE
GARCIA PASSALACQUA, ANA      ADDRESS ON FILE
GARCIA PASSALACQUA, LUIS     ADDRESS ON FILE
GARCIA PASTOR, NILDA R       ADDRESS ON FILE
GARCIA PASTRANA, CARMEN      ADDRESS ON FILE
GARCIA PASTRANA, CARMEN N    ADDRESS ON FILE
GARCIA PASTRANA, RICARDO     ADDRESS ON FILE
GARCIA PASTRANA, ROSALYN     ADDRESS ON FILE
GARCIA PASTRANA, ROSALYN     ADDRESS ON FILE
GARCIA PATINI, AMELIA        ADDRESS ON FILE
GARCIA PAZ, YOLANDA          ADDRESS ON FILE
GARCIA PEAGUDO TRUST         MANSIONES DE RIO PIEDRAS   MADRESELVA 1141                                        SAN JUAN     PR      00926
GARCIA PEDRAZA, MARGARITA    ADDRESS ON FILE
GARCIA PEDROSA, TANIA        ADDRESS ON FILE
GARCIA PELATTI, LUIS         ADDRESS ON FILE
Garcia Peluyera, Angel       ADDRESS ON FILE
GARCIA PEÑA MD, ANETTE       ADDRESS ON FILE
GARCIA PEÑA MD, ZINNIA       ADDRESS ON FILE
GARCIA PENA, ADA             ADDRESS ON FILE
GARCIA PENA, ANTHONY         ADDRESS ON FILE
GARCIA PENA, CARLOS          ADDRESS ON FILE
GARCIA PENA, CARLOS A.       ADDRESS ON FILE
GARCIA PENA, GLADYS          ADDRESS ON FILE
GARCIA PENA, JORGE           ADDRESS ON FILE
GARCIA PENA, MABELINE        ADDRESS ON FILE
GARCIA PENA, MARLEEN S.      ADDRESS ON FILE
Garcia Pena, Miguel          ADDRESS ON FILE




                                                                          Page 3126 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3127 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA PENA, RAFAEL          ADDRESS ON FILE
GARCIA PENA, SARA            ADDRESS ON FILE
GARCIA PERALES, CARMEN R.    ADDRESS ON FILE
GARCIA PERALES, CLARILINDA   ADDRESS ON FILE
GARCIA PERALES, EDWIN        ADDRESS ON FILE
GARCIA PERALTA, GRICELDA     ADDRESS ON FILE
GARCIA PERAZA, ISABEL        ADDRESS ON FILE
GARCIA PERDOMO, PEDRO L.     ADDRESS ON FILE
GARCIA PEREZ, ADA I          ADDRESS ON FILE
GARCIA PEREZ, ADRIANA        ADDRESS ON FILE
GARCIA PEREZ, AIDA L         ADDRESS ON FILE
GARCIA PEREZ, ALBA           ADDRESS ON FILE
GARCIA PEREZ, ALBERTO        ADDRESS ON FILE
GARCIA PEREZ, ALBERTO E      ADDRESS ON FILE
GARCIA PEREZ, ANA E          ADDRESS ON FILE
Garcia Perez, Andres O       ADDRESS ON FILE
GARCIA PEREZ, ANGEL          ADDRESS ON FILE
GARCIA PEREZ, ANGEL          ADDRESS ON FILE
GARCIA PEREZ, ANGEL L        ADDRESS ON FILE
Garcia Perez, Angel L        ADDRESS ON FILE
GARCIA PEREZ, ANGEL O.       ADDRESS ON FILE
GARCIA PEREZ, ANIBAL         ADDRESS ON FILE
GARCIA PEREZ, ARISLEIDY      ADDRESS ON FILE
GARCIA PEREZ, BETHZAIDA      ADDRESS ON FILE
GARCIA PEREZ, BETHZAIDA      ADDRESS ON FILE
GARCIA PEREZ, BLANCA R.      ADDRESS ON FILE
GARCIA PEREZ, BRANDON        ADDRESS ON FILE
GARCIA PEREZ, CALEB          ADDRESS ON FILE
GARCIA PEREZ, CARLOS         ADDRESS ON FILE
Garcia Perez, Carlos J.      ADDRESS ON FILE
GARCIA PEREZ, CARMEN A       ADDRESS ON FILE
GARCIA PEREZ, CHARLIE        ADDRESS ON FILE
GARCIA PEREZ, CRUZ M         ADDRESS ON FILE
GARCIA PEREZ, DANIEL         ADDRESS ON FILE
GARCIA PEREZ, DANIEL         ADDRESS ON FILE
GARCIA PEREZ, DARITZA        ADDRESS ON FILE
GARCIA PEREZ, ELCIRA         ADDRESS ON FILE
GARCIA PEREZ, ELCIRA         ADDRESS ON FILE
GARCIA PEREZ, ELIAS          ADDRESS ON FILE
GARCIA PEREZ, ELSA           ADDRESS ON FILE
Garcia Perez, Elsa E         ADDRESS ON FILE
GARCIA PEREZ, ENA            ADDRESS ON FILE
GARCIA PEREZ, ENRIQUE        ADDRESS ON FILE
GARCIA PEREZ, ERASTO         ADDRESS ON FILE
GARCIA PEREZ, FELICITA       ADDRESS ON FILE
GARCIA PEREZ, FELIPE         ADDRESS ON FILE
GARCIA PEREZ, FLOR MARINA    ADDRESS ON FILE
GARCIA PEREZ, FRANCISCO      ADDRESS ON FILE
GARCIA PEREZ, FRANCISCO      ADDRESS ON FILE
GARCIA PEREZ, GEORGINA       ADDRESS ON FILE
GARCIA PEREZ, GERARDO        ADDRESS ON FILE
GARCIA PEREZ, GISELA         ADDRESS ON FILE
GARCIA PEREZ, GLADYS         ADDRESS ON FILE
GARCIA PEREZ, GLORIA I       ADDRESS ON FILE
GARCIA PEREZ, GLORIA M       ADDRESS ON FILE
GARCIA PEREZ, GLORIBEL       ADDRESS ON FILE
GARCIA PEREZ, HECTOR M       ADDRESS ON FILE
GARCIA PEREZ, HERIBERTO      ADDRESS ON FILE
GARCIA PEREZ, IRMA L         ADDRESS ON FILE
GARCIA PEREZ, IRMA LUZ       ADDRESS ON FILE




                                                                         Page 3127 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3128 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Perez, Ismael          ADDRESS ON FILE
GARCIA PEREZ, IVAN            ADDRESS ON FILE
GARCIA PEREZ, IVELISSE        ADDRESS ON FILE
GARCIA PEREZ, IVETTE          ADDRESS ON FILE
GARCIA PEREZ, JAVIER          ADDRESS ON FILE
GARCIA PEREZ, JENNIFER E      ADDRESS ON FILE
GARCIA PEREZ, JOEL            ADDRESS ON FILE
GARCIA PEREZ, JOHANNA         ADDRESS ON FILE
GARCIA PEREZ, JOHANNA         ADDRESS ON FILE
GARCIA PEREZ, JOHANNYS        ADDRESS ON FILE
GARCIA PEREZ, JONATHAN        ADDRESS ON FILE
GARCIA PEREZ, JORGE           ADDRESS ON FILE
GARCIA PEREZ, JOSE            ADDRESS ON FILE
Garcia Perez, Jose A          ADDRESS ON FILE
GARCIA PEREZ, JOSE A.         ADDRESS ON FILE
GARCIA PEREZ, JOSE I          ADDRESS ON FILE
GARCIA PEREZ, JOSE S          ADDRESS ON FILE
GARCIA PEREZ, JUAN            ADDRESS ON FILE
GARCIA PEREZ, JUAN            ADDRESS ON FILE
GARCIA PEREZ, JUANA           ADDRESS ON FILE
GARCIA PEREZ, JUANA DE ARCO   ADDRESS ON FILE
GARCIA PEREZ, LESTER          ADDRESS ON FILE
GARCIA PEREZ, LEVI            ADDRESS ON FILE
GARCIA PEREZ, LUIS            ADDRESS ON FILE
GARCIA PEREZ, LUIS E          ADDRESS ON FILE
GARCIA PEREZ, LUIS O.         ADDRESS ON FILE
GARCIA PEREZ, LUZ M           ADDRESS ON FILE
GARCIA PEREZ, MADELINE        ADDRESS ON FILE
GARCIA PEREZ, MAIRA           ADDRESS ON FILE
GARCIA PEREZ, MANUEL          ADDRESS ON FILE
GARCIA PEREZ, MANUEL          ADDRESS ON FILE
GARCIA PEREZ, MARIA           ADDRESS ON FILE
GARCIA PEREZ, MARIA E         ADDRESS ON FILE
GARCIA PEREZ, MARIA M         ADDRESS ON FILE
Garcia Perez, Maria M         ADDRESS ON FILE
GARCIA PEREZ, MARIBEL         ADDRESS ON FILE
GARCIA PEREZ, MARIELA         ADDRESS ON FILE
GARCIA PEREZ, MARTHA          ADDRESS ON FILE
GARCIA PEREZ, MAYKARI         ADDRESS ON FILE
GARCIA PEREZ, MAYRA T.        ADDRESS ON FILE
GARCIA PEREZ, MERCEDES        ADDRESS ON FILE
GARCIA PEREZ, MIGDALIZ        ADDRESS ON FILE
GARCIA PEREZ, MIGUEL          ADDRESS ON FILE
GARCIA PEREZ, MIGUEL          ADDRESS ON FILE
GARCIA PEREZ, MIRELSA         ADDRESS ON FILE
GARCIA PEREZ, NELIZOR         ADDRESS ON FILE
Garcia Perez, Nelson          ADDRESS ON FILE
GARCIA PEREZ, NELSON          ADDRESS ON FILE
GARCIA PEREZ, NORELYS         ADDRESS ON FILE
GARCIA PEREZ, NORMA I         ADDRESS ON FILE
GARCIA PEREZ, NORYZEL         ADDRESS ON FILE
GARCIA PEREZ, OLGA L          ADDRESS ON FILE
GARCIA PEREZ, OSVALDO         ADDRESS ON FILE
GARCIA PEREZ, PEDRO J.        ADDRESS ON FILE
GARCIA PEREZ, PHILLIPS        ADDRESS ON FILE
GARCIA PEREZ, RAFAEL          ADDRESS ON FILE
GARCIA PEREZ, RAMON           ADDRESS ON FILE
GARCIA PEREZ, REINALDO L      ADDRESS ON FILE
GARCIA PEREZ, RITA            ADDRESS ON FILE
GARCIA PEREZ, ROBERT          ADDRESS ON FILE




                                                                          Page 3128 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3129 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA PEREZ, ROBERT             ADDRESS ON FILE
Garcia Perez, Roberto            ADDRESS ON FILE
GARCIA PEREZ, ROBERTO            ADDRESS ON FILE
GARCIA PEREZ, ROSALI             ADDRESS ON FILE
GARCIA PEREZ, ROSALI             ADDRESS ON FILE
GARCIA PEREZ, SAMMY              ADDRESS ON FILE
GARCIA PEREZ, SAMUEL             ADDRESS ON FILE
Garcia Perez, Santiago           ADDRESS ON FILE
GARCIA PEREZ, SERGIO             ADDRESS ON FILE
GARCIA PEREZ, SILVIA M.          ADDRESS ON FILE
GARCIA PEREZ, XIOMARA            ADDRESS ON FILE
GARCIA PEREZ, YANIRA             ADDRESS ON FILE
GARCIA PEREZ, YANIRA             ADDRESS ON FILE
GARCIA PEREZ, YEDIDIA            ADDRESS ON FILE
GARCIA PEREZ, YENITZA            ADDRESS ON FILE
GARCIA PEREZ, ZAMARY             ADDRESS ON FILE
GARCIA PEREZ, ZAMARY             ADDRESS ON FILE
Garcia Piazza, Luanie            ADDRESS ON FILE
GARCIA PIAZZA, LUANIE            ADDRESS ON FILE
Garcia Piazza, Lurianne          ADDRESS ON FILE
GARCIA PIETRI, GERALINE M.       ADDRESS ON FILE
GARCIA PILLOT, ZULMA M           ADDRESS ON FILE
GARCIA PIMENTEL, ERNESTINA       ADDRESS ON FILE
GARCIA PINA, FLOR H              ADDRESS ON FILE
GARCIA PINANGO, CARLOS           ADDRESS ON FILE
GARCIA PINERO, ARIANA            ADDRESS ON FILE
GARCIA PINERO, WANDA M           ADDRESS ON FILE
GARCIA PINERO, YEREILY           ADDRESS ON FILE
GARCIA PINERO, YOALYS            ADDRESS ON FILE
GARCIA PINTO, DIANA              ADDRESS ON FILE
GARCIA PIZARRO, ANGEL            ADDRESS ON FILE
GARCIA PIZARRO, ANGELICA         ADDRESS ON FILE
Garcia Pizarro, Angelica Marie   ADDRESS ON FILE
GARCIA PIZARRO, HECTOR L         ADDRESS ON FILE
Garcia Pizarro, Julio L          ADDRESS ON FILE
GARCIA PIZARRO, LUZ YANELIS      ADDRESS ON FILE
GARCIA PIZARRO, RAFAEL A         ADDRESS ON FILE
GARCIA PIZARRO, ROSA_MILAGRO     ADDRESS ON FILE
GARCIA PIZARRO, THALIA M         ADDRESS ON FILE
GARCIA PLACERES, WILLIAM         ADDRESS ON FILE
GARCIA PLACERES, WILLIAM         ADDRESS ON FILE
GARCIA PLAJA, CARMEN             ADDRESS ON FILE
GARCIA PLAZA, CARLOS A           ADDRESS ON FILE
GARCIA PLAZA, CARMEN M           ADDRESS ON FILE
GARCIA PLAZA, MARIA S            ADDRESS ON FILE
GARCIA POGGI, SAMUEL             ADDRESS ON FILE
GARCIA POLANCO, ROSALINA         ADDRESS ON FILE
GARCIA POLANCO, YRIS T           ADDRESS ON FILE
GARCIA POMALES, JOSE             ADDRESS ON FILE
Garcia Pomales, Marcos A         ADDRESS ON FILE
GARCIA POMALES, SYLVERIA         ADDRESS ON FILE
GARCIA PONCE, CARMEN I           ADDRESS ON FILE
GARCIA PONCE, RAFAEL             ADDRESS ON FILE
GARCIA PORRATA, VANESSA          ADDRESS ON FILE
GARCIA PORTALATIN, BETHZAIDA     ADDRESS ON FILE
GARCIA PORTALATIN, JUAN          ADDRESS ON FILE
GARCIA PORTALATIN, YOMAIRA       ADDRESS ON FILE
GARCIA POUPART, VIVIAN           ADDRESS ON FILE
GARCIA PRADO Y ASOCIADOS C S P   PO BOX 458                                                                       YABUCOA      PR      00767
GARCIA PRADO, EMMA L             ADDRESS ON FILE




                                                                             Page 3129 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3130 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
GARCIA PRADO, IDALISE             ADDRESS ON FILE
GARCIA PRADO, IDELISE             ADDRESS ON FILE
GARCIA PRADO, IVELISSE            ADDRESS ON FILE
GARCIA PRADO, ROSA M              ADDRESS ON FILE
GARCIA PRATTS, JAVIER             ADDRESS ON FILE
GARCIA PRIETO, HIPOLITA           ADDRESS ON FILE
GARCIA PUMAREJO, MIGUEL           ADDRESS ON FILE
GARCIA QUEVEDO, BRUNILDA          ADDRESS ON FILE
GARCIA QUEZADA, SANTA             ADDRESS ON FILE
GARCIA QUIJANO, NICOLE            ADDRESS ON FILE
GARCIA QUILES, BRYAN              ADDRESS ON FILE
GARCIA QUILES, HERIBERTO          ADDRESS ON FILE
GARCIA QUILES, IVELISSE           ADDRESS ON FILE
GARCIA QUILES, KARLA M            ADDRESS ON FILE
Garcia Quiles, Keychla            ADDRESS ON FILE
GARCIA QUILES, RAUL               ADDRESS ON FILE
GARCIA QUILEZ, SARAH I            ADDRESS ON FILE
GARCIA QUINONES Y ASOCIADOS INC   HC 61 BOX 4171                                                                   TRUJILLO ALTO     PR      00976
GARCIA QUINONES, ANGELES          ADDRESS ON FILE
GARCIA QUINONES, ANGELICA         ADDRESS ON FILE
GARCIA QUINONES, ARTURO           ADDRESS ON FILE
GARCIA QUINONES, BEIRA            ADDRESS ON FILE
GARCIA QUINONES, BEIRA            ADDRESS ON FILE
Garcia Quinones, Carlos J         ADDRESS ON FILE
GARCIA QUINONES, CARMEN L         ADDRESS ON FILE
GARCIA QUINONES, CLARISSA         ADDRESS ON FILE
GARCIA QUINONES, ELIZABETH        ADDRESS ON FILE
GARCIA QUINONES, ESTELA           ADDRESS ON FILE
GARCIA QUINONES, EVELYN           ADDRESS ON FILE
Garcia Quinones, Freddy           ADDRESS ON FILE
GARCIA QUINONES, FREDDY           ADDRESS ON FILE
GARCIA QUINONES, GENZA I          ADDRESS ON FILE
Garcia Quinones, Hector E.        ADDRESS ON FILE
GARCIA QUINONES, IVELISSE         ADDRESS ON FILE
GARCIA QUINONES, JACKELINE        ADDRESS ON FILE
GARCIA QUINONES, JEFFREY          ADDRESS ON FILE
GARCIA QUINONES, LISANDRA         ADDRESS ON FILE
GARCIA QUINONES, LUIS             ADDRESS ON FILE
GARCIA QUINONES, MARIA DE LOS A   ADDRESS ON FILE
GARCIA QUINONES, MARTHA           ADDRESS ON FILE
GARCIA QUINONES, MIGDALIA I       ADDRESS ON FILE
GARCIA QUINONES, OFELIA           ADDRESS ON FILE
GARCIA QUINONES, RAQUEL           ADDRESS ON FILE
GARCIA QUINONES, VANESSA          ADDRESS ON FILE
Garcia Quintana, Anibal           ADDRESS ON FILE
GARCIA QUINTANA, AWILDA           ADDRESS ON FILE
GARCIA QUINTANA, AWILDA           ADDRESS ON FILE
GARCIA QUINTANA, FRANK M          ADDRESS ON FILE
GARCIA QUINTANA, GLORIA I         ADDRESS ON FILE
GARCIA QUINTANA, MORAIMA          ADDRESS ON FILE
GARCIA QUINTANA, PABLO            ADDRESS ON FILE
GARCIA QUINTANA, PABLO            ADDRESS ON FILE
GARCIA QUIROS, HECTOR             ADDRESS ON FILE
GARCIA RALAT, YELITZA             ADDRESS ON FILE
GARCIA RAMAZA, YOLANDA            ADDRESS ON FILE
GARCIA RAMIREZ MD, LIBET Y        ADDRESS ON FILE
Garcia Ramirez, Alex J            ADDRESS ON FILE
GARCIA RAMIREZ, ANA M             ADDRESS ON FILE
GARCIA RAMIREZ, CARLOS            ADDRESS ON FILE
GARCIA RAMIREZ, CARLOS R.         ADDRESS ON FILE




                                                                              Page 3130 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3131 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RAMIREZ, DOMINGO J      ADDRESS ON FILE
GARCIA RAMIREZ, ILSA A         ADDRESS ON FILE
GARCIA RAMIREZ, IVAN DIEGO     ADDRESS ON FILE
GARCIA RAMIREZ, JEAN           ADDRESS ON FILE
GARCIA RAMIREZ, JOSE           ADDRESS ON FILE
GARCIA RAMIREZ, JOSE           ADDRESS ON FILE
GARCIA RAMIREZ, JOSE           ADDRESS ON FILE
Garcia Ramirez, Jose           ADDRESS ON FILE
GARCIA RAMIREZ, JOSE           ADDRESS ON FILE
Garcia Ramirez, Jose A         ADDRESS ON FILE
Garcia Ramirez, Jose A         ADDRESS ON FILE
GARCIA RAMIREZ, JOSE A.        ADDRESS ON FILE
Garcia Ramirez, Josefa         ADDRESS ON FILE
GARCIA RAMIREZ, LOURDES A      ADDRESS ON FILE
GARCIA RAMIREZ, LUIS A         ADDRESS ON FILE
GARCIA RAMIREZ, LUIS F.        ADDRESS ON FILE
GARCIA RAMIREZ, LUIS F.        ADDRESS ON FILE
GARCIA RAMIREZ, MIGDALIA       ADDRESS ON FILE
GARCIA RAMIREZ, MONICA LIDTH   ADDRESS ON FILE
GARCIA RAMIREZ, PEDRO          ADDRESS ON FILE
GARCIA RAMIREZ, RITA M         ADDRESS ON FILE
GARCIA RAMIREZ, ROBERTO        ADDRESS ON FILE
GARCIA RAMIREZ, ROSA M         ADDRESS ON FILE
GARCIA RAMIREZ, SHEYLA R       ADDRESS ON FILE
GARCIA RAMIREZ, SHEYLA R.      ADDRESS ON FILE
GARCIA RAMIREZ, STEPHANIE      ADDRESS ON FILE
GARCIA RAMIREZ, WILLIAM        ADDRESS ON FILE
GARCIA RAMIREZ, YAMILETTE      ADDRESS ON FILE
GARCIA RAMIREZ,MICHAEL         ADDRESS ON FILE
GARCIA RAMOS, ADRIAN O         ADDRESS ON FILE
GARCIA RAMOS, ALEXANDER        ADDRESS ON FILE
GARCIA RAMOS, ALICIA           ADDRESS ON FILE
GARCIA RAMOS, ALMA I           ADDRESS ON FILE
Garcia Ramos, Angel L          ADDRESS ON FILE
GARCIA RAMOS, AXEL             ADDRESS ON FILE
GARCIA RAMOS, AXEL             ADDRESS ON FILE
GARCIA RAMOS, BRENDA A.        ADDRESS ON FILE
GARCIA RAMOS, CAMILLE          ADDRESS ON FILE
GARCIA RAMOS, CARLOS           ADDRESS ON FILE
Garcia Ramos, Carlos A.        ADDRESS ON FILE
GARCIA RAMOS, CARMEN I         ADDRESS ON FILE
GARCIA RAMOS, CARMEN IRIS      ADDRESS ON FILE
GARCIA RAMOS, CARMEN IRIS      ADDRESS ON FILE
GARCIA RAMOS, DAISY            ADDRESS ON FILE
GARCIA RAMOS, DARLENE M        ADDRESS ON FILE
GARCIA RAMOS, DELISSES Y       ADDRESS ON FILE
GARCIA RAMOS, DIANA D          ADDRESS ON FILE
GARCIA RAMOS, DORIS I          ADDRESS ON FILE
GARCIA RAMOS, FRANCISCO J.     ADDRESS ON FILE
GARCIA RAMOS, GERARDO          ADDRESS ON FILE
Garcia Ramos, Hipolito         ADDRESS ON FILE
GARCIA RAMOS, IDALIA           ADDRESS ON FILE
Garcia Ramos, Iris N           ADDRESS ON FILE
GARCIA RAMOS, ISMAEL           ADDRESS ON FILE
GARCIA RAMOS, JANNETTE         ADDRESS ON FILE
GARCIA RAMOS, JESUS            ADDRESS ON FILE
GARCIA RAMOS, JORGE            ADDRESS ON FILE
GARCIA RAMOS, JOSE             ADDRESS ON FILE
GARCIA RAMOS, JOSE E           ADDRESS ON FILE
GARCIA RAMOS, JOSHUA           ADDRESS ON FILE




                                                                           Page 3131 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3132 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Ramos, Juan C        ADDRESS ON FILE
GARCIA RAMOS, JUANA D       ADDRESS ON FILE
GARCIA RAMOS, JULIO J.      ADDRESS ON FILE
GARCIA RAMOS, LILLIAM       ADDRESS ON FILE
GARCIA RAMOS, LILLIAM       ADDRESS ON FILE
GARCIA RAMOS, LUCIDERIZ     ADDRESS ON FILE
GARCIA RAMOS, LUIS          ADDRESS ON FILE
GARCIA RAMOS, LUIS A.       ADDRESS ON FILE
GARCIA RAMOS, LUZ M.        ADDRESS ON FILE
GARCIA RAMOS, MARIELA       ADDRESS ON FILE
GARCIA RAMOS, MAYRA         ADDRESS ON FILE
GARCIA RAMOS, MIGDALIA      ADDRESS ON FILE
GARCIA RAMOS, MIGUEL        ADDRESS ON FILE
GARCIA RAMOS, NELIDA        ADDRESS ON FILE
GARCIA RAMOS, NEREIDA       ADDRESS ON FILE
GARCIA RAMOS, PEDRO         ADDRESS ON FILE
GARCIA RAMOS, SYLVIA        ADDRESS ON FILE
GARCIA RAMOS, VICTOR        ADDRESS ON FILE
GARCIA RAMOS, WALBERT       ADDRESS ON FILE
GARCIA RAMOS, ZULMA         ADDRESS ON FILE
GARCIA RAMOS, ZULNETTE O.   ADDRESS ON FILE
GARCIA RENTA, LUIS          ADDRESS ON FILE
GARCIA RENTAS, ANGEL        ADDRESS ON FILE
GARCIA RENTAS, BETZY        ADDRESS ON FILE
Garcia Rentas, Carlos L     ADDRESS ON FILE
GARCIA RENTAS, HENRY        ADDRESS ON FILE
GARCIA RENTAS, HERMINIA     ADDRESS ON FILE
GARCIA RENTAS, MIGUEL A     ADDRESS ON FILE
GARCIA RESTO, CARLA         ADDRESS ON FILE
GARCIA RESTO, CARMEN M      ADDRESS ON FILE
Garcia Resto, Ernesto       ADDRESS ON FILE
GARCIA RESTO, ESTHER        ADDRESS ON FILE
GARCIA RESTO, JOHNNY        ADDRESS ON FILE
GARCIA RESTO, MARIETZEL     ADDRESS ON FILE
GARCIA REYES, ALFONSO       ADDRESS ON FILE
GARCIA REYES, ANA I         ADDRESS ON FILE
GARCIA REYES, ANGEL         ADDRESS ON FILE
GARCIA REYES, ANGEL M       ADDRESS ON FILE
GARCIA REYES, CARLOS        ADDRESS ON FILE
GARCIA REYES, CARLOS R      ADDRESS ON FILE
GARCIA REYES, CARMEN        ADDRESS ON FILE
GARCIA REYES, CARMEN M      ADDRESS ON FILE
GARCIA REYES, CARMEN S.     ADDRESS ON FILE
GARCIA REYES, DADIRAC       ADDRESS ON FILE
GARCIA REYES, DAMARIS       ADDRESS ON FILE
GARCIA REYES, DAMARIS       ADDRESS ON FILE
GARCIA REYES, DAVID         ADDRESS ON FILE
GARCIA REYES, ELOY          ADDRESS ON FILE
GARCIA REYES, ENRIQUE       ADDRESS ON FILE
GARCIA REYES, ERIC          ADDRESS ON FILE
GARCIA REYES, EVELYN        ADDRESS ON FILE
GARCIA REYES, EVELYN        ADDRESS ON FILE
GARCIA REYES, FELIX         ADDRESS ON FILE
GARCIA REYES, GLORIA        ADDRESS ON FILE
GARCIA REYES, HAYDEE        ADDRESS ON FILE
GARCIA REYES, JESUS         ADDRESS ON FILE
GARCIA REYES, JOSUE A       ADDRESS ON FILE
GARCIA REYES, JUAN          ADDRESS ON FILE
GARCIA REYES, JUANITA       ADDRESS ON FILE
GARCIA REYES, JULIO         ADDRESS ON FILE




                                                                        Page 3132 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3133 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA REYES, LEONARDO        ADDRESS ON FILE
GARCIA REYES, LUCY            ADDRESS ON FILE
GARCIA REYES, LUIS            ADDRESS ON FILE
GARCIA REYES, LUIS O          ADDRESS ON FILE
GARCIA REYES, LYDIA           ADDRESS ON FILE
GARCIA REYES, LYDIA M         ADDRESS ON FILE
GARCIA REYES, MARIA D         ADDRESS ON FILE
GARCIA REYES, MARIA LUISA     ADDRESS ON FILE
GARCIA REYES, MARIBEL         ADDRESS ON FILE
GARCIA REYES, MIGDALIA        ADDRESS ON FILE
GARCIA REYES, MIRIAM M        ADDRESS ON FILE
GARCIA REYES, NANCY           ADDRESS ON FILE
GARCIA REYES, NELLY           ADDRESS ON FILE
GARCIA REYES, NESTOR J        ADDRESS ON FILE
GARCIA REYES, NICOLE          ADDRESS ON FILE
GARCIA REYES, NIXSA           ADDRESS ON FILE
GARCIA REYES, PAULITA         ADDRESS ON FILE
GARCIA REYES, PEDRO JOSE      ADDRESS ON FILE
GARCIA REYES, RAFAEL A        ADDRESS ON FILE
Garcia Reyes, Ramon           ADDRESS ON FILE
GARCIA REYES, ROSA M.         ADDRESS ON FILE
GARCIA REYES, SANTOS JOSE     ADDRESS ON FILE
GARCIA REYES, WILLIAM         ADDRESS ON FILE
GARCIA REYEZ, JUANITA         ADDRESS ON FILE
GARCIA RIOS, ABIGAIL          ADDRESS ON FILE
GARCIA RIOS, ABIGAIL          ADDRESS ON FILE
GARCIA RIOS, ALMA R.          ADDRESS ON FILE
Garcia Rios, Angel M          ADDRESS ON FILE
GARCIA RIOS, BRYAN A.         ADDRESS ON FILE
GARCIA RIOS, CARLOS           ADDRESS ON FILE
GARCIA RIOS, CARLOS A         ADDRESS ON FILE
Garcia Rios, Carlos R         ADDRESS ON FILE
GARCIA RIOS, CARMEN M         ADDRESS ON FILE
GARCIA RIOS, CEDAR            ADDRESS ON FILE
GARCIA RIOS, CYNTHIA          ADDRESS ON FILE
GARCIA RIOS, ELBA I           ADDRESS ON FILE
GARCIA RIOS, GLORIMAR         ADDRESS ON FILE
GARCIA RIOS, JOSE             ADDRESS ON FILE
GARCIA RIOS, JOSE             ADDRESS ON FILE
Garcia Rios, Jose L           ADDRESS ON FILE
GARCIA RIOS, JOSE M.          ADDRESS ON FILE
GARCIA RIOS, JUANA            ADDRESS ON FILE
GARCIA RIOS, JULIA            ADDRESS ON FILE
GARCIA RIOS, LILLINNETTE      ADDRESS ON FILE
GARCIA RIOS, LORENA           ADDRESS ON FILE
GARCIA RIOS, LORENA MARIA     ADDRESS ON FILE
GARCIA RIOS, MARCEL           ADDRESS ON FILE
GARCIA RIOS, MARGARITA        ADDRESS ON FILE
GARCIA RIOS, MIRELLY          ADDRESS ON FILE
GARCIA RIVAS, ADALBERTO       ADDRESS ON FILE
GARCIA RIVAS, CARMEN I.       ADDRESS ON FILE
GARCIA RIVAS, CAROLINE        ADDRESS ON FILE
GARCIA RIVAS, EDUARDO         ADDRESS ON FILE
GARCIA RIVAS, JOSE            ADDRESS ON FILE
Garcia Rivas, Jose M.         ADDRESS ON FILE
GARCIA RIVAS, RAFAEL          ADDRESS ON FILE
GARCIA RIVAS, WILMA J.        ADDRESS ON FILE
GARCIA RIVERA MD, ARMANDO F   ADDRESS ON FILE
GARCIA RIVERA MD, LESLIE      ADDRESS ON FILE
GARCIA RIVERA MD, LUIS        ADDRESS ON FILE




                                                                          Page 3133 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3134 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RIVERA MD, ROBERTO   ADDRESS ON FILE
GARCIA RIVERA, ADRIANA      ADDRESS ON FILE
GARCIA RIVERA, AIDA         ADDRESS ON FILE
GARCIA RIVERA, AIDA I.      ADDRESS ON FILE
GARCIA RIVERA, ALBA         ADDRESS ON FILE
GARCIA RIVERA, ALEJANDRO    ADDRESS ON FILE
GARCIA RIVERA, ALICIA       ADDRESS ON FILE
GARCIA RIVERA, ALMA         ADDRESS ON FILE
GARCIA RIVERA, AMELIA       ADDRESS ON FILE
GARCIA RIVERA, ANA R        ADDRESS ON FILE
GARCIA RIVERA, ANABEL       ADDRESS ON FILE
GARCIA RIVERA, ANAIS        ADDRESS ON FILE
Garcia Rivera, Andy         ADDRESS ON FILE
GARCIA RIVERA, ANGEL        ADDRESS ON FILE
GARCIA RIVERA, ANGEL        ADDRESS ON FILE
GARCIA RIVERA, ANGELA       ADDRESS ON FILE
GARCIA RIVERA, ANGELO       ADDRESS ON FILE
GARCIA RIVERA, ARLEENE R    ADDRESS ON FILE
GARCIA RIVERA, ARMANDO      ADDRESS ON FILE
GARCIA RIVERA, ASHLIE       ADDRESS ON FILE
GARCIA RIVERA, AUREA E      ADDRESS ON FILE
GARCIA RIVERA, AURORA       ADDRESS ON FILE
GARCIA RIVERA, AWILDA       ADDRESS ON FILE
GARCIA RIVERA, CALEFF       ADDRESS ON FILE
GARCIA RIVERA, CALEFF       ADDRESS ON FILE
GARCIA RIVERA, CARLOS E.    ADDRESS ON FILE
GARCIA RIVERA, CARLOS J     ADDRESS ON FILE
GARCIA RIVERA, CARLOS J     ADDRESS ON FILE
GARCIA RIVERA, CARLOS R     ADDRESS ON FILE
GARCIA RIVERA, CARMEN       ADDRESS ON FILE
GARCIA RIVERA, CARMEN G     ADDRESS ON FILE
GARCIA RIVERA, CARMEN L     ADDRESS ON FILE
GARCIA RIVERA, CARMEN L     ADDRESS ON FILE
GARCIA RIVERA, CARMEN M     ADDRESS ON FILE
GARCIA RIVERA, CARMEN M     ADDRESS ON FILE
GARCIA RIVERA, CARMEN M     ADDRESS ON FILE
GARCIA RIVERA, CARMEN M.    ADDRESS ON FILE
GARCIA RIVERA, CARMEN N     ADDRESS ON FILE
GARCIA RIVERA, CARMEN S.    ADDRESS ON FILE
GARCIA RIVERA, CATHERINE    ADDRESS ON FILE
GARCIA RIVERA, CECILIA      ADDRESS ON FILE
GARCIA RIVERA, CHIAKIRA     ADDRESS ON FILE
GARCIA RIVERA, CHRISTIAN    ADDRESS ON FILE
GARCIA RIVERA, CLARIBETH    ADDRESS ON FILE
GARCIA RIVERA, CYNTHIA B    ADDRESS ON FILE
GARCIA RIVERA, DALIMAR      ADDRESS ON FILE
GARCIA RIVERA, DAMARIS      ADDRESS ON FILE
GARCIA RIVERA, DAMIAN       ADDRESS ON FILE
GARCIA RIVERA, DANIEL       ADDRESS ON FILE
GARCIA RIVERA, DESIREE      ADDRESS ON FILE
GARCIA RIVERA, DIALMA E     ADDRESS ON FILE
GARCIA RIVERA, DIEGO        ADDRESS ON FILE
GARCIA RIVERA, DIEGO        ADDRESS ON FILE
GARCIA RIVERA, DIGMAR I     ADDRESS ON FILE
GARCIA RIVERA, DIGMAR I     ADDRESS ON FILE
GARCIA RIVERA, DILIA I      ADDRESS ON FILE
GARCIA RIVERA, DOEL         ADDRESS ON FILE
GARCIA RIVERA, DOLORES I.   ADDRESS ON FILE
Garcia Rivera, Edgardo      ADDRESS ON FILE
GARCIA RIVERA, EDNA         ADDRESS ON FILE




                                                                        Page 3134 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3135 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RIVERA, EDNA I        ADDRESS ON FILE
GARCIA RIVERA, EDWARD        ADDRESS ON FILE
GARCIA RIVERA, EDWARD        ADDRESS ON FILE
GARCIA RIVERA, EDWIN         ADDRESS ON FILE
GARCIA RIVERA, EFRAIN        ADDRESS ON FILE
Garcia Rivera, Elizabeth     ADDRESS ON FILE
GARCIA RIVERA, ELIZABETH N   ADDRESS ON FILE
GARCIA RIVERA, EMELINDA      ADDRESS ON FILE
GARCIA RIVERA, EMMA          ADDRESS ON FILE
GARCIA RIVERA, ENIBETH       ADDRESS ON FILE
GARCIA RIVERA, ENID G        ADDRESS ON FILE
GARCIA RIVERA, ENID J        ADDRESS ON FILE
Garcia Rivera, Enrique       ADDRESS ON FILE
GARCIA RIVERA, ERIC          ADDRESS ON FILE
GARCIA RIVERA, ERNESTO       ADDRESS ON FILE
GARCIA RIVERA, EVELYN        ADDRESS ON FILE
GARCIA RIVERA, EVELYN        ADDRESS ON FILE
GARCIA RIVERA, EVELYN M.     ADDRESS ON FILE
GARCIA RIVERA, FELIPE        ADDRESS ON FILE
GARCIA RIVERA, FELIX         ADDRESS ON FILE
GARCIA RIVERA, FELIX         ADDRESS ON FILE
Garcia Rivera, Felix         ADDRESS ON FILE
Garcia Rivera, Fernando      ADDRESS ON FILE
GARCIA RIVERA, FRANCIS       ADDRESS ON FILE
GARCIA RIVERA, FRANCISCO     ADDRESS ON FILE
GARCIA RIVERA, FRANCISCO     ADDRESS ON FILE
GARCIA RIVERA, FRANCISCO     ADDRESS ON FILE
GARCIA RIVERA, FRANCISCO     ADDRESS ON FILE
GARCIA RIVERA, GEORGINA      ADDRESS ON FILE
GARCIA RIVERA, GERMAN L.     ADDRESS ON FILE
GARCIA RIVERA, GHIANA M      ADDRESS ON FILE
GARCIA RIVERA, GILBERTO      ADDRESS ON FILE
GARCIA RIVERA, GILBERTO      ADDRESS ON FILE
GARCIA RIVERA, GISEL         ADDRESS ON FILE
GARCIA RIVERA, GISELLE       ADDRESS ON FILE
GARCIA RIVERA, GLADYS        ADDRESS ON FILE
GARCIA RIVERA, GLADYS        ADDRESS ON FILE
GARCIA RIVERA, GLENDA        ADDRESS ON FILE
GARCIA RIVERA, GLENDA        ADDRESS ON FILE
GARCIA RIVERA, GONZALO       ADDRESS ON FILE
GARCIA RIVERA, GRETCHEN      ADDRESS ON FILE
GARCIA RIVERA, GUILLERMINA   ADDRESS ON FILE
GARCIA RIVERA, GUILLERMO     ADDRESS ON FILE
Garcia Rivera, Guillermo J   ADDRESS ON FILE
GARCIA RIVERA, HARRY         ADDRESS ON FILE
GARCIA RIVERA, HECTOR        ADDRESS ON FILE
Garcia Rivera, Hector        ADDRESS ON FILE
GARCIA RIVERA, HECTOR        ADDRESS ON FILE
GARCIA RIVERA, HENRIETTA     ADDRESS ON FILE
GARCIA RIVERA, HILDA         ADDRESS ON FILE
GARCIA RIVERA, IRAIDA        ADDRESS ON FILE
GARCIA RIVERA, IRIS D        ADDRESS ON FILE
GARCIA RIVERA, IRIS Y        ADDRESS ON FILE
GARCIA RIVERA, IRVING        ADDRESS ON FILE
GARCIA RIVERA, ISRAEL        ADDRESS ON FILE
GARCIA RIVERA, ISSA          ADDRESS ON FILE
GARCIA RIVERA, IVETTE        ADDRESS ON FILE
GARCIA RIVERA, JACKELYN      ADDRESS ON FILE
GARCIA RIVERA, JAN           ADDRESS ON FILE
GARCIA RIVERA, JANICE        ADDRESS ON FILE




                                                                         Page 3135 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3136 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Rivera, Jennifer M   ADDRESS ON FILE
GARCIA RIVERA, JESSY        ADDRESS ON FILE
GARCIA RIVERA, JESUS        ADDRESS ON FILE
GARCIA RIVERA, JESUS        ADDRESS ON FILE
GARCIA RIVERA, JESUS        ADDRESS ON FILE
GARCIA RIVERA, JOANNA       ADDRESS ON FILE
Garcia Rivera, Joaquin      ADDRESS ON FILE
GARCIA RIVERA, JOEL         ADDRESS ON FILE
GARCIA RIVERA, JOHANNA      ADDRESS ON FILE
GARCIA RIVERA, JOHN R.      ADDRESS ON FILE
Garcia Rivera, Jorge        ADDRESS ON FILE
GARCIA RIVERA, JORGE        ADDRESS ON FILE
GARCIA RIVERA, JORGE        ADDRESS ON FILE
GARCIA RIVERA, JORGE L.     ADDRESS ON FILE
Garcia Rivera, Jorge L.     ADDRESS ON FILE
GARCIA RIVERA, JOSE         ADDRESS ON FILE
GARCIA RIVERA, JOSE         ADDRESS ON FILE
GARCIA RIVERA, JOSE         ADDRESS ON FILE
GARCIA RIVERA, JOSE         ADDRESS ON FILE
GARCIA RIVERA, JOSE         ADDRESS ON FILE
Garcia Rivera, Jose A       ADDRESS ON FILE
GARCIA RIVERA, JOSE E.      ADDRESS ON FILE
GARCIA RIVERA, JOSE F.      ADDRESS ON FILE
GARCIA RIVERA, JOSEPH       ADDRESS ON FILE
GARCIA RIVERA, JUAN         ADDRESS ON FILE
GARCIA RIVERA, JUAN C       ADDRESS ON FILE
GARCIA RIVERA, JULIA        ADDRESS ON FILE
GARCIA RIVERA, JULIA        ADDRESS ON FILE
GARCIA RIVERA, JULIA E.     ADDRESS ON FILE
GARCIA RIVERA, JULIO        ADDRESS ON FILE
GARCIA RIVERA, JULIO        ADDRESS ON FILE
GARCIA RIVERA, LANCY S      ADDRESS ON FILE
GARCIA RIVERA, LESLIE       ADDRESS ON FILE
GARCIA RIVERA, LILLIAM      ADDRESS ON FILE
GARCIA RIVERA, LINETTE      ADDRESS ON FILE
GARCIA RIVERA, LISANDRA     ADDRESS ON FILE
GARCIA RIVERA, LIZ          ADDRESS ON FILE
GARCIA RIVERA, LOURDES      ADDRESS ON FILE
GARCIA RIVERA, LOURDES      ADDRESS ON FILE
GARCIA RIVERA, LOURDES V.   ADDRESS ON FILE
GARCIA RIVERA, LUIS         ADDRESS ON FILE
GARCIA RIVERA, LUIS         ADDRESS ON FILE
GARCIA RIVERA, LUIS         ADDRESS ON FILE
Garcia Rivera, Luis E       ADDRESS ON FILE
GARCIA RIVERA, LUIS E       ADDRESS ON FILE
GARCIA RIVERA, LUIS E.      ADDRESS ON FILE
GARCIA RIVERA, LUIS J       ADDRESS ON FILE
GARCIA RIVERA, LUZ C        ADDRESS ON FILE
GARCIA RIVERA, LUZ D        ADDRESS ON FILE
GARCIA RIVERA, LUZ M        ADDRESS ON FILE
GARCIA RIVERA, LUZ N.       ADDRESS ON FILE
GARCIA RIVERA, LUZ S        ADDRESS ON FILE
GARCIA RIVERA, LYANNE       ADDRESS ON FILE
GARCIA RIVERA, LYMARI       ADDRESS ON FILE
GARCIA RIVERA, LYNNETTE     ADDRESS ON FILE
GARCIA RIVERA, MADELINE     ADDRESS ON FILE
GARCIA RIVERA, MADELINE     ADDRESS ON FILE
GARCIA RIVERA, MAGALI       ADDRESS ON FILE
GARCIA RIVERA, MAGDALENA    ADDRESS ON FILE
GARCIA RIVERA, MANUEL       ADDRESS ON FILE




                                                                        Page 3136 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3137 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Rivera, Marcial A    ADDRESS ON FILE
Garcia Rivera, Marcos E     ADDRESS ON FILE
GARCIA RIVERA, MARIA        ADDRESS ON FILE
GARCIA RIVERA, MARIA        ADDRESS ON FILE
GARCIA RIVERA, MARIA C      ADDRESS ON FILE
GARCIA RIVERA, MARIA C.     ADDRESS ON FILE
GARCIA RIVERA, MARIA E      ADDRESS ON FILE
GARCIA RIVERA, MARIA L      ADDRESS ON FILE
GARCIA RIVERA, MARIA M      ADDRESS ON FILE
GARCIA RIVERA, MARIA S      ADDRESS ON FILE
GARCIA RIVERA, MARIBEL      ADDRESS ON FILE
GARCIA RIVERA, MARIBEL      ADDRESS ON FILE
GARCIA RIVERA, MARIBEL      ADDRESS ON FILE
GARCIA RIVERA, MARIBELI     ADDRESS ON FILE
GARCIA RIVERA, MARICARMEN   ADDRESS ON FILE
GARCIA RIVERA, MARIED       ADDRESS ON FILE
GARCIA RIVERA, MARISOL      ADDRESS ON FILE
GARCIA RIVERA, MARTA        ADDRESS ON FILE
GARCIA RIVERA, MARTHA D     ADDRESS ON FILE
GARCIA RIVERA, MAYRA        ADDRESS ON FILE
GARCIA RIVERA, MERIDA B     ADDRESS ON FILE
GARCIA RIVERA, MICHAEL      ADDRESS ON FILE
GARCIA RIVERA, MICHAEL      ADDRESS ON FILE
Garcia Rivera, Michael A.   ADDRESS ON FILE
GARCIA RIVERA, MIGUEL       ADDRESS ON FILE
GARCIA RIVERA, MIGUEL A     ADDRESS ON FILE
GARCIA RIVERA, MILAGROS     ADDRESS ON FILE
GARCIA RIVERA, MILAGROS     ADDRESS ON FILE
GARCIA RIVERA, MINERVA      ADDRESS ON FILE
GARCIA RIVERA, MINERVA      ADDRESS ON FILE
GARCIA RIVERA, MIRELIS      ADDRESS ON FILE
GARCIA RIVERA, MIRIAM D     ADDRESS ON FILE
GARCIA RIVERA, MODESTA      ADDRESS ON FILE
GARCIA RIVERA, MONSERRATE   ADDRESS ON FILE
GARCIA RIVERA, MONSERRATE   ADDRESS ON FILE
GARCIA RIVERA, MYRIAM       ADDRESS ON FILE
GARCIA RIVERA, MYRNA E      ADDRESS ON FILE
GARCIA RIVERA, NATIVIDAD    ADDRESS ON FILE
GARCIA RIVERA, NELLY        ADDRESS ON FILE
GARCIA RIVERA, NELSON       ADDRESS ON FILE
GARCIA RIVERA, NOELIA       ADDRESS ON FILE
GARCIA RIVERA, NOEMI        ADDRESS ON FILE
GARCIA RIVERA, NORMA I      ADDRESS ON FILE
GARCIA RIVERA, NYDIA        ADDRESS ON FILE
GARCIA RIVERA, NYDIA L      ADDRESS ON FILE
GARCIA RIVERA, OLGA         ADDRESS ON FILE
GARCIA RIVERA, OLGA         ADDRESS ON FILE
GARCIA RIVERA, OLGA L       ADDRESS ON FILE
GARCIA RIVERA, OMAYRA       ADDRESS ON FILE
GARCIA RIVERA, ORLANDO      ADDRESS ON FILE
GARCIA RIVERA, OSVALDO A    ADDRESS ON FILE
GARCIA RIVERA, PABLO        ADDRESS ON FILE
GARCIA RIVERA, PATRICIA     ADDRESS ON FILE
GARCIA RIVERA, PEDRO        ADDRESS ON FILE
GARCIA RIVERA, PEDRO        ADDRESS ON FILE
GARCIA RIVERA, PEDRO J.     ADDRESS ON FILE
GARCIA RIVERA, RAFAEL       ADDRESS ON FILE
GARCIA RIVERA, RAFAEL       ADDRESS ON FILE
GARCIA RIVERA, RAUL H       ADDRESS ON FILE
Garcia Rivera, Raul H       ADDRESS ON FILE




                                                                        Page 3137 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3138 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RIVERA, REBECA         ADDRESS ON FILE
GARCIA RIVERA, REBECA         ADDRESS ON FILE
GARCIA RIVERA, REMBERTO       ADDRESS ON FILE
GARCIA RIVERA, REUEL          ADDRESS ON FILE
GARCIA RIVERA, REYNALDO L     ADDRESS ON FILE
GARCIA RIVERA, ROBERTO        ADDRESS ON FILE
GARCIA RIVERA, ROBERTO        ADDRESS ON FILE
GARCIA RIVERA, ROBERTO        ADDRESS ON FILE
GARCIA RIVERA, ROBERTO        ADDRESS ON FILE
GARCIA RIVERA, ROMUALDO       ADDRESS ON FILE
GARCIA RIVERA, ROSA           ADDRESS ON FILE
GARCIA RIVERA, ROSA           ADDRESS ON FILE
GARCIA RIVERA, ROSA A         ADDRESS ON FILE
GARCIA RIVERA, ROSA M         ADDRESS ON FILE
GARCIA RIVERA, ROSALIA        ADDRESS ON FILE
GARCIA RIVERA, ROSARIO        ADDRESS ON FILE
GARCIA RIVERA, RUBEN          ADDRESS ON FILE
GARCIA RIVERA, RUTH Y         ADDRESS ON FILE
GARCIA RIVERA, SALVADOR       ADDRESS ON FILE
GARCIA RIVERA, SAMUEL         ADDRESS ON FILE
GARCIA RIVERA, SAMUEL         ADDRESS ON FILE
Garcia Rivera, Sorangely      ADDRESS ON FILE
GARCIA RIVERA, STEVEN         ADDRESS ON FILE
GARCIA RIVERA, TANYA          ADDRESS ON FILE
GARCIA RIVERA, TERESA         ADDRESS ON FILE
GARCIA RIVERA, TITO           ADDRESS ON FILE
GARCIA RIVERA, TOMAS J        ADDRESS ON FILE
GARCIA RIVERA, VICTOR         ADDRESS ON FILE
GARCIA RIVERA, VICTOR         ADDRESS ON FILE
GARCIA RIVERA, VICTOR         ADDRESS ON FILE
GARCIA RIVERA, VIRGINIA       ADDRESS ON FILE
GARCIA RIVERA, VIVIAN I.      ADDRESS ON FILE
GARCIA RIVERA, WILDALYS       ADDRESS ON FILE
GARCIA RIVERA, WILFREDO       ADDRESS ON FILE
GARCIA RIVERA, WILFREDO       ADDRESS ON FILE
GARCIA RIVERA, WILSON         ADDRESS ON FILE
GARCIA RIVERA, XAVIER         ADDRESS ON FILE
GARCIA RIVERA, YAHAIRA        ADDRESS ON FILE
GARCIA RIVERA, YANY           ADDRESS ON FILE
GARCIA RIVERA, YARITZA M      ADDRESS ON FILE
Garcia Rivera, Yolanda        ADDRESS ON FILE
GARCIA RIVERA, YOMAIRA        ADDRESS ON FILE
GARCIA RIVERA, ZAIDA A        ADDRESS ON FILE
GARCIA RIVERA, ZORAIDA        ADDRESS ON FILE
GARCIA RIVERA,LUIS A.         ADDRESS ON FILE
GARCIA RIVERO, CARLOS         ADDRESS ON FILE
GARCIA RIVERO, RUTH           ADDRESS ON FILE
GARCIA ROBLEDO, CARLOS        ADDRESS ON FILE
GARCIA ROBLES, ANGEL MANUEL   ADDRESS ON FILE
GARCIA ROBLES, CARLOS A       ADDRESS ON FILE
GARCIA ROBLES, JOSE O         ADDRESS ON FILE
GARCIA ROBLES, LUIS MANUEL    ADDRESS ON FILE
GARCIA ROBLES, MARTA E        ADDRESS ON FILE
GARCIA ROBLES, MIGUEL         ADDRESS ON FILE
GARCIA ROBLES, MONICA         ADDRESS ON FILE
GARCIA ROBLES, OBED           ADDRESS ON FILE
GARCIA ROBLES, SARI O         ADDRESS ON FILE
GARCIA ROBLES, SARI O.        ADDRESS ON FILE
GARCIA ROBLES, WILLIANA       ADDRESS ON FILE
Garcia Roche, Ramses          ADDRESS ON FILE




                                                                          Page 3138 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3139 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ROCHE, RAMSES             ADDRESS ON FILE
GARCIA ROCHE, TERRY              ADDRESS ON FILE
GARCIA RODAS, LUIS               ADDRESS ON FILE
GARCIA RODAS, LUIS               ADDRESS ON FILE
GARCIA RODIRGUEZ, ALBERTO        ADDRESS ON FILE
GARCIA RODRIGUEZ MD, CARLOS      ADDRESS ON FILE
GARCIA RODRIGUEZ, AIDA           ADDRESS ON FILE
GARCIA RODRIGUEZ, AIDA L         ADDRESS ON FILE
GARCIA RODRIGUEZ, AIDA L.        ADDRESS ON FILE
GARCIA RODRIGUEZ, AILEEN         ADDRESS ON FILE
GARCIA RODRIGUEZ, ALEXIS         ADDRESS ON FILE
GARCIA RODRIGUEZ, AMAURY J       ADDRESS ON FILE
GARCIA RODRIGUEZ, ANA I          ADDRESS ON FILE
GARCIA RODRIGUEZ, ANA M          ADDRESS ON FILE
GARCIA RODRIGUEZ, ANA M          ADDRESS ON FILE
GARCIA RODRIGUEZ, ANA M.         ADDRESS ON FILE
GARCIA RODRIGUEZ, ANA MERCEDES   ADDRESS ON FILE
GARCIA RODRIGUEZ, ANABEL         ADDRESS ON FILE
GARCIA RODRIGUEZ, ANGEL          ADDRESS ON FILE
GARCIA RODRIGUEZ, ANGEL L        ADDRESS ON FILE
Garcia Rodriguez, Angel L        ADDRESS ON FILE
GARCIA RODRIGUEZ, ANGEL LUIS     ADDRESS ON FILE
GARCIA RODRIGUEZ, ANGELA         ADDRESS ON FILE
GARCIA RODRIGUEZ, ARTEMIO        ADDRESS ON FILE
GARCIA RODRIGUEZ, AWILDA         ADDRESS ON FILE
GARCIA RODRIGUEZ, BEATRIZ        ADDRESS ON FILE
GARCIA RODRIGUEZ, BEATRIZ        ADDRESS ON FILE
GARCIA RODRIGUEZ, BETTY          ADDRESS ON FILE
GARCIA RODRIGUEZ, BRUNILDA       ADDRESS ON FILE
GARCIA RODRIGUEZ, CAMILLE        ADDRESS ON FILE
GARCIA RODRIGUEZ, CARLA          ADDRESS ON FILE
GARCIA RODRIGUEZ, CARLOS         ADDRESS ON FILE
GARCIA RODRIGUEZ, CARMEN D       ADDRESS ON FILE
GARCIA RODRIGUEZ, CARMEN G.      ADDRESS ON FILE
GARCIA RODRIGUEZ, CARMEN I       ADDRESS ON FILE
GARCIA RODRIGUEZ, CARMEN M       ADDRESS ON FILE
GARCIA RODRIGUEZ, CARMEN M       ADDRESS ON FILE
GARCIA RODRIGUEZ, CARMEN S       ADDRESS ON FILE
GARCIA RODRIGUEZ, CESAR          ADDRESS ON FILE
GARCIA RODRIGUEZ, CESIAH         ADDRESS ON FILE
GARCIA RODRIGUEZ, DIGNA          ADDRESS ON FILE
GARCIA RODRIGUEZ, DORIS E        ADDRESS ON FILE
GARCIA RODRIGUEZ, EDDA           ADDRESS ON FILE
GARCIA RODRIGUEZ, EDDIE          ADDRESS ON FILE
GARCIA RODRIGUEZ, EDGARDO        ADDRESS ON FILE
GARCIA RODRIGUEZ, EDGARDO        ADDRESS ON FILE
GARCIA RODRIGUEZ, EDSAEL         ADDRESS ON FILE
GARCIA RODRIGUEZ, EDSAEL         ADDRESS ON FILE
GARCIA RODRIGUEZ, EDUARD         ADDRESS ON FILE
GARCIA RODRIGUEZ, EDWIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, EDWIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, EDWIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, EDWIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, EDWIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, ELERIE         ADDRESS ON FILE
GARCIA RODRIGUEZ, ELVIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, ELVIN          ADDRESS ON FILE
GARCIA RODRIGUEZ, EMILY D        ADDRESS ON FILE
GARCIA RODRIGUEZ, ENEIDA         ADDRESS ON FILE
GARCIA RODRIGUEZ, ENRIQUE        ADDRESS ON FILE




                                                                             Page 3139 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3140 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
GARCIA RODRIGUEZ, ENRIQUE         ADDRESS ON FILE
GARCIA RODRIGUEZ, ERIC E          ADDRESS ON FILE
GARCIA RODRIGUEZ, EVA             ADDRESS ON FILE
GARCIA RODRIGUEZ, EVELYN          ADDRESS ON FILE
GARCIA RODRIGUEZ, EVELYN          ADDRESS ON FILE
GARCIA RODRIGUEZ, FELICITA        ADDRESS ON FILE
Garcia Rodriguez, Felipe          ADDRESS ON FILE
GARCIA RODRIGUEZ, FELIX           ADDRESS ON FILE
GARCIA RODRIGUEZ, FELIX           ADDRESS ON FILE
GARCIA RODRIGUEZ, FRANCHESCA      ADDRESS ON FILE
GARCIA RODRIGUEZ, FRANK           ADDRESS ON FILE
GARCIA RODRIGUEZ, GABRIEL         ADDRESS ON FILE
GARCIA RODRIGUEZ, GERARDO         ADDRESS ON FILE
GARCIA RODRIGUEZ, GLADYS          ADDRESS ON FILE
GARCIA RODRIGUEZ, GLADYS          ADDRESS ON FILE
GARCIA RODRIGUEZ, HARRY           ADDRESS ON FILE
GARCIA RODRIGUEZ, HECTOR          ADDRESS ON FILE
GARCIA RODRIGUEZ, HECTOR          ADDRESS ON FILE
GARCIA RODRIGUEZ, HERIBERTO       ADDRESS ON FILE
GARCIA RODRIGUEZ, HILDEGARDIS     ADDRESS ON FILE
GARCIA RODRIGUEZ, HIPOLITO        ADDRESS ON FILE
GARCIA RODRIGUEZ, IDALIA          ADDRESS ON FILE
GARCIA RODRIGUEZ, ILDEFONSO       ADDRESS ON FILE
GARCIA RODRIGUEZ, ILEANA          ADDRESS ON FILE
GARCIA RODRIGUEZ, ILIANEMARIE     ADDRESS ON FILE
GARCIA RODRIGUEZ, IMARIS M.       ADDRESS ON FILE
GARCIA RODRIGUEZ, INES M          ADDRESS ON FILE
GARCIA RODRIGUEZ, INGRID M.       ADDRESS ON FILE
GARCIA RODRIGUEZ, IRCAMAR         ADDRESS ON FILE
GARCIA RODRIGUEZ, IRENES          ADDRESS ON FILE
GARCIA RODRIGUEZ, IRENES L        ADDRESS ON FILE
GARCIA RODRIGUEZ, IRIA            ADDRESS ON FILE
GARCIA RODRIGUEZ, IRMA            ADDRESS ON FILE
Garcia Rodriguez, Isaac           ADDRESS ON FILE
GARCIA RODRIGUEZ, ISABEL          ADDRESS ON FILE
Garcia Rodriguez, Isabel          ADDRESS ON FILE
GARCIA RODRIGUEZ, ISMAEL          ADDRESS ON FILE
GARCIA RODRIGUEZ, ISMAEL          ADDRESS ON FILE
GARCIA RODRIGUEZ, ITZA            ADDRESS ON FILE
GARCIA RODRIGUEZ, ITZA MARIE      ADDRESS ON FILE
GARCIA RODRIGUEZ, IVAN            ADDRESS ON FILE
GARCIA RODRIGUEZ, JAIME EDUARDO   ADDRESS ON FILE
GARCIA RODRIGUEZ, JAIME L         ADDRESS ON FILE
GARCIA RODRIGUEZ, JAIME R.        ADDRESS ON FILE
GARCÍA RODRÍGUEZ, JAIME R.        POR DERECHO PROPIO        PO BOX 3355                                            VEGA ALTA     PR      00692
GARCIA RODRIGUEZ, JANET           ADDRESS ON FILE
GARCIA RODRIGUEZ, JANET DE LOU    ADDRESS ON FILE
GARCIA RODRIGUEZ, JAVIER          ADDRESS ON FILE
GARCIA RODRIGUEZ, JAVIER          ADDRESS ON FILE
GARCIA RODRIGUEZ, JEANETTE M      ADDRESS ON FILE
GARCIA RODRIGUEZ, JEANNETTE       ADDRESS ON FILE
GARCIA RODRIGUEZ, JEANNETTE       ADDRESS ON FILE
GARCIA RODRIGUEZ, JESSICA         ADDRESS ON FILE
GARCIA RODRIGUEZ, JESUS           ADDRESS ON FILE
Garcia Rodriguez, Jesus M         ADDRESS ON FILE
GARCIA RODRIGUEZ, JOEL            ADDRESS ON FILE
GARCIA RODRIGUEZ, JOEL J.         ADDRESS ON FILE
GARCIA RODRIGUEZ, JOHANNA N.      ADDRESS ON FILE
Garcia Rodriguez, Johy            ADDRESS ON FILE
GARCIA RODRIGUEZ, JORGE           ADDRESS ON FILE




                                                                              Page 3140 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3141 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RODRIGUEZ, JORGE A.         ADDRESS ON FILE
GARCIA RODRIGUEZ, JORGE A.         ADDRESS ON FILE
GARCIA RODRIGUEZ, JORGE L.         ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSE             ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSE             ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSE             ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSE             ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSE             ADDRESS ON FILE
Garcia Rodriguez, Jose F           ADDRESS ON FILE
Garcia Rodriguez, Jose R           ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSELINE         ADDRESS ON FILE
GARCIA RODRIGUEZ, JOSUE            ADDRESS ON FILE
Garcia Rodriguez, Juan C           ADDRESS ON FILE
GARCIA RODRIGUEZ, JUANITA E        ADDRESS ON FILE
GARCIA RODRIGUEZ, JULIA            ADDRESS ON FILE
GARCIA RODRIGUEZ, JULIO A          ADDRESS ON FILE
GARCIA RODRIGUEZ, KARIM            ADDRESS ON FILE
GARCIA RODRIGUEZ, KEILA            ADDRESS ON FILE
GARCIA RODRIGUEZ, LEOMARY          ADDRESS ON FILE
Garcia Rodriguez, Liduvina         ADDRESS ON FILE
GARCIA RODRIGUEZ, LIEZZA           ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS             ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS             ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS             ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS             ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS             ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS A.          ADDRESS ON FILE
GARCIA RODRIGUEZ, LUIS E           ADDRESS ON FILE
GARCIA RODRIGUEZ, LUZ D            ADDRESS ON FILE
GARCIA RODRIGUEZ, LUZ O.           ADDRESS ON FILE
GARCIA RODRIGUEZ, MADELINE         ADDRESS ON FILE
GARCIA RODRIGUEZ, MAGDALIS         ADDRESS ON FILE
GARCIA RODRIGUEZ, MANUEL           ADDRESS ON FILE
GARCIA RODRIGUEZ, MANUEL           ADDRESS ON FILE
GARCIA RODRIGUEZ, MARCELINA        ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA            ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA A          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA C          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA DE LOS A   ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA E          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA E          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA I.         ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA J          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA M          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA S          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARIA V.         ADDRESS ON FILE
Garcia Rodriguez, Maritza          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARITZA          ADDRESS ON FILE
GARCIA RODRIGUEZ, MARTA            ADDRESS ON FILE
GARCIA RODRIGUEZ, MAYRA            ADDRESS ON FILE
GARCIA RODRIGUEZ, MELISA M         ADDRESS ON FILE
GARCIA RODRIGUEZ, MELISA M         ADDRESS ON FILE
GARCIA RODRIGUEZ, MELISSA          ADDRESS ON FILE
GARCIA RODRIGUEZ, MERCEDES M       ADDRESS ON FILE
GARCIA RODRIGUEZ, MIANA            ADDRESS ON FILE
GARCIA RODRIGUEZ, MIGUEL           ADDRESS ON FILE
GARCIA RODRIGUEZ, MIGUEL A         ADDRESS ON FILE
GARCIA RODRIGUEZ, MIGUEL A         ADDRESS ON FILE
GARCIA RODRIGUEZ, MILAGROS         ADDRESS ON FILE
GARCIA RODRIGUEZ, MILAGROS M       ADDRESS ON FILE




                                                                               Page 3141 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3142 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RODRIGUEZ, MILDRED        ADDRESS ON FILE
GARCIA RODRIGUEZ, MILLY          ADDRESS ON FILE
GARCIA RODRIGUEZ, MIOZOTY        ADDRESS ON FILE
GARCIA RODRIGUEZ, NAMIR          ADDRESS ON FILE
GARCIA RODRIGUEZ, NATIVIDAD      ADDRESS ON FILE
Garcia Rodriguez, Neftali        ADDRESS ON FILE
GARCIA RODRIGUEZ, NELIDA         ADDRESS ON FILE
GARCIA RODRIGUEZ, NELLY          ADDRESS ON FILE
GARCIA RODRIGUEZ, NELSON         ADDRESS ON FILE
GARCIA RODRIGUEZ, NESTOR F.      ADDRESS ON FILE
GARCIA RODRIGUEZ, NILDA          ADDRESS ON FILE
GARCIA RODRIGUEZ, NILSA          ADDRESS ON FILE
GARCIA RODRIGUEZ, NORBERTO       ADDRESS ON FILE
GARCIA RODRIGUEZ, OLGA I         ADDRESS ON FILE
GARCIA RODRIGUEZ, OMAR           ADDRESS ON FILE
GARCIA RODRIGUEZ, OMAR           ADDRESS ON FILE
GARCIA RODRIGUEZ, OSCAR          ADDRESS ON FILE
GARCIA RODRIGUEZ, PATRICIA DEL   ADDRESS ON FILE
GARCIA RODRIGUEZ, PATROCINA      ADDRESS ON FILE
GARCIA RODRIGUEZ, PEDRO          ADDRESS ON FILE
GARCIA RODRIGUEZ, PEDRO          ADDRESS ON FILE
GARCIA RODRIGUEZ, RAMON          ADDRESS ON FILE
GARCIA RODRIGUEZ, RAMON L        ADDRESS ON FILE
GARCIA RODRIGUEZ, RAUL           ADDRESS ON FILE
GARCIA RODRIGUEZ, REINALDO       ADDRESS ON FILE
GARCIA RODRIGUEZ, RICARDO        ADDRESS ON FILE
GARCIA RODRIGUEZ, RICARDO        ADDRESS ON FILE
GARCIA RODRIGUEZ, ROBERTO        ADDRESS ON FILE
GARCIA RODRIGUEZ, ROBERTO        ADDRESS ON FILE
GARCIA RODRIGUEZ, ROLANDO        ADDRESS ON FILE
GARCIA RODRIGUEZ, ROSA E         ADDRESS ON FILE
GARCIA RODRIGUEZ, ROSA N         ADDRESS ON FILE
GARCIA RODRIGUEZ, ROSIRIS        ADDRESS ON FILE
GARCIA RODRIGUEZ, RUBEN          ADDRESS ON FILE
GARCIA RODRIGUEZ, RUTH N.        ADDRESS ON FILE
GARCIA RODRIGUEZ, SAMUEL         ADDRESS ON FILE
GARCIA RODRIGUEZ, SANTOS         ADDRESS ON FILE
GARCIA RODRIGUEZ, SHEILA M       ADDRESS ON FILE
GARCIA RODRIGUEZ, TERESITA       ADDRESS ON FILE
GARCIA RODRIGUEZ, TERESITA       ADDRESS ON FILE
GARCIA RODRIGUEZ, TERESITA       ADDRESS ON FILE
GARCIA RODRIGUEZ, VALERIE        ADDRESS ON FILE
GARCIA RODRIGUEZ, VICTORIA S.    ADDRESS ON FILE
GARCIA RODRIGUEZ, VIRGEN M       ADDRESS ON FILE
GARCIA RODRIGUEZ, VIVIAN R       ADDRESS ON FILE
GARCIA RODRIGUEZ, WALBERTO       ADDRESS ON FILE
GARCIA RODRIGUEZ, WALBERTO       ADDRESS ON FILE
GARCIA RODRIGUEZ, WALESKA        ADDRESS ON FILE
GARCIA RODRIGUEZ, WANDA          ADDRESS ON FILE
GARCIA RODRIGUEZ, WANDA          ADDRESS ON FILE
GARCIA RODRIGUEZ, WANDA I        ADDRESS ON FILE
GARCIA RODRIGUEZ, WILFREDO       ADDRESS ON FILE
GARCIA RODRIGUEZ, XAVIER         ADDRESS ON FILE
GARCIA RODRIGUEZ, XEMIS N        ADDRESS ON FILE
GARCIA RODRIGUEZ, YADIRA         ADDRESS ON FILE
GARCIA RODRIGUEZ, YAITZA E       ADDRESS ON FILE
GARCIA RODRIGUEZ, YAZMIN L.      ADDRESS ON FILE
GARCIA RODRIGUEZ, YOLANDA        ADDRESS ON FILE
GARCIA RODRIUEZ, MARIA C.        ADDRESS ON FILE
GARCIA RODZ, MARIA I.            ADDRESS ON FILE




                                                                             Page 3142 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3143 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ROHENA, EDGARDO       ADDRESS ON FILE
GARCIA ROHENA, LUIS R        ADDRESS ON FILE
GARCIA ROHENA, MORAIMA       ADDRESS ON FILE
GARCIA ROJAS, CHRISTIAN      ADDRESS ON FILE
GARCIA ROJAS, MARIA DEL P.   ADDRESS ON FILE
GARCIA ROJAS, MYRNA D        ADDRESS ON FILE
GARCIA ROJAS, ROBERTO        ADDRESS ON FILE
GARCIA ROJAS, STEPHANIE      ADDRESS ON FILE
GARCIA ROJAS, VICTOR M       ADDRESS ON FILE
GARCIA ROJAS, ZULMA E        ADDRESS ON FILE
GARCIA ROLDAN, ERILEEN Y     ADDRESS ON FILE
GARCIA ROLDAN, JANICETTE     ADDRESS ON FILE
GARCIA ROLDAN, JAVIER        ADDRESS ON FILE
Garcia Roldan, Josean A      ADDRESS ON FILE
Garcia Roldan, Miguel A.     ADDRESS ON FILE
GARCIA ROLDAN, NAEFER S      ADDRESS ON FILE
GARCIA ROLDAN, NORMA I       ADDRESS ON FILE
GARCIA ROLDAN, PEDRO J.      ADDRESS ON FILE
Garcia Roldan, Verushka F.   ADDRESS ON FILE
GARCIA ROLON, AGAR           ADDRESS ON FILE
GARCIA ROLON, ALEX           ADDRESS ON FILE
GARCIA ROLON, ELIZABETH      ADDRESS ON FILE
Garcia Rolon, Fernando       ADDRESS ON FILE
GARCIA ROLON, HECTOR         ADDRESS ON FILE
GARCIA ROLON, JOSE           ADDRESS ON FILE
GARCIA ROLON, KELVIN         ADDRESS ON FILE
GARCIA ROLON, LOIDA          ADDRESS ON FILE
GARCIA ROLON, LOURDES J.     ADDRESS ON FILE
GARCIA ROLON, LYDIA          ADDRESS ON FILE
GARCIA ROLON, LYDIA E        ADDRESS ON FILE
GARCIA ROLON, NEHEMIAS       ADDRESS ON FILE
GARCIA ROLON, PABLO IVAN     ADDRESS ON FILE
GARCIA ROLON, RAMON          ADDRESS ON FILE
GARCIA ROMAN MD, OSCAR       ADDRESS ON FILE
GARCIA ROMAN, ALEXIE         ADDRESS ON FILE
GARCIA ROMAN, ALEXIE J       ADDRESS ON FILE
GARCIA ROMAN, ANA            ADDRESS ON FILE
GARCIA ROMAN, ANGELITA       ADDRESS ON FILE
GARCIA ROMAN, ARMANDO        ADDRESS ON FILE
GARCIA ROMAN, BRIAN J.       ADDRESS ON FILE
GARCIA ROMAN, CARMEN         ADDRESS ON FILE
Garcia Roman, Carmen I       ADDRESS ON FILE
GARCIA ROMAN, EGLOINA        ADDRESS ON FILE
GARCIA ROMAN, GALAHAD        ADDRESS ON FILE
GARCIA ROMAN, GIARIONEX      ADDRESS ON FILE
GARCIA ROMAN, GLADIVELISSE   ADDRESS ON FILE
GARCIA ROMAN, IRIS           ADDRESS ON FILE
Garcia Roman, Israel         ADDRESS ON FILE
GARCIA ROMAN, IVAN           ADDRESS ON FILE
GARCIA ROMAN, JORGE L        ADDRESS ON FILE
Garcia Roman, Jorge L        ADDRESS ON FILE
GARCIA ROMAN, LEONEL         ADDRESS ON FILE
GARCIA ROMAN, LUIS           ADDRESS ON FILE
GARCIA ROMAN, MANUEL         ADDRESS ON FILE
GARCIA ROMAN, MARIA L.       ADDRESS ON FILE
GARCIA ROMAN, MARY C.        ADDRESS ON FILE
GARCIA ROMAN, NANCY          ADDRESS ON FILE
Garcia Roman, Nayda          ADDRESS ON FILE
GARCIA ROMAN, RAQUEL         ADDRESS ON FILE
GARCIA ROMAN, ROSALINA       ADDRESS ON FILE




                                                                         Page 3143 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3144 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ROMAN, SYDIA M.       ADDRESS ON FILE
GARCIA ROMAN, VALDINELLY     ADDRESS ON FILE
GARCIA ROMAN, VIRGEN         ADDRESS ON FILE
GARCIA ROMAN, WILMER         ADDRESS ON FILE
GARCIA ROMERO, JEANELIS      ADDRESS ON FILE
GARCIA ROMERO, LILLIAN       ADDRESS ON FILE
GARCIA ROMERO, LUCIA         ADDRESS ON FILE
GARCIA ROMERO, MARIBEL       ADDRESS ON FILE
GARCIA ROMERO, MILAGROS      ADDRESS ON FILE
GARCIA ROMERO, NILSA I       ADDRESS ON FILE
GARCIA RONDON MD, MARI T     ADDRESS ON FILE
GARCIA RONDON MD, MARITERE   ADDRESS ON FILE
Garcia Rondon, Benjamin      ADDRESS ON FILE
GARCIA RONDON, BENJAMIN      ADDRESS ON FILE
GARCIA RONDON, EDWARD        ADDRESS ON FILE
GARCIA RONDON, HILDA MARIE   ADDRESS ON FILE
GARCIA RONDON, JORGE         ADDRESS ON FILE
GARCIA RONDON, JORGE         ADDRESS ON FILE
GARCIA RONDON, JORGE         ADDRESS ON FILE
GARCIA ROQUE, ILEANA         ADDRESS ON FILE
GARCIA ROQUE, WANDA          ADDRESS ON FILE
GARCIA ROSA, ALICHELLY       ADDRESS ON FILE
GARCIA ROSA, AMBAR           ADDRESS ON FILE
GARCIA ROSA, ANA E           ADDRESS ON FILE
GARCÍA ROSA, BENÍTEZ         ADDRESS ON FILE
GARCIA ROSA, CARMEN          ADDRESS ON FILE
GARCIA ROSA, CARMEN M        ADDRESS ON FILE
GARCIA ROSA, CARMEN M        ADDRESS ON FILE
GARCIA ROSA, CONSUELO        ADDRESS ON FILE
Garcia Rosa, Edwin           ADDRESS ON FILE
GARCIA ROSA, GABRIEL         ADDRESS ON FILE
GARCIA ROSA, GUILLERMO       ADDRESS ON FILE
GARCIA ROSA, GUSTAVO         ADDRESS ON FILE
GARCIA ROSA, HECTOR L        ADDRESS ON FILE
GARCIA ROSA, ILUMINADA       ADDRESS ON FILE
Garcia Rosa, Jaime           ADDRESS ON FILE
GARCIA ROSA, JENARO          ADDRESS ON FILE
Garcia Rosa, Jose R          ADDRESS ON FILE
GARCIA ROSA, JUAN            ADDRESS ON FILE
GARCIA ROSA, KARINA          ADDRESS ON FILE
GARCIA ROSA, LUISA           ADDRESS ON FILE
GARCIA ROSA, MARIA           ADDRESS ON FILE
GARCIA ROSA, MARIELYS        ADDRESS ON FILE
GARCIA ROSA, MARTA           ADDRESS ON FILE
GARCIA ROSA, MAURICIO        ADDRESS ON FILE
GARCIA ROSA, MAYRA C         ADDRESS ON FILE
GARCIA ROSA, MELINA          ADDRESS ON FILE
GARCIA ROSA, MINELY          ADDRESS ON FILE
GARCIA ROSA, SONIA M         ADDRESS ON FILE
Garcia Rosa, Walberto        ADDRESS ON FILE
GARCIA ROSA, WANDA           ADDRESS ON FILE
GARCIA ROSA, WILFREDO        ADDRESS ON FILE
GARCIA ROSA, WILLIAM         ADDRESS ON FILE
GARCIA ROSADO, ABRAHAM       ADDRESS ON FILE
GARCIA ROSADO, AILEEN I      ADDRESS ON FILE
GARCIA ROSADO, ALEXIS        ADDRESS ON FILE
GARCIA ROSADO, ANTONIO       ADDRESS ON FILE
GARCIA ROSADO, BETHZAIDA     ADDRESS ON FILE
GARCIA ROSADO, BRENDA        ADDRESS ON FILE
GARCIA ROSADO, CHRISTIAN     ADDRESS ON FILE




                                                                         Page 3144 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3145 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ROSADO, ELIZABETH         ADDRESS ON FILE
GARCIA ROSADO, ELIZABETH         ADDRESS ON FILE
GARCIA ROSADO, FRANCISCO         ADDRESS ON FILE
GARCIA ROSADO, FRANCISCO         ADDRESS ON FILE
GARCIA ROSADO, FREDDY            ADDRESS ON FILE
GARCIA ROSADO, HENRY             ADDRESS ON FILE
GARCIA ROSADO, HERIBERTO         ADDRESS ON FILE
GARCIA ROSADO, INEZ              ADDRESS ON FILE
GARCIA ROSADO, JESSYKA E         ADDRESS ON FILE
GARCIA ROSADO, JOHANA            ADDRESS ON FILE
GARCIA ROSADO, JOSE              ADDRESS ON FILE
GARCIA ROSADO, JOSE              ADDRESS ON FILE
GARCIA ROSADO, JUAN              ADDRESS ON FILE
GARCIA ROSADO, LELITZA R         ADDRESS ON FILE
GARCIA ROSADO, LILLIAN           ADDRESS ON FILE
GARCIA ROSADO, LINELIA           ADDRESS ON FILE
GARCIA ROSADO, LUIS E            ADDRESS ON FILE
GARCIA ROSADO, MARGIE            ADDRESS ON FILE
Garcia Rosado, Marlyn            ADDRESS ON FILE
GARCIA ROSADO, MERCEDES          ADDRESS ON FILE
GARCIA ROSADO, MIGUEL            ADDRESS ON FILE
GARCIA ROSADO, MIRSA D           ADDRESS ON FILE
Garcia Rosado, Mirsa D           ADDRESS ON FILE
GARCIA ROSADO, NANETTE           ADDRESS ON FILE
GARCIA ROSADO, NATHANIEL         ADDRESS ON FILE
Garcia Rosado, Osvaldo           ADDRESS ON FILE
GARCIA ROSADO, PEDRO             ADDRESS ON FILE
GARCIA ROSADO, RAFAEL            ADDRESS ON FILE
GARCIA ROSADO, REILYN            ADDRESS ON FILE
GARCIA ROSADO, RICARDO           ADDRESS ON FILE
GARCIA ROSADO, SAMUEL            ADDRESS ON FILE
GARCIA ROSADO, WANDA             ADDRESS ON FILE
GARCIA ROSADO, YOLANDA           ADDRESS ON FILE
GARCIA ROSALY, GIOVANNA          ADDRESS ON FILE
GARCIA ROSALY, GIOVANNA          ADDRESS ON FILE
GARCIA ROSANDA, ALEXANDRA        ADDRESS ON FILE
GARCIA ROSARIO MD, IOLANI        ADDRESS ON FILE
GARCIA ROSARIO, AMELIA           ADDRESS ON FILE
Garcia Rosario, Andres Luis      ADDRESS ON FILE
GARCIA ROSARIO, ANGEL            ADDRESS ON FILE
GARCIA ROSARIO, ANGELA           ADDRESS ON FILE
GARCIA ROSARIO, ANTONIA          ADDRESS ON FILE
GARCIA ROSARIO, ANTONIO          ADDRESS ON FILE
GARCIA ROSARIO, ARNALDO          ADDRESS ON FILE
GARCIA ROSARIO, BRENDA YADIRA    ADDRESS ON FILE
GARCIA ROSARIO, CARMEN           ADDRESS ON FILE
GARCIA ROSARIO, CARMEN G         ADDRESS ON FILE
GARCIA ROSARIO, DANIEL           ADDRESS ON FILE
GARCIA ROSARIO, DANIEL           ADDRESS ON FILE
GARCIA ROSARIO, DANIEL           ADDRESS ON FILE
GARCIA ROSARIO, DEBORAH          ADDRESS ON FILE
GARCIA ROSARIO, DORIS            ADDRESS ON FILE
GARCIA ROSARIO, EDUARD           ADDRESS ON FILE
GARCIA ROSARIO, EDWIN M          ADDRESS ON FILE
GARCIA ROSARIO, ELBA I.          ADDRESS ON FILE
GARCIA ROSARIO, ELBA L           ADDRESS ON FILE
GARCIA ROSARIO, ELIZABETH        ADDRESS ON FILE
GARCIA ROSARIO, EMILIO           ADDRESS ON FILE
GARCIA ROSARIO, EMILSE Y.        ADDRESS ON FILE
GARCIA ROSARIO, EMILSE YOLANDA   ADDRESS ON FILE




                                                                             Page 3145 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3146 of 3500
                                                                            17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                Address1                     Address2                       Address3            Address4   City         State   PostalCode   Country
GARCIA ROSARIO, FERNANDO     ADDRESS ON FILE
GARCIA ROSARIO, GABRIEL      ADDRESS ON FILE
GARCIA ROSARIO, GEOMARY      ADDRESS ON FILE
GARCIA ROSARIO, IOLANI       ADDRESS ON FILE
GARCIA ROSARIO, JOHANNY      ADDRESS ON FILE
GARCIA ROSARIO, JORGE        ADDRESS ON FILE
GARCIA ROSARIO, JORGE E      ADDRESS ON FILE
GARCIA ROSARIO, JOSE         ADDRESS ON FILE
GARCIA ROSARIO, JOSE M       ADDRESS ON FILE
GARCIA ROSARIO, JOSMARIE     ADDRESS ON FILE
GARCIA ROSARIO, JOSUE        ADDRESS ON FILE
GARCIA ROSARIO, JULIO        ADDRESS ON FILE
GARCIA ROSARIO, JUSTINIANO   ADDRESS ON FILE
GARCIA ROSARIO, JUSTINIANO   ADDRESS ON FILE
GARCIA ROSARIO, LEILA        ADDRESS ON FILE
GARCIA ROSARIO, LUIS A.      ADDRESS ON FILE
GARCIA ROSARIO, LUZ M        ADDRESS ON FILE
GARCIA ROSARIO, LYANNETTE    ADDRESS ON FILE
GARCIA ROSARIO, MARIA M      ADDRESS ON FILE
GARCIA ROSARIO, MARISOL      ADDRESS ON FILE
GARCIA ROSARIO, MARISOL      ADDRESS ON FILE
GARCIA ROSARIO, NOEL A.      ADDRESS ON FILE
GARCIA ROSARIO, OLGA I       ADDRESS ON FILE
GARCIA ROSARIO, OLGA L       ADDRESS ON FILE
Garcia Rosario, Ricardo      ADDRESS ON FILE
GARCIA ROSARIO, RICARDO      ADDRESS ON FILE
GARCIA ROSARIO, ROBERTO      ADDRESS ON FILE
GARCIA ROSARIO, ROSA         ADDRESS ON FILE
GARCIA ROSARIO, SAUL         ADDRESS ON FILE
GARCIA ROSARIO, SHARON       ADDRESS ON FILE
GARCIA ROSARIO, UMARIA       ADDRESS ON FILE
GARCIA ROSARIO, VERONICA     ADDRESS ON FILE
GARCIA ROSARIO, VICTOR       ADDRESS ON FILE
GARCIA ROSARIO, VIRGINIA     ADDRESS ON FILE
GARCIA ROSARIO,IOLANI        ADDRESS ON FILE
Garcia Rotger, Diana         ADDRESS ON FILE
Garcia Rotger, Jose          ADDRESS ON FILE
Garcia Rotger, Lisandra      ADDRESS ON FILE
GARCIA ROTGER, LISANDRA      ADDRESS ON FILE
Garcia Rotger, Maria V       ADDRESS ON FILE
GARCIA ROURA, IDSA           ADDRESS ON FILE
                                                                                         420 Ponce DE LEÓN
GARCIA RUBIERA, GLADYS       LCDO. ANTONIO AMADEO MURGA   COND. MIDTOWN                  AVE. STE 910                   SAN JUAN     PR      00918‐3409
GARCIA RUBIO, MARIA DEL C    ADDRESS ON FILE
Garcia Ruiz, Alex D          ADDRESS ON FILE
GARCIA RUIZ, AMANDA          ADDRESS ON FILE
GARCIA RUIZ, ARES C          ADDRESS ON FILE
GARCIA RUIZ, ASTRID          ADDRESS ON FILE
GARCIA RUIZ, ASTRID          ADDRESS ON FILE
GARCIA RUIZ, ASTRID M.       ADDRESS ON FILE
GARCIA RUIZ, BETZAIDA        ADDRESS ON FILE
GARCIA RUIZ, BRENDA L.       ADDRESS ON FILE
Garcia Ruiz, Carmen          ADDRESS ON FILE
Garcia Ruiz, Charilys        ADDRESS ON FILE
GARCIA RUIZ, DAVID           ADDRESS ON FILE
GARCIA RUIZ, EDNA I          ADDRESS ON FILE
GARCIA RUIZ, ELEUTERIA       ADDRESS ON FILE
GARCIA RUIZ, EVELYN          ADDRESS ON FILE
Garcia Ruiz, Freddie         ADDRESS ON FILE
GARCIA RUIZ, GESSELLE        ADDRESS ON FILE




                                                                          Page 3146 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3147 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA RUIZ, GRIMILDA        ADDRESS ON FILE
GARCIA RUIZ, HEIDI           ADDRESS ON FILE
Garcia Ruiz, Jaime J         ADDRESS ON FILE
GARCIA RUIZ, LUZ P           ADDRESS ON FILE
GARCIA RUIZ, MARIELY         ADDRESS ON FILE
GARCIA RUIZ, NILDA I         ADDRESS ON FILE
GARCIA RUIZ, NOEMI           ADDRESS ON FILE
GARCIA RUIZ, PEDRO           ADDRESS ON FILE
GARCIA RUIZ, RAFAEL A        ADDRESS ON FILE
GARCIA RUIZ, RAYMOND         ADDRESS ON FILE
GARCIA RUIZ, RICARDO         ADDRESS ON FILE
GARCIA RUIZ, SAPPHIRO E      ADDRESS ON FILE
GARCIA RUIZ, SHIRLEY         ADDRESS ON FILE
GARCIA RUIZ, SYLVIA E        ADDRESS ON FILE
GARCIA RUIZ, VENUS V         ADDRESS ON FILE
GARCIA RUIZ, VICTOR          ADDRESS ON FILE
GARCIA RUIZ, VICTOR          ADDRESS ON FILE
GARCIA RUIZ, WILLIAM         ADDRESS ON FILE
GARCIA RUIZ, YARINES         ADDRESS ON FILE
GARCIA RUPERTO, JESSICA      ADDRESS ON FILE
GARCIA SAEZ, MILAGROS        ADDRESS ON FILE
GARCIA SAIZ, BERLIN          ADDRESS ON FILE
GARCIA SALAS, AMPARO E       ADDRESS ON FILE
GARCIA SALAS, AMPARO E       ADDRESS ON FILE
GARCIA SALCEDO, ESTRELLA     ADDRESS ON FILE
GARCIA SALCEDO, JORDAN       ADDRESS ON FILE
GARCIA SALCEDO, RAMON D      ADDRESS ON FILE
GARCIA SALCEDO, SAUL         ADDRESS ON FILE
GARCIA SALDANA, CARLOS       ADDRESS ON FILE
GARCIA SALDANA, NOEMI M      ADDRESS ON FILE
GARCIA SALGADO, AIDA         ADDRESS ON FILE
GARCIA SALGADO, BLANCA       ADDRESS ON FILE
GARCIA SALGADO, CANDIDO      ADDRESS ON FILE
GARCIA SALGADO, CARMEN       ADDRESS ON FILE
GARCIA SALGADO, JUAN C       ADDRESS ON FILE
GARCIA SALGADO, MIGUEL       ADDRESS ON FILE
Garcia Salgado, Miguel O.    ADDRESS ON FILE
GARCIA SALGADO, SIGFREDO     ADDRESS ON FILE
GARCIA SALGADO, SUZETTE M.   ADDRESS ON FILE
GARCIA SALICRUP, AUGUSTO     ADDRESS ON FILE
GARCIA SAN MIGUEL, JOSE      ADDRESS ON FILE
GARCIA SANABRIA, ERICK       ADDRESS ON FILE
GARCIA SANABRIA, MONICA E    ADDRESS ON FILE
GARCIA SANABRIA, VALERIE     ADDRESS ON FILE
GARCIA SANCHEZ, AIDA E       ADDRESS ON FILE
GARCIA SANCHEZ, AIRAM        ADDRESS ON FILE
GARCIA SANCHEZ, ALBERT       ADDRESS ON FILE
GARCIA SANCHEZ, ANGEL        ADDRESS ON FILE
Garcia Sanchez, Angel L      ADDRESS ON FILE
GARCIA SANCHEZ, BERNICE      ADDRESS ON FILE
GARCIA SANCHEZ, BRENDA E     ADDRESS ON FILE
GARCIA SANCHEZ, CARLOS       ADDRESS ON FILE
GARCIA SANCHEZ, CAROLINE     ADDRESS ON FILE
GARCIA SANCHEZ, CRISTIE M    ADDRESS ON FILE
GARCIA SANCHEZ, CYNTHIA      ADDRESS ON FILE
GARCIA SANCHEZ, CYNTHIA      ADDRESS ON FILE
GARCIA SANCHEZ, DAMARIS      ADDRESS ON FILE
GARCIA SANCHEZ, DIANA M      ADDRESS ON FILE
GARCIA SANCHEZ, DILFIA N     ADDRESS ON FILE
GARCIA SANCHEZ, DOLORES      ADDRESS ON FILE




                                                                         Page 3147 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3148 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA SANCHEZ, DORIS           ADDRESS ON FILE
GARCIA SANCHEZ, EDRA            ADDRESS ON FILE
GARCIA SANCHEZ, EDUARDO A       ADDRESS ON FILE
GARCIA SANCHEZ, ELIZABETH       ADDRESS ON FILE
GARCIA SANCHEZ, ENRIQUE         ADDRESS ON FILE
GARCIA SANCHEZ, EPIFANIO        ADDRESS ON FILE
GARCIA SANCHEZ, FELIPE          ADDRESS ON FILE
GARCIA SANCHEZ, HECTOR          ADDRESS ON FILE
GARCIA SANCHEZ, HECTOR M        ADDRESS ON FILE
Garcia Sanchez, Iris M          ADDRESS ON FILE
GARCIA SANCHEZ, IRIS M.         ADDRESS ON FILE
GARCIA SANCHEZ, IRMARIANNETTE   ADDRESS ON FILE
GARCIA SANCHEZ, JAIME           ADDRESS ON FILE
GARCIA SANCHEZ, JAYNIE          ADDRESS ON FILE
GARCIA SANCHEZ, JOBED           ADDRESS ON FILE
GARCIA SANCHEZ, JUAN            ADDRESS ON FILE
GARCIA SANCHEZ, LEAMSY          ADDRESS ON FILE
GARCIA SANCHEZ, LUIS            ADDRESS ON FILE
GARCIA SANCHEZ, LUZ E.          ADDRESS ON FILE
GARCIA SANCHEZ, MAGDALIS        ADDRESS ON FILE
GARCIA SANCHEZ, MARCOS          ADDRESS ON FILE
GARCIA SANCHEZ, MARIA DE        ADDRESS ON FILE
GARCIA SANCHEZ, MARIA DEL       ADDRESS ON FILE
GARCIA SANCHEZ, MARITZA         ADDRESS ON FILE
GARCIA SANCHEZ, MERCEDES        ADDRESS ON FILE
GARCIA SANCHEZ, MIGDALIA        ADDRESS ON FILE
GARCIA SANCHEZ, MIRNA IRIS      ADDRESS ON FILE
GARCIA SANCHEZ, MORAIMA         ADDRESS ON FILE
GARCIA SANCHEZ, NANCY           ADDRESS ON FILE
GARCIA SANCHEZ, NATALIE         ADDRESS ON FILE
GARCIA SANCHEZ, NELSON          ADDRESS ON FILE
GARCIA SANCHEZ, NOEMI           ADDRESS ON FILE
GARCIA SANCHEZ, PEDRO           ADDRESS ON FILE
GARCIA SANCHEZ, PEDRO I.        ADDRESS ON FILE
GARCIA SANCHEZ, RAFAEL M.       ADDRESS ON FILE
GARCIA SANCHEZ, SANDRA          ADDRESS ON FILE
GARCIA SANCHEZ, SANDRA L        ADDRESS ON FILE
GARCIA SANCHEZ, WANDA           ADDRESS ON FILE
GARCIA SANCHEZ, WILLIAM         ADDRESS ON FILE
GARCIA SANCHEZ, XAVIER          ADDRESS ON FILE
GARCIA SANCHEZ, YADIRA          ADDRESS ON FILE
GARCIA SANCHEZ, YESENIA         ADDRESS ON FILE
GARCIA SANDOVAL, BETZY          ADDRESS ON FILE
GARCIA SANEZ, SONIA             ADDRESS ON FILE
GARCIA SANINOCENCIO, VICTOR     ADDRESS ON FILE
GARCIA SANTA, MEGAN L           ADDRESS ON FILE
GARCIA SANTANA MD, FILIA S      ADDRESS ON FILE
GARCIA SANTANA, ANNETTE         ADDRESS ON FILE
GARCIA SANTANA, CARMEN          ADDRESS ON FILE
Garcia Santana, Elizabeth       ADDRESS ON FILE
GARCIA SANTANA, EVELYN          ADDRESS ON FILE
GARCIA SANTANA, IRMA I          ADDRESS ON FILE
GARCIA SANTANA, JESSICA         ADDRESS ON FILE
GARCIA SANTANA, JONATHAN        ADDRESS ON FILE
GARCIA SANTANA, JOSE            ADDRESS ON FILE
GARCIA SANTANA, JOSHUA          ADDRESS ON FILE
Garcia Santana, Karla I         ADDRESS ON FILE
GARCIA SANTANA, LIBRADA         ADDRESS ON FILE
GARCIA SANTANA, MARIA C.        ADDRESS ON FILE
GARCIA SANTANA, MARILYN         ADDRESS ON FILE




                                                                            Page 3148 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3149 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA SANTANA, MARTA           ADDRESS ON FILE
GARCIA SANTANA, MIRIAM R        ADDRESS ON FILE
GARCIA SANTANA, NITZA L         ADDRESS ON FILE
Garcia Santana, Sylvia C        ADDRESS ON FILE
GARCIA SANTIAGO MD, ERNESTO     ADDRESS ON FILE
GARCIA SANTIAGO MD, JOSE        ADDRESS ON FILE
GARCIA SANTIAGO, ABRAHAM        ADDRESS ON FILE
GARCIA SANTIAGO, ALEXY          ADDRESS ON FILE
GARCIA SANTIAGO, ALFREDO        ADDRESS ON FILE
GARCIA SANTIAGO, ALLAN          ADDRESS ON FILE
GARCIA SANTIAGO, ALMA           ADDRESS ON FILE
GARCIA SANTIAGO, AMARILIS       ADDRESS ON FILE
GARCIA SANTIAGO, AMERGIE E.     ADDRESS ON FILE
GARCIA SANTIAGO, ANGEL          ADDRESS ON FILE
GARCIA SANTIAGO, ANGEL L.       ADDRESS ON FILE
GARCIA SANTIAGO, ARAMIS         ADDRESS ON FILE
GARCIA SANTIAGO, ARIEL          ADDRESS ON FILE
GARCIA SANTIAGO, CAMILLE        ADDRESS ON FILE
GARCIA SANTIAGO, CARLOS         ADDRESS ON FILE
GARCIA SANTIAGO, CARLOS M.      ADDRESS ON FILE
GARCIA SANTIAGO, CARMEN         ADDRESS ON FILE
GARCIA SANTIAGO, CARMEN         ADDRESS ON FILE
GARCIA SANTIAGO, CARMEN I       ADDRESS ON FILE
Garcia Santiago, Carmen L       ADDRESS ON FILE
GARCIA SANTIAGO, CARMEN L       ADDRESS ON FILE
GARCIA SANTIAGO, CHRISTIAN J.   ADDRESS ON FILE
Garcia Santiago, Daniel         ADDRESS ON FILE
GARCIA SANTIAGO, DEBORAH        ADDRESS ON FILE
GARCIA SANTIAGO, DIANA          ADDRESS ON FILE
Garcia Santiago, Domingo        ADDRESS ON FILE
GARCIA SANTIAGO, EFRAIN         ADDRESS ON FILE
GARCIA SANTIAGO, ELADIO         ADDRESS ON FILE
GARCIA SANTIAGO, ELADIO         ADDRESS ON FILE
GARCIA SANTIAGO, ELIDA M        ADDRESS ON FILE
GARCIA SANTIAGO, ERIK A         ADDRESS ON FILE
GARCIA SANTIAGO, ERIKA M        ADDRESS ON FILE
GARCIA SANTIAGO, EVELYN         ADDRESS ON FILE
GARCIA SANTIAGO, FELICIANO      ADDRESS ON FILE
GARCIA SANTIAGO, FELIPE         ADDRESS ON FILE
GARCIA SANTIAGO, GERARDO L      ADDRESS ON FILE
GARCIA SANTIAGO, GILBERTO       ADDRESS ON FILE
GARCIA SANTIAGO, HILDA M        ADDRESS ON FILE
GARCIA SANTIAGO, IRAIDA         ADDRESS ON FILE
GARCIA SANTIAGO, IRIS M         ADDRESS ON FILE
GARCIA SANTIAGO, ISIDRA         ADDRESS ON FILE
GARCIA SANTIAGO, JAIME          ADDRESS ON FILE
Garcia Santiago, Javier         ADDRESS ON FILE
GARCIA SANTIAGO, JAVIER         ADDRESS ON FILE
GARCIA SANTIAGO, JEICHA         ADDRESS ON FILE
GARCIA SANTIAGO, JERRY L.       ADDRESS ON FILE
GARCIA SANTIAGO, JOSE           ADDRESS ON FILE
GARCIA SANTIAGO, JOSE           ADDRESS ON FILE
GARCIA SANTIAGO, JOSE GERARDO   ADDRESS ON FILE
GARCIA SANTIAGO, JOSE J         ADDRESS ON FILE
GARCIA SANTIAGO, JOSUE R.       ADDRESS ON FILE
GARCIA SANTIAGO, KARINA M.      ADDRESS ON FILE
GARCIA SANTIAGO, LOURDES M      ADDRESS ON FILE
GARCIA SANTIAGO, LOURDES N      ADDRESS ON FILE
GARCIA SANTIAGO, MANUEL         ADDRESS ON FILE
GARCIA SANTIAGO, MARGARITA      ADDRESS ON FILE




                                                                            Page 3149 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3150 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA SANTIAGO, MARIA I.       ADDRESS ON FILE
GARCIA SANTIAGO, MARIA T        ADDRESS ON FILE
GARCIA SANTIAGO, MARIANGEL      ADDRESS ON FILE
GARCIA SANTIAGO, MARILYN        ADDRESS ON FILE
GARCIA SANTIAGO, MARISOL        ADDRESS ON FILE
GARCIA SANTIAGO, MAXIMINA       ADDRESS ON FILE
GARCIA SANTIAGO, MIGDALIA       ADDRESS ON FILE
GARCIA SANTIAGO, MIGDALIA M     ADDRESS ON FILE
GARCIA SANTIAGO, MILAGROS       ADDRESS ON FILE
GARCIA SANTIAGO, NATHANIEL      ADDRESS ON FILE
GARCIA SANTIAGO, NATIVIDAD      ADDRESS ON FILE
GARCIA SANTIAGO, NEFTALI        ADDRESS ON FILE
GARCIA SANTIAGO, NERY L.        ADDRESS ON FILE
GARCIA SANTIAGO, NESTOR         ADDRESS ON FILE
GARCIA SANTIAGO, NILDA I        ADDRESS ON FILE
GARCIA SANTIAGO, NOEL           ADDRESS ON FILE
GARCIA SANTIAGO, OSVALDO        ADDRESS ON FILE
GARCIA SANTIAGO, PABLO          ADDRESS ON FILE
GARCIA SANTIAGO, RAFAEL         ADDRESS ON FILE
GARCIA SANTIAGO, RAFAEL         ADDRESS ON FILE
GARCIA SANTIAGO, RAFAELA        ADDRESS ON FILE
GARCIA SANTIAGO, RAMON L        ADDRESS ON FILE
GARCIA SANTIAGO, RAMON L.       ADDRESS ON FILE
GARCIA SANTIAGO, REBECCA        ADDRESS ON FILE
GARCIA SANTIAGO, REINALDO E     ADDRESS ON FILE
GARCIA SANTIAGO, REYNALDO       ADDRESS ON FILE
GARCIA SANTIAGO, ROSALIND       ADDRESS ON FILE
GARCIA SANTIAGO, SUZ ANN MARI   ADDRESS ON FILE
GARCIA SANTIAGO, VICTOR         ADDRESS ON FILE
GARCIA SANTIAGO, VIMARY         ADDRESS ON FILE
GARCIA SANTIAGO, VIVIAN         ADDRESS ON FILE
Garcia Santiago, Waldemar       ADDRESS ON FILE
GARCIA SANTIAGO, WALTER J       ADDRESS ON FILE
GARCIA SANTIAGO, WILLIAM        ADDRESS ON FILE
GARCIA SANTIAGO, XIOMARA        ADDRESS ON FILE
GARCIA SANTIAGO, ZENAIDA        ADDRESS ON FILE
GARCIA SANTIAGO, ZULEIMA        ADDRESS ON FILE
GARCIA SANTINI, GENESIS M.      ADDRESS ON FILE
GARCIA SANTOS, ALBERTO          ADDRESS ON FILE
GARCIA SANTOS, CARILYN          ADDRESS ON FILE
GARCIA SANTOS, CLAUDIO D.       ADDRESS ON FILE
GARCIA SANTOS, EDUARDO          ADDRESS ON FILE
GARCIA SANTOS, ELSA J.          ADDRESS ON FILE
GARCIA SANTOS, ERIC             ADDRESS ON FILE
GARCIA SANTOS, HECTOR           ADDRESS ON FILE
GARCIA SANTOS, ILEANA           ADDRESS ON FILE
GARCIA SANTOS, INGRID           ADDRESS ON FILE
GARCIA SANTOS, INGRY            ADDRESS ON FILE
GARCIA SANTOS, IXIA             ADDRESS ON FILE
Garcia Santos, Jesus            ADDRESS ON FILE
GARCIA SANTOS, JOSE             ADDRESS ON FILE
GARCIA SANTOS, JOSE             ADDRESS ON FILE
GARCIA SANTOS, LISSETTE         ADDRESS ON FILE
GARCIA SANTOS, LIZMARIE         ADDRESS ON FILE
GARCIA SANTOS, LUIS A.          ADDRESS ON FILE
GARCIA SANTOS, LUZ W.           ADDRESS ON FILE
Garcia Santos, Maria M          ADDRESS ON FILE
GARCIA SANTOS, MARIBEL          ADDRESS ON FILE
GARCIA SANTOS, MARIO L.         ADDRESS ON FILE
GARCIA SANTOS, MAYRA            ADDRESS ON FILE




                                                                            Page 3150 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3151 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA SANTOS, MIGDALIA         ADDRESS ON FILE
GARCIA SANTOS, NITZA I.         ADDRESS ON FILE
GARCIA SANTOS, NOEL             ADDRESS ON FILE
GARCIA SANTOS, TAMARA           ADDRESS ON FILE
GARCIA SANTOS, TAMARIS          ADDRESS ON FILE
GARCIA SANTOS, WILFREDO         ADDRESS ON FILE
GARCIA SANTOS, YASMIN           ADDRESS ON FILE
GARCIA SAUL, ANA I.             ADDRESS ON FILE
GARCIA SAURI, ROXANA            ADDRESS ON FILE
GARCIA SCHMIDT, LILLIAM         ADDRESS ON FILE
GARCIA SCHMIDT, LISBETH         ADDRESS ON FILE
GARCIA SEDA, MIRIAM             ADDRESS ON FILE
GARCIA SEDA, ORLANDO E          ADDRESS ON FILE
GARCIA SEDA, WILLIAM            ADDRESS ON FILE
GARCIA SEDA, WILLIAM            ADDRESS ON FILE
GARCIA SEGARRA, JOSE            ADDRESS ON FILE
GARCIA SEGUINOT, JENNIFER       ADDRESS ON FILE
GARCIA SELVA, CARMEN            ADDRESS ON FILE
GARCIA SELVA, ITZA M.           ADDRESS ON FILE
GARCIA SELVA, JOSE              ADDRESS ON FILE
GARCIA SEPULVEDA, CARMEN        ADDRESS ON FILE
GARCIA SEPULVEDA, DERVIS        ADDRESS ON FILE
GARCIA SEPULVEDA, JUDESTTEIDA   ADDRESS ON FILE
GARCIA SEPULVEDA, LEONARDO      ADDRESS ON FILE
GARCIA SEPULVEDA, LOURDES       ADDRESS ON FILE
GARCIA SEPULVEDA, WILSON        ADDRESS ON FILE
GARCIA SERRANO, AINARA          ADDRESS ON FILE
GARCIA SERRANO, AINARA L.       ADDRESS ON FILE
GARCIA SERRANO, AINARA L.       ADDRESS ON FILE
GARCIA SERRANO, ANGEL           ADDRESS ON FILE
GARCIA SERRANO, ARLENNE         ADDRESS ON FILE
GARCIA SERRANO, AXEL            ADDRESS ON FILE
GARCIA SERRANO, EDGAR A         ADDRESS ON FILE
Garcia Serrano, Edwin J.        ADDRESS ON FILE
GARCIA SERRANO, ENRIQUE         ADDRESS ON FILE
GARCIA SERRANO, EVELYN          ADDRESS ON FILE
GARCIA SERRANO, ISMAEL          ADDRESS ON FILE
GARCIA SERRANO, JESUS           ADDRESS ON FILE
GARCIA SERRANO, JOHANNA         ADDRESS ON FILE
GARCIA SERRANO, JOHN            ADDRESS ON FILE
GARCIA SERRANO, JOSE            ADDRESS ON FILE
GARCIA SERRANO, JOSE A          ADDRESS ON FILE
Garcia Serrano, Joseph          ADDRESS ON FILE
GARCIA SERRANO, LAIZA           ADDRESS ON FILE
GARCIA SERRANO, MARITZA         ADDRESS ON FILE
GARCIA SERRANO, MARITZA         ADDRESS ON FILE
GARCIA SERRANO, NANCY           ADDRESS ON FILE
Garcia Serrano, Norberto        ADDRESS ON FILE
GARCIA SERRANO, RAFAEL I        ADDRESS ON FILE
GARCIA SERRANO, RAFAEL I        ADDRESS ON FILE
GARCIA SERRANO, SARA            ADDRESS ON FILE
GARCIA SERRANO, SYNDIA          ADDRESS ON FILE
GARCIA SERRANO, SYNDIA E.       ADDRESS ON FILE
GARCIA SERRANO, VANESSA         ADDRESS ON FILE
GARCIA SEVILLA, ANGEL           ADDRESS ON FILE
GARCIA SEVILLA, ANGEL B         ADDRESS ON FILE
GARCIA SEVILLA, ZULEYKA LEE     ADDRESS ON FILE
GARCIA SEVILLA, ZULEYKA LEE     ADDRESS ON FILE
GARCIA SIERRA, ANGEL L          ADDRESS ON FILE
GARCIA SIERRA, EDGARDO          ADDRESS ON FILE




                                                                            Page 3151 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3152 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA SIERRA, FERNANDO Y     ADDRESS ON FILE
GARCIA SIERRA, GILBERTO       ADDRESS ON FILE
GARCIA SIERRA, GYLMARIE       ADDRESS ON FILE
GARCIA SIERRA, IVONNE         ADDRESS ON FILE
Garcia Sierra, Juan M.        ADDRESS ON FILE
GARCIA SIERRA, LAURA L.       ADDRESS ON FILE
GARCIA SIERRA, MAUREN         ADDRESS ON FILE
GARCIA SIERRA, NAYADETH       ADDRESS ON FILE
GARCIA SIERRA, SONIA          ADDRESS ON FILE
GARCIA SIERRA, WILNELIA       ADDRESS ON FILE
GARCIA SILVA, ADNER           ADDRESS ON FILE
GARCIA SILVA, EDUARDO         ADDRESS ON FILE
GARCIA SILVA, EDUARDO         ADDRESS ON FILE
GARCIA SILVA, JORGE           ADDRESS ON FILE
GARCIA SILVA, NILDA           ADDRESS ON FILE
GARCIA SILVA, NILDA           ADDRESS ON FILE
GARCIA SILVA, OSCAR           ADDRESS ON FILE
GARCIA SILVA, WILFREDO        ADDRESS ON FILE
GARCIA SILVESTRE, ROLANDO     ADDRESS ON FILE
GARCIA SILVESTRE, ROSITA      ADDRESS ON FILE
GARCIA SINO, GUILLERMO        ADDRESS ON FILE
GARCIA SIVERIO, FRANCISCO A   ADDRESS ON FILE
GARCIA SIVERIO, PEDRO         ADDRESS ON FILE
GARCIA SIVERIO, PEDRO         ADDRESS ON FILE
GARCIA SKERRETT, GIOVANNI     ADDRESS ON FILE
GARCIA SMAINE, LUCY J         ADDRESS ON FILE
GARCIA SMAINE, REYNALDO       ADDRESS ON FILE
GARCIA SMAINE, REYNALDO A     ADDRESS ON FILE
GARCIA SOBERAL MD, MADELINE   ADDRESS ON FILE
GARCIA SOBERAL, XAVIER        ADDRESS ON FILE
GARCIA SOLER MD, FELIPE A     ADDRESS ON FILE
GARCIA SOLER, DEADINA         ADDRESS ON FILE
GARCIA SOLER, FELIPE          ADDRESS ON FILE
GARCIA SOLER, MARCOS A        ADDRESS ON FILE
GARCIA SOLER, MARISOL         ADDRESS ON FILE
GARCIA SOLIS, BELVIN          ADDRESS ON FILE
GARCIA SOLIS, CARLOS          ADDRESS ON FILE
GARCIA SOLIS, EVAMARIELY      ADDRESS ON FILE
GARCIA SOLIS, EVAMARIELY      ADDRESS ON FILE
GARCIA SOLIS, KEILA           ADDRESS ON FILE
GARCIA SOLIS, OLIMPIA         ADDRESS ON FILE
GARCIA SOLIVERAS, ANDREA      ADDRESS ON FILE
GARCIA SOLIVERAS, ANDRES      ADDRESS ON FILE
GARCIA SOSA, DAVID            ADDRESS ON FILE
GARCIA SOSA, HEIDY            ADDRESS ON FILE
GARCIA SOSTRE, BLANCA R       ADDRESS ON FILE
GARCIA SOSTRE, JAROL J        ADDRESS ON FILE
GARCIA SOSTRE, JENNIFER       ADDRESS ON FILE
GARCIA SOSTRE, JENNIFER       ADDRESS ON FILE
Garcia Sostre, Jimary         ADDRESS ON FILE
GARCIA SOSTRE, JOSE           ADDRESS ON FILE
GARCIA SOSTRE, JOSE           ADDRESS ON FILE
GARCIA SOSTRE, WANDA I        ADDRESS ON FILE
GARCIA SOTERO, NAHYR A        ADDRESS ON FILE
GARCIA SOTO, AIDA             ADDRESS ON FILE
GARCIA SOTO, ALBERTO          ADDRESS ON FILE
GARCIA SOTO, ALEXIS           ADDRESS ON FILE
GARCIA SOTO, ANTONIO          ADDRESS ON FILE
GARCIA SOTO, BEATRIZ          ADDRESS ON FILE
GARCIA SOTO, BETSY E.         ADDRESS ON FILE




                                                                          Page 3152 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3153 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA SOTO, BEZLIE             ADDRESS ON FILE
GARCIA SOTO, CARLOS             ADDRESS ON FILE
GARCIA SOTO, CARLOS             ADDRESS ON FILE
GARCIA SOTO, DEMENCIA           ADDRESS ON FILE
GARCIA SOTO, EDWARD             ADDRESS ON FILE
Garcia Soto, Elisaul            ADDRESS ON FILE
GARCIA SOTO, ELISAUL            ADDRESS ON FILE
GARCIA SOTO, ELIZABETH          ADDRESS ON FILE
GARCIA SOTO, ENID S             ADDRESS ON FILE
GARCIA SOTO, FELIX O            ADDRESS ON FILE
GARCIA SOTO, GABRIEL            ADDRESS ON FILE
GARCIA SOTO, JOSE               ADDRESS ON FILE
GARCIA SOTO, JOSE E             ADDRESS ON FILE
GARCIA SOTO, JUAN               ADDRESS ON FILE
Garcia Soto, Juan C.            ADDRESS ON FILE
GARCIA SOTO, JUANITA            ADDRESS ON FILE
GARCIA SOTO, JULISSA            ADDRESS ON FILE
GARCIA SOTO, MARILITZA          ADDRESS ON FILE
GARCIA SOTO, MARILYN            ADDRESS ON FILE
GARCIA SOTO, MATILDE            ADDRESS ON FILE
GARCIA SOTO, NITCELIA           ADDRESS ON FILE
GARCIA SOTO, ORLANDO            ADDRESS ON FILE
GARCIA SOTO, ORLANDO            ADDRESS ON FILE
GARCIA SOTO, RICARDO            ADDRESS ON FILE
GARCIA SOTO, ROLANDO            ADDRESS ON FILE
GARCIA SOTO, SONIA L            ADDRESS ON FILE
GARCIA SOTO, VICTOR             ADDRESS ON FILE
GARCIA SOTO, VICTOR R           ADDRESS ON FILE
GARCIA SOTO, YAZIL E            ADDRESS ON FILE
GARCIA SOTO, YOLANDA            ADDRESS ON FILE
GARCIA SOTO,KAREN               ADDRESS ON FILE
GARCIA SOTO,VICTOR R.           ADDRESS ON FILE
GARCIA SOTOMAYOR, CARLOS        ADDRESS ON FILE
GARCIA SOTOMAYOR, ERASMO        ADDRESS ON FILE
GARCIA SOTOMAYOR, ERASMO        ADDRESS ON FILE
GARCIA SOTOMAYOR, GLADYS        ADDRESS ON FILE
GARCIA SOTOMAYOR, MARITZA       ADDRESS ON FILE
GARCIA SOTOMAYOR, YADIRA        ADDRESS ON FILE
GARCIA STELLA, JOSE             ADDRESS ON FILE
GARCIA STERLING, JOSEFINA       ADDRESS ON FILE
GARCIA SUAREZ, ANGELA           ADDRESS ON FILE
GARCIA SUAREZ, CAMILE           ADDRESS ON FILE
GARCIA SUAREZ, JUAN             ADDRESS ON FILE
GARCIA SUAREZ, KATHYANA         ADDRESS ON FILE
GARCIA SUAREZ, RICARDO          ADDRESS ON FILE
GARCIA SUAREZ, ROMUALDO         ADDRESS ON FILE
GARCIA SUAREZ, TAINY            ADDRESS ON FILE
GARCIA SUAZO, LYDIANA           ADDRESS ON FILE
Garcia Sued, Luis A             ADDRESS ON FILE
GARCIA SUED, MILMARIE           ADDRESS ON FILE
GARCIA SURIEL, ANGELA A         ADDRESS ON FILE
GARCIA SURIEL, JULIAN           ADDRESS ON FILE
GARCIA TABAR, RUDDY             ADDRESS ON FILE
GARCIA TABOADA, SHERLI          ADDRESS ON FILE
GARCIA TALAVERA MD, GABRIEL J   ADDRESS ON FILE
GARCIA TALAVERA, JOSE           ADDRESS ON FILE
GARCIA TAPIA, ANDRYS            ADDRESS ON FILE
GARCIA TAPIA, VICTOR M          ADDRESS ON FILE
GARCIA TAVAREZ, ARISLEIDA       ADDRESS ON FILE
GARCIA TAVAREZ, JOSE            ADDRESS ON FILE




                                                                            Page 3153 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3154 of 3500
                                                                                17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                    Address1                   Address2                                    Address3         Address4   City        State   PostalCode   Country
GARCIA TEISSONNIERE, EDGARDO L   ADDRESS ON FILE
Garcia Texidor, Angel A          ADDRESS ON FILE
GARCIA TEXIDOR, GLORIA B         ADDRESS ON FILE
GARCIA TEXIDOR, NORA             ADDRESS ON FILE
GARCIA TIBURCIO, JOHANNA         ADDRESS ON FILE
GARCIA TIBURCIO, JOHANNA         ADDRESS ON FILE
GARCIA TIRADO, ALBERTO           ADDRESS ON FILE
GARCIA TIRADO, BETZAIDA          ADDRESS ON FILE
GARCIA TIRADO, CARMEN M          ADDRESS ON FILE
GARCIA TIRADO, MARIA DEL C       ADDRESS ON FILE
GARCIA TOLEDO, FRANCISCA         ADDRESS ON FILE
GARCIA TOLEDO, GLENDA            ADDRESS ON FILE
Garcia Toledo, Jose A.           ADDRESS ON FILE
GARCIA TOLEDO, NELSON            ADDRESS ON FILE
GARCIA TOLEDO, NORIS             ADDRESS ON FILE
GARCIA TOLEDO, PRIMITIVO         ADDRESS ON FILE
GARCIA TOLEDO, SYLVIA            ADDRESS ON FILE
GARCIA TOLEDO, WILFREDO          ADDRESS ON FILE
GARCIA TOLEDO, WILFREDO          ADDRESS ON FILE
GARCIA TOLEDO, YULIANNE          ADDRESS ON FILE
GARCIA TOLENTINO, WILFREDO       ADDRESS ON FILE
GARCIA TOMEI, MARIA B            ADDRESS ON FILE
GARCIA TORMOS, LOURDES           ADDRESS ON FILE
GARCIA TORO, ALEJANDRO           ADDRESS ON FILE
GARCIA TORO, ANGEL C.            ADDRESS ON FILE
GARCIA TORO, ELFRIDA             ADDRESS ON FILE
GARCIA TORO, ELSA I              ADDRESS ON FILE
GARCIA TORO, ERIC                ADDRESS ON FILE
GARCIA TORO, ISIDRO              ADDRESS ON FILE
Garcia Toro, Joel                ADDRESS ON FILE
GARCIA TORO, JOEL                ADDRESS ON FILE
GARCIA TORO, JOEL                ADDRESS ON FILE
GARCIA TORO, KELVY T             ADDRESS ON FILE
GARCIA TORO, LUIS A.             ADDRESS ON FILE
GARCIA TORO, MARIA D             ADDRESS ON FILE
GARCIA TORO, NILDA               ADDRESS ON FILE
GARCIA TORO, ROSA A.             ADDRESS ON FILE
GARCIA TORO, VICTOR I            ADDRESS ON FILE
GARCIA TORRADO, EVELYN           ADDRESS ON FILE
GARCIA TORRADO, JUAN             ADDRESS ON FILE
GARCIA TORRADO, ROSIE            ADDRESS ON FILE
GARCIA TORRALVO, ROBERTO A       ADDRESS ON FILE
GARCÍA TORRES JESÚS              JESÚS D. GARCÍA TORRES     INST. ANEXO 500 PO BOX 10005 C‐ C#250                                   GUAYAMA     PR      00785
GARCÍA TORRES JESÚS D.           LCDA. NILDA RAMÓN APONTE   PMB 462                                     P. O. BOX 6400              CAYEY       PR      00737
GARCIA TORRES MD, WANDA          ADDRESS ON FILE
GARCIA TORRES, ABDIAS            ADDRESS ON FILE
GARCIA TORRES, ALFONSO           ADDRESS ON FILE
GARCIA TORRES, AMPARO            ADDRESS ON FILE
GARCIA TORRES, ANA               ADDRESS ON FILE
GARCIA TORRES, ANABELLE          ADDRESS ON FILE
GARCIA TORRES, ANETTE            ADDRESS ON FILE
GARCIA TORRES, ANGELA R          ADDRESS ON FILE
GARCIA TORRES, ARIEL             ADDRESS ON FILE
GARCIA TORRES, AUREA             ADDRESS ON FILE
GARCIA TORRES, AWILDA            ADDRESS ON FILE
GARCIA TORRES, BARBARA           ADDRESS ON FILE
GARCIA TORRES, BRENDA I          ADDRESS ON FILE
GARCIA TORRES, CARLOS            ADDRESS ON FILE
GARCIA TORRES, CARLOS A.         ADDRESS ON FILE
GARCIA TORRES, CARMEN I          ADDRESS ON FILE




                                                                                         Page 3154 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3155 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Garcia Torres, Carmen L     ADDRESS ON FILE
GARCIA TORRES, CARMEN P     ADDRESS ON FILE
GARCIA TORRES, CLARIBEL     ADDRESS ON FILE
GARCIA TORRES, CRISTINA     ADDRESS ON FILE
GARCIA TORRES, DAISY        ADDRESS ON FILE
GARCIA TORRES, DIANIXA      ADDRESS ON FILE
GARCIA TORRES, DIEGO        ADDRESS ON FILE
GARCIA TORRES, DINIA        ADDRESS ON FILE
GARCIA TORRES, DORCA        ADDRESS ON FILE
GARCIA TORRES, EDGARDO      ADDRESS ON FILE
GARCIA TORRES, EDSON        ADDRESS ON FILE
GARCIA TORRES, EDSON        ADDRESS ON FILE
GARCIA TORRES, ELIZABETH    ADDRESS ON FILE
GARCIA TORRES, ELSI         ADDRESS ON FILE
GARCIA TORRES, ELSIE        ADDRESS ON FILE
GARCIA TORRES, EMMA I.      ADDRESS ON FILE
GARCIA TORRES, EMMA IRIS    ADDRESS ON FILE
GARCIA TORRES, ENRIQUE      ADDRESS ON FILE
Garcia Torres, Erasmo       ADDRESS ON FILE
GARCIA TORRES, EVELYN       ADDRESS ON FILE
GARCIA TORRES, EVELYN       ADDRESS ON FILE
GARCIA TORRES, FELIX        ADDRESS ON FILE
GARCIA TORRES, FRANCISCO    ADDRESS ON FILE
Garcia Torres, Gabriel      ADDRESS ON FILE
GARCIA TORRES, GERARDO      ADDRESS ON FILE
Garcia Torres, Gil J        ADDRESS ON FILE
GARCIA TORRES, GILBERTO     ADDRESS ON FILE
GARCIA TORRES, GILBERTO     ADDRESS ON FILE
GARCIA TORRES, GLENDA A.    ADDRESS ON FILE
GARCIA TORRES, GLENDA L     ADDRESS ON FILE
GARCIA TORRES, GLORIA       ADDRESS ON FILE
GARCIA TORRES, GLORIA M     ADDRESS ON FILE
GARCIA TORRES, GREGORIA     ADDRESS ON FILE
GARCIA TORRES, HECTOR       ADDRESS ON FILE
GARCIA TORRES, HECTOR E     ADDRESS ON FILE
GARCIA TORRES, HUMBERTO     ADDRESS ON FILE
GARCIA TORRES, ILIA         ADDRESS ON FILE
GARCIA TORRES, IRIS B       ADDRESS ON FILE
GARCIA TORRES, ISRAEL       ADDRESS ON FILE
GARCIA TORRES, IVIAHNIE     ADDRESS ON FILE
GARCIA TORRES, JANETTE      ADDRESS ON FILE
Garcia Torres, Jeffrey W    ADDRESS ON FILE
GARCIA TORRES, JEMMY A.     ADDRESS ON FILE
GARCIA TORRES, JENNIFER     ADDRESS ON FILE
GARCIA TORRES, JOEL G       ADDRESS ON FILE
GARCIA TORRES, JORGE A      ADDRESS ON FILE
GARCIA TORRES, JORGE L      ADDRESS ON FILE
GARCIA TORRES, JORGE L      ADDRESS ON FILE
GARCIA TORRES, JOSE         ADDRESS ON FILE
GARCIA TORRES, JOSE A.      ADDRESS ON FILE
GARCIA TORRES, JOSUE N      ADDRESS ON FILE
GARCIA TORRES, JUAN L       ADDRESS ON FILE
GARCIA TORRES, JUDYBETH     ADDRESS ON FILE
GARCIA TORRES, KEISHLA      ADDRESS ON FILE
GARCIA TORRES, KRISTINA     ADDRESS ON FILE
GARCIA TORRES, LISANDRA     ADDRESS ON FILE
Garcia Torres, Luis         ADDRESS ON FILE
GARCIA TORRES, LUIS A       ADDRESS ON FILE
GARCIA TORRES, LUISETTE M   ADDRESS ON FILE
GARCIA TORRES, LUZ B        ADDRESS ON FILE




                                                                        Page 3155 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3156 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA TORRES, LUZ M          ADDRESS ON FILE
GARCIA TORRES, MANUEL         ADDRESS ON FILE
Garcia Torres, Manuel         ADDRESS ON FILE
GARCIA TORRES, MARELIE        ADDRESS ON FILE
GARCIA TORRES, MARIA D        ADDRESS ON FILE
GARCIA TORRES, MARIA H        ADDRESS ON FILE
GARCIA TORRES, MARIA M        ADDRESS ON FILE
GARCIA TORRES, MARIA M.       ADDRESS ON FILE
GARCIA TORRES, MARIBEL        ADDRESS ON FILE
GARCIA TORRES, MARISOL        ADDRESS ON FILE
GARCIA TORRES, MARISOL        ADDRESS ON FILE
GARCIA TORRES, MARISOL        ADDRESS ON FILE
GARCIA TORRES, MELISSA        ADDRESS ON FILE
GARCIA TORRES, MICHAEL        ADDRESS ON FILE
GARCIA TORRES, MIGDALIA       ADDRESS ON FILE
Garcia Torres, Miguel Angel   ADDRESS ON FILE
GARCIA TORRES, MILDRED        ADDRESS ON FILE
GARCIA TORRES, MILDRED        ADDRESS ON FILE
GARCIA TORRES, MIRIAM         ADDRESS ON FILE
GARCIA TORRES, MYRNA          ADDRESS ON FILE
GARCIA TORRES, MYRNA I        ADDRESS ON FILE
GARCIA TORRES, MYRNA R        ADDRESS ON FILE
GARCIA TORRES, NELSON         ADDRESS ON FILE
GARCIA TORRES, OMAR           ADDRESS ON FILE
GARCIA TORRES, RAPHAEL        ADDRESS ON FILE
GARCIA TORRES, RAYMOND        ADDRESS ON FILE
GARCIA TORRES, REINALDO       ADDRESS ON FILE
GARCIA TORRES, SALVADOR       ADDRESS ON FILE
GARCIA TORRES, SAUL           ADDRESS ON FILE
GARCIA TORRES, SHEILA         ADDRESS ON FILE
GARCIA TORRES, TEDDY          ADDRESS ON FILE
GARCIA TORRES, WILFREDO       ADDRESS ON FILE
GARCIA TORRES, WILFREDO       ADDRESS ON FILE
GARCIA TORRES, ZAIDA          ADDRESS ON FILE
GARCIA TOSADO, NOEMI          ADDRESS ON FILE
GARCIA TOUCET, NEYSSA         ADDRESS ON FILE
GARCIA TOUCET, NEYSSA         ADDRESS ON FILE
GARCIA TOUS, LUIS             ADDRESS ON FILE
GARCIA TRABAL, LORELEI        ADDRESS ON FILE
GARCIA TRABAL, LORELEI        ADDRESS ON FILE
GARCIA TRAVIESO, KEISHLA      ADDRESS ON FILE
GARCIA TRAVIESO,OMAR          ADDRESS ON FILE
GARCIA TRINIDAD, EVELYN       ADDRESS ON FILE
Garcia Trinidad, Israel       ADDRESS ON FILE
GARCIA TRINIDAD, NICOLAS      ADDRESS ON FILE
GARCIA TROCHE, FRANCIS        ADDRESS ON FILE
GARCIA TROCHE, FRANCIS A      ADDRESS ON FILE
GARCIA TROCHE, FRANCISCO      ADDRESS ON FILE
GARCIA TRONCOSO, EDGARDO J    ADDRESS ON FILE
GARCIA TRUJILLO, CARLOS       ADDRESS ON FILE
GARCIA TRUJILLO, MARIA DE L   ADDRESS ON FILE
GARCIA TRUJILLO, SONNY        ADDRESS ON FILE
GARCIA TULFINO, JUAN JR.      ADDRESS ON FILE
GARCIA URBAEZ, ESTERVINA      ADDRESS ON FILE
GARCIA URBINA, MARIA L        ADDRESS ON FILE
GARCIA URENA, BERNARDA C      ADDRESS ON FILE
GARCIA USCOCOVICH, JUAN       ADDRESS ON FILE
GARCIA VALCARCEL, SIGFREDO    ADDRESS ON FILE
GARCIA VALCARCEL, SOL M       ADDRESS ON FILE
GARCIA VALDES, JORGE          ADDRESS ON FILE




                                                                          Page 3156 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3157 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA VALDES, LUCILA          ADDRESS ON FILE
GARCIA VALDEZ, ELIDA           ADDRESS ON FILE
Garcia Vale, Efigenio          ADDRESS ON FILE
GARCIA VALE, JORGE             ADDRESS ON FILE
Garcia Valencia, Enrique       ADDRESS ON FILE
Garcia Valencia, Hector D.     ADDRESS ON FILE
GARCIA VALENCIA, WILLIAM F.    ADDRESS ON FILE
GARCIA VALENTIN, ALEJANDRINA   ADDRESS ON FILE
GARCIA VALENTIN, ALEXANDER     ADDRESS ON FILE
GARCIA VALENTIN, CARMEN L      ADDRESS ON FILE
GARCIA VALENTIN, ELSA I.       ADDRESS ON FILE
GARCIA VALENTIN, ESAUD         ADDRESS ON FILE
GARCIA VALENTIN, FELICITA      ADDRESS ON FILE
GARCIA VALENTIN, FRANK         ADDRESS ON FILE
GARCIA VALENTIN, IDALIA        ADDRESS ON FILE
GARCIA VALENTIN, ISRAEL        ADDRESS ON FILE
GARCIA VALENTIN, LUZ E         ADDRESS ON FILE
GARCIA VALENTIN, MARIELLE      ADDRESS ON FILE
GARCIA VALENTIN, MARISOL       ADDRESS ON FILE
GARCIA VALENTIN, MIGUEL A.     ADDRESS ON FILE
GARCIA VALENTIN, NEYRA         ADDRESS ON FILE
GARCIA VALLE, KIMBERLY         ADDRESS ON FILE
GARCIA VALLEJO, NELSON         ADDRESS ON FILE
GARCIA VALLEJO, NORBERTO       ADDRESS ON FILE
GARCIA VALLELLANES, VICTOR M   ADDRESS ON FILE
GARCIA VALLES, JAIME           ADDRESS ON FILE
GARCIA VANDER HANS, VICTORIA   ADDRESS ON FILE
GARCIA VARELA, ANDREA          ADDRESS ON FILE
GARCIA VARELA, CARLOS          ADDRESS ON FILE
GARCIA VARELA, ESTHER M.       ADDRESS ON FILE
GARCIA VARGAS, ANGEL           ADDRESS ON FILE
GARCIA VARGAS, ARIANA          ADDRESS ON FILE
Garcia Vargas, Brenda M        ADDRESS ON FILE
GARCIA VARGAS, CARLOS          ADDRESS ON FILE
GARCIA VARGAS, ISMAEL          ADDRESS ON FILE
GARCIA VARGAS, JORGE           ADDRESS ON FILE
GARCIA VARGAS, JUAN R          ADDRESS ON FILE
GARCIA VARGAS, LETICIA         ADDRESS ON FILE
GARCIA VARGAS, LUIS A          ADDRESS ON FILE
GARCIA VARGAS, MAGDA I         ADDRESS ON FILE
GARCIA VARGAS, MIGUEL          ADDRESS ON FILE
GARCIA VARGAS, MONICA          ADDRESS ON FILE
GARCIA VARGAS, NILVETTE        ADDRESS ON FILE
GARCIA VARGAS, ROSA M.         ADDRESS ON FILE
GARCIA VARGAS, SIGFREDO        ADDRESS ON FILE
GARCIA VARGAS, TRINIDAD        ADDRESS ON FILE
GARCIA VARGAS, XAVIER          ADDRESS ON FILE
GARCIA VAZQUEZ, ADALISSE       ADDRESS ON FILE
GARCIA VAZQUEZ, ALBERTO        ADDRESS ON FILE
GARCIA VAZQUEZ, ALEXANDER      ADDRESS ON FILE
GARCIA VAZQUEZ, ALEXANDRA      ADDRESS ON FILE
GARCIA VAZQUEZ, ANA L.         ADDRESS ON FILE
GARCIA VAZQUEZ, ANGEL          ADDRESS ON FILE
GARCIA VAZQUEZ, ARACELIS       ADDRESS ON FILE
GARCIA VAZQUEZ, AUREA L.       ADDRESS ON FILE
GARCIA VAZQUEZ, AWILDA         ADDRESS ON FILE
GARCIA VAZQUEZ, BOLIVAR        ADDRESS ON FILE
GARCIA VAZQUEZ, CARISSA        ADDRESS ON FILE
GARCIA VAZQUEZ, CARLA          ADDRESS ON FILE
GARCIA VAZQUEZ, CARMEN E       ADDRESS ON FILE




                                                                           Page 3157 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3158 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA VAZQUEZ, CARMEN M    ADDRESS ON FILE
GARCIA VAZQUEZ, CESAR R     ADDRESS ON FILE
GARCIA VAZQUEZ, DANIEL      ADDRESS ON FILE
Garcia Vazquez, David       ADDRESS ON FILE
GARCIA VAZQUEZ, EDITH       ADDRESS ON FILE
GARCIA VAZQUEZ, EDITH M     ADDRESS ON FILE
GARCIA VAZQUEZ, EFRAIN      ADDRESS ON FILE
GARCIA VAZQUEZ, ELIZABETH   ADDRESS ON FILE
GARCIA VAZQUEZ, ELSA E      ADDRESS ON FILE
GARCIA VAZQUEZ, EVELYN      ADDRESS ON FILE
GARCIA VAZQUEZ, HECTOR      ADDRESS ON FILE
GARCIA VAZQUEZ, IRIS M      ADDRESS ON FILE
GARCIA VAZQUEZ, JOSE        ADDRESS ON FILE
GARCIA VAZQUEZ, JOSE        ADDRESS ON FILE
Garcia Vazquez, Jose A      ADDRESS ON FILE
Garcia Vazquez, Jovany X    ADDRESS ON FILE
Garcia Vazquez, Juan B      ADDRESS ON FILE
GARCIA VAZQUEZ, JUANA       ADDRESS ON FILE
GARCIA VAZQUEZ, KARYNA Y    ADDRESS ON FILE
GARCIA VAZQUEZ, LINA M      ADDRESS ON FILE
GARCIA VAZQUEZ, LISSETTE    ADDRESS ON FILE
GARCIA VAZQUEZ, LOURDES     ADDRESS ON FILE
GARCIA VAZQUEZ, LUIS        ADDRESS ON FILE
GARCIA VAZQUEZ, LUIS        ADDRESS ON FILE
GARCIA VAZQUEZ, LUIS        ADDRESS ON FILE
GARCIA VAZQUEZ, LUIS A      ADDRESS ON FILE
GARCIA VAZQUEZ, LUIS A      ADDRESS ON FILE
GARCIA VAZQUEZ, MARIA       ADDRESS ON FILE
GARCIA VAZQUEZ, MARIA L.    ADDRESS ON FILE
GARCIA VAZQUEZ, MARILU      ADDRESS ON FILE
GARCIA VAZQUEZ, MELBA       ADDRESS ON FILE
GARCIA VAZQUEZ, MIGUEL      ADDRESS ON FILE
GARCIA VAZQUEZ, MIZRAIN     ADDRESS ON FILE
GARCIA VAZQUEZ, NANCY E     ADDRESS ON FILE
GARCIA VAZQUEZ, NOEL        ADDRESS ON FILE
GARCIA VAZQUEZ, NORMA G     ADDRESS ON FILE
GARCIA VAZQUEZ, REYNALDO    ADDRESS ON FILE
GARCIA VAZQUEZ, RICARDO     ADDRESS ON FILE
GARCIA VAZQUEZ, RITA        ADDRESS ON FILE
GARCIA VAZQUEZ, RITA        ADDRESS ON FILE
GARCIA VAZQUEZ, ROBERTO     ADDRESS ON FILE
GARCIA VAZQUEZ, SAMUEL      ADDRESS ON FILE
GARCIA VAZQUEZ, SANTOS      ADDRESS ON FILE
GARCIA VAZQUEZ, SARI E      ADDRESS ON FILE
GARCIA VAZQUEZ, SONIA N     ADDRESS ON FILE
GARCIA VAZQUEZ, SUSANA      ADDRESS ON FILE
Garcia Vazquez, Sussette    ADDRESS ON FILE
GARCIA VAZQUEZ, TANIA C.    ADDRESS ON FILE
GARCIA VEGA, BLANCA         ADDRESS ON FILE
GARCIA VEGA, CARLOS         ADDRESS ON FILE
GARCIA VEGA, CRISTAL        ADDRESS ON FILE
Garcia Vega, Elix M         ADDRESS ON FILE
Garcia Vega, Ernesto        ADDRESS ON FILE
GARCIA VEGA, GISELA         ADDRESS ON FILE
GARCIA VEGA, HARRY          ADDRESS ON FILE
GARCIA VEGA, HECTOR R.      ADDRESS ON FILE
GARCIA VEGA, JAVIER         ADDRESS ON FILE
GARCIA VEGA, JOSE           ADDRESS ON FILE
GARCIA VEGA, JOSE F         ADDRESS ON FILE
GARCIA VEGA, JOSE J         ADDRESS ON FILE




                                                                        Page 3158 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3159 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA VEGA, JOSHUAN             ADDRESS ON FILE
GARCIA VEGA, JUAN                ADDRESS ON FILE
GARCIA VEGA, JUAN                ADDRESS ON FILE
GARCIA VEGA, JUAN C.             ADDRESS ON FILE
GARCIA VEGA, LILLIAM I           ADDRESS ON FILE
GARCIA VEGA, LUIS                ADDRESS ON FILE
Garcia Vega, Luis A.             ADDRESS ON FILE
GARCIA VEGA, LUIS D.             ADDRESS ON FILE
GARCIA VEGA, ROBERTO L           ADDRESS ON FILE
GARCIA VEGA, ROSA                ADDRESS ON FILE
GARCIA VEGA, VANESSA             ADDRESS ON FILE
GARCIA VEGA, WILSON              ADDRESS ON FILE
GARCIA VEGA, YASHIRA M           ADDRESS ON FILE
GARCIA VEGA, YOLANDA             ADDRESS ON FILE
GARCIA VEGUILLA, MARIELY         ADDRESS ON FILE
GARCIA VELA, ROBINSON            ADDRESS ON FILE
GARCIA VELASCO, ANGEL            ADDRESS ON FILE
GARCIA VELASCO, ILDA T           ADDRESS ON FILE
GARCIA VELAZCO, WENDY L          ADDRESS ON FILE
GARCIA VELAZCO,AMAYA             ADDRESS ON FILE
GARCIA VELAZQUEZ, ALEXIS         ADDRESS ON FILE
GARCIA VELAZQUEZ, ANA D          ADDRESS ON FILE
GARCIA VELAZQUEZ, CARLOS         ADDRESS ON FILE
GARCIA VELAZQUEZ, DIANA A.       ADDRESS ON FILE
GARCIA VELAZQUEZ, DIANA M.       ADDRESS ON FILE
GARCIA VELAZQUEZ, DORIS          ADDRESS ON FILE
GARCIA VELAZQUEZ, EVELYN         ADDRESS ON FILE
GARCIA VELAZQUEZ, IRVING         ADDRESS ON FILE
GARCIA VELAZQUEZ, JOAN DEL C     ADDRESS ON FILE
GARCIA VELAZQUEZ, JOSE           ADDRESS ON FILE
GARCIA VELAZQUEZ, JOSE           ADDRESS ON FILE
GARCIA VELAZQUEZ, JOSE M.        ADDRESS ON FILE
GARCIA VELAZQUEZ, JOSE M.        ADDRESS ON FILE
Garcia Velazquez, Julio          ADDRESS ON FILE
GARCIA VELAZQUEZ, LAURIVETTE     ADDRESS ON FILE
GARCIA VELAZQUEZ, LIZZETTE       ADDRESS ON FILE
GARCIA VELAZQUEZ, LUIS           ADDRESS ON FILE
GARCIA VELAZQUEZ, MIRIAM NOEMI   ADDRESS ON FILE
Garcia Velazquez, Samuel         ADDRESS ON FILE
GARCIA VELAZQUEZ, WILFREDO       ADDRESS ON FILE
GARCIA VELAZQUEZ, YESENIA        ADDRESS ON FILE
GARCIA VELAZQUEZ, ZILMARY        ADDRESS ON FILE
GARCIA VELEZ MD, JUAN R          ADDRESS ON FILE
GARCIA VELEZ, ADALBERTO          ADDRESS ON FILE
GARCIA VELEZ, ADAN               ADDRESS ON FILE
GARCIA VELEZ, ALEX               ADDRESS ON FILE
GARCIA VELEZ, ANA                ADDRESS ON FILE
GARCIA VELEZ, ANA                ADDRESS ON FILE
GARCIA VELEZ, ANA E              ADDRESS ON FILE
GARCIA VELEZ, ANA M              ADDRESS ON FILE
GARCIA VELEZ, ANGEL L.           ADDRESS ON FILE
GARCIA VELEZ, ANTONIO            ADDRESS ON FILE
Garcia Velez, Antonio            ADDRESS ON FILE
GARCIA VELEZ, BRAULIO A          ADDRESS ON FILE
GARCIA VELEZ, CARLOS             ADDRESS ON FILE
GARCIA VELEZ, CARLOS A           ADDRESS ON FILE
GARCIA VELEZ, CARMEN L           ADDRESS ON FILE
GARCIA VELEZ, CARMEN L           ADDRESS ON FILE
GARCIA VELEZ, CHERYL             ADDRESS ON FILE
GARCIA VELEZ, DAISY              ADDRESS ON FILE




                                                                             Page 3159 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3160 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA VELEZ, DAVID          ADDRESS ON FILE
GARCIA VELEZ, DIANA          ADDRESS ON FILE
GARCIA VELEZ, EDWIN N.       ADDRESS ON FILE
GARCIA VELEZ, FRANK          ADDRESS ON FILE
GARCIA VELEZ, FREDDIE        ADDRESS ON FILE
GARCIA VELEZ, GENOVEVA       ADDRESS ON FILE
GARCIA VELEZ, GILBERTO       ADDRESS ON FILE
GARCIA VELEZ, HECTOR J       ADDRESS ON FILE
GARCIA VELEZ, IDA            ADDRESS ON FILE
Garcia Velez, Ismael         ADDRESS ON FILE
GARCIA VELEZ, ISRAEL         ADDRESS ON FILE
GARCIA VELEZ, JUAN           ADDRESS ON FILE
GARCIA VELEZ, JUAN           ADDRESS ON FILE
GARCIA VELEZ, KARLMARIE      ADDRESS ON FILE
GARCIA VELEZ, LILLIAM I.     ADDRESS ON FILE
GARCIA VELEZ, LIZA           ADDRESS ON FILE
GARCIA VELEZ, LIZA M.        ADDRESS ON FILE
GARCIA VELEZ, LUIS           ADDRESS ON FILE
Garcia Velez, Luisa I        ADDRESS ON FILE
GARCIA VELEZ, MARGARITA      ADDRESS ON FILE
GARCIA VELEZ, MARTA I        ADDRESS ON FILE
GARCIA VELEZ, MILAGROS       ADDRESS ON FILE
GARCIA VELEZ, MILDRED Y.     ADDRESS ON FILE
GARCIA VELEZ, MILDRED Y.     ADDRESS ON FILE
GARCIA VELEZ, MILTON         ADDRESS ON FILE
GARCIA VELEZ, MILTON J.      ADDRESS ON FILE
GARCIA VELEZ, NATALIE        ADDRESS ON FILE
GARCIA VELEZ, NOEMI          ADDRESS ON FILE
GARCIA VELEZ, PEDRO          ADDRESS ON FILE
GARCIA VELEZ, REBECA         ADDRESS ON FILE
GARCIA VELEZ, RENE           ADDRESS ON FILE
GARCIA VELEZ, SANDRA         ADDRESS ON FILE
GARCIA VELEZ, TATIANA E      ADDRESS ON FILE
Garcia Velez, Victor         ADDRESS ON FILE
GARCIA VELILLA, LILIA        ADDRESS ON FILE
Garcia Ventura, Eledith      ADDRESS ON FILE
GARCIA VENTURA, ELEDITH      ADDRESS ON FILE
GARCIA VENTURA, OMAYRA       ADDRESS ON FILE
GARCIA VENTURA, ORLANDO      ADDRESS ON FILE
GARCIA VENTURA, SAMUEL       ADDRESS ON FILE
GARCIA VENTURA, SARA M.      ADDRESS ON FILE
GARCIA VENTURA, YADIEL       ADDRESS ON FILE
GARCIA VERA, EDGAR           ADDRESS ON FILE
GARCIA VERGNE MD, MANUEL A   ADDRESS ON FILE
GARCIA VICARIO MD, JOSE A    ADDRESS ON FILE
Garcia Vicarrondo, Jorge A   ADDRESS ON FILE
GARCIA VICENS, CARMEN S      ADDRESS ON FILE
GARCIA VICENS, JOSE A        ADDRESS ON FILE
GARCIA VICENS, MARIA A       ADDRESS ON FILE
GARCIA VICENS, MARIA A       ADDRESS ON FILE
GARCIA VICENS, ORLANDO J.    ADDRESS ON FILE
GARCIA VICENTE, MARIO        ADDRESS ON FILE
GARCIA VIDAL, CELIA          ADDRESS ON FILE
GARCIA VIDAL, DALIANA        ADDRESS ON FILE
GARCIA VIDAL, MELVIN         ADDRESS ON FILE
GARCIA VIDAL, STEPHANIE L.   ADDRESS ON FILE
Garcia Viera, Carmen D       ADDRESS ON FILE
GARCIA VIERA, SAMUEL         ADDRESS ON FILE
GARCIA VIERA, YARITZA        ADDRESS ON FILE
GARCIA VIGO, MYRNA E         ADDRESS ON FILE




                                                                         Page 3160 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3161 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA VILA, RICARDO              ADDRESS ON FILE
GARCIA VILLA, ALEJANDRO           ADDRESS ON FILE
GARCIA VILLAFANE, MINERVA         ADDRESS ON FILE
GARCIA VILLAFANE, RAUL            ADDRESS ON FILE
GARCIA VILLALONGO, CRISTIAN       ADDRESS ON FILE
GARCIA VILLAMIL, ANTONIO          ADDRESS ON FILE
GARCIA VILLAMIL, JENNIFFER        ADDRESS ON FILE
GARCIA VILLANUEVA, EDDIE          ADDRESS ON FILE
Garcia Villanueva, Fernando       ADDRESS ON FILE
GARCIA VILLANUEVA, HECTOR         ADDRESS ON FILE
GARCIA VILLANUEVA, JOSE           ADDRESS ON FILE
GARCIA VILLANUEVA, JUAN ANTONIO   ADDRESS ON FILE
GARCIA VILLANUEVA, LILLIAN L.     ADDRESS ON FILE
GARCIA VILLANUEVA, LUZ E.         ADDRESS ON FILE
GARCIA VILLANUEVA, YOLANDA        ADDRESS ON FILE
GARCIA VILLARAN, FELIX            ADDRESS ON FILE
Garcia Villaran, Felix R          ADDRESS ON FILE
GARCIA VILLARUBIO, ISABEL         ADDRESS ON FILE
GARCIA VILLEGAS, ENID             ADDRESS ON FILE
GARCIA VILLEGAS, ENID D           ADDRESS ON FILE
GARCIA VILLEGAS, ESTEBAN          ADDRESS ON FILE
GARCIA VILLEGAS, JOSE M           ADDRESS ON FILE
GARCIA VILLEGAS, LUZ              ADDRESS ON FILE
GARCIA VILLEGAS, MIGUEL A         ADDRESS ON FILE
GARCIA VILLEGAS, PAULA            ADDRESS ON FILE
GARCIA VILLEGAS, ZENAIDA          ADDRESS ON FILE
GARCIA VINCENTY, OLGA I           ADDRESS ON FILE
GARCIA VIRELLA, ALICE M           ADDRESS ON FILE
GARCIA VIRELLA, JOSE              ADDRESS ON FILE
GARCIA VIRELLA, JOSE J            ADDRESS ON FILE
GARCIA VIRELLA, JUAN              ADDRESS ON FILE
GARCIA VIRELLA, SOLIMAR           ADDRESS ON FILE
GARCIA VIRUET, DENISE             ADDRESS ON FILE
GARCIA VIVAS, NORMA I             ADDRESS ON FILE
GARCIA VIZCARRONDO, MYRNA         ADDRESS ON FILE
GARCIA VIZCARRONDO, ZAIDA         ADDRESS ON FILE
GARCIA WARNER, CARLOS             ADDRESS ON FILE
GARCIA WEBER, REBEKAH             ADDRESS ON FILE
GARCIA WINFIELD, MELITZA          ADDRESS ON FILE
GARCIA WIRSHING, EILEEN M.        ADDRESS ON FILE
GARCIA YANTIN, MARILYN I          ADDRESS ON FILE
GARCIA YEINSIX, ARMANDO           ADDRESS ON FILE
GARCIA YILI, ZAIDA                ADDRESS ON FILE
GARCIA YILI, ZAIDA                ADDRESS ON FILE
GARCIA YILI, ZAIDA                ADDRESS ON FILE
GARCIA YONG, FELIX                ADDRESS ON FILE
GARCIA ZAEGERS, RANDALL           ADDRESS ON FILE
GARCIA ZALISNAK, MIRIAM           ADDRESS ON FILE
GARCIA ZAMORA, EILEEN J.          ADDRESS ON FILE
GARCIA ZAMORA, JOMARIE            ADDRESS ON FILE
GARCIA ZAPATA, ARMANDO            ADDRESS ON FILE
GARCIA ZAPATA, CHARLIE            ADDRESS ON FILE
GARCIA ZAPATA, DAREN              ADDRESS ON FILE
GARCIA ZAPATA, DAVID              ADDRESS ON FILE
GARCIA ZAPATA, JOSE               ADDRESS ON FILE
GARCIA ZAPATA, JUAN M.            ADDRESS ON FILE
GARCIA ZAPATA, LYMARI             ADDRESS ON FILE
GARCIA ZAPATA, LYMARI             ADDRESS ON FILE
GARCIA ZAVALA, JUAN D             ADDRESS ON FILE
GARCIA ZAYAS, IDALIE              ADDRESS ON FILE




                                                                              Page 3161 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3162 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GARCIA ZAYAS, MARIBEL            ADDRESS ON FILE
GARCIA ZAYAS, NITZA              ADDRESS ON FILE
GARCIA ZAYAS, RAMON              ADDRESS ON FILE
GARCIA ZAYAS, TERESITA           ADDRESS ON FILE
GARCIA ZEDA, VERONICA M          ADDRESS ON FILE
GARCIA ZENO, CARMEN MILAGROS     ADDRESS ON FILE
GARCIA ZENON, JORGE              ADDRESS ON FILE
GARCIA, ADRIENNE M.              ADDRESS ON FILE
GARCIA, ADRIENNE M.              ADDRESS ON FILE
GARCIA, ALBERTO                  ADDRESS ON FILE
GARCIA, AMARILIS DEL C           ADDRESS ON FILE
GARCIA, ANASTACIA                ADDRESS ON FILE
GARCIA, ANDREA                   ADDRESS ON FILE
GARCIA, ANDRES                   ADDRESS ON FILE
GARCIA, ANDRES R.                ADDRESS ON FILE
GARCIA, ANGEL                    ADDRESS ON FILE
GARCIA, ANGEL                    ADDRESS ON FILE
GARCIA, ANGEL G.                 ADDRESS ON FILE
GARCIA, APONTE & QUINONES, LLC   PO BOX 9295                                                                      SAN JUA      PR      00908
GARCIA, CARLOS M.                ADDRESS ON FILE
GARCIA, CARMEN                   ADDRESS ON FILE
GARCIA, CARMEN R                 ADDRESS ON FILE
GARCIA, CASIANO                  ADDRESS ON FILE
GARCIA, DIOMEDES                 ADDRESS ON FILE
GARCIA, EDUARDO A.               ADDRESS ON FILE
GARCIA, EDWIN                    ADDRESS ON FILE
GARCIA, EMILIANO                 ADDRESS ON FILE
GARCIA, FLORENTINA               ADDRESS ON FILE
GARCIA, FRANK J.                 ADDRESS ON FILE
GARCIA, GLORIMAR                 ADDRESS ON FILE
GARCIA, GREGORIO A               ADDRESS ON FILE
GARCIA, GUSTAVO                  ADDRESS ON FILE
GARCIA, HECTOR                   ADDRESS ON FILE
GARCIA, HECTOR A.                ADDRESS ON FILE
GARCIA, IRMA I.                  ADDRESS ON FILE
GARCIA, JAIMEE                   ADDRESS ON FILE
GARCIA, JESUS R.                 ADDRESS ON FILE
GARCIA, JORGE LUIS               ADDRESS ON FILE
GARCIA, JOSE                     ADDRESS ON FILE
GARCIA, JOSE DANIEL              ADDRESS ON FILE
GARCIA, JOSE J.                  ADDRESS ON FILE
GARCIA, JUAN                     ADDRESS ON FILE
GARCIA, JULIA                    ADDRESS ON FILE
GARCIA, KARLA                    ADDRESS ON FILE
GARCIA, LEWIS A                  ADDRESS ON FILE
GARCIA, LIZBETH                  ADDRESS ON FILE
GARCIA, MARALIZ                  ADDRESS ON FILE
GARCIA, MARGARITA                ADDRESS ON FILE
GARCIA, MARGARITA                ADDRESS ON FILE
GARCIA, MARIA DEL C              ADDRESS ON FILE
GARCIA, MARISOL                  ADDRESS ON FILE
GARCIA, MARVIN                   ADDRESS ON FILE
GARCIA, MATILDE                  ADDRESS ON FILE
GARCIA, MAYRA                    ADDRESS ON FILE
GARCIA, MELISSA                  ADDRESS ON FILE
GARCIA, MILAGROS                 ADDRESS ON FILE
GARCIA, MILISSA                  ADDRESS ON FILE
GARCIA, NICOLE                   ADDRESS ON FILE
GARCIA, NIRSA S                  ADDRESS ON FILE
GARCIA, OSVALDO L.               ADDRESS ON FILE




                                                                             Page 3162 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3163 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                       Address1                                Address2                             Address3   Address4   City              State   PostalCode   Country
GARCIA, PEDRO M.                    ADDRESS ON FILE
GARCIA, PRICILLA                    ADDRESS ON FILE
GARCIA, QUINONES Y ASOCIADOS INC    PMB 191 PO BOX 2500                                                                                TRUJILLO ALTO     PR      00977
GARCIA, QUINONES Y ASOCIADOS INC    PO BOX 1924                                                                                        TRUJILLO ALTO     PR      00977‐1924
GARCIA, QUINONES Y ASOCIADOS INC    PO BOX 4171                                                                                        TRUJILLO ALTO     PR      00976
GARCIA, QUINONES Y ASOCIADOS INC    Y BANCO DE DESARROLLO ECONOMICA DE PUER PO BOX 2134                                                SAN JUAN          PR      00922‐2134
GARCIA, QUINONES Y ASOCIADOS INC    Y BANCO DE DESARROLLO ECONOMICO PARA PUPO BOX 2134                                                 SAN JUAN          PR      00922‐2134
GARCIA, RAFAEL                      ADDRESS ON FILE
GARCIA, RAUL M                      ADDRESS ON FILE
GARCIA, REMY                        ADDRESS ON FILE
GARCIA, RUTH                        ADDRESS ON FILE
GARCIA, SANTIAGO                    ADDRESS ON FILE
GARCIA, SIGFRIDO                    ADDRESS ON FILE
GARCIA, VICTOR A.                   ADDRESS ON FILE
GARCIA, VICTOR D.                   ADDRESS ON FILE
GARCIA, VILMARIE                    ADDRESS ON FILE
GARCIA, VIVIANA                     ADDRESS ON FILE
GARCIA, YADIRA                      ADDRESS ON FILE
GARCIA,AGUSTIN                      ADDRESS ON FILE
GARCIA,ALBERTO                      ADDRESS ON FILE
GARCIA,ALFREDO                      ADDRESS ON FILE
GARCIA,ISRAEL                       ADDRESS ON FILE
GARCIA,MARIANA                      ADDRESS ON FILE
GARCIA,RAMON                        ADDRESS ON FILE
GARCIA,VICENTE                      ADDRESS ON FILE
GARCIAALEJANDRO, ZORAIDA            ADDRESS ON FILE
GARCIA‐ANDRADE LOPEZ, ANTONIO L     ADDRESS ON FILE
Garcia‐Beltran, Ana                 ADDRESS ON FILE
GARCIABURGOS, JOSE R                ADDRESS ON FILE
GARCIACOTTO, ISIDRO                 ADDRESS ON FILE
GARCIADELGADO, IRIS M               ADDRESS ON FILE
GARCIAFERNANDEZ, HEYDA E.           ADDRESS ON FILE
García‐Figueroa, Lynette            ADDRESS ON FILE
GARCIAFLORES, PETRA                 ADDRESS ON FILE
GARCIAMARTINEZ, SIXTO               ADDRESS ON FILE
GARCIA‐MAYOR RODES, JOSE L          ADDRESS ON FILE
GARCIAMENDEZ BUDAR, CARLOS          ADDRESS ON FILE
GARCIAMORALES, LUIS                 ADDRESS ON FILE
GARCIAOROZCO, ELENA M.              ADDRESS ON FILE
GARCIA‐PRADO & ASOCIADOS PSC        PO BOX 458                                                                                         YABUCOA           PR      00767‐0458
GARCIA‐QUINONES Y ASOCIADOS, INC.   PO BOX 1924                                                                                        TRUJILLO ALTO     PR      00977‐1924
GARCIARIVAS, AIDA M                 ADDRESS ON FILE
GARCIARIVERA, MYRNA                 ADDRESS ON FILE
GARCIA'S ELECTRIC                   1065 Las Palmas                                                                                    San Juan          PR      00907
GARCIA'S ELECTRIC                   PO BOX 13908                            1065 AVE LAS PALMAS                                        SAN JUAN          PR      00907
GARCIA'S ELECTRIC                   SANTURCE STATION                        PO BOX 13908                                               SAN JUAN          PR      00908‐3908
Garcias Garcias, Dennis             ADDRESS ON FILE
GARCIAS ORTIZ, FRANCES              ADDRESS ON FILE
GARCIAS QUILES, HERIBERTO           ADDRESS ON FILE
Garcias Reyes, Benjamin             ADDRESS ON FILE
GARCIAS RIVERA, NORMA               ADDRESS ON FILE
GARCIA'S TRANSPORTATION INC         HC 02 BOX 3799                                                                                     PENUELAS          PR      00624
GARCIA‐SOSA, LLC                    PO BOX 193009                                                                                      SAN JUAN          PR      00919
GARCIASOTO, MARCOS A                ADDRESS ON FILE
GARCINOX CORP                       RR 6 BOX 9213                                                                                      SAN JUAN          PR      00926‐9400
GARDAN DEVELOPMENT CORP             URB BELISA                              10 CALLE DETROIT                                           SAN JUAN          PR      00926
GARDANA CORDERO, NADIA              ADDRESS ON FILE
GARDANA CORDERO, NADIA              ADDRESS ON FILE
GARDANA REYES, LUZ E                ADDRESS ON FILE
GARDEN BEAUTY INC                   PO BOX 3358                                                                                        MANATI            PR      00674




                                                                                                  Page 3163 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3164 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                            Address1                              Address2                                  Address3   Address4   City              State   PostalCode   Country
GARDEN GOODS SALES INC                   P.O. BOX 29453                                                                                        SAN JUAN          PR      00929‐0453
GARDEN HILL FLOWERS                      PO BOX 10143                                                                                          SAN JUAN          PR      00922
GARDEN MAX & POWER EQUIPMENT             PO BOX 948                                                                                            GUAYNABO          PR      00970‐0948
GARDENMAR INC                            URB MONTE CLARO                       MN34 PLAZA 30                                                   BAYAMON           PR      00961‐4771
GARDENS OF DAISYS COMMUNITY HOME, INC.   HC 02 BOX 12519                                                                                       AGUA S BUENAS     PR      00703
GARDESLEN ALGARIN, RALPH E               ADDRESS ON FILE
GARDESLEN LESPIER, JOYCE                 ADDRESS ON FILE
GARDINER MD, JOSEPH                      ADDRESS ON FILE
GARDINER MD, WALTER                      ADDRESS ON FILE
GARDNER MD, TIMOTHY                      ADDRESS ON FILE
GARDON RIVERA, ARLENE M                  ADDRESS ON FILE
GARDY L ORONA CORTES                     ADDRESS ON FILE
GARGIA RODRIGUEZ, PAULETTE               ADDRESS ON FILE
GARIB BAZAIN, ABILIA ESPERANZA           ADDRESS ON FILE
GARIB DIAZ, WILMA                        ADDRESS ON FILE
GARIB GARCIA MD, MAGALY                  ADDRESS ON FILE
GARIB GURREA, GEORGE                     ADDRESS ON FILE
GARICA CAMPOS, JOSE                      ADDRESS ON FILE
GARIN STRATEGIC RESEARCH GROUP LLC/DBA   PETER D HART RESEARCH ASSOCIATES IN   1724 CONNECTICUT AVENUE NW                                      WASHINGTON        DC      20009
GARIS ALPIZAR, ONIX C.                   ADDRESS ON FILE
GARITO FILMS LLC                         URB MONTE ALVERNIA                    2 CALLE SAN GABRIEL                                             GUAYNABO          PR      00969
GARITY, JENNIFER L.                      ADDRESS ON FILE
GARLAND CANSOBRE, MILTON                 ADDRESS ON FILE
GARLAND CANSOBRE, ROBIN G.               ADDRESS ON FILE
GARLAND GREGORY, NILDA                   ADDRESS ON FILE
GARLAND NEUROLOGICAL CLINIC              315 N SHILOH RD STE 103                                                                               GARLAND           TX      75042‐0000
GARLAND PEREZ, DIANNE                    ADDRESS ON FILE
GARLAND SOLA, MILTON                     ADDRESS ON FILE
GARLAND VAZQUEZ, ERICKA                  ADDRESS ON FILE
GARLAND VAZQUEZ, MARTHA                  ADDRESS ON FILE
GARLAND VAZQUEZ, MARTHA                  ADDRESS ON FILE
GARLAV CONSTRUCTION                      P O BOX 849                                                                                           BARRANQUITAS      PR      00794
GARLET, RONALD                           ADDRESS ON FILE
GARLIN PICTURES                          3711 GLENRIDGE DR                                                                                     SHERMAN OAKS      CA      91423‐4640
GARMENDIA RODRIGUEZ, JOSE                ADDRESS ON FILE
GARMON RODRIGUEZ, JAVIER                 ADDRESS ON FILE
GARMON RODRIGUEZ, JOSUE                  ADDRESS ON FILE
GARMOS RODRIGUEZ, CHERYL                 ADDRESS ON FILE
GARMOS RODRIGUEZ, MICHELLE M             ADDRESS ON FILE
GARNEAU, NATHAN M                        ADDRESS ON FILE
GARNET FOJO, AARÓN L.                    LCDO. ROGER A. LEYBA RODRIGUEZ        PO BOX 873                                                      HORMIQUEROS       PR      00660‐0873
GARNET FOJO, AARÓN L.                    LIC. NORBERTO COLON ALVARADO          46 CALLE CASTILLO                                               PONCE             PR      00731
Garnett Fojo, Aaron I                    ADDRESS ON FILE
Garnett Fojo, Louis J                    ADDRESS ON FILE
Garnett Reyes, Louis James               ADDRESS ON FILE
GARNETT TORRES, CLAUDEE                  ADDRESS ON FILE
GARNICA LOPEZ, MARIA T.                  ADDRESS ON FILE
GARNIER ARROYO, DENISE                   ADDRESS ON FILE
GARNIER DE CALDERON, EVA A               ADDRESS ON FILE
GARNIER RODRIGUEZ, MARIA L               ADDRESS ON FILE
GARNIER TALAVERA, ELBA                   ADDRESS ON FILE
GARO FELIZ, FRANNY                       ADDRESS ON FILE
GARO, BARTOLO                            ADDRESS ON FILE
GAROFALO CABRERA, REBECCA                ADDRESS ON FILE
GAROFALO GAROFALO, EDGARDO               ADDRESS ON FILE
GAROFALO ORTIZ, LILLIAM                  ADDRESS ON FILE
GAROFALO RIVERA, MARIA M                 ADDRESS ON FILE
GAROVIGROUP CORP                         URB LOS PRADOS NORTE                  47 CALLE AGATA                                                  DORADO            PR      00646
GARRAFA ANTONETTI, LEIXA J               ADDRESS ON FILE
GARRAFA ECHEVARRIA, SALLY E.             ADDRESS ON FILE




                                                                                                        Page 3164 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3165 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                           Address1                            Address2                             Address3             Address4   City         State   PostalCode   Country
GARRAFA HERNANDEZ, SALLY                ADDRESS ON FILE
Garrafa Lebron, Jose E.                 ADDRESS ON FILE
Garrafa Lebron, Jose N                  ADDRESS ON FILE
GARRAFA RIVERA, JOSE J                  ADDRESS ON FILE
GARRAFA RODRIGUEZ, CARMEN M             ADDRESS ON FILE
GARRAFA RODRIGUEZ, ELIZABETH            ADDRESS ON FILE
GARRAFA SOLIS, NORMA L                  ADDRESS ON FILE
GARRAHAN FORTEZA, RICHARD               ADDRESS ON FILE
GARRASTAGU SANTIAGO, JEANETTE           ADDRESS ON FILE
GARRASTAZU CARABALLO, ARALCY            ADDRESS ON FILE
GARRASTAZU JIMENEZ, GILDA E.            ADDRESS ON FILE
GARRASTAZU MATTEI, ALEJANDRO            ADDRESS ON FILE
GARRASTAZU OLIVERAS, JANICE             ADDRESS ON FILE
GARRASTAZU SANCHEZ, RAMON               ADDRESS ON FILE
GARRASTEGUI BIGAS, JUAN                 ADDRESS ON FILE
GARRASTEGUI DELGADO, CARLOS             ADDRESS ON FILE
Garrastegui Figueroa, Ariel             ADDRESS ON FILE
GARRASTEGUI GONZALEZ, ZAMAIRY S         ADDRESS ON FILE
Garrastegui Hernandez, Emedin           ADDRESS ON FILE
GARRASTEGUI MALDONADO, EILEEN           ADDRESS ON FILE
GARRASTEGUI MALDONADO, SHEILA           ADDRESS ON FILE
GARRASTEGUI MARTINEZ, CYNTHIA M         ADDRESS ON FILE
GARRASTEGUI MARTINEZ, RAFAEL            ADDRESS ON FILE
GARRASTEGUI OCASIO, MARITZA             ADDRESS ON FILE
GARRASTEGUI OCASIO, YOLANDA             ADDRESS ON FILE
GARRASTEGUI PACHECO, NORMA I            ADDRESS ON FILE
GARRASTEGUI RIVERA, ESTHER M            ADDRESS ON FILE
GARRASTEGUI ZAMBRANA, WANDA Z           ADDRESS ON FILE
GARRATON PEREZ, GERARDO                 ADDRESS ON FILE
GARRETT L VEGA VALENTIN                 ADDRESS ON FILE
GARRIDO & COMPANIA INC                  PO BOX 363207                                                                                            SAN JUAN     PR      00936‐3207
GARRIDO & COMPANIA, INC DBA AROMA COFFFEP.O. BOX 363207                                                                                          SAN JUAN     PR      00936‐3207
GARRIDO AMADEO, MARIA TERESA            ADDRESS ON FILE
GARRIDO CAMINERO, GISSEL                ADDRESS ON FILE
GARRIDO CARVAJAL, CARMEN                ADDRESS ON FILE
GARRIDO CARVAJAL, CARMEN                ADDRESS ON FILE
GARRIDO CHING, JORGE                    ADDRESS ON FILE
GARRIDO DAVILA, JOSE C                  ADDRESS ON FILE
GARRIDO DIAZ, JOSU                      ADDRESS ON FILE
GARRIDO DIAZ, JOSU                      ADDRESS ON FILE
GARRIDO HERNANDEZ, SOR                  ADDRESS ON FILE
GARRIDO JIMENEZ, FREDDY                 ADDRESS ON FILE
GARRIDO MANCINI, ANITA                  ADDRESS ON FILE
GARRIDO MORENO, JOSE                    ADDRESS ON FILE
GARRIDO PUMARES, FANNY                  ADDRESS ON FILE
GARRIDO RIVERA, MARISOL                 ADDRESS ON FILE
GARRIDO SANTANA, ROSALBA                ADDRESS ON FILE
GARRIDO VILLAFANE, ANNIELIZ             ADDRESS ON FILE
GARRIDO Y COMPAÐIA INC                  EDIF ORBIT KITCHEN                  SECT IND EL CINCO                    1537 PONCE DE LEON              SAN JUAN     PR      00926‐0000
GARRIDO Y COMPAÐIA INC                  P O BOX 9394                                                                                             SAN JUAN     PR      00908‐0000
GARRIDO Y COMPAÐIA INC                  PO BOX 71                                                                                                CAGUAS       PR      00726‐0071
GARRIDO Y COMPAÐIA INC                  PO BOX 9493                                                                                              SAN JUAN     PR      00908‐0000
GARRIDO Y COMPANIA INC                  EDIF ORBIT KITCHEN                  SECT IND EL CINCO                    1537 PONCE DE LEON              SAN JUAN     PR      00926
GARRIDO Y COMPANIA INC                  EXECUTIVE COFFE BREAK AROMA COFFE   BREAK P O BOX 70220                                                  SAN JUAN     PR      00936‐8220
GARRIDO Y COMPANIA INC                  P O BOX 9394                                                                                             SAN JUAN     PR      00908
GARRIDO Y COMPANIA INC                  PO BOX 70220                                                                                             SAN JUAN     PR      00936‐8220
GARRIDO Y COMPANIA INC                  PO BOX 71                                                                                                CAGUAS       PR      00726‐0071
GARRIDO Y COMPANIA INC                  PO BOX 9493                                                                                              SAN JUAN     PR      00908
GARRIGA & MARINI PSC                    PO BOX 16593                                                                                             SAN JUAN     PR      00908‐6593
Garriga Banks, Hilario                  ADDRESS ON FILE




                                                                                                  Page 3165 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3166 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                    Address1                         Address2                                   Address3   Address4   City              State   PostalCode   Country
GARRIGA BARBOSA, LAURIE          ADDRESS ON FILE
GARRIGA BLANCO, RAUL             ADDRESS ON FILE
GARRIGA CABALLERO, DIEGO         ADDRESS ON FILE
GARRIGA CASIANO, SANDRA          ADDRESS ON FILE
GARRIGA CASIANO, XIOMARA         ADDRESS ON FILE
GARRIGA DE JESUS, JOSE A         ADDRESS ON FILE
Garriga De Jesus, Yahaira        ADDRESS ON FILE
GARRIGA FELICIANO, PETRA M       ADDRESS ON FILE
GARRIGA FIGUEROA, CARMEN         ADDRESS ON FILE
GARRIGA FRANCO, EDWIN A.         ADDRESS ON FILE
GARRIGA GALARZA, RAUL            ADDRESS ON FILE
Garriga Gonzalez, Marilin        ADDRESS ON FILE
GARRIGA GONZALEZ, WILFREDO       ADDRESS ON FILE
GARRIGA HERNANDEZ, SONYA         ADDRESS ON FILE
GARRIGA INDUSTRIAL INC.          PMB 261 220 WESTERN AUTO PLAZA   SUITE 101                                                        TRUJILLO ALTO     PR      00976‐3607
GARRIGA INDUSTRIAL, INC.         PMB 261 220                      WESTERN AUTO PLAZA                                               TRUJILLO ALTO     PR      00976
GARRIGA JUSINO, LUIS R.          ADDRESS ON FILE
GARRIGA LARRIU, ALEJANDRO LUIS   ADDRESS ON FILE
GARRIGA MARTINEZ, JULIO          ADDRESS ON FILE
Garriga Matos, Hector L          ADDRESS ON FILE
GARRIGA MORA, NILDA              ADDRESS ON FILE
GARRIGA NUNEZ, MONSERRATE        ADDRESS ON FILE
GARRIGA ORTIZ, CARMEN D          ADDRESS ON FILE
GARRIGA ORTIZ, GINAIXA           ADDRESS ON FILE
GARRIGA ORTIZ, LISSETTE          ADDRESS ON FILE
GARRIGA ORTIZ, LISSETTE          ADDRESS ON FILE
GARRIGA ORTIZ, RAMON             ADDRESS ON FILE
GARRIGA OTERO, RODOLFO           ADDRESS ON FILE
GARRIGA PAPER                    P.O. BOX 364862                                                                                   SAN JUAN          PR      00936‐4862
Garriga Perez, Luis              ADDRESS ON FILE
GARRIGA PICO, INGRID             ADDRESS ON FILE
GARRIGA PICO, JOSE               ADDRESS ON FILE
GARRIGA RIVERA, CARMEN G         ADDRESS ON FILE
Garriga Rivera, Elsie Esther     ADDRESS ON FILE
GARRIGA RIVERA, WILMA            ADDRESS ON FILE
GARRIGA RODRIGUEZ, FERDINAND     ADDRESS ON FILE
GARRIGA ROSARIO, MIGDALIA        ADDRESS ON FILE
GARRIGA SALES                    AREA DEL TESORO                  DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
GARRIGA SALES                    PLAZA INMACULADA II              SUITE 508                                                        SAN JUAN          PR      00908
GARRIGA SALES                    PLAZA INMACULADA II              1717 AVE PONCE DE LEON SUITE 508                                 SAN JUAN          PR      00909‐1932
GARRIGA SALES CORP               1717 AVE PONCE DE LEON           COND PLAZA INMACULADA II                                         SANTURCE          PR      00909‐1932
GARRIGA TORRES, MARIA DEL R.     ADDRESS ON FILE
GARRIGA TRADING CO INC           ADDRESS ON FILE
GARRIGA VAZQUEZ, ENID            ADDRESS ON FILE
GARRIGA VIDAL, LYDIMAR           ADDRESS ON FILE
GARRIGUES COLOMBIA SAS           ADDRESS ON FILE
GARRY M JONES MARTINEZ           ADDRESS ON FILE
GARRY TORRES MATOS               ADDRESS ON FILE
GARVEY BATALLA, DEBORAH T        ADDRESS ON FILE
GARVEY J MALDONADO GIL           ADDRESS ON FILE
GARY A HIDALGO BODRE             ADDRESS ON FILE
GARY BONILLA RIVERA              ADDRESS ON FILE
GARY D BELL BRADFORD             ADDRESS ON FILE
GARY DECLET TORRES               ADDRESS ON FILE
GARY E MORALES GERALDINO         ADDRESS ON FILE
GARY E. MORALES GERALDINO        ADDRESS ON FILE
GARY G. ARBELO GONZALEZ          ADDRESS ON FILE
GARY I CARABALLO RODRIGUEZ       ADDRESS ON FILE
GARY MONTALVO PETOVICH           ADDRESS ON FILE
GARY NAZARIO RODRIGUEZ           ADDRESS ON FILE




                                                                                              Page 3166 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3167 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                         Address1                   Address2                            Address3   Address4   City          State   PostalCode   Country
GARY P KOERNER                        ADDRESS ON FILE
GARY RODRIGUEZ                        ADDRESS ON FILE
Gary S. Vazquez Davila                ADDRESS ON FILE
GARY W. EHLERT BIRRIEL                ADDRESS ON FILE
GARYMAR DE RIVERA RIVERA              ADDRESS ON FILE
GAS AUTO PART, INC                    PO BOX 30000 PMB 550                                                                 CANOVANAS     PR      00729
GAS ESCALERA                          ADDRESS ON FILE
GAS WELDING STORE CORP                JARDINES DE COUNTRY CLUB   785 AVE CAMPO RICO                                        SAN JUAN      PR      00710‐7404
GASB                                  PO BOX 5116                401 MEERIT                                                NORWALK       CT      0068565116
GASCOM & GUAYNABO AUTO                PO BOX 896                                                                           GUAYNABO      PR      00970
GASCOM & GUAYNABO AUTO SOUND          PO BOX 896                                                                           GUAYNABO      PR      00970
GASCOM & GUAYNABO AUTO SOUND , INC.   P. O. BOX 896                                                                        GUAYNABO      PR      00970‐0000
GASCON OCASIO, ANGEL LUIS             ADDRESS ON FILE
GASCON VILLARD, EDGARDO               ADDRESS ON FILE
GASCOT ALEMAN, GABRIELA               ADDRESS ON FILE
GASCOT APONTE, YOLANDA                ADDRESS ON FILE
GASCOT ARROYO, WILLIAM                ADDRESS ON FILE
GASCOT AYALA, EDNA B                  ADDRESS ON FILE
GASCOT AYALA, MARIA E                 ADDRESS ON FILE
GASCOT BARROSO, LUIS                  ADDRESS ON FILE
GASCOT CABRERA, YOLANDA               ADDRESS ON FILE
GASCOT CHINEA, SORANGELY              ADDRESS ON FILE
GASCOT COLLAZO, NAYRA                 ADDRESS ON FILE
GASCOT CORREA, ROLANDRES              ADDRESS ON FILE
GASCOT CRUZ, ARELIS L.                ADDRESS ON FILE
GASCOT CRUZ, GLORISEL                 ADDRESS ON FILE
GASCOT CUADRADO, ARACELIS             ADDRESS ON FILE
GASCOT DE JESUS, REY                  ADDRESS ON FILE
GASCOT GONZALEZ, ENRIQUE              ADDRESS ON FILE
GASCOT HERNANDEZ, BAYRAM              ADDRESS ON FILE
GASCOT HERNANDEZ, BENJAMIN            ADDRESS ON FILE
GASCOT LOPEZ, VICTOR A                ADDRESS ON FILE
GASCOT LOZADA, ILEANED                ADDRESS ON FILE
Gascot Lozada, Wanda I                ADDRESS ON FILE
Gascot Maldonado, Juan A              ADDRESS ON FILE
GASCOT MARQUEZ, LUIS R                ADDRESS ON FILE
GASCOT MARQUEZ, YANIRA M              ADDRESS ON FILE
GASCOT MARRERO, EFRAIN                ADDRESS ON FILE
GASCOT MEDINA, ANGELITA               ADDRESS ON FILE
GASCOT MEDINA, ANGELITA               ADDRESS ON FILE
GASCOT MORENO, MARICIELO              ADDRESS ON FILE
GASCOT NARVAEZ, ROSARIO               ADDRESS ON FILE
GASCOT NIEVES, LIZ                    ADDRESS ON FILE
GASCOT NORMANDIA, JOSE                ADDRESS ON FILE
GASCOT ORTIZ, HILDA A                 ADDRESS ON FILE
GASCOT ORTIZ, MARGIE                  ADDRESS ON FILE
GASCOT RAMOS, RAFAEL                  ADDRESS ON FILE
Gascot Reyes, Giovanni                ADDRESS ON FILE
GASCOT REYES, LISAMARIE               ADDRESS ON FILE
GASCOT RODRIGUEZ, JOSUE               ADDRESS ON FILE
GASCOT RODRIGUEZ, VICTOR M            ADDRESS ON FILE
GASCOT ROMAN, DILAIDA                 ADDRESS ON FILE
GASCOT ROSADO, DORIS E                ADDRESS ON FILE
GASCOT ROSADO, FRANCISCO              ADDRESS ON FILE
Gascot Rosado, Jose J                 ADDRESS ON FILE
GASCOT SAEZ, MARIA                    ADDRESS ON FILE
GASCOT SAEZ, MARIA B.                 ADDRESS ON FILE
GASCOT SANTIAGO, YETZENIA             ADDRESS ON FILE
GASCOT SIERRA, GLORIA E               ADDRESS ON FILE
GASCOT TORRES, KARLA M                ADDRESS ON FILE




                                                                                      Page 3167 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3168 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                       Address1                  Address2                             Address3   Address4   City           State   PostalCode   Country
GASCOT VELAZQUEZ, SOL               ADDRESS ON FILE
GASIROWSKI, BEN                     ADDRESS ON FILE
Gaskin Amador, Yahaira E.           ADDRESS ON FILE
GASKINS ROSADO, JORGE               ADDRESS ON FILE
GASOLINERA TEXACO DEL ESTE INC      HC 1 BOX 4912                                                                        NAGUABO        PR      00718
GASPAR APONTE RIVERA                ADDRESS ON FILE
GASPAR CANTRES OCASIO               ADDRESS ON FILE
GASPAR CODESAL GUZMAN               ADDRESS ON FILE
GASPAR COLON RIVERA                 ADDRESS ON FILE
GASPAR LUGO, IDALIZ                 ADDRESS ON FILE
GASPAR MARRERO HERNANDEZ            ADDRESS ON FILE
GASPAR MARRERO NEGRON               ADDRESS ON FILE
GASPAR MORENO DIAZ                  ADDRESS ON FILE
GASPAR MUNIZ VILLALBA               ADDRESS ON FILE
GASPAR PABON NEGRON                 ADDRESS ON FILE
GASPAR PELLICIER BAHAMUNDI          ADDRESS ON FILE
GASPAR PONS CINTRON                 ADDRESS ON FILE
GASPAR REYES VIRUET                 ADDRESS ON FILE
GASPAR SANTIAGO RODRIGUEZ           ADDRESS ON FILE
GASPAR SANTIAGO SOTO                ADDRESS ON FILE
GASPAR SOTO ROMAN                   ADDRESS ON FILE
GASPAR TORO SANTIAGO                ADDRESS ON FILE
GASPAR VELAZQUEZ BABILONIA          ADDRESS ON FILE
GASPAR VERA / MYRNA M GONZALEZ      URB VILLA ESPANA          A3 CALLE DE LA VERA                                        BAYAMON        PR      00961
GASPARD AND SONS MAYAGUEZ INC       PO BOX 1432                                                                          HORMIGUERO     PR      00660‐1432
GASPAROLI MUNIZ, MARISSA            ADDRESS ON FILE
Gasrico Corporation                 Ave Juan Rosado #113                                                                 Arecibo        PR      00613‐4816
GASTALITURRI NEGRON, ELFRIDA        ADDRESS ON FILE
GASTALITURRI TORRES, LEIDA          ADDRESS ON FILE
GASTALITURRI TORRES, LEIDA          ADDRESS ON FILE
GASTALITURRIS COLL, MARI N          ADDRESS ON FILE
GASTALITURRIS COLL, NIVEN           ADDRESS ON FILE
GASTALITURRIS SOTOMAYOR, NIVEN X.   ADDRESS ON FILE
GASTON ABRANTE, ETHEL               ADDRESS ON FILE
GASTON ABRANTE, MADELINE            ADDRESS ON FILE
GASTON ALICEA, BHEYMARIE            ADDRESS ON FILE
GASTON BOURDON, NELSON M            ADDRESS ON FILE
GASTON BURGOS, LUIS                 ADDRESS ON FILE
GASTON BURGOS, LUIS A.              ADDRESS ON FILE
GASTON CAPOTE                       ADDRESS ON FILE
GASTON COLON, MILAGROS              ADDRESS ON FILE
GASTON DELGADO, VICTOR              ADDRESS ON FILE
GASTON DEOGRACIA, MARIA DEL C.      ADDRESS ON FILE
GASTON E NOGALES ESFAKIS            ADDRESS ON FILE
GASTON GARCIA, AIDA J               ADDRESS ON FILE
GASTON GARCIA, CARLOS A.            ADDRESS ON FILE
GASTON GONZALEZ, LIZBETH            ADDRESS ON FILE
GASTON GUTIERREZ, ANNA M            ADDRESS ON FILE
GASTON MARTINEZ, LUCIEN A           ADDRESS ON FILE
GASTON MELETICHE, RAMON             ADDRESS ON FILE
GASTON MONSANTO, JUAN               ADDRESS ON FILE
GASTON MORALES, MINERVA E           ADDRESS ON FILE
GASTON ORTIZ, ROSA E                ADDRESS ON FILE
GASTON ORZA, BLANCA IRIS            ADDRESS ON FILE
GASTON PASCUALLI, GLORY             ADDRESS ON FILE
GASTON POLANCO, TERESA M            ADDRESS ON FILE
GASTON REYES, KAREN                 ADDRESS ON FILE
GASTON RIVERA, JOSE                 ADDRESS ON FILE
Gaston Rivera, Jose Angel           ADDRESS ON FILE
GASTON RIVERA, JOSE M               ADDRESS ON FILE




                                                                                    Page 3168 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                           Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3169 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                           Address1                       Address2                                     Address3   Address4   City               State   PostalCode   Country
Gaston Rivera, Jose O.                  ADDRESS ON FILE
GASTON RIVERA, MARIA M                  ADDRESS ON FILE
GASTON RODRIGUEZ, CARLOS                ADDRESS ON FILE
GASTON RODRIGUEZ, ROBERTO               ADDRESS ON FILE
GASTON ROSARIO, JULIO                   ADDRESS ON FILE
GASTON SANTANA, WANDA                   ADDRESS ON FILE
GASTON TORRES, JUAN                     ADDRESS ON FILE
GASTON VELAZQUEZ, STEVE                 ADDRESS ON FILE
GASTON VERDEJO, JULIO                   ADDRESS ON FILE
GASTRO 2000                             COND TORRE DEL AUXILIO MUTUO   735 AVE PONCE DE LEON STE 809                                      SAN JUAN           PR      00917‐5031
GASTRO MED C S P                        PO BOX 411                                                                                        ARECIBO            PR      00613‐0411
GASTROCORP ASSOC PSC                    PO BOX 8008                                                                                       CAGUAS             PR      00726
GASTROENTEROLOGIA AVANZADO DEL CARIBE C PO BOX 3146                                                                                       MAYAGUEZ           PR      00681
GASTROENTEROLOGY ASSOCIATES OF OSCEOLA 710 OAK COMMONS BLVD                                                                               KISSIMMEE          FL      34741
GASTROENTEROLOGY INTESTINAL PHYSICIANS 55 HIGHLAND AVE STE 304                                                                            SALEM              MA      01970‐2100
GASTROENTEROLOGY THERAPEUTIC ENDOS COPYASHFORD MEDICAL CTR             29 CALLE WASHINGTON STE 202                                        SAN JUAN           PR      00907
GASTROENTEROLOGY THRAPEUTIC ENDOS COPY ADDRESS ON FILE
GASTRONOMIA MEJICANA, LLC DBA 5 DE MAYO CARR 693 ESQ JOSE EFRM         LOCAL 6                                                            DORADO             PR      00693
GATA GARCIA, GABRIEL A.                 ADDRESS ON FILE
GATE WAY 2000                           PO BOX 2000                    610 GATEWAY AVE                                                    NORT SOUS CITY     SD      0557049
GATELL GONZALEZ, MELBA I                ADDRESS ON FILE
GATELL PARDO, ENELIA                    ADDRESS ON FILE
GATEWAY COMPANIES INC.                  PO BOX 8255                                                                                       DES MOINES         IA      50301
GATEWAY SECURITY SOLUCTIONS , INC.      DRIVE IN PLAZA MSC # 106                                                                          BAYAMON            PR      00959‐0000
GATEWAY SECURITY SOLUTIONS INC          106 DRIVE IN PLAZA MSC                                                                            BAYAMON            PR      00959
GATORS ACADEMY BASEBALL CLUB INC        PO BOX 1327                                                                                       TRUJILLO ALTO      PR      00977
GATTORNO EXPOSITO, RAFAEL               ADDRESS ON FILE
GATTORNO IRIZARRY, MARIA                ADDRESS ON FILE
GATTORNO JIRAU, FERNANDO                ADDRESS ON FILE
GAUD ALMODOVAR, EVELYN                  ADDRESS ON FILE
GAUD AVILES, NICOLE                     ADDRESS ON FILE
Gaud Bisbal, Patria                     ADDRESS ON FILE
GAUD BURGOS, EDWIN G.                   ADDRESS ON FILE
GAUD CABRERA, VICTOR                    ADDRESS ON FILE
GAUD CARO, DENISE                       ADDRESS ON FILE
Gaud Caro, Kenneth                      ADDRESS ON FILE
GAUD COLON, JOSE A                      ADDRESS ON FILE
Gaud Colon, Perfecto                    ADDRESS ON FILE
GAUD CORTES, KATHERINE                  ADDRESS ON FILE
GAUD CUEVAS, PASCUAL                    ADDRESS ON FILE
GAUD ESTEVES, RAUL                      ADDRESS ON FILE
GAUD FIGUEROA, BRENDA                   ADDRESS ON FILE
GAUD FIGUEROA, ENNIO                    ADDRESS ON FILE
GAUD GONZALEZ, CAMILO                   ADDRESS ON FILE
GAUD LOYOLA, DANIELA                    ADDRESS ON FILE
GAUD LOZADA, CARMEN I                   ADDRESS ON FILE
GAUD LOZADA, CARMEN I                   ADDRESS ON FILE
GAUD MARCANO, CARMEN M                  ADDRESS ON FILE
GAUD MORALES, EXCEN                     ADDRESS ON FILE
GAUD MORALES, IRIS E                    ADDRESS ON FILE
GAUD MOYA, LEONARDO                     ADDRESS ON FILE
GAUD MUNIZ, RAQUEL                      ADDRESS ON FILE
GAUD NEGRON, ZENAIDA                    ADDRESS ON FILE
GAUD PEREZ, SIXTA M                     ADDRESS ON FILE
GAUD RIVERA, CARMEN A.                  ADDRESS ON FILE
GAUD RIVERA, ILEANA                     ADDRESS ON FILE
GAUD RIVERA, RAQUEL                     ADDRESS ON FILE
GAUD RIVERA, SAMUEL                     ADDRESS ON FILE
GAUD RODRIGUEZ, MANUEL                  ADDRESS ON FILE
GAUD RODRIGUEZ, MIGUEL A                ADDRESS ON FILE




                                                                                                     Page 3169 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3170 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                     Address1                                  Address2                                 Address3   Address4   City            State   PostalCode   Country
GAUD RODRIGUEZ, RAFAEL            ADDRESS ON FILE
GAUD SANCHEZ, MERCEDES A          ADDRESS ON FILE
GAUD SANTIAGO, ANDRES L.          ADDRESS ON FILE
GAUD TORRES, GUALBERTO            ADDRESS ON FILE
GAUD VAZQUEZ, CARLOS A.           ADDRESS ON FILE
GAUD VELEZ, ADELAIDA M            ADDRESS ON FILE
Gaud Villarin, Edwin              ADDRESS ON FILE
GAUD, EDDIE                       ADDRESS ON FILE
GAUD, ZENAIDA                     ADDRESS ON FILE
GAUDBISBAL, FRANCISCO A           ADDRESS ON FILE
GAUDIER FERNANDEZ, RUBYMARI       ADDRESS ON FILE
GAUDIER GAUDIER, AUREA            ADDRESS ON FILE
GAUDIER GONZALEZ RODRIGUEZ        ADDRESS ON FILE
GAUDIER LAVERGNE, MARGARITA E     ADDRESS ON FILE
GAUDIER MD , JOSE A               ADDRESS ON FILE
GAUDIER PÉREZ, JONATHAN           AUREA M AVILES GAUDIER                    308 CALLE NEVADA ,SAN GERARDO                                  SAN JUAN        PR      00926
GAUDIER PEREZ, MARTIN             ADDRESS ON FILE
GAUDINO BONILLA, LUIS G           ADDRESS ON FILE
GAUDINO BONILLA, WILFREDO         ADDRESS ON FILE
GAUDINO HERNANDEZ, ANTONIO        ADDRESS ON FILE
GAUDINO MUNOZ, FERNANDO           ADDRESS ON FILE
GAUDIO MD , PAUL A                ADDRESS ON FILE
GAUDY GOMEZ FAJARDO               ADDRESS ON FILE
GAUL CABAN, JAMES                 ADDRESS ON FILE
GAURUL SA                         PO BOX 8892                                                                                              CAROLINA        PR      00988‐8892
GAUSS RESEARCH LABORATORY         ADDRESS ON FILE
GAUSS RESEARCH LABORATORY,INC     UPR‐RP FACUNDO BUESO BUILDING OFFICE FB‐265                                                              RIO PIEDRAS     PR      00931
GAUTHIER ARRIETA, DEBRA           ADDRESS ON FILE
GAUTHIER ARRIETA, WENDY           ADDRESS ON FILE
GAUTHIER ARRIETA, WENDY           ADDRESS ON FILE
GAUTHIER CHAPARRO, EVYMERCY       ADDRESS ON FILE
GAUTHIER CHAPARRO, HALLYMA        ADDRESS ON FILE
GAUTHIER DUMOIS, CELIA D.         ADDRESS ON FILE
GAUTHIER ENCARNACION, LUIS        ADDRESS ON FILE
GAUTHIER FIGUEROA, CARMEN A.      ADDRESS ON FILE
GAUTHIER FIGUEROA, MARIELA        ADDRESS ON FILE
GAUTHIER FIGUEROA, RUCELIS        ADDRESS ON FILE
GAUTHIER PEREZ, OLGA E.           ADDRESS ON FILE
GAUTHIER RIVERA, DORIVEE          ADDRESS ON FILE
GAUTHIER RIVERA, VICTOR           ADDRESS ON FILE
Gauthier Santiago, Deymarie       ADDRESS ON FILE
GAUTHIER SANTIAGO, JOSE           ADDRESS ON FILE
GAUTHIER SANTIAGO, VANESSA        ADDRESS ON FILE
GAUTHIER SANTIAGO, VICTOR F       ADDRESS ON FILE
GAUTHIER SEVILLANO, HAIME MARIE   ADDRESS ON FILE
GAUTHIER VELEZ, MERCEDES          ADDRESS ON FILE
GAUTI TRAVERZO, BRENDA            ADDRESS ON FILE
GAUTIER & GAUTIER ARQUITECTOS     PO BOX 11591                                                                                             SAN JUAN        PR      00910‐2691
GAUTIER & GAUTIER ARQUITECTOS     PO BOX 19357                                                                                             SAN JUAN        PR      00910‐1357
GAUTIER ALEJANDRO, CRISTIAN O     ADDRESS ON FILE
GAUTIER AYALA, LUIS               ADDRESS ON FILE
Gautier Ayala, Luis F             ADDRESS ON FILE
GAUTIER BENITEZ, MARIALMA         ADDRESS ON FILE
GAUTIER BERROCAL, ALEJANDRO       ADDRESS ON FILE
GAUTIER BERROCAL, RICARDO X.      ADDRESS ON FILE
GAUTIER COLOMBANI, ALEJANDRO      ADDRESS ON FILE
GAUTIER COLON, JOSE               ADDRESS ON FILE
GAUTIER COLON, JOSE A.            ADDRESS ON FILE
GAUTIER COLON, NATALIA            ADDRESS ON FILE
GAUTIER CRISPIN, JUAN             ADDRESS ON FILE




                                                                                                      Page 3170 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3171 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GAUTIER DE DELGADO, RIGOBERTA    ADDRESS ON FILE
GAUTIER DIAZ, MYRNA              ADDRESS ON FILE
GAUTIER DIAZ, SULLYMAR           ADDRESS ON FILE
GAUTIER ESCALERA, HERIBERTO      ADDRESS ON FILE
GAUTIER GARCIA, EUNICE           ADDRESS ON FILE
GAUTIER GAUTIER, GLADYS          ADDRESS ON FILE
GAUTIER GONZALEZ, RUBEN          ADDRESS ON FILE
GAUTIER GUZMAN, JOSEPH           ADDRESS ON FILE
GAUTIER HERNANDEZ, YEISLIANN     ADDRESS ON FILE
GAUTIER JUSTINIANO, CARLOS       ADDRESS ON FILE
Gautier Justiniano, Luis E       ADDRESS ON FILE
GAUTIER LAMBERTY, AIDA           ADDRESS ON FILE
GAUTIER LEON, MARIA              ADDRESS ON FILE
GAUTIER LOPEZ, MARISOL           ADDRESS ON FILE
GAUTIER LOPEZ, MARISOL           ADDRESS ON FILE
GAUTIER MALDONADO, MARIA DEL R   ADDRESS ON FILE
GAUTIER MALDONADO, SONIA I       ADDRESS ON FILE
GAUTIER MARRERO, MARYLUZ         ADDRESS ON FILE
GAUTIER MATIAS, GERARDO          ADDRESS ON FILE
GAUTIER MATIAS, VANESSA M        ADDRESS ON FILE
GAUTIER MEDIAVILLA, FRANCES      ADDRESS ON FILE
GAUTIER MEDIAVILLA, KEILA M      ADDRESS ON FILE
GAUTIER MERCADO, LUIS ANTONIO    ADDRESS ON FILE
GAUTIER MILLAN, JUDITH           ADDRESS ON FILE
GAUTIER MORALES, NORIS           ADDRESS ON FILE
GAUTIER MORALES, ROBERT          ADDRESS ON FILE
GAUTIER MORALES, WILLIAM E       ADDRESS ON FILE
GAUTIER NAZARIO, ROSAEL          ADDRESS ON FILE
GAUTIER PERAZA, CARELIS          ADDRESS ON FILE
GAUTIER RAMOS, DIANA             ADDRESS ON FILE
GAUTIER RAMOS, DIANA I.          ADDRESS ON FILE
GAUTIER RAMOS, EVA N             ADDRESS ON FILE
GAUTIER RIOS, ELDA M             ADDRESS ON FILE
GAUTIER RIOS, MARILIA            ADDRESS ON FILE
GAUTIER RIOS, VIRGILIO           ADDRESS ON FILE
Gautier Rivera, Carlos E         ADDRESS ON FILE
GAUTIER RIVERA, JORGE            ADDRESS ON FILE
Gautier Rivera, Luis F.          ADDRESS ON FILE
GAUTIER RODRIGUEZ, ELMER         ADDRESS ON FILE
GAUTIER RODRIGUEZ, IRIS          ADDRESS ON FILE
GAUTIER ROMERO, JOSE A           ADDRESS ON FILE
Gautier Romero, Rafael           ADDRESS ON FILE
GAUTIER ROMERO, RUT              ADDRESS ON FILE
GAUTIER ROMERO, RUTH             ADDRESS ON FILE
GAUTIER ROSARIO, HILDA           ADDRESS ON FILE
Gautier Ruiz, Rafael J.          ADDRESS ON FILE
GAUTIER SANABRIA, LUIS           ADDRESS ON FILE
GAUTIER SANCHEZ, LISA MARIEL     ADDRESS ON FILE
GAUTIER SANTIAGO, YAKARA Y       ADDRESS ON FILE
GAUTIER SOLIS, JOHANNA           ADDRESS ON FILE
GAUTIER TORRES, MYRNA R          ADDRESS ON FILE
GAUTIER VALENTIN, JOSE           ADDRESS ON FILE
GAUTIER VALENTIN, JUAN           ADDRESS ON FILE
GAUTIER VAZQUEZ, MAYLENE         ADDRESS ON FILE
GAUTIER VEGA, NICOLAS            ADDRESS ON FILE
Gautier Velazquez, Hector J.     ADDRESS ON FILE
GAUTIER VIDAL, RICHARD           ADDRESS ON FILE
GAUTIERDIAZ, SHEYMAR             ADDRESS ON FILE
GAVILAN ALBERTI, MICHELE         ADDRESS ON FILE
GAVILAN FUENTES, MARTA           ADDRESS ON FILE




                                                                             Page 3171 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3172 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City           State   PostalCode   Country
GAVILAN FUENTES, MARTA         ADDRESS ON FILE
GAVILAN LAMBOY, IVETTE         ADDRESS ON FILE
GAVILAN PEREZ, ENID            ADDRESS ON FILE
GAVILAN PEREZ, ENID M.         ADDRESS ON FILE
GAVILAN RIOS, LEIDA Y.         ADDRESS ON FILE
GAVILANES SANCHEZ, ALEXIS      ADDRESS ON FILE
GAVILLAN CARTAGENA, AWILDA     ADDRESS ON FILE
GAVILLAN CRUZ, CARLOS          ADDRESS ON FILE
GAVILLAN CRUZ, MARYLIS         ADDRESS ON FILE
GAVILLAN CRUZ, MARYLIS         ADDRESS ON FILE
GAVILLAN CRUZ, TALIA           ADDRESS ON FILE
GAVILLAN FONTANEZ, JOSE        ADDRESS ON FILE
GAVILLAN MARTINEZ, MARIA M     ADDRESS ON FILE
GAVILLAN MURIEL, JOSUE         ADDRESS ON FILE
GAVILLAN ORTIZ, GERARDO        ADDRESS ON FILE
GAVILLAN REYES, JEISELLE       ADDRESS ON FILE
GAVILLAN REYES, JEISELLE       ADDRESS ON FILE
GAVILLAN RIOS, DAMARIS         ADDRESS ON FILE
GAVILLAN RIVERA, JOSE A        ADDRESS ON FILE
GAVILLAN SANCHEZ, NILVA E      ADDRESS ON FILE
GAVILLAN SANCHEZ, SANDRA       ADDRESS ON FILE
GAVILLAN SANTANA, ORLANDO      ADDRESS ON FILE
GAVILLAN TRINIDAD, ELPIDIO     ADDRESS ON FILE
GAVILLAN VAZQUEZ, JORGE L      ADDRESS ON FILE
GAVIN INCLAN, JAMES            ADDRESS ON FILE
GAVINE, CARL                   ADDRESS ON FILE
GAVINO FIGUEROA, GLADYS        ADDRESS ON FILE
GAVINO GONZALEZ, JUANITA       ADDRESS ON FILE
GAVINO LEGUILLOU, ANA L        ADDRESS ON FILE
GAVINO MEDINA, ALMA R          ADDRESS ON FILE
GAVINO ORTIZ, SONIA            ADDRESS ON FILE
GAVIOTA MANUFACTURA INC        PO BOX 1628                                                                      RIO GRANDE     PR      00745
GAVIRIA LONDONO, JORGE IVAN    ADDRESS ON FILE
GAY DIAZ, AMBAR                ADDRESS ON FILE
GAY LLOMPART, JOHNNY           ADDRESS ON FILE
GAY PIAZZA, BERTIE             ADDRESS ON FILE
GAYA CASTRO, JUANA             ADDRESS ON FILE
GAYA GARCIA, ELSA              ADDRESS ON FILE
GAYA GONZALEZ, LILLIAM         ADDRESS ON FILE
GAYA MERCADO, NANCY            ADDRESS ON FILE
GAYA PEREZ, ANTONIO            ADDRESS ON FILE
GAYA RIVERA, SONIA             ADDRESS ON FILE
GAYA SEGARRA, CARLOS           ADDRESS ON FILE
GAYA SOTO, EDDIE               ADDRESS ON FILE
GAYA VELEZ, LUIS               ADDRESS ON FILE
GAYLE W GRIGGS WILSON          ADDRESS ON FILE
GAYOL CARTAGENA, IRENE         ADDRESS ON FILE
Gayol Martinez, Ermis Z        ADDRESS ON FILE
GAYOL MARTINEZ, NATALIE        ADDRESS ON FILE
GAYOL SANTANA, LETICIA         ADDRESS ON FILE
GAYOL SANTANA, PRISCILLA       ADDRESS ON FILE
GAYOSO FERNANDEZ, MIRIAM       ADDRESS ON FILE
GAZARD BAEZ, ALEXANDER         ADDRESS ON FILE
GAZARD RUIZ, DOUGLAS           ADDRESS ON FILE
GAZI MD , GOLAM R              ADDRESS ON FILE
GAZMEY ESTREMERA, MELITZA A.   ADDRESS ON FILE
GAZMEY RODRIGUEZ, JESUS        ADDRESS ON FILE
GAZMEY RODRIGUEZ, NORMA I      ADDRESS ON FILE
GAZMEY RODRIGUEZ, SERGIO A.    ADDRESS ON FILE
GAZMEY SANCHEZ, VERONICA       ADDRESS ON FILE




                                                                           Page 3172 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3173 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                            Address1                               Address2                                        Address3   Address4   City           State   PostalCode   Country
GAZMEY SANTIAGO, JENNIFER                ADDRESS ON FILE
GAZTAMBIDE ALAMEDA, IDARNIS              ADDRESS ON FILE
GAZTAMBIDE ARANDES, MARIA                ADDRESS ON FILE
GAZTAMBIDE BALZAC, FRANKLYN              ADDRESS ON FILE
GAZTAMBIDE BARBOSA, HERNAN               ADDRESS ON FILE
GAZTAMBIDE BARBOSA, LOURDES D            ADDRESS ON FILE
GAZTAMBIDE BLOISE, PABLO                 ADDRESS ON FILE
Gaztambide Figuer, Edward Y              ADDRESS ON FILE
GAZTAMBIDE FONTANEZ, BRENDA              ADDRESS ON FILE
GAZTAMBIDE FONTANEZ, JEANNETTE           ADDRESS ON FILE
GAZTAMBIDE FRANCO, ALEXANDER             ADDRESS ON FILE
Gaztambide Franco, Alexander H           ADDRESS ON FILE
GAZTAMBIDE GALINDEZ, IVELISSE            ADDRESS ON FILE
GAZTAMBIDE LLAVONA, FERNANDO             ADDRESS ON FILE
GAZTAMBIDE LLAVONA, FRANCISCO            ADDRESS ON FILE
GAZTAMBIDE LORENZO, DIANA M              ADDRESS ON FILE
GAZTAMBIDE MARTINEZ, ALEXIS              ADDRESS ON FILE
GAZTAMBIDE MARTINEZ, HIRAM               ADDRESS ON FILE
GAZTAMBIDE MARTINEZ, LILLIANA            ADDRESS ON FILE
GAZTAMBIDE MENDEZ, LUCY                  ADDRESS ON FILE
GAZTAMBIDE MONTALVO, NYDIA               ADDRESS ON FILE
GAZTAMBIDE QUINONES, MARIO               ADDRESS ON FILE
GAZTAMBIDE ROSADO, RAFAEL H.             ADDRESS ON FILE
GAZTAMBIDE VAZQUEZ, RAFAEL               ADDRESS ON FILE
GAZTAMBIDE VILA, NIEVES                  ADDRESS ON FILE
GAZTAMBIDE VILA, NIEVES J                ADDRESS ON FILE
GAZZO FALL, LISA M                       ADDRESS ON FILE
GB ADVISORS INC                          URB VILLA CLEMENTINA                   J 47 CAMINO ALEJANDRINO                                               GUAYNABO       PR      00969
GB ADVISORS, INC.                        URB VILLAS DEL RIO                     D24 CALLE 15                                                          BAYAMON        PR      00959
GBC INC                                  B7 CALLE TABANUCO STE 806                                                                                    GUAYNABO       PR      00968
GBO OTO GROUP, PSC                       URB MUNOZ RIVERA                       2 CALLE CRISALIDA                                                     GUAYNABO       PR      00969
GBP CREAMERY INC                         URB RAMIREZ DE ARELLANO                CALLE SALVADOR BRAU 6                                                 MAYAGUEZ       PR      00682
GC CARELA CONTRACTOR CORP                BO VENEZUELA                           16 CALLE CAPARRA                                                      SAN JUAN       PR      00926‐1302
GC Company Corp.                         Road 833 Km. 11.0 Interior             Barrio Santa Rosa 3 Sector Los Rivera                                 Guaynabo       PR      00970
GC LAW OFFICES                           COND EL CENTRO I                       AVE MUNOZ RIVERA STE 220                                              SAN JUAN       PR      00918
GC SERVICES                              DEPARTAMENTO DE HACIENDA                                                                                     SAN JUAN       PR      00901
GCI WEB SOLUTIONS INC                    CAPITOLIO PLAZA                        APT I‐907 CALLE DEL MUELLE                                            SAN JUAN       PR      00901‐2636
GCT SURGERY PSC                          URB SAGRADO CORAZON                    1629 SANTA EDUVIGIS                                                   SAN JUAN       PR      00926
GDC OF FLORIDA IMPORTS INC               4815 NW 79 TH AVE SUITE 15                                                                                   DORAL          FL      33166
GDD HEALTHCARE SOLUTION LLC              VISTA ALTA                             B9 CARR 861                                                           BAYAMON        PR      00957‐2160
GDJA LAW OFFICE PSC                      COND MONTE BLANCO                      APT 301                                                               SAN JUAN       PR      00926
GDJCS INC                                PO BOX 140208                                                                                                ARECIBO        PR      00614
GDL INC                                  PO BOX 373190                                                                                                CAYEY          PR      00737‐3190
GDV CORP                                 PO BOX 6419                                                                                                  BAYAMON        PR      00960
GDV GROUP INC                            131 AVE ELEANOR ROOSVELT                                                                                     SAN JUAN       PR      00918
GDV GROUP, INC                           URB EL VEDADO                          131 CALLE ELEONOR ROOSEVELT                                           SAN JUAN       PR      00918‐3106
GE HEALTHCARE PUERTO RICO CORP.          792 AVE. SAN PATRICIO URB. LAS LOMAS                                                                         SAN JUAN       PR      00921
GE INDUSTRIAL OF PR                      ADDRESS ON FILE
GE INDUSTRIAL OF PR, LLC                 PO BOX 144080                                                                                                ARECIBO        PR      00612
GE TECNICAL SERVICES COMPANY             ROAD 5 KM 27 4                         BLDG 1 PALMAS WARD                                                    CATANO         PR      00962
GE0 SURVEY NETWORK                       PO BOX 8031                                                                                                  CAGUAS         PR      00726‐8031
GEA CARIBBEAN EXPORT MEDICAL SYSTEMS DIV EL MUNDO OFFICE BUILDING               205 383 AVE ROOSEVELT                                                 SAN JUAN       PR      00918
GEANNETTE SOTO MENDOZA                   ADDRESS ON FILE
GECHA J RODRIGUEZ CABRERA                ADDRESS ON FILE
GEDALIAS CASILLAS RODRIGUEZ DBA PURE SOU PO BOX 1115                                                                                                  BAYAMON        PR      00950‐0000
GEÐITOS CATERING                         AREA DEL TESORO                        DIVISION DE RECLAMACIONES                                             SAN JUAN       PR      00902‐4140
GEÐITOS CATERING                         PO BOX 578                                                                                                   SAN GERMAN     PR      00683
GEEMARIS PEREZ BAEZ                      ADDRESS ON FILE
GEFFREY KENNEDY                          ADDRESS ON FILE
GEHIELY ROSADO MORALES                   ADDRESS ON FILE




                                                                                                                Page 3173 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3174 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GEIDI MELENDEZ HERNANDEZ           ADDRESS ON FILE
GEIDY PUIG GOMEZ                   ADDRESS ON FILE
GEIGEL ALMESTICA, MIGDALIA         ADDRESS ON FILE
GEIGEL ANDINO, MARIA               ADDRESS ON FILE
GEIGEL BANREY, FELIX               ADDRESS ON FILE
GEIGEL BENITEZ, JOSE A.            ADDRESS ON FILE
GEIGEL BONANO, MYRNA               ADDRESS ON FILE
GEIGEL CABRERA, HIRAM              ADDRESS ON FILE
GEIGEL CERVONI, GILBERTO           ADDRESS ON FILE
GEIGEL CERVONI, GRETCHEN           ADDRESS ON FILE
GEIGEL GARCIA, JOSUE               ADDRESS ON FILE
GEIGEL LOPEZ, CARMEN               ADDRESS ON FILE
GEIGEL MENDEZ, ARTURO A            ADDRESS ON FILE
GEIGEL OYOLA, YELITZA M            ADDRESS ON FILE
GEIGEL PEREZ, JULIO                ADDRESS ON FILE
GEIGEL PEREZ, LUIS                 ADDRESS ON FILE
GEIGEL PEROZA, CARMEN M            ADDRESS ON FILE
GEIGEL PEROZA, JESUS M             ADDRESS ON FILE
GEIGEL PEROZA, WANDA I             ADDRESS ON FILE
GEIGEL RIVERA, SANTA               ADDRESS ON FILE
GEIGEL RODRIGUEZ, FELIX            ADDRESS ON FILE
GEIGEL RODRIGUEZ, FELIX            ADDRESS ON FILE
GEIGEL RODRIGUEZ, KARIXA           ADDRESS ON FILE
GEIGEL TORRES, JOSUE               ADDRESS ON FILE
GEIGEL VAZQUEZ, GABRIEL            ADDRESS ON FILE
GEIGER WATSON, JEANNE              ADDRESS ON FILE
GEILY DELGADO MARTINEZ             ADDRESS ON FILE
GEIMAR FLORES CEDENO               ADDRESS ON FILE
GEISHA E. BURGOS JIMENEZ           ADDRESS ON FILE
GEISHA M RENTAS DE JESUS           ADDRESS ON FILE
GEISHA M SALCEDO RONERO            ADDRESS ON FILE
GEISHA M. RAMOS AYALA              ADDRESS ON FILE
GEISHA PLAZA MATIAS                ADDRESS ON FILE
GEISHA SANTIAGO BORGES             ADDRESS ON FILE
GEISHA V FIGUEROA RODRIGUEZ        ADDRESS ON FILE
GEISHA VILLEGAS DAVILA             ADDRESS ON FILE
GELABERT ALVAREZ, LORENZO          ADDRESS ON FILE
GELABERT BAHAMUNDI, BEATRIZ        ADDRESS ON FILE
GELABERT BAHAMUNDI, GABRIEL        ADDRESS ON FILE
Gelabert Caraball, Ana De L        ADDRESS ON FILE
GELABERT CARABALLO, BENEDICTO J.   ADDRESS ON FILE
Gelabert Caraballo, Gloria M       ADDRESS ON FILE
GELABERT CARABALLO, LUZ C.         ADDRESS ON FILE
GELABERT CARDOZA, NEREIDA          ADDRESS ON FILE
GELABERT CARDOZA, SANTOS F         ADDRESS ON FILE
Gelabert Cintron, Bernardo         ADDRESS ON FILE
GELABERT DE GONZALEZ, MARGARITA    ADDRESS ON FILE
GELABERT FONRODONA, ANAIDA         ADDRESS ON FILE
GELABERT MELENDEZ, GIANCARLO       ADDRESS ON FILE
GELABERT NAKACHI, LORENZO          ADDRESS ON FILE
GELABERT NAKACHI, LORENZO          ADDRESS ON FILE
GELABERT PAGAN, MADELINE           ADDRESS ON FILE
GELABERT PAGAN, MAGDA              ADDRESS ON FILE
GELABERT RAMOS, LUIS               ADDRESS ON FILE
GELABERT SANTIAGO, EDGARDO         ADDRESS ON FILE
GELABERT SANTIAGO, SALVADOR        ADDRESS ON FILE
GELABERT SANTIAGO, SANTOS A.       ADDRESS ON FILE
GELABERT TORO, JOANLY              ADDRESS ON FILE
GELABERT VALENTIN, JOHANA          ADDRESS ON FILE
GELABERT VELEZ, SANEIRIS           ADDRESS ON FILE




                                                                               Page 3174 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3175 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                            Address1                       Address2                        Address3   Address4   City         State   PostalCode   Country
GELABERT, PEDRO A.                       ADDRESS ON FILE
GELASIO MORALES / VIOLETA ROSARIO        URB MIRAFLORES                 47‐11 CALLE 56                                        BAYAMON      PR      00957‐3847
GELATOMANIA                              ADDRESS ON FILE
GELI NEGRON, ALEXIS                      ADDRESS ON FILE
GELI NEGRON, MARILUZ                     ADDRESS ON FILE
GELI PEREZ, NORMA                        ADDRESS ON FILE
GELIGA AYALA, JOSE A.                    ADDRESS ON FILE
GELIMAR VILLALBA ROSADO                  ADDRESS ON FILE
GELITZA VELEZ VILLAMIL                   ADDRESS ON FILE
GELL MARTE, RAFAEL                       ADDRESS ON FILE
GELLIANN APONTE COSS                     ADDRESS ON FILE
GELMARY RIVERA SANCHEZ                   ADDRESS ON FILE
GELPI ABARCA, GUSTAVO                    ADDRESS ON FILE
GELPI ACOSTA, ALEIDA                     ADDRESS ON FILE
GELPI ADORNO, RODRIGO                    ADDRESS ON FILE
GELPI ARROYO, GIOVANNI                   ADDRESS ON FILE
GELPI CANDELARIO, JUAN                   ADDRESS ON FILE
GELPI CENTENO, DANAISE                   ADDRESS ON FILE
GELPI CENTENO, JOSE                      ADDRESS ON FILE
GELPI CINTRON, ANAIDA I                  ADDRESS ON FILE
GELPI DIAZ, RAMONITA                     ADDRESS ON FILE
GELPI MELENDEZ, AUREA                    ADDRESS ON FILE
GELPI MELENDEZ, AUREA LYDIA              ADDRESS ON FILE
GELPI MERHEB MD, ENRIQUE F               ADDRESS ON FILE
GELPI OLIVERA, ERICK E                   ADDRESS ON FILE
GELPI ORTIZ, DIGNA L                     ADDRESS ON FILE
GELPI ORTIZ, JOSE                        ADDRESS ON FILE
GELPI ORTIZ, JOSE E                      ADDRESS ON FILE
GELPI ORTIZ, JOSE R                      ADDRESS ON FILE
GELPI ORTIZ, LUIS M                      ADDRESS ON FILE
GELPI RODRIGUEZ, MICHAEL                 ADDRESS ON FILE
GELPI ROSARIO, LILLIAM                   ADDRESS ON FILE
GELPI SANCHEZ, MANUEL                    ADDRESS ON FILE
GELPISOUCHET, ROSA V                     ADDRESS ON FILE
GELSON DE JESUS SOTO                     ADDRESS ON FILE
GELSON JIMENEZ BAYONA                    ADDRESS ON FILE
GELSON ROSA NIEVES                       ADDRESS ON FILE
GELVER J ESPINOSA RODRIGUEZ              ADDRESS ON FILE
GELY BEAUCLAIR, GILDA G.                 ADDRESS ON FILE
GELY COTTO, MARIANGELY                   ADDRESS ON FILE
GELY LATALLADI MD, LUIS M                ADDRESS ON FILE
GELY MAURAS, ROBERTA                     ADDRESS ON FILE
Gely Morales, Edwin                      ADDRESS ON FILE
GELY ORTIZ, NORMA                        ADDRESS ON FILE
GELY ORTIZ, RUBEN                        ADDRESS ON FILE
GELY ORTIZ, RUBEN F.                     ADDRESS ON FILE
GELY RODRIGUEZ, IVAN                     ADDRESS ON FILE
GELY RODRIGUEZ, RUBEN                    ADDRESS ON FILE
GELY RODRIGUEZ, RUBEN N.                 ADDRESS ON FILE
GELY ROJAS, LORENA Y                     ADDRESS ON FILE
GELY VALPAIS, MARIA DEL C                ADDRESS ON FILE
GELY VILLAVEITA, ZAIDA                   ADDRESS ON FILE
GELY VILLAVEITIA, MIGUEL                 ADDRESS ON FILE
GEM LLC                                  COND PRILA KINGS COURT ST 70   APT 3‐C                                               SAN JUAN     PR      00911
GEMA DE LOS A. BENITEZ NEGRON            ADDRESS ON FILE
GEMARILYS JIMENEZ ORTIZ                  ADDRESS ON FILE
GEMEFA INC‐CLINICA DE SALUD DEL TURABO   PO BOX 1262                                                                          GURABO       PR      00778‐1262
GEMELOS AUTO DETAILING LLC               URB BELLOMONTE                 O7 CALLE 5A                                           GUAYNABO     PR      00969
GEMINELLY RODRIGUEZ RUIZ                 ADDRESS ON FILE
GEMINI CRUZ TORRES                       ADDRESS ON FILE




                                                                                         Page 3175 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3176 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                         Creditor Matrix

Creditor Name                             Address1                                      Address2                                      Address3       Address4     City            State   PostalCode   Country
Gemini Insurance Company                  475 Steamboat Road                                                                                                      Greenwich       CT      06830
Gemini Insurance Company                  Attn: Kathleen Ferreira, Vice President       7233 E. Butherus Drive                                                    Scottsdale      AR      85260
GEMSA MORALES CEDENO                      ADDRESS ON FILE
GEN PROBE                                 ADDRESS ON FILE
GEN PROBE                                 ADDRESS ON FILE
GENAO CASTILLO, KEYLA                     ADDRESS ON FILE
GENAO DUARTE, ORISEY                      ADDRESS ON FILE
GENAO ENCARNACION MD, MAXWELL             ADDRESS ON FILE
GENAO ENCARNACION, AURYS                  ADDRESS ON FILE
GENAO GUZMAN, JANET                       ADDRESS ON FILE
GENAO SANCHEZ, AURA                       ADDRESS ON FILE
GENAO SANCHEZ, AURELIO                    ADDRESS ON FILE
GENAO, CARLOS J                           ADDRESS ON FILE
GENAO, JUDITH                             ADDRESS ON FILE
GENARI DEVELOPMENT CORP                   P O BOX 1123                                                                                                            GURABO          PR      00778
GENARO A REYES PAGAN                      ADDRESS ON FILE
GENARO BATISTA BATISTA                    ADDRESS ON FILE
GENARO COLLAZO ROSARIO                    ADDRESS ON FILE
GENARO F LUGO SANTIAGO                    ADDRESS ON FILE
GENARO GARCIA ROSA                        ADDRESS ON FILE
GENARO HERRERA DOS REIR                   LCDO. OSVALDO BURGOS PEREZ                    PO BOX 194211                                                             SAN JUAN        PR      00919‐4211
GENARO L GARCIA ECHEVARRIA                ADDRESS ON FILE
GENARO M CEDENO RODRIGUEZ                 ADDRESS ON FILE
GENARO MALDONADO LOPEZ                    ADDRESS ON FILE
Genaro Mendez Mercado                     ADDRESS ON FILE
GENARO MERCADO VARGAS                     ADDRESS ON FILE
GENARO ORTIZ Y ANGELA CUZME               262 DAVIDSON AVE APT 1                                                                                                  PERTH AMBOY     NJ      00861‐3942
GENARO PAGAN SOTO                         ADDRESS ON FILE
GENARO PENA FONSECA                       ADDRESS ON FILE
GENARO PEREZ SOTO                         ADDRESS ON FILE
GENARO QUINONES SOTO                      ADDRESS ON FILE
GENARO RAMOS MONTA¥EZ                     ADDRESS ON FILE
GENARO RODRIGUEZ DELGADO                  ADDRESS ON FILE
GENARO RODRÍGUEZ GERENA Y OTROS           LCDO. GENARO RODRÍGUEZ GERENA                 PO BOX 1605                                                               LUQUILLO        PR      00773
GENARO RODRIGUEZ PABON                    ADDRESS ON FILE
GENARO SABALIER TORRES                    ADDRESS ON FILE
GENARO SILVA ORTIZ                        ADDRESS ON FILE
GENARO TORRES LEON                        ADDRESS ON FILE
GENARO VALDES RIVERA                      ADDRESS ON FILE
GENAY RODRÍGUEZ GARCÍA Y OTROS            LCDO. CESAR A. ROSADO RAMOS                   BUFETE ROSADO RAMOS,                          URB. PRADERA   CALLE AJ‐9   TOA BAJA        PR      00949
GENCY L BONET ORTIZ                       ADDRESS ON FILE
GENDES ALONSO, SABRINA                    ADDRESS ON FILE
GENE MOORE                                ADDRESS ON FILE
GENENTECH PR INC                          652 AVE MUNOZ RIVERA SUITE 3115                                                                                         SAN JUAN        PR      00918‐4261
GENEPHARMA CORP                           VILA DE PARANA                                S1‐2 CALLE 11                                                             SAN JUAN        PR      00926
GENER RIVERA, JESSMARIE                   ADDRESS ON FILE
GENERA FIGUEROA MONTANEZ                  ADDRESS ON FILE
GENERA IRIZARRY, JULIO                    ADDRESS ON FILE
GENERA SPECIFIC MARKETING                 COND HATO REY PLAZA                           200 AVE JESUS T PINEIRO APT 8M                                            SAN JUAN        PR      00918
GENERAL ACCIDENT                          DEPTO DE HACIENDA                             DIVISION DE PAGADURIA                                                     SAN JUAN        PR      00922
GENERAL ACCIDENT LIFE                     AREA DEL TESORO                               PAGADURIA                                                                 SAN JUAN        PR      00902
GENERAL ACCIDENT LIFE                     PO BOX 363786                                                                                                           SAN JUAN        PR      00936
GENERAL ADMINISTRATION SERVICES INC       URB SAGRADO CORAZON 462                       AVE SAN CLAUDIO                                                           SAN JUAN        PR      00926
GENERAL ALL CONTRACTORS INC.              URB. REPARTO METROPOLITANO                    CALLE 11 SE 31012                                                         SAN JUAN        PR      00921
GENERAL AMERICAN LIFE INS CO              13045 TESSON FERRY ROAD                                                                                                 ST LOUIS        MO      63128‐0000
General American Life Insurance Company   13045 Tesson Ferry Road                                                                                                 St Louis        MO      63128
General American Life Insurance Company   Attn: Adams Ruskin, Actuary                   18210 Crane Nest Drive                        3rd Floor                   Tampa           FL      33647
General American Life Insurance Company   Attn: Daniel Jordan, Vice President           18210 Crane Nest Drive                        3rd Floor                   Tampa           FL      33647
General American Life Insurance Company   Attn: David Ward, Regulatory Compliance Govern18210 Crane Nest Drive                        3rd Floor                   Tampa           FL      33647
General American Life Insurance Company   Attn: John David, Circulation of Risk         18210 Crane Nest Drive                        3rd Floor                   Tampa           FL      33647




                                                                                                                     Page 3176 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                          Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 3177 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                              Creditor Matrix

Creditor Name                                Address1                                       Address2                                       Address3              Address4   City            State   PostalCode   Country
General American Life Insurance Company      Attn: John Trott, Consumer Complaint Contact   18210 Crane Nest Drive                         3rd Floor                        Tampa           FL      33647
General American Life Insurance Company      Attn: Lori Guardado, Premiun Tax Contact       18210 Crane Nest Drive                         3rd Floor                        Tampa           FL      33647
General American Life Insurance Company      Attn: Robert Henrison, President               18210 Crane Nest Drive                         3rd Floor                        Tampa           FL      33647
GENERAL BUILDING SOLUTIONS                   P 67 AVE SANTA JUANITA                                                                                                         BAYAMON         PR      00956
General Casualty Company of Wisconsin        Attn: Brian Walsh, Premiun Tax Contact         One General Drive                                                               Sun Prairie     WI      53596
General Casualty Company of Wisconsin        Attn: John Schanen, Vice President             One General Drive                                                               Sun Prairie     WI      53596
General Casualty Company of Wisconsin        Attn: Thomas Greenfield, President             One General Drive                                                               Sun Prairie     WI      53596
General Casualty Company of Wisconsin        One General Drive                                                                                                              Sun Prairie     WI      53596‐0001
GENERAL CLAIMS ADJUSTMENTS INC               PO BOX 7999 STE 353                                                                                                            MAYAGUEZ        PR      00681
GENERAL CONSTRUCTION SERVICE GROUP INC       PO BOX 9249                                                                                                                    CAROLINA        PR      00988

GENERAL DE JUSTICIA                           ADMINISTRACION DE LOS TRIBUNALES                AREA DEL TESORO                              CONTADURIA GENERAL               SAN JUAN        PR      00902
GENERAL DE JUSTICIA                           OFIC. DE ADM DE LOS TRIBUNALES                  PO BOX 190917                                                                 SAN JUAN        PR      00919‐0917
GENERAL DE JUSTICIA                           SANTA I RIVERA OSORIO                           PO BOX 190917                                                                 SAN JUAN        PR      00919‐0917
GENERAL ELECTRIC                              PO BOX 471306                                                                                                                 SAN JUAN        PR      00940
GENERAL ELECTRIC CAPITAL CORP                 901 MAIN AVENUE                                                                                                               NORWALK         CT      06851
GENERAL ELECTRIC CAPITAL CORP                 P O BOX 195492                                                                                                                SAN JUAN        PR      00919‐5492
GENERAL ELECTRIC CAPITAL CORP                 PO BOX 11902                                                                                                                  SAN JUAN        PR      00902‐1902
GENERAL ELECTRIC CO                           4211 METRO PARKWAY                                                                                                            FORT MYERS      FL      33916
GENERAL GASES                                 PO BOX 363868                                                                                                                 SAN JUAN        PR      00936
GENERAL HOSPITAL CENTER AT PASSAIC            PO BOX 452                                                                                                                    BOGOTA          NJ      07603
GENERAL INSURANCE BROKERS INC                 1510 1510 FD ROOSEVELT AVE                                                                                                    GUAYNABO        PR      00968
General Insurance Company of America          175 Berkeley Street                                                                                                           Boston          MA      02116
General Insurance Company of America          Attn: Dexter Legg, Vice President               175 Berkeley Street                          Suite Garlock A 7 A              Boston          MA      02116
General Insurance Company of America          Attn: George Ryan, Premiun Tax Contact          175 Berkeley Street                          Suite Garlock A 7 A              Boston          MA      02116
General Insurance Company of America          Attn: Krista Young, Circulation of Risk         175 Berkeley Street                          Suite Garlock A 7 A              Boston          MA      02116
General Insurance Company of America          Attn: Krista Young, Consumer Complaint Contact 175 Berkeley Street                           Suite Garlock A 7 A              Boston          MA      02116
General Insurance Company of America          Attn: Michael S. McGavick, President            175 Berkeley Street                          Suite Garlock A 7 A              Boston          MA      02116
General Insurance Company of America          Attn: Patty McCollum, Vice President            175 Berkeley Street                          Suite Garlock A 7 A              Boston          MA      02116
General Insurance Company of America          c/o Eastern America Insurance Agency, Agent for 175 Berkeley Street                          Suite Garlock A 7 A              Boston          MA      02116
GENERAL INSURANCE COMPANY OF AMERICA SAFECO PLAZA                                                                                                                           SEATTLE         WA      98185
GENERAL INVESTMENT S.E.                       1590 PONCE DE LEON AVE. SUITE 213                                                                                             SAN JUAN        PR      00926
GENERAL MACHINERY CONTRACTORS, INC            URB. COVADONGA PLAZA DON PELAYO LOCAL #1                                                                                      TOA BAJA        PR      00949
GENERAL MECHANICAL & PLUMBING SERV INC HC 6 BOX 66718                                                                                                                       AGUADILLA       PR      00603
GENERAL MECHANICAL & PLUMBING SERVICES INHC 7 BOX 37865                                                                                                                     AGUADILLA       PR      00603‐9466
GENERAL MECHANICAL AND PLUMBING SERVICE CARR. NUM.2 KM.121.8INT. CARR.LASROSAS BO. CAIMITAL ALT                                                                             AGUADILLA       PR      00603
GENERAL MOTRIZ INC                            URB AGUSTIN STAHL                               CARR 174 A‐5                                                                  BAYAMON         PR      00956
GENERAL NUTRITION                             300 SIXTH AVE                                                                                                                 PITTSBURGH      PA      15222
GENERAL OPHTHALMOLOGY GROUP CSP               COND PUERTA DEL CONDADO                         1095 AVENUE WILSON APT 1601                                                   SAN JUAN        PR      00907
GENERAL PROCUREMENT OF PR                     511 AVE ANDALUCIA                               SUITE 1A URB                                 PUERTO NUEVO                     SAN JUAN        PR      00920
GENERAL REFRIGERATION CENTER INC              PO BOX 853                                                                                                                    HORMIGUEROS     PR      00660
General Reinsurance AG                        Attn: Daniel Castillo, President                Apartado Postal 10 22 44                                                      Cologne         UN      50462
General Reinsurance AG                        Theodor‐Heuss‐Ring 11                                                                                                         Koeln                   D‐50668      Germany
General Reinsurance Corporation               695 East Main Street                                                                                                          Stamford        CT      06901
General Reinsurance Corporation               Attn: Carole Ferrero , President                120 Long Ridge Road                                                           Stamford        CT      06902
General Reinsurance Corporation               Attn: Damon Vocke, Vice President               120 Long Ridge Road                                                           Stamford        CT      06902
GENERAL REVENUE CORP                          DEPARTAMENTO DE HACIENDA                                                                                                      SAN JUAN        PR      00901
GENERAL REVENUE CORP                          PO BOX 42934                                                                                                                  CINCINATTI      OH      45249
GENERAL REVENUE CORP WAGE WITHHOLDING PO BOX 49599                                                                                                                          CINCINNATI      OH      45249‐5999
General Security Indemnity Company of         2338 West Royal Palm Road                       Suite J                                                                       Pheonix         AZ      85021
General Security Indemnity Company of Arizona Attn: Henry Klecan, President                   199 Water Street                             Ste. #2100                       New York        NY      10038
General Security Indemnity Company of Arizona Attn: Maxine Verne, Vice President              199 Water Street                             Ste. #2100                       New York        NY      10038
GENERAL SECURITY LOCK                         VALLE ARRIBA HEIGHTS AC4 AVE MONSERRATE                                                                                       CAROLINA        PR      00983
GENERAL SECURITY NATIONAL INS COMPANY         199 WATER ST SUITE 2100                                                                                                       NEW YORK        NY      10038‐3526
General Security National Insurance           199 Water Street                                21 St Floor                                                                   New York        NY      10038
General Security National Insurance Company Attn: Henry Klecan, Jr, Vice President            199 Water Street                             Suite #2100                      New York        NY      10038
GENERAL SEWER & CONTRACTOR SERV. CORP PMB 359 1575 AVE. MUNOZ RIVERA                                                                                                        PONCE           PR      00728‐0000
General Star Indemnity Company                695 East Main Street                                                                                                          Stamford        CT      06904‐2354
General Star Indemnity Company                Attn: Martin Hacala, President                  120 Long Ridge Road                                                           Stamford        CT      06902
General Star National Insurance Company       120 Long Ridge Road                                                                                                           Stamford        CT      06902




                                                                                                                            Page 3177 of 10031
                                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                                Exhibit A-1 - Creditor     Matrix
                                                                                     Case No.              Page 3178 of 3500
                                                                                              17 BK 3283‐LTS
                                                                                                                                  Creditor Matrix

Creditor Name                                 Address1                                         Address2                                        Address3         Address4   City              State   PostalCode   Country
General Star National Insurance Company       Attn: Mark Gardner, Vice President               120 Long Ridge Road                                                         Stamford          CT      06902
General Star National Insurance Company       Attn: Patricia Roberts, President                120 Long Ridge Road                                                         Stamford          CT      06902
General Star National Insurance Company       Attn: Patricia Villegas, Circulation of Risk     120 Long Ridge Road                                                         Stamford          CT      06902
General Star National Insurance Company       Attn: Patricia Villegas, Consumer Complaint Conta120 Long Ridge Road                                                         Stamford          CT      06902
General Star National Insurance Company       Attn: Solan Schwab, Regulatory Compliance Gove120 Long Ridge Road                                                            Stamford          CT      06902
GENERAL TIRE                                  GPO BOX 3645                                                                                                                 SAN JUAN          PR      009365
GENERAL WELDING & MECHANIC CORP               HC 11 BOX 11980                                                                                                              HUMACAO           PR      00791‐9433
GENERAL WHOLESALES INC                        PO BOX 1739                                                                                                                  TRUJILLO ALTO     PR      00977‐1739
GENERALI U S BRANCH                           ONE LIBERTY PLAZA                                                                                                            NEW YORK          NY      10006
Generali‐U. S. Branch                         7 World Trade Center                             250 Greenwich Street, 33rd Floor                                            New York          NY      10007
                                                                                                                                               33 Floor ‐ 250
Generali‐U. S. Branch                         Attn: John Martini, President                   7 World Trade Center                             Greenwich St.               New York          NY      10007
                                                                                                                                               33 Floor ‐ 250
Generali‐U. S. Branch                       Attn: Tomasito Lazaro, President                 7 World Trade Center                              Greenwich St.               New York          NY      10007
GENERATIONS FAMILY HEALTH CENTER            1315 MAIN ST STE 2                                                                                                             WILLIMANTIC       CT      06226
GENERATOR AND ELEC TECHNIC SERVS            PO BOX 6029 PMB 2262                                                                                                           CAROLINA          PR      00984‐6029
GENERATOR POWER SOLUTION INC                HC 1 BOX 6990                                                                                                                  AIBONITO          PR      00705‐9718
GENEROSA COLON RIOS                         ADDRESS ON FILE
GENEROSA COSS LOZADA                        ADDRESS ON FILE
GENEROSA HERNADEZ VELEZ                     ADDRESS ON FILE
GENEROSA MELENDEZ FUENTES                   ADDRESS ON FILE
GENEROSA RIVERA TORO                        ADDRESS ON FILE
GENEROSA SANTIAGO DE TORRES                 ADDRESS ON FILE
GENEROSA V RABELL RAMIREZ                   ADDRESS ON FILE
GENEROSO DELILLO GUIDE                      ADDRESS ON FILE
GENEROSO ULLOA ROSARIO                      PRO SE                                           INST. PENAL 1072                                  PO BOX 60075                BAYAMON           PR      00960
GENES QUESADA, ROSALINA                     ADDRESS ON FILE
GENESIS A SEGARRA BERRIOS                   ADDRESS ON FILE
GENESIS ALTERNATIVE HEALTH CENTER           172 STATE ST STE 4                                                                                                             NEWBURYPORT       MA      01950
GENESIS ANESTHESIA SERVICES CSP             PO BOX 6450                                                                                                                    MAYAGUEZ          PR      00681‐6450
GENESIS BOUTIQUE                            P.O. BOX 1532                                                                                                                  JUNCOS            PR      00777
GENESIS CASTILLO LOPEZ                      ADDRESS ON FILE
GENESIS COLON CINTRON                       ADDRESS ON FILE
GENESIS COLON PEREZ                         ADDRESS ON FILE
GENESIS COMMUNICATIONS INC                  PO BOX 2457                                                                                                                    MOCA              PR      00676
GENESIS DELGADO ARROYO                      ADDRESS ON FILE
GENESIS DIAZ QUILES                         ADDRESS ON FILE
GENESIS FLOWER                              ADDRESS ON FILE
GENESIS HERNANDEZ GARCIA                    ADDRESS ON FILE
GENESIS INST DE SERVICIOS MULTIDISCIPLINARIOURB CONDADO MODERNO                              A4 CALLE 1                                        SUITE 7                     CAGUAS            PR      00725
Genesis Insurance Company                   120 Long Ridge Road                                                                                                            Stamford          CT      06902
Genesis Insurance Company                   Attn: George Sainteus, Premiun Tax Contact       120 Long Ridge Road                                                           Stamford          CT      06902
Genesis Insurance Company                   Attn: Molly Dunn, Regulatory Compliance Govern120 Long Ridge Road                                                              Stamford          CT      06902
Genesis Insurance Company                   Attn: Patricia Roberts, President                120 Long Ridge Road                                                           Stamford          CT      06902
Genesis Insurance Company                   Attn: Patricia Villegas, Circulation of Risk     120 Long Ridge Road                                                           Stamford          CT      06902
Genesis Insurance Company                   Attn: Patricia Villegas, Consumer Complaint Conta120 Long Ridge Road                                                           Stamford          CT      06902
Genesis Insurance Company                   Attn: Sean Travers, Annual Statement             120 Long Ridge Road                                                           Stamford          CT      06902
GENESIS L ANDINO HERNANDEZ                  ADDRESS ON FILE
GENESIS L JAVIER POLANCO                    ADDRESS ON FILE
GENESIS LEARNIN CENTER                      PO BOX 8614                                                                                                                    PONCE             PR      00732‐8614
GENESIS M MELENDEZ NEGRON                   ADDRESS ON FILE
GENESIS M RIVERA MELENDEZ                   ADDRESS ON FILE
GENESIS M RODRIGUEZ ROSARIO                 ADDRESS ON FILE
GENESIS M ROMAN RIVERA / HAYDEE RIVERA      ADDRESS ON FILE
GENESIS M SOLIVAN PLAUD                     ADDRESS ON FILE
GENESIS MANEGEMENT INC                      HC 4 BOX 8578                                                                                                                  AGUAS BUENAS      PR      00703
GENESIS MARIE CASANOVA ROJAS                ADDRESS ON FILE
GENESIS MARIE MARTINEZ SANTIAGO             ADDRESS ON FILE
GENESIS MARTINEZ QUINONES                   ADDRESS ON FILE
GENESIS MAYMI POLANCO                       ADDRESS ON FILE




                                                                                                                              Page 3178 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3179 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                Address2                                   Address3                 Address4   City            State   PostalCode   Country
GENESIS MEDICAL EQUIPMENT, INC           URB BARALT                              G10 CALLE PRINCIPAL STE 1BARALT                                                FAJARDO         PR      00738‐3774
GENESIS MEDICAL GROUP                    22 CRISTOBAL COLON                                                                                                     YABUCOA         PR      00767
GENESIS MILLAN SERRANO                   ADDRESS ON FILE
GENESIS MOLINA AGUIRRE                   ADDRESS ON FILE
GENESIS MURPHY VAZQUEZ                   ADDRESS ON FILE
GENESIS N AYALA ORTIZ                    ADDRESS ON FILE
GENESIS NAVEIRA RIVERA                   ADDRESS ON FILE
GENESIS NICOLE ABRANTE HERNANDEZ         ADDRESS ON FILE
GENESIS OCASIO NIEVES Y/O                JOSE M OCASIO RIVERA                    URB CAMPAMENTO                             BZ 11 CALLE E                       GURABO          PR      00778
GENESIS ORTIZ RAMOS                      ADDRESS ON FILE
GENESIS PAGAN ALICEA                     ADDRESS ON FILE
GENESIS RIVERA DE JESUS                  ADDRESS ON FILE
GENESIS RIVERA VAZQUEZ                   ADDRESS ON FILE
GENESIS RODRIGUEZ FRANCO                 ADDRESS ON FILE
GENESIS RODRIGUEZ STEIDEL                ADDRESS ON FILE
GENESIS SANTIAGO MARTINEZ                ADDRESS ON FILE
GENESIS SANTIAGO ORTIZ                   ADDRESS ON FILE
                                                                                                                            701 AVE Ponce DE LEON
GÉNESIS SECURITY SERVICES                AGRAIT BETANCOURT, FERNANDO             EDIF CENTRO DE SEGUROS                     STE 414                             SAN JUAN        PR      00907
GENESIS SECURITY SERVICES INC            4TA EXT VILLA CAROLINA                  143‐2 CALLE 401                                                                CAROLINA        PR      00985
GENESIS SECURITY SERVICES INC            5900 AVE ISLA VERDE                     L 2 PMB 438                                                                    CAROLINA        PR      00979‐4901
GENESIS SECURITY SERVICES INC            CITY VIEW PLAZA II                      48 CARR 165 STE 2000                                                           GUAYNABO        PR      00968‐8000
GENESIS SECURITY SERVICES INC            DEPT. HACIENDA AREA DE COBROS           PO BOX 2501                                                                    SAN JUAN        PR      00903

GENESIS SECURITY SERVICES INC            GENESIS SECURITY SERVICES               CITY VIEW PLAZA II                         48 CARR 165 SUITE 2000              GUAYNABO        PR      00968‐8000

                                                                                                                            DIV COBROS Y
GENESIS SECURITY SERVICES INC            GENESIS SECURITY SERVICES INC          OFIC. REGIONAL DE CAROLINA                  EMBARGOS PO BOX 858                 CAROLINA        PR      00985
GENESIS SECURITY SERVICES INC            P O BOX 1158                                                                                                           YABUCOA         PR      00767‐1158
GENESIS SECURITY SERVICES INC            Y BANCO DESARROLLO ECONOMICO PARA PUERTPO BOX 2134                                                                     SAN JUAN PR     PR      00922‐2134
GENESIS SECURITY SERVICES INC Y/O CFSE   PO BOX 1158                                                                                                            YABUCOA         PR      00767
GENESIS SECURITY SERVICES INC Y/O CFSE   PO BOX 858                                                                                                             CAROLINA        PR      00985
                                                                                                                            701 AVE Ponce DE LEON
GÉNESIS SECURITY SERVICES, INC.          AGRAIT BETANCOURT, FERNANDO             EDIF CENTRO DE SEGUROS                     STE 414                             SAN JUAN        PR      00907
GENESIS SOLUTIONS ACQUISITIONS INC       100 DANBURY RD STE 105                                                                                                 RIDGEFIELD      CT      06877‐4122
GENESIS TOLEDO RODRIGUEZ                 ADDRESS ON FILE
GENESIS TORRES CAMACHO                   ADDRESS ON FILE
GENESIS VIDAL SANTOS                     ADDRESS ON FILE
GENESIS W PEREZ DELGADO                  ADDRESS ON FILE
GENESIS Y RAMIREZ RODRIGUEZ              HC 3 BOX 6289                                                                                                          RINCON          PR      00677
GENESIS Y VAZQUEZ GARCIA                 ADDRESS ON FILE
GENESIS Z MEDINA GONZALEZ                ADDRESS ON FILE
GENESOFT LABS CORP                       AREA DEL TESORO                         DIVISION DE RECLAMACIONES                                                      SAN JUAN        PR      00902‐4140
GENESOFT LABS CORP                       PO BOX 998                                                                                                             BAYAMON         PR      00960
GENESOFT LABS, CORP.                     CALLE LOIZA EDIF 1959 SUITE 207                                                                                        SAN JUAN        PR      00936
GENESSIS MEDICAL EQUIPMENT               AVE PRINCIPAL G 10                      SUITE 1 URB BARALT                                                             FAJARDO         PR      00738
GENESSIS VELEZ TORRES                    ADDRESS ON FILE
GENESYS MOJICA PAGAN                     ADDRESS ON FILE
GENESYS TECHNOLOGIES INC                 COLINAS DE PLATA                        51 LAS RIBERAS                                                                 TOA ALTA        PR      00953
GENESYS TECHNOLOGIES INC.                CAMINO LAS RIVERAS 51                   COLINAS DEL PLATA                                                              TOA ALTA        PR      00653
GENESYS TECHNOLOGIES INC.                PO BOX 3403                                                                                                            BAYAMON         PR      00958
GENEVA COMMUNITY HEALTH                  601 W WASHINGTON                                                                                                       GENEVA          NY      14456 2119
GENEVETTE PADILLA CASTRO                 ADDRESS ON FILE
GENEVIEVE LOPEZ STIPES                   ADDRESS ON FILE
GENEY SALGADO, RICARDO                   ADDRESS ON FILE
GENEY SALGADO, RICARDO                   ADDRESS ON FILE
GENEZARET CASTILLO ROMAN                 ADDRESS ON FILE
GENGRAS AMBULATORY CARE CENTER           8344 CLAIREMONT MESA BLVD               SUITE 201                                                                      SAN DIEGO       CA      92111
GENITOS CATERING                         AREA DEL TESORO                         DIVISION DE RECLAMACIONES                                                      SAN JUAN        PR      00902‐4140
GENITOS CATERING                         PO BOX 578                                                                                                             SAN GERMAN      PR      00683




                                                                                                             Page 3179 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3180 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                       Address1                                         Address2                                  Address3        Address4             City          State   PostalCode   Country
GENIUM GROUP INC.                   PO BOX 46                                                                                                                       NEW YORK      NY      12010
GENNETTE M MANZANET HOMAR           ADDRESS ON FILE
GENO GAS                            ADDRESS ON FILE
GENOVA H SIBILIA SANCHEZ            ADDRESS ON FILE
GENOVA MILANO CORP                  PO BOX 1111                                                                                                                     ANASCO        PR      00610
GENOVA RODRIGUEZ, ANGEL MANUEL      LCDO. ANGEL PADRO MARINA                         PO BOX 140843                                                                  ARECIBO       PR      00614
GENOVA RODRIGUEZ, ANGEL MANUEL      LCDO. GUILLERMO SOMOZA COLOMBANI                 IGUINA OHARRIZ                            PO BOX 366603                        SAN JUAN      PR      00936‐6603
GENOVA RODRIGUEZ, ANGEL MANUEL      LCDO. HECTOR F. OLIVERAS DELGADO                 PO BOX 9024098                                                                 SAN JUAN      PR      00902‐4098
                                                                                                                                               1250 Ponce DE LEON
GENOVA RODRIGUEZ, ANGEL MANUEL      LCDO. JORGE J. LOPEZ LOPEZLCDA. JOHANNA M. SAN JOSE BLDG.                                  SUITE 800       AVE.                 SAN JUAN      PR      00907‐3949
GENOVA Y TORO MORALES               ADDRESS ON FILE
GENOVA Z QUILES COLON               ADDRESS ON FILE
GENOVAL BONILLA, GRETCHEN           ADDRESS ON FILE
GENOVES ROSARIO SOTO                ADDRESS ON FILE
GENOVEVA A ROSADO ROSARIO           ADDRESS ON FILE
GENOVEVA ANDINO PENA                ADDRESS ON FILE
GENOVEVA BINES LOPEZ                ADDRESS ON FILE
GENOVEVA CHARON Y GRACE RODRIGUEZ   BO JAREALITOS                                      264 CALLE 2                                                                  ARECIBO       PR      00612
GENOVEVA CORDERO HERNANDEZ          ADDRESS ON FILE
GENOVEVA DE LUNA MARTINEZ           ADDRESS ON FILE
GENOVEVA DE LUNA MARTINEZ           ADDRESS ON FILE
GENOVEVA DOMINGUEZ HERNANDEZ        ADDRESS ON FILE
GENOVEVA GARCIA DELGADO             ADDRESS ON FILE
GENOVEVA GUZMAN DE FIGUEROA         ADDRESS ON FILE
GENOVEVA HERNANDEZ AGOSTO           ADDRESS ON FILE
GENOVEVA HERNANDEZ HERNANDEZ        ADDRESS ON FILE
GENOVEVA IRIZARRY                   ADDRESS ON FILE
GENOVEVA LOPEZ SOTO                 ADDRESS ON FILE
GENOVEVA MERCADO MENDEZ             ADDRESS ON FILE
GENOVEVA MORALES TORRES             ADDRESS ON FILE
GENOVEVA ORTIZ HERNANDEZ            ADDRESS ON FILE
GENOVEVA OSORIO QUINONES            ADDRESS ON FILE
GENOVEVA PAGAN PEREZ                ADDRESS ON FILE
GENOVEVA PEREZ GONZALEZ             ADDRESS ON FILE
GENOVEVA QUINONES RIVERA            ADDRESS ON FILE
GENOVEVA RAMIREZ / ERIC RAMIREZ     HC 1 BOX 1501                                                                                                                   BOQUERON      PR      00622
GENOVEVA RAMOS VELAZQUEZ            ADDRESS ON FILE
GENOVEVA REYES RIVERA               ADDRESS ON FILE
GENOVEVA ROSAS MORENO               ADDRESS ON FILE
GENOVEVA SOSA / AIDA FERNANDEZ      URB LAS VISTA                                      L 1 VIA DEL PARQUE                                                           SAN JUAN      PR      00924
GENOVEVA TORRES HERNANDEZ           ADDRESS ON FILE
GENOVEVA TORRES RIVERA              ADDRESS ON FILE
GENOVEVA YACE SANTOS                ADDRESS ON FILE
GENOVIE M CARDONA RIVERA            ADDRESS ON FILE
GENTE INC                           1353 AVE LUIS VIGOREAUX PMB 209                                                                                                 GUAYNABO      PR      00966‐2715
GENTECH BIOMEDICAL, INC.            PO BOX 192438 URB. LA RIVERA D‐6                                                                                                SAN JUAN      PR      00976‐0000
Genworth Life Insurance Company     6620 West Broad Street                                                                                                          Richmond      VA      23230
Genworth Life Insurance Company     Attn: DeDe Maddox, Circulation of Risk             6620 West Broad Street                                                       Richmond      VA      23230
Genworth Life Insurance Company     Attn: Gail Cleary, Consumer Complaint Contact 6620 West Broad Street                                                            Richmond      VA      23230
Genworth Life Insurance Company     Attn: Ward Boditz, Vice President                  6620 West Broad Street                                                       Richmond      VA      23230
Genworth Life Insurance Company     c/o FGR Corporate Services, Inc. , Agent for Servic6620 West Broad Street                                                       Richmond      VA      23230
GENWORTH MORGAGE INSURANCE CORP     6620 W BROAD ST BLDG 2 MS 1037                                                                                                  RICHMOND      VA      23230
GENZANA ROSARIO, DIANA L            ADDRESS ON FILE
GENZYME GENETIC COUNSELING LLC      22 BLOOMINGDALE DRIVE                                                                                                           SCARSDALE     NY      10583
GEO ENGINEERING INC                 PO BOX 270328                                                                                                                   SAN JUAN      PR      00927‐0328
GEO ENGINEERS PSC                   PO BOX 2842                                                                                                                     GUAYNABO      PR      00970
GEO MACHINE GENERAL CONT.           CARR. 861 KM. 6.7 BO. PINA                                                                                                      TOA BAJA      PR      00950
GEO POINT SURVEYING C S P           PO BOX 37345                                                                                                                    SAN JUAN      PR      00937‐0345
GEO SERVICES & ENGINEERING          PMB 586                                            PO BOX 4952                                                                  CAGUAS        PR      00726
GEOCONSULT                          PO BOX 362040                                                                                                                   SAN JUAN      PR      00936‐2040




                                                                                                                Page 3180 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3181 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                  Creditor Matrix

Creditor Name                           Address1                    Address2                                   Address3   Address4   City              State   PostalCode   Country
GEOFFREY UYEHARA UYEHARA                ADDRESS ON FILE
GEOGLEY J PEREZ                         ADDRESS ON FILE
GEOGRAPHIC APPLICATION DEVELOPES        LES JARDINS                 150 CONECTOR C APT 319                                           TRUJILLO ALTO     PR      00976‐2274
GEOGRAPHIC MAPPING TECHNOLOGIES         54 CALLE MAYAGUEZ                                                                            SAN JUAN          PR      00917
GEOGRAPHIC MAPPING TECHNOLOGIES         FRENCH PLAZA                APT 310‐81 CALLE MAYAGUEZ                                        SAN JUAN          PR      00917
GEOGRAPHIC MAPPING TECHNOLOGIES, CORP   54 CALLE MAYAGUEZ                                                                            SAN JUAN          PR      00917
GEOMATIC SURVEY GROUP INC               PO BOX 3674                                                                                  JUNCOS            PR      00777‐6674
GEOMATICA                               CHALETS DEL PARQUE          12 AVE ARBOLOTE APT 183                                          GUAYNABO          PR      00969‐5509
GEOMEDIX GROUP                          139 CALLE GEORGETTI STE 1                                                                    NARANJITO         PR      00719
GEORALYS M GONZALEZ RIVERA              ADDRESS ON FILE
GEORGE A GONZALEZ GUZMAN                ADDRESS ON FILE
GEORGE A MORALES ACEVEDO                ADDRESS ON FILE
GEORGE A POLO ORTIZ                     ADDRESS ON FILE
GEORGE A POYET RIOS                     ADDRESS ON FILE
GEORGE A RIVERA VEGA                    ADDRESS ON FILE
GEORGE A SMITH                          ADDRESS ON FILE
GEORGE ACEVEDO, BRENDA LEE              ADDRESS ON FILE
GEORGE ARZENO LOPEZ                     ADDRESS ON FILE
GEORGE B MALDONADO CORTES               ADDRESS ON FILE
GEORGE CARDENAS, JUAN                   ADDRESS ON FILE
GEORGE CHAAR                            ADDRESS ON FILE
GEORGE CLIFFORD GREENIDGE               ADDRESS ON FILE
GEORGE D PACHECO                        ADDRESS ON FILE
GEORGE DE LA ROSA CORTES                ADDRESS ON FILE
GEORGE DELGADO, ALEJANDRO               ADDRESS ON FILE
GEORGE DELGADO, COURTNEY                ADDRESS ON FILE
GEORGE DIAZ ROSADO                      ADDRESS ON FILE
GEORGE DUNTLEY REYES                    ADDRESS ON FILE
GEORGE E BONILLA AGOSTO                 ADDRESS ON FILE
GEORGE F MEDINA FLORES                  ADDRESS ON FILE
GEORGE F VELAZQUEZ GRILLO               ADDRESS ON FILE
GEORGE FERNANDEZ/MANUEL FERNANDEZ       ADDRESS ON FILE
GEORGE FIGUEROA COLON                   ADDRESS ON FILE
GEORGE GARCIA, IVAN                     ADDRESS ON FILE
GEORGE GARIB GURREA                     ADDRESS ON FILE
GEORGE GONZALEZ, ALEXANDER              ADDRESS ON FILE
GEORGE GONZALEZ, EUSEBIO                ADDRESS ON FILE
GEORGE HERNANDEZ, YAMIRA                ADDRESS ON FILE
GEORGE IGUINA, MARIETA                  ADDRESS ON FILE
GEORGE IGUINA, REBECA                   ADDRESS ON FILE
GEORGE J POIANI MAYO                    ADDRESS ON FILE
GEORGE J. KONING MEDINA                 ADDRESS ON FILE
GEORGE K RIVERA MERCADO                 ADDRESS ON FILE
GEORGE K. CARLE MIRANDA                 ADDRESS ON FILE
GEORGE KAMARINOS RODRIGUEZ              ADDRESS ON FILE
GEORGE L BONET ORTIZ                    ADDRESS ON FILE
GEORGE L FLORES MASSAS                  ADDRESS ON FILE
GEORGE L MAYMI                          ADDRESS ON FILE
GEORGE L PEREZ FIGUEROA                 ADDRESS ON FILE
GEORGE L. PEHARPRE                      ADDRESS ON FILE
GEORGE LOPEZ, HECTOR                    ADDRESS ON FILE
GEORGE LOPEZ, WANDA                     ADDRESS ON FILE
GEORGE LOUIS EDWARDS RODRIGUEZ          ADDRESS ON FILE
GEORGE LUGO TORRES                      ADDRESS ON FILE
GEORGE M MUNIZ ALVARADO                 ADDRESS ON FILE
GEORGE MARRERO MARRERO                  ADDRESS ON FILE
George Marrero, Margarita               ADDRESS ON FILE
GEORGE MARTINEZ, MIGUEL                 ADDRESS ON FILE
GEORGE MORALES VILA                     ADDRESS ON FILE
GEORGE MOTTLEY FLORES                   ADDRESS ON FILE




                                                                                                Page 3181 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3182 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                           Address1                            Address2                               Address3      Address4   City           State   PostalCode   Country
GEORGE MUNOZ                            ADDRESS ON FILE
GEORGE NEGRON, NYREE                    ADDRESS ON FILE
GEORGE NELSON VILA                      ADDRESS ON FILE
GEORGE NESTE BOSCH                      ADDRESS ON FILE
GEORGE P RIVERA GONZALEZ                ADDRESS ON FILE
GEORGE PAUL FAHED INIGO                 ADDRESS ON FILE
GEORGE PEREIRA HERNANDEZ                ADDRESS ON FILE
GEORGE PERELLO, DAVID                   ADDRESS ON FILE
GEORGE PEREZ TORRES                     ADDRESS ON FILE
GEORGE R BOLHWELL MORALES DBA           CARR 172 CERTENEJAS KM 7.5                                                                          CIDRA          PR      00739
GEORGE R. BOTHWELL MORALES              ADDRESS ON FILE
GEORGE R. BOTHWELL MORALES DBA REFRIW PO BOX URB. HAC. PRIMAVERA BUZON 14                                                                   CIDRA          PR      00739‐0000
GEORGE RAMIREZ, LEONORA                 ADDRESS ON FILE
GEORGE RINCON, FRANCISCO A              ADDRESS ON FILE
GEORGE RIOS, AUREA                      ADDRESS ON FILE
GEORGE RIVERA PEREZ                     ADDRESS ON FILE
GEORGE ROLON MOJICA                     ADDRESS ON FILE
GEORGE ROLON MORA                       ADDRESS ON FILE
GEORGE SANCHEZ JR                       ADDRESS ON FILE
GEORGE SANTIAGO, ELDRED                 ADDRESS ON FILE
GEORGE SEPULVEDA ACABEO                 ADDRESS ON FILE
GEORGE STEIDEL NAVARRO                  ADDRESS ON FILE
GEORGE VELEZ VELEZ                      ADDRESS ON FILE
GEORGE W RODRIGUEZ RODRIGUEZ            ADDRESS ON FILE
GEORGE YOUNG INSTALLATIONS P R          295 PALMAS INN WAY STE 130                                                                          HUMACAO        PR      00791‐6252
GEORGE ZEPEDA CRUZ                      ADDRESS ON FILE
GEORGE, CYRILLE                         ADDRESS ON FILE
GEORGESHUA ECHEVARRIA CUEVAS            ADDRESS ON FILE
GEORGETOWN SLEEP CENTER                 MEDICAL RECORDS                     3121 NORTHWEST BLVD                                             GEORGETOWN     TX      78628‐4225
GEORGETTE RODRIGUEZ FIGUEROA            ADDRESS ON FILE
GEORGI COLLAZO, BLANCA N                ADDRESS ON FILE
GEORGI COLON, LYDIA                     ADDRESS ON FILE
GEORGI RODRIGUEZ, HAYDEE                ADDRESS ON FILE
GEORGI RODRIGUEZ, JESUS M               ADDRESS ON FILE
GEORGI RODRIGUEZ, MIRIAM                ADDRESS ON FILE
GEORGIA CARDONA RUIZ                    ADDRESS ON FILE
GEORGIANA ORTIZ DEXTER Y MBCD           AREA DEL TESORO                     CONTADURIA GENERAL                                              SAN JUAN       PR      00902
GEORGIANNA SOSA ROMERO                  ADDRESS ON FILE
GEORGIANNE OCASIO                       ADDRESS ON FILE
GEORGIE COLON, RAMONITA                 ADDRESS ON FILE
GEORGIE DELIVERY SERVICE INC            PO BOX 9022194                                                                                      SAN JUAN       PR      00902‐2194
GEORGIE J ROSARIO QUINONES              ADDRESS ON FILE
GEORGINA AGUIAR RIVERA                  ADDRESS ON FILE
GEORGINA ANDINO PENA                    ADDRESS ON FILE
GEORGINA AQUINO MAISONET                ADDRESS ON FILE
GEORGINA AUFFANT HOME CENTER            URB COUNTRY CLUB                    784 AVE CAMPO RICO                                              SAN JUAN       PR      00924
GEORGINA BENÍTEZ PAULO Y VÍCTOR M ARAMBAOSCAR ACARÓN MONTALVO               322 CALLE JOHN ALBERT                  SUITE 201‐A              SAN JUAN       PR      00920‐1605
GEORGINA BONILLA ORTIZ                  ADDRESS ON FILE
GEORGINA CANDAL                         ADDRESS ON FILE
GEORGINA CANDELARIO OQUENDO             ADDRESS ON FILE
GEORGINA CARRASQUILLO FALERO            ADDRESS ON FILE
GEORGINA CARRASQUILLO FALERO            LCDO. FERNANDO SANTIAGO ORTIZ       PLAZA                                  CAROLINA      STATION    CAROLINA       PR      00988‐8816
GEORGINA CARTAGENA BENITEZ              ADDRESS ON FILE
GEORGINA CASTILLO POLANCO               ADDRESS ON FILE
GEORGINA CLEMENTE GARCIA                ADDRESS ON FILE
GEORGINA COLON GARCIA                   ADDRESS ON FILE
GEORGINA CONCEPCION CLEMENTE            ADDRESS ON FILE
GEORGINA CORTES CORDERO                 ADDRESS ON FILE
GEORGINA DE JESUS CRUZ                  ADDRESS ON FILE
GEORGINA DELGADO OQUENDO                ADDRESS ON FILE




                                                                                                    Page 3182 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3183 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                             Creditor Matrix

Creditor Name                          Address1                                Address2                                   Address3      Address4   City            State   PostalCode   Country
GEORGINA ESPINAL PEREZ                 ADDRESS ON FILE
GEORGINA ESTRADA RAMOS                 ADDRESS ON FILE
GEORGINA FONTANEZ MURIEL               ADDRESS ON FILE
GEORGINA GONZALEZ GONZALEZ             ADDRESS ON FILE
GEORGINA IVALDI                        ADDRESS ON FILE
GEORGINA LOPEZ RIVERA                  ADDRESS ON FILE
GEORGINA M SERRANO FRASGUET            ADDRESS ON FILE
GEORGINA M SERRANO FRASGUET            ADDRESS ON FILE
GEORGINA MERCADO                       ADDRESS ON FILE
GEORGINA MUNIZ / CARMEN M PADIN        ADDRESS ON FILE
GEORGINA NEGRON FRANCO                 ADDRESS ON FILE
GEORGINA NIEVES GARCIA                 ADDRESS ON FILE
GEORGINA PAGAN MARQUEZ                 ADDRESS ON FILE
GEORGINA PLANELL ENSENAT               ADDRESS ON FILE
GEORGINA RIVERA GONZALEZ               ADDRESS ON FILE
GEORGINA RIVERA MORENO                 ADDRESS ON FILE
GEORGINA RODRIGUEZ                     ADDRESS ON FILE
GEORGINA RODRIGUEZ FEBUS               ADDRESS ON FILE
GEORGINA RODRIGUEZ ROMAN               ADDRESS ON FILE
GEORGINA SANCHEZ SUAREZ                ADDRESS ON FILE
GEORGINA SANCHEZ SUAREZ                ADDRESS ON FILE
GEORGINA SANTIAGO RODRIGUEZ            ADDRESS ON FILE
GEORGINA TORREGROSA                    ADDRESS ON FILE
GEORGINA VELEZ CORTES                  ADDRESS ON FILE
GEORGINA VELEZ RIVERA                  ADDRESS ON FILE
GEORGINA VENCE DBA EBANISTERIA FERRER  AVE. CAIMITO A ‐ 2 URB. HILLSIDE                                                                            SAN JUAN        PR      00926‐5201
GEORLINE CARRASQUILLO CARMONA          ADDRESS ON FILE
GEORMARY GONZALEZ BAREA                ADDRESS ON FILE
GEOSAN TROPHY EMBRODERY & FRAME SHOP INURB TOA ALTA HEIGHTS P8 CALLE 19                                                                            TOA ALTA        PR      00953
GEOSISTEMAS INC                        PO BOX 22540                                                                                                SAN JUAN        PR      00931‐2540
GEOSPATIAL TRAINING SERVICES           200770 HIGWAY 281 NORTH #108‐135                                                                            SAN ANTONIO     TX      78258
GEOSPATIAL TRAINING SERVICES LLC       215 W BANDRA 114‐104                                                                                        BOERNE          TX      78006
GEOTECHNICAL ENGINEERING SERVICES      URB CROWN HLS                           138 AVE WINSTON CHURCHILL STE 1 PMB 343                             SAN JUAN        PR      00926
GEOVAN ORTIZ DE JESUS                  ADDRESS ON FILE
GEOVANI ARCE ROSALES                   ADDRESS ON FILE
GEOVANIE AROCHO PAGAN                  ADDRESS ON FILE
GEOVANIE AROCHO PAGAN                  ADDRESS ON FILE
GEOVANIE BRAVO ALMODOVAR               ADDRESS ON FILE
GEOVANIE DIAZ SERRANO                  ADDRESS ON FILE
GEOVANNA DE CASTRO                     ADDRESS ON FILE
GEOVANNA GONZALEZ CRUZ                 ADDRESS ON FILE
GEOVANNA M. FIGUEROA LOPEZ             ADDRESS ON FILE
GEOVANNE ORTIZ SANTIAGO                ADDRESS ON FILE
GEOVANNI A CRESPO PENA                 ADDRESS ON FILE
GEOVANNI A FERNANDEZ DEL VALLE         ADDRESS ON FILE
GEOVANNI A TORRES ESTREMERA            ADDRESS ON FILE
GEOVANNI ANDUJAR ACOSTA                ADDRESS ON FILE
GEOVANNI MEDINA RIVERA                 ADDRESS ON FILE
GEOVANNI PAGAN HERNANDEZ               ADDRESS ON FILE
GEOVANNI PEREZ ANTONETI                ADDRESS ON FILE
GEOVANNI VEGA SUAREZ                   ADDRESS ON FILE
GEOVANNIE COTTO TRINIDAD               ADDRESS ON FILE
GEOVANNIE N TANON ORTIZ                ADDRESS ON FILE
GEOVANNIE NIEVES FIGUEROA              ADDRESS ON FILE
GEOVANNIE PAGAN ROGER                  ADDRESS ON FILE
GEOVANNIE S SERRANO MONTALVO           ADDRESS ON FILE
GEOVANNY MALDONADO CRUZ                ADDRESS ON FILE
GEOVANNY MARTINEZ PENA                 ADDRESS ON FILE
GEOVANNY ORTIZ PEREZ                   LCDA. CYNTHIA G. ESPENDEZ SANTISTEBAN   CALLE BALDORIOTY 63 OESTE LOCAL 102        PO BOX 1113              GUAYAMA         PR      00785
GEOVANNY R VILLANUEVA HERNANDEZ        ADDRESS ON FILE




                                                                                                           Page 3183 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3184 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                    Address2                       Address3   Address4   City            State   PostalCode   Country
GEOVANNY ROMAN BELLIDO              ADDRESS ON FILE
GEOVANY CRUZ VILLAFANE              ADDRESS ON FILE
GEOVANY PEREZ BORGES                ADDRESS ON FILE
GEOVANY PEREZ MONTANEZ              ADDRESS ON FILE
Gerace Velez, Michael C.            ADDRESS ON FILE
GERACE VELEZ, MICHAEL C.            ADDRESS ON FILE
GERALD A ALBERT CRUZ                ADDRESS ON FILE
GERALD A CEBALLOS ROSA/ AIDA ROSA   ADDRESS ON FILE
GERALD A RIVERA GARCIA              ADDRESS ON FILE
GERALD A ROSADO ROSARIO             ADDRESS ON FILE
GERALD ALVARADO LOPEZ               ADDRESS ON FILE
GERALD C MAZO CRUZADO               ADDRESS ON FILE
GERALD COLON TORRES                 ADDRESS ON FILE
GERALD FUENTES RODRIGUEZ            ADDRESS ON FILE
GERALD FUENTES RODRIGUEZ            ADDRESS ON FILE
GERALD J SULLIVAN & ASSOCIATES      800 W 6TH STREET STE 1800                                                        LOS ANGELES     CA      90017
GERALD LATORRE VARELA               ADDRESS ON FILE
GERALD LAUBER                       ADDRESS ON FILE
GERALD MUNIZ ALICEA                 ADDRESS ON FILE
GERALD MUNIZ VAZQUEZ                ADDRESS ON FILE
GERALD QUINTERO QUINTERO            ADDRESS ON FILE
GERALD RODRIGUEZ CARMONA            ADDRESS ON FILE
GERALD SANCHEZ FUENTES              ADDRESS ON FILE
GERALD SOTO NIEVES                  ADDRESS ON FILE
GERALD TORRES NIEVES                ADDRESS ON FILE
GERALD VILLANUEVA SOLIVAN           ADDRESS ON FILE
GERALD WOODS HERNANDEZ              ADDRESS ON FILE
GERALD X SANTIAGO OCASIO            ADDRESS ON FILE
GERALDA VAZQUEZ QUINONES            ADDRESS ON FILE
GERALDINA TORRES RODRIGUEZ          ADDRESS ON FILE
GERALDINE COLON ORTIZ               ADDRESS ON FILE
GERALDINE FELIU RABASSA             ADDRESS ON FILE
GERALDINE FRIEDMAN                  ADDRESS ON FILE
GERALDINE GUAL BONILLA              ADDRESS ON FILE
GERALDINE GUAL BONILLA              ADDRESS ON FILE
GERALDINE J FERNANDEZ GIRONA        ADDRESS ON FILE
GERALDINE M. ALVARADO CRUZ          ADDRESS ON FILE
GERALDINE M. FARRULLA ROSARIO       ADDRESS ON FILE
GERALDINE MAYO ALBUQUERQUE          ADDRESS ON FILE
GERALDINE MAYO ALBURQUERQUE         ADDRESS ON FILE
GERALDINE NIEVES FUENTES            ADDRESS ON FILE
GERALDINE NIEVES FUENTES            ADDRESS ON FILE
GERALDINE RAMOS VAZQUEZ             ADDRESS ON FILE
GERALDINE RODRIGUEZ VIZCARRONDO     ADDRESS ON FILE
GERALDINE ROSARIO BORRERO           ADDRESS ON FILE
GERALDINE SANTANA BURGOS            ADDRESS ON FILE
GERALDINE TOLLINCHE MAS             ADDRESS ON FILE
GERALDINE TOLLINCHE MAS             ADDRESS ON FILE
GERALDINE ZERE BOGUHET              ADDRESS ON FILE
GERALDINO AMADIS, HELPHIS           ADDRESS ON FILE
GERALDINO MALDONADO MALAVE          ADDRESS ON FILE
GERALDINO MEDINA, JESSICA S         ADDRESS ON FILE
GERALDINO MUÑIZ MD, JULIO E         ADDRESS ON FILE
GERALDINO MUNIZ, CARMEN L           ADDRESS ON FILE
GERALDINO RIVERA ROLON              ADDRESS ON FILE
GERALDITA GONZALEZ RIVERA           ADDRESS ON FILE
GERALDO ALVARADO MALAVE             ADDRESS ON FILE
GERALDO AYBAR, ANA                  ADDRESS ON FILE
GERALDO CARLO MUNIZ                 ADDRESS ON FILE
GERALDO COLON TORRES                ADDRESS ON FILE




                                                                                Page 3184 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3185 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GERALDO COLON VELAZQUEZ           ADDRESS ON FILE
GERALDO DAVILA TRABAL             ADDRESS ON FILE
GERALDO E MEDINA RIVERA           ADDRESS ON FILE
GERALDO FIDALGO DOMINGUEZ         ADDRESS ON FILE
GERALDO HERNANDEZ FELICIANO       ADDRESS ON FILE
GERALDO IRIZARRY RUIZ             ADDRESS ON FILE
GERALDO J LOPEZ ROMAN             ADDRESS ON FILE
GERALDO J NIEVES MONTANEZ         ADDRESS ON FILE
GERALDO JAVIER FIGUEROA CINTRON   ADDRESS ON FILE
GERALDO L GARCIA RODRIGUEZ        ADDRESS ON FILE
GERALDO M BISBAL MELERO           ADDRESS ON FILE
GERALDO M SANTIAGO CORDERO        ADDRESS ON FILE
GERALDO MARTINEZ BAEZ             ADDRESS ON FILE
GERALDO MARTINEZ CAMACHO          ADDRESS ON FILE
GERALDO MEDINA MARTINEZ           ADDRESS ON FILE
GERALDO MIRANDA MORALES           ADDRESS ON FILE
GERALDO MUNIZ                     ADDRESS ON FILE
GERALDO NEGRON FOSSE              ADDRESS ON FILE
GERALDO NUNEZ APONTE              ADDRESS ON FILE
GERALDO OLAN MARTINEZ             ADDRESS ON FILE
GERALDO ORTIZ MELENDEZ            ADDRESS ON FILE
GERALDO ORTIZ SANTANA             ADDRESS ON FILE
GERALDO P RODRIGUEZ LEON          ADDRESS ON FILE
GERALDO R SANTOS RIVERA           ADDRESS ON FILE
Geraldo Reynoso, Manuel U.        ADDRESS ON FILE
GERALDO RIVERA CRUZ               ADDRESS ON FILE
GERALDO RODRIGUEZ FIGUEROA        ADDRESS ON FILE
GERALDO RODRIGUEZ GALARZA         ADDRESS ON FILE
GERALDO RODRIGUEZ QUILES          ADDRESS ON FILE
GERALDO RODRIGUEZ RAMOS           ADDRESS ON FILE
GERALDO RODRIGUEZ RIOS            ADDRESS ON FILE
GERALDO RODRIGUEZ TORRES          ADDRESS ON FILE
GERALDO SANTOS RIVERA             ADDRESS ON FILE
GERALDO SUAREZ ROMAN              ADDRESS ON FILE
GERALDO TORRES SANTIAGO           ADDRESS ON FILE
GERALDO VALENTIN ROMAN            ADDRESS ON FILE
GERALDO VEGA PINA                 ADDRESS ON FILE
GERALDO VELAZQUEZ GONZALEZ        ADDRESS ON FILE
GERALDO VILLANUEVA CORTES         ADDRESS ON FILE
GERALEE VEGA MORALES              ADDRESS ON FILE
GERALINE GARCIA PIETRI            ADDRESS ON FILE
GERANID PAGAN ASTACIO             ADDRESS ON FILE
GERANNIE SANCHEZ FERREIRA         ADDRESS ON FILE
GERARD F ACROWS JEAN              ADDRESS ON FILE
GERARD FRANZ ACLOQUES JEAN        ADDRESS ON FILE
GERARD R. AIME JEROME             ADDRESS ON FILE
GERARD RAMOS MARTIN               ADDRESS ON FILE
GERARD RIVERA DIAZ                ADDRESS ON FILE
GERARD SANCHEZ MAISONET           ADDRESS ON FILE
GERARD VEGA COTTY                 ADDRESS ON FILE
GERARDA I ANDUJAR RODRIGUEZ       ADDRESS ON FILE
GERARDINA BERMUDEZ DE LOPEZ       ADDRESS ON FILE
GERARDINA CABASQUINI FELICIANO    ADDRESS ON FILE
GERARDINA NIEVES CRUZ             ADDRESS ON FILE
GERARDINA TORRES CAMACHO          ADDRESS ON FILE
GERARDINO BELTRAN, JANET          ADDRESS ON FILE
GERARDINO NARVAEZ, LIZA M.        ADDRESS ON FILE
GERARDINO REYES, MARIA DE         ADDRESS ON FILE
GERARDINO RODRIGUEZ, MILDRED      ADDRESS ON FILE
GERARDINO VALENTIN, MARIA         ADDRESS ON FILE




                                                                              Page 3185 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3186 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                            Address1                         Address2                        Address3   Address4   City         State   PostalCode   Country
GERARDINO, JUAN                          ADDRESS ON FILE
GERARDO A ALVAREZ CARDIN                 ADDRESS ON FILE
GERARDO A BARTOLOMEI BALAY               ADDRESS ON FILE
GERARDO A BONILLA MALDONADO              ADDRESS ON FILE
GERARDO A CARLO ALTIERI                  ADDRESS ON FILE
GERARDO A CARLO ALTIERI                  ADDRESS ON FILE
GERARDO A CRUZ BERRIOS                   ADDRESS ON FILE
GERARDO A DELGADO FLORES                 ADDRESS ON FILE
GERARDO A DIAZ BONILLA                   ADDRESS ON FILE
GERARDO A MEDINA SONERA                  ADDRESS ON FILE
GERARDO A MOYA COLOMBANI                 ADDRESS ON FILE
GERARDO A MULERO ZAPATA                  ADDRESS ON FILE
GERARDO A RODRIGUEZ NEGRON               ADDRESS ON FILE
GERARDO A SUAREZ ROBLES                  ADDRESS ON FILE
GERARDO A. GOMEZ CORDOVA                 ADDRESS ON FILE
GERARDO ALBERTO BARTOLOMEI               ADDRESS ON FILE
GERARDO ALMENAS TORRES                   ADDRESS ON FILE
GERARDO ALONZO CRUZ                      ADDRESS ON FILE
GERARDO ANTONIO ROMERO MARCANO           ADDRESS ON FILE
GERARDO ANTONIO TORRES MALDONADO         ADDRESS ON FILE
GERARDO APONTE RIVERA                    ADDRESS ON FILE
GERARDO ARIEL MEDINA LAMELA DBA VERTICAL ADDRESS ON FILE
GERARDO ARISTUD CORREA                   ADDRESS ON FILE
GERARDO ARROYO SENGOTITA                 LCDO. GUILLERMO ALEMAÑY RIVERA   PO BOX 1167                                           Bayamón      PR      00960‐1167
GERARDO ARROYO SENGOTITA                 LCDO. JOSÉ REYES HERNÁNDEZ       PO BOX 3621000                                        SAN JUAN     PR      00936‐2100
GERARDO BAEZ MONTANEZ                    ADDRESS ON FILE
GERARDO BERMUDEZ CAPACETTI               ADDRESS ON FILE
GERARDO BERRIOS RIOS                     ADDRESS ON FILE
GERARDO BURGOS AVILES                    ADDRESS ON FILE
GERARDO C MARTINEZ SANTINI               ADDRESS ON FILE
GERARDO C PEREZ GARCIA                   ADDRESS ON FILE
GERARDO CANUELAS VEGA                    ADDRESS ON FILE
Gerardo Capielo Colon                    ADDRESS ON FILE
GERARDO CARINO MANCILLA                  ADDRESS ON FILE
GERARDO CARRASQUILLO ALVAREZ             ADDRESS ON FILE
GERARDO CARTAGENA COLON                  ADDRESS ON FILE
GERARDO CARTAGENA MONTES                 ADDRESS ON FILE
GERARDO CHARRIEZ VAZQUEZ                 ADDRESS ON FILE
GERARDO CLAUDIO VELEZ                    ADDRESS ON FILE
GERARDO COLON RODRIGUEZ                  ADDRESS ON FILE
GERARDO COLON SERRANO                    ADDRESS ON FILE
GERARDO CRUZ ORTIZ / ESTELA ORTIZ        ADDRESS ON FILE
GERARDO CRUZ QUESADO                     ADDRESS ON FILE
GERARDO CRUZADA MALDONADO                ADDRESS ON FILE
GERARDO CUBANO CALDERON                  ADDRESS ON FILE
GERARDO D. CASTRODAD                     ADDRESS ON FILE
GERARDO DAVILA GONZALEZ                  ADDRESS ON FILE
GERARDO DAVILA GONZALEZ                  ADDRESS ON FILE
GERARDO DE JESUS SANCHEZ                 ADDRESS ON FILE
GERARDO DE JESUS VERDEJO                 ADDRESS ON FILE
GERARDO DIAZ MELENDEZ                    ADDRESS ON FILE
GERARDO E ALEMAN RIVERA                  ADDRESS ON FILE
GERARDO E CHARRIEZ FRANCO                ADDRESS ON FILE
GERARDO E TIRADO                         ADDRESS ON FILE
GERARDO ECHEVARRIA ECHEVARRIA            ADDRESS ON FILE
GERARDO ESTRADA FERRER                   ADDRESS ON FILE
GERARDO F CEDENO                         ADDRESS ON FILE
GERARDO FERRAO IZQUIERDO                 ADDRESS ON FILE
GERARDO FIGUEROA SANTOS                  ADDRESS ON FILE
GERARDO FIGUEROA VALLEJO                 ADDRESS ON FILE




                                                                                           Page 3186 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3187 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                           Address1                 Address2                           Address3   Address4   City       State   PostalCode   Country
GERARDO FIGUEROA VALLEJO                ADDRESS ON FILE
GERARDO FLORES GARCIA                   ADDRESS ON FILE
GERARDO FLORES GARCIA                   ADDRESS ON FILE
GERARDO FLORES GARCIA                   ADDRESS ON FILE
GERARDO FLORES MALAVE                   ADDRESS ON FILE
GERARDO G SOTOMAYOR LUGO                ADDRESS ON FILE
GERARDO G. GONZALEZ RODRIGUEZ           ADDRESS ON FILE
GERARDO G. JOVET TOLEDO                 ADDRESS ON FILE
GERARDO G. SANCHEZ TELLO                ADDRESS ON FILE
GERARDO GARCIA MARQUEZ                  ADDRESS ON FILE
GERARDO GARCIA RODRIGUEZ                YADIRA MANFREDY RAMOS                                2905                         Ponce      PR      00716‐3616
GERARDO GARCIA ROSA                     ADDRESS ON FILE
GERARDO GEORGI RODRIGUEZ                ADDRESS ON FILE
GERARDO GONZALEZ BERRIOS                ADDRESS ON FILE
GERARDO GONZALEZ DELGADO                ADDRESS ON FILE
GERARDO GONZALEZ MIRANDA                ADDRESS ON FILE
GERARDO GONZALEZ NUNEZ                  ADDRESS ON FILE
GERARDO GONZALEZ NUNEZ                  ADDRESS ON FILE
GERARDO GONZALEZ PALAU                  ADDRESS ON FILE
GERARDO GONZALEZ RIVERA                 ADDRESS ON FILE
GERARDO GONZALEZ ROMAN                  ADDRESS ON FILE
GERARDO H TIRADO TORRES                 ADDRESS ON FILE
GERARDO HERNANDEZ PENA                  ADDRESS ON FILE
GERARDO IRIZARRY PEREZ                  ADDRESS ON FILE
GERARDO J ACEVEDO CLAUDIO               ADDRESS ON FILE
GERARDO J ARRIBAS RIVERA                ADDRESS ON FILE
GERARDO J DIAZ VAZQUEZ                  ADDRESS ON FILE
GERARDO J MATIAS ECHEVARRIA             ADDRESS ON FILE
GERARDO J PAGAN MARTINEZ                ADDRESS ON FILE
GERARDO J RAMOS VELAZQUEZ               ADDRESS ON FILE
GERARDO J RIVERA SANTIAGO/WANDA SANTIAG ADDRESS ON FILE
GERARDO J TORRES FENANDEZ               ADDRESS ON FILE
GERARDO J TORRES NEGRON                 ADDRESS ON FILE
GERARDO J TORRES ORTEGA                 ADDRESS ON FILE
GERARDO J. RUIZ SANTIAGO                ADDRESS ON FILE
GERARDO JIMENEZ SANTIAGO                ADDRESS ON FILE
GERARDO JOSE VEGA                       ADDRESS ON FILE
GERARDO L COLON CRUZ                    ADDRESS ON FILE
GERARDO L FIGUEROA ROSADO               ADDRESS ON FILE
GERARDO L IRIZARRY GARCIA               ADDRESS ON FILE
GERARDO L PEREZ LOPEZ                   ADDRESS ON FILE
GERARDO L RAMIREZ BAEZ                  ADDRESS ON FILE
GERARDO L SANTIAGO RODRIGUEZ            ADDRESS ON FILE
GERARDO L VELAZQUEZ VERA                ADDRESS ON FILE
GERARDO L. MARTINEZ CARRASQUILLO        ADDRESS ON FILE
GERARDO L. ROSADO RUBERTE               ADDRESS ON FILE
GERARDO L. SANTIAGO RODRIGUEZ           ADDRESS ON FILE
GERARDO LANZOT MONTOYO                  ADDRESS ON FILE
GERARDO LAZARO MUNOZ                    ADDRESS ON FILE
GERARDO LEBRON ELUGARDO                 ADDRESS ON FILE
GERARDO LEYRO RAMOS                     ADDRESS ON FILE
GERARDO LOPEZ DEL VALLE                 ADDRESS ON FILE
GERARDO LOPEZ MARTINEZ                  ADDRESS ON FILE
GERARDO LOPEZ MORALES                   ADDRESS ON FILE
GERARDO LOPEZ VALE                      ADDRESS ON FILE
GERARDO LOZADA CRUZ                     ADDRESS ON FILE
GERARDO LUGO PORTALIN                   ADDRESS ON FILE
GERARDO M HERNANDEZ GUZMAN              ADDRESS ON FILE
GERARDO M MENA QUINONEZ                 ADDRESS ON FILE
GERARDO M PAVIA CABANILLAS              ADDRESS ON FILE




                                                                                   Page 3187 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3188 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                         Address1                        Address2                                    Address3   Address4   City            State   PostalCode   Country
GERARDO M PLAZA MALDONADO             ADDRESS ON FILE
GERARDO M. DIAZ MERCADO               ADDRESS ON FILE
GERARDO MALAVE GONZALEZ               ADDRESS ON FILE
GERARDO MALAVE VELAZQUEZ POLOS & MORE URB COUNTRY CLUB                G‐06‐2 AVE SANCHEZ VILELLA                                        CAROLINA        PR      00982
GERARDO MALDOMNADO MUNOZ              ADDRESS ON FILE
GERARDO MALDONADO MUNOZ               ADDRESS ON FILE
GERARDO MARCUCCI ACOBES               ADDRESS ON FILE
GERARDO MARTINEZ QUINONES             ADDRESS ON FILE
GERARDO MARTINEZ QUINONEZ             ADDRESS ON FILE
GERARDO MARTINEZ RODRIGUEZ            ADDRESS ON FILE
GERARDO MASS QUINONES                 ADDRESS ON FILE
GERARDO MEAUX CARDONA                 ADDRESS ON FILE
GERARDO MEAUX PEREDA                  ADDRESS ON FILE
GERARDO MEDINA ALBINO                 ADDRESS ON FILE
GERARDO MEDINA CINTRON                ADDRESS ON FILE
GERARDO MILAN SANCHEZ                 ADDRESS ON FILE
GERARDO MONTANEZ                      ADDRESS ON FILE
GERARDO MONTANEZ CARTAGENA            ADDRESS ON FILE
GERARDO MONTANEZ MARRERO              ADDRESS ON FILE
GERARDO MORA PAGAN                    ADDRESS ON FILE
GERARDO MORALES CARMONA               ADDRESS ON FILE
GERARDO MORALES SOTO                  ADDRESS ON FILE
GERARDO MORELL MARRERO                ADDRESS ON FILE
GERARDO MORERA DEL CAMPO              ADDRESS ON FILE
GERARDO MUÑIZ                         LCDO. RAFAEL RAMÍREZ VALENTÍN   HC 02 BOX 7252                                                    HORMIGUEROS     PR      00660
GERARDO NIEVES ORTIZ                  ADDRESS ON FILE
GERARDO NUNEZ MAYO L                  ADDRESS ON FILE
GERARDO O NEILL GARAY                 ADDRESS ON FILE
GERARDO OLAN HERNANDEZ                ADDRESS ON FILE
GERARDO OLIVENCIA ALMODOVAR           ADDRESS ON FILE
GERARDO OLIVERAS VALLE                ADDRESS ON FILE
GERARDO ORTEGA BETANCOURT             ADDRESS ON FILE
GERARDO ORTIZ COLON                   ADDRESS ON FILE
GERARDO ORTIZ LEON                    ADDRESS ON FILE
GERARDO ORTIZ QUILES                  ADDRESS ON FILE
GERARDO PACHECO LOPEZ                 ADDRESS ON FILE
GERARDO PENA LANUZA                   ADDRESS ON FILE
GERARDO PENA LANUZA                   ADDRESS ON FILE
GERARDO PEREZ / DACHO SERV.STA.       ADDRESS ON FILE
GERARDO PEREZ LOPEZ                   ADDRESS ON FILE
GERARDO PEREZ RIVERA                  ADDRESS ON FILE
GERARDO PEREZ ROMAN                   ADDRESS ON FILE
GERARDO PLAZA LUCIANO                 ADDRESS ON FILE
GERARDO QUINONES RAMIREZ              ADDRESS ON FILE
GERARDO R ACOSTA RODRIGUEZ            ADDRESS ON FILE
GERARDO R ALVAREZ MALDONADO           ADDRESS ON FILE
GERARDO R LOZANO MOJICA               ADDRESS ON FILE
GERARDO R ROSA FELICIANO              ADDRESS ON FILE
GERARDO RAMIREZ APONTE                ADDRESS ON FILE
GERARDO RAMOS                         ADDRESS ON FILE
GERARDO RAMOS DIAZ                    ADDRESS ON FILE
GERARDO RAMOS RIVERA                  ADDRESS ON FILE
GERARDO REMESAL SANTIAGO              ADDRESS ON FILE
GERARDO RESTO QUINONES                ADDRESS ON FILE
GERARDO RIVEA ORTIZ                   ADDRESS ON FILE
GERARDO RIVERA BARRETO                ADDRESS ON FILE
GERARDO RIVERA DIAZ                   ADDRESS ON FILE
GERARDO RIVERA FIGUEROA               ADDRESS ON FILE
GERARDO RIVERA MOLINA                 ADDRESS ON FILE
GERARDO RIVERA PABON                  ADDRESS ON FILE




                                                                                                   Page 3188 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 3189 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                            Address1                                 Address2                                   Address3           Address4        City              State   PostalCode   Country
GERARDO RIVERA RAMOS                     ADDRESS ON FILE
GERARDO RIVERA RIVERA                    ADDRESS ON FILE
GERARDO RIVERA ROMAN                     ADDRESS ON FILE
GERARDO RIVERA ROMAN                     ADDRESS ON FILE
GERARDO RIVERA RUIZ                      DEMANDANTE POR DERECHO PROPIO            INSTITUCIÓN MÁXIMA SEGURIDAD              Ponce: 3793         Ponce BY PASS   PONCE             PR      00728‐1504
GERARDO RIVERA RUIZ                      LCDO. JUAN CARLOS RIOS PÉREZ             LCDO. JUAN CARLOS RÍOS PÉREZ PO BOX 9020443                                   SAN JUAN          PR      00902‐0443
GERARDO RIVERA SANTIAGO / WANDA SANTIAG ADDRESS ON FILE
GERARDO RIVERA TIRO / EXTINTORES RIVERA  ADDRESS ON FILE
GERARDO RIVERA TIRO DBA EXTINTORES RIVER PO BOX 7850                                                                                                            PONCE             PR      00732‐7850
GERARDO RIVERA TIRO DBA EXTINTORES RIVER URB. STA. TERESITA CALLE 1AD‐20                                                                                        PONCE             PR      00731‐0000
GERARDO ROBLES RIVERA                    ADDRESS ON FILE
GERARDO RODRIGUEZ AYALA                  ADDRESS ON FILE
GERARDO RODRIGUEZ CARRERAS               ADDRESS ON FILE
GERARDO RODRIGUEZ LUCIANO                ADDRESS ON FILE
GERARDO RODRIGUEZ LUGO                   ADDRESS ON FILE
GERARDO RODRIGUEZ RIVERA                 ADDRESS ON FILE
GERARDO RODRIGUEZ RODRIGUEZ              ADDRESS ON FILE
GERARDO RODRIGUEZ TORRES                 ADDRESS ON FILE
GERARDO ROMAN COLON                      ADDRESS ON FILE
GERARDO ROMAN TORRES                     ADDRESS ON FILE
GERARDO ROSA FELICIANO                   ADDRESS ON FILE
GERARDO ROSAS GALLOZA                    ADDRESS ON FILE
GERARDO RUIZ GONZALEZ                    ADDRESS ON FILE
GERARDO RUIZ RAMIREZ                     ADDRESS ON FILE
GERARDO RUIZ SANCHEZ                     ADDRESS ON FILE
GERARDO SANTIAGO ORTIZ                   ADDRESS ON FILE
GERARDO SANTIAGO PADILLA                 ADDRESS ON FILE
GERARDO SANTIAGO RODRIGUEZ               ADDRESS ON FILE
GERARDO SARONA BELISO                    LCDO. REYNALDO ACEVEDO VÉLEZ             LCDO. REYNALDO ACEVEDO VÉLEZ PO BOX 1351                                      SAN SEBASTIAN     PR      00685
GERARDO SERRANO ROSA                     ADDRESS ON FILE
GERARDO SERRANO SERRANO                  ADDRESS ON FILE
GERARDO SOTO RODRIGUEZ                   ADDRESS ON FILE
GERARDO SUAZO ANDREU                     ADDRESS ON FILE
GERARDO SURO V HACIENDA                  JOSE JAVIER LUGO TORO                    PMB 171                                    CALLE KALAF #400                   SAN JUAN          PR      00918
GERARDO TEJEDOR GONZALEZ                 ADDRESS ON FILE
GERARDO TORO RIOS                        ADDRESS ON FILE
GERARDO TORRES MALDONADO                 ADDRESS ON FILE
GERARDO TORRES MELENDEZ                  ADDRESS ON FILE
GERARDO TORRES MELENDEZ                  ADDRESS ON FILE
GERARDO TORRES MUNIZ                     ADDRESS ON FILE
GERARDO TORRES RAMIREZ                   LCDO. PERDRO J. LANDRAU LÓPEZ            POBOX 29407                                                                   SAN JUAN          PR      00929‐0407
GERARDO TORRES RIVERA                    ADDRESS ON FILE
GERARDO TORRES ROLDAN                    ADDRESS ON FILE
GERARDO TOSADO HERNANDEZ                 ADDRESS ON FILE
GERARDO VALENTIN RIVERA                  ADDRESS ON FILE
GERARDO VALLE MOLINA                     ADDRESS ON FILE
GERARDO VAZQUEZ GOMEZ                    ADDRESS ON FILE
GERARDO VAZQUEZ ROSADO                   ADDRESS ON FILE
GERARDO VAZQUEZ ROSADO                   ADDRESS ON FILE
GERARDO VAZQUEZ VARGAS                   ADDRESS ON FILE
GERARDO VEGA MARTINEZ                    ADDRESS ON FILE
GERARDO VEGA ORTIZ                       ADDRESS ON FILE
GERARDO VEGA TROCHE                      ADDRESS ON FILE
GERARDO VEGUILLA MONTANEZ                ADDRESS ON FILE
GERARDO VELAZQUEZ OLIVERA                ADDRESS ON FILE
GERARDO VELAZQUEZ RODRIGUEZ              ADDRESS ON FILE
GERARDO VERGES HERNÁNDEZ                 LCDO. JESÚS M. ROSARIO FÉLIX             APTDO. 1564                                                                   JUANA DÍAZ        PR      00795
Gerber Life Insurance Company            Attn: Joseph Pastore, Vice President     1311 Mamaroneck Ave.                                                          White Plains      NY      10605
Gerber Life Insurance Company            Attn: Luci Moore, Vice President         1311 Mamaroneck Ave.                                                          White Plains      NY      10605
Gerber Life Insurance Company            Attn: Michelle Hoffman, Vice President   1311 Mamaroneck Ave.                                                          White Plains      NY      10605




                                                                                                              Page 3189 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3190 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                     Address1                                        Address2                              Address3   Address4   City             State   PostalCode   Country
Gerber Life Insurance Company     Attn: Peter Mendelson, Vice President           1311 Mamaroneck Ave.                                        White Plains     NY      10605
Gerber Life Insurance Company     Attn: Tammy Gibbs, Consumer Complaint Contac 1311 Mamaroneck Ave.                                           White Plains     NY      10605
Gerber Life Insurance Company     Attn: Terri Seadorf, Consumer Complaint Contact 1311 Mamaroneck Ave.                                        White Plains     NY      10605
Gerber Life Insurance Company     Attn: Warren Silberstein, Vice President        1311 Mamaroneck Ave.                                        White Plains     NY      10605
Gerber Life Insurance Company     Attn: Wesley Protheroe, President               1311 Mamaroneck Ave.                                        White Plains     NY      10605
GERBER PRODUCTS                   PO BOX 1769                                                                                                 CAROLINA         PR      00984
GERBER RUFENACHT, RETO            ADDRESS ON FILE
GERDA FIGUEROA                    ADDRESS ON FILE
GERDELIZ FIGUEROA                 ADDRESS ON FILE
GERECKUS LEON TELVI               ADDRESS ON FILE
GERELYS A SANCHEZ REYES           ADDRESS ON FILE
GEREMY ROMAN RAMOS                ADDRESS ON FILE
GEREMY ROMAN RAMOS                ADDRESS ON FILE
GEREMY SAEZ COLON                 ADDRESS ON FILE
GERENA ACEVEDO, ANA E.            ADDRESS ON FILE
GERENA ACEVEDO, JORGE L           ADDRESS ON FILE
GERENA ADDARICH, IRVIN            ADDRESS ON FILE
GERENA ALLENDE, CARLOS            ADDRESS ON FILE
GERENA ALMA, ANTHONY              ADDRESS ON FILE
GERENA ALVALLE, MARY              ADDRESS ON FILE
GERENA ALVAREZ, ROSITA            ADDRESS ON FILE
GERENA AQUINO, GLADYS             ADDRESS ON FILE
GERENA AQUINO, ONEIDA E.          ADDRESS ON FILE
GERENA AROCHO, MARGARITA          ADDRESS ON FILE
GERENA ARROYO, ANA D              ADDRESS ON FILE
Gerena Arroyo, Iris E             ADDRESS ON FILE
GERENA ARROYO, JOSE               ADDRESS ON FILE
GERENA ARROYO, RUBEN              ADDRESS ON FILE
GERENA ARROYO, VICTOR M.          ADDRESS ON FILE
GERENA ARROYO, WILFREDO           ADDRESS ON FILE
GERENA BERBERENA, ADAN            ADDRESS ON FILE
GERENA BERBERENA, MARGARITA       ADDRESS ON FILE
Gerena Betancourt, Roberto Luis   ADDRESS ON FILE
GERENA BOSQUE, JORGE L            ADDRESS ON FILE
GERENA BRENES, IBIS M             ADDRESS ON FILE
GERENA BURGOS, RICHARD            ADDRESS ON FILE
GERENA CABAN, ENID                ADDRESS ON FILE
GERENA CABAN, WILFREDO J.         ADDRESS ON FILE
GERENA CACERES, SANDRA DEL C.     ADDRESS ON FILE
GERENA CANCEL, VICTOR M           ADDRESS ON FILE
GERENA CANDELARIA, GRISELLE       ADDRESS ON FILE
GERENA CANDELARIA, SANTO          ADDRESS ON FILE
GERENA CANDELARIA, SANTOS         ADDRESS ON FILE
GERENA CANDELARIA, SANTOS         ADDRESS ON FILE
GERENA CARMONA, DANERYS           ADDRESS ON FILE
GERENA CARMONA, DANERYS           ADDRESS ON FILE
GERENA CARMONA, SAM               ADDRESS ON FILE
GERENA CARRASQUILLO, ADANELI      ADDRESS ON FILE
Gerena Casillas, Luz M            ADDRESS ON FILE
GERENA CASTRO, ANESIE             ADDRESS ON FILE
GERENA COLON, JOSE R              ADDRESS ON FILE
GERENA CORCHADO, BENJAMIN         ADDRESS ON FILE
GERENA CORCINO, LUZ D             ADDRESS ON FILE
GERENA CORREA, ANGEL              ADDRESS ON FILE
GERENA CORREA, EILEEN M           ADDRESS ON FILE
GERENA CORTES, HILDA              ADDRESS ON FILE
GERENA COTTO, CARLA               ADDRESS ON FILE
GERENA COTTO, NIKO                ADDRESS ON FILE
GERENA CRESPO, CARMEN I.          ADDRESS ON FILE
GERENA CRESPO, HILDA I            ADDRESS ON FILE




                                                                                                         Page 3190 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3191 of 3500
                                                                             17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                 Address1                  Address2                                     Address3   Address4   City         State   PostalCode   Country
GERENA CRUZ, ALEX             ADDRESS ON FILE
GERENA CRUZ, CARLOS M         ADDRESS ON FILE
GERENA CRUZ, JEANNE           ADDRESS ON FILE
GERENA CRUZ, JUDITH           ADDRESS ON FILE
GERENA CRUZ, LETICIA          ADDRESS ON FILE
GERENA CUBERO, CARLOS         ADDRESS ON FILE
GERENA DELGADO MD, RAMON      ADDRESS ON FILE
GERENA DELGADO, ADIANEZ       ADDRESS ON FILE
GERENA DIAZ MD, JOSE I        ADDRESS ON FILE
GERENA DIAZ, BENJAMIN         ADDRESS ON FILE
GERENA DIAZ, BENJAMIN         ADDRESS ON FILE
GERENA DIAZ, LOURDES M.       ADDRESS ON FILE
Gerena Esquilin, Alex J       ADDRESS ON FILE
GERENA ESQUILIN, ALEX J.      ADDRESS ON FILE
GERENA ESTRADA, ELIZABETH     ADDRESS ON FILE
GERENA FELICIANO, HAYLEEN N   ADDRESS ON FILE
GERENA FELICIANO, NOEMI       ADDRESS ON FILE
Gerena Feliciano, Olga M.     ADDRESS ON FILE
Gerena Feliciano, William     ADDRESS ON FILE
GERENA FERNANDEZ, JOSE        ADDRESS ON FILE
GERENA FERNANDEZ, LEONEL      ADDRESS ON FILE
GERENA FIGUEROA, ELIZABETH    ADDRESS ON FILE
GERENA FIGUEROA, JULIO        ADDRESS ON FILE
GERENA FLORES, MARIA L        ADDRESS ON FILE
GERENA FUENTES, JAILENE       ADDRESS ON FILE
GERENA GADEA, ENRIQUE         ALFREDO CRUZ RESTO        PMB 262,352 SAN CLAUDIO,STE 1                                      SAN JUAN     PR      00926‐4136
GERENA GADEA, HECTOR          ADDRESS ON FILE
Gerena Gadea, Hector E        ADDRESS ON FILE
GERENA GARCIA, ANGEL L.       ADDRESS ON FILE
Gerena Garcia, Carlos O.      ADDRESS ON FILE
GERENA GARCIA, CYNTHIA        ADDRESS ON FILE
GERENA GARCIA, JOMAIRA        ADDRESS ON FILE
Gerena Gerena, Ana M          ADDRESS ON FILE
GERENA GIRAU, NORMA           ADDRESS ON FILE
GERENA GONZALEZ, EFRAIN       ADDRESS ON FILE
GERENA GONZALEZ, JUAN         ADDRESS ON FILE
GERENA GONZALEZ, LUIS         ADDRESS ON FILE
Gerena Gonzalez, Luis A       ADDRESS ON FILE
GERENA GONZALEZ, MARISELA     ADDRESS ON FILE
GERENA GONZALEZ, VERONICA     ADDRESS ON FILE
GERENA HERNANDEZ, ELSA I      ADDRESS ON FILE
GERENA HERNANDEZ, ERDULFO     ADDRESS ON FILE
GERENA HERNANDEZ, OLGA A.     ADDRESS ON FILE
GERENA IRIZARRY, ANA I.       ADDRESS ON FILE
GERENA IRIZARRY, DAISY I      ADDRESS ON FILE
GERENA IRIZARRY, DAISY I.     ADDRESS ON FILE
GERENA IRIZARRY, HECTOR J     ADDRESS ON FILE
GERENA IRIZARRY, MARIAMLLY    ADDRESS ON FILE
GERENA ITHIER, JOSE LUIS      ADDRESS ON FILE
GERENA JIMENEZ, BENIGNO       ADDRESS ON FILE
GERENA JIMENEZ, JOSE F.       ADDRESS ON FILE
GERENA JIMENEZ, LOURDES       ADDRESS ON FILE
GERENA JIMENEZ, MILAGROS      ADDRESS ON FILE
GERENA JIRAU, ANGELA          ADDRESS ON FILE
GERENA JIRAU, DELIA           ADDRESS ON FILE
GERENA JIRAU, LUCRECIA        ADDRESS ON FILE
GERENA JIRAU, ROSA M          ADDRESS ON FILE
GERENA LANDRAU, MARTA R       ADDRESS ON FILE
GERENA LEBRON, MARGARITA      ADDRESS ON FILE
GERENA LEBRON, NORMA I.       ADDRESS ON FILE




                                                                                    Page 3191 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3192 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GERENA LEBRON, ORLANDO          ADDRESS ON FILE
GERENA LOPEZ, ELIUD             ADDRESS ON FILE
GERENA LOPEZ, EMMANUEL          ADDRESS ON FILE
GERENA LOPEZ, NORMA E           ADDRESS ON FILE
GERENA LOZADA, AUDRY            ADDRESS ON FILE
Gerena Lozada, Audry L.         ADDRESS ON FILE
GERENA MALAVE, MARIA E          ADDRESS ON FILE
GERENA MARCANO, ALEIDA          ADDRESS ON FILE
GERENA MARCANO, ANA M           ADDRESS ON FILE
GERENA MARCANO, LUIS R          ADDRESS ON FILE
GERENA MARCANO, OLGA            ADDRESS ON FILE
GERENA MARCANO, PEDRO           ADDRESS ON FILE
GERENA MARCANO, RICARDO         ADDRESS ON FILE
GERENA MARQUEZ, ALBA I          ADDRESS ON FILE
GERENA MARQUEZ, PEDRO           ADDRESS ON FILE
GERENA MARTINEZ, ALMA PURA      ADDRESS ON FILE
GERENA MARTINEZ, DAVID L.       ADDRESS ON FILE
GERENA MARTINEZ, DENISSE        ADDRESS ON FILE
GERENA MARTINEZ, RUTH YANNETH   ADDRESS ON FILE
GERENA MARTINEZ, SONIA          ADDRESS ON FILE
GERENA MARTINEZ, WILMA          ADDRESS ON FILE
GERENA MATEO, WILSON            ADDRESS ON FILE
GERENA MEDINA, ALVIN            ADDRESS ON FILE
GERENA MEDINA, INES             ADDRESS ON FILE
GERENA MEDINA, INES J.          ADDRESS ON FILE
GERENA MEDINA, JUAN             ADDRESS ON FILE
GERENA MEDINA, JULISSA          ADDRESS ON FILE
GERENA MEDINA, MILDRED          ADDRESS ON FILE
GERENA MELENDEZ, JANN           ADDRESS ON FILE
GERENA MELENDEZ, MARIA          ADDRESS ON FILE
GERENA MELENDEZ, RAIZA          ADDRESS ON FILE
GERENA MENDEZ, OMAYRA           ADDRESS ON FILE
GERENA MENDEZ, RAFAEL A         ADDRESS ON FILE
GERENA MERCADO, ALEXIS          ADDRESS ON FILE
GERENA MERCADO, ERIK            ADDRESS ON FILE
GERENA MERCADO, IVETTE          ADDRESS ON FILE
GERENA MOLINA, LUIS             ADDRESS ON FILE
GERENA MORALES, LUIS A          ADDRESS ON FILE
GERENA MORALES, MARITZA         ADDRESS ON FILE
GERENA MOSES, SAMANTHA          ADDRESS ON FILE
GERENA MUNOZ, LYDIA             ADDRESS ON FILE
GERENA NIEVES MD, ARNALDO       ADDRESS ON FILE
GERENA NIEVES MD, FERNANDO      ADDRESS ON FILE
GERENA NIEVES, ALICIA           ADDRESS ON FILE
GERENA NIEVES, GLORIA E         ADDRESS ON FILE
Gerena Nieves, Rosaly           ADDRESS ON FILE
Gerena Nieves, Rubel            ADDRESS ON FILE
GERENA NIEVES, RUBEL            ADDRESS ON FILE
GERENA NIVES, ROSALY            ADDRESS ON FILE
GERENA NUNEZ, ENRIQUE           ADDRESS ON FILE
Gerena Olan, Rubel              ADDRESS ON FILE
GERENA ORTIZ, DAISY             ADDRESS ON FILE
GERENA ORTIZ, ERNESTO           ADDRESS ON FILE
GERENA ORTIZ, JOSE              ADDRESS ON FILE
GERENA ORTIZ, JUAN R            ADDRESS ON FILE
GERENA ORTIZ, YADIRA            ADDRESS ON FILE
GERENA ORTIZ, YADIRA M          ADDRESS ON FILE
GERENA ORTIZ, YAMARIE           ADDRESS ON FILE
GERENA PARIS, LUIS              ADDRESS ON FILE
GERENA PEREZ, NIVIA             ADDRESS ON FILE




                                                                            Page 3192 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3193 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gerena Portalatin, Nicolas    ADDRESS ON FILE
GERENA QUILES MD, LUIS        ADDRESS ON FILE
GERENA QUILES, LUIS           ADDRESS ON FILE
GERENA QUINONES, ANA L        ADDRESS ON FILE
GERENA QUINONES, CARMEN L     ADDRESS ON FILE
GERENA QUINONES, JOSE         ADDRESS ON FILE
Gerena Quinones, Jose L.      ADDRESS ON FILE
GERENA QUINONES, MARIA        ADDRESS ON FILE
GERENA QUINONES, NORMA        ADDRESS ON FILE
GERENA QUINONEZ, JOSE         ADDRESS ON FILE
GERENA RAICES, NELSON         ADDRESS ON FILE
GERENA RAMIREZ MD, GRISELLE   ADDRESS ON FILE
Gerena Ramirez, Juan          ADDRESS ON FILE
GERENA RAMIREZ, JUAN          ADDRESS ON FILE
Gerena Ramirez, Juan A.       ADDRESS ON FILE
Gerena Ramirez, Juan C        ADDRESS ON FILE
GERENA RAMOS, ADA M           ADDRESS ON FILE
GERENA RAMOS, AIDA L.         ADDRESS ON FILE
GERENA RAMOS, EDWIN           ADDRESS ON FILE
GERENA RAMOS, LUIS            ADDRESS ON FILE
GERENA RAMOS, OCTAVIO         ADDRESS ON FILE
GERENA REYES, BETZAIDA        ADDRESS ON FILE
GERENA REYES, MYRNA R         ADDRESS ON FILE
GERENA REYES, NEREIDA         ADDRESS ON FILE
GERENA RIBOT, REDDY IVETTE    ADDRESS ON FILE
GERENA RIOS, CAROLYN          ADDRESS ON FILE
GERENA RIOS, GLENDA           ADDRESS ON FILE
GERENA RIOS, JOSE             ADDRESS ON FILE
GERENA RIOS, SALVADOR         ADDRESS ON FILE
GERENA RIVERA, ANABELLE       ADDRESS ON FILE
GERENA RIVERA, ANABELLE       ADDRESS ON FILE
GERENA RIVERA, BENJAMIN       ADDRESS ON FILE
GERENA RIVERA, EDWIN          ADDRESS ON FILE
GERENA RIVERA, MILEXIS        ADDRESS ON FILE
GERENA RIVERA, PETRONILA      ADDRESS ON FILE
GERENA RIVERA, RICARDO        ADDRESS ON FILE
GERENA RIVERA, ROBERTO        ADDRESS ON FILE
GERENA RIVERA, TOMAS A.       ADDRESS ON FILE
GERENA RIVERA, ULDA           ADDRESS ON FILE
GERENA RIVERA, YOLANDA        ADDRESS ON FILE
GERENA RODRIGUEZ, AMNERIS     ADDRESS ON FILE
GERENA RODRIGUEZ, JESSICA     ADDRESS ON FILE
GERENA RODRIGUEZ, KATHERINE   ADDRESS ON FILE
GERENA RODRIGUEZ, LUIS        ADDRESS ON FILE
GERENA RODRIGUEZ, LUIS        ADDRESS ON FILE
GERENA RODRIGUEZ, PEDRO       ADDRESS ON FILE
GERENA RODRIGUEZ, RACHEL M    ADDRESS ON FILE
GERENA RODRIGUEZ, SERGIO      ADDRESS ON FILE
GERENA RODRIGUEZ, WILMA       ADDRESS ON FILE
GERENA ROHENA, ALEXIE         ADDRESS ON FILE
GERENA ROMAN, AMIRCAL         ADDRESS ON FILE
GERENA ROMERO, LYDIA E        ADDRESS ON FILE
GERENA ROSA, AIDA             ADDRESS ON FILE
GERENA ROSADO, ADA M          ADDRESS ON FILE
GERENA ROSADO, HECTOR         ADDRESS ON FILE
GERENA ROSARIO, EFRAIN        ADDRESS ON FILE
GERENA ROSARIO, IVET          ADDRESS ON FILE
GERENA ROSARIO, NATANAEL      ADDRESS ON FILE
GERENA ROSARIO, NELSON        ADDRESS ON FILE
Gerena Rubio, Luis A          ADDRESS ON FILE




                                                                          Page 3193 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3194 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gerena Ruiz, Juan                ADDRESS ON FILE
GERENA RUIZ, MARIA DE LOS        ADDRESS ON FILE
GERENA RUIZ, MARINA              ADDRESS ON FILE
GERENA RUIZ, YAMARI              ADDRESS ON FILE
GERENA SANABRIA, CARMEN M        ADDRESS ON FILE
GERENA SANABRIA, DAISY           ADDRESS ON FILE
GERENA SANABRIA, MIGDALIA        ADDRESS ON FILE
GERENA SANCHEZ,GLORIE E.         ADDRESS ON FILE
GERENA SANES, JUAN G             ADDRESS ON FILE
GERENA SANFIORENZO, YADILKA      ADDRESS ON FILE
Gerena Santiago, Angel           ADDRESS ON FILE
GERENA SANTIAGO, DAISY           ADDRESS ON FILE
GERENA SANTOS, CESAR             ADDRESS ON FILE
GERENA SERRALTA, HILDA           ADDRESS ON FILE
GERENA SERRALTA, JOHN            ADDRESS ON FILE
GERENA SERRANO, ANGEL            ADDRESS ON FILE
GERENA SERRANO, ANGEL            ADDRESS ON FILE
GERENA SERRANO, ANGEL            ADDRESS ON FILE
GERENA SERRANO, KEILA Z          ADDRESS ON FILE
GERENA SERRANO, SUE              ADDRESS ON FILE
GERENA SILVA, EMILY M            ADDRESS ON FILE
GERENA SOTO, ADNEL E             ADDRESS ON FILE
GERENA SOTO, ISLEEN              ADDRESS ON FILE
GERENA SOTO, LILLIAM             ADDRESS ON FILE
GERENA SOTO, MARANGELI           ADDRESS ON FILE
Gerena Soto, Yanira De Los A     ADDRESS ON FILE
Gerena Tirado, Luis A            ADDRESS ON FILE
GERENA TOLEDO, EDITH             ADDRESS ON FILE
GERENA TOLEDO, JUAN E            ADDRESS ON FILE
GERENA TORRENS, JOSE             ADDRESS ON FILE
Gerena Torrens, Jose Miguel      ADDRESS ON FILE
GERENA TORRES, JONATHAN          ADDRESS ON FILE
GERENA TORRES, MIGUEL A          ADDRESS ON FILE
GERENA TORRES, ODALYS            ADDRESS ON FILE
Gerena Torres, Roberto J         ADDRESS ON FILE
GERENA TORRES, SONIA             ADDRESS ON FILE
GERENA VARGAS, CARMEN J.         ADDRESS ON FILE
GERENA VARGAS, JUANITA           ADDRESS ON FILE
GERENA VARGAS, KELVIN            ADDRESS ON FILE
GERENA VAZQUEZ, NESTOR L         ADDRESS ON FILE
GERENA VEGA, ANA                 ADDRESS ON FILE
GERENA VELEZ, MIGDALIA N         ADDRESS ON FILE
GERENA VERA, LUCILA              ADDRESS ON FILE
GERENA, ANGELA                   ADDRESS ON FILE
GERENA, EUDES                    ADDRESS ON FILE
GERENA, JOEL                     ADDRESS ON FILE
GERENA, JUAN R.                  ADDRESS ON FILE
GERENA, NELSON                   ADDRESS ON FILE
GERENA, VICTOR M.                ADDRESS ON FILE
GERENALDA RAMOS RODRIGUEZ        ADDRESS ON FILE
GERENASERRANO, CARMELO           ADDRESS ON FILE
GERHARD, RALPH                   ADDRESS ON FILE
GERIATRICS MEDICAL EQUIP INC     PO BOX 4952                                                                      CAGUAS       PR      00726‐4952
GERIEK ALVAREZ VILLARINI         ADDRESS ON FILE
GERIEL CIRINO RODRIGUEZ, JUAN    ADDRESS ON FILE
GERINIMO SANTIAGO MONTANEZ       ADDRESS ON FILE
GERLYN MARIE LOPEZ RODRIGUEZ     ADDRESS ON FILE
GERLYSA ROSARIO PEREZ            ADDRESS ON FILE
GERMAIN FIGUEROA ROSADO          ADDRESS ON FILE
GERMAIN OPPENHEIMER, CARMEN E.   ADDRESS ON FILE




                                                                             Page 3194 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3195 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                          Address1                  Address2                          Address3     Address4   City        State   PostalCode   Country
Germain Rodriguez, Leslie              ADDRESS ON FILE
GERMAIN SANTIAGO, CARMEN E             ADDRESS ON FILE
GERMAIN TORRES, VICTOR LUIS            ADDRESS ON FILE
GERMAINE Y VELEZ RAMIREZ               ADDRESS ON FILE
GERMAN A COLON DAVILA                  ADDRESS ON FILE
GERMAN A. LOGRONO PICHARDO             ADDRESS ON FILE
GERMAN ACEVEDO DELGADO                 ADDRESS ON FILE
German Aponte, Joel J.                 ADDRESS ON FILE
GERMAN ARCELAY PABON                   ADDRESS ON FILE
GERMAN BRUGUERAS DELGADO               ADDRESS ON FILE
GERMAN CABRERA BETANCOURT              ADDRESS ON FILE
GERMAN CAMACHO MARTINEZ                ADDRESS ON FILE
GERMAN CANDELARIA PARA BRYANT CANDELAR ADDRESS ON FILE
GERMAN CARABALLO INGLES                ADDRESS ON FILE
GERMAN CHICO DIAZ                      ADDRESS ON FILE
GERMAN COLON CORNIER                   ADDRESS ON FILE
GERMAN COLON DAVILA                    ADDRESS ON FILE
GERMAN CORDERO BRANA                   ADDRESS ON FILE
GERMAN CRUZ OLMO                       ADDRESS ON FILE
GERMAN CRUZ QUINONES                   ADDRESS ON FILE
GERMAN DAVID LOPEZ                     ADDRESS ON FILE
GERMAN DE LOS SANTOS, BARBARA R        ADDRESS ON FILE
GERMAN DIAZ FIGUEROA                   ADDRESS ON FILE
GERMAN DIAZ MALDONADO                  ADDRESS ON FILE
GERMAN ESCALERA CALDERON               ADDRESS ON FILE
GERMAN FERREIRA, VICTORIA              ADDRESS ON FILE
GERMAN G BROEMSER CESINO               ADDRESS ON FILE
GERMAN GARCIA MERCADO                  ADDRESS ON FILE
GERMAN GOBAIRA GOMEZ                   ADDRESS ON FILE
GERMAN GONZALEZ GUZMAN                 ADDRESS ON FILE
GERMAN GONZALEZ LUGO                   ADDRESS ON FILE
GERMAN GONZALEZ SANCHEZ                ADDRESS ON FILE
GERMAN GONZALEZ, MIGUEL                ADDRESS ON FILE
GERMAN GUERRERO, JACQUELINE M          ADDRESS ON FILE
GERMAN HERNANDEZ FIGUEROA              ADDRESS ON FILE
GERMAN L GARCIA RIVERA                 ADDRESS ON FILE
GERMAN L OLIVERO LEON                  ADDRESS ON FILE
GERMAN L OQUENDO DELGADO               ADDRESS ON FILE
GERMAN L PARODI                        ADDRESS ON FILE
GERMAN L SANTIAGO                      ADDRESS ON FILE
GERMAN L. GARCIA RIVERA                ADDRESS ON FILE
German L. Garcia Rivera                ADDRESS ON FILE
GERMAN LIBOY ACEVEDO                   ADDRESS ON FILE
GERMAN LOPEZ ABAD & ELENA ACOSTA MUNOZ ADDRESS ON FILE
GERMAN LOPEZ PINET                     ADDRESS ON FILE
GERMAN LUIS PEREZ MATOS                ADDRESS ON FILE
GERMAN MEDINA COLON                    ADDRESS ON FILE
GERMAN MENA                            ADDRESS ON FILE
GERMAN MONTALVO BONILLA                ADDRESS ON FILE
GERMAN MONTALVO SOTO                   ADDRESS ON FILE
GERMAN MORALES SANTOS                  ADDRESS ON FILE
GERMAN OQUENDO OQUENDO                 ADDRESS ON FILE
GERMAN OTERO, SHERLY M                 ADDRESS ON FILE
GERMAN PENA FONTANEZ                   ADDRESS ON FILE
GERMAN PEREZ MONTES                    ADDRESS ON FILE
GERMAN PEREZ RODRIGUEZ                 ADDRESS ON FILE
GERMAN PERÉZ, CONY J.                  POR DERECHO PROPIO        CALLE PAJAROS 93                  HATO TEJAS              Bayamón     PR      00959
GERMAN PEREZ, CONY JOSSETT             ADDRESS ON FILE
GERMAN PIMENTEL LUIGGI                 ADDRESS ON FILE
GERMAN RAUL GONZALEZ ESCOBAR           ADDRESS ON FILE




                                                                                    Page 3195 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3196 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
GERMAN RENGEL FLORES                 ADDRESS ON FILE
GERMAN REYES OLIVERO                 ADDRESS ON FILE
GERMAN REYES, JUSTINA                ADDRESS ON FILE
GERMAN RIOS VELEZ                    ADDRESS ON FILE
GERMAN RIVERA BURGOS                 ADDRESS ON FILE
GERMAN RIVERA CABALLERO              ADDRESS ON FILE
GERMAN RIVERA MONTALVO               ADDRESS ON FILE
GERMAN RIVERA RODRIGUEZ              ADDRESS ON FILE
GERMAN RIVERA VILLAFANE              ADDRESS ON FILE
GERMAN RIVERA ZAMBRANA               ADDRESS ON FILE
GERMAN RODRIGUEZ Y CRUZ M COLON      ADDRESS ON FILE
GERMAN RODRIGUEZ, GENEROSO           ADDRESS ON FILE
GERMAN ROHENA GARCIA                 ADDRESS ON FILE
GERMAN ROMAN MORALES                 ADDRESS ON FILE
Germán Román Morales                 ADDRESS ON FILE
GERMAN RUIZ ROMERO                   ADDRESS ON FILE
GERMAN RUIZ ROMERO                   ADDRESS ON FILE
GERMAN SAAVEDRA RODRIGUEZ            ADDRESS ON FILE
GERMAN SALDANA OCASIO                ADDRESS ON FILE
GERMAN SANCHEZ ALVARADO              ADDRESS ON FILE
GERMAN SANCHEZ PEREZ                 ADDRESS ON FILE
GERMAN SANTOS RIVERA                 ADDRESS ON FILE
GERMAN SILVERIO, ANDRES              ADDRESS ON FILE
GERMAN SOTO LORENZANA                ADDRESS ON FILE
GERMAN SUAREZ SIERRA                 ADDRESS ON FILE
GERMAN TORRES BERRIOS                ADDRESS ON FILE
GERMAN TORRES BERRIOS & ASSOCIADOS   ADDRESS ON FILE
GERMAN VAZQUEZ AVILES                ADDRESS ON FILE
GERMAN VELLON CRUZ                   ADDRESS ON FILE
GERMANIA A LOPEZ CAPELLAN            ADDRESS ON FILE
GERMARIE MENDEZ NEGRON               ADDRESS ON FILE
GERMARILIS RIOS RIOS                 ADDRESS ON FILE
GERMARIS MADERA RIVERA               ADDRESS ON FILE
GERMARIS RIOS RODRIGUEZ              ADDRESS ON FILE
GERMARY HERNANDEZ ESPADA             ADDRESS ON FILE
GERMIN BAEZ GUZMAN                   ADDRESS ON FILE
GERMOSEN LOPEZ, FRANCISCO            ADDRESS ON FILE
GERMOSEN MENDEZ, JOSE                ADDRESS ON FILE
GERNAIDA M. RIVERA LOPEZ             ADDRESS ON FILE
GERONEMUS MDPC , ROY G               ADDRESS ON FILE
GERONIMO COLLAZO RAMOS               ADDRESS ON FILE
GERONIMO CONCEPCION LAGUER           ADDRESS ON FILE
GERONIMO GUZMAN RAMOS                ADDRESS ON FILE
GERONIMO HERNANDEZ, ERICSON J.       ADDRESS ON FILE
GERONIMO ORTIZ Y ERNESTO ORTIZ       ADDRESS ON FILE
GERONIMO PEREZ, KRISTAL              ADDRESS ON FILE
GERONIMO ROSARIO REYES               ADDRESS ON FILE
GERONIMO TORRES, MARIA E             ADDRESS ON FILE
GERONIMO, LAURA                      ADDRESS ON FILE
GERONTOLOGIA EDUCACIONAL             PO BOX 4742                                                                      AGUADILLA     PR      00605
GERRARDO GONZALEZ RODRIGUEZ          ADDRESS ON FILE
GERRERO TEJADA, RICHARD              ADDRESS ON FILE
Gerriga Jusino, Luis R               ADDRESS ON FILE
GERRY L CRUZ POMALES                 ADDRESS ON FILE
GERRY LYN PELET NIEVES               ADDRESS ON FILE
GERRY ROSADO RAMIREZ                 ADDRESS ON FILE
GERRY ROSADO RAMÍREZ                 LCDA. GRETCHEN HEYKE      PO BOX 3898                                            MAYAGUEZ      PR      00681
GERRY SALCEDO AYALA                  ADDRESS ON FILE
GERRY WALQUIST                       ADDRESS ON FILE
GERRYTZA SOTO FLORES                 ADDRESS ON FILE




                                                                                 Page 3196 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3197 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                          Address1                           Address2                                 Address3       Address4   City             State   PostalCode   Country
GERRYTZA SOTO FLORES                   ADDRESS ON FILE
GERSH INTERNATIONAL PR LLC             PO BOX 6115                                                                                           SAN JUAN         PR      00914
GERSH INTERNATIONAL PR LLC             Y BANCO POPULAR DE PR              CTR DE BANCO COMERCIAL SAN JUAN         PO BOX 362708              SAN JUAN         PR      00936‐2708
GERSH INTERNATIONAL PR LLC             Y BANCO POPULAR DE PUERTO RICO     CENTRO DE BANCA COMERCIAL REGION SAN JUAPO BOX 362708              SAN JUAN         PR      00936‐2708
GERSOM ORTIZ ORTIZ                     ADDRESS ON FILE
GERSON CASTILLO CASTILLO               ADDRESS ON FILE
GERSON D ESPADA FIGUEROA               ADDRESS ON FILE
GERSON DAVID COLLAZO                   ADDRESS ON FILE
GERSON FLORES CINTRON                  ADDRESS ON FILE
GERSON H LOPEZ ALCARAZ                 ADDRESS ON FILE
GERSON L ARDILA SIERRA                 ADDRESS ON FILE
GERSON LISANDRO ARDILA SIERRA          ADDRESS ON FILE
GERSON OQUENDO VAZQUEZ                 ADDRESS ON FILE
GERSON RIVERA ORTIZ                    ADDRESS ON FILE
GERSON SANTOS MARTINEZ                 ADDRESS ON FILE
GERSON TORRES RODRIGUEZ                ADDRESS ON FILE
GERSON TORRES VILLANUEVA               ADDRESS ON FILE
GERSTEIN MD , HOWARD J                 ADDRESS ON FILE
GERSTEL                                701 DIGITAL DRIVE SUITE J                                                                             LINTHICUM MD     MD      210909
GERSTEL                                CANTON RESEARCH CENTER                                                                                BALTIMORE        MD      21227
GERSTEL INC.                           701 DIGITAL DRIVE, SUITE J                                                                            LINTHICUM,       MD      21090
GERSY H GUZMAN RODRIGUEZ               ADDRESS ON FILE
GERTIE M MARTINEZ SANTANA              ADDRESS ON FILE
GERTIE M MARTINEZ SANTANA              ADDRESS ON FILE
GERTRUDES CHICO ALONSO                 ADDRESS ON FILE
GERTRUDIS CALDERON HERNANDEZ           ADDRESS ON FILE
GERTRUDIS GARCIA RIVERA                ADDRESS ON FILE
GERTRUDIS LOPEZ LUGO                   ADDRESS ON FILE
GERTRUDIS MALDONADO ARROYO             ADDRESS ON FILE
GERTRUDIS MARCANO GONZALEZ             ADDRESS ON FILE
GERTRUDIS MURATTI FRANCO               ADDRESS ON FILE
GERTRUDIS QUINONEZ AQUINO              ADDRESS ON FILE
GERTRUDIS QUINONEZ AQUINO              ADDRESS ON FILE
GERTRUDIS RIVERA                       ADDRESS ON FILE
GERTRUDIS RIVERA                       ADDRESS ON FILE
GERTRUDIS SANTOS ROBLES                ADDRESS ON FILE
GERTRUDIS VELEZ CRUZ                   ADDRESS ON FILE
GERTRUDIS VELEZ VELEZ                  ADDRESS ON FILE
GERTY QUINONES CORDOVA                 ADDRESS ON FILE
GES AMBULANCE HEALTH SERVICES , INC.   P.O. BOX 193044                                                                                       SAN JUAN         PR      00919‐0000
GES AMBULANCE HEALTH SERVICES INC      PO BOX 363447                                                                                         SAN JUAN         PR      00936
GES AMBULANCE SERVICE                  PO BOX 363447                                                                                         SAN JUAN         PR      00936‐3447
GESSELY VAZQUEZ TORRES                 ADDRESS ON FILE
GESTETNER CORPORATION                  CALLE ORTEGON C‐22 CAPARRA HILLS                                                                      SAN JUAN         PR      00936
GESTORIA BATIZ INC                     PO BOX 8404                                                                                           CAGUAS           PR      00725
GESTORIA DEL CARMEN                    ADDRESS ON FILE
GESTORIA DEL CARMEN INC                VILLA CAROLINA                     131‐29 CALLE 100                                                   CAROLINA         PR      00985‐4145
GESTORIA XPRESS INC                    URB SANTA JUANITA                  NM16 AVE MINILLAS                                                  BAYAMON          PR      00956
GESUALDO ALBORS, FRANCES               ADDRESS ON FILE
GESUALDO ALBORS, FRANCES               ADDRESS ON FILE
GESUALDO ALBORS, JORGE                 ADDRESS ON FILE
GESUALDO ALBORS, LUIS                  ADDRESS ON FILE
GESWALDO MEDINA, MARIA                 ADDRESS ON FILE
GET SHOPPED PR INC                     URB FUENTE BELLA                   1537 CALLE PORTOFINO                                               TOA ALTA         PR      00953
GETSEMANI CHRISTIAN ACADEMY            PO BOX 6186                                                                                           MAYAGUEZ         PR      00681
Geysa D. Villarubia Rivera             ADDRESS ON FILE
GEYSA D. VILLARUBIA RIVERA             ADDRESS ON FILE
GEYTSON AGOSTO AYALA                   ADDRESS ON FILE
GEYZA N MORALES LOPEZ                  ADDRESS ON FILE
GEZZELA ALGARIN LLORENS                ADDRESS ON FILE




                                                                                                    Page 3197 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3198 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                     Address1                                Address2                                       Address3   Address4   City            State   PostalCode   Country
GEZZELA ALGARIN LLORENS           ADDRESS ON FILE
GF FARM MANAGEMENT CORP           LOS CAMINOS                             60 CALLE ASTROMELIA                                                  SAN LORENZO     PR      00754
GF SOLUTIONS, INC.                HACIENDA LA MATILDE                     CALLE BAGAZO 5311                                                    PONCE           PR      00728
GF SOLUTIONS, INC.                PO BOX 336223                                                                                                PONCE           PR      00733‐6223
GF SOLUTIONS, INC.                Y BANCO DE DESARROLLO ECONOMICO         PO BOX 2134                                                          SAN JUAN        PR      00922‐2134
GF SOLUTIONS, INC.                Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                          SAN JUAN        PR      00922‐2134
GF SOLUTIONS, INC.                Y BANCO DE DESARROLLO ECONOMICO PARA PUPO BOX 2134                                                           SAN JUAN        PR      00922‐2134
GFA ENTERTAINMENT, CORP           PO BOX 631                                                                                                   JUNCOS          PR      00777‐0631
GFOA                              180 MICHIGAN AVE.                                                                                            CHICAGO         IL      60601
GFR MEDIA                         COMPLEJO CORRECCIONAL RIO PIEDRAS       PO BOX 29086                                                         SAN JUAN        PR      00929‐0086
GFR MEDIA                         P O BOX 9066590                                                                                              SAN JUAN        PR      00906‐6590
GFR MEDIA                         PO BOX 71445                                                                                                 SAN JUAN        PR      00936‐8545
GFR MEDIA                         PO BOX 71476                                                                                                 SAN JUAN        PR      00939‐1476
GFR MEDIA                         PO BOX 7512                                                                                                  SAN JUAN        PR      00906‐7512
GFR MEDIA                         PO BOX 9067512                                                                                               SAN JUAN        PR      00936‐7512
GFR MEDIA                         PO BOX 9227512                                                                                               SAN JUAN        PR      00922‐7512
GFR MEDIA                         PO BOX S‐297                            DEPTO DE CIRCULACION                                                 SAN JUAN        PR      00902‐0297
GFR MEDIA LLC                     PO BOX 71471                                                                                                 SAN JUAN        PR      00936
GFR MEDIA, LLC                    AREA DE TESORO                          DIVISION DE CONCILIACION                                             SAN JUAN        PR      00902‐4140
GFR MEDIA, LLC                    COMPLEJO CORRECCIONAL RIO PIEDRAS       PO BOX 29086                                                         SAN JUAN        PR      00929‐0086
GFR MEDIA, LLC                    P O BOX 7512                                                                                                 SAN JUAN        PR      00906‐7512
GFR MEDIA, LLC                    PO BOX 71445                                                                                                 SAN JUAN        PR      00936‐8545
GFR Media, LLC                    PO Box 71476                                                                                                 San Juan        PR      00939‐1476
GFR MEDIA, LLC                    PO BOX 9067512                                                                                               SAN JUAN        PR      00936‐7512
GFR MEDIA, LLC                    PO BOX S‐297                            DEPTO DE CIRCULACION                                                 SAN JUAN        PR      00902‐0297
GG CONTRACTORS AIR CONDITIONING   URB LEVITTOWN LAKES                     BE4 CALLE DR JOSE M ESPAILLAT                                        TOA BAJA        PR      00949‐3423
GG FOOD SERVICES CORP             RR 4 BOX 693                                                                                                 BAYAMON         PR      00956‐9635
GH AUTO BODY INC                  PO BOX 2782                                                                                                  CAROLINA        PR      00984
GHADIALLY MD , JAMES A            ADDRESS ON FILE
GHALY MD, NADER                   ADDRESS ON FILE
GHAMANDI DIAZ, JESODRA            ADDRESS ON FILE
GHAMANDI DIAZ, JESODRA            ADDRESS ON FILE
GHAVAMI PINTADO, CYRUS            ADDRESS ON FILE
GHEZZI, ALFREDO                   ADDRESS ON FILE
GHIA M PABON BONILLA              ADDRESS ON FILE
GHIGLIOTTI ACEVEDO, CLARISA       ADDRESS ON FILE
GHIGLIOTTI ACEVEDO, MARCOS        ADDRESS ON FILE
GHIGLIOTTI ACEVEDO, MARIA G       ADDRESS ON FILE
GHIGLIOTTI LAGARES, ALFREDO       ADDRESS ON FILE
GHIGLIOTTI LAGARES, FERNANDO L    ADDRESS ON FILE
GHIGLIOTTI LAGARES, LUIS          ADDRESS ON FILE
GHIGLIOTTI LUGARO, GLORIELI       ADDRESS ON FILE
GHIGLIOTTI ORTIZ, DOMINGO         ADDRESS ON FILE
GHIGLIOTTY ADAMES, MARIA          ADDRESS ON FILE
GHIGLIOTTY FAGUNDO, LEONOR        ADDRESS ON FILE
GHIGLIOTTY HERNANDEZ, MADELINE    ADDRESS ON FILE
GHIGLIOTTY IRIZARRY, LUCINIA      ADDRESS ON FILE
GHIGLIOTTY LOPEZ, ENID            ADDRESS ON FILE
GHIGLIOTTY LUGO, ALFONSO          ADDRESS ON FILE
GHIGLIOTTY MATTEI, MARIELYS       ADDRESS ON FILE
GHIGLIOTTY MATTEI, MARILY         ADDRESS ON FILE
GHIGLIOTTY MATTEI, PEDRO          ADDRESS ON FILE
GHIGLIOTTY MONTALVO, ELISA        ADDRESS ON FILE
GHIGLIOTTY PAGAN, DARIANA         ADDRESS ON FILE
GHIGLIOTTY RAMIREZ, EDELMINA      ADDRESS ON FILE
GHIGLIOTTY RIVERA, NANCY E        ADDRESS ON FILE
GHIGLIOTTY RODRIGUEZ, MARLYN      ADDRESS ON FILE
GHIGLIOTTY RODRIGUEZ, NIMIA       ADDRESS ON FILE
GHISELE FIGUEROA RODRIGUEZ        ADDRESS ON FILE
GHISLAINE HENRIQUEZ PAGAN         ADDRESS ON FILE




                                                                                                          Page 3198 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3199 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                          Address1                             Address2                               Address3   Address4   City          State   PostalCode   Country
GHISLAINE RIVERA JIMENEZ               ADDRESS ON FILE
GHYLA MATTA FLORES                     ADDRESS ON FILE
GI ASSOCIATES                          2801 W KINNICKINNIC RIVER PKWY STE                                                                MILWAUKEE     WI      53215‐3669
GI SERVICES LATIN AMERICA LLC          201 SOUTH BISCAYNE BLVD              28TH FLOOR                                                   MIAMI         FL      33131
GIACOPELLI MD , JOSEPH A               ADDRESS ON FILE
GIACRIMAR CORP                         PO BOX 1554                                                                                       ARECIBO       PR      00613
GIAMBARTOLOMEI MOLINA MD, ELVIRA       ADDRESS ON FILE
GIAMELLARO COLON, DAVID                ADDRESS ON FILE
GIAMPIERO ROSATI                       ADDRESS ON FILE
GIAN A. GARCIA GARCIA                  ADDRESS ON FILE
GIAN ANTONIO GARCIA GARCIA             ADDRESS ON FILE
GIAN CARLOS RIVERA CRUZ                ADDRESS ON FILE
GIAN E GOMEZ AGOSTO / GRACE M AGOSTO   ADDRESS ON FILE
GIAN E. DIAZ RODRIGUEZ                 ADDRESS ON FILE
GIAN F MARQUEZ GERENA                  ADDRESS ON FILE
GIAN J VALE DEL RIO                    ADDRESS ON FILE
GIAN P GOMEZ RIVERA                    ADDRESS ON FILE
GIAN VILLAMIL OTERO                    ADDRESS ON FILE
GIANCARLA M SAMBO VAZQUEZ              ADDRESS ON FILE
GIANCARLO GONZALEZ                     ADDRESS ON FILE
GIANCARLO PABON MEDINA                 ADDRESS ON FILE
GIANCARLO PABON MEDINA                 ADDRESS ON FILE
GIANCARLO PESTARINO FIGUEROA           ADDRESS ON FILE
GIANCARLO SANTIAGO QUESTELL            ADDRESS ON FILE
GIANFRANCO GARLOBO TORRES              ADDRESS ON FILE
GIANGELIS RIVERA VAZQUEZ               ADDRESS ON FILE
GIANINA RUIZ                           ADDRESS ON FILE
GIANNA C RODRIGUEZ GRAULAU             ADDRESS ON FILE
GIANNA M CANALES VERDEJO               ADDRESS ON FILE
GIANNA PANDOLFI DE RINALDIS            ADDRESS ON FILE
GIANNA UBINAS DAVILA                   ADDRESS ON FILE
GIANNIE I RAMIREZ HERNANEZ             ADDRESS ON FILE
GIANNINA MEDINA TOLEDO                 ADDRESS ON FILE
GIANNINI RAMOS, NAYDA C                ADDRESS ON FILE
GIANNONI MARQUEZ, JACQUELINE           ADDRESS ON FILE
GIANNONI PLAZA, ROSA                   ADDRESS ON FILE
GIANNONI PLAZA, ROSA I                 ADDRESS ON FILE
GIANNOTTI AZCUY, ALINA                 ADDRESS ON FILE
GIANSANTE GARCIA, SYLVIA               ADDRESS ON FILE
GIANTONNI TORRES SANTA                 ADDRESS ON FILE
GIARA T CARDOZA DIAZ                   ADDRESS ON FILE
GIB DEVELOPMENT LLC                    PO BOX 2399                                                                                       TOA BAJA      PR      00951
GIBARO DE PUERTO RICO INC              PMB 177                              362 AVENIDA ANDALUCIA                                        SAN JUAN      PR      00920
GIBARO DE PUERTO RICO INC              PMB 177 362 AVE ANDALUCIA                                                                         SAN JUAN      PR      00920
GIBARO DE PUERTO RICO INC              URB PUERTO NUEVO                     362 AVE ANDALUCIA                                            SAN JUAN      PR      00920
GIBBS CRUZ, KATHERINE                  ADDRESS ON FILE
GIBBS NEGRON, CARLA M.                 ADDRESS ON FILE
GIBERT MIRANDA RODRIGUEZ               ADDRESS ON FILE
GIBOYEAUX CLAUDIO, LUTGARDY            ADDRESS ON FILE
Giboyeaux Colon, Efrain                ADDRESS ON FILE
GIBOYEAUX COLON, MORAYMA               ADDRESS ON FILE
GIBOYEAUX FEBRES, JUAN H               ADDRESS ON FILE
GIBOYEAUX FEBRES, MIRTA                ADDRESS ON FILE
GIBOYEAUX LOPEZ, ROSA H                ADDRESS ON FILE
GIBOYEAUX MUSSENDEN, NAYDA             ADDRESS ON FILE
GIBOYEAUX OQUENDO, JESUS               ADDRESS ON FILE
GIBOYEAUX VALENTIN, AMALIA             ADDRESS ON FILE
GIBOYEAUX VELEZ, JOCELYN               ADDRESS ON FILE
GIBOYEAUX, ERWIRK G.                   ADDRESS ON FILE
GIBOYEAUX, MORAYMA                     ADDRESS ON FILE




                                                                                                    Page 3199 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3200 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GIBRAN GARCIA GUIVAS                     ADDRESS ON FILE
Gibson Diaz, Edwin Gil                   ADDRESS ON FILE
GIBSON E NEAVES PIZARRO                  ADDRESS ON FILE
GIBSON SANCHEZ, CARRIEL                  ADDRESS ON FILE
GIBSON SANCHEZ, LUIS                     ADDRESS ON FILE
GICELIZ LEBRON CORTIJO                   ADDRESS ON FILE
GICELLE CASANVA TORRES                   ADDRESS ON FILE
GIEGER TAYLOR, ARON                      ADDRESS ON FILE
GIELLAM M ELIAS RIVERA                   ADDRESS ON FILE
GIELLIAM M. ELIAS RIVERA                 ADDRESS ON FILE
GIELOY J RODRIGUEZ/ CARMEN CORDERO       ADDRESS ON FILE
GIEMAR RIVERA COLON                      ADDRESS ON FILE
GIERBOLINI ALVARADO, AGNERIS             ADDRESS ON FILE
GIERBOLINI ALVARADO, GLENDA I            ADDRESS ON FILE
GIERBOLINI ALVARADO, VIVIAN              ADDRESS ON FILE
GIERBOLINI ALVARADO, YOLANDA             ADDRESS ON FILE
GIERBOLINI ALVAREZ, YOLANDA              ADDRESS ON FILE
GIERBOLINI AVILES, GUILLERMO             ADDRESS ON FILE
GIERBOLINI BERNIER, MAGDA                ADDRESS ON FILE
GIERBOLINI BERNIER, MARIA DEL C          ADDRESS ON FILE
GIERBOLINI BLANCO, CARLOS E              ADDRESS ON FILE
GIERBOLINI BORELI, AGNES                 ADDRESS ON FILE
GIERBOLINI BORELLI, FERNANDO             ADDRESS ON FILE
GIERBOLINI BORELLI, JAIME                ADDRESS ON FILE
GIERBOLINI BURGOS, HENRY                 ADDRESS ON FILE
GIERBOLINI BURGOS, LORENA                ADDRESS ON FILE
GIERBOLINI BURGOS, ROSSANA               ADDRESS ON FILE
GIERBOLINI CARVAJAL, JOSEPH              ADDRESS ON FILE
GIERBOLINI COLON, LUIS                   ADDRESS ON FILE
GIERBOLINI CONSULTING GROUP CORP         P O BOX 364567                                                                   SAN JUAN     PR      00936‐4567
GIERBOLINI CORREA, MARIMAR               ADDRESS ON FILE
GIERBOLINI CRUZ, HECTOR                  ADDRESS ON FILE
Gierbolini Cruz, Hector J                ADDRESS ON FILE
GIERBOLINI CRUZ, MARIBEL                 ADDRESS ON FILE
GIERBOLINI CRUZ, PEDRO J.                ADDRESS ON FILE
GIERBOLINI DE LEON, ZUHEIDY              ADDRESS ON FILE
GIERBOLINI EMANUELLI, CONSUELO           ADDRESS ON FILE
GIERBOLINI EMANUELLI, GABRIEL            ADDRESS ON FILE
GIERBOLINI EMANUELLI, GILBERTO           ADDRESS ON FILE
GIERBOLINI EMANUELLI, KARINA             ADDRESS ON FILE
GIERBOLINI EMMANUELLI, JAIME             ADDRESS ON FILE
GIERBOLINI FLORES, BRENDA                ADDRESS ON FILE
GIERBOLINI FLORES, LEYDA                 ADDRESS ON FILE
GIERBOLINI GIERBOLINI, MARJORIE          ADDRESS ON FILE
GIERBOLINI GIERBOLINI, MARJORIE DEL C.   ADDRESS ON FILE
GIERBOLINI GIERBOLINI, MAUREEN           ADDRESS ON FILE
GIERBOLINI GIERBOLINI, ROLANDO           ADDRESS ON FILE
GIERBOLINI GIERBOLINI, ROLANDO           ADDRESS ON FILE
GIERBOLINI GONZALEZ, CECILLE M.          ADDRESS ON FILE
GIERBOLINI GUZMAN, EMERITA               ADDRESS ON FILE
GIERBOLINI GUZMAN, FRANCISCO J           ADDRESS ON FILE
GIERBOLINI HOYOS, CARLOS E               ADDRESS ON FILE
GIERBOLINI LUGO, MARIA T                 ADDRESS ON FILE
GIERBOLINI MARRERO, MIRTA M.             ADDRESS ON FILE
GIERBOLINI MARTINEZ, ANALIESE            ADDRESS ON FILE
GIERBOLINI MARTINEZ, EVELYN              ADDRESS ON FILE
GIERBOLINI MARTINEZ, JUAN                ADDRESS ON FILE
GIERBOLINI MERINO, CORALIS               ADDRESS ON FILE
GIERBOLINI MERINO, GILBERTO              ADDRESS ON FILE
GIERBOLINI MERINO, GILBERTO              ADDRESS ON FILE




                                                                                     Page 3200 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3201 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                            Address1                         Address2                     Address3   Address4   City         State   PostalCode   Country
GIERBOLINI MONTALVO, ZULMA               ADDRESS ON FILE
GIERBOLINI MUNOZ, ANA                    ADDRESS ON FILE
GIERBOLINI NOLASCO, RUBEN O.             ADDRESS ON FILE
GIERBOLINI NORAT, ANDRE                  ADDRESS ON FILE
GIERBOLINI NORAT, SARAY DEL              ADDRESS ON FILE
GIERBOLINI PEREZ, HECTOR                 ADDRESS ON FILE
GIERBOLINI RAMOS, CARMEN A               ADDRESS ON FILE
GIERBOLINI RIVERA, ARQUIMEDES A          ADDRESS ON FILE
GIERBOLINI RIVERA, IVONNE                ADDRESS ON FILE
GIERBOLINI RIVERA, LUIS                  ADDRESS ON FILE
GIERBOLINI RIVERA, NYDIA                 ADDRESS ON FILE
GIERBOLINI RODRIGUEZ, ANGEL Y            ADDRESS ON FILE
GIERBOLINI RODRIGUEZ, MARIO              ADDRESS ON FILE
GIERBOLINI RODRIGUEZ, RAYMOND            ADDRESS ON FILE
GIERBOLINI RODRIGUEZ, SULEYKA N          ADDRESS ON FILE
GIERBOLINI ROSA, DAVID                   ADDRESS ON FILE
GIERBOLINI ROSA, JOSE LUIS               ADDRESS ON FILE
GIERBOLINI ROSA, RUBEN O                 ADDRESS ON FILE
GIERBOLINI SAEZ, SAMUEL                  ADDRESS ON FILE
GIERBOLINI SANTIAGO, CARLOS              ADDRESS ON FILE
GIERBOLINI SOTO, AIDA E.                 ADDRESS ON FILE
GIERBOLINI SOTO, CARMEN M                ADDRESS ON FILE
GIERBOLINI SOTO, MAITTE                  ADDRESS ON FILE
GIERBOLINI TORRES, WILMA                 ADDRESS ON FILE
GIERBOLINI TORRES, WILMA                 ADDRESS ON FILE
GIERBOLINI VALDERRAMA, IVONNE            ADDRESS ON FILE
GIERBOLINI VALDERRAMA, ROBERTO           ADDRESS ON FILE
GIERBOLINI, CARLOS R                     ADDRESS ON FILE
GIERBOLINI, CARMEN D                     ADDRESS ON FILE
GIESEN, FRANCISCUS                       ADDRESS ON FILE
GIGA BYTE COMPUTERS SERVICES             68 COMERCIO                                                                         YAUCO        PR      00698
GIGANTE BAEZ MD, ARTURO                  ADDRESS ON FILE
GIGANTE RUIZ, AUGUSTO                    ADDRESS ON FILE
GIGANTE RUIZ, LINETTE                    ADDRESS ON FILE
GIGANTES CAROLINA AA BASEBALL CLUB INC   PMB 217                          PO BOX 6022                                        CAROLINA     PR      00984
GIGANTES PUERTORRIQUENA MASCULINO CORP PO BOX 20936                                                                          SAN JUAN     PR      00928
GIKNAVORIAN POPESCU, SONIA               ADDRESS ON FILE
GIL A GONZALEZ RIVERA                    ADDRESS ON FILE
GIL A MADURO NEGRON                      ADDRESS ON FILE
GIL A MALAVE ALVAREZ                     ADDRESS ON FILE
GIL A MARTINEZ DONATO                    ADDRESS ON FILE
GIL A MERCADO NIEVES                     ADDRESS ON FILE
GIL A ORTIZ CALDERON                     ADDRESS ON FILE
GIL A PADILLA FLORES                     ADDRESS ON FILE
GIL A PEREZ RIVERA                       ADDRESS ON FILE
GIL A RODRIGUEZ VEGA / NEW ENERGY        ADDRESS ON FILE
GIL A SUAREZ AMADOR                      ADDRESS ON FILE
GIL A. DIAZ CRUZ                         ADDRESS ON FILE
GIL ACOSTA MALAVE                        ADDRESS ON FILE
GIL ALBERTO NIEVES DIAZ / FARMACIA DENIK ADDRESS ON FILE
GIL ALBERTO NIEVES DIAZ DBA FCIA DENIRKA P O BOX 850                                                                         FAJARDO      PR      00738
GIL ALBERTO ORTIZ CABRERA                ADDRESS ON FILE
GIL ALERS, LORNA                         ADDRESS ON FILE
GIL ANTOMMARCHI, JOSE I                  ADDRESS ON FILE
GIL BADEL, CRISTINA C                    ADDRESS ON FILE
GIL BAUTISTA, FERNANDO                   ADDRESS ON FILE
GIL BURGOS AND PARTNERS CORP             PMB 459 200 AVE RAFAEL CORDERO   SUITE 140                                          CAGUAS       PR      00725‐3757
GIL CABAN, CLARIBEL                      ADDRESS ON FILE
GIL CABAN, HELIODORO                     ADDRESS ON FILE
GIL CABAN, ZORAIDA                       ADDRESS ON FILE




                                                                                        Page 3201 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3202 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GIL CADILLA, CARMEN P.             ADDRESS ON FILE
GIL CARABALLO, ARNOLD              ADDRESS ON FILE
GIL CASADO, MAYRA                  ADDRESS ON FILE
GIL CEBALLOS, ANA                  ADDRESS ON FILE
GIL CHRISTOPHER BORRERO            ADDRESS ON FILE
GIL CLAUDIO, RAMON O.              ADDRESS ON FILE
GIL COLLAZO CRUZ                   ADDRESS ON FILE
GIL CRUZ, WILMA L                  ADDRESS ON FILE
GIL D FRATICELLI SANTIAGO          ADDRESS ON FILE
GIL D FRATICELLI SANTIAGO          ADDRESS ON FILE
GIL D FRATICELLI SANTIAGO          ADDRESS ON FILE
GIL DE LA MADRID ALBINO, RACHEL    ADDRESS ON FILE
GIL DE LA MADRID ORLANDO, HECTOR   ADDRESS ON FILE
GIL DE LA MADRID, ANGEL            ADDRESS ON FILE
GIL DE LA MADRID, CARMEN M         ADDRESS ON FILE
GIL DE LA MADRID, MARIA            ADDRESS ON FILE
GIL DE LAMADRID, HECTOR            ADDRESS ON FILE
GIL DE LAMADRID, JAIME             ADDRESS ON FILE
GIL DE LAMADRID, MARITZA           ADDRESS ON FILE
GIL DE LAMADRID, WANDA I           ADDRESS ON FILE
GIL DE RUBIO CRUZ, PEDRO           ADDRESS ON FILE
GIL DE RUBIO DAVILA, LAURA         ADDRESS ON FILE
GIL DE RUBIO GONZALEZ, ARELIS      ADDRESS ON FILE
GIL DE RUBIO MORALES, MARIBEL      ADDRESS ON FILE
GIL DE RUBIO SANTIAGO, DAVID       ADDRESS ON FILE
GIL DE RUBIO TORRES, MAGALLY       ADDRESS ON FILE
GIL DE RUBIO, CRUCILDA             ADDRESS ON FILE
GIL DELGADO MD, CARLOS A           ADDRESS ON FILE
GIL DELGADO, CARLOS                ADDRESS ON FILE
GIL DELGADO, MARIA S               ADDRESS ON FILE
GIL DIAZ GONZALEZ                  ADDRESS ON FILE
GIL DIAZ, GRETCHEN                 ADDRESS ON FILE
GIL DIAZ, PABLO                    ADDRESS ON FILE
GIL DIAZ, PABLO R                  ADDRESS ON FILE
GIL E RIVERA CORNIER               ADDRESS ON FILE
GIL ENSENAT, FERNANDO A.           ADDRESS ON FILE
GIL ESCALERA, GILBERTO             ADDRESS ON FILE
GIL ESCUDERO MD, ALCIDES           ADDRESS ON FILE
GIL FELICIANO NIEVES               ADDRESS ON FILE
GIL G LOPEZ PEREZ                  ADDRESS ON FILE
GIL G MORALES MORALES              ADDRESS ON FILE
GIL GIL, ANGELINA                  ADDRESS ON FILE
GIL GIL, FREIDA N                  ADDRESS ON FILE
GIL GONZALEZ, HUGO J.              ADDRESS ON FILE
GIL GRANDE, VALERIA                ADDRESS ON FILE
GIL GUTIERREZ, RAFAEL J.           ADDRESS ON FILE
Gil Hernandez, Yazmin              ADDRESS ON FILE
GIL HERNANDEZ, YAZMIN              ADDRESS ON FILE
GIL J ORTIZ CAMPOS                 ADDRESS ON FILE
GIL JIMENEZ, VERIDIANA M.          ADDRESS ON FILE
GIL JUSINO MENDEZ                  ADDRESS ON FILE
GIL LUGO, MARIESTHER               ADDRESS ON FILE
GIL M FERNANDEZ SANTIAGO           ADDRESS ON FILE
GIL M FIGUEROA NEGRON              ADDRESS ON FILE
GIL MALDONADO, JOMARY E            ADDRESS ON FILE
GIL MARRE LOPEZ                    ADDRESS ON FILE
GIL MARTINEZ, ROXANNE              ADDRESS ON FILE
GIL MATOS, ADRIANA                 ADDRESS ON FILE
GIL MAYSONET, SHARAMARI            ADDRESS ON FILE
GIL MELENDEZ, LISAMARIE            ADDRESS ON FILE




                                                                               Page 3202 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3203 of 3500
                                                                             17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                 Address1                                   Address2                                Address3       Address4   City         State   PostalCode   Country
GIL MERCADO SURITA            JULIO MARCANO LÓPEZ                        623 AVE PONCE DE LEON STE 1103                                    SAN JUAN     PR      00917
GIL MERCADO SURITA            JULIO MARCANO LÓPEZ Y FRANCISCO J. DEL VALLPO BOX 190076                                                     SAN JUAN     PR      00919‐0076
GIL MERCEDES, CARLOS          ADDRESS ON FILE
GIL MORALES, EDUARDO          ADDRESS ON FILE
GIL MORALES, JAVIER           ADDRESS ON FILE
GIL MUÑOZ MD, BETTY           ADDRESS ON FILE
GIL NEGRON GONZALEZ           ADDRESS ON FILE
GIL NIEVES, JUAN R.           ADDRESS ON FILE
GIL OLAZABAL, GABRIEL         ADDRESS ON FILE
GIL OTERO, JOEL               ADDRESS ON FILE
GIL PEREZ GRAJALES            ADDRESS ON FILE
GIL PEREZ QUINONES            ADDRESS ON FILE
GIL PINEDA, NEMESIO           ADDRESS ON FILE
GIL PINEIRO                   ADDRESS ON FILE
GIL QUERO, ANTONIO            ADDRESS ON FILE
GIL RESTO SALGADO             ADDRESS ON FILE
GIL RESTO SALGADO             ADDRESS ON FILE
GIL RIVERA, ALIDA             ADDRESS ON FILE
GIL RIVERA, CARLOS D.         ADDRESS ON FILE
GIL RIVERA, ELEAZAR           ADDRESS ON FILE
GIL RIVERA, HECTOR            ADDRESS ON FILE
GIL RIVERA, JOANNE            ADDRESS ON FILE
GIL RIVERA, MANUEL R          ADDRESS ON FILE
GIL RIVERA, VANESSA E         ADDRESS ON FILE
GIL RODRIGUEZ, GABRIEL A      ADDRESS ON FILE
GIL RODRIGUEZ, MARIELA        ADDRESS ON FILE
GIL RODRIGUEZ, MELISSA        ADDRESS ON FILE
GIL RODRIGUEZ, SONEL M        ADDRESS ON FILE
GIL RODRIGUEZ, VIOMARY        ADDRESS ON FILE
GIL ROMERO, RAMON             ADDRESS ON FILE
GIL RPT, JULIA                ADDRESS ON FILE
GIL SALGADO, ERIC             ADDRESS ON FILE
GIL SALGADO, ERIC G.          ADDRESS ON FILE
GIL SANTOS NEVAREZ            ADDRESS ON FILE
GIL SERRANO, MIRTA E          ADDRESS ON FILE
GIL SERRANO, SANDRA           ADDRESS ON FILE
GIL SIACA, ANARY              ADDRESS ON FILE
GIL VALENZUELA, LIBRADA       ADDRESS ON FILE
GIL VAZQUEZ MORALES           ADDRESS ON FILE
GIL VELAZQUEZ, LINNETTE       ADDRESS ON FILE
GIL VENZAL, MARIA DEL         ADDRESS ON FILE
GIL X URBINA PEREZ            ADDRESS ON FILE
GIL, CARLOS                   ADDRESS ON FILE
GIL, ELIZABETH                ADDRESS ON FILE
GIL, JOSE R                   ADDRESS ON FILE
GIL, JUANA                    ADDRESS ON FILE
GIL, PEDRO                    ADDRESS ON FILE
GILARY ACEVEDO LOPEZ          ADDRESS ON FILE
Gilbe Negron, Rafael          ADDRESS ON FILE
GILBEN CAMACHO IZQUIERDO      ADDRESS ON FILE
GILBERS RIVERA, RICARDO       ADDRESS ON FILE
GILBERT BAHAMUNDI BERNARD     ADDRESS ON FILE
GILBERT CARRASQUILLO PINERO   ADDRESS ON FILE
GILBERT CORP                  PO BOX 194527                                                                                                SAN JUAN     PR      00919‐4527
GILBERT COTTO HERNANDEZ       ADDRESS ON FILE
GILBERT GARAY, MARGARITA      ADDRESS ON FILE
GILBERT HERRING, JULIUS       ADDRESS ON FILE
GILBERT J MERCED RODRIGUEZ    ADDRESS ON FILE
GILBERT MALDONADO CANCEL      LIC. RAFAEL MARCHANED PAONESSA             PONCE DE LEON NUM. 623 BANCO COOPETATIVO OFIC. 502‐B              HATO REY     PR      00918
GILBERT MARQUEZ, MILDRED E    ADDRESS ON FILE




                                                                                                   Page 3203 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3204 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GILBERT MARQUEZ, ROSE             ADDRESS ON FILE
GILBERT MEDINA LEBRON             ADDRESS ON FILE
GILBERT MIRANDA, RACHELLE         ADDRESS ON FILE
GILBERT MUðOZ GELABERT            ADDRESS ON FILE
GILBERT MUNOZ GELABERT            ADDRESS ON FILE
GILBERT MUNOZ GELABERT            ADDRESS ON FILE
GILBERT O DE LA CRUZ RODRIGUEZ    ADDRESS ON FILE
GILBERT PABON MORA                ADDRESS ON FILE
GILBERT RAMOS NIEVES              ADDRESS ON FILE
GILBERT RIVERA MOLINA             ADDRESS ON FILE
GILBERT RODRIGUEZ HERNANDEZ       ADDRESS ON FILE
GILBERT S. ANGLERO GUZMAN         ADDRESS ON FILE
GILBERT S. ANGLERO GUZMAN         ADDRESS ON FILE
GILBERT SAFE                      ADDRESS ON FILE
GILBERT Y QUINONES MATIAS         ADDRESS ON FILE
GILBERT ZACHEUS SANCHEZ           ADDRESS ON FILE
GILBERT, NEIL                     ADDRESS ON FILE
GILBERTO A COLON VEGA             ADDRESS ON FILE
GILBERTO A MARTINEZ REYES         ADDRESS ON FILE
GILBERTO A MORALES LOPEZ          ADDRESS ON FILE
GILBERTO A VELEZ DELGADO          ADDRESS ON FILE
GILBERTO A VICENTE CRUZ           ADDRESS ON FILE
GILBERTO A. VICENTE CRUZ          ADDRESS ON FILE
GILBERTO ACEVEDO MENDEZ           ADDRESS ON FILE
GILBERTO ACEVEDO RAMOS            ADDRESS ON FILE
GILBERTO ADORNO                   ADDRESS ON FILE
GILBERTO AGUILAR NIEVES           ADDRESS ON FILE
GILBERTO ALEMAN MORALES           ADDRESS ON FILE
GILBERTO ALEQUIN MERCADO          ADDRESS ON FILE
GILBERTO ALFARO BERRIOS           ADDRESS ON FILE
GILBERTO ALICEA                   ADDRESS ON FILE
GILBERTO ALVARADO SANTIAGO        ADDRESS ON FILE
GILBERTO APONTE GUTIERREZ         ADDRESS ON FILE
GILBERTO APONTE MACHIN            ADDRESS ON FILE
GILBERTO ASENCIO                  ADDRESS ON FILE
GILBERTO AVILA HERNANDEZ          ADDRESS ON FILE
GILBERTO BAEZ MENDEZ              ADDRESS ON FILE
GILBERTO BARRETO HERNANDEZ        ADDRESS ON FILE
GILBERTO BARRIONUEVO CASABLANCA   ADDRESS ON FILE
GILBERTO BATISTA RIVERA           ADDRESS ON FILE
GILBERTO BATISTA RIVERA           ADDRESS ON FILE
GILBERTO BENITEZ RUIZ             ADDRESS ON FILE
GILBERTO BETANCOURT DIAZ          ADDRESS ON FILE
GILBERTO BONILLA                  ADDRESS ON FILE
GILBERTO BONILLA VICENTE          ADDRESS ON FILE
GILBERTO BORGES GARCIA            ADDRESS ON FILE
GILBERTO BRUGMAN MERCADO          ADDRESS ON FILE
GILBERTO CABALLERO HERNANDEZ      ADDRESS ON FILE
GILBERTO CABALLERO MARTINEZ       ADDRESS ON FILE
GILBERTO CALDERON GARCIA          ADDRESS ON FILE
GILBERTO CAPACCETTI DIAZ          ADDRESS ON FILE
GILBERTO CARABALLO ACOSTA         ADDRESS ON FILE
GILBERTO CARDONA ORTEGA           ADDRESS ON FILE
GILBERTO CARO GONZALEZ            ADDRESS ON FILE
GILBERTO CARRERO SANCHEZ          ADDRESS ON FILE
GILBERTO CEDENO VIERA             ADDRESS ON FILE
GILBERTO CHAPARRO ECHEVARRIA      ADDRESS ON FILE
GILBERTO CINTRÓN AYALA            GILBERTO CINTRÓN AYALA    BOX 20                           HATO REY              SAN JUAN     PR      00918
GILBERTO CLAUDIO MARRERO          ADDRESS ON FILE
GILBERTO COLON FLECHA             ADDRESS ON FILE




                                                                              Page 3204 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3205 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                        Address1                  Address2                                 Address3             Address4   City         State   PostalCode   Country
GILBERTO COLON FLECHA                ADDRESS ON FILE
GILBERTO COLON LEBRON                ADDRESS ON FILE
GILBERTO COLON RIVAS                 ADDRESS ON FILE
GILBERTO COLON SANCHEZ               ADDRESS ON FILE
GILBERTO CORDERO NAZARIO             ADDRESS ON FILE
GILBERTO CORREA RIVERA               ADDRESS ON FILE
GILBERTO CORREA RIVERA               ADDRESS ON FILE
GILBERTO CORTES FIGUEROA MD          ADDRESS ON FILE
GILBERTO COUNTIN                     ADDRESS ON FILE
GILBERTO COUVERTIER MORALES          ADDRESS ON FILE
GILBERTO CRUZ DELGADO                ADDRESS ON FILE
GILBERTO CRUZ FIGUEROA               ADDRESS ON FILE
GILBERTO CRUZ FIGUEROA               ADDRESS ON FILE
GILBERTO CRUZ FIGUEROA               ADDRESS ON FILE
GILBERTO CRUZ NIEVES                 ADDRESS ON FILE
GILBERTO CRUZ RODRIGUEZ              ADDRESS ON FILE
GILBERTO D RIVERA VELEZ              ADDRESS ON FILE
GILBERTO DAVILA DBA/BANANERA PAGAN   URB LUCHETTI              E 1 CALLE GUAYACAN                                                       YAUCO        PR      00698
GILBERTO DAVILA MARCANO              ADDRESS ON FILE
                                                                                                        1510 Ponce DE LEÓN
GILBERTO DE JESUS CASAS              LUIS GONZALEZ ORTIZ       BOX 39                                   STE 6C                          SAN JUAN     PR      00909
GILBERTO DE JESUS CASAS              NYVIA MILIAN FALERO       APARTADO POSTAL 194000 NÚM. 212                                          SAN JUAN     PR      00919‐4000
GILBERTO DE JESUS MATOS              ADDRESS ON FILE
GILBERTO DE JESUS PEREZ              ADDRESS ON FILE
GILBERTO DE LEON SANCHEZ             ADDRESS ON FILE
GILBERTO DE LEON SOTO                ADDRESS ON FILE
GILBERTO DELGADO PEREZ               ADDRESS ON FILE
GILBERTO DIAZ PAGAN                  ADDRESS ON FILE
GILBERTO DIAZ RIOS                   ADDRESS ON FILE
GILBERTO DONES DIEPPA                ADDRESS ON FILE
GILBERTO E DEL VALLE LOPEZ           ADDRESS ON FILE
GILBERTO E PADUA TRABAL              ADDRESS ON FILE
GILBERTO ESCOBAR                     ADDRESS ON FILE
GILBERTO ESPINOSA FELICIANO          ADDRESS ON FILE
GILBERTO FALCON OLIVERAS             ADDRESS ON FILE
GILBERTO FARGAS DAVILA               ADDRESS ON FILE
GILBERTO FELICIANO MATTEI            ADDRESS ON FILE
GILBERTO FERNANDEZ SEVILLA           ADDRESS ON FILE
GILBERTO FIGUEROA ANAYA              ADDRESS ON FILE
GILBERTO FIGUEROA CORREA             ADDRESS ON FILE
GILBERTO FIGUEROA DIAZ               ADDRESS ON FILE
GILBERTO FIGUEROA MENDEZ             ADDRESS ON FILE
GILBERTO FIGUEROA NIEVES             ADDRESS ON FILE
GILBERTO FIGUEROA ORTIZ              ADDRESS ON FILE
GILBERTO FIGUEROA VEGA               ADDRESS ON FILE
GILBERTO FLORES ACOSTA               ADDRESS ON FILE
GILBERTO FLORES MARTINEZ             ADDRESS ON FILE
GILBERTO FRAGOSO LEDESMA             ADDRESS ON FILE
GILBERTO FRAGUADA RIVERA             ADDRESS ON FILE
GILBERTO G COSTA SANDIN              ADDRESS ON FILE
GILBERTO GARCIA VEGA                 ADDRESS ON FILE
GILBERTO GIERBOLINI MERINO           ADDRESS ON FILE
GILBERTO GOMEZ ORTIZ                 ADDRESS ON FILE
GILBERTO GOMEZ ORTIZ CO PSC          PO BOX 2622                                                                                        MAYAGUEZ     PR      00681
GILBERTO GONZALEZ ALVAREZ            ADDRESS ON FILE
GILBERTO GONZALEZ LEBRON             ADDRESS ON FILE
GILBERTO GUZMAN HERNANDEZ            ADDRESS ON FILE
GILBERTO HANKE                       ADDRESS ON FILE
GILBERTO HERNANDEZ CARDONA           ADDRESS ON FILE
GILBERTO HERNANDEZ DIAZ              ADDRESS ON FILE




                                                                                         Page 3205 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3206 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GILBERTO HERNANDEZ MALDONADO    ADDRESS ON FILE
GILBERTO HERNANDEZ MONTANEZ     ADDRESS ON FILE
GILBERTO HERRERA SERRANO        ADDRESS ON FILE
GILBERTO I LUGO SANTOS          ADDRESS ON FILE
GILBERTO J LOPEZ VILA           ADDRESS ON FILE
GILBERTO J LUCIANO GONZALEZ     ADDRESS ON FILE
GILBERTO J MALDONADO MANZANET   ADDRESS ON FILE
GILBERTO J MARXUACH TORROS      ADDRESS ON FILE
GILBERTO J PEREZ HUNT           ADDRESS ON FILE
GILBERTO J RECIO GOMEZ          ADDRESS ON FILE
GILBERTO L CALDERO VILLANUEVA   ADDRESS ON FILE
GILBERTO L MERCADER ANTUNEZ     ADDRESS ON FILE
GILBERTO L MIELES BERRIOS       ADDRESS ON FILE
GILBERTO L RODRIGUEZ ORTIZ      ADDRESS ON FILE
GILBERTO L SANTIAGO FRANCO      ADDRESS ON FILE
GILBERTO L TORRES REYES         ADDRESS ON FILE
GILBERTO LASSALLE OLIVERO       ADDRESS ON FILE
GILBERTO LICIAGA MARTINEZ       ADDRESS ON FILE
GILBERTO LIMARDO RODRIGUEZ      ADDRESS ON FILE
GILBERTO LOPEZ                  ADDRESS ON FILE
GILBERTO LOPEZ ALVAREZ          ADDRESS ON FILE
GILBERTO LOPEZ DE LEON          ADDRESS ON FILE
GILBERTO LOPEZ FUENTE           ADDRESS ON FILE
GILBERTO LOPEZ GONZALEZ         ADDRESS ON FILE
GILBERTO LÓPEZ MALDONADO        ADDRESS ON FILE
GILBERTO LOZADA RAMIREZ         ADDRESS ON FILE
GILBERTO LUCIANO SANTIAGO       ADDRESS ON FILE
GILBERTO LUGO MALDONADO         ADDRESS ON FILE
GILBERTO LUIS REYES GONZALEZ    ADDRESS ON FILE
GILBERTO M CHARRIEZ ROSARIO     ADDRESS ON FILE
GILBERTO M CHARRIEZ ROSARIO     ADDRESS ON FILE
GILBERTO M MARTINEZ RIVERA      ADDRESS ON FILE
Gilberto M. Martinez Ortiz      ADDRESS ON FILE
GILBERTO MAISONAVE ARCE         ADDRESS ON FILE
GILBERTO MAISONAVE ARCE         ADDRESS ON FILE
GILBERTO MARRERO ALVARADO       ADDRESS ON FILE
GILBERTO MARRERO VAZQUEZ        ADDRESS ON FILE
GILBERTO MARTINEZ               ADDRESS ON FILE
GILBERTO MARTINEZ BURGOS        ADDRESS ON FILE
GILBERTO MARTINEZ NAVARRO       ADDRESS ON FILE
GILBERTO MARTINEZ SANTIAGO      ADDRESS ON FILE
GILBERTO MARTINEZ SEPULVEDA     ADDRESS ON FILE
GILBERTO MARXUACH GINORIO       ADDRESS ON FILE
GILBERTO MATOS RODRIGUEZ        ADDRESS ON FILE
GILBERTO MATOS VELAZQUEZ        ADDRESS ON FILE
GILBERTO MEDINA CUBANO          ADDRESS ON FILE
GILBERTO MEDINA NATER           ADDRESS ON FILE
GILBERTO MENDEZ VALENTIN        ADDRESS ON FILE
GILBERTO MERCADO                ADDRESS ON FILE
GILBERTO MILLAN SANCHEZ         ADDRESS ON FILE
GILBERTO MIRANDA ROMERO         ADDRESS ON FILE
GILBERTO MONTERO ROSSY          ADDRESS ON FILE
GILBERTO MORALES LEBRON         ADDRESS ON FILE
GILBERTO MORALES PACHECO        ADDRESS ON FILE
GILBERTO MORALES PEREZ          ADDRESS ON FILE
GILBERTO MORALES RIVERA         ADDRESS ON FILE
GILBERTO MUNIZ CRUZ             ADDRESS ON FILE
GILBERTO MUNIZ RIVERA           ADDRESS ON FILE
GILBERTO MUNIZ VEGA             ADDRESS ON FILE
GILBERTO NIEVES LEBRO           ADDRESS ON FILE




                                                                            Page 3206 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3207 of 3500
                                                                               17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                   Address1                         Address2                                   Address3               Address4   City      State   PostalCode   Country
GILBERTO NUNES DA CUNHA FILHO   ADDRESS ON FILE
GILBERTO OCASIO                 ADDRESS ON FILE
GILBERTO OCASIO CRUZ            ADDRESS ON FILE
GILBERTO OLIVER DAVILA          ADDRESS ON FILE
GILBERTO OLIVER VAZQUEZ         ADDRESS ON FILE
GILBERTO ORTIZ GARRAFA          ADDRESS ON FILE
GILBERTO ORTIZ LUGO             ADDRESS ON FILE
GILBERTO OTERO LIBRAN           ADDRESS ON FILE
GILBERTO P ESCRIBANO MEDINA     ADDRESS ON FILE
GILBERTO PACHECO PADILLA        ADDRESS ON FILE
GILBERTO PADILLA NUNEZ          ADDRESS ON FILE
GILBERTO PADILLA RAMIREZ        ADDRESS ON FILE
GILBERTO PAGAN MELENDEZ         ADDRESS ON FILE
GILBERTO PAGAN SANTIAGO         ADDRESS ON FILE
GILBERTO PAGAN SIERRA           ADDRESS ON FILE
GILBERTO PELLOT RODRIGUEZ       ADDRESS ON FILE
                                                                                                             SUITE 3 MARGINAL BY
GILBERTO PELLOT RODRIGUEZ       LCDA. BRENDAIRIN CRUZ SANTIAGO   URB. PERLA DEL SUR 2421 PASEO PERLA DEL SUR PASS CARR. #2                    Ponce     PR      00717‐0663
GILBERTO PENA CAMACHO           ADDRESS ON FILE
GILBERTO PENA ORTIZ             ADDRESS ON FILE
GILBERTO PENA ORTIZ             ADDRESS ON FILE
GILBERTO PENA ORTIZ             ADDRESS ON FILE
GILBERTO PEREZ ANDINO           ADDRESS ON FILE
GILBERTO PEREZ BENITEZ          ADDRESS ON FILE
GILBERTO PEREZ CABAN            ADDRESS ON FILE
GILBERTO PEREZ HERNANDEZ        ADDRESS ON FILE
GILBERTO PEREZ LAMBOY           ADDRESS ON FILE
GILBERTO PEREZ PEREZ            ADDRESS ON FILE
GILBERTO PEREZ PEREZ            ADDRESS ON FILE
GILBERTO PEREZ ROMAN            ADDRESS ON FILE
GILBERTO PEREZ SANTIAGO         ADDRESS ON FILE
GILBERTO PEREZ SOLER            ADDRESS ON FILE
GILBERTO PEREZ TALAVERA         ADDRESS ON FILE
GILBERTO PEREZ TORRES           ADDRESS ON FILE
GILBERTO PESQUERA GUILLERMETY   ADDRESS ON FILE
GILBERTO PIETRI MARIANI         ADDRESS ON FILE
GILBERTO PINA CALDERON          ADDRESS ON FILE
GILBERTO PRATS REYES            ADDRESS ON FILE
GILBERTO QUI¥ONES HERNANDEZ     ADDRESS ON FILE
GILBERTO QUI¥ONEZ RODRIGUEZ     ADDRESS ON FILE
GILBERTO QUINONES               ADDRESS ON FILE
GILBERTO QUINONES OSORIO        ADDRESS ON FILE
GILBERTO QUINONES REYES         ADDRESS ON FILE
GILBERTO R QUINONES SILVA       ADDRESS ON FILE
GILBERTO RAMIREZ DELGADO        ADDRESS ON FILE
Gilberto Ramos                  ADDRESS ON FILE
GILBERTO RAMOS                  ADDRESS ON FILE
GILBERTO RAMOS PADILLA          ADDRESS ON FILE
GILBERTO RENDON CLAVIJO         ADDRESS ON FILE
GILBERTO REYES ORTIZ            ADDRESS ON FILE
GILBERTO REYES PINERO           ADDRESS ON FILE
GILBERTO REYES RIVERA           ADDRESS ON FILE
GILBERTO RIOS CORIANO           ADDRESS ON FILE
GILBERTO RIOS RIVERA            ADDRESS ON FILE
GILBERTO RIVERA                 ADDRESS ON FILE
GILBERTO RIVERA CRUZ            ADDRESS ON FILE
GILBERTO RIVERA MEDINA          ADDRESS ON FILE
GILBERTO RIVERA TORRES          ADDRESS ON FILE
GILBERTO ROBLEDO RIVERA         ADDRESS ON FILE
GILBERTO ROBLES MILLAN          ADDRESS ON FILE




                                                                                             Page 3207 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                 Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3208 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                      Address1                         Address2                                 Address3   Address4   City            State   PostalCode   Country
GILBERTO RODRIGUEZ                 ADDRESS ON FILE
GILBERTO RODRIGUEZ CRUZ            ADDRESS ON FILE
GILBERTO RODRIGUEZ DIAZ            ADDRESS ON FILE
GILBERTO RODRIGUEZ DIAZ            ADDRESS ON FILE
GILBERTO RODRIGUEZ FELICIANO       ADDRESS ON FILE
GILBERTO RODRIGUEZ HERNANDEZ       ADDRESS ON FILE
GILBERTO RODRIGUEZ MORALES         ADDRESS ON FILE
GILBERTO RODRIGUEZ QUILES          ADDRESS ON FILE
GILBERTO RODRIGUEZ ROBLES /        ADDRESS ON FILE
GILBERTO RODRIGUEZ RODRIGUEZ       ADDRESS ON FILE
GILBERTO RODRIGUEZ SANTIAGO        ADDRESS ON FILE
GILBERTO RODRIGUEZ SOLIVAN         ADDRESS ON FILE
GILBERTO RODRIGUEZ TORRES          ADDRESS ON FILE
GILBERTO RODRIGUEZ VAZQUEZ         ADDRESS ON FILE
GILBERTO ROMAN MERCADO             ADDRESS ON FILE
GILBERTO ROMAN MIRO                ADDRESS ON FILE
GILBERTO ROMAN RODRIGUEZ           ADDRESS ON FILE
GILBERTO ROSA DE LEON              ADDRESS ON FILE
GILBERTO ROSARIO TEBENAL           ADDRESS ON FILE
GILBERTO ROSARIO VICENTE           RICHARD SCHELL ASAD              PO BOX 9023352                                                 SAN JUAN        PR      00902‐3352
GILBERTO RUIZ CORDERO              ADDRESS ON FILE
GILBERTO RUIZ MORALES              ADDRESS ON FILE
GILBERTO RUIZ MORALES              ADDRESS ON FILE
GILBERTO RUIZ SANTA                ADDRESS ON FILE
GILBERTO SALINAS GARCIA            ADDRESS ON FILE
GILBERTO SANCHEZ CENTENO           ADDRESS ON FILE
GILBERTO SANCHEZ ORTIZ             ADDRESS ON FILE
GILBERTO SANCHEZ/ HECTOR SANCHEZ   ADDRESS ON FILE
GILBERTO SANTANA GONZALEZ          ADDRESS ON FILE
GILBERTO SANTEL MUNOZ              ADDRESS ON FILE
GILBERTO SANTEL MUNOZ              ADDRESS ON FILE
GILBERTO SANTIAGO RIVERA           ADDRESS ON FILE
GILBERTO SERRANO NEGRON            ADDRESS ON FILE
GILBERTO SOLIS MORALES             CAROL ANNETTE MARTINEZ RAMIREZ   PO BOX 9536                                                    CAGUAS          PR      00726‐9536
GILBERTO SOLIS MORALES             MARIA LUISA COLÓN RIVERA         PO BOX 2008                                                    YABUCOA         PR      00767
GILBERTO SOLIVAN ROMAN             ADDRESS ON FILE
GILBERTO SOTO CORALI               ADDRESS ON FILE
GILBERTO SOTO MONTALVO             ADDRESS ON FILE
GILBERTO SUAREZ NIEVES             ADDRESS ON FILE
GILBERTO TIRADO ROMAN              ADDRESS ON FILE
GILBERTO TOLEDO DELGADO            ADDRESS ON FILE
GILBERTO TORRES                    ADDRESS ON FILE
GILBERTO TORRES                    ADDRESS ON FILE
GILBERTO TORRES ALVARADO           ADDRESS ON FILE
GILBERTO TORRES DAVILA             ADDRESS ON FILE
GILBERTO TORRES GARCIA             ADDRESS ON FILE
GILBERTO TORRES GONZALEZ           ADDRESS ON FILE
GILBERTO TORRES MORALES            ADDRESS ON FILE
GILBERTO TORRES RAMOS              ADDRESS ON FILE
GILBERTO TRISTANI SERRANO DBA      GTS ADVERTISING                  PMB 451 CALLE CALAF 400                                        SAN JUAN        PR      00918
GILBERTO TROCHE LUGO               ADDRESS ON FILE
GILBERTO URBINA URBINA             ADDRESS ON FILE
GILBERTO VALENTIN FELIX            ADDRESS ON FILE
GILBERTO VALENZUELA E HIJOS        ADDRESS ON FILE
GILBERTO VALLE PENA                ADDRESS ON FILE
GILBERTO VALLS TORRES              ADDRESS ON FILE
GILBERTO VEGA BRACIALE             ADDRESS ON FILE
GILBERTO VEGA CRUZ                 ANDRÉS RODRÍGUEZ ELÍAS           PO BOX 1146                                                    SABANA SECA     PR      00952
GILBERTO VEGA FLORES               ADDRESS ON FILE
GILBERTO VELAZQUEZ MORALES         ADDRESS ON FILE




                                                                                              Page 3208 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3209 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GILBERTO VELEZ GONZALEZ         ADDRESS ON FILE
GILBERTO VELEZ ORTIZ            ADDRESS ON FILE
GILBERTO VELEZ PEREZ            ADDRESS ON FILE
GILBERTO VILA MALDONADO         ADDRESS ON FILE
GILBERTO VILLEGAS AGOSTO        ADDRESS ON FILE
GILBERTO X SANTIAGO             ADDRESS ON FILE
GILBERTO ZAPATA RAMIREZ         ADDRESS ON FILE
GILBES BURGOS, YEDIRIS          ADDRESS ON FILE
GILBES DE JESUS, YARIVETTE      ADDRESS ON FILE
GILBES DOMINGUEZ, ORLANDO       ADDRESS ON FILE
Gilbes Lopez, Brenda I          ADDRESS ON FILE
GILBES MALDONADO, NAHIOMY       ADDRESS ON FILE
GILBES MEDINA, MARIA            ADDRESS ON FILE
GILBES NEGRON, CARMEN M         ADDRESS ON FILE
GILBES NEGRON, LOURDES M        ADDRESS ON FILE
Gilbes Negron, Orlando I        ADDRESS ON FILE
GILBES NIEVES, JOSE             ADDRESS ON FILE
GILBES ORTIZ, MARIA             ADDRESS ON FILE
GILBES ORTIZ, SONIA             ADDRESS ON FILE
GILBES SANTIAGO, ANTONIO        ADDRESS ON FILE
GILBES SANTIAGO, ELSA           ADDRESS ON FILE
GILBES SANTIAGO, PEDRO          ADDRESS ON FILE
GILBES,JOSE J.                  ADDRESS ON FILE
GIL‐BORGES LOPEZ, JESSICA       ADDRESS ON FILE
GILDA ABAD CARO                 ADDRESS ON FILE
GILDA CRUZ MASBERNAT            ADDRESS ON FILE
GILDA D CRESCIONI ORTIZ         ADDRESS ON FILE
GILDA D PADILLA RODRIGUEZ       ADDRESS ON FILE
GILDA DIAZ RIVERA               ADDRESS ON FILE
GILDA DIAZ RIVERA               ADDRESS ON FILE
GILDA E CRUZ RUIZ               ADDRESS ON FILE
GILDA E GRAJALES RAMIREZ        ADDRESS ON FILE
GILDA E RIVERA AYALA            ADDRESS ON FILE
GILDA GARCIA PORRAS             ADDRESS ON FILE
GILDA GARCIA PORRAS             ADDRESS ON FILE
GILDA GONZALEZ LOPEZ            ADDRESS ON FILE
GILDA INESTA ZEGARRA            ADDRESS ON FILE
GILDA M ACOSTA GUERRERO         ADDRESS ON FILE
GILDA M BOBE RAMOS              ADDRESS ON FILE
GILDA M SANTIAGO FRANCESCHI     ADDRESS ON FILE
GILDA M SANTOS SEVERINO         ADDRESS ON FILE
GILDA M VILLAFANE TORRES        ADDRESS ON FILE
GILDA MALDONADO TORRES          ADDRESS ON FILE
GILDA RIVERA ALICEA             ADDRESS ON FILE
GILDA VELEZ ARIAS               ADDRESS ON FILE
GILDA VILLAMIL MATOS            ADDRESS ON FILE
GILDELAMADRID ANDUJAR, IVAN     ADDRESS ON FILE
GILDELAMADRID VAZQUEZ, SINDEE   ADDRESS ON FILE
GILDERUBIO, JUAN M              ADDRESS ON FILE
GILDO ACEVEDO RODRIGUEZ         ADDRESS ON FILE
GILDREN S CARO PEREZ            ADDRESS ON FILE
GILDRETH V PEREZ GONZALEZ       ADDRESS ON FILE
GILDRETTE GONZALEZ SOTO         ADDRESS ON FILE
GILES NUNEZ, JENNIFER           ADDRESS ON FILE
GILES NUNEZ, JENNIFER           ADDRESS ON FILE
GILES RIVERA, JOSE L.           ADDRESS ON FILE
GILES TORO MD, RICHARD          ADDRESS ON FILE
GILES VAZQUEZ, SARAH            ADDRESS ON FILE
GILES, MARY                     ADDRESS ON FILE
GILESTRA BETANCOURT, NORMA      ADDRESS ON FILE




                                                                            Page 3209 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3210 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                     Creditor Matrix

Creditor Name                            Address1                      Address2                                   Address3   Address4   City              State   PostalCode   Country
GILESTRA RODRIGUEZ, ALBERTO              ADDRESS ON FILE
Gilestra Rodriguez, Gilberto             ADDRESS ON FILE
GILESTRA RODRIGUEZ, GILBERTO             ADDRESS ON FILE
GILFREDO GOMEZ BUENO                     ADDRESS ON FILE
GILFREDO NIEVES HERNANDEZ                ADDRESS ON FILE
GILKEM TORRES PEREZ                      ADDRESS ON FILE
GILL RIVAS, CHANISE                      ADDRESS ON FILE
GILL RODRIGUEZ, ILLYANA                  ADDRESS ON FILE
GILLARD, LISTER                          ADDRESS ON FILE
GILLERMO ROSADO VEGA                     ADDRESS ON FILE
GILLES FIGUEROA, NAHIR P                 ADDRESS ON FILE
GILLESPIE, SARAH                         ADDRESS ON FILE
GILLETTE ORTIZ, MARIA                    ADDRESS ON FILE
GILLIGUIA INC                            MARCOM TOWER BLD STE 403      1311 AVE PONCE DE LEON OFIC 603                                  SAN JUAN          PR      00907
GILLILAND ORTIZ, SUSAN                   ADDRESS ON FILE
GILLIS CIENCIALA, IAN                    ADDRESS ON FILE
GILLOT CARRASQUILLO, ANADITH             ADDRESS ON FILE
GILMA I ORTIZ AMARO                      ADDRESS ON FILE
GILMAR J RUIZ BERGOLLO                   ADDRESS ON FILE
GIL‐MAR ROOFING & PAINTING CONTRACTORS , EL CONQUISTADOR 1 ‐ 48C / 5                                                                    TRUJILLO ALTO     PR      00976‐0000
GILMARI BLAS RODRIGUEZ                   ADDRESS ON FILE
GILMARIE D. CALDERON SANTOS              ADDRESS ON FILE
GILMARIE D. CALDERON SANTOS              ADDRESS ON FILE
GILMARIE D. CALDERON SANTOS              ADDRESS ON FILE
GILMARIE GARCIA PENA                     ADDRESS ON FILE
GILMARIE MERCADO PEREZ                   ADDRESS ON FILE
GILMARY COLLAZO MILLAN                   ADDRESS ON FILE
GILMORE COMPANY, INC                     PO BOX 1105                                                                                    ISABELA           PR      00662
GILMORE, PETER                           ADDRESS ON FILE
GILNIA G RODRIGUEZ RAMOS                 ADDRESS ON FILE
GILORMINI AGUILAR, MARGIE                ADDRESS ON FILE
GILORMINI ALICEA, MARISSA                ADDRESS ON FILE
GILORMINI DE GRACIA, DOMINIQUE           ADDRESS ON FILE
GILSSELLE CORDOVA IBANEZ                 ADDRESS ON FILE
GIMAR MARTINEZ COLON                     ADDRESS ON FILE
GIMARY RODRIGUEZ RIVERA                  ADDRESS ON FILE
GIMBERNARD NUNEZ, IVONNE I.              ADDRESS ON FILE
GIMBERNARD VERA, JATZEL Y                ADDRESS ON FILE
GIMENEZ GARCIA, STEVE A                  ADDRESS ON FILE
GIMENEZ LOPEZ, IRMA A                    ADDRESS ON FILE
GIMENEZ LOPEZ, IRMA A.                   ADDRESS ON FILE
GIMENEZ LOPEZ, JESUS R                   ADDRESS ON FILE
GIMENEZ LUCIANO, IRIS                    ADDRESS ON FILE
GIMENEZ MANSO, LUIS J                    ADDRESS ON FILE
GIMENEZ MOREIRA, EVANMARIE               ADDRESS ON FILE
GIMENEZ MORFI, GILBERTO                  ADDRESS ON FILE
GIMENEZ MUNOZ, MIGUEL A.                 ADDRESS ON FILE
GIMENEZ OCASIO, ASTRID                   ADDRESS ON FILE
GIMENEZ OCASIO, ROCIO DEL                ADDRESS ON FILE
GIMENEZ OSORIO, CARLA M                  ADDRESS ON FILE
GIMENEZ RODRIGUEZ, ANGELES M.            ADDRESS ON FILE
GIMENEZ SANCHEZ, INGRID M                ADDRESS ON FILE
GIMENEZ SANCHEZ, YAZMIN I.               ADDRESS ON FILE
GIMENEZ SANTANA, JOSUE                   ADDRESS ON FILE
GIMENEZ SANTANA, JOSUE                   ADDRESS ON FILE
GIMENEZ SOLER, LETICIA                   ADDRESS ON FILE
GINA AGUILAR GERARDINO                   ADDRESS ON FILE
GINA C VENCE PACHECO                     ADDRESS ON FILE
GINA FONSECA CRESCIONI                   ADDRESS ON FILE
GINA H FERRER MEDINA                     ADDRESS ON FILE




                                                                                                   Page 3210 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                  Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3211 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                            Address1                  Address2                                 Address3   Address4   City              State   PostalCode   Country
GINA I PEREIRA LEON                      ADDRESS ON FILE
GINA I RIVERA ORTIZ                      ADDRESS ON FILE
GINA L HERNANDEZ GONZALEZ                ADDRESS ON FILE
GINA LEE CANMAN                          ADDRESS ON FILE
GINA LOPEZ JAVIER                        ADDRESS ON FILE
GINA M CARRILLO GARCIA                   ADDRESS ON FILE
GINA M HERNANDEZ HERNANDEZ               ADDRESS ON FILE
GINA M LOPEZ QUILES                      ADDRESS ON FILE
GINA M LOPEZ QUILES                      ADDRESS ON FILE
GINA M MONTANEZ VILLAFANE                ADDRESS ON FILE
GINA M MONTANEZ VILLAFANE                ADDRESS ON FILE
GINA M SALADO ESMURDOC                   ADDRESS ON FILE
GINA M SOTO RODRIGUEZ                    ADDRESS ON FILE
GINA M. CARRILLO GARCIA , PE             CALLE SALDANA # 356                                                                      SAN JUAN          PR      00912‐0000
GINA M. JOVE MATOS                       LCDO. JAIME PICO MUÑOZ    PO BOX 70199                                                   SAN JUAN          PR      00936‐8190
GINA MARIA JOVE MATOS                    ADDRESS ON FILE
GINA R MENDEZ MIRO                       ADDRESS ON FILE
GINA ROSA CILLO                          ADDRESS ON FILE
GINALEE GUZMAN HERRERA                   ADDRESS ON FILE
GINALISSE NIEVES SANCHEZ V DEPARTAMENTO DLCDO OSVALDO BURGOS       PO BOX 194211                                                  SAN JUAN          PR      00919‐4211
GINAMARIS SANTOS TIRADO                  ADDRESS ON FILE
GINARA,INC                               URB ROUND HLS             322 CALLE CRUZ DE MALTA                                        TRUJILLO ALTO     PR      00976‐2709
GINARD DE JESUS, FRANCISCO               ADDRESS ON FILE
GINARD SEDA, MARIA                       ADDRESS ON FILE
GINARD VELEZ, CATALINA                   ADDRESS ON FILE
GINARIS SAMALY FLORES FONTANEZ           ADDRESS ON FILE
GINEBRA CORDERO, VANESSA                 ADDRESS ON FILE
GINEBRA VAZQUEZ, FIDEL                   ADDRESS ON FILE
GINEBRA VAZQUEZ, TANIA A                 ADDRESS ON FILE
GINED MALDONADO LUGO                     ADDRESS ON FILE
GINEIMA I OJEDA RICHARDSON               ADDRESS ON FILE
GINEIMA I OJEDA RICHARDSON               ADDRESS ON FILE
GINEL CEPEDA RIVERA                      ADDRESS ON FILE
GINEL LAPORTE, JORGE                     ADDRESS ON FILE
GINEL LAPORTE, JORGE L.                  ADDRESS ON FILE
GINEL LAPORTE, ROSA                      ADDRESS ON FILE
GINEL RAMIREZ, AWILDA                    ADDRESS ON FILE
GINEL VELAZQUEZ, ERICK                   ADDRESS ON FILE
GINELLE RODRIGUEZ GONZALEZ               ADDRESS ON FILE
GINER GONZALEZ, GLORIA                   ADDRESS ON FILE
GINES AGOSTO, ELIZABETH                  ADDRESS ON FILE
GINES ARNAU, EVELYN                      ADDRESS ON FILE
GINES ARVELO, CARMEN                     ADDRESS ON FILE
GINES AYALA, WILLBERT                    ADDRESS ON FILE
GINES AYALA, WILLIAM L                   ADDRESS ON FILE
Gines Ayala, William L.                  ADDRESS ON FILE
GINES AYUSO, MILTON                      ADDRESS ON FILE
GINES AYUSO, SHAKIRA                     ADDRESS ON FILE
GINES COTTO, JESSICA                     ADDRESS ON FILE
GINES CRUZ, JUAN C.                      ADDRESS ON FILE
GINES DE LEON, YUDELKA                   ADDRESS ON FILE
GINES DOMINGUEZ, KAREN                   ADDRESS ON FILE
GINES DOMINGUEZ, KAREN                   ADDRESS ON FILE
GINES EMERIC, EILEEN                     ADDRESS ON FILE
GINES ERAZO, GRISELLE M                  ADDRESS ON FILE
GINES FALU, JORGE                        ADDRESS ON FILE
GINES GOMEZ, DAVID                       ADDRESS ON FILE
GINES GONZALEZ, SANDRALIS                ADDRESS ON FILE
GINES LOPEZ, DEYRA                       ADDRESS ON FILE
GINES LOPEZ, DIANA Y                     ADDRESS ON FILE




                                                                                             Page 3211 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3212 of 3500
                                                                              17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                  Address1                  Address2                           Address3   Address4   City        State   PostalCode   Country
GINES MARIN, BLANCA            ADDRESS ON FILE
GINES MARIN, MIRIAM            ADDRESS ON FILE
GINES MARTINEZ, FREDDIE        ADDRESS ON FILE
Gines Medina, Jennifer M       ADDRESS ON FILE
GINES MELENDEZ, JESSICA        ADDRESS ON FILE
GINES MELENDEZ, JUAN           ADDRESS ON FILE
GINES MONTALVO, MAGGIE         ADDRESS ON FILE
Gines Morales, Julio           ADDRESS ON FILE
GINES MORALES, WENDY           ADDRESS ON FILE
GINES NIEVES, EFREN            ADDRESS ON FILE
GINES NIEVES, MYRNA            ADDRESS ON FILE
GINES OLIVO, RAUL              ADDRESS ON FILE
GINES PEREZ, LUZ C             ADDRESS ON FILE
GINES REVERON, EFRAIN          ADDRESS ON FILE
GINES REVERON, SHARON          ADDRESS ON FILE
GINES RIVAS INC                COND VISTAS DEL RIO       8 CALLE 1 APT 40A                                        BAYAMON     PR      00959‐8766
GINES RIVAS INC                URB VISTA DEL RIO         APT 40A                                                  BAYAMON     PR      00959
GINES RIVERA, ELSIE Y          ADDRESS ON FILE
GINES RIVERA, NEREIDA          ADDRESS ON FILE
GINES RIVERA, RAMON            ADDRESS ON FILE
GINES RIVERA, SONIA            ADDRESS ON FILE
GINES RIVERA, ZAZKIA           ADDRESS ON FILE
GINES RODRIGUEZ, CARMEN M      ADDRESS ON FILE
Gines Rodriguez, Julio E       ADDRESS ON FILE
GINES RODRIGUEZ, NEFTALI       ADDRESS ON FILE
Gines Romero, Santiago         ADDRESS ON FILE
GINES ROMERO, SANTIAGO         ADDRESS ON FILE
GINES ROSA, HECTOR A           ADDRESS ON FILE
GINES SANCHEZ, DAISY           ADDRESS ON FILE
GINES SANCHEZ, YADIRA          ADDRESS ON FILE
GINES SANCHEZ, ZIAN            ADDRESS ON FILE
GINES SANTIAGO, ALBA           ADDRESS ON FILE
GINES SANTIAGO, DEYSSA         ADDRESS ON FILE
Gines Santiago, Luis A         ADDRESS ON FILE
GINES SANTIAGO, MELBA          ADDRESS ON FILE
GINES SOTO, YADIRA             ADDRESS ON FILE
GINES TORRES, IRELISS          ADDRESS ON FILE
GINES TROCHE, LILLIAN          ADDRESS ON FILE
GINES VALENCIA, ANDRA L        ADDRESS ON FILE
Gines Vazquez, Juan A          ADDRESS ON FILE
GINES VEGA, JAVIER             ADDRESS ON FILE
GINES VELEZ, EFRAIN            ADDRESS ON FILE
Gines Velez, Jennifer          ADDRESS ON FILE
GINES VILLANUEVA, SYLVIA       ADDRESS ON FILE
GINES, GLADYS                  ADDRESS ON FILE
GINESKA M AMBERT GONZALEZ      ADDRESS ON FILE
GINESSA ARCELAY GONZALEZ       ADDRESS ON FILE
GINESSA ARCELAY GONZALEZ       ADDRESS ON FILE
GINESTRE MARRERO, WANDA I      ADDRESS ON FILE
GINESTRE MARTINEZ, PAUL H      ADDRESS ON FILE
GINESTRE MARTINEZ, SHANTEL M   ADDRESS ON FILE
GINET ABREU FERNANDEZ          ADDRESS ON FILE
GINET ORTIZ, GINA G            ADDRESS ON FILE
GINET PEREZ MADERA             ADDRESS ON FILE
GINET PEREZ MADERA             ADDRESS ON FILE
GINETT VELAZQUEZ, ANGEL        ADDRESS ON FILE
GINETTE BURGOS MILLAN          ADDRESS ON FILE
GINETTE FRATICELLI TORRES      ADDRESS ON FILE
GINETTE M RIVERA RODRIGUEZ     ADDRESS ON FILE
GINETTE ORAMA BURGOS           ADDRESS ON FILE




                                                                             Page 3212 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3213 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                   Address1                                   Address2                                Address3   Address4   City         State   PostalCode   Country
GINETTE PIZARRO PIZARRO         ADDRESS ON FILE
GINETTE REYES NEGRON            ADDRESS ON FILE
GINETTE ROSA DE JESUS           ADDRESS ON FILE
GINEYRA PAULINO REYES           ADDRESS ON FILE
GINEZ RODRIGUEZ, CARMEN L.      ADDRESS ON FILE
GINGER FILMS & TV INC           CHALETS DE CUPEY 200                       AVE LOS CHALETS APT 56                                        SAN JUAN     PR      00926
GINGER SANTIAGO CABRERA         ADDRESS ON FILE
GINGY BUS LINE CORP             URB SILVIA CALLE 5 K12                                                                                   COROZAL      PR      00783
GINMARI VARGAS PAGAN            ADDRESS ON FILE
GINNA M IRIZARRY IRIZARRY       ADDRESS ON FILE
GINNETTE FERNANDEZ ROSARIO      LCDA. TANIA SERRANO GONZALEZ               PO BOX 7041                                                   CAGUAS       PR      00726‐7041
GINNETTE M MATOS MOLINA         ADDRESS ON FILE
GINNETTE MATOS MOLINA           ADDRESS ON FILE
GINNETTE NIEVES AGUILAR         ADDRESS ON FILE
GINNETTE PENA DEODATTI          ADDRESS ON FILE
GINNY A COLON ORTIZ             ADDRESS ON FILE
GINNYVETTE DIAZ RODRIGUEZ       ADDRESS ON FILE
GINO LUIS TORRES LUGO           ADDRESS ON FILE
GINO TORRES BARBOSA             ADDRESS ON FILE
GINORIO ALMODOVAR, GERMAN       ADDRESS ON FILE
GINORIO AMEZQUITA, MANUEL       ADDRESS ON FILE
GINORIO BONILLA, JUAN           ADDRESS ON FILE
GINORIO BONILLA, ROBERTO A      ADDRESS ON FILE
GINORIO CARRASQUILLO, LEILA G   ADDRESS ON FILE
GINORIO CEDENO, HECTOR A        ADDRESS ON FILE
GINORIO DELGADO, FELIX M        ADDRESS ON FILE
Ginorio Dominguez, Benigno      ADDRESS ON FILE
GINORIO DOMINGUEZ, JOSE         ADDRESS ON FILE
Ginorio Dominguez, Ruben        ADDRESS ON FILE
GINORIO DOMINQUEZ MAXIMO        ADDRESS ON FILE
GINORIO GONZALEZ, YOMARY        ADDRESS ON FILE
GINORIO HERNANDEZ, AILEEN       ADDRESS ON FILE
GINORIO LEON, FRANCISCO         ADDRESS ON FILE
GINORIO LEON, JORGE             ADDRESS ON FILE
GINORIO LOPEZ, LYDIA E          ADDRESS ON FILE
GINORIO MARQUEZ, CARMEN         ADDRESS ON FILE
GINORIO NEGRON, EDDALIZ         ADDRESS ON FILE
GINORIO RIVERA, LOURDES         ADDRESS ON FILE
GINORIO RIVERA, YESENIA         ADDRESS ON FILE
GINORIO RODRIGUEZ, NANCY        ADDRESS ON FILE
GINORIO ROSADO, MIGUEL          ADDRESS ON FILE
GINORIO SERRANO, LEANETTE       ADDRESS ON FILE
GINORIO SERRANO, LORRAINE       ADDRESS ON FILE
GINORIO TORRES, ANA M.          ADDRESS ON FILE
GINORIO VEGA, JEANNETTE         ADDRESS ON FILE
GINORIO ZAYAS, EVA              ADDRESS ON FILE
GINORIO ZAYAS, LUIS             ADDRESS ON FILE
GINORIO ZAYAS, LUIS             ADDRESS ON FILE
GINORIORIVERA, JOSE M           ADDRESS ON FILE
GINOS AUTO PAINT INC            URB MORELL CAMPOS                          3 PONCENA                                                     PONCE        PR      00731
GIOAKIM A MURATI FERNANDEZ      ADDRESS ON FILE
GIOBAL VIDEO CALLS CORP.        CALLE ACASIA #3 OFIC. 101 ESQ. MONTERREY                                                                 SAN JUAN     PR      00920
GIOBAL VIDEO CALLS CORP.        P. O. BOX 37299                                                                                          SAN JUAN     PR      00937
GIOIRANAI RODRIGUEZ RIOS        ADDRESS ON FILE
GIOL CARROGGIO, JUAN            ADDRESS ON FILE
GIOMAR A GRACIA GARCIA          ADDRESS ON FILE
GIOMAR A. DIAZ LEBRON           ADDRESS ON FILE
GIOMAR A. DIAZ LEBRON           ADDRESS ON FILE
GIOMARA ROBLES PENA             ADDRESS ON FILE
GIOMAS EN EL GIGANTE            4 B CALLE MUNOZ RIVERA                                                                                   ADJUNTAS     PR      00601




                                                                                                    Page 3213 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3214 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                           Address1                               Address2                             Address3    Address4   City         State   PostalCode   Country
GIONABY DIAZ RODRIGUEZ                  ADDRESS ON FILE
GIONIRA A BLANCO HERNANDEZ              ADDRESS ON FILE
GIORDANNY LOPEZ MELENDEZ / MARIBEL      ADDRESS ON FILE
GIORDANO SAN ANTONIO                    ADDRESS ON FILE
GIORGI CABRERA, PATRICIA                ADDRESS ON FILE
GIORGI GARCIA, SAMUEL                   ADDRESS ON FILE
GIORGI GARCIA, VICTORIA                 ADDRESS ON FILE
GIORGI GONZALEZ, CARLOS                 ADDRESS ON FILE
GIORGI GONZALEZ, CRUZ MARIA             ADDRESS ON FILE
GIORGI MANGUAL, MARIA DE LOS A          ADDRESS ON FILE
Giorgi Rivera, Jorge                    ADDRESS ON FILE
GIORGIO A SANTERINI TOMAZZOLLY          ADDRESS ON FILE
GIORLANDO VILLALONGA SEOANE             ADDRESS ON FILE
GIOTNIEL ORTIZ ORTIZ                    ADDRESS ON FILE
GIOVAN A FEBRES SIERRA                  ADDRESS ON FILE
GIOVANA F. CORREA NIEVES                ADDRESS ON FILE
GIOVANA VELEZ FIGUEROA                  ADDRESS ON FILE
GIOVANETTI ROMAN, JOSE                  ADDRESS ON FILE
Giovanetti Soto, Nelson                 ADDRESS ON FILE
GIOVANETTI TEXIDOR, CARLOS              ADDRESS ON FILE
GIOVANETTI, MYRNA L                     ADDRESS ON FILE
GIOVANI APONTE CARRASQUILLO             ADDRESS ON FILE
GIOVANI GARCIA CHEVERE                  ADDRESS ON FILE
GIOVANI J RODRIGUEZ MARTINEZ            ADDRESS ON FILE
GIOVANI MERCADO LABOY                   ADDRESS ON FILE
GIOVANI ROHENA TOLENTINO                ADDRESS ON FILE
GIOVANI ROSELLO AVILES                  ADDRESS ON FILE
GIOVANI TORRES PEREZ                    ADDRESS ON FILE
GIOVANNA COLON ALMODOVAR                ADDRESS ON FILE
GIOVANNA COLON MONTALVO                 ADDRESS ON FILE
GIOVANNA CRUZ JIMENEZ                   ADDRESS ON FILE
GIOVANNA GARCIA ROSALY                  ADDRESS ON FILE
GIOVANNA GARCÍA ROSALY 685‐965          LCDA. GIOVANA GARCIA                   COND. VENUS PLAZA C                  APTO. 803              SAN JUAN     PR      00917
GIOVANNA GUASCH SANTOS DBA UNLIMITED SP C/ MAR CARIBE #577 PASEO LOS CORALES                                                               DORADO       PR      00646
GIOVANNA M VAZQUEZ MARCANO              ADDRESS ON FILE
GIOVANNA M. DIAZ MASSANET               ADDRESS ON FILE
GIOVANNA R ALICEA ALVARADO              ADDRESS ON FILE
GIOVANNA ROSARIO SOTO                   ADDRESS ON FILE
GIOVANNA SANTIAGO MELENDEZ              ADDRESS ON FILE
GIOVANNA Z RIVERA ROSARIO               ADDRESS ON FILE
GIOVANNETTI LOPEZ, MARILUZ              ADDRESS ON FILE
GIOVANNETTI LOPEZ, MARISOL              ADDRESS ON FILE
GIOVANNETTI PEREZ, ITZA Y               ADDRESS ON FILE
GIOVANNETTI RIVERA, TANIA Y.            ADDRESS ON FILE
GIOVANNETTI SAEZ, ANER                  ADDRESS ON FILE
GIOVANNETTI TEXIDOR, CARLOS R.          ADDRESS ON FILE
GIOVANNETTI TORRES, GINO                ADDRESS ON FILE
GIOVANNETTI, WALESKA                    ADDRESS ON FILE
GIOVANNI A ALEMAN COUTO                 ADDRESS ON FILE
GIOVANNI A GELPI ARROYO                 ADDRESS ON FILE
GIOVANNI A SOLLA DEL CAMPO              ADDRESS ON FILE
GIOVANNI APONTE AVILES                  ADDRESS ON FILE
GIOVANNI APONTE SANTIAGO                ADDRESS ON FILE
GIOVANNI BATISTA ZARRAGA                ADDRESS ON FILE
GIOVANNI CASTRO A/C LESLY H IRIZARRY    ADDRESS ON FILE
GIOVANNI CHEVRES SANTIAGO               ADDRESS ON FILE
GIOVANNI CINTRON RODRIGUEZ              ADDRESS ON FILE
GIOVANNI COLBERG LUCIANO                ADDRESS ON FILE
GIOVANNI D PACHECO FERNANDEZ            ADDRESS ON FILE
GIOVANNI DE LEON BORRAS                 ADDRESS ON FILE




                                                                                                     Page 3214 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3215 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GIOVANNI E LA RUSSA                 ADDRESS ON FILE
GIOVANNI F FLORES RIVERA            ADDRESS ON FILE
GIOVANNI F MERCADO PLUQUEZ          ADDRESS ON FILE
GIOVANNI FERRER HERNANDEZ           ADDRESS ON FILE
GIOVANNI GONZALEZ RIVERA            ADDRESS ON FILE
GIOVANNI HERNANDEZ RIVERA           ADDRESS ON FILE
GIOVANNI I GARCIA GOMEZ             ADDRESS ON FILE
GIOVANNI J FIGUEROA RODRIGUEZ       ADDRESS ON FILE
GIOVANNI J. ROSARIO                 ADDRESS ON FILE
GIOVANNI LA RUSSA JIMENEZ           ADDRESS ON FILE
GIOVANNI LESLIE Y ROSALLY MIRANDA   ADDRESS ON FILE
GIOVANNI LUIGI SANCHEZ              ADDRESS ON FILE
GIOVANNI MALDONADO MERCADO          ADDRESS ON FILE
GIOVANNI MALDONADO MERCADO          ADDRESS ON FILE
GIOVANNI MARQUEZ GARAY              ADDRESS ON FILE
GIOVANNI MENDEZ CANDELARIA          ADDRESS ON FILE
GIOVANNI MIRANDA AYALA              ADDRESS ON FILE
GIOVANNI MIRANDA AYALA              ADDRESS ON FILE
GIOVANNI MUNIZ GONZALEZ             ADDRESS ON FILE
GIOVANNI NAZARIO SALGADO            ADDRESS ON FILE
GIOVANNI O CRUZ GARCIA              ADDRESS ON FILE
GIOVANNI O'FARRIL MAYSONET          ADDRESS ON FILE
GIOVANNI OLIVERAS SIRAGUSA          ADDRESS ON FILE
GIOVANNI ORTIZ ALVARADO             ADDRESS ON FILE
GIOVANNI P GUZMAN ORTIZ             ADDRESS ON FILE
GIOVANNI PEREZ AYALA                ADDRESS ON FILE
GIOVANNI PESANTE HERNANDEZ          ADDRESS ON FILE
GIOVANNI R BLACKMAN PEREZ           ADDRESS ON FILE
GIOVANNI RIVERA BERROCALES          ADDRESS ON FILE
GIOVANNI RIVERA BORRERO             ADDRESS ON FILE
GIOVANNI RODRIGUEZ MELENDEZ         ADDRESS ON FILE
GIOVANNI ROSARIO CHAPARRO           ADDRESS ON FILE
GIOVANNI RUIZ CANDELARIO            ADDRESS ON FILE
GIOVANNI RUIZ RODRIGUEZ             ADDRESS ON FILE
GIOVANNI SANTIAGO GARCIA            ADDRESS ON FILE
GIOVANNI SANTOS ALICEA              ADDRESS ON FILE
GIOVANNI SILVA AVILES               ADDRESS ON FILE
GIOVANNI TORO RIVERA                ADDRESS ON FILE
GIOVANNI U BONILLA COLON            ADDRESS ON FILE
GIOVANNI VALENTIN MERCADO           ADDRESS ON FILE
GIOVANNI VAZQUEZ RAMOS              ADDRESS ON FILE
GIOVANNI VELOZ IRIZARRY             ADDRESS ON FILE
GIOVANNIE ANAYA DE JESUS            ADDRESS ON FILE
GIOVANNIE CENTENO SANTIAGO          ADDRESS ON FILE
GIOVANNIE CENTENO SANTIAGO          ADDRESS ON FILE
GIOVANNIE RIVERA GONZALEZ           ADDRESS ON FILE
GIOVANNIE SOTO RODRIGUEZ            ADDRESS ON FILE
GIOVANNIE VEGA LOPEZ                ADDRESS ON FILE
GIOVANNONI FERNANDEZ, CARLA         ADDRESS ON FILE
GIOVANNY ANAYA DE JESUS             ADDRESS ON FILE
GIOVANNY J QUINONES ORTIZ           ADDRESS ON FILE
GIOVANNY MALDONADO                  ADDRESS ON FILE
GIOVANNY MARTINEZ HODGES            ADDRESS ON FILE
GIOVANNY MARTINEZ VALENTIN          ADDRESS ON FILE
GIOVANNY NIEVES RIVERA              ADDRESS ON FILE
GIOVANNY P COLON COLON              ADDRESS ON FILE
GIOVANNY RIVERA LUGO                ADDRESS ON FILE
GIOVANNY RIVERA VAZQUEZ             ADDRESS ON FILE
GIOVANNY ROSA MONTERO               ADDRESS ON FILE
GIOVANNY ROSA MONTERO               ADDRESS ON FILE




                                                                                Page 3215 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3216 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                      Address1                                Address2                           Address3   Address4   City              State   PostalCode   Country
GIOVANNY SOTO ACEVEDO              ADDRESS ON FILE
GIOVANNY SOTO ARROYO               ADDRESS ON FILE
GIOVANY G CHAPARRO SOTO            ADDRESS ON FILE
GIOVANY J MALDONADO ORTIZ          ADDRESS ON FILE
GIOVANY L COLON TORRES             ADDRESS ON FILE
GIOVANY VEGA VIERA                 ADDRESS ON FILE
GIOVE PATTERSON, MARJORIE          ADDRESS ON FILE
GIPPSON DIAZ, VILMA                ADDRESS ON FILE
GIPPSON SANTINI, OLGA              ADDRESS ON FILE
GIPSON QUINTERO, MANUEL            ADDRESS ON FILE
GIPSSY SUHAIL FILOMENO MARRERO     ADDRESS ON FILE
GIRALD COLON, EMMA G               ADDRESS ON FILE
GIRALD GARCIA, JAVIER              ADDRESS ON FILE
GIRALD GONZALEZ, CARMEN S          ADDRESS ON FILE
GIRALD GONZALEZ, JOSE M            ADDRESS ON FILE
GIRALD GONZALEZ, TEOFILA           ADDRESS ON FILE
GIRALD J ORTIZ OXIO                ADDRESS ON FILE
GIRALD MELENDEZ, ADRIAN            ADDRESS ON FILE
GIRALD NIEVES, JEANNE V.           ADDRESS ON FILE
GIRALD PERDOMO, GEORGE             ADDRESS ON FILE
GIRALD ROSA, ADRIAN                ADDRESS ON FILE
GIRALD VILLANUEVA, JOSE A          ADDRESS ON FILE
GIRALDEZ CASASNOVAS MD, LAUREANO   ADDRESS ON FILE
GIRALDI MENA, VANESSA              ADDRESS ON FILE
GIRALDO DE JESUS, JAIRO            ADDRESS ON FILE
GIRALDO FERRA BARRERA              ADDRESS ON FILE
GIRALDO MANZANARES, MARGARITA      ADDRESS ON FILE
GIRALDO MD , HERNAN D              ADDRESS ON FILE
GIRALDO, LUIS                      ADDRESS ON FILE
GIRALT ARMADA, NOEMA               ADDRESS ON FILE
GIRALT ARMADA, NOEMA               ADDRESS ON FILE
GIRARD                             LCDO. JOSE F. CHAVES CARABALLO          CHAVES@FC‐LAW.COM
GIRARD INTERNATIONAL               P O BOX 10378                                                                                    SAN JUAN          PR      00922‐0378
GIRARD MANUFACTURING               P.O. BOX 10378                                                                                   SAN JUAN          PR      00922‐0378
GIRARD MANUFACTURING INC           PO BOX 10378                                                                                     SAN JUAN          PR      00922‐0378
GIRARD MANUFACTURING INC           PO BOX 2134                                                                                      SAN JUAN          PR      00922‐2134
GIRARD MANUFACTURING, INC          Y BANCO DE DESARROLLO ECONOMICO         PO BOX 2134                                              SAN JUAN          PR      00922‐2134
GIRARD MANUFACTURING, INC          Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                              SAN JUAN          PR      00922‐2134
GIRARD MANUFACURING, INC.          CARDONA ROSADO, CARLOS J.               PO BOX 79                                                SAN SEBASTIÁN     PR      00685
GIRARD MANUFACURING, INC.          CHAVES CARABALLO, JOSE F.               PO BOX 362122                                            SAN JUAN          PR      00936‐2122
GIRAU CRUZ, DOMINGO                ADDRESS ON FILE
GIRAU CRUZ, MARILYN                ADDRESS ON FILE
GIRAU ESTEVES, WILBERTO            ADDRESS ON FILE
GIRAU GIRAU, INES                  ADDRESS ON FILE
GIRAU MEDICAL CENTER               SABANA GRANCH                           PO BOX 948718                                            VEGA BAJA         PR      00694
GIRAU NIEVES MD, EDWIN             ADDRESS ON FILE
GIRAU NIEVES, EDWIN                ADDRESS ON FILE
GIRAU PEREZ, SANTA                 ADDRESS ON FILE
GIRAU SANTIAGO, RAMIRO             ADDRESS ON FILE
Girau Vazquez, David               ADDRESS ON FILE
GIRAUD AQUINO, JESSICA             ADDRESS ON FILE
Giraud Arce, William I             ADDRESS ON FILE
GIRAUD CERVERA, ANNETTE            ADDRESS ON FILE
GIRAUD CONCEPCION, NORA H          ADDRESS ON FILE
GIRAUD DE MARQUES, MARTA A         ADDRESS ON FILE
GIRAUD ESTEVES, BETZAIDA           ADDRESS ON FILE
GIRAUD FELIX, CARMEN L.            ADDRESS ON FILE
GIRAUD FELIX, IRIS                 ADDRESS ON FILE
GIRAUD FIGUEROA, TAMARA D          ADDRESS ON FILE
GIRAUD JIMENEZ, MARIA              ADDRESS ON FILE




                                                                                               Page 3216 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3217 of 3500
                                                                                17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                    Address1                  Address2                            Address3   Address4   City       State   PostalCode   Country
GIRAUD JOVE, JAIME               ADDRESS ON FILE
GIRAUD MARQUEZ, CARLOS           ADDRESS ON FILE
GIRAUD MD, CATHERINE             ADDRESS ON FILE
GIRAUD MEJIAS, JOSE F            ADDRESS ON FILE
GIRAUD MONTES, FRANCES N.        ADDRESS ON FILE
GIRAUD MONTES, ZORAIDA           ADDRESS ON FILE
Giraud Perez, Manuel             ADDRESS ON FILE
GIRAUD PEREZ, MARLENE D.         ADDRESS ON FILE
GIRAUD PINEIRO, ELLIOT           ADDRESS ON FILE
Giraud Rodriguez, Elizabeth      ADDRESS ON FILE
GIRAUD SALAS, MILDRED            ADDRESS ON FILE
GIRAUD SOTO, EVA                 ADDRESS ON FILE
Giraud Vega, Alberto             ADDRESS ON FILE
GIRAUD VEGA, ALBERTO             ADDRESS ON FILE
GIRAUD VEGA, MANUEL              ADDRESS ON FILE
Girena Aponte, Enrique           ADDRESS ON FILE
GIRIBALDI BAEZ, RUBY             ADDRESS ON FILE
GIRIBALDI ROSADO, FRANCISCO      ADDRESS ON FILE
GIRMAY VARGAS, ARACELIS          ADDRESS ON FILE
GIRO CORREA, BETSIE              ADDRESS ON FILE
GIRO GIRONA, JOEL                ADDRESS ON FILE
GIRO Y SU ORQUESTA INC           URB CAGUAS NORTE          R 3 CALLE MONTREAL                                        CAGUAS     PR      00725
GIROD CLAVELL, MAGDA             ADDRESS ON FILE
GIROD CLAVELL, MAGDA C.          ADDRESS ON FILE
GIROD MORALES MD, CARLOS E       ADDRESS ON FILE
GIROD SOLIVAN, AIDA              ADDRESS ON FILE
GIRON ANADON, ZAIRA Z.           ADDRESS ON FILE
Giron Arroyo, Alex J.            ADDRESS ON FILE
GIRON BONILLA, YARA              ADDRESS ON FILE
GIRON HERNANDEZ, LEONOR          ADDRESS ON FILE
GIRON LOYOLA, EDDA               ADDRESS ON FILE
GIRON MOREL MD, JESSIE           ADDRESS ON FILE
GIRON MOREL, JESSIE              ADDRESS ON FILE
GIRON PAGAN, ELIZABETH           ADDRESS ON FILE
GIRON RODRIGUEZ, MARTIN A.       ADDRESS ON FILE
GIRON VELAZQUEZ, LINAMARIE       ADDRESS ON FILE
GIRON VERGNE, LUIS               ADDRESS ON FILE
GIRON, YVONNE                    ADDRESS ON FILE
GIRONA BONILLA, ERIKA            ADDRESS ON FILE
Girona Diaz, Edwin J             ADDRESS ON FILE
GIRONA FIGUEROA, IRIS M          ADDRESS ON FILE
Girona Garcia, Edwin E.          ADDRESS ON FILE
GIRONA GONZALES, MADELINE        ADDRESS ON FILE
GIRONA KINGLEY, MARIA A          ADDRESS ON FILE
GIRONA LOZADA, GLADYS Z.         ADDRESS ON FILE
GIRONA LOZADA, MARIELYS D.       ADDRESS ON FILE
GIRONA MALDONADO, SHARITZA       ADDRESS ON FILE
GIRONA RIOS, ZULEYKA             ADDRESS ON FILE
Girona Rivera, Aracelis          ADDRESS ON FILE
GIRONA RIVERA, CARMEN L          ADDRESS ON FILE
GIRONA RIVERA, MARIA L           ADDRESS ON FILE
GIRONA RIVERA, NILDA L           ADDRESS ON FILE
GIRONA RIVERA, REINALDO          ADDRESS ON FILE
GIRONA ROSA, MILDRED             ADDRESS ON FILE
GIRONA TAPIA, ANGEL              ADDRESS ON FILE
GIRONA VAZQUEZ, JORGE            ADDRESS ON FILE
GISAEL VEGA MANGUAL              ADDRESS ON FILE
GISCHLAINETT QUINONEZ MARTINEZ   ADDRESS ON FILE
GISEL DIAZ CASTRO                ADDRESS ON FILE
GISEL GARCIA CATALA              ADDRESS ON FILE




                                                                                Page 3217 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3218 of 3500
                                                                             17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                 Address1                        Address2                                 Address3   Address4   City         State   PostalCode   Country
GISEL H LANDRON RIVERA        ADDRESS ON FILE
GISEL LARACUENTE LUGO         ADDRESS ON FILE
GISEL M FERNANDEZ LUNA        ADDRESS ON FILE
GISELA A CRESPO NEGRON        ADDRESS ON FILE
GISELA A FIGUEROA FERNANDEZ   ADDRESS ON FILE
GISELA BAEZ TORO              ADDRESS ON FILE
GISELA CANDELARIA MEDINA      ADDRESS ON FILE
GISELA CHERVONY GANDULLA      ADDRESS ON FILE
GISELA COSME MARRERO          ADDRESS ON FILE
GISELA COSME MARRERO          ADDRESS ON FILE
GISELA CRUZ ORTIZ             ADDRESS ON FILE
GISELA CRUZ SANTANA           ADDRESS ON FILE
GISELA D LOUBRIEL ORTIZ       ADDRESS ON FILE
GISELA D. LOUBRIEL ORTIZ      ADDRESS ON FILE
GISELA DAVILA BERRIOS         ADDRESS ON FILE
GISELA DAVILA NEGRON          ADDRESS ON FILE
GISELA DAVILA VENDRELL        ADDRESS ON FILE
GISELA DENICE PUIG CARRION    ADDRESS ON FILE
GISELA DENISE PUIG CARRION    ADDRESS ON FILE
GISELA DIAZ SOLA              ADDRESS ON FILE
GISELA ELLIS                  ADDRESS ON FILE
GISELA FELICIANO DIAZ         ADDRESS ON FILE
GISELA FIGUEROA FERNANDEZ     ADDRESS ON FILE
GISELA GONZALEZ BERRIOS       ADDRESS ON FILE
GISELA GONZALEZ CORALIZ       ADDRESS ON FILE
GISELA GONZALEZ ELIAS         ADDRESS ON FILE
GISELA GONZALEZ LOPEZ         ADDRESS ON FILE
GISELA I RIVERA SANTIAGO      ADDRESS ON FILE
GISELA J CORDERO MENDEZ       ADDRESS ON FILE
GISELA M ROSARIO RAMOS        ADDRESS ON FILE
GISELA M RUSSI CASILLAS       ADDRESS ON FILE
GISELA M VEGA ECHEVARRIA      ADDRESS ON FILE
GISELA M. AVILES ALVAREZ      ADDRESS ON FILE
GISELA MARICHAL VILLAFUENTE   ADDRESS ON FILE
GISELA MARTINEZ QUINONES      ADDRESS ON FILE
GISELA MARTINEZ RIVERA        ADDRESS ON FILE
GISELA MENCHACA ROIG          ADDRESS ON FILE
GISELA MOLINUEVO MORALES      ADDRESS ON FILE
GISELA MONTES MARTINEZ        ADDRESS ON FILE
GISELA NEGRON VELAZQUEZ       ADDRESS ON FILE
GISELA ORTIZ GONALES          ADDRESS ON FILE
GISELA ORTIZ REYES            ADDRESS ON FILE
GISELA OSTOLAZA CRUZ          ADDRESS ON FILE
GISELA PAGAN TOLEDO           ADDRESS ON FILE
GISELA RAMOS CARABALLO        ADDRESS ON FILE
GISELA RIVERA CINTRON         ADDRESS ON FILE
GISELA RIVERA QUINONES        ADDRESS ON FILE
GISELA RIVERA RAMIREZ         ADDRESS ON FILE
GISELA RIVERA TORRES          ADDRESS ON FILE
GISELA RODRIGUEZ COLON        ADDRESS ON FILE
GISELA RODRIGUEZ ROSADO       ADDRESS ON FILE
GISELA RODRIGUEZ VELAZQUEZ    ADDRESS ON FILE
GISELA ROLON COLON            ADDRESS ON FILE
GISELA ROSADO RODRIGUEZ       ADDRESS ON FILE
GISELA TORRES COLON           ADDRESS ON FILE
GISELA TORRES COLON           ADDRESS ON FILE
GISELA TOUCET BAEZ            ADDRESS ON FILE
GISELA UFRET CASTILLO         ADDRESS ON FILE
GISELA VARGAS FELICIANO       ADDRESS ON FILE
GISELA VAZQUEZ RODRIGUEZ      LCSDO. CARLOS I. LEÓN CAMACHO   Jardines de Toa Alta 47                                        TOA ALTA     PR      00953




                                                                                        Page 3218 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3219 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                              Creditor Matrix

Creditor Name                            Address1                                Address2                                  Address3   Address4   City         State   PostalCode   Country
GISELA VELEZ RAMIREZ                     ADDRESS ON FILE
GISELDA DE LEON DE LEON                  ADDRESS ON FILE
GISELE SANCHEZ FRANCO                    ADDRESS ON FILE
GISELIZ MERCADO DIAZ                     ADDRESS ON FILE
GISELLA BETANCOURT SANTIAGO              ADDRESS ON FILE
GISELLA M ADORNO RUIZ                    ADDRESS ON FILE
GISELLA SERRANO MALDONADO                ADDRESS ON FILE
GISELLE A. CORTES SALGADO                ADDRESS ON FILE
GISELLE BELLINA QUILES                   ADDRESS ON FILE
GISELLE CALCANO                          ADDRESS ON FILE
GISELLE CANCEL ORTIZ                     ADDRESS ON FILE
GISELLE CASTRO ECHEVARRIA                ADDRESS ON FILE
GISELLE CORDERO CORDERO                  ADDRESS ON FILE
GISELLE D RIVERA AVILES                  ADDRESS ON FILE
GISELLE DAVIA VILLANUEVA                 LCDO. DOMINGO EMANUELLI ANZALOTTA (CODEPO BOX 2443                                                      ARECIBO      PR      00613
GISELLE DAVIA VILLANUEVA                 LCDO. JAMES BELK‐ARCE (DEMANDANTE)      BELK & GROVAS LAW OFFICES PO BOX 194927                         SAN JUAN     PR      00919‐4927
GISELLE DAVIA VILLANUEVA                 LCDO. JUAN GONZÁLEZ GALARZA (RANGER AMER1509 LÓPEZ LANDRÓN                        PISO 7                SAN JUAN     PR      00902‐0192
GISELLE DENISHA DIAZ ORTA                ADDRESS ON FILE
GISELLE FERNANDEZ CASTILLO               ADDRESS ON FILE
GISELLE FIGUEROA CRUZ                    ADDRESS ON FILE
GISELLE FIGUEROA FEBO                    ADDRESS ON FILE
GISELLE FIGUEROA TORRES                  ADDRESS ON FILE
GISELLE FLORES ALVAREZ                   ADDRESS ON FILE
GISELLE IRIZARRY NORIEGA                 ADDRESS ON FILE
GISELLE KEATING COLON                    ADDRESS ON FILE
GISELLE M ALVAREZ DE LA CAMPA LAUREL     ADDRESS ON FILE
GISELLE M CRUZ DELGADO                   ADDRESS ON FILE
GISELLE M GARCIA GONZALEZ                ADDRESS ON FILE
GISELLE M JIMENEZ MALDONADO              ADDRESS ON FILE
GISELLE M LAFFITTE ROSSY                 ADDRESS ON FILE
GISELLE M MARTINEZ                       ADDRESS ON FILE
GISELLE M MUNOZ GONZALEZ                 ADDRESS ON FILE
GISELLE M NIEVES ROMERO                  ADDRESS ON FILE
GISELLE M RIVERA VELEZ                   ADDRESS ON FILE
GISELLE M RODRIGUEZ OCASIO               ADDRESS ON FILE
GISELLE M SANTIAGO SANTIAGO              ADDRESS ON FILE
GISELLE M SANTINI RIVERA                 ADDRESS ON FILE
GISELLE M SUAREZ GUILLEN                 ADDRESS ON FILE
GISELLE M VELOZ MALDONADO                ADDRESS ON FILE
GISELLE M. GARCIA RIVERA                 ADDRESS ON FILE
GISELLE M. MARTINEZ FRANJUL              ADDRESS ON FILE
GISELLE M. RIVERA VELEZ                  ADDRESS ON FILE
GISELLE M. SUAREZ GUILLEN                ADDRESS ON FILE
GISELLE MARIE LAFFITTE ROSSY             ADDRESS ON FILE
GISELLE MARRERO OLIVO                    ADDRESS ON FILE
GISELLE N. MENDEZ BUFFIT                 ADDRESS ON FILE
GISELLE NEGRON DIAZ                      ADDRESS ON FILE
GISELLE NEVAREZ RIVERA                   ADDRESS ON FILE
GISELLE PANTOJA MALDONADO                ADDRESS ON FILE
GISELLE PICART GARCIA                    ADDRESS ON FILE
GISELLE RAMOS MORALES                    ADDRESS ON FILE
GISELLE REYES LOPEZ                      ADDRESS ON FILE
GISELLE RIVERA QUINTANA                  ADDRESS ON FILE
GISELLE RODRIGUEZ PEREZ                  ADDRESS ON FILE
GISELLE ROSARIO ZAYAS                    ADDRESS ON FILE
GISELLE RUIZ SOLER                       ADDRESS ON FILE
GISELLE RUIZ SOLER                       ADDRESS ON FILE
GISELLE TORRES EMMANUELLI                ADDRESS ON FILE
GISELLE TORRES SERRANT V DEPARTAMENTO DE LCDO OSVALDO BURGOS                     PO BOX 194211                                                   SAN JUAN     PR      00919‐4211
GISELLE TRINIDAD                         ADDRESS ON FILE




                                                                                                            Page 3219 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3220 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                           Address1                              Address2                                 Address3   Address4   City              State   PostalCode   Country
GISELLE VARGAS RUBIO                    ADDRESS ON FILE
GISELLMARIE CRUZ VELEZ                  ADDRESS ON FILE
GISET FIGUEROA LOPEZ                    ADDRESS ON FILE
GISLAINE CORREA AVILES                  DEMANDANTE: LUIS CORREA‐GONZÁLEZ      PO BOX 367728                                                  SAN JUAN          PR      00936
GISSEL SANABRIA VAZQUEZ                 ADDRESS ON FILE
GISSEL SANABRIA VAZQUEZ                 ADDRESS ON FILE
GISSELA DEL ALBA CASANOVA RAMOS         ADDRESS ON FILE
GISSELA M. CARRERO ULMO                 ADDRESS ON FILE
GISSELLE CINTRON RODRIGUEZ              ADDRESS ON FILE
GISSELLE M MORALES SOTO                 ADDRESS ON FILE
GISSELLE M ORTIZ BURGOS                 ADDRESS ON FILE
GISSELLE TORRES ALVARADO                ADDRESS ON FILE
GISSELLE Z MARTINEZ HERNANDEZ           ADDRESS ON FILE
GITOGO                                  PO BOX 11074                          CAPARRA HEIGHTS                                                SAN JUAN          PR      00922
GITTEL M ALMONTE DULUC                  ADDRESS ON FILE
GITTENS DIAZ, YENISSES M                ADDRESS ON FILE
GITTENS MORALES, ALICK                  ADDRESS ON FILE
GIUDICELLI RODRIGUEZ, VICTOR M.         ADDRESS ON FILE
GIUDICELLI VAZQUEZ, ALEXAURI            ADDRESS ON FILE
GIULIA INSOLIA BERARDI / ALMA INZOLIA   ADDRESS ON FILE
GIULIANI CASTILLO, FRANCOIS             ADDRESS ON FILE
GIULIANI GIORGI, THEODORITA             ADDRESS ON FILE
GIULIANI ORTIZ, MYRENE                  ADDRESS ON FILE
GIULIANI PONCE DE LEON, JAVIER          ADDRESS ON FILE
GIULIANO A MONTANEZ / HAROLD MONTANEZ   ADDRESS ON FILE
GIUSEPPE I SABATER RIVERA               ADDRESS ON FILE
GIUSTI BRAVO, IVETTE                    ADDRESS ON FILE
GIUSTI CASUALS INC                      PO BOX 607                                                                                           CAGUAS            PR      00726
GIUSTI COLLAZO, MILMARI                 ADDRESS ON FILE
GIUSTI FLORES, JOEL                     ADDRESS ON FILE
GIUSTI FLORES, JOHANA                   ADDRESS ON FILE
GIUSTI MARTINEZ, JACQUELINE             ADDRESS ON FILE
Giusti Perez, Rafael A                  ADDRESS ON FILE
GIUSTI REBOLLAR, JEAN                   ADDRESS ON FILE
GIUSTI REBOLLAR, JEAN PIERRE            ADDRESS ON FILE
GIUSTI RIVERA, ANGEL                    ADDRESS ON FILE
GIUSTI RIVERA, OSWALD                   ADDRESS ON FILE
GIUSTI RIVERA, RAFAEL                   ADDRESS ON FILE
GIUSTI RODRIGUEZ, PEDRO                 ADDRESS ON FILE
Giusti Rosa, Angel R                    ADDRESS ON FILE
GIUSTI ROSA, RUTH                       ADDRESS ON FILE
Giusti Velilla, Pedro                   ADDRESS ON FILE
GIUSTI VELILLA, PEDRO                   ADDRESS ON FILE
GIUSTI, GIUSSEPPE                       ADDRESS ON FILE
Giustino Falu, Jasmine L                ADDRESS ON FILE
GIVANNA R RUIZ DEL VALLE                ADDRESS ON FILE
GIVENS, MATTHEW                         ADDRESS ON FILE
GIZETTE PEREZ GONZALEZ                  ADDRESS ON FILE
GIZMO DIGITAL MEDIA INC                 P O BOX 6421                                                                                         CAGUAS            PR      00726
GJM CSP                                 URB DOS PINOS                         823 CALLE DIANA                                                SAN JUAN          PR      00923
GJM SOUND                               BOX 5000 SUITE 940                                                                                   AGUADA            PR      00602
GJR, LLC                                CIUDAD JARDIN III                     279 CALLE LILIA BARROSO                                        TOA ALTA          PR      00953
GK FILMS                                1540 2ND STREET 200                                                                                  SANTA MONICA      CA      90401
GK PROFESSIONAL SERVICE                 EXT TERRAZAS DE GUAYNABO              E9 CALLE LAS FLORES                                            GUAYNABO          PR      00969‐5450
GK PROFESSIONAL SERVICES INC            EXT TERRAZAS DE GUAYNABO              E 9 CALLE LAS FLORES                                           GUAYNABO          PR      00969
GK PROFESSIONAL SERVICES, INC.          E9 LAS FLORES EXT TERRAZAS GUAYNABO                                                                  GUAYNABO          PR      00969
GKC, INC                                AVE ANA G MENDEZ                      CARR 176 KM 1.1                                                SAN JUAN          PR      00926
GKL INC                                 CORAL GABLES                          PO BOX 140417                                                  FLORIDA           FL      33114
GKL, INC.                               P O BOX 140417                                                                                       CORAL GABLES      FL      00114
GL CONSULTING INC                       URB ANTILLANA 33                      PLAZA SAN VICENTE                                              TRUJILLO ALTO     PR      00976‐6128




                                                                                                        Page 3220 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3221 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                              Address1                         Address2                               Address3   Address4   City         State   PostalCode   Country
GLADIBELIS RIVERA FUENTES                  ADDRESS ON FILE
GLADIBELIS RIVERA FUENTES                  ADDRESS ON FILE
GLADIBELIS RIVERA FUENTES                  ADDRESS ON FILE
GLADILUZ BAYON SANCHEZ                     ADDRESS ON FILE
GLADIMAR H RODRIGUEZ TORRES                ADDRESS ON FILE
GLADIMAR LOPEZ CUADRA                      ADDRESS ON FILE
GLADIMER MELENDEZ CRUZ                     ADDRESS ON FILE
GLADIMINET LOPEZ FIGUEROA                  ADDRESS ON FILE
GLADINELL NEGRON VIRELLA                   ADDRESS ON FILE
GLADIOLA MATTA RODRIGUEZ                   ADDRESS ON FILE
GLADIS FERNANDEZ DE RUIZ                   ADDRESS ON FILE
GLADISA CRUZ PEREZ                         ADDRESS ON FILE
GLADITZA NAZARIO DIAZ                      ADDRESS ON FILE
GLADIUS LLC                                260 AVE LAS CUMBRES STE 202                                                                   GUAYNABO     PR      00969‐7209
Gladmar I. Melendez Pagan                  ADDRESS ON FILE
GLADSTONE MALDONADO, IVY                   ADDRESS ON FILE
GLADSTONE MALDONADO, IVY BETH              ADDRESS ON FILE
GLADSTONE MANAGEMENT CORP                  1521 WESTBRANCH DRIVE STE 200                                                                 MCLEAN       VA      22102
GLADY N ACOSTA MERCED                      ADDRESS ON FILE
GLADYANN APONTE QUILES                     LCDA. OLGA D. ALVAREZ GONZÁLEZ   PO BOX 70244                                                 SAN JUAN     PR      00936‐8244
GLADYANN APONTE QUILES                     LCDO. EMILIO CANCIO‐BELLO        CALLE SAN MATEO #1702                                        SANTURCE     PR      00912
GLADYBELLE RIOS AYALA                      ADDRESS ON FILE
GLADYMAR ADORNO BERRIOS                    ADDRESS ON FILE
GLADYMAR RODRIGUEZ                         ADDRESS ON FILE
GLADYMID RIVERA DAVILA                     ADDRESS ON FILE
GLADYNEEL COUVERTIER MATIAS                ADDRESS ON FILE
GLADYNEEL COUVERTIER MATIAS                ADDRESS ON FILE
GLADYNEL COUVERTIER MATIAS                 ADDRESS ON FILE
GLADYNEL PADILLA NAZARIO                   ADDRESS ON FILE
GLADYNEL SAEZ RODRIGUEZ                    ADDRESS ON FILE
GLADYNELL R SOLER ROJAS                    ADDRESS ON FILE
GLADYRELL RODRIGUEZ ALICEA                 ADDRESS ON FILE
GLADYS A BONILLA JIMENEZ                   ADDRESS ON FILE
GLADYS A CARRERAS BARRIOS                  ADDRESS ON FILE
GLADYS A PEREZ RODRIGUEZ                   ADDRESS ON FILE
GLADYS A. MALDONADO RODRIGUEZ              ADDRESS ON FILE
GLADYS ACEVEDO                             ADDRESS ON FILE
GLADYS ACOSTA TORRES                       ADDRESS ON FILE
GLADYS ALEMANY GOYCO                       ADDRESS ON FILE
GLADYS ANDINO CINTRON                      ADDRESS ON FILE
GLADYS ARCE CRUZ                           ADDRESS ON FILE
GLADYS ARNIELLA MACHADO                    ADDRESS ON FILE
GLADYS ARROYO CANALES                      ADDRESS ON FILE
GLADYS B IZQUIERDO ALMODOVAR               ADDRESS ON FILE
GLADYS BAEZ ROSA                           ADDRESS ON FILE
GLADYS BAEZ TORRES                         ADDRESS ON FILE
GLADYS BARRETO / KELVIN Y ABDIEL BARRETO   ADDRESS ON FILE
GLADYS BASTARDO VELAZQUEZ                  ADDRESS ON FILE
Gladys Betancourt Colon                    ADDRESS ON FILE
GLADYS BONILLA CARMONA                     ADDRESS ON FILE
GLADYS BONILLA CARMONA                     ADDRESS ON FILE
GLADYS BONILLA QUINONES                    ADDRESS ON FILE
GLADYS BONILLA SOLIVAN                     ADDRESS ON FILE
GLADYS C TORRES RODRIGUEZ                  ADDRESS ON FILE
GLADYS CABALLERO MENDOZA                   ADDRESS ON FILE
GLADYS CABAN ESTRADA                       ADDRESS ON FILE
GLADYS CALDERON GONZALEZ                   ADDRESS ON FILE
GLADYS CALDERON GONZALEZ                   ADDRESS ON FILE
GLADYS CARABALLO MALDONADO                 ADDRESS ON FILE
GLADYS CARABALLO PEDRAZA                   ADDRESS ON FILE




                                                                                                    Page 3221 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3222 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
GLADYS CARABALLO VAZQUEZ              ADDRESS ON FILE
GLADYS CARDONA TORRES                 ADDRESS ON FILE
GLADYS CARRILLO RODRIGUEZ             ADDRESS ON FILE
GLADYS CASTELLANO MONTA¥EZ            ADDRESS ON FILE
GLADYS CASTILLO PEREZ                 ADDRESS ON FILE
GLADYS CASTRO FUENTES                 ADDRESS ON FILE
GLADYS CATERING INC                   HC 05 BOX 34924‐3                                                                SAN SEBASTIAN     PR      00685
GLADYS CATERING INC                   HC 5 BOX 34924‐3                                                                 SAN SEBASTIAN     PR      00685
GLADYS CEDENO MALDONADO               ADDRESS ON FILE
GLADYS CHRISTIAN ROMERO               ADDRESS ON FILE
GLADYS CINTRON CINTRON                ADDRESS ON FILE
GLADYS CINTRON ROSARIO                ADDRESS ON FILE
GLADYS CIRILO RIVERA                  ADDRESS ON FILE
GLADYS CLAUDIO GARCIA                 ADDRESS ON FILE
GLADYS CLAUDIO GARCIA                 ADDRESS ON FILE
GLADYS CLAUDIO GARCIA                 ADDRESS ON FILE
GLADYS CLEMENTE PARIS                 ADDRESS ON FILE
GLADYS COLON DE JESUS                 ADDRESS ON FILE
GLADYS COLON FLORES                   ADDRESS ON FILE
GLADYS COLON MEDINA                   ADDRESS ON FILE
GLADYS CORCHADO BABILONIA             ADDRESS ON FILE
GLADYS CORDERO RIVERA                 ADDRESS ON FILE
GLADYS CORDERO SERRANO                ADDRESS ON FILE
GLADYS CORDERO SERRANO                ADDRESS ON FILE
GLADYS CORDERO VAZQUEZ                ADDRESS ON FILE
GLADYS CORTES RODRIGUEZ               ADDRESS ON FILE
GLADYS CRUZ ESTRADA                   ADDRESS ON FILE
GLADYS CRUZ MARTINEZ                  ADDRESS ON FILE
GLADYS CRUZ VILLEGAS                  ADDRESS ON FILE
GLADYS CUEBAS GOTY                    ADDRESS ON FILE
GLADYS D HERNANDEZ SANTIAGO           ADDRESS ON FILE
GLADYS D MILLAN BONILLA               ADDRESS ON FILE
GLADYS DE JESUS                       ADDRESS ON FILE
Gladys de Jesus Chabriel              ADDRESS ON FILE
GLADYS DE JESUS CRUZ                  ADDRESS ON FILE
GLADYS DEL TORO URDAZ                 ADDRESS ON FILE
GLADYS DEL TORO URDAZ                 ADDRESS ON FILE
GLADYS DENIZARD                       ADDRESS ON FILE
GLADYS DIAZ DE JESUS                  ADDRESS ON FILE
GLADYS E COLON VELAZQUEZ              ADDRESS ON FILE
GLADYS E GALVEZ VALENTIN              ADDRESS ON FILE
GLADYS E GREO MONTALVO                ADDRESS ON FILE
GLADYS E HERNANDEZ Y GLADYS COLON     ADDRESS ON FILE
GLADYS E HUERTA MONTANEZ              ADDRESS ON FILE
GLADYS E MONTANEZ GONZALEZ            ADDRESS ON FILE
GLADYS E ORTA RODRIGUEZ               ADDRESS ON FILE
GLADYS E PACHECO MARTES               ADDRESS ON FILE
GLADYS E PEREZ ALDEA                  ADDRESS ON FILE
GLADYS E PEREZ OCASIO                 ADDRESS ON FILE
GLADYS E PEREZ OCASIO                 ADDRESS ON FILE
GLADYS E PINERO FAJARDO               ADDRESS ON FILE
GLADYS E RIVERA BERDECIA              ADDRESS ON FILE
GLADYS E RIVERA MORALES               ADDRESS ON FILE
GLADYS E RIVERA VAZQUEZ               ADDRESS ON FILE
GLADYS E RODRIGUEZ MATOS              ADDRESS ON FILE
GLADYS E RODRIGUEZ TORRES             ADDRESS ON FILE
GLADYS E ROSADO PARA ETHAN L MILLAN   ADDRESS ON FILE
GLADYS E SIERRA MONTANEZ              ADDRESS ON FILE
GLADYS E SOTO TORRES                  ADDRESS ON FILE
GLADYS E TORRES RIVERA                ADDRESS ON FILE




                                                                                  Page 3222 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3223 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GLADYS E VEGA RODRIGUEZ              ADDRESS ON FILE
GLADYS E VELEZ LOPEZ                 ADDRESS ON FILE
GLADYS E. ALONSO HERNANDEZ           ADDRESS ON FILE
GLADYS E. RAMOS CLAUDIO              ADDRESS ON FILE
GLADYS E. RAMOS CLAUDIO              ADDRESS ON FILE
GLADYS E. RODRIGUEZ PEREZ            ADDRESS ON FILE
GLADYS E. TOLEDO CARRASQUILLO        ADDRESS ON FILE
GLADYS ECHEVARRIA GUTIERREZ          ADDRESS ON FILE
GLADYS ESTEVES CASIANO               ADDRESS ON FILE
GLADYS ESTHER CARPIO HIDALGO         ADDRESS ON FILE
GLADYS ESTHER MALAVE                 ADDRESS ON FILE
GLADYS ESTRADA LOPEZ                 ADDRESS ON FILE
GLADYS F GREVI LLANOS                ADDRESS ON FILE
GLADYS FELICIANO AYALA               ADDRESS ON FILE
GLADYS FELICIANO FRATICELLI          ADDRESS ON FILE
GLADYS FELICIANO GONZALEZ            ADDRESS ON FILE
GLADYS FELICIANO GONZALEZ            ADDRESS ON FILE
GLADYS FELIX HERNANDEZ               ADDRESS ON FILE
GLADYS FERNANDEZ ALVAREZ             ADDRESS ON FILE
GLADYS FERNANDEZ GINORIO             ADDRESS ON FILE
GLADYS FERNANDEZ GONZALEZ            ADDRESS ON FILE
GLADYS FERRER SANTIAGO               ADDRESS ON FILE
GLADYS FIGUEROA SANCHEZ              ADDRESS ON FILE
GLADYS FIGUEROA VELEZ                ADDRESS ON FILE
GLADYS FLORES                        ADDRESS ON FILE
Gladys Flores Garcia                 ADDRESS ON FILE
GLADYS FLORES RODRIGUEZ              ADDRESS ON FILE
GLADYS FORNARIS AGUILU               ADDRESS ON FILE
GLADYS FRANCISQUINI CRUZ             ADDRESS ON FILE
GLADYS FUENTES CRUZ                  ADDRESS ON FILE
GLADYS G GONZALEZ                    ADDRESS ON FILE
GLADYS G MEDINA VAZQUEZ              ADDRESS ON FILE
GLADYS G MEDINA VAZQUEZ              ADDRESS ON FILE
GLADYS G RODRIGUEZ CASIANO           ADDRESS ON FILE
GLADYS G ROSARIO OTERO               ADDRESS ON FILE
GLADYS GALARZA QUILES                ADDRESS ON FILE
GLADYS GALARZA QUILES                ADDRESS ON FILE
GLADYS GALARZA QUILES                ADDRESS ON FILE
GLADYS GARCIA MARTINEZ               ADDRESS ON FILE
GLADYS GARCIA MUNOZ                  ADDRESS ON FILE
GLADYS GARCIA PENA                   ADDRESS ON FILE
GLADYS GARCIA REYES                  ADDRESS ON FILE
GLADYS GERENA CUEVAS                 ADDRESS ON FILE
GLADYS GOITIA SANTIAGO               ADDRESS ON FILE
GLADYS GONZALEZ / BRENDA A MALARET   ADDRESS ON FILE
GLADYS GONZALEZ CRUZ                 ADDRESS ON FILE
GLADYS GONZALEZ GARCIA               ADDRESS ON FILE
GLADYS GONZALEZ MENDEZ               ADDRESS ON FILE
GLADYS GONZALEZ RODRIGUEZ            ADDRESS ON FILE
GLADYS GUTIERREZ PEREZ               ADDRESS ON FILE
GLADYS GUZMAN GARCIA                 ADDRESS ON FILE
GLADYS GUZMAN GONZALEZ               ADDRESS ON FILE
GLADYS H BURGOS RIVERA               ADDRESS ON FILE
GLADYS HEBEN ROMAN                   ADDRESS ON FILE
GLADYS HERNANDEZ ATANO               ADDRESS ON FILE
GLADYS HERNANDEZ OTANO               ADDRESS ON FILE
GLADYS HUERTAS TORRES                ADDRESS ON FILE
GLADYS HUERTAS TORRES                ADDRESS ON FILE
GLADYS I AVILES SANTIAGO             ADDRESS ON FILE
GLADYS I CINTRON CINTRON             ADDRESS ON FILE




                                                                                 Page 3223 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3224 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                            Creditor Matrix

Creditor Name                           Address1                                 Address2                               Address3       Address4           City         State   PostalCode   Country
GLADYS I CUBERO SANCHEZ                 ADDRESS ON FILE
GLADYS I DELGADO IRIZARRY               ADDRESS ON FILE
GLADYS I GARCIA MORALES                 ADDRESS ON FILE
GLADYS I IZQUIERDO GARCIA               ADDRESS ON FILE
GLADYS I OLIVERAS                       ADDRESS ON FILE
GLADYS I VIDAL RODRIGUEZ                ADDRESS ON FILE
GLADYS IRIS TORRES TORRES               EDWIN MÁRQUEZ SANTIAGO T/C/C ANDREAS GIOEDWIN MÁRQUEZ SANTIAGO T/C/C ANDREAS GIOPO BOX 299     SAINT JUST STA.    SAN JUAN     PR      00978
                                                                                                                        URB. ELEONOR   310 CALLE HÉCTOR
GLADYS IRIS TORRES TORRES               LIC. ANELBA M. GONZÁLEZ ONGAY            ANELBA M. GONZÁLEZ ONGAY               ROOSEVELT      SALAMAN            SAN JUAN     PR      00918‐2313
GLADYS IRIS TORRES TORRES               LIC. PABLO LUGO LEBRÓN                   LIC. PABLO LUGO LEBRÓN                 PO BOX 8051    HUMACAO            HUMACAO      PR      00791
GLADYS IRIZARRY ALICEA                  LCDO. CESAR A. LUGO CARDONA ASOCIACIÓN DE(AEELA)                                PO BOX 70199                      SAN JUAN     PR      00936‐8190
GLADYS IRIZARRY‐ALICEA                  ADDRESS ON FILE
GLADYS IZQUIERDO CENTENO                ADDRESS ON FILE
GLADYS J ARROYO DE JESUS                ADDRESS ON FILE
GLADYS J CASTRO VEGA                    ADDRESS ON FILE
GLADYS J FERNANDEZ                      ADDRESS ON FILE
GLADYS J RAMOS VALENTIN                 ADDRESS ON FILE
GLADYS JIMENEZ ALVARADO                 ADDRESS ON FILE
GLADYS L ESPADA PINEIRO                 ADDRESS ON FILE
GLADYS L FERRER URBINA                  ADDRESS ON FILE
GLADYS L JORGE TORRES                   ADDRESS ON FILE
GLADYS L. PACHECO FIGUEROA              GUSTAVO QUIÑONES PINTO                   502 IGLESIAS PANTIN                                                      FAJARDO      PR      00738
GLADYS L. PACHECO FIGUEROA              MIGUEL FUERTES                           191 PMB PO BOX 194000                                                    SAN JUAN     PR      00919
GLADYS LISETTE RODRIGUEZ GONZALEZ       ADDRESS ON FILE
GLADYS LIZARDI RIVERA                   ADDRESS ON FILE
GLADYS LOPEZ QUINONEZ                   ADDRESS ON FILE
GLADYS LOPEZ SIERRA                     ADDRESS ON FILE
GLADYS LOZADA DIAZ                      ADDRESS ON FILE
GLADYS M ALEMAN PACHECO                 ADDRESS ON FILE
GLADYS M BENITEZ DIAZ                   ADDRESS ON FILE
GLADYS M CARAZO                         ADDRESS ON FILE
GLADYS M CESINO HAURON                  ADDRESS ON FILE
GLADYS M DIAZ PEDROGO                   ADDRESS ON FILE
GLADYS M GONZALEZ FIGUEROA              ADDRESS ON FILE
GLADYS M GONZALEZ ORTIZ                 ADDRESS ON FILE
GLADYS M LAURA CORREA                   ADDRESS ON FILE
GLADYS M LOPEZ SANTIAGO                 ADDRESS ON FILE
GLADYS M LOPEZ SANTIAGO                 ADDRESS ON FILE
GLADYS M LOPEZ SANTIAGO                 ADDRESS ON FILE
GLADYS M MEDIINA COLLAZO                ADDRESS ON FILE
GLADYS M ORTIZ DIAZ                     ADDRESS ON FILE
GLADYS M OTERO LOPEZ                    ADDRESS ON FILE
GLADYS M RIOS ORTIZ                     ADDRESS ON FILE
GLADYS M RIVERA GONZALEZ                ADDRESS ON FILE
GLADYS M RIVERA NARVAEZ                 ADDRESS ON FILE
GLADYS M RODRIGUEZ VALENTIN             ADDRESS ON FILE
GLADYS M ROSARIO / BONIFACIA GONZALEZ   ADDRESS ON FILE
GLADYS M TORRES DE JESUS                ADDRESS ON FILE
GLADYS M VEGA QUINONES                  ADDRESS ON FILE
GLADYS M VELEZ PARRILLA                 ADDRESS ON FILE
GLADYS M. ACEVEDO NIEVES                ADDRESS ON FILE
GLADYS M. BASTARDO VELAZQUEZ            ADDRESS ON FILE
GLADYS M. RODRIGUEZ MARRERO             ADDRESS ON FILE
GLADYS MAISONET MARTINEZ                ADDRESS ON FILE
GLADYS MALAVE RODRIGUEZ                 ADDRESS ON FILE
GLADYS MALDONADO TORRES                 ADDRESS ON FILE
GLADYS MARGARITA RODRIGUEZ GONZALEZ     ADDRESS ON FILE
GLADYS MARIA VAZQUEZ NIEVES             ADDRESS ON FILE
GLADYS MARTINEZ PIZARRO                 ADDRESS ON FILE
GLADYS MARTINEZ RIVERA                  ADDRESS ON FILE




                                                                                                          Page 3224 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3225 of 3500
                                                                               17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                   Address1                        Address2                                   Address3   Address4   City         State   PostalCode   Country
GLADYS MATOS FLORES             ADDRESS ON FILE
GLADYS MATOS NIEVES             ADDRESS ON FILE
GLADYS MATOS PEREZ              ADDRESS ON FILE
GLADYS MEDINA ACEVEDO           ADDRESS ON FILE
GLADYS MEDINA FELICIANO         ADDRESS ON FILE
GLADYS MEDINA MELENDEZ          LCDO. CARLOS MALTES PEREZ       LCDO. CARLOS MALTES PEREZ 100 CARR.‐165 SUITE 409                GUAYNABO     PR      00968
GLADYS MEDINA MELENDEZ          LCDO. LUIS ORTIZ CARRASQUILLO   LCDO. LUIS ORTIZ CARRASQUILLO PO BOX 458                         YABUCOA      PR      00767
GLADYS MERCADO GANDULLA         ADDRESS ON FILE
GLADYS MERCADO ROSA             ADDRESS ON FILE
GLADYS MOJICA CAMACHO           ADDRESS ON FILE
GLADYS MOLINA RUIZ              ADDRESS ON FILE
GLADYS MOLINA RUIZ              ADDRESS ON FILE
GLADYS MONGE PIZARRO            ADDRESS ON FILE
GLADYS MONTALVO MENDEZ          ADDRESS ON FILE
GLADYS MORALES APONTE           ADDRESS ON FILE
GLADYS MORENO DIAZ              ADDRESS ON FILE
GLADYS MUNIZ DIAZ               ADDRESS ON FILE
GLADYS MUNIZ SANTOS             ADDRESS ON FILE
GLADYS MUNIZ SANTOS             ADDRESS ON FILE
GLADYS MUÑIZ SANTOS             GENOVEVA VALENTIN SOTO          PO BOX 13695                                                     SAN JUAN     PR      00908‐3695
GLADYS N CENTENO RODRIGUEZ      ADDRESS ON FILE
GLADYS N COLON ROSADO           ADDRESS ON FILE
GLADYS N PADILLA ORTIZ          ADDRESS ON FILE
GLADYS N QUINONES CRESPO        ADDRESS ON FILE
GLADYS N. GARCIA SOTOMAYOR      ADDRESS ON FILE
GLADYS NAVARRO MIRANDA          ADDRESS ON FILE
GLADYS NEGRON MOLINA            ADDRESS ON FILE
GLADYS NIEVES LOPEZ             ADDRESS ON FILE
GLADYS NOEMI GUADARRAMA AYALA   ADDRESS ON FILE
GLADYS O DUCOUDRAY ACEVEDO      ADDRESS ON FILE
GLADYS O NIEVES TORRES          ADDRESS ON FILE
GLADYS O RESTO CUADRADO         ADDRESS ON FILE
GLADYS OCASIO TORRES            ADDRESS ON FILE
GLADYS OQUENDO MONTANEZ         ADDRESS ON FILE
GLADYS ORTIZ ALBINO             ADDRESS ON FILE
GLADYS ORTIZ GARCIA             ADDRESS ON FILE
GLADYS ORTIZ SANCHEZ            ADDRESS ON FILE
GLADYS ORTIZ ZAYAS              ADDRESS ON FILE
GLADYS ORTIZ ZAYAS              ADDRESS ON FILE
GLADYS OTERO CRISTOBAL          ADDRESS ON FILE
GLADYS OTERO ROBLES             ADDRESS ON FILE
GLADYS OTERO VAZQUEZ            ADDRESS ON FILE
GLADYS PABON RODRIGUEZ          ADDRESS ON FILE
GLADYS PACHECO GONZALEZ         ADDRESS ON FILE
GLADYS PAGAN JUSTINIANO         ADDRESS ON FILE
GLADYS PAGAN MEDINA             ADDRESS ON FILE
GLADYS PENA                     ADDRESS ON FILE
GLADYS PENA NEGRON              ADDRESS ON FILE
GLADYS PERALES RIVERA           ADDRESS ON FILE
GLADYS PEREZ LEBRON             ADDRESS ON FILE
GLADYS PEREZ ORTIZ              ADDRESS ON FILE
GLADYS PEREZ RODRIGUEZ          ADDRESS ON FILE
GLADYS PEREZ SEGUI              ADDRESS ON FILE
GLADYS PEREZ SEGUI              ADDRESS ON FILE
GLADYS PINERO RIVERA            ADDRESS ON FILE
GLADYS POLANCO MALDONADO        ADDRESS ON FILE
GLADYS PORTUONDO DOMINICCI      ADDRESS ON FILE
GLADYS QUINONES IRIZARRY        ADDRESS ON FILE
GLADYS QUINONES LAMBOY          ADDRESS ON FILE
GLADYS QUINONES LUCIANO         ADDRESS ON FILE




                                                                                            Page 3225 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3226 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                           Address1                   Address2                                  Address3   Address4   City         State   PostalCode   Country
GLADYS QUINONES RODRIGUEZ               ADDRESS ON FILE
GLADYS RAMIREZ LUGO                     ADDRESS ON FILE
GLADYS RAMOS CAMACHO                    ADDRESS ON FILE
GLADYS RAMOS ORTIZ                      ADDRESS ON FILE
GLADYS REYES CORREA                     ADDRESS ON FILE
GLADYS REYES CRUZ                       ADDRESS ON FILE
GLADYS REYES Y/O MIGUEL DIAZ            ADDRESS ON FILE
GLADYS RIOS & KEISHLA ECHEVARIAS RIOS   ADDRESS ON FILE
GLADYS RIVERA / MARISELA I MARRERO      ADDRESS ON FILE
GLADYS RIVERA ANDINO                    ADDRESS ON FILE
GLADYS RIVERA ANTONETTI                 ADDRESS ON FILE
GLADYS RIVERA CAMACHO                   ADDRESS ON FILE
GLADYS RIVERA CASILLAS                  ADDRESS ON FILE
GLADYS RIVERA COLLAZO                   ADDRESS ON FILE
GLADYS RIVERA COLLAZO                   ADDRESS ON FILE
GLADYS RIVERA COLON                     ADDRESS ON FILE
GLADYS RIVERA CORREA                    ADDRESS ON FILE
GLADYS RIVERA DIAZ                      ADDRESS ON FILE
GLADYS RIVERA DIAZ                      ADDRESS ON FILE
GLADYS RIVERA MARRERO                   ADDRESS ON FILE
GLADYS RIVERA MARTINEZ                  ADDRESS ON FILE
GLADYS RIVERA MEJIAS                    ADDRESS ON FILE
GLADYS RIVERA NEGRON                    ADDRESS ON FILE
GLADYS RIVERA REYES                     ADDRESS ON FILE
GLADYS RIVERA RIVERA                    ADDRESS ON FILE
GLADYS RIVERA RIVERA                    ADDRESS ON FILE
GLADYS RIVERA RIVERA                    ADDRESS ON FILE
GLADYS ROBLEDO FONTANEZ                 ADDRESS ON FILE
GLADYS ROBLES RUSSE                     ADDRESS ON FILE
GLADYS RODRIGUEZ                        ADDRESS ON FILE
GLADYS RODRIGUEZ COLON                  ADDRESS ON FILE
GLADYS RODRIGUEZ DE JESUS               ADDRESS ON FILE
GLADYS RODRIGUEZ MORALES                ADDRESS ON FILE
GLADYS RODRIGUEZ NAZARIO                ADDRESS ON FILE
GLADYS RODRIGUEZ ORTIZ                  ADDRESS ON FILE
GLADYS RODRIGUEZ POLANCO                ADDRESS ON FILE
GLADYS RODRIGUEZ QUINONES               ADDRESS ON FILE
GLADYS RODRIGUEZ RAMOS                  ADDRESS ON FILE
GLADYS RODRIGUEZ RIVERA                 ADDRESS ON FILE
GLADYS RODRÍGUEZ RODRÍGUEZ              LUIS A. BURGOS RIVERA      APARTADO 2464                                                   GUAYAMA      PR      00785
GLADYS RODRIGUEZ ROMAN                  ADDRESS ON FILE
GLADYS RODRIGUEZ ROMAN                  ADDRESS ON FILE
GLADYS RODRIGUEZ SANCHEZ                ADDRESS ON FILE
GLADYS RODRIGUEZ TORRES                 ADDRESS ON FILE
GLADYS RODRIGUEZ TORRES                 ADDRESS ON FILE
GLADYS ROIG CABRER ELDERLY LP SE        PMB 140 53 AVE ESMERALDA                                                                   GUAYNABO     PR      00969‐4429
GLADYS ROMAN MARTINEZ                   ADDRESS ON FILE
GLADYS ROMAN ORTIZ                      ADDRESS ON FILE
GLADYS ROMERO Y CHAMARIE PAGAN          ADDRESS ON FILE
GLADYS ROSA FIGUEROA Y/O GLADYS I SURIS ADDRESS ON FILE
GLADYS ROSARIO CRUZ                     ADDRESS ON FILE
GLADYS ROSARIO ORTEGA                   ADDRESS ON FILE
GLADYS ROSARIO ORTEGA                   ADDRESS ON FILE
GLADYS ROSARIO RESTO V DEPARTAMENTO DE ELCDA AMELIA M CINTRON      URB SAN ANTONIO 1939 AVE LAS AMERICAS                           Ponce        PR      00728‐1815
GLADYS ROSARIO RIOS                     ADDRESS ON FILE
GLADYS RUIZ CANCEL                      ADDRESS ON FILE
GLADYS RUIZ DIAZ                        ADDRESS ON FILE
GLADYS RUIZ RODRIGUEZ                   ADDRESS ON FILE
GLADYS RUIZ VILLANUEVA                  ADDRESS ON FILE
GLADYS S. PAGAN FERRER                  ADDRESS ON FILE




                                                                                              Page 3226 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3227 of 3500
                                                                                17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                    Address1                  Address2                             Address3   Address4   City          State   PostalCode   Country
GLADYS SALDANA ROSA              ADDRESS ON FILE
GLADYS SANCHEZ CRUZ              ADDRESS ON FILE
GLADYS SANCHEZ QUINTANA          ADDRESS ON FILE
GLADYS SANCHEZ RODRIGUEZ         ADDRESS ON FILE
GLADYS SANTA TRINIDAD            ADDRESS ON FILE
GLADYS SANTALIZ PORRATA          ADDRESS ON FILE
GLADYS SANTANA PEREZ             ADDRESS ON FILE
GLADYS SANTANA PEREZ             ADDRESS ON FILE
GLADYS SANTIAGO                  ADDRESS ON FILE
GLADYS SANTIAGO BECERRA          ADDRESS ON FILE
GLADYS SANTIAGO BONILLA          ADDRESS ON FILE
GLADYS SANTIAGO BURGOS           ADDRESS ON FILE
GLADYS SANTIAGO MARTINEZ         ADDRESS ON FILE
GLADYS SANTIAGO NEGRON           ADDRESS ON FILE
GLADYS SANTIAGO TORRES           ADDRESS ON FILE
GLADYS SANTIAGO VELAZQUEZ        ADDRESS ON FILE
GLADYS SANTIAGO/ JOSE OTERO      ADDRESS ON FILE
GLADYS SANTOS TORRES             ADDRESS ON FILE
GLADYS SEPULVEDA SANTIAGO        ADDRESS ON FILE
GLADYS SILVA BATISTA             ADDRESS ON FILE
GLADYS SMART AGUILAR             ADDRESS ON FILE
GLADYS SOTO SANTIAGO             ADDRESS ON FILE
GLADYS SUAREZ DE LEON            ADDRESS ON FILE
GLADYS SUAREZ DELGADO            ADDRESS ON FILE
GLADYS TAVAREZ REYES             ADDRESS ON FILE
GLADYS TORRES CORTES             ADDRESS ON FILE
GLADYS TORRES GARCIA             ADDRESS ON FILE
GLADYS TORRES MENDEZ             ADDRESS ON FILE
GLADYS TORRES MENDEZ             ADDRESS ON FILE
GLADYS TORRES RIVERA             ADDRESS ON FILE
GLADYS TORRES VEGA & ASSOC PSC   PO BOX 192928                                                                        SAN JUAN      PR      00919‐2928
GLADYS TRINIDAD VAZQUEZ          ADDRESS ON FILE
GLADYS UNIFORM WORLD             URB ESTEVEZ               3015 CALLE IMPERIAL                                        AGUADILLA     PR      00603
GLADYS V MIRANDA ORTIZ           ADDRESS ON FILE
GLADYS V MORALES ORTIZ           ADDRESS ON FILE
GLADYS V SIFONTES SMITH          ADDRESS ON FILE
GLADYS V SILVA RIVERA            ADDRESS ON FILE
GLADYS VALENTIN CABAN            ADDRESS ON FILE
GLADYS VARGAS BATISTA            ADDRESS ON FILE
GLADYS VARIE PARIS LOPEZ         ADDRESS ON FILE
GLADYS VAZQUEZ DE CAAMANO        ADDRESS ON FILE
GLADYS VAZQUEZ FONTANEZ          ADDRESS ON FILE
GLADYS VAZQUEZ OCASIO            ADDRESS ON FILE
GLADYS VEGA BONILLA              ADDRESS ON FILE
GLADYS VEGA LOPEZ                ADDRESS ON FILE
GLADYS VELAZQUEZ ROJAS           ADDRESS ON FILE
GLADYS VELEZ CARABALLO           ADDRESS ON FILE
GLADYS VELEZ MONTALVO            ADDRESS ON FILE
GLADYS VIANA DIAZ                ADDRESS ON FILE
GLADYS VILA BARNES               ADDRESS ON FILE
GLADYS VILLEGAS VILA             ADDRESS ON FILE
GLADYS W CINTRON NIEVES          ADDRESS ON FILE
GLADYS W. BAEZ NEGRONI           ADDRESS ON FILE
GLADYS Y MONTESINO MARTINEZ      ADDRESS ON FILE
GLADYS Y RODRIGUEZ RIVERA        ADDRESS ON FILE
GLADYS Y. MARCANO FLORES         ADDRESS ON FILE
GLADYS YAMIRA DE LEON PAGAN      ADDRESS ON FILE
GLADYS YUMET CHACON              ADDRESS ON FILE
GLADYS ZAIRA GIRONA LOZADA       ADDRESS ON FILE
GLADYS, GARCIA                   ADDRESS ON FILE




                                                                                 Page 3227 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3228 of 3500
                                                                             17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                 Address1                             Address2                           Address3   Address4   City            State   PostalCode   Country
GLADYSBELL ESPINAL            ADDRESS ON FILE
GLADYSBETH AGOSTO MALDONADO   ADDRESS ON FILE
GLADYVETTE ESTEVEZ VELEZ      ADDRESS ON FILE
GLADYVETTE FLORES RIOS        ADDRESS ON FILE
GLAM CONTRACTORS              ADDRESS ON FILE
GLAMALIS SEPULVEDA MEJIAS     ADDRESS ON FILE
GLAMARI BURGOS RODRIGUEZ      ADDRESS ON FILE
GLAMARIE NUNEZ OTERO          ADDRESS ON FILE
GLAMARIE NUNEZ OTERO          ADDRESS ON FILE
GLAMARIE SOTO RIVERA          ADDRESS ON FILE
GLAMARIS APONTE GARCIA        ADDRESS ON FILE
GLAMARIS APONTE GARCIA        ADDRESS ON FILE
GLAMARIS OCASIO MARRERO       ADDRESS ON FILE
GLANNY BERRIOS CONCEPCION     ADDRESS ON FILE
GLARILYS RODRIGUEZ ARROYO     ADDRESS ON FILE
GLARIMIL VELEZ CRUZ           ADDRESS ON FILE
GLARISEL RUIZ MOJICA          ADDRESS ON FILE
GLARYS E ORTIZ CINTRON        ADDRESS ON FILE
GLASFORD ROMAN, VANESSA       ADDRESS ON FILE
GLASS ART & MOSAIC            JARD METROPOLITANOS                  304 CALLE FARADAY                                        SAN JUAN        PR      00927
GLASS METAL CO INC            PO BOX 1812                                                                                   JUNCOS          PR      00777
GLASS RIVERA, CARMEN          ADDRESS ON FILE
GLASSTRA ALUMINUM INC         PO BOX 146                                                                                    CATANO          PR      00963
GLAXO SMITHKLINE              PO BOX 13398 STH D2230                                                                        DURHAM          NC      27709
GLAXO SMITHKLINE              PO BOX 361600                                                                                 SAN JUAN        PR      00936‐1600
GLAXO SMITHKLINE P R INC      PO BOX 13398                         5 MOORE DRIVE                                            RTP             NC      27709‐3398
GLAXO SMITHKLINE P.R. INC     P.O. BOX 363461                                                                               SAN JUAN,       PR      00968‐0000
GLAXYS ORTIZ MAIZ             ADDRESS ON FILE
GLEASON ALTIERI, JENNIFER     ADDRESS ON FILE
GLEASON LOPEZ, MICHELLE       ADDRESS ON FILE
GLEEN, TRACY W.               ADDRESS ON FILE
GLEIDY M IRIZARRY CASTRO      ADDRESS ON FILE
GLEISHALYN N PAGAN RIVERA     ADDRESS ON FILE
GLEMIF MUFFLERS               18 CRUCE DAVILA                      CARR 2 KM 56 9                                           BARCELONETA     PR      00617
GLEMIF MUFFLERS               18 CRUCE DAVILA                                                                               BARCELONETA     PR      00617
GLEMIF MULTI SERVICE          CARR #2 1835                                                                                  BARCELONETA     PR      00617
GLEMIF MULTISERVICE           18 CRUCE DAVILA                                                                               BARCELONETA     PR      00617
GLEMIF MULTISERVICE           CARR. #2 KM. 56.9 CRUCE DAVILA #18                                                            BARCELONETA     PR      00617
GLEMIF MULTISERVICE CORP      1835 CARR 2 KM 56.9                                                                           BARCELONETA     PR      00617
GLEMIF MULTISERVICE CORP.     1835 CARR. # 2                                                                                BARCELONETA     PR      00617
GLEMIF MULTISRVICE            18 CRUCE DAVILA                                                                               BARCELONETA     PR      00617
GLEN ALLEN & CO INC           PO BOX 9657                                                                                   SANTURCE        PR      00908
GLEN DAVID ALVARADO           ADDRESS ON FILE
GLEN MIRANDA CORDERO          ADDRESS ON FILE
GLEN ROLDAN ARROYO            ADDRESS ON FILE
GLENDA ADORNO LOPEZ           ADDRESS ON FILE
GLENDA ALVAREZ LOPEZ          ADDRESS ON FILE
GLENDA BERRIOS VELEZ          ADDRESS ON FILE
GLENDA BORGES DEL VALLE       ADDRESS ON FILE
GLENDA BOU SANTIAGO           ADDRESS ON FILE
GLENDA BUS LINE INC           HC 73 BOX 4418                                                                                NARANJITO       PR      00719
GLENDA BUS LINE, INC.         HC‐73 BOX 4418                                                                                NARANJITO       PR      00719‐9604
GLENDA CASADO SANTANA         ADDRESS ON FILE
GLENDA CASTRO GUTIERREZ       ADDRESS ON FILE
GLENDA DE JESUS RAMOS         ADDRESS ON FILE
GLENDA E ORTIZ MALDONADO      ADDRESS ON FILE
GLENDA E. PONCE MENDOZA       ADDRESS ON FILE
GLENDA FIGUEROA RODRIGUEZ     ADDRESS ON FILE
GLENDA G SANCHEZ FERNANDEZ    ADDRESS ON FILE
GLENDA GARCIA DIEP            ADDRESS ON FILE




                                                                                       Page 3228 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3229 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                              Address1                       Address2                      Address3   Address4   City         State   PostalCode   Country
GLENDA H ROSA CASTRO                       ADDRESS ON FILE
GLENDA I ANDINO REYES                      ADDRESS ON FILE
GLENDA I COLON COLON                       ADDRESS ON FILE
GLENDA I CRUET GORDILS                     ADDRESS ON FILE
GLENDA I DE LA TORRE RIVERA                ADDRESS ON FILE
GLENDA I FIRPI NIEVES                      ADDRESS ON FILE
GLENDA I LOMAURT VELEZ                     ADDRESS ON FILE
GLENDA I RIVERA RIVERA                     ADDRESS ON FILE
GLENDA I RODRIGUEZ GALLETTI                ADDRESS ON FILE
GLENDA I SOTO DIAZ                         ADDRESS ON FILE
GLENDA I VEGA DE JESUS                     ADDRESS ON FILE
GLENDA I. CABALLERO PENDAZ                 ADDRESS ON FILE
GLENDA I. MUNIZ BADILLO                    ADDRESS ON FILE
GLENDA I. PELLICIER FIGUEROA               ADDRESS ON FILE
GLENDA I. PELLICIER FIGUEROA               ADDRESS ON FILE
GLENDA I. PELLICIER FIGUEROA               ADDRESS ON FILE
GLENDA IRIZARRY MOLINA                     ADDRESS ON FILE
GLENDA IVELISSE RIOS VARGAS                ADDRESS ON FILE
GLENDA JORGE PAGÁN                         LCDA. GENOVEVA VALENTIN SOTO   PO BOX 13695                                        SAN JUAN     PR      00908‐3695
GLENDA JUSINO NAZARIO                      ADDRESS ON FILE
GLENDA K. VAZQUEZ DE JESUS                 ADDRESS ON FILE
GLENDA L ALICEA RODRIGUEZ                  ADDRESS ON FILE
GLENDA L ALICEA RODRIGUEZ                  ADDRESS ON FILE
GLENDA L ALVARADO HERNANDEZ                ADDRESS ON FILE
GLENDA L ANDINO ROLDON                     ADDRESS ON FILE
GLENDA L AYALA RIVERA                      ADDRESS ON FILE
GLENDA L BONILLA MERCADO                   ADDRESS ON FILE
GLENDA L CANCHANI FRATICELLI               ADDRESS ON FILE
GLENDA L CARABALLO FLORES                  ADDRESS ON FILE
GLENDA L COLON ALMESTICA                   ADDRESS ON FILE
GLENDA L COLON ESCALANTE                   ADDRESS ON FILE
GLENDA L CORREA PADILLA                    ADDRESS ON FILE
GLENDA L DIAZ DE JESUS                     ADDRESS ON FILE
GLENDA L FELIX FUENTES                     ADDRESS ON FILE
GLENDA L FIGUEROA LOPEZ                    ADDRESS ON FILE
GLENDA L GARCIA RODRIGUEZ                  ADDRESS ON FILE
GLENDA L GONZALEZ AROCHO                   ADDRESS ON FILE
GLENDA L GUZMAN GARCIA                     ADDRESS ON FILE
GLENDA L HIRALDO CRUZ                      ADDRESS ON FILE
GLENDA L LEON ORTIZ                        ADDRESS ON FILE
GLENDA L LOPEZ AVILES                      ADDRESS ON FILE
GLENDA L MARTINEZ MUNOZ                    ADDRESS ON FILE
GLENDA L MATTA RIVERA                      ADDRESS ON FILE
GLENDA L MIRANDA SAEZ                      ADDRESS ON FILE
GLENDA L NAZARIO RIVERA                    ADDRESS ON FILE
GLENDA L NAZARIO RIVERA                    ADDRESS ON FILE
GLENDA L OTERO CONCEPCION                  ADDRESS ON FILE
GLENDA L OTERO CONCEPCION                  ADDRESS ON FILE
GLENDA L PEREZ PEREZ                       ADDRESS ON FILE
GLENDA L REYES SANTINI                     ADDRESS ON FILE
GLENDA L RIVERA LOPEZ                      ADDRESS ON FILE
GLENDA L RIVERA MALDONADO                  ADDRESS ON FILE
GLENDA L RODRIGUEZ COLON                   ADDRESS ON FILE
GLENDA L RODRIGUEZ FIGUEROA                ADDRESS ON FILE
GLENDA L RODRIGUEZ‐JARDIN INF RELIGIOSAS   ADDRESS ON FILE
GLENDA L ROJAS FONSECA                     ADDRESS ON FILE
GLENDA L ROMAN VILLEGAS                    ADDRESS ON FILE
GLENDA L ROSARIO FELICIANO                 ADDRESS ON FILE
GLENDA L VEGA GONZALEZ                     ADDRESS ON FILE
GLENDA L VELEZ FLAQUER                     ADDRESS ON FILE




                                                                                         Page 3229 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3230 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                   Address1                                Address2                                    Address3               Address4   City         State   PostalCode   Country
GLENDA L. COLON ROSADO          ADDRESS ON FILE
GLENDA L. FUENTES TORRES        ADDRESS ON FILE
GLENDA L. HERNANDEZ ALAMO       ADDRESS ON FILE
GLENDA L. MORALES CRUZ          ADDRESS ON FILE
GLENDA L. SANTIAGO PABON        ADDRESS ON FILE
GLENDA L. TORRES LOPEZ          ADDRESS ON FILE
GLENDA L. VELEZ FLAQUER         ADDRESS ON FILE
GLENDA LAUREANO SUAREZ          ADDRESS ON FILE
GLENDA LEE FIGUEROA LOPEZ       ADDRESS ON FILE
GLENDA LEE FIGUEROA LOPEZ       ADDRESS ON FILE
GLENDA LEE PEREZ NEGRON         ADDRESS ON FILE
GLENDA LEE RIVERA MARTINEZ      ADDRESS ON FILE
GLENDA LEE RODRIGUEZ CRUZ       ADDRESS ON FILE
GLENDA LIZ GARCIA RIVERA        ADDRESS ON FILE
GLENDA LIZ LOPEZ GARCIA         ADDRESS ON FILE
GLENDA LIZ QUINONES VELAZQUEZ   ADDRESS ON FILE
GLENDA LIZ SILVA ROBLES         ADDRESS ON FILE
GLENDA LOPEZ DEL TORO           ADDRESS ON FILE
GLENDA LOPEZ RODRIGUEZ          ADDRESS ON FILE
GLENDA LYNNETTE GONZALEZ        CLOTILDE M. PICART LAGUER               PO BOX 12219                                                                  SAN JUAN     PR      00914‐2219
GLENDA M BENITEZ SANTOS         ADDRESS ON FILE
GLENDA M CRESPO CORDERO         ADDRESS ON FILE
GLENDA M DIAZ MARQUEZ           ADDRESS ON FILE
GLENDA M DIAZ OJEDA             ADDRESS ON FILE
GLENDA M NIEVES DE JESUS        ADDRESS ON FILE
GLENDA M PEREZ BAERGA           ADDRESS ON FILE
GLENDA M REYES RODRIGUEZ        ADDRESS ON FILE
GLENDA M VEGA RODRIGUEZ         ADDRESS ON FILE
GLENDA M. COLON SIEMER          ADDRESS ON FILE
GLENDA M. MIRANDA TIRADO        ADDRESS ON FILE
GLENDA M. RIVERA TRICOCHE       ADDRESS ON FILE
GLENDA MARTINEZ COLON           ADDRESS ON FILE
GLENDA MAYOL ALICEA             ADDRESS ON FILE
GLENDA MERCADO RODRIGUEZ        ADDRESS ON FILE
GLENDA MORALES CASIANO          ADDRESS ON FILE
GLENDA MORALES ROSARIO          ADDRESS ON FILE
GLENDA OMAYRA DAVILA TORRES     ADDRESS ON FILE
GLENDA ORTIZ MERCADO            ADDRESS ON FILE
GLENDA ORTIZ SANCHEZ            ADDRESS ON FILE
GLENDA PEREZ                    ADDRESS ON FILE
GLENDA POMALES KERCADO          ADDRESS ON FILE
GLENDA QUINONES ARACIL          ADDRESS ON FILE
GLENDA RAMIREZ VELEZ            ADDRESS ON FILE
GLENDA RESTO LUNA               ADDRESS ON FILE
GLENDA RIVERA DE JESUS          ADDRESS ON FILE
GLENDA RIVERA LUGO              ADDRESS ON FILE
GLENDA RODRIGUEZ MEDINA         ADDRESS ON FILE
GLENDA ROSA CASTRO              LCDO. GUILLERMO RAMOS‐LUIÑA             PO Box 22763                                UPR Station                       San Juan     PR      00931‐2763
GLENDA S SOLIS GONZALEZ         ADDRESS ON FILE
GLENDA SANCHEZ                  LCDO. MICHAEL CORONA                    NO APARECE NI EN SILAG NI EN LA PAGINA DE INTERNET DE LA RAMA JUDICIAL
GLENDA SANTINI RODRIGUEZ        ADDRESS ON FILE
GLENDA SIERRA CAMACHO           LCDO. CARLOS I. LEÓN CAMACHO‐ABOGADO DEMJARDINES DE TOA ALTA #47                                                      TOA ALTA     PR      00953
GLENDA SOTO MOLINA              ADDRESS ON FILE
GLENDA V MARTINEZ BOLORIN       ADDRESS ON FILE
GLENDA VELAZQUEZ RODRIGUEZ      ADDRESS ON FILE
GLENDA Y. RIVERA ORTIZ          ADDRESS ON FILE
GLENDALEE SANTIAGO MORALES      ADDRESS ON FILE
GLENDALID HERNANDEZ GUADALUPE   ADDRESS ON FILE
GLENDALIE BOU ROSARIO           ADDRESS ON FILE
GLENDALIS BON MILLAN            ADDRESS ON FILE




                                                                                                      Page 3230 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3231 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                          Address1                  Address2                                    Address3    Address4   City         State   PostalCode   Country
GLENDALIS FELICIANO                    ADDRESS ON FILE
GLENDALIS FELICIANO                    ADDRESS ON FILE
GLENDALIS FIGUEROA REYES               ADDRESS ON FILE
GLENDALIS MALDONADO MALDONADO          ADDRESS ON FILE
GLENDALIS VELAZQUEZ GONZALEZ           ADDRESS ON FILE
GLENDALIX PENA BERRIOS                 ADDRESS ON FILE
GLENDALIZ CARDONA SANTANA              ADDRESS ON FILE
GLENDALIZ CRESPO RIVERA                ADDRESS ON FILE
GLENDALIZ DIAZ VALENTIN                ADDRESS ON FILE
GLENDALIZ GALARZA AROCHO               ADDRESS ON FILE
GLENDALIZ GALARZA ARROCHO              ADDRESS ON FILE
GLENDALIZ GOMEZ AMADOR                 ADDRESS ON FILE
GLENDALIZ GONZALEZ ORTIZ               ADDRESS ON FILE
GLENDALIZ MATOS GONZALEZ               ADDRESS ON FILE
GLENDALIZ MATOS SOTO                   ADDRESS ON FILE
GLENDALIZ ORTIZ RUBERO                 ADDRESS ON FILE
GLENDALIZ RODRIGUEZ RODRIGUEZ          ADDRESS ON FILE
GLENDALIZ SANTIAGO CRUZ                ADDRESS ON FILE
GLENDALIZ SANTIAGO ROSADO              ADDRESS ON FILE
GLENDALY AYALA CABAN                   ADDRESS ON FILE
GLENDALY CRUZ RAMOS                    ADDRESS ON FILE
GLENDALY FRANCO RASARIO                ADDRESS ON FILE
GLENDALY GOMEZ CRUZ                    ADDRESS ON FILE
GLENDALY GOMEZ CRUZ                    ADDRESS ON FILE
GLENDALY LARACUENTE AVILES             ADDRESS ON FILE
GLENDALY LOPEZ QUINONES                ADDRESS ON FILE
GLENDALY LUGO CINTRON                  ADDRESS ON FILE
GLENDALY PITRE SANTIAGO                ADDRESS ON FILE
GLENDALY RAMOS RAMOS                   ADDRESS ON FILE
GLENDALY RAMOS RODRIGUEZ               ADDRESS ON FILE
GLENDALY REYES RIVERA                  ADDRESS ON FILE
GLENDALY RODRIGUEZ ALMODOVAR           ADDRESS ON FILE
GLENDALY ROSARIO VAZQUEZ               ADDRESS ON FILE
GLENDALY RUSSE MELENDEZ                ADDRESS ON FILE
GLENDALY SOTOMAYOR FUENTES             ADDRESS ON FILE
GLENDALYS PEDRAZA TORRES               ADDRESS ON FILE
GLENDALYS RODRIGUEZ FIGUERA            ADDRESS ON FILE
GLENDALYS SOTO RODRIGUEZ               ADDRESS ON FILE
GLENDAMAR MERCADO AMADOR               ADDRESS ON FILE
GLENDDA VEGA MALDONADO                 ADDRESS ON FILE
GLENDY A CORREA RIOS                   ADDRESS ON FILE
GLENFORD N SANCHEZ HERRERA             ADDRESS ON FILE
GLENISHA BRIGNONI SANCHEZ              ADDRESS ON FILE
GLENIVER PORRATA COTTO                 ADDRESS ON FILE
GLENIVETTE ZAYAS VAZQUEZ               ADDRESS ON FILE
GLENIZ W PEREZ VELAZQUEZ               ADDRESS ON FILE
GLENMARY VARGAS RODRIGUEZ              ADDRESS ON FILE
GLENN A GONZALEZ MENDEZ                ADDRESS ON FILE
GLENN HARDING ABBOTT                   ADDRESS ON FILE
GLENN INTERNATIONAL INC                PO BOX 3500                                                                                  CAROLINA     PR      00984
GLENN LEE SCHILLY                      ADDRESS ON FILE
GLENN MALDONADO PENA                   ADDRESS ON FILE
GLENN MARRERO, NIKISHA                 ADDRESS ON FILE
GLENN MILLER ADMINISTRATOR ALEXANDER   JOHNSON JR ESTATE         130 EAST WASHINGTON STREET                  SUITE 105              HARTFORD     KY      42347
GLENN SANTIAGO PENA                    ADDRESS ON FILE
GLENN SARIOL RODRIGUEZ                 ADDRESS ON FILE
GLENN SARIOL RODRIGUEZ                 ADDRESS ON FILE
GLENN, RACHEL                          ADDRESS ON FILE
GLENNYS CASADO GUZMAN                  ADDRESS ON FILE
GLENNYS M ROSA MANCEBO                 ADDRESS ON FILE




                                                                                              Page 3231 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                          Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3232 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                            Address1                                   Address2                                       Address3   Address4   City               State   PostalCode   Country
GLENNYS W. ALVARADO VAZQUEZ              ADDRESS ON FILE
GLENY A BAUTISTA ANTONIO                 ADDRESS ON FILE
GLENYS ROSA VELEZ                        ADDRESS ON FILE
GLESSWINDA COLON MENDEZ                  ADDRESS ON FILE
GLESVIA MARIE PENA FIGUEROA              ADDRESS ON FILE
GLFHC                                    73 D WINTHROP AVE RTE 114                                                                                       LAWRENCE           MA      01843
GLICELLY MATOS ROMAN                     ADDRESS ON FILE
GLIDALIS MONTANEZ MORALES                ADDRESS ON FILE
GLIDDEN ARROYO PEREZ                     ADDRESS ON FILE
GLILMARIE MERCADO VILA                   ADDRESS ON FILE
GLIMARIS BATISTA Y JOSE R GONZALES       ADDRESS ON FILE
GLINETTE MORALES MATOS                   ADDRESS ON FILE
GLISELLE M CASTRO RIVERA                 ADDRESS ON FILE
GLISELLE QUINONES BAEZ                   ADDRESS ON FILE
GLISELLE QUINONES BAEZ                   ADDRESS ON FILE
GLISELLETH NAZARIO CARABALLO             ADDRESS ON FILE
GLISETTE ESTRELLA                        ADDRESS ON FILE
GLISSETTE V MARTINEZ RIVAS               ADDRESS ON FILE
GLIZETTE ALICEA CHETRANGOLO              ADDRESS ON FILE
GLIZETTE ALICEA CHETRANGOLO              ADDRESS ON FILE
GLIZETTE ALICEA CHETRANGOLO              ADDRESS ON FILE
GLIZETTE CRESPO MERCADO                  ADDRESS ON FILE
GLM ENGINEERING COOP                     PO BOX 9024157                                                                                                  SAN JUAN           PR      00902
GLOBA TECH CENTER CORP                   EDIFICIO ILA 1055                          MARGINAL J F KENNEDY SUITE 908                                       SAN JUAN           PR      00920
GLOBAL ADVISORS GROUP                    COND PARQUE REAL APT 408                                                                                        GUAYNABO           PR      00969‐5320
GLOBAL AEROSPACE INC                     ONE SYLVAN WAY PARSIPPANY                                                                                       NEW JERSEY         NJ      07054
GLOBAL AUTO GALLERY Y/O FELIX CALDERON   177 URB LA SERRANIA                                                                                             CAGUAS             PR      00725
GLOBAL BUSINESS TECHNOLOGY SOLUTION INC URB JARD DE MEDITERRANEO                    467 CALLE JARDIN DON JUAN                                            TOA ALTA           PR      00953‐3651
GLOBAL CARIBBEAN FIBER‐PUERTO RICO, LLC  250 MUNOZ RIVERA AVE                       SUITE 800                                                            SAN JUAN           PR      00918
GLOBAL COMMUNICATION INC                 URB BOSQUE VERDE                           CALLE AGUILA 100                                                     CAGUAS             PR      00727
GLOBAL CONNECTION, INC.                  1502 MARTIN TRAVIESO ST.                                                                                        SAN JUAN           PR      00911‐1938
GLOBAL CONSTRUCTION & GENERAL CONTRACTOHC 2 BOX 12590                                                                                                    GURABO             PR      00778‐9613
GLOBAL CONSULTAS ASOCIADOS INC           PMB 434                                    PO BOX 70344                                                         SAN JUAN           PR      00936‐8344
GLOBAL DIAGNOSTIC                        848 AVE HOSTOS                                                                                                  SAN JUAN           PR      00927‐4216
GLOBAL DIAGNOSTIC                        848 AVENIDA HOSTOS                                                                                              SAN JUAN           PR      00927‐4216
GLOBAL DISTRIBUTORS INC                  PMB 594                                    PO BOX 29005                                                         SAN JUAN           PR      00929‐9005
GLOBAL DISTRIBUTORS INC                  PMB 594 P O BOX 29029                                                                                           SAN JUAN           PR      00929
GLOBAL DOSIMETRY SOLUTIONS               2652 MCGAW AVENUE                                                                                               IRVINE             CA      92614
GLOBAL DOSIMETRY SOLUTIONS INC           DBA QUANTUM PRODUCTS                       2652 MC GAW AVE                                                      IRVINE             CA      92614
GLOBAL ECONOMIC & MARKETING SERVICES     PO BOX 360240                                                                                                   SAN JUAN           PR      00936‐0240
GLOBAL EDUC & INSTRUCTIONAL TECH CONSULT COND. GREEN VILLAGE 503B                   CALLE DE DIEGO 472                                                   SAN JUAN           PR      00923
GLOBAL EDUCATION EXCHANGE OPPORT INC     PO BOX 937                                                                                                      MANATI             PR      00674
GLOBAL EDUCATIONAL EXCHANGE OPPORTUNIT PO BOX 937                                                                                                        MANATI             PR      00674
GLOBAL ENGINEERING CONSULTANTS, P S C    740 AVE HOSTOS STE 206                                                                                          MAYAGUEZ           PR      00682‐1540
GLOBAL FOOD FRUITS CORP                  REPTO FLAMINGO                             G9 CALLE CENTRAL                                                     BAYAMON            PR      00959
GLOBAL GUARD PROTECTION CORP             PO BOX 29596                                                                                                    SAN JUAN           PR      00929
GLOBAL HEALTH SERVICES LLC               URB SAN RAMON                              148 CALLE NOGAL                                                      GUAYNABO           PR      00969
GLOBAL HEALTHCARE PARTNERS LLP           11350 OLD ROSWELL RD STE 700                                                                                    ALPHARETTA         GA      30009‐2295
GLOBAL INS AGENCY INC                    PO BOX 9023918                                                                                                  SAN JUAN           PR      00902‐3918
GLOBAL INSTITUTE                         P O BOX 361290                                                                                                  SAN JUAN           PR      00936‐1290
GLOBAL INSURANCE                         PO BOX 9023918                                                                                                  SAN JUAN           PR      00902‐3918
GLOBAL INSURANCE AGENCY, INC.            257 RECINTO SUR 2ND FLOOR                                                                                       SAN JUAN           PR      00901
GLOBAL KNOWLEDGE LINK (GLK)., INC.       PO BOX 824093                                                                                                   PEMBROKE PINES     FL      33082‐4093
GLOBAL LEARNING & CONSULTING CORP.       PMB 151 BOX 70171                                                                                               SAN JUAN           PR      00936‐8171
GLOBAL LEARNING AND CONSULTING           PMB 151                                    PO BOX 70171                                                         SAN JUAN           PR      00936‐8171
GLOBAL MAINTENANCE SERV & CONSULTANS LLCBANCO COOP PLAZA                            623 PONCE DE LEON AVE STE 1204B                                      SAN JUAN           PR      00917
GLOBAL MAINTENANCE SERVICE & CONSULTANT PO BOX 7055                                 SANTURCE STATION                                                     SAN JUAN           PR      00916‐7055
GLOBAL MAINTENANCE SERVICES , CORP.      CALLE 12 DE OCTUBRE # 412 URB. EL VEDADO                                                                        SAN JUAN           PR      00918‐0000
GLOBAL MANAGEMENT & CONSULTANS INC       2000 AVE KENNEDY                           EDIFICIO MAI CENTER SUITE 316                                        SAN JUAN           PR      00920
GLOBAL MANAGEMENT & CONSULTANS INC       AREA DE TESORO                             DIVISION DE RECLAMACIONES                                            SAN JUAN           PR      00902‐4140




                                                                                                                    Page 3232 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                       Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3233 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                    Creditor Matrix

Creditor Name                            Address1                                  Address2                                      Address3   Address4   City              State   PostalCode   Country
GLOBAL MANAGEMENT & CONSULTANS INC       P O BOX 270005                                                                                                SAN JUAN          PR      00927‐0005
GLOBAL MANAGEMENT & CONSULTANS INC       PO BOX 362589                                                                                                 SAN JUAN          PR      00936‐2589
GLOBAL MARINE SYSTEMS                    P O BOX 433                                                                                                   MERCEDITA         PR      00715
GLOBAL MARINE SYSTEMS                    PO BOX 34068                                                                                                  PONCE             PR      00734‐4068
GLOBAL MARITEK SYSTEMS INC               P O BOX 433                                                                                                   MERCEDITA         PR      00715
GLOBAL MATRIX ENGINEERING PSC            URB RIO CRISTAL                           617 CALLE FRANK SOUFFRONT                                           MAYAGUEZ          PR      00680‐1910
GLOBAL MATTRESS                          CARR 2 PLAZA DEL NORTE HATILLO                                                                                HATILLO           PR      00659
GLOBAL NET, CORP.                        400 CALLE CALAF PMB 312                                                                                       SAN JUAN          PR      00918
GLOBAL NETWORK DEVELOPERS, CORP          5900 AVE ISLA VERDE STE 2 PMB 103                                                                             CAROLINA          PR      00979
GLOBAL NEURO AND SPINE INSTITUTE         MEDICAL RECORDS                           12381 S ORANGE BLOSSOM TRL                                          ORLANDO           FL      32837
GLOBAL ONE LLC                           PO BOX 1864                                                                                                   BAYAMON           PR      00960
GLOBAL PAINT AND TOOLS INC               150 A CALLE HNOS ORTIZ SAEZ                                                                                   VEGA BAJA         PR      00693
GLOBAL PARKING SERVICES LLC              1353 AVE LUIS VIGOREAUX PMB 447                                                                               GUAYNABO          PR      00966
GLOBAL PERCEPTIONS INC                   2000 CARR 8177 STE 26 PMB 516                                                                                 GUAYNABO          PR      00966‐3762
GLOBAL SERVICES GROUP CORP               PO BOX 30970                                                                                                  SAN JUAN          PR      00929
GLOBAL SERVICES MECHANICAL CONTRACTORS I URB PRIMAVERA                             66 PASEO DE LAS ORQUIDEAS                                           TRUJILLO ALTO     PR      00976‐6086
GLOBAL SERVICES PROVIDERS                P O BOX 801235                                                                                                COTO LAUREL       PR      07801235
GLOBAL SERVICES PUERTO RICO INC          CENTRO INTL DE MERCADEO                   TORRE 1 SUITE 404                                                   GUAYNABO          PR      00968
GLOBAL SPORTS INITIATIVE LLC             PO BOX 441                                                                                                    PATILLAS          PR      00723
GLOBAL STRATEGIC MANAGE, INC             18141 SAXON DRIVE                         BEVERLY HILLS                                                       MICHIGAN          MI      48025
GLOBAL TEL*LINK CORPORATION              HATO REY TOWER, SUITE 1400 268 AVE. MUNOZ RIVERA                                                              SAN JUAN          PR      00918
GLOBAL TELEPHONE                         CARR 2 SUITE 15                                                                                               BAYAMON           PR      00959‐5259
GLOBAL TRADING ALLIANCE                  PMB 179 PO BOX 2500                                                                                           TRUJILLO ALTO     PR      00977‐2500
GLOBAL TURNKEY SERVICES                  CENTRO INT DE MERCADEO                    90 CARR 165 TORRE II STE 702                                        GUAYNABO          PR      00968
GLOBAL VYTRONICS PSC                     PO BOX 21406                                                                                                  SAN JUAN          PR      00928
GLOBALSTAR CARIBBEAN, LTD                300 HOLIDAY SQUARE BLVD.                                                                                      COVINGTON         LA      70433
GLOBALTEK PUERTO RICO LTD                530 PONCE DE LEON AVE                                                                                         SAN JUAN          PR      00901‐2304
GLOBUS MEDICAL INC                       VALLEY FORGE BUSINESS CENTER              2560 GENERAL ARMISTEAD AVE                                          AUDUBON           PA      19403
GLOMARIE VEGA MARTINEZ                   ADDRESS ON FILE
GLOONARK TECHNOLOGIES, INC.              2050 calle 2                                                                                                  HUMACAO           PR      00920
GLORAN INC                               PO BOX 8610                                                                                                   BAYAMON           PR      00960
GLORANGELY ROBLES VIERAS                 ADDRESS ON FILE
GLORENY RAMOS RODRIGUEZ                  ADDRESS ON FILE
GLORIA MEJIAS BASE                       RAMEY CALLE PARK                                                                                              AGUADILLA         PR      00604
GLORIA A DELGADO MARTINEZ                ADDRESS ON FILE
GLORIA A DIAZ GALARZA                    ADDRESS ON FILE
GLORIA A MORALEZ GONZALES                ADDRESS ON FILE
GLORIA A PADILLA CINTRON                 ADDRESS ON FILE
GLORIA A QUINONES CARTAGENA              ADDRESS ON FILE
GLORIA A RIVERA COLLAZO/INTEC SOLAR PR   ADDRESS ON FILE
GLORIA A. JOSE ESPINAL                   ADDRESS ON FILE
GLORIA AGOSTO VELAZQUEZ                  ADDRESS ON FILE
GLORIA ALICEA PADRON                     ADDRESS ON FILE
GLORIA ALMESTICA LUYANDA                 ADDRESS ON FILE
GLORIA ALVARADO PAGAN                    ADDRESS ON FILE
GLORIA AMADEO ORTIZ                      ADDRESS ON FILE
GLORIA ANDINO AYALA                      ADDRESS ON FILE
GLORIA ANGELINA CIEZA COLLAS             ADDRESS ON FILE
GLORIA APONTE RANGEL                     ADDRESS ON FILE
GLORIA ARGUINZONI PEREZ                  ADDRESS ON FILE
GLORIA ARROYO DE JESUS                   ADDRESS ON FILE
GLORIA ARROYO SANCHEZ                    ADDRESS ON FILE
GLORIA ASTACIO DAVILA                    ADDRESS ON FILE
GLORIA B ALDAHONDO RIVERA                ADDRESS ON FILE
GLORIA B DELGADO DE VEGA                 ADDRESS ON FILE
GLORIA B HERNANDEZ PEREZ                 ADDRESS ON FILE
GLORIA B. DE JESUS RIVERA                ADDRESS ON FILE
GLORIA BARRETO                           ADDRESS ON FILE
GLORIA BENIQUES MIRANDA                  ADDRESS ON FILE
GLORIA BENITEZ APONTE                    ADDRESS ON FILE




                                                                                                                  Page 3233 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3234 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GLORIA BLANCO ORTEGA              ADDRESS ON FILE
GLORIA BLAS LOPEZ                 ADDRESS ON FILE
GLORIA BURGOS MORALES             ADDRESS ON FILE
GLORIA C RODRIGUEZ GONZALEZ       ADDRESS ON FILE
GLORIA C RODRIGUEZ MARTINEZ       ADDRESS ON FILE
GLORIA C TORRES ROMERO            ADDRESS ON FILE
GLORIA C VAZQUEZ SUAREZ           ADDRESS ON FILE
GLORIA C. MARTINO GONZALEZ        ADDRESS ON FILE
GLORIA CABALLER VINAS             ADDRESS ON FILE
GLORIA CABAN                      ADDRESS ON FILE
GLORIA CABRERA PENA               ADDRESS ON FILE
GLORIA CARDONA ALDARONDO          ADDRESS ON FILE
GLORIA CARDONA ALDARONDO          ADDRESS ON FILE
GLORIA CASTRO TORRES              ADDRESS ON FILE
GLORIA CHAN HO                    ADDRESS ON FILE
GLORIA CINTRON/ CARLOS LEON       ADDRESS ON FILE
GLORIA CLAUDIO MOLINA             ADDRESS ON FILE
GLORIA COLLAZO MEDINA             ADDRESS ON FILE
GLORIA COLON COLON                ADDRESS ON FILE
GLORIA COLON COLON                ADDRESS ON FILE
GLORIA COLON SUAREZ               ADDRESS ON FILE
GLORIA COLON TORRES               ADDRESS ON FILE
GLORIA CONCEPCION LEBRON          ADDRESS ON FILE
GLORIA CORDERO GONZALEZ           ADDRESS ON FILE
GLORIA CORDERO GONZALEZ           ADDRESS ON FILE
GLORIA COTTO VILLEGAS             ADDRESS ON FILE
GLORIA CRESCIONI BENITEZ          ADDRESS ON FILE
GLORIA CRUZ NU¥EZ                 ADDRESS ON FILE
GLORIA CRUZ RUIZ                  ADDRESS ON FILE
GLORIA CRUZ SAEZ                  ADDRESS ON FILE
GLORIA CRUZ SEVILLA               ADDRESS ON FILE
GLORIA CUBA MENDEZ                ADDRESS ON FILE
GLORIA D CAEZ DE JESUS            ADDRESS ON FILE
GLORIA D DIAZ NAZARIO             ADDRESS ON FILE
GLORIA D LAUREANO MOLINA          ADDRESS ON FILE
GLORIA DE JESUS SANTIAGO          ADDRESS ON FILE
GLORIA DE JESUS Y ANA L ALGARIN   ADDRESS ON FILE
GLORIA DE L BEZARES SALINAS       ADDRESS ON FILE
GLORIA DE L. BEZARES SALINAS      ADDRESS ON FILE
GLORIA DE LA CRUZ                 ADDRESS ON FILE
GLORIA DE LLOVIO DOMINGUEZ        ADDRESS ON FILE
GLORIA DEL C FERNANDEZ DIAZ       ADDRESS ON FILE
GLORIA DEL C. MUNOZ FUENTES       ADDRESS ON FILE
GLORIA DEL CARMEN MEDINA ROSA     ADDRESS ON FILE
GLORIA DELGADO FERNANDEZ          ADDRESS ON FILE
GLORIA DIAZ CONTRERAS             ADDRESS ON FILE
GLORIA DIAZ RAMOS                 ADDRESS ON FILE
GLORIA DURAN                      ADDRESS ON FILE
GLORIA E ALMESTICA                ADDRESS ON FILE
GLORIA E APONTE CLAUDIO           ADDRESS ON FILE
GLORIA E ARES SOTO                ADDRESS ON FILE
GLORIA E ARROYO COLON             ADDRESS ON FILE
GLORIA E ARROYO MALDONADO         ADDRESS ON FILE
GLORIA E AYALA CORIS              ADDRESS ON FILE
GLORIA E BAEZ ROLDAN              ADDRESS ON FILE
GLORIA E BORGES VALERO            ADDRESS ON FILE
GLORIA E COLLAZO CARABALLO        ADDRESS ON FILE
GLORIA E COLON RODRIGEZ           ADDRESS ON FILE
GLORIA E CORALES ALAMEDA          ADDRESS ON FILE
GLORIA E CRUZ LUGO                ADDRESS ON FILE




                                                                              Page 3234 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3235 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GLORIA E CRUZ NUNEZ                  ADDRESS ON FILE
GLORIA E DIAZ LEON                   ADDRESS ON FILE
GLORIA E DIAZ ORTA                   ADDRESS ON FILE
GLORIA E DIAZ QUINONEZ               ADDRESS ON FILE
GLORIA E ESTRADA SANTOS              ADDRESS ON FILE
GLORIA E FIGUEROA / LUIS A CARMONA   ADDRESS ON FILE
GLORIA E FIGUEROA LATORRE            ADDRESS ON FILE
GLORIA E FIGUEROA SANTOS             ADDRESS ON FILE
GLORIA E FLORES ANDINO               ADDRESS ON FILE
GLORIA E FLORES BERMUDEZ             ADDRESS ON FILE
GLORIA E GARCIA COLLAZO              ADDRESS ON FILE
GLORIA E GARCIA ROSA                 ADDRESS ON FILE
GLORIA E GIMENEZ                     ADDRESS ON FILE
GLORIA E GIRONA FONALLEDAS           ADDRESS ON FILE
GLORIA E GONZALEZ CINTRON            ADDRESS ON FILE
GLORIA E GONZALEZ COLON              ADDRESS ON FILE
GLORIA E GONZALEZ MARRERO            ADDRESS ON FILE
GLORIA E GUZMAN PEREZ                ADDRESS ON FILE
GLORIA E LEBRON AYALA                ADDRESS ON FILE
GLORIA E LOPEZ REYES                 ADDRESS ON FILE
GLORIA E LOPEZ RIVERA                ADDRESS ON FILE
GLORIA E MADERA RIVERA               ADDRESS ON FILE
GLORIA E MALDONADO NARVAEZ           ADDRESS ON FILE
GLORIA E MALDONADO NEGRON            ADDRESS ON FILE
GLORIA E MARCANO RIOS                ADDRESS ON FILE
GLORIA E MARRERO FIGUEROA            ADDRESS ON FILE
GLORIA E MATOS ARCHILLA              ADDRESS ON FILE
GLORIA E MATOS ARCHILLA              ADDRESS ON FILE
GLORIA E MATOS DE MARTINEZ           ADDRESS ON FILE
GLORIA E MEDINA VARGAS               ADDRESS ON FILE
GLORIA E MOLINARY ROJAS              ADDRESS ON FILE
GLORIA E MORALES MIRANDA             ADDRESS ON FILE
GLORIA E MUNOZ FIGUEROA              ADDRESS ON FILE
GLORIA E NEGRON                      ADDRESS ON FILE
GLORIA E OLIVO MIRANDA               ADDRESS ON FILE
GLORIA E ORTEGA DE DIEGO             ADDRESS ON FILE
GLORIA E ORTIZ CASANOVA              ADDRESS ON FILE
GLORIA E ORTIZ GONZALEZ              ADDRESS ON FILE
GLORIA E ORTIZ MARTINEZ              ADDRESS ON FILE
GLORIA E ORTIZ MARTINEZ              ADDRESS ON FILE
GLORIA E PERDOMO RIVERA              ADDRESS ON FILE
GLORIA E PEREFONT GARCIA             ADDRESS ON FILE
GLORIA E PEREZ PLAZA                 ADDRESS ON FILE
GLORIA E PLAZA QUINONEZ              ADDRESS ON FILE
GLORIA E PORTELA GARCIA              ADDRESS ON FILE
GLORIA E RAMIREZ BUSTILLO            ADDRESS ON FILE
GLORIA E RAMOS Y MARIA L RAMOS       ADDRESS ON FILE
GLORIA E RIVERA RIVERA               ADDRESS ON FILE
GLORIA E RIVERA SOTO                 ADDRESS ON FILE
GLORIA E RODRIGUEZ DAVILA            ADDRESS ON FILE
GLORIA E RODRIGUEZ GUZMAN            ADDRESS ON FILE
GLORIA E RODRIGUEZ LAMOURT           ADDRESS ON FILE
GLORIA E RODRIGUEZ MORALES &         ADDRESS ON FILE
GLORIA E ROSA CARROMERO              ADDRESS ON FILE
Gloria E Rosa Jimenez                ADDRESS ON FILE
GLORIA E ROSADO MENDEZ               ADDRESS ON FILE
GLORIA E ROSARIO ROSARIO             ADDRESS ON FILE
GLORIA E SANCHEZ HERNANDEZ           ADDRESS ON FILE
GLORIA E SANCHEZ PASTRANA &          ADDRESS ON FILE
GLORIA E SANTOS REYES                ADDRESS ON FILE




                                                                                 Page 3235 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3236 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                        Creditor Matrix

Creditor Name                             Address1                         Address2                                  Address3   Address4   City         State   PostalCode   Country
GLORIA E SOSTRE DEL VALLE                 ADDRESS ON FILE
GLORIA E VAZQUEZ ORTEGA                   ADDRESS ON FILE
GLORIA E VEGA SANTIAGO                    ADDRESS ON FILE
GLORIA E VELEZ SANTOS                     ADDRESS ON FILE
GLORIA E VILCHEZ PAZ                      ADDRESS ON FILE
GLORIA E VILLEGAS CRUZ                    ADDRESS ON FILE
GLORIA E. ALOMAR RIGUAL                   ADDRESS ON FILE
GLORIA E. CASTRO TORRES                   ADDRESS ON FILE
GLORIA E. CONCEPCION LOZADA               ADDRESS ON FILE
GLORIA E. CRUZ ARRIAGA                    ADDRESS ON FILE
GLORIA E. CRUZ COLON                      ADDRESS ON FILE
GLORIA E. IRIZARRY SANTIAGO               ADDRESS ON FILE
GLORIA E. LOZADA NIEVES                   ADDRESS ON FILE
GLORIA E. MEJIA ORREGO                    ADDRESS ON FILE
GLORIA E. MEJÍA ORREGO                    LCDO. JOSÉ RAMÓN TORRES TORRES   PASEO DEGETAU APTO. 1802                                        CAGUAS       PR      00727
GLORIA E. MENDEZ RUIZ                     ADDRESS ON FILE
GLORIA E. NIEVES LOPEZ                    ADDRESS ON FILE
GLORIA E. ORTIZ COTTO                     LCDO. AMEXIS BONILLA NIEVES      270 AVE. SAN IGNACIO                      #13501                GUAYNABO     PR      00969
GLORIA E. ROJAS BRUNO                     ADDRESS ON FILE
GLORIA E. SANTANA SANTIAGO                ADDRESS ON FILE
GLORIA EDNA RAMOS CARRION                 ADDRESS ON FILE
GLORIA ENID GONZALEZ GONZALEZ             ADDRESS ON FILE
GLORIA ENID GONZALEZ GONZALEZ             ADDRESS ON FILE
GLORIA ESCUDERO MORALES                   ADDRESS ON FILE
GLORIA ESTHER APONTE GARAYUA              ADDRESS ON FILE
GLORIA ESTHER AULET RIVERA                ADDRESS ON FILE
GLORIA ESTHER CASTILLO BERDECIA           ADDRESS ON FILE
GLORIA ESTHER PAGAN PAGAN                 ADDRESS ON FILE
GLORIA FELICIANO SANCHEZ                  ADDRESS ON FILE
GLORIA FIDALGO CORDOVA                    ADDRESS ON FILE
GLORIA FONTANEZ                           ADDRESS ON FILE
GLORIA FONTANEZ                           ADDRESS ON FILE
GLORIA FONTANEZ BORGES                    ADDRESS ON FILE
GLORIA FUENTES ORTIZ                      ADDRESS ON FILE
GLORIA G GOMEZ FRAGUADA                   ADDRESS ON FILE
GLORIA GANDARILLA DE CARDONA              ADDRESS ON FILE
GLORIA GARCIA CRESPO                      ADDRESS ON FILE
GLORIA GARCIA ECHEVARRIA                  ADDRESS ON FILE
GLORIA GARCIA PADILLA                     ADDRESS ON FILE
GLORIA GARCIA PEREZ                       ADDRESS ON FILE
GLORIA GIL DE LAMADRID Y SUCESION PEDRO   ADDRESS ON FILE
GLORIA GOMEZ ZUNIGA                       ADDRESS ON FILE
GLORIA GONZALEZ                           ADDRESS ON FILE
GLORIA GONZALEZ ACOSTA                    ADDRESS ON FILE
GLORIA GONZALEZ CRUZ                      ADDRESS ON FILE
GLORIA GONZALEZ GONZALEZ                  ADDRESS ON FILE
GLORIA GONZALEZ RODRIGUEZ                 ADDRESS ON FILE
GLORIA GONZALEZ RODRIGUEZ                 ADDRESS ON FILE
GLORIA GOYCO AMADOR                       ADDRESS ON FILE
GLORIA GRAU SANTIAGO                      ADDRESS ON FILE
GLORIA GUERRERO MONTALVO                  ADDRESS ON FILE
GLORIA GUZMAN HENAO                       ADDRESS ON FILE
GLORIA GUZMAN PEREZ                       ADDRESS ON FILE
GLORIA GUZMAN RAMOS                       ADDRESS ON FILE
GLORIA H DIEPPA RODRIGUEZ                 ADDRESS ON FILE
GLORIA H HERNANDEZ RIVERA                 ADDRESS ON FILE
GLORIA H NAVARRO VAZQUEZ                  ADDRESS ON FILE
GLORIA H PADILLA O FELIPE FELICIANO       ADDRESS ON FILE
GLORIA H PEREZ SANABRIA                   ADDRESS ON FILE
GLORIA H VELEZ VILLARAN                   ADDRESS ON FILE




                                                                                                      Page 3236 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3237 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GLORIA H. OLIVERAS MORALES                 ADDRESS ON FILE
GLORIA H. OLIVERAS MORALES                 ADDRESS ON FILE
GLORIA HERNANDEZ DE JESUS                  ADDRESS ON FILE
GLORIA HERNANDEZ DE JESUS                  ADDRESS ON FILE
GLORIA HERNANDEZ MOJICA                    ADDRESS ON FILE
GLORIA HERNANDEZ PAGAN                     ADDRESS ON FILE
GLORIA I ALVARADO GONZALEZ                 ADDRESS ON FILE
GLORIA I BERRIOS CRUZ                      ADDRESS ON FILE
GLORIA I CAMPO CANEL                       ADDRESS ON FILE
GLORIA I CHAPARRO OLIVERAS                 ADDRESS ON FILE
GLORIA I COLON ESTELA                      ADDRESS ON FILE
GLORIA I CRUZ PEREZ                        ADDRESS ON FILE
GLORIA I DELGADO MELENDEZ                  ADDRESS ON FILE
GLORIA I DIAZ ACEVEDO                      ADDRESS ON FILE
GLORIA I FLORES RAMOS                      ADDRESS ON FILE
GLORIA I GOMEZ CHACON                      ADDRESS ON FILE
GLORIA I GONZALEZ RIVERA                   ADDRESS ON FILE
GLORIA I MARTINEZ MATOS                    ADDRESS ON FILE
GLORIA I MIRANDA APONTE                    ADDRESS ON FILE
GLORIA I ORTIZ RODRIGUEZ                   ADDRESS ON FILE
GLORIA I ORTIZ RODRIGUEZ                   ADDRESS ON FILE
GLORIA I RAMIREZ                           ADDRESS ON FILE
GLORIA I RIVAS BRACHE                      ADDRESS ON FILE
GLORIA I RIVERA PEREZ                      ADDRESS ON FILE
GLORIA I TORRES DE HOYOS                   ADDRESS ON FILE
GLORIA I YAMBO TORRES                      ADDRESS ON FILE
GLORIA I. ESCUDERO MORALES                 ADDRESS ON FILE
GLORIA I. IRIZARRY VALENTIN                ADDRESS ON FILE
GLORIA I. MIRANDA APONTE                   ADDRESS ON FILE
GLORIA I. NEGRON CRUZ                      ADDRESS ON FILE
GLORIA I. ZAMBRANA GIERBOLINI              ADDRESS ON FILE
GLORIA IRIS RUIZ RODRIGUEZ                 ADDRESS ON FILE
GLORIA IRIZARRY QUINONES                   ADDRESS ON FILE
GLORIA IVETTE RODRIGUEZ CUADRADO           ADDRESS ON FILE
GLORIA J FLECHA BURGOS                     ADDRESS ON FILE
GLORIA J NADAL CORDERO/ FERRER ELECTRICA   ADDRESS ON FILE
GLORIA J RODRIGUEZ VILANOVA                ADDRESS ON FILE
GLORIA J VAZQUEZ SANTIAGO                  ADDRESS ON FILE
GLORIA J. ORTIZ COLON                      ADDRESS ON FILE
GLORIA JANET ESTREMERA RIOS                ADDRESS ON FILE
GLORIA JIMENEZ / NEIDA PAGAN               ADDRESS ON FILE
GLORIA KUILAN CLAUDIO/PEQUENAS LIGAS       ADDRESS ON FILE
GLORIA L GONZALEZ DE AGUILAR               ADDRESS ON FILE
GLORIA L RIVERA MARCANO                    ADDRESS ON FILE
GLORIA L. LEBRON NIEVES                    ADDRESS ON FILE
GLORIA LAGO MACHADO                        ADDRESS ON FILE
GLORIA LOPEZ LOPEZ                         ADDRESS ON FILE
GLORIA LORENZO VAZQUEZ                     ADDRESS ON FILE
GLORIA M AGOSTO CLAUDIO                    ADDRESS ON FILE
GLORIA M AGUAYO SENERIZ                    ADDRESS ON FILE
GLORIA M APONTE LOPEZ                      ADDRESS ON FILE
GLORIA M ARROYO RODRIGUEZ                  ADDRESS ON FILE
GLORIA M BADILLO / ABRAHAM ACEVEDO         ADDRESS ON FILE
GLORIA M BOSQUES MEDINA                    ADDRESS ON FILE
GLORIA M CASASUS URRUTIA                   ADDRESS ON FILE
GLORIA M CASTILLO COSME                    ADDRESS ON FILE
GLORIA M COLLAZO RIVERA                    ADDRESS ON FILE
GLORIA M COLON                             ADDRESS ON FILE
GLORIA M COLON MARTINEZ                    ADDRESS ON FILE
GLORIA M DE JESUS DIAZ                     ADDRESS ON FILE




                                                                                       Page 3237 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3238 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                           Address1                                   Address2                           Address3         Address4   City         State   PostalCode   Country
GLORIA M DE JESUS DIAZ                  ADDRESS ON FILE
GLORIA M DE LEON                        ADDRESS ON FILE
GLORIA M DEL VALLE JIMENEZ              ADDRESS ON FILE
GLORIA M FELICIANO RODRIGUEZ            ADDRESS ON FILE
GLORIA M GARCIA TORRES                  ADDRESS ON FILE
GLORIA M GONZALEZ GONZALEZ ESTATE       C/O PAUL MENDEZ                            9340 SW 106TH AVE                                              MIAMI        FL      33176‐2626
GLORIA M HERNANDEZ Y MARITZA SANTIAGO   ADDRESS ON FILE
GLORIA M LORENZO SOTO                   ADDRESS ON FILE
GLORIA M MARRERO HERNANDEZ              ADDRESS ON FILE
GLORIA M MARTINEZ CALDERON              ADDRESS ON FILE
GLORIA M MARTINEZ FIGUEROA              ADDRESS ON FILE
GLORIA M MATOS VIZCARRONDO              ADDRESS ON FILE
GLORIA M MELENDEZ ANGULO                ADDRESS ON FILE
GLORIA M MELENDEZ OSORIO                ADDRESS ON FILE
GLORIA M MORILLO CABAN                  ADDRESS ON FILE
GLORIA M NAZARIO MUNOZ                  ADDRESS ON FILE
GLORIA M NAZARIO MUNOZ                  ADDRESS ON FILE
GLORIA M ORTIZ RAMIREZ                  ADDRESS ON FILE
GLORIA M PELLOT GARCIA                  ADDRESS ON FILE
GLORIA M PEREZ RIVERA                   ADDRESS ON FILE
GLORIA M PIZARRO CANCEL                 ADDRESS ON FILE
GLORIA M REYES TORRES                   ADDRESS ON FILE
GLORIA M RIVERA                         ADDRESS ON FILE
GLORIA M RIVERA CENTENO                 ADDRESS ON FILE
GLORIA M RIVERA HERNANDEZ               ADDRESS ON FILE
GLORIA M RIVERA MARTINEZ                ADDRESS ON FILE
GLORIA M RUIZ CORRALIZA                 ADDRESS ON FILE
GLORIA M RUIZ DONES                     ADDRESS ON FILE
GLORIA M SANTAELLA                      ADDRESS ON FILE
GLORIA M SEDA RODRIGUEZ                 ADDRESS ON FILE
GLORIA M SOTO RODRIGUEZ                 ADDRESS ON FILE
GLORIA M TAPIA ROMERO                   ADDRESS ON FILE
GLORIA M TORO AGRAIT                    ADDRESS ON FILE
GLORIA M TORRES ACEVEDO                 ADDRESS ON FILE
GLORIA M VARGAS CRUZ                    ADDRESS ON FILE
GLORIA M VERDEJO DAVILA                 ADDRESS ON FILE
GLORIA M VERDEJO DAVILA                 ADDRESS ON FILE
GLORIA M. COLON SUAREZ                  ADDRESS ON FILE
GLORIA M. CUSTODIO MENDEZ               ADDRESS ON FILE
GLORIA M. DIAZ FORTIS                   ADDRESS ON FILE
GLORIA M. ESTEVA MARQUEZ V ELA          LCDO. JOSÉ A. HERNÁNDEZ LÁZARO ; LCDO. CÉSAPO BOX 331041                                                  Ponce        PR      00733‐1041
Gloria M. Lopez Gonzalez                ADDRESS ON FILE
GLORIA M. PARIS POUPART                 ADDRESS ON FILE
GLORIA M. REYES PEREZ                   ADDRESS ON FILE
                                                                                                                      1353 AVE. LUIS
GLORIA M. RIVERA VALENTIN                YARLENE JIMÉNEZ ROSARIO                  PMB 133                             VIGOREAUX                   GUAYNABO     PR      00966‐2700
GLORIA M. RUIZ CORRALIZA                 ADDRESS ON FILE
GLORIA M. SOTO RODRIGUEZ                 ADDRESS ON FILE
GLORIA M. VICENTE REYES                  ADDRESS ON FILE
GLORIA MALDONADO NEGRON                  ADDRESS ON FILE
GLORIA MARIA MARTINEZ VAZQUEZ            ADDRESS ON FILE
GLORIA MARIA ORTIZ CRUZ                  ADDRESS ON FILE
GLORIA MARIN SANTIAGO SUP ESPANOL        ADDRESS ON FILE
GLORIA MARRERO ALEMAN                    ADDRESS ON FILE
GLORIA MARTINEZ REYES                    ADDRESS ON FILE
GLORIA MEDINA MEDINA                     ADDRESS ON FILE
GLORIA MEDINA SOTO                       ADDRESS ON FILE
GLORIA MELENDEZ COTTO                    ADDRESS ON FILE
GLORIA MENDEZ AVILES                     ADDRESS ON FILE
GLORIA MENDEZ DLORENZI Y ROBERTO LORENZI ADDRESS ON FILE




                                                                                                       Page 3238 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3239 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                          Address1                            Address2                                     Address3   Address4   City         State   PostalCode   Country
GLORIA MENDEZ REYES                    ADDRESS ON FILE
GLORIA MENDEZ RIVERA                   ADDRESS ON FILE
GLORIA MERCEDES CARO SERBIA            ADDRESS ON FILE
GLORIA MILAGROS ROSA BERRIOS           ADDRESS ON FILE
GLORIA MOLINA FIGUEROA                 LCDO. ALBERTO COUVERTIE BARRERA     PO Box 191782                                                      SAN JUAN     PR      00919‐1782
GLORIA MOLINA FIGUEROA                 LCDO. DOMINGO EMANUELLI HERNÁNDEZ   PO Box 2443                                                        ARECIBO      PR      00613‐2443
GLORIA MOLINA FIGUEROA                 LCDO. JUAN R. DÁVILA DIAZ           134 Mayagüez                                                       SAN JUAN     PR      00917
GLORIA MOLINA FIGUEROA                 LCDO. MIGUEL M. CANCIO ARCELAY      PO Box 8414                                                        SAN JUAN     PR      00910
GLORIA MONGE NUNEZ                     ADDRESS ON FILE
GLORIA MONTANEZ QUINONES               ADDRESS ON FILE
GLORIA MONTANEZ RODRIGUEZ              ADDRESS ON FILE
GLORIA MONTIJO FIGUEROA                ADDRESS ON FILE
GLORIA MORELL                          ADDRESS ON FILE
GLORIA MUNIZ MENDEZ                    ADDRESS ON FILE
GLORIA MUNOZ BLANCO                    ADDRESS ON FILE
GLORIA MUNOZ/DORIS E SANTANA (TUTOR)   ADDRESS ON FILE
GLORIA MUNOZ/DORIS E SANTANA (TUTOR)   ADDRESS ON FILE
GLORIA N MARTINEZ LOPEZ                ADDRESS ON FILE
GLORIA N MENDOZA VAZQUEZZ              ADDRESS ON FILE
GLORIA N. CARRILLO GONZALEZ            ADDRESS ON FILE
GLORIA NIEVES / TONY CARRION           ADDRESS ON FILE
GLORIA NIEVES RIVERA                   ADDRESS ON FILE
GLORIA NIEVES SANTIAGO                 ADDRESS ON FILE
GLORIA O FIGUEROA ROURE                ADDRESS ON FILE
GLORIA ORTIZ                           ADDRESS ON FILE
GLORIA ORTIZ LARA                      ADDRESS ON FILE
GLORIA ORTIZ SANCHEZ                   ADDRESS ON FILE
GLORIA OTERO PAGAN                     ADDRESS ON FILE
GLORIA PAGAN SABATER                   ADDRESS ON FILE
GLORIA PAGAN SABATER                   ADDRESS ON FILE
GLORIA PAGAN SABATER                   ADDRESS ON FILE
GLORIA PENA COLON                      ADDRESS ON FILE
GLORIA PEREZ DIAZ                      ADDRESS ON FILE
GLORIA PINERO / YOLANDA GOMEZ          ADDRESS ON FILE
GLORIA PONCE TUA                       ADDRESS ON FILE
GLORIA PONS                            ADDRESS ON FILE
GLORIA QUINONES LANZO                  ADDRESS ON FILE
GLORIA QUINONES ROSARIO                ADDRESS ON FILE
Gloria QuiNonez Rosario                ADDRESS ON FILE
GLORIA RABELO FIGUEROA                 ADDRESS ON FILE
GLORIA RAMIREZ                         ADDRESS ON FILE
GLORIA RAMOS PEREZ                     ADDRESS ON FILE
GLORIA RAMOS TORRES                    ADDRESS ON FILE
GLORIA RIOS CORREA                     ADDRESS ON FILE
GLORIA RIOS SERRANO                    ADDRESS ON FILE
GLORIA RIVERA GUTIERREZ                ADDRESS ON FILE
GLORIA RIVERA RIVERA                   ADDRESS ON FILE
GLORIA RIVERA RIVERA                   ADDRESS ON FILE
GLORIA RIVERA ROSADO                   ADDRESS ON FILE
GLORIA RODRIGUEZ ROSARIO               ADDRESS ON FILE
GLORIA ROMAN TORRES                    ADDRESS ON FILE
GLORIA ROSA BARRIOS                    ADDRESS ON FILE
GLORIA ROSA BERDECIA                   ADDRESS ON FILE
GLORIA RUIZ RODRIGUEZ                  ADDRESS ON FILE
GLORIA S ALMONTE                       ADDRESS ON FILE
GLORIA S SUAREZ DURAN                  ADDRESS ON FILE
GLORIA S. REBOYRAS ALVARADO            LCDO. ANGEL FERRER CRUZ             UGT PO BOX 29247 ESTACIÓN 65 DE INFANTERIA                         SAN JUAN     PR      00929
GLORIA SANABRIA                        ADDRESS ON FILE
GLORIA SANCHEZ GONZALEZ                ADDRESS ON FILE
GLORIA SANCHEZ SERRANO                 ADDRESS ON FILE




                                                                                                       Page 3239 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3240 of 3500
                                                                               17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                   Address1                                Address2                                 Address3   Address4   City       State   PostalCode   Country
GLORIA SANDANA ROCHE            ADDRESS ON FILE
GLORIA SANTIAGO SANTIAGO        ADDRESS ON FILE
GLORIA SANTIAGO SANTIAGO        ADDRESS ON FILE
GLORIA SEGUI NEGRON             ADDRESS ON FILE
GLORIA SERRANO QUINONES         ADDRESS ON FILE
GLORIA SERRANO SANTIAGO         ADDRESS ON FILE
GLORIA T CONCEPCION AMBERT      ADDRESS ON FILE
GLORIA TIRADO SUPULVEDA         ADDRESS ON FILE
GLORIA TORRES MAESTRE           ADDRESS ON FILE
GLORIA TORRES RIVERA            ADDRESS ON FILE
GLORIA TORRES TORRES            ADDRESS ON FILE
GLORIA V RIVERA RIVERA          ADDRESS ON FILE
GLORIA VALENTIN GONZALEZ        ADDRESS ON FILE
GLORIA VALIENTE MALDONADO       ADDRESS ON FILE
GLORIA VARGAS BURGOS            ADDRESS ON FILE
GLORIA VAZQUEZ / MARIBEL SOTO   ADDRESS ON FILE
Gloria Vázquez González         ADDRESS ON FILE
GLORIA VAZQUEZ PASTRANA         ADDRESS ON FILE
GLORIA VAZQUEZ ROSA             ADDRESS ON FILE
GLORIA VEGA PAGAN               ADDRESS ON FILE
GLORIA VELEZ MILLAN             ADDRESS ON FILE
GLORIA VELEZ MIRANDA            ADDRESS ON FILE
GLORIA VELEZ RODRIGUEZ          ADDRESS ON FILE
GLORIA VILCHES PAZ              ADDRESS ON FILE
GLORIA VILLEGAS LOZADA          ADDRESS ON FILE
GLORIA W PEREZ MORENO           ADDRESS ON FILE
GLORIA Y LORENZO MORENO         ADDRESS ON FILE
GLORIA Y MONTALVO PERALTA       ADDRESS ON FILE
GLORIA ZAYAS SAAVEDRA           ADDRESS ON FILE
GLORIALYS PENA TORRES           ADDRESS ON FILE
GLORIALYS ROMAN TOSADO          ADDRESS ON FILE
GLORIAM SOTO MOLINA             ADDRESS ON FILE
GLORIAN ORTIZ RODRIGUEZ         ADDRESS ON FILE
GLORIANA SANTIAGO SANTIAGO      ADDRESS ON FILE
GLORIANA SANTIAGO SANTIAGO      ADDRESS ON FILE
GLORIANN INGEMI RIOS            ADDRESS ON FILE
GLORIANN M RAMIREZ VELAZQUEZ    ADDRESS ON FILE
GLORIANN M TORRES HERNANDEZ     ADDRESS ON FILE
GLORIANNE M LOTTI RODRIGUEZ     ADDRESS ON FILE
GLORIANY BABA                   ADDRESS ON FILE
GLORIBEL ACOSTA FELICIANO       ADDRESS ON FILE
GLORIBEL ARROYO MENDEZ          ADDRESS ON FILE
GLORIBEL COLON RIVERA           ADDRESS ON FILE
GLORIBEL CRUZ MONTANEZ          ADDRESS ON FILE
GLORIBEL ESPADA VARGAS          ADDRESS ON FILE
GLORIBEL FELICIANO RIVERA       ADDRESS ON FILE
GLORIBEL FELICIANO RODRIGUEZ    ADDRESS ON FILE
GLORIBEL GONZALEZ               ADDRESS ON FILE
GLORIBEL GONZALEZ MALDONADO     ALMA R. PEDRO MONTES (PROCURADORA DE AS ANTIGUO CENTRO JUDICIAL                                        CAGUAS     PR      09999
GLORIBEL GONZALEZ MALDONADO     CDO. CARLOS V. MORELL BORRERO           PO BOX 8247                                                    CAGUAS     PR      00726
GLORIBEL LEBRON                 ADDRESS ON FILE
GLORIBEL LOPEZ IBANEZ           ADDRESS ON FILE
GLORIBEL LOPEZ LABOY            ADDRESS ON FILE
GLORIBEL MEDINA ORTIZ           ADDRESS ON FILE
GLORIBEL NEGRON SOLIVAN         ADDRESS ON FILE
GLORIBEL ORTIZ MUNOZ            ADDRESS ON FILE
GLORIBEL RABELO FIGUEROA        ADDRESS ON FILE
GLORIBEL RAMOS DEL VALLE        ADDRESS ON FILE
GLORIBEL RAMOS RIVERA           ADDRESS ON FILE
GLORIBEL RIVERA VARGAS          ADDRESS ON FILE




                                                                                                  Page 3240 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3241 of 3500
                                                                               17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                   Address1                             Address2                       Address3   Address4   City         State   PostalCode   Country
GLORIBEL SOTO SOTO              ADDRESS ON FILE
GLORIBELL DE LA VEGA ORTEGA     ADDRESS ON FILE
GLORIBELL HERNANDEZ VELAZQUEZ   ADDRESS ON FILE
GLORIBELL RIVERA ROSARIO        ADDRESS ON FILE
GLORIBELLYS ATILANO MELENDEZ    ADDRESS ON FILE
GLORIBETH ALICEA LINARES        ADDRESS ON FILE
GLORIBI COSME GONZALEZ          ADDRESS ON FILE
GLORIBY MARTINEZ PAGAN          ADDRESS ON FILE
GLORICELA CRUZ ORTIZ            ADDRESS ON FILE
GLORICELA FIGUEROA VAZQUEZ      ADDRESS ON FILE
GLORICELIS VISALDEN COLON       ADDRESS ON FILE
GLORICELLIE MUNIZ MORO          ADDRESS ON FILE
GLORICELLY BERRIOS FUENTES      ADDRESS ON FILE
GLORIE L QUINONES OSORIO        ADDRESS ON FILE
GLORIE M FIGUEROA TORRES        ADDRESS ON FILE
GLORIEL SANTANA SANCHEZ         ADDRESS ON FILE
GLORIELA MUNOZ ARJONA           ADDRESS ON FILE
GLORIELIE SANTIAGO RIVERA       ADDRESS ON FILE
GLORIELY MERCED GONZALEZ        ADDRESS ON FILE
GLORIELY MERCED GONZALEZ        ADDRESS ON FILE
GLORIELYS MOLINA PEREZ          ADDRESS ON FILE
GLORIENE GONZALEZ RUIZ          ADDRESS ON FILE
GLORILUZ HERNANDEZ FELIX        ADDRESS ON FILE
GLORILY BARROSO MUNOZ           ADDRESS ON FILE
GLORILYN NIEVES MAISONET        ADDRESS ON FILE
GLORILYN NIEVES MAISONET        ADDRESS ON FILE
GLORILYS E. IRRIZARRY SANTOS    ADDRESS ON FILE
GLORIMAR AGUIRRE VAZQUEZ        ADDRESS ON FILE
GLORIMAR ALGARIN CARRASQUILLO   ADDRESS ON FILE
GLORIMAR AYUSO HERNANDEZ        ADDRESS ON FILE
GLORIMAR BELAVAL HERNANDEZ      ADDRESS ON FILE
GLORIMAR BELAVAL HERNANDEZ      ADDRESS ON FILE
GLORIMAR BERMUDEZ RODRIGUEZ     ADDRESS ON FILE
GLORIMAR BERRIOS BONILLA        ADDRESS ON FILE
GLORIMAR BETANCOURT LOPEZ       ADDRESS ON FILE
GLORIMAR BONILLA GUTIERREZ      ADDRESS ON FILE
GLORIMAR CALERO ALVAREZ         ADDRESS ON FILE
GLORIMAR CAMACHO ALEJANDRO      ADDRESS ON FILE
GLORIMAR CARABALLO VELEZ        ADDRESS ON FILE
GLORIMAR CIRINO CARABALLO       ADDRESS ON FILE
GLORIMAR COLON ROSARIO          LCDO. FRANCISCO VIZCARRONDO TORRES   PO BOX 195642                                        SAN JUAN     PR      00919‐5642
GLORIMAR COLON VAZQUEZ          ADDRESS ON FILE
GLORIMAR CORREA QUIðONES        ADDRESS ON FILE
GLORIMAR CORREA QUIðONES        ADDRESS ON FILE
GLORIMAR CORREA QUINONES        ADDRESS ON FILE
GLORIMAR CORREA QUINONES        ADDRESS ON FILE
GLORIMAR CORTES AREIZAGA        ADDRESS ON FILE
GLORIMAR CRUZ MALDONADO         ADDRESS ON FILE
GLORIMAR DE JESUS PASCUAL       ADDRESS ON FILE
GLORIMAR ESCABI GARCIA          ADDRESS ON FILE
GLORIMAR FELICIANO FELICIANO    ADDRESS ON FILE
GLORIMAR FERNANDEZ NIEVES       ADDRESS ON FILE
GLORIMAR FIGUEROA MARRERO       ADDRESS ON FILE
GLORIMAR GARCIA RIOS            ADDRESS ON FILE
GLORIMAR GONZALEZ LOPEZ         ADDRESS ON FILE
GLORIMAR IRIZARRY PEREZ         ADDRESS ON FILE
GLORIMAR LOPEZ LOZADA           ADDRESS ON FILE
GLORIMAR LUGO TORRES            ADDRESS ON FILE
GLORIMAR MALDONADO ROSARIO      ADDRESS ON FILE
GLORIMAR MARQUEZ JARVIS         ADDRESS ON FILE




                                                                                     Page 3241 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3242 of 3500
                                                                             17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                 Address1                         Address2                            Address3                  Address4   City         State   PostalCode   Country
GLORIMAR MIRANDA DIAZ         ADDRESS ON FILE
GLORIMAR MIRANDA DIAZ         ADDRESS ON FILE
GLORIMAR MIRANDA DIAZ         ADDRESS ON FILE
GLORIMAR MIRANDA DIAZ         ADDRESS ON FILE
GLORIMAR MOLINA PENA          ADDRESS ON FILE
GLORIMAR MONTANEZ FEBRES      ADDRESS ON FILE
GLORIMAR MORALES LOPEZ        ADDRESS ON FILE
GLORIMAR MUNOZ BERLY          ADDRESS ON FILE
GLORIMAR MUNOZ BERLY          ADDRESS ON FILE
GLORIMAR NEGRON NEGRON        ADDRESS ON FILE
GLORIMAR ORTIZ LOPEZ          ADDRESS ON FILE
GLORIMAR ORTIZ MARRERO        ADDRESS ON FILE
GLORIMAR ORTIZ MARRERO        ADDRESS ON FILE
GLORIMAR ORTIZ MELENDEZ       ADDRESS ON FILE
GLORIMAR OTERO BURGOS         ADDRESS ON FILE
GLORIMAR PABON BALLESTER      ADDRESS ON FILE
GLORIMAR PABON BALLESTER      ADDRESS ON FILE
GLORIMAR PAGAN VAZQUEZ        ADDRESS ON FILE
GLORIMAR PANOS                ADDRESS ON FILE
GLORIMAR PEREZ VARGAS         ADDRESS ON FILE
GLORIMAR RIVERA COLON         ADDRESS ON FILE
GLORIMAR RIVERA FIGUEROA      ADDRESS ON FILE
GLORIMAR RIVERA RIVERA        ADDRESS ON FILE
GLORIMAR RIVERA RODRIGUEZ     ADDRESS ON FILE
GLORIMAR RIVERA ROSADO        ADDRESS ON FILE
GLORIMAR RIVERA VIZCARRONDO   ADDRESS ON FILE
GLORIMAR ROBLES ORTIZ         ADDRESS ON FILE
GLORIMAR RODRIGUEZ COLON      ADDRESS ON FILE
GLORIMAR RODRIGUEZ RAMOS      ADDRESS ON FILE
GLORIMAR ROMAN ROSARIO        ADDRESS ON FILE
GLORIMAR ROSADO REYES         ADDRESS ON FILE
GLORIMAR ROSARIO FELICIANO    ADDRESS ON FILE
GLORIMAR ROSARIO LOPEZ        ADDRESS ON FILE
GLORIMAR SAMALOT RIVERA       ADDRESS ON FILE
GLORIMAR SANES GARAY          ADDRESS ON FILE
GLORIMAR SANES GARAY          ADDRESS ON FILE
GLORIMAR SANTOS LLANOS        ADDRESS ON FILE
GLORIMAR SANTOS LLANOS        ADDRESS ON FILE
GLORIMAR SEGARRA MEDINA       ADDRESS ON FILE
GLORIMAR SEVILLA REYES        ADDRESS ON FILE
GLORIMAR SURILLO SOTO         ADDRESS ON FILE
GLORIMAR TORRES COLON         ADDRESS ON FILE
GLORIMAR VALIENTE FREIRIA     ADDRESS ON FILE
GLORIMAR VAZQUEZ COLLAZO      ADDRESS ON FILE
GLORIMAR VAZQUEZ ROSADO       ADDRESS ON FILE
GLORIMAR VIERA SERRANO        ADDRESS ON FILE
GLORIMAR VIRELLA MATIAS       ADDRESS ON FILE

GLORIMARI JAIME RODRÍGUEZ     LCDO. FRANCISCO GONZÁLEZ MAGAZ   1519 Ponce DE LEÓN                  FIRST FEDERAL SUITE 805              SAN JUAN     PR      00909
GLORIMARI JIMENEZ RODRIGUEZ   ADDRESS ON FILE
GLORIMARIE RODRIGUEZ GARCIA   ADDRESS ON FILE
GLORIMARY PEREZ LABOY         ADDRESS ON FILE
GLORIMARY SANTIAGO FRANCO     ADDRESS ON FILE
GLORIMEL VEGA SANTIAGO        ADDRESS ON FILE
GLORIMEL VEGA SANTIAGO        ADDRESS ON FILE
GLORIMEL VEGA SANTIAGO        ADDRESS ON FILE
GLORIMIL VELEZ CRUZ           ADDRESS ON FILE
GLORIMILDA ROSA RUIZ          ADDRESS ON FILE
GLORIMYR REYES DELBREY        ADDRESS ON FILE
GLORISA CANINO JORDAN         ADDRESS ON FILE




                                                                                    Page 3242 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3243 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GLORISA CORDERO CABRERA          ADDRESS ON FILE
GLORISEL MATOS GONZALEZ          ADDRESS ON FILE
GLORISELA CARRASQUILLO CINTRON   ADDRESS ON FILE
GLORISELA OLIVO COTTO            ADDRESS ON FILE
GLORISSA OLIVERAS CARTAGENA      ADDRESS ON FILE
GLORISSA RODRIGUEZ FELICIANO     ADDRESS ON FILE
GLORITZA BERRIOS GONZALEZ        ADDRESS ON FILE
GLORITZA CRUZ LOPEZ              ADDRESS ON FILE
GLORIVA PINA/ FABIAN G PINA      ADDRESS ON FILE
GLORIVEE CINTRON RIVERA          ADDRESS ON FILE
GLORIVEE GUZMAN PARRILLA         ADDRESS ON FILE
GLORIVEE HERNANDEZ MENDEZ        ADDRESS ON FILE
GLORIVEE LOPEZ ROSARIO           ADDRESS ON FILE
GLORIVEE MALDONADO BURGOS        ADDRESS ON FILE
GLORIVEE MEDINA SOLER            ADDRESS ON FILE
GLORIVEE PEREZ ECHEVARRIA        ADDRESS ON FILE
GLORIVEE QUINONES VEGA           ADDRESS ON FILE
GLORIVEE RIOS BERRIOS            ADDRESS ON FILE
GLORIVEE RODRIGUEZ               ADDRESS ON FILE
GLORIVEE TORO CHARRIEZ           ADDRESS ON FILE
GLORIVEE VELEZ VELEZ             ADDRESS ON FILE
GLORIVEL LUGO RAMOS              ADDRESS ON FILE
GLORIVEL LUGO RAMOS              ADDRESS ON FILE
GLORIVER COLON                   ADDRESS ON FILE
GLORIVETTE COSME RIVERA          ADDRESS ON FILE
GLORIVETTE CRESPO VARGAS         ADDRESS ON FILE
GLORIVETTE ORTEGA CRUZ           ADDRESS ON FILE
GLORIVETTE PEREZ VALENTIN        ADDRESS ON FILE
GLORIVETTE RODRIGUEZ ORTIZ       ADDRESS ON FILE
GLORIVIMARY VIERA ORTIZ          ADDRESS ON FILE
GLORIXEL CRUZ PADILLA            ADDRESS ON FILE
GLORY A CARABALLO MARTINEZ       ADDRESS ON FILE
GLORY A CEPEDA ASTACIO           ADDRESS ON FILE
GLORY E ALVAREZ MARTINEZ         ADDRESS ON FILE
GLORY E ALVAREZ MARTINEZ         ADDRESS ON FILE
GLORY I FIGUEROA VELAZQUEZ       ADDRESS ON FILE
GLORY I OTERO MATOS              ADDRESS ON FILE
GLORY L IRIZARRY SAEZ            ADDRESS ON FILE
GLORY L VAZQUEZ DELGADO          ADDRESS ON FILE
GLORY L VAZQUEZ DELGADO          ADDRESS ON FILE
GLORY M. ALICEA COLON            ADDRESS ON FILE
GLORYANN TORRES HERNANDEZ        ADDRESS ON FILE
GLORYANNA DOMINGUEZ CRUZ         ADDRESS ON FILE
GLORYBEE ORTIZ RAMOS             ADDRESS ON FILE
GLORYCER FLORES CABASSA          ADDRESS ON FILE
GLORYLEE FIGUEROA PABON          ADDRESS ON FILE
GLORYLIN CASASNOVA MARTINEZ      ADDRESS ON FILE
GLORYMAR COLON BERMUDEZ          ADDRESS ON FILE
GLORYMAR MANSO                   ADDRESS ON FILE
GLORYMAR ORTA RODRIGUEZ          ADDRESS ON FILE
GLORYMAR ORTIZ TORO              ADDRESS ON FILE
GLORYMAR RIVERA BAEZ             ADDRESS ON FILE
GLORYMAR SAEZ RODRIGUEZ          ADDRESS ON FILE
GLORYMAR SANTIAGO MORALES        ADDRESS ON FILE
GLORYMIL SEPULVEDA PADILLA       ADDRESS ON FILE
GLORY'S FANTASY & BEADS, CORP    PO BOX 1810 PMB 776                                                              MAYAGUEZ     PR      00681
GLORYSOL MERLE CANCEL            ADDRESS ON FILE
GLORYVE CASTANER VELEZ           ADDRESS ON FILE
GLORYVEE BERNABE SANTIAGO        ADDRESS ON FILE
GLORYVEE MERCADO RUIZ            ADDRESS ON FILE




                                                                             Page 3243 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3244 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                              Address1                             Address2                                      Address3   Address4   City             State   PostalCode   Country
GLORYVEE RIVERA RODRIGUEZ                  ADDRESS ON FILE
Gloryvee Rosario Arocho                    ADDRESS ON FILE
GLORYVETTE ARROYO AROCHO                   ADDRESS ON FILE
GLORYVONNE ORTEGA LOZADA                   ADDRESS ON FILE
GLR INC                                    PO BOX 3497                                                                                              CAROLINA         PR      00984
GLS CONTRACTOR INC                         P O BOX 303                                                                                              YABUCOA          PR      00767‐0303
GLUCK GONZALEZ, RODOLFO H.                 ADDRESS ON FILE
GLYADIS DE JESUS                           ADDRESS ON FILE
GLYSSETTE M RODRIGUEZ CABRERA              ADDRESS ON FILE
GM COMMUNICATION INC                       HC 2 BOX 10224                                                                                           YAUCO            PR      00698‐9604
GM ELECTRIC CORPORATION                    HC 1 BOX 8481                                                                                            HATILLO          PR      00659‐7412
GM LAW FIRM AND CONSULTING GROUP CSP P O BOX 770                                                                                                    COROZAL          PR      00783
GM MULTI MAINTENANCE SERVICES, CORP        PO BOX 8109                                                                                              HUMACAO          PR      00792
GM PARAMEDICAL INC                         PO BOX 2186                                                                                              OROCOVIS         PR      00720
GM PARTS EXPRESS                           G1 AVE CAMPO RICO                                                                                        CAROLINA         PR      00985
GM SECURITY TECHNOLOGIES                   1590 AVE PONCE DE LEON               OFICINA 104                                                         SAN JUAN         PR      00926
GM SECURITY TECHNOLOGIES                   1590 PONCE DE LEON AVE.              SUITE 104                                                           RIO PIEDRAS      PR      00926
GM SECURITY TECHNOLOGIES                   GM PLAZA                             1590 AVE PONCE DE LEON STE 104                                      SAN JUAN         PR      00926
GM TRUST                                   PO BOX 11433                                                                                             SAN JUAN         PR      00936
GMC MOUNT POCONO                           21 COMMERCE COURT                                                                                        MOUNT POCONO     PA      18344
GMG MENOR DE EDAD                          LCDO. JUAN JAIME SIERRA TORRES       PO BOX 1819                                                         VEGA ALTA        PR      00692
GMR FAMILY MEDICINE CSP                    HACIENDA PRIMAVERA                   149 CALLE ESTACION                                                  CIDRA            PR      00739
GMR SAFETY AND HEALTH CONSULTANT SERVICEURB. RIO GRANDE ESTATE III              CALLE REY DAVID 10322                                               RIO GRANDE       PR      00745
GMS MFG                                    PO BOX 645                                                                                               RIO GRANDE       PR      00745
GMS TRANSPORT INC                          PO BOX 194000 PMB 190                                                                                    SAN JUAN         PR      00919‐4000
GMT CONTRACTORS CORP                       COND. VIEW POINT                     1503 CAMINO ALEJANDRINO 3011                                        GUAYNABO         PR      00969
GMUE INC                                   VILLA STATION                        216 VILLA UNIVERSITARIA                                             HUMACAO          PR      00791
GN DESIGNS & SERVICES INC                  UTUADO                               PO BOX 1086                                                         UTUADO           PR      00641‐1086
GNZALEZ, CATALINO                          ADDRESS ON FILE
GO FOR IT FOUNDATION INC                   HC 1 BOX 5142                                                                                            CANOVANAS        PR      00729‐9745
GO GOGO FOUNDATION CORP                    PO BOX 801530                                                                                            COTO LAUREL      PR      00780
GO PRINT                                   1318 AVE ROOSEVELT                                                                                       SAN JUAN         PR      00920
GOAD PAQUETTE, LAURIE A                    ADDRESS ON FILE
GOAL LAW GC PSC                            PMB 358                              HC 1 BOX 29030                                                      CAGUAS           PR      00725
GOAR BLANCO BLASCO                         ADDRESS ON FILE
GOAS AND ASSOCIATES INC                    PO BOX 360020                                                                                            SAN JUAN         PR      00936
GOAS PSC, CERTIFIED PUBLIC ACCOUNTANTS & C PO BOX 191779                                                                                            SAN JUAN         PR      00919‐1779
GOBBEE MD, ROBERT                          ADDRESS ON FILE
GOBIERNO MUNICIPAL AUTONOMO DE PONCE PO BOX 331709                                                                                                  PONCE            PR      00733‐1709
GOBIERNO MUNICIPAL DE AGUADA               APARTADO 517                                                                                             AGUADA           PR      00602
GOBIERNO MUNICIPAL DE CAROLINA             OF. CONTRIBUCIONES E INGRESOS        APARTADO 8                                                          CAROLINA         PR      00986‐0008
GOBIERNO MUNICIPAL DE CIDRA                PO BOX 729                                                                                               CIDRA            PR      00739‐0729
GOBIERNO MUNICIPAL DE LAJAS                121 CALLE UNION                                                                                          LAJAS            PR      00667
GOBIERNO MUNICIPAL DE LAJAS                OFICINA ASUNTOS VEJEZ                PO BOX 50063                                                        SAN JUAN         PR      00902
GOBIERNO MUNICIPAL DE LAJAS                PO BOX 940                                                                                               LAJAS            PR      00667
GOBIERNO MUNICIPAL DE LAS PIEDRAS          PO BOX 0068                                                                                              LAS PIEDRAS      PR      00771
GOBIERNO MUNICIPAL DE VEGA ALTA            PO BOX 1390                                                                                              VEGA ALTA        PR      00692
GOBIERNO MUNICIPAL DE VEGA ALTA            PO BOX 292                                                                                               VEGA ALTA        PR      00692
GOBIERNO MUNICIPAL DE VEGA BAJA Y DRNA LIC. JOSÉ A MARTÍNEZ OQUENDO, ABOGADO DEMPO BOX 363394                                                       SAN JUAN         PR      00936‐3394
GOBLE & GUZMAN, LAW OFFICE LLC             1510 AVE E D ROOSEVELT               EDIFICIO TRIPLE S OFIC 6‐B                                          GUAYNABO         PR      00968
GOBLE & GUZMAN, LAW OFFICE LLC             PO BOX 192021                                                                                            SAN JUAN         PR      00919‐2021
Goble Colon, Henry A.                      ADDRESS ON FILE
GODA SOFTWARE INC                          2111 WILSON BLVD                     SUITE 600                                                           ARLINGTON        VA      22201
GODADDY                                    14455 N HAYDEN RD STE 226                                                                                SCOTTSDALE       AZ      85260
Godaddy.com, Inc.                          1800 M ST NW STE 800N                                                                                    WASHINGTON       DC      20036‐5850
GoDaddy.com, LLC                           1800 M ST NW STE 800N                                                                                    WASHINGTON       DC      20036‐5850
GODEN APONTE, EDWIN R                      ADDRESS ON FILE
GODEN CARABALLO, MONSERRATE                ADDRESS ON FILE
Goden Crespo, Edwin J                      ADDRESS ON FILE
Goden Cruz, Ariel                          ADDRESS ON FILE




                                                                                                            Page 3244 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3245 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                            Address1                       Address2                                   Address3   Address4   City         State   PostalCode   Country
GODEN CRUZ, RAMON                        ADDRESS ON FILE
GODEN CRUZ, RUTH                         ADDRESS ON FILE
GODEN IZQUIERDO, MARILYN                 ADDRESS ON FILE
GODEN IZQUIERDO, MERIDA                  ADDRESS ON FILE
GODEN IZQUIERDO, MERIDA                  ADDRESS ON FILE
GODEN MARTELL, RAFAEL                    ADDRESS ON FILE
GODEN RIVERA, JOSE                       ADDRESS ON FILE
GODEN RIVERA, JOSE M.                    ADDRESS ON FILE
GODEN RODRIGUEZ, SANTOS                  ADDRESS ON FILE
GODEN RUIZ, ARCADIO                      ADDRESS ON FILE
GODEN VAZQUEZ, MILAGROS                  ADDRESS ON FILE
GODEN VAZQUEZ, NILDA E                   ADDRESS ON FILE
GODEN VAZQUEZ, OLGA I.                   ADDRESS ON FILE
GODINEAUX ALOMAR, VIRGENMINA             ADDRESS ON FILE
GODINEAUX VILLARONGA, FERNANDO L         ADDRESS ON FILE
GODINEZ GUZMAN, FREDDY                   ADDRESS ON FILE
GODINEZ LAW OFFICE PSC                   PO BOX 360518                                                                                   SAN JUAN     PR      00936‐0518
GODOFREDO AYALA PERLOT                   ADDRESS ON FILE
GODOFREDO RODRIGUEZ GRACIA/ PURA ENERGI ADDRESS ON FILE
GODOFREDO SANCHEZ MERCADO                ADDRESS ON FILE
GODOY PLANA, MERCEDES                    ADDRESS ON FILE
Godoy Quinones, Rodrigo A                ADDRESS ON FILE
GODOY TORRES, STEPHANIE                  ADDRESS ON FILE
GODOY VAZQUEZ, ADRIAN                    ADDRESS ON FILE
GODOY, GEORGINA                          ADDRESS ON FILE
GODREAU APARICIO, CLAUDIA                ADDRESS ON FILE
GODREAU AUBERT, ARIADNA                  ADDRESS ON FILE
GODREAU AUBERT, ARIADNA M.               ADDRESS ON FILE
GODREAU BARTOLOMEI, LUIS                 ADDRESS ON FILE
GODREAU CRUZ, WANDA I.                   ADDRESS ON FILE
GODREAU DUPREY, MILDRED                  ADDRESS ON FILE
GODREAU DUPREY, MOISES                   ADDRESS ON FILE
GODREAU DUPREY, MOISES                   ADDRESS ON FILE
GODREAU GUEVARA, ZULMA I                 ADDRESS ON FILE
GODREAU MARRERO, LILLIAN                 ADDRESS ON FILE
GODREAU MARTIN, CLAIRE V                 ADDRESS ON FILE
GODREAU RIVERA, NIDIA                    ADDRESS ON FILE
GODREAU ROSARIO, LISANDRA                ADDRESS ON FILE
GODREAU SANCHEZ, PEDRO JOSE              ADDRESS ON FILE
GODREAU SANTOS, SUSAN                    ADDRESS ON FILE
GODREAU TORRES, ELSA                     ADDRESS ON FILE
GODWIN OLIVENCIA MORALES                 ADDRESS ON FILE
GOEL A VELAZQUEZ ROSA                    ADDRESS ON FILE
GOEL ARCHANA                             HERITAGE PRIMARY CARE SC       1435 N RANDALL RD STE 210                                        ELGIN        IL      60123‐0000
GOENAGA BEAUCHAMP, LUIS                  ADDRESS ON FILE
GOERGE VELAZQUEZ IRIZARRY                ADDRESS ON FILE
Goerke Kunz, Wolfgang                    ADDRESS ON FILE
GOERKE SANTI, HANNI Y                    ADDRESS ON FILE
GOETS PONCE, JESSICA                     ADDRESS ON FILE
GOFER TRADING CORP DBA FERR EL COMETA    BO OBRERO                      2201 AVE BORINQUEN EQN WEBB                                      SAN JUAN     PR      00915
GOFER TRADING CORP DBA FERR EL COMETA    BO OBRERO                      2201 AVE BORINQUEN EQW WEBB                                      SAN JUAN     PR      00915
GOFER TRADING CORP DBA FERR EL COMETA    BO OBRERO                      2201 AVE BORINQUEN WEBB                                          SAN JUAN     PR      00915
GOFER TRADING CORP DBA FERR EL COMETA    OFICINA DE LA GOBERNADORA      PO BOX 9020082                                                   SAN JUAN     PR      00902
Gofer Trading Corp DBA Ferreteria El Com BO OBRERO                      2201 AVE BORINQUEN EQW WEBB                                      SAN JUAN     PR      00915‐0000
Gofer Trading Corp DBA Ferreteria El Com BO OBRERO 2201 AVE BORINQUEN   2201 AVE BORINQUEN EQN WEBB                                      SANTURCE     PR      00915‐4416
Gofer Trading Corp DBA Ferreteria El Com OFICINA DE LA GOBERNADORA      PO BOX 9020082                                                   SAN JUAN     PR      00902‐0000
GOFER TRADING DBA FERRETERIA EL COMETA BO OBRERO                        2201 AVE BORINQUEN EQN WEBB                                      SAN JUAN     PR      00915
GOFER TRADING DBA FERRETERIA EL COMETA BO OBRERO                        2201 AVE BORINQUEN EQW WEBB                                      SAN JUAN     PR      00915
GOFER TRADING DBA FERRETERIA EL COMETA OFICINA DE LA GOBERNADORA        PO BOX 9020082                                                   SAN JUAN     PR      00902
GOFREDO PAGAN DBA PHANCO                 BOX 10464                                                                                       PONCE        PR      00732




                                                                                                    Page 3245 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3246 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                           Address1                            Address2                                         Address3            Address4   City              State   PostalCode   Country
GOFREY NEGRON DIAZ                      LCDO. JUAN CARLOS RODRÍGUEZ LÓPEZ   4024 Calle Aurora                                                               Ponce             PR      00717‐1513
GOGLAD COLON, HECTOR                    ADDRESS ON FILE
GOGLAD COLON, SANDRA                    ADDRESS ON FILE
GOGLAD SANTIAGO, AMAYRA L               ADDRESS ON FILE
GOGLAS BRACERO, EFRAIN                  ADDRESS ON FILE
Goglas Lopez, Katherine M               ADDRESS ON FILE
GOICO GERMOSEN, JOSE                    ADDRESS ON FILE
GOICOCHEA PEREZ, LIZ E                  ADDRESS ON FILE
GOICOCHEA QUILES, LUIS A                ADDRESS ON FILE
GOICOECHEA FUENTES, FELSIE E            ADDRESS ON FILE
GOICOECHEA, JORGE A.                    ADDRESS ON FILE
Goicuria Gil, Maria M                   ADDRESS ON FILE
GOIRE BAEZ, GLORITZA                    ADDRESS ON FILE
GOIRE GARCIA, RAMON                     ADDRESS ON FILE
GOIRE OCASIO, DIANA                     ADDRESS ON FILE
GOIRE PEDROSA, ANDRES                   ADDRESS ON FILE
GOIRE PEDROSA, MYRIAM                   ADDRESS ON FILE
GOITIA ACEVEDO, MARIA                   ADDRESS ON FILE
GOITIA COTTO, JUAN                      ADDRESS ON FILE
GOITIA DE DIAZ, JOSEFINA                ADDRESS ON FILE
GOITIA GOITIA, EDWARDO                  ADDRESS ON FILE
GOITIA MERCADO, CHRISTIAN               ADDRESS ON FILE
GOITIA MIRANDA, EDWIN                   ADDRESS ON FILE
GOITIA MORA, GELITZA                    ADDRESS ON FILE
GOITIA PANTOJAS, KRYSTAL                ADDRESS ON FILE
GOITIA QUINONES, RAMON                  ADDRESS ON FILE
GOITIA RIOS MD, DARIO                   ADDRESS ON FILE
GOITIA RIVERA, NELSON                   ADDRESS ON FILE
GOITIA RODRIGUEZ, ASHLIE                ADDRESS ON FILE
GOITIA RODRIGUEZ, MILAGROS              ADDRESS ON FILE
GOITIA ROJAS, MARIA D                   ADDRESS ON FILE
GOITIA ROSADO, EDUARDO                  ADDRESS ON FILE
GOITIA SANTIAGO, CARLOS M.              ADDRESS ON FILE
GOLD EFECTS LLC                         13100 56 TH COURT SUITE 701                                                                                         CLEAR WATER       FL      33760X
GOLD LINE TELEMANAGEMENT INC            300 ALL STATE PARK WAY MARKHAM                                                                                      ONTARIO           ON      L3R 0P2
GOLD MD , STEPHEN F                     ADDRESS ON FILE
GOLD RAPAPORT, NICOLAS                  ADDRESS ON FILE
GOLDEN COURT 1                          PO BOX 366209                                                                                                       SAN JUAN          PR      00936‐6209
GOLDEN CROSS                            APARTADO 1727                                                                                                       OLD SAN JUAN      PR      00902
GOLDEN CROSS HEALTH                     PO BOX 12330                                                                                                        SAN JUAN          PR      00914‐2330
                                                                                                                             150 Ave. De Diego
Golden Cross Health Plan, Corp.         Attn: Luis Hernandez, President     Edificio San Juan Health Centre                  Oficina 507                    San Juan          PR      00907
Golden Cross Health Plan, Corp.         COND SAN JUAN HEALTH CENTRE         150 AVE DE DIEGO STE 509                                                        SAN JUAN          PR      00907
GOLDEN CROSS HMO CORP                   P O BOX 9021727                                                                                                     SAN JUAN          PR      00902‐1727
GOLDEN CROSS HMO HEALTH PLAN CORP.      EDIF. SAN JUAN HEALTH CENTRE AVE.   DE DIEGO 150 OFIC.504 SANTURCE                                                  SAN JUAN          PR      00940
GOLDEN CROSS HMO HEALTH PLAN CORP.      PO BOX 12330                                                                                                        SAN JUAN          PR      00914‐2330
GOLDEN HILLS GAS STATION INC            URB ROYAL TOWN                      A 21 CALLE 13                                                                   BAYAMON           PR      00956
GOLDEN HOME TEKURE CORP/ PROFESSIONAL   ENGINEERING CONCEPTS INC            PO BOX 1561                                                                     SAN SEBASTIAN     PR      00685
GOLDEN IMPORTS CORP                     405 AVE ESMERALDA                   STE 102‐404                                                                     GUAYNABO          PR      00969
GOLDEN INDUSTRIAL LAUNDRY               CITY VIEW PLAZA II                  BLDG 48 CARR 165 KM 1.2                                                         GUAYNABO          PR      00968‐8000
GOLDEN INDUSTRIAL LAUNDRY INC           PO BOX 7696                                                                                                         PONCE             PR      00732‐7696
GOLDEN MED SUPPLY /CARLOS F RIVERA      67 CALLE 65 INFANTERIA                                                                                              ANASCO            PR      00610
GOLDEN MILE DEVELOPMENT SE              PO BOX 10153                                                                                                        SAN JUAN          PR      00922‐0153
GOLDEN MILE DEVELOPMENT SE              PO BOX 10153 C\O BCO. CNL HISPANO   CAPARRA HEIGHTS                                                                 SAN JUAN          PR      00922
GOLDEN RICH INC                         URB GABLE BREEZE 7 B                CALLE WASHINGTON DRIVE                                                          DORADO            PR      00646
GOLDEN WASTE DISPOSABLE CORP            URB LOS MONTES                      CALLE GOLONDRINA                                                                DORADO            PR      00646
GOLDEROS ANDREWS, ALYSSA                ADDRESS ON FILE
GOLDEROS CABALLERO, RONALD              ADDRESS ON FILE
GOLDEROS PAGAN, PURA                    ADDRESS ON FILE
GOLDEROS RODRIGUEZ MD, CARMEN G         ADDRESS ON FILE




                                                                                                              Page 3246 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3247 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                                       Creditor Matrix

Creditor Name                      Address1                              Address2                                   Address3   Address4   City          State   PostalCode   Country
GOLDEROS RODRIGUEZ, CARMEN         ADDRESS ON FILE
GOLDEROS ROIG, NILDA R             ADDRESS ON FILE
GOLDEROS VALENTIN, ITZEL M         ADDRESS ON FILE
GOLDEROS VALENTIN, SUEANN M        ADDRESS ON FILE
GOLDEROS VEGA, ALFONSO             ADDRESS ON FILE
GOLDEROS VEGA, CARMEN E            ADDRESS ON FILE
GOLDFELD JALFON, ADRIANA           ADDRESS ON FILE
GOLDIKENER RUBIN, VIVIAN           ADDRESS ON FILE
GOLDILLA FIGUEROA, JORGE           ADDRESS ON FILE
GOLDINGER ORTIZ, SHIRLEY A         ADDRESS ON FILE
GOLDMAN ANTONETTI & CORDOVA        AMERICAN INTERNATI PLAZA 250 STE 15   AVE MUNOZ RIVERA                                                 SAN JUAN      PR      00918
GOLDMAN ANTONETTI & CORDOVA, PSC   PO BOX 70364                                                                                           SAN JUAN      PR      00936
GOLDMAN MD, LAWRENCE               ADDRESS ON FILE
GOLDMAN, ANTONETTI Y CÓRDOVA       P O BOX 70364                                                                                          SAN JUAN      PR      00936‐8364
GOLDSMITH MD , DONALD P            ADDRESS ON FILE
GOLDSTEIN MD , RICHARD A           ADDRESS ON FILE
GOLDSTOCK MD, LEORNARD             ADDRESS ON FILE
GOLF CARR PUERTO RICO              SAN VICENTE                           247 CALLE 12                                                     VEGA BAJA     PR      00693
GOLF MEDICAL SERVICES CSP          CALLE MIGUEL RIVERA TEXIDOR           110 ESTANCIA DEL GOLF                                            PONCE         PR      00730
GOLFO INVESTMENTS CORP             P O BOX 194384                                                                                         SAN JUAN      PR      00926‐4685
GOLIATH PRODUCTION PR LLC          SILVER PICTURES                       4000 WARNER BULEVARD BUILDING 90                                 BURBANK       CA      91522
GOLOMBEK MD, STEVE                 ADDRESS ON FILE
GOMAS MULERO                       HC 71 BOX 5500                                                                                         CAYEY         PR      00736
GOMAS Y PIEZAS                     1090 TABLONES SUITE 3                                                                                  AGUADA        PR      00602
GOMAS Y PIEZAS JL                  1090 TABLONAL STE 3                                                                                    AGUADA        PR      00602
GOME Z CABRERA, ANNETTE            ADDRESS ON FILE
GOMERA EL NENE DE PAPA             ADDRESS ON FILE
GOMERA GOVI                        ADDRESS ON FILE
GOMERA LA GIGANTE LLC              P O BOX 6040                          MARINE STATION                                                   MAYAGUEZ      PR      00680
GOMERIA GUITO INCORPORADO          BO MAMEYAL                            142E CALLE JAIME I RIVERA CARDONA                                DORADO        PR      00646
GOMES CORA, LETICIA                ADDRESS ON FILE
GOMES CORDOVA, GERARDO A           ADDRESS ON FILE
GOMES ELIAS, VANESSA               ADDRESS ON FILE
GOMES MORALES, JONATHAN            ADDRESS ON FILE
GOMEZ ABREU, MARIA                 ADDRESS ON FILE
GOMEZ ABREU, MARIA                 ADDRESS ON FILE
GOMEZ ABREU, MAYRA                 ADDRESS ON FILE
Gomez Acevedo, Manuel              ADDRESS ON FILE
Gomez Acevedo, Ruben               ADDRESS ON FILE
GOMEZ ACOSTA, JUAN C.              ADDRESS ON FILE
GOMEZ ACOSTA, YARITZA              ADDRESS ON FILE
GOMEZ ACUNA, INES DEL C            ADDRESS ON FILE
GOMEZ ADROVER, LEOVIGILDO          ADDRESS ON FILE
GOMEZ ADROVER, NANCY               ADDRESS ON FILE
GOMEZ ADROVER, NANCY L             ADDRESS ON FILE
GOMEZ AGOSTO, MERCEDES             ADDRESS ON FILE
GOMEZ AGOSTO, NEFTALI              ADDRESS ON FILE
GOMEZ AGOSTO, RUTH                 ADDRESS ON FILE
GOMEZ AGRONT, ROSA M               ADDRESS ON FILE
GOMEZ AGUILA, ELIEZER              ADDRESS ON FILE
Gomez Aguila, Rafael               ADDRESS ON FILE
GOMEZ AGUILA, RAFAEL               ADDRESS ON FILE
GOMEZ AGUILA, RICARDO              ADDRESS ON FILE
GOMEZ ALAMO, BRENDA L              ADDRESS ON FILE
GOMEZ ALAMO, JUAN                  ADDRESS ON FILE
GOMEZ ALAMO, JUAN J.               ADDRESS ON FILE
GOMEZ ALBA MD, JOSE R              ADDRESS ON FILE
GOMEZ ALBA, JOSE R.                ADDRESS ON FILE
GOMEZ ALFONSECA, SANDRA            ADDRESS ON FILE
GOMEZ ALGARIN, BIANCA              ADDRESS ON FILE




                                                                                                     Page 3247 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3248 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ ALGARIN, CARMEN G.     ADDRESS ON FILE
GOMEZ ALGARIN, ROSALINA      ADDRESS ON FILE
Gomez Algarin, Sonia N       ADDRESS ON FILE
GOMEZ ALICEA, YADIRA         ADDRESS ON FILE
GOMEZ ALICEA, ZULAYKA        ADDRESS ON FILE
GOMEZ ALVARADO, MIGUEL A     ADDRESS ON FILE
GOMEZ ALVAREZ, HECTOR        ADDRESS ON FILE
GOMEZ ALVAREZ, JENNIFER C    ADDRESS ON FILE
GOMEZ ALVAREZ, KATHERINE     ADDRESS ON FILE
GOMEZ ALVAREZ, KATHERINE     ADDRESS ON FILE
GOMEZ AMADEO, BRENDA         ADDRESS ON FILE
GOMEZ AMADOR MD, JORGE       ADDRESS ON FILE
GOMEZ AMALBERT MD, NICOLAS   ADDRESS ON FILE
GOMEZ AMALBERT, NICOLAS      ADDRESS ON FILE
GOMEZ APONTE, ANTONIO        ADDRESS ON FILE
GOMEZ APONTE, CARMEN         ADDRESS ON FILE
GOMEZ APONTE, MARIA          ADDRESS ON FILE
GOMEZ ARCE, VIOLA            ADDRESS ON FILE
GOMEZ ARCE, VIOLA Z          ADDRESS ON FILE
GOMEZ AREVALO, MARCELINO     ADDRESS ON FILE
GOMEZ AREVALO, SAMUEL        ADDRESS ON FILE
GOMEZ ARIAS, JOEL            ADDRESS ON FILE
GOMEZ ARNAUD, FROSHER        ADDRESS ON FILE
GOMEZ ARROYO, ANIBAL         ADDRESS ON FILE
GOMEZ ARROYO, CARLOS J       ADDRESS ON FILE
GOMEZ ARROYO, CESAR R.       ADDRESS ON FILE
GOMEZ ARROYO, GERARDO        ADDRESS ON FILE
GOMEZ ARROYO, KEYSHLA        ADDRESS ON FILE
GOMEZ ARROYO, LUIS           ADDRESS ON FILE
GOMEZ ASENCIO, ALBERT        ADDRESS ON FILE
GOMEZ AUDRINES, ALFREDO      ADDRESS ON FILE
GOMEZ AUTO COLLISION, INC    BRISAS DE MONTECASINO     447 CALLE BATEY                                        TOA ALTA     PR      00953
GOMEZ AVILES, DENNIS         ADDRESS ON FILE
GOMEZ AYALA, CARLOS          ADDRESS ON FILE
GOMEZ AYALA, CHATHERINE      ADDRESS ON FILE
GOMEZ AYALA, DAISY M.        ADDRESS ON FILE
GOMEZ AYALA, KAREM           ADDRESS ON FILE
GOMEZ AYALA, LIMARIS Z       ADDRESS ON FILE
GOMEZ AYALA, LIMARIS Z.      ADDRESS ON FILE
GOMEZ AYALA, MIRIAM J        ADDRESS ON FILE
GOMEZ AYALA, SONIA NOEMI     ADDRESS ON FILE
GOMEZ BADILLO, BRENDA        ADDRESS ON FILE
GOMEZ BAEZ, HECTOR           ADDRESS ON FILE
GOMEZ BAEZ, KEYCHA           ADDRESS ON FILE
GOMEZ BAEZ, NORARDA A        ADDRESS ON FILE
GOMEZ BAEZ, ODALIS           ADDRESS ON FILE
GOMEZ BAEZ, OMAYRA           ADDRESS ON FILE
GOMEZ BAEZ, OMAYRA           ADDRESS ON FILE
GOMEZ BAEZ, REBECCA          ADDRESS ON FILE
GOMEZ BAEZ, ROBERTO          ADDRESS ON FILE
GOMEZ BATISTA, ANA M         ADDRESS ON FILE
GOMEZ BAUZO, DAISY           ADDRESS ON FILE
GOMEZ BAUZO, HARRY           ADDRESS ON FILE
GOMEZ BELEN, ANA N           ADDRESS ON FILE
GOMEZ BENABE, KATHYVETT      ADDRESS ON FILE
GOMEZ BENABE, YADIRA         ADDRESS ON FILE
GOMEZ BENITEZ, ZULMA         ADDRESS ON FILE
GOMEZ BERAS, CARLOS          ADDRESS ON FILE
GOMEZ BERMUDEZ, EDGARDO      ADDRESS ON FILE
GOMEZ BERMUDEZ, MANUEL       ADDRESS ON FILE




                                                                         Page 3248 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3249 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3     Address4   City       State   PostalCode   Country
GOMEZ BERMUDEZ, MARIA J         ADDRESS ON FILE
GOMEZ BERMUDEZ, MIGUEL          ADDRESS ON FILE
GOMEZ BERRIOS, GEOVANNA         ADDRESS ON FILE
GOMEZ BETANCOURT, EDWIN         ADDRESS ON FILE
GOMEZ BETANCOURT, RAUL          ADDRESS ON FILE
GOMEZ BETANCOURT, ROBERT        ADDRESS ON FILE
GOMEZ BETANCOURT, ROBERT        ADDRESS ON FILE
GOMEZ BIAMON, JOSE              ADDRESS ON FILE
GOMEZ BLANCH, ANGELA T.         ADDRESS ON FILE
GOMEZ BONILLA, JUAN             ADDRESS ON FILE
GOMEZ BONILLA, JUAN             ADDRESS ON FILE
GOMEZ BONILLA, LIZ A            ADDRESS ON FILE
GOMEZ BORGES, ISRAEL            ADDRESS ON FILE
GOMEZ BORIA, MARLENE            ADDRESS ON FILE
GOMEZ BORRERO, EDGAR N.         ADDRESS ON FILE
GOMEZ BORRERO, EULOGIO          ADDRESS ON FILE
GOMEZ BORRERO, SONIA N          ADDRESS ON FILE
GOMEZ BORRERO, ZUGEIL           ADDRESS ON FILE
GOMEZ BURGOS, BETSYMAR          ADDRESS ON FILE
GOMEZ BURGOS, GLORIA E          ADDRESS ON FILE
GOMEZ BURGOS, IVONNE            ADDRESS ON FILE
GOMEZ BURGOS, MICHELLE          ADDRESS ON FILE
GOMEZ BUS LINE                  CARR 139                  KM Z HM4                         LAS VALLAS              PONCE      PR      00731‐0000
GOMEZ BUS LINE                  HC 06 BOX 2225                                                                     PONCE      PR      00731‐0000
GOMEZ BUS LINE                  HC 6 BOX 2225                                                                      PONCE      PR      00731‐9602
GOMEZ BUS LINE INC              HC 06 BOX 2225                                                                     PONCE      PR      00731
GOMEZ CABALLERO, DENISSE I.     ADDRESS ON FILE
GOMEZ CABRERA, ANNETTE          ADDRESS ON FILE
GOMEZ CABRERA, CATALINA         ADDRESS ON FILE
GOMEZ CABRERA, JUDITH           ADDRESS ON FILE
GOMEZ CABRERA, JUDITH B         ADDRESS ON FILE
GOMEZ CABRERA, LILLIAM          ADDRESS ON FILE
GOMEZ CABRERA, RUTH             ADDRESS ON FILE
GOMEZ CALCANO, KATIRIA          ADDRESS ON FILE
GOMEZ CALDERON, WARMAR          ADDRESS ON FILE
GOMEZ CALO, CARMEN D            ADDRESS ON FILE
GOMEZ CAMACHO, YVETTE           ADDRESS ON FILE
GOMEZ CAMPOS, LUZ               ADDRESS ON FILE
GOMEZ CANALES, EDGARDO          ADDRESS ON FILE
GOMEZ CANCEL, IRAIDA            ADDRESS ON FILE
GOMEZ CANDELARIA, ELIAS         ADDRESS ON FILE
GOMEZ CAPPIELLO, CARMEN         ADDRESS ON FILE
GOMEZ CARABALLO, HECTOR L.      ADDRESS ON FILE
GOMEZ CARBIA, JAVIER            ADDRESS ON FILE
GOMEZ CARBIA, SALVADOR          ADDRESS ON FILE
GOMEZ CARRASCO, LUIS            ADDRESS ON FILE
GOMEZ CARRASCO, MIRNA Y         ADDRESS ON FILE
GOMEZ CARRASCO, MIRNA YOLANDA   ANGEL DIAZ PALENQUE       PO BOX 5159                                              CAGUAS     PR      00726
GOMEZ CARRASQUILLO, HECTOR      ADDRESS ON FILE
GOMEZ CARRASQUILLO, JULIO       ADDRESS ON FILE
GOMEZ CARRASQUILLO, LIZBETH     ADDRESS ON FILE
GOMEZ CARRASQUILLO, NORAIMA     ADDRESS ON FILE
GOMEZ CARRASQUILLO, SAMUEL      ADDRESS ON FILE
GOMEZ CARRASQUILLO, TONY        ADDRESS ON FILE
GOMEZ CARRERA, RICARDO M.       ADDRESS ON FILE
GOMEZ CARRERO, MAGALY           ADDRESS ON FILE
GOMEZ CARRERO, VIANKA           ADDRESS ON FILE
GOMEZ CARRERO, VIRGINIA         ADDRESS ON FILE
GOMEZ CARRION, HILDA            ADDRESS ON FILE
GOMEZ CARTAGENA, IRIS           ADDRESS ON FILE




                                                                            Page 3249 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3250 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ CASILLAS, DANIEL        ADDRESS ON FILE
GOMEZ CASTILLO, ELSA          ADDRESS ON FILE
GOMEZ CASTILLO, MIGDOEL       ADDRESS ON FILE
Gomez Castillo, Ruben D       ADDRESS ON FILE
GOMEZ CASTRO, FRANCHESKA      ADDRESS ON FILE
GOMEZ CASTRO, HECTOR R        ADDRESS ON FILE
GOMEZ CASTRO, JOEL            ADDRESS ON FILE
Gomez Castro, Joel R.         ADDRESS ON FILE
GOMEZ CASTRO, KELLY           ADDRESS ON FILE
GOMEZ CASTRO, OLGA            ADDRESS ON FILE
GOMEZ CATALA, LUIS            ADDRESS ON FILE
GOMEZ CEBALLOS, KEISHLA       ADDRESS ON FILE
GOMEZ CEDANO, DOMINGA         ADDRESS ON FILE
GOMEZ CEDENO, MYRIAM          ADDRESS ON FILE
GOMEZ CEDENO, NANCY           ADDRESS ON FILE
GOMEZ CEDENO, WILDA           ADDRESS ON FILE
GOMEZ CENTENO, MAYRA E        ADDRESS ON FILE
Gomez Centeno, Nelson         ADDRESS ON FILE
GOMEZ CENTENO, YOMAIRA        ADDRESS ON FILE
GOMEZ CESPEDES, ALEJANDRO     ADDRESS ON FILE
GOMEZ CHACON, GLORIA I.       ADDRESS ON FILE
GOMEZ CHACON, GLORIA I.       ADDRESS ON FILE
GOMEZ CHACOUR, MARUM          ADDRESS ON FILE
GOMEZ CHARRIEZ, BENITO        ADDRESS ON FILE
GOMEZ CINTRON, EDGAR          ADDRESS ON FILE
GOMEZ CINTRON, MILDRED        ADDRESS ON FILE
GOMEZ CINTRON, RAMON          ADDRESS ON FILE
GOMEZ CIRINO, ARLENE M        ADDRESS ON FILE
GOMEZ CISNEROS, JOSE          ADDRESS ON FILE
GOMEZ CLAUDIO, FELIX          ADDRESS ON FILE
GOMEZ CLAUDIO, JULIA          ADDRESS ON FILE
GOMEZ CLAUDIO, MARIMER        ADDRESS ON FILE
GOMEZ CLAUDIO, PINO           ADDRESS ON FILE
GOMEZ COLLAZO, JOSELEN        ADDRESS ON FILE
Gomez Collazo, Rosa I         ADDRESS ON FILE
GOMEZ COLON, ARCADIO          ADDRESS ON FILE
GOMEZ COLON, ARCADIO          ADDRESS ON FILE
GOMEZ COLON, CARMEN N         ADDRESS ON FILE
GOMEZ COLON, FELICITA         ADDRESS ON FILE
GOMEZ COLON, JEAN             ADDRESS ON FILE
GOMEZ COLON, JULIA            ADDRESS ON FILE
GOMEZ COLON, KARIN            ADDRESS ON FILE
GOMEZ COLON, MILAGROS         ADDRESS ON FILE
GOMEZ COLON, MILAGROS         ADDRESS ON FILE
GOMEZ COLON, PABLO J          ADDRESS ON FILE
GOMEZ COLON, PEDRO            ADDRESS ON FILE
GOMEZ COLON, RAFAEL O.        ADDRESS ON FILE
GOMEZ COLON, RAMON            ADDRESS ON FILE
GOMEZ COLON, SHAYRA           ADDRESS ON FILE
GOMEZ COLON, YANIS            ADDRESS ON FILE
Gomez Cora, Osvaldo           ADDRESS ON FILE
Gomez Cora, Pedro             ADDRESS ON FILE
GOMEZ CORCHADO, CARMEN E.     ADDRESS ON FILE
GOMEZ CORCHADO, MADELINE      ADDRESS ON FILE
GOMEZ CORDERO, TOMAS R.       ADDRESS ON FILE
GOMEZ CORDOVA, MARIA DEL C.   ADDRESS ON FILE
GOMEZ CORREA, JUAN            ADDRESS ON FILE
GOMEZ CORREA, SANTOS          ADDRESS ON FILE
GOMEZ CORTE, ELIZABETH        ADDRESS ON FILE
GOMEZ CORTES, ABNER           ADDRESS ON FILE




                                                                          Page 3250 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3251 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ CORTES, JOSE           ADDRESS ON FILE
GOMEZ CORTES, MONICA         ADDRESS ON FILE
GOMEZ CORTES, PABLO          ADDRESS ON FILE
GOMEZ COSME, NELSON          ADDRESS ON FILE
GOMEZ CRESPO, AXEL           ADDRESS ON FILE
GOMEZ CRESPO, CARMEN J       ADDRESS ON FILE
Gomez Crespo, Darissa        ADDRESS ON FILE
Gomez Crespo, David          ADDRESS ON FILE
GOMEZ CRESPO, JEANNETTE      ADDRESS ON FILE
Gomez Crespo, Luis E.        ADDRESS ON FILE
GOMEZ CRESPO, MARIA DEL C    ADDRESS ON FILE
GOMEZ CRESPO, RENE           ADDRESS ON FILE
GOMEZ CRISPIN, MARITZA I     ADDRESS ON FILE
GOMEZ CRUZ, ALBERTO          ADDRESS ON FILE
GOMEZ CRUZ, ALBERTO          ADDRESS ON FILE
GOMEZ CRUZ, ANGELA           ADDRESS ON FILE
GOMEZ CRUZ, ANNABELL         ADDRESS ON FILE
GOMEZ CRUZ, ANNETTE          ADDRESS ON FILE
GOMEZ CRUZ, BERNANDO         ADDRESS ON FILE
GOMEZ CRUZ, CARLOS           ADDRESS ON FILE
Gomez Cruz, David            ADDRESS ON FILE
GOMEZ CRUZ, EDUARDO          ADDRESS ON FILE
GOMEZ CRUZ, ELIUD            ADDRESS ON FILE
GOMEZ CRUZ, GLENDALY         ADDRESS ON FILE
GOMEZ CRUZ, HILDA I          ADDRESS ON FILE
GOMEZ CRUZ, IRENE            ADDRESS ON FILE
GOMEZ CRUZ, JAVIER           ADDRESS ON FILE
Gomez Cruz, Jecey M.         ADDRESS ON FILE
GOMEZ CRUZ, JOSE             ADDRESS ON FILE
GOMEZ CRUZ, JOSE             ADDRESS ON FILE
GOMEZ CRUZ, JUAN             ADDRESS ON FILE
GOMEZ CRUZ, JUAN A           ADDRESS ON FILE
GOMEZ CRUZ, LUIS R.          ADDRESS ON FILE
GOMEZ CRUZ, MARIA A          ADDRESS ON FILE
GOMEZ CRUZ, MARIA I          ADDRESS ON FILE
GOMEZ CRUZ, NEREIDA          ADDRESS ON FILE
GOMEZ CRUZ, RAFAEL           ADDRESS ON FILE
GOMEZ CRUZ, RAFAEL           ADDRESS ON FILE
GOMEZ CRUZ, RAMON            ADDRESS ON FILE
GOMEZ CRUZ, ROBERT           ADDRESS ON FILE
GOMEZ CRUZ, VIRGEN M         ADDRESS ON FILE
GOMEZ CRUZ, YSIS M.          ADDRESS ON FILE
GOMEZ CUADRO, VANESSA E.     ADDRESS ON FILE
GOMEZ CUELLAR MD, MARTHA     ADDRESS ON FILE
GOMEZ CURET, CALEB           ADDRESS ON FILE
GOMEZ CURET, DEBORA          ADDRESS ON FILE
GOMEZ CURET, FRANSYS J       ADDRESS ON FILE
Gomez Curet, Joel            ADDRESS ON FILE
GOMEZ CURET, MIDIAM          ADDRESS ON FILE
GOMEZ CURET, NOEMI           ADDRESS ON FILE
GOMEZ DAVILA, CARMEN DE L.   ADDRESS ON FILE
GOMEZ DAVILA, KEYLA LEE      ADDRESS ON FILE
Gomez Davila, Ramon L        ADDRESS ON FILE
GOMEZ DE CORA, ELBA M        ADDRESS ON FILE
GOMEZ DE HOYOS, ANGELA M     ADDRESS ON FILE
GOMEZ DE JESUS, BLANCA       ADDRESS ON FILE
GOMEZ DE JESUS, CARMEN R     ADDRESS ON FILE
GOMEZ DE JESUS, EDWIN        ADDRESS ON FILE
GOMEZ DE JESUS, GABRIEL      ADDRESS ON FILE
Gomez De Jesus, Gabriel M    ADDRESS ON FILE




                                                                         Page 3251 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3252 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3      Address4   City       State   PostalCode   Country
GOMEZ DE JESUS, HERIBERTO      ADDRESS ON FILE
GOMEZ DE JESUS, JENNIFER       ADDRESS ON FILE
GOMEZ DE JESUS, LUIS           ADDRESS ON FILE
GOMEZ DE JESUS, MARIA DE L     ADDRESS ON FILE
GOMEZ DE JESUS, MARIBEL        ADDRESS ON FILE
GOMEZ DE JESUS, MIGDALIA       ADDRESS ON FILE
GOMEZ DE JESUS, RAUL           ADDRESS ON FILE
GOMEZ DE JESUS, ROSA           ADDRESS ON FILE
GOMEZ DE JESUS, ROSA M         ADDRESS ON FILE
GOMEZ DE JESUS,RAUL            ADDRESS ON FILE
GOMEZ DE LA CRUZ, GERARDO      ADDRESS ON FILE
GOMEZ DE LEON, DARITZIA        ADDRESS ON FILE
GOMEZ DE LEON, JOSE            ADDRESS ON FILE
GOMEZ DE RAMIREZ, IVIS M       ADDRESS ON FILE
GOMEZ DEL VALLE, GRETA         ADDRESS ON FILE
GOMEZ DEL VALLE, MARILYN       ADDRESS ON FILE
GOMEZ DEL VALLE, NESTOR        ADDRESS ON FILE
GOMEZ DEL VALLE, PATRICIO      ADDRESS ON FILE
GOMEZ DELGADO, FREYDA Z        ADDRESS ON FILE
Gomez Delgado, Juan            ADDRESS ON FILE
GOMEZ DELGADO, MARIA           ADDRESS ON FILE
GOMEZ DELGADO, NYDIA           ADDRESS ON FILE
GOMEZ DELGADO, RAMONITA        ADDRESS ON FILE
GOMEZ DELGADO, SUNILDA         ADDRESS ON FILE
Gomez Delgado, Tiffany         ADDRESS ON FILE
GOMEZ DIAZ, AMPARO             ADDRESS ON FILE
GOMEZ DIAZ, ANGEL              ADDRESS ON FILE
GOMEZ DIAZ, CARMEN             ADDRESS ON FILE
GOMEZ DIAZ, CYNTHIA            ADDRESS ON FILE
Gomez Diaz, David              ADDRESS ON FILE
GOMEZ DIAZ, FRANCISCA          ADDRESS ON FILE
GOMEZ DIAZ, HAYSON             ADDRESS ON FILE
GOMEZ DIAZ, IVELISSE           ADDRESS ON FILE
GOMEZ DIAZ, IVETTE             ADDRESS ON FILE
GOMEZ DIAZ, JULIO J            ADDRESS ON FILE
GOMEZ DIAZ, LILLIAM            ADDRESS ON FILE
GOMEZ DIAZ, MARIA              ADDRESS ON FILE
GOMEZ DIAZ, MARIA ISABEL       ADDRESS ON FILE
GOMEZ DIAZ, MERYL              ADDRESS ON FILE
GOMEZ DIAZ, NELLYSETT          ADDRESS ON FILE
GOMEZ DIAZ, PABLO              ADDRESS ON FILE
Gomez Diaz, Rosa H             ADDRESS ON FILE
GOMEZ DIAZ, SIGIFREDO          ADDRESS ON FILE
GOMEZ DIAZ, YACHIRA            ADDRESS ON FILE
GÓMEZ DIAZ, YAJAIRA            POR DERECHO PROPIO        URB.DELGADO                      P‐7 CALLE 9              CAGUAS     PR      00725
GOMEZ DISDIER, MANUEL          ADDRESS ON FILE
GOMEZ DOAZ, YAJAIRA            ADDRESS ON FILE
GOMEZ DOMINGUEZ, JOSE JAVIER   ADDRESS ON FILE
GOMEZ DOMINGUEZ, ZANDRA        ADDRESS ON FILE
GOMEZ DOMINICCI, ANNETTE       ADDRESS ON FILE
GOMEZ DOMINICCI, YOANETTE      ADDRESS ON FILE
GOMEZ DOMINICCI, ZUANETTE      ADDRESS ON FILE
Gomez Dones, Neftali           ADDRESS ON FILE
GOMEZ DUENO, BRENDA E          ADDRESS ON FILE
GOMEZ DURAN, ALEJANDRO         ADDRESS ON FILE
GOMEZ ECHEVARRIA, DIANA C      ADDRESS ON FILE
GOMEZ ECHEVARRIA, SONIA I      ADDRESS ON FILE
GOMEZ ELIAS, ELIBETTE          ADDRESS ON FILE
GOMEZ ELIAS, IVAN              ADDRESS ON FILE
GOMEZ ELIAS, MARILYN           ADDRESS ON FILE




                                                                           Page 3252 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3253 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ ELIAS, SASKIA            ADDRESS ON FILE
GOMEZ ELIAS, VANESSA           ADDRESS ON FILE
GOMEZ EMBROIDERY               AVE LUIS MUNOZ MARIN      M 18 CALLE 18                                          CAGUAS       PR      00725
GOMEZ ENCARNACION, BRENDA      ADDRESS ON FILE
GOMEZ ESCOBAR, YASHIRA         ADDRESS ON FILE
Gomez Escribano, Jorge         ADDRESS ON FILE
GOMEZ ESCRIBANO, JORGE         ADDRESS ON FILE
GOMEZ ESCRIBANO, MARIA DEL C   ADDRESS ON FILE
GOMEZ ESCUDERO, OCTAVIO        ADDRESS ON FILE
GOMEZ ESPINOSA, GELIDA R.      ADDRESS ON FILE
GOMEZ ESQUILIN,FELIX A.        ADDRESS ON FILE
GOMEZ ESTRADA, ALEJANDRINA     ADDRESS ON FILE
GOMEZ FAJARDO, GAUDY           ADDRESS ON FILE
GOMEZ FALCON, IVELISSE         ADDRESS ON FILE
GOMEZ FALCON, JOSE             ADDRESS ON FILE
GOMEZ FEBRES, YESENIA          ADDRESS ON FILE
GOMEZ FELICIANO, JAVIER        ADDRESS ON FILE
GOMEZ FELICIANO, JORGE         ADDRESS ON FILE
GOMEZ FELICIANO, JULIO         ADDRESS ON FILE
GOMEZ FELICIANO, MEREDITH      ADDRESS ON FILE
GOMEZ FELIX, CARMEN            ADDRESS ON FILE
GOMEZ FELIX, CARMEN            ADDRESS ON FILE
GOMEZ FERMAINTT, ERIK          ADDRESS ON FILE
GOMEZ FERNANDEZ, AGUSTIN       ADDRESS ON FILE
GOMEZ FERNANDEZ, JULIO         ADDRESS ON FILE
GOMEZ FERRER, ENID             ADDRESS ON FILE
GOMEZ FERRER,LUIS              ADDRESS ON FILE
GOMEZ FIGUEROA, JANETE         ADDRESS ON FILE
GOMEZ FIGUEROA, MARISOL        ADDRESS ON FILE
GOMEZ FIGUEROA, NORA           ADDRESS ON FILE
GOMEZ FLORES, ABDRIEL          ADDRESS ON FILE
GOMEZ FLORES, ARACELIS         ADDRESS ON FILE
GOMEZ FLORES, BERNABE          ADDRESS ON FILE
GOMEZ FLORES, CARMEN           ADDRESS ON FILE
GOMEZ FLORES, CARMEN           ADDRESS ON FILE
GOMEZ FLORES, CESAR            ADDRESS ON FILE
GOMEZ FLORES, ENRIQUE J        ADDRESS ON FILE
GOMEZ FLORES, JOHANYS          ADDRESS ON FILE
GOMEZ FLORES, LUZ M            ADDRESS ON FILE
GOMEZ FLORES, WANDA L          ADDRESS ON FILE
GOMEZ FONSECA, JORGE D.        ADDRESS ON FILE
GOMEZ FONSECA, LUIS D.         ADDRESS ON FILE
GOMEZ FONTANEZ, CHRISTIAN      ADDRESS ON FILE
GOMEZ FONTANEZ, LUZ N.         ADDRESS ON FILE
GOMEZ FONTANEZ, MARIA DEL      ADDRESS ON FILE
GOMEZ FORTUNA MD, MAIRALISA    ADDRESS ON FILE
GOMEZ FORTUNA, LIDIA           ADDRESS ON FILE
GOMEZ FORTUNA, MAIRALISA       ADDRESS ON FILE
GOMEZ FOURNIER, DAISY          ADDRESS ON FILE
GOMEZ FOURNIER, DANIEL         ADDRESS ON FILE
GOMEZ FRAGOSO, JULIETA         ADDRESS ON FILE
GOMEZ FRAGOSO, JULIO           ADDRESS ON FILE
GOMEZ FRANCO, IRIS N.          ADDRESS ON FILE
GOMEZ FRANCO, JOHANNA R        ADDRESS ON FILE
GOMEZ FRANCO, WANDA            ADDRESS ON FILE
GOMEZ FRANK, JESSICA M         ADDRESS ON FILE
GOMEZ FRANK, JONATHAN B.       ADDRESS ON FILE
GOMEZ FRIAS, NICOLAS           ADDRESS ON FILE
GOMEZ FRIAS, WANDA             ADDRESS ON FILE
GOMEZ FUSTER, ANA E            ADDRESS ON FILE




                                                                           Page 3253 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3254 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ FUSTER, DOMINGA                    ADDRESS ON FILE
GOMEZ FUSTER, EVELYN                     ADDRESS ON FILE
GOMEZ FUSTER, HECTOR                     ADDRESS ON FILE
GOMEZ GALAN, SARAI                       ADDRESS ON FILE
GOMEZ GALERA, ALBA L                     ADDRESS ON FILE
GOMEZ GARAY, CARMEN                      ADDRESS ON FILE
GOMEZ GARAY, CARMEN L.                   ADDRESS ON FILE
GOMEZ GARAY, DIGNA                       ADDRESS ON FILE
GOMEZ GARCIA MD, EUGENIO                 ADDRESS ON FILE
GOMEZ GARCIA, CARLOS J                   ADDRESS ON FILE
GOMEZ GARCIA, CARMEN I                   ADDRESS ON FILE
GOMEZ GARCIA, CARMEN M                   ADDRESS ON FILE
GOMEZ GARCIA, CARMEN R.                  ADDRESS ON FILE
GOMEZ GARCIA, CEFERINO                   ADDRESS ON FILE
GOMEZ GARCIA, CRISTINE Y                 ADDRESS ON FILE
GOMEZ GARCIA, EUNICE                     ADDRESS ON FILE
GOMEZ GARCIA, GERARDO                    ADDRESS ON FILE
Gomez Garcia, Gladys                     ADDRESS ON FILE
GOMEZ GARCIA, JOHNNY L                   ADDRESS ON FILE
GOMEZ GARCIA, JUAN                       ADDRESS ON FILE
GOMEZ GARCIA, LUZ                        ADDRESS ON FILE
GOMEZ GARCIA, MANUELA                    ADDRESS ON FILE
GOMEZ GARCIA, MARANGELI                  ADDRESS ON FILE
GOMEZ GARCIA, MARCO                      ADDRESS ON FILE
GOMEZ GARCIA, MARIA                      ADDRESS ON FILE
GOMEZ GARCIA, MARIA M.                   ADDRESS ON FILE
GOMEZ GARCIA, NELIVIS                    ADDRESS ON FILE
GOMEZ GARCIA, NELSON M                   ADDRESS ON FILE
Gomez Garcia, Nydia E.                   ADDRESS ON FILE
GOMEZ GARCIA, NYSA Y                     ADDRESS ON FILE
GOMEZ GARCIA, RUBEN                      ADDRESS ON FILE
GOMEZ GERMAN, MAILEIDY                   ADDRESS ON FILE
GOMEZ GIL DE RUBIO, JUAN ARTURO JULIAN   ADDRESS ON FILE
GOMEZ GOMEZ MD, RENE C                   ADDRESS ON FILE
GOMEZ GOMEZ, ANGEL                       ADDRESS ON FILE
GOMEZ GOMEZ, ANGEL L.                    ADDRESS ON FILE
GOMEZ GOMEZ, CARMEN                      ADDRESS ON FILE
GOMEZ GOMEZ, DORIS VANESSA               ADDRESS ON FILE
GOMEZ GOMEZ, IRMALIZ                     ADDRESS ON FILE
GOMEZ GOMEZ, ISABELITA                   ADDRESS ON FILE
GOMEZ GOMEZ, IVELISSE                    ADDRESS ON FILE
GOMEZ GOMEZ, JORGE                       ADDRESS ON FILE
GOMEZ GOMEZ, JOSE A.                     ADDRESS ON FILE
GOMEZ GOMEZ, JOSE D                      ADDRESS ON FILE
GOMEZ GOMEZ, JOSE M                      ADDRESS ON FILE
GOMEZ GOMEZ, JUAN                        ADDRESS ON FILE
GOMEZ GOMEZ, JULIE O                     ADDRESS ON FILE
GOMEZ GOMEZ, LEIRA O                     ADDRESS ON FILE
GOMEZ GOMEZ, MARIA                       ADDRESS ON FILE
GOMEZ GOMEZ, MILDRED                     ADDRESS ON FILE
Gomez Gomez, Osvaldo                     ADDRESS ON FILE
GOMEZ GOMEZ, REBECA                      ADDRESS ON FILE
GOMEZ GOMEZ, YAHELL                      ADDRESS ON FILE
GOMEZ GONZALEZ, ALBA                     ADDRESS ON FILE
Gomez Gonzalez, Andie W.                 ADDRESS ON FILE
GOMEZ GONZALEZ, BALBINO                  ADDRESS ON FILE
GOMEZ GONZALEZ, BRENDA LIZ               ADDRESS ON FILE
GOMEZ GONZALEZ, DARIS D                  ADDRESS ON FILE
GOMEZ GONZALEZ, DAVID                    ADDRESS ON FILE
GOMEZ GONZALEZ, EVELYN                   ADDRESS ON FILE




                                                                                     Page 3254 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3255 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ GONZALEZ, FRANCES C    ADDRESS ON FILE
GOMEZ GONZALEZ, FRANCHESKA   ADDRESS ON FILE
GOMEZ GONZALEZ, FRANCISCO    ADDRESS ON FILE
GOMEZ GONZALEZ, GONZALO      ADDRESS ON FILE
GOMEZ GONZALEZ, HARRY        ADDRESS ON FILE
GOMEZ GONZALEZ, JAVIER       ADDRESS ON FILE
GOMEZ GONZALEZ, JESSICA      ADDRESS ON FILE
GOMEZ GONZALEZ, JOSE         ADDRESS ON FILE
GOMEZ GONZALEZ, JOSE         ADDRESS ON FILE
Gomez Gonzalez, Jose A       ADDRESS ON FILE
GOMEZ GONZALEZ, JOSE A.      ADDRESS ON FILE
GOMEZ GONZALEZ, JOSE A.      ADDRESS ON FILE
Gomez Gonzalez, Jose I       ADDRESS ON FILE
GOMEZ GONZALEZ, JOSE R.      ADDRESS ON FILE
GOMEZ GONZALEZ, LUCIA        ADDRESS ON FILE
GOMEZ GONZALEZ, LUIS         ADDRESS ON FILE
GOMEZ GONZALEZ, LUIS         ADDRESS ON FILE
GOMEZ GONZALEZ, LUIS         ADDRESS ON FILE
GOMEZ GONZALEZ, LUIS A.      ADDRESS ON FILE
GOMEZ GONZALEZ, LUZ E.       ADDRESS ON FILE
GOMEZ GONZALEZ, MARIELA      ADDRESS ON FILE
GOMEZ GONZALEZ, MARIELA      ADDRESS ON FILE
GOMEZ GONZALEZ, MILTA R      ADDRESS ON FILE
GOMEZ GONZALEZ, MYRTA        ADDRESS ON FILE
GOMEZ GONZALEZ, NATALIA      ADDRESS ON FILE
GOMEZ GONZALEZ, NORMA I      ADDRESS ON FILE
GOMEZ GONZALEZ, NYDIA M.     ADDRESS ON FILE
GOMEZ GONZALEZ, PEDRO        ADDRESS ON FILE
GOMEZ GONZALEZ, RICARDO L    ADDRESS ON FILE
GOMEZ GONZALEZ, WILMARY      ADDRESS ON FILE
GOMEZ GONZALEZ, WILMARY      ADDRESS ON FILE
GOMEZ GONZALEZ, YESENIA      ADDRESS ON FILE
Gomez Gordian, Vilmarie      ADDRESS ON FILE
GOMEZ GRAU, RAQUEL           ADDRESS ON FILE
GOMEZ GRAULAU, ANGEL L.      ADDRESS ON FILE
GOMEZ GRAULAU, ANGEL L.      ADDRESS ON FILE
GOMEZ GUERRERO, EDGARDO      ADDRESS ON FILE
GOMEZ GUILFI, MELIZA         ADDRESS ON FILE
GOMEZ GUILFU, MIGUEL A       ADDRESS ON FILE
Gomez Guilfu, Miguel F       ADDRESS ON FILE
GOMEZ GUZMAN, BOLIVAR        ADDRESS ON FILE
Gomez Guzman, Carlos         ADDRESS ON FILE
GOMEZ GUZMAN, IVELISSE       ADDRESS ON FILE
GOMEZ GUZMAN, NELLY          ADDRESS ON FILE
GOMEZ GUZMAN, SOCORRO        ADDRESS ON FILE
GOMEZ GUZMAN, SONIA I.       ADDRESS ON FILE
GOMEZ HENRIQUEZ, SYLVETTE    ADDRESS ON FILE
GOMEZ HEREDIA, ADLIN M       ADDRESS ON FILE
GOMEZ HEREDIA, NILKA M       ADDRESS ON FILE
GOMEZ HEREDIA, RUBEN         ADDRESS ON FILE
GOMEZ HEREDIA, XIOMARA M     ADDRESS ON FILE
GOMEZ HERNANDEZ MD, JUAN S   ADDRESS ON FILE
GOMEZ HERNANDEZ, ALEXIS      ADDRESS ON FILE
GOMEZ HERNANDEZ, ANA         ADDRESS ON FILE
GOMEZ HERNANDEZ, ANA V.      ADDRESS ON FILE
GOMEZ HERNANDEZ, ANGEL       ADDRESS ON FILE
GOMEZ HERNANDEZ, BELINDA     ADDRESS ON FILE
GOMEZ HERNANDEZ, JOAN        ADDRESS ON FILE
GOMEZ HERNANDEZ, JOSE        ADDRESS ON FILE
GOMEZ HERNANDEZ, JOSE        ADDRESS ON FILE




                                                                         Page 3255 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3256 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ HERNANDEZ, MARIA        ADDRESS ON FILE
GOMEZ HERNANDEZ, MIRTA S      ADDRESS ON FILE
GOMEZ HERNANDEZ, MONSERRATE   ADDRESS ON FILE
Gomez Hernandez, Pascual      ADDRESS ON FILE
GOMEZ HERNANDEZ, RAMON        ADDRESS ON FILE
GOMEZ HERNANDEZ, WANDA I.     ADDRESS ON FILE
GOMEZ HERNANDEZ, WANDA I.     ADDRESS ON FILE
GOMEZ HERRAN, MARIXA          ADDRESS ON FILE
GOMEZ HOMS, IDALIS            ADDRESS ON FILE
GOMEZ HUERTAS, EVELYN C.      ADDRESS ON FILE
GOMEZ HUERTAS, JUAN           ADDRESS ON FILE
GOMEZ HUERTAS, MARIA          ADDRESS ON FILE
Gomez Huertas, Omayra         ADDRESS ON FILE
GOMEZ HURNEY, MARSHA          ADDRESS ON FILE
Gomez Igartua, Ezequiel       ADDRESS ON FILE
GOMEZ IGARTUA, EZEQUIEL       ADDRESS ON FILE
GOMEZ INFANTE, BLANCA I       ADDRESS ON FILE
GOMEZ INFANTE, EDELMIRO       ADDRESS ON FILE
Gomez Infante, Luis M         ADDRESS ON FILE
GOMEZ INFANZON, LYMARY        ADDRESS ON FILE
GOMEZ IRIZARRY, ROSA M        ADDRESS ON FILE
GOMEZ JIMENEZ, AIDA           ADDRESS ON FILE
GOMEZ JIMENEZ, CARLOS         ADDRESS ON FILE
GOMEZ JIMENEZ, DAVID          ADDRESS ON FILE
GOMEZ JIMENEZ, FRANCISCO      ADDRESS ON FILE
GOMEZ JIMENEZ, FRANCISCO      ADDRESS ON FILE
GOMEZ JIMENEZ, IRIS M         ADDRESS ON FILE
GOMEZ JIMENEZ, MARIA L        ADDRESS ON FILE
GOMEZ JIMENEZ, MARTA V        ADDRESS ON FILE
GOMEZ JIMENEZ, NILSA Z.       ADDRESS ON FILE
GOMEZ JOSE NORE               ADDRESS ON FILE
GOMEZ JUARBE, EVELYN          ADDRESS ON FILE
GOMEZ JUARBE, EVELYN          ADDRESS ON FILE
GOMEZ JUARBE, ULPIANA         ADDRESS ON FILE
GOMEZ JUSINO, KATHERLINE      ADDRESS ON FILE
GOMEZ LABARCA, JORGE          ADDRESS ON FILE
GOMEZ LABOY, ARMANDO          ADDRESS ON FILE
GOMEZ LABOY, RAMON            ADDRESS ON FILE
GOMEZ LATORRE, SHEILA         ADDRESS ON FILE
GOMEZ LAZU, AGUSTIN           ADDRESS ON FILE
GOMEZ LAZU, ANTONIA           ADDRESS ON FILE
GOMEZ LEAL, MARTIN            ADDRESS ON FILE
GOMEZ LEAL, ROSA M            ADDRESS ON FILE
GOMEZ LEBRON, ANDREA          ADDRESS ON FILE
GOMEZ LEBRON, BRENDA          ADDRESS ON FILE
GOMEZ LEBRON, JESUS           ADDRESS ON FILE
Gomez Lebron, Jose E          ADDRESS ON FILE
GOMEZ LEBRON, LIZBETH M       ADDRESS ON FILE
GOMEZ LEBRON, LUIS            ADDRESS ON FILE
Gomez Lebron, Luis A.         ADDRESS ON FILE
GOMEZ LEBRON, MAXIMO          ADDRESS ON FILE
GOMEZ LEBRON, NELLY           ADDRESS ON FILE
GOMEZ LEBRON, WANDA I         ADDRESS ON FILE
GOMEZ LEON, ALICIA M          ADDRESS ON FILE
GOMEZ LLANOS, GRISELA         ADDRESS ON FILE
Gomez Lleras, Alexis          ADDRESS ON FILE
GOMEZ LOPEZ MD, JUAN R        ADDRESS ON FILE
GOMEZ LOPEZ, CENEIDA          ADDRESS ON FILE
GOMEZ LOPEZ, DALILA           ADDRESS ON FILE
GOMEZ LOPEZ, ERIC             ADDRESS ON FILE




                                                                          Page 3256 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3257 of 3500
                                                                               17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                   Address1                        Address2                          Address3             Address4   City         State   PostalCode   Country
GOMEZ LOPEZ, GENESIS            ADDRESS ON FILE
Gomez Lopez, Gladys             ADDRESS ON FILE
GOMEZ LOPEZ, GLADYS M.          ADDRESS ON FILE
GOMEZ LOPEZ, IRVING             ADDRESS ON FILE
GOMEZ LOPEZ, JAYSON             ADDRESS ON FILE
GOMEZ LOPEZ, JONATHAN           ADDRESS ON FILE
GOMEZ LOPEZ, JOSE               ADDRESS ON FILE
GOMEZ LOPEZ, JOSE               ADDRESS ON FILE
GOMEZ LOPEZ, JULIO              ADDRESS ON FILE
GOMEZ LOPEZ, LESLIE A.          ADDRESS ON FILE
GOMEZ LOPEZ, LOURDES H          ADDRESS ON FILE
GOMEZ LOPEZ, MAGALY             ADDRESS ON FILE
GOMEZ LOPEZ, MARILYN            ADDRESS ON FILE
GOMEZ LOPEZ, MATILDE            ADDRESS ON FILE
Gomez Lopez, Osvaldo            ADDRESS ON FILE
GOMEZ LOPEZ, RAYMOND            ADDRESS ON FILE
GOMEZ LOPEZ, ROBERT             ADDRESS ON FILE
GOMEZ LOPEZ, TOMAS              ADDRESS ON FILE
GOMEZ LOZADA, ELIZABETH         ADDRESS ON FILE
GOMEZ LOZADA, HECTOR L          ADDRESS ON FILE
GOMEZ LOZADA, JONATHAN          ADDRESS ON FILE
GOMEZ LOZADA, TERESA            ADDRESS ON FILE
GOMEZ LUGO, BENJAMIN            ADDRESS ON FILE
GOMEZ LUGO, ELADIO              ADDRESS ON FILE
GOMEZ LUGO, KYOMARA             ADDRESS ON FILE
GOMEZ LUGO, NELLYS              ADDRESS ON FILE
GOMEZ LUIS, JOSE J.             ADDRESS ON FILE
GOMEZ MACHIN, NURIA MILAGROS    ADDRESS ON FILE
GOMEZ MADERA, JESSICA           ADDRESS ON FILE
GOMEZ MADURO, DAVID             ADDRESS ON FILE
GOMEZ MAISONET, ANTONIA         ADDRESS ON FILE
GOMEZ MAISONET, EDWIN           ADDRESS ON FILE
GOMEZ MALDONADO, CHAYANNE A     ADDRESS ON FILE
GOMEZ MALDONADO, IVETTE         ADDRESS ON FILE
GOMEZ MALDONADO, KARLA ROSUAN   ADDRESS ON FILE
GOMEZ MALDONADO,YADELIS         ADDRESS ON FILE
GOMEZ MARCANO, MANUEL           ADDRESS ON FILE
GOMEZ MARCOS, CARMEN            ADDRESS ON FILE
GOMEZ MARQUEZ, DAVID            ADDRESS ON FILE
GOMEZ MARQUEZ, IRIS             ADDRESS ON FILE
GOMEZ MARQUEZ, MARIA I          ADDRESS ON FILE
GOMEZ MARQUEZ, MISAEL           ADDRESS ON FILE
GOMEZ MARQUEZ, MISAEL           ADDRESS ON FILE
GOMEZ MARQUEZ, NORMA            ADDRESS ON FILE
GOMEZ MARQUEZ, WILLIAM          ADDRESS ON FILE
GOMEZ MARRERO, ANGEL            ADDRESS ON FILE
GOMEZ MARRERO, BRENDA M.        ADDRESS ON FILE
GOMEZ MARRERO, CARMEN           ADDRESS ON FILE
                                                                                                  1519 AVE. Ponce DE
GÓMEZ MARRERO, DANIEL           LCDA. ILEANA FONTANEZ FUENTES   EDIF. FIRST BANK                  LEON STE.520                    SAN JUAN     PR      00909‐1715
GOMEZ MARRERO, FELIX            ADDRESS ON FILE
GOMEZ MARRERO, GLADYS           ADDRESS ON FILE
GOMEZ MARRERO, HAYDEE           ADDRESS ON FILE
GOMEZ MARRERO, JAVIER           ADDRESS ON FILE
GOMEZ MARRERO, JUAN             ADDRESS ON FILE
GOMEZ MARRERO, LISMARI          ADDRESS ON FILE
GOMEZ MARRERO, LISVETTE         ADDRESS ON FILE
GOMEZ MARRERO, LISVETTE         ADDRESS ON FILE
GOMEZ MARRERO, MARGARITA        ADDRESS ON FILE
GOMEZ MARRERO, MERCEDES         ADDRESS ON FILE




                                                                                   Page 3257 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3258 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ MARRERO, SONIA N        ADDRESS ON FILE
GOMEZ MARRERO, SONIA N.       ADDRESS ON FILE
GOMEZ MARTINEZ, ALICE         ADDRESS ON FILE
Gomez Martinez, Ana B         ADDRESS ON FILE
GOMEZ MARTINEZ, ANGEL         ADDRESS ON FILE
GOMEZ MARTINEZ, ANTONIO       ADDRESS ON FILE
GOMEZ MARTINEZ, ARACELIS      ADDRESS ON FILE
GOMEZ MARTINEZ, DAMIAN        ADDRESS ON FILE
GOMEZ MARTINEZ, DANILO        ADDRESS ON FILE
GOMEZ MARTINEZ, DOMINGO       ADDRESS ON FILE
GOMEZ MARTINEZ, ELISA         ADDRESS ON FILE
GOMEZ MARTINEZ, EVELYN I.     ADDRESS ON FILE
GOMEZ MARTINEZ, FRANCISCO     ADDRESS ON FILE
GOMEZ MARTINEZ, IRIS          ADDRESS ON FILE
GOMEZ MARTINEZ, IRMA D        ADDRESS ON FILE
GOMEZ MARTINEZ, JHONNY        ADDRESS ON FILE
GOMEZ MARTINEZ, JUAN          ADDRESS ON FILE
GOMEZ MARTINEZ, JUDITH A.     ADDRESS ON FILE
GOMEZ MARTINEZ, LAURA         ADDRESS ON FILE
GOMEZ MARTINEZ, LUCIA         ADDRESS ON FILE
GOMEZ MARTINEZ, MARIA         ADDRESS ON FILE
GOMEZ MARTINEZ, MARIA DEL C   ADDRESS ON FILE
GOMEZ MARTINEZ, MARIA E.      ADDRESS ON FILE
GOMEZ MARTINEZ, MARIA M       ADDRESS ON FILE
GOMEZ MARTINEZ, MERARY        ADDRESS ON FILE
Gomez Martinez, Miguel A      ADDRESS ON FILE
GOMEZ MARTINEZ, MILDRED       ADDRESS ON FILE
GOMEZ MARTINEZ, NYDIA         ADDRESS ON FILE
GOMEZ MARTINEZ, OLGA O        ADDRESS ON FILE
GOMEZ MARTINEZ, RICARDO       ADDRESS ON FILE
GOMEZ MARTINEZ, RICARDO       ADDRESS ON FILE
GOMEZ MARTINEZ, SEGUNDA       ADDRESS ON FILE
GOMEZ MARTINEZ, STHEFANO      ADDRESS ON FILE
GOMEZ MAS, MILITZA            ADDRESS ON FILE
GOMEZ MATEO, BARBINA          ADDRESS ON FILE
GOMEZ MATIAS, RAQUEL          ADDRESS ON FILE
GOMEZ MATOS, BRENDA L         ADDRESS ON FILE
GOMEZ MATOS, EDGARDO A        ADDRESS ON FILE
GOMEZ MATOS, EDNA             ADDRESS ON FILE
GOMEZ MATOS, HECSARI          ADDRESS ON FILE
GOMEZ MATOS, JOSE M.          ADDRESS ON FILE
GOMEZ MATOS, LUIS             ADDRESS ON FILE
GOMEZ MATOS, TZEITEL M.       ADDRESS ON FILE
GOMEZ MD , JOSE R             ADDRESS ON FILE
GOMEZ MD, HIRAM               ADDRESS ON FILE
Gomez Medina, Eladis M.       ADDRESS ON FILE
Gomez Medina, Felix A         ADDRESS ON FILE
GOMEZ MEDINA, MYRAIDA         ADDRESS ON FILE
GOMEZ MEDINA, NESTOR          ADDRESS ON FILE
GOMEZ MEDINA, SAIMARA         ADDRESS ON FILE
GOMEZ MEJIA, FERNANDO R       ADDRESS ON FILE
Gomez Melendez, Balbino       ADDRESS ON FILE
GOMEZ MELENDEZ, SHEILA        ADDRESS ON FILE
GOMEZ MENDEZ, BELISSA         ADDRESS ON FILE
GOMEZ MENDEZ, ELLIOT          ADDRESS ON FILE
GOMEZ MENDEZ, ELLIOT          ADDRESS ON FILE
GOMEZ MENDEZ, LIMARIE         ADDRESS ON FILE
GOMEZ MENDEZ, PABLO J         ADDRESS ON FILE
GOMEZ MENDEZ, WELLINGTON E    ADDRESS ON FILE
GOMEZ MENDOZA, ANNIE          ADDRESS ON FILE




                                                                          Page 3258 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3259 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ MENDOZA, ELIZABETH        ADDRESS ON FILE
GOMEZ MERCADO, ADALIS           ADDRESS ON FILE
GOMEZ MERCADO, RAQUEL           ADDRESS ON FILE
GOMEZ MILLAN, DIANA             ADDRESS ON FILE
GOMEZ MILLAN, EDITA             ADDRESS ON FILE
GOMEZ MIRA, FRANCISCO           ADDRESS ON FILE
GOMEZ MIRANDA, ANGEL            ADDRESS ON FILE
GOMEZ MIRANDA, ANGEL            ADDRESS ON FILE
GOMEZ MIRANDA, PABLO A          ADDRESS ON FILE
Gomez Miranda, Walter           ADDRESS ON FILE
GOMEZ MODESTO, MILADY M         ADDRESS ON FILE
GOMEZ MOJICA, LIZETTE           ADDRESS ON FILE
GOMEZ MOLINA, JAHBYECK          ADDRESS ON FILE
GOMEZ MOLINA, JOHANNA           ADDRESS ON FILE
GOMEZ MOLINA, JOHANNA           ADDRESS ON FILE
GOMEZ MOLINA, JUANITA           ADDRESS ON FILE
GOMEZ MONCLUS, JUAN             ADDRESS ON FILE
GOMEZ MONSEGUR, LETICIA         ADDRESS ON FILE
GOMEZ MONSERRATE, YOMAR         ADDRESS ON FILE
GOMEZ MONTALVO, NOELIA          ADDRESS ON FILE
GOMEZ MONTANEZ, ABIGAIL         ADDRESS ON FILE
GOMEZ MONTANEZ, HECTOR          ADDRESS ON FILE
GOMEZ MONTANEZ, HECTOR          ADDRESS ON FILE
GOMEZ MONTANEZ, JOSE            ADDRESS ON FILE
GOMEZ MONTANEZ, TANYA           ADDRESS ON FILE
GOMEZ MORALES, CESAR A          ADDRESS ON FILE
GOMEZ MORALES, DELSY M.         ADDRESS ON FILE
Gomez Morales, Efrain E         ADDRESS ON FILE
GOMEZ MORALES, GRACIELA         ADDRESS ON FILE
GOMEZ MORALES, HILDA L          ADDRESS ON FILE
GOMEZ MORALES, JOSE             ADDRESS ON FILE
GOMEZ MORALES, JOSE             ADDRESS ON FILE
GOMEZ MORALES, LUIS             ADDRESS ON FILE
GOMEZ MORALES, MARIA DE LOS A   ADDRESS ON FILE
GOMEZ MORALES, MARIANGELIE      ADDRESS ON FILE
GOMEZ MORALES, MIGUEL           ADDRESS ON FILE
GOMEZ MORALES, VERONICA         ADDRESS ON FILE
GOMEZ MORENO MD, MARVIN         ADDRESS ON FILE
GOMEZ MORENO, ERIC              ADDRESS ON FILE
GOMEZ MORENO, MERVIN            ADDRESS ON FILE
GOMEZ MORENO, PEDRO             ADDRESS ON FILE
GOMEZ MORENO, ZORY L            ADDRESS ON FILE
GOMEZ MORILLO, EDWARD           ADDRESS ON FILE
GOMEZ MORILLO, FELIX            ADDRESS ON FILE
GOMEZ MOTA, YRIDANIA            ADDRESS ON FILE
GOMEZ MULERO, JULIO             ADDRESS ON FILE
GOMEZ MULERO, JULIO             ADDRESS ON FILE
GOMEZ MULERO, NERIMAR           ADDRESS ON FILE
GOMEZ MUNIZ, ANGELICA           ADDRESS ON FILE
GOMEZ MUNOZ, JOFFRE             ADDRESS ON FILE
Gomez Munoz, Juan               ADDRESS ON FILE
Gomez Munoz, Juan B             ADDRESS ON FILE
GOMEZ MUNOZ, LESLIE             ADDRESS ON FILE
GOMEZ MUNOZ, LUIS               ADDRESS ON FILE
Gomez Munoz, Mario              ADDRESS ON FILE
GOMEZ MUNOZ, MELVIS             ADDRESS ON FILE
GOMEZ MUNOZ, OSCAR              ADDRESS ON FILE
GOMEZ MUNOZ, RUBEN              ADDRESS ON FILE
GOMEZ NARVAEZ, YASHIRA          ADDRESS ON FILE
GOMEZ NATOS, HECTOR             ADDRESS ON FILE




                                                                            Page 3259 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 3260 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ NAVAREZ, WILLIAM    ADDRESS ON FILE
GOMEZ NAVARRO, ANGEL      ADDRESS ON FILE
GOMEZ NAVARRO, JOILY I    ADDRESS ON FILE
GOMEZ NEGRON, EMERITO     ADDRESS ON FILE
GOMEZ NEGRON, YENARILIZ   ADDRESS ON FILE
GOMEZ NERIS, DAMARIS      ADDRESS ON FILE
GOMEZ NIETO, RICARDO      ADDRESS ON FILE
GOMEZ NIEVES, EDELMIRA    ADDRESS ON FILE
GOMEZ NIEVES, ELIER       ADDRESS ON FILE
GOMEZ NIEVES, EVA         ADDRESS ON FILE
GOMEZ NIEVES, HILDA       ADDRESS ON FILE
GOMEZ NIEVES, ISABELITA   ADDRESS ON FILE
GOMEZ NIEVES, SATURNINA   ADDRESS ON FILE
Gomez Nunez, Carmen G     ADDRESS ON FILE
GOMEZ NUNEZ, DANIEL       ADDRESS ON FILE
GOMEZ NUNEZ, GERARDINA    ADDRESS ON FILE
GOMEZ NUQEZ, SANTOS       ADDRESS ON FILE
GOMEZ OCACIO, CARLOS      ADDRESS ON FILE
Gomez Ocasio, Carlos I    ADDRESS ON FILE
GOMEZ OCASIO, CARMEN      ADDRESS ON FILE
GOMEZ OCASIO, CARMEN E    ADDRESS ON FILE
GOMEZ OCASIO, JOSE R      ADDRESS ON FILE
GOMEZ OCASIO, LIZST M.    ADDRESS ON FILE
GOMEZ OCASIO, MAGALI      ADDRESS ON FILE
GOMEZ OCASIO, ODALIS      ADDRESS ON FILE
GOMEZ OCASIO, VANESSA     ADDRESS ON FILE
GOMEZ OLIVER, JEANNETTE   ADDRESS ON FILE
GOMEZ OLIVERO, MAGALYS    ADDRESS ON FILE
GOMEZ OLIVO, FERNANDO     ADDRESS ON FILE
GOMEZ OLIVO, ZORAIDA      ADDRESS ON FILE
GOMEZ OPIO, ESTHER        ADDRESS ON FILE
GOMEZ OPIO, MERARI        ADDRESS ON FILE
GOMEZ OPIO, RACHEL        ADDRESS ON FILE
GOMEZ ORLANDO, MARITZA    ADDRESS ON FILE
GOMEZ ORTA, LYMARIS       ADDRESS ON FILE
GOMEZ ORTIZ, AFORTUNADA   ADDRESS ON FILE
GOMEZ ORTIZ, ALEXANDRA    ADDRESS ON FILE
GOMEZ ORTIZ, ALEXIS       ADDRESS ON FILE
GOMEZ ORTIZ, CARLOS J.    ADDRESS ON FILE
GOMEZ ORTIZ, CARLOS M     ADDRESS ON FILE
GOMEZ ORTIZ, CARMEN I     ADDRESS ON FILE
GOMEZ ORTIZ, CARMEN J     ADDRESS ON FILE
Gomez Ortiz, Dennis       ADDRESS ON FILE
GOMEZ ORTIZ, FLOR DE M.   ADDRESS ON FILE
GOMEZ ORTIZ, HECTOR       ADDRESS ON FILE
GOMEZ ORTIZ, ILEANA L.    ADDRESS ON FILE
GOMEZ ORTIZ, ISABEL       ADDRESS ON FILE
GOMEZ ORTIZ, JESUS        ADDRESS ON FILE
GOMEZ ORTIZ, JORGE        ADDRESS ON FILE
Gomez Ortiz, Jorge A.     ADDRESS ON FILE
GOMEZ ORTIZ, JOSE E       ADDRESS ON FILE
GOMEZ ORTIZ, JUAN         ADDRESS ON FILE
GOMEZ ORTIZ, LIMARIE      ADDRESS ON FILE
Gomez Ortiz, Luis A       ADDRESS ON FILE
GOMEZ ORTIZ, MARITZA      ADDRESS ON FILE
GOMEZ ORTIZ, MODESTO      ADDRESS ON FILE
GOMEZ ORTIZ, NELSON       ADDRESS ON FILE
GOMEZ ORTIZ, NEREIDA      ADDRESS ON FILE
GOMEZ ORTIZ, OMAYRA       ADDRESS ON FILE
GOMEZ ORTIZ, RAQUEL       ADDRESS ON FILE




                                                                      Page 3260 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 3261 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ ORTIZ, RAYDA M.      ADDRESS ON FILE
GOMEZ ORTIZ, YAMILET       ADDRESS ON FILE
GOMEZ ORTIZ, YOMARIS       ADDRESS ON FILE
GOMEZ OSORIO, ANA H        ADDRESS ON FILE
GOMEZ OTERO, ALEX          ADDRESS ON FILE
GOMEZ OTERO, ILEANA        ADDRESS ON FILE
GOMEZ OTERO, MYRNA         ADDRESS ON FILE
GOMEZ OTERO, RAMON         ADDRESS ON FILE
GOMEZ OTERO, RAMONA        ADDRESS ON FILE
GOMEZ PABON, CARMEN DE L   ADDRESS ON FILE
GOMEZ PABON, ELIZABETH     ADDRESS ON FILE
GOMEZ PABON, HAROLD        ADDRESS ON FILE
GOMEZ PABON, WILLIAM       ADDRESS ON FILE
GOMEZ PADILLA, DOMINGO     ADDRESS ON FILE
GOMEZ PADILLA, JOSE        ADDRESS ON FILE
GOMEZ PADILLA, MARILYN     ADDRESS ON FILE
GOMEZ PAGAN, EMILIO        ADDRESS ON FILE
GOMEZ PAGAN, GIANNA        ADDRESS ON FILE
GOMEZ PAGAN, ZIRAYDA       ADDRESS ON FILE
GOMEZ PAREDES, CARLOS      ADDRESS ON FILE
GOMEZ PARRILLA, CELENITA   ADDRESS ON FILE
GOMEZ PARRILLA, IVETTE     ADDRESS ON FILE
GOMEZ PARRILLA, NOEMI      ADDRESS ON FILE
GOMEZ PELLOT, ELSA         ADDRESS ON FILE
GOMEZ PELLOT, REBECCA Y    ADDRESS ON FILE
GOMEZ PENA, CHRISTIAN      ADDRESS ON FILE
GOMEZ PENA, LUIS           ADDRESS ON FILE
GOMEZ PENA, LUISA J        ADDRESS ON FILE
GOMEZ PENA, MARIE ANGELY   ADDRESS ON FILE
GOMEZ PERALES, JESSICA     ADDRESS ON FILE
GOMEZ PERALES, MARGARET    ADDRESS ON FILE
GOMEZ PERDOMO, RAFAEL      ADDRESS ON FILE
GOMEZ PEREZ, ALEXANDER     ADDRESS ON FILE
GOMEZ PEREZ, BEATRIZ       ADDRESS ON FILE
GOMEZ PEREZ, BETHZAIDA     ADDRESS ON FILE
GOMEZ PEREZ, DEBORAH       ADDRESS ON FILE
GOMEZ PEREZ, DIANA         ADDRESS ON FILE
GOMEZ PEREZ, DOMINGA       ADDRESS ON FILE
GOMEZ PEREZ, ELIZABETH     ADDRESS ON FILE
GOMEZ PEREZ, FEDERICO      ADDRESS ON FILE
GOMEZ PEREZ, GADIEL        ADDRESS ON FILE
GOMEZ PEREZ, HERNAN        ADDRESS ON FILE
GOMEZ PEREZ, ILEANETTE     ADDRESS ON FILE
GOMEZ PEREZ, JAVIER        ADDRESS ON FILE
GOMEZ PEREZ, JODITH        ADDRESS ON FILE
GOMEZ PEREZ, LOLIMAR       ADDRESS ON FILE
GOMEZ PEREZ, LUIS          ADDRESS ON FILE
Gomez Perez, Luis A        ADDRESS ON FILE
Gomez Perez, Luis J        ADDRESS ON FILE
GOMEZ PEREZ, LUIS M.       ADDRESS ON FILE
GOMEZ PEREZ, MARIA DE L    ADDRESS ON FILE
GOMEZ PEREZ, MYRNA M.      ADDRESS ON FILE
GOMEZ PEREZ, RAUL          ADDRESS ON FILE
Gomez Perez, Roberto       ADDRESS ON FILE
GOMEZ PEREZ, ROBERTO       ADDRESS ON FILE
GOMEZ PEREZ, RUTH D        ADDRESS ON FILE
GOMEZ PEREZ, SONIA         ADDRESS ON FILE
GOMEZ PEREZ, SORELYS       ADDRESS ON FILE
GOMEZ PEREZ, TANNY         ADDRESS ON FILE
GOMEZ PEREZ, VANESSA       ADDRESS ON FILE




                                                                       Page 3261 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                        Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3262 of 3500
                                                                               17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                   Address1                       Address2                                    Address3      Address4            City         State   PostalCode   Country
GOMEZ PEREZ, ZENAIDA            ADDRESS ON FILE
Gomez Perullero, Henry          ADDRESS ON FILE
GOMEZ PINEIRO, VALERIE          ADDRESS ON FILE
GOMEZ PINERO, GLORIMAR          ADDRESS ON FILE
GOMEZ PINERO, LUIS A.           ADDRESS ON FILE
GOMEZ PIZA, JOSEFINA            ADDRESS ON FILE
GOMEZ PIZARRO, ANA M            ADDRESS ON FILE
GOMEZ PIZARRO, FRANCIBETH       ADDRESS ON FILE
GOMEZ PIZARRO, FRANCIBETH       ADDRESS ON FILE
GOMEZ PIZARRO, LU Z B.          ADDRESS ON FILE
GOMEZ PLA, RICARDO              ADDRESS ON FILE
GOMEZ PORTALATIN, JULIO         ADDRESS ON FILE
GOMEZ PORTELA, JUAN             ADDRESS ON FILE
GOMEZ PRICE, FRANCISCO          ADDRESS ON FILE
GOMEZ PUCHE MD, JESUS V         ADDRESS ON FILE
GOMEZ QUEVEDO, MAYTE            ADDRESS ON FILE
Gomez Quiles, Luis A            ADDRESS ON FILE
Gomez Quiles, Roberto           ADDRESS ON FILE
GOMEZ QUINONES, LEDDYS          ADDRESS ON FILE
GOMEZ QUINONES, LEDDYS          ADDRESS ON FILE
GOMEZ QUINONES, MELISA          ADDRESS ON FILE
GOMEZ QUINONES, ROLANDO         ADDRESS ON FILE
GOMEZ QUINONES, SUHAIL          ADDRESS ON FILE
GOMEZ QUINONEZ, IVONNE M        ADDRESS ON FILE
GOMEZ QUINTANA, PEDRO           ADDRESS ON FILE
GOMEZ RADA, GABIR G.            ADDRESS ON FILE
GOMEZ RAMIREZ CPA PSC           PO BOX 367262                                                                                                SAN JUAN     PR      00936
GOMEZ RAMIREZ, ADOLFO           ADDRESS ON FILE
Gomez Ramirez, Amaury           ADDRESS ON FILE
GÓMEZ RAMÍREZ, GLORIA Y OTROS   LCDO. JOAQUÍN NIEVES MARRERO   LCDO. JOAQUÍN NIEVES MARRERO                PO BOX 1760                       JUNCOS       PR      00777‐1760
GÓMEZ RAMÍREZ, GLORIA Y OTROS   LCDO. LUIS R. ORTIZ SEGURA     PO BOX 9024098                                                                SAN JUAN     PR      00902‐4098
                                                                                                                         #138 AVE. WINSTON
GÓMEZ RAMÍREZ, GLORIA Y OTROS   LCDO. MIGUEL A. OLMEDO OTERO   LCDO. MIGUEL A. OLMEDO OTERO                PMB 914       CHURCHILL           SAN JUAN     PR      00926‐6013
GOMEZ RAMIREZ, MILITZA          ADDRESS ON FILE
GOMEZ RAMIREZ, VANESSA          ADDRESS ON FILE
GOMEZ RAMIREZ,RUBEN             ADDRESS ON FILE
GOMEZ RAMOS, ABELARDO           ADDRESS ON FILE
Gomez Ramos, Alfredo            ADDRESS ON FILE
GOMEZ RAMOS, FELIPE             ADDRESS ON FILE
GOMEZ RAMOS, ISFRAIN            ADDRESS ON FILE
GOMEZ RAMOS, JORGE              ADDRESS ON FILE
GOMEZ RAMOS, JUAN C.            ADDRESS ON FILE
GOMEZ RAMOS, LUZ I              ADDRESS ON FILE
GOMEZ RAMOS, MARIA DEL CARMEN   ADDRESS ON FILE
GOMEZ RAMOS, MINERVA            ADDRESS ON FILE
GOMEZ RAMOS, NORMA I            ADDRESS ON FILE
GOMEZ RAMOS, ORLANDO            ADDRESS ON FILE
GOMEZ RAMOS, ROSA M             ADDRESS ON FILE
GOMEZ RAMOS, ROSELY             ADDRESS ON FILE
GOMEZ RASPALDO, GLORIA          ADDRESS ON FILE
GOMEZ RAVELO, ORQUIDEA A        ADDRESS ON FILE
GOMEZ RESTO, DALMARY            ADDRESS ON FILE
GOMEZ REYES, CARMEN N           ADDRESS ON FILE
GOMEZ REYES, ELOY O             ADDRESS ON FILE
GOMEZ REYES, JONATHAN           ADDRESS ON FILE
GOMEZ REYES, YARELIS            ADDRESS ON FILE
GOMEZ REYEZ, BERNARDA           ADDRESS ON FILE
GOMEZ REYNOSO MD, MARCOS        ADDRESS ON FILE
GOMEZ RIJOS, MOISES             ADDRESS ON FILE
GOMEZ RIOS, DANIEL              ADDRESS ON FILE




                                                                                         Page 3262 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3263 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gomez Rios, Epifanio         ADDRESS ON FILE
GOMEZ RIOS, JOEL             ADDRESS ON FILE
GOMEZ RIVAS, ESPERANZA       ADDRESS ON FILE
GOMEZ RIVAS, ROBERTO         ADDRESS ON FILE
GOMEZ RIVERA MD, CESAR G     ADDRESS ON FILE
GOMEZ RIVERA MD, JOSE        ADDRESS ON FILE
GOMEZ RIVERA, ALMA V         ADDRESS ON FILE
GOMEZ RIVERA, ANA D          ADDRESS ON FILE
GOMEZ RIVERA, ARIL           ADDRESS ON FILE
GOMEZ RIVERA, CARLOS M.      ADDRESS ON FILE
GOMEZ RIVERA, CARMEN A       ADDRESS ON FILE
GOMEZ RIVERA, CARMEN M       ADDRESS ON FILE
GOMEZ RIVERA, CARMEN R       ADDRESS ON FILE
GOMEZ RIVERA, CRISTOBAL H.   ADDRESS ON FILE
Gomez Rivera, Edgar          ADDRESS ON FILE
GOMEZ RIVERA, EDUARDO        ADDRESS ON FILE
GOMEZ RIVERA, ELIAS          ADDRESS ON FILE
GOMEZ RIVERA, ELOY           ADDRESS ON FILE
GOMEZ RIVERA, ELVIS          ADDRESS ON FILE
GOMEZ RIVERA, FRANCISCO      ADDRESS ON FILE
GOMEZ RIVERA, HAROLD         ADDRESS ON FILE
GOMEZ RIVERA, HEIDY          ADDRESS ON FILE
GOMEZ RIVERA, JINNA          ADDRESS ON FILE
GOMEZ RIVERA, JUAN           ADDRESS ON FILE
GOMEZ RIVERA, KAROLIE        ADDRESS ON FILE
GOMEZ RIVERA, KEILA          ADDRESS ON FILE
GOMEZ RIVERA, KEYLA          ADDRESS ON FILE
GOMEZ RIVERA, LAURA V        ADDRESS ON FILE
GOMEZ RIVERA, LUIS J         ADDRESS ON FILE
GOMEZ RIVERA, LUZ            ADDRESS ON FILE
GOMEZ RIVERA, LUZ A.         ADDRESS ON FILE
GOMEZ RIVERA, MADELINE       ADDRESS ON FILE
GOMEZ RIVERA, MADELINE       ADDRESS ON FILE
GOMEZ RIVERA, MANUEL         ADDRESS ON FILE
GOMEZ RIVERA, MARIA V.       ADDRESS ON FILE
GOMEZ RIVERA, MARILUZ        ADDRESS ON FILE
GOMEZ RIVERA, MARILYN        ADDRESS ON FILE
GOMEZ RIVERA, MARTA E        ADDRESS ON FILE
GOMEZ RIVERA, MICHAEL        ADDRESS ON FILE
GOMEZ RIVERA, MIGUEL         ADDRESS ON FILE
GOMEZ RIVERA, MORAYMA        ADDRESS ON FILE
GOMEZ RIVERA, OLGA           ADDRESS ON FILE
GOMEZ RIVERA, OSCAR          ADDRESS ON FILE
GOMEZ RIVERA, RAUL           ADDRESS ON FILE
GOMEZ RIVERA, SANDRA L       ADDRESS ON FILE
GOMEZ RIVERA, SAUL           ADDRESS ON FILE
GOMEZ RIVERA, VICTOR E       ADDRESS ON FILE
GOMEZ RIVERA, VIVIAN E.      ADDRESS ON FILE
GOMEZ RIVERA, ZUHEILY        ADDRESS ON FILE
GOMEZ ROBLES, IRIS           ADDRESS ON FILE
GOMEZ RODADO, ALEXIE         ADDRESS ON FILE
GOMEZ RODRIGUEZ, ANGEL       ADDRESS ON FILE
GOMEZ RODRIGUEZ, ANNETTE J   ADDRESS ON FILE
GOMEZ RODRIGUEZ, ANTONIA     ADDRESS ON FILE
GOMEZ RODRIGUEZ, ARMANDO     ADDRESS ON FILE
GOMEZ RODRIGUEZ, CANDIDA     ADDRESS ON FILE
Gomez Rodriguez, Carlos      ADDRESS ON FILE
GOMEZ RODRIGUEZ, CARMEN A    ADDRESS ON FILE
GOMEZ RODRIGUEZ, DALILA      ADDRESS ON FILE
GOMEZ RODRIGUEZ, DIANA       ADDRESS ON FILE




                                                                         Page 3263 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3264 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ RODRIGUEZ, ELADIO       ADDRESS ON FILE
GOMEZ RODRIGUEZ, ELIOTT       ADDRESS ON FILE
GOMEZ RODRIGUEZ, ENRIQUE      ADDRESS ON FILE
GOMEZ RODRIGUEZ, FELIX        ADDRESS ON FILE
Gomez Rodriguez, Flora        ADDRESS ON FILE
GOMEZ RODRIGUEZ, FRANCISCO    ADDRESS ON FILE
GOMEZ RODRIGUEZ, FRANCISCO    ADDRESS ON FILE
GOMEZ RODRIGUEZ, GILBERTO     ADDRESS ON FILE
GOMEZ RODRIGUEZ, GLADYS       ADDRESS ON FILE
GOMEZ RODRIGUEZ, IRIS         ADDRESS ON FILE
GOMEZ RODRIGUEZ, IVELISE      ADDRESS ON FILE
GOMEZ RODRIGUEZ, IVONNE       ADDRESS ON FILE
GOMEZ RODRIGUEZ, JACQUELINE   ADDRESS ON FILE
GOMEZ RODRIGUEZ, JAJAIRA      ADDRESS ON FILE
GOMEZ RODRIGUEZ, JOSE         ADDRESS ON FILE
GOMEZ RODRIGUEZ, JOSE M       ADDRESS ON FILE
Gomez Rodriguez, Jose M       ADDRESS ON FILE
GOMEZ RODRIGUEZ, JUAN         ADDRESS ON FILE
GOMEZ RODRIGUEZ, JUAN         ADDRESS ON FILE
GOMEZ RODRIGUEZ, JUAN E       ADDRESS ON FILE
GOMEZ RODRIGUEZ, LETIS        ADDRESS ON FILE
GOMEZ RODRIGUEZ, LILLIAM M    ADDRESS ON FILE
GOMEZ RODRIGUEZ, LUIS         ADDRESS ON FILE
GOMEZ RODRIGUEZ, LUIS         ADDRESS ON FILE
GOMEZ RODRIGUEZ, LUIS         ADDRESS ON FILE
Gomez Rodriguez, Luis E       ADDRESS ON FILE
GOMEZ RODRIGUEZ, LUZ          ADDRESS ON FILE
GOMEZ RODRIGUEZ, LUZ E        ADDRESS ON FILE
GOMEZ RODRIGUEZ, LYDIA E      ADDRESS ON FILE
GOMEZ RODRIGUEZ, MANUEL       ADDRESS ON FILE
GOMEZ RODRIGUEZ, MARGINET     ADDRESS ON FILE
GOMEZ RODRIGUEZ, MARLEEN      ADDRESS ON FILE
GOMEZ RODRIGUEZ, MICHELLE     ADDRESS ON FILE
GOMEZ RODRIGUEZ, MIGUEL       ADDRESS ON FILE
GOMEZ RODRIGUEZ, MIRELIS      ADDRESS ON FILE
GOMEZ RODRIGUEZ, MOISES       ADDRESS ON FILE
GOMEZ RODRIGUEZ, OTTO         ADDRESS ON FILE
Gomez Rodriguez, Pedro        ADDRESS ON FILE
GOMEZ RODRIGUEZ, RAMON L.     ADDRESS ON FILE
GOMEZ RODRIGUEZ, RAQUEL       ADDRESS ON FILE
GOMEZ RODRIGUEZ, REINALDO     ADDRESS ON FILE
GOMEZ RODRIGUEZ, ROBERTO      ADDRESS ON FILE
GOMEZ RODRIGUEZ, ROSA H       ADDRESS ON FILE
GOMEZ RODRIGUEZ, ROSA J       ADDRESS ON FILE
Gomez Rodriguez, Samuel       ADDRESS ON FILE
GOMEZ RODRIGUEZ, TRINIDAD     ADDRESS ON FILE
GOMEZ RODRIGUEZ, VICTOR M     ADDRESS ON FILE
GOMEZ RODRIGUEZ, WELBY        ADDRESS ON FILE
GOMEZ RODRIGUEZ, WELBY        ADDRESS ON FILE
GOMEZ RODRIGUEZ, WILFREDO     ADDRESS ON FILE
GOMEZ RODRIGUEZ, WILFREDO     ADDRESS ON FILE
GOMEZ RODRIGUEZ, YADIRA       ADDRESS ON FILE
GOMEZ RODRIGUEZ, YAHAIRA      ADDRESS ON FILE
GOMEZ ROJAS, CARLOS A         ADDRESS ON FILE
GOMEZ ROJAS, JOANNE           ADDRESS ON FILE
GOMEZ ROLDAN, ANGEL           ADDRESS ON FILE
GOMEZ ROLDAN, CANDIDIO        ADDRESS ON FILE
GOMEZ ROLDAN, CARMEN D        ADDRESS ON FILE
GOMEZ ROLDAN, IVELISSE        ADDRESS ON FILE
GOMEZ ROLDAN, JOSE            ADDRESS ON FILE




                                                                          Page 3264 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                           Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3265 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                      Address1                  Address2                                     Address3   Address4   City         State   PostalCode   Country
GOMEZ ROLDAN, JOSE L.              ADDRESS ON FILE
GOMEZ ROMAN, ALICE L               ADDRESS ON FILE
GOMEZ ROMAN, AMARIS                ADDRESS ON FILE
GOMEZ ROMAN, CARLOS RUBEN          ADDRESS ON FILE
GOMEZ ROMAN, EDSON                 ADDRESS ON FILE
GOMEZ ROMAN, MEILIN                ADDRESS ON FILE
GOMEZ ROMAN, MICHELLE M            ADDRESS ON FILE
GOMEZ ROMAN, PEDRO                 ADDRESS ON FILE
GOMEZ ROMERO, LICELA               ADDRESS ON FILE
GOMEZ ROMERO, MARISELA             ADDRESS ON FILE
GOMEZ ROMERO, PRISCILA             ADDRESS ON FILE
GOMEZ RONDON, ULISES               ADDRESS ON FILE
GOMEZ ROSA, ANTONIO                ADDRESS ON FILE
GOMEZ ROSA, CARMEN E               ADDRESS ON FILE
Gomez Rosa, Eliezer                ADDRESS ON FILE
GOMEZ ROSA, GLADYS E               ADDRESS ON FILE
GOMEZ ROSA, MARISEL                ADDRESS ON FILE
GOMEZ ROSA, MYRNALEE               ADDRESS ON FILE
GOMEZ ROSA, RONALDO                ADDRESS ON FILE
GOMEZ ROSADO, CAROLINA             ADDRESS ON FILE
GOMEZ ROSADO, GEORGE               ADDRESS ON FILE
GOMEZ ROSADO, IRMA                 ADDRESS ON FILE
GOMEZ ROSADO, JORGE A              ADDRESS ON FILE
GOMEZ ROSADO, RICHARD              ADDRESS ON FILE
GOMEZ ROSARIO, ARNALDO             ADDRESS ON FILE
GOMEZ ROSARIO, DAVID               ADDRESS ON FILE
GOMEZ ROSARIO, JOHAN               ADDRESS ON FILE
GOMEZ ROSARIO, JUAN                ADDRESS ON FILE
GOMEZ ROSARIO, JUAN J.             ADDRESS ON FILE
GOMEZ ROSARIO, LOURDES             ADDRESS ON FILE
GOMEZ ROSARIO, LUIS                ADDRESS ON FILE
GOMEZ ROSARIO, NANCY               ADDRESS ON FILE
GOMEZ ROSARIO, RUBEN               ADDRESS ON FILE
GOMEZ RUANO, WALTER                ADDRESS ON FILE
GOMEZ RUIBAL, JESUS                ADDRESS ON FILE
GOMEZ RUIZ, ANTONIO                ADDRESS ON FILE
GOMEZ RUIZ, EMILIO                 ADDRESS ON FILE
GOMEZ RUIZ, RUVVA                  ADDRESS ON FILE
GOMEZ RUIZ,KATHERINE               ADDRESS ON FILE
GOMEZ SAAB, SALVADOR               ADDRESS ON FILE
GOMEZ SAGARDIA, LUIS               ADDRESS ON FILE
GOMEZ SALABERRIOS, ISMAEL          ADDRESS ON FILE
GOMEZ SALDAÑA MD, WILFREDO         ADDRESS ON FILE
GOMEZ SAMPERA & GOMEZ ARCHITECTS   COND SAN JORGE            277 CALLE SAN JORGE STE 100                                        SAN JUAN     PR      00912‐3329
Gomez Sanabria, Ruben              ADDRESS ON FILE
Gomez Sanchez, Angel L             ADDRESS ON FILE
GOMEZ SANCHEZ, ANGEL LUIS          ADDRESS ON FILE
GOMEZ SANCHEZ, ARACELI             ADDRESS ON FILE
GOMEZ SANCHEZ, ARACELI             ADDRESS ON FILE
GOMEZ SANCHEZ, CARMEN L            ADDRESS ON FILE
GOMEZ SANCHEZ, EDICTA              ADDRESS ON FILE
GOMEZ SANCHEZ, ELBA I              ADDRESS ON FILE
GOMEZ SANCHEZ, ENID                ADDRESS ON FILE
GOMEZ SANCHEZ, GRACE M.            ADDRESS ON FILE
GOMEZ SANCHEZ, LETICE              ADDRESS ON FILE
GOMEZ SANCHEZ, LUZ D.              ADDRESS ON FILE
GOMEZ SANCHEZ, LUZ S               ADDRESS ON FILE
GOMEZ SANCHEZ, MARIANA             ADDRESS ON FILE
GOMEZ SANCHEZ, PEDRO J             ADDRESS ON FILE
GOMEZ SANCHEZ, ROSA I.             ADDRESS ON FILE




                                                                                           Page 3265 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3266 of 3500
                                                                             17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                 Address1                      Address2                                   Address3   Address4   City         State   PostalCode   Country
GOMEZ SANCHEZ, ROSA M         ADDRESS ON FILE
GOMEZ SANCHEZ, SAMUEL         ADDRESS ON FILE
GOMEZ SANCHEZ, YAHAIRA        ADDRESS ON FILE
GOMEZ SANDOVAL, SONIA         ADDRESS ON FILE
GOMEZ SANTANA, AMARILIS       ADDRESS ON FILE
Gomez Santana, Carlos         ADDRESS ON FILE
GOMEZ SANTANA, CARMEN         ADDRESS ON FILE
GOMEZ SANTANA, JOSE L         ADDRESS ON FILE
GOMEZ SANTANA, JOSÉ LUIS      ROSA WARD CID                 AVE MUÑOZ RIVERA NÚM. 500                                        SAN JUAN     PR      00918
GOMEZ SANTANA, MARGARITA      ADDRESS ON FILE
GOMEZ SANTANA, MYRNA          ADDRESS ON FILE
GOMEZ SANTANA, ROSA           ADDRESS ON FILE
Gomez Santana, Rosa I         ADDRESS ON FILE
Gomez Santana, Ruben          ADDRESS ON FILE
GOMEZ SANTIAGO, ADALINA       ADDRESS ON FILE
GOMEZ SANTIAGO, ANTONIO L     ADDRESS ON FILE
Gomez Santiago, Carlos R      ADDRESS ON FILE
GOMEZ SANTIAGO, DEBORAH       ADDRESS ON FILE
GOMEZ SANTIAGO, DIGNA I       ADDRESS ON FILE
GOMEZ SANTIAGO, DIMARYS       ADDRESS ON FILE
GOMEZ SANTIAGO, HECTOR        ADDRESS ON FILE
GOMEZ SANTIAGO, ISMAEL        ADDRESS ON FILE
GOMEZ SANTIAGO, MARIA S       ADDRESS ON FILE
GOMEZ SANTIAGO, ORVILLE ELI   ADDRESS ON FILE
GOMEZ SANTIAGO, YAJAIRA       ADDRESS ON FILE
GOMEZ SANTIAGO, YOMAIRA       ADDRESS ON FILE
GOMEZ SANTORY, MARAIDA        ADDRESS ON FILE
GOMEZ SANTOS, FRANKIE         ADDRESS ON FILE
GOMEZ SANTOS, HECTOR          ADDRESS ON FILE
GOMEZ SANTOS, HECTOR E        ADDRESS ON FILE
GOMEZ SANTOS, MADELINE        ADDRESS ON FILE
GOMEZ SEDA, JORGE             ADDRESS ON FILE
GOMEZ SEPULVEDA, JENNIFER     ADDRESS ON FILE
GOMEZ SERRANO, HECTOR R.      ADDRESS ON FILE
GOMEZ SERRANO, JORGE          ADDRESS ON FILE
GOMEZ SERRANO, JUAN           ADDRESS ON FILE
GOMEZ SERRANO, ROBERTO        ADDRESS ON FILE
GOMEZ SEVILLA, JOSE L         ADDRESS ON FILE
GOMEZ SIACA, CARMEN A         ADDRESS ON FILE
Gomez Siaca, Luz E            ADDRESS ON FILE
GOMEZ SIERRA, DORCAS          ADDRESS ON FILE
GOMEZ SIERRA, RAFAEL          ADDRESS ON FILE
GOMEZ SILVA, RICHARD          ADDRESS ON FILE
GOMEZ SKERETTE, CELESTINA     ADDRESS ON FILE
GOMEZ SOBERAT, MODESTO        ADDRESS ON FILE
GÓMEZ SOLIS, ABNER            LCDA. ZORAIDA LANAUSSE SOTO   PO BOX 434                                                       AGUIRRE      PR      00704‐0434
GOMEZ SOLIS, NORMA            ADDRESS ON FILE
GOMEZ SOLIS, ZYLKIA           ADDRESS ON FILE
GOMEZ SOTO MD, NORMA          ADDRESS ON FILE
GOMEZ SOTO, ESTHER            ADDRESS ON FILE
GOMEZ SOTO, GISELA            ADDRESS ON FILE
GOMEZ SOTO, HECTOR            ADDRESS ON FILE
GOMEZ SOTO, JOSE D            ADDRESS ON FILE
GOMEZ SOTO, JOSE R            ADDRESS ON FILE
GOMEZ SOTO, KAREN             ADDRESS ON FILE
GOMEZ SOTO, KAREN             ADDRESS ON FILE
GOMEZ SOTO, MAYRA             ADDRESS ON FILE
GOMEZ SOTO, MILAGROS          ADDRESS ON FILE
GOMEZ SOTO, NATASHA A         ADDRESS ON FILE
GOMEZ SOTO, NORMA I           ADDRESS ON FILE




                                                                                        Page 3266 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                        Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3267 of 3500
                                                                           17 BK 3283‐LTS
                                                                          Creditor Matrix

Creditor Name               Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOMEZ SOTO, NUBIA           ADDRESS ON FILE
GOMEZ SOTOMAYOR, ENID       ADDRESS ON FILE
GOMEZ SUAREZ, MARIA L       ADDRESS ON FILE
GOMEZ TAVAREZ, RAQUEL       ADDRESS ON FILE
GOMEZ TIRADO, CLARIBEL      ADDRESS ON FILE
GOMEZ TIRADO, LUIS          ADDRESS ON FILE
GOMEZ TIRADO, NORA I.       ADDRESS ON FILE
GOMEZ TIRADO, RAFAEL        ADDRESS ON FILE
GOMEZ TOLEDO, ALFREDO       ADDRESS ON FILE
Gomez Tolentino, Daniel     ADDRESS ON FILE
GOMEZ TOLENTINO, ZORAIDA    ADDRESS ON FILE
GOMEZ TOMASINI, GABRIEL     ADDRESS ON FILE
GOMEZ TOMASINI, MARIA T     ADDRESS ON FILE
GOMEZ TORO, GLADYS          ADDRESS ON FILE
GOMEZ TORO, GREISHA M.      ADDRESS ON FILE
GOMEZ TORRES, CARMEN        ADDRESS ON FILE
GOMEZ TORRES, CARMEN D      ADDRESS ON FILE
GOMEZ TORRES, DANIEL        ADDRESS ON FILE
GOMEZ TORRES, ILEANA H.     ADDRESS ON FILE
GOMEZ TORRES, JAVIER        ADDRESS ON FILE
GOMEZ TORRES, JESSICA M     ADDRESS ON FILE
GOMEZ TORRES, JORGE L       ADDRESS ON FILE
GOMEZ TORRES, JOSE C.       ADDRESS ON FILE
GOMEZ TORRES, JULIO         ADDRESS ON FILE
GOMEZ TORRES, LIZDELLY      ADDRESS ON FILE
Gomez Torres, Lolimar       ADDRESS ON FILE
GOMEZ TORRES, LOURDES       ADDRESS ON FILE
GOMEZ TORRES, LUIS          ADDRESS ON FILE
GOMEZ TORRES, LUZ           ADDRESS ON FILE
GOMEZ TORRES, MARIA         ADDRESS ON FILE
GOMEZ TORRES, MARIA D       ADDRESS ON FILE
GOMEZ TORRES, MARIA I       ADDRESS ON FILE
GOMEZ TORRES, MARISOL       ADDRESS ON FILE
GOMEZ TORRES, MIGDALIA      ADDRESS ON FILE
GOMEZ TORRES, MIGUEL        ADDRESS ON FILE
GOMEZ TORRES, MILDRED       ADDRESS ON FILE
GOMEZ TORRES, NELSON        ADDRESS ON FILE
GOMEZ TORRES, NIDIA         ADDRESS ON FILE
GOMEZ TORRES, OMAR          ADDRESS ON FILE
GOMEZ TORRES, SUREY         ADDRESS ON FILE
GOMEZ TORRES, ZENAIDA       ADDRESS ON FILE
GOMEZ TORRES,JEISA Y.       ADDRESS ON FILE
GOMEZ UMPIERRE, ELBA S      ADDRESS ON FILE
GOMEZ URENA, JOIDI          ADDRESS ON FILE
GOMEZ URIBE, WILL           ADDRESS ON FILE
GOMEZ UTSETT, HIRAM         ADDRESS ON FILE
Gomez Valerio, David        ADDRESS ON FILE
GOMEZ VALLEJO, HELGA M      ADDRESS ON FILE
GOMEZ VARGAS, JOSE          ADDRESS ON FILE
GOMEZ VARGAS, JOSE          ADDRESS ON FILE
GOMEZ VARGAS, RAMON         ADDRESS ON FILE
GOMEZ VAZQUEZ, ANTONIO L.   ADDRESS ON FILE
GOMEZ VAZQUEZ, ARMINDA      ADDRESS ON FILE
GOMEZ VAZQUEZ, CESAR        ADDRESS ON FILE
GOMEZ VAZQUEZ, DENITZA      ADDRESS ON FILE
GOMEZ VAZQUEZ, EDWIN        ADDRESS ON FILE
GOMEZ VAZQUEZ, ELIZABETH    ADDRESS ON FILE
GOMEZ VAZQUEZ, FRANCISCO    ADDRESS ON FILE
GOMEZ VAZQUEZ, JOSUE        ADDRESS ON FILE
GOMEZ VAZQUEZ, LAURA M.     ADDRESS ON FILE




                                                                        Page 3267 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3268 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gomez Vazquez, Luis R.        ADDRESS ON FILE
GOMEZ VAZQUEZ, LUIS RENE      ADDRESS ON FILE
GOMEZ VAZQUEZ, LYDIA ESTHER   ADDRESS ON FILE
GOMEZ VAZQUEZ, MARGARITA      ADDRESS ON FILE
Gomez Vazquez, Maria I        ADDRESS ON FILE
GOMEZ VAZQUEZ, MYRIANNE       ADDRESS ON FILE
GOMEZ VAZQUEZ, ROSA I         ADDRESS ON FILE
GOMEZ VAZQUEZ, RUTH E         ADDRESS ON FILE
GOMEZ VAZQUEZ, SONIA          ADDRESS ON FILE
GOMEZ VAZQUEZ, WILFREDO       ADDRESS ON FILE
GOMEZ VAZQUEZ, YOLANDA        ADDRESS ON FILE
GOMEZ VAZQUZ, NICOLAS         ADDRESS ON FILE
GOMEZ VEGA, ANGEL             ADDRESS ON FILE
GOMEZ VEGA, EDWIN             ADDRESS ON FILE
GOMEZ VEGA, EILEEN            ADDRESS ON FILE
GOMEZ VEGA, JULIA             ADDRESS ON FILE
GOMEZ VEGA, LUIS R            ADDRESS ON FILE
GOMEZ VELAZQUEZ MD, JOSE A    ADDRESS ON FILE
GOMEZ VELAZQUEZ, ANA H        ADDRESS ON FILE
GOMEZ VELAZQUEZ, CESAR E      ADDRESS ON FILE
GOMEZ VELAZQUEZ, ELVIS        ADDRESS ON FILE
GOMEZ VELAZQUEZ, ILEANETTE    ADDRESS ON FILE
Gomez Velazquez, Ramon L      ADDRESS ON FILE
Gomez Velazquez, Roberto      ADDRESS ON FILE
GOMEZ VELAZQUEZ, ROBERTO      ADDRESS ON FILE
GOMEZ VELAZQUEZ, SERGIO       ADDRESS ON FILE
GOMEZ VELEZ, AURORA           ADDRESS ON FILE
Gomez Velez, Edna W           ADDRESS ON FILE
GOMEZ VELEZ, EVA              ADDRESS ON FILE
GOMEZ VELEZ, HECTOR           ADDRESS ON FILE
Gomez Velez, Higinio          ADDRESS ON FILE
GOMEZ VELEZ, JOSE DEL         ADDRESS ON FILE
Gomez Velez, Jose Del C       ADDRESS ON FILE
GOMEZ VELEZ, LOURDES          ADDRESS ON FILE
GOMEZ VELEZ, MABEL            ADDRESS ON FILE
Gomez Velez, Nydia I          ADDRESS ON FILE
GOMEZ VELEZ, RAY              ADDRESS ON FILE
GOMEZ VELEZ, VILMA R.         ADDRESS ON FILE
GOMEZ VENTURA, CARLOS         ADDRESS ON FILE
GOMEZ VENTURA, JO SANDRA      ADDRESS ON FILE
GOMEZ VEULENS, ISIS           ADDRESS ON FILE
GOMEZ VICENTE, LILLIAN        ADDRESS ON FILE
GOMEZ VILANOVA, JULIO         ADDRESS ON FILE
GOMEZ VILLA, CARLOS           ADDRESS ON FILE
GOMEZ VILLEGA, ADAMARI        ADDRESS ON FILE
GOMEZ VISCAYA, JESUS          ADDRESS ON FILE
GOMEZ VISCAYA, JESUS D        ADDRESS ON FILE
GOMEZ VIZCARRONDO, ALMA R     ADDRESS ON FILE
GOMEZ YEJO, WANDA             ADDRESS ON FILE
GOMEZ YORDAN, ALFREDO         ADDRESS ON FILE
GOMEZ ZALDO, JOSE             ADDRESS ON FILE
GOMEZ ZAPATA, LISSA           ADDRESS ON FILE
GOMEZ ZAPATA, NINA            ADDRESS ON FILE
GOMEZ ZAPATA, WALESKA         ADDRESS ON FILE
Gomez Zayas, Iris V           ADDRESS ON FILE
GOMEZ ZAYAS, MARIA DE LOS A   ADDRESS ON FILE
GOMEZ, ANA C.                 ADDRESS ON FILE
GOMEZ, DANE                   ADDRESS ON FILE
GOMEZ, DIANA ALEXANDRA        ADDRESS ON FILE
GOMEZ, EDDIE                  ADDRESS ON FILE




                                                                          Page 3268 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                     Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3269 of 3500
                                                                             17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                 Address1                           Address2                                    Address3            Address4            City              State   PostalCode   Country
GOMEZ, EDNA C                 ADDRESS ON FILE
GOMEZ, EFRAIN                 ADDRESS ON FILE
GOMEZ, HELENA                 ADDRESS ON FILE
GOMEZ, HERNAN A.              ADDRESS ON FILE
GOMEZ, JANET                  ADDRESS ON FILE
GOMEZ, JOSE                   ADDRESS ON FILE
GOMEZ, LUIS                   ADDRESS ON FILE
Gomez, Luis A                 ADDRESS ON FILE
GOMEZ, LYDIA                  ADDRESS ON FILE
GOMEZ, MANUEL R.              ADDRESS ON FILE
GOMEZ, ROBINSON               ADDRESS ON FILE
GOMEZ, ROSA M                 ADDRESS ON FILE
GOMEZ, ROXANA                 ADDRESS ON FILE
GOMEZ, WILL ALFREDO           ADDRESS ON FILE
GOMEZ, YUDELKA                ADDRESS ON FILE
GOMEZ,FREDDY                  ADDRESS ON FILE
GOMEZ,LOURDES                 ADDRESS ON FILE
GOMEZ,PEDRO                   ADDRESS ON FILE
GOMEZRIVERA, JORGE            ADDRESS ON FILE
GOMEZRODRIGUEZ, SALVADOR      ADDRESS ON FILE
GOMEZSOTO, ENERYS             ADDRESS ON FILE
GOMEZVAZQUEZ, JUAN A          ADDRESS ON FILE
GOMEZVELAZQUEZ, DANIEL        ADDRESS ON FILE
GOMICENTRO LLERA              PO BOX 1834                                                                                                            CAYEY             PR      00737
GOMICENTRO LLERAS             PO BOX 1834                                                                                                            CAYEY             PR      00737
GOMICENTRO MONSERRATE         URB LOMA ALTA                      F‐7 CALLE 1                                                                         CAROLINA          PR      00987
GOMICENTRO PIPO               ROUND HILLS                        100 ORQUIDEAS E8                                                                    TRUJILLO ALTO     PR      00976‐2766
GOMIDES DE FREITAS, CAMILO    ADDRESS ON FILE
GOMILA CARABALLO, MADELINE    ADDRESS ON FILE
GOMILA FIGUEROA, CARLOS       ADDRESS ON FILE
GOMILA ROENA, JOSE            ADDRESS ON FILE
GOMILA ROHENA, MARIA ENID     ADDRESS ON FILE
GOMILA ROHENA, MARÍA ENID     LCDA. NELLYMARIE LÓPEZ DÍAZ        LCDA. NELLYMARIE LÓPEZ DÍAZ                 PO BOX 11155                            SAN JUAN          PR      00922‐1155
GOMILA ROHENA, MARÍA ENID     LCDO. ALEJANDRO FRANCO FERNÁNDEZ   LCDO. ALEJANDRO FRANCO FERNÁNDEZ            PO BOX 70313                            SAN JUAN          PR      00936‐8313
GOMILA ROHENA, MARÍA ENID     LCDO. DANIEL A. CACHO SERRANO      LCDO. DANIEL A. CACHO SERRANO               610 AVE. DE DIEGO   PUERTO NUEVO        SAN JUAN          PR      00920
                                                                                                                                 #138 AVE. WINSTON
GOMILA ROHENA, MARÍA ENID     LCDO. MIGUEL A. OLMEDO OTERO       LCDO. MIGUEL A. OLMEDO OTERO                PMB 914             CHURCHILL           SAN JUAN          PR      00926‐6013
GOMILA ROMERO PHD, RAFAEL     ADDRESS ON FILE
GOMILA ROMERO, ILCHA          ADDRESS ON FILE
GOMILA ROMERO, RAFAEL         ADDRESS ON FILE
GON AIR CONDTIONING SERVICE   1265 CALLE CANADA                                                                                                      SAN JUAN          PR      00921
GONALEZ ALVARADO, SAMUEL      ADDRESS ON FILE
GONALEZ RODRIGUEZ, MELVIN     ADDRESS ON FILE
GONARTY CORP                  PO BOX 982                                                                                                             LUQUILLO          PR      00773
GONAZALEZ DE JESUS, ERIC      ADDRESS ON FILE
GONAZALEZ REYES, VIVIANETTE   ADDRESS ON FILE
GONCALVES PEREIRA, MANUEL     ADDRESS ON FILE
GONCE SANTIAGO, HILDA L.      ADDRESS ON FILE
GONELL BAEZ, ROSA             ADDRESS ON FILE
GONELL FERMIN, ISMELDA        ADDRESS ON FILE
GONELL GUZMAN, NATALIE        ADDRESS ON FILE
GONELL PENA, LETY             ADDRESS ON FILE
GONELL PENA, VICTOR           ADDRESS ON FILE
GONEM LORENZO, AIXA Y         ADDRESS ON FILE
GONEM MARTINEZ, NANCY         ADDRESS ON FILE
GONEN MARTINEZ, ALBERTO       ADDRESS ON FILE
GONEZ MARTINEZ, EDGARDO       ADDRESS ON FILE
GONEZ MEJIA, JACQUELINE       ADDRESS ON FILE
GONEZ POMALES, LUZ M          ADDRESS ON FILE
GONGOE INVESTMENT CORP        PO BOX 364643                                                                                                          SAN JUAN          PR      00936‐4643




                                                                                           Page 3269 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                                Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3270 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                          Address1                  Address2                                   Address3   Address4   City            State   PostalCode   Country
GONGON COLON, ANDRES                   ADDRESS ON FILE
GONGON COLON, DORIS M.                 ADDRESS ON FILE
GONGON COLON, RAFAEL                   ADDRESS ON FILE
GONGON COLON, RAFAEL                   ADDRESS ON FILE
GONGON DEL TORO, EMILY                 ADDRESS ON FILE
GONGON DEL TORO, RAYMOND F             ADDRESS ON FILE
GONGON RAMOS, MATILDE                  ADDRESS ON FILE
GONGORA ESPADA, GILBERTO               ADDRESS ON FILE
GONI SEMIDEY, MICHELLE                 ADDRESS ON FILE
GONRI INC                              VALLE HERMOSO             R16 CALLE CEDRO                                                  HORMIGUEROS     PR      00660‐1403
GONSALVES DIBBS, PHILLIP               ADDRESS ON FILE
GONSALVES HERNANDEZ, MIGDALIA          ADDRESS ON FILE
GONSUA REALTY INC                      AREA DEL TESORO           DIVISION DE RECLAMACIONES                                        SAN JUAN        PR      00902‐4140
GONSUA REALTY INC                      P O BOX 1227                                                                               FAJARDO         PR      00738‐1227
GONSUA REALTY INC
GONZAELEZ RIVERA, ZORAYA               ADDRESS ON FILE
GONZAGA ALVARADO, ZUHJEILY             ADDRESS ON FILE
GONZAGA RODRIGUEZ, FRANCISCO           ADDRESS ON FILE
Gonzaga Rodriguez, Marta E             ADDRESS ON FILE
Gonzaga Santiago, Luis G               ADDRESS ON FILE
GONZAGUE CARDONA, WANDA I              ADDRESS ON FILE
GONZAGUE CUEVAS, MARIA J               ADDRESS ON FILE
GONZAGUE NAPOLEONI, ANGEL              ADDRESS ON FILE
GONZAGUE NAPOLEONI, NYDIA C            ADDRESS ON FILE
GONZAL Z VELEZ, ANGEL LUIS             ADDRESS ON FILE
GONZALE MURIEL, ALMA J                 ADDRESS ON FILE
GONZALE RIVERA, LISBELLE M             ADDRESS ON FILE
GONZALES ANDREU, DENISE M              ADDRESS ON FILE
GONZALES APONTE, ARIANA                ADDRESS ON FILE
GONZALES APONTE,CARLOS                 ADDRESS ON FILE
GONZALES ARIAS, MARCO                  ADDRESS ON FILE
GONZALES ARROYO, RAMONA                ADDRESS ON FILE
GONZALES BENITEZ, ANA                  ADDRESS ON FILE
GONZALES BENITEZ, NELSON E             ADDRESS ON FILE
Gonzales Chico, David                  ADDRESS ON FILE
GONZALES CLAUDIO, EUFEMIA              ADDRESS ON FILE
GONZALES CUEVAS, JOSE J.               ADDRESS ON FILE
GONZALES DIAZ, MAYDA                   ADDRESS ON FILE
GONZALES ENCARNACION, DORCAS R         ADDRESS ON FILE
GONZALES LEBRON, OMARIELIZ             ADDRESS ON FILE
GONZALES NERYS, SHEILLA                ADDRESS ON FILE
GONZALES NIEVES, MARIBEL               ADDRESS ON FILE
GONZALES PUCHALES, MARCELINO           ADDRESS ON FILE
GONZALES QUINONES, HECTOR              ADDRESS ON FILE
GONZALES QUIRINDONGO,EF                ADDRESS ON FILE
Gonzales Ramos, Edwin                  ADDRESS ON FILE
GONZALES REYES, ISIS                   ADDRESS ON FILE
GONZALES ROBLES, WILFREDO              ADDRESS ON FILE
GONZALES ROMAN,JOSE G.                 ADDRESS ON FILE
GONZALES SANTOS, JOSE G                ADDRESS ON FILE
GONZALES VAZQUEZ, ROBERTO              ADDRESS ON FILE
GONZALES VENDRELL, SWANHILDA           ADDRESS ON FILE
GONZALES,ENRIQUE                       ADDRESS ON FILE
GONZALES,JUAN A.                       ADDRESS ON FILE
GONZALES,WILLIAM O.                    ADDRESS ON FILE
GONZALEZ COLON , VERONICA              ADDRESS ON FILE
GONZALEZ JOFRE, MILAGROS               ADDRESS ON FILE
GONZALEZ OLMO, JOSE                    ADDRESS ON FILE
Gonzalez Pena, Alexander               ADDRESS ON FILE
GONZALEZ & SAMPAYO PROD DE SEGUROS CORPP O BOX 10213             CAPARRA HEIGTS STATION                                           SAN JUAN        PR      00922




                                                                                             Page 3270 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3271 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ & TEXIDOR PSC          P O BOX 6030 PMB 205                                                             CAROLINA     PR      00984
GONZÁLEZ , ROXANNA              ADDRESS ON FILE
GONZALEZ ABAD, MARIA D          ADDRESS ON FILE
GONZALEZ ABOLAFIA, JULIO        ADDRESS ON FILE
GONZALEZ ABREU, BRIAN           ADDRESS ON FILE
GONZALEZ ABREU, DORA T          ADDRESS ON FILE
GONZALEZ ABREU, EVELYN          ADDRESS ON FILE
GONZALEZ ABREU, INGRID          ADDRESS ON FILE
GONZALEZ ABRIL, SACHA           ADDRESS ON FILE
GONZALEZ ABRIL, SACHA           ADDRESS ON FILE
GONZALEZ ABUD, AMAURY           ADDRESS ON FILE
GONZALEZ ABUD, JEAN             ADDRESS ON FILE
GONZALEZ ACEVEDO, ADA E         ADDRESS ON FILE
GONZALEZ ACEVEDO, ADLIN L.      ADDRESS ON FILE
GONZALEZ ACEVEDO, ALEX          ADDRESS ON FILE
GONZALEZ ACEVEDO, AMADOR        ADDRESS ON FILE
GONZALEZ ACEVEDO, ANA L         ADDRESS ON FILE
GONZALEZ ACEVEDO, CHARLY        ADDRESS ON FILE
GONZALEZ ACEVEDO, DARIO         ADDRESS ON FILE
GONZALEZ ACEVEDO, DARIO A.      ADDRESS ON FILE
GONZALEZ ACEVEDO, DAVID         ADDRESS ON FILE
GONZALEZ ACEVEDO, EDMANUEL      ADDRESS ON FILE
Gonzalez Acevedo, Edwin         ADDRESS ON FILE
GONZALEZ ACEVEDO, EDWIN M       ADDRESS ON FILE
GONZALEZ ACEVEDO, EUNICE        ADDRESS ON FILE
GONZALEZ ACEVEDO, EVA           ADDRESS ON FILE
GONZALEZ ACEVEDO, EVELYN        ADDRESS ON FILE
GONZALEZ ACEVEDO, EVELYN        ADDRESS ON FILE
GONZALEZ ACEVEDO, EVELYN        ADDRESS ON FILE
GONZALEZ ACEVEDO, FAY MARIE     ADDRESS ON FILE
GONZALEZ ACEVEDO, FRANCELIS     ADDRESS ON FILE
GONZALEZ ACEVEDO, FRANCELYS     ADDRESS ON FILE
Gonzalez Acevedo, George        ADDRESS ON FILE
GONZALEZ ACEVEDO, GUILLERMINA   ADDRESS ON FILE
GONZALEZ ACEVEDO, HAROLD        ADDRESS ON FILE
Gonzalez Acevedo, Ismael        ADDRESS ON FILE
GONZALEZ ACEVEDO, ISMAEL        ADDRESS ON FILE
GONZALEZ ACEVEDO, ISMAEL        ADDRESS ON FILE
GONZALEZ ACEVEDO, ISRAEL        ADDRESS ON FILE
GONZALEZ ACEVEDO, ITZEL         ADDRESS ON FILE
GONZALEZ ACEVEDO, IVIA          ADDRESS ON FILE
GONZALEZ ACEVEDO, JEANNETTE     ADDRESS ON FILE
GONZALEZ ACEVEDO, JOEL I        ADDRESS ON FILE
GONZALEZ ACEVEDO, JOHANNA       ADDRESS ON FILE
GONZALEZ ACEVEDO, JOSE          ADDRESS ON FILE
GONZALEZ ACEVEDO, JOSE          ADDRESS ON FILE
GONZALEZ ACEVEDO, JOSELYN       ADDRESS ON FILE
Gonzalez Acevedo, Juan G.       ADDRESS ON FILE
GONZALEZ ACEVEDO, JUANITA       ADDRESS ON FILE
GONZALEZ ACEVEDO, KEISHA K      ADDRESS ON FILE
GONZALEZ ACEVEDO, KEVIN         ADDRESS ON FILE
GONZALEZ ACEVEDO, KEVIN         ADDRESS ON FILE
GONZALEZ ACEVEDO, LIDUVINA      ADDRESS ON FILE
GONZALEZ ACEVEDO, LINETTE       ADDRESS ON FILE
GONZALEZ ACEVEDO, LUCILA        ADDRESS ON FILE
GONZALEZ ACEVEDO, LUIS          ADDRESS ON FILE
Gonzalez Acevedo, Luis A.       ADDRESS ON FILE
GONZALEZ ACEVEDO, MARIANO       ADDRESS ON FILE
GONZALEZ ACEVEDO, MARILUZ       ADDRESS ON FILE
GONZALEZ ACEVEDO, MARITZA       ADDRESS ON FILE




                                                                            Page 3271 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3272 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                      Address1                    Address2                                 Address3               Address4     City         State   PostalCode   Country
GONZALEZ ACEVEDO, MARTA            ADDRESS ON FILE
GONZALEZ ACEVEDO, MARY             ADDRESS ON FILE
GONZALEZ ACEVEDO, MAYRA            ADDRESS ON FILE
GONZALEZ ACEVEDO, MIRTA I.         ADDRESS ON FILE
GONZALEZ ACEVEDO, MYRNA            ADDRESS ON FILE
GONZALEZ ACEVEDO, NICHOLE          ADDRESS ON FILE
GONZALEZ ACEVEDO, NORMA            ADDRESS ON FILE
GONZALEZ ACEVEDO, OLGA             ADDRESS ON FILE
GONZALEZ ACEVEDO, OMARA            ADDRESS ON FILE
GONZÁLEZ ACEVEDO, RAFAEL Y OTROS   LCDO. RAMÓN COLÓN OLIVO     LCDO. RAMÓN COLÓN OLIVO                  PO BOX 464                          TOA BAJA     PR      00951‐0464

GONZÁLEZ ACEVEDO, RAFAEL Y OTROS   LCDO. WILLIAM REYES ELÍAS   EDIF. UNION PLAZA                        416 AVE. Ponce DE LEÓN SUITE 1101   SAN JUAN     PR      00918
GONZALEZ ACEVEDO, RALPH            ADDRESS ON FILE
GONZALEZ ACEVEDO, RAMON            ADDRESS ON FILE
GONZALEZ ACEVEDO, RAUL             ADDRESS ON FILE
Gonzalez Acevedo, Rodymar          ADDRESS ON FILE
GONZALEZ ACEVEDO, ROSA I           ADDRESS ON FILE
GONZALEZ ACEVEDO, ROSISSELA        ADDRESS ON FILE
GONZALEZ ACEVEDO, SILVIA           ADDRESS ON FILE
GONZALEZ ACEVEDO, SUHEY            ADDRESS ON FILE
GONZALEZ ACEVEDO, SYLVIA           ADDRESS ON FILE
GONZALEZ ACEVEDO, VANESSA          ADDRESS ON FILE
GONZALEZ ACEVEDO, VICNERIS         ADDRESS ON FILE
GONZALEZ ACEVEDO, VICTOR           ADDRESS ON FILE
Gonzalez Acevedo, Victor J.        ADDRESS ON FILE
GONZALEZ ACEVEDO, WANDA I          ADDRESS ON FILE
GONZALEZ ACEVEDO, WILFREDO         ADDRESS ON FILE
GONZALEZ ACEVEDO, WILNELIA         ADDRESS ON FILE
GONZALEZ ACEVEDO, YANNISSE DEL C   ADDRESS ON FILE
GONZALEZ ACEVEDO, YETCENIA         ADDRESS ON FILE
GONZALEZ ACEVEDO, YETCENIA         ADDRESS ON FILE
GONZALEZ ACOSTA, ADOLFO            ADDRESS ON FILE
GONZALEZ ACOSTA, CARLOS J          ADDRESS ON FILE
GONZALEZ ACOSTA, CHRISTIAN         ADDRESS ON FILE
GONZALEZ ACOSTA, DAMASA            ADDRESS ON FILE
GONZALEZ ACOSTA, EDDER             ADDRESS ON FILE
GONZALEZ ACOSTA, EDDER             ADDRESS ON FILE
GONZALEZ ACOSTA, EMMA I            ADDRESS ON FILE
GONZALEZ ACOSTA, FELIX             ADDRESS ON FILE
GONZALEZ ACOSTA, JANIRA            ADDRESS ON FILE
GONZALEZ ACOSTA, JORGE             ADDRESS ON FILE
GONZALEZ ACOSTA, KARLA             ADDRESS ON FILE
Gonzalez Acosta, Maria De Los A    ADDRESS ON FILE
GONZALEZ ACOSTA, MIGDALIA          ADDRESS ON FILE
GONZALEZ ACOSTA, MILADY            ADDRESS ON FILE
GONZALEZ ACOSTA, NORMA I.          ADDRESS ON FILE
GONZALEZ ACOSTA, PATRICIA Y        ADDRESS ON FILE
GONZALEZ ACOSTA, RAUL              ADDRESS ON FILE
GONZALEZ ACOSTA, WALESKA           ADDRESS ON FILE
GONZALEZ ACOSTA, WANDALIZ          ADDRESS ON FILE
GONZALEZ ACOSTA, WILBERT           ADDRESS ON FILE
GONZALEZ ACOSTA, XAYMARA           ADDRESS ON FILE
GONZALEZ ACOSTA, YACKELINE         ADDRESS ON FILE
GONZALEZ ADAMES, CARLOS            ADDRESS ON FILE
GONZALEZ ADAMES, CARMEN            ADDRESS ON FILE
GONZALEZ ADAMES, DANIA             ADDRESS ON FILE
GONZALEZ ADAMES, FRANCISCO O       ADDRESS ON FILE
GONZALEZ ADAMES, OMAR F            ADDRESS ON FILE
GONZALEZ ADAMS, LUIS               ADDRESS ON FILE
GONZALEZ ADAMS, LUIS               ADDRESS ON FILE




                                                                                         Page 3272 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3273 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ADAMS, LUIS            ADDRESS ON FILE
GONZALEZ ADORNO MD, ZORELIZA    ADDRESS ON FILE
GONZALEZ ADORNO, DAMARIS        ADDRESS ON FILE
GONZALEZ ADORNO, IVELISSE       ADDRESS ON FILE
GONZALEZ ADORNO, JORGE L        ADDRESS ON FILE
GONZALEZ ADORNO, LUIS E         ADDRESS ON FILE
GONZALEZ ADORNO, MANUEL         ADDRESS ON FILE
GONZALEZ ADORNO, MARIA D        ADDRESS ON FILE
GONZALEZ ADORNO, MARTIN         ADDRESS ON FILE
GONZALEZ AFANADOR, BRENDA L     ADDRESS ON FILE
GONZALEZ AGENJO, JULIO          ADDRESS ON FILE
GONZALEZ AGOSTINI, ARIADNA      ADDRESS ON FILE
GONZALEZ AGOSTINI, IRMA         ADDRESS ON FILE
GONZALEZ AGOSTO, ADRIAN         ADDRESS ON FILE
GONZALEZ AGOSTO, AIDA           ADDRESS ON FILE
GONZALEZ AGOSTO, AIDA           ADDRESS ON FILE
GONZALEZ AGOSTO, GILBERTO       ADDRESS ON FILE
GONZALEZ AGOSTO, JAEL           ADDRESS ON FILE
GONZALEZ AGOSTO, JESSICA J      ADDRESS ON FILE
GONZALEZ AGOSTO, JOSE           ADDRESS ON FILE
GONZALEZ AGOSTO, LEOCADIO       ADDRESS ON FILE
GONZALEZ AGOSTO, LUIS           ADDRESS ON FILE
GONZALEZ AGOSTO, LUIS A         ADDRESS ON FILE
GONZALEZ AGOSTO, MAGDALIS       ADDRESS ON FILE
GONZALEZ AGOSTO, SANDRA         ADDRESS ON FILE
GONZALEZ AGOSTO, SANDRA         ADDRESS ON FILE
GONZALEZ AGOSTO, TAINA L        ADDRESS ON FILE
GONZALEZ AGRICULTURAL CO INC    PO BOX 278                                                                       SALINAS      PR      00704
GONZALEZ AGRONT MD, NELIDA      ADDRESS ON FILE
GONZALEZ AGRONT, GLADYS         ADDRESS ON FILE
GONZALEZ AGUAYO, ELINETTE       ADDRESS ON FILE
GONZALEZ AGUAYO, LUIS A         ADDRESS ON FILE
GONZALEZ AGUAYO, OSCAR          ADDRESS ON FILE
GONZALEZ AGUDO, JORGE           ADDRESS ON FILE
GONZALEZ AGUEDA, HECTOR L       ADDRESS ON FILE
GONZALEZ AGUIAR, ANTONIO        ADDRESS ON FILE
GONZALEZ AGUIAR, MARCOS A       ADDRESS ON FILE
GONZALEZ AGUILAR, LEISHLA       ADDRESS ON FILE
GONZALEZ AGUIRRE, CORALIS       ADDRESS ON FILE
GONZALEZ AHEDO, JOSE            ADDRESS ON FILE
GONZALEZ ALAMEDA, ANAMARIS      ADDRESS ON FILE
GONZALEZ ALAMEDA, EUGENIO       ADDRESS ON FILE
GONZALEZ ALAMO, HILDALINA       ADDRESS ON FILE
GONZALEZ ALAMO, INOCENCIO       ADDRESS ON FILE
GONZALEZ ALAMO, JANET           ADDRESS ON FILE
Gonzalez Alamo, Margarita       ADDRESS ON FILE
GONZALEZ ALAMO, NILSA           ADDRESS ON FILE
GONZALEZ ALAMO, SONIA I         ADDRESS ON FILE
GONZALEZ ALAMO, SYLVIA          ADDRESS ON FILE
GONZALEZ ALAMO, WANDA I         ADDRESS ON FILE
GONZALEZ ALAMO, YADIRA E.       ADDRESS ON FILE
GONZALEZ ALANCASTRO, JUANA      ADDRESS ON FILE
GONZALEZ ALARCON, MARGARITA     ADDRESS ON FILE
GONZALEZ ALAVA, BERTHA          ADDRESS ON FILE
GONZALEZ ALAVA, BERTHA I        ADDRESS ON FILE
GONZALEZ ALAVA, JOSE A.         ADDRESS ON FILE
GONZALEZ ALAYON, BRENDA L       ADDRESS ON FILE
GONZALEZ ALAYON, OLGA           ADDRESS ON FILE
GONZALEZ ALBALADEJO, CARMEN L   ADDRESS ON FILE
GONZALEZ ALBALADEJO, JOSSELYN   ADDRESS ON FILE




                                                                            Page 3273 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3274 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ALBARRACIN, MORAIMA         ADDRESS ON FILE
GONZALEZ ALBARRACIN, VANESSA         ADDRESS ON FILE
GONZALEZ ALBARRACIN, VANESSA         ADDRESS ON FILE
GONZALEZ ALBERT TRANSPORT SERVICES   INCORPORATED              HC 7 BOX 25121                                         PONCE        PR      00731
GONZALEZ ALBERT, ERIC                ADDRESS ON FILE
GONZALEZ ALBERTY, FRANCISCO          ADDRESS ON FILE
GONZALEZ ALBERTY, FRANCISCO          ADDRESS ON FILE
GONZALEZ ALBERTY, PEDRO              ADDRESS ON FILE
GONZALEZ ALBERTY, PEDRO A.           ADDRESS ON FILE
GONZALEZ ALBINO, JOSE                ADDRESS ON FILE
GONZALEZ ALCANT, MARCIA              ADDRESS ON FILE
GONZALEZ ALCANTARA, RAUL             ADDRESS ON FILE
GONZALEZ ALDAÑA MD, SHEILA           ADDRESS ON FILE
GONZALEZ ALDARONDO, EILEEN           ADDRESS ON FILE
GONZALEZ ALDARONDO, JOSUE            ADDRESS ON FILE
GONZALEZ ALDARONDO, JOSUE            ADDRESS ON FILE
GONZALEZ ALDREY, YATIANA             ADDRESS ON FILE
GONZALEZ ALECEA, ALFREDO             ADDRESS ON FILE
GONZALEZ ALEJANDRO, BEATRIZ          ADDRESS ON FILE
GONZALEZ ALEJANDRO, CARLOS A         ADDRESS ON FILE
GONZALEZ ALEJANDRO, GLADYS M         ADDRESS ON FILE
GONZALEZ ALEJANDRO, NYDIA E          ADDRESS ON FILE
GONZALEZ ALEJANDRO, WILLIAM          ADDRESS ON FILE
GONZALEZ ALEJANDRO, WILLIAM          ADDRESS ON FILE
GONZALEZ ALEMAN, JESUS               ADDRESS ON FILE
GONZALEZ ALEMAN, LORENZO             ADDRESS ON FILE
GONZALEZ ALFONSO, ARNALDO R.         ADDRESS ON FILE
GONZALEZ ALFONSO, MARIE              ADDRESS ON FILE
GONZALEZ ALFONSO, MARLIN             ADDRESS ON FILE
GONZALEZ ALGARIN, CARMEN I           ADDRESS ON FILE
GONZALEZ ALGARIN, SIXTO L.           ADDRESS ON FILE
GONZALEZ ALICEA, ALFREDO             ADDRESS ON FILE
GONZALEZ ALICEA, ANTONIO             ADDRESS ON FILE
GONZALEZ ALICEA, CARMEN L            ADDRESS ON FILE
GONZALEZ ALICEA, CONCEPCION          ADDRESS ON FILE
GONZALEZ ALICEA, EDGARDO             ADDRESS ON FILE
Gonzalez Alicea, Edward              ADDRESS ON FILE
GONZALEZ ALICEA, EDWARD              ADDRESS ON FILE
GONZALEZ ALICEA, GEORGINA            ADDRESS ON FILE
Gonzalez Alicea, Leslie A            ADDRESS ON FILE
GONZALEZ ALICEA, LODYS NICOLE        ADDRESS ON FILE
GONZALEZ ALICEA, MARIAN Y            ADDRESS ON FILE
Gonzalez Alicea, Monserrate          ADDRESS ON FILE
GONZALEZ ALICEA, PAULINA             ADDRESS ON FILE
GONZALEZ ALICEA, RAYMOND             ADDRESS ON FILE
GONZALEZ ALICEA, SANDRA              ADDRESS ON FILE
GONZALEZ ALICEA, SHEILA              ADDRESS ON FILE
GONZALEZ ALICEA, VANESSA             ADDRESS ON FILE
GONZALEZ ALICEA, WILLIAM             ADDRESS ON FILE
Gonzalez Alicea, Yamil J             ADDRESS ON FILE
GONZALEZ ALICEA, YAMILET             ADDRESS ON FILE
GONZALEZ ALICEA, YAMILL              ADDRESS ON FILE
GONZALEZ ALICEA, ZULEIKA             ADDRESS ON FILE
GONZALEZ ALICEA,YADIRA               ADDRESS ON FILE
GONZALEZ ALLENDE, ZAMIRA J.          ADDRESS ON FILE
Gonzalez Alma, David F               ADDRESS ON FILE
GONZALEZ ALMAGUER, RAUL E.           ADDRESS ON FILE
GONZALEZ ALMANZAR, ALEJANDRO         ADDRESS ON FILE
GONZALEZ ALMENA, FIDEL               ADDRESS ON FILE
GONZALEZ ALMEYDA, ALICIA             ADDRESS ON FILE




                                                                                 Page 3274 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3275 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ALMEYDA, FREDDIE         ADDRESS ON FILE
Gonzalez Almeyda, Luis E          ADDRESS ON FILE
GONZALEZ ALMODOVAR, CESAR J       ADDRESS ON FILE
GONZALEZ ALMODOVAR, CESAR J       ADDRESS ON FILE
GONZALEZ ALMODOVAR, JANNETTE      ADDRESS ON FILE
GONZALEZ ALMODOVAR, LUIS R        ADDRESS ON FILE
GONZALEZ ALMODOVAR, LUZ D.        ADDRESS ON FILE
GONZALEZ ALMONTE, AMAURY          ADDRESS ON FILE
GONZALEZ ALOM, ALEJANDRO          ADDRESS ON FILE
GONZALEZ ALONSO MD, LUIS A        ADDRESS ON FILE
GONZALEZ ALONSO, ANDRES           ADDRESS ON FILE
GONZALEZ ALONSO, DAVID            ADDRESS ON FILE
GONZALEZ ALONSO, JOSE             ADDRESS ON FILE
GONZALEZ ALONSO, MARIA            ADDRESS ON FILE
GONZALEZ ALONSO, RAFAEL           ADDRESS ON FILE
GONZALEZ ALONSO, VALERY           ADDRESS ON FILE
GONZALEZ ALONSO, VICENTE          ADDRESS ON FILE
GONZALEZ ALTIERI, IREITLA M       ADDRESS ON FILE
GONZALEZ ALTIERI, YANEIZA         ADDRESS ON FILE
GONZALEZ ALTRECHE, MILDRED        ADDRESS ON FILE
GONZALEZ ALVARADO, ARMINDA        ADDRESS ON FILE
GONZALEZ ALVARADO, CARLOS A       ADDRESS ON FILE
Gonzalez Alvarado, Danny D        ADDRESS ON FILE
GONZALEZ ALVARADO, DANNY D.       ADDRESS ON FILE
GONZALEZ ALVARADO, DERWIN         ADDRESS ON FILE
GONZALEZ ALVARADO, ELBA           ADDRESS ON FILE
GONZALEZ ALVARADO, ELISA          ADDRESS ON FILE
GONZALEZ ALVARADO, HECTOR         ADDRESS ON FILE
Gonzalez Alvarado, Jose L         ADDRESS ON FILE
GONZALEZ ALVARADO, LUIS           ADDRESS ON FILE
GONZALEZ ALVARADO, MANUEL A       ADDRESS ON FILE
GONZALEZ ALVARADO, MARISOL        ADDRESS ON FILE
GONZALEZ ALVARADO, MICHAEL        ADDRESS ON FILE
GONZALEZ ALVARADO, MIGDA M        ADDRESS ON FILE
GONZALEZ ALVARADO, MODESTA L      ADDRESS ON FILE
Gonzalez Alvarado, Norma I.       ADDRESS ON FILE
GONZALEZ ALVARADO, SAMUEL         ADDRESS ON FILE
GONZALEZ ALVARADO, WANDA E        ADDRESS ON FILE
GONZALEZ ALVARADO, WILLIAM        ADDRESS ON FILE
GONZALEZ ALVARADO, WILMA          ADDRESS ON FILE
Gonzalez Alvarez, Carlos Juan     ADDRESS ON FILE
GONZALEZ ALVAREZ, CARMEN          ADDRESS ON FILE
GONZALEZ ALVAREZ, EDWARD          ADDRESS ON FILE
GONZALEZ ALVAREZ, ELBA IVELISSE   ADDRESS ON FILE
GONZALEZ ALVAREZ, ELSA            ADDRESS ON FILE
GONZALEZ ALVAREZ, ELSA            ADDRESS ON FILE
GONZALEZ ALVAREZ, ELVIN           ADDRESS ON FILE
GONZALEZ ALVAREZ, ERNEL           ADDRESS ON FILE
GONZALEZ ALVAREZ, FLORA           ADDRESS ON FILE
GONZALEZ ALVAREZ, FRANCES         ADDRESS ON FILE
GONZALEZ ALVAREZ, GERMAN          ADDRESS ON FILE
GONZALEZ ALVAREZ, GILBERTO        ADDRESS ON FILE
GONZALEZ ALVAREZ, HECTOR          ADDRESS ON FILE
GONZALEZ ALVAREZ, HECTOR          ADDRESS ON FILE
GONZALEZ ALVAREZ, INEABELLE       ADDRESS ON FILE
GONZALEZ ALVAREZ, IRIS J.         ADDRESS ON FILE
GONZALEZ ALVAREZ, IXAIDA DE L     ADDRESS ON FILE
GONZALEZ ALVAREZ, JESUS           ADDRESS ON FILE
GONZALEZ ALVAREZ, JUAN            ADDRESS ON FILE
Gonzalez Alvarez, Juan F          ADDRESS ON FILE




                                                                              Page 3275 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                                    Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3276 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                        Address1                           Address2                                   Address3   Address4   City         State   PostalCode   Country
GONZALEZ ALVAREZ, KELMY              ADDRESS ON FILE
GONZALEZ ALVAREZ, KEVIN              ADDRESS ON FILE
GONZALEZ ALVAREZ, MANUEL             ADDRESS ON FILE
GONZALEZ ALVAREZ, MARIA E            ADDRESS ON FILE
GONZALEZ ALVAREZ, MARITZA            ADDRESS ON FILE
GONZALEZ ALVAREZ, MARITZA            ADDRESS ON FILE
GONZALEZ ALVAREZ, MARY ANN           ADDRESS ON FILE
GONZALEZ ALVAREZ, MIGUEL A           ADDRESS ON FILE
GONZALEZ ALVAREZ, MILAGROS           ADDRESS ON FILE
GONZALEZ ALVAREZ, NANCY              ADDRESS ON FILE
GONZALEZ ALVAREZ, NELSON G           ADDRESS ON FILE
GONZALEZ ALVAREZ, NIANTI E           ADDRESS ON FILE
GONZALEZ ALVAREZ, NORMA E            ADDRESS ON FILE
GONZALEZ ALVAREZ, OMAR               ADDRESS ON FILE
GONZALEZ ALVAREZ, ORIALIZ            ADDRESS ON FILE
GONZALEZ ALVAREZ, RAMONITA           ADDRESS ON FILE
GONZALEZ ALVAREZ, SHEILA             ADDRESS ON FILE
GONZALEZ ALVAREZ, SHEILA J.          ADDRESS ON FILE
GONZALEZ ALVAREZ, VANESSA            ADDRESS ON FILE
GONZALEZ ALVAREZ, VICTOR             ADDRESS ON FILE
GONZALEZ ALVAREZ, WANDA              ADDRESS ON FILE
GONZALEZ ALVAREZ, WANDA              ADDRESS ON FILE
Gonzalez Alvarez, Wanda I            ADDRESS ON FILE
Gonzalez Alvarez, Wilfredo           ADDRESS ON FILE
GONZALEZ ALVAREZ, WILFREDO           ADDRESS ON FILE
GONZALEZ ALVAREZ, YAMIL              ADDRESS ON FILE
GONZALEZ ALVAREZ, YARIMAR            ADDRESS ON FILE
GONZALEZ ALVELO, CARLOS              ADDRESS ON FILE
GONZALEZ ALVERI, VANESSA             ADDRESS ON FILE
GONZALEZ ALVERIO, FRANKL             ADDRESS ON FILE
GONZALEZ ALVERIO, LUIS D.            ADDRESS ON FILE
GONZALEZ ALVIRA, HECTOR M.           ADDRESS ON FILE
GONZALEZ ALVIRA, HECTOR M.           ADDRESS ON FILE
GONZALEZ ALVIRA, IRIS                ADDRESS ON FILE
GONZALEZ AMADOR DISTRIBUTOR INC.     #35JC‐D BOURBON SUITE 67                                                                            GUAYNABO     PR      00969‐5375
GONZALEZ AMADOR DISTRIBUTORS         PMB 312 35 JC DE BORBON SUITE 67                                                                    GUAYNABO     PR      00969‐5375
GONZALEZ AMADOR DISTRIBUTORS INC     JARDINES REALES SHOPPING           35 CALLE JUAN C BORBON STE 67 PMB 312                            GUAYNABO     PR      00969‐5375
GONZALEZ AMADOR, ALBA N              ADDRESS ON FILE
Gonzalez Amador, Daniel              ADDRESS ON FILE
GONZALEZ AMADOR, RAQUEL              ADDRESS ON FILE
GONZALEZ AMADOR, VICTOR              ADDRESS ON FILE
GONZALEZ AMADOR, VICTOR              ADDRESS ON FILE
GONZALEZ AMARO, CARMEN D             ADDRESS ON FILE
GONZALEZ AMARO, YAJAIRA              ADDRESS ON FILE
GONZALEZ AMEZQUITA, LUIS             ADDRESS ON FILE
GONZALEZ AMILIVIA, FELIX             ADDRESS ON FILE
Gonzalez Amill, Felix J              ADDRESS ON FILE
GONZALEZ AMOROS, JOSE L              ADDRESS ON FILE
GONZALEZ AMOROS, JOSE L              ADDRESS ON FILE
Gonzalez Anaya, Candido              ADDRESS ON FILE
GONZALEZ ANAYA, ROSANA               ADDRESS ON FILE
GONZALEZ AND GONZALEZ PRODUCTS INC   HC 05 BOX 10733                                                                                     MOCA         PR      00676
GONZALEZ ANDALUZ, LINO A.            ADDRESS ON FILE
GONZALEZ ANDALUZ, NEFTALI            ADDRESS ON FILE
GONZALEZ ANDALUZ, TIRSA M            ADDRESS ON FILE
GONZALEZ ANDINO, ANA V               ADDRESS ON FILE
GONZALEZ ANDINO, ANDRES              ADDRESS ON FILE
GONZALEZ ANDINO, ANIBAL              ADDRESS ON FILE
GONZALEZ ANDINO, ANIBAL              ADDRESS ON FILE
GONZALEZ ANDINO, CARLOS J            ADDRESS ON FILE




                                                                                                    Page 3276 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3277 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ANDINO, CLARA L          ADDRESS ON FILE
GONZALEZ ANDINO, JULIO C          ADDRESS ON FILE
GONZALEZ ANDINO, LORNA M.         ADDRESS ON FILE
GONZALEZ ANDINO, LUZ D            ADDRESS ON FILE
GONZALEZ ANDINO, MYRIAM           ADDRESS ON FILE
GONZALEZ ANDINO, NELSON           ADDRESS ON FILE
GONZALEZ ANDINO, OMAR E.          ADDRESS ON FILE
GONZALEZ ANDRADE, AIDA I          ADDRESS ON FILE
GONZALEZ ANDRADES, AGUSTINA       ADDRESS ON FILE
GONZALEZ ANDRADES, GRACIELA       ADDRESS ON FILE
GONZALEZ ANDREU, DENISE           ADDRESS ON FILE
GONZALEZ ANDUJAR, ANDRES          ADDRESS ON FILE
GONZALEZ ANDUJAR, DORMA           ADDRESS ON FILE
GONZALEZ ANDUJAR, ISABEL          ADDRESS ON FILE
GONZALEZ ANDUJAR, LUISETTE        ADDRESS ON FILE
GONZALEZ ANDUJAR, RICHARD         ADDRESS ON FILE
GONZALEZ ANDUJAR, ZAIDA           ADDRESS ON FILE
GONZALEZ ANESES, YESENIA          ADDRESS ON FILE
GONZALEZ ANGLERO, ANA L           ADDRESS ON FILE
GONZALEZ ANGLERO, FELIX           ADDRESS ON FILE
GONZALEZ ANGLERO, JENNY           ADDRESS ON FILE
GONZALEZ ANGUEIRA, WILLIAM        ADDRESS ON FILE
GONZALEZ ANTEGUERRA, BENJAMIN     ADDRESS ON FILE
GONZALEZ ANTEQUERA, BLANCA        ADDRESS ON FILE
GONZALEZ ANTONETTY, MANUEL        ADDRESS ON FILE
GONZALEZ ANTONGIORGI, LYNNETTE    ADDRESS ON FILE
GONZALEZ ANTONGIORGI, WILSON      ADDRESS ON FILE
GONZALEZ ANTONGIORGI, WILSON      ADDRESS ON FILE
GONZALEZ ANTONI, RAFAELA N        ADDRESS ON FILE
GONZALEZ ANTONMARCHI, JOSE        ADDRESS ON FILE
GONZALEZ ANTONMARCHI, MARIVETTE   ADDRESS ON FILE
GONZALEZ APONTE, ADA              ADDRESS ON FILE
GONZALEZ APONTE, ALEJANDRINA      ADDRESS ON FILE
GONZALEZ APONTE, ANDREI J         ADDRESS ON FILE
Gonzalez Aponte, Angel            ADDRESS ON FILE
GONZALEZ APONTE, ANGEL            ADDRESS ON FILE
GONZALEZ APONTE, ARIEL            ADDRESS ON FILE
GONZALEZ APONTE, BRENDA           ADDRESS ON FILE
Gonzalez Aponte, Carlos A         ADDRESS ON FILE
GONZALEZ APONTE, CARLOS J         ADDRESS ON FILE
Gonzalez Aponte, Carlos R         ADDRESS ON FILE
GONZALEZ APONTE, CARMEN CECILIA   ADDRESS ON FILE
GONZALEZ APONTE, DIMARY           ADDRESS ON FILE
GONZALEZ APONTE, EDWIN            ADDRESS ON FILE
GONZALEZ APONTE, EDWIN            ADDRESS ON FILE
GONZALEZ APONTE, ELVIRA           ADDRESS ON FILE
GONZALEZ APONTE, FERNANDO         ADDRESS ON FILE
GONZALEZ APONTE, GIOVANY          ADDRESS ON FILE
GONZALEZ APONTE, HILDA            ADDRESS ON FILE
GONZALEZ APONTE, JAVIER E.        ADDRESS ON FILE
GONZALEZ APONTE, JENNIFER M       ADDRESS ON FILE
GONZALEZ APONTE, JOEL             ADDRESS ON FILE
GONZALEZ APONTE, JOSE A.          ADDRESS ON FILE
GONZALEZ APONTE, JOSE J           ADDRESS ON FILE
GONZALEZ APONTE, LISANDRA         ADDRESS ON FILE
GONZALEZ APONTE, MARILYN          ADDRESS ON FILE
GONZALEZ APONTE, MARILYN          ADDRESS ON FILE
GONZALEZ APONTE, MIRIAM           ADDRESS ON FILE
GONZALEZ APONTE, MIRIAM EUNICE    ADDRESS ON FILE
GONZALEZ APONTE, ORLANDO          ADDRESS ON FILE




                                                                              Page 3277 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3278 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ APONTE, PEDRO          ADDRESS ON FILE
GONZALEZ APONTE, ROSA M         ADDRESS ON FILE
GONZALEZ APONTE, SILVINA        ADDRESS ON FILE
GONZALEZ APONTE, TEDDY          ADDRESS ON FILE
GONZALEZ APONTE, YAEXA N        ADDRESS ON FILE
GONZALEZ AQUINO MD, CARLOS      ADDRESS ON FILE
GONZALEZ AQUINO, ANAYDA         ADDRESS ON FILE
GONZALEZ AQUINO, ANGEL G        ADDRESS ON FILE
GONZALEZ AQUINO, CARLOS         ADDRESS ON FILE
GONZALEZ AQUINO, CARLOS J       ADDRESS ON FILE
GONZALEZ AQUINO, DANIEL         ADDRESS ON FILE
GONZALEZ AQUINO, DERILIZ        ADDRESS ON FILE
GONZALEZ AQUINO, EFIGENIO       ADDRESS ON FILE
Gonzalez Aquino, Jose A         ADDRESS ON FILE
GONZALEZ AQUINO, JUAN           ADDRESS ON FILE
GONZALEZ AQUINO, SANDRA         ADDRESS ON FILE
GONZALEZ AQUINO, SANDRA         ADDRESS ON FILE
GONZALEZ AQUINO, XAVIER         ADDRESS ON FILE
GONZALEZ ARAUZ, EDGARDO         ADDRESS ON FILE
GONZALEZ ARBELO, GABRIEL        ADDRESS ON FILE
GONZALEZ ARBONA, MARISOL        ADDRESS ON FILE
GONZALEZ ARBONA, MARISOL        ADDRESS ON FILE
GONZALEZ ARCE MD, ISMAEL        ADDRESS ON FILE
GONZALEZ ARCE, ANGEL E.         ADDRESS ON FILE
Gonzalez Arce, Bernabe          ADDRESS ON FILE
GONZALEZ ARCE, BERNABE          ADDRESS ON FILE
GONZALEZ ARCE, CARMEN M         ADDRESS ON FILE
GONZALEZ ARCE, CAROL            ADDRESS ON FILE
GONZALEZ ARCE, FREDDIE E        ADDRESS ON FILE
GONZALEZ ARCE, FREDDY           ADDRESS ON FILE
GONZALEZ ARCE, JESEN            ADDRESS ON FILE
GONZALEZ ARCE, JOSE             ADDRESS ON FILE
GONZALEZ ARCE, JOSE A           ADDRESS ON FILE
GONZALEZ ARCE, JUAN             ADDRESS ON FILE
GONZALEZ ARCE, JUAN A           ADDRESS ON FILE
GONZALEZ ARCE, JUAN C           ADDRESS ON FILE
GONZALEZ ARCE, MADELINE         ADDRESS ON FILE
GONZALEZ ARCE, MARGARITA        ADDRESS ON FILE
GONZALEZ ARCE, MIGDALIA         ADDRESS ON FILE
GONZALEZ ARCE, OLGA I           ADDRESS ON FILE
GONZALEZ ARDIN, EDGARDO         ADDRESS ON FILE
GONZALEZ ARES, JESUS            ADDRESS ON FILE
GONZALEZ AREVALO, MOISES        ADDRESS ON FILE
GONZALEZ ARGUELLES, ADALBERTO   ADDRESS ON FILE
GONZALEZ ARGUELLES, MANUEL      ADDRESS ON FILE
GONZALEZ ARGUELLES, PILAR C     ADDRESS ON FILE
GONZALEZ ARIAS, MARIA DE        ADDRESS ON FILE
GONZALEZ ARIAS, MARIA DE L      ADDRESS ON FILE
GONZALEZ ARICO, VICTOR          ADDRESS ON FILE
GONZALEZ ARIMONT, ALEXANDER     ADDRESS ON FILE
GONZALEZ ARIMONT, RENEE F       ADDRESS ON FILE
GONZALEZ ARISTUD, MARIBEL       ADDRESS ON FILE
GONZALEZ ARISTUD, NADINA        ADDRESS ON FILE
GONZALEZ AROCHO, AWILDA         ADDRESS ON FILE
GONZALEZ AROCHO, DANIEL         ADDRESS ON FILE
GONZALEZ AROCHO, EDELMIRA       ADDRESS ON FILE
GONZALEZ AROCHO, EDWIN          ADDRESS ON FILE
GONZALEZ AROCHO, ERMITANIO      ADDRESS ON FILE
GONZALEZ AROCHO, GLENDA         ADDRESS ON FILE
GONZALEZ AROCHO, GLENDA LIZ     ADDRESS ON FILE




                                                                            Page 3278 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3279 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ AROCHO, GLORIMAR       ADDRESS ON FILE
GONZALEZ AROCHO, JAISON         ADDRESS ON FILE
GONZALEZ AROCHO, JANELLE        ADDRESS ON FILE
GONZALEZ AROCHO, JANNIRIS       ADDRESS ON FILE
GONZALEZ AROCHO, JOSE           ADDRESS ON FILE
GONZALEZ AROCHO, JOSE           ADDRESS ON FILE
GONZALEZ AROCHO, JOSE A.        ADDRESS ON FILE
GONZALEZ AROCHO, LYDIA          ADDRESS ON FILE
GONZALEZ AROCHO, MARYLINE       ADDRESS ON FILE
GONZALEZ AROCHO, MIGUEL         ADDRESS ON FILE
GONZALEZ AROCHO, NYDIA          ADDRESS ON FILE
GONZALEZ AROCHO, ROSALY         ADDRESS ON FILE
GONZALEZ AROCHO,ALBERTO G.      ADDRESS ON FILE
Gonzalez Aromi, Felix           ADDRESS ON FILE
GONZALEZ ARONT, CINDY           ADDRESS ON FILE
GONZALEZ ARRAVAL, MARIA         ADDRESS ON FILE
GONZALEZ ARRIETA, ELENA         ADDRESS ON FILE
GONZALEZ ARRIETA, ENRIQUE       ADDRESS ON FILE
GONZALEZ ARROCHO, JAIME         ADDRESS ON FILE
GONZALEZ ARROYO MD, EFRAIN      ADDRESS ON FILE
GONZALEZ ARROYO, ABRAHAM        ADDRESS ON FILE
GONZALEZ ARROYO, ADA L          ADDRESS ON FILE
GONZALEZ ARROYO, ANGEL          ADDRESS ON FILE
GONZALEZ ARROYO, ARACELIS       ADDRESS ON FILE
GONZALEZ ARROYO, CARLOS         ADDRESS ON FILE
GONZALEZ ARROYO, CARLOS R       ADDRESS ON FILE
GONZALEZ ARROYO, CAROLINE       ADDRESS ON FILE
GONZALEZ ARROYO, CYNTHIA        ADDRESS ON FILE
GONZALEZ ARROYO, EDIBERTO       ADDRESS ON FILE
GONZALEZ ARROYO, EDWIN          ADDRESS ON FILE
GONZALEZ ARROYO, ELIA E         ADDRESS ON FILE
GONZALEZ ARROYO, ELVIN A.       ADDRESS ON FILE
GONZALEZ ARROYO, ERICA          ADDRESS ON FILE
GONZALEZ ARROYO, HARRY          ADDRESS ON FILE
GONZALEZ ARROYO, HARRY J        ADDRESS ON FILE
GONZALEZ ARROYO, HECTOR         ADDRESS ON FILE
GONZALEZ ARROYO, HECTOR         ADDRESS ON FILE
GONZALEZ ARROYO, HECTOR         ADDRESS ON FILE
Gonzalez Arroyo, Hector M       ADDRESS ON FILE
GONZALEZ ARROYO, HERISON        ADDRESS ON FILE
GONZALEZ ARROYO, HERISON        ADDRESS ON FILE
GONZALEZ ARROYO, IRIS Y         ADDRESS ON FILE
GONZALEZ ARROYO, IRIS Y         ADDRESS ON FILE
GONZALEZ ARROYO, IVETTE         ADDRESS ON FILE
GONZALEZ ARROYO, JAVIER         ADDRESS ON FILE
GONZALEZ ARROYO, JAVIER B.      ADDRESS ON FILE
GONZALEZ ARROYO, JAVIER E       ADDRESS ON FILE
Gonzalez Arroyo, Jesus M        ADDRESS ON FILE
Gonzalez Arroyo, Jimmy          ADDRESS ON FILE
GONZALEZ ARROYO, JOANNA         ADDRESS ON FILE
GONZALEZ ARROYO, JOEL           ADDRESS ON FILE
GONZALEZ ARROYO, JOSE           ADDRESS ON FILE
GONZALEZ ARROYO, JUSTINA        ADDRESS ON FILE
GONZALEZ ARROYO, LUIS           ADDRESS ON FILE
GONZALEZ ARROYO, LUIS A.        ADDRESS ON FILE
GONZALEZ ARROYO, MADELINE       ADDRESS ON FILE
Gonzalez Arroyo, Marcos Y.      ADDRESS ON FILE
GONZALEZ ARROYO, MARGARITA      ADDRESS ON FILE
GONZALEZ ARROYO, MARIA          ADDRESS ON FILE
GONZALEZ ARROYO, MARIA DEL C.   ADDRESS ON FILE




                                                                            Page 3279 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3280 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ARROYO, MARIA L.     ADDRESS ON FILE
Gonzalez Arroyo, Marileida    ADDRESS ON FILE
GONZALEZ ARROYO, MARILUZ      ADDRESS ON FILE
GONZALEZ ARROYO, MARYBEL      ADDRESS ON FILE
GONZALEZ ARROYO, MURIEL       ADDRESS ON FILE
GONZALEZ ARROYO, NILSA        ADDRESS ON FILE
GONZALEZ ARROYO, NOEMI        ADDRESS ON FILE
GONZALEZ ARROYO, RAFAEL       ADDRESS ON FILE
GONZALEZ ARROYO, RAMON        ADDRESS ON FILE
GONZALEZ ARROYO, ROBERTO R.   ADDRESS ON FILE
GONZALEZ ARSUAGA, MARIA       ADDRESS ON FILE
GONZALEZ ARVELO, ABNIER       ADDRESS ON FILE
GONZALEZ ARVELO, ANNABELLE    ADDRESS ON FILE
GONZALEZ ARVELO, ANNABELLE    ADDRESS ON FILE
GONZALEZ ARVELO, CARMEN L     ADDRESS ON FILE
GONZALEZ ARVELO, FRANCES      ADDRESS ON FILE
GONZALEZ ARVELO, FRANK        ADDRESS ON FILE
GONZALEZ ARVELO, MIGUEL       ADDRESS ON FILE
GONZALEZ ARZUAGA, HECTOR      ADDRESS ON FILE
GONZALEZ ASCAR, GIANCARLO     ADDRESS ON FILE
Gonzalez Astacio, Carlos W.   ADDRESS ON FILE
GONZALEZ ASTACIO, JOSE        ADDRESS ON FILE
GONZALEZ ATILES, MARIA        ADDRESS ON FILE
GONZALEZ ATWOOD, WILFREDO A   ADDRESS ON FILE
GONZALEZ AUGUSTO, EDUARDO     ADDRESS ON FILE
GONZALEZ AULET, DIANA E       ADDRESS ON FILE
GONZALEZ AVILA, NOEMI         ADDRESS ON FILE
GONZALEZ AVILES, ANA G        ADDRESS ON FILE
GONZALEZ AVILES, ANDRES       ADDRESS ON FILE
GONZALEZ AVILES, AUREA        ADDRESS ON FILE
GONZALEZ AVILES, CARLOS J     ADDRESS ON FILE
GONZALEZ AVILES, DAISY        ADDRESS ON FILE
GONZALEZ AVILES, DANIEL       ADDRESS ON FILE
GONZALEZ AVILES, EDLIN        ADDRESS ON FILE
GONZALEZ AVILES, EDUARDO      ADDRESS ON FILE
GONZALEZ AVILES, FELIX        ADDRESS ON FILE
GONZALEZ AVILES, HAROLD       ADDRESS ON FILE
GONZALEZ AVILES, HARRY        ADDRESS ON FILE
GONZALEZ AVILES, HECTOR       ADDRESS ON FILE
GONZALEZ AVILES, IRIS M       ADDRESS ON FILE
GONZALEZ AVILES, IVELISSE     ADDRESS ON FILE
GONZALEZ AVILES, JESSICA      ADDRESS ON FILE
GONZALEZ AVILES, JESSICA      ADDRESS ON FILE
GONZALEZ AVILES, JORGE        ADDRESS ON FILE
GONZALEZ AVILES, JORGE        ADDRESS ON FILE
GONZALEZ AVILES, JOSE         ADDRESS ON FILE
Gonzalez Aviles, Jose R       ADDRESS ON FILE
GONZALEZ AVILES, LUIS         ADDRESS ON FILE
GONZALEZ AVILES, LUIS E       ADDRESS ON FILE
GONZALEZ AVILES, MAYRA I      ADDRESS ON FILE
GONZALEZ AVILES, MERLINES     ADDRESS ON FILE
GONZALEZ AVILES, MIGUELINA    ADDRESS ON FILE
GONZALEZ AVILES, MINERVA      ADDRESS ON FILE
GONZALEZ AVILES, NELLY E      ADDRESS ON FILE
GONZALEZ AVILES, NORMA        ADDRESS ON FILE
GONZALEZ AVILES, NYDIA        ADDRESS ON FILE
GONZALEZ AVILES, SASHA        ADDRESS ON FILE
GONZALEZ AVILES, SAUL         ADDRESS ON FILE
GONZALEZ AVILES, ZUHEILY      ADDRESS ON FILE
GONZALEZ AYALA, ABDIER R      ADDRESS ON FILE




                                                                          Page 3280 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3281 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ AYALA, ABIMAEL        ADDRESS ON FILE
GONZALEZ AYALA, CARLOS M       ADDRESS ON FILE
Gonzalez Ayala, Daniel         ADDRESS ON FILE
GONZALEZ AYALA, EDDIE          ADDRESS ON FILE
GONZALEZ AYALA, ELIU           ADDRESS ON FILE
GONZALEZ AYALA, GLORIMAR       ADDRESS ON FILE
Gonzalez Ayala, Hector L.      ADDRESS ON FILE
GONZALEZ AYALA, IRIS J         ADDRESS ON FILE
GONZALEZ AYALA, IRIS N         ADDRESS ON FILE
GONZALEZ AYALA, JAIME          ADDRESS ON FILE
GONZALEZ AYALA, JEANNETTE      ADDRESS ON FILE
GONZALEZ AYALA, JOSE           ADDRESS ON FILE
GONZALEZ AYALA, JOSE A.        ADDRESS ON FILE
GONZALEZ AYALA, JUAN           ADDRESS ON FILE
GONZALEZ AYALA, JUAN           ADDRESS ON FILE
GONZALEZ AYALA, LAURA E        ADDRESS ON FILE
GONZALEZ AYALA, LOURDES        ADDRESS ON FILE
Gonzalez Ayala, Lourdes I      ADDRESS ON FILE
GONZALEZ AYALA, MARIA I.       ADDRESS ON FILE
GONZALEZ AYALA, MARIBEL        ADDRESS ON FILE
GONZALEZ AYALA, MARISOL        ADDRESS ON FILE
GONZALEZ AYALA, MARTHA I       ADDRESS ON FILE
GONZALEZ AYALA, MARTHA I       ADDRESS ON FILE
GONZALEZ AYALA, MARTIN O       ADDRESS ON FILE
GONZALEZ AYALA, MAYRA          ADDRESS ON FILE
GONZALEZ AYALA, MAYRA J.       ADDRESS ON FILE
GONZALEZ AYALA, MICHAEL        ADDRESS ON FILE
GONZALEZ AYALA, MICHELLE M     ADDRESS ON FILE
GONZALEZ AYALA, MIGUEL         ADDRESS ON FILE
GONZALEZ AYALA, MIRTA          ADDRESS ON FILE
GONZALEZ AYALA, NERVIS         ADDRESS ON FILE
GONZALEZ AYALA, NORA ENID      ADDRESS ON FILE
GONZALEZ AYALA, ROSA I         ADDRESS ON FILE
GONZALEZ AYALA, SANDRA I.      ADDRESS ON FILE
GONZALEZ AYALA, SHEILA D.      ADDRESS ON FILE
GONZALEZ AYALA, SIOMARA        ADDRESS ON FILE
GONZALEZ AYALA, WINDA I.       ADDRESS ON FILE
GONZALEZ AYBAR, JEANIE         ADDRESS ON FILE
GONZALEZ AYBAR, RAMONA A.      ADDRESS ON FILE
GONZALEZ AYUSO, KAMIL          ADDRESS ON FILE
GONZALEZ AYUSO, MILKA          ADDRESS ON FILE
Gonzalez Ayuso, Milka          ADDRESS ON FILE
GONZALEZ AYUSO, NAHOMI         ADDRESS ON FILE
GONZALEZ AYUSO, NAHOMI         ADDRESS ON FILE
GONZALEZ AZCUY JR, MANUEL      ADDRESS ON FILE
GONZALEZ BABILONI, MIGDALIA    ADDRESS ON FILE
Gonzalez Babiloni, Wilfredo    ADDRESS ON FILE
GONZALEZ BABILONIA, LAURA L    ADDRESS ON FILE
GONZALEZ BACETI, MIGUEL A      ADDRESS ON FILE
GONZALEZ BACETTY, MYRIAM M     ADDRESS ON FILE
GONZALEZ BACETTY, NICSY M      ADDRESS ON FILE
GONZALEZ BACETTY, NILDA M      ADDRESS ON FILE
GONZALEZ BACETY, OLGA I        ADDRESS ON FILE
GONZALEZ BACO, TERESA          ADDRESS ON FILE
GONZALEZ BADILLO MD, ORLANDO   ADDRESS ON FILE
GONZALEZ BADILLO, ANGEL L      ADDRESS ON FILE
GONZALEZ BADILLO, CARLOS       ADDRESS ON FILE
GONZALEZ BADILLO, CINDY        ADDRESS ON FILE
GONZALEZ BADILLO, EMMANUEL     ADDRESS ON FILE
GONZALEZ BADILLO, GERMAN       ADDRESS ON FILE




                                                                           Page 3281 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3282 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ BADILLO, IVETTE      ADDRESS ON FILE
GONZALEZ BADILLO, LEMUEL      ADDRESS ON FILE
GONZALEZ BADILLO, MARGARITA   ADDRESS ON FILE
GONZALEZ BADILLO, MARYBEL     ADDRESS ON FILE
GONZALEZ BADILLO, OMAR        ADDRESS ON FILE
GONZALEZ BADILLO, OMAR        ADDRESS ON FILE
GONZALEZ BADILLO, TAYRA E     ADDRESS ON FILE
Gonzalez Baez, Benjamin       ADDRESS ON FILE
GONZALEZ BAEZ, BENNY          ADDRESS ON FILE
GONZALEZ BAEZ, BENNY L        ADDRESS ON FILE
GONZALEZ BAEZ, CHRISTIAN      ADDRESS ON FILE
GONZALEZ BAEZ, ENEIDALICE     ADDRESS ON FILE
GONZALEZ BAEZ, FRANCISCO      ADDRESS ON FILE
GONZALEZ BAEZ, GERTRUDIS      ADDRESS ON FILE
GONZALEZ BAEZ, GILBERTO       ADDRESS ON FILE
Gonzalez Baez, Hilda          ADDRESS ON FILE
GONZALEZ BAEZ, JOAN M.        ADDRESS ON FILE
GONZALEZ BAEZ, JOHN M.        ADDRESS ON FILE
GONZALEZ BAEZ, JOSE           ADDRESS ON FILE
GONZALEZ BAEZ, JOSE A.        ADDRESS ON FILE
Gonzalez Baez, Jose E         ADDRESS ON FILE
GONZALEZ BAEZ, JOSE M..       ADDRESS ON FILE
Gonzalez Baez, Juan A         ADDRESS ON FILE
GONZALEZ BAEZ, JUAN C         ADDRESS ON FILE
Gonzalez Baez, Juan C         ADDRESS ON FILE
GONZALEZ BAEZ, LISANDRA       ADDRESS ON FILE
GONZALEZ BAEZ, MAGDIEL I.     ADDRESS ON FILE
GONZALEZ BAEZ, MARIA DEL C    ADDRESS ON FILE
GONZALEZ BAEZ, MARITZA        ADDRESS ON FILE
GONZALEZ BAEZ, NAHIOMIE       ADDRESS ON FILE
GONZALEZ BAEZ, OLGA L         ADDRESS ON FILE
GONZALEZ BAEZ, ORLANDO        ADDRESS ON FILE
GONZALEZ BAEZ, PEDRO          ADDRESS ON FILE
GONZALEZ BAEZ, PEDRO          ADDRESS ON FILE
GONZALEZ BAEZ, ROSA           ADDRESS ON FILE
GONZALEZ BAEZ, SHAKIRA        ADDRESS ON FILE
GONZALEZ BAEZ, SUHAIL M       ADDRESS ON FILE
GONZALEZ BAEZ, SYLVIA         ADDRESS ON FILE
GONZALEZ BALAGUER, CARMEN L   ADDRESS ON FILE
GONZALEZ BALAGUER, MANUEL     ADDRESS ON FILE
GONZALEZ BARAHONA, JORGE      ADDRESS ON FILE
GONZALEZ BARBOSA, DORIS       ADDRESS ON FILE
GONZALEZ BARCELO, ANDRES J    ADDRESS ON FILE
GONZALEZ BARIAS, MISAEL       ADDRESS ON FILE
GONZALEZ BARRAL, LUGGY        ADDRESS ON FILE
GONZALEZ BARRAL, LUISETTE     ADDRESS ON FILE
GONZALEZ BARRETO MD, JORGE    ADDRESS ON FILE
GONZALEZ BARRETO, CARLOS      ADDRESS ON FILE
GONZALEZ BARRETO, CARLOS A.   ADDRESS ON FILE
GONZALEZ BARRETO, CRISTINA    ADDRESS ON FILE
GONZALEZ BARRETO, DIAMAR T.   ADDRESS ON FILE
Gonzalez Barreto, Erick N     ADDRESS ON FILE
GONZALEZ BARRETO, ILIANA      ADDRESS ON FILE
GONZALEZ BARRETO, ISMAEL      ADDRESS ON FILE
GONZALEZ BARRETO, JAIME       ADDRESS ON FILE
GONZALEZ BARRETO, JOEL        ADDRESS ON FILE
GONZALEZ BARRETO, JORGE       ADDRESS ON FILE
GONZALEZ BARRETO, JOSE        ADDRESS ON FILE
GONZALEZ BARRETO, KIARA       ADDRESS ON FILE
GONZALEZ BARRETO, LUIS M.     ADDRESS ON FILE




                                                                          Page 3282 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3283 of 3500
                                                                               17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                   Address1                  Address2                                 Address3    Address4          City         State   PostalCode   Country
GONZALEZ BARRETO, MARCOS F      ADDRESS ON FILE
GONZALEZ BARRETO, MARGARITA     ADDRESS ON FILE
GONZALEZ BARRETO, NYDIA         ADDRESS ON FILE
GONZALEZ BARRETO, RAMON         ADDRESS ON FILE
GONZALEZ BARRETO, VIVIANNETTE   ADDRESS ON FILE
GONZALEZ BARRETO, YOLIZBETH     ADDRESS ON FILE
GONZALEZ BARRIERA, NILSA I.     ADDRESS ON FILE
GONZALEZ BARRIOS, DAISY         ADDRESS ON FILE
GONZALEZ BARRIOS, JOSE J.       ADDRESS ON FILE
GONZALEZ BARRIOS, NOEMI         ADDRESS ON FILE
GONZALEZ BARRIOS, NORIMAR       ADDRESS ON FILE
GONZALEZ BARROS, VICTOR         ADDRESS ON FILE
GONZALEZ BARROSO, PEDRO J       ADDRESS ON FILE
GONZALEZ BARROSO, RAFAEL        ADDRESS ON FILE
GONZALEZ BARTOLOMEY, RAFAEL     ADDRESS ON FILE
GONZALEZ BASCO, SHEILA A.       ADDRESS ON FILE
GONZALEZ BASCO, SHEILA A.       ADDRESS ON FILE
GONZALEZ BATISTA, ANGEL L.      ADDRESS ON FILE
Gonzalez Batista, Ivan          ADDRESS ON FILE
GONZALEZ BATISTA, IVAN          ADDRESS ON FILE
GONZALEZ BATISTA, LUZ N         ADDRESS ON FILE
Gonzalez Batista, Maria I       ADDRESS ON FILE
GONZALEZ BATISTA, ROSA J        ADDRESS ON FILE
GONZALEZ BAUZA, JAVIER          ADDRESS ON FILE
GONZALEZ BAUZA, LAIZA MARIE     ADDRESS ON FILE
GONZALEZ BEAUCHAMP, AGUSTO      ADDRESS ON FILE
GONZALEZ BEAUCHAMP, ANEXIS      ADDRESS ON FILE
GONZALEZ BEAUCHAMP, AUGUSTO     LCDO. EDUARDO VERA        1606 Ave. Ponce De Leon                  SUITE 501   EDIF. BOGORICIN   SAN JUAN     PR      00909
GONZÁLEZ BEAUCHAMP, AUGUSTO     LCDO. EDUARDO VERA        1606 Ave. Ponce De LEÓN                  SUITE 501   EDIF. BORORICIN   SAN JUAN     PR      00909
GONZALEZ BEAUCHAMP, HILDA       ADDRESS ON FILE
GONZALEZ BECERRA, MAYRA J.      ADDRESS ON FILE
GONZALEZ BEIRO, RAMON           ADDRESS ON FILE
GONZALEZ BELEN, CARLOS J        ADDRESS ON FILE
GONZALEZ BELEN, CYNTHIA         ADDRESS ON FILE
GONZALEZ BELEN, CYNTHIA         ADDRESS ON FILE
GONZALEZ BELEN, EDGARDO         ADDRESS ON FILE
Gonzalez Belen, Edwin           ADDRESS ON FILE
GONZALEZ BELEN, MARIO           ADDRESS ON FILE
GONZALEZ BELFORT, MARIA M.      ADDRESS ON FILE
GONZALEZ BELLO, ANA             ADDRESS ON FILE
GONZALEZ BELLO, JOSE            ADDRESS ON FILE
GONZALEZ BELTRAN, DELWIN        ADDRESS ON FILE
GONZALEZ BELTRAN, ENEIDA        ADDRESS ON FILE
GONZALEZ BELTRAN, HECTOR        ADDRESS ON FILE
Gonzalez Beltran, Juan J        ADDRESS ON FILE
GONZALEZ BELTRAN, KARLA S.      ADDRESS ON FILE
GONZALEZ BELTRAN, LUIS          ADDRESS ON FILE
GONZALEZ BELTRAN, MIGUEL        ADDRESS ON FILE
GONZALEZ BELTRAN, MINERVA       ADDRESS ON FILE
GONZALEZ BELTRAN, SONIA         ADDRESS ON FILE
GONZALEZ BELTRAN, SONIA I       ADDRESS ON FILE
GONZALEZ BENAVIDES, CARMEN L.   ADDRESS ON FILE
GONZALEZ BENCEBI, MIGUEL        ADDRESS ON FILE
GONZALEZ BENCEBI, VIOLETA       ADDRESS ON FILE
GONZALEZ BENCON, RUTH           ADDRESS ON FILE
GONZALEZ BENEJAN,CARLOS         ADDRESS ON FILE
GONZALEZ BENEJAN,CARLOS M.      ADDRESS ON FILE
GONZALEZ BENIQUE, MERCEDES      ADDRESS ON FILE
Gonzalez Beniquez, Miguel       ADDRESS ON FILE
GONZALEZ BENIQUEZ, OSVALDO      ADDRESS ON FILE




                                                                                    Page 3283 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3284 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ BENIQUEZ, ROSALIA       ADDRESS ON FILE
GONZALEZ BENITE, ALBERTO         ADDRESS ON FILE
GONZALEZ BENITEZ, ANA M          ADDRESS ON FILE
GONZALEZ BENITEZ, CARLOS         ADDRESS ON FILE
GONZALEZ BENITEZ, CARMEN M       ADDRESS ON FILE
GONZALEZ BENITEZ, CYNTHIA        ADDRESS ON FILE
GONZALEZ BENITEZ, ESTHER         ADDRESS ON FILE
GONZALEZ BENITEZ, HERMES         ADDRESS ON FILE
GONZALEZ BENITEZ, JANNETTE       ADDRESS ON FILE
GONZALEZ BENITEZ, JOCELYN        ADDRESS ON FILE
GONZALEZ BENITEZ, JUAN C.        ADDRESS ON FILE
GONZALEZ BENITEZ, JULIO          ADDRESS ON FILE
GONZALEZ BENITEZ, LEONARDO       ADDRESS ON FILE
GONZALEZ BENITEZ, LINA           ADDRESS ON FILE
GONZALEZ BENITEZ, LIZA D.        ADDRESS ON FILE
GONZALEZ BENITEZ, LUZ C.         ADDRESS ON FILE
GONZALEZ BENITEZ, MARCELINA      ADDRESS ON FILE
GONZALEZ BENITEZ, MARIA M        ADDRESS ON FILE
GONZALEZ BENITEZ, MARILYN        ADDRESS ON FILE
GONZALEZ BENITEZ, MARILYN        ADDRESS ON FILE
GONZALEZ BENITEZ, MIGDALIA       ADDRESS ON FILE
GONZALEZ BENITEZ, MIGDALIA       ADDRESS ON FILE
GONZALEZ BENITEZ, PEDRO J.       ADDRESS ON FILE
Gonzalez Benitez, Victor         ADDRESS ON FILE
GONZALEZ BERDECIA MD, CARLOS A   ADDRESS ON FILE
GONZALEZ BERDECIA, ANDRES        ADDRESS ON FILE
GONZALEZ BERDECIA, CARLOS        ADDRESS ON FILE
GONZALEZ BERDECIA, GABRIEL       ADDRESS ON FILE
GONZALEZ BERDECIA, JOHN          ADDRESS ON FILE
GONZALEZ BERDIEL, THANYA         ADDRESS ON FILE
GONZALEZ BERGODERE, AIDA I       ADDRESS ON FILE
GONZALEZ BERGODERE, LUIS O       ADDRESS ON FILE
GONZALEZ BERGODERE, MARIA E      ADDRESS ON FILE
GONZALEZ BERGODERES, CLARIBEL    ADDRESS ON FILE
GONZALEZ BERMUDEZ, ANGEL         ADDRESS ON FILE
GONZALEZ BERMUDEZ, BENNY         ADDRESS ON FILE
GONZALEZ BERMUDEZ, DORALIS       ADDRESS ON FILE
GONZALEZ BERMUDEZ, EVALIS        ADDRESS ON FILE
GONZALEZ BERMUDEZ, EVELYN        ADDRESS ON FILE
GONZALEZ BERMUDEZ, GERMAN        ADDRESS ON FILE
GONZALEZ BERMUDEZ, GRISELLE      ADDRESS ON FILE
GONZALEZ BERMUDEZ, JORGE         ADDRESS ON FILE
GONZALEZ BERMUDEZ, KARLA         ADDRESS ON FILE
GONZALEZ BERMUDEZ, NORA          ADDRESS ON FILE
Gonzalez Bermudez, Raul A        ADDRESS ON FILE
GONZALEZ BERMUDEZ, ROSALEE       ADDRESS ON FILE
GONZALEZ BERMUDEZ, SIUMELL       ADDRESS ON FILE
GONZALEZ BERNACET, MARITZA       ADDRESS ON FILE
GONZALEZ BERNAL, LIRIO DEL MAR   ADDRESS ON FILE
GONZALEZ BERNARD, BETSY          ADDRESS ON FILE
GONZALEZ BERNARD, BETSY          ADDRESS ON FILE
GONZALEZ BERNARD, MARGARITA      ADDRESS ON FILE
GONZALEZ BERNARD, NERY I         ADDRESS ON FILE
GONZALEZ BERNARD, RENE           ADDRESS ON FILE
GONZALEZ BERNIER, IRIS           ADDRESS ON FILE
GONZALEZ BERNIER, LIZ MARIE      ADDRESS ON FILE
GONZALEZ BERNIER, MARIA I        ADDRESS ON FILE
GONZALEZ BERRIOS MD, PEDRO       ADDRESS ON FILE
GONZALEZ BERRIOS, BEATRIZ        ADDRESS ON FILE
GONZALEZ BERRIOS, CARMEN         ADDRESS ON FILE




                                                                             Page 3284 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3285 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ BERRIOS, ELBA R        ADDRESS ON FILE
GONZALEZ BERRIOS, GISELA        ADDRESS ON FILE
GONZALEZ BERRIOS, GISSELLE      ADDRESS ON FILE
GONZALEZ BERRIOS, HERNAN        ADDRESS ON FILE
GONZALEZ BERRIOS, IVONNE        ADDRESS ON FILE
GONZALEZ BERRIOS, JELYSSA       ADDRESS ON FILE
GONZALEZ BERRIOS, JELYSSA       ADDRESS ON FILE
GONZALEZ BERRIOS, JELYSSA       ADDRESS ON FILE
GONZALEZ BERRIOS, JESSICA       ADDRESS ON FILE
GONZALEZ BERRIOS, JOSE          ADDRESS ON FILE
GONZALEZ BERRIOS, JOSE          ADDRESS ON FILE
GONZALEZ BERRIOS, JOSE A.       ADDRESS ON FILE
GONZALEZ BERRIOS, JOSE A.       ADDRESS ON FILE
GONZALEZ BERRIOS, LINDA         ADDRESS ON FILE
GONZALEZ BERRIOS, LISANDRA      ADDRESS ON FILE
GONZALEZ BERRIOS, LIZZETTE      ADDRESS ON FILE
GONZALEZ BERRIOS, MADELLINE     ADDRESS ON FILE
GONZALEZ BERRIOS, MARIA E       ADDRESS ON FILE
GONZALEZ BERRIOS, MINERVA       ADDRESS ON FILE
GONZALEZ BERRIOS, NANCY         ADDRESS ON FILE
GONZALEZ BERRIOS, NEREIDA       ADDRESS ON FILE
Gonzalez Berrios, O'Neill       ADDRESS ON FILE
GONZALEZ BERRIOS, SANDRA        ADDRESS ON FILE
GONZALEZ BERRIOS, SANDRA I      ADDRESS ON FILE
GONZALEZ BERRIOS, SANDRA L      ADDRESS ON FILE
GONZALEZ BERRIOS, TERESITA      ADDRESS ON FILE
GONZALEZ BERRIOS, TOMAS         ADDRESS ON FILE
GONZALEZ BERRIOS, URIEL         ADDRESS ON FILE
GONZALEZ BERRIOS, VANESSA C.    ADDRESS ON FILE
GONZALEZ BERRIOS, VICTOR R      ADDRESS ON FILE
Gonzalez Berrios, Zulma         ADDRESS ON FILE
GONZALEZ BETANCOURT, ANTHONY    ADDRESS ON FILE
GONZALEZ BETANCOURT, DIANA E.   ADDRESS ON FILE
GONZALEZ BETANCOURT, ELBA       ADDRESS ON FILE
GONZALEZ BETANCOURT, EVELYN     ADDRESS ON FILE
GONZALEZ BETANCOURT, MARIA      ADDRESS ON FILE
GONZALEZ BETANCOURT, MARIA I    ADDRESS ON FILE
GONZALEZ BETANCOURT, MICHAEL    ADDRESS ON FILE
GONZALEZ BETANCOURT, MILAGROS   ADDRESS ON FILE
GONZALEZ BETANCOURT, ORLANDO    ADDRESS ON FILE
GONZALEZ BETANCOURT, SONIA I.   ADDRESS ON FILE
Gonzalez Bey, Isabel            ADDRESS ON FILE
GONZALEZ BIANCHI, CRISTOBAL     ADDRESS ON FILE
GONZALEZ BIRRIEL, CARMEN I      ADDRESS ON FILE
Gonzalez Birriel, Darvin R      ADDRESS ON FILE
GONZALEZ BIRRIEL, EDUARDO J.    ADDRESS ON FILE
GONZALEZ BLANCO, MIGUEL         ADDRESS ON FILE
GONZALEZ BOBE, WALLACE          ADDRESS ON FILE
GONZALEZ BOCACHICA, CARMELO     ADDRESS ON FILE
GONZALEZ BOCACHICA, CARMEN M.   ADDRESS ON FILE
GONZALEZ BOCACHICA, MANUEL      ADDRESS ON FILE
GONZALEZ BOCANEGRA, ALEJANDRO   ADDRESS ON FILE
GONZALEZ BOCANEGRA, ERIC        ADDRESS ON FILE
GONZALEZ BOFILL, GISSELLE       ADDRESS ON FILE
GONZALEZ BOGALLO, FELIX J       ADDRESS ON FILE
GONZALEZ BOLET, NIXA M          ADDRESS ON FILE
GONZALEZ BOLIVAR, JEIMY         ADDRESS ON FILE
GONZALEZ BONANO, DALIMAR        ADDRESS ON FILE
GONZALEZ BONASTRE, RICHARD      ADDRESS ON FILE
GONZALEZ BONET, ANA R           ADDRESS ON FILE




                                                                            Page 3285 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3286 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ BONET, SONIA                    ADDRESS ON FILE
GONZALEZ BONILLA / GONZALEZ FERRER LAW   PO BOX 13285                                                                     SAN JUAN     PR      00908
GONZALEZ BONILLA, BERNICE M.             ADDRESS ON FILE
GONZALEZ BONILLA, BISMARY                ADDRESS ON FILE
GONZALEZ BONILLA, CARLA                  ADDRESS ON FILE
GONZALEZ BONILLA, CARMEN M               ADDRESS ON FILE
GONZALEZ BONILLA, DAISY                  ADDRESS ON FILE
GONZALEZ BONILLA, DAVID                  ADDRESS ON FILE
GONZALEZ BONILLA, EDUARDO J              ADDRESS ON FILE
GONZALEZ BONILLA, FREDDIE                ADDRESS ON FILE
GONZALEZ BONILLA, GRISEL                 ADDRESS ON FILE
GONZALEZ BONILLA, GRISELLE               ADDRESS ON FILE
GONZALEZ BONILLA, HECTOR R               ADDRESS ON FILE
GONZALEZ BONILLA, HILDA                  ADDRESS ON FILE
GONZALEZ BONILLA, HILDA                  ADDRESS ON FILE
GONZALEZ BONILLA, JESSICA                ADDRESS ON FILE
GONZALEZ BONILLA, JOSE                   ADDRESS ON FILE
GONZALEZ BONILLA, JOSE A                 ADDRESS ON FILE
Gonzalez Bonilla, Jose A.                ADDRESS ON FILE
GONZALEZ BONILLA, JOSE H                 ADDRESS ON FILE
GONZALEZ BONILLA, MADELINE               ADDRESS ON FILE
GONZALEZ BONILLA, MARTA J                ADDRESS ON FILE
GONZALEZ BONILLA, MARTA J                ADDRESS ON FILE
GONZALEZ BONILLA, PEDRO                  ADDRESS ON FILE
GONZALEZ BONILLA, RENE                   ADDRESS ON FILE
GONZALEZ BONILLA, ROBINSON               ADDRESS ON FILE
GONZALEZ BONILLA, SONALI I               ADDRESS ON FILE
GONZALEZ BONILLA, SORAIDA                ADDRESS ON FILE
GONZALEZ BONILLA, WALTER                 ADDRESS ON FILE
GONZALEZ BONNIN, MONICA A.               ADDRESS ON FILE
GONZALEZ BORDOY, YOLANDA                 ADDRESS ON FILE
GONZALEZ BORGES, CARMEN I                ADDRESS ON FILE
GONZALEZ BORGES, RAFAEL                  ADDRESS ON FILE
GONZALEZ BORGES, RAMONA                  ADDRESS ON FILE
GONZALEZ BORGOS, ANA M                   ADDRESS ON FILE
GONZALEZ BORGOS, LAURA                   ADDRESS ON FILE
GONZALEZ BORIA, AIDA L                   ADDRESS ON FILE
GONZALEZ BORRERO, ANACLETA               ADDRESS ON FILE
GONZALEZ BORRERO, CARMEN                 ADDRESS ON FILE
GONZALEZ BORRERO, GLORIA G               ADDRESS ON FILE
GONZALEZ BORRERO, JONATHAN               ADDRESS ON FILE
GONZALEZ BORRERO, JUANITA                ADDRESS ON FILE
GONZALEZ BORRERO, NORMA I                ADDRESS ON FILE
GONZALEZ BOSCH, SHELIN                   ADDRESS ON FILE
GONZALEZ BOSQUE, EDGARDO                 ADDRESS ON FILE
GONZALEZ BOSQUES MD, MARIA L             ADDRESS ON FILE
GONZALEZ BOSQUES, CLARISA                ADDRESS ON FILE
GONZALEZ BOSQUES, CORALIS                ADDRESS ON FILE
GONZALEZ BOSQUES, ENRIQUE                ADDRESS ON FILE
GONZALEZ BOSQUES, ISABEL                 ADDRESS ON FILE
GONZALEZ BOSQUES, MARIBEL                ADDRESS ON FILE
GONZALEZ BOSQUES, OMAYRA                 ADDRESS ON FILE
GONZALEZ BOSQUES, ROBERTO                ADDRESS ON FILE
GONZALEZ BOSQUEZ, JOSE                   ADDRESS ON FILE
GONZALEZ BOSQUEZ, MARIA L.               ADDRESS ON FILE
GONZALEZ BOSSOLO, EFRAIN                 ADDRESS ON FILE
GONZALEZ BOU, CYNTHIA                    ADDRESS ON FILE
GONZALEZ BOU, JORGE                      ADDRESS ON FILE
GONZALEZ BOU, KRISTY J                   ADDRESS ON FILE
GONZALEZ BOU, ODALIS                     ADDRESS ON FILE




                                                                                     Page 3286 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3287 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ BRACERO, JEANNETTE Z.   ADDRESS ON FILE
GONZALEZ BRACERO, LYMARIS        ADDRESS ON FILE
GONZALEZ BRACERO, NORMAN D       ADDRESS ON FILE
GONZALEZ BRAVO, DIANA            ADDRESS ON FILE
GONZALEZ BRAVO, DORIS AWILDA     ADDRESS ON FILE
GONZALEZ BRAVO, GRISSEL          ADDRESS ON FILE
GONZALEZ BRAVO, PABLO A.         ADDRESS ON FILE
GONZALEZ BRAVO, WALESKA          ADDRESS ON FILE
GONZALEZ BRAVO, YEIZA            ADDRESS ON FILE
GONZALEZ BRIGANTY, MELITZA       ADDRESS ON FILE
GONZALEZ BRIGNONI, JUAN J        ADDRESS ON FILE
GONZALEZ BRITO, ELIO             ADDRESS ON FILE
GONZALEZ BRITO, JOSE             ADDRESS ON FILE
GONZALEZ BRUNO,JOSE              ADDRESS ON FILE
GONZALEZ BUENO, JONATHAN         ADDRESS ON FILE
GONZALEZ BUENROSTRO, COSSETTE    ADDRESS ON FILE
GONZALEZ BUENROSTRO, COSSETTE    ADDRESS ON FILE
GONZALEZ BULGALA, FELIX M        ADDRESS ON FILE
GONZALEZ BULTRON, NORAIMA        ADDRESS ON FILE
GONZALEZ BURGADO, BRENDA         ADDRESS ON FILE
GONZALEZ BURGOS, ALFREDO         ADDRESS ON FILE
GONZALEZ BURGOS, ALFREDO         ADDRESS ON FILE
GONZALEZ BURGOS, ALVIN           ADDRESS ON FILE
GONZALEZ BURGOS, ANABEL          ADDRESS ON FILE
GONZALEZ BURGOS, ANGEL           ADDRESS ON FILE
GONZALEZ BURGOS, CARMEN M        ADDRESS ON FILE
GONZALEZ BURGOS, DEBORAH         ADDRESS ON FILE
GONZALEZ BURGOS, EDWIN           ADDRESS ON FILE
GONZALEZ BURGOS, GLANGELY        ADDRESS ON FILE
GONZALEZ BURGOS, GLENDA M.       ADDRESS ON FILE
GONZALEZ BURGOS, JANICE          ADDRESS ON FILE
GONZALEZ BURGOS, JORGE           ADDRESS ON FILE
GONZALEZ BURGOS, JUAN            ADDRESS ON FILE
GONZALEZ BURGOS, JUAN            ADDRESS ON FILE
GONZALEZ BURGOS, JULIA           ADDRESS ON FILE
GONZALEZ BURGOS, KELVIN          ADDRESS ON FILE
GONZALEZ BURGOS, MARGARITA       ADDRESS ON FILE
GONZALEZ BURGOS, MARTA V.        ADDRESS ON FILE
GONZALEZ BURGOS, PEDRO A         ADDRESS ON FILE
GONZALEZ BURGOS, RADIMILL        ADDRESS ON FILE
GONZALEZ BURGOS, RAFAEL          ADDRESS ON FILE
GONZALEZ BURGOS, ROSA L          ADDRESS ON FILE
GONZALEZ BURGOS, ROSAEL          ADDRESS ON FILE
GONZALEZ BURGOS, RUBEN           ADDRESS ON FILE
GONZALEZ BURGOS, SONIA           ADDRESS ON FILE
GONZALEZ BUS SERVICE             BO HATO VIEJO             HC 2 BOX 14339                                         ARECIBO      PR      00612
GONZALEZ BUS SERVICE             HC 04 BOX 13843                                                                  ARECIBO      PR      00612
GONZALEZ BUS SERVICES, INC.      PO BOX 546                                                                       JAYUYA       PR      00664
GONZALEZ BUTLER, EDWIN A         ADDRESS ON FILE
GONZALEZ BUTLER, LYNETTE         ADDRESS ON FILE
GONZALEZ BUTLER, VIRNALIS        ADDRESS ON FILE
GONZALEZ CABALLERO, HILDA        ADDRESS ON FILE
GONZALEZ CABALLERO, RAFAEL       ADDRESS ON FILE
GONZALEZ CABAN, ANA L            ADDRESS ON FILE
GONZALEZ CABAN, ANGEL D          ADDRESS ON FILE
GONZALEZ CABAN, CARMEN           ADDRESS ON FILE
GONZALEZ CABAN, CONCEPCION       ADDRESS ON FILE
GONZALEZ CABAN, DANNY            ADDRESS ON FILE
GONZALEZ CABAN, DAVID            ADDRESS ON FILE
GONZALEZ CABAN, FELIX            ADDRESS ON FILE




                                                                             Page 3287 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3288 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CABAN, GLADYS              ADDRESS ON FILE
GONZALEZ CABAN, GLORIA E            ADDRESS ON FILE
GONZALEZ CABAN, HECTOR N            ADDRESS ON FILE
GONZALEZ CABAN, JACKELINE           ADDRESS ON FILE
Gonzalez Caban, Jose A              ADDRESS ON FILE
GONZALEZ CABAN, LUZ N               ADDRESS ON FILE
GONZALEZ CABAN, NOEMI               ADDRESS ON FILE
GONZALEZ CABAN, ROLANDO J           ADDRESS ON FILE
GONZALEZ CABAN, ROSA                ADDRESS ON FILE
GONZALEZ CABAN, SOCORRO N           ADDRESS ON FILE
GONZALEZ CABAN, VICTOR              ADDRESS ON FILE
GONZALEZ CABAN, VICTOR M            ADDRESS ON FILE
Gonzalez Caban, Wilfredo            ADDRESS ON FILE
GONZALEZ CABAN,EDWIN                ADDRESS ON FILE
GONZALEZ CABRAL, APOLONIA           ADDRESS ON FILE
GONZALEZ CABRERA, ANA M             ADDRESS ON FILE
Gonzalez Cabrera, Gualberto         ADDRESS ON FILE
GONZALEZ CABRERA, JOSE              ADDRESS ON FILE
GONZALEZ CABRERA, MARIBEL           ADDRESS ON FILE
GONZALEZ CABRERA, MIKE              ADDRESS ON FILE
GONZALEZ CACERES, ERIC J            ADDRESS ON FILE
GONZALEZ CACERES, RAUL E            ADDRESS ON FILE
GONZALEZ CACERES, SANDRA M          ADDRESS ON FILE
GONZALEZ CADIZ, AXEL                ADDRESS ON FILE
GONZALEZ CADIZ, CHRISTIAN           ADDRESS ON FILE
GONZALEZ CADIZ, RAFAEL              ADDRESS ON FILE
GONZALEZ CAEZ, JULIO                ADDRESS ON FILE
GONZALEZ CAJIGAS, ABDIEL            ADDRESS ON FILE
GONZALEZ CAJIGAS, ANGEL L.          ADDRESS ON FILE
GONZALEZ CALA, DIOMARES             ADDRESS ON FILE
GONZALEZ CALCANO, KAYLEEN           ADDRESS ON FILE
GONZALEZ CALDERON, CARMEN J         ADDRESS ON FILE
GONZALEZ CALDERON, EDUARDO MIGUEL   ADDRESS ON FILE
GONZALEZ CALDERON, ELISA M.         ADDRESS ON FILE
GONZALEZ CALDERON, ENRIQUE          ADDRESS ON FILE
GONZALEZ CALDERON, ERLY             ADDRESS ON FILE
GONZALEZ CALDERON, EUGENIO          ADDRESS ON FILE
GONZALEZ CALDERON, EVELYN           ADDRESS ON FILE
GONZALEZ CALDERON, FRANCISCO        ADDRESS ON FILE
GONZALEZ CALDERON, GLADYS           ADDRESS ON FILE
GONZALEZ CALDERON, ILEANA           ADDRESS ON FILE
Gonzalez Calderon, Jose L           ADDRESS ON FILE
GONZALEZ CALDERON, LUZ              ADDRESS ON FILE
GONZALEZ CALDERON, LUZ              ADDRESS ON FILE
GONZALEZ CALDERON, MARIA            ADDRESS ON FILE
GONZALEZ CALDERON, MARIA            ADDRESS ON FILE
GONZALEZ CALDERON, MARITZA          ADDRESS ON FILE
GONZALEZ CALDERON, SILA             ADDRESS ON FILE
GONZALEZ CALDERON, XAVIER           ADDRESS ON FILE
GONZALEZ CALO, JORGE M              ADDRESS ON FILE
GONZALEZ CALVENTY, JOSE L.          ADDRESS ON FILE
GONZALEZ CALZADA, ADA               ADDRESS ON FILE
GONZALEZ CAMACHO MD, CARLOS         ADDRESS ON FILE
GONZALEZ CAMACHO MD, LUIS           ADDRESS ON FILE
GONZALEZ CAMACHO, ANGEL             ADDRESS ON FILE
GONZALEZ CAMACHO, ARTURO            ADDRESS ON FILE
GONZALEZ CAMACHO, BARBARA           ADDRESS ON FILE
GONZALEZ CAMACHO, CARMEN            ADDRESS ON FILE
GONZALEZ CAMACHO, DAMARYS           ADDRESS ON FILE
GONZALEZ CAMACHO, ELIZABETH         ADDRESS ON FILE




                                                                                Page 3288 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3289 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CAMACHO, FRANCISCO           ADDRESS ON FILE
GONZALEZ CAMACHO, IRIS                ADDRESS ON FILE
GONZALEZ CAMACHO, IRIS D              ADDRESS ON FILE
GONZALEZ CAMACHO, JESHUA              ADDRESS ON FILE
GONZALEZ CAMACHO, JUAN J.             ADDRESS ON FILE
GONZALEZ CAMACHO, LILLIAM I           ADDRESS ON FILE
GONZALEZ CAMACHO, LOURDES             ADDRESS ON FILE
GONZALEZ CAMACHO, LUZ D               ADDRESS ON FILE
GONZALEZ CAMACHO, MARA                ADDRESS ON FILE
GONZALEZ CAMACHO, MARIA CRISTINA      ADDRESS ON FILE
GONZALEZ CAMACHO, MAYRA               ADDRESS ON FILE
GONZALEZ CAMACHO, MAYRA               ADDRESS ON FILE
GONZALEZ CAMACHO, NANCY               ADDRESS ON FILE
GONZALEZ CAMACHO, SARYMAR             ADDRESS ON FILE
GONZALEZ CAMACHO, SUZETTE             ADDRESS ON FILE
GONZALEZ CAMACHO, VICTOR              ADDRESS ON FILE
GONZALEZ CAMACHO, WALDO               ADDRESS ON FILE
GONZALEZ CAMARA, FERNANDO L.          ADDRESS ON FILE
GONZALEZ CAMILO, YASMIN               ADDRESS ON FILE
GONZALEZ CAMPIS, KAREN                ADDRESS ON FILE
GONZALEZ CAMPOS, DANNY                ADDRESS ON FILE
GONZALEZ CAMPOS, JORGE                ADDRESS ON FILE
GONZALEZ CAMPOS, KEVYNNE              ADDRESS ON FILE
GONZALEZ CAMUY, ANTONIO               ADDRESS ON FILE
GONZALEZ CAMUY, MARIANE               ADDRESS ON FILE
GONZALEZ CANALES, HENRY               ADDRESS ON FILE
GONZALEZ CANALES, INDIABEL            ADDRESS ON FILE
GONZALEZ CANALES, INDIABEL            ADDRESS ON FILE
GONZALEZ CANALES, JONATHAN            ADDRESS ON FILE
GONZALEZ CANALES, JORGE               ADDRESS ON FILE
GONZALEZ CANALES, LUZ M.              ADDRESS ON FILE
GONZALEZ CANALES, SOCORRO             ADDRESS ON FILE
GONZALEZ CANCEL, ANA                  ADDRESS ON FILE
GONZALEZ CANCEL, ANA                  ADDRESS ON FILE
Gonzalez Cancel, Ana N                ADDRESS ON FILE
GONZALEZ CANCEL, CARMELO              ADDRESS ON FILE
GONZALEZ CANCEL, CARMEN M             ADDRESS ON FILE
GONZALEZ CANCEL, CLARA L              ADDRESS ON FILE
Gonzalez Cancel, Hector G             ADDRESS ON FILE
GONZALEZ CANCEL, HECTOR J.            ADDRESS ON FILE
GONZALEZ CANCEL, IVAN                 ADDRESS ON FILE
GONZALEZ CANCEL, IVAN                 ADDRESS ON FILE
GONZALEZ CANCEL, JEREMIAS             ADDRESS ON FILE
GONZALEZ CANCEL, LENYS J              ADDRESS ON FILE
GONZALEZ CANCEL, LUIS A               ADDRESS ON FILE
GONZALEZ CANCEL, MANUEL               ADDRESS ON FILE
GONZALEZ CANCEL, MAYRA                ADDRESS ON FILE
GONZALEZ CANCEL, OSVALDO              ADDRESS ON FILE
Gonzalez Candelar, Raymundo           ADDRESS ON FILE
GONZALEZ CANDELARIA, AIXA             ADDRESS ON FILE
GONZALEZ CANDELARIA, ARTURO           ADDRESS ON FILE
GONZALEZ CANDELARIA, CAROL MICHELLE   ADDRESS ON FILE
GONZALEZ CANDELARIA, DORA N           ADDRESS ON FILE
GONZALEZ CANDELARIA, IVAN             ADDRESS ON FILE
GONZALEZ CANDELARIA, JONATHAN         ADDRESS ON FILE
GONZALEZ CANDELARIA, JORGE            ADDRESS ON FILE
GONZALEZ CANDELARIA, RAYMUNDO         ADDRESS ON FILE
GONZALEZ CANDELARIA, RUTH E.          ADDRESS ON FILE
GONZALEZ CANDELARIA, ZORAIDA          ADDRESS ON FILE
GONZALEZ CANDELARIO, ALEXIS           ADDRESS ON FILE




                                                                                  Page 3289 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3290 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CANDELARIO, CARLOS      ADDRESS ON FILE
GONZALEZ CANDELARIO, EDGARDO     ADDRESS ON FILE
GONZALEZ CANDELARIO, EMILIO      ADDRESS ON FILE
GONZALEZ CANDELARIO, FELIX       ADDRESS ON FILE
GONZALEZ CANDELARIO, GLORIA E    ADDRESS ON FILE
GONZALEZ CANDELARIO, GRETCHEN    ADDRESS ON FILE
GONZALEZ CANDELARIO, JAVIER      ADDRESS ON FILE
GONZALEZ CANDELARIO, KEVIN       ADDRESS ON FILE
GONZALEZ CANDELARIO, LINDA       ADDRESS ON FILE
GONZALEZ CANDELARIO, MARIA L.    ADDRESS ON FILE
GONZALEZ CANDELARIO, MIGUEL      ADDRESS ON FILE
GONZALEZ CANDELARIO, ROCIO DEL   ADDRESS ON FILE
GONZALEZ CANDELARIO, YESSENIA    ADDRESS ON FILE
GONZALEZ CANOVAS, NIZIDA         ADDRESS ON FILE
Gonzalez Capella, Jose A         ADDRESS ON FILE
Gonzalez Capella, Sonia          ADDRESS ON FILE
GONZALEZ CARABALLO, ADRIAN       ADDRESS ON FILE
GONZALEZ CARABALLO, AIXA         ADDRESS ON FILE
GONZALEZ CARABALLO, ALEXANDRA    ADDRESS ON FILE
GONZALEZ CARABALLO, ANGEL        ADDRESS ON FILE
GONZALEZ CARABALLO, EMMARIE      ADDRESS ON FILE
GONZALEZ CARABALLO, EMMERIE      ADDRESS ON FILE
Gonzalez Caraballo, Generoso     ADDRESS ON FILE
GONZALEZ CARABALLO, HECTOR       ADDRESS ON FILE
GONZALEZ CARABALLO, HECTOR       ADDRESS ON FILE
GONZALEZ CARABALLO, HUMBERTO     ADDRESS ON FILE
GONZALEZ CARABALLO, LUIS         ADDRESS ON FILE
GONZALEZ CARABALLO, MARIBEL      ADDRESS ON FILE
GONZALEZ CARABALLO, MARITZA      ADDRESS ON FILE
GONZALEZ CARABALLO, MIGUEL       ADDRESS ON FILE
GONZALEZ CARABALLO, MILDRELINA   ADDRESS ON FILE
GONZALEZ CARABALLO, MIRTA E.     ADDRESS ON FILE
Gonzalez Caraballo, Sonia N      ADDRESS ON FILE
GONZALEZ CARABALLO, WILMA        ADDRESS ON FILE
GONZALEZ CARABALLO, YELITZA      ADDRESS ON FILE
GONZALEZ CARABALLO, ZOBEIRA      ADDRESS ON FILE
GONZALEZ CARATTINI, ALBA I.      ADDRESS ON FILE
GONZALEZ CARBALLO, MARCOS        ADDRESS ON FILE
GONZALEZ CARBO, ASHLEY           ADDRESS ON FILE
GONZALEZ CARBO, EMMANUEL         ADDRESS ON FILE
GONZALEZ CARBO, JENNIFER         ADDRESS ON FILE
GONZALEZ CARBONELL, ALEXANDRA    ADDRESS ON FILE
GONZALEZ CARBONELL, JERRY        ADDRESS ON FILE
GONZALEZ CARBONELL, JOHN E.      ADDRESS ON FILE
GONZALEZ CARDIN, ANGEL           ADDRESS ON FILE
GONZALEZ CARDIN, ANGEL           ADDRESS ON FILE
GONZALEZ CARDONA, ALEXIS         ADDRESS ON FILE
GONZALEZ CARDONA, ANGEL M.       ADDRESS ON FILE
GONZALEZ CARDONA, ARMANDO        ADDRESS ON FILE
GONZALEZ CARDONA, DAVID          ADDRESS ON FILE
GONZALEZ CARDONA, DAVID          ADDRESS ON FILE
GONZALEZ CARDONA, ELVIN          ADDRESS ON FILE
GONZALEZ CARDONA, HECTOR         ADDRESS ON FILE
GONZALEZ CARDONA, HOLVIN         ADDRESS ON FILE
Gonzalez Cardona, Iris H         ADDRESS ON FILE
GONZALEZ CARDONA, JESUS          ADDRESS ON FILE
GONZALEZ CARDONA, JOSE           ADDRESS ON FILE
GONZALEZ CARDONA, LUZ N          ADDRESS ON FILE
GONZALEZ CARDONA, LYDIA          ADDRESS ON FILE
GONZALEZ CARDONA, MARIA          ADDRESS ON FILE




                                                                             Page 3290 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3291 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                     Address1                         Address2                     Address3   Address4   City        State   PostalCode   Country
GONZALEZ CARDONA, MARIA I         ADDRESS ON FILE
GONZALEZ CARDONA, NESTOR          ADDRESS ON FILE
Gonzalez Cardona, Virginia        ADDRESS ON FILE
GONZALEZ CARDONA, YOLANDA         ADDRESS ON FILE
GONZALEZ CARDOZA, DOREEN          ADDRESS ON FILE
GONZALEZ CARMONA, EDIL            ADDRESS ON FILE
GONZALEZ CARMONA, EDIL F.         ADDRESS ON FILE
GONZALEZ CARMONA, EDWIN           ADDRESS ON FILE
GONZALEZ CARMONA, FELIPE          ADDRESS ON FILE
GONZALEZ CARMONA, IVAN            ADDRESS ON FILE
GONZALEZ CARMONA, JUAN            ADDRESS ON FILE
GONZALEZ CARMONA, KENNY L.        ADDRESS ON FILE
GONZALEZ CARMONA, LUZ M           ADDRESS ON FILE
GONZALEZ CARMONA, MARGARITA       ADDRESS ON FILE
GONZALEZ CARMONA, MARGARITA       ADDRESS ON FILE
GONZALEZ CARO, EUNICE             ADDRESS ON FILE
GONZALEZ CARO, JESUS              ADDRESS ON FILE
GONZALEZ CARRASCO, CARLOS         ADDRESS ON FILE
GONZALEZ CARRASCO, RAMON          ADDRESS ON FILE
GONZALEZ CARRASQUILLO, DAGMA I    ADDRESS ON FILE
GONZALEZ CARRASQUILLO, DORIS E    ADDRESS ON FILE
GONZALEZ CARRASQUILLO, EMMANUEL   ADDRESS ON FILE
GONZALEZ CARRASQUILLO, FELIX      ADDRESS ON FILE
GONZALEZ CARRASQUILLO, GLORIA M   ADDRESS ON FILE
GONZALEZ CARRASQUILLO, HECTOR A   ADDRESS ON FILE
GONZALEZ CARRASQUILLO, IRMA Y.    ADDRESS ON FILE
GONZALEZ CARRASQUILLO, JOSE M     ADDRESS ON FILE
GONZALEZ CARRASQUILLO, MARIA      ADDRESS ON FILE
GONZALEZ CARRASQUILLO, MARILYN    ADDRESS ON FILE
GONZALEZ CARRASQUILLO, MARTA Y    ADDRESS ON FILE
GONZALEZ CARRASQUILLO, MINERVA    ADDRESS ON FILE
GONZALEZ CARRASQUILLO, RAUL       ADDRESS ON FILE
GONZALEZ CARRASQUILLO, ROSA M     ADDRESS ON FILE
GONZALEZ CARRASQUILLO, YELITZA    ADDRESS ON FILE
GONZALEZ CARRERA,SHIRLEY          ADDRESS ON FILE
GONZALEZ CARRERAS, JOSE           ADDRESS ON FILE
GONZALEZ CARRERAS, VILMA H        ADDRESS ON FILE
Gonzalez Carrero, Bernabe         ADDRESS ON FILE
GONZALEZ CARRERO, BERNABE         ADDRESS ON FILE
GONZALEZ CARRERO, JEREMIAS        ADDRESS ON FILE
GONZALEZ CARRERO, JESUS           ADDRESS ON FILE
GONZALEZ CARRERO, JOVANI          ADDRESS ON FILE
GONZALEZ CARRERO, JUAN            ADDRESS ON FILE
GONZALEZ CARRERO, LESTER          ADDRESS ON FILE
GONZALEZ CARRERO, MIRTA           ADDRESS ON FILE
GONZALEZ CARRERO, NANCY           ADDRESS ON FILE
GONZALEZ CARRERO, NANCY I         ADDRESS ON FILE
GONZALEZ CARRERO, VELDA           ADDRESS ON FILE
GONZALEZ CARRERO, VERONICA        ADDRESS ON FILE
GONZALEZ CARRERO, YOLANDA         ADDRESS ON FILE
GONZALEZ CARRILLO, AIDA I.        ADDRESS ON FILE
GONZÁLEZ CARRILLO, CARMEN         LIC. CENTENO RODRÍGUEZ, ALEIDA   PO BOX 1927                                        ARECIBO     PR      00613
GONZALEZ CARRILLO, DAWN           ADDRESS ON FILE
GONZALEZ CARRILLO, DAWN M.        ADDRESS ON FILE
GONZALEZ CARRILLO, MARIA I        ADDRESS ON FILE
GONZALEZ CARRILLO, SONIA          ADDRESS ON FILE
GONZALEZ CARRILLO, SONIA          ADDRESS ON FILE
GONZALEZ CARRION, ARNALDO         ADDRESS ON FILE
GONZALEZ CARRION, CARLOS          ADDRESS ON FILE
GONZALEZ CARRION, EFRAIN          ADDRESS ON FILE




                                                                                 Page 3291 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3292 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                       Address1                            Address2                   Address3   Address4   City         State   PostalCode   Country
GONZALEZ CARRION, ERWIN J.          ADDRESS ON FILE
GONZALEZ CARRION, EVELYN            ADDRESS ON FILE
GONZALEZ CARRION, GERMAN            ADDRESS ON FILE
GONZALEZ CARRION, ISABEL            ADDRESS ON FILE
GONZALEZ CARRION, JOAN              ADDRESS ON FILE
GONZALEZ CARRION, LUIS              ADDRESS ON FILE
GONZALEZ CARRION, LUIS R            ADDRESS ON FILE
GONZALEZ CARRION, MARIA J           ADDRESS ON FILE
GONZALEZ CARRION, MIGUEL A.         ADDRESS ON FILE
GONZALEZ CARRION, MILAGROS          ADDRESS ON FILE
GONZALEZ CARRION, RAQUEL            ADDRESS ON FILE
GONZALEZ CARRION, RICHARD           ADDRESS ON FILE
GONZALEZ CARTAGEN, FERNANDO         ADDRESS ON FILE
GONZALEZ CARTAGENA, CARMEN          ADDRESS ON FILE
GONZALEZ CARTAGENA, CARMEN M        ADDRESS ON FILE
GONZALEZ CARTAGENA, EDGARDO         ADDRESS ON FILE
GONZALEZ CARTAGENA, ELBA            ADDRESS ON FILE
GONZALEZ CARTAGENA, HANSEL E.       ADDRESS ON FILE
GONZALEZ CARTAGENA, IVELISSE        ADDRESS ON FILE
GONZALEZ CARTAGENA, IVIA            ADDRESS ON FILE
GONZALEZ CARTAGENA, JAVIER          ADDRESS ON FILE
GONZALEZ CARTAGENA, MARICELI        ADDRESS ON FILE
GONZALEZ CARTAGENA, MICHAEL         ADDRESS ON FILE
GONZALEZ CARTAGENA, OLGA            ADDRESS ON FILE
GONZALEZ CARTAGENA, OSVALDO         ADDRESS ON FILE
GONZALEZ CARTAGENA, PAMELA          ADDRESS ON FILE
GONZALEZ CARTAGENA, RODNEY          ADDRESS ON FILE
GONZALEZ CARTAGENA, WILLIAM         ADDRESS ON FILE
GONZALEZ CASALDUC, FRANCES          ADDRESS ON FILE
GONZALEZ CASANOVA, EDWIN R          ADDRESS ON FILE
GONZALEZ CASANOVA, LUIS J           ADDRESS ON FILE
GONZALEZ CASANOVA, MIGUEL           ADDRESS ON FILE
GONZALEZ CASAS, DAVID               ADDRESS ON FILE
GONZALEZ CASIANO, ELICA             ADDRESS ON FILE
GONZALEZ CASIANO, YAMILBA L         ADDRESS ON FILE
GONZALEZ CASILLAS, ANA E            ADDRESS ON FILE
GONZALEZ CASILLAS, IAN G.           ADDRESS ON FILE
GONZALEZ CASILLAS, JEZIEL           ADDRESS ON FILE
GONZALEZ CASILLAS, SHAURI           ADDRESS ON FILE
GONZALEZ CASILLAS, WILLIAM          ADDRESS ON FILE
GONZALEZ CASILLAS, WILLIAM          ADDRESS ON FILE
GONZALEZ CASTANER MORALES &GUZMAN   128 AVE. F.D. ROOSEVELT, 2DO PISO                                                    SAN JUAN     PR      00918‐2409
GONZALEZ CASTANER MORALES &GUZMAN   268 AVE MUNOZ RIVERA                OFIC 1002                                        SAN JUAN     PR      00918‐1921
GONZALEZ CASTANER, JULIO            ADDRESS ON FILE
GONZALEZ CASTELLANO, AYEICHA        ADDRESS ON FILE
GONZALEZ CASTELLANO, JOSE J         ADDRESS ON FILE
GONZALEZ CASTELLANO, MILTON         ADDRESS ON FILE
GONZALEZ CASTELLANO, WILMA          ADDRESS ON FILE
GONZALEZ CASTELLANOS, EDGARDO       ADDRESS ON FILE
GONZALEZ CASTILLO, ANA              ADDRESS ON FILE
GONZALEZ CASTILLO, ANTONIO          ADDRESS ON FILE
GONZALEZ CASTILLO, EUGENIO          ADDRESS ON FILE
GONZALEZ CASTILLO, EUGENIO          ADDRESS ON FILE
GONZALEZ CASTILLO, EUGENIO E.       ADDRESS ON FILE
GONZALEZ CASTILLO, GERARDO          ADDRESS ON FILE
GONZALEZ CASTILLO, HILEANA          ADDRESS ON FILE
GONZALEZ CASTILLO, IRIS M.          ADDRESS ON FILE
GONZALEZ CASTILLO, JACKELINE        ADDRESS ON FILE
GONZALEZ CASTILLO, JAILEEN          ADDRESS ON FILE
GONZALEZ CASTILLO, MARIAM           ADDRESS ON FILE




                                                                                    Page 3292 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3293 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Castillo, Nilka M       ADDRESS ON FILE
GONZALEZ CASTILLO, SANDRA        ADDRESS ON FILE
GONZALEZ CASTILLO, YLENIA        ADDRESS ON FILE
GONZALEZ CASTRO MD, MELISSA      ADDRESS ON FILE
Gonzalez Castro, Adan            ADDRESS ON FILE
GONZALEZ CASTRO, ADAN            ADDRESS ON FILE
GONZALEZ CASTRO, AIDA            ADDRESS ON FILE
Gonzalez Castro, Alvin           ADDRESS ON FILE
GONZALEZ CASTRO, ANA M           ADDRESS ON FILE
GONZALEZ CASTRO, ANETTE          ADDRESS ON FILE
GONZALEZ CASTRO, ANGELICA        ADDRESS ON FILE
GONZALEZ CASTRO, ANGELICA        ADDRESS ON FILE
GONZALEZ CASTRO, CARMEN E.       ADDRESS ON FILE
GONZALEZ CASTRO, DORIAN L        ADDRESS ON FILE
GONZALEZ CASTRO, EDITH M.        ADDRESS ON FILE
GONZALEZ CASTRO, EDWIN           ADDRESS ON FILE
GONZALEZ CASTRO, ERICK           ADDRESS ON FILE
GONZALEZ CASTRO, ERICK M.        ADDRESS ON FILE
GONZALEZ CASTRO, EUGENIO         ADDRESS ON FILE
GONZALEZ CASTRO, EUGENIO         ADDRESS ON FILE
GONZALEZ CASTRO, FRANCISCA       ADDRESS ON FILE
GONZALEZ CASTRO, GERTRUDIS       ADDRESS ON FILE
GONZALEZ CASTRO, HORTENSIA       ADDRESS ON FILE
GONZALEZ CASTRO, HUMBERTO        ADDRESS ON FILE
GONZALEZ CASTRO, JAVIER          ADDRESS ON FILE
GONZALEZ CASTRO, JOEL            ADDRESS ON FILE
GONZALEZ CASTRO, JOSE L.         ADDRESS ON FILE
GONZALEZ CASTRO, JULIA M.        ADDRESS ON FILE
GONZALEZ CASTRO, KATHERINE       ADDRESS ON FILE
GONZALEZ CASTRO, LEONIDES        ADDRESS ON FILE
GONZALEZ CASTRO, LUCILA          ADDRESS ON FILE
GONZALEZ CASTRO, MARIA           ADDRESS ON FILE
GONZALEZ CASTRO, MARITZA         ADDRESS ON FILE
GONZALEZ CASTRO, MELISSA         ADDRESS ON FILE
GONZALEZ CASTRO, MILDRED         ADDRESS ON FILE
GONZALEZ CASTRO, NOEMI           ADDRESS ON FILE
GONZALEZ CASTRO, OSVALDO         ADDRESS ON FILE
GONZALEZ CASTRO, RAFAEL          ADDRESS ON FILE
GONZALEZ CASTRO, ROSA A.         ADDRESS ON FILE
GONZALEZ CASTRO, RUBEN J.        ADDRESS ON FILE
GONZALEZ CASTRO, VILMA G         ADDRESS ON FILE
GONZALEZ CASTRO, YESCENIA        ADDRESS ON FILE
GONZALEZ CASTRODAD, EMANUEL O    ADDRESS ON FILE
GONZALEZ CASTRODAD, EVA M        ADDRESS ON FILE
GONZALEZ CATALA, JOCELYN         ADDRESS ON FILE
GONZALEZ CEBALLOS, ANGEL         ADDRESS ON FILE
GONZALEZ CEBALLOS, ANGEL         ADDRESS ON FILE
GONZALEZ CEBALLOS, MARY          ADDRESS ON FILE
GONZALEZ CEBOLLERO MD, ERNESTO   ADDRESS ON FILE
GONZALEZ CEBOLLERO, CANDIDA      ADDRESS ON FILE
GONZALEZ CEBOLLERO, GLADYS       ADDRESS ON FILE
GONZALEZ CEBOLLERO, MARTITA      ADDRESS ON FILE
GONZALEZ CEDENO, GERARDO         ADDRESS ON FILE
GONZALEZ CEDENO, MELVIN          ADDRESS ON FILE
GONZALEZ CEDENO, NERIDA          ADDRESS ON FILE
GONZALEZ CEDENO, ROMUALDO        ADDRESS ON FILE
GONZALEZ CEDENO, SONIA           ADDRESS ON FILE
GONZALEZ CEDRES, ANAISA          ADDRESS ON FILE
GONZALEZ CELADO, AMPARO          ADDRESS ON FILE
GONZALEZ CENTENO, ANDRES         ADDRESS ON FILE




                                                                             Page 3293 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3294 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CENTENO, ANN M          ADDRESS ON FILE
GONZALEZ CENTENO, FELIX J        ADDRESS ON FILE
GONZALEZ CENTENO, JOSE G.        ADDRESS ON FILE
GONZALEZ CENTENO, JUAN           ADDRESS ON FILE
Gonzalez Centeno, Juan C         ADDRESS ON FILE
GONZALEZ CENTENO, MARIO E.       ADDRESS ON FILE
GONZALEZ CENTENO, WILLIAM        ADDRESS ON FILE
GONZALEZ CENTENO, YADIRA         ADDRESS ON FILE
GONZALEZ CEPEDA, CARMEN L        ADDRESS ON FILE
GONZALEZ CEPERO, CAROLINA        ADDRESS ON FILE
GONZALEZ CEPERO, JUAN A.         ADDRESS ON FILE
GONZALEZ CEREZO, SUHAILY         ADDRESS ON FILE
GONZALEZ CEREZO, ZULMA V         ADDRESS ON FILE
GONZALEZ CERRA, RAFAEL           ADDRESS ON FILE
GONZALEZ CERVANTES, MISAEL       ADDRESS ON FILE
GONZALEZ CERVONI, DIALY          ADDRESS ON FILE
GONZALEZ CHABRIER, GILBERTO      ADDRESS ON FILE
GONZALEZ CHACON MD, NORMAN       ADDRESS ON FILE
GONZALEZ CHACON, LUZ I           ADDRESS ON FILE
GONZALEZ CHAEZ, BRUNILDA         ADDRESS ON FILE
GONZALEZ CHAEZ, LUISA            ADDRESS ON FILE
GONZALEZ CHAEZ, ROSA             ADDRESS ON FILE
GONZALEZ CHAMORRO, MARIA         ADDRESS ON FILE
GONZALEZ CHAPARRO, AMILCAR       ADDRESS ON FILE
GONZALEZ CHAPARRO, FRANCISCO     ADDRESS ON FILE
GONZALEZ CHAPARRO, FRANCISCO     ADDRESS ON FILE
GONZALEZ CHAPARRO, NELSON        ADDRESS ON FILE
GONZALEZ CHAPARRO, REYNALDO      ADDRESS ON FILE
GONZALEZ CHAPARRO, REYNALDO J.   ADDRESS ON FILE
GONZALEZ CHAPARRO, SAMANTHA      ADDRESS ON FILE
GONZALEZ CHAPARRO, SAMANTHA      ADDRESS ON FILE
GONZALEZ CHAPARRO, TANIA         ADDRESS ON FILE
GONZALEZ CHAPARRO, XIOMARA       ADDRESS ON FILE
GONZALEZ CHARLEMAN, DEBORAH D    ADDRESS ON FILE
GONZALEZ CHARNECO, ANITZA        ADDRESS ON FILE
GONZALEZ CHARRIEZ, SOLIMAR       ADDRESS ON FILE
GONZALEZ CHAVEZ MD, JOSE R       ADDRESS ON FILE
GONZALEZ CHEVALIER, DENISSE      ADDRESS ON FILE
GONZALEZ CHEVERE, DIOSDADO       ADDRESS ON FILE
GONZALEZ CHEVERE, JOSE           ADDRESS ON FILE
GONZALEZ CHEVERE, MELISSA        ADDRESS ON FILE
GONZALEZ CHEVERE, SONIA          ADDRESS ON FILE
GONZALEZ CHEVERE, SONIA I        ADDRESS ON FILE
GONZALEZ CHEVERE, YAHAIRA        ADDRESS ON FILE
GONZALEZ CHEVERE, ZAYRA I.       ADDRESS ON FILE
GONZALEZ CHEVEREZ, ADLYN         ADDRESS ON FILE
GONZALEZ CHEVEREZ, BRENDA        ADDRESS ON FILE
GONZALEZ CHEVEREZ, LENNY         ADDRESS ON FILE
GONZALEZ CHEVEREZ, NAISHA E      ADDRESS ON FILE
GONZALEZ CHINEA, FRANCISCO J.    ADDRESS ON FILE
GONZALEZ CHINEA, LOURDES         ADDRESS ON FILE
GONZALEZ CHINEA, LOURDES         ADDRESS ON FILE
GONZALEZ CIENFUEGOS, JOHN D      ADDRESS ON FILE
GONZALEZ CINTRON, ALEXANDER      ADDRESS ON FILE
GONZALEZ CINTRON, ALFRED         ADDRESS ON FILE
GONZALEZ CINTRON, ANA M          ADDRESS ON FILE
GONZALEZ CINTRON, ANNETTE        ADDRESS ON FILE
GONZALEZ CINTRON, DALYS          ADDRESS ON FILE
GONZALEZ CINTRON, DAVID          ADDRESS ON FILE
GONZALEZ CINTRON, DIANE          ADDRESS ON FILE




                                                                             Page 3294 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3295 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CINTRON, GABRIEL           ADDRESS ON FILE
GONZALEZ CINTRON, GADDIEL           ADDRESS ON FILE
GONZALEZ CINTRON, GADDIEL           ADDRESS ON FILE
Gonzalez Cintron, Gilberto          ADDRESS ON FILE
GONZALEZ CINTRON, GILBERTO          ADDRESS ON FILE
GONZALEZ CINTRON, GLORIA            ADDRESS ON FILE
GONZALEZ CINTRON, HIGINIO           ADDRESS ON FILE
GONZALEZ CINTRON, LILLIAN OLGA      ADDRESS ON FILE
GONZALEZ CINTRON, LUIS              ADDRESS ON FILE
GONZALEZ CINTRON, LUIS A            ADDRESS ON FILE
GONZALEZ CINTRON, MANUEL            ADDRESS ON FILE
GONZALEZ CINTRON, MARIA DE LOS A.   ADDRESS ON FILE
GONZALEZ CINTRON, MARTA             ADDRESS ON FILE
GONZALEZ CINTRON, MILDRED S         ADDRESS ON FILE
GONZALEZ CINTRON, RAMON             ADDRESS ON FILE
GONZALEZ CINTRON, RODOLFO           ADDRESS ON FILE
GONZALEZ CINTRON, ROSAURA           ADDRESS ON FILE
GONZALEZ CINTRON, SECUNDINO         ADDRESS ON FILE
GONZALEZ CINTRON, SONIA             ADDRESS ON FILE
GONZALEZ CINTRON, TOMAS             ADDRESS ON FILE
GONZALEZ CINTRON, VIDAL             ADDRESS ON FILE
GONZALEZ CINTRON, WILLIS            ADDRESS ON FILE
GONZALEZ CINTRON, YISSENIA          ADDRESS ON FILE
GONZALEZ CIRINO, ERIC               ADDRESS ON FILE
GONZALEZ CIRINO, REINALDO J.        ADDRESS ON FILE
Gonzalez Cirino, Ricardo            ADDRESS ON FILE
GONZALEZ CLAUDIO, ALEXIS            ADDRESS ON FILE
GONZALEZ CLAUDIO, ANDRES            ADDRESS ON FILE
GONZALEZ CLAUDIO, CRISTOPHER        ADDRESS ON FILE
GONZALEZ CLAUDIO, DENISE M          ADDRESS ON FILE
GONZALEZ CLAUDIO, FELICITA          ADDRESS ON FILE
GONZALEZ CLAUDIO, HECTOR            ADDRESS ON FILE
Gonzalez Claudio, Jeannette         ADDRESS ON FILE
Gonzalez Claudio, Jonathan          ADDRESS ON FILE
GONZALEZ CLAUDIO, JONATHAN          ADDRESS ON FILE
Gonzalez Claudio, Jorge A           ADDRESS ON FILE
GONZALEZ CLAUDIO, JUAN              ADDRESS ON FILE
GONZALEZ CLAUDIO, KATHERINE         ADDRESS ON FILE
Gonzalez Claudio, Luciane           ADDRESS ON FILE
GONZALEZ CLAUDIO, MARIAN            ADDRESS ON FILE
GONZALEZ CLAUDIO, MARIBEL           ADDRESS ON FILE
GONZALEZ CLAUDIO, PABLO             ADDRESS ON FILE
GONZALEZ CLAUDIO, SHEILA            ADDRESS ON FILE
GONZALEZ CLAUDIO, YESENIA           ADDRESS ON FILE
GONZALEZ CLAUSELL, ERIS             ADDRESS ON FILE
GONZALEZ CLEMENTE, MELARIS          ADDRESS ON FILE
GONZALEZ CLEMENTE, ZENIA E          ADDRESS ON FILE
GONZALEZ COBIAN, MARGARITA I        ADDRESS ON FILE
GONZALEZ COBOS, ISABEL G            ADDRESS ON FILE
GONZALEZ COLL, ERWIN                ADDRESS ON FILE
GONZALEZ COLL, ERWIN J              ADDRESS ON FILE
GONZALEZ COLLAZO, ADA L             ADDRESS ON FILE
GONZALEZ COLLAZO, ANDRES            ADDRESS ON FILE
GONZALEZ COLLAZO, ARACELIS          ADDRESS ON FILE
GONZALEZ COLLAZO, ARELY             ADDRESS ON FILE
Gonzalez Collazo, Armando           ADDRESS ON FILE
GONZALEZ COLLAZO, BLANCA I          ADDRESS ON FILE
GONZALEZ COLLAZO, CARLOS J          ADDRESS ON FILE
GONZALEZ COLLAZO, CARMEN M          ADDRESS ON FILE
GONZALEZ COLLAZO, EDNA IVETTE       ADDRESS ON FILE




                                                                                Page 3295 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3296 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ COLLAZO, EDWIN           ADDRESS ON FILE
GONZALEZ COLLAZO, EMMA I          ADDRESS ON FILE
GONZALEZ COLLAZO, EPIFANIA        ADDRESS ON FILE
GONZALEZ COLLAZO, HILDA J         ADDRESS ON FILE
GONZALEZ COLLAZO, JOEL            ADDRESS ON FILE
GONZALEZ COLLAZO, JOEL J.         ADDRESS ON FILE
GONZALEZ COLLAZO, JONATHAN        ADDRESS ON FILE
GONZALEZ COLLAZO, JONATHAN        ADDRESS ON FILE
Gonzalez Collazo, Jose A          ADDRESS ON FILE
GONZALEZ COLLAZO, JOSUE           ADDRESS ON FILE
GONZALEZ COLLAZO, LOURDES         ADDRESS ON FILE
GONZALEZ COLLAZO, LUIS            ADDRESS ON FILE
GONZALEZ COLLAZO, LUIS E          ADDRESS ON FILE
GONZALEZ COLLAZO, LUZ N           ADDRESS ON FILE
GONZALEZ COLLAZO, MARIA A.        ADDRESS ON FILE
GONZALEZ COLLAZO, MARIA I         ADDRESS ON FILE
Gonzalez Collazo, Mario           ADDRESS ON FILE
GONZALEZ COLLAZO, MARIO           ADDRESS ON FILE
GONZALEZ COLLAZO, MARKUS          ADDRESS ON FILE
GONZALEZ COLLAZO, MIGDALIA        ADDRESS ON FILE
GONZALEZ COLLAZO, MILAGROS        ADDRESS ON FILE
GONZALEZ COLLAZO, NANCY           ADDRESS ON FILE
GONZALEZ COLLAZO, NELSON          ADDRESS ON FILE
GONZALEZ COLLAZO, ORLANDO         ADDRESS ON FILE
GONZALEZ COLLAZO, SONIA N         ADDRESS ON FILE
GONZALEZ COLLAZO, VICTOR          ADDRESS ON FILE
GONZALEZ COLLAZO, WILMA Z.        ADDRESS ON FILE
Gonzalez Collazo, Yamil           ADDRESS ON FILE
GONZALEZ COLLAZO, YAMILKA         ADDRESS ON FILE
GONZALEZ COLLAZO, YOMAYDA         ADDRESS ON FILE
GONZALEZ COLLAZO, ZAILEEN         ADDRESS ON FILE
GONZALEZ COLLINS, AMADO           ADDRESS ON FILE
GONZALEZ COLLINS, ELVEEN          ADDRESS ON FILE
GONZALEZ COLLINS, ELVEEN M        ADDRESS ON FILE
GONZALEZ COLLISION REPAIR, INC    PO BOX 370906                                                                    CAYEY        PR      00737
GONZALEZ COLOMBANI, AILEEN        ADDRESS ON FILE
GONZALEZ COLOMBANI, CESAR         ADDRESS ON FILE
GONZALEZ COLOMBANI, LILLIAM       ADDRESS ON FILE
GONZALEZ COLOMBANI, MIGDALIA      ADDRESS ON FILE
GONZALEZ COLOMER, ADA L           ADDRESS ON FILE
GONZALEZ COLON JOSE GIOVANY       ADDRESS ON FILE
GONZALEZ COLON MD, ANITZA O       ADDRESS ON FILE
GONZALEZ COLON MD, LUIS R         ADDRESS ON FILE
GONZALEZ COLON MD, ROBERTO        ADDRESS ON FILE
GONZALEZ COLON MD, SANDY M        ADDRESS ON FILE
GONZALEZ COLON MEDICAL SERVICES   51 AVE LA MOCA                                                                   MOCA         PR      00676
GONZALEZ COLON, ADA               ADDRESS ON FILE
GONZALEZ COLON, ALBA G            ADDRESS ON FILE
Gonzalez Colon, Alberto R         ADDRESS ON FILE
GONZALEZ COLON, ALEXANDER         ADDRESS ON FILE
GONZALEZ COLON, ALEXIS            ADDRESS ON FILE
GONZALEZ COLON, ALMARIS           ADDRESS ON FILE
GONZALEZ COLON, ANA               ADDRESS ON FILE
GONZALEZ COLON, ANA B.            ADDRESS ON FILE
GONZALEZ COLON, ANA K             ADDRESS ON FILE
GONZALEZ COLON, ANDRES            ADDRESS ON FILE
Gonzalez Colon, Angel             ADDRESS ON FILE
GONZALEZ COLON, ANGEL             ADDRESS ON FILE
GONZALEZ COLON, ANGEL             ADDRESS ON FILE
GONZALEZ COLON, ANGEL             ADDRESS ON FILE




                                                                              Page 3296 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3297 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ COLON, ANIBAL         ADDRESS ON FILE
GONZALEZ COLON, BELISA         ADDRESS ON FILE
Gonzalez Colon, Bernabe        ADDRESS ON FILE
GONZALEZ COLON, BETSY          ADDRESS ON FILE
GONZALEZ COLON, CARLOS         ADDRESS ON FILE
Gonzalez Colon, Carlos A       ADDRESS ON FILE
GONZALEZ COLON, CARMEN         ADDRESS ON FILE
GONZALEZ COLON, CARMEN L       ADDRESS ON FILE
GONZALEZ COLON, CARMEN M       ADDRESS ON FILE
GONZALEZ COLON, CARMEN NYDIA   ADDRESS ON FILE
Gonzalez Colon, Caroline M     ADDRESS ON FILE
GONZALEZ COLON, CECILIO        ADDRESS ON FILE
GONZALEZ COLON, CECIMIR        ADDRESS ON FILE
GONZALEZ COLON, CESAR          ADDRESS ON FILE
GONZALEZ COLON, CESAR          ADDRESS ON FILE
GONZALEZ COLON, CHARLIE        ADDRESS ON FILE
GONZALEZ COLON, CLARIBEL       ADDRESS ON FILE
GONZALEZ COLON, DAHIANA        ADDRESS ON FILE
GONZALEZ COLON, DAMARA         ADDRESS ON FILE
GONZALEZ COLON, DELMA          ADDRESS ON FILE
GONZALEZ COLON, DENNIES        ADDRESS ON FILE
GONZALEZ COLON, DENNIES        ADDRESS ON FILE
GONZALEZ COLON, DESY M.        ADDRESS ON FILE
GONZALEZ COLON, DORIS          ADDRESS ON FILE
GONZALEZ COLON, EDGARDO        ADDRESS ON FILE
GONZALEZ COLON, EDNA           ADDRESS ON FILE
GONZALEZ COLON, EDUARDO        ADDRESS ON FILE
GONZALEZ COLON, EDWARD         ADDRESS ON FILE
GONZALEZ COLON, EDWIN          ADDRESS ON FILE
GONZALEZ COLON, ELBA           ADDRESS ON FILE
GONZALEZ COLON, ELBA Z         ADDRESS ON FILE
GONZALEZ COLON, ELISAMUEL      ADDRESS ON FILE
GONZALEZ COLON, EMILIO         ADDRESS ON FILE
GONZALEZ COLON, ERIKA          ADDRESS ON FILE
GONZALEZ COLON, EVELYN         ADDRESS ON FILE
GONZALEZ COLON, FELIPE         ADDRESS ON FILE
GONZALEZ COLON, FIDEL          ADDRESS ON FILE
GONZALEZ COLON, FRANCES V.     ADDRESS ON FILE
GONZALEZ COLON, GABRIEL        ADDRESS ON FILE
Gonzalez Colon, German         ADDRESS ON FILE
GONZALEZ COLON, GERMAN         ADDRESS ON FILE
GONZALEZ COLON, GERMAN         ADDRESS ON FILE
GONZALEZ COLON, GINETTE M      ADDRESS ON FILE
GONZALEZ COLON, GUILLERMO      ADDRESS ON FILE
GONZALEZ COLON, HARRY          ADDRESS ON FILE
Gonzalez Colon, Hector M       ADDRESS ON FILE
GONZALEZ COLON, HOMAIRA        ADDRESS ON FILE
GONZALEZ COLON, IRMGARD        ADDRESS ON FILE
GONZALEZ COLON, IVAN           ADDRESS ON FILE
GONZALEZ COLON, IVONNE         ADDRESS ON FILE
GONZALEZ COLON, JACINTA        ADDRESS ON FILE
Gonzalez Colon, Javier         ADDRESS ON FILE
GONZALEZ COLON, JAVIER         ADDRESS ON FILE
GONZALEZ COLON, JEAN           ADDRESS ON FILE
GONZALEZ COLON, JENNIFER       ADDRESS ON FILE
GONZALEZ COLON, JOAN           ADDRESS ON FILE
GONZALEZ COLON, JOANNE         ADDRESS ON FILE
GONZALEZ COLON, JOELLY         ADDRESS ON FILE
GONZALEZ COLON, JONATHAN       ADDRESS ON FILE
GONZALEZ COLON, JOSE           ADDRESS ON FILE




                                                                           Page 3297 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3298 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ COLON, JOSE A.       ADDRESS ON FILE
GONZALEZ COLON, JUAN          ADDRESS ON FILE
GONZALEZ COLON, JUAN L        ADDRESS ON FILE
GONZALEZ COLON, JUANITA       ADDRESS ON FILE
GONZALEZ COLON, JULIO         ADDRESS ON FILE
GONZALEZ COLON, JULIO         ADDRESS ON FILE
GONZALEZ COLON, JULIO         ADDRESS ON FILE
Gonzalez Colon, Julio A       ADDRESS ON FILE
GONZALEZ COLON, JULISSA       ADDRESS ON FILE
GONZALEZ COLON, KATHERINE D   ADDRESS ON FILE
GONZALEZ COLON, KEISHA        ADDRESS ON FILE
GONZALEZ COLON, KENIA I       ADDRESS ON FILE
GONZALEZ COLON, KEYSHA        ADDRESS ON FILE
GONZALEZ COLON, LEGNA L       ADDRESS ON FILE
GONZALEZ COLON, LILLIAM M     ADDRESS ON FILE
GONZALEZ COLON, LILLIAN       ADDRESS ON FILE
GONZALEZ COLON, LINDA M       ADDRESS ON FILE
GONZALEZ COLON, LIZBETH       ADDRESS ON FILE
GONZALEZ COLON, LUIS          ADDRESS ON FILE
GONZALEZ COLON, LUIS          ADDRESS ON FILE
GONZALEZ COLON, LUIS          ADDRESS ON FILE
GONZALEZ COLON, LUIS          ADDRESS ON FILE
GONZALEZ COLON, LUIS A        ADDRESS ON FILE
GONZALEZ COLON, LUIS A        ADDRESS ON FILE
GONZALEZ COLON, LUIS F        ADDRESS ON FILE
Gonzalez Colon, Luis R        ADDRESS ON FILE
GONZALEZ COLON, LUZ           ADDRESS ON FILE
GONZALEZ COLON, LUZ M.        ADDRESS ON FILE
GONZALEZ COLON, LUZ S         ADDRESS ON FILE
GONZALEZ COLON, LYNNETTE      ADDRESS ON FILE
GONZALEZ COLON, LYNNETTE      ADDRESS ON FILE
GONZALEZ COLON, MANUEL        ADDRESS ON FILE
GONZALEZ COLON, MARIA         ADDRESS ON FILE
GONZALEZ COLON, MARIA         ADDRESS ON FILE
GONZALEZ COLON, MARIA E       ADDRESS ON FILE
GONZALEZ COLON, MARIA J.      ADDRESS ON FILE
GONZALEZ COLON, MARIA M       ADDRESS ON FILE
GONZALEZ COLON, MARIA M.      ADDRESS ON FILE
GONZALEZ COLON, MARIBEL       ADDRESS ON FILE
GONZALEZ COLON, MARICELYS     ADDRESS ON FILE
GONZALEZ COLON, MARIELIS      ADDRESS ON FILE
GONZALEZ COLON, MELVIN        ADDRESS ON FILE
GONZALEZ COLON, MIGDALIA      ADDRESS ON FILE
Gonzalez Colon, Miguel A      ADDRESS ON FILE
GONZALEZ COLON, MIGUEL R      ADDRESS ON FILE
GONZALEZ COLON, MILAGROS      ADDRESS ON FILE
GONZALEZ COLON, NANCY E       ADDRESS ON FILE
GONZALEZ COLON, NANCY Y.      ADDRESS ON FILE
GONZALEZ COLON, NEREIDA       ADDRESS ON FILE
GONZALEZ COLON, NEREIDA       ADDRESS ON FILE
GONZALEZ COLON, NISHNA        ADDRESS ON FILE
Gonzalez Colon, Noel A        ADDRESS ON FILE
GONZALEZ COLON, NOEMI         ADDRESS ON FILE
GONZALEZ COLON, NORMA         ADDRESS ON FILE
GONZALEZ COLON, ODETTE        ADDRESS ON FILE
GONZALEZ COLON, ODETTE A      ADDRESS ON FILE
GONZALEZ COLON, ORLANDO       ADDRESS ON FILE
GONZALEZ COLON, ORLANDO       ADDRESS ON FILE
GONZALEZ COLON, PEGGY         ADDRESS ON FILE
GONZALEZ COLON, PROVIDENCIA   ADDRESS ON FILE




                                                                          Page 3298 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3299 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Colon, Rafael            ADDRESS ON FILE
GONZALEZ COLON, RAMON             ADDRESS ON FILE
GONZALEZ COLON, RAUL              ADDRESS ON FILE
GONZALEZ COLON, REYNALDO          ADDRESS ON FILE
GONZALEZ COLON, SABINO            ADDRESS ON FILE
GONZALEZ COLON, SANDRA            ADDRESS ON FILE
GONZALEZ COLON, SHEILA L          ADDRESS ON FILE
GONZALEZ COLON, SONIA             ADDRESS ON FILE
GONZALEZ COLON, SONIA M           ADDRESS ON FILE
GONZALEZ COLON, SORALIS           ADDRESS ON FILE
GONZALEZ COLON, TANIA             ADDRESS ON FILE
GONZALEZ COLON, TOMAS             ADDRESS ON FILE
GONZALEZ COLON, TOMAS             ADDRESS ON FILE
GONZALEZ COLON, VANESSA           ADDRESS ON FILE
GONZALEZ COLON, WANDA             ADDRESS ON FILE
GONZALEZ COLON, WANDA I           ADDRESS ON FILE
GONZALEZ COLON, WENDY             ADDRESS ON FILE
GONZALEZ COLON, WILFREDO          ADDRESS ON FILE
GONZALEZ COLON, WILLIAM           ADDRESS ON FILE
GONZALEZ COLON, WILLIAM           ADDRESS ON FILE
Gonzalez Colon, Yachira M         ADDRESS ON FILE
GONZALEZ COLON, YARITZA           ADDRESS ON FILE
GONZALEZ COLON, YELENA            ADDRESS ON FILE
GONZALEZ COLON, YESENIA           ADDRESS ON FILE
GONZALEZ COLON, ZULEIMA           ADDRESS ON FILE
GONZALEZ COMAS, ANA R             ADDRESS ON FILE
GONZALEZ COMPRE, JONEL J          ADDRESS ON FILE
GONZALEZ CONCEPCION MD, JUAN      ADDRESS ON FILE
GONZALEZ CONCEPCION, ALEX         ADDRESS ON FILE
GONZALEZ CONCEPCION, AMARILIS     ADDRESS ON FILE
GONZALEZ CONCEPCION, ANGEL L.     ADDRESS ON FILE
GONZALEZ CONCEPCION, EDWIN N.     ADDRESS ON FILE
GONZALEZ CONCEPCION, ERMELINDA    ADDRESS ON FILE
GONZALEZ CONCEPCION, JEANNETTE    ADDRESS ON FILE
GONZALEZ CONCEPCION, JESUS        ADDRESS ON FILE
GONZALEZ CONCEPCION, JOSE         ADDRESS ON FILE
GONZALEZ CONCEPCION, JUAN         ADDRESS ON FILE
GONZALEZ CONCEPCION, LILLIAN      ADDRESS ON FILE
GONZALEZ CONCEPCION, MARCELINO    ADDRESS ON FILE
GONZALEZ CONCEPCION, MINERVA      ADDRESS ON FILE
GONZALEZ CONCEPCION, ORLANDO      ADDRESS ON FILE
GONZALEZ CONCEPCION, SHAILYN      ADDRESS ON FILE
GONZALEZ CONCEPCION, VANESSA      ADDRESS ON FILE
GONZALEZ CONCEPCION, VICTOR I     ADDRESS ON FILE
GONZALEZ CONCEPCION, WILLIAM      ADDRESS ON FILE
Gonzalez Conde, Deborah           ADDRESS ON FILE
GONZALEZ CONDE, JAN               ADDRESS ON FILE
GONZALEZ CONDE, KARLA             ADDRESS ON FILE
GONZALEZ CONDE, NORMA             ADDRESS ON FILE
GONZALEZ CONDE, RUTH N.           ADDRESS ON FILE
GONZALEZ CONDE, RUTH N.           ADDRESS ON FILE
GONZALEZ CONSTRUCTION             PO BOX 174                                                                       ANASCO       PR      00610
GONZALEZ CONTIN, GENELHUR         ADDRESS ON FILE
GONZALEZ CONTRACTORS POWER CORP   PO BOX 1737                                                                      UTUADO       PR      00641
GONZALEZ CONTRERAS, ALADINO       ADDRESS ON FILE
GONZALEZ CONTRERAS, BRADLEY       ADDRESS ON FILE
GONZALEZ CONTRERAS, BRADLEY J     ADDRESS ON FILE
GONZALEZ CONTRERAS, KENNY         ADDRESS ON FILE
GONZALEZ CONTRERAS, MIRIAM        ADDRESS ON FILE
GONZALEZ COPPIN, FELIX            ADDRESS ON FILE




                                                                              Page 3299 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3300 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CORA, SAMUEL           ADDRESS ON FILE
GONZALEZ CORA, WALESKA          ADDRESS ON FILE
Gonzalez Cora, Waleska J        ADDRESS ON FILE
GONZALEZ CORALIZ, JAVIER        ADDRESS ON FILE
GONZALEZ CORCHADO, DANIEL       ADDRESS ON FILE
GONZALEZ CORCHADO, EVA H.       ADDRESS ON FILE
GONZALEZ CORCHADO, GAIL         ADDRESS ON FILE
GONZALEZ CORDERO, AIDA E        ADDRESS ON FILE
GONZALEZ CORDERO, AMARILIS      ADDRESS ON FILE
GONZALEZ CORDERO, ANTONIA       ADDRESS ON FILE
GONZALEZ CORDERO, BARTOLOME     ADDRESS ON FILE
GONZALEZ CORDERO, CARMELO       ADDRESS ON FILE
GONZALEZ CORDERO, CARMEN        ADDRESS ON FILE
GONZALEZ CORDERO, CESAR O       ADDRESS ON FILE
Gonzalez Cordero, Cesar O       ADDRESS ON FILE
GONZALEZ CORDERO, CONCEPCION    ADDRESS ON FILE
GONZALEZ CORDERO, DAVID         ADDRESS ON FILE
GONZALEZ CORDERO, DELVIN A      ADDRESS ON FILE
GONZALEZ CORDERO, DENISE        ADDRESS ON FILE
GONZALEZ CORDERO, DEVELYN       ADDRESS ON FILE
GONZALEZ CORDERO, EDWARD        ADDRESS ON FILE
Gonzalez Cordero, Edwin         ADDRESS ON FILE
GONZALEZ CORDERO, EDWIN         ADDRESS ON FILE
GONZALEZ CORDERO, EDWIN         ADDRESS ON FILE
GONZALEZ CORDERO, ERNESTO       ADDRESS ON FILE
GONZALEZ CORDERO, FERMIN        ADDRESS ON FILE
GONZALEZ CORDERO, GLENDA        ADDRESS ON FILE
GONZALEZ CORDERO, HARRY         ADDRESS ON FILE
GONZALEZ CORDERO, HECTOR        ADDRESS ON FILE
GONZALEZ CORDERO, HILDA I       ADDRESS ON FILE
GONZALEZ CORDERO, IRIS D        ADDRESS ON FILE
GONZALEZ CORDERO, ISRAEL        ADDRESS ON FILE
GONZALEZ CORDERO, IVAN          ADDRESS ON FILE
GONZALEZ CORDERO, IVETTE        ADDRESS ON FILE
GONZALEZ CORDERO, JANET         ADDRESS ON FILE
GONZALEZ CORDERO, JEFFREY J.    ADDRESS ON FILE
GONZALEZ CORDERO, JEFFREY J.    ADDRESS ON FILE
GONZALEZ CORDERO, JEMYR E.      ADDRESS ON FILE
GONZALEZ CORDERO, JOSE          ADDRESS ON FILE
GONZALEZ CORDERO, JOSE J.       ADDRESS ON FILE
GONZALEZ CORDERO, JOSE M.       ADDRESS ON FILE
Gonzalez Cordero, Lilliam I     ADDRESS ON FILE
GONZALEZ CORDERO, LILLIAN J.    ADDRESS ON FILE
GONZALEZ CORDERO, LIVIER        ADDRESS ON FILE
GONZALEZ CORDERO, MARIA DEL C   ADDRESS ON FILE
GONZALEZ CORDERO, MARIA M       ADDRESS ON FILE
GONZALEZ CORDERO, MARIA M       ADDRESS ON FILE
GONZALEZ CORDERO, MARISOL       ADDRESS ON FILE
GONZALEZ CORDERO, MELANIE       ADDRESS ON FILE
GONZALEZ CORDERO, MIRIAM        ADDRESS ON FILE
Gonzalez Cordero, Modesto       ADDRESS ON FILE
GONZALEZ CORDERO, MONSERRETE    ADDRESS ON FILE
GONZALEZ CORDERO, MYRIAM        ADDRESS ON FILE
GONZALEZ CORDERO, NILDA         ADDRESS ON FILE
GONZALEZ CORDERO, NILDA M.      ADDRESS ON FILE
GONZALEZ CORDERO, ORLANDO       ADDRESS ON FILE
GONZALEZ CORDERO, RICARDO M     ADDRESS ON FILE
Gonzalez Cordero, Roberto       ADDRESS ON FILE
GONZALEZ CORDERO, ROGER W       ADDRESS ON FILE
GONZALEZ CORDERO, YAJAIRA       ADDRESS ON FILE




                                                                            Page 3300 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3301 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CORDERO, YAJAIRA        ADDRESS ON FILE
GONZALEZ CORDERO, YAMILLE        ADDRESS ON FILE
GONZALEZ CORDERO, YASHIRA        ADDRESS ON FILE
GONZALEZ CORDERO, YEDID Y        ADDRESS ON FILE
GONZALEZ CORDOVA, ANA            ADDRESS ON FILE
GONZALEZ CORDOVA, ANGEL L        ADDRESS ON FILE
GONZALEZ CORDOVA, EILEEN         ADDRESS ON FILE
GONZALEZ CORDOVA, ELBA I         ADDRESS ON FILE
GONZALEZ CORDOVA, JORGE          ADDRESS ON FILE
GONZALEZ CORDOVA, LUIS A         ADDRESS ON FILE
GONZALEZ CORDOVA, MARIA M        ADDRESS ON FILE
GONZALEZ CORONADO, JOSE L.       ADDRESS ON FILE
GONZALEZ CORPORAN, DARIO A       ADDRESS ON FILE
GONZALEZ CORREA, ANGEL L.        ADDRESS ON FILE
GONZALEZ CORREA, CESAR           ADDRESS ON FILE
GONZALEZ CORREA, IRAIDA          ADDRESS ON FILE
GONZALEZ CORREA, ISABEL          ADDRESS ON FILE
GONZALEZ CORREA, IVAN            ADDRESS ON FILE
GONZALEZ CORREA, IVETTE J        ADDRESS ON FILE
GONZALEZ CORREA, JENNIFER        ADDRESS ON FILE
GONZALEZ CORREA, JOSE A.         ADDRESS ON FILE
GONZALEZ CORREA, JOSUE           ADDRESS ON FILE
GONZALEZ CORREA, JOSUE           ADDRESS ON FILE
GONZALEZ CORREA, JULIO E         ADDRESS ON FILE
Gonzalez Correa, Kenneth         ADDRESS ON FILE
GONZALEZ CORREA, KENNETH         ADDRESS ON FILE
GONZALEZ CORREA, LUZ M           ADDRESS ON FILE
GONZALEZ CORREA, MANUEL          ADDRESS ON FILE
GONZALEZ CORREA, MANUEL          ADDRESS ON FILE
GONZALEZ CORREA, REBECCA         ADDRESS ON FILE
GONZALEZ CORREA, REBECCA         ADDRESS ON FILE
GONZALEZ CORREA, WANDA           ADDRESS ON FILE
GONZALEZ CORTES, ALEX G          ADDRESS ON FILE
Gonzalez Cortes, Angel           ADDRESS ON FILE
GONZALEZ CORTES, ANGEL           ADDRESS ON FILE
GONZALEZ CORTES, ANGEL           ADDRESS ON FILE
GONZALEZ CORTES, ANGEL J         ADDRESS ON FILE
GONZALEZ CORTES, ANGELA          ADDRESS ON FILE
GONZALEZ CORTES, ANNELIESE       ADDRESS ON FILE
GONZALEZ CORTES, ARACELIA        ADDRESS ON FILE
Gonzalez Cortes, Arnaldo         ADDRESS ON FILE
GONZALEZ CORTES, BERNARDO        ADDRESS ON FILE
GONZALEZ CORTES, CARIDAD         ADDRESS ON FILE
GONZALEZ CORTES, CECILIO A.      ADDRESS ON FILE
GONZALEZ CORTES, CORPUS          ADDRESS ON FILE
GONZALEZ CORTES, DALIA           ADDRESS ON FILE
GONZALEZ CORTES, DALIA I.        ADDRESS ON FILE
GONZALEZ CORTES, EFREN           ADDRESS ON FILE
GONZALEZ CORTES, ELINOR          ADDRESS ON FILE
GONZALEZ CORTES, ELMER J.        ADDRESS ON FILE
GONZALEZ CORTES, EVELYN          ADDRESS ON FILE
GONZALEZ CORTES, GIANPAUL        ADDRESS ON FILE
GONZALEZ CORTES, GLORIA ESTHER   ADDRESS ON FILE
GONZALEZ CORTES, IVELISSE        ADDRESS ON FILE
GONZALEZ CORTES, JONATHAN        ADDRESS ON FILE
GONZALEZ CORTES, JUDITH          ADDRESS ON FILE
GONZALEZ CORTES, KAREN H         ADDRESS ON FILE
GONZALEZ CORTES, LILLIAN         ADDRESS ON FILE
GONZALEZ CORTES, LIZZETTE        ADDRESS ON FILE
GONZALEZ CORTES, LORAIMA         ADDRESS ON FILE




                                                                             Page 3301 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3302 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Cortes, Luis          ADDRESS ON FILE
GONZALEZ CORTES, LUZ M         ADDRESS ON FILE
GONZALEZ CORTES, MANUEL        ADDRESS ON FILE
GONZALEZ CORTES, MARIA JULIA   ADDRESS ON FILE
GONZALEZ CORTES, MELVIN        ADDRESS ON FILE
GONZALEZ CORTES, MIGUELINA     ADDRESS ON FILE
GONZALEZ CORTES, NILDA M       ADDRESS ON FILE
GONZALEZ CORTES, NYDIA E       ADDRESS ON FILE
Gonzalez Cortes, Osvaldo R     ADDRESS ON FILE
GONZALEZ CORTES, PAULA         ADDRESS ON FILE
GONZALEZ CORTES, PEDRO         ADDRESS ON FILE
GONZALEZ CORTES, PERFECTO      ADDRESS ON FILE
GONZALEZ CORTES, RAUL          ADDRESS ON FILE
GONZALEZ CORTES, RENE          ADDRESS ON FILE
GONZALEZ CORTES, SARAI         ADDRESS ON FILE
GONZALEZ CORTES, VIRGINIA      ADDRESS ON FILE
GONZALEZ CORTES, WILLIAM       ADDRESS ON FILE
GONZALEZ CORTES, YANITZA R     ADDRESS ON FILE
Gonzalez Cortez, Anibal        ADDRESS ON FILE
GONZALEZ CORTEZ, JULIA         ADDRESS ON FILE
GONZALEZ CORTEZ, SHARON        ADDRESS ON FILE
GONZALEZ CORUJO, GISELLE       ADDRESS ON FILE
GONZALEZ CORUJO, NANCY         ADDRESS ON FILE
GONZALEZ COSME, IRMARYS        ADDRESS ON FILE
GONZALEZ COSME, LAURA          ADDRESS ON FILE
GONZALEZ COSME, LEISHLA M      ADDRESS ON FILE
GONZALEZ COSME, MARIBEL        ADDRESS ON FILE
GONZALEZ COSME, MIGUEL         ADDRESS ON FILE
GONZALEZ COSME, PEDRO          ADDRESS ON FILE
GONZALEZ COSTA, ADRIAN         ADDRESS ON FILE
GONZALEZ COSTA, MONICA         ADDRESS ON FILE
GONZALEZ COSTAS, ABNER         ADDRESS ON FILE
GONZALEZ COTTO, ADA I          ADDRESS ON FILE
Gonzalez Cotto, Ada L          ADDRESS ON FILE
GONZALEZ COTTO, ALBERTO        ADDRESS ON FILE
GONZALEZ COTTO, CARLOS R       ADDRESS ON FILE
GONZALEZ COTTO, DAISY          ADDRESS ON FILE
GONZALEZ COTTO, ENID S         ADDRESS ON FILE
GONZALEZ COTTO, HECTOR         ADDRESS ON FILE
GONZALEZ COTTO, IRMA I         ADDRESS ON FILE
GONZALEZ COTTO, ISAMAR         ADDRESS ON FILE
GONZALEZ COTTO, IVELISSE       ADDRESS ON FILE
GONZALEZ COTTO, JAIME          ADDRESS ON FILE
GONZALEZ COTTO, JANISE A       ADDRESS ON FILE
GONZALEZ COTTO, KELVIN A       ADDRESS ON FILE
GONZALEZ COTTO, LUIS A         ADDRESS ON FILE
GONZALEZ COTTO, LUISA I        ADDRESS ON FILE
GONZALEZ COTTO, MARIA          ADDRESS ON FILE
GONZALEZ COTTO, MARIA L        ADDRESS ON FILE
GONZALEZ COTTO, MARILYN        ADDRESS ON FILE
Gonzalez Cotto, Nilda A        ADDRESS ON FILE
GONZALEZ COTTO, ORLANDO        ADDRESS ON FILE
GONZALEZ COTTO, RAFELLI        ADDRESS ON FILE
GONZALEZ COTTO, RAMON L        ADDRESS ON FILE
GONZALEZ COTTO, SECUNDINO      ADDRESS ON FILE
GONZALEZ COTTO, YESENIA        ADDRESS ON FILE
GONZALEZ COTTO, ZOMAIRA        ADDRESS ON FILE
GONZALEZ CRESPI, LIZZETTE      ADDRESS ON FILE
GONZALEZ CRESPO, AMELIA        ADDRESS ON FILE
GONZALEZ CRESPO, ANA Z.        ADDRESS ON FILE




                                                                           Page 3302 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3303 of 3500
                                                                                17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                    Address1                           Address2                    Address3   Address4   City              State   PostalCode   Country
GONZALEZ CRESPO, ANABEL          ADDRESS ON FILE
GONZALEZ CRESPO, ANASTACIA       ADDRESS ON FILE
GONZALEZ CRESPO, BETSY I         ADDRESS ON FILE
GONZALEZ CRESPO, CARLOS          ADDRESS ON FILE
GONZALEZ CRESPO, CARMEN          ADDRESS ON FILE
GONZALEZ CRESPO, CRISTINA        ADDRESS ON FILE
GONZALEZ CRESPO, DENISSE         ADDRESS ON FILE
GONZALEZ CRESPO, DIEGO           ADDRESS ON FILE
GONZALEZ CRESPO, EDWIN           ADDRESS ON FILE
GONZALEZ CRESPO, ELSA            ADDRESS ON FILE
GONZALEZ CRESPO, FELIX A         ADDRESS ON FILE
GONZALEZ CRESPO, FRANK           ADDRESS ON FILE
GONZALEZ CRESPO, FRANK I.        ADDRESS ON FILE
GONZALEZ CRESPO, GRISELLE        ADDRESS ON FILE
GONZALEZ CRESPO, IRMA N          ADDRESS ON FILE
GONZALEZ CRESPO, IVAN            ADDRESS ON FILE
GONZALEZ CRESPO, JANICE          ADDRESS ON FILE
GONZALEZ CRESPO, JOSE            ADDRESS ON FILE
GONZALEZ CRESPO, JUAN J          ADDRESS ON FILE
GONZALEZ CRESPO, KIRZA           ADDRESS ON FILE
Gonzalez Crespo, Madeline        ADDRESS ON FILE
GONZALEZ CRESPO, MADELINE        ADDRESS ON FILE
GONZALEZ CRESPO, MARIA T         ADDRESS ON FILE
GONZALEZ CRESPO, MARITZA         ADDRESS ON FILE
GONZALEZ CRESPO, NILDA I         ADDRESS ON FILE
GONZALEZ CRESPO, PASCUAL         ADDRESS ON FILE
Gonzalez Crespo, Rafael          ADDRESS ON FILE
GONZALEZ CRESPO, RICARDO         ADDRESS ON FILE
GONZALEZ CRESPO, ROBERTO         ADDRESS ON FILE
GONZALEZ CRESPO, ROBERTO         ADDRESS ON FILE
GONZALEZ CRESPO, ROBERTO         ADDRESS ON FILE
GONZALEZ CRESPO, SONIA           ADDRESS ON FILE
GONZALEZ CRESPO, SUZETTE         ADDRESS ON FILE
GONZALEZ CRESPO, TERESA          ADDRESS ON FILE
GONZALEZ CRESPO, TERESITA        ADDRESS ON FILE
GONZALEZ CRESPO, WANDA I         ADDRESS ON FILE
GONZALEZ CRESPO, WILLIAM         ADDRESS ON FILE
GONZALEZ CRESPO, YOCELYN         ADDRESS ON FILE
GONZALEZ CRIADO, MARLEEN         ADDRESS ON FILE
GONZALEZ CRISTOBAL, GLORISABEL   ADDRESS ON FILE
GONZALEZ CRISTOBAL, JOSE         ADDRESS ON FILE
GONZALEZ CRISTOBAL, JUAN         ADDRESS ON FILE
GONZALEZ CRUX, KIOMARA           ADDRESS ON FILE
GONZALEZ CRUZ MD, ISRAEL         ADDRESS ON FILE
GONZALEZ CRUZ MD, JUAN           ADDRESS ON FILE
GONZALEZ CRUZ MD, RENIER         ADDRESS ON FILE
GONZALEZ CRUZ, ABIMAEL           ADDRESS ON FILE
GONZALEZ CRUZ, ADA               ADDRESS ON FILE
GONZALEZ CRUZ, AIDA              ADDRESS ON FILE
GONZALEZ CRUZ, AILEEN            ADDRESS ON FILE
GONZALEZ CRUZ, ALEXANDER         ADDRESS ON FILE
GONZALEZ CRUZ, ALEXIS            ADDRESS ON FILE
Gonzalez Cruz, Alfredo           ADDRESS ON FILE
GONZÁLEZ CRUZ, ALFREDO           LCDA. ELDA MAGALI RODRIGUEZ CORA   PO BOX 716                                        TRUJILLO ALTO     PR      00977‐0716
GONZALEZ CRUZ, ALFREDO           ADDRESS ON FILE
GONZALEZ CRUZ, AMILCAR M.        ADDRESS ON FILE
GONZALEZ CRUZ, ANA CELIA         ADDRESS ON FILE
GONZALEZ CRUZ, ANDRES            ADDRESS ON FILE
GONZALEZ CRUZ, ANGEL             ADDRESS ON FILE
GONZALEZ CRUZ, ANGEL A           ADDRESS ON FILE




                                                                                 Page 3303 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3304 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CRUZ, ANGEL R.       ADDRESS ON FILE
GONZALEZ CRUZ, ANNERIES       ADDRESS ON FILE
GONZALEZ CRUZ, AUREA          ADDRESS ON FILE
GONZALEZ CRUZ, AWILDA         ADDRESS ON FILE
GONZALEZ CRUZ, BENJAMIN       ADDRESS ON FILE
GONZALEZ CRUZ, BETSY          ADDRESS ON FILE
GONZALEZ CRUZ, BILLIE         ADDRESS ON FILE
GONZALEZ CRUZ, BLANCA I       ADDRESS ON FILE
GONZALEZ CRUZ, CARLOS         ADDRESS ON FILE
GONZALEZ CRUZ, CARLOS J.      ADDRESS ON FILE
GONZALEZ CRUZ, CARLOS M       ADDRESS ON FILE
GONZALEZ CRUZ, CARLOS M       ADDRESS ON FILE
GONZALEZ CRUZ, CARMEN D       ADDRESS ON FILE
GONZALEZ CRUZ, CARMEN J       ADDRESS ON FILE
GONZALEZ CRUZ, CARMEN M       ADDRESS ON FILE
GONZALEZ CRUZ, CARMEN MARIA   ADDRESS ON FILE
GONZALEZ CRUZ, CONRADO A.     ADDRESS ON FILE
GONZALEZ CRUZ, CRUCITA        ADDRESS ON FILE
GONZALEZ CRUZ, CYNTHIA        ADDRESS ON FILE
GONZALEZ CRUZ, DAISY          ADDRESS ON FILE
GONZALEZ CRUZ, DANIEL         ADDRESS ON FILE
GONZALEZ CRUZ, DANISHA        ADDRESS ON FILE
GONZALEZ CRUZ, DAVID          ADDRESS ON FILE
GONZALEZ CRUZ, DORCA          ADDRESS ON FILE
Gonzalez Cruz, Edgar          ADDRESS ON FILE
GONZALEZ CRUZ, EDGAR JOSUE    ADDRESS ON FILE
GONZALEZ CRUZ, EDNA           ADDRESS ON FILE
GONZALEZ CRUZ, EDWIN          ADDRESS ON FILE
GONZALEZ CRUZ, EFRAIN         ADDRESS ON FILE
GONZALEZ CRUZ, EFRAIN         ADDRESS ON FILE
GONZALEZ CRUZ, ELIGIO         ADDRESS ON FILE
GONZALEZ CRUZ, ELIGIO         ADDRESS ON FILE
GONZALEZ CRUZ, ELOY           ADDRESS ON FILE
GONZALEZ CRUZ, ELOY A         ADDRESS ON FILE
GONZALEZ CRUZ, EMILIO         ADDRESS ON FILE
Gonzalez Cruz, Emmanuel       ADDRESS ON FILE
GONZALEZ CRUZ, EVELYN         ADDRESS ON FILE
GONZALEZ CRUZ, EVELYN         ADDRESS ON FILE
Gonzalez Cruz, Felix          ADDRESS ON FILE
GONZALEZ CRUZ, FRANCISCA      ADDRESS ON FILE
Gonzalez Cruz, Francisco      ADDRESS ON FILE
GONZALEZ CRUZ, GILBERTO       ADDRESS ON FILE
GONZALEZ CRUZ, GUILLERMINA    ADDRESS ON FILE
GONZALEZ CRUZ, HAYDEE         ADDRESS ON FILE
GONZALEZ CRUZ, HECTOR         ADDRESS ON FILE
GONZALEZ CRUZ, HECTOR         ADDRESS ON FILE
Gonzalez Cruz, Hector M.      ADDRESS ON FILE
GONZALEZ CRUZ, HERMINIO       ADDRESS ON FILE
GONZALEZ CRUZ, IDA J          ADDRESS ON FILE
GONZALEZ CRUZ, INES           ADDRESS ON FILE
GONZALEZ CRUZ, IRMA           ADDRESS ON FILE
GONZALEZ CRUZ, ISABEL M.      ADDRESS ON FILE
GONZALEZ CRUZ, ISMAEL         ADDRESS ON FILE
GONZALEZ CRUZ, ISRAEL         ADDRESS ON FILE
GONZALEZ CRUZ, JEANNETTE      ADDRESS ON FILE
GONZALEZ CRUZ, JESUS          ADDRESS ON FILE
GONZALEZ CRUZ, JESUS          ADDRESS ON FILE
GONZALEZ CRUZ, JONATHAN       ADDRESS ON FILE
GONZALEZ CRUZ, JORGE          ADDRESS ON FILE
Gonzalez Cruz, Jose           ADDRESS ON FILE




                                                                          Page 3304 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3305 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CRUZ, JOSE             ADDRESS ON FILE
GONZALEZ CRUZ, JOSE             ADDRESS ON FILE
GONZALEZ CRUZ, JOSE             ADDRESS ON FILE
GONZALEZ CRUZ, JOSE A           ADDRESS ON FILE
GONZALEZ CRUZ, JOSE A           ADDRESS ON FILE
GONZALEZ CRUZ, JOSE A           ADDRESS ON FILE
GONZALEZ CRUZ, JOSE E           ADDRESS ON FILE
Gonzalez Cruz, Jose F           ADDRESS ON FILE
GONZALEZ CRUZ, JOSE J           ADDRESS ON FILE
GONZALEZ CRUZ, JOSE L.          ADDRESS ON FILE
GONZALEZ CRUZ, JOSE O           ADDRESS ON FILE
Gonzalez Cruz, Jose R           ADDRESS ON FILE
Gonzalez Cruz, Jose R.          ADDRESS ON FILE
GONZALEZ CRUZ, JUAN             ADDRESS ON FILE
Gonzalez Cruz, Juan A           ADDRESS ON FILE
GONZALEZ CRUZ, JUAN G           ADDRESS ON FILE
GONZALEZ CRUZ, JUANA L          ADDRESS ON FILE
GONZALEZ CRUZ, JUANA M          ADDRESS ON FILE
GONZALEZ CRUZ, KARLA M.         ADDRESS ON FILE
GONZALEZ CRUZ, KATHERINE        ADDRESS ON FILE
GONZALEZ CRUZ, KETTY            ADDRESS ON FILE
GONZALEZ CRUZ, LAURA            ADDRESS ON FILE
GONZALEZ CRUZ, LEONOR           ADDRESS ON FILE
GONZALEZ CRUZ, LETICIA          ADDRESS ON FILE
GONZALEZ CRUZ, LILLIAM          ADDRESS ON FILE
GONZALEZ CRUZ, LILYVETTE        ADDRESS ON FILE
GONZALEZ CRUZ, LISSETTE         ADDRESS ON FILE
GONZALEZ CRUZ, LIZBETH          ADDRESS ON FILE
GONZALEZ CRUZ, LIZBETH          ADDRESS ON FILE
GONZALEZ CRUZ, LUIS             ADDRESS ON FILE
GONZALEZ CRUZ, LUIS             ADDRESS ON FILE
GONZALEZ CRUZ, LUIS             ADDRESS ON FILE
Gonzalez Cruz, Luis A           ADDRESS ON FILE
GONZALEZ CRUZ, LUIS A.          ADDRESS ON FILE
GONZALEZ CRUZ, LUIS E.          ADDRESS ON FILE
GONZALEZ CRUZ, LUZ B            ADDRESS ON FILE
GONZALEZ CRUZ, LUZ D.           ADDRESS ON FILE
GONZALEZ CRUZ, MAGALY           ADDRESS ON FILE
GONZALEZ CRUZ, MANUEL           ADDRESS ON FILE
GONZALEZ CRUZ, MANUEL E.        ADDRESS ON FILE
GONZALEZ CRUZ, MARGARITA        ADDRESS ON FILE
GONZALEZ CRUZ, MARIA            ADDRESS ON FILE
GONZALEZ CRUZ, MARIA DE LA C.   ADDRESS ON FILE
GONZALEZ CRUZ, MARIA DEL        ADDRESS ON FILE
GONZALEZ CRUZ, MARIA DEL C      ADDRESS ON FILE
GONZALEZ CRUZ, MARIA L          ADDRESS ON FILE
GONZALEZ CRUZ, MARIA M          ADDRESS ON FILE
GONZALEZ CRUZ, MARIA N.         ADDRESS ON FILE
Gonzalez Cruz, Maria T          ADDRESS ON FILE
GONZALEZ CRUZ, MARIANGELI       ADDRESS ON FILE
GONZALEZ CRUZ, MARISEL          ADDRESS ON FILE
GONZALEZ CRUZ, MARITZA          ADDRESS ON FILE
GONZALEZ CRUZ, MARITZA I.       ADDRESS ON FILE
GONZALEZ CRUZ, MARTA            ADDRESS ON FILE
GONZALEZ CRUZ, MAYRA I          ADDRESS ON FILE
GONZALEZ CRUZ, MELANY           ADDRESS ON FILE
GONZALEZ CRUZ, MELVIN           ADDRESS ON FILE
GONZALEZ CRUZ, MIGDALIA         ADDRESS ON FILE
GONZALEZ CRUZ, MIGDALIA         ADDRESS ON FILE
GONZALEZ CRUZ, MIGUEL           ADDRESS ON FILE




                                                                            Page 3305 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3306 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CRUZ, MIRIAM J          ADDRESS ON FILE
GONZALEZ CRUZ, MIRIAM J          ADDRESS ON FILE
GONZALEZ CRUZ, MIRTA             ADDRESS ON FILE
GONZALEZ CRUZ, MYRNA             ADDRESS ON FILE
GONZALEZ CRUZ, NANCY             ADDRESS ON FILE
GONZALEZ CRUZ, NANCY             ADDRESS ON FILE
GONZALEZ CRUZ, NELSON            ADDRESS ON FILE
GONZALEZ CRUZ, NILDA             ADDRESS ON FILE
GONZALEZ CRUZ, NILDA             ADDRESS ON FILE
GONZALEZ CRUZ, NORMA             ADDRESS ON FILE
GONZALEZ CRUZ, OLGA              ADDRESS ON FILE
GONZALEZ CRUZ, OMAIRA            ADDRESS ON FILE
GONZALEZ CRUZ, PEDRO             ADDRESS ON FILE
GONZALEZ CRUZ, PRISCILA          ADDRESS ON FILE
Gonzalez Cruz, Raul              ADDRESS ON FILE
GONZALEZ CRUZ, REINALDO          ADDRESS ON FILE
GONZALEZ CRUZ, RICARDO           ADDRESS ON FILE
GONZALEZ CRUZ, ROBERTO           ADDRESS ON FILE
GONZALEZ CRUZ, ROBERTO           ADDRESS ON FILE
GONZALEZ CRUZ, ROLANDO           ADDRESS ON FILE
GONZALEZ CRUZ, ROSA              ADDRESS ON FILE
GONZALEZ CRUZ, RUTH              ADDRESS ON FILE
GONZALEZ CRUZ, SAMUEL            ADDRESS ON FILE
GONZALEZ CRUZ, SANTIAGO          ADDRESS ON FILE
GONZALEZ CRUZ, SIGFREDO          ADDRESS ON FILE
GONZALEZ CRUZ, SOLIMAR           ADDRESS ON FILE
GONZALEZ CRUZ, SONIA             ADDRESS ON FILE
GONZALEZ CRUZ, SONIA I           ADDRESS ON FILE
GONZALEZ CRUZ, STEPHANIE         ADDRESS ON FILE
GONZALEZ CRUZ, SUJEIL M          ADDRESS ON FILE
GONZALEZ CRUZ, TERESA            ADDRESS ON FILE
GONZALEZ CRUZ, VICTOR            ADDRESS ON FILE
GONZALEZ CRUZ, VICTOR            ADDRESS ON FILE
Gonzalez Cruz, Victor M          ADDRESS ON FILE
GONZALEZ CRUZ, VILMARY           ADDRESS ON FILE
GONZALEZ CRUZ, VIRGINIA          ADDRESS ON FILE
GONZALEZ CRUZ, WANDA I           ADDRESS ON FILE
GONZALEZ CRUZ, WIGBERTO          ADDRESS ON FILE
GONZALEZ CRUZ, WILLIAM           ADDRESS ON FILE
GONZALEZ CRUZ, YAMITZA           ADDRESS ON FILE
GONZALEZ CRUZ, ZENAIDA           ADDRESS ON FILE
GONZALEZ CRUZ, ZENAIDA           ADDRESS ON FILE
GONZALEZ CRUZ, ZEREIDA           ADDRESS ON FILE
GONZALEZ CRUZ, ZULEIMA           ADDRESS ON FILE
Gonzalez Cuadrado, Evelyn        ADDRESS ON FILE
GONZALEZ CUADRADO, PROVIDENCIA   ADDRESS ON FILE
Gonzalez Cuba, Enelida           ADDRESS ON FILE
GONZALEZ CUBA, ENELIDA           ADDRESS ON FILE
GONZALEZ CUBA, FELICITA          ADDRESS ON FILE
Gonzalez Cuba, Nancy             ADDRESS ON FILE
GONZALEZ CUBANO, ELSA E          ADDRESS ON FILE
GONZALEZ CUBERO, AGENOL          ADDRESS ON FILE
GONZALEZ CUBERO, CARMEN A.       ADDRESS ON FILE
GONZALEZ CUBERO, DANILO          ADDRESS ON FILE
GONZALEZ CUBERO, LUIS R          ADDRESS ON FILE
GONZALEZ CUELLAR, RICARDO        ADDRESS ON FILE
GONZALEZ CUETO, YDELIO           ADDRESS ON FILE
GONZALEZ CUEVAS, CARMEN E        ADDRESS ON FILE
GONZALEZ CUEVAS, DAVID           ADDRESS ON FILE
GONZALEZ CUEVAS, DIGNA N         ADDRESS ON FILE




                                                                             Page 3306 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3307 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ CUEVAS, EDWARD        ADDRESS ON FILE
GONZALEZ CUEVAS, GLADYS        ADDRESS ON FILE
GONZALEZ CUEVAS, HECTOR        ADDRESS ON FILE
GONZALEZ CUEVAS, HERIBERTO     ADDRESS ON FILE
GONZALEZ CUEVAS, HIRAM         ADDRESS ON FILE
GONZALEZ CUEVAS, INGRID M.     ADDRESS ON FILE
GONZALEZ CUEVAS, JUAN G        ADDRESS ON FILE
GONZALEZ CUEVAS, LUIS          ADDRESS ON FILE
GONZALEZ CUEVAS, MADELINE      ADDRESS ON FILE
GONZALEZ CUEVAS, MARIA         ADDRESS ON FILE
GONZALEZ CUEVAS, MARISOL       ADDRESS ON FILE
GONZALEZ CUEVAS, MARTHA M.     ADDRESS ON FILE
GONZALEZ CUEVAS, MAX           ADDRESS ON FILE
GONZALEZ CUEVAS, NORBERTO      ADDRESS ON FILE
GONZALEZ CUEVAS, OMAYRA        ADDRESS ON FILE
GONZALEZ CUEVAS, PATRICIA      ADDRESS ON FILE
GONZALEZ CUEVAS, SANDRA L      ADDRESS ON FILE
GONZALEZ CUEVAS, TAINA         ADDRESS ON FILE
GONZALEZ CUEVAS, WILMA         ADDRESS ON FILE
GONZALEZ CUMBA, EVELYN         ADDRESS ON FILE
GONZALEZ CUMBA, EVELYN M       ADDRESS ON FILE
GONZALEZ CUMBA, JENNIFER       ADDRESS ON FILE
GONZALEZ CUMBA, MARIA          ADDRESS ON FILE
GONZALEZ CUMBA, MARIA          ADDRESS ON FILE
GONZALEZ CURBELO, MIGDALIA     ADDRESS ON FILE
GONZALEZ CURET, BRENDA         ADDRESS ON FILE
GONZALEZ CURET, EDWIN          ADDRESS ON FILE
GONZALEZ CURET, LIZETTE        ADDRESS ON FILE
GONZALEZ CURET, RAUL           ADDRESS ON FILE
Gonzalez Custodio, Aneudi O    ADDRESS ON FILE
GONZALEZ CUSTODIO, ARNALDO     ADDRESS ON FILE
GONZALEZ CUSTODIO, ERNESTO     ADDRESS ON FILE
GONZALEZ CUSTODIO, ERNESTO     ADDRESS ON FILE
GONZALEZ CUSTODIO, MARICELIS   ADDRESS ON FILE
GONZALEZ CUSTODIO, MILDRED     ADDRESS ON FILE
GONZALEZ DAMUT, ANGEL B.       ADDRESS ON FILE
GONZALEZ DAMUTD, ANGEL B       ADDRESS ON FILE
GONZALEZ DASTA, HAZEL M        ADDRESS ON FILE
GONZALEZ DASTA, HAZEL M.       ADDRESS ON FILE
GONZALEZ DAVID, ANA            ADDRESS ON FILE
Gonzalez David, Juan A         ADDRESS ON FILE
GONZALEZ DAVILA, BRENDA        ADDRESS ON FILE
Gonzalez Davila, Carlos O      ADDRESS ON FILE
Gonzalez Davila, Clarissa      ADDRESS ON FILE
GONZALEZ DAVILA, DELIANY       ADDRESS ON FILE
GONZALEZ DAVILA, DENISE        ADDRESS ON FILE
GONZALEZ DAVILA, EDUARDO       ADDRESS ON FILE
GONZALEZ DAVILA, EVIANN J      ADDRESS ON FILE
GONZALEZ DAVILA, GERMAN        ADDRESS ON FILE
GONZALEZ DAVILA, GIRISELA      ADDRESS ON FILE
GONZALEZ DAVILA, IVELISSE      ADDRESS ON FILE
GONZALEZ DAVILA, IVELISSE      ADDRESS ON FILE
Gonzalez Davila, John          ADDRESS ON FILE
GONZALEZ DAVILA, JOSE          ADDRESS ON FILE
GONZALEZ DAVILA, JOSE A.       ADDRESS ON FILE
GONZALEZ DAVILA, JOSE R.       ADDRESS ON FILE
GONZALEZ DAVILA, JUAN R        ADDRESS ON FILE
GONZALEZ DAVILA, MAYRA I.      ADDRESS ON FILE
GONZALEZ DAVILA, MIGDALIA      ADDRESS ON FILE
GONZALEZ DAVILA, ORLANDO       ADDRESS ON FILE




                                                                           Page 3307 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3308 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DAVILA, RICARDO         ADDRESS ON FILE
Gonzalez Davila, Santos          ADDRESS ON FILE
GONZALEZ DAVILA, SONIA N         ADDRESS ON FILE
GONZALEZ DAVILA, TERESA          ADDRESS ON FILE
GONZALEZ DE BERMUDEZ, ANA        ADDRESS ON FILE
GONZALEZ DE CEPERO, MANUEL       ADDRESS ON FILE
GONZALEZ DE COLON, CARMEN J      ADDRESS ON FILE
GONZALEZ DE CRUZ, CARMEN G       ADDRESS ON FILE
GONZALEZ DE FIGUEROA, NILKA M.   ADDRESS ON FILE
GONZALEZ DE FORIESTER, IDA A.    ADDRESS ON FILE
GONZALEZ DE HOYOS, DORIS L       ADDRESS ON FILE
GONZALEZ DE HOYOS, ISA           ADDRESS ON FILE
Gonzalez De Jesu, Margarita      ADDRESS ON FILE
GONZALEZ DE JESUS, ABRAHAM       ADDRESS ON FILE
GONZALEZ DE JESUS, ABRAHAM       ADDRESS ON FILE
GONZALEZ DE JESUS, ALMA          ADDRESS ON FILE
GONZALEZ DE JESUS, ALMA B.       ADDRESS ON FILE
GONZALEZ DE JESUS, ANA D         ADDRESS ON FILE
GONZALEZ DE JESUS, ANGEL H       ADDRESS ON FILE
GONZALEZ DE JESUS, ANGELINA      ADDRESS ON FILE
GONZALEZ DE JESUS, ANITA         ADDRESS ON FILE
GONZALEZ DE JESUS, ARACELIS      ADDRESS ON FILE
GONZALEZ DE JESUS, ARACELIS      ADDRESS ON FILE
GONZALEZ DE JESUS, ARCADIA       ADDRESS ON FILE
GONZALEZ DE JESUS, BENJAMIN      ADDRESS ON FILE
GONZALEZ DE JESUS, BETTY         ADDRESS ON FILE
GONZALEZ DE JESUS, CARLOS        ADDRESS ON FILE
GONZALEZ DE JESUS, CARMEN L      ADDRESS ON FILE
GONZALEZ DE JESUS, CHENYL        ADDRESS ON FILE
GONZALEZ DE JESUS, CINDY         ADDRESS ON FILE
GONZALEZ DE JESUS, CYNTHIA       ADDRESS ON FILE
GONZALEZ DE JESUS, DANILO        ADDRESS ON FILE
GONZALEZ DE JESUS, EDDIE         ADDRESS ON FILE
GONZALEZ DE JESUS, EDDIE A       ADDRESS ON FILE
GONZALEZ DE JESUS, EDGAR         ADDRESS ON FILE
GONZALEZ DE JESUS, EDWIN         ADDRESS ON FILE
GONZALEZ DE JESUS, EDWIN         ADDRESS ON FILE
Gonzalez De Jesus, Eliel         ADDRESS ON FILE
GONZALEZ DE JESUS, ENID          ADDRESS ON FILE
Gonzalez De Jesus, Enid M        ADDRESS ON FILE
GONZALEZ DE JESUS, ERIC          ADDRESS ON FILE
GONZALEZ DE JESUS, ERIK          ADDRESS ON FILE
GONZALEZ DE JESUS, EVA           ADDRESS ON FILE
GONZALEZ DE JESUS, FREYDA J.     ADDRESS ON FILE
Gonzalez De Jesus, Guarberto     ADDRESS ON FILE
GONZALEZ DE JESUS, GUILLERMINA   ADDRESS ON FILE
GONZALEZ DE JESUS, IRAIDA        ADDRESS ON FILE
GONZALEZ DE JESUS, IRAIDA        ADDRESS ON FILE
GONZALEZ DE JESUS, ISABEL        ADDRESS ON FILE
GONZALEZ DE JESUS, IVETTE        ADDRESS ON FILE
GONZALEZ DE JESUS, JAMES H       ADDRESS ON FILE
GONZALEZ DE JESUS, JESUS         ADDRESS ON FILE
GONZALEZ DE JESUS, JONATHAN      ADDRESS ON FILE
GONZALEZ DE JESUS, JORGE         ADDRESS ON FILE
GONZALEZ DE JESUS, JOSE          ADDRESS ON FILE
GONZALEZ DE JESUS, JOSE          ADDRESS ON FILE
GONZALEZ DE JESUS, JOSE          ADDRESS ON FILE
GONZALEZ DE JESUS, JOSE          ADDRESS ON FILE
GONZALEZ DE JESUS, JUAN          ADDRESS ON FILE
GONZALEZ DE JESUS, JUAN R.       ADDRESS ON FILE




                                                                             Page 3308 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3309 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DE JESUS, LETICIA             ADDRESS ON FILE
GONZALEZ DE JESUS, LIZA                ADDRESS ON FILE
GONZALEZ DE JESUS, LOYDA               ADDRESS ON FILE
GONZALEZ DE JESUS, LUIS                ADDRESS ON FILE
GONZALEZ DE JESUS, LUIS                ADDRESS ON FILE
GONZALEZ DE JESUS, LUZ S               ADDRESS ON FILE
GONZALEZ DE JESUS, LUZ V.              ADDRESS ON FILE
GONZALEZ DE JESUS, MARGARITA           ADDRESS ON FILE
GONZALEZ DE JESUS, MARGARITA           ADDRESS ON FILE
GONZALEZ DE JESUS, MARIA M             ADDRESS ON FILE
GONZALEZ DE JESUS, MARIO               ADDRESS ON FILE
GONZALEZ DE JESUS, MELVIN              ADDRESS ON FILE
GONZALEZ DE JESUS, MILKA               ADDRESS ON FILE
GONZALEZ DE JESUS, MIRAYDA             ADDRESS ON FILE
GONZALEZ DE JESUS, MYRNA               ADDRESS ON FILE
GONZALEZ DE JESUS, RICARTES            ADDRESS ON FILE
GONZALEZ DE JESUS, ROSEMARY            ADDRESS ON FILE
GONZALEZ DE JESUS, SOJERLY             ADDRESS ON FILE
GONZALEZ DE JESUS, SONELY              ADDRESS ON FILE
GONZALEZ DE JESUS, SORAIDA I.          ADDRESS ON FILE
GONZALEZ DE JESUS, SUGEIL              ADDRESS ON FILE
GONZALEZ DE JESUS, WANDA               ADDRESS ON FILE
GONZALEZ DE JESUS, WESLEY              ADDRESS ON FILE
GONZALEZ DE JESUS, WILBERT             ADDRESS ON FILE
GONZALEZ DE JESUS,FELIX                ADDRESS ON FILE
GONZALEZ DE LA CRUZ, ANGEL             ADDRESS ON FILE
GONZALEZ DE LA CRUZ, CARMEN M          ADDRESS ON FILE
GONZALEZ DE LA CRUZ, EMMANUEL          ADDRESS ON FILE
GONZALEZ DE LA CRUZ, NOEMI             ADDRESS ON FILE
GONZALEZ DE LA FUENTE, ANGELA J        ADDRESS ON FILE
GONZALEZ DE LA PAZ, ASHLEY             ADDRESS ON FILE
GONZALEZ DE LA PAZ, IDALIA             ADDRESS ON FILE
GONZALEZ DE LA ROSA, EDWIN             ADDRESS ON FILE
GONZALEZ DE LA ROSA, ENID              ADDRESS ON FILE
GONZALEZ DE LA ROSA, YEIDIE E          ADDRESS ON FILE
GONZALEZ DE LA VEGA, JOSE              ADDRESS ON FILE
GONZALEZ DE LA VEGA, JOSE R.           ADDRESS ON FILE
GONZALEZ DE LAS CUEVAS, SANDRA         ADDRESS ON FILE
GONZALEZ DE LEON, ABIGAIL              ADDRESS ON FILE
GONZALEZ DE LEON, AIDA L               ADDRESS ON FILE
GONZALEZ DE LEON, ANA                  ADDRESS ON FILE
GONZALEZ DE LEON, EDUARDO              ADDRESS ON FILE
GONZALEZ DE LEON, FERNANDO             ADDRESS ON FILE
GONZALEZ DE LEON, GERMAN               ADDRESS ON FILE
GONZALEZ DE LEON, IVELISSE             ADDRESS ON FILE
GONZALEZ DE LEON, JESUS                ADDRESS ON FILE
GONZALEZ DE LEON, JORGE                ADDRESS ON FILE
GONZALEZ DE LEON, WILLIAM              ADDRESS ON FILE
GONZALEZ DE LEON, WILLIAM              ADDRESS ON FILE
GONZALEZ DE LOPEZ, GLORIA E            ADDRESS ON FILE
GONZALEZ DE LOPEZ, OLGA                ADDRESS ON FILE
GONZALEZ DE MALDONADO, IRIS MAGDALIS   ADDRESS ON FILE
GONZALEZ DE MIRANDA, MARITZA           ADDRESS ON FILE
GONZALEZ DE MODESTI, VELDA             ADDRESS ON FILE
GONZALEZ DE OLEO, LEE                  ADDRESS ON FILE
GONZALEZ DE PINERA, MABEL              ADDRESS ON FILE
GONZALEZ DE RIBOT, MAYRA               ADDRESS ON FILE
GONZALEZ DE RIVAS, MARIA S             ADDRESS ON FILE
GONZALEZ DE RODRIGUEZ, NILDA M         ADDRESS ON FILE
GONZALEZ DE SANTIAGO, NICOELI          ADDRESS ON FILE




                                                                                   Page 3309 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3310 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DE SOLER, MARIA           ADDRESS ON FILE
GONZALEZ DE TORRES, CARMEN         ADDRESS ON FILE
GONZALEZ DE VARGAS, IRIS M         ADDRESS ON FILE
GONZALEZ DE, BLANCA I.             ADDRESS ON FILE
GONZALEZ DEBEAU, EDWIN             ADDRESS ON FILE
Gonzalez Debeau, Victor M          ADDRESS ON FILE
GONZALEZ DEGRO, DAISY J            ADDRESS ON FILE
GONZALEZ DEGRO, LUISA              ADDRESS ON FILE
GONZALEZ DEGRO, LYDIA              ADDRESS ON FILE
GONZALEZ DEGRO, MARIA V            ADDRESS ON FILE
GONZALEZ DEJESUS, LUZ              ADDRESS ON FILE
GONZALEZ DEJESUS, WANDA            ADDRESS ON FILE
Gonzalez Del Rio, Alfredo          ADDRESS ON FILE
GONZALEZ DEL CASTILLO, URANIA      ADDRESS ON FILE
GONZALEZ DEL PILAR, AIDA           ADDRESS ON FILE
GONZALEZ DEL PILAR, JUAN J         ADDRESS ON FILE
GONZALEZ DEL RIO, AIDA             ADDRESS ON FILE
GONZALEZ DEL RIO, AIDA             ADDRESS ON FILE
GONZALEZ DEL RIO, EDUARDO          ADDRESS ON FILE
GONZALEZ DEL RIO, IRIS             ADDRESS ON FILE
GONZALEZ DEL RIO, JUAN             ADDRESS ON FILE
GONZALEZ DEL RIO, MILSIDA          ADDRESS ON FILE
GONZALEZ DEL RIO, RAQUEL           ADDRESS ON FILE
GONZALEZ DEL RIO, ROBERTO J.       ADDRESS ON FILE
GONZALEZ DEL RIO, SUSAN            ADDRESS ON FILE
GONZALEZ DEL RIO, SUSAN            ADDRESS ON FILE
GONZALEZ DEL RIO, THAMARA          ADDRESS ON FILE
GONZALEZ DEL ROSARIO MD, SEGUNDO   ADDRESS ON FILE
GONZALEZ DEL TORO, ANGEL L         ADDRESS ON FILE
GONZALEZ DEL TORO, JEISA           ADDRESS ON FILE
GONZALEZ DEL VALLE MD, JULIO       ADDRESS ON FILE
GONZALEZ DEL VALLE, AWILDA         ADDRESS ON FILE
Gonzalez Del Valle, Carlos         ADDRESS ON FILE
GONZALEZ DEL VALLE, CARLOS         ADDRESS ON FILE
GONZALEZ DEL VALLE, CARMEN         ADDRESS ON FILE
Gonzalez Del Valle, Cruz           ADDRESS ON FILE
GONZALEZ DEL VALLE, EVELYN         ADDRESS ON FILE
GONZALEZ DEL VALLE, FERNANDO       ADDRESS ON FILE
GONZALEZ DEL VALLE, GERARDO        ADDRESS ON FILE
GONZALEZ DEL VALLE, ISABEL         ADDRESS ON FILE
GONZALEZ DEL VALLE, JAHAIRA        ADDRESS ON FILE
GONZALEZ DEL VALLE, JOSE           ADDRESS ON FILE
GONZALEZ DEL VALLE, JOSELYN M      ADDRESS ON FILE
Gonzalez Del Valle, Juan A         ADDRESS ON FILE
GONZALEZ DEL VALLE, LESLIE A.      ADDRESS ON FILE
GONZALEZ DEL VALLE, LUCIA          ADDRESS ON FILE
Gonzalez Del Valle, Luis F         ADDRESS ON FILE
GONZALEZ DEL VALLE, MADELINE       ADDRESS ON FILE
GONZALEZ DEL VALLE, MARIA          ADDRESS ON FILE
GONZALEZ DEL VALLE, MARYLIS        ADDRESS ON FILE
GONZALEZ DEL VALLE, MIGUEL         ADDRESS ON FILE
GONZALEZ DEL VALLE, NILSA          ADDRESS ON FILE
GONZALEZ DEL VALLE, OCTAVIO        ADDRESS ON FILE
Gonzalez Del Valle, Olga G         ADDRESS ON FILE
GONZALEZ DEL VALLE, ORLANDO        ADDRESS ON FILE
Gonzalez Del Valle, Pedro          ADDRESS ON FILE
Gonzalez Del Valle, Ricardo        ADDRESS ON FILE
GONZALEZ DEL VALLE, RICARDO        ADDRESS ON FILE
GONZALEZ DEL VALLE, XIOMARA        ADDRESS ON FILE
GONZALEZ DELGADO, ADA              ADDRESS ON FILE




                                                                               Page 3310 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3311 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DELGADO, ALEX          ADDRESS ON FILE
GONZALEZ DELGADO, ANGEL         ADDRESS ON FILE
GONZALEZ DELGADO, DHAIRA        ADDRESS ON FILE
GONZALEZ DELGADO, DOEL          ADDRESS ON FILE
GONZALEZ DELGADO, DOEL          ADDRESS ON FILE
GONZALEZ DELGADO, EDUARDO       ADDRESS ON FILE
GONZALEZ DELGADO, EMANUEL       ADDRESS ON FILE
GONZALEZ DELGADO, EMANUEL       ADDRESS ON FILE
GONZALEZ DELGADO, ENRIQUE       ADDRESS ON FILE
GONZALEZ DELGADO, ENRIQUE       ADDRESS ON FILE
GONZALEZ DELGADO, ERIKA         ADDRESS ON FILE
GONZALEZ DELGADO, EUSEBIA       ADDRESS ON FILE
GONZALEZ DELGADO, FRANCIS       ADDRESS ON FILE
GONZALEZ DELGADO, FRANCISCO     ADDRESS ON FILE
Gonzalez Delgado, Gerardo       ADDRESS ON FILE
GONZALEZ DELGADO, GERARDO       ADDRESS ON FILE
Gonzalez Delgado, Gilberto      ADDRESS ON FILE
GONZALEZ DELGADO, GLORIA L      ADDRESS ON FILE
GONZALEZ DELGADO, IRIS M        ADDRESS ON FILE
GONZALEZ DELGADO, IRISBELL      ADDRESS ON FILE
GONZALEZ DELGADO, IVONNE        ADDRESS ON FILE
GONZALEZ DELGADO, JAVIER        ADDRESS ON FILE
GONZALEZ DELGADO, JOSE          ADDRESS ON FILE
GONZALEZ DELGADO, JOSE          ADDRESS ON FILE
GONZALEZ DELGADO, JOSE          ADDRESS ON FILE
GONZALEZ DELGADO, JOSE R.       ADDRESS ON FILE
GONZALEZ DELGADO, JOSE R.       ADDRESS ON FILE
GONZALEZ DELGADO, JUAN          ADDRESS ON FILE
GONZALEZ DELGADO, JUAN J.       ADDRESS ON FILE
GONZALEZ DELGADO, JULIA M       ADDRESS ON FILE
GONZALEZ DELGADO, KRIZIARYS     ADDRESS ON FILE
GONZALEZ DELGADO, LAIZA         ADDRESS ON FILE
GONZALEZ DELGADO, LUZ           ADDRESS ON FILE
GONZALEZ DELGADO, LUZ C         ADDRESS ON FILE
GONZALEZ DELGADO, LUZ R.        ADDRESS ON FILE
GONZALEZ DELGADO, LUZ REBECCA   ADDRESS ON FILE
GONZALEZ DELGADO, LYNN          ADDRESS ON FILE
GONZALEZ DELGADO, LYRAIDA       ADDRESS ON FILE
GONZALEZ DELGADO, MANUEL        ADDRESS ON FILE
GONZALEZ DELGADO, MIRIAM        ADDRESS ON FILE
GONZALEZ DELGADO, NECTOR        ADDRESS ON FILE
GONZALEZ DELGADO, RAMONA        ADDRESS ON FILE
GONZALEZ DELGADO, RAMONA        ADDRESS ON FILE
GONZALEZ DELGADO, SANDRA I      ADDRESS ON FILE
GONZALEZ DELGADO, SILMA         ADDRESS ON FILE
GONZALEZ DELGADO, SONIA         ADDRESS ON FILE
GONZALEZ DELGADO, VALERIE       ADDRESS ON FILE
GONZALEZ DELGADO, VIRGEN R.     ADDRESS ON FILE
GONZALEZ DELGADO, WANDA         ADDRESS ON FILE
Gonzalez Delgado, William O.    ADDRESS ON FILE
GONZALEZ DELGADO,FANNY M.       ADDRESS ON FILE
GONZALEZ DELIZ, AIDA L          ADDRESS ON FILE
GONZALEZ DELIZ, ESMERALDO       ADDRESS ON FILE
GONZALEZ DELIZ, FRANCESCA       ADDRESS ON FILE
GONZALEZ DELIZ, LISSETTE        ADDRESS ON FILE
GONZALEZ DELIZ, LUIS H          ADDRESS ON FILE
GONZALEZ DELIZ, MYRTA           ADDRESS ON FILE
GONZALEZ DELTORO, LEE E.        ADDRESS ON FILE
GONZALEZ DELVALLE, CANDIDA      ADDRESS ON FILE
GONZALEZ DIANA, LUZ M           ADDRESS ON FILE




                                                                            Page 3311 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3312 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DIAZ MD, JUAN         ADDRESS ON FILE
GONZALEZ DIAZ MD, MERBIL R     ADDRESS ON FILE
GONZALEZ DIAZ MD, MILAGROS     ADDRESS ON FILE
GONZALEZ DIAZ, ADA             ADDRESS ON FILE
GONZALEZ DIAZ, AIDA            ADDRESS ON FILE
GONZALEZ DIAZ, ALEX            ADDRESS ON FILE
GONZALEZ DIAZ, ALFONSO         ADDRESS ON FILE
GONZALEZ DIAZ, ALICIA          ADDRESS ON FILE
GONZALEZ DIAZ, AMARILIS        ADDRESS ON FILE
GONZALEZ DIAZ, ANA M           ADDRESS ON FILE
GONZALEZ DIAZ, ANNIE           ADDRESS ON FILE
Gonzalez Diaz, Antonio         ADDRESS ON FILE
GONZALEZ DIAZ, ARLYN           ADDRESS ON FILE
GONZALEZ DIAZ, BENJAMIN        ADDRESS ON FILE
GONZALEZ DIAZ, BRENDA L        ADDRESS ON FILE
GONZALEZ DIAZ, BRIAN           ADDRESS ON FILE
GONZALEZ DIAZ, CAMILA          ADDRESS ON FILE
Gonzalez Diaz, Carlos Daniel   ADDRESS ON FILE
Gonzalez Diaz, Carlos M        ADDRESS ON FILE
GONZALEZ DIAZ, CARLOSR.        ADDRESS ON FILE
GONZALEZ DIAZ, CARMELO         ADDRESS ON FILE
GONZALEZ DIAZ, CARMEN B        ADDRESS ON FILE
GONZALEZ DIAZ, CARMEN G        ADDRESS ON FILE
GONZALEZ DIAZ, CARMEN M        ADDRESS ON FILE
GONZALEZ DIAZ, CARMEN M        ADDRESS ON FILE
GONZALEZ DIAZ, CARMEN X        ADDRESS ON FILE
GONZALEZ DIAZ, DAVID           ADDRESS ON FILE
GONZALEZ DIAZ, DELIA E         ADDRESS ON FILE
GONZALEZ DIAZ, DELIMARYS       ADDRESS ON FILE
GONZALEZ DIAZ, EDDA            ADDRESS ON FILE
GONZALEZ DIAZ, EDEL E          ADDRESS ON FILE
GONZALEZ DIAZ, EDITH           ADDRESS ON FILE
GONZALEZ DIAZ, EDWIN           ADDRESS ON FILE
Gonzalez Diaz, Edwin           ADDRESS ON FILE
Gonzalez Diaz, Efren           ADDRESS ON FILE
Gonzalez Diaz, Elly M.         ADDRESS ON FILE
GONZALEZ DIAZ, ELLY MAE        ADDRESS ON FILE
GONZALEZ DIAZ, ELUIS S         ADDRESS ON FILE
GONZALEZ DIAZ, ERASTO          ADDRESS ON FILE
GONZALEZ DIAZ, ERIKA           ADDRESS ON FILE
GONZALEZ DIAZ, EVELYN          ADDRESS ON FILE
GONZALEZ DIAZ, EVELYN          ADDRESS ON FILE
GONZALEZ DIAZ, FELIX           ADDRESS ON FILE
Gonzalez Diaz, Felix A         ADDRESS ON FILE
GONZALEZ DIAZ, FRANCISCA       ADDRESS ON FILE
GONZALEZ DIAZ, HECTOR          ADDRESS ON FILE
Gonzalez Diaz, Hogla V         ADDRESS ON FILE
GONZALEZ DIAZ, HUGO            ADDRESS ON FILE
Gonzalez Diaz, Iclia Myrelis   ADDRESS ON FILE
GONZALEZ DIAZ, IDALIA          ADDRESS ON FILE
GONZALEZ DIAZ, ISMAEL          ADDRESS ON FILE
GONZALEZ DIAZ, JEANNIFFER      ADDRESS ON FILE
GONZALEZ DIAZ, JEFFREY         ADDRESS ON FILE
GONZALEZ DIAZ, JENNIFER        ADDRESS ON FILE
GONZALEZ DIAZ, JOEDLEEN        ADDRESS ON FILE
GONZALEZ DIAZ, JORGE           ADDRESS ON FILE
GONZALEZ DIAZ, JORGE           ADDRESS ON FILE
GONZALEZ DIAZ, JORGE           ADDRESS ON FILE
GONZALEZ DIAZ, JORGE L         ADDRESS ON FILE
GONZALEZ DIAZ, JOSE            ADDRESS ON FILE




                                                                           Page 3312 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3313 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DIAZ, JOSE            ADDRESS ON FILE
GONZALEZ DIAZ, JOSE A          ADDRESS ON FILE
GONZALEZ DIAZ, JOSE A.         ADDRESS ON FILE
GONZALEZ DIAZ, JOSE A.         ADDRESS ON FILE
GONZALEZ DIAZ, JOSE O          ADDRESS ON FILE
GONZALEZ DIAZ, JUAN            ADDRESS ON FILE
GONZALEZ DIAZ, JUAN            ADDRESS ON FILE
GONZALEZ DIAZ, JUAN R          ADDRESS ON FILE
GONZALEZ DIAZ, JULIO           ADDRESS ON FILE
Gonzalez Diaz, Karla M         ADDRESS ON FILE
GONZALEZ DIAZ, LAIKA           ADDRESS ON FILE
GONZALEZ DIAZ, LEONALDO        ADDRESS ON FILE
Gonzalez Diaz, Lourdes I.      ADDRESS ON FILE
GONZALEZ DIAZ, LUCY I.         ADDRESS ON FILE
GONZALEZ DIAZ, LUIS            ADDRESS ON FILE
GONZALEZ DIAZ, LUIS            ADDRESS ON FILE
GONZALEZ DIAZ, LUIS            ADDRESS ON FILE
GONZALEZ DIAZ, LUIS            ADDRESS ON FILE
GONZALEZ DIAZ, LUIS A          ADDRESS ON FILE
GONZALEZ DIAZ, LUIS M.         ADDRESS ON FILE
GONZALEZ DIAZ, LUIS M.         ADDRESS ON FILE
GONZALEZ DIAZ, LUZ M           ADDRESS ON FILE
GONZALEZ DIAZ, LYDIA           ADDRESS ON FILE
GONZALEZ DIAZ, MARGARITA       ADDRESS ON FILE
GONZALEZ DIAZ, MARIA S         ADDRESS ON FILE
GONZALEZ DIAZ, MARILU          ADDRESS ON FILE
GONZALEZ DIAZ, MARILYN         ADDRESS ON FILE
GONZALEZ DIAZ, MARISOL         ADDRESS ON FILE
GONZALEZ DIAZ, MARITZA         ADDRESS ON FILE
GONZALEZ DIAZ, MICHELLE        ADDRESS ON FILE
GONZALEZ DIAZ, MIDNA           ADDRESS ON FILE
GONZALEZ DIAZ, MIGUEL A        ADDRESS ON FILE
GONZALEZ DIAZ, MIGUEL A        ADDRESS ON FILE
GONZALEZ DIAZ, MILARYS         ADDRESS ON FILE
GONZALEZ DIAZ, MONICA          ADDRESS ON FILE
GONZALEZ DIAZ, NANCY           ADDRESS ON FILE
GONZALEZ DIAZ, NIXALEE         ADDRESS ON FILE
GONZALEZ DIAZ, NYDIA           ADDRESS ON FILE
GONZALEZ DIAZ, OLGA            ADDRESS ON FILE
GONZALEZ DIAZ, OMAR            ADDRESS ON FILE
GONZALEZ DIAZ, OSVALDO         ADDRESS ON FILE
Gonzalez Diaz, Pablo           ADDRESS ON FILE
GONZALEZ DIAZ, PAMELA          ADDRESS ON FILE
GONZALEZ DIAZ, PAPO            ADDRESS ON FILE
GONZALEZ DIAZ, PRISCILLA       ADDRESS ON FILE
GONZALEZ DIAZ, RAFAEL          ADDRESS ON FILE
GONZALEZ DIAZ, ROBERTO         ADDRESS ON FILE
GONZALEZ DIAZ, ROSA A          ADDRESS ON FILE
GONZALEZ DIAZ, RUBEN           ADDRESS ON FILE
GONZALEZ DIAZ, RUTH            ADDRESS ON FILE
GONZALEZ DIAZ, RUTH ZAIDA      ADDRESS ON FILE
GONZALEZ DIAZ, SANDRA          ADDRESS ON FILE
GONZALEZ DIAZ, SANDRA          ADDRESS ON FILE
GONZALEZ DIAZ, SANDRA IVETTE   ADDRESS ON FILE
GONZALEZ DIAZ, SANDRA J        ADDRESS ON FILE
Gonzalez Diaz, Santiago        ADDRESS ON FILE
GONZALEZ DIAZ, SARA E          ADDRESS ON FILE
GONZALEZ DIAZ, SEMIRAMIS       ADDRESS ON FILE
GONZALEZ DIAZ, SONIA IVETTE    ADDRESS ON FILE
GONZALEZ DIAZ, YANIRE S        ADDRESS ON FILE




                                                                           Page 3313 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3314 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ DIAZ, YELIXSA            ADDRESS ON FILE
GONZALEZ DIAZ, YESSAMIN           ADDRESS ON FILE
GONZALEZ DIAZ, ZEUS C             ADDRESS ON FILE
GONZALEZ DIAZ, ZULMARIE           ADDRESS ON FILE
GONZALEZ DIAZ, ZULMARIE           ADDRESS ON FILE
GONZALEZ DIAZ, ZUREILY            ADDRESS ON FILE
GONZALEZ DIEPPA, CARMEN L.        ADDRESS ON FILE
GONZALEZ DILONE, CARMEN Y.        ADDRESS ON FILE
GONZALEZ DISDIER, JASHLENE        ADDRESS ON FILE
GONZALEZ DISDIER, LIDA E          ADDRESS ON FILE
GONZALEZ DOBLE, LILLIAM           ADDRESS ON FILE
GONZALEZ DOMENA, ANGEL            ADDRESS ON FILE
GONZALEZ DOMENECH, MADELINE       ADDRESS ON FILE
GONZALEZ DOMINGUEZ, AMARILIS      ADDRESS ON FILE
GONZALEZ DOMINGUEZ, ANGEL         ADDRESS ON FILE
GONZALEZ DOMINGUEZ, AUREA         ADDRESS ON FILE
GONZALEZ DOMINGUEZ, CHRISTIAN     ADDRESS ON FILE
GONZALEZ DOMINGUEZ, CHRISTIAN     ADDRESS ON FILE
Gonzalez Dominguez, Jorge L       ADDRESS ON FILE
GONZALEZ DOMINGUEZ, JOSE          ADDRESS ON FILE
GONZALEZ DOMINGUEZ, JOYCE         ADDRESS ON FILE
GONZALEZ DOMINGUEZ, KEYSLA        ADDRESS ON FILE
GONZALEZ DOMINGUEZ, MARGARITA     ADDRESS ON FILE
GONZALEZ DOMINGUEZ, MARIBEL       ADDRESS ON FILE
GONZALEZ DOMINGUEZ, MARTIN        ADDRESS ON FILE
GONZALEZ DOMINGUEZ, MARTIN        ADDRESS ON FILE
GONZALEZ DOMINGUEZ, MILDRED       ADDRESS ON FILE
GONZALEZ DOMINGUEZ, OLGA N.       ADDRESS ON FILE
GONZALEZ DOMINGUEZ, VANESSA       ADDRESS ON FILE
Gonzalez Dominicci, Evaleez       ADDRESS ON FILE
GONZALEZ DOMINICCI, GLADYS        ADDRESS ON FILE
GONZALEZ DONATO, ROSALINDA        ADDRESS ON FILE
GONZALEZ DONIS, ISAMIL            ADDRESS ON FILE
GONZALEZ DORTA, CLARIBEL          ADDRESS ON FILE
GONZALEZ DORTA, LUZ Z             ADDRESS ON FILE
GONZALEZ DOS SANTOS, GILMAR       ADDRESS ON FILE
GONZALEZ DROZ, JUAN M.            ADDRESS ON FILE
GONZALEZ DROZ, LOURDES            ADDRESS ON FILE
GONZALEZ DROZ, NEYDA              ADDRESS ON FILE
Gonzalez Duarte, Fernando         ADDRESS ON FILE
GONZALEZ DUENA, ANDREA            ADDRESS ON FILE
GONZALEZ DUENAS MD, ANDREA        ADDRESS ON FILE
GONZALEZ DURAN, BENJAMIN          ADDRESS ON FILE
GONZALEZ DURAN, CESAR             ADDRESS ON FILE
GONZALEZ DURAN, ERIC              ADDRESS ON FILE
GONZALEZ DURAN, EVA L             ADDRESS ON FILE
GONZALEZ DURAN, FERNANDO          ADDRESS ON FILE
GONZALEZ DURAN, LILIBETH          ADDRESS ON FILE
GONZALEZ DURAN, MINERVA           ADDRESS ON FILE
GONZALEZ DURIEUX MD, CESAR        ADDRESS ON FILE
GONZALEZ DURON, VICTOR            ADDRESS ON FILE
GONZALEZ ECHEVARIA, EDGARDO       ADDRESS ON FILE
GONZALEZ ECHEVARRIA, ANGEL        ADDRESS ON FILE
GONZALEZ ECHEVARRIA, CESAR        ADDRESS ON FILE
GONZALEZ ECHEVARRIA, CHRISTIAN    ADDRESS ON FILE
GONZALEZ ECHEVARRIA, EDMARYS      ADDRESS ON FILE
Gonzalez Echevarria, Edward       ADDRESS ON FILE
GONZALEZ ECHEVARRIA, EVELYN       ADDRESS ON FILE
GONZALEZ ECHEVARRIA, FRANCES M.   ADDRESS ON FILE
GONZALEZ ECHEVARRIA, HILDA        ADDRESS ON FILE




                                                                              Page 3314 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3315 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City          State   PostalCode   Country
Gonzalez Echevarria, Jimmy           ADDRESS ON FILE
GONZALEZ ECHEVARRIA, JOSE A.         ADDRESS ON FILE
GONZALEZ ECHEVARRIA, JOSE M          ADDRESS ON FILE
Gonzalez Echevarria, Jose R          ADDRESS ON FILE
GONZALEZ ECHEVARRIA, MARIA D L       ADDRESS ON FILE
GONZALEZ ECHEVARRIA, MAYNELIS        ADDRESS ON FILE
GONZALEZ ECHEVARRIA, NESTOR R.       ADDRESS ON FILE
GONZALEZ ECHEVARRIA, SONIA           ADDRESS ON FILE
GONZALEZ ECHEVARRIA, WILSON          ADDRESS ON FILE
GONZALEZ ECHEVARRIA, WILSON A.       ADDRESS ON FILE
Gonzalez Echevarria, Zoraida         ADDRESS ON FILE
GONZALEZ EGEA, LUIS B                ADDRESS ON FILE
GONZALEZ ELECTRIC CORP               HC 05 BOX10089                                                                   MOCA          PR      00676
GONZALEZ ELECTRICAL INC              PO BOX 363567                                                                    SAN JUAN      PR      00936‐3567
GONZALEZ ELIAS, CARMEN M             ADDRESS ON FILE
GONZALEZ ELIAS, GISELA               ADDRESS ON FILE
GONZALEZ ELIZALDE, ADELE             ADDRESS ON FILE
GONZALEZ ELIZALDE, FRANCISCO         ADDRESS ON FILE
GONZALEZ ELLIS, CYNTHIA A            ADDRESS ON FILE
GONZALEZ ELLIS, KAREN J              ADDRESS ON FILE
GONZALEZ ENCARNACION, FELIPE         ADDRESS ON FILE
Gonzalez Encarnacion, Jose M         ADDRESS ON FILE
Gonzalez Encarnacion, Juan           ADDRESS ON FILE
GONZALEZ ENCARNACION, LUIS           ADDRESS ON FILE
GONZALEZ ENCARNACION, LUZ D          ADDRESS ON FILE
GONZALEZ ENCARNACION, NER            ADDRESS ON FILE
GONZALEZ ENCARNACION, RAIZA G        ADDRESS ON FILE
GONZALEZ ENCARNACION, YAZMIN         ADDRESS ON FILE
GONZALEZ ENGINEERING & DESIGN CORP   PMB 83                    HC 72 BOX 3766                                         NARANJITO     PR      00719‐9788
GONZALEZ ERAZO, GRACE                ADDRESS ON FILE
GONZALEZ ERAZO, ROLANDO              ADDRESS ON FILE
GONZALEZ ERICK, ANA E                ADDRESS ON FILE
GONZALEZ ERICK, MARTHA               ADDRESS ON FILE
GONZALEZ ERO, JOSE F                 ADDRESS ON FILE
GONZALEZ ESBRI, JOSE                 ADDRESS ON FILE
Gonzalez Escalera, Cruz              ADDRESS ON FILE
GONZALEZ ESCALERA, MANUELA           ADDRESS ON FILE
GONZALEZ ESCALERA, MANUELA           ADDRESS ON FILE
GONZALEZ ESCALERA, MARIA C           ADDRESS ON FILE
GONZALEZ ESCLAVON MD, EDNA L         ADDRESS ON FILE
GONZALEZ ESCLAVON, EDWIN E.          ADDRESS ON FILE
Gonzalez Escobales, Josean           ADDRESS ON FILE
GONZALEZ ESCOBALES, WALTER           ADDRESS ON FILE
GONZALEZ ESCOBAR, CELSO              ADDRESS ON FILE
GONZALEZ ESCOBAR, PALOMA             ADDRESS ON FILE
GONZALEZ ESCRIBANO, LISABEL          ADDRESS ON FILE
GONZALEZ ESCRIBANO, ROSA             ADDRESS ON FILE
GONZALEZ ESPADA, NANCY               ADDRESS ON FILE
GONZALEZ ESPINOSA, ALEXIS            ADDRESS ON FILE
Gonzalez Espinosa, Alexis P          ADDRESS ON FILE
GONZALEZ ESPINOSA, CRIMILDA          ADDRESS ON FILE
GONZALEZ ESPINOSA, JIMMY             ADDRESS ON FILE
GONZALEZ ESPINOSA, LEXSIE            ADDRESS ON FILE
GONZALEZ ESQUERDO, FERNANDO L        ADDRESS ON FILE
GONZALEZ ESQUILIN, ABIMAEL           ADDRESS ON FILE
GONZALEZ ESQUILIN, ADELAIDA          ADDRESS ON FILE
GONZALEZ ESQUILIN, CARMEN            ADDRESS ON FILE
Gonzalez Esquilin, Isael             ADDRESS ON FILE
GONZALEZ ESQUILIN, ROBERTO           ADDRESS ON FILE
GONZALEZ ESQUILIN, WILLIAM           ADDRESS ON FILE




                                                                                 Page 3315 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3316 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ESTEBAN MD, IVELISSE     ADDRESS ON FILE
GONZALEZ ESTEBAN, AILEEN          ADDRESS ON FILE
GONZALEZ ESTELA, HECTOR           ADDRESS ON FILE
GONZALEZ ESTEVES, ANGEL           ADDRESS ON FILE
GONZALEZ ESTEVES, ANGEL M.        ADDRESS ON FILE
Gonzalez Esteves, Joel            ADDRESS ON FILE
GONZALEZ ESTEVEZ, FRANCIA         ADDRESS ON FILE
GONZALEZ ESTRADA, CARLOS          ADDRESS ON FILE
GONZALEZ ESTRADA, ESTHER          ADDRESS ON FILE
GONZALEZ ESTRADA, IZA M           ADDRESS ON FILE
GONZALEZ ESTRADA, LEE             ADDRESS ON FILE
GONZALEZ ESTRADA, RAUL III        ADDRESS ON FILE
GONZALEZ ESTRADA, SIGFREDO        ADDRESS ON FILE
GONZALEZ ESTRELLA, TOMASA         ADDRESS ON FILE
GONZALEZ ESTREMERA,DANISHA        ADDRESS ON FILE
GONZALEZ EVORA, JUAN CARLOS       ADDRESS ON FILE
GONZALEZ FALCON ABNER             ADDRESS ON FILE
GONZALEZ FALCON, EDGARD           ADDRESS ON FILE
GONZALEZ FALCON, EDGARD           ADDRESS ON FILE
GONZALEZ FALCON, RAMON            ADDRESS ON FILE
GONZALEZ FALERO, WALTER           ADDRESS ON FILE
GONZALEZ FARGAS, YANIRA           ADDRESS ON FILE
GONZALEZ FEBLES, ILUMINADA        ADDRESS ON FILE
GONZALEZ FEBO, ALEXANDER          ADDRESS ON FILE
GONZALEZ FEBO, LUIS               ADDRESS ON FILE
GONZALEZ FEBO, LUIS A             ADDRESS ON FILE
GONZALEZ FEBRED, JOSEAN           ADDRESS ON FILE
GONZALEZ FEBRES, BRENDA I         ADDRESS ON FILE
GONZALEZ FEBRES, ELI              ADDRESS ON FILE
GONZALEZ FEBRES, IVELISSE         ADDRESS ON FILE
GONZALEZ FEBRES, IVELISSE         ADDRESS ON FILE
GONZALEZ FEBRES, JACKELINE        ADDRESS ON FILE
GONZALEZ FEBRES, JOSEAN           ADDRESS ON FILE
Gonzalez Febres, Yanira           ADDRESS ON FILE
GONZALEZ FEBUS, LUISA N.          ADDRESS ON FILE
GONZALEZ FELICIANO, ADA           ADDRESS ON FILE
GONZALEZ FELICIANO, ANGEL         ADDRESS ON FILE
GONZALEZ FELICIANO, ANGEL         ADDRESS ON FILE
GONZALEZ FELICIANO, ANGEL L.      ADDRESS ON FILE
GONZALEZ FELICIANO, BELFORD       ADDRESS ON FILE
GONZALEZ FELICIANO, BENJAMIN      ADDRESS ON FILE
GONZALEZ FELICIANO, BENJAMIN      ADDRESS ON FILE
GONZALEZ FELICIANO, BRYAN         ADDRESS ON FILE
GONZALEZ FELICIANO, CARLOS        ADDRESS ON FILE
GONZALEZ FELICIANO, CARMEN G      ADDRESS ON FILE
GONZALEZ FELICIANO, CARMEN G      ADDRESS ON FILE
GONZALEZ FELICIANO, CRISTINO      ADDRESS ON FILE
GONZALEZ FELICIANO, EBELIN        ADDRESS ON FILE
Gonzalez Feliciano, Edgardo       ADDRESS ON FILE
GONZALEZ FELICIANO, EDGARDO       ADDRESS ON FILE
GONZALEZ FELICIANO, EDUARDO       ADDRESS ON FILE
GONZALEZ FELICIANO, EDWIN         ADDRESS ON FILE
GONZALEZ FELICIANO, EUGENIO       ADDRESS ON FILE
GONZALEZ FELICIANO, FRANCES       ADDRESS ON FILE
GONZALEZ FELICIANO, FRANCIS I     ADDRESS ON FILE
GONZALEZ FELICIANO, GLORIALY      ADDRESS ON FILE
GONZALEZ FELICIANO, GUILLERMINA   ADDRESS ON FILE
GONZALEZ FELICIANO, HECTOR L.     ADDRESS ON FILE
GONZALEZ FELICIANO, ISAMAR        ADDRESS ON FILE
GONZALEZ FELICIANO, JOANNE P      ADDRESS ON FILE




                                                                              Page 3316 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3317 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ FELICIANO, JOEL D          ADDRESS ON FILE
GONZALEZ FELICIANO, JOHANNA         ADDRESS ON FILE
GONZALEZ FELICIANO, JOSE            ADDRESS ON FILE
GONZALEZ FELICIANO, JOSE            ADDRESS ON FILE
GONZALEZ FELICIANO, JOSE            ADDRESS ON FILE
GONZALEZ FELICIANO, JOSE            ADDRESS ON FILE
GONZALEZ FELICIANO, JOSE A          ADDRESS ON FILE
GONZALEZ FELICIANO, JOSE X          ADDRESS ON FILE
GONZALEZ FELICIANO, JOSIAN          ADDRESS ON FILE
GONZALEZ FELICIANO, JUAN            ADDRESS ON FILE
GONZALEZ FELICIANO, JUAN C.         ADDRESS ON FILE
GONZALEZ FELICIANO, LARISSA         ADDRESS ON FILE
GONZALEZ FELICIANO, LARISSA         ADDRESS ON FILE
GONZALEZ FELICIANO, LILLIAM         ADDRESS ON FILE
GONZALEZ FELICIANO, LORENZO         ADDRESS ON FILE
Gonzalez Feliciano, Luis A          ADDRESS ON FILE
GONZALEZ FELICIANO, MERCEDES        ADDRESS ON FILE
GONZALEZ FELICIANO, MIGDALIA        ADDRESS ON FILE
GONZALEZ FELICIANO, PASCUAL         ADDRESS ON FILE
GONZALEZ FELICIANO, PATRIA          ADDRESS ON FILE
GONZALEZ FELICIANO, PATRICIA        ADDRESS ON FILE
GONZALEZ FELICIANO, PATRICIA        ADDRESS ON FILE
GONZALEZ FELICIANO, PEDRO           ADDRESS ON FILE
GONZALEZ FELICIANO, QUINTINA        ADDRESS ON FILE
GONZALEZ FELICIANO, RAQUEL          ADDRESS ON FILE
GONZALEZ FELICIANO, ROSARIO         ADDRESS ON FILE
GONZALEZ FELICIANO, ROSARIO         ADDRESS ON FILE
GONZALEZ FELICIANO, SAMUEL A        ADDRESS ON FILE
GONZALEZ FELICIANO, SARA            ADDRESS ON FILE
GONZALEZ FELICIANO, VICTOR          ADDRESS ON FILE
GONZALEZ FELICIANO, WANDA           ADDRESS ON FILE
GONZALEZ FELICIANO, WILMARIE        ADDRESS ON FILE
GONZALEZ FELICIANO, ZAHIRA          ADDRESS ON FILE
GONZALEZ FELIX, DAISY               ADDRESS ON FILE
GONZALEZ FELIX, JESSICA             ADDRESS ON FILE
GONZALEZ FELIX, LINNETTE D.         ADDRESS ON FILE
GONZALEZ FELIX, MARIA               ADDRESS ON FILE
GONZALEZ FERMIN, JOHANNA            ADDRESS ON FILE
GONZALEZ FERNANDEZ MD, MODESTO J    ADDRESS ON FILE
GONZALEZ FERNANDEZ MD, ROBERT       ADDRESS ON FILE
GONZALEZ FERNANDEZ, AGUSTIN         ADDRESS ON FILE
GONZALEZ FERNANDEZ, ALFREDO         ADDRESS ON FILE
GONZALEZ FERNANDEZ, ANGEL           ADDRESS ON FILE
Gonzalez Fernandez, Aritzza         ADDRESS ON FILE
GONZALEZ FERNANDEZ, ARITZZA         ADDRESS ON FILE
GONZALEZ FERNANDEZ, ARMANDO J       ADDRESS ON FILE
GONZALEZ FERNANDEZ, CARLOS GARLIL   ADDRESS ON FILE
GONZALEZ FERNANDEZ, CARMEN          ADDRESS ON FILE
GONZALEZ FERNANDEZ, CARMEN          ADDRESS ON FILE
GONZALEZ FERNANDEZ, EDNA A          ADDRESS ON FILE
GONZALEZ FERNANDEZ, ELIZA           ADDRESS ON FILE
GONZALEZ FERNANDEZ, ELIZA           ADDRESS ON FILE
GONZALEZ FERNANDEZ, GERARDO         ADDRESS ON FILE
GONZALEZ FERNANDEZ, JAIME           ADDRESS ON FILE
GONZALEZ FERNANDEZ, JOSE            ADDRESS ON FILE
Gonzalez Fernandez, Luis A          ADDRESS ON FILE
GONZALEZ FERNANDEZ, MAGIE           ADDRESS ON FILE
GONZALEZ FERNANDEZ, MARCO A.        ADDRESS ON FILE
GONZALEZ FERNANDEZ, MARIA V.        ADDRESS ON FILE
GONZALEZ FERNANDEZ, MARITZA         ADDRESS ON FILE




                                                                                Page 3317 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3318 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ FERNANDEZ, MARLIS        ADDRESS ON FILE
GONZALEZ FERNANDEZ, MODESTO       ADDRESS ON FILE
GONZALEZ FERNANDEZ, OLGA M        ADDRESS ON FILE
GONZALEZ FERNANDEZ, RAMON         ADDRESS ON FILE
GONZALEZ FERNANDEZ, RAMON         ADDRESS ON FILE
GONZALEZ FERNANDEZ, RAUL          ADDRESS ON FILE
GONZALEZ FERNANDEZ, ROLANDO       ADDRESS ON FILE
GONZALEZ FERNANDEZ, VIRGINIA      ADDRESS ON FILE
GONZALEZ FERNANDEZ, WILBERTO      ADDRESS ON FILE
Gonzalez Fernandez, Yarimar       ADDRESS ON FILE
Gonzalez Ferrer, Brenda M.        ADDRESS ON FILE
GONZALEZ FERRER, BRYAN            ADDRESS ON FILE
GONZALEZ FERRER, CARLOS           ADDRESS ON FILE
GONZALEZ FERRER, CARLOS           ADDRESS ON FILE
GONZALEZ FERRER, FABIOLA          ADDRESS ON FILE
GONZALEZ FERRER, FRANCES A        ADDRESS ON FILE
GONZALEZ FERRER, LUIS             ADDRESS ON FILE
GONZALEZ FERRER, MYRNALI          ADDRESS ON FILE
GONZALEZ FIGEUEROA, ROSALINA      ADDRESS ON FILE
GONZALEZ FIGUERA, AMY             ADDRESS ON FILE
GONZALEZ FIGUEROA, ADA            ADDRESS ON FILE
GONZALEZ FIGUEROA, ADRIAN         ADDRESS ON FILE
GONZALEZ FIGUEROA, AIDA           ADDRESS ON FILE
GONZALEZ FIGUEROA, AIDINESS DEL   ADDRESS ON FILE
GONZALEZ FIGUEROA, ALBERTO        ADDRESS ON FILE
GONZALEZ FIGUEROA, ALEXIS         ADDRESS ON FILE
GONZALEZ FIGUEROA, ALEXIS A       ADDRESS ON FILE
GONZALEZ FIGUEROA, ALFONSO        ADDRESS ON FILE
GONZALEZ FIGUEROA, ALFREDO        ADDRESS ON FILE
GONZALEZ FIGUEROA, ALICIA P       ADDRESS ON FILE
GONZALEZ FIGUEROA, AMARYLIS       ADDRESS ON FILE
GONZALEZ FIGUEROA, AMELIO         ADDRESS ON FILE
GONZALEZ FIGUEROA, AMERICA        ADDRESS ON FILE
GONZALEZ FIGUEROA, ANA M          ADDRESS ON FILE
GONZALEZ FIGUEROA, ANA R.         ADDRESS ON FILE
GONZALEZ FIGUEROA, ANGEL G        ADDRESS ON FILE
GONZALEZ FIGUEROA, ANGEL L        ADDRESS ON FILE
GONZALEZ FIGUEROA, ANTONIA        ADDRESS ON FILE
GONZALEZ FIGUEROA, ANTONIO        ADDRESS ON FILE
GONZALEZ FIGUEROA, ARCHIE         ADDRESS ON FILE
GONZALEZ FIGUEROA, BRUNILDA       ADDRESS ON FILE
GONZALEZ FIGUEROA, CARLOS         ADDRESS ON FILE
GONZALEZ FIGUEROA, CARLOS         ADDRESS ON FILE
Gonzalez Figueroa, Carlos J.      ADDRESS ON FILE
GONZALEZ FIGUEROA, CARMEN E       ADDRESS ON FILE
GONZALEZ FIGUEROA, CARMEN M       ADDRESS ON FILE
GONZALEZ FIGUEROA, CHRISTIAN      ADDRESS ON FILE
GONZALEZ FIGUEROA, CHRISTIAN      ADDRESS ON FILE
GONZALEZ FIGUEROA, DAISY          ADDRESS ON FILE
GONZALEZ FIGUEROA, DAVID          ADDRESS ON FILE
GONZALEZ FIGUEROA, DAYANETT       ADDRESS ON FILE
GONZALEZ FIGUEROA, DIANA          ADDRESS ON FILE
GONZALEZ FIGUEROA, EDDIE          ADDRESS ON FILE
GONZALEZ FIGUEROA, EMMANUEL       ADDRESS ON FILE
GONZALEZ FIGUEROA, ERIBERTO       ADDRESS ON FILE
GONZALEZ FIGUEROA, ESTHER         ADDRESS ON FILE
GONZALEZ FIGUEROA, EVANESSA       ADDRESS ON FILE
GONZALEZ FIGUEROA, FELIX          ADDRESS ON FILE
GONZALEZ FIGUEROA, FELIX M.       ADDRESS ON FILE
GONZALEZ FIGUEROA, FRANCISCO J.   ADDRESS ON FILE




                                                                              Page 3318 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3319 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                    Creditor Matrix

Creditor Name                         Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ FIGUEROA, GERARDA            ADDRESS ON FILE
GONZALEZ FIGUEROA, GLADYS             ADDRESS ON FILE
GONZALEZ FIGUEROA, GLENDA             ADDRESS ON FILE
GONZALEZ FIGUEROA, HECTOR             ADDRESS ON FILE
GONZALEZ FIGUEROA, HECTOR             ADDRESS ON FILE
GONZALEZ FIGUEROA, HIRAM              ADDRESS ON FILE
GONZALEZ FIGUEROA, IDALMARYS          ADDRESS ON FILE
GONZALEZ FIGUEROA, IDELIZ             ADDRESS ON FILE
Gonzalez Figueroa, Ismael             ADDRESS ON FILE
GONZALEZ FIGUEROA, JESUS              ADDRESS ON FILE
Gonzalez Figueroa, Jesus A            ADDRESS ON FILE
GONZALEZ FIGUEROA, JONATHAN           ADDRESS ON FILE
GONZALEZ FIGUEROA, JOSE               ADDRESS ON FILE
GONZALEZ FIGUEROA, JOSE A             ADDRESS ON FILE
GONZALEZ FIGUEROA, JOSE A.            ADDRESS ON FILE
GONZALEZ FIGUEROA, JOSE A.            ADDRESS ON FILE
GONZALEZ FIGUEROA, JUAN A.            ADDRESS ON FILE
GONZALEZ FIGUEROA, JUAN L.            ADDRESS ON FILE
GONZALEZ FIGUEROA, JULIO              ADDRESS ON FILE
GONZALEZ FIGUEROA, JURIS M            ADDRESS ON FILE
GONZALEZ FIGUEROA, LAUDERY            ADDRESS ON FILE
GONZALEZ FIGUEROA, LUCILA             ADDRESS ON FILE
GONZALEZ FIGUEROA, LUIS               ADDRESS ON FILE
GONZALEZ FIGUEROA, LUIS               ADDRESS ON FILE
GONZALEZ FIGUEROA, LUIS D             ADDRESS ON FILE
GONZALEZ FIGUEROA, LUIS R.            ADDRESS ON FILE
GONZALEZ FIGUEROA, MADELINE           ADDRESS ON FILE
GONZALEZ FIGUEROA, MAGAL              ADDRESS ON FILE
GONZALEZ FIGUEROA, MAGALY             ADDRESS ON FILE
GONZALEZ FIGUEROA, MANOLO             ADDRESS ON FILE
GONZALEZ FIGUEROA, MANUEL             ADDRESS ON FILE
GONZALEZ FIGUEROA, MARGARITA          ADDRESS ON FILE
GONZALEZ FIGUEROA, MARGARITA          ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA              ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA              ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA D            ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA DE LOURDES   ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA DEL C        ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA J            ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA J            ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIA M.           ADDRESS ON FILE
GONZALEZ FIGUEROA, MARIBEL            ADDRESS ON FILE
GONZALEZ FIGUEROA, MARY L             ADDRESS ON FILE
GONZALEZ FIGUEROA, MIGDALIA           ADDRESS ON FILE
GONZALEZ FIGUEROA, MIGUEL             ADDRESS ON FILE
GONZALEZ FIGUEROA, MIGUEL A           ADDRESS ON FILE
Gonzalez Figueroa, Miguel A           ADDRESS ON FILE
GONZALEZ FIGUEROA, MONICA             ADDRESS ON FILE
GONZALEZ FIGUEROA, MYRNA              ADDRESS ON FILE
GONZALEZ FIGUEROA, NANCY              ADDRESS ON FILE
Gonzalez Figueroa, Neftali            ADDRESS ON FILE
GONZALEZ FIGUEROA, NEFTALI            ADDRESS ON FILE
GONZALEZ FIGUEROA, NELSON             ADDRESS ON FILE
GONZALEZ FIGUEROA, NEREIDA            ADDRESS ON FILE
GONZALEZ FIGUEROA, NILSA              ADDRESS ON FILE
GONZALEZ FIGUEROA, NOE                ADDRESS ON FILE
GONZALEZ FIGUEROA, NORMA              ADDRESS ON FILE
GONZALEZ FIGUEROA, ORLANDO            ADDRESS ON FILE
GONZALEZ FIGUEROA, PATRICIA           ADDRESS ON FILE
Gonzalez Figueroa, Ramon              ADDRESS ON FILE




                                                                                  Page 3319 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3320 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ FIGUEROA, RAMON       ADDRESS ON FILE
GONZALEZ FIGUEROA, REY A.      ADDRESS ON FILE
GONZALEZ FIGUEROA, ROSMAR      ADDRESS ON FILE
GONZALEZ FIGUEROA, SANDY A.    ADDRESS ON FILE
GONZALEZ FIGUEROA, SERGIO      ADDRESS ON FILE
GONZALEZ FIGUEROA, SHIELA M.   ADDRESS ON FILE
GONZALEZ FIGUEROA, TAINA       ADDRESS ON FILE
GONZALEZ FIGUEROA, TAMARA      ADDRESS ON FILE
GONZALEZ FIGUEROA, TAMARIS     ADDRESS ON FILE
GONZALEZ FIGUEROA, VIRGINIA    ADDRESS ON FILE
GONZALEZ FIGUEROA, VIVIAN D.   ADDRESS ON FILE
GONZALEZ FIGUEROA, WILBERTO    ADDRESS ON FILE
Gonzalez Figueroa, Wilfredo    ADDRESS ON FILE
GONZALEZ FIGUEROA, WILLIAM     ADDRESS ON FILE
GONZALEZ FIGUEROA, WILLIAM     ADDRESS ON FILE
GONZALEZ FIGUEROA, XIOMARA     ADDRESS ON FILE
GONZALEZ FIGUEROA, YOLANDA     ADDRESS ON FILE
GONZALEZ FIOL, JOEL            ADDRESS ON FILE
GONZALEZ FIOL, MARGARITA       ADDRESS ON FILE
GONZALEZ FIRPI, DON JONATHAN   ADDRESS ON FILE
GONZALEZ FIRPI, DON JONATHAN   ADDRESS ON FILE
GONZALEZ FLECHA, YAMARYS       ADDRESS ON FILE
GONZALEZ FLORAN, YANAI         ADDRESS ON FILE
GONZALEZ FLORES, ADA M.        ADDRESS ON FILE
GONZALEZ FLORES, ALBERTINA     ADDRESS ON FILE
GONZALEZ FLORES, ALEXANDRA     ADDRESS ON FILE
GONZALEZ FLORES, BETHZAIDA     ADDRESS ON FILE
GONZALEZ FLORES, BRUNILDA      ADDRESS ON FILE
GONZALEZ FLORES, CARMEN S      ADDRESS ON FILE
GONZALEZ FLORES, CLARIBEL      ADDRESS ON FILE
GONZALEZ FLORES, CRECENCIO     ADDRESS ON FILE
GONZALEZ FLORES, CRUZ          ADDRESS ON FILE
GONZALEZ FLORES, EMMANUEL      ADDRESS ON FILE
GONZALEZ FLORES, FELICITA      ADDRESS ON FILE
GONZALEZ FLORES, GLORIA M      ADDRESS ON FILE
GONZALEZ FLORES, HERMES        ADDRESS ON FILE
GONZALEZ FLORES, IDALIA        ADDRESS ON FILE
GONZALEZ FLORES, ISABELO       ADDRESS ON FILE
GONZALEZ FLORES, IVAN          ADDRESS ON FILE
GONZALEZ FLORES, JONATHAN      ADDRESS ON FILE
GONZALEZ FLORES, JOSE          ADDRESS ON FILE
GONZALEZ FLORES, KELLY         ADDRESS ON FILE
Gonzalez Flores, Leonardo      ADDRESS ON FILE
GONZALEZ FLORES, LINDA D       ADDRESS ON FILE
GONZALEZ FLORES, LUIS          ADDRESS ON FILE
GONZALEZ FLORES, MANUEL        ADDRESS ON FILE
GONZALEZ FLORES, MARCOS D      ADDRESS ON FILE
GONZALEZ FLORES, MARIA M       ADDRESS ON FILE
Gonzalez Flores, Marisa        ADDRESS ON FILE
GONZALEZ FLORES, MARISOL       ADDRESS ON FILE
GONZALEZ FLORES, MICHAEL       ADDRESS ON FILE
GONZALEZ FLORES, NELSON        ADDRESS ON FILE
GONZALEZ FLORES, OMAYRA        ADDRESS ON FILE
GONZALEZ FLORES, PABLO L.      ADDRESS ON FILE
GONZALEZ FLORES, PABLO L.      ADDRESS ON FILE
GONZALEZ FLORES, RAMONA        ADDRESS ON FILE
GONZALEZ FLORES, RAUL          ADDRESS ON FILE
GONZALEZ FLORES, ROSA          ADDRESS ON FILE
GONZALEZ FLORES, ROSA E        ADDRESS ON FILE
Gonzalez Flores, Ruben         ADDRESS ON FILE




                                                                           Page 3320 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3321 of 3500
                                                                               17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                   Address1                         Address2                           Address3              Address4   City              State   PostalCode   Country
GONZALEZ FLORES, SHEILA         ADDRESS ON FILE
GONZALEZ FLORES, STEPHEN G      ADDRESS ON FILE
GONZALEZ FLORES, UBALDO         ADDRESS ON FILE
GONZALEZ FLORES, VERONICA       ADDRESS ON FILE
GONZALEZ FLORES, WINSTON        ADDRESS ON FILE
GONZALEZ FLORES, YOLANDA        ADDRESS ON FILE
GONZALEZ FLORES, YOLANDA        ADDRESS ON FILE
GONZALEZ FONSECA, ANGEL         ADDRESS ON FILE
GONZALEZ FONSECA, CARMEN M      ADDRESS ON FILE
GONZALEZ FONSECA, JAVIER        ADDRESS ON FILE
GONZALEZ FONSECA, JOSE A.       ADDRESS ON FILE
GONZALEZ FONSECA, OMAR          ADDRESS ON FILE
Gonzalez Fonseca, Pedro J       ADDRESS ON FILE
GONZALEZ FONSECA, RAYMOND       ADDRESS ON FILE
GONZALEZ FONSECA, RAYMOND       ADDRESS ON FILE
GONZALEZ FONSECA, SAMUEL        ADDRESS ON FILE
GONZALEZ FONSECA, SAUL          ADDRESS ON FILE
GONZALEZ FONT, PABLO            ADDRESS ON FILE
GONZALEZ FONTANEZ, ABNER        ADDRESS ON FILE
GONZALEZ FONTANEZ, ANGEL L      ADDRESS ON FILE
Gonzalez Fontanez, Angel L.     ADDRESS ON FILE
GONZALEZ FONTANEZ, BERNARDINO   ADDRESS ON FILE
GONZALEZ FONTANEZ, BERNARDINO   ADDRESS ON FILE
GONZALEZ FONTANEZ, JOEL F       ADDRESS ON FILE
GONZALEZ FONTANEZ, JOSE         ADDRESS ON FILE
GONZALEZ FONTANEZ, JOSE A       ADDRESS ON FILE
GONZALEZ FONTANEZ, LUIS E       ADDRESS ON FILE
                                                                                                    CARR. 876 KM 1 HM 4
GONZALEZ FONTANEZ, MARIBEL      GONZALEZ FONTANEZ, MARIBEL       BARRIO LAS CUEVAS                  BUZÓN 45                         TRUJILLO ALTO     PR      00976
GONZALEZ FONTANEZ, MARIBEL      LIC. PANTOJA OQUENDO, JOSEFINA   PO BOX 21370                                                        SAN JUAN          PR      00928
GONZALEZ FONTANEZ, MARIELY      ADDRESS ON FILE
GONZALEZ FONTANEZ, MARILU       ADDRESS ON FILE
GONZALEZ FONTANEZ, ROBERTO      ADDRESS ON FILE
GONZALEZ FORNES, MARIANO        ADDRESS ON FILE
GONZALEZ FOSTER, CARLOS E       ADDRESS ON FILE
GONZALEZ FOSTER, LISBETH I      ADDRESS ON FILE
GONZALEZ FRANCISCO, ESTHER      ADDRESS ON FILE
GONZALEZ FRANCO, EDWIN          ADDRESS ON FILE
GONZALEZ FRANQUI, LEYDA         ADDRESS ON FILE
GONZALEZ FRANQUI, ROBERTO       ADDRESS ON FILE
Gonzalez Franqui, Rogelio       ADDRESS ON FILE
GONZALEZ FRATICELLI, EDGAR S    ADDRESS ON FILE
GONZALEZ FRATICELLI, JOHAN M    ADDRESS ON FILE
GONZALEZ FRATICELLI, VILMA E    ADDRESS ON FILE
GONZALEZ FRAUSTO, LUZ M         ADDRESS ON FILE
GONZALEZ FRED, DAPHNE           ADDRESS ON FILE
GONZALEZ FRED, DAPHNE           ADDRESS ON FILE
GONZALEZ FREIRE, WILLIAM        ADDRESS ON FILE
Gonzalez Fremain, Leonardo      ADDRESS ON FILE
GONZALEZ FRES, NANCY            ADDRESS ON FILE
GONZALEZ FRES, WANDA I          ADDRESS ON FILE
Gonzalez Fresse, Gilberto       ADDRESS ON FILE
GONZALEZ FREYTES, JOSHUA        ADDRESS ON FILE
GONZALEZ FREYTES, JOSHUA J.     ADDRESS ON FILE
GONZALEZ FUENTES, ALEXIS        ADDRESS ON FILE
GONZALEZ FUENTES, ANA I         ADDRESS ON FILE
GONZALEZ FUENTES, CARLOS        ADDRESS ON FILE
GONZALEZ FUENTES, CARLOS R.     ADDRESS ON FILE
GONZALEZ FUENTES, CARMEN        ADDRESS ON FILE
GONZALEZ FUENTES, CARMEN T      ADDRESS ON FILE




                                                                                     Page 3321 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3322 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ FUENTES, CHRISTIAN    ADDRESS ON FILE
GONZALEZ FUENTES, DOMINGO      ADDRESS ON FILE
GONZALEZ FUENTES, ELIZABETH    ADDRESS ON FILE
GONZALEZ FUENTES, ESTHER       ADDRESS ON FILE
GONZALEZ FUENTES, JANINE       ADDRESS ON FILE
GONZALEZ FUENTES, JORGE        ADDRESS ON FILE
GONZALEZ FUENTES, JUAN         ADDRESS ON FILE
GONZALEZ FUENTES, LUZ A        ADDRESS ON FILE
GONZALEZ FUENTES, MARIA E.     ADDRESS ON FILE
GONZALEZ FUENTES, ODILIO       ADDRESS ON FILE
GONZALEZ FUENTES, ROBERTO      ADDRESS ON FILE
GONZALEZ FUENTES, ROSA         ADDRESS ON FILE
Gonzalez Fuentes, Samuel       ADDRESS ON FILE
GONZALEZ FUENTES, SARY J       ADDRESS ON FILE
GONZALEZ FUENTES, SONIA        ADDRESS ON FILE
GONZALEZ FUENTES, TERESITA     ADDRESS ON FILE
GONZALEZ GAGO, ASHLEYDETH      ADDRESS ON FILE
González Gagot, Jesús Jaime    ADDRESS ON FILE
GONZALEZ GALAN, GLORIMAR       ADDRESS ON FILE
GONZALEZ GALARZA, BELINDA      ADDRESS ON FILE
GONZALEZ GALARZA, BETHZAIDA    ADDRESS ON FILE
GONZALEZ GALARZA, EDWIN        ADDRESS ON FILE
GONZALEZ GALARZA, ILLIANA      ADDRESS ON FILE
GONZALEZ GALARZA, JUAN         ADDRESS ON FILE
GONZALEZ GALARZA, MIGUEL       ADDRESS ON FILE
GONZALEZ GALARZA, ROBERTO      ADDRESS ON FILE
GONZALEZ GALARZA, VIMAYLA E.   ADDRESS ON FILE
GONZALEZ GALBAN, LUIS          ADDRESS ON FILE
GONZALEZ GALICIA MD, DAMARYS   ADDRESS ON FILE
GONZALEZ GALINANES, NYURKA     ADDRESS ON FILE
GONZALEZ GALINDO, RAFAEL       ADDRESS ON FILE
GONZALEZ GALLARDO, CARMELO     ADDRESS ON FILE
Gonzalez Gallardo, Carmen D    ADDRESS ON FILE
Gonzalez Gallardo, Luis G      ADDRESS ON FILE
GONZALEZ GALLARDO, LUIS G.     ADDRESS ON FILE
GONZALEZ GALLOSA, LUCAS        ADDRESS ON FILE
GONZALEZ GALLOZA, JORGE E      ADDRESS ON FILE
GONZALEZ GALLOZA, LUCAS        ADDRESS ON FILE
GONZALEZ GALLOZA, MYRIAM       ADDRESS ON FILE
GONZALEZ GALLOZA, ROSA H       ADDRESS ON FILE
GONZALEZ GALOFFIN, ELSIE       ADDRESS ON FILE
GONZALEZ GALOFFIN, JORGE       ADDRESS ON FILE
GONZALEZ GALOFFIN, JORGE       ADDRESS ON FILE
GONZALEZ GALVAN, RICHARD       ADDRESS ON FILE
GONZALEZ GANDIA, ANGEL         ADDRESS ON FILE
GONZALEZ GANDIA, LUIS          ADDRESS ON FILE
GONZALEZ GANDIA, LUIS A.       ADDRESS ON FILE
GONZALEZ GARAU, JOSE D         ADDRESS ON FILE
GONZALEZ GARAY, EDGARDO        ADDRESS ON FILE
GONZALEZ GARAY, LINETTE        ADDRESS ON FILE
GONZALEZ GARAY, LYDIA          ADDRESS ON FILE
GONZALEZ GARAY, ZULEIMA        ADDRESS ON FILE
GONZALEZ GARCIA , LILLY E      ADDRESS ON FILE
GONZALEZ GARCIA, ADALBERTO     ADDRESS ON FILE
GONZALEZ GARCIA, ADALBERTO     ADDRESS ON FILE
GONZALEZ GARCIA, ALBERTO       ADDRESS ON FILE
GONZALEZ GARCIA, ALEXANDER     ADDRESS ON FILE
Gonzalez Garcia, Alfonso E.    ADDRESS ON FILE
GONZALEZ GARCIA, ANA C         ADDRESS ON FILE
GONZALEZ GARCIA, ANA S         ADDRESS ON FILE




                                                                           Page 3322 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3323 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Garcia, Andres           ADDRESS ON FILE
Gonzalez Garcia, Andres           ADDRESS ON FILE
GONZALEZ GARCIA, ANDRES           ADDRESS ON FILE
GONZALEZ GARCIA, ANGEL            ADDRESS ON FILE
GONZALEZ GARCIA, ANICELLIS        ADDRESS ON FILE
GONZALEZ GARCIA, ANTHIA           ADDRESS ON FILE
GONZALEZ GARCIA, ANTONIO          ADDRESS ON FILE
GONZALEZ GARCIA, ANTONIO          ADDRESS ON FILE
GONZALEZ GARCIA, ARMANDO          ADDRESS ON FILE
GONZALEZ GARCIA, ARNALDO          ADDRESS ON FILE
GONZALEZ GARCIA, BRUNIMARIE       ADDRESS ON FILE
GONZALEZ GARCIA, CARLOS           ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN C         ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN G         ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN M         ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN M         ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN M         ADDRESS ON FILE
González García, Carmen M.        ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN S.        ADDRESS ON FILE
GONZALEZ GARCIA, CARMEN SOCORRO   ADDRESS ON FILE
GONZALEZ GARCIA, CEFERINO         ADDRESS ON FILE
GONZALEZ GARCIA, CLEMENTE         ADDRESS ON FILE
GONZALEZ GARCIA, CONCHITA         ADDRESS ON FILE
Gonzalez Garcia, Cruz O.          ADDRESS ON FILE
GONZALEZ GARCIA, DAMARIS          ADDRESS ON FILE
GONZALEZ GARCIA, DANIA L.         ADDRESS ON FILE
GONZALEZ GARCIA, DENNIS           ADDRESS ON FILE
GONZALEZ GARCIA, DENNISE M        ADDRESS ON FILE
GONZALEZ GARCIA, DESIREE          ADDRESS ON FILE
GONZALEZ GARCIA, DOLORES          ADDRESS ON FILE
GONZALEZ GARCIA, EDUARD           ADDRESS ON FILE
GONZALEZ GARCIA, EDWIN            ADDRESS ON FILE
GONZALEZ GARCIA, EDWIN            ADDRESS ON FILE
GONZALEZ GARCIA, ELBA             ADDRESS ON FILE
GONZALEZ GARCIA, ELBA I           ADDRESS ON FILE
GONZALEZ GARCIA, ELBA M           ADDRESS ON FILE
GONZALEZ GARCIA, ELIZABETH        ADDRESS ON FILE
GONZALEZ GARCIA, ENID             ADDRESS ON FILE
GONZALEZ GARCIA, FABIOLA          ADDRESS ON FILE
GONZALEZ GARCIA, FELICITA         ADDRESS ON FILE
GONZALEZ GARCIA, FELIX D.         ADDRESS ON FILE
GONZALEZ GARCIA, FLORENCIO        ADDRESS ON FILE
GONZALEZ GARCIA, FRANCISCO J      ADDRESS ON FILE
GONZALEZ GARCIA, FREDDIE          ADDRESS ON FILE
GONZALEZ GARCIA, GABRIEL          ADDRESS ON FILE
GONZALEZ GARCIA, GEORGE           ADDRESS ON FILE
GONZALEZ GARCIA, GIOVANNI         ADDRESS ON FILE
GONZALEZ GARCIA, GLADYS           ADDRESS ON FILE
GONZALEZ GARCIA, GRACE M.         ADDRESS ON FILE
GONZALEZ GARCIA, IRIA             ADDRESS ON FILE
GONZALEZ GARCIA, IRIS             ADDRESS ON FILE
GONZALEZ GARCIA, ISMAEL           ADDRESS ON FILE
GONZALEZ GARCIA, IVAN             ADDRESS ON FILE
GONZALEZ GARCIA, JACKELINE        ADDRESS ON FILE
GONZALEZ GARCIA, JANETTE          ADDRESS ON FILE
GONZALEZ GARCIA, JAVIER           ADDRESS ON FILE
GONZALEZ GARCIA, JO ANN           ADDRESS ON FILE
GONZALEZ GARCIA, JORGE            ADDRESS ON FILE
GONZALEZ GARCIA, JOSE             ADDRESS ON FILE
GONZALEZ GARCIA, JOSE             ADDRESS ON FILE




                                                                              Page 3323 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3324 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GARCIA, JOSE        ADDRESS ON FILE
GONZALEZ GARCIA, JOSE A      ADDRESS ON FILE
GONZALEZ GARCIA, JOSE A      ADDRESS ON FILE
GONZALEZ GARCIA, JOSE E.     ADDRESS ON FILE
GONZALEZ GARCIA, JOSE F      ADDRESS ON FILE
Gonzalez Garcia, Jose H      ADDRESS ON FILE
GONZALEZ GARCIA, JOSE O.     ADDRESS ON FILE
GONZALEZ GARCIA, JOSEFINA    ADDRESS ON FILE
GONZALEZ GARCIA, JUAN        ADDRESS ON FILE
GONZALEZ GARCIA, JUAN        ADDRESS ON FILE
GONZALEZ GARCIA, KENIA       ADDRESS ON FILE
GONZALEZ GARCIA, LEGNA I     ADDRESS ON FILE
GONZALEZ GARCIA, LENNY       ADDRESS ON FILE
GONZALEZ GARCIA, LESBIA M    ADDRESS ON FILE
GONZALEZ GARCIA, LINA        ADDRESS ON FILE
GONZALEZ GARCIA, LIZ M       ADDRESS ON FILE
GONZALEZ GARCIA, LUIS A      ADDRESS ON FILE
GONZALEZ GARCIA, LUIS A      ADDRESS ON FILE
GONZALEZ GARCIA, LUIS J      ADDRESS ON FILE
GONZALEZ GARCIA, LUIS R      ADDRESS ON FILE
GONZALEZ GARCIA, LUZ C       ADDRESS ON FILE
GONZALEZ GARCIA, LUZ G       ADDRESS ON FILE
GONZALEZ GARCIA, LYDIA M     ADDRESS ON FILE
GONZALEZ GARCIA, MANUEL      ADDRESS ON FILE
GONZALEZ GARCIA, MANUEL A    ADDRESS ON FILE
GONZALEZ GARCIA, MARIA       ADDRESS ON FILE
GONZALEZ GARCIA, MARIA D.    ADDRESS ON FILE
GONZALEZ GARCIA, MARIA E     ADDRESS ON FILE
GONZALEZ GARCIA, MARIELA     ADDRESS ON FILE
GONZALEZ GARCIA, MARIO A     ADDRESS ON FILE
GONZALEZ GARCIA, MAYRA       ADDRESS ON FILE
GONZALEZ GARCIA, MELISSA     ADDRESS ON FILE
GONZALEZ GARCIA, MICHELLE    ADDRESS ON FILE
GONZALEZ GARCIA, MICHELLE    ADDRESS ON FILE
GONZALEZ GARCIA, MYRTA L     ADDRESS ON FILE
GONZALEZ GARCIA, NANCY       ADDRESS ON FILE
GONZALEZ GARCIA, NORMA E     ADDRESS ON FILE
GONZALEZ GARCIA, NYDIA E     ADDRESS ON FILE
GONZALEZ GARCIA, ORLANDO     ADDRESS ON FILE
GONZALEZ GARCIA, ORVILLE O   ADDRESS ON FILE
GONZALEZ GARCIA, OTONIEL     ADDRESS ON FILE
GONZALEZ GARCIA, RAFAEL      ADDRESS ON FILE
GONZALEZ GARCIA, RAMON       ADDRESS ON FILE
Gonzalez Garcia, Ramon A.    ADDRESS ON FILE
GONZALEZ GARCIA, REY         ADDRESS ON FILE
GONZALEZ GARCIA, RINA        ADDRESS ON FILE
GONZALEZ GARCIA, ROSA D      ADDRESS ON FILE
GONZALEZ GARCIA, RUBY G.     ADDRESS ON FILE
GONZALEZ GARCIA, SALVADOR    ADDRESS ON FILE
GONZALEZ GARCIA, SALVADOR    ADDRESS ON FILE
GONZALEZ GARCIA, SAMUEL      ADDRESS ON FILE
GONZALEZ GARCIA, SONIA       ADDRESS ON FILE
GONZALEZ GARCIA, SONIA       ADDRESS ON FILE
GONZALEZ GARCIA, SYLVIA      ADDRESS ON FILE
Gonzalez Garcia, Tomas       ADDRESS ON FILE
GONZALEZ GARCIA, VERONICA    ADDRESS ON FILE
Gonzalez Garcia, Wilma       ADDRESS ON FILE
Gonzalez Garcia, Yarisa I    ADDRESS ON FILE
GONZALEZ GARCIA, ZAIBEL      ADDRESS ON FILE
GONZALEZ GARCIA, ZAIDA N     ADDRESS ON FILE




                                                                         Page 3324 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3325 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GARCIA,ZOE MILAGROS     ADDRESS ON FILE
GONZALEZ GASPAR, MARISSA         ADDRESS ON FILE
Gonzalez Gautier, Richard        ADDRESS ON FILE
GONZALEZ GAVILLAN, EVA           ADDRESS ON FILE
GONZALEZ GELABERT, BLANCA        ADDRESS ON FILE
GONZALEZ GELPI, HAZEL M          ADDRESS ON FILE
GONZALEZ GELPI, RINA             ADDRESS ON FILE
GONZALEZ GERENA, AIDA            ADDRESS ON FILE
GONZALEZ GERENA, ARLENE          ADDRESS ON FILE
GONZALEZ GERENA, CARLOS          ADDRESS ON FILE
Gonzalez Gerena, David           ADDRESS ON FILE
GONZALEZ GERENA, FELICITA        ADDRESS ON FILE
GONZALEZ GERENA, IVAN H          ADDRESS ON FILE
GONZALEZ GERENA, LOIDA           ADDRESS ON FILE
GONZALEZ GERENA, LUIS            ADDRESS ON FILE
GONZALEZ GERENA, MADELINE        ADDRESS ON FILE
GONZALEZ GERENA, RUTH            ADDRESS ON FILE
GONZALEZ GERENA, VIVIAN L        ADDRESS ON FILE
Gonzalez Gerena, Wilfredo        ADDRESS ON FILE
GONZALEZ GERENA, ZORAIDA 0       ADDRESS ON FILE
GONZALEZ GEYLS, EDDA             ADDRESS ON FILE
GONZALEZ GEYLS, EDDA M.          ADDRESS ON FILE
GONZALEZ GEYLS, JOSE M.          ADDRESS ON FILE
GONZALEZ GEYLS, MAGDA            ADDRESS ON FILE
GONZALEZ GIERBOLINI, CARLOS E    ADDRESS ON FILE
GONZALEZ GIERBOLINI, ERIC IVAN   ADDRESS ON FILE
GONZALEZ GIL, BRUNILDA           ADDRESS ON FILE
GONZALEZ GILBES, JOSE A          ADDRESS ON FILE
GONZALEZ GINES, GRETCHEN         ADDRESS ON FILE
GONZALEZ GINORIO, STEPHANIE      ADDRESS ON FILE
GONZALEZ GIRANTE, CARMEN A       ADDRESS ON FILE
GONZALEZ GIRAUD, ELSA M          ADDRESS ON FILE
GONZALEZ GIRAUD, JOSE            ADDRESS ON FILE
GONZALEZ GIRAUD, LUZ M           ADDRESS ON FILE
GONZALEZ GIRAUD, VICTOR          ADDRESS ON FILE
GONZALEZ GIRONA, MARIA           ADDRESS ON FILE
GONZALEZ GOBERT, HERIBERTO       ADDRESS ON FILE
GONZALEZ GODEN,VANESSA           ADDRESS ON FILE
GONZALEZ GOITIA, ANGEL           ADDRESS ON FILE
GONZALEZ GOITIA, JOSE G          ADDRESS ON FILE
GONZALEZ GOITIA, VANESSA         ADDRESS ON FILE
GONZALEZ GOMEZ MD, ALFREDO       ADDRESS ON FILE
GONZALEZ GOMEZ, ALEXANDER        ADDRESS ON FILE
GONZALEZ GOMEZ, ALFREDO          ADDRESS ON FILE
GONZALEZ GOMEZ, ALFREDO          ADDRESS ON FILE
GONZALEZ GOMEZ, ANA E            ADDRESS ON FILE
Gonzalez Gomez, Ana R            ADDRESS ON FILE
GONZALEZ GOMEZ, ANGEL L          ADDRESS ON FILE
GONZALEZ GOMEZ, ARMINDALIS       ADDRESS ON FILE
GONZALEZ GOMEZ, AYMARA           ADDRESS ON FILE
GONZALEZ GOMEZ, ENRIQUE          ADDRESS ON FILE
GONZALEZ GOMEZ, ENRIQUE          ADDRESS ON FILE
GONZALEZ GOMEZ, GIOVANNI         ADDRESS ON FILE
GONZALEZ GOMEZ, HECTOR           ADDRESS ON FILE
GONZALEZ GOMEZ, HIRAN            ADDRESS ON FILE
Gonzalez Gomez, Javier           ADDRESS ON FILE
GONZALEZ GOMEZ, JEREMY           ADDRESS ON FILE
GONZALEZ GOMEZ, JOSE             ADDRESS ON FILE
GONZALEZ GOMEZ, JOSE             ADDRESS ON FILE
GONZALEZ GOMEZ, JOSE A.          ADDRESS ON FILE




                                                                             Page 3325 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3326 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GOMEZ, JOSE A.          ADDRESS ON FILE
GONZALEZ GOMEZ, JOSHUA           ADDRESS ON FILE
GONZALEZ GOMEZ, JULIO            ADDRESS ON FILE
Gonzalez Gomez, Julio Y          ADDRESS ON FILE
GONZALEZ GOMEZ, LILIAN           ADDRESS ON FILE
GONZALEZ GOMEZ, LUIS             ADDRESS ON FILE
Gonzalez Gomez, Luis A.          ADDRESS ON FILE
GONZALEZ GOMEZ, MARIA J          ADDRESS ON FILE
GONZALEZ GOMEZ, MIGUEL A         ADDRESS ON FILE
Gonzalez Gomez, Serafin          ADDRESS ON FILE
GONZALEZ GOMEZ, WANDA E          ADDRESS ON FILE
GONZALEZ GOMEZ, WANDA I          ADDRESS ON FILE
GONZALEZ GOMEZ, WILMA            ADDRESS ON FILE
GONZALEZ GONELL, VICTOR          ADDRESS ON FILE
GONZALEZ GONZALES, MARIA L       ADDRESS ON FILE
GONZALEZ GONZALES, TERESA        ADDRESS ON FILE
GONZALEZ GONZALEZ MD, BERNARDO   ADDRESS ON FILE
GONZALEZ GONZALEZ MD, GERMAN L   ADDRESS ON FILE
GONZALEZ GONZALEZ MD, GIOVANI    ADDRESS ON FILE
GONZALEZ GONZALEZ MD, ROBERTO    ADDRESS ON FILE
GONZALEZ GONZALEZ, ABIMAEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, ADA C         ADDRESS ON FILE
GONZALEZ GONZALEZ, ADA G         ADDRESS ON FILE
GONZALEZ GONZALEZ, ADA I         ADDRESS ON FILE
GONZALEZ GONZALEZ, ADA I.        ADDRESS ON FILE
GONZALEZ GONZALEZ, ADA I.        ADDRESS ON FILE
GONZALEZ GONZALEZ, ADALINA       ADDRESS ON FILE
GONZALEZ GONZALEZ, ADELIRYS      ADDRESS ON FILE
GONZALEZ GONZALEZ, ADELIRYS      ADDRESS ON FILE
GONZALEZ GONZALEZ, AGUEDA        ADDRESS ON FILE
GONZALEZ GONZALEZ, ALBERTO       ADDRESS ON FILE
GONZALEZ GONZALEZ, ALBERTO       ADDRESS ON FILE
GONZALEZ GONZALEZ, ALEIDA        ADDRESS ON FILE
Gonzalez Gonzalez, Alejandro     ADDRESS ON FILE
GONZALEZ GONZALEZ, ALEJANDRO     ADDRESS ON FILE
GONZALEZ GONZALEZ, ALEXANDER     ADDRESS ON FILE
GONZALEZ GONZALEZ, ALEXANDER     ADDRESS ON FILE
GONZALEZ GONZALEZ, ALFREDO       ADDRESS ON FILE
GONZALEZ GONZALEZ, ALFREDO       ADDRESS ON FILE
GONZALEZ GONZALEZ, ALICIA        ADDRESS ON FILE
GONZALEZ GONZALEZ, ALMA E        ADDRESS ON FILE
GONZALEZ GONZALEZ, ALPIDIO       ADDRESS ON FILE
GONZALEZ GONZALEZ, AMARILIS      ADDRESS ON FILE
GONZALEZ GONZALEZ, AMBAR         ADDRESS ON FILE
GONZALEZ GONZALEZ, AMELIA        ADDRESS ON FILE
GONZALEZ GONZALEZ, ANA G         ADDRESS ON FILE
GONZALEZ GONZALEZ, ANA L         ADDRESS ON FILE
GONZALEZ GONZALEZ, ANA M         ADDRESS ON FILE
GONZALEZ GONZALEZ, ANA Y.        ADDRESS ON FILE
GONZALEZ GONZALEZ, ANDRES        ADDRESS ON FILE
Gonzalez Gonzalez, Andres L.     ADDRESS ON FILE
GONZALEZ GONZALEZ, ANGEL         ADDRESS ON FILE
GONZALEZ GONZALEZ, ANGEL         ADDRESS ON FILE
Gonzalez Gonzalez, Angel G       ADDRESS ON FILE
Gonzalez Gonzalez, Angel Luis    ADDRESS ON FILE
GONZALEZ GONZALEZ, ANGELA A      ADDRESS ON FILE
GONZALEZ GONZALEZ, ANIBAL        ADDRESS ON FILE
GONZALEZ GONZALEZ, ANNDRA        ADDRESS ON FILE
GONZALEZ GONZALEZ, ANTHONY       ADDRESS ON FILE
GONZALEZ GONZALEZ, ANTHONY       ADDRESS ON FILE




                                                                             Page 3326 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3327 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, ANTONIO        ADDRESS ON FILE
GONZALEZ GONZALEZ, ARIEL          ADDRESS ON FILE
Gonzalez Gonzalez, Arnaldo        ADDRESS ON FILE
GONZALEZ GONZALEZ, ASHLY          ADDRESS ON FILE
GONZALEZ GONZALEZ, ASHLY          ADDRESS ON FILE
GONZALEZ GONZALEZ, AXEL           ADDRESS ON FILE
GONZALEZ GONZALEZ, BASILIO        ADDRESS ON FILE
GONZALEZ GONZALEZ, BELKIS         ADDRESS ON FILE
Gonzalez Gonzalez, Benito         ADDRESS ON FILE
GONZALEZ GONZALEZ, BETTY          ADDRESS ON FILE
GONZALEZ GONZALEZ, BLANCA I       ADDRESS ON FILE
GONZALEZ GONZALEZ, BRENDA         ADDRESS ON FILE
GONZALEZ GONZALEZ, BRENDA         ADDRESS ON FILE
GONZALEZ GONZALEZ, BRENDA         ADDRESS ON FILE
GONZALEZ GONZALEZ, BRENDA L.      ADDRESS ON FILE
GONZALEZ GONZALEZ, BRENDA LEE     ADDRESS ON FILE
GONZALEZ GONZALEZ, BRUNILDA       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
Gonzalez Gonzalez, Carlos         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS J.      ADDRESS ON FILE
GONZALEZ GONZALEZ, CARLOS JULIO   ADDRESS ON FILE
Gonzalez Gonzalez, Carlos M       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMELO        ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN         ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN A.      ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN D       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN D       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN I       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN I.      ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN J       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN L       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN L       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN L.      ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN M       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN NILSA   ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN ROSA    ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN S       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN S       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN S       ADDRESS ON FILE
GONZALEZ GONZALEZ, CARMEN S       ADDRESS ON FILE
GONZALEZ GONZALEZ, CAROLINE       ADDRESS ON FILE
GONZALEZ GONZALEZ, CATHERINE Y.   ADDRESS ON FILE
GONZALEZ GONZALEZ, CECILIO        ADDRESS ON FILE
GONZALEZ GONZALEZ, CELIA J        ADDRESS ON FILE
GONZALEZ GONZALEZ, CESAR          ADDRESS ON FILE
GONZALEZ GONZALEZ, CESAR          ADDRESS ON FILE
GONZALEZ GONZALEZ, CHRISTIAN      ADDRESS ON FILE
GONZALEZ GONZALEZ, CHRISTIAN      ADDRESS ON FILE
Gonzalez Gonzalez, Christian G    ADDRESS ON FILE
GONZALEZ GONZALEZ, CRISTINA       ADDRESS ON FILE
Gonzalez Gonzalez, Daisy          ADDRESS ON FILE




                                                                              Page 3327 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3328 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, DAMARIS      ADDRESS ON FILE
Gonzalez Gonzalez, Damian       ADDRESS ON FILE
Gonzalez Gonzalez, Daniel       ADDRESS ON FILE
GONZALEZ GONZALEZ, DANIEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, DANIEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, DANIEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, DANIEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, DEBORAH      ADDRESS ON FILE
GONZALEZ GONZALEZ, DEISIS       ADDRESS ON FILE
GONZALEZ GONZALEZ, DELFIN       ADDRESS ON FILE
GONZALEZ GONZALEZ, DENISSE      ADDRESS ON FILE
GONZALEZ GONZALEZ, DIALYNETTE   ADDRESS ON FILE
GONZALEZ GONZALEZ, DIANA G      ADDRESS ON FILE
GONZALEZ GONZALEZ, DIGNORA      ADDRESS ON FILE
GONZALEZ GONZALEZ, DIKZA        ADDRESS ON FILE
GONZALEZ GONZALEZ, DIONED       ADDRESS ON FILE
Gonzalez Gonzalez, Domingo      ADDRESS ON FILE
GONZALEZ GONZALEZ, DUHAMEL      ADDRESS ON FILE
GONZALEZ GONZALEZ, EDGAR        ADDRESS ON FILE
GONZALEZ GONZALEZ, EDGAR        ADDRESS ON FILE
Gonzalez Gonzalez, Edgardo      ADDRESS ON FILE
GONZALEZ GONZALEZ, EDGARDO      ADDRESS ON FILE
GONZALEZ GONZALEZ, EDGARDO      ADDRESS ON FILE
GONZALEZ GONZALEZ, EDNA         ADDRESS ON FILE
GONZALEZ GONZALEZ, EDNA I.      ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN        ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN        ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN        ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN        ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN        ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN J.     ADDRESS ON FILE
GONZALEZ GONZALEZ, EDWIN M.     ADDRESS ON FILE
Gonzalez Gonzalez, Efren        ADDRESS ON FILE
GONZALEZ GONZALEZ, EFREN        ADDRESS ON FILE
GONZALEZ GONZALEZ, EILEEN D     ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIAS        ADDRESS ON FILE
Gonzalez Gonzalez, Elias        ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIENID      ADDRESS ON FILE
Gonzalez Gonzalez, Eliezer      ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIEZER      ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIEZER      ADDRESS ON FILE
GONZALEZ GONZALEZ, ELISA        ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIZABETH    ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIZABETH    ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIZABETH    ADDRESS ON FILE
GONZALEZ GONZALEZ, ELIZABETH    ADDRESS ON FILE
GONZALEZ GONZALEZ, EMANUEL      ADDRESS ON FILE
GONZALEZ GONZALEZ, EMILIO       ADDRESS ON FILE
GONZALEZ GONZALEZ, EMILY        ADDRESS ON FILE
GONZALEZ GONZALEZ, EMMANUEL     ADDRESS ON FILE
GONZALEZ GONZALEZ, ENEIDA       ADDRESS ON FILE
GONZALEZ GONZALEZ, ENID         ADDRESS ON FILE
GONZALEZ GONZALEZ, ENID         ADDRESS ON FILE
GONZALEZ GONZALEZ, ENILDA       ADDRESS ON FILE
Gonzalez Gonzalez, Enilda       ADDRESS ON FILE
GONZALEZ GONZALEZ, ERIC         ADDRESS ON FILE
GONZALEZ GONZALEZ, ERIKA        ADDRESS ON FILE
GONZALEZ GONZALEZ, ESLI         ADDRESS ON FILE
GONZALEZ GONZALEZ, ESMERALDA    ADDRESS ON FILE
GONZALEZ GONZALEZ, ESTHER       ADDRESS ON FILE




                                                                            Page 3328 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3329 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, EUMABEL C     ADDRESS ON FILE
Gonzalez Gonzalez, Evelyn        ADDRESS ON FILE
GONZALEZ GONZALEZ, EVELYN        ADDRESS ON FILE
GONZALEZ GONZALEZ, FELICITA      ADDRESS ON FILE
GONZALEZ GONZALEZ, FELICITA      ADDRESS ON FILE
GONZALEZ GONZALEZ, FELIX         ADDRESS ON FILE
GONZALEZ GONZALEZ, FELIX         ADDRESS ON FILE
Gonzalez Gonzalez, Fernando      ADDRESS ON FILE
GONZALEZ GONZALEZ, FRANCISCO     ADDRESS ON FILE
GONZALEZ GONZALEZ, FRANCISCO J   ADDRESS ON FILE
GONZALEZ GONZALEZ, FRANDITH      ADDRESS ON FILE
GONZALEZ GONZALEZ, FRANK         ADDRESS ON FILE
GONZALEZ GONZALEZ, FREDDIE       ADDRESS ON FILE
GONZALEZ GONZALEZ, GABRIEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, GERARDO       ADDRESS ON FILE
GONZALEZ GONZALEZ, GERMAN        ADDRESS ON FILE
GONZALEZ GONZALEZ, GERMAN        ADDRESS ON FILE
GONZALEZ GONZALEZ, GILBERTO      ADDRESS ON FILE
GONZALEZ GONZALEZ, GILBERTO      ADDRESS ON FILE
GONZALEZ GONZALEZ, GLENDA L      ADDRESS ON FILE
GONZALEZ GONZALEZ, GLENDA L      ADDRESS ON FILE
GONZALEZ GONZALEZ, GLORIA        ADDRESS ON FILE
GONZALEZ GONZALEZ, GLORIA        ADDRESS ON FILE
GONZALEZ GONZALEZ, GLORIA E.     ADDRESS ON FILE
GONZALEZ GONZALEZ, GLORIA M      ADDRESS ON FILE
GONZALEZ GONZALEZ, GLORIMAR      ADDRESS ON FILE
GONZALEZ GONZALEZ, GLORIMAR      ADDRESS ON FILE
GONZALEZ GONZALEZ, GONZALO       ADDRESS ON FILE
GONZALEZ GONZALEZ, GREGORIO      ADDRESS ON FILE
GONZALEZ GONZALEZ, GUILLERMINA   ADDRESS ON FILE
GONZALEZ GONZALEZ, GUILLERMINA   ADDRESS ON FILE
GONZALEZ GONZALEZ, GUSTAVO A.    ADDRESS ON FILE
Gonzalez Gonzalez, Hector        ADDRESS ON FILE
Gonzalez Gonzalez, Hector        ADDRESS ON FILE
GONZALEZ GONZALEZ, HECTOR        ADDRESS ON FILE
GONZALEZ GONZALEZ, HECTOR        ADDRESS ON FILE
GONZALEZ GONZALEZ, HECTOR        ADDRESS ON FILE
GONZALEZ GONZALEZ, HECTOR J      ADDRESS ON FILE
Gonzalez Gonzalez, Hector L      ADDRESS ON FILE
GONZALEZ GONZALEZ, HENRY         ADDRESS ON FILE
GONZALEZ GONZALEZ, HERIBERTO     ADDRESS ON FILE
GONZALEZ GONZALEZ, HERIBERTO     ADDRESS ON FILE
GONZALEZ GONZALEZ, HERMINDY E    ADDRESS ON FILE
GONZALEZ GONZALEZ, HERMINIO      ADDRESS ON FILE
GONZALEZ GONZALEZ, HILDA E       ADDRESS ON FILE
GONZALEZ GONZALEZ, HIRIANA       ADDRESS ON FILE
GONZALEZ GONZALEZ, HIRIANA       ADDRESS ON FILE
GONZALEZ GONZALEZ, HUMBERTO      ADDRESS ON FILE
GONZALEZ GONZALEZ, ILIANEXIS     ADDRESS ON FILE
GONZALEZ GONZALEZ, IRIS J        ADDRESS ON FILE
GONZALEZ GONZALEZ, IRIS M        ADDRESS ON FILE
GONZALEZ GONZALEZ, IRMA L        ADDRESS ON FILE
Gonzalez Gonzalez, Isabel        ADDRESS ON FILE
GONZALEZ GONZALEZ, ISAURA        ADDRESS ON FILE
Gonzalez Gonzalez, Ismael        ADDRESS ON FILE
GONZALEZ GONZALEZ, ISRAEL        ADDRESS ON FILE
GONZALEZ GONZALEZ, IVELISSE      ADDRESS ON FILE
GONZALEZ GONZALEZ, IVETTE        ADDRESS ON FILE
GONZALEZ GONZALEZ, IVETTE        ADDRESS ON FILE
GONZALEZ GONZALEZ, IVETTE        ADDRESS ON FILE




                                                                             Page 3329 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3330 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, IVETTE        ADDRESS ON FILE
GONZALEZ GONZALEZ, IVONNE        ADDRESS ON FILE
GONZALEZ GONZALEZ, IVONNE        ADDRESS ON FILE
GONZALEZ GONZALEZ, JACQUELINE    ADDRESS ON FILE
GONZALEZ GONZALEZ, JACQUELINE    ADDRESS ON FILE
GONZALEZ GONZALEZ, JAIME A       ADDRESS ON FILE
GONZALEZ GONZALEZ, JAIME L       ADDRESS ON FILE
GONZALEZ GONZALEZ, JASON         ADDRESS ON FILE
GONZALEZ GONZALEZ, JAVIER A      ADDRESS ON FILE
Gonzalez Gonzalez, Javier E      ADDRESS ON FILE
GONZALEZ GONZALEZ, JEANETTE      ADDRESS ON FILE
Gonzalez Gonzalez, Jennifer      ADDRESS ON FILE
GONZALEZ GONZALEZ, JENNIFER      ADDRESS ON FILE
GONZALEZ GONZALEZ, JENNY         ADDRESS ON FILE
GONZALEZ GONZALEZ, JESSICA       ADDRESS ON FILE
GONZALEZ GONZALEZ, JESSICA       ADDRESS ON FILE
GONZALEZ GONZALEZ, JESSICA       ADDRESS ON FILE
GONZALEZ GONZALEZ, JESUS         ADDRESS ON FILE
Gonzalez Gonzalez, Jesus D       ADDRESS ON FILE
GONZALEZ GONZALEZ, JOANNETTE     ADDRESS ON FILE
Gonzalez Gonzalez, Joel          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOEL          ADDRESS ON FILE
Gonzalez Gonzalez, Joel N        ADDRESS ON FILE
Gonzalez Gonzalez, Johnny        ADDRESS ON FILE
GONZALEZ GONZALEZ, JONATHAN      ADDRESS ON FILE
GONZALEZ GONZALEZ, JORGE         ADDRESS ON FILE
GONZALEZ GONZALEZ, JORGE         ADDRESS ON FILE
GONZALEZ GONZALEZ, JORGE         ADDRESS ON FILE
GONZALEZ GONZALEZ, JORGE         ADDRESS ON FILE
GONZALEZ GONZALEZ, JORGE A. E.   ADDRESS ON FILE
GONZALEZ GONZALEZ, JORGE L       ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE          ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE A.       ADDRESS ON FILE
Gonzalez Gonzalez, Jose A.       ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE E        ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE I        ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE J        ADDRESS ON FILE
Gonzalez Gonzalez, Jose L.       ADDRESS ON FILE
Gonzalez Gonzalez, Jose Manuel   ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE O.       ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSE R        ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSEFINA A.   ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSELYN       ADDRESS ON FILE
GONZALEZ GONZALEZ, JOSETTE       ADDRESS ON FILE
GONZALEZ GONZALEZ, JOUBERT       ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN          ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN          ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN          ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN          ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN          ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN A        ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN D        ADDRESS ON FILE
GONZALEZ GONZALEZ, JUAN H        ADDRESS ON FILE




                                                                             Page 3330 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3331 of 3500
                                                                               17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                   Address1                    Address2                              Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, JUAN O.      ADDRESS ON FILE
Gonzalez Gonzalez, Juan R       ADDRESS ON FILE
GONZALEZ GONZALEZ, JUANA        ADDRESS ON FILE
GONZALEZ GONZALEZ, JUANA        ADDRESS ON FILE
Gonzalez Gonzalez, Judith       ADDRESS ON FILE
GONZALEZ GONZALEZ, JUDITH       ADDRESS ON FILE
GONZALEZ GONZALEZ, JULIA        ADDRESS ON FILE
GONZALEZ GONZALEZ, JULIE        ADDRESS ON FILE
GONZALEZ GONZALEZ, JULIO        ADDRESS ON FILE
GONZALEZ GONZALEZ, JULIO        ADDRESS ON FILE
GONZALEZ GONZALEZ, JULIO        ADDRESS ON FILE
GONZALEZ GONZALEZ, JULIO A      ADDRESS ON FILE
GONZALEZ GONZALEZ, JULISSA      ADDRESS ON FILE
GONZALEZ GONZALEZ, KAREN J      ADDRESS ON FILE
GONZALEZ GONZALEZ, KAREN N      ADDRESS ON FILE
GONZALEZ GONZALEZ, KATHERINE    ADDRESS ON FILE
GONZALEZ GONZALEZ, KAYSA M.     ADDRESS ON FILE
GONZALEZ GONZALEZ, KEREN        ADDRESS ON FILE
GONZALEZ GONZALEZ, KERMY        ADDRESS ON FILE
GONZALEZ GONZALEZ, LEIDA I      ADDRESS ON FILE
GONZALEZ GONZALEZ, LELEAN       ADDRESS ON FILE
GONZALEZ GONZALEZ, LETICIA      ADDRESS ON FILE
GONZALEZ GONZALEZ, LEYDA        ADDRESS ON FILE
GONZALEZ GONZALEZ, LILLIAN      ADDRESS ON FILE
GONZALEZ GONZALEZ, LINDA I      ADDRESS ON FILE
GONZALEZ GONZALEZ, LISSETTE     ADDRESS ON FILE
GONZALEZ GONZALEZ, LISSETTE E   ADDRESS ON FILE
GONZALEZ GONZALEZ, LIZ D        ADDRESS ON FILE
GONZALEZ GONZALEZ, LIZARY       ADDRESS ON FILE
GONZALEZ GONZALEZ, LIZZETH M.   ADDRESS ON FILE
GONZALEZ GONZALEZ, LOURDES H    ADDRESS ON FILE
GONZALEZ GONZALEZ, LOYDA E      ADDRESS ON FILE
GONZALEZ GONZALEZ, LU ANN       ADDRESS ON FILE
GONZÁLEZ GONZÁLEZ, LUIS         JOSE M CASSANOVA EDELMANN   DOMENECH 224 SUITE 2                                        SAN JUAN     PR      00918
GONZALEZ GONZALEZ, LUIS         ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS         ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS         ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS         ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS A       ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS D       ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS H.      ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS O.      ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS R       ADDRESS ON FILE
GONZALEZ GONZALEZ, LUIS X       ADDRESS ON FILE
GONZALEZ GONZALEZ, LUISA        ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ          ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ          ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ          ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ          ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ C        ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ M        ADDRESS ON FILE
GONZALEZ GONZALEZ, LUZ M.       ADDRESS ON FILE
GONZALEZ GONZALEZ, LYDIA        ADDRESS ON FILE
GONZALEZ GONZALEZ, LYNDA N.     ADDRESS ON FILE
GONZALEZ GONZALEZ, MAGALI       ADDRESS ON FILE
GONZALEZ GONZALEZ, MAGALY       ADDRESS ON FILE
Gonzalez Gonzalez, Manuel       ADDRESS ON FILE
GONZALEZ GONZALEZ, MANUEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARANGELY    ADDRESS ON FILE
GONZALEZ GONZALEZ, MARANGELY    ADDRESS ON FILE




                                                                                   Page 3331 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3332 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, MARCOS        ADDRESS ON FILE
GONZALEZ GONZALEZ, MARCOS        ADDRESS ON FILE
GONZALEZ GONZALEZ, MARGARITA     ADDRESS ON FILE
GONZALEZ GONZALEZ, MARGARITA     ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA D       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA DEL C   ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA DEL C   ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA E       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA E       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA E       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA J       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA J       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIA V       ADDRESS ON FILE
Gonzalez Gonzalez, Mariano       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIBEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIBEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIDELI      ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIE C       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIELYS      ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIELYS      ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIO         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARIO         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARISOL       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARISOL       ADDRESS ON FILE
Gonzalez Gonzalez, Maritza       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARITZA       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARITZA       ADDRESS ON FILE
GONZALEZ GONZALEZ, MARTA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MARY C        ADDRESS ON FILE
GONZALEZ GONZALEZ, MARYLISSA     ADDRESS ON FILE
GONZALEZ GONZALEZ, MAYDA I       ADDRESS ON FILE
GONZALEZ GONZALEZ, MAYRA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MELINDA       ADDRESS ON FILE
GONZALEZ GONZALEZ, MELISSA       ADDRESS ON FILE
GONZALEZ GONZALEZ, MELVIN        ADDRESS ON FILE
GONZALEZ GONZALEZ, MERCEDES      ADDRESS ON FILE
GONZALEZ GONZALEZ, MICHAEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, MICHEL        ADDRESS ON FILE
GONZALEZ GONZALEZ, MIGUEL        ADDRESS ON FILE
GONZALEZ GONZALEZ, MIGUEL        ADDRESS ON FILE
Gonzalez Gonzalez, Miguel A      ADDRESS ON FILE
GONZALEZ GONZALEZ, MIGUEL A      ADDRESS ON FILE
GONZALEZ GONZALEZ, MIGUEL A.     ADDRESS ON FILE
GONZALEZ GONZALEZ, MILAGROS      ADDRESS ON FILE
GONZALEZ GONZALEZ, MILAGROS      ADDRESS ON FILE
GONZALEZ GONZALEZ, MILAGROS      ADDRESS ON FILE
Gonzalez Gonzalez, Mildred       ADDRESS ON FILE
GONZALEZ GONZALEZ, MILDRED       ADDRESS ON FILE
GONZALEZ GONZALEZ, MILIXA        ADDRESS ON FILE
GONZALEZ GONZALEZ, MINERVA       ADDRESS ON FILE
GONZALEZ GONZALEZ, MINERVA       ADDRESS ON FILE
GONZALEZ GONZALEZ, MIRIAM N.     ADDRESS ON FILE
GONZALEZ GONZALEZ, MIRTA         ADDRESS ON FILE
GONZALEZ GONZALEZ, MIRTA I       ADDRESS ON FILE
GONZALEZ GONZALEZ, MITCHELL      ADDRESS ON FILE




                                                                             Page 3332 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3333 of 3500
                                                                              17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                  Address1                                 Address2                       Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, MONICA      ADDRESS ON FILE
GONZALEZ GONZALEZ, NANCY       ADDRESS ON FILE
Gonzalez Gonzalez, Narziso     ADDRESS ON FILE
GONZALEZ GONZALEZ, NATALIA     ADDRESS ON FILE
GONZALEZ GONZALEZ, NATANAEL    ADDRESS ON FILE
GONZALEZ GONZALEZ, NATIVIDAD   ADDRESS ON FILE
GONZALEZ GONZALEZ, NELSON      ADDRESS ON FILE
GONZALEZ GONZALEZ, NEREIDA     ADDRESS ON FILE
GONZALEZ GONZALEZ, NESTOR      ADDRESS ON FILE
GONZALEZ GONZALEZ, NILDA       ADDRESS ON FILE
GONZALEZ GONZALEZ, NIMIA       ADDRESS ON FILE
GONZALEZ GONZALEZ, NINOSHKA    ADDRESS ON FILE
GONZALEZ GONZALEZ, NITZA       ADDRESS ON FILE
GONZALEZ GONZALEZ, NOEL        ADDRESS ON FILE
GONZALEZ GONZALEZ, NOEL        ADDRESS ON FILE
GONZALEZ GONZALEZ, NOEMI       ADDRESS ON FILE
GONZALEZ GONZALEZ, NORA M      ADDRESS ON FILE
GONZALEZ GONZALEZ, NORBERTO    ADDRESS ON FILE
GONZALEZ GONZALEZ, NORBERTO    ADDRESS ON FILE
GONZALEZ GONZALEZ, NORBERTO    ADDRESS ON FILE
GONZALEZ GONZALEZ, NORMA       ADDRESS ON FILE
GONZALEZ GONZALEZ, NORMA I     ADDRESS ON FILE
GONZALEZ GONZALEZ, NORMA I     ADDRESS ON FILE
GONZALEZ GONZALEZ, NYDIA I.    ADDRESS ON FILE
GONZALEZ GONZALEZ, OBED        ADDRESS ON FILE
GONZALEZ GONZALEZ, ODALYS      ADDRESS ON FILE
GONZALEZ GONZALEZ, OLGA        ADDRESS ON FILE
GONZALEZ GONZALEZ, OLGA        ADDRESS ON FILE
GONZALEZ GONZALEZ, OLGA        ADDRESS ON FILE
GONZALEZ GONZALEZ, OLGA L.     ADDRESS ON FILE
GONZALEZ GONZALEZ, ORLANDO     ADDRESS ON FILE
GONZALEZ GONZALEZ, ORLANDO     ADDRESS ON FILE
GONZALEZ GONZALEZ, ORLANDO     ADDRESS ON FILE
Gonzalez Gonzalez, Oscar H.    ADDRESS ON FILE
Gonzalez Gonzalez, Osvaldo     ADDRESS ON FILE
GONZALEZ GONZALEZ, PEDRO       ADDRESS ON FILE
GONZALEZ GONZALEZ, PETER JOE   ADDRESS ON FILE
GONZALEZ GONZALEZ, PETRA       ADDRESS ON FILE
GONZALEZ GONZALEZ, PRISCILLA   ADDRESS ON FILE
GONZALEZ GONZALEZ, PRISCILLA   ADDRESS ON FILE
GONZALEZ GONZALEZ, RADAMES     ADDRESS ON FILE
GONZALEZ GONZALEZ, RADAMES     ADDRESS ON FILE
GONZALEZ GONZALEZ, RAFAEL      ADDRESS ON FILE
GONZALEZ GONZALEZ, RAFAEL      ADDRESS ON FILE
GONZALEZ GONZALEZ, RAFAEL J    ADDRESS ON FILE
Gonzalez Gonzalez, Ramon       ADDRESS ON FILE
GONZALEZ GONZALEZ, RAMON       ADDRESS ON FILE
GONZALEZ GONZALEZ, RAMON       ADDRESS ON FILE
Gonzalez Gonzalez, Ramon A     ADDRESS ON FILE
Gonzalez Gonzalez, Ramon E     ADDRESS ON FILE
GONZALEZ GONZALEZ, RAUL J      ADDRESS ON FILE
GONZALEZ GONZALEZ, REBECA      ADDRESS ON FILE
GONZÁLEZ GONZÁLEZ, REINALDA    ERNESTO JOSÉ MIRANDA MATOS               PO BOX 361058                                        SAN JUAN     PR      00936‐1058
GONZÁLEZ GONZÁLEZ, REINALDA    ERNESTO JOSÉ MIRANDA MATOS (2) ANTONIO LUPO BOX 361058                                        SAN JUAN     PR      00936‐1058
GONZALEZ GONZALEZ, REINALDO    ADDRESS ON FILE
Gonzalez Gonzalez, Reyes       ADDRESS ON FILE
GONZALEZ GONZALEZ, REYNALDO    ADDRESS ON FILE
Gonzalez Gonzalez, Ricardo     ADDRESS ON FILE
GONZALEZ GONZALEZ, ROBERTO     ADDRESS ON FILE
GONZALEZ GONZALEZ, ROGELIO     ADDRESS ON FILE




                                                                                        Page 3333 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3334 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GONZALEZ, ROSA         ADDRESS ON FILE
GONZALEZ GONZALEZ, ROSA HILDA   ADDRESS ON FILE
GONZALEZ GONZALEZ, ROSA M       ADDRESS ON FILE
GONZALEZ GONZALEZ, ROSAEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, ROSALY       ADDRESS ON FILE
GONZALEZ GONZALEZ, ROSAURA      ADDRESS ON FILE
GONZALEZ GONZALEZ, RUTH E       ADDRESS ON FILE
GONZALEZ GONZALEZ, SALLY        ADDRESS ON FILE
GONZALEZ GONZALEZ, SAMUEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, SAMUEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, SAMUEL       ADDRESS ON FILE
GONZALEZ GONZALEZ, SANTOS       ADDRESS ON FILE
GONZALEZ GONZALEZ, SANTOS       ADDRESS ON FILE
GONZALEZ GONZALEZ, SAUL         ADDRESS ON FILE
GONZALEZ GONZALEZ, SEGID        ADDRESS ON FILE
GONZALEZ GONZALEZ, SERAFIN      ADDRESS ON FILE
GONZALEZ GONZALEZ, SHERALLY     ADDRESS ON FILE
GONZALEZ GONZALEZ, SHERALY      ADDRESS ON FILE
Gonzalez Gonzalez, Sixto        ADDRESS ON FILE
GONZALEZ GONZALEZ, SIXTO        ADDRESS ON FILE
GONZALEZ GONZALEZ, STEFANI      ADDRESS ON FILE
GONZALEZ GONZALEZ, TAMARA       ADDRESS ON FILE
GONZALEZ GONZALEZ, TERESA       ADDRESS ON FILE
GONZALEZ GONZALEZ, TERESA L     ADDRESS ON FILE
GONZALEZ GONZALEZ, VALERIE      ADDRESS ON FILE
GONZALEZ GONZALEZ, VICTOR M.    ADDRESS ON FILE
GONZALEZ GONZALEZ, VILMA        ADDRESS ON FILE
GONZALEZ GONZALEZ, VIVIAN       ADDRESS ON FILE
GONZALEZ GONZALEZ, WALDEMAR     ADDRESS ON FILE
GONZALEZ GONZALEZ, WALESKA      ADDRESS ON FILE
GONZALEZ GONZALEZ, WALESKA      ADDRESS ON FILE
GONZALEZ GONZALEZ, WANDA        ADDRESS ON FILE
GONZALEZ GONZALEZ, WANDA        ADDRESS ON FILE
GONZALEZ GONZALEZ, WANDALIZ     ADDRESS ON FILE
GONZALEZ GONZALEZ, WILDARYS     ADDRESS ON FILE
GONZALEZ GONZALEZ, WILFREDO     ADDRESS ON FILE
GONZALEZ GONZALEZ, WILFREDO     ADDRESS ON FILE
GONZALEZ GONZALEZ, WILLIAM      ADDRESS ON FILE
Gonzalez Gonzalez, William      ADDRESS ON FILE
GONZALEZ GONZALEZ, WILMA I.     ADDRESS ON FILE
GONZALEZ GONZALEZ, WINFRED      ADDRESS ON FILE
GONZALEZ GONZALEZ, XAVIER       ADDRESS ON FILE
GONZALEZ GONZALEZ, XIOMARA      ADDRESS ON FILE
GONZALEZ GONZALEZ, XIOMARA      ADDRESS ON FILE
GONZALEZ GONZALEZ, XIOMARA      ADDRESS ON FILE
GONZALEZ GONZALEZ, XIOMARA      ADDRESS ON FILE
GONZALEZ GONZALEZ, YADELINE     ADDRESS ON FILE
GONZALEZ GONZALEZ, YAIDZA       ADDRESS ON FILE
GONZALEZ GONZALEZ, YAIDZA       ADDRESS ON FILE
GONZALEZ GONZALEZ, YAIZA        ADDRESS ON FILE
GONZALEZ GONZALEZ, YALISKA      ADDRESS ON FILE
GONZALEZ GONZALEZ, YARELIS      ADDRESS ON FILE
GONZALEZ GONZALEZ, YASMIL       ADDRESS ON FILE
GONZALEZ GONZALEZ, YOLANDA      ADDRESS ON FILE
GONZALEZ GONZALEZ, YOLANDA      ADDRESS ON FILE
GONZALEZ GONZALEZ, ZORAIDA      ADDRESS ON FILE
GONZALEZ GONZALEZ, ZORAIDA      ADDRESS ON FILE
GONZALEZ GONZALEZ, ZULEYKA      ADDRESS ON FILE
GONZALEZ GONZALEZ, ZULEYKA      ADDRESS ON FILE
GONZALEZ GONZALEZ,ANDREA L.     ADDRESS ON FILE




                                                                            Page 3334 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3335 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                        Address1                          Address2                                  Address3   Address4   City      State   PostalCode   Country
GONZALEZ GONZALEZ,MIRIAM             ADDRESS ON FILE
Gonzalez Gordian, Luz E              ADDRESS ON FILE
Gonzalez Gordian, Maria E            ADDRESS ON FILE
GONZALEZ GORGAS, PEDRO               ADDRESS ON FILE
GONZALEZ GOTAY, MARIA C              ADDRESS ON FILE
GONZALEZ GOTAY, PABLO                ADDRESS ON FILE
GONZALEZ GOTAY, SAMUEL               ADDRESS ON FILE
GONZALEZ GOYTIA, CHRISTIAN           ADDRESS ON FILE
GONZALEZ GOYTIA, CHRISTIAN JOSE      ADDRESS ON FILE
GONZALEZ GRACIA, ROSA EDITH          ADDRESS ON FILE
GONZALEZ GRAFALS, JOANNE             ADDRESS ON FILE
GONZALEZ GRAHAM, MARIA               ADDRESS ON FILE
GONZALEZ GRAJALES, EFRAIN            ADDRESS ON FILE
GONZALEZ GRAJALES, ELIZABETH         ADDRESS ON FILE
GONZALEZ GRAJALES, ELVIN N           ADDRESS ON FILE
GONZALEZ GRAJALES, VICTOR M          ADDRESS ON FILE
GONZALEZ GRANADOS, MIGDALIA          ADDRESS ON FILE
GONZALEZ GRATEROLIS, MAGALY          ADDRESS ON FILE
GONZALEZ GREEN, DIANA S              ADDRESS ON FILE
GONZALEZ GREEN, EDUARDO              ADDRESS ON FILE
Gonzalez Griffith, Nelson            ADDRESS ON FILE
GONZALEZ GUADALUPE, DEBBIE R         ADDRESS ON FILE
GONZALEZ GUADALUPE, LUZ C            ADDRESS ON FILE
GONZALEZ GUADALUPE, MELBA            ADDRESS ON FILE
GONZALEZ GUADALUPE, NELSON           ADDRESS ON FILE
GONZALEZ GUADALUPE, TANIA L.         ADDRESS ON FILE
GONZALEZ GUAL, OSCAR                 ADDRESS ON FILE
GONZÁLEZ GUAL, OSCAR                 LCDA. LIZETTE M. ALVARADO BAUZÁ   URB. MORELL CAMPOS CALLE FÍGARO #2                              Ponce     PR      00730‐2764
GONZALEZ GUANG, EUNICE               ADDRESS ON FILE
GONZALEZ GUANG, HECTOR MIGUEL        ADDRESS ON FILE
GONZALEZ GUASCH, MIRIAM A            ADDRESS ON FILE
GONZALEZ GUASCH, NYDSIA M            ADDRESS ON FILE
GONZALEZ GUASH, ANDRES               ADDRESS ON FILE
GONZALEZ GUERRA, CESAR               ADDRESS ON FILE
GONZALEZ GUERRA, LUIS A.             ADDRESS ON FILE
GONZALEZ GUERRA, MARICELY            ADDRESS ON FILE
GONZALEZ GUERRA, ROBERTO             ADDRESS ON FILE
GONZALEZ GUERRERO, CAROLINA          ADDRESS ON FILE
GONZALEZ GUERRERO, MIOSOTIS          ADDRESS ON FILE
GONZALEZ GUERRIDO, JULIA             ADDRESS ON FILE
GONZALEZ GUEVARA, JUAN               ADDRESS ON FILE
GONZALEZ GUILBE, RODNEY              ADDRESS ON FILE
GONZALEZ GUILLOTY, JOSE              ADDRESS ON FILE
GONZALEZ GUILLOTY, ROSA              ADDRESS ON FILE
GONZALEZ GUILLOTY, ROSA M.           ADDRESS ON FILE
GONZALEZ GUINDIN, ZAHIRA V           ADDRESS ON FILE
GONZALEZ GUIVAS, AUREA               ADDRESS ON FILE
GONZALEZ GUIVAS, AUREA               ADDRESS ON FILE
GONZALEZ GUTIERREZ, DELIA PATRICIA   ADDRESS ON FILE
GONZALEZ GUTIERREZ, DELIA PATRICIA   ADDRESS ON FILE
GONZALEZ GUTIERREZ, EMILY            ADDRESS ON FILE
GONZALEZ GUTIERREZ, EUGENIO          ADDRESS ON FILE
GONZALEZ GUTIERREZ, JOSE M           ADDRESS ON FILE
GONZALEZ GUTIERREZ, JUAN R           ADDRESS ON FILE
GONZALEZ GUTIERREZ, LISANDRA         ADDRESS ON FILE
GONZALEZ GUTIERREZ, LUIS             ADDRESS ON FILE
GONZALEZ GUTIERREZ, MARIELA          ADDRESS ON FILE
GONZALEZ GUTIERREZ, MIRNA            ADDRESS ON FILE
GONZALEZ GUTIERREZ, NORMA H          ADDRESS ON FILE
GONZALEZ GUTIERREZ, OLGA E           ADDRESS ON FILE




                                                                                                  Page 3335 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3336 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ GUTIERREZ, ORLANDO       ADDRESS ON FILE
Gonzalez Gutierrez, Rodolfo       ADDRESS ON FILE
GONZALEZ GUZMAN, ALANNY           ADDRESS ON FILE
Gonzalez Guzman, Ana E            ADDRESS ON FILE
GONZALEZ GUZMAN, CARMEN           ADDRESS ON FILE
GONZALEZ GUZMAN, CARMEN M         ADDRESS ON FILE
GONZALEZ GUZMAN, EDGAR            ADDRESS ON FILE
Gonzalez Guzman, Edgar E          ADDRESS ON FILE
GONZALEZ GUZMAN, EDNA             ADDRESS ON FILE
GONZALEZ GUZMAN, EDNA C           ADDRESS ON FILE
GONZALEZ GUZMAN, EDWIN            ADDRESS ON FILE
Gonzalez Guzman, George Alberto   ADDRESS ON FILE
GONZALEZ GUZMAN, HILDA T          ADDRESS ON FILE
GONZALEZ GUZMAN, IRIS             ADDRESS ON FILE
GONZALEZ GUZMAN, JOSE             ADDRESS ON FILE
GONZALEZ GUZMAN, JOSE A           ADDRESS ON FILE
Gonzalez Guzman, Kelvin J.        ADDRESS ON FILE
GONZALEZ GUZMAN, LAURIE J         ADDRESS ON FILE
GONZALEZ GUZMAN, LEONCIO J        ADDRESS ON FILE
GONZALEZ GUZMAN, LUIS             ADDRESS ON FILE
GONZALEZ GUZMAN, MAGDA            ADDRESS ON FILE
GONZALEZ GUZMAN, MARIBEL          ADDRESS ON FILE
GONZALEZ GUZMAN, MARINELLY        ADDRESS ON FILE
GONZALEZ GUZMAN, MIRIAM           ADDRESS ON FILE
GONZALEZ GUZMAN, MYRIAM R         ADDRESS ON FILE
GONZALEZ GUZMAN, MYRNA R          ADDRESS ON FILE
GONZALEZ GUZMAN, OMAYRA L         ADDRESS ON FILE
GONZALEZ GUZMAN, RADAMES          ADDRESS ON FILE
GONZALEZ GUZMAN, ROSALIA          ADDRESS ON FILE
GONZALEZ GUZMAN, RUTH             ADDRESS ON FILE
GONZALEZ GUZMAN, SAMUEL           ADDRESS ON FILE
GONZALEZ GUZMAN, SONIA N          ADDRESS ON FILE
GONZALEZ GUZMAN, TERESA           ADDRESS ON FILE
GONZALEZ GUZMAN, VICTOR           ADDRESS ON FILE
GONZALEZ GUZMAN, VIDAL            ADDRESS ON FILE
GONZALEZ GUZMAN, YEIDY            ADDRESS ON FILE
GONZALEZ GUZMAN, YOLI             ADDRESS ON FILE
GONZALEZ GUZMAN, ZULEIKA          ADDRESS ON FILE
GONZALEZ GUZMAN, ZULMA            ADDRESS ON FILE
GONZALEZ GUZMAN, ZULMA            ADDRESS ON FILE
GONZALEZ HADDOCK, ROBERTO         ADDRESS ON FILE
GONZALEZ HALEY, OSCAR             ADDRESS ON FILE
GONZALEZ HARRISON, MARIA I        ADDRESS ON FILE
GONZALEZ HENRICY, ANGEL           ADDRESS ON FILE
GONZALEZ HEREDIA, ADRIANA L       ADDRESS ON FILE
GONZALEZ HEREDIA, ANTONIO L       ADDRESS ON FILE
GONZALEZ HEREDIA, ESMERALDA       ADDRESS ON FILE
GONZALEZ HEREDIA, HIRAM           ADDRESS ON FILE
GONZALEZ HERMANOS INC             COLMADO ASTURIAS          PO BOX 1826                                            SAN JUAN     PR      00902‐1826
GONZALEZ HERMANOS INC             PO BOX 1826                                                                      SAN JUAN     PR      00902‐1826
GONZALEZ HERMINA, JOSE            ADDRESS ON FILE
GONZALEZ HERMINA, MILAGROS        ADDRESS ON FILE
GONZALEZ HERMINIA, CARMEN         ADDRESS ON FILE
Gonzalez Hernand, Francisco       ADDRESS ON FILE
Gonzalez Hernande, Gregorio       ADDRESS ON FILE
GONZALEZ HERNANDEZ, ABIGAIL       ADDRESS ON FILE
GONZALEZ HERNANDEZ, ADA N         ADDRESS ON FILE
GONZALEZ HERNANDEZ, ADALBERTO     ADDRESS ON FILE
GONZALEZ HERNANDEZ, AIDA          ADDRESS ON FILE
GONZALEZ HERNANDEZ, AIDA          ADDRESS ON FILE




                                                                              Page 3336 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3337 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ HERNANDEZ, AIDA I      ADDRESS ON FILE
GONZALEZ HERNANDEZ, ALEX        ADDRESS ON FILE
Gonzalez Hernandez, Alex        ADDRESS ON FILE
GONZALEZ HERNANDEZ, ALEXIS      ADDRESS ON FILE
GONZALEZ HERNANDEZ, ALFONSO     ADDRESS ON FILE
GONZALEZ HERNANDEZ, AMAURY      ADDRESS ON FILE
GONZALEZ HERNANDEZ, ANA         ADDRESS ON FILE
GONZALEZ HERNANDEZ, ANA         ADDRESS ON FILE
GONZALEZ HERNANDEZ, ANA E.      ADDRESS ON FILE
GONZALEZ HERNANDEZ, ANGEL M     ADDRESS ON FILE
GONZALEZ HERNANDEZ, ANTONIO     ADDRESS ON FILE
GONZALEZ HERNANDEZ, ARIEL       ADDRESS ON FILE
GONZALEZ HERNANDEZ, ASHLEY      ADDRESS ON FILE
GONZALEZ HERNANDEZ, BENJAMIN    ADDRESS ON FILE
GONZALEZ HERNANDEZ, BETSY       ADDRESS ON FILE
GONZALEZ HERNANDEZ, BETSY T     ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARLA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARM        ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARMEN      ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARMEN      ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARMEN      ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARMEN L    ADDRESS ON FILE
GONZALEZ HERNANDEZ, CARMEN M.   ADDRESS ON FILE
GONZALEZ HERNANDEZ, CENIA E     ADDRESS ON FILE
GONZALEZ HERNANDEZ, CINDDY      ADDRESS ON FILE
GONZALEZ HERNANDEZ, CLARIBEL    ADDRESS ON FILE
GONZALEZ HERNANDEZ, CLAUDIO     ADDRESS ON FILE
GONZALEZ HERNANDEZ, CYNTHIA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, DAMARIS     ADDRESS ON FILE
GONZALEZ HERNANDEZ, DEBRA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, DEBRA M     ADDRESS ON FILE
GONZALEZ HERNANDEZ, DENNIS      ADDRESS ON FILE
GONZALEZ HERNANDEZ, EDNA I      ADDRESS ON FILE
GONZALEZ HERNANDEZ, EDWIN       ADDRESS ON FILE
GONZALEZ HERNANDEZ, EDWIN       ADDRESS ON FILE
GONZALEZ HERNANDEZ, EDWIN A.    ADDRESS ON FILE
GONZALEZ HERNANDEZ, EDWIN A.    ADDRESS ON FILE
GONZALEZ HERNANDEZ, ELBA        ADDRESS ON FILE
GONZALEZ HERNANDEZ, ELOISA      ADDRESS ON FILE
GONZALEZ HERNANDEZ, ELSIE       ADDRESS ON FILE
GONZALEZ HERNANDEZ, ENEIDA      ADDRESS ON FILE
GONZALEZ HERNANDEZ, ERIC        ADDRESS ON FILE
GONZALEZ HERNANDEZ, ERIC        ADDRESS ON FILE
GONZALEZ HERNANDEZ, ERIC        ADDRESS ON FILE
GONZALEZ HERNANDEZ, ESTEFANIA   ADDRESS ON FILE
GONZALEZ HERNANDEZ, ESTHER      ADDRESS ON FILE
GONZALEZ HERNANDEZ, EUNICE      ADDRESS ON FILE
GONZALEZ HERNANDEZ, EVELYN      ADDRESS ON FILE
GONZALEZ HERNANDEZ, FABIAN      ADDRESS ON FILE
GONZALEZ HERNANDEZ, FRANCISCO   ADDRESS ON FILE
GONZALEZ HERNANDEZ, GEORGE      ADDRESS ON FILE
GONZALEZ HERNANDEZ, GEORGE G    ADDRESS ON FILE
GONZALEZ HERNANDEZ, GILBERTO    ADDRESS ON FILE
GONZALEZ HERNANDEZ, GIOVANNI    ADDRESS ON FILE
GONZALEZ HERNANDEZ, GLADYS      ADDRESS ON FILE
GONZALEZ HERNANDEZ, GLESVIA N   ADDRESS ON FILE
GONZALEZ HERNANDEZ, GLORIA E    ADDRESS ON FILE
GONZALEZ HERNANDEZ, GLORIMAR    ADDRESS ON FILE
GONZALEZ HERNANDEZ, HAYDELIZ    ADDRESS ON FILE
GONZALEZ HERNANDEZ, HAYDELIZ    ADDRESS ON FILE




                                                                            Page 3337 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3338 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ HERNANDEZ, HECTOR        ADDRESS ON FILE
GONZALEZ HERNANDEZ, HILDA I       ADDRESS ON FILE
GONZALEZ HERNANDEZ, HIPOLITO      ADDRESS ON FILE
GONZALEZ HERNANDEZ, IRAIDA        ADDRESS ON FILE
GONZALEZ HERNANDEZ, IVAN          ADDRESS ON FILE
GONZALEZ HERNANDEZ, IVONNE        ADDRESS ON FILE
Gonzalez Hernandez, Javier        ADDRESS ON FILE
GONZALEZ HERNANDEZ, JAVIER        ADDRESS ON FILE
GONZALEZ HERNANDEZ, JAVIER F      ADDRESS ON FILE
GONZALEZ HERNANDEZ, JAYSON        ADDRESS ON FILE
GONZALEZ HERNANDEZ, JEMILIS       ADDRESS ON FILE
GONZALEZ HERNANDEZ, JESSICA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, JESUS         ADDRESS ON FILE
GONZALEZ HERNANDEZ, JESUS         ADDRESS ON FILE
GONZALEZ HERNANDEZ, JOHN E        ADDRESS ON FILE
GONZALEZ HERNANDEZ, JORGE         ADDRESS ON FILE
GONZALEZ HERNANDEZ, JOSE          ADDRESS ON FILE
GONZALEZ HERNANDEZ, JOSE          ADDRESS ON FILE
GONZALEZ HERNANDEZ, JOSE J.       ADDRESS ON FILE
Gonzalez Hernandez, Jose L.       ADDRESS ON FILE
Gonzalez Hernandez, Jose O        ADDRESS ON FILE
GONZALEZ HERNANDEZ, JUAN          ADDRESS ON FILE
GONZALEZ HERNANDEZ, JUAN          ADDRESS ON FILE
GONZALEZ HERNANDEZ, JUAN          ADDRESS ON FILE
GONZALEZ HERNANDEZ, JUAN          ADDRESS ON FILE
GONZALEZ HERNANDEZ, JULIO L       ADDRESS ON FILE
GONZALEZ HERNANDEZ, JULISSA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, LISA M        ADDRESS ON FILE
GONZALEZ HERNANDEZ, LISANDRA      ADDRESS ON FILE
GONZALEZ HERNANDEZ, LIXMARIE      ADDRESS ON FILE
GONZALEZ HERNANDEZ, LOURDES       ADDRESS ON FILE
GONZALEZ HERNANDEZ, LUIS          ADDRESS ON FILE
GONZALEZ HERNANDEZ, LUIS A        ADDRESS ON FILE
GONZALEZ HERNANDEZ, LUIS A        ADDRESS ON FILE
GONZALEZ HERNANDEZ, LUIS D        ADDRESS ON FILE
GONZALEZ HERNANDEZ, LUZ C         ADDRESS ON FILE
GONZALEZ HERNANDEZ, LUZ M         ADDRESS ON FILE
GONZALEZ HERNANDEZ, LYDIA         ADDRESS ON FILE
GONZALEZ HERNANDEZ, LYHONEL J.    ADDRESS ON FILE
GONZÁLEZ HERNÁNDEZ, LYHONEL J.    ADDRESS ON FILE
GONZALEZ HERNANDEZ, MANUEL        ADDRESS ON FILE
GONZALEZ HERNANDEZ, MANUEL        ADDRESS ON FILE
GONZALEZ HERNANDEZ, MANUEL DE     ADDRESS ON FILE
Gonzalez Hernandez, Manuel De J   ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIA         ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIA         ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIA DEL C   ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIA J       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIA M.      ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIA T       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARIANO       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARILI        ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARILIE       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MARITZA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MAYRA         ADDRESS ON FILE
GONZALEZ HERNANDEZ, MELVIN        ADDRESS ON FILE
GONZALEZ HERNANDEZ, MERCEDES      ADDRESS ON FILE
GONZALEZ HERNANDEZ, MILDRED       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MINERVA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, MYRIAM        ADDRESS ON FILE




                                                                              Page 3338 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3339 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ HERNANDEZ, MYRNA L.    ADDRESS ON FILE
GONZALEZ HERNANDEZ, NATANIEL    ADDRESS ON FILE
GONZALEZ HERNANDEZ, NILSA       ADDRESS ON FILE
Gonzalez Hernandez, Noelia      ADDRESS ON FILE
GONZALEZ HERNANDEZ, NORCA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, OLGA I      ADDRESS ON FILE
GONZALEZ HERNANDEZ, PEDRO       ADDRESS ON FILE
GONZALEZ HERNANDEZ, PERSIDA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, PRUDENCIO   ADDRESS ON FILE
Gonzalez Hernandez, Rafael      ADDRESS ON FILE
GONZALEZ HERNANDEZ, RAFAEL      ADDRESS ON FILE
GONZALEZ HERNANDEZ, RAFAEL A    ADDRESS ON FILE
GONZALEZ HERNANDEZ, RAMON       ADDRESS ON FILE
GONZALEZ HERNANDEZ, RAQUEL      ADDRESS ON FILE
Gonzalez Hernandez, Raymond     ADDRESS ON FILE
GONZALEZ HERNANDEZ, REBECCA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, RICARDO     ADDRESS ON FILE
GONZALEZ HERNANDEZ, ROQUE       ADDRESS ON FILE
GONZALEZ HERNANDEZ, RUTH        ADDRESS ON FILE
GONZALEZ HERNANDEZ, RUTH        ADDRESS ON FILE
GONZALEZ HERNANDEZ, RUTH M      ADDRESS ON FILE
GONZALEZ HERNANDEZ, SAMMY       ADDRESS ON FILE
GONZALEZ HERNANDEZ, SOL A       ADDRESS ON FILE
GONZALEZ HERNANDEZ, SONIA N     ADDRESS ON FILE
GONZALEZ HERNANDEZ, SOR S.      ADDRESS ON FILE
GONZALEZ HERNANDEZ, SORLYZ N    ADDRESS ON FILE
GONZALEZ HERNANDEZ, SUSANA      ADDRESS ON FILE
GONZALEZ HERNANDEZ, TANIA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, VIVIAN      ADDRESS ON FILE
GONZALEZ HERNANDEZ, WANDA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, WANDA I.    ADDRESS ON FILE
Gonzalez Hernandez, Wilbert     ADDRESS ON FILE
GONZALEZ HERNANDEZ, WILDALLYS   ADDRESS ON FILE
Gonzalez Hernandez, Wilfredo    ADDRESS ON FILE
GONZALEZ HERNANDEZ, WILFREDO    ADDRESS ON FILE
GONZALEZ HERNANDEZ, WILFREDO    ADDRESS ON FILE
GONZALEZ HERNANDEZ, WILLIAM     ADDRESS ON FILE
GONZALEZ HERNANDEZ, WILLIAM     ADDRESS ON FILE
GONZALEZ HERNANDEZ, WILSON      ADDRESS ON FILE
GONZALEZ HERNANDEZ, YAHAIRA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, YESENIA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, YESENIA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, YOLANDA     ADDRESS ON FILE
GONZALEZ HERNANDEZ, ZAIDA       ADDRESS ON FILE
GONZALEZ HERNANDEZ, ZULEYKA     ADDRESS ON FILE
GONZALEZ HERNANDEZ,WILSON       ADDRESS ON FILE
GONZALEZ HERRERA, CALIXTA       ADDRESS ON FILE
GONZALEZ HERRERA, CALIXTA       ADDRESS ON FILE
GONZALEZ HERRERA, EVELYN        ADDRESS ON FILE
Gonzalez Herrera, Jose O        ADDRESS ON FILE
GONZALEZ HERRERA, MARIA         ADDRESS ON FILE
GONZALEZ HEVERT, OLGA L         ADDRESS ON FILE
GONZALEZ HIDALGO MD, HAYDEE     ADDRESS ON FILE
GONZALEZ HIDALGO, ALEXADER      ADDRESS ON FILE
GONZALEZ HIDALGO, ELBA I        ADDRESS ON FILE
GONZALEZ HILARIO, BARBARA       ADDRESS ON FILE
GONZALEZ HILARIO, CARLISLE      ADDRESS ON FILE
GONZALEZ HILERIO, ENRIQUE       ADDRESS ON FILE
GONZALEZ HILERIO, SONIA I       ADDRESS ON FILE
GONZALEZ HIRALDO, ELSIE         ADDRESS ON FILE




                                                                            Page 3339 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3340 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ HIRALDO, LIZA MARIE     ADDRESS ON FILE
GONZALEZ HIRALDO, MAIRA          ADDRESS ON FILE
GONZALEZ HIRALDO, TRINIDAD       ADDRESS ON FILE
GONZALEZ HIRALDO, ZULMA          ADDRESS ON FILE
GONZALEZ HODGE, BLANCHE MARIE    ADDRESS ON FILE
GONZALEZ HOLGAD MD, MANUEL       ADDRESS ON FILE
GONZALEZ HOMS, RAINA M           ADDRESS ON FILE
GONZALEZ HUERTAS, JORGE          ADDRESS ON FILE
GONZALEZ HUERTAS, JORGE          ADDRESS ON FILE
GONZALEZ HUERTAS, MARIALLY       ADDRESS ON FILE
GONZALEZ HUERTAS, MIGUEL A       ADDRESS ON FILE
Gonzalez Huertas, Nancy N.       ADDRESS ON FILE
GONZALEZ HUERTAS, PRISCILLA      ADDRESS ON FILE
GONZALEZ HUERTAS, RAMON          ADDRESS ON FILE
GONZALEZ HUGUES, IDALIA          ADDRESS ON FILE
Gonzalez Hurtado, Israel         ADDRESS ON FILE
GONZALEZ IGLESIAS, IBITZZA M     ADDRESS ON FILE
GONZALEZ IGLESIAS, JANET         ADDRESS ON FILE
GONZALEZ IGLESIAS, MADELINE      ADDRESS ON FILE
GONZALEZ IGUINA, EILEEN          ADDRESS ON FILE
GONZALEZ ILDEFONSO, EDALIZ M     ADDRESS ON FILE
GONZALEZ ILLAS, CARMEN           ADDRESS ON FILE
Gonzalez Illas, Jose F           ADDRESS ON FILE
GONZALEZ ILLAS, MIRIAM           ADDRESS ON FILE
GONZALEZ INGLES, LUIS B.         ADDRESS ON FILE
GONZALEZ INGLES, LUIS E          ADDRESS ON FILE
GONZALEZ INGLES, VIVIAN I        ADDRESS ON FILE
Gonzalez Irizar, Humberto G      ADDRESS ON FILE
GONZALEZ IRIZARRY, ALBERTO       ADDRESS ON FILE
GONZALEZ IRIZARRY, ANGEL         ADDRESS ON FILE
Gonzalez Irizarry, Anibal        ADDRESS ON FILE
GONZALEZ IRIZARRY, BERNICE       ADDRESS ON FILE
GONZALEZ IRIZARRY, BERNICE E     ADDRESS ON FILE
Gonzalez Irizarry, Carlos M      ADDRESS ON FILE
GONZALEZ IRIZARRY, CELSO         ADDRESS ON FILE
GONZALEZ IRIZARRY, CLARIBEL      ADDRESS ON FILE
GONZALEZ IRIZARRY, DEADINA       ADDRESS ON FILE
GONZALEZ IRIZARRY, DEDINA        ADDRESS ON FILE
Gonzalez Irizarry, Duamel        ADDRESS ON FILE
GONZALEZ IRIZARRY, DUAMEL        ADDRESS ON FILE
GONZALEZ IRIZARRY, EFRAIN        ADDRESS ON FILE
GONZALEZ IRIZARRY, ELIZABETH     ADDRESS ON FILE
GONZALEZ IRIZARRY, ERIC D.       ADDRESS ON FILE
GONZALEZ IRIZARRY, FERNANDO L.   ADDRESS ON FILE
GONZALEZ IRIZARRY, FRANK E.      ADDRESS ON FILE
Gonzalez Irizarry, Glendalie     ADDRESS ON FILE
GONZALEZ IRIZARRY, ISMAEL        ADDRESS ON FILE
Gonzalez Irizarry, Israel        ADDRESS ON FILE
GONZALEZ IRIZARRY, JENNIFER      ADDRESS ON FILE
GONZALEZ IRIZARRY, JOSE          ADDRESS ON FILE
GONZALEZ IRIZARRY, JOYCE         ADDRESS ON FILE
GONZALEZ IRIZARRY, JUANA C       ADDRESS ON FILE
GONZALEZ IRIZARRY, LIONEL        ADDRESS ON FILE
GONZALEZ IRIZARRY, LUIS          ADDRESS ON FILE
GONZALEZ IRIZARRY, LUIS          ADDRESS ON FILE
GONZALEZ IRIZARRY, LUIS          ADDRESS ON FILE
GONZALEZ IRIZARRY, MARIA         ADDRESS ON FILE
GONZALEZ IRIZARRY, MARIA         ADDRESS ON FILE
Gonzalez Irizarry, Maricelys     ADDRESS ON FILE
GONZALEZ IRIZARRY, MERISSA       ADDRESS ON FILE




                                                                             Page 3340 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3341 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ IRIZARRY, MIRIAM          ADDRESS ON FILE
GONZALEZ IRIZARRY, NAIDA M         ADDRESS ON FILE
GONZALEZ IRIZARRY, NAYRANETH       ADDRESS ON FILE
GONZALEZ IRIZARRY, NAYRANETH       ADDRESS ON FILE
GONZALEZ IRIZARRY, NORAIDA         ADDRESS ON FILE
Gonzalez Irizarry, Ovidio          ADDRESS ON FILE
GONZALEZ IRIZARRY, PABSI L.        ADDRESS ON FILE
GONZALEZ IRIZARRY, RICARDO         ADDRESS ON FILE
GONZALEZ IRIZARRY, SHEILA          ADDRESS ON FILE
GONZALEZ IRIZARRY, TAMARA          ADDRESS ON FILE
GONZALEZ IRIZARRY, TENN D          ADDRESS ON FILE
GONZALEZ IRIZARRY, VLADIMIR        ADDRESS ON FILE
GONZALEZ IRIZARRY, WALBERT R       ADDRESS ON FILE
GONZALEZ IRIZARRY, WANDA I         ADDRESS ON FILE
GONZALEZ IRIZARRY, WILKINS         ADDRESS ON FILE
GONZALEZ IRIZARRY, WILMER          ADDRESS ON FILE
GONZALEZ IRIZARRY, YAJAIRA         ADDRESS ON FILE
GONZALEZ IRZARRY, ABIGAIL          ADDRESS ON FILE
GONZALEZ ISAAC, MYRIAM             ADDRESS ON FILE
GONZALEZ ISAAC, SAMUEL             ADDRESS ON FILE
GONZALEZ ISAAC, ZULMA              ADDRESS ON FILE
GONZALEZ ISAAC, ZULMA L.           ADDRESS ON FILE
GONZALEZ ITURREGUI, ANA            ADDRESS ON FILE
GONZALEZ IZQUIERDO, BRUNILDA       ADDRESS ON FILE
GONZALEZ IZQUIERDO, DIMITRI        ADDRESS ON FILE
GONZALEZ IZQUIERDO, ELVIN          ADDRESS ON FILE
GONZALEZ IZQUIERDO, OMAR           ADDRESS ON FILE
GONZALEZ JACKSON, JOSHUA E         ADDRESS ON FILE
GONZALEZ JAIMAN, JUSTINA           ADDRESS ON FILE
GONZALEZ JAMISON, LAURA E.         ADDRESS ON FILE
GONZALEZ JAVIER, LUIS M            ADDRESS ON FILE
GONZALEZ JENSEN, KAREN             ADDRESS ON FILE
GONZALEZ JIMENEZ, CARLOS           ADDRESS ON FILE
GONZALEZ JIMENEZ, CARMEN E         ADDRESS ON FILE
GONZALEZ JIMENEZ, CARMEN N.        ADDRESS ON FILE
GONZALEZ JIMENEZ, D?OMAR L.        ADDRESS ON FILE
GONZALEZ JIMENEZ, DALILIH M        ADDRESS ON FILE
GONZALEZ JIMENEZ, ELIZABETH        ADDRESS ON FILE
GONZALEZ JIMENEZ, FRANCISCO        ADDRESS ON FILE
GONZALEZ JIMENEZ, FRANCISCO        ADDRESS ON FILE
GONZALEZ JIMENEZ, GABRIEL M        ADDRESS ON FILE
GONZALEZ JIMENEZ, GLORIVEE         ADDRESS ON FILE
GONZALEZ JIMENEZ, IRIS M           ADDRESS ON FILE
GONZALEZ JIMENEZ, JANDERY          ADDRESS ON FILE
GONZALEZ JIMENEZ, JANDERY          ADDRESS ON FILE
GONZALEZ JIMENEZ, JANDERY          ADDRESS ON FILE
GONZALEZ JIMENEZ, JAZMIN           ADDRESS ON FILE
GONZALEZ JIMENEZ, JOSE             ADDRESS ON FILE
GONZALEZ JIMENEZ, JOSE             ADDRESS ON FILE
GONZALEZ JIMENEZ, JOSE             ADDRESS ON FILE
GONZALEZ JIMENEZ, JOSE FERDINAND   ADDRESS ON FILE
GONZALEZ JIMENEZ, JOSE M           ADDRESS ON FILE
GONZALEZ JIMENEZ, JOSE M           ADDRESS ON FILE
GONZALEZ JIMENEZ, LINORYS          ADDRESS ON FILE
GONZALEZ JIMENEZ, LOURDES          ADDRESS ON FILE
GONZALEZ JIMENEZ, LOURDES J        ADDRESS ON FILE
GONZALEZ JIMENEZ, LUIS             ADDRESS ON FILE
GONZALEZ JIMENEZ, MARIA A.         ADDRESS ON FILE
GONZALEZ JIMENEZ, MARIA I.         ADDRESS ON FILE
GONZALEZ JIMENEZ, MARIANO          ADDRESS ON FILE




                                                                               Page 3341 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3342 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ JIMENEZ, MARIO            ADDRESS ON FILE
GONZALEZ JIMENEZ, MICHELLE M       ADDRESS ON FILE
GONZALEZ JIMENEZ, MIGUEL A.        ADDRESS ON FILE
GONZALEZ JIMENEZ, MYRTA S          ADDRESS ON FILE
GONZALEZ JIMENEZ, NIDIAN D         ADDRESS ON FILE
GONZALEZ JIMENEZ, RAFAEL           ADDRESS ON FILE
GONZALEZ JIMENEZ, RIGOBERTO        ADDRESS ON FILE
GONZALEZ JIMENEZ, SABRINA          ADDRESS ON FILE
GONZALEZ JIMENEZ, VICTOR ENRIQUE   ADDRESS ON FILE
GONZALEZ JIMENEZ, WILSON           ADDRESS ON FILE
GONZALEZ JIMENEZ, WILSON           ADDRESS ON FILE
GONZALEZ JIRAU, HAYDEE M           ADDRESS ON FILE
GONZALEZ JOORNET, RENATO           ADDRESS ON FILE
GONZALEZ JORDAN, FELIPE            ADDRESS ON FILE
GONZALEZ JORDAN, LUIS              ADDRESS ON FILE
GONZALEZ JORDAN, MICHELL           ADDRESS ON FILE
GONZALEZ JORDAN, MIGUEL A.         ADDRESS ON FILE
GONZALEZ JORGE, CARLOS             ADDRESS ON FILE
GONZALEZ JORGE, EUGENIO            ADDRESS ON FILE
GONZALEZ JORGE, EVELYN             ADDRESS ON FILE
GONZALEZ JORGE, MARLINE            ADDRESS ON FILE
GONZALEZ JORGE, MARLINE E.         ADDRESS ON FILE
GONZALEZ JORGE, MAYRA              ADDRESS ON FILE
GONZALEZ JORGE, YARITZA            ADDRESS ON FILE
GONZALEZ JOSE, ORLANDO             ADDRESS ON FILE
GONZALEZ JOUBERT, BRENDA           ADDRESS ON FILE
GONZALEZ JOUBERT, INGRID I         ADDRESS ON FILE
Gonzalez Journet, Renato           ADDRESS ON FILE
GONZALEZ JOVE MD, EDUARDO          ADDRESS ON FILE
Gonzalez Juarbe, Angel L           ADDRESS ON FILE
GONZALEZ JUARBE, CARLOS I.         ADDRESS ON FILE
GONZALEZ JUARBE, JESUS E           ADDRESS ON FILE
GONZALEZ JUARBE, JUAN              ADDRESS ON FILE
GONZALEZ JUARBE, MARIA M           ADDRESS ON FILE
GONZALEZ JUARBE, SONIA N           ADDRESS ON FILE
GONZALEZ JUAREZ,RUBEN              ADDRESS ON FILE
GONZALEZ JUSINO, ANA               ADDRESS ON FILE
GONZALEZ JUSINO, IVAN              ADDRESS ON FILE
GONZALEZ JUSTINIANO, HECTOR L.     ADDRESS ON FILE
GONZALEZ JUSTINIANO, YARA          ADDRESS ON FILE
GONZALEZ KERCADO, ETHEL M          ADDRESS ON FILE
GONZALEZ KERKADO, ETHEL M          ADDRESS ON FILE
GONZALEZ KIERA, ANGELICA           ADDRESS ON FILE
GONZALEZ KRATCHEL, JAIME           ADDRESS ON FILE
GONZALEZ LA LUZ, BRENDA            ADDRESS ON FILE
GONZALEZ LA LUZ, GILBERTO          ADDRESS ON FILE
GONZALEZ LA LUZ, VANESSA           ADDRESS ON FILE
GONZALEZ LA TORRE, ELSA            ADDRESS ON FILE
GONZALEZ LA TORRE, GLADYS S        ADDRESS ON FILE
GONZALEZ LA TORRE, OVIDIO          ADDRESS ON FILE
GONZALEZ LABOY, BRENDA M           ADDRESS ON FILE
GONZALEZ LABOY, JESUS              ADDRESS ON FILE
Gonzalez Laboy, Lemuel             ADDRESS ON FILE
GONZALEZ LABOY, LIZANDRA           ADDRESS ON FILE
GONZALEZ LABOY, LUIS               ADDRESS ON FILE
GONZALEZ LABOY, MADELINE           ADDRESS ON FILE
GONZALEZ LABOY, MARIANO            ADDRESS ON FILE
GONZALEZ LABOY, MAYIGELLIS         ADDRESS ON FILE
GONZALEZ LABOY, MICHELLE           ADDRESS ON FILE
GONZALEZ LABOY, MIRNA L            ADDRESS ON FILE




                                                                               Page 3342 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3343 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ LABOY, YOLANDA IVELISSE   ADDRESS ON FILE
GONZALEZ LABRADOR, ALEX M          ADDRESS ON FILE
GONZALEZ LABRADOR, BRENDA L        ADDRESS ON FILE
GONZALEZ LACEN, MANUEL             ADDRESS ON FILE
GONZALEZ LACOMBA, JUAN J.          ADDRESS ON FILE
GONZALEZ LAFUENTE, FRANCES         ADDRESS ON FILE
GONZALEZ LAGARES, DILKA            ADDRESS ON FILE
GONZALEZ LAGARES, WILFREDO         ADDRESS ON FILE
GONZALEZ LAGOA, CARLA D            ADDRESS ON FILE
GONZALEZ LAGUER, CARMEN            ADDRESS ON FILE
GONZALEZ LAGUER, NILDA I           ADDRESS ON FILE
GONZALEZ LAGUER, WILLIAM           ADDRESS ON FILE
Gonzalez Lajara, Andrew            ADDRESS ON FILE
Gonzalez Lajara, Luis              ADDRESS ON FILE
GONZALEZ LAMAS, MARILIA            ADDRESS ON FILE
GONZALEZ LAMBERTY, CARLOS A        ADDRESS ON FILE
GONZALEZ LAMELA, MARIA DEL         ADDRESS ON FILE
GONZALEZ LAMOURT, MELISSA          ADDRESS ON FILE
GONZALEZ LAMOURT, MELISSA          ADDRESS ON FILE
GONZALEZ LANDESTOY, MARIA M.       ADDRESS ON FILE
GONZALEZ LANDOR, ZYLVIA E          ADDRESS ON FILE
GONZALEZ LANDRAU, ANGEL G          ADDRESS ON FILE
GONZALEZ LANDRAU, CAMILLE          ADDRESS ON FILE
GONZALEZ LANDRON, ALFREDO          ADDRESS ON FILE
GONZALEZ LANDRON, CARMEN M         ADDRESS ON FILE
GONZALEZ LANDRON, CLARISSA         ADDRESS ON FILE
GONZALEZ LANZA, GLENDA M.          ADDRESS ON FILE
GONZALEZ LANZA, ZOE A.             ADDRESS ON FILE
GONZALEZ LAPORTE, NANCY E.         ADDRESS ON FILE
Gonzalez Lara, Juan J              ADDRESS ON FILE
GONZALEZ LARRACUENTE, YEZMARI      ADDRESS ON FILE
GONZALEZ LARTIGUE, GLORIA          ADDRESS ON FILE
GONZALEZ LASSALLE, EDWIN D         ADDRESS ON FILE
GONZALEZ LASSALLE, LUZ A           ADDRESS ON FILE
GONZALEZ LASSALLE, WANDA           ADDRESS ON FILE
GONZALEZ LASTRA, MAYLIN            ADDRESS ON FILE
GONZALEZ LATIMER, OSCAR EUGENIO    ADDRESS ON FILE
GONZALEZ LATORRE, JUAN A.          ADDRESS ON FILE
GONZALEZ LATORRE, LUIS A           ADDRESS ON FILE
Gonzalez Latorre, Pedro A          ADDRESS ON FILE
GONZALEZ LATORRE, SUJEIL           ADDRESS ON FILE
GONZALEZ LATORRE, VICTOR           ADDRESS ON FILE
GONZALEZ LAUGIER, MIGUEL           ADDRESS ON FILE
GONZALEZ LAUREANO, VANESSA         ADDRESS ON FILE
GONZALEZ LEBRON, ANTHONY           ADDRESS ON FILE
GONZALEZ LEBRON, CYNTHIA           ADDRESS ON FILE
Gonzalez Lebron, Enid              ADDRESS ON FILE
GONZALEZ LEBRON, JAVIER            ADDRESS ON FILE
GONZALEZ LEBRON, JEANICE           ADDRESS ON FILE
GONZALEZ LEBRON, JOSE L.           ADDRESS ON FILE
Gonzalez Lebron, Juan              ADDRESS ON FILE
GONZALEZ LEBRON, JUAN M            ADDRESS ON FILE
GONZALEZ LEBRON, LIZ               ADDRESS ON FILE
GONZALEZ LEBRON, LIZ O             ADDRESS ON FILE
GONZALEZ LEBRON, LOURDES L         ADDRESS ON FILE
GONZALEZ LEBRON, LUIS              ADDRESS ON FILE
GONZALEZ LEBRON, NELIDA            ADDRESS ON FILE
GONZALEZ LEBRON, OMARIELIZ         ADDRESS ON FILE
GONZALEZ LEBRON, PEDRO             ADDRESS ON FILE
Gonzalez Lebron, Reinaldo          ADDRESS ON FILE




                                                                               Page 3343 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3344 of 3500
                                                                                17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                    Address1                      Address2                                  Address3   Address4   City         State   PostalCode   Country
GONZALEZ LEBRON, RICHARD         ADDRESS ON FILE
GONZALEZ LEBRON, RICHARD         ADDRESS ON FILE
GONZALEZ LEBRON, RUTH            ADDRESS ON FILE
GONZALEZ LEBRON, RUTH            ADDRESS ON FILE
GONZALEZ LEBRON, YELITZA         ADDRESS ON FILE
GONZALEZ LEBRON, YELITZA         ADDRESS ON FILE
GONZALEZ LEDESMA, ANA            ADDRESS ON FILE
GONZALEZ LEDUC, ANIBAL           ADDRESS ON FILE
GONZALEZ LEGARRETA, XAVIER I     ADDRESS ON FILE
GONZALEZ LEON, ARIEL             ADDRESS ON FILE
GONZALEZ LEON, CARLOS            ADDRESS ON FILE
GONZALEZ LEON, DELVIS            ADDRESS ON FILE
GONZALEZ LEON, EFRAIN            ADDRESS ON FILE
GONZALEZ LEON, JOHN              ADDRESS ON FILE
Gonzalez Leon, Luis A            ADDRESS ON FILE
GONZALEZ LEON, MAGDA             ADDRESS ON FILE
GONZALEZ LEON, MAGDA R.          ADDRESS ON FILE
GONZALEZ LEON, MIGUEL            ADDRESS ON FILE
GONZALEZ LEON, ORLANDO           ADDRESS ON FILE
Gonzalez Lespier, Luz E          ADDRESS ON FILE
GONZALEZ LEVY, CARMEN B          ADDRESS ON FILE
GONZALEZ LEVY, ROSARIO DEL       ADDRESS ON FILE
GONZALEZ LG SERVICES , LLC       URB COUNTRY CLUB              928 CALLE TAULADINA                                             SAN JUAN     PR      00924‐3372
GONZALEZ LIBOY, JOSE A.          ADDRESS ON FILE
GONZALEZ LIJOSO, LILIANA         ADDRESS ON FILE
GONZALEZ LIND, ANETTE            ADDRESS ON FILE
GONZALEZ LIND, MAYRA             ADDRESS ON FILE
GONZALEZ LIND, MAYRA             ADDRESS ON FILE
GONZALEZ LIND, PEDRO A.          ADDRESS ON FILE
GONZALEZ LISBOA, ANA H.          ADDRESS ON FILE
GONZALEZ LISOJO, RAMSES          ADDRESS ON FILE
GONZALEZ LIZARDI, ENRIQUE        ADDRESS ON FILE
GONZALEZ LIZARDI, GLADYS         ADDRESS ON FILE
GONZALEZ LLANES, CARMEN L        ADDRESS ON FILE
GONZALEZ LLANES, LUIS M.         ADDRESS ON FILE
GONZALEZ LLANOS, MIGUEL          ADDRESS ON FILE
GONZALEZ LLERA, DENISE           ADDRESS ON FILE
GONZALEZ LLERA, MELINDA          ADDRESS ON FILE
Gonzalez Llompart, Manuel A      ADDRESS ON FILE
GONZALEZ LLOMPART, ROBERTO       ADDRESS ON FILE
GONZALEZ LLORENS, WANDA          ADDRESS ON FILE
GONZALEZ LOARTE, MELVIN          ADDRESS ON FILE
GONZALEZ LONGA, CARMEN           ADDRESS ON FILE
GONZALEZ LOPERENA, AIDA          ADDRESS ON FILE
GONZALEZ LOPERENA, ANA C         ADDRESS ON FILE
GONZALEZ LOPERENA, CARMEN M      ADDRESS ON FILE
GONZALEZ LOPERENA, EFRAIN        ADDRESS ON FILE
GONZALEZ LOPERENA, HECTOR        ADDRESS ON FILE
GONZALEZ LOPERENA, JAIME         ADDRESS ON FILE
GONZALEZ LOPERENA, JORGE         ADDRESS ON FILE
GONZALEZ LOPERENA, LUIS O.       ADDRESS ON FILE
GONZALEZ LOPERENA, MARITZA       ADDRESS ON FILE
GONZÁLEZ LÓPEZ AIRA G. Y OTROS   LCDO. VICTOR BERMUDEZ PEREZ   VILLA ANDALUCIA A‐22 CALLE RONDA                                SAN JUAN     PR      00926
GONZALEZ LOPEZ DE PERE, JUDITH   ADDRESS ON FILE
GONZALEZ LOPEZ, ABIGAIL          ADDRESS ON FILE
GONZALEZ LOPEZ, AIDA L           ADDRESS ON FILE
Gonzalez Lopez, Aira G           ADDRESS ON FILE
GONZALEZ LOPEZ, ALBERTO I        ADDRESS ON FILE
GONZALEZ LOPEZ, ALEX R.          ADDRESS ON FILE
GONZALEZ LOPEZ, ALEXANDRO        ADDRESS ON FILE




                                                                                          Page 3344 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3345 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ LOPEZ, ANA           ADDRESS ON FILE
GONZALEZ LOPEZ, ANA E.        ADDRESS ON FILE
GONZALEZ LOPEZ, ANGEL         ADDRESS ON FILE
GONZALEZ LOPEZ, ANGEL         ADDRESS ON FILE
GONZALEZ LOPEZ, ANGEL         ADDRESS ON FILE
GONZALEZ LOPEZ, ANGEL         ADDRESS ON FILE
GONZALEZ LOPEZ, ANGEL D       ADDRESS ON FILE
GONZALEZ LOPEZ, ANGEL D       ADDRESS ON FILE
GONZALEZ LOPEZ, ARACELIS      ADDRESS ON FILE
GONZALEZ LOPEZ, ARELIS        ADDRESS ON FILE
GONZALEZ LOPEZ, AUREA L       ADDRESS ON FILE
GONZALEZ LOPEZ, BELKIS        ADDRESS ON FILE
GONZALEZ LOPEZ, BENJAMIN      ADDRESS ON FILE
GONZALEZ LOPEZ, BENNY         ADDRESS ON FILE
GONZALEZ LOPEZ, CARLOS        ADDRESS ON FILE
Gonzalez Lopez, Carlos M      ADDRESS ON FILE
GONZALEZ LOPEZ, CARMELO       ADDRESS ON FILE
GONZALEZ LOPEZ, CARMELO       ADDRESS ON FILE
GONZALEZ LOPEZ, CARMEN        ADDRESS ON FILE
Gonzalez Lopez, Carmen E      ADDRESS ON FILE
GONZALEZ LOPEZ, CARMEN M      ADDRESS ON FILE
GONZALEZ LOPEZ, CARMEN T      ADDRESS ON FILE
GONZALEZ LOPEZ, CASSANDRA L   ADDRESS ON FILE
GONZALEZ LOPEZ, CHALSIE       ADDRESS ON FILE
GONZALEZ LOPEZ, CHRISTIE      ADDRESS ON FILE
GONZALEZ LOPEZ, CLARIBELL     ADDRESS ON FILE
GONZALEZ LOPEZ, CRISTIAN      ADDRESS ON FILE
GONZALEZ LOPEZ, CRISTINA      ADDRESS ON FILE
GONZALEZ LOPEZ, CYNTHIA I     ADDRESS ON FILE
GONZALEZ LOPEZ, DAISY         ADDRESS ON FILE
GONZALEZ LOPEZ, DAMIAN        ADDRESS ON FILE
GONZALEZ LOPEZ, DANETTE       ADDRESS ON FILE
GONZALEZ LOPEZ, DAVID         ADDRESS ON FILE
GONZALEZ LOPEZ, DEBORAH       ADDRESS ON FILE
GONZALEZ LOPEZ, DENISE        ADDRESS ON FILE
GONZALEZ LOPEZ, DENISSE M     ADDRESS ON FILE
GONZALEZ LOPEZ, EDDIE E       ADDRESS ON FILE
Gonzalez Lopez, Edgar         ADDRESS ON FILE
GONZALEZ LOPEZ, EDLYN         ADDRESS ON FILE
GONZALEZ LOPEZ, EDNA I        ADDRESS ON FILE
GONZALEZ LOPEZ, EDNA R.       ADDRESS ON FILE
GONZALEZ LOPEZ, EDNA R.       ADDRESS ON FILE
GONZALEZ LOPEZ, EDUARDO       ADDRESS ON FILE
GONZALEZ LOPEZ, EDWARDO       ADDRESS ON FILE
GONZALEZ LOPEZ, ELALIS C      ADDRESS ON FILE
GONZALEZ LOPEZ, ENRIQUE       ADDRESS ON FILE
GONZALEZ LOPEZ, ERNESTO       ADDRESS ON FILE
GONZALEZ LOPEZ, EUGENIO       ADDRESS ON FILE
GONZALEZ LOPEZ, FELIX         ADDRESS ON FILE
GONZALEZ LOPEZ, FRANCES A     ADDRESS ON FILE
GONZALEZ LOPEZ, FREDDIE L.    ADDRESS ON FILE
GONZALEZ LOPEZ, GILBERTO      ADDRESS ON FILE
GONZALEZ LOPEZ, GILBERTO M.   ADDRESS ON FILE
GONZALEZ LOPEZ, GLORIA M      ADDRESS ON FILE
GONZALEZ LOPEZ, GLORIMAR      ADDRESS ON FILE
GONZALEZ LOPEZ, GLORIMAR      ADDRESS ON FILE
GONZALEZ LOPEZ, HECTOR        ADDRESS ON FILE
GONZALEZ LOPEZ, HECTOR        ADDRESS ON FILE
GONZALEZ LOPEZ, HERIBERO      ADDRESS ON FILE
GONZALEZ LOPEZ, HERIBERTO     ADDRESS ON FILE




                                                                          Page 3345 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3346 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ LOPEZ, IDALIZ         ADDRESS ON FILE
GONZALEZ LOPEZ, INES           ADDRESS ON FILE
GONZALEZ LOPEZ, IRMA E         ADDRESS ON FILE
GONZALEZ LOPEZ, ISABEL         ADDRESS ON FILE
GONZALEZ LOPEZ, ISMAEL         ADDRESS ON FILE
GONZALEZ LOPEZ, ISRAEL         ADDRESS ON FILE
GONZALEZ LOPEZ, JAIME          ADDRESS ON FILE
GONZALEZ LOPEZ, JANETTE        ADDRESS ON FILE
GONZALEZ LOPEZ, JANNETTE       ADDRESS ON FILE
GONZALEZ LOPEZ, JEFFREY        ADDRESS ON FILE
GONZALEZ LOPEZ, JOEL           ADDRESS ON FILE
GONZALEZ LOPEZ, JOHAN          ADDRESS ON FILE
GONZALEZ LOPEZ, JOHANNA        ADDRESS ON FILE
GONZALEZ LOPEZ, JOHANNA        ADDRESS ON FILE
GONZALEZ LOPEZ, JORGE          ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE           ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE           ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE           ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE           ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE A         ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE A.        ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE E         ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE E         ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE H.        ADDRESS ON FILE
GONZALEZ LOPEZ, JOSE L.        ADDRESS ON FILE
GONZALEZ LOPEZ, JUAN F.        ADDRESS ON FILE
GONZALEZ LOPEZ, JUAN JOSE      ADDRESS ON FILE
GONZALEZ LOPEZ, JUDITH         ADDRESS ON FILE
GONZALEZ LOPEZ, JUDITH         ADDRESS ON FILE
GONZALEZ LOPEZ, JULIO A        ADDRESS ON FILE
GONZALEZ LOPEZ, JULIO A.       ADDRESS ON FILE
GONZALEZ LOPEZ, KARINA         ADDRESS ON FILE
GONZALEZ LOPEZ, KEVIN          ADDRESS ON FILE
GONZALEZ LOPEZ, LEE S          ADDRESS ON FILE
GONZALEZ LOPEZ, LEMUEL         ADDRESS ON FILE
GONZALEZ LOPEZ, LEONARDO       ADDRESS ON FILE
GONZALEZ LOPEZ, LETICIA        ADDRESS ON FILE
GONZALEZ LOPEZ, LILLIAM        ADDRESS ON FILE
GONZALEZ LOPEZ, LINDA          ADDRESS ON FILE
GONZALEZ LOPEZ, LIZ            ADDRESS ON FILE
GONZALEZ LOPEZ, LLAMAY         ADDRESS ON FILE
GONZALEZ LOPEZ, LLAMAY         ADDRESS ON FILE
GONZALEZ LOPEZ, LUCIA          ADDRESS ON FILE
GONZALEZ LOPEZ, LUIS           ADDRESS ON FILE
GONZALEZ LOPEZ, LUIS           ADDRESS ON FILE
GONZALEZ LOPEZ, LUIS A         ADDRESS ON FILE
Gonzalez Lopez, Luis D         ADDRESS ON FILE
GONZALEZ LOPEZ, LUIS G         ADDRESS ON FILE
GONZALEZ LOPEZ, LUZ            ADDRESS ON FILE
GONZALEZ LOPEZ, LUZ            ADDRESS ON FILE
GONZALEZ LOPEZ, LYDIA I        ADDRESS ON FILE
GONZALEZ LOPEZ, MANUEL         ADDRESS ON FILE
GONZALEZ LOPEZ, MANUEL         ADDRESS ON FILE
GONZALEZ LOPEZ, MANUEL         ADDRESS ON FILE
GONZALEZ LOPEZ, MARIA I        ADDRESS ON FILE
GONZALEZ LOPEZ, MARIA M        ADDRESS ON FILE
GONZALEZ LOPEZ, MARIA T        ADDRESS ON FILE
GONZALEZ LOPEZ, MARIA TERESA   ADDRESS ON FILE
GONZALEZ LOPEZ, MARIA V        ADDRESS ON FILE
GONZALEZ LOPEZ, MARILYN        ADDRESS ON FILE




                                                                           Page 3346 of 10031
                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                The Commonwealth of Puerto Rico
                                                                                                                                    Desc:
                                             Exhibit A-1 - Creditor     Matrix
                                                                  Case No.              Page 3347 of 3500
                                                                           17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name               Address1                         Address2                           Address3   Address4   City            State   PostalCode   Country
GONZALEZ LOPEZ, MARITZA     ADDRESS ON FILE
GONZALEZ LOPEZ, MARY        ADDRESS ON FILE
GONZALEZ LOPEZ, MELVIN      ADDRESS ON FILE
GONZALEZ LOPEZ, MERCEDES    ADDRESS ON FILE
GONZALEZ LOPEZ, MERCIADER   ADDRESS ON FILE
GONZALEZ LOPEZ, MIGDALIA    ADDRESS ON FILE
GONZALEZ LOPEZ, MIGDALIA    ADDRESS ON FILE
GONZALEZ LOPEZ, MIGUEL      ADDRESS ON FILE
GONZALEZ LOPEZ, MIGUEL A.   ADDRESS ON FILE
GONZALEZ LOPEZ, MIGUEL A.   ADDRESS ON FILE
GONZALEZ LOPEZ, MILCA O.    ADDRESS ON FILE
GONZALEZ LOPEZ, MINERVA     ADDRESS ON FILE
GONZALEZ LOPEZ, MIRIAM      ADDRESS ON FILE
GONZALEZ LOPEZ, MIRIAM L.   ADDRESS ON FILE
GONZALEZ LOPEZ, MYLAIDA     ADDRESS ON FILE
GONZALEZ LOPEZ, NANCY       ADDRESS ON FILE
GONZALEZ LOPEZ, NANCY       ADDRESS ON FILE
GONZALEZ LOPEZ, NATACHA     ADDRESS ON FILE
GONZALEZ LOPEZ, NECTOR      ADDRESS ON FILE
Gonzalez Lopez, Nelson      ADDRESS ON FILE
GONZÁLEZ LÓPEZ, NELSON      LCDO. ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                               HORMIQUEROS     PR      00660‐0873
GONZÁLEZ LÓPEZ, NELSON      LIC. NORBERTO COLON ALVARADO     46 CALLE CASTILLO                                        PONCE           PR      00731
GONZALEZ LOPEZ, NIVIA       ADDRESS ON FILE
GONZALEZ LOPEZ, NIVIA B.    ADDRESS ON FILE
GONZALEZ LOPEZ, NOLVA J     ADDRESS ON FILE
GONZALEZ LOPEZ, NORMA       ADDRESS ON FILE
GONZALEZ LOPEZ, ODILIO      ADDRESS ON FILE
GONZALEZ LOPEZ, OLGA        ADDRESS ON FILE
GONZALEZ LOPEZ, OMAYRA      ADDRESS ON FILE
GONZALEZ LOPEZ, OMAYRA      ADDRESS ON FILE
GONZALEZ LOPEZ, OMAYRA      ADDRESS ON FILE
GONZALEZ LOPEZ, OMAYRA      ADDRESS ON FILE
GONZALEZ LOPEZ, OSIRIS      ADDRESS ON FILE
GONZALEZ LOPEZ, OTONIEL     ADDRESS ON FILE
GONZALEZ LOPEZ, PABLO F     ADDRESS ON FILE
GONZALEZ LOPEZ, PAOLA       ADDRESS ON FILE
GONZALEZ LOPEZ, PEDRO       ADDRESS ON FILE
GONZALEZ LOPEZ, RAFAEL      ADDRESS ON FILE
GONZALEZ LOPEZ, RAFAEL      ADDRESS ON FILE
Gonzalez Lopez, Raul A      ADDRESS ON FILE
GONZALEZ LOPEZ, ROSA H      ADDRESS ON FILE
GONZALEZ LOPEZ, SAHIRA      ADDRESS ON FILE
GONZALEZ LOPEZ, SANDRA J    ADDRESS ON FILE
GONZALEZ LOPEZ, SANTOS R.   ADDRESS ON FILE
GONZALEZ LOPEZ, SHEILA      ADDRESS ON FILE
GONZALEZ LOPEZ, SYLVIA      ADDRESS ON FILE
GONZALEZ LOPEZ, TERESA      ADDRESS ON FILE
GONZALEZ LOPEZ, TERESITA    ADDRESS ON FILE
GONZALEZ LOPEZ, URIEL       ADDRESS ON FILE
GONZALEZ LOPEZ, VANESSA     ADDRESS ON FILE
GONZALEZ LOPEZ, VICENTE     ADDRESS ON FILE
GONZALEZ LOPEZ, VICTOR      ADDRESS ON FILE
GONZALEZ LOPEZ, VIRGINIA    ADDRESS ON FILE
GONZALEZ LOPEZ, VIRGINIA    ADDRESS ON FILE
GONZALEZ LOPEZ, VIRGINIA    ADDRESS ON FILE
GONZALEZ LOPEZ, WANDA I     ADDRESS ON FILE
GONZALEZ LOPEZ, WANDA I.    ADDRESS ON FILE
GONZALEZ LOPEZ, WANDA L.    ADDRESS ON FILE
GONZALEZ LOPEZ, WILFREDO    ADDRESS ON FILE
GONZALEZ LOPEZ, WILFREDO    ADDRESS ON FILE




                                                                                 Page 3347 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3348 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ LOPEZ, WILLIAM          ADDRESS ON FILE
GONZALEZ LOPEZ, WILNELIA         ADDRESS ON FILE
GONZALEZ LOPEZ, YADIRA           ADDRESS ON FILE
GONZALEZ LOPEZ, YAITZA           ADDRESS ON FILE
GONZALEZ LOPEZ, YESENIA          ADDRESS ON FILE
GONZALEZ LOPEZ, ZORALIS          ADDRESS ON FILE
GONZALEZ LOPEZ,DAVID             ADDRESS ON FILE
GONZALEZ LOPEZ,MYRNA M.          ADDRESS ON FILE
Gonzalez Lora, Julio J           ADDRESS ON FILE
GONZALEZ LORA, RUBEN             ADDRESS ON FILE
GONZALEZ LORENZANA, RAFAEL       ADDRESS ON FILE
GONZALEZ LORENZO, ANA            ADDRESS ON FILE
GONZALEZ LORENZO, CARLOS J.      ADDRESS ON FILE
GONZALEZ LORENZO, EDWIN          ADDRESS ON FILE
GONZALEZ LORENZO, JOHANNA        ADDRESS ON FILE
GONZALEZ LORENZO, JONATHAN       ADDRESS ON FILE
GONZALEZ LORENZO, JUAN           ADDRESS ON FILE
Gonzalez Lorenzo, Juan Carlos    ADDRESS ON FILE
GONZALEZ LORENZO, KATIA          ADDRESS ON FILE
GONZALEZ LORENZO, LESLIE A       ADDRESS ON FILE
GONZALEZ LORENZO, LIZBETH        ADDRESS ON FILE
GONZALEZ LORENZO, SAUL           ADDRESS ON FILE
GONZALEZ LORENZO, YAMILLET       ADDRESS ON FILE
GONZALEZ LOZADA, ASHLEY          ADDRESS ON FILE
GONZALEZ LOZADA, DANNY ANTONIO   ADDRESS ON FILE
Gonzalez Lozada, Luz E           ADDRESS ON FILE
GONZALEZ LOZADA, MICHELLE        ADDRESS ON FILE
GONZALEZ LOZADA, PRIMITIVO       ADDRESS ON FILE
GONZALEZ LOZADA, RAFAEL          ADDRESS ON FILE
GONZALEZ LUCCA, MADYS M          ADDRESS ON FILE
GONZALEZ LUCCA, TANIA            ADDRESS ON FILE
GONZALEZ LUCENA, ABNER           ADDRESS ON FILE
Gonzalez Luciano, Arlene         ADDRESS ON FILE
GONZALEZ LUCIANO, EMMANUEL       ADDRESS ON FILE
GONZALEZ LUCIANO, GLORIA         ADDRESS ON FILE
Gonzalez Luciano, Isabel         ADDRESS ON FILE
GONZALEZ LUCIANO, JESUS J        ADDRESS ON FILE
GONZALEZ LUCIANO, JOSE           ADDRESS ON FILE
GONZALEZ LUCIANO, JOSE           ADDRESS ON FILE
Gonzalez Luciano, Jose J         ADDRESS ON FILE
GONZALEZ LUCIANO, LIZ            ADDRESS ON FILE
GONZALEZ LUCIANO, MARIA D.       ADDRESS ON FILE
GONZALEZ LUCIANO, MISAEL         ADDRESS ON FILE
GONZALEZ LUCIANO, VERONICA       ADDRESS ON FILE
GONZALEZ LUGO, ADA I             ADDRESS ON FILE
GONZALEZ LUGO, ADELISA           ADDRESS ON FILE
GONZALEZ LUGO, AGNES J           ADDRESS ON FILE
GONZALEZ LUGO, BERNARDINO        ADDRESS ON FILE
GONZALEZ LUGO, DIEGO             ADDRESS ON FILE
GONZALEZ LUGO, EDGARD            ADDRESS ON FILE
Gonzalez Lugo, Edgardo           ADDRESS ON FILE
GONZALEZ LUGO, ERNESTO           ADDRESS ON FILE
GONZALEZ LUGO, GLORIA E          ADDRESS ON FILE
GONZALEZ LUGO, ILEANNETT         ADDRESS ON FILE
GONZALEZ LUGO, JENNIFER          ADDRESS ON FILE
GONZALEZ LUGO, JIMMY             ADDRESS ON FILE
GONZALEZ LUGO, JIMMY             ADDRESS ON FILE
GONZALEZ LUGO, JOSE              ADDRESS ON FILE
GONZALEZ LUGO, JOSE L.           ADDRESS ON FILE
GONZALEZ LUGO, JULIO             ADDRESS ON FILE




                                                                             Page 3348 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3349 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ LUGO, LUIS A                ADDRESS ON FILE
GONZALEZ LUGO, LUZ V                 ADDRESS ON FILE
GONZALEZ LUGO, MARGARITA             ADDRESS ON FILE
GONZALEZ LUGO, MIGDALIA              ADDRESS ON FILE
GONZALEZ LUGO, NILSA M               ADDRESS ON FILE
GONZALEZ LUGO, RAMON A               ADDRESS ON FILE
GONZALEZ LUGO, WILLIAM               ADDRESS ON FILE
GONZALEZ LUGO, ZULEIKA               ADDRESS ON FILE
GONZALEZ LUNA, ANDRES                ADDRESS ON FILE
GONZALEZ LUNA, CARLOS                ADDRESS ON FILE
GONZALEZ LUNA, JAYSON                ADDRESS ON FILE
GONZALEZ LUNA, JUAN                  ADDRESS ON FILE
GONZALEZ LUNA, LIZA D.               ADDRESS ON FILE
GONZALEZ LUNA, LUIS A                ADDRESS ON FILE
Gonzalez Luna, Ruben E               ADDRESS ON FILE
GONZALEZ LUQUIS, TOMAS               ADDRESS ON FILE
GONZALEZ MACEIRA, RICARDO            ADDRESS ON FILE
GONZALEZ MACHADO & ROIG LLC          PO BOX 193077                                                                    SAN JUAN     PR      00919‐3077
GONZALEZ MACHADO, JULIO              ADDRESS ON FILE
GONZALEZ MACHADO, LARAZAMY           ADDRESS ON FILE
GONZALEZ MACHADO, MARISOL            ADDRESS ON FILE
GONZALEZ MACHADO, MELISSA            ADDRESS ON FILE
GONZALEZ MACHADO, STEVEN             ADDRESS ON FILE
GONZALEZ MACHADO, VANESSA            ADDRESS ON FILE
GONZALEZ MACHICOTE, NAYTZA I         ADDRESS ON FILE
GONZALEZ MACHIN, BERTHA B            ADDRESS ON FILE
GONZALEZ MADERA, ESPERANZA           ADDRESS ON FILE
GONZALEZ MADERA, HECTOR              ADDRESS ON FILE
GONZALEZ MADERA, JOSUE               ADDRESS ON FILE
GONZALEZ MADRIZ, JOSE                ADDRESS ON FILE
GONZALEZ MAGRANER, LISSETTE          ADDRESS ON FILE
Gonzalez Maisonave, Luis A           ADDRESS ON FILE
GONZALEZ MAISONET, ANDREA            ADDRESS ON FILE
GONZALEZ MAISONET, DANIEL            ADDRESS ON FILE
GONZALEZ MAISONET, DANIEL            ADDRESS ON FILE
GONZALEZ MAISONET, EDUARDO           ADDRESS ON FILE
GONZALEZ MAISONET, FLOR M            ADDRESS ON FILE
GONZALEZ MAIZONET, ANGEL             ADDRESS ON FILE
GONZALEZ MALABET, GLADYS IVETTE      ADDRESS ON FILE
Gonzalez Malave, Alejandro           ADDRESS ON FILE
GONZALEZ MALAVE, ANA                 ADDRESS ON FILE
GONZALEZ MALAVE, ANA M               ADDRESS ON FILE
GONZALEZ MALAVE, CARMEN E            ADDRESS ON FILE
GONZALEZ MALAVE, ESTHER              ADDRESS ON FILE
GONZALEZ MALAVE, GABRIEL             ADDRESS ON FILE
GONZALEZ MALAVE, JOSE A              ADDRESS ON FILE
GONZALEZ MALAVE, LUIS                ADDRESS ON FILE
GONZALEZ MALAVE, MARIA A             ADDRESS ON FILE
GONZALEZ MALAVE, NICOLE              ADDRESS ON FILE
GONZALEZ MALAVE, SARA                ADDRESS ON FILE
Gonzalez Malave, Teresita            ADDRESS ON FILE
GONZALEZ MALAVE, WANDA               ADDRESS ON FILE
GONZALEZ MALDONAD, EDDA ENID         ADDRESS ON FILE
GONZALEZ MALDONADO & TORRES ROSADO   ADDRESS ON FILE
GONZALEZ MALDONADO, ADRIANA          ADDRESS ON FILE
GONZALEZ MALDONADO, AIDA             ADDRESS ON FILE
GONZALEZ MALDONADO, ALICIA           ADDRESS ON FILE
GONZALEZ MALDONADO, ANA              ADDRESS ON FILE
GONZALEZ MALDONADO, ANDRES           ADDRESS ON FILE
GONZALEZ MALDONADO, ANGEL            ADDRESS ON FILE




                                                                                 Page 3349 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3350 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Maldonado, Angel J.      ADDRESS ON FILE
GONZALEZ MALDONADO, ANGEL M.      ADDRESS ON FILE
GONZALEZ MALDONADO, ANIBAL        ADDRESS ON FILE
GONZALEZ MALDONADO, BELINDA       ADDRESS ON FILE
GONZALEZ MALDONADO, BIEVENIDA     ADDRESS ON FILE
GONZALEZ MALDONADO, CARLOS        ADDRESS ON FILE
GONZALEZ MALDONADO, CARLOS        ADDRESS ON FILE
GONZALEZ MALDONADO, CARLOS P      ADDRESS ON FILE
GONZALEZ MALDONADO, CARMEN        ADDRESS ON FILE
GONZALEZ MALDONADO, CARMEN A      ADDRESS ON FILE
GONZALEZ MALDONADO, CARMEN M      ADDRESS ON FILE
GONZALEZ MALDONADO, CHRISTINE     ADDRESS ON FILE
GONZALEZ MALDONADO, CYNTHIA       ADDRESS ON FILE
GONZALEZ MALDONADO, DAGMAR        ADDRESS ON FILE
GONZALEZ MALDONADO, DIANE         ADDRESS ON FILE
GONZALEZ MALDONADO, EMILIANO      ADDRESS ON FILE
GONZALEZ MALDONADO, ERICK         ADDRESS ON FILE
GONZALEZ MALDONADO, ERIKA         ADDRESS ON FILE
GONZALEZ MALDONADO, ESTEFAN       ADDRESS ON FILE
GONZALEZ MALDONADO, ESTEFAN       ADDRESS ON FILE
GONZALEZ MALDONADO, FRANCISCO     ADDRESS ON FILE
GONZALEZ MALDONADO, FRANCISCO     ADDRESS ON FILE
Gonzalez Maldonado, Francisco J   ADDRESS ON FILE
GONZALEZ MALDONADO, GABRIEL       ADDRESS ON FILE
GONZALEZ MALDONADO, GERARDO       ADDRESS ON FILE
GONZALEZ MALDONADO, GLADYS        ADDRESS ON FILE
GONZALEZ MALDONADO, GLADYS        ADDRESS ON FILE
GONZALEZ MALDONADO, HECTOR        ADDRESS ON FILE
GONZALEZ MALDONADO, HECTOR        ADDRESS ON FILE
GONZALEZ MALDONADO, HECTOR R      ADDRESS ON FILE
GONZALEZ MALDONADO, ISMAEL        ADDRESS ON FILE
GONZALEZ MALDONADO, JAIME         ADDRESS ON FILE
GONZALEZ MALDONADO, JANNETTE      ADDRESS ON FILE
GONZALEZ MALDONADO, JAVIER        ADDRESS ON FILE
GONZALEZ MALDONADO, JORGE         ADDRESS ON FILE
GONZALEZ MALDONADO, JORGE         ADDRESS ON FILE
GONZALEZ MALDONADO, JOSECLYN E    ADDRESS ON FILE
GONZALEZ MALDONADO, JOSIEBETH     ADDRESS ON FILE
GONZALEZ MALDONADO, JUAN          ADDRESS ON FILE
GONZALEZ MALDONADO, JUAN          ADDRESS ON FILE
GONZALEZ MALDONADO, JUAN M        ADDRESS ON FILE
Gonzalez Maldonado, Juan M.       ADDRESS ON FILE
GONZALEZ MALDONADO, JULIO         ADDRESS ON FILE
GONZALEZ MALDONADO, LEONARDO      ADDRESS ON FILE
GONZALEZ MALDONADO, LETICIA       ADDRESS ON FILE
GONZALEZ MALDONADO, LORNA         ADDRESS ON FILE
Gonzalez Maldonado, Lucecita      ADDRESS ON FILE
GONZALEZ MALDONADO, LUIS          ADDRESS ON FILE
GONZALEZ MALDONADO, MADELINE      ADDRESS ON FILE
GONZALEZ MALDONADO, MARIA         ADDRESS ON FILE
GONZALEZ MALDONADO, MARIA         ADDRESS ON FILE
GONZALEZ MALDONADO, MARIA         ADDRESS ON FILE
GONZALEZ MALDONADO, MARIA E.      ADDRESS ON FILE
GONZALEZ MALDONADO, MARIA L       ADDRESS ON FILE
GONZALEZ MALDONADO, MARISEL       ADDRESS ON FILE
GONZALEZ MALDONADO, MARITZA       ADDRESS ON FILE
GONZALEZ MALDONADO, MARTINA       ADDRESS ON FILE
GONZALEZ MALDONADO, MARVIN        ADDRESS ON FILE
GONZALEZ MALDONADO, MAYRA         ADDRESS ON FILE
GONZALEZ MALDONADO, MELISA        ADDRESS ON FILE




                                                                              Page 3350 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3351 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                       Address1                   Address2                                Address3   Address4   City      State   PostalCode   Country
GONZALEZ MALDONADO, MELVIN          ADDRESS ON FILE
GONZALEZ MALDONADO, MIGDALIA        ADDRESS ON FILE
Gonzalez Maldonado, Mike            ADDRESS ON FILE
GONZALEZ MALDONADO, MYRIAM          ADDRESS ON FILE
GONZALEZ MALDONADO, NAYDA           ADDRESS ON FILE
GONZALEZ MALDONADO, NELSON          ADDRESS ON FILE
GONZALEZ MALDONADO, NILDA           ADDRESS ON FILE
GONZALEZ MALDONADO, NILDA R         ADDRESS ON FILE
GONZALEZ MALDONADO, NORBERTO        ADDRESS ON FILE
GONZALEZ MALDONADO, ONEIDA          ADDRESS ON FILE
GONZALEZ MALDONADO, ORLANDO         ADDRESS ON FILE
Gonzalez Maldonado, Pedro J         ADDRESS ON FILE
GONZALEZ MALDONADO, PROVIDENCIA     ADDRESS ON FILE
GONZALEZ MALDONADO, RAUL            ADDRESS ON FILE
GONZALEZ MALDONADO, REINALDO        ADDRESS ON FILE
GONZALEZ MALDONADO, ROBERTO         ADDRESS ON FILE
GONZALEZ MALDONADO, SANDRA EVELYN   ADDRESS ON FILE
GONZALEZ MALDONADO, SONIA           ADDRESS ON FILE
GONZALEZ MALDONADO, SONIA           ADDRESS ON FILE
GONZALEZ MALDONADO, SORAYA          ADDRESS ON FILE
GONZALEZ MALDONADO, SORAYA          ADDRESS ON FILE
GONZALEZ MALDONADO, TANYA           ADDRESS ON FILE
GONZALEZ MALDONADO, VERONICA        ADDRESS ON FILE
GONZALEZ MALDONADO, WANDA I         ADDRESS ON FILE
GONZALEZ MALDONADO, XANDRA          ADDRESS ON FILE
GONZALEZ MALDONADO, XANDRA R        ADDRESS ON FILE
GONZALEZ MALDONADO, YERRY R.        ADDRESS ON FILE
GONZALEZ MALDONADO,LEONARDO X.      ADDRESS ON FILE
GONZALEZ MANAUTOU, NOEL             ADDRESS ON FILE
GONZALEZ MANGUAL, CARMEN A          ADDRESS ON FILE
GONZALEZ MANGUAL, GLADYS A          ADDRESS ON FILE
GONZALEZ MANGUAL, LUZ               ADDRESS ON FILE
GONZALEZ MANZANERO, LUIS            ADDRESS ON FILE
GONZALEZ MARCANO MD, SAMUEL         ADDRESS ON FILE
GONZALEZ MARCANO, ALICIA            ADDRESS ON FILE
GONZALEZ MARCANO, EDDIE             ADDRESS ON FILE
GONZALEZ MARCANO, EDDIE M           ADDRESS ON FILE
Gonzalez Marcano, Jesus M           ADDRESS ON FILE
GONZALEZ MARCANO, MARIA A           ADDRESS ON FILE
GONZALEZ MARCHESE, MARIA            ADDRESS ON FILE
GONZALEZ MARCIAL, IVETTE            ADDRESS ON FILE
GONZALEZ MARCUCCI, EDWIN            ADDRESS ON FILE
GONZALEZ MARENGO, DAVID             ADDRESS ON FILE
GONZALEZ MARENGO, JANNETTE          ADDRESS ON FILE
GONZALEZ MARES, PETRA               ADDRESS ON FILE
GONZALEZ MARFISI, BRENDA I          ADDRESS ON FILE
Gonzalez Margolla, Luis A.          ADDRESS ON FILE
Gonzalez Mari, Daniel               ADDRESS ON FILE
GONZÁLEZ MARI, DANIEL               ARMANDO F. PIETRI TORRES   1225 AVE. MUÑOZ RIVERA                                        Ponce     PR      00717‐0635
GONZÁLEZ MARI, DANIEL               WANDA I. MARIN LUGO        1225 AVE. MUÑOZ RIVERA                                        Ponce     PR      00717‐0635
GONZALEZ MARIN, ABUNDINO            ADDRESS ON FILE
GONZALEZ MARIN, ABUNDINO            ADDRESS ON FILE
GONZALEZ MARIN, ABUNDINO            ADDRESS ON FILE
GONZALEZ MARIN, ADA                 ADDRESS ON FILE
GONZALEZ MARIN, ADA L               ADDRESS ON FILE
GONZALEZ MARIN, ADELINA             ADDRESS ON FILE
GONZALEZ MARIN, ALBA D              ADDRESS ON FILE
GONZALEZ MARIN, ANDRES              ADDRESS ON FILE
GONZALEZ MARIN, GISELDA             ADDRESS ON FILE
GONZALEZ MARIN, LUDGARDO            ADDRESS ON FILE




                                                                                        Page 3351 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3352 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MARIN, MANUELA         ADDRESS ON FILE
GONZALEZ MARIN, MANUELA         ADDRESS ON FILE
GONZALEZ MARIN, MARIA C         ADDRESS ON FILE
GONZALEZ MARIN, NORMA           ADDRESS ON FILE
GONZALEZ MARIN, WANDA I         ADDRESS ON FILE
GONZALEZ MARIN, ZAHERIMAR       ADDRESS ON FILE
GONZALEZ MARIN, ZORAIDA         ADDRESS ON FILE
GONZALEZ MARQUES MD, PALOMA     ADDRESS ON FILE
GONZALEZ MARQUES, MAGDA         ADDRESS ON FILE
GONZALEZ MARQUES, ZULMA         ADDRESS ON FILE
GONZALEZ MARQUEZ, ARACELIS      ADDRESS ON FILE
GONZALEZ MARQUEZ, CARMEN M      ADDRESS ON FILE
GONZALEZ MARQUEZ, EDUARDO       ADDRESS ON FILE
GONZALEZ MARQUEZ, JESSICA       ADDRESS ON FILE
Gonzalez Marquez, Judith        ADDRESS ON FILE
GONZALEZ MARQUEZ, KELVIN        ADDRESS ON FILE
GONZALEZ MARQUEZ, NATALY        ADDRESS ON FILE
GONZALEZ MARQUEZ, ROBERT        ADDRESS ON FILE
GONZALEZ MARQUEZ, VICTOR        ADDRESS ON FILE
GONZALEZ MARRERO, AIDA L        ADDRESS ON FILE
GONZALEZ MARRERO, ALEX          ADDRESS ON FILE
GONZALEZ MARRERO, AMARILYS      ADDRESS ON FILE
GONZALEZ MARRERO, ANNETTE       ADDRESS ON FILE
GONZALEZ MARRERO, CECILIA V     ADDRESS ON FILE
GONZALEZ MARRERO, CINDY         ADDRESS ON FILE
GONZALEZ MARRERO, DAMARIS       ADDRESS ON FILE
GONZALEZ MARRERO, ELIZABETH     ADDRESS ON FILE
GONZALEZ MARRERO, ELIZABETH     ADDRESS ON FILE
GONZALEZ MARRERO, HAYDEE        ADDRESS ON FILE
GONZALEZ MARRERO, JARELIS       ADDRESS ON FILE
GONZALEZ MARRERO, JAVIER        ADDRESS ON FILE
GONZALEZ MARRERO, JONATHAN      ADDRESS ON FILE
GONZALEZ MARRERO, JORGE         ADDRESS ON FILE
GONZALEZ MARRERO, LIZETTE       ADDRESS ON FILE
GONZALEZ MARRERO, LUIS          ADDRESS ON FILE
GONZALEZ MARRERO, LUZ           ADDRESS ON FILE
GONZALEZ MARRERO, LUZ MINERVA   ADDRESS ON FILE
GONZALEZ MARRERO, MARIA DEL C   ADDRESS ON FILE
GONZALEZ MARRERO, MARIELIS      ADDRESS ON FILE
GONZALEZ MARRERO, MARSHA        ADDRESS ON FILE
GONZALEZ MARRERO, MARYLIA       ADDRESS ON FILE
GONZALEZ MARRERO, MONICA        ADDRESS ON FILE
GONZALEZ MARRERO, MONICA D.     ADDRESS ON FILE
GONZALEZ MARRERO, OLGA          ADDRESS ON FILE
GONZALEZ MARRERO, ORLANDO       ADDRESS ON FILE
GONZALEZ MARRERO, ORLANDO       ADDRESS ON FILE
GONZALEZ MARRERO, RAFAEL        ADDRESS ON FILE
GONZALEZ MARRERO, RAQUEL        ADDRESS ON FILE
GONZALEZ MARRERO, RIGOBERTO     ADDRESS ON FILE
GONZALEZ MARRERO, ROSA M        ADDRESS ON FILE
GONZALEZ MARRERO, SYLVIA        ADDRESS ON FILE
GONZALEZ MARRERO, TANIA I       ADDRESS ON FILE
GONZALEZ MARRERO, TERESA        ADDRESS ON FILE
Gonzalez Marrero, Tomas         ADDRESS ON FILE
GONZALEZ MARRERO, VIRGINIA      ADDRESS ON FILE
GONZALEZ MARRERO, WILLYMAR      ADDRESS ON FILE
GONZALEZ MARRERO, WILMARIE      ADDRESS ON FILE
GONZALEZ MARRERO, YARITZA       ADDRESS ON FILE
GONZALEZ MARRERO, YARITZA       ADDRESS ON FILE
GONZALEZ MARRERO, YEIDY M       ADDRESS ON FILE




                                                                            Page 3352 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3353 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MARRERO,ORLANDO          ADDRESS ON FILE
GONZALEZ MARTE, MERIDO            ADDRESS ON FILE
GONZALEZ MARTELL, EDWIN           ADDRESS ON FILE
GONZALEZ MARTIN, ISRAEL           ADDRESS ON FILE
GONZALEZ MARTIN, OMAR             ADDRESS ON FILE
GONZALEZ MARTINES, JOSE           ADDRESS ON FILE
GONZALEZ MARTINEZ MD, EDGARDO L   ADDRESS ON FILE
GONZALEZ MARTINEZ MD, REINALDO    ADDRESS ON FILE
GONZALEZ MARTINEZ MD, YARITSA     ADDRESS ON FILE
GONZALEZ MARTINEZ, ADALBERTO      ADDRESS ON FILE
GONZALEZ MARTINEZ, AIXA           ADDRESS ON FILE
GONZALEZ MARTINEZ, AIXAMAR        ADDRESS ON FILE
GONZALEZ MARTINEZ, ALVIN J        ADDRESS ON FILE
GONZALEZ MARTINEZ, ANA            ADDRESS ON FILE
Gonzalez Martinez, Andres         ADDRESS ON FILE
GONZALEZ MARTINEZ, ANGEL          ADDRESS ON FILE
GONZALEZ MARTINEZ, ANGEL          ADDRESS ON FILE
GONZALEZ MARTINEZ, ARMANTINA      ADDRESS ON FILE
GONZALEZ MARTINEZ, AURELIX        ADDRESS ON FILE
GONZALEZ MARTINEZ, BEATRIZ        ADDRESS ON FILE
GONZALEZ MARTINEZ, BELINDA        ADDRESS ON FILE
GONZALEZ MARTINEZ, BETZAIDA       ADDRESS ON FILE
GONZALEZ MARTINEZ, CANDIDO        ADDRESS ON FILE
GONZALEZ MARTINEZ, CARLOS J.      ADDRESS ON FILE
GONZALEZ MARTINEZ, CARLOS J.      ADDRESS ON FILE
GONZALEZ MARTINEZ, CARMEN         ADDRESS ON FILE
GONZALEZ MARTINEZ, CARMEN         ADDRESS ON FILE
GONZALEZ MARTINEZ, CARMEN D       ADDRESS ON FILE
GONZALEZ MARTINEZ, CAROLINE M     ADDRESS ON FILE
GONZALEZ MARTINEZ, CHARITO        ADDRESS ON FILE
GONZALEZ MARTINEZ, CHARLES J.     ADDRESS ON FILE
GONZALEZ MARTINEZ, EDGARDO        ADDRESS ON FILE
Gonzalez Martinez, Edilberto      ADDRESS ON FILE
GONZALEZ MARTINEZ, EDUARDO        ADDRESS ON FILE
GONZALEZ MARTINEZ, EDWARD         ADDRESS ON FILE
GONZALEZ MARTINEZ, EDWIN M        ADDRESS ON FILE
GONZALEZ MARTINEZ, ELBA L.        ADDRESS ON FILE
GONZALEZ MARTINEZ, ELENITA        ADDRESS ON FILE
GONZALEZ MARTINEZ, ELISA          ADDRESS ON FILE
GONZALEZ MARTINEZ, ELIZABETH      ADDRESS ON FILE
Gonzalez Martinez, Eneida         ADDRESS ON FILE
GONZALEZ MARTINEZ, ENETH          ADDRESS ON FILE
GONZALEZ MARTINEZ, ERICK          ADDRESS ON FILE
GONZALEZ MARTINEZ, ERICK          ADDRESS ON FILE
GONZALEZ MARTINEZ, EVELYN         ADDRESS ON FILE
GONZALEZ MARTINEZ, FELICITA       ADDRESS ON FILE
GONZALEZ MARTINEZ, FRANCISCA      ADDRESS ON FILE
GONZALEZ MARTINEZ, GEIDY          ADDRESS ON FILE
GONZALEZ MARTINEZ, GISELLE        ADDRESS ON FILE
GONZALEZ MARTINEZ, GLADYS         ADDRESS ON FILE
GONZALEZ MARTINEZ, GLADYS         ADDRESS ON FILE
GONZALEZ MARTINEZ, GLADYS         ADDRESS ON FILE
GONZALEZ MARTINEZ, GLADYS         ADDRESS ON FILE
GONZALEZ MARTINEZ, GLADYS M.      ADDRESS ON FILE
GONZALEZ MARTINEZ, GUILLERMINA    ADDRESS ON FILE
GONZALEZ MARTINEZ, HARRY J.       ADDRESS ON FILE
GONZALEZ MARTINEZ, HAYDEE         ADDRESS ON FILE
Gonzalez Martinez, Hector         ADDRESS ON FILE
GONZALEZ MARTINEZ, HECTOR L       ADDRESS ON FILE
GONZALEZ MARTINEZ, HECTOR L.      ADDRESS ON FILE




                                                                              Page 3353 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3354 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MARTINEZ, HERIBERTO     ADDRESS ON FILE
GONZALEZ MARTINEZ, HILDA M       ADDRESS ON FILE
GONZALEZ MARTINEZ, IRIS          ADDRESS ON FILE
GONZALEZ MARTINEZ, IRIS M        ADDRESS ON FILE
GONZALEZ MARTINEZ, IRIS N        ADDRESS ON FILE
Gonzalez Martinez, Iris S.       ADDRESS ON FILE
GONZALEZ MARTINEZ, IRMA          ADDRESS ON FILE
GONZALEZ MARTINEZ, IRMA          ADDRESS ON FILE
GONZALEZ MARTINEZ, IRMA          ADDRESS ON FILE
GONZALEZ MARTINEZ, ISABEL        ADDRESS ON FILE
GONZALEZ MARTINEZ, ISAYOLIS      ADDRESS ON FILE
GONZALEZ MARTINEZ, ISMARA        ADDRESS ON FILE
GONZALEZ MARTINEZ, ISRAEL        ADDRESS ON FILE
GONZALEZ MARTINEZ, IVETTE        ADDRESS ON FILE
GONZALEZ MARTINEZ, JAIME L.      ADDRESS ON FILE
GONZALEZ MARTINEZ, JANIS         ADDRESS ON FILE
GONZALEZ MARTINEZ, JEFFERSON     ADDRESS ON FILE
GONZALEZ MARTINEZ, JENNIFER      ADDRESS ON FILE
GONZALEZ MARTINEZ, JOHANNY       ADDRESS ON FILE
Gonzalez Martinez, Jonathan J    ADDRESS ON FILE
GONZALEZ MARTINEZ, JORGE         ADDRESS ON FILE
GONZALEZ MARTINEZ, JOSE L        ADDRESS ON FILE
GONZALEZ MARTINEZ, JOSE V        ADDRESS ON FILE
GONZALEZ MARTINEZ, JOVANNY R     ADDRESS ON FILE
GONZALEZ MARTINEZ, JUAN          ADDRESS ON FILE
GONZALEZ MARTINEZ, JUAN          ADDRESS ON FILE
Gonzalez Martinez, Juan A        ADDRESS ON FILE
GONZALEZ MARTINEZ, JUAN M        ADDRESS ON FILE
GONZALEZ MARTINEZ, JUAN R        ADDRESS ON FILE
GONZALEZ MARTINEZ, KRYSTAL       ADDRESS ON FILE
GONZALEZ MARTINEZ, LAURA         ADDRESS ON FILE
GONZALEZ MARTINEZ, LEMUEL        ADDRESS ON FILE
GONZALEZ MARTINEZ, LISBETH       ADDRESS ON FILE
GONZALEZ MARTINEZ, LISSETE       ADDRESS ON FILE
GONZALEZ MARTINEZ, LUIS          ADDRESS ON FILE
GONZALEZ MARTINEZ, LUIS A        ADDRESS ON FILE
GONZALEZ MARTINEZ, LUIS JOEL     ADDRESS ON FILE
GONZALEZ MARTINEZ, LUZ M         ADDRESS ON FILE
Gonzalez Martinez, Manuel        ADDRESS ON FILE
GONZALEZ MARTINEZ, MARCOS        ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIA A       ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIA DEL C   ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIA DEL P   ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIA L       ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIA M       ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIA V.      ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIALINA     ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIANELA     ADDRESS ON FILE
GONZALEZ MARTINEZ, MARICELIS     ADDRESS ON FILE
GONZALEZ MARTINEZ, MARIEL I      ADDRESS ON FILE
GONZALEZ MARTINEZ, MARILYN       ADDRESS ON FILE
GONZALEZ MARTINEZ, MARTA         ADDRESS ON FILE
GONZALEZ MARTINEZ, MARTA         ADDRESS ON FILE
GONZALEZ MARTINEZ, MELVIN        ADDRESS ON FILE
GONZALEZ MARTINEZ, MELVIN        ADDRESS ON FILE
GONZALEZ MARTINEZ, MELVYN        ADDRESS ON FILE
GONZALEZ MARTINEZ, MIGDALIA      ADDRESS ON FILE
GONZALEZ MARTINEZ, MIGDALIA      ADDRESS ON FILE
GONZALEZ MARTINEZ, MIGUEL        ADDRESS ON FILE
GONZALEZ MARTINEZ, MILAGROS      ADDRESS ON FILE




                                                                             Page 3354 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3355 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MARTINEZ, MIOSOTIS       ADDRESS ON FILE
GONZALEZ MARTINEZ, MIOSOTIS       ADDRESS ON FILE
GONZALEZ MARTINEZ, MIRTA E.       ADDRESS ON FILE
GONZALEZ MARTINEZ, MONICA         ADDRESS ON FILE
GONZALEZ MARTINEZ, NANCY E        ADDRESS ON FILE
GONZALEZ MARTINEZ, NIXALYS        ADDRESS ON FILE
GONZALEZ MARTINEZ, NOELIA         ADDRESS ON FILE
GONZALEZ MARTINEZ, NORMA          ADDRESS ON FILE
Gonzalez Martinez, Omar E         ADDRESS ON FILE
GONZALEZ MARTINEZ, PABLO S        ADDRESS ON FILE
GONZALEZ MARTINEZ, PAULA          ADDRESS ON FILE
GONZALEZ MARTINEZ, PEDRO A        ADDRESS ON FILE
Gonzalez Martinez, Pedro J        ADDRESS ON FILE
GONZALEZ MARTINEZ, RAFAEL         ADDRESS ON FILE
Gonzalez Martinez, Rafael         ADDRESS ON FILE
GONZALEZ MARTINEZ, RAFAEL         ADDRESS ON FILE
GONZALEZ MARTINEZ, RAMONA         ADDRESS ON FILE
GONZALEZ MARTINEZ, RAUL           ADDRESS ON FILE
GONZALEZ MARTINEZ, REINALDO I     ADDRESS ON FILE
GONZALEZ MARTINEZ, RENE           ADDRESS ON FILE
GONZALEZ MARTINEZ, RICARDO        ADDRESS ON FILE
GONZALEZ MARTINEZ, RICARDO        ADDRESS ON FILE
GONZALEZ MARTINEZ, RIGOALBERTO    ADDRESS ON FILE
GONZALEZ MARTINEZ, ROBERTO        ADDRESS ON FILE
GONZALEZ MARTINEZ, ROLANDO        ADDRESS ON FILE
GONZALEZ MARTINEZ, SANDRA         ADDRESS ON FILE
GONZALEZ MARTINEZ, SARA           ADDRESS ON FILE
GONZALEZ MARTINEZ, SARAH          ADDRESS ON FILE
GONZALEZ MARTINEZ, SHEILA         ADDRESS ON FILE
GONZALEZ MARTINEZ, SOLMARY        ADDRESS ON FILE
GONZALEZ MARTINEZ, VALERIE        ADDRESS ON FILE
GONZALEZ MARTINEZ, VERONICA       ADDRESS ON FILE
GONZALEZ MARTINEZ, VICTOR         ADDRESS ON FILE
Gonzalez Martinez, Victor J       ADDRESS ON FILE
GONZALEZ MARTINEZ, VIVIAN         ADDRESS ON FILE
GONZALEZ MARTINEZ, WILMA DEL C.   ADDRESS ON FILE
GONZALEZ MARTINEZ, YAMILET        ADDRESS ON FILE
GONZALEZ MARTINEZ, YAMILET        ADDRESS ON FILE
GONZALEZ MARTINEZ, YANIRA         ADDRESS ON FILE
Gonzalez Martinez, Yesel O        ADDRESS ON FILE
GONZALEZ MARTINEZ, YESENIA        ADDRESS ON FILE
GONZALEZ MARTINEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ MARTINEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ MARTIR, JOHENYD          ADDRESS ON FILE
GONZALEZ MARTIRENA, LOURDES       ADDRESS ON FILE
GONZALEZ MARTIZ, EDWIN            ADDRESS ON FILE
GONZALEZ MARTORELL, ERNESTO       ADDRESS ON FILE
GONZALEZ MARUCCI, MYRNA           ADDRESS ON FILE
GONZALEZ MASS, LYDIA              ADDRESS ON FILE
Gonzalez Massa, Karen Janet       ADDRESS ON FILE
GONZALEZ MASSAS, JUAN             ADDRESS ON FILE
GONZALEZ MASSAS, LUIS             ADDRESS ON FILE
GONZALEZ MASSO, MARIE             ADDRESS ON FILE
GONZALEZ MASSO, PILAR             ADDRESS ON FILE
GONZALEZ MASSO, SONIA             ADDRESS ON FILE
GONZALEZ MATEO, IVETTE            ADDRESS ON FILE
GONZALEZ MATEO, JOHN C.           ADDRESS ON FILE
GONZALEZ MATEO, JOMAR J           ADDRESS ON FILE
GONZALEZ MATIAS, JORGE            ADDRESS ON FILE
GONZALEZ MATIAS, JORGE            ADDRESS ON FILE




                                                                              Page 3355 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3356 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MATIAS, JORGE         ADDRESS ON FILE
GONZALEZ MATIAS, JOSE          ADDRESS ON FILE
GONZALEZ MATIAS, RAUL          ADDRESS ON FILE
GONZALEZ MATIAS, SAMUEL        ADDRESS ON FILE
GONZALEZ MATOS, ARIEL          ADDRESS ON FILE
GONZALEZ MATOS, BRUNILDA       ADDRESS ON FILE
GONZALEZ MATOS, CARLOS M       ADDRESS ON FILE
GONZALEZ MATOS, CARLOS M.      ADDRESS ON FILE
GONZALEZ MATOS, CARMEN         ADDRESS ON FILE
GONZALEZ MATOS, EDWIN          ADDRESS ON FILE
GONZALEZ MATOS, GABRIEL        ADDRESS ON FILE
GONZALEZ MATOS, GEANESSA       ADDRESS ON FILE
GONZALEZ MATOS, GLORIANGIE     ADDRESS ON FILE
GONZALEZ MATOS, HAYDEE         ADDRESS ON FILE
Gonzalez Matos, Ivan R         ADDRESS ON FILE
GONZALEZ MATOS, JAVIER         ADDRESS ON FILE
Gonzalez Matos, Jose A         ADDRESS ON FILE
GONZALEZ MATOS, JOSE ANTONIO   ADDRESS ON FILE
Gonzalez Matos, Jose M         ADDRESS ON FILE
GONZALEZ MATOS, LENNY          ADDRESS ON FILE
GONZALEZ MATOS, LEONELA        ADDRESS ON FILE
GONZALEZ MATOS, LOURDES V      ADDRESS ON FILE
GONZALEZ MATOS, LUIS           ADDRESS ON FILE
GONZALEZ MATOS, LUIS A         ADDRESS ON FILE
GONZALEZ MATOS, MIGUEL A       ADDRESS ON FILE
GONZALEZ MATOS, NANCY          ADDRESS ON FILE
GONZALEZ MATOS, RAPHY          ADDRESS ON FILE
Gonzalez Matos, Samuel         ADDRESS ON FILE
GONZALEZ MATOS, VIVIANA        ADDRESS ON FILE
Gonzalez Matos, Viviana E      ADDRESS ON FILE
GONZALEZ MATOS, WILLIAM        ADDRESS ON FILE
GONZALEZ MATOS,WILLIAM A.      ADDRESS ON FILE
GONZALEZ MATTA, IVETTE         ADDRESS ON FILE
GONZALEZ MATTA, ZULEYMA        ADDRESS ON FILE
GONZALEZ MATTAS, PETER E       ADDRESS ON FILE
GONZALEZ MATTAS, ROXANNE       ADDRESS ON FILE
GONZALEZ MATTAS, ROXANNE       ADDRESS ON FILE
GONZALEZ MAYSONET, ANAIS       ADDRESS ON FILE
GONZALEZ MAYSONET, KEILA E     ADDRESS ON FILE
GONZALEZ MAYSONET, MAGDALENA   ADDRESS ON FILE
GONZALEZ MAYSONET, MARCELINO   ADDRESS ON FILE
GONZALEZ MAYSONET, MIGUEL A    ADDRESS ON FILE
GONZALEZ MAYSONET, MYRIAM      ADDRESS ON FILE
GONZALEZ MCFALINE, EDNA LUZ    ADDRESS ON FILE
GONZALEZ MD , JOSE G           ADDRESS ON FILE
GONZALEZ MD , MARIA D          ADDRESS ON FILE
GONZALEZ MD, ANGELA            ADDRESS ON FILE
GONZALEZ MD, CARLOS            ADDRESS ON FILE
GONZALEZ MD, NORBERTO          ADDRESS ON FILE
GONZALEZ MD, ROGELIO           ADDRESS ON FILE
GONZALEZ MEDERO, ARELIS        ADDRESS ON FILE
GONZALEZ MEDERO, JORGE L       ADDRESS ON FILE
GONZALEZ MEDERO, LUIS A        ADDRESS ON FILE
GONZALEZ MEDINA, ABIMAEL       ADDRESS ON FILE
Gonzalez Medina, Alexis        ADDRESS ON FILE
Gonzalez Medina, Antonio       ADDRESS ON FILE
GONZALEZ MEDINA, ARMANDO       ADDRESS ON FILE
GONZALEZ MEDINA, ARMANDO J     ADDRESS ON FILE
GONZALEZ MEDINA, CARLOS        ADDRESS ON FILE
GONZALEZ MEDINA, CARMEN        ADDRESS ON FILE




                                                                           Page 3356 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3357 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MEDINA, CONCEPCION     ADDRESS ON FILE
Gonzalez Medina, Daniel         ADDRESS ON FILE
GONZALEZ MEDINA, DAVID          ADDRESS ON FILE
GONZALEZ MEDINA, DIONISIA       ADDRESS ON FILE
Gonzalez Medina, Eduardo        ADDRESS ON FILE
Gonzalez Medina, Eliazis        ADDRESS ON FILE
GONZALEZ MEDINA, ELIAZIS        ADDRESS ON FILE
Gonzalez Medina, Eric M         ADDRESS ON FILE
GONZALEZ MEDINA, EVA M          ADDRESS ON FILE
GONZALEZ MEDINA, FERNANDO       ADDRESS ON FILE
GONZALEZ MEDINA, FRANCINE V.    ADDRESS ON FILE
GONZALEZ MEDINA, FRANCISCO      ADDRESS ON FILE
GONZALEZ MEDINA, FRANCISCO      ADDRESS ON FILE
GONZALEZ MEDINA, GERARDO A      ADDRESS ON FILE
GONZALEZ MEDINA, GISELLE        ADDRESS ON FILE
GONZALEZ MEDINA, GLADYS         ADDRESS ON FILE
GONZALEZ MEDINA, GLORIA E       ADDRESS ON FILE
GONZALEZ MEDINA, GRISEL         ADDRESS ON FILE
GONZALEZ MEDINA, HERIBERTO      ADDRESS ON FILE
GONZALEZ MEDINA, IDALYS         ADDRESS ON FILE
GONZALEZ MEDINA, IRIS           ADDRESS ON FILE
GONZALEZ MEDINA, ISANADY        ADDRESS ON FILE
GONZALEZ MEDINA, IVANA          ADDRESS ON FILE
GONZALEZ MEDINA, IVANA          ADDRESS ON FILE
GONZALEZ MEDINA, JANETT         ADDRESS ON FILE
GONZALEZ MEDINA, JENITZA        ADDRESS ON FILE
GONZALEZ MEDINA, JENNIFER       ADDRESS ON FILE
GONZALEZ MEDINA, JOMAR          ADDRESS ON FILE
GONZALEZ MEDINA, JORGE          ADDRESS ON FILE
GONZALEZ MEDINA, JOSE           ADDRESS ON FILE
GONZALEZ MEDINA, JOSE J         ADDRESS ON FILE
Gonzalez Medina, Jose M.        ADDRESS ON FILE
GONZALEZ MEDINA, JOSUE Z        ADDRESS ON FILE
GONZALEZ MEDINA, JUAN           ADDRESS ON FILE
GONZALEZ MEDINA, JUAN CARLOS    ADDRESS ON FILE
Gonzalez Medina, Juan J         ADDRESS ON FILE
GONZALEZ MEDINA, JUANITA        ADDRESS ON FILE
GONZALEZ MEDINA, KAILA          ADDRESS ON FILE
GONZALEZ MEDINA, KATHYRA        ADDRESS ON FILE
GONZALEZ MEDINA, KATSI          ADDRESS ON FILE
GONZALEZ MEDINA, LILLY          ADDRESS ON FILE
GONZALEZ MEDINA, LINDA E        ADDRESS ON FILE
GONZALEZ MEDINA, LUIS           ADDRESS ON FILE
Gonzalez Medina, Luis           ADDRESS ON FILE
GONZALEZ MEDINA, LUZ M          ADDRESS ON FILE
GONZALEZ MEDINA, MAGALY         ADDRESS ON FILE
GONZALEZ MEDINA, MARI           ADDRESS ON FILE
GONZALEZ MEDINA, MARIA DE LOS   ADDRESS ON FILE
GONZALEZ MEDINA, MARIA DEL      ADDRESS ON FILE
GONZALEZ MEDINA, MARIA DEL C.   ADDRESS ON FILE
GONZALEZ MEDINA, MARIA V        ADDRESS ON FILE
GONZALEZ MEDINA, MARIANO        ADDRESS ON FILE
GONZALEZ MEDINA, MARILYN        ADDRESS ON FILE
GONZALEZ MEDINA, MIGDALIA       ADDRESS ON FILE
Gonzalez Medina, Milly F        ADDRESS ON FILE
GONZALEZ MEDINA, NELIDA         ADDRESS ON FILE
GONZALEZ MEDINA, NELSY I.       ADDRESS ON FILE
GONZALEZ MEDINA, NEREIDA        ADDRESS ON FILE
GONZALEZ MEDINA, NORBERTO       ADDRESS ON FILE
GONZALEZ MEDINA, OMAR           ADDRESS ON FILE




                                                                            Page 3357 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3358 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MEDINA, PEDRO J        ADDRESS ON FILE
GONZALEZ MEDINA, REINALDO       ADDRESS ON FILE
GONZALEZ MEDINA, ROSA H         ADDRESS ON FILE
GONZALEZ MEDINA, RUTH           ADDRESS ON FILE
GONZALEZ MEDINA, SANDRALI       ADDRESS ON FILE
GONZALEZ MEDINA, SAUL           ADDRESS ON FILE
GONZALEZ MEDINA, SHARON         ADDRESS ON FILE
GONZALEZ MEDINA, WILSON         ADDRESS ON FILE
GONZALEZ MEDINA, YAHAIRA        ADDRESS ON FILE
GONZALEZ MEDINA, YARISVETTE     ADDRESS ON FILE
GONZALEZ MEDINA, YESENIA        ADDRESS ON FILE
GONZALEZ MEDINA, YOLANDA        ADDRESS ON FILE
GONZALEZ MEDRANO, GEORGE        ADDRESS ON FILE
GONZALEZ MEDRANO, JOSE          ADDRESS ON FILE
GONZALEZ MEDRANO, JOSE E        ADDRESS ON FILE
GONZALEZ MEDRANO, MIRKA E       ADDRESS ON FILE
GONZALEZ MEDRANO, ROBERTO A.    ADDRESS ON FILE
GONZALEZ MEJIAS, DEBORAH        ADDRESS ON FILE
GONZALEZ MEJIAS, JAIME J.       ADDRESS ON FILE
GONZALEZ MEJIAS, JONATHAN       ADDRESS ON FILE
GONZALEZ MEJIAS, SHEILA         ADDRESS ON FILE
GONZALEZ MELECIO, MARIA I       ADDRESS ON FILE
GONZALEZ MELENDEZ, ABIGAIL      ADDRESS ON FILE
GONZALEZ MELENDEZ, ADA          ADDRESS ON FILE
GONZALEZ MELENDEZ, ADALICE      ADDRESS ON FILE
GONZALEZ MELENDEZ, ADELAIDA     ADDRESS ON FILE
GONZALEZ MELENDEZ, ALFREDO      ADDRESS ON FILE
GONZALEZ MELENDEZ, ALFREDO      ADDRESS ON FILE
GONZALEZ MELENDEZ, ALMA I       ADDRESS ON FILE
GONZALEZ MELENDEZ, ANGEL        ADDRESS ON FILE
GONZALEZ MELENDEZ, ANGELA       ADDRESS ON FILE
GONZALEZ MELENDEZ, ANGELEZ      ADDRESS ON FILE
GONZALEZ MELENDEZ, ANNETTE      ADDRESS ON FILE
GONZALEZ MELENDEZ, ARIANA       ADDRESS ON FILE
GONZALEZ MELENDEZ, AURA I       ADDRESS ON FILE
GONZALEZ MELENDEZ, BIENVENIDO   ADDRESS ON FILE
GONZALEZ MELENDEZ, BRENDA       ADDRESS ON FILE
GONZALEZ MELENDEZ, CANDIDO      ADDRESS ON FILE
GONZALEZ MELENDEZ, CARLO        ADDRESS ON FILE
GONZALEZ MELENDEZ, CARLOS       ADDRESS ON FILE
GONZALEZ MELENDEZ, CARLOS       ADDRESS ON FILE
GONZALEZ MELENDEZ, CINDY        ADDRESS ON FILE
GONZALEZ MELENDEZ, CLARA        ADDRESS ON FILE
GONZALEZ MELENDEZ, DANIEL       ADDRESS ON FILE
GONZALEZ MELENDEZ, DANNELLY     ADDRESS ON FILE
GONZALEZ MELENDEZ, DELENYS      ADDRESS ON FILE
Gonzalez Melendez, Edwin A      ADDRESS ON FILE
GONZALEZ MELENDEZ, ELDA         ADDRESS ON FILE
GONZALEZ MELENDEZ, EMMANUEL     ADDRESS ON FILE
GONZALEZ MELENDEZ, FERNANDO     ADDRESS ON FILE
GONZALEZ MELENDEZ, GABRIEL      ADDRESS ON FILE
GONZALEZ MELENDEZ, GILBERTO     ADDRESS ON FILE
GONZALEZ MELENDEZ, GUALBERT     ADDRESS ON FILE
GONZALEZ MELENDEZ, GUILLERMO    ADDRESS ON FILE
GONZALEZ MELENDEZ, GUILLERMO    ADDRESS ON FILE
GONZALEZ MELENDEZ, INGRID M     ADDRESS ON FILE
GONZALEZ MELENDEZ, IVELISSE     ADDRESS ON FILE
GONZALEZ MELENDEZ, IVETTE       ADDRESS ON FILE
GONZALEZ MELENDEZ, JAVIER E     ADDRESS ON FILE
GONZALEZ MELENDEZ, JENIFER      ADDRESS ON FILE




                                                                            Page 3358 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3359 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MELENDEZ, JENIFER      ADDRESS ON FILE
GONZALEZ MELENDEZ, JENIFER      ADDRESS ON FILE
GONZALEZ MELENDEZ, JOHANA       ADDRESS ON FILE
GONZALEZ MELENDEZ, JOSE         ADDRESS ON FILE
GONZALEZ MELENDEZ, JUAN I       ADDRESS ON FILE
GONZALEZ MELENDEZ, KARLA M      ADDRESS ON FILE
GONZALEZ MELENDEZ, LEOPOLDO     ADDRESS ON FILE
GONZALEZ MELENDEZ, LUIS         ADDRESS ON FILE
GONZALEZ MELENDEZ, LUIS A       ADDRESS ON FILE
Gonzalez Melendez, Luis D.      ADDRESS ON FILE
GONZALEZ MELENDEZ, LUZ A        ADDRESS ON FILE
GONZALEZ MELENDEZ, LUZ E        ADDRESS ON FILE
GONZALEZ MELENDEZ, MADELINE     ADDRESS ON FILE
Gonzalez Melendez, Manuel       ADDRESS ON FILE
GONZALEZ MELENDEZ, MARIA S      ADDRESS ON FILE
Gonzalez Melendez, Maribelles   ADDRESS ON FILE
GONZALEZ MELENDEZ, MARIENID     ADDRESS ON FILE
Gonzalez Melendez, Miguel       ADDRESS ON FILE
GONZALEZ MELENDEZ, MIRIAM       ADDRESS ON FILE
GONZALEZ MELENDEZ, MIRIAM E     ADDRESS ON FILE
GONZALEZ MELENDEZ, NILSA        ADDRESS ON FILE
Gonzalez Melendez, Omar         ADDRESS ON FILE
GONZALEZ MELENDEZ, OSCAR        ADDRESS ON FILE
GONZALEZ MELENDEZ, RAMON        ADDRESS ON FILE
GONZALEZ MELENDEZ, RUBEN        ADDRESS ON FILE
GONZALEZ MELENDEZ, SAMUEL       ADDRESS ON FILE
GONZALEZ MELENDEZ, SOMARIE      ADDRESS ON FILE
GONZALEZ MELENDEZ, SULHEY M     ADDRESS ON FILE
GONZALEZ MELENDEZ, WANDA L      ADDRESS ON FILE
Gonzalez Melendez, William      ADDRESS ON FILE
Gonzalez Melendez, Yaheli       ADDRESS ON FILE
GONZALEZ MELENDEZ, YOLANDA      ADDRESS ON FILE
GONZALEZ MELENDEZ, ZAIDA E      ADDRESS ON FILE
GONZALEZ MELIA, JOSE A          ADDRESS ON FILE
GONZALEZ MELON, FRAMIN          ADDRESS ON FILE
GONZALEZ MELON, FRAMIN Z.       ADDRESS ON FILE
Gonzalez Melon, Lesley          ADDRESS ON FILE
GONZALEZ MENA, JOSEFA           ADDRESS ON FILE
GONZALEZ MENA, MIGUEL           ADDRESS ON FILE
GONZALEZ MENDEZ, ALBERTO        ADDRESS ON FILE
Gonzalez Mendez, Amilcar        ADDRESS ON FILE
GONZALEZ MENDEZ, ANDRES         ADDRESS ON FILE
GONZALEZ MENDEZ, BIENVENIDO     ADDRESS ON FILE
GONZALEZ MENDEZ, BRENDALIZ      ADDRESS ON FILE
GONZALEZ MENDEZ, CARMEN         ADDRESS ON FILE
GONZALEZ MENDEZ, CARMEN L       ADDRESS ON FILE
GONZALEZ MENDEZ, CARMEN M       ADDRESS ON FILE
GONZALEZ MENDEZ, CRISTINA       ADDRESS ON FILE
Gonzalez Mendez, Cynthia        ADDRESS ON FILE
GONZALEZ MENDEZ, DEBORAH        ADDRESS ON FILE
GONZALEZ MENDEZ, ELICA          ADDRESS ON FILE
GONZALEZ MENDEZ, ELVIN          ADDRESS ON FILE
GONZALEZ MENDEZ, ELVIRA M       ADDRESS ON FILE
GONZALEZ MENDEZ, EMMANUEL       ADDRESS ON FILE
GONZALEZ MENDEZ, EVELYN         ADDRESS ON FILE
GONZALEZ MENDEZ, FRANCISCO      ADDRESS ON FILE
GONZALEZ MENDEZ, GABRIEL        ADDRESS ON FILE
Gonzalez Mendez, Glenn A        ADDRESS ON FILE
GONZALEZ MENDEZ, HECTOR F.      ADDRESS ON FILE
GONZALEZ MENDEZ, HILDA          ADDRESS ON FILE




                                                                            Page 3359 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3360 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MENDEZ, HIRAM           ADDRESS ON FILE
GONZALEZ MENDEZ, ISAEL           ADDRESS ON FILE
GONZALEZ MENDEZ, ISAEL           ADDRESS ON FILE
GONZALEZ MENDEZ, ISMAEL          ADDRESS ON FILE
GONZALEZ MENDEZ, ISRAEL          ADDRESS ON FILE
GONZALEZ MENDEZ, IVAN            ADDRESS ON FILE
GONZALEZ MENDEZ, IVELISSE        ADDRESS ON FILE
GONZALEZ MENDEZ, JOEL            ADDRESS ON FILE
GONZALEZ MENDEZ, JORGE           ADDRESS ON FILE
GONZALEZ MENDEZ, JOSE            ADDRESS ON FILE
GONZALEZ MENDEZ, JOSE            ADDRESS ON FILE
GONZALEZ MENDEZ, JOSE            ADDRESS ON FILE
GONZALEZ MENDEZ, JOSE M          ADDRESS ON FILE
GONZALEZ MENDEZ, JUAN            ADDRESS ON FILE
GONZALEZ MENDEZ, JUAN            ADDRESS ON FILE
Gonzalez Mendez, Juan J          ADDRESS ON FILE
GONZALEZ MENDEZ, LUZ M           ADDRESS ON FILE
GONZALEZ MENDEZ, MANUEL J.       ADDRESS ON FILE
GONZALEZ MENDEZ, MARIA           ADDRESS ON FILE
GONZALEZ MENDEZ, MARIA N         ADDRESS ON FILE
GONZALEZ MENDEZ, MARIANO         ADDRESS ON FILE
GONZALEZ MENDEZ, MARITZA I       ADDRESS ON FILE
GONZALEZ MENDEZ, MARTA           ADDRESS ON FILE
GONZALEZ MENDEZ, MARTIN E.       ADDRESS ON FILE
Gonzalez Mendez, Minobel         ADDRESS ON FILE
GONZALEZ MENDEZ, MIRTA R         ADDRESS ON FILE
GONZALEZ MENDEZ, OSCAR           ADDRESS ON FILE
GONZALEZ MENDEZ, REINA           ADDRESS ON FILE
GONZALEZ MENDEZ, ROSA B          ADDRESS ON FILE
Gonzalez Mendez, Sigfredy        ADDRESS ON FILE
GONZALEZ MENDEZ, TATIANA         ADDRESS ON FILE
GONZALEZ MENDEZ, TOMAS           ADDRESS ON FILE
GONZALEZ MENDEZ, VICTOR          ADDRESS ON FILE
Gonzalez Mendez, Victor A        ADDRESS ON FILE
GONZALEZ MENDEZ, VIMARYS         ADDRESS ON FILE
GONZALEZ MENDEZ, VIRGINIA        ADDRESS ON FILE
GONZALEZ MENDEZ, VIVIAN          ADDRESS ON FILE
GONZALEZ MENDEZ, VIVIAN I.       ADDRESS ON FILE
GONZALEZ MENDEZ, WANDA           ADDRESS ON FILE
GONZALEZ MENDEZ, WANDA W         ADDRESS ON FILE
Gonzalez Mendez, Wilberto        ADDRESS ON FILE
GONZALEZ MENDEZ, YADIRA          ADDRESS ON FILE
GONZALEZ MENDOZA, HECTOR M       ADDRESS ON FILE
GONZALEZ MENDOZA, JORGE          ADDRESS ON FILE
GONZALEZ MENDOZA, LESLIE         ADDRESS ON FILE
GONZALEZ MENDOZA, LUZ E          ADDRESS ON FILE
GONZALEZ MENDOZA, MARGARITA      ADDRESS ON FILE
GONZALEZ MENDOZA, NILMARIE       ADDRESS ON FILE
GONZALEZ MENDOZA, OLGA           ADDRESS ON FILE
GONZALEZ MENDOZA, OMAYRA         ADDRESS ON FILE
GONZALEZ MENENDEZ, DELISSE       ADDRESS ON FILE
GONZALEZ MENENDEZ, GUSTAVO       ADDRESS ON FILE
GONZALEZ MENENDEZ, HERIBERTO     ADDRESS ON FILE
GONZALEZ MENENDEZ, JOSE          ADDRESS ON FILE
Gonzalez Mercado, Alexander      ADDRESS ON FILE
Gonzalez Mercado, Angel D        ADDRESS ON FILE
GONZALEZ MERCADO, ANNABELLE L.   ADDRESS ON FILE
GONZALEZ MERCADO, AURORA         ADDRESS ON FILE
GONZALEZ MERCADO, AXEL           ADDRESS ON FILE
GONZALEZ MERCADO, BELGIS Y       ADDRESS ON FILE




                                                                             Page 3360 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3361 of 3500
                                                                              17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                  Address1                         Address2                              Address3      Address4   City        State   PostalCode   Country
GONZALEZ MERCADO, CARMEN       ADDRESS ON FILE
GONZALEZ MERCADO, CARMEN B.    ADDRESS ON FILE
GONZALEZ MERCADO, CARMEN E     ADDRESS ON FILE
GONZALEZ MERCADO, CARMEN L     ADDRESS ON FILE
GONZALEZ MERCADO, CARMEN P     ADDRESS ON FILE
GONZALEZ MERCADO, CHRISTIAN    ADDRESS ON FILE
GONZALEZ MERCADO, CYNTHIA      ADDRESS ON FILE
GONZALEZ MERCADO, DINORAH      ADDRESS ON FILE
GONZALEZ MERCADO, EFRAIN       ADDRESS ON FILE
GONZALEZ MERCADO, ELIENID      ADDRESS ON FILE
GONZALEZ MERCADO, ELIZABETH    ADDRESS ON FILE
GONZALEZ MERCADO, ELIZABETH    ADDRESS ON FILE
GONZALEZ MERCADO, EUNICE       ADDRESS ON FILE
GONZALEZ MERCADO, EVA D        ADDRESS ON FILE
GONZALEZ MERCADO, EVELYN       ADDRESS ON FILE
GONZALEZ MERCADO, FELIX        ADDRESS ON FILE
GONZALEZ MERCADO, FRANCISCO    ADDRESS ON FILE
GONZALEZ MERCADO, GLORIA I.    ADDRESS ON FILE
GONZALEZ MERCADO, GLORIA N     ADDRESS ON FILE
GONZALEZ MERCADO, HERIBERTO    ADDRESS ON FILE
GONZALEZ MERCADO, IRIS D       ADDRESS ON FILE
GONZALEZ MERCADO, IRMA         ADDRESS ON FILE
GONZALEZ MERCADO, JESUS        ADDRESS ON FILE
GONZALEZ MERCADO, JO MARIE     ADDRESS ON FILE
GONZALEZ MERCADO, JOANA        ADDRESS ON FILE
GONZALEZ MERCADO, JOEL         ADDRESS ON FILE
GONZALEZ MERCADO, JOSE A       ADDRESS ON FILE
GONZALEZ MERCADO, JOSE O.      ADDRESS ON FILE
Gonzalez Mercado, Jose O.      ADDRESS ON FILE
GONZALEZ MERCADO, JUAN         ADDRESS ON FILE
GONZALEZ MERCADO, JUAN A.      ADDRESS ON FILE
GONZALEZ MERCADO, LUISA        ADDRESS ON FILE
GONZALEZ MERCADO, LUZ          ADDRESS ON FILE
Gonzalez Mercado, Luz D        ADDRESS ON FILE
GONZALEZ MERCADO, MAGDA        ADDRESS ON FILE
GONZALEZ MERCADO, MAGDA I      ADDRESS ON FILE
GONZALEZ MERCADO, MARIA        ADDRESS ON FILE
GONZALEZ MERCADO, MARIBEL      ADDRESS ON FILE
GONZALEZ MERCADO, MARISELA     ADDRESS ON FILE
Gonzalez Mercado, Milton H.    ADDRESS ON FILE
GONZALEZ MERCADO, MONSERRATE   ADDRESS ON FILE
Gonzalez Mercado, Nelson       ADDRESS ON FILE
GONZALEZ MERCADO, NELSON       ADDRESS ON FILE
GONZALEZ MERCADO, NIDIA        ADDRESS ON FILE
GONZALEZ MERCADO, NOEL         ADDRESS ON FILE
GONZALEZ MERCADO, OMAR         ADDRESS ON FILE
GONZALEZ MERCADO, OMAR         ADDRESS ON FILE
GONZALEZ MERCADO, OMAYRA       ADDRESS ON FILE
GONZALEZ MERCADO, OSCAR        ADDRESS ON FILE
GONZALEZ MERCADO, PEDRO        ADDRESS ON FILE
GONZALEZ MERCADO, RAFAEL       ADDRESS ON FILE
Gonzalez Mercado, Ramon        ADDRESS ON FILE
GONZALEZ MERCADO, REY          ADDRESS ON FILE
GONZALEZ MERCADO, ROSA I       ADDRESS ON FILE
GONZALEZ MERCADO, SANTA C      ADDRESS ON FILE
GONZALEZ MERCADO, STEFANI      ADDRESS ON FILE
GONZALEZ MERCADO, SUSANA       ADDRESS ON FILE
GONZALEZ MERCADO, WANDA E      ADDRESS ON FILE
GONZÁLEZ MERCADO, YALISHETH    LCDA. ALEIDA CENTENO RODRÍGUEZ   SERVICIOS LEGALES DE                  PO BOX 1927              ARECIBO     PR      00613‐1927
GONZALEZ MERCADO, ZARAIDA      ADDRESS ON FILE




                                                                                       Page 3361 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3362 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MERCADO, ZULEYKA G          ADDRESS ON FILE
GONZALEZ MERCED, EMINES              ADDRESS ON FILE
GONZALEZ MERCED, EMINES              ADDRESS ON FILE
GONZALEZ MERCED, GLORI               ADDRESS ON FILE
GONZALEZ MERCED, MIGDALIZ            ADDRESS ON FILE
GONZALEZ MERCED, NORBERTO            ADDRESS ON FILE
GONZALEZ MERCED, OMAYRA              ADDRESS ON FILE
GONZALEZ MERCED, RUTH M              ADDRESS ON FILE
GONZALEZ MERCEDES, JOSE              ADDRESS ON FILE
GONZALEZ MERLE, ALLYCE               ADDRESS ON FILE
GONZALEZ MESONERO, MILDRED           ADDRESS ON FILE
GONZALEZ MIER, JOSE                  ADDRESS ON FILE
GONZALEZ MILAN, EDGAR E.             ADDRESS ON FILE
GONZALEZ MILAN, EDITH DEL S          ADDRESS ON FILE
GONZALEZ MILAN, MANUEL               ADDRESS ON FILE
GONZALEZ MILAN, OSVALDO              ADDRESS ON FILE
GONZALEZ MILAN, YOHAMA               ADDRESS ON FILE
GONZALEZ MILAY, ISAEL                ADDRESS ON FILE
GONZALEZ MILIAN, CAROLINE            ADDRESS ON FILE
GONZALEZ MILIAN, MARIA L             ADDRESS ON FILE
Gonzalez Millan, Carlos J.           ADDRESS ON FILE
GONZALEZ MILLAN, LUIS A              ADDRESS ON FILE
GONZALEZ MILLAN, MARTA I             ADDRESS ON FILE
Gonzalez Millan, Milagros            ADDRESS ON FILE
GONZALEZ MILLAN, MILAGROS            ADDRESS ON FILE
GONZALEZ MILLAN, ROBERT              ADDRESS ON FILE
GONZALEZ MILLAN, ROSE                ADDRESS ON FILE
GONZALEZ MILLAN, ROSE M              ADDRESS ON FILE
GONZALEZ MILLER, MICHELLE            ADDRESS ON FILE
GONZALEZ MINIER, GUILLERMO           ADDRESS ON FILE
GONZALEZ MIRANDA & GONZALEZ ABELLA   ADDRESS ON FILE
GONZALEZ MIRANDA, ANTHONY            ADDRESS ON FILE
GONZALEZ MIRANDA, BERNIS             ADDRESS ON FILE
GONZALEZ MIRANDA, BLANCA I           ADDRESS ON FILE
GONZALEZ MIRANDA, BRUNILDA           ADDRESS ON FILE
GONZALEZ MIRANDA, CARLOS             ADDRESS ON FILE
Gonzalez Miranda, Carlos J.          ADDRESS ON FILE
GONZALEZ MIRANDA, ELI O              ADDRESS ON FILE
GONZALEZ MIRANDA, FELIX              ADDRESS ON FILE
GONZALEZ MIRANDA, GERARDO            ADDRESS ON FILE
GONZALEZ MIRANDA, GRACIELA           ADDRESS ON FILE
GONZALEZ MIRANDA, GUILLERMO B        ADDRESS ON FILE
GONZALEZ MIRANDA, HAYDEE             ADDRESS ON FILE
GONZALEZ MIRANDA, IBERIA DOLORES     ADDRESS ON FILE
GONZALEZ MIRANDA, IVAN               ADDRESS ON FILE
GONZALEZ MIRANDA, IVETTE D.          ADDRESS ON FILE
GONZALEZ MIRANDA, JACKELINE          ADDRESS ON FILE
GONZALEZ MIRANDA, JHOEVANNY          ADDRESS ON FILE
GONZALEZ MIRANDA, JOSE               ADDRESS ON FILE
Gonzalez Miranda, Lizzette D         ADDRESS ON FILE
GONZALEZ MIRANDA, LYDIA M            ADDRESS ON FILE
Gonzalez Miranda, Manuel A           ADDRESS ON FILE
GONZALEZ MIRANDA, MARIA M            ADDRESS ON FILE
GONZALEZ MIRANDA, MARIA TERESA       ADDRESS ON FILE
GONZALEZ MIRANDA, MARIA TERESA       ADDRESS ON FILE
GONZALEZ MIRANDA, MARIELL            ADDRESS ON FILE
GONZALEZ MIRANDA, MIRELYS            ADDRESS ON FILE
GONZALEZ MIRANDA, NORA L             ADDRESS ON FILE
GONZALEZ MIRANDA, ROSALIZ            ADDRESS ON FILE
GONZALEZ MIRANDA, ROSALIZ            ADDRESS ON FILE




                                                                                 Page 3362 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3363 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MIRANDES, JORGE         ADDRESS ON FILE
GONZALEZ MOCTEZUMA, CARLOS J.    ADDRESS ON FILE
GONZALEZ MOJICA, ADELITA         ADDRESS ON FILE
GONZALEZ MOJICA, AWIMALDY        ADDRESS ON FILE
GONZALEZ MOJICA, EFRAIN          ADDRESS ON FILE
GONZALEZ MOJICA, EMILL           ADDRESS ON FILE
GONZALEZ MOJICA, GILBERTO        ADDRESS ON FILE
GONZALEZ MOJICA, IVELISSE        ADDRESS ON FILE
GONZALEZ MOJICA, JOANY           ADDRESS ON FILE
GONZALEZ MOJICA, JOHNNY          ADDRESS ON FILE
GONZALEZ MOJICA, JOSE J.         ADDRESS ON FILE
GONZALEZ MOJICA, JOSE J.         ADDRESS ON FILE
GONZALEZ MOJICA, LUIS A          ADDRESS ON FILE
GONZALEZ MOJICA, ZAIDA L         ADDRESS ON FILE
GONZALEZ MOLANO, ARACELIS        ADDRESS ON FILE
GONZALEZ MOLINA, BELIA           ADDRESS ON FILE
GONZALEZ MOLINA, CARLOS E        ADDRESS ON FILE
GONZALEZ MOLINA, CIPRIAN         ADDRESS ON FILE
GONZALEZ MOLINA, FELIX           ADDRESS ON FILE
GONZALEZ MOLINA, GILBERTO        ADDRESS ON FILE
Gonzalez Molina, Gladys          ADDRESS ON FILE
GONZALEZ MOLINA, HORIALIS        ADDRESS ON FILE
GONZALEZ MOLINA, ILMARIS         ADDRESS ON FILE
GONZALEZ MOLINA, JEANNETTE       ADDRESS ON FILE
GONZALEZ MOLINA, JESUS           ADDRESS ON FILE
GONZALEZ MOLINA, JOELY           ADDRESS ON FILE
GONZALEZ MOLINA, JUAN E.         ADDRESS ON FILE
GONZALEZ MOLINA, LUIS            ADDRESS ON FILE
GONZALEZ MOLINA, LUIS G          ADDRESS ON FILE
GONZALEZ MOLINA, LUZ M           ADDRESS ON FILE
GONZALEZ MOLINA, LYDIA           ADDRESS ON FILE
GONZALEZ MOLINA, LYDIA E         ADDRESS ON FILE
GONZALEZ MOLINA, MIDALIS         ADDRESS ON FILE
GONZALEZ MOLINA, NANCY I         ADDRESS ON FILE
GONZALEZ MOLINA, NELFA           ADDRESS ON FILE
GONZALEZ MOLINA, NYDIA I         ADDRESS ON FILE
GONZALEZ MOLINA, OMAR            ADDRESS ON FILE
GONZALEZ MOLINA, ROLANDO         ADDRESS ON FILE
GONZALEZ MOLINA, SANDRA          ADDRESS ON FILE
GONZALEZ MOLINA, TOMAS E         ADDRESS ON FILE
GONZALEZ MOLINA, YARITZA         ADDRESS ON FILE
GONZALEZ MOLINA, YOLANDA         ADDRESS ON FILE
GONZALEZ MOLINA, YVONNE          ADDRESS ON FILE
Gonzalez Monge, Emmanuel         ADDRESS ON FILE
Gonzalez Monge, Nelson           ADDRESS ON FILE
GONZALEZ MONGE, RAFAEL           ADDRESS ON FILE
GONZALEZ MONROIG, ADLIN          ADDRESS ON FILE
GONZALEZ MONROIG, MADELIN        ADDRESS ON FILE
GONZALEZ MONROIG, URIEL          ADDRESS ON FILE
GONZALEZ MONSENAT, MILDRED       ADDRESS ON FILE
GONZALEZ MONSERRATE MD, EVELYN   ADDRESS ON FILE
GONZALEZ MONTALVO, ANGIE A.      ADDRESS ON FILE
Gonzalez Montalvo, Anibal        ADDRESS ON FILE
Gonzalez Montalvo, Carlos R.     ADDRESS ON FILE
GONZALEZ MONTALVO, EFRAIN        ADDRESS ON FILE
GONZALEZ MONTALVO, ELIZABETH     ADDRESS ON FILE
GONZALEZ MONTALVO, GABRIEL       ADDRESS ON FILE
GONZALEZ MONTALVO, GABRIEL       ADDRESS ON FILE
Gonzalez Montalvo, Gerardo       ADDRESS ON FILE
GONZALEZ MONTALVO, GERARDO       ADDRESS ON FILE




                                                                             Page 3363 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3364 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MONTALVO, GUSTAVO E      ADDRESS ON FILE
Gonzalez Montalvo, Honorio        ADDRESS ON FILE
GONZALEZ MONTALVO, JOEANN         ADDRESS ON FILE
GONZALEZ MONTALVO, JONATHAN       ADDRESS ON FILE
GONZALEZ MONTALVO, JUAN           ADDRESS ON FILE
GONZALEZ MONTALVO, JUAN           ADDRESS ON FILE
Gonzalez Montalvo, Juan A         ADDRESS ON FILE
GONZALEZ MONTALVO, KYOMARIS       ADDRESS ON FILE
GONZALEZ MONTALVO, LISMARIE       ADDRESS ON FILE
GONZALEZ MONTALVO, LUIS           ADDRESS ON FILE
GONZALEZ MONTALVO, MARIA          ADDRESS ON FILE
GONZALEZ MONTALVO, MARIA E        ADDRESS ON FILE
GONZALEZ MONTALVO, NYLMA I        ADDRESS ON FILE
GONZALEZ MONTALVO, ODNIEL         ADDRESS ON FILE
GONZALEZ MONTALVO, ORLANDO        ADDRESS ON FILE
GONZALEZ MONTALVO, RITA           ADDRESS ON FILE
Gonzalez Montalvo, Santiago       ADDRESS ON FILE
GONZALEZ MONTALVO, SAUL N         ADDRESS ON FILE
GONZALEZ MONTANEZ, ANGEL M        ADDRESS ON FILE
GONZALEZ MONTANEZ, CARLOS A       ADDRESS ON FILE
GONZALEZ MONTANEZ, CARMEN L.      ADDRESS ON FILE
GONZALEZ MONTANEZ, DAMARIS        ADDRESS ON FILE
Gonzalez Montanez, Elizabeth      ADDRESS ON FILE
Gonzalez Montanez, Fermin         ADDRESS ON FILE
GONZALEZ MONTANEZ, GLADYS         ADDRESS ON FILE
Gonzalez Montanez, Hidalberto     ADDRESS ON FILE
GONZALEZ MONTANEZ, HIDALBERTO     ADDRESS ON FILE
GONZALEZ MONTANEZ, HYDALBERTO     ADDRESS ON FILE
GONZALEZ MONTANEZ, JOSE           ADDRESS ON FILE
Gonzalez Montanez, Jose D         ADDRESS ON FILE
GONZALEZ MONTANEZ, MARIEL C       ADDRESS ON FILE
GONZALEZ MONTANEZ, MARIO          ADDRESS ON FILE
GONZALEZ MONTANEZ, ODALIS         ADDRESS ON FILE
GONZALEZ MONTANEZ, SARAHI         ADDRESS ON FILE
GONZALEZ MONTANEZ, WANDA          ADDRESS ON FILE
GONZALEZ MONTANEZ, YARITZA        ADDRESS ON FILE
GONZALEZ MONTANEZ, ZORINA I       ADDRESS ON FILE
GONZALEZ MONTANO, ROSAURA         ADDRESS ON FILE
GONZALEZ MONTERO, DANIEL          ADDRESS ON FILE
Gonzalez Montero, Edwin A         ADDRESS ON FILE
GONZALEZ MONTERO, EDWIN O         ADDRESS ON FILE
GONZALEZ MONTERO, EVELYN          ADDRESS ON FILE
GONZALEZ MONTERO, MIGUEL          ADDRESS ON FILE
GONZALEZ MONTERO, NELSON          ADDRESS ON FILE
GONZALEZ MONTES DE OCA, JOSE      ADDRESS ON FILE
Gonzalez Montes De Oca, Jose E    ADDRESS ON FILE
GONZALEZ MONTES MD, JESSICA       ADDRESS ON FILE
GONZALEZ MONTES, GABRIEL J        ADDRESS ON FILE
GONZALEZ MONTES, MANUEL           ADDRESS ON FILE
GONZALEZ MONTES, MARGA IVELISSE   ADDRESS ON FILE
GONZALEZ MONTES, MINERVA          ADDRESS ON FILE
GONZALEZ MONTES, RAMON            ADDRESS ON FILE
Gonzalez Montes, Reinaldo         ADDRESS ON FILE
GONZALEZ MONTESINO, LUZ E         ADDRESS ON FILE
GONZALEZ MONTESINO, MARIELA       ADDRESS ON FILE
GONZALEZ MONTIJO, KARINA          ADDRESS ON FILE
GONZALEZ MONTIJO, MAGALY          ADDRESS ON FILE
GONZALEZ MONTOSA, XAVIER          ADDRESS ON FILE
GONZALEZ MOORE, DAVID             ADDRESS ON FILE
GONZALEZ MORA, ALBA M             ADDRESS ON FILE




                                                                              Page 3364 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                       Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3365 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                      Address1                  Address2                                 Address3   Address4   City         State   PostalCode   Country
GONZALEZ MORA, ELIESELLE           ADDRESS ON FILE
GONZALEZ MORA, GIOVANNI            ADDRESS ON FILE
GONZALEZ MORA, IRENE               ADDRESS ON FILE
GONZALEZ MORA, VILMA S             ADDRESS ON FILE
GONZALEZ MORA, VIVIAN S            ADDRESS ON FILE
GONZALEZ MORALES & CO              CAPARRA TERRACE           1327 AVE JESUS T PINERO                                        SAN JUAN     PR      00921
GONZALEZ MORALES LAW OFFICES PCS   PO BOX 10242                                                                             HUMACAO      PR      00792
GONZALEZ MORALES MD, ORLANDO       ADDRESS ON FILE
GONZALEZ MORALES, AIDA E           ADDRESS ON FILE
GONZALEZ MORALES, AIDEE            ADDRESS ON FILE
Gonzalez Morales, Alexis           ADDRESS ON FILE
GONZALEZ MORALES, ALEXIS           ADDRESS ON FILE
GONZALEZ MORALES, ALEXIS           ADDRESS ON FILE
GONZALEZ MORALES, AMBAR            ADDRESS ON FILE
GONZALEZ MORALES, ANA E            ADDRESS ON FILE
Gonzalez Morales, Ana M            ADDRESS ON FILE
GONZALEZ MORALES, ANGEL            ADDRESS ON FILE
GONZALEZ MORALES, ANGEL            ADDRESS ON FILE
GONZALEZ MORALES, ANGEL            ADDRESS ON FILE
GONZALEZ MORALES, ANGEL            ADDRESS ON FILE
GONZALEZ MORALES, ANIBAL           ADDRESS ON FILE
GONZALEZ MORALES, ARACELIS         ADDRESS ON FILE
GONZALEZ MORALES, BETZABE          ADDRESS ON FILE
GONZALEZ MORALES, CARLOS           ADDRESS ON FILE
GONZALEZ MORALES, CARLOS J         ADDRESS ON FILE
GONZALEZ MORALES, CARLOS S.        ADDRESS ON FILE
GONZALEZ MORALES, CARMEN           ADDRESS ON FILE
GONZALEZ MORALES, CARMEN           ADDRESS ON FILE
GONZALEZ MORALES, CARMEN J.        ADDRESS ON FILE
GONZALEZ MORALES, CARMEN M.        ADDRESS ON FILE
GONZALEZ MORALES, CHRISTIAN        ADDRESS ON FILE
GONZALEZ MORALES, CYNTHIA I        ADDRESS ON FILE
GONZALEZ MORALES, DAMARIS          ADDRESS ON FILE
GONZALEZ MORALES, DASHIRA          ADDRESS ON FILE
GONZALEZ MORALES, DIALYS           ADDRESS ON FILE
GONZALEZ MORALES, EDGAR            ADDRESS ON FILE
GONZALEZ MORALES, EDGARDO          ADDRESS ON FILE
GONZALEZ MORALES, EDGARDO          ADDRESS ON FILE
GONZALEZ MORALES, EDNA I.          ADDRESS ON FILE
GONZALEZ MORALES, EDNA I.          ADDRESS ON FILE
GONZALEZ MORALES, EDNA M           ADDRESS ON FILE
GONZALEZ MORALES, EFRAIN           ADDRESS ON FILE
Gonzalez Morales, Elba Iris        ADDRESS ON FILE
GONZALEZ MORALES, ELBA N           ADDRESS ON FILE
GONZALEZ MORALES, ELIZABETH        ADDRESS ON FILE
GONZALEZ MORALES, EMANUEL          ADDRESS ON FILE
GONZALEZ MORALES, ENRIQUE          ADDRESS ON FILE
GONZALEZ MORALES, ERIC             ADDRESS ON FILE
GONZALEZ MORALES, ESTHER           ADDRESS ON FILE
GONZALEZ MORALES, FERNANDO         ADDRESS ON FILE
GONZALEZ MORALES, FRANCISCO        ADDRESS ON FILE
GONZALEZ MORALES, FREDDY           ADDRESS ON FILE
GONZALEZ MORALES, GISELA           ADDRESS ON FILE
GONZALEZ MORALES, GLADYS           ADDRESS ON FILE
GONZALEZ MORALES, GLORIA W         ADDRESS ON FILE
GONZALEZ MORALES, GLORIBEL         ADDRESS ON FILE
GONZALEZ MORALES, GRISEL           ADDRESS ON FILE
GONZALEZ MORALES, HAIDEE           ADDRESS ON FILE
GONZALEZ MORALES, HAYDEE           ADDRESS ON FILE
GONZALEZ MORALES, IRISDELI         ADDRESS ON FILE




                                                                                       Page 3365 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3366 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                         Creditor Matrix

Creditor Name                     Address1                    Address2                                Address3   Address4   City        State   PostalCode   Country
GONZALEZ MORALES, IRMA            ADDRESS ON FILE
GONZALEZ MORALES, JACQUELINE      ADDRESS ON FILE
GONZALEZ MORALES, JAYDIE A        ADDRESS ON FILE
GONZALEZ MORALES, JEAN C.         ADDRESS ON FILE
Gonzalez Morales, Jean K          ADDRESS ON FILE
GONZALEZ MORALES, JEANNETTE       ADDRESS ON FILE
GONZALEZ MORALES, JESUS           ADDRESS ON FILE
GONZALEZ MORALES, JESUS           ADDRESS ON FILE
GONZALEZ MORALES, JOHANNY         ADDRESS ON FILE
GONZALEZ MORALES, JORGE H         ADDRESS ON FILE
GONZALEZ MORALES, JOSE            ADDRESS ON FILE
GONZALEZ MORALES, JOSE            ADDRESS ON FILE
GONZALEZ MORALES, JOSE            ADDRESS ON FILE
GONZALEZ MORALES, JOSE            ADDRESS ON FILE
GONZALEZ MORALES, JOSE A          ADDRESS ON FILE
GONZALEZ MORALES, JOSE A          ADDRESS ON FILE
Gonzalez Morales, Jose A          ADDRESS ON FILE
GONZALEZ MORALES, JOSE A.         ADDRESS ON FILE
Gonzalez Morales, Jose A.         ADDRESS ON FILE
Gonzalez Morales, Jose D          ADDRESS ON FILE
Gonzalez Morales, Jose Noel       ADDRESS ON FILE
GONZALEZ MORALES, JOSELIA         ADDRESS ON FILE
GONZALEZ MORALES, JUAN            ADDRESS ON FILE
GONZALEZ MORALES, JUDITH          ADDRESS ON FILE
GONZALEZ MORALES, JULIO           ADDRESS ON FILE
GONZALEZ MORALES, JULIO           ADDRESS ON FILE
GONZALEZ MORALES, JULIO E         ADDRESS ON FILE
GONZALEZ MORALES, LENNIS          ADDRESS ON FILE
GONZALEZ MORALES, LEONARDO        ALFREDO ORTIZ ORTIZ         83 CALLE BALDORIOTY W.                                        GUAYAMA     PR      00784‐5139
GONZALEZ MORALES, LEONARDO        LEONARDO GONZALEZ MORALES   PO BOX 10005                                                  GUAYAMA     PR      00785
GONZALEZ MORALES, LISANDRA        ADDRESS ON FILE
GONZALEZ MORALES, LUIS            ADDRESS ON FILE
GONZALEZ MORALES, LUIS            ADDRESS ON FILE
GONZALEZ MORALES, LUIS            ADDRESS ON FILE
Gonzalez Morales, Luis A          ADDRESS ON FILE
GONZALEZ MORALES, LUIS E          ADDRESS ON FILE
GONZALEZ MORALES, LUIS Y          ADDRESS ON FILE
GONZALEZ MORALES, MANUEL DE J     ADDRESS ON FILE
GONZALEZ MORALES, MARGERY         ADDRESS ON FILE
GONZALEZ MORALES, MARIA C         ADDRESS ON FILE
GONZALEZ MORALES, MARIA DEL C     ADDRESS ON FILE
GONZALEZ MORALES, MARIA DEL C     ADDRESS ON FILE
GONZALEZ MORALES, MARIA M         ADDRESS ON FILE
GONZALEZ MORALES, MARIA S         ADDRESS ON FILE
GONZALEZ MORALES, MARIAN          ADDRESS ON FILE
GONZALEZ MORALES, MARICELI DE C   ADDRESS ON FILE
GONZALEZ MORALES, MARISOL         ADDRESS ON FILE
GONZALEZ MORALES, MARTA E         ADDRESS ON FILE
GONZALEZ MORALES, MICHAEL A       ADDRESS ON FILE
GONZALEZ MORALES, MILDRED         ADDRESS ON FILE
GONZALEZ MORALES, MILKA           ADDRESS ON FILE
Gonzalez Morales, Milton          ADDRESS ON FILE
GONZALEZ MORALES, MILTON          ADDRESS ON FILE
GONZALEZ MORALES, MIRIAM          ADDRESS ON FILE
GONZALEZ MORALES, NANCY           ADDRESS ON FILE
GONZALEZ MORALES, NYDIA E         ADDRESS ON FILE
GONZALEZ MORALES, OLGA M          ADDRESS ON FILE
GONZALEZ MORALES, OMARI           ADDRESS ON FILE
GONZALEZ MORALES, ORLANDO         ADDRESS ON FILE
GONZALEZ MORALES, ORLANDO         ADDRESS ON FILE




                                                                                       Page 3366 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3367 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MORALES, PAUL S.        ADDRESS ON FILE
GONZALEZ MORALES, PEDRO          ADDRESS ON FILE
GONZALEZ MORALES, PETRA H        ADDRESS ON FILE
GONZALEZ MORALES, RENALDO        ADDRESS ON FILE
GONZALEZ MORALES, SILVIA         ADDRESS ON FILE
GONZALEZ MORALES, SONIA N        ADDRESS ON FILE
GONZALEZ MORALES, SONIA N.       ADDRESS ON FILE
Gonzalez Morales, Victor M.      ADDRESS ON FILE
GONZALEZ MORALES, VIONETTE A     ADDRESS ON FILE
GONZALEZ MORALES, WANDA I        ADDRESS ON FILE
GONZALEZ MORALES, WILFREDO       ADDRESS ON FILE
GONZALEZ MORALES, WILLIAM        ADDRESS ON FILE
GONZALEZ MORALES, WINDALIZ       ADDRESS ON FILE
GONZALEZ MORALES, YAZMIN         ADDRESS ON FILE
Gonzalez Morales, Yazmin Marie   ADDRESS ON FILE
GONZALEZ MORALES, ZOE M          ADDRESS ON FILE
GONZALEZ MORALES, ZORAIDA S      ADDRESS ON FILE
GONZALEZ MORALES, ZULEIRY        ADDRESS ON FILE
Gonzalez Moralez, Dionel         ADDRESS ON FILE
Gonzalez Moralez, Jose A         ADDRESS ON FILE
GONZALEZ MORALEZ, ROSE J         ADDRESS ON FILE
GONZALEZ MORAN, CELFA            ADDRESS ON FILE
GONZALEZ MOREJON, ALBERTO        ADDRESS ON FILE
GONZALEZ MORELL, LUIS R.         ADDRESS ON FILE
GONZALEZ MORELL, WINNETTE        ADDRESS ON FILE
GONZALEZ MORENO MD, JOSE         ADDRESS ON FILE
GONZALEZ MORENO, ALEXIS          ADDRESS ON FILE
GONZALEZ MORENO, BLANCA M        ADDRESS ON FILE
GONZALEZ MORENO, EDGAR           ADDRESS ON FILE
GONZALEZ MORENO, EDGAR A.        ADDRESS ON FILE
GONZALEZ MORENO, ELENA           ADDRESS ON FILE
GONZALEZ MORENO, GISELA E.       ADDRESS ON FILE
GONZALEZ MORENO, JOSE E          ADDRESS ON FILE
GONZALEZ MORENO, JOSETTE         ADDRESS ON FILE
GONZALEZ MORENO, LUIS            ADDRESS ON FILE
GONZALEZ MORENO, LYDIA E         ADDRESS ON FILE
GONZALEZ MORENO, MARIA D         ADDRESS ON FILE
GONZALEZ MORENO, NORMAN          ADDRESS ON FILE
GONZALEZ MORENO, NORMAN J.       ADDRESS ON FILE
GONZALEZ MORENO, ORLANDO         ADDRESS ON FILE
GONZALEZ MORENO, ROBERTO         ADDRESS ON FILE
GONZALEZ MORENO, WALTER          ADDRESS ON FILE
GONZALEZ MORENO, WILBERTO        ADDRESS ON FILE
GONZALEZ MORET, RIGOBERTO        ADDRESS ON FILE
GONZALEZ MORET, WILFREDO         ADDRESS ON FILE
Gonzalez Morgado, Samuel         ADDRESS ON FILE
GONZALEZ MORO, EDWIN             ADDRESS ON FILE
GONZALEZ MOSCOSO, JUAN           ADDRESS ON FILE
GONZALEZ MOSQUEA, JUANA          ADDRESS ON FILE
GONZALEZ MOUNIER, CLARA L        ADDRESS ON FILE
GONZALEZ MOYA, ABNER             ADDRESS ON FILE
GONZALEZ MOYET, MADELINE         ADDRESS ON FILE
GONZALEZ MULERO, DEBORAH         ADDRESS ON FILE
GONZALEZ MULERO, JULIO           ADDRESS ON FILE
GONZALEZ MULLER, DORCA D         ADDRESS ON FILE
GONZALEZ MUNGUIA, BERTA          ADDRESS ON FILE
GONZALEZ MUNIZ, AILEEN           ADDRESS ON FILE
GONZALEZ MUNIZ, AMNERYS          ADDRESS ON FILE
GONZALEZ MUNIZ, AUREA            ADDRESS ON FILE
GONZALEZ MUNIZ, CINDY            ADDRESS ON FILE




                                                                             Page 3367 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3368 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ MUNIZ, ELLIOT           ADDRESS ON FILE
GONZALEZ MUNIZ, FRANCISCO J      ADDRESS ON FILE
GONZALEZ MUNIZ, HILTON           ADDRESS ON FILE
GONZALEZ MUNIZ, HIRAM            ADDRESS ON FILE
Gonzalez Muniz, Ivan             ADDRESS ON FILE
GONZALEZ MUNIZ, JOSE A           ADDRESS ON FILE
GONZALEZ MUNIZ, JUAN             ADDRESS ON FILE
GONZALEZ MUNIZ, LEGNA LUZ        ADDRESS ON FILE
GONZALEZ MUNIZ, LUIS             ADDRESS ON FILE
GONZALEZ MUNIZ, MANUEL           ADDRESS ON FILE
GONZALEZ MUNIZ, MYRNA L.         ADDRESS ON FILE
GONZALEZ MUNIZ, MYRNA L.         ADDRESS ON FILE
GONZALEZ MUNIZ, NILMARIE         ADDRESS ON FILE
GONZALEZ MUNIZ, NORMA I          ADDRESS ON FILE
GONZALEZ MUNIZ, ORLANDO          ADDRESS ON FILE
GONZALEZ MUNIZ, PEDRO            ADDRESS ON FILE
GONZALEZ MUNIZ, ROSEMARIE        ADDRESS ON FILE
GONZALEZ MUNIZ, VIDAL            ADDRESS ON FILE
GONZALEZ MUNIZ, WANDA M.         ADDRESS ON FILE
GONZALEZ MUNOZ LAW OFFICES       261 CALLE TETUAN                                                                 SAN JUAN     PR      00901
GONZALEZ MUNOZ LAW OFFICES PSC   PO BOX 9024055                                                                   SAN JUAN     PR      00902‐4055
GONZALEZ MUNOZ, AMILKA S         ADDRESS ON FILE
GONZALEZ MUNOZ, ELENA            ADDRESS ON FILE
GONZALEZ MUNOZ, ENIDZA           ADDRESS ON FILE
GONZALEZ MUNOZ, ENRIQUE          ADDRESS ON FILE
GONZALEZ MUNOZ, EUGENIO          ADDRESS ON FILE
GONZALEZ MUNOZ, EXTOR            ADDRESS ON FILE
GONZALEZ MUNOZ, EXTOR            ADDRESS ON FILE
GONZALEZ MUNOZ, KENNIA           ADDRESS ON FILE
GONZALEZ MUNOZ, LETICIA          ADDRESS ON FILE
GONZALEZ MUNOZ, LICELIA          ADDRESS ON FILE
GONZALEZ MUNOZ, LISANDRA         ADDRESS ON FILE
GONZALEZ MUNOZ, MARIA            ADDRESS ON FILE
GONZALEZ MUNOZ, MARIANO          ADDRESS ON FILE
GONZALEZ MUNOZ, MARIBEL          ADDRESS ON FILE
GONZALEZ MUNOZ, MARISELLE        ADDRESS ON FILE
GONZALEZ MUNOZ, MERBIN           ADDRESS ON FILE
GONZALEZ MUNOZ, MIGUEL           ADDRESS ON FILE
GONZALEZ MUNOZ, NESTOR L         ADDRESS ON FILE
GONZALEZ MUNOZ, ROSSANA          ADDRESS ON FILE
GONZALEZ MUNOZ, RUBEN            ADDRESS ON FILE
GONZALEZ MUNOZ, VALERIO          ADDRESS ON FILE
GONZALEZ MUNOZ, YADIRA           ADDRESS ON FILE
GONZALEZ MURIEL MD, ITZIA        ADDRESS ON FILE
GONZALEZ MURIEL, ALMA            ADDRESS ON FILE
GONZALEZ MURIEL, ELIZABETH       ADDRESS ON FILE
GONZALEZ MURIEL, HILDA E.        ADDRESS ON FILE
GONZALEZ MURIEL, MELVA           ADDRESS ON FILE
GONZALEZ NADAL, JOSE E.          ADDRESS ON FILE
GONZALEZ NADAL, MARIA            ADDRESS ON FILE
GONZALEZ NADAL, SERMARIE         ADDRESS ON FILE
GONZALEZ NAPOLEONI, JOHANN       ADDRESS ON FILE
GONZALEZ NARVAEZ, EDISON         ADDRESS ON FILE
GONZALEZ NARVAEZ, KEILA M        ADDRESS ON FILE
GONZALEZ NARVAEZ, KEILIVETTE     ADDRESS ON FILE
GONZALEZ NARVAEZ, MELVA          ADDRESS ON FILE
GONZALEZ NARVAEZ, VICTOR M.      ADDRESS ON FILE
GONZALEZ NATAL, ALBERTO          ADDRESS ON FILE
GONZALEZ NATAL, EUGENIA          ADDRESS ON FILE
GONZALEZ NATAL, IDAMARIS         ADDRESS ON FILE




                                                                             Page 3368 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3369 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                  Creditor Matrix

Creditor Name                       Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ NATAL, JACKELINE           ADDRESS ON FILE
GONZALEZ NATAL, JENNYFER            ADDRESS ON FILE
GONZALEZ NATAL, LUIS                ADDRESS ON FILE
GONZALEZ NATAL, MARISOL             ADDRESS ON FILE
GONZALEZ NATAL, RUBEN               ADDRESS ON FILE
GONZALEZ NATER, ALBERTO             ADDRESS ON FILE
GONZALEZ NATER, DINELIA             ADDRESS ON FILE
GONZALEZ NATER, IDAMIS              ADDRESS ON FILE
GONZALEZ NAVARRETE, GLADYS          ADDRESS ON FILE
GONZALEZ NAVARRETE, PEDRO           ADDRESS ON FILE
GONZALEZ NAVARRO, AGUSTIN           ADDRESS ON FILE
GONZALEZ NAVARRO, ALEXIS            ADDRESS ON FILE
GONZALEZ NAVARRO, BENJAMIN          ADDRESS ON FILE
GONZALEZ NAVARRO, EILEEN Z          ADDRESS ON FILE
GONZALEZ NAVARRO, GERARDO           ADDRESS ON FILE
GONZALEZ NAVARRO, GLADYS V          ADDRESS ON FILE
GONZALEZ NAVARRO, IVETTE            ADDRESS ON FILE
GONZALEZ NAVARRO, LUIS              ADDRESS ON FILE
GONZALEZ NAVARRO, LUZ C             ADDRESS ON FILE
GONZALEZ NAVARRO, MADELINE          ADDRESS ON FILE
GONZALEZ NAVARRO, MARIA L           ADDRESS ON FILE
GONZALEZ NAVARRO, RICARDO           ADDRESS ON FILE
GONZALEZ NAVARRO, ROBERTO ENRIQUE   ADDRESS ON FILE
GONZALEZ NAVAS, JOSE                ADDRESS ON FILE
GONZALEZ NAZARIO, CARINA            ADDRESS ON FILE
GONZALEZ NAZARIO, CARLOS A          ADDRESS ON FILE
GONZALEZ NAZARIO, CARMEN E          ADDRESS ON FILE
GONZALEZ NAZARIO, CAROL             ADDRESS ON FILE
GONZALEZ NAZARIO, CAROL B           ADDRESS ON FILE
GONZALEZ NAZARIO, EDDIE             ADDRESS ON FILE
Gonzalez Nazario, Javier O          ADDRESS ON FILE
GONZALEZ NAZARIO, JUAN              ADDRESS ON FILE
GONZALEZ NAZARIO, JUAN              ADDRESS ON FILE
GONZALEZ NAZARIO, JUANA I           ADDRESS ON FILE
GONZALEZ NAZARIO, KAREN             ADDRESS ON FILE
GONZALEZ NAZARIO, RAUL E.           ADDRESS ON FILE
GONZALEZ NAZARIO, ROSA L            ADDRESS ON FILE
GONZALEZ NAZARIO, YAMIL             ADDRESS ON FILE
GONZALEZ NEGRON, AIDA L             ADDRESS ON FILE
GONZALEZ NEGRON, ALBERTO            ADDRESS ON FILE
GONZALEZ NEGRON, ANA E              ADDRESS ON FILE
GONZALEZ NEGRON, ANGEL              ADDRESS ON FILE
Gonzalez Negron, Angel L            ADDRESS ON FILE
GONZALEZ NEGRON, ARIANA             ADDRESS ON FILE
GONZALEZ NEGRON, ASTRID             ADDRESS ON FILE
GONZALEZ NEGRON, BENEDICTO          ADDRESS ON FILE
GONZALEZ NEGRON, BLANCA I           ADDRESS ON FILE
GONZALEZ NEGRON, CARMEN N           ADDRESS ON FILE
GONZALEZ NEGRON, CARMEN R           ADDRESS ON FILE
GONZALEZ NEGRON, DOLORES            ADDRESS ON FILE
GONZALEZ NEGRON, EDGARDO L.         ADDRESS ON FILE
Gonzalez Negron, Edison             ADDRESS ON FILE
GONZALEZ NEGRON, EDISON             ADDRESS ON FILE
GONZALEZ NEGRON, ELBA               ADDRESS ON FILE
GONZALEZ NEGRON, FRANCISCO          ADDRESS ON FILE
GONZALEZ NEGRON, GABRIEL            ADDRESS ON FILE
GONZALEZ NEGRON, GENOVEVA           ADDRESS ON FILE
GONZALEZ NEGRON, GRISSELLE          ADDRESS ON FILE
Gonzalez Negron, Honorio J          ADDRESS ON FILE
GONZALEZ NEGRON, JENNIFFER          ADDRESS ON FILE




                                                                                Page 3369 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3370 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ NEGRON, JENNIFFER    ADDRESS ON FILE
GONZALEZ NEGRON, JOSE         ADDRESS ON FILE
GONZALEZ NEGRON, JUAN A       ADDRESS ON FILE
GONZALEZ NEGRON, JULISSA      ADDRESS ON FILE
GONZALEZ NEGRON, LAURA        ADDRESS ON FILE
GONZALEZ NEGRON, LIDANA       ADDRESS ON FILE
GONZALEZ NEGRON, LIMANI D     ADDRESS ON FILE
GONZALEZ NEGRON, LUIS         ADDRESS ON FILE
GONZALEZ NEGRON, NATHALIE     ADDRESS ON FILE
GONZALEZ NEGRON, PAOLA        ADDRESS ON FILE
Gonzalez Negron, Rafael       ADDRESS ON FILE
Gonzalez Negron, Rafael       ADDRESS ON FILE
GONZALEZ NEGRON, SANDRA       ADDRESS ON FILE
Gonzalez Negron, Victor M     ADDRESS ON FILE
GONZALEZ NEGRON, VILMARI      ADDRESS ON FILE
GONZALEZ NEGRON, WALDEMAR     ADDRESS ON FILE
GONZALEZ NEGRON, WANDA        ADDRESS ON FILE
GONZALEZ NEGRON, WILFREDO     ADDRESS ON FILE
GONZALEZ NEGRON,ALICE M.      ADDRESS ON FILE
GONZALEZ NEVAREZ, RAFAELA     ADDRESS ON FILE
Gonzalez Nevarez, Rafaela     ADDRESS ON FILE
GONZALEZ NEVAREZ, SARA        ADDRESS ON FILE
GONZALEZ NIEVES MD, IVETTE    ADDRESS ON FILE
GONZALEZ NIEVES, ABIGAIL      ADDRESS ON FILE
GONZALEZ NIEVES, ALFREDO      ADDRESS ON FILE
GONZALEZ NIEVES, ALICIA       ADDRESS ON FILE
GONZALEZ NIEVES, ANA A        ADDRESS ON FILE
GONZALEZ NIEVES, ANA H.       ADDRESS ON FILE
GONZALEZ NIEVES, ANA R        ADDRESS ON FILE
GONZALEZ NIEVES, ANGELICA     ADDRESS ON FILE
GONZALEZ NIEVES, BARBARA      ADDRESS ON FILE
Gonzalez Nieves, Braulio      ADDRESS ON FILE
GONZALEZ NIEVES, CARLOS       ADDRESS ON FILE
GONZALEZ NIEVES, CARLOS       ADDRESS ON FILE
GONZALEZ NIEVES, CARMEN M     ADDRESS ON FILE
GONZALEZ NIEVES, CARMEN R     ADDRESS ON FILE
GONZALEZ NIEVES, CAROLYN      ADDRESS ON FILE
GONZALEZ NIEVES, DAMARIS      ADDRESS ON FILE
GONZALEZ NIEVES, DAMARIS      ADDRESS ON FILE
GONZALEZ NIEVES, DAVID        ADDRESS ON FILE
GONZALEZ NIEVES, DENISE       ADDRESS ON FILE
Gonzalez Nieves, Edward       ADDRESS ON FILE
GONZALEZ NIEVES, EDWIN        ADDRESS ON FILE
GONZALEZ NIEVES, EDWIN A      ADDRESS ON FILE
GONZALEZ NIEVES, ELBA         ADDRESS ON FILE
GONZALEZ NIEVES, ELSA I.      ADDRESS ON FILE
GONZALEZ NIEVES, EMILIO       ADDRESS ON FILE
GONZALEZ NIEVES, ENRIQUE      ADDRESS ON FILE
GONZALEZ NIEVES, ERIKA        ADDRESS ON FILE
GONZALEZ NIEVES, EVELYN       ADDRESS ON FILE
GONZALEZ NIEVES, FELIX        ADDRESS ON FILE
GONZALEZ NIEVES, FRANCES L.   ADDRESS ON FILE
GONZALEZ NIEVES, FRAY         ADDRESS ON FILE
GONZALEZ NIEVES, GUDELIA      ADDRESS ON FILE
GONZALEZ NIEVES, HAYDEE       ADDRESS ON FILE
GONZALEZ NIEVES, HELGA M.     ADDRESS ON FILE
GONZALEZ NIEVES, IRVING       ADDRESS ON FILE
GONZALEZ NIEVES, IVELISSE     ADDRESS ON FILE
GONZALEZ NIEVES, IVETTE       ADDRESS ON FILE
GONZALEZ NIEVES, IVONNE A.    ADDRESS ON FILE




                                                                          Page 3370 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3371 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ NIEVES, JANETTE        ADDRESS ON FILE
Gonzalez Nieves, Jeannette      ADDRESS ON FILE
GONZALEZ NIEVES, JESSICA        ADDRESS ON FILE
GONZALEZ NIEVES, JORGE L.       ADDRESS ON FILE
GONZALEZ NIEVES, JOSE           ADDRESS ON FILE
GONZALEZ NIEVES, JOSE           ADDRESS ON FILE
GONZALEZ NIEVES, JOSE A         ADDRESS ON FILE
GONZALEZ NIEVES, JOSE M         ADDRESS ON FILE
GONZALEZ NIEVES, JOSE M         ADDRESS ON FILE
Gonzalez Nieves, Jose M.        ADDRESS ON FILE
Gonzalez Nieves, Joselinnery    ADDRESS ON FILE
GONZALEZ NIEVES, JOYCE          ADDRESS ON FILE
GONZALEZ NIEVES, JULIO          ADDRESS ON FILE
GONZALEZ NIEVES, KELVIN J       ADDRESS ON FILE
GONZALEZ NIEVES, LIZETTE        ADDRESS ON FILE
GONZALEZ NIEVES, LUIS           ADDRESS ON FILE
GONZALEZ NIEVES, LUIS           ADDRESS ON FILE
GONZALEZ NIEVES, LUIS FABIAN    ADDRESS ON FILE
GONZALEZ NIEVES, LUZ M          ADDRESS ON FILE
GONZALEZ NIEVES, MANUEL         ADDRESS ON FILE
GONZALEZ NIEVES, MARANGELI      ADDRESS ON FILE
GONZALEZ NIEVES, MARGARITA M    ADDRESS ON FILE
GONZALEZ NIEVES, MARIA DEL E.   ADDRESS ON FILE
GONZALEZ NIEVES, MARIBEL        ADDRESS ON FILE
GONZALEZ NIEVES, MARIBEL        ADDRESS ON FILE
GONZALEZ NIEVES, MARINELA       ADDRESS ON FILE
GONZALEZ NIEVES, MARY ANNE      ADDRESS ON FILE
GONZALEZ NIEVES, NEFTALI        ADDRESS ON FILE
GONZALEZ NIEVES, OMAR           ADDRESS ON FILE
GONZALEZ NIEVES, ORLANDO        ADDRESS ON FILE
GONZALEZ NIEVES, PAULA          ADDRESS ON FILE
Gonzalez Nieves, Ramiro         ADDRESS ON FILE
Gonzalez Nieves, Raul           ADDRESS ON FILE
GONZALEZ NIEVES, RAUL           ADDRESS ON FILE
GONZALEZ NIEVES, RENE           ADDRESS ON FILE
GONZALEZ NIEVES, ROSALINA       ADDRESS ON FILE
GONZALEZ NIEVES, ROSALINDA      ADDRESS ON FILE
GONZALEZ NIEVES, RUBEN          ADDRESS ON FILE
GONZALEZ NIEVES, RUTH           ADDRESS ON FILE
GONZALEZ NIEVES, SARAH A        ADDRESS ON FILE
GONZALEZ NIEVES, SHEILA         ADDRESS ON FILE
GONZALEZ NIEVES, SIGFREDO       ADDRESS ON FILE
GONZALEZ NIEVES, SYLMARIE       ADDRESS ON FILE
GONZALEZ NIEVES, WANDA I        ADDRESS ON FILE
Gonzalez Nieves, Wilfredo       ADDRESS ON FILE
GONZALEZ NIEVES, WILMA          ADDRESS ON FILE
GONZALEZ NIEVES, YANIRA         ADDRESS ON FILE
GONZALEZ NIEVES, YAZMIN D       ADDRESS ON FILE
GONZALEZ NIEVES, YOLANDA        ADDRESS ON FILE
GONZALEZ NIEVES, ZIARA          ADDRESS ON FILE
GONZALEZ NIEVES, ZORAIDA        ADDRESS ON FILE
GONZALEZ NIEVES,DELVIS G.       ADDRESS ON FILE
GONZALEZ NIEVES,MARIBEL         ADDRESS ON FILE
GONZALEZ NIEVEZ, JOYCE          ADDRESS ON FILE
GONZALEZ NIEVEZ, RAFAEL         ADDRESS ON FILE
GONZALEZ NILKA MARIELA          ADDRESS ON FILE
GONZALEZ NOA, LUIS              ADDRESS ON FILE
GONZALEZ NOLLA, JUAN            ADDRESS ON FILE
GONZALEZ NORAT, ARISTIDES       ADDRESS ON FILE
GONZALEZ NOVOA, JAIME           ADDRESS ON FILE




                                                                            Page 3371 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3372 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ NUNEZ, ADALBERTO    ADDRESS ON FILE
GONZALEZ NUNEZ, AUREA        ADDRESS ON FILE
GONZALEZ NUNEZ, AUREA T      ADDRESS ON FILE
GONZALEZ NUNEZ, CARLOS R     ADDRESS ON FILE
GONZALEZ NUNEZ, CARMEN       ADDRESS ON FILE
GONZALEZ NUNEZ, CARMEN       ADDRESS ON FILE
GONZALEZ NUNEZ, CESAR        ADDRESS ON FILE
GONZALEZ NUNEZ, CRISTINA     ADDRESS ON FILE
GONZALEZ NUNEZ, DAISY        ADDRESS ON FILE
Gonzalez Nunez, Dereck A     ADDRESS ON FILE
GONZALEZ NUNEZ, EDDIE        ADDRESS ON FILE
Gonzalez Nunez, Galem H      ADDRESS ON FILE
GONZALEZ NUNEZ, GERARDO      ADDRESS ON FILE
GONZALEZ NUNEZ, JOSE         ADDRESS ON FILE
GONZALEZ NUNEZ, LIANABEL     ADDRESS ON FILE
GONZALEZ NUNEZ, LIBERMARIE   ADDRESS ON FILE
GONZALEZ NUNEZ, LIBERMARIE   ADDRESS ON FILE
GONZALEZ NUNEZ, LIZA         ADDRESS ON FILE
GONZALEZ NUNEZ, LOURDES      ADDRESS ON FILE
GONZALEZ NUNEZ, LOURDES      ADDRESS ON FILE
GONZALEZ NUNEZ, LUZ M.       ADDRESS ON FILE
GONZALEZ NUNEZ, MARK         ADDRESS ON FILE
Gonzalez Nunez, Nelson       ADDRESS ON FILE
GONZALEZ NUNEZ, NELSON       ADDRESS ON FILE
GONZALEZ NUNEZ, NOEMI        ADDRESS ON FILE
GONZALEZ NUNEZ, SUSAN        ADDRESS ON FILE
GONZALEZ NUNEZ, WILLIAM      ADDRESS ON FILE
GONZALEZ NUQEZ, NORMA N      ADDRESS ON FILE
GONZALEZ O NEILL, AIDA L     ADDRESS ON FILE
GONZALEZ OCANA, SUHEIL       ADDRESS ON FILE
GONZALEZ OCASIO, ALEX        ADDRESS ON FILE
GONZALEZ OCASIO, ANGEL       ADDRESS ON FILE
GONZALEZ OCASIO, CARLOS J    ADDRESS ON FILE
GONZALEZ OCASIO, CARMEN      ADDRESS ON FILE
GONZALEZ OCASIO, CARMEN M    ADDRESS ON FILE
GONZALEZ OCASIO, CARMINIA    ADDRESS ON FILE
GONZALEZ OCASIO, DALILAH C   ADDRESS ON FILE
GONZALEZ OCASIO, DANIEL      ADDRESS ON FILE
GONZALEZ OCASIO, ELISEO      ADDRESS ON FILE
GONZALEZ OCASIO, GEORGINA    ADDRESS ON FILE
GONZALEZ OCASIO, GLENDA      ADDRESS ON FILE
GONZALEZ OCASIO, GLENDA L    ADDRESS ON FILE
GONZALEZ OCASIO, HILDA M     ADDRESS ON FILE
GONZALEZ OCASIO, IVELISSE    ADDRESS ON FILE
GONZALEZ OCASIO, JANICE I    ADDRESS ON FILE
GONZALEZ OCASIO, JULIO P     ADDRESS ON FILE
GONZALEZ OCASIO, KARLA M.    ADDRESS ON FILE
Gonzalez Ocasio, Magdiel     ADDRESS ON FILE
GONZALEZ OCASIO, MARCELINO   ADDRESS ON FILE
GONZALEZ OCASIO, MELISSA     ADDRESS ON FILE
GONZALEZ OCASIO, MOISES      ADDRESS ON FILE
GONZALEZ OCASIO, OLGA M      ADDRESS ON FILE
GONZALEZ OCASIO, REBECCA     ADDRESS ON FILE
GONZALEZ OCASIO, SEGUNDA     ADDRESS ON FILE
GONZALEZ OCASIO, SONIA N     ADDRESS ON FILE
Gonzalez Ocasio, Wilfredo    ADDRESS ON FILE
GONZALEZ OCASIO, ZOHIRA      ADDRESS ON FILE
GONZALEZ OJEDA, FELIX L.     ADDRESS ON FILE
GONZALEZ OJEDA, FRANCIS      ADDRESS ON FILE
Gonzalez Ojeda, Ivette       ADDRESS ON FILE




                                                                         Page 3372 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3373 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                Creditor Matrix

Creditor Name                            Address1                  Address2                                  Address3   Address4   City         State   PostalCode   Country
GONZALEZ OJEDA, JENNIFER                 ADDRESS ON FILE
GONZALEZ OJEDA, LUIS                     ADDRESS ON FILE
GONZALEZ OJEDA, MANUEL                   ADDRESS ON FILE
GONZALEZ OJEDA, MICHAEL                  ADDRESS ON FILE
GONZALEZ OJEDA, REM                      ADDRESS ON FILE
GONZALEZ OJEDA, SERGIO                   ADDRESS ON FILE
GONZALEZ OJEDA, VICTOR                   ADDRESS ON FILE
GONZALEZ OLAN, AIDA E.                   ADDRESS ON FILE
GONZALEZ OLAN, JUANA                     ADDRESS ON FILE
GONZALEZ OLAVARRIA, MARIA                ADDRESS ON FILE
GONZALEZ OLAZAGASTI, SILBIA              ADDRESS ON FILE
GONZALEZ OLIVA, EDWIN                    ADDRESS ON FILE
GONZALEZ OLIVARI, GENESIS                ADDRESS ON FILE
GONZALEZ OLIVER & MARTINEZ LAW OFFICES   PMB 315 SUITE 112         100 GRAND BOULEVARD PASEOS                                      SAN JUAN     PR      00926‐5955
Gonzalez Oliver, Angel L                 ADDRESS ON FILE
GONZALEZ OLIVER, NANCY                   ADDRESS ON FILE
GONZALEZ OLIVERA, EDWARDO                ADDRESS ON FILE
GONZALEZ OLIVERA, ELAINE                 ADDRESS ON FILE
GONZALEZ OLIVERA, ELIZABETH L            ADDRESS ON FILE
GONZALEZ OLIVERA, EMILY                  ADDRESS ON FILE
GONZALEZ OLIVERA, RAFAEL J.              ADDRESS ON FILE
GONZALEZ OLIVERAS, EILEEN                ADDRESS ON FILE
GONZALEZ OLIVERAS, ELMER L.              ADDRESS ON FILE
GONZALEZ OLIVERAS, MARIA E               ADDRESS ON FILE
GONZALEZ OLIVERAS, MYRIAM L              ADDRESS ON FILE
GONZALEZ OLIVERAS, OSCAR                 ADDRESS ON FILE
GONZALEZ OLIVERAS, RAUL E.               ADDRESS ON FILE
GONZALEZ OLIVERAS, WALESKA               ADDRESS ON FILE
GONZALEZ OLIVERAS, XIOMARA               ADDRESS ON FILE
GONZALEZ OLIVERO, FABIAN                 ADDRESS ON FILE
GONZALEZ OLIVERO, IRIS ESTHER            ADDRESS ON FILE
GONZALEZ OLIVERO, VILMA I                ADDRESS ON FILE
GONZALEZ OLIVERO, VIVIAN                 ADDRESS ON FILE
GONZALEZ OLIVIERI, JOSE                  ADDRESS ON FILE
GONZALEZ OLIVIERO, CARMEN E              ADDRESS ON FILE
GONZALEZ OLIVO, ADALBERTO                ADDRESS ON FILE
GONZALEZ OLIVO, ADALBERTO                ADDRESS ON FILE
GONZALEZ OLIVO, ANGEL                    ADDRESS ON FILE
Gonzalez Olivo, David                    ADDRESS ON FILE
GONZALEZ OLIVO, EUSEBIO                  ADDRESS ON FILE
GONZALEZ OLIVO, JOHANNA                  ADDRESS ON FILE
GONZALEZ OLIVO, LUZ M                    ADDRESS ON FILE
GONZALEZ OLIVO, MARIA DE L               ADDRESS ON FILE
GONZALEZ OLIVO, MARIA I                  ADDRESS ON FILE
GONZALEZ OLIVO, MARILU                   ADDRESS ON FILE
GONZALEZ OLIVO, ROBERTO                  ADDRESS ON FILE
GONZALEZ OLLER, GEORGINA I.              ADDRESS ON FILE
GONZALEZ OLMEDA, MARICARMEN              ADDRESS ON FILE
GONZALEZ OLMEDA, NELSON                  ADDRESS ON FILE
GONZALEZ OLMO, JOSE M                    ADDRESS ON FILE
GONZALEZ OLMO, MANUEL                    ADDRESS ON FILE
GONZALEZ OLMO, MIGUEL                    ADDRESS ON FILE
GONZALEZ OLMO, NELIDA                    ADDRESS ON FILE
GONZALEZ OLMO, PABLO                     ADDRESS ON FILE
GONZALEZ ONEILL, CARMEN                  ADDRESS ON FILE
GONZALEZ ONEILL, IRCA M                  ADDRESS ON FILE
GONZALEZ ONEILL, ROBERTO                 ADDRESS ON FILE
GONZALEZ OPIO, JULIO E                   ADDRESS ON FILE
GONZALEZ OPPEHEIMER MD, CARLOS A         ADDRESS ON FILE
Gonzalez Oppenheimer, Cesar              ADDRESS ON FILE




                                                                                            Page 3373 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3374 of 3500
                                                                                17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                    Address1                  Address2                                     Address3   Address4   City         State   PostalCode   Country
GONZALEZ OQUENDO, ADILEN         ADDRESS ON FILE
GONZALEZ OQUENDO, CARMEN IRIS    ADDRESS ON FILE
GONZALEZ OQUENDO, DIMARIE        ADDRESS ON FILE
GONZALEZ OQUENDO, FEDERI         ADDRESS ON FILE
GONZALEZ OQUENDO, JAVIER         ADDRESS ON FILE
GONZALEZ OQUENDO, OSCAR          ADDRESS ON FILE
GONZALEZ OQUENDO, RADAMES        ADDRESS ON FILE
GONZALEZ ORENCH, WANDA           ADDRESS ON FILE
GONZALEZ ORENCH, YASMIN N        ADDRESS ON FILE
GONZALEZ ORENGO, ANNIE A         ADDRESS ON FILE
GONZALEZ ORENGO, BRENDA E        ADDRESS ON FILE
GONZALEZ ORENGO, CARLOS          ADDRESS ON FILE
GONZALEZ ORENGO, SYLMARIE        ADDRESS ON FILE
GONZALEZ ORIOL, CARLOS E         ADDRESS ON FILE
GONZALEZ ORNES, INES             ADDRESS ON FILE
GONZALEZ ORNES, INES A.          ADDRESS ON FILE
Gonzalez Ornes, Jose A.          ADDRESS ON FILE
GONZALEZ ORNES, JOSE ARNALDO     ADDRESS ON FILE
GONZALEZ ORNES, MAYRA            ADDRESS ON FILE
GONZALEZ ORONA, JOSE JUAN        ADDRESS ON FILE
GONZALEZ OROPEZA, MARIA I        ADDRESS ON FILE
Gonzalez Orozco, Javier E        ADDRESS ON FILE
GONZALEZ OROZCO, LUIS            ADDRESS ON FILE
GONZALEZ ORRIOLS, JOSUE          ADDRESS ON FILE
Gonzalez Orsini, Eduardo         ADDRESS ON FILE
GONZALEZ ORSINI, LUIS            ADDRESS ON FILE
GONZALEZ ORSINI, YEIDY           ADDRESS ON FILE
GONZALEZ ORTA, EDUARDO           ADDRESS ON FILE
GONZALEZ ORTA, GABRIEL J         ADDRESS ON FILE
GONZALEZ ORTA, INES              ADDRESS ON FILE
GONZALEZ ORTA, RAMON GIL         ADDRESS ON FILE
GONZALEZ ORTEGA, ANAMARIA        ADDRESS ON FILE
GONZALEZ ORTEGA, CARLOS M.       ADDRESS ON FILE
GONZALEZ ORTEGA, DORIS           ADDRESS ON FILE
GONZALEZ ORTEGA, ELSIE           ADDRESS ON FILE
GONZALEZ ORTEGA, HARRY           ADDRESS ON FILE
GONZALEZ ORTEGA, JORGE           ADDRESS ON FILE
GONZALEZ ORTEGA, JORGE L.        ADDRESS ON FILE
GONZALEZ ORTEGA, JOSE            ADDRESS ON FILE
GONZALEZ ORTEGA, KAREN           ADDRESS ON FILE
GONZALEZ ORTEGA, LEONARDO        ADDRESS ON FILE
Gonzalez Ortega, Luis M          ADDRESS ON FILE
GONZALEZ ORTEGA, LUZ S           ADDRESS ON FILE
Gonzalez Ortega, Migdalia        ADDRESS ON FILE
GONZALEZ ORTEGA, NEYSHA          ADDRESS ON FILE
GONZALEZ ORTIZ LAW OFFICES PSC   EDIF MERCANTIL PLAZA      PH 1616 2 AVE PONCE DE LEON                                        SAN JUAN     PR      00918
GONZALEZ ORTIZ MD, DORIS         ADDRESS ON FILE
GONZALEZ ORTIZ MD, ELENA         ADDRESS ON FILE
GONZALEZ ORTIZ MD, EVELYN        ADDRESS ON FILE
GONZALEZ ORTIZ, ABDIEL           ADDRESS ON FILE
GONZALEZ ORTIZ, ADILIA           ADDRESS ON FILE
GONZALEZ ORTIZ, ALEJANDRO        ADDRESS ON FILE
GONZALEZ ORTIZ, ALFREDO          ADDRESS ON FILE
GONZALEZ ORTIZ, AMILCAR          ADDRESS ON FILE
GONZALEZ ORTIZ, ANA IVELISSE     ADDRESS ON FILE
GONZALEZ ORTIZ, ANA R            ADDRESS ON FILE
GONZALEZ ORTIZ, ANDRES           ADDRESS ON FILE
GONZALEZ ORTIZ, ANGEL            ADDRESS ON FILE
GONZALEZ ORTIZ, ANGEL M          ADDRESS ON FILE
GONZALEZ ORTIZ, ANGEL M          ADDRESS ON FILE




                                                                                         Page 3374 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3375 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ORTIZ, ANGEL N.     ADDRESS ON FILE
GONZALEZ ORTIZ, ANGEL R.     ADDRESS ON FILE
GONZALEZ ORTIZ, ANGELY       ADDRESS ON FILE
GONZALEZ ORTIZ, ANTONIA      ADDRESS ON FILE
GONZALEZ ORTIZ, ANTONIO      ADDRESS ON FILE
GONZALEZ ORTIZ, ARTURO       ADDRESS ON FILE
GONZALEZ ORTIZ, ASLYN Y      ADDRESS ON FILE
GONZALEZ ORTIZ, BELENIA      ADDRESS ON FILE
GONZALEZ ORTIZ, CARLOS       ADDRESS ON FILE
GONZALEZ ORTIZ, CARLOS       ADDRESS ON FILE
GONZALEZ ORTIZ, CARLOS       ADDRESS ON FILE
GONZALEZ ORTIZ, CARLOS       ADDRESS ON FILE
GONZALEZ ORTIZ, CARLOS       ADDRESS ON FILE
GONZALEZ ORTIZ, CARLOS       ADDRESS ON FILE
GONZALEZ ORTIZ, CARMEN       ADDRESS ON FILE
GONZALEZ ORTIZ, CARMEN       ADDRESS ON FILE
Gonzalez Ortiz, Carmen D     ADDRESS ON FILE
GONZALEZ ORTIZ, CARMEN I.    ADDRESS ON FILE
Gonzalez Ortiz, Carmen M     ADDRESS ON FILE
GONZALEZ ORTIZ, CARMEN N     ADDRESS ON FILE
GONZALEZ ORTIZ, CARMEN R.    ADDRESS ON FILE
GONZALEZ ORTIZ, CESAR        ADDRESS ON FILE
GONZALEZ ORTIZ, CHRISTIAN    ADDRESS ON FILE
GONZALEZ ORTIZ, CRISTOBAL    ADDRESS ON FILE
GONZALEZ ORTIZ, CRUZ NILDA   ADDRESS ON FILE
GONZALEZ ORTIZ, DANIEL       ADDRESS ON FILE
GONZALEZ ORTIZ, DAVID        ADDRESS ON FILE
GONZALEZ ORTIZ, DELBERT L    ADDRESS ON FILE
GONZALEZ ORTIZ, DELYTZA      ADDRESS ON FILE
GONZALEZ ORTIZ, DEMETRIO     ADDRESS ON FILE
GONZALEZ ORTIZ, DIANA        ADDRESS ON FILE
GONZALEZ ORTIZ, DIANA E.     ADDRESS ON FILE
Gonzalez Ortiz, Dioselyne    ADDRESS ON FILE
GONZALEZ ORTIZ, DORIS        ADDRESS ON FILE
Gonzalez Ortiz, Eda E        ADDRESS ON FILE
GONZALEZ ORTIZ, EDGAR        ADDRESS ON FILE
GONZALEZ ORTIZ, EDILBERTO    ADDRESS ON FILE
GONZALEZ ORTIZ, EDNA         ADDRESS ON FILE
GONZALEZ ORTIZ, EDWARD       ADDRESS ON FILE
GONZALEZ ORTIZ, EDWIN        ADDRESS ON FILE
Gonzalez Ortiz, Efrain       ADDRESS ON FILE
GONZALEZ ORTIZ, ELBA         ADDRESS ON FILE
GONZALEZ ORTIZ, ELIZABETH    ADDRESS ON FILE
GONZALEZ ORTIZ, ELIZABETH    ADDRESS ON FILE
GONZALEZ ORTIZ, ELOIN        ADDRESS ON FILE
GONZALEZ ORTIZ, ELOIN        ADDRESS ON FILE
GONZALEZ ORTIZ, ELSA M       ADDRESS ON FILE
GONZALEZ ORTIZ, EMMANUEL     ADDRESS ON FILE
GONZALEZ ORTIZ, EMMANUEL     ADDRESS ON FILE
GONZALEZ ORTIZ, ENID         ADDRESS ON FILE
GONZALEZ ORTIZ, ENID M       ADDRESS ON FILE
GONZALEZ ORTIZ, ESMERALDA    ADDRESS ON FILE
GONZALEZ ORTIZ, EVELYN       ADDRESS ON FILE
GONZALEZ ORTIZ, EVELYN C     ADDRESS ON FILE
GONZALEZ ORTIZ, FELICITA     ADDRESS ON FILE
GONZALEZ ORTIZ, FELIX        ADDRESS ON FILE
Gonzalez Ortiz, Fernando     ADDRESS ON FILE
GONZALEZ ORTIZ, FRANCISCA    ADDRESS ON FILE
GONZALEZ ORTIZ, FRANCISCO    ADDRESS ON FILE
GONZALEZ ORTIZ, GINERYS      ADDRESS ON FILE




                                                                         Page 3375 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3376 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ORTIZ, GISELLE M    ADDRESS ON FILE
GONZALEZ ORTIZ, GLENDALYS    ADDRESS ON FILE
GONZALEZ ORTIZ, GLORIA       ADDRESS ON FILE
GONZALEZ ORTIZ, GUILLERMO    ADDRESS ON FILE
GONZALEZ ORTIZ, HAZEL        ADDRESS ON FILE
GONZALEZ ORTIZ, HECTOR       ADDRESS ON FILE
GONZALEZ ORTIZ, HECTOR L     ADDRESS ON FILE
GONZALEZ ORTIZ, HECTOR R     ADDRESS ON FILE
GONZALEZ ORTIZ, ILEANA       ADDRESS ON FILE
Gonzalez Ortiz, Iris A.      ADDRESS ON FILE
GONZALEZ ORTIZ, IRIS M.      ADDRESS ON FILE
GONZALEZ ORTIZ, IRIS M.      ADDRESS ON FILE
GONZALEZ ORTIZ, ISAAC        ADDRESS ON FILE
GONZALEZ ORTIZ, ISADORA M.   ADDRESS ON FILE
GONZALEZ ORTIZ, ISMAEL       ADDRESS ON FILE
GONZALEZ ORTIZ, ISRAEL       ADDRESS ON FILE
GONZALEZ ORTIZ, IVANNIE      ADDRESS ON FILE
GONZALEZ ORTIZ, IVELISSE N   ADDRESS ON FILE
Gonzalez Ortiz, Ivy A        ADDRESS ON FILE
GONZALEZ ORTIZ, JAVIER       ADDRESS ON FILE
Gonzalez Ortiz, Jayson X.    ADDRESS ON FILE
GONZALEZ ORTIZ, JENIFFER     ADDRESS ON FILE
GONZALEZ ORTIZ, JENNIFER M   ADDRESS ON FILE
GONZALEZ ORTIZ, JENNY        ADDRESS ON FILE
GONZALEZ ORTIZ, JESSICA      ADDRESS ON FILE
GONZALEZ ORTIZ, JESUS        ADDRESS ON FILE
GONZALEZ ORTIZ, JOEL         ADDRESS ON FILE
GONZALEZ ORTIZ, JOEL         ADDRESS ON FILE
GONZALEZ ORTIZ, JORGE        ADDRESS ON FILE
GONZALEZ ORTIZ, JORGE        ADDRESS ON FILE
GONZALEZ ORTIZ, JORGE L.     ADDRESS ON FILE
Gonzalez Ortiz, Jorge M      ADDRESS ON FILE
GONZALEZ ORTIZ, JORGE O.     ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE         ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE         ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE         ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE         ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE A       ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE I       ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE J       ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE L       ADDRESS ON FILE
Gonzalez Ortiz, Jose M       ADDRESS ON FILE
GONZALEZ ORTIZ, JOSE M       ADDRESS ON FILE
Gonzalez Ortiz, Jose Rene    ADDRESS ON FILE
GONZALEZ ORTIZ, JOSUE        ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN         ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN         ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN         ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN A       ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN A       ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN A.      ADDRESS ON FILE
GONZALEZ ORTIZ, JUAN M.      ADDRESS ON FILE
GONZALEZ ORTIZ, JUANA        ADDRESS ON FILE
GONZALEZ ORTIZ, JULIA        ADDRESS ON FILE
Gonzalez Ortiz, Julio E      ADDRESS ON FILE
GONZALEZ ORTIZ, KENNETH      ADDRESS ON FILE
GONZALEZ ORTIZ, KESTER       ADDRESS ON FILE
GONZALEZ ORTIZ, KIOMARA      ADDRESS ON FILE
GONZALEZ ORTIZ, LAURA        ADDRESS ON FILE
GONZALEZ ORTIZ, LILLIAM      ADDRESS ON FILE




                                                                         Page 3376 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3377 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ORTIZ, LILLIAM           ADDRESS ON FILE
GONZALEZ ORTIZ, LISANDRA          ADDRESS ON FILE
GONZALEZ ORTIZ, LUCILA            ADDRESS ON FILE
GONZALEZ ORTIZ, LUIS A            ADDRESS ON FILE
GONZALEZ ORTIZ, LUIS A            ADDRESS ON FILE
Gonzalez Ortiz, Luis O.           ADDRESS ON FILE
GONZALEZ ORTIZ, LUIS R            ADDRESS ON FILE
GONZALEZ ORTIZ, LYDIA             ADDRESS ON FILE
GONZALEZ ORTIZ, LYDIA E           ADDRESS ON FILE
GONZALEZ ORTIZ, LYMARIS           ADDRESS ON FILE
GONZALEZ ORTIZ, MADELINE          ADDRESS ON FILE
GONZALEZ ORTIZ, MANUEL            ADDRESS ON FILE
GONZALEZ ORTIZ, MARCELINO         ADDRESS ON FILE
GONZALEZ ORTIZ, MARCOS            ADDRESS ON FILE
GONZALEZ ORTIZ, MARGARITA         ADDRESS ON FILE
GONZALEZ ORTIZ, MARGARITA         ADDRESS ON FILE
GONZALEZ ORTIZ, MARGGIE           ADDRESS ON FILE
GONZALEZ ORTIZ, MARGGIE           ADDRESS ON FILE
GONZALEZ ORTIZ, MARIA C.          ADDRESS ON FILE
GONZALEZ ORTIZ, MARIA DE LOS      ADDRESS ON FILE
GONZALEZ ORTIZ, MARIA DE LOS A.   ADDRESS ON FILE
GONZALEZ ORTIZ, MARIA DEL         ADDRESS ON FILE
GONZALEZ ORTIZ, MARIA I           ADDRESS ON FILE
GONZALEZ ORTIZ, MARIA L.          ADDRESS ON FILE
GONZALEZ ORTIZ, MARIBEL           ADDRESS ON FILE
GONZALEZ ORTIZ, MARIBEL           ADDRESS ON FILE
GONZALEZ ORTIZ, MARITZA           ADDRESS ON FILE
GONZALEZ ORTIZ, MARITZA           ADDRESS ON FILE
GONZALEZ ORTIZ, MARTIN            ADDRESS ON FILE
GONZALEZ ORTIZ, MICHELLE M.       ADDRESS ON FILE
GONZALEZ ORTIZ, MIKE              ADDRESS ON FILE
GONZALEZ ORTIZ, MILTON            ADDRESS ON FILE
GONZALEZ ORTIZ, NATALIA           ADDRESS ON FILE
Gonzalez Ortiz, Nelson            ADDRESS ON FILE
GONZALEZ ORTIZ, NOE               ADDRESS ON FILE
GONZALEZ ORTIZ, NOEL              ADDRESS ON FILE
GONZALEZ ORTIZ, NOELIA            ADDRESS ON FILE
GONZALEZ ORTIZ, OLGA              ADDRESS ON FILE
Gonzalez Ortiz, Orlando           ADDRESS ON FILE
GONZALEZ ORTIZ, PEDRO             ADDRESS ON FILE
GONZALEZ ORTIZ, PERRY             ADDRESS ON FILE
Gonzalez Ortiz, Perry R.          ADDRESS ON FILE
GONZALEZ ORTIZ, PRISCILA          ADDRESS ON FILE
GONZALEZ ORTIZ, RAMON             ADDRESS ON FILE
GONZALEZ ORTIZ, RAUL              ADDRESS ON FILE
GONZALEZ ORTIZ, RAUL              ADDRESS ON FILE
GONZALEZ ORTIZ, REGINA            ADDRESS ON FILE
GONZALEZ ORTIZ, RICARDO           ADDRESS ON FILE
GONZALEZ ORTIZ, ROSA H            ADDRESS ON FILE
GONZALEZ ORTIZ, ROSA M            ADDRESS ON FILE
GONZALEZ ORTIZ, ROSELYN           ADDRESS ON FILE
GONZALEZ ORTIZ, RUFINA            ADDRESS ON FILE
GONZALEZ ORTIZ, RUTH              ADDRESS ON FILE
GONZALEZ ORTIZ, RUTH I            ADDRESS ON FILE
GONZALEZ ORTIZ, SAMUEL            ADDRESS ON FILE
GONZALEZ ORTIZ, SANDRA J          ADDRESS ON FILE
GONZALEZ ORTIZ, SARALI            ADDRESS ON FILE
GONZALEZ ORTIZ, SONIA             ADDRESS ON FILE
GONZALEZ ORTIZ, SONIA N           ADDRESS ON FILE
GONZALEZ ORTIZ, STEVEN            ADDRESS ON FILE




                                                                              Page 3377 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3378 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Ortiz, Tomas         ADDRESS ON FILE
GONZALEZ ORTIZ, VICTOR        ADDRESS ON FILE
GONZALEZ ORTIZ, VICTORIA      ADDRESS ON FILE
GONZALEZ ORTIZ, WANDA I       ADDRESS ON FILE
GONZALEZ ORTIZ, WILFREDO      ADDRESS ON FILE
GONZALEZ ORTIZ, WILNELIA      ADDRESS ON FILE
GONZALEZ ORTIZ, YASHAIRA      ADDRESS ON FILE
GONZALEZ ORTIZ, YESENIA       ADDRESS ON FILE
GONZALEZ ORTIZ, YESENIA       ADDRESS ON FILE
GONZALEZ ORTIZ, YISETTE       ADDRESS ON FILE
GONZALEZ ORTIZ, ZAHIRA        ADDRESS ON FILE
GONZALEZ ORTIZ, ZENAIDA       ADDRESS ON FILE
GONZALEZ ORTIZ,CHRISTIAN      ADDRESS ON FILE
GONZALEZ ORTIZ,SARA L.        ADDRESS ON FILE
GONZALEZ OSORIA, CARMEN       ADDRESS ON FILE
GONZALEZ OSORIA, WILNELIA     ADDRESS ON FILE
GONZALEZ OSORIO, MINERVA      ADDRESS ON FILE
GONZALEZ OTERO, CORALYS       ADDRESS ON FILE
GONZALEZ OTERO, EDWIN         ADDRESS ON FILE
GONZALEZ OTERO, EVANGELINA    ADDRESS ON FILE
GONZALEZ OTERO, HIRAM O.      ADDRESS ON FILE
GONZALEZ OTERO, JAVIER        ADDRESS ON FILE
GONZALEZ OTERO, JOSE          ADDRESS ON FILE
GONZALEZ OTERO, JUAN F        ADDRESS ON FILE
GONZALEZ OTERO, LUIS          ADDRESS ON FILE
GONZALEZ OTERO, LUZ           ADDRESS ON FILE
GONZALEZ OTERO, LUZ E         ADDRESS ON FILE
GONZALEZ OTERO, MARIA DEL C   ADDRESS ON FILE
GONZALEZ OTERO, MILDRED       ADDRESS ON FILE
GONZALEZ OTERO, NICK          ADDRESS ON FILE
Gonzalez Otero, Paulino       ADDRESS ON FILE
GONZALEZ OTERO, RAMDWIN       ADDRESS ON FILE
GONZALEZ OTERO, TANIA         ADDRESS ON FILE
GONZALEZ OTERO, YERRY R.      ADDRESS ON FILE
GONZALEZ OTERO, ZAIDA L       ADDRESS ON FILE
GONZALEZ OUFFRE, JOSE         ADDRESS ON FILE
GONZALEZ OYOLA, DAVID         ADDRESS ON FILE
GONZALEZ OYOLA, JUANA         ADDRESS ON FILE
GONZALEZ OYOLA, JUANITA       ADDRESS ON FILE
GONZALEZ OYOLA, MAGALI E      ADDRESS ON FILE
GONZALEZ OYOLA, MARGARITA     ADDRESS ON FILE
GONZALEZ OYOLA, MYRTA         ADDRESS ON FILE
GONZALEZ PABON, ABAD          ADDRESS ON FILE
GONZALEZ PABON, ADA N         ADDRESS ON FILE
GONZALEZ PABON, CARLOS A.     ADDRESS ON FILE
Gonzalez Pabon, Carlos J      ADDRESS ON FILE
GONZALEZ PABON, CRISTOBAL     ADDRESS ON FILE
GONZALEZ PABON, ERIC          ADDRESS ON FILE
GONZALEZ PABON, FELIX         ADDRESS ON FILE
GONZALEZ PABON, HECTOR        ADDRESS ON FILE
GONZALEZ PABON, IVELISSE      ADDRESS ON FILE
GONZALEZ PABON, JOSE          ADDRESS ON FILE
Gonzalez Pabon, Jose M.       ADDRESS ON FILE
Gonzalez Pabon, Jose R        ADDRESS ON FILE
GONZALEZ PABON, MANUEL        ADDRESS ON FILE
GONZALEZ PABON, MARIA E       ADDRESS ON FILE
GONZALEZ PABON, MARTA I       ADDRESS ON FILE
GONZALEZ PABON, MAYRA         ADDRESS ON FILE
GONZALEZ PABON, MIRIAM        ADDRESS ON FILE
GONZALEZ PABON, NILDA I       ADDRESS ON FILE




                                                                          Page 3378 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3379 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PABON, OLGA M           ADDRESS ON FILE
GONZALEZ PABON, YADIRA           ADDRESS ON FILE
GONZALEZ PABON,YAMIL             ADDRESS ON FILE
Gonzalez Pacheco, Angel L        ADDRESS ON FILE
GONZALEZ PACHECO, ANGELICA       ADDRESS ON FILE
GONZALEZ PACHECO, CARMEN M       ADDRESS ON FILE
GONZALEZ PACHECO, CYNTHYA        ADDRESS ON FILE
GONZALEZ PACHECO, DENISE         ADDRESS ON FILE
GONZALEZ PACHECO, EVELYN         ADDRESS ON FILE
GONZALEZ PACHECO, JACQUELINE     ADDRESS ON FILE
GONZALEZ PACHECO, JOSE           ADDRESS ON FILE
GONZALEZ PACHECO, JOSE           ADDRESS ON FILE
Gonzalez Pacheco, Jose A         ADDRESS ON FILE
GONZALEZ PACHECO, JOSE R         ADDRESS ON FILE
Gonzalez Pacheco, Karitza        ADDRESS ON FILE
GONZALEZ PACHECO, MARIA L        ADDRESS ON FILE
Gonzalez Pacheco, Melissa        ADDRESS ON FILE
GONZALEZ PACHECO, NEREIDA        ADDRESS ON FILE
GONZALEZ PACHECO, RAFAEL         ADDRESS ON FILE
GONZALEZ PACHECO, SHEILA         ADDRESS ON FILE
GONZALEZ PADILLA, ALTAGRACIA     ADDRESS ON FILE
GONZALEZ PADILLA, ANGEL M        ADDRESS ON FILE
Gonzalez Padilla, Beatriz Y.     ADDRESS ON FILE
Gonzalez Padilla, Cynthia N      ADDRESS ON FILE
GONZALEZ PADILLA, DOLORES        ADDRESS ON FILE
GONZALEZ PADILLA, GREGORIO       ADDRESS ON FILE
Gonzalez Padilla, Heriberto X.   ADDRESS ON FILE
GONZALEZ PADILLA, IRIS           ADDRESS ON FILE
GONZALEZ PADILLA, KAREN          ADDRESS ON FILE
GONZALEZ PADILLA, MANUEL A       ADDRESS ON FILE
GONZALEZ PADILLA, MELBA          ADDRESS ON FILE
GONZALEZ PADILLA, YESENIA        ADDRESS ON FILE
GONZALEZ PADIN, CARMEN D         ADDRESS ON FILE
GONZALEZ PADIN, EVA I            ADDRESS ON FILE
GONZALEZ PADIN, MARTA M          ADDRESS ON FILE
GONZALEZ PADRO, HECTOR           ADDRESS ON FILE
GONZALEZ PADRO, KARLA            ADDRESS ON FILE
GONZALEZ PADRO, LUZ              ADDRESS ON FILE
GONZALEZ PADRO, NELSON           ADDRESS ON FILE
GONZALEZ PADUA, HECTOR           ADDRESS ON FILE
GONZALEZ PADUA, VICTOR           ADDRESS ON FILE
GONZALEZ PAEZ, EDWIN             ADDRESS ON FILE
GONZALEZ PAGAN, AMELIA           ADDRESS ON FILE
GONZALEZ PAGAN, ANA              ADDRESS ON FILE
GONZALEZ PAGAN, ANA A.           ADDRESS ON FILE
GONZALEZ PAGAN, ANGEL            ADDRESS ON FILE
GONZALEZ PAGAN, ANGEL D.         ADDRESS ON FILE
GONZALEZ PAGAN, ASHLEY M         ADDRESS ON FILE
GONZALEZ PAGAN, ASTRID G         ADDRESS ON FILE
GONZALEZ PAGAN, AUREA E          ADDRESS ON FILE
GONZALEZ PAGAN, BETZAIDA         ADDRESS ON FILE
GONZALEZ PAGAN, BETZAIDA         ADDRESS ON FILE
GONZALEZ PAGAN, CARLOS           ADDRESS ON FILE
Gonzalez Pagan, Carlos G         ADDRESS ON FILE
Gonzalez Pagan, Carmen J         ADDRESS ON FILE
GONZALEZ PAGAN, CHARLIE W        ADDRESS ON FILE
GONZALEZ PAGAN, DAVID            ADDRESS ON FILE
GONZALEZ PAGAN, DENISSE M        ADDRESS ON FILE
GONZALEZ PAGAN, DENNIS R         ADDRESS ON FILE
GONZALEZ PAGAN, DOMINGO          ADDRESS ON FILE




                                                                             Page 3379 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3380 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PAGAN, ENID              ADDRESS ON FILE
GONZALEZ PAGAN, ERIC              ADDRESS ON FILE
GONZALEZ PAGAN, ERNESTO           ADDRESS ON FILE
GONZALEZ PAGAN, FERNANDO          ADDRESS ON FILE
GONZALEZ PAGAN, FRANCISCO         ADDRESS ON FILE
GONZALEZ PAGAN, FRANKIL           ADDRESS ON FILE
GONZALEZ PAGAN, GABRIEL O.        ADDRESS ON FILE
Gonzalez Pagan, Giovanni          ADDRESS ON FILE
GONZALEZ PAGAN, GLORI             ADDRESS ON FILE
GONZALEZ PAGAN, GLORIA            ADDRESS ON FILE
GONZALEZ PAGAN, HECTOR            ADDRESS ON FILE
GONZALEZ PAGAN, HILDA             ADDRESS ON FILE
GONZALEZ PAGAN, IRMA              ADDRESS ON FILE
GONZALEZ PAGAN, IVAN              ADDRESS ON FILE
GONZALEZ PAGAN, JAVIER            ADDRESS ON FILE
GONZALEZ PAGAN, JAZMIN            ADDRESS ON FILE
GONZALEZ PAGAN, JESSICA           ADDRESS ON FILE
Gonzalez Pagan, Jose A            ADDRESS ON FILE
Gonzalez Pagan, Jose F            ADDRESS ON FILE
GONZALEZ PAGAN, JOSE G.           ADDRESS ON FILE
GONZALEZ PAGAN, JOSE I.           ADDRESS ON FILE
GONZALEZ PAGAN, JOSE O            ADDRESS ON FILE
GONZALEZ PAGAN, JULISSA           ADDRESS ON FILE
GONZALEZ PAGAN, LEONCIO           ADDRESS ON FILE
GONZALEZ PAGAN, LINDA M.          ADDRESS ON FILE
GONZALEZ PAGAN, LUIS M.           ADDRESS ON FILE
GONZALEZ PAGAN, LYNETTE A         ADDRESS ON FILE
Gonzalez Pagan, Manuel A          ADDRESS ON FILE
GONZALEZ PAGAN, MARIA             ADDRESS ON FILE
GONZALEZ PAGAN, MARIA D           ADDRESS ON FILE
Gonzalez Pagan, Maria De L.       ADDRESS ON FILE
GONZALEZ PAGAN, MARIA G           ADDRESS ON FILE
GONZALEZ PAGAN, MELISSA           ADDRESS ON FILE
GONZALEZ PAGAN, MILDRED           ADDRESS ON FILE
GONZALEZ PAGAN, MISAEL            ADDRESS ON FILE
GONZALEZ PAGAN, NEREIDA           ADDRESS ON FILE
GONZALEZ PAGAN, NILDA             ADDRESS ON FILE
GONZALEZ PAGAN, ORLANDO           ADDRESS ON FILE
GONZALEZ PAGAN, PEDRO J           ADDRESS ON FILE
GONZALEZ PAGAN, PEDRO N           ADDRESS ON FILE
GONZALEZ PAGAN, RAFAEL J.         ADDRESS ON FILE
GONZALEZ PAGAN, ROSAEL            ADDRESS ON FILE
GONZALEZ PAGAN, SANTA             ADDRESS ON FILE
GONZALEZ PAGAN, STEVEN            ADDRESS ON FILE
GONZALEZ PAGAN, VALERIA           ADDRESS ON FILE
GONZALEZ PAGAN, YAITZA            ADDRESS ON FILE
GONZALEZ PALACIOS, EDDER          ADDRESS ON FILE
GONZALEZ PALACIOS, HECTOR A.      ADDRESS ON FILE
GONZALEZ PALACIOS, JOSE G.        ADDRESS ON FILE
GONZALEZ PANDO, ADRIANA           ADDRESS ON FILE
GONZALEZ PANIAGUA, JULIO A        ADDRESS ON FILE
GONZALEZ PANTALEON MD, BALTAZAR   ADDRESS ON FILE
GONZALEZ PANTALEON, PEDRO         ADDRESS ON FILE
GONZALEZ PANTELOGLOUS, JOSEPH     ADDRESS ON FILE
GONZALEZ PANTELOGLOUS, JOSEPH     ADDRESS ON FILE
GONZALEZ PANTOJA, GLADYS M        ADDRESS ON FILE
GONZALEZ PANTOJA, HUMBERTO        ADDRESS ON FILE
GONZALEZ PANTOJA, MERCEDES        ADDRESS ON FILE
GONZALEZ PANTOJA, RAMONA          ADDRESS ON FILE
GONZALEZ PAOLI, JUANA M           ADDRESS ON FILE




                                                                              Page 3380 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3381 of 3500
                                                                                17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                    Address1                             Address2                  Address3   Address4   City         State   PostalCode   Country
GONZALEZ PAONESSA, ENIDCELY      ADDRESS ON FILE
GONZALEZ PARDO, JEANNETTE        ADDRESS ON FILE
GONZALEZ PARDO, JUAN M.          ADDRESS ON FILE
GONZALEZ PARDO, NANCY J          ADDRESS ON FILE
GONZALEZ PARDO, WANDA I          ADDRESS ON FILE
GONZALEZ PAREDES, JORGE          ADDRESS ON FILE
Gonzalez Paredes, Jose A         ADDRESS ON FILE
GONZALEZ PARES MD, ESTHER        ADDRESS ON FILE
GONZALEZ PARES MD, ESTHER N      ADDRESS ON FILE
GONZALEZ PARES, FRANCISCO J      ADDRESS ON FILE
GONZALEZ PARRILLA, INES          ADDRESS ON FILE
GONZALEZ PARRILLA, JUANITA       ADDRESS ON FILE
GONZALEZ PARRILLA, JULIA         ADDRESS ON FILE
GONZALEZ PARRILLA, MARIA O       ADDRESS ON FILE
GONZALEZ PASARELL, DAISY M       ADDRESS ON FILE
GONZALEZ PASCUAL, CARMEN H       ADDRESS ON FILE
GONZALEZ PASCUAL, IVAN           ADDRESS ON FILE
GONZALEZ PAULA, RAMON            ADDRESS ON FILE
Gonzalez Paulino, Rosa V         ADDRESS ON FILE
GONZALEZ PAZ, ANDRES             ADDRESS ON FILE
GONZALEZ PAZ, JANNETTE           ADDRESS ON FILE
GONZALEZ PAZ, MARITZA            ADDRESS ON FILE
GONZALEZ PAZO, CESAR             ADDRESS ON FILE
GONZALEZ PEDROGO, CARMEN M       ADDRESS ON FILE
GONZALEZ PEDROGO, LYDIA E        ADDRESS ON FILE
GONZALEZ PEDROGO, MARIA          ADDRESS ON FILE
GONZALEZ PEDROSA, AVELINO        ADDRESS ON FILE
GONZALEZ PEDROZA MD, OSCAR       ADDRESS ON FILE
GONZALEZ PEDROZA, MARITZA        ADDRESS ON FILE
GONZALEZ PEDROZA, MARITZA        ADDRESS ON FILE
GONZALEZ PELLOT, EDWIN R.        ADDRESS ON FILE
GONZALEZ PELLOT, MARIA I         ADDRESS ON FILE
GONZALEZ PELLOT, MIGDALIA        ADDRESS ON FILE
GONZALEZ PELLOT, PATRICIA        ADDRESS ON FILE
GONZALEZ PENA, ALEXANDER         ADDRESS ON FILE
GONZALEZ PENA, ASLIN             ADDRESS ON FILE
GONZALEZ PENA, EILEEN            ADDRESS ON FILE
GONZALEZ PENA, EMMANUEL          ADDRESS ON FILE
GONZALEZ PENA, HECTOR A          ADDRESS ON FILE
GONZALEZ PENA, IRIS M            ADDRESS ON FILE
GONZALEZ PENA, KATIA             ADDRESS ON FILE
GONZALEZ PENA, LUZ R             ADDRESS ON FILE
GONZALEZ PENA, MANUEL            ADDRESS ON FILE
GONZALEZ PENA, NESTOR            ADDRESS ON FILE
GONZALEZ PENA, RAFAEL            ADDRESS ON FILE
GONZALEZ PENA, RAFAEL LUIS       ADDRESS ON FILE
GONZALEZ PENA, RAMONA            ADDRESS ON FILE
GONZALEZ PENA, YARLEEN           ADDRESS ON FILE
GONZALEZ PERAMO, ELENA M         ADDRESS ON FILE
GONZALEZ PERCY, NAYDA E          ADDRESS ON FILE
GONZALEZ PERDOMO, VALERIE        ADDRESS ON FILE
GONZALEZ PEREA, ANA A            ADDRESS ON FILE
GONZALEZ PEREA, ANA A            ADDRESS ON FILE
GONZALEZ PEREA, NATIVIDAD        ADDRESS ON FILE
GONZALEZ PEREIRA, HECTOR JOSE    ADDRESS ON FILE
GONZALEZ PEREIRA, MARIA          ADDRESS ON FILE
GONZALEZ PEREIRA, RAMONITA       ADDRESS ON FILE
GONZALEZ PEREZ MANAGEMENT INC.   URB. FUENTEBELLA 1593 CALLE TORINO                                                   TOA ALTA     PR      00953‐0000
GONZALEZ PEREZ MD, MIGUEL        ADDRESS ON FILE
GONZALEZ PEREZ, ABEL             ADDRESS ON FILE




                                                                                 Page 3381 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3382 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PEREZ, ABNER          ADDRESS ON FILE
GONZALEZ PEREZ, AILEEN H       ADDRESS ON FILE
GONZALEZ PEREZ, AL             ADDRESS ON FILE
GONZALEZ PEREZ, ALBERTO        ADDRESS ON FILE
Gonzalez Perez, Alberto L      ADDRESS ON FILE
GONZALEZ PEREZ, ALEJANDRO      ADDRESS ON FILE
GONZALEZ PEREZ, ALEXANDER      ADDRESS ON FILE
GONZALEZ PEREZ, ALEXIS         ADDRESS ON FILE
GONZALEZ PEREZ, ALFREDO        ADDRESS ON FILE
Gonzalez Perez, Alfredo        ADDRESS ON FILE
GONZALEZ PEREZ, ALMA I         ADDRESS ON FILE
GONZALEZ PEREZ, AMADOR         ADDRESS ON FILE
GONZALEZ PEREZ, AMARILIS       ADDRESS ON FILE
GONZALEZ PEREZ, AMAURY         ADDRESS ON FILE
GONZALEZ PEREZ, ANA            ADDRESS ON FILE
GONZALEZ PEREZ, ANA            ADDRESS ON FILE
GONZALEZ PEREZ, ANA C          ADDRESS ON FILE
GONZALEZ PEREZ, ANA DELIA      ADDRESS ON FILE
GONZALEZ PEREZ, ANA L.         ADDRESS ON FILE
GONZALEZ PEREZ, ANETTE         ADDRESS ON FILE
GONZALEZ PEREZ, ANGEL L        ADDRESS ON FILE
GONZALEZ PEREZ, ANGEL L        ADDRESS ON FILE
GONZALEZ PEREZ, ANGEL M        ADDRESS ON FILE
Gonzalez Perez, Angel N        ADDRESS ON FILE
GONZALEZ PEREZ, ANGELA C       ADDRESS ON FILE
GONZALEZ PEREZ, ANIBAL         ADDRESS ON FILE
GONZALEZ PEREZ, ANIBAL         ADDRESS ON FILE
GONZALEZ PEREZ, ANNETTE D      ADDRESS ON FILE
GONZALEZ PEREZ, ARTURO         ADDRESS ON FILE
GONZALEZ PEREZ, AUGUSTO L      ADDRESS ON FILE
GONZALEZ PEREZ, AUSBERTO       ADDRESS ON FILE
GONZALEZ PEREZ, AVELIZ         ADDRESS ON FILE
GONZALEZ PEREZ, AWILDA         ADDRESS ON FILE
GONZALEZ PEREZ, BENJAMIN       ADDRESS ON FILE
GONZALEZ PEREZ, BERENICE       ADDRESS ON FILE
GONZALEZ PEREZ, BERTIZA        ADDRESS ON FILE
GONZALEZ PEREZ, BLANCA M       ADDRESS ON FILE
GONZALEZ PEREZ, BRENDA         ADDRESS ON FILE
GONZALEZ PEREZ, BRIAN          ADDRESS ON FILE
GONZALEZ PEREZ, CARLOS F       ADDRESS ON FILE
Gonzalez Perez, Carlos M       ADDRESS ON FILE
GONZALEZ PEREZ, CARLOS M.      ADDRESS ON FILE
GONZALEZ PEREZ, CARLOS M.      ADDRESS ON FILE
GONZALEZ PEREZ, CARLOS R       ADDRESS ON FILE
GONZALEZ PEREZ, CARMEN E       ADDRESS ON FILE
GONZALEZ PEREZ, CARMEN I       ADDRESS ON FILE
GONZALEZ PEREZ, CHRISTIAN      ADDRESS ON FILE
GONZALEZ PEREZ, CORALYS        ADDRESS ON FILE
GONZALEZ PEREZ, CRISTINA       ADDRESS ON FILE
GONZALEZ PEREZ, CRISTY M.      ADDRESS ON FILE
Gonzalez Perez, Daisy M        ADDRESS ON FILE
GONZALEZ PEREZ, DALILA         ADDRESS ON FILE
Gonzalez Perez, Daniel         ADDRESS ON FILE
GONZALEZ PEREZ, DARWIN ABNER   ADDRESS ON FILE
GONZALEZ PEREZ, DAVID          ADDRESS ON FILE
Gonzalez Perez, David A        ADDRESS ON FILE
GONZALEZ PEREZ, DEIXTER J.     ADDRESS ON FILE
GONZALEZ PEREZ, DENISE         ADDRESS ON FILE
GONZALEZ PEREZ, DIANA          ADDRESS ON FILE
Gonzalez Perez, Diana Z        ADDRESS ON FILE




                                                                           Page 3382 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3383 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PEREZ, DINA         ADDRESS ON FILE
GONZALEZ PEREZ, EDIA M       ADDRESS ON FILE
Gonzalez Perez, Eduardo      ADDRESS ON FILE
GONZALEZ PEREZ, EDWIN        ADDRESS ON FILE
GONZALEZ PEREZ, ELIAS        ADDRESS ON FILE
Gonzalez Perez, Eliasil      ADDRESS ON FILE
Gonzalez Perez, Elier        ADDRESS ON FILE
GONZALEZ PEREZ, EMANUELLE    ADDRESS ON FILE
GONZALEZ PEREZ, EMMANUEL     ADDRESS ON FILE
GONZALEZ PEREZ, ENEIDA M     ADDRESS ON FILE
GONZALEZ PEREZ, ENRIQUE      ADDRESS ON FILE
GONZALEZ PEREZ, ENRIQUE J.   ADDRESS ON FILE
GONZALEZ PEREZ, EVELYN       ADDRESS ON FILE
GONZALEZ PEREZ, FELIX D      ADDRESS ON FILE
Gonzalez Perez, Felix M      ADDRESS ON FILE
GONZALEZ PEREZ, FERNANDO     ADDRESS ON FILE
GONZALEZ PEREZ, FERNANDO L   ADDRESS ON FILE
GONZALEZ PEREZ, FILIBERTO    ADDRESS ON FILE
GONZALEZ PEREZ, FRANCES      ADDRESS ON FILE
GONZALEZ PEREZ, FRANCISCO    ADDRESS ON FILE
GONZALEZ PEREZ, FRANCISCO    ADDRESS ON FILE
GONZALEZ PEREZ, FREDDIE      ADDRESS ON FILE
GONZALEZ PEREZ, FROILAN      ADDRESS ON FILE
GONZALEZ PEREZ, GABRIELLE    ADDRESS ON FILE
GONZALEZ PEREZ, GEOVANNI     ADDRESS ON FILE
Gonzalez Perez, Gerardo      ADDRESS ON FILE
GONZALEZ PEREZ, GERARDO      ADDRESS ON FILE
GONZALEZ PEREZ, GERRYAN M    ADDRESS ON FILE
GONZALEZ PEREZ, GILBERTO     ADDRESS ON FILE
GONZALEZ PEREZ, GILBERTO     ADDRESS ON FILE
GONZALEZ PEREZ, GISELA       ADDRESS ON FILE
GONZALEZ PEREZ, GISELA       ADDRESS ON FILE
GONZALEZ PEREZ, GISELLE      ADDRESS ON FILE
GONZALEZ PEREZ, GISELLE      ADDRESS ON FILE
Gonzalez Perez, Gladys       ADDRESS ON FILE
GONZALEZ PEREZ, GLADYS       ADDRESS ON FILE
GONZALEZ PEREZ, GLORIA       ADDRESS ON FILE
GONZALEZ PEREZ, GLORIELIZ    ADDRESS ON FILE
GONZALEZ PEREZ, GRIMALDY     ADDRESS ON FILE
GONZALEZ PEREZ, GRISELA      ADDRESS ON FILE
GONZALEZ PEREZ, GUDELIA      ADDRESS ON FILE
Gonzalez Perez, Hector L     ADDRESS ON FILE
GONZALEZ PEREZ, HERIBERTO    ADDRESS ON FILE
GONZALEZ PEREZ, HERMINIO     ADDRESS ON FILE
GONZALEZ PEREZ, HILDA        ADDRESS ON FILE
GONZALEZ PEREZ, HILDA        ADDRESS ON FILE
GONZALEZ PEREZ, IAN          ADDRESS ON FILE
GONZALEZ PEREZ, IDLAMIRG     ADDRESS ON FILE
GONZALEZ PEREZ, IDLAMIRG     ADDRESS ON FILE
GONZALEZ PEREZ, IVAN         ADDRESS ON FILE
GONZALEZ PEREZ, IVETTE       ADDRESS ON FILE
GONZALEZ PEREZ, JACKELINE    ADDRESS ON FILE
GONZALEZ PEREZ, JANETTE      ADDRESS ON FILE
Gonzalez Perez, Javier       ADDRESS ON FILE
GONZALEZ PEREZ, JAVIER       ADDRESS ON FILE
GONZALEZ PEREZ, JEANNETTE    ADDRESS ON FILE
GONZALEZ PEREZ, JENNIFER     ADDRESS ON FILE
GONZALEZ PEREZ, JENNIFER     ADDRESS ON FILE
GONZALEZ PEREZ, JOAQUIN      ADDRESS ON FILE
GONZALEZ PEREZ, JOEL D.      ADDRESS ON FILE




                                                                         Page 3383 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3384 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PEREZ, JOHANNA        ADDRESS ON FILE
GONZALEZ PEREZ, JOHANNY        ADDRESS ON FILE
Gonzalez Perez, Jorge          ADDRESS ON FILE
GONZALEZ PEREZ, JORGE          ADDRESS ON FILE
GONZALEZ PEREZ, JORGE L.       ADDRESS ON FILE
GONZALEZ PEREZ, JORGE M.       ADDRESS ON FILE
GONZALEZ PEREZ, JOSE           ADDRESS ON FILE
GONZALEZ PEREZ, JOSE           ADDRESS ON FILE
GONZALEZ PEREZ, JOSE           ADDRESS ON FILE
GONZALEZ PEREZ, JOSE A         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE A         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE A         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE A.        ADDRESS ON FILE
GONZALEZ PEREZ, JOSE ANTONIO   ADDRESS ON FILE
GONZALEZ PEREZ, JOSE D         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE E.        ADDRESS ON FILE
Gonzalez Perez, Jose F         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE L         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE M         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE M         ADDRESS ON FILE
GONZALEZ PEREZ, JOSE T.        ADDRESS ON FILE
GONZALEZ PEREZ, JOSUE          ADDRESS ON FILE
GONZALEZ PEREZ, JOSUE          ADDRESS ON FILE
GONZALEZ PEREZ, JOYCE          ADDRESS ON FILE
GONZALEZ PEREZ, JUAN           ADDRESS ON FILE
GONZALEZ PEREZ, JUAN           ADDRESS ON FILE
GONZALEZ PEREZ, JULIO          ADDRESS ON FILE
Gonzalez Perez, Julio C.       ADDRESS ON FILE
GONZALEZ PEREZ, KENNETH        ADDRESS ON FILE
GONZALEZ PEREZ, KEVIN I        ADDRESS ON FILE
GONZALEZ PEREZ, KEYLISA        ADDRESS ON FILE
GONZALEZ PEREZ, KHYRSIS        ADDRESS ON FILE
GONZALEZ PEREZ, KRIZIA F       ADDRESS ON FILE
GONZALEZ PEREZ, LAURA          ADDRESS ON FILE
GONZALEZ PEREZ, LEFTY          ADDRESS ON FILE
GONZALEZ PEREZ, LEONOR         ADDRESS ON FILE
GONZALEZ PEREZ, LEYRA          ADDRESS ON FILE
GONZALEZ PEREZ, LILLIANA       ADDRESS ON FILE
Gonzalez Perez, Lionel         ADDRESS ON FILE
GONZALEZ PEREZ, LIVIA          ADDRESS ON FILE
GONZALEZ PEREZ, LORRAINE       ADDRESS ON FILE
GONZALEZ PEREZ, LOURDES        ADDRESS ON FILE
GONZALEZ PEREZ, LUIS           ADDRESS ON FILE
GONZALEZ PEREZ, LUIS           ADDRESS ON FILE
GONZALEZ PEREZ, LUIS           ADDRESS ON FILE
GONZALEZ PEREZ, LUIS           ADDRESS ON FILE
GONZALEZ PEREZ, LUIS A         ADDRESS ON FILE
GONZALEZ PEREZ, LUIS A         ADDRESS ON FILE
GONZALEZ PEREZ, LUIS F.        ADDRESS ON FILE
GONZALEZ PEREZ, LUZ E          ADDRESS ON FILE
GONZALEZ PEREZ, LUZ N          ADDRESS ON FILE
GONZALEZ PEREZ, LYDIA E        ADDRESS ON FILE
GONZALEZ PEREZ, LYMARIS        ADDRESS ON FILE
GONZALEZ PEREZ, MADELINE       ADDRESS ON FILE
GONZALEZ PEREZ, MADELINE       ADDRESS ON FILE
GONZALEZ PEREZ, MAGALY         ADDRESS ON FILE
GONZALEZ PEREZ, MAGALY         ADDRESS ON FILE
Gonzalez Perez, Malvin         ADDRESS ON FILE
GONZALEZ PEREZ, MARIA          ADDRESS ON FILE
GONZALEZ PEREZ, MARIA D        ADDRESS ON FILE




                                                                           Page 3384 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3385 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PEREZ, MARIA DE       ADDRESS ON FILE
GONZALEZ PEREZ, MARIA E        ADDRESS ON FILE
GONZALEZ PEREZ, MARIA EUNICE   ADDRESS ON FILE
GONZALEZ PEREZ, MARIA F        ADDRESS ON FILE
GONZALEZ PEREZ, MARIA I.       ADDRESS ON FILE
GONZALEZ PEREZ, MARIA L        ADDRESS ON FILE
GONZALEZ PEREZ, MARIA M        ADDRESS ON FILE
GONZALEZ PEREZ, MARIA M.       ADDRESS ON FILE
GONZALEZ PEREZ, MARIBEL        ADDRESS ON FILE
GONZALEZ PEREZ, MARICELA       ADDRESS ON FILE
GONZALEZ PEREZ, MARINELLY      ADDRESS ON FILE
GONZALEZ PEREZ, MARISOL        ADDRESS ON FILE
GONZALEZ PEREZ, MARISOL        ADDRESS ON FILE
GONZALEZ PEREZ, MARISOL        ADDRESS ON FILE
GONZALEZ PEREZ, MARISSA        ADDRESS ON FILE
GONZALEZ PEREZ, MELBA          ADDRESS ON FILE
GONZALEZ PEREZ, MELBA A        ADDRESS ON FILE
GONZALEZ PEREZ, MELINA         ADDRESS ON FILE
GONZALEZ PEREZ, MELINA M       ADDRESS ON FILE
GONZALEZ PEREZ, MELVIN         ADDRESS ON FILE
GONZALEZ PEREZ, MERCEDES       ADDRESS ON FILE
GONZALEZ PEREZ, MICHAEL        ADDRESS ON FILE
GONZALEZ PEREZ, MIGDALIA       ADDRESS ON FILE
GONZALEZ PEREZ, MIGUEL         ADDRESS ON FILE
GONZALEZ PEREZ, MIGUEL         ADDRESS ON FILE
GONZALEZ PEREZ, MIGUEL         ADDRESS ON FILE
GONZALEZ PEREZ, MIGUEL A       ADDRESS ON FILE
GONZALEZ PEREZ, MILAGROS       ADDRESS ON FILE
GONZALEZ PEREZ, MILAGROS5      ADDRESS ON FILE
GONZALEZ PEREZ, MINERVA        ADDRESS ON FILE
GONZALEZ PEREZ, MIRTA I.       ADDRESS ON FILE
GONZALEZ PEREZ, MISAEL         ADDRESS ON FILE
GONZALEZ PEREZ, MONICA         ADDRESS ON FILE
GONZALEZ PEREZ, MYRIAM         ADDRESS ON FILE
GONZALEZ PEREZ, MYRNA S        ADDRESS ON FILE
GONZALEZ PEREZ, NATALIA        ADDRESS ON FILE
GONZALEZ PEREZ, NELDIN         ADDRESS ON FILE
GONZALEZ PEREZ, NIEVES         ADDRESS ON FILE
GONZALEZ PEREZ, NOEL           ADDRESS ON FILE
GONZALEZ PEREZ, NORBERTO       ADDRESS ON FILE
GONZALEZ PEREZ, NORMA          ADDRESS ON FILE
GONZALEZ PEREZ, OLGA E         ADDRESS ON FILE
Gonzalez Perez, Omar           ADDRESS ON FILE
GONZALEZ PEREZ, OMAR           ADDRESS ON FILE
GONZALEZ PEREZ, ORLANDO        ADDRESS ON FILE
GONZALEZ PEREZ, OSVALDO        ADDRESS ON FILE
GONZALEZ PEREZ, PATRICIA       ADDRESS ON FILE
GONZALEZ PEREZ, PEDRO          ADDRESS ON FILE
GONZALEZ PEREZ, RAFAEL A.      ADDRESS ON FILE
GONZALEZ PEREZ, RAMON          ADDRESS ON FILE
GONZALEZ PEREZ, RAQUEL         ADDRESS ON FILE
GONZALEZ PEREZ, RAQUEL M       ADDRESS ON FILE
GONZALEZ PEREZ, REBECCA        ADDRESS ON FILE
GONZALEZ PEREZ, RICARDO        ADDRESS ON FILE
GONZALEZ PEREZ, RICARDO        ADDRESS ON FILE
GONZALEZ PEREZ, RONALDO        ADDRESS ON FILE
GONZALEZ PEREZ, ROSA           ADDRESS ON FILE
Gonzalez Perez, Samuel         ADDRESS ON FILE
GONZALEZ PEREZ, SAMUEL         ADDRESS ON FILE
GONZALEZ PEREZ, SHEILA         ADDRESS ON FILE




                                                                           Page 3385 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3386 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ PEREZ, SOCORRO         ADDRESS ON FILE
GONZALEZ PEREZ, SONIA           ADDRESS ON FILE
GONZALEZ PEREZ, SONIE E         ADDRESS ON FILE
GONZALEZ PEREZ, STEVE           ADDRESS ON FILE
GONZALEZ PEREZ, TERESA          ADDRESS ON FILE
GONZALEZ PEREZ, TERESA          ADDRESS ON FILE
GONZALEZ PEREZ, URAYOAN         ADDRESS ON FILE
GONZALEZ PEREZ, VANESSA         ADDRESS ON FILE
GONZALEZ PEREZ, VANGIE          ADDRESS ON FILE
Gonzalez Perez, Victor          ADDRESS ON FILE
GONZALEZ PEREZ, VICTOR          ADDRESS ON FILE
GONZALEZ PEREZ, VIOLETA         ADDRESS ON FILE
GONZALEZ PEREZ, VIRGILIO        ADDRESS ON FILE
GONZALEZ PEREZ, VLADIMIR        ADDRESS ON FILE
GONZALEZ PEREZ, WALDEMAR        ADDRESS ON FILE
GONZALEZ PEREZ, WANDA           ADDRESS ON FILE
Gonzalez Perez, Wanda I         ADDRESS ON FILE
GONZALEZ PEREZ, WANDA T         ADDRESS ON FILE
GONZALEZ PEREZ, WILFREDO        ADDRESS ON FILE
GONZALEZ PEREZ, WILFREDO        ADDRESS ON FILE
GONZALEZ PEREZ, WILLIAM         ADDRESS ON FILE
GONZALEZ PEREZ, YARI            ADDRESS ON FILE
GONZALEZ PEREZ, YEANNETTE       ADDRESS ON FILE
GONZALEZ PEREZ, YOISA           ADDRESS ON FILE
GONZALEZ PEREZ, YOLANDA         ADDRESS ON FILE
GONZALEZ PEREZ, YOMAIRA         ADDRESS ON FILE
GONZALEZ PEREZ,JOSE             ADDRESS ON FILE
GONZALEZ PEREZ,JOSE M.          ADDRESS ON FILE
Gonzalez Perocier, Roberto      ADDRESS ON FILE
GONZALEZ PI, JORGE              ADDRESS ON FILE
GONZALEZ PICA, ANTONIO          ADDRESS ON FILE
GONZALEZ PICART, FRANCISCO      ADDRESS ON FILE
GONZALEZ PIMENTEL, ISMENIA M.   ADDRESS ON FILE
GONZALEZ PIMENTEL, ISMENIA M.   ADDRESS ON FILE
GONZALEZ PIMENTEL, SYLVIA       ADDRESS ON FILE
GONZALEZ PIMENTEL, SYLVIA E     ADDRESS ON FILE
Gonzalez Pina, Elvin            ADDRESS ON FILE
GONZALEZ PINEIRO, ALMA          ADDRESS ON FILE
GONZALEZ PINEIRO, ANABELLE      ADDRESS ON FILE
GONZALEZ PINEIRO, CARMEN G      ADDRESS ON FILE
GONZALEZ PINEIRO, LIZ A         ADDRESS ON FILE
GONZALEZ PINEIRO, STEVEN        ADDRESS ON FILE
GONZALEZ PINERO, DACIA          ADDRESS ON FILE
GONZALEZ PINERO, LILLIAM        ADDRESS ON FILE
GONZALEZ PINERO, OLGA           ADDRESS ON FILE
GONZALEZ PINO, LEYLA            ADDRESS ON FILE
Gonzalez Pintado, Marisol       ADDRESS ON FILE
GONZALEZ PINTO, LOURDES N       ADDRESS ON FILE
GONZALEZ PIQEIRO, JOSE M        ADDRESS ON FILE
GONZALEZ PIRIS, OMAET           ADDRESS ON FILE
GONZALEZ PITRE, CARMEN          ADDRESS ON FILE
GONZALEZ PIZARRO, AIDA          ADDRESS ON FILE
GONZALEZ PIZARRO, ANA           ADDRESS ON FILE
GONZALEZ PIZARRO, CARMEN M      ADDRESS ON FILE
GONZALEZ PIZARRO, CARMEN S      ADDRESS ON FILE
GONZALEZ PIZARRO, LUZ           ADDRESS ON FILE
GONZALEZ PIZARRO, LUZ A.        ADDRESS ON FILE
GONZALEZ PIZARRO, MARIA D.      ADDRESS ON FILE
GONZALEZ PIZARRO, MARIA M.      ADDRESS ON FILE
GONZALEZ PIZARRO, NAYDA R       ADDRESS ON FILE




                                                                            Page 3386 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                            Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3387 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                         Address1                              Address2                       Address3   Address4   City         State   PostalCode   Country
GONZALEZ PIZARRO, NAYDA R.            ADDRESS ON FILE
GONZALEZ PLANAS, JAVIER               ADDRESS ON FILE
GONZALEZ PLANAS, JAVIER A             ADDRESS ON FILE
Gonzalez Plaza, George                ADDRESS ON FILE
GONZALEZ PLAZA, JILARY                ADDRESS ON FILE
GONZALEZ PLAZA, JUANA M               ADDRESS ON FILE
GONZALEZ PLAZA, LUIS                  ADDRESS ON FILE
GONZALEZ PLAZA, MARIA A               ADDRESS ON FILE
GONZALEZ PLAZA, PAULINA               ADDRESS ON FILE
GONZALEZ PLAZA, YAHAIRA               ADDRESS ON FILE
Gonzalez Plazza, Beatrice             ADDRESS ON FILE
GONZALEZ PLUGUEZ, OLGA                ADDRESS ON FILE
GONZALEZ POLANCO, AXEL                ADDRESS ON FILE
GONZALEZ POLANCO, ERNESTO             ADDRESS ON FILE
GONZALEZ POLANCO, HERIBERTO           ADDRESS ON FILE
GONZALEZ POLANCO, LUISA               ADDRESS ON FILE
GONZALEZ POLANCO, MERCEDES            ADDRESS ON FILE
GONZALEZ POLANCO, VIVIAN              ADDRESS ON FILE
GONZALEZ POLONIO, MIGUEL              ADDRESS ON FILE
GONZALEZ POMALES, CARLA M             ADDRESS ON FILE
GONZALEZ POMALES, JOSE                ADDRESS ON FILE
GONZALEZ PONCE, CHRISTIE Y            ADDRESS ON FILE
GONZALEZ PONCE, ENRICO                ADDRESS ON FILE
GONZALEZ PONCE, JESUS                 ADDRESS ON FILE
GONZALEZ PONCE, MIGUEL A              ADDRESS ON FILE
GONZALEZ PONS MD, CARLOS A            ADDRESS ON FILE
GONZALEZ PORRAS, IRAIDA               ADDRESS ON FILE
GONZALEZ PORRATA, PEDRO               ADDRESS ON FILE
GONZALEZ PORRATA‐DORIA, RICARDO J     ADDRESS ON FILE
GONZALEZ PORTALATIN CONSULTING        352 CALLE SAN CLAUDIO                 STE 1 PMB 346                                        SAN JUAN     PR      00926‐4144
GONZALEZ PORTALATIN CONSULTING CORP   352 CALLE SAN CLAUDIO STE 1 PMB 346                                                        SAN JUAN     PR      00926‐4144
GONZALEZ PORTALATIN, EDIBERTO         ADDRESS ON FILE
GONZALEZ PORTALATIN, RICHARD          ADDRESS ON FILE
GONZALEZ PORTALATIN, SUE E.           ADDRESS ON FILE
GONZALEZ PRADO, FERNANDO              ADDRESS ON FILE
GONZALEZ PRADO, RAFAEL                ADDRESS ON FILE
GONZALEZ PRATTS, ANGELA M             ADDRESS ON FILE
GONZALEZ PRATTS, CARMEN               ADDRESS ON FILE
GONZALEZ PRATTS, ELBA I               ADDRESS ON FILE
GONZALEZ PRATTS, MIGUEL               ADDRESS ON FILE
GONZALEZ PRATTS, MIRIAM               ADDRESS ON FILE
GONZALEZ PRATTS, RAUL                 ADDRESS ON FILE
GONZALEZ PRESA, MARCOS                ADDRESS ON FILE
Gonzalez Principe, Ruben              ADDRESS ON FILE
Gonzalez Puchales, Felipe             ADDRESS ON FILE
GONZALEZ PUCHALES, JUAN               ADDRESS ON FILE
GONZALEZ PUJOLS, ANGEL                ADDRESS ON FILE
GONZALEZ PUMAREJO, JOSE               ADDRESS ON FILE
GONZALEZ PUMAREJO, LILLIAM I          ADDRESS ON FILE
GONZALEZ PUMAREJO, SONIA              ADDRESS ON FILE
GONZALEZ PUMPS OF P.R. INC.           PO BOX 8853                                                                                CAROLINA     PR      00988
GONZALEZ QUESADA, ALDO J.             ADDRESS ON FILE
GONZALEZ QUESADA, GLADYS              ADDRESS ON FILE
GONZALEZ QUIJANO, JESSICA             ADDRESS ON FILE
GONZALEZ QUIJANO, JOSE                ADDRESS ON FILE
GONZALEZ QUIJANO, JOSE                ADDRESS ON FILE
GONZALEZ QUILES, ARNALDO              ADDRESS ON FILE
GONZALEZ QUILES, BENJAMIN             ADDRESS ON FILE
GONZALEZ QUILES, CARLOS               ADDRESS ON FILE
Gonzalez Quiles, Carlos M             ADDRESS ON FILE




                                                                                            Page 3387 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3388 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ QUILES, CARMEN L       ADDRESS ON FILE
GONZALEZ QUILES, EDDIE          ADDRESS ON FILE
GONZALEZ QUILES, EDIL           ADDRESS ON FILE
GONZALEZ QUILES, FAUSTINO       ADDRESS ON FILE
GONZALEZ QUILES, FERNANDO       ADDRESS ON FILE
GONZALEZ QUILES, GLORIVEE       ADDRESS ON FILE
GONZALEZ QUILES, JOENELL        ADDRESS ON FILE
Gonzalez Quiles, Jose L         ADDRESS ON FILE
GONZALEZ QUILES, KELVIN         ADDRESS ON FILE
Gonzalez Quiles, Luis A         ADDRESS ON FILE
GONZALEZ QUILES, MARIBEL        ADDRESS ON FILE
GONZALEZ QUILES, MIGUEL A       ADDRESS ON FILE
GONZALEZ QUILES, MYRNA          ADDRESS ON FILE
GONZALEZ QUILES, NARDA          ADDRESS ON FILE
GONZALEZ QUILES, NARDA R        ADDRESS ON FILE
GONZALEZ QUILES, NATALIE        ADDRESS ON FILE
GONZALEZ QUILES, SAMUEL         ADDRESS ON FILE
GONZALEZ QUILES, VICTOR M.      ADDRESS ON FILE
GONZALEZ QUILES, ZORAIDA        ADDRESS ON FILE
GONZALEZ QUINONES, AIDA I       ADDRESS ON FILE
GONZALEZ QUINONES, ALBERTO      ADDRESS ON FILE
Gonzalez Quinones, Alexis       ADDRESS ON FILE
GONZALEZ QUINONES, ANA L        ADDRESS ON FILE
GONZALEZ QUINONES, ARIEL        ADDRESS ON FILE
Gonzalez Quinones, Awilda       ADDRESS ON FILE
GONZALEZ QUINONES, BELINDA S    ADDRESS ON FILE
GONZALEZ QUINONES, CARMEN       ADDRESS ON FILE
GONZALEZ QUINONES, CESAR        ADDRESS ON FILE
GONZALEZ QUINONES, CLARIBEL     ADDRESS ON FILE
GONZALEZ QUINONES, DANIEL       ADDRESS ON FILE
GONZALEZ QUINONES, DAVID        ADDRESS ON FILE
GONZALEZ QUINONES, EDWIN        ADDRESS ON FILE
GONZALEZ QUINONES, ELISE        ADDRESS ON FILE
GONZALEZ QUINONES, ELIZABETH    ADDRESS ON FILE
GONZALEZ QUINONES, FRANCISCO    ADDRESS ON FILE
Gonzalez Quinones, German       ADDRESS ON FILE
GONZALEZ QUINONES, HECTOR J     ADDRESS ON FILE
Gonzalez Quinones, Isabel       ADDRESS ON FILE
GONZALEZ QUINONES, ISABEL       ADDRESS ON FILE
Gonzalez Quinones, Jaime L      ADDRESS ON FILE
GONZALEZ QUINONES, JANNETTE     ADDRESS ON FILE
GONZALEZ QUINONES, JESSICA M.   ADDRESS ON FILE
GONZALEZ QUINONES, JORGE L      ADDRESS ON FILE
GONZALEZ QUINONES, JOSE         ADDRESS ON FILE
GONZALEZ QUINONES, JOSE D       ADDRESS ON FILE
GONZALEZ QUINONES, JOSE E       ADDRESS ON FILE
GONZALEZ QUINONES, JULIO        ADDRESS ON FILE
GONZALEZ QUINONES, KAYTHIA M    ADDRESS ON FILE
GONZALEZ QUINONES, MARIA C      ADDRESS ON FILE
GONZALEZ QUINONES, MARITZA      ADDRESS ON FILE
GONZALEZ QUINONES, MELVIN       ADDRESS ON FILE
GONZALEZ QUIÑONES, MELVIN       ADDRESS ON FILE
GONZALEZ QUINONES, MIGUEL       ADDRESS ON FILE
Gonzalez Quinones, Mildred J    ADDRESS ON FILE
GONZALEZ QUINONES, NAHIL        ADDRESS ON FILE
GONZALEZ QUINONES, NANETTE      ADDRESS ON FILE
Gonzalez Quinones, Nelson G     ADDRESS ON FILE
GONZALEZ QUINONES, PABLO        ADDRESS ON FILE
Gonzalez Quinones, Pedro J      ADDRESS ON FILE
GONZALEZ QUINONES, RAMON        ADDRESS ON FILE




                                                                            Page 3388 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3389 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
Gonzalez Quinones, Robert          ADDRESS ON FILE
GONZALEZ QUINONES, ZAADIA A.       ADDRESS ON FILE
GONZALEZ QUINONES, ZITMARIE        ADDRESS ON FILE
GONZALEZ QUINONES,JESMARIE         ADDRESS ON FILE
GONZALEZ QUINONEZ, ANA             ADDRESS ON FILE
GONZALEZ QUINONEZ, EMEL            ADDRESS ON FILE
GONZALEZ QUINONEZ, ISMAEL          ADDRESS ON FILE
Gonzalez Quinonez, Jennifer        ADDRESS ON FILE
GONZALEZ QUINONEZ, LUIS            ADDRESS ON FILE
GONZALEZ QUINONEZ, MARGARITA       ADDRESS ON FILE
GONZALEZ QUINONEZ, MELVIN          ADDRESS ON FILE
GONZALEZ QUINONEZ, MILKA I         ADDRESS ON FILE
GONZALEZ QUINONEZ, RAMON           ADDRESS ON FILE
Gonzalez Quinonez, Samuel          ADDRESS ON FILE
GONZALEZ QUINONEZ, VICTOR          ADDRESS ON FILE
GONZALEZ QUINONEZ, WILLIAM         ADDRESS ON FILE
GONZALEZ QUINTANA, ALBERTO         ADDRESS ON FILE
GONZALEZ QUINTANA, AMNERYS         ADDRESS ON FILE
GONZALEZ QUINTANA, ANGEL M         ADDRESS ON FILE
GONZALEZ QUINTANA, BENITO          ADDRESS ON FILE
GONZALEZ QUINTANA, DELIA           ADDRESS ON FILE
GONZALEZ QUINTANA, EDWARD          ADDRESS ON FILE
GONZALEZ QUINTANA, ELIEZER         ADDRESS ON FILE
GONZALEZ QUINTANA, GIOVANNI        ADDRESS ON FILE
GONZALEZ QUINTANA, GISELLE         ADDRESS ON FILE
GONZALEZ QUINTANA, GUSTAVO         ADDRESS ON FILE
GONZALEZ QUINTANA, INEABELLE       ADDRESS ON FILE
GONZALEZ QUINTANA, IRIS            ADDRESS ON FILE
GONZALEZ QUINTANA, ISABEL V        ADDRESS ON FILE
GONZALEZ QUINTANA, JACQUELYNE      ADDRESS ON FILE
GONZALEZ QUINTANA, JULIO           ADDRESS ON FILE
GONZALEZ QUINTANA, KEILA N         ADDRESS ON FILE
GONZALEZ QUINTANA, LUIS            ADDRESS ON FILE
GONZALEZ QUINTANA, MARIA DE L      ADDRESS ON FILE
GONZALEZ QUINTANA, MARTA I         ADDRESS ON FILE
GONZALEZ QUINTANA, MELISSA         ADDRESS ON FILE
GONZALEZ QUINTANA, NYDIA           ADDRESS ON FILE
GONZALEZ QUINTERO, ANDREA          ADDRESS ON FILE
GONZALEZ QUINTERO, DAVID           ADDRESS ON FILE
GONZALEZ QUINTERO, GILBERTO        ADDRESS ON FILE
GONZALEZ QUINTERO, MANUEL          ADDRESS ON FILE
Gonzalez Quintero, Milagros M      ADDRESS ON FILE
GONZALEZ QUIQONES, EVELYN          ADDRESS ON FILE
GONZALEZ QUIQONES, HECTOR L        ADDRESS ON FILE
GONZALEZ QUIRINDONGO, EDWIN J      ADDRESS ON FILE
GONZALEZ QUIRINDONGO, EFRAIN       ADDRESS ON FILE
GONZALEZ QUIRINDONGO, VIRGENMINA   ADDRESS ON FILE
Gonzalez Quiroz, Edwin             ADDRESS ON FILE
GONZALEZ RAHOLA, RAFAEL            ADDRESS ON FILE
GONZALEZ RAIMUNDI, ANA D           ADDRESS ON FILE
GONZALEZ RAMIREZ, ABNER            ADDRESS ON FILE
GONZALEZ RAMIREZ, ADRIANA I        ADDRESS ON FILE
GONZALEZ RAMIREZ, ALEX             ADDRESS ON FILE
GONZALEZ RAMIREZ, ALEX             ADDRESS ON FILE
GONZALEZ RAMIREZ, ANDREA           ADDRESS ON FILE
GONZALEZ RAMIREZ, ANGEL            ADDRESS ON FILE
GONZALEZ RAMIREZ, ANGELICA         ADDRESS ON FILE
GONZALEZ RAMIREZ, CHRISTIAN        ADDRESS ON FILE
GONZALEZ RAMIREZ, CYNTHIA          ADDRESS ON FILE
GONZALEZ RAMIREZ, DENISSE          ADDRESS ON FILE




                                                                               Page 3389 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3390 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RAMIREZ, EDGARDO     ADDRESS ON FILE
GONZALEZ RAMIREZ, EDWIN       ADDRESS ON FILE
GONZALEZ RAMIREZ, ELIZAMA     ADDRESS ON FILE
GONZALEZ RAMIREZ, EMMA F      ADDRESS ON FILE
GONZALEZ RAMIREZ, ENID        ADDRESS ON FILE
GONZALEZ RAMIREZ, FRANKLIN    ADDRESS ON FILE
GONZALEZ RAMIREZ, GLENDA      ADDRESS ON FILE
GONZALEZ RAMIREZ, HAYDEE      ADDRESS ON FILE
GONZALEZ RAMIREZ, IRVING      ADDRESS ON FILE
GONZALEZ RAMIREZ, JORGE       ADDRESS ON FILE
GONZALEZ RAMIREZ, JOSE        ADDRESS ON FILE
GONZALEZ RAMIREZ, JOSE A.     ADDRESS ON FILE
GONZALEZ RAMIREZ, JOSE L      ADDRESS ON FILE
GONZALEZ RAMIREZ, KAREN       ADDRESS ON FILE
GONZALEZ RAMIREZ, LISA        ADDRESS ON FILE
GONZALEZ RAMIREZ, LORE        ADDRESS ON FILE
GONZALEZ RAMIREZ, LUIS        ADDRESS ON FILE
GONZALEZ RAMIREZ, MANUEL      ADDRESS ON FILE
GONZALEZ RAMIREZ, MARA        ADDRESS ON FILE
GONZALEZ RAMIREZ, MARIA E     ADDRESS ON FILE
GONZALEZ RAMIREZ, MARIBEL     ADDRESS ON FILE
GONZALEZ RAMIREZ, MARIBEL     ADDRESS ON FILE
GONZALEZ RAMIREZ, MARIELA     ADDRESS ON FILE
GONZALEZ RAMIREZ, MARTA       ADDRESS ON FILE
GONZALEZ RAMIREZ, MIGDALIA    ADDRESS ON FILE
GONZALEZ RAMIREZ, MYRIAM      ADDRESS ON FILE
GONZALEZ RAMIREZ, PAUL        ADDRESS ON FILE
GONZALEZ RAMIREZ, RAFAEL A.   ADDRESS ON FILE
GONZALEZ RAMIREZ, ROBERTO     ADDRESS ON FILE
Gonzalez Ramirez, Vicente     ADDRESS ON FILE
Gonzalez Ramos, Aaron         ADDRESS ON FILE
GONZALEZ RAMOS, ADA N         ADDRESS ON FILE
GONZALEZ RAMOS, ALEXIS        ADDRESS ON FILE
GONZALEZ RAMOS, ALEXIS        ADDRESS ON FILE
GONZALEZ RAMOS, AMARILYS      ADDRESS ON FILE
GONZALEZ RAMOS, ANA L         ADDRESS ON FILE
GONZALEZ RAMOS, ANA M         ADDRESS ON FILE
GONZALEZ RAMOS, ANGEL         ADDRESS ON FILE
GONZALEZ RAMOS, ANITA         ADDRESS ON FILE
GONZALEZ RAMOS, ASTRID E      ADDRESS ON FILE
Gonzalez Ramos, Benjamin      ADDRESS ON FILE
GONZALEZ RAMOS, BETHZAIDA     ADDRESS ON FILE
GONZALEZ RAMOS, BETZAIDA      ADDRESS ON FILE
GONZALEZ RAMOS, BRENDA        ADDRESS ON FILE
GONZALEZ RAMOS, BRENDA L      ADDRESS ON FILE
GONZALEZ RAMOS, CANDIDO       ADDRESS ON FILE
GONZALEZ RAMOS, CARLOS        ADDRESS ON FILE
GONZALEZ RAMOS, CARLOS        ADDRESS ON FILE
GONZALEZ RAMOS, CARMEN A      ADDRESS ON FILE
GONZALEZ RAMOS, CARMEN G      ADDRESS ON FILE
GONZALEZ RAMOS, DAMARIS E     ADDRESS ON FILE
GONZALEZ RAMOS, DANIEL        ADDRESS ON FILE
GONZALEZ RAMOS, DENNIS G.     ADDRESS ON FILE
GONZALEZ RAMOS, EDIA Y        ADDRESS ON FILE
GONZALEZ RAMOS, EDWIN O       ADDRESS ON FILE
GONZALEZ RAMOS, EFRAIN        ADDRESS ON FILE
GONZALEZ RAMOS, ELIBETH       ADDRESS ON FILE
GONZALEZ RAMOS, ELIBETH       ADDRESS ON FILE
GONZALEZ RAMOS, ELIGIO        ADDRESS ON FILE
GONZALEZ RAMOS, ELIUD         ADDRESS ON FILE




                                                                          Page 3390 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3391 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RAMOS, ENEIDA       ADDRESS ON FILE
GONZALEZ RAMOS, ENEIDA       ADDRESS ON FILE
GONZALEZ RAMOS, ESMERALDA    ADDRESS ON FILE
GONZALEZ RAMOS, EVANGELINA   ADDRESS ON FILE
GONZALEZ RAMOS, EVELYN       ADDRESS ON FILE
GONZALEZ RAMOS, EVELYN       ADDRESS ON FILE
GONZALEZ RAMOS, FERDINAND    ADDRESS ON FILE
GONZALEZ RAMOS, FERDINAND    ADDRESS ON FILE
GONZALEZ RAMOS, FLORA        ADDRESS ON FILE
GONZALEZ RAMOS, GLADYS       ADDRESS ON FILE
GONZALEZ RAMOS, GRECIA I     ADDRESS ON FILE
GONZALEZ RAMOS, GUILLERMO    ADDRESS ON FILE
GONZALEZ RAMOS, GUSTAVO      ADDRESS ON FILE
GONZALEZ RAMOS, HAYDEE       ADDRESS ON FILE
GONZALEZ RAMOS, HELBERT      ADDRESS ON FILE
GONZALEZ RAMOS, HILDA R      ADDRESS ON FILE
GONZALEZ RAMOS, HUGO         ADDRESS ON FILE
GONZALEZ RAMOS, HUGO L       ADDRESS ON FILE
Gonzalez Ramos, Hugo L.      ADDRESS ON FILE
GONZALEZ RAMOS, ILEANA       ADDRESS ON FILE
GONZALEZ RAMOS, ISMAEL       ADDRESS ON FILE
GONZALEZ RAMOS, ITZAIRA      ADDRESS ON FILE
Gonzalez Ramos, Iventt D     ADDRESS ON FILE
GONZALEZ RAMOS, JANILLE      ADDRESS ON FILE
GONZALEZ RAMOS, JENISSE      ADDRESS ON FILE
GONZALEZ RAMOS, JESSAMINE    ADDRESS ON FILE
GONZALEZ RAMOS, JESSICA      ADDRESS ON FILE
GONZALEZ RAMOS, JESSICA I.   ADDRESS ON FILE
GONZALEZ RAMOS, JESUS        ADDRESS ON FILE
Gonzalez Ramos, Joel         ADDRESS ON FILE
Gonzalez Ramos, Joel         ADDRESS ON FILE
GONZALEZ RAMOS, JOEL         ADDRESS ON FILE
GONZALEZ RAMOS, JOEL         ADDRESS ON FILE
GONZALEZ RAMOS, JOHANNY      ADDRESS ON FILE
GONZALEZ RAMOS, JONATHAN     ADDRESS ON FILE
GONZALEZ RAMOS, JORGE        ADDRESS ON FILE
GONZALEZ RAMOS, JOSE         ADDRESS ON FILE
GONZALEZ RAMOS, JOSE         ADDRESS ON FILE
GONZALEZ RAMOS, JOSE A       ADDRESS ON FILE
GONZALEZ RAMOS, JOSE A       ADDRESS ON FILE
Gonzalez Ramos, Jose I       ADDRESS ON FILE
GONZALEZ RAMOS, JOSE IVAN    ADDRESS ON FILE
GONZALEZ RAMOS, JOSE L       ADDRESS ON FILE
GONZALEZ RAMOS, JOSE M.      ADDRESS ON FILE
GONZALEZ RAMOS, JUAN         ADDRESS ON FILE
GONZALEZ RAMOS, JUAN         ADDRESS ON FILE
GONZALEZ RAMOS, JUAN         ADDRESS ON FILE
GONZALEZ RAMOS, JUAN C.      ADDRESS ON FILE
GONZALEZ RAMOS, JUAN C.      ADDRESS ON FILE
GONZALEZ RAMOS, JUAN R       ADDRESS ON FILE
GONZALEZ RAMOS, JULIO        ADDRESS ON FILE
GONZALEZ RAMOS, JUSTINO      ADDRESS ON FILE
GONZALEZ RAMOS, LEONEL       ADDRESS ON FILE
GONZALEZ RAMOS, LISANDRA     ADDRESS ON FILE
GONZALEZ RAMOS, LUIS         ADDRESS ON FILE
GONZALEZ RAMOS, LUIS         ADDRESS ON FILE
GONZALEZ RAMOS, LUIS         ADDRESS ON FILE
GONZALEZ RAMOS, LUIS         ADDRESS ON FILE
GONZALEZ RAMOS, LUIS A.      ADDRESS ON FILE
Gonzalez Ramos, Luis D       ADDRESS ON FILE




                                                                         Page 3391 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3392 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                      Address2                     Address3   Address4   City          State   PostalCode   Country
GONZALEZ RAMOS, LUIS G        ADDRESS ON FILE
GONZALEZ RAMOS, LUIS M.       ADDRESS ON FILE
GONZALEZ RAMOS, LUIS M.       ADDRESS ON FILE
GONZALEZ RAMOS, LUZ M         ADDRESS ON FILE
GONZALEZ RAMOS, LYDIA         ADDRESS ON FILE
GONZALEZ RAMOS, LYDIA         ADDRESS ON FILE
GONZALEZ RAMOS, MAGDALIZ      ADDRESS ON FILE
GONZALEZ RAMOS, MANUEL A      ADDRESS ON FILE
GONZALEZ RAMOS, MANUEL J      ADDRESS ON FILE
GONZALEZ RAMOS, MARGARITA     ADDRESS ON FILE
GONZALEZ RAMOS, MARIA         ADDRESS ON FILE
GONZALEZ RAMOS, MARIA A.      ADDRESS ON FILE
GONZALEZ RAMOS, MARIA DE L.   ADDRESS ON FILE
GONZALEZ RAMOS, MARIA DEL C   ADDRESS ON FILE
GONZALEZ RAMOS, MARIA T       ADDRESS ON FILE
GONZALEZ RAMOS, MARIBEL       ADDRESS ON FILE
GONZALEZ RAMOS, MARICELIS     ADDRESS ON FILE
GONZALEZ RAMOS, MARICHELY     ADDRESS ON FILE
GONZALEZ RAMOS, MARILIS       ADDRESS ON FILE
GONZALEZ RAMOS, MARILUZ       ADDRESS ON FILE
GONZALEZ RAMOS, MARILUZ       ADDRESS ON FILE
GONZALEZ RAMOS, MARIO         ADDRESS ON FILE
GONZALEZ RAMOS, MARISOL       ADDRESS ON FILE
GONZÁLEZ RAMOS, MARISOL       SRA. MARISOL GONZALEZ RAMOS   PO BOX 5259                                        VEGA ALTA     PR      00692
GONZALEZ RAMOS, MARITZA       ADDRESS ON FILE
GONZALEZ RAMOS, MARY A        ADDRESS ON FILE
GONZALEZ RAMOS, MARY L        ADDRESS ON FILE
GONZALEZ RAMOS, MELANIE       ADDRESS ON FILE
GONZALEZ RAMOS, MELISSA       ADDRESS ON FILE
GONZALEZ RAMOS, MICHELLE      ADDRESS ON FILE
GONZALEZ RAMOS, MIGUEL        ADDRESS ON FILE
GONZALEZ RAMOS, MILDRED V     ADDRESS ON FILE
GONZALEZ RAMOS, MIRIAM M      ADDRESS ON FILE
GONZALEZ RAMOS, NADIA         ADDRESS ON FILE
GONZALEZ RAMOS, NADIA I       ADDRESS ON FILE
GONZALEZ RAMOS, NANCY         ADDRESS ON FILE
GONZALEZ RAMOS, NANCY         ADDRESS ON FILE
GONZALEZ RAMOS, NATALIE       ADDRESS ON FILE
GONZALEZ RAMOS, NORMA I       ADDRESS ON FILE
GONZALEZ RAMOS, NORVAL        ADDRESS ON FILE
GONZALEZ RAMOS, RADAMES       ADDRESS ON FILE
Gonzalez Ramos, Rafael        ADDRESS ON FILE
GONZALEZ RAMOS, RAFAEL E      ADDRESS ON FILE
Gonzalez Ramos, Ramon         ADDRESS ON FILE
GONZALEZ RAMOS, RENE          ADDRESS ON FILE
GONZALEZ RAMOS, RICHARD       ADDRESS ON FILE
GONZALEZ RAMOS, ROXANNA Y     ADDRESS ON FILE
GONZALEZ RAMOS, RUBI          ADDRESS ON FILE
GONZALEZ RAMOS, SAMUEL        ADDRESS ON FILE
GONZALEZ RAMOS, SONIA         ADDRESS ON FILE
GONZALEZ RAMOS, SONIA         ADDRESS ON FILE
GONZALEZ RAMOS, SONIA E       ADDRESS ON FILE
GONZALEZ RAMOS, TATIANA       ADDRESS ON FILE
GONZALEZ RAMOS, VIDAL         ADDRESS ON FILE
GONZALEZ RAMOS, VIDAL         ADDRESS ON FILE
GONZALEZ RAMOS, VIRGINIA      ADDRESS ON FILE
GONZALEZ RAMOS, WANDA I       ADDRESS ON FILE
GONZALEZ RAMOS, WANDA I.      ADDRESS ON FILE
GONZALEZ RAMOS, WIGBERTO      ADDRESS ON FILE
Gonzalez Ramos, Wilfredo      ADDRESS ON FILE




                                                                          Page 3392 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3393 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RAMOS, WILFREDO          ADDRESS ON FILE
GONZALEZ RAMOS, WLADIMIR G        ADDRESS ON FILE
GONZALEZ RAMOS, XIOMARY           ADDRESS ON FILE
GONZALEZ RAMOS, YAMIRA            ADDRESS ON FILE
Gonzalez Ramos, Yamira D          ADDRESS ON FILE
Gonzalez Ramos, Yehsus H          ADDRESS ON FILE
GONZALEZ RAMOS, YEITZA            ADDRESS ON FILE
GONZALEZ RAMOS, YEITZA D.         ADDRESS ON FILE
GONZALEZ RAMOS, ZORY              ADDRESS ON FILE
GONZALEZ RASPALDO, SONIA I.       ADDRESS ON FILE
GONZALEZ RECIO MD, AILED          ADDRESS ON FILE
GONZALEZ RECIO, IVONNE            ADDRESS ON FILE
GONZALEZ REDONDO, BETHZAIDA       ADDRESS ON FILE
GONZALEZ REGUS, NILDA             ADDRESS ON FILE
GONZALEZ REILLO, ERIC             ADDRESS ON FILE
GONZALEZ REILLO, RAFAEL           ADDRESS ON FILE
GONZALEZ RENTAS, AMARILYS         ADDRESS ON FILE
GONZALEZ RENTAS, CELINES          ADDRESS ON FILE
GONZALEZ REPOLLET, SANDRA E       ADDRESS ON FILE
Gonzalez Resto, Jose A.           ADDRESS ON FILE
GONZALEZ RESTO, LISANDRA          ADDRESS ON FILE
GONZALEZ RESTO, LISANDRA          ADDRESS ON FILE
GONZALEZ RESTO, MARIA DEL C       ADDRESS ON FILE
GONZALEZ RESTO, OMAR R.           ADDRESS ON FILE
GONZALEZ RESTO, RACHELINE         ADDRESS ON FILE
GONZALEZ RESTO, RAFAEL            ADDRESS ON FILE
GONZALEZ REY, GLORIMAR            ADDRESS ON FILE
GONZALEZ REY, JAVIER              ADDRESS ON FILE
GONZALEZ REY, YARIMAR             ADDRESS ON FILE
GONZALEZ REY, YARIMAR             ADDRESS ON FILE
GONZALEZ REYES, ADALEXIE          ADDRESS ON FILE
GONZALEZ REYES, ADNERIS           ADDRESS ON FILE
GONZALEZ REYES, AIXA              ADDRESS ON FILE
GONZALEZ REYES, ALBERTO           ADDRESS ON FILE
GONZALEZ REYES, ANA               ADDRESS ON FILE
GONZALEZ REYES, ANA I             ADDRESS ON FILE
Gonzalez Reyes, Angel             ADDRESS ON FILE
GONZALEZ REYES, ARCADIO           ADDRESS ON FILE
GONZALEZ REYES, ARELIS N.         ADDRESS ON FILE
GONZALEZ REYES, AURELIS           ADDRESS ON FILE
GONZALEZ REYES, AURELIS YAZAIDA   ADDRESS ON FILE
GONZALEZ REYES, BENJAMIN          ADDRESS ON FILE
GONZALEZ REYES, BLANCA E.         ADDRESS ON FILE
GONZALEZ REYES, CARLOS            ADDRESS ON FILE
Gonzalez Reyes, Carmelo           ADDRESS ON FILE
GONZALEZ REYES, CARMEN D          ADDRESS ON FILE
GONZALEZ REYES, CINDY             ADDRESS ON FILE
GONZALEZ REYES, CRISTIAN          ADDRESS ON FILE
GONZALEZ REYES, DANIEL            ADDRESS ON FILE
GONZALEZ REYES, DENISSE           ADDRESS ON FILE
GONZALEZ REYES, DIANA             ADDRESS ON FILE
GONZALEZ REYES, EDGAR             ADDRESS ON FILE
GONZALEZ REYES, EDGARDO           ADDRESS ON FILE
GONZALEZ REYES, EDWIN             ADDRESS ON FILE
GONZALEZ REYES, ELIBETH           ADDRESS ON FILE
GONZALEZ REYES, ELLIOT            ADDRESS ON FILE
GONZALEZ REYES, ELSA L            ADDRESS ON FILE
GONZALEZ REYES, ELVIN             ADDRESS ON FILE
GONZALEZ REYES, FELIX             ADDRESS ON FILE
GONZALEZ REYES, GIOVAHNA L        ADDRESS ON FILE




                                                                              Page 3393 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3394 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ REYES, GIVANELY       ADDRESS ON FILE
GONZALEZ REYES, GLADYS         ADDRESS ON FILE
GONZALEZ REYES, GLENDA M       ADDRESS ON FILE
GONZALEZ REYES, GUSTAVO        ADDRESS ON FILE
GONZALEZ REYES, HECTOR         ADDRESS ON FILE
GONZALEZ REYES, HITSEM         ADDRESS ON FILE
GONZALEZ REYES, IDALIA         ADDRESS ON FILE
GONZALEZ REYES, IGDRASIL       ADDRESS ON FILE
GONZALEZ REYES, IRIS           ADDRESS ON FILE
GONZALEZ REYES, IRIS           ADDRESS ON FILE
GONZALEZ REYES, IRMA I         ADDRESS ON FILE
GONZALEZ REYES, JAIME          ADDRESS ON FILE
GONZALEZ REYES, JEANNETTE      ADDRESS ON FILE
GONZALEZ REYES, JEANNETTE      ADDRESS ON FILE
GONZALEZ REYES, JOANNE         ADDRESS ON FILE
GONZALEZ REYES, JOSE           ADDRESS ON FILE
GONZALEZ REYES, JUAN C         ADDRESS ON FILE
GONZALEZ REYES, JULIO          ADDRESS ON FILE
GONZALEZ REYES, LAUDIS         ADDRESS ON FILE
GONZALEZ REYES, LAURA          ADDRESS ON FILE
GONZALEZ REYES, LEIDA I        ADDRESS ON FILE
GONZALEZ REYES, LISSETTE       ADDRESS ON FILE
GONZALEZ REYES, LIZETTE M      ADDRESS ON FILE
GONZALEZ REYES, LUIS           ADDRESS ON FILE
GONZALEZ REYES, LUIS A         ADDRESS ON FILE
GONZALEZ REYES, LUIS A         ADDRESS ON FILE
GONZALEZ REYES, LUIS F         ADDRESS ON FILE
GONZALEZ REYES, LUZ B          ADDRESS ON FILE
GONZALEZ REYES, LYDIA          ADDRESS ON FILE
GONZALEZ REYES, MABEL          ADDRESS ON FILE
GONZALEZ REYES, MARCOS         ADDRESS ON FILE
GONZALEZ REYES, MARIA          ADDRESS ON FILE
GONZALEZ REYES, MARIA DE LOS   ADDRESS ON FILE
GONZALEZ REYES, MARIA L        ADDRESS ON FILE
GONZALEZ REYES, MARIA L        ADDRESS ON FILE
GONZALEZ REYES, MARIA L.       ADDRESS ON FILE
GONZALEZ REYES, MARIA T.       ADDRESS ON FILE
GONZALEZ REYES, MARIANNE S     ADDRESS ON FILE
GONZALEZ REYES, MAYRA          ADDRESS ON FILE
GONZALEZ REYES, NYDIA          ADDRESS ON FILE
GONZALEZ REYES, OSVALDO        ADDRESS ON FILE
Gonzalez Reyes, Pedro A        ADDRESS ON FILE
GONZALEZ REYES, PEDRO A.       ADDRESS ON FILE
GONZALEZ REYES, PROVIDENCIA    ADDRESS ON FILE
Gonzalez Reyes, Ricardo J      ADDRESS ON FILE
GONZALEZ REYES, RONALD         ADDRESS ON FILE
GONZALEZ REYES, ROSARIO        ADDRESS ON FILE
Gonzalez Reyes, Sigfredo       ADDRESS ON FILE
GONZALEZ REYES, SIGFREDO       ADDRESS ON FILE
GONZALEZ REYES, SONIA G        ADDRESS ON FILE
GONZALEZ REYES, TAINERIS       ADDRESS ON FILE
GONZALEZ REYES, TOMAS          ADDRESS ON FILE
GONZALEZ REYES, VICTOR         ADDRESS ON FILE
GONZALEZ REYES, VIRGINIA       ADDRESS ON FILE
GONZALEZ REYES, YAMELIS        ADDRESS ON FILE
GONZALEZ REYES,ISHBEL P.       ADDRESS ON FILE
GONZALEZ RINCON, MARIA V       ADDRESS ON FILE
GONZALEZ RINCON, ROSANNA       ADDRESS ON FILE
GONZALEZ RIOS MD, EDIL         ADDRESS ON FILE
GONZALEZ RIOS, AIDA            ADDRESS ON FILE




                                                                           Page 3394 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3395 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIOS, ANA M         ADDRESS ON FILE
GONZALEZ RIOS, ANTHONY       ADDRESS ON FILE
GONZALEZ RIOS, ARLEEN I      ADDRESS ON FILE
GONZALEZ RIOS, ARLENE        ADDRESS ON FILE
GONZALEZ RIOS, BRENDA        ADDRESS ON FILE
GONZALEZ RIOS, CARMEN L      ADDRESS ON FILE
GONZALEZ RIOS, CELSO         ADDRESS ON FILE
GONZALEZ RIOS, CINTHIA       ADDRESS ON FILE
GONZALEZ RIOS, DORIS B       ADDRESS ON FILE
GONZALEZ RIOS, EDMUNDO       ADDRESS ON FILE
GONZALEZ RIOS, ELI S.        ADDRESS ON FILE
GONZALEZ RIOS, FEDERICO      ADDRESS ON FILE
GONZALEZ RIOS, FRANCISCO     ADDRESS ON FILE
GONZALEZ RIOS, FRANCISCO J   ADDRESS ON FILE
GONZALEZ RIOS, GUDILDA       ADDRESS ON FILE
GONZALEZ RIOS, JAVIER A      ADDRESS ON FILE
GONZALEZ RIOS, JOAN          ADDRESS ON FILE
GONZALEZ RIOS, JOAQUIN       ADDRESS ON FILE
GONZALEZ RIOS, JOHANNA       ADDRESS ON FILE
GONZALEZ RIOS, JOSE          ADDRESS ON FILE
GONZALEZ RIOS, JOSUE         ADDRESS ON FILE
GONZALEZ RIOS, JUAN ANDRES   ADDRESS ON FILE
GONZALEZ RIOS, JUAN G        ADDRESS ON FILE
GONZALEZ RIOS, JUAN G        ADDRESS ON FILE
GONZALEZ RIOS, JUAN J        ADDRESS ON FILE
GONZALEZ RIOS, JUAN MANUEL   ADDRESS ON FILE
GONZALEZ RIOS, JUAN R.       ADDRESS ON FILE
Gonzalez Rios, Julio A       ADDRESS ON FILE
GONZALEZ RIOS, KARINA        ADDRESS ON FILE
GONZALEZ RIOS, LISSETTE      ADDRESS ON FILE
GONZALEZ RIOS, LOURDES E.    ADDRESS ON FILE
GONZALEZ RIOS, LOURDES E.    ADDRESS ON FILE
GONZALEZ RIOS, LUIS          ADDRESS ON FILE
GONZALEZ RIOS, LUZ T         ADDRESS ON FILE
GONZALEZ RIOS, LYMARI        ADDRESS ON FILE
GONZALEZ RIOS, MARIA         ADDRESS ON FILE
GONZALEZ RIOS, MARIBEL       ADDRESS ON FILE
GONZALEZ RIOS, MARIBEL       ADDRESS ON FILE
GONZALEZ RIOS, MARIELA       ADDRESS ON FILE
GONZALEZ RIOS, MARISEL       ADDRESS ON FILE
GONZALEZ RIOS, MARISOL I     ADDRESS ON FILE
GONZALEZ RIOS, MIGDALIA      ADDRESS ON FILE
GONZALEZ RIOS, MYRIAM M.     ADDRESS ON FILE
GONZALEZ RIOS, NATALIE       ADDRESS ON FILE
GONZALEZ RIOS, NAYDA R       ADDRESS ON FILE
GONZALEZ RIOS, NESTOR        ADDRESS ON FILE
GONZALEZ RIOS, PABLO         ADDRESS ON FILE
GONZALEZ RIOS, RAFAEL        ADDRESS ON FILE
Gonzalez Rios, Rigoberto     ADDRESS ON FILE
GONZALEZ RIOS, RUT D.        ADDRESS ON FILE
GONZALEZ RIOS, SONIA         ADDRESS ON FILE
GONZALEZ RIOS, WANDA         ADDRESS ON FILE
GONZALEZ RIOS, WILFREDO      ADDRESS ON FILE
GONZALEZ RIOS, WILLIAM       ADDRESS ON FILE
GONZALEZ RIOS, WILMA         ADDRESS ON FILE
GONZALEZ RIOS, YANEIRI       ADDRESS ON FILE
GONZALEZ RIOS, YAZMIN M.     ADDRESS ON FILE
GONZALEZ RIVAS, JESSLYN      ADDRESS ON FILE
GONZALEZ RIVAS, LUHARISA     ADDRESS ON FILE
GONZALEZ RIVAS, MAYRA I.     ADDRESS ON FILE




                                                                         Page 3395 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3396 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVAS, MIRIAM M.      ADDRESS ON FILE
GONZALEZ RIVAS, REY F.         ADDRESS ON FILE
GONZALEZ RIVERA MD, GRETCHEN   ADDRESS ON FILE
GONZALEZ RIVERA MD, HENRY      ADDRESS ON FILE
GONZALEZ RIVERA MD, NORMAN     ADDRESS ON FILE
GONZALEZ RIVERA, ABDIEL        ADDRESS ON FILE
GONZALEZ RIVERA, ABEL          ADDRESS ON FILE
GONZALEZ RIVERA, ABIGAIL       ADDRESS ON FILE
GONZALEZ RIVERA, ABRAHAM       ADDRESS ON FILE
GONZALEZ RIVERA, ABRAHAM       ADDRESS ON FILE
GONZALEZ RIVERA, ABRAHAM       ADDRESS ON FILE
GONZALEZ RIVERA, ADA           ADDRESS ON FILE
GONZALEZ RIVERA, ADA I         ADDRESS ON FILE
GONZALEZ RIVERA, ADA M.        ADDRESS ON FILE
GONZALEZ RIVERA, ADELA         ADDRESS ON FILE
GONZALEZ RIVERA, AGNES M       ADDRESS ON FILE
GONZALEZ RIVERA, AIDA          ADDRESS ON FILE
GONZALEZ RIVERA, AIDA E        ADDRESS ON FILE
GONZALEZ RIVERA, AIDA L        ADDRESS ON FILE
GONZALEZ RIVERA, ALBA          ADDRESS ON FILE
Gonzalez Rivera, Alberto       ADDRESS ON FILE
GONZALEZ RIVERA, ALBIN Y       ADDRESS ON FILE
GONZALEZ RIVERA, ALEJANDRO     ADDRESS ON FILE
GONZALEZ RIVERA, ALEX          ADDRESS ON FILE
GONZALEZ RIVERA, ALEX          ADDRESS ON FILE
GONZALEZ RIVERA, ALEXIS        ADDRESS ON FILE
GONZALEZ RIVERA, ALEXIS        ADDRESS ON FILE
GONZALEZ RIVERA, ALFREDO       ADDRESS ON FILE
GONZALEZ RIVERA, ALFREDO       ADDRESS ON FILE
Gonzalez Rivera, Alfredo       ADDRESS ON FILE
GONZALEZ RIVERA, ALTAGRACIA    ADDRESS ON FILE
GONZALEZ RIVERA, AMY E         ADDRESS ON FILE
GONZALEZ RIVERA, ANA           ADDRESS ON FILE
GONZALEZ RIVERA, ANA           ADDRESS ON FILE
GONZALEZ RIVERA, ANA           ADDRESS ON FILE
GONZALEZ RIVERA, ANA           ADDRESS ON FILE
GONZALEZ RIVERA, ANA C.        ADDRESS ON FILE
GONZALEZ RIVERA, ANA D         ADDRESS ON FILE
GONZALEZ RIVERA, ANA H         ADDRESS ON FILE
GONZALEZ RIVERA, ANA I.        ADDRESS ON FILE
GONZALEZ RIVERA, ANA M         ADDRESS ON FILE
GONZALEZ RIVERA, ANA M.        ADDRESS ON FILE
GONZALEZ RIVERA, ANAIS         ADDRESS ON FILE
GONZALEZ RIVERA, ANDRE J       ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL         ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL         ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL         ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL         ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL J.      ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL L       ADDRESS ON FILE
GONZALEZ RIVERA, ANGEL L       ADDRESS ON FILE
Gonzalez Rivera, Angel L.      ADDRESS ON FILE
GONZALEZ RIVERA, ANGELA M      ADDRESS ON FILE
GONZALEZ RIVERA, ANIANA        ADDRESS ON FILE
GONZALEZ RIVERA, ANTOLIN       ADDRESS ON FILE
GONZALEZ RIVERA, ARACELIS      ADDRESS ON FILE
GONZALEZ RIVERA, ARACELIS      ADDRESS ON FILE
Gonzalez Rivera, Ariel M       ADDRESS ON FILE
GONZALEZ RIVERA, ARLENE        ADDRESS ON FILE
GONZALEZ RIVERA, ARMANDO       ADDRESS ON FILE




                                                                           Page 3396 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3397 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, ARMANDO          ADDRESS ON FILE
Gonzalez Rivera, Armando D.       ADDRESS ON FILE
GONZALEZ RIVERA, ARMANDO J.       ADDRESS ON FILE
GONZALEZ RIVERA, ARMANDO J.       ADDRESS ON FILE
GONZALEZ RIVERA, AUREA            ADDRESS ON FILE
GONZALEZ RIVERA, AXEL             ADDRESS ON FILE
Gonzalez Rivera, Basilio          ADDRESS ON FILE
GONZALEZ RIVERA, BASILIO          ADDRESS ON FILE
GONZALEZ RIVERA, BASILIO          ADDRESS ON FILE
GONZALEZ RIVERA, BEATRIZ          ADDRESS ON FILE
GONZALEZ RIVERA, BENJAMIN         ADDRESS ON FILE
GONZALEZ RIVERA, BENJAMIN         ADDRESS ON FILE
GONZALEZ RIVERA, BENJAMIN         ADDRESS ON FILE
GONZALEZ RIVERA, BETTY            ADDRESS ON FILE
GONZALEZ RIVERA, BIENVENIDA       ADDRESS ON FILE
GONZALEZ RIVERA, BILLY            ADDRESS ON FILE
GONZALEZ RIVERA, BLANCA           ADDRESS ON FILE
GONZALEZ RIVERA, BLANCA I         ADDRESS ON FILE
GONZALEZ RIVERA, BLESILDA         ADDRESS ON FILE
GONZALEZ RIVERA, BRENDA           ADDRESS ON FILE
GONZALEZ RIVERA, BRENDA           ADDRESS ON FILE
GONZALEZ RIVERA, BRENDALEE        ADDRESS ON FILE
GONZALEZ RIVERA, BRUNILDA         ADDRESS ON FILE
GONZALEZ RIVERA, BRYAN LOUIS      ADDRESS ON FILE
GONZALEZ RIVERA, CANDELARIO       ADDRESS ON FILE
GONZALEZ RIVERA, CANDELARIO       ADDRESS ON FILE
GONZALEZ RIVERA, CANDELARIO       ADDRESS ON FILE
GONZALEZ RIVERA, CANDIDO          ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS           ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS           ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS           ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS           ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS           ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS           ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS A         ADDRESS ON FILE
GONZALEZ RIVERA, CARLOS O         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN           ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN           ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN           ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN           ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN           ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN C         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN D         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN I         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN I         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN L         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN M         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN M         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN M         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN M         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN MATILDE   ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN N         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN R         ADDRESS ON FILE
GONZALEZ RIVERA, CARMEN V         ADDRESS ON FILE
Gonzalez Rivera, Catalino         ADDRESS ON FILE
GONZALEZ RIVERA, CATHERINE D.     ADDRESS ON FILE
GONZALEZ RIVERA, CHARISEL         ADDRESS ON FILE
GONZALEZ RIVERA, CLARISSA         ADDRESS ON FILE
Gonzalez Rivera, Concepcion       ADDRESS ON FILE
GONZALEZ RIVERA, CRISTELIO        ADDRESS ON FILE




                                                                              Page 3397 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3398 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, CRISTIAN      ADDRESS ON FILE
GONZALEZ RIVERA, CRISTOBAL     ADDRESS ON FILE
GONZALEZ RIVERA, CRUZ E        ADDRESS ON FILE
GONZALEZ RIVERA, DAMARY        ADDRESS ON FILE
GONZALEZ RIVERA, DANIEL        ADDRESS ON FILE
GONZALEZ RIVERA, DAVIS         ADDRESS ON FILE
GONZALEZ RIVERA, DENNISSE      ADDRESS ON FILE
GONZALEZ RIVERA, DESIREE       ADDRESS ON FILE
GONZALEZ RIVERA, DEXTER        ADDRESS ON FILE
GONZALEZ RIVERA, DIANA         ADDRESS ON FILE
GONZALEZ RIVERA, DIEGO         ADDRESS ON FILE
GONZALEZ RIVERA, DORAIMA       ADDRESS ON FILE
GONZALEZ RIVERA, DORILSA       ADDRESS ON FILE
GONZALEZ RIVERA, EDDIE         ADDRESS ON FILE
GONZALEZ RIVERA, EDGAR         ADDRESS ON FILE
GONZALEZ RIVERA, EDGARDO       ADDRESS ON FILE
GONZALEZ RIVERA, EDGARDO       ADDRESS ON FILE
GONZALEZ RIVERA, EDNA          ADDRESS ON FILE
GONZALEZ RIVERA, EDUARBERTO    ADDRESS ON FILE
GONZALEZ RIVERA, EDWIN         ADDRESS ON FILE
GONZALEZ RIVERA, EDWIN A       ADDRESS ON FILE
GONZALEZ RIVERA, ELENA         ADDRESS ON FILE
GONZALEZ RIVERA, ELENA R.      ADDRESS ON FILE
GONZALEZ RIVERA, ELENA S.      ADDRESS ON FILE
GONZALEZ RIVERA, ELIECER       ADDRESS ON FILE
GONZALEZ RIVERA, ELIO          ADDRESS ON FILE
GONZALEZ RIVERA, ELIZABETH     ADDRESS ON FILE
Gonzalez Rivera, Elizabeth     ADDRESS ON FILE
GONZALEZ RIVERA, ELSA M        ADDRESS ON FILE
GONZALEZ RIVERA, ELSIE M.      ADDRESS ON FILE
GONZALEZ RIVERA, EMMA          ADDRESS ON FILE
GONZALEZ RIVERA, EMY           ADDRESS ON FILE
Gonzalez Rivera, Enid J        ADDRESS ON FILE
GONZALEZ RIVERA, ENID M        ADDRESS ON FILE
GONZALEZ RIVERA, ENID V        ADDRESS ON FILE
GONZALEZ RIVERA, ENRIQUE       ADDRESS ON FILE
GONZALEZ RIVERA, ERIC          ADDRESS ON FILE
GONZALEZ RIVERA, ERICBERTO     ADDRESS ON FILE
GONZALEZ RIVERA, EVA           ADDRESS ON FILE
GONZALEZ RIVERA, EVELYN        ADDRESS ON FILE
GONZALEZ RIVERA, FELIX         ADDRESS ON FILE
GONZALEZ RIVERA, FELIX         ADDRESS ON FILE
GONZALEZ RIVERA, FELIX L       ADDRESS ON FILE
GONZALEZ RIVERA, FIDEL         ADDRESS ON FILE
GONZALEZ RIVERA, FLOR D        ADDRESS ON FILE
GONZALEZ RIVERA, FLOR M        ADDRESS ON FILE
GONZALEZ RIVERA, FRANCIS       ADDRESS ON FILE
GONZALEZ RIVERA, FRANCISCO R   ADDRESS ON FILE
Gonzalez Rivera, Gabriel       ADDRESS ON FILE
Gonzalez Rivera, Gabriel       ADDRESS ON FILE
GONZALEZ RIVERA, GENEIEVE      ADDRESS ON FILE
GONZALEZ RIVERA, GENEIEVE      ADDRESS ON FILE
GONZALEZ RIVERA, GENEROSA      ADDRESS ON FILE
GONZALEZ RIVERA, GERARDO       ADDRESS ON FILE
GONZALEZ RIVERA, GERARDO       ADDRESS ON FILE
GONZALEZ RIVERA, GIL A         ADDRESS ON FILE
GONZALEZ RIVERA, GILDREN       ADDRESS ON FILE
GONZALEZ RIVERA, GIOVANNI      ADDRESS ON FILE
Gonzalez Rivera, Giovanni      ADDRESS ON FILE
GONZALEZ RIVERA, GLADYS        ADDRESS ON FILE




                                                                           Page 3398 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3399 of 3500
                                                                             17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                 Address1                  Address2                                Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, GLADYS       ADDRESS ON FILE
GONZALEZ RIVERA, GLENDALYS    ADDRESS ON FILE
GONZALEZ RIVERA, GLORIA E     ADDRESS ON FILE
GONZALEZ RIVERA, GLORIA E     ADDRESS ON FILE
GONZALEZ RIVERA, GLORIMAR     ADDRESS ON FILE
GONZALEZ RIVERA, HAYLIN       ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR       ADDRESS ON FILE
Gonzalez Rivera, Hector       ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR       ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR       ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR       ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR       ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR L     ADDRESS ON FILE
Gonzalez Rivera, Hector M     ADDRESS ON FILE
GONZALEZ RIVERA, HECTOR M.    ADDRESS ON FILE
GONZALEZ RIVERA, HEISY        ADDRESS ON FILE
GONZALEZ RIVERA, HELGA        ADDRESS ON FILE
Gonzalez Rivera, Hermes G.    ADDRESS ON FILE
GONZALEZ RIVERA, HERMINIO     ADDRESS ON FILE
GONZALEZ RIVERA, HERNAN       ADDRESS ON FILE
GONZALEZ RIVERA, HILDA L      ADDRESS ON FILE
GONZALEZ RIVERA, HIRANIEL     ADDRESS ON FILE
GONZALEZ RIVERA, IDALIS       ADDRESS ON FILE
GONZALEZ RIVERA, IDAMARYS     ADDRESS ON FILE
GONZALEZ RIVERA, ILEANA       ADDRESS ON FILE
GONZALEZ RIVERA, ILIA M       ADDRESS ON FILE
GONZALEZ RIVERA, ILSA         ADDRESS ON FILE
GONZALEZ RIVERA, ILSA         ADDRESS ON FILE
GONZALEZ RIVERA, INC.         PO BOX 9699               PLAZA CAROLINA STATION                                        CAROLINA     PR      00988
GONZALEZ RIVERA, IRIS         ADDRESS ON FILE
GONZALEZ RIVERA, IRIS         ADDRESS ON FILE
GONZALEZ RIVERA, IRIS         ADDRESS ON FILE
Gonzalez Rivera, Iris L       ADDRESS ON FILE
GONZALEZ RIVERA, IRIS L       ADDRESS ON FILE
GONZALEZ RIVERA, IRIS M.      ADDRESS ON FILE
GONZALEZ RIVERA, IRMA         ADDRESS ON FILE
GONZALEZ RIVERA, IRMA         ADDRESS ON FILE
GONZALEZ RIVERA, IRMA         ADDRESS ON FILE
GONZALEZ RIVERA, IRMA L.      ADDRESS ON FILE
GONZALEZ RIVERA, IRVING G     ADDRESS ON FILE
GONZALEZ RIVERA, ISAURA       ADDRESS ON FILE
GONZALEZ RIVERA, ISIDRA       ADDRESS ON FILE
GONZALEZ RIVERA, ISRAEL       ADDRESS ON FILE
Gonzalez Rivera, Ivan         ADDRESS ON FILE
GONZALEZ RIVERA, IVAN         ADDRESS ON FILE
GONZALEZ RIVERA, IVAN         ADDRESS ON FILE
GONZALEZ RIVERA, JACKELINE    ADDRESS ON FILE
GONZALEZ RIVERA, JACQUELINE   ADDRESS ON FILE
GONZALEZ RIVERA, JACQUELINE   ADDRESS ON FILE
GONZALEZ RIVERA, JAILENE M    ADDRESS ON FILE
GONZALEZ RIVERA, JAMES A      ADDRESS ON FILE
GONZALEZ RIVERA, JANET        ADDRESS ON FILE
GONZALEZ RIVERA, JANET G      ADDRESS ON FILE
GONZALEZ RIVERA, JANISSA N    ADDRESS ON FILE
GONZALEZ RIVERA, JASMIN       ADDRESS ON FILE
GONZALEZ RIVERA, JAVIER       ADDRESS ON FILE
GONZALEZ RIVERA, JEDITHZA     ADDRESS ON FILE
GONZALEZ RIVERA, JENNIFER     ADDRESS ON FILE
GONZALEZ RIVERA, JESSICA      ADDRESS ON FILE
GONZALEZ RIVERA, JESUS R      ADDRESS ON FILE




                                                                                 Page 3399 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3400 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, JOANNA      ADDRESS ON FILE
GONZALEZ RIVERA, JOEL        ADDRESS ON FILE
GONZALEZ RIVERA, JOEL A.     ADDRESS ON FILE
GONZALEZ RIVERA, JOENALLY    ADDRESS ON FILE
GONZALEZ RIVERA, JOHANN O    ADDRESS ON FILE
GONZALEZ RIVERA, JOHANNA E   ADDRESS ON FILE
GONZALEZ RIVERA, JOHN H.     ADDRESS ON FILE
GONZALEZ RIVERA, JOHNNY      ADDRESS ON FILE
GONZALEZ RIVERA, JOHNNY      ADDRESS ON FILE
GONZALEZ RIVERA, JOMAYRA     ADDRESS ON FILE
GONZALEZ RIVERA, JONATHAN    ADDRESS ON FILE
GONZALEZ RIVERA, JONEIDA     ADDRESS ON FILE
GONZALEZ RIVERA, JORELIS     ADDRESS ON FILE
GONZALEZ RIVERA, JORGE       ADDRESS ON FILE
GONZALEZ RIVERA, JORGE       ADDRESS ON FILE
GONZALEZ RIVERA, JORGE       ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE        ADDRESS ON FILE
GONZALEZ RIVERA, JOSE A      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE A      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE A.     ADDRESS ON FILE
Gonzalez Rivera, Jose A.     ADDRESS ON FILE
Gonzalez Rivera, Jose E      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE J      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE J.     ADDRESS ON FILE
GONZALEZ RIVERA, JOSE LUIS   ADDRESS ON FILE
GONZALEZ RIVERA, JOSE M      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE M      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE M      ADDRESS ON FILE
Gonzalez Rivera, Jose M      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE M      ADDRESS ON FILE
GONZALEZ RIVERA, JOSE V.     ADDRESS ON FILE
GONZALEZ RIVERA, JOSEFINA    ADDRESS ON FILE
GONZALEZ RIVERA, JOSELINE    ADDRESS ON FILE
GONZALEZ RIVERA, JOSELLY     ADDRESS ON FILE
GONZALEZ RIVERA, JOSHUA C.   ADDRESS ON FILE
GONZALEZ RIVERA, JOSMARIE    ADDRESS ON FILE
Gonzalez Rivera, Josue       ADDRESS ON FILE
GONZALEZ RIVERA, JOSUE D     ADDRESS ON FILE
GONZALEZ RIVERA, JOVED       ADDRESS ON FILE
GONZALEZ RIVERA, JUAN        ADDRESS ON FILE
GONZALEZ RIVERA, JUAN        ADDRESS ON FILE
GONZALEZ RIVERA, JUAN        ADDRESS ON FILE
GONZALEZ RIVERA, JUAN        ADDRESS ON FILE
GONZALEZ RIVERA, JUAN        ADDRESS ON FILE
GONZALEZ RIVERA, JUAN        ADDRESS ON FILE
Gonzalez Rivera, Juan C      ADDRESS ON FILE
Gonzalez Rivera, Juan C      ADDRESS ON FILE
GONZALEZ RIVERA, JUAN J.     ADDRESS ON FILE
GONZALEZ RIVERA, JUAN M.     ADDRESS ON FILE
Gonzalez Rivera, Juan R      ADDRESS ON FILE
GONZALEZ RIVERA, JUANA       ADDRESS ON FILE




                                                                         Page 3400 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3401 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, JUANA M       ADDRESS ON FILE
GONZALEZ RIVERA, JUDITH        ADDRESS ON FILE
GONZALEZ RIVERA, JUDYBELLE     ADDRESS ON FILE
GONZALEZ RIVERA, JULIA         ADDRESS ON FILE
GONZALEZ RIVERA, JULIO         ADDRESS ON FILE
GONZALEZ RIVERA, KAREN         ADDRESS ON FILE
GONZALEZ RIVERA, KAREN J.      ADDRESS ON FILE
GONZALEZ RIVERA, KARINA        ADDRESS ON FILE
GONZALEZ RIVERA, KARLA         ADDRESS ON FILE
GONZALEZ RIVERA, LAURA E       ADDRESS ON FILE
GONZALEZ RIVERA, LEONARDO      ADDRESS ON FILE
GONZALEZ RIVERA, LILIANA       ADDRESS ON FILE
GONZALEZ RIVERA, LILLIAM       ADDRESS ON FILE
GONZALEZ RIVERA, LILLIAM       ADDRESS ON FILE
GONZALEZ RIVERA, LILLIAM       ADDRESS ON FILE
GONZALEZ RIVERA, LILLIAN       ADDRESS ON FILE
GONZALEZ RIVERA, LINDA         ADDRESS ON FILE
GONZALEZ RIVERA, LINDA M       ADDRESS ON FILE
GONZALEZ RIVERA, LINNETTE      ADDRESS ON FILE
GONZALEZ RIVERA, LISA I.       ADDRESS ON FILE
GONZALEZ RIVERA, LIZBETH       ADDRESS ON FILE
GONZALEZ RIVERA, LIZBETH       ADDRESS ON FILE
GONZALEZ RIVERA, LORENZO       ADDRESS ON FILE
GONZALEZ RIVERA, LORNA         ADDRESS ON FILE
GONZALEZ RIVERA, LOURDES       ADDRESS ON FILE
GONZALEZ RIVERA, LOURDES       ADDRESS ON FILE
GONZALEZ RIVERA, LOURDES G.    ADDRESS ON FILE
GONZALEZ RIVERA, LOURDES Y     ADDRESS ON FILE
GONZALEZ RIVERA, LUCIA         ADDRESS ON FILE
GONZALEZ RIVERA, LUCIA I.      ADDRESS ON FILE
GONZALEZ RIVERA, LUIS          ADDRESS ON FILE
GONZALEZ RIVERA, LUIS          ADDRESS ON FILE
GONZALEZ RIVERA, LUIS          ADDRESS ON FILE
GONZALEZ RIVERA, LUIS          ADDRESS ON FILE
GONZALEZ RIVERA, LUIS          ADDRESS ON FILE
GONZALEZ RIVERA, LUIS A        ADDRESS ON FILE
GONZALEZ RIVERA, LUIS J.       ADDRESS ON FILE
GONZALEZ RIVERA, LUZ           ADDRESS ON FILE
GONZALEZ RIVERA, LUZ           ADDRESS ON FILE
GONZALEZ RIVERA, LUZ M         ADDRESS ON FILE
GONZALEZ RIVERA, LUZ M         ADDRESS ON FILE
GONZALEZ RIVERA, LUZ N         ADDRESS ON FILE
GONZALEZ RIVERA, LUZ P         ADDRESS ON FILE
Gonzalez Rivera, Luzzan        ADDRESS ON FILE
GONZALEZ RIVERA, LYDIA         ADDRESS ON FILE
GONZALEZ RIVERA, LYDIA         ADDRESS ON FILE
GONZALEZ RIVERA, MAGDA E.      ADDRESS ON FILE
GONZALEZ RIVERA, MANUEL        ADDRESS ON FILE
GONZALEZ RIVERA, MAR DE C      ADDRESS ON FILE
GONZALEZ RIVERA, MARGARITA     ADDRESS ON FILE
GONZALEZ RIVERA, MARI          ADDRESS ON FILE
GONZALEZ RIVERA, MARIA         ADDRESS ON FILE
GONZALEZ RIVERA, MARIA         ADDRESS ON FILE
GONZALEZ RIVERA, MARIA         ADDRESS ON FILE
GONZALEZ RIVERA, MARIA         ADDRESS ON FILE
GONZALEZ RIVERA, MARIA DE      ADDRESS ON FILE
GONZALEZ RIVERA, MARIA DEL C   ADDRESS ON FILE
GONZALEZ RIVERA, MARIA E       ADDRESS ON FILE
GONZALEZ RIVERA, MARIA E       ADDRESS ON FILE
GONZALEZ RIVERA, MARIA I.      ADDRESS ON FILE




                                                                           Page 3401 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3402 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, MARIA M          ADDRESS ON FILE
GONZALEZ RIVERA, MARIA M          ADDRESS ON FILE
GONZALEZ RIVERA, MARIA P          ADDRESS ON FILE
GONZALEZ RIVERA, MARIA R.         ADDRESS ON FILE
GONZALEZ RIVERA, MARIA T          ADDRESS ON FILE
GONZALEZ RIVERA, MARIANA          ADDRESS ON FILE
GONZALEZ RIVERA, MARIANNE         ADDRESS ON FILE
GONZALEZ RIVERA, MARIBEL          ADDRESS ON FILE
GONZALEZ RIVERA, MARIBEL          ADDRESS ON FILE
Gonzalez Rivera, Maricelly        ADDRESS ON FILE
GONZALEZ RIVERA, MARIE MERCEDES   ADDRESS ON FILE
Gonzalez Rivera, Marilyn J.       ADDRESS ON FILE
GONZALEZ RIVERA, MARINA           ADDRESS ON FILE
GONZALEZ RIVERA, MARIO            ADDRESS ON FILE
GONZALEZ RIVERA, MARISELLE        ADDRESS ON FILE
GONZALEZ RIVERA, MARISOL          ADDRESS ON FILE
GONZALEZ RIVERA, MARISOL          ADDRESS ON FILE
GONZALEZ RIVERA, MARISOL          ADDRESS ON FILE
GONZALEZ RIVERA, MARLENE          ADDRESS ON FILE
GONZALEZ RIVERA, MARTA            ADDRESS ON FILE
GONZALEZ RIVERA, MARTA            ADDRESS ON FILE
GONZALEZ RIVERA, MARTA            ADDRESS ON FILE
GONZALEZ RIVERA, MARTA I.         ADDRESS ON FILE
GONZALEZ RIVERA, MARTHA           ADDRESS ON FILE
Gonzalez Rivera, Matilde          ADDRESS ON FILE
GONZALEZ RIVERA, MELISSA Y        ADDRESS ON FILE
GONZALEZ RIVERA, MELIXA           ADDRESS ON FILE
GONZALEZ RIVERA, MICHAEL          ADDRESS ON FILE
GONZALEZ RIVERA, MIGDALIZ         ADDRESS ON FILE
GONZALEZ RIVERA, MIGUEL           ADDRESS ON FILE
GONZALEZ RIVERA, MIGUEL A         ADDRESS ON FILE
Gonzalez Rivera, Miguel A         ADDRESS ON FILE
GONZALEZ RIVERA, MIGUEL A.        ADDRESS ON FILE
GONZALEZ RIVERA, MILAGROS         ADDRESS ON FILE
GONZALEZ RIVERA, MILDRED          ADDRESS ON FILE
GONZALEZ RIVERA, MIRIAM           ADDRESS ON FILE
GONZALEZ RIVERA, MIRIAM           ADDRESS ON FILE
GONZALEZ RIVERA, MIRIAM I.        ADDRESS ON FILE
GONZALEZ RIVERA, MIRNA I          ADDRESS ON FILE
GONZALEZ RIVERA, MIRTA L          ADDRESS ON FILE
GONZALEZ RIVERA, MONSERRAT        ADDRESS ON FILE
GONZALEZ RIVERA, MORAIMA N        ADDRESS ON FILE
GONZALEZ RIVERA, NATIVIDAD        ADDRESS ON FILE
GONZALEZ RIVERA, NATIVIDAD        ADDRESS ON FILE
GONZALEZ RIVERA, NEFTALI          ADDRESS ON FILE
GONZALEZ RIVERA, NEHEMIAS         ADDRESS ON FILE
Gonzalez Rivera, Nelson D.        ADDRESS ON FILE
GONZALEZ RIVERA, NEREIDA          ADDRESS ON FILE
GONZALEZ RIVERA, NEREIDA          ADDRESS ON FILE
Gonzalez Rivera, Nerias           ADDRESS ON FILE
GONZALEZ RIVERA, NESTOR           ADDRESS ON FILE
GONZALEZ RIVERA, NILDA D          ADDRESS ON FILE
GONZALEZ RIVERA, NOEMI            ADDRESS ON FILE
GONZALEZ RIVERA, NORMA I          ADDRESS ON FILE
GONZALEZ RIVERA, NORMA I.         ADDRESS ON FILE
GONZALEZ RIVERA, NORMA M          ADDRESS ON FILE
GONZALEZ RIVERA, NORMAN           ADDRESS ON FILE
GONZALEZ RIVERA, NYDIA            ADDRESS ON FILE
GONZALEZ RIVERA, NYLSA M          ADDRESS ON FILE
GONZALEZ RIVERA, OCTAVIO          ADDRESS ON FILE




                                                                              Page 3402 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3403 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, OCTAVIO      ADDRESS ON FILE
GONZALEZ RIVERA, OLGA         ADDRESS ON FILE
GONZALEZ RIVERA, ORDALYS      ADDRESS ON FILE
GONZALEZ RIVERA, ORLANDO      ADDRESS ON FILE
GONZALEZ RIVERA, ORLANDO      ADDRESS ON FILE
GONZALEZ RIVERA, ORLANDO M.   ADDRESS ON FILE
GONZALEZ RIVERA, OSCAR G.     ADDRESS ON FILE
GONZALEZ RIVERA, OSCAR M.     ADDRESS ON FILE
GONZALEZ RIVERA, PABLO        ADDRESS ON FILE
GONZALEZ RIVERA, PABLO        ADDRESS ON FILE
GONZALEZ RIVERA, PABLO        ADDRESS ON FILE
GONZALEZ RIVERA, PAOLA        ADDRESS ON FILE
GONZALEZ RIVERA, PEDRO        ADDRESS ON FILE
GONZALEZ RIVERA, PEDRO        ADDRESS ON FILE
GONZALEZ RIVERA, PEDRO J      ADDRESS ON FILE
GONZALEZ RIVERA, PEDRO J.     ADDRESS ON FILE
GONZALEZ RIVERA, PETER        ADDRESS ON FILE
GONZALEZ RIVERA, PETRONILA    ADDRESS ON FILE
GONZALEZ RIVERA, RAFAEL       ADDRESS ON FILE
Gonzalez Rivera, Rafael       ADDRESS ON FILE
Gonzalez Rivera, Rafael       ADDRESS ON FILE
GONZALEZ RIVERA, RAFAEL       ADDRESS ON FILE
GONZALEZ RIVERA, RAFAEL       ADDRESS ON FILE
GONZALEZ RIVERA, RAFAEL E     ADDRESS ON FILE
GONZALEZ RIVERA, RAMON        ADDRESS ON FILE
GONZALEZ RIVERA, RAMON A      ADDRESS ON FILE
Gonzalez Rivera, Ramon L      ADDRESS ON FILE
GONZALEZ RIVERA, RAMONITA     ADDRESS ON FILE
GONZALEZ RIVERA, RAQUEL       ADDRESS ON FILE
GONZALEZ RIVERA, RAUL         ADDRESS ON FILE
GONZALEZ RIVERA, RAUL         ADDRESS ON FILE
GONZALEZ RIVERA, RAUL         ADDRESS ON FILE
GONZALEZ RIVERA, REINALDO     ADDRESS ON FILE
GONZALEZ RIVERA, RENE         ADDRESS ON FILE
GONZALEZ RIVERA, RENE RUBEN   ADDRESS ON FILE
GONZALEZ RIVERA, RICARDO      ADDRESS ON FILE
GONZALEZ RIVERA, ROBERTO      ADDRESS ON FILE
Gonzalez Rivera, Roberto      ADDRESS ON FILE
GONZALEZ RIVERA, ROBERTO      ADDRESS ON FILE
GONZALEZ RIVERA, ROBERTO      ADDRESS ON FILE
GONZALEZ RIVERA, ROBNELL      ADDRESS ON FILE
GONZALEZ RIVERA, ROSA         ADDRESS ON FILE
GONZALEZ RIVERA, ROSA         ADDRESS ON FILE
GONZALEZ RIVERA, ROSA A.      ADDRESS ON FILE
GONZALEZ RIVERA, ROSA B       ADDRESS ON FILE
GONZALEZ RIVERA, ROSA E       ADDRESS ON FILE
GONZALEZ RIVERA, ROSA E       ADDRESS ON FILE
GONZALEZ RIVERA, ROSA E.      ADDRESS ON FILE
GONZALEZ RIVERA, ROSARIO      ADDRESS ON FILE
GONZALEZ RIVERA, SAMUEL       ADDRESS ON FILE
GONZALEZ RIVERA, SANDRA       ADDRESS ON FILE
GONZALEZ RIVERA, SANDRA       ADDRESS ON FILE
GONZALEZ RIVERA, SANTIAGO     ADDRESS ON FILE
GONZALEZ RIVERA, SARA         ADDRESS ON FILE
GONZALEZ RIVERA, SARA         ADDRESS ON FILE
GONZALEZ RIVERA, SAYDEE       ADDRESS ON FILE
Gonzalez Rivera, Severiano    ADDRESS ON FILE
GONZALEZ RIVERA, SHARON       ADDRESS ON FILE
GONZALEZ RIVERA, SOL          ADDRESS ON FILE
GONZALEZ RIVERA, SOLDELIX     ADDRESS ON FILE




                                                                          Page 3403 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3404 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RIVERA, SONIA       ADDRESS ON FILE
GONZALEZ RIVERA, SONIA       ADDRESS ON FILE
GONZALEZ RIVERA, SONIA       ADDRESS ON FILE
GONZALEZ RIVERA, SONIA       ADDRESS ON FILE
GONZALEZ RIVERA, SONIA       ADDRESS ON FILE
GONZALEZ RIVERA, SONIA I     ADDRESS ON FILE
GONZALEZ RIVERA, STEPHANIE   ADDRESS ON FILE
GONZALEZ RIVERA, SUGEILY     ADDRESS ON FILE
GONZALEZ RIVERA, SYLMA M     ADDRESS ON FILE
GONZALEZ RIVERA, SYLVIA      ADDRESS ON FILE
GONZALEZ RIVERA, TAMARA      ADDRESS ON FILE
GONZALEZ RIVERA, TCHERYN     ADDRESS ON FILE
GONZALEZ RIVERA, TOMAS       ADDRESS ON FILE
GONZALEZ RIVERA, VANESSA     ADDRESS ON FILE
GONZALEZ RIVERA, VICTOR      ADDRESS ON FILE
GONZALEZ RIVERA, VICTOR      ADDRESS ON FILE
GONZALEZ RIVERA, VICTOR      ADDRESS ON FILE
GONZALEZ RIVERA, VICTORIA    ADDRESS ON FILE
GONZALEZ RIVERA, VILMA A     ADDRESS ON FILE
GONZALEZ RIVERA, WANDA       ADDRESS ON FILE
GONZALEZ RIVERA, WANDA       ADDRESS ON FILE
GONZALEZ RIVERA, WANDA       ADDRESS ON FILE
Gonzalez Rivera, Wanda I     ADDRESS ON FILE
GONZALEZ RIVERA, WANDA L.    ADDRESS ON FILE
GONZALEZ RIVERA, WIDALYS     ADDRESS ON FILE
GONZALEZ RIVERA, WILDA I.    ADDRESS ON FILE
GONZALEZ RIVERA, WILFREDO    ADDRESS ON FILE
GONZALEZ RIVERA, WILFREDO    ADDRESS ON FILE
GONZALEZ RIVERA, WILLIAM     ADDRESS ON FILE
GONZALEZ RIVERA, WILLY       ADDRESS ON FILE
GONZALEZ RIVERA, XIOMARA     ADDRESS ON FILE
GONZALEZ RIVERA, YADIRA      ADDRESS ON FILE
GONZALEZ RIVERA, YALISIE     ADDRESS ON FILE
GONZALEZ RIVERA, YARA C      ADDRESS ON FILE
GONZALEZ RIVERA, YARELIS     ADDRESS ON FILE
GONZALEZ RIVERA, YESSENIA    ADDRESS ON FILE
GONZALEZ RIVERA, YOLANDA     ADDRESS ON FILE
GONZALEZ RIVERA, YOLANDA     ADDRESS ON FILE
GONZALEZ RIVERA, YOLANDA     ADDRESS ON FILE
GONZALEZ RIVERA, YOLANDA     ADDRESS ON FILE
GONZALEZ RIVERA, YVETTE      ADDRESS ON FILE
GONZALEZ RIVERA, ZAIDA       ADDRESS ON FILE
GONZALEZ RIVERA, ZAIDA       ADDRESS ON FILE
GONZALEZ RIVERA, ZAMARY      ADDRESS ON FILE
GONZALEZ RIVERA, ZENAIDA     ADDRESS ON FILE
GONZALEZ RIVERA, ZORAIDA     ADDRESS ON FILE
GONZALEZ RIVERA, ZUGEIZA     ADDRESS ON FILE
GONZALEZ RIVERA, ZULEIKA     ADDRESS ON FILE
GONZALEZ RIVERA, ZULMA M     ADDRESS ON FILE
GONZALEZ RIVERA,SANDRA I.    ADDRESS ON FILE
GONZALEZ RIVERO, ANGEL       ADDRESS ON FILE
GONZALEZ ROASRIO, JIMMY      ADDRESS ON FILE
GONZALEZ ROBINSON, KARLA     ADDRESS ON FILE
GONZALEZ ROBLEDO, NELSON     ADDRESS ON FILE
GONZALEZ ROBLES, ADIANELIZ   ADDRESS ON FILE
GONZALEZ ROBLES, ANGEL L     ADDRESS ON FILE
GONZALEZ ROBLES, ANTONIO     ADDRESS ON FILE
GONZALEZ ROBLES, ARGELIA J   ADDRESS ON FILE
GONZALEZ ROBLES, AURA E      ADDRESS ON FILE
GONZALEZ ROBLES, BLANCA E.   ADDRESS ON FILE




                                                                         Page 3404 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3405 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROBLES, CARMELO           ADDRESS ON FILE
GONZALEZ ROBLES, CARMEN M          ADDRESS ON FILE
GONZALEZ ROBLES, EMMA L            ADDRESS ON FILE
Gonzalez Robles, Evelyn            ADDRESS ON FILE
GONZALEZ ROBLES, EVELYN            ADDRESS ON FILE
GONZALEZ ROBLES, EVELYN            ADDRESS ON FILE
GONZALEZ ROBLES, GLENDA            ADDRESS ON FILE
GONZALEZ ROBLES, HECTOR            ADDRESS ON FILE
GONZALEZ ROBLES, IRIS              ADDRESS ON FILE
GONZALEZ ROBLES, JOEL              ADDRESS ON FILE
GONZALEZ ROBLES, JOEL              ADDRESS ON FILE
GONZALEZ ROBLES, JOSE I            ADDRESS ON FILE
GONZALEZ ROBLES, JULIE             ADDRESS ON FILE
GONZALEZ ROBLES, MARIBEL           ADDRESS ON FILE
GONZALEZ ROBLES, MILDRED S.        ADDRESS ON FILE
GONZALEZ ROBLES, MIREYA            ADDRESS ON FILE
GONZALEZ ROBLES, NEIDALIZ          ADDRESS ON FILE
GONZALEZ ROBLES, OVIDIO            ADDRESS ON FILE
GONZALEZ ROBLES, RAMONITA          ADDRESS ON FILE
GONZALEZ ROBLES, REINALDO          ADDRESS ON FILE
GONZALEZ ROBLES, REYNALDO M.       ADDRESS ON FILE
GONZALEZ ROBLES, SONIA O           ADDRESS ON FILE
GONZALEZ ROBLES, TAMARA            ADDRESS ON FILE
GONZALEZ ROBLES, VICTOR            ADDRESS ON FILE
GONZALEZ ROCHE, CARMEN A.          ADDRESS ON FILE
GONZALEZ RODR., MARISOL            ADDRESS ON FILE
Gonzalez Rodrigue, Sylkia V        ADDRESS ON FILE
GONZALEZ RODRIGUE, TERESITA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, JORGE       ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, JULIO A     ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, MANUEL      ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, MANUEL A    ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, NESTOR M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, OMAYRA L    ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, SAMUEL      ADDRESS ON FILE
GONZALEZ RODRIGUEZ MD, SAMUEL A    ADDRESS ON FILE
GONZALEZ RODRIGUEZ MF, JULIO A     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ABDIEL         ADDRESS ON FILE
Gonzalez Rodriguez, Abigail        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ABNERIS P      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ADALBERTO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ADILEN         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ADRIAN         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ADRIANA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AILEEN         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AILEEN         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AIME           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AIXA           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALBA C         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALBA N         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALBERT         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALEXANDER      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALEXIS         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALEXIS         ADDRESS ON FILE
Gonzalez Rodriguez, Alexis G       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALFONSO        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALFONSO        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALFONSO        ADDRESS ON FILE
Gonzalez Rodriguez, Alfredo        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALICIA MARIA   ADDRESS ON FILE




                                                                               Page 3405 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3406 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, ALINA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALISAUREA   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ALMA I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AMADA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AMALIANES   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AMARILYS    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANDRES      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANEIDA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANETTE      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANGEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANGEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANGEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANGELA R.   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANIBAL      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANTHONY     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANTHONY     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ANTHONY     ADDRESS ON FILE
Gonzalez Rodriguez, Arcadio     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ARCADIO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ARIANA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ARIEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ARLINE      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ARNALDO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AUREO       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, AURORA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, BEDZAIDA    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, BERTA       ADDRESS ON FILE
Gonzalez Rodriguez, Betsy I.    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, BILL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, BRENDA E.   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, BRYAN       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARIDAD     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS      ADDRESS ON FILE
Gonzalez Rodriguez, Carlos A    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS J    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARLOS M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMELO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN E    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN I    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN I.   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN I.   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CARMEN S    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CAROL       ADDRESS ON FILE




                                                                            Page 3406 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3407 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, CATALINA    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CATALINA    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CHARLIE     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CHAYANNE    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CHRISTIAN   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, CRUZ        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DAGMAR      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DAGMAR A.   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DAMARIS     ADDRESS ON FILE
Gonzalez Rodriguez, Daniel J    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DAVID       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DAVID       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DEBORAH     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DELMARIE    ADDRESS ON FILE
Gonzalez Rodriguez, Denis E.    ADDRESS ON FILE
Gonzalez Rodriguez, Derik O     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DIALMA R    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DIANE       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DIANE L     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DOEL        ADDRESS ON FILE
Gonzalez Rodriguez, Domingo     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, DOMINGO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDIL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDILBERTO   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDNA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDVIN       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDWARD      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDWIN       ADDRESS ON FILE
Gonzalez Rodriguez, Edwin       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EDWIN       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EFRAIN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EFRAIN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EILEEN B    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EILEEN M    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELBA I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELBA N      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELENA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELEUTERIA   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELFRIDA     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELIAS       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELIZABETH   ADDRESS ON FILE
Gonzalez Rodriguez, Elliot J.   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ELVIN       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EMILIO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ERIC        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ERICK       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ERICK J.    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ERIK        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ERMESC G    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ESTHER      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EVELYN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EVELYN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EVERLYDIS   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, EVETTE M    ADDRESS ON FILE
Gonzalez Rodriguez, Felix       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FELIX       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FELIX N.    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FELIZ       ADDRESS ON FILE




                                                                            Page 3407 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3408 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, FERDINAND     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FERNANDO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FRANCES       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FRANCHESCA    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FRANCISCO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, FREDDIE       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GABRIEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GEMA M.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GERARDO       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GILBERTO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GILBERTO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GISELL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLADYS        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLADYS G      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLADYS I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLENDA LEE    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLORIA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLORIA M      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GLORIA M      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GRACE         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GRETCHEN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GUADALUPE     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, GUILLERMINA   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HECTOR        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HERIBERTO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HERMINIA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HILCIA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HILDA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, HILDA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ILEANA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ILSA M        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, INDALECIO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IRENE         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IRIALISSE     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IRIS M        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IRIS NORMA    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IRMA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISAMAR        ADDRESS ON FILE
Gonzalez Rodriguez, Isidoro       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISIS          ADDRESS ON FILE
Gonzalez Rodriguez, Ismael        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISMAEL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISORA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISRAEL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISRAEL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISRAEL J      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ISUANET       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IVONNE        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, IVONNE        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JACOBO        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JACQUELINE    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JAIME         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JAVIER        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JAVIER        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JEANETTE      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JEANNETTE     ADDRESS ON FILE




                                                                              Page 3408 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3409 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, JENNY          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESSICA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESSICA M      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESSIKA M      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESUS          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESUS          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESUS A        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JESUS M.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOANNA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOANNIE        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOAQUINA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOEL           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOEL           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JORGE          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JORGE          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JORGE          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JORGE          ADDRESS ON FILE
Gonzalez Rodriguez, Jorge A        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JORGE H        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JORGE L        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE           ADDRESS ON FILE
Gonzalez Rodriguez, Jose A         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE A.        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE ANTONIO   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE C         ADDRESS ON FILE
Gonzalez Rodriguez, Jose C.        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE D         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE F         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE H.        ADDRESS ON FILE
Gonzalez Rodriguez, Jose J.        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE L         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE L         ADDRESS ON FILE
Gonzalez Rodriguez, Jose L         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE L         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JOSE L.        ADDRESS ON FILE
Gonzalez Rodriguez, Joseph         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JUAN           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JUAN           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JUAN A         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JUANA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JUDITH         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JUDITH         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JULIO          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JULIO C        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JULIO R.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, JULYVETTE      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, KAROL J.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, KARYMAR        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, KATHERINE      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, KORALY         ADDRESS ON FILE




                                                                               Page 3409 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3410 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, LAUTHELIN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LEOBADIS       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LESLIE ANN     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LILLIAN        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LINNETT D.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LISBETH        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LIZA           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LIZANDRO       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LIZBETH        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LOIDA I        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LOIDA M        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LOURDES        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUCAS          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUCY Y         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS           ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS GUSTAVO   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUIS J         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUZ A          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUZ M          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LUZ M.         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LYDIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, LYNNETTE       ADDRESS ON FILE
Gonzalez Rodriguez, Madeline       ADDRESS ON FILE
Gonzalez Rodriguez, Magaly         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MAGDALENA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MANUEL         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARANGELY      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARGARITA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARGARITA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA C        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA DE       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA DEL C    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA DEL C    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA E        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA I.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA L        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA M        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA M        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA M.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA S.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA TERESA   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARIA V.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARILUZ        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARILUZ        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARILUZ        ADDRESS ON FILE




                                                                               Page 3410 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3411 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, MARILYN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARILYN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARILYN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARISBELLE   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARISOL      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARLYN       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARTA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARTA I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARTA M      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARTA M.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARTA V      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MARY L       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MAX          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MELISSA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MERCEDES     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MICHAEL      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL       ADDRESS ON FILE
Gonzalez Rodriguez, Miguel A     ADDRESS ON FILE
Gonzalez Rodriguez, Miguel A.    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL A.    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIGUEL A.    ADDRESS ON FILE
Gonzalez Rodriguez, Miguel A.    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MILAGROS     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MILAGROS     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MILAGROS     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MILAGROS     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MILAGROS     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MILDRED      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIRELBA Y    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIRIAM       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIRIAM       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MIRIED       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MOISES       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MONICA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MONICA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MYRIAM       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MYRNA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, MYRNA R      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NADYA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NANCY        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NATASHA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NEIKA L.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NELLIE       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NELLY        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NELSON       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NELSON       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NELSON       ADDRESS ON FILE
Gonzalez Rodriguez, Nelson I     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NICOLAS      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NILSA I.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NITZA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NITZA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NIVIS        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NOELIA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NOELIA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NORMA        ADDRESS ON FILE




                                                                             Page 3411 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3412 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, NORMA I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NORMA I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NORMA I      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NORMA I.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NORMA I.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, NYDIA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, OLGA S       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ORLANDO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, OSCAR        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PAOLINA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PAULADELY    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PEDRO        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PEDRO A      ADDRESS ON FILE
Gonzalez Rodriguez, Pedro A.     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PEDRO J      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PEDRO JUAN   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, PEDRO L      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RADAMES      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAFAEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAFAEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAFAEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAFAEL       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAFAEL A     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAMON A      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RAUL         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, REBECCA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, REBECCA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, REBECCA E    ADDRESS ON FILE
GONZALEZ RODRIGUEZ, REYNALDO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, REYNALDO     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RICARDO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RICARDO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RICARDO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROBERTO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROBERTO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROBERTO      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSA         ADDRESS ON FILE
Gonzalez Rodriguez, Rosa H       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSA I.      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSA M       ADDRESS ON FILE
Gonzalez Rodriguez, Rosa M.      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSALINA     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSALYN      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ROSAURA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RUBEN        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RUBEN        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RUBEN        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RUBEN        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RUTH E.      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, RUTH NYDIA   ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SAHILY       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SAKI         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SANDRA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SANDRA I     ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SANTOS       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SARAI        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SARAI        ADDRESS ON FILE
Gonzalez Rodriguez, Sergio       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SHEILA       ADDRESS ON FILE




                                                                             Page 3412 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3413 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RODRIGUEZ, SILVIA Y       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SIXTO          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SOCORRO        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SONIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SONIA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, SONIA N.       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, STEPHANIE      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, TAMIKA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, TULIDANIA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, TULIDANIA      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, VERONICA       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, VILMA M        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, VILMARIE       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, VIVIANA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WALESKA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WALESKA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WALLIS J.      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WANDA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WANDA          ADDRESS ON FILE
Gonzalez Rodriguez, Wanda I        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WANDA I        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WILFREDO       ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WILFRID        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WILLIAM        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WILMA          ADDRESS ON FILE
GONZALEZ RODRIGUEZ, WILSON         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, XIOMARA        ADDRESS ON FILE
Gonzalez Rodriguez, Yaitza A.      ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YANESSA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YANIRA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YANNIA         ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YARELIS        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YARITZA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, YOLANDA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ZABDIEL        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ZORAIDA        ADDRESS ON FILE
GONZALEZ RODRIGUEZ, ZULEIKA        ADDRESS ON FILE
GONZALEZ RODZ., MARIA              ADDRESS ON FILE
GONZALEZ ROGRIGUEZ, SONIA N        ADDRESS ON FILE
GONZALEZ ROIG DE MALDONADO, AIDA   ADDRESS ON FILE
GONZALEZ ROIG, ANA C               ADDRESS ON FILE
GONZALEZ ROIG, GIL                 ADDRESS ON FILE
GONZALEZ ROIG, RAFAELA             ADDRESS ON FILE
GONZALEZ ROIG, ROSALINA            ADDRESS ON FILE
Gonzalez Rojas, Miguel A           ADDRESS ON FILE
Gonzalez Rojas, Myrta              ADDRESS ON FILE
GONZALEZ ROJAS, MYRTA              ADDRESS ON FILE
GONZALEZ ROJAS, RAUL               ADDRESS ON FILE
GONZALEZ ROJAS, VANESSA            ADDRESS ON FILE
GONZALEZ ROLDAN, ALEX G            ADDRESS ON FILE
GONZALEZ ROLDAN, ALICIA            ADDRESS ON FILE
GONZALEZ ROLDAN, ANIBAL            ADDRESS ON FILE
Gonzalez Roldan, Carmen I.         ADDRESS ON FILE
GONZALEZ ROLDAN, ELSIE             ADDRESS ON FILE
Gonzalez Roldan, Jose A            ADDRESS ON FILE
GONZALEZ ROLDAN, JOSE E            ADDRESS ON FILE




                                                                               Page 3413 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3414 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROLDAN, JUAN        ADDRESS ON FILE
GONZALEZ ROLDAN, LUZ E       ADDRESS ON FILE
GONZALEZ ROLDAN, MARIA M     ADDRESS ON FILE
GONZALEZ ROLDAN, MINERVA     ADDRESS ON FILE
GONZALEZ ROLDAN, NANCY       ADDRESS ON FILE
GONZALEZ ROLDAN, REYNALDO    ADDRESS ON FILE
GONZALEZ ROLDAN, VICENTA     ADDRESS ON FILE
GONZALEZ ROLLAN, ALFREDO D   ADDRESS ON FILE
GONZALEZ ROLON, AMPARO       ADDRESS ON FILE
GONZALEZ ROLON, ANGELES K    ADDRESS ON FILE
GONZALEZ ROLON, CARMEN B     ADDRESS ON FILE
GONZALEZ ROLON, CARMEN L     ADDRESS ON FILE
GONZALEZ ROLON, EVELYN       ADDRESS ON FILE
GONZALEZ ROLON, FERNANDO     ADDRESS ON FILE
Gonzalez Rolon, Gloribell    ADDRESS ON FILE
GONZALEZ ROLON, JOSE         ADDRESS ON FILE
GONZALEZ ROLON, MARIA        ADDRESS ON FILE
GONZALEZ ROLON, NANCY N      ADDRESS ON FILE
GONZALEZ ROLON, NYDIA E.     ADDRESS ON FILE
GONZALEZ ROLON, RAFAEL       ADDRESS ON FILE
Gonzalez Rolon, Sandra       ADDRESS ON FILE
GONZALEZ ROLON, WILBERT      ADDRESS ON FILE
GONZALEZ ROLON, YANIRA       ADDRESS ON FILE
GONZALEZ ROMAN, ABRAHAM      ADDRESS ON FILE
GONZALEZ ROMAN, ADA I        ADDRESS ON FILE
GONZALEZ ROMAN, ADRIANA      ADDRESS ON FILE
GONZALEZ ROMAN, AIDA         ADDRESS ON FILE
GONZALEZ ROMAN, ALBERTO      ADDRESS ON FILE
GONZALEZ ROMAN, ANA          ADDRESS ON FILE
GONZALEZ ROMAN, ANA M        ADDRESS ON FILE
GONZALEZ ROMAN, ANABEL       ADDRESS ON FILE
GONZALEZ ROMAN, ANGEL        ADDRESS ON FILE
GONZALEZ ROMAN, ANGEL        ADDRESS ON FILE
GONZALEZ ROMAN, ANGEL A.     ADDRESS ON FILE
GONZALEZ ROMAN, ANNETTE      ADDRESS ON FILE
GONZALEZ ROMAN, ARLENE       ADDRESS ON FILE
GONZALEZ ROMAN, AXEL A       ADDRESS ON FILE
GONZALEZ ROMAN, BERENICE     ADDRESS ON FILE
GONZALEZ ROMAN, BLANCA N     ADDRESS ON FILE
GONZALEZ ROMAN, BRENDA E     ADDRESS ON FILE
GONZALEZ ROMAN, BRENDA E     ADDRESS ON FILE
Gonzalez Roman, Carlos       ADDRESS ON FILE
GONZALEZ ROMAN, CARLOS       ADDRESS ON FILE
GONZALEZ ROMAN, CARLOS M     ADDRESS ON FILE
GONZALEZ ROMAN, CARMEN       ADDRESS ON FILE
GONZALEZ ROMAN, CARMEN M     ADDRESS ON FILE
GONZALEZ ROMAN, DANIEL       ADDRESS ON FILE
GONZALEZ ROMAN, DANIEL       ADDRESS ON FILE
Gonzalez Roman, Diego        ADDRESS ON FILE
GONZALEZ ROMAN, FELIPE       ADDRESS ON FILE
GONZALEZ ROMAN, HECTOR C.    ADDRESS ON FILE
GONZALEZ ROMAN, HELGA I      ADDRESS ON FILE
GONZALEZ ROMAN, HERIBERTO    ADDRESS ON FILE
GONZALEZ ROMAN, HERIBERTO    ADDRESS ON FILE
GONZALEZ ROMAN, IRIS M       ADDRESS ON FILE
GONZALEZ ROMAN, ISMAEL       ADDRESS ON FILE
GONZALEZ ROMAN, JANICE       ADDRESS ON FILE
GONZALEZ ROMAN, JAVIER       ADDRESS ON FILE
GONZALEZ ROMAN, JENIFFER S   ADDRESS ON FILE
GONZALEZ ROMAN, JENNIFER     ADDRESS ON FILE




                                                                         Page 3414 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3415 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                    Address2                       Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROMAN, JENNIFER       ADDRESS ON FILE
GONZALEZ ROMAN, JENNIFER       ADDRESS ON FILE
GONZALEZ ROMAN, JOHANNA        ADDRESS ON FILE
GONZALEZ ROMAN, JOSE           ADDRESS ON FILE
GONZALEZ ROMAN, JOSE           ADDRESS ON FILE
GONZALEZ ROMAN, JOSE           ADDRESS ON FILE
GONZALEZ ROMAN, JOSE           ADDRESS ON FILE
Gonzalez Roman, Jose L         ADDRESS ON FILE
GONZALEZ ROMAN, JOSE VICTOR    ADDRESS ON FILE
GONZALEZ ROMAN, JUANA V        ADDRESS ON FILE
GONZALEZ ROMAN, KARLA          ADDRESS ON FILE
GONZALEZ ROMAN, LUCIA          ADDRESS ON FILE
Gonzalez Roman, Luis A         ADDRESS ON FILE
GONZALEZ ROMAN, LUIS A.        ADDRESS ON FILE
GONZALEZ ROMAN, LUIS A.        ADDRESS ON FILE
GONZALEZ ROMAN, LUIS ALBERTO   ADDRESS ON FILE
GONZALEZ ROMAN, LUISA          ADDRESS ON FILE
GONZALEZ ROMAN, LUZ            ADDRESS ON FILE
GONZALEZ ROMAN, LUZ A          ADDRESS ON FILE
GONZALEZ ROMAN, LYDIA          ADDRESS ON FILE
GONZALEZ ROMAN, MAILENYT       ADDRESS ON FILE
GONZALEZ ROMAN, MAILYNET       ADDRESS ON FILE
GONZALEZ ROMAN, MARCELINO      ADDRESS ON FILE
GONZALEZ ROMAN, MARGARITA      ADDRESS ON FILE
GONZALEZ ROMAN, MARIA E.       ADDRESS ON FILE
GONZALEZ ROMAN, MARIA T        ADDRESS ON FILE
GONZALEZ ROMAN, MARIADEL       ADDRESS ON FILE
GONZALEZ ROMAN, MARISOL        ADDRESS ON FILE
GONZALEZ ROMAN, MARTA          ADDRESS ON FILE
GONZALEZ ROMAN, MARTA          ADDRESS ON FILE
Gonzalez Roman, Mayra E        ADDRESS ON FILE
GONZALEZ ROMAN, NELSON         ADDRESS ON FILE
GONZALEZ ROMAN, NESTOR         ADDRESS ON FILE
GONZALEZ ROMAN, NILDA L        ADDRESS ON FILE
GONZALEZ ROMAN, NILSA E        ADDRESS ON FILE
GONZALEZ ROMAN, NODIA          ADDRESS ON FILE
GONZALEZ ROMAN, NOEL           ADDRESS ON FILE
GONZALEZ ROMAN, OLGA L         ADDRESS ON FILE
GONZALEZ ROMAN, OSCAR          ADDRESS ON FILE
GONZALEZ ROMAN, PEDRO          ADDRESS ON FILE
GONZALEZ ROMAN, PEDRO L        ADDRESS ON FILE
GONZALEZ ROMAN, RAFAEL J       ADDRESS ON FILE
GONZALEZ ROMAN, RAUL           ADDRESS ON FILE
GONZALEZ ROMAN, RAUL           ADDRESS ON FILE
Gonzalez Roman, Roberto        ADDRESS ON FILE
GONZALEZ ROMAN, ROSA           ADDRESS ON FILE
GONZALEZ ROMAN, ROSA H         ADDRESS ON FILE
GONZALEZ ROMAN, SARYMAR        ADDRESS ON FILE
GONZALEZ ROMAN, SUSAN G        ADDRESS ON FILE
GONZALEZ ROMAN, WANDA L        ADDRESS ON FILE
GONZALEZ ROMAN, WILLIAM        ADDRESS ON FILE
GONZALEZ ROMAN, WILMA E        ADDRESS ON FILE
GONZALEZ ROMAN, YOLANDA        ADDRESS ON FILE
GONZALEZ ROMERO MANAGEMENT     CALLE CONCORDIA 249 ALTOS                                                        MAYAGUEZ     PR      00680
GONZALEZ ROMERO MD, EDGARDO    ADDRESS ON FILE
GONZALEZ ROMERO, ANDREA        ADDRESS ON FILE
GONZALEZ ROMERO, CAROL E       ADDRESS ON FILE
GONZALEZ ROMERO, DANAY         ADDRESS ON FILE
GONZALEZ ROMERO, EVELYN        ADDRESS ON FILE
GONZALEZ ROMERO, FRANCES       ADDRESS ON FILE




                                                                           Page 3415 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3416 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROMERO, FRANCES        ADDRESS ON FILE
GONZALEZ ROMERO, FRANK          ADDRESS ON FILE
GONZALEZ ROMERO, IRIS           ADDRESS ON FILE
GONZALEZ ROMERO, JACKELYN       ADDRESS ON FILE
GONZALEZ ROMERO, JAVIER         ADDRESS ON FILE
GONZALEZ ROMERO, JESSIKA        ADDRESS ON FILE
GONZALEZ ROMERO, JUAN           ADDRESS ON FILE
GONZALEZ ROMERO, JUAN           ADDRESS ON FILE
GONZALEZ ROMERO, JUAN ENRIQUE   ADDRESS ON FILE
GONZALEZ ROMERO, LUZ Z.         ADDRESS ON FILE
GONZALEZ ROMERO, MIGUEL A       ADDRESS ON FILE
GONZALEZ ROMERO, MILAGROS       ADDRESS ON FILE
GONZALEZ ROMERO, MILDRED        ADDRESS ON FILE
GONZALEZ ROMERO, MIRIAM         ADDRESS ON FILE
GONZALEZ ROMERO, WALESKA        ADDRESS ON FILE
GONZALEZ RONDON, DIONISIO       ADDRESS ON FILE
GONZALEZ RONDON, MARIA          ADDRESS ON FILE
GONZALEZ RONDON, MARIHECT       ADDRESS ON FILE
GONZALEZ RONDON, OBED           ADDRESS ON FILE
Gonzalez Rondon, Odalys Y       ADDRESS ON FILE
GONZALEZ RONDON, SUSANNE        ADDRESS ON FILE
GONZALEZ RONDON, VILMALIZ       ADDRESS ON FILE
GONZALEZ ROQUE, JOSE L.         ADDRESS ON FILE
GONZALEZ ROQUE, JOSE L.         ADDRESS ON FILE
GONZALEZ ROSA MD, WILLIAM       ADDRESS ON FILE
GONZALEZ ROSA, ADA              ADDRESS ON FILE
GONZALEZ ROSA, ARNALDO LUIS     ADDRESS ON FILE
GONZALEZ ROSA, BENJAMIN         ADDRESS ON FILE
GONZALEZ ROSA, DIANA            ADDRESS ON FILE
GONZALEZ ROSA, EDILBERTO        ADDRESS ON FILE
GONZALEZ ROSA, EDWIN            ADDRESS ON FILE
GONZALEZ ROSA, ELSIE            ADDRESS ON FILE
GONZALEZ ROSA, ELVIS            ADDRESS ON FILE
GONZALEZ ROSA, ERICK            ADDRESS ON FILE
GONZALEZ ROSA, FERMIN           ADDRESS ON FILE
GONZALEZ ROSA, GERARDO          ADDRESS ON FILE
GONZALEZ ROSA, GILBERTO         ADDRESS ON FILE
GONZALEZ ROSA, GUSTAVO          ADDRESS ON FILE
GONZALEZ ROSA, HELICA           ADDRESS ON FILE
GONZALEZ ROSA, IVONNE           ADDRESS ON FILE
GONZALEZ ROSA, JANICE           ADDRESS ON FILE
GONZALEZ ROSA, JANSEL           ADDRESS ON FILE
GONZALEZ ROSA, JEANETTE         ADDRESS ON FILE
GONZALEZ ROSA, JUAN             ADDRESS ON FILE
GONZALEZ ROSA, JUAN J           ADDRESS ON FILE
GONZALEZ ROSA, JULIA            ADDRESS ON FILE
GONZALEZ ROSA, LOURDES DEL P.   ADDRESS ON FILE
GONZALEZ ROSA, LUIS ANGEL       ADDRESS ON FILE
GONZALEZ ROSA, LYDIA E          ADDRESS ON FILE
GONZALEZ ROSA, MARIA DEL P.     ADDRESS ON FILE
GONZALEZ ROSA, MARIA DEL P.     ADDRESS ON FILE
GONZALEZ ROSA, MARIA S          ADDRESS ON FILE
GONZALEZ ROSA, MILAGROS         ADDRESS ON FILE
GONZALEZ ROSA, MINERVA          ADDRESS ON FILE
GONZALEZ ROSA, MIREYA L         ADDRESS ON FILE
GONZALEZ ROSA, NIKOLAS          ADDRESS ON FILE
GONZALEZ ROSA, PEDRO A          ADDRESS ON FILE
GONZALEZ ROSA, VALERIA          ADDRESS ON FILE
GONZALEZ ROSA, VERNON           ADDRESS ON FILE
GONZALEZ ROSA, VERONICA         ADDRESS ON FILE




                                                                            Page 3416 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3417 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROSA, WILLIAM        ADDRESS ON FILE
GONZALEZ ROSA, YOLANDA        ADDRESS ON FILE
GONZALEZ ROSADO, ADA N.       ADDRESS ON FILE
GONZALEZ ROSADO, AILEEN V     ADDRESS ON FILE
GONZALEZ ROSADO, AIMEE        ADDRESS ON FILE
GONZALEZ ROSADO, ALENNY       ADDRESS ON FILE
GONZALEZ ROSADO, AMARILIS     ADDRESS ON FILE
GONZALEZ ROSADO, AMARILYS     ADDRESS ON FILE
GONZALEZ ROSADO, AXEL         ADDRESS ON FILE
Gonzalez Rosado, Braulio      ADDRESS ON FILE
GONZALEZ ROSADO, BRENDA       ADDRESS ON FILE
GONZALEZ ROSADO, DAISY W      ADDRESS ON FILE
GONZALEZ ROSADO, DANIEL E.    ADDRESS ON FILE
GONZALEZ ROSADO, DAVID        ADDRESS ON FILE
GONZALEZ ROSADO, EDWIN        ADDRESS ON FILE
GONZALEZ ROSADO, FELICITA     ADDRESS ON FILE
Gonzalez Rosado, Francisco    ADDRESS ON FILE
GONZALEZ ROSADO, FRANCISCO    ADDRESS ON FILE
Gonzalez Rosado, Gerson       ADDRESS ON FILE
GONZALEZ ROSADO, GLADYS       ADDRESS ON FILE
GONZALEZ ROSADO, GLORIA       ADDRESS ON FILE
GONZALEZ ROSADO, HAROLD       ADDRESS ON FILE
GONZALEZ ROSADO, ISRAEL       ADDRESS ON FILE
GONZALEZ ROSADO, IVELISSE     ADDRESS ON FILE
GONZALEZ ROSADO, JAVIER       ADDRESS ON FILE
GONZALEZ ROSADO, JOEL         ADDRESS ON FILE
Gonzalez Rosado, John I       ADDRESS ON FILE
GONZALEZ ROSADO, JOSE         ADDRESS ON FILE
GONZALEZ ROSADO, JOSE A       ADDRESS ON FILE
GONZALEZ ROSADO, JOSE A.      ADDRESS ON FILE
GONZALEZ ROSADO, JOSUE        ADDRESS ON FILE
Gonzalez Rosado, Juan C       ADDRESS ON FILE
Gonzalez Rosado, Kelvin M.    ADDRESS ON FILE
GONZALEZ ROSADO, KORALYS      ADDRESS ON FILE
GONZALEZ ROSADO, LIMARIE      ADDRESS ON FILE
GONZALEZ ROSADO, LIMARIE      ADDRESS ON FILE
GONZALEZ ROSADO, LOUIS A      ADDRESS ON FILE
GONZALEZ ROSADO, LUZ N        ADDRESS ON FILE
GONZALEZ ROSADO, LYDIA E      ADDRESS ON FILE
GONZALEZ ROSADO, LYMARI       ADDRESS ON FILE
GONZALEZ ROSADO, MADELYN      ADDRESS ON FILE
GONZALEZ ROSADO, MANUEL       ADDRESS ON FILE
GONZALEZ ROSADO, MARELYN      ADDRESS ON FILE
GONZALEZ ROSADO, MARIA M      ADDRESS ON FILE
GONZALEZ ROSADO, MARIELA      ADDRESS ON FILE
GONZALEZ ROSADO, MARY         ADDRESS ON FILE
GONZALEZ ROSADO, MAYRA E.     ADDRESS ON FILE
GONZALEZ ROSADO, MIGUEL       ADDRESS ON FILE
Gonzalez Rosado, Miguel A     ADDRESS ON FILE
GONZALEZ ROSADO, MOISES       ADDRESS ON FILE
GONZALEZ ROSADO, NATIVIDAD    ADDRESS ON FILE
GONZALEZ ROSADO, NORA H       ADDRESS ON FILE
Gonzalez Rosado, Oscar        ADDRESS ON FILE
GONZALEZ ROSADO, RAFAEL       ADDRESS ON FILE
GONZALEZ ROSADO, RAUL         ADDRESS ON FILE
GONZALEZ ROSADO, ROBERTO      ADDRESS ON FILE
GONZALEZ ROSADO, VERONICA     ADDRESS ON FILE
GONZALEZ ROSADO, XAVIER       ADDRESS ON FILE
GONZALEZ ROSADO, YARITZA E.   ADDRESS ON FILE
GONZALEZ ROSADO, YESENIA      ADDRESS ON FILE




                                                                          Page 3417 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3418 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROSARIO, ALBERTO      ADDRESS ON FILE
GONZALEZ ROSARIO, ALBERTO      ADDRESS ON FILE
GONZALEZ ROSARIO, ANA D        ADDRESS ON FILE
GONZALEZ ROSARIO, ANGELICA     ADDRESS ON FILE
GONZALEZ ROSARIO, BRENDA L     ADDRESS ON FILE
GONZALEZ ROSARIO, CARLOS M     ADDRESS ON FILE
GONZALEZ ROSARIO, CARLOS R     ADDRESS ON FILE
GONZALEZ ROSARIO, CARMEN M.    ADDRESS ON FILE
GONZALEZ ROSARIO, CARMEN S     ADDRESS ON FILE
GONZALEZ ROSARIO, DAMARIS      ADDRESS ON FILE
GONZALEZ ROSARIO, DAMARY       ADDRESS ON FILE
GONZALEZ ROSARIO, EDGARDO      ADDRESS ON FILE
GONZALEZ ROSARIO, ELVIS        ADDRESS ON FILE
GONZALEZ ROSARIO, FELIX        ADDRESS ON FILE
Gonzalez Rosario, Fernando L   ADDRESS ON FILE
GONZALEZ ROSARIO, HECTOR A     ADDRESS ON FILE
GONZALEZ ROSARIO, IVELISSE     ADDRESS ON FILE
GONZALEZ ROSARIO, IVETTE       ADDRESS ON FILE
GONZALEZ ROSARIO, JAVIER       ADDRESS ON FILE
GONZALEZ ROSARIO, JAVIER       ADDRESS ON FILE
GONZALEZ ROSARIO, JOAN         ADDRESS ON FILE
GONZALEZ ROSARIO, JOAN S.      ADDRESS ON FILE
GONZALEZ ROSARIO, JOEL         ADDRESS ON FILE
GONZALEZ ROSARIO, JOSE         ADDRESS ON FILE
GONZALEZ ROSARIO, JOSE L       ADDRESS ON FILE
GONZALEZ ROSARIO, JOSEAN       ADDRESS ON FILE
GONZALEZ ROSARIO, JUDITH       ADDRESS ON FILE
GONZALEZ ROSARIO, KANIRA I.    ADDRESS ON FILE
GONZALEZ ROSARIO, LISA Y.      ADDRESS ON FILE
GONZALEZ ROSARIO, LUIS         ADDRESS ON FILE
GONZALEZ ROSARIO, LUIS A.      ADDRESS ON FILE
GONZALEZ ROSARIO, LUIS R.      ADDRESS ON FILE
GONZALEZ ROSARIO, LUZ I.       ADDRESS ON FILE
GONZALEZ ROSARIO, LUZ M        ADDRESS ON FILE
GONZALEZ ROSARIO, MANUEL       ADDRESS ON FILE
GONZALEZ ROSARIO, MARIA E      ADDRESS ON FILE
GONZALEZ ROSARIO, MARIA F      ADDRESS ON FILE
GONZALEZ ROSARIO, MARIA M.     ADDRESS ON FILE
GONZALEZ ROSARIO, MARIA M.     ADDRESS ON FILE
GONZALEZ ROSARIO, MARIA S.     ADDRESS ON FILE
GONZALEZ ROSARIO, MARTA        ADDRESS ON FILE
GONZALEZ ROSARIO, MARTA I      ADDRESS ON FILE
GONZALEZ ROSARIO, MELVIN       ADDRESS ON FILE
GONZALEZ ROSARIO, MICHELLE     ADDRESS ON FILE
GONZALEZ ROSARIO, MIGUEL A     ADDRESS ON FILE
GONZALEZ ROSARIO, MIGUEL A     ADDRESS ON FILE
GONZALEZ ROSARIO, MILAGROS     ADDRESS ON FILE
GONZALEZ ROSARIO, MILAGROS     ADDRESS ON FILE
GONZALEZ ROSARIO, MISAEL       ADDRESS ON FILE
GONZALEZ ROSARIO, MYLEDI       ADDRESS ON FILE
GONZALEZ ROSARIO, NAICA A.     ADDRESS ON FILE
GONZALEZ ROSARIO, NANCY        ADDRESS ON FILE
GONZALEZ ROSARIO, NELIDA       ADDRESS ON FILE
GONZALEZ ROSARIO, NILDA        ADDRESS ON FILE
GONZALEZ ROSARIO, PEDRO        ADDRESS ON FILE
GONZALEZ ROSARIO, RICARDO      ADDRESS ON FILE
GONZALEZ ROSARIO, ROMEO        ADDRESS ON FILE
GONZALEZ ROSARIO, ROOSEVELTH   ADDRESS ON FILE
GONZALEZ ROSARIO, ROSA         ADDRESS ON FILE
GONZALEZ ROSARIO, RUFO E       ADDRESS ON FILE




                                                                           Page 3418 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3419 of 3500
                                                                             17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                 Address1                                 Address2                      Address3   Address4   City         State   PostalCode   Country
GONZALEZ ROSARIO, SAMUEL      ADDRESS ON FILE
GONZALEZ ROSARIO, SARAH       ADDRESS ON FILE
GONZALEZ ROSARIO, VICTOR      ADDRESS ON FILE
GONZALEZ ROSARIO, VICTOR M    ADDRESS ON FILE
GONZALEZ ROSARIO, VIDALINA    ADDRESS ON FILE
GONZALEZ ROSARIO, WANDA I     ADDRESS ON FILE
GONZALEZ ROSARIO, YARIMAR     ADDRESS ON FILE
GONZALEZ ROSARIO, ZAIDA       ADDRESS ON FILE
Gonzalez Rosas, Joseph        ADDRESS ON FILE
GONZALEZ ROSAS, MAYRA         ADDRESS ON FILE
GONZALEZ ROSAS, ROBERTO       ADDRESS ON FILE
GONZALEZ ROSAS, WILLIAM       ADDRESS ON FILE
GONZALEZ ROSSY, EILEEN G      ADDRESS ON FILE
GONZALEZ ROURE, GLADYS V      ADDRESS ON FILE
GONZALEZ ROVIRA, JOANEETTE    ADDRESS ON FILE
GONZALEZ RQMAN, SADETTE       ADDRESS ON FILE
GONZALEZ RUBERT, DALYMIRKA    ADDRESS ON FILE
GONZALEZ RUBERTE, DOMINGO     ADDRESS ON FILE
GONZALEZ RUBERTE, JUAN J      ADDRESS ON FILE
GONZALEZ RUBERTE, PETRA M     ADDRESS ON FILE
GONZALEZ RUBIO, BRUNILMARIE   ADDRESS ON FILE
GONZALEZ RUBIO, EDWIN         ADDRESS ON FILE
GONZALEZ RUBIO, HECTOR N.     ADDRESS ON FILE
GONZALEZ RUBIO, RAMON         ADDRESS ON FILE
GONZALEZ RUEDA, EDWIN         ADDRESS ON FILE
GONZALEZ RUIZ, ADELAIDA       ADDRESS ON FILE
GONZALEZ RUIZ, AGUSTIN        ADDRESS ON FILE
GONZALEZ RUIZ, ALBA I         ADDRESS ON FILE
GONZALEZ RUIZ, ALFREDO        ADDRESS ON FILE
GONZALEZ RUIZ, ALWIN          ADDRESS ON FILE
Gonzalez Ruiz, Andres         ADDRESS ON FILE
GONZALEZ RUIZ, ANTONIA        ADDRESS ON FILE
GONZALEZ RUIZ, ARIEL          ADDRESS ON FILE
GONZALEZ RUIZ, AUREA M        ADDRESS ON FILE
GONZALEZ RUIZ, BRENDA M.      ADDRESS ON FILE
GONZALEZ RUIZ, CARLOS A       ADDRESS ON FILE
GONZALEZ RUIZ, CARLOS IVAN    ADDRESS ON FILE
GONZALEZ RUIZ, CARMEN         ADDRESS ON FILE
GONZALEZ RUIZ, CARMEN         ADDRESS ON FILE
GONZALEZ RUIZ, CARMEN L.      ADDRESS ON FILE
Gonzalez Ruiz, Casimiro       ADDRESS ON FILE
GONZALEZ RUIZ, CELY N         ADDRESS ON FILE
GONZALEZ RUIZ, CYNTHIA B.     ADDRESS ON FILE
GONZALEZ RUIZ, DALIA J        ADDRESS ON FILE
GONZALEZ RUIZ, DAVID          ADDRESS ON FILE
Gonzalez Ruiz, David J        ADDRESS ON FILE
GONZALEZ RUIZ, DELIA          ADDRESS ON FILE
GONZALEZ RUIZ, EDUARDO        ADDRESS ON FILE
GONZALEZ RUIZ, EDUARDO        ADDRESS ON FILE
GONZALEZ RUIZ, EMILSAMAR      ADDRESS ON FILE
GONZALEZ RUIZ, ERNESTO        ADDRESS ON FILE
GONZALEZ RUIZ, ERNESTO        ADDRESS ON FILE
GONZALEZ RUIZ, EROILDA        ADDRESS ON FILE
GONZALEZ RUIZ, FRANCISCA      ADDRESS ON FILE
GONZALEZ RUIZ, FRANCISCA      LCDA. GENOVEVA VALENTIN SOTO, SPU/AFSCME PO BOX 13695                                        SAN JUAN     PR      00908‐3695
GONZALEZ RUIZ, GISELLE        ADDRESS ON FILE
GONZALEZ RUIZ, GISELLE D.     ADDRESS ON FILE
GONZALEZ RUIZ, GLORIENE       ADDRESS ON FILE
Gonzalez Ruiz, Guillermo      ADDRESS ON FILE
GONZALEZ RUIZ, HECTOR         ADDRESS ON FILE




                                                                                      Page 3419 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3420 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RUIZ, HELEN           ADDRESS ON FILE
GONZALEZ RUIZ, IRIS            ADDRESS ON FILE
GONZALEZ RUIZ, IVONNE          ADDRESS ON FILE
GONZALEZ RUIZ, JAIME           ADDRESS ON FILE
GONZALEZ RUIZ, JANETTE         ADDRESS ON FILE
GONZALEZ RUIZ, JAYMIER         ADDRESS ON FILE
GONZALEZ RUIZ, JESUS           ADDRESS ON FILE
GONZALEZ RUIZ, JESUS           ADDRESS ON FILE
GONZALEZ RUIZ, JESUS           ADDRESS ON FILE
GONZALEZ RUIZ, JOE             ADDRESS ON FILE
GONZALEZ RUIZ, JOE             ADDRESS ON FILE
GONZALEZ RUIZ, JOMAR L         ADDRESS ON FILE
GONZALEZ RUIZ, JOSE            ADDRESS ON FILE
GONZALEZ RUIZ, JOSE A          ADDRESS ON FILE
GONZALEZ RUIZ, JOSE L.         ADDRESS ON FILE
GONZALEZ RUIZ, JOSUE           ADDRESS ON FILE
GONZALEZ RUIZ, JOSUE           ADDRESS ON FILE
GONZALEZ RUIZ, JUAN C          ADDRESS ON FILE
GONZALEZ RUIZ, JUAN C.         ADDRESS ON FILE
GONZALEZ RUIZ, JUAN D          ADDRESS ON FILE
GONZALEZ RUIZ, LISOANNETTE     ADDRESS ON FILE
GONZALEZ RUIZ, LUCY            ADDRESS ON FILE
GONZALEZ RUIZ, LUIS            ADDRESS ON FILE
GONZALEZ RUIZ, LUIS            ADDRESS ON FILE
GONZALEZ RUIZ, LUIS R          ADDRESS ON FILE
GONZALEZ RUIZ, LUZ S           ADDRESS ON FILE
GONZALEZ RUIZ, MARANGELLY      ADDRESS ON FILE
GONZALEZ RUIZ, MARIA           ADDRESS ON FILE
GONZALEZ RUIZ, MARIA S.        ADDRESS ON FILE
GONZALEZ RUIZ, MARIA T         ADDRESS ON FILE
Gonzalez Ruiz, Maribel         ADDRESS ON FILE
GONZALEZ RUIZ, MICHAEL         ADDRESS ON FILE
GONZALEZ RUIZ, MICHELLE        ADDRESS ON FILE
GONZALEZ RUIZ, MIGUEL A        ADDRESS ON FILE
GONZALEZ RUIZ, MILDRED         ADDRESS ON FILE
GONZALEZ RUIZ, MYRIAM          ADDRESS ON FILE
GONZALEZ RUIZ, NEREIDA         ADDRESS ON FILE
GONZALEZ RUIZ, NOE             ADDRESS ON FILE
GONZALEZ RUIZ, OLGA E.         ADDRESS ON FILE
GONZALEZ RUIZ, RAFAEL          ADDRESS ON FILE
Gonzalez Ruiz, Ramon           ADDRESS ON FILE
GONZALEZ RUIZ, ROSA I          ADDRESS ON FILE
GONZALEZ RUIZ, ROSA M          ADDRESS ON FILE
GONZALEZ RUIZ, ROSE            ADDRESS ON FILE
GONZALEZ RUIZ, SAUL            ADDRESS ON FILE
GONZALEZ RUIZ, SHIRLY          ADDRESS ON FILE
GONZALEZ RUIZ, SUGEILY         ADDRESS ON FILE
GONZALEZ RUIZ, TANIA M.        ADDRESS ON FILE
GONZALEZ RUIZ, VICTOR          ADDRESS ON FILE
GONZALEZ RUIZ, WANDA           ADDRESS ON FILE
GONZALEZ RUIZ, YARELIZ         ADDRESS ON FILE
GONZALEZ RUIZ, YARELIZ         ADDRESS ON FILE
GONZALEZ RUIZ, YARITZA         ADDRESS ON FILE
GONZALEZ RUIZ, ZAHIRA          ADDRESS ON FILE
GONZALEZ RUIZ, ZORAIDA         ADDRESS ON FILE
GONZALEZ RULLAN, ANNETTE       ADDRESS ON FILE
GONZALEZ RULLAN, CANDY         ADDRESS ON FILE
GONZALEZ RULLAN, ELAINE J      ADDRESS ON FILE
GONZALEZ RULLAN, FRITZIE       ADDRESS ON FILE
GONZALEZ RULLAN, JOSE EMILIO   ADDRESS ON FILE




                                                                           Page 3420 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                 Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3421 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ RULLAN, LIRIO               ADDRESS ON FILE
GONZALEZ RULLAN, PABLO J.            ADDRESS ON FILE
GONZALEZ RUMGAY, LIZZETTE M.         ADDRESS ON FILE
GONZALEZ RUPERTO, DAISY              ADDRESS ON FILE
GONZALEZ SAEZ, KENNETH               ADDRESS ON FILE
GONZALEZ SAEZ, KENNETH               ADDRESS ON FILE
GONZALEZ SAEZ, OLGA                  ADDRESS ON FILE
GONZALEZ SAEZ, VICTOR                ADDRESS ON FILE
GONZALEZ SAFELDER, LISA              ADDRESS ON FILE
GONZALEZ SAGARDIA, ABAD              ADDRESS ON FILE
GONZALEZ SAGARDIA, DIANA             ADDRESS ON FILE
GONZALEZ SAJONA, ERIC                ADDRESS ON FILE
GONZALEZ SALAMANCA, MARILYN          ADDRESS ON FILE
GONZALEZ SALAS, AMBAR                ADDRESS ON FILE
GONZALEZ SALAS, CARLOS J.            ADDRESS ON FILE
GONZALEZ SALAS, ELIEZER              ADDRESS ON FILE
GONZALEZ SALAS, ELSA                 ADDRESS ON FILE
GONZALEZ SALAS, ELVIN                ADDRESS ON FILE
GONZALEZ SALAS, JOEL                 ADDRESS ON FILE
GONZALEZ SALAS, JUAN P               ADDRESS ON FILE
GONZALEZ SALAS, NIMARY               ADDRESS ON FILE
GONZALEZ SALAZAR, JOSE               ADDRESS ON FILE
Gonzalez Salcedo, Eliezer            ADDRESS ON FILE
GONZALEZ SALCEDO, MIREYA             ADDRESS ON FILE
GONZALEZ SALDANA, ABILDA             ADDRESS ON FILE
GONZALEZ SALDANA, SONIA M            ADDRESS ON FILE
GONZALEZ SALDONET, CARMEN M          ADDRESS ON FILE
GONZALEZ SALGADO, CARLOS             ADDRESS ON FILE
GONZALEZ SALGADO, MARIA I.           ADDRESS ON FILE
GONZALEZ SALGADO, MARIA I.           ADDRESS ON FILE
GONZALEZ SALGADO, RUBI               ADDRESS ON FILE
GONZALEZ SALGADO, VIONNETTE          ADDRESS ON FILE
GONZALEZ SALGUEIRO, SARAHI           ADDRESS ON FILE
GONZALEZ SALOME, MARANGELY           ADDRESS ON FILE
GONZALEZ SALTARES, CLOTILDE          ADDRESS ON FILE
GONZALEZ SALTARES, CRIMILDA          ADDRESS ON FILE
GONZALEZ SALVAT, ANA E               ADDRESS ON FILE
GONZALEZ SALVATELLA, RAUL            ADDRESS ON FILE
GONZALEZ SAMALOT, MARILY             ADDRESS ON FILE
GONZALEZ SAMOT, GLORIMAR             ADDRESS ON FILE
GONZALEZ SAMPAYO, YUSSEL             ADDRESS ON FILE
GONZALEZ SAMPEDRO, JOSE G.           ADDRESS ON FILE
GONZALEZ SAN ANTONIO, MARTA TERESA   ADDRESS ON FILE
GONZALEZ SANABRIA, BENITA            ADDRESS ON FILE
GONZALEZ SANABRIA, CARMEN I          ADDRESS ON FILE
GONZALEZ SANABRIA, EVELYN            ADDRESS ON FILE
GONZALEZ SANABRIA, JOSE              ADDRESS ON FILE
GONZALEZ SANABRIA, JOSE R            ADDRESS ON FILE
GONZALEZ SANABRIA, YAZMIN            ADDRESS ON FILE
GONZALEZ SANCHEZ, AIDA L             ADDRESS ON FILE
GONZALEZ SANCHEZ, ALEJANDRO          ADDRESS ON FILE
GONZALEZ SANCHEZ, ALFREDO            ADDRESS ON FILE
GONZALEZ SANCHEZ, ANGEL              ADDRESS ON FILE
GONZALEZ SANCHEZ, ANGEL L            ADDRESS ON FILE
GONZALEZ SANCHEZ, ANIBAL             ADDRESS ON FILE
Gonzalez Sanchez, Antonio L          ADDRESS ON FILE
GONZALEZ SANCHEZ, ARNALDO A          ADDRESS ON FILE
GONZALEZ SANCHEZ, BRENDA             ADDRESS ON FILE
GONZALEZ SANCHEZ, BRENDA LEE         ADDRESS ON FILE
GONZALEZ SANCHEZ, CARLOS             ADDRESS ON FILE




                                                                                 Page 3421 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3422 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANCHEZ, CARLOS O.    ADDRESS ON FILE
GONZALEZ SANCHEZ, CARMEN       ADDRESS ON FILE
GONZALEZ SANCHEZ, CARMEN       ADDRESS ON FILE
GONZALEZ SANCHEZ, CARMEN       ADDRESS ON FILE
GONZALEZ SANCHEZ, CARMEN D     ADDRESS ON FILE
GONZALEZ SANCHEZ, CARMEN R.    ADDRESS ON FILE
GONZALEZ SANCHEZ, CORAL V.     ADDRESS ON FILE
GONZALEZ SANCHEZ, DAISY        ADDRESS ON FILE
GONZALEZ SANCHEZ, DAISY        ADDRESS ON FILE
GONZALEZ SANCHEZ, DUHAMEL      ADDRESS ON FILE
Gonzalez Sanchez, Eric         ADDRESS ON FILE
GONZALEZ SANCHEZ, ERIC         ADDRESS ON FILE
Gonzalez Sanchez, Erick        ADDRESS ON FILE
GONZALEZ SANCHEZ, EULALIA      ADDRESS ON FILE
GONZALEZ SANCHEZ, EVELYN       ADDRESS ON FILE
GONZALEZ SANCHEZ, EVELYN       ADDRESS ON FILE
GONZALEZ SANCHEZ, EVELYN       ADDRESS ON FILE
GONZALEZ SANCHEZ, FELICITA     ADDRESS ON FILE
GONZALEZ SANCHEZ, FRANCHESKA   ADDRESS ON FILE
GONZALEZ SANCHEZ, FRANCISCO    ADDRESS ON FILE
GONZALEZ SANCHEZ, GILBERTO     ADDRESS ON FILE
GONZALEZ SANCHEZ, GLORIVI      ADDRESS ON FILE
GONZALEZ SANCHEZ, HECTOR       ADDRESS ON FILE
GONZALEZ SANCHEZ, HECTOR       ADDRESS ON FILE
GONZALEZ SANCHEZ, HEISEL       ADDRESS ON FILE
GONZALEZ SANCHEZ, IRIS E       ADDRESS ON FILE
GONZALEZ SANCHEZ, ISABEL       ADDRESS ON FILE
GONZALEZ SANCHEZ, ISAURA       ADDRESS ON FILE
GONZALEZ SANCHEZ, IVELISSE     ADDRESS ON FILE
GONZALEZ SANCHEZ, JANICE       ADDRESS ON FILE
GONZALEZ SANCHEZ, JANICE       ADDRESS ON FILE
GONZALEZ SANCHEZ, JEAN         ADDRESS ON FILE
GONZALEZ SANCHEZ, JEREMY       ADDRESS ON FILE
Gonzalez Sanchez, Jorge        ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE         ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE         ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE         ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE         ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE A       ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE A       ADDRESS ON FILE
Gonzalez Sanchez, Jose Luis    ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSE M       ADDRESS ON FILE
GONZALEZ SANCHEZ, JOSUE        ADDRESS ON FILE
GONZALEZ SANCHEZ, JUAN V       ADDRESS ON FILE
GONZALEZ SANCHEZ, JUDITH       ADDRESS ON FILE
GONZALEZ SANCHEZ, JULIO        ADDRESS ON FILE
GONZALEZ SANCHEZ, KIRSTEN M.   ADDRESS ON FILE
GONZALEZ SANCHEZ, KRIZIA S     ADDRESS ON FILE
GONZALEZ SANCHEZ, LAURA A      ADDRESS ON FILE
GONZALEZ SANCHEZ, LESLIE       ADDRESS ON FILE
GONZALEZ SANCHEZ, LIZ I.       ADDRESS ON FILE
GONZALEZ SANCHEZ, LIZZIE       ADDRESS ON FILE
Gonzalez Sanchez, Luis C       ADDRESS ON FILE
GONZALEZ SANCHEZ, LUIS V       ADDRESS ON FILE
GONZALEZ SANCHEZ, LUZ C        ADDRESS ON FILE
GONZALEZ SANCHEZ, LYDIA E      ADDRESS ON FILE
GONZALEZ SANCHEZ, MARALIS      ADDRESS ON FILE
GONZALEZ SANCHEZ, MARIA        ADDRESS ON FILE
GONZALEZ SANCHEZ, MARIA DE J   ADDRESS ON FILE
GONZALEZ SANCHEZ, MARIA I.     ADDRESS ON FILE




                                                                           Page 3422 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3423 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANCHEZ, MARICELI       ADDRESS ON FILE
GONZALEZ SANCHEZ, MARIELA        ADDRESS ON FILE
Gonzalez Sanchez, Marilyn        ADDRESS ON FILE
GONZALEZ SANCHEZ, MARILYN        ADDRESS ON FILE
GONZALEZ SANCHEZ, MARILYN        ADDRESS ON FILE
GONZALEZ SANCHEZ, MARILYN D      ADDRESS ON FILE
GONZALEZ SANCHEZ, MIGDALIA       ADDRESS ON FILE
GONZALEZ SANCHEZ, MIGUEL A.      ADDRESS ON FILE
GONZALEZ SANCHEZ, MILDRED        ADDRESS ON FILE
GONZALEZ SANCHEZ, MOISES         ADDRESS ON FILE
GONZALEZ SANCHEZ, NAYDA G        ADDRESS ON FILE
GONZALEZ SANCHEZ, NAYDA S        ADDRESS ON FILE
GONZALEZ SANCHEZ, OMAIRA         ADDRESS ON FILE
GONZALEZ SANCHEZ, RAMONA         ADDRESS ON FILE
GONZALEZ SANCHEZ, RAMONITA       ADDRESS ON FILE
GONZALEZ SANCHEZ, RANDY          ADDRESS ON FILE
GONZALEZ SANCHEZ, RAUL           ADDRESS ON FILE
GONZALEZ SANCHEZ, ROBERTO A.     ADDRESS ON FILE
GONZALEZ SANCHEZ, ROSA M.        ADDRESS ON FILE
GONZALEZ SANCHEZ, ROSAURA        ADDRESS ON FILE
GONZALEZ SANCHEZ, SERGIO         ADDRESS ON FILE
GONZALEZ SANCHEZ, SUGEILL        ADDRESS ON FILE
GONZALEZ SANCHEZ, TERESA         ADDRESS ON FILE
GONZALEZ SANCHEZ, VILMA          ADDRESS ON FILE
GONZALEZ SANCHEZ, WILMARYS       ADDRESS ON FILE
GONZALEZ SANCHEZ, WILSON         ADDRESS ON FILE
GONZALEZ SANCHEZ, WILSON         ADDRESS ON FILE
GONZALEZ SANCHEZ, XIOMARA        ADDRESS ON FILE
GONZALEZ SANCHEZ, YARELIS        ADDRESS ON FILE
GONZALEZ SANCHEZ, YOMAIRA        ADDRESS ON FILE
GONZALEZ SANCHEZ, ZORIVI         ADDRESS ON FILE
GONZALEZ SANCHEZ, ZULEIKA        ADDRESS ON FILE
GONZALEZ SANCHEZ, ZULEIKA        ADDRESS ON FILE
GONZALEZ SANCHEZ, ZULEYKA MARI   ADDRESS ON FILE
GONZALEZ SANCHEZ, ZULMARIE       ADDRESS ON FILE
GONZALEZ SANCHEZ,FRANCES M.      ADDRESS ON FILE
Gonzalez Sanoguel, Eduardo A.    ADDRESS ON FILE
Gonzalez Sanoguet, Joel          ADDRESS ON FILE
Gonzalez Sanoguet, John          ADDRESS ON FILE
GONZALEZ SANTAIGO, JOVANNY       ADDRESS ON FILE
GONZALEZ SANTALIZ, ANGELA        ADDRESS ON FILE
GONZALEZ SANTANA, AIDA B         ADDRESS ON FILE
Gonzalez Santana, Alina          ADDRESS ON FILE
GONZALEZ SANTANA, ANGIE          ADDRESS ON FILE
Gonzalez Santana, Antonio        ADDRESS ON FILE
GONZALEZ SANTANA, AWILDA         ADDRESS ON FILE
GONZALEZ SANTANA, CARMEN M       ADDRESS ON FILE
GONZALEZ SANTANA, DAVID          ADDRESS ON FILE
GONZALEZ SANTANA, DEICY          ADDRESS ON FILE
GONZALEZ SANTANA, EDGAR          ADDRESS ON FILE
GONZALEZ SANTANA, ELIZABETH      ADDRESS ON FILE
GONZALEZ SANTANA, ELVIN          ADDRESS ON FILE
Gonzalez Santana, Elvin D        ADDRESS ON FILE
GONZALEZ SANTANA, EMMANUEL       ADDRESS ON FILE
GONZALEZ SANTANA, JEANETTE       ADDRESS ON FILE
GONZALEZ SANTANA, JENNIFER       ADDRESS ON FILE
GONZALEZ SANTANA, JORGE L        ADDRESS ON FILE
GONZALEZ SANTANA, JOSE           ADDRESS ON FILE
GONZALEZ SANTANA, JOSE           ADDRESS ON FILE
Gonzalez Santana, Jose I         ADDRESS ON FILE




                                                                             Page 3423 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3424 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANTANA, LUIS             ADDRESS ON FILE
GONZALEZ SANTANA, MAGDALENA        ADDRESS ON FILE
GONZALEZ SANTANA, MARBERT D        ADDRESS ON FILE
GONZALEZ SANTANA, MARIA M          ADDRESS ON FILE
GONZALEZ SANTANA, MARISOL          ADDRESS ON FILE
GONZALEZ SANTANA, MILAGROS DEL C   ADDRESS ON FILE
GONZALEZ SANTANA, NEREIDA          ADDRESS ON FILE
GONZALEZ SANTANA, NILMARI          ADDRESS ON FILE
GONZALEZ SANTANA, NILMARI          ADDRESS ON FILE
GONZALEZ SANTANA, OLGA M           ADDRESS ON FILE
GONZALEZ SANTANA, PAULA            ADDRESS ON FILE
GONZALEZ SANTANA, RAFAEL           ADDRESS ON FILE
GONZALEZ SANTANA, RICARDO L.       ADDRESS ON FILE
GONZALEZ SANTANA, ROLANDO A        ADDRESS ON FILE
Gonzalez Santana, Wilfredo         ADDRESS ON FILE
GONZALEZ SANTIAGO, ADA L.          ADDRESS ON FILE
GONZALEZ SANTIAGO, ADOLFO Y        ADDRESS ON FILE
GONZALEZ SANTIAGO, ADRIANA M       ADDRESS ON FILE
GONZALEZ SANTIAGO, AIDA N          ADDRESS ON FILE
GONZALEZ SANTIAGO, ALBERTO         ADDRESS ON FILE
Gonzalez Santiago, Alexander       ADDRESS ON FILE
GONZALEZ SANTIAGO, AMILCAR         ADDRESS ON FILE
GONZALEZ SANTIAGO, ANA             ADDRESS ON FILE
GONZALEZ SANTIAGO, ANGEL M         ADDRESS ON FILE
GONZALEZ SANTIAGO, ANGEL M         ADDRESS ON FILE
Gonzalez Santiago, Angelica        ADDRESS ON FILE
GONZALEZ SANTIAGO, ANIBAL          ADDRESS ON FILE
GONZALEZ SANTIAGO, ANTHONY         ADDRESS ON FILE
GONZALEZ SANTIAGO, ANTHONY         ADDRESS ON FILE
GONZALEZ SANTIAGO, ANTONIA         ADDRESS ON FILE
Gonzalez Santiago, Armando         ADDRESS ON FILE
GONZALEZ SANTIAGO, ASTRID          ADDRESS ON FILE
GONZALEZ SANTIAGO, AURELIA         ADDRESS ON FILE
GONZALEZ SANTIAGO, BELKYS          ADDRESS ON FILE
GONZALEZ SANTIAGO, BELMARIE        ADDRESS ON FILE
Gonzalez Santiago, Benigno A       ADDRESS ON FILE
GONZALEZ SANTIAGO, BETZAIDA        ADDRESS ON FILE
GONZALEZ SANTIAGO, BRENDA L        ADDRESS ON FILE
GONZALEZ SANTIAGO, BRUNILDA        ADDRESS ON FILE
GONZALEZ SANTIAGO, BRUNILDA        ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLEN          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLEN          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLOS          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLOS          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLOS          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLOS          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLOS          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARLOS A        ADDRESS ON FILE
Gonzalez Santiago, Carlos M.       ADDRESS ON FILE
GONZALEZ SANTIAGO, CARMEN          ADDRESS ON FILE
GONZALEZ SANTIAGO, CARMEN          ADDRESS ON FILE
GONZALEZ SANTIAGO, CATHERINE       ADDRESS ON FILE
GONZALEZ SANTIAGO, CHAIRYMAR       ADDRESS ON FILE
GONZALEZ SANTIAGO, CID MARIE       ADDRESS ON FILE
GONZALEZ SANTIAGO, CORALY          ADDRESS ON FILE
GONZALEZ SANTIAGO, DAGMA M         ADDRESS ON FILE
GONZALEZ SANTIAGO, DAMIAN          ADDRESS ON FILE
Gonzalez Santiago, Damian E        ADDRESS ON FILE
GONZALEZ SANTIAGO, DEBRA           ADDRESS ON FILE
GONZALEZ SANTIAGO, DEBRA           ADDRESS ON FILE




                                                                               Page 3424 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3425 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANTIAGO, DELMARIE      ADDRESS ON FILE
GONZALEZ SANTIAGO, DENISSE       ADDRESS ON FILE
GONZALEZ SANTIAGO, DIANA         ADDRESS ON FILE
GONZALEZ SANTIAGO, EDDIE         ADDRESS ON FILE
GONZALEZ SANTIAGO, EDGARDO       ADDRESS ON FILE
GONZALEZ SANTIAGO, EDUARDO       ADDRESS ON FILE
GONZALEZ SANTIAGO, EFRAIN        ADDRESS ON FILE
GONZALEZ SANTIAGO, ELBA I        ADDRESS ON FILE
GONZALEZ SANTIAGO, ELIA          ADDRESS ON FILE
GONZALEZ SANTIAGO, ELISAUL       ADDRESS ON FILE
GONZALEZ SANTIAGO, ELSIE M.      ADDRESS ON FILE
GONZALEZ SANTIAGO, EMERITA       ADDRESS ON FILE
GONZALEZ SANTIAGO, EMERITO       ADDRESS ON FILE
GONZALEZ SANTIAGO, ENID M.       ADDRESS ON FILE
GONZALEZ SANTIAGO, ERNESTO       ADDRESS ON FILE
GONZALEZ SANTIAGO, ESTEBAN       ADDRESS ON FILE
GONZALEZ SANTIAGO, EVELYN        ADDRESS ON FILE
GONZALEZ SANTIAGO, FELIX M.      ADDRESS ON FILE
GONZALEZ SANTIAGO, FERNANDO      ADDRESS ON FILE
Gonzalez Santiago, Fernando A.   ADDRESS ON FILE
Gonzalez Santiago, Francisco     ADDRESS ON FILE
Gonzalez Santiago, Francisco     ADDRESS ON FILE
GONZALEZ SANTIAGO, FRANCISCO     ADDRESS ON FILE
GONZALEZ SANTIAGO, FREDDY        ADDRESS ON FILE
GONZALEZ SANTIAGO, FREDDY        ADDRESS ON FILE
GONZALEZ SANTIAGO, GIANCARLO     ADDRESS ON FILE
GONZALEZ SANTIAGO, GILBERTO      ADDRESS ON FILE
GONZALEZ SANTIAGO, GILBERTO      ADDRESS ON FILE
GONZALEZ SANTIAGO, GLADYS        ADDRESS ON FILE
GONZALEZ SANTIAGO, GLADYS M      ADDRESS ON FILE
GONZALEZ SANTIAGO, GLENDA        ADDRESS ON FILE
GONZALEZ SANTIAGO, GLENDALYS     ADDRESS ON FILE
GONZALEZ SANTIAGO, GLORIA        ADDRESS ON FILE
GONZALEZ SANTIAGO, GRACE I       ADDRESS ON FILE
GONZALEZ SANTIAGO, GRISELLE      ADDRESS ON FILE
GONZALEZ SANTIAGO, HECTOR        ADDRESS ON FILE
GONZALEZ SANTIAGO, HECTOR        ADDRESS ON FILE
GONZALEZ SANTIAGO, HECTOR        ADDRESS ON FILE
Gonzalez Santiago, Hector M      ADDRESS ON FILE
GONZALEZ SANTIAGO, HEIDI         ADDRESS ON FILE
GONZALEZ SANTIAGO, IRIS M        ADDRESS ON FILE
GONZALEZ SANTIAGO, IRIS X        ADDRESS ON FILE
GONZALEZ SANTIAGO, ISAIAS        ADDRESS ON FILE
GONZALEZ SANTIAGO, ISMAEL        ADDRESS ON FILE
GONZALEZ SANTIAGO, IVAN          ADDRESS ON FILE
Gonzalez Santiago, Ivan A        ADDRESS ON FILE
GONZALEZ SANTIAGO, IVAN A.       ADDRESS ON FILE
GONZALEZ SANTIAGO, IVETTE        ADDRESS ON FILE
GONZALEZ SANTIAGO, JACQUELINE    ADDRESS ON FILE
Gonzalez Santiago, Jaime         ADDRESS ON FILE
GONZALEZ SANTIAGO, JAIME         ADDRESS ON FILE
GONZALEZ SANTIAGO, JAVIER        ADDRESS ON FILE
GONZALEZ SANTIAGO, JEANETTE      ADDRESS ON FILE
GONZALEZ SANTIAGO, JENNIE        ADDRESS ON FILE
GONZALEZ SANTIAGO, JESIEL        ADDRESS ON FILE
GONZALEZ SANTIAGO, JESUS         ADDRESS ON FILE
GONZALEZ SANTIAGO, JESUS         ADDRESS ON FILE
Gonzalez Santiago, Jimmy         ADDRESS ON FILE
GONZALEZ SANTIAGO, JORGE         ADDRESS ON FILE
GONZALEZ SANTIAGO, JORGE         ADDRESS ON FILE




                                                                             Page 3425 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3426 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANTIAGO, JORGE          ADDRESS ON FILE
Gonzalez Santiago, Jorge L        ADDRESS ON FILE
Gonzalez Santiago, Jose           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE           ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE A         ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE A.        ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE E.        ADDRESS ON FILE
Gonzalez Santiago, Jose H         ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE L.        ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE L.        ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE L.        ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE M.        ADDRESS ON FILE
Gonzalez Santiago, Jose R         ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE R         ADDRESS ON FILE
GONZALEZ SANTIAGO, JOSE R.        ADDRESS ON FILE
GONZALEZ SANTIAGO, JOVANY         ADDRESS ON FILE
GONZALEZ SANTIAGO, JUAN           ADDRESS ON FILE
Gonzalez Santiago, Juan De C.     ADDRESS ON FILE
Gonzalez Santiago, Juan F         ADDRESS ON FILE
GONZALEZ SANTIAGO, JUAN L         ADDRESS ON FILE
GONZALEZ SANTIAGO, JUAN LUIS      ADDRESS ON FILE
GONZALEZ SANTIAGO, JUANA L        ADDRESS ON FILE
GONZALEZ SANTIAGO, JULIE          ADDRESS ON FILE
GONZALEZ SANTIAGO, JULIO          ADDRESS ON FILE
GONZALEZ SANTIAGO, KATHERINE      ADDRESS ON FILE
GONZALEZ SANTIAGO, KEMUEL J       ADDRESS ON FILE
GONZALEZ SANTIAGO, KIEBELLE       ADDRESS ON FILE
GONZALEZ SANTIAGO, KIOMARA        ADDRESS ON FILE
GONZALEZ SANTIAGO, LESTER         ADDRESS ON FILE
GONZALEZ SANTIAGO, LIANETTE       ADDRESS ON FILE
GONZALEZ SANTIAGO, LIZA I         ADDRESS ON FILE
GONZALEZ SANTIAGO, LOUIS          ADDRESS ON FILE
GONZALEZ SANTIAGO, LOURDES Y.     ADDRESS ON FILE
GONZALEZ SANTIAGO, LUCECITA       ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS           ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS           ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS           ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS           ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS A         ADDRESS ON FILE
Gonzalez Santiago, Luis A         ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS A.        ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS F         ADDRESS ON FILE
GONZALEZ SANTIAGO, LUIS M.        ADDRESS ON FILE
GONZALEZ SANTIAGO, LUISA M        ADDRESS ON FILE
GONZALEZ SANTIAGO, LUZ            ADDRESS ON FILE
GONZALEZ SANTIAGO, LUZ M          ADDRESS ON FILE
GONZALEZ SANTIAGO, LYDENETTE      ADDRESS ON FILE
GONZALEZ SANTIAGO, LYMARTA        ADDRESS ON FILE
GONZALEZ SANTIAGO, MABEL          ADDRESS ON FILE
GONZALEZ SANTIAGO, MANUEL         ADDRESS ON FILE
GONZALEZ SANTIAGO, MARGARITA      ADDRESS ON FILE
GONZALEZ SANTIAGO, MARI           ADDRESS ON FILE
Gonzalez Santiago, Maria De Los   ADDRESS ON FILE
GONZALEZ SANTIAGO, MARIA E        ADDRESS ON FILE
GONZALEZ SANTIAGO, MARIA M        ADDRESS ON FILE




                                                                              Page 3426 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3427 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANTIAGO, MARIA S     ADDRESS ON FILE
GONZALEZ SANTIAGO, MARIBEL     ADDRESS ON FILE
GONZALEZ SANTIAGO, MARIBEL     ADDRESS ON FILE
Gonzalez Santiago, Marilyn     ADDRESS ON FILE
GONZALEZ SANTIAGO, MARITERE    ADDRESS ON FILE
GONZALEZ SANTIAGO, MARITERE    ADDRESS ON FILE
GONZALEZ SANTIAGO, MARITZA     ADDRESS ON FILE
GONZALEZ SANTIAGO, MARYELIS    ADDRESS ON FILE
GONZALEZ SANTIAGO, MAYDA E     ADDRESS ON FILE
Gonzalez Santiago, Mayra       ADDRESS ON FILE
GONZALEZ SANTIAGO, MAYRA E     ADDRESS ON FILE
GONZALEZ SANTIAGO, MIGDALIA    ADDRESS ON FILE
GONZALEZ SANTIAGO, MIGDALIA    ADDRESS ON FILE
GONZALEZ SANTIAGO, MIGDALIA    ADDRESS ON FILE
GONZALEZ SANTIAGO, MIGUEL A    ADDRESS ON FILE
GONZALEZ SANTIAGO, MIGUEL O.   ADDRESS ON FILE
GONZALEZ SANTIAGO, MILAGROS    ADDRESS ON FILE
GONZALEZ SANTIAGO, MYREIDA     ADDRESS ON FILE
GONZALEZ SANTIAGO, MYRNA       ADDRESS ON FILE
GONZALEZ SANTIAGO, NELIDA      ADDRESS ON FILE
GONZALEZ SANTIAGO, NESTOR      ADDRESS ON FILE
GONZALEZ SANTIAGO, NILDA       ADDRESS ON FILE
GONZALEZ SANTIAGO, NILDA       ADDRESS ON FILE
GONZALEZ SANTIAGO, NILSA       ADDRESS ON FILE
GONZALEZ SANTIAGO, NOEL        ADDRESS ON FILE
GONZALEZ SANTIAGO, NORMA I     ADDRESS ON FILE
GONZALEZ SANTIAGO, NURBIA      ADDRESS ON FILE
GONZALEZ SANTIAGO, NYDIA E     ADDRESS ON FILE
GONZALEZ SANTIAGO, ODONELL     ADDRESS ON FILE
GONZALEZ SANTIAGO, OLGA E      ADDRESS ON FILE
GONZALEZ SANTIAGO, OLGA E.     ADDRESS ON FILE
GONZALEZ SANTIAGO, OLGA I      ADDRESS ON FILE
GONZALEZ SANTIAGO, OLGA M.     ADDRESS ON FILE
GONZALEZ SANTIAGO, ORLANDO     ADDRESS ON FILE
GONZALEZ SANTIAGO, OSVALDO     ADDRESS ON FILE
GONZALEZ SANTIAGO, PALMIRA     ADDRESS ON FILE
GONZALEZ SANTIAGO, PAOLA       ADDRESS ON FILE
Gonzalez Santiago, Pastor      ADDRESS ON FILE
GONZALEZ SANTIAGO, PEDRO       ADDRESS ON FILE
GONZALEZ SANTIAGO, PEDRO       ADDRESS ON FILE
GONZALEZ SANTIAGO, PEDRO A     ADDRESS ON FILE
Gonzalez Santiago, Pedro J     ADDRESS ON FILE
GONZALEZ SANTIAGO, PHILLIP     ADDRESS ON FILE
GONZALEZ SANTIAGO, RAISA       ADDRESS ON FILE
GONZALEZ SANTIAGO, RAMONITA    ADDRESS ON FILE
Gonzalez Santiago, Rene        ADDRESS ON FILE
GONZALEZ SANTIAGO, RENE        ADDRESS ON FILE
GONZALEZ SANTIAGO, RICARDO     ADDRESS ON FILE
GONZALEZ SANTIAGO, RICARDO     ADDRESS ON FILE
GONZALEZ SANTIAGO, RIGOBERTO   ADDRESS ON FILE
GONZALEZ SANTIAGO, ROBERTO     ADDRESS ON FILE
GONZALEZ SANTIAGO, ROSA        ADDRESS ON FILE
GONZALEZ SANTIAGO, ROSA        ADDRESS ON FILE
GONZALEZ SANTIAGO, ROSARIO     ADDRESS ON FILE
GONZALEZ SANTIAGO, RUBEN       ADDRESS ON FILE
GONZALEZ SANTIAGO, RUBEN       ADDRESS ON FILE
GONZALEZ SANTIAGO, SANDRA M    ADDRESS ON FILE
GONZALEZ SANTIAGO, SARA        ADDRESS ON FILE
GONZALEZ SANTIAGO, SHARLEEN    ADDRESS ON FILE
GONZALEZ SANTIAGO, SHERLIE A   ADDRESS ON FILE




                                                                           Page 3427 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3428 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANTIAGO, SIARIS        ADDRESS ON FILE
GONZALEZ SANTIAGO, SONIA         ADDRESS ON FILE
GONZALEZ SANTIAGO, SONIA M       ADDRESS ON FILE
GONZALEZ SANTIAGO, SONIA M       ADDRESS ON FILE
GONZALEZ SANTIAGO, SONIA N       ADDRESS ON FILE
GONZALEZ SANTIAGO, SUSAN M       ADDRESS ON FILE
GONZALEZ SANTIAGO, SUSANA        ADDRESS ON FILE
GONZALEZ SANTIAGO, VALERIE       ADDRESS ON FILE
GONZALEZ SANTIAGO, VANESSA       ADDRESS ON FILE
GONZALEZ SANTIAGO, VERONICA      ADDRESS ON FILE
GONZALEZ SANTIAGO, VERONICA M.   ADDRESS ON FILE
GONZALEZ SANTIAGO, VICTOR        ADDRESS ON FILE
GONZALEZ SANTIAGO, WANDA         ADDRESS ON FILE
GONZALEZ SANTIAGO, WIGBERTO      ADDRESS ON FILE
GONZALEZ SANTIAGO, WILLIAM       ADDRESS ON FILE
GONZALEZ SANTIAGO, WILSON I.     ADDRESS ON FILE
GONZALEZ SANTIAGO, WINNIE        ADDRESS ON FILE
Gonzalez Santiago, Wydmar        ADDRESS ON FILE
GONZALEZ SANTIAGO, XAVIER        ADDRESS ON FILE
Gonzalez Santiago, Xiomara       ADDRESS ON FILE
GONZALEZ SANTIAGO, XIOMARI A     ADDRESS ON FILE
GONZALEZ SANTIAGO, XIOMARI A.    ADDRESS ON FILE
GONZALEZ SANTIAGO, YARISMAR      ADDRESS ON FILE
GONZALEZ SANTIAGO, YARITZA       ADDRESS ON FILE
GONZALEZ SANTIAGO, YDELSI        ADDRESS ON FILE
GONZALEZ SANTIAGO, ZORAIDA       ADDRESS ON FILE
GONZALEZ SANTIAGO, ZYLKIA        ADDRESS ON FILE
GONZALEZ SANTIAGO, ZYNTHYA D.    ADDRESS ON FILE
GONZALEZ SANTIAGO,FREDDIE        ADDRESS ON FILE
GONZALEZ SANTIAGO,JONATHAN A.    ADDRESS ON FILE
GONZALEZ SANTINI, BRENDA         ADDRESS ON FILE
GONZALEZ SANTINI, WALESKA        ADDRESS ON FILE
GONZALEZ SANTINI, ZARINET        ADDRESS ON FILE
GONZALEZ SANTONI MD, RICARDO E   ADDRESS ON FILE
GONZALEZ SANTONI, GERALD         ADDRESS ON FILE
GONZALEZ SANTONI, HECTOR         ADDRESS ON FILE
GONZALEZ SANTONI, OLGA           ADDRESS ON FILE
GONZALEZ SANTOS MD, ANTONIO R    ADDRESS ON FILE
GONZALEZ SANTOS MD, JORGE L      ADDRESS ON FILE
GONZALEZ SANTOS, ABIMAEL         ADDRESS ON FILE
GONZALEZ SANTOS, ADELAIDA        ADDRESS ON FILE
GONZALEZ SANTOS, ALICIA          ADDRESS ON FILE
GONZALEZ SANTOS, ANGEL           ADDRESS ON FILE
GONZALEZ SANTOS, ANGEL           ADDRESS ON FILE
GONZALEZ SANTOS, ANGEL           ADDRESS ON FILE
GONZALEZ SANTOS, ANTONIO         ADDRESS ON FILE
GONZALEZ SANTOS, CARLOS          ADDRESS ON FILE
GONZALEZ SANTOS, CARLOS          ADDRESS ON FILE
GONZALEZ SANTOS, CARMELO         ADDRESS ON FILE
GONZALEZ SANTOS, CARMEN E        ADDRESS ON FILE
GONZALEZ SANTOS, CHRISTIAN       ADDRESS ON FILE
GONZALEZ SANTOS, DENISE V        ADDRESS ON FILE
GONZALEZ SANTOS, ERIC            ADDRESS ON FILE
GONZALEZ SANTOS, FELICITA        ADDRESS ON FILE
Gonzalez Santos, Fundador        ADDRESS ON FILE
GONZALEZ SANTOS, GENARO          ADDRESS ON FILE
GONZALEZ SANTOS, GINEZA          ADDRESS ON FILE
GONZALEZ SANTOS, GLORIA E        ADDRESS ON FILE
GONZALEZ SANTOS, JESUS           ADDRESS ON FILE
GONZALEZ SANTOS, JOSE            ADDRESS ON FILE




                                                                             Page 3428 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3429 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SANTOS, JOSE M         ADDRESS ON FILE
GONZALEZ SANTOS, JULIO          ADDRESS ON FILE
GONZALEZ SANTOS, JULIO E.       ADDRESS ON FILE
GONZALEZ SANTOS, LAURYLIZ       ADDRESS ON FILE
GONZALEZ SANTOS, LAURYLIZ       ADDRESS ON FILE
GONZALEZ SANTOS, LINDA C.       ADDRESS ON FILE
GONZALEZ SANTOS, LUIS           ADDRESS ON FILE
Gonzalez Santos, Luis A         ADDRESS ON FILE
GONZALEZ SANTOS, LUIS M.        ADDRESS ON FILE
GONZALEZ SANTOS, LUZ V.         ADDRESS ON FILE
GONZALEZ SANTOS, MADELYN        ADDRESS ON FILE
GONZALEZ SANTOS, MARIA DEL C    ADDRESS ON FILE
GONZALEZ SANTOS, MARIBEL        ADDRESS ON FILE
GONZALEZ SANTOS, MARTIN R.      ADDRESS ON FILE
GONZALEZ SANTOS, MARYLIZ        ADDRESS ON FILE
GONZALEZ SANTOS, MIRIAM I       ADDRESS ON FILE
Gonzalez Santos, Ramon          ADDRESS ON FILE
GONZALEZ SANTOS, ROSA A         ADDRESS ON FILE
Gonzalez Santos, Ruben          ADDRESS ON FILE
GONZALEZ SANTOS, WILLIAM        ADDRESS ON FILE
GONZALEZ SANTOS, YOVAN          ADDRESS ON FILE
GONZALEZ SANTOS,JORGE           ADDRESS ON FILE
GONZALEZ SARRAGA, EFRAIN A.     ADDRESS ON FILE
GONZALEZ SASTRE, MARIA L        ADDRESS ON FILE
GONZALEZ SASTRE, PETRONILA      ADDRESS ON FILE
GONZALEZ SASTRE, RUBEN          ADDRESS ON FILE
GONZALEZ SASTRE, RUBEN A.       ADDRESS ON FILE
Gonzalez Schettini, Pablo       ADDRESS ON FILE
GONZALEZ SCHETTINI, PABLO       ADDRESS ON FILE
GONZALEZ SCHIKORA, TANNIA       ADDRESS ON FILE
GONZALEZ SEDA, EDNA             ADDRESS ON FILE
GONZALEZ SEDA, GABRIEL          ADDRESS ON FILE
GONZALEZ SEDA, GENOVEVA         ADDRESS ON FILE
GONZALEZ SEDA, JUAN             ADDRESS ON FILE
GONZALEZ SEDA, KARLA            ADDRESS ON FILE
GONZALEZ SEDA, OSVALDO          ADDRESS ON FILE
GONZALEZ SEDA, VIVIANA C        ADDRESS ON FILE
GONZALEZ SEGARRA MD, NAGGAI J   ADDRESS ON FILE
GONZALEZ SEGARRA, ANGEL         ADDRESS ON FILE
GONZALEZ SEGARRA, ARNALDO J.    ADDRESS ON FILE
GONZALEZ SEGARRA, EDDA G        ADDRESS ON FILE
GONZALEZ SEGARRA, EDUVIGIS      ADDRESS ON FILE
GONZALEZ SEGARRA, FRANK H       ADDRESS ON FILE
GONZALEZ SEGARRA, GLADYS        ADDRESS ON FILE
GONZALEZ SEGARRA, IRMGARD       ADDRESS ON FILE
GONZALEZ SEGARRA, JOSE          ADDRESS ON FILE
GONZALEZ SEGARRA, JOSE F        ADDRESS ON FILE
GONZALEZ SEGARRA, MAYRA J.      ADDRESS ON FILE
GONZALEZ SEGARRA, NAGGAI        ADDRESS ON FILE
GONZALEZ SEGARRA, PRIMITIVA     ADDRESS ON FILE
GONZALEZ SEGARRA, TALANA        ADDRESS ON FILE
GONZALEZ SEGARRA, TIFFANY       ADDRESS ON FILE
GONZALEZ SEGUI, IRIS L          ADDRESS ON FILE
GONZALEZ SEGUI, YANIRA          ADDRESS ON FILE
GONZALEZ SEGUNDO, ALINA         ADDRESS ON FILE
GONZALEZ SEIN, GISELA           ADDRESS ON FILE
Gonzalez Sein, Javier           ADDRESS ON FILE
GONZALEZ SEIN, MARIA C          ADDRESS ON FILE
GONZALEZ SEMIDEY, ANGIE         ADDRESS ON FILE
GONZALEZ SEMIDEY, ANGIE I       ADDRESS ON FILE




                                                                            Page 3429 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3430 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SEMIDEY, IVELIE         ADDRESS ON FILE
Gonzalez Senati, Gualberto       ADDRESS ON FILE
GONZALEZ SEPULVEDA, CARLOS F     ADDRESS ON FILE
GONZALEZ SEPULVEDA, CARMEN G     ADDRESS ON FILE
GONZALEZ SEPULVEDA, ISRAEL       ADDRESS ON FILE
GONZALEZ SEPULVEDA, KAREN        ADDRESS ON FILE
GONZALEZ SEPULVEDA, LORENA       ADDRESS ON FILE
GONZALEZ SEPULVEDA, LYDIA I      ADDRESS ON FILE
Gonzalez Sepulveda, Ruben R      ADDRESS ON FILE
GONZALEZ SERRA, EDIL             ADDRESS ON FILE
GONZALEZ SERRANO, AIDA           ADDRESS ON FILE
GONZALEZ SERRANO, ALICIA         ADDRESS ON FILE
GONZALEZ SERRANO, ANA A          ADDRESS ON FILE
Gonzalez Serrano, Angel J        ADDRESS ON FILE
GONZALEZ SERRANO, ANIBAL         ADDRESS ON FILE
GONZALEZ SERRANO, AUGUSTO        ADDRESS ON FILE
GONZALEZ SERRANO, BERNARDA       ADDRESS ON FILE
GONZALEZ SERRANO, BRENDA         ADDRESS ON FILE
GONZALEZ SERRANO, CARMEN D       ADDRESS ON FILE
GONZALEZ SERRANO, CARMEN N.      ADDRESS ON FILE
GONZALEZ SERRANO, DOLORES        ADDRESS ON FILE
GONZALEZ SERRANO, EDUARDO        ADDRESS ON FILE
GONZALEZ SERRANO, FLOR ENEIDA    ADDRESS ON FILE
GONZALEZ SERRANO, FLOR M         ADDRESS ON FILE
GONZALEZ SERRANO, FRANCISCO      ADDRESS ON FILE
GONZALEZ SERRANO, FREDDIE A      ADDRESS ON FILE
GONZALEZ SERRANO, IRMA           ADDRESS ON FILE
GONZALEZ SERRANO, ISMAEL         ADDRESS ON FILE
GONZALEZ SERRANO, JACKELINE      ADDRESS ON FILE
GONZALEZ SERRANO, JAVIER         ADDRESS ON FILE
Gonzalez Serrano, Jeanice        ADDRESS ON FILE
GONZALEZ SERRANO, JOHANNA        ADDRESS ON FILE
GONZALEZ SERRANO, JORGE          ADDRESS ON FILE
GONZALEZ SERRANO, JUAN           ADDRESS ON FILE
GONZALEZ SERRANO, JUAN M         ADDRESS ON FILE
GONZALEZ SERRANO, JUANA          ADDRESS ON FILE
GONZALEZ SERRANO, JULIO          ADDRESS ON FILE
GONZALEZ SERRANO, JULIO J.       ADDRESS ON FILE
GONZALEZ SERRANO, KARLA          ADDRESS ON FILE
GONZALEZ SERRANO, LUIS           ADDRESS ON FILE
GONZALEZ SERRANO, LUIS           ADDRESS ON FILE
Gonzalez Serrano, Luis A.        ADDRESS ON FILE
GONZALEZ SERRANO, MADELINE       ADDRESS ON FILE
GONZALEZ SERRANO, MAEBERYN       ADDRESS ON FILE
GONZALEZ SERRANO, MARIA DEL C    ADDRESS ON FILE
GONZALEZ SERRANO, MARISELA       ADDRESS ON FILE
GONZALEZ SERRANO, MELANIE        ADDRESS ON FILE
Gonzalez Serrano, Pablo          ADDRESS ON FILE
GONZALEZ SERRANO, PABLO          ADDRESS ON FILE
Gonzalez Serrano, Pedro L        ADDRESS ON FILE
GONZALEZ SERRANO, RICARDO        ADDRESS ON FILE
GONZALEZ SERRANO, RICHARD        ADDRESS ON FILE
Gonzalez Serrano, Ruben          ADDRESS ON FILE
GONZALEZ SERRANO, RUBY           ADDRESS ON FILE
GONZALEZ SERRANO, SHEILA         ADDRESS ON FILE
GONZALEZ SERRANO, SILVIA B       ADDRESS ON FILE
GONZALEZ SERRANO, SONIA IVETTE   ADDRESS ON FILE
GONZALEZ SERRANO, TANIA          ADDRESS ON FILE
GONZALEZ SERRANO, VIRGENMINA     ADDRESS ON FILE
Gonzalez Serrano, Wilfredo       ADDRESS ON FILE




                                                                             Page 3430 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3431 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SERRANO, WILSON           ADDRESS ON FILE
GONZALEZ SERRANO, ZENAID           ADDRESS ON FILE
GONZALEZ SIERRA, BRIAN O           ADDRESS ON FILE
GONZALEZ SIERRA, ERIKA V           ADDRESS ON FILE
GONZALEZ SIERRA, FRANCISCO         ADDRESS ON FILE
GONZALEZ SIERRA, FRANCISCO         ADDRESS ON FILE
GONZALEZ SIERRA, HECTOR R.         ADDRESS ON FILE
GONZALEZ SIERRA, IRIS J            ADDRESS ON FILE
GONZALEZ SIERRA, JANETTE           ADDRESS ON FILE
GONZALEZ SIERRA, JHOMARY           ADDRESS ON FILE
GONZALEZ SIERRA, JOEL              ADDRESS ON FILE
GONZALEZ SIERRA, JOEL              ADDRESS ON FILE
GONZALEZ SIERRA, JOSE              ADDRESS ON FILE
GONZALEZ SIERRA, JOSUE             ADDRESS ON FILE
GONZALEZ SIERRA, KITOSCH           ADDRESS ON FILE
GONZALEZ SIERRA, LAURA             ADDRESS ON FILE
GONZALEZ SIERRA, LYMARIS M         ADDRESS ON FILE
GONZALEZ SIERRA, MIGUEL            ADDRESS ON FILE
GONZALEZ SIERRA, MIRIAM            ADDRESS ON FILE
GONZALEZ SIERRA, MYRNA L           ADDRESS ON FILE
GONZALEZ SIERRA, NICOLAS           ADDRESS ON FILE
GONZALEZ SIERRA, NILMARIS          ADDRESS ON FILE
GONZALEZ SIERRA, NOEL              ADDRESS ON FILE
GONZALEZ SIERRA, REBECCA           ADDRESS ON FILE
GONZALEZ SIERRA, RICARDO           ADDRESS ON FILE
GONZALEZ SIERRA, ROXANE A          ADDRESS ON FILE
GONZALEZ SIERRA, TITA              ADDRESS ON FILE
GONZALEZ SIERRA, VIRGEN A          ADDRESS ON FILE
GONZALEZ SIERRA, WILMA             ADDRESS ON FILE
GONZALEZ SIFONTE, CARMEN M.        ADDRESS ON FILE
GONZALEZ SIFONTE, LYDIA            ADDRESS ON FILE
GONZALEZ SIFONTE, MARIA DE L       ADDRESS ON FILE
GONZALEZ SILVA, ANABELLE           ADDRESS ON FILE
GONZALEZ SILVA, ANABELLE DEL C.    ADDRESS ON FILE
GONZALEZ SILVA, ANGEL              ADDRESS ON FILE
GONZALEZ SILVA, ANGEL A.           ADDRESS ON FILE
GONZALEZ SILVA, ILISMARY           ADDRESS ON FILE
GONZALEZ SILVA, IRMA               ADDRESS ON FILE
GONZALEZ SILVA, JOCELYN            ADDRESS ON FILE
GONZALEZ SILVA, JOHN D             ADDRESS ON FILE
Gonzalez Silva, Julio C            ADDRESS ON FILE
GONZALEZ SILVA, RAFAEL A           ADDRESS ON FILE
GONZALEZ SILVA, VERONICA           ADDRESS ON FILE
GONZALEZ SILVA, VICTOR M           ADDRESS ON FILE
GONZALEZ SILVA, VIVIAN             ADDRESS ON FILE
GONZALEZ SILVA, VIVIAN Z           ADDRESS ON FILE
GONZALEZ SILVESTRIS, CARMEN D      ADDRESS ON FILE
GONZALEZ SIMONET, LUIS             ADDRESS ON FILE
GONZALEZ SIMONET, MARTHA I.        ADDRESS ON FILE
GONZALEZ SINISTERRA, MARIA DEL C   ADDRESS ON FILE
GONZALEZ SIVERIO, ELIZABETH        ADDRESS ON FILE
GONZALEZ SOBERAL, EDUARDO          ADDRESS ON FILE
GONZALEZ SOBRINO, BIANCA           ADDRESS ON FILE
GONZALEZ SOJO,YARA LEE             ADDRESS ON FILE
GONZALEZ SOLANO, VANESSA           ADDRESS ON FILE
GONZALEZ SOLARES, JOSE             ADDRESS ON FILE
GONZALEZ SOLARES, RAFAEL           ADDRESS ON FILE
GONZALEZ SOLER, ANA M              ADDRESS ON FILE
GONZALEZ SOLER, CARLOS             ADDRESS ON FILE
GONZALEZ SOLER, JORGE              ADDRESS ON FILE




                                                                               Page 3431 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3432 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SOLER, LUZ N        ADDRESS ON FILE
GONZALEZ SOLER, MILAGROS     ADDRESS ON FILE
GONZALEZ SOLER, MIRIAM       ADDRESS ON FILE
GONZALEZ SOLIS, DIANA        ADDRESS ON FILE
GONZALEZ SOLIS, JESSICA      ADDRESS ON FILE
GONZALEZ SOLIS, JOSE         ADDRESS ON FILE
GONZALEZ SOLIS, JUDITH       ADDRESS ON FILE
GONZALEZ SOLIS, SERGIO       ADDRESS ON FILE
GONZALEZ SOLIVAN, ANGEL      ADDRESS ON FILE
GONZALEZ SONERA, GINYERLEE   ADDRESS ON FILE
GONZALEZ SONERA, RICHARD     ADDRESS ON FILE
GONZALEZ SONERA, ZULEYKA     ADDRESS ON FILE
GONZALEZ SORIANO, JOHANNA    ADDRESS ON FILE
Gonzalez Sosa, Aixa I        ADDRESS ON FILE
GONZALEZ SOSA, AWILDA N      ADDRESS ON FILE
GONZALEZ SOSA, FRANCES       ADDRESS ON FILE
GONZALEZ SOSA, HAROLD        ADDRESS ON FILE
GONZALEZ SOSA, HAROLD        ADDRESS ON FILE
GONZALEZ SOSA, JANNETTE      ADDRESS ON FILE
Gonzalez Sosa, Javier        ADDRESS ON FILE
Gonzalez Sostre, Aracelis    ADDRESS ON FILE
GONZALEZ SOSTRE, ARACELIS    ADDRESS ON FILE
GONZALEZ SOSTRE, EDWIN J.    ADDRESS ON FILE
GONZALEZ SOSTRE, YOLANDA     ADDRESS ON FILE
GONZALEZ SOTERO, CARLOS      ADDRESS ON FILE
GONZALEZ SOTO MD, KELVIN     ADDRESS ON FILE
GONZALEZ SOTO, ALBA          ADDRESS ON FILE
GONZALEZ SOTO, ALBA N        ADDRESS ON FILE
GONZALEZ SOTO, ALBERTO       ADDRESS ON FILE
GONZALEZ SOTO, ANILDA        ADDRESS ON FILE
GONZALEZ SOTO, BRENDA I      ADDRESS ON FILE
Gonzalez Soto, Carlos        ADDRESS ON FILE
GONZALEZ SOTO, CARLOS        ADDRESS ON FILE
GONZALEZ SOTO, CARLOS        ADDRESS ON FILE
Gonzalez Soto, Carlos J      ADDRESS ON FILE
GONZALEZ SOTO, CARLOS J.     ADDRESS ON FILE
GONZALEZ SOTO, CARMEN A      ADDRESS ON FILE
GONZALEZ SOTO, CARMEN S      ADDRESS ON FILE
GONZALEZ SOTO, DALLING A     ADDRESS ON FILE
GONZALEZ SOTO, DELITH        ADDRESS ON FILE
Gonzalez Soto, Delvin        ADDRESS ON FILE
GONZALEZ SOTO, DORIS B       ADDRESS ON FILE
GONZALEZ SOTO, EDERLINDA     ADDRESS ON FILE
GONZALEZ SOTO, EDITH D       ADDRESS ON FILE
GONZALEZ SOTO, EDMIGNA       ADDRESS ON FILE
GONZALEZ SOTO, EDMIGNA       ADDRESS ON FILE
GONZALEZ SOTO, EDWIN         ADDRESS ON FILE
GONZALEZ SOTO, EDWIN         ADDRESS ON FILE
GONZALEZ SOTO, EDWIN         ADDRESS ON FILE
GONZALEZ SOTO, EDWIN G       ADDRESS ON FILE
Gonzalez Soto, Edwin R       ADDRESS ON FILE
GONZALEZ SOTO, ELIAS         ADDRESS ON FILE
Gonzalez Soto, Ernesto E     ADDRESS ON FILE
GONZALEZ SOTO, GENEROSO      ADDRESS ON FILE
GONZALEZ SOTO, GLADYS        ADDRESS ON FILE
GONZALEZ SOTO, GLORIA M      ADDRESS ON FILE
GONZALEZ SOTO, HECMARY       ADDRESS ON FILE
GONZALEZ SOTO, IDA E         ADDRESS ON FILE
GONZALEZ SOTO, ISMAEL        ADDRESS ON FILE
GONZALEZ SOTO, ISMAEL        ADDRESS ON FILE




                                                                         Page 3432 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3433 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SOTO, JACQUELINE E      ADDRESS ON FILE
GONZALEZ SOTO, JEANETTE          ADDRESS ON FILE
GONZALEZ SOTO, JENNIE A          ADDRESS ON FILE
GONZALEZ SOTO, JENNIFER          ADDRESS ON FILE
GONZALEZ SOTO, JENNIFER          ADDRESS ON FILE
GONZALEZ SOTO, JESUS             ADDRESS ON FILE
GONZALEZ SOTO, JIMMY             ADDRESS ON FILE
GONZALEZ SOTO, JOAMEL            ADDRESS ON FILE
GONZALEZ SOTO, JOHANY D.         ADDRESS ON FILE
GONZALEZ SOTO, JOHNNY            ADDRESS ON FILE
Gonzalez Soto, Jose A            ADDRESS ON FILE
GONZALEZ SOTO, JOSE D.           ADDRESS ON FILE
Gonzalez Soto, Joselyn           ADDRESS ON FILE
GONZALEZ SOTO, JOSELYN           ADDRESS ON FILE
GONZALEZ SOTO, JOYLIZ            ADDRESS ON FILE
GONZALEZ SOTO, JUAN B            ADDRESS ON FILE
GONZALEZ SOTO, JULIAN            ADDRESS ON FILE
GONZALEZ SOTO, JULIO A.          ADDRESS ON FILE
GONZALEZ SOTO, JULIO C           ADDRESS ON FILE
GONZALEZ SOTO, KAREN D.          ADDRESS ON FILE
GONZALEZ SOTO, KELVIN            ADDRESS ON FILE
GONZALEZ SOTO, KELVIN            ADDRESS ON FILE
GONZALEZ SOTO, LINDSAY J         ADDRESS ON FILE
GONZALEZ SOTO, LOURDES           ADDRESS ON FILE
Gonzalez Soto, Luis              ADDRESS ON FILE
GONZALEZ SOTO, LUIS A            ADDRESS ON FILE
GONZALEZ SOTO, MARGIE            ADDRESS ON FILE
GONZALEZ SOTO, MARIA             ADDRESS ON FILE
GONZALEZ SOTO, MARIA DEL         ADDRESS ON FILE
GONZALEZ SOTO, MARIA N           ADDRESS ON FILE
GONZALEZ SOTO, MARIE I           ADDRESS ON FILE
GONZALEZ SOTO, MARILUZ           ADDRESS ON FILE
GONZALEZ SOTO, MARITZA           ADDRESS ON FILE
GONZALEZ SOTO, MIGUEL            ADDRESS ON FILE
Gonzalez Soto, Miguel A          ADDRESS ON FILE
GONZALEZ SOTO, MIGUEL A          ADDRESS ON FILE
GONZALEZ SOTO, NELSON            ADDRESS ON FILE
GONZALEZ SOTO, ORLANDO           ADDRESS ON FILE
GONZALEZ SOTO, ORLANDO           ADDRESS ON FILE
GONZALEZ SOTO, OSVALDO           ADDRESS ON FILE
GONZALEZ SOTO, PEDRO I           ADDRESS ON FILE
GONZALEZ SOTO, RAFAEL            ADDRESS ON FILE
GONZALEZ SOTO, RAFAEL A          ADDRESS ON FILE
GONZALEZ SOTO, RAYMUNDO          ADDRESS ON FILE
GONZALEZ SOTO, SAMUEL            ADDRESS ON FILE
GONZALEZ SOTO, SEGUNDO           ADDRESS ON FILE
GONZALEZ SOTO, SYLVIA            ADDRESS ON FILE
GONZALEZ SOTO, VENUS             ADDRESS ON FILE
GONZALEZ SOTO, VICTOR            ADDRESS ON FILE
GONZALEZ SOTO, VIRGINIA          ADDRESS ON FILE
GONZALEZ SOTO, WALTER            ADDRESS ON FILE
GONZALEZ SOTO, WANDALIZ          ADDRESS ON FILE
GONZALEZ SOTO, WILMA I.          ADDRESS ON FILE
GONZALEZ SOTO, YADIRA            ADDRESS ON FILE
GONZALEZ SOTO, YAITZA            ADDRESS ON FILE
GONZALEZ SOTO, YOLANDA           ADDRESS ON FILE
GONZALEZ SOTO, YOLANDA           ADDRESS ON FILE
GONZALEZ SOTO, YOLANDA           ADDRESS ON FILE
GONZALEZ SOTO,PEDRO              ADDRESS ON FILE
GONZALEZ SOTOMAYOR MD, ANTONIO   ADDRESS ON FILE




                                                                             Page 3433 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3434 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ SOTOMAYOR, CARLOS       ADDRESS ON FILE
Gonzalez Sotomayor, Carlos J.    ADDRESS ON FILE
GONZALEZ SOTOMAYOR, CONFESORA    ADDRESS ON FILE
GONZALEZ SOTOMAYOR, DANIEL       ADDRESS ON FILE
GONZALEZ SOTOMAYOR, JORGE O      ADDRESS ON FILE
GONZALEZ SOTOMAYOR, MARIA        ADDRESS ON FILE
GONZALEZ STARK, LIANNE           ADDRESS ON FILE
GONZALEZ STARKS, KEARA           ADDRESS ON FILE
GONZALEZ STAWINSKI, CARLOS       ADDRESS ON FILE
GONZALEZ SUAREZ, CARELEN         ADDRESS ON FILE
Gonzalez Suarez, Carlos J        ADDRESS ON FILE
Gonzalez Suarez, Carlos M        ADDRESS ON FILE
GONZALEZ SUAREZ, CYNTHIA         ADDRESS ON FILE
GONZALEZ SUAREZ, DEBBIE          ADDRESS ON FILE
GONZALEZ SUAREZ, EDWIN           ADDRESS ON FILE
GONZALEZ SUAREZ, ELISA           ADDRESS ON FILE
GONZALEZ SUAREZ, EZEQUIEL        ADDRESS ON FILE
GONZALEZ SUAREZ, HILTON R        ADDRESS ON FILE
GONZALEZ SUAREZ, JOEL            ADDRESS ON FILE
GONZALEZ SUAREZ, JONATHAN        ADDRESS ON FILE
GONZALEZ SUAREZ, JOSE            ADDRESS ON FILE
GONZALEZ SUAREZ, JOSE            ADDRESS ON FILE
GONZALEZ SUAREZ, JOSE            ADDRESS ON FILE
GONZALEZ SUAREZ, JOSE A.         ADDRESS ON FILE
Gonzalez Suarez, Kenneth G       ADDRESS ON FILE
GONZALEZ SUAREZ, LILLIAM         ADDRESS ON FILE
GONZALEZ SUAREZ, MARIA A         ADDRESS ON FILE
GONZALEZ SUAREZ, MARLENE         ADDRESS ON FILE
GONZALEZ SUAREZ, NEYSHA A        ADDRESS ON FILE
GONZALEZ SUAREZ, NILDA           ADDRESS ON FILE
GONZALEZ SUAREZ, REINALDO        ADDRESS ON FILE
GONZALEZ SUAREZ, ULRRICO         ADDRESS ON FILE
GONZALEZ SULIVERES, EMILIO       ADDRESS ON FILE
GONZALEZ SULIVERES, FRANSHES M   ADDRESS ON FILE
GONZALEZ SUREDA, MARIEULY        ADDRESS ON FILE
GONZALEZ SUREN, KAREN            ADDRESS ON FILE
GONZALEZ SURENS, EVELINDA        ADDRESS ON FILE
GONZALEZ SURIS, SARA M.          ADDRESS ON FILE
GONZALEZ TABOADA, JOSE ANTONIO   ADDRESS ON FILE
GONZALEZ TALAVERA, ALVIN         ADDRESS ON FILE
GONZALEZ TALAVERA, ARACELY       ADDRESS ON FILE
GONZALEZ TALAVERA, JOSE A.       ADDRESS ON FILE
Gonzalez Talavera, Luis C        ADDRESS ON FILE
GONZALEZ TALAVERA, MARIBEL       ADDRESS ON FILE
GONZALEZ TANCO, GLORIA E         ADDRESS ON FILE
GONZALEZ TANCO, GLORIA E         ADDRESS ON FILE
GONZALEZ TANCO, GLORIMAR         ADDRESS ON FILE
GONZALEZ TANCO, GLORIMAR         ADDRESS ON FILE
Gonzalez Tanon, Mirna Z          ADDRESS ON FILE
GONZALEZ TAPIA, CLARYVETTE       ADDRESS ON FILE
GONZALEZ TAVARES, SHEILA MARIE   ADDRESS ON FILE
GONZALEZ TAVAREZ, ZOE            ADDRESS ON FILE
GONZALEZ TEJERA MD, GLORIA M     ADDRESS ON FILE
Gonzalez Tejero, Javier J        ADDRESS ON FILE
GONZALEZ TEJERO, JOSE            ADDRESS ON FILE
GONZALEZ TEJERO, JOSE L          ADDRESS ON FILE
Gonzalez Tejero, Jose L.         ADDRESS ON FILE
GONZALEZ TELLADO, LIONEL         ADDRESS ON FILE
GONZALEZ TELLADO, MAYRA          ADDRESS ON FILE
Gonzalez Tellado, Rebecca        ADDRESS ON FILE




                                                                             Page 3434 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3435 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ TERRON, IDXIAN         ADDRESS ON FILE
GONZALEZ THOMPSON, ARMINDA M    ADDRESS ON FILE
GONZALEZ TIGERA WAREHOUSE       PO BOX 366457                                                                    SAN JUAN     PR      00936
Gonzalez Tirado, Damaris        ADDRESS ON FILE
GONZALEZ TIRADO, EDWIN          ADDRESS ON FILE
Gonzalez Tirado, Edwin          ADDRESS ON FILE
GONZALEZ TIRADO, EDWIN          ADDRESS ON FILE
GONZALEZ TIRADO, GLENDA         ADDRESS ON FILE
Gonzalez Tirado, Jose A         ADDRESS ON FILE
GONZALEZ TIRADO, JOSE L         ADDRESS ON FILE
GONZALEZ TIRADO, JOSE W.        ADDRESS ON FILE
GONZALEZ TIRADO, LEONARDO       ADDRESS ON FILE
GONZALEZ TIRADO, LUZ VIRGINIA   ADDRESS ON FILE
GONZALEZ TIRADO, MARIA          ADDRESS ON FILE
GONZALEZ TIRADO, MARIA J        ADDRESS ON FILE
GONZALEZ TIRADO, MARIA T.       ADDRESS ON FILE
GONZALEZ TIRADO, MAYRA E.       ADDRESS ON FILE
GONZALEZ TIRADO, VILMA M        ADDRESS ON FILE
GONZALEZ TIRADO, WALESKA        ADDRESS ON FILE
GONZALEZ TIRADO, ZENAIDA        ADDRESS ON FILE
GONZALEZ TIRU, EDGARDO          ADDRESS ON FILE
GONZALEZ TOBAJA, MICHELLE       ADDRESS ON FILE
GONZALEZ TOBAJA, MICHELLE M     ADDRESS ON FILE
GONZALEZ TOBI, JUAN E.          ADDRESS ON FILE
GONZALEZ TOLEDO, BRENDA L.      ADDRESS ON FILE
GONZALEZ TOLEDO, MARIA          ADDRESS ON FILE
GONZALEZ TOLEDO, MILAGROS       ADDRESS ON FILE
GONZALEZ TOLEDO, MILAGROS       ADDRESS ON FILE
GONZALEZ TOLEDO, OVIMAEL        ADDRESS ON FILE
GONZALEZ TOLEDO, RUBEN          ADDRESS ON FILE
GONZALEZ TOLEDO, WILLIAM        ADDRESS ON FILE
GONZALEZ TOLENTINO, LAURA       ADDRESS ON FILE
GONZALEZ TOLENTINO, MARIBEL     ADDRESS ON FILE
GONZALEZ TOLENTINO, MILAGROS    ADDRESS ON FILE
GONZALEZ TOMASINI, ORLANDO      ADDRESS ON FILE
GONZALEZ TOMASSINI, BRIAN       ADDRESS ON FILE
GONZALEZ TORO, ANGEL            ADDRESS ON FILE
GONZALEZ TORO, CARMICHELLE      ADDRESS ON FILE
GONZALEZ TORO, CHRISTIE M       ADDRESS ON FILE
GONZALEZ TORO, MARBEL           ADDRESS ON FILE
GONZALEZ TORO, MARIA            ADDRESS ON FILE
GONZALEZ TORO, MARICRUZ         ADDRESS ON FILE
GONZALEZ TORO, RUBEN            ADDRESS ON FILE
GONZALEZ TORO, YAIRA E          ADDRESS ON FILE
GONZALEZ TORRADO ADA, LEYDA     ADDRESS ON FILE
GONZALEZ TORRADO, ADA L         ADDRESS ON FILE
GONZALEZ TORRADO, RUBEN         ADDRESS ON FILE
GONZALEZ TORRENTS, RAUL A.      ADDRESS ON FILE
GONZALEZ TORRES & CO. PSC       BOLIVIA 22 SUITE 301                                                             SAN JUAN     PR      00917‐2014
GONZALEZ TORRES MD, EMILIO R    ADDRESS ON FILE
GONZALEZ TORRES, ABDRIEL        ADDRESS ON FILE
GONZALEZ TORRES, ADA            ADDRESS ON FILE
GONZALEZ TORRES, ADA N          ADDRESS ON FILE
GONZALEZ TORRES, ADA R          ADDRESS ON FILE
GONZALEZ TORRES, ADALIS         ADDRESS ON FILE
GONZALEZ TORRES, ADAMARIE       ADDRESS ON FILE
GONZALEZ TORRES, ADLIN          ADDRESS ON FILE
GONZALEZ TORRES, ADLIN S        ADDRESS ON FILE
GONZALEZ TORRES, AIDA I.        ADDRESS ON FILE
GONZALEZ TORRES, ALBERTO L      ADDRESS ON FILE




                                                                            Page 3435 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3436 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ TORRES, ALEXANDER    ADDRESS ON FILE
GONZALEZ TORRES, ALEXANDER    ADDRESS ON FILE
GONZALEZ TORRES, ANA          ADDRESS ON FILE
GONZALEZ TORRES, ANA A        ADDRESS ON FILE
GONZALEZ TORRES, ANA C.       ADDRESS ON FILE
GONZALEZ TORRES, ANA E        ADDRESS ON FILE
GONZALEZ TORRES, ANA M        ADDRESS ON FILE
GONZALEZ TORRES, ANDREA       ADDRESS ON FILE
GONZALEZ TORRES, ANGEL        ADDRESS ON FILE
GONZALEZ TORRES, ANGEL L      ADDRESS ON FILE
GONZALEZ TORRES, ANTHONY      ADDRESS ON FILE
GONZALEZ TORRES, ANTHONY A    ADDRESS ON FILE
GONZALEZ TORRES, ANTOLIN      ADDRESS ON FILE
GONZALEZ TORRES, ANTONIO      ADDRESS ON FILE
GONZALEZ TORRES, ARACELIS     ADDRESS ON FILE
Gonzalez Torres, Armando      ADDRESS ON FILE
GONZALEZ TORRES, ARMANDO      ADDRESS ON FILE
GONZALEZ TORRES, ARMANDO      ADDRESS ON FILE
Gonzalez Torres, Armando J    ADDRESS ON FILE
GONZALEZ TORRES, BIENVENIDA   ADDRESS ON FILE
GONZALEZ TORRES, BLANCA I     ADDRESS ON FILE
GONZALEZ TORRES, CARLOS       ADDRESS ON FILE
GONZALEZ TORRES, CARLOS       ADDRESS ON FILE
GONZALEZ TORRES, CARLOS       ADDRESS ON FILE
GONZALEZ TORRES, CARLOS       ADDRESS ON FILE
GONZALEZ TORRES, CARLOS       ADDRESS ON FILE
GONZALEZ TORRES, CARLOS       ADDRESS ON FILE
GONZALEZ TORRES, CARLOS A     ADDRESS ON FILE
GONZALEZ TORRES, CARLOS A.    ADDRESS ON FILE
GONZALEZ TORRES, CARLOS L.    ADDRESS ON FILE
GONZALEZ TORRES, CARMEN       ADDRESS ON FILE
Gonzalez Torres, Carmen       ADDRESS ON FILE
GONZALEZ TORRES, CARMEN       ADDRESS ON FILE
GONZALEZ TORRES, CARMEN       ADDRESS ON FILE
GONZALEZ TORRES, CARMEN       ADDRESS ON FILE
GONZALEZ TORRES, CARMEN       ADDRESS ON FILE
GONZALEZ TORRES, CARMEN D     ADDRESS ON FILE
Gonzalez Torres, Carmen M     ADDRESS ON FILE
GONZALEZ TORRES, CARMEN R     ADDRESS ON FILE
GONZALEZ TORRES, CASTA D      ADDRESS ON FILE
GONZALEZ TORRES, CLARIVEL     ADDRESS ON FILE
GONZALEZ TORRES, CRUZ         ADDRESS ON FILE
GONZALEZ TORRES, DAISY        ADDRESS ON FILE
GONZALEZ TORRES, DALILA       ADDRESS ON FILE
GONZALEZ TORRES, DAMARIS      ADDRESS ON FILE
GONZALEZ TORRES, DANAIDA      ADDRESS ON FILE
GONZALEZ TORRES, DEBORAH      ADDRESS ON FILE
GONZALEZ TORRES, DENISE X     ADDRESS ON FILE
GONZALEZ TORRES, DERVIS       ADDRESS ON FILE
GONZALEZ TORRES, EDNA         ADDRESS ON FILE
GONZALEZ TORRES, EDUARDO      ADDRESS ON FILE
GONZALEZ TORRES, EDUARDO      ADDRESS ON FILE
GONZALEZ TORRES, EDUARDO      ADDRESS ON FILE
GONZALEZ TORRES, EDWIN        ADDRESS ON FILE
GONZALEZ TORRES, EDWIN        ADDRESS ON FILE
GONZALEZ TORRES, EDWIN J      ADDRESS ON FILE
GONZALEZ TORRES, EILEEN       ADDRESS ON FILE
GONZALEZ TORRES, ELEONOR      ADDRESS ON FILE
GONZALEZ TORRES, ELIEZER      ADDRESS ON FILE
GONZALEZ TORRES, ELSA         ADDRESS ON FILE




                                                                          Page 3436 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3437 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ TORRES, ELSA M        ADDRESS ON FILE
GONZALEZ TORRES, EMILIO        ADDRESS ON FILE
GONZALEZ TORRES, EMILY         ADDRESS ON FILE
GONZALEZ TORRES, EMILY         ADDRESS ON FILE
GONZALEZ TORRES, ENID          ADDRESS ON FILE
GONZALEZ TORRES, ERIKA         ADDRESS ON FILE
GONZALEZ TORRES, EVELYN        ADDRESS ON FILE
GONZALEZ TORRES, FERDINAND     ADDRESS ON FILE
Gonzalez Torres, Fermin        ADDRESS ON FILE
GONZALEZ TORRES, FERNANDO      ADDRESS ON FILE
GONZALEZ TORRES, FRANCISCA     ADDRESS ON FILE
Gonzalez Torres, Francisco     ADDRESS ON FILE
GONZALEZ TORRES, GABRIEL       ADDRESS ON FILE
Gonzalez Torres, Gabriel A     ADDRESS ON FILE
GONZALEZ TORRES, GEORGE        ADDRESS ON FILE
GONZALEZ TORRES, GERARDO J     ADDRESS ON FILE
Gonzalez Torres, German        ADDRESS ON FILE
Gonzalez Torres, Gilberto      ADDRESS ON FILE
GONZALEZ TORRES, GILBERTO      ADDRESS ON FILE
GONZALEZ TORRES, GILBERTO      ADDRESS ON FILE
GONZALEZ TORRES, GILBERTO      ADDRESS ON FILE
GONZALEZ TORRES, GLADYS E      ADDRESS ON FILE
GONZALEZ TORRES, GRETCHEN      ADDRESS ON FILE
GONZALEZ TORRES, GRIMILDA      ADDRESS ON FILE
GONZALEZ TORRES, HARRY D       ADDRESS ON FILE
GONZALEZ TORRES, HAYDEE        ADDRESS ON FILE
GONZALEZ TORRES, HECTOR        ADDRESS ON FILE
GONZALEZ TORRES, HECTOR L      ADDRESS ON FILE
GONZALEZ TORRES, HERNAN        ADDRESS ON FILE
GONZALEZ TORRES, HORACIO       ADDRESS ON FILE
GONZALEZ TORRES, IDA L         ADDRESS ON FILE
GONZALEZ TORRES, IRMA M        ADDRESS ON FILE
GONZALEZ TORRES, ISABEL        ADDRESS ON FILE
GONZALEZ TORRES, ISALYN        ADDRESS ON FILE
GONZALEZ TORRES, ISIDRO        ADDRESS ON FILE
GONZALEZ TORRES, ISMAEL        ADDRESS ON FILE
GONZALEZ TORRES, IVELISSE      ADDRESS ON FILE
Gonzalez Torres, Ivonne J      ADDRESS ON FILE
GONZALEZ TORRES, JAIME         ADDRESS ON FILE
Gonzalez Torres, Jaime         ADDRESS ON FILE
GONZALEZ TORRES, JAIME         ADDRESS ON FILE
GONZALEZ TORRES, JAIME EFREN   ADDRESS ON FILE
GONZALEZ TORRES, JAIME J.      ADDRESS ON FILE
GONZALEZ TORRES, JAIRIS        ADDRESS ON FILE
GONZALEZ TORRES, JASON         ADDRESS ON FILE
Gonzalez Torres, Javier        ADDRESS ON FILE
GONZALEZ TORRES, JAVIER        ADDRESS ON FILE
GONZALEZ TORRES, JAVIER        ADDRESS ON FILE
GONZALEZ TORRES, JEAN          ADDRESS ON FILE
GONZALEZ TORRES, JEANNINE      ADDRESS ON FILE
GONZALEZ TORRES, JESSENIA      ADDRESS ON FILE
GONZALEZ TORRES, JESSICA       ADDRESS ON FILE
GONZALEZ TORRES, JESUS M.      ADDRESS ON FILE
GONZALEZ TORRES, JOAN          ADDRESS ON FILE
GONZALEZ TORRES, JOAN M        ADDRESS ON FILE
GONZALEZ TORRES, JOHN          ADDRESS ON FILE
GONZALEZ TORRES, JOHNNY        ADDRESS ON FILE
GONZALEZ TORRES, JOHNNY        ADDRESS ON FILE
GONZALEZ TORRES, JORGE         ADDRESS ON FILE
GONZALEZ TORRES, JORGE         ADDRESS ON FILE




                                                                           Page 3437 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3438 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ TORRES, JOSE         ADDRESS ON FILE
GONZALEZ TORRES, JOSE         ADDRESS ON FILE
GONZALEZ TORRES, JOSE         ADDRESS ON FILE
GONZALEZ TORRES, JOSE         ADDRESS ON FILE
GONZALEZ TORRES, JOSE A       ADDRESS ON FILE
GONZALEZ TORRES, JOSE A       ADDRESS ON FILE
GONZALEZ TORRES, JOSE A.      ADDRESS ON FILE
Gonzalez Torres, Jose G       ADDRESS ON FILE
Gonzalez Torres, Jose L       ADDRESS ON FILE
GONZALEZ TORRES, JOSE L       ADDRESS ON FILE
GONZALEZ TORRES, JUAN         ADDRESS ON FILE
GONZALEZ TORRES, JUAN C       ADDRESS ON FILE
Gonzalez Torres, Juan C       ADDRESS ON FILE
GONZALEZ TORRES, JUANITA      ADDRESS ON FILE
GONZALEZ TORRES, JULIO        ADDRESS ON FILE
GONZALEZ TORRES, JULIO        ADDRESS ON FILE
GONZALEZ TORRES, JULIO M      ADDRESS ON FILE
GONZALEZ TORRES, KAMARYS      ADDRESS ON FILE
GONZALEZ TORRES, KIARA        ADDRESS ON FILE
GONZALEZ TORRES, LEONARDO     ADDRESS ON FILE
GONZALEZ TORRES, LESTER A     ADDRESS ON FILE
GONZALEZ TORRES, LILLIAM      ADDRESS ON FILE
GONZALEZ TORRES, LILLIAM M    ADDRESS ON FILE
GONZALEZ TORRES, LILLIAN      ADDRESS ON FILE
GONZALEZ TORRES, LILLIANA     ADDRESS ON FILE
GONZALEZ TORRES, LINDA E      ADDRESS ON FILE
GONZALEZ TORRES, LIZETTE      ADDRESS ON FILE
GONZALEZ TORRES, LUIS         ADDRESS ON FILE
GONZALEZ TORRES, LUIS         ADDRESS ON FILE
GONZALEZ TORRES, LUIS         ADDRESS ON FILE
GONZALEZ TORRES, LUIS         ADDRESS ON FILE
Gonzalez Torres, Luis A       ADDRESS ON FILE
GONZALEZ TORRES, LUIS A       ADDRESS ON FILE
GONZALEZ TORRES, LUIS A       ADDRESS ON FILE
GONZALEZ TORRES, LUIS A.      ADDRESS ON FILE
GONZALEZ TORRES, LUIS A.      ADDRESS ON FILE
Gonzalez Torres, Luis D       ADDRESS ON FILE
GONZALEZ TORRES, LUIS E       ADDRESS ON FILE
GONZALEZ TORRES, LUZ          ADDRESS ON FILE
GONZALEZ TORRES, LUZ N        ADDRESS ON FILE
GONZALEZ TORRES, LYDIA        ADDRESS ON FILE
GONZALEZ TORRES, LYNETTE      ADDRESS ON FILE
GONZALEZ TORRES, MAGDA I.     ADDRESS ON FILE
GONZALEZ TORRES, MANUEL L     ADDRESS ON FILE
GONZALEZ TORRES, MANUEL O.    ADDRESS ON FILE
GONZALEZ TORRES, MARCELINO    ADDRESS ON FILE
GONZALEZ TORRES, MARCOS       ADDRESS ON FILE
GONZALEZ TORRES, MARELLY      ADDRESS ON FILE
GONZALEZ TORRES, MARGARITA    ADDRESS ON FILE
GONZALEZ TORRES, MARGARITA    ADDRESS ON FILE
GONZALEZ TORRES, MARI         ADDRESS ON FILE
GONZALEZ TORRES, MARIA        ADDRESS ON FILE
GONZALEZ TORRES, MARIA        ADDRESS ON FILE
GONZALEZ TORRES, MARIA        ADDRESS ON FILE
GONZALEZ TORRES, MARIA N      ADDRESS ON FILE
GONZALEZ TORRES, MARIA T      ADDRESS ON FILE
GONZALEZ TORRES, MARIAN       ADDRESS ON FILE
GONZALEZ TORRES, MARIANGELY   ADDRESS ON FILE
GONZALEZ TORRES, MARIBEL      ADDRESS ON FILE
GONZALEZ TORRES, MARIBEL      ADDRESS ON FILE




                                                                          Page 3438 of 10031
                              Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                 The Commonwealth of Puerto Rico
                                                                                                                         Desc:
                                              Exhibit A-1 - Creditor     Matrix
                                                                   Case No.              Page 3439 of 3500
                                                                            17 BK 3283‐LTS
                                                                           Creditor Matrix

Creditor Name                Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ TORRES, MARIBEL     ADDRESS ON FILE
GONZALEZ TORRES, MARIELA     ADDRESS ON FILE
GONZALEZ TORRES, MARIELA     ADDRESS ON FILE
GONZALEZ TORRES, MARIELIS    ADDRESS ON FILE
GONZALEZ TORRES, MARIO R.    ADDRESS ON FILE
GONZALEZ TORRES, MARISOL     ADDRESS ON FILE
GONZALEZ TORRES, MARITERE    ADDRESS ON FILE
GONZALEZ TORRES, MAYRA I.    ADDRESS ON FILE
GONZALEZ TORRES, MELANIE     ADDRESS ON FILE
GONZALEZ TORRES, MELBA I.    ADDRESS ON FILE
Gonzalez Torres, Michael     ADDRESS ON FILE
GONZALEZ TORRES, MIGUEL      ADDRESS ON FILE
GONZALEZ TORRES, MILAGROS    ADDRESS ON FILE
GONZALEZ TORRES, MIRCIENID   ADDRESS ON FILE
GONZALEZ TORRES, MIRIAM      ADDRESS ON FILE
GONZALEZ TORRES, MIRIAM      ADDRESS ON FILE
GONZALEZ TORRES, MIRIAM      ADDRESS ON FILE
GONZALEZ TORRES, MYRIAM      ADDRESS ON FILE
GONZALEZ TORRES, NAILA L     ADDRESS ON FILE
GONZALEZ TORRES, NANCY       ADDRESS ON FILE
GONZALEZ TORRES, NANCY       ADDRESS ON FILE
GONZALEZ TORRES, NARCISO     ADDRESS ON FILE
GONZALEZ TORRES, NATHANAEL   ADDRESS ON FILE
Gonzalez Torres, Neftali     ADDRESS ON FILE
Gonzalez Torres, Nelida      ADDRESS ON FILE
GONZALEZ TORRES, NELLY       ADDRESS ON FILE
GONZALEZ TORRES, NERY        ADDRESS ON FILE
GONZALEZ TORRES, NESTOR      ADDRESS ON FILE
GONZALEZ TORRES, NICOLAS     ADDRESS ON FILE
GONZALEZ TORRES, NILBIA      ADDRESS ON FILE
GONZALEZ TORRES, NILDA       ADDRESS ON FILE
GONZALEZ TORRES, NILDA       ADDRESS ON FILE
GONZALEZ TORRES, NILMARIE    ADDRESS ON FILE
GONZALEZ TORRES, NOEMI       ADDRESS ON FILE
GONZALEZ TORRES, NORMA       ADDRESS ON FILE
GONZALEZ TORRES, NORMA I     ADDRESS ON FILE
GONZALEZ TORRES, NORMA I     ADDRESS ON FILE
GONZALEZ TORRES, ORLANDO     ADDRESS ON FILE
GONZALEZ TORRES, ORLANDO     ADDRESS ON FILE
GONZALEZ TORRES, OSCAR       ADDRESS ON FILE
Gonzalez Torres, Osvaldo     ADDRESS ON FILE
GONZALEZ TORRES, PETRA       ADDRESS ON FILE
GONZALEZ TORRES, RAFAEL      ADDRESS ON FILE
GONZALEZ TORRES, RAMON A.    ADDRESS ON FILE
GONZALEZ TORRES, RAMON L     ADDRESS ON FILE
GONZALEZ TORRES, RAMONITA    ADDRESS ON FILE
GONZALEZ TORRES, RICARDO     ADDRESS ON FILE
GONZALEZ TORRES, ROBERTO     ADDRESS ON FILE
GONZALEZ TORRES, ROBERTO     ADDRESS ON FILE
GONZALEZ TORRES, ROBERTO     ADDRESS ON FILE
GONZALEZ TORRES, ROBERTO     ADDRESS ON FILE
GONZALEZ TORRES, ROBERTO     ADDRESS ON FILE
GONZALEZ TORRES, ROSA I      ADDRESS ON FILE
GONZALEZ TORRES, ROSA M      ADDRESS ON FILE
GONZALEZ TORRES, ROSARIO     ADDRESS ON FILE
GONZALEZ TORRES, ROSARITO    ADDRESS ON FILE
GONZALEZ TORRES, ROY Z       ADDRESS ON FILE
GONZALEZ TORRES, RUBEN       ADDRESS ON FILE
Gonzalez Torres, Ruben       ADDRESS ON FILE
Gonzalez Torres, Ruben       ADDRESS ON FILE




                                                                         Page 3439 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3440 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                   Creditor Matrix

Creditor Name                        Address1                  Address2                         Address3   Address4   City             State   PostalCode   Country
GONZALEZ TORRES, RUBEN               ADDRESS ON FILE
GONZALEZ TORRES, SADIE               ADDRESS ON FILE
GONZALEZ TORRES, SANTIAGO            ADDRESS ON FILE
GONZALEZ TORRES, SANTOS              ADDRESS ON FILE
GONZALEZ TORRES, SARA                ADDRESS ON FILE
GONZALEZ TORRES, SARA E              ADDRESS ON FILE
GONZALEZ TORRES, SARA I              ADDRESS ON FILE
GONZALEZ TORRES, SAUL                ADDRESS ON FILE
Gonzalez Torres, Sergio              ADDRESS ON FILE
GONZALEZ TORRES, SHEILA              ADDRESS ON FILE
GONZALEZ TORRES, SILVIA I            ADDRESS ON FILE
GONZALEZ TORRES, STEPHANIE           ADDRESS ON FILE
GONZALEZ TORRES, SYLVIA N            ADDRESS ON FILE
GONZALEZ TORRES, TAMARA              ADDRESS ON FILE
GONZALEZ TORRES, TANIA               ADDRESS ON FILE
GONZALEZ TORRES, THAIMY M            ADDRESS ON FILE
GONZALEZ TORRES, VICTOR              ADDRESS ON FILE
GONZALEZ TORRES, VICTOR              ADDRESS ON FILE
GONZALEZ TORRES, VIRGINIA            ADDRESS ON FILE
Gonzalez Torres, Walter              ADDRESS ON FILE
GONZALEZ TORRES, WANDA               ADDRESS ON FILE
GONZALEZ TORRES, WILFREDO            ADDRESS ON FILE
GONZALEZ TORRES, WILFREDO            ADDRESS ON FILE
Gonzalez Torres, Yahaira             ADDRESS ON FILE
GONZALEZ TORRES, YAMILETTE           ADDRESS ON FILE
GONZALEZ TORRES, YAMILKA J           ADDRESS ON FILE
GONZALEZ TORRES, YANIRA              ADDRESS ON FILE
GONZALEZ TORRES, YINERVA             ADDRESS ON FILE
GONZALEZ TORRES, YOLANDA             ADDRESS ON FILE
GONZALEZ TORRES, YOLANDA             ADDRESS ON FILE
GONZALEZ TORRES, YOLANDA             ADDRESS ON FILE
GONZALEZ TORRES, YOVANNA             ADDRESS ON FILE
GONZALEZ TORRES, ZAYDA J             ADDRESS ON FILE
GONZALEZ TORRES, ZULMA               ADDRESS ON FILE
GONZALEZ TORRICELLA, CHRISTINE       ADDRESS ON FILE
GONZALEZ TORRRES, JULIANNA           ADDRESS ON FILE
GONZALEZ TOSADO, DIANA               ADDRESS ON FILE
GONZALEZ TOSADO, DIANA I.            ADDRESS ON FILE
GONZALEZ TOSADO, HARRY               ADDRESS ON FILE
GONZALEZ TOUCET, JEANNETTE           ADDRESS ON FILE
GONZALEZ TOYENS, LIZ                 ADDRESS ON FILE
GONZALEZ TRABAL, MILAGROS            ADDRESS ON FILE
GONZALEZ TRADING / GT CORP           PO BOX 364884                                                                    SAN JUAN         PR      00936‐4884
GONZALEZ TRADING / GT CORP           PO BOX 70112                                                                     SAN JUAN         PR      00936‐8112
GONZALEZ TRANSPORTATION, INC.        PO BOX 18                                                                        QUEBRADILLAS     PR      00678
GONZALEZ TRAPAGA, VIRGINIA           ADDRESS ON FILE
GONZALEZ TRAVERSO, ANTHONY           ADDRESS ON FILE
GONZALEZ TRAVERSO, CARLOS            ADDRESS ON FILE
GONZALEZ TRAVERSO, LIZA              ADDRESS ON FILE
GONZALEZ TRAVERSO, ROSA I            ADDRESS ON FILE
GONZALEZ TRAVERSO, TERESA            ADDRESS ON FILE
GONZALEZ TRAVERSO, YOLANDA           ADDRESS ON FILE
GONZALEZ TRAVIESO, RYANE             ADDRESS ON FILE
GONZALEZ TRAVIESO, ZUGEILY GIZELLE   ADDRESS ON FILE
GONZALEZ TRELLES, MELISSA            ADDRESS ON FILE
GONZALEZ TRINIDAD, ANDRES            ADDRESS ON FILE
GONZALEZ TRINIDAD, MIGDALIA E        ADDRESS ON FILE
GONZALEZ TRINIDAD, NELLIE            ADDRESS ON FILE
GONZALEZ TRINIDAD, PABLO             ADDRESS ON FILE
GONZALEZ TRINIDAD, RAMON A.          ADDRESS ON FILE




                                                                                 Page 3440 of 10031
                                     Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                        The Commonwealth of Puerto Rico
                                                                                                                                                     Desc:
                                                     Exhibit A-1 - Creditor     Matrix
                                                                          Case No.              Page 3441 of 3500
                                                                                   17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                       Address1                        Address2                                  Address3            Address4   City      State   PostalCode   Country
GONZALEZ TRINIDAD, SUHAIL           ADDRESS ON FILE
GONZALEZ TRISTANI, ROBERTO          ADDRESS ON FILE
GONZALEZ TROCHE, ERICBAAN           ADDRESS ON FILE
GONZALEZ TROVERSO, ARACLYS          ADDRESS ON FILE
GONZALEZ TUBENS, MARISOL            ADDRESS ON FILE
GONZALEZ TUBENS, NANCY              ADDRESS ON FILE
GONZALEZ TURNER, ARLEEN             ADDRESS ON FILE
GONZALEZ UBINAS, ANA E              ADDRESS ON FILE
GONZALEZ URBANO, PERFE              ADDRESS ON FILE
GONZALEZ URBINA, MADELINE           ADDRESS ON FILE
GONZALEZ USUA, BENITA               ADDRESS ON FILE
GONZALEZ USUA, LUIS                 ADDRESS ON FILE
Gonzalez Vadi, Kelvin A             ADDRESS ON FILE
Gonzalez Vague, Omayra              ADDRESS ON FILE
GONZALEZ VALE, ADRIAN               ADDRESS ON FILE
Gonzalez Valencia, Ambar M.         ADDRESS ON FILE
GONZALEZ VALENCIA, LUIS             ADDRESS ON FILE
GONZALEZ VALENTIN, ABRAHAM          ADDRESS ON FILE
GONZALEZ VALENTIN, ADRIAN           ADDRESS ON FILE
Gonzalez Valentin, Alex J           ADDRESS ON FILE
GONZALEZ VALENTIN, ALEXIS           ADDRESS ON FILE
GONZALEZ VALENTIN, ANA N.           ADDRESS ON FILE
GONZALEZ VALENTIN, ANGEL            ADDRESS ON FILE
GONZALEZ VALENTIN, ARMINDO          ADDRESS ON FILE
GONZALEZ VALENTIN, ASHLEY M         ADDRESS ON FILE
GONZALEZ VALENTIN, BRENDA L         ADDRESS ON FILE
GONZALEZ VALENTIN, CARMEN S         ADDRESS ON FILE
GONZALEZ VALENTIN, EVELYN           ADDRESS ON FILE
Gonzalez Valentin, Fermin           ADDRESS ON FILE
GONZALEZ VALENTIN, GISELLE          ADDRESS ON FILE
GONZALEZ VALENTIN, GIULIANO         ADDRESS ON FILE
GONZALEZ VALENTIN, HERBERT          ADDRESS ON FILE
GONZALEZ VALENTIN, ISRAEL           ADDRESS ON FILE
GONZALEZ VALENTIN, JANNILIE K       ADDRESS ON FILE
GONZALEZ VALENTIN, JAVIER           ADDRESS ON FILE
GONZALEZ VALENTIN, JESCHELLY        ADDRESS ON FILE
GONZALEZ VALENTIN, JOSE             ADDRESS ON FILE
Gonzalez Valentin, Jose A           ADDRESS ON FILE
GONZALEZ VALENTIN, JOSUE            ADDRESS ON FILE
GONZALEZ VALENTIN, KENNETH          ADDRESS ON FILE
GONZALEZ VALENTIN, LETICIA          ADDRESS ON FILE
GONZALEZ VALENTIN, LETZANTH         ADDRESS ON FILE
GONZALEZ VALENTIN, LUCILA Y         ADDRESS ON FILE
GONZÁLEZ VALENTÍN, LUIS             LUIS DANIEL GONZÁLEZ VALENTÍN   INSTITUCIÓN MÁXIMA SEGURIDAD SECCIÓN A‐5 #4018 PO BOX 10786              Ponce     PR      00732
GONZALEZ VALENTIN, MANUEL           ADDRESS ON FILE
GONZALEZ VALENTIN, MARGARITA        ADDRESS ON FILE
GONZALEZ VALENTIN, MARIA            ADDRESS ON FILE
GONZALEZ VALENTIN, MARIA DE LOS A   ADDRESS ON FILE
GONZALEZ VALENTIN, MILDRED          ADDRESS ON FILE
GONZALEZ VALENTIN, MILDRED          ADDRESS ON FILE
GONZALEZ VALENTIN, NEREIDA          ADDRESS ON FILE
GONZALEZ VALENTIN, NESTOR           ADDRESS ON FILE
GONZALEZ VALENTIN, NESTOR J.        ADDRESS ON FILE
GONZALEZ VALENTIN, QUENILIA         ADDRESS ON FILE
GONZALEZ VALENTIN, QUENILIA         ADDRESS ON FILE
GONZALEZ VALENTIN, RAMONA A.        ADDRESS ON FILE
GONZALEZ VALENTIN, RICHARD          ADDRESS ON FILE
GONZALEZ VALENTIN, SONIA N          ADDRESS ON FILE
GONZALEZ VALETIN, MARIA DEL C       ADDRESS ON FILE
GONZALEZ VALLE, ALEXANDER           ADDRESS ON FILE




                                                                                               Page 3441 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3442 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VALLE, ALMICAR           ADDRESS ON FILE
GONZALEZ VALLE, ARIEL             ADDRESS ON FILE
GONZALEZ VALLE, AWILDA            ADDRESS ON FILE
GONZALEZ VALLE, CARLOS            ADDRESS ON FILE
GONZALEZ VALLE, EMILIANO          ADDRESS ON FILE
GONZALEZ VALLE, JENNIFFER         ADDRESS ON FILE
GONZALEZ VALLE, KATHYA            ADDRESS ON FILE
GONZALEZ VALLE, MARIA I           ADDRESS ON FILE
GONZALEZ VALLE, MARIBEL           ADDRESS ON FILE
GONZALEZ VALLE, MARIBEL           ADDRESS ON FILE
GONZALEZ VALLE, NESTOR            ADDRESS ON FILE
GONZALEZ VALLE, NILDA             ADDRESS ON FILE
GONZALEZ VALLE, NILSA A           ADDRESS ON FILE
GONZALEZ VALLE, RUDETH            ADDRESS ON FILE
GONZALEZ VALLE, YOLIMARY          ADDRESS ON FILE
GONZALEZ VALLES, FANNY            ADDRESS ON FILE
GONZALEZ VALLES, GLADYS           ADDRESS ON FILE
GONZALEZ VALLES, GLADYS O         ADDRESS ON FILE
GONZALEZ VALVERDI, EMMANUEL       ADDRESS ON FILE
GONZALEZ VANDERDYS, JUAN          ADDRESS ON FILE
GONZALEZ VARELA, CARLOS           ADDRESS ON FILE
GONZALEZ VARGAS, AGUSTIN L.       ADDRESS ON FILE
Gonzalez Vargas, Alberto          ADDRESS ON FILE
GONZALEZ VARGAS, CARMEN           ADDRESS ON FILE
GONZALEZ VARGAS, DAMARIS          ADDRESS ON FILE
GONZALEZ VARGAS, DANIEL           ADDRESS ON FILE
GONZALEZ VARGAS, EDDIE            ADDRESS ON FILE
GONZALEZ VARGAS, EDDIE            ADDRESS ON FILE
GONZALEZ VARGAS, FELIX            ADDRESS ON FILE
GONZALEZ VARGAS, GLADYS           ADDRESS ON FILE
GONZALEZ VARGAS, ISMAEL           ADDRESS ON FILE
GONZALEZ VARGAS, JAIME            ADDRESS ON FILE
Gonzalez Vargas, Jaime L          ADDRESS ON FILE
GONZALEZ VARGAS, JANETTE          ADDRESS ON FILE
GONZALEZ VARGAS, JAVIER           ADDRESS ON FILE
GONZALEZ VARGAS, JENNY            ADDRESS ON FILE
GONZALEZ VARGAS, JOEL             ADDRESS ON FILE
GONZALEZ VARGAS, JOEL             ADDRESS ON FILE
GONZALEZ VARGAS, JUAN             ADDRESS ON FILE
GONZALEZ VARGAS, JUAN             ADDRESS ON FILE
Gonzalez Vargas, Kevin            ADDRESS ON FILE
GONZALEZ VARGAS, LINETTE          ADDRESS ON FILE
GONZALEZ VARGAS, LISSETTE         ADDRESS ON FILE
GONZALEZ VARGAS, LOURDES R        ADDRESS ON FILE
GONZALEZ VARGAS, LUIS E           ADDRESS ON FILE
GONZALEZ VARGAS, MAGDALENA        ADDRESS ON FILE
GONZALEZ VARGAS, MARGARITA        ADDRESS ON FILE
GONZALEZ VARGAS, MARGARITA        ADDRESS ON FILE
GONZALEZ VARGAS, MARIA DE LOS A   ADDRESS ON FILE
Gonzalez Vargas, Maritza          ADDRESS ON FILE
GONZALEZ VARGAS, MARITZA          ADDRESS ON FILE
GONZALEZ VARGAS, MARITZA R        ADDRESS ON FILE
GONZALEZ VARGAS, MAYRA C.         ADDRESS ON FILE
GONZALEZ VARGAS, MIGDALIA         ADDRESS ON FILE
GONZALEZ VARGAS, MIRIAM           ADDRESS ON FILE
GONZALEZ VARGAS, MONSERRATE       ADDRESS ON FILE
GONZALEZ VARGAS, NELLY            ADDRESS ON FILE
GONZALEZ VARGAS, OMAR             ADDRESS ON FILE
GONZALEZ VARGAS, RAMON E          ADDRESS ON FILE
GONZALEZ VARGAS, SYLVIA L.        ADDRESS ON FILE




                                                                              Page 3442 of 10031
                                      Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                         The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                      Exhibit A-1 - Creditor     Matrix
                                                                           Case No.              Page 3443 of 3500
                                                                                    17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                        Address1                  Address2                                  Address3   Address4   City       State   PostalCode   Country
GONZALEZ VARGAS, TROADIO             ADDRESS ON FILE
GONZALEZ VARGAS, TROADIO             ADDRESS ON FILE
GONZALEZ VARGAS, VICENTE             ADDRESS ON FILE
GONZALEZ VARGAS, VIRGINIA            ADDRESS ON FILE
GONZALEZ VARGAS, WANDA               ADDRESS ON FILE
GONZALEZ VARGAS, WILSON              ADDRESS ON FILE
GONZALEZ VARGAS, WILSON D            ADDRESS ON FILE
GONZALEZ VARGAS, WIZELLYS            ADDRESS ON FILE
GONZALEZ VARGAS, YANAIRA             ADDRESS ON FILE
GONZALEZ VARGAS, ZAYMARA             ADDRESS ON FILE
GONZALEZ VAZQUEZ MD, ORLANDO         ADDRESS ON FILE
GONZALEZ VAZQUEZ MEDICAL GROUP CSP   THE UPS STORE             200 AVE RAFAEL CORDERO STE 140 PMB 455                          CAGUAS     PR      00725
GONZALEZ VAZQUEZ, AIDA               ADDRESS ON FILE
GONZALEZ VAZQUEZ, ALEX               ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANA                ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANA L              ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANGEL              ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANGELA             ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANGELA             ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANGELA N           ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANGELICA           ADDRESS ON FILE
GONZALEZ VAZQUEZ, ANTONIO            ADDRESS ON FILE
GONZALEZ VAZQUEZ, ARLEEN             ADDRESS ON FILE
GONZALEZ VAZQUEZ, AUREA              ADDRESS ON FILE
GONZALEZ VAZQUEZ, BENITO             ADDRESS ON FILE
GONZALEZ VAZQUEZ, BLANCA M.          ADDRESS ON FILE
GONZALEZ VAZQUEZ, BRUNILDA           ADDRESS ON FILE
GONZALEZ VAZQUEZ, BRUNILDA           ADDRESS ON FILE
GONZALEZ VAZQUEZ, BRUNILDA           ADDRESS ON FILE
GONZALEZ VAZQUEZ, CARLOS             ADDRESS ON FILE
GONZALEZ VAZQUEZ, CARLOS             ADDRESS ON FILE
GONZALEZ VAZQUEZ, CARMEN L           ADDRESS ON FILE
GONZALEZ VAZQUEZ, CARMEN M           ADDRESS ON FILE
GONZALEZ VAZQUEZ, CARMEN M           ADDRESS ON FILE
GONZALEZ VAZQUEZ, CARMEN S           ADDRESS ON FILE
GONZALEZ VAZQUEZ, DANIEL             ADDRESS ON FILE
GONZALEZ VAZQUEZ, DELIA D            ADDRESS ON FILE
GONZALEZ VAZQUEZ, DENICE             ADDRESS ON FILE
GONZALEZ VAZQUEZ, DENISSE            ADDRESS ON FILE
GONZALEZ VAZQUEZ, DIANA              ADDRESS ON FILE
GONZALEZ VAZQUEZ, EDELMIRO           ADDRESS ON FILE
GONZALEZ VAZQUEZ, EDGAR              ADDRESS ON FILE
GONZALEZ VAZQUEZ, EDWIN              ADDRESS ON FILE
GONZALEZ VAZQUEZ, EFRAIN             ADDRESS ON FILE
GONZALEZ VAZQUEZ, EFRAIN             ADDRESS ON FILE
GONZALEZ VAZQUEZ, ELIZABETH          ADDRESS ON FILE
GONZALEZ VAZQUEZ, ELIZABETH          ADDRESS ON FILE
GONZALEZ VAZQUEZ, ELSITA             ADDRESS ON FILE
GONZALEZ VAZQUEZ, ELVIRA             ADDRESS ON FILE
GONZALEZ VAZQUEZ, ENRIQUE            ADDRESS ON FILE
Gonzalez Vazquez, Enuel              ADDRESS ON FILE
GONZALEZ VAZQUEZ, ERIKA              ADDRESS ON FILE
GONZALEZ VAZQUEZ, ESTHER D           ADDRESS ON FILE
GONZALEZ VAZQUEZ, ESTRELLA           ADDRESS ON FILE
GONZALEZ VAZQUEZ, FELIX              ADDRESS ON FILE
GONZALEZ VAZQUEZ, GLORIA I           ADDRESS ON FILE
GONZALEZ VAZQUEZ, GUILLERMINA        ADDRESS ON FILE
Gonzalez Vazquez, Harvey L           ADDRESS ON FILE
GONZALEZ VAZQUEZ, HECTOR             ADDRESS ON FILE
GONZALEZ VAZQUEZ, HECTOR             ADDRESS ON FILE




                                                                                          Page 3443 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3444 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VAZQUEZ, HECTOR         ADDRESS ON FILE
GONZALEZ VAZQUEZ, HECTOR         ADDRESS ON FILE
GONZALEZ VAZQUEZ, HECTOR A.      ADDRESS ON FILE
GONZALEZ VAZQUEZ, HOMAR          ADDRESS ON FILE
GONZALEZ VAZQUEZ, IDALISE        ADDRESS ON FILE
GONZALEZ VAZQUEZ, IRIS G         ADDRESS ON FILE
GONZALEZ VAZQUEZ, ISABEL         ADDRESS ON FILE
GONZALEZ VAZQUEZ, ISAURAMARIA    ADDRESS ON FILE
GONZALEZ VAZQUEZ, JANISSE        ADDRESS ON FILE
Gonzalez Vazquez, Jannette       ADDRESS ON FILE
GONZALEZ VAZQUEZ, JEANETTE       ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOHNNY         ADDRESS ON FILE
GONZALEZ VAZQUEZ, JORGE L        ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOSE           ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOSE           ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOSE           ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOSE A         ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOSE L.        ADDRESS ON FILE
Gonzalez Vazquez, Jose M         ADDRESS ON FILE
GONZALEZ VAZQUEZ, JOSE M         ADDRESS ON FILE
GONZALEZ VAZQUEZ, JUAN           ADDRESS ON FILE
GONZALEZ VAZQUEZ, JUAN           ADDRESS ON FILE
Gonzalez Vazquez, Juan D         ADDRESS ON FILE
GONZALEZ VAZQUEZ, JUANA          ADDRESS ON FILE
GONZALEZ VAZQUEZ, JUANITA        ADDRESS ON FILE
GONZALEZ VAZQUEZ, LAURA          ADDRESS ON FILE
GONZALEZ VAZQUEZ, LAURA          ADDRESS ON FILE
GONZALEZ VAZQUEZ, LAURA          ADDRESS ON FILE
GONZALEZ VAZQUEZ, LEIDA          ADDRESS ON FILE
GONZALEZ VAZQUEZ, LESLIE A       ADDRESS ON FILE
GONZALEZ VAZQUEZ, LIDUVINA       ADDRESS ON FILE
GONZALEZ VAZQUEZ, LILLY Y        ADDRESS ON FILE
GONZALEZ VAZQUEZ, LISA           ADDRESS ON FILE
GONZALEZ VAZQUEZ, LORENZO        ADDRESS ON FILE
GONZALEZ VAZQUEZ, LOURDES A      ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUIS           ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUIS           ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUIS           ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUIS           ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUZ A          ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUZ A          ADDRESS ON FILE
GONZALEZ VAZQUEZ, LUZ I          ADDRESS ON FILE
GONZALEZ VAZQUEZ, MADELINE       ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARCELINO      ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARCOS         ADDRESS ON FILE
Gonzalez Vazquez, Marcos A.      ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARIA DEL C    ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARIA E        ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARIA JAZMIN   ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARIANO        ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARIELA        ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARIELY        ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARISEL        ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARLENE        ADDRESS ON FILE
GONZALEZ VAZQUEZ, MARLYN         ADDRESS ON FILE
GONZALEZ VAZQUEZ, MICHAEL A      ADDRESS ON FILE
GONZALEZ VAZQUEZ, MIGDALIA       ADDRESS ON FILE
GONZALEZ VAZQUEZ, MIGUEL A       ADDRESS ON FILE
GONZALEZ VAZQUEZ, MILTHOLADY     ADDRESS ON FILE
GONZALEZ VAZQUEZ, MOISES         ADDRESS ON FILE




                                                                             Page 3444 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3445 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VAZQUEZ, MYRNA         ADDRESS ON FILE
GONZALEZ VAZQUEZ, NATACHA       ADDRESS ON FILE
GONZALEZ VAZQUEZ, NATHANIEL     ADDRESS ON FILE
GONZALEZ VAZQUEZ, NELSON        ADDRESS ON FILE
GONZALEZ VAZQUEZ, NELSON J.     ADDRESS ON FILE
GONZALEZ VAZQUEZ, NILSA         ADDRESS ON FILE
Gonzalez Vazquez, Norma I       ADDRESS ON FILE
GONZALEZ VAZQUEZ, OLGA          ADDRESS ON FILE
GONZALEZ VAZQUEZ, OSCAR         ADDRESS ON FILE
GONZALEZ VAZQUEZ, PABLO         ADDRESS ON FILE
GONZALEZ VAZQUEZ, PEDRO         ADDRESS ON FILE
GONZALEZ VAZQUEZ, PEDRO L       ADDRESS ON FILE
GONZALEZ VAZQUEZ, REBECA M.     ADDRESS ON FILE
GONZALEZ VAZQUEZ, REBECCA       ADDRESS ON FILE
GONZALEZ VAZQUEZ, ROLANDO       ADDRESS ON FILE
GONZALEZ VAZQUEZ, ROLANDO       ADDRESS ON FILE
GONZALEZ VAZQUEZ, RUBEN         ADDRESS ON FILE
GONZALEZ VAZQUEZ, SONIA NOEMI   ADDRESS ON FILE
GONZALEZ VAZQUEZ, SUSANA        ADDRESS ON FILE
Gonzalez Vazquez, Vanessa       ADDRESS ON FILE
GONZALEZ VAZQUEZ, VANESSA       ADDRESS ON FILE
GONZALEZ VAZQUEZ, WANDA         ADDRESS ON FILE
GONZALEZ VAZQUEZ, WANDA         ADDRESS ON FILE
GONZALEZ VAZQUEZ, WILLIAM       ADDRESS ON FILE
GONZALEZ VAZQUEZ, YARAH         ADDRESS ON FILE
GONZALEZ VAZQUEZ, YOLANDA       ADDRESS ON FILE
GONZALEZ VAZQUEZ, ZACHARY       ADDRESS ON FILE
GONZALEZ VAZQUEZ, ZENAIDA       ADDRESS ON FILE
GONZALEZ VAZQUEZ,OLGA I.        ADDRESS ON FILE
GONZALEZ VECCHIOLI, LAZARO F.   ADDRESS ON FILE
GONZALEZ VEGA INC               PO BOX 1275                                                                      AGUADA       PR      00602
GONZALEZ VEGA, ADA              ADDRESS ON FILE
GONZALEZ VEGA, ADALBERTO        ADDRESS ON FILE
GONZALEZ VEGA, ADALBERTO        ADDRESS ON FILE
GONZALEZ VEGA, AIDA             ADDRESS ON FILE
GONZALEZ VEGA, AIDA             ADDRESS ON FILE
GONZALEZ VEGA, ALEJA            ADDRESS ON FILE
GONZALEZ VEGA, ALFREDO          ADDRESS ON FILE
GONZALEZ VEGA, ANA M.           ADDRESS ON FILE
GONZALEZ VEGA, ANGEL L          ADDRESS ON FILE
GONZALEZ VEGA, AXIMARIE         ADDRESS ON FILE
Gonzalez Vega, Brenda           ADDRESS ON FILE
GONZALEZ VEGA, CARLOS           ADDRESS ON FILE
Gonzalez Vega, Carlos J.        ADDRESS ON FILE
GONZALEZ VEGA, CARMEN G         ADDRESS ON FILE
GONZALEZ VEGA, CAROLL Y         ADDRESS ON FILE
GONZALEZ VEGA, CHERYL           ADDRESS ON FILE
GONZALEZ VEGA, CRISTINA A       ADDRESS ON FILE
GONZALEZ VEGA, CRUZ G           ADDRESS ON FILE
GONZALEZ VEGA, DABIR            ADDRESS ON FILE
GONZALEZ VEGA, DESHA            ADDRESS ON FILE
GONZALEZ VEGA, EDGAR A          ADDRESS ON FILE
GONZALEZ VEGA, EDGAR L.         ADDRESS ON FILE
GONZALEZ VEGA, ENEIDA           ADDRESS ON FILE
GONZALEZ VEGA, ENRIQUE          ADDRESS ON FILE
GONZALEZ VEGA, ERIC J.          ADDRESS ON FILE
GONZALEZ VEGA, FERNANDO         ADDRESS ON FILE
GONZALEZ VEGA, FERNANDO         ADDRESS ON FILE
GONZALEZ VEGA, GLADYS           ADDRESS ON FILE
GONZALEZ VEGA, GRISEIDA         ADDRESS ON FILE




                                                                            Page 3445 of 10031
                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                               The Commonwealth of Puerto Rico
                                                                                                                       Desc:
                                            Exhibit A-1 - Creditor     Matrix
                                                                 Case No.              Page 3446 of 3500
                                                                          17 BK 3283‐LTS
                                                                         Creditor Matrix

Creditor Name              Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VEGA, HAYDEE      ADDRESS ON FILE
GONZALEZ VEGA, HECTOR      ADDRESS ON FILE
GONZALEZ VEGA, HENRY       ADDRESS ON FILE
GONZALEZ VEGA, HENRY M     ADDRESS ON FILE
Gonzalez Vega, Ilene       ADDRESS ON FILE
GONZALEZ VEGA, JAVIER      ADDRESS ON FILE
GONZALEZ VEGA, JAVIER O    ADDRESS ON FILE
GONZALEZ VEGA, JAYSON      ADDRESS ON FILE
GONZALEZ VEGA, JEANNETTE   ADDRESS ON FILE
Gonzalez Vega, Jeffrey R   ADDRESS ON FILE
GONZALEZ VEGA, JOEL        ADDRESS ON FILE
GONZALEZ VEGA, JOEL        ADDRESS ON FILE
GONZALEZ VEGA, JOEL O.     ADDRESS ON FILE
Gonzalez Vega, Jose M      ADDRESS ON FILE
GONZALEZ VEGA, JUAN        ADDRESS ON FILE
GONZALEZ VEGA, JUAN        ADDRESS ON FILE
GONZALEZ VEGA, JUAN        ADDRESS ON FILE
GONZALEZ VEGA, JUAN G.     ADDRESS ON FILE
GONZALEZ VEGA, KAYLENE     ADDRESS ON FILE
GONZALEZ VEGA, LIBBY       ADDRESS ON FILE
GONZALEZ VEGA, LUIS        ADDRESS ON FILE
GONZALEZ VEGA, LUIS A.     ADDRESS ON FILE
GONZALEZ VEGA, LUIS J.     ADDRESS ON FILE
GONZALEZ VEGA, LUIS O      ADDRESS ON FILE
GONZALEZ VEGA, MAGDA L     ADDRESS ON FILE
GONZALEZ VEGA, MARGARITA   ADDRESS ON FILE
GONZALEZ VEGA, MARIA E.    ADDRESS ON FILE
GONZALEZ VEGA, MARIA I     ADDRESS ON FILE
GONZALEZ VEGA, MARILYN     ADDRESS ON FILE
GONZALEZ VEGA, MICHAEL A   ADDRESS ON FILE
GONZALEZ VEGA, MIGDALIA    ADDRESS ON FILE
GONZALEZ VEGA, MIGUEL A    ADDRESS ON FILE
GONZALEZ VEGA, MIRIAM      ADDRESS ON FILE
GONZALEZ VEGA, NAYDA       ADDRESS ON FILE
GONZALEZ VEGA, NAYDA L.    ADDRESS ON FILE
GONZALEZ VEGA, NELSON      ADDRESS ON FILE
GONZALEZ VEGA, NELSON      ADDRESS ON FILE
GONZALEZ VEGA, NORMA I     ADDRESS ON FILE
GONZALEZ VEGA, NORMA I.    ADDRESS ON FILE
GONZALEZ VEGA, NORMA I.    ADDRESS ON FILE
GONZALEZ VEGA, PEDRO       ADDRESS ON FILE
GONZALEZ VEGA, RADAMES     ADDRESS ON FILE
GONZALEZ VEGA, RAFAEL      ADDRESS ON FILE
GONZALEZ VEGA, RAFAEL      ADDRESS ON FILE
GONZALEZ VEGA, RAMON       ADDRESS ON FILE
GONZALEZ VEGA, RICHARD     ADDRESS ON FILE
GONZALEZ VEGA, RICHARD     ADDRESS ON FILE
GONZALEZ VEGA, RICHARD     ADDRESS ON FILE
GONZALEZ VEGA, ROBERTO     ADDRESS ON FILE
GONZALEZ VEGA, ROSAURA     ADDRESS ON FILE
GONZALEZ VEGA, TAMARA      ADDRESS ON FILE
GONZALEZ VEGA, VANESSA     ADDRESS ON FILE
GONZALEZ VEGA, VICKY       ADDRESS ON FILE
GONZALEZ VEGA, VICKY       ADDRESS ON FILE
GONZALEZ VEGA, VICTOR      ADDRESS ON FILE
GONZALEZ VEGA, YIMARIE     ADDRESS ON FILE
GONZALEZ VEGA, YOLANDA     ADDRESS ON FILE
GONZALEZ VEGA, ZENAIDA     ADDRESS ON FILE
GONZALEZ VEGA, ZUANIA      ADDRESS ON FILE
GONZALEZ VEGA,MINERVA      ADDRESS ON FILE




                                                                       Page 3446 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3447 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VELASCO, CONSTANZA        ADDRESS ON FILE
GONZALEZ VELAZCO, ANTONIA          ADDRESS ON FILE
GONZALEZ VELAZQUE, CARLOS E        ADDRESS ON FILE
Gonzalez Velazque, Dianne M        ADDRESS ON FILE
Gonzalez Velazque, Dionisio        ADDRESS ON FILE
Gonzalez Velazque, Javier A        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ADNERIS        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ALEXANDER      ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ALEXIS         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ALICIA         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ARIS D         ADDRESS ON FILE
Gonzalez Velazquez, Aurelio        ADDRESS ON FILE
Gonzalez Velazquez, Carlos         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, CARLOS         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, CARMEN R.      ADDRESS ON FILE
GONZALEZ VELAZQUEZ, DARCY          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, DIOMEDES       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, EDGAR          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, EILEEN M       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ELBA           ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ELI J          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ELIZABETH      ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ELVIRA         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ELVIRA         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, EVELYN J       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, FERNANDO       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, GARY           ADDRESS ON FILE
GONZALEZ VELAZQUEZ, HERMENEGILDO   ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JAZMIN         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOANISABEL     ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOHANNIE       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOMARY         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOSE           ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOSE A         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOSE L         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOSE R         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JOSEPH         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JUAN           ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JUAN A         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JUAN A         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, JUDITH         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, LAURA M.       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, LIZBETH        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, LUIS MANUEL    ADDRESS ON FILE
GONZALEZ VELAZQUEZ, LYZBETH        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, MAGALY         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, MAGALY         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, MARIA E        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, MARIE C.       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, MARTA ELENA    ADDRESS ON FILE
GONZALEZ VELAZQUEZ, MAYRA          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, NYDIA          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, PERRY          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, RAMON          ADDRESS ON FILE
GONZALEZ VELAZQUEZ, RAQUEL         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, RAQUEL         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, REBECCA        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ROSA E         ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ROSSANA        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, SAMUEL         ADDRESS ON FILE




                                                                               Page 3447 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3448 of 3500
                                                                               17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                   Address1                  Address2                                 Address3            Address4   City         State   PostalCode   Country
GONZALEZ VELAZQUEZ, SARA        ADDRESS ON FILE
GONZALEZ VELAZQUEZ, SONIA I     ADDRESS ON FILE
GONZALEZ VELAZQUEZ, VANNESSA    ADDRESS ON FILE
Gonzalez Velazquez, Victor A.   ADDRESS ON FILE
GONZALEZ VELAZQUEZ, WANDA       ADDRESS ON FILE
GONZALEZ VELAZQUEZ, WANDA I     ADDRESS ON FILE
GONZALEZ VELAZQUEZ, ZULMA I     ADDRESS ON FILE
GONZALEZ VELAZQUEZ,KARL         ADDRESS ON FILE
GONZALEZ VELEZ LAW OFFICE PSC   ACUARELA 17 SUITE 4       MARGINAL MARTINEZ NADAL                                                 GUAYNABO     PR      00969
GONZALEZ VELEZ LAW OFFICE PSC   PMB 131                   LA CUMBRE                                273 SIERRA MORENA              SAN JUAN     PR      00926
GONZALEZ VELEZ, ABDEL           ADDRESS ON FILE
GONZALEZ VELEZ, ABDEL A.        ADDRESS ON FILE
GONZALEZ VELEZ, ABIEZER         ADDRESS ON FILE
GONZALEZ VELEZ, ADELINO         ADDRESS ON FILE
GONZALEZ VELEZ, AGENOL          ADDRESS ON FILE
GONZALEZ VELEZ, ALBERTO         ADDRESS ON FILE
GONZALEZ VELEZ, ALMA            ADDRESS ON FILE
GONZALEZ VELEZ, ANA             ADDRESS ON FILE
GONZALEZ VELEZ, ANGEL           ADDRESS ON FILE
GONZALEZ VELEZ, ANTONIO         ADDRESS ON FILE
GONZALEZ VELEZ, ARCELIO         ADDRESS ON FILE
GONZALEZ VELEZ, AWILDA          ADDRESS ON FILE
GONZALEZ VELEZ, BERBELYZE       ADDRESS ON FILE
Gonzalez Velez, Bernie D        ADDRESS ON FILE
GONZALEZ VELEZ, BIMARY          ADDRESS ON FILE
GONZALEZ VELEZ, BIZMAR E        ADDRESS ON FILE
GONZALEZ VELEZ, CARLOS          ADDRESS ON FILE
GONZALEZ VELEZ, CARMEN          ADDRESS ON FILE
GONZALEZ VELEZ, CARMEN L        ADDRESS ON FILE
GONZALEZ VELEZ, CIELITO         ADDRESS ON FILE
GONZALEZ VELEZ, CLARIBEL        ADDRESS ON FILE
GONZALEZ VELEZ, CRUZ I          ADDRESS ON FILE
GONZALEZ VELEZ, DIANA I.        ADDRESS ON FILE
GONZALEZ VELEZ, EDDIE           ADDRESS ON FILE
GONZALEZ VELEZ, EDGARDO         ADDRESS ON FILE
GONZALEZ VELEZ, EDWIN           ADDRESS ON FILE
GONZALEZ VELEZ, ELIEZER         ADDRESS ON FILE
GONZALEZ VELEZ, ELIUT           ADDRESS ON FILE
GONZALEZ VELEZ, ELIZER          ADDRESS ON FILE
GONZALEZ VELEZ, ENELIDA         ADDRESS ON FILE
GONZALEZ VELEZ, ENOCH           ADDRESS ON FILE
GONZALEZ VELEZ, EROILDA         ADDRESS ON FILE
GONZALEZ VELEZ, ESTRELLA        ADDRESS ON FILE
GONZALEZ VELEZ, FANNY I         ADDRESS ON FILE
GONZALEZ VELEZ, HECTOR          ADDRESS ON FILE
GONZALEZ VELEZ, HECTOR          ADDRESS ON FILE
Gonzalez Velez, Hector A        ADDRESS ON FILE
GONZALEZ VELEZ, HECTOR M        ADDRESS ON FILE
GONZALEZ VELEZ, HERMAS          ADDRESS ON FILE
GONZALEZ VELEZ, HILDA E         ADDRESS ON FILE
GONZALEZ VELEZ, INA M           ADDRESS ON FILE
GONZALEZ VELEZ, IRIS D          ADDRESS ON FILE
Gonzalez Velez, Irving          ADDRESS ON FILE
GONZALEZ VELEZ, JIM E           ADDRESS ON FILE
GONZALEZ VELEZ, JOSE            ADDRESS ON FILE
GONZALEZ VELEZ, JOSE            ADDRESS ON FILE
GONZALEZ VELEZ, JOSE            ADDRESS ON FILE
GONZALEZ VELEZ, JOSE            ADDRESS ON FILE
GONZALEZ VELEZ, JOSE A.         ADDRESS ON FILE
GONZALEZ VELEZ, JOSE B          ADDRESS ON FILE




                                                                                    Page 3448 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3449 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VELEZ, JOSE R          ADDRESS ON FILE
GONZALEZ VELEZ, JOSUE           ADDRESS ON FILE
GONZALEZ VELEZ, KAREN D         ADDRESS ON FILE
GONZALEZ VELEZ, LINDA I.        ADDRESS ON FILE
GONZALEZ VELEZ, LUIS            ADDRESS ON FILE
GONZALEZ VELEZ, LYDIA           ADDRESS ON FILE
GONZALEZ VELEZ, MABEL E         ADDRESS ON FILE
GONZALEZ VELEZ, MANUEL          ADDRESS ON FILE
GONZALEZ VELEZ, MARIA           ADDRESS ON FILE
GONZALEZ VELEZ, MARIBEL         ADDRESS ON FILE
GONZALEZ VELEZ, MARILDA L       ADDRESS ON FILE
Gonzalez Velez, Marizol         ADDRESS ON FILE
GONZALEZ VELEZ, MELVIN          ADDRESS ON FILE
GONZALEZ VELEZ, MERCEDES M.     ADDRESS ON FILE
GONZALEZ VELEZ, NANETTE         ADDRESS ON FILE
GONZALEZ VELEZ, NATHANIEL       ADDRESS ON FILE
GONZALEZ VELEZ, NEYSA           ADDRESS ON FILE
GONZALEZ VELEZ, NORBERTO        ADDRESS ON FILE
Gonzalez Velez, Norberto        ADDRESS ON FILE
GONZALEZ VELEZ, NORYS A         ADDRESS ON FILE
GONZALEZ VELEZ, OMAR            ADDRESS ON FILE
GONZALEZ VELEZ, ORLANDO         ADDRESS ON FILE
GONZALEZ VELEZ, OSVALDO         ADDRESS ON FILE
GONZALEZ VELEZ, ROBERTO         ADDRESS ON FILE
GONZALEZ VELEZ, ROSAURA         ADDRESS ON FILE
GONZALEZ VELEZ, ROSAURA         ADDRESS ON FILE
GONZALEZ VELEZ, RUBEN O         ADDRESS ON FILE
GONZALEZ VELEZ, SANDRA E        ADDRESS ON FILE
GONZALEZ VELEZ, SANDRA I        ADDRESS ON FILE
GONZALEZ VELEZ, SONIA E         ADDRESS ON FILE
GONZALEZ VELEZ, TZAOMMY         ADDRESS ON FILE
GONZALEZ VELEZ, VIRGINIA        ADDRESS ON FILE
GONZALEZ VELEZ, VIVIAN          ADDRESS ON FILE
Gonzalez Velez, Wanda I         ADDRESS ON FILE
GONZALEZ VELEZ, WILMER          ADDRESS ON FILE
GONZALEZ VELEZ, WILMER          ADDRESS ON FILE
GONZALEZ VELEZ, YADIEL          ADDRESS ON FILE
Gonzalez Velez, Yadira Del R.   ADDRESS ON FILE
GONZALEZ VELEZ, YANIXA          ADDRESS ON FILE
GONZALEZ VELEZ, YASSMIN         ADDRESS ON FILE
GONZALEZ VELEZ, YICELLA         ADDRESS ON FILE
GONZALEZ VELEZ, YOLANDA         ADDRESS ON FILE
GONZALEZ VELEZ, ZULEYKA         ADDRESS ON FILE
GONZALEZ VELEZ,CHRISTIAN        ADDRESS ON FILE
GONZALEZ VELILLA, ODETTE        ADDRESS ON FILE
GONZALEZ VELILLA, SARA          ADDRESS ON FILE
GONZALEZ VELLON, ERMELINDA      ADDRESS ON FILE
GONZALEZ VELLON, LIZ R.         ADDRESS ON FILE
GONZALEZ VELLON, MIGDALIA S     ADDRESS ON FILE
GONZALEZ VELLON, SANTOS         ADDRESS ON FILE
Gonzalez Ventura, Gustavo       ADDRESS ON FILE
GONZALEZ VERA, BRUNILDA         ADDRESS ON FILE
GONZALEZ VERA, CARMEN A         ADDRESS ON FILE
Gonzalez Vera, Edwin R.         ADDRESS ON FILE
GONZALEZ VERA, ELVIN            ADDRESS ON FILE
GONZALEZ VERA, HECTOR M         ADDRESS ON FILE
Gonzalez Vera, Jose A.          ADDRESS ON FILE
GONZALEZ VERA, LUIS             ADDRESS ON FILE
GONZALEZ VERA, MARIBEL          ADDRESS ON FILE
GONZALEZ VERA, MIGDALIA         ADDRESS ON FILE




                                                                            Page 3449 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3450 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ VERA, YARELIZ            ADDRESS ON FILE
GONZALEZ VERA, YARITZA            ADDRESS ON FILE
GONZALEZ VERA, YARITZA            ADDRESS ON FILE
GONZALEZ VERA, ZENAIDA            ADDRESS ON FILE
GONZALEZ VERGARA, ANGEL           ADDRESS ON FILE
GONZALEZ VIADE, ANGEL             ADDRESS ON FILE
GONZALEZ VIDAL, GECENIA           ADDRESS ON FILE
GONZALEZ VIERA MD, LILYBETH       ADDRESS ON FILE
GONZALEZ VIERA, ANACELYS          ADDRESS ON FILE
GONZALEZ VIERA, GUILLERMO J       ADDRESS ON FILE
GONZALEZ VIERA, JOSE E            ADDRESS ON FILE
GONZALEZ VIERA, KARLA             ADDRESS ON FILE
GONZALEZ VIERA, KARLA M           ADDRESS ON FILE
GONZALEZ VIERA, LILYBETH          ADDRESS ON FILE
GONZALEZ VIERA, LUIS              ADDRESS ON FILE
GONZALEZ VIERA, MARITZA           ADDRESS ON FILE
Gonzalez Viera, Rafael            ADDRESS ON FILE
GONZALEZ VIERA, WANDA I           ADDRESS ON FILE
GONZALEZ VIERA, WANDA I           ADDRESS ON FILE
GONZALEZ VIGO, JUAN               ADDRESS ON FILE
GONZALEZ VILCHES, ELAINE          ADDRESS ON FILE
GONZALEZ VILELLA, DANIA           ADDRESS ON FILE
GONZALEZ VILELLA, JOHANA          ADDRESS ON FILE
GONZALEZ VILELLA, RICARDO L       ADDRESS ON FILE
GONZALEZ VILLAFANE, HUMBERTO      ADDRESS ON FILE
GONZALEZ VILLAFANE, IDELISA       ADDRESS ON FILE
GONZALEZ VILLAFANE, JOSE A        ADDRESS ON FILE
GONZALEZ VILLALOBOS, NORMA        ADDRESS ON FILE
GONZALEZ VILLALONA, ANGEL D.      ADDRESS ON FILE
GONZALEZ VILLALONGO, JOSE L       ADDRESS ON FILE
GONZALEZ VILLAMIL PH, JORGE L     ADDRESS ON FILE
GONZALEZ VILLAMIL, GABRIELA       ADDRESS ON FILE
GONZALEZ VILLAMIL, MIGUEL         ADDRESS ON FILE
GONZALEZ VILLAMIL, MIGUEL         ADDRESS ON FILE
GONZALEZ VILLANUEVA, ANA R        ADDRESS ON FILE
GONZALEZ VILLANUEVA, CARLOS       ADDRESS ON FILE
GONZALEZ VILLANUEVA, CHIRSTOFER   ADDRESS ON FILE
GONZALEZ VILLANUEVA, ERICK        ADDRESS ON FILE
GONZALEZ VILLANUEVA, HECTOR M.    ADDRESS ON FILE
GONZALEZ VILLANUEVA, JIMMY        ADDRESS ON FILE
GONZALEZ VILLANUEVA, LUIS         ADDRESS ON FILE
GONZALEZ VILLANUEVA, MARIA A      ADDRESS ON FILE
GONZALEZ VILLANUEVA, MAYRA I      ADDRESS ON FILE
GONZALEZ VILLANUEVA, NEFTALI      ADDRESS ON FILE
GONZALEZ VILLANUEVA, ROSA I       ADDRESS ON FILE
GONZALEZ VILLANUEVA, XIOMARA      ADDRESS ON FILE
GONZALEZ VILLARAN, JUAN           ADDRESS ON FILE
GONZALEZ VILLAREAL, KIDANNY       ADDRESS ON FILE
GONZALEZ VILLARRUBIA, NELIRIS     ADDRESS ON FILE
GONZALEZ VILLEGAS, ALVIN H.       ADDRESS ON FILE
GONZALEZ VILLEGAS, ANGEL          ADDRESS ON FILE
GONZALEZ VILLEGAS, HECTOR         ADDRESS ON FILE
GONZALEZ VILLEGAS, JOSE           ADDRESS ON FILE
GONZALEZ VILLEGAS, JOSE A.        ADDRESS ON FILE
GONZALEZ VILLEGAS, JOSUE R        ADDRESS ON FILE
GONZALEZ VILLEGAS, JOSUE RAMON    ADDRESS ON FILE
GONZALEZ VILLEGAS, ROSA           ADDRESS ON FILE
Gonzalez Villegas, Rosa I.        ADDRESS ON FILE
GONZALEZ VILLEGAS, RUTH           ADDRESS ON FILE
GONZALEZ VILLEGAS, SONIA I        ADDRESS ON FILE




                                                                              Page 3450 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                             Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3451 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                               Creditor Matrix

Creditor Name                     Address1                       Address2                                   Address3   Address4   City         State   PostalCode   Country
GONZALEZ VILLEGAS, SONIA I        ADDRESS ON FILE
GONZALEZ VILLEGAS, VILMARIE       ADDRESS ON FILE
GONZALEZ VILLEGAS, YESENIA        ADDRESS ON FILE
GONZALEZ VILLEGAS, YESENIA        ADDRESS ON FILE
GONZALEZ VIRELLA, HECTOR          ADDRESS ON FILE
GONZALEZ VIRUET, MARIA E          ADDRESS ON FILE
GONZALEZ VIRUET, MARIBELLA        ADDRESS ON FILE
Gonzalez Viruet, Melvin           ADDRESS ON FILE
GONZALEZ VIVES, AIDA L            ADDRESS ON FILE
GONZALEZ VIVES, ROSA              ADDRESS ON FILE
GONZALEZ VIVES, SONIA N           ADDRESS ON FILE
GONZALEZ VIVO, SANDRA I           ADDRESS ON FILE
GONZALEZ VIZCARRONDO, CARLA J.    ADDRESS ON FILE
GONZALEZ VIZCARRONDO, JESUS       ADDRESS ON FILE
GONZALEZ WALKER, ANTONIO          ADDRESS ON FILE
GONZALEZ WALKER, DELIA            ADDRESS ON FILE
GONZALEZ WARRINGTON, ANA M        ADDRESS ON FILE
GONZALEZ WASTE INDUSTRIES CORP    PO BOX 6476                                                                                     MAYAGUEZ     PR      00681
GONZALEZ WESTERBAND, KEILA D      ADDRESS ON FILE
GONZALEZ WHARTON, MELANIE         ADDRESS ON FILE
GONZALEZ WILLIAMS, RICARDO        ADDRESS ON FILE
González y Martínez               ADDRESS ON FILE
GONZALEZ Y MORA C S P             BANCO COOPERATIVO PLAZA        623 AVE PONCE DE LEON STE 606B                                   SAN JUAN     PR      00917‐4826
GONZALEZ Y MORA CSP               EDIF.BANCO COOPERATIVO PLAZA   623 AVE.PONCE DE LEON OFIC.606‐B                                 SAN JUAN     PR      00917
GONZALEZ YANES, GERMAN            ADDRESS ON FILE
GONZALEZ YANEZ MD, OMAR           ADDRESS ON FILE
GONZALEZ YGLESIAS, MARTA ELISA    ADDRESS ON FILE
GONZALEZ YULFO, CARMEN A          ADDRESS ON FILE
GONZALEZ ZAMBRANA, ANGEL          ADDRESS ON FILE
GONZALEZ ZAMBRANA, EDITH          ADDRESS ON FILE
GONZALEZ ZAMBRANA, MANUEL         ADDRESS ON FILE
GONZALEZ ZAMBRANA, MARILYN        ADDRESS ON FILE
GONZALEZ ZAMORA MD, YOLANDA E     ADDRESS ON FILE
GONZALEZ ZAMORA, GERMAINE         ADDRESS ON FILE
GONZALEZ ZAMORA, LUIS             ADDRESS ON FILE
GONZALEZ ZAPATA, TERESA C.        ADDRESS ON FILE
GONZALEZ ZAYAS, ALBERTO           ADDRESS ON FILE
GONZALEZ ZAYAS, ALBERTO           ADDRESS ON FILE
GONZALEZ ZAYAS, ANA               ADDRESS ON FILE
GONZALEZ ZAYAS, CARMEN D          ADDRESS ON FILE
GONZALEZ ZAYAS, DANNY             ADDRESS ON FILE
GONZALEZ ZAYAS, DAVID             ADDRESS ON FILE
GONZALEZ ZAYAS, GLENDA L          ADDRESS ON FILE
GONZALEZ ZAYAS, GUILLERMO         ADDRESS ON FILE
GONZALEZ ZAYAS, IVETTE            ADDRESS ON FILE
GONZALEZ ZAYAS, JORGE             ADDRESS ON FILE
GONZALEZ ZAYAS, JOSE              ADDRESS ON FILE
GONZALEZ ZAYAS, KERBIE            ADDRESS ON FILE
GONZALEZ ZAYAS, MONIQUE           ADDRESS ON FILE
GONZALEZ ZAYAS, NANCY             ADDRESS ON FILE
GONZALEZ ZAYAS, ORLANDO           ADDRESS ON FILE
GONZALEZ ZAYAS, RAFAEL            ADDRESS ON FILE
GONZALEZ ZAYAS, RICARDO           ADDRESS ON FILE
GONZALEZ ZAYAS, SALVADOR          ADDRESS ON FILE
Gonzalez Zayas, Samuel A.         ADDRESS ON FILE
GONZALEZ ZAYAS, WILSON            ADDRESS ON FILE
GONZALEZ ZAYAS, YANISSE LIZEIDA   ADDRESS ON FILE
GONZALEZ ZENO, EVA E              ADDRESS ON FILE
GONZALEZ ZENO, MELISSA            ADDRESS ON FILE
GONZALEZ, A M                     ADDRESS ON FILE




                                                                                             Page 3451 of 10031
                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                              The Commonwealth of Puerto Rico
                                                                                                                      Desc:
                                           Exhibit A-1 - Creditor     Matrix
                                                                Case No.              Page 3452 of 3500
                                                                         17 BK 3283‐LTS
                                                                        Creditor Matrix

Creditor Name             Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ, ADA             ADDRESS ON FILE
GONZALEZ, AIDA            ADDRESS ON FILE
GONZALEZ, AIDA I          ADDRESS ON FILE
GONZALEZ, ANDRES          ADDRESS ON FILE
GONZALEZ, ANDY            ADDRESS ON FILE
Gonzalez, Angel           ADDRESS ON FILE
GONZALEZ, ANGEL           ADDRESS ON FILE
GONZALEZ, ANGEL S.        ADDRESS ON FILE
GONZALEZ, ANGELA A        ADDRESS ON FILE
GONZALEZ, ANGELICA        ADDRESS ON FILE
GONZALEZ, ANTONIO         ADDRESS ON FILE
GONZALEZ, ARCADIO         ADDRESS ON FILE
GONZALEZ, ARMANDO         ADDRESS ON FILE
GONZALEZ, AURORA          ADDRESS ON FILE
GONZALEZ, AWILDA          ADDRESS ON FILE
GONZALEZ, BENIGNO A.      ADDRESS ON FILE
GONZALEZ, BRENDA M.       ADDRESS ON FILE
GONZALEZ, BREYRA          ADDRESS ON FILE
GONZALEZ, CARLO IGNACIO   ADDRESS ON FILE
GONZALEZ, CARLOS          ADDRESS ON FILE
GONZALEZ, CARLOS          ADDRESS ON FILE
GONZALEZ, CARMEN          ADDRESS ON FILE
GONZALEZ, CARMEN          ADDRESS ON FILE
GONZALEZ, CARMEN          ADDRESS ON FILE
GONZALEZ, CARMEN          ADDRESS ON FILE
GONZALEZ, CARMEN MARIA    ADDRESS ON FILE
GONZALEZ, DAMARIS         ADDRESS ON FILE
GONZALEZ, DAVID           ADDRESS ON FILE
GONZALEZ, DENISE          ADDRESS ON FILE
GONZALEZ, DENISSE ZOE     ADDRESS ON FILE
GONZALEZ, DONATA          ADDRESS ON FILE
GONZALEZ, DORIS           ADDRESS ON FILE
GONZALEZ, EDWIN           ADDRESS ON FILE
GONZALEZ, ELIESEL         ADDRESS ON FILE
Gonzalez, Elliot R.       ADDRESS ON FILE
GONZALEZ, ELSA M          ADDRESS ON FILE
GONZALEZ, EMILIO          ADDRESS ON FILE
GONZALEZ, EMILY           ADDRESS ON FILE
GONZALEZ, ESMERALDA       ADDRESS ON FILE
GONZALEZ, EVELYN          ADDRESS ON FILE
GONZALEZ, FLORENTINO      ADDRESS ON FILE
GONZALEZ, FRANCISCA       ADDRESS ON FILE
GONZALEZ, FRANCISCO       ADDRESS ON FILE
GONZALEZ, FRANK           ADDRESS ON FILE
Gonzalez, Freddy          ADDRESS ON FILE
GONZALEZ, GABRIEL         ADDRESS ON FILE
GONZALEZ, GASPAR          ADDRESS ON FILE
GONZALEZ, GLADYMAR        ADDRESS ON FILE
GONZALEZ, GLORIBEL        ADDRESS ON FILE
GONZALEZ, GUILLERMINA     ADDRESS ON FILE
GONZALEZ, HARRY           ADDRESS ON FILE
GONZALEZ, HECTOR          ADDRESS ON FILE
GONZALEZ, HECTOR          ADDRESS ON FILE
GONZALEZ, HERIBERTO       ADDRESS ON FILE
GONZALEZ, HERIBERTO       ADDRESS ON FILE
GONZALEZ, HILDA           ADDRESS ON FILE
GONZALEZ, HIMIA L.        ADDRESS ON FILE
GONZALEZ, HIRAM           ADDRESS ON FILE
GONZALEZ, INEZ            ADDRESS ON FILE
Gonzalez, Iris N          ADDRESS ON FILE




                                                                      Page 3452 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3453 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GONZALEZ, ISRAEL                ADDRESS ON FILE
GONZALEZ, JAHAIRA               ADDRESS ON FILE
GONZALEZ, JASON                 ADDRESS ON FILE
GONZALEZ, JASON                 ADDRESS ON FILE
GONZALEZ, JAVIER                ADDRESS ON FILE
GONZALEZ, JENINE                ADDRESS ON FILE
GONZALEZ, JESSENIA M.           ADDRESS ON FILE
GONZALEZ, JESUS                 ADDRESS ON FILE
GONZALEZ, JESUS M               ADDRESS ON FILE
GONZALEZ, JOCELYN               ADDRESS ON FILE
GONZALEZ, JOEY                  ADDRESS ON FILE
GONZALEZ, JONATHAN              ADDRESS ON FILE
GONZALEZ, JOSE                  ADDRESS ON FILE
GONZALEZ, JOSE M.               ADDRESS ON FILE
GONZALEZ, JUAN                  ADDRESS ON FILE
GONZALEZ, JUAN A.               ADDRESS ON FILE
GONZALEZ, JUAN P                ADDRESS ON FILE
GONZALEZ, JUAN P.               ADDRESS ON FILE
GONZALEZ, JUAN R.               ADDRESS ON FILE
GONZALEZ, KEISHLA               ADDRESS ON FILE
GONZALEZ, LIANABEL              ADDRESS ON FILE
GONZALEZ, LIBERTAD              ADDRESS ON FILE
GONZALEZ, LUIS                  ADDRESS ON FILE
GONZALEZ, LUIS D                ADDRESS ON FILE
GONZALEZ, LUIS D.               ADDRESS ON FILE
GONZALEZ, LUIS N                ADDRESS ON FILE
GONZALEZ, LUZ M                 ADDRESS ON FILE
GONZALEZ, MANUEL                ADDRESS ON FILE
GONZALEZ, MARIA                 ADDRESS ON FILE
GONZALEZ, MARIA A               ADDRESS ON FILE
GONZALEZ, MARIA DEL CARMEN      ADDRESS ON FILE
Gonzalez, Maria Del Carmen      ADDRESS ON FILE
GONZALEZ, MARIA DEL M           ADDRESS ON FILE
GONZALEZ, MARIA DEL R           ADDRESS ON FILE
GONZALEZ, MARIA E.              ADDRESS ON FILE
GONZALEZ, MARIA T               ADDRESS ON FILE
GONZALEZ, MARIA V               ADDRESS ON FILE
GONZALEZ, MAYRA                 ADDRESS ON FILE
GONZALEZ, MICHAEL               ADDRESS ON FILE
GONZALEZ, MIGDALIA              ADDRESS ON FILE
GONZALEZ, MIGUEL                ADDRESS ON FILE
GONZALEZ, MYRNA                 ADDRESS ON FILE
GONZALEZ, NANCY                 ADDRESS ON FILE
GONZALEZ, NEYSHA M.             ADDRESS ON FILE
GONZALEZ, NOEL                  ADDRESS ON FILE
GONZALEZ, NORBERTO              ADDRESS ON FILE
GONZALEZ, NORMAN                ADDRESS ON FILE
GONZALEZ, NORMAN                ADDRESS ON FILE
GONZALEZ, OLGA                  ADDRESS ON FILE
GONZALEZ, OSCAR G.              ADDRESS ON FILE
GONZALEZ, OSCAR J.              ADDRESS ON FILE
GONZALEZ, PAOLA                 ADDRESS ON FILE
GONZALEZ, PEDRO                 ADDRESS ON FILE
GONZALEZ, PEDRO R               ADDRESS ON FILE
GONZALEZ, PETRA                 ADDRESS ON FILE
GONZALEZ, REGINA M.ALMESTICA    ADDRESS ON FILE
GONZALEZ, RICHARD               ADDRESS ON FILE
GONZALEZ, RIKO                  ADDRESS ON FILE
GONZALEZ, ROBERTO GUILLERMO     ADDRESS ON FILE
GONZALEZ, ROSA DE LOS ANGELES   ADDRESS ON FILE




                                                                            Page 3453 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3454 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                           Address1                           Address2                                    Address3           Address4   City         State   PostalCode   Country
GONZALEZ, ROSA DEL CARMEN               ADDRESS ON FILE
GONZALEZ, ROSAIDA                       ADDRESS ON FILE
GONZALEZ, RUBEN                         ADDRESS ON FILE
GONZALEZ, SHEILA                        ADDRESS ON FILE
GONZALEZ, SIMONE                        ADDRESS ON FILE
GONZALEZ, SUANNE MARIE                  ADDRESS ON FILE
GONZALEZ, TERESA DE F                   ADDRESS ON FILE
GONZALEZ, TERESITA DE L                 ADDRESS ON FILE
GONZALEZ, VIVIANNETTE                   ADDRESS ON FILE
GONZALEZ, WANDA                         ADDRESS ON FILE
GONZALEZ, WANDA I.                      ADDRESS ON FILE
GONZALEZ, WILDA                         ADDRESS ON FILE
GONZALEZ, WILEISHA                      ADDRESS ON FILE
GONZALEZ, WILLIAM                       AMANCIO ARIAS GUARDIOLA            PO BOX 13727                                                              SAN JUAN     PR      00908‐3727
GONZALEZ, WILLIAM                       FRANCISCO J. COLÓN PAGÁN           PO BOX 9023255                                                            SAN JUAN     PR      00902‐3355
GONZALEZ, WILLIAM                       IRENE REYES DIEZ                   PO BOX 365067                                                             SAN JUAN     PR      00936‐5067
GONZALEZ, WILLIAM                       MANUEL A. PIETRANTONI              250 AVE. MUNOZ RIVERA                       SUITE 800                     SAN JUAN     PR      00918‐1813
GONZALEZ, WILLIAM                       MARTA VILA BAEZ                    PO BOX 195055                                                             SAN JUAN     PR      00919‐5055
GONZALEZ, WILLIAM                       PEDRO SOLER MUÑIZ                  1357 ASHFORD AVENUE 2                       PMB 106                       SAN JUAN     PR      00907
GONZALEZ, WILLIAM                       SIGRID LOPEZ GONZALEZ              PO BOX 195233                                                             SAN JUAN     PR      00919‐5233
GONZALEZ, WILLIAM                       ADDRESS ON FILE
GONZÁLEZ, WILMARIE Y OTROS              LCDO. EDUARDO J. COBIÁN ROIG       LCDO. EDUARDO J. COBIÁN ROIG                PO BOX 9478                   SAN JUAN     PR      00908‐9478
                                                                                                                       COND. NEW CENTER
GONZÁLEZ, WILMARIE Y OTROS              LCDO. PEDRO L. BETANCOURT RIVERA   CALLE 210 JOSÉ OLIVER                       PLAZA              APT. 204   SAN JUAN     PR      00918
GONZALEZ, YEROSHKA                      ADDRESS ON FILE
GONZALEZ, YTANIA                        ADDRESS ON FILE
GONZALEZ, ZORAIDA                       ADDRESS ON FILE
GONZALEZ,ANGEL                          ADDRESS ON FILE
GONZALEZ,CHRISTIAN                      ADDRESS ON FILE
GONZALEZ,JAVIER                         ADDRESS ON FILE
GONZALEZ,MARGARITA                      ADDRESS ON FILE
GONZALEZ,OMAR                           ADDRESS ON FILE
GONZALEZA PAGAN, MIRIAM H               ADDRESS ON FILE
GONZALEZALEJANDRO, FRANCISCO            ADDRESS ON FILE
GONZALEZ‐ALVAREZ, BRENDA                ADDRESS ON FILE
GONZALEZAPONTE, LUIS                    ADDRESS ON FILE
GONZALEZAYALA, MARIA I                  ADDRESS ON FILE
GONZALEZBAEZ, RAMON                     ADDRESS ON FILE
GONZALEZCOLLAZO, ELSA R.                ADDRESS ON FILE
GONZALEZ‐COLON, JENNIFFER               ADDRESS ON FILE
GONZALEZCOLON, LUIS A                   ADDRESS ON FILE
GONZALEZCRUZ, AWILDA                    ADDRESS ON FILE
GONZALEZDAVILA, ADALIZ                  ADDRESS ON FILE
GONZALEZDEJESUS, JORGE                  ADDRESS ON FILE
GONZALEZDELEON, AIDA                    ADDRESS ON FILE
GONZALEZDIAZ, LUIS R                    ADDRESS ON FILE
GONZALEZFIGUEROA, JULIO                 ADDRESS ON FILE
GONZALEZFUENTES, VICTOR M               ADDRESS ON FILE
GONZALEZGREEN, PEDRO J                  ADDRESS ON FILE
GONZALEZJIMENEZ, LUIS A                 ADDRESS ON FILE
GONZALEZMENDEZ, MARTINIANO              ADDRESS ON FILE
GONZALEZMERCADO, MABELG.                ADDRESS ON FILE
GONZALEZMILLAN, LUIS                    ADDRESS ON FILE
GONZALEZMORELL, ANGEL                   ADDRESS ON FILE
GONZALEZNEGRON, EVELYN                  ADDRESS ON FILE
GONZALEZ‐NIETRO GARCIA BAREA & BALZAC   MCS PLAZA SUITE 514                255 AVENIDA PONCE DE LEON                                                 SAN JUAN     PR      00917
GONZALEZOLIVERA, ELAINE J.              ADDRESS ON FILE
GONZALEZORTIZ, MARTA                    ADDRESS ON FILE
GONZALEZORTIZ, ROSALYN                  ADDRESS ON FILE
GONZALEZRAMOS, MANUEL                   ADDRESS ON FILE




                                                                                                       Page 3454 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                   Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3455 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                     Address1                                 Address2                           Address3   Address4   City             State   PostalCode   Country
GONZALEZRIVERA, ORLANDO           ADDRESS ON FILE
GONZALEZRODRIGUEZ, CARLOS         ADDRESS ON FILE
González‐Santiago, Lillian        ADDRESS ON FILE
González‐Santiago, Zaida          ADDRESS ON FILE
GONZALEZTIRADO, RAUL              ADDRESS ON FILE
GONZALEZVAZQUEZ, FIDENCIA         ADDRESS ON FILE
GONZALO A BLASCO                  ADDRESS ON FILE
GONZALO ALDARONDO VELAZQUEZ       ADDRESS ON FILE
GONZALO APONTE OTERO              ADDRESS ON FILE
GONZALO ARZUAGA ROLDAN            ADDRESS ON FILE
GONZALO B SANTIAGO BENITEZ        ADDRESS ON FILE
GONZALO BURES FERNANDEZ           ADDRESS ON FILE
GONZALO CARDONA IRIZARRY          ADDRESS ON FILE
GONZALO E GANDIA FABIAN           ADDRESS ON FILE
GONZALO E NEGRON VELEZ            ADDRESS ON FILE
GONZALO F RODRIGUEZ DE LEON       ADDRESS ON FILE
GONZALO FABIAN                    ADDRESS ON FILE
GONZALO FERRER VISCASILLAS        ADDRESS ON FILE
GONZALO GONZALEZ & ASSOC INC      PO BOX 11850, SUITE 140                                                                           SAN JUAN         PR      00922‐1850
GONZALO GONZALEZ CRUZ             ADDRESS ON FILE
GONZALO IGUINA ABOGADO NOTARIO    ADDRESS ON FILE
GONZALO MANDRY ALICEA             ADDRESS ON FILE
GONZALO MONTALVO AVILES           ADDRESS ON FILE
GONZALO NUNEZ CRUZ                ADDRESS ON FILE
GONZALO O GARCIA RODRIGUEZ        ADDRESS ON FILE
GONZALO OTERO BRUNO               ADDRESS ON FILE
GONZALO ROBLES GERENA             ADDRESS ON FILE
GONZALO RODRIGUEZ FELICIANO       ADDRESS ON FILE
GONZALO RODRIGUEZ LOPEZ           ADDRESS ON FILE
GONZALO TORRES MORALES            ADDRESS ON FILE
GONZALO TORRES TORRES             ADDRESS ON FILE
GONZALO VARGAS RODRIGUEZ          ADDRESS ON FILE
GONZALO VAZQUEZ OTERO             ADDRESS ON FILE
GONZALO VAZQUEZ OTERO             ADDRESS ON FILE
GONZALO ZUBIETA/ PAULA ZUBIETA    ADDRESS ON FILE
GONZLAEZ CONTRERAS, MELVIN        ADDRESS ON FILE
GONZLAEZ RODRIGUEZ, RICARDO J     ADDRESS ON FILE
GONZLAEZ ROMAN,ISMAEL             ADDRESS ON FILE
GOOD CHOICE AIBONITO INC          HC 03 BOX 14966                                                                                   AGIAS BUENAS     PR      00703
GOOD MORNING FOUNDATION           C/50 A FINAL BLOQ.7 #8 ROYAL TOWN                                                                 BAYAMON          PR      00956
GOOD MORNING FOUNDATION CORP      C/50 A FINAL BLOQUE 7 #8 ROYAL TOWN                                                               BAYAMON          PR      00956
GOOD MORNING FOUNDATION CORP.     C/50 A FINAL BLOQUE 7 #8 URB. ROYAL TOWN                                                          BAYAMON          PR      00956
GOOD MORNING FOUNDATION INST.     C/50 A BLOQ. 7 URB. ROYAL TOWN                                                                    BAYAMON          PR      00956
GOOD MORNING, FOUNDATION          ADDRESS ON FILE
GOOD MORNING, FOUNDATION          ADDRESS ON FILE
GOOD MORNING, FOUNDATION          ADDRESS ON FILE
GOOD MORNING, FOUNDATION          ADDRESS ON FILE
GOOD MORNING, FOUNDATION          ADDRESS ON FILE
GOOD MORNING, FOUNDATION          ADDRESS ON FILE
GOOD PR PRODUCTIONS LLC           500 SOUTH BUENA VISTA STREET                                                                      BURBANK          CA      91521
GOOD PR PRODUCTIONS LLC           B 5 TABONUCO ST                          PMB 248 SUITE 216                                        GUAYNABO         PR      00968‐3022
GOOD SAMARITAN HOSPITAL           MEDICAL RECORDS DEPARTMENT               PO BOX 1281                                              LEBANON          PA      17042
GOOD SAMARITAN MEDICAL CENTER     PO BOX 19072                                                                                      GREEN BAY        WI      54307‐9072
GOOD TECHNOLOGY INC.              4250 BURTON DRIVE                                                                                 SANTA CLARA      CA      95054
GOOD VISION                       44 CENTRO COMERCIAL VILLAS DE RIO GRANDE                                                          RIO GRANDE       PR      00745
GOOD VISION INTERNATIONAL, INC.   CALLE GARRIDO MORALES #15                                                                         FAJARDO          PR      00730
GOODE, MARY                       ADDRESS ON FILE
GOODMAN, BILL                     ADDRESS ON FILE
GOODSAID ZALDUONDO, MIGUEL        ADDRESS ON FILE
GOODWIN, MATTEW                   ADDRESS ON FILE




                                                                                               Page 3455 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3456 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOOSEN, ADRIAAN                    ADDRESS ON FILE
GOQEZ GOQEZ, NARCISO               ADDRESS ON FILE
GORBEA CLASS, RAFAEL               ADDRESS ON FILE
GORBEA DE JESUS, PEDRO             ADDRESS ON FILE
GORBEA DEL VALLE, JAVIER           ADDRESS ON FILE
GORBEA DIAZ, CAMILLE               ADDRESS ON FILE
GORBEA DIAZ, NELLIE M.             ADDRESS ON FILE
GORBEA GAUDIER, EDUARDO M.         ADDRESS ON FILE
GORBEA LANDRON MD, MARIA H         ADDRESS ON FILE
GORBEA LANDRON, MARIA              ADDRESS ON FILE
GORBEA MELENDEZ, ISABEL C          ADDRESS ON FILE
GORBEA PONTON, ARMANDO             ADDRESS ON FILE
GORBEA SEGURA, MARIA               ADDRESS ON FILE
GORBEA, IVELISSE                   ADDRESS ON FILE
GORBEA, JOSE                       ADDRESS ON FILE
GORDIAN APONTE, PEDRO L            ADDRESS ON FILE
GORDIAN APONTE, SUJANE             ADDRESS ON FILE
GORDIAN DE SANTIAGO, CAROL         ADDRESS ON FILE
GORDIAN DIAZ, VICENTE L.           ADDRESS ON FILE
GORDIAN GARCIA, JUANA              ADDRESS ON FILE
GORDIAN GONZALEZ, JOSE             ADDRESS ON FILE
GORDIAN MARRERO, OMAYRA            ADDRESS ON FILE
GORDIAN MEDINA, LYDIA E            ADDRESS ON FILE
GORDIAN RENTAS, DALMA              ADDRESS ON FILE
GORDIAN RENTAS, ROSA               ADDRESS ON FILE
GORDIAN RENTAS, ROSA               ADDRESS ON FILE
GORDIAN RENTAS, RUDY               ADDRESS ON FILE
GORDIAN ROMAN, HECTOR              ADDRESS ON FILE
GORDIAN VELAZQUEZ, NYDIA           ADDRESS ON FILE
GORDIL PEREZ, AUREA E.             ADDRESS ON FILE
GORDILLA AVILES, NILKA             ADDRESS ON FILE
GORDILLO AVILES, NILKA Z           ADDRESS ON FILE
GORDILLO BERNARD, MARIA D          ADDRESS ON FILE
GORDILLO BERNARD, NILDA I.         ADDRESS ON FILE
GORDILLO BURGOS, LISBETH           ADDRESS ON FILE
GORDILLO BURGOS, MARTIN            ADDRESS ON FILE
GORDILLO CRUZ, MARIA E             ADDRESS ON FILE
GORDILLO CRUZ, MIGUEL A            ADDRESS ON FILE
GORDILLO GOMEZ, JOSE               ADDRESS ON FILE
GORDILLO GOMEZ, MELISSA            ADDRESS ON FILE
GORDILLO MOLINA, IRMA N            ADDRESS ON FILE
GORDILLO MUNDO, EDWIN              ADDRESS ON FILE
GORDILLO MURILLO, MARIA            ADDRESS ON FILE
GORDILLO NEGRON, FRANCES M         ADDRESS ON FILE
GORDILLO PEREZ, MARIA DEL          ADDRESS ON FILE
GORDILLO PEREZ, MARIA DEL CARMEN   ADDRESS ON FILE
GORDILLO RIVERA, MARIE             ADDRESS ON FILE
GORDILLO SAN MARTIN, ANNA          ADDRESS ON FILE
Gordillo Vargas, Edwin             ADDRESS ON FILE
GORDILLO VARGAS, MAGALY            ADDRESS ON FILE
GORDILLO VELEZ, JORGE              ADDRESS ON FILE
GORDILS ALEQUIN, RUBEN             ADDRESS ON FILE
GORDILS AYALA, EDGARDO             ADDRESS ON FILE
GORDILS AYALA, PEDRO               ADDRESS ON FILE
Gordils Bonilla, Ricardo           ADDRESS ON FILE
GORDILS CASTRO, JOMAYRA            ADDRESS ON FILE
GORDILS DIAZ, MARICELA             ADDRESS ON FILE
GORDILS IRIZARRY, PEDRO            ADDRESS ON FILE
GORDILS MENDEZ, JOCELYN            ADDRESS ON FILE
GORDILS MOLINA, ELIDA M            ADDRESS ON FILE




                                                                               Page 3456 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3457 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GORDILS PEREZ, AUREA          ADDRESS ON FILE
GORDILS PEREZ, WANDA          ADDRESS ON FILE
GORDILS PEREZ, YAHAIRA        ADDRESS ON FILE
GORDILS REYES, ZAIDA          ADDRESS ON FILE
GORDILS ROSARIO, CATALINA     ADDRESS ON FILE
GORDILS ROSARIO, CATALINA     ADDRESS ON FILE
GORDILS ROSARIO, HECTOR       ADDRESS ON FILE
GORDILS ROSARIO, HECTOR L     ADDRESS ON FILE
GORDILS SCHMIDT, JAZMIN D     ADDRESS ON FILE
GORDILS SCHMIDT, RODNEY       ADDRESS ON FILE
GORDILS TORRES, EMILIA E      ADDRESS ON FILE
GORDILSMADERA, HECTOR R       ADDRESS ON FILE
GORDIS QUILES, ASHLEY         ADDRESS ON FILE
GORDO BATISTA, ANTONIO R.     ADDRESS ON FILE
GORDO GONZALEZ MD, VICTOR M   ADDRESS ON FILE
GORDO GONZALEZ MD, VICTOR M   ADDRESS ON FILE
GORDO GONZALEZ, AIDA          ADDRESS ON FILE
GORDON AMSBARY                ADDRESS ON FILE
GORDON ESTRADA, HEISHA        ADDRESS ON FILE
GORDON FEBO, BRENDA L.        ADDRESS ON FILE
GORDON GARAY, JOSE            ADDRESS ON FILE
GORDON GARAY, JOSE A          ADDRESS ON FILE
GORDON IGLESIAS, MYRNA L      ADDRESS ON FILE
GORDON MD , HARRY F           ADDRESS ON FILE
GORDON MENENDEZ, JOSUE        ADDRESS ON FILE
GORDON MORA, ELOISA           ADDRESS ON FILE
GORDON RODRIGUEZ, MARGARITA   ADDRESS ON FILE
GORDON STEWART MARINO         ADDRESS ON FILE
GORDON, LIONEL L.             ADDRESS ON FILE
GORDONS PEREZ, SONIA          ADDRESS ON FILE
GORENA ESTEVES, KATHERINE     ADDRESS ON FILE
GORETTI TORRES SANCHEZ        ADDRESS ON FILE
GORGAS BOU, MARIA M           ADDRESS ON FILE
GORGAS CARLO, LIZBETH         ADDRESS ON FILE
GORGAS NEGRON, ANTHONY        ADDRESS ON FILE
GORGAS NEGRON, CARLOS         ADDRESS ON FILE
GORGAS NEGRON, MELISSA        ADDRESS ON FILE
GORGAS RIVERA, OMAYRA         ADDRESS ON FILE
GORGAS RODRIGUEZ, ANDRES      ADDRESS ON FILE
GORGAS RODRIGUEZ, RAMON       ADDRESS ON FILE
GORGAS SANTIAGO, DAYKA        ADDRESS ON FILE
GORGAS SANTIAGO, JOSELINE     ADDRESS ON FILE
GORGAS SANTIAGO, MARIA I      ADDRESS ON FILE
GORGAS VAZQUEZ, MARIA I       ADDRESS ON FILE
GORGE A VAZQUEZ RIVERA        ADDRESS ON FILE
GORGE L MATOS MEDERO          ADDRESS ON FILE
GORGONIO AYALA FLORAN         ADDRESS ON FILE
GORIS BISONO, CLARA           ADDRESS ON FILE
GORIS BISONO, PEDRO           ADDRESS ON FILE
GORIS BISONO, PEDRO J         ADDRESS ON FILE
GORIS GARCIA, LIZZETTE        ADDRESS ON FILE
GORIS GARCIA, LUIS            ADDRESS ON FILE
GORIS GONZALEZ, PEDRO J       ADDRESS ON FILE
GORIZ BISONO, CLARA           ADDRESS ON FILE
GORKA INAQUI MENESES          ADDRESS ON FILE
GORRA DE TOLEDO, GEORGINA G   ADDRESS ON FILE
GORRIN MALDONADO, IGNACIO     ADDRESS ON FILE
GORRIN MALDONADO, LAURA M     ADDRESS ON FILE
GORRIN MALDONADO, YARA        ADDRESS ON FILE
GORRIN NIEVES, JANET          ADDRESS ON FILE




                                                                          Page 3457 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3458 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                      Address1                  Address2                               Address3   Address4   City             State   PostalCode   Country
GORRITS VEGA, GLADYS M             ADDRESS ON FILE
GORRITZ AYALA, MANUEL              ADDRESS ON FILE
GORRITZ AYALA, ROXANA              ADDRESS ON FILE
GORRITZ BERMUDEZ, MARIA D.         ADDRESS ON FILE
GORRITZ BERMUDEZ, SERAFIN          ADDRESS ON FILE
GORRITZ CORDERO, JUAN              ADDRESS ON FILE
GORRITZ DAVILA, JUAN               ADDRESS ON FILE
GORRITZ DAVILA, LUIS               ADDRESS ON FILE
GORRITZ DELGADO, LUCY I.           ADDRESS ON FILE
GORRITZ ESTRADA, YARED             ADDRESS ON FILE
GORRITZ FIGUEROA, JOSEAN           ADDRESS ON FILE
GORRITZ NIEVES, VIRGILIO           ADDRESS ON FILE
GORRITZ OQUENDO, JORGE L           ADDRESS ON FILE
GORRITZ PEDRAZA, SILVIA            ADDRESS ON FILE
GORRITZ PEREZ, JACLYN              ADDRESS ON FILE
GORRITZ RAMOS, SHEILA M            ADDRESS ON FILE
GORRITZ REYES, CARMEN              ADDRESS ON FILE
GORRITZ RIVERA, KARLA              ADDRESS ON FILE
Gorritz Sanchez, Arnaldo L         ADDRESS ON FILE
GORRITZ SERRANO, ELIAN             ADDRESS ON FILE
GORRITZ VEGA, LUZ N                ADDRESS ON FILE
GORRITZ VELASCO, JOSE              ADDRESS ON FILE
GORROCHATEGUI VIGOREAUX, EDUARDO   ADDRESS ON FILE
GORROCHATEGUI VIGOREAUX, MARTIN    ADDRESS ON FILE
GOSEN FACILITY HOUSE CORP          URB ROYAL TOWN            BLOQUE 7 8 CALLE 50 A                                        BAYAMON          PR      00956
GOSHEM MEDIEVAL CENTER             1200 HARGETT ST                                                                        JACKSONVILLE     NC      28540‐5933
GOSS GARCIA, ERIC                  ADDRESS ON FILE
GOSS SALDAA, ERIC                  ADDRESS ON FILE
GOSS VALCOURT, MARLA               ADDRESS ON FILE
GOTAY BARQUET, IVONNE              ADDRESS ON FILE
GOTAY BARQUET, RAYMOND             ADDRESS ON FILE
GOTAY BENITEZ, RHAYSA M            ADDRESS ON FILE
GOTAY BORRERO, EFRAIN              ADDRESS ON FILE
Gotay Borrero, Julio               ADDRESS ON FILE
Gotay Colon, Eustaquio             ADDRESS ON FILE
GOTAY COLON, MARIA DEL             ADDRESS ON FILE
GOTAY COLON, MARILYN               ADDRESS ON FILE
GOTAY COLON, MARILYN               ADDRESS ON FILE
GOTAY COLON, TOMASA                ADDRESS ON FILE
GOTAY CORTES, YARITZA              ADDRESS ON FILE
Gotay Cruz, Ana D                  ADDRESS ON FILE
GOTAY CRUZ, ERVIN                  ADDRESS ON FILE
GOTAY CRUZ, ERVIN R                ADDRESS ON FILE
GOTAY CRUZ, MAYRA                  ADDRESS ON FILE
GOTAY DE JOVE, GLORIA              ADDRESS ON FILE
GOTAY DIAZ, ADAMARIS               ADDRESS ON FILE
GOTAY ESTRADA, JUAN                ADDRESS ON FILE
GOTAY ESTRADA, PABLO               ADDRESS ON FILE
GOTAY FELICIANO, DARIELSA          ADDRESS ON FILE
GOTAY FERRER, DINASETH             ADDRESS ON FILE
Gotay Ferrer, Elliot               ADDRESS ON FILE
GOTAY FONTANET, PATRICIA           ADDRESS ON FILE
GOTAY GARCIA, JOSE                 ADDRESS ON FILE
GOTAY GARCIA, MARILUZ              ADDRESS ON FILE
GOTAY GARCIA, SUSANNE D            ADDRESS ON FILE
GOTAY GONZALEZ, GELMARIE           ADDRESS ON FILE
GOTAY GOTAY, WENDY                 ADDRESS ON FILE
Gotay Guzman, Angel R              ADDRESS ON FILE
GOTAY GUZMAN, CHARLOTTE            ADDRESS ON FILE
GOTAY HAYS, NITZA                  ADDRESS ON FILE




                                                                                     Page 3458 of 10031
                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                  The Commonwealth of Puerto Rico
                                                                                                                          Desc:
                                               Exhibit A-1 - Creditor     Matrix
                                                                    Case No.              Page 3459 of 3500
                                                                             17 BK 3283‐LTS
                                                                            Creditor Matrix

Creditor Name                 Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOTAY HAYS, NITZA ENID        ADDRESS ON FILE
GOTAY HERNANDEZ, SHEILA       ADDRESS ON FILE
GOTAY IRIZARRY, IRMA          ADDRESS ON FILE
GOTAY IRIZARRY, SYLVIA        ADDRESS ON FILE
GOTAY LEDOUR, ENSOR L         ADDRESS ON FILE
GOTAY LEDOUX, ENSOR           ADDRESS ON FILE
GOTAY LEDOUX, HECTOR          ADDRESS ON FILE
GOTAY LEDOUX, HECTOR          ADDRESS ON FILE
GOTAY LIZASOAIN, EDDA V       ADDRESS ON FILE
GOTAY LOPEZ, FRANCISCO        ADDRESS ON FILE
GOTAY LOPEZ, MARILYN          ADDRESS ON FILE
GOTAY MARTINEZ, JESSICA       ADDRESS ON FILE
GOTAY MARZAN, REY             ADDRESS ON FILE
GOTAY MONSERRATE, DARIMAR     ADDRESS ON FILE
GOTAY MONTANEZ, YARITSY       ADDRESS ON FILE
GOTAY MONTANEZ, YARITSY       ADDRESS ON FILE
GOTAY MORALES, ANGEL          ADDRESS ON FILE
GOTAY MORALES, LUIS A         ADDRESS ON FILE
GOTAY MORALES, MICHELLE       ADDRESS ON FILE
GOTAY MORALES, SONIA          ADDRESS ON FILE
GOTAY MUNOZ, MARIA GABRIELA   ADDRESS ON FILE
GOTAY OCASIO, JOSE L.         ADDRESS ON FILE
Gotay Ocasio, Rita M          ADDRESS ON FILE
GOTAY OCASIO, RITA M.         ADDRESS ON FILE
GOTAY ORTIZ, DAMARIS          ADDRESS ON FILE
GOTAY PACHECO, BEATRIZ        ADDRESS ON FILE
GOTAY PAGAN, GLORYBELL        ADDRESS ON FILE
GOTAY PAGAN, JORGE            ADDRESS ON FILE
GOTAY PENA, MAYLENE           ADDRESS ON FILE
GOTAY PEREZ, MAYRA E.         ADDRESS ON FILE
GOTAY RAMOS, LUZ M.           ADDRESS ON FILE
GOTAY RAMOS, NEFTALY          ADDRESS ON FILE
GOTAY RESTO, ELIAS            ADDRESS ON FILE
GOTAY REYES, WILFREDO         ADDRESS ON FILE
GOTAY RIVERA, ANGELINA        ADDRESS ON FILE
GOTAY RIVERA, OSCAR           ADDRESS ON FILE
GOTAY RIVERA, RUTH E          ADDRESS ON FILE
GOTAY RODRIGUEZ, ANA          ADDRESS ON FILE
GOTAY RODRIGUEZ, JEANETTE     ADDRESS ON FILE
GOTAY RODRIGUEZ, MARISOL      ADDRESS ON FILE
GOTAY RODRIGUEZ, MARTINA      ADDRESS ON FILE
GOTAY RODRIGUEZ, WANDA I      ADDRESS ON FILE
GOTAY RODRIGUEZ, ZULEIKA      ADDRESS ON FILE
Gotay Roman, Milagros         ADDRESS ON FILE
GOTAY ROSA, WILMARY           ADDRESS ON FILE
GOTAY RUIZ, ARNALDO           ADDRESS ON FILE
GOTAY RUIZ, MILAGROS          ADDRESS ON FILE
GOTAY RUIZ, OSVALDO           ADDRESS ON FILE
GOTAY RULLAN, FRANCISCO       ADDRESS ON FILE
GOTAY RUSTAND, JOHN           ADDRESS ON FILE
GOTAY SANCHEZ, CHRISTIAN      ADDRESS ON FILE
GOTAY SANCHEZ, JULIO          ADDRESS ON FILE
GOTAY SILVA, JULIE            ADDRESS ON FILE
GOTAY TIRADO, EDWIN           ADDRESS ON FILE
GOTAY TIRADO, MARIA D         ADDRESS ON FILE
GOTAY TORRES, CONSUELO        ADDRESS ON FILE
GOTAY TORRES, EDWARD          ADDRESS ON FILE
GOTAY TORRES, REBECCA         ADDRESS ON FILE
GOTAY VALCARCEL, WILFREDO     ADDRESS ON FILE
GOTAY VALDES, CARLOS          ADDRESS ON FILE




                                                                          Page 3459 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3460 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                            Address1                                 Address2                                  Address3     Address4   City              State   PostalCode   Country
GOTAY VEGA, ENSOR                        ADDRESS ON FILE
GOTAY VELEZ, GLADYS                      ADDRESS ON FILE
GOTAY VIERA, ELIZABETH                   ADDRESS ON FILE
GOTAY VIERA, JUAN                        ADDRESS ON FILE
GOTAY VILLEGAS, STEPHANIE                ADDRESS ON FILE
GOTHAM INSURANCE COMPANY                 75 Maiden Lane                           Suite 804                                                         New York          NY      10038
GOTHAM INSURANCE COMPANY                 Attn: Anthony Piszel, Vice President     412 MT. Kemble Avenue                     Suite 300C              Morristown        NJ      07960
GOTHAM INSURANCE COMPANY                 Attn: Joseph Beneducci, President        412 MT. Kemble Avenue                     Suite 300C              Morristown        NJ      07960
GOTIAN MD, AMNON                         ADDRESS ON FILE
GOTITAS DE AMOR INC                      URB COLINAS DEL OESTE                    G 5 CALLE 9                                                       HORMIGUEROS       PR      00662
GOTITAS DE AMOR INC.                     CALLE LOLA RODRIGUEZ DE TIO NUM 3612                                                                       PONCE             PR      00728
GOTITAS DEL ALMA INC                     URB VALLE VERDE                          AS‐2 CALLE RIO PORTUGUES                                          BAYAMON           PR      00961
GOTOS POMALES, JUAN                      ADDRESS ON FILE
GOTOS RODRIGUEZ, JUAN                    ADDRESS ON FILE
GOTOS RODRIGUEZ, JUAN A                  ADDRESS ON FILE
GOTOS RODRIGUEZ, SARAH M.                ADDRESS ON FILE
GOTTFRIED, JONATHAN                      ADDRESS ON FILE
GOUDREAU RODRIGUEZ,LYDALEE               ADDRESS ON FILE
GOURMET SERVICE AND CATERING, INC.       URB. CIUDAD JARDIN III CALLE SAUCE #53                                                                     TOA ALTA          PR      00916‐0000
GOURMET SERVICES                         CIUDAD JARDIN                            CALLE LLAN LLAN                                                   TOA ALTA          PR      00953
GOURMET SERVICES                         CIUDAD JARDIN III                        53 CALLE SAUCE                                                    TOA ALTA          PR      00953
GOURMET SERVICES                         PO BOX 364802                                                                                              SAN JUAN          PR      00902‐4802
GOURMET TO GO                            AVE. CAMPO RICO #756 COUNTRY CLUB                                                                          RIO PIEDRAS       PR      00924
GOURT 1 INC                              PMB 366 #90 AVE RIO HONDO                                                                                  BAYAMON           PR      00961‐3105
GOUVERNEUR KANN, KRYS                    ADDRESS ON FILE
GOV JUAN LUIS HOSPITAL                   4007 ESTATE DIAMOND RUBY                                                                                   CHRISTIANSTED     VI      00821
GOVANI HERNANDEZ, SHALINI D              ADDRESS ON FILE
GOVANNI TORRES BENITEZ                   ADDRESS ON FILE
GOVCONNECTION, INC.                      PO BOX 536477                                                                                              PITTSBURGH        PA      15253‐5906
GOVE CORP                                P O BOX 4003 PMB 122                                                                                       MOCA              PR      00676
GOVEO FELICIANO, DESIREE                 ADDRESS ON FILE
GOVEO FIGUEROA, IXOMARA                  ADDRESS ON FILE
GOVEO LABARCA, VALERIE M                 ADDRESS ON FILE
GOVEO LEBRON, VICTOR                     ADDRESS ON FILE
GOVEO LEBRON, VICTOR M.                  ADDRESS ON FILE
GOVEO MONTANEZ, AMPARO                   ADDRESS ON FILE
GOVEO MONTANEZ, MARIA M                  ADDRESS ON FILE
GOVEO MONTANEZ, MARIA M                  ADDRESS ON FILE
GOVEO REYES, YOMARIS                     ADDRESS ON FILE
GOVEO RIVERA, NOELIA                     ADDRESS ON FILE
GOVEO SANTIAGO, ANGEL                    ADDRESS ON FILE
GOVEO SANTIAGO, ANYELY                   ADDRESS ON FILE
GOVERNMENT ACCOUNTING STANDARD           P.O. BOX 30784                                                                                             HARTFORD          CT      06150
GOVERNMENT CONSULTING GROUP              121 AVE DE DIEGO                                                                                           SAN JUAN          PR      00927
GOVERNMENT DEVELOPMENT BANK              POX 21414 C/O ASSMCA                                                                                                         PR      00928‐0000
GOVERNMENT FINANCE OFFICER ASSO          203 N. LaSALLE STREET                    SUITE 2700                                                        CHICAGO           IL      60601
Government Security Guards Association   Flores, Wanda                            RR 01 Box 16001                                                   Toa Alta          PR      00953
GOVI CORP                                PO BOX 29618                                                                                               SAN JUAN          PR      00929
GOY LATASA, GLADYS M                     ADDRESS ON FILE
GOYAL AGGARWAL, MEGH                     ADDRESS ON FILE
GOYCO CORREA, EDWIN O.                   ADDRESS ON FILE
GOYCO ACOSTA, LUIS                       ADDRESS ON FILE
GOYCO ALVAREZ, NILSA I.                  ADDRESS ON FILE
GOYCO AMADOR, GLORIA                     ADDRESS ON FILE
GOYCO BLECHMAN, DIANA M.                 ADDRESS ON FILE
GOYCO BLECHMAN, MARIELA                  ADDRESS ON FILE
GOYCO BLECHMAN, MARIELA                  ADDRESS ON FILE
GOYCO BUTRON, MALEN                      ADDRESS ON FILE
GOYCO CARMOEGA, TERESA                   ADDRESS ON FILE
GOYCO CORREA MD, EDWIN D                 ADDRESS ON FILE




                                                                                                             Page 3460 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3461 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GOYCO CORREA, JACQUELINE       ADDRESS ON FILE
GOYCO CRESPO, ENRIQUE          ADDRESS ON FILE
GOYCO DE VERA, IVAN            ADDRESS ON FILE
GOYCO FIGUEROA, YESENIA        ADDRESS ON FILE
GOYCO GARCIA, MARLYN A         ADDRESS ON FILE
GOYCO GARCIA, SHAISA           ADDRESS ON FILE
GOYCO GONZALEZ, CARLOS         ADDRESS ON FILE
GOYCO LAGUERRA, EDWIN          ADDRESS ON FILE
GOYCO LARRAZABAL, MARIA        ADDRESS ON FILE
GOYCO MORALES, ELIS            ADDRESS ON FILE
GOYCO MORALES, OLGA N          ADDRESS ON FILE
GOYCO RIOS, DORIS I.           ADDRESS ON FILE
GOYCO RIVERA, MARIBEL          ADDRESS ON FILE
GOYCO RODRIGUEZ, JOSE A        ADDRESS ON FILE
GOYCO RODRIGUEZ, JUAN          ADDRESS ON FILE
GOYCO RODRIGUEZ, JUANC.        ADDRESS ON FILE
GOYCO RODRIGUEZ, PEDRO         ADDRESS ON FILE
Goyco Romero, Aracelis         ADDRESS ON FILE
Goyco Saladin, Sandra F        ADDRESS ON FILE
GOYCO TORRES, JORGE            ADDRESS ON FILE
GOYCO VALENTIN, ALLYSON        ADDRESS ON FILE
GOYCO VELAZQUEZ, NANCY         ADDRESS ON FILE
GOYCO VELEZ MD, PEDRO          ADDRESS ON FILE
GOYCO VERA, ADRIAN             ADDRESS ON FILE
GOYCOCHEA AGUIRRE, LIZA        ADDRESS ON FILE
GOYCOCHEA APONTE, ALEJANDRO    ADDRESS ON FILE
GOYCOCHEA MORALES, ALEJANDRO   ADDRESS ON FILE
GOYCOCHEA PEREZ, MIGDALIA      ADDRESS ON FILE
Goycochea Rodriguez, Jose A    ADDRESS ON FILE
GOYCOCHEA RODRIGUEZ, WILLIAM   ADDRESS ON FILE
GOYTIA AYALA, JOSE L           ADDRESS ON FILE
GOYTIA BERRIOS, KAREN          ADDRESS ON FILE
GOYTIA BETANCOURT, BENJAMIN    ADDRESS ON FILE
GOYTIA CARRILES, MARIA         ADDRESS ON FILE
GOYTIA CRUZ, CHEILYAM          ADDRESS ON FILE
GOYTIA CRUZ, CHEILYAN          ADDRESS ON FILE
GOYTIA CRUZ, HEIDY             ADDRESS ON FILE
Goytia De Jesus, Carmelo       ADDRESS ON FILE
Goytia De Jesus, Luis A        ADDRESS ON FILE
GOYTIA DELGADO, BENJAMIN       ADDRESS ON FILE
GOYTIA DIAZ, ANGEL             ADDRESS ON FILE
GOYTIA DIAZ, JORGE             ADDRESS ON FILE
GOYTIA GARAY, DANIEL           ADDRESS ON FILE
GOYTIA GARCIA, DAVID           ADDRESS ON FILE
GOYTIA GARCIA, MARGARITA       ADDRESS ON FILE
GOYTIA GARCIA, RAFAEL A        ADDRESS ON FILE
GOYTIA GUADALUPE, GIL          ADDRESS ON FILE
GOYTIA GUZMAN, MARIA A         ADDRESS ON FILE
GOYTIA HERNANDEZ, ELBA N       ADDRESS ON FILE
GOYTIA HERNANDEZ, LUCAS        ADDRESS ON FILE
GOYTIA HERNANDEZ, MARITZA      ADDRESS ON FILE
GOYTIA MASAS, YAZMIN           ADDRESS ON FILE
GOYTIA MASSAS, YAZMIN          ADDRESS ON FILE
GOYTIA MENDEZ, STEPHANIE       ADDRESS ON FILE
GOYTIA MENDEZ, STEPHANIE L.    ADDRESS ON FILE
GOYTIA MONTALVO, GEORGE        ADDRESS ON FILE
GOYTIA MONTALVO,STEPHANE       ADDRESS ON FILE
GOYTIA OCASIO, MARTHA          ADDRESS ON FILE
GOYTIA OCASIO, MARTHA          ADDRESS ON FILE
GOYTIA PERALES, DAISY          ADDRESS ON FILE




                                                                           Page 3461 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                 Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3462 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                 Creditor Matrix

Creditor Name                            Address1                                Address2                                     Address3   Address4   City           State   PostalCode   Country
GOYTIA PERALES, DAISY                    ADDRESS ON FILE
GOYTIA RIVERA, IVETTE                    ADDRESS ON FILE
GOYTIA RIVERA, IVETTE                    ADDRESS ON FILE
GOYTIA RODRIGUEZ, ACENNETTE              ADDRESS ON FILE
GOYTIA RODRIGUEZ, VICTOR                 ADDRESS ON FILE
GOYTIA ROSARIO, MAYLIN D                 ADDRESS ON FILE
GOYTIA SALGADO, ANGELITA                 ADDRESS ON FILE
GOYTIA SALGADO, JANIRA                   ADDRESS ON FILE
GOYTIA SANTIAGO, GLADYS E                ADDRESS ON FILE
GOYTIA TORRES, MARIO                     ADDRESS ON FILE
GOZALEZ BOSQUEZ, MARIA L.                ADDRESS ON FILE
GOZALEZ VELEZ, PEDRO                     ADDRESS ON FILE
GOZZER LOZADA, NITZY                     ADDRESS ON FILE
GP FAMILY CARE                           157 MONTAUK AVE                                                                                            NEW LONDON     CT      06320
GP2 ENVIROMENTAL INC                     55 CALLE RUFO                                                                                              CAGUAS         PR      00725
GPC CARIBBEAN INC                        URB MIRADERO                            6 CAMINO DEL MIRADERO                                              HUMACAO        PR      00791
GPH MOTOR CORP                           PO BOX 29468                                                                                               SAN JUAN       PR      00929‐0468
GPI GENERAL PROCUREMENT OF PR INC        URB PUERTO NUEVO                        511 AVE ANDALUCIA SUITE 1 A                                        SAN JUAN       PR      00920‐4132
GPP PEDIATRIC SERVICE LLC                URB PORTOBELLO                          932 CALLE PORTO SANTO                                              TOA ALTA       PR      00953‐5405
GPY ELECTRIC & CONTRACTORS CORP.         RR 1 BOX 12162                                                                                             MANATI         PR      00674
GQNZALEZ RIVERA, MAGDA ODETTE            ADDRESS ON FILE
GR ENGINEEAR                             URB HYDE PK                             894 AVE MUNOZ RIVERA                                               SAN JUAN       PR      00927‐4307
GR OFFICE SERVICES                       2165 TNTE LAVERGNE ST                                                                                      SAN JUAN       PR      00913
GR SERVICIOS PSICOLOGICOS & EDUCATIVOS   VILLA DEL CARMEN                        4280 AVE CONSTANCIA                                                PONCE          PR      00716‐2144
GRABIEL RODRIGUEZ ANAYA                  ADDRESS ON FILE
GRABIEL RODRIGUEZ ORTIZ                  ADDRESS ON FILE
GRABIEL, LENIE                           ADDRESS ON FILE
GRACE AYALA CASTRO                       ADDRESS ON FILE
GRACE BENITEZ ORTIZ                      ADDRESS ON FILE
GRACE BLANCO ROSARIO                     ADDRESS ON FILE
GRACE BRAVO, CASSANDRA                   ADDRESS ON FILE
GRACE CEDENO LOPEZ                       ADDRESS ON FILE
GRACE DELGADO MEDINA                     ADDRESS ON FILE
GRACE E EMMANUELLI COSME                 ADDRESS ON FILE
GRACE FONTECHA Y ASOCIADOS INC           RIO HONDO III                           CE‐25 CALLE EUCALIPTO                                              BAYAMON        PR      00961
GRACE GOMEZ DEL VALLE                    ADDRESS ON FILE
GRACE GONZALEZ CORTES                    ADDRESS ON FILE
GRACE H. MARIN ENCARNACION               GRACE H. MARIN ENCARNACION (DERECHO PRO PO BOX 7164                                                        SAN JUAN       PR      00916
GRACE IRIZARRY ZALDUONDO                 ADDRESS ON FILE
GRACE J LORAN PINEIRO                    ADDRESS ON FILE
GRACE J LUCCA CORTEZ                     ADDRESS ON FILE
GRACE J LUCCA CORTEZ                     ADDRESS ON FILE
GRACE L. TORRES ROBLES                   ADDRESS ON FILE
GRACE LUGO MARQUEZ                       ADDRESS ON FILE
GRACE M ARROYO RODRIGUEZ                 ADDRESS ON FILE
GRACE M CARRION LEBRON                   ADDRESS ON FILE
GRACE M CEDENO LOPEZ                     ADDRESS ON FILE
GRACE M CEDENO LOPEZ                     ADDRESS ON FILE
GRACE M CORREA RIVERA                    ADDRESS ON FILE
GRACE M DE JESUS PENA                    ADDRESS ON FILE
GRACE M DELBREY TORRES                   ADDRESS ON FILE
GRACE M GOMEZ TORRES                     ADDRESS ON FILE
GRACE M LOPEZ SOSA                       ADDRESS ON FILE
GRACE M LOPEZ SOSA                       ADDRESS ON FILE
GRACE M MORALES PELLOT                   ADDRESS ON FILE
GRACE M PERDOMO PILLOT                   ADDRESS ON FILE
GRACE M RIVERA CALDERAS                  ADDRESS ON FILE
GRACE M RIVERA MARTINEZ                  ADDRESS ON FILE
GRACE M RODRIGUEZ QUINONES               ADDRESS ON FILE
GRACE M ROSADO PEREZ                     ADDRESS ON FILE




                                                                                                               Page 3462 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3463 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GRACE M SANCHEZ PENA            ADDRESS ON FILE
GRACE M SANCHEZ VEGA            ADDRESS ON FILE
GRACE M SANDOVAL RODRIGUEZ      ADDRESS ON FILE
GRACE M SANTANA BALADO          ADDRESS ON FILE
GRACE M VAZQUEZ DEL ORBE        ADDRESS ON FILE
GRACE M VAZQUEZ VIANA           ADDRESS ON FILE
GRACE M VEGA SANTANA            ADDRESS ON FILE
GRACE M. AYALA                  ADDRESS ON FILE
GRACE M. AYALA                  ADDRESS ON FILE
GRACE M. GONZALEZ MENDEZ        ADDRESS ON FILE
GRACE M. VAZQUEZ SANTIAGO       ADDRESS ON FILE
GRACE M. VIVALDI ARROYO         ADDRESS ON FILE
GRACE MARIE RIVERA              ADDRESS ON FILE
GRACE MONTALVO                  ADDRESS ON FILE
GRACE P CASANOVA CASTRO         ADDRESS ON FILE
GRACE PALMER QUINONES           ADDRESS ON FILE
GRACE PALMER QUINONES           ADDRESS ON FILE
GRACE PENA HERNANDEZ            ADDRESS ON FILE
GRACE QUINTANA FUENTES          ADDRESS ON FILE
GRACE RAI                       ADDRESS ON FILE
GRACE RAMIREZ MARTI             ADDRESS ON FILE
GRACE RIVERA DONES MACJ         ADDRESS ON FILE
GRACE SWEENEY BRACERO           ADDRESS ON FILE
GRACE VAZQUEZ ACEVEDO           ADDRESS ON FILE
GRACE VELEZ NATALI              ADDRESS ON FILE
GRACE VELEZ NATALI              ADDRESS ON FILE
GRACEMARIE HERNANDEZ VELEZ      ADDRESS ON FILE
GRACEMARIE VELAZQUEZ MELENDEZ   ADDRESS ON FILE
GRACENALYS SANCHEZ GARCIA       ADDRESS ON FILE
GRACIA AGENJO, TERESA           ADDRESS ON FILE
GRACIA AGENJO, TERESA           ADDRESS ON FILE
GRACIA ALCANTARA, IRIS          ADDRESS ON FILE
GRACIA ALVAREZ MD, ANABELLE     ADDRESS ON FILE
GRACIA ALVELO, ANA M            ADDRESS ON FILE
GRACIA ANDINO, DIANA            ADDRESS ON FILE
GRACIA ANDINO, ELENA            ADDRESS ON FILE
GRACIA ARANA, JOSE MANUEL       ADDRESS ON FILE
GRACIA ARANA, JOSELEEN          ADDRESS ON FILE
GRACIA AYALA, JOSE I            ADDRESS ON FILE
GRACIA BAEZ, JANEYSA            ADDRESS ON FILE
GRACIA BERMUDEZ, JENNIFER       ADDRESS ON FILE
Gracia Bermudez, Orlando        ADDRESS ON FILE
GRACIA BERRIOS, ELBA            ADDRESS ON FILE
GRACIA CARABALLO, CAROL         ADDRESS ON FILE
GRACIA CARDONA, LIVIA M         ADDRESS ON FILE
GRACIA CARRASQUILLO, CARMEN     ADDRESS ON FILE
GRACIA CINTRON, EVA L           ADDRESS ON FILE
GRACIA CINTRON, NILSA A.        ADDRESS ON FILE
GRACIA COLLAZO, HECTOR          ADDRESS ON FILE
GRACIA COLLAZO, IVONNE M        ADDRESS ON FILE
GRACIA COLON, CARLOS A          ADDRESS ON FILE
GRACIA COLON, FREDDIE           ADDRESS ON FILE
GRACIA CORTIJO, RAMON           ADDRESS ON FILE
GRACIA CRUZ, ABIGAIL            ADDRESS ON FILE
GRACIA CRUZ, HAZMIL Y           ADDRESS ON FILE
GRACIA CRUZ, LISANDRA           ADDRESS ON FILE
GRACIA CRUZ, LISANDRA           ADDRESS ON FILE
GRACIA CURRA, VICTOR L          ADDRESS ON FILE
GRACIA DE JESUS, DALINES        ADDRESS ON FILE
GRACIA DELGADO, JANE            ADDRESS ON FILE




                                                                            Page 3463 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                           Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3464 of 3500
                                                                              17 BK 3283‐LTS
                                                                             Creditor Matrix

Creditor Name                  Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GRACIA DELGADO, WILFREDO       ADDRESS ON FILE
GRACIA DIAZ, MARA              ADDRESS ON FILE
GRACIA ESCALERA, OMAR          ADDRESS ON FILE
GRACIA ESTRADA, MIGUEL ANGEL   ADDRESS ON FILE
GRACIA FEBLES, EDWARD          ADDRESS ON FILE
GRACIA FEBLES, JOSE            ADDRESS ON FILE
GRACIA FERRER, VICTOR          ADDRESS ON FILE
GRACIA FIGUEROA, YESENIA M     ADDRESS ON FILE
GRACIA FUENTES, IRIS A         ADDRESS ON FILE
GRACIA FUENTES, JOSE           ADDRESS ON FILE
GRACIA GARCIA, CARLOS          ADDRESS ON FILE
GRACIA GARCIA, CESAR           ADDRESS ON FILE
GRACIA GARCIA, YAJAIRA         ADDRESS ON FILE
GRACIA GIL, MONIQUE            ADDRESS ON FILE
GRACIA GONZALEZ, VILMA S       ADDRESS ON FILE
GRACIA GRACIA, MARIA           ADDRESS ON FILE
GRACIA GRACIA, RUTH            ADDRESS ON FILE
GRACIA HERNANDEZ, FELIX        ADDRESS ON FILE
GRACIA HERNANDEZ, HECTOR L.    ADDRESS ON FILE
GRACIA HERNANDEZ, NEREIDA      ADDRESS ON FILE
GRACIA HERNANDEZ, RAQUEL       ADDRESS ON FILE
GRACIA I. ARCELAY LOPEZ        ADDRESS ON FILE
GRACIA JIMENEZ, BLANCA I       ADDRESS ON FILE
GRACIA L ROMAN VALENTIN        ADDRESS ON FILE
GRACIA LOPEZ, CARLOS           ADDRESS ON FILE
Gracia Lopez, Carlos A         ADDRESS ON FILE
GRACIA LOPEZ, EMILY D          ADDRESS ON FILE
GRACIA LOPEZ, KARLA Y          ADDRESS ON FILE
GRACIA M BERRIOS CABAN         ADDRESS ON FILE
GRACIA M GARCIA CARABALLO      ADDRESS ON FILE
GRACIA M RUIZ DE TALAVERA      ADDRESS ON FILE
GRACIA M SANCHEZ DE LA TORRE   ADDRESS ON FILE
GRACIA MARRERO, GLENDALY       ADDRESS ON FILE
GRACIA MARTINEZ, MARIE         ADDRESS ON FILE
GRACIA MATIAS, INES            ADDRESS ON FILE
Gracia Matias, Luis A          ADDRESS ON FILE
GRACIA MATOS, IVAN             ADDRESS ON FILE
GRACIA MATOS, LIED DANESA      ADDRESS ON FILE
Gracia Melendez, Carlos A      ADDRESS ON FILE
Gracia Melendez, Hecksan       ADDRESS ON FILE
GRACIA MOLINA, LUIS            ADDRESS ON FILE
GRACIA MONTALVO, ARELIS        ADDRESS ON FILE
GRACIA MORALES, AURELIO        ADDRESS ON FILE
GRACIA MORALES, CARMEN L       ADDRESS ON FILE
GRACIA MORALES, EDELMIRA       ADDRESS ON FILE
GRACIA MORALES, ELIZABETH      ADDRESS ON FILE
GRACIA MORALES, GLADYS E       ADDRESS ON FILE
GRACIA MORALES, HECTOR L.      ADDRESS ON FILE
GRACIA MORALES, MAGDA I        ADDRESS ON FILE
GRACIA MORALES, OLGA           ADDRESS ON FILE
GRACIA MORALES, RAMON C        ADDRESS ON FILE
GRACIA NIEVES, GLADYMAR        ADDRESS ON FILE
GRACIA NIEVES, HECTOR A        ADDRESS ON FILE
GRACIA NIEVES, ROSALIZ         ADDRESS ON FILE
GRACIA NORIEGA, ANGEL          ADDRESS ON FILE
Gracia Ortiz, Cesar            ADDRESS ON FILE
GRACIA ORTIZ, PABLO A          ADDRESS ON FILE
GRACIA OTERO, VICTOR           ADDRESS ON FILE
GRACIA PEREZ, EDELMIRO         ADDRESS ON FILE
GRACIA PEREZ, NORBERTO         ADDRESS ON FILE




                                                                           Page 3464 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3465 of 3500
                                                                                17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                    Address1                       Address2                     Address3   Address4   City        State   PostalCode   Country
GRACIA PEREZ, SONIA I            ADDRESS ON FILE
GRACIA PINTADO, ELIEZER          ADDRESS ON FILE
GRACIA PINTADO, ILEANA E         ADDRESS ON FILE
GRACIA PONCE, ALYCE M            ADDRESS ON FILE
GRACIA PONCE, LIZA               ADDRESS ON FILE
GRACIA RAMIREZ, MIGDALIA         ADDRESS ON FILE
GRACIA REPOLLET, BRENDA I        ADDRESS ON FILE
GRACIA REYES, MARCOS             ADDRESS ON FILE
GRACIA REYES, MARIA TERESA       ADDRESS ON FILE
GRACIA RIOS, EDDIE               ADDRESS ON FILE
GRACIA RIVERA, AIDA              ADDRESS ON FILE
Gracia Rivera, Daina             ADDRESS ON FILE
GRACIA RIVERA, DAINA             LCDO. CARLOS RODRÍGUEZ MARÍN   PO BOX 8052                                        Bayamón     PR      00960‐8052
GRACIA RIVERA, EDUARDO           ADDRESS ON FILE
Gracia Rivera, Felix J.          ADDRESS ON FILE
GRACIA RIVERA, MARIA DE LOS A    ADDRESS ON FILE
GRACIA RIVERA, ROCIO             ADDRESS ON FILE
GRACIA RIVERA, ROCIO             ADDRESS ON FILE
GRACIA RODRIGUEZ, CARLOS         ADDRESS ON FILE
GRACIA RODRIGUEZ, INEABEL        ADDRESS ON FILE
GRACIA ROMERO, GLADYS            ADDRESS ON FILE
Gracia Ruiz, Herbert             ADDRESS ON FILE
GRACIA SANCHEZ, MAGDALENA        ADDRESS ON FILE
GRACIA SANTIAGO, HUMBERTO        ADDRESS ON FILE
GRACIA SANTIAGO, JOAN            ADDRESS ON FILE
GRACIA SANTIAGO, MASIEL          ADDRESS ON FILE
GRACIA SANTIAGO, NILSA           ADDRESS ON FILE
GRACIA SANTIAGO, VIVIAN V        ADDRESS ON FILE
GRACIA TEISSONNIERE, JOSE D      ADDRESS ON FILE
GRACIA TORO, AXEL R.             ADDRESS ON FILE
GRACIA TORRES, MIGUEL A          ADDRESS ON FILE
GRACIA TORRES, OLGA              ADDRESS ON FILE
GRACIA TORRES, OLGA N            ADDRESS ON FILE
GRACIA VALENTIN, RAQUEL          ADDRESS ON FILE
GRACIA VARGAS, LUIS A            ADDRESS ON FILE
GRACIA VAZQUEZ, OLGA MARGARITA   ADDRESS ON FILE
Gracia Vega, Jacqueline          ADDRESS ON FILE
Gracia Vega, Jose R.             ADDRESS ON FILE
GRACIA VEGA, MARTA I.            ADDRESS ON FILE
GRACIA VEGA, OMAIRA Y            ADDRESS ON FILE
Gracia Vega, Ramon               ADDRESS ON FILE
GRACIA VELAZQUEZ, AIDA I         ADDRESS ON FILE
GRACIA VELAZQUEZ, FRANCISCO      ADDRESS ON FILE
GRACIA VELAZQUEZ, LUCIA          ADDRESS ON FILE
GRACIA VELAZQUEZ, SARAI          ADDRESS ON FILE
GRACIA‐GARRAFA, CARMEN A.        ADDRESS ON FILE
GRACIANA ACEVEDO CARDONA         ADDRESS ON FILE
GRACIANI BETANCOURT PEREZ        ADDRESS ON FILE
GRACIANI BETANCOURT PEREZ        ADDRESS ON FILE
GRACIANI COLON, EFRAIN           ADDRESS ON FILE
GRACIANI CURET, WANDA I          ADDRESS ON FILE
GRACIANI FERRI, LIZZ             ADDRESS ON FILE
GRACIANI FIGUEROA, ENEIDA        ADDRESS ON FILE
GRACIANI FIGUEROA, ENEIDA        ADDRESS ON FILE
GRACIANI FIGUEROA, LYDIA E       ADDRESS ON FILE
GRACIANI FIGUEROA, MARIA E       ADDRESS ON FILE
GRACIANI FIGUEROA, NORMA L.      ADDRESS ON FILE
GRACIANI FIGUEROA, RIGOBERTO     ADDRESS ON FILE
GRACIANI FISCHBACH, GIOVANNI     ADDRESS ON FILE
GRACIANI FISCHBACH, KEVIN OMAR   ADDRESS ON FILE




                                                                              Page 3465 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                       Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3466 of 3500
                                                                                17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                    Address1                       Address2                                  Address3            Address4   City            State   PostalCode   Country
GRACIANI HERNANDEZ, CARLOS       ADDRESS ON FILE
GRACIANI LUGO, GISELA            ADDRESS ON FILE
GRACIANI MARRERO PEDROSA         ADDRESS ON FILE
GRACIANI MORALES, LIMARY         ADDRESS ON FILE
GRACIANI MORALES, RAMON          ADDRESS ON FILE
GRACIANI MORALES, RAMON LUIS     ADDRESS ON FILE
GRACIANI ORTIZ, SHEILA           ADDRESS ON FILE
GRACIANI PEREIRA, BASILIO        ADDRESS ON FILE
GRACIANI PEREIRA, BASILIO        ADDRESS ON FILE
GRACIANI RAMOS, LIDUVINA         ADDRESS ON FILE
GRACIANI ROSA, LUIS              ADDRESS ON FILE
Graciani Serrano, Brenda E       ADDRESS ON FILE
GRACIANI SILVA, MAYRA E          ADDRESS ON FILE
GRACIANO CRUZ, TAINA             ADDRESS ON FILE
GRACIANO GREGO, AILEEN           ADDRESS ON FILE
GRACIANO LOPEZ                   ADDRESS ON FILE
GRACIANO NIEVES CRESPO           ADDRESS ON FILE
GRACIANO NIEVES MALDONADO        ADDRESS ON FILE
GRACIANO RIOS, ANABELLE          ADDRESS ON FILE
GRACIANO RIOS, EMILIO            ADDRESS ON FILE
GRACIANO SANTIAGO, JOSE R.       ADDRESS ON FILE
GRACIANO SANTOS GONZALEZ         ADDRESS ON FILE
GRACIANO, SIMON J                ADDRESS ON FILE
GRACIAS AMBULANCE                P.O. BOX 795                                                                                            HORMIGUEROS     PR      00660‐0795
GRACIAS REYES, MARCOS A.         ADDRESS ON FILE
GRACIAS REYES, MARCOS A.         ADDRESS ON FILE
GRACIE SQUARE HOSPITAL           420 E 76TH ST                                                                                           NEW YORK        NY      10021
GRACIELA CRESPO PENA             ADDRESS ON FILE
GRACIELA CRUZ GARCIA             ADDRESS ON FILE
GRACIELA CRUZ MARCUCCI           ADDRESS ON FILE
GRACIELA DEL VALLE GONZALEZ      ADDRESS ON FILE
GRACIELA DIAZ                    ADDRESS ON FILE
GRACIELA DIAZ MARQUEZ            ADDRESS ON FILE
GRACIELA DIAZ ROSADO             ADDRESS ON FILE
GRACIELA E. MARRERO              ADDRESS ON FILE
GRACIELA GONZALEZ MONTALVO       LCDO. JOSE RAUL PEREZ AYALA    ASOCIACIÓN DE EMPLEADOS OFICINA DE ASUNTOS LEGALES PO BOX 70199          SAN JUAN        PR      00936‐8190
GRACIELA M CANTO DE SALCEDO      ADDRESS ON FILE
GRACIELA M GOICOECHEA LAMOUTTE   ADDRESS ON FILE
GRACIELA M MARGOLLA COLL         ADDRESS ON FILE
GRACIELA MONTALVO LOPEZ          ADDRESS ON FILE
GRACIELA PERELES FALU            ADDRESS ON FILE
GRACIELA PEREZ ROLON             ADDRESS ON FILE
GRACIELA PEROZA CARILLO          ADDRESS ON FILE
GRACIELA PLAUD SANCHEZ           ADDRESS ON FILE
GRACIELA PLAUD SANCHEZ           ADDRESS ON FILE
GRACIELA QUINONES ORTIZ          ADDRESS ON FILE
GRACIELA RIVERA DE LEON          ADDRESS ON FILE
GRACIELA RIVERA DE QUINONEZ      ADDRESS ON FILE
GRACIELA RODRIGUEZ LUCRET        ADDRESS ON FILE
GRACIELA ROSARIO RAMOS           ADDRESS ON FILE
GRACIELA SANTIAGO GONZALEZ       ADDRESS ON FILE
GRACIELA SANTIAGO VEGA           ADDRESS ON FILE
GRACIELA SUSAETA                 LCDA. TANIA SERRANO            PO BOX 7041                                                              CAGUAS          PR      00726‐7041
GRACIELA SUSAETA                 LCDA. TANIA SERRANO GONZÁLEZ   PO Box 7041                                                              CAGUAS          PR      00726‐7041
GRACIELA TORRES FIGUEROA         ADDRESS ON FILE
GRACIELA VAZQUEZ LAGOMARSINI     ADDRESS ON FILE
GRACIELA VEGA BOSCANA            ADDRESS ON FILE
GRACIELA VELEZ RAMIREZ           ADDRESS ON FILE
GRACIELA VILLEGAS M              ADDRESS ON FILE
GRACIELYS MORA NIN               ADDRESS ON FILE




                                                                                           Page 3466 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                         Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3467 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                     Address1                              Address2                                   Address3   Address4   City              State   PostalCode   Country
GRACILIANA RODRIGUEZ GONZALEZ     ADDRESS ON FILE
GRACILIANO ODIOTT GUTIERREZ       ADDRESS ON FILE
GRACIRIS Y ESTRADA RODRIGUEZ      ADDRESS ON FILE
GRACY ROLDAN RODRIGUEZ            ADDRESS ON FILE
GRADUATE SCHOOL USA               600 MARYLAND AVENUE,                  SW, rOOM 180                                                     WASHINGTON        DC      20024
GRADY MEMORIAL HOSPITAL           PO BOX 409822                                                                                          ATLANTA           GA      30384‐9822
GRAF PEREIRA, DOREEN              ADDRESS ON FILE
GRAFAL QUINONES, JOSE J.          ADDRESS ON FILE
GRAFALS CALERO, REBECA            ADDRESS ON FILE
GRAFALS CRUZ, ANSELMO E           ADDRESS ON FILE
GRAFALS CRUZ, CARMEN A.           ADDRESS ON FILE
GRAFALS FONT, AWILDA              ADDRESS ON FILE
GRAFALS FONT, MILAGROSA           ADDRESS ON FILE
GRAFALS GONZALEZ, EDNAIDA         ADDRESS ON FILE
GRAFALS HERNANDEZ, MARIA          ADDRESS ON FILE
GRAFALS MARTI, FELIX A            ADDRESS ON FILE
Grafals Medina, Ramon             ADDRESS ON FILE
GRAFALS MEDINA, RAMON             ADDRESS ON FILE
GRAFALS MEDINA, YAMILLET          ADDRESS ON FILE
GRAFALS MILAN, SANDRA I           ADDRESS ON FILE
GRAFALS PEREZ, CHRISTIAN          ADDRESS ON FILE
GRAFALS RAMOS, ELBA               ADDRESS ON FILE
GRAFALS RAMOS, MILDRED            ADDRESS ON FILE
GRAFALS RIVERA, ALEXANDER         ADDRESS ON FILE
GRAFALS RIVERA, JOALISSE          ADDRESS ON FILE
GRAFALS RODRIGUEZ, MARTA          ADDRESS ON FILE
GRAFALS ROSADO, ELVIS             ADDRESS ON FILE
GRAFALS SANTIAGO, YANITZIA        ADDRESS ON FILE
GRAFALS VILLANUEVA, OMAYRA        ADDRESS ON FILE
GRAFICA                           504 CALLE FERNANDO CALDER                                                                              SAN JUAN          PR      00918‐2753
GRAFICENTRO                       AVE LAS PALMAS 951 ESQ HOARE PDA 14                                                                    MIRAMAR           PR      00907
GRAFICOM                          P O BOX 9206                                                                                           SAN JUAN          PR      00908‐0206
Graficos Shakti, Inc.             Po Box 6331                                                                                            Mayaguez          PR      00681
GRAFIK ARTE                       BO HATO ARRIBA                        490 CARR 129 INT                                                 ARECIBO           PR      00612
GRAFOR, INC.                      1360 CASTELLANA, LA RAMBLA                                                                             PONCE             PR      00730‐4054
GRAGINEREZ GONZALEZ, GLENDA       ADDRESS ON FILE
GRAGIRENE DELGADO, MIGUEL         ADDRESS ON FILE
GRAGIRENE PIZARRO, KARINA         ADDRESS ON FILE
GRAGIRENE QUINONES, CARMEN        ADDRESS ON FILE
GRAGIRENES CASTRO, ALICIA         ADDRESS ON FILE
GRAGIRENES GELY, ELISABET         ADDRESS ON FILE
GRAHAM A CASTILLO SANTIAGO        ADDRESS ON FILE
GRAHAM BARNES, GRAIG              ADDRESS ON FILE
GRAHAM CECILIO, RENE              ADDRESS ON FILE
GRAHAM PEREZ, DELMA               ADDRESS ON FILE
GRAHAM SIERRA, ADRIAN B.          ADDRESS ON FILE
GRAHAM URDAZ, IVONNE D            ADDRESS ON FILE
GRAHAM UROLOGICAL CENTER          MEDICAL RECORDS                       35 CASTLE COAKLEY                          STE 5                 CHRISTIANSTED     VI      00820
GRAHAM, MARK                      ADDRESS ON FILE
GRAICY ROSADO MENDEZ              ADDRESS ON FILE
GRAINGER                          AVE LOS CONQUISTADORES                                                                                 CATANO            PR      00962
GRAINGER CARIBE                   BOX 105 AVE LOS CONQUISTADORES                                                                         CATANO            PR      00962
GRAINGER CARIBE CO                105 AVE CONQUISTADORES                                                                                 CATAÐO            PR      00962‐6774
GRAINGER CARIBE CO                105 AVE CONQUISTADORES                                                                                 CATANO            PR      00962‐6774
GRAINGER CARIBE CO                105 AVE CONQUISTADORES C                                                                               CATANO            PR      00962‐6774
GRAINGER CARIBE CO                ALTURAS DE MAYAGUEZ                   AVE ALGARROBO                                                    MAYAGUEZ          PR      00680
GRAINGER CARIBE CO                AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                        SAN JUAN          PR      00902‐4140
GRAINGER CARIBE INC               105 AVE CONQUISTADORES                                                                                 CATANO            PR      00962
GRAINGER INDUSTRIAL SEC SOC INC   2 AVE MARTINEZ NADAL                                                                                   GUAYNABO          PR      00968‐0000
GRAINGER INDUSTRIAL SEC SOC INC   PO BOX 2478                                                                                            GUAYNABO          PR      00970‐0000




                                                                                                    Page 3467 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3468 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                      Creditor Matrix

Creditor Name                           Address1                                 Address2                          Address3              Address4   City         State   PostalCode   Country
GRAJALES ABREU, LISSETTE                ADDRESS ON FILE
GRAJALES ACEVEDO, MIGUEL A              ADDRESS ON FILE
GRAJALES ALVAREZ, MARIA E.              ADDRESS ON FILE
GRAJALES ALVAREZ, MARIA E.              ADDRESS ON FILE
GRAJALES BURGOS, SANDRA I               ADDRESS ON FILE
GRAJALES CARBONELL, LIBERTAD            ADDRESS ON FILE
GRAJALES CARDONA, DANIEL                ADDRESS ON FILE
Grajales Cardona, Jorge                 ADDRESS ON FILE
GRAJALES CARDONA, JORGE                 ADDRESS ON FILE
GRAJALES CARDONA, SONIA                 ADDRESS ON FILE
GRAJALES DE JESUS, CARMEN               ADDRESS ON FILE
GRAJALES DIAZ, LOURDES                  ADDRESS ON FILE
GRAJALES DIAZ, LOURDES                  ADDRESS ON FILE
GRAJALES DOMENECH, FELIX                ADDRESS ON FILE
GRAJALES DOMENECH, JAVIER               ADDRESS ON FILE
GRAJALES FELICIANO, OLGA                ADDRESS ON FILE
GRAJALES FERNANDEZ, JOSE                ADDRESS ON FILE
GRAJALES GARCIA, JOSE A                 ADDRESS ON FILE
GRAJALES GARCIA, SONIA                  ADDRESS ON FILE
GRAJALES GARCIA, SONIA                  ADDRESS ON FILE
GRAJALES GONZALEZ, DAIBELIS             ADDRESS ON FILE
GRAJALES GONZALEZ, JOAQUIN              ADDRESS ON FILE
GRAJALES GONZALEZ, JOSE                 ADDRESS ON FILE
GRAJALES GONZALEZ, JOSELITO             ADDRESS ON FILE
GRAJALES GONZALEZ, LIBERTAD             ADDRESS ON FILE
GRAJALES GONZALEZ, MARIA A              ADDRESS ON FILE
GRAJALES GRAJALES, LETICIA              ADDRESS ON FILE
GRAJALES GRAJALES, MAGALI E.            ADDRESS ON FILE
GRAJALES HASSELL, MARCUS                ADDRESS ON FILE
GRAJALES HERNANDEZ, NANCY               ADDRESS ON FILE
Grajales Hernandez, Ruth                ADDRESS ON FILE
GRAJALES LOPEZ, HILDA                   ADDRESS ON FILE
GRAJALES LORENZO, MARIBEL               ADDRESS ON FILE
GRAJALES LORENZO, MARIBEL               ADDRESS ON FILE
GRAJALES MD, BENJAMIN                   ADDRESS ON FILE
GRAJALES MELENDEZ, MARIA M              ADDRESS ON FILE
GRAJALES MENDEZ, OSWALD                 ADDRESS ON FILE
GRAJALES MERCADO, ALEJANDRO L.          ADDRESS ON FILE
GRAJALES MONTANEZ, WILMA E              ADDRESS ON FILE
GRAJALES NIGLIAGLONI JOSEFINA Y OTROS   650 PLAZA SUITE 204                      AVE MUÑOZ RIVERA                                                   SAN JUAN     PR      00918
                                                                                                                   FERNANDEZ JUNCOS
GRAJALES NIGLIAGLONI JOSEFINA Y OTROS   LCDO. MIGUEL LAFFITE                     PO BOX 11750                      STATION                          SAN JUAN     PR      00910‐1750
GRAJALES NIGLIAGLONI JOSEFINA Y OTROS   LCDO. PEDRO RUIZ, LCDA. YOIRA CALDERÓN   PO BOX 190879                                                      SAN JUAN     PR      00919‐0879
GRAJALES NIGLIAGLONI JOSEFINA Y OTROS   LCDO. ROBERTO REYES LÓPEZ                URB. EL VEDADO                    207 PADRE LAS CASAS              SAN JUAN     PR      00918
GRAJALES NIGLIAGLONI JOSEFINA Y OTROS   LCDO. VÍCTOR CASAL VÁZQUEZ               PO BOX 363527                                                      SAN JUAN     PR      00936‐3527
GRAJALES ORTIZ,ANGEL                    ADDRESS ON FILE
GRAJALES PADILLA, ADELAIDA              ADDRESS ON FILE
GRAJALES PEREZ, CARMEN M.               ADDRESS ON FILE
GRAJALES PEREZ, ERIKA I                 ADDRESS ON FILE
GRAJALES PEREZ, LUIS                    ADDRESS ON FILE
GRAJALES PEREZ, MAYRA                   ADDRESS ON FILE
GRAJALES PEREZ, RALPH                   ADDRESS ON FILE
GRAJALES RIVERA, ALBERT                 ADDRESS ON FILE
GRAJALES RIVERA, GIOVANNIE A            ADDRESS ON FILE
GRAJALES RODRIGUEZ, ANIBAL              ADDRESS ON FILE
GRAJALES RODRIGUEZ, CARMEN M            ADDRESS ON FILE
GRAJALES RODRIGUEZ, HECTOR L            ADDRESS ON FILE
GRAJALES RODRIGUEZ, IVETTE              ADDRESS ON FILE
Grajales Rodriguez, Jose C              ADDRESS ON FILE
GRAJALES RODRIGUEZ, SAMUEL              ADDRESS ON FILE




                                                                                                    Page 3468 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3469 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                             Creditor Matrix

Creditor Name                          Address1                      Address2                             Address3   Address4   City             State   PostalCode   Country
GRAJALES ROSARIO, LUZ S.               ADDRESS ON FILE
GRAJALES ROSARIO, MILDRED              ADDRESS ON FILE
GRAJALES SAGARDIA, BRIAN               ADDRESS ON FILE
GRAJALES SOLA, JONATHAN                ADDRESS ON FILE
GRAJALES SOTO, ELSIE I                 ADDRESS ON FILE
GRAJALES TIRADO, BRENDA                ADDRESS ON FILE
GRAJALES TORRUELLA, TATIANA            ADDRESS ON FILE
GRAJALES TORRUELLA, TATIANA M.         ADDRESS ON FILE
GRAJALES VILLANUEVA, VILMA N.          ADDRESS ON FILE
GRAJALES YOLANDA, YOLANDA              ADDRESS ON FILE
GRAJEWSKI, RICHARD                     ADDRESS ON FILE
GRAJIRENE JIMENEZ, ZORAYA              ADDRESS ON FILE
GRAJIRENE JUMENEZ, JULISSA             ADDRESS ON FILE
GRALDINE A VIDAL COVAS                 ADDRESS ON FILE
GRAMAS DE BORINQUEN INC                HC 3 BOX 11500                                                                           GURABO           PR      00778
GRAMAS DEL VALLE                       PO BOX 353                                                                               ANASCO           PR      00610
GRAMAS LINDAS SE                       PO BOX 190476                                                                            SAN JUAN         PR      00919‐0476
GRAMEEN PUERTO RICO LLC                1500 AVE. PONCE DE LEON       PDA. 22 BUILDING                                           SAN JUAN         PR      00909
GRAMIE RULLAN MELENDEZ                 ADDRESS ON FILE
GRAMIED RIVERA ROMAN                   ADDRESS ON FILE
GRAN CENTRAL AUTO SALES INC            P O BOX 2500                                                                             TOA BAJA         PR      00951‐2500
GRAN LOGIA SOBERANA DE PR              PO BOX 6088                                                                              AGUADILLA        PR      00604
GRAN MELIA RESORT                      URB COCO BEACH 200 CARR 968                                                              RIO GRANDE       PR      00745‐4660
GRAN POWER GENERAL CONSTRUCTION        P O BOX 334012                                                                           PONCE            PR      00733
GRANA CASANOVA, ALBERTO                ADDRESS ON FILE
GRANA FELIU, HEIDY                     ADDRESS ON FILE
GRANA HERNANDEZ, JOEN A                ADDRESS ON FILE
GRANA MARTINEZ, GRACE                  ADDRESS ON FILE
GRANA MORALES, CARLOS G.               ADDRESS ON FILE
GRANA RAFFUCCI, FELIX                  ADDRESS ON FILE
GRANA RAFFUCCI, FELIX A.               ADDRESS ON FILE
GRANA RIVERA, GUSTAVO                  ADDRESS ON FILE
GRANA RODRIGUEZ, JOSE                  ADDRESS ON FILE
GRANA RODRIGUEZ, WILFREDO              ADDRESS ON FILE
GRANA RUTLEDGE, DAVID                  ADDRESS ON FILE
GRANA RUTLEDGE, JOHNNY                 ADDRESS ON FILE
GRANA SANTIAGO, ALBERTO                ADDRESS ON FILE
GRANA SANTIAGO, LUIS                   ADDRESS ON FILE
GRANADO BLANCO, CESAR J                ADDRESS ON FILE
GRANADO MORALES, JUDITH                ADDRESS ON FILE
GRANADO MORALES, RAFAEL                ADDRESS ON FILE
Granado Morales, Rafael A              ADDRESS ON FILE
GRANADO OQUENDO, DAVID                 ADDRESS ON FILE
GRANADO RODRIGUEZ, NIVIA               ADDRESS ON FILE
GRANADO SANTOS, FRANCISCO A            ADDRESS ON FILE
GRANADO SOTO, YVONNE                   ADDRESS ON FILE
GRANADOS GONZALEZ MD, PEDRO            ADDRESS ON FILE
GRANADOS GONZALEZ, PEDRO A.            ADDRESS ON FILE
GRANADOS NAVEDO, JOSE                  ADDRESS ON FILE
GRANADOS PAGAN, MARTA IVETTE           ADDRESS ON FILE
GRANADOS QUESADA, ERICKA               ADDRESS ON FILE
GRANADOS SAGARDIA, ESTHER              ADDRESS ON FILE
GRAND CUISINE                          PO BOX 10803                                                                             SAN JUAN         PR      00922
GRAND HOME REAL STATE CORP             URB ALTAMIRA                  612 CALLE ALDEBARAN                                        SAN JUAN         PR      00920
GRAND NEW OFFICE INDUSTRY INC          PO BOX 3060                                                                              CAROLINA         PR      00984
GRAND POWER GENERAL CONSTRUCTION CORP. CALLE 12 DE OCTUBRE # 48                                                                 PONCE            PR      00731‐0000
GRAND RIVER HEALTH                     501 AIRPORT RD                                                                           RIFLE            CO      81650
GRAND STRAND SPINE AND NEURO CTR       MEDICAL RECORDS               8170 ROURK STREET                                          MYRTLE BEACH     SC      29572
GRAND VIEW HOSPITAL                    7000 LAWN AVE                                                                            SELLERSVILLE     PA      18960‐1576
GRANDA AYALA, DELFINA                  ADDRESS ON FILE




                                                                                           Page 3469 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3470 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                            Creditor Matrix

Creditor Name                     Address1                         Address2                              Address3   Address4   City              State   PostalCode   Country
GRANDE HERNANDEZ, ROSA            ADDRESS ON FILE
GRANDE PEREZ, LIANY               ADDRESS ON FILE
GRANDONE CRUZ, MERCEDES           ADDRESS ON FILE
GRANDONE GODREAU, MARIE           ADDRESS ON FILE
GRANDONE GODREAU, MELANIE         ADDRESS ON FILE
GRANELA BONILLA, AIDALIS          ADDRESS ON FILE
GRANELA MERCADO, LYDIA            ADDRESS ON FILE
GRANELL IRIZARRY, ALICE           ADDRESS ON FILE
GRANELL MERLE, SHERRILYN          ADDRESS ON FILE
GRANELL QUINTANA, ELVIRA          ADDRESS ON FILE
Granell Reyes, Raymond            ADDRESS ON FILE
GRANELL RODRIGUEZ, GLORIA         ADDRESS ON FILE
GRANELL WHATTS, EDITH             ADDRESS ON FILE
GRANIELA ACOSTA, SEGUNDO          ADDRESS ON FILE
GRANIELA AGUILAR, LIZANETTE       ADDRESS ON FILE
GRANIELA AGUILAR, MARLYN L        ADDRESS ON FILE
GRANIELA LARACUENTE, BRENDA       ADDRESS ON FILE
GRANIELA LOYOLA, MICHELLE         ADDRESS ON FILE
GRANIELA LUGO, JORGE A.           ADDRESS ON FILE
GRANIELA MATOS, JOSE N.           ADDRESS ON FILE
GRANIELA MATOS, MIGDALY           ADDRESS ON FILE
Graniela Rodriguez, Carlos        ADDRESS ON FILE
GRANIELA RODRIGUEZ, EDWIN         ADDRESS ON FILE
GRANIELA VEGA, LOURDES            ADDRESS ON FILE
GRANIELLY E FELIZ SAGRANEZ        ADDRESS ON FILE
Granite Telecommunications, LLC   100 Newport Avenue Extension                                                                 Quincy            MA      02171
GRANJA AVICOLA COLON              PO BOX 188                                                                                   AIBONITO          PR      00612
GRANJA AVICOLA PUJOLS CORP        P O BOX 2916                                                                                 SAN SEBASTIAN     PR      00685
GRANO DE ORO PACHECO, MAYDA       ADDRESS ON FILE
GRANT AGRON, LOURDES              ADDRESS ON FILE
GRANT AGRONT, LISSETTE            ADDRESS ON FILE
GRANT ALLENDE, NYLVIA             ADDRESS ON FILE
GRANT BASSAT, RAUL                ADDRESS ON FILE
GRANT BONILLA, MILY E.            ADDRESS ON FILE
GRANT CAMPOS, ANDY                ADDRESS ON FILE
Grant Espinosa, Rafael            ADDRESS ON FILE
GRANT GONZALEZ, SILVIA            ADDRESS ON FILE
GRANT GROENNOV, PEDRO A.          ADDRESS ON FILE
GRANT MD, CATHAL                  ADDRESS ON FILE
GRANT RODRIGUEZ, LEWIS            ADDRESS ON FILE
GRANT SANTANA, LYDIA M            ADDRESS ON FILE
GRANT, NORMAN                     ADDRESS ON FILE
GRANTHAN LUGO, DENISE Y           ADDRESS ON FILE
GRAPE CORPORATION                 P O BOX 70171 PMB 351                                                                        SAN JUAN          PR      00936‐8171
GRAPHIC ARTTIZ                    VILLA TURABO                     G 15 CALLE FLAMBOYAN                                        CAGUAS            PR      00725
GRAPHIC PRINTING & DESIGN         PMB 325 35 JUAN C DE BORBON 67                                                               GUAYNABO          PR      00969
GRAPHICS ART PRINTING INC         LAS LOMAS                        856 CALLE 31 SO                                             SAN JUAN          PR      00921
GRAPHITEK                         76 URB ESTANCIAS DE PUMAREJO                                                                 COROZAL           PR      00783
GRASSETTE MELENDEZ MD, WILLIAM    ADDRESS ON FILE
GRATACOS ALONSO, YOLANDA          ADDRESS ON FILE
GRATACOS ARILL, MICHELLE          ADDRESS ON FILE
GRATACOS LOYOLA, MIGUEL           ADDRESS ON FILE
GRATACOS MORALES, ANGEL           ADDRESS ON FILE
GRATACOS PEREZ, CARMEN            ADDRESS ON FILE
GRATACOS RODRIGUEZ, MARIA M       ADDRESS ON FILE
GRATACOS ROSADO, BENJAMIN         ADDRESS ON FILE
GRATACOS ROSARIO, ISA             ADDRESS ON FILE
GRATACOS SERRANO, JACKELINE       ADDRESS ON FILE
GRATACOSS ARILL, MICHELLE         ADDRESS ON FILE
GRATEROLE HERNANDEZ, AGUSTIN      ADDRESS ON FILE




                                                                                          Page 3470 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3471 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GRATEROLE, HAYDEE               ADDRESS ON FILE
GRATEROLES CORREA, ELIANA       ADDRESS ON FILE
GRATTON, JAMES                  ADDRESS ON FILE
GRAU ACOSTA, EDUARDO            ADDRESS ON FILE
GRAU APONTE, WALESKA            ADDRESS ON FILE
GRAU ARCE, ERNESTO              ADDRESS ON FILE
GRAU BURGOS, SHARON             ADDRESS ON FILE
GRAU CAMACHO, VIALYNNES         ADDRESS ON FILE
GRAU CESANI, LILIANA            ADDRESS ON FILE
Grau Colon, Kevin E             ADDRESS ON FILE
GRAU CONTRERAS, ELOISA          ADDRESS ON FILE
GRAU DAVILA, ROSA               ADDRESS ON FILE
GRAU DE JESUS, ILEANA           ADDRESS ON FILE
GRAU DE JESUS, ILEANA L.        ADDRESS ON FILE
GRAU DE LEON, CARMELO           ADDRESS ON FILE
GRAU DECLET, ELIZABETH          ADDRESS ON FILE
GRAU GRAU, MARIE I              ADDRESS ON FILE
GRAU HERNANDEZ, CAROL           ADDRESS ON FILE
GRAU MAGAT, MARITZA             ADDRESS ON FILE
GRAU MORALES, ARLEEN            ADDRESS ON FILE
GRAU MORALES, CARMEN            ADDRESS ON FILE
GRAU MORALES, CARMEN            ADDRESS ON FILE
GRAU MORALES, MARIAM I.         ADDRESS ON FILE
GRAU MORALES, SOCORRO           ADDRESS ON FILE
GRAU ORTIZ, CARMEN D            ADDRESS ON FILE
GRAU ORTIZ, EYLA                ADDRESS ON FILE
GRAU ORTIZ, JOSE                ADDRESS ON FILE
GRAU ORTIZ, RAMON               ADDRESS ON FILE
Grau Otero, Juan E              ADDRESS ON FILE
GRAU PABON MD, IRIS             ADDRESS ON FILE
GRAU PABON, IRIS                ADDRESS ON FILE
GRAU PEDRAZA, JOSE              ADDRESS ON FILE
GRAU RAMOS, RAFAEL              ADDRESS ON FILE
Grau Rivera, Angel M            ADDRESS ON FILE
GRAU RIVERA, ERNESTO            ADDRESS ON FILE
Grau Rivera, Ernesto L          ADDRESS ON FILE
GRAU RIVERA, IRIS M             ADDRESS ON FILE
Grau Rivera, Tomas              ADDRESS ON FILE
GRAU ROSA, NELLY                ADDRESS ON FILE
GRAU SANTA, AIXA S              ADDRESS ON FILE
GRAU SANTA, EDGARDO             ADDRESS ON FILE
GRAU SANTIAGO, ANGEL            ADDRESS ON FILE
GRAU SANTIAGO, ANGELES          ADDRESS ON FILE
GRAU SANTIAGO, GLORIA           ADDRESS ON FILE
GRAU SOTOMAYOR, BRENDALIZ       ADDRESS ON FILE
GRAU VELAZQUEZ, FRANCISCO       ADDRESS ON FILE
GRAULAU ACOSTA, GILBERTO        ADDRESS ON FILE
GRAULAU ALVAREZ, EDUARDO        ADDRESS ON FILE
Graulau Alvarez, Janira         ADDRESS ON FILE
GRAULAU CARMONA, JOSE           ADDRESS ON FILE
GRAULAU CARMONA, ZARIONAYRA     ADDRESS ON FILE
GRAULAU CLASS, JUAN             ADDRESS ON FILE
Graulau Class, Juan A           ADDRESS ON FILE
Graulau Collazo, Jose L         ADDRESS ON FILE
GRAULAU HEREDIA, JULIETTE       ADDRESS ON FILE
GRAULAU HERNANDEZ, JEANETTE E   ADDRESS ON FILE
GRAULAU HERNANDEZ, JEANNETTE    ADDRESS ON FILE
GRAULAU IGARTUA, CAMILLE        ADDRESS ON FILE
GRAULAU IGARTUA, LEYLA I        ADDRESS ON FILE
GRAULAU JIMENEZ, CARLOS         ADDRESS ON FILE




                                                                            Page 3471 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3472 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                           Address1                                      Address2                              Address3       Address4   City           State   PostalCode   Country
GRAULAU MALDONADO, YELITZA B            ADDRESS ON FILE
Graulau Martinez, Viviana               ADDRESS ON FILE
Graulau Matos, Luis                     ADDRESS ON FILE
GRAULAU MENDEZ, CARLOS                  ADDRESS ON FILE
GRAULAU QUINONEZ, MARIA                 ADDRESS ON FILE
Graulau Ramos, Ferdinand                ADDRESS ON FILE
GRAULAU RAMOS, FERDINAND                ADDRESS ON FILE
GRAULAU RIVERA, BIANCA                  ADDRESS ON FILE
GRAULAU RODRÍGUEZ JOSUÉ                 ADDRESS ON FILE
GRAULAU ROSARIO, VICENTE                ADDRESS ON FILE
GRAULAU ROSARIO, VICENTE                ADDRESS ON FILE
GRAULAU ROSARIO, VICENTE                ADDRESS ON FILE
GRAULAU SANTIAGO, JOSE                  ADDRESS ON FILE
GRAULAU SERRANO, CARMEN                 ADDRESS ON FILE
GRAULAU SERRANO, CARMEN M.              ADDRESS ON FILE
GRAULAU, FRANKLYN                       ADDRESS ON FILE
GRAVERO & FERRETERIA NALES, INC.        Hc 01 Box 8728                                                                                                VIEQUES        PR      00765
GRAVERO DONATO, INC.                    LIC. JOSE R. GONZALEZ RIVERA ‐ ABOGADO DEMAPO BOX 10242                                                       HUMACAO        PR      00792
GRAVERO INVERSIONES DEL TOA INC         PO BOX 2435                                                                                                   BAYAMON        PR      00960
GRAVES MILLER, DYLAN                    ADDRESS ON FILE
GRAVIC, INC                             17 GENERAL WARREN BLVD                                                                                        MALVERN        PA      19355
GRAVOGRAPH NEW HERMES                   A 16 COND VILLAS ISLA VERDE                                                                                   CAROLINA       PR      00979
GRAW FELICIANO, MARIBEL                 ADDRESS ON FILE
GRAW GONZALEZ, MYRMARIE                 ADDRESS ON FILE
GRAXIRENA RIVERA, VALERIE               ADDRESS ON FILE
GRAY BAR INT`L                          GPO BOX 366261                                                                                                SAN JUAN       PR      00936‐6261
GRAY MD, MARLENE                        ADDRESS ON FILE
GRAY, DYLAN                             ADDRESS ON FILE
GRAYBAR INTERNATIONAL                   FINANCIAL REPORTING                           34 N MERAMEC AVENUE                                             CLAYTON        MO      63105
GRAYLLIE FLORES RONDON                  ADDRESS ON FILE
GRAYS AYALA CASTRO                      ADDRESS ON FILE
GRAZIANI BALLARD, GRISELLE              ADDRESS ON FILE
GRAZIANI IRIZARRY, JOSE RAMON           ADDRESS ON FILE
GRAZIANI IRIZARRY, JOSE U.              ADDRESS ON FILE
GRAZIANI NAZARIO, EDGARDO               ADDRESS ON FILE
Great American Insurance Company        301 E Fourth Street                                                                                           Cincinnati     OH      45202
Great American Insurance Company        Attn: Carl H. Linder III, President           301 E. Fourth Srteet                                            Cincinnati     OH      45202
Great American Insurance Company        Attn: Lisa Pennekamp, Premiun Tax Contact     301 E. Fourth Srteet                                            Cincinnati     OH      45202
Great American Insurance Company        Attn: LIsa Pennekamp, Regulatory Compliance Go301 E. Fourth Srteet                                            Cincinnati     OH      45202
Great American Insurance Company        Attn: Robert Schwartz, Vice President         301 E. Fourth Srteet                                            Cincinnati     OH      45202
Great American Insurance Company        Attn: Roger Athmer, Circulation of Risk       301 E. Fourth Srteet                                            Cincinnati     OH      45202
Great American Insurance Company        c/o Customer Coordinator, Consumer Complaint 301 E. Fourth Srteet                                             Cincinnati     OH      45202
GREAT AMERICAN INSURANCE COMPANY        PO BOX 2575                                                                                                   CINCINNATI     OH      42501‐2575
GREAT AMERICAN LIFE ASSURANCE           PO BOX 363786                                                                                                 SAN JUAN       PR      00936‐3786
GREAT AMERICAN LIFE INSURANCE COMPANY   PO BOX 5420                                                                                                   CINCINNATI     OH      45201‐5420
GREAT CARIBBEAN INVESTMENTS             PO BOX 195196                                                                                                 SAN JUAN       PR      00919‐5196
GREAT EDUCATIONAL SERVICES, CORP.       AVE PINERO 1580                                                                                               SAN JUAN       PR      00922
GREAT EDUCATIONAL SERVICES, CORP.       AVE. PINERO 1578‐A                                                                                            SAN JUAN       PR      00921
GREAT EDUCATIONAL SERVICES, CORP.       Y BANCO DE DESARROLLO ECOMONICO PARA P.RPO BOX 2134                                                           SAN JUAN       PR      00922‐2134
GREAT EDUCATIONAL SERVICES, CORP.       Y BANCO DE DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                           SAN JUAN       PR      00922‐2134
GREAT EDUCATIONAL SERVICES, CORP.       Y BANCO DESARROLLO ECONOMICO PARA PR PO BOX 2134                                                              SAN JUAN       PR      00922‐2134
GREAT LAKES HIGHER ED.                  DEPARTAMENTO DE HACIENDA                                                                                      SAN JUAN       PR      00901
GREAT LAKES HIGHER ED.                  ECMC MN                                       LOCKBOX 7096                          PO BOX 16478              ST PAUL        MN      55116‐0478
GREAT LAKES HIGHER ED.                  PO BOX 15109                                                                                                  WILMINGTON     DE      19850‐5109
GREAT LAKES HIGHER ED.                  PO BOX 15520                                                                                                  WILMINGTON     DE      19850
GREAT LAKES HIGHER ED.                  PO BOX 9055                                                                                                   PLEASANTON     CA      94566‐9055
GREAT LAKES HIGHER ED.                  PO BOX 929                                                                                                    BROOKFIELD     WI      53008‐0929
GREAT LAKES HIGHER EDUCATION            CORPORATION & AFFILIATES                      P O BOX 7860                                                    MADISON        WI      53707‐7860
GREAT LAKES PATHOLOGISTS                P O BOX 78420                                                                                                 MILWAUKEE      WI      53278‐0420
GREAT MINDS OF PUERTO RICO              PO BOX 660                                                                                                    GURABO         PR      00778




                                                                                                             Page 3472 of 10031
                                               Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                  The Commonwealth of Puerto Rico
                                                                                                                                                                                           Desc:
                                                               Exhibit A-1 - Creditor     Matrix
                                                                                    Case No.              Page 3473 of 3500
                                                                                             17 BK 3283‐LTS
                                                                                                                            Creditor Matrix

Creditor Name                           Address1                                          Address2                                         Address3               Address4   City                State   PostalCode   Country
GREAT PACK OF PUERTO RICO INC           P O BOX 11967                                                                                                                        SAN JUAN            PR      00922
GREAT WEST LIFE & ANNUITY INSURANCE CO  PO BOX 38699                                                                                                                         COLORADO SPRINGS    CO      80937
GREAT WORLD EVENTS                      PO BOX 9009                                                                                                                          SAN JUAN            PR      00908
GREATER ATLANTA NEUROSURGERY PC         550 PEACHTREE STREET NE                           SUITE 1577                                                                         ATLANTA             GA      30308‐2254
GREATER BRIDGEPORT COM MENTAL HEALTH CT 1635 CENTRAL AVE                                                                                                                     BRIDGEPORT          CT      06610
GREATER CHESAPEAKE HANDS SPECIALISTS PA 600 N. JACKSON STREET                             SUITE 104                                                                          MEDIA               PA      19063
GREATER HARTFORD ORTHOPEDIC GROUP       113 ELM STREET                                    SUITE 203                                                                          ENFIELD             CT      06082

GREATER LAWRANCE FAMILY HEALTH CENTER IN 439 SOUTH UNION STREET                           SUITE 212                                        MEDICAL RECORDS DEPT              LAWRENCE            MA      01843
GREATER LAWRENCE FAMILY HEALTH CENTER 150 PARK ST                                                                                                                            LAWRENCE            MA      01841
GREATER LAWRENCE FAMILY HEALTH CENTER 700 ESSEX ST                                                                                                                           LAWRENCE            MA      01840
                                                                                                                                           2350 SCHILLINGUER
GREATER MOBILE URGENT CARE                  MEDICAL RECORDS                                SUITE A                                         ROAD SOUTH                        MOBILE              AL      36695‐4177
GREATER NEW BEDFORD COMMUNITY HEALTH CPO BOX 409822                                                                                                                          ATLANTA             GA      30384‐9822
GREATER ORLANDO HOSPITALIST                 MEDICAL RECORDS                                478 E ALTAMONTE DR STE 108                                                        ALTAMONTE SPRINGS   FL      32701
GREATER ROCHESTER ORTHOPAEDICS              30 HAGEN DR STE 220                                                                                                              ROCHESTER           NY      14625
GREATER SA ER PHYSICIANS                    PO BOX 2540                                                                                                                      SAN ANTONIO         TX      78299‐2540
Great‐West Life & Annuity Insurance         8515 E. Orchard Road                                                                                                             Greenwood Village   CO      80111
Great‐West Life & Annuity Insurance Company Attn: Beverly Byrne, Consumer Complaint Contac 8515 East Orchard Road 7 T 2                                                      Greenwood Village   CO      80111
Great‐West Life & Annuity Insurance Company Attn: Beverly Byrne, Regulatory Compliance Gove8515 East Orchard Road 7 T 2                                                      Greenwood Village   CO      80111
Great‐West Life & Annuity Insurance Company Attn: David Aspinwall, Circulation of Risk     8515 East Orchard Road 7 T 2                                                      Greenwood Village   CO      80111
Great‐West Life & Annuity Insurance Company Attn: Glen Derback, Vice President             8515 East Orchard Road 7 T 2                                                      Greenwood Village   CO      80111
Great‐West Life & Annuity Insurance Company Attn: Kara Roe, Vice President                 8515 East Orchard Road 7 T 2                                                      Greenwood Village   CO      80111
Great‐West Life & Annuity Insurance Company Attn: Lisa Rutledge, Premiun Tax Contact       8515 East Orchard Road 7 T 2                                                      Greenwood Village   CO      80111
GREAUX GOMEZ, ALEXANDER                     ADDRESS ON FILE
GREAUX GOMEZ, BRENDA                        ADDRESS ON FILE
GREAUX GOMEZ, MICHELLE                      ADDRESS ON FILE
GRECHEL E BAEZ MORALES                      ADDRESS ON FILE
GRECHEN MARIE MONSANTO MORALES              ADDRESS ON FILE
GRECHENMARIE BERIOS TORRES                  ADDRESS ON FILE
GRECIA M RODRIGUEZ QUIRINDONGO              ADDRESS ON FILE
GRECIA N TORRES OTERO                       ADDRESS ON FILE
GRECIA PICHARDO                             ADDRESS ON FILE
GRECIA SANTIAGO RIVERA                      ADDRESS ON FILE
GRECIA Y. SOSA COTES                        ADDRESS ON FILE
GRECIA Z ORTIZ ARROYO                       ADDRESS ON FILE
GRECIN D MARTINEZ DE DELGADO                ADDRESS ON FILE
GRECY LOPEZ CUESTA Y IRMA CUESTA V.         ADDRESS ON FILE
GRED PADILLA                                ADDRESS ON FILE
GREDUVEL DURAN GUZMAN                       ADDRESS ON FILE
GREEENE , THOMAS E                          ADDRESS ON FILE
GREEN ALVARADO, JOSE                        ADDRESS ON FILE
GREEN BARRAL, JOMARY I                      ADDRESS ON FILE
GREEN BERRIOS, BRENDA LIZ                   ADDRESS ON FILE
GREEN BERRIOS, ELVIS                        ADDRESS ON FILE
Green Berrios, Elvis R                      ADDRESS ON FILE
Green Bruno, Celso                          ADDRESS ON FILE
GREEN CACERES, ASTRID                       ADDRESS ON FILE
GREEN CACERES, ASTRID J.                    ADDRESS ON FILE
GREEN CACERES, GAMIOLY                      ADDRESS ON FILE
GREEN CACERES, GAMIOLY                      ADDRESS ON FILE
GREEN COLON, MICHAEL                        ADDRESS ON FILE
GREEN COLON, PEDRO L.                       ADDRESS ON FILE
GREEN COLON, RUBEN                          ADDRESS ON FILE
GREEN COLON, WILLIAM                        ADDRESS ON FILE
GREEN CORNER INC                            AVE MANUEL FERNANDEZ JUNCOS                                                              600                                     SAN JUAN            PR      00907
GREEN COTTO, JOANNE C                       ADDRESS ON FILE
GREEN CRESPO, JOSE                          ADDRESS ON FILE
GREEN DIAZ, LUIS                            ADDRESS ON FILE
GREEN EARTH LEAD ASBESTOS CONSULTANTS PO BOX 9300734                                                                                                                         SAN JUAN            PR      00928‐6134




                                                                                                                          Page 3473 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                      Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3474 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                    Creditor Matrix

Creditor Name                          Address1                    Address2                                      Address3   Address4   City             State   PostalCode   Country
GREEN ECHAVARRIA, VIVIAN S             ADDRESS ON FILE
GREEN ENERGY & FUELS INC               PO BOX 1157                                                                                     QUEBRADILLAS     PR      00678
GREEN ENERGY SYSTEMS CORP              P O BOX 2017 PMB 189                                                                            LAS PIEDRAS      PR      00771
GREEN FIELD MEDICAL FARM LLC           PO BOX 3187                                                                                     MAYAGUEZ         PR      00681
GREEN GARCIA, MARIA M                  ADDRESS ON FILE
GREEN GONZALEZ, OMAR                   ADDRESS ON FILE
GREEN HATS CORP                        URB CROWN HLS               138 AVENUE W CHURCHILL PMB 795                                      SAN JUAN         PR      00926‐6013
GREEN HERNANDEZ, CARMEN L              ADDRESS ON FILE
GREEN HERNANDEZ, MARGARITA             ADDRESS ON FILE
GREEN HERNANDEZ, PEDRO                 ADDRESS ON FILE
GREEN HOUSE CARE AND MANAGEMENT SERV INCOMUNIDAD ESTELA            3261 CALLE 2                                                        RINCON           PR      00677
GREEN HOUSE CARE AND MANAGEMENT SERVIC COM. ESTELA 3261            CALLE 2                                                             RINCON           PR      00677
GREEN HOUSE CARE AND MANAGMENT SERVICE COMUNIDAD ESTELLA           3261 CALLE 2                                                        RINCON           PR      00677
GREEN LAUREANO, NANCY I                ADDRESS ON FILE
GREEN LEON, RAMON L                    ADDRESS ON FILE
GREEN LEON, VICTOR R                   ADDRESS ON FILE
GREEN LIGHT INC.                       CALLE ESTACION 1‐B PMB‐85                                                                       VEGA ALTA        PR      00692‐0000
GREEN LIGHT PICTURES LLC               COND WINDMILLS              CALLE CERVANTES 11 SUITE 1 A                                        CONDADO          PR      00907
GREEN LIVING TECHNOLOGIES INC          PMB 554 1353 RD 19                                                                              GUAYNABO         PR      00966
GREEN LOPEZ, LILLIAM                   ADDRESS ON FILE
GREEN LOPEZ, MARISOL                   ADDRESS ON FILE
GREEN LOPEZ, PATRIA                    ADDRESS ON FILE
GREEN LUCIANO, IRIS                    ADDRESS ON FILE
GREEN LUCIANO, IRIS M                  ADDRESS ON FILE
Green Luciano, Iris M.                 ADDRESS ON FILE
GREEN LUCIANO, JAIME                   ADDRESS ON FILE
GREEN MALDONADO, JAIME                 ADDRESS ON FILE
Green Maldonado, William               ADDRESS ON FILE
GREEN MATOS, GRISALY                   ADDRESS ON FILE
GREEN MD, SCOTT                        ADDRESS ON FILE
GREEN MERCADO, GEISHA                  ADDRESS ON FILE
GREEN MERCED, LINDA                    ADDRESS ON FILE
GREEN MORALES, CARLOS                  ADDRESS ON FILE
GREEN MORALES, CARLOS A                ADDRESS ON FILE
GREEN MORALES, CELINES M               ADDRESS ON FILE
GREEN MORALES, JAIME JOSE              ADDRESS ON FILE
GREEN NEGRON, DARIA E                  ADDRESS ON FILE
GREEN ORTIZ, GLORIA M                  ADDRESS ON FILE
GREEN ORTIZ, LUZ M                     ADDRESS ON FILE
GREEN ORTIZ, PETER                     ADDRESS ON FILE
GREEN PACK OF PR INC                   PO BOX 11967                                                                                    SAN JUAN         PR      00922‐1967
GREEN PEREZ, CARMEN                    ADDRESS ON FILE
GREEN PEREZ, MICHELLE                  ADDRESS ON FILE
GREEN PEREZ, MICHELLE                  ADDRESS ON FILE
GREEN PEREZ, SULEIL                    ADDRESS ON FILE
GREEN PLANET AIR CONTRACTOR            PO BOX 1278                                                                                     GURABO           PR      00778
GREEN PLUGS NURSERY INC                HC 4 BOX 12503                                                                                  SAN GERMAN       PR      00683‐9491
GREEN RAMOS, CARLOS                    ADDRESS ON FILE
GREEN RAMOS, NORMA I                   ADDRESS ON FILE
GREEN REALTY TRUST INC                 ADDRESS ON FILE
GREEN REYES, MIGUEL                    ADDRESS ON FILE
GREEN RIOS, IRAIDA                     ADDRESS ON FILE
Green Rivera, Josue A.                 ADDRESS ON FILE
Green Rivera, Luis G                   ADDRESS ON FILE
GREEN RIVERA, WANDA                    ADDRESS ON FILE
GREEN RODRIGUEZ, ANGEL                 ADDRESS ON FILE
GREEN RODRIGUEZ, GLORIMAR              ADDRESS ON FILE
GREEN RODRIGUEZ, LOURDES DE L A        ADDRESS ON FILE
GREEN RODRIGUEZ, MARIBEL               ADDRESS ON FILE
GREEN RODRIGUEZ, MICHAEL               ADDRESS ON FILE




                                                                                                  Page 3474 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                                                      Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3475 of 3500
                                                                              17 BK 3283‐LTS
                                                                                                           Creditor Matrix

Creditor Name                  Address1                                         Address2                                Address3            Address4   City             State   PostalCode   Country
GREEN RODRIGUEZ, MIGUEL        ADDRESS ON FILE
GREEN ROMERO, LYDIA E          ADDRESS ON FILE
GREEN ROSADO, YALMHA           ADDRESS ON FILE
GREEN ROSARIO, GLORIA M        ADDRESS ON FILE
GREEN RUIZ, ANNETTE M.         ADDRESS ON FILE
GREEN SAEZ, MARITZA            ADDRESS ON FILE
GREEN SAEZ, WILLIAM            ADDRESS ON FILE
GREEN SANCHEZ, ANA M           ADDRESS ON FILE
GREEN SANCHEZ, HECTOR          ADDRESS ON FILE
GREEN SANCHEZ, MARGARITA       ADDRESS ON FILE
GREEN SANTIAGO, CARMEN L       ADDRESS ON FILE
GREEN SANTIAGO, MADELINE       ADDRESS ON FILE
GREEN SANTIAGO, NANCY I        ADDRESS ON FILE
GREEN SANTIAGO, ROSA V         ADDRESS ON FILE
GREEN SANTIAGO, ZAIDA          ADDRESS ON FILE
GREEN SISNEROS, JESSICA        ADDRESS ON FILE
GREEN SPACE INC                SABANERA DORADO                                  279 CAMINO ALMACIGO                                                    DORADO           PR      00646
GREEN TECH CONTRACTORS LLC     PO BOX 1331                                                                                                             LAS PIEDRAS      PR      00771
GREEN TIRE RECYCLING INC       PO BOX 1708                                                                                                             SABANA SECA      PR      00952
GREEN TOLLINCHI, GRACE         ADDRESS ON FILE
GREEN VAZQUEZ, ROSA A          ADDRESS ON FILE
GREEN VEGA, CARMEN L.          ADDRESS ON FILE
GREEN VEGA, IRIS N             ADDRESS ON FILE
GREEN VEGA, IRIS N.            ADDRESS ON FILE
GREEN VEGA, JANNETTE           ADDRESS ON FILE
GREEN VEGA, MARIBEL            ADDRESS ON FILE
GREEN VEGA, MIGDALIA           ADDRESS ON FILE
GREEN VEGA, MINERVA            ADDRESS ON FILE
GREEN VEGA, OLGA I.            ADDRESS ON FILE
GREEN VEGA, VICTOR R           ADDRESS ON FILE
GREEN WAY EXPRESS CORP         PO BOX 3006                                                                                                             CAGUAS           PR      00726‐3006
GREEN WILLIAMS, JACQUELINE A   ADDRESS ON FILE
GREEN WORLD INC                PMB 111                                          PO BOX 1999                                                            BARRANQUITAS     PR      00794
GREEN,HECTOR                   ADDRESS ON FILE
GREENBERG EISNER, JEFFREY      ADDRESS ON FILE
GREENBERG MD, JEFFREY          ADDRESS ON FILE
GREENBERG MD, JONATHAN         ADDRESS ON FILE
GREENE FRANCO, JOEL            ADDRESS ON FILE
GREENE FRANCO, JOEL            ADDRESS ON FILE
GREENE MD , PAUL E             ADDRESS ON FILE
GREENE RODRIGUEZ, BERNADETTE   ADDRESS ON FILE
GREENE RODRIGUEZ, CARMEN N     ADDRESS ON FILE
GREENE RODRIGUEZ, CHARLENE A   ADDRESS ON FILE
GREENE RODRIGUEZ, PAUL N.      ADDRESS ON FILE
GREENFINITY GROUP CORP         PO BOX 360768                                                                                                           SAN JUAN         PR      00936‐0768
GREENHOUSE CAFE DORADO         COSTA DE ORO                                     CARR 693 KM 8.20 STE 5                                                 DORADO           PR      00646
GREENLINK VENTURES LLC         BO VENEZUELA                                     5 GUARACANAL                                                           SAN JUAN         PR      00976
GREENOVATION CORP              URB FINCA ELENA                                  CALLE CEREZO #58                                                       GUAYNABO         PR      00971
GREENSBURG FAMILY PRACTICE     721 W KANSAS AVE                                                                                                        GREENSBURG       KS      67054 1998
GREENSCAPE                     PO BOX 693                                                                                                              TOA BAJA         PR      00949
GREENSCAPE INC                 PO BOX 693                                                                                                              TOA BAJA         PR      00951‐0693
GREENWAY INTERNATIONAL CORP    G P O BOX 360762                                                                                                        SAN JUAN         PR      00936‐0762
Greenwich Insurance Company    87 Greenwich Avenue                                                                                                     Greenwich        CT      06830
Greenwich Insurance Company    Attn: Alan Hunte, Vice President                 Seaview House                           70 Seaview Avenue              Stamford         CT      06902
Greenwich Insurance Company    Attn: Andrew Will, Annual Statement              Seaview House                           70 Seaview Avenue              Stamford         CT      06902
Greenwich Insurance Company    Attn: Andrew Will, Vice President                Seaview House                           70 Seaview Avenue              Stamford         CT      06902
Greenwich Insurance Company    Attn: Denise Hopkins, Principal Representative   Seaview House                           70 Seaview Avenue              Stamford         CT      06902
Greenwich Insurance Company    Attn: Dennis Kane, Vice President                Seaview House                           70 Seaview Avenue              Stamford         CT      06902
Greenwich Insurance Company    Attn: John Burns, Premiun Tax Contact            Seaview House                           70 Seaview Avenue              Stamford         CT      06902
Greenwich Insurance Company    Attn: Joseph Anthony Tocco, President            Seaview House                           70 Seaview Avenue              Stamford         CT      06902




                                                                                                         Page 3475 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                                                             Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3476 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                                                      Creditor Matrix

Creditor Name                            Address1                                         Address2                                 Address3            Address4   City         State   PostalCode   Country
Greenwich Insurance Company              Attn: Karen Clausi, Consumer Complaint Contact Seaview House                              70 Seaview Avenue              Stamford     CT      06902
Greenwich Insurance Company              Attn: Lisa Rollins, Regulatory Compliance GovernmSeaview House                            70 Seaview Avenue              Stamford     CT      06902
Greenwich Insurance Company              Attn: Michael Sovern, Vice President             Seaview House                            70 Seaview Avenue              Stamford     CT      06902
Greenwich Insurance Company              Attn: Sarah Mims, Circulation of Risk            Seaview House                            70 Seaview Avenue              Stamford     CT      06902
Greenwich Insurance Company              Attn: Toni Perkins, Agent for Service of Process Seaview House                            70 Seaview Avenue              Stamford     CT      06902
Greenwich Insurance Company              Attn: Toni Perkins, Vice President               Seaview House                            70 Seaview Avenue              Stamford     CT      06902
GREGG EYFFE TOTKA                        ADDRESS ON FILE
GREGG WARE RODRIGUEZ                     ADDRESS ON FILE
GREGMARYS GARCIA VELAZQUEZ               ADDRESS ON FILE
GREGMAT, INC                             PO BOX 336223                                                                                                            PONCE        PR      00733
Grego Lopez, Manuel                      ADDRESS ON FILE
GREGO NATAL, ALEJANDRA                   ADDRESS ON FILE
GREGOIRE, REBECCA LEE                    ADDRESS ON FILE
GREGORI CRUZ FIGUEROA                    ADDRESS ON FILE
GREGORI DE MARCHENA, ANA                 ADDRESS ON FILE
GREGORI DE MARCHENA, MARIA               ADDRESS ON FILE
GREGORI PEREZ DE, FRANK A                ADDRESS ON FILE
GREGORI QUILES, MIGUEL                   ADDRESS ON FILE
                                                                                                                                   1509 CALLE LOPEZ
GREGORIA CEPEDA RAMOS                    KEILA ORTEGA                                   AMERICAN AIRLINES BUILDING PISO 10         LANDRON                        SAN JUAN     PR      00911
GREGORIA CRUZ LOPEZ /HOGAR GENESIS       ADDRESS ON FILE
GREGORIA DIAZ RIVERA                     ADDRESS ON FILE
GREGORIA E SALGADO ANDUJAR               ADDRESS ON FILE
Gregoria Jusino Negrón/ LA BELLA UNION   ADDRESS ON FILE
GREGORIA LOPEZ MERCADO                   ADDRESS ON FILE
GREGORIA MALDONADO SUAREZ                ADDRESS ON FILE
GREGORIA MARTINEZ SANCHEZ                ADDRESS ON FILE
GREGORIA MAYMI MONTANEZ                  ADDRESS ON FILE
GREGORIA MERCADO / MARISOL ORTIZ         ADDRESS ON FILE
GREGORIA NIEVES ROSARIO                  ADDRESS ON FILE
GREGORIA P FUENTE DE PE¥A                ADDRESS ON FILE
GREGORIA PELLOT FERRER                   ADDRESS ON FILE
GREGORIA REYES RIOS                      ADDRESS ON FILE
GREGORIA ROSARIO VENTURA                 ADDRESS ON FILE
GREGORIA TORRES MENDEZ                   ADDRESS ON FILE
GREGORIA VAZQUEZ TIRADO                  ADDRESS ON FILE
GREGORIE MEDINA CUADRADO                 ADDRESS ON FILE
GREGORIO A CORTES                        ADDRESS ON FILE
GREGORIO A GARCIA MARTE                  ADDRESS ON FILE
GREGORIO A. CORTES MAISONET              ADDRESS ON FILE
GREGORIO BARRETO BARRETO                 ADDRESS ON FILE
Gregorio Boria Gaston                    ADDRESS ON FILE
GREGORIO CALCANO MATOS                   ADDRESS ON FILE
GREGORIO CORCHADO AGOSTINI               ADDRESS ON FILE
GREGORIO CRUZ GARCIA                     ADDRESS ON FILE
GREGORIO CRUZ RAMOS                      ADDRESS ON FILE
GREGORIO CRUZ RAMOS                      ADDRESS ON FILE
GREGORIO DE JESUS ROSARIO                ADDRESS ON FILE
GREGORIO DEL VALLE Y EVELYN TORRES       ADDRESS ON FILE
GREGORIO DIAZ                            ADDRESS ON FILE
GREGORIO DIAZ SANTIAGO                   ADDRESS ON FILE
GREGORIO E TERC SOTO                     ADDRESS ON FILE
GREGORIO FEBRES ROSA                     ADDRESS ON FILE
GREGORIO FIGUEROA DIAZ                   ADDRESS ON FILE
GREGORIO GARCIA DIAZ                     ADDRESS ON FILE
GREGORIO GONZALEZ DIAZ                   ADDRESS ON FILE
GREGORIO GONZALEZ GONZALEZ               ADDRESS ON FILE
GREGORIO GONZALEZ HERNANDEZ              ADDRESS ON FILE
GREGORIO GONZALEZ HERNANDEZ              ADDRESS ON FILE
GREGORIO HERNANDEZ LOPEZ                 ADDRESS ON FILE




                                                                                                                    Page 3476 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                      Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3477 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                        Creditor Matrix

Creditor Name                           Address1                     Address2                        Address3   Address4   City         State   PostalCode   Country
GREGORIO HERNANDEZ NIEVES               ADDRESS ON FILE
GREGORIO I CASAR                        ADDRESS ON FILE
GREGORIO I CASAR, MD                    ADDRESS ON FILE
GREGORIO IGARTUA DE LA ROSA             ADDRESS ON FILE
GREGORIO IGARTUA DE LA ROSA.V DEPARTAMENLCDO. RAFAEL A. OJEDA DIEZ   PO BOX 9023392                                        SAN JUAN     PR      00902‐3392
GREGORIO J HUERTA MONTANEZ              ADDRESS ON FILE
GREGORIO J IGARTUA ARBONA               ADDRESS ON FILE
GREGORIO J SALCEDO                      ADDRESS ON FILE
GREGORIO LOPEZ FIGUEROA                 ADDRESS ON FILE
GREGORIO LOPEZ FIGUEROA                 ADDRESS ON FILE
GREGORIO LOPEZ FIGUEROA                 ADDRESS ON FILE
GREGORIO MALDONADO GARCIA               ADDRESS ON FILE
GREGORIO MALDONADO MARTINEZ             ADDRESS ON FILE
GREGORIO MERCADO MEJIA                  ADDRESS ON FILE
GREGORIO MERCADO MORALES                ADDRESS ON FILE
GREGORIO MUNIZ /GENARA SOTO             ADDRESS ON FILE
GREGORIO NIEVES RUIZ                    ADDRESS ON FILE
GREGORIO ORTIZ VAZQUEZ                  ADDRESS ON FILE
GREGORIO ORTIZ VAZQUEZ                  ADDRESS ON FILE
GREGORIO ORTIZ VAZQUEZ                  ADDRESS ON FILE
GREGORIO PADIN NIEVES                   ADDRESS ON FILE
GREGORIO REYES FLORES                   ADDRESS ON FILE
GREGORIO RIVERA CEBALLOS                ADDRESS ON FILE
GREGORIO RIVERA RODRIGUEZ               ADDRESS ON FILE
GREGORIO RIVERA VILLAFAðE               ADDRESS ON FILE
GREGORIO RIVERA VILLAFANE               ADDRESS ON FILE
GREGORIO RIVERA VILLAFANE               ADDRESS ON FILE
GREGORIO RIVERA VILLAFANE               ADDRESS ON FILE
GREGORIO RIVERA/ DYNAMIC SOLAR SOLUTIONSPO BOX 29155                                                                       SAN JUAN     PR      00929‐0115
GREGORIO RODRIGUEZ COLLET               ADDRESS ON FILE
GREGORIO RODRIGUEZ CONDE                ADDRESS ON FILE
GREGORIO RODRIGUEZ RIVERA               ADDRESS ON FILE
GREGORIO ROSADO GALARZA                 ADDRESS ON FILE
GREGORIO SANCHEZ HERNANDEZ              ADDRESS ON FILE
GREGORIO SANCHEZ VAZQUEZ                ADDRESS ON FILE
GREGORIO SANTIAGO MONTALVO              ADDRESS ON FILE
GREGORIO SANTIAGO PEREZ                 ADDRESS ON FILE
GREGORIO SANTIAGO SOTO                  ADDRESS ON FILE
GREGORIO SOTO RAMOS                     ADDRESS ON FILE
GREGORIO TORRES GARCIA                  ADDRESS ON FILE
GREGORIO TORRES HERNANDEZ               ADDRESS ON FILE
GREGORIO TORRES ISAAC                   ADDRESS ON FILE
GREGORIO TORRES RIVERA                  ADDRESS ON FILE
GREGORIO TORRES RIVERA                  ADDRESS ON FILE
GREGORIO VARGAS SANTIAGO                ADDRESS ON FILE
GREGORIO VARGAS, DOMINGO                ADDRESS ON FILE
GREGORIO VAZQUEZ GUZMAN                 ADDRESS ON FILE
GREGORIO VAZQUEZ VELEZ                  ADDRESS ON FILE
GREGORIO VEGA LUGO                      ADDRESS ON FILE
GREGORIO VELAZQUEZ QUINONES             ADDRESS ON FILE
GREGORIO, GABRIEL                       ADDRESS ON FILE
GREGORY A ELIAS RODRIGUEZ               ADDRESS ON FILE
GREGORY ALAMEDA, DELIA                  ADDRESS ON FILE
GREGORY AYALA, ALEJANDRO                ADDRESS ON FILE
GREGORY AYALA, EDIL                     ADDRESS ON FILE
GREGORY AYALA, TERESA                   ADDRESS ON FILE
GREGORY CINTRON, RAISA M                ADDRESS ON FILE
GREGORY CRESPO, ALEXANDRA               ADDRESS ON FILE
GREGORY CRESPO, YAZMIN                  ADDRESS ON FILE
GREGORY DAVILA, BARBARA                 ADDRESS ON FILE




                                                                                      Page 3477 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3478 of 3500
                                                                                17 BK 3283‐LTS
                                                                                                          Creditor Matrix

Creditor Name                    Address1                               Address2                                       Address3   Address4   City             State   PostalCode   Country
GREGORY DEL ROSARIO, MICHELLE    ADDRESS ON FILE
GREGORY DIAZ IZQUIERDO           ADDRESS ON FILE
GREGORY E DAVISON                ADDRESS ON FILE
GREGORY FIGUEROA ROSARIO         ADDRESS ON FILE
GREGORY GAZTAMBIDE, EVANGELINA   ADDRESS ON FILE
GREGORY GAZTAMBIDE, JOSE A.      ADDRESS ON FILE
GREGORY GONZALEZ, REBECCA I      ADDRESS ON FILE
GREGORY GONZALEZ, WINSTON        ADDRESS ON FILE
GREGORY L MORRIS ENGINEERING     CITY VIEW PLAZA                        48 CARR 165 SUITE 2000                                               GUAYNABO         PR      00968‐8000
GREGORY LOPEZ CLASS              ADDRESS ON FILE
GREGORY M ALVAREZ SERRANO        ADDRESS ON FILE
GREGORY MORA, SARA               ADDRESS ON FILE
GREGORY NIEVES RAMIREZ           ADDRESS ON FILE
Gregory Perez, Fernando          ADDRESS ON FILE
Gregory Perez, Francisco J       ADDRESS ON FILE
GREGORY PEREZ, GLADYS            ADDRESS ON FILE
GREGORY PRINCIPE, LEILA L.       ADDRESS ON FILE
GREGORY RAMIREZ RIVERA           ADDRESS ON FILE
GREGORY RAMOS RODRIGUEZ          ADDRESS ON FILE
GREGORY RIVERA RIOS              ADDRESS ON FILE
GREGORY RIVERA ROJAS             ADDRESS ON FILE
GREGORY RODRIGUEZ CONCEPCION     ADDRESS ON FILE
GREGORY RUIZ, DIANNE D           ADDRESS ON FILE
GREGORY SANABRIA ALERS           ADDRESS ON FILE
GREGORY SANTIAGO, LINDA          ADDRESS ON FILE
Gregory Santiago, Roberto        ADDRESS ON FILE
Gregory Sosa, Ivan E             ADDRESS ON FILE
GREGORY T USERA MACFARLANE       ADDRESS ON FILE
GREGORY TORRES, MARILYN          ADDRESS ON FILE
GREGORY TORRES, WILDA            ADDRESS ON FILE
GREGORY VAZQUEZ, BETZY AILINNE   ADDRESS ON FILE
GREGORY W CALDERON PULESKI       ADDRESS ON FILE
GREGORY, GIOVANNI                ADDRESS ON FILE
GREIGHTON RIVERA RODRIGUEZ       ADDRESS ON FILE
GREILING VARGAS, KIMBERLY        ADDRESS ON FILE
GREIMER M VILLEGAS CRUZ          ADDRESS ON FILE
GREISHA I PI ARBONA              ADDRESS ON FILE
GREISHA M. ORTIZ ROBLEDO         ADDRESS ON FILE
GREISHEN E. MALDONADO DIAZ       ADDRESS ON FILE
GREISKA VIRUET MARTIN            ADDRESS ON FILE
GREISKA VIRUET MARTIN            ADDRESS ON FILE
GREKCHY MELENDEZ HERNANDEZ       ADDRESS ON FILE
GRENDA I. RODRIGUEZ VAZQUEZ      ADDRESS ON FILE
GRENDALY A CRUZ RODRIGUEZ        ADDRESS ON FILE
Greo De Jesus, Carmen C          ADDRESS ON FILE
GRESHEN MARTIN NIEVES            ADDRESS ON FILE
GRESHEN MARTIN NIEVES            ADDRESS ON FILE
GRESHKA BONILLA SANCHEZ          ADDRESS ON FILE
GRESHKA L ROLDAN SOLANO          ADDRESS ON FILE
GRESSEL ACOSTA VELEZ             ADDRESS ON FILE
GRESSEL ACOSTA VELEZ             ADDRESS ON FILE
GRESTCHEN M BRUNO OQUENDO        ADDRESS ON FILE
GRETCHEL DIAZ RODRIGUEZ          ADDRESS ON FILE
GRETCHELL                        PO BOX 307 MINOMONII FALLS                                                                                  MINOMI FALLS     WI      53052
GRETCHELY TORRES GOMEZ           ADDRESS ON FILE
GRETCHEN A RIVERA GANDIA         ADDRESS ON FILE
GRETCHEN CAMACHO CABEZUDO        ADDRESS ON FILE
GRETCHEN CAMACHO ROSSY           ADDRESS ON FILE
GRETCHEN CASTRO PARSONS          ADDRESS ON FILE
GRETCHEN CASTRO PARSONS          DERECHO PROPIO: GRETCHEN CASTRO PARSON URB. EL CORTIJO E 33 CALLE 10                                        Bayamón          PR      00956




                                                                                                        Page 3478 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3479 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GRETCHEN COLLAZO CARRASQUILLO            ADDRESS ON FILE
GRETCHEN E ALEMAN LUGO                   ADDRESS ON FILE
GRETCHEN E DAUBON FERNANDEZ              ADDRESS ON FILE
GRETCHEN E VALLE RIEFKOHL                ADDRESS ON FILE
GRETCHEN G LAGARES PIEVE                 ADDRESS ON FILE
GRETCHEN G RIVERA ARROYO                 ADDRESS ON FILE
GRETCHEN GARRIDO HERNANDEZ               ADDRESS ON FILE
GRETCHEN HUYKE NICOLE                    ADDRESS ON FILE
GRETCHEN I GARCIA HNC PENUELAS MAIL SERV P O BOX 600                                                                      PENUELAS     PR      00624
GRETCHEN I LOPEZ TORRES / EDGA LOPEZ     ADDRESS ON FILE
GRETCHEN I QUINONES SERRANO              ADDRESS ON FILE
GRETCHEN I. FERRA TIRADO                 ADDRESS ON FILE
GRETCHEN L CRUZ SANCHEZ                  ADDRESS ON FILE
GRETCHEN LAFONTAINE SERRANO              ADDRESS ON FILE
GRETCHEN M CARLO YAMIN                   ADDRESS ON FILE
GRETCHEN M CARRASQUILLO RAMOS            ADDRESS ON FILE
GRETCHEN M DUMONT GAZTAMBIDE             ADDRESS ON FILE
GRETCHEN M ESPADA SANTIAGO               ADDRESS ON FILE
GRETCHEN M GARCIA RIVERA                 ADDRESS ON FILE
GRETCHEN M GELPI RIVERA                  ADDRESS ON FILE
GRETCHEN M IRIZARRY ALBINO               ADDRESS ON FILE
GRETCHEN M MARRERO RUIZ                  ADDRESS ON FILE
GRETCHEN M OQUENDO GARCIA                ADDRESS ON FILE
GRETCHEN M RODRIGUEZ RIVERA              ADDRESS ON FILE
GRETCHEN M ROMERO APONTE                 ADDRESS ON FILE
GRETCHEN M. ENRIQUEZ FIGUEROA            ADDRESS ON FILE
GRETCHEN MARIE FONT RIEFKOHL             ADDRESS ON FILE
GRETCHEN MARIE GONZALEZ CANDELARIA       ADDRESS ON FILE
GRETCHEN MARTINEZ ALAYON                 ADDRESS ON FILE
GRETCHEN MARTINEZ ARAYON                 ADDRESS ON FILE
GRETCHEN MONLLOR ARZOLA                  ADDRESS ON FILE
GRETCHEN N. RAMOS BEAUCHAMP              ADDRESS ON FILE
GRETCHEN N. RAMOS BEAUCHAMP              ADDRESS ON FILE
GRETCHEN NUNEZ GARCIA                    ADDRESS ON FILE
GRETCHEN OLIVENCIA ORTIZ                 ADDRESS ON FILE
GRETCHEN RIVERA BRACERO                  ADDRESS ON FILE
GRETCHEN RODRIGUEZ VELAZQUEZ             ADDRESS ON FILE
GRETCHEN S GARCIA MORALES                ADDRESS ON FILE
GRETCHEN SANTIAGO VAZQUEZ                ADDRESS ON FILE
GRETCHEN SOTO ORTIZ                      ADDRESS ON FILE
GRETCHEN STUBBE SEGARRA                  ADDRESS ON FILE
GRETCHEN VALLADARES                      ADDRESS ON FILE
GRETCHEN VIZCARRONDO RODRIGUEZ           ADDRESS ON FILE
GRETEL M CATHIARD                        ADDRESS ON FILE
GRETELL BAEZ BENITEZ                     ADDRESS ON FILE
GRETSHEN J. CAMPOS LOPEZ                 ADDRESS ON FILE
GRETSY SALINAS AQCEVEDO                  ADDRESS ON FILE
GRETTEL OJEDA ROJAS                      ADDRESS ON FILE
GRETTZA ORTIZ RIVERA                     ADDRESS ON FILE
GRETZA M MERCED CRUZ                     ADDRESS ON FILE
GRETZA O CASTRO CURET                    ADDRESS ON FILE
GRETZA O. CASTRO CURET, MD               ADDRESS ON FILE
GRETZCHAISKA M. LAUREANO                 ADDRESS ON FILE
GRETZCHAISKA M. LAUREANO                 ADDRESS ON FILE
GRETZCHAISKA M. LAUREANO                 ADDRESS ON FILE
GRETZEL RODRIGUEZ VALENTIN               ADDRESS ON FILE
GREXIA ROIG SILVA                        ADDRESS ON FILE
GREY AYALA, JOHANNA                      ADDRESS ON FILE
GREY AYALA, JOHANNA                      ADDRESS ON FILE
GREY FIGUEROA, ROSA                      ADDRESS ON FILE




                                                                                     Page 3479 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3480 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GREY HERNANDEZ, CAROL              ADDRESS ON FILE
GREY HERNANDEZ, LAYZA              ADDRESS ON FILE
GREY HERNÁNDEZ, LAYZA Y.           ADDRESS ON FILE
GREY SANCHEZ, AMALIA               ADDRESS ON FILE
GREYCHA N FLORES ORTIZ             ADDRESS ON FILE
GREYSSI CAMPOS MILLAN              ADDRESS ON FILE
GRICEL COTTO ROQUE                 ADDRESS ON FILE
GRICEL DIAZ GARCIA                 ADDRESS ON FILE
GRICEL GARCIA GREGORY              ADDRESS ON FILE
GRICEL MARRERO SOLIS               ADDRESS ON FILE
GRICEL MONTALVO MONTALVO           ADDRESS ON FILE
GRICEL RAMIREZ RODRIGUEZ           ADDRESS ON FILE
GRICELA FRANCESCHI GALLARDO        ADDRESS ON FILE
GRICELA VARGAS SILVA               ADDRESS ON FILE
GRICELIA PAGAN GARCIA              ADDRESS ON FILE
GRICELIDA TOLLINCHI BEAUCHAMP      ADDRESS ON FILE
GRICELL FIGUEROA VAZQUEZ           ADDRESS ON FILE
GRICELLE IRIZARRY GONZALEZ         ADDRESS ON FILE
GRICELLE ORTIZ                     ADDRESS ON FILE
GRIER HERNANDEZ, SHEILA            ADDRESS ON FILE
GRIFFIN BERRIOS, JENNIFER          ADDRESS ON FILE
GRIFFIN BERRIOS, JENNIFER          ADDRESS ON FILE
GRIFFIN BERRIOS, JENNIFER M.       ADDRESS ON FILE
GRIFFIN HARTMAN, ELIZABETH         ADDRESS ON FILE
GRIFFIN MD , JAMES H               ADDRESS ON FILE
GRIFFIN, DORIS                     ADDRESS ON FILE
GRIFFITH ADORNO, ALLAN             ADDRESS ON FILE
GRIFFITH CEDENO, REYNALDO          ADDRESS ON FILE
GRIFFITH CEDENO, RICARDO ORLANDO   ADDRESS ON FILE
GRIFFITH FIGUEROA, ALLAN           ADDRESS ON FILE
GRIFFITH ROMERO, DANNA E           ADDRESS ON FILE
GRIGG RIVERA, IRIS                 ADDRESS ON FILE
GRIGG RUIZ, YARISETTE              ADDRESS ON FILE
GRIGGS WILSON, GAYLE W.            ADDRESS ON FILE
GRILLASCA BAUZA, CARMEN            ADDRESS ON FILE
GRILLASCA BERLY, EVANGELINA        ADDRESS ON FILE
GRILLASCA DOMENECH, DOMINGO A.     ADDRESS ON FILE
Grillasca Guindin, Hector          ADDRESS ON FILE
GRILLASCA LOPEZ, SARY L            ADDRESS ON FILE
GRILLASCA LOPEZ, ZINNIA M          ADDRESS ON FILE
GRILLASCA MARTINEZ, YANIRA         ADDRESS ON FILE
GRILLASCA PALAU MD, JORGE E        ADDRESS ON FILE
GRILLASCA PIETRI, SUSY             ADDRESS ON FILE
GRILLASCA ROSADO, ANGEL M          ADDRESS ON FILE
GRILLASCA ROSADO, ISAMAR           ADDRESS ON FILE
GRILLASCA ROSARIO, MAYRA           ADDRESS ON FILE
GRILLASCA ROSARIO, MIGUEL          ADDRESS ON FILE
Grillasca Rosario, William         ADDRESS ON FILE
GRILLASCA ROSARIO, WILLIAM         ADDRESS ON FILE
GRILLASCA, MAYRA                   ADDRESS ON FILE
GRILLE ALVAREZ, RODOLFO            ADDRESS ON FILE
GRILLE ESPADA, ERNESTO             ADDRESS ON FILE
GRILLO LEON, HECTOR L.             ADDRESS ON FILE
GRILLO LEON, VICTOR M.             ADDRESS ON FILE
GRILLO RODRIGUEZ, FRANCISCO        ADDRESS ON FILE
GRILO RIVERA, YARISMAL             ADDRESS ON FILE
GRIMALDI CASTRO VAZQUEZ            ADDRESS ON FILE
GRIMALDI FIGUEROA COLÓN            ADDRESS ON FILE
GRIMALDI OYOLA PEREZ               ADDRESS ON FILE
GRIMALDI SILLE, ALTAGRACIA E       ADDRESS ON FILE




                                                                               Page 3480 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                  Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3481 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                      Creditor Matrix

Creditor Name                     Address1                             Address2                    Address3   Address4   City       State   PostalCode   Country
GRIMALDY PAGAN MATOS              ADDRESS ON FILE
GRIMARY BERRIOS BERMUDEZ          ADDRESS ON FILE
GRIMARY CARABALLO APONTE          ADDRESS ON FILE
GRIMARY SANTOS LOPEZ              ADDRESS ON FILE
GRIMARY SANTOS LOPEZ              ADDRESS ON FILE
GRIMILDA GONZALEZ MUNIZ           ADDRESS ON FILE
GRIMILDA MUNIZ RAMOS              ADDRESS ON FILE
GRIN ALVARADO, LEONORA            ADDRESS ON FILE
GRINELIA MOYA GARCIA              ADDRESS ON FILE
GRISALES GARCIA, NICOLAS          ADDRESS ON FILE
GRISEILA GARCIA TORO              ADDRESS ON FILE
GRISEL A RAMOS DE JESUS           ADDRESS ON FILE
GRISEL ACEVEDO GONZALEZ           ADDRESS ON FILE
GRISEL ALEJANDRO CINTRON          ADDRESS ON FILE
GRISEL ALVAREZ RODRIGUEZ          ADDRESS ON FILE
GRISEL ALVELO ORTIZ               ADDRESS ON FILE
GRISEL ANDUJAR GUZMAN             ADDRESS ON FILE
GRISEL ARACELIS RAMOS RODRIGUEZ   ADDRESS ON FILE
GRISEL AYALA MALDONADO            ADDRESS ON FILE
GRISEL BAEZ RAMOS                 ADDRESS ON FILE
GRISEL BARTOLOMEI NAZARIO         ADDRESS ON FILE
GRISEL BENIQUEZ GRAJALES          ADDRESS ON FILE
GRISEL CARABALLO CORTES           ADDRESS ON FILE
GRISEL CARRASQUILLO VAZQUEZ       ADDRESS ON FILE
GRISEL CARRASQUILLO VAZQUEZ       ADDRESS ON FILE
GRISEL COLLAZO BERMUDEZ           ADDRESS ON FILE
GRISEL CONTRERAS SUERO            ADDRESS ON FILE
GRISEL CORDERO RAMOS              ADDRESS ON FILE
GRISEL CRUZ LOPEZ                 ADDRESS ON FILE
GRISEL DELGADO RAMIREZ            ADDRESS ON FILE
GRISEL DROZ LOPEZ                 ADDRESS ON FILE
GRISEL FELICIANO                  ADDRESS ON FILE
GRISEL GARCIA CRUZ                ADDRESS ON FILE
GRISEL GONZALEZ                   ADDRESS ON FILE
GRISEL GONZALEZ BAUZO             ADDRESS ON FILE
GRISEL GONZALEZ FELICIANO         ADDRESS ON FILE
GRISEL GRUVIS VALENTIN            ADDRESS ON FILE
GRISEL HERNANDEZ AROCHO           ADDRESS ON FILE
GRISEL M ESCALERA CRUZ            ADDRESS ON FILE
GRISEL M SANTIAGO CALDERON        ADDRESS ON FILE
GRISEL M TORRES TOMASINI          ADDRESS ON FILE
GRISEL M. TORRES TOMASINI         ADDRESS ON FILE
GRISEL MATOS COLON                ADDRESS ON FILE
GRISEL MATOS PADILLA              ADDRESS ON FILE
GRISEL MEDINA CORDERO             ADDRESS ON FILE
GRISEL MEDINA DAVILA              ADDRESS ON FILE
GRISEL MERCADO RIVERA             ADDRESS ON FILE
GRISEL MUNOZ MARRERO              ADDRESS ON FILE
GRISEL MUNOZ RIVERA               ADDRESS ON FILE
GRISEL OCASIO MARTINEZ            ADDRESS ON FILE
GRISEL ORTIZ SANTIAGO             ADDRESS ON FILE
GRISEL RIVERA ALEMAN              ADDRESS ON FILE
GRISEL RIVERA DIAZ                ADDRESS ON FILE
GRISEL RIVERA GONZALEZ            ADDRESS ON FILE
GRISEL RIVERA VILLAFANE           ADDRESS ON FILE
GRISEL RODRIGUEZ FLORES           ADDRESS ON FILE
GRISEL RODRIGUEZ FLORES           ADDRESS ON FILE
GRISEL RUIZ GOMEZ                 LCDO. FRANCISCO JAVIER TORRES DÍAZ   PO BOX 874                                        CAGUAS     PR      00726‐0874
GRISEL SANTOS MALAVE              ADDRESS ON FILE
GRISEL TORRES GONZALEZ            ADDRESS ON FILE




                                                                                    Page 3481 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3482 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GRISEL VAZQUEZ NIEVES             ADDRESS ON FILE
GRISEL VELAZQUEZ CARRASQUILLO     ADDRESS ON FILE
GRISELDA CALIZ CORDERO            ADDRESS ON FILE
GRISELDA MOLL MARTINEZ            ADDRESS ON FILE
GRISELDA SANTANA SOLER            ADDRESS ON FILE
GRISELEYDA RIVERA FANTAUZZI       ADDRESS ON FILE
GRISELL ALVILES CABRERA           ADDRESS ON FILE
GRISELL AVILES CABRERA            ADDRESS ON FILE
GRISELL BATISTA COLON             ADDRESS ON FILE
GRISELL CORDERO ROMAN             ADDRESS ON FILE
GRISELL DIAZ PEREZ                ADDRESS ON FILE
GRISELL GARAY MARQUEZ             ADDRESS ON FILE
GRISELL GONZALEZ VALENTIN         ADDRESS ON FILE
GRISELL M CASTILLO DAVILA         ADDRESS ON FILE
GRISELL M PAGAN SANCHEZ           ADDRESS ON FILE
GRISELL M RAMOS NIEVES            ADDRESS ON FILE
GRISELL MALDONADO MEDINA          ADDRESS ON FILE
GRISELL MORALES RODRIGUEZ         ADDRESS ON FILE
GRISELL MORALES RODRIGUEZ         ADDRESS ON FILE
GRISELL RODRIGUEZ REYES           ADDRESS ON FILE
GRISELL TORRES QUIROS             ADDRESS ON FILE
GRISELLE BATISTA AMBERT           ADDRESS ON FILE
GRISELLE CAMACHO                  ADDRESS ON FILE
GRISELLE CARBONELL RIVERA         ADDRESS ON FILE
GRISELLE CARDONA RIVERA           ADDRESS ON FILE
GRISELLE CARRION MALDONADO        ADDRESS ON FILE
GRISELLE CARTAGENA RIVERA         ADDRESS ON FILE
GRISELLE CASTRO ECHEVARRIA        ADDRESS ON FILE
GRISELLE CASTRO ENCARNACION       ADDRESS ON FILE
GRISELLE D HERNANDEZ MUNIZ        ADDRESS ON FILE
GRISELLE DIAZ JIMENEZ             ADDRESS ON FILE
GRISELLE E VINALES HERNANDEZ      ADDRESS ON FILE
GRISELLE FEBRES MELENDEZ          ADDRESS ON FILE
GRISELLE GENERAL CONTRACTOR INC   HC 2 BOX 4443                                                                    VILLALBA     PR      00766‐9756
GRISELLE GOMEZ RAMOS              ADDRESS ON FILE
GRISELLE GONZALEZ CRESPO          ADDRESS ON FILE
GRISELLE GONZALEZ VALENTIN        ADDRESS ON FILE
GRISELLE HERNANDEZ CARRUCINI      ADDRESS ON FILE
GRISELLE HERNANDEZ RIVERA         ADDRESS ON FILE
GRISELLE HERNANDEZ RIVERA         ADDRESS ON FILE
GRISELLE HERNANDEZ RIVERA         ADDRESS ON FILE
GRISELLE HERNANDEZ VINAS          ADDRESS ON FILE
GRISELLE I LUNA DAVILA            ADDRESS ON FILE
GRISELLE I RIVERA PAGAN           ADDRESS ON FILE
GRISELLE LABADIE JACKSON          ADDRESS ON FILE
GRISELLE LEON MORALES             ADDRESS ON FILE
GRISELLE M FERNANDEZ ROSARIO      ADDRESS ON FILE
GRISELLE M GARCIA PACHECO         ADDRESS ON FILE
GRISELLE M GINES ERAZO            ADDRESS ON FILE
GRISELLE M ORTIZ MALDONADO        ADDRESS ON FILE
GRISELLE MILAGROS OTERO CLAUZEL   ADDRESS ON FILE
GRISELLE NAVEDO ORTIZ             ADDRESS ON FILE
GRISELLE NIEVES ROSA              ADDRESS ON FILE
GRISELLE ORTIZ TRINIDAD           ADDRESS ON FILE
GRISELLE ORTIZ TRINIDAD           ADDRESS ON FILE
GRISELLE PENA REYES               ADDRESS ON FILE
GRISELLE REYES                    ADDRESS ON FILE
GRISELLE RIOLLANO                 ADDRESS ON FILE
GRISELLE RIVERA AYALA             ADDRESS ON FILE
GRISELLE RIVERA DOMENECH          ADDRESS ON FILE




                                                                              Page 3482 of 10031
                                            Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                               The Commonwealth of Puerto Rico
                                                                                                                                               Desc:
                                                            Exhibit A-1 - Creditor     Matrix
                                                                                 Case No.              Page 3483 of 3500
                                                                                          17 BK 3283‐LTS
                                                                                                 Creditor Matrix

Creditor Name                              Address1                           Address2                        Address3   Address4   City         State   PostalCode   Country
GRISELLE RIVERA ORTIZ                      ADDRESS ON FILE
GRISELLE RIVERA/RIVERAS RIVAS ROOFING CO   ADDRESS ON FILE
GRISELLE ROBLES ORTIZ                      ADDRESS ON FILE
GRISELLE RODRIGUEZ ACEVEDO                 ADDRESS ON FILE
GRISELLE RODRIGUEZ GALARZA                 ADDRESS ON FILE
GRISELLE RODRIGUEZ GONZALEZ                ADDRESS ON FILE
GRISELLE RODRIGUEZ QUINTANA                ADDRESS ON FILE
GRISELLE RODRIGUEZ RODRIGUEZ               ADDRESS ON FILE
GRISELLE RUIZ CANDELARIO                   ADDRESS ON FILE
GRISELLE SANTOS RIVERA                     ADDRESS ON FILE
GRISELLE SERRANO RODRIGUEZ                 ADDRESS ON FILE
GRISELLE T RIVERA TORRES                   ADDRESS ON FILE
GRISELLE T RIVERA TORRES                   ADDRESS ON FILE
GRISELLE TORRES FELICIANO                  ADDRESS ON FILE
GRISELLE TORRES TORRES                     ADDRESS ON FILE
GRISELLE VARELA LOZADA                     ADDRESS ON FILE
GRISELLE VAZQUEZ RIVERA                    ADDRESS ON FILE
GRISELLE Y RIVERA COLON                    ADDRESS ON FILE
GRISELLES ACOSTA HERNANDEZ                 ADDRESS ON FILE
GRISELLYS RIVERA FIGUEROA                  ADDRESS ON FILE
GRISES DE HUMACAO BEIBOL AA INC            MANSIONES DEL CARIBE               1 CALLE APALO                                         HUMACAO      PR      00791
GRISET AMARO GARCIA                        ADDRESS ON FILE
GRISETH MOJICA GONZALEZ                    ADDRESS ON FILE
GRISETTE CANCEL PENA                       ADDRESS ON FILE
GRISETTE DIAZ APONTE                       ADDRESS ON FILE
GRISETTE RODRIGUEZ TORRES                  ADDRESS ON FILE
GRISSEL COLLAZO BERRIOS                    ADDRESS ON FILE
GRISSEL CRESPO RODRIGUEZ                   ADDRESS ON FILE
GRISSEL JIMENEZ MEDINA                     ADDRESS ON FILE
GRISSEL M NEGRON GONZALEZ                  ADDRESS ON FILE
GRISSEL M. SANTIAGO MARQUEZ                ADDRESS ON FILE
GRISSEL MARRERO SOTOMAYOR                  ADDRESS ON FILE
GRISSEL MESTEY ORTIZ                       ADDRESS ON FILE
GRISSEL MORALES RAMIREZ                    ADDRESS ON FILE
GRISSEL ORTIZ ARROYO                       ADDRESS ON FILE
GRISSEL SANTIAGO MARQUEZ                   ADDRESS ON FILE
GRISSEL SANTIAGO MARQUEZ                   ADDRESS ON FILE
GRISSEL SANTIAGO MENDEZ                    LCDA. JELKA L. DUCHESNE SANABRIA   PO BOX 9020703                                        SAN JUAN     PR      00902‐0703
GRISSELL GARCIA ESTRADA                    ADDRESS ON FILE
GRISSELLE A RODRIGUEZ CRUZ                 ADDRESS ON FILE
GRISSELLE A RODRIGUEZ CRUZ                 ADDRESS ON FILE
GRISSELLE A ROSADO SOTO                    ADDRESS ON FILE
GRISSELLE AGOSTO CASTILLO                  ADDRESS ON FILE
GRISSELLE CORDERO MENDEZ                   ADDRESS ON FILE
GRISSELLE CORDOVA RIVERA                   ADDRESS ON FILE
GRISSELLE COTTO BURGOS                     ADDRESS ON FILE
GRISSELLE HERNANDEZ ROSADO                 ADDRESS ON FILE
GRISSELLE LEON MORALES                     ADDRESS ON FILE
GRISSELLE M BURES BERRY                    ADDRESS ON FILE
GRISSELLE M BURGOS SANTANA                 ADDRESS ON FILE
GRISSELLE M MACHADO CORDERO                ADDRESS ON FILE
GRISSELLE M SANTIAGO ROSADO                ADDRESS ON FILE
GRISSELLE MARTINEZ OCASIO                  ADDRESS ON FILE
GRISSELLE ORTIZ SANTIAGO                   ADDRESS ON FILE
GRISSELLE REYES NUNEZ                      ADDRESS ON FILE
GRISSELLE RIVERA RODRIGUEZ                 ADDRESS ON FILE
GRISSELLE ROSADO SOTO                      ADDRESS ON FILE
GRISSELLE SANTANA VARELA                   ADDRESS ON FILE
GRISSELLE SANTOS HERNANDEZ                 ADDRESS ON FILE
GRISSETTE DIAZ ALEMAN                      ADDRESS ON FILE




                                                                                               Page 3483 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                    Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3484 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                  Creditor Matrix

Creditor Name                             Address1                                  Address2                                   Address3   Address4   City             State   PostalCode   Country
GRITSIPIS DE LA CRUZ, OLGA I              ADDRESS ON FILE
GRIVEJ MD, PAUNEL                         ADDRESS ON FILE
GRIZEL GONZALEZ BONILLA                   ADDRESS ON FILE
GRIZEL MARTINEZ PACHECO/ CLASE GRADUANDAADDRESS ON FILE
GRIZELLE RAMIREZ AULET                    ADDRESS ON FILE
GRIZZELLE MELENDEZ TORRES                 ADDRESS ON FILE
GRIZZETTE E DAVILA TORRES                 ADDRESS ON FILE
GRODZINSKI SCHWARTZ, JAIME                ADDRESS ON FILE
GRODZINSKI SCHWARTZ, JAIME                ADDRESS ON FILE
GROENNOU GARCIA, JUANA M                  ADDRESS ON FILE
GROENNOU TORRES, DAGMARIE                 ADDRESS ON FILE
GROENNOU TORRES, ZULEIKA                  ADDRESS ON FILE
GROGAN MD , THOMAS J                      ADDRESS ON FILE
GROH, THOMAS                              ADDRESS ON FILE
GROMING MACHINE CORPORATION               P O BOX 3825                                                                                               MAYAGUEZ         PR      00681‐3825
GROOMER'S HOUSE DISTRIBUTOR               CALLE ARRIBA HEIGHTS BH‐18 AVE MONSERRATE                                                                  CAROLINA         PR      00987
GROSFOGUEL BIDOT, MARITZA                 ADDRESS ON FILE
GROSFOGUEL BIDOT, MIGUEL                  ADDRESS ON FILE
GROSS CARRION, MELISSA                    ADDRESS ON FILE
GROSS MD, MICHAEL                         ADDRESS ON FILE
GROSS VELEZ, VALERIE                      ADDRESS ON FILE
GROSS, RAMON                              ADDRESS ON FILE
GROSSEN GONZALEZ, ALFRED                  ADDRESS ON FILE
GROSSKOPF GARCIA, FRANCIS                 ADDRESS ON FILE
GROSSKOPF OLIVERO, RAYMOND                ADDRESS ON FILE
GROSSKOPF OTERO, KAREN                    ADDRESS ON FILE
GROSSMONT HOSPITAL                        5555 GROSSMONT CENTER DR                                                                                   LA MESA          CA      91942
GROUND CONTROL                            3100 EL CAMINO REAL ATASCADERO                                                                             CALIFORNIA       CA      93422
GROUP ASSOCIASTES LINKUP ORGANIZATION     SERVICES CORP                             1133 BROADWAY SUITE 1125                                         NEW YORK         NY      10010‐2007
GROUP INC CTPA                            57 CALLE NAVARRO                                                                                           SAN JUAN         PR      00918
GROUP INC CTPA                            PMP 129                                   500 MUNOZ RIVERA LOCAL 15                                        SAN JUAN         PR      00918‐3349
GROUP INCLUSION CORP                      PO BOX 190717                                                                                              SAN JUAN         PR      00919
GROUP INSURANCE SERVICES INC              359 CUPEY PROFESSIONAL MALL               AVE SAN CLAUDIO SUITE 308                                        SAN JUAN         PR      00926
GROUP M/MEC GLOBAL                        B7 TABONUCO STREET                        STE. 1506                                                        GUAYNABO         PR      00968‐3028
GROUP MANAGEMENTSERVICE INC               EDIF SANTANA CRUZ 73                      OFICINA 409                                                      BAYAMON          PR      00959
GROUP TRADING                             B7 TABONUCO STREET                        SUITE 1506                                                       GUAYNABO         PR      00968‐3028
GROVAS ABAD MD, DAMIAN                    ADDRESS ON FILE
GROVE FROBERG, KURT                       ADDRESS ON FILE
GROVE HILL CLINIC                         300 KENSINGTON AVE                                                                                         NEW BRITAIN      CT      06051
GROVER DATA DEVICES INTERNATIONAL INC, PATADDRESS ON FILE
GROVER RUIZ, JASON                        ADDRESS ON FILE
Groves, William W                         ADDRESS ON FILE
GROWING MINDS EARLY LEARNING CENTER INC URB PALACIOS REALES                         185 CALLE ZARZUELA                                               TOA ALTA         PR      00953
GRU MED CIDRENO                           PO BOX 1810                                                                                                CIDRA            PR      00739
Grúas de Ponce, Inc.                      HC 2 Box 8001                                                                                              Santa Isabel     PR      00757
GRUAS MATOS INC                           HC 1 BOX 8048                                                                                              PENUELAS         PR      00624‐9764
GRUAS ORLY INC                            PO BOX 1345 PMB 416                                                                                        TOA ALTA         PR      00954
GRUAS PAGAN INC                           HC ‐ 02 BOX 8001                                                                                           SANTA ISABEL     PR      00757
GRUAS PAGAN INC                           HC 2 BOX 8001                                                                                              SANTA ISABEL     PR      00757‐9772
GRUAS PAGAN INC.                          HC 02 BOX 8001                                                                                             SANTA ISABEL     PR      00757
GRUEL, GREGORY                            ADDRESS ON FILE
GRULLON ABREU, JIMMY                      ADDRESS ON FILE
GRULLON ACOSTA, MARILYN                   ADDRESS ON FILE
GRULLON ANGELES, ANYELINA                 ADDRESS ON FILE
GRULLON ANGELES, ANYELINA                 ADDRESS ON FILE
GRULLON ANGELES, WELKIN                   ADDRESS ON FILE
GRULLON CASTRO, ALEXIS                    ADDRESS ON FILE
GRULLON CORDERO, CONSUELO L               ADDRESS ON FILE
GRULLON GARCIA, RAFAEL                    ADDRESS ON FILE
GRULLON JAVIER, ROSARIO                   ADDRESS ON FILE




                                                                                                                Page 3484 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                                      Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 3485 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                   Creditor Matrix

Creditor Name                             Address1                                 Address2                                     Address3       Address4                City             State   PostalCode   Country
GRULLON JAVIER, ROSARIO DE                ADDRESS ON FILE
GRULLON LOPEZ, KENEL A.                   ADDRESS ON FILE
GRULLON LOPEZ, MIGUEL                     ADDRESS ON FILE
Grullon Lopez, Miguel A                   ADDRESS ON FILE
GRULLON MEDINA, JOSE                      ADDRESS ON FILE
GRULLON MEDINA, JOSE                      ADDRESS ON FILE
GRULLON MINAYA, RAMON A                   ADDRESS ON FILE
GRULLON ORTIZ, NICOLE                     ADDRESS ON FILE
GRULLON OSORIO, HEIDY                     ADDRESS ON FILE
GRULLON PEREZ, EPIFANIA                   ADDRESS ON FILE
GRULLON PIMENTEL, NORMA                   ADDRESS ON FILE
GRULLON ROBLES, MARILYN C                 ADDRESS ON FILE
GRULLON ROSSELLO, CHARMAINE A             ADDRESS ON FILE
GRULLON SALDANA, FIRELEY                  ADDRESS ON FILE
GRULLON, ROMELINDA                        ADDRESS ON FILE
GRUNDLER CANDELETTI, MARIA C              ADDRESS ON FILE
GRUNDLER RAUSCH, ALFREDO                  ADDRESS ON FILE
GRUNOW POLIMAC, ANNE                      ADDRESS ON FILE
GRUPO ALVIRA PEREZ INC                    2301 AVE EDUARDO CONDE                                                                                                       SAN JUAN         PR      00915
GRUPO APOYO NINOS Y ADOL. COND. REUMAT. P.O. BOX 195206                                                                                                                SAN JUAN         PR      00919‐5206
GRUPO APOYO UNIDOS EN AMOR COLOSENSES 2PMB 40 P.O. BOX 2300                                                                                                            AIBONITO         PR      00705
GRUPO CACHO INC DBA INFRA LIMITED S E     IRS ‐ ARIEL I. SANCHEZ / INFRA LIMITED   CITY VIEW PLAZA II 48 CARR 165 STE 2000                                             GUAYNABO         PR      00968‐8000
GRUPO CARDIOLOGIA ATENAS                  PO BOX 1150                                                                                                                  MANATI           PR      00674
GRUPO CARTAGENA PROSESSIONAL INC          PO BOX 1267                                                                                                                  OROCOVIS         PR      00720‐1267
GRUPO COOP A/C MOP DE PUERTO RICO         URB PUERTO NUEVO                         450 AVE DE DIEGO                                                                    SAN JUAN         PR      00920‐3707
GRUPO COOP ACAP/ESCUELA EZEQUIEL RAMOS LA SANTA                                    BO CAGUITAS CARR 156 KM 52 HC 2                                                     AGUAS BUENAS     PR      00703
GRUPO CUIDADO GERIATRICO INTEGRAL INC     PO BOX 6598                                                                                                                  BAYAMON          PR      00960‐5598
GRUPO DE APOYO PARA NINOS Y ADOLECENTES CON CONDICIONES REUMATOLOGICAS             P O BOX 195206                                                                      SAN JUAN         PR      00919‐5206
GRUPO DE CIRUJANOS                        CIRUGIA ORAL Y MAXILOFACIAL              PO BOX 29736 65TH INF STA                                                           SAN JUAN         PR      00929
GRUPO DE EX EMPLEADOS DEL HOTEL WESTIN LCDO. ROBERTO O. MALDONADO NIEVES           URB                                          PUERTO NUEVO   344 CALLE 7 NE STE 1A   SAN JUAN         PR      00920‐2405
GRUPO DE MEDICINA FAMILIAR DE COROZAL, INCPO BOX 94000 PMB 108                                                                                                         COROZAL          PR      00783
GRUPO DE ORNATO LOS TALADORES DE MARIANBO MARIANA 2                                HC 01 BOX 17077                                                                     HUMACAO          PR      00791
GRUPO DE SERVICIOS ESPECIALIZADOS         EL PSICOLOGIA E INTEGRATIVOS CORP        P O BOX 3563                                                                        GUAYNABO         PR      00970‐3563
GRUPO DENTAL AYALA DEL RIO CSP            PO BOX 9150                                                                                                                  HUMACAO          PR      00792
GRUPO DENTAL CORDOVA                      URB RIVER VW                             DD16 CALLE 25                                                                       BAYAMON          PR      00961
GRUPO DENTAL DR RIVERA ADAMES             PO BOX 1791                                                                                                                  JUNCOS           PR      00777
GRUPO EFEZETA,LLC                         EXT. SAN AGUSTIN Z‐28 CALLE 13                                                                                               SAN JUAN         PR      00926‐0000
GRUPO EGOS                                PO BOX 1028                                                                                                                  FAJARDO          PR      00738
GRUPO ENANTONIO & ASOCIADOS CORP          URB FLORAL PARK                          61 CALLE JOSE MARTI                                                                 SAN JUAN         PR      00919
GRUPO EPEM CORP                           PO BOX 4212                                                                                                                  BAYAMON          PR      00958
GRUPO ERANTONIO & ASOCIADOS, CORP.        PO BOX 190894                                                                                                                SAN JUAN         PR      00919‐0894
GRUPO EXCLUSIVO DE MEDICOS ASOCIADOS DELPO BOX 3004                                                                                                                    YAUCO            PR      00698‐3004
GRUPO FERRE RIVERA, PSC                   PO BOX 195196                                                                                                                SAN JUAN         PR      00919
GRUPO FINANCIERO DEL ESTE, CRL            URB ROLLING HILLS                        B‐49 CALLE PERU                                                                     CAROLINA         PR      00987
GRUPO FISIATRICO DE RIO GRANDE            SAN FRANCISCO                            225 CALLE VIOLETA                                                                   SAN JUAN         PR      00927
GRUPO FISIATRICO VILLA CARMEN             PO BOX 9328                                                                                                                  CAGUAS           PR      00726‐9328
GRUPO FISIATRICO VILLA CARMEN             VILLA CARMEN                             K13 CALLE BAYAMON                                                                   CAGUAS           PR      00725
GRUPO GASTROENTEROLOGICO DEL CARIBE       URB LA VISTA                             E6 VIA LADERAS                                                                      SAN JUAN         PR      00924‐4467
GRUPO GASTROENTEROLOGICO DEL ESTE PSC PO BOX 9111                                                                                                                      HUMACAO          PR      00792
GRUPO GASTROENTREOLOGICO DEL CARIBE       URB LA VISTA                             E‐6 DIAZ LADERA                                                                     SAN JUAN         PR      00924
GRUPO GIGANTES INC                        1027 AVE J T PINERO                                                                                                          SAN JUAN         PR      00920
GRUPO GINECO OBSTETRICO DEL NORTE CS P    66 CALLE GEORGETTI                                                                                                           SAN JUAN         PR      00925
GRUPO GINECOLOGIA RCM                     PO BOX 365067                                                                                                                SAN JUAN         PR      00936
GRUPO HIMA SAN PABLO INC                  P O BOX 4980                                                                                                                 CAGUAS           PR      00726
GRUPO INFECTOLOGICO DEL TURABO            PO BOX 7157                                                                                                                  CAGUAS           PR      00726
GRUPO INTENSIVO PEDIATRICO CSP            SAN JORGE MEDICAL BLDG SUITE 406         252 CALLE SAN JORGE                                                                 SAN JUAN         PR      00912
GRUPO INTERVENCIONAL PARA EL CONTROL DELPO BOX 2548                                                                                                                    BAYAMON          PR      00960‐2548
GRUPO MANUFACTURERO VAZQUEZ INC           PMB 134                                  PO BOX 30400                                                                        MANATI           PR      00674
GRUPO MEDICINA PRIMARIA DE COROZAL INC PO BOX 620                                                                                                                      COROZAL          PR      00783‐0620
GRUPO MEDICO ALBERGUE OLIMPICO RCM        PO BOX 2004                                                                                                                  SALINAS          PR      00751




                                                                                                                 Page 3485 of 10031
                                           Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                              The Commonwealth of Puerto Rico
                                                                                                                                                                   Desc:
                                                           Exhibit A-1 - Creditor     Matrix
                                                                                Case No.              Page 3486 of 3500
                                                                                         17 BK 3283‐LTS
                                                                                                                Creditor Matrix

Creditor Name                             Address1                              Address2                                     Address3   Address4   City              State   PostalCode   Country
GRUPO MEDICO CASTANER                     13 CALLE NATTEI LLUBERAS                                                                                 YAUCO             PR      00698
GRUPO MEDICO CASTAÑER                     PO BOX 383                                                                                               LARES             PR      00669
GRUPO MEDICO CASTAÑER YAUCO               13 MATTEI LLUBERAS                                                                                       YAUCO             PR      00698
GRUPO MEDICO CESMI                        PO BOX 6598                                                                                              BAYAMON           PR      00960‐5598
GRUPO MEDICO DEL NORESTE                  PMB 147                               PO BOX 1981                                                        LOIZA             PR      00772
GRUPO MEDICO DEL TOA CSP                  PO BOX 687                                                                                               DORADO            PR      00646‐0687
GRUPO MEDICO DEL YUNQUE INC               PO BOX 1515                                                                                              RIO GRANDE        PR      00745‐1515
GRUPO MEDICO EMMANUEL                     APARTADO 489                                                                                             BARRANQUITAS      PR      00794
GRUPO MEDICO ENMANUEL CSP                 PO BOX 489                                                                                               BARRANQUITAS      PR      00794
GRUPO MEDICO GMB, INC                     URB CARIBE                            1551 CALLE ALDA                                                    SAN JUAN          PR      00926‐2709
GRUPO MEDICO LA AMISTAD                   HC 1 BOX 8017                                                                                            TOA BAJA          PR      00949
GRUPO MEDICO LA MONTANA INC               URB SAGRADO CORAZON                   462 AVENUE SAN CLAUDIO                                             SAN JUAN          PR      00926
GRUPO MEDICO LAFAYETTE                    AC1 JARDINES DE LAFAYETTE                                                                                ARROYO            PR      00714
GRUPO MEDICO LAS PIEDRAS INC              PO BOX 1106                                                                                              LAS PIEDRAS       PR      00771‐1106
GRUPO MEDICO NORESTE                      PO BOX 1981 PMB 147                                                                                      LOIZA             PR      00772
GRUPO MEDICO POLICLINICA LA FAMILIA       PO BOX 13303                                                                                             SAN JUAN          PR      00908‐3303
GRUPO MEDICO SAN PABLO                    ATT RECORD MEDICOZ                    B7 CALLE SANTA CRUZ                                                BAYAMON           PR      00961
GRUPO MEDICO SANTA CRUZ                   EDIF SANTA CRUZ                       73 CALLE SANTA CRUZ STE 314                                        BAYAMON           PR      00961
GRUPO MEDICO SUR‐MED, INC                 PO BOX 1162                                                                                              SALINAS           PR      00751‐1162
GRUPO MENTE INC                           PMB 847 P O BOX 7891                                                                                     GUAYNABO          PR      00970‐7891
GRUPO NEOROQUIRUGICO DEL OESTE            351 AVE HOSTOS STE 101                                                                                   MAYAGUEZ          PR      00680‐1503
GRUPO NEUROLOGIA AVANZADA                 COND PROFESIONAL                      2 CALLE MUNOZ RIVERA OFIC 213                                      CAGUAS            PR      00725
GRUPO NEUROLOGIA AVANZADA                 COND PROFESSIONAL CENTER              2 CALLE MUÑOZ RIVERA STE 213                                       CAGUAS            PR      00725‐2603
GRUPO NEUROLOGICO SANTOS DELIZ            1400 AVE SUR STE 160                  ESCORIAL BUILDING                                                  CAROLINA          PR      00987
GRUPO NIX LLC                             SAN JUSTO 1204                                                                                           SAN JUAN          PR      00901
GRUPO NORTE INC                           PO BOX 361669                                                                                            SAN JUAN          PR      00936‐1669
GRUPO NOVEL , INC                         130 WINSTON CHURCHILL SUITE PMB‐248                                                                      SAN JUAN          PR      00926‐6018
GRUPO NOVEL INC/BANCO FINANCIERO DE PR 130 WINSTON CHURCHILL AVE 130            SUITE 1 PMB 248                                                    SAN JUAN          PR      00926‐6018
GRUPO ONCOLOGICO COMUNITARIO DE SAN JUAPMB 320                                  PO BOX 70344                                                       SAN JUAN          PR      00983‐7344
GRUPO OTORRINOLARINGOLIGICO UPR PSC       PO BOX 6494                                                                                              MAYAGUEZ          PR      00681
GRUPO OTORRINOLARINGOLOGICO DE PR         BAYAMON MEDICAL PLAZA STE 105                                                                            BAYAMON           PR      00960
GRUPO PEDIATRICO CIDREÑO                  PO BOX 6030                                                                                              CAGUAS            PR      00726
GRUPO PEDIATRICO CIUDAD UNIVERSITARIA     MANS DE RIO PIEDRAS                   1795 CALLE GARDENIA                                                SAN JUAN          PR      00926
GRUPO PEDIATRICO CIUDAD UNIVERSITARIA, INCMANS DE RIO PIEDRAS                   1795 CALLE GARDENIA                                                SAN JUAN          PR      00926
GRUPO PEDIATRICO DE EMERGENCIA NOCTURNAPO BOX 371270                                                                                               CAYEY             PR      00737‐1270
GRUPO PEDIATRICO SAN MIGUEL               PO BOX 1596                                                                                              TRUJILLO ALTO     PR      00977
GRUPO PEDRIATICO DE CAGUAS CSP            PO BOX 8969                                                                                              CAGUAS            PR      00726‐8969
GRUPO PEIRONA INC                         PO BOX 250164                                                                                            AGUADILLA         PR      00604
GRUPO PENOLANO DE SALUD                   PO BOX 8                                                                                                 PEÐUELAS          PR      00624
GRUPO PENOLANO DE SALUD                   PO BOX 8                                                                                                 PENUELAS          PR      00624
GRUPO PERIODISTICO NDC CORP               P O BOX 9023025                                                                                          SAN JUAN          PR      00902‐3025
GRUPO PRIMARIO FIGUEROA RODRIGUEZ         PO BOX 1906                                                                                              SAN GERMAN        PR      00683‐1906
GRUPO PSICOLOGICO INC.                    CALLE ASHFORD 61 SUR                                                                                     GUAYAMA           PR      00784
GRUPO PSICOLOGICO INTEGRAL                PO BOX 878                                                                                               BAYAMON           PR      00960‐0878
GRUPO PSIQUIATRICO C S P                  PO BOX 19234                                                                                             SAN JUAN          PR      00910‐1234
GRUPO QUINONES SUPERMERCADO INC/          DBA SELECTOS PALACIOS                 2000 CARR 8177 PMB 216 STE 26                                      TOA ALTA          PR      00966‐3762
GRUPO QUIROPRACTICO DEL NORTE             PO BOX 1015                                                                                              ARECIBO           PR      00613
GRUPO RADIOTERAPIA DEL NORTE              PMB 298 BOX 30500                                                                                        MANATI            PR      00674
GRUPO REAL                                URB LIRIO ESCALA                      549 CALLE SAN MATEO                                                JUNCOS            PR      00777
GRUPO REDBORICUA                          AREA DEL TESORO                       DIVISION DE RECLAMACIONES                                          SAN JUAN          PR      00902‐4140
GRUPO RODAS                               ADDRESS ON FILE
GRUPO RODAS, MDP, INC.                    PO BOX 629                                                                                               DORADO            PR      00646‐0629
GRUPO SAN ANTONIO INC                     P O BOX 7891 PMB 210                                                                                     GUAYNABO          PR      00970‐7491
GRUPO SERRAMAL, INC                       PO BOX 881                                                                                               OROCOVIS          PR      00720
GRUPO SERVICIOS ESPECIALIZADOS EN PSICOLOGHC 69 BOX 16191                                                                                          BAYAMON           PR      00956
GRUPO SOMOS INC                           P O BOX 0396                                                                                             BAYAMON           PR      00960‐0396
GRUPO TERAPEUTICO OASIS                   124 CALLE JOSE I QUINTON              ANTIGUO HOSPITAL                                                   COAMO             PR      00769
GRUPO VISION EMPRESARIAL DBA CELESTINO RIVERA LOPEZ                             URB RIVER PLANTATION 98 C/ GUMANI                                  CANOVANAS         PR      00729‐4322
GS ENTERPRISES LLC                        CALLE ESTEBAN PADILLA #60 E                                                                              BAYAMON           PR      00959
GS3 CORPORATION                           206 SAN FRANCISCO STREET                                                                                 SAN JUAN          PR      00901




                                                                                                              Page 3486 of 10031
                                       Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                          The Commonwealth of Puerto Rico
                                                                                                                                                                Desc:
                                                       Exhibit A-1 - Creditor     Matrix
                                                                            Case No.              Page 3487 of 3500
                                                                                     17 BK 3283‐LTS
                                                                                                               Creditor Matrix

Creditor Name                         Address1                                  Address2                                    Address3   Address4   City            State   PostalCode   Country
GSA LAW LLC                           P O BOX 363505                                                                                              SAN JUAN        PR      00936‐3505
GSM APPRAISALS, C S P                 URB MAGNOLIA GDNS                         V17 CALLE 14                                                      BAYAMON         PR      00956
GSS GLOBAL SERVICES SOLUTIONS, INC    P O BOX 141617                                                                                              ARECIBO         PR      00614
GT BUSINESS CONSULTING PSC            PMB 317                                   200 RAFAEL CORDERO STE 140                                        CAGUAS          PR      00725
GT CORP                               AREA DE TESORO                            DIVISION DE CONCILIACION                                          SAN JUAN        PR      00902‐4140
GT CORP                               PO BOX 364884                                                                                               SAN JUAN        PR      00936‐4884
GT CORP                               PO BOX 70112                                                                                                SAN JUAN        PR      00936‐8112
GT CORP GONZALEZ TRANDING DIV.        PO BOX 364884                                                                                               SAN JUAN        PR      00936‐4884
GT CORP GONZALEZ TRANDING DIV.        REPARTO METROPOLITANO                     1298 SE 54 CALLE                                                  SAN JUAN        PR      00921
GT CORPORATION                        CALLE PARANA #1716 EL CEREZAL                                                                               RIO PIEDRAS     PR      00923‐0000
GT CORPORATION                        URB EL CEREZAL                            1716 CALLE PARANA                                                 SAN JUAN        PR      00926
GT GONZALEZ TRADING                   PO BOX 364884                                                                                               SAN JUAN        PR      00936‐4884
GT SERVICES , INC.                    IBM BUILDING SUITE 1114654 AVE. MUNOZ RIVERA                                                                SAN JUAN        PR      00918‐0000
GT SOFTWARE                           235 PEACHTOREE STREET                     NE SUITE 1400                                                     ATLANTA         GA      30303
GTECH                                 RR 4 BOX 537 BO ORTIZ                                                                                       TOA ALTA        PR      00953
GTP ACQUISITION PARTNERS II LL        BOCA RATON                                PO BOX 811510                                                     BOCA RATON      FL      33481
GUACOSO AUTO SALES INC                PMB 524                                   HC 1 BOX 29030                                                    CAGUAS          PR      00725
GUADALAJARA INC                       AVE CHARDON ESQ OLIVER                    PLAZA CHARDON 5                                                   SAN JUAN        PR      00918
GUADALUPE A RODRIGUEZ GUEDE           ADDRESS ON FILE
GUADALUPE ACEVEDO, ARMANDO            ADDRESS ON FILE
GUADALUPE ALAMO, MYRIAM J             ADDRESS ON FILE
GUADALUPE ALAMO, PATRICK              ADDRESS ON FILE
GUADALUPE ALAMO, RENALDO              ADDRESS ON FILE
GUADALUPE ALEJANDRO, DENISE           ADDRESS ON FILE
GUADALUPE ALIFONSO, ELBA I            ADDRESS ON FILE
GUADALUPE ALLEN, SONIA B              ADDRESS ON FILE
GUADALUPE ALMESTICA, JULIO            ADDRESS ON FILE
Guadalupe Almestica, Julio J.         ADDRESS ON FILE
GUADALUPE ALVARADO, DALINET           ADDRESS ON FILE
GUADALUPE ALVAREZ, HONELLY            ADDRESS ON FILE
GUADALUPE ALVAREZ, MINNIE             ADDRESS ON FILE
GUADALUPE AMADOR MD, YADIRA           ADDRESS ON FILE
GUADALUPE AMARO, HECTOR               ADDRESS ON FILE
GUADALUPE ANABITARTE CRUZ             ADDRESS ON FILE
GUADALUPE APONTE, CARMEN M            ADDRESS ON FILE
GUADALUPE APONTE, RUBEN               ADDRESS ON FILE
GUADALUPE ARCE, DENNISSE              ADDRESS ON FILE
GUADALUPE ARCE, ERICK                 ADDRESS ON FILE
GUADALUPE ARROYO, JOSUE               ADDRESS ON FILE
GUADALUPE AVILES, JOCABED             ADDRESS ON FILE
GUADALUPE AYALA, ANGEL A.             ADDRESS ON FILE
GUADALUPE AYALA, ANGEL A.             ADDRESS ON FILE
GUADALUPE AYALA, JUANA                ADDRESS ON FILE
GUADALUPE BAERGA, ANTHONY             ADDRESS ON FILE
GUADALUPE BARRETO, JONATHAN           ADDRESS ON FILE
GUADALUPE BERDECIA MARTINEZ           ADDRESS ON FILE
GUADALUPE BERMUDEZ, FERNANDO          ADDRESS ON FILE
GUADALUPE BERMUDEZ, FERNANDO          ADDRESS ON FILE
GUADALUPE BERNARD MATOS               ADDRESS ON FILE
GUADALUPE BERRIOS, JOSE               ADDRESS ON FILE
GUADALUPE BERRIOS, MAYRA              ADDRESS ON FILE
GUADALUPE BETACOURT, HECTOR           ADDRESS ON FILE
GUADALUPE BETANCOURT, IVONNE          ADDRESS ON FILE
GUADALUPE BETANCOURT, SAUL            ADDRESS ON FILE
GUADALUPE BETANCOURT, SAUL            ADDRESS ON FILE
GUADALUPE BIRRIEL, MARCOS             ADDRESS ON FILE
GUADALUPE BONES, MARIANNE M.          ADDRESS ON FILE
GUADALUPE BURGOS, MINERVA             ADDRESS ON FILE
GUADALUPE BURGOS, RUBEN               ADDRESS ON FILE
GUADALUPE BUTLER & MARGARITA BUTLER   ADDRESS ON FILE




                                                                                                             Page 3487 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                              Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3488 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                Creditor Matrix

Creditor Name                     Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GUADALUPE CAMACHO, JOSE LUIS      ADDRESS ON FILE
GUADALUPE CANALES, YANCY          ADDRESS ON FILE
GUADALUPE CARRASQUILLO, DARA      ADDRESS ON FILE
GUADALUPE CARRASQUILLO, DOLGA I   ADDRESS ON FILE
GUADALUPE CARRASQUILLO, ELDA L    ADDRESS ON FILE
GUADALUPE CARRASQUILLO, HILCIA    ADDRESS ON FILE
GUADALUPE CARRASQUILLO, MILCA     ADDRESS ON FILE
GUADALUPE CARRERAS, IRMA L        ADDRESS ON FILE
GUADALUPE CARTAGENA, ARIEL        ADDRESS ON FILE
GUADALUPE CASTRO, AGUSTIN         ADDRESS ON FILE
GUADALUPE CASTRO, MARGARA         ADDRESS ON FILE
GUADALUPE CASTRO, SONIA           ADDRESS ON FILE
GUADALUPE CHICO, GLADYS           ADDRESS ON FILE
GUADALUPE COLLAZO, FELIX          ADDRESS ON FILE
GUADALUPE COLLAZO, MARIA          ADDRESS ON FILE
GUADALUPE COLON, YOSUEL           ADDRESS ON FILE
GUADALUPE COLON, YOSUEL E.        ADDRESS ON FILE
GUADALUPE CORTES, CATHIA          ADDRESS ON FILE
GUADALUPE CRUZ MD, MIRIAM         ADDRESS ON FILE
Guadalupe Cruz, Diana A           ADDRESS ON FILE
GUADALUPE CRUZ, GLADYS            ADDRESS ON FILE
GUADALUPE CRUZ, JESUS             ADDRESS ON FILE
GUADALUPE CRUZ, JESUS             ADDRESS ON FILE
GUADALUPE CRUZ, MARIA I           ADDRESS ON FILE
GUADALUPE CRUZ, MARILYN           ADDRESS ON FILE
GUADALUPE CRUZ, SANDRA            ADDRESS ON FILE
GUADALUPE DE JESUS, ANTONIO       ADDRESS ON FILE
Guadalupe De Jesus, Freddy        ADDRESS ON FILE
GUADALUPE DE JESUS, LIZ Y.        ADDRESS ON FILE
GUADALUPE DE JESUS, OMAR          ADDRESS ON FILE
GUADALUPE DE LEON, ADA L          ADDRESS ON FILE
GUADALUPE DE LEON, MARIBEL        ADDRESS ON FILE
GUADALUPE DEL VALLE, JESUS        ADDRESS ON FILE
GUADALUPE DELGADO, ALEXIS         ADDRESS ON FILE
GUADALUPE DELGADO, DAVID          ADDRESS ON FILE
Guadalupe Delgado, Freddie        ADDRESS ON FILE
GUADALUPE DELGADO, JOSE R.        ADDRESS ON FILE
GUADALUPE DELGADO, LUIS           ADDRESS ON FILE
GUADALUPE DELGADO, MARIA T        ADDRESS ON FILE
GUADALUPE DIAZ, ABNER             ADDRESS ON FILE
GUADALUPE DIAZ, ANGEL             ADDRESS ON FILE
GUADALUPE DIAZ, DIONISIO          ADDRESS ON FILE
GUADALUPE DIAZ, IRIS              ADDRESS ON FILE
GUADALUPE DIAZ, MARIAM L          ADDRESS ON FILE
GUADALUPE DIAZ, ROSAURA           ADDRESS ON FILE
GUADALUPE DIAZ, VICTOR M.         ADDRESS ON FILE
GUADALUPE DOMINGUEZ, CRISTINA     ADDRESS ON FILE
GUADALUPE DONES, IRAIZA           ADDRESS ON FILE
GUADALUPE ENCARNACION, EDGAR      ADDRESS ON FILE
GUADALUPE ESQUILIN, LUZ           ADDRESS ON FILE
GUADALUPE FALERO, RICARDO         ADDRESS ON FILE
GUADALUPE FELICIANO, MARIELMIRA   ADDRESS ON FILE
GUADALUPE FELICIANO, MARIELMIRA   ADDRESS ON FILE
GUADALUPE FUENTES, JORGE          ADDRESS ON FILE
GUADALUPE GALARZA, EDGARDO        ADDRESS ON FILE
GUADALUPE GARAY, MARYLIN          ADDRESS ON FILE
GUADALUPE GARCIA, LUZ E.          ADDRESS ON FILE
GUADALU‐PE GARCIA, OMAR           ADDRESS ON FILE
GUADALUPE GONZALEZ, ADA L         ADDRESS ON FILE
GUADALUPE GONZALEZ, ALBERTO       ADDRESS ON FILE




                                                                              Page 3488 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                             Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3489 of 3500
                                                                                17 BK 3283‐LTS
                                                                               Creditor Matrix

Creditor Name                    Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GUADALUPE GONZALEZ, DALIA        ADDRESS ON FILE
GUADALUPE GONZALEZ, MINERVA      ADDRESS ON FILE
GUADALUPE GONZALEZ, SONIA N      ADDRESS ON FILE
Guadalupe Guadalu, Maximino      ADDRESS ON FILE
Guadalupe Guerra, Griselle       ADDRESS ON FILE
GUADALUPE GUEVARA, YAMIRA E      ADDRESS ON FILE
GUADALUPE GUZMAN, JOSE           ADDRESS ON FILE
GUADALUPE HERNANDEZ, MIGDALIA    ADDRESS ON FILE
GUADALUPE IGLESIAS, DAISY        ADDRESS ON FILE
GUADALUPE ITHIER, MARIELA        ADDRESS ON FILE
GUADALUPE JIMENEZ, EILEEN        ADDRESS ON FILE
GUADALUPE JIMENEZ, GUILLERMO     ADDRESS ON FILE
GUADALUPE JIMENEZ, JOHARYS       ADDRESS ON FILE
GUADALUPE LARACUENTE, SHEILA M   ADDRESS ON FILE
GUADALUPE LOPEZ, BENJAMIN        ADDRESS ON FILE
GUADALUPE LOPEZ, EDDA S          ADDRESS ON FILE
GUADALUPE LOPEZ, JOSE            ADDRESS ON FILE
GUADALUPE LOPEZ, MALENI E        ADDRESS ON FILE
GUADALUPE LOPEZ, WANDA           ADDRESS ON FILE
GUADALUPE LUGO, EDUARD           ADDRESS ON FILE
GUADALUPE LUGO, WILLIAM          ADDRESS ON FILE
GUADALUPE LUNA, RUBEN            ADDRESS ON FILE
GUADALUPE MANZANERO BRICENO      ADDRESS ON FILE
GUADALUPE MARQUEZ, CARLOS M.     ADDRESS ON FILE
Guadalupe Marquez, Myrian        ADDRESS ON FILE
GUADALUPE MARTINEZ ROSARIO       ADDRESS ON FILE
GUADALUPE MARTINEZ, ALICIA       ADDRESS ON FILE
GUADALUPE MARTINEZ, ALICIA       ADDRESS ON FILE
Guadalupe Martinez, Hector       ADDRESS ON FILE
GUADALUPE MARTINEZ, HILDA        ADDRESS ON FILE
GUADALUPE MARTINEZ, HILDA        ADDRESS ON FILE
GUADALUPE MARTINEZ, JORGE        ADDRESS ON FILE
GUADALUPE MARTINEZ, JOSUE        ADDRESS ON FILE
GUADALUPE MARTINEZ, LUZ N        ADDRESS ON FILE
GUADALUPE MATOS JUSINO           ADDRESS ON FILE
GUADALUPE MATOS, BENJAMIN        ADDRESS ON FILE
GUADALUPE MATOS, JOSE A          ADDRESS ON FILE
Guadalupe Mendez, Jorge L        ADDRESS ON FILE
GUADALUPE MENDOZA, AIDA          ADDRESS ON FILE
GUADALUPE MERCADO, EVELYN        ADDRESS ON FILE
GUADALUPE MERCED, JORGE          ADDRESS ON FILE
GUADALUPE MERCED, JORGE          ADDRESS ON FILE
GUADALUPE MIRANDA, LOYDA E.      ADDRESS ON FILE
GUADALUPE MORALES, IRMA          ADDRESS ON FILE
GUADALUPE MUNOZ, GLORIA          ADDRESS ON FILE
Guadalupe Navas, Natalie         ADDRESS ON FILE
GUADALUPE NEGRON, YVONNE         ADDRESS ON FILE
GUADALUPE NIEVES, ALBA N         ADDRESS ON FILE
GUADALUPE NUNEZ, ENEIDA          ADDRESS ON FILE
GUADALUPE OFARRIL, SANDERS       ADDRESS ON FILE
GUADALUPE OFARRILL, EDGAR        ADDRESS ON FILE
GUADALUPE O'NEILL, LUZ DELILAH   ADDRESS ON FILE
GUADALUPE OQUENDO, JUAN          ADDRESS ON FILE
GUADALUPE ORTA, ALEX             ADDRESS ON FILE
GUADALUPE ORTIZ, CATHERINE       ADDRESS ON FILE
GUADALUPE ORTIZ, ISMAEL          ADDRESS ON FILE
GUADALUPE ORTIZ, IVETTE M        ADDRESS ON FILE
GUADALUPE ORTIZ, NEREIDA         ADDRESS ON FILE
GUADALUPE ORTIZ, OMAR S          ADDRESS ON FILE
GUADALUPE PACHECO RAMIREZ        ADDRESS ON FILE




                                                                             Page 3489 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                     Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3490 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GUADALUPE PAGAN, SANTIAGO                ADDRESS ON FILE
Guadalupe Parrilla, Miguel A             ADDRESS ON FILE
GUADALUPE PEREZ, ALICIA                  ADDRESS ON FILE
GUADALUPE PEREZ, CARMEN D                ADDRESS ON FILE
GUADALUPE PEREZ, DAVID                   ADDRESS ON FILE
GUADALUPE PEREZ, EDGARDO                 ADDRESS ON FILE
GUADALUPE PEREZ, HIRAM                   ADDRESS ON FILE
GUADALUPE PEREZ, LEILANI                 ADDRESS ON FILE
GUADALUPE PEREZ, LILLIAM                 ADDRESS ON FILE
GUADALUPE PEREZ, MINERVA                 ADDRESS ON FILE
GUADALUPE PEREZ, MYRNA                   ADDRESS ON FILE
GUADALUPE PEREZ, NORMA I                 ADDRESS ON FILE
GUADALUPE PINERO, ABRAHAN                ADDRESS ON FILE
GUADALUPE PINERO, JOSE A.                ADDRESS ON FILE
GUADALUPE PRATTS, JOSUE I                ADDRESS ON FILE
GUADALUPE QUILES, EDUARDO                ADDRESS ON FILE
GUADALUPE QUILES, TANIA M                ADDRESS ON FILE
GUADALUPE QUILES, VIVIANA                ADDRESS ON FILE
GUADALUPE QUINONES Y JOSE E QUINONES F   ADDRESS ON FILE
GUADALUPE QUINONES, ANA                  ADDRESS ON FILE
GUADALUPE QUINONEZ, LUIS A.              ADDRESS ON FILE
GUADALUPE QUINTERO, CARLOS               ADDRESS ON FILE
Guadalupe Ramirez, Armando               ADDRESS ON FILE
GUADALUPE RAMIREZ, TANIA                 ADDRESS ON FILE
GUADALUPE RAMIREZ, TANIA                 ADDRESS ON FILE
GUADALUPE RAMIREZ, TANIA MELINA          ADDRESS ON FILE
Guadalupe Ramirez, Wilfredo              ADDRESS ON FILE
GUADALUPE RAMOS, ENEIDA E                ADDRESS ON FILE
GUADALUPE RAMOS, MIGUEL                  ADDRESS ON FILE
GUADALUPE RAMOS, RAFAEL                  ADDRESS ON FILE
GUADALUPE RAMOS, WANDA                   ADDRESS ON FILE
GUADALUPE RENTAS, MARIA                  ADDRESS ON FILE
GUADALUPE RIVERA, ADA                    ADDRESS ON FILE
GUADALUPE RIVERA, ADA N                  ADDRESS ON FILE
GUADALUPE RIVERA, ALEXA                  ADDRESS ON FILE
Guadalupe Rivera, Felix                  ADDRESS ON FILE
GUADALUPE RIVERA, FELIX                  ADDRESS ON FILE
GUADALUPE RIVERA, GLADYS R               ADDRESS ON FILE
GUADALUPE RIVERA, HECTOR                 ADDRESS ON FILE
GUADALUPE RIVERA, ISMAEL                 ADDRESS ON FILE
GUADALUPE RIVERA, JAVIER                 ADDRESS ON FILE
GUADALUPE RIVERA, JESUS                  ADDRESS ON FILE
Guadalupe Rivera, Joaquin                ADDRESS ON FILE
GUADALUPE RIVERA, JOSE ARNALDO           ADDRESS ON FILE
GUADALUPE RIVERA, LUCIA                  ADDRESS ON FILE
GUADALUPE RIVERA, LUISA                  ADDRESS ON FILE
GUADALUPE RIVERA, MIGDALIA               ADDRESS ON FILE
GUADALUPE RIVERA, ORLANDO                ADDRESS ON FILE
GUADALUPE RIVERA, VIRGINIA               ADDRESS ON FILE
GUADALUPE RIVERA, YOLANDA I.             ADDRESS ON FILE
GUADALUPE ROBLES, IRAIDA                 ADDRESS ON FILE
GUADALUPE ROBLES, ISAIDA                 ADDRESS ON FILE
Guadalupe Rodrigue, Antonio              ADDRESS ON FILE
GUADALUPE RODRIGUEZ, ANA I               ADDRESS ON FILE
GUADALUPE RODRIGUEZ, ANTONIO             ADDRESS ON FILE
GUADALUPE RODRIGUEZ, BARBARA             ADDRESS ON FILE
GUADALUPE RODRIGUEZ, CAMILO              ADDRESS ON FILE
GUADALUPE RODRIGUEZ, EDGARDO             ADDRESS ON FILE
GUADALUPE RODRIGUEZ, ILEANETTE           ADDRESS ON FILE
Guadalupe Rodriguez, Jesus               ADDRESS ON FILE




                                                                                     Page 3490 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                               Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3491 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                 Creditor Matrix

Creditor Name                      Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GUADALUPE RODRIGUEZ, RAMON         ADDRESS ON FILE
GUADALUPE ROLON, NIVA              ADDRESS ON FILE
GUADALUPE ROMERO, ANASTACIA        ADDRESS ON FILE
GUADALUPE ROMERO, ANGEL L.         ADDRESS ON FILE
GUADALUPE ROMERO, ELIZABETH        ADDRESS ON FILE
GUADALUPE ROMERO, JOSE             ADDRESS ON FILE
GUADALUPE ROSADO, BRYAN            ADDRESS ON FILE
GUADALUPE ROSARIO, ALY J           ADDRESS ON FILE
GUADALUPE ROSARIO, JACKELINE       ADDRESS ON FILE
GUADALUPE ROSARIO, MURRAY          ADDRESS ON FILE
GUADALUPE ROSARIO, SARAHI          ADDRESS ON FILE
GUADALUPE RUBIO, LIZA D.           ADDRESS ON FILE
Guadalupe Sanabria, Luz I          ADDRESS ON FILE
GUADALUPE SANABRIA, REBECA         ADDRESS ON FILE
GUADALUPE SANCHEZ, CORAL A         ADDRESS ON FILE
GUADALUPE SANCHEZ, LUIS            ADDRESS ON FILE
GUADALUPE SANCHEZ, OMAR            ADDRESS ON FILE
GUADALUPE SANTANA, NOEL            ADDRESS ON FILE
GUADALUPE SANTELL, RUBEN           ADDRESS ON FILE
Guadalupe Santiag, Fernando        ADDRESS ON FILE
GUADALUPE SANTIAGO, ILEANEXIS      ADDRESS ON FILE
GUADALUPE SANTIAGO, JUAN           ADDRESS ON FILE
GUADALUPE SANTIAGO, JUAN DE DIOS   ADDRESS ON FILE
GUADALUPE SANTIAGO, MARIA          ADDRESS ON FILE
GUADALUPE SANTIAGO, MIGUEL A.      ADDRESS ON FILE
GUADALUPE SANTIAGO, OMAR           ADDRESS ON FILE
GUADALUPE SANTIAGO, RICARDO G.     ADDRESS ON FILE
GUADALUPE SANTOS, BLANCA           ADDRESS ON FILE
GUADALUPE SANTOS, PEDRO            ADDRESS ON FILE
GUADALUPE SENA, SHEILA             ADDRESS ON FILE
GUADALUPE SOTO LOPEZ               ADDRESS ON FILE
GUADALUPE SOTO, SHELYS             ADDRESS ON FILE
GUADALUPE TAPIA, JOSE E            ADDRESS ON FILE
GUADALUPE TIRADO, ANGEL            ADDRESS ON FILE
GUADALUPE TOLEDO, JORGE            ADDRESS ON FILE
GUADALUPE TOLEDO, LYDIA            ADDRESS ON FILE
GUADALUPE TORRES                   ADDRESS ON FILE
GUADALUPE TORRES, ABIGAIL          ADDRESS ON FILE
GUADALUPE TORRES, CYNTHIA          ADDRESS ON FILE
GUADALUPE TORRES, ISMAEL           ADDRESS ON FILE
GUADALUPE TORRES, JOSE             ADDRESS ON FILE
GUADALUPE TORRES, JOSE             ADDRESS ON FILE
GUADALUPE TORRES, JOSE A.          ADDRESS ON FILE
GUADALUPE TORRES, JOSE D.          ADDRESS ON FILE
GUADALUPE TORRES, MAGALY           ADDRESS ON FILE
GUADALUPE TORRES, MARIA            ADDRESS ON FILE
GUADALUPE TORRES, MARIA M          ADDRESS ON FILE
GUADALUPE TORRES, MARICARMEN       ADDRESS ON FILE
GUADALUPE TORRES, NARCISA          ADDRESS ON FILE
GUADALUPE TORRES, VICTOR           ADDRESS ON FILE
GUADALUPE TORRES, WALESKA I        ADDRESS ON FILE
GUADALUPE URBINA, JOSE A           ADDRESS ON FILE
GUADALUPE URBINA, MAYRA            ADDRESS ON FILE
GUADALUPE VARGAS, KEVIN A          ADDRESS ON FILE
GUADALUPE VAZQUEZ, BILL            ADDRESS ON FILE
GUADALUPE VAZQUEZ, MARCOS A        ADDRESS ON FILE
GUADALUPE VEGA, JOSE L             ADDRESS ON FILE
GUADALUPE VILLEGAS, KELVIN         ADDRESS ON FILE
GUADALUPE ZAMBRANA, MARICELLI      ADDRESS ON FILE
GUADALUPE ZARAGOZA, CARLOS         ADDRESS ON FILE




                                                                               Page 3491 of 10031
                                          Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                             The Commonwealth of Puerto Rico
                                                                                                                                          Desc:
                                                          Exhibit A-1 - Creditor     Matrix
                                                                               Case No.              Page 3492 of 3500
                                                                                        17 BK 3283‐LTS
                                                                                       Creditor Matrix

Creditor Name                            Address1                  Address2                         Address3   Address4   City              State   PostalCode   Country
GUADALUPE, CRISTINA                      ADDRESS ON FILE
GUADALUPE, GINA L.                       ADDRESS ON FILE
GUADALUPE, JACKELINE T.                  ADDRESS ON FILE
GUADALUPE, LEONORE                       ADDRESS ON FILE
GUADALUPE, MARCOLINA                     ADDRESS ON FILE
GUADALUPE, NELSON E                      ADDRESS ON FILE
GUADALUPE, RAFAEL                        ADDRESS ON FILE
GUADALUPE‐ALVAREZ, HONELLY               ADDRESS ON FILE
GUADALUPEHERNANDEZ, KARLO A.             ADDRESS ON FILE
GUADALUPEZ DIAZ, NYDIA                   ADDRESS ON FILE
GUADAMED AMBULANCE, INC                  HC 2 BOX 12142                                                                   GURABO            PR      00778‐9633
GUADARRAMA CAMACHO, CARMEN M             ADDRESS ON FILE
GUADARRAMA GARCIA, ANA L                 ADDRESS ON FILE
GUADARRAMA GONZALEZ, ANGEL L.            ADDRESS ON FILE
GUADARRAMA IGUINA, EDGARDO               ADDRESS ON FILE
Guadarrama Lara, Luis                    ADDRESS ON FILE
Guadarrama Lara, Maribel                 ADDRESS ON FILE
GUADARRAMA NEVAREZ, WILMA Y              ADDRESS ON FILE
GUADARRAMA REYES, LEONARDO               ADDRESS ON FILE
GUADARRAMA REYES, NORMA I                ADDRESS ON FILE
GUADARRAMAS BRITO, RICARDO               ADDRESS ON FILE
GUADAWED AMBULANCE INC                   HC 02 BOX 12142                                                                  GURABO            PR      00778
GUADRON QUIROZ, RAFAEL E                 ADDRESS ON FILE
GUAILI ANTONIO SOSA PASCUAL              ADDRESS ON FILE
GUAJASOFT INC                            PO BOX 1345                                                                      QUEBRADILLAS      PR      00678
GUAJATACA CHRISTIAN ACADEMY              PO BOX 246                                                                       CAMUY             PR      00627
GUAJATACA CONSTRUCTION CORP              PO BOX 78                                                                        SAN SEBASTIAN     PR      00685
GUAL BONILLA, GERALDINE                  ADDRESS ON FILE
GUAL BONILLA, GERALDINE                  ADDRESS ON FILE
GUAL CALDERON, DAPHNE                    ADDRESS ON FILE
GUAL CALDERON, IGNACIO                   ADDRESS ON FILE
GUAL CARINO, SANDRA                      ADDRESS ON FILE
Gual Cruz, Lexania                       ADDRESS ON FILE
GUAL OCASIO, NORA                        ADDRESS ON FILE
GUAL OCASIO, NORA I                      ADDRESS ON FILE
GUAL RODRIGUEZ, DOMINGO                  ADDRESS ON FILE
GUAL SANTIAGO, ADELA                     ADDRESS ON FILE
GUAL TIRADO, ALBERTO                     ADDRESS ON FILE
GUAL VIGO, MAXIMO L                      ADDRESS ON FILE
GUALBERTO CRUZ AVILES                    ADDRESS ON FILE
GUALBERTO DEL TORO COLBERG               ADDRESS ON FILE
GUALBERTO GARCIA OQUENDO                 ADDRESS ON FILE
GUALBERTO INGLES AMARO                   ADDRESS ON FILE
GUALBERTO IRIZARRY ZAPATA                ADDRESS ON FILE
GUALBERTO J MENDEZ                       ADDRESS ON FILE
GUALBERTO L DE LEON GARCIA               ADDRESS ON FILE
GUALBERTO MARTINEZ SANTIAGO              ADDRESS ON FILE
GUALBERTO NEGRON MARTINEZ                ADDRESS ON FILE
GUALBERTO PEDROZA SERRANO                ADDRESS ON FILE
GUALBERTO R RODRIGUEZ / ARIS FELICIANO   ADDRESS ON FILE
GUALBERTO RIVAS DELGADO                  ADDRESS ON FILE
GUALBERTO RODRIGUEZ PAGAN ESTATE         PO BOX 11900                                                                     SAN JUAN          PR      00922
GUALBERTO ROSARIO FERREIRA               ADDRESS ON FILE
GUALBERTO ROSARIO FERREIRA               ADDRESS ON FILE
GUALBERTO SANTANA MONTANEZ               ADDRESS ON FILE
GUALBERTO VEGA CORTES                    ADDRESS ON FILE
GUALDARRAMA CRUZ, AMADO                  ADDRESS ON FILE
GUALDARRAMA GARCIA, ANNA L               ADDRESS ON FILE
GUALDARRAMA PEREZ, BRYAN                 ADDRESS ON FILE
GUALDARRAMA SANTIAGO, MICAELA            ADDRESS ON FILE




                                                                                     Page 3492 of 10031
                                             Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                                The Commonwealth of Puerto Rico
                                                                                                                                                                        Desc:
                                                             Exhibit A-1 - Creditor     Matrix
                                                                                  Case No.              Page 3493 of 3500
                                                                                           17 BK 3283‐LTS
                                                                                                                        Creditor Matrix

Creditor Name                              Address1                                       Address2                                   Address3   Address4   City           State   PostalCode   Country
GUANABACOA LLC H/N/C SUBWAY                P O BOX 16665                                                                                                   SAN JUAN       PR      00908665
GUANABO LLC H/N/C/ SUBWAY                  P O BOX 16665                                                                                                   SAN JUAN       PR      00908‐6665
GUANILL LOPEZ, SYLVIA _DEL P               ADDRESS ON FILE
GUANIN FOURNIER VAZQUEZ                    ADDRESS ON FILE
GUANIN FOURNIER VAZQUEZ                    ADDRESS ON FILE
GUANINA BIRRIEL QUILES                     ADDRESS ON FILE
GUANINA SANTIAGO DE JESUS                  ADDRESS ON FILE
GUANTE SISA, ANGEL                         ADDRESS ON FILE
GUANTE VERA, ALBERTO Y OTROS               DANIEL R. MARTÍNEZ AVILÉS                      1113 AVE. JESÚS T. PIÑERO                                        SAN JUAN       PR      00920‐5605
GUANTE VERA, ALBERTO Y OTROS               LUIS M. RODRÍGUEZ LÓPEZ                        APARTADO 23103                                                   SAN JUAN       PR      00931‐3103
GUAPS GODEN, LIBRADA V                     ADDRESS ON FILE
GUARA BI                                   P. O. BOX 6581                                                                                                  CAGUAS         PR      00726‐0000
GUARA BI INC                               AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                        SAN JUAN       PR      00902‐4140
GUARA BI INC                               P O BOX 6581                                                                                                    CAGUAS         PR      00726
GUARA BI INC                               PO BOX 6183                                                                                                     CAGUAS         PR      00726
GUARAGUAO TRUCK SALES                      PO BOX 3177                                                                                                     BAYAMON        PR      00960
GUARAGUAO TRUCK SALES INC                  PO BOX 3177                                                                                                     BAYAMON        PR      00960‐3177
GUARANTEE TRUST LIFE INSURANCE CO          1275 MILWAKE AVENUE                                                                                             GLENVIEW       IL      60025‐2489
Guarantee Trust Life Insurance Company     1275 Milwaukee Avenue                                                                                           Glenview       IL      60025
Guarantee Trust Life Insurance Company     Attn: Barbara Taube, Vice President            1275 Milwaukee Avenue                                            Glenview       IL      60025
Guarantee Trust Life Insurance Company     Attn: Donald Abbs, Actuary                     1275 Milwaukee Avenue                                            Glenview       IL      60025
Guarantee Trust Life Insurance Company     Attn: Theresa Tyc, Circulation of Risk         1275 Milwaukee Avenue                                            Glenview       IL      60025
Guarantee Trust Life Insurance Company     Attn: Theresa Tyc, Consumer Complaint Contact 1275 Milwaukee Avenue                                             Glenview       IL      60025
Guarantee Trust Life Insurance Company     Attn: Theresa Tyc, Premiun Tax Contact         1275 Milwaukee Avenue                                            Glenview       IL      60025
Guarantee Trust Life Insurance Company     Attn: Theresa Tyc, Regulatory Compliance Govern1275 Milwaukee Avenue                                            Glenview       IL      60025
GUARDABOSQUE 7‐13                          QUINTAS DE DORADO                              L 3 C/ FICUS                                                     DORADO         PR      00646
GUARDARRAMA GARCIA, EDNA L                 ADDRESS ON FILE
GUARDARRAMA ORTIZ, MARCOS                  ADDRESS ON FILE
GUARDARRAMA ROSARIO, MARIA                 ADDRESS ON FILE
GUARDARRAMA ROSARIO, MARIBEL               ADDRESS ON FILE
GUARDARRAMA SUAREZ, LEONARDO               ADDRESS ON FILE
GUARDARRAMA, CECILIO                       ADDRESS ON FILE
GUARDARRAMA, JUAN L.                       ADDRESS ON FILE
GUARDARRANA GONZALEZ, RAMON                ADDRESS ON FILE
GUARDIA MENDIZABAL, MARIE                  ADDRESS ON FILE
GUARDIA NACIONA/WILBERT ORTIZ RODRIGUEZ PO BOX 9023786                                                                                                     SAN JUAN       PR      00902‐3786
GUARDIA NACIONAL Y/O LUZ M RIVERA          PO BOX 9023786                                                                                                  SAN JUAN       PR      00902‐3786
GUARDIA RULLAN, GIANNINA                   ADDRESS ON FILE
GUARDIA RULLAN, GIANNINA                   ADDRESS ON FILE
GUARDIA SUAREZ, RENE W.                    ADDRESS ON FILE
GUARDIAN ELECTRONIC SECURITY               P O BOX 13966                                                                                                   SAN JUAN       PR      00908
GUARDIAN ELECTRONIC SECURITY SERVICES      P O BOX 13966                                                                                                   SAN JUAN       PR      00908‐3966
GUARDIAN ELECTRONIC SECURITY SERVICES, INC PO BOX 13966                                                                                                    SAN JUAN       PR      00908
GUARDIAN ELECTRONIC SEGURITY               P O BOX 13966                                                                                                   SAN JUAN       PR      00908‐3966
GUARDIAN INSURANCE COMPANY                 PO BOX 9109                                                                                                     ST THOMAS      VI      00801
Guardian Insurance Company, Inc.           7 Hanover Square                                                                                                New York       NY      10004‐4025
Guardian Insurance Company, Inc.           Attn: Jacqueline Davila, Vice President        PO Box 9109                                                      St. Thomas     VI      00801
Guardian Insurance Company, Inc.           Attn: Raymond Fournier, President              PO Box 9109                                                      St. Thomas     VI      00801
GUARDIANES DE DORADO BASEBALL CLUB INC 425 CARR 6963 SDE 1 PMB 341                                                                                         DORADO         PR      00646‐4817
GUARDIOLA ALFONSO, AIDYL C                 ADDRESS ON FILE
GUARDIOLA ALFONSO, RUBEN                   ADDRESS ON FILE
GUARDIOLA CONCEPCION, LUIS O.              ADDRESS ON FILE
GUARDIOLA CRUZADO MD, ARMANDO              ADDRESS ON FILE
GUARDIOLA DECLET, JOSE                     ADDRESS ON FILE
GUARDIOLA DIAZ, MILDRED                    ADDRESS ON FILE
GUARDIOLA DOMINGUEZ MD, ALBERTO            ADDRESS ON FILE
GUARDIOLA GONZALEZ, ANTONIO RAFAEL         ADDRESS ON FILE
GUARDIOLA GONZALEZ, SALVADOR               ADDRESS ON FILE
GUARDIOLA LA PUERTA, EVELYN                ADDRESS ON FILE
GUARDIOLA LOZADA, CAMILLE M                ADDRESS ON FILE




                                                                                                                      Page 3493 of 10031
                                  Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                     The Commonwealth of Puerto Rico
                                                                                                                                              Desc:
                                                  Exhibit A-1 - Creditor     Matrix
                                                                       Case No.              Page 3494 of 3500
                                                                                17 BK 3283‐LTS
                                                                                              Creditor Matrix

Creditor Name                    Address1                       Address2                                     Address3   Address4   City         State   PostalCode   Country
GUARDIOLA MARRERO, YESSICA M.    ADDRESS ON FILE
GUARDIOLA MARTINEZ, CARMEN E     ADDRESS ON FILE
GUARDIOLA MELENDEZ, FRANK        ADDRESS ON FILE
GUARDIOLA OQUENDO, EVARISTA      ADDRESS ON FILE
GUARDIOLA RAMIREZ, EUGENIO A.    ADDRESS ON FILE
GUARDIOLA RIVERA, BENJAMIN       ADDRESS ON FILE
GUARDIOLA RIVERA, EDUARDO        ADDRESS ON FILE
GUARDIOLA RODRIGUEZ, MARILYN J   ADDRESS ON FILE
GUARDIOLA ROSADO, ANA Y.         ADDRESS ON FILE
GUARDIOLA ROSADO, ROBERTO L      ADDRESS ON FILE
GUARDIOLA ROSADO, ROBERTO L      ADDRESS ON FILE
GUARDIOLA SANCHEZ, CARMEN G.     ADDRESS ON FILE
GUARDIOLA SANCHEZ, PABLO         ADDRESS ON FILE
GUARDIOLA SANCHEZ, PABLO         ADDRESS ON FILE
GUARDIOLA SANCHEZ, SANDRA M.     ADDRESS ON FILE
GUARDIOLA SANTIAGO, LILLIAN M    ADDRESS ON FILE
GUARDIOLA SIMMONS, EUGENIO       ADDRESS ON FILE
GUARDIOLA SIMMONS, HECTOR M      ADDRESS ON FILE
GUARDIOLA SIMON, EUSTAQUIO       ADDRESS ON FILE
GUARDIOLA SOTO, DORIS E.         ADDRESS ON FILE
GUARDIOLA TORRES, ELISA          ADDRESS ON FILE
GUARDIOLA TORRES, HILDA          ADDRESS ON FILE
GUARDIOLA TRUJILLO, CYNTHIA      ADDRESS ON FILE
GUARDIOLA VARGAS, JOHNNY         ADDRESS ON FILE
GUARDIOLA VARGAS, JOSUE E        ADDRESS ON FILE
GUARDIOLA VAZQUEZ, NORMA I       ADDRESS ON FILE
GUARDSMAN SERVICES PRLLC         150 AVE CONQUISTADORES STE 8                                                                      CATANO       PR      00962‐6775
GUARECOOK RONDON, EDWAARD        ADDRESS ON FILE
GUARINA DELGADO GARCIA           ADDRESS ON FILE
GUARIONEX CANDELARIA RIVERA      ADDRESS ON FILE
GUARIONEX DE LOS SANTOS OZUNA    ADDRESS ON FILE
GUARIONEX JIMENEZ TRINIDAD       ADDRESS ON FILE
GUARIONEX LIZARDI BARBOSA        ADDRESS ON FILE
GUARIONEX LLINAS                 ADDRESS ON FILE
GUARIONEX ORTIZ COLON            ADDRESS ON FILE
GUARIONEX RIVERA COLON           ADDRESS ON FILE
GUARIONEX RIVERA ORTIZ           ADDRESS ON FILE
GUARIONEX S SANCHEZ LINARES      ADDRESS ON FILE
GUARIONEX TORRES FRESSE          LCDO. ANGEL FERRER CRUZ        UGT PO BOX 29247 ESTACIÓN 65 DE INFANTERIA                         SAN JUAN     PR      00929
GUARIONEX VERDEJO SANTANA        ADDRESS ON FILE
GUARNERI VAZQUEZ, FRANK          ADDRESS ON FILE
GUASCH RIVERA, DAFNE             ADDRESS ON FILE
GUASCH RIVERA, DAFNE             ADDRESS ON FILE
GUASCH RIVERA, NELSON            ADDRESS ON FILE
Guasch Rivera, Simelly           ADDRESS ON FILE
GUASH COLON, ELIZABETH           ADDRESS ON FILE
GUASH COLON, JONATHAN            ADDRESS ON FILE
GUASH GONZALEZ, JAIME            ADDRESS ON FILE
GUASH SUAREZ, ZAIDA              ADDRESS ON FILE
GUASH VEGA, PABLO I.             ADDRESS ON FILE
GUASP APONTE, AGNES              ADDRESS ON FILE
GUASP GODEN, MARIO               ADDRESS ON FILE
GUASP GONZALEZ, NESTOR           ADDRESS ON FILE
GUASP GONZALEZ, NESTOR A         ADDRESS ON FILE
GUASP GUTIERREZ, HERNAN          ADDRESS ON FILE
GUASP LOZA, JANIA                ADDRESS ON FILE
GUASP MARTINEZ, MIRIAM           ADDRESS ON FILE
GUASP MONGE, NESTOR R.           ADDRESS ON FILE
GUASP MONGE, NESTOR R.           ADDRESS ON FILE
GUASP MONTALVO, LUIS I           ADDRESS ON FILE




                                                                                            Page 3494 of 10031
                                         Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                            The Commonwealth of Puerto Rico
                                                                                                                                                            Desc:
                                                         Exhibit A-1 - Creditor     Matrix
                                                                              Case No.              Page 3495 of 3500
                                                                                       17 BK 3283‐LTS
                                                                                                         Creditor Matrix

Creditor Name                          Address1                            Address2                                   Address3      Address4   City           State   PostalCode   Country
GUASP PEREZ, GERARDO                   ADDRESS ON FILE
GUASP RUIZ, NORMA                      ADDRESS ON FILE
GUASP SOTO, LUIS E.                    ADDRESS ON FILE
GUASP SOTO, ZAYRA                      ADDRESS ON FILE
GUASP TORRES, NELSON L                 ADDRESS ON FILE
GUASTELLA MARINO                       ADDRESS ON FILE
GUATEQUE TALLER FOLKLORICO DE P R INC  HC 4 BOX 6894                                                                                           COROZAL        PR      00783
GUATEQUE TALLER FOLKLORICO DE PR       HC 4 BOX 6894                                                                                           COROZAL        PR      00783‐9619
GUATUS PAPA                            ADDRESS ON FILE
GUAY FIGUEROA, HECTOR                  ADDRESS ON FILE
GUAYAMA AUTO REPAIR                    PO BOX 1019                                                                                             GUAYAMA        PR      00785
GUAYAMA AUTO REPAIR/ DBA EDUARDO CINTROPO BOX 1019                                                                                             GUAYAMA        PR      00785‐0000
GUAYAMA CATERING SERVICE               URB BELLO HORIZONTE CALLE 7 C‐3                                                                         GUAYAMA        PR      00784
GUAYAMA CATERING SERVICES              URB BELLO HORIZONTE                 C 3 CALLE 7                                                         GUAYAMA        PR      00784
GUAYAMA CATERING SERVICES              URB BELLO HORIZONTE                                                                                     GUAYAMA        PR      00784
GUAYAMA DE LA ASOCIACION DE MAESTROS   PO BOX 907                                                                                              GUAYAMA        PR      00785‐0907
GUAYAMA DELMAR ELDERLY LIMITEDPARNERSH P O BOX 195288                                                                                          SAN JUAN       PR      00919‐5288
GUAYAMA F.C INC                        PO BOX 3365                                                                                             GUAYAMA        PR      00785
GUAYAMA FLEET CARE SERVICE,INC         CARRETERA NUM.3 KM.140.5 BOX 2742                                                                       GUAYAMA        PR      00784
GUAYAMA FLEET CARE SERVICES INC        PO BOX 1019                                                                                             GUAYAMA        PR      00785‐1019
GUAYAMA FLEET CARE SERVICES INC        PO BOX 2742                                                                                             GUAYAMA        PR      00785
GUAYAMA HOUSING DEVELOPMENT INC        PO BOX 195288                                                                                           SAN JUAN       PR      00919
GUAYAMA MOTORS                         AREA DEL TESORO                     DIVISION DE RECLAMACIONES                                           SAN JUAN       PR      00902‐4140
GUAYAMA MOTORS                         PO BOX 1019                                                                                             GUAYAMA        PR      00785
GUAYAMA MOTORS                         PO BOX 1462                                                                                             GUAYAMA        PR      00785
GUAYANILLA CAR CARE INC                29 CALLE ISABELA                                                                                        GUAYANILLA     PR      00656
GUAYANILLA POLICE AGENCY INC           PO BOX 560429                                                                                           GUAYANILLA     PR      00656‐0429
GUAYANILLA TRACK & FIELD INC           PO BOX 560398                                                                                           GUAYANILLA     PR      00656
GUAYNABO AUTO SOUND INC                PO BOX 896                                                                                              GUAYNABO       PR      00970
GUAYNABO AUTO SOUND INC                PO BOX 896                                                                                              GUAYNSBO       PR      00970‐0896
GUAYNABO AUTO SOUND INC                PO BOX 9024275                                                                                          SAN JUAN       PR      00902‐4275
GUAYNABO BASKETBALL ACADEMY INC        URB SAGRADO CORAZON                 434 C/ SAN JULIAN                                                   SAN JUAN       PR      00924
GUAYNABO CITY CHRISTMAS TREES          CARR 199 AVE LAS CUMBRES                                                                                GUAYNABO       PR      00969
GUAYNABO DAY CARE LLC                  PO BOX 1078                                                                                             GUAYNABO       PR      00970‐1078
GUAYNABO DULCES FIESTAS Y MAS          PO BOX 3735                                                                                             GUAYNABO       PR      00970
GUAYNABO EYE EAR GROUP                 CAPARRA GALLERY                     107 AVE GONZALEZ GIUSTI                                             GUAYNABO       PR      00966
GUAYNABO HEALTH PROVIDER               PMB 205                             PO BOX 70344                                                        SAN JUAN       PR      00936‐8344
GUAYNABO HEALTH PROVIDERS CORP         140 AVE LAS CUMBRES STE 210                                                                             GUAYNABO       PR      00969
GUAYNABO HOME CARE                     DPTO FACTURACION Y RECORDS          PO BOX 3828                                                         GUAYNABO       PR      00970‐3828
GUAYNABO HOME CARE PROGRAM INC         PO BOX 3828                                                                                             GUAYNABO       PR      00970‐3828
GUAYNABO MEDICAL MALL                  GUAYNABO MEDICAL MALL               PO BOX 7885                                                         GUAYNABO       PR      00970
GUAYNABO METS BSN INC                  P O BOX 2259                                                                                            GUAYNABO       PR      00970‐2259
GUAYNABO REFRIGERATION SERVICES        HC 02 BOX 9658                                                                                          GUAYNABO       PR      00971
GUAYNABO REFRIGERATION SERVICES INC    HC‐2 BOX 9658                                                                                           GUAYNABO       PR      00971
GUAYNABO REFRIGERATION SERVICES, INC.  CARR. 169 KM 6.9 BO. CAMARONES                                                                          GUAYNABO       PR      00971‐0000
GUAYNABO REFRIGERATION SERVICES, INC.  HC‐02 BOX 9658                                                                                          GUAYNABO       PR      00971‐0000
GUAYNABO SHEET METAL WORKS INC         PO BOX 966                                                                                              GUAYNABO       PR      00970‐0966
GUAYNABO VOLLEYBOL CLUB INC            URB SANTA RITA                      118 DOMINGO CABRERA                                                 GUAYNABO       PR      00925
GUBERTI BOZZINI, BEATRIZ               ADDRESS ON FILE
GUDELIA BURGOS MOLINA                  ADDRESS ON FILE
GUDELIA MARTÍNEZ RIVERA                GUDELIA MARTINEZ RIVERA             TORRES DE CERVANTES                        APT. 1010 B              SAN JUAN       PR      00924
GUDELIA ORTIZ ESPADA                   ADDRESS ON FILE
GUDELIA RIVERA RODRIGUEZ               ADDRESS ON FILE
GUDELIA RIVERA RODRIGUEZ               ADDRESS ON FILE
GUDELIA ROSA HERNANDEZ                 ADDRESS ON FILE
GUDELIA SERRA GIMENEZ                  ADDRESS ON FILE
GUDELIA SERRA GIMENEZ                  ADDRESS ON FILE
GUDEN, UNAL                            ADDRESS ON FILE
GUDINO CABRERA, JUAN                   ADDRESS ON FILE
GUEDDY RODRGUEZ RODIGUEZ               ADDRESS ON FILE




                                                                                                       Page 3495 of 10031
                                    Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                       The Commonwealth of Puerto Rico
                                                                                                                                         Desc:
                                                    Exhibit A-1 - Creditor     Matrix
                                                                         Case No.              Page 3496 of 3500
                                                                                  17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                      Address1                     Address2                               Address3   Address4   City          State   PostalCode   Country
GUEDE LORENZO, CARMEN              ADDRESS ON FILE
GUEDE LORENZO, LEONEL              ADDRESS ON FILE
GUEDE MIJARES, CARMEN              ADDRESS ON FILE
GUEDE RIEPKOHL, LAURA              ADDRESS ON FILE
GUEISHA I BERMUDEZ TORRES          ADDRESS ON FILE
GUEITS COLLAZO, GLADYS             ADDRESS ON FILE
GUEITS COLON, ANA E                ADDRESS ON FILE
GUEITS CRUZ, JENNIFER              ADDRESS ON FILE
GUEITS CRUZ, PEDRO A               ADDRESS ON FILE
GUEITS FERNANDEZ, LETZI            ADDRESS ON FILE
GUEITS FERNANDEZ, LETZI            ADDRESS ON FILE
Gueits Gallego, Angel M            ADDRESS ON FILE
GUEITS GUTIERREZ, ELIZABETH        ADDRESS ON FILE
GUEITS MALDONADO, LUIS D           ADDRESS ON FILE
GUEITS ORTIZ, JOSE J.              ADDRESS ON FILE
GUEITS ORTIZ, JULIEMARIE           ADDRESS ON FILE
GUEITS PACHECO, JOAQUIN            ADDRESS ON FILE
GUEITS PAGAN, GERMAN               ADDRESS ON FILE
GUEITS PEREZ, ANA                  ADDRESS ON FILE
GUEITS RODRIGUEZ, ELIZABETH        ADDRESS ON FILE
GUEITS RODRIGUEZ, VICTOR A         ADDRESS ON FILE
GUEITS RUBIO, ALEX                 ADDRESS ON FILE
GUEITS RUBIO, JOSE E               ADDRESS ON FILE
GUEITS SERRANO, LUIS               ADDRESS ON FILE
GUEITS TORRES, ANA E               ADDRESS ON FILE
GUEITS VELAZQUEZ, ANGEL            ADDRESS ON FILE
Gueits Velazquez, Angel L          ADDRESS ON FILE
GUEITS VELAZQUEZ, EDGARD           ADDRESS ON FILE
GUEITS VELAZQUEZ, JACKUELINE       ADDRESS ON FILE
GUEITS VELAZQUEZ, JENNIFER         ADDRESS ON FILE
Gueits Velazquez, Victor M.        ADDRESS ON FILE
GUELBA M ROBLES GOMEZ              ADDRESS ON FILE
GUELEN GARCIA, DAISY               ADDRESS ON FILE
GUELEN GARCIA, DAVID               ADDRESS ON FILE
GUELEN IRIZARRY, MARIA DE LOS A.   ADDRESS ON FILE
GUELEN LEON, KEYLA M               ADDRESS ON FILE
GUELL MARIN, ELIZABETH             ADDRESS ON FILE
GUELLIENT C. TRINIDAD DAVILA       ADDRESS ON FILE
GUELMARIE LLOP RAMIREZ             ADDRESS ON FILE
GUELMARIE VAZQUEZ MESTRE           ADDRESS ON FILE
GUELMI GONZALEZ VIRUET             ADDRESS ON FILE
GUELY LETRILLART, DANIELLE         ADDRESS ON FILE
GUEMAREZ COLON, HECTOR             ADDRESS ON FILE
GUEMAREZ CRUZ, CARLOS A.           ADDRESS ON FILE
GUENARD DEORTIZ, ROSA M            ADDRESS ON FILE
GUENARD HERNANDEZ, MYRIAM          ADDRESS ON FILE
GUENARD HERNANDEZ, RICARDO         ADDRESS ON FILE
GUENARD MARTINEZ, TALICIFE         ADDRESS ON FILE
GUENARD MARTINEZ, YOVANSKA         ADDRESS ON FILE
GUENARD OTERO, ENITZA Z.           ADDRESS ON FILE
GUENARD OTERO, YITZA               LCDO. WILMER RIVERA ACOSTA   2567 CARR 100 STE 102                                        CABO ROJO     PR      00623
GUENARD OTERO, YITZA Z             ADDRESS ON FILE
GUENARD OTERO, YITZA Z             ADDRESS ON FILE
GUENARD QUIJANO, IRIS              ADDRESS ON FILE
GUENARD RUIZ, YOLANDA              ADDRESS ON FILE
GUERERO TORRES, ILKA Y             ADDRESS ON FILE
GUERNICA OYARZUN, MAGDALENA        ADDRESS ON FILE
GUERRA ABREU, DACHIRA              ADDRESS ON FILE
GUERRA ALCAZAR, KENNY              ADDRESS ON FILE
GUERRA ALCAZAR, KENNY              ADDRESS ON FILE




                                                                                        Page 3496 of 10031
                                Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                   The Commonwealth of Puerto Rico
                                                                                                                                        Desc:
                                                Exhibit A-1 - Creditor     Matrix
                                                                     Case No.              Page 3497 of 3500
                                                                              17 BK 3283‐LTS
                                                                                          Creditor Matrix

Creditor Name                  Address1                   Address2                                     Address3   Address4   City         State   PostalCode   Country
GUERRA ALICEA, ILUMINADA       ADDRESS ON FILE
GUERRA ALONSO, IRIS            ADDRESS ON FILE
GUERRA ALVAREZ, CARLOS J.      ADDRESS ON FILE
GUERRA APONTE, ANA             ADDRESS ON FILE
GUERRA ARCELAY, ASTRID         ADDRESS ON FILE
GUERRA AYUSO, ALMIR            ADDRESS ON FILE
GUERRA BADILLO, UBALDO         ADDRESS ON FILE
GUERRA BADILLO, UBALDO         ADDRESS ON FILE
GUERRA BAEZ, FRANCES           ADDRESS ON FILE
GUERRA CACERES, CRISTINA       ADDRESS ON FILE
GUERRA CAPELES, IVETTE M       ADDRESS ON FILE
GUERRA CARDONA MD, RUDDY A     ADDRESS ON FILE
GUERRA CARRILLO, CARMEN R      ADDRESS ON FILE
GUERRA CASTELLANOS MD, JULIA   ADDRESS ON FILE
GUERRA CASTRO, YVONNE          ADDRESS ON FILE
GUERRA CENTENO, JANEVETTE      ADDRESS ON FILE
GUERRA CHAVES, ROSAIDA         ADDRESS ON FILE
GUERRA CHIESA Y RIVERA INC     EDIF DARLINGTON            1007 AVE MUNOZ RIVERA APT 600                                      SAN JUAN     PR      00925
GUERRA CHIESA Y RIVERA INC     EDIF DARLINGTON OFIC 704   1007 AVE MUNOZ RIVERA                                              SAN JUAN     PR      00926
GUERRA CINCO INC               1039 AVE JESUS T PINERO                                                                       SAN JUAN     PR      00921
GUERRA CIRINO, ROSA I          ADDRESS ON FILE
GUERRA CORREA, ELAINE          ADDRESS ON FILE
GUERRA CRUZ, CARLOS E.         ADDRESS ON FILE
GUERRA CRUZ, CARMEN D          ADDRESS ON FILE
GUERRA CRUZ, NOELIA M          ADDRESS ON FILE
GUERRA CUEVAS, NORMA E         ADDRESS ON FILE
GUERRA DAVILA, IRIS V          ADDRESS ON FILE
Guerra De Jesus, Norma         ADDRESS ON FILE
GUERRA DECHOUDENS, CRUZ S.     ADDRESS ON FILE
GUERRA DEL CASTILLO, ROBERTO   ADDRESS ON FILE
GUERRA DELGADO, ALFREDO        ADDRESS ON FILE
GUERRA ENCARNACION, MARIA I    ADDRESS ON FILE
GUERRA ENCARNACION, PABLO      ADDRESS ON FILE
GUERRA ESPINOSA, MARIA E       ADDRESS ON FILE
GUERRA ESTEVANELL, MARIA DEL   ADDRESS ON FILE
GUERRA ESTRADA, MIRIAM         ADDRESS ON FILE
Guerra Falu, Rosendo           ADDRESS ON FILE
GUERRA FERNANDEZ, JULIA        ADDRESS ON FILE
GUERRA FERNANDEZ, RITA M       ADDRESS ON FILE
GUERRA FLORES, NANYSMA         ADDRESS ON FILE
GUERRA FONTANEZ, FREDDY        ADDRESS ON FILE
GUERRA GARCIA, CARMEN M        ADDRESS ON FILE
Guerra Garcia, Miguel A        ADDRESS ON FILE
GUERRA GAROFALO, HECTOR J.     ADDRESS ON FILE
GUERRA GODERICH, REYLAM        ADDRESS ON FILE
GUERRA GONZALEZ, CESAR         ADDRESS ON FILE
GUERRA GONZALEZ, CLAUDINA      ADDRESS ON FILE
GUERRA GONZALEZ, RICARDO       ADDRESS ON FILE
GUERRA GUERRA, EFRAIN          ADDRESS ON FILE
GUERRA GUERRA, LEYNA LI        ADDRESS ON FILE
GUERRA HERNANDEZ, JACINTA      ADDRESS ON FILE
GUERRA II GODERICH, REYLAM     ADDRESS ON FILE
GUERRA II, REYLAM              ADDRESS ON FILE
Guerra Issuar, Carmen M        ADDRESS ON FILE
GUERRA JIMENEZ, DANIEL         ADDRESS ON FILE
GUERRA JIMENEZ, FLOR M         ADDRESS ON FILE
GUERRA JIMENEZ, MARIA C        ADDRESS ON FILE
GUERRA JIMENEZ, PERFECTO       ADDRESS ON FILE
GUERRA LAUSELL, ONORIMARIE     ADDRESS ON FILE
GUERRA LEDEA, MANUEL           ADDRESS ON FILE




                                                                                     Page 3497 of 10031
                                 Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                    The Commonwealth of Puerto Rico
                                                                                                                            Desc:
                                                 Exhibit A-1 - Creditor     Matrix
                                                                      Case No.              Page 3498 of 3500
                                                                               17 BK 3283‐LTS
                                                                              Creditor Matrix

Creditor Name                   Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GUERRA LOPEZ, FRANCISCO         ADDRESS ON FILE
GUERRA MENENDEZ, RENE           ADDRESS ON FILE
GUERRA MONTALVO, GLORIA         ADDRESS ON FILE
GUERRA MORALES, BRENDALY        ADDRESS ON FILE
GUERRA MORALES, FRANKIE         ADDRESS ON FILE
GUERRA MORENO, JHON A.          ADDRESS ON FILE
GUERRA MULGADO, ORLEIQUIS       ADDRESS ON FILE
GUERRA NEGRON, CARLOS M.        ADDRESS ON FILE
GUERRA NIEVES, GETULIO          ADDRESS ON FILE
GUERRA NIEVES, LUZ              ADDRESS ON FILE
Guerra Ocasio, Juan C.          ADDRESS ON FILE
GUERRA ORTIZ, BENJAMIN          ADDRESS ON FILE
GUERRA ORTIZ, EFRAIN            ADDRESS ON FILE
GUERRA PENA, EDGARDO            ADDRESS ON FILE
GUERRA PENA, JOSE               ADDRESS ON FILE
GUERRA PENA, ZENAIDA            ADDRESS ON FILE
GUERRA PEREYA, RENE             ADDRESS ON FILE
GUERRA PEREZ, JESUS             ADDRESS ON FILE
GUERRA PEREZ, JESUS             ADDRESS ON FILE
GUERRA PINTO, LINDA I           ADDRESS ON FILE
GUERRA PLASENCIA, DIOSELINA     ADDRESS ON FILE
GUERRA PONCE, JERRY             ADDRESS ON FILE
GUERRA PONCE, JULIO             ADDRESS ON FILE
GUERRA PONCE, JULIO O.          ADDRESS ON FILE
Guerra Ponce, Maria S           ADDRESS ON FILE
GUERRA PONCE, PEDRO             ADDRESS ON FILE
GUERRA QUILES,NOEL              ADDRESS ON FILE
GUERRA QUINONES, JULIO          ADDRESS ON FILE
GUERRA QUINONES, WILNELIA       ADDRESS ON FILE
GUERRA QUINONES, WILNELIA       ADDRESS ON FILE
GUERRA QUINONEZ, JULIO          ADDRESS ON FILE
GUERRA RAMOS, ALICE C           ADDRESS ON FILE
GUERRA RESTO, SONIA             ADDRESS ON FILE
GUERRA RIVAS, CARLOS            ADDRESS ON FILE
GUERRA RIVERA MD, IVETTE        ADDRESS ON FILE
GUERRA RODRIGUEZ, CARLOS        ADDRESS ON FILE
GUERRA RODRIGUEZ, DEBORAH       ADDRESS ON FILE
GUERRA RODRIGUEZ, FRANCISCO A   ADDRESS ON FILE
GUERRA RODRIGUEZ, JORGE R.      ADDRESS ON FILE
GUERRA RODRIGUEZ, JORGE R.      ADDRESS ON FILE
GUERRA RODRIGUEZ, KAMILE        ADDRESS ON FILE
GUERRA ROSELLO, LISBETH         ADDRESS ON FILE
GUERRA SANCHEZ, EDDIE           ADDRESS ON FILE
GUERRA SANTIAGO MD, CARLOS      ADDRESS ON FILE
GUERRA SELVA, DANIEL            ADDRESS ON FILE
GUERRA SERRANO, MIGUEL          ADDRESS ON FILE
GUERRA SILVA, JULIO             ADDRESS ON FILE
GUERRA SILVA, MELVIN            ADDRESS ON FILE
GUERRA SOTO, CARLOS J.          ADDRESS ON FILE
Guerra Soto, Roberto            ADDRESS ON FILE
GUERRA TORRANZO, ABEL           ADDRESS ON FILE
GUERRA TORRES MD, ANGEL R       ADDRESS ON FILE
GUERRA TORRES, NORMA            ADDRESS ON FILE
GUERRA TORRES, NORMA R.         ADDRESS ON FILE
GUERRA VALDES, ADA N            ADDRESS ON FILE
Guerra Valentin, Victor         ADDRESS ON FILE
GUERRA VEGA, YAZMIN E           ADDRESS ON FILE
GUERRA VELEZ, MARIA L.          ADDRESS ON FILE
GUERRA VERGARA, YOMAIRA         ADDRESS ON FILE
GUERRA VILLAFANE, SANTY         ADDRESS ON FILE




                                                                            Page 3498 of 10031
                                        Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                           The Commonwealth of Puerto Rico
                                                                                                                                   Desc:
                                                        Exhibit A-1 - Creditor     Matrix
                                                                             Case No.              Page 3499 of 3500
                                                                                      17 BK 3283‐LTS
                                                                                     Creditor Matrix

Creditor Name                          Address1                  Address2                         Address3   Address4   City         State   PostalCode   Country
GUERRA VILLANUEVA, LUIS                ADDRESS ON FILE
GUERRA, VICTOR                         ADDRESS ON FILE
GUERRAACEVEDO, JOAQUIN                 ADDRESS ON FILE
GUERRERO ALEQUIN, OLGA                 ADDRESS ON FILE
GUERRERO ALEQUIN, OSVALDO              ADDRESS ON FILE
GUERRERO ALTORAN, MARIA DEL C          ADDRESS ON FILE
GUERRERO ALTORAN, OSCAR                ADDRESS ON FILE
GUERRERO ASCENCIO, LYANN               ADDRESS ON FILE
GUERRERO AVILA, NOEL                   ADDRESS ON FILE
GUERRERO AYERS, JULIO                  ADDRESS ON FILE
GUERRERO BARIAS, RUTH E.               ADDRESS ON FILE
GUERRERO BETANCOURT, LINDA             ADDRESS ON FILE
GUERRERO BUCARELLY, LUISA              ADDRESS ON FILE
GUERRERO CABAN, BEATRIZ                ADDRESS ON FILE
GUERRERO CABAN, LUIS A                 ADDRESS ON FILE
GUERRERO CABRERA, ANTONIA              ADDRESS ON FILE
GUERRERO CALDERON, CESAR               ADDRESS ON FILE
GUERRERO CALDERON, CESAR               ADDRESS ON FILE
GUERRERO CALDERON, JUAN                ADDRESS ON FILE
GUERRERO CAPELLA, FRANCISCO            ADDRESS ON FILE
GUERRERO CARDONA, JUAN                 ADDRESS ON FILE
GUERRERO CARDONA, LUIS                 ADDRESS ON FILE
Guerrero Cardona, Luis D               ADDRESS ON FILE
GUERRERO CARRETRO, NORMA JEAN          ADDRESS ON FILE
GUERRERO CARRION, JENIFFER             ADDRESS ON FILE
GUERRERO CASTILLO, NORMA               ADDRESS ON FILE
GUERRERO DAVILA, AUSBERTO J            ADDRESS ON FILE
GUERRERO DE LEON, ANA                  ADDRESS ON FILE
GUERRERO DE LEON, JOSE R               ADDRESS ON FILE
GUERRERO DE LEON, LAURA                ADDRESS ON FILE
GUERRERO DEL RIO, YANELY               ADDRESS ON FILE
GUERRERO DEL ROSARIO, RAFAEL           ADDRESS ON FILE
GUERRERO DELGADO, MARIBEL              ADDRESS ON FILE
GUERRERO DIAZ, FRANCISCO               ADDRESS ON FILE
GUERRERO DIAZ, JOHANNA M.              ADDRESS ON FILE
GUERRERO ESPADA, JORGE                 ADDRESS ON FILE
GUERRERO ESPADA, MARIA DEL CARMEN B.   ADDRESS ON FILE
GUERRERO ESTEVES, BLANCA               ADDRESS ON FILE
GUERRERO ESTEVES, PEDRO                ADDRESS ON FILE
GUERRERO FIGUEROA, JUAN                ADDRESS ON FILE
GUERRERO FLORES, RADAMES               ADDRESS ON FILE
GUERRERO FLORES,EDGARDO                ADDRESS ON FILE
GUERRERO FONTANEZ, XAVIER A            ADDRESS ON FILE
GUERRERO FRANQUI, KAREN                ADDRESS ON FILE
GUERRERO FRAU, HECTOR                  ADDRESS ON FILE
GUERRERO GARRIDO, RICARDO              ADDRESS ON FILE
GUERRERO GARRIDO, RICARDO A            ADDRESS ON FILE
GUERRERO GONZALEZ, ALANNA              ADDRESS ON FILE
GUERRERO GONZALEZ, MANUEL A            ADDRESS ON FILE
GUERRERO GRILLASCA, RAFAEL             ADDRESS ON FILE
GUERRERO GUERRERO, VICTOR R            ADDRESS ON FILE
GUERRERO GUTIERREZ, ALVILDA            ADDRESS ON FILE
GUERRERO HERNANDEZ, ALEXANDRA          ADDRESS ON FILE
GUERRERO HERNANDEZ, ALEXANDRA          ADDRESS ON FILE
Guerrero Hernandez, Arlene             ADDRESS ON FILE
GUERRERO HERNRIQUEZ, BENJAMIN          ADDRESS ON FILE
GUERRERO HERRERA, DAVID                ADDRESS ON FILE
GUERRERO HUERTAS, CANDIDA              ADDRESS ON FILE
GUERRERO JIMENEZ, YASMIN               ADDRESS ON FILE
GUERRERO JIMENEZ, YLARA                ADDRESS ON FILE




                                                                                   Page 3499 of 10031
                                   Case:17-03283-LTS Doc#:568-1In re:Filed:06/30/17               Entered:06/30/17 20:35:33
                                                                      The Commonwealth of Puerto Rico
                                                                                                                                                               Desc:
                                                   Exhibit A-1 - Creditor     Matrix
                                                                        Case No.              Page 3500 of 3500
                                                                                 17 BK 3283‐LTS
                                                                                           Creditor Matrix

Creditor Name                     Address1                      Address2                                Address3             Address4              City          State   PostalCode   Country
GUERRERO LABOY, MANUEL D.         ADDRESS ON FILE
GUERRERO LOPEZ, ELIZABETH         ADDRESS ON FILE
GUERRERO MALDONADO, ZORAIDA       ADDRESS ON FILE
GUERRERO MANZANO, GUALBERTO       ADDRESS ON FILE
GUERRERO MARTE, FELICIA           ADDRESS ON FILE
GUERRERO MARTINEZ, ECOLASTICO     ADDRESS ON FILE
GUERRERO MATOS, DIOMARIS          ADDRESS ON FILE
GUERRERO MATOS, DIOMARIS I        ADDRESS ON FILE
GUERRERO MEDINA, EDGAR            ADDRESS ON FILE
GUERRERO MEDINA, JACQUELINE E     ADDRESS ON FILE
Guerrero Miskinis, Laura L        ADDRESS ON FILE
GUERRERO NARVAEZ, MARIA L         ADDRESS ON FILE
GUERRERO NEGRON, VANESSA          ADDRESS ON FILE
GUERRERO NIEVES, LESLIE           ADDRESS ON FILE
GUERRERO NUNEZ, HILDA R           ADDRESS ON FILE
GUERRERO OLIVERAS, KARLA          ADDRESS ON FILE
GUERRERO ORELLANA, ELSA           ADDRESS ON FILE
GUERRERO ORTIZ, NORAIMA A.        ADDRESS ON FILE
GUERRERO ORTIZ, ZORABEL           ADDRESS ON FILE
GUERRERO PADUA, VIOLETA           ADDRESS ON FILE
GUERRERO PENA, MARLENE            ADDRESS ON FILE
GUERRERO PEREZ, ADA I             ADDRESS ON FILE
GUERRERO PEREZ, CARMEN R.         ADDRESS ON FILE
GUERRERO PLACIDO, SANDRA I        ADDRESS ON FILE
GUERRERO POLANCO, MARIA           ADDRESS ON FILE
GUERRERO PRESTON, JOSE M.         ADDRESS ON FILE
GUERRERO RAMOS, NELSON            ADDRESS ON FILE
GUERRERO REYES, JUAN              ADDRESS ON FILE
GUERRERO REYES, JUAN              ADDRESS ON FILE
GUERRERO REYNOSO, AIDA L          ADDRESS ON FILE
GUERRERO RIVERA, ANGELES M.       ADDRESS ON FILE
GUERRERO RIVERA, CARLOS           ADDRESS ON FILE
GUERRERO RIVERA, JESSICA          ADDRESS ON FILE

GUERRERO RIVERA, JESSICA          LCDO. RAMÓN MENDOZA ROSARIO   URB. LOMAS DE CAROLINA                  A‐10 CALLE YUNQUESITO A‐10 CALLE YUNQUESITO CAROLINA     PR      00987
GUERRERO RIVERA, LAURA E          ADDRESS ON FILE
GUERRERO RIVERA, LIANA            ADDRESS ON FILE
GUERRERO RIVERA, LYDIA            ADDRESS ON FILE
GUERRERO RIVERA, LYDIA B.         ADDRESS ON FILE
GUERRERO RIVERA, YACENIA Y        ADDRESS ON FILE
GUERRERO RODRIGUEZ MD, ANDRES     ADDRESS ON FILE
GUERRERO RODRIGUEZ MD, LEONEL     ADDRESS ON FILE
GUERRERO RODRIGUEZ MD, LEONEL E   ADDRESS ON FILE
GUERRERO RODRIGUEZ, ALEJANDRO     ADDRESS ON FILE
GUERRERO RODRIGUEZ, ANA S.        ADDRESS ON FILE
GUERRERO RODRIGUEZ, HEIDY Y.      ADDRESS ON FILE
GUERRERO ROSA MARTIRES            ADDRESS ON FILE
GUERRERO RUIZ, CARMEN             ADDRESS ON FILE
GUERRERO RUIZ, MANUEL             ADDRESS ON FILE
GUERRERO SALADIN, RAMON           ADDRESS ON FILE
GUERRERO SALCEDO, FRANKLIN        ADDRESS ON FILE
GUERRERO SALCEDO, LUCRECIA        ADDRESS ON FILE
GUERRERO SALCEDO, REINALDO        ADDRESS ON FILE
GUERRERO SANTANA, SOILA           ADDRESS ON FILE
Guerrero Santiago, Julio E.       ADDRESS ON FILE
GUERRERO SANTIAGO, MARIBEL        ADDRESS ON FILE
GUERRERO SANTIAGO, ROBERTO        ADDRESS ON FILE
GUERRERO SIERRA, GIOVANNI         ADDRESS ON FILE
GUERRERO SOLA, JOSE               ADDRESS ON FILE
GUERRERO TORRES, ITZALIA          ADDRESS ON FILE




                                                                                         Page 3500 of 10031
